Case 20-10343-LSS   Doc 8171   Filed 01/06/22   Page 1 of 457
Case 20-10343-LSS   Doc 8171   Filed 01/06/22   Page 2 of 457
                     EXHIBIT A
                                            Case 20-10343-LSS                                Doc 8171                      Filed 01/06/22           Page 3 of 457
                                                                                                         Exhibit A
                                                                                                   Core/2002 Service List
                                                                                                  Served as set forth below

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In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                            Page 1 of 10
                                              Case 20-10343-LSS                   Doc 8171                       Filed 01/06/22                 Page 4 of 457
                                                                                               Exhibit A
                                                                                        Core/2002 Service List
                                                                                       Served as set forth below

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In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                  Page 2 of 10
                                            Case 20-10343-LSS                                   Doc 8171                     Filed 01/06/22               Page 5 of 457
                                                                                                             Exhibit A
                                                                                                      Core/2002 Service List
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                   Description                                            Name                                     Address                      Fax                         Email                Method of Service
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In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                Page 3 of 10
                                            Case 20-10343-LSS                                      Doc 8171                     Filed 01/06/22          Page 6 of 457
                                                                                                                Exhibit A
                                                                                                         Core/2002 Service List
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Winkler, Eisenberg & Jeck, P.C. (“Eisenberg”),                                                     1311 Delaware Avenue
counsel for various child sexual abuse tort                                                        Wilmington, DE 19806
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W. (SA Claim No 70996), R. B. (SA Claim No 24629)

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In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                   Page 4 of 10
                                              Case 20-10343-LSS                                      Doc 8171                   Filed 01/06/22           Page 7 of 457
                                                                                                                 Exhibit A
                                                                                                           Core/2002 Service List
                                                                                                          Served as set forth below

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In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                    Page 5 of 10
                                             Case 20-10343-LSS                                 Doc 8171                   Filed 01/06/22            Page 8 of 457
                                                                                                           Exhibit A
                                                                                                     Core/2002 Service List
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In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                              Page 6 of 10
                                            Case 20-10343-LSS                                      Doc 8171                     Filed 01/06/22           Page 9 of 457
                                                                                                                Exhibit A
                                                                                                         Core/2002 Service List
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In re: Boy Scouts of America
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Case No. 20‐10343                                                                                                   Page 7 of 10
                                            Case 20-10343-LSS                                   Doc 8171                     Filed 01/06/22             Page 10 of 457
                                                                                                               Exhibit A
                                                                                                       Core/2002 Service List
                                                                                                      Served as set forth below

                     Description                                            Name                                      Address                  Fax                           Email        Method of Service
Core Parties                                          Sidley Austin LLP                          Attn: Blair Warner                      312‐853‐7036   blair.warner@sidley.com         Email
Counsel for Debtor                                                                               Attn: Matthew Evan Linder                              mlinder@sidley.com
                                                                                                 Attn: Thomas A. Labuda, Jr.                            tlabuda@sidley.com
                                                                                                 Attn: Karim Basaria                                    kbasaria@sidley.com
                                                                                                 One South Dearborn Street
                                                                                                 Chicago, IL 60603
Core Parties                                          Sidley Austin LLP                          Attn: Jessica C. Boelter                212‐839‐5599   jboelter@sidley.com             Email
Counsel for Debtor                                                                               787 Seventh Avenue
                                                                                                 New York, NY 10019
Notice of Appearance/Request for Notices              Smith, Katzenstein & Jenkins LLP           Attn: Kathleen M. Miller                302‐652‐8405   kmiller@skjlaw.com              Email
Attorneys for Indian Harbor Insurance Company,                                                   1000 West Street, Suite 1501
on behalf of itself and as successor in interest to                                              P.O. Box 410
Catlin Specialty Insurance Company                                                               Wilmington, DE 19899

Notice of Appearance/Request for Notices              Squire Patton Boggs (US) LLP               Attn: Jihyun Park                                      jihyun.park@squirepb.com        Email
Counsel for The Episcopal Church                                                                 1211 Ave of the Americas, 26th Fl
                                                                                                 New York, NY 10136
Notice of Appearance/Request for Notices          Squire Patton Boggs (US) LLP                   Attn: Mark A. Salzberg                  202‐457‐6315   mark.salzberg@squirepb.com      Email
Counsel for The Domestic and Foreign Missionary                                                  2550 M St, NW
Society of the Protestant Episcopal Church in the                                                Washington, DC 20037
United States of America/The Episcopal Church

Notice of Appearance/Request for Notices          Squire Patton Boggs (US) LLP                   Attn: Travis A. McRoberts               214‐758‐1550   travis.mcroberts@squirepb.com   Email
Counsel for The Domestic and Foreign Missionary                                                  2000 McKinney Ave, Ste 1700
Society of the Protestant Episcopal Church in the                                                Dallas, TX 75201
United States of America

Notice of Appearance/Request for Notices          Stamoulis & Weinblatt LLC                      A n: Richard Weinbla                                   weinblatt@swdelaw.com           Email
Counsel for Century Indemnity Company, as                                                        800 N West St, Ste 800
successor to Cigna Specialty Insurance Company                                                   Wilmington, DE 19801
f/k/a California Union Insurance Company, and CCI
Insurance Company as successor to Insurance
Company of North America; Chubb Custom
Insurance Company; Federal Insurance Company;
Insurance Company of North America; Pacific
Employers Insurance Company; Pacific Indemnity
Company, as successor to Texas Pacific Indemnity
Company; United States Fire Insurance Company;
Westchester Fire Insurance Company, by novation
for policies issued by Industrial Indemnity
Company and International Insurance Company;
and Westchester Surplus Lines Insurance
Company


Notice of Appearance/Request for Notices             Stamoulis & Weinblatt LLC                   A n: Stama os Stamoulis                                stamoulis@swdelaw.com           Email
Counsel for Century Indemnity Company, as                                                        800 N West St, Ste 800
successor to Cigna Specialty Insurance Company                                                   Wilmington, DE 19801
f/k/a California Union Insurance Company, and CCI
Notice of Appearance/Request for Notices             Stark & Stark, PC                           Attn: Joseph H Lemkin                   609‐896‐0629   jlemkin@stark‐stark.com         Email
Counsel for R.L. and C.L., Plaintiffs in State Court                                             P.O. Box 5315
action pending in the Superior Court of New                                                      Princeton, NJ 08543
Jersey, Essex County

Notice of Appearance/Request for Notices        Steptoe & Johnson LLP                            Attn: Harry Lee                         202‐429‐3902   hlee@steptoe.com                Email
Counsel for Clarendon America Insurance                                                          Attn: John O’Connor                                    joconnor@steptoe.com
Company/Maryland Casualty Company, Maryland                                                      Attn: Brett Grindrod                                   bgrindrod@steptoe.com
American General Group, American General Fire &                                                  1330 Connecticut Ave, N.W
Casualty Company, and Zurich Insurance Company                                                   Washington, DC 20036

Notice of Appearance and Request for Notices     Straffi & Straffi, LLC                          Attn: Daniel Straffi, Jr                732‐341‐3548   bkclient@straffilaw.com         Email
Counsel for the Presbyterian Church of Lakehurst                                                 670 Commons Way
                                                                                                 Toms River, NJ 08755

Notice of Appearance and Request for Notices        Sullivan Hazeltine Allinson LLC              Attn: William D. Sullivan               302‐428‐8195   bsullivan@sha‐llc.com           Email
Counsel to Eric Pai, as administrator of the Estate                                              919 N Market St, Ste 420
of J. Pai                                                                                        Wilmington, DE 19801

Notice of Appearance and Request for Notices          Sullivan Hill Lewin Rez & Engel, PLC       Attn: James Hill/ Christopher Hawkins   619‐231‐4372   Hill@SullivanHill.com           Email
Counsel for The Episcopal Diocese of San Diego                                                   Attn: Kathleen Cashman‐Kramer
                                                                                                 600 B St, Ste 1700
                                                                                                 San Diego, CA 92101
Notice of Appearance/Request for Notices              Swenson & Shelley, PLLC                    Attn: Kevin D. Swenson                  855‐450‐8435   Kevin@swensonshelley.com        Email
Counsel for various child sexual abuse tort                                                      107 S 1470 E, Ste 201
claimants                                                                                        St George, UT 84790
Notice of Appearance/Request for Notices              Synchrony Bank                             c/o PRA Receivables Management, LLC     757‐351‐3257   claims@recoverycorp.com         Email
Authorized Agent for Synchrony Bank                                                              Attn: Valerie Smith
                                                                                                 P.O. Box 41021
                                                                                                 Norfolk, VA 23541
NOA ‐ Counsel for Bailey Cowan Heckaman PLLC          The Bifferato Firm                         Attn: Ian Connor Bifferato              302‐298‐0688   cbifferato@tbf.legal            Email
                                                                                                 1007 N. Orandge St., 4TH FL
                                                                                                 Wilmington, DE 19801
Bonds                                                 The County Commission Of Fayette County    Attn: President                                                                        First Class Mail
                                                                                                 P.O. Box 307
                                                                                                 Fayetteville, WV 25840
Bonds                                                 The County Commission Of Fayette County    c/o Steptoe & Johnson Pllc                                                             First Class Mail
                                                                                                 Attn: John Stump, Esq.
                                                                                                 Chase Tower ‐ Eighth Fl
                                                                                                 707 Virginia St E.
                                                                                                 Charleston, WV 25301




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                  Page 8 of 10
                                          Case 20-10343-LSS                                    Doc 8171                     Filed 01/06/22                    Page 11 of 457
                                                                                                             Exhibit A
                                                                                                      Core/2002 Service List
                                                                                                     Served as set forth below

                   Description                                        Name                                           Address                         Fax                         Email               Method of Service
Notice of Appearance/Request for Notice Creditor The Law Office of David L Lynch, PC            Attn: David L. Lynch                           760‐270‐9847   dlynch@desertelderlaw.com            Email
appearing in pro per                                                                            72877 Dinah Shore Dr, Ste 103‐126
                                                                                                Rancho Mirage, CA 92270
Notice of Appearance/Request for Notices         The Law Office of James Tobia, LLC             Attn: James Tobia                              302‐656‐8053   jtobia@tobialaw.com                  Email
Counsel for Nichole Erickson and Mason Gordon, a                                                1716 Wawaset St
minor by his mother Nichole Erickson/Counsel for                                                Wilmington, DE 19806
Certain Claimants
Notice of Appearance/Request for Notices         The Law Offices of Joyce, LLC                  Attn: Michael J. Joyce                                        mjoyce@mjlawoffices.com              Email
Counsel for Arrowood Indemnity Company                                                          1225 King St.
                                                                                                Suite 800
                                                                                                Wilmington, DE 19801
Notice of Appearance/Request for Notices           The Neuberger Firm                           Attn: Thomas S. Neuberger                      302‐655‐0582   tsn@neubergerlaw.com                 Email
Counsel for Certain Claimants/Claimants S. H. ( SA                                              Attn: Stephen J. Neuberger                                    sjn@neubergerlaw.com
Claim No. 21108), R. W. (SA Claim No 70996), R. B.                                              17 Harlech Dr.
(SA Claim No 24629)/Counsel for Certain                                                         Wilmington, DE 19807
Claimants SpringfieldConf Andrus Wagstaff, PC as
Parties in Interest
Notice of Appearance/Request for Notices           The Powell Firm, LLC                         Attn: Jason C. Powell                                         jpowell@delawarefirm.com             Email
Counsel for The Waite and Genevieve Phillips                                                    Attn: Thomas Reichert                                         treichert@delawarefirm.com
Foundation                                                                                      1201 N Orange St, Ste 500
                                                                                                P.O. Box 289
                                                                                                Wilmington, DE 19899
Notice of Appearance/Request for Notices           The Zalkin Law Firm, P.C.                    Attn: Irwin Zalkin                             858‐259‐3015   irwin@zalkin.com                     Email
Cousnel for Sexual Abuse Claimants                                                              Attn: Devin Storey                                            devin@zalkin.com
                                                                                                Attn: Kristian Roggendorf                                     kristian@zalkin.com
                                                                                                10590 W Ocean Air Dr. #125
                                                                                                San Diego, CA 92130
Notice of Appearance/Request for Notices           Thomas Law Office, PLLC                      Attn: Tad Thomas                               877‐955‐7002   tad@thomaslawoffices.com             Email
Counsel for Certain Claimants                                                                   Attn: Louis C. Schneider                                      lou.schneider@thomaslawoffices.com
                                                                                                9418 Norton Commons Blvd, Ste 200
                                                                                                Louisville, KY 40059
Notice of Appearance/Request for Notices           TN Dept of Labor ‐ Bureau of Unemployment    c/o TN Attorney General's Office, Bankruptcy   615‐741‐3334   AGBankDelaware@ag.tn.gov             Email
Tennessee Attorney General's Office                Insurance                                    Division
                                                                                                Attn: Laura L. McCloud
                                                                                                PO Box 20207
                                                                                                Nashville, Tennessee 37202‐0207
NOA ‐ Counsel for Jane Doe, Party in Interest      Tremont Sheldon Robinson Mahoney PC          Attn: Cindy L. Robinson                                       crobinson@tremontsheldon.com         Email
                                                                                                Attn: Doug Mahoney                                            dmahoney@tremontsheldon.com
Notice of Appearance/Request for Notices           Troutman Pepper Hamilton Sanders LLP         Attn: David M. Fournier                        302‐421‐8390   david.fournier@troutman.com          Email
Counsel for the National Surety Corporation &                                                   Attn: Marcy J. McLaughlin Smith                               marcy.smith@troutman.com
Allianz Global Risks US Insurance Company                                                       1313 Market St, Ste 5100
                                                                                                P.O. Box 1709
                                                                                                Wilmington, DE 19899‐1709
Notice of Appearance/Request for Notices           Troutman Pepper Hamilton Sanders LLP         Attn: Harris B. Winsberg                       404‐885‐3900   harris.winsberg@troutman.com         Email
Counsel for the National Surety Corporation &                                                   600 Peachtree St NE, Ste 3000
Allianz Global Risks US Insurance Company                                                       Atlanta, GA 30308
Notice of Appearance/Request for Notices           Tune, Entrekin & White, PC                   A n: Joseph P. Rusnak                          615‐244‐2278   Jrusnak@tewlawfirm.com               Email
Counsel to an unidentified sexual abuse survivor                                                315 Deaderick St, Ste 1700
                                                                                                Nashville, TN 37238
NOA ‐ Attorney for American Zurich Insurance       Tybout, Redfearn & Pell                       Attn: Robert D. Cecil, Jr.                    302‐658‐4018   rcecil@trplaw.com                    Email
Company                                                                                         P.O. Box 2092
                                                                                                Wilmington, DE 19899‐2092
Notice of Appearance and Request for Notices       Tybout, Redfearn & Pell                      Attn: Seth J. Reidenberg                       302‐658‐4018   sreidenberg@trplaw.com               Email
Counsel to American Zurich Insurance Company                                                    750 Shipyard Dr, Ste 400
                                                                                                P.O. Box 2092
                                                                                                Wilmington, DE 19899‐2092
Core Parties                                       United States Dept Of Justice                950 Pennsylvania Ave, Nw                                                                           First Class Mail
                                                                                                Room 2242
                                                                                                Washington, DC 20530‐0001
Core Parties                                       US Attorney For Delaware                     Attn: David C Weiss                            302‐573‐6220   usade.ecfbankruptcy@usdoj.gov        Email
                                                                                                1007 Orange St, Ste 700
                                                                                                P.O. Box 2046
                                                                                                Wilmington, DE 19899‐2046
Core Parties                                      Wachtell, Lipton, Rosen & Katz                Attn: Richard G Mason                          212‐403‐2252   rgmason@wlrk.com                     Email
Counsel for Ad Hoc Committee of Local Councils of                                               Attn: Douglas Mayer                                           dkmayer@wlrk.com
the Boy Scouts of America                                                                       Attn: Joseph C. Celentino                                     jccelentino@wlrk.com
                                                                                                51 W 52nd St
                                                                                                New York, NY 10019
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                                                                                                2532 Justin Lane
                                                                                                Wilmington, DE 19810
Notice of Appearance/Request for Notices          Walker Wilcox Maousek LLP                     Attn: Christopher A. Wadley                                   cwadley@walkerwilcox.com             Email
Counsel to for Century Indemnity Company, as                                                    1 N Franklin, Ste 3200
successor to Cigna Specialty Insurance Company                                                  Chicago, IL 60606
f/k/a California Union Insurance Company, and CCI
Insurance Company as successor to Insurance
Company of North America; Chubb Custom
Insurance Company; Federal Insurance Company;
Insurance Company of North America; Pacific
Employers Insurance Company; Pacific Indemnity
Company, as successor to Texas Pacific Indemnity
Company; United States Fire Insurance Company;
Westchester Fire Insurance Company, by novation
for policies issued by Industrial Indemnity
Company and International Insurance Company;
and Westchester Surplus Lines Insurance
Company


Notice of Appearance/Request for Notices           Wanger Jones Helsley, PC                     Attn: Riley C. Walter                                         rwalter@wjhattorneys.com             Email
Counsel for Sequoia Council of Boy Scouts, Inc.                                                 265 E. River Park Circle, Suite 310
                                                                                                Fresno, CA 93720




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                Page 9 of 10
                                            Case 20-10343-LSS                     Doc 8171                    Filed 01/06/22            Page 12 of 457
                                                                                                Exhibit A
                                                                                         Core/2002 Service List
                                                                                        Served as set forth below

                   Description                                         Name                              Address               Fax                        Email           Method of Service
Notice of Appearance/Request for Notices        Ward and Smith, P.A.               Attn: Paul A Fanning                  252‐215‐4077   paf@wardandsmith.com            Email
Counsel for East Carolina Council BSA, Inc.                                        P.O. Box 8088
                                                                                   Greenville, NC 27835‐8088
Notice of Appearance/Request for Notices        Werb & Sullivan, LLC               Attn: Brian A. Sullivan               302‐652‐1111   bsullivan@werbsullivan.com      Email
Counsel for Gemini Insurance Company                                               1225 N King St, Ste 600
                                                                                   Wilmington, Delaware 19801
Notice of Appearance/Request for Notices        White & Case LLP                   Attn: Jessica C. Lauria                              jessica.boelter@whitecase.com   Email
Counsel to the Debtors                                                             1221 Ave of the Americas
                                                                                   New York, NY 10020
Notice of Appearance/Request for Notices        White & Case LLP                   Attn: Michael C. Andolina                            mandolina@whitecase.com         Email
Counsel to the Debtors                                                             Attn: Matthew E. Linder                              mlinder@whitecase.com
                                                                                   111 S Wacker Dr, Ste 5100
                                                                                   Chicago, IL 60606‐4302
Notice of Appearance/Request for Notices         Whiteford Taylor & Preston LLC    Attn: Richard W. Riley                               rriley@wtplaw.com               Email
Counsel for Baltimore Area Council Boy Scouts of                                   The Renaissance Centre
America, Inc.                                                                      405 North King Street, Suite 500
                                                                                   Wilmington, Delaware 19801
Notice of Appearance/Request for Notices         Whiteford Taylor & Preston LLP    Attn: Todd M. Brooks                                 tbrooks@wtplaw.com              Email
Counsel for Baltimore Area Council Boy Scouts of                                   Seven Saint Paul Street, 15th Floor
America, Inc.                                                                      Baltimore, Maryland 21202‐1626
Notice of Appearance/Request for Notices         Wilks Law, LLC                    Attn: David E. Wilks                                 dwilks@wilks.law                Email
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                                                                                   Wilmington, DE 19805
Notice of Appearance/Request for Notices        Womble Bond Dickinson (US) LLP     Attn: Matthew Ward                    302‐252‐4330   matthew.ward@wbd‐us.com         Email
Counsel for JPMorgan Chase Bank, National                                          Attn: Morgan Patterson                               morgan.patterson@wbd‐us.com
Association                                                                        1313 N Market St, Ste 1200
                                                                                   Wilmington, DE 19801
Core Parties                                    Young Conaway Stargatt & Taylor    Attn: James L. Patton, Jr             302‐576‐3325   jpatton@ycst.com                Email
Counsel for Prepetition Future Claimants’                                          Attn: Robert Brady                                   rbrady@ycst.com
Representative                                                                     Attn: Edwin Harron                                   eharron@ycst.com
                                                                                   Rodney Square
                                                                                   1000 N King St
                                                                                   Wilmington, DE 19801




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                  Page 10 of 10
Case 20-10343-LSS   Doc 8171   Filed 01/06/22   Page 13 of 457




                       EXHIBIT B
                          Case 20-10343-LSS            Doc 8171        Filed 01/06/22       Page 14 of 457
BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC - Service List to E-Mail Recipients                                 Served 12/23/2021

2,940 PRO SE AND/OR INCARCERATED PARTIES WERE SERVED. THE NAMES AND E-MAIL ADDRESSES OF THESE PARTIES ARE NOT
STATED TO MAINTAIN CONFIDENTIALITY.
                          Case 20-10343-LSS            Doc 8171       Filed 01/06/22        Page 15 of 457
BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC - Service List to First Class Mail Recipients                           Served 12/23/2021

11,554 PRO SE AND/OR INCARCERATED PARTIES WERE SERVED. THE NAMES AND ADDRESSES OF THESE PARTIES ARE NOT STATED TO
MAINTAIN CONFIDENTIALITY.
                                                                                 Case 20-10343-LSS                                                    Doc 8171                                          Filed 01/06/22                                               Page 16 of 457
                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                      Service List
                                                                                                                                                                               Served as set forth below

        Description                                                    Name                                                                                                        Address                                                                                                            Email                        Method of Service
Voting Party                   (The) Church Of The Good Shepherd, Lookout Mountain Tennessee, Inc.   c/o Kramer Rayson LLP                   Attn: George Arrants                                       814 Episcopal School Way             Knoxville, TN 37932               garrants@kramer‐rayson.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         0220 Parents Group                                                    Verdugo Hills Council 058               6724 Ruffner Ave                                           Lake Balboa, CA 91406‐5641                                                                                      First Class Mail
Chartered Organization         100 Black Men Macon Mid Georgia, Inc                                  Central Georgia Council 096             P.O. Box 26152                                             Macon, GA 31221‐6152                                                                                            First Class Mail
Chartered Organization         100 Black Men Of West Georgia                                         Chattahoochee Council 091               P.O. Box 3106                                              Lagrange, GA 30241‐0028                                                                                         First Class Mail
Chartered Organization         100 Blackmen Of Greater Lafayette                                     Evangeline Area 212                     102 Pintail Dr                                             Lafayette, LA 70507‐4948                                                                                        First Class Mail
Voting Party                   1040 Avenue Of The Americas, LLC                                      c/o Rubin LLC                           Attn: Paul Rubin Esq                                       345 7th Ave, 21st Fl                 New York, NY 10001                prubin@rubinlawllc.com                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   1040 Avenue Of The Americas, LLC                                      c/o Garden Commercial Properties        Attn: Orin Wilf                                            820 Morris Tpke                      Short Hills, NJ 07078             MarkD@wilf‐law.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   108 NJ Roman Catholic Parishes                                        c/o Porzio Bromberg & Newman PC         100 Southgate Pkwy                                         Morristown, NJ 07962                                                   wjmartin@pbnlaw.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   108 NJ Roman Catholic Parishes                                        c/o Porzio, Bromberg & Newman, P.C.     100 Southgate Pkwy                                         Morristown, NJ 07962                                                   wjmartin@pbanlw.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   108 NJ Roman Catholic Parishes                                        c/o RC Diocese of Paterson              Attn: Ken Mullaney                                         777 Valley Rd                        Clifton, NJ 07013                                                          First Class Mail
Chartered Organization         10Th Police District                                                  Pathway To Adventure 456                3315 W Ogden Ave                                           Chicago, IL 60623‐2650                                                                                          First Class Mail
Voting Party                   118 High Street (Pittsfield)                                          c/o The Tamposi Law Group, PC           Attn: Peter N Tamposi                                      159 Main St                          Nashua, NH 03060                  peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         11Th Armored Cavalry Regiment                                         California Inland Empire Council 045    P.O. Box 10568                                             Fort Irwin, CA 92310‐0568                                                                                       First Class Mail
Chartered Organization         11Th Police District Chicago                                          Pathway To Adventure 456                3151 W Harrison St                                         Chicago, IL 60612‐3344                                                                                          First Class Mail
Chartered Organization         11Th Street Christian Church                                          South Texas Council 577                 1157 W Nelson Ave                                          Aransas Pass, TX 78336                                                                                          First Class Mail
Chartered Organization         127 Hiyer                                                             Verdugo Hills Council 058               1446 Raymond Ave                                           Glendale, CA 91201                                                                                              First Class Mail
Chartered Organization         12Th District Chicago Police                                          Pathway To Adventure 456                1412 S Blue Island Ave                                     Chicago, IL 60608‐2112                                                                                          First Class Mail
Chartered Organization         12Th Missouri Cavalry Csa                                             Heart of America Council 307            17311 E 40 Hwy                                             Independence, MO 64055‐3903                                                                                     First Class Mail
Chartered Organization         1453 Int'L Org Of Istanbul                                            Transatlantic Council, Bsa 802          Adnan Saygun Cad. Kelaynak Sok.                            Istanbul                             Turkey                                                                     First Class Mail
Chartered Organization         14Th Chicago Police District                                          Pathway To Adventure 456                2150 N California Ave                                      Chicago, IL 60647‐3925                                                                                          First Class Mail
Chartered Organization         15Th Ave Baptist Church                                               Middle Tennessee Council 560            1203 9th Ave N                                             Nashville, TN 37208‐2525                                                                                        First Class Mail
Voting Party                   15Th Street Umc (176941)                                              c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200           Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         16Th And Haak Pta                                                     Hawk Mountain Council 528               1601 Haak St                                               Reading, PA 19602‐2214                                                                                          First Class Mail
Chartered Organization         16Th District Explorers                                               Pathway To Adventure 456                5151 N Milwaukee Ave                                       Chicago, IL 60630‐4621                                                                                          First Class Mail
Chartered Organization         174 Campus                                                            Greater New York Councils, Bsa 640      456 White Plains Rd                                        Bronx, NY 10473‐2436                                                                                            First Class Mail
Chartered Organization         17Th District Chicago Police                                          Pathway To Adventure 456                4650 N Pulaski Rd                                          Chicago, IL 60630‐4356                                                                                          First Class Mail
Chartered Organization         18 Muns Top Four                                                      Unit 5144 Far E Council 803             Apo, AP 96368‐5144                                                                                                                                                         First Class Mail
Voting Party                   1‐800‐Pack‐Rat                                                        11640 Northpark Dr, Ste 200             Wake Forest, NC 27587‐5741                                                                                                                                                 First Class Mail
Chartered Organization         18Th District Chicago Police Dept                                     Pathway To Adventure 456                1160 N Lorrance Ave                                        Chicago, IL 60619                                                                                               First Class Mail
Chartered Organization         19Th District Chicago Police Dept                                     Pathway To Adventure 456                850 W Addison St                                           Chicago, IL 60613‐4314                                                                                          First Class Mail
Chartered Organization         19Th Street Church Of God                                             Buckskin 617                            505 19th St                                                Parkersburg, WV 26101‐2520                                                                                      First Class Mail
Chartered Organization         1St Associate Reformed Presbyterian Ch                                Piedmont Council 420                    123 E Broad St                                             Statesville, NC 28677‐5853                                                                                      First Class Mail
Chartered Organization         1St Baptist Ch / Robert Harris Memorial                               Flint River Council 095                 First Baptist Church                                       Griffin, GA 30223                                                                                               First Class Mail
Chartered Organization         1St Baptist Ch‐Hines Kids Corner Camp                                 W D Boyce 138                           411 E Lake Ave                                             Peoria, IL 61614‐6251                                                                                           First Class Mail
Chartered Organization         1St Baptist Church                                                    Flint River Council 095                 106 W Taylor St                                            Griffin, GA 30223‐3025                                                                                          First Class Mail
Chartered Organization         1St Baptist Church                                                    Pony Express Council 311                407 S 3rd St                                               Wathena, KS 66090‐1242                                                                                          First Class Mail
Chartered Organization         1St Baptist Church Of Winona                                          East Texas Area Council 585             212 Dallas St                                              Winona, TX 75792‐5104                                                                                           First Class Mail
Chartered Organization         1St Baptist Old Stone Ch In Tiverton                                  Narragansett 546                        7 Old Stone Church Rd                                      Tiverton, RI 02878‐2820                                                                                         First Class Mail
Chartered Organization         1St Ch Christ Clinton Connecticut                                     Connecticut Rivers Council, Bsa 066     55 Church Rd                                               Clinton, CT 06413‐2047                                                                                          First Class Mail
Chartered Organization         1St Ch In Marlborough Congregal                                       Mayflower Council 251                   37 High St                                                 Marlborough, MA 01752‐2385                                                                                      First Class Mail
Chartered Organization         1St Christian Ch (Disciples Christ)                                   Blackhawk Area 660                      3400 6th Ave                                               Sterling, IL 61081‐4053                                                                                         First Class Mail
Chartered Organization         1St Christian Ch Disciple Christ                                      Lincoln Heritage Council 205            2515 Main St                                               Benton, KY 42025‐1818                                                                                           First Class Mail
Chartered Organization         1St Christian Ch Disciples Christ                                     Lincoln Heritage Council 205            175 E John Rowan Blvd                                      Bardstown, KY 40004‐1770                                                                                        First Class Mail
Chartered Organization         1St Christian Ch Disciples Christ                                     Circle Ten Council 571                  203 S Main St                                              Duncanville, TX 75116‐4705                                                                                      First Class Mail
Chartered Organization         1St Christian Ch Disciples Christ                                     Great Rivers Council 653                517 S Carolina St                                          Louisiana, MO 63353‐1957                                                                                        First Class Mail
Chartered Organization         1St Christian Ch Disciples Christ                                     Calcasieu Area Council 209              1401 Argin Dr                                              Sulphur, LA 70663‐5904                                                                                          First Class Mail
Chartered Organization         1St Christian Ch Disiples Christ                                      W D Boyce 138                           604 Groveland St                                           Creve Coeur, IL 61610‐4251                                                                                      First Class Mail
Chartered Organization         1St Christian Ch Scouting Fndn                                        East Carolina Council 426               619 Koonce Fork Rd                                         Richlands, NC 28574‐7253                                                                                        First Class Mail
Chartered Organization         1St Christian Church & Mt Vernon Arc                                  National Capital Area Council 082       2723 King St                                               Alexandria, VA 22302‐4008                                                                                       First Class Mail
Chartered Organization         1St Church Of The Nazerine                                            Alamo Area Council 583                  10715 West Ave                                             San Antonio, TX 78213‐1535                                                                                      First Class Mail
Chartered Organization         1St Congo Church Of Lincoln‐Mens Club                                 Katahdin Area Council 216               19 School St                                               Lincoln, ME 04457‐1430                                                                                          First Class Mail
Chartered Organization         1St Congregal Ch                                                      Bd of Christian Education               461 Pierson St                                             Crystal Lake, IL 60014‐5772                                                                                     First Class Mail
Chartered Organization         1St Congregal Ch Chesterfield                                         Western Massachusetts Council 234       P.O. Box 87                                                Chesterfield, MA 01012‐0087                                                                                     First Class Mail
Chartered Organization         1St Congregal Ch Des Plaines                                          Pathway To Adventure 456                766 Graceland Ave                                          Des Plaines, IL 60016‐6441                                                                                      First Class Mail
Chartered Organization         1St Congregal Ch Hinsdale, Ucc                                        Western Massachusetts Council 234       129 Maple St                                               Hinsdale, MA 01235                                                                                              First Class Mail
Chartered Organization         1St Congregal Ch N Adams                                              Western Massachusetts Council 234       134 Main St                                                North Adams, MA 01247‐3423                                                                                      First Class Mail
Chartered Organization         1St Congregal Ch Sampton                                              Western Massachusetts Council 234       P.O. Box 145                                               Southampton, MA 01073‐0145                                                                                      First Class Mail
Chartered Organization         1St Congregal Ch Webster Groves                                       Greater St Louis Area Council 312       10 W Lockwood Ave                                          Saint Louis, MO 63119‐2932                                                                                      First Class Mail
Chartered Organization         1St Congregal Utd Ch Christ                                           Bay‐Lakes Council 635                   724 E South River St                                       Appleton, WI 54915‐2257                                                                                         First Class Mail
Chartered Organization         1St Congregal Utd Ch Christ                                           Seneca Waterways 397                    26 E Church St                                             Fairport, NY 14450‐1504                                                                                         First Class Mail
Chartered Organization         1St Congregal Utd Ch Christ                                           Water and Woods Council 782             6494 Belsay Rd                                             Grand Blanc, MI 48439‐9757                                                                                      First Class Mail
Chartered Organization         1St Congregal Utd Ch Christ                                           Bay‐Lakes Council 635                   310 Bluff Ave                                              Sheboygan, WI 53081‐2872                                                                                        First Class Mail
Chartered Organization         1St Congregational Church Of Ramona                                   San Diego Imperial Council 049          8th & D Sts                                                Ramona, CA 92065                                                                                                First Class Mail
Chartered Organization         1St Congregational Ucc                                                Black Hills Area Council 695 695        717 Jackson St                                             Belle Fourche, SD 57717‐1718                                                                                    First Class Mail
Chartered Organization         1St English Evangelical Lutheran Ch                                   Baltimore Area Council 220              3807 N Charles St                                          Baltimore, MD 21218‐1806                                                                                        First Class Mail
Chartered Organization         1St English Evangelical Lutheran Ch                                   Great Lakes Fsc 272                     800 Vernier Rd                                             Grosse Pointe Woods, MI 48236‐1530                                                                              First Class Mail
Chartered Organization         1St English Lutheran Ch (Downtown Site)                               Bay‐Lakes Council 635                   326 E North St                                             Appleton, WI 54911‐5460                                                                                         First Class Mail
Chartered Organization         1St English Lutheran Ch (N Site)                                      Bay‐Lakes Council 635                   6331 N Ballard Rd                                          Appleton, WI 54913                                                                                              First Class Mail
Chartered Organization         1St Evangelical Lutheran Church                                       Baltimore Area Council 220              8937 Piney Orchard Pkwy                                    Odenton, MD 21113                                                                                               First Class Mail
Chartered Organization         1St Henderson Utd Methodist Church                                    Las Vegas Area Council 328              609 E Horizon Dr                                           Henderson, NV 89015‐8401                                                                                        First Class Mail
Chartered Organization         1St Lutheran Church                                                   Montana Council 315                     303 6th Ave                                                Havre, MT 59501‐3657                                                                                            First Class Mail
Chartered Organization         1St Meridian Heights Presbyterian Ch                                  Crossroads of America 160               4701 Central Ave                                           Indianapolis, IN 46205‐1828                                                                                     First Class Mail
Chartered Organization         1St Methodist Church Fellowship Class                                 Greater Alabama Council 001             119 Lakeview Dr                                            Pell City, AL 35128‐6616                                                                                        First Class Mail
Chartered Organization         1St Methodist Church Of Alma                                          Westark Area Council 016                P.O. Box 1913                                              Alma, AR 72921‐1913                                                                                             First Class Mail
Chartered Organization         1St Presbyterian Ch Alabaster Cumberland                              Greater Alabama Council 001             8828 Elliotsville Ln                                       Alabaster, AL 35007‐6201                                                                                        First Class Mail
Chartered Organization         1St Presbyterian Ch Austin (Pcusa)                                    Capitol Area Council 564                8001 Mesa Dr                                               Austin, TX 78731‐1318                                                                                           First Class Mail
Chartered Organization         1St Presbyterian Ch Birmingham Michigan                               Great Lakes Fsc 272                     1669 W Maple Rd                                            Birmingham, MI 48009‐1230                                                                                       First Class Mail
Chartered Organization         1St Presbyterian Ch Ft Lauderdale                                     South Florida Council 084               401 SE 15th Ave                                            Fort Lauderdale, FL 33301‐2364                                                                                  First Class Mail
Chartered Organization         1St Presbyterian Ch Gibsonia Pc Usa                                   Laurel Highlands Council 527            4003 Gibsonia Rd                                           Gibsonia, PA 15044‐9312                                                                                         First Class Mail
Chartered Organization         1St Presbyterian Ch Granada Hills                                     W.L.A.C.C. 051                          10400 Zelzah Ave                                           Northridge, CA 91326‐3510                                                                                       First Class Mail
Chartered Organization         1St Presbyterian Ch Green Cove Spgs                                   North Florida Council 087               P.O. Box 277                                               Green Cove Springs, FL 32043‐0277                                                                               First Class Mail
Chartered Organization         1St Presbyterian Ch Hackettstown                                      Minsi Trails Council 502                298 Main St                                                Hackettstown, NJ 07840‐2033                                                                                     First Class Mail
Chartered Organization         1St Presbyterian Ch Heber Spgs                                        Quapaw Area Council 018                 1313 W Pine St                                             Heber Springs, AR 72543‐2726                                                                                    First Class Mail
Chartered Organization         1St Presbyterian Ch Lambertville                                      Washington Crossing Council 777         31 N Union St                                              Lambertville, NJ 08530‐2108                                                                                     First Class Mail
Chartered Organization         1St Presbyterian Ch Sand Spgs                                         Indian Nations Council 488              222 N Adams Rd                                             Sand Springs, OK 74063‐7932                                                                                     First Class Mail
Chartered Organization         1St Presbyterian Ch Three Rivers                                      Southern Shores Fsc 783                 320 N Main St                                              Three Rivers, MI 49093‐1423                                                                                     First Class Mail
Chartered Organization         1St Presbyterian Ch Winter Haven                                      Greater Tampa Bay Area 089              637 6th St Nw                                              Winter Haven, FL 33881‐4010                                                                                     First Class Mail
Chartered Organization         1St Presbyterian Ch Youth Ministries                                  Great Lakes Fsc 272                     1669 W Maple Rd                                            Birmingham, MI 48009‐1230                                                                                       First Class Mail
Chartered Organization         1St Presbyterian Church                                               Bay Area Council 574                    130 S Arcola St                                            Angleton, TX 77515‐4901                                                                                         First Class Mail
Chartered Organization         1St Presbyterian Church                                               Mid Iowa Council 177                    228 W 4th St                                               Ottumwa, IA 52501‐2512                                                                                          First Class Mail
Chartered Organization         1St Presbyterian Church                                               Middle Tennessee Council 560            600 N Brittain St                                          Shelbyville, TN 37160‐3402                                                                                      First Class Mail
Chartered Organization         1St Presbyterian Church ‐ Brazoria                                    Bay Area Council 574                    P.O. Box 70                                                Brazoria, TX 77422‐0070                                                                                         First Class Mail
Chartered Organization         1St Presbyterian Church Of Allen                                      Circle Ten Council 571                  605 S Greenville Ave                                       Allen, TX 75002‐3011                                                                                            First Class Mail
Chartered Organization         1St Presbyterian Church Of Chili                                      Seneca Waterways 397                    3600 Chili Ave                                             Rochester, NY 14624‐5335                                                                                        First Class Mail
Chartered Organization         1St Presbyterian Church Parish Life Comm                              Montana Council 315                     26 W Babcock St                                            Bozeman, MT 59715‐4663                                                                                          First Class Mail
Chartered Organization         1St Presbyterian Church Red Bank                                      Monmouth Council, Bsa 347               255 Harding Rd                                             Red Bank, NJ 07701‐2410                                                                                         First Class Mail
Chartered Organization         1St Presbyterian, Somerville Rotary Club                              West Tennessee Area Council 559         12940 S Main St                                            Somerville, TN 38068‐1677                                                                                       First Class Mail
Chartered Organization         1St Trinitarian Congregal Ch Scituate                                 Mayflower Council 251                   381 Country Way                                            Scituate, MA 02066‐2511                                                                                         First Class Mail
Voting Party                   1st Umc Baldwin Ms                                                    Attn: Craig Gaines                      312 W Main St                                              P.O. Box 146                         Baldwin, MS 38824                                                          First Class Mail
Voting Party                   1st UMC Centerville, IA                                               410 N Main St                           Centerville, IA 52544                                                                                                             congregation@centervillefirst.org        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   1st Umc Gonzales                                                      Attn: Melinda Robert                    224 W Constitution St                                      Gonzales, LA 70737                                                     ksmelinda@eatel.net                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         1St Un Meth, 1St Baptist And St Francis                               Piedmont Council 420                    P.O. Box 905                                               Rutherfordton, NC 28139‐0905                                                                                    First Class Mail
Voting Party                   1st United Methodist Church                                           Attn: Ann Kraft                         13534 52nd St Se                                           Enderlin, ND 58027                                                     fkraft@mlgc.com                          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   1st United Methodist Church Farmingdale                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200             Tampa, FL 33602                   erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   1st United Methodist Church Of Castle Rock Co                         Attn: Bill Eylens                       1200 South St                                              Castle Rock, CO 80104                                                  rob.white@fumccr.org                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   1st United Methodist Church Of Friendship                             Attn: Jacqueline Ward                   21 W Main St                                               Friendship, NY 14739                                                   gators20@roadrunner.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   1st United Methodist Church Of Lawrence                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200             Tampa, FL 33602                   erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   1St United Methodist Church Of Mannford, Inc                          Barry Hayes                             363254 US 64                                               Cleveland, OK 74020                                                    rev.hayes@att.net                        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   1st United Methodist Church Of Mannford, Inc.                         Attn: Barry Hayes                       P.O. Box 510                                               100 E Greenwood Ave                  Mannford, OK 74044                rev.hayes@att.net                        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   1st United Methodist Church, Michigan City                            Attn: Pastor Nancy Nichols              121 E 7th St                                               Michigan City, IN 46360                                                firstunitedmethodistchurchmc@gmail.com   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   1st United Methodist Church, Tipton, IA                               Attn: Brian Boedeker                    607 Lynn St                                                Tipton, IA 52772                                                       office@tiptonumc.org                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   1st United Methodists Church Of Cmch ‐ Cape May Court House           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200             Tampa, FL 33602                   erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         1St Utd Meth Ch Mens Club‐Nville                                      Great Lakes Fsc 272                     777 W 8 Mile Rd                                            Northville, MI 48167‐2730                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist                                                     Greater Yosemite Council 059            645 Charity Way                                            Modesto, CA 95356‐9283                                                                                          First Class Mail
Chartered Organization         1St Utd Methodist Ch Alabaster                                        Greater Alabama Council 001             10903 Hwy 119                                              Alabaster, AL 35007‐9701                                                                                        First Class Mail
Chartered Organization         1St Utd Methodist Ch Bentonville                                      Westark Area Council 016                201 NW 2nd St                                              Bentonville, AR 72712‐5234                                                                                      First Class Mail
Chartered Organization         1St Utd Methodist Ch Blairstown                                       Minsi Trails Council 502                P.O. Box 153                                               Blairstown, NJ 07825‐0153                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist Ch Bloomington                                      Hoosier Trails Council 145 145          219 E 4th St                                               Bloomington, IN 47408‐3503                                                                                      First Class Mail
Chartered Organization         1St Utd Methodist Ch Brooksville                                      Greater Tampa Bay Area 089              109 S Broad St                                             Brooksville, FL 34601‐2831                                                                                      First Class Mail
Chartered Organization         1St Utd Methodist Ch Bsa Troop 447                                    Cape Fear Council 425                   101 W Church St                                            Laurinburg, NC 28352‐3744                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist Ch Bushnell                                         Greater Tampa Bay Area 089              221 W Noble Ave                                            Bushnell, FL 33513‐5417                                                                                         First Class Mail
Chartered Organization         1St Utd Methodist Ch Caldwell                                         Sam Houston Area Council 576            306 W Fox St                                               Caldwell, TX 77836‐1537                                                                                         First Class Mail
Chartered Organization         1St Utd Methodist Ch Callahan                                         North Florida Council 087               449648 US Hwy 301                                          Callahan, FL 32011‐9390                                                                                         First Class Mail
Chartered Organization         1St Utd Methodist Ch Canoga Park                                      W.L.A.C.C. 051                          22700 Sherman Way                                          West Hills, CA 91307‐2332                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist Ch Carnegie                                         Last Frontier Council 480               P.O. Box A                                                 Carnegie, OK 73015‐0690                                                                                         First Class Mail
Chartered Organization         1St Utd Methodist Ch Carterville                                      Greater St Louis Area Council 312       301 Pine St                                                Carterville, IL 62918‐1258                                                                                      First Class Mail
Chartered Organization         1St Utd Methodist Ch Central City                                     Lincoln Heritage Council 205            P.O. Box 249                                               Central City, KY 42330‐0249                                                                                     First Class Mail
Chartered Organization         1St Utd Methodist Ch Century Bible Cl                                 Caddo Area Council 584                  Hwy 29 S                                                   Hope, AR 71801                                                                                                  First Class Mail
Chartered Organization         1St Utd Methodist Ch Century Bible Cl                                 Caddo Area Council 584                  2300 S Main St                                             Hope, AR 71801‐8955                                                                                             First Class Mail
Chartered Organization         1St Utd Methodist Ch Century Bible Club                               Caddo Area Council 584                  3502 Main St                                               Hope, AR 71801                                                                                                  First Class Mail
Chartered Organization         1St Utd Methodist Ch Clermont                                         Central Florida Council 083             1035 7th St                                                Clermont, FL 34711‐2152                                                                                         First Class Mail
Chartered Organization         1St Utd Methodist Ch Coffeyville                                      Quivira Council, Bsa 198                10 & Elm                                                   Coffeyville, KS 67337                                                                                           First Class Mail
Chartered Organization         1St Utd Methodist Ch Colleyville                                      Longhorn Council 662                    1000 Church St                                             Colleyville, TX 76034‐5837                                                                                      First Class Mail
Chartered Organization         1St Utd Methodist Ch Constltn Ldg404                                  Iroquois Trail Council 376              21 Main St N                                               Perry, NY 14530‐1312                                                                                            First Class Mail
Chartered Organization         1St Utd Methodist Ch Crockett                                         East Texas Area Council 585             P.O. Box 984                                               Crockett, TX 75835‐0984                                                                                         First Class Mail
Chartered Organization         1St Utd Methodist Ch Ctrpoint                                         Greater Alabama Council 001             2129 Center Point Pkwy                                     Center Point, AL 35215‐4621                                                                                     First Class Mail
Chartered Organization         1St Utd Methodist Ch Dandridge                                        Great Smoky Mountain Council 557        121 E Meeting St                                           Dandridge, TN 37725‐4826                                                                                        First Class Mail
Chartered Organization         1St Utd Methodist Ch Douglasville                                     Atlanta Area Council 092                6167 Prestley Mill Rd                                      Douglasville, GA 30134‐2233                                                                                     First Class Mail
Chartered Organization         1St Utd Methodist Ch Farmersville                                     Circle Ten Council 571                  206 N Main St                                              Farmersville, TX 75442‐1635                                                                                     First Class Mail
Chartered Organization         1St Utd Methodist Ch Fountain                                         Pikes Peak Council 060                  1003 N Santa Fe Ave                                        Fountain, CO 80817‐2859                                                                                         First Class Mail
Chartered Organization         1St Utd Methodist Ch Fremont Umm                                      San Francisco Bay Area Council 028      2950 Washington Blvd                                       Fremont, CA 94539‐5036                                                                                          First Class Mail
Chartered Organization         1St Utd Methodist Ch Frostproof                                       Greater Tampa Bay Area 089              150 Devane St                                              Frostproof, FL 33843‐2020                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist Ch Ft Gibson                                        Indian Nations Council 488              P.O. Box 370                                               Fort Gibson, OK 74434‐0370                                                                                      First Class Mail
Chartered Organization         1St Utd Methodist Ch Gainesville                                      North Florida Council 087               419 NE 1st St                                              Gainesville, FL 32601‐5384                                                                                      First Class Mail
Chartered Organization         1St Utd Methodist Ch George W                                         South Texas Council 577                 P.O. Box 266                                               George West, TX 78022‐0266                                                                                      First Class Mail
Chartered Organization         1St Utd Methodist Ch Georgetown                                       Capitol Area Council 564                410 E University Ave                                       Georgetown, TX 78626‐6825                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist Ch Gladewater                                       East Texas Area Council 585             P.O. Box 532                                               Gladewater, TX 75647‐0532                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist Ch Gonzales                                         Capitol Area Council 564                426 Saint Paul St                                          Gonzales, TX 78629‐4057                                                                                         First Class Mail
Chartered Organization         1St Utd Methodist Ch Grapevine                                        Longhorn Council 662                    422 Church St                                              Grapevine, TX 76051‐5239                                                                                        First Class Mail
Chartered Organization         1St Utd Methodist Ch Greenbrier                                       Quapaw Area Council 018                 2 Tyler St                                                 Greenbrier, AR 72058‐9610                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist Ch Haddon Heights                                   Garden State Council 690                704 Garden St                                              Haddon Heights, NJ 08035‐1840                                                                                   First Class Mail
Chartered Organization         1St Utd Methodist Ch Hamilton                                         The Spirit of Adventure 227             391 Bay Rd                                                 South Hamilton, MA 01982‐1922                                                                                   First Class Mail
Chartered Organization         1St Utd Methodist Ch Hendersonville                                   Daniel Boone Council 414                204 6th Ave W                                              Hendersonville, NC 28739‐4306                                                                                   First Class Mail
Chartered Organization         1St Utd Methodist Ch Highland                                         California Inland Empire Council 045    27555 Baseline St                                          Highland, CA 92346‐3207                                                                                         First Class Mail
Chartered Organization         1St Utd Methodist Ch Hobe Sound                                       Gulf Stream Council 085                 P.O. Box 8601                                              Hobe Sound, FL 33475‐8601                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist Ch Hokes Bluff                                      Greater Alabama Council 001             3001 Alford Bend Rd                                        Gadsden, AL 35903‐4823                                                                                          First Class Mail
Chartered Organization         1St Utd Methodist Ch Horseheads                                       Five Rivers Council, Inc 375            1034 W Broad St                                            Horseheads, NY 14845‐2205                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist Ch Humboldt                                         West Tennessee Area Council 559         800 N 12th St                                              Humboldt, TN 38343                                                                                              First Class Mail
Chartered Organization         1St Utd Methodist Ch Jacksonville                                     Greater Alabama Council 001             109 Gayle Ave Sw                                           Jacksonville, AL 36265‐2122                                                                                     First Class Mail
Chartered Organization         1St Utd Methodist Ch Jacksonville                                     Quapaw Area Council 018                 220 W Main St                                              Jacksonville, AR 72076‐4505                                                                                     First Class Mail
Chartered Organization         1St Utd Methodist Ch Kennedale                                        Longhorn Council 662                    229 W 4th St                                               Kennedale, TX 76060‐2212                                                                                        First Class Mail
Chartered Organization         1St Utd Methodist Ch Kingsville                                       South Texas Council 577                 230 W Kleberg Ave                                          Kingsville, TX 78363‐4428                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist Ch Land O'Lakes                                     Greater Tampa Bay Area 089              6209 Land O Lakes Blvd                                     Land O Lakes, FL 34638‐3215                                                                                     First Class Mail
Chartered Organization         1St Utd Methodist Ch Lawrenceville                                    Northeast Georgia Council 101           395 W Crogan St 29                                         Lawrenceville, GA 30046‐6921                                                                                    First Class Mail
Chartered Organization         1St Utd Methodist Ch Lewisville                                       Longhorn Council 662                    907 W Main St                                              Lewisville, TX 75067‐3515                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist Ch Lincolnton                                       Piedmont Council 420                    201 E Main St                                              Lincolnton, NC 28092‐3332                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist Ch Lockhart                                         Capitol Area Council 564                313 W San Antonio St                                       Lockhart, TX 78644‐2655                                                                                         First Class Mail
Chartered Organization         1St Utd Methodist Ch Los Alamos                                       Great Southwest Council 412             715 Diamond Dr                                             Los Alamos, NM 87544‐2230                                                                                       First Class Mail
Chartered Organization         1St Utd Methodist Ch Lucedale                                         Pine Burr Area Council 304              5101 Main St                                               Lucedale, MS 39452‐6561                                                                                         First Class Mail
Chartered Organization         1St Utd Methodist Ch Mansfield                                        Longhorn Council 662                    601 Pleasant Ridge Dr                                      Mansfield, TX 76063‐1555                                                                                        First Class Mail
Chartered Organization         1St Utd Methodist Ch Mcalester                                        Indian Nations Council 488              1501 S 13th St                                             Mcalester, OK 74501‐7158                                                                                        First Class Mail
Chartered Organization         1St Utd Methodist Ch Mcalester                                        Indian Nations Council 488              1501 S 13th St                                             Mcalester, OK 74501‐7158                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 1 of 442
                                                                                     Case 20-10343-LSS                                         Doc 8171                                      Filed 01/06/22                                            Page 17 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                        Name                                                                                         Address                                                                                                             Email              Method of Service
Chartered Organization         1St Utd Methodist Ch Mcminnville                             Middle Tennessee Council 560               200 W Main St                                         Mcminnville, TN 37110‐2518                                                                             First Class Mail
Chartered Organization         1St Utd Methodist Ch Midfield                                Lake Erie Council 440                      P.O. Box 207                                          Middlefield, OH 44062‐0207                                                                             First Class Mail
Chartered Organization         1St Utd Methodist Ch Milledgeville                           Central Georgia Council 096                366 Log Cabin Rd Ne                                   Milledgeville, GA 31061‐7726                                                                           First Class Mail
Chartered Organization         1St Utd Methodist Ch Mineral Wells                           Longhorn Council 662                       301 NE 1st St                                         Mineral Wells, TX 76067‐4405                                                                           First Class Mail
Chartered Organization         1St Utd Methodist Ch Mont Belvieu                            Sam Houston Area Council 576               10629 Eagle Dr                                        Mont Belvieu, TX 77523‐7601                                                                            First Class Mail
Chartered Organization         1St Utd Methodist Ch Morristown                              Great Smoky Mountain Council 557           101 E 1st North St                                    Morristown, TN 37814‐4707                                                                              First Class Mail
Chartered Organization         1St Utd Methodist Ch Mount Dora                              Central Florida Council 083                440 E 6th Ave                                         Mount Dora, FL 32757‐5630                                                                              First Class Mail
Chartered Organization         1St Utd Methodist Ch Munfordville                            Lincoln Heritage Council 205               421 Hardyville Rd                                     Munfordville, KY 42765‐9241                                                                            First Class Mail
Chartered Organization         1St Utd Methodist Ch Muskogee                                Indian Nations Council 488                 600 E Okmulgee St                                     Muskogee, OK 74403‐5528                                                                                First Class Mail
Chartered Organization         1St Utd Methodist Ch Myrtle Beach                            Pee Dee Area Council 552                   901 N Kings Hwy                                       Myrtle Beach, SC 29577‐3722                                                                            First Class Mail
Chartered Organization         1St Utd Methodist Ch N Hollywood                             W.L.A.C.C. 051                             4832 Tujunga Ave                                      North Hollywood, CA 91601‐4520                                                                         First Class Mail
Chartered Organization         1St Utd Methodist Ch Ormond Beach                            Central Florida Council 083                336 S Halifax Dr                                      Ormond Beach, FL 32176‐8111                                                                            First Class Mail
Chartered Organization         1St Utd Methodist Ch Palo Alto                               Pacific Skyline Council 031                625 Hamilton Ave                                      Palo Alto, CA 94301‐2016                                                                               First Class Mail
Chartered Organization         1St Utd Methodist Ch Park Hills                              Greater St Louis Area Council 312          403 Taylor Ave                                        Park Hills, MO 63601                                                                                   First Class Mail
Chartered Organization         1St Utd Methodist Ch Pawhuska, Ok                            Cherokee Area Council 469 469              621 Leahy Ave                                         Pawhuska, OK 74056‐4226                                                                                First Class Mail
Chartered Organization         1St Utd Methodist Ch Plainwell                               President Gerald R Ford 781                200 Park St                                           Plainwell, MI 49080‐1654                                                                               First Class Mail
Chartered Organization         1St Utd Methodist Ch Plant City                              Greater Tampa Bay Area 089                 P.O. Box 1809                                         Plant City, FL 33564                                                                                   First Class Mail
Chartered Organization         1St Utd Methodist Ch Port Byron                              Illowa Council 133                         9412 228th St N                                       Port Byron, IL 61275‐9205                                                                              First Class Mail
Chartered Organization         1St Utd Methodist Ch Port Orange                             Central Florida Council 083                405 Dunlawton Ave                                     Port Orange, FL 32127‐4453                                                                             First Class Mail
Chartered Organization         1St Utd Methodist Ch Port St John                            Central Florida Council 083                1165 Fay Blvd                                         Cocoa, FL 32927‐8740                                                                                   First Class Mail
Chartered Organization         1St Utd Methodist Ch Portageville                            Greater St Louis Area Council 312          110 E 5th St                                          Portageville, MO 63873‐1467                                                                            First Class Mail
Chartered Organization         1St Utd Methodist Ch Randleman                               Old N State Council 070                    301 S Main St                                         Randleman, NC 27317‐1815                                                                               First Class Mail
Chartered Organization         1St Utd Methodist Ch Richardson                              Circle Ten Council 571                     P.O. Box 830877                                       Richardson, TX 75083‐0877                                                                              First Class Mail
Chartered Organization         1St Utd Methodist Ch Round Rock                              Capitol Area Council 564                   1004 N Mays St                                        Round Rock, TX 78664‐4332                                                                              First Class Mail
Chartered Organization         1St Utd Methodist Ch Sallisaw                                Indian Nations Council 488                 2100 E Mcgee Ave                                      Sallisaw, OK 74955‐5468                                                                                First Class Mail
Chartered Organization         1St Utd Methodist Ch Santa Monica                            W.L.A.C.C. 051                             1008 11th St                                          Santa Monica, CA 90403‐4107                                                                            First Class Mail
Chartered Organization         1St Utd Methodist Ch Santa Rosa                              Redwood Empire Council 041                 1551 Montgomery Dr                                    Santa Rosa, CA 95405‐4507                                                                              First Class Mail
Chartered Organization         1St Utd Methodist Ch Saranac Lake                            Twin Rivers Council 364                    19 Church St                                          Saranac Lake, NY 12983‐1801                                                                            First Class Mail
Chartered Organization         1St Utd Methodist Ch Scotch Plains                           Patriots Path Council 358                  1171 Terrill Rd                                       Scotch Plains, NJ 07076‐2227                                                                           First Class Mail
Chartered Organization         1St Utd Methodist Ch Sneads Ferry                            East Carolina Council 426                  305 Lakeside Dr                                       Sneads Ferry, NC 28460‐9418                                                                            First Class Mail
Chartered Organization         1St Utd Methodist Ch Spgfield                                Middle Tennessee Council 560               511 S Oak St                                          Springfield, TN 37172‐2737                                                                             First Class Mail
Chartered Organization         1St Utd Methodist Ch St Charles                              Greater St Louis Area Council 312          801 1st Capitol Dr                                    Saint Charles, MO 63301‐2731                                                                           First Class Mail
Chartered Organization         1St Utd Methodist Ch Stillwater                              Northern Star Council 250                  813 Myrtle St W                                       Stillwater, MN 55082‐4765                                                                              First Class Mail
Chartered Organization         1St Utd Methodist Ch Union Cnty                              Northeast Georgia Council 101              859 Hwy 515                                           Blairsville, GA 30512                                                                                  First Class Mail
Chartered Organization         1St Utd Methodist Ch Verdigris                               Indian Nations Council 488                 8936 E 530 Rd                                         Claremore, OK 74019‐4305                                                                               First Class Mail
Chartered Organization         1St Utd Methodist Ch Warrensburg                             Twin Rivers Council 364                    3890 Main St                                          Warrensburg, NY 12885‐1336                                                                             First Class Mail
Chartered Organization         1St Utd Methodist Ch Wartrace                                Middle Tennessee Council 560               305 Main St E                                         Wartrace, TN 37183                                                                                     First Class Mail
Chartered Organization         1St Utd Methodist Ch Watkinsville                            Northeast Georgia Council 101              123 New High Shoals Rd                                Watkinsville, GA 30677‐2459                                                                            First Class Mail
Chartered Organization         1St Utd Methodist Ch Webster Groves                          Greater St Louis Area Council 312          600 N Bompart Ave                                     Saint Louis, MO 63119‐1904                                                                             First Class Mail
Chartered Organization         1St Utd Methodist Ch Winter Park                             Central Florida Council 083                125 N Interlachen Ave                                 Winter Park, FL 32789‐3804                                                                             First Class Mail
Chartered Organization         1St Utd Methodist Ch, Blytheville                            Quapaw Area Council 018                    701 Main St                                           Blytheville, AR 72315                                                                                  First Class Mail
Chartered Organization         1St Utd Methodist Ch, Carson City                            Nevada Area Council 329                    412 W Musser St                                       Carson City, NV 89703‐4930                                                                             First Class Mail
Chartered Organization         1St Utd Methodist Ch‐Board Trustees                          W D Boyce 138                              211 N School St                                       Normal, IL 61761‐2503                                                                                  First Class Mail
Chartered Organization         1St Utd Methodist Ch‐New Braunfels                           Alamo Area Council 583                     572 W San Antonio St                                  New Braunfels, TX 78130‐7904                                                                           First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Louisiana Purchase Council 213             222 S Washington St                                   Bastrop, LA 71220‐4524                                                                                 First Class Mail
Chartered Organization         1St Utd Methodist Church                                     De Soto Area Council 013                   121 Harrison Ave Sw                                   Camden, AR 71701‐3934                                                                                  First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Indian Nations Council 488                 1615 N Hwy 88                                         Claremore, OK 74017‐2226                                                                               First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Northwest Georgia Council 100              500 S Thornton Ave                                    Dalton, GA 30720‐8270                                                                                  First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Bay Area Council 574                       200 Hwy 517 W                                         Dickinson, TX 77539                                                                                    First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Bay Area Council 574                       P.O. Box 487                                          Dickinson, TX 77539‐0487                                                                               First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Northeast Georgia Council 101              118 S Thomas St                                       Elberton, GA 30635‐2518                                                                                First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Monmouth Council, Bsa 347                  8 Main St                                             Farmingdale, NJ 07727‐1207                                                                             First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Coronado Area Council 192                  804 N Jefferson St                                    Junction City, KS 66441‐2445                                                                           First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Bay Area Council 574                       404 Azalea St                                         Lake Jackson, TX 77566‐5872                                                                            First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Blackhawk Area 660                         3717 Main St                                          Mchenry, IL 60050‐5252                                                                                 First Class Mail
Chartered Organization         1St Utd Methodist Church                                     East Texas Area Council 585                7638 Park Dr                                          Ore City, TX 75683‐5711                                                                                First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Simon Kenton Council 441                   18 S Fulton St                                        Richwood, OH 43344‐1117                                                                                First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Conquistador Council Bsa 413               200 N Pennsylvania Ave                                Roswell, NM 88201‐4666                                                                                 First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Conquistador Council Bsa 413               200 N Pennsylvania Ave                                Roswell, NM 88201‐4666                                                                                 First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Bay Area Council 574                       207 E 1st St                                          Sweeny, TX 77480‐3003                                                                                  First Class Mail
Chartered Organization         1St Utd Methodist Church                                     Circle Ten Council 571                     P.O. Box 125                                          Van Alstyne, TX 75495‐0125                                                                             First Class Mail
Chartered Organization         1St Utd Methodist Church Bartlett                            Capitol Area Council 564                   645 W Clark St                                        Bartlett, TX 76511‐4519                                                                                First Class Mail
Chartered Organization         1St Utd Methodist Church Council                             Mid‐America Council 326                    127 N 10th St                                         Fort Dodge, IA 50501‐3914                                                                              First Class Mail
Chartered Organization         1St Utd Methodist Church Mens Club                           W D Boyce 138                              154 E Washington St                                   East Peoria, IL 61611‐2529                                                                             First Class Mail
Chartered Organization         1St Utd Methodist Church Mtn View                            Quapaw Area Council 018                    P.O. Box 74                                           Mountain View, AR 72560‐0074                                                                           First Class Mail
Chartered Organization         1St Utd Methodist Church Oakhurst                            Monmouth Council, Bsa 347                  103 Monmouth Rd                                       Oakhurst, NJ 07755‐1632                                                                                First Class Mail
Chartered Organization         1St Utd Methodist Church Of Escondido                        San Diego Imperial Council 049             341 S Kalmia St                                       Escondido, CA 92025‐4208                                                                               First Class Mail
Chartered Organization         1St Utd Methodist Church Of Hale                             Water and Woods Council 782                P.O. Box 46                                           Hale, MI 48739‐0046                                                                                    First Class Mail
Chartered Organization         1St Utd Methodist Church Of Mesquite                         Circle Ten Council 571                     300 N Galloway Ave                                    Mesquite, TX 75149‐4326                                                                                First Class Mail
Chartered Organization         1St Utd Methodist Church Of Millbrook                        Tukabatchee Area Council 005               P.O. Box 609                                          Millbrook, AL 36054‐0012                                                                               First Class Mail
Chartered Organization         1St Utd Methodist Church Of Palmetto                         Southwest Florida Council 088              330 11th Ave W                                        Palmetto, FL 34221‐5006                                                                                First Class Mail
Chartered Organization         1St Utd Methodist Church‐Kerrville                           Alamo Area Council 583                     321 Thompson Dr                                       Kerrville, TX 78028‐5805                                                                               First Class Mail
Chartered Organization         1St Utd Methodist Mens Club                                  Kiwanis Dexter                             P.O. Box 15                                           Dexter, MO 63841‐0015                                                                                  First Class Mail
Chartered Organization         1St Utd Methodist Mens Group                                 Northeast Georgia Council 101              P.O. Box 472                                          Ellijay, GA 30540‐0007                                                                                 First Class Mail
Chartered Organization         1St Utd Methodist Of Lindale                                 East Texas Area Council 585                P.O. Box 367                                          Lindale, TX 75771‐0367                                                                                 First Class Mail
Chartered Organization         1St Utd Presbyterian Ch Brownstown, Inc                      Hoosier Trails Council 145 145             417 N Elm St                                          Brownstown, IN 47220‐1309                                                                              First Class Mail
Chartered Organization         1St Utd Presbyterian Ch Dale City                            National Capital Area Council 082          14391 Minnieville Rd                                  Woodbridge, VA 22193‐3042                                                                              First Class Mail
Chartered Organization         1St Utd Presbyterian Ch Harrisburg                           Greater St Louis Area Council 312          34 W Poplar St                                        Harrisburg, IL 62946‐1445                                                                              First Class Mail
Chartered Organization         1St Utd Presbyterian Ch Houston                              Laurel Highlands Council 527               102 N Main St                                         Houston, PA 15342‐1534                                                                                 First Class Mail
Chartered Organization         1St Utd Presbyterian Ch Tarentum                             Laurel Highlands Council 527               913 Lock St                                           Tarentum, PA 15084‐1041                                                                                First Class Mail
Chartered Organization         1St Utd Presbyterian Chr Of Dale City                        National Capital Area Council 082          14391 Minnieville Rd                                  Woodbridge, VA 22193‐3042                                                                              First Class Mail
Chartered Organization         1St Ward ‐ Lds Sierra Vista Stake                            Catalina Council 011                       1000 Taylor Dr                                        Sierra Vista, AZ 85635‐1080                                                                            First Class Mail
Chartered Organization         2 Sound Productions                                          Middle Tennessee Council 560               433 Brinkley Rd                                       Murfreesboro, TN 37128‐3817                                                                            First Class Mail
Chartered Organization         20 Communication Booster Club                                Pee Dee Area Council 552                   20 Comm Bldg                                          Shaw A F B, Sc 29152                                                                                   First Class Mail
Chartered Organization         204 Alumni Assoc                                             Longhouse Council 373                      4770 Black Oak Dr                                     Liverpool, NY 13088‐4108                                                                               First Class Mail
Chartered Organization         20Th Century Club                                            Yocona Area Council 748                    204 N Main St                                         Iuka, MS 38852‐2311                                                                                    First Class Mail
Chartered Organization         20Th Civil Engineer Booster Club                             Pee Dee Area Council 552                   3645 Camden Hwy                                       Shaw Afb, SC 29152                                                                                     First Class Mail
Chartered Organization         21St Cclc Impact                                             President Gerald R Ford 781                1826 Hoyt St                                          Muskegon, MI 49442‐5640                                                                                First Class Mail
Chartered Organization         21St Century ‐ Cahokia High School                           Greater St Louis Area Council 312          800 Range Ln                                          Cahokia, IL 62206‐2022                                                                                 First Class Mail
Chartered Organization         21St Century Anchor Program                                  Ohio River Valley Council 619              91 Zane St                                            Wheeling, WV 26003‐2292                                                                                First Class Mail
Chartered Organization         21St Century At Belle Stone Elem Sch                         Buckeye Council 436                        2100 Rowland Ave Ne                                   Canton, OH 44714‐2148                                                                                  First Class Mail
Chartered Organization         21St Century Clc                                             Coastal Georgia Council 099                208 Bull St                                           Savannah, GA 31401‐3843                                                                                First Class Mail
Chartered Organization         21St Century Community Learning Center                       Tukabatchee Area Council 005               901 Pegues Cir                                        Marion, AL 36756‐2115                                                                                  First Class Mail
Chartered Organization         21St Century Community Learning Center                       Great Trail 433                            105 High St Ne                                        Warren, OH 44481‐1219                                                                                  First Class Mail
Chartered Organization         21St Century Community Learning Centers                      President Gerald R Ford 781                1420 Madison St                                       Muskegon, MI 49442‐5251                                                                                First Class Mail
Chartered Organization         21St Century Jacobs                                          Narragansett 546                           47 Emery St                                           New Bedford, MA 02744‐1522                                                                             First Class Mail
Chartered Organization         21St Century Penniman                                        Greater St Louis Area Council 312          1820 Jerome Ln                                        Cahokia, IL 62206‐2331                                                                                 First Class Mail
Chartered Organization         21St Century Rosa Parks                                      Erie Shores Council 460                    1500 N Superior St                                    Toledo, OH 43604‐2157                                                                                  First Class Mail
Chartered Organization         21St Century Wirth                                           Greater St Louis Area Council 312          1900 Mousette Ln                                      Cahokia, IL 62206‐2922                                                                                 First Class Mail
Chartered Organization         21St Ows Top Iv                                              Transatlantic Council, Bsa 802             Unit 3124 21 Ows Bldg 2783                            Apo, AE 09094‐3124                                                                                     First Class Mail
Chartered Organization         24 Church                                                    Middle Tennessee Council 560               P.O. Box 230                                          Pleasant View, TN 37146‐0230                                                                           First Class Mail
Chartered Organization         24Th Iowa Volunteer Infantry                                 Hawkeye Area Council 172                   2406 18th St Sw                                       Cedar Rapids, IA 52404‐3329                                                                            First Class Mail
Chartered Organization         25Th District Chicago Police                                 Pathway To Adventure 456                   5555 W Grand Ave                                      Chicago, IL 60639‐2909                                                                                 First Class Mail
Voting Party                   2Cimple, Inc                                                 c/o Fair Harbor Capital LLC                Attn: Victor Knox                                     P.O. Box 237037                   New York, NY 10023                vknox@fairharborcapital.com        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         2Nd District Chicago Police Explorers                        Pathway To Adventure 456                   5101 S Wentworth Ave                                  Chicago, IL 60609‐5323                                                                                 First Class Mail
Chartered Organization         2Nd District Volunteer Fire Dept                             National Capital Area Council 082          45245 Draden Rd                                       Valley Lee, MD 20692                                                                                   First Class Mail
Chartered Organization         2Nd Ward ‐ Lds Sierra Vista Stake                            Catalina Council 011                       2100 E Yaqui St                                       Sierra Vista, AZ 85650                                                                                 First Class Mail
Chartered Organization         3 Degrees Tactical                                           Las Vegas Area Council 328                 5733 Oasis Ridge St                                   N Las Vegas, NV 89031‐1319                                                                             First Class Mail
Chartered Organization         3 Mins Defirillation Rural America, Inc                      Prairielands 117                           3168 E 640 N                                          Wingate, IN 47994‐8018                                                                                 First Class Mail
Chartered Organization         300 Degree                                                   Circle Ten Council 571                     965 Rolling Meadow Dr                                 Lavon, TX 75166‐1261                                                                                   First Class Mail
Voting Party                   3096‐3227 Quebec, Inc/Groupe Access                          8270 Mayrand                               Montreal, Qc H4P 2C5                                  Canada                                                                                                 First Class Mail
Voting Party                   3180 Peachtree Rd NE                                         Atlanta, GA 30305                                                                                                                                                                                       First Class Mail
Chartered Organization         31St Street Baptist/4St Baptist Church                       Heart of Virginia Council 602              823 N 31st St                                         Richmond, VA 23223‐6723                                                                                First Class Mail
Chartered Organization         346 Parents Assoc, Inc                                       South Florida Council 084                  5041 SW 10th St                                       Plantation, FL 33317‐4406                                                                              First Class Mail
Chartered Organization         372 ‐ Lds Pioneer Ward                                       Cornhusker Council 324                     3000 Old Cheney Rd                                    Lincoln, NE 68516                                                                                      First Class Mail
Chartered Organization         374 Lrs (Yuuko Club)                                         Far E Council 803                          Psc 78 Box 728                                        Apo, AP 96326‐0008                                                                                     First Class Mail
Chartered Organization         37Th Airlift Squadron Booster Club                           Transatlantic Council, Bsa 802             Unit 3108                                             Apo, AE 09094‐3108                                                                                     First Class Mail
Chartered Organization         3Mb‐Men Mentoring Men And Boys                               Lake Erie Council 440                      2650 E 125th St                                       Cleveland, OH 44120                                                                                    First Class Mail
Chartered Organization         3Rd District Juvenial Court                                  Lfl Explorer Posts                         3636 S Constitution Blvd                              West Valley City, UT 84119‐3720                                                                        First Class Mail
Chartered Organization         3Rd Ward ‐ Lds Sierra Vista Stake                            Catalina Council 011                       1655 Avenida Del Sol                                  Sierra Vista, AZ 85635‐4419                                                                            First Class Mail
Chartered Organization         4 Communities Volunteer Fire Dept                            Central Florida Council 083                4870 N US Hwy 1                                       Cocoa, FL 32927‐6070                                                                                   First Class Mail
Chartered Organization         4 H Shooting Sports                                          De Soto Area Council 013                   307 American Rd, Ste 101                              El Dorado, AR 71730‐6582                                                                               First Class Mail
Chartered Organization         4 Hills Private Community                                    Great Southwest Council 412                12300 Singing Arrow Ave Se                            Albuquerque, NM 87123‐3704                                                                             First Class Mail
Chartered Organization         4 Scouting, Inc                                              Southwest Florida Council 088              2315 SW 22nd Ter                                      Cape Coral, FL 33991‐3033                                                                              First Class Mail
Chartered Organization         4 Seasons Athletics                                          Twin Valley Council Bsa 283                124 State St N                                        Waseca, MN 56093‐2929                                                                                  First Class Mail
Chartered Organization         426 Explorer Post                                            Southern Sierra Council 030                29449 Stockdale Hwy                                   Bakersfield, CA 93314‐9644                                                                             First Class Mail
Chartered Organization         45Th Street Baptist Church                                   Greater Alabama Council 001                7600 Div Ave                                          Birmingham, AL 35206‐4211                                                                              First Class Mail
Chartered Organization         465 Alumni, Inc                                              Atlanta Area Council 092                   1948 Tripp Rd                                         Woodstock, GA 30188‐2337                                                                               First Class Mail
Chartered Organization         48 Fw/Hc Catholic Men Of The Chapel                          Transatlantic Council, Bsa 802             Unit 5210                                             Apo, AE 09461‐5210                                                                                     First Class Mail
Chartered Organization         49Er Rotary Club Of Nevada City                              Golden Empire Council 047                  101 W Mcknight Way, Ste B                             Grass Valley, CA 95949‐9613                                                                            First Class Mail
Chartered Organization         4And20 Bakers                                                Coastal Georgia Council 099                115 N Ennis St                                        Sylvania, GA 30467‐1958                                                                                First Class Mail
Chartered Organization         4Th District Chicago Police Dept                             Pathway To Adventure 456                   2255 E 103rd St                                       Chicago, IL 60617‐5612                                                                                 First Class Mail
Chartered Organization         4Th Uniterian Society Of Westchester                         Westchester Putnam 388                     1698 Strawberry Rd                                    Mohegan Lake, NY 10547                                                                                 First Class Mail
Chartered Organization         4Th Ward ‐ Lds Sierra Vista Stake                            Catalina Council 011                       1655 Avenida Del Sol                                  Sierra Vista, AZ 85635‐4419                                                                            First Class Mail
Chartered Organization         5 Cities Mens Club                                           Los Padres Council 053                     P.O. Box 0                                            Grover Beach, CA 93483                                                                                 First Class Mail
Chartered Organization         5 Star Fire Explorers                                        Bay‐Lakes Council 635                      8411 County Rd M                                      Plymouth, WI 53073                                                                                     First Class Mail
Voting Party                   5th Ave United Methodist Church                              Attn: Treasurer                            323 5th Ave                                           West Bend, WI 53095                                                 church@faumc.org                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         5Th Ward ‐ Lds Sierra Vista Stake                            Catalina Council 011                       1655 Avenida Del Sol                                  Sierra Vista, AZ 85635‐4419                                                                            First Class Mail
Chartered Organization         628 Communications Squadron Booster Club                     Coastal Carolina Council 550               103 N Graves Ave                                      Charleston Afb, SC 29404                                                                               First Class Mail
Chartered Organization         672 ‐ Lds Holmes Lake Ward                                   Cornhusker Council 324                     3000 Old Cheney Rd                                    Lincoln, NE 68516                                                                                      First Class Mail
Chartered Organization         6Th District Explorers                                       Pathway To Adventure 456                   7808 S Halsted St                                     Chicago, IL 60620‐2413                                                                                 First Class Mail
Chartered Organization         7 Rivers Community High School                               Gateway Area 624                           807 E Ave S                                           La Crosse, WI 54601‐4982                                                                               First Class Mail
Chartered Organization         72 ‐ Lds Yankee Hill Ward                                    Cornhusker Council 324                     3000 Old Cheney Rd                                    Lincoln, NE 68516                                                                                      First Class Mail
Chartered Organization         7456Th Mbb Family Readiness Suppgrp Frsg                     Mid Iowa Council 177                       225 E Army Post Rd                                    Des Moines, IA 50315‐5824                                                                              First Class Mail
Chartered Organization         772 ‐ Lds Seward Branch                                      Cornhusker Council 324                     1055 E Seward St                                      Seward, NE 68434                                                                                       First Class Mail
Chartered Organization         773 Scouters Assoc                                           Atlanta Area Council 092                   P.O. Box 1572                                         Dallas, GA 30132‐0027                                                                                  First Class Mail
Chartered Organization         786 Ces Booster Club                                         Transatlantic Council, Bsa 802             Ramstein Air Base                                     Apo, AE 09136                                                                                          First Class Mail
Chartered Organization         7Th District Caps                                            Pathway To Adventure 456                   1438 W 63rd St                                        Chicago, IL 60636‐2354                                                                                 First Class Mail
Chartered Organization         7Th Masonic District Mwphgl Va                               Colonial Virginia Council 595              2505 Chestnut Ave                                     Newport News, VA 23607‐4722                                                                            First Class Mail
Chartered Organization         82Nd Airborne Assoc                                          Yucca Council 573                          2608 Fort Blvd                                        El Paso, TX 79930‐2116                                                                                 First Class Mail
Chartered Organization         838 Youth Ministries, Inc                                    Circle Ten Council 571                     3556 Golfing Green Dr                                 Dallas, TX 75234‐5153                                                                                  First Class Mail
Chartered Organization         86 Ceg Top Iii                                               Transatlantic Council, Bsa 802             Bldg 2693, Ramstein Ab                                Apo, AE 09094                                                                                          First Class Mail
Voting Party                   876 Media, LLC                                               Attn: William Strasser                     122 Goddord Ave                                       Fayetteville, WV 25840                                              billystrassser@gmail.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         8Th District Chicago Police                                  Pathway To Adventure 456                   3420 W 63rd St                                        Chicago, IL 60629‐3710                                                                                 First Class Mail
Chartered Organization         9161 Scouters Assoc                                          Atlanta Area Council 092                   15 Farm Brook Ln                                      Dallas, GA 30157‐4497                                                                                  First Class Mail
Chartered Organization         9644 Vfw Auxiliary                                           Denver Area Council 061                    2680 W Hampden Ave                                    Englewood, CO 80110‐1906                                                                               First Class Mail
Chartered Organization         9644 Vfw Auxillary                                           Denver Area Council 061                    2680 W Hampden Ave                                    Englewood, CO 80110‐1906                                                                               First Class Mail
Voting Party                   9th St Christian Church Now River of Life Christian Church   Attn: Connie Kiesling                      130 Mall Rd                                           Logansport, IN 46947                                                conniekiesling@yahoo.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         A & B Process Systems                                        Samoset Council, Bsa 627                   212700 Stainless Ave                                  Stratford, WI 54484‐4324                                                                               First Class Mail
Chartered Organization         A & J Scuba Diving Instruction                               Glaciers Edge Council 620                  7517 S 74th St                                        Franklin, WI 53132‐9000                                                                                First Class Mail
Voting Party                   A & S Suppliers, Inc                                         1970 W 84th St                             Hialeah, FL 33014‐3252                                                                                                                                       First Class Mail
Chartered Organization         A Bright Tomorrow Counseling Service, Inc                    Last Frontier Council 480                  13524 Railway Dr, Ste G                               Oklahoma City, OK 73114‐2258                                                                           First Class Mail
Chartered Organization         A Ch Jesus Christ Lds                                        Jefferson Ward                             5025 Cleveland Pl                                     Metairie, LA 70003‐1019                                                                                First Class Mail
Voting Party                   A Christine Williams                                         408 S Market St                            Danville, OH 43014                                                                                                        acwilliams48@yahoo.com             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         A D Lewis Community Center                                   Buckskin 617                               1450 A D Lewis Ave                                    Huntington, WV 25701‐3500                                                                              First Class Mail
Chartered Organization         A E Phelps Engine Co 1                                       Twin Rivers Council 364                    P.O. Box 183                                          Crown Point, NY 12928‐0183                                                                             First Class Mail
Chartered Organization         A Group Of Businessmen Of Gallipolis                         Buckskin 617                               81 State                                              Gallipolis, OH 45631‐1147                                                                              First Class Mail
Chartered Organization         A Group Of Citizens                                          Westchester Putnam 388                     P.O. Box 630                                          Bronxville, NY 10708‐0630                                                                              First Class Mail
Chartered Organization         A Group Of Citizens                                          Westchester Putnam 388                     19 Hillcrest Rd                                       Bronxville, NY 10708‐4518                                                                              First Class Mail
Chartered Organization         A Group Of Citizens                                          Westchester Putnam 388                     39 7th St                                             New Rochelle, NY 10801‐5813                                                                            First Class Mail
Chartered Organization         A Group Of Citizens                                          Westchester Putnam 388                     168 Read Ave                                          Tuckahoe, NY 10707‐2316                                                                                First Class Mail
Chartered Organization         A Group Of Citizens                                          Westchester Putnam 388                     58 Bradford Blvd                                      Yonkers, NY 10710‐3638                                                                                 First Class Mail
Chartered Organization         A Group Of Citizens Of New Dorp, Inc                         Greater New York Councils, Bsa 640         19 4th St                                             Staten Island, NY 10306‐2231                                                                           First Class Mail
Chartered Organization         A Novel Idea Book Parlor                                     Trapper Trails 589                         2465 N Main St                                        Sunset, UT 84015‐2450                                                                                  First Class Mail
Chartered Organization         A O Mattson Post 25 American Legion                          Northern Lights Council 429                410 Lake St Ne                                        Warroad, MN 56763                                                                                      First Class Mail
Chartered Organization         A O Mattson Post 25 American Legion                          Northern Lights Council 429                410 Lake St Ne                                        Warroad, MN 56763                                                                                      First Class Mail
Chartered Organization         A P Beutel Elementary Ranch                                  Bay Area Council 574                       300 Ligustrum St                                      Lake Jackson, TX 77566‐5878                                                                            First Class Mail
Chartered Organization         A R Presbyterian Church                                      Palmetto Council 549                       P.O. Box 174                                          Chester, SC 29706‐0174                                                                                 First Class Mail
Chartered Organization         A Step Ahead Learning Center                                 Atlanta Area Council 092                   340 Wilkerson Rd                                      Rex, GA 30273‐1409                                                                                     First Class Mail
Chartered Organization         A Stitch Or Two, LLC                                         Illowa Council 133                         2549 34th St                                          Moline, IL 61265‐4925                                                                                  First Class Mail
Chartered Organization         A W Brown Fellowship Academy Parents                         Circle Ten Council 571                     804 Ember Ln                                          Mesquite, TX 75149‐8602                                                                                First Class Mail
Voting Party                   A&M United Methodist Church                                  Attn: Wilber Mccollum Facilities Manager   417 University Dr                                     College Station, TX 77840                                           wmccollum@am‐umc.org               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         A. L. Holmes Elementary Pta Group                            Great Lakes Fsc 272                        8950 Crane St                                         Detroit, MI 48213‐2273                                                                                 First Class Mail
Voting Party                   A.B. Emblems & Caps                                          Attn: Jerry Williams                       Conrad Inc                                            22 Ab Emblem Dr                   Weaverville, NC 28787             jerry@abemblem.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                            Page 2 of 442
                                                                                    Case 20-10343-LSS                                                                                              Doc 8171                                             Filed 01/06/22                                                 Page 18 of 457
                                                                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                                                                      Service List
                                                                                                                                                                                                                               Served as set forth below

        Description                                                       Name                                                                                                                                                     Address                                                                                                                          Email                  Method of Service
Voting Party                   A.B. Emblems & Caps                                                                          P.O. Box 695                                                  Weaverville, NC 28787                                                                                                                                                                 First Class Mail
Chartered Organization         A.E. Beach High School                                                                       Coastal Georgia Council 099                                   3001 Hopkins St                                               Savannah, GA 31405‐1613                                                                                                 First Class Mail
Chartered Organization         A+ Academy Elementary                                                                        Circle Ten Council 571                                        8225 Bruton Rd                                                Dallas, TX 75217‐1903                                                                                                   First Class Mail
Chartered Organization         A+ Academy Secondary                                                                         Circle Ten Council 571                                        8225 Bruton Rd                                                Dallas, TX 75217‐1903                                                                                                   First Class Mail
Chartered Organization         A+ Arts Academy                                                                              Simon Kenton Council 441                                      1395 Fair Ave                                                 Columbus, OH 43205‐1543                                                                                                 First Class Mail
Voting Party                   A‐1 Services, Inc                                                                            2715 Hwy 37                                                   Eveleth, MN 55734                                                                                                                                admin@a1servicesmn.com               Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Aaaa                                                                                         Alabama‐Florida Council 003                                   P.O. Box 620643                                               Fort Rucker, AL 36362‐0643                                                                                              First Class Mail
Chartered Organization         Aaaa‐Zama                                                                                    Unit 45007 Far E Council 803                                  Apo, AP 96343‐5007                                                                                                                                                                    First Class Mail
Chartered Organization         Aacal Animal Science                                                                         Golden Spread Council 562                                     1100 N Forest St                                              Amarillo, TX 79106‐7038                                                                                                 First Class Mail
Chartered Organization         Aacal Autotechnology                                                                         Golden Spread Council 562                                     1100 N Forest St                                              Amarillo, TX 79106‐7038                                                                                                 First Class Mail
Chartered Organization         Aacal Computer Technology                                                                    Golden Spread Council 562                                     1100 N Forest St                                              Amarillo, TX 79106‐7038                                                                                                 First Class Mail
Chartered Organization         Aacal Health Science                                                                         Golden Spread Council 562                                     1100 N Forest St                                              Amarillo, TX 79106‐7038                                                                                                 First Class Mail
Chartered Organization         Aacal Preengineering                                                                         Golden Spread Council 562                                     1100 N Forest St                                              Amarillo, TX 79106‐7038                                                                                                 First Class Mail
Voting Party                   Aaf Hauling                                                                                  c/o Fair Harbor Capital LLC                                   Attn: Victor Knox                                             P.O. Box 237037                       New York, NY 10023                           vknox@fairharborcapital.com          Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Aaron Baptist Church                                                                         Daniel Boone Council 414                                      P.O. Box 266                                                  Montezuma, NC 28653‐0266                                                                                                First Class Mail
Chartered Organization         Aaron Rondon Dds Ms                                                                          Greater Yosemite Council 059                                  1002 W Robinhood Dr                                           Stockton, CA 95207‐5604                                                                                                 First Class Mail
Voting Party                   Aarp Tax‐Aide                                                                                Attn: Aaron G Ballinger                                       194 Hershel Ln                                                Hedgesville                                                                        putter_cons@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Abake Mi Sa Na Ki Lodge                                                                      Cape Cod and Islands Cncl 224                                 247 Willow St                                                 Yarmouth Port, MA 02675‐1744                                                                                            First Class Mail
Chartered Organization         Abbett Elementary School Pta                                                                 Circle Ten Council 571                                        730 W Muirfield Rd                                            Garland, TX 75044‐4102                                                                                                  First Class Mail
Chartered Organization         Abbeville County Public Safety                                                               Blue Ridge Council 551                                        102 S Main St                                                 Abbeville, SC 29620‐2428                                                                                                First Class Mail
Chartered Organization         Abbotsford Lions Club                                                                        Samoset Council, Bsa 627                                      P.O. Box 22                                                   Abbotsford, WI 54405‐0022                                                                                               First Class Mail
Chartered Organization         Abbotsford Pto                                                                               Samoset Council, Bsa 627                                      510 W Hemlock St                                              Abbotsford, WI 54405‐9730                                                                                               First Class Mail
Chartered Organization         Abbott Laboratories                                                                          Northeast Illinois 129                                        100 Abbott Park Rd                                            Abbott Park, IL 60064‐3502                                                                                              First Class Mail
Voting Party                   Abbott, Larry C                                                                              Address Redacted                                                                                                                                                                                               Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Abc Burglar Alarm Systems, Inc                                                               P.O. Box 189                                                  Orland Park, IL 60462‐0189                                                                                                                                                            First Class Mail
Chartered Organization         Abc Of The Carolinas                                                                         Old Hickory Council 427                                       610 Minuet Ln                                                 Charlotte, NC 28217‐2713                                                                                                First Class Mail
Voting Party                   Abenity, Inc                                                                                 725 Cool Springs Blvd, Ste 600                                Franklin, TN 37067‐2702                                                                                                                                                               First Class Mail
Chartered Organization         Aberdeem Elementary Loop Program                                                             President Gerald R Ford 781                                   5500 Burton St Se                                             Grand Rapids, MI 49546‐6711                                                                                             First Class Mail
Chartered Organization         Aberdeen Fire & Rescue                                                                       Sioux Council 733                                             111 2nd Ave Se                                                Aberdeen, SD 57401‐4209                                                                                                 First Class Mail
Voting Party                   Aberdeen First Umc                                                                           Attn: Mary Louise Scott                                       502 S Lincoln St                                              Aberdeen, SD 57401                                                                 mary@aberdeenfirst.org               Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Aberdeen Group Of Concerned Citizens                                                         North Florida Council 087                                     1365 Shetland Dr                                              Saint Johns, FL 32259‐6679                                                                                              First Class Mail
Chartered Organization         Aberdeen Police Dept                                                                         Sioux Council 733                                             114 2nd Ave Se                                                Aberdeen, SD 57401‐4201                                                                                                 First Class Mail
Chartered Organization         Aberdeen Police Dept                                                                         Pacific Harbors Council, Bsa 612                              210 E Market St                                               Aberdeen, WA 98520‐5210                                                                                                 First Class Mail
Voting Party                   Abernathy First United Methodist Church                                                      Attn: Secretary/Treasurer And/Or Pastor                       704 Ave D                                                     Abernathy, TX 79311                                                                rmedearis@lubbocklawfirm.com         Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Abernethy Utd Methodist Church                                                               Daniel Boone Council 414                                      1418 Patton Ave                                               Asheville, NC 28806‐1722                                                                                                First Class Mail
Voting Party                   Abf Freight System, Inc                                                                      P.O. Box 667                                                  Belmont, NC 28012‐0667                                                                                                                                                                First Class Mail
Chartered Organization         Abide Idea Co                                                                                Northern Star Council 250                                     2155 Kelly Dr                                                 Minneapolis, MN 55427‐3517                                                                                              First Class Mail
Chartered Organization         Abiding Christ Lutheran Church                                                               Tecumseh 439                                                  326 E Dayton Yellow Springs Rd                                Fairborn, OH 45324‐3908                                                                                                 First Class Mail
Chartered Organization         Abiding Faith Baptist Church                                                                 Sam Houston Area Council 576                                  15376 Fondren Rd                                              Missouri City, TX 77489‐1707                                                                                            First Class Mail
Chartered Organization         Abiding Faith Bible Church                                                                   Lake Erie Council 440                                         14161 W River Rd, Ste 2                                       Columbia Station, OH 44028‐8953                                                                                         First Class Mail
Chartered Organization         Abiding Hope Lutheran Church                                                                 Denver Area Council 061                                       6337 S Robb Way                                               Littleton, CO 80127‐2898                                                                                                First Class Mail
Voting Party                   Abiding Love Lutheran Church                                                                 Attn: Treasurer & Susan Patrice Milam                         7210 Brush Country Rd                                         Austin, TX 78749‐2374                                                              smilamaustin@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Abiding Love Lutheran Church                                                                 Attn: Treasurer, Abiding Love Lutheran Church                 7210 Brush Country Rd                                         Austin, TX 78749‐2374                                                                                                   First Class Mail
Chartered Organization         Abiding Presence Lutheran Church                                                             Suffolk County Council Inc 404                                4 Trescott Path                                               Fort Salonga, NY 11768‐2536                                                                                             First Class Mail
Chartered Organization         Abiding Presence Lutheran Church                                                             Alamo Area Council 583                                        14700 San Pedro Ave                                           San Antonio, TX 78232‐4352                                                                                              First Class Mail
Voting Party                   Abiding Presence Lutheran Church, San Antonio, Tx                                            Attn: Amy Mclin                                               14700 San Pedro Ave                                           San Antonio, TX 78232                                                              suee@aplc.org                        Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Abiding Savior Lutheran Church                                                               Baltimore Area Council 220                                    10689 Owen Brown Rd                                           Columbia, MD 21044‐3838                                                                                                 First Class Mail
Chartered Organization         Abiding Savior Lutheran Church                                                               Orange County Council 039                                     23262 El Toro Rd                                              Lake Forest, CA 92630‐4805                                                                                              First Class Mail
Chartered Organization         Abiding Savior Lutheran Church                                                               Three Harbors Council 636                                     5214 W Luebbe Ln                                              Milwaukee, WI 53223‐4331                                                                                                First Class Mail
Voting Party                   Abiding Savior Lutheran Church                                                               Attn: Deborah Gordon                                          P.O. Box 224                                                  Simpsonville, MD 21150                                                             Deborah_Gordon@hcpss.org             Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Abiding Savior Lutheran School                                                               Greater St Louis Area Council 312                             4353 Butler Hill Rd                                           Saint Louis, MO 63128‐3717                                                                                              First Class Mail
Chartered Organization         Abilene Christian Schools                                                                    Texas Trails Council 561                                      2550 N Judge Ely Blvd                                         Abilene, TX 79601‐2111                                                                                                  First Class Mail
Voting Party                   Abilene First United Methodist Church                                                        Attn: John Collins, Pastor                                    601 N Cedar St                                                Abilene, KS 67410                                                                  purvis.law@att.net                   Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Abilene Sailing Assoc                                                                        Texas Trails Council 561                                      P.O. Box 2641                                                 Abilene, TX 79604‐2641                                                                                                  First Class Mail
Chartered Organization         Abilities Resource Center                                                                    Of Indian River County Ins                                    1375 16th Ave                                                 Vero Beach, FL 32960‐3768                                                                                               First Class Mail
Chartered Organization         Abingdon Episcopal Church                                                                    Colonial Virginia Council 595                                 4645 George Washington Hwy                                    White Marsh, VA 23183                                                                                                   First Class Mail
Voting Party                   Abingdon Episcopal Church                                                                    Attn: David Nelson Meeker                                     5583 White Hall Rd                                            Gloucester, VA 23061                                                               DNMeeker@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Abingdon Fire Co                                                                             Baltimore Area Council 220                                    3306 Abingdon Rd                                              Abingdon, MD 21009‐1014                                                                                                 First Class Mail
Voting Party                   Abingdon Protestant Episcopal Church                                                         Attn: Rector                                                  P.O. Box 82                                                   4645 George Washington Memorial Hwy   White Marsh, VA 23183                        DNMeeker@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Abingdon Ruritan Club                                                                        Attn: Walter I Priest III                                     P.O. Box 22                                                   Bena, VA 23018                                                                     wetlanddesign@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Abingdon United Methodist Church                                                             Attn: Jason M. Clayman                                        101 E Main St                                                 Abingdon, VA 24210                                                                 Staff@abingdonumc.org                Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Abington Presbyterian Church                                                                 Cradle of Liberty Council 525                                 1082 Old York Rd                                              Abington, PA 19001‐4530                                                                                                 First Class Mail
Chartered Organization         Abington Twp Police Dept                                                                     Cradle of Liberty Council 525                                 1166 Old York Rd                                              Abington, PA 19001‐3713                                                                                                 First Class Mail
Chartered Organization         Abiqua Academy                                                                               Cascade Pacific Council 492                                   6974 Bates Rd S                                               Salem, OR 97306‐9400                                                                                                    First Class Mail
Chartered Organization         Abounding Grace                                                                              Catalina Council 011                                          2450 S Kolb Rd                                                Tucson, AZ 85710‐8425                                                                                                   First Class Mail
Chartered Organization         Above And Beyond Students Seigle Street                                                      Mecklenburg County Council 415                                110 Winding Path Way                                          Charlotte, NC 28204‐2073                                                                                                First Class Mail
Chartered Organization         Abraham Lincoln Council                                                                      Abraham Lincoln Council 144                                   5231 S 6th St Rd                                              Springfield, IL 62703‐5143                                                                                              First Class Mail
Chartered Organization         Abraham Lincoln Elem ‐Rise Special                                                           Crossroads of America 160                                     5241 Brehob Rd                                                Indianapolis, IN 46217‐3503                                                                                             First Class Mail
Chartered Organization         Abraham Lincoln High School                                                                  Denver Area Council 061                                       2285 S Federal Blvd                                           Denver, CO 80219‐5433                                                                                                   First Class Mail
Chartered Organization         Abrams Cpto                                                                                  Bay‐Lakes Council 635                                         3000 Elm St                                                   Abrams, WI 54101‐9463                                                                                                   First Class Mail
Chartered Organization         Abundant Hope Baptist Church                                                                 Tidewater Council 596                                         700 Willeyton Rd                                              Gates, NC 27937‐9761                                                                                                    First Class Mail
Chartered Organization         Abundant Life Assembly Of God                                                                Golden Spread Council 562                                     310 Birch St                                                  Canadian, TX 79014‐3064                                                                                                 First Class Mail
Chartered Organization         Abundant Life Church                                                                         Norwela Council 215                                           618 Ben Dr                                                    Natchitoches, LA 71457‐4048                                                                                             First Class Mail
Chartered Organization         Abundant Life Church                                                                         Alamo Area Council 583                                        7431 S Presa St                                               San Antonio, TX 78223‐3535                                                                                              First Class Mail
Firm                           Abused in Scouting Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C. Timothy Kosnoff,   Stewart J. Eisenberg, Esq., Timothy Kosnoff, Esq., Andrew     1800 M Street NW, Suite 1000                                  Washington, DC 20036                                                               AISForms@zuckerman.com               Email
                               Esquire and AVA Law Group, Inc Zuckerman Spaeder LLP                                         Van Arsdale Esq. and Carl Kravitz, Esq.                                                                                                                                                                                                             First Class Mail
Firm                           Abused in Scouting Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C. Timothy Kosnoff,   Stewart J. Eisenberg, Esq. Timothy Kosnoff, Esq. and Andrew   3667 Voltaire St                                              San Diego, CA 92106                                                                support@ava.law                      Email
                               Esquire and AVA Law Group, Inc                                                               Van Arsdale, Esq.                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Ac Hansen Post 185                                                                           Sioux Council 733                                             P.O. Box 701                                                  Tyler, MN 56178‐0701                                                                                                    First Class Mail
Chartered Organization         Ac Steere Elementary School Pta                                                              Norwela Council 215                                           4009 Youree Dr                                                Shreveport, LA 71105‐2935                                                                                               First Class Mail
Chartered Organization         Academia Antonia Alonso Elementary                                                           Del Mar Va 081                                                4403 Lancaster Pike                                           Wilmington, DE 19805‐1523                                                                                               First Class Mail
Chartered Organization         Academia Cristo De Los Milagros                                                              Puerto Rico Council 661                                       P.O. Box 7618                                                 Caguas, PR 00726‐7618                                                                                                   First Class Mail
Chartered Organization         Academia Interamericana Metro                                                                Puerto Rico Council 661                                       Ave Ponce De Leon                                             Pda 19                                San Juan, PR 00910                                                                First Class Mail
Chartered Organization         Academia Perpetuo Socorro                                                                    Puerto Rico Council 661                                       704 Calle Jose Marti                                          San Juan, PR 00907‐3227                                                                                                 First Class Mail
Chartered Organization         Academia San Ignacio                                                                         Puerto Rico Council 661                                       1908 Calle Narciso                                            Rio Piedras, PR 00927‐6729                                                                                              First Class Mail
Chartered Organization         Academia Santa Teresita                                                                      Puerto Rico Council 661                                       19 Sect Santa Teresita                                        Naranjito, PR 00719‐8759                                                                                                First Class Mail
Chartered Organization         Academy At High Point Pto                                                                    Denver Area Council 061                                       6750 N Dunkirk St                                             Aurora, CO 80019‐2107                                                                                                   First Class Mail
Chartered Organization         Academy Charter School                                                                       Theodore Roosevelt Council 386                                100 Charles Lindbergh Blvd                                    Uniondale, NY 11553‐3631                                                                                                First Class Mail
Chartered Organization         Academy Endeavor Elementary Pta                                                              Pikes Peak Council 060                                        3475 Hampton Park Dr                                          Colorado Springs, CO 80920‐4611                                                                                         First Class Mail
Chartered Organization         Academy Multilingual Immersion Studies                                                       (Amis)                                                        1908 Seymour Ave                                              Cincinnati, OH 45237‐4007                                                                                               First Class Mail
Chartered Organization         Academy Of Advanced Learning                                                                 Denver Area Council 061                                       431 Sable Blvd                                                Aurora, CO 80011‐8800                                                                                                   First Class Mail
Chartered Organization         Academy Of Junior Scholars                                                                   Dan Beard Council, Bsa 438                                    608 E Mcmillan St                                             Cincinnati, OH 45206‐1926                                                                                               First Class Mail
Chartered Organization         Academy Of Our Lady Hsa                                                                      Northern New Jersey Council, Bsa 333                          180 Rodney St                                                 Glen Rock, NJ 07452‐2826                                                                                                First Class Mail
Chartered Organization         Academy Of The Holy Names                                                                    Greater Tampa Bay Area 089                                    3319 Bayshore Blvd                                            Tampa, FL 33629‐8801                                                                                                    First Class Mail
Chartered Organization         Academy Of Tucson Pac                                                                        Catalina Council 011                                          9209 E Wrightstown Rd                                         Tucson, AZ 85715‐5514                                                                                                   First Class Mail
Chartered Organization         Acadian Ambulance                                                                            Louisiana Purchase Council 213                                105 N 3rd St                                                  Alexandria, LA 71301‐8582                                                                                               First Class Mail
Chartered Organization         Acadian Ambulance                                                                            Circle Ten Council 571                                        2424 S Good Latimer Expy                                      Dallas, TX 75215‐1432                                                                                                   First Class Mail
Chartered Organization         Acadian Ambulance Of Texas, LLC                                                              Sam Houston Area Council 576                                  2154 Pansy St                                                 Pasadena, TX 77503‐3961                                                                                                 First Class Mail
Chartered Organization         Acadian Ambulance Service                                                                    Istrouma Area Council 211                                     9213 Interline Ave                                            Baton Rouge, LA 70809‐1984                                                                                              First Class Mail
Chartered Organization         Acadian Ambulance Service                                                                    Evangeline Area 212                                           P.O. Box 98000                                                Lafayette, LA 70509‐8000                                                                                                First Class Mail
Chartered Organization         Acadian Ambulance Service                                                                    Louisiana Purchase Council 213                                607 N 3rd St                                                  Monroe, LA 71201‐6239                                                                                                   First Class Mail
Chartered Organization         Acadian Ambulance Service Northshore                                                         Istrouma Area Council 211                                     19432 Hwy 36, Ste C                                           Covington, LA 70433‐8717                                                                                                First Class Mail
Chartered Organization         Acadian Ambulance Services                                                                   Southeast Louisiana Council 214                               4249 Hwy 308                                                  Raceland, LA 70394‐2404                                                                                                 First Class Mail
Chartered Organization         Acadiana Renaissance Charter Academy                                                         Evangeline Area 212                                           600 Savoy Rd                                                  Youngsville, LA 70592‐6384                                                                                              First Class Mail
Chartered Organization         Accenture Sf Innovation Hub                                                                  San Francisco Bay Area Council 028                            415 Mission St                                                San Francisco, CA 94105‐2533                                                                                            First Class Mail
Chartered Organization         Access Ventures, Inc                                                                         Lincoln Heritage Council 205                                  1229 S Shelby St                                              Louisville, KY 40203‐2626                                                                                               First Class Mail
Voting Party                   Acct                                                                                         1079 S Hover St, Ste 200                                      Longmont, CO 80501‐7924                                                                                                                                                               First Class Mail
Chartered Organization         Ace Adventure Resort                                                                         Buckskin 617                                                  359 Pea Ridge Rd                                              Oak Hill, WV 25901‐9418                                                                                                 First Class Mail
Voting Party                   Ace American Insurance Company                                                               c/o Duane Morris LLP                                          Attn: Wendy M Simkulak                                        30 S 17th St                          Philadelphia, PA 19103                       WMSimkulak@duanemorris.com           Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Ace Hardware                                                                                 Montana Council 315                                           415 SE 4th St                                                 Laurel, MT 59044‐3314                                                                                                   First Class Mail
Voting Party                   Ace Locksmith 2, LLC                                                                         Attn: Richard Smith                                           3232 Irving Blvd                                              Dallas, TX 75247                                                                   ace2locksmith@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Ace Property And Casualty Insurance Company                                                  c/o Duane Morris LLP                                          Attn: Wendy M Simkulak                                        30 S 17th St                          Philadelphia, PA 19103                       WMSimkulak@duanemorris.com           Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Ace Solid Waste, Inc                                                                         P.O. Box 679859                                               Dallas, TX 75267‐9859                                                                                                                                                                 First Class Mail
Chartered Organization         Acequia 2Nd Ward ‐ Rupert Stake                                                              Snake River Council 111                                       20403 5th St                                                  Acequia, ID 83350                                                                                                       First Class Mail
Chartered Organization         Acequia Ward ‐ Rupert Stake                                                                  Snake River Council 111                                       20403 5th St Acequia                                          Rupert, ID 83350                                                                                                        First Class Mail
Chartered Organization         Achieva West Mifflin                                                                         Laurel Highlands Council 527                                  400 Regis Ave                                                 Pittsburgh, PA 15236‐1419                                                                                               First Class Mail
Voting Party                   Ackermanville ‐ Bangor                                                                       c/o Bradley Arant Boult Cummings, LLP                         Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200              Tampa, FL 33602                              erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Ackermanville ‐ Bangor                                                                       1410 Ackermanville Rd                                         Bangor, PA 18013                                                                                                                                                                      First Class Mail
Chartered Organization         Acme Computer                                                                                Crater Lake Council 491                                       33 W Central                                                  Medford, OR 97501                                                                                                       First Class Mail
Chartered Organization         Acme Presbyterian Church                                                                     Mount Baker Council, Bsa 606                                  P.O. Box 169                                                  Acme, WA 98220‐0169                                                                                                     First Class Mail
Voting Party                   Acme United Corp                                                                             P.O. Box 347808                                               Pittsburgh, PA 15251‐4808                                                                                                                                                             First Class Mail
Chartered Organization         Acoustic Audio Services                                                                      Lasalle Council 165                                           808 S Michigan St                                             South Bend, IN 46601‐3123                                                                                               First Class Mail
Chartered Organization         Acreage Athletic League, Inc                                                                 Gulf Stream Council 085                                       7040 Seminole Pratt Whitney Rd                                Loxahatchee, FL 33470‐5714                                                                                              First Class Mail
Chartered Organization         Acroflight International, LLC                                                                Northshore Aircraft Leasing Co.                               66‐888 Wanini St                                              Waialua, HI 96791‐9758                                                                                                  First Class Mail
Chartered Organization         Acs International School                                                                     Transatlantic Council, Bsa 802                                Heywood                                                       Portsmouth Rd                         Cobham, Surrey              United Kingdom                                        First Class Mail
Chartered Organization         Action Aviation                                                                              Grand Teton Council 107                                       1355 E Lincoln Rd                                             Idaho Falls, ID 83401‐2126                                                                                              First Class Mail
Chartered Organization         Action Aviation West                                                                         Grand Teton Council 107                                       1355 E Lincoln Rd                                             Idaho Falls, ID 83401‐2126                                                                                              First Class Mail
Chartered Organization         Active Care Chiropractic                                                                     Longs Peak Council 062                                        1410 E Riding Club Rd                                         Cheyenne, WY 82009‐9630                                                                                                 First Class Mail
Chartered Organization         Acton Community Club, Inc                                                                    W.L.A.C.C. 051                                                3748 Nickels Ave                                              Acton, CA 93510                                                                                                         First Class Mail
Voting Party                   Acton Umc ‐ Granbury                                                                         c/o Bradley Arant Boult Cummings, LLP                         Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200              Tampa, FL 33602                              erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Acton Umc ‐ Granbury                                                                         3433 Fall Creek Hwy                                           Granbury, TX 76049                                                                                                                                                                    First Class Mail
Chartered Organization         Acton Umc & Kitley Ptc                                                                       Crossroads of America 160                                     8735 Indian Creek Rd S                                        Indianapolis, IN 46259‐1330                                                                                             First Class Mail
Voting Party                   Acton United Methodist Church                                                                Attn: Felicia Crowel, Treasurer                               5650 Senour Rd                                                Indianapolis, IN 46259                                                             crowel862@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Acton Utd Methodist Church                                                                   Longhorn Council 662                                          3433 Fall Creek Hwy                                           Granbury, TX 76049‐7984                                                                                                 First Class Mail
Chartered Organization         Acton‐Boxborough Rotary Club                                                                 Heart of New England Council 230                              P.O. Box 2161                                                 Acton, MA 01720‐6161                                                                                                    First Class Mail
Chartered Organization         Acton‐Congregational Church                                                                  Heart of New England Council 230                              12 Concord Rd                                                 Acton, MA 01720‐4628                                                                                                    First Class Mail
Chartered Organization         Acton‐Group Of Citizens, Inc                                                                 Heart of New England Council 230                              8 Fairway Rd                                                  Acton, MA 01720‐4209                                                                                                    First Class Mail
Chartered Organization         Acton‐Lds Church Ward 1                                                                      Heart of New England Council 230                              21 Grist Mill Rd                                              Acton, MA 01720‐2007                                                                                                    First Class Mail
Chartered Organization         Acton‐Lds Church Ward 2                                                                      Heart of New England Council 230                              21 Grist Mill Rd                                              Acton, MA 01720‐2007                                                                                                    First Class Mail
Chartered Organization         Acton‐St Elizabeth Of Hungary Parish                                                         Heart of New England Council 230                              89 Arlington St                                               Acton, MA 01720‐2503                                                                                                    First Class Mail
Chartered Organization         Acton‐The Church Of The Good Shepherd                                                        Heart of New England Council 230                              164 Newtown Rd                                                Acton, MA 01720‐3114                                                                                                    First Class Mail
Chartered Organization         Actors Ames Community Theater                                                                Mid Iowa Council 177                                          120 Abraham Dr                                                Ames, IA 50014‐7626                                                                                                     First Class Mail
Chartered Organization         Acts Church Leander                                                                          Capitol Area Council 564                                      P.O. Box 1596                                                 Leander, TX 78646‐1596                                                                                                  First Class Mail
Chartered Organization         Acushnet Firefighters Assoc, Inc                                                             Narragansett 546                                              24 Russell St                                                 Acushnet, MA 02743‐2224                                                                                                 First Class Mail
Voting Party                   Acushnet Wesley United Methodist Church                                                      Attn: Treasurer                                               67 Main St                                                    Acushnet, MA 02743                                                                 jrobert903@comcast.net               Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Acworth Police Dept                                                                          Atlanta Area Council 092                                      4400 Acworth Industrial Dr Nw                                 Acworth, GA 30101‐5655                                                                                                  First Class Mail
Voting Party                   Acworth Umc                                                                                  c/o Bradley Arant Boult Cummings, LLP                         Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200              Tampa, FL 33602                              erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Acworth Utd Methodist Church                                                                 Atlanta Area Council 092                                      4340 Collins Cir                                              Acworth, GA 30101‐5222                                                                                                  First Class Mail
Chartered Organization         Ada Citizen Scouting Committee                                                               c/o Sean Beck                                                 608 S Johnson St                                              Ada, OH 45810‐1517                                                                                                      First Class Mail
Chartered Organization         Ada Congregational Church                                                                    President Gerald R Ford 781                                   6330 Ada Dr Se                                                Ada, MI 49301‐7891                                                                                                      First Class Mail
Chartered Organization         Ada Elks Lodge 1640                                                                          Arbuckle Area Council 468                                     3850 Arlington St                                             Ada, OK 74820‐3031                                                                                                      First Class Mail
Chartered Organization         Ada Lodge 444                                                                                Heart of America Council 307                                  325 Floyd Rd                                                  Orrick, MO 64077‐9201                                                                                                   First Class Mail
Chartered Organization         Adair Masonic Lodge 99                                                                       Indian Nations Council 488                                    P.O. Box 101                                                  Adair, OK 74330‐0101                                                                                                    First Class Mail
Voting Party                   Adair United Methodist Church                                                                Attn: Cindy Mcmahon                                           1457 E 430 Rd                                                 Adair, OK 74330                                                                    cindymcmahon@ymail.com               Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Adair United Methodist Church                                                                310 N Cheatham                                                Adair, OK 74330                                                                                                                                  adairumc@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Adairsville Lions Club                                                                       Northwest Georgia Council 100                                 P.O. Box 96                                                   Adairsville, GA 30103‐0096                                                                                              First Class Mail
Voting Party                   Adam Douglas Brinkley                                                                        c/o Garris Chapel Umc                                         823 Piney Grove Church Rd                                     La Grange, NC 28551                                                                abrinkley@nccumc.org                 Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Adam Elementary Pto                                                                          Sam Houston Area Council 576                                  11303 Honey Grove Ln                                          Houston, TX 77065‐2413                                                                                                  First Class Mail
Voting Party                   Adam Randazzo                                                                                29 County St                                                  Ipswich                                                                                                                                          adamrandazzo@icloud.com              Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Adamant United Methodist Church                                                              c/o United Methodist Church                                   Attn: Jill Colley Robinson                                    145 Pulp Mill Bridge Rd               Weybridge, VT 05753                          rev.jill.colley.robinson@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Adamant United Methodist Church                                                              Attn: Joanne Bair                                             4264 Center Rd                                                E Montpelier, VT 05651                                                                                                  First Class Mail
Chartered Organization         Adams American Legion Post 146                                                               Twin Valley Council Bsa 283                                   P.O. Box 181                                                  Adams, MN 55909‐0181                                                                                                    First Class Mail
Voting Party                   Adams And Reese Llp                                                                          Attn: Timothy James Anzenberger                               1018 Highland Colony Pkwy, Ste 800                            Ridgeland, MS 39157                                                                tim.anzenberger@arlaw.com            Email
                                                                                                                                                                                                                                                                                                                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                                       Page 3 of 442
                                                                                 Case 20-10343-LSS                                             Doc 8171                                        Filed 01/06/22                                           Page 19 of 457
                                                                                                                                                                            Exhibit B
                                                                                                                                                                             Service List
                                                                                                                                                                      Served as set forth below

        Description                                                       Name                                                                                            Address                                                                                                          Email                    Method of Service
Chartered Organization         Adams Center                                                    National Capital Area Council 082      46903 Sugarland Rd                                       Sterling, VA 20164‐8520                                                                                   First Class Mail
Chartered Organization         Adams Elementary Pta                                            Illowa Council 133                     3029 N Div St                                            Davenport, IA 52804‐1636                                                                                  First Class Mail
Chartered Organization         Adams Elementary Pta                                            Mid‐America Council 326                3420 N 78th St                                           Omaha, NE 68134‐5038                                                                                      First Class Mail
Chartered Organization         Adams Fire Co, Inc                                              Greater Niagara Frontier Council 380   7113 Nash Rd                                             North Tonawanda, NY 14120‐1207                                                                            First Class Mail
Chartered Organization         Adams Fire Dept, Inc                                            Longhouse Council 373                  6 S Main St                                              Adams, NY 13605                                                                                           First Class Mail
Chartered Organization         Adams Lawn Service                                              Northeast Georgia Council 101          402 Musket Rdg                                           Hull, GA 30646‐4524                                                                                       First Class Mail
Chartered Organization         Adams Parents For Scouting                                      Inland Northwest Council 611           14707 E 8th Ave                                          Spokane Valley, WA 99037‐9670                                                                             First Class Mail
Chartered Organization         Adams Park Community Center                                     Mid‐America Council 326                3230 John A Creighton Blvd                               Omaha, NE 68111‐3100                                                                                      First Class Mail
Chartered Organization         Adams School Pto                                                Water and Woods Council 782            Adams St                                                 Midland, MI 48640                                                                                         First Class Mail
Chartered Organization         Adams Traditional Academy                                       Grand Canyon Council 010               2323 W Parkside Ln                                       Phoenix, AZ 85027‐1256                                                                                    First Class Mail
Voting Party                   Adams United Methodist Church                                   Attn: Melissa Mccarthy                 17502 Maxon Ln                                           Watertown, NY 13605                                                mmkmccarthy@gmail.com                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Adams United Methodist Church                                   Attn: Treasurer                        P.O. Box 51                                              Adams, NY 13605                                                    adamsunitedmethodistchurch@gmail.com   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Adams United Methodist Church Melissa Mk Mccarthy               17502 Maxon Ln                         Adams, NY 13605                                                                                                             mmkmccarthy@gmail.com                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Adamstown Area Library                                          Pennsylvania Dutch Council 524         3000 N Reading Rd 356                                    Adamstown, PA 19501‐7001                                                                                  First Class Mail
Chartered Organization         Adamsville Elementary Pto                                       Patriots Path Council 358              400 Union Ave                                            Bridgewater, NJ 08807‐3109                                                                                First Class Mail
Voting Party                   Adamsville First United Methodist Church                        P.O. Box 225                           Adamsville, TN 38310                                                                                                        ahwestmoreland0601@gmail.com           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Adaptive Networks                                               Southern Sierra Council 030            1400 Eon Dr, Ste 113                                     Bakersfield, CA 93309                                                                                     First Class Mail
Chartered Organization         Adat Ari El Youth Dept                                          W.L.A.C.C. 051                         12020 Burbank Blvd                                       North Hollywood, CA 91607‐1811                                                                            First Class Mail
Voting Party                   Adaton United Methodist Church                                  Attn: Bobby R Stokes                   105 Banyan Rd                                            Starkville, MS 39759                                               stokes1321@bellsouth.net               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Adaton United Methodist Church                                  Attn: Stancey W Kornegay               69 Old 82 Dr                                             Starkville, MS 39759                                               Gingerk1153@gmail.com                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Addilynn Memorial United Methodist Church                       Attn: Randi Michelle Mcgregor          3225 Avoca Rd                                            Bristol, TN 37620                                                  addilynnoffice@gmail.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Addison Elementary School                                       Atlanta Area Council 092               3055 Ebenezer Rd                                         Marietta, GA 30066‐4542                                                                                   First Class Mail
Chartered Organization         Addison Fire Protection District                                Three Fires Council 127                10 S Addison Rd                                          Addison, IL 60101‐3870                                                                                    First Class Mail
Chartered Organization         Addison Police Dept                                             Three Fires Council 127                3 Friendship Plz                                         Addison, IL 60101‐2787                                                                                    First Class Mail
Voting Party                   Addison Umc                                                     Doris Knowles                          Front St                                                 Addison, NY 14801                                                                                         First Class Mail
Voting Party                   Addison United Methodist Church                                 Attn: Doris Knowles                    3902 Fred Rial Rd                                        Campbell, NY 14821                                                 doriskno@msn.com                       Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Addison: Good Samaritan                                         Attn: George Wentworth Jr              960 Army Trail                                           Addison, IL 60101                                                  crosshsh55@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Addisville Reformed Church                                      Washington Crossing Council 777        945 2nd St Pike                                          Richboro, PA 18954‐1526                                                                                   First Class Mail
Voting Party                   Adel United Methodist Church                                    115 S 10th St                          Adel, IA 50003                                                                                                              umcadel@msn.com                        Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Adel United Methodist Church                                    Attn: Kristie Layne Manning            2819 Sylvania Dr                                         West Des Moines, IA 50266                                          aokmanning@gmail.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Adel Utd Methodist Church                                       South Georgia Council 098              214 S Hutchinson Ave                                     Adel, GA 31620‐3234                                                                                       First Class Mail
Chartered Organization         Adelante Of Suffolk County                                      Suffolk County Council Inc 404         10 3rd Ave                                               Brentwood, NY 11717‐4640                                                                                  First Class Mail
Chartered Organization         Adelle Turner Elementary ‐Pta                                   Circle Ten Council 571                 5505 S Polk St                                           Dallas, TX 75232‐2062                                                                                     First Class Mail
Chartered Organization         Adena Primary Pto                                               Simon Kenton Council 441               3367 County Rd 550                                       Frankfort, OH 45628‐9503                                                                                  First Class Mail
Chartered Organization         Adirondack Community Church                                     Twin Rivers Council 364                P.O. Box 511                                             Lake Placid, NY 12946‐0511                                                                                First Class Mail
Voting Party                   Adirondack Community Church                                     Attn: Derek Hansen                     2583 Main St                                             Lake Placid, NY 12946                                              info@adkcomchurch.org                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Adirondack Foothills Rotary                                     Leatherstocking 400                    Rt 12 Barnveld                                           Remsen, NY 13438                                                                                          First Class Mail
Chartered Organization         Adirondack Post 70                                              Twin Rivers Council 364                34 West Ave                                              Saratoga Springs, NY 12866‐6001                                                                           First Class Mail
Chartered Organization         Adlai Stevenson High School Campus                              Greater New York Councils, Bsa 640     1980 Lafayette Ave                                       Bronx, NY 10473‐2525                                                                                      First Class Mail
Chartered Organization         Adlai Stevenson School                                          Lake Erie Council 440                  3938 Jo Ann Dr                                           Cleveland, OH 44122‐6441                                                                                  First Class Mail
Chartered Organization         Admin Brd Of The Utd Methodist Church                           Prairielands 117                       403 E Main St                                            Hoopeston, IL 60942‐1520                                                                                  First Class Mail
Voting Party                   Adnah United Methodist Church, Inc.                             Attn: Eddie Thomasson                  3396 Hwy 324                                             Rock Hill, SC 29732                                                eddie.norma1@att.net                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Adnah United Methodist Church, Inc.                             Attn: David D. Mcmanus, Jr             1 Adnah Dr                                               Rock Hill, SC 29732                                                ddmcmanusjr@umcsc.org                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Adnah Utd Methodist Church                                      Palmetto Council 549                   1 Adnah Dr                                               Rock Hill, SC 29732‐9500                                                                                  First Class Mail
Chartered Organization         Adoniram Lodge 42 F&Am                                          Green Mountain 592                     825 Mad Tom Rd                                           East Dorset, VT 05253‐9732                                                                                First Class Mail
Chartered Organization         Adoration Lutheran Church                                       Three Harbors Council 636              3840 W Edgerton Ave                                      Greenfield, WI 53221‐3010                                                                                 First Class Mail
Voting Party                   Adrian First United Methodist Church                            Attn: Bryan Bowers                     1245 W Maple Ave                                         Adrian, MI 49221                                                   treasurer@adrianfumc.org               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Adrian First Utd Methodist                                      Heart of America Council 307           P.O. Box 126                                             Adrian, MO 64720‐0126                                                                                     First Class Mail
Chartered Organization         Adrian Rotary Club                                              Southern Shores Fsc 783                P.O. Box 1119                                            Adrian, MI 49221‐6119                                                                                     First Class Mail
Chartered Organization         Adriana & Co, LLC                                               Las Vegas Area Council 328             1180 N Town Center Dr                                    Las Vegas, NV 89144‐6306                                                                                  First Class Mail
Voting Party                   Adrmore United Methodist Church                                 Attn: Debra Eubanks                    22621 Main St                                            Ardmore, TN 38449                                                  eubankshouse@aol.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Ads, Inc                                                        Tidewater Council 596                  621 Lynnhaven Pkwy, Ste 400                              Virginia Beach, VA 23452‐7448                                                                             First Class Mail
Voting Party                   Adt Security Services                                           P.O. Box 371878                        Pittsburgh, PA 15250‐7878                                                                                                                                          First Class Mail
Voting Party                   Adt, LLC                                                        dba Protection One                     P.O. Box 872987                                          Kansas City, MO 64187‐2987                                                                                First Class Mail
Chartered Organization         Adult Fellowship Council‐Concord M C                            Mt Diablo‐Silverado Council 023        1645 West St                                             Concord, CA 94521‐1001                                                                                    First Class Mail
Chartered Organization         Adv Tech Ctr & Denton Police Dept                               Longhorn Council 662                   1504 Long Rd                                             Denton, TX 76207‐4234                                                                                     First Class Mail
Chartered Organization         Advance And Glennon Club                                        Greater St Louis Area Council 312      P.O. Box 181                                             Advance, MO 63730‐0181                                                                                    First Class Mail
Voting Party                   Advance Auto Parts                                              Aap Financial Services                 P.O. Box 742063                                          Atlanta, GA 30374‐2063                                                                                    First Class Mail
Chartered Organization         Advance Camp                                                    Mt Diablo‐Silverado Council 023        640 Bailey Rd 142                                        Bay Point, CA 94565‐4306                                                                                  First Class Mail
Chartered Organization         Advance Community Christian Church                              Crossroads of America 160              P.O. Box 6                                               Advance, IN 46102‐0006                                                                                    First Class Mail
Chartered Organization         Advance Electric Motor & Pump                                   Lincoln Heritage Council 205           292 Arnold Dr                                            Shepherdsville, KY 40165‐6985                                                                             First Class Mail
Voting Party                   Advance Memorial United Methodist Church                        Attn: Treasurer                        1007 Bellefonte Rd                                       Flatwoods, KY 41139                                                advancerev@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Advanced Business Solutions                                     Orange County Council 039              8302 Snowbird Dr                                         Huntington Beach, CA 92646‐6121                                                                           First Class Mail
Voting Party                   Advanced Disposal                                               c/o Solid Waste Southeast Inc          P.O. Box 743019                                          Atlanta, GA 30374‐3019                                                                                    First Class Mail
Chartered Organization         Advanced Disposal Wolf Creek                                    Central Georgia Council 096            911 Landfill Rd                                          Dry Branch, GA 31020‐2551                                                                                 First Class Mail
Chartered Organization         Advant Lutheran Church                                          Middle Tennessee Council 560           1700 Irby Ln                                             Murfreesboro, TN 37127‐7610                                                                               First Class Mail
Voting Party                   Advantage Emblem & Screen Printing                              4313 Haines Rd                         Duluth, MN 55811‐1542                                                                                                       myron@advantageemblem.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Advantagecs                                                     Attn: Bryan Varblow                    3850 Ranchero Dr                                         Ann Arbor, MI 48108                                                bryan.varblow@advantagecs.com          Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Adven Capital Group, LLC                                        dba Service It Direct                  P.O. Box 307                                             Addison, TX 75001‐0307                                                                                    First Class Mail
Chartered Organization         Advent Assoc, Ltd                                               Southern Shores Fsc 783                7545 W Liberty Rd                                        Ann Arbor, MI 48103‐9365                                                                                  First Class Mail
Voting Party                   Advent Episcopal Church (Church Of The Advent) Westlake, OH     Attn: Richard Mccormick                3760 Dover Center Rd                                     Westlake, OH 44145                                                 advent.church@sbcglobal.net            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Advent Episcopal Church (Church Of The Advent) Westlake, Ohio   Attn: Richard Earl Mccormick           3760 Dover Center Rd                                     Westlake, OH 44145                                                 advent.church@sbcglobal.net            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Advent Lutheran Church                                          Gulf Stream Council 085                300 NE 51st St                                           Boca Raton, FL 33431‐4900                                                                                 First Class Mail
Chartered Organization         Advent Lutheran Church                                          Northern Star Council 250              9475 Jefferson Hwy                                       Maple Grove, MN 55369‐4242                                                                                First Class Mail
Chartered Organization         Advent Lutheran Church                                          Central Florida Council 083            7550 N Wickham Rd                                        Melbourne, FL 32940‐7909                                                                                  First Class Mail
Chartered Organization         Advent Lutheran Church                                          Lake Erie Council 440                  7985 Munson Rd                                           Mentor, OH 44060‐3703                                                                                     First Class Mail
Chartered Organization         Advent Lutheran Church                                          Mount Baker Council, Bsa 606           4306 132nd St Se                                         Mill Creek, WA 98012‐8940                                                                                 First Class Mail
Chartered Organization         Advent Lutheran Church                                          Daniel Webster Council, Bsa 330        554 US Route 202                                         Rindge, NH 03461                                                                                          First Class Mail
Chartered Organization         Advent Lutheran Church                                          Lake Erie Council 440                  5525 Harper Rd                                           Solon, OH 44139‐1828                                                                                      First Class Mail
Chartered Organization         Advent Lutheran Church                                          Inland Northwest Council 611           13009 E Broadway Ave                                     Spokane Valley, WA 99216‐0916                                                                             First Class Mail
Voting Party                   Advent Lutheran Church                                          Attn: Timothy T Parker                 1000 2nd Ave, 30th Fl                                    Seattle, WA 98104                                                  ttp@pattersonbuchanan.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Advent Lutheran Church                                          Attn: Christopher Franz                1601 Green Ln                                            Westchester, PA 19382                                              adventlutheranwc@gmail.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Advent Lutheran Church                                          1601 Green Ln                          West Chester, PA 19382                                                                                                      adventlutheranwc@gmail.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Advent Lutheran Church Spindale, NC                             Attn: Timothy Blatnicky                118 Reveley St                                           Spindale, NC 28160                                                 adventlutheran@att.net                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Advent Moravian Church                                          Minsi Trails Council 502               3730 Jacksonville Rd                                     Bethlehem, PA 18017‐9304                                                                                  First Class Mail
Voting Party                   Advent Moravian Church (First Moravian Church Of Bethlehem,     c/o Shay, Santee & Kelhart             Attn: Richard Santee Jr                                  44 E Broad St                      Bethlehem, PA 18018             rsantee@ssk‐esq.com                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Advent Presbyterian Church (Usa)                                Chickasaw Council 558                  1879 N Germantown Pkwy                                   Cordova, TN 38016‐3300                                                                                    First Class Mail
Voting Party                   Advent United Methodist Church                                  Attn: Steve Day                        2258 Woodruff Rd                                         Simpsonsville, SC 29681                                            steve@advent‐umc.org                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Advent Utd Methodist                                            Blue Ridge Council 551                 2258 Woodruff Rd                                         Simpsonville, SC 29681‐5438                                                                               First Class Mail
Chartered Organization         Advent Utd Methodist Church                                     Northern Star Council 250              3945 Lexington Ave S                                     Eagan, MN 55123‐1509                                                                                      First Class Mail
Chartered Organization         Adventure 16                                                    San Diego Imperial Council 049         4620 Alvarado Canyon Rd                                  San Diego, CA 92120‐4320                                                                                  First Class Mail
Chartered Organization         Adventure Camp Staff                                            Crossroads of America 160              7125 Fall Creek Rd                                       Indianapolis, IN 46256‐3167                                                                               First Class Mail
Chartered Organization         Adventure Christian Church                                      Cascade Pacific Council 492            2831 NE Newby St                                         Mcminnville, OR 97128‐9164                                                                                First Class Mail
Chartered Organization         Adventure Club Slo                                              Los Padres Council 053                 395 Zanzibar St                                          Morro Bay, CA 93442‐2977                                                                                  First Class Mail
Chartered Organization         Adventure Cub Scouts Of Beloit Turner                           Glaciers Edge Council 620              P.O. Box 442                                             Beloit, WI 53512‐0442                                                                                     First Class Mail
Chartered Organization         Adventure In Adventure Out                                      Western Massachusetts Council 234      31 Harkness Rd                                           Pelham, MA 01002‐9702                                                                                     First Class Mail
Voting Party                   Adventure Medical/Tender Corp                                   944 Industrial Park Rd                 Littleton, NH 03561‐3956                                                                                                                                           First Class Mail
Chartered Organization         Adventure Of Faith                                              Chief Seattle Council 609              4705 Jackson Ave Se                                      Port Orchard, WA 98366‐1019                                                                               First Class Mail
Chartered Organization         Adventure Outdoors                                              Wallace & Wallace Inc                  630 Windy Hill Rd Se                                     Smyrna, GA 30080‐1857                                                                                     First Class Mail
Chartered Organization         Adventurers Club Of Orem                                        Utah National Parks 591                87 W 500 S                                               Orem, UT 84058‐3141                                                                                       First Class Mail
Chartered Organization         Adventures Without Limits                                       Cascade Pacific Council 492            1341 Pacific Ave                                         Forest Grove, OR 97116‐2314                                                                               First Class Mail
Chartered Organization         Advocates For Aviation Safety Fndn, Inc                         Mt Diablo‐Silverado Council 023        301 Waterview Ter                                        Vallejo, CA 94591‐7158                                                                                    First Class Mail
Chartered Organization         Aes Huntington Beach, LLC                                       Orange County Council 039              21730 Newland St                                         Huntington Beach, CA 92646‐7612                                                                           First Class Mail
Chartered Organization         Aesa Prep Academy                                               Capitol Area Council 564               14101 Canonade                                           Austin, TX 78737‐2643                                                                                     First Class Mail
Chartered Organization         Aetna Hose Hook & Ladder                                        Del Mar Va 081                         P.O. Box 148                                             Newark, DE 19715‐0148                                                                                     First Class Mail
Chartered Organization         Affect                                                          Blue Grass Council 204                 3460 Lannette Ln                                         Lexington, KY 40503‐4131                                                                                  First Class Mail
Chartered Organization         Affected Interiors, LLC                                         Mid Iowa Council 177                   121 N Locust St                                          Colfax, IA 50054‐1216                                                                                     First Class Mail
Firm                           Affeld Grivakes LLP                                             Joseph Barrett                         2049 Century Park E. Ste 2460                            Los Angeles, CA 90067                                              jmb@agzlaw                             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Affinity Coaching & Consulting                                  Quapaw Area Council 018                1528 County Rd 453                                       Pollard, AR 72456‐8029                                                                                    First Class Mail
Chartered Organization         Affton Parent'S Club                                            Greater St Louis Area Council 312      8701 Mackenzie Rd                                        Affton, MO 63123‐3436                                                                                     First Class Mail
Chartered Organization         Affton Parent'S Club                                            Greater St Louis Area Council 312      8348 S Laclede Station Rd                                Saint Louis, MO 63123‐2147                                                                                First Class Mail
Chartered Organization         African American Club Of Pasco, Inc                             Greater Tampa Bay Area 089             6105 Pine Hill Rd                                        Port Richey, FL 34668‐6735                                                                                First Class Mail
Chartered Organization         African Ctred College Prepartory Academy                        Heart of America Council 307           6410 Swope Pkwy                                          Kansas City, MO 64132‐1266                                                                                First Class Mail
Chartered Organization         African Episcopal Church Of St Thomas                           Cradle of Liberty Council 525          6361 Lancaster Ave                                       Philadelphia, PA 19151‐2622                                                                               First Class Mail
Chartered Organization         Africentric Early College K‐12                                  Simon Kenton Council 441               3223 Allegheny Ave                                       Columbus, OH 43209‐1376                                                                                   First Class Mail
Chartered Organization         Afsa ‐ Air Force Sergeants Assoc                                Great Southwest Council 412            9500 Osuna Rd NE, Apt 828                                Albuquerque, NM 87111‐2290                                                                                First Class Mail
Chartered Organization         Afsa Cowboy Chapter 1178                                        Longs Peak Council 062                 1413 W Gopp Ct                                           Cheyenne, WY 82007‐2743                                                                                   First Class Mail
Chartered Organization         After 3                                                         Greater New York Councils, Bsa 640     111 Columbia St                                          New York, NY 10002‐1947                                                                                   First Class Mail
Chartered Organization         After School Activities Program                                 Alamo Area Council 583                 314 N Hwy 123                                            Karnes City, TX 78118‐1900                                                                                First Class Mail
Chartered Organization         After School All Stars Birmingham                               Erie Shores Council 460                1500 N Superior St                                       Toledo, OH 43604‐2157                                                                                     First Class Mail
Chartered Organization         After School Dicovery                                           Lake Erie Council 440                  70 Ross Rd                                               Ashtabula, OH 44004‐7240                                                                                  First Class Mail
Voting Party                   Afton United Methodist Church                                   Attn: Johnny Gregg                     50 Woodhaven Cir                                         Greeneville, TN 37745                                              bettyrednour@hotmail.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Afton Utd Methodist Church                                      Mid‐America Council 326                111 S Douglas St                                         Afton, IA 50830‐1086                                                                                      First Class Mail
Chartered Organization         Afton Utd Methodist Church                                      Baden‐Powell Council 368               34 Spring St                                             Afton, NY 13730‐3157                                                                                      First Class Mail
Chartered Organization         Afya Public Charter School                                      Baltimore Area Council 220             2800 Brendan Ave                                         Baltimore, MD 21213‐1213                                                                                  First Class Mail
Chartered Organization         Aga Khan Ismaili Council                                        Alamo Area Council 583                 3559 E Evans Rd                                          San Antonio, TX 78259‐1700                                                                                First Class Mail
Chartered Organization         Agape Memorial Umc                                              Circle Ten Council 571                 5111 Capitol Ave                                         Dallas, TX 75206‐6936                                                                                     First Class Mail
Chartered Organization         Agape Theapeutic Riding Resources, Inc                          Crossroads of America 160              531 W 100 S                                              Greenfield, IN 46140‐8502                                                                                 First Class Mail
Chartered Organization         Agape Youth And Family Center                                   Atlanta Area Council 092               2210 Marietta Blvd Nw                                    Atlanta, GA 30318‐2020                                                                                    First Class Mail
Chartered Organization         Agassiz Rod & Gun Club                                          Northern Lights Council 429            P.O. Box 231                                             Newfolden, MN 56738‐0231                                                                                  First Class Mail
Chartered Organization         Agawam Congregational Church                                    Western Massachusetts Council 234      745 Main St                                              Agawam, MA 01001‐2573                                                                                     First Class Mail
Voting Party                   Agawam United Methodist Church                                  Attn: Ken Blanchard                    98 the Laurels                                           Enfield, CT 06082                                                  kenblan1980@gmail.com                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Agility Recovery Solutions                                      P.O. Box 733788                        Dallas, TX 75373‐3788                                                                                                                                              First Class Mail
Chartered Organization         Agm Container Controls                                          Catalina Council 011                   3526 E Fort Lowell Rd                                    Tucson, AZ 85716‐1705                                                                                     First Class Mail
Chartered Organization         Agnor‐Hurt Elem Parent‐Teachers Org                             Stonewall Jackson Council 763          3201 Berkmar Dr                                          Charlottesville, VA 22901‐1475                                                                            First Class Mail
Voting Party                   Agnus Dei Lutheran Church                                       Attn: Seth Novak / Beverly Buster      10511 Peacock Hill Ave Nw                                Gig Harbor, WA 98335                                               office@agnusdeilutheran.org            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Agra American Legion                                            Coronado Area Council 192              951 E 1100 Rd                                            Agra, KS 67621‐2520                                                                                       First Class Mail
Voting Party                   Agron, Inc                                                      2440 S Sepulveda Blvd, Ste 201         Los Angeles, CA 90064‐1748                                                                                                                                         First Class Mail
Chartered Organization         Ahavat Achim                                                    Northern New Jersey Council, Bsa 333   18‐25 Saddle River Rd                                    Fair Lawn, NJ 07410‐5909                                                                                  First Class Mail
Chartered Organization         Ahoskie Rotary Club                                             East Carolina Council 426              P.O. Box 325                                             Ahoskie, NC 27910‐0325                                                                                    First Class Mail
Chartered Organization         Ahrc                                                            Suffolk County Council Inc 404         2900 Veterans Memorial Hwy                               Bohemia, NY 11716‐1022                                                                                    First Class Mail
Chartered Organization         Ahrc Suffolk                                                    Suffolk County Council Inc 404         330 Knickerbocker Ave                                    Bohemia, NY 11716‐3130                                                                                    First Class Mail
Chartered Organization         Ahrc Suffolk                                                    Suffolk County Council Inc 404         214 Riverhead Rd                                         Westhampton Beach, NY 11978‐1201                                                                          First Class Mail
Chartered Organization         Aia Cleveland                                                   Lake Erie Council 440                  1001 Huron Rd E                                          Cleveland, OH 44115‐1710                                                                                  First Class Mail
Voting Party                   Aiea United Methodist Church                                    Attn: Samuel Nam                       99‐101 Laulima St                                        Aiea, HI 96701                                                     pastorsam@aieaumc.com                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Aikane O Nuuanu                                                 Aloha Council, Bsa 104                 3055 Puiwa Ln                                            Honolulu, HI 96817‐1126                                                                                   First Class Mail
Chartered Organization         Aiken County Career Center                                      Georgia‐Carolina 093                   2455 Jefferson Davis Hwy                                 Warrenville, SC 29851‐3054                                                                                First Class Mail
Chartered Organization         Aimwell Baptist Church                                          Mobile Area Council‐Bsa 004            500 Earle St                                             Mobile, AL 36603‐6001                                                                                     First Class Mail
Firm                           Ainsman Levine, LLC                                             Daniel J. Sammel, Esquire              310 Grant Street, Ste 1500                               Pittsburgh, PA 15219                                               ds@ainsmanlevine.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Ainsworth Utd Church Of Christ                                  Cascade Pacific Council 492            2941 NE Ainsworth St                                     Portland, OR 97211‐6749                                                                                   First Class Mail
Chartered Organization         Air Assoc Of Kansas                                             Heart of America Council 307           12901 W 151st St, Ste B                                  Olathe, KS 66062‐7219                                                                                     First Class Mail
Chartered Organization         Air Force Academy Athletic Corp                                 Pikes Peak Council 060                 2168 Field House Dr                                      Usaf Academy, CO 80840‐9599                                                                               First Class Mail
Chartered Organization         Air Force Sergants Assoc F1552                                  Far E Council 803                      Psc 76 Box 6385                                          Apo, AP 96319‐0064                                                                                        First Class Mail
Chartered Organization         Air Force Sergeants Assoc                                       WLACC 051                              P.O. Box 427                                             Edwards, CA 93523‐0427                                                                                    First Class Mail
Chartered Organization         Air Force Sergeants Assoc                                       Cimarron Council 474                   246 Brown Pkwy                                           Enid, OK 73705‐5003                                                                                       First Class Mail
Chartered Organization         Air Force Sergeants Assoc‐Chapter                               Golden Empire Council 047              P.O. Box 560                                             North Highlands, CA 95660‐0560                                                                            First Class Mail
Chartered Organization         Air Ops Drone Technology                                        Southwest Florida Council 088          18316 Oriole Rd                                          Fort Myers, FL 33967‐3253                                                                                 First Class Mail
Chartered Organization         Air Products                                                    Minsi Trails Council 502               7201 Hamilton Blvd                                       Allentown, PA 18195‐9642                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 4 of 442
                                                                                   Case 20-10343-LSS                                               Doc 8171                                             Filed 01/06/22                                           Page 20 of 457
                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                      Service List
                                                                                                                                                                               Served as set forth below

        Description                                                        Name                                                                                                    Address                                                                                                            Email              Method of Service
Chartered Organization         Air Serv Of Fort Bend                                      Sam Houston Area Council 576                    13003 Murphy Rd, Ste M3                                       Stafford, TX 77477‐3936                                                                               First Class Mail
Chartered Organization         Aircraft Owners & Pilots Assoc                             National Capital Area Council 082               421 Aviation Way                                              Frederick, MD 21701‐4756                                                                              First Class Mail
Voting Party                   Airgas, Inc                                                dba Airgas USA LLC                              P.O. Box 734672                                               Dallas, TX 75373‐4672                                                                                 First Class Mail
Chartered Organization         Airline Park Elementary Cub Parents                        Southeast Louisiana Council 214                 6201 Camphor St                                               Metairie, LA 70003‐3638                                                                               First Class Mail
Chartered Organization         Aitkin Lee American Legion Post 86                         Central Minnesota 296                           20 1st Ave Ne                                                 Aitkin, MN 56431‐1508                                                                                 First Class Mail
Chartered Organization         Aitkin Lions                                               Central Minnesota 296                           40 2nd Ave Se                                                 Aitkin, MN 56431‐1729                                                                                 First Class Mail
Chartered Organization         Ajapeu Lodge 33                                            Washington Crossing Council 777                 1 Scout Way                                                   Doylestown, PA 18901‐4890                                                                             First Class Mail
Chartered Organization         Akela Wahinapay Lodge Camp Pioneer                         Caddo Area Council 584                          971 Polk Rd 38                                                Hatfield, AR 71945‐7071                                                                               First Class Mail
Voting Party                   Akeley United Methodist Church (88553)                     c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspangolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Akeley United Methodist Church (88553)                     c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Akers law Group, PLLC                                      Joshua M. Coe                                   20 Eastgate Drive Ste D                                       Brandon, MS 39042                                                  joshua.coe@akerslawgroup.com       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Akima, LLC                                                 Silicon Valley Monterey Bay 055                 Bldng 264, 7th Div Rd                                         Jolon, CA 93928                                                                                       First Class Mail
Chartered Organization         Akin Road Parent School Partnership                        Northern Star Council 250                       5231 195th St W                                               Farmington, MN 55024‐8802                                                                             First Class Mail
Chartered Organization         Akron Fire Dept                                            Great Trail 433                                 146 S High St                                                 Akron, OH 44308‐1421                                                                                  First Class Mail
Chartered Organization         Akron Lions Club                                           Pennsylvania Dutch Council 524                  P.O. Box 64                                                   Akron, PA 17501‐0064                                                                                  First Class Mail
Chartered Organization         Akron Lions Club, Inc                                      Greater Niagara Frontier Council 380            P.O. Box 102                                                  Akron, NY 14001‐0102                                                                                  First Class Mail
Chartered Organization         Akron Police Law Enforcement ‐ Explorers                   Great Trail 433                                 217 S High St                                                 Akron, OH 44308‐1611                                                                                  First Class Mail
Voting Party                   Akron United Methodist Church                              Attn: Melanie Krening                           P.O. Box 536                                                  Akron, CO 80720                                                    mkrening15@gmail.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Akron Urban League Summer Day Camp                         Great Trail 433                                 440 Vernon Odom Blvd                                          Akron, OH 44307‐2108                                                                                  First Class Mail
Chartered Organization         Al Auxillary Unit 165 Billy Peterson                       Connecticut Rivers Council, Bsa 066             1253 Wolcott Rd                                               Wolcott, CT 06716‐1533                                                                                First Class Mail
Chartered Organization         Al Bronsted‐Searl‐Ingman Post 93                           c/o Gordon Lovsletten, CC                       Samoset Council, Bsa 627                                      N8906 N Belliveau Rd              Tomahawk, WI 54487                                                  First Class Mail
Chartered Organization         Al Brown High School                                       Central N Carolina Council 416                  415 E 1st St                                                  Kannapolis, NC 28083‐4501                                                                             First Class Mail
Chartered Organization         Al Charles A Conklin Post 28                               President Gerald R Ford 781                     700 S Harbor Dr                                               Grand Haven, MI 49417‐1743                                                                            First Class Mail
Chartered Organization         Al Colal Brodie Post 1437                                  Pathway To Adventure 456                        11123 Regency Dr                                              Westchester, IL 60154‐5638                                                                            First Class Mail
Chartered Organization         Al David‐Darrow‐Meyer Post 112                             Central Minnesota 296                           525 Railroad Dr Nw                                            Elk River, MN 55330‐1405                                                                              First Class Mail
Chartered Organization         Al Detrich‐Brechbill Post 612                              New Birth of Freedom 544                        P.O. Box 303                                                  Saint Thomas, PA 17252‐0303                                                                           First Class Mail
Chartered Organization         Al Falah Academy                                           Northeast Georgia Council 101                   4805 Lawrenceville Hwy NW, Ste 220                            Lilburn, GA 30047‐3800                                                                                First Class Mail
Chartered Organization         Al Gillaspey‐Moodie Post 474                               Mississippi Valley Council 141 141              P.O. Box 92                                                   Donnellson, IA 52625‐0092                                                                             First Class Mail
Chartered Organization         Al Hayward Vets Post 870                                   San Francisco Bay Area Council 028              27081 Fielding Dr                                             Hayward, CA 94542‐2446                                                                                First Class Mail
Chartered Organization         Al Huda Society                                            The Spirit of Adventure 227                     60 Willow St                                                  Chelsea, MA 02150‐3512                                                                                First Class Mail
Chartered Organization         Al James Ely Miller Post 833                               Suffolk County Council Inc 404                  51 Juniper Ave                                                Smithtown, NY 11787‐3441                                                                              First Class Mail
Chartered Organization         Al Leyden Chiles Wickersham Post 1                         Denver Area Council 061                         5400 E Yale Ave                                               Denver, CO 80222‐6905                                                                                 First Class Mail
Chartered Organization         Al Libby, Austin Reedy Post 97                             Montana Council 315                             319 California Ave                                            Libby, MT 59923‐1937                                                                                  First Class Mail
Chartered Organization         Al Otto Hendrickson Post 212                               Central Minnesota 296                           900 1st St E                                                  Park Rapids, MN 56470‐1711                                                                            First Class Mail
Chartered Organization         Al Pickett Post 21 Jonesboro                               Quapaw Area Council 018                         P.O. Box 585                                                  Jonesboro, AR 72403‐0585                                                                              First Class Mail
Chartered Organization         Al Post 112 Jay Wilson Post                                Lake Erie Council 440                           6671 Middle Ridge Rd                                          Madison, OH 44057‐2903                                                                                First Class Mail
Chartered Organization         Al Post 136 Arroyo Grande Ca                               Los Padres Council 053                          417 Orchard Ave                                               Arroyo Grande, CA 93420‐4007                                                                          First Class Mail
Chartered Organization         Al Post 187 John M Siedlicki                               Connecticut Yankee Council Bsa 072              190 Ward St                                                   Wallingford, CT 06492‐4039                                                                            First Class Mail
Chartered Organization         Al Post 256 & 1St Baptist Ch                               Old Hickory Council 427                         P.O. Box 968                                                  Blowing Rock, NC 28605‐0968                                                                           First Class Mail
Chartered Organization         Al Post 266 Mayhew Vincent White Lane                      Orange County Council 039                       P.O. Box 606                                                  Westminster, CA 92684‐0606                                                                            First Class Mail
Chartered Organization         Al Post 276 & Cary‐Grove Jaycees                           Blackhawk Area 660                              208 W Main St                                                 Cary, IL 60013‐2786                                                                                   First Class Mail
Chartered Organization         Al Post 405 Lt Chester A Bearse                            Narragansett 546                                P.O. Box 96                                                   Raynham, MA 02767‐0096                                                                                First Class Mail
Chartered Organization         Al Post 42 Jh Wellington 1919                              Cascade Pacific Council 492                     P.O. Box 16                                                   Saint Helens, OR 97051‐0016                                                                           First Class Mail
Chartered Organization         Al Post 584‐Utd Methodist Ch                               Illowa Council 133                              201 E Railroad                                                Wilton, IA 52778‐7785                                                                                 First Class Mail
Chartered Organization         Al Post 649 Castro Vly                                     San Francisco Bay Area Council 028              P.O. Box 2062                                                 Castro Valley, CA 94546‐0062                                                                          First Class Mail
Chartered Organization         Al Post 699                                                Elmer Dade Memorial Post                        201 S Leavitt Rd                                              Leavittsburg, OH 44430                                                                                First Class Mail
Chartered Organization         Al Post 78 Everret Ray Seymour                             Connecticut Yankee Council Bsa 072              71 N Salem Rd                                                 Ridgefield, CT 06877‐3823                                                                             First Class Mail
Chartered Organization         Al Post Manchester Post 113                                The Spirit of Adventure 227                     8R Central St                                                 Manchester, MA 01944                                                                                  First Class Mail
Chartered Organization         Al Quentin Roosevelt Post 4                                Theodore Roosevelt Council 386                  120 South St                                                  Oyster Bay, NY 11771‐2221                                                                             First Class Mail
Chartered Organization         Al Rancho Cordova Post 709                                 Golden Empire Council 047                       10636 Schirra Ave                                             Mather, CA 95655‐4121                                                                                 First Class Mail
Chartered Organization         Al‐ Vernon J Baker Post 241                                Inland Northwest Council 611                    12912 E 12th Ave                                              Spokane Valley, WA 99216‐0580                                                                         First Class Mail
Chartered Organization         Al W Vly Memory Post 99                                    P.O. Box 110636                                 Campbell, CA 95011                                                                                                                                                  First Class Mail
Chartered Organization         Al West Boat Service, LLC                                  Pikes Peak Council 060                          215 W Van Buren St                                            Colorado Springs, CO 80907‐6754                                                                       First Class Mail
Chartered Organization         Al Wilmore‐Richter Post 161                                Denver Area Council 061                         6230 W 60th Ave                                               Arvada, CO 80003‐5606                                                                                 First Class Mail
Chartered Organization         Al Wojciak Talberg Post 602                                Central Minnesota 296                           37285 167th St                                                Hillman, MN 56338‐6112                                                                                First Class Mail
Chartered Organization         Alabama Power Co                                           Tukabatchee Area Council 005                    244 Dexter Ave                                                Montgomery, AL 36104‐3739                                                                             First Class Mail
Chartered Organization         Alabaster City Schools                                     Greater Alabama Council 001                     10111 Hwy 119                                                 Alabaster, AL 35007‐9796                                                                              First Class Mail
Chartered Organization         Alachua Lions Club                                         North Florida Council 087                       P.O. Box 20                                                   Alachua, FL 32616‐0020                                                                                First Class Mail
Chartered Organization         Alachua Police Dept                                        North Florida Council 087                       15000 NW 142 Terrace                                          Alachua, FL 32615                                                                                     First Class Mail
Chartered Organization         Alaiedon Elementary School Pto                             Water and Woods Council 782                     1723 Okemos Rd                                                Mason, MI 48854‐9401                                                                                  First Class Mail
Chartered Organization         Alamance Presbyterian Church                               Old N State Council 070                         4000 Presbyterian Rd                                          Greensboro, NC 27406‐9003                                                                             First Class Mail
Chartered Organization         Alameda Boys & Girls Club                                  Alameda Council Bsa 022                         1900 3rd St                                                   Alameda, CA 94501‐1851                                                                                First Class Mail
Chartered Organization         Alameda County Sheriff Eden Township                       San Francisco Bay Area Council 028              15001 Foothill Blvd                                           San Leandro, CA 94578‐1008                                                                            First Class Mail
Chartered Organization         Alameda County Sheriff'S Office                            San Francisco Bay Area Council 028              1401 Lakeside Dr                                              Oakland, CA 94612‐4305                                                                                First Class Mail
Chartered Organization         Alameda Elks Lodge Bpoe 1015                               Alameda Council Bsa 022                         2255 Santa Clara Ave                                          Alameda, CA 94501‐4416                                                                                First Class Mail
Chartered Organization         Alamitos Sail And Power Squadron                           Long Beach Area Council 032                     2535 Poinsettia St                                            Santa Ana, CA 92706‐1725                                                                              First Class Mail
Voting Party                   Alamo Area Cncl 583                                        2226 NW Military Hwy                            San Antonio, TX 78213‐1833                                                                                                                                          First Class Mail
Voting Party                   Alamo Area Council, Inc                                    Attn: Michael De Los Santos                     2226 NW Military Hwy                                          San Antonio, TX 78213                                              mdelossa@scouting.org              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Alamo Area Search And Rescue                               Alamo Area Council 583                          P.O. Box 1398                                                 Helotes, TX 78023‐1398                                                                                First Class Mail
Chartered Organization         Alamo Chapter Assoc Of The Us Army                         Alamo Area Council 583                          1 University Way                                              San Antonio, TX 78224‐3134                                                                            First Class Mail
Chartered Organization         Alamo Community Congregational Church                      Southern Shores Fsc 783                         7925 N 6th St                                                 Kalamazoo, MI 49009‐8807                                                                              First Class Mail
Voting Party                   Alamo First United Methodist Church, Inc                   Attn: Patricia Cummins                          80 N Johnson St                                               Alamo, TN 38001                                                                                       First Class Mail
Chartered Organization         Alamo Heights Presbyterian Church                          Alamo Area Council 583                          6201 Broadway St                                              San Antonio, TX 78209‐4562                                                                            First Class Mail
Voting Party                   Alamo Heights United Methodist Church                      Attn: Valerie Slade                             825 E Basse Rd                                                San Antonio, TX 78209                                              vslade@ahumc.org                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Alamo United Methodist Church                              Attn: Secretary Alamo United Methodist Church   4071 N Foster Rd                                              San Antonio, TX 78244                                              georgec@xit.net                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Alamogordo Elks Lodge 1897 Bpoe                            Yucca Council 573                               2290 Hamilton Rd                                              Alamogordo, NM 88310‐9521                                                                             First Class Mail
Voting Party                   Alan F Lambert                                             Address Redacted                                                                                                                                                                 Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Alan Plummer Associates                                    Attn: Beverley Wassmund                         1221 Auraria Pkwy                                             Denver, CO 80128                                                   bwassmund@plummer.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Alanson Methodist Church                                   President Gerald R Ford 781                     P.O. Box 424                                                  Alanson, MI 49706‐0424                                                                                First Class Mail
Voting Party                   Alanson United Methodist Church                            Attn: Susan Hitts                               343 E Main St                                                 Harbor Springs, MI 49740                                           harborsringsumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Alarm Security & Contracting, Inc                          P.O. Box 71389                                  Corpus Christi, TX 78467‐1389                                                                                                                                       First Class Mail
Voting Party                   Alaska United Methodist Conference Center                  c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Albany County Sheriffs Office                              Twin Rivers Council 364                         390 New Salem Rd                                              Voorheesville, NY 12186‐4820                                                                          First Class Mail
Voting Party                   Albany First United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Albany Optimist Club                                       Cascade Pacific Council 492                     P.O. Box 61                                                   Albany, OR 97321‐0017                                                                                 First Class Mail
Chartered Organization         Albany Police Athletic League                              Twin Rivers Council 364                         844 Madison Ave                                               Albany, NY 12208‐3320                                                                                 First Class Mail
Voting Party                   Albany United Methodist Church                             502 1st Ave                                     Albany, IL 61230                                                                                                                 reverendgrannie@gmail.com          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Albee Township Fire Dept                                   Water and Woods Council 782                     10755 East Rd                                                 Burt, MI 48417‐2077                                                                                   First Class Mail
Chartered Organization         Albemarle Fire Dept                                        Central N Carolina Council 416                  1610 E Main St                                                Albemarle, NC 28001‐5328                                                                              First Class Mail
Chartered Organization         Albert Lea Utd Methodist Church                            Twin Valley Council Bsa 283                     702 S Hwy 69                                                  Albert Lea, MN 56007‐1813                                                                             First Class Mail
Chartered Organization         Albert W Sisk & Son, Inc                                   Del Mar Va 081                                  3601 Choptank Rd                                              Preston, MD 21655‐1220                                                                                First Class Mail
Chartered Organization         Alberta Smith Concerned Citizens                           Heart of Virginia Council 602                   13133 Donegal Dr                                              Chesterfield, VA 23832‐3767                                                                           First Class Mail
Chartered Organization         Albertina Kerr Centers Washington County                   Cascade Pacific Council 492                     247 SE Washington St, Ste 200                                 Hillsboro, OR 97123‐4169                                                                              First Class Mail
Chartered Organization         Albertville Civitans                                       Greater Alabama Council 001                     6271 US Hwy 431                                               Albertville, AL 35950‐2004                                                                            First Class Mail
Chartered Organization         Albertville Lions Club                                     Northern Star Council 250                       P.O. Box 82                                                   Albertville, MN 55301‐0082                                                                            First Class Mail
Voting Party                   Albion Asbury Umc                                          Attn: Bret Frymier                              605 E Main St                                                 Albion, IN 46701                                                   bfrymier@hotmail.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Albion First United Methodist Church                       Attn: Brad Henson, Pastor                       127 E Main St                                                 Albion, IL 62806                                                   brad@livingtheadventure.net        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Albion Lions                                               Anthony Wayne Area 157                          757 W Albion Rd                                               Albion, IN 46701‐9221                                                                                 First Class Mail
Chartered Organization         Albion Pta                                                 Pine Tree Council 218                           20 School St                                                  Albion, ME 04910‐6500                                                                                 First Class Mail
Chartered Organization         Albion Ward ‐ Declo Stake                                  Snake River Council 111                         P.O. Box 65                                                   Albion, ID 83311‐0065                                                                                 First Class Mail
Firm                           Albrecht Law Offices, LLC                                  Robert K. Albrecht                              211 West Wacker Drive, Suite 500                              Chicago, IL 60606                                                  rka@albrechtinjurylaw.com          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Albrechta & Coble, Ltd                                     Attn: Joseph F. Albrechta                       2228 Hayes Ave, Suite A                                       Fremont, OH 43420                                                  kwitte@lawyer‐ac.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Albright And Albright, Attys.                              Attn: Jonathan Albright                         104 Granby Dr                                                 Indianapolis, IN 46203                                             Jon@albrightandalbright.com        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Albright Memorial Umc                                      Betty S Johnson                                 409 Rittenhouse St Nw                                         Washington, DC 20011                                               msjbando@aol.com                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Albright Memorial United Methodist Church                  Attn: Betty Johnson                             409 Rittenhouse St NW                                         Washington, DC 20011                                               msjbando@aol.com                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Albright United Methodist Church (184110)                  c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Albright United Methodist Church (189453)                  c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Albuquerque Breakfast Civitan Club                         Great Southwest Council 412                     503 Niagara Rd Ne                                             Albuquerque, NM 87113‐1013                                                                            First Class Mail
Chartered Organization         Albuquerque Breakfast Lions Club                           Great Southwest Council 412                     P.O. Box 27273                                                Albuquerque, NM 87125‐7273                                                                            First Class Mail
Chartered Organization         Albuquerque Christian School                               Great Southwest Council 412                     7201B Montgomery Blvd Ne                                      Albuquerque, NM 87109                                                                                 First Class Mail
Chartered Organization         Alburnett Community Diamond Club                           Hawkeye Area Council 172                        P.O. Box 123                                                  Alburnett, IA 52202‐0123                                                                              First Class Mail
Chartered Organization         Alcott Elementary Pto                                      Sam Houston Area Council 576                    5859 Bellfort St                                              Houston, TX 77033‐2143                                                                                First Class Mail
Chartered Organization         Alcott School Parent Teachers                              Overland Trails 322                             313 N Cedar Ave                                               Hastings, NE 68901‐5349                                                                               First Class Mail
Chartered Organization         Alcova Elementary Pta                                      Northeast Georgia Council 101                   770 Ewing Chapel Rd                                           Dacula, GA 30019‐2596                                                                                 First Class Mail
Chartered Organization         Alcuin School                                              Circle Ten Council 571                          6144 Churchill Way                                            Dallas, TX 75230‐1804                                                                                 First Class Mail
Chartered Organization         Aldan American Legion Post 1000                            Cradle of Liberty Council 525                   106 Bonsall Ave                                               Aldan, PA 19018‐3002                                                                                  First Class Mail
Voting Party                   Alden Community United Methodist Church                    Attn: Rev Katie Waggoner                        9015 Helena Rd                                                P.O. Box 130                      Alden, MI 49612                  PastorKatieW@gmail.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Alden Road Exceptional Center (Sn)                         North Florida Council 087                       11780 Alden Rd                                                Jacksonville, FL 32246‐2402                                                                           First Class Mail
Voting Party                   Alden United Methodist Church                              Attn: Eric Blachford                            16532 State Rte 173                                           Alden, IL 60033                                                                                       First Class Mail
Chartered Organization         Alder Energy Systems, LLC                                  Coastal Carolina Council 550                    495 Jessen Ln                                                 Charleston, SC 29492‐7906                                                                             First Class Mail
Voting Party                   Aldersgate                                                 c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate ‐ Brunswick                                     c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Aldersgate Campus Of New Creation Umc                      Tidewater Council 596                           4320 Bruce Rd                                                 Chesapeake, VA 23321‐4205                                                                             First Class Mail
Voting Party                   Aldersgate Church                                          Attn: Jay Alms                                  4055 N Rockton Ave                                            Rockford, IL 61103                                                 unitedaldersgate@sbcglobal.net     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate Church                                          Attn: Jay Alms                                  10544 Main St                                                 P.O. Box 450                      Roscoe, IL 61072                 hrfdjalms@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Aldersgate Methodist Church                                National Capital Area Council 082               1301 Collingwood Rd                                           Alexandria, VA 22308‐1602                                                                             First Class Mail
Voting Party                   Aldersgate Methodist Church                                Attn: Brad Lee Belke                            1621 Thornton Ave                                             Butte, MT 59701                                                    b.l.belke@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate Methodist Church, Inc                           Attn: Brad Lee Belke                            444 E Park St                                                 Butte, MT 59701                                                                                       First Class Mail
Chartered Organization         Aldersgate Mission Main Street Umc                         Pine Burr Area Council 304                      402 E 2nd St                                                  Hattiesburg, MS 39401‐2155                                                                            First Class Mail
Voting Party                   Aldersgate‐ Seminole                                       c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Aldersgate Sun Sch Cl 1St Umc                              South Georgia Council 098                       311 Madison Ave N                                             Douglas, GA 31533‐4613                                                                                First Class Mail
Voting Party                   Aldersgate Umc                                             1753 S Blanchard St                             Wheaton, IL 60189                                                                                                                Josephjenniferkim@att.net          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate Umc                                             Attn: Treasurer & Thomas J Ream                 2417 Getz Rd                                                  Fort Wayne, IN 46804                                               finance@aumccommunity.org          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate Umc                                             Attn: Bruce Griffith                            1201 N Fair St                                                Marion, IL 62959                                                   bgriffith@marionaldersgate.org     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate Umc (05401)                                     c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate Umc (05401)                                     c/o Bentz Law Firm                              Attn: Sean Bollman                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate UMC 1301 Collingwood Rd, Alexandria, VA 22308   c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                            200 N Tampa St, Ste 200           Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate UMC 1500 E Rio Rd, Charlottesville, VA 22901    c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate UMC 151 Wythe Pkwy, Hampton, VA 23661           c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate UMC 5767 Sellger Dr, Norfolk, VA 23502‐5239     c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate United Methodist Church                         Attn: Glenn E Reynolds                          1320 Umstead Rd                                               Durham, NC 27712                                                   trustees@aldersgate.org            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate United Methodist Church                         Attn: Kevin Gearhart                            3600 75th St                                                  Urbandale, IA 50322                                                theresa@aldersgatedsm.org          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate United Methodist Church                         Attn: Charles L Finklea II & Janille Randall    3926 Old Denton Rd                                            Carrollton, TX 75007                                               thephysicist@verizon.net           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate United Methodist Church                         Attn: Secretary/Treasurer And/Or Pastor         10306 Indiana Ave                                             Lubbock, TX 79415                                                  rmedearis@lubbocklawfirm.com       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate United Methodist Church                         c/o Field Manning Stone Hawthorne & Aycock Pc   Attn: Robert Aycock                                           2112 Indiana Ave                  Lubbock, TX 79410                rmedearis@lubbocklawfirm.com       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Aldersgate United Methodist Church                         Attn: Ruth Hughes                               7 Shannon Dr                                                  Greenville, SC 29615                                               rhughes@aumcsc.org                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 5 of 442
                                                                                       Case 20-10343-LSS                                                   Doc 8171                                         Filed 01/06/22                                            Page 21 of 457
                                                                                                                                                                                         Exhibit B
                                                                                                                                                                                          Service List
                                                                                                                                                                                   Served as set forth below

        Description                                                        Name                                                                                                        Address                                                                                                        Email                Method of Service
Voting Party                   Aldersgate United Methodist Church                                     15 Wesley Ln                                Rockland, ME 04847                                                                                                            paulinda1948@gmail.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church                                     Attn: Greg Seay, Finance Chair              13217 Fm 1764 Rd                                          Santa Fe, TX 77510                                                  office‐aumc@comcast.net         Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church                                     Attn: Treasurer                             4301 Ambrose Ave Ne                                       Grand Rapids, MI 49525                                              office@aldersgateumc.org        Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church                                     Attn: Rev Martha Dell King                  4458 Willow Rd                                            Memphis, TN 38117                                                   office@agumc.org                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church                                     Attn: Holly Vietzke                         235 Park St                                               North Reading, MA 01864                                             mhollyv@gmail.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church                                     Attn: John Garrison                         12901 Bailey Cove Rd                                      Huntsville, AL 35803                                                john.allen.garrison@gmail.com   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church                                     Attn: John Garrison                         2106 Rosebury Ln Sw                                       Huntsville, AL 35803                                                john.allen.garrison@gmail.com   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church                                     c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church                                     Attn: Fred Broda, Board of Trustees Chair   600 Broadway                                              Dobbs Ferry, NY 10522                                               aumcdobbsferry@msn.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church                                     Attn: Allan Marshall                        252 V I Ranch Rd                                          Bristol, TN 37620                                                   allanmarshall@btes.tv           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church                                     Attn: Secretary/Treasurer/Pastor            1741 Sayles Blvd                                          Abilene, TX 79605                                                                                   First Class Mail
Voting Party                   Aldersgate United Methodist Church ‐ Wilmington                        c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church (179000)                            c/o Bentz Law Firm                          Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church 3185 Wheller Rd Augusta, GA 30909   c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church Of Nixa                             Attn: Brenda Clark                          460 W Aldersgate Dr                                       Nixa, MO 65714                                                      bclark@aldersgatechurch.com     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church Of North Charleston, Inc.           Attn: Rev Erik Grayson                      1444 Remount Rd                                           North Charleston, SC 29406                                          erikkgrayson@gmail.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church Of Sumter                           Attn: Mark Sari, Chairperson                211 Alice Dr                                              Sumter, SC 29150                                                    msari@sc.rr.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church Of Sumter                           Attn: Mark Sari                             3000 Daufuskie Rd                                         Sumter, SC 29150                                                    msari@sc.rr.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church Slidell, Louisiana                  Attn: Ehren Malone                          360 Robert Blvd                                           Slidell, LA 70458                                                   aumc@aldersgate‐sidell.org      Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church Tustin                              Attn: Financial Administrator               1201 Irvine Blvd                                          Tustin, CA 92780                                                    financeadmin@aumctustin.org     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church, Chelmsford                         Attn: Pastor Lisa Bruget‐Cass               242 Boston Rd                                             Chelmsford, MA 01824                                                revlisabc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church, Inc ‐Wichita                       c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aldersgate United Methodist Church, Inc. Of Rock Hill                  Attn: Wayne Miller                          2115 Celanese Rd                                          Rock Hill, SC 29732                                                 wayne@thrpartners.com           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Aldersgate Utd Meth                                                    Juniata Valley Council 497                  109 N 3rd St                                              Mifflintown, PA 17059‐1204                                                                          First Class Mail
Chartered Organization         Aldersgate Utd Methodist                                               Northern Star Council 250                   3801 Wooddale Ave S                                       St Louis Park, MN 55416‐5128                                                                        First Class Mail
Chartered Organization         Aldersgate Utd Methodist Ch‐Redford                                    Great Lakes Fsc 272                         10000 Beech Daly Rd                                       Redford, MI 48239‐2117                                                                              First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        National Capital Area Council 082           1301 Collingwood Rd                                       Alexandria, VA 22308‐1602                                                                           First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Georgia‐Carolina 093                        3185 Wheeler Rd                                           Augusta, GA 30909‐3335                                                                              First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Chief Seattle Council 609                   14230 SE Newport Way                                      Bellevue, WA 98006‐1582                                                                             First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Sequoyah Council 713                        136 Highridge St                                          Bristol, TN 37620‐7108                                                                              First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Buckskin 617                                6823 Sissonville Dr                                       Charleston, WV 25320                                                                                First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Stonewall Jackson Council 763               1500 Rio Rd E                                             Charlottesville, VA 22901‐1403                                                                      First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        The Spirit of Adventure 227                 242 Boston Rd                                             Chelmsford, MA 01824‐4804                                                                           First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Black Warrior Council 006                   1975 Hwy 78                                               Dora, AL 35062‐4456                                                                                 First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Monmouth Council, Bsa 347                   568 Ryders Ln                                             East Brunswick, NJ 08816‐3539                                                                       First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Buffalo Trace 156                           5130 Lincoln Ave                                          Evansville, IN 47715‐4116                                                                           First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Anthony Wayne Area 157                      2417 Getz Rd                                              Fort Wayne, IN 46804‐1631                                                                           First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Greater Alabama Council 001                 12901 Bailey Cove Rd Se                                   Huntsville, AL 35803‐2618                                                                           First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Andrew Jackson Council 303                  655 Beasley Rd                                            Jackson, MS 39206‐2826                                                                              First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Greater Tampa Bay Area 089                  9530 Starkey Rd                                           Largo, FL 33777‐2203                                                                                First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Heart of America Council 307                350 SW State Route 150                                    Lees Summit, MO 64082‐4407                                                                          First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Greater St Louis Area Council 312           1201 N Fair St                                            Marion, IL 62959‐3705                                                                               First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Gulf Coast Council 773                      6915 Hwy 29 N                                             Molino, FL 32577‐5142                                                                               First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Ozark Trails Council 306                    460 W Aldersgate Dr                                       Nixa, MO 65714‐7606                                                                                 First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Heart of America Council 307                15315 W 151st St                                          Olathe, KS 66062‐3066                                                                               First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Blue Ridge Mtns Council 599                 1946 Medallion Dr                                         Pulaski, VA 24301‐4402                                                                              First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Palmetto Council 549                        2115 Celanese Rd                                          Rock Hill, SC 29732‐1305                                                                            First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Piedmont Council 420                        1207 W Dixon Blvd                                         Shelby, NC 28152‐5131                                                                               First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Southeast Louisiana Council 214             360 Robert Blvd                                           Slidell, LA 70458‐1343                                                                              First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Erie Shores Council 460                     4030 Douglas Rd                                           Toledo, OH 43613‐3833                                                                               First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Orange County Council 039                   1201 Irvine Blvd                                          Tustin, CA 92780‐3530                                                                               First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Quivira Council, Bsa 198                    7901 W 21st St N                                          Wichita, KS 67205‐1741                                                                              First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        Del Mar Va 081                              2313 Concord Pike                                         Wilmington, DE 19803‐2911                                                                           First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church                                        New Birth of Freedom 544                    397 Tyler Run Rd                                          York, PA 17403‐4919                                                                                 First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church ‐ Oa                                   Piedmont Council 420                        1207 W Dixon Blvd                                         Shelby, NC 28152‐5131                                                                               First Class Mail
Chartered Organization         Aldersgate Utd Methodist Church Mens                                   Tukabatchee Area Council 005                6610 Vaughn Rd                                            Montgomery, AL 36116‐1203                                                                           First Class Mail
Chartered Organization         Alderwood Boys And Girls Club                                          Mount Baker Council, Bsa 606                19719 24th Ave W, Ste 10                                  Lynnwood, WA 98036‐3506                                                                             First Class Mail
Voting Party                   Aldine United Methodist Church                                         c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Aldora Utd Methodist Church                                            Flint River Council 095                     328 Old 41 Hwy                                            Barnesville, GA 30204‐3222                                                                          First Class Mail
Chartered Organization         Aldridge Early Learning Center                                         Illowa Council 133                          489 27th St                                               East Moline, IL 61244‐1870                                                                          First Class Mail
Chartered Organization         Aledo American Legion Post 121                                         Illowa Council 133                          305 NW 7th St                                             Aledo, IL 61231‐1072                                                                                First Class Mail
Voting Party                   Aledo Umc                                                              c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Aledo Umc                                                              100 Pecan Dr                                Aledo, TX 76008                                                                                                                                               First Class Mail
Chartered Organization         Aledo Utd Methodist Church                                             Longhorn Council 662                        P.O. Box 126                                              Aledo, TX 76008‐0126                                                                                First Class Mail
Chartered Organization         Alemany High School                                                    W.L.A.C.C. 051                              11111 Alemany Dr                                          Mission Hills, CA 91345‐1105                                                                        First Class Mail
Chartered Organization         Aletheia Church                                                        Chattahoochee Council 091                   8378 Blackmon Rd                                          Columbus, GA 31909‐2118                                                                             First Class Mail
Voting Party                   Alex Alvarez                                                           302 Grosvenor St                            San Antonio, TX 78221                                                                                                         alexalvarezut@gmail.com         Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Firm                           Alex R. White PLLC                                                     Alex R. White                               908 Minoma Ave                                            Louisville, KY 40217                                                alex@arwhitelaw.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Alexander Burns American Legion Post 80                                Pathway To Adventure 456                    4000 Saratoga Ave                                         Downers Grove, IL 60515‐2003                                                                        First Class Mail
Chartered Organization         Alexander County Sheriff'S Dept                                        Piedmont Council 420                        County Courthouse                                         Taylorsville, NC 28681                                                                              First Class Mail
Chartered Organization         Alexander Elementary School                                            West Tennessee Area Council 559             900 N Highland Ave                                        Jackson, TN 38301‐4456                                                                              First Class Mail
Chartered Organization         Alexander Hamilton Academy                                             Northern New Jersey Council, Bsa 333        11‐27 16th Ave                                            Paterson, NJ 07501‐2201                                                                             First Class Mail
Chartered Organization         Alexander Hamilton Elementary                                          Baltimore Area Council 220                  800 Poplar Grove St                                       Baltimore, MD 21216‐4347                                                                            First Class Mail
Chartered Organization         Alexander Hose Co 1                                                    Leatherstocking 400                         28 Columbia St                                            Mohawk, NY 13407‐1337                                                                               First Class Mail
Firm                           Alexander Law Group, PLC                                               Emmet D. Alexander                          6601 Irongate Square, Ste A                               Richmond, VA 23234                                                  info@alexanderlawgroupplc.com   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Alexander Volunteer Fire Co                                            Iroquois Trail Council 376                  Rte 98                                                    Alexander, NY 14005                                                                                 First Class Mail
Chartered Organization         Alexandria Chapter Izaak Walton League                                 National Capital Area Council 082           2729 Garrisonville Rd                                     Stafford, VA 22556‐3412                                                                             First Class Mail
Chartered Organization         Alexandria Country Day School                                          National Capital Area Council 082           2400 Russell Rd                                           Alexandria, VA 22301‐1536                                                                           First Class Mail
Chartered Organization         Alexandria Fire Dept                                                   Northern Lights Council 429                 302 Fillmore St                                           Alexandria, MN 56308‐1315                                                                           First Class Mail
Voting Party                   Alexandria First Presbyterian Church                                   Attn: Nicholas Hatch                        141 Little York Mt Pleasant Rd                            Milford, NJ 08848‐2157                                              nhatch@alexpres.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Alexandria Monroe High School                                          Crossroads of America 160                   1 Burden Ct                                               Alexandria, IN 46001‐2632                                                                           First Class Mail
Voting Party                   Alexandria United Methodist Church                                     Attn: Donald Flanders                       12 Washburn Rd                                            Alexandria, NH 03222                                                faithgreene83@gmail.com;        Email
                                                                                                                                                                                                                                                                                donaldflanders22@yahoo.com      First Class Mail
Voting Party                   Alexandria United Methodist Church                                     Attn: John Bowers                           7151 Tippenhauer Rd                                       Cold Spring, KY 41076                                               Bowers.jc@fuse.net              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Alexandria Zoological Park                                             Louisiana Purchase Council 213              3016 Masonic Dr                                           Alexandria, LA 71301‐4240                                                                           First Class Mail
Chartered Organization         Alex'S Lemonade Stand Foundation                                       Cradle of Liberty Council 525               111 Presidential Blvd, Ste 203                            Bala Cynwyd, PA 19004‐1013                                                                          First Class Mail
Voting Party                   Aley Umc                                                               Attn: Tom Oxley                             4143 Kemp Rd                                              Beavercreek, OH 45431                                               business@aleyumc.org            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Aley Utd Methodist Church                                              Tecumseh 439                                4143 Kemp Rd                                              Beavercreek, OH 45431‐2312                                                                          First Class Mail
Chartered Organization         Alford Elementary Stem                                                 Northeast Georgia Council 101               2625 Lawrenceville Hwy                                    Lawrenceville, GA 30044‐4429                                                                        First Class Mail
Chartered Organization         Alfred Lima School P T A                                               Narragansett 546                            222 Daboll St                                             Providence, RI 02907‐2572                                                                           First Class Mail
Chartered Organization         Alfred Sta Vol Fire Co Asn, Inc                                        Five Rivers Council, Inc 375                P.O. Box 282                                              Alfred Station, NY 14803‐0282                                                                       First Class Mail
Chartered Organization         Alfred Street Baptist Church                                           National Capital Area Council 082           301 S Alfred St                                           Alexandria, VA 22314‐3640                                                                           First Class Mail
Voting Party                   Alfred United Methodist Church                                         Attn: Stephen Crowell                       7 Park Cir                                                Belmont, NY 14813                                                   scrowell@united.edu             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Alfred W Maxwell Jr Post 40 Al                                         Pine Tree Council 218                       P.O. Box 342                                              Winthrop, ME 04364‐0342                                                                             First Class Mail
Chartered Organization         Algoma Blvd Utd Methodist Church                                       Bay‐Lakes Council 635                       1174 Algoma Blvd                                          Oshkosh, WI 54901‐3516                                                                              First Class Mail
Voting Party                   Algoma Boulevard United Methodist Church                               Attn: Katie Madlom, Treasurer Abumc         1174 Algoma Blvd                                          Oshkosh, WI 54901                                                   treasurer@abumc.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Algoma United Methodist Church                                         Attn: Robel Grant                           1185 Algoma Rd                                            Algoma, MS 38820                                                    rgrant131@gmail.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Algona Noon Kiwanis Club                                               Mid‐America Council 326                     318 N Roan St                                             Algona, IA 50511‐2145                                                                               First Class Mail
Chartered Organization         Algonquin Heights Tenant'S Assoc                                       Mayflower Council 251                       1 Algonquin Ter                                           Plymouth, MA 02360‐5499                                                                             First Class Mail
Chartered Organization         Algonquin Lions Club                                                   Blackhawk Area 660                          P.O. Box 51                                               Algonquin, IL 60102‐0051                                                                            First Class Mail
Chartered Organization         Algonquin Police Dept                                                  Blackhawk Area 660                          2200 Harnish Dr                                           Algonquin, IL 60102‐5995                                                                            First Class Mail
Voting Party                   Algonquin: Christ                                                      Attn: Mi Sook Yoo                           9009 Algonquin Rd                                         Algonquin, IL 60102                                                 msyoo0213@gmail.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Algonquin‐Lith Rotary Club                                             Blackhawk Area 660                          1304 E Algonquin Rd                                       Algonquin, IL 60102‐4227                                                                            First Class Mail
Chartered Organization         Algood Cumberland Presbyterian Church                                  Middle Tennessee Council 560                212 E Main St                                             Cookeville, TN 38506‐5222                                                                           First Class Mail
Voting Party                   Algood United Methodist Church                                         Attn: Albert Willis                         135 W Main St                                             Algood, TN 38506                                                    albertwillis@tnumc.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Algood Utd Methodist Church                                            Middle Tennessee Council 560                135 W Main St                                             Cookeville, TN 38506‐5361                                                                           First Class Mail
Chartered Organization         Alhambra Police Dept                                                   Greater Los Angeles Area 033                211 S 1st St                                              Alhambra, CA 91801‐3706                                                                             First Class Mail
Chartered Organization         Alice Contreras Elementary ‐ Gfwar                                     Longhorn Council 662                        4100 Lubbock Ave                                          Fort Worth, TX 76115‐1029                                                                           First Class Mail
Chartered Organization         Alice Gustafson School Pto                                             Three Fires Council 127                     905 Carlisle Rd                                           Batavia, IL 60510‐3024                                                                              First Class Mail
Chartered Organization         Alice M Harte Charter School                                           Southeast Louisiana Council 214             5300 Berkley Dr                                           New Orleans, LA 70131‐7204                                                                          First Class Mail
Voting Party                   Alice Mary Curtis                                                      7 Station Ave                               Searsport, ME 04974                                                                                                           maryalicecurtis07@gmail.com     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Alice Optimist Club                                                    South Texas Council 577                     P.O. Box 1074                                             Alice, TX 78333‐1074                                                                                First Class Mail
Chartered Organization         Alices Cedar Inn                                                       Mid‐America Council 326                     219 Pine St                                               Creston, NE 68631‐4079                                                                              First Class Mail
Chartered Organization         Aliceville First Baptist Church                                        Black Warrior Council 006                   323 Broad St Nw                                           Aliceville, AL 35442‐2145                                                                           First Class Mail
Chartered Organization         Alief Family Ymca                                                      Sam Houston Area Council 576                7850 Howell Sugar Land Rd                                 Houston, TX 77083‐3345                                                                              First Class Mail
Voting Party                   Aline United Methodist Church (183673)                                 c/o Bentz Law Firm                          Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Aliquippa Elementary                                                   Laurel Highlands Council 527                800 21st St                                               Aliquippa, PA 15001‐2763                                                                            First Class Mail
Voting Party                   Alison K Schuler                                                       c/o Boy Scouts of America                   Attn: Chase Koontz                                        1325 W Walnut Hill Ln            Irving, TX 75015                   chase.koontz@scouting.org       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         All About Therapy, LLC                                                 Pee Dee Area Council 552                    5046 Hwy 17 Byp S, Ste 205                                Myrtle Beach, SC 29588‐4503                                                                         First Class Mail
Chartered Organization         All American Van & Storage                                             Las Vegas Area Council 328                  600 E Cheyenne Ave                                        North Las Vegas, NV 89030‐8038                                                                      First Class Mail
Voting Party                   All Angels Church                                                      c/o Parker Pohl LLP                         Attn: M Todd Parker                                       420 Lexington Ave, Ste 2440      New York, NY 10170                 todd.parker@parkerpohl.com      Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   All Angels' Church                                                     c/o Parker Pohl LLP                         Attn: M Todd Parker                                       420 Lexington Ave, Ste 2440      New York, NY 10170                 todd.parker@parkerpohl.com      Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         All Brothers Truck Repair                                              Middle Tennessee Council 560                845 Visco Dr                                              Nashville, TN 37210‐2149                                                                            First Class Mail
Chartered Organization         All Dulles Area Muslim Society                                         National Capital Area Council 082           46903 Sugarland Rd                                        Sterling, VA 20164‐8520                                                                             First Class Mail
Voting Party                   All Faith Chapel (Easton/Tunis Mills)                                  c/o The Law Office of Andrea Ross           Attn: Andrea Ross, Esq                                    129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   All Hallows' Episcopal Church (Snow Hill)                              c/o The Law Office of Andrea Ross           Attn: Andrea Ross, Esq                                    129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         All Hallows Roman Catholic Church                                      Connecticut Rivers Council, Bsa 066         130 Prospect St                                           Moosup, CT 06354‐1455                                                                               First Class Mail
Chartered Organization         All Saints Academy                                                     President Gerald R Ford 781                 2233 Diamond Ave Ne                                       Grand Rapids, MI 49505‐4313                                                                         First Class Mail
Voting Party                   All Saints Academy, Grand Rapids                                       c/o Warner Norcross & Judd LLP              Attn: Elisabeth M Von Eitzen                              150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         All Saints Anglican Catholic Church                                    Glaciers Edge Council 620                   169 S Academy St                                          Janesville, WI 53548‐3742                                                                           First Class Mail
Chartered Organization         All Saints Anglican Church                                             Flint River Council 095                     149 Ebenezer Rd                                           Fayetteville, GA 30215‐4816                                                                         First Class Mail
Chartered Organization         All Saints Catholic Church                                             Hawkeye Area Council 172                    720 29th St Se                                            Cedar Rapids, IA 52403‐3007                                                                         First Class Mail
Chartered Organization         All Saints Catholic Church                                             Palmetto Council 549                        530 Hwy 274                                               Clover, SC 29710‐6030                                                                               First Class Mail
Chartered Organization         All Saints Catholic Church                                             Circle Ten Council 571                      5231 Meadowcreek Dr                                       Dallas, TX 75248‐4046                                                                               First Class Mail
Chartered Organization         All Saints Catholic Church                                             Atlanta Area Council 092                    2443 Mount Vernon Rd                                      Dunwoody, GA 30338‐3003                                                                             First Class Mail
Chartered Organization         All Saints Catholic Church                                             San Francisco Bay Area Council 028          22824 2nd St                                              Hayward, CA 94541‐5217                                                                              First Class Mail
Chartered Organization         All Saints Catholic Church                                             Central Minnesota 296                       311 River St W                                            Holdingford, MN 56340‐9517                                                                          First Class Mail
Chartered Organization         All Saints Catholic Church                                             Sam Houston Area Council 576                215 E 10th St                                             Houston, TX 77008‐7025                                                                              First Class Mail
Chartered Organization         All Saints Catholic Church                                             Great Smoky Mountain Council 557            620 N Cedar Bluff Rd                                      Knoxville, TN 37923‐2229                                                                            First Class Mail
Chartered Organization         All Saints Catholic Church                                             Northern Star Council 250                   19795 Holyoke Ave                                         Lakeville, MN 55044‐8816                                                                            First Class Mail
Chartered Organization         All Saints Catholic Church                                             South Florida Council 084                   10900 W Oakland Park Blvd                                 Sunrise, FL 33351‐6812                                                                              First Class Mail
Chartered Organization         All Saints Catholic Church                                             Lincoln Heritage Council 205                P.O. Box 531                                              Taylorsville, KY 40071‐0531                                                                         First Class Mail
Chartered Organization         All Saints Catholic Church                                             Quivira Council, Bsa 198                    3205 Grand St                                             Wichita, KS 67218‐2922                                                                              First Class Mail
Voting Party                   All Saints Catholic Church, Dover, Inc.                                Attn: John S Mercer                         1400 N Meridian St                                        Indianapolis, IN 46202                                              jsmercer@indylegal.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   All Saints Catholic Church, Fremont                                    c/o Warner Norcross & Judd LLP              Attn: Elisabeth M Von Eitzen                              150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         All Saints Catholic School                                             Great Lakes Fsc 272                         48735 Warren Rd                                           Canton, MI 48187‐1216                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 6 of 442
                                                                                          Case 20-10343-LSS                                           Doc 8171                                            Filed 01/06/22                                               Page 22 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                             Name                                                                                                 Address                                                                                                               Email              Method of Service
Chartered Organization         All Saints Catholic School                                        Illowa Council 133                          1926 N Marquette St                                          Davenport, IA 52804‐2160                                                                                 First Class Mail
Chartered Organization         All Saints Catholic School                                        Last Frontier Council 480                   4001 36th Ave Nw                                             Norman, OK 73072‐1802                                                                                    First Class Mail
Chartered Organization         All Saints Church                                                 Theodore Roosevelt Council 386              855 Middle Neck Rd                                           Great Neck, NY 11024‐1441                                                                                First Class Mail
Chartered Organization         All Saints Church                                                 The Spirit of Adventure 227                 120 Bellevue Ave                                             Haverhill, MA 01832‐4798                                                                                 First Class Mail
Chartered Organization         All Saints Church                                                 National Capital Area Council 082           9300 Stonewall Rd                                            Manassas, VA 20110‐2566                                                                                  First Class Mail
Voting Party                   All Saints' Church                                                300 Harrison Ave                            Harrison, NY 10528                                                                                                                  janderson10528@gmail.com          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         All Saints Church & School                                        Dan Beard Council, Bsa 438                  8939 Montgomery Rd                                           Cincinnati, OH 45236‐2154                                                                                First Class Mail
Voting Party                   All Saints' Church (Littleton)                                    c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                        159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Church (Peterborough)                                  c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                        159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Church (South Hadley)                                 c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                        159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Church (Wolfeboro)                                    c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                        159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Church (Worcester)                                    c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                        159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         All Saints Church Chevy Chase Parish                              National Capital Area Council 082           3 Chevy Chase Cir                                            Chevy Chase, MD 20815‐3408                                                                               First Class Mail
Voting Party                   All Saints Church Of Winter Park, Inc                             Attn: Beth Davis                            338 E Lyman Ave                                              Winter Park, FL 32789                                                  beth@allsaintswinterpark.org      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Church, 112 E. Market St. Logansport, In 46947         Attn: Matt Mckillip                         P.O. Box 260                                                 Lafayette, IN 47902                                                    mmckillip@dol‐in.org              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         All Saints Diocesan School                                        Indian Nations Council 488                  299 S 9th St                                                 Broken Arrow, OK 74012‐4221                                                                              First Class Mail
Chartered Organization         All Saints Elementary School                                      Water and Woods Council 782                 715 14th St                                                  Bay City, MI 48708‐7204                                                                                  First Class Mail
Chartered Organization         All Saints Episcopal                                              Greater Alabama Council 001                 110 W Hawthorne Rd                                           Birmingham, AL 35209‐3922                                                                                First Class Mail
Chartered Organization         All Saints Episcopal                                              North Florida Council 087                   4171 Hendricks Ave                                           Jacksonville, FL 32207‐6323                                                                              First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Narragansett 546                            121 N Main St                                                Attleboro, MA 02703‐2221                                                                                 First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Ore‐Ida Council 106 ‐ Bsa 106               704 S Latah St                                               Boise, ID 83705‐1547                                                                                     First Class Mail
Chartered Organization         All Saints Episcopal Church                                       National Capital Area Council 082           106 W Church St                                              Frederick, MD 21701‐5411                                                                                 First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Coastal Carolina Council 550                3001 Meeting St                                              Hilton Head Island, SC 29926‐1673                                                                        First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Coastal Carolina Council 550                3001 Meeting St                                              Hilton Head Island, SC 29926‐1673                                                                        First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Baden‐Powell Council 368                    475 Main St                                                  Johnson City, NY 13790‐1906                                                                              First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Great Smoky Mountain Council 557            601 W Main St                                                Morristown, TN 37814‐4508                                                                                First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Simon Kenton Council 441                    5101 Johnstown Rd                                            New Albany, OH 43054‐8964                                                                                First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Cradle of Liberty Council 525               9601 Frankford Ave                                           Philadelphia, PA 19114‐2813                                                                              First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Grand Canyon Council 010                    6300 N Central Ave                                           Phoenix, AZ 85012‐1109                                                                                   First Class Mail
Chartered Organization         All Saints Episcopal Church                                       California Inland Empire Council 045        3847 Terracina Dr                                            Riverside, CA 92506‐0149                                                                                 First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Rio Grande Council 775                      465 N Reagan St                                              San Benito, TX 78586‐4647                                                                                First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Scotch Plains                               559 Park Ave                                                 Scotch Plains, NJ 07076‐1705                                                                             First Class Mail
Chartered Organization         All Saints Episcopal Church                                       National Capital Area Council 082           P.O. Box 1692                                                Sunderland, MD 20689‐1692                                                                                First Class Mail
Chartered Organization         All Saints Episcopal Church                                       National Capital Area Council 082           100 Lower Marlboro Rd                                        Sunderland, MD 20689‐3106                                                                                First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Pacific Harbors Council, Bsa 612            205 E 96th St                                                Tacoma, WA 98445‐2003                                                                                    First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Yocona Area Council 748                     608 W Jefferson St                                           Tupelo, MS 38804‐3736                                                                                    First Class Mail
Chartered Organization         All Saints Episcopal Church                                       Pathway To Adventure 456                    4370 Woodland Ave                                            Western Springs, IL 60558‐1458                                                                           First Class Mail
Voting Party                   All Saints Episcopal Church                                       Attn: Steven Watson                         P.O. Box 40                                                  Sunderland, MD 20689                                                   stevenwatson522@gmail.com         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church                                       890 Mccosh St                               Hanover, PA 17331                                                                                                                   secretary.allsaintsec@gmail.com   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church                                       c/o Squire Patton Boggs (Us) LLP            Attn: Mark A Salzberg                                        2550 M St NW                        Washington, DC 20037               rector@allsaintschool.org         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church                                       Attn: David Hilton Jackson                  P.O. Box 248                                                 Kap'A, HI 96746                                                        rector@allsaintschool.org         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church                                       3026 S Staples St                           Corpus Christi, TX 78404                                                                                                            parish@allsaints‐cc.org           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church                                       Attn: Darlene Melohe                        1708 Watson Blvd                                             Warner Robins, GA 31093                                                office@allsaintswr.org            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church                                       Attn: Marisa Thompson                       9302 Blondo St                                               Omaha, NE 68134                                                        mthompson@allsaintsomaha.org      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church                                       The Rev. Mary Bea Sullivan                  110 W Hawthorne Rd                                           Birmingham, AL 35209                                                   mbsullivan@allsaintsbhm.org       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church                                       Attn: Edward T Kelaher                      3 Chevy Chase Cir                                            Chevy Chase, MD 20815                                                  ed.kelaher@allsaintschurch.net    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church                                       Attn: Joseph S Pae                          855 Middle Neck Rd                                           Great Neck, NY 11024                                                   asc855@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church                                       855 Middle Neck Rd                          Great Neck, NY 11024                                                                                                                asc855@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church                                       Attn: Stanley Sawyer                        1969 Woodside Ln                                             Virginia Beach, VA 23454                                               allsaintschurch1@verizon.net      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church                                       314 Truman Blvd                             Newberry, MI 49868                                                                                                                                                    First Class Mail
Chartered Organization         All Saints' Episcopal Church                                      Cherokee Area Council 469 469               225 B St Nw                                                  Miami, OK 74354‐5806                                                                                     First Class Mail
Voting Party                   All Saints' Episcopal Church                                      Attn: Father L Reid Hensarling              209 S Iowa Ave                                               Lakeland, FL 33801                                                     RHensarling@teamallsaints.org     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church                                      525 Lake Concord Rd NE                      Concord, NC 28026                                                                                                                   Finance@AllSaintsConcord.org      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church                                      Donavan Cain                                4171 Hendricks Ave                                           Jacksonville, FL 32207                                                 dcain@asejax.org                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church                                      c/o Rogers Towers, PA                       Attn: Betsy C Cox, Esq                                       1301 Riverplace Blvd, Ste 1500      Jacksonville, FL 32207             bcox@rtlaw.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church                                      Attn: Maxine Marie Veronice Barnett         2375 Harrsion Ave                                            Baldwin, NY 11151                                                      allsaintsbaldwin@aol.com          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saint's Episcopal Church                                      Attn: Treasurer                             809 W Cedar Ave                                              Duncan, OK 73533                                                       volallsaints@cableone.net         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church ‐ Loveland                            3448 N Taft Ave                             Loveland, CO 80538                                                                                                                  bankruptcy@messner.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church (Longwoods)                          c/o The Law Office of Andrea Ross           Attn: Andrea Ross, Esq                                       129 N West St, Ste 1                Easton, MD 21601                   Patrick@DioceseofEaston.org       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church (Monie)                              c/o The Law Office of Andrea Ross           Attn: Andrea Ross, Esq                                       129 N West St, Ste 1                Easton, MD 21601                   Patrick@DioceseofEaston.org       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church (Monie)                              c/o the Episcopal Diocese of Easton         Attn: Patrick A Collins                                      314 North St                        Easton, MD 21601                   Patrick@DioceseofEaston.org       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church (South Burlington)                    c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                        159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church And Santa Lucia Campground In B      c/o All Saints Episcopal Church             P.O. Box 1296                                                Carmel, CA 93921                                                       rector@allsaintscarmel.org        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church In Scotch Plains                     Attn: John Brewer, Treasurer                559 Park Ave                                                 Scotch Plains, NJ 07076                                                church@allsaints‐spnj.org         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         All Saints Episcopal Church Kapaa                                 Aloha Council, Bsa 104                      4‐1065 Kuhio Hwy                                             Kapaa, HI 96746                                                                                          First Class Mail
Voting Party                   All Saints' Episcopal Church Of Fort Worth, Texas                 Attn: Joseph Postnikoff                     P.O. Box 1928                                                Ft Worth, TX 76101                                                     jpostnikoff@postnikofflaw.com     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church Of Fort Worth, Texas                 Attn: the Rev Christopher Jambor            5001 Crestline Rd                                            Ft Worth, TX 76107                                                     frjambor@asecfw.org               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church of Fort Worth, TX                    Attn: Joseph Postnikoff                     P.O. Box 1928                                                Ft Worth, TX 76101                                                     jpostnikoff@postnikofflaw.com     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church of Fort Worth, TX                    Attn: Christopher Jambor                    5001 Crestline Rd                                            Fort Worth, TX 76107                                                   frjambor@asecfw.org               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church Of Redding, California               2150 Benton Dr                              Redding, CA 96001                                                                                                                   asecrector@gmail.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church Of The North Shore                    Attn: Marya L Decarlen                      46 Cherry St                                                 Danvers, MA 01923                                                      allstoffice@gmail.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church, Birmingham                           Attn: Rev Rob Morpeth, Diocese of Alabama   521 N 20th St                                                Birmingham, AL 35203                                                   rmorpeth@dioala.org               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church, Hillsboro                            Attn: Karen Lajoy Smith                     372 NE Lincoln St                                            Hillsboro, OR 97124                                                    office@allsaintshillsboro.org     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church, Inc.                                 Attn: Susan Fuhr                            601 W Main St                                                Morristown, TN 37814                                                   jfuhr@charter.net                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Episcopal Church, Inc.                                 c/o Kramer Rayson LLP                       Attn: George Arrants                                         814 Episcopal School Way            Knoxville, TN 37932                garrants@kramer‐rayson.com        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Church, Johnson City                        Attn: Martha L Berry                        P.O. Box 3520                                                Syracuse, NY 13220                                                     AllSaintsJCNY@aol.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         All Saints Episcopal Church‐Millington                            Patriots Path Council 358                   15 Basking Ridge Rd                                          Millington, NJ 07946‐1407                                                                                First Class Mail
Voting Party                   All Saints' Episcopal Parish Church, Tupelo, Mississippi          Attn: Marcus M Wilson                       190 E Capitol St, Ste 650                                    Jackson, MS 39201                                                      mwilson@blswlaw.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Episcopal Parish Church, Tupelo, Mississippi          Attn: Deanna Alford                         608 W Jefferson St                                           Tupelo, MS 38804                                                       deannaalford@comcast.net          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         All Saints Lutheran Church                                        Longhorn Council 662                        4325 SW Green Oaks Blvd                                      Arlington, TX 76017‐2227                                                                                 First Class Mail
Chartered Organization         All Saints Lutheran Church                                        Denver Area Council 061                     15625 E Iliff Ave                                            Aurora, CO 80013‐1110                                                                                    First Class Mail
Chartered Organization         All Saints Lutheran Church                                        Northern Star Council 250                   8100 Belden Blvd                                             Cottage Grove, MN 55016‐2660                                                                             First Class Mail
Chartered Organization         All Saints Lutheran Church                                        Northeast Georgia Council 101               722 Rockbridge Rd Sw                                         Lilburn, GA 30047‐6541                                                                                   First Class Mail
Chartered Organization         All Saints Lutheran Church                                        Northern Star Council 250                   15915 Excelsior Blvd                                         Minnetonka, MN 55345‐5628                                                                                First Class Mail
Chartered Organization         All Saints Lutheran Church                                        Coastal Carolina Council 550                2107 N Hwy 17                                                Mount Pleasant, SC 29466‐8806                                                                            First Class Mail
Chartered Organization         All Saints Lutheran Church                                        Central Florida Council 083                 12601 Balcombe Rd                                            Orlando, FL 32837‐6219                                                                                   First Class Mail
Chartered Organization         All Saints Lutheran Church                                        Bay‐Lakes Council 635                       1072 Honey Creek Rd                                          Oshkosh, WI 54904‐9399                                                                                   First Class Mail
Chartered Organization         All Saints Lutheran Church                                        Pathway To Adventure 456                    630 S Quentin Rd                                             Palatine, IL 60067‐6759                                                                                  First Class Mail
Chartered Organization         All Saints Lutheran Church                                        Grand Canyon Council 010                    15649 N 7th St                                               Phoenix, AZ 85022‐3518                                                                                   First Class Mail
Chartered Organization         All Saints Lutheran Church                                        Central Florida Council 083                 751 Dunlawton Ave                                            Port Orange, FL 32127‐9224                                                                               First Class Mail
Chartered Organization         All Saints Luthern Church                                         Denver Area Council 061                     15625 E Iliff Ave                                            Aurora, CO 80013‐1110                                                                                    First Class Mail
Voting Party                   All Saints Memorial Church (Episcopal)(Providence)                c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                        159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         All Saints Parish                                                 Cascade Pacific Council 492                 3847 NE Glisan St                                            Portland, OR 97232‐3349                                                                                  First Class Mail
Voting Party                   All Saints Pontiac (Episcopal)(Warwick)                           c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                        159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints' Protestant Episcopal Church                           Attn: Mark Gibson                           106 W Church St                                              Frederick, MD 21701                                                    hmarkg@mindspring.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         All Saints Roman Catholic Church                                  Greater Niagara Frontier Council 380        127 Chadduck Ave                                             Buffalo, NY 14207‐1531                                                                                   First Class Mail
Voting Party                   All Saints Roman Catholic Church Society Of Buffalo               c/o Woods Oviatt Gilman LLP                 Attn: Timothy P Lyster, Esq                                  1900 Bausch & Lomb Pl               Rochester, NY 14604                tlyster@woodsoviatt.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Roman Catholic Congregation, Inc                       c/o Gallagher Evelius & Jones LLP           Attn: Matthew W Oakey                                        218 N Charles St, Ste 400           Baltimore, MD 21201                moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         All Saints School ‐ St Stephen'S Church                           Three Rivers Council 578                    P.O. Box 7188                                                Beaumont, TX 77726‐7188                                                                                  First Class Mail
Voting Party                   All Saints Torresdale Episcopal Church                            c/o Elliott Greenleaf PC                    Attn: Rafeal X Zahralddin Aravena                            1105 N Market St, Ste 1700          Wilmington, DE 19801               rxza@elliottgreenleaf.com         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Torresdale Episcopal Church                            c/o Elliot Greenleaf PC                     Attn: Rafael X Zahralddin‐Aravena                            1105 N Market St, Ste 1700          Wilmington, DE 19801               rxza@elliottgreanleaf.com         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Saints Torresdale Episcopal Church                            Attn: Mary Kohart                           23 E Airy St                                                 Norristown, PA 19401                                                   mek@elliottgreenleaf.com          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         All Shepherds Lutheran Church                                     Simon Kenton Council 441                    6580 Columbus Pike                                           Lewis Center, OH 43035‐9009                                                                              First Class Mail
Voting Party                   All Shores Wesleyan Church                                        15550 Cleveland St                          Spring Lake, MI 49456                                                                                                               julie.burns@allshores.org         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         All Souls Catholic Church                                         Denver Area Council 061                     4950 S Logan St                                              Englewood, CO 80113‐6847                                                                                 First Class Mail
Chartered Organization         All Souls Community Church                                        Hudson Valley Council 374                   81 Washington Ave                                            Suffern, NY 10901‐6020                                                                                   First Class Mail
Chartered Organization         All Souls Episcopal Church                                        Last Frontier Council 480                   6400 N Pennsylvania Ave                                      Nichols Hills, OK 73116‐5626                                                                             First Class Mail
Chartered Organization         All Souls Episcopal Church                                        San Diego Imperial Council 049              1475 Catalina Blvd                                           San Diego, CA 92107‐3763                                                                                 First Class Mail
Chartered Organization         All Souls Episcopal Church                                        National Capital Area Council 082           2300 Cathedral Ave NW                                        Washington, DC 20008‐1505                                                                                First Class Mail
Chartered Organization         All Soul'S Episcopal Church                                       San Diego Imperial Council 049              1475 Catalina Blvd                                           San Diego, CA 92107‐3763                                                                                 First Class Mail
Voting Party                   All Souls' Episcopal Church ‐ North Versailles                    Attn: The Rev Canon Kimberly Karashin       325 Oliver Ave, Ste 300                                      Pittsburgh, PA 15222                                                   sld@sgkpc.com                     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Souls' Episcopal Church ‐ North Versailles                    Attn: The Rev Canon Kimberly Karashin       325 Oliver Ave, Ste 300                                      Pittsburgh, PA 15222                                                                                     First Class Mail
Voting Party                   All Souls' Episcopal Church San Diego                             Attn: Kirby Smith                           2083 Sunset Cliffs Blvd                                      San Diego, CA 92107                                                    ksmith@edsd.org                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Souls' Episcopal Church San Diego                             c/o Sullivan Hill Rez & Engel               Attn: James Hill                                             600 B St, Ste 1700                  San Diego, CA 92101                Hill@SullivanHill.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Souls' Episcopal Church, Inc                                  Attn: Simon W Bright                        211 N Robinson Ave, 8th Fl                                   Oklahoma City, OK 73102                                                simon.bright@mcafeetaft.com       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Souls' Episcopal Church, Inc                                  Attn: Christopher W Yoder                   6400 N Pennslyvania Ave                                      Oklahoma City, OK 73116                                                cyoder@allsoulsokc.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Souls' Episcopal Church, San Diego                            c/o Sullivan Hill Rez & Engel               Attn: James P. Hill, Esq                                     600 B St, Ste 1700                  San Diego, CA 92101                hill@sullivanhill.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         All Souls Holy Name Society                                       Greater St Louis Area Council 312           9550 Tennyson Ave                                            Saint Louis, MO 63114‐3326                                                                               First Class Mail
Chartered Organization         All Souls Interdenominational Church                              Quapaw Area Council 018                     4607 Walkers Corner Rd                                       Scott, AR 72142‐9405                                                                                     First Class Mail
Voting Party                   All Souls Parish Washington, Dc                                   Attn: Dale Alan Lewis                       2300 Cathedral Ave Nw                                        Washington, DC 20008                                                   DALEALEWIS@icloud.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   All Souls Parish, Washington, Dc                                  Attn: Dale Lewis                            5902 Mt Eagle Dr, Ste 414                                    Alexandria, VA 22303                                                   dalealewis@icloud.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         All Star Premium Beef                                             Yucca Council 573                           P.O. Box 491                                                 Sierra Blanca, TX 79851‐0491                                                                             First Class Mail
Chartered Organization         All Student Are Prepared                                          Pine Burr Area Council 304                  9899 Hwy 98                                                  New Augusta, MS 39462‐6073                                                                               First Class Mail
Chartered Organization         All Veterans Memorial Assoc                                       Illowa Council 133                          1022 E 39th St                                               Davenport, IA 52807‐1704                                                                                 First Class Mail
Chartered Organization         All Villages Presbyterian Church                                  Gulf Stream Council 085                     1550 SW Heatherwood Blvd                                     Port Saint Lucie, FL 34986‐2078                                                                          First Class Mail
Chartered Organization         Allardt Presbyterian Church                                       Great Smoky Mountain Council 557            1715 Pennsylvania St                                         Allardt, TN 38504                                                                                        First Class Mail
Chartered Organization         Allegan Branch ‐ Kalamazoo Stake                                  President Gerald R Ford 781                 687 Linn St                                                  Allegan, MI 49010                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 7 of 442
                                                                                       Case 20-10343-LSS                                       Doc 8171                                         Filed 01/06/22                                            Page 23 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                        Name                                                                                            Address                                                                                                            Email              Method of Service
Voting Party                   Allegan United Methodist Church                                409 Trowbridge St                       Allegan, MI 49010                                                                                                             secretary@allumc.org              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Allegheny Evangelical Lutheran Church                          Attn: Eden R Bucher                     1327 Alleghenyville Rd                                    Mohnton, PA 19540                                                   mforrer511@gmail.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Allegheny Highlands Council 382                                Attn: Nathaniel Thornton                P.O. Box 261                                              50 Hough Hill Rd                   Falloner, NY 14733               nate.thornton@scouting.org        Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Allegheny Highlands Repeater Assoc                             Chief Cornplanter Council, Bsa 538      218 Pennsylvania Ave W                                    Warren, PA 16365‐2413                                                                                 First Class Mail
Chartered Organization         Allegheny Lutheran Church                                      Hawk Mountain Council 528               1327 Alleghenyville Rd                                    Mohnton, PA 19540‐7700                                                                                First Class Mail
Chartered Organization         Allegiance Color Guard                                         Three Fires Council 127                 409 Jackson St                                            East Dundee, IL 60118‐1403                                                                            First Class Mail
Chartered Organization         Allegra Marketing                                              Georgia‐Carolina 093                    128 Commercial Blvd                                       Martinez, GA 30907‐2656                                                                               First Class Mail
Chartered Organization         Allegro School                                                 Patriots Path Council 358               125 Ridgedale Ave                                         Cedar Knolls, NJ 07927‐1803                                                                           First Class Mail
Chartered Organization         Allein Post 3 American Legion                                  Andrew Jackson Council 303              P.O. Box 1064                                             Vicksburg, MS 39181‐1064                                                                              First Class Mail
Chartered Organization         Alleluia Lutheran Church                                       Grand Canyon Council 010                8444 W Encanto Blvd                                       Phoenix, AZ 85037‐3662                                                                                First Class Mail
Voting Party                   Alleluia Lutheran Church                                       Attn: Mark Andrew Juliot                4055 Book Rd                                              Naperville, IL 60564                                                mjuliot@alleluia.church           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Allemansville United Methodist Church (00066090)               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Allemanville Oak Grove Umc (32106551)                          c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Allen Academy                                                  Sam Houston Area Council 576            3201 Boonville Rd                                         Bryan, TX 77802‐2244                                                                                  First Class Mail
Chartered Organization         Allen Chapel Ame Church                                        Central Florida Council 083             580 George W Engram Blvd                                  Daytona Beach, FL 32114‐2640                                                                          First Class Mail
Chartered Organization         Allen Chapel Ame Church                                        Southern Shores Fsc 783                 804 W North St                                            Kalamazoo, MI 49007‐2436                                                                              First Class Mail
Chartered Organization         Allen Chapel Ame Church                                        Blackhawk Area 660                      206 S Winnebago St                                        Rockford, IL 61102                                                                                    First Class Mail
Chartered Organization         Allen Construction                                             Bucktail Council 509                    64 Power Rd                                               Morrisdale, PA 16858‐8733                                                                             First Class Mail
Chartered Organization         Allen Eagles                                                   Southern Shores Fsc 783                 3450 Wooddale Ct                                          Ann Arbor, MI 48104‐4274                                                                              First Class Mail
Chartered Organization         Allen Elementary                                               Buckeye Council 436                     1326 Sherrick Rd Se                                       Canton, OH 44707‐3531                                                                                 First Class Mail
Chartered Organization         Allen Elementary Pto                                           Simon Kenton Council 441                174 Plyleys Ln                                            Chillicothe, OH 45601                                                                                 First Class Mail
Chartered Organization         Allen High School                                              Circle Ten Council 571                  300 Rivercrest Blvd                                       Allen, TX 75002‐2174                                                                                  First Class Mail
Firm                           Allen Law Firm, P.A                                            Steven M. Brady, Esq                    2550 SW 76th Street, Ste 150                              Gainesville, FL 32608                                               steve@allenlaw.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Allen Memorial Baptist Church                                  Baden‐Powell Council 368                12 Church St                                              Candor, NY 13743‐1627                                                                                 First Class Mail
Voting Party                   Allen Memorial United Methodist Church                         Attn: Charles David Ensminger           800 Decatur Pike                                          Athens, TN 37303                                                    secretary@allenmemorial‐umc.com   Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Allen O Delke American Legion Post 16                          Minsi Trails Council 502                P.O. Box 75                                               Slatington, PA 18080‐0075                                                                             First Class Mail
Chartered Organization         Allen Park Presbyterian Church                                 Great Lakes Fsc 272                     7101 Park Ave                                             Allen Park, MI 48101‐2037                                                                             First Class Mail
Chartered Organization         Allen Pond Post 8 American Legion                              Pine Tree Council 218                   P.O. Box 305                                              Bethel, ME 04217‐0305                                                                                 First Class Mail
Chartered Organization         Allen Temple Ame Church                                        Atlanta Area Council 092                1625 Joseph E Boone Blvd Nw                               Atlanta, GA 30314‐1853                                                                                First Class Mail
Chartered Organization         Allen Temple Ame Church                                        Greater Tampa Bay Area 089              2101 Lowe St                                              Tampa, FL 33605‐3517                                                                                  First Class Mail
Chartered Organization         Allen Temple Baptist Church                                    San Francisco Bay Area Council 028      8501 International Blvd                                   Oakland, CA 94621‐1549                                                                                First Class Mail
Voting Party                   Allen Umc                                                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Firm                           Allen, Allen, Allen & Allen                                    Ashley T. Davis, Esq                    1809 Staples Mill Rd                                      Richmond, VA 23230                                                  Ashley.Davis@allenandallen.com    Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Allen, Vernon & Hoskins, P.L.C.                                Attn: J K Robison                       1317 7th Ave, Ste 210                                     Marion, IA 52302                                                    jrobison@allenvernon.com          Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Allendale Baptist Church                                       Sam Houston Area Council 576            14535 Allendale Ln                                        Conroe, TX 77302‐4707                                                                                 First Class Mail
Chartered Organization         Allendale Lions Club                                           President Gerald R Ford 781             9875 76th Ave                                             Allendale, MI 49401‐9731                                                                              First Class Mail
Voting Party                   Allendale United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Allendale Utd Methodist Church                                 Greater Tampa Bay Area 089              3803 Haines Rd N                                          Saint Petersburg, FL 33703‐5625                                                                       First Class Mail
Chartered Organization         Allenstown Fire Dept                                           Daniel Webster Council, Bsa 330         1 Ferry St                                                Allenstown, NH 03275‐1603                                                                             First Class Mail
Voting Party                   Allensville United Methodist Church                            Attn: J Donald Gentry                   80 Dirgie Mine Rd                                         Roxboro, NC 27574                                                   gentryj@roxboro.net               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Allenton Fire Dept                                             Bay‐Lakes Council 635                   P.O. Box 107                                              Allenton, WI 53002‐0107                                                                               First Class Mail
Chartered Organization         Allentown Presbyterian Church                                  Monmouth Council, Bsa 347               20 High St                                                Allentown, NJ 08501‐1965                                                                              First Class Mail
Voting Party                   Allentown Umc                                                  Attn: Elva Cornell                      Rte 417 Main St                                           Allentown, NY 14739                                                 elvacornell@yahoo.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Allentown United Methodist                                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Allentown United Methodist Church                              Attn: Virginia Hint                     3459 Riverside Dr                                         Wellsville, NY 14895                                                ginnyhint@yahoo.com               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Allentown Utd Methodist Church                                 Monmouth Council, Bsa 347               23 Church St                                              Allentown, NJ 08501‐1625                                                                              First Class Mail
Chartered Organization         Allenwood Parent Teacher Group, Inc                            Monmouth Council, Bsa 347               3301 Allenwood Lakewood Rd                                Allenwood, NJ 08720‐7004                                                                              First Class Mail
Chartered Organization         Alliance Academy                                               Dan Beard Council, Bsa 438              1712 Duck Creek Rd                                        Cincinnati, OH 45207‐1644                                                                             First Class Mail
Chartered Organization         Alliance Environmental, Inc                                    Crossroads of America 160               5707 Blue Spruce Dr                                       Indianapolis, IN 46237‐2712                                                                           First Class Mail
Voting Party                   Alliance Umc                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Alliance Umc                                                   7904 Park Vista Blvd                    Fort Worth, TX 76137                                                                                                                                            First Class Mail
Chartered Organization         Alliance Utd Methodist Church                                  Longhorn Council 662                    7904 Park Vista Blvd                                      Fort Worth, TX 76137‐4368                                                                             First Class Mail
Voting Party                   Allianz Global Risks Us Insurance Company                      Attn: Christa S Thorpe                  1465 N Mcdowell Blvd                                      Petaluma, CA 94954                                                  christa.thorpe@allianzrm‐us.com   Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Allied 100, LLC                                                1800 US Hwy 51 N                        Woodruff, WI 54568                                                                                                            Cindry@aeds.com                   Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Allin Congregational Church, Ucc                               The Spirit of Adventure 227             683 High St                                               Dedham, MA 02026‐4111                                                                                 First Class Mail
Chartered Organization         Allison Creek Presbyterian Church                              Palmetto Council 549                    5780 Allison Creek Rd                                     York, SC 29745‐7638                                                                                   First Class Mail
Chartered Organization         Allison Elementary Pta                                         Capitol Area Council 564                515 Vargas Rd                                             Austin, TX 78741‐2455                                                                                 First Class Mail
Chartered Organization         Allisonville Parent Teacher Group                              Crossroads of America 160               4900 E 79th St                                            Indianapolis, IN 46250‐1615                                                                           First Class Mail
Chartered Organization         Alloway Township Fire Co                                       Garden State Council 690                17 E Main St                                              Alloway, NJ 08001‐2000                                                                                First Class Mail
Chartered Organization         All‐Star Brass Band                                            Simon Kenton Council 441                25 E Mound St                                             Canal Winchester, OH 43110‐1124                                                                       First Class Mail
Chartered Organization         All‐Stars Sports And Fitness, LLC                              Abraham Lincoln Council 144             629 Hardin Ave                                            Jacksonville, IL 62650‐3067                                                                           First Class Mail
Voting Party                   Allstream                                                      c/o Allstream Collections               Attn: Vanessa Herold                                      14221 Golf Course Dr, Ste 100      Baxter, MN 56425                 collections@allstream.com         Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Allwood Community Church                                       Northern New Jersey Council, Bsa 333    100 Chelsea Rd                                            Clifton, NJ 07012‐1633                                                                                First Class Mail
Chartered Organization         Alma E Pagels Pta                                              Connecticut Yankee Council Bsa 072      26 Benham Hill Rd                                         West Haven, CT 06516‐6501                                                                             First Class Mail
Chartered Organization         Alma Rod & Gun Club                                            Gateway Area 624                        S1562 County Rd I                                         Alma, WI 54610                                                                                        First Class Mail
Voting Party                   Alma United Methodist Church                                   Attn: Sara Mcgill Treasurer             501 Gratiot Ave                                           Alma, MI 48801                                                      office@almaumc.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Alma United Methodist Church                                   Attn: Jessica Blasingame                P.O. Box 1716                                             Alma, AR 72921                                                      almaumc@arumc.org                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Alma Utd Methodist Church                                      Westark Area Council 016                416 Short St                                              Alma, AR 72921‐3416                                                                                   First Class Mail
Voting Party                   Almaden Hills United Methodist Church                          Attn: Pastor Mariellen Yoshino          1200 Blossom Hill Rd                                      San Jose, CA 95118                                                  myoshino@almadenhillsumc.org      Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Almaden Super Lions Charitable Fndn                            Silicon Valley Monterey Bay 055         P.O. Box 18511                                            San Jose, CA 95158‐8511                                                                               First Class Mail
Chartered Organization         Almaden Valley Rotary Club                                     Silicon Valley Monterey Bay 055         P.O. Box 7001                                             San Jose, CA 95150‐7001                                                                               First Class Mail
Chartered Organization         Al‐Medina Education Center                                     San Francisco Bay Area Council 028      37500 Central Ct                                          Newark, CA 94560‐3454                                                                                 First Class Mail
Voting Party                   Almonesson United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Almonesson Utd Methodist Church                                Garden State Council 690                1680 Almonesson Rd                                        Woodbury, NJ 08096‐3747                                                                               First Class Mail
Chartered Organization         Almont Volunteer Fire Auxiliaries                              Water and Woods Council 782             113 Branch St                                             Almont, MI 48003‐1002                                                                                 First Class Mail
Chartered Organization         Al‐Mustaoha Assoc                                              Great Lakes Fsc 272                     4862 Greenfield Rd                                        Dearborn, MI 48126‐2849                                                                               First Class Mail
Chartered Organization         Aloha Church Of God                                            Cascade Pacific Council 492             18380 SW Kinnaman Rd                                      Beaverton, OR 97078‐1614                                                                              First Class Mail
Voting Party                   Aloma Umc ‐ Casselberry                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Firm                           Alonso Krangle LLP                                             David B Krangle                         425 Broad Hollow Road, Ste 408                            Melville, NY 11747                                                  dkrangle@alonsokrangle.com        Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Alpha Omega                                                    Santa Fe Trail Council 194              404 Downing Rd                                            Scott City, KS 67871‐1225                                                                             First Class Mail
Chartered Organization         Alpha Phi Alpha                                                Denver Area Council 061                 7324 E Mineral Pl                                         Centennial, CO 80112‐3241                                                                             First Class Mail
Chartered Organization         Alpha Phi Alpha Fraternity                                     Old N State Council 070                 2802 Patio Pl                                             Greensboro, NC 27405‐5472                                                                             First Class Mail
Chartered Organization         Alpha Phi Alpha Fraternity                                     Tukabatchee Area Council 005            418 Union St                                              Selma, AL 36701‐5577                                                                                  First Class Mail
Chartered Organization         Alpha Phi Alpha Fraternity, Inc                                Atlanta Area Council 092                P.O. Box 91393                                            Atlanta, GA 30364‐1393                                                                                First Class Mail
Chartered Organization         Alpha Phi Alpha‐Epsilon Tau Lambda                             Sam Houston Area Council 576            P.O. Box 2497                                             Prairie View, TX 77446‐2497                                                                           First Class Mail
Chartered Organization         Alpha Phi Omega                                                South Plains Council 694                P.O. Box 4333                                             Lubbock, TX 79409‐0007                                                                                First Class Mail
Chartered Organization         Alpha Phi Omega Alpha Alpha Omicron Ch                         Heart of Virginia Council 602           P.O. Box 2923                                             Farmville, VA 23909‐0001                                                                              First Class Mail
Chartered Organization         Alpha Phi Omega Fraternity                                     Longs Peak Council 062                  207 Ucb                                                   Boulder, CO 80309‐5002                                                                                First Class Mail
Chartered Organization         Alpha Phi Omega Natl Service Fraternity                        East Texas Area Council 585             P.O. Box 6135 Sfasu                                       Nacogdoches, TX 75962‐0001                                                                            First Class Mail
Chartered Organization         Alpha Phi Omega‐ Rho Phi                                       San Diego Imperial Council 049          9500 Gilman Dr                                            La Jolla, CA 92093‐5004                                                                               First Class Mail
Chartered Organization         Alpha Phi Omega Xi Zeta Chapter At Rit                         Seneca Waterways 397                    35 Lomb Memorial Dr                                       Rochester, NY 14623‐5602                                                                              First Class Mail
Chartered Organization         Alpha Phi Omega‐Alpha Beta‐Chapter                             Juniata Valley Council 497              204 Hub                                                   University Park, PA 16802‐6601                                                                        First Class Mail
Chartered Organization         Alpha Phi Omega‐Beta Psi Chapter                               Greater St Louis Area Council 312       1 University Plz                                          Cape Girardeau, MO 63701‐4710                                                                         First Class Mail
Chartered Organization         Alpha Phi Omega‐Las Vegas Alumni Assoc                         Las Vegas Area Council 328              5737 Spoon Cir                                            Las Vegas, NV 89142‐2697                                                                              First Class Mail
Chartered Organization         Alpha Umc Men In Mission                                       Illowa Council 133                      211 N Scandia                                             Alpha, IL 61413‐5098                                                                                  First Class Mail
Chartered Organization         Alpha Utd Methodist Church                                     Illowa Council 133                      P.O. Box 607                                              Alpha, IL 61413‐0607                                                                                  First Class Mail
Chartered Organization         Alpha Xi Sigma Phi Beta Sigma                                  Norwela Council 215                     3444 Galaxy Ln                                            Shreveport, LA 71119‐5002                                                                             First Class Mail
Chartered Organization         Alpharetta Fire Dept                                           Atlanta Area Council 092                2970 Old Milton Pkwy                                      Alpharetta, GA 30004                                                                                  First Class Mail
Voting Party                   Alpharetta First United Methodist Church ‐ Alpharetta          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Alpharetta First Utd Methodist Church                          Atlanta Area Council 092                69 N Main St                                              Alpharetta, GA 30009‐3620                                                                             First Class Mail
Chartered Organization         Alpharetta Police Dept                                         Atlanta Area Council 092                2565 Old Milton Pkwy                                      Alpharetta, GA 30009‐2100                                                                             First Class Mail
Chartered Organization         Alpharetta Presbyterian Church                                 Atlanta Area Council 092                180 Academy St                                            Alpharetta, GA 30009‐3704                                                                             First Class Mail
Chartered Organization         Alpine Church Of Christ                                        East Texas Area Council 585             610 E Loop 281                                            Longview, TX 75605‐5003                                                                               First Class Mail
Chartered Organization         Alpine Community Church                                        San Diego Imperial Council 049          2225 N Victoria Dr                                        Alpine, CA 91901                                                                                      First Class Mail
Chartered Organization         Alpine Historical Society                                      Great Alaska Council 610                P.O. Box 266                                              Sutton, AK 99674‐0266                                                                                 First Class Mail
Voting Party                   Alpine Lumber Co                                               P.O. Box 6263                           Broomfield, CO 80021‐0005                                                                                                                                       First Class Mail
Chartered Organization         Alpine Luth Church/Alpine Scouters Assoc                       Blackhawk Area 660                      5001 Forest View Ave                                      Rockford, IL 61108‐6553                                                                               First Class Mail
Chartered Organization         Alpine Lutheran Ch/A C Thompson Pto                            Blackhawk Area 660                      5001 Forest View Ave                                      Rockford, IL 61108‐6553                                                                               First Class Mail
Chartered Organization         Alpine Lutheran Ch/Alpine Scouters Assoc                       Blackhawk Area 660                      5001 Forest View Ave                                      Rockford, IL 61108‐6553                                                                               First Class Mail
Chartered Organization         Alpine Meadows Family Dental                                   Utah National Parks 591                 325 E 100 N                                               Lehi, UT 84043‐1903                                                                                   First Class Mail
Chartered Organization         Alpine Springs Bottled Water, LLC                              Las Vegas Area Council 328              6575 Arville St, Ste A                                    Las Vegas, NV 89118‐4386                                                                              First Class Mail
Chartered Organization         Alplaus Fire Dept                                              Twin Rivers Council 364                 P.O. Box 101                                              Alplaus, NY 12008                                                                                     First Class Mail
Voting Party                   Alplaus United Methodist Church                                Attn: R T Flanders                      1 Brookside Ave                                           Alplaus, NY 12008                                                   rtflanders@gmail.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Alplaus Utd Methodist Church                                   Twin Rivers Council 364                 Brookside Ave & Riverside Pl                              Alplaus, NY 12008                                                                                     First Class Mail
Chartered Organization         Al‐Schaumburg & Hoffman Estates                                Pathway To Adventure 456                P.O. Box 68213                                            Schaumburg, IL 60168‐0213                                                                             First Class Mail
Voting Party                   Alsip Christ Umc                                               Attn: Timothy Joseph Biel               3730 W 119th St                                           Alsip, IL 60803                                                     pastor.tim@att.net                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Alta Vista Presbyterian Church                                 Blue Ridge Mtns Council 599             701 Broad St                                              Altavista, VA 24517‐1831                                                                              First Class Mail
Voting Party                   Altadena Umc                                                   349 W Altadena Dr                       Altadena, CA 91001                                                                                                                                              First Class Mail
Voting Party                   Altadena United Methodist Church                               Attn: Treasurer                         349 W Altadena Dr                                         Altadena, CA 91001                                                  lkharrisjr@gmail.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Altama Presbyterian Church, Inc                                Attn: Penny P Moore                     P.O. Box 921                                              Brunswick, GA 31521                                                 anguillatax@comcast.net           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Altamahaw‐Ossipee Fire Dept.                                   Old N State Council 070                 2806 Old Nc 87 Hwy                                        Elon, NC 27244‐9740                                                                                   First Class Mail
Chartered Organization         Altamonte Chapel Ucc                                           Central Florida Council 083             825 E Altamonte Dr                                        Altamonte Springs, FL 32701‐5056                                                                      First Class Mail
Chartered Organization         Altamonte Springs Police Dept                                  Central Florida Council 083             175 Newburyport Ave                                       Altamonte Springs, FL 32701‐3640                                                                      First Class Mail
Voting Party                   Altendale United Methodist Church 3803 Haines Rd N, St Peter   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Alto Lions Club                                                President Gerald R Ford 781             P.O. Box 133                                              Alto, MI 49302‐0133                                                                                   First Class Mail
Chartered Organization         Alton Darby Pto                                                Simon Kenton Council 441                2730 Alton Darby Creek Rd                                 Hilliard, OH 43026‐9770                                                                               First Class Mail
Chartered Organization         Alton Housing Authority                                        Attn: Greg Denton                       2406 Crawford St                                          Alton, IL 62002‐4612                                                                                  First Class Mail
Chartered Organization         Alton Housing Authority                                        Greater St Louis Area Council 312       2406 Crawford St                                          Alton, IL 62002‐4612                                                                                  First Class Mail
Chartered Organization         Alton Methodist Church                                         Ozark Trails Council 306                P.O. Box 383                                              Alton, MO 65606‐0383                                                                                  First Class Mail
Chartered Organization         Alton Police Dept                                              Greater St Louis Area Council 312       1700 E Broadway                                           Alton, IL 62002‐6663                                                                                  First Class Mail
Chartered Organization         Alton Police Dept                                              Rio Grande Council 775                  509 S Alton Blvd                                          Alton, TX 78573‐6914                                                                                  First Class Mail
Chartered Organization         Alton Sch Distr 21St Century Program                           Greater St Louis Area Council 312       1043 Tremont St                                           Alton, IL 62002‐6749                                                                                  First Class Mail
Voting Party                   Alton United Methodist Church                                  Attn: Laurel Johnson, Treasurer         733 Cr 404                                                Alton, MO 65606                                                     klaureljohnson@gmail.com          Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Alton United Methodist Church                                  Attn: Darrel C Brown, Pastor            36 Shirley Cir                                            Shortsville, NY 14548                                               darrellcbrown12@yahoo.com         Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Alton United Methodist Church                                  Attn: Laurel Johnson, Treasurer         P.O. Box 383                                              Alton, MO 65606                                                                                       First Class Mail
Chartered Organization         Alton Utd Methodist Church                                     Ozark Trails Council 306                P.O. Box 383                                              Alton, MO 65606‐0383                                                                                  First Class Mail
Chartered Organization         Altoona Christian Church                                       Mid Iowa Council 177                    3620 NE 72nd St                                           Altoona, IA 50009                                                                                     First Class Mail
Chartered Organization         Altoona Fire Dept                                              Chippewa Valley Council 637             1904 Spooner Ave                                          Altoona, WI 54720‐1448                                                                                First Class Mail
Voting Party                   Altoona United Methodist Church, Ia                            Attn: Sue Bennett, Financial Manager    602 5th Ave Sw                                            Altoona, IA 50009                                                   Sueb@altoonaumc.org               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Altoona Vfw Post 10405                                         Chippewa Valley Council 637             1419 Lynn Ave                                             Altoona, WI 54720‐1626                                                                                First Class Mail
Chartered Organization         Altus Security Forces Assoc                                    Last Frontier Council 480               110 N 6th St                                              Altus Afb, OK 73523‐5006                                                                              First Class Mail
Chartered Organization         Altus Security Forces Assoc                                    Last Frontier Council 480               110 N 6th St                                              Altus, OK 73523‐5006                                                                                  First Class Mail
Chartered Organization         Alum Creek Church Of Christ                                    Simon Kenton Council 441                6256 S Old State Rd                                       Lewis Center, OH 43035‐9708                                                                           First Class Mail
Chartered Organization         Alum Creek Sailing Assoc                                       Simon Kenton Council 441                3241 Lewis Center Rd                                      Lewis Center, OH 43035                                                                                First Class Mail
Chartered Organization         Alumni Of Camp Buffalo Bill                                    Greater Wyoming Council 638             870 N Fork Hwy                                            Cody, WY 82414‐7877                                                                                   First Class Mail
Voting Party                   Alva First United Methodist Church                             Attn: Treasurer & Kathrine J Hill       626 College Ave                                           Alva, OK 73717                                                      pastor@fumcalva.org               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Alva School                                                    Southwest Florida Council 088           17500 Church Ave                                          Alva, FL 33920‐3396                                                                                   First Class Mail
Voting Party                   Alva Umc ‐ Alva                                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Alva Umc ‐ Alva                                                21440 Pearl St                          Alva, FL 33920                                                                                                                                                  First Class Mail
Chartered Organization         Alvah Scott Elementary School Scc                              Aloha Council, Bsa 104                  98‐1230 Moanalua Rd                                       Aiea, HI 96701                                                                                        First Class Mail
Voting Party                   Alvarado First, Alvarado                                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Alvarado First, Alvarado                                       301 S Spears St                         Alvarado, TX 76009                                                                                                                                              First Class Mail
Chartered Organization         Alvaro E Vieira Post 5390 Vfw                                  Narragansett 546                        822 Anthony Rd                                            Portsmouth, RI 02871‐5604                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 8 of 442
                                                                                 Case 20-10343-LSS                                              Doc 8171                                                Filed 01/06/22                                             Page 24 of 457
                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                      Service List
                                                                                                                                                                               Served as set forth below

        Description                                                       Name                                                                                                      Address                                                                                                         Email              Method of Service
Chartered Organization         Alverta B. Gray Schultz School P.T.S.A                   Theodore Roosevelt Council 386                  70 Greenwich St                                                 Hempstead, NY 11550‐5625                                                                            First Class Mail
Chartered Organization         Alvin Lutheran Church                                    Bay Area Council 574                            1800 Fm 1462 Rd                                                 Alvin, TX 77511‐0110                                                                                First Class Mail
Chartered Organization         Alyn Butler America Legion Post 169                      Golden Empire Council 047                       110 Park Dr                                                     Roseville, CA 95678‐2749                                                                            First Class Mail
Chartered Organization         Am Legion Post 48 St Stephens Jrotc                      Piedmont Council 420                            P.O. Box 505                                                    Hickory, NC 28603‐0505                                                                              First Class Mail
Chartered Organization         Am Pate Elementary ‐ Gifw                                Longhorn Council 662                            3218 E Belknap St                                               Fort Worth, TX 76111‐4739                                                                           First Class Mail
Chartered Organization         Amana Christian Fellowship                               Evangeline Area 212                             310 Milton Rd                                                   Maurice, LA 70555‐4443                                                                              First Class Mail
Chartered Organization         Amana Community Chest                                    Hawkeye Area Council 172                        P.O. Box 175                                                    South Amana, IA 52334‐0175                                                                          First Class Mail
Voting Party                   Amanda Kay Covington                                     c/o Boy Scouts of America                       Attn: Chase Koontz                                              1325 W Walnut Hill Ln               Irving, TX 75015                 chase.koontz@scouting.org      Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Amanda Utd Methodist Church                              Simon Kenton Council 441                        P.O. Box 368                                                    Amanda, OH 43102‐0368                                                                               First Class Mail
Chartered Organization         Amarillo American Legion Hanson Post 54                  Golden Spread Council 562                       617 SW 7th Ave                                                  Amarillo, TX 79101‐2107                                                                             First Class Mail
Chartered Organization         Amarillo Downtown Kiwanis                                Golden Spread Council 562                       P.O. Box 9485                                                   Amarillo, TX 79105‐9485                                                                             First Class Mail
Chartered Organization         Amarillo First Presbyterian Church                       Golden Spread Council 562                       1100 S Harrison St                                              Amarillo, TX 79101‐4214                                                                             First Class Mail
Chartered Organization         Amarillo Police Dept                                     Golden Spread Council 562                       200 SE 3rd Ave                                                  Amarillo, TX 79101‐1514                                                                             First Class Mail
Chartered Organization         Amarillo Wesley Community Center                         Golden Spread Council 562                       1615 S Roberts St                                               Amarillo, TX 79102‐4330                                                                             First Class Mail
Chartered Organization         Amazing Grace Lutheran Church                            Great Alaska Council 610                        10955 Elmore Rd                                                 Anchorage, AK 99516‐1518                                                                            First Class Mail
Chartered Organization         Amazing Grace Lutheran Church                            Alamo Area Council 583                          12525 Potranco Rd                                               San Antonio, TX 78253                                                                               First Class Mail
Chartered Organization         Amazing Grace Lutheran Church                            Alamo Area Council 583                          12525 Fm 1957                                                   San Antonio, TX 78253‐9274                                                                          First Class Mail
Chartered Organization         Amazing Grace Lutheran Church                            Great Lakes Fsc 272                             29860 Dequindre Rd                                              Warren, MI 48092‐5437                                                                               First Class Mail
Voting Party                   Amazoncom Services, Inc                                  410 Terry Ave N                                 Seattle, WA 98109‐5210                                                                                                                                              First Class Mail
Chartered Organization         Ambassador Bible Class‐1St Presb Church                  Pikes Peak Council 060                          219 E Bijou St                                                  Colorado Springs, CO 80903‐1303                                                                     First Class Mail
Chartered Organization         Ambient It Solutions                                     Oregon Trail Council 697                        900 S 32nd St                                                   Springfield, OR 97478‐6527                                                                          First Class Mail
Chartered Organization         Amboy Friends Church                                     Sagamore Council 162                            110 E Pennsylvania St                                           Amboy, IN 46911‐9270                                                                                First Class Mail
Voting Party                   Amboy United Methodist Church                            Attn: Charlotte King                            311 E Military Dr                                               North Little Rock, AR 72118                                          memeandda@sbcglobal.net        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Amelia County Veterans Center                            Heart of Virginia Council 602                   P.O. Box 407                                                    Amelia Court House, VA 23002‐0407                                                                   First Class Mail
Chartered Organization         Amelia Utd Methodist Church                              Dan Beard Council, Bsa 438                      19 E Main St                                                    Amelia, OH 45102‐1943                                                                               First Class Mail
Chartered Organization         Amenia Fish & Game                                       Attn: Mr Anthony Robert                         P.O. Box 262                                                    Amenia, NY 12501‐0262                                                                               First Class Mail
Voting Party                   Amer Sports Winter & Outdoor Company                     Attn: Lindsay Hakala                            2030 Lincoln Ave                                                Ogden, UT 84401                                                      paul.amante@amersports.com     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Ameri Corps Public Allies                                Dan Beard Council, Bsa 438                      2030 Fairfax Ave                                                Cincinnati, OH 45207‐1943                                                                           First Class Mail
Chartered Organization         Ameriben                                                 Ore‐Ida Council 106 ‐ Bsa 106                   2888 W Excursion Ln                                             Meridian, ID 83642‐5308                                                                             First Class Mail
Chartered Organization         America Legion Post 373                                  Mason Dixon Council 221                         254 S Carlisle St                                               Greencastle, PA 17225‐1570                                                                          First Class Mail
Chartered Organization         America Legion Post 44                                   Denver Area Council 061                         P.O. Box 772797                                                 Steamboat Springs, CO 80477‐2797                                                                    First Class Mail
Chartered Organization         America Legion Post 572                                  Lake Erie Council 440                           6483 State Rd                                                   Cleveland, OH 44134‐4177                                                                            First Class Mail
Voting Party                   American Airlines, Inc                                   Attn: Donald Broadfield Jr, Dir & Sr Attorney   P.O. Box 618616, MD 8B503                                       Dfw Airport, TX 75261                                                Donald.Broadfieldjr@aa.com     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         American Assoc                                           Far E Council 803                               15 Scotts Rd                                                    03‐02 Thong Teck Building           Singapore                                                       First Class Mail
Chartered Organization         American Axle & Mfg, Inc                                 Great Lakes Fsc 272                             1 Dauch Dr                                                      Detroit, MI 48211‐1115                                                                              First Class Mail
Chartered Organization         American Baptist Church Of The Valley                    Mt Diablo‐Silverado Council 023                 19001 San Ramon Valley Blvd                                     San Ramon, CA 94583‐2414                                                                            First Class Mail
Chartered Organization         American Baptist Community Church                        Five Rivers Council, Inc 375                    P.O. Box 175                                                    Big Flats, NY 14814‐0175                                                                            First Class Mail
Chartered Organization         American Baptist East                                    Buffalo Trace 156                               6300 Washington Ave                                             Evansville, IN 47715‐4270                                                                           First Class Mail
Chartered Organization         American Basics Childcare                                Pine Tree Council 218                           2254 W River Rd                                                 Sidney, ME 04330‐2725                                                                               First Class Mail
Voting Party                   American Campers, Inc                                    140 American Campers Rd                         Bradley, WV 25818                                                                                                                                                   First Class Mail
Chartered Organization         American Canyon Fire Dept                                Mt Diablo‐Silverado Council 023                 911 Donaldson Way E                                             American Canyon, CA 94503‐3191                                                                      First Class Mail
Chartered Organization         American Canyon Lions Club                               Mt Diablo‐Silverado Council 023                 101 W American Canyon Rd PMB 181, Ste 508                       American Canyon, CA 94503‐1162                                                                      First Class Mail
Chartered Organization         American Community School Cobham Pto                     Transatlantic Council, Bsa 802                  Heywood Portsmouth Rd                                           Cobham, Surrey                      United Kingdom                                                  First Class Mail
Chartered Organization         American Community School Of Abu Dhabi                   Transatlantic Council, Bsa 802                  P.O. Box 42114                                                  Abu Dhabi                           United Arab Emirates                                            First Class Mail
Chartered Organization         American Embassy School                                  Far E Council 803                               Boy Scouts of America, Troop 60                                 Chandragupta Marg                   India                                                           First Class Mail
Chartered Organization         American Embassy School New Delhi                        Far E Council 803                               Dept. of State                                                  New Delhi                           India                                                           First Class Mail
Chartered Organization         American Evangelical Lutheran Church                     Grand Canyon Council 010                        1085 Scott Dr                                                   Prescott, AZ 86301‐1731                                                                             First Class Mail
Voting Party                   American Food & Vending Corp                             Attn: Robert Cole                               124 Metropolitan Park Dr                                        Liverpool, NY 13088                                                  rcote@afvusa.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         American Gi Forum At Mile Hi                             Denver Area Council 061                         1717 Federal Blvd                                               Denver, CO 80204‐1722                                                                               First Class Mail
Chartered Organization         American Gothic Trail                                    Mid Iowa Council 177                            601 Church St                                                   Eldon, IA 52554‐9796                                                                                First Class Mail
Chartered Organization         American Heritage Academy                                Las Vegas Area Council 328                      2100 Olympic Ave                                                Henderson, NV 89014‐2242                                                                            First Class Mail
Chartered Organization         American Heritage Of South Jordan                        Great Salt Lake Council 590                     11100 S Redwood Rd                                              South Jordan, UT 84095‐8207                                                                         First Class Mail
Chartered Organization         American Heritage School                                 South Florida Council 084                       12200 W Broward Blvd                                            Plantation, FL 33325‐2404                                                                           First Class Mail
Chartered Organization         American Heritage Veterinary Clinic                      Northeast Georgia Council 101                   3475 Stone Mountain Hwy                                         Snellville, GA 30078‐4100                                                                           First Class Mail
Chartered Organization         American Hungarian Friends Of Scouting                   Lake Erie Council 440                           P.O. Box 6783                                                   Cleveland, OH 44101‐1783                                                                            First Class Mail
Chartered Organization         American Institute Of Architects                         Seneca Waterways 397                            P.O. Box 92336                                                  Rochester, NY 14692‐0336                                                                            First Class Mail
Chartered Organization         American International School Bucharest                  Transatlantic Council, Bsa 802                  Stuart Farnsworth, Unit 5260 Box0132                            Romania                                                                                             First Class Mail
Chartered Organization         American International School Bucharest                  Transatlantic Council, Bsa 802                  Pipera‐Tunari 196                                               Voluntri, Ilfov                     Romania                                                         First Class Mail
Chartered Organization         American International School Dhaka                      Far E Council 803, Unit 6120 Box 97             Apo, AP 96562                                                                                                                                                       First Class Mail
Chartered Organization         American International School Guangzhou                  Far E Council 803                               Yue Xiu District, Guangzhou                                     China                                                                                               First Class Mail
Chartered Organization         American International School Guangzhou                  Far E Council 803                               3, Yanyu St S, Ersha Island                                     Yeuxue District, Guangzhou 510105   China                                                           First Class Mail
Chartered Organization         American International School Jeddah                     Transatlantic Council, Bsa 802                  P.O. Box 127328                                                 Jeddah                              Saudi Arabia                                                    First Class Mail
Chartered Organization         American International School Of Vilnius                 Transatlantic Council, Bsa 802                  Unit 4510 Box 29                                                Dpo, AE 09769‐0029                                                                                  First Class Mail
Chartered Organization         American International School Of Zagreb                  Transatlantic Council, Bsa 802                  Damira Tomljanova, Gavrana 3                                    Zagreb, 10000                       Croatia                                                         First Class Mail
Chartered Organization         American International School Vienna                     Transatlantic Council, Bsa 802                  Salmannsdorfer Strasse 47                                       Vienna, 1190                        Austria                                                         First Class Mail
Chartered Organization         American Intl Sch, (Lagos,Nigeria)                       Transatlantic Council, Bsa 802                  1004 Estates                                                    Victoria Island                     Nigeria                                                         First Class Mail
Chartered Organization         American Leadership Academy                              Utah National Parks 591                         898 W 1100 S                                                    Spanish Fork, UT 84660‐5654                                                                         First Class Mail
Chartered Organization         American Legion                                          Ankeny Albaugh Mcgovern Post 42                 P.O. Box 1331                                                   Ankeny, IA 50021‐0978                                                                               First Class Mail
Chartered Organization         American Legion                                          Abraham Lincoln Council 144                     1055 Fredrick St                                                Arenzville, IL 62611                                                                                First Class Mail
Chartered Organization         American Legion                                          Beach City 549 (Weimer Widder)                  P.O. Box 205                                                    Beach City, OH 44608‐0205                                                                           First Class Mail
Chartered Organization         American Legion                                          Montana Council 315                             4 1/2 Mile Rd                                                   Butte, MT 59701                                                                                     First Class Mail
Chartered Organization         American Legion                                          Mid‐America Council 326                         P.O. Box 114                                                    Coleridge, NE 68727‐0114                                                                            First Class Mail
Chartered Organization         American Legion                                          Columbiana 290 (Benjamin Firestone)             44403 State Route 14                                            Columbiana, OH 44408‐9551                                                                           First Class Mail
Chartered Organization         American Legion                                          French Creek Council 532                        1460 Sciota Rd                                                  Corry, PA 16407‐8535                                                                                First Class Mail
Chartered Organization         American Legion                                          Des Moines Baldwin Patterson Post 274           2211 E 42nd St                                                  Des Moines, IA 50317‐2826                                                                           First Class Mail
Chartered Organization         American Legion                                          c/o David E Bell                                608 N Level St                                                  Dodgeville, WI 53533‐1030                                                                           First Class Mail
Chartered Organization         American Legion                                          East Canton 667 (Lowell D. Oberly)              224 Wood St N                                                   East Canton, OH 44730‐1230                                                                          First Class Mail
Chartered Organization         American Legion                                          Conquistador Council Bsa 413                    P.O. Box 127                                                    Eunice, NM 88231‐0127                                                                               First Class Mail
Chartered Organization         American Legion                                          Attn: MC Mcquistion                             201 Elm St                                                      Forney, TX 75126‐8649                                                                               First Class Mail
Chartered Organization         American Legion                                          Galion 243 (Scarbrough)                         118 S Market St                                                 Galion, OH 44833‐2626                                                                               First Class Mail
Chartered Organization         American Legion                                          Pennsylvania Dutch Council 524                  335 N Lancaster St                                              Jonestown, PA 17038‐9630                                                                            First Class Mail
Chartered Organization         American Legion                                          Marengo 710 (Memorial Post)                     1405 County Rd 26                                               Marengo, OH 43334                                                                                   First Class Mail
Chartered Organization         American Legion                                          Glaciers Edge Council 620                       4911 Burma Rd                                                   Mc Farland, WI 53558‐8947                                                                           First Class Mail
Chartered Organization         American Legion                                          Coronado Area Council 192                       114 S Rodehaver Ave                                             Oberlin, KS 67749‐2247                                                                              First Class Mail
Chartered Organization         American Legion                                          West Tennessee Area Council 559                 1114 Eastwood Dr                                                Trimble, TN 38259‐3242                                                                              First Class Mail
Chartered Organization         American Legion ‐ Apple Creek 147                        Buckeye Council 436                             8493 Hackett Rd                                                 Apple Creek, OH 44606‐9712                                                                          First Class Mail
Chartered Organization         American Legion ‐ Baty Tucker Post 168                   c/o Jack Spaur                                  1498 East St                                                    Knoxville, IA 50138‐8851                                                                            First Class Mail
Chartered Organization         American Legion ‐ Bellville 535                          Buckeye Council 436                             77 Bell St                                                      Bellville, OH 44813‐1047                                                                            First Class Mail
Chartered Organization         American Legion ‐ Bondurant Post 396                     c/o Allen Ihde                                  200 5th St Se                                                   Bondurant, IA 50035‐1001                                                                            First Class Mail
Chartered Organization         American Legion ‐ Boone Post 56                          Mid Iowa Council 177                            2115 Boone St                                                   Boone, IA 50036‐1254                                                                                First Class Mail
Chartered Organization         American Legion ‐ Caledonia 401                          Buckeye Council 436                             P.O. Box 415                                                    Caledonia, OH 43314‐0415                                                                            First Class Mail
Chartered Organization         American Legion ‐ Canton 44                              Buckeye Council 436                             1633 Cleveland Ave Nw                                           Canton, OH 44703‐1211                                                                               First Class Mail
Chartered Organization         American Legion ‐ Clay City                              Crossroads of America 160                       400 Washington St                                               Clay City, IN 47841‐1129                                                                            First Class Mail
Chartered Organization         American Legion ‐ Cumming/Norwalk                        Mid Iowa Council 177                            P.O. Box 31                                                     Cumming, IA 50061‐0031                                                                              First Class Mail
Chartered Organization         American Legion ‐ Dallas Center Post 49                  c/o Matthew York                                1502 Walnut St                                                  Dallas Center, IA 50063‐7729                                                                        First Class Mail
Chartered Organization         American Legion ‐ Earlham Post 158                       Mid Iowa Council 177                            720 NW Buckeye Ave                                              Earlham, IA 50072‐1058                                                                              First Class Mail
Chartered Organization         American Legion ‐ Fredericksburg                         Buckeye Council 436                             P.O. Box 185                                                    Fredericksburg, OH 44627‐0185                                                                       First Class Mail
Chartered Organization         American Legion ‐ Granger Post 717                       Mid Iowa Council 177                            1804 Main St                                                    Granger, IA 50109‐7719                                                                              First Class Mail
Chartered Organization         American Legion ‐ Hartmann/Lammers                       Bay‐Lakes Council 635                           407 New York Ave                                                Oostburg, WI 53070‐1200                                                                             First Class Mail
Chartered Organization         American Legion ‐ Howard A Bair Post 423                 Great Trail 433                                 220 E Sunset Dr                                                 Rittman, OH 44270                                                                                   First Class Mail
Chartered Organization         American Legion ‐ J L Shryer Post 430                    Illowa Council 133                              P.O. Box 511                                                    Durant, IA 52747‐0511                                                                               First Class Mail
Chartered Organization         American Legion ‐ Karl Ross Post 16                      Greater Yosemite Council 059                    2020 Plymouth Rd                                                Stockton, CA 95204‐4720                                                                             First Class Mail
Chartered Organization         American Legion ‐ Mansfield 16                           Buckeye Council 436                             P.O. Box 2098                                                   Mansfield, OH 44905‐0098                                                                            First Class Mail
Chartered Organization         American Legion ‐ Marion 162                             Buckeye Council 436                             531 Bellefontaine Ave                                           Marion, OH 43302‐4861                                                                               First Class Mail
Chartered Organization         American Legion ‐ Post 159                               Grand Teton Council 107                         P.O. Box 162                                                    Aberdeen, ID 83210‐0162                                                                             First Class Mail
Chartered Organization         American Legion ‐ Post 173                               Five Rivers Council, Inc 375                    13 Liberty St                                                   Bath, NY 14810‐1567                                                                                 First Class Mail
Chartered Organization         American Legion ‐ Post 35                                Daniel Webster Council, Bsa 330                 69 High St                                                      Hampton, NH 03842‐2291                                                                              First Class Mail
Chartered Organization         American Legion ‐ Post 710 (Marengo)                     Buckeye Council 436                             1549 County Rd 26                                               Marengo, OH 43334‐9705                                                                              First Class Mail
Chartered Organization         American Legion ‐ Runnells Post 689                      Mid Iowa Council 177                            P.O. Box 131                                                    Runnells, IA 50237‐0131                                                                             First Class Mail
Chartered Organization         American Legion ‐ Stewart Hoover 23                      Grand Teton Council 107                         P.O. Box 753                                                    Blackfoot, ID 83221‐0753                                                                            First Class Mail
Chartered Organization         American Legion ‐ Story City Post 59                     Mid Iowa Council 177                            301 Washington St                                               Story City, IA 50248‐1055                                                                           First Class Mail
Chartered Organization         American Legion ‐ Stuart Post 146                        Mid Iowa Council 177                            1503 S 2nd St                                                   Stuart, IA 50250                                                                                    First Class Mail
Chartered Organization         American Legion ‐ Traer                                  Mid Iowa Council 177                            508 9th St                                                      Traer, IA 50675‐1404                                                                                First Class Mail
Chartered Organization         American Legion ‐ Webster City Post 191                  Mid Iowa Council 177                            726 2nd St                                                      Webster City, IA 50595‐1437                                                                         First Class Mail
Chartered Organization         American Legion & Vfw‐Plano                              Circle Ten Council 571                          1236 Ave J                                                      Plano, TX 75074                                                                                     First Class Mail
Chartered Organization         American Legion 1279 ‐ Robert N Austin                   Five Rivers Council, Inc 375                    P.O. Box 251                                                    Campbell, NY 14821‐0251                                                                             First Class Mail
Chartered Organization         American Legion 154 ‐ Elmira Heights                     Five Rivers Council, Inc 375                    236 Scottwood Ave                                               Elmira Heights, NY 14903‐1323                                                                       First Class Mail
Chartered Organization         American Legion 1612 ‐ Big Flats                         Five Rivers Council, Inc 375                    P.O. Box 166                                                    Big Flats, NY 14814‐0166                                                                            First Class Mail
Chartered Organization         American Legion 1618                                     Twin Rivers Council 364                         275 Wilson Rd                                                   Saranac, NY 12981‐3940                                                                              First Class Mail
Chartered Organization         American Legion 169 Winner                               Sioux Council 733                               311 Jefferson St                                                Winner, SD 57580‐1820                                                                               First Class Mail
Chartered Organization         American Legion 174 Bret.                                Burma Lennox                                    P.O. Box 447                                                    Lennox, SD 57039‐0447                                                                               First Class Mail
Chartered Organization         American Legion 186 Eureka                               Sioux Council 733                               32525 112th St                                                  Eureka, SD 57437‐5810                                                                               First Class Mail
Chartered Organization         American Legion 192                                      Mississippi Valley Council 141 141              Rr 3 Box 3                                                      Kahoka, MO 63445                                                                                    First Class Mail
Chartered Organization         American Legion 21                                       Green Mountain 592                              P.O. Box 309                                                    Newport, VT 05855                                                                                   First Class Mail
Chartered Organization         American Legion 216                                      Great Lakes Fsc 272                             510 W Commerce St                                               Milford, MI 48381‐1884                                                                              First Class Mail
Chartered Organization         American Legion 243                                      Anthony Wayne Area 157                          100 S Main St                                                   Ligonier, IN 46767‐1924                                                                             First Class Mail
Chartered Organization         American Legion 257                                      Twin Valley Council Bsa 283                     5 N O Connell Ave                                               Springfield, MN 56087‐1307                                                                          First Class Mail
Chartered Organization         American Legion 266 Blau Debore ‐ Tea                    Sioux Council 733                               245 S Main Ave                                                  Tea, SD 57064                                                                                       First Class Mail
Chartered Organization         American Legion 288                                      Verdugo Hills Council 058                       4011 La Crescenta Ave                                           La Crescenta, CA 91214‐3830                                                                         First Class Mail
Chartered Organization         American Legion 29                                       Southern Shores Fsc 783                         3737 Lansing Ave                                                Jackson, MI 49202                                                                                   First Class Mail
Chartered Organization         American Legion 318                                      W D Boyce 138                                   24 E Adams St                                                   Morton, IL 61550‐2055                                                                               First Class Mail
Chartered Organization         American Legion 323                                      W D Boyce 138                                   Henry                                                           Henry, IL 61537                                                                                     First Class Mail
Chartered Organization         American Legion 325                                      Southern Shores Fsc 783                         451 High St                                                     Blissfield, MI 49228‐1014                                                                           First Class Mail
Chartered Organization         American Legion 371                                      Cornhusker Council 324                          430 W 2nd St                                                    Valparaiso, NE 68065‐5025                                                                           First Class Mail
Chartered Organization         American Legion 50 Sisseton                              Sioux Council 733                               P.O. Box 131                                                    Sisseton, SD 57262‐0131                                                                             First Class Mail
Chartered Organization         American Legion 501 C19                                  Crossroads of America 160                       4812 E Main St                                                  Avon, IN 46123‐9194                                                                                 First Class Mail
Chartered Organization         American Legion 503                                      Winnebago Council, Bsa 173                      102 Klein St                                                    Ossian, IA 52161‐8127                                                                               First Class Mail
Chartered Organization         American Legion 77 & K Of C Council 5524                 3 Fleming St                                    Lincoln, ME 04457                                                                                                                                                   First Class Mail
Chartered Organization         American Legion 8                                        Las Vegas Area Council 328                      733 Veterans Memorial Dr                                        Las Vegas, NV 89101‐1945                                                                            First Class Mail
Chartered Organization         American Legion 938                                      W D Boyce 138                                   111 S Main Ave                                                  Ladd, IL 61329‐9652                                                                                 First Class Mail
Chartered Organization         American Legion Acker‐Matthias Post 653                  Winnebago Council, Bsa 173                      161 E Main St                                                   Denver, IA 50622‐9612                                                                               First Class Mail
Chartered Organization         American Legion Adam Grechman Post 109                   Istrouma Area Council 211                       408 W 7th St                                                    Independence, LA 70443‐2380                                                                         First Class Mail
Chartered Organization         American Legion Albany Post 292                          Mt Diablo‐Silverado Council 023                 1325 Portland Ave                                               Albany, CA 94706‐1445                                                                               First Class Mail
Chartered Organization         American Legion Aledo                                    Illowa Council 133                              P.O. Box 215                                                    Aledo, IL 61231‐0215                                                                                First Class Mail
Chartered Organization         American Legion Anderson‐Good Post 40                    Gateway Area 624                                401 15th Ave S                                                  Bangor, WI 54614‐8773                                                                               First Class Mail
Chartered Organization         American Legion Arthur Mack Post 70                      Mid‐America Council 326                         246 S Main St                                                   West Point, NE 68788‐1835                                                                           First Class Mail
Chartered Organization         American Legion Asheboro Post 45                         Old N State Council 070                         P.O. Box 973                                                    Asheboro, NC 27204‐0973                                                                             First Class Mail
Chartered Organization         American Legion Austin L. Grove Post 403                 New Birth of Freedom 544                        4035 Manchester St                                              Glen Rock, PA 17327‐8945                                                                            First Class Mail
Chartered Organization         American Legion Aux Unit 21 Mcminnville                  Cascade Pacific Council 492                     206 NE Atlantic St                                              Mcminnville, OR 97128                                                                               First Class Mail
Chartered Organization         American Legion Auxiliary                                Powder River, Unit 13                           P.O. Box 236                                                    Buffalo, WY 82834‐0236                                                                              First Class Mail
Chartered Organization         American Legion Auxiliary 1425                           Greenwood                                       P.O. Box 734                                                    Greenwood, NY 14839‐0734                                                                            First Class Mail
Chartered Organization         American Legion Auxiliary 2                              Northern Star Council 250                       1266 1st Ave E                                                  Shakopee, MN 55379‐1611                                                                             First Class Mail
Chartered Organization         American Legion Auxiliary Post 294                       Rainbow Council 702                             212 W Washington St                                             Morris, IL 60450‐2147                                                                               First Class Mail
Chartered Organization         American Legion Auxiliary Unit 209                       Pikes Peak Council 060                          3613 Jeannine Dr                                                Colorado Springs, CO 80917‐8002                                                                     First Class Mail
Chartered Organization         American Legion Auxiliary Unit 331                       Crossroads of America 160                       636 E Main St                                                   Brownsburg, IN 46112‐1423                                                                           First Class Mail
Chartered Organization         American Legion Auxiliary Unit 38                        Pikes Peak Council 060                          6685 Southmoor Dr                                               Fountain, CO 80817‐1000                                                                             First Class Mail
Chartered Organization         American Legion Auxiliary Unit 407                       Northern Star Council 250                       161 1st St N                                                    Winsted, MN 55395‐7702                                                                              First Class Mail
Chartered Organization         American Legion Auxiliary Unit 544                       Three Harbors Council 636                       P.O. Box 322                                                    Twin Lakes, WI 53181‐0322                                                                           First Class Mail
Chartered Organization         American Legion Auxillary Post 382                       Gulf Coast Council 773                          1850 Lunetta St                                                 Niceville, FL 32566                                                                                 First Class Mail
Chartered Organization         American Legion Balfour Cole Post 64                     Narragansett 546                                P.O. Box 17055                                                  Smithfield, RI 02917‐0701                                                                           First Class Mail
Chartered Organization         American Legion Beckwith Post 110                        Mayflower Council 251                           Peter Kristoff Way                                              Medfield, MA 02052                                                                                  First Class Mail
Chartered Organization         American Legion Bennett‐Barnett Post 27                  Cascade Pacific Council 492                     2502 SE 342nd Ave                                               Washougal, WA 98671‐6631                                                                            First Class Mail
Chartered Organization         American Legion Bert Hodge Post 45                       North Florida Council 087                       316 Osceola St                                                  Palatka, FL 32177‐5159                                                                              First Class Mail
Chartered Organization         American Legion Bill Brinlee Post 102                    Greater Yosemite Council 059                    P.O. Box 674                                                    Valley Springs, CA 95252‐0674                                                                       First Class Mail
Chartered Organization         American Legion Bmi Post 40                              Las Vegas Area Council 328                      425 E Van Wagenen St                                            Henderson, NV 89015‐7380                                                                            First Class Mail
Chartered Organization         American Legion Burroughs Young ‐ Volga                  Sioux Council 733                               P.O. Box 247                                                    Volga, SD 57071‐0247                                                                                First Class Mail
Chartered Organization         American Legion Burroughs Young ‐ Volga                  Sioux Council 733                               101 Washington Rd                                               Volga, SD 57071‐9083                                                                                First Class Mail
Chartered Organization         American Legion Byron Cox Post 72                        Crossroads of America 160                       101 Walter Remley Dr                                            Crawfordsville, IN 47933‐3300                                                                       First Class Mail
Chartered Organization         American Legion Cave‐Dahl Post 240                       Northern Star Council 250                       410 Maple St                                                    Baldwin, WI 54002                                                                                   First Class Mail
Chartered Organization         American Legion Charles City                             Winnebago Council, Bsa 173                      1108 5th St                                                     Charles City, IA 50616‐3302                                                                         First Class Mail
Chartered Organization         American Legion Charles Faust Post 281                   Great Trail 433                                 1601 Front St                                                   Cuyahoga Falls, OH 44221‐4709                                                                       First Class Mail
Chartered Organization         American Legion Charles Miller Post 140                  Leatherstocking 400                             325 S Peterboro St                                              Canastota, NY 13032‐1413                                                                            First Class Mail
Chartered Organization         American Legion Chief Pontiac Post 377                   Great Lakes Fsc 272                             P.O. Box 301002                                                 Waterford, MI 48330‐1002                                                                            First Class Mail
Chartered Organization         American Legion Colin Hyde Post 172                      Chief Seattle Council 609                       P.O. Box 10372                                                  Bainbridge Island, WA 98110‐0372                                                                    First Class Mail
Chartered Organization         American Legion Columbia Post 300                        Baltimore Area Council 220                      5456 Hound Hill Ct                                              Columbia, MD 21045‐2238                                                                             First Class Mail
Chartered Organization         American Legion Con Miller Post 30                       Midnight Sun Council 696                        P.O. Box 56615                                                  North Pole, AK 99705‐1615                                                                           First Class Mail
Chartered Organization         American Legion Concord Post 431                         Greater Niagara Frontier Council 380            109 Legion Dr                                                   Springville, NY 14141                                                                               First Class Mail
Chartered Organization         American Legion Continental Post 1424                    Greater New York Councils, Bsa 640              10715 Metropolitan Ave                                          Forest Hills, NY 11375‐6820                                                                         First Class Mail
Chartered Organization         American Legion D N Mcqueen Post 103                     Southwest Florida Council 088                   2101 Taylor Rd                                                  Punta Gorda, FL 33950‐6254                                                                          First Class Mail
Chartered Organization         American Legion Damato Post 792                          Hawk Mountain Council 528                       116 N Main St                                                   Shenandoah, PA 17976‐1783                                                                           First Class Mail
Chartered Organization         American Legion Dan River Post 1097                      Blue Ridge Mtns Council 599                     17 Fairfield Ave                                                Danville, VA 24541‐4813                                                                             First Class Mail
Chartered Organization         American Legion ‐Darrell Dunkle Post 1                   Nevada Area Council 329                         877 Ralston St                                                  Reno, NV 89503‐3635                                                                                 First Class Mail
Chartered Organization         American Legion Dept Of Maryland                         Baltimore Area Council 220                      2 Sycamore St                                                   Westminster, MD 21157‐5216                                                                          First Class Mail
Chartered Organization         American Legion Dept Of Virginia                         National Capital Area Council 082               P.O. Box 122                                                    Culpeper, VA 22701‐0122                                                                             First Class Mail
Chartered Organization         American Legion Devereaux Post 141                       Southern Shores Fsc 783                         3265 W Grand River Ave                                          Howell, MI 48855‐9601                                                                               First Class Mail
Chartered Organization         American Legion Disney‐Bell Post 66                      National Capital Area Council 082               9605 Old Laurel Bowie Rd                                        Bowie, MD 20720‐3255                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 9 of 442
                                                                               Case 20-10343-LSS                                     Doc 8171                                                    Filed 01/06/22                                         Page 25 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                     Name                                                                                                Address                                                                                      Email              Method of Service
Chartered Organization         American Legion Donald C Murro Post 944                Suffolk County Council Inc 404         20 Thompson St                                                      Kings Park, NY 11754‐2718                                                       First Class Mail
Chartered Organization         American Legion Dorman H Baker Post 11                 Midnight Sun Council 696               129 1st Ave                                                         Fairbanks, AK 99701‐4802                                                        First Class Mail
Chartered Organization         American Legion Doss Malone Post 1200                  Pathway To Adventure 456               25665 S Governors Hwy                                               Monee, IL 60449‐9265                                                            First Class Mail
Chartered Organization         American Legion Dudley Loomis Post 6                   Inland Northwest Council 611           P.O. Box 8195                                                       Moscow, ID 83843‐0695                                                           First Class Mail
Chartered Organization         American Legion Earl Collier Post 153                  Heart of America Council 307           410 E Dennis Ave                                                    Olathe, KS 66061‐4603                                                           First Class Mail
Chartered Organization         American Legion Edward G Bond Post 40                  Tidewater Council 596                  P.O. Box 390                                                        Edenton, NC 27932‐0390                                                          First Class Mail
Chartered Organization         American Legion Essman‐Schroeder Post 20               Three Harbors Council 636              P.O. Box 65                                                         Waterford, WI 53185‐0065                                                        First Class Mail
Chartered Organization         American Legion Eufaula Post 82                        Indian Nations Council 488             P.O. Box 691                                                        Eufaula, OK 74432‐0691                                                          First Class Mail
Chartered Organization         American Legion Fallon Post 35                         Montana Council 315                    P.O. Box 36                                                         Baker, MT 59313‐0036                                                            First Class Mail
Chartered Organization         American Legion Flanders Field Post Be02               Transatlantic Council, Bsa 802         American Legion Flanders Field Post Be02                            Unit 28100 Box 017                 Belgium                                      First Class Mail
Chartered Organization         American Legion Fox Post 511                           Bucktail Council 509                   P.O. Box 65                                                         Dagus Mines, PA 15831‐0065                                                      First Class Mail
Chartered Organization         American Legion Frank Kray Post 455                    Central Minnesota 296                  209 Main St                                                         Cold Spring, MN 56320‐2532                                                      First Class Mail
Chartered Organization         American Legion Frank Perkins Post 15                  Grand Canyon Council 010               1015 N Kinsley Ave                                                  Winslow, AZ 86047‐3633                                                          First Class Mail
Chartered Organization         American Legion Fred Funston Post 227                  Mid‐America Council 326                309 1/2 Elm St                                                      Avoca, IA 51521                                                                 First Class Mail
Chartered Organization         American Legion Fred Hancock Post 19                   Chief Seattle Council 609              P.O. Box 503                                                        Renton, WA 98057‐0503                                                           First Class Mail
Chartered Organization         American Legion Fsk Post 11                            National Capital Area Council 082      1450 Taney Ave                                                      Frederick, MD 21702‐4336                                                        First Class Mail
Chartered Organization         American Legion Fuestel‐Kurdt Post 1120                Suffolk County Council Inc 404         80 Herbert Ave                                                      Lindenhurst, NY 11757‐5318                                                      First Class Mail
Chartered Organization         American Legion Fullerton Post 142                     Orange County Council 039              P.O. Box 6736                                                       Fullerton, CA 92834‐6736                                                        First Class Mail
Chartered Organization         American Legion George Morris Post 129                 Mount Baker Council, Bsa 606           690 SE Barrington Dr                                                Oak Harbor, WA 98277‐3274                                                       First Class Mail
Chartered Organization         American Legion Gillaspey‐Moody Post                   Mississippi Valley Council 141 141     2407 221st Ave                                                      Donnellson, IA 52625‐9162                                                       First Class Mail
Chartered Organization         American Legion Gold Star Post 191                     National Capital Area Council 082      P.O. Box 24                                                         Mount Airy, MD 21771‐0024                                                       First Class Mail
Chartered Organization         American Legion Goodale Ramaker Post 52                Connecticut Rivers Council, Bsa 066    1361 Main St                                                        Glastonbury, CT 06033‐3105                                                      First Class Mail
Chartered Organization         American Legion Grundy Post 349                        Winnebago Council, Bsa 173             20749 215th St                                                      Holland, IA 50642‐8003                                                          First Class Mail
Chartered Organization         American Legion Gurnee Post 771                        Northeast Illinois 129                 P.O. Box 71                                                         Gurnee, IL 60031‐0071                                                           First Class Mail
Chartered Organization         American Legion Hall 97                                Mid‐America Council 326                P.O. Box 1                                                          Homer, NE 68030‐0001                                                            First Class Mail
Chartered Organization         American Legion Hall Post 453                          Circle Ten Council 571                 2755 Bachman Dr                                                     Dallas, TX 75220‐5852                                                           First Class Mail
Chartered Organization         American Legion Hanford Post 3                         Sequoia Council 027                    401 N Irwin St                                                      Hanford, CA 93230‐4425                                                          First Class Mail
Chartered Organization         American Legion Hansen‐Hays Post 178                   Central Minnesota 296                  160 2nd St Se                                                       Milaca, MN 56353‐1207                                                           First Class Mail
Chartered Organization         American Legion Harding Noia Post 161                  Mt Diablo‐Silverado Council 023        403 W 6th St                                                        Antioch, CA 94509                                                               First Class Mail
Chartered Organization         American Legion Harter Post 42                         Overland Trails 322                    1210 12th St                                                        Aurora, NE 68818‐1601                                                           First Class Mail
Chartered Organization         American Legion Hubert L Jones Post 87                 Denver Area Council 061                1427 Elmira St                                                      Aurora, CO 80010‐3216                                                           First Class Mail
Chartered Organization         American Legion Idlett Click Post 9                    Last Frontier Council 480              2514 Legion Dr                                                      Marlow, OK 73055                                                                First Class Mail
Chartered Organization         American Legion James C Wade Post 129                  Abraham Lincoln Council 144            127 W Jefferson St                                                  Athens, IL 62613                                                                First Class Mail
Chartered Organization         American Legion John A Stacker 775                     Golden Empire Council 047              P.O. Box 163                                                        Loomis, CA 95650‐0163                                                           First Class Mail
Chartered Organization         American Legion John G Salley Post 43                  South Florida Council 084              399 S Krome Ave                                                     Homestead, FL 33030‐7203                                                        First Class Mail
Chartered Organization         American Legion John Ivens Post 42                     Grand Canyon Council 010               P.O. Box 887                                                        Grand Canyon, AZ 86023‐0887                                                     First Class Mail
Chartered Organization         American Legion Joseph H Murray Post 18                Ore‐Ida Council 106 ‐ Bsa 106          P.O. Box 848                                                        Nampa, ID 83653‐0848                                                            First Class Mail
Chartered Organization         American Legion Kaniksu Post 144                       Inland Northwest Council 611           220 E 4th Ave                                                       Metaline Falls, WA 99153‐5141                                                   First Class Mail
Chartered Organization         American Legion Karl Ross Post 16                      Greater Yosemite Council 059           2020 Plymouth Rd                                                    Stockton, CA 95204‐4720                                                         First Class Mail
Chartered Organization         American Legion King Hagen Post 51                     Cimarron Council 474                   P.O. Box 42                                                         Fairview, OK 73737‐0042                                                         First Class Mail
Chartered Organization         American Legion Kings Mountain Post 24                 Sequoyah Council 713                   409 E Market St                                                     Johnson City, TN 37601‐4829                                                     First Class Mail
Chartered Organization         American Legion Lakeview Post                          Black Warrior Council 006              P.O. Box 752                                                        Mc Calla, AL 35111‐0752                                                         First Class Mail
Chartered Organization         American Legion Lawrence W Foster                      Mayflower Council 251                  69 Lakeview Rd                                                      Foxborough, MA 02035‐1732                                                       First Class Mail
Chartered Organization         American Legion Limestone Post 979                     W D Boyce 138                          4501 Airport Rd                                                     Bartonville, IL 61607‐2196                                                      First Class Mail
Chartered Organization         American Legion Lincoln Post 331                       Crossroads of America 160              636 E Main St                                                       Brownsburg, IN 46112‐1423                                                       First Class Mail
Chartered Organization         American Legion Livesay‐Chavez Post 122                Yucca Council 573                      P.O. Box 266                                                        Anthony, TX 79821‐0266                                                          First Class Mail
Chartered Organization         American Legion Lloyd Post 193                         Rip Van Winkle Council 405             P.O. Box 689                                                        Highland, NY 12528                                                              First Class Mail
Chartered Organization         American Legion Luther Giffin Post 14                  Simon Kenton Council 441               105 W 3rd St                                                        Bainbridge, OH 45612‐1107                                                       First Class Mail
Chartered Organization         American Legion Magnus Anderson Post 399               Potawatomi Area Council 651            P.O. Box 96                                                         Okauchee, WI 53069‐0096                                                         First Class Mail
Chartered Organization         American Legion Manchester Post 45                     Northeast Iowa Council 178             206 N Franklin St                                                   Manchester, IA 52057‐1539                                                       First Class Mail
Chartered Organization         American Legion Manny Bacon Post 1758                  Hudson Valley Council 374              P.O. Box 92                                                         Hopewell Junction, NY 12533‐0092                                                First Class Mail
Chartered Organization         American Legion Manoa Post 667                         Cradle of Liberty Council 525          1112 Steel Rd                                                       Havertown, PA 19083‐3211                                                        First Class Mail
Chartered Organization         American Legion Marina Post 694                        Silicon Valley Monterey Bay 055        P.O. Box 565                                                        Marina, CA 93933‐0565                                                           First Class Mail
Chartered Organization         American Legion Marne Post 13                          Rainbow Council 702                    24741 W Renwick Rd                                                  Plainfield, IL 60544‐5256                                                       First Class Mail
Chartered Organization         American Legion Mart Gentry Post 16                    Blue Grass Council 204                 1785 Barbourville St                                                London, KY 40741‐2915                                                           First Class Mail
Chartered Organization         American Legion Matthew Brew Post 3                    Northern Lights Council 429            P.O. Box 709                                                        Dickinson, ND 58602‐0709                                                        First Class Mail
Chartered Organization         American Legion Mccann Frederick Post                  Simon Kenton Council 441               21 Main St                                                          Glouster, OH 45732‐1168                                                         First Class Mail
Chartered Organization         American Legion Middletown Post 594                    New Birth of Freedom 544               137 E High St                                                       Middletown, PA 17057‐1905                                                       First Class Mail
Chartered Organization         American Legion Missouri 10Th District                 Greater St Louis Area Council 312      2 Gravois Rd                                                        Fenton, MO 63026‐4125                                                           First Class Mail
Chartered Organization         American Legion Moon Brothers Post 275                 Dan Beard Council, Bsa 438             P.O. Box 36                                                         Independence, KY 41051‐0036                                                     First Class Mail
Chartered Organization         American Legion Morrison Mead Post 181                 Water and Woods Council 782            P.O. Box 139                                                        Mayville, MI 48744‐0139                                                         First Class Mail
Chartered Organization         American Legion North Cobb Post 304                    Atlanta Area Council 092               4220 S Main St                                                      Acworth, GA 30101‐5632                                                          First Class Mail
Chartered Organization         American Legion Northeastern Post 459                  President Gerald R Ford 781            658 Michigan St Ne                                                  Grand Rapids, MI 49503‐3690                                                     First Class Mail
Chartered Organization         American Legion Of Choteau                             Montana Council 315                    P.O. Box 151                                                        Choteau, MT 59422‐0151                                                          First Class Mail
Chartered Organization         American Legion Of Illinois Post 094                   Abraham Lincoln Council 144            215 S Spruce St                                                     Nokomis, IL 62075‐1654                                                          First Class Mail
Chartered Organization         American Legion Of New Holland                         Pennsylvania Dutch Council 524         35 S Hoover Ave                                                     New Holland, PA 17557‐1653                                                      First Class Mail
Chartered Organization         American Legion Of Statham                             Northeast Georgia Council 101          P.O. Box 438                                                        Statham, GA 30666‐0008                                                          First Class Mail
Chartered Organization         American Legion Of Sw Florida Post 90                  Southwest Florida Council 088          1401 SE 47th Ter                                                    Cape Coral, FL 33904‐9638                                                       First Class Mail
Chartered Organization         American Legion Paradise Post 149                      Las Vegas Area Council 328             P.O. Box 70184                                                      Las Vegas, NV 89170‐0184                                                        First Class Mail
Chartered Organization         American Legion Paradise Post 79                       Greater Tampa Bay Area 089             P.O. Box 113                                                        New Port Richey, FL 34656‐0113                                                  First Class Mail
Chartered Organization         American Legion Parksley Post 100                      Del Mar Va 081                         18475 Dunne Ave                                                     Parksley, VA 23421                                                              First Class Mail
Chartered Organization         American Legion Pat Carrigan Post 120                  Northwest Texas Council 587            P.O. Box 936                                                        Wichita Falls, TX 76307‐0936                                                    First Class Mail
Chartered Organization         American Legion Paul C Beck Post 23                    Denver Area Council 061                3067 S Emporia Ct                                                   Denver, CO 80231‐4760                                                           First Class Mail
Chartered Organization         American Legion Peter J Courcy Post 178                Circle Ten Council 571                 6670 Moore St                                                       Frisco, TX 75034‐4946                                                           First Class Mail
Chartered Organization         American Legion Pleasanton Post 237                    San Francisco Bay Area Council 028     301 Main St                                                         Pleasanton, CA 94566‐7324                                                       First Class Mail
Chartered Organization         American Legion Pocket City Post 267                   Northeast Iowa Council 178             427 Ann St                                                          Mc Gregor, IA 52157‐8501                                                        First Class Mail
Chartered Organization         American Legion Post                                   Great Trail 433                        E Marion St                                                         Doylestown, OH 44230                                                            First Class Mail
Chartered Organization         American Legion Post                                   Seneca Waterways 397                   4141 Witherden Rd                                                   Marion, NY 14505‐9348                                                           First Class Mail
Chartered Organization         American Legion Post 100                               Gateway Area 624                       1116 Angelo Rd                                                      Sparta, WI 54656‐1410                                                           First Class Mail
Chartered Organization         American Legion Post 109                               Baltimore Area Council 220             1610 Sulphur Spring Rd                                              Halethorpe, MD 21227‐2539                                                       First Class Mail
Chartered Organization         American Legion Post 166                               Del Mar Va 081                         24th St & Philadelphia Ave                                          Ocean City, MD 21842                                                            First Class Mail
Chartered Organization         American Legion Post ‐ 178                             Denver Area Council 061                1655 Simms St                                                       Lakewood, CO 80215‐2611                                                         First Class Mail
Chartered Organization         American Legion Post 195                               Cherokee Area Council 469 469          P.O. Box 414                                                        Jay, OK 74346‐0414                                                              First Class Mail
Chartered Organization         American Legion Post 2 Walter L Fox                    Del Mar Va 081                         835 S Bay Rd                                                        Dover, DE 19901‐4632                                                            First Class Mail
Chartered Organization         American Legion Post 247                               President Gerald R Ford 781            P.O. Box 425                                                        Bellaire, MI 49615‐0425                                                         First Class Mail
Chartered Organization         American Legion Post 278 Kent Island                   Del Mar Va 081                         800 Romancoke Rd                                                    Stevensville, MD 21666‐2790                                                     First Class Mail
Chartered Organization         American Legion Post 380                               Southeast Louisiana Council 214        P.O. Box 10                                                         Chauvin, LA 70344‐0010                                                          First Class Mail
Chartered Organization         American Legion Post 7                                 Highland Christian Church              164 Versailles Rd                                                   Frankfort, KY 40601‐3208                                                        First Class Mail
Chartered Organization         American Legion Post 7                                 Del Mar Va 081                         16680 S Dupont Hwy                                                  Harrington, DE 19952‐2400                                                       First Class Mail
Chartered Organization         American Legion Post 738 Deerfield Il                  Northeast Illinois 129                 849 Waukegan Rd                                                     Deerfield, IL 60015‐3216                                                        First Class Mail
Chartered Organization         American Legion Post 76                                Coronado Area Council 192              506 Washington St                                                   Concordia, KS 66901‐2117                                                        First Class Mail
Chartered Organization         American Legion Post 0233                              Northeast Georgia Council 101          P.O. Box 127                                                        Loganville, GA 30052‐0127                                                       First Class Mail
Chartered Organization         American Legion Post 0266                              Longhorn Council 662                   P.O. Box 110                                                        Franklin, TX 77856‐0110                                                         First Class Mail
Chartered Organization         American Legion Post 0584                              Illowa Council 133                     201 E Railroad                                                      Wilton, IA 52778‐7785                                                           First Class Mail
Chartered Organization         American Legion Post 08                                Greater Tampa Bay Area 089             300 Ave M Nw                                                        Winter Haven, FL 33881‐2406                                                     First Class Mail
Chartered Organization         American Legion Post 1                                 Transatlantic Council, Bsa 802         Unit 23153                                                          Apo, AE 09054                                                                   First Class Mail
Chartered Organization         American Legion Post 1                                 Potawatomi Area Council 651            N120W15932 Freistadt Rd                                             Germantown, WI 53022                                                            First Class Mail
Chartered Organization         American Legion Post 1 Leonia                          Northern New Jersey Council, Bsa 333   399 Broad Ave                                                       Leonia, NJ 07605‐1714                                                           First Class Mail
Chartered Organization         American Legion Post 1 Portland                        Cascade Pacific Council 492            P.O. Box 33165                                                      Portland, OR 97292‐3165                                                         First Class Mail
Chartered Organization         American Legion Post 10                                Yucca Council 573                      P.O. Box 7                                                          Las Cruces, NM 88004‐0007                                                       First Class Mail
Chartered Organization         American Legion Post 10                                National Capital Area Council 082      9950 Cockrell Rd                                                    Manassas, VA 20110‐4113                                                         First Class Mail
Chartered Organization         American Legion Post 10                                Samoset Council, Bsa 627               1001 Golf Club Rd                                                   Wausau, WI 54403‐2272                                                           First Class Mail
Chartered Organization         American Legion Post 10                                Grand Columbia Council 614             P.O. Box 2242                                                       Wenatchee, WA 98807‐2242                                                        First Class Mail
Chartered Organization         American Legion Post 10 Albany                         Cascade Pacific Council 492            1215 Pacific Blvd Se                                                Albany, OR 97321‐4824                                                           First Class Mail
Chartered Organization         American Legion Post 100                               Utah National Parks 591                730 N 200 W                                                         Hurricane, UT 84737                                                             First Class Mail
Chartered Organization         American Legion Post 100                               Pathway To Adventure 456               1899 Central Ave                                                    Lake Station, IN 46405‐1643                                                     First Class Mail
Chartered Organization         American Legion Post 100 ‐ Syracuse                    Cornhusker Council 324                 527 5th St                                                          Syracuse, NE 68446                                                              First Class Mail
Chartered Organization         American Legion Post 1009                              Westchester Putnam 388                 235 Veterans Rd                                                     Yorktown Heights, NY 10598‐4427                                                 First Class Mail
Chartered Organization         American Legion Post 100‐Veterans Hall                 Sequoia Council 027                    411 W D St                                                          Lemoore, CA 93245‐2611                                                          First Class Mail
Chartered Organization         American Legion Post 101                               Mt Diablo‐Silverado Council 023        1150 1st St                                                         Benicia, CA 94510‐3221                                                          First Class Mail
Chartered Organization         American Legion Post 101                               Black Warrior Council 006              P.O. Box 992                                                        Carbon Hill, AL 35549‐0992                                                      First Class Mail
Chartered Organization         American Legion Post 101                               Pathway To Adventure 456               108 E Commercial Ave                                                Lowell, IN 46356‐2202                                                           First Class Mail
Chartered Organization         American Legion Post 101                               Central Minnesota 296                  265 County Rd 173 Se                                                Melrose, MN 56352‐1603                                                          First Class Mail
Chartered Organization         American Legion Post 101                               Ore‐Ida Council 106 ‐ Bsa 106          715 S 3rd W                                                         Mountain Home, ID 83647‐3409                                                    First Class Mail
Chartered Organization         American Legion Post 101                               Buford Rockafellow                     P.O. Box 160                                                        Winlock, WA 98596‐0160                                                          First Class Mail
Chartered Organization         American Legion Post 102                               Crossroads of America 160              339 W Main St                                                       Morristown, IN 46161                                                            First Class Mail
Chartered Organization         American Legion Post 103                               Quivira Council, Bsa 198               712 E Grant Ave                                                     Greensburg, KS 67054‐2709                                                       First Class Mail
Chartered Organization         American Legion Post 103                               Hoosier Trails Council 145 145         P.O. Box 669                                                        Mooresville, IN 46158‐0669                                                      First Class Mail
Chartered Organization         American Legion Post 1038                              Westchester Putnam 388                 27 Legion Dr                                                        Valhalla, NY 10595‐2013                                                         First Class Mail
Chartered Organization         American Legion Post 104                               Quivira Council, Bsa 198               201 E Main St                                                       Harper, KS 67058                                                                First Class Mail
Chartered Organization         American Legion Post 104                               Crossroads of America 160              2690 Fort Harrison Rd                                               Terre Haute, IN 47804‐1616                                                      First Class Mail
Chartered Organization         American Legion Post 104 Aloha                         Cascade Pacific Council 492            20325 SW Alexander St                                               Aloha, OR 97003‐2207                                                            First Class Mail
Chartered Organization         American Legion Post 105                               Flint River Council 095                P.O. Box 441                                                        Fayetteville, GA 30214‐0441                                                     First Class Mail
Chartered Organization         American Legion Post 105                               Twin Valley Council Bsa 283            P.O. Box 152                                                        Lyle, MN 55953‐0152                                                             First Class Mail
Chartered Organization         American Legion Post 105                               Katahdin Area Council 216              82 North St                                                         Newport, ME 04953‐3021                                                          First Class Mail
Chartered Organization         American Legion Post 105                               Pacific Skyline Council 031            651 El Camino Real                                                  Redwood City, CA 94063‐1317                                                     First Class Mail
Chartered Organization         American Legion Post 1054                              Westchester Putnam 388                 P.O. Box 239                                                        Briarcliff Manor, NY 10510‐0239                                                 First Class Mail
Chartered Organization         American Legion Post 106                               Hoosier Trails Council 145 145         109 S Commercial St                                                 Worthington, IN 47471‐1705                                                      First Class Mail
Chartered Organization         American Legion Post 106 ‐ Krause/Kraft                c/o Louis Rynish                       Bay‐Lakes Council 635                                               N9423 State Hwy 55                 Seymour, WI 54165                            First Class Mail
Chartered Organization         American Legion Post 107                               North Florida Council 087              10726 142nd St                                                      Mc Alpin, FL 32062‐2224                                                         First Class Mail
Chartered Organization         American Legion Post 108                               Allegheny Highlands Council 382        210 W Washington St                                                 Bradford, PA 16701‐1026                                                         First Class Mail
Chartered Organization         American Legion Post 108                               Daniel Webster Council, Bsa 330        25 Raymond Rd                                                       Chester, NH 03036                                                               First Class Mail
Chartered Organization         American Legion Post 108                               National Capital Area Council 082      3608 Legion Dr                                                      Cheverly, MD 20785‐1257                                                         First Class Mail
Chartered Organization         American Legion Post 108                               Great Lakes Fsc 272                    130 E Drahner Rd                                                    Oxford, MI 48371‐5302                                                           First Class Mail
Chartered Organization         American Legion Post 108                               Golden Empire Council 047              P.O. Box 964                                                        Sutter Creek, CA 95685‐0964                                                     First Class Mail
Chartered Organization         American Legion Post 109                               Baltimore Area Council 220             1610 Sulphur Spring Rd                                              Baltimore, MD 21227‐2539                                                        First Class Mail
Chartered Organization         American Legion Post 109                               Hawkeye Area Council 172               P.O. Box 592                                                        Lisbon, IA 52253‐0592                                                           First Class Mail
Chartered Organization         American Legion Post 109                               Catalina Council 011                   15921 S Houghton Rd                                                 Vail, AZ 85641‐2034                                                             First Class Mail
Chartered Organization         American Legion Post 109                               Daniel Webster Council, Bsa 330        33 Cobbetts Pond Rd                                                 Windham, NH 03087‐1928                                                          First Class Mail
Chartered Organization         American Legion Post 1096                              Greater St Louis Area Council 312      P.O. Box 104                                                        Campbell Hill, IL 62916‐0104                                                    First Class Mail
Chartered Organization         American Legion Post 11                                Northern Lights Council 429            201 E 2nd Ave S                                                     Cavalier, ND 58220‐4039                                                         First Class Mail
Chartered Organization         American Legion Post 11                                Twin Valley Council Bsa 283            P.O. Box 3246                                                       Mankato, MN 56002‐3246                                                          First Class Mail
Chartered Organization         American Legion Post 11 Madera                         Sequoia Council 027                    17408 Rd 26                                                         Madera, CA 93638‐0647                                                           First Class Mail
Chartered Organization         American Legion Post 110                               Gateway Area 624                       110 Welch Prairie Rd                                                New Lisbon, WI 53950‐1504                                                       First Class Mail
Chartered Organization         American Legion Post 110                               Southwest Florida Council 088          3152 Harbor Blvd                                                    Port Charlotte, FL 33952‐6702                                                   First Class Mail
Chartered Organization         American Legion Post 111                               Utah National Parks 591                7363 N Ute Dr                                                       Eagle Mountain, UT 84005‐5293                                                   First Class Mail
Chartered Organization         American Legion Post 111                               Redwood Empire Council 041             P.O. Box 281                                                        Healdsburg, CA 95448‐0281                                                       First Class Mail
Chartered Organization         American Legion Post 111                               Connecticut Rivers Council, Bsa 066    P.O. Box 111                                                        Woodstock, CT 06281‐0111                                                        First Class Mail
Chartered Organization         American Legion Post 11‐11                             Denver Area Council 061                9959 Wadsworth Blvd                                                 Broomfield, CO 80021‐4028                                                       First Class Mail
Chartered Organization         American Legion Post 112                               Northwest Georgia Council 100          1118 N Glenwood Ave                                                 Dalton, GA 30721‐2622                                                           First Class Mail
Chartered Organization         American Legion Post 112                               Northwest Georgia Council 100          P.O. Box 932                                                        Dalton, GA 30722‐0932                                                           First Class Mail
Chartered Organization         American Legion Post 112                               Central Minnesota 296                  525 Railroad Dr Nw                                                  Elk River, MN 55330‐1405                                                        First Class Mail
Chartered Organization         American Legion Post 112                               Westchester Putnam 388                 P.O. Box 147                                                        Hawthorne, NY 10532‐0147                                                        First Class Mail
Chartered Organization         American Legion Post 112 ‐ Abington                    Mayflower Council 251                  1027 Washington St                                                  Abington, MA 02351‐2025                                                         First Class Mail
Chartered Organization         American Legion Post 113                               Laurel Highlands Council 527           3721 Business 220                                                   Bedford, PA 15522‐1123                                                          First Class Mail
Chartered Organization         American Legion Post 113                               Washington Crossing Council 777        510 Harrison St                                                     Frenchtown, NJ 08825‐1117                                                       First Class Mail
Chartered Organization         American Legion Post 113                               Crossroads of America 160              1020 Hendricks Dr                                                   Lebanon, IN 46052‐2993                                                          First Class Mail
Chartered Organization         American Legion Post 113                               Ore‐Ida Council 106 ‐ Bsa 106          22 W Broadway Ave                                                   Meridian, ID 83642‐2521                                                         First Class Mail
Chartered Organization         American Legion Post 114                               Connecticut Rivers Council, Bsa 066    P.O. Box 684                                                        Groton, CT 06340‐0684                                                           First Class Mail
Chartered Organization         American Legion Post 115                               Northern Lights Council 429            11018 159th Ave                                                     Hettinger, ND 58639‐8965                                                        First Class Mail
Chartered Organization         American Legion Post 115                               Twin Valley Council Bsa 283            General Delivery                                                    Truman, MN 56088                                                                First Class Mail
Chartered Organization         American Legion Post 116                               Occoneechee 421                        6400 Johnson Pond Rd                                                Fuquay Varina, NC 27526‐9034                                                    First Class Mail
Chartered Organization         American Legion Post 117                               Prairielands 117                       P.O. Box 495                                                        Cerro Gordo, IL 61818‐0495                                                      First Class Mail
Chartered Organization         American Legion Post 117                               Central Florida Council 083            189 Veterans Dr Se                                                  Palm Bay, FL 32909‐3852                                                         First Class Mail
Chartered Organization         American Legion Post 117                               Crossroads of America 160              611 W State St                                                      Pendleton, IN 46064‐1043                                                        First Class Mail
Chartered Organization         American Legion Post 1176                              Mississippi Valley Council 141 141     P.O. Box 51                                                         Biggsville, IL 61418‐0051                                                       First Class Mail
Chartered Organization         American Legion Post 118                               Ozark Trails Council 306               Hwy 112 S                                                           Cassville, MO 65625                                                             First Class Mail
Chartered Organization         American Legion Post 118                               Crossroads of America 160              846 S State Rd 39                                                   Danville, IN 46122‐8192                                                         First Class Mail
Chartered Organization         American Legion Post 1187                              Denver Area Council 061                P.O. Box 982                                                        Castle Rock, CO 80104‐0982                                                      First Class Mail
Chartered Organization         American Legion Post 1188                              Rainbow Council 702                    P.O. Box 278                                                        Minooka, IL 60447‐0278                                                          First Class Mail
Chartered Organization         American Legion Post 119                               Patriots Path Council 358              137 New Market Rd                                                   Dunellen, NJ 08812‐1413                                                         First Class Mail
Chartered Organization         American Legion Post 119                               Longs Peak Council 062                 850 N Saint Vrain Ave                                               Estes Park, CO 80517‐6345                                                       First Class Mail
Chartered Organization         American Legion Post 119                               Great Smoky Mountain Council 557       7120 Rutledge Pike                                                  Rutledge, TN 37861‐3627                                                         First Class Mail
Chartered Organization         American Legion Post 12                                First United Methodist Church          1120 W 1st St                                                       Dixon, IL 61021‐2704                                                            First Class Mail
Chartered Organization         American Legion Post 12                                Blackhawk Area 660                     1120 W 1st St                                                       Dixon, IL 61021‐2704                                                            First Class Mail
Chartered Organization         American Legion Post 12                                Grand Canyon Council 010               176 N Frontier St                                                   Wickenburg, AZ 85390‐4411                                                       First Class Mail
Chartered Organization         American Legion Post 12 ‐ Elyria                       Lake Erie Council 440                  393 Ohio St                                                         Elyria, OH 44035‐5146                                                           First Class Mail
Chartered Organization         American Legion Post 120                               Central Florida Council 083            355 Walker St                                                       Holly Hill, FL 32117                                                            First Class Mail
Chartered Organization         American Legion Post 120                               Great Smoky Mountain Council 557       P.O. Box 582                                                        Loudon, TN 37774‐0582                                                           First Class Mail
Chartered Organization         American Legion Post 120 Hesson‐Snider                 Baltimore Area Council 220             12 Broad St                                                         Taneytown, MD 21787                                                             First Class Mail
Chartered Organization         American Legion Post 121                               Northern Star Council 250              701 N Main St                                                       River Falls, WI 54022                                                           First Class Mail
Chartered Organization         American Legion Post 122                               Crossroads of America 160              4 W High St                                                         Liberty, IN 47353‐1120                                                          First Class Mail
Chartered Organization         American Legion Post 123                               Black Warrior Council 006              301 44th Ct Ne                                                      Tuscaloosa, AL 35404‐2208                                                       First Class Mail
Chartered Organization         American Legion Post 1231                              Blackhawk Area 660                     1101 W Algonquin Rd                                                 Lake In the Hills, IL 60156‐3558                                                First Class Mail
Chartered Organization         American Legion Post 1239                              Greater St Louis Area Council 312      601 S Clinton St                                                    Aviston, IL 62216‐3418                                                          First Class Mail
Chartered Organization         American Legion Post 124                               Western Massachusetts Council 234      P.O. Box 236                                                        Westfield, MA 01086‐0236                                                        First Class Mail
Chartered Organization         American Legion Post 124 Beaverton                     Cascade Pacific Council 492            5550 SW Hall Blvd                                                   Beaverton, OR 97005‐3919                                                        First Class Mail
Chartered Organization         American Legion Post 1246                              Theodore Roosevelt Council 386         3078 Lawson Blvd                                                    Oceanside, NY 11572‐2711                                                        First Class Mail
Chartered Organization         American Legion‐ Post 1248 Arkport                     Five Rivers Council, Inc 375           P.O. Box 475                                                        Arkport, NY 14807‐0475                                                          First Class Mail
Chartered Organization         American Legion Post 125                               Los Padres Council 053                 100 E Locust Ave                                                    Lompoc, CA 93436‐7845                                                           First Class Mail
Chartered Organization         American Legion Post 1250                              Hudson Valley Council 374              Cohen Cir                                                           Florida, NY 10921                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 10 of 442
                                                                                Case 20-10343-LSS                                     Doc 8171                                      Filed 01/06/22                      Page 26 of 457
                                                                                                                                                                 Exhibit B
                                                                                                                                                                  Service List
                                                                                                                                                           Served as set forth below

        Description                                                      Name                                                                                  Address                                                                                    Email              Method of Service
Chartered Organization         American Legion Post 125‐David City                     Cornhusker Council 324                 P.O. Box 125                                          David City, NE 68632‐0125                                                     First Class Mail
Chartered Organization         American Legion Post 126                                National Capital Area Council 082      1725 Berry Ln                                         Forestville, MD 20747‐1825                                                    First Class Mail
Chartered Organization         American Legion Post 126                                Tidewater Council 596                  P.O. Box 351                                          Hertford, NC 27944‐0351                                                       First Class Mail
Chartered Organization         American Legion Post 126                                Gulf Stream Council 085                2555 NE Savannah Rd                                   Jensen Beach, FL 34957‐7315                                                   First Class Mail
Chartered Organization         American Legion Post 127                                Middle Tennessee Council 560           P.O. Box 31                                           Hohenwald, TN 38462‐0031                                                      First Class Mail
Chartered Organization         American Legion Post 127                                Mount Baker Council, Bsa 606           21920 State Route 9 Se                                Woodinville, WA 98072‐9798                                                    First Class Mail
Chartered Organization         American Legion Post 1271                               Three Fires Council 127                P.O. Box 68                                           Sugar Grove, IL 60554‐0068                                                    First Class Mail
Chartered Organization         American Legion Post 128                                Baltimore Area Council 220             44 N Parke St                                         Aberdeen, MD 21001‐2436                                                       First Class Mail
Chartered Organization         American Legion Post 128                                Connecticut Rivers Council, Bsa 066    16 York Ave                                           Niantic, CT 06357‐3216                                                        First Class Mail
Chartered Organization         American Legion Post 128                                Stonewall Jackson Council 763          P.O. Box 424                                          Ruckersville, VA 22968‐0424                                                   First Class Mail
Chartered Organization         American Legion Post 128                                Northern New Jersey Council, Bsa 333   650 American Legion Dr                                Teaneck, NJ 07666‐2406                                                        First Class Mail
Chartered Organization         American Legion Post 1280                               Allegheny Highlands Council 382        228 Maple Ave                                         Cassadaga, NY 14718‐9725                                                      First Class Mail
Chartered Organization         American Legion Post 129                                Jersey Shore Council 341               2025 Church Rd                                        Toms River, NJ 08753‐1410                                                     First Class Mail
Chartered Organization         American Legion Post 129 Ogden Valley                   Trapper Trails 589                     P.O. Box 317                                          Huntsville, UT 84317‐0317                                                     First Class Mail
Chartered Organization         American Legion Post 13                                 Green Mountain 592                     225 Northside Dr                                      Bennington, VT 05201‐1724                                                     First Class Mail
Chartered Organization         American Legion Post 13                                 Rocky Mountain Council 063             P.O. Box 1114                                         Canon City, CO 81215‐1114                                                     First Class Mail
Chartered Organization         American Legion Post 13                                 Inland Northwest Council 611           1127 8th Ave                                          Lewiston, ID 83501‐2640                                                       First Class Mail
Chartered Organization         American Legion Post 13                                 Greater Los Angeles Area 033           131 N Marengo Ave                                     Pasadena, CA 91101‐1703                                                       First Class Mail
Chartered Organization         American Legion Post 130                                National Capital Area Council 082      400 N Oak St                                          Falls Church, VA 22046‐2513                                                   First Class Mail
Chartered Organization         American Legion Post 130                                Twin Valley Council Bsa 283            P.O. Box 71                                           Jackson, MN 56143‐0071                                                        First Class Mail
Chartered Organization         American Legion Post 130                                Baltimore Area Council 220             8666 Silver Lake Dr                                   Perry Hall, MD 21128‐9636                                                     First Class Mail
Chartered Organization         American Legion Post 130                                Middle Tennessee Council 560           114 N Main St                                         Waynesboro, TN 38485                                                          First Class Mail
Chartered Organization         American Legion Post 1302                               Red Oaks Mills Firehouse               213 Vassar Rd                                         Poughkeepsie, NY 12603‐5447                                                   First Class Mail
Chartered Organization         American Legion Post 131                                Minsi Trails Council 502               122 Greenwich St                                      Belvidere, NJ 07823‐1423                                                      First Class Mail
Chartered Organization         American Legion Post 131                                Northern Star Council 250              220 1st St W                                          Maple Lake, MN 55358‐4561                                                     First Class Mail
Chartered Organization         American Legion Post 131                                Heart of America Council 307           733 E Young Ave                                       Warrensburg, MO 64093‐9607                                                    First Class Mail
Chartered Organization         American Legion Post 132                                Mayflower Council 251                  88 Maple St                                           Marlborough, MA 01752                                                         First Class Mail
Chartered Organization         American Legion Post 132                                Orange County Council 039              143 S Lemon St                                        Orange, CA 92866‐1319                                                         First Class Mail
Chartered Organization         American Legion Post 132                                Pine Tree Council 218                  P.O. Box 132                                          Richmond, ME 04357‐0132                                                       First Class Mail
Chartered Organization         American Legion Post 133                                Orange County Council 039              16791 Tin Mountain Cir                                Fountain Valley, CA 92708‐2524                                                First Class Mail
Chartered Organization         American Legion Post 133                                Greater St Louis Area Council 312      98 Grand Ave                                          Perryville, MO 63775‐1365                                                     First Class Mail
Chartered Organization         American Legion Post 1339                               Leatherstocking 400                    Main St                                               Gilbertsville, NY 13776                                                       First Class Mail
Chartered Organization         American Legion Post 135                                Winnebago Council, Bsa 173             113 S Park Pl                                         Cresco, IA 52136‐1632                                                         First Class Mail
Chartered Organization         American Legion Post 135                                Pine Tree Council 218                  P.O. Box 392                                          Sabattus, ME 04280‐0392                                                       First Class Mail
Chartered Organization         American Legion Post 136                                Great Smoky Mountain Council 557       146 John J Smith Rd                                   Oneida, TN 37841‐5524                                                         First Class Mail
Chartered Organization         American Legion Post 136                                The Spirit of Adventure 227            5 Bay St                                              Wilmington, MA 01887                                                          First Class Mail
Chartered Organization         American Legion Post 137                                Longs Peak Council 062                 105 Westridge Ave                                     Haxtun, CO 80731‐2583                                                         First Class Mail
Chartered Organization         American Legion Post 137                                Westark Area Council 016               P.O. Box 481                                          Huntsville, AR 72740‐0481                                                     First Class Mail
Chartered Organization         American Legion Post 137                                North Florida Council 087              5443 San Juan Ave                                     Jacksonville, FL 32210‐3143                                                   First Class Mail
Chartered Organization         American Legion Post 137                                Northeast Iowa Council 178             Dyersville, IA 52040                                                                                                                First Class Mail
Chartered Organization         American Legion Post 1376                               Leatherstocking 400                    8616 Clinton St                                       New Hartford, NY 13413‐3400                                                   First Class Mail
Chartered Organization         American Legion Post 138                                Attn: Timothy M. Burton                245 E Tom T. Hall Blvd                                Olive Hill, KY 41164                                                          First Class Mail
Chartered Organization         American Legion Post 138                                Allegheny Highlands Council 382        P.O. Box 402                                          Smethport, PA 16749‐0402                                                      First Class Mail
Chartered Organization         American Legion Post 139                                Crossroads of America 160              1631 N Section St                                     Sullivan, IN 47882‐9235                                                       First Class Mail
Chartered Organization         American Legion Post 14                                 Greater St Louis Area Council 312      433 Fair Ave                                          Flora, IL 62839‐2720                                                          First Class Mail
Chartered Organization         American Legion Post 14                                 Las Vegas Area Council 328             225 E Oak St                                          Kingman, AZ 86401‐5837                                                        First Class Mail
Chartered Organization         American Legion Post 14                                 Green Mountain 592                     100 Armory Ln                                         Vergennes, VT 05491‐1365                                                      First Class Mail
Chartered Organization         American Legion Post 14 Vancouver                       Cascade Pacific Council 492            4607 NE St James Rd                                   Vancouver, WA 98663‐2166                                                      First Class Mail
Chartered Organization         American Legion Post 140                                Twin Valley Council Bsa 283            P.O. Box 592                                          Grand Meadow, MN 55936‐0592                                                   First Class Mail
Chartered Organization         American Legion Post 141                                Indian Nations Council 488             P.O. Box 336                                          Claremore, OK 74018‐0336                                                      First Class Mail
Chartered Organization         American Legion Post 142                                Jayhawk Area Council 197               2978 Ferguson Rd                                      Perry, KS 66073‐5078                                                          First Class Mail
Chartered Organization         American Legion Post 1420                               Hudson Valley Council 374              P.O. Box 7401                                         Newburgh, NY 12550                                                            First Class Mail
Chartered Organization         American Legion Post 143                                Black Swamp Area Council 449           422 S Fayette St                                      Fayette, OH 43521‐9785                                                        First Class Mail
Chartered Organization         American Legion Post 143                                Northern Star Council 250              807 Pine St                                           Saint Croix Falls, WI 54024                                                   First Class Mail
Chartered Organization         American Legion Post 143                                Mid‐America Council 326                166 S 2nd St                                          Springfield, NE 68059                                                         First Class Mail
Chartered Organization         American Legion Post 1430                               Seneca Waterways 397                   4141 Witherden Rd                                     Marion, NY 14505‐9348                                                         First Class Mail
Chartered Organization         American Legion Post 1434                               Allegheny Highlands Council 382        3727 Route 16                                         Hinsdale, NY 14743‐9647                                                       First Class Mail
Chartered Organization         American Legion Post 144                                Theodore Roosevelt Council 386         134 I U Willets Rd                                    Albertson, NY 11507‐1346                                                      First Class Mail
Chartered Organization         American Legion Post 144                                Heart of Virginia Council 602          P.O. Box 2                                            Highland Springs, VA 23075‐0002                                               First Class Mail
Chartered Organization         American Legion Post 145                                Northeast Illinois 129                 P.O. Box 145                                          Highland Park, IL 60035‐0145                                                  First Class Mail
Chartered Organization         American Legion Post 146                                San Diego Imperial Council 049         P.O. Box 1085                                         Oceanside, CA 92051‐1085                                                      First Class Mail
Chartered Organization         American Legion Post 146                                Westark Area Council 016               P.O. Box 358                                          Prairie Grove, AR 72753‐0358                                                  First Class Mail
Chartered Organization         American Legion Post 146 ‐ Menominee                    Bay‐Lakes Council 635                  818 1st St                                            Menominee, MI 49858‐3232                                                      First Class Mail
Chartered Organization         American Legion Post 1460                               Allegheny Highlands Council 382        P.O. Box 274                                          Machias, NY 14101‐0274                                                        First Class Mail
Chartered Organization         American Legion Post 147                                Greater Tampa Bay Area 089             17383 Gunn Hwy                                        Odessa, FL 33556‐1951                                                         First Class Mail
Chartered Organization         American Legion Post 149                                Buckskin 617                           General Delivery                                      Fayetteville, WV 25840                                                        First Class Mail
Chartered Organization         American Legion Post 149                                Las Vegas Area Council 328             P.O. Box 70184                                        Las Vegas, NV 89170‐0184                                                      First Class Mail
Chartered Organization         American Legion Post 149                                Hoosier Trails Council 145 145         P.O. Box 115                                          West Baden Springs, IN 47469‐0115                                             First Class Mail
Chartered Organization         American Legion Post 1493                               Twin Rivers Council 364                31 Voorheesville Ave                                  Voorheesville, NY 12186‐9311                                                  First Class Mail
Chartered Organization         American Legion Post 15                                 Yocona Area Council 748                P.O. Box 813                                          Iuka, MS 38852‐0813                                                           First Class Mail
Chartered Organization         American Legion Post 15                                 Great Alaska Council 610               1500 S Mystic Cir                                     Palmer, AK 99645‐9060                                                         First Class Mail
Chartered Organization         American Legion Post 15                                 Pee Dee Area Council 552               P.O. Box 1193                                         Sumter, SC 29151‐1193                                                         First Class Mail
Chartered Organization         American Legion Post 15                                 Mason Dixon Council 221                335 S Potomac St                                      Waynesboro, PA 17268                                                          First Class Mail
Chartered Organization         American Legion Post 15                                 Mason Dixon Council 221                801 Park St                                           Waynesboro, PA 17268‐2148                                                     First Class Mail
Chartered Organization         American Legion Post 15                                 Winnebago Council, Bsa 173             P.O. Box 82                                           West Union, IA 52175‐0082                                                     First Class Mail
Chartered Organization         American Legion Post 150                                Pine Tree Council 218                  41 Elm St                                             Mechanic Falls, ME 04256‐5521                                                 First Class Mail
Chartered Organization         American Legion Post 150                                Pine Tree Council 218                  41 Elm St                                             Mechanic Falls, ME 04256‐5521                                                 First Class Mail
Chartered Organization         American Legion Post 150                                Greater St Louis Area Council 312      P.O. Box 389                                          Sainte Genevieve, MO 63670‐0389                                               First Class Mail
Chartered Organization         American Legion Post 150                                National Capital Area Council 082      P.O. Box 111                                          Sterling, VA 20167‐0111                                                       First Class Mail
Voting Party                   American Legion Post 150, Sterling, Va                  Attn: Pat Linehan, Post Commander      P.O. Box 111                                          Sterling, VA 20167                            linehan_p@hotmail.com           Email
                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         American Legion Post 152                                Mississippi Valley Council 141 141     1302 W Washington St                                  Pittsfield, IL 62363‐9535                                                     First Class Mail
Chartered Organization         American Legion Post 152                                Greater Tampa Bay Area 089             11211 Sheldon Rd                                      Tampa, FL 33626‐4708                                                          First Class Mail
Chartered Organization         American Legion Post 1520                               Twin Rivers Council 364                4 Everett Rd Ext                                      Albany, NY 12205‐3342                                                         First Class Mail
Chartered Organization         American Legion Post 153                                Northern New Jersey Council, Bsa 333   P.O. Box 153                                          Park Ridge, NJ 07656‐0153                                                     First Class Mail
Chartered Organization         American Legion Post 153                                Samoset Council, Bsa 627               4326 Koppen Rd                                        Pittsville, WI 54466‐9467                                                     First Class Mail
Chartered Organization         American Legion Post 154                                Patriots Path Council 358              P.O. Box 267                                          Butler, NJ 07405‐0267                                                         First Class Mail
Chartered Organization         American Legion Post 154                                Baden‐Powell Council 368               14515 State Route 3001                                Montrose, PA 18801‐7066                                                       First Class Mail
Chartered Organization         American Legion Post 154                                East Carolina Council 426              663 Old New Bern Rd                                   Trenton, NC 28585‐5846                                                        First Class Mail
Chartered Organization         American Legion Post 155                                Crossroads of America 160              852 W Main St                                         Carmel, IN 46032‐1430                                                         First Class Mail
Chartered Organization         American Legion Post 155                                Suffolk County Council Inc 404         115 Church St                                         Lake Ronkonkoma, NY 11779‐4161                                                First Class Mail
Chartered Organization         American Legion Post 155                                Patriots Path Council 358              13 Legion Pl                                          Whippany, NJ 07981                                                            First Class Mail
Chartered Organization         American Legion Post 156                                Middle Tennessee Council 560           8011 Concord Rd                                       Brentwood, TN 37027‐6727                                                      First Class Mail
Chartered Organization         American Legion Post 156                                Baltimore Area Council 220             P.O. Box 2416                                         Ellicott City, MD 21041‐2416                                                  First Class Mail
Chartered Organization         American Legion Post 157                                Grand Columbia Council 614             31 W Coulee Blvd                                      Electric City, WA 99123                                                       First Class Mail
Chartered Organization         American Legion Post 157                                South Florida Council 084              1791 Mears Pkwy                                       Margate, FL 33063‐3748                                                        First Class Mail
Chartered Organization         American Legion Post 157 ‐ Horicon                      Bay‐Lakes Council 635                  P.O. Box 22                                           Horicon, WI 53032‐0022                                                        First Class Mail
Chartered Organization         American Legion Post 158 Tigard Oregon                  Cascade Pacific Council 492            8635 SW Scoffins St                                   Tigard, OR 97223‐6224                                                         First Class Mail
Chartered Organization         American Legion Post 1593                               Allegheny Highlands Council 382        P.O. Box 41                                           South Dayton, NY 14138‐0041                                                   First Class Mail
Chartered Organization         American Legion Post 1596                               Baden‐Powell Council 368               760 Welton St                                         Harpursville, NY 13787‐1925                                                   First Class Mail
Chartered Organization         American Legion Post 16                                 Northeast Georgia Council 101          Hwy 75 S                                              Cleveland, GA 30528                                                           First Class Mail
Chartered Organization         American Legion Post 16                                 Robert H Burns                         P.O. Box 1137                                         Covington, LA 70434‐1137                                                      First Class Mail
Chartered Organization         American Legion Post 16                                 Blue Ridge Mtns Council 599            1301 Greenview Dr                                     Lynchburg, VA 24502‐2707                                                      First Class Mail
Chartered Organization         American Legion Post 16                                 Mid‐America Council 326                1305 Riverside Blvd                                   Norfolk, NE 68701‐2848                                                        First Class Mail
Chartered Organization         American Legion Post 160                                Atlanta Area Council 092               160 Legion Dr Se                                      Smyrna, GA 30080‐4353                                                         First Class Mail
Chartered Organization         American Legion Post 161                                Twin Valley Council Bsa 283            306 W Main St                                         Le Roy, MN 55951‐1287                                                         First Class Mail
Chartered Organization         American Legion Post 161                                Pony Express Council 311               P.O. Box 303                                          Wathena, KS 66090‐0303                                                        First Class Mail
Chartered Organization         American Legion Post 162                                National Capital Area Council 082      8210 Legion Dr                                        Lorton, VA 22079‐2715                                                         First Class Mail
Chartered Organization         American Legion Post 162                                French Creek Council 532               617 W Main St                                         Sharpsville, PA 16150‐2057                                                    First Class Mail
Chartered Organization         American Legion Post 1624                               Baden‐Powell Council 368               119 Dean St                                           Nichols, NY 13812‐2512                                                        First Class Mail
Chartered Organization         American Legion Post 163                                Jayhawk Area Council 197               310 Veterans Memorial Dr N                            Marysville, KS 66508‐1688                                                     First Class Mail
Chartered Organization         American Legion Post 163 Hackett Larson                 Mount Baker Council, Bsa 606           P.O. Box 163                                          Friday Harbor, WA 98250‐0163                                                  First Class Mail
Chartered Organization         American Legion Post 1634                               Suffolk County Council Inc 404         10 Bruce St                                           West Babylon, NY 11704‐7711                                                   First Class Mail
Chartered Organization         American Legion Post 164                                Mid‐America Council 326                301 Main St                                           Bedford, IA 50833‐1319                                                        First Class Mail
Chartered Organization         American Legion Post 164                                Gulf Stream Council 085                2116 Lantana Rd                                       Lake Worth, FL 33462‐2610                                                     First Class Mail
Chartered Organization         American Legion Post 164                                Black Hills Area Council 695 695       P.O. Box 583                                          Spearfish, SD 57783‐0583                                                      First Class Mail
Chartered Organization         American Legion Post 164                                Gamehaven 299                          P.O. Box 67                                           Stewartville, MN 55976‐0067                                                   First Class Mail
Chartered Organization         American Legion Post 164                                Pacific Harbors Council, Bsa 612       16733 103rd St Se                                     Yelm, WA 98597‐8487                                                           First Class Mail
Chartered Organization         American Legion Post 1640                               Greater Niagara Frontier Council 380   10571 Main St                                         North Collins, NY 14111‐9633                                                  First Class Mail
Chartered Organization         American Legion Post 165                                South Florida Council 084              39 NW 64th Ter                                        Miami, FL 33150‐4513                                                          First Class Mail
Chartered Organization         American Legion Post 165                                Water and Woods Council 782            5111 Hedgewood Dr                                     Midland, MI 48640‐1931                                                        First Class Mail
Chartered Organization         American Legion Post 165                                Golden Empire Council 047              549 Merchant St                                       Vacaville, CA 95688‐4511                                                      First Class Mail
Chartered Organization         American Legion Post 166                                Glaciers Edge Council 620              201 S Water St E                                      Fort Atkinson, WI 53538‐2056                                                  First Class Mail
Chartered Organization         American Legion Post 167                                Cape Fear Council 425                  16660 US Hwy 17                                       Hampstead, NC 28443‐7328                                                      First Class Mail
Chartered Organization         American Legion Post 168                                Northern Star Council 250              E651 1270th Ave                                       Glenwood City, WI 54013                                                       First Class Mail
Chartered Organization         American Legion Post 168                                Northern Star Council 250              2210 3rd St                                           White Bear Lake, MN 55110‐3211                                                First Class Mail
Chartered Organization         American Legion Post 169                                Golden Empire Council 047              514 Darling Way                                       Roseville, CA 95678‐4349                                                      First Class Mail
Chartered Organization         American Legion Post 17                                 Daniel Webster Council, Bsa 330        Rr 3                                                  Groveton, NH 03582                                                            First Class Mail
Chartered Organization         American Legion Post 17                                 Central Florida Council 083            619 Canal St                                          New Smyrna Beach, FL 32168‐6982                                               First Class Mail
Chartered Organization         American Legion Post 17                                 Longs Peak Council 062                 P.O. Box 271                                          Sidney, NE 69162‐0271                                                         First Class Mail
Chartered Organization         American Legion Post 170                                Hawkeye Area Council 172               P.O. Box 315                                          Blairstown, IA 52209‐0315                                                     First Class Mail
Chartered Organization         American Legion Post 170                                Northern New Jersey Council, Bsa 333   33 W Passaic St                                       Rochelle Park, NJ 07662‐3213                                                  First Class Mail
Chartered Organization         American Legion Post 170                                Rocky Mountain Council 063             P.O. Box 424                                          Westcliffe, CO 81252‐0424                                                     First Class Mail
Chartered Organization         American Legion Post 171                                c/o Tom Aellig                         287 Midlane Dr                                        Crystal Lake, IL 60012‐3356                                                   First Class Mail
Chartered Organization         American Legion Post 171                                National Capital Area Council 082      10201 Lewis Dr                                        Damascus, MD 20872‐1711                                                       First Class Mail
Chartered Organization         American Legion Post 171                                Gulf Stream Council 085                1814 N 21st St                                        Fort Pierce, FL 34950‐2001                                                    First Class Mail
Chartered Organization         American Legion Post 171                                Water and Woods Council 782            P.O. Box 15                                           Gladwin, MI 48624‐0015                                                        First Class Mail
Chartered Organization         American Legion Post 1711, Inc                          Theodore Roosevelt Council 386         3123 N Jerusalem Rd                                   Levittown, NY 11756‐3511                                                      First Class Mail
Chartered Organization         American Legion Post 172                                Mid‐America Council 326                1302 S Cleveland St                                   Mount Ayr, IA 50854‐2173                                                      First Class Mail
Chartered Organization         American Legion Post 172                                Northern Star Council 250              260 4th Ave Se                                        Osseo, MN 55369‐1521                                                          First Class Mail
Chartered Organization         American Legion Post 172                                Great Lakes Fsc 272                    234 Walnut Blvd                                       Rochester, MI 48307‐2051                                                      First Class Mail
Chartered Organization         American Legion Post 172                                Greater Yosemite Council 059           1960 N Tracy Blvd                                     Tracy, CA 95376‐2423                                                          First Class Mail
Chartered Organization         American Legion Post 173                                Tecumseh 439                           120 Colton Ave                                        Bellefontaine, OH 43311‐1820                                                  First Class Mail
Chartered Organization         American Legion Post 173                                Glaciers Edge Council 620              292 S Wisconsin St                                    Whitewater, WI 53190‐2060                                                     First Class Mail
Chartered Organization         American Legion Post 1738                               Suffolk County Council Inc 404         340 Union Blvd                                        West Islip, NY 11795‐3102                                                     First Class Mail
Chartered Organization         American Legion Post 174/Vfw Post 6485                  Coronado Area Council 192              P.O. Box 111                                          Ellsworth, KS 67439‐0111                                                      First Class Mail
Chartered Organization         American Legion Post 1749                               Theodore Roosevelt Council 386         P.O. Box 559                                          North Bellmore, NY 11710‐0559                                                 First Class Mail
Chartered Organization         American Legion Post 175                                Chippewa Valley Council 637            302 N Union St                                        Loyal, WI 54446‐9409                                                          First Class Mail
Chartered Organization         American Legion Post 175                                Heart of Virginia Council 602          8700 Bell Creek Rd                                    Mechanicsville, VA 23116‐3867                                                 First Class Mail
Chartered Organization         American Legion Post 175                                Great Trail 433                        3733 Fishcreek Rd                                     Stow, OH 44224‐4303                                                           First Class Mail
Chartered Organization         American Legion Post 176                                National Capital Area Council 082      9500 Wooden Spoke Ct                                  Burke, VA 22015‐4186                                                          First Class Mail
Chartered Organization         American Legion Post 176                                Southern Shores Fsc 783                115 N Jackson St                                      Clinton, MI 49236                                                             First Class Mail
Chartered Organization         American Legion Post 176                                National Capital Area Council 082      P.O. Box 689                                          Springfield, VA 22150‐0689                                                    First Class Mail
Chartered Organization         American Legion Post 177                                c/o Robert Stine                       3939 Oak St                                           Fairfax, VA 22030‐3725                                                        First Class Mail
Chartered Organization         American Legion Post 1776                               Northern Star Council 250              14521 Granada Dr                                      Apple Valley, MN 55124‐7418                                                   First Class Mail
Chartered Organization         American Legion Post 178                                Anthony Wayne Area 157                 515 W 5th Ave                                         Garrett, IN 46738‐1941                                                        First Class Mail
Chartered Organization         American Legion Post 1788                               Longhouse Council 373                  P.O. Box 159                                          La Fargeville, NY 13656‐0159                                                  First Class Mail
Chartered Organization         American Legion Post 179                                Marin Council 035                      P.O. Box 125                                          San Anselmo, CA 94979‐0125                                                    First Class Mail
Chartered Organization         American Legion Post 1799                               National Capital Area Council 082      P.O. Box 1799                                         Haymarket, VA 20168‐1799                                                      First Class Mail
Chartered Organization         American Legion Post 18                                 Ohio River Valley Council 619          P.O. Box 235                                          Cameron, WV 26033‐0235                                                        First Class Mail
Chartered Organization         American Legion Post 18                                 Mid‐America Council 326                P.O. Box 125                                          Hooper, NE 68031‐0125                                                         First Class Mail
Chartered Organization         American Legion Post 18 Grace Umc                       Water and Woods Council 782            700 Adams St                                          Bay City, MI 48708‐5834                                                       First Class Mail
Chartered Organization         American Legion Post 180                                South Florida Council 084              1280 SW 44th Ter                                      Fort Lauderdale, FL 33317‐5729                                                First Class Mail
Chartered Organization         American Legion Post 180                                Connecticut Rivers Council, Bsa 066    567 Exeter Rd                                         Lebanon, CT 06249                                                             First Class Mail
Chartered Organization         American Legion Post 180                                Three Harbors Council 636              2860 S Kinnickinnic Ave                               Milwaukee, WI 53207‐2252                                                      First Class Mail
Chartered Organization         American Legion Post 180                                National Capital Area Council 082      330 Center St N                                       Vienna, VA 22180‐4517                                                         First Class Mail
Chartered Organization         American Legion Post 180 Milwaukie                      Cascade Pacific Council 492            2146 SE Monroe St                                     Milwaukie, OR 97222‐7609                                                      First Class Mail
Chartered Organization         American Legion Post 181                                Jayhawk Area Council 197               610 Chestnut St                                       Frankfort, KS 66427‐1244                                                      First Class Mail
Chartered Organization         American Legion Post 181                                Allegheny Highlands Council 382        62 Jamestown St                                       Randolph, NY 14772‐1119                                                       First Class Mail
Chartered Organization         American Legion Post 181                                Northern Lights Council 429            314 4th St                                            Thompson, ND 58278                                                            First Class Mail
Chartered Organization         American Legion Post 1812                               Theodore Roosevelt Council 386         P.O. Box 62                                           Plainview, NY 11803‐0062                                                      First Class Mail
Chartered Organization         American Legion Post 1817                               Twin Rivers Council 364                P.O. Box 313                                          Burnt Hills, NY 12027‐0313                                                    First Class Mail
Chartered Organization         American Legion Post 182                                East Carolina Council 426              P.O. Box 346                                          Columbia, NC 27925‐0346                                                       First Class Mail
Chartered Organization         American Legion Post 182                                Samoset Council, Bsa 627               General Delivery                                      Park Falls, WI 54552                                                          First Class Mail
Chartered Organization         American Legion Post 182                                Norwela Council 215                    P.O. Box 1051                                         Ringgold, LA 71068‐1051                                                       First Class Mail
Chartered Organization         American Legion Post 182                                W D Boyce 138                          31460 US Hwy 6                                        Spring Valley, IL 61362‐9268                                                  First Class Mail
Chartered Organization         American Legion Post 183                                Denver Area Council 061                P.O. Box 518                                          Strasburg, CO 80136‐0518                                                      First Class Mail
Chartered Organization         American Legion Post 1830 Of Chili                      Seneca Waterways 397                   450 Scottsville Chili Rd                              Scottsville, NY 14546‐9603                                                    First Class Mail
Chartered Organization         American Legion Post 184                                Black Warrior Council 006              P.O. Box 343                                          Double Springs, AL 35553‐0343                                                 First Class Mail
Chartered Organization         American Legion Post 184                                Black Warrior Council 006              20149 Hwy 278                                         Double Springs, AL 35553‐3449                                                 First Class Mail
Chartered Organization         American Legion Post 184                                Twin Rivers Council 364                P.O. Box 715                                          Hudson, NY 12534‐0715                                                         First Class Mail
Chartered Organization         American Legion Post 1864                               Denver Area Council 061                11832 Trail Sky Ct                                    Parker, CO 80134‐3039                                                         First Class Mail
Chartered Organization         American Legion Post 189/Vfw                            Gulf Stream Council 085                807 Louisiana Ave                                     Sebastian, FL 32958‐4111                                                      First Class Mail
Chartered Organization         American Legion Post 19                                 Green Mountain 592                     P.O. Box 292                                          Bristol, VT 05443‐0292                                                        First Class Mail
Chartered Organization         American Legion Post 19                                 Middle Tennessee Council 560           812 Nashville Hwy                                     Columbia, TN 38401‐2431                                                       First Class Mail
Chartered Organization         American Legion Post 19                                 Greater Alabama Council 001            960 Ross St                                           Heflin, AL 36264‐1164                                                         First Class Mail
Chartered Organization         American Legion Post 19                                 Chief Seattle Council 609              P.O. Box 503                                          Renton, WA 98057‐0503                                                         First Class Mail
Chartered Organization         American Legion Post 191                                Norwela Council 215                    P.O. Box 8128                                         Bossier City, LA 71113‐8128                                                   First Class Mail
Chartered Organization         American Legion Post 191                                Gateway Area 624                       129 S Marshall St                                     Caledonia, MN 55921‐1326                                                      First Class Mail
Chartered Organization         American Legion Post 192                                Allegheny Highlands Council 382        2 Buffalo St                                          Coudersport, PA 16915‐9406                                                    First Class Mail
Chartered Organization         American Legion Post 192                                Georgia‐Carolina 093                   275 Legion Dr                                         Evans, GA 30809‐3061                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                  Page 11 of 442
                                                                                 Case 20-10343-LSS                                     Doc 8171                                                 Filed 01/06/22                        Page 27 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                       Name                                                                                             Address                                                                     Email              Method of Service
Chartered Organization         American Legion Post 192                                 Blackhawk Area 660                     P.O. Box 192                                                     Marengo, IL 60152‐0192                                         First Class Mail
Chartered Organization         American Legion Post 192                                 Mayflower Council 251                  P.O. Box 892                                                     Norwell, MA 02061‐0892                                         First Class Mail
Chartered Organization         American Legion Post 193                                 Central Minnesota 296                  P.O. Box 322                                                     Becker, MN 55308‐0322                                          First Class Mail
Chartered Organization         American Legion Post 193                                 Denver Area Council 061                5110 Morrison Rd                                                 Denver, CO 80219‐2241                                          First Class Mail
Chartered Organization         American Legion Post 194                                 Chester County Council 539             338 E Main St                                                    Rising Sun, MD 21911‐1814                                      First Class Mail
Chartered Organization         American Legion Post 195                                 Ozark Trails Council 306               P.O. Box 407                                                     Crocker, MO 65452‐0407                                         First Class Mail
Chartered Organization         American Legion Post 196                                 Connecticut Yankee Council Bsa 072     25 Merwin Ave                                                    Milford, CT 06460‐7902                                         First Class Mail
Chartered Organization         American Legion Post 197                                 North Florida Council 087              2179 Benedict Rd                                                 Jacksonville, FL 32209‐2503                                    First Class Mail
Chartered Organization         American Legion Post 197                                 Quapaw Area Council 018                401 W Lake St                                                    Manila, AR 72442                                               First Class Mail
Chartered Organization         American Legion Post 197 & Vfw 6858                      Blackhawk Area 660                     807 E Exchange St                                                Brodhead, WI 53520                                             First Class Mail
Chartered Organization         American Legion Post 1976                                Hawkeye Area Council 172               P.O. Box 277                                                     North Liberty, IA 52317‐0277                                   First Class Mail
Chartered Organization         American Legion Post 1977                                Rainbow Council 702                    14414 Ford Dr                                                    New Lenox, IL 60451‐8558                                       First Class Mail
Chartered Organization         American Legion Post 198                                 Northwest Texas Council 587            P.O. Box 1001                                                    Archer City, TX 76351‐1001                                     First Class Mail
Chartered Organization         American Legion Post 198                                 President Gerald R Ford 781            3060 Mantz St                                                    Lewiston, MI 49756‐8860                                        First Class Mail
Chartered Organization         American Legion Post 1982                                Transatlantic Council, Bsa 802         Cmr 454 Box N                                                    Apo, AE 09250                                                  First Class Mail
Chartered Organization         American Legion Post 199                                 Chief Seattle Council 609              Snoqualmie Vly Cntr                                              Carnation, WA 98014                                            First Class Mail
Chartered Organization         American Legion Post 199                                 Mobile Area Council‐Bsa 004            P.O. Box 473                                                     Fairhope, AL 36533‐0473                                        First Class Mail
Chartered Organization         American Legion Post 1992                                Denver Area Council 061                16070 E Dartmouth Ave                                            Aurora, CO 80013‐1993                                          First Class Mail
Chartered Organization         American Legion Post 2                                   Connecticut Rivers Council, Bsa 066    22 Hooker Ct                                                     Bristol, CT 06010‐6305                                         First Class Mail
Chartered Organization         American Legion Post 2                                   Montana Council 315                    3095 Villard Ave                                                 Helena, MT 59601‐0420                                          First Class Mail
Chartered Organization         American Legion Post 2                                   Montana Council 315                    P.O. Box 553                                                     Helena, MT 59624‐0553                                          First Class Mail
Chartered Organization         American Legion Post 2                                   Rocky Mountain Council 063             701 W 9th St                                                     Pueblo, CO 81003‐2204                                          First Class Mail
Chartered Organization         American Legion Post 2                                   Northern Star Council 250              1266 1st Ave E                                                   Shakopee, MN 55379‐1611                                        First Class Mail
Chartered Organization         American Legion Post 2 Seicheprey                        Connecticut Rivers Council, Bsa 066    22 Hooker Ct                                                     Bristol, CT 06010‐6305                                         First Class Mail
Chartered Organization         American Legion Post 20                                  Greater St Louis Area Council 312      108 E Jourdan St                                                 Newton, IL 62448‐1502                                          First Class Mail
Chartered Organization         American Legion Post 20                                  Longs Peak Council 062                 1602 US Hwy 6                                                    Sterling, CO 80751‐4814                                        First Class Mail
Chartered Organization         American Legion Post 200                                 Longs Peak Council 062                 436 Main St                                                      Bayard, NE 69334‐1414                                          First Class Mail
Chartered Organization         American Legion Post 200                                 Sam Houston Area Council 576           P.O. Box 730                                                     Wallis, TX 77485‐0730                                          First Class Mail
Chartered Organization         American Legion Post 200, Lincoln                        Longs Peak Council 062                 General Delivery                                                 Bayard, NE 69334                                               First Class Mail
Chartered Organization         American Legion Post 2008                                Pikes Peak Council 060                 11605 Meridian Market Vw PMB 221, Ste 124                        Falcon, CO 80831‐8237                                          First Class Mail
Chartered Organization         American Legion Post 201                                 Atlanta Area Council 092               201 Wills Rd                                                     Alpharetta, GA 30009‐6710                                      First Class Mail
Chartered Organization         American Legion Post 201                                 Northern New Jersey Council, Bsa 333   P.O. Box 201                                                     Livingston, NJ 07039‐0201                                      First Class Mail
Chartered Organization         American Legion Post 201                                 Northern Lights Council 429            325 Hodson Ave                                                   Minto, ND 58261                                                First Class Mail
Chartered Organization         American Legion Post 201                                 Central Minnesota 296                  187 1st St Se                                                    Mora, MN 55051‐1602                                            First Class Mail
Chartered Organization         American Legion Post 202                                 Pine Tree Council 218                  79 Foreside Rd                                                   Topsham, ME 04086‐5100                                         First Class Mail
Chartered Organization         American Legion Post 202                                 Pine Tree Council 218                  79 Foreside Rd                                                   Topsham, ME 04086‐5100                                         First Class Mail
Chartered Organization         American Legion Post 202 Brentwood                       Mt Diablo‐Silverado Council 023        P.O. Box 575                                                     Brentwood, CA 94513‐0575                                       First Class Mail
Chartered Organization         American Legion Post 203                                 Rocky Mountain Council 063             2420 Santa Fe Dr                                                 Pueblo, CO 81006‐1444                                          First Class Mail
Chartered Organization         American Legion Post 204                                 Ellsworth Fire Dept                    139 S Oak St                                                     Ellsworth, WI 54011                                            First Class Mail
Chartered Organization         American Legion Post 204                                 Chief Seattle Council 609              8456 41st Ave Sw                                                 Seattle, WA 98136‐2357                                         First Class Mail
Chartered Organization         American Legion Post 204                                 Lincoln Heritage Council 205           412 N New Albany St                                              Sellersburg, IN 47172‐1233                                     First Class Mail
Chartered Organization         American Legion Post 205                                 Pine Tree Council 218                  400 Eern Ave                                                     Augusta, ME 04330                                              First Class Mail
Chartered Organization         American Legion Post 206                                 National Capital Area Council 082      P.O. Box 428                                                     Chesapeake Beach, MD 20732‐0428                                First Class Mail
Chartered Organization         American Legion Post 206                                 National Capital Area Council 082      3330 Chesapeake Beach Rd                                         Chesapeake Beach, MD 20732‐4518                                First Class Mail
Chartered Organization         American Legion Post 206                                 Middle Tennessee Council 560           2912 Hwy 31 W                                                    White House, TN 37188                                          First Class Mail
Chartered Organization         American Legion Post 207                                 Twin Valley Council Bsa 283            319 Broadway St                                                  Cleveland, MN 56017‐2002                                       First Class Mail
Chartered Organization         American Legion Post 207 Uss San Diego                   Winnebago Council, Bsa 173             302 Cedar St                                                     La Porte City, IA 50651‐1720                                   First Class Mail
Chartered Organization         American Legion Post 208                                 Bucktail Council 509                   330 Main St                                                      Ridgway, PA 15853‐1039                                         First Class Mail
Chartered Organization         American Legion Post 208                                 Glaciers Edge Council 620              120 W Harvey St                                                  Rio, WI 53960                                                  First Class Mail
Chartered Organization         American Legion Post 208                                 Overland Trails 322                    P.O. Box 371                                                     Sutherland, NE 69165‐0371                                      First Class Mail
Chartered Organization         American Legion Post 208                                 Calcasieu Area Council 209             5461 Joe Courville Rd                                            Vinton, LA 70668                                               First Class Mail
Chartered Organization         American Legion Post 208 Millis                          Mayflower Council 251                  136 Curve St                                                     Millis, MA 02054                                               First Class Mail
Chartered Organization         American Legion Post 209                                 Northern Star Council 250              P.O. Box 336                                                     Cokato, MN 55321‐0336                                          First Class Mail
Chartered Organization         American Legion Post 209                                 Pikes Peak Council 060                 3613 Jeannine Dr                                                 Colorado Springs, CO 80917‐8002                                First Class Mail
Chartered Organization         American Legion Post 209                                 Hawkeye Area Council 172               3315 Jones Delaware Rd                                           Monticello, IA 52310‐8306                                      First Class Mail
Chartered Organization         American Legion Post 209                                 Grand Columbia Council 614             538 W Broadway Ave                                               Moses Lake, WA 98837‐1926                                      First Class Mail
Chartered Organization         American Legion Post 209                                 Patriots Path Council 358              237 Park Ave                                                     Scotch Plains, NJ 07076‐1056                                   First Class Mail
Chartered Organization         American Legion Post 209 Orfordville                     Glaciers Edge Council 620              3913 S State Rd 213                                              Orfordville, WI 53576                                          First Class Mail
Chartered Organization         American Legion Post 21                                  Pine Tree Council 218                  200 Congress Ave                                                 Bath, ME 04530‐1539                                            First Class Mail
Chartered Organization         American Legion Post 21                                  Winnebago Council, Bsa 173             314 2nd Ave Sw                                                   Buffalo Center, IA 50424‐1181                                  First Class Mail
Chartered Organization         American Legion Post 21                                  Jayhawk Area Council 197               812 Main St                                                      Seneca, KS 66538‐1934                                          First Class Mail
Chartered Organization         American Legion Post 210                                 Mid‐America Council 326                740 Main St                                                      Anita, IA 50020                                                First Class Mail
Chartered Organization         American Legion Post 210                                 Prairielands 117                       201 Prospect Pl                                                  Danville, IL 61832‐1818                                        First Class Mail
Chartered Organization         American Legion Post 210                                 Washington Crossing Council 777        315 North St                                                     Doylestown, PA 18901‐3811                                      First Class Mail
Chartered Organization         American Legion Post 210                                 Lasalle Council 165                    103 York Dr                                                      Middlebury, IN 46540‐9116                                      First Class Mail
Chartered Organization         American Legion Post 210                                 Bay‐Lakes Council 635                  130 N State St                                                   Waupun, WI 53963‐1440                                          First Class Mail
Chartered Organization         American Legion Post 210 & Vfw                           Twin Valley Council Bsa 283            P.O. Box 83                                                      Wells, MN 56097‐0083                                           First Class Mail
Chartered Organization         American Legion Post 211 ‐ Avon Lake                     Lake Erie Council 440                  31972 Walker Rd                                                  Avon Lake, OH 44012‐2045                                       First Class Mail
Chartered Organization         American Legion Post 214                                 Blackhawk Area 660                     P.O. Box 163                                                     Darlington, WI 53530‐0163                                      First Class Mail
Chartered Organization         American Legion Post 214                                 Blackhawk Area 660                     1400 Keep St                                                     Darlington, WI 53530‐9596                                      First Class Mail
Chartered Organization         American Legion Post 214                                 Hudson Valley Council 374              P.O. Box 491                                                     Warwick, NY 10990‐0491                                         First Class Mail
Chartered Organization         American Legion Post 214                                 Pine Tree Council 218                  P.O. Box 176                                                     York, ME 03909‐0176                                            First Class Mail
Chartered Organization         American Legion Post 215                                 Heart of Virginia Council 602          P.O. Box 17                                                      Goochland, VA 23063‐0017                                       First Class Mail
Chartered Organization         American Legion Post 216                                 Mid‐America Council 326                11690 S 216th St                                                 Gretna, NE 68028‐4700                                          First Class Mail
Chartered Organization         American Legion Post 217                                 Great Lakes Fsc 272                    2817 Van Alstyne St                                              Wyandotte, MI 48192‐5219                                       First Class Mail
Chartered Organization         American Legion Post 217‐Baudette                        Voyageurs Area 286                     115 N Main Ave                                                   Baudette, MN 56623                                             First Class Mail
Chartered Organization         American Legion Post 218                                 Cornhusker Council 324                 P.O. Box 213                                                     Exeter, NE 68351‐0213                                          First Class Mail
Chartered Organization         American Legion Post 219                                 Great Rivers Council 653               204 W Mety Ave                                                   Memphis, MO 63555‐1652                                         First Class Mail
Chartered Organization         American Legion Post 22                                  Las Vegas Area Council 328             3435 N Verde Rd                                                  Golden Valley, AZ 86413‐8628                                   First Class Mail
Chartered Organization         American Legion Post 22                                  Greater Yosemite Council 059           P.O. Box 521                                                     Lodi, CA 95241‐0521                                            First Class Mail
Chartered Organization         American Legion Post 22                                  Denver Area Council 061                11081 Irma Dr                                                    Northglenn, CO 80233‐3618                                      First Class Mail
Chartered Organization         American Legion Post 220                                 Northeast Georgia Council 101          P.O. Box 403                                                     Clayton, GA 30525‐0011                                         First Class Mail
Chartered Organization         American Legion Post 221                                 Gulf Coast Council 773                 444 John Sims Pkwy E                                             Niceville, FL 32578‐2026                                       First Class Mail
Chartered Organization         American Legion Post 222                                 Muskingum Valley Council, Bsa 467      P.O. Box 221                                                     Crooksville, OH 43731‐0221                                     First Class Mail
Chartered Organization         American Legion Post 222                                 Water and Woods Council 782            194 1/2 S Main St                                                Vermontville, MI 49096                                         First Class Mail
Chartered Organization         American Legion Post 223                                 Southern Shores Fsc 783                65079 US Hwy 131 N                                               Constantine, MI 49042‐9670                                     First Class Mail
Chartered Organization         American Legion Post 223                                 Mayflower Council 251                  P.O. Box 1113                                                    Duxbury, MA 02331‐1113                                         First Class Mail
Chartered Organization         American Legion Post 223                                 Gateway Area 624                       928 Mitscher Ave                                                 Hillsboro, WI 54634‐4230                                       First Class Mail
Chartered Organization         American Legion Post 223                                 Winnebago Council, Bsa 173             113 E 1st St                                                     Sumner, IA 50674‐1429                                          First Class Mail
Chartered Organization         American Legion Post 223 Sykesville                      Baltimore Area Council 220             7327 Slacks Rd                                                   Sykesville, MD 21784‐5982                                      First Class Mail
Chartered Organization         American Legion Post 224                                 Gateway Area 624                       501 N Main St                                                    Alma, WI 54610‐7711                                            First Class Mail
Chartered Organization         American Legion Post 224                                 Western Massachusetts Council 234      190 Pleasant St                                                  Easthampton, MA 01027‐8500                                     First Class Mail
Chartered Organization         American Legion Post 226                                 Indian Nations Council 488             P.O. Box 112                                                     Coweta, OK 74429‐0112                                          First Class Mail
Chartered Organization         American Legion Post 226                                 Indian Nations Council 488             14083 S State Hwy 51 200                                         Coweta, OK 74429‐7100                                          First Class Mail
Chartered Organization         American Legion Post 226                                 Sam Houston Area Council 576           P.O. Box 53                                                      East Bernard, TX 77435‐0053                                    First Class Mail
Chartered Organization         American Legion Post 226                                 Baltimore Area Council 220             830 Mayo Rd                                                      Edgewater, MD 21037‐3839                                       First Class Mail
Chartered Organization         American Legion Post 227                                 National Capital Area Council 082      13505 Cherry Tree Crossing Rd                                    Brandywine, MD 20613‐7771                                      First Class Mail
Chartered Organization         American Legion Post 227                                 President Gerald R Ford 781            305 Main St                                                      East Jordan, MI 49727‐5127                                     First Class Mail
Chartered Organization         American Legion Post 227                                 The Spirit of Adventure 227            P.O. Box 227                                                     Middleton, MA 01949‐0327                                       First Class Mail
Chartered Organization         American Legion Post 227                                 Northern Star Council 250              W230 1st St                                                      Spring Valley, WI 54767                                        First Class Mail
Chartered Organization         American Legion Post 229                                 Greater Alabama Council 001            P.O. Box 194                                                     Madison, AL 35758‐0194                                         First Class Mail
Chartered Organization         American Legion Post 23                                  Montana Council 315                    American Legion Post 23                                          Livingston, MT 59047                                           First Class Mail
Chartered Organization         American Legion Post 23                                  Daniel Webster Council, Bsa 330        15 Cottage St                                                    Milford, NH 03055‐4806                                         First Class Mail
Chartered Organization         American Legion Post 23                                  Middle Tennessee Council 560           P.O. Box 411                                                     Shelbyville, TN 37162‐0411                                     First Class Mail
Chartered Organization         American Legion Post 231                                 Hoosier Trails Council 145 145         119 Bridgeway St                                                 Aurora, IN 47001‐1331                                          First Class Mail
Chartered Organization         American Legion Post 232                                 Erie Shores Council 460                12580 US Route 24                                                Grand Rapids, OH 43522‐9685                                    First Class Mail
Chartered Organization         American Legion Post 232                                 Northeast Georgia Council 101          P.O. Box 232                                                     Snellville, GA 30078‐0232                                      First Class Mail
Chartered Organization         American Legion Post 232                                 Northeast Georgia Council 101          3163 Main St W                                                   Snellville, GA 30078‐7413                                      First Class Mail
Chartered Organization         American Legion Post 233                                 Northeast Georgia Council 101          P.O. Box 511                                                     Loganville, GA 30052‐0511                                      First Class Mail
Chartered Organization         American Legion Post 233 Charlton Polan                  Great Lakes Fsc 272                    164 S Broadway St                                                Lake Orion, MI 48362‐3110                                      First Class Mail
Chartered Organization         American Legion Post 233 Elk Grove                       Golden Empire Council 047              P.O. Box 161                                                     Elk Grove, CA 95759‐0161                                       First Class Mail
Chartered Organization         American Legion Post 234                                 Mount Baker Council, Bsa 606           22909 56th Ave W                                                 Mountlake Terrace, WA 98043‐3923                               First Class Mail
Chartered Organization         American Legion Post 234                                 Daugherty‐Hamilton                     P.O. Box 234                                                     Omro, WI 54963‐0234                                            First Class Mail
Chartered Organization         American Legion Post 236 ‐ Ernest Haucke                 c/o Maynard Zima                       201 Lakeview Dr                                                  Algoma, WI 54201‐1053                                          First Class Mail
Chartered Organization         American Legion Post 237                                 W D Boyce 138                          410 Clark St                                                     Oglesby, IL 61348‐1106                                         First Class Mail
Chartered Organization         American Legion Post 237                                 San Francisco Bay Area Council 028     P.O. Box 823                                                     Pleasanton, CA 94566‐0082                                      First Class Mail
Chartered Organization         American Legion Post 237                                 Cornhusker Council 324                 301 W Eldora Ave                                                 Weeping Water, NE 68463‐4251                                   First Class Mail
Chartered Organization         American Legion Post 238                                 National Capital Area Council 082      P.O. Box 527                                                     Hughesville, MD 20637‐0527                                     First Class Mail
Chartered Organization         American Legion Post 238                                 Pacific Skyline Council 031            555 Buel Ave                                                     Pacifica, CA 94044‐3204                                        First Class Mail
Chartered Organization         American Legion Post 238 Dewitt Lions                    Illowa Council 133                     704 9th St                                                       De Witt, IA 52742‐1316                                         First Class Mail
Chartered Organization         American Legion Post 24                                  Daniel Webster Council, Bsa 330        644 Dublin Rd                                                    Marlborough, NH 03455                                          First Class Mail
Chartered Organization         American Legion Post 24                                  Blue Mountain Council 604              P.O. Box 261                                                     Milton Freewater, OR 97862‐0261                                First Class Mail
Chartered Organization         American Legion Post 24                                  Trapper Trails 589                     551 Broadway St                                                  Rock Springs, WY 82901‐6345                                    First Class Mail
Chartered Organization         American Legion Post 24                                  Northern Lights Council 429            321 Main Ave N                                                   Roseau, MN 56751‐1703                                          First Class Mail
Chartered Organization         American Legion Post 240                                 Erie Shores Council 460                335 Park Dr                                                      Luckey, OH 43443‐9642                                          First Class Mail
Chartered Organization         American Legion Post 240                                 Texas Trails Council 561               801 E Washington St                                              Stephenville, TX 76401‐4553                                    First Class Mail
Chartered Organization         American Legion Post 242                                 Central Florida Council 083            17142 E Colonial Dr                                              Orlando, FL 32820‐2203                                         First Class Mail
Chartered Organization         American Legion Post 242                                 Evangeline Area 212                    P.O. Box 730                                                     Patterson, LA 70392‐0730                                       First Class Mail
Chartered Organization         American Legion Post 243008                              Mississippi Valley Council 141 141     P.O. Box 112                                                     Mediapolis, IA 52637‐0112                                      First Class Mail
Chartered Organization         American Legion Post 245                                 Patriots Path Council 358              210 Espanong Rd                                                  Lake Hopatcong, NJ 07849                                       First Class Mail
Chartered Organization         American Legion Post 246                                 Anthony Wayne Area 157                 410 E Park Dr                                                    Albion, IN 46701‐1702                                          First Class Mail
Chartered Organization         American Legion Post 246                                 Mt Diablo‐Silverado Council 023        P.O. Box 133                                                     Danville, CA 94526‐0133                                        First Class Mail
Chartered Organization         American Legion Post 246                                 Northern Lights Council 429            P.O. Box 62                                                      Elgin, ND 58533‐0062                                           First Class Mail
Chartered Organization         American Legion Post 248                                 Sagamore Council 162                   P.O. Box 66                                                      Lagro, IN 46941‐0066                                           First Class Mail
Chartered Organization         American Legion Post 248                                 Sagamore Council 162                   800 Washington St                                                Lagro, IN 46941‐5420                                           First Class Mail
Chartered Organization         American Legion Post 249                                 Patriots Path Council 358              33 Phillip Dr                                                    Parsippany, NJ 07054‐4370                                      First Class Mail
Chartered Organization         American Legion Post 25                                  Conquistador Council Bsa 413           2400 W 7th St                                                    Clovis, NM 88101‐2222                                          First Class Mail
Chartered Organization         American Legion Post 25                                  San Diego Imperial Council 049         569 Broadway Ave                                                 El Centro, CA 92243‐2417                                       First Class Mail
Chartered Organization         American Legion Post 25                                  Greater Tampa Bay Area 089             1490 US 27 N                                                     Lake Placid, FL 33852‐7952                                     First Class Mail
Chartered Organization         American Legion Post 250                                 North Florida Council 087              2608 Black Creek Dr                                              Middleburg, FL 32068‐5710                                      First Class Mail
Chartered Organization         American Legion Post 250                                 Hoosier Trails Council 145 145         P.O. Box 154                                                     Mitchell, IN 47446‐0154                                        First Class Mail
Chartered Organization         American Legion Post 252                                 Crossroads of America 160              334 US Hwy 31 S                                                  Greenwood, IN 46142‐3120                                       First Class Mail
Chartered Organization         American Legion Post 252                                 Heart of Virginia Council 602          14576 Kings Hwy                                                  Montross, VA 22520                                             First Class Mail
Chartered Organization         American Legion Post 252                                 Garden State Council 690               20 Sicklerville Rd                                               Williamstown, NJ 08094‐1428                                    First Class Mail
Chartered Organization         American Legion Post 253                                 Great Lakes Fsc 272                    1505 N Main St                                                   Royal Oak, MI 48067‐1319                                       First Class Mail
Chartered Organization         American Legion Post 254                                 Northern Star Council 250              301 2nd Ave Sw                                                   Milltown, WI 54858‐9077                                        First Class Mail
Chartered Organization         American Legion Post 254                                 Southwest Florida Council 088          6648 Taneytown St                                                North Port, FL 34291‐4709                                      First Class Mail
Chartered Organization         American Legion Post 256                                 Seneca Waterways 397                   454 N Main St                                                    Canandaigua, NY 14424‐1049                                     First Class Mail
Chartered Organization         American Legion Post 258                                 Bay‐Lakes Council 635                  402 W Mckinley Ave                                               Little Chute, WI 54140‐1642                                    First Class Mail
Chartered Organization         American Legion Post 258                                 Anthony Wayne Area 157                 P.O. Box 535                                                     Pierceton, IN 46562‐0535                                       First Class Mail
Chartered Organization         American Legion Post 258                                 Istrouma Area Council 211              P.O. Box 252                                                     Springfield, LA 70462‐0252                                     First Class Mail
Chartered Organization         American Legion Post 259                                 National Capital Area Council 082      9122 Piscataway Rd                                               Clinton, MD 20735‐2530                                         First Class Mail
Chartered Organization         American Legion Post 26                                  Southern Sierra Council 030            2020 H St                                                        Bakersfield, CA 93301‐3920                                     First Class Mail
Chartered Organization         American Legion Post 26                                  Leatherstocking 400                    Main St                                                          Clark Mills, NY 13321                                          First Class Mail
Chartered Organization         American Legion Post 26                                  Illowa Council 133                     702 W 35th St                                                    Davenport, IA 52806‐5805                                       First Class Mail
Chartered Organization         American Legion Post 26                                  Northern Lights Council 429            9 27th St Nw                                                     Minot, ND 58703‐2868                                           First Class Mail
Chartered Organization         American Legion Post 26                                  Greater Wyoming Council 638            143 S Clark St                                                   Powell, WY 82435‐2717                                          First Class Mail
Chartered Organization         American Legion Post 26                                  W D Boyce 138                          213 N Main                                                       Vermont, IL 61484                                              First Class Mail
Chartered Organization         American Legion Post 26                                  Green Mountain 592                     129 S Main St                                                    White River Junction, VT 05001‐7400                            First Class Mail
Chartered Organization         American Legion Post 260                                 Northern Star Council 250              304 Elm St                                                       Monticello, MN 55362‐8713                                      First Class Mail
Chartered Organization         American Legion Post 261                                 Great Lakes Fsc 272                    P.O. Box 143                                                     Eastpointe, MI 48021‐0143                                      First Class Mail
Chartered Organization         American Legion Post 261                                 Greater Los Angeles Area 033           4542 Peck Rd                                                     El Monte, CA 91732‐1959                                        First Class Mail
Chartered Organization         American Legion Post 261                                 Patriots Path Council 358              840 S Washington Ave                                             Piscataway, NJ 08854‐3035                                      First Class Mail
Chartered Organization         American Legion Post 262                                 Black Swamp Area Council 449           350 Randolph St                                                  Hamler, OH 43524‐7019                                          First Class Mail
Chartered Organization         American Legion Post 263                                 Patriots Path Council 358              1155 Roosevelt Ave                                               Carteret, NJ 07008‐1537                                        First Class Mail
Chartered Organization         American Legion Post 263 ‐ New London                    Bay‐Lakes Council 635                  840 E N Water St                                                 New London, WI 54961                                           First Class Mail
Chartered Organization         American Legion Post 265                                 Black Swamp Area Council 449           1105 N Shoop Ave                                                 Wauseon, OH 43567‐1829                                         First Class Mail
Chartered Organization         American Legion Post 266                                 Western Massachusetts Council 234      74 Pleasant St                                                   Granby, MA 01033‐3319                                          First Class Mail
Chartered Organization         American Legion Post 268                                 Winnebago Council, Bsa 173             10068 Sandhill Rd                                                Greene, IA 50636‐9269                                          First Class Mail
Chartered Organization         American Legion Post 268                                 National Capital Area Council 082      11225 Fern St                                                    Wheaton, MD 20902‐4626                                         First Class Mail
Chartered Organization         American Legion Post 27                                  Great Salt Lake Council 590            2038 Chapman Pl                                                  Farmington, UT 84025‐2873                                      First Class Mail
Chartered Organization         American Legion Post 27                                  Daniel Webster Council, Bsa 330        6 Sargent Rd                                                     Londonderry, NH 03053                                          First Class Mail
Chartered Organization         American Legion Post 27                                  Green Mountain 592                     P.O. Box 28                                                      Middlebury, VT 05753‐0028                                      First Class Mail
Chartered Organization         American Legion Post 27                                  Green Mountain 592                     P.O. Box 28                                                      Middlebury, VT 05753‐0028                                      First Class Mail
Chartered Organization         American Legion Post 270                                 Pathway To Adventure 456               1113 Taft St                                                     Gary, IN 46404‐2225                                            First Class Mail
Chartered Organization         American Legion Post 271                                 Western Massachusetts Council 234      162 Russell St                                                   Hadley, MA 01035‐9580                                          First Class Mail
Chartered Organization         American Legion Post 271                                 Evangeline Area 212                    P.O. Box 303                                                     Kaplan, LA 70548‐0303                                          First Class Mail
Chartered Organization         American Legion Post 271                                 Gulf Stream Council 085                775 N US Hwy 1                                                   Tequesta, FL 33469‐2741                                        First Class Mail
Chartered Organization         American Legion Post 273                                 Northeast Iowa Council 178             111 Market St                                                    Bellevue, IA 52031‐1215                                        First Class Mail
Chartered Organization         American Legion Post 274                                 National Capital Area Council 082      11820 Hg Trueman Rd                                              Lusby, MD 20657‐2999                                           First Class Mail
Chartered Organization         American Legion Post 274                                 Water and Woods Council 782            849 S State St                                                   Oscoda, MI 48750‐1683                                          First Class Mail
Chartered Organization         American Legion Post 276                                 Crossroads of America 160              327 Main St                                                      Beech Grove, IN 46107‐1835                                     First Class Mail
Chartered Organization         American Legion Post 277                                 Gateway Area 624                       P.O. Box 322                                                     Necedah, WI 54646‐0322                                         First Class Mail
Chartered Organization         American Legion Post 277                                 Orange County Council 039              230 S Bradford Ave                                               Placentia, CA 92870‐5615                                       First Class Mail
Chartered Organization         American Legion Post 277                                 Central Minnesota 296                  P.O. Box 6                                                       Sartell, MN 56377‐0006                                         First Class Mail
Chartered Organization         American Legion Post 278                                 Westmoreland Fayette 512               86 N Morgantown St                                               Fairchance, PA 15436‐1043                                      First Class Mail
Chartered Organization         American Legion Post 278                                 Winnebago Council, Bsa 173             504 Main St                                                      Osage, IA 50461‐1217                                           First Class Mail
Chartered Organization         American Legion Post 279                                 Erie Shores Council 460                P.O. Box 612                                                     Elmore, OH 43416‐0612                                          First Class Mail
Chartered Organization         American Legion Post 279                                 Patriots Path Council 358              133 Main St                                                      Lincoln Park, NJ 07035‐1737                                    First Class Mail
Chartered Organization         American Legion Post 279                                 Great Rivers Council 653               103 S Elm St                                                     Sweet Springs, MO 65351‐1201                                   First Class Mail
Chartered Organization         American Legion Post 279                                 Great Rivers Council 653               903 N Miller St                                                  Sweet Springs, MO 65351‐9400                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 12 of 442
                                                                                Case 20-10343-LSS                                      Doc 8171                                        Filed 01/06/22                                Page 28 of 457
                                                                                                                                                                    Exhibit B
                                                                                                                                                                     Service List
                                                                                                                                                              Served as set forth below

        Description                                                      Name                                                                                     Address                                                                                       Email              Method of Service
Chartered Organization         American Legion Post 279                                Middle Tennessee Council 560            P.O. Box 141                                            Woodbury, TN 37190‐0141                                                          First Class Mail
Chartered Organization         American Legion Post 28                                 Great Alaska Council 610                7001 Brayton Dr                                         Anchorage, AK 99507‐2488                                                         First Class Mail
Chartered Organization         American Legion Post 28                                 Far E Council 803                       Psc 557 Box 1060                                        Fpo, AP 96379‐0011                                                               First Class Mail
Chartered Organization         American Legion Post 28                                 Crater Lake Council 491                 206 NW F St                                             Grants Pass, OR 97526‐2050                                                       First Class Mail
Chartered Organization         American Legion Post 28                                 Lincoln Heritage Council 205            1930 Mcdonald Ln                                        New Albany, IN 47150‐2404                                                        First Class Mail
Chartered Organization         American Legion Post 28                                 National Capital Area Council 082       17934 Liming Ln                                         Triangle, VA 22172‐1622                                                          First Class Mail
Chartered Organization         American Legion Post 280                                Greater Los Angeles Area 033            179 N Vinedo Ave                                        Pasadena, CA 91107‐3462                                                          First Class Mail
Chartered Organization         American Legion Post 281                                Twin Valley Council Bsa 283             P.O. Box 335                                            Janesville, MN 56048‐0335                                                        First Class Mail
Chartered Organization         American Legion Post 281                                Twin Valley Council Bsa 283             317 E South St                                          Janesville, MN 56048‐3058                                                        First Class Mail
Chartered Organization         American Legion Post 281                                Middle Tennessee Council 560            P.O. Box 67                                             Mount Juliet, TN 37121‐0067                                                      First Class Mail
Chartered Organization         American Legion Post 282                                National Capital Area Council 082       101 W Elizabeth St                                      Woodsboro, MD 21798‐8600                                                         First Class Mail
Chartered Organization         American Legion Post 283                                North Florida Council 087               9459 Fort Caroline Rd                                   Jacksonville, FL 32225‐4354                                                      First Class Mail
Chartered Organization         American Legion Post 283                                Simon Kenton Council 441                7725 Refugee Rd                                         Pickerington, OH 43147‐7986                                                      First Class Mail
Chartered Organization         American Legion Post 284                                Gateway Area 624                        419 1st Ave E                                           Holmen, WI 54636‐9627                                                            First Class Mail
Chartered Organization         American Legion Post 285                                Pony Express Council 311                308 James St                                            Hamilton, MO 64644‐1333                                                          First Class Mail
Chartered Organization         American Legion Post 285                                French Creek Council 532                120 W 4th St                                            Waterford, PA 16441‐9762                                                         First Class Mail
Chartered Organization         American Legion Post 287                                Pony Express Council 311                P.O. Box 186                                            Savannah, MO 64485‐0186                                                          First Class Mail
Chartered Organization         American Legion Post 288                                Verdugo Hills Council 058               4011 La Crescenta Ave                                   La Crescenta, CA 91214‐3830                                                      First Class Mail
Chartered Organization         American Legion Post 288                                Prairielands 117                        116 E 1st St                                            Veedersburg, IN 47987‐1402                                                       First Class Mail
Chartered Organization         American Legion Post 288 ‐ Cedarburg                    Bay‐Lakes Council 635                   W57N481 Hilbert Ave                                     Cedarburg, WI 53012                                                              First Class Mail
Chartered Organization         American Legion Post 289                                Middle Tennessee Council 560            P.O. Box 289                                            Clarksville, TN 37041‐0289                                                       First Class Mail
Chartered Organization         American Legion Post 289                                Middle Tennessee Council 560            P.O. Box 2641                                           Clarksville, TN 37042‐2641                                                       First Class Mail
Chartered Organization         American Legion Post 289                                Leatherstocking 400                     210 Pennsylvania Ave                                    Hancock, NY 13783‐1061                                                           First Class Mail
Chartered Organization         American Legion Post 289                                Evangeline Area 212                     1080 Main St                                            Parks, LA 70582‐6639                                                             First Class Mail
Chartered Organization         American Legion Post 289                                Northern New Jersey Council, Bsa 333    177 Lincoln Ave                                         West Milford, NJ 07480‐4726                                                      First Class Mail
Chartered Organization         American Legion Post 29                                 Great Alaska Council 610                1467 Muldoon Rd                                         Anchorage, AK 99504‐2801                                                         First Class Mail
Chartered Organization         American Legion Post 29                                 Atlanta Area Council 092                921 Gresham Ave Ne                                      Marietta, GA 30060‐2121                                                          First Class Mail
Chartered Organization         American Legion Post 290                                National Capital Area Council 082       P.O. Box 125                                            Stafford, VA 22555‐0125                                                          First Class Mail
Chartered Organization         American Legion Post 291                                Rip Van Winkle Council 405              P.O. Box 132                                            Greenville, NY 12083‐0132                                                        First Class Mail
Chartered Organization         American Legion Post 291                                Orange County Council 039               215 15th St                                             Newport Beach, CA 92663‐4556                                                     First Class Mail
Chartered Organization         American Legion Post 293                                North Florida Council 087               P.O. Box 592                                            Interlachen, FL 32148‐0592                                                       First Class Mail
Chartered Organization         American Legion Post 294                                Rainbow Council 702                     212 W Washington St                                     Morris, IL 60450‐2147                                                            First Class Mail
Chartered Organization         American Legion Post 294                                Garden State Council 690                39 Fort Dix Rd                                          Pemberton, NJ 08068‐1439                                                         First Class Mail
Chartered Organization         American Legion Post 294                                Atlanta Area Council 092                3282 Florence Rd                                        Powder Springs, GA 30127‐3854                                                    First Class Mail
Chartered Organization         American Legion Post 295                                Chippewa Valley Council 637             P.O. Box 71                                             Bloomer, WI 54724‐0071                                                           First Class Mail
Chartered Organization         American Legion Post 295                                Orange County Council 039               5646 Corporate Ave                                      Cypress, CA 90630‐4728                                                           First Class Mail
Chartered Organization         American Legion Post 295                                East Carolina Council 426               585 US Hwy 70 Davis                                     Davis, NC 28524‐7031                                                             First Class Mail
Chartered Organization         American Legion Post 295                                National Capital Area Council 082       19401 Walter Johnson Rd                                 Germantown, MD 20874‐2601                                                        First Class Mail
Chartered Organization         American Legion Post 295                                National Capital Area Council 082       P.O. Box 690                                            Germantown, MD 20875‐0690                                                        First Class Mail
Chartered Organization         American Legion Post 295                                National Capital Area Council 082       P.O. Box 1529                                           Middleburg, VA 20118‐1529                                                        First Class Mail
Chartered Organization         American Legion Post 297                                Longhorn Council 662                    8201 Old Benbrook Rd                                    Fort Worth, TX 76126‐2001                                                        First Class Mail
Chartered Organization         American Legion Post 297                                Northern Lights Council 429             101 Benefit Ln                                          Harwood, ND 58042‐4215                                                           First Class Mail
Chartered Organization         American Legion Post 297                                Lasalle Council 165                     486 E Michigan St                                       New Carlisle, IN 46552                                                           First Class Mail
Chartered Organization         American Legion Post 297 Union                          Greater St Louis Area Council 312       205 N Washington Ave                                    Union, MO 63084‐1677                                                             First Class Mail
Chartered Organization         American Legion Post 298                                Hawkeye Area Council 172                625 31st St                                             Marion, IA 52302‐3782                                                            First Class Mail
Chartered Organization         American Legion Post 299                                Bay‐Lakes Council 635                   P.O. Box 1518                                           Mackinac Island, MI 49757‐1518                                                   First Class Mail
Chartered Organization         American Legion Post 299 Chino                          California Inland Empire Council 045    13759 Central Ave                                       Chino, CA 91710‐5526                                                             First Class Mail
Chartered Organization         American Legion Post 3                                  Samoset Council, Bsa 627                1216 Elm St                                             Antigo, WI 54409‐1531                                                            First Class Mail
Chartered Organization         American Legion Post 3                                  Grand Canyon Council 010                204 W Birch Ave                                         Flagstaff, AZ 86001‐4410                                                         First Class Mail
Chartered Organization         American Legion Post 3                                  Crossroads of America 160               6379 N College Ave                                      Indianapolis, IN 46220‐1705                                                      First Class Mail
Chartered Organization         American Legion Post 3 Hanford                          Sequoia Council 027                     401 N Irwin St                                          Hanford, CA 93230‐4425                                                           First Class Mail
Chartered Organization         American Legion Post 30                                 Chief Seattle Council 609               615 Kendall St                                          Port Orchard, WA 98366‐4331                                                      First Class Mail
Chartered Organization         American Legion Post 30                                 Nevada Area Council 329                 664 Sheffield Ct                                        Sparks, NV 89431‐2463                                                            First Class Mail
Chartered Organization         American Legion Post 30                                 Nevada Area Council 329                 1200 Locust St                                          Sparks, NV 89432                                                                 First Class Mail
Chartered Organization         American Legion Post 30 Banbridge                       Nevada Area Council 329                 664 Sheffield Ct                                        Sparks, NV 89431‐2463                                                            First Class Mail
Chartered Organization         American Legion Post 300                                Baltimore Area Council 220              5456 Hound Hill Ct                                      Columbia, MD 21045‐2238                                                          First Class Mail
Chartered Organization         American Legion Post 300                                Alamo Area Council 583                  3290 Grosenbacher Rd                                    San Antonio, TX 78245‐3672                                                       First Class Mail
Chartered Organization         American Legion Post 302                                Narragansett 546                        P.O. Box 1                                              Rehoboth, MA 02769‐0001                                                          First Class Mail
Chartered Organization         American Legion Post 303                                Narragansett 546                        73 Ocean Grove Ave                                      Swansea, MA 02777‐2520                                                           First Class Mail
Chartered Organization         American Legion Post 304                                Theodore Roosevelt Council 386          27 Bayview Ave                                          Manhasset, NY 11030‐1803                                                         First Class Mail
Chartered Organization         American Legion Post 305                                President Gerald R Ford 781             9548 Cherry Valley Ave Se                               Caledonia, MI 49316‐9564                                                         First Class Mail
Chartered Organization         American Legion Post 306 ‐ Green Lake                   Bay‐Lakes Council 635                   550 Highknocker Trl                                     Green Lake, WI 54941‐9634                                                        First Class Mail
Chartered Organization         American Legion Post 307                                Ozark Trails Council 306                109 N Calhoun Ave                                       Ash Grove, MO 65604‐8842                                                         First Class Mail
Chartered Organization         American Legion Post 307                                Black Swamp Area Council 449            107 W 1st St                                            Pioneer, OH 43554                                                                First Class Mail
Chartered Organization         American Legion Post 307, Inc                           Northeast Georgia Council 101           P.O. Box 2624                                           Cumming, GA 30028‐6507                                                           First Class Mail
Chartered Organization         American Legion Post 309                                Hawkeye Area Council 172                505 E 1st St                                            Mechanicsville, IA 52306‐9531                                                    First Class Mail
Chartered Organization         American Legion Post 31                                 Southern Shores Fsc 783                 557 1/2 Chandler St                                     Chelsea, MI 48118‐1528                                                           First Class Mail
Chartered Organization         American Legion Post 31                                 Connecticut Rivers Council, Bsa 066     Kent Rd                                                 New Milford, CT 06776                                                            First Class Mail
Chartered Organization         American Legion Post 311                                WLACC 051                               44355 40th St E                                         Lancaster, CA 93535‐8101                                                         First Class Mail
Chartered Organization         American Legion Post 311                                Abraham Lincoln Council 144             101 Main St                                             Murrayville, IL 62668‐6118                                                       First Class Mail
Chartered Organization         American Legion Post 311                                Narragansett 546                        351 Fall River Ave                                      Seekonk, MA 02771‐5508                                                           First Class Mail
Chartered Organization         American Legion Post 313                                Marin Council 035                       P.O. Box 313                                            Larkspur, CA 94977‐0313                                                          First Class Mail
Chartered Organization         American Legion Post 313                                Greater St Louis Area Council 312       200 Main St                                             Saint Peters, MO 63376‐3914                                                      First Class Mail
Chartered Organization         American Legion Post 314                                Twin Valley Council Bsa 283             P.O. Box 456                                            Winthrop, MN 55396‐0456                                                          First Class Mail
Chartered Organization         American Legion Post 316                                North Florida Council 087               1127 Atlantic Blvd                                      Atlantic Beach, FL 32233‐2516                                                    First Class Mail
Chartered Organization         American Legion Post 317                                Greater St Louis Area Council 312       Rr 1 Box 161                                            Oconee, IL 62553                                                                 First Class Mail
Chartered Organization         American Legion Post 32                                 West Tennessee Area Council 559         235 E Church St                                         Alamo, TN 38001‐1106                                                             First Class Mail
Chartered Organization         American Legion Post 32                                 Oregon Trail Council 697                P.O. Box 4                                              Cottage Grove, OR 97424‐0001                                                     First Class Mail
Chartered Organization         American Legion Post 32                                 Pee Dee Area Council 552                P.O. Box 11                                             Dillon, SC 29536‐0011                                                            First Class Mail
Chartered Organization         American Legion Post 32                                 Great Lakes Fsc 272                     9318 Newburgh Rd                                        Livonia, MI 48150‐3429                                                           First Class Mail
Chartered Organization         American Legion Post 32                                 Longs Peak Council 062                  315 S Bowen St                                          Longmont, CO 80501‐6157                                                          First Class Mail
Chartered Organization         American Legion Post 32                                 Mid‐America Council 326                 230 W Lincoln St                                        Papillion, NE 68046‐2403                                                         First Class Mail
Chartered Organization         American Legion Post 32                                 Texas Southwest Council 741             P.O. Box 1171                                           San Angelo, TX 76902‐1171                                                        First Class Mail
Chartered Organization         American Legion Post 32 Hair‐Matthews                   Occoneechee 421                         3814 Legion Rd                                          Hope Mills, NC 28348‐8874                                                        First Class Mail
Chartered Organization         American Legion Post 32, John H Buckley                 Longs Peak Council 062                  315 S Bowen St                                          Longmont, CO 80501‐6157                                                          First Class Mail
Chartered Organization         American Legion Post 320                                Black Hills Area Council 695 695        P.O. Box 3645                                           Rapid City, SD 57709‐3645                                                        First Class Mail
Chartered Organization         American Legion Post 320                                National Capital Area Council 082       P.O. Box 51                                             Spotsylvania, VA 22553‐0051                                                      First Class Mail
Chartered Organization         American Legion Post 321                                South Florida Council 084               9081 SW 51st St                                         Cooper City, FL 33328‐4201                                                       First Class Mail
Chartered Organization         American Legion Post 321(St Clair)                      Greater St Louis Area Council 312       105 E Illinois St                                       New Baden, IL 62265‐1817                                                         First Class Mail
Chartered Organization         American Legion Post 322                                Twin Rivers Council 364                 P.O. Box 22                                             Saint Regis Falls, NY 12980‐0022                                                 First Class Mail
Chartered Organization         American Legion Post 322                                Miami Valley Council, Bsa 444           P.O. Box 2                                              West Alexandria, OH 45381‐0002                                                   First Class Mail
Chartered Organization         American Legion Post 323                                W D Boyce 138                           Henry Il                                                Henry, IL 61537                                                                  First Class Mail
Chartered Organization         American Legion Post 323                                Greater St Louis Area Council 312       504 Luetkenhaus Blvd                                    Wentzville, MO 63385‐1214                                                        First Class Mail
Chartered Organization         American Legion Post 327                                Patriots Path Council 358               77 Old York Rd                                          Bridgewater, NJ 08807‐2732                                                       First Class Mail
Chartered Organization         American Legion Post 329                                Southeast Louisiana Council 214         104 Hunt St                                             Belle Chasse, LA 70037‐2616                                                      First Class Mail
Chartered Organization         American Legion Post 33                                 Great Alaska Council 610                P.O. Box 672175                                         Chugiak, AK 99567‐2175                                                           First Class Mail
Chartered Organization         American Legion Post 33                                 W D Boyce 138                           901 La Salle St                                         Ottawa, IL 61350‐2017                                                            First Class Mail
Chartered Organization         American Legion Post 33                                 Cornhusker Council 324                  184 E Roberts St                                        Seward, NE 68434‐1644                                                            First Class Mail
Chartered Organization         American Legion Post 33                                 Black Hills Area Council 695 695        868 Main St                                             Sturgis, SD 57785‐1619                                                           First Class Mail
Chartered Organization         American Legion Post 331                                Lasalle Council 165                     4241 Legion St                                          Bridgman, MI 49106                                                               First Class Mail
Chartered Organization         American Legion Post 331                                Crossroads of America 160               636 E Main St                                           Brownsburg, IN 46112‐1423                                                        First Class Mail
Chartered Organization         American Legion Post 331                                Ozark Trails Council 306                484 N Outer Rd                                          Saint Robert, MO 65584                                                           First Class Mail
Chartered Organization         American Legion Post 333                                Glaciers Edge Council 620               P.O. Box 21                                             Sun Prairie, WI 53590‐0021                                                       First Class Mail
Chartered Organization         American Legion Post 333 Of Kasson                      Gamehaven 299                           212 W Main St                                           Kasson, MN 55944‐1459                                                            First Class Mail
Chartered Organization         American Legion Post 334                                Northern Star Council 250               11640 Crooked Lake Blvd NW B                            Coon Rapids, MN 55433‐2828                                                       First Class Mail
Chartered Organization         American Legion Post 334                                Theodore Roosevelt Council 386          15 Elizabeth St                                         Floral Park, NY 11001‐2014                                                       First Class Mail
Chartered Organization         American Legion Post 334                                Cherokee Area Council 469 469           P.O. Box 116                                            Ramona, OK 74061‐0116                                                            First Class Mail
Chartered Organization         American Legion Post 334 Of Ramona                      Cherokee Area Council 469 469           P.O. Box 116                                            Ramona, OK 74061‐0116                                                            First Class Mail
Chartered Organization         American Legion Post 335 ‐ Hudson                       Greater Tampa Bay Area 089              11421 Osceola Dr                                        New Port Richey, FL 34654‐1330                                                   First Class Mail
Chartered Organization         American Legion Post 336                                Alamo Area Council 583                  P.O. Box 682025                                         San Antonio, TX 78268‐2025                                                       First Class Mail
Chartered Organization         American Legion Post 337 ‐ Pulaski                      Bay‐Lakes Council 635                   P.O. Box 746                                            Pulaski, WI 54162‐0746                                                           First Class Mail
Chartered Organization         American Legion Post 338                                c/o 346 N Main St                       Vander Jagt De Bruine                                   Bay‐Lakes Council 635              Post 338      Cedar Grove, WI 53013           First Class Mail
Chartered Organization         American Legion Post 338                                Western Massachusetts Council 234       46 Powder Mill Rd                                       Southwick, MA 01077‐9326                                                         First Class Mail
Chartered Organization         American Legion Post 338                                Pathway To Adventure 456                55 E Richmond St                                        Westmont, IL 60559‐1849                                                          First Class Mail
Chartered Organization         American Legion Post 338 Charities                      Erie Shores Council 460                 P.O. Box 351                                            Bradner, OH 43406‐0351                                                           First Class Mail
Chartered Organization         American Legion Post 34                                 National Capital Area Council 082       401 Old Waterford Rd Nw                                 Leesburg, VA 20176‐2120                                                          First Class Mail
Chartered Organization         American Legion Post 34                                 Black Warrior Council 006               11121 Maxwell Loop Rd                                   Tuscaloosa, AL 35405‐9063                                                        First Class Mail
Chartered Organization         American Legion Post 340                                Gulf Coast Council 773                  8890 Ashland Ave                                        Pensacola, FL 32534‐9306                                                         First Class Mail
Chartered Organization         American Legion Post 340                                Western Massachusetts Council 234       Rr 7                                                    Sheffield, MA 01257                                                              First Class Mail
Chartered Organization         American Legion Post 341                                Laurel Highlands Council 527            400 Duss Ave                                            Ambridge, PA 15003‐2182                                                          First Class Mail
Chartered Organization         American Legion Post 341                                Samoset Council, Bsa 627                P.O. Box 121                                            Birnamwood, WI 54414‐0121                                                        First Class Mail
Chartered Organization         American Legion Post 343                                Northern Star Council 250               P.O. Box 527                                            Norwood, MN 55368                                                                First Class Mail
Chartered Organization         American Legion Post 345                                Black Swamp Area Council 449            2490 State Route 49                                     Fort Recovery, OH 45846                                                          First Class Mail
Chartered Organization         American Legion Post 346                                South Florida Council 084               2700 SW 99th Ave                                        Miami, FL 33165‐2623                                                             First Class Mail
Chartered Organization         American Legion Post 347                                Greater Alabama Council 001             5021 Gary Ave                                           Fairfield, AL 35064‐1350                                                         First Class Mail
Chartered Organization         American Legion Post 347                                Central Florida Council 083             P.O. Box 1534                                           Lady Lake, FL 32158‐1534                                                         First Class Mail
Chartered Organization         American Legion Post 348                                Mid‐America Council 326                 1311 Court                                              Fort Calhoun, NE 68023                                                           First Class Mail
Chartered Organization         American Legion Post 349                                Bay‐Lakes Council 635                   P.O. Box 335                                            Little Lake, MI 49833‐0335                                                       First Class Mail
Chartered Organization         American Legion Post 35                                 Grand Canyon Council 010                2240 W Chandler Blvd                                    Chandler, AZ 85224‐6156                                                          First Class Mail
Chartered Organization         American Legion Post 350                                Northeastern Pennsylvania Council 501   34 W Broad St                                           Nanticoke, PA 18634‐2203                                                         First Class Mail
Chartered Organization         American Legion Post 351                                Great Lakes Fsc 272                     46146 Cass Ave                                          Utica, MI 48317‐5245                                                             First Class Mail
Chartered Organization         American Legion Post 352                                Jersey Shore Council 341                P.O. Box 155                                            Somers Point, NJ 08244‐0155                                                      First Class Mail
Chartered Organization         American Legion Post 353                                Chippewa Valley Council 637             P.O. Box 71                                             Cornell, WI 54732‐0071                                                           First Class Mail
Chartered Organization         American Legion Post 354                                Central Minnesota 296                   Hwy 10                                                  Clear Lake, MN 55319                                                             First Class Mail
Chartered Organization         American Legion Post 355                                Miami Valley Council, Bsa 444           31 N Main St                                            Fort Loramie, OH 45845                                                           First Class Mail
Chartered Organization         American Legion Post 355 ‐ Roger L Wood                 Mayflower Council 251                   22 Carpenter Hill Rd                                    Mendon, MA 01756‐1341                                                            First Class Mail
Chartered Organization         American Legion Post 355 ‐ Rose Harms                   Bay‐Lakes Council 635                   1540 13th Ave                                           Grafton, WI 53024‐1942                                                           First Class Mail
Chartered Organization         American Legion Post 356                                Gulf Coast Council 773                  400 Aberdeen Pkwy                                       Panama City, FL 32405‐6456                                                       First Class Mail
Chartered Organization         American Legion Post 356                                Twin Valley Council Bsa 283             18 N Osborne St                                         Sherburn, MN 56171‐1267                                                          First Class Mail
Chartered Organization         American Legion Post 357                                Northern Star Council 250               W6698 Maple                                             Bay City, WI 54723                                                               First Class Mail
Chartered Organization         American Legion Post 357                                Baden‐Powell Council 368                P.O. Box 429                                            Hallstead, PA 18822‐0429                                                         First Class Mail
Chartered Organization         American Legion Post 359                                Central Florida Council 083             7260 S US Hwy 1                                         Titusville, FL 32780‐8104                                                        First Class Mail
Chartered Organization         American Legion Post 36                                 Pine Tree Council 218                   P.O. Box 874                                            Boothbay Harbor, ME 04538‐0874                                                   First Class Mail
Chartered Organization         American Legion Post 36                                 Inland Northwest Council 611            P.O. Box 428                                            Kellogg, ID 83837‐0428                                                           First Class Mail
Chartered Organization         American Legion Post 36                                 Inland Northwest Council 611            P.O. Box 428                                            Kellogg, ID 83837‐0428                                                           First Class Mail
Chartered Organization         American Legion Post 36                                 Connecticut Rivers Council, Bsa 066     1 S Main St                                             Windsor Locks, CT 06096                                                          First Class Mail
Chartered Organization         American Legion Post 360                                Suffolk County Council Inc 404          Milldam Rd                                              Halesite, NY 11743                                                               First Class Mail
Chartered Organization         American Legion Post 364                                National Capital Area Council 082       P.O. Box 2121                                           Woodbridge, VA 22195‐2121                                                        First Class Mail
Chartered Organization         American Legion Post 364 ‐ Guiles/Luce                  c/o Rodney Cartwright                   P.O. Box 327                                            Winneconne, WI 54986‐0327                                                        First Class Mail
Chartered Organization         American Legion Post 365                                Greater St Louis Area Council 312       1022 Vandalia St                                        Collinsville, IL 62234‐4055                                                      First Class Mail
Chartered Organization         American Legion Post 365                                Northern Star Council 250               904 Main St                                             Plum City, WI 54761‐9013                                                         First Class Mail
Chartered Organization         American Legion Post 366                                Central Minnesota 296                   P.O. Box 61                                             Bertha, MN 56437‐0061                                                            First Class Mail
Chartered Organization         American Legion Post 366                                Southeast Louisiana Council 214         P.O. Box 372                                            Destrehan, LA 70047‐0372                                                         First Class Mail
Chartered Organization         American Legion Post 366                                Quivira Council, Bsa 198                405 Floral Dr                                           Hillsboro, KS 67063‐1427                                                         First Class Mail
Chartered Organization         American Legion Post 367 ‐ Medway                       Mayflower Council 251                   6 Cutler St                                             Medway, MA 02053‐1512                                                            First Class Mail
Chartered Organization         American Legion Post 368                                Colonial Virginia Council 595           368 American Legion Dr                                  Newport News, VA 23608‐2753                                                      First Class Mail
Chartered Organization         American Legion Post 369                                Greater St Louis Area Council 312       510 Cedar St                                            Benton, MO 63736                                                                 First Class Mail
Chartered Organization         American Legion Post 369                                Greater St Louis Area Council 312       P.O. Box 417                                            Benton, MO 63736‐0417                                                            First Class Mail
Chartered Organization         American Legion Post 370                                Calcasieu Area Council 209              2540 Miller Ave                                         Westlake, LA 70669                                                               First Class Mail
Chartered Organization         American Legion Post 371                                Mid‐America Council 326                 P.O. Box 121                                            Lake Park, IA 51347‐0121                                                         First Class Mail
Chartered Organization         American Legion Post 371                                Illowa Council 133                      P.O. Box 182                                            Williamsfield, IL 61489‐0182                                                     First Class Mail
Chartered Organization         American Legion Post 373                                Black Swamp Area Council 449            5939 State Route 109                                    Delta, OH 43515‐9344                                                             First Class Mail
Chartered Organization         American Legion Post 374                                Mid‐America Council 326                 13913 S Plz                                             Omaha, NE 68137‐2916                                                             First Class Mail
Chartered Organization         American Legion Post 375                                Northern Star Council 250               P.O. Box 47                                             Atwater, MN 56209‐0047                                                           First Class Mail
Chartered Organization         American Legion Post 375                                Potawatomi Area Council 651             627 County Rd Nn E                                      Mukwonago, WI 53149‐1009                                                         First Class Mail
Chartered Organization         American Legion Post 375                                Potawatomi Area Council 651             627 E Veterans Way                                      Mukwonago, WI 53149‐1009                                                         First Class Mail
Chartered Organization         American Legion Post 376                                Chippewa Valley Council 637             General Delivery                                        Fall Creek, WI 54742                                                             First Class Mail
Chartered Organization         American Legion Post 376                                Hawkeye Area Council 172                P.O. Box 248                                            Walker, IA 52352‐0248                                                            First Class Mail
Chartered Organization         American Legion Post 377                                Attn: Cmdr Jack Lynch                   P.O. Box 240                                            Delano, MN 55328‐0240                                                            First Class Mail
Chartered Organization         American Legion Post 379                                Longhorn Council 662                    1245 N Industrial Blvd                                  Bedford, TX 76021‐6137                                                           First Class Mail
Chartered Organization         American Legion Post 38                                 Bay‐Lakes Council 635                   3220 W College Ave                                      Appleton, WI 54914‐2901                                                          First Class Mail
Chartered Organization         American Legion Post 38                                 Twin Valley Council Bsa 283             100 Industrial Dr                                       Redwood Falls, MN 56283‐1426                                                     First Class Mail
Chartered Organization         American Legion Post 382                                Black Swamp Area Council 449            154 N Main St                                           Bluffton, OH 45817‐1246                                                          First Class Mail
Chartered Organization         American Legion Post 382                                W D Boyce 138                           118 E 3rd St                                            Delavan, IL 61734‐7400                                                           First Class Mail
Chartered Organization         American Legion Post 382                                Gulf Coast Council 773                  1850 Luneta St                                          Navarre, FL 32566‐1050                                                           First Class Mail
Chartered Organization         American Legion Post 383                                Golden Empire Council 047               P.O. Box 2373                                           Fair Oaks, CA 95628‐2373                                                         First Class Mail
Chartered Organization         American Legion Post 384                                Mid‐America Council 326                 1608 N Ave                                              Milford, IA 51351‐1230                                                           First Class Mail
Chartered Organization         American Legion Post 387                                Black Swamp Area Council 449            46 S Cleveland St                                       Minster, OH 45865                                                                First Class Mail
Chartered Organization         American Legion Post 387                                Calcasieu Area Council 209              500 Vernon St                                           New Llano, LA 71461                                                              First Class Mail
Chartered Organization         American Legion Post 389                                Greater Tampa Bay Area 089              P.O. Box 944                                            Ruskin, FL 33575‐0944                                                            First Class Mail
Chartered Organization         American Legion Post 39                                 Baltimore Area Council 220              500 N Hickory Ave                                       Bel Air, MD 21014‐3229                                                           First Class Mail
Chartered Organization         American Legion Post 39                                 Hawkeye Area Council 172                1008 12th St                                            Belle Plaine, IA 52208‐1713                                                      First Class Mail
Chartered Organization         American Legion Post 39                                 Garden State Council 690                112 4th Ave                                             Roebling, NJ 08554‐1010                                                          First Class Mail
Chartered Organization         American Legion Post 39                                 Northern Lights Council 429             201 Main St N                                           Velva, ND 58790                                                                  First Class Mail
Chartered Organization         American Legion Post 390                                Mid‐America Council 326                 Main St                                                 Aurelia, IA 51005                                                                First Class Mail
Chartered Organization         American Legion Post 390                                Patriots Path Council 358               Legion Pl                                               Denville Township, NJ 07834                                                      First Class Mail
Chartered Organization         American Legion Post 392                                Rainbow Council 702                     109 E North St                                          Peotone, IL 60468‐8200                                                           First Class Mail
Chartered Organization         American Legion Post 393                                Three Rivers Council 578                25774 Hwy 321                                           Cleveland, TX 77327‐6808                                                         First Class Mail
Chartered Organization         American Legion Post 393                                Pony Express Council 311                91 N 3rd St                                             Gower, MO 64454‐9184                                                             First Class Mail
Chartered Organization         American Legion Post 394                                Central Florida Council 083             396 Cogan Dr Se                                         Palm Bay, FL 32909‐6869                                                          First Class Mail
Chartered Organization         American Legion Post 394                                Seneca Waterways 397                    6206 State Route 21                                     Williamson, NY 14589                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                     Page 13 of 442
                                                                              Case 20-10343-LSS                                    Doc 8171                                       Filed 01/06/22                         Page 29 of 457
                                                                                                                                                               Exhibit B
                                                                                                                                                                Service List
                                                                                                                                                         Served as set forth below

        Description                                                    Name                                                                                  Address                                                                      Email              Method of Service
Chartered Organization         American Legion Post 395                              Three Fires Council 127                510 E Dearborn St                                     Plano, IL 60545‐1647                                            First Class Mail
Chartered Organization         American Legion Post 396                              Great Lakes Fsc 272                    6860 Middlebelt Rd                                    Garden City, MI 48135‐2131                                      First Class Mail
Chartered Organization         American Legion Post 396                              Greater St Louis Area Council 312      P.O. Box 432                                          Sparta, IL 62286‐0432                                           First Class Mail
Chartered Organization         American Legion Post 399                              Collins‐Tasch                          P.O. Box 133                                          Monterey, IN 46960‐0133                                         First Class Mail
Chartered Organization         American Legion Post 40                               Gulf Stream Council 085                10 Tosca                                              Fort Pierce, FL 34951‐2819                                      First Class Mail
Chartered Organization         American Legion Post 40                               Twin Rivers Council 364                150 Main St                                           Hoosick Falls, NY 12090‐2010                                    First Class Mail
Chartered Organization         American Legion Post 40                               Mayflower Council 251                  199 Federal Furnace Rd                                Plymouth, MA 02360‐4759                                         First Class Mail
Chartered Organization         American Legion Post 40 Of Lanesboro                  Gamehaven 299                          P.O. Box 285                                          Lanesboro, MN 55949‐0285                                        First Class Mail
Chartered Organization         American Legion Post 400                              Greater Alabama Council 001            1525 9th St                                           Leeds, AL 35094‐2256                                            First Class Mail
Chartered Organization         American Legion Post 400                              Jayhawk Area Council 197               3029 NW US Hwy 24                                     Topeka, KS 66618‐2710                                           First Class Mail
Chartered Organization         American Legion Post 401                              Monmouth Council, Bsa 347              P.O. Box 82                                           Monmouth Jct, NJ 08852‐0082                                     First Class Mail
Chartered Organization         American Legion Post 404                              Twin Valley Council Bsa 283            151 N Broadway                                        Alden, MN 56009‐9700                                            First Class Mail
Chartered Organization         American Legion Post 404                              New Birth of Freedom 544               P.O. Box 503                                          Elizabethville, PA 17023‐0503                                   First Class Mail
Chartered Organization         American Legion Post 404                              Black Swamp Area Council 449           112 Washington St                                     Republic, OH 44867                                              First Class Mail
Chartered Organization         American Legion Post 406                              Dan Beard Council, Bsa 438             P.O. Box 42                                           Bethel, OH 45106‐0042                                           First Class Mail
Chartered Organization         American Legion Post 409                              Allegheny Highlands Council 382        100 Legion Dr                                         Gowanda, NY 14070‐1200                                          First Class Mail
Chartered Organization         American Legion Post 41                               c/o Mr. Robert Cappiello               263 Garden Pl                                         Oradell, NJ 07649‐2217                                          First Class Mail
Chartered Organization         American Legion Post 411                              President Gerald R Ford 781            M‐20                                                  Hesperia, MI 49421                                              First Class Mail
Chartered Organization         American Legion Post 416                              San Diego Imperial Council 049         P.O. Box 920416                                       Encinitas, CA 92023                                             First Class Mail
Chartered Organization         American Legion Post 416                              Greater St Louis Area Council 312      P.O. Box 1074                                         Farmington, MO 63640‐4049                                       First Class Mail
Chartered Organization         American Legion Post 416                              Laurel Highlands Council 527           P.O. Box 83                                           Wind Ridge, PA 15380‐0083                                       First Class Mail
Chartered Organization         American Legion Post 419                              Southern Shores Fsc 783                P.O. Box 468                                          Pinckney, MI 48169‐0468                                         First Class Mail
Chartered Organization         American Legion Post 419                              Silicon Valley Monterey Bay 055        P.O. Box 113                                          Santa Clara, CA 95052‐0113                                      First Class Mail
Chartered Organization         American Legion Post 42                               Overland Trails 322                    P.O. Box 144                                          Aurora, NE 68818‐0144                                           First Class Mail
Chartered Organization         American Legion Post 42                               Twin Rivers Council 364                32 Woodbridge Ave                                     Chatham, NY 12037‐1317                                          First Class Mail
Chartered Organization         American Legion Post 42                               Pine Tree Council 218                  P.O. Box 268                                          Damariscotta, ME 04543‐0268                                     First Class Mail
Chartered Organization         American Legion Post 42                               Northeast Illinois 129                 P.O. Box 42                                           Evanston, IL 60204‐0042                                         First Class Mail
Chartered Organization         American Legion Post 42                               Northwest Georgia Council 100          Cartersville, GA 30120                                                                                                First Class Mail
Chartered Organization         American Legion Post 42                               Montana Council 315                    211 Broadway St                                       Townsend, MT 59644‐2221                                         First Class Mail
Chartered Organization         American Legion Post 420                              Longhouse Council 373                  P.O. Box 464                                          Waddington, NY 13694‐0464                                       First Class Mail
Chartered Organization         American Legion Post 421                              Hawkeye Area Council 172               6 Central City Rd                                     Central City, IA 52214                                          First Class Mail
Chartered Organization         American Legion Post 421                              Lake Erie Council 440                  22001 Brookpark Rd                                    Fairview Park, OH 44126‐3119                                    First Class Mail
Chartered Organization         American Legion Post 423                              Gateway Area 624                       121 S Grant St                                        Houston, MN 55943‐8443                                          First Class Mail
Chartered Organization         American Legion Post 423                              Patriots Path Council 358              28 Legion Rd                                          Oak Ridge, NJ 07438‐9329                                        First Class Mail
Chartered Organization         American Legion Post 423                              Anthony Wayne Area 157                 6215 N State Rd 327                                   Orland, IN 46776‐5435                                           First Class Mail
Chartered Organization         American Legion Post 426                              California Inland Empire Council 045   12167 California St                                   Yucaipa, CA 92399‐4332                                          First Class Mail
Chartered Organization         American Legion Post 428                              Central Minnesota 296                  17 2nd Ave N                                          Waite Park, MN 56387‐1112                                       First Class Mail
Chartered Organization         American Legion Post 43                               Heart of Virginia Council 602          231 S Main St                                         Chase City, VA 23924‐1911                                       First Class Mail
Chartered Organization         American Legion Post 43                               Three Fires Council 127                10 W Chicago Ave                                      Naperville, IL 60540‐5302                                       First Class Mail
Chartered Organization         American Legion Post 43                               Grand Canyon Council 010               7807 S 1st Dr                                         Phoenix, AZ 85041‐8002                                          First Class Mail
Chartered Organization         American Legion Post 43                               Mount Baker Council, Bsa 606           P.O. Box 269                                          Sedro Woolley, WA 98284‐0269                                    First Class Mail
Chartered Organization         American Legion Post 43 Mtn View                      Quapaw Area Council 018                P.O. Box 602                                          Mountain View, AR 72560‐0602                                    First Class Mail
Chartered Organization         American Legion Post 430                              Jersey Shore Council 341               P.O. Box 102                                          Cologne, NJ 08213‐0102                                          First Class Mail
Chartered Organization         American Legion Post 430                              Pathway To Adventure 456               7430 Broadway                                         Merrillville, IN 46410‐4719                                     First Class Mail
Chartered Organization         American Legion Post 431                              Mid‐America Council 326                P.O. Box 81                                           Gowrie, IA 50543‐0081                                           First Class Mail
Chartered Organization         American Legion Post 431                              Muskingum Valley Council, Bsa 467      1 W Canal St                                          Newcomerstown, OH 43832                                         First Class Mail
Chartered Organization         American Legion Post 434                              Monmouth Council, Bsa 347              11 Sanford St                                         Manalapan, NJ 07726‐3807                                        First Class Mail
Chartered Organization         American Legion Post 435                              Attn: Commander                        6501 Portland Ave                                     Richfield, MN 55423‐1661                                        First Class Mail
Chartered Organization         American Legion Post 437                              The Spirit of Adventure 227            114 Dunstable Rd                                      Westford, MA 01886‐1054                                         First Class Mail
Chartered Organization         American Legion Post 44                               Aloha Council, Bsa 104                 P.O. Box 359                                          Apo, AP 96555                                                   First Class Mail
Chartered Organization         American Legion Post 44                               Mountaineer Area 615                   P.O. Box 365                                          Philippi, WV 26416‐0365                                         First Class Mail
Chartered Organization         American Legion Post 44 ‐ Monrovia                    Greater Los Angeles Area 033           119 W Palm Ave                                        Monrovia, CA 91016‐2853                                         First Class Mail
Chartered Organization         American Legion Post 440                              Washington Crossing Council 777        41 Linden Ave                                         Newtown, PA 18940‐1587                                          First Class Mail
Chartered Organization         American Legion Post 446                              Greater St Louis Area Council 312      117 S Poplar St                                       Centralia, IL 62801‐3521                                        First Class Mail
Chartered Organization         American Legion Post 447                              Capitol Area Council 564               1000 N Georgetown St                                  Round Rock, TX 78664‐4462                                       First Class Mail
Chartered Organization         American Legion Post 449                              Winnebago Council, Bsa 173             216 3rd St Nw                                         Nora Springs, IA 50458‐8822                                     First Class Mail
Chartered Organization         American Legion Post 449                              Blackhawk Area 660                     128 E Front Ave                                       Stockton, IL 61085‐1316                                         First Class Mail
Chartered Organization         American Legion Post 45                               Sioux Council 733                      P.O. Box 442                                          Harrisburg, SD 57032‐0442                                       First Class Mail
Chartered Organization         American Legion Post 45                               President Gerald R Ford 781            1014 David Dr                                         Hastings, MI 49058‐2066                                         First Class Mail
Chartered Organization         American Legion Post 45                               Coronado Area Council 192              201 E 4th St                                          Junction City, KS 66441‐2840                                    First Class Mail
Chartered Organization         American Legion Post 45                               Northern Star Council 250              300 Lexington Ave S                                   New Prague, MN 56071‐2426                                       First Class Mail
Chartered Organization         American Legion Post 451                              President Gerald R Ford 781            6168 Dunbarton St Se                                  Ada, MI 49301‐7802                                              First Class Mail
Chartered Organization         American Legion Post 453                              Circle Ten Council 571                 2755 Bachman Dr                                       Dallas, TX 75220‐5852                                           First Class Mail
Chartered Organization         American Legion Post 454                              Twin Valley Council Bsa 283            P.O. Box 327                                          Kiester, MN 56051‐0327                                          First Class Mail
Chartered Organization         American Legion Post 455                              Jersey Shore Council 341               2 Meadowbrook Ln                                      New Egypt, NJ 08533‐1406                                        First Class Mail
Chartered Organization         American Legion Post 456                              Central Minnesota 296                  P.O. Box 127                                          Sebeka, MN 56477‐0127                                           First Class Mail
Chartered Organization         American Legion Post 457                              Water and Woods Council 782            4075 Huron St                                         North Branch, MI 48461‐8664                                     First Class Mail
Chartered Organization         American Legion Post 46                               Green Mountain 592                     P.O. Box 212                                          Johnson, VT 05656‐0212                                          First Class Mail
Chartered Organization         American Legion Post 46 ‐ Bellevue                    Lake Erie Council 440                  208 W Main St                                         Bellevue, OH 44811‐1330                                         First Class Mail
Chartered Organization         American Legion Post 46 Woodburn                      Cascade Pacific Council 492            P.O. Box 371                                          Woodburn, OR 97071‐0371                                         First Class Mail
Chartered Organization         American Legion Post 460                              Hawkeye Area Council 172               222 E Main St                                         Solon, IA 52333‐9511                                            First Class Mail
Chartered Organization         American Legion Post 468                              San Diego Imperial Council 049         P.O. Box 205                                          Julian, CA 92036‐0205                                           First Class Mail
Chartered Organization         American Legion Post 468 (Greece)                     Seneca Waterways 397                   344 Dorsey Rd                                         Rochester, NY 14616‐3429                                        First Class Mail
Chartered Organization         American Legion Post 469                              Samoset Council, Bsa 627               P.O. Box 516                                          Marathon, WI 54448‐0516                                         First Class Mail
Chartered Organization         American Legion Post 47                               President Gerald R Ford 781            3811 W River Dr Ne                                    Comstock Park, MI 49321‐8983                                    First Class Mail
Chartered Organization         American Legion Post 47                               Trapper Trails 589                     601 Anderson Ave                                      Hyrum, UT 84319‐1101                                            First Class Mail
Chartered Organization         American Legion Post 470                              Black Swamp Area Council 449           415 W Walnut St                                       Coldwater, OH 45828‐1642                                        First Class Mail
Chartered Organization         American Legion Post 470                              Crossroads of America 160              9091 E 126th St                                       Fishers, IN 46038‐2859                                          First Class Mail
Chartered Organization         American Legion Post 471                              Winnebago Council, Bsa 173             P.O. Box 83                                           Dike, IA 50624‐0083                                             First Class Mail
Chartered Organization         American Legion Post 471                              Patriots Path Council 358              25 Brown Ave                                          Iselin, NJ 08830‐2901                                           First Class Mail
Chartered Organization         American Legion Post 473                              Central Minnesota 296                  P.O. Box 277                                          Rice, MN 56367‐0277                                             First Class Mail
Chartered Organization         American Legion Post 475                              Twin Valley Council Bsa 283            117 Main St W                                         Saint Clair, MN 56080                                           First Class Mail
Chartered Organization         American Legion Post 479                              Erie Shores Council 460                200 S Hallett Ave                                     Swanton, OH 43558‐1353                                          First Class Mail
Chartered Organization         American Legion Post 479 Tomas Valle                  Texas Southwest Council 741            P.O. Box 936                                          Uvalde, TX 78802‐0936                                           First Class Mail
Chartered Organization         American Legion Post 48                               Palmetto Council 549                   P.O. Box 323                                          Chesnee, SC 29323‐0323                                          First Class Mail
Chartered Organization         American Legion Post 48                               Green Mountain 592                     P.O. Box 122                                          Hartland, VT 05048‐0122                                         First Class Mail
Chartered Organization         American Legion Post 48                               Daniel Webster Council, Bsa 330        1 Fulton St                                           Hudson, NH 03051                                                First Class Mail
Chartered Organization         American Legion Post 48                               Utah National Parks 591                P.O. Box 61                                           Payson, UT 84651‐0061                                           First Class Mail
Chartered Organization         American Legion Post 48                               Northern Star Council 250              107 Chestnut St E                                     Stillwater, MN 55082‐5115                                       First Class Mail
Chartered Organization         American Legion Post 480                              Greater St Louis Area Council 312      303 S Chester St                                      Steeleville, IL 62288‐1912                                      First Class Mail
Chartered Organization         American Legion Post 482                              Central Minnesota 296                  P.O. Box 507                                          Albany, MN 56307‐0507                                           First Class Mail
Chartered Organization         American Legion Post 485 (St Clair)                   Greater St Louis Area Council 312      200 S 5th St                                          Dupo, IL 62239‐1318                                             First Class Mail
Chartered Organization         American Legion Post 487                              Bay‐Lakes Council 635                  P.O. Box 130                                          Carney, MI 49812‐0130                                           First Class Mail
Chartered Organization         American Legion Post 487                              Greater St Louis Area Council 312      500 Opdyke St                                         Chester, IL 62233‐1466                                          First Class Mail
Chartered Organization         American Legion Post 488                              Hudson Valley Council 374              532 Lakes Rd                                          Monroe, NY 10950‐1070                                           First Class Mail
Chartered Organization         American Legion Post 49                               Sioux Council 733                      47760 181st St                                        Clear Lake, SD 57226‐5403                                       First Class Mail
Chartered Organization         American Legion Post 49                               Green Mountain 592                     72 S Main St                                          Fair Haven, VT 05743‐1145                                       First Class Mail
Chartered Organization         American Legion Post 49                               Northern Lights Council 429            35 2nd St Ne                                          Garrison, ND 58540‐7131                                         First Class Mail
Chartered Organization         American Legion Post 49                               Central Minnesota 296                  P.O. Box 238                                          Pequot Lakes, MN 56472‐0238                                     First Class Mail
Chartered Organization         American Legion Post 49                               Pacific Harbors Council, Bsa 612       P.O. Box 984                                          Rochester, WA 98579‐0984                                        First Class Mail
Chartered Organization         American Legion Post 490                              W.L.A.C.C. 051                         P.O. Box 814                                          Rosamond, CA 93560‐0814                                         First Class Mail
Chartered Organization         American Legion Post 491                              Bethlehem Lutheran Church              263 3rd St N                                          Bayport, MN 55003‐1028                                          First Class Mail
Chartered Organization         American Legion Post 491                              Chester County Council 539             208 E State St                                        Kennett Square, PA 19348‐3112                                   First Class Mail
Chartered Organization         American Legion Post 491                              Water and Woods Council 782            P.O. Box 312                                          Leslie, MI 49251‐0312                                           First Class Mail
Chartered Organization         American Legion Post 492                              Greater St Louis Area Council 312      300 Veterans Memorial Pkwy                            Jerseyville, IL 62052‐5901                                      First Class Mail
Chartered Organization         American Legion Post 493                              Miami Valley Council, Bsa 444          P.O. Box 575                                          Jackson Center, OH 45334‐0575                                   First Class Mail
Chartered Organization         American Legion Post 493                              Jersey Shore Council 341               420 Radio Rd                                          Little Egg Harbor Twp, NJ 08087‐1882                            First Class Mail
Chartered Organization         American Legion Post 494                              French Creek Council 532               42 Wall St                                            Girard, PA 16417‐1444                                           First Class Mail
Chartered Organization         American Legion Post 494                              Seneca Waterways 397                   76 W Main St                                          Macedon, NY 14502‐8993                                          First Class Mail
Chartered Organization         American Legion Post 499                              Heart of America Council 307           499 SW State Route 7                                  Blue Springs, MO 64014‐3054                                     First Class Mail
Chartered Organization         American Legion Post 5                                Green Mountain 592                     32 Linden St                                          Brattleboro, VT 05301‐2963                                      First Class Mail
Chartered Organization         American Legion Post 50                               Pathway To Adventure 456               2427 Grove St                                         Blue Island, IL 60406‐2325                                      First Class Mail
Chartered Organization         American Legion Post 50 Of Wabasha                    Gamehaven 299                          155 Pembroke Ave S                                    Wabasha, MN 55981‐1242                                          First Class Mail
Chartered Organization         American Legion Post 505                              Northern Lights Council 429            102 1st Ave N                                         Gary, MN 56545‐4528                                             First Class Mail
Chartered Organization         American Legion Post 506                              Laurel Highlands Council 527           107 N Main St                                         Carrolltown, PA 15722‐9702                                      First Class Mail
Chartered Organization         American Legion Post 507                              W.L.A.C.C. 051                         24527 Spruce St                                       Newhall, CA 91321‐1703                                          First Class Mail
Chartered Organization         American Legion Post 509                              Sequoia Council 027                    3509 N 1st St                                         Fresno, CA 93726‐6808                                           First Class Mail
Chartered Organization         American Legion Post 509                              Samoset Council, Bsa 627               290 E Grand Ave                                       Rosholt, WI 54473                                               First Class Mail
Chartered Organization         American Legion Post 509                              Illowa Council 133                     307 N Calhoun St                                      West Liberty, IA 52776‐1423                                     First Class Mail
Chartered Organization         American Legion Post 51                               Las Vegas Area Council 328             P.O. Box 335255                                       North Las Vegas, NV 89033‐5255                                  First Class Mail
Chartered Organization         American Legion Post 51 Lebanon                       Cascade Pacific Council 492            480 S Main St                                         Lebanon, OR 97355‐3309                                          First Class Mail
Chartered Organization         American Legion Post 512 ‐ Shiocton                   Bay‐Lakes Council 635                  P.O. Box 159                                          Shiocton, WI 54170‐0159                                         First Class Mail
Chartered Organization         American Legion Post 514                              Southern Shores Fsc 783                11601 Lewis Ave                                       Ida, MI 48140‐9589                                              First Class Mail
Chartered Organization         American Legion Post 515                              Greater St Louis Area Council 312      P.O. Box 273                                          Martinsville, IL 62442‐0273                                     First Class Mail
Chartered Organization         American Legion Post 518                              Simon Kenton Council 441               104 E High St                                         Ashley, OH 43003                                                First Class Mail
Chartered Organization         American Legion Post 52                               Chickasaw Council 558                  636 Middleton Rd                                      Winona, MS 38967‐2022                                           First Class Mail
Chartered Organization         American Legion Post 520                              Juniata Valley Council 497             P.O. Box 104                                          Alexandria, PA 16611‐0104                                       First Class Mail
Chartered Organization         American Legion Post 521                              Garden State Council 690               107 Salem Ave                                         Blackwood, NJ 08012                                             First Class Mail
Chartered Organization         American Legion Post 521                              Golden Empire Council 047              6700 8th St                                           Rio Linda, CA 95673‐2364                                        First Class Mail
Chartered Organization         American Legion Post 522                              Blackhawk Area 660                     P.O. Box 34                                           Prophetstown, IL 61277‐0034                                     First Class Mail
Chartered Organization         American Legion Post 525                              Pathway To Adventure 456               P.O. Box 173                                          Mount Prospect, IL 60056‐0173                                   First Class Mail
Chartered Organization         American Legion Post 525                              Pathway To Adventure 456               1819 W Willow Ln                                      Mt Prospect, IL 60056‐4412                                      First Class Mail
Chartered Organization         American Legion Post 528                              Minsi Trails Council 502               322 Market St                                         Belvidere, NJ 07823‐1223                                        First Class Mail
Chartered Organization         American Legion Post 528                              c/o Philip Auffert                     36729 State Hwy Nn                                    Parnell, MO 64475‐9138                                          First Class Mail
Chartered Organization         American Legion Post 53                               Pacific Harbors Council, Bsa 612       P.O. Box 854                                          Dupont, WA 98327‐0854                                           First Class Mail
Chartered Organization         American Legion Post 53                               Chippewa Valley Council 637            634 Water St                                          Eau Claire, WI 54703‐5633                                       First Class Mail
Chartered Organization         American Legion Post 53                               California Inland Empire Council 045   124 N Ramona St                                       Hemet, CA 92543‐4030                                            First Class Mail
Chartered Organization         American Legion Post 530                              Washington Crossing Council 777        3 Eisenhower Dr                                       Trenton, NJ 08691‐3088                                          First Class Mail
Chartered Organization         American Legion Post 531                              Allegheny Highlands Council 382        Cattaraugus Rd                                        Little Valley, NY 14755                                         First Class Mail
Chartered Organization         American Legion Post 533                              Capitol Area Council 564               1224 State Hwy 71                                     Bastrop, TX 78602                                               First Class Mail
Chartered Organization         American Legion Post 534                              Los Padres Council 053                 145 W Clark Ave                                       Santa Maria, CA 93455‐4624                                      First Class Mail
Chartered Organization         American Legion Post 534                              Los Padres Council 053                 145 W Clark Ave                                       Santa Maria, CA 93455‐4624                                      First Class Mail
Chartered Organization         American Legion Post 534 ‐ Wyalusing                  Five Rivers Council, Inc 375           P.O. Box 71                                           Wyalusing, PA 18853‐0071                                        First Class Mail
Chartered Organization         American Legion Post 535                              Central N Carolina Council 416         109 E Lawyers Rd                                      Monroe, NC 28110‐9444                                           First Class Mail
Chartered Organization         American Legion Post 537                              Attn: Don Anderson                     P.O. Box 154                                          New London, MN 56273‐0154                                       First Class Mail
Chartered Organization         American Legion Post 539                              Erie Shores Council 460                P.O. Box 243                                          N Baltimore, OH 45872‐0243                                      First Class Mail
Chartered Organization         American Legion Post 54                               North Florida Council 087              626 S 3rd St                                          Fernandina Beach, FL 32034‐0602                                 First Class Mail
Chartered Organization         American Legion Post 54                               Leatherstocking 400                    6211 E Hill Rd                                        Munnsville, NY 13409‐2211                                       First Class Mail
Chartered Organization         American Legion Post 547                              Lake Erie Council 440                  8 S Main St 10                                        Monroeville, OH 44847‐9456                                      First Class Mail
Chartered Organization         American Legion Post 55                               Southern Shores Fsc 783                1230 Edwards St                                       Albion, MI 49224‐2114                                           First Class Mail
Chartered Organization         American Legion Post 55                               Rocky Mountain Council 063             P.O. Box 848                                          Buena Vista, CO 81211‐0848                                      First Class Mail
Chartered Organization         American Legion Post 55                               Central Florida Council 083            1063 W Desoto St                                      Clermont, FL 34711‐2037                                         First Class Mail
Chartered Organization         American Legion Post 55                               West Tennessee Area Council 559        P.O. Box 655                                          Martin, TN 38237‐0655                                           First Class Mail
Chartered Organization         American Legion Post 55                               Old Hickory Council 427                111 Miller St                                         Winston Salem, NC 27103‐2508                                    First Class Mail
Chartered Organization         American Legion Post 55 ‐ Hortonville                 Bay‐Lakes Council 635                  N3061 State Hwy 15                                    Hortonville, WI 54944                                           First Class Mail
Chartered Organization         American Legion Post 550                              Northern Star Council 250              311 W 84th St                                         Bloomington, MN 55420‐2276                                      First Class Mail
Chartered Organization         American Legion Post 550                              Dan Beard Council, Bsa 438             311 Caroline St                                       New Richmond, OH 45157‐1211                                     First Class Mail
Chartered Organization         American Legion Post 550                              Mt Diablo‐Silverado Council 023        420 Admiral Callaghan Ln                              Vallejo, CA 94591‐3605                                          First Class Mail
Chartered Organization         American Legion Post 554                              Bay Area Council 574                   1650 Hwy 3 S                                          League City, TX 77573‐7308                                      First Class Mail
Chartered Organization         American Legion Post 555                              Orange County Council 039              14582 Beach Blvd                                      Midway City, CA 92655‐1007                                      First Class Mail
Chartered Organization         American Legion Post 556                              Allegheny Highlands Council 382        9 Meadow Ln                                           Frewsburg, NY 14738‐9550                                        First Class Mail
Chartered Organization         American Legion Post 556 Aux                          Mid‐America Council 326                P.O. Box 372                                          Carson, IA 51525‐0372                                           First Class Mail
Chartered Organization         American Legion Post 558                              Pacific Skyline Council 031            449 Whisman Park Dr                                   Mountain View, CA 94043‐5268                                    First Class Mail
Chartered Organization         American Legion Post 56                               Northern Lights Council 429            P.O. Box 428                                          Scobey, MT 59263‐0428                                           First Class Mail
Chartered Organization         American Legion Post 56 Sherwood                      Cascade Pacific Council 492            22548 SW Pine St                                      Sherwood, OR 97140‐9335                                         First Class Mail
Chartered Organization         American Legion Post 560                              Northern Lights Council 429            P.O. Box 412                                          Oakes, ND 58474‐0412                                            First Class Mail
Chartered Organization         American Legion Post 560                              Central Minnesota 296                  P.O. Box 123                                          Zimmerman, MN 55398‐0123                                        First Class Mail
Chartered Organization         American Legion Post 562                              Mid Iowa Council 177                   113 44th St                                           Cumming, IA 50061‐7711                                          First Class Mail
Chartered Organization         American Legion Post 566                              Northern Star Council 250              7731 Lake Dr                                          Lino Lakes, MN 55014‐1109                                       First Class Mail
Chartered Organization         American Legion Post 567                              Northern Star Council 250              14 Main St S                                          Saint Michael, MN 55376                                         First Class Mail
Chartered Organization         American Legion Post 57                               Flint River Council 095                P.O. Box 544                                          Newnan, GA 30264‐0544                                           First Class Mail
Chartered Organization         American Legion Post 571                              Black Swamp Area Council 449           8140 State Route 119                                  Maria Stein, OH 45860‐8710                                      First Class Mail
Chartered Organization         American Legion Post 572                              William B Wilson                       50 S Williamson Rd                                    Blossburg, PA 16912                                             First Class Mail
Chartered Organization         American Legion Post 572                              Hawkeye Area Council 172               216 Main St                                           Fairfax, IA 52228‐4714                                          First Class Mail
Chartered Organization         American Legion Post 579                              Alamo Area Council 583                 3002 Gunsmoke                                         San Antonio, TX 78227‐4034                                      First Class Mail
Chartered Organization         American Legion Post 58                               Yucca Council 573                      4724 Vulcan Ave                                       El Paso, TX 79904‐3716                                          First Class Mail
Chartered Organization         American Legion Post 58                               Grand Canyon Council 010               16837 E Parkview Ave                                  Fountain Hills, AZ 85268‐3827                                   First Class Mail
Chartered Organization         American Legion Post 58                               Northern Lights Council 429            P.O. Box 381                                          Plentywood, MT 59254‐0381                                       First Class Mail
Chartered Organization         American Legion Post 58                               Cascade Pacific Council 492            P.O. Box 602                                          Sublimity, OR 97385‐0602                                        First Class Mail
Chartered Organization         American Legion Post 58                               Mid‐America Council 326                111 E Front St                                        Valley, NE 68064‐1547                                           First Class Mail
Chartered Organization         American Legion Post 580                              Northern Star Council 250              290 Lake Dr E                                         Chanhassen, MN 55317‐9364                                       First Class Mail
Chartered Organization         American Legion Post 581                              Greater St Louis Area Council 312      375 E Locust St                                       Columbia, IL 62236‐2213                                         First Class Mail
Chartered Organization         American Legion Post 583                              Longhouse Council 373                  319 E Bronson St                                      Dexter, NY 13634‐7721                                           First Class Mail
Chartered Organization         American Legion Post 583                              Central Georgia Council 096            P.O. Box 3035                                         Eatonton, GA 31024‐3035                                         First Class Mail
Chartered Organization         American Legion Post 586                              Longhouse Council 373                  10 S Main St                                          Adams, NY 13605‐1208                                            First Class Mail
Chartered Organization         American Legion Post 586                              Miami Valley Council, Bsa 444          377 N 3rd St                                          Tipp City, OH 45371‐1919                                        First Class Mail
Chartered Organization         American Legion Post 587                              Golden Empire Council 047              P.O. Box 433                                          Foresthill, CA 95631‐0433                                       First Class Mail
Chartered Organization         American Legion Post 58‐Hurley                        Voyageurs Area 286                     201 Iron St                                           Hurley, WI 54534‐1354                                           First Class Mail
Chartered Organization         American Legion Post 59                               Allegheny Highlands Council 382        156 E Main St                                         Fredonia, NY 14063‐1408                                         First Class Mail
Chartered Organization         American Legion Post 59                               Patriots Path Council 358              P.O. Box 2013                                         Morristown, NJ 07962‐2013                                       First Class Mail
Chartered Organization         American Legion Post 59                               Hoosier Trails Council 145 145         110 Main St                                           Rising Sun, IN 47040‐1288                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                Page 14 of 442
                                                                               Case 20-10343-LSS                                      Doc 8171                                              Filed 01/06/22                                            Page 30 of 457
                                                                                                                                                                         Exhibit B
                                                                                                                                                                          Service List
                                                                                                                                                                   Served as set forth below

        Description                                                     Name                                                                                           Address                                                                                                   Email              Method of Service
Chartered Organization         American Legion Post 59                                Mid Iowa Council 177                    301 Washington St                                             Story City, IA 50248‐1055                                                                    First Class Mail
Chartered Organization         American Legion Post 59                                Glaciers Edge Council 620               803 N Page St                                                 Stoughton, WI 53589‐1309                                                                     First Class Mail
Chartered Organization         American Legion Post 59                                Green Mountain 592                      16 Stowe St                                                   Waterbury, VT 05676‐1819                                                                     First Class Mail
Chartered Organization         American Legion Post 591                               Circle Ten Council 571                  P.O. Box 95                                                   Forney, TX 75126‐0095                                                                        First Class Mail
Chartered Organization         American Legion Post 593                               Alamo Area Council 583                  326 Legion Dr W                                               Converse, TX 78109‐1423                                                                      First Class Mail
Chartered Organization         American Legion Post 595                               Gateway Area 624                        414 Red Apple Dr                                              La Crescent, MN 55947‐8604                                                                   First Class Mail
Chartered Organization         American Legion Post 596                               Northern Lights Council 429             P.O. Box 63                                                   Erskine, MN 56535‐0063                                                                       First Class Mail
Chartered Organization         American Legion Post 597                               Winnebago Council, Bsa 173              P.O. Box 263                                                  Elma, IA 50628‐0263                                                                          First Class Mail
Chartered Organization         American Legion Post 598                               Yucca Council 573                       141 Ellsworth Dr                                              Horizon City, TX 79928                                                                       First Class Mail
Chartered Organization         American Legion Post 6                                 Transatlantic Council, Bsa 802          P.O. Box 1502                                                 Apo, AE 09751                                                                                First Class Mail
Chartered Organization         American Legion Post 6                                 Occoneechee 421                         1714 Legion Rd                                                Chapel Hill, NC 27517‐2360                                                                   First Class Mail
Chartered Organization         American Legion Post 6                                 Pine Tree Council 218                   114 2nd St                                                    Hallowell, ME 04347‐1331                                                                     First Class Mail
Chartered Organization         American Legion Post 6 Hillsboro                       Cascade Pacific Council 492             285 W Main St                                                 Hillsboro, OR 97123‐3962                                                                     First Class Mail
Chartered Organization         American Legion Post 60                                Shenandoah Area Council 598             527 N Washington St                                           Berkeley Springs, WV 25411‐4557                                                              First Class Mail
Chartered Organization         American Legion Post 60                                Sioux Council 733                       103 N Commercial St                                           Clark, SD 57225‐1523                                                                         First Class Mail
Chartered Organization         American Legion Post 60                                Las Vegas Area Council 328              P.O. Box 648                                                  Laughlin, NV 89029                                                                           First Class Mail
Chartered Organization         American Legion Post 60                                Sagamore Council 162                    828 Burlington Ave                                            Logansport, IN 46947‐4701                                                                    First Class Mail
Chartered Organization         American Legion Post 60 ‐ Kimberly                     Bay‐Lakes Council 635                   122 W 1st St                                                  Kimberly, WI 54136‐1907                                                                      First Class Mail
Chartered Organization         American Legion Post 600                               Northern Star Council 250               P.O. Box 55                                                   Champlin, MN 55316‐0055                                                                      First Class Mail
Chartered Organization         American Legion Post 609                               Northeastern Pennsylvania Council 501   320 Lee Park Ave                                              Hanover Township, PA 18706‐3260                                                              First Class Mail
Chartered Organization         American Legion Post 61                                The Spirit of Adventure 227             P.O. Box 61                                                   Revere, MA 02151‐0006                                                                        First Class Mail
Chartered Organization         American Legion Post 61                                Hoosier Trails Council 145 145          P.O. Box 773                                                  Shoals, IN 47581‐0773                                                                        First Class Mail
Chartered Organization         American Legion Post 610                               Lake Erie Council 440                   19944 Sheldon Rd                                              Brook Park, OH 44142‐3428                                                                    First Class Mail
Chartered Organization         American Legion Post 610                               Northeastern Pennsylvania Council 501   600 Lackawanna Ave                                            Mayfield, PA 18433‐1804                                                                      First Class Mail
Chartered Organization         American Legion Post 613                               Central Minnesota 296                   400 Front St                                                  Pine River, MN 56474                                                                         First Class Mail
Chartered Organization         American Legion Post 615                               Attn: Fred Fleischmann                  Tinley Park Crime Prevention Comm.                            Pathway To Adventure 456           6625 Glenview Dr          Tinley Park, IL 60477           First Class Mail
Chartered Organization         American Legion Post 615                               Dan Beard Council, Bsa 438              174 S 4th St                                                  Waynesville, OH 45068                                                                        First Class Mail
Chartered Organization         American Legion Post 616                               Leatherstocking 400                     P.O. Box 1462                                                 Richfield Springs, NY 13439‐1462                                                             First Class Mail
Chartered Organization         American Legion Post 618                               Sam Houston Area Council 576            P.O. Box 554                                                  Willis, TX 77378‐0554                                                                        First Class Mail
Chartered Organization         American Legion Post 620                               Northern Star Council 250               5383 140th St N                                               Hugo, MN 55038‐9503                                                                          First Class Mail
Chartered Organization         American Legion Post 63                                Georgia‐Carolina 093                    90 Milledge Rd                                                Augusta, GA 30904‐3023                                                                       First Class Mail
Chartered Organization         American Legion Post 63                                Green Mountain 592                      48 Depot Sq                                                   Northfield, VT 05663‐6721                                                                    First Class Mail
Chartered Organization         American Legion Post 634                               Twin Rivers Council 364                 2106 State Route 22                                           Cambridge, NY 12816                                                                          First Class Mail
Chartered Organization         American Legion Post 634                               Prairielands 117                        Lincoln St                                                    Saint Joseph, IL 61873                                                                       First Class Mail
Chartered Organization         American Legion Post 638                               Allegheny Highlands Council 382         P.O. Box 474                                                  Falconer, NY 14733‐0474                                                                      First Class Mail
Chartered Organization         American Legion Post 639                               Illowa Council 133                      P.O. Box 341                                                  Eldridge, IA 52748‐0341                                                                      First Class Mail
Chartered Organization         American Legion Post 64                                Grand Columbia Council 614              401 Sunset Hwy                                                Cashmere, WA 98815                                                                           First Class Mail
Chartered Organization         American Legion Post 64                                Muskingum Valley Council, Bsa 467       812 Beverly Pl                                                Marietta, OH 45750‐1982                                                                      First Class Mail
Chartered Organization         American Legion Post 643                               Mississippi Valley Council 141 141      2147 150th St                                                 Winfield, IA 52659‐9325                                                                      First Class Mail
Chartered Organization         American Legion Post 648                               Black Swamp Area Council 449            341 W Main St                                                 Saint Henry, OH 45883‐9661                                                                   First Class Mail
Chartered Organization         American Legion Post 65                                Montana Council 315                     P.O. Box 284                                                  Ennis, MT 59729‐0284                                                                         First Class Mail
Chartered Organization         American Legion Post 65                                Patriots Path Council 358               P.O. Box 365                                                  Metuchen, NJ 08840‐0365                                                                      First Class Mail
Chartered Organization         American Legion Post 65                                Northern Star Council 250               14590 Burma Ave W                                             Rosemount, MN 55068‐3119                                                                     First Class Mail
Chartered Organization         American Legion Post 65                                Quivira Council, Bsa 198                P.O. Box 194                                                  Whitewater, KS 67154‐0194                                                                    First Class Mail
Chartered Organization         American Legion Post 65 Wilsonville                    Cascade Pacific Council 492             12035 SW Surrey St                                            Wilsonville, OR 97070‐7379                                                                   First Class Mail
Chartered Organization         American Legion Post 650                               Northeast Iowa Council 178              206 E Main St                                                 Epworth, IA 52045‐9752                                                                       First Class Mail
Chartered Organization         American Legion Post 650                               California Inland Empire Council 045    1532 Church St                                                Redlands, CA 92374‐2507                                                                      First Class Mail
Chartered Organization         American Legion Post 654                               Sam Houston Area Council 576            3105 Campbell Rd                                              Houston, TX 77080‐3925                                                                       First Class Mail
Chartered Organization         American Legion Post 655                               Allegheny Highlands Council 382         5 E Main St                                                   Cuba, NY 14727‐1205                                                                          First Class Mail
Chartered Organization         American Legion Post 66                                Northern Lights Council 429             P.O. Box 285                                                  New England, ND 58647‐0285                                                                   First Class Mail
Chartered Organization         American Legion Post 67                                Green Mountain 592                      P.O. Box 75                                                   Chester, VT 05143‐0075                                                                       First Class Mail
Chartered Organization         American Legion Post 67                                Glaciers Edge Council 620               129 S Main St                                                 Lake Mills, WI 53551‐1613                                                                    First Class Mail
Chartered Organization         American Legion Post 67                                Blackhawk Area 660                      15235 US Hwy 52                                               Mount Carroll, IL 61053‐9010                                                                 First Class Mail
Chartered Organization         American Legion Post 67                                Daniel Webster Council, Bsa 330         P.O. Box 375                                                  Newmarket, NH 03857‐0375                                                                     First Class Mail
Chartered Organization         American Legion Post 67                                Ore‐Ida Council 106 ‐ Bsa 106           25 NW 8th St                                                  Ontario, OR 97914‐2238                                                                       First Class Mail
Chartered Organization         American Legion Post 67                                Pacific Harbors Council, Bsa 612        10164 Woodland Ave E                                          Puyallup, WA 98373‐1182                                                                      First Class Mail
Chartered Organization         American Legion Post 67                                Central Minnesota 296                   128 Main St S                                                 Sauk Centre, MN 56378‐1345                                                                   First Class Mail
Chartered Organization         American Legion Post 67, Inc                           South Florida Council 084               14901 W Dixie Hwy                                             North Miami, FL 33181‐1017                                                                   First Class Mail
Chartered Organization         American Legion Post 674                               Hawkeye Area Council 172                3275 Otter Rd                                                 Toddville, IA 52341‐9760                                                                     First Class Mail
Chartered Organization         American Legion Post 675                               Three Fires Council 127                 19 W Washington St                                            Oswego, IL 60543‐8621                                                                        First Class Mail
Chartered Organization         American Legion Post 679                               Hawkeye Area Council 172                P.O. Box 323                                                  Palo, IA 52324‐0323                                                                          First Class Mail
Chartered Organization         American Legion Post 68                                Conquistador Council Bsa 413            Box 720 W Star Rt                                             Lovington, NM 88260                                                                          First Class Mail
Chartered Organization         American Legion Post 68                                Blue Ridge Mtns Council 599             205 Main St                                                   Narrows, VA 24124‐1314                                                                       First Class Mail
Chartered Organization         American Legion Post 68                                Buckskin 617                            205 Main St                                                   Narrows, VA 24124‐1314                                                                       First Class Mail
Chartered Organization         American Legion Post 68                                Greater St Louis Area Council 312       17 Roley Ests                                                 Sullivan, IL 61951‐6915                                                                      First Class Mail
Chartered Organization         American Legion Post 685                               Great Trail 433                         10001 Aurora Hudson Rd                                        Hudson, OH 44236‐2506                                                                        First Class Mail
Chartered Organization         American Legion Post 69                                Green Mountain 592                      P.O. Box 339                                                  Arlington, VT 05250‐0339                                                                     First Class Mail
Chartered Organization         American Legion Post 69                                Northern New Jersey Council, Bsa 333    412 3rd St                                                    Carlstadt, NJ 07072‐1422                                                                     First Class Mail
Chartered Organization         American Legion Post 69                                Pushmataha Area Council 691             P.O. Box 2884                                                 Columbus, MS 39704‐2884                                                                      First Class Mail
Chartered Organization         American Legion Post 694                               Suffolk County Council Inc 404          7 Woodside Ave                                                Northport, NY 11768‐1732                                                                     First Class Mail
Chartered Organization         American Legion Post 7                                 Mid‐America Council 326                 1124 Heires Ave                                               Carroll, IA 51401‐3326                                                                       First Class Mail
Chartered Organization         American Legion Post 7                                 Pony Express Council 311                749 9th Ave E                                                 Horton, KS 66439‐8741                                                                        First Class Mail
Chartered Organization         American Legion Post 70                                Twin Rivers Council 364                 34 West Ave                                                   Saratoga Springs, NY 12866‐6001                                                              First Class Mail
Chartered Organization         American Legion Post 70 ‐ Oshkosh                      Bay‐Lakes Council 635                   1393 Washington Ave                                           Oshkosh, WI 54901‐5379                                                                       First Class Mail
Chartered Organization         American Legion Post 703                               Northeast Illinois 129                  703 N US Hwy 12                                               Fox Lake, IL 60020‐1285                                                                      First Class Mail
Chartered Organization         American Legion Post 705                               Laurel Highlands Council 527            1101 Old National Pike                                        Fredericktown, PA 15333‐2112                                                                 First Class Mail
Chartered Organization         American Legion Post 705                               Golden Empire Council 047               P.O. Box 744                                                  Yuba City, CA 95992‐0744                                                                     First Class Mail
Chartered Organization         American Legion Post 71                                Quapaw Area Council 018                 P.O. Box 951                                                  Cabot, AR 72023‐0951                                                                         First Class Mail
Chartered Organization         American Legion Post 71                                Bay‐Lakes Council 635                   820 Delta Ave                                                 Gladstone, MI 49837‐1647                                                                     First Class Mail
Chartered Organization         American Legion Post 71                                Black Hills Area Council 695 695        1045 Jennings Ave                                             Hot Springs, SD 57747‐1328                                                                   First Class Mail
Chartered Organization         American Legion Post 71                                Greater Tampa Bay Area 089              P.O. Box 668                                                  Lake Wales, FL 33859‐0668                                                                    First Class Mail
Chartered Organization         American Legion Post 71                                Northern Lights Council 429             P.O. Box 96                                                   Mott, ND 58646‐0096                                                                          First Class Mail
Chartered Organization         American Legion Post 711                               Southern Sierra Council 030             P.O. Box 2892                                                 Lake Isabella, CA 93240‐2892                                                                 First Class Mail
Chartered Organization         American Legion Post 719                               Lake Erie Council 440                   215 N Maple St                                                Orwell, OH 44076‐9567                                                                        First Class Mail
Chartered Organization         American Legion Post 72                                Inland Northwest Council 611            116 College Ave                                               Cheney, WA 99004‐1621                                                                        First Class Mail
Chartered Organization         American Legion Post 72                                Utah National Parks 591                 1636 S 100 E                                                  Orem, UT 84058‐7810                                                                          First Class Mail
Chartered Organization         American Legion Post 72                                Mid‐America Council 326                 P.O. Box 71                                                   Pierce, NE 68767‐0071                                                                        First Class Mail
Chartered Organization         American Legion Post 72                                Connecticut Yankee Council Bsa 072      P.O. Box 217                                                  Southington, CT 06489‐0217                                                                   First Class Mail
Chartered Organization         American Legion Post 72                                National Capital Area Council 082       345 Legion Dr                                                 Warrenton, VA 20186‐3536                                                                     First Class Mail
Chartered Organization         American Legion Post 721                               Hawkeye Area Council 172                901 2nd St                                                    Coralville, IA 52241‐2621                                                                    First Class Mail
Chartered Organization         American Legion Post 721                               Abraham Lincoln Council 144             P.O. Box 234                                                  Morrisonville, IL 62546‐0234                                                                 First Class Mail
Chartered Organization         American Legion Post 73                                Buffalo Trace 156                       222 N 4th St                                                  Vincennes, IN 47591‐1315                                                                     First Class Mail
Chartered Organization         American Legion Post 74                                Stonewall Jackson Council 763           P.O. Box 6566                                                 Charlottesville, VA 22906‐6566                                                               First Class Mail
Chartered Organization         American Legion Post 74                                Mid‐America Council 326                 P.O. Box 474                                                  Creighton, NE 68729‐0474                                                                     First Class Mail
Chartered Organization         American Legion Post 74 Carl Douglas                   Cascade Pacific Council 492             P.O. Box 1162                                                 Estacada, OR 97023‐1162                                                                      First Class Mail
Chartered Organization         American Legion Post 74 Wiley Pevy                     Norwela Council 215                     119 Pine St                                                   Minden, LA 71055‐3337                                                                        First Class Mail
Chartered Organization         American Legion Post 75                                Gulf Coast Council 773                  898 E James Lee Blvd                                          Crestview, FL 32539‐3118                                                                     First Class Mail
Chartered Organization         American Legion Post 75                                Northern Lights Council 429             P.O. Box 572                                                  Crosby, ND 58730‐0572                                                                        First Class Mail
Chartered Organization         American Legion Post 75                                Three Fires Council 127                 22 S 2nd St                                                   Geneva, IL 60134‐2205                                                                        First Class Mail
Chartered Organization         American Legion Post 75                                Twin Valley Council Bsa 283             202 Broadway Ave S                                            New Richland, MN 56072                                                                       First Class Mail
Chartered Organization         American Legion Post 759                               Abraham Lincoln Council 144             206 W Chestnut St                                             Chatham, IL 62629‐1303                                                                       First Class Mail
Chartered Organization         American Legion Post 76                                Central N Carolina Council 416          24302 US 52 Business S                                        Albemarle, NC 28001                                                                          First Class Mail
Chartered Organization         American Legion Post 76                                Mount Baker Council, Bsa 606            115 N Olympic Ave                                             Arlington, WA 98223‐1335                                                                     First Class Mail
Chartered Organization         American Legion Post 76                                Capitol Area Council 564                404 Atlanta St                                                Austin, TX 78703‐4615                                                                        First Class Mail
Chartered Organization         American Legion Post 76                                Green Mountain 592                      Hc 63 Box 60                                                  Barton, VT 05822                                                                             First Class Mail
Chartered Organization         American Legion Post 76                                Three Fires Council 127                 570 S Gary Ave                                                Carol Stream, IL 60188‐2061                                                                  First Class Mail
Chartered Organization         American Legion Post 76                                Las Vegas Area Council 328              P.O. Box 34012                                                Las Vegas, NV 89133‐4012                                                                     First Class Mail
Chartered Organization         American Legion Post 762                               Miami Valley Council, Bsa 444           10 W Main St                                                  New Lebanon, OH 45345                                                                        First Class Mail
Chartered Organization         American Legion Post 765                               c/o Lloyd Hubler                        Mississippi Valley Council 141 141                            Rr 1 Box 94A                       Smithshire, IL 61478                                      First Class Mail
Chartered Organization         American Legion Post 77                                Mayflower Council 251                   P.O. Box 428                                                  Ashland, MA 01721‐0428                                                                       First Class Mail
Chartered Organization         American Legion Post 77                                Blackhawk Area 660                      900 W Chrysler Dr                                             Belvidere, IL 61008‐6036                                                                     First Class Mail
Chartered Organization         American Legion Post 77                                Chippewa Valley Council 637             P.O. Box 241                                                  Chippewa Falls, WI 54729‐0241                                                                First Class Mail
Chartered Organization         American Legion Post 77                                Winnebago Council, Bsa 173              1615 Maple Ave                                                Kanawha, IA 50447‐8046                                                                       First Class Mail
Chartered Organization         American Legion Post 77                                Pikes Peak Council 060                  2257 Sioux Ave                                                Simla, CO 80835                                                                              First Class Mail
Chartered Organization         American Legion Post 77                                Golden Empire Council 047               523 Bush St                                                   Woodland, CA 95695‐3938                                                                      First Class Mail
Chartered Organization         American Legion Post 77 Of Owatonna                    Gamehaven 299                           137 W Broadway St                                             Owatonna, MN 55060‐2301                                                                      First Class Mail
Chartered Organization         American Legion Post 78                                Gulf Coast Council 773                  6025 Spikes Way                                               Milton, FL 32583‐2887                                                                        First Class Mail
Chartered Organization         American Legion Post 78 Keith Powell                   Greater Los Angeles Area 033            P.O. Box 128                                                  Claremont, CA 91711‐0128                                                                     First Class Mail
Chartered Organization         American Legion Post 781                               Northeastern Pennsylvania Council 501   1550 Henry Dr                                                 Mountain Top, PA 18707‐9019                                                                  First Class Mail
Chartered Organization         American Legion Post 79                                Buffalo Trail Council 567               P.O. Box 695                                                  Alpine, TX 79831‐0695                                                                        First Class Mail
Chartered Organization         American Legion Post 79                                Connecticut Yankee Council Bsa 072      43 Bradley Rd                                                 Madison, CT 06443‐2605                                                                       First Class Mail
Chartered Organization         American Legion Post 79                                Northern Star Council 250               102 Elm Ave Sw                                                Montgomery, MN 56069‐1230                                                                    First Class Mail
Chartered Organization         American Legion Post 79                                Washington Crossing Council 777         1205 Reins Cir                                                New Hope, PA 18938‐5814                                                                      First Class Mail
Chartered Organization         American Legion Post 79                                California Inland Empire Council 045    2979 Dexter Dr                                                Riverside, CA 92501‐2049                                                                     First Class Mail
Chartered Organization         American Legion Post 79 ‐ Ross Wilcox                  Three Harbors Council 636               P.O. Box 2                                                    Burlington, WI 53105‐0002                                                                    First Class Mail
Chartered Organization         American Legion Post 790                               Westmoreland Fayette 512                P.O. Box 424                                                  Smithton, PA 15479‐0424                                                                      First Class Mail
Chartered Organization         American Legion Post 8                                 Sioux Council 733                       P.O. Box 784                                                  Pierre, SD 57501‐0784                                                                        First Class Mail
Chartered Organization         American Legion Post 8                                 National Capital Area Council 082       224 D St Se                                                   Washington, DC 20003‐1991                                                                    First Class Mail
Chartered Organization         American Legion Post 8                                 National Capital Area Council 082       224 D St Se                                                   Washington, DC 20003‐1991                                                                    First Class Mail
Chartered Organization         American Legion Post 80                                Northern Lights Council 429             General Delivery                                              Wheaton, MN 56296                                                                            First Class Mail
Chartered Organization         American Legion Post 800                               Baden‐Powell Council 368                307 Main St                                                   Groton, NY 13073‐1327                                                                        First Class Mail
Chartered Organization         American Legion Post 800                               California Inland Empire Council 045    P.O. Box 800                                                  Idyllwild, CA 92549‐0800                                                                     First Class Mail
Chartered Organization         American Legion Post 806                               Baden‐Powell Council 368                25 Bixby St                                                   Bainbridge, NY 13733‐1106                                                                    First Class Mail
Chartered Organization         American Legion Post 81                                Istrouma Area Council 211               421 E City Park St                                            Gonzales, LA 70737‐3546                                                                      First Class Mail
Chartered Organization         American Legion Post 81                                Sioux Council 733                       P.O. Box 354                                                  Toronto, SD 57268‐0354                                                                       First Class Mail
Chartered Organization         American Legion Post 81                                Mid‐America Council 326                 P.O. Box 634                                                  Wakefield, NE 68784‐0634                                                                     First Class Mail
Chartered Organization         American Legion Post 82                                Pushmataha Area Council 691             P.O. Box 903                                                  Ackerman, MS 39735‐0903                                                                      First Class Mail
Chartered Organization         American Legion Post 82                                Denver Area Council 061                 P.O. Box 865                                                  Elizabeth, CO 80107‐0865                                                                     First Class Mail
Chartered Organization         American Legion Post 826                               W.L.A.C.C. 051                          5380 Fallbrook Ave                                            Woodland Hills, CA 91367                                                                     First Class Mail
Chartered Organization         American Legion Post 83                                Twin Rivers Council 364                 148 Main St                                                   Whitehall, NY 12887‐1113                                                                     First Class Mail
Chartered Organization         American Legion Post 838 Irvine                        Orange County Council 039               51 Bridgeport                                                 Irvine, CA 92620‐3210                                                                        First Class Mail
Chartered Organization         American Legion Post 85                                Northern Star Council 250               P.O. Box 57                                                   North Branch, MN 55056‐0057                                                                  First Class Mail
Chartered Organization         American Legion Post 859                               17 Pavilion Rd                          Suffern, NY 10901                                                                                                                                          First Class Mail
Chartered Organization         American Legion Post 86                                Mount Baker Council, Bsa 606            4580 Legion Dr                                                Blaine, WA 98230‐9172                                                                        First Class Mail
Chartered Organization         American Legion Post 86                                Pine Tree Council 218                   160 Lyons Point Rd                                            Raymond, ME 04071‐5515                                                                       First Class Mail
Chartered Organization         American Legion Post 86                                Ohio River Valley Council 619           415 Market St                                                 Toronto, OH 43964‐1407                                                                       First Class Mail
Chartered Organization         American Legion Post 862                               Orange County Council 039               P.O. Box 2831                                                 Mission Viejo, CA 92690‐0831                                                                 First Class Mail
Chartered Organization         American Legion Post 87                                Heart of Virginia Council 602           16440 Five Forks Rd                                           Amelia Court House, VA 23002                                                                 First Class Mail
Chartered Organization         American Legion Post 87                                Denver Area Council 061                 1427 Elmira St                                                Aurora, CO 80010‐3216                                                                        First Class Mail
Chartered Organization         American Legion Post 87                                Cascade Pacific Council 492             P.O. Box 539                                                  White Salmon, WA 98672‐0539                                                                  First Class Mail
Chartered Organization         American Legion Post 876                               Baden‐Powell Council 368                P.O. Box 286                                                  Sherburne, NY 13460‐0286                                                                     First Class Mail
Chartered Organization         American Legion Post 878                               Hawk Mountain Council 528               P.O. Box 200                                                  Oley, PA 19547‐0200                                                                          First Class Mail
Chartered Organization         American Legion Post 88                                Northern Lights Council 429             P.O. Box 88                                                   Hankinson, ND 58041‐0088                                                                     First Class Mail
Chartered Organization         American Legion Post 88                                Daniel Webster Council, Bsa 330         P.O. Box 7052                                                 Loudon, NH 03307‐7052                                                                        First Class Mail
Chartered Organization         American Legion Post 88                                Greater Yosemite Council 059            P.O. Box 128                                                  Turlock, CA 95381‐0128                                                                       First Class Mail
Chartered Organization         American Legion Post 88 ‐ Denton Drake                 Mobile Area Council‐Bsa 004             2263 Halls Mill Rd                                            Mobile, AL 36606                                                                             First Class Mail
Chartered Organization         American Legion ‐Post 88 Marsh Valley                  Grand Teton Council 107                 P.O. Box 831                                                  Lava Hot Springs, ID 83246‐0831                                                              First Class Mail
Chartered Organization         American Legion Post 889                               Northeastern Pennsylvania Council 501   P.O. Box 395                                                  Waymart, PA 18472‐0395                                                                       First Class Mail
Chartered Organization         American Legion Post 89                                W D Boyce 138                           205 E Partridge St                                            Metamora, IL 61548                                                                           First Class Mail
Chartered Organization         American Legion Post 89                                W D Boyce 138                           205 E Partridge St                                            Metamora, IL 61548                                                                           First Class Mail
Chartered Organization         American Legion Post 892                               Allegheny Highlands Council 382         4350 Route 417                                                Allegany, NY 14706‐9789                                                                      First Class Mail
Chartered Organization         American Legion Post 9                                 Black Warrior Council 006               P.O. Box 1204                                                 Jasper, AL 35502‐1204                                                                        First Class Mail
Chartered Organization         American Legion Post 90                                Pine Burr Area Council 304              32 Country Club Dr                                            Columbia, MS 39429‐9002                                                                      First Class Mail
Chartered Organization         American Legion Post 90                                Gamehaven 299                           100 Main St                                                   Lewiston, MN 55952                                                                           First Class Mail
Chartered Organization         American Legion Post 90                                Greater St Louis Area Council 312       302 S 8th St                                                  Marshall, IL 62441‐1606                                                                      First Class Mail
Chartered Organization         American Legion Post 90 Banks                          Cascade Pacific Council 492             13970 NW Main St                                              Banks, OR 97106‐9030                                                                         First Class Mail
Chartered Organization         American Legion Post 91                                Twin Valley Council Bsa 283             809 12th St Sw                                                Austin, MN 55912‐1648                                                                        First Class Mail
Chartered Organization         American Legion Post 91                                Green Mountain 592                      3650 Roosevelt Hwy                                            Colchester, VT 05446‐7091                                                                    First Class Mail
Chartered Organization         American Legion Post 91                                East Bridgewater                        P.O. Box 291                                                  East Bridgewater, MA 02333‐0291                                                              First Class Mail
Chartered Organization         American Legion Post 91                                Connecticut Rivers Council, Bsa 066     66 Prospect St                                                Moosup, CT 06354‐1437                                                                        First Class Mail
Chartered Organization         American Legion Post 91                                Laurel Highlands Council 527            154 E Main St                                                 Romney, WV 26757‐1819                                                                        First Class Mail
Chartered Organization         American Legion Post 91                                North Florida Council 087               P.O. Box 559                                                  Trenton, FL 32693‐0559                                                                       First Class Mail
Chartered Organization         American Legion Post 91                                Illowa Council 133                      105 N Main Ave                                                Wyoming, IL 61491                                                                            First Class Mail
Chartered Organization         American Legion Post 911                               Northeast Illinois 129                  P.O. Box 146                                                  Wauconda, IL 60084‐0146                                                                      First Class Mail
Chartered Organization         American Legion Post 912                               Twin Rivers Council 364                 29 Pratt St                                                   Rouses Point, NY 12979‐1128                                                                  First Class Mail
Chartered Organization         American Legion Post 92                                South Florida Council 084               211 N 21st Ave                                                Hollywood, FL 33020‐4506                                                                     First Class Mail
Chartered Organization         American Legion Post 92                                Gamehaven 299                           403 E Center St                                               Rochester, MN 55904‐4650                                                                     First Class Mail
Chartered Organization         American Legion Post 927                               Minsi Trails Council 502                646 Fairgrounds Rd                                            Gilbert, PA 18331                                                                            First Class Mail
Chartered Organization         American Legion Post 93                                Westark Area Council 016                P.O. Box 241                                                  Jasper, AR 72641‐0241                                                                        First Class Mail
Chartered Organization         American Legion Post 93                                Buckskin 617                            302 8th St                                                    Kenova, WV 25530‐1505                                                                        First Class Mail
Chartered Organization         American Legion Post 93                                Rio Grande Council 775                  910 W Expressway 83                                           Mission, TX 78572                                                                            First Class Mail
Chartered Organization         American Legion Post 94                                Pacific Harbors Council, Bsa 612        2602 Marvin Rd Se                                             Lacey, WA 98503                                                                              First Class Mail
Chartered Organization         American Legion Post 94 Babylon                        Suffolk County Council Inc 404          22 Grove Pl                                                   Babylon, NY 11702‐2706                                                                       First Class Mail
Chartered Organization         American Legion Post 942                               Seneca Waterways 397                    818 Ridge Rd                                                  Webster, NY 14580‐2411                                                                       First Class Mail
Chartered Organization         American Legion Post 95                                Coastal Georgia Council 099             706 E Barnard St                                              Glennville, GA 30427‐1618                                                                    First Class Mail
Chartered Organization         American Legion Post 95                                Sagamore Council 162                    424 S Main St                                                 Jonesboro, IN 46938‐1115                                                                     First Class Mail
Chartered Organization         American Legion Post 95                                Daniel Webster Council, Bsa 330         Kearsage St                                                   North Conway, NH 03860                                                                       First Class Mail
Chartered Organization         American Legion Post 95                                Golden Empire Council 047               P.O. Box 1506                                                 Oroville, CA 95965‐1506                                                                      First Class Mail
Chartered Organization         American Legion Post 96                                Overland Trails 322                     1003 Nebraska Ave                                             Arapahoe, NE 68922‐2765                                                                      First Class Mail
Chartered Organization         American Legion Post 96                                Northern Star Council 250               35 3rd Ave Se                                                 Hutchinson, MN 55350‐2551                                                                    First Class Mail
Chartered Organization         American Legion Post 96                                Sagamore Council 162                    P.O. Box 353                                                  Medaryville, IN 47957‐0353                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                          Page 15 of 442
                                                                                 Case 20-10343-LSS                                          Doc 8171                                         Filed 01/06/22                                                 Page 31 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                       Name                                                                                          Address                                                                                                               Email              Method of Service
Chartered Organization         American Legion Post 960                                 Washington Crossing Council 777            1537 Woodbourne Rd                                        Levittown, PA 19057‐1506                                                                                 First Class Mail
Chartered Organization         American Legion Post 964                                 Twin Rivers Council 364                    P.O. Box 521                                              Chestertown, NY 12817‐0521                                                                               First Class Mail
Chartered Organization         American Legion Post 964                                 Pathway To Adventure 456                   51 Lions Dr                                               Lake Zurich, IL 60047‐1313                                                                               First Class Mail
Chartered Organization         American Legion Post 97                                  Anthony Wayne Area 157                     1729 Sprott St                                            Auburn, IN 46706‐3426                                                                                    First Class Mail
Chartered Organization         American Legion Post 97                                  Katahdin Area Council 216                  1346 Main Rd                                              Enfield, ME 04493‐4433                                                                                   First Class Mail
Chartered Organization         American Legion Post 97                                  Northern Lights Council 429                P.O. Box 732                                              Larimore, ND 58251‐0732                                                                                  First Class Mail
Chartered Organization         American Legion Post 977                                 Twin Rivers Council 364                    P.O. Box 461                                              Altamont, NY 12009‐0461                                                                                  First Class Mail
Chartered Organization         American Legion Post 978                                 Bucktail Council 509                       19612 Bennetts Valley Hwy                                 Weedville, PA 15868‐3416                                                                                 First Class Mail
Chartered Organization         American Legion Post 98                                  Chippewa Valley Council 637                1225 Veterans St                                          Cumberland, WI 54829‐7240                                                                                First Class Mail
Chartered Organization         American Legion Post 98                                  Northern Lights Council 429                P.O. Box 483                                              Langdon, ND 58249‐0483                                                                                   First Class Mail
Chartered Organization         American Legion Post 98                                  The Spirit of Adventure 227                P.O. Box 117                                              Rockport, MA 01966‐0117                                                                                  First Class Mail
Chartered Organization         American Legion Post 983                                 Rip Van Winkle Council 405                 P.O. Box 329                                              Cairo, NY 12413‐0329                                                                                     First Class Mail
Chartered Organization         American Legion Post 998                                 New Birth of Freedom 544                   4700 Derry St                                             Harrisburg, PA 17111‐2661                                                                                First Class Mail
Chartered Organization         American Legion Post No 111                              Blue Ridge Mtns Council 599                P.O. Box 192                                              Rocky Mount, VA 24151‐0192                                                                               First Class Mail
Chartered Organization         American Legion Post No 49                               Cornhusker Council 324                     4130 Superior Rd                                          Utica, NE 68456‐8158                                                                                     First Class Mail
Chartered Organization         American Legion Post Number 81                           Lincoln Heritage Council 205               415 Lee Ave                                               Leitchfield, KY 42754‐1568                                                                               First Class Mail
Chartered Organization         American Legion Post South Plainfield                    Patriots Path Council 358                  243 Oak Tree Ave                                          South Plainfield, NJ 07080‐4408                                                                          First Class Mail
Chartered Organization         American Legion Post Thb 187                             Three Fires Council 127                    815 S Finley Rd                                           Lombard, IL 60148‐3235                                                                                   First Class Mail
Chartered Organization         American Legion Post William Allen                       Gamehaven 299                              215 3rd St Sw                                             Plainview, MN 55964‐1325                                                                                 First Class Mail
Chartered Organization         American Legion Post‐Leander J Kinchen                   Istrouma Area Council 211                  P.O. Box 276                                              Ponchatoula, LA 70454‐0276                                                                               First Class Mail
Chartered Organization         American Legion Post‐Loomis‐Martin 188                   Potawatomi Area Council 651                2870 School St                                            East Troy, WI 53120                                                                                      First Class Mail
Chartered Organization         American Legion Pt 268 & Commercial Club                 Winnebago Council, Bsa 173                 10068 Sandhill Rd                                         Greene, IA 50636‐9269                                                                                    First Class Mail
Chartered Organization         American Legion Rainbow Post 2                           Mid‐America Council 326                    716 S 4th St                                              Council Bluffs, IA 51503‐6537                                                                            First Class Mail
Chartered Organization         American Legion Ravalli Post 47                          Montana Council 315                        P.O. Box 641                                              Hamilton, MT 59840‐0641                                                                                  First Class Mail
Chartered Organization         American Legion Reams Post 182                           Mt Diablo‐Silverado Council 023            P.O. Box 447                                              Suisun City, CA 94585‐0447                                                                               First Class Mail
Chartered Organization         American Legion Rex‐Ish Post 88                          Greater Yosemite Council 059               P.O. Box 128                                              Turlock, CA 95381‐0128                                                                                   First Class Mail
Chartered Organization         American Legion Riders Post 54                           Inland Northwest Council 611               P.O. Box 84                                               Chewelah, WA 99109‐0084                                                                                  First Class Mail
Chartered Organization         American Legion Ridgefield Post 44                       Cascade Pacific Council 492                P.O. Box 1566                                             Ridgefield, WA 98642‐0020                                                                                First Class Mail
Chartered Organization         American Legion Rolla Dicks Post 315                     Pony Express Council 311                   15778 Glacier Rd                                          Clearmont, MO 64431‐8112                                                                                 First Class Mail
Chartered Organization         American Legion Ronald L Mcelroy Post 81                 Circle Ten Council 571                     418 E Red Bird Ln                                         Duncanville, TX 75116‐2422                                                                               First Class Mail
Chartered Organization         American Legion Ronan Post 0138                          Montana Council 315                        P.O. Box 678                                              Ronan, MT 59864‐0678                                                                                     First Class Mail
Chartered Organization         American Legion Rothie Post 330                          Gamehaven 299                              P.O. Box 448                                              Hayfield, MN 55940‐0448                                                                                  First Class Mail
Chartered Organization         American Legion Rowe‐Jones Post 145                      Buckskin 617                               Hc 77 Box 31‐A                                            Peterstown, WV 24963                                                                                     First Class Mail
Chartered Organization         American Legion Rusy Bohm Post 411                       Suffolk County Council Inc 404             39 Nassau Ave                                             Islip, NY 11751‐3605                                                                                     First Class Mail
Chartered Organization         American Legion Sagebrush Post 68                        Longs Peak Council 062                     P.O. Box 56                                               Brush, CO 80723‐0056                                                                                     First Class Mail
Chartered Organization         American Legion Salinas Post 31                          Silicon Valley Monterey Bay 055            14 W Laurel Dr                                            Salinas, CA 93906‐3402                                                                                   First Class Mail
Chartered Organization         American Legion Scherer Post 493                         Miami Valley Council, Bsa 444              627 E College St                                          Jackson Center, OH 45334‐5100                                                                            First Class Mail
Chartered Organization         American Legion Seaside Post 591                         Silicon Valley Monterey Bay 055            P.O. Box 591                                              Seaside, CA 93955‐0591                                                                                   First Class Mail
Chartered Organization         American Legion Sergy Post 98                            Mid‐America Council 326                    107 W Washington St                                       Clarinda, IA 51632‐1504                                                                                  First Class Mail
Chartered Organization         American Legion Shore Boros Post 351                     Jersey Shore Council 341                   1400 Bay Blvd                                             Seaside Heights, NJ 08751‐1841                                                                           First Class Mail
Chartered Organization         American Legion Sipe‐Peterson Post 44                    Grand Canyon Council 010                   7145 E 2nd St                                             Scottsdale, AZ 85251‐5575                                                                                First Class Mail
Chartered Organization         American Legion Slyvester Post 335                       South Georgia Council 098                  205 E Pope St                                             Sylvester, GA 31791‐2118                                                                                 First Class Mail
Chartered Organization         American Legion Smith‐Spence Post 144                    South Georgia Council 098                  P.O. Box 309                                              Pelham, GA 31779‐0309                                                                                    First Class Mail
Chartered Organization         American Legion Squadron 62                              Grand Canyon Council 010                   9847 W Desert Cove Ave                                    Peoria, AZ 85345‐5408                                                                                    First Class Mail
Chartered Organization         American Legion Star Post 309                            W.L.A.C.C. 051                             29300 the Old Rd                                          Castaic, CA 91384‐2905                                                                                   First Class Mail
Chartered Organization         American Legion Steve Youngdeer Post 143                 Daniel Boone Council 414                   P.O. Box 1181                                             Cherokee, NC 28719‐1181                                                                                  First Class Mail
Chartered Organization         American Legion Steven H Nipp Post 143                   Inland Northwest Council 611               Post Falls Id                                             Post Falls, ID 83854                                                                                     First Class Mail
Chartered Organization         American Legion Susitna Valley Post 35                   Great Alaska Council 610                   4180 W Tweed Ct                                           Wasilla, AK 99623‐4866                                                                                   First Class Mail
Chartered Organization         American Legion Sylvan Beach Post 1153                   Leatherstocking 400                        703 Clifford Ave                                          Sylvan Beach, NY 13157‐7763                                                                              First Class Mail
Chartered Organization         American Legion Synepuxent Post 166                      Del Mar Va 081                             P.O. Box 63                                               Ocean City, MD 21843‐0063                                                                                First Class Mail
Chartered Organization         American Legion Thb Post 187                             Three Fires Council 127                    310 W Butterfield Rd                                      Elmhurst, IL 60126‐5017                                                                                  First Class Mail
Chartered Organization         American Legion Tibbetts Post 55                         Pine Tree Council 218                      224 Chellis Rd                                            West Newfield, ME 04095‐3005                                                                             First Class Mail
Chartered Organization         American Legion Tibbitts Post 55                         Pine Tree Council 218                      24 Emery Corner Rd                                        Limerick, ME 04048‐3230                                                                                  First Class Mail
Chartered Organization         American Legion Tobey‐Smith 21                           Pine Tree Council 218                      200 Congress Ave                                          Bath, ME 04530‐1539                                                                                      First Class Mail
Voting Party                   American Legion Travis Post 76                           P.O. Box 5014                              Austin, TX 78763                                                                                                                    wwiviecpa@sbcglobal.net        Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         American Legion Turner Schrader Post 34                  Seneca Waterways 397                       P.O. Box 234                                              Shortsville, NY 14548‐0234                                                                               First Class Mail
Chartered Organization         American Legion Vermilion Post 29                        Evangeline Area 212                        500 E Lafayette St                                        Abbeville, LA 70510‐5245                                                                                 First Class Mail
Chartered Organization         American Legion Victor Candlin Post 18                   Longs Peak Council 062                     P.O. Box 337180                                           Greeley, CO 80633‐0620                                                                                   First Class Mail
Chartered Organization         American Legion Virginia Post 364                        National Capital Area Council 082          3640 Friendly Post Ln                                     Woodbridge, VA 22192                                                                                     First Class Mail
Chartered Organization         American Legion Warren Mckeon Post 587                   Golden Empire Council 047                  P.O. Box 433                                              Foresthill, CA 95631‐0433                                                                                First Class Mail
Chartered Organization         American Legion Washington Post No 2                     Cascade Pacific Council 492                2033 21st Ave                                             Forest Grove, OR 97116                                                                                   First Class Mail
Chartered Organization         American Legion Waxhaw Post 208                          Central N Carolina Council 416             801 E S Main St                                           Waxhaw, NC 28173                                                                                         First Class Mail
Chartered Organization         American Legion Wilson Ritch Post 432                    Suffolk County Council Inc 404             P.O. Box 92                                               Port Jefferson Station, NY 11776‐0092                                                                    First Class Mail
Chartered Organization         American Legion Wm H Lansing Post 360                    Glaciers Edge Council 620                  417 E Main St                                             Waunakee, WI 53597‐1433                                                                                  First Class Mail
Chartered Organization         American Legion Wm Phillips Post 65                      Quivira Council, Bsa 198                   108 E Topeka St                                           Whitewater, KS 67154‐8700                                                                                First Class Mail
Chartered Organization         American Legion Womens Auxillary                         Evangeline Area 212                        P.O. Box 730                                              Patterson, LA 70392‐0730                                                                                 First Class Mail
Chartered Organization         American Legion Woodland Hills Post 826                  W.L.A.C.C. 051                             5320 Fallbrook Ave                                        Woodland Hills, CA 91367‐6109                                                                            First Class Mail
Chartered Organization         American Legion Ww Manning Post 32                       Nevada Area Council 329                    P.O. Box 623                                              Carlin, NV 89822‐0623                                                                                    First Class Mail
Chartered Organization         American Legion, Hartman Post 84                         Mid‐America Council 326                    2263 3rd St                                               Columbus, NE 68601‐7527                                                                                  First Class Mail
Chartered Organization         American Legion, Post 143, Pembroke                      Mayflower Council 251                      P.O. Box 182                                              Pembroke, MA 02359‐0182                                                                                  First Class Mail
Chartered Organization         American Legion‐Austin Reedy Post 97                     Montana Council 315                        319 California Ave                                        Libby, MT 59923‐1937                                                                                     First Class Mail
Chartered Organization         American Legionauxilary Canal Post 25                    Del Mar Va 081                             P.O. Box 70                                               Middletown, DE 19709‐0070                                                                                First Class Mail
Chartered Organization         American Legion‐Daniel Matson Post 243                   Mississippi Valley Council 141 141         1305 Middle St                                            Mediapolis, IA 52637‐9498                                                                                First Class Mail
Chartered Organization         American Legion‐Floresville Post 38                      Alamo Area Council 583                     1412 4th St                                               Floresville, TX 78114‐2372                                                                               First Class Mail
Chartered Organization         American Legion‐Harry Reynolds Post 191                  Black Swamp Area Council 449               200 S Broadway St                                         Spencerville, OH 45887‐1325                                                                              First Class Mail
Chartered Organization         American Legionpost 1288                                 Rainbow Council 702                        201 Canterbury Ln                                         Bolingbrook, IL 60440‐2941                                                                               First Class Mail
Chartered Organization         American Legion‐Post 149                                 Buckskin 617                               P.O. Box 149                                              Fayetteville, WV 25840‐0149                                                                              First Class Mail
Chartered Organization         American Lutheran Church                                 Prairielands 117                           905 E 1st St                                              Gibson City, IL 60936‐2102                                                                               First Class Mail
Chartered Organization         American Lutheran Church                                 Grand Canyon Council 010                   1085 Scott Dr                                             Prescott, AZ 86301‐1731                                                                                  First Class Mail
Chartered Organization         American Lutheran Church                                 Northern Lights Council 429                P.O. Box 310                                              Stanley, ND 58784‐0310                                                                                   First Class Mail
Chartered Organization         American Lutheran Church                                 Twin Valley Council Bsa 283                968 Prospect Ave                                          Windom, MN 56101‐1754                                                                                    First Class Mail
Chartered Organization         American Lutheran Church ‐ Milbank                       Sioux Council 733                          401 Flynn Dr                                              Milbank, SD 57252‐1522                                                                                   First Class Mail
Chartered Organization         American Lutheran Church Billings                        Montana Council 315                        5 Lewis Ave                                               Billings, MT 59101‐6032                                                                                  First Class Mail
Chartered Organization         American Lutheran Church Desmet                          Sioux Council 733                          411 4th St Sw                                             De Smet, SD 57231‐2251                                                                                   First Class Mail
Chartered Organization         American Management Administration Corp                  Puerto Rico Council 661                    P.O. Box 21487                                            San Juan, PR 00928‐1487                                                                                  First Class Mail
Chartered Organization         American Management Assoc                                Greater New York Councils, Bsa 640         1601 Broadway Fl 12                                       New York, NY 10019‐7434                                                                                  First Class Mail
Chartered Organization         American Martyrs Church                                  Greater Los Angeles Area 033               624 15th St                                               Manhattan Beach, CA 90266‐4805                                                                           First Class Mail
Chartered Organization         American Medical Response Of Evansville                  Buffalo Trace 156                          8017 Larch Ln                                             Evansville, IN 47710‐4921                                                                                First Class Mail
Chartered Organization         American Military Academy                                Puerto Rico Council 661                    P.O. Box 7884                                             Guaynabo, PR 00970‐7884                                                                                  First Class Mail
Chartered Organization         American Protestant Church                               Transatlantic Council, Bsa 802             Kennedyallee 150                                          Bonn, 53175                             Germany                                                          First Class Mail
Chartered Organization         American Red Cross                                       Lincoln Heritage Council 205               1131 5th Ave                                              Fort Knox, KY 40121                                                                                      First Class Mail
Chartered Organization         American Red Cross Nh/Vt                                 Daniel Webster Council, Bsa 330            2 Maitland St                                             Concord, NH 03301‐3534                                                                                   First Class Mail
Chartered Organization         American Red Cross Of Northeast Indiana                  Anthony Wayne Area 157                     1212 E California Rd                                      Fort Wayne, IN 46825‐5812                                                                                First Class Mail
Chartered Organization         American School Foundation A.C.                          National Capital Area Council 082          Bondojito 215                                             Mexico City, 01120                      Mexico                                                           First Class Mail
Chartered Organization         American School In Japan                                 Far E Council 803                          1‐1‐1 Nomizu Chofu‐Shi                                    Tokyo, 182‐0031                         Japan                                                            First Class Mail
Chartered Organization         American School Of Doha                                  c/o American School of Doha                Transatlantic Council, Bsa 802                            P.O. Box 22090                          Doha                      Qatar                                  First Class Mail
Chartered Organization         American School Of Dubai                                 c/o Reina Gonsalves (Bsa 813)              Transatlantic Council, Bsa 802                            American School of Dubai                United Arab Emirates                                             First Class Mail
Chartered Organization         American School Of Dubai                                 Transatlantic Council, Bsa 802             P.O. Box 71188                                            Dubai                                   United Arab Emirates                                             First Class Mail
Chartered Organization         American School Of London Pto                            Transatlantic Council, Bsa 802             1 Waverley Pl                                             London, 80                              United Kingdom                                                   First Class Mail
Chartered Organization         American School Of London Pto                            Transatlantic Council, Bsa 802             1 Waverley Pl                                             London, 80                              United Kingdom                                                   First Class Mail
Chartered Organization         American School Of Madrid                                Transatlantic Council, Bsa 802             Calle America 3                                           Pozuelo De Alarcon                      Spain                                                            First Class Mail
Chartered Organization         American School Of Tasis‐England                         Transatlantic Council, Bsa 802             Coldharbour Ln                                            Thorpe, Surrey TW20 8TE                 United Kingdom                                                   First Class Mail
Chartered Organization         American School Of Tasis‐England                         Transatlantic Council, Bsa 802             Coldharbour Ln                                            Thorpe, Surrey TW20 8TE                 United Kingdom                                                   First Class Mail
Voting Party                   American Timber Mkt Grp, LLC                             dba Wilderness Wood Co                     8960 Wilderness Hwy                                       Nallen, WV 26680‐8078                                                                                    First Class Mail
Chartered Organization         American Tool Grinding & Mfg, Inc                        Northern Star Council 250                  23773 Johnson St Ne                                       East Bethel, MN 55005‐9882                                                                               First Class Mail
Chartered Organization         American Veterans                                        President Gerald R Ford 781                1315 M 32 W                                               Alpena, MI 49707                                                                                         First Class Mail
Chartered Organization         American Veterans Post 112                               Great Trail 433                            37 W Broad St                                             Newton Falls, OH 44444‐1643                                                                              First Class Mail
Chartered Organization         American Veterans Post 32                                The Spirit of Adventure 227                14 Prospect St                                            Gloucester, MA 01930‐3525                                                                                First Class Mail
Chartered Organization         American Veterans Post 57                                Great Lakes Fsc 272                        19730 Harper Ave                                          Harper Woods, MI 48225‐1802                                                                              First Class Mail
Chartered Organization         American Wealth Management                               Nevada Area Council 329                    570 Hammill Ln                                            Reno, NV 89511‐2045                                                                                      First Class Mail
Chartered Organization         American Womens Assoc Of Angola                          Transatlantic Council, Bsa 802             P.O. Box 4490                                             Houston, TX 77210‐4490                                                                                   First Class Mail
Chartered Organization         American Youth Movement                                  Rainbow Council 702                        4104 Champion Rd                                          Naperville, IL 60564‐5065                                                                                First Class Mail
Chartered Organization         America'S 911 Foundation, Inc                            National Capital Area Council 082          13630 Barnhouse Pl                                        Leesburg, VA 20176‐5460                                                                                  First Class Mail
Voting Party                   America'S Charities                                      Attn: Finance Dept                         14150 Newbrook Dr, Ste 110                                Chantilly, VA 20151‐2274                                                                                 First Class Mail
Chartered Organization         Americas Compass                                         National Capital Area Council 082          20444 Cool Fern Sq                                        Ashburn, VA 20147‐3356                                                                                   First Class Mail
Chartered Organization         America'S Little Leaders Junior Academy                  North Florida Council 087                  1527 Gandy St                                             Jacksonville, FL 32208‐3156                                                                              First Class Mail
Chartered Organization         Americorps Cte                                           Greater St Louis Area Council 312          1005 State St                                             East Saint Louis, IL 62201‐1907                                                                          First Class Mail
Chartered Organization         Americus Kiwanis Club                                    South Georgia Council 098                  P.O. Box 992                                              Americus, GA 31709‐0992                                                                                  First Class Mail
Chartered Organization         Amerigo Vespucci Lodge No. 160                           Connecticut Yankee Council Bsa 072         1 Christopher Columbus Ave                                Danbury, CT 06810‐7336                                                                                   First Class Mail
Chartered Organization         Amery Community Club                                     Northern Star Council 250                  P.O. Box 211                                              Amery, WI 54001‐0211                                                                                     First Class Mail
Chartered Organization         Amery Fire Dept                                          Northern Star Council 250                  101 Center St E                                           Amery, WI 54001                                                                                          First Class Mail
Chartered Organization         Ames Elementary School Pto                               Greater St Louis Area Council 312          2900 Hadley St                                            Saint Louis, MO 63107‐3911                                                                               First Class Mail
Voting Party                   Ames First United Methodist Church                       Attn: Reid Cummer Finance Mgr              516 Kellogg Ave                                           Ames, IA 50010                                                            djcrotty88@gmail.com           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ames Home Center                                         Pine Tree Council 218                      131 Hinckley Rd                                           Canaan, ME 04924‐3302                                                                                    First Class Mail
Chartered Organization         Ames Methodist Church Mens Club                          Water and Woods Council 782                801 State St                                              Saginaw, MI 48602‐5660                                                                                   First Class Mail
Voting Party                   Ames Umc & Central Bridge Umc                            Attn: Jan Lacey‐Markle                     1688 State Hwy 163                                        Canajoharie, NY 13317                                                     solace713@gmail.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Ames United Methodist Church                             Attn: Fred Hammett & Larry Eugene Mccrae   112 Baltimore Pike                                        Bel Air, MD 21015                                                         larrymccrae@aol.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Amherst Lions Club                                       Daniel Webster Council, Bsa 330            P.O. Box 1105                                             Amherst, NH 03031‐1105                                                                                   First Class Mail
Chartered Organization         Amherst Lions Club                                       Daniel Webster Council, Bsa 330            317 Boston Post Rd                                        Amherst, NH 03031‐2645                                                                                   First Class Mail
Chartered Organization         Amherst Middle School & Hs Ptsa                          Greater Niagara Frontier Council 380       55 Kings Hwy                                              Amherst, NY 14226‐4330                                                                                   First Class Mail
Chartered Organization         Amherst Ms/Hs Pta                                        Greater Niagara Frontier Council 380       55 Kings Hwy                                              Amherst, NY 14226‐4330                                                                                   First Class Mail
Voting Party                   Amherst United Methodist Church                          Attn: Elise Hunter                         396 Park Ave                                              Amherst, OH 44001                                                         aumc396@gmail.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Amherst Ward Lds Buffalo Stake                           Greater Niagara Frontier Council 380       1424 Maple Rd                                             Williamsville, NY 14221‐3563                                                                             First Class Mail
Chartered Organization         Ami Kids, Inc                                            Gulf Coast Council 773                     3685 Muldoon Rd                                           Pensacola, FL 32526‐2553                                                                                 First Class Mail
Chartered Organization         Amigos Center                                            Southwest Florida Council 088              106 S 2nd St                                              Immokalee, FL 34142‐3951                                                                                 First Class Mail
Chartered Organization         Amigos De Cristo Iglesia Luterana                        Great Rivers Council 653                   3003 W 11th St                                            Sedalia, MO 65301‐2255                                                                                   First Class Mail
Chartered Organization         Amistad Energy Partners, LLC                             Sam Houston Area Council 576               21555 Provincial Blvd, Ste B                              Katy, TX 77450‐7558                                                                                      First Class Mail
Chartered Organization         Amite Baptist Church                                     Istrouma Area Council 211                  7100 Amite Church Rd                                      Denham Springs, LA 70706‐0903                                                                            First Class Mail
Chartered Organization         Amite Rotary Club                                        Istrouma Area Council 211                  P.O. Box 721                                              Amite, LA 70422‐0721                                                                                     First Class Mail
Chartered Organization         Amity Methodist Church                                   Occoneechee 421                            825 N Estes Dr                                            Chapel Hill, NC 27514‐2403                                                                               First Class Mail
Chartered Organization         Amity Reformed Church                                    Twin Rivers Council 364                    335 Riverview Rd                                          Rexford, NY 12148‐1648                                                                                   First Class Mail
Voting Party                   Amity United Methodist Church                            Attn: Roger Shumate                        825 N Estes Dr                                            Chapel Hill, NC 27541                                                     rogercshumate@gmail.com        Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Amity United Methodist Church                            Attn: Trustee                              6042 W 100 N                                              Greenfield, IN 46140                                                      office@amityumc.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Amity United Methodist Church                            George Morrell                             6042 W 100 N                                              Greenfield, IN 46140                                                                                     First Class Mail
Voting Party                   Amity United Methodist Church (102542)                   c/o Bentz Law Firm                         Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200              Pittsburgh, PA 15228              lspagnolo@bentzlaw.com         Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Amity‐Mosaic Lodge Af & Am                               The Spirit of Adventure 227                30 High St                                                Danvers, MA 01923‐3068                                                                                   First Class Mail
Chartered Organization         Amlin Utd Methodist Church                               Simon Kenton Council 441                   5441 Cosgray Rd                                           Dublin, OH 43016‐9634                                                                                    First Class Mail
Chartered Organization         Amoe Men'S Club                                          Great Rivers Council 653                   8301 W South Trails Dr                                    Columbia, MO 65202‐8766                                                                                  First Class Mail
Voting Party                   Amos N Oladipo                                           10000 S Central                            Oak Lawn, IL 60453                                                                                                                                                 First Class Mail
Voting Party                   Amplitude, LLC                                           138 Kingswood Ct                           Reno, NV 89511‐2719                                                                                                                                                First Class Mail
Chartered Organization         Amtrak Police Dept                                       Greater New York Councils, Bsa 640         234 W 33rd St                                             New York, NY 10001‐2805                                                                                  First Class Mail
Chartered Organization         Amvet Post 30 Clarksville                                Winnebago Council, Bsa 173                 General Delivery                                          Clarksville, IA 50619                                                                                    First Class Mail
Chartered Organization         Amvets                                                   Greater Yosemite Council 059               816 Hampshire Ct                                          Modesto, CA 95350‐2431                                                                                   First Class Mail
Chartered Organization         Amvets ‐ Polk 149                                        Buckeye Council 436                        414 Township Rd 1150                                      Polk, OH 44866‐9749                                                                                      First Class Mail
Chartered Organization         Amvets Clarksville                                       Winnebago Council, Bsa 173                 102 E Greene St                                           Clarksville, IA 50619‐7848                                                                               First Class Mail
Chartered Organization         Amvets Post 78                                           Gulf Coast Council 773                     910 Valastics Ave                                         Valparaiso, FL 32580‐1141                                                                                First Class Mail
Chartered Organization         Amvets Post 102                                          Sagamore Council 162                       116 E 5th St                                              Fowler, IN 47944‐1442                                                                                    First Class Mail
Chartered Organization         Amvets Post 103                                          Westmoreland Fayette 512                   P.O. Box 423                                              Hopwood, PA 15445‐0423                                                                                   First Class Mail
Chartered Organization         Amvets Post 1174                                         Suffolk County Council Inc 404             6 Storm Dr                                                Holtsville, NY 11742‐1904                                                                                First Class Mail
Chartered Organization         Amvets Post 18                                           Suffolk County Council Inc 404             141 Carleton Ave                                          East Islip, NY 11730‐1801                                                                                First Class Mail
Chartered Organization         Amvets Post 1986                                         Miami Valley Council, Bsa 444              960 Checkrein Ave                                         Columbus, OH 43229‐1107                                                                                  First Class Mail
Chartered Organization         Amvets Post 2 Of Ocean County                            Jersey Shore Council 341                   1290 Toms River Rd                                        Jackson, NJ 08527‐5205                                                                                   First Class Mail
Chartered Organization         Amvets Post 21                                           Black Swamp Area Council 449               423 Trenton Ave                                           Findlay, OH 45840‐3747                                                                                   First Class Mail
Chartered Organization         Amvets Post 31                                           Winnebago Council, Bsa 173                 706 Colleen Ave                                           Evansdale, IA 50707‐1732                                                                                 First Class Mail
Chartered Organization         Amvets Post 320                                          East Carolina Council 426                  P.O. Box 838                                              Roanoke Rapids, NC 27870‐0838                                                                            First Class Mail
Chartered Organization         Amvets Post 35                                           Gulf Coast Council 773                     105 John King Rd                                          Crestview, FL 32539‐8307                                                                                 First Class Mail
Chartered Organization         Amvets Post 40                                           Lake Erie Council 440                      9141 Jordan Dr                                            Mentor, OH 44060‐1070                                                                                    First Class Mail
Chartered Organization         Amvets Post 48                                           Greater St Louis Area Council 312          1075 Amvets Dr                                            Desoto, MO 63020                                                                                         First Class Mail
Chartered Organization         Amvets Post 48                                           Suffolk County Council Inc 404             115 Church St                                             Ronkonkoma, NY 11779‐4161                                                                                First Class Mail
Chartered Organization         Amvets Post 53                                           Pacific Skyline Council 031                2709 Mariposa Dr                                          Burlingame, CA 94010‐5732                                                                                First Class Mail
Chartered Organization         Amvets Post 56                                           Sequoia Council 027                        240 E King Ave                                            Tulare, CA 93274‐4110                                                                                    First Class Mail
Chartered Organization         Amvets Post 61                                           Simon Kenton Council 441                   11541 N Shore Dr                                          Hillsboro, OH 45133‐9390                                                                                 First Class Mail
Chartered Organization         Amvets Post 61                                           Lincoln Heritage Council 205               9405 Smyrna Pkwy                                          Louisville, KY 40229‐1419                                                                                First Class Mail
Chartered Organization         Amvets Post 612                                          Northern Lights Council 429                P.O. Box 501                                              Frazee, MN 56544‐0501                                                                                    First Class Mail
Chartered Organization         Amvets Post 66                                           Pathway To Adventure 456                   700 Mchenry Rd                                            Wheeling, IL 60090‐3861                                                                                  First Class Mail
Chartered Organization         Amvets Post 7                                            Bay‐Lakes Council 635                      945 Adams Ave                                             Oshkosh, WI 54902‐3413                                                                                   First Class Mail
Chartered Organization         Amvets Post 72                                           Great Lakes Fsc 272                        57581 Amvets Dr                                           New Haven, MI 48048‐2908                                                                                 First Class Mail
Chartered Organization         Amvets Post 76                                           Suffolk County Council Inc 404             44 W Main St                                              Bay Shore, NY 11706‐8308                                                                                 First Class Mail
Chartered Organization         Amvets Post 78                                           Gulf Coast Council 773                     910 Valastics Ave                                         Valparaiso, FL 32580‐1141                                                                                First Class Mail
Chartered Organization         Amvets Post 79                                           Mayflower Council 251                      1 Superior Dr                                             Natick, MA 01760‐1508                                                                                    First Class Mail
Chartered Organization         Am‐Vets Post 94                                          Greater St Louis Area Council 312          1203 W, Ste Joseph St                                     Perryville, MO 63775                                                                                     First Class Mail
Chartered Organization         Amy Belle School Pta                                     Potawatomi Area Council 651                3294 Willow Creek Rd                                      Colgate, WI 53017‐9534                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 16 of 442
                                                                                 Case 20-10343-LSS                                                       Doc 8171                                             Filed 01/06/22                                         Page 32 of 457
                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                            Service List
                                                                                                                                                                                     Served as set forth below

        Description                                                      Name                                                                                                            Address                                                                                                      Email                        Method of Service
Voting Party                   Amy Dills                                                35 Cherry Ridge Rd                                      Middlefield                                                                                                                     MFCTreasurerCT@gmail.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   An, Tian, Zhang & Partners                               4th Fl, Tower C, B28                                    Universal Business Park, 10                                   Jiuxianqiao Rd, Chaoyang Districk   Beijing, 100015       China                                           First Class Mail
Chartered Organization         Anacoco Lions Club                                       Calcasieu Area Council 209                              P.O. Box 607                                                  Anacoco, LA 71403‐0607                                                                                    First Class Mail
Voting Party                   Anacortes Lutheran Church                                Attn: William Leduc III                                 2100 O Ave                                                    Anacortes, WA 98221                                               info@anacorteslutheran.org              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Anaheim Chiropractic Health Care                         Long Beach Area Council 032                             135 S Knott Ave                                               Anaheim, CA 92804‐1406                                                                                    First Class Mail
Chartered Organization         Anaheim Police Dept & Oddfellow Ldg 199                  Orange County Council 039                               425 S Harbor Blvd                                             Anaheim, CA 92805‐3704                                                                                    First Class Mail
Chartered Organization         Anaheim Union High School District                       Orange County Council 039                               501 N Crescent Way                                            Anaheim, CA 92801‐5401                                                                                    First Class Mail
Voting Party                   Anaheim United Methodist Church                          Attn: James Dollins                                     1000 S State College Ave                                      Anaheim, CA 92806                                                                                         First Class Mail
Chartered Organization         Anamax Ward ‐ Lds Sahuarita Stake                        Catalina Council 011                                    17699 S Camino De Las Quintas                                 Sahuarita, AZ 85629                                                                                       First Class Mail
Voting Party                   Anamosa United Methodist Church                          201 S Ford St                                           Anamosa, IA 52205                                                                                                               anamosaumcinfo@gmail.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Anasazi Elementary School Pto                            Grand Canyon Council 010                                12121 N 124th St                                              Scottsdale, AZ 85259‐3473                                                                                 First Class Mail
Chartered Organization         Anastasia Baptist Church                                 North Florida Council 087                               1650 A1A S                                                    St Augustine, FL 32080‐5464                                                                               First Class Mail
Chartered Organization         Anchor Church                                            Northeast Georgia Council 101                           451 Ozora Rd                                                  Loganville, GA 30052‐2183                                                                                 First Class Mail
Voting Party                   Anchor Park 2300 Oak Drive Anchorage, AK 99508           c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602               erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Anchor Park Utd Methodist Church                         Great Alaska Council 610                                2300 Oak Dr                                                   Anchorage, AK 99508‐3266                                                                                  First Class Mail
Chartered Organization         Anchorage Fire Dept                                      Great Alaska Council 610                                1140 Airport Heights Dr                                       Anchorage, AK 99508‐2942                                                                                  First Class Mail
Chartered Organization         Anchorage Midtown Rotary Club                            Great Alaska Council 610                                P.O. Box 90335                                                Anchorage, AK 99509‐0335                                                                                  First Class Mail
Chartered Organization         Anchorage Presbyterian Church                            Lincoln Heritage Council 205                            11501 Park Rd                                                 Anchorage, KY 40223‐2428                                                                                  First Class Mail
Voting Party                   Anchorage Presbyterian Church, Inc.                      Attn: Tara Reck, Pastor                                 11403 Park Rd                                                 Louisville, KY 40223                                              anchoragepc@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Anchorage School District                                Great Alaska Council 610                                5530 E Nern Lights Blvd                                       Anchorage, AK 99504                                                                                       First Class Mail
Chartered Organization         Anderlind                                                Chief Seattle Council 609                               62 Shade Tree Ln                                              Port Angeles, WA 98362‐9292                                                                               First Class Mail
Firm                           Anderson & Cummings LLP                                  Anderson & Cummings LLP                                 4200 W. Vickery Blvd                                          Fort Worth, TX 76107                                              john@anderson‐cummings.com              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Firm                           Anderson & Cummings LLP                                  John M Cummings                                         4200 W. Vickery Blvd.                                         Fort Worth, TX 76107                                              john@anderson‐cummings.com              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Anderson American Legion Post 318                        Dan Beard Council, Bsa 438                              P.O. Box 54390                                                Cincinnati, OH 45254‐0390                                                                                 First Class Mail
Chartered Organization         Anderson Area Ymca 3                                     Blue Ridge Council 551                                  201 E Reed Rd                                                 Anderson, SC 29621‐2095                                                                                   First Class Mail
Chartered Organization         Anderson City Fire Dept                                  Blue Ridge Council 551                                  400 S Mcduffie St                                             Anderson, SC 29624‐2362                                                                                   First Class Mail
Chartered Organization         Anderson County Fire District                            Blue Grass Council 204                                  1009 Wildcat Rd                                               Lawrenceburg, KY 40342‐9629                                                                               First Class Mail
Chartered Organization         Anderson County Njrotc Boosters Club                     Great Smoky Mountain Council 557                        130 Maverick Cir                                              Clinton, TN 37716‐6701                                                                                    First Class Mail
Chartered Organization         Anderson County Sheriffs Office                          Blue Ridge Council 551                                  305 Camson Rd                                                 Anderson, SC 29625‐1626                                                                                   First Class Mail
Chartered Organization         Anderson County Sheriffs Office                          Heart of America Council 307                            135 E 5th Ave                                                 Garnett, KS 66032‐1513                                                                                    First Class Mail
Chartered Organization         Anderson Creek Club Poa                                  Occoneechee 421                                         125 Whispering Pines Dr                                       Spring Lake, NC 28390‐9121                                                                                First Class Mail
Chartered Organization         Anderson Elementary Pto                                  Sam Houston Area Council 576                            6218 Lynngate Dr                                              Spring, TX 77373‐7356                                                                                     First Class Mail
Chartered Organization         Anderson Elementary School                               Crossroads of America 160                               2035 Raible Ave                                               Anderson, IN 46011‐4139                                                                                   First Class Mail
Chartered Organization         Anderson Engineering Co, Inc                             Utah National Parks 591                                 2053 N Hillcrest Rd                                           Saratoga Springs, UT 84045‐5502                                                                           First Class Mail
Voting Party                   Anderson First United Methodist Church                   Attn: Treasurer, Fumc                                   1215 Jackson St                                               Anderson, IN 46016                                                corinne@andersonfirst.org               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Anderson First United Methodist Church                   Attn: Corinne Kay Boruff                                2305 Sagamore Dr                                              Anderson, IN 46016                                                corinne@andersonfirst.org               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Anderson Friends & Family                                Indian Nations Council 488                              1921 E 29th St N                                              Tulsa, OK 74110‐1728                                                                                      First Class Mail
Chartered Organization         Anderson Grove Pto                                       Mid‐America Council 326                                 11820 S 37th St                                               Bellevue, NE 68123‐1233                                                                                   First Class Mail
Chartered Organization         Anderson High School                                     Crossroads of America 160                               4610 S Madison Ave                                            Anderson, IN 46013‐1316                                                                                   First Class Mail
Chartered Organization         Anderson Hills Christian Church                          Dan Beard Council, Bsa 438                              8119 Clough Pike                                              Cincinnati, OH 45244‐2744                                                                                 First Class Mail
Voting Party                   Anderson Hills United Methodist Church                   Attn: Susan Black, Treasurer                            7663 Five Mile Rd                                             Cincinnati, OH 45230                                              sblack@andersonhills.org                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Anderson Hills Utd Methodist Church                      Dan Beard Council, Bsa 438                              7515 Forest Rd                                                Cincinnati, OH 45255‐4306                                                                                 First Class Mail
Chartered Organization         Anderson Hospital                                        Greater St Louis Area Council 312                       6800 State Route 162                                          Maryville, IL 62062‐8500                                                                                  First Class Mail
Chartered Organization         Anderson Intermediate School                             Crossroads of America 160                               2300 Lindberg Rd                                              Anderson, IN 46012‐3148                                                                                   First Class Mail
Chartered Organization         Anderson Memorial Methodist Church                       Blue Ridge Mtns Council 599                             P.O. Box 630                                                  Gretna, VA 24557‐0630                                                                                     First Class Mail
Chartered Organization         Anderson Parent Teachers Organization                    Three Fires Council 127                                 35W071 Villa Maria Rd                                         Saint Charles, IL 60174                                                                                   First Class Mail
Chartered Organization         Anderson Robotics                                        Capitol Area Council 564                                8403 Mesa Dr                                                  Austin, TX 78759‐8117                                                                                     First Class Mail
Chartered Organization         Anderson Rotary Club                                     Golden Empire Council 047                               P.O. Box 209                                                  Anderson, CA 96007‐0209                                                                                   First Class Mail
Chartered Organization         Anderson Township Trustee Youth Center                   P.O. Box 2412                                           Anderson, IN 46016                                                                                                                                                      First Class Mail
Voting Party                   Anderson United Methodist Church                         Attn: Saundra Lee                                       6205 Hanging Moss Rd                                          Jackson, MS 39206                                                 sdhi4187@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Anderson University                                      Blue Ridge Council 551                                  316 Blvd                                                      Anderson, SC 29621‐4002                                                                                   First Class Mail
Chartered Organization         Anderson Utd Methodist                                   Ozark Trails Council 306                                703 Mo‐ 76                                                    Anderson, MO 64831                                                                                        First Class Mail
Chartered Organization         Anderson Utd Methodist Church                            Ozark Trails Council 306                                702 Patterson St                                              Anderson, MO 64831                                                                                        First Class Mail
Chartered Organization         Anderson Utd Methodist Church                            Andrew Jackson Council 303                              Hanging Moss Rd                                               Jackson, MS 39213                                                                                         First Class Mail
Chartered Organization         Anderson Ymca Calhoun New Prospect                       Blue Ridge Council 551                                  201 E Reed Rd                                                 Anderson, SC 29621‐2095                                                                                   First Class Mail
Chartered Organization         Andersonville School Pto                                 Great Lakes Fsc 272                                     10350 Andersonville Rd                                        Davisburg, MI 48350‐3100                                                                                  First Class Mail
Chartered Organization         Andes Fire Dept                                          Leatherstocking 400                                     5259 County Rd 1                                              Andes, NY 13731                                                                                           First Class Mail
Chartered Organization         Andover Fire Dept                                        Allegheny Highlands Council 382                         Main St                                                       Andover, NY 14806                                                                                         First Class Mail
Chartered Organization         Andover Lions Club                                       Northern Star Council 250                               8519 Grove Cir                                                Shakopee, MN 55379‐8096                                                                                   First Class Mail
Chartered Organization         Andover Sportsmens Club                                  The Spirit of Adventure 227                             P.O. Box 255                                                  Andover, MA 01810‐0005                                                                                    First Class Mail
Chartered Organization         Andover Twp Fire Dept                                    Patriots Path Council 358                               463 Limecrest Rd                                              Newton, NJ 07860                                                                                          First Class Mail
Voting Party                   Andover United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602               erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Andover Utd Methodist Church                             Quivira Council, Bsa 198                                1429 N Andover Rd                                             Andover, KS 67002‐9463                                                                                    First Class Mail
Chartered Organization         Andover Utd Methodist Church                             Blue Grass Council 204                                  3801 Polo Club Blvd                                           Lexington, KY 40509‐8676                                                                                  First Class Mail
Chartered Organization         Andover Utd Methodist Church                             Patriots Path Council 358                               207 Andover Sparta Rd                                         Newton, NJ 07860‐9766                                                                                     First Class Mail
Chartered Organization         Andover Volunteer Fire Dept                              Lake Erie Council 440                                   153 Station St                                                Andover, OH 44003                                                                                         First Class Mail
Voting Party                   Andre L Kydala                                           54 Old Hwy 22                                           Clinton, NJ 08809                                                                                                                                                       First Class Mail
Voting Party                   Andre L. Kydala                                          54 Old Hwy 22                                           Clinton NJ 08809                                                                                                                                                        First Class Mail
Chartered Organization         Andreas Sporting Club                                    Hawk Mountain Council 528                               P.O. Box 86                                                   Andreas, PA 18211‐0086                                                                                    First Class Mail
Chartered Organization         Andreasen Chiropractic                                   Grand Canyon Council 010                                21792 E Estrella Rd                                           Queen Creek, AZ 85142‐4106                                                                                First Class Mail
Firm                           Andreozzi + Foote                                        Benjamin D Andreozzi, Esq. and Nathaniel L Foote, Esq   4503 N Front St                                               Harrisburg, PA 17110                                              holly@victimscivilattorneys.com         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Firm                           Andrew & Thornton, AAL, ALC                              Attn: John C. Thornton                                  4701 Von Karman Ave, Ste 300                                  Newport Beach, CA 92660                                           BSA@AndrewsThornton.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Andrew Carnegie Elementary School Pta                    Indian Nations Council 488                              4309 E 56th St                                                Tulsa, OK 74135‐4836                                                                                      First Class Mail
Chartered Organization         Andrew Chapel Methodist Church                           National Capital Area Council 082                       1301 Trap Rd                                                  Vienna, VA 22182‐1640                                                                                     First Class Mail
Voting Party                   Andrew Chapel UMC 1301 Trap Rd Vienna, VA 22182          c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602               erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Andrew Chapel UMC 16340 Kings Hwy, Montross, VA 22520    c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602               erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Andrew Chapel UMC 1732 Brooke Rd, Stafford, VA 22554     c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602               erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Andrew Chapel Umc Vienna Va                              1301 Trap Rd                                            Vienna, VA 22182                                                                                                                office@andrewchapelumc.org              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Andrew Chapel Utd Methodist Church                       Atlanta Area Council 092                                122 Watterson St                                              Jonesboro, GA 30236‐3633                                                                                  First Class Mail
Chartered Organization         Andrew Chapel Utd Methodist Church                       Heart of Virginia Council 602                           16340 Kings Hwy                                               Montross, VA 22520                                                                                        First Class Mail
Chartered Organization         Andrew Chapel Utd Methodist Church                       National Capital Area Council 082                       1732 Brooke Rd                                                Stafford, VA 22554‐5524                                                                                   First Class Mail
Chartered Organization         Andrew Chapel Utd Methodist Church                       National Capital Area Council 082                       1301 Trap Rd                                                  Vienna, VA 22182‐1640                                                                                     First Class Mail
Chartered Organization         Andrew Cooke Magnet School Pto                           Northeast Illinois 129                                  522 Belvidere Rd                                              Waukegan, IL 60085‐6305                                                                                   First Class Mail
Voting Party                   Andrew Des Rault                                         25 Aberfoyle Rd                                         New Rochelle, NY 10804                                                                                                          andrew.desrault@gmail.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Andrew Fatcher American Legion Post 854                  Theodore Roosevelt Council 386                          51 Roosevelt Ave                                              Valley Stream, NY 11581‐1115                                                                              First Class Mail
Voting Party                   Andrew Jackson Council Troop & Pack 12                   Attn: Kenny Stanteen                                    100 College St                                                Clinton, MS 39056                                                 info@fbcclinton.org                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Andrew Jackson School Pta                                Bay‐Lakes Council 635                                   1201 N 18th St                                                Manitowoc, WI 54220‐2623                                                                                  First Class Mail
Firm                           Andrew Pickett Law, PLLC                                 Andrew B. Pickett                                       927 East New Haven Avenue, Ste 201                            Melbourne, FL 32901                                               andrew@andrewpickettlaw.com             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Andrew Price Memorial Utd Methodist Ch                   Middle Tennessee Council 560                            2846 Lebanon Pike                                             Nashville, TN 37214‐2519                                                                                  First Class Mail
Voting Party                   Andrew Ross                                              5540 State Rte 3                                        Mexico                                                                                                                          arossam@yahoo.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Andrew Shaw Memorial Trust, The                          Connecticut Yankee Council Bsa 072                      140 West Ave                                                  Darien, CT 06820‐4308                                                                                     First Class Mail
Voting Party                   Andrew Stewart                                           Address Redacted                                                                                                                                                                                                                First Class Mail
Chartered Organization         Andrew Utd Methodist Church                              Central Georgia Council 096                             2430 Ga Hwy 127                                               Kathleen, GA 31047‐2820                                                                                   First Class Mail
Chartered Organization         Andrews Academy                                          Greater St Louis Area Council 312                       1701 Feise Rd                                                 Lake St Louis, MO 63367‐1818                                                                              First Class Mail
Voting Party                   Andrews Chapel                                           John Elbert Bracey                                      1114 Charlotte Ave                                            Calabash, NC 28467                                                jbracey@nccumc.org                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Andrews Chapel Baptist Church                            Tuscarora Council 424                                   2541 Reedsford Rd                                             Clinton, NC 28328‐0674                                                                                    First Class Mail
Chartered Organization         Andrews Chapel Umc                                       Cape Fear Council 425                                   1091 Hickman Rd Nw                                            Calabash, NC 28467‐1909                                                                                   First Class Mail
Voting Party                   Andrews Chapel Umc                                       Attn: Linda Ferrell                                     4109 Hickory Ct                                               Little River, SC 29566                                            jbracey@nccumc.org                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Andrews Chapel Umc ‐ Jonesboro                           c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602               erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Andrew's Chapel Umc (Newman)                             c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602               erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Firm                           Andrews Law Firm                                         John M. Vernaglia, Esq; Ryan J. Andrews, Esq            822 North Monroe Street                                       Tallahassee, FL 32303                                                                                     First Class Mail
Chartered Organization         Andrews Lions Club                                       Coastal Carolina Council 550                            926 Hamlin Rd                                                 Andrews, SC 29510‐6598                                                                                    First Class Mail
Chartered Organization         Andrews Presbyterian Church                              Buffalo Trail Council 567                               305 NW 7th St                                                 Andrews, TX 79714                                                                                         First Class Mail
Voting Party                   Andrews United Methodist, Inc                            c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602               erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Andrews Utd Methodist Church                             Daniel Boone Council 414                                P.O. Box 1310                                                 Andrews, NC 28901‐1310                                                                                    First Class Mail
Firm                           Andrus Wagstaff, PC                                      Kimberly A. Dougherty, Esq.                             19 Belmont St                                                 South Easton, MA 02375                                            kimberly.dougherty@andruswagstaff.com   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Andy Kramer                                              c/o Decker United Methodist Church                      8304 Decker Ln                                                Austin, TX 78724                                                  andykramer56@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Andy Workman                                             189 Chruch St Ne                                        Marietta, GA 30060                                                                                                              andyworkman@fpcmarietta.org             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Anesthesia Group                                         Denver Area Council 061                                 890 County Rd 112                                             Craig, CO 81625‐7900                                                                                      First Class Mail
Chartered Organization         Anew Bam                                                 Northern Star Council 250                               1105 Greenbrier St                                            Saint Paul, MN 55106‐2501                                                                                 First Class Mail
Chartered Organization         Angelica Lutheran Church                                 Great Lakes Fsc 272                                     8400 Park Ave                                                 Allen Park, MI 48101‐1544                                                                                 First Class Mail
Voting Party                   Angelica United Methodist Church                         Attn: Stephen Crowell                                   7 Park Cir                                                    Belmont, NY 14813                                                 scrowell@united.edu                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Angelica Utd Methodist Church                            Allegheny Highlands Council 382                         P.O. Box 6                                                    Angelica, NY 14709‐0006                                                                                   First Class Mail
Chartered Organization         Angels‐Murphys Rotary Club                               Greater Yosemite Council 059                            P.O. Box 185                                                  Murphys, CA 95247‐0185                                                                                    First Class Mail
Chartered Organization         Anger Management Educational Services                    Last Frontier Council 480                               330 W Gray St                                                 Norman, OK 73069‐7129                                                                                     First Class Mail
Chartered Organization         Angier Methodist Men                                     Occoneechee 421                                         278 S Wilma St                                                Angier, NC 27501‐7665                                                                                     First Class Mail
Voting Party                   Angier United Methodist Church                           Attn: Treasurer                                         278 S Wilma St                                                Angier, NC 27501                                                                                          First Class Mail
Voting Party                   Angleton First United Methodist Church                   Attn: Joel Mckinnon                                     219 N Arcola                                                  Angleton, TX 77516                                                church@angletonfumc.org                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Angleton First United Methodist Church                   Attn: Rev Joel Mckinnon                                 P.O. Box 1058                                                 Angleton, TX 77516                                                church@angletonfumc.org                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Angleton Fumc‐Methodist Men                              Bay Area Council 574                                    219 N Arcola St                                               Angleton, TX 77515‐4726                                                                                   First Class Mail
Chartered Organization         Angleton High School                                     Bay Area Council 574                                    1 Campus Dr                                                   Angleton, TX 77515‐2538                                                                                   First Class Mail
Chartered Organization         Angling Road Pto                                         Southern Shores Fsc 783                                 5340 Angling Rd                                               Portage, MI 49024‐5603                                                                                    First Class Mail
Chartered Organization         Anglo‐American School Of Moscow                          c/o American Embassy                                    Transatlantic Council, Bsa 802                                5430 Moscow Pl, Box M               Dulles, VA 20189                                                      First Class Mail
Chartered Organization         Angola American Legion Post 31                           Anthony Wayne Area 157                                  1760 W Maumee St                                              Angola, IN 46703‐7067                                                                                     First Class Mail
Voting Party                   Angola United Methodist Church                           Attn: Timothy Terrell                                   220 W Maumee St                                               Angola, IN 46703                                                  tim.terrell@umc.in.org                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Angus Acres Baptist Church                               Indian Nations Council 488                              4401 S 129th West Ave                                         Sand Springs, OK 74063‐2230                                                                               First Class Mail
Chartered Organization         Animal Care Services Bureau                              Long Beach Area Council 032                             7700 E Spring St                                              Long Beach, CA 90815‐1619                                                                                 First Class Mail
Chartered Organization         Animal Hospital Of Towne Lake                            Atlanta Area Council 092                                2990 Eagle Dr 11                                              Woodstock, GA 30189‐5575                                                                                  First Class Mail
Chartered Organization         Ankeny 2Nd Ward Lds Church                               Mid Iowa Council 177                                    721 E 1st St                                                  Ankeny, IA 50021                                                                                          First Class Mail
Chartered Organization         Ankeny Be Prepared                                       Mid Iowa Council 177                                    210 NE Delaware Ave, Ste 200                                  Ankeny, IA 50021‐6714                                                                                     First Class Mail
Chartered Organization         Ankeny Christian Church                                  Mid Iowa Council 177                                    2506 SW 3rd St                                                Ankeny, IA 50023‐2471                                                                                     First Class Mail
Chartered Organization         Ankeny Church Of Christ                                  Mid Iowa Council 177                                    224 SW 3rd St                                                 Ankeny, IA 50023‐3035                                                                                     First Class Mail
Voting Party                   Ankeny First United Methodist Church                     Attn: Business Administrator                            206 SW Walnut St                                              Ankeny, IA 50023                                                  brenda.schilling@ankenyfirst.org        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Ankeny Presbyterian Church                               Mid Iowa Council 177                                    317 SE Trilein Dr                                             Ankeny, IA 50021‐3232                                                                                     First Class Mail
Chartered Organization         Ankeny Utd Church Of Christ                              Mid Iowa Council 177                                    602 SE Delaware Ave                                           Ankeny, IA 50021‐9364                                                                                     First Class Mail
Chartered Organization         Anker Florist                                            Prairielands 117                                        421 N Hazel St                                                Danville, IL 61832‐4610                                                                                   First Class Mail
Chartered Organization         Anmed Health                                             Blue Ridge Council 551                                  800 N Fant St                                                 Anderson, SC 29621‐5708                                                                                   First Class Mail
Chartered Organization         Ann And Nate Levine Academy                              Circle Ten Council 571                                  18011 Hillcrest Rd                                            Dallas, TX 75252‐5863                                                                                     First Class Mail
Chartered Organization         Ann Arbor Township Fire Dept                             Southern Shores Fsc 783                                 4319 Goss Rd                                                  Ann Arbor, MI 48105‐2701                                                                                  First Class Mail
Chartered Organization         Ann Arbor Trail                                          Great Lakes Fsc 272                                     7635 Chatman                                                  Detroit, MI 48239                                                                                         First Class Mail
Voting Party                   Ann Hope United Methodist Church, Inc.                   Attn: Rev Matt Turner                                   702 Goddard Ave                                               Seneca, SC 29678                                                  smturner@umcsc.org                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Ann St Umc                                               Attn: Chairman Trustees                                 417 Ann St                                                    Beaufort, NC 28516                                                office@annstreetumc.org                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Anna Julia Cooper Episcopal School                       Heart of Virginia Council 602                           2124 N 29th St                                                Richmond, VA 23223‐4539                                                                                   First Class Mail
Chartered Organization         Anna Kresge Memorial Umc                                 Northwest Georgia Council 100                           15 Booger Hollow Rd                                           Cedartown, GA 30125‐4341                                                                                  First Class Mail
Voting Party                   Anna Kresge Umc                                          15 Booger Hollow Rd                                     Cedartown, GA 30125                                                                                                                                                     First Class Mail
Voting Party                   Anna Kresge Umc ‐ Cedartown                              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602               erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Anna Marie'S Alliance                                    Central Minnesota 296                                   P.O. Box 367                                                  Saint Cloud, MN 56302‐0367                                                                                First Class Mail
Chartered Organization         Anna P Mote Pta                                          Del Mar Va 081                                          2110 Edwards Ave                                              Wilmington, DE 19808‐3162                                                                                 First Class Mail
Chartered Organization         Anna Police Dept                                         Circle Ten Council 571                                  101 S Powell Pkwy                                             Anna, TX 75409‐2604                                                                                       First Class Mail
Voting Party                   Anna Tinch                                               Address Redacted                                                                                                                                                                                                                First Class Mail
Voting Party                   Anna United Methodist Church                             Attn: Jesse C Burke                                     100 W 2nd St                                                  Anna, TX 75409                                                    annaumc@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Annandale Lions Club                                     Northern Star Council 250                               P.O. Box 285                                                  Annandale, MN 55302‐0285                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                            Page 17 of 442
                                                                               Case 20-10343-LSS                                               Doc 8171                                               Filed 01/06/22                                             Page 33 of 457
                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                    Service List
                                                                                                                                                                             Served as set forth below

        Description                                                   Name                                                                                                       Address                                                                                                              Email              Method of Service
Chartered Organization         Annandale Methodist Mens Fellowship                     National Capital Area Council 082              6935 Columbia Pike                                              Annandale, VA 22003‐3458                                                                                First Class Mail
Chartered Organization         Annandale Reformed Church                               Washington Crossing Council 777                P.O. Box 176                                                    Annandale, NJ 08801‐0176                                                                                First Class Mail
Voting Party                   Annandale UMC 6935 Columbia Pike, Annandale, VA 22003   c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Annandale Utd Methodist Men'S Fellowship                National Capital Area Council 082              6935 Columbia Pike                                              Annandale, VA 22003‐3458                                                                                First Class Mail
Chartered Organization         Annapolis Moose 296                                     Baltimore Area Council 220                     1890 Crownsville Rd                                             Crownsville, MD 21032                                                                                   First Class Mail
Chartered Organization         Annapolis Police Dept                                   Baltimore Area Council 220                     199 Taylor Ave                                                  Annapolis, MD 21401‐3421                                                                                First Class Mail
Chartered Organization         Annawan Kiwanis Club                                    Illowa Council 133                             207 W Front St                                                  Annawan, IL 61234                                                                                       First Class Mail
Chartered Organization         Anne Arundel County Police Dept                         Baltimore Area Council 220                     8495 Veterans Hwy                                               Millersville, MD 21108‐2570                                                                             First Class Mail
Voting Party                   Anne Fraley                                             c/o St Peter's Episcopal Church                99 Sand Hill Rd                                                 South Windsor, CT 06074                                              wolfdance9@gmail.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Anne Frank Inspire Academy                              Alamo Area Council 583                         11216 Bandera Rd                                                San Antonio, TX 78250‐6800                                                                              First Class Mail
Chartered Organization         Anne Leefeldt Kanters Phd                               Chief Seattle Council 609                      225 N Sequim Ave                                                Sequim, WA 98382‐3456                                                                                   First Class Mail
Chartered Organization         Anne Street Elementary School Pto                       Flint River Council 095                        802 Anne St                                                     Griffin, GA 30224‐4704                                                                                  First Class Mail
Voting Party                   Anne Terry                                              Address Redacted                                                                                                                                                                    Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Annie Jackson School Pto                                Bay‐Lakes Council 635                          1306 S Ridge Rd                                                 Green Bay, WI 54304‐3234                                                                                First Class Mail
Chartered Organization         Annie Purl Elementary Pta                               Capitol Area Council 564                       1953 Maple St                                                   Georgetown, TX 78626‐8224                                                                               First Class Mail
Voting Party                   Annin & Co                                              105 Eisenhower Pkwy, Ste 203                   Roseland, NJ 07068                                                                                                                   grooney@annin.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Annin & Co                                              P.O. Box 970076                                Boston, MA 02297‐0076                                                                                                                                                   First Class Mail
Chartered Organization         Anniston Fire Dept                                      Greater Alabama Council 001                    5304 Mcclellan Blvd                                             Anniston, AL 36206‐1662                                                                                 First Class Mail
Chartered Organization         Anniston High Jrotc                                     Greater Alabama Council 001                    1301 Woodstock Ave                                              Anniston, AL 36207‐4729                                                                                 First Class Mail
Chartered Organization         Annistown Road Baptist Church                           Northeast Georgia Council 101                  P.O. Box 392108                                                 Snellville, GA 30039‐0036                                                                               First Class Mail
Voting Party                   Annuciation Parish                                      Attn: Andre L Kydala                           54 Old Hwy 22                                                   Clinton, NJ 08809                                                                                       First Class Mail
Chartered Organization         Annunciation Blessed Virgin Mary                        Catholic Ch                                    26 N 3rd St                                                     Mcsherrystown, PA 17344‐1716                                                                            First Class Mail
Chartered Organization         Annunciation Catholic Church                            Central Florida Council 083                    1020 Montgomery Rd                                              Altamonte Springs, FL 32714‐7420                                                                        First Class Mail
Chartered Organization         Annunciation Catholic Church                            East Carolina Council 426                      Drawer B                                                        Havelock, NC 28532                                                                                      First Class Mail
Chartered Organization         Annunciation Catholic Church                            Marine Corp League                             109 West St                                                     Ilion, NY 13357‐2207                                                                                    First Class Mail
Chartered Organization         Annunciation Catholic Church                            Northern Star Council 250                      509 W 54th St                                                   Minneapolis, MN 55419‐1818                                                                              First Class Mail
Chartered Organization         Annunciation Catholic Church                            Greater Los Angeles Area 033                   2701 Peck Rd                                                    Monrovia, CA 91016‐5004                                                                                 First Class Mail
Voting Party                   Annunciation Catholic Church                            c/o Archdiocese of Los Angeles                 Attn: Margaret Graf, General Counsel                            3424 Wilshire Blvd                 Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Annunciation Catholic Church, Brazil, Inc               Attn: John S Mercer                            1400 N Meridian St                                              Indianapolis, IN 46202                                               jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Annunciation Of The Blessed Virgin Mary                 Greater Niagara Frontier Council 380           7580 Clinton St                                                 Elma, NY 14059‐9731                                                                                     First Class Mail
Chartered Organization         Annunciation Of The Lord                                Narragansett 546                               31 1st St                                                       Taunton, MA 02780                                                                                       First Class Mail
Chartered Organization         Annunciation Of The Lord Catholic Church                Greater Alabama Council 001                    3910 Spring Ave Sw                                              Decatur, AL 35603‐1294                                                                                  First Class Mail
Chartered Organization         Annunciation Our Lady Episc Ch                          Northeast Illinois 129                         5725 Stearns School Rd                                          Gurnee, IL 60031‐4520                                                                                   First Class Mail
Chartered Organization         Annunciation Parish                                     Three Fires Council 127                        1820 Church Rd                                                  Aurora, IL 60505‐8730                                                                                   First Class Mail
Chartered Organization         Annunciation Parish                                     Buffalo Trace 156                              3010 E Chandler Ave                                             Evansville, IN 47714‐2612                                                                               First Class Mail
Chartered Organization         Annunciation Parish Scouting Committee                  Great Southwest Council 412                    2610 Utah St Ne                                                 Albuquerque, NM 87110‐4636                                                                              First Class Mail
Chartered Organization         Annunciation Parish Scouting Committee                  Great Southwest Council 412                    2532 Vermont St Ne                                              Albuquerque, NM 87110‐4638                                                                              First Class Mail
Chartered Organization         Annunication Blessed Virgin Mary                        Catholic Ch                                    26 N 3rd St                                                     Mcsherrystown, PA 17344‐1716                                                                            First Class Mail
Chartered Organization         Annunziata Catholic Church                              Southeast Louisiana Council 214                2011 Acadian Dr                                                 Houma, LA 70363‐7011                                                                                    First Class Mail
Chartered Organization         Anoka County Sheriff'S Office                           Northern Star Council 250                      13301 Hanson Blvd Nw                                            Andover, MN 55304‐4009                                                                                  First Class Mail
Chartered Organization         Anoka Home Assoc                                        Northern Star Council 250                      16950 Tulip St Nw                                               Andover, MN 55304‐1853                                                                                  First Class Mail
Chartered Organization         Anoka Mason Lodge 30                                    Northern Star Council 250                      1900 3rd Ave                                                    Anoka, MN 55303‐2421                                                                                    First Class Mail
Chartered Organization         Anoka Police Dept                                       Northern Star Council 250                      275 Harrison St                                                 Anoka, MN 55303‐2999                                                                                    First Class Mail
Chartered Organization         Anoka Rotary Club                                       Northern Star Council 250                      12 Bridge Sq, Ste 101                                           Anoka, MN 55303‐2463                                                                                    First Class Mail
Voting Party                   Anona United Methodist Church, Inc ‐ Largo              c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Anson Jones Elementary School                           Circle Ten Council 571                         3048 Mount Ranier                                               Dallas, TX 75211                                                                                        First Class Mail
Chartered Organization         Anson Lions Club                                        Texas Trails Council 561                       P.O. Box 68                                                     Anson, TX 79501‐0068                                                                                    First Class Mail
Chartered Organization         Anson Middle School                                     Central N Carolina Council 416                 832 US Hwy 52 N                                                 Wadesboro, NC 28170‐9110                                                                                First Class Mail
Chartered Organization         Ansonia Utd Methodist                                   Miami Valley Council, Bsa 444                  P.O. Box 457                                                    Ansonia, OH 45303‐0457                                                                                  First Class Mail
Chartered Organization         Ansonia Utd Methodist Church                            Miami Valley Council, Bsa 444                  P.O. Box 457                                                    Ansonia, OH 45303‐0457                                                                                  First Class Mail
Chartered Organization         Antelope Lions Club                                     Golden Empire Council 047                      7909 Walerga Rd                                                 Antelope, CA 95843‐5727                                                                                 First Class Mail
Chartered Organization         Antelope Post 172 American Legion                       Mid‐America Council 326                        P.O. Box 172                                                    Neligh, NE 68756‐0172                                                                                   First Class Mail
Chartered Organization         Antelope Trails Pto                                     Pikes Peak Council 060                         15280 Jessie Dr                                                 Colorado Springs, CO 80921‐2550                                                                         First Class Mail
Chartered Organization         Antelope Valley Church                                  W.L.A.C.C. 051                                 3830 W Ave L8                                                   Lancaster, CA 93536‐3422                                                                                First Class Mail
Chartered Organization         Antelope Valley Emblem Club 76                          W.L.A.C.C. 051                                 P.O. Box 2203                                                   Lancaster, CA 93539‐2203                                                                                First Class Mail
Voting Party                   Anthon United Methodist Church                          Attn: Treasurer                                401 E Bridge St                                                 Anthon, IA 51004                                                     aumc5288@gmail.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Anthony                                                 c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Anthony                                                 2396 NE 97th St Rd                             Anthony, FL 32617                                                                                                                                                       First Class Mail
Chartered Organization         Anthony Christian Church                                Quivira Council, Bsa 198                       817 W Wheatridge Dr                                             Anthony, KS 67003‐2823                                                                                  First Class Mail
Voting Party                   Anthony Daniel Johnson                                  4336 Fairlawn Dr                               Kingsport, TN 37663                                                                                                                  unakatech1@gmail.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Anthony Hunt Hamilton A .L. Post 221                    The Spirit of Adventure 227                    357 Great Rd                                                    Bedford, MA 01730‐2802                                                                                  First Class Mail
Voting Party                   Anthony Peluso                                          Address Redacted                                                                                                                                                                                                       First Class Mail
Voting Party                   Anthony T Peluso                                        c/o Boy Scouts of America                      Attn: Chase Koontz                                              1325 W Walnut Hill Ln              Irving, TX 75015                  chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Antilles School                                         National Capital Area Council 082              7280 Frenchman Bay                                              St Thomas, VI 00802‐2809                                                                                First Class Mail
Chartered Organization         Antioch Baptist Church                                  Three Rivers Council 578                       3920 W Cardinal Dr                                              Beaumont, TX 77705‐2933                                                                                 First Class Mail
Chartered Organization         Antioch Baptist Church                                  Greater Alabama Council 001                    2103 E Broad St                                                 Gadsden, AL 35903‐3335                                                                                  First Class Mail
Chartered Organization         Antioch Baptist Church                                  East Texas Area Council 585                    P.O. Box 137                                                    Gary, TX 75643‐0137                                                                                     First Class Mail
Chartered Organization         Antioch Baptist Church Of Summit                        Pathway To Adventure 456                       7513 W 64th St                                                  Summit Argo, IL 60501‐1925                                                                              First Class Mail
Chartered Organization         Antioch Christian Church                                Hoosier Trails Council 145 145                 3007 E US Hwy 50                                                Washington, IN 47501‐1763                                                                               First Class Mail
Chartered Organization         Antioch Church                                          Pikes Peak Council 060                         3958 N Academy Blvd, Ste 103                                    Colorado Springs, CO 80917‐5911                                                                         First Class Mail
Chartered Organization         Antioch Evangelical Lutheran Church                     Great Lakes Fsc 272                            33360 W 13 Mile Rd                                              Farmington Hills, MI 48334‐1912                                                                         First Class Mail
Chartered Organization         Antioch Lutheran Church                                 Piedmont Council 420                           330 Old Nc 277 Loop Rd                                          Dallas, NC 28034‐9795                                                                                   First Class Mail
Chartered Organization         Antioch Lutheran Church                                 Piedmont Council 420                           330 Old Nc 277 Loop Rd                                          Dallas, NC 28034‐9795                                                                                   First Class Mail
Chartered Organization         Antioch Police Dept                                     Northeast Illinois 129                         433 Orchard St                                                  Antioch, IL 60002‐1236                                                                                  First Class Mail
Chartered Organization         Antioch Presbyterian Church                             Cape Fear Council 425                          6583 Red Springs Rd                                             Red Springs, NC 28377‐8315                                                                              First Class Mail
Voting Party                   Antioch Umc                                             c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Antioch Umc                                             Attn: D Gwen Wolford                           20121 Knobley Rd                                                New Creek, WV 26743                                                  dgwolford.gw@gmail.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Antioch Umc 2922 Antioch Church Rd                      c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Antioch United Methodist Church                         Attn: Trustee Chairperson/Pastor Kevin Dotts   50 Walton Ln                                                    Antioch, CA 94509                                                    jwelsh@antiochcotr.org             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Antioch United Methodist Church                         Attn: James Cole                               41 Tusculum Rd                                                  Antioch, TN 37013                                                    james@antiochumc.net               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Antioch Utd Medthodist Church                           Laurel Highlands Council 527                   19504 Knobley Rd                                                Burlington, WV 26710‐7469                                                                               First Class Mail
Chartered Organization         Antioch Utd Methodist                                   Central N Carolina Council 416                 3205 Antioch Church Rd                                          Matthews, NC 28104‐5483                                                                                 First Class Mail
Chartered Organization         Antioch Utd Methodist Church                            Middle Tennessee Council 560                   2575 Antioch Church Rd                                          Clarksville, TN 37040‐7328                                                                              First Class Mail
Chartered Organization         Antioch Utd Methodist Church                            Lincoln Heritage Council 205                   3422 Wheeler Hill Rd                                            Columbia, KY 42728‐5577                                                                                 First Class Mail
Chartered Organization         Antioch Utd Methodist Church                            Laurel Highlands Council 527                   20121 Knobley Rd                                                New Creek, WV 26743‐4656                                                                                First Class Mail
Chartered Organization         Antonia Pantoja Charter School                          Cradle of Liberty Council 525                  4101 N American St                                              Philadelphia, PA 19140‐2606                                                                             First Class Mail
Chartered Organization         Antram Fire Equipment                                   Buckeye Council 436                            P.O. Box 25                                                     North Georgetown, OH 44665‐0025                                                                         First Class Mail
Chartered Organization         Anza Elementary                                         Greater Los Angeles Area 033                   21400 Ellinwood Dr                                              Torrance, CA 90503‐5410                                                                                 First Class Mail
Chartered Organization         Apache Junction Police Dept                             Grand Canyon Council 010                       300 E Superstition Blvd                                         Apache Junction, AZ 85119‐2825                                                                          First Class Mail
Chartered Organization         Apalachin Methodist Church                              Baden‐Powell Council 368                       303 Pennsylvania Ave                                            Apalachin, NY 13732‐2409                                                                                First Class Mail
Voting Party                   Apalachin United Methodist Church                       Attn: Sue Tripp, Treasurer                     1785 Pennsylvania Ave                                           Apalachin, NY 13732                                                  apalachinumc@nyc.twcbc.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Apalachin United Methodist Church                       P.O. Box 355                                   303 Pennsylvania Ave                                            Apalachin, NY 13732                                                  apalachinumc@nyc.twcbc.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Apalachin Volunteer Fire Dept                           Baden‐Powell Council 368                       230 Pennsylvania Ave                                            Apalachin, NY 13732‐2406                                                                                First Class Mail
Chartered Organization         Apapa Texas Youth Chapter                               Capitol Area Council 564                       6200 Brodie Ln                                                  Austin, TX 78745‐2524                                                                                   First Class Mail
Chartered Organization         Apco, Inc                                               Water and Woods Council 782                    5511 Enterprise Dr                                              Lansing, MI 48911‐4131                                                                                  First Class Mail
Chartered Organization         Apex Fire Dept                                          Occoneechee 421                                736 Hunter St                                                   Apex, NC 27502‐1326                                                                                     First Class Mail
Chartered Organization         Apex Lions Club                                         Occoneechee 421                                100 S Hughes St                                                 Apex, NC 27502‐1910                                                                                     First Class Mail
Chartered Organization         Apex Lions Club                                         Occoneechee 421                                100 S Hughes St                                                 Apex, NC 27502‐1910                                                                                     First Class Mail
Voting Party                   Apex Lions Club                                         Attn: Venard Paul Dean                         P.O. Box 633                                                    Apex, NC 27502                                                       vpauldean@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Apex Police Dept                                        Occoneechee 421                                205 Saunders St                                                 Apex, NC 27502‐1447                                                                                     First Class Mail
Voting Party                   Apex United Methodist Church, Inc                       Attn: Trustee Chair                            100 S Hughes St                                                 Apex, NC 27502                                                                                          First Class Mail
Chartered Organization         Apex Utd Methodist Church                               Occoneechee 421                                100 S Hughes St                                                 Apex, NC 27502‐1910                                                                                     First Class Mail
Voting Party                   Apison Umc                                              Attn: Reverend Jacob William Herron            4414 Bill Jones Rd                                              Apison, TN 37302                                                     apisonumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Apison United Methodist Church                          Attn: Karen Fitzke                             5904 Stone Mill Dr                                              Mcdonald, TN 37353                                                   apisonumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Apison Utd Methodist Church                             Cherokee Area Council 556                      4412 Bill Jones Rd                                              Apison, TN 37302‐9585                                                                                   First Class Mail
Chartered Organization         Apollo Spring Church Sportsmen, Inc                     Moraine Trails Council 500                     1921 State Route 56                                             Spring Church, PA 15686‐9737                                                                            First Class Mail
Chartered Organization         Apollo‐Spring Church Sportsmen, Inc                     Moraine Trails Council 500                     P.O. Box 81                                                     Apollo, PA 15613‐0081                                                                                   First Class Mail
Chartered Organization         Apopka Elks 2422                                        Central Florida Council 083                    201 W Orange St                                                 Apopka, FL 32703‐4213                                                                                   First Class Mail
Chartered Organization         Apostle Presbyterian                                    Three Harbors Council 636                      1509 S 76th St                                                  Milwaukee, WI 53214‐4627                                                                                First Class Mail
Chartered Organization         Apostles Lutheran Church                                Greater Tampa Bay Area 089                     200 Kingsway Rd                                                 Brandon, FL 33510‐4604                                                                                  First Class Mail
Voting Party                   Apostles Of The Sacred Heart Of Jesus                   c/o Day Pitney LLP                             Attn: Richard P Colbert                                         195 Church St, 15th Fl             New Haven, CT 06510               bthomas@ascjus.org                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Apostles Of The Sacred Heart Of Jesus                   Attn: Sr Barbara Thomas Ascj                   Mount Sacred Heart Provincialate                                295 Beckham St                     Hamden, CT 06514                  bthomas@ascjus.org                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Apostolic Lighthouse                                    Three Rivers Council 578                       P.O. Box 370                                                    Sour Lake, TX 77659‐0370                                                                                First Class Mail
Chartered Organization         Apostolic Tabernacle Upc                                Caddo Area Council 584                         2800 Jefferson Ave                                              Texarkana, AR 71854‐2854                                                                                First Class Mail
Voting Party                   Appalachian Aggregates, LLC                             Attn: James Linkous                            171 St Clairs Xing                                              Bluefield, VA 24605                                                  James.Linkous@AppAggWV.Com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Appalachian Power                                       P.O. Box 371496                                Pittsburgh, PA 15250‐7496                                                                                                                                               First Class Mail
Chartered Organization         Apple Pie Ridge Elementary School Pto                   Shenandoah Area Council 598                    349 Apple Pie Ridge Rd                                          Winchester, VA 22603‐4311                                                                               First Class Mail
Chartered Organization         Apple Valley Fire Dept                                  Northern Star Council 250                      7100 147th St W                                                 Apple Valley, MN 55124‐7519                                                                             First Class Mail
Chartered Organization         Apple Valley Fire Protection District                   California Inland Empire Council 045           22400 Headquarters Ave                                          Apple Valley, CA 92307‐4304                                                                             First Class Mail
Chartered Organization         Apple Valley Police Dept                                Northern Star Council 250                      7100 147th St W                                                 Apple Valley, MN 55124‐7519                                                                             First Class Mail
Chartered Organization         Apple Valley Properties Owners Assoc                    Muskingum Valley Council, Bsa 467              113 Hasbrouck Cir                                               Howard, OH 43028‐9410                                                                                   First Class Mail
Chartered Organization         Apple Valley Property Owners Assoc                      Muskingum Valley Council, Bsa 467              113 Hasbrouck Cir                                               Howard, OH 43028‐9410                                                                                   First Class Mail
Chartered Organization         Appleby Manor Utd Presbyterian Church                   Moraine Trails Council 500                     810 Main St                                                     Ford City, PA 16226‐9244                                                                                First Class Mail
Chartered Organization         Applegarth Volunteer Engine Co 1                        Monmouth Council, Bsa 347                      130 Applegarth Rd                                               Monroe Twp, NJ 08831‐5901                                                                               First Class Mail
Chartered Organization         Applegate Fire Dept                                     Water and Woods Council 782                    2457 S Sherman Rd                                               Applegate, MI 48401‐7712                                                                                First Class Mail
Chartered Organization         Appleton Area Jaycees, Inc                              Bay‐Lakes Council 635                          P.O. Box 483                                                    Appleton, WI 54912‐0483                                                                                 First Class Mail
Chartered Organization         Appleton International Airport                          Bay‐Lakes Council 635                          W6390 Challenger Dr, Ste 201                                    Appleton, WI 54914                                                                                      First Class Mail
Chartered Organization         Appleton Police Dept                                    Bay‐Lakes Council 635                          222 S Walnut St                                                 Appleton, WI 54911‐5825                                                                                 First Class Mail
Voting Party                   Applewood Valley United Methodist Church                Attn: Donald E Yale                            2035 Ellis St                                                   Golden, CO 80401                                                     yale20@comcast.net                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Appling County Sheriff Office                           Coastal Georgia Council 099                    560 Barnes St, Ste B                                            Baxley, GA 31513‐0682                                                                                   First Class Mail
Chartered Organization         Appling Middle School Jlc                               Central Georgia Council 096                    1210 Shurling Dr                                                Macon, GA 31211‐2035                                                                                    First Class Mail
Chartered Organization         Apprentice Coordinators Assoc Minnesota                 Northern Star Council 250                      5420 International Pkwy                                         New Hope, MN 55428‐3604                                                                                 First Class Mail
Chartered Organization         Apshawa Parent Teacher Assoc                            Northern New Jersey Council, Bsa 333           High Crest Dr                                                   West Milford, NJ 07480                                                                                  First Class Mail
Voting Party                   Aptean Systems, LLC                                     Attn: Neil S Goldstein                         4325 Alexander Dr, Ste 100                                      Roswell, GA 30022                                                    neil.goldstein@aptean.com          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Aptos Grange                                            Silicon Valley Monterey Bay 055                2555 Mar Vista Dr                                               Aptos, CA 95003‐3613                                                                                    First Class Mail
Chartered Organization         Aqua City Scuba                                         Pine Tree Council 218                          11 Water St                                                     Waterville, ME 04901‐6582                                                                               First Class Mail
Voting Party                   Aqua Lung America, Inc                                  P.O. Box 51819                                 Los Angeles, CA 90051‐6119                                                                                                                                              First Class Mail
Chartered Organization         Aquia Episcopal Church                                  National Capital Area Council 082              2938 Jefferson Davis Hwy                                        Stafford, VA 22554‐1730                                                                                 First Class Mail
Chartered Organization         Aquia Harbour Property Owners Assoc                     National Capital Area Council 082              1221 Washington Dr                                              Stafford, VA 22554‐1901                                                                                 First Class Mail
Chartered Organization         Aquinas Academy                                         Laurel Highlands Council 527                   2308 W Hardies Rd                                               Gibsonia, PA 15044‐8328                                                                                 First Class Mail
Voting Party                   Arab First United Methodist Church                      Attn: F Todd Henderson                         1058 N Main St                                                  P.O. Box 470                       Arab, AL 35016                                                       First Class Mail
Chartered Organization         Arab First Utd Methodist                                Greater Alabama Council 001                    1058 N Main St                                                  Arab, AL 35016‐7000                                                                                     First Class Mail
Voting Party                   Aragon United Methodist Church ‐ Aragon                 c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Aragon Utd Methodist Church                             Northwest Georgia Council 100                  P.O. Box 183                                                    Aragon, GA 30104‐0183                                                                                   First Class Mail
Chartered Organization         Aramco Recreation                                       Transatlantic Council, Bsa 802                 P.O. Box 5000                                                   Dhahran,                           Saudi Arabia                                                         First Class Mail
Chartered Organization         Aramco Recreation Dept                                  Transatlantic Council, Bsa 802                 P.O. Box 117                                                    Saudi Arabia                                                                                            First Class Mail
Chartered Organization         Aransas Pass Police Dept                                South Texas Council 577                        600 W Cleveland Blvd                                            Aransas Pass, TX 78336‐3638                                                                             First Class Mail
Voting Party                   Arant Boult Cummings Llp                                Edwin G. Rice                                  100 N Tampa St, Ste 2200                                        Tampa, FL 33602                                                      erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Arapaho United Methodist Church                         Attn: Treasurer‐Arapaho Umc                    1400 W Arapaho Rd                                               Richardson, TX 75080                                                 treasurer@arapahoumc.org           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Arapahoe County Sheriffs Dept                           Denver Area Council 061                        13101 Broncos Pkwy                                              Centennial, CO 80112‐4558                                                                               First Class Mail
Voting Party                   Arbala United Methodist Church                          Attn: Arbala Methodist                         6839 Tx Hwy 11 W                                                Sulphur Springs, TX 75482                                            lewisdl54@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Arbor Aesthetics Tree Service                           Mid‐America Council 326                        6724 Irvington Rd                                               Omaha, NE 68122‐1219                                                                                    First Class Mail
Chartered Organization         Arbor Creek Elementary Boosters                         Heart of America Council 307                   16150 S Brougham Dr                                             Olathe, KS 66062‐7053                                                                                   First Class Mail
Chartered Organization         Arbor Heights Ptsa                                      Chief Seattle Council 609                      3701 SW 104th St                                                Seattle, WA 98146‐1151                                                                                  First Class Mail
Chartered Organization         Arbor Ridge Pta                                         Central Florida Council 083                    2900 Logandale Dr                                               Orlando, FL 32817‐1839                                                                                  First Class Mail
Chartered Organization         Arbor View Parent Teachers Club                         Three Fires Council 127                        Arbor View School                                               22W430 Ironwood Dr                 Glen Ellyn, IL 60137                                                 First Class Mail
Voting Party                   Arborlawn Umc ‐ Fort Worth                              c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Arborlawn Umc ‐ Fort Worth                              5001 Briarhaven Rd                             Fort Worth, TX 76109                                                                                                                                                    First Class Mail
Chartered Organization         Arborlawn Umc Mens Group                                Longhorn Council 662                           5001 Briarhaven Rd                                              Fort Worth, TX 76109‐4406                                                                               First Class Mail
Chartered Organization         Arborlawn Utd Methodist Church                          Longhorn Council 662                           5001 Briarhaven Rd                                              Fort Worth, TX 76109‐4406                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                    Page 18 of 442
                                                                                    Case 20-10343-LSS                                            Doc 8171                                           Filed 01/06/22                                             Page 34 of 457
                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                  Service List
                                                                                                                                                                           Served as set forth below

        Description                                                          Name                                                                                              Address                                                                                                             Email                        Method of Service
Voting Party                   Arbovale Umc                                                     Attn: David Fuller                      12068 Back Mountain Rd                                      Durbin, WV 26264                                                     dwfuller78@gmail.com                        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Arbuckle Area Council                                            Attn: William H Hoch                    324 N Robinson Ave, Ste 100                                 Oklahoma City, OK 73102                                              will.hoch@crowedunlevy.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Arcadia Elem 21St Century                                        Afterschool Program                     37430 Arcadia Dr                                            Tuscaloosa, AL 35404                                                                                             First Class Mail
Chartered Organization         Arcadia Firefighters Assoc                                       Greater Los Angeles Area 033            710 S Santa Anita Ave                                       Arcadia, CA 91006‐3535                                                                                           First Class Mail
Chartered Organization         Arcadia Garden Club                                              Southwest Florida Council 088           1005 W Magnolia St                                          Arcadia, FL 34266‐3498                                                                                           First Class Mail
Chartered Organization         Arcadia Lions Club                                               Gateway Area 624                        P.O. Box 143                                                Arcadia, WI 54612‐0143                                                                                           First Class Mail
Chartered Organization         Arcadia Masonic Lodge 278                                        Greater Los Angeles Area 033            50 W Duarte Rd                                              Arcadia, CA 91007‐6918                                                                                           First Class Mail
Chartered Organization         Arcadia Masonic Lodge 278 Troop 2131                             Greater Los Angeles Area 033            50 W Duarte Rd                                              Arcadia, CA 91007‐6918                                                                                           First Class Mail
Chartered Organization         Arcadia Police Dept                                              Greater Los Angeles Area 033            250 W Huntington Dr                                         Arcadia, CA 91007‐3401                                                                                           First Class Mail
Chartered Organization         Arcadia Police Dept                                              Southwest Florida Council 088           725 N Brevard Ave                                           Arcadia, FL 34266‐8771                                                                                           First Class Mail
Voting Party                   Arcadia United Methodist Church                                  Attn: Thomas M Ariail                   110 Longwood Dr                                             Spartanburg, SC 29301                                                tommy.ariail@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Arcadia United Methodist Church                                  Attn: Skipper Brock                     391 Arcadia St.                                             Spartanburg, SC 29301                                                tommy.ariail@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Arcadia United Methodist Church                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Arcadia United Methodist Church                                  235 S Reynolds St                       Arcadia, NE 68815                                                                                                                                                            First Class Mail
Chartered Organization         Arcadia Utd Methodist Church                                     Palmetto Council 549                    P.O. Box 143                                                Arcadia, SC 29320‐0143                                                                                           First Class Mail
Chartered Organization         Arcadia Valley Elks Lodge 2330                                   Greater St Louis Area Council 312       P.O. Box 330                                                Pilot Knob, MO 63663‐0330                                                                                        First Class Mail
Chartered Organization         Arcadia Valley Elks Lodge 2330                                   Greater St Louis Area Council 312       P.O. Box 330                                                Pilot Knob, MO 63663‐0330                                                                                        First Class Mail
Voting Party                   Arch Rock (177741)                                               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Archangel Raphael Coptic Church                                  Sam Houston Area Council 576            14220 Crescent Landing Dr                                   Houston, TX 77062‐2546                                                                                           First Class Mail
Voting Party                   Archbishop Borders School, Inc                                   c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                       218 N Charles St, Ste 400           Baltimore, MD 21201              moakey@gejlaw.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Archbishop Curley High School, Inc                               Attn: Matthew William Oakey             218 N Charles St, Ste 400                                   Baltimore, MD 21201                                                  moakey@gejlaw.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Archbishop Curley High School, Inc                               c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                       218 N Charles St, Ste 400           Baltimore, MD 21201              moakey@gejlaw.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Archbishop Neale School                                          National Capital Area Council 082       104 Port Tobacco Rd                                         La Plata, MD 20646‐4300                                                                                          First Class Mail
Voting Party                   Archbishop Spalding High School, Inc                             c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                       218 N Charles St, Ste 400           Baltimore, MD 21201              moakey@gejlaw.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Archbold Lions Club                                              Black Swamp Area Council 449            24657 County Rd D                                           Archbold, OH 43502‐9201                                                                                          First Class Mail
Chartered Organization         Archdale Friends Meeting                                         Old N State Council 070                 114 Trindale Rd                                             Archdale, NC 27263‐2748                                                                                          First Class Mail
Voting Party                   Archdale United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Archdale Utd Methodist                                           Old N State Council 070                 11542 N Main St                                             Archdale, NC 27263                                                                                               First Class Mail
Chartered Organization         Archdale Utd Methodist                                           Old N State Council 070                 11543 N Main St                                             Archdale, NC 27263‐2898                                                                                          First Class Mail
Voting Party                   Archdiocese Of Agana                                             Attn: Bruce A Anderson                  320 E Neider Ave, Ste 102                                   Coeur D'Alene, ID 83815                                              brucea@eaidaho.com                          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Archdiocese Of Indianapolis                                      John S Mercer                           1400 N Meridian St                                          Indianapolis, IN 46202                                               jsmercer@indylegal.com                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Archdiocese Of New York                                          Attn: William Whiston                   1011 1st Ave                                                New York, NY 10022                                                   william.whiston@archny.org                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Archdiocese of New York                                          c/o Norton Rose Fulbright US LLP        Attn: Andrew Rosenblatt                                     1301 Avenue of the Americas         New York, NY 10019               andrew.rosenblatt@nortonrosefulbright.com   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Archer Lodge Community Center                                    Tuscarora Council 424                   14009 Buffalo Rd                                            Archer Lodge, NC 27527                                                                                           First Class Mail
Voting Party                   Archer United Methodist Church ‐ Allendale                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Archer Utd Methodist Church                                      Northern New Jersey Council, Bsa 333    37 E Allendale Ave                                          Allendale, NJ 07401‐2095                                                                                         First Class Mail
Voting Party                   Archie United Methodist Church                                   Attn: Rev Po'Ese Vatikani               204 W Chestnut                                              Archie, MO 64725                                                     poesevatikani@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Archie Utd Methodist Church                                      Heart of America Council 307            19 Hi View Ridge Dr                                         Archie, MO 64725‐9520                                                                                            First Class Mail
Chartered Organization         Architecture Demarest                                            Circle Ten Council 571                  2320 Valdina St Studio B                                    Dallas, TX 75207                                                                                                 First Class Mail
Chartered Organization         Archway Classical Academy Scottsdale                             Grand Canyon Council 010                7496 E Tierra Buena Ln                                      Scottsdale, AZ 85260‐1613                                                                                        First Class Mail
Chartered Organization         Archway Housing                                                  Denver Area Council 061                 P.O. Box 9189                                               Denver, CO 80209‐0189                                                                                            First Class Mail
Chartered Organization         Archway Housing                                                  Fountain Ridge South Commty Ctr         410 Comanche Village Dr                                     Fountain, CO 80817‐5611                                                                                          First Class Mail
Chartered Organization         Archway Housing And Services, Inc                                Denver Area Council 061                 8585 W 14th Ave                                             Lakewood, CO 80215‐4857                                                                                          First Class Mail
Chartered Organization         Arco Community Church                                            Grand Teton Council 107                 P.O. Box 50                                                 Arco, ID 83213‐0050                                                                                              First Class Mail
Chartered Organization         Arcola Fire Dept                                                 National Capital Area Council 082       23675 Belmont Ridge Rd                                      Ashburn, VA 20148‐1700                                                                                           First Class Mail
Chartered Organization         Arcola Lions Club                                                Prairielands 117                        P.O. Box 134                                                Arcola, IL 61910‐0134                                                                                            First Class Mail
Chartered Organization         Arcola Pleasant Vly Vol Fire Dept                                National Capital Area Council 082       23675 Belmont Ridge Rd                                      Ashburn, VA 20148‐1700                                                                                           First Class Mail
Voting Party                   Arcola UMC 24757 Arcola Mills Dr, Dulles, VA 20166               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Arcola Utd Methodist Church                                      National Capital Area Council 082       24757 Arcola Mills Dr                                       Sterling, VA 20166‐3402                                                                                          First Class Mail
Chartered Organization         Arcola‐Pleasant Vly Vol Fire Dept                                National Capital Area Council 082       24300 Stone Springs Blvd                                    Sterling, VA 20166‐2256                                                                                          First Class Mail
Chartered Organization         Ardenwald Elementary Pto                                         Cascade Pacific Council 492             8950 SE 36th Ave                                            Portland, OR 97222‐5678                                                                                          First Class Mail
Voting Party                   Ardmore Asbury United Methodist                                  Attn: Teresa Norton                     2262 Edgewood Rd                                            Ardmore, OK 73401                                                    ardmoreasbury@att.net                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Ardmore City Schools                                             Arbuckle Area Council 468               P.O. Box 1709                                               Ardmore, OK 73402‐1709                                                                                           First Class Mail
Chartered Organization         Ardmore Pto                                                      Great Lakes Fsc 272                     27001 Greater Mack Ave                                      Saint Clair Shores, MI 48081‐1952                                                                                First Class Mail
Voting Party                   Ardmore United Methodist Church                                  Attn: Debra Eubanks                     P.O. Box 5                                                  Ardmore, TN 38449                                                    eubankshouse@aol.com                        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Ardmore United Methodist Church                                  200 Argyle Rd                           Ardmore, PA 19003                                                                                                                                                            First Class Mail
Voting Party                   Ardmore United Methodist Church 200 Argyle Rd, Ardmore, Pa       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Ardmore Utd Methodist Church                                     Old Hickory Council 427                 630 S Hawthorne Rd                                          Winston Salem, NC 27103‐3718                                                                                     First Class Mail
Voting Party                   Ardsley Methodist Church                                         Attn: Thea                              525 Ashford Ave                                             Ardsley, NY 10502                                                    cooky1219@aol.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Ardsley United Methodist Church                                  525 Ashford Ave                         Ardsley, NY 10502                                                                                                                Kgstahn@aol.com                             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Arecibo Power Squadron                                           Puerto Rico Council 661                 P.O. Box 3062                                               Arecibo, PR 00613‐3062                                                                                           First Class Mail
Voting Party                   Argenta Presbyterian Church                                      281 North St                            Argenta, IL 62501                                                                                                                ohwell65@yahoo.com                          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argenta Presbyterian Church                                      Attn: Laura E Richardson                132 S Water St, Ste 444                                     Decatur, IL 62523                                                    lauraerichardson@hotmail.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argenta United Methodist Church                                  P.O. Box 260                            Argenta, IL 62501                                                                                                                rkaufman561@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argenta United Methodist Church                                  Attn: Laura E Richardson                132 S Water St, Ste 444                                     Decatur, IL 62523                                                    lauraerichardson@hotmail.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Argenta‐Oreana Volunteer Fire Dept                               Greater St Louis Area Council 312       303 S North St                                              Argenta, IL 62501‐8175                                                                                           First Class Mail
Chartered Organization         Argentine Church Of The Nazarene                                 Water and Woods Council 782             16248 Seymour Rd                                            Linden, MI 48451                                                                                                 First Class Mail
Voting Party                   Argo Fay Umc                                                     Attn: Kimberly D Chapman                4928 Oil Valley School Rd                                   Mount Carroll, IL 61053                                              kchap717@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Bison Designs, LLC                  Attn: Matt Friend                                           12 W 37th St, Ste 900               New York, NY 10018               mattf@argopartners.net                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Lower Keys Electric Inc             Attn: Matt Friend                                           12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Custom Greenscaping Inc             Attn: Matt Friend                                           12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Eci Software Solutions, Inc         Attn: Matt Friend                                           12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Electronic Specialty Company        Attn: Matt Friend                                           12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Hester's Motorsports Inc            Attn: Matt Friend                                           12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Lighthouse Document Technologies    Attn: Matt Friend                                           12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Siffron                             Attn: Matt Friend                                           12 W 37th St, St 900                New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Tima Brands, Inc                    Attn: Matt Friend                                           12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Windy Day Plumbing Co, Inc          Attn: Matt Friend                                           12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Canteen Refreshment Services        Attn: Matthew Friend                                        12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Iron Horse Welding Llc              Attn: Matthew Friend                                        12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Mold Monster Products LLC           Attn: Matthew Friend                                        12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Re: Uline, Inc                          Attn: Matthew Friend                                        12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Attn: Matt Friend                       Re: Mike Roemer Photography Inc                             12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Partners                                                    Attn: Matt Friend                       Re: Phase 3 Media LLC                                       12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Argo Patners                                                     Re: Complete Care Cleaning Services     Attn: Matt Friend                                           12 W 37th St, Ste 900               New York, NY 10018               lauren@argopartners.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Argonia Cornerstone Church                                       Quivira Council, Bsa 198                P.O. Box 147                                                Argonia, KS 67004‐0147                                                                                           First Class Mail
Chartered Organization         Argonne Post 32 American Legion                                  Sioux Council 733                       P.O. Box 246                                                Adrian, MN 56110‐0246                                                                                            First Class Mail
Chartered Organization         Argos Lions Club                                                 Lasalle Council 165                     10861 State Rd 10                                           Argos, IN 46501‐9225                                                                                             First Class Mail
Chartered Organization         Argus Invent, LLC                                                Glaciers Edge Council 620               P.O. Box 910                                                Madison, WI 53701‐0910                                                                                           First Class Mail
Chartered Organization         Argyle Elementary School                                         Atlanta Area Council 092                2420 Spring Rd Se                                           Smyrna, GA 30080‐3828                                                                                            First Class Mail
Chartered Organization         Argyle Utd Methodist Church                                      Longhorn Council 662                    9033 Fort Worth Dr                                          Argyle, TX 76226‐9367                                                                                            First Class Mail
Chartered Organization         Argyle Utd Presbyterian Church                                   Twin Rivers Council 364                 48 Main St                                                  Argyle, NY 12809‐7759                                                                                            First Class Mail
Firm                           Arias Sanguinetti Wang & Torrijos LLP                            Mike M. Arias & Travis Daniels, Esq.    6700 Center Drive West, Ste 1400                            Los Angeles, CA 90045                                                travis@aswtlawyers.com                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Arick‐L‐Lore American Legion Post 274                            National Capital Area Council 082       11820 Hg Trueman Rd                                         Lusby, MD 20657‐2999                                                                                             First Class Mail
Chartered Organization         Arise In Christ Evangelical Lutheran Ch                          Tecumseh 439                            116 E Main St                                               Donnelsville, OH 45319‐5033                                                                                      First Class Mail
Chartered Organization         Aristol Classical Academy                                        Sam Houston Area Council 576            5618 11th St                                                Katy, TX 77493‐1971                                                                                              First Class Mail
Chartered Organization         Arizona Freedom Sports, Inc                                      40914 N Wild West T                     Anthem, AZ 85086                                                                                                                                                             First Class Mail
Chartered Organization         Ark And Dove Presbyterian Church                                 Baltimore Area Council 220              8424 Piney Orchard Pkwy                                     Odenton, MD 21113‐1524                                                                                           First Class Mail
Chartered Organization         Ark Restoration Church International                             South Florida Council 084               P.O. Box 26687                                              Tamarac, FL 33320‐6687                                                                                           First Class Mail
Voting Party                   Ark United Methodist Church                                      Attn: Christine M Cappetta              2575 Barker Ave                                             Sergeant Bluff, IA 51054                                             ChristineMCappetta@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Ark United Methodist Church                                      Attn: Christine Cappetta                P.O. Box 488                                                N Sioux City, SD 57049                                               arkumc@gmail.com                            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Arkansas Assoc Of The Deaf                                       Quapaw Area Council 018                 2400 W Markham St                                           Little Rock, AR 72205‐6129                                                                                       First Class Mail
Chartered Organization         Arkansas Canoe Club                                              Westark Area Council 016                2509 Interstate 30 S                                        Bryant, AR 72022                                                                                                 First Class Mail
Voting Party                   Arkansas Conference Of The United Methodist Church               Attn: Todd Burris                       800 W Daisy L Gatson Bates Dr                               Little Rock, AR 72202                                                tburris@arumc.org                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Arkansas Outrigger Canoe Team                                    Westark Area Council 016                P.O. Box 9282                                               Russellville, AR 72811‐9282                                                                                      First Class Mail
Chartered Organization         Arkport Utd Methodist Church                                     Five Rivers Council, Inc 375            Corner W Ave & Main                                         Arkport, NY 14807                                                                                                First Class Mail
Chartered Organization         Arlene And Louise Wesswick Foundation                            Trapper Trails 589                      1624 Collins St                                             Rock Springs, WY 82901‐6612                                                                                      First Class Mail
Chartered Organization         Arlington Christian Church                                       Crossroads of America 160               P.O. Box 74                                                 Arlington, IN 46104‐0074                                                                                         First Class Mail
Chartered Organization         Arlington Church Of The Brethren                                 National Capital Area Council 082       300 N Montague St                                           Arlington, VA 22203‐1041                                                                                         First Class Mail
Chartered Organization         Arlington Community Church                                       Mid‐America Council 326                 P.O. Box 187                                                Arlington, NE 68002‐0187                                                                                         First Class Mail
Voting Party                   Arlington District Virginia Conference United Methodist Church   Attn: Sarah Calvert                     3600 Chain Bridge Rd, Ste 100                               Fairfax, VA 22030                                                    ArlingtonDS@vaumc.org                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Arlington Elementary School                                      West Tennessee Area Council 559         701 Arlington Ave                                           Jackson, TN 38301‐4752                                                                                           First Class Mail
Chartered Organization         Arlington Elementary School                                      Laurel Highlands Council 527            800 Pectenwald St                                           Pittsburgh, PA 15210                                                                                             First Class Mail
Chartered Organization         Arlington Fairfax Chapter Iwla                                   National Capital Area Council 082       P.O. Box 366                                                Centreville, VA 20122‐0366                                                                                       First Class Mail
Voting Party                   Arlington Forest UMC 4701 Arlington Blvd, Arlington, VA 22       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Arlington Forest Utd Methodist Church                            National Capital Area Council 082       4701 Arlington Blvd                                         Arlington, VA 22203‐2706                                                                                         First Class Mail
Voting Party                   Arlington Heights Church Of The Incarnation                      Attn: Peter Francis Bavisetto           330 W Golf Rd                                               Arlington Heights, IL 60005                                          pastordoh@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Arlington Heights Methodist Church                               Longhorn Council 662                    4200 Camp Bowie Blvd                                        Fort Worth, TX 76107‐3929                                                                                        First Class Mail
Voting Party                   Arlington Heights United Methodist Church 400 Camp Bowie Blvd    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Arlington Heights: First                                         Attn: Melissa Lyn Early                 1903 E Euclid Ave                                           Arlington Heights, IL 06004                                          m.earley@fumcah.com                         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Arlington Lewin Umc                                              Attn: Grady D Morton                    5260 Reisterstown Rd                                        Baltimore, MD 21215                                                  mortond_21207@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Arlington Lions Club                                             Mount Baker Council, Bsa 606            19509 Burn Rd                                               Arlington, WA 98223‐5931                                                                                         First Class Mail
Chartered Organization         Arlington Middle School                                          Crossroads of America 160               4825 N Arlington Ave                                        Indianapolis, IN 46226‐2401                                                                                      First Class Mail
Chartered Organization         Arlington Nazarene Church                                        Blue Mountain Council 604               P.O. Box 487                                                Arlington, OR 97812‐0487                                                                                         First Class Mail
Chartered Organization         Arlington Police Dept                                            Longhorn Council 662                    P.O. Box 1065                                               Arlington, TX 76004‐1065                                                                                         First Class Mail
Chartered Organization         Arlington Presbyterian Ch, Covenant, Inc                         National Capital Area Council 082       2666 Military Rd                                            Arlington, VA 22207‐5118                                                                                         First Class Mail
Chartered Organization         Arlington Reformed Church                                        Hudson Valley Council 374               22 Raymond Ave                                              Poughkeepsie, NY 12603‐2318                                                                                      First Class Mail
Chartered Organization         Arlington Rescue Squad                                           Green Mountain 592                      P.O. Box 295                                                Arlington, VT 05250‐0295                                                                                         First Class Mail
Voting Party                   Arlington Street United Methodist Church                         Attn: Karen Annette Ruwisch             63 Arlington St                                             Nashua, NH 03060                                                     pastor@asumc.org                            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Arlington Umc                                                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Arlington Unc                                                    Middle Tennessee Council 560            1360 Murfreesboro Pike                                      Nashville, TN 37217‐2619                                                                                         First Class Mail
Voting Party                   Arlington United Church                                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                  Page 19 of 442
                                                                                    Case 20-10343-LSS                                                          Doc 8171                                                Filed 01/06/22                                          Page 35 of 457
                                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                                     Service List
                                                                                                                                                                                              Served as set forth below

        Description                                                       Name                                                                                                                    Address                                                                                                          Email                 Method of Service
Voting Party                   Arlington United Methodist Church                              Attn: Treasurer                                         230 N Main St                                                    P.O. Box 380                     Arlington, OH 45814              pastormark65@aol.com                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Arlington United Methodist Church                              Attn: Peter Albrecht                                    740 Sunset Hills Dr                                              O Fallon, MO 63366                                                palbrecht@gw‐semi.com                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Arlington United Methodist Church                              c/o East District Union of the Umc                      Attn: John Dandurand                                             918 N Euclid Ave                 Ontario, CA 91762                eastdistrict@calpacumc.org           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Arlington United Methodist Church                              Attn: Dennis Bouch                                      1360 Murfreesboro Rd                                             Nashville, TN 37217                                               dennisbouch@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Arlington United Methodist Church                              Attn: Clayton Slaughter                                 1820 N Arlington Rd                                              Bloomington, IN 47404                                             clay@troop121.info                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Arlington United Methodist Church                              Attn: Financial Secretary                               3770 Mckelvey Rd                                                 Bridgeton, MO 63044                                                                                    First Class Mail
Chartered Organization         Arlington Utd Methodist                                        Middle Tennessee Council 560                            3105 Hamilton Church Rd                                          Antioch, TN 37013‐1442                                                                                 First Class Mail
Chartered Organization         Arlington Utd Methodist Church                                 Black Swamp Area Council 449                            P.O. Box 380                                                     Arlington, OH 45814‐0380                                                                               First Class Mail
Chartered Organization         Arlington Utd Methodist Church                                 Chickasaw Council 558                                   6145 Quintard St                                                 Arlington, TN 38002‐5312                                                                               First Class Mail
Chartered Organization         Arlington Utd Methodist Church                                 Hoosier Trails Council 145 145                          1820 W Arlington Rd                                              Bloomington, IN 47404‐2118                                                                             First Class Mail
Chartered Organization         Arlington Utd Methodist Church                                 Middle Tennessee Council 560                            1360 Murfreesboro Pike                                           Nashville, TN 37217‐2619                                                                               First Class Mail
Chartered Organization         Arlington Utd Methodist Mens Club                              Greater St Louis Area Council 312                       3770 Mckelvey Rd                                                 Bridgeton, MO 63044‐2001                                                                               First Class Mail
Chartered Organization         Arlington Woods 99 (Rft)                                       Crossroads of America 160                               5801 E 30th St                                                   Indianapolis, IN 46218‐3315                                                                            First Class Mail
Chartered Organization         Arlington Woods School 99 As                                   Crossroads of America 160                               5801 E 30th St                                                   Indianapolis, IN 46218‐3315                                                                            First Class Mail
Chartered Organization         Arm Bible Class At Immanuel Lutheran                           Potawatomi Area Council 651                             13445 Hampton Rd                                                 Brookfield, WI 53005‐7528                                                                              First Class Mail
Voting Party                   Armagh United Methodist Church (97227)                         c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Armbrust Wesleyan Church And Christian Academy, Inc.           Attn: Treasurer & Tim E Stradling                       7790 State Rte 819                                               Hunker, PA 15639                                                  office@armbrustwesleyan.com          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Armbuster, Dripps, Winterscheidt & Blotevogel, LLC             51 Executive Plaza Court                                Maryville, IL 62062                                                                                                                MIKEB@ADWBLAW.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Armenia Utd Methodist Church                                   Palmetto Council 549                                    2840 Armenia Rd                                                  Chester, SC 29706‐6818                                                                                 First Class Mail
Chartered Organization         Armenian All Saints Apostolic Church                           Northeast Illinois 129                                  1701 Greenwood Rd                                                Glenview, IL 60026‐1517                                                                                First Class Mail
Chartered Organization         Armenian General Benevolent Union                              Greater Los Angeles Area 033                            2495 E Mountain St                                               Pasadena, CA 91104‐3424                                                                                First Class Mail
Chartered Organization         Armenian General Benovolent Union                              W.L.A.C.C. 051                                          6844 Oakdale Ave                                                 Canoga Park, CA 91306‐3913                                                                             First Class Mail
Chartered Organization         Armistice Memorial Post 2195 Vfw                               Circle Ten Council 571                                  P.O. Box 284                                                     Allen, TX 75013‐0005                                                                                   First Class Mail
Voting Party                   Armour Fire Protection                                         P.O. Box 211622                                         Bedford, TX 76095‐8622                                                                                                                                                  First Class Mail
Chartered Organization         Armstrong Chapel Utd Methodist Church                          Dan Beard Council, Bsa 438                              5125 Drake Rd                                                    Cincinnati, OH 45243‐3925                                                                              First Class Mail
Chartered Organization         Armstrong Elementary School Pta                                National Capital Area Council 082                       11900 Lake Newport Rd                                            Reston, VA 20194‐1542                                                                                  First Class Mail
Chartered Organization         Armstrong School Pto                                           Northern Star Council 250                               8855 Inwood Ave S                                                Cottage Grove, MN 55016‐3300                                                                           First Class Mail
Chartered Organization         Army Aviation Assoc America                                    Middle Tennessee Council 560                            P.O. Box 356                                                     Fort Campbell, KY 42223‐0356                                                                           First Class Mail
Chartered Organization         Army Cadet Explorers Post 3                                    California Inland Empire Council 045                    P.O. Box 1951                                                    San Jacinto, CA 92581‐1951                                                                             First Class Mail
Chartered Organization         Army Cadets Of Bakersfield                                     Southern Sierra Council 030                             283 Bighorn Meadow Dr                                            Bakersfield, CA 93308‐7844                                                                             First Class Mail
Chartered Organization         Army Transportation Museum Foundation                          Colonial Virginia Council 595                           P.O. Box 4730                                                    Fort Eustis, VA 23604‐0730                                                                             First Class Mail
Voting Party                   Arndt's Lutheran Church                                        1851 Arndt Rd                                           Easton, PA 18040                                                                                                                   arndtslutheranchurch@rcn.org         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Arnett Public School                                           Cimarron Council 474                                    P.O. Box 317                                                     Arnett, OK 73832‐0317                                                                                  First Class Mail
Voting Party                   Arnold Mills United Methodist Church                           Attn: Lindsay F Gettinger                               690 Nate Whipple Hwy                                             Cumberland, RI 02864                                              office.amumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Arnold School Pto                                              Cornhusker Council 324                                  5000 Mike Scholl St                                              Lincoln, NE 68524‐2305                                                                                 First Class Mail
Voting Party                   Arnold United Methodist Church (97240)                         c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Arnold United Methodist Church (97240)                         c/o Bentz Law Firm                                      Attn: Leonard Spagnolo & Daniel Maier                            680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Arnoldsburg Pto                                                Buckskin 617                                            90 Spring Run Rd                                                 Arnoldsburg, WV 25234‐7096                                                                             First Class Mail
Voting Party                   Arnolia United Methodist Church                                Attn: Treasurer, Arnolia Umc                            1776 E Joppa Rd                                                  Parkville, MD 21234                                               arnoliaumc@arnolia.org               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Aromas Eagles 72                                               Silicon Valley Monterey Bay 055                         225 Aromas Rd                                                    Aromas, CA 95004‐9722                                                                                  First Class Mail
Chartered Organization         Aros Del Norte                                                 Puerto Rico Council 661                                 393 Calle Las Cuevitas                                           Quebradillas, PR 00678‐2503                                                                            First Class Mail
Chartered Organization         Arrow Heights Baptist Church                                   Indian Nations Council 488                              3201 S Elm Pl                                                    Broken Arrow, OK 74012‐7922                                                                            First Class Mail
Chartered Organization         Arroyo Del Oso Elementary School Pta                           Great Southwest Council 412                             6504 Harper Dr Ne                                                Albuquerque, NM 87109‐3604                                                                             First Class Mail
Chartered Organization         Arroyo Grande Optimist Club                                    Los Padres Council 053                                  P.O. Box 344                                                     Arroyo Grande, CA 93421‐0344                                                                           First Class Mail
Chartered Organization         Arroyo Grande Police Dept                                      Los Padres Council 053                                  200 N Halcyon Rd                                                 Arroyo Grande, CA 93420‐2525                                                                           First Class Mail
Chartered Organization         Arsenal Tech High School                                       Crossroads of America 160                               1500 E Michigan St                                               Indianapolis, IN 46201‐3079                                                                            First Class Mail
Chartered Organization         Art Semro Post 28 The American Legion                          Grand Columbia Council 614                              P.O. Box 904                                                     Ephrata, WA 98823‐0904                                                                                 First Class Mail
Chartered Organization         Artemus Ward School                                            Lake Erie Council 440                                   4315 W 140th St                                                  Cleveland, OH 44135‐2128                                                                               First Class Mail
Voting Party                   Artesia‐Cerritos United Methodist Church                       Attn: Robin Kim                                         18523 Arline Ave                                                 Artesia, CA 90701                                                 Robinkim419@gmail.com                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Artgame                                                        Attn: Mindy Mccasland                                   7370 Eastgate Rd, Ste 150                                        Henderson, NV 89011                                               mindy@artgame.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Arthur & Polly Mays High School                                South Florida Council 084                               11700 SW 216th St                                                Goulds, FL 33170‐2935                                                                                  First Class Mail
Chartered Organization         Arthur Ashe Charter School                                     Southeast Louisiana Council 214                         1456 Gardena Dr                                                  New Orleans, LA 70122‐1914                                                                             First Class Mail
Chartered Organization         Arthur Ashe Charter Schools Girls                              Southeast Louisiana Council 214                         1456 Gardena Dr                                                  New Orleans, LA 70122‐1914                                                                             First Class Mail
Chartered Organization         Arthur E Bouton Post 770 Al                                    Baden‐Powell Council 368                                4431 Seneca Rd                                                   Trumansburg, NY 14886                                                                                  First Class Mail
Chartered Organization         Arthur Eddy Academy                                            Water and Woods Council 782                             1000 Cathay St                                                   Saginaw, MI 48601‐1321                                                                                 First Class Mail
Chartered Organization         Arthur Elementary School Pta                                   Hawkeye Area Council 172                                2630 B Ave Ne                                                    Cedar Rapids, IA 52402‐4958                                                                            First Class Mail
Voting Party                   Arthur Falk Oppenheimer                                        c/o Boy Scouts of America                               Attn: Chase Koontz                                               1325 W Walnut Hill Ln            Irving, TX 75015                 chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Arthur Leslow Community Center                                 Southern Shores Fsc 783                                 120 Eastchester St                                               Monroe, MI 48161‐1922                                                                                  First Class Mail
Chartered Organization         Arthur Lions Club                                              Prairielands 117                                        106 W 3rd St                                                     Arthur, IL 61911‐1064                                                                                  First Class Mail
Chartered Organization         Arthur Mowad Cpa                                               Sam Houston Area Council 576                            135 Towering Pines Dr                                            The Woodlands, TX 77381‐2598                                                                           First Class Mail
Chartered Organization         Arthur Murray Dance Studio                                     Northern Star Council 250                               5041 France Ave S                                                Edina, MN 55410‐2049                                                                                   First Class Mail
Chartered Organization         Arthur Utd Methodist                                           Prairielands 117                                        128 E Illinois St                                                Arthur, IL 61911‐1330                                                                                  First Class Mail
Chartered Organization         Artificial Intelligence In Action                              Indian Waters Council 553                               396 Saint Paul St                                                Orangeburg, SC 29115‐5465                                                                              First Class Mail
Chartered Organization         Artisans Order Of Mutual Protection                            Cradle of Liberty Council 525                           8100 Roosevelt Blvd                                              Philadelphia, PA 19152‐2900                                                                            First Class Mail
Chartered Organization         Artist Corner                                                  Utah National Parks 591                                 380 S Orem Blvd                                                  Orem, UT 84058‐3010                                                                                    First Class Mail
Chartered Organization         Artist Quarter Minyan                                          Transatlantic Council, Bsa 802                          35 Yud Chet St                                                   Tzfat                            Israel                                                                First Class Mail
Chartered Organization         Arts Academy After School                                      Buckeye Council 436                                     1100 10th St Ne                                                  Canton, OH 44705                                                                                       First Class Mail
Chartered Organization         Arts Academy Elementary Charter School                         Minsi Trails Council 502                                601 W Union St                                                   Allentown, PA 18101‐2308                                                                               First Class Mail
Chartered Organization         Arts N Autism                                                  Black Warrior Council 006                               P.O. Box 20111                                                   Tuscaloosa, AL 35402‐0111                                                                              First Class Mail
Chartered Organization         Arundel Elementary School                                      Baltimore Area Council 220                              2400 Round Rd                                                    Baltimore, MD 21225‐1001                                                                               First Class Mail
Chartered Organization         Arundel Historical Society                                     Pine Tree Council 218                                   3 Talbot Dr                                                      Arundel, ME 04046‐8156                                                                                 First Class Mail
Chartered Organization         Arvada Covenant Church                                         Denver Area Council 061                                 5555 Ward Rd                                                     Arvada, CO 80002‐1307                                                                                  First Class Mail
Chartered Organization         Arvada Rifle And Pistol Club, Inc                              Denver Area Council 061                                 P.O. Box 3                                                       Arvada, CO 80001‐0003                                                                                  First Class Mail
Voting Party                   Arvada United Methodist Church                                 Attn: Business Manager                                  6750 Carr St                                                     Arvada, CO 80004                                                  lauraw@arvadaumc.org                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Arvin Police Dept                                              Southern Sierra Council 030                             200 Campus Dr                                                    Arvin, CA 93203‐1008                                                                                   First Class Mail
Chartered Organization         Asa Messer Elementary School P T O                             Narragansett 546                                        158 Messer St                                                    Providence, RI 02909‐1741                                                                              First Class Mail
Chartered Organization         Asamblea Apostolica                                            East Texas Area Council 585                             310 S Fleishel Ave                                               Tyler, TX 75702‐7519                                                                                   First Class Mail
Chartered Organization         Asap Sanitary                                                  Lake Erie Council 440                                   P.O. Box 245                                                     Chardon, OH 44024‐0245                                                                                 First Class Mail
Voting Party                   Asbury                                                         c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury (Camden)                                                c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury Annapolis                                               Attn: Chatry Perry                                      87 West St                                                       Annapolis, MD 21401                                               1asbury@verizon.net                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury Crestwood United Methodist Church                       167 Scarsdale Rd                                        Tuckahoe, NY 10707                                                                                                                 jasonradmacher75@gmail.com           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury Crisfield United Methodist Church                       3380 Lawsonia Rd                                        Crisfield, MD 21817                                                                                                                revbertjicha@comcast.net             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Asbury Eagles Club Aerie 4458                                  Northeast Iowa Council 178                              5900 Saratoga Rd, Ste 10                                         Asbury, IA 52002‐2124                                                                                  First Class Mail
Voting Party                   Asbury First United Methodist Church                           Attn: David Strong                                      1050 East Ave                                                    Rochester, NY 14607                                               dstrong@asburyfirst.org              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury Memorial United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury Memorial United Methodist Church                        Attn: Rev Cynthia C Taylor                              1005 Asbury Dr                                                   Columbia, SC 29209                                                cctaylor@umcsc.org                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Asbury Methodist Church                                        Baltimore Area Council 220                              78 Church Rd                                                     Arnold, MD 21012‐2345                                                                                  First Class Mail
Chartered Organization         Asbury Methodist Church                                        Sequoyah Council 713                                    201 S Main St                                                    Greeneville, TN 37743‐4940                                                                             First Class Mail
Chartered Organization         Asbury Methodist Church                                        Heart of America Council 307                            5400 W 75th St                                                   Prairie Village, KS 66208‐4711                                                                         First Class Mail
Chartered Organization         Asbury Methodist Church                                        Narragansett 546                                        143 Ann Mary Brown Dr                                            Warwick, RI 02888‐4456                                                                                 First Class Mail
Voting Party                   Asbury Methodist Church Of Lafayette                           c/o Dir of Financial Ministries                         Attn: Thomas Mcnamara                                            101 Live Oak Blvd                Lafayette, LA 70503              admin@asburylafayette.org            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Asbury South Utd Methodist Church                              Simon Kenton Council 441                                4760 Winchester Pike                                             Columbus, OH 43232‐6201                                                                                First Class Mail
Chartered Organization         Asbury U M C Of Orange Park                                    North Florida Council 087                               16 College Dr                                                    Orange Park, FL 32065‐6311                                                                             First Class Mail
Voting Party                   Asbury Umc                                                     Attn: David Dorsey                                      143 Ann Mary Brown Dr                                            Warwick, RI 02888                                                 asburyumcri@gmail.com                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury Umc                                                     Attn: Jane Pike, Treasurer Asbury Umc                   350 27th Ave Sw                                                  Cedar Rapids, IA 52404                                                                                 First Class Mail
Voting Party                   Asbury UMC (Church Hill) 324 N 29th St, Richmond, VA 23223     c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury UMC 15616 Warwick Blvd, Newport News, VA                c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury UMC 205 South Main Street, Harrisonburg, VA 22801       c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury UMC 7983 Stonewall Jackson Hwy, Front Royal, VA 22630   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury Umc Charles Town                                        Attn: Virginia Webb                                     110 W N St                                                       Charles Town, WV 25414                                                                                 First Class Mail
Voting Party                   Asbury Umc Columbus, Ga                                        Attn: Michael Powell, Pastor & Ciara Vance, Treasurer   2313 Ellen Ave                                                   Columbus, GA 31903                                                Rev.MikePowell@gmail.com             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury Umc Greenville                                          Attn: Gerald Jones                                      201 S Main St                                                    Greeneville, TN 37743                                             jones@asburylife.org                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury Umm Woodstown 149 S Main St Woodstown, NJ 08098‐1109    c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200         Tampa, FL 33602                  ERICE@BRADLEY.COM                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist                                        c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist (178302)                               c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Charles Phillips                                  108 Easy Living Ln                                               Downsville, LA 71234                                              sonnyphillips1953@yahoo.com          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 58 W 7th St                                             Mount Vernon, NY 10550                                                                                                             rlj542@msn.com                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Rocky W Eaton                                     P.O. Box 1646                                                    Hattiesburg, MS 39403                                             reaton@tef‐law.com                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Jim Cox                                           6612 Creedmoor Rd                                                Raleigh, NC 27613                                                 paulaj@asburyraleigh.org             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Treasurer                                         2969 S Mendenhall Rd                                             Memphis, TN 38115                                                 office.asburyumc.memphis@gmail.com   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Douglas Cunningham                                17 Old Post Rd                                                   Croton‐On‐Hudson, NY 10520                                        manghula1985@gmail.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Jim Boswell                                       1300 E University                                                Magnolia, AR 71753                                                lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Cheryl Cate                                       1700 Napa Valley Dr                                              Little Rock, AR 72212                                             lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Kristin Pratt                                     1331 Hwy 42                                                      Petal, MS 39465                                                   Kristin@asburypetal.com              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 2425 S Western Ave                                      Sioux Falls, SD 57105                                                                                                              kip@sfasbury.org                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Patti Brown                                       4257 Kearneysville Pike                                          Shepherdstown, WV 25443                                           info@4pillarchurch.org               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Lead Pastor                                       6101 University Ave                                              Madison, WI 53705                                                 hzimmick@asburymadison.com           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Dave L David                                      4743 East Ave                                                    Livermore, CA 94550                                               dldavid92@comcast.net                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: David Miller                                      6690 Cahaba Valley Rd                                            Birmingham, AL 35242                                              david@asburyonline.org               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Pastor Joe Jarrett                                501 Elizabeth St                                                 Charleston, WV 25311                                              cjoanparker@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Canardo Richardson                                Asbury United Methodist Church                                   926 11th St Nw                   Washington, DC 20001             asburymail@asburyumcdc.org           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Phil Wilden, Pastor                               55 W Lincoln Ave                                                 Delaware, OH 43015                                                asburychuchohio@gmail.com            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church                                 Attn: Randy Bell                                        806 Clarendon St                                                 Durham, NC 27705                                                  asbury.umc@frontier.com              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church ‐ Cinnaminson                   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church ‐ Otto                          c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church ‐ Pasadena Texas                Attn: Barbara Grimes & Diana Choma                      5354 Space Center Blvd                                           Pasadena, TX 77505                                                office@asbury.cc                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church (100645)                        c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Asbury United Methodist Church (179022)                        c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                     Page 20 of 442
                                                                                      Case 20-10343-LSS                                                              Doc 8171                                          Filed 01/06/22                                            Page 36 of 457
                                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                                     Service List
                                                                                                                                                                                              Served as set forth below

        Description                                                        Name                                                                                                                   Address                                                                                                        Email                      Method of Service
Voting Party                   Asbury United Methodist Church (179022)                                  c/o Bentz Law Firm                                  Attn: Sean Bollman                                         680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church (30301)                                   c/o Bentz Law Firm                                  Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church (89182)                                   c/o Bentz Law Firm                                  Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church (89923)                                   c/o Bentz Law Firm                                  Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church 1401 Camden Ave Salisbury, Md             c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church 4001 E University Blvd Odessa, TX 79762   c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church And Child Care Center                     Attn: Tim Ingram                                    300 E Basin Rd                                             New Castle, DE 19720                                                pastortracy@asburynewcastle.net       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church Arnold, Md                                Attn: Walter Bruso                                  78 Church Rd                                               Arnold, MD 21012                                                                                          First Class Mail
Voting Party                   Asbury United Methodist Church Forestville                               Attn: Heidi Borkowski/Laura Galbraith               90 Church Ave                                              Bristol, CT 06010                                                   Pastorlaura.g@sbcglobal.net           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church Greenville                                Attn: Rev Dale Ashby                                P.O. Box 599                                               Greenville, NY 12083                                                minister.asburyumcny@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church Of Bettendorf, Iowa                       c/o Robert H Gallagher                              3870 Middle Rd                                             Bettendorf, IA 52722                                                rgallaghersr@gmglawfirm.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church Of Chesterfield, Nh                       Attn: Scott Masters                                 532 Route 63 ‐ Box 148                                     Chesterfield, NH 03443                                              SCOTT.MASTERS@OSRAM.COM               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church Of Kankakee, Illinois                     Attn: Thomas Cunnington ‐ Finance Chairman          196 S Harrison Ave                                         Kankakee, IL 60901                                                  tcunningotn1050@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church Of Springfield, Inc                       Attn: William Love                                  1500 S Campbell Ave                                        Springfield, MO 65807                                               williamlove@cs.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church Of Springfield, Inc                       c/o Hyde Love & Overby                              Attn: William Love                                         1121 S Glenstone                  Springfield, MO 65804             williamlove@cs.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church Of Villa Park                             c/o Calvary United Methodist Church of Villa Park   136 E Highland Ave                                         Villa Park, IL 60181                                                pastor@calvaryvillapark.org           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church South                                     Attn: Terrie Burch                                  4760 Winchester Pike                                       Columbus, OH 43232                                                  office@asburysouthumc.org             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church, Denton, TX                               Attn: Vickie Middleton                              117 Hercules Ln                                            Denton, TX 76207                                                    usmiddleton12@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church, Inc                                      Attn: William H Munts                               980 Hughes Rd                                              Madison, AL 35758                                                   bill.munts@weareasbury.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury United Methodist Church, Livermore, Ca.                           Trustee Chair, Asbury United Methodist Church       4743 East Ave                                              Livermore, CA 94550                                                 dldavid92@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Asbury Utd Methodist                                                     Greater Alabama Council 001                         980 Hughes Rd                                              Madison, AL 35758‐8973                                                                                    First Class Mail
Chartered Organization         Asbury Utd Methodist Ch Charles Town                                     Shenandoah Area Council 598                         110 W North St                                             Charles Town, WV 25414‐1524                                                                               First Class Mail
Chartered Organization         Asbury Utd Methodist Ch Little Rock                                      Quapaw Area Council 018                             1700 Napa Valley Dr                                        Little Rock, AR 72212‐3910                                                                                First Class Mail
Chartered Organization         Asbury Utd Methodist Chruch                                              Sam Houston Area Council 576                        5354 Space Center Blvd                                     Pasadena, TX 77505‐3933                                                                                   First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Anthony Wayne Area 157                              605 E Main St                                              Albion, IN 46701‐1303                                                                                     First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Minsi Trails Council 502                            1533 Springhouse Rd                                        Allentown, PA 18104‐2243                                                                                  First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Illowa Council 133                                  1809 Mississippi Blvd                                      Bettendorf, IA 52722‐4956                                                                                 First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Norwela Council 215                                 3200 Airline Dr                                            Bossier City, LA 71111‐2126                                                                               First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Connecticut Rivers Council, Bsa 066                 90 Church Ave                                              Bristol, CT 06010‐6750                                                                                    First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Shenandoah Area Council 598                         110 W North St                                             Charles Town, WV 25414‐1524                                                                               First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Chattahoochee Council 091                           2312 Ellen Ave                                             Columbus, GA 31903‐3425                                                                                   First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Hoosier Trails Council 145 145                      1751 27th St                                               Columbus, IN 47201‐3112                                                                                   First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              South Texas Council 577                             7501 S Staples St                                          Corpus Christi, TX 78413‐5352                                                                             First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Voyageurs Area 286                                  6822 Grand Ave                                             Duluth, MN 55807‐2167                                                                                     First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Water and Woods Council 782                         1653 Davison Rd                                            Flint, MI 48506‐3550                                                                                      First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Stonewall Jackson Council 763                       205 S Main St                                              Harrisonburg, VA 22801‐3604                                                                               First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Evangeline Area 212                                 101 Live Oak Blvd                                          Lafayette, LA 70503‐3849                                                                                  First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Piedmont Council 420                                3097 Asbury Church Rd                                      Lincolnton, NC 28092‐9485                                                                                 First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              San Francisco Bay Area Council 028                  4743 East Ave                                              Livermore, CA 94550‐9683                                                                                  First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Del Mar Va 081                                      300 S Basin Rd                                             New Castle, DE 19720                                                                                      First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Greater Tampa Bay Area 089                          4204 Thys Rd                                               New Port Richey, FL 34653‐5837                                                                            First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Anthony Wayne Area 157                              204 E Arch St                                              Portland, IN 47371‐1904                                                                                   First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Heart of Virginia Council 602                       324 N 29th St                                              Richmond, VA 23223‐7336                                                                                   First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              West Tennessee Area Council 559                     4173 Lightfoot Luckett Rd                                  Ripley, TN 38063‐4611                                                                                     First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Del Mar Va 081                                      1401 Camden Ave                                            Salisbury, MD 21801‐7116                                                                                  First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Del Mar Va 081                                      22 E Mount Vernon St                                       Smyrna, DE 19977‐1439                                                                                     First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Louisiana Purchase Council 213                      2100 New Natchitoches Rd                                   West Monroe, LA 71292‐2180                                                                                First Class Mail
Chartered Organization         Asbury Utd Methodist Church                                              Quivira Council, Bsa 198                            2801 W 15th St N                                           Wichita, KS 67203‐1833                                                                                    First Class Mail
Chartered Organization         Asbury Utd Methodist Church Men'S Cub                                    Ozark Trails Council 306                            1500 S Campbell Ave                                        Springfield, MO 65807‐1804                                                                                First Class Mail
Chartered Organization         Asbury Utd Methodist Men                                                 Abraham Lincoln Council 144                         1229 S Grand Ave E                                         Springfield, IL 62703‐2620                                                                                First Class Mail
Chartered Organization         Asbury Utd Methodist Men                                                 Indian Nations Council 488                          6767 S Mingo Rd                                            Tulsa, OK 74133‐3309                                                                                      First Class Mail
Chartered Organization         Asbury Woods                                                             French Creek Council 532                            4105 Asbury Rd                                             Erie, PA 16506‐3642                                                                                       First Class Mail
Voting Party                   Asbury‐Burlington United Methodist Church                                Attn: Pastor Or Treasurer                           2128 S Main St                                             Burlington, IA 52601                                                asbury52601@outlook.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury‐St. James United Methodist Church                                 Attn: Jim Myrick                                    47 Parkwood Ave                                            Charleston, SC 29403                                                jimmyd5@me.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Asbury‐St. James United Methodist Church                                 Jim Myrick                                          754 Rutledge Ave                                           Charleston, SC 29403                                                jimmyd5@me.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ascension Catholic Church                                                Greater St Louis Area Council 312                   230 Santa Maria Dr                                         Chesterfield, MO 63005‐1631                                                                               First Class Mail
Chartered Organization         Ascension Catholic Church                                                Central Florida Council 083                         2950 N Harbor City Blvd                                    Melbourne, FL 32935‐6227                                                                                  First Class Mail
Voting Party                   Ascension Chapel Episcopal Parish                                        Attn: Robert Thomas Howard                          1823 SW Spring St                                          Portland, OR 97201                                                  office@ascensionepiscopalparish.org   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ascension Church                                                         Cascade Pacific Council 492                         1823 SW Spring St                                          Portland, OR 97201‐2345                                                                                   First Class Mail
Chartered Organization         Ascension Day School                                                     Evangeline Area 212                                 1030 Johnston St                                           Lafayette, LA 70501‐7810                                                                                  First Class Mail
Chartered Organization         Ascension Health At Nolan                                                Great Lakes Fsc 272                                 1150 E Lantz St                                            Detroit, MI 48203‐1376                                                                                    First Class Mail
Chartered Organization         Ascension Holy Name Society                                              Pathway To Adventure 456                            808 S East Ave                                             Oak Park, IL 60304‐1328                                                                                   First Class Mail
Chartered Organization         Ascension Lutheran Ch Fellowship Brd                                     Three Harbors Council 636                           1236 S Layton Blvd                                         Milwaukee, WI 53215‐1653                                                                                  First Class Mail
Chartered Organization         Ascension Lutheran Church                                                Georgia‐Carolina 093                                2860 Wells Dr                                              Augusta, GA 30906‐5350                                                                                    First Class Mail
Chartered Organization         Ascension Lutheran Church                                                Longs Peak Council 062                              712 Storey Blvd                                            Cheyenne, WY 82009‐3558                                                                                   First Class Mail
Chartered Organization         Ascension Lutheran Church                                                Simon Kenton Council 441                            1479 Morse Rd                                              Columbus, OH 43229‐6423                                                                                   First Class Mail
Chartered Organization         Ascension Lutheran Church                                                Mid‐America Council 326                             406 5th Ave S                                              Coon Rapids, IA 50058‐1709                                                                                First Class Mail
Chartered Organization         Ascension Lutheran Church                                                Yucca Council 573                                   6520 Loma De Cristo Dr                                     El Paso, TX 79912‐7301                                                                                    First Class Mail
Chartered Organization         Ascension Lutheran Church                                                Bay‐Lakes Council 635                               2911 Libal St                                              Green Bay, WI 54301‐1561                                                                                  First Class Mail
Chartered Organization         Ascension Lutheran Church                                                Denver Area Council 061                             1701 W Caley Ave                                           Littleton, CO 80120‐3109                                                                                  First Class Mail
Chartered Organization         Ascension Lutheran Church                                                Greater St Louis Area Council 312                   5347 Donovan Ave                                           Saint Louis, MO 63109‐2636                                                                                First Class Mail
Chartered Organization         Ascension Lutheran Church                                                Pennsylvania Dutch Council 524                      P.O. Box 635                                               Willow Street, PA 17584‐0635                                                                              First Class Mail
Voting Party                   Ascension Lutheran Church                                                Attn: Raymond Miller                                842 N Tyler Rd                                             Wichita, KS 67212                                                   churchnews@ascensionicms.org          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Ascension Lutheran Church                                                Attn: Darrell Dockery                               7415 Buchanan St                                           Landover Hills, MD 20784                                                                                  First Class Mail
Voting Party                   Ascension Lutheran Church Of Columbus, Ohio                              Attn: Orin Sheumaker                                1479 Morse Rd                                              Columbus, OH 43229                                                  ascluth@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ascension Lutheran Day School                                            Ventura County Council 057                          1600 E Hillcrest Dr                                        Thousand Oaks, CA 91362‐2612                                                                              First Class Mail
Chartered Organization         Ascension Parish                                                         Northeastern Pennsylvania Council 501               612 Hudson St                                              Forest City, PA 18421‐1428                                                                                First Class Mail
Voting Party                   Ash Grove Umc                                                            c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ash Township Firefighters Assoc                                          Southern Shores Fsc 783                             2311 Ready Rd                                              Carleton, MI 48117‐9778                                                                                   First Class Mail
Chartered Organization         Ashaway Sportsmans Club                                                  Narragansett 546                                    1 Gun Club Path                                            Hopkinton, RI 02833                                                                                       First Class Mail
Chartered Organization         Ashaway Volunteer Fire Assoc                                             Narragansett 546                                    213 Main St                                                Ashaway, RI 02804‐2011                                                                                    First Class Mail
Chartered Organization         Ashburn Volunteer Fire & Rescue Dept                                     National Capital Area Council 082                   20688 Ashburn Rd                                           Ashburn, VA 20147‐2364                                                                                    First Class Mail
Chartered Organization         Ashburnham‐American Legion Post 142                                      Heart of New England Council 230                    132 Williams Rd                                            Ashburnham, MA 01430‐1663                                                                                 First Class Mail
Chartered Organization         Ashburnham‐Fire Rescue Dept                                              Heart of New England Council 230                    99 Central St                                              Ashburnham, MA 01430‐1265                                                                                 First Class Mail
Chartered Organization         Ashbury Utd Methodist Church                                             San Francisco Bay Area Council 028                  4743 East Ave                                              Livermore, CA 94550‐9683                                                                                  First Class Mail
Chartered Organization         Ashby Lions Club                                                         Northern Lights Council 429                         P.O. Box 81                                                Ashby, MN 56309‐0081                                                                                      First Class Mail
Chartered Organization         Ashby‐American Legion Post 361                                           Heart of New England Council 230                    536 New Ipswich Rd                                         Ashby, MA 01431‐1825                                                                                      First Class Mail
Chartered Organization         Ashby‐Fire Dept                                                          Heart of New England Council 230                    1093 Main St                                               Ashby, MA 01431‐2312                                                                                      First Class Mail
Firm                           Ashcraft & Gerel, LLP                                                    Adam K. Rosen                                       1825 K Street NW, Suite 700                                Washington, DC 20006                                                gkamtchoum@ashcraftlaw.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ashdown Jr. High School                                                  Caddo Area Council 584                              600 S Ellen Dr                                             Ashdown, AR 71822‐4326                                                                                    First Class Mail
Chartered Organization         Ashdown Police Dept                                                      Caddo Area Council 584                              P.O. Box 703                                               Ashdown, AR 71822‐0703                                                                                    First Class Mail
Chartered Organization         Asheboro Police Dept                                                     Old N State Council 070                             205 E Academy St                                           Asheboro, NC 27203‐5708                                                                                   First Class Mail
Chartered Organization         Asheville Fire & Rescue                                                  Daniel Boone Council 414                            P.O. Box 7148                                              Asheville, NC 28802‐7148                                                                                  First Class Mail
Chartered Organization         Ashfield Lions Club                                                      Western Massachusetts Council 234                   District 33Y                                               Ashfield, MA 01330                                                                                        First Class Mail
Voting Party                   Ashford United Methodist Church                                          Attn: Sydney Free, Treasurer                        2201 S Dairy Ashford Rd                                    Houston, TX 77077                                                   sydfree1@aol.com                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ashford Utd Methodist                                                    Sam Houston Area Council 576                        2201 S Dairy Ashford Rd                                    Houston, TX 77077‐5705                                                                                    First Class Mail
Chartered Organization         Ashland 1St Utd Methodist Church                                         Greater Alabama Council 001                         P.O. Box 305                                               Ashland, AL 36251‐0305                                                                                    First Class Mail
Voting Party                   Ashland Christ Umc                                                       2335 Pollard Rd                                     Ashland, KY 41101                                                                                                                                                    First Class Mail
Chartered Organization         Ashland Church Of Christ                                                 Abraham Lincoln Council 144                         320 W Washington St                                        Ashland, IL 62612‐7666                                                                                    First Class Mail
Chartered Organization         Ashland City Police Dept                                                 Middle Tennessee Council 560                        233 Tennessee Waltz Pkwy                                   Ashland City, TN 37015                                                                                    First Class Mail
Voting Party                   Ashland City United Methodist Church                                     Attn: Lynn Newcomb                                  410 Timber Rd                                              Ashland City, TN 37015                                              lynn.newcomb@lnewcom.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Ashland City United Methodist Church                                     Attn: Darwin Newton                                 2226 Oak St                                                Ashland City, TN 37015                                              churchoffice@ashlandcityumc.org       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ashland City Utd Methodist Church                                        Middle Tennessee Council 560                        2226 Oak St                                                Ashland City, TN 37015‐1802                                                                               First Class Mail
Chartered Organization         Ashland City Utd Methodist Church                                        Middle Tennessee Council 560                        2226 Oak St                                                Ashland City, TN 37015‐1802                                                                               First Class Mail
Voting Party                   Ashland Community Umc                                                    P.O. Box 107                                        Ashland, NY 12407                                                                                                              bobashland@aol.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ashland Elementary School                                                National Capital Area Council 082                   15300 Bowmans Folly Dr                                     Manassas, VA 20112‐5450                                                                                   First Class Mail
Chartered Organization         Ashland Elementary School Pto                                            Greater St Louis Area Council 312                   3921 N Newstead Ave                                        Saint Louis, MO 63115‐2748                                                                                First Class Mail
Chartered Organization         Ashland Evangelical Presbyterian Church                                  Garden State Council 690                            33 E Evesham Rd                                            Voorhees, NJ 08043‐1168                                                                                   First Class Mail
Chartered Organization         Ashland Fire Dept                                                        Daniel Webster Council, Bsa 330                     9 Main St                                                  Ashland, NH 03217                                                                                         First Class Mail
Chartered Organization         Ashland First Christian Church                                           Cornhusker Council 324                              1702 Boyd St                                               Ashland, NE 68003‐1749                                                                                    First Class Mail
Chartered Organization         Ashland Lake Gun Club                                                    Great Trail 433                                     1193 Brandywine Dr                                         Medina, OH 44256‐4104                                                                                     First Class Mail
Chartered Organization         Ashland Lions Club                                                       Crater Lake Council 491                             P.O. Box 3472                                              Ashland, OR 97520‐0316                                                                                    First Class Mail
Chartered Organization         Ashland Ridge Pto                                                        Mid Iowa Council 177                                2600 NW Ash Dr                                             Ankeny, IA 50023‐1567                                                                                     First Class Mail
Chartered Organization         Ashland Ski Team, Inc                                                    Crater Lake Council 491                             590 Glenview Dr                                            Ashland, OR 97520‐2721                                                                                    First Class Mail
Voting Party                   Ashland United Methodist Church                                          Attn: Roger Klerupeter                              13 Bridgewater Hill Rd                                     Plymouth, NH 03264                                                  rgkpjk@roadrunner.com                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Ashland United Methodist Church                                          Attn: Rev Doug Walter                               2711 Ashland Ave                                           St Joseph, MO 64506                                                 revwalt@aumcfamily.org                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Ashland United Methodist Church                                          Attn: Kim Crutchfield                               2600 Ashland Rd                                            Columbia, SC 29210                                                  kcrutch1002@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ashlar Lodge 29                                                          Montana Council 315                                 1101 Broadwater Ave                                        Billings, MT 59102‐5412                                                                                   First Class Mail
Chartered Organization         Ashley Academy Pta                                                       Old Hickory Council 427                             1647 NE Ashley School Cir                                  Winston Salem, NC 27105‐5444                                                                              First Class Mail
Chartered Organization         Ashley Chapel Educational Center                                         Central N Carolina Council 416                      377 Mizpah Rd                                              Rockingham, NC 28379‐9081                                                                                 First Class Mail
Chartered Organization         Ashtabula Rod And Gun Club                                               Lake Erie Council 440                               6739 Ninevah Rd                                            Ashtabula, OH 44004‐8653                                                                                  First Class Mail
Chartered Organization         Ashtabula Ymca                                                           Lake Erie Council 440                               263 W Prospect Rd                                          Ashtabula, OH 44004‐5841                                                                                  First Class Mail
Chartered Organization         Ashton Business Boosters Assoc                                           Blackhawk Area 660                                  P.O. Box 362                                               Ashton, IL 61006‐0362                                                                                     First Class Mail
Voting Party                   Ashton United Methodist Church                                           Attn: Kris Money                                    17314 New Hampshire Ave                                    Ashton, MD 20832                                                    revemilyb@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ashville Kiwanis                                                         Simon Kenton Council 441                            585 Clark Ave                                              Ashville, OH 43103‐2515                                                                                   First Class Mail
Chartered Organization         Ashville Kiwanis Club                                                    Simon Kenton Council 441                            P.O. Box 55                                                Ashville, OH 43103‐0055                                                                                   First Class Mail
Chartered Organization         Ashworth Road Baptist Church                                             Mid Iowa Council 177                                5300 Ashworth Rd                                           West Des Moines, IA 50266‐6334                                                                            First Class Mail
Chartered Organization         Asian Pacific American Cultural Art Fndn                                 National Capital Area Council 082                   7202 Poplar St, Ste C                                      Annandale, VA 22003‐3025                                                                                  First Class Mail
Firm                           ASK LLP                                                                  Edward E. Neiger                                    60 East 42nd Street, 46th Floor                            New York, NY 10165                                                  justice@askllp.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ask‐Parent                                                               Teacher Organization of King Elementary             1601 Dancing Dunes Dr                                      Green Bay, WI 54313‐4310                                                                                  First Class Mail
Chartered Organization         Asoc Lideres Escutistas, Inc                                             Puerto Rico Council 661                             P.O. Box 3582                                              Guaynabo, PR 00970‐3582                                                                                   First Class Mail
Chartered Organization         Asociacion Catolica De Scouters                                          Puerto Rico Council 661                             P.O. Box 1120                                              Mayaguez, PR 00681‐1120                                                                                   First Class Mail
Chartered Organization         Asociacion De Casadoresdeportivos Delsur                                 Puerto Rico Council 661                             31 Parcelas Niagara                                        Coamo, PR 00769                                                                                           First Class Mail
Chartered Organization         Asociacion De Cazadoresdeportivos Delsur                                 Puerto Rico Council 661                             Parcelas Niagara                                           No 31                             Coamo, PR 00769                                                         First Class Mail
Chartered Organization         Asociacion Recreativa Angel Ramos                                        Puerto Rico Council 661                             Codorniz Esq                                               Esq Sinsonte                      San Juan, PR 00924                                                      First Class Mail
Voting Party                   Asotin Umc                                                               c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Asp/Olinda Elementary School                                             South Florida Council 084                           5536 NW 21st Ave                                           Miami, FL 33142‐3030                                                                                      First Class Mail
Chartered Organization         Aspen Elks Lodge 224 (Bpoe)                                              Denver Area Council 061                             510 E Hyman Ave, Ste 300                                   Aspen, CO 81611‐1955                                                                                      First Class Mail
Chartered Organization         Aspen Higher Learning Academy                                            Denver Area Council 061                             P.O. Box 4628                                              Aspen, CO 81612‐4628                                                                                      First Class Mail
Chartered Organization         Aspen Knolls Estates                                                     Greater New York Councils, Bsa 640                  151 Ilyssa Way                                             Staten Island, NY 10312‐1371                                                                              First Class Mail
Chartered Organization         Aspen Ridge Church                                                       Denver Area Council 061                             27154 N Turkey Creek Rd                                    Evergreen, CO 80439‐5207                                                                                  First Class Mail
Chartered Organization         Aspen View Academy Foundation                                            Denver Area Council 061                             2131 Low Meadow Blvd                                       Castle Rock, CO 80109‐8032                                                                                First Class Mail
Voting Party                   Aspen Waste Systems, Inc                                                 Aws Service Center                                  P.O. Box 3050                                              Des Moines, IA 50316‐0050                                                                                 First Class Mail
Chartered Organization         Aspira, Inc Of Pennsylvania                                              Cradle of Liberty Council 525                       526 W Girard Ave                                           Philadelphia, PA 19123‐1429                                                                               First Class Mail
Chartered Organization         Aspire Academy Parent Teacher Org                                        Greater St Louis Area Council 312                   5421 Thekla Ave                                            Saint Louis, MO 63120‐2513                                                                                First Class Mail
Chartered Organization         Aspire Capitol Heights Academy                                           Golden Empire Council 047                           2520 33rd St                                               Sacramento, CA 95817‐1943                                                                                 First Class Mail
Chartered Organization         Assoc Of Katy Christian Homeschoolers                                    Sam Houston Area Council 576                        2510 Landover Ln                                           Katy, TX 77493‐3462                                                                                       First Class Mail
Chartered Organization         Assoc Old Crows Patriots Roost Ch                                        The Spirit of Adventure 227                         7 Athens Way                                               Methuen, MA 01844‐4154                                                                                    First Class Mail
Chartered Organization         Assoc Vols Of Cv Public Shooting Range                                   Trapper Trails 589                                  2851 W 200 N                                               Logan, UT 84321‐6296                                                                                      First Class Mail
Chartered Organization         Associacao The Haven Portugal                                            Transatlantic Council, Bsa 802                      Empreendimento Casas De Vale 11                            Vale Covo, 02540‐0702             Portugal                                                                First Class Mail
Firm                           Associated Attorneys of New England                                      Keith A. Mathews, Esq.                              1000 Elm Street, Suite 803                                 Manchester, NH 03101                                                keith@aaone.law                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Associates Of Graduates Usma                                             Hudson Valley Council 374                           P.O. Box 184                                               Fort Montgomery, NY 10922‐0184                                                                            First Class Mail
Chartered Organization         Association Of Deaf Scouts                                               Great Salt Lake Council 590                         3898 S 4220 W                                              West Valley City, UT 84120‐4045                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                     Page 21 of 442
                                                                                    Case 20-10343-LSS                                             Doc 8171                                               Filed 01/06/22                                                Page 37 of 457
                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                       Service List
                                                                                                                                                                                Served as set forth below

        Description                                                       Name                                                                                                      Address                                                                                                                 Email              Method of Service
Chartered Organization         Association Of Graduates                                          Pikes Peak Council 060                  3116 Academy Dr                                                 Usaf Academy, CO 80840‐4402                                                                                First Class Mail
Chartered Organization         Association Of Troop 684                                          Greater Los Angeles Area 033            2100 S Stimson Ave                                              Hacienda Heights, CA 91745‐4625                                                                            First Class Mail
Chartered Organization         Association Of Us Army‐Japan Chapter                              Far E Council 803                       Psc 704 Box 33                                                  Apo, AP 96338                                                                                              First Class Mail
Chartered Organization         Assumption Bvm Catholic Church                                    Washington Crossing Council 777         Meadowbrook Rd                                                  Feasterville, PA 19053                                                                                     First Class Mail
Chartered Organization         Assumption Bvm Parish                                             Chester County Council 539              300 State Rd                                                    West Grove, PA 19390‐8952                                                                                  First Class Mail
Voting Party                   Assumption Catholic                                               Attn: Andre L Kydala                    54 Old Hwy 22                                                   Clinton, NJ 08809                                                                                          First Class Mail
Chartered Organization         Assumption Catholic Church                                        Northern Lights Council 429             P.O. Box 339                                                    Barnesville, MN 56514‐0339                                                                                 First Class Mail
Chartered Organization         Assumption Catholic Church                                        President Gerald R Ford 781             6393 Belmont Ave Ne                                             Belmont, MI 49306‐9701                                                                                     First Class Mail
Chartered Organization         Assumption Catholic Church                                        Sam Houston Area Council 576            901 Roselane St                                                 Houston, TX 77037‐4611                                                                                     First Class Mail
Chartered Organization         Assumption Catholic Church                                        North Florida Council 087               2403 Atlantic Blvd                                              Jacksonville, FL 32207‐3563                                                                                First Class Mail
Chartered Organization         Assumption Catholic Church                                        Conquistador Council Bsa 413            2808 N Kentucky Ave                                             Roswell, NM 88201‐5814                                                                                     First Class Mail
Chartered Organization         Assumption Catholic Church                                        Inland Northwest Council 611            3624 W Indian Trail Rd                                          Spokane, WA 99208‐4734                                                                                     First Class Mail
Chartered Organization         Assumption Church Mens Group                                      Dan Beard Council, Bsa 438              7711 Joseph St                                                  Cincinnati, OH 45231‐3406                                                                                  First Class Mail
Chartered Organization         Assumption Greek Orthodox Church                                  Rainbow Council 702                     15625 S Bell Rd                                                 Homer Glen, IL 60491‐9088                                                                                  First Class Mail
Voting Party                   Assumption Of The Blessed Virgin                                  Attn: Andre L Kydala                    54 Old Hwy 22                                                   Clinton, NJ 08809                                                                                          First Class Mail
Chartered Organization         Assumption Of The Blessed Virgin Mary                             Catholic Church                         6369 Belmont Ave Ne                                             Belmont, MI 49306‐9701                                                                                     First Class Mail
Chartered Organization         Assumption Of The Blessed Virgin Mary                             Greater Los Angeles Area 033            2640 E Orange Grove Blvd                                        Pasadena, CA 91107‐2632                                                                                    First Class Mail
Chartered Organization         Assumption Of The Blessed Virgin Mary                             Blue Mountain Council 604               2098 E Alder St                                                 Walla Walla, WA 99362‐2606                                                                                 First Class Mail
Voting Party                   Assumption Of The Blessed Virgin Mary                             c/o Archdiocese of Los Angeles          Attn: Margaret Graf, General Counsel                            3424 Wilshire Blvd                   Los Angeles, CA 90010              legla@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Assumption Of The Blessed Virgin Mary                             Attn: Margaret Graf, General Counsel    3424 Wilshire Blvd                                              Los Angeles, CA 90010                                                   legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Assumption Of The Blessed Virgin Mary Belmont                     c/o Warner Norcross & Judd LLP          Attn: Elisabeth M Von Eitzen                                    150 Ottawa Ave NW, Ste 1500          Grand Rapids, MI 49503             evoneitzen@wnj.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Assumption Of The Blessed Virgin Mary R.C. Church                 c/o Cullen and Dykman LLP               Attn: Matthew G Roseman                                         100 Quentin Roosevelt Blvd           Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Assumption Parish                                                 Mount Baker Council, Bsa 606            2116 Cornwall Ave                                               Bellingham, WA 98225‐3650                                                                                  First Class Mail
Chartered Organization         Assumption Parish                                                 Greater St Louis Area Council 312       4725 Mattis Rd                                                  Saint Louis, MO 63128‐2821                                                                                 First Class Mail
Chartered Organization         Assumption Parish                                                 San Francisco Bay Area Council 028      1100 Fulton Ave                                                 San Leandro, CA 94577‐6210                                                                                 First Class Mail
Chartered Organization         Assumption Parish                                                 Chief Seattle Council 609               6201 33rd Ave Ne                                                Seattle, WA 98115‐7306                                                                                     First Class Mail
Chartered Organization         Assumption Parish                                                 Inland Northwest Council 611            3624 W Indian Trail Rd                                          Spokane, WA 99208‐4734                                                                                     First Class Mail
Chartered Organization         Assumption Parish ‐ O'Fallon                                      Greater St Louis Area Council 312       403 N Main St                                                   O Fallon, MO 63366‐2205                                                                                    First Class Mail
Voting Party                   Assumption Roman Catholic Church Society Of Buffalo, Ny           c/o Woods Oviatt Gilman LLP             Attn: Timothy P Lyster, Esq                                     1900 Bausch & Lomb Pl                Rochester, NY 14604                tlyster@woodsoviatt.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Assumption School                                                 Voyageurs Area 286                      2310 7th Ave E                                                  Hibbing, MN 55746‐1943                                                                                     First Class Mail
Chartered Organization         Assumption, Blessed Virgin Mary Ch                                Rainbow Council 702                     195 S Kankakee St                                               Coal City, IL 60416‐1618                                                                                   First Class Mail
Chartered Organization         Assumption, Blessed Virgin Mary Rc Ch                             Suffolk County Council Inc 404          20 Chestnut St                                                  Centereach, NY 11720‐1702                                                                                  First Class Mail
Voting Party                   Assurance ‐ Formerly St James Umc                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Assyrian American Assoc Of Socal                                  W.L.A.C.C. 051                          5901 Cahuenga Blvd                                              North Hollywood, CA 91601‐1506                                                                             First Class Mail
Chartered Organization         At Mark'S Episcopal Church                                        Last Frontier Council 480               P.O. Box 1304                                                   Seminole, OK 74818‐1304                                                                                    First Class Mail
Voting Party                   At&T                                                              P.O. Box 5001                           Carol Stream, IL 60197‐5001                                                                                                                                                First Class Mail
Voting Party                   At&T (105251)                                                     208 S Akard St                          Dallas, TX 75202‐4206                                                                                                                                                      First Class Mail
Voting Party                   At&T (105262)                                                     P.O. Box 105262                         Atlanta, GA 30348‐5262                                                                                                                                                     First Class Mail
Voting Party                   At&T (105414)                                                     P.O. Box 105414                         Atlanta, GA 30348‐5414                                                                                                                                                     First Class Mail
Voting Party                   At&T (5019)                                                       P.O. Box 5019                           Carol Stream, IL 60197‐5019                                                                                                                                                First Class Mail
Voting Party                   At&T Mobility                                                     P.O. Box 6463                           Carol Stream, IL 60197‐6463                                                                                                                                                First Class Mail
Chartered Organization         At&T Pioneers Valley Council                                      Greater Yosemite Council 059            905 Guava Dr                                                    Modesto, CA 95356‐1129                                                                                     First Class Mail
Voting Party                   At&T Teleconference Services                                      P.O. Box 5002                           Carol Stream, IL 60197‐5002                                                                                                                                                First Class Mail
Chartered Organization         Atascaderd Elks Lodge 273 Bpoe                                    Los Padres Council 053                  1516 El Camino Real                                             Atascadero, CA 93422‐1530                                                                                  First Class Mail
Chartered Organization         Atascadero City Police Dept                                       Los Padres Council 053                  P.O. Box 911                                                    Atascadero, CA 93423‐0911                                                                                  First Class Mail
Voting Party                   Atascocita United Methodist Church                                Attn: H. Michael Tyson, II              19325 Pinehurst Trail Dr                                        Humble, TX 77346                                                        info@aumc.org                      Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Atascocita Utd Methodist Church                                   Sam Houston Area Council 576            19325 Pinehurst Trail Dr                                        Atascocita, TX 77346‐2244                                                                                  First Class Mail
Chartered Organization         Atascocita Volunteer Fire Dept, Inc                               Sam Houston Area Council 576            18425 Timber Forest Dr                                          Humble, TX 77346‐2535                                                                                      First Class Mail
Chartered Organization         Atascosita Am Lutheran Church Elca                                Sam Houston Area Council 576            7927 Fm 1960 Rd E                                               Humble, TX 77346‐2203                                                                                      First Class Mail
Chartered Organization         Atascotia Presbyterian                                            Sam Houston Area Council 576            19426 Atasca Oaks Dr                                            Atascocita, TX 77346‐2001                                                                                  First Class Mail
Chartered Organization         Atchison Child Care Assoc                                         Pony Express Council 311                1326 Kansas Ave                                                 Atchison, KS 66002‐2250                                                                                    First Class Mail
Chartered Organization         Atchison Elks Lodge 647                                           Pony Express Council 311                609 Kansas Ave                                                  Atchison, KS 66002‐2441                                                                                    First Class Mail
Chartered Organization         Atchison Housing Authority                                        Pony Express Council 311                P.O. Box 601                                                    Atchison, KS 66002‐0601                                                                                    First Class Mail
Voting Party                   Atchison United Methodist Church                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Athena Pto                                                        Greater St Louis Area Council 312       3750 Athena School Rd                                           De Soto, MO 63020                                                                                          First Class Mail
Chartered Organization         Athena Pto                                                        Greater St Louis Area Council 312       3775 Athena School Rd                                           De Soto, MO 63020‐4588                                                                                     First Class Mail
Chartered Organization         Athenian Academy                                                  Southwest Florida Council 088           2289 N Hercules Ave                                             Clearwater, FL 33763‐2326                                                                                  First Class Mail
Chartered Organization         Athens Bible School                                               Greater Alabama Council 001             507 Hoffman St                                                  Athens, AL 35611‐2755                                                                                      First Class Mail
Chartered Organization         Athens Chilesburg Elementary Pta                                  Blue Grass Council 204                  930 Jouett Creek Dr                                             Lexington, KY 40509‐2430                                                                                   First Class Mail
Chartered Organization         Athens Christian Church                                           Abraham Lincoln Council 144             1141 State Hwy 29                                               Athens, IL 62613                                                                                           First Class Mail
Chartered Organization         Athens Community Career Academy                                   Northeast Georgia Council 101           440 Dearing Ext Bldg 1                                          Athens, GA 30606‐3579                                                                                      First Class Mail
Chartered Organization         Athens Elks Lodge 1927                                            Great Smoky Mountain Council 557        P.O. Box 51                                                     Athens, TN 37371‐0051                                                                                      First Class Mail
Voting Party                   Athens First United Methodists Church                             Attn: Denise Davis, Treasurer           2 S. College St.                                                Athens, OH 45701                                                        denise@firstumcathens.org          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Athens Rifle Club                                                 Northeast Georgia Council 101           P.O. Box 5542                                                   Athens, GA 30604‐5542                                                                                      First Class Mail
Voting Party                   Athens Umc (00075221)                                             c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                          680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Athens United Methodist Church                                    Attn: Randy A Beavers                   P.O. Box 180                                                    Athens, IL 62613                                                        acunitedmc@sbcglobal.net           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Athens Wesleyan Church                                            Five Rivers Council, Inc 375            3903 Wilawana Rd                                                Sayre, PA 18840‐9567                                                                                       First Class Mail
Chartered Organization         Athol‐American Legion Post 102                                    Heart of New England Council 230        325 Pequoig Ave                                                 Athol, MA 01331‐1504                                                                                       First Class Mail
Chartered Organization         Athol‐Congregational Church                                       Heart of New England Council 230        1225 Chestnut St                                                Athol, MA 01331‐2932                                                                                       First Class Mail
Chartered Organization         Athol‐Fire Dept                                                   Heart of New England Council 230        2251 Main St                                                    Athol, MA 01331‐3526                                                                                       First Class Mail
Chartered Organization         Athol‐Our Lady Immaculate Roman Catholic                          Heart of New England Council 230        192 School St                                                   Athol, MA 01331‐2326                                                                                       First Class Mail
Chartered Organization         Atkins Elementary                                                 Norwela Council 215                     7611 Saint Vincent Ave                                          Shreveport, LA 71106‐4231                                                                                  First Class Mail
Chartered Organization         Atkins Memorial Presbyterian Church                               Westark Area Council 016                206 N Church St                                                 Atkins, AR 72823‐4145                                                                                      First Class Mail
Chartered Organization         Atkinson Elementary Pta                                           Flint River Council 095                 307 Atkinson Dr                                                 Griffin, GA 30223‐1927                                                                                     First Class Mail
Chartered Organization         Atkinson Fire Dept                                                Illowa Council 133                      101 E Henry St                                                  Atkinson, IL 61235‐7713                                                                                    First Class Mail
Chartered Organization         Atkinson Lions Club                                               Daniel Webster Council, Bsa 330         P.O. Box 125                                                    Atkinson, NH 03811‐0125                                                                                    First Class Mail
Voting Party                   Atkinson Mills (177056)                                           c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                          680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Atkinson Ruritan Club                                             Cape Fear Council 425                   P.O. Box 153                                                    Atkinson, NC 28421‐0153                                                                                    First Class Mail
Voting Party                   Atkinson United Methodist Church                                  Attn: Jim Mello                         970 Silver Lake Rd                                              Buckeport, ME 04416                                                     Mellojlm@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Atkinson United Methodist Church                                  Attn: Martha Andres                     130 Maple Rd                                                    Atkinson, ME 04426                                                      mardews@midmake.com                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Atlanta Airport Rotary Club                                       Atlanta Area Council 092                P.O. Box 90048                                                  East Point, GA 30364‐0048                                                                                  First Class Mail
Chartered Organization         Atlanta Area Rotary Club                                          Caddo Area Council 584                  P.O. Box 1313                                                   Atlanta, TX 75551‐1313                                                                                     First Class Mail
Chartered Organization         Atlanta Childrens Foundation                                      Northeast Georgia Council 101           127 Gulley Trl                                                  Toccoa, GA 30577‐7162                                                                                      First Class Mail
Voting Party                   Atlanta First United Methodist Church                             Attn: Jeff Dotson                       701 Lindsey Ln                                                  Atlanta, TX 75551                                                       jdaledotson@gmail.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Atlanta Heights Community Assoc                                   Atlanta Area Council 092                P.O. Box 92614                                                  Atlanta, GA 30314‐0614                                                                                     First Class Mail
Chartered Organization         Atlanta Methodist Men Of Atlanta Umc                              W D Boyce 138                           P.O. Box 574                                                    Atlanta, IL 61723‐0574                                                                                     First Class Mail
Chartered Organization         Atlanta Mission                                                   Atlanta Area Council 092                921 Howell Mill Rd Nw                                           Atlanta, GA 30318‐5547                                                                                     First Class Mail
Chartered Organization         Atlanta Police Dept                                               Atlanta Area Council 092                226 Peachtree St Sw                                             Atlanta, GA 30303‐3749                                                                                     First Class Mail
Voting Party                   Atlanta United Methodist Church United Methodist Men              Attn: Aletha Weatherall                 201 S 2nd St                                                    Atlanta, IL 61723                                                       thehorns66@frontier.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Atlanta United Methodist Church United Methodist Men              Attn: William Rayhorn                   305 SW 4th St                                                   Atlanta, IL 61723                                                       thehorns66@frontier.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Atlanta West Educators                                            Atlanta Area Council 092                3801 Halisport Ln Nw                                            Kennesaw, GA 30152‐6913                                                                                    First Class Mail
Chartered Organization         Atlantic Christian School                                         Jersey Shore Council 341                389 Zion Rd                                                     Egg Harbor Township, NJ 08234‐6934                                                                         First Class Mail
Chartered Organization         Atlantic City Boys And Girls Club                                 Jersey Shore Council 341                317 N Pennsylvania Ave                                          Atlantic City, NJ 08401‐3222                                                                               First Class Mail
Chartered Organization         Atlantic City Fire Dept                                           Jersey Shore Council 341                2715 Atlantic Ave                                               Atlantic City, NJ 08401‐6490                                                                               First Class Mail
Chartered Organization         Atlantic City Police Dept                                         Jersey Shore Council 341                250 N New York Ave                                              Atlantic City, NJ 08401‐4434                                                                               First Class Mail
Chartered Organization         Atlantic County Sheriffs Office                                   Jersey Shore Council 341                4997 Unami Blvd                                                 Mays Landing, NJ 08330‐2017                                                                                First Class Mail
Chartered Organization         Atlantic County Utilities Authority                               Jersey Shore Council 341                6700 Delilah Rd Bldg 3                                          Egg Harbor Township, NJ 08234‐5623                                                                         First Class Mail
Chartered Organization         Atlantic Highlands Fire Dept                                      Monmouth Council, Bsa 347               10 E Highland Ave                                               Atlantic Highlands, NJ 07716‐1229                                                                          First Class Mail
Voting Party                   Atlantic Highlands United Methodist Church ‐ Atlantic Highlands   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Atlantic Highlands Utd Methodist Ch                               Monmouth Council, Bsa 347               96 3rd Ave                                                      Atlantic Highlands, NJ 07716‐1233                                                                          First Class Mail
Chartered Organization         Atlantic Imaging                                                  514 Daniecs St                          Raleigh, NC 27605                                                                                                                                                          First Class Mail
Chartered Organization         Atlantic Kiwanis Club                                             Mid‐America Council 326                 2409 Chestnut St, Apt 19                                        Atlantic, IA 50022‐2592                                                                                    First Class Mail
Voting Party                   Atlantic United Methodist Church                                  Robin Guy Lewers                        1100 Cedar St                                                   Pocomoke City, MD 21851                                                 robingl293@gmail.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Atlantic United Methodist Church                                  Attn: Treasurer, Atlantic Umc           P.O. Box 159                                                    Atlantic, VA 23303                                                      robinGL293@gmail.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Atlanticare Regional Medical Center                               Jersey Shore Council 341                823 Doughty Rd                                                  Galloway, NJ 08205‐4241                                                                                    First Class Mail
Chartered Organization         Atlas Prep P T A                                                  Three Harbors Council 636               3945 S Kansas Ave                                               Milwaukee, WI 53207‐4623                                                                                   First Class Mail
Chartered Organization         Atlas Space Operations                                            President Gerald R Ford 781             10850 E Traverse Hwy, Ste 3355                                  Traverse City, MI 49684‐1363                                                                               First Class Mail
Voting Party                   Atoka United Methodist Church                                     Attn: Rev David C Stewart               7639 Ashstone Cove                                              Germantown, TN 38138                                                    atsgrad08@gmail.com                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Atoka Utd Methodist Church                                        West Tennessee Area Council 559         P.O. Box 382                                                    Atoka, TN 38004‐0382                                                                                       First Class Mail
Voting Party                   Atomik Climbing Holds                                             55 E 600 S                              Provo, UT 84606‐4802                                                                                                                                                       First Class Mail
Chartered Organization         Atonement Lutheran Church                                         Glaciers Edge Council 620               901 Harrison Ave                                                Beloit, WI 53511‐5410                                                                                      First Class Mail
Chartered Organization         Atonement Lutheran Church                                         Northern Lights Council 429             4601 University Dr S                                            Fargo, ND 58104‐6435                                                                                       First Class Mail
Chartered Organization         Atonement Lutheran Church                                         Denver Area Council 061                 6281 W Yale Ave                                                 Lakewood, CO 80227‐4042                                                                                    First Class Mail
Chartered Organization         Atonement Lutheran Church                                         Southeast Louisiana Council 214         6500 Riverside Dr                                               Metairie, LA 70003‐3209                                                                                    First Class Mail
Chartered Organization         Atonement Lutheran Church                                         Montana Council 315                     2205 34th St                                                    Missoula, MT 59801‐8835                                                                                    First Class Mail
Chartered Organization         Atonement Lutheran Church                                         Potawatomi Area Council 651             S70W16244 Martin Dr                                             Muskego, WI 53150                                                                                          First Class Mail
Chartered Organization         Atonement Lutheran Church                                         Heart of America Council 307            9948 Metcalf Ave                                                Overland Park, KS 66212‐1653                                                                               First Class Mail
Chartered Organization         Atonement Lutheran Church                                         San Diego Imperial Council 049          10245 Loma Rancho Dr                                            Spring Valley, CA 91978‐1024                                                                               First Class Mail
Chartered Organization         Atonement Lutheran Church                                         Hudson Valley Council 374               71 Central Hwy                                                  Stony Point, NY 10980                                                                                      First Class Mail
Chartered Organization         Atonement Lutheran Church                                         Greater Tampa Bay Area 089              29617 State Rd 54                                               Wesley Chapel, FL 33543‐4257                                                                               First Class Mail
Chartered Organization         Atonement Lutheran Church San Diego                               San Diego Imperial Council 049          7250 Eckstrom Ave                                               San Diego, CA 92111‐3427                                                                                   First Class Mail
Voting Party                   Atonement Methodist Church                                        Attn: Amy L. Peters                     3519 Philadelphia Pike                                          Claymont, DE 19703                                                      umcatonement@comcast.net           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Atora First United Methodist Church                               Attn: Daniel J Ramoy                    P.O. Box 563                                                    145 W 1st St                         Atora, OK 74525                    danieljramoy@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Atora First United Methodist Church                               Attn: Mike Elliott                      P.O. Box 563                                                    Atora, OK 74525                                                         atora1stumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Atrium Ymca Creekview                                             Dan Beard Council, Bsa 438              5750 Innovation Dr                                              Middletown, OH 45005‐5172                                                                                  First Class Mail
Chartered Organization         Atrium Ymca Mayfield                                              Dan Beard Council, Bsa 438              5750 Innovation Dr                                              Middletown, OH 45005‐5172                                                                                  First Class Mail
Voting Party                   Attica United Methodist Church                                    Attn: Treasurer‐Kendra Almenderez       27 Elk Lake Rd                                                  Attica, MI 48412                                                        rrouse2010@hotmail.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Attleboro Police Dept                                             Narragansett 546                        12 Union St                                                     Attleboro, MA 02703‐2911                                                                                   First Class Mail
Voting Party                   Attn: Albert Elliott                                              2113 E Main St                          Sonora, TX 76950                                                                                                                                                           First Class Mail
Voting Party                   Attn: Andre L Kydala                                              54 Old Hwy 22                           Clinton, NJ 08809                                                                                                                                                          First Class Mail
Voting Party                   Attn: Andrew Des Rault                                            25 Aberfoyle Rd                         New Rochelle, NY 10804                                                                                                                  andrew.desrault@gmail.com          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Charles Albert Waters                                       P.O. Box 216                            Schnecksville, PA 18078                                                                                                                 cawesquire@steckelandstopp.com     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Cheryl D Wiltrout                                           22 Sunday Rd                            Kutztown, PA 19530                                                                                                                      cdwiltrout1951@verizon.net         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Clifford Leroy Jeffries, Jr                                 3 Russett Rd                            Middletown, RI 02842                                                                                                                    susicliff@verizon.net              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Dennis Langdon                                              9848 S Winchester                       Chicago, IL 60643                                                                                                                                                          First Class Mail
Voting Party                   Attn: Ebb B Mobley                                                P.O. Box 2309                           Longview, TX 75606                                                                                                                      ebbmob@aol.com                     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Edward Glenn Gooch                                          2451 Cove Cir S                         Gadsden, AL 35903                                                                                                                       eddie.gooch@umcna.org              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Eldon J Simpson, Jr                                         76 Rowell Rd                            Newport, NH 03773                                                                                                                       eldonsjass@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Eldon Junior Simpson, Jr                                    76 Rowell Rd                            Newport, NH 03773                                                                                                                       eldonsjass@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Ellenda Meadows Ward                                        3816 Piedmont Rd                        Huntington, WV 25704                                                                                                                    warde@mail.com                     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Ernest Goodrich                                             4849 Cross St                           Campbell, NY 14821                                                                                                                                                         First Class Mail
Voting Party                   Attn: Francis Anthony Blakey                                      P.O. Box 70879                          Albany, GA 31708                                                                                                                        tblakey@kelleylovett.com           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Gail Brown                                                  2290 Deer Run Dr                        Ogden, UT 84405                                                                                                                         gtwgbrown@gmail.com                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Garrett Spawn                                               1915 Helderberg Ave                     Schenectady, NY 12306                                                                                                                   garrettspawn@gmail.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Inoke Qarau                                                 4577 Cedarwood Way                      Sacramento, CA 95823                                                                                                                    knoxque@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Jack Cilingiryan                                            P.O. Box 44                             Midland Park, NJ 07432                                                                                                                  hjclawyer@gmail.com                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: James Andrew Pulley                                         4614 Log Cabin Rd                       Nashville, TN 37216                                                                                                                     james.pulley10@att.net             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: James Florack                                               50 Central Park W, Apt 3A               New York, NY 10023                                                                                                                                                         First Class Mail
Voting Party                   Attn: Jerry Van Shelnutt                                          1888 Old Boones Creek Rd                Johnson City, TN 37615                                                                                                                  shelnutt56@aim.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 22 of 442
                                                                                 Case 20-10343-LSS                                                   Doc 8171                                                  Filed 01/06/22                                        Page 38 of 457
                                                                                                                                                                                            Exhibit B
                                                                                                                                                                                             Service List
                                                                                                                                                                                      Served as set forth below

        Description                                                       Name                                                                                                            Address                                                                                                        Email                 Method of Service
Voting Party                   Attn: Jill Colley Robinson                                            145 Pulp Mill Bridge Rd                 Weybridge, VT 05753                                                                                                               rev.jill.colley.robinson@gmail.com   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: John B Fleming, Jr                                              113 Thornewood Dr                       Cary, NC 27518‐9734                                                                                                               jflem732@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: John Daniel Kjerulf                                             18558 64th Ave Ne                       Kenmore, WA 98028                                                                                                                 jdkjerulf@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: John Micah Baker‐Streevy                                        191 Central Ave                         Lewiston, ME 04240                                                                                                                jmbakerst@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Julia L Molteni                                                 P.O. Box 85                             Sulphur Bluff, TX 75481                                                                                                                                                First Class Mail
Voting Party                   Attn: K Alexander Visbaras                                            195 Center St                           Auburn, ME 04210                                                                                                                  kalex@visbaras.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Kelly J Pitcher                                                 101 W Ohio St                           Indianapolis, IN 46204                                                                                                            kpitcher@pitcherthompson.com         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Kenneth Mclean                                                  3112 Carrick Dr                         Germantown, TN 38138                                                                                                              kenneth@themcleanlawfirm.com         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Laurie Pierce Tingley                                           1814 Ridge Rd                           Reisterstown, MD 21136                                                                                                            mayschapelpastor@gmail.com           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Linda B Thomas Esq                                              996 Wilkinson Trce, Ste A1              Bowling Green, KY 42103                                                                                                           linda@smartcounsel.biz               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Lindsey Emerson Raines                                          c/o Friday, Eldredge & Clark LLP        400 W Capitol Ave, Ste 2000                                       Little Rock, AR 72201                                           lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Lynn Ray Osborn                                                 123 W 7th Ave, Ste 200                  Stillwater, OK 74074                                                                                                              losborn@houston‐osborn.com           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Margaret Graham Morley                                          2425 S Germantown Rd                    Germantown, TN 38138                                                                                                                                                   First Class Mail
Voting Party                   Attn: Mark Oium                                                       1501 S El Camino Real                   San Mateo, CA 94402                                                                                                               oium@sbcglobal.net                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Matthew D Roth                                                  281 River Rd                            Fairfax, VT 05454                                                                                                                                                      First Class Mail
Voting Party                   Attn: Nathan Chris Krupp                                              11906 Eden Trl                          Eagle, MI 48822                                                                                                                   nathan.krupp1@gmail.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Nathan Speck‐Ewer                                               10888 126th Ave N                       Largo, FL 33778                                                                                                                                                        First Class Mail
Voting Party                   Attn: Norman Heiderman, Sr                                            406 Irene Dr                            Glen Burnie, MD 21061                                                                                                             normshogs@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Pamela Cooley O'Halloran                                        2747 Fairmont Blvd                      Cleveland Heights, OH 44106                                                                                                                                            First Class Mail
Voting Party                   Attn: Patrick John Rivers                                             424 Forest Ave                          Glen Ellyn, IL 60137                                                                                                              dr.daniel.diss@gmail.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Paul William Venter                                             909 N Main St                           Bloomington, IL 61704                                                                                                             pventer30@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Rex Allen Maddy                                                 1002 Plummer Rd                         Martinsville, IN 46151                                                                                                                                                 First Class Mail
Voting Party                   Attn: Richard Calvert Steuart                                         1955 Potts Point Rd                     Huntingtown, MD 20639                                                                                                                                                  First Class Mail
Voting Party                   Attn: Richard Hepp                                                    13 Alvin Rd                             West Milford, NJ 07480                                                                                                            rich.hepp.ee@gmail.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Robert Lynn Selle                                               581 Denver St                           Calhan, CO 80808                                                                                                                  office@calhanumc80808.og             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Stanley A Hirtle                                                1230 Amherst Pl                         Dayton, OH 45406                                                                                                                  shirtle@sbcglobal.net                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Stephen C Walling                                               709 Market St                           Knoxville, TN 37902                                                                                                               swalling@mcgeheecole.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Suzanne L Dewalt                                                535 Smithfield St                       Pittsburgh, PA 15222                                                                                                                                                   First Class Mail
Voting Party                   Attn: Suzanne L Dewalt                                                535 Smithfield St, Ste 300              Pittsburgh, PA 15222                                                                                                                                                   First Class Mail
Voting Party                   Attn: Suzanne L Dewalt                                                535 Smithfield Stg, Ste 300             Pittsburgh, PA 15222                                                                                                                                                   First Class Mail
Voting Party                   Attn: Theodore B Cooper                                               2819 Cty Rt, 45 P.O. Box 117            Fulton, NY 13069                                                                                                                  mtpleasantumc@info.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Thomas Benjamin Douglas                                         2130 Bella Coola Rd                     Lake Waccamaw, NC 28450                                                                                                                                                First Class Mail
Voting Party                   Attn: Thomas Leroy Bowen                                              1620 M I Bowen Rd                       Prince Frederick, MD 20678                                                                                                        dsbowen@earthlink.net                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Timothy C Quinnell                                              419 W Washington St                     Marquette, MI 49855                                                                                                               timothyquinnell@gmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Todd J Desimone                                                 25 Glen Eagles Dr                       Larchmont, NY 10538                                                                                                                                                    First Class Mail
Voting Party                   Attn: Ward Lamson Triche                                              1070 Wildwood Rd                        Walnut Cove, NC 27052                                                                                                             wltriche@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: Wayne Feeley                                                    1290 Middle Rd P.O. Box 7               Willsboro, NY 12996                                                                                                               feeley2@outlook.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attn: William E Hofmann                                               19142 Center Ave                        Homewood, IL 60430‐4418                                                                                                                                                First Class Mail
Voting Party                   Attn: William G Lewis                                                 18645 Wilson Dr                         Goshen, IN 46528                                                                                                                                                       First Class Mail
Voting Party                   Attn: William Scott Crabtree                                          212 S College St                        Franklin, KY 42134                                                                                                                scott@scottcrabtree.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attorney                                                              Attn: Joseph G Mitchell                 4521 Derby Ln                                                     Smyrna                                                          jo.mitchell@sap.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Attorney                                                              Attn: Chris K Wallendorf                P.O. Box 279                                                      Comfort, TX 78013                                               chris@wallendorflawoffice.com        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Firm                           Attorney Joseph F Mulvey                                              Joseph F Mulvey                         30 Merriman Road                                                  Stamford, CT 06905‐1917                                         jfmlaw1@optonline.net                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Atv Parent Assoc                                                      Catalina Council 011                    3801 S Kinney Rd                                                  Tucson, AZ 85713‐5520                                                                                First Class Mail
Chartered Organization         Atwater Utd Methodist Church                                          Greater Yosemite Council 059            2550 Linden St                                                    Atwater, CA 95301‐2814                                                                               First Class Mail
Chartered Organization         Atwood Lions Club                                                     Coronado Area Council 192               P.O. Box 46                                                       Atwood, KS 67730‐0046                                                                                First Class Mail
Chartered Organization         Atwood Mcdonald Elementary ‐ Gifw                                     Longhorn Council 662                    1850 Barron Ln                                                    Fort Worth, TX 76112‐4230                                                                            First Class Mail
Chartered Organization         Atwood School Apac                                                    Great Lakes Fsc 272                     45690 North Ave                                                   Macomb, MI 48042‐5236                                                                                First Class Mail
Chartered Organization         Au Lac                                                                Silicon Valley Monterey Bay 055         3362 Farthing Way                                                 San Jose, CA 95132‐1908                                                                              First Class Mail
Voting Party                   Aubrey B Harwell                                                      c/o Boy Scouts of America               Attn: Chase Koontz                                                1325 W Walnut Hill Ln          Irving, TX 75015                 chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Auburn ‐ Faith Baptist Church                                         Heart of New England Council 230        22 Faith Ave                                                      Auburn, MA 01501‐1806                                                                                First Class Mail
Chartered Organization         Auburn ‐ First Congregational Church                                  Heart of New England Council 230        128 Central St                                                    Auburn, MA 01501‐2820                                                                                First Class Mail
Chartered Organization         Auburn ‐ North American Martyrs                                       Heart of New England Council 230        8 Wyoma Dr                                                        Auburn, MA 01501‐2532                                                                                First Class Mail
Chartered Organization         Auburn 49Er Lions Club                                                Golden Empire Council 047               P.O. Box 5703                                                     Auburn, CA 95604‐5703                                                                                First Class Mail
Chartered Organization         Auburn Christian Church                                               Jayhawk Area Council 197                1351 N Washington                                                 Auburn, KS 66402                                                                                     First Class Mail
Chartered Organization         Auburn Community Church                                               Lake Erie Council 440                   11048 Washington St                                               Chagrin Falls, OH 44023‐5556                                                                         First Class Mail
Chartered Organization         Auburn Elks 474                                                       Longhouse Council 373                   314 State St                                                      Auburn, NY 13021‐1130                                                                                First Class Mail
Voting Party                   Auburn First United Methodist Church                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Auburn Jaycees & Auburn Utd Methodist Ch                              Water and Woods Council 782             207 S Auburn Rd                                                   Auburn, MI 48611‐9315                                                                                First Class Mail
Chartered Organization         Auburn Mothers Club                                                   Hawk Mountain Council 528               P.O. Box 6                                                        Auburn, PA 17922‐0006                                                                                First Class Mail
Chartered Organization         Auburn Outdoor Adventures, Inc                                        Chattahoochee Council 091               2189 Herndon St                                                   Auburn, AL 36830‐6603                                                                                First Class Mail
Chartered Organization         Auburn Police Dept                                                    Golden Empire Council 047               1215 Lincoln Way                                                  Auburn, CA 95603‐5004                                                                                First Class Mail
Chartered Organization         Auburn Police Dept                                                    Northeast Georgia Council 101           1361 4th Ave                                                      Auburn, GA 30011‐3058                                                                                First Class Mail
Chartered Organization         Auburn Police Dept                                                    Chief Seattle Council 609               340 E Main St, Ste 201                                            Auburn, WA 98002‐5548                                                                                First Class Mail
Chartered Organization         Auburn Presbyterian Church                                            Anthony Wayne Area 157                  P.O. Box 448                                                      Auburn, IN 46706‐0448                                                                                First Class Mail
Chartered Organization         Auburn School Parent Teachers                                         Buckeye Council 436                     109 Auburn Ave                                                    Shelby, OH 44875‐1103                                                                                First Class Mail
Voting Party                   Auburn United Methodist Church                                        c/o Trustees, Auburn Umc                Attn: Knox Wimberly                                               P.O. Box 74                    Riner, VA 24149                  pastor@auburnumc.us                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Auburn United Methodist Church                                        Attn: Judy Selover                      99 South St                                                       Auburn, NY 13201                                                chs37@veryizon.net                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Auburn United Methodist Church, Michigan                              Attn: Sandy Dewaele                     207 S Auburn Rd                                                   Auburn, MI 48611                                                office@auburnumc.org                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Auburn Utd Methodist                                                  Water and Woods Council 782             84 W Midland Rd                                                   Auburn, MI 48611‐9311                                                                                First Class Mail
Chartered Organization         Auburn Utd Methodist Church                                           Chattahoochee Council 091               P.O. Box 3135                                                     Auburn, AL 36831‐3135                                                                                First Class Mail
Chartered Organization         Auburn Utd Methodist Church                                           Abraham Lincoln Council 144             14100 Rt4                                                         Auburn, IL 62615                                                                                     First Class Mail
Chartered Organization         Auburn/Opelika Benevolent & Protective                                Chattahoochee Council 091               P.O. Box 864                                                      Auburn, AL 36831‐0864                                                                                First Class Mail
Chartered Organization         Audrain Ambulance District                                            Great Rivers Council 653                440 Kelley Pkwy                                                   Mexico, MO 65265‐3814                                                                                First Class Mail
Voting Party                   Audubon                                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Audubon Mutual Housing Corp                                           Garden State Council 690                20 Rd C                                                           Audubon, NJ 08106‐1856                                                                               First Class Mail
Chartered Organization         Audubon Oaks Lions Club                                               Cradle of Liberty Council 525           P.O. Box 158                                                      Oaks, PA 19456‐0158                                                                                  First Class Mail
Chartered Organization         Audubon Park Utd Methodist Church                                     Inland Northwest Council 611            3908 N Driscoll Blvd                                              Spokane, WA 99205‐1616                                                                               First Class Mail
Chartered Organization         Audubon Utd Methodist Church                                          Garden State Council 690                314 W Graisbury Ave                                               Audubon, NJ 08106‐2035                                                                               First Class Mail
Chartered Organization         Audubon/Oaks Lions Club                                               Cradle of Liberty Council 525           134 W Mount Kirk Ave                                              Eagleville, PA 19403‐1727                                                                            First Class Mail
Chartered Organization         Audubon‐Oaks Lions Club                                               Cradle of Liberty Council 525           P.O. Box 249                                                      Oaks, PA 19456‐0249                                                                                  First Class Mail
Chartered Organization         Auger Falls Ward ‐ Twin Falls West Stake                              Snake River Council 111                 1134 N College Rd                                                 Twin Falls, ID 83301                                                                                 First Class Mail
Chartered Organization         Auglaize County Airport Authority                                     Black Swamp Area Council 449            07776 State Route 219                                             New Knoxville, OH 45871                                                                              First Class Mail
Chartered Organization         Auglaize County Sheriff Dept                                          Black Swamp Area Council 449            P.O. Box 26                                                       Wapakoneta, OH 45895‐0026                                                                            First Class Mail
Chartered Organization         August Realty And Investments                                         Longs Peak Council 062                  4190 Rockvale Dr                                                  Loveland, CO 80538‐5565                                                                              First Class Mail
Chartered Organization         Augusta Dept Of Safety                                                Quivira Council, Bsa 198                2100 Ohio St                                                      Augusta, KS 67010‐2175                                                                               First Class Mail
Chartered Organization         Augusta Jewish Center                                                 Georgia‐Carolina 093                    898 Weinberger Way                                                Evans, GA 30809‐4283                                                                                 First Class Mail
Chartered Organization         Augusta Lions Club                                                    Chippewa Valley Council 637             S10876 County Rd R                                                Augusta, WI 54722                                                                                    First Class Mail
Chartered Organization         Augusta Lions Club                                                    Stonewall Jackson Council 763           P.O. Box 2613                                                     Staunton, VA 24402‐2613                                                                              First Class Mail
Voting Party                   Augusta Road United Methodist Church                                  Attn: Steve Varda                       410 N Flat Rock Rd                                                Piedmont, SC 29673                                              vardastephen@gmail.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Augusta Road United Methodist Church                                  David Smith                             8324 Augusta Rd                                                   Pelzer, SC 29669                                                dbsmith@umcsc.org                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Augusta Road Utd Methodist Church                                     Blue Ridge Council 551                  8324 Augusta Rd                                                   Pelzer, SC 29669‐9309                                                                                First Class Mail
Chartered Organization         Augustana Lutheran Church                                             Pathway To Adventure 456                207 N Kelly St                                                    Hobart, IN 46342‐3229                                                                                First Class Mail
Chartered Organization         Augustana Lutheran Church                                             President Gerald R Ford 781             18499 20 Mile Rd                                                  Tustin, MI 49688‐8311                                                                                First Class Mail
Voting Party                   Augustana Lutheran Church                                             Attn: Linda Sanden                      235 N Prairie Ave                                                 Sioux Falls, SD 57104                                           alcsf@auestanasiouxfalls.com         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Augustana Lutheran Church Of Hyde Park                                Pathway To Adventure 456                5500 S Woodlawn Ave                                               Chicago, IL 60637‐1621                                                                               First Class Mail
Chartered Organization         Augustana Lutheran Church‐Boone                                       Mid Iowa Council 177                    309 S Greene St                                                   Boone, IA 50036‐4738                                                                                 First Class Mail
Chartered Organization         Augustana Lutheran Churchmen                                          Northern Lights Council 429             308 E Douglas Ave                                                 Fergus Falls, MN 56537‐3513                                                                          First Class Mail
Chartered Organization         Augustus Lutheran Church                                              Cradle of Liberty Council 525           717 W Main St                                                     Trappe, PA 19426‐1935                                                                                First Class Mail
Chartered Organization         Aula International Community Center                                   Far E Council 803                       62 Huakang St Tianhe Dong Rd, Unit 103                            Guangzhou, 510620              China                                                                 First Class Mail
Chartered Organization         Ault Elementary Pto                                                   Sam Houston Area Council 576            21010 Maple Village Dr                                            Cypress, TX 77433‐5722                                                                               First Class Mail
Chartered Organization         Aumsville Pentecostal Church Of God                                   Cascade Pacific Council 492             10153 Mill Creek Rd Se                                            Aumsville, OR 97325                                                                                  First Class Mail
Chartered Organization         Aumsville Volunteer Fire Dept                                         Cascade Pacific Council 492             P.O. Box 247                                                      Aumsville, OR 97325‐0247                                                                             First Class Mail
Voting Party                   Aura United Methodist Church 901 Aura Rd Monroeville, NJ 08343‐2604   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200       Tampa, FL 33602                  ERICE@BRADLEY.COM                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Aurora Academy                                                        Denver Area Council 061                 10251 E 1st Ave                                                   Aurora, CO 80010‐4308                                                                                First Class Mail
Chartered Organization         Aurora Academy                                                        Erie Shores Council 460                 824 6th St                                                        Toledo, OH 43605‐1704                                                                                First Class Mail
Chartered Organization         Aurora Chamber Of Commerce                                            Denver Area Council 061                 14305 E Alameda Ave, Ste 300                                      Aurora, CO 80012‐2550                                                                                First Class Mail
Chartered Organization         Aurora Fire Dept                                                      Three Fires Council 127                 75 N Broadway                                                     Aurora, IL 60505‐3328                                                                                First Class Mail
Chartered Organization         Aurora Fitzsimons Rotary Club                                         Denver Area Council 061                 P.O. Box 1482                                                     Aurora, CO 80040‐1482                                                                                First Class Mail
Chartered Organization         Aurora Gateway Rotary Club                                            Denver Area Council 061                 P.O. Box 440998                                                   Aurora, CO 80044‐0998                                                                                First Class Mail
Chartered Organization         Aurora Police Dept                                                    Denver Area Council 061                 13347 E Montview Blvd                                             Aurora, CO 80045‐7206                                                                                First Class Mail
Chartered Organization         Aurora Township Vol Fire Prot Assoc                                   Three Fires Council 127                 599 Montgomery Rd                                                 Montgomery, IL 60538‐1729                                                                            First Class Mail
Voting Party                   Aurora United Methodist Church                                        Attn: Florence Wilkie                   3300 Eton St                                                      New Orleans, LA 70131                                           floboycewilkie@bellsouth.net         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Aurora United Methodist Church                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Aurora United Methodist Church                                        Attn: Pastor Anna Efaw                  1845 Rosco Lantz Rd                                               Aurora, WV 26705                                                efawa@hotmail.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Aurora: Bethany Of Fox Valley                                         2200 Ridge Ave                          Aurora, IL 60504                                                                                                                  pastorsam@bfvumc.org                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Aurora: Wesley                                                        Attn: Walter Cecil Loague, Trustee      14 N May St                                                       Aurora, IL 60506                                                wesleyumcaurora@gmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Ausa General Cw Abrams Chapter                                        Transatlantic Council, Bsa 802          Cmr 467 Box 6415                                                  APO, AE 09096                                                                                        First Class Mail
Voting Party                   Austell First United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Austell First United Methodist Church                                 5705 Mulberry St                        Austell, GA 30106                                                                                                                                                      First Class Mail
Chartered Organization         Austell First Utd Methodist Church                                    Atlanta Area Council 092                5705 Mulberry St                                                  Austell, GA 30106‐3307                                                                               First Class Mail
Voting Party                   Austen Smith                                                          Address Redacted                                                                                                                                                          Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Austin Anderson Safe Haven, Inc                                       Pony Express Council 311                P.O. Box 175                                                      Braymer, MO 64624‐0175                                                                               First Class Mail
Chartered Organization         Austin Christian Fellowship                                           Capitol Area Council 564                6401 River Pl Blvd                                                Austin, TX 78730‐1112                                                                                First Class Mail
Chartered Organization         Austin Community College                                              Capitol Area Council 564                5930 Middle Fiskville Rd                                          Austin, TX 78752‐4341                                                                                First Class Mail
Chartered Organization         Austin Community Of Christ Church                                     Capitol Area Council 564                2132 Bluebonnet Ln                                                Austin, TX 78704‐4056                                                                                First Class Mail
Chartered Organization         Austin Elementary Pto                                                 Buffalo Trail Council 567               1501 W Normandy St                                                Pecos, TX 79772                                                                                      First Class Mail
Chartered Organization         Austin Elementary School Pta                                          Atlanta Area Council 092                5435 Roberts Dr                                                   Dunwoody, GA 30338‐3328                                                                              First Class Mail
Chartered Organization         Austin Northeast Rotary Club                                          Capitol Area Council 564                P.O. Box 10642                                                    Austin, TX 78766‐1642                                                                                First Class Mail
Chartered Organization         Austin Oaks Church                                                    Capitol Area Council 564                4220 Monterey Oaks Blvd                                           Austin, TX 78749‐1170                                                                                First Class Mail
Chartered Organization         Austin Police Dept                                                    Twin Valley Council Bsa 283             201 1st St NE, Ste 2                                              Austin, MN 55912‐3992                                                                                First Class Mail
Chartered Organization         Austin Police Dept                                                    Capitol Area Council 564                715 E 8th St                                                      Austin, TX 78701‐3300                                                                                First Class Mail
Chartered Organization         Austin Reed Post 84 ‐ American Legion                                 Sam Houston Area Council 576            800 N May St                                                      Madisonville, TX 77864‐3331                                                                          First Class Mail
Chartered Organization         Austin Ridge Bible Church ‐ Southwest                                 Capitol Area Council 564                7416 W US Hwy 71                                                  Austin, TX 78735‐8202                                                                                First Class Mail
Chartered Organization         Austin Ridge Hoa                                                      National Capital Area Council 082       31 Boulder Dr                                                     Stafford, VA 22554‐8829                                                                              First Class Mail
Voting Party                   Austin United Methodist Church (180704)                               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200     Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Austin Utd Methodist Church                                           Allegheny Highlands Council 382         P.O. Box 8                                                        Austin, PA 16720‐0008                                                                                First Class Mail
Chartered Organization         Austin Utd Methodist Church                                           Allegheny Highlands Council 382         P.O. Box 8                                                        Austin, PA 16720‐0008                                                                                First Class Mail
Chartered Organization         Austin/Travis County Ems                                              Capitol Area Council 564                P.O. Box 1088                                                     Austin, TX 78767‐1088                                                                                First Class Mail
Chartered Organization         Austins Place                                                         Laurel Highlands Council 527            134 Shenot Rd                                                     Wexford, PA 15090‐7457                                                                               First Class Mail
Chartered Organization         Autism Project Of Rhode Island                                        Narragansett 546                        1516 Atwood Ave                                                   Johnston, RI 02919‐3223                                                                              First Class Mail
Chartered Organization         Auto Parallel Technologies, Inc                                       Capitol Area Council 564                608 S Cougar Ave                                                  Cedar Park, TX 78613‐3122                                                                            First Class Mail
Voting Party                   Automotive Rentals, Inc                                               P.O. Box 8500‐4375                      Philadelphia, PA 19178‐4375                                                                                                                                            First Class Mail
Chartered Organization         Autonomous Solutions, Inc                                             Trapper Trails 589                      990 N 8000 W                                                      Mendon, UT 84325‐9758                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                             Page 23 of 442
                                                                                   Case 20-10343-LSS                                                Doc 8171                                             Filed 01/06/22                                           Page 39 of 457
                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                       Service List
                                                                                                                                                                                Served as set forth below

        Description                                                         Name                                                                                                    Address                                                                                                          Email              Method of Service
Chartered Organization         Auxvasse Lions Club                                        2052 Old US Hwy 54                               Auxvasse, MO 65231                                                                                                                                                First Class Mail
Chartered Organization         Avalon Church Of Christ                                    Tidewater Council 596                            844 Woodstock Rd                                              Virginia Beach, VA 23464‐2123                                                                       First Class Mail
Chartered Organization         Avalon Elementary Pto                                      Central Florida Council 083                      13500 Tanja King Blvd                                         Orlando, FL 32828‐7765                                                                              First Class Mail
Chartered Organization         Avalon Elementary School Pto                               Simon Kenton Council 441                         5220 Avalon Ave                                               Columbus, OH 43229‐4753                                                                             First Class Mail
Chartered Organization         Avalon Utd Methodist Church                                South Georgia Council 098                        3018 Gillionville Rd                                          Albany, GA 31721‐2908                                                                               First Class Mail
Chartered Organization         Avalonia Group Home                                        Blue Ridge Council 551                           P.O. Box 699                                                  Marietta, SC 29661‐0699                                                                             First Class Mail
Chartered Organization         Ave Maria Catholic Parish                                  Denver Area Council 061                          9056 E Parker Rd                                              Parker, CO 80138‐7209                                                                               First Class Mail
Chartered Organization         Avenal Police Dept                                         Sequoia Council 027                              317 E Alpine St                                               Avenal, CA 93204‐1019                                                                               First Class Mail
Voting Party                   Avenue United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Avenue Utd Methodist Church                                Del Mar Va 081                                   20 N Church Ave                                               Milford, DE 19963‐1021                                                                              First Class Mail
Chartered Organization         Avenues For Success                                        Dan Beard Council, Bsa 438                       4400 Smith Rd                                                 Norwood, OH 45212‐4209                                                                              First Class Mail
Chartered Organization         Averill New Tech Elementary                                Water and Woods Council 782                      3201 Averill Dr                                               Lansing, MI 48911‐1403                                                                              First Class Mail
Chartered Organization         Averill Park‐ Sand Lake Fire Dept                          Twin Rivers Council 364                          35 Eern Union Tpke                                            Averill Park, NY 12018                                                                              First Class Mail
Chartered Organization         Avery Chapel                                               Mountaineer Area 615                             1152 Cheat Rd                                                 Morgantown, WV 26508‐4123                                                                           First Class Mail
Chartered Organization         Avery County Firefighters Assoc                            Daniel Boone Council 414                         175 Linville St                                               Newland, NC 28657‐8094                                                                              First Class Mail
Chartered Organization         Avery County Sheriff'S Office                              Daniel Boone Council 414                         P.O. Box 640                                                  Newland, NC 28657‐0640                                                                              First Class Mail
Chartered Organization         Avery Lodge 493 F&Am                                       Simon Kenton Council 441                         P.O. Box 173                                                  Hilliard, OH 43026‐0173                                                                             First Class Mail
Chartered Organization         Avery Mason Lodge 493                                      Simon Kenton Council 441                         P.O. Box 173                                                  Hilliard, OH 43026‐0173                                                                             First Class Mail
Chartered Organization         Avery Ranch Owners Assoc                                   Capitol Area Council 564                         10121 Morgan Creek Dr                                         Austin, TX 78717                                                                                    First Class Mail
Voting Party                   Avery United Methodist Church                              Attn: Treasurer, Avery United Methodist Church   1152 Cheat Rd                                                 Morgantown, WV 26508                                               averyumchurch@gmail.com          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Avery United Methodist Church (103967)                     c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Avery's Creek Umc 874 Glenn Bridge Rd ‐ Arden              c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Averys Creek Utd Methodist Church                          Daniel Boone Council 414                         874 Glenn Bridge Rd                                           Arden, NC 28704                                                                                     First Class Mail
Chartered Organization         Aviation Explorer Post (Aesop)                             Northern Lights Council 429                      2211 17th Ave S                                               Grand Forks, ND 58201‐5213                                                                          First Class Mail
Chartered Organization         Aviation Explorers Club 8001                               Heart of America Council 307                     2178 Montana Rd                                               Ottawa, KS 66067‐8518                                                                               First Class Mail
Chartered Organization         Aviation Explorers, Inc                                    W.L.A.C.C. 051                                   12430 Valley Vista Way                                        Sylmar, CA 91342‐3482                                                                               First Class Mail
Chartered Organization         Aviation Facilities Incorporated                           Orange County Council 039                        4119 W Commonwealth Ave                                       Fullerton, CA 92833‐2535                                                                            First Class Mail
Chartered Organization         Aviator Church                                             Quivira Council, Bsa 198                         904 Alexander St                                              Winfield, KS 67156‐4020                                                                             First Class Mail
Voting Party                   Aviator Church, Inc.                                       Attn: Eric D. Bruce                              P.O. Box 75037                                                Wichita, KS 67275                                                  Mail@KsAdvocates.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Avicenna Institute                                         Great Lakes Fsc 272                              653 Sherbourne Dr                                             Dearborn Heights, MI 48127‐3651                                                                     First Class Mail
Chartered Organization         Avicenna Preparatory Pta                                   Simon Kenton Council 441                         2721 Asbury Blvd                                              Franklin, OH 43235                                                                                  First Class Mail
Voting Party                   Avilla Calvary United Methodist Church                     Attn: Shalimar Holderly                          101 S Cherry St                                               Avilla, IN 46710                                                                                    First Class Mail
Voting Party                   Avinger Umc                                                Attn: Nancy Walker                               P.O. Box 91                                                   Avinger, TX 75630                                                  tnmwaww@aol.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Avio Consulting, LLC                                       15851 N Dallas Pkwy, Ste 250                     Addison, TX 75001                                                                                                                bdean@avioconsulting.com         Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Avio Consulting, LLC                                       c/o Higier Allen & Lautin PC                     Attn: Alexander M Szeto                                       2711 N Haskell Ave, Ste 2400      Dallas, TX 75204                 aszeto@higierallen.com           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Avis Rent A Car System, Inc                                7876 Collections Center Dr                       Chicago, IL 60693‐0001                                                                                                                                            First Class Mail
Voting Party                   Avis United Methodist Church (8110)                        c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Avoca Parent‐Teacher Council                               Northeast Illinois 129                           2921 Illinois Rd                                              Wilmette, IL 60091‐1103                                                                             First Class Mail
Voting Party                   Avoca United Methodist Church                              Avoca Umc                                        8593 Jacobs Ladder Rd                                         Avoca, NY 14809                                                    pastorbarre@yahoo.com            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Avoca Utd Methodist Church                                 Five Rivers Council, Inc 375                     8593 Jacobs Ladder Rd                                         Avoca, NY 14809‐9410                                                                                First Class Mail
Chartered Organization         Avon Baptist Church                                        Mayflower Council 251                            119 N Main St                                                 Avon, MA 02322‐1253                                                                                 First Class Mail
Chartered Organization         Avon Christian Church                                      Crossroads of America 160                        7236 E County Rd 100 S                                        Avon, IN 46123‐7539                                                                                 First Class Mail
Chartered Organization         Avon Lake Police Dept                                      Lake Erie Council 440                            32855 Walker Rd                                               Avon Lake, OH 44012‐1429                                                                            First Class Mail
Chartered Organization         Avon Lions Club                                            Central Minnesota 296                            P.O. Box 32                                                   Avon, MN 56310‐0032                                                                                 First Class Mail
Chartered Organization         Avon Police Dept                                           Crossroads of America 160                        6570 E US Hwy 36                                              Avon, IN 46123‐9178                                                                                 First Class Mail
Chartered Organization         Avon Rotary Club, Inc                                      Iroquois Trail Council 376                       P.O. Box 1                                                    Avon, NY 14414‐0001                                                                                 First Class Mail
Voting Party                   Avon United Methodist Church                               Attn: Micah Holland                              37711 Detroit Rd                                              Avon, OH 44011                                                     micahholland12@gmail.com         Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Avon Volunteer Fire Dept                                   Connecticut Rivers Council, Bsa 066              25 Darling Dr                                                 Avon, CT 06001‐4218                                                                                 First Class Mail
Voting Party                   Avon Wesleyan Church                                       Attn: Joseph Yanda                               300 Genesee St                                                Avon, NY 14414                                                     office@avonwesleyanchurch.com    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Avondale Elementary Pto                                    Greater Alabama Council 001                      4000 8th Ct S                                                 Birmingham, AL 35222‐3617                                                                           First Class Mail
Chartered Organization         Avondale Fire Co                                           Chester County Council 539                       23 Firehouse Way                                              Avondale, PA 19311‐1418                                                                             First Class Mail
Chartered Organization         Avondale Moose Lodge                                       Grand Canyon Council 010                         1572 S Cotton Ln                                              Goodyear, AZ 85338‐4656                                                                             First Class Mail
Chartered Organization         Avondale Police Dept                                       Grand Canyon Council 010                         11485 W Civic Center Dr                                       Avondale, AZ 85323‐6800                                                                             First Class Mail
Voting Party                   Avondale Umc                                               Attn: Rev. Malinda Weaver                        500 40th St S                                                 Birmingham, AL 35222                                               malinda@avonumc.net              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Avondale Umc                                               c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Avondale Utd Methodist Church                              Heart of America Council 307                     3101 NE Winn Rd                                               Kansas City, MO 64117‐2214                                                                          First Class Mail
Chartered Organization         Avra Valley Marana Post 5990 Vfw                           Catalina Council 011                             15850 W El Tiro Rd                                            Marana, AZ 85653‐9492                                                                               First Class Mail
Chartered Organization         Avra Valley Ward ‐ Lds Marana Stake                        Catalina Council 011                             13450 N Lon Adams Rd                                          Marana, AZ 85653                                                                                    First Class Mail
Chartered Organization         Awac Program Committee                                     Anthony Wayne Area 157                           8315 W Jefferson Blvd                                         Fort Wayne, IN 46804‐8302                                                                           First Class Mail
Voting Party                   Awards Unlimited, Inc                                      336 E 4th St                                     Loveland, CO 80537‐5604                                                                                                                                           First Class Mail
Chartered Organization         Awesome Ladies Distinction Learning Ctr                    Southeast Louisiana Council 214                  3848 Irwin Kuntz Dr                                           Harvey, LA 70058‐2129                                                                               First Class Mail
Chartered Organization         Awppw Local 13                                             Oregon Trail Council 697                         P.O. Box 255                                                  Toledo, OR 97391‐0255                                                                               First Class Mail
Voting Party                   Axe Memorial Methodist Church                              Attn: Charles Killion                            1601 Mayfield Ave                                             Garland, TX 75041                                                  charles.killion@verizon.net      Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Axe Memorial Umc/San Juan Umc                              Circle Ten Council 571                           1700 W Kingsley Rd                                            Garland, TX 75041‐4120                                                                              First Class Mail
Voting Party                   Axley's Chapel Umc                                         Attn: Holston Conference Umc                     217 Rankin Rd                                                 Alcoa, TN 37701                                                    rickcherry@holston.org           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ayden Boys And Girls Club                                  East Carolina Council 426                        108 2nd St                                                    Ayden, NC 28513                                                                                     First Class Mail
Chartered Organization         Ayden Grifton Kiwanis                                      East Carolina Council 426                        7092 Nc Hwy 43 S                                              Greenville, NC 27858‐9083                                                                           First Class Mail
Chartered Organization         Ayden Rotary Club                                          East Carolina Council 426                        881 Old Snow Hill Rd                                          Ayden, NC 28513‐8700                                                                                First Class Mail
Chartered Organization         Ayer‐Gun & Sportsmen Club, Inc                             Heart of New England Council 230                 255 Snake Hill Rd                                             Ayer, MA 01432‐1506                                                                                 First Class Mail
Voting Party                   Ayers Construction Company, Inc                            Ayers Construction Co                            P.O. Box 681                                                  Beckley, WV 25802                                                  Markayers2005@hotmail.com        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ayers Fndn At Collinwood Mid Sch Vii                       Middle Tennessee Council 560                     419 S Main St                                                 Waynesboro, TN 38485‐2630                                                                           First Class Mail
Chartered Organization         Ayers Fndn At Sacred Heart Catholic Sch                    Middle Tennessee Council 560                     419 S Main St                                                 Waynesboro, TN 38485‐2630                                                                           First Class Mail
Chartered Organization         Ayers Foundation At Frank Hughes School                    Middle Tennessee Council 560                     419 S Main St                                                 Waynesboro, TN 38485‐2630                                                                           First Class Mail
Chartered Organization         Ayer‐St Andrews Church                                     Heart of New England Council 230                 Faulkner St                                                   Ayer, MA 01432                                                                                      First Class Mail
Chartered Organization         Ayersville Methodist Church                                Black Swamp Area Council 449                     27720 Ayers Plsnt Bend Rd                                     Defiance, OH 43512                                                                                  First Class Mail
Chartered Organization         Ayersville Utd Methodist Church                            Black Swamp Area Council 449                     28047 Ayrvl Plsnt Bnd Rd                                      Defiance, OH 43512‐8714                                                                             First Class Mail
Chartered Organization         Ayervol Fireauxiliariescombinatioin Co 1                   Heart of New England Council 230                 1 W Main St                                                   Ayer, MA 01432‐1210                                                                                 First Class Mail
Firm                           Aylstock, Witkin, Kreis, & Overholtz, PLLC                 S. Mary Liu                                      17 E. Main St. Ste. 200                                       Pensacola, FL 32502                                                mliu@awkolaw.com                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Aynor United Methodist Church Incorporated                 Attn: Rev. Kelly Snelgrove                       1042 Maple St                                                 Aynor, SC 29511                                                    kgsnelgrove76@gmail.com          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Aynor United Methodist Church Incorporated                 Kelly Snelgrove                                  1007 Elm St                                                   Aynor, SC 29511                                                    aynorumc@sccoast.net             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Aynor Utd Methodist Men                                    Pee Dee Area Council 552                         P.O. Box 348                                                  Aynor, SC 29511‐0348                                                                                First Class Mail
Chartered Organization         Ayres Fndn At Collinwood Mid Sch Ii                        Middle Tennessee Council 560                     419 S Main St                                                 Waynesboro, TN 38485‐2630                                                                           First Class Mail
Chartered Organization         Ayres Fndn At Waynesboro Mid Sch                           Middle Tennessee Council 560                     419 S Main St                                                 Waynesboro, TN 38485‐2630                                                                           First Class Mail
Voting Party                   Ayres United Methodist Church, Inc                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ayres Utd Methodist Church                                 Del Mar Va 081                                   P.O. Box 207                                                  Pittsville, MD 21850‐0207                                                                           First Class Mail
Chartered Organization         Ayuda, Inc                                                 Yucca Council 573                                P.O. Box 2017                                                 San Elizario, TX 79849‐2017                                                                         First Class Mail
Chartered Organization         Ayudan, LLC                                                Northern Lights Council 429                      160 50th Ave E                                                West Fargo, ND 58078‐8246                                                                           First Class Mail
Chartered Organization         Az Dept Juvenile Corrections Adobe Mtn                     Grand Canyon Council 010                         2800 W Pinnacle Peak Rd                                       Phoenix, AZ 85027‐1000                                                                              First Class Mail
Chartered Organization         Az Pet Vet                                                 Grand Canyon Council 010                         13844 N 51st Ave                                              Glendale, AZ 85306‐4845                                                                             First Class Mail
Chartered Organization         Azalea City Church Of God                                  South Georgia Council 098                        1519 River St                                                 Valdosta, GA 31601‐5581                                                                             First Class Mail
Chartered Organization         Aziz Masonic Grand Lodge Of Texas, Inc                     Sam Houston Area Council 576                     2600 S Loop W, Ste 300H                                       Houston, TX 77054‐2606                                                                              First Class Mail
Chartered Organization         Azle First Utd Methodist Church                            Longhorn Council 662                             200 Church St                                                 Azle, TX 76020‐3110                                                                                 First Class Mail
Chartered Organization         Azriel Custom Armament                                     Rocky Mountain Council 063                       1163 N Kirkwood Dr                                            Pueblo West, CO 81007‐1206                                                                          First Class Mail
Chartered Organization         Aztec 3 Af & Am                                            Yucca Council 573                                180 E Boutz Rd                                                Las Cruces, NM 88005‐3243                                                                           First Class Mail
Chartered Organization         Aztec Presbyterian Church                                  Great Southwest Council 412                      205 N Church Ave                                              Aztec, NM 87410‐1919                                                                                First Class Mail
Chartered Organization         B P O E 1941                                               Northern New Jersey Council, Bsa 333             1 Foxwood Lane                                                Mahwah, NJ 07430                                                                                    First Class Mail
Chartered Organization         B P O E Elks 2375                                          Utah National Parks 591                          P.O. Box 597                                                  Vernal, UT 84078‐0597                                                                               First Class Mail
Chartered Organization         B P O E Elks Lodge 1319                                    Rocky Mountain Council 063                       P.O. Box 672                                                  Lamar, CO 81052‐0672                                                                                First Class Mail
Chartered Organization         B P O E Elks Lodge 409                                     Ozark Trails Council 306                         2223 E Bennett St                                             Springfield, MO 65804‐1730                                                                          First Class Mail
Chartered Organization         B P O E Elks Lodge 610                                     Rocky Mountain Council 063                       404 Macon Ave                                                 Canon City, CO 81212‐3225                                                                           First Class Mail
Chartered Organization         B P O E Elks Lodge 808                                     Rocky Mountain Council 063                       P.O. Box 967                                                  Salida, CO 81201‐0967                                                                               First Class Mail
Chartered Organization         B P O Elks                                                 Susquehanna Council 533                          216 E Main St                                                 Lock Haven, PA 17745‐1312                                                                           First Class Mail
Chartered Organization         B P O Elks Lodge 690                                       Greater St Louis Area Council 312                560 Saint Peters Howell Rd                                    Saint Charles, MO 63304‐7118                                                                        First Class Mail
Chartered Organization         B Street Martial Arts                                      Pacific Skyline Council 031                      223 S B St                                                    San Mateo, CA 94401‐4017                                                                            First Class Mail
Voting Party                   B&B Glass, Inc                                             Attn: Tina Conley                                403 Main St E                                                 Oak Hill, WV 25901                                                 bbglass@suddenlinkmail.com       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   B&G Ptl Enterprises, Inc                                   1830 SW 2nd St                                   Pompano Beach, FL 33069‐3115                                                                                                                                      First Class Mail
Chartered Organization         B. Wright Leadership Academy                               South Florida Council 084                        6100 NW 60 St                                                 Miami, FL 33127                                                                                     First Class Mail
Chartered Organization         B.A. St. Ville Elementary                                  Southeast Louisiana Council 214                  1121 Pailet Ave                                               Harvey, LA 70058‐3716                                                                               First Class Mail
Chartered Organization         B.C. Rain Jrotc Group Of Citizens                          Mobile Area Council‐Bsa 004                      3125 Dauphin Island Pkwy                                      Mobile, AL 36605‐3828                                                                               First Class Mail
Chartered Organization         B.D.H.L.S.                                                 South Florida Council 084                        2600 NE 109 St                                                Miami, FL 33180                                                                                     First Class Mail
Chartered Organization         B.P.O. Elks 1251                                           Mt Diablo‐Silverado Council 023                  3931 San Pablo Dam Rd                                         El Sobrante, CA 94803‐2823                                                                          First Class Mail
Chartered Organization         B.P.O. Elks Billerica Lodge 2071                           The Spirit of Adventure 227                      14 Webb Brook Rd                                              Billerica, MA 01821‐3731                                                                            First Class Mail
Voting Party                   B.P.O. Elks Lodge 445                                      Attn: Mark Edward Mcnees                         411 Walnut St                                                 P.O. Box 14                       Atlantic, IA 50022               markmcnees25@gmail.com           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         B.P.O.E Newburyport Elks Lodge 909                         The Spirit of Adventure 227                      18 Union St                                                   Newburyport, MA 01950‐3214                                                                          First Class Mail
Chartered Organization         B.P.O.E. 1289, Glendale, Ca                                Verdugo Hills Council 058                        120 E Colorado St                                             Glendale, CA 91205‐1628                                                                             First Class Mail
Chartered Organization         B.P.O.E. 2070                                              The Spirit of Adventure 227                      777 South St                                                  Tewksbury, MA 01876‐2317                                                                            First Class Mail
Chartered Organization         B.P.O.E. Elks Lodge 1497                                   Verdugo Hills Council 058                        2232 N Hollywood Way                                          Burbank, CA 91505‐1112                                                                              First Class Mail
Chartered Organization         B.P.O.E. Elks Lodge 2190 Canoga Park                       W.L.A.C.C. 051                                   20925 Osborne St                                              Canoga Park, CA 91304‐1847                                                                          First Class Mail
Chartered Organization         B.P.O.E. Lodge 101                                         Twin Rivers Council 364                          P.O. Box 101                                                  Amsterdam, NY 12010‐0101                                                                            First Class Mail
Chartered Organization         B.R.I.D.D.G.E. Academy, Inc                                Gulf Stream Council 085                          2866 Tennis Club Dr, Apt 103                                  West Palm Beach, FL 33417‐2938                                                                      First Class Mail
Chartered Organization         B2K Scouts                                                 East Carolina Council 426                        704C Plaza Blvd, Ste 106                                      Kinston, NC 28501                                                                                   First Class Mail
Chartered Organization         Babcock Ranch Concerned Parents                            Southwest Florida Council 088                    P.O. Box 1627                                                 Fort Myers, FL 33902‐1627                                                                           First Class Mail
Firm                           Babin Law, LLC                                             Steven C. Babin, Jr., Esq                        140 E. Town Street, Suite 1100                                Columbus, OH 43215                                                 hello@babinlaws.com              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Babler School Pto                                          Greater St Louis Area Council 312                1955 Shepard Rd                                               Glencoe, MO 63038‐1431                                                                              First Class Mail
Chartered Organization         Baby Boot Camp Katy                                        Sam Houston Area Council 576                     1318 Dominion Dr                                              Katy, TX 77450‐4310                                                                                 First Class Mail
Chartered Organization         Babylon Utd Methodist Church                               Suffolk County Council Inc 404                   21 James St                                                   Babylon, NY 11702‐2825                                                                              First Class Mail
Chartered Organization         Bac Music                                                  Heart of America Council 307                     1219 Lydia Ave                                                Kansas City, MO 64106‐3409                                                                          First Class Mail
Chartered Organization         Bach To Rock Penfield                                      Seneca Waterways 397                             2160 Penfield Rd                                              Penfield, NY 14526‐1712                                                                             First Class Mail
Chartered Organization         Back Creek Arp Church                                      Mecklenburg County Council 415                   1821 Back Creek Church Rd                                     Charlotte, NC 28213‐7774                                                                            First Class Mail
Chartered Organization         Back River Restoration Committee                           Baltimore Area Council 220                       730 Riverside Dr                                              Essex, MD 21221‐6838                                                                                First Class Mail
Voting Party                   Back River Umc                                             Attn: Michael Dougherty                          544 Back River Neck Rd                                        Essex, MD 21221                                                    jeanhlee5@gmail.com              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Back River Utd Methodist Church                            Baltimore Area Council 220                       544 Back River Neck Rd                                        Baltimore, MD 21221‐4604                                                                            First Class Mail
Chartered Organization         Baconton Charter School                                    South Georgia Council 098                        260 E Walton St                                               Baconton, GA 31716‐7706                                                                             First Class Mail
Chartered Organization         Bacr Esperanza Elementary School                           San Francisco Bay Area Council 028               10315 E St                                                    Oakland, CA 94603‐3133                                                                              First Class Mail
Chartered Organization         Bacr Futures Elementary                                    San Francisco Bay Area Council 028               6701 International Blvd                                       Oakland, CA 94621‐3501                                                                              First Class Mail
Voting Party                   Bada Powell Council 368                                    Attn: Matthew Ball                               2150 Nys 12                                                   Binghamton, NY 13901                                               matthew.bull@scouts.org          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Baddour Law Llp                                            Andrew Colbrook Baddour                          123 S 1st St                                                  Pulaski                                                            colby@baddourlaw.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Bade ‐ Powell Council 368                                  Attn: Matthew Bull                               2150 Ny S 12                                                  Binghamton, NY 13901                                               matthew.bull@scouting.org        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Baden Scouters Committee                                   Laurel Highlands Council 527                     289 Prospect St                                               Baden, PA 15005‐1850                                                                                First Class Mail
Voting Party                   Baden United Methodist Church (95263)                      c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Baden Utd Methodist Church                                 Laurel Highlands Council 527                     420 Dippold Ave                                               Baden, PA 15005‐1716                                                                                First Class Mail
Firm                           Baer Treger LLP                                            Andrew L. Treger, Esq.                           1999 Avenue of the Stars, Ste 1100                            Los Angeles, CA 90067                                              atreger@baertreger.com           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Bagby Memorial United Methodist Church                     Attn: Robert Summerfeldt                         201 N Hord St                                                 Grayson, KY 41143                                                  secretary@bagbyumc.org           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Bagdad Baptist Church                                      Lincoln Heritage Council 205                     P.O. Box 8                                                    Bagdad, KY 40003‐0008                                                                               First Class Mail
Chartered Organization         Bagel Express                                              Suffolk County Council Inc 404                   15 Bennetts Rd, Ste 5                                         East Setauket, NY 11733‐1236                                                                        First Class Mail
Chartered Organization         Baggaley Elementary School                                 Westmoreland Fayette 512                         4080 Pa‐982                                                   Latrobe, PA 15650                                                                                   First Class Mail
Firm                           Bagley + Langan PLLC                                       Patrick Bagley                                   6557 Highland Rd                                              Waterford, MI 48327                                                Pbagley@bagleylangan.com         Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Bahai Faith Of Palm Beach County                           Gulf Stream Council 085                          7369 Westport Pl                                              West Palm Beach, FL 33413‐1662                                                                      First Class Mail
Chartered Organization         Bahrain Elementary School                                  Transatlantic Council, Bsa 802                   Psc 851 Box 55003                                             Fpo, AE 09834‐0551                                                                                  First Class Mail
Firm                           Bailey Cowan Heckaman PLLC                                 Andrea McGinnis, Esq.                            5555 San Felipe St., Suite 900                                Houston, TX 77056                                                  amcginnis@bchlaw.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Bailey Elementary Pto                                      Simon Kenton Council 441                         4900 Brandonway Dr                                            Dublin, OH 43017‐8418                                                                               First Class Mail
Chartered Organization         Bailey Gatzert Ymca                                        Chief Seattle Council 609                        1301 E Yesler Way                                             Seattle, WA 98122‐5430                                                                              First Class Mail
Chartered Organization         Bailey Masonic Lodge                                       East Carolina Council 426                        6140 E Main St                                                Bailey, NC 27807                                                                                    First Class Mail
Chartered Organization         Bailey Utd Methodist Church                                East Carolina Council 426                        Alt Hwy 264 W                                                 Bailey, NC 27807                                                                                    First Class Mail
Chartered Organization         Baileyton Ruritan Club                                     Sequoyah Council 713                             1605 Baileyton Main St                                        Greeneville, TN 37745‐7696                                                                          First Class Mail
Firm                           Bailly & McMilliam, LLP                                    John J. Bailly, esp                              244 Westchester Avenue                                        White Plains, NY 10604                                             jbailly@bandmlaw.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Bailly Preparation Academy                                 Pathway To Adventure 456                         4621 Georgia St                                               Gary, IN 46409‐2545                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 24 of 442
                                                                                    Case 20-10343-LSS                                       Doc 8171                                         Filed 01/06/22                                            Page 40 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                          Name                                                                                       Address                                                                                                             Email              Method of Service
Chartered Organization         Bailly Preparatory Academy                                  Pathway To Adventure 456                4621 Georgia St                                           Gary, IN 46409‐2545                                                                                    First Class Mail
Chartered Organization         Bainbridge ‐ Afton Lodge 167                                Baden‐Powell Council 368                1892 County Rd 39                                         Bainbridge, NY 13733‐4202                                                                              First Class Mail
Chartered Organization         Bainbridge Fire Co                                          Pennsylvania Dutch Council 524          34 S 2nd St                                               Bainbridge, PA 17502‐9012                                                                              First Class Mail
Chartered Organization         Bainbridge Rotary Club                                      Suwannee River Area Council 664         Charter House Inn                                         Us Hwy 27                          Bainbridge, GA 39819                                                First Class Mail
Chartered Organization         Baird School Pto                                            Bay‐Lakes Council 635                   539 Laverne Dr                                            Green Bay, WI 54311‐5720                                                                               First Class Mail
Chartered Organization         Baiting Hollow Scout Camp                                   Suffolk County Council Inc 404          1774 Sound Ave                                            Calverton, NY 11933‐1038                                                                               First Class Mail
Chartered Organization         Baker County Sheriff'S Office                               North Florida Council 087               1 Sheriffs Office Dr                                      Macclenny, FL 32063‐8833                                                                               First Class Mail
Chartered Organization         Baker Elementary Home & School                              Silicon Valley Monterey Bay 055         4845 Bucknall Rd                                          San Jose, CA 95130‐2021                                                                                First Class Mail
Chartered Organization         Baker Elks 338                                              Blue Mountain Council 604               1986 2nd St                                               Baker City, OR 97814                                                                                   First Class Mail
Chartered Organization         Baker Jrotc Group Of Citizens                               Mobile Area Council‐Bsa 004             8901 Airport Blvd                                         Mobile, AL 36608‐9503                                                                                  First Class Mail
Chartered Organization         Baker Memorial Methodist Church                             Greater Niagara Frontier Council 380    Main & Center St                                          East Aurora, NY 14052                                                                                  First Class Mail
Voting Party                   Baker Memorial United Methodist Church                      Attn: Pastor                            345 Main St                                               East Aurora, NY 14052                                                  rev.jloeser@bakerchurch.org     Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Baker Memorial Utd Methodist Church                         Three Fires Council 127                 307 Cedar Ave                                             Saint Charles, IL 60174‐2027                                                                           First Class Mail
Chartered Organization         Baker Real Estate & Investment                              Greater Yosemite Council 059            610 13th St                                               Modesto, CA 95354‐2436                                                                                 First Class Mail
Voting Party                   Baker Umc                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bakersfield City Fire Dept                                  Southern Sierra Council 030             2101 H St                                                 Bakersfield, CA 93301‐3921                                                                             First Class Mail
Chartered Organization         Bakersfield Police Dept                                     Southern Sierra Council 030             1601 Truxtun Ave                                          Bakersfield, CA 93301‐5109                                                                             First Class Mail
Chartered Organization         Bakerstown Presbyterian                                     Laurel Highlands Council 527            5825 Heckert Rd                                           Bakerstown, PA 15007                                                                                   First Class Mail
Voting Party                   Bakerstown United Methodist Church (95285)                  c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bakerstown Utd Methodist Church                             Laurel Highlands Council 527            5760 William Flynn Hwy                                    Gibsonia, PA 15044‐9560                                                                                First Class Mail
Chartered Organization         Bakersville Utd Methodist Church                            Daniel Boone Council 414                117 S Mitchell Ave                                        Bakersville, NC 28705                                                                                  First Class Mail
Voting Party                   Bakerville Umc                                              No                                      1087 Litchfield Tpk                                       New Hartford, CT 06057                                                 bayettep@gmail.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Balboa Academy                                              National Capital Area Council 082       P.O. Box 25207                                            Miami, FL 33102‐5207                                                                                   First Class Mail
Chartered Organization         Balboa Parent Teacher Group                                 Inland Northwest Council 611            3010 W Holyoke Ave                                        Spokane, WA 99208‐4635                                                                                 First Class Mail
Chartered Organization         Balboa Power Squadron                                       Orange County Council 039               P.O. Box 1603                                             Newport Beach, CA 92659‐0603                                                                           First Class Mail
Voting Party                   Bald Eagle United Methodist Church (176542)                 c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bald Eagle United Methodist Church (176542)                 c/o Bentz Law Firm                      Attn: Sean Bollman                                        680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bald Eagle Utd Methodist Church                             Laurel Highlands Council 527            2862 Bald Eagle Pike                                      Tyrone, PA 16686‐7741                                                                                  First Class Mail
Voting Party                   Bald Eagle Valley Community Umc (6403)                      c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bald Eagle Valley Community Umc (6403)                      c/o Bentz Law Firm                      Attn: Sean Bollman                                        680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bald Knob Rotary Club                                       Quapaw Area Council 018                 P.O. Box 915                                              Bald Knob, AR 72010‐0915                                                                               First Class Mail
Chartered Organization         Bald Mountain Baptist Church                                Old Hickory Council 427                 1435 Bald Mountain Rd                                     West Jefferson, NC 28694‐7104                                                                          First Class Mail
Chartered Organization         Bald Ridge Lodge                                            Northeast Georgia Council 101           562 Lakeland Plz 302                                      Cumming, GA 30040‐2783                                                                                 First Class Mail
Chartered Organization         Baldwin Boys Assoc                                          Theodore Roosevelt Council 386          1990 Grove St                                             North Baldwin, NY 11510‐2630                                                                           First Class Mail
Chartered Organization         Baldwin Community U M Church                                Laurel Highlands Council 527            5001 Baptist Rd                                           Pittsburgh, PA 15236‐1717                                                                              First Class Mail
Voting Party                   Baldwin Community Umc (101104)                              c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Baldwin Concerned Parents ‐ Troop 277                       Greater Los Angeles Area 033            900 S Almansor St                                         Alhambra, CA 91801‐4854                                                                                First Class Mail
Chartered Organization         Baldwin County Sheriff Office                               Mobile Area Council‐Bsa 004             310 Hand Ave                                              Bay Minette, AL 36507‐4500                                                                             First Class Mail
Voting Party                   Baldwin Memorial United Methodist Church                    Attn: Treasurer, Bmumc                  921 Generals Hwy                                          Millersville, MD 21108                                                 bmumcoffice@yahoo.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Baldwin Park Police Dept                                    Greater Los Angeles Area 033            14403 Pacific Ave                                         Baldwin Park, CA 91706‐4226                                                                            First Class Mail
Chartered Organization         Baldwin Utd Methodist Church                                North Florida Council 087               51 Chestnut St S                                          Baldwin, FL 32234‐1805                                                                                 First Class Mail
Voting Party                   Baldwinsville First United Methodist Church                 Attn: William Mudge                     17 W Genesee St                                           Baldwinsville, NY 13027                                                secretary@bvillefirstumc.org    Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Baldy Mesa Scouting Booster Club                            California Inland Empire Council 045    P.O. Box 293885                                           Phelan, CA 92329‐3885                                                                                  First Class Mail
Voting Party                   Baldy Mountain Welding                                      Rt 1 Box 39A                            Springer, NM 87747                                                                                                                                               First Class Mail
Chartered Organization         Balfour Beatty                                              Pikes Peak Council 060                  6800 Prussman Blvd                                        Fort Carson, CO 80913                                                                                  First Class Mail
Chartered Organization         Balfour Beatty Communities                                  Narragansett 546                        8 Constitution Ave                                        Middletown, RI 02842‐4737                                                                              First Class Mail
Chartered Organization         Ball Camp Baptist Church                                    Great Smoky Mountain Council 557        2412 Ball Camp Byington Rd                                Knoxville, TN 37931‐3801                                                                               First Class Mail
Chartered Organization         Ball Ground Masonic Lodge 261 F&Am                          Atlanta Area Council 092                P.O. Box 383                                              Ball Ground, GA 30107‐0383                                                                             First Class Mail
Voting Party                   Ball Ground United Methodist Church ‐ Ball Ground           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Ballard Elks Lodge 827                                      Chief Seattle Council 609               6411 Seaview Ave Nw                                       Seattle, WA 98107‐2666                                                                                 First Class Mail
Chartered Organization         Ballard Hudson Middle School Jlc                            Central Georgia Council 096             1070 Anthony Rd                                           Macon, GA 31204‐6210                                                                                   First Class Mail
Chartered Organization         Ballard Troop & Crew Youth                                  Charitable Assoc                        610 N 125th St                                            Seattle, WA 98133‐8014                                                                                 First Class Mail
Voting Party                   Ballard Vale United Church                                  Attn: James W Mcleod Jr                 126 North St                                              Methuen, MA 01844                                                      James.w.mcleodjr@gmail.com      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Ballard Vale United Church                                  Attn: Jeff Harmon, Treasurer            23 Clark Rd                                               Andover, MA 01810                                                      james.w.mcleodjr@gmail.com      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Ballast Group                                               California Inland Empire Council 045    200 Exeter Way                                            Corona, CA 92882‐8504                                                                                  First Class Mail
Chartered Organization         Ballena Bay Yacht Club                                      Piedmont Council 042                    1150 Ballena Blvd                                         Alameda, CA 94501‐3685                                                                                 First Class Mail
Chartered Organization         Ballet Folklorico El Mestizaje                              Greater Yosemite Council 059            4825 Wild Rose Dr                                         Salida, CA 95368‐9757                                                                                  First Class Mail
Chartered Organization         Ballinger Rotary Club                                       Texas Southwest Council 741             P.O. Box 245                                              Ballinger, TX 76821‐0245                                                                               First Class Mail
Voting Party                   Balls Mills Umc (184303)                                    c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Ballston Lake Vol Fire Dept                                 Twin Rivers Council 364, Route 146A     Ballston Lake, NY 12019                                                                                                                                          First Class Mail
Voting Party                   Ballston Spa United Methodist Church                        Attn: George Edward Wilson              131 Juniper Dt                                            Ballston Spa, NY 12020                                                 geowiljr@gmail.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Ballston Spa United Methodist Church                        Attn: George E Wilson Jr                101 Milton Ave                                            Ballston Spa, NY 12020                                                 bsumc@albany.twcbc.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Ballwin Police Dept                                         Greater St Louis Area Council 312       300 Vlasis Park Dr                                        Ballwin, MO 63011‐3717                                                                                 First Class Mail
Chartered Organization         Balmoral Presbyterian Church                                Chickasaw Council 558                   P.O. Box 17309                                            Memphis, TN 38187‐0309                                                                                 First Class Mail
Chartered Organization         Balsam St Christian Church                                  Bay‐Lakes Council 635                   324 Balsam St                                             Kingsford, MI 49802‐5208                                                                               First Class Mail
Chartered Organization         Baltic Lutheran Church                                      Sioux Council 733                       P.O. Box 198                                              Baltic, SD 57003‐0198                                                                                  First Class Mail
Chartered Organization         Baltic Volunteer Fire Dept                                  Connecticut Rivers Council, Bsa 066     22 Bushnell Hollow Rd                                     Baltic, CT 06330                                                                                       First Class Mail
Voting Party                   Baltimore Area Council Boy Scouts Of America, Inc           Attn: Todd M Brooks                     Seven Saitn Paul St, 15th Fl                              Baltimore, MD 21202                                                    tbrooks@wtplaw.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Baltimore Area Council Boy Scouts Of America, Inc           Todd M Brooks                           Seven                                                     B                                                                                                      First Class Mail
Chartered Organization         Baltimore City Juvenille Justice Court                      Baltimore Area Council 220              300 N Gay St                                              Baltimore, MD 21202‐4828                                                                               First Class Mail
Chartered Organization         Baltimore City Police Nw Dist                               Baltimore Area Council 220              5271 Reisterstown Rd                                      Baltimore, MD 21215‐5018                                                                               First Class Mail
Chartered Organization         Baltimore Civitan Club                                      Baltimore Area Council 220              P.O. Box 42193                                            Baltimore, MD 21284‐2193                                                                               First Class Mail
Chartered Organization         Baltimore Co Game Fish Protect Assn, Inc                    Baltimore Area Council 220              3400 Northwind Rd                                         Baltimore, MD 21234‐1220                                                                               First Class Mail
Voting Party                   Baltimore County Game & Fish Protective Associaton, Inc     Attn: Cornelius J Carmody               P.O. Box 302                                              Monkton, MD 21111                                                      parktonlaw@aol.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Baltimore County Police Dept                                Baltimore Area Council 220              215 Milford Mill Rd                                       Pikesville, MD 21208‐5918                                                                              First Class Mail
Chartered Organization         Baltimore County Police Dept Pc 11                          Baltimore Area Council 220              216 N Marlyn Ave                                          Baltimore, MD 21221‐3433                                                                               First Class Mail
Chartered Organization         Baltimore County Police Dept Pc 12                          Baltimore Area Council 220              1747 Merritt Blvd                                         Baltimore, MD 21222‐3223                                                                               First Class Mail
Chartered Organization         Baltimore County Police Dept Pc 2                           Baltimore Area Council 220              700 E Joppa Rd                                            Towson, MD 21286‐5505                                                                                  First Class Mail
Chartered Organization         Baltimore County Police Dept Pc 3                           Baltimore Area Council 220              606 Nicodemus Rd                                          Reisterstown, MD 21136‐6049                                                                            First Class Mail
Chartered Organization         Baltimore County Police Dept Pc 7                           Baltimore Area Council 220              111 Wight Ave                                             Cockeysville, MD 21030‐2016                                                                            First Class Mail
Chartered Organization         Baltimore County Police Dept Pc 9                           Baltimore Area Council 220              8220 Perry Hall Blvd                                      Baltimore, MD 21236‐4904                                                                               First Class Mail
Chartered Organization         Baltimore County Police Pc1                                 Baltimore Area Council 220              901 Walker Ave                                            Catonsville, MD 21228‐5327                                                                             First Class Mail
Chartered Organization         Baltimore‐ Kawasaki Sister City Ctte                        c/o Dan Young                           21306 Dunk Freeland Rd                                    Parkton, MD 21120‐9279                                                                                 First Class Mail
Chartered Organization         Baltimore Police Dept Eastern District                      Baltimore Area Council 220              1620 Edison Hwy                                           Baltimore, MD 21213‐1522                                                                               First Class Mail
Chartered Organization         Baltimore Police Dept Northeast District                    Baltimore Area Council 220              1900 Argonne Dr                                           Baltimore, MD 21218‐1626                                                                               First Class Mail
Chartered Organization         Baltimore Police Dept Northern                              Baltimore Area Council 220              2201 W Cold Spring Ln                                     Baltimore, MD 21209‐4996                                                                               First Class Mail
Chartered Organization         Baltimore Police Dept Southeast District                    Baltimore Area Council 220              5710 Eern Ave                                             Baltimore, MD 21202                                                                                    First Class Mail
Chartered Organization         Baltimore Police Dept Southern District                     Baltimore Area Council 220              10 Cherry Hill Rd                                         Baltimore, MD 21225‐1261                                                                               First Class Mail
Chartered Organization         Baltimore Police Dept Western District                      Baltimore Area Council 220              1034 N Mount St                                           Baltimore, MD 21217‐2214                                                                               First Class Mail
Voting Party                   Baltimore United Methodist Church, Inc ‐ East Bend          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Baltimore Utd Methodist Church Men                          Old Hickory Council 427                 2419 Baltimore Rd                                         East Bend, NC 27018‐7476                                                                               First Class Mail
Chartered Organization         Baltimore Utd Methodist Church Mens                         Old Hickory Council 427                 2419 Baltimore Rd                                         East Bend, NC 27018‐7476                                                                               First Class Mail
Chartered Organization         Bamberg Middle School ‐ Ai                                  Indian Waters Council 553               396 Saint Paul St                                         Orangeburg, SC 29115‐5465                                                                              First Class Mail
Voting Party                   Ban Suk United Methodist Church                             Dong Kim                                11 Powells Ln                                             Old Westbury, NY 11568                                                                                 First Class Mail
Voting Party                   Ban Suk United Methodist Church                             11 Powells Ln                           Old Westbury, NY 11568                                                                                                                                           First Class Mail
Chartered Organization         Bancroft Elementary Parent Faculty Club                     Mt Diablo‐Silverado Council 023         2200 Parish Dr                                            Walnut Creek, CA 94598‐1524                                                                            First Class Mail
Voting Party                   Bancroft United Methodist Church                            Attn: Terry Holzhausen                  101 S Beach St                                            P.O. Box 175                       Bancroft, MI 48414                  bancroft@gfn.org                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Band Of Brothers                                            Capitol Area Council 564                4010 Sam Bass Rd                                          Round Rock, TX 78681‐1569                                                                              First Class Mail
Chartered Organization         Bang Elementary Pto                                         Sam Houston Area Council 576            8900 Rio Grande Dr                                        Houston, TX 77064‐7137                                                                                 First Class Mail
Voting Party                   Bangall Umc                                                 Attn: Christine Lindeberg               96 Martin Rd                                              Pleasant Valley, NY 12569                                              clindeberg@drew.edu             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bangor Elementary Parent‐Teacher Org                        Gateway Area 624                        Bangor, WI 54614                                                                                                                                                 First Class Mail
Chartered Organization         Bangor Elks Lodge 244                                       Katahdin Area Council 216               108 Odlin Rd                                              Bangor, ME 04401‐6704                                                                                  First Class Mail
Voting Party                   Bangor First United Methodist Church                        Attn: Steven Smith                      34 Hamlin St                                              Orono, ME 04473                                                        stevensmith@alumni.duke.edu     Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bangor First United Methodist Church                        Attn: Steven Wayne Smith                703 Essex St                                              Bangor, ME 04401                                                       stevensmith@alumni.duke.edu     Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bangor Lions Club                                           Southern Shores Fsc 783                 P.O. Box 13                                               Bangor, MI 49013‐0013                                                                                  First Class Mail
Chartered Organization         Bangor Police Dept                                          Katahdin Area Council 216               240 Main St                                               Bangor, ME 04401‐6458                                                                                  First Class Mail
Voting Party                   Bangor Simpson United Methodist Church                      Attn: Edward E Alderman                 507 Joy St                                                Bangor, MI 49017                                                       simpsonumcbangor@gmail.com      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bangor Twp Firefighters 1682                                Water and Woods Council 782             1000 W North Union St                                     Bay City, MI 48706‐3527                                                                                First Class Mail
Voting Party                   Bangs First United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bangs First United Methodist Church                         301 S 1st St                            Bangs, TX 76823                                                                                                                                                  First Class Mail
Chartered Organization         Bank Of Lincoln County                                      Middle Tennessee Council 560            307 College St                                            Fayetteville, TN 37334                                                                                 First Class Mail
Chartered Organization         Bankhead Boys Assoc                                         Atlanta Area Council 092                1281 Fulton Industrial Blvd Nw                            Atlanta, GA 30336‐1527                                                                                 First Class Mail
Voting Party                   Banks Law Firm, P.A.                                        Michael Banks                           108 S Washington Ave                                      Brownsville, TN 38012                                                  michael@bankslawfirm.net        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Banks Sunset Park Assoc, Inc                                Cascade Pacific Council 492             12765 NW Main St                                          Banks, OR 97106‐9083                                                                                   First Class Mail
Chartered Organization         Banks United Methodist Church                               Attn: Joe Callagher                     2342 NC Hwy 96                                            Frankllinton, NC 27525                                                                                 First Class Mail
Chartered Organization         Banks Utd Methodist Church                                  Occoneechee 421                         2362 Nc Hwy 96                                            Franklinton, NC 27525                                                                                  First Class Mail
Chartered Organization         Banks Utd Methodist Church                                  Occoneechee 421                         2632 Nc Hwy 96                                            Franklinton, NC 27525‐7680                                                                             First Class Mail
Chartered Organization         Banneker Elementary School At Marquette                     Pathway To Adventure 456                6401 Hemlock Ave                                          Gary, IN 46403‐1170                                                                                    First Class Mail
Chartered Organization         Banner Elk Kiwanis Club                                     Daniel Boone Council 414                P.O. Box 2321                                             Banner Elk, NC 28604‐2321                                                                              First Class Mail
Chartered Organization         Banner Pto                                                  W D Boyce 138                           12610 N Allen Rd                                          Dunlap, IL 61525‐9415                                                                                  First Class Mail
Chartered Organization         Banning Lewis Ranch Academy                                 Pikes Peak Council 060                  7094 Cottonwood Tree Dr                                   Colorado Springs, CO 80927‐5000                                                                        First Class Mail
Chartered Organization         Banning Police Dept                                         California Inland Empire Council 045    125 E Ramsey St                                           Banning, CA 92220‐4839                                                                                 First Class Mail
Chartered Organization         Bannockburn Baptist Church                                  Capitol Area Council 564                7100 Brodie Ln                                            Austin, TX 78745‐5012                                                                                  First Class Mail
Chartered Organization         Bannockburn Elementary School Pta                           National Capital Area Council 082       6520 Dalroy Ln                                            Bethesda, MD 20817‐5410                                                                                First Class Mail
Chartered Organization         Bantam Fire Dept                                            Connecticut Rivers Council, Bsa 066     P.O. Box 456                                              Bantam, CT 06750‐0456                                                                                  First Class Mail
Chartered Organization         Baptist ‐ Arco Baptist Community Church                     Grand Teton Council 107                 402 W Grand Ave                                           Arco, ID 83213‐4903                                                                                    First Class Mail
Chartered Organization         Baptist ‐ First Baptist Church                              Grand Teton Council 107                 P.O. Box 872                                              Jackson, WY 83001‐0872                                                                                 First Class Mail
Chartered Organization         Baptist ‐ First Baptist Church                              Grand Teton Council 107                 P.O. Box 1167                                             Jackson, WY 83001‐1167                                                                                 First Class Mail
Chartered Organization         Baptist Community Church Of Loyalton                        Nevada Area Council 329                 P.O. Box 93                                               Loyalton, CA 96118‐0093                                                                                First Class Mail
Chartered Organization         Baptist First Baptist Church                                Of W Yellowstone                        P.O. Box 148                                              West Yellowstone, MT 59758‐0148                                                                        First Class Mail
Chartered Organization         Baptist Health Paducah                                      Lincoln Heritage Council 205            2501 Kentucky Ave                                         Paducah, KY 42003‐3813                                                                                 First Class Mail
Chartered Organization         Baptist Healthcare System                                   Lincoln Heritage Council 205            1025 New Moody Ln                                         Lagrange, KY 40031‐9154                                                                                First Class Mail
Chartered Organization         Baptist Medical Center                                      Tukabatchee Area Council 005            2105 E South Blvd                                         Montgomery, AL 36116‐2409                                                                              First Class Mail
Chartered Organization         Baptist Temple                                              Buckskin 617                            Quarrier & Morris St                                      Charleston, WV 25301                                                                                   First Class Mail
Chartered Organization         Baptist Temple Church                                       Buckskin 617                            902 21st St                                               Huntington, WV 25703‐1812                                                                              First Class Mail
Chartered Organization         Bar Harbor Masonic Lodge 185                                Katahdin Area Council 216               110 Main St                                               Bar Harbor, ME 04609‐1873                                                                              First Class Mail
Chartered Organization         Barack & Michelle Obama Academy                             Atlanta Area Council 092                970 Martin St Se                                          Atlanta, GA 30315‐1933                                                                                 First Class Mail
Chartered Organization         Barack Obama Elementary Magnet                              Atlanta Area Council 092                3132 Clifton Rd                                           Atlanta, GA 30316                                                                                      First Class Mail
Chartered Organization         Barbara A Sizemore Academy                                  Pathway To Adventure 456                1540 W 84th St                                            Chicago, IL 60620‐3918                                                                                 First Class Mail
Voting Party                   Barbara Clarke                                              772 Lexington Pike                      Maysville, KY 41056                                                                                                              mattsanning1@gmail.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Barbara Goleman Senior High School                          South Florida Council 084               14100 NW 89th Ave                                         Miami Lakes, FL 33018‐1384                                                                             First Class Mail
Chartered Organization         Barbara Hawkins Elementary                                  South Florida Council 084               19010 NW 37th Ave                                         Miami Gardens, FL 33056‐2957                                                                           First Class Mail
Chartered Organization         Barbara Jordan Elementary School                            Circle Ten Council 571                  1111 W Kiest Blvd                                         Dallas, TX 75224‐3230                                                                                  First Class Mail
Chartered Organization         Barbara Jordan Elementary School                            Circle Ten Council 571                  1111 W Kiest Blvd                                         Dallas, TX 75224‐3230                                                                                  First Class Mail
Chartered Organization         Barbara S Austin Elementary P.T.O.                          Circle Ten Council 571                  161 S Moore Rd                                            Coppell, TX 75019‐5750                                                                                 First Class Mail
Chartered Organization         Barbee Memorial Presbyterian Church                         Heart of America Council 307            501 Tiger Dr                                              Excelsior Springs, MO 64024‐9607                                                                       First Class Mail
Chartered Organization         Barberton Church Of God                                     Great Trail 433                         885 N Summit St                                           Barberton, OH 44203‐1145                                                                               First Class Mail
Chartered Organization         Barberton Moose Lodge 759                                   Great Trail 433                         250 31st St Nw                                            Barberton, OH 44203‐6739                                                                               First Class Mail
Chartered Organization         Barbor Institut Kosmetickstudio                             Beauty & Balance                        Transatlantic Council, Bsa 802                            Beauty and Balance                 Poststr 2                 Germany                                   First Class Mail
Chartered Organization         Barbour Language Pto                                        Blackhawk Area 660                      1506 Clover Ave                                           Rockford, IL 61102‐3100                                                                                First Class Mail
Chartered Organization         Barboursville Lion'S Club                                   Buckskin 617                            1178 Union Ave                                            Barboursville, WV 25504‐1913                                                                           First Class Mail
Chartered Organization         Barclay Elementary School                                   Baltimore Area Council 220              2900 Barclay St                                           Baltimore, MD 21218‐4117                                                                               First Class Mail
Voting Party                   Bardsdale United Methodist Church                           Attn: Mark Hurd, Treasurer              1498 Bardsdale Ave                                        Fillmore, CA 93015                                                     hurdme@earthlink.net            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bardstown Elementary School                                 Lincoln Heritage Council 205            308 N 5th St                                              Bardstown, KY 40004‐1406                                                                               First Class Mail
Chartered Organization         Bardstown High School                                       Lincoln Heritage Council 205            400 N 5th St                                              Bardstown, KY 40004‐1616                                                                               First Class Mail
Chartered Organization         Bardstown Middle School                                     Lincoln Heritage Council 205            410 N 5th St                                              Bardstown, KY 40004‐1616                                                                               First Class Mail
Voting Party                   Bardstown United Methodist Church                           Attn: Howard Mark Pulliam               116 E Flaget Ave                                          Bardstown, KY 40004                                                    mpulliam@bardstown.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bardstown Utd Methodist Church                              Lincoln Heritage Council 205            116 E Flaget St                                           Bardstown, KY 40004‐1518                                                                               First Class Mail
Chartered Organization         Bare Memorial Church Of God                                 Laurel Highlands Council 527            500 E Main St                                             Roaring Spring, PA 16673‐1318                                                                          First Class Mail
Voting Party                   Bare Necessities, LLC                                       c/o Michelle L Bare                     P.O. Box 1309                                             Crab Orchard, WV 25827‐1309                                                                            First Class Mail
Chartered Organization         Barfield Elementary School Pto                              Middle Tennessee Council 560            350 Veterans Pkwy                                         Murfreesboro, TN 37128‐6421                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 25 of 442
                                                                                    Case 20-10343-LSS                                                 Doc 8171                                         Filed 01/06/22                                                   Page 41 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                          Name                                                                                                 Address                                                                                                                   Email                          Method of Service
Chartered Organization         Bark River‐Harris Parent Teachers Org                               Bay‐Lakes Council 635                   P.O. Box 350                                                Harris, MI 49845‐0350                                                                                                    First Class Mail
Chartered Organization         Barkdull Financial Group                                            Grand Teton Council 107                 109 Tollgate Pl                                             Idaho Falls, ID 83404‐8437                                                                                               First Class Mail
Chartered Organization         Barker Fire Dept Volunteer                                          Iroquois Trail Council 376              1660 Quaker Rd                                              Barker, NY 14012‐9616                                                                                                    First Class Mail
Chartered Organization         Barker Lions Club                                                   Iroquois Trail Council 376              P.O. Box 123                                                Barker, NY 14012‐0123                                                                                                    First Class Mail
Firm                           Barket Epstein Kearon Aldea & Lo Turco, LLP                         Alexander Klein, Esq                    666 Old Country Road, Ste 700                               Garden City, NY 11530                                                      arklein@barketepstein.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Barkley Home & School Assn                                          Chester County Council 539              320 2nd Ave                                                 Phoenixville, PA 19460‐3819                                                                                              First Class Mail
Chartered Organization         Barks Youth Foundation                                              Occoneechee 421                         1401 Acres Way                                              Raleigh, NC 27614‐9691                                                                                                   First Class Mail
Chartered Organization         Barling Pta                                                         Westark Area Council 016                1400 D St                                                   Barling, AR 72923‐2444                                                                                                   First Class Mail
Voting Party                   Barlow Designs, Inc                                                 20 Commercial Way                       East Providence, RI 02914                                                                                                              jackie@barlowdesigns.com                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Barlow Umc                                                          Attn: Barbara Wells                     539 Greenland Ave                                           Barlow, KY 42024                                                           bawells1@live.com                             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Barlow Utd Methodist Church                                         Lincoln Heritage Council 205            198 S 5th St                                                Barlow, KY 42024                                                                                                         First Class Mail
Chartered Organization         Barlow Volunteer Fire Dept                                          Muskingum Valley Council, Bsa 467       P.O. Box 121                                                Barlow, OH 45712‐0121                                                                                                    First Class Mail
Chartered Organization         Barnard Fire Dept                                                   Seneca Waterways 397                    3084 Dewey Ave                                              Rochester, NY 14616‐3729                                                                                                 First Class Mail
Voting Party                   Barnard Memorial United Methodist Church                            Attn: Robert Foos                       P.O. Box 784                                                Holdenville, OK 74848                                                      BarnardMemorial@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Barnard School P T O                                                Connecticut Rivers Council, Bsa 066     27 Shaker Rd                                                Enfield, CT 06082‐3100                                                                                                   First Class Mail
Chartered Organization         Barnard School P T O                                                Great Lakes Fsc 272                     3601 Forge Dr                                               Troy, MI 48083‐5637                                                                                                      First Class Mail
Chartered Organization         Barnard Utd Methodist Ch.‐Holdenville                               Last Frontier Council 480               P.O. Box 784                                                Holdenville, OK 74848‐0784                                                                                               First Class Mail
Chartered Organization         Barnegat Fire Dept                                                  Jersey Shore Council 341                11 Birdsall St                                              Barnegat, NJ 08005                                                                                                       First Class Mail
Voting Party                   Barnerville United Methodist Church                                 Attn: Nancylee Harrington               696 Grovenors Corners Rd                                    Cobleskill, NY 12043                                                       dlhjrnlmh@yahoo.com                           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Barnes Jewish Hospital                                              Greater St Louis Area Council 312       1 Barnes Jewish Hospital Plz                                Saint Louis, MO 63110‐1003                                                                                               First Class Mail
Chartered Organization         Barnes Lake Club                                                    Water and Woods Council 782             375 Peninsula Dr                                            Columbiaville, MI 48421                                                                                                  First Class Mail
Voting Party                   Barnesville First Untied Methodist                                  375 Thomaston St                        Barnesville, GA                                                                                                                                                                      First Class Mail
Voting Party                   Barnesville First Untied Methodist ‐ Barnesville                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200                 Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Firm                           Barney DeBrosse, LLC                                                Adam T. Barney                          503 S Front Street, Suite 240B                              Columbus, OH 43215                                                         adam@barneydebrosse.com                       Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Barnhart School                                                     Greater Los Angeles Area 033            240 W Colorado Blvd                                         Arcadia, CA 91007‐2606                                                                                                   First Class Mail
Voting Party                   Barnitz United Methodist Church (177763)                            c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200               Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Barnstable Amateur Radio Club                                       Cape Cod and Islands Cncl 224           77 Agnes Rd                                                 South Dennis, MA 02660‐2814                                                                                              First Class Mail
Chartered Organization         Barnstead Fire And Rescue                                           Daniel Webster Council, Bsa 330         P.O. Box 117                                                Barnstead, NH 03218‐0117                                                                                                 First Class Mail
Chartered Organization         Barnum Fire Dept                                                    Voyageurs Area 286                      P.O. Box 257                                                Barnum, MN 55707                                                                                                         First Class Mail
Chartered Organization         Barnum Volunteer Fire Dept                                          Voyageurs Area 286                      3842 Church St                                              Barnum, MN 55707‐8775                                                                                                    First Class Mail
Voting Party                   Barnwell United Methodist Church                                    Attn: Francis Edward Traxler Jr         236 Main St                                                 Barnwell, SC 29812                                                         fetraxlerjr@umcsc.org                         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Barnwell United Methodist Church                                    Attn: Rev Francis Edward Traxler Jr     653 Washington St                                           Barnwell, SC 29812                                                         fetraxlerjr@umcsc.org                         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Barnwell Utd Methodist Church                                       Georgia‐Carolina 093                    P.O. Box 126                                                Barnwell, SC 29812‐0126                                                                                                  First Class Mail
Chartered Organization         Barrack Obama Elementary School Pto                                 Greater St Louis Area Council 312       2505 Kienlen Ave                                            Saint Louis, MO 63121‐5512                                                                                               First Class Mail
Voting Party                   Barrackville United Methodist Church                                Attn: Sharon Gump, Treasurer            P.O. Box 186                                                Barrackville, WV 26559                                                                                                   First Class Mail
Chartered Organization         Barre Congregational Ch                                             Green Mountain 592                      35 Church St                                                Barre, VT 05641‐4229                                                                                                     First Class Mail
Chartered Organization         Barre‐American Legion Post 2                                        Heart of New England Council 230        450 S Barre Rd                                              Barre, MA 01005                                                                                                          First Class Mail
Chartered Organization         Barre‐Congregational Church                                         Heart of New England Council 230        Park St                                                     Barre, MA 01005                                                                                                          First Class Mail
Chartered Organization         Barren County Evening Lions Club                                    Lincoln Heritage Council 205            457 Owen Rd                                                 Glasgow, KY 42141‐8027                                                                                                   First Class Mail
Chartered Organization         Barrett Elementary                                                  Greater Alabama Council 001             7601 Div Ave                                                Birmingham, AL 35206‐4212                                                                                                First Class Mail
Chartered Organization         Barrett Elementary Pta                                              Greater Alabama Council 001             7601 Div Ave                                                Birmingham, AL 35206‐4212                                                                                                First Class Mail
Chartered Organization         Barretts School Pto                                                 Greater St Louis Area Council 312       1780 Carman Rd                                              Manchester, MO 63021‐7169                                                                                                First Class Mail
Chartered Organization         Barrington Congregational Church Ucc                                Narragansett 546                        461 County Rd                                               Barrington, RI 02806‐2423                                                                                                First Class Mail
Chartered Organization         Barrington Elementary School Pta                                    Greater St Louis Area Council 312       15600 Old Halls Ferry Rd                                    Florissant, MO 63034‐3382                                                                                                First Class Mail
Chartered Organization         Barrington Firemans Assoc                                           Daniel Webster Council, Bsa 330         774 Route 9 Franklin Pierce Hwy                             Barrington, NH 03825                                                                                                     First Class Mail
Chartered Organization         Barrington Lions Club                                               Pathway To Adventure 456                421 W Main St                                               Barrington, IL 60010                                                                                                     First Class Mail
Chartered Organization         Barrington Middle School                                            Narragansett 546                        261 Middle Hwy                                              Barrington, RI 02806‐2335                                                                                                First Class Mail
Chartered Organization         Barrington Police Dept.                                             Pathway To Adventure 456                400 N Northwest Hwy                                         Barrington, IL 60010                                                                                                     First Class Mail
Chartered Organization         Barrington Rifle Club                                               Seneca Waterways 397                    2401 Gray Rd                                                Penn Yan, NY 14527                                                                                                       First Class Mail
Voting Party                   Barrington United Methodist Church                                  98 Algonquin Rd                         Barrington, IL 60010                                                                                                                   bumctrustees@barringtonumc.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Barrington United Methodist Church                                  Attn: Michael Williams                  230 Washington Rd                                           Barrington, RI 02806                                                       bumcchurchoffice@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Barron Kiwanis Club                                                 Chippewa Valley Council 637             General Delivery                                            Barron, WI 54812                                                                                                         First Class Mail
Chartered Organization         Barron Park Assoc                                                   Pacific Skyline Council 031             3875 El Centro St                                           Palo Alto, CA 94306‐2644                                                                                                 First Class Mail
Voting Party                   Barrow Community Church, 1385 Harmony Grove Church Rd, Aubur        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200                 Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Barrow County Sheriffs Office                                       Northeast Georgia Council 101           30 N Broad St                                               Winder, GA 30680‐1962                                                                                                    First Class Mail
Chartered Organization         Barrows School Pto                                                  The Spirit of Adventure 227             29 Edgemont Ave                                             Reading, MA 01867‐2217                                                                                                   First Class Mail
Chartered Organization         Barry American Legion Post 222                                      Mississippi Valley Council 141 141      P.O. Box 154                                                Barry, IL 62312‐0154                                                                                                     First Class Mail
Chartered Organization         Barry Christian Church                                              Heart of America Council 307            1500 NW Barry Rd                                            Kansas City, MO 64155‐2714                                                                                               First Class Mail
Voting Party                   Barry Lynn Mccune                                                   158 Pack Fork Rd                        Lizemores, WV 25125                                                                                                                                                                  First Class Mail
Voting Party                   Barry United Methodist Church                                       Martin Pike                             1930 Jefferson St                                           Quincy, IL 62301                                                           pastormartypike@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Barry United Methodist Church                                       Martin Pike, P.O. Box 224               Hull, IL 62343                                                                                                                         pastormartypike@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Barryton Church Of God                                              President Gerald R Ford 781             P.O. Box 222                                                Barryton, MI 49305‐0222                                                                                                  First Class Mail
Chartered Organization         Barstow Fire Protection District                                    California Inland Empire Council 045    861 Barstow Rd                                              Barstow, CA 92311‐3903                                                                                                   First Class Mail
Chartered Organization         Barstow Police Dept                                                 California Inland Empire Council 045    220 E Mountain View St                                      Barstow, CA 92311‐7304                                                                                                   First Class Mail
Chartered Organization         Bart Centenary, Umc                                                 New Birth of Freedom 544                50 E King St                                                Littlestown, PA 17340‐1612                                                                                               First Class Mail
Chartered Organization         Bart Centenary, Umc                                                 New Birth of Freedom 544                50 E King St                                                Littlestown, PA 17340‐1612                                                                                               First Class Mail
Voting Party                   Bart David Warren                                                   8 E Fletchall St                        Poseyville, IN 47633                                                                                                                   david.warren@inumc.org                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bart Police Dept                                                    San Francisco Bay Area Council 028      101 8th St                                                  Oakland, CA 94607‐4707                                                                                                   First Class Mail
Voting Party                   Bartholomew United Methodist Church                                 Attn: Paul Laird                        169 Dixon Estates Rd                                        Sterlington, LA 71280                                                      deqret07@hotmail.com                          Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bartlesville First Church                                           Attn: Patricia Gesner                   4715 Price Rd                                               Bartlesville, OK 74006                                                     patricia.gesner@bartlesvillefirstchurch.com   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bartlesville Police Dept                                            Cherokee Area Council 469 469           615 S Johnstone Ave                                         Bartlesville, OK 74003‐4631                                                                                              First Class Mail
Firm                           Bartlett & Webster                                                  John Webster                            5093 S 1500 W                                               Riverdale, UT 84405                                                                                                      First Class Mail
Chartered Organization         Bartlett Center                                                     Pony Express Council 311                409 S 18th St                                               Saint Joseph, MO 64501‐3000                                                                                              First Class Mail
Voting Party                   Bartlett Chapel United Methodist Church                             Attn: Jim Sell                          4396 E Main                                                 Avon, IN 46123                                                             jjsell28@gmail.com                            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bartlett Learning Center Clare Woods                                Three Fires Council 127                 125 E Seminary Ave                                          Wheaton, IL 60187‐5308                                                                                                   First Class Mail
Firm                           Bartlett Legal Group, LLC                                           Frank C. Bartlett, Jr.                  36 Wallingford Rd                                           Cheshire, CT 06410                                                         frank@bartlettlegalgroup.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bartlett Memorial Umc                                               Attn: Rev. Angela L. Rotherham          P.O. Box 5222                                               North Jay, ME 04262                                                        pastorwayneumc@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bartlett United Methodist Church, Inc.                              Attn: Rachel Hasty                      5676 Stage Rd                                               Bartlett, TN 38134                                                                                                       First Class Mail
Chartered Organization         Bartlett Woods Church Of Christ                                     Chickasaw Council 558                   7900 Old Brownsville Rd                                     Bartlett, TN 38002‐7963                                                                                                  First Class Mail
Chartered Organization         Bartlett Youth Foundation                                           Three Harbors Council 636               1120 N Stuart Rd                                            Mount Pleasant, WI 53406                                                                                                 First Class Mail
Voting Party                   Barton Chapel United Methodist Church (86190)                       c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200               Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bartonville United Methodist Church                                 6005 Adams St                           Bartonville, IL 61607                                                                                                                  pastorerinetotten@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bartonville Utd Methodist Church                                    W D Boyce 138                           6005 S Adams St                                             Bartonville, IL 61607‐2511                                                                                               First Class Mail
Chartered Organization         Bartow Police Dept                                                  Greater Tampa Bay Area 089              450 N Broadway Ave                                          Bartow, FL 33830‐3915                                                                                                    First Class Mail
Chartered Organization         Bartram Springs Elementary School Pta                               North Florida Council 087               14799 Bartram Springs Pkwy                                  Jacksonville, FL 32258‐6101                                                                                              First Class Mail
Voting Party                   Barts Centenary Umc (7173595600)                                    c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200               Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Barts Centenary Utd Methodist%                                      New Birth of Freedom 544                50 E King St                                                Littlestown, PA 17340‐1612                                                                                               First Class Mail
Chartered Organization         Bas Ptso                                                            Transatlantic Council, Bsa 802          Unit 8100 Box 13                                            Apo, AE 09714                                                                                                            First Class Mail
Chartered Organization         Basalt Lions Club & Aspen Elks Lodge                                Denver Area Council 061                 224 Bpoe                                                    Basalt, CO 81621                                                                                                         First Class Mail
Chartered Organization         Bascomb Methodist Church                                            Atlanta Area Council 092                2299 Bascomb Carmel Rd                                      Woodstock, GA 30189‐2458                                                                                                 First Class Mail
Voting Party                   Bascomb Umc                                                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200                 Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bascomb United Methodist Church 2295 Bascomb Carmel Rd, Woodstock   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200                 Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Base Support Group                                                  Transatlantic Council, Bsa 802          Cmr 450 Box 409                                             Apo, AE 09705                                                                                                            First Class Mail
Voting Party                   Basehor United States Methodist Church                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200                 Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Basehor United States Methodist Church                              18660 158th St                          Basehor, KS 66007                                                                                                                                                                    First Class Mail
Chartered Organization         Basehor Utd Methodist Church                                        Heart of America Council 307            18660 158th St                                              Basehor, KS 66007‐7302                                                                                                   First Class Mail
Voting Party                   Baseline United Methodist Church                                    Attn: Ruth Gohee                        9617 E Baseline Rd                                          Battle Creek, MI 49017                                                     baselineumc@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bashford United Methodist Church                                    Bashford Umc                            329 N St                                                    Madison, WI 53704                                                          bashfordumc@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bashford Utd Methodist Church                                       Glaciers Edge Council 620               329 North St                                                Madison, WI 53704‐4920                                                                                                   First Class Mail
Chartered Organization         Basil Joint Fire District                                           Simon Kenton Council 441                410 W Washington St                                         Baltimore, OH 43105‐1192                                                                                                 First Class Mail
Chartered Organization         Basilica Of Saint Mary                                              National Capital Area Council 082       310 Duke St                                                 Alexandria, VA 22314‐3734                                                                                                First Class Mail
Chartered Organization         Basilica Of St Paul                                                 Central Florida Council 083             317 Mullally St                                             Daytona Beach, FL 32114‐3105                                                                                             First Class Mail
Voting Party                   Basilica Of The Sacred Heart Of Jesus                               c/o Woods Oviatt Gilman LLP             Attn: Timothy P Lyster, Esq                                 1900 Bausch & Lomb Pl                    Rochester, NY 14604               tlyster@woodsoviatt.com                       Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Basilica Parish Of The Sacred Hearts                                c/o Cullen and Dykman LLP               Attn: Matthew G Roseman                                     100 Quentin Roosevelt Blvd               Garden City, NY 11530             MRoseman@cullenllp.com                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Basis International School Guangzhou                                Far E Council 803                       No. 8 Jiantashan Rd Science City                            Huangpu District, Guangzhou, Guangdong   China                                                                           First Class Mail
Chartered Organization         Baskervill                                                          Attn: Vickie Levy                       P.O. Box 400                                                Richmond, VA 23218‐0400                                                                                                  First Class Mail
Chartered Organization         Baskin Elementary Pta                                               Alamo Area Council 583                  630 Crestview Dr                                            San Antonio, TX 78201‐6622                                                                                               First Class Mail
Chartered Organization         Basking Ridge Presbyterian Church                                   Patriots Path Council 358               1 E Oak St                                                  Basking Ridge, NJ 07920‐1154                                                                                             First Class Mail
Voting Party                   Bass Chapel ‐ Greensboro                                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200                 Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Firm                           Bass Law, LLC                                                       Dundra Bass O'Neal, Esq.                1138 E. 72nd Street                                         Savannah, GA 31404                                                         Dondra@Bassinjurylaw.com                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bass Pro Shop                                                       Lincoln Heritage Council 205            951 E Lewis and Clark Pkwy                                  Clarksville, IN 47129‐7400                                                                                               First Class Mail
Chartered Organization         Bass Pro Shop                                                       Mid‐America Council 326                 2901 Bass Pro Dr                                            Council Bluffs, IA 51501‐7020                                                                                            First Class Mail
Chartered Organization         Bass Pro Shops Outdoor World Prattville                             Tukabatchee Area Council 005            2553 Bass Pro Blvd                                          Prattville, AL 36066                                                                                                     First Class Mail
Chartered Organization         Bassc                                                               Greater St Louis Area Council 312       2411 Pathways Xing                                          Belleville, IL 62221‐5885                                                                                                First Class Mail
Chartered Organization         Bassett Church Of The Brethren                                      Blue Ridge Mtns Council 599             34 Brethern Dr                                              Bassett, VA 24055‐5089                                                                                                   First Class Mail
Chartered Organization         Bassett Memorial Methodist Church                                   P.O. Box 4204                           Martinsville, VA 24115                                                                                                                                                               First Class Mail
Chartered Organization         Bastian Elementary School Pta                                       Sam Houston Area Council 576            5051 Bellfort St                                            Houston, TX 77033‐3826                                                                                                   First Class Mail
Chartered Organization         Bastrop Christian Church                                            Capitol Area Council 564                1106 Church St                                              Bastrop, TX 78602‐3207                                                                                                   First Class Mail
Chartered Organization         Bastrop County Sheriffs Dept                                        Capitol Area Council 564                200 Jackson St                                              Bastrop, TX 78602‐4300                                                                                                   First Class Mail
Chartered Organization         Bastrop First Utd Methodist Church                                  Capitol Area Council 564                P.O. Box 672                                                Bastrop, TX 78602‐0672                                                                                                   First Class Mail
Chartered Organization         Batavia City Police Dept                                            Iroquois Trail Council 376              10 W Main St                                                Batavia, NY 14020‐2040                                                                                                   First Class Mail
Chartered Organization         Batavia Fire Dept                                                   Three Fires Council 127                 800 E Wilson St                                             Batavia, IL 60510‐2205                                                                                                   First Class Mail
Chartered Organization         Batavia Lions Club                                                  Three Fires Council 127                 1270 North Ave                                              Batavia, IL 60510‐1144                                                                                                   First Class Mail
Chartered Organization         Batavia Moose Lodge 682                                             Three Fires Council 127                 1535 S Batavia Ave                                          Batavia, IL 60510‐9603                                                                                                   First Class Mail
Voting Party                   Batavia United Methodist Church                                     Attn: Jon Cunningham                    8 N Batava Ave                                              Batavia, IL 60510                                                          pastorcynthia@bataviaumc.org                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Batavia Vfw Post 1197                                               Three Fires Council 127                 P.O. Box 82                                                 Batavia, IL 60510‐0082                                                                                                   First Class Mail
Chartered Organization         Bateman Pta                                                         Pathway To Adventure 456                4220 N Richmond St                                          Chicago, IL 60618‐2616                                                                                                   First Class Mail
Chartered Organization         Bates Academy Lsco                                                  Great Lakes Fsc 272                     19701 Wyoming St                                            Detroit, MI 48221‐1519                                                                                                   First Class Mail
Chartered Organization         Bates Memorial Presbyterian Church                                  Buckskin 617                            103 Jefferson Park Dr                                       Huntington, WV 25705‐2612                                                                                                First Class Mail
Chartered Organization         Bates School Pto                                                    Mayflower Council 251                   116 Elmwood Rd                                              Wellesley, MA 02481‐1141                                                                                                 First Class Mail
Chartered Organization         Batesburg‐Leesville Fire Dept                                       Indian Waters Council 553               431 E Church St                                             Batesburg Leesville, SC 29070‐7863                                                                                       First Class Mail
Chartered Organization         Batesville Kiwanis                                                  Hoosier Trails Council 145 145          P.O. Box 4                                                  Batesville, IN 47006‐0004                                                                                                First Class Mail
Chartered Organization         Batesville Lions Club                                               Chickasaw Council 558                   P.O. Box 736                                                Batesville, MS 38606‐0736                                                                                                First Class Mail
Chartered Organization         Batesville Presbyterian Church                                      Chickasaw Council 558                   121 Eureka St                                               Batesville, MS 38606‐2525                                                                                                First Class Mail
Chartered Organization         Bath First Presbyterian Church                                      Five Rivers Council, Inc 375            6 E Morris St                                               Bath, NY 14810‐1516                                                                                                      First Class Mail
Chartered Organization         Bath Parent‐Teacher Society                                         Black Swamp Area Council 449            2300 Bible Rd                                               Lima, OH 45801                                                                                                           First Class Mail
Chartered Organization         Bath Ruritan Club                                                   East Carolina Council 426               Hwy. 92                                                     Bath, NC 27808                                                                                                           First Class Mail
Voting Party                   Bath United Methodist Church                                        Attn: Rev Gwyneth Arrison               340 Oak Grove Ave                                           Bath, ME 04530                                                                                                           First Class Mail
Chartered Organization         Bath Utd Church Of Christ                                           Great Trail 433                         3980 W Bath Rd                                              Akron, OH 44333‐1106                                                                                                     First Class Mail
Chartered Organization         Baton Rouge City Police Dept                                        Istrouma Area Council 211               9000 Airline Hwy                                            Baton Rouge, LA 70815‐4103                                                                                               First Class Mail
Voting Party                   Battle Creek Chapel Hill United Methodist Church                    Attn: Charles Miller                    157 Chapel Hill Dr                                          Battle Creek, MI 49015                                                     cerescobra@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Battle Creek Lions Club                                             Mid‐America Council 326                 P.O. Box 491                                                Battle Creek, NE 68715‐0491                                                                                              First Class Mail
Chartered Organization         Battle Creek Police Dept                                            Southern Shores Fsc 783                 20 Div St N                                                 Battle Creek, MI 49014‐4004                                                                                              First Class Mail
Chartered Organization         Battle Elementary Pta                                               Great Rivers Council 653                2600 Battle Ave                                             Columbia, MO 65202‐4083                                                                                                  First Class Mail
Chartered Organization         Battle Ground Lions Club                                            Cascade Pacific Council 492             P.O. Box 1024                                               Battle Ground, WA 98604‐1024                                                                                             First Class Mail
Voting Party                   Battle Ground United Methodist Church                               Attn: Pastor Sheri Rohrer               201 Tipton St                                               Battle Ground, IN 47920                                                    bgumc.office@gmail.com                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Battle Ground United Methodist Church                               Attn: Bobbie Simon Treasurer            201 Tipton St                                               Battle Ground, IN 47920                                                                                                  First Class Mail
Chartered Organization         Battle Ground Utd Methodist                                         Sagamore Council 162                    P.O. Box 302                                                Battle Ground, IN 47920‐0302                                                                                             First Class Mail
Chartered Organization         Battle Lake Lions Club                                              Northern Lights Council 429             P.O. Box 282                                                Battle Lake, MN 56515‐0282                                                                                               First Class Mail
Voting Party                   Battle Winslow Scott & Wiley, Pa                                    Attn: Alexander B Urquhart              2343 Professional Dr                                        Rocky Mount, NC 27804                                                      aurquhart@bwsw.com                            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Battle Winslow Scott & Wiley, Pa                                    Attn: Alexander B. Urquhart             2343 Professional Dr                                        Rocky Mount, NC 27804                                                                                                    First Class Mail
Chartered Organization         Battleground District Committee                                     Monmouth Council, Bsa 347               705 Ginesi Dr                                               Morganville, NJ 07751‐1235                                                                                               First Class Mail
Chartered Organization         Baty Elementary Lead                                                Capitol Area Council 564                2101 Faro Dr                                                Austin, TX 78741‐3361                                                                                                    First Class Mail
Chartered Organization         Bauder Elementary School Pto                                        Longs Peak Council 062                  2345 W Prospect Rd                                          Fort Collins, CO 80526‐1233                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 26 of 442
                                                                                     Case 20-10343-LSS                                            Doc 8171                                       Filed 01/06/22                                               Page 42 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                        Name                                                                                             Address                                                                                                             Email               Method of Service
Chartered Organization         Bauer Ranch                                                  Las Vegas Area Council 328                   135 Coal Mine Rd                                        Mount Carmel, UT 84755                                                                                  First Class Mail
Chartered Organization         Bauerstown Volunteer Fire Dept                               Laurel Highlands Council 527                 15 Wible Run Rd                                         Pittsburgh, PA 15209‐1551                                                                               First Class Mail
Voting Party                   Baughman Memorial Umc (178643)                               c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200            Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bausman Memorial Utd Church Of Christ                        Hawk Mountain Council 528                    1064 Penn Ave                                           Wyomissing, PA 19610                                                                                    First Class Mail
Voting Party                   Baxley First United Methodist Church                         Marandy Ann Mincey                           P.O. Box 553                                            Baxley                                                                 marandy_mincey@yahoo.com         Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Baxley First United Methodist Church                         217 S Main St                                Baxley, GA 31513                                                                                                               baxleyfirstmethodist@yahoo.com   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Baxter Church Of God                                         Middle Tennessee Council 560                 446 Elm St                                              Baxter, TN 38544‐5226                                                                                   First Class Mail
Chartered Organization         Baxter Lions Club                                            Central Minnesota 296                        14307 Oakwood Dr                                        Baxter, MN 56425‐3004                                                                                   First Class Mail
Chartered Organization         Bay Area Family Church                                       San Francisco Bay Area Council 028           2305 Washington Ave                                     San Leandro, CA 94577‐5919                                                                              First Class Mail
Chartered Organization         Bay Chapel                                                   Greater Tampa Bay Area 089                   9020 Imperial Oak Blvd                                  Tampa, FL 33647‐3293                                                                                    First Class Mail
Chartered Organization         Bay City Police Dept                                         Sam Houston Area Council 576                 2201 Ave H                                              Bay City, TX 77414‐5144                                                                                 First Class Mail
Chartered Organization         Bay County Sheriffs Office                                   Gulf Coast Council 773                       3421 Hwy 77                                             Panama City, FL 32405‐5009                                                                              First Class Mail
Chartered Organization         Bay Harbor Island Police                                     South Florida Council 084                    9665 Bay Harbor Ter                                     Bay Harbor Islands, FL 33154‐2005                                                                       First Class Mail
Voting Party                   Bay Harbour United Methodist Church                          Attn: April Freeman                          3459 Fm 518 E                                           League City, TX 77573                                                  afreeman@bayhabourumc.com        Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bay Hills Community Assoc                                    Baltimore Area Council 220                   P.O. Box 8                                              Arnold, MD 21012‐0008                                                                                   First Class Mail
Chartered Organization         Bay Hope                                                     Greater Tampa Bay Area 089                   10701 Sheldon Rd                                        Tampa, FL 33626‐5116                                                                                    First Class Mail
Chartered Organization         Bay Hope Church                                              Greater Tampa Bay Area 089                   17030 Lakeshore Rd                                      Lutz, FL 33558‐4808                                                                                     First Class Mail
Voting Party                   Bay Hope Church                                              c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bay Lane Elementary Pto                                      Potawatomi Area Council 651                  S75W16399 Hipptop Dr                                    Muskego, WI 53150                                                                                       First Class Mail
Chartered Organization         Bay Life Church Of Brandon, Inc                              Greater Tampa Bay Area 089                   1017 Kingsway Rd                                        Brandon, FL 33510‐2509                                                                                  First Class Mail
Chartered Organization         Bay Osos Kiwanis Club                                        Los Padres Council 053                       P.O. Box 6014                                           Los Osos, CA 93412‐6014                                                                                 First Class Mail
Chartered Organization         Bay Point Church                                             Southwest Florida Council 088                208 Palm Ave                                            Nokomis, FL 34275‐3928                                                                                  First Class Mail
Voting Party                   Bay Point UMC (208 Palm Ave, Nokomis, FL)                    c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Bay Presbyterian Church                                      Attn: Sharon Brumagin                        25415 Lake Rd                                           Bay Village, OH 44140                                                  sbrumagin@baypres.org            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Bay Ridge United Methodist Church                            Attn: John Donlon                            7420 4th Ave                                            New York, NY 11209                                                     info@bayridgeumc.org             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bay Ridge Volunteer Fire Co, Inc                             Twin Rivers Council 364                      1080 Bay Rd                                             Lake George, NY 12845‐4616                                                                              First Class Mail
Chartered Organization         Bay Sea Scouts, Inc                                          Lake Erie Council 440                        29560 Lake Rd                                           Bay Village, OH 44140‐1328                                                                              First Class Mail
Chartered Organization         Bay Shore Commty                                             Congregational Church                        5100 E the Toledo                                       Long Beach, CA 90803‐5539                                                                               First Class Mail
Voting Party                   Bay Shore Congregational Church                              Attn: Susie Bjork                            5100 E the Toledo                                       Long Beach, CA 90803                                                   pastorsusie@bayshorechurch.org   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bay Shore High School                                        Suffolk County Council Inc 404               155 3rd Ave                                             Bay Shore, NY 11706‐6636                                                                                First Class Mail
Chartered Organization         Bay Utd Methodist Church                                     Lake Erie Council 440                        29931 Lake Rd                                           Bay Village, OH 44140‐1238                                                                              First Class Mail
Chartered Organization         Bay Village‐Westlake Police Dept                             Lake Erie Council 440                        28000 Wolf Rd                                           Bay Village, OH 44140‐3214                                                                              First Class Mail
Chartered Organization         Bayard Middle School                                         Del Mar Va 081                               200 S Dupont St                                         Wilmington, DE 19805‐3972                                                                               First Class Mail
Chartered Organization         Bayfield Lions Club                                          Voyageurs Area 286                           1007 Washington Ave                                     Bayfield, WI 54814‐4720                                                                                 First Class Mail
Chartered Organization         Bayhealth Medical Center                                     Del Mar Va 081                               640 S State St                                          Dover, DE 19901‐3530                                                                                    First Class Mail
Voting Party                   Baylake UMC 4300 Shore Drive, Virginia Beach, VA 23455       c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Baylake Utd Methodist Church                                 Tidewater Council 596                        4300 Shore Dr                                           Virginia Beach, VA 23455‐2820                                                                           First Class Mail
Chartered Organization         Bayless Educational Support Team                             Greater St Louis Area Council 312            4530 Weber Rd                                           Saint Louis, MO 63123‐5722                                                                              First Class Mail
Chartered Organization         Baylor University                                            Longhorn Council 662                         1 Bear Pl, Unit 97340                                   Waco, TX 76798‐7340                                                                                     First Class Mail
Chartered Organization         Bayonne Police Cops In Schools Program                       Northern New Jersey Council, Bsa 333         630 Ave C                                               Bayonne, NJ 07002‐3878                                                                                  First Class Mail
Chartered Organization         Bayou City Walls System                                      Sam Houston Area Council 576                 6501 Long Point Rd                                      Houston, TX 77055‐2607                                                                                  First Class Mail
Chartered Organization         Bayou Woods Elementary School Pta                            Southeast Louisiana Council 214              35614 Liberty Dr                                        Slidell, LA 70460‐5840                                                                                  First Class Mail
Chartered Organization         Bayport Blue Point Chamber Of Commerce                       Suffolk County Council Inc 404               P.O. Box 201                                            Bayport, NY 11705‐0201                                                                                  First Class Mail
Voting Party                   Bayport Untied Methodist Church                              Attn: Pastor David Czeisel                   482 Middle Rd                                           Bayport, NY 11705                                                      senior.pastor@bayportumc.org     Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bayshore Elementary School                                   Southwest Florida Council 088                17050 Williams Rd                                       North Fort Myers, FL 33917‐6921                                                                         First Class Mail
Chartered Organization         Bayshore Gardens Community Church                            Southwest Florida Council 088                6228 26th St W                                          Bradenton, FL 34207‐4701                                                                                First Class Mail
Chartered Organization         Bayshore Medical Center                                      Monmouth Council, Bsa 347                    727 N Beers St                                          Holmdel, NJ 07733‐1514                                                                                  First Class Mail
Chartered Organization         Bayshore Owner'S Assoc                                       Great Alaska Council 610                     P.O. Box 111661                                         Anchorage, AK 99511‐1661                                                                                First Class Mail
Chartered Organization         Bayshore Presbyterian Church                                 Greater Tampa Bay Area 089                   2515 Bayshore Blvd                                      Tampa, FL 33629‐7310                                                                                    First Class Mail
Chartered Organization         Bayside Covenant Church, Inc                                 Golden Empire Council 047                    P.O. Box 2336                                           Granite Bay, CA 95746‐2336                                                                              First Class Mail
Chartered Organization         Bayside Presbyterian Church                                  Tidewater Council 596                        1400 Ewell Rd                                           Virginia Beach, VA 23455‐4908                                                                           First Class Mail
Chartered Organization         Bayside School P T O                                         Three Harbors Council 636                    601 E Ellsworth Ln                                      Milwaukee, WI 53217‐1827                                                                                First Class Mail
Voting Party                   Bayside United Methodist Church                              Attn: Romin Hong                             3820 Bell Blvd                                          Bayside, NY 11361                                                      baysideumc@yahoo.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bayville Elks Lodge 2394                                     Jersey Shore Council 341                     247 Atlantic City Blvd                                  Bayville, NJ 08721‐1216                                                                                 First Class Mail
Chartered Organization         Baywood Ruritan Club                                         Blue Ridge Mtns Council 599                  122 Grammer Ln                                          Galax, VA 24333                                                                                         First Class Mail
Chartered Organization         Bazetta Christian Church                                     Great Trail 433                              4131 Hoagland Blackstub Rd                              Cortland, OH 44410‐9524                                                                                 First Class Mail
Chartered Organization         Bazoline Usher Pta                                           Atlanta Area Council 092                     631 Harwell Rd Nw                                       Atlanta, GA 30318‐5905                                                                                  First Class Mail
Chartered Organization         Bc Holdings                                                  South Texas Council 577                      1612 Denmark Ln                                         Laredo, TX 78045‐8389                                                                                   First Class Mail
Voting Party                   Bc Sales And Sourcing                                        Attn: John Scanlon                           13712 W 80th St                                         Lenexa, KS 66215                                                       bcsalesandsourcing@gmail.com     Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Bc Sales And Sourcing                                        13712 W 80th St                              Lenexa, KS 66215                                                                                                               bcsalesandsourcing@gmail.com     Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Bca                                                          Attn: Glenn Tomohiro Inanaga                 1710 Octavia St                                         San Francisco, CA 94109                                                inanaga@gmail.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bcc Chapter Izaak Walton League America                      National Capital Area Council 082            P.O. Box 542                                            Poolesville, MD 20837‐0542                                                                              First Class Mail
Chartered Organization         Bdsr Committee                                               Longs Peak Council 062                       2215 23rd Ave                                           Greeley, CO 80634‐6632                                                                                  First Class Mail
Voting Party                   Beacerdam UMC 19338 Beaver Dam Road, Beaverdam, VA           c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Beach & Assoc                                                Las Vegas Area Council 328                   529 Seneca Ridge Ave                                    North Las Vegas, NV 89084‐1314                                                                          First Class Mail
Chartered Organization         Beach And Assoc                                              Las Vegas Area Council 328                   529 Seneca Ridge Ave                                    N Las Vegas, NV 89084‐1314                                                                              First Class Mail
Chartered Organization         Beach And Assoc                                              Las Vegas Area Council 328                   6310 Ruby Cedar Ct                                      North Las Vegas, NV 89031‐2089                                                                          First Class Mail
Voting Party                   Beach Grove UMC 4251 Driver Lane, Suffolk, VA 23434          c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Beach Haven United Methodist Church (4111)                   c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200            Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Beach Lake (30302)                                           c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200            Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Beach Lake (30302)                                           c/o Bentz Law Firm                           Attn: Sean Bollman                                      680 Washington Rd, Ste 200            Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Beach Park: York House                                       37768 N Green Bay Rd                         Beach Park, IL 60087                                                                                                           berniesbusybees@aol.com          Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Beach School Parents Org                                     Piedmont Council 042                         100 Lake Ave                                            Piedmont, CA 94611‐4340                                                                                 First Class Mail
Voting Party                   Beach United Methodist Church                                P.O. Box 1746                                41 Mill Rd                                              Westhampton Beach, NY 11978                                            jackkking@aol.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Beach United Methodist Church, Inc                           c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Beachwood Elementary School                                  Jersey Shore Council 341                     901 Berkeley Ave                                        Beachwood, NJ 08722‐4543                                                                                First Class Mail
Chartered Organization         Beachwood Police                                             Jersey Shore Council 341                     1600 Pinewald Rd                                        Beachwood, NJ 08722‐3007                                                                                First Class Mail
Chartered Organization         Beacon Academy ‐ Canton                                      Buckeye Council 436                          1379 Garfield Ave Sw                                    Canton, OH 44706‐5200                                                                                   First Class Mail
Chartered Organization         Beacon Elks Lodge 1493                                       Hudson Valley Council 374                    90 Wolcott Ave                                          Beacon, NY 12508                                                                                        First Class Mail
Chartered Organization         Beacon Falls Fire Dept                                       Connecticut Rivers Council, Bsa 066          35 N Main St                                            Beacon Falls, CT 06403‐1169                                                                             First Class Mail
Chartered Organization         Beacon Falls Rotary Club                                     Connecticut Rivers Council, Bsa 066          43 Buckingham Dr                                        Beacon Falls, CT 06403‐1406                                                                             First Class Mail
Chartered Organization         Beacon Heights Commty                                        Of Christ Church                             19402 Holke Rd                                          Independence, MO 64057                                                                                  First Class Mail
Chartered Organization         Beacon Hill Back Bay Friends Boy Scouts                      The Spirit of Adventure 227                  8 Walnut St                                             Boston, MA 02108‐1408                                                                                   First Class Mail
Voting Party                   Beacon Of Light United Methodist Church                      Attn: Treasurer                              P.O. Box 186                                            Standish, MI 48658                                                     beaconoflight19@gmail.com        Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Beacon School                                                Sequoyah Council 713                         404 Holston Dr                                          Greeneville, TN 37743‐3126                                                                              First Class Mail
Chartered Organization         Beacon Square Civic Assoc                                    Greater Tampa Bay Area 089                   3741 Bradford Dr                                        Holiday, FL 34691‐1412                                                                                  First Class Mail
Chartered Organization         Beacon Valley Grange 103 Husbandry, Inc                      Connecticut Rivers Council, Bsa 066          1354 New Haven Rd                                       Naugatuck, CT 06770‐5038                                                                                First Class Mail
Chartered Organization         Beacons Boys & Girls Club At Cole                            Denver Area Council 061                      3240 N Humboldt St                                      Denver, CO 80205‐3934                                                                                   First Class Mail
Chartered Organization         Beale First Sgt Council                                      Golden Empire Council 047, Bldg 3308         Beale Afb, CA 95903                                                                                                                                             First Class Mail
Chartered Organization         Beale Memorial Baptist Church                                Heart of Virginia Council 602                19622 Tidewater Trl                                     Tappahannock, VA 22560                                                                                  First Class Mail
Voting Party                   Bealeton‐Remington Ruritan Club                              Attn: Rick Compton                           6545 Beltrys Ct E                                       Bealeton, VA 22712                                                     rickcompton229@comcast.net       Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bealton‐Remington Ruritan Club                               National Capital Area Council 082            General Delivery                                        Remington, VA 22734                                                                                     First Class Mail
Chartered Organization         Bear Branch Elementary Pta                                   Sam Houston Area Council 576                 3500 Garden Lake Dr                                     Kingwood, TX 77339‐5502                                                                                 First Class Mail
Chartered Organization         Bear Branch P T O                                            Sam Houston Area Council 576                 8909 Fm 1488 Rd                                         Magnolia, TX 77354‐1603                                                                                 First Class Mail
Chartered Organization         Bear Canyon Ward ‐ Lds Tucson East Stake                     Catalina Council 011                         9555 E Snyder Rd                                        Tucson, AZ 85749                                                                                        First Class Mail
Chartered Organization         Bear Co Naval Jrotc                                          Lincoln Heritage Council 205                 1142 S Main St                                          Morgantown, KY 42261                                                                                    First Class Mail
Chartered Organization         Bear Creek Community Church                                  Chief Seattle Council 609                    18931 NE 143rd St                                       Woodinville, WA 98072‐6369                                                                              First Class Mail
Chartered Organization         Bear Creek Foundation                                        Northeastern Pennsylvania Council 501        1900 Bear Creek Blvd                                    Bear Creek Township, PA 18702‐9796                                                                      First Class Mail
Voting Party                   Bear Creek United Methodist Church                           Attn: Pastor M Tyler                         16000 Rippling Water Dr                                 Houston, TX 77084                                                      bcumc@bearcreekumc.org           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bear Creek Utd Methodist Church                              Chief Seattle Council 609                    16530 Avondale Rd Ne                                    Woodinville, WA 98077‐9178                                                                              First Class Mail
Chartered Organization         Bear Grass Ruritan Club                                      East Carolina Council 426                    General Delivery                                        Williamston, NC 27892                                                                                   First Class Mail
Chartered Organization         Bear Grass Ruritan Club                                      East Carolina Council 426                    1240 Cowin Rd                                           Williamston, NC 27892‐8445                                                                              First Class Mail
Voting Party                   Bear Lake United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bear Lake Utd Methodist Church                               President Gerald R Ford 781                  7681 Main St                                            Bear Lake, MI 49614                                                                                     First Class Mail
Chartered Organization         Bear Lake Utd Methodist Church                               Central Florida Council 083                  1010 Bear Lake Rd                                       Forest City, FL 32703‐6141                                                                              First Class Mail
Chartered Organization         Bear Valley Community Church                                 Longhorn Council 662                         7900 Precinct Line Rd                                   Colleyville, TX 76034‐3400                                                                              First Class Mail
Chartered Organization         Bear Valley Community School                                 Great Alaska Council 610                     15001 Mountain Air Dr                                   Anchorage, AK 99516‐4439                                                                                First Class Mail
Chartered Organization         Bear Valley Mens Club                                        Southern Sierra Council 030                  25101 Bear Valley Rd PMB 112                            Tehachapi, CA 93561‐8311                                                                                First Class Mail
Chartered Organization         Bearden Njrotc Booster Club                                  Great Smoky Mountain Council 557             8352 Kingston Pike                                      Knoxville, TN 37919‐5449                                                                                First Class Mail
Chartered Organization         Beard'S Slightly Used Cars                                   De Soto Area Council 013                     401 S 1st St                                            Bearden, AR 71720                                                                                       First Class Mail
Chartered Organization         Beargrass Christian Church                                   Lincoln Heritage Council 205                 4100 Shelbyville Rd                                     Louisville, KY 40207‐3234                                                                               First Class Mail
Chartered Organization         Bearnson Woodworks, LLC                                      Trapper Trails 589                           4181 W 5800 N                                           Mountain Green, UT 84050‐8502                                                                           First Class Mail
Chartered Organization         Beasley Elementary Parent Teacher Org.                       Greater St Louis Area Council 312            3131 Koch Rd                                            Saint Louis, MO 63125‐4102                                                                              First Class Mail
Chartered Organization         Beasley School Pto                                           Greater St Louis Area Council 312            3131 Koch Rd                                            Saint Louis, MO 63125‐4102                                                                              First Class Mail
Firm                           Beasley, Allen, Crow, Methvin, Portis & Miles                Leon Hampton, Lauren Miles                   218 Commerce Street                                     Montgomery, AL 36106                                                   leon.hampton@beasleyallen.com    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Beat Four Scouts                                             Pine Burr Area Council 304                   5090 US 84                                              Waynesboro, MS 39367                                                                                    First Class Mail
Chartered Organization         Beatrice Community Hospital                                  Cornhusker Council 324                       4800 Hospital Pkwy                                      Beatrice, NE 68310‐6906                                                                                 First Class Mail
Chartered Organization         Beattyville Baptist Church                                   Blue Grass Council 204                       P.O. Box 1038                                           Beattyville, KY 41311‐1038                                                                              First Class Mail
Voting Party                   Beaty Law Office                                             Attn: Ogle Tedford Beaty                     337 N Main St                                           Winnsboro, TX 75494                                                    beatylaw@hotmail.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Beaufort County Community College                            East Carolina Council 426                    5337 US Hyw 264 E                                       Washington, NC 27889                                                                                    First Class Mail
Chartered Organization         Beaufort County Sheriffs Office                              Coastal Carolina Council 550                 P.O. Box 1758                                           Beaufort, SC 29901‐1758                                                                                 First Class Mail
Chartered Organization         Beaufort Lions Club                                          Greater St Louis Area Council 312            2041 Lutheran Church Rd                                 Beaufort, MO 63013‐1126                                                                                 First Class Mail
Chartered Organization         Beaumont Elks Lodge 311                                      Three Rivers Council 578                     11431 Hwy 90                                            Beaumont, TX 77713‐3487                                                                                 First Class Mail
Chartered Organization         Beaumont Lions Club                                          California Inland Empire Council 045         244 Maple Ave, Ste L                                    Beaumont, CA 92223‐2913                                                                                 First Class Mail
Chartered Organization         Beaumont Mobile Medicine                                     Great Lakes Fsc 272                          950 W Maple Rd                                          Troy, MI 48084‐5376                                                                                     First Class Mail
Chartered Organization         Beaumont Police Dept                                         Three Rivers Council 578                     P.O. Box 3827                                           Beaumont, TX 77704‐3827                                                                                 First Class Mail
Chartered Organization         Beaumont Police Explorers                                    California Inland Empire Council 045         550 E 6th St Bldg H                                     Beaumont, CA 92223‐2253                                                                                 First Class Mail
Voting Party                   Beaumont United Methodist Church                             Attn: Sandford L Coates                      716 N Liberty St                                        Spartanburg, SC 29303                                                  sandford4846@gmail.com           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Beautheriot Camanche Canyonland Preserve                     Capitol Area Council 564                     6535 Comanche Trl                                       Austin, TX 78732‐1207                                                                                   First Class Mail
Chartered Organization         Beautiful Savior Lutheran Church                             Cornhusker Council 324                       955 C St                                                Palmyra, NE 68418‐2514                                                                                  First Class Mail
Chartered Organization         Beautiful Savior Lutheran Church                             Catalina Council 011                         7570 N Thornydale Rd                                    Tucson, AZ 85741‐2042                                                                                   First Class Mail
Voting Party                   Beautiful Savior Lutheran Church                             Attn: Ann Giles/ President of Congregation   12513 SE Mill Plain Blvd                                Vancouver, WA 98684                                                    ann@ear‐care.com                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Beauvoir United Methodist Church                             Attn: Michelle K Bailey                      2113 Pass Rd, 8A                                        Biloxi, MS 39531                                                       beauvoirumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Beaver Citizen Group                                         Cascade Pacific Council 492                  11935 SW Burlheights St                                 Portland, OR 97223‐3216                                                                                 First Class Mail
Chartered Organization         Beaver Creek Cumberland Presbyterian Ch                      Great Smoky Mountain Council 557             7725 Old Clinton Pike                                   Knoxville, TN 37921                                                                                     First Class Mail
Voting Party                   Beaver Dam Baptist Church                                    c/o Kaplan Johnson Abate & Bird LLP          Attn: Tyler R Yeager                                    710 W Main St, 4th Fl                 Louisville, KY 40202             tyeager@kaplanjohnsonlaw.com     Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Beaver Dam Baptist Church                                    343 S Main St                                Beaver Dam, KY 42320                                                                                                                                            First Class Mail
Chartered Organization         Beaver Dam Community Hospitals, Inc                          Bay‐Lakes Council 635                        707 S University Ave                                    Beaver Dam, WI 53916‐3027                                                                               First Class Mail
Chartered Organization         Beaver Lutheran Church                                       Susquehanna Council 533                      P.O. Box 167                                            Beaver Springs, PA 17812‐0167                                                                           First Class Mail
Chartered Organization         Beaver Pittman Post 115                                      Amer Legion of Kann                          P.O. Box 123                                            Kannapolis, NC 28082‐0123                                                                               First Class Mail
Chartered Organization         Beaver Ridge Utd Methodist Church                            Great Smoky Mountain Council 557             7753 Oak Ridge Hwy                                      Knoxville, TN 37931‐3343                                                                                First Class Mail
Chartered Organization         Beaver Township Fire Dept                                    Great Trail 433                              601 W South Range Rd                                    North Lima, OH 44452‐9729                                                                               First Class Mail
Chartered Organization         Beaver Valley Boy Scouts                                     Golden Empire Council 047                    P.O. Box 1684                                           Shingle Springs, CA 95682‐1684                                                                          First Class Mail
Chartered Organization         Beaver Valley Lutheran Church                                Sioux Council 733                            26214 484th Ave                                         Valley Springs, SD 57068‐7201                                                                           First Class Mail
Voting Party                   Beaver Valley Umc (Naumburg)                                 Attn: David Harold Austin                    5479 Naumburg Ln                                        P.O. Box 127                          Castorland, NY 13620                                              First Class Mail
Voting Party                   Beaver Valley Umc (Naumburg)                                 Attn: David Austin                           8802 Van Amber Rd                                       Castorland, NY 13620                                                                                    First Class Mail
Chartered Organization         Beavercreek Church Of The Brethren                           Tecumseh 439                                 2659 Dayton Xenia Rd                                    Beavercreek, OH 45434‐6415                                                                              First Class Mail
Chartered Organization         Beavercreek Lions Club                                       Cascade Pacific Council 492                  1170 Columbia Ave                                       Gladstone, OR 97027‐1726                                                                                First Class Mail
Chartered Organization         Beavercreek Township Fire                                    Tecumseh 439                                 851 Orchard Ln                                          Beavercreek Township, OH 45434‐7228                                                                     First Class Mail
Chartered Organization         Beaverton Lions Club                                         Cascade Pacific Council 492                  P.O. Box 5042                                           Beaverton, OR 97006‐0042                                                                                First Class Mail
Chartered Organization         Beaverton Rock Creek Foursquare Church                       Cascade Pacific Council 492                  21450 NW Rock Creek Blvd                                Portland, OR 97229‐1002                                                                                 First Class Mail
Firm                           Beck & Eldergill, P.C.                                       David R. Kritzman, Esq                       447 Center Street                                       Manchester, CT 06040                                                   dkritzman@beckeldergill.com      Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Beck & Masten Pontiac ‐ Gmc                                  Sam Houston Area Council 576                 11300 Fm 1960 Rd W                                      Houston, TX 77065‐3605                                                                                  First Class Mail
Chartered Organization         Beck Family Volunteers                                       Great Lakes Fsc 272                          54600 Hayes Rd                                          Macomb, MI 48042‐2234                                                                                   First Class Mail
Chartered Organization         Beckemeyer Wade Fire Dept                                    Greater St Louis Area Council 312            610 Louis St                                            Beckemeyer, IL 62219‐1121                                                                               First Class Mail
Chartered Organization         Becker Lions And Becker Lioness Club                         Attn: Dr C. Perry Schenk                     Central Minnesota 296                                   Becker, MN 55308                                                                                        First Class Mail
Chartered Organization         Becket Federated Church                                      Western Massachusetts Council 234            P.O. Box 306                                            Becket, MA 01223‐0306                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 27 of 442
                                                                                  Case 20-10343-LSS                                                 Doc 8171                                       Filed 01/06/22                                          Page 43 of 457
                                                                                                                                                                                Exhibit B
                                                                                                                                                                                 Service List
                                                                                                                                                                          Served as set forth below

        Description                                                        Name                                                                                               Address                                                                                                         Email              Method of Service
Chartered Organization         Becket Volunteer Fire Dept                                Western Massachusetts Council 234                 557 Main St                                             Becket, MA 01223‐3252                                                                              First Class Mail
Chartered Organization         Beckett Utd Methodist Men                                 Muskingum Valley Council, Bsa 467                 P.O. Box 812                                            Cambridge, OH 43725‐0812                                                                           First Class Mail
Voting Party                   Beckie R Honeck                                           c/o Inola United Methodist Church                 135 S Broadway                                          Inola, OK 74036                                                   info@inolamethodist.com          Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Beckley Community United Methodist Church                 Attn: Rev. Betsy Evans Ingstrup                   217 S Heber St                                          Beckley, WV 25801                                                 pastorb.bcumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Beckley Welding Supply, Inc                               P.O. Box 1027                                     Beckley, WV 25802‐1027                                                                                                                                     First Class Mail
Chartered Organization         Becky David School Pto                                    Greater St Louis Area Council 312                 1155 Jungs Station Rd                                   Saint Charles, MO 63303‐6010                                                                       First Class Mail
Chartered Organization         Bedford Community Education                               Southern Shores Fsc 783                           1623 W Sterns Rd                                        Temperance, MI 48182‐1597                                                                          First Class Mail
Chartered Organization         Bedford County Sportsmen'S Club                           Laurel Highlands Council 527                      210 Fresno Rd                                           Bedford, PA 15522‐5159                                                                             First Class Mail
Chartered Organization         Bedford Fire Explorers                                    Southern Shores Fsc 783                           P.O. Box 371                                            Lambertville, MI 48144‐0371                                                                        First Class Mail
Voting Party                   Bedford First United Methodist Church                     Attn: Jerry Wayne Jackson                         1409 K St                                               Bedford, IN 47421                                                 bedfordfirstumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Bedford First United Methodist Church                     Attn: Jerry Wayne Jackson                         P.O. Box 84                                             Bedford, IN 47421                                                 bedfordfirstumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bedford Free Methodist Church                             Hoosier Trails Council 145 145                    630 R St                                                Bedford, IN 47421‐2034                                                                             First Class Mail
Chartered Organization         Bedford Lions Club                                        Lake Erie Council 440                             P.O. Box 46185                                          Bedford, OH 44146‐0185                                                                             First Class Mail
Chartered Organization         Bedford Park Fire Dept                                    Pathway To Adventure 456                          6820 S Archer Rd                                        Bedford Park, IL 60501‐1950                                                                        First Class Mail
Chartered Organization         Bedford Police Dept                                       Longhorn Council 662                              2121 L Don Dodson Dr                                    Bedford, TX 76021‐5832                                                                             First Class Mail
Chartered Organization         Bedford Presbyterian Ch & St Johns Episc                  Blue Ridge Mtns Council 599                       105 W Main St                                           Bedford, VA 24523‐1940                                                                             First Class Mail
Chartered Organization         Bedford Presbyterian Church                               Daniel Webster Council, Bsa 330                   4 Church Rd                                             Bedford, NH 03110‐5459                                                                             First Class Mail
Voting Party                   Bedford Presbyterian Church                               P.O. Box 280                                      Bedford, NY 10506                                                                                                         office@bedfordpreschurch.org     Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Bedford Presbyterian Church                               Attn: Linda R. Burpee                             P.O. Box 280                                            Village Green                    Bedford, NY 10506                office@bedfordpreschurch.org     Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Bedford Presbyterian Church, Bedford, Virginia            105 W Main St                                     Bedford, VA 24523                                                                                                         jtsalley@gmail.com               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bedford Rotary Club                                       Daniel Webster Council, Bsa 330                   54 Hitching Post Ln                                     Bedford, NH 03110‐4925                                                                             First Class Mail
Chartered Organization         Bedford Rotary Club                                       Daniel Webster Council, Bsa 330                   38 Grapevine Rd                                         Bedford, NH 03110‐6335                                                                             First Class Mail
Voting Party                   Bedford United Methodist Church (176586)                  c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bedford Utd Methodist Church                              Laurel Highlands Council 527                      132 E John St                                           Bedford, PA 15522‐1705                                                                             First Class Mail
Voting Party                   Bedford, Fumc                                             c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Bedford, Fumc                                             1245 Bedford Rd                                   Bedford, TX 76021                                                                                                                                          First Class Mail
Chartered Organization         Bedminster Twp School Pto                                 Patriots Path Council 358                         234 Somerville Rd                                       Bedminster, NJ 07921‐2616                                                                          First Class Mail
Chartered Organization         Bee County Sheriff Dept                                   South Texas Council 577                           1511 E Toledo St                                        Beeville, TX 78102‐5308                                                                            First Class Mail
Voting Party                   Bee Creek United Methodist Church                         Attn: Linnea Falk                                 3000 Bee Creek Rd                                       Spicewood, TX 78669                                               linnea@beecreekumc.org           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bee Master Of Las Vegas, Inc                              Las Vegas Area Council 328                        P.O. Box 620635                                         Las Vegas, NV 89162‐0635                                                                           First Class Mail
Voting Party                   Beebe First United Methodist Church                       Attn: April Watson                                P.O. Box 247                                            Beebe, AR 72012                                                   aprilwatsonfumcbb@att.net        Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Beebe Home & School Assoc                                 Three Fires Council 127                           110 E 11th Ave                                          Naperville, IL 60563‐2704                                                                          First Class Mail
Voting Party                   Beech Creek United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Beech Creek United Methodist Church 2972 Alabama Hwy Nw   c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Beech Grove Rhems Charge                                  East Carolina Council 426                         1037 Washington Post Rd                                 New Bern, NC 28562‐9297                                                                            First Class Mail
Voting Party                   Beech Grove Umc                                           Attn: Connie Marie Stutts                         1035 Washington Post Rd                                 New Bern, NC 28562                                                cstutts@nccumc.org               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Beech Grove Umc                                           Attn: Connie Stutts, Pastor                       1037 Washington Post Rd                                 New Bern, NC 28562                                                cstutts@nccumc.org               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Beech Grove Utd Methodist Church                          East Carolina Council 426                         P.O. Box 12291                                          New Bern, NC 28561‐2291                                                                            First Class Mail
Chartered Organization         Beech Grove Utd Methodist Church                          Colonial Virginia Council 595                     4251 Drr Ln                                             Suffolk, VA 23435                                                                                  First Class Mail
Chartered Organization         Beech Grove Utd Methodist Church                          Colonial Virginia Council 595                     4245 Drr Ln                                             Suffolk, VA 23435                                                                                  First Class Mail
Chartered Organization         Beecher Hills Elementary School                           Atlanta Area Council 092                          2257 Bolling Brook Dr Sw                                Atlanta, GA 30311‐2556                                                                             First Class Mail
Voting Party                   Beechmont Baptist Church ‐ Louisville, KY                 Attn: Stephen Tillman                             445 Baxter Ave, Ste 100                                 Louisville, KY 40204                                              abuckman@tillmanlawoffice.com    Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Beechwood Reformed Church                                 President Gerald R Ford 781                       895 Ottawa Beach Rd                                     Holland, MI 49424‐2572                                                                             First Class Mail
Chartered Organization         Beechwoods Presbyterian Church                            Bucktail Council 509                              14 Beechwood Rd                                         Falls Creek, PA 15840‐2410                                                                         First Class Mail
Chartered Organization         Beehive Federal Credit Union                              Grand Teton Council 107                           1087 Erikson Dr                                         Rexburg, ID 83440‐5297                                                                             First Class Mail
Voting Party                   Beekman United Methodist Church                           Attn: Paul Laird                                  169 Dixon Estates Rd                                    Sterlington, LA 71280                                             deqret07@hotmail.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Beekmantown Vol Fire Dept                                 Twin Rivers Council 364                           6780 State Route 22                                     Plattsburgh, NY 12901‐4913                                                                         First Class Mail
Chartered Organization         Beekmantown Volunteer Fire Dept                           Twin Rivers Council 364                           6973 State Route 22                                     West Chazy, NY 12992‐2502                                                                          First Class Mail
Chartered Organization         Beeville Faith Lutheran Church                            South Texas Council 577                           1500 E Fm 351                                           Beeville, TX 78102‐2900                                                                            First Class Mail
Chartered Organization         Behavioral Consulting Assoc, Inc                          P.O. Box 160                                      Elberton, GA 30635                                                                                                                                         First Class Mail
Chartered Organization         Behr Insurance Agency, Inc                                Laurel Highlands Council 527                      5484 Library Rd                                         Bethel Park, PA 15102‐3668                                                                         First Class Mail
Chartered Organization         Beijing Home School Co‐Op                                 Far E Council 803                                 0730 Baxian Villas                                      Beijing                          China                                                             First Class Mail
Chartered Organization         Beijing Northside Homeschool Co‐Op.                       Far E Council 803                                 Wang Fuhuanyuan 43 Reiz Hifu                            Beijing                          China                                                             First Class Mail
Chartered Organization         Bel Air Police Dept                                       Baltimore Area Council 220                        39 N Hickory Ave                                        Bel Air, MD 21014‐3256                                                                             First Class Mail
Chartered Organization         Bel Air School Pta                                        Northern Lights Council 429                       501 25th St Nw                                          Minot, ND 58703‐1869                                                                               First Class Mail
Voting Party                   Bel Air United Methodist Church                           Attn: Anthony Ciampaglio                          21 Linwood Ave                                          Bel Air, MD 21014                                                 ciampagliot@baumc.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Belafonte Tacolcy Center                                  South Florida Council 084                         6161 NW 9th Ave                                         Miami, FL 33127‐1013                                                                               First Class Mail
Voting Party                   Belair United Methodist Church                            Attn: Mallory Nickerson                           8095 Shelley Mullis Rd                                  Indian Land, SC 29707                                             mjforte@umcsc.org                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Belcher‐Lane‐Williams Marine Corp                         League Detachment 146                             2401 Wadhams Rd                                         Saint Clair, MI 48079‐3811                                                                         First Class Mail
Chartered Organization         Belchertown Lions Club                                    Western Massachusetts Council 234                 23 Old Pelham Rd                                        Belchertown, MA 01007‐9540                                                                         First Class Mail
Chartered Organization         Belchertown Utd Church Of Christ                          Western Massachusetts Council 234                 18 Park St                                              Belchertown, MA 01007‐9590                                                                         First Class Mail
Chartered Organization         Belding Enterprises                                       Sam Houston Area Council 576                      16007 Mueschke Rd                                       Cypress, TX 77433‐1490                                                                             First Class Mail
Chartered Organization         Belen Jesuit Preparatory School                           South Florida Council 084                         500 SW 127th Ave                                        Miami, FL 33184‐1319                                                                               First Class Mail
Chartered Organization         Belfair Community Church                                  Chief Seattle Council 609                         P.O. Box 160                                            Belfair, WA 98528‐0160                                                                             First Class Mail
Chartered Organization         Belfast Lions Club                                        Middle Tennessee Council 560                      P.O. Box 1375                                           Lewisburg, TN 37091‐0375                                                                           First Class Mail
Voting Party                   Belfast Umc                                               Attn: Treasurer                                   8799 Peach Orchard Rd                                   Hillsboro, OH 45133                                               cwwilson46@gmail.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Belfast Umc                                               Attn: John Collins Waugh                          690 Tater Ridge Rd                                      West Union, OH 45693                                                                               First Class Mail
Voting Party                   Belfast United Methodist Church                           Attn: Craig Buelow                                2 Chapel St                                             Belfast, NY 14711                                                 ofice@nacumc.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Belfast United Methodist Church                           Attn: Seongmoon Ahn                               23 Mill Ln                                              Belfast, ME 04915                                                 airsm23@gmail.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Belford United Methodist Church                           180 Church St                                     Belford, NJ 07718‐1531                                                                                                                                     First Class Mail
Voting Party                   Belford United Methodist Church ‐ Belford                 c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Belfry United Methodist Church                            Attn: Michael Stanley                             1207 Narrows Branch Rd                                  Hardy, KY 41531                                                   mds07@suddenlink.net             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Belgrade Ave Methodist Church                             Twin Valley Council Bsa 283                       325 Sherman St                                          North Mankato, MN 56003‐3856                                                                       First Class Mail
Chartered Organization         Belgrade Community Church                                 Montana Council 315                               119 S Broadway                                          Belgrade, MT 59714‐3910                                                                            First Class Mail
Chartered Organization         Belgrade Lions                                            Central Minnesota 296                             P.O. Box 113                                            Belgrade, MN 56312‐0113                                                                            First Class Mail
Chartered Organization         Belgrade Utd Methodist Church                             East Carolina Council 426                         2953 Belgrade Swansboro Rd                              Maysville, NC 28555‐9428                                                                           First Class Mail
Chartered Organization         Believers Academy Advisory Council                        Gulf Stream Council 085                           5840 Corporate Way, Ste 100                             West Palm Beach, FL 33407‐2040                                                                     First Class Mail
Chartered Organization         Believers In Christ Ministries, Inc                       Three Harbors Council 636                         4065 N 25th St                                          Milwaukee, WI 53209‐6611                                                                           First Class Mail
Chartered Organization         Belilizz Mac Rae Legion Post 659                          Mid Iowa Council 177                              1967 Courtland Dr                                       Des Moines, IA 50315‐1120                                                                          First Class Mail
Chartered Organization         Belin Memorial Utd Methodist Church                       Coastal Carolina Council 550                      P.O. Box 528                                            Murrells Inlet, SC 29576‐0528                                                                      First Class Mail
Voting Party                   Belin United Methodist Church, Inc                        Attn: Paul Gardner                                4182 Hwy 17 Business                                    Murrells Inlet, SC 29576                                          paulg@belinumc.org               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Belin Utd Methodist Church                                Coastal Carolina Council 550                      4183 Hwy 17 Bus                                         Murrells Inlet, SC 29576                                                                           First Class Mail
Voting Party                   Bell Buckle United Methodist Church                       Attn: Ivan Jones Finance Committee Chair          100 Maple St                                            Bell Buckle, TN 37020                                             church@bellbuckleumc.org         Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bell Buckle Utd Methodist Church                          Middle Tennessee Council 560                      110 Maple St                                            Bell Buckle, TN 37020                                                                              First Class Mail
Voting Party                   Bell Chapel Umc                                           Attn: Treasurer                                   3419 St Rt 213                                          Steubenville, OH 43952                                            cindy@bellchapel.org             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bell Chapel Utd Methodist Church                          Ohio River Valley Council 619                     3419 State Route 213                                    Steubenville, OH 43952‐7979                                                                        First Class Mail
Chartered Organization         Bell County Juvenile Services                             Longhorn Council 662                              4800 E Rancier Ave                                      Killeen, TX 76543‐3990                                                                             First Class Mail
Chartered Organization         Bell Gardens Police Dept                                  Greater Los Angeles Area 033                      7100 Garfield Ave                                       Bell Gardens, CA 90201‐3244                                                                        First Class Mail
Voting Party                   Bell Hess & Vanzant, Plc                                  Matthew Creighton Hess                            2819 Ring Rd, Ste 100                                   Elizabethtown, KY 42701                                           mhess@bhvzlaw.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bell Leadership Team                                      Cradle of Liberty Council 525                     1000 Bell Ave                                           Lansdowne, PA 19050‐3825                                                                           First Class Mail
Chartered Organization         Bell Police Dept                                          Greater Los Angeles Area 033                      6326 Pine Ave                                           Bell, CA 90201‐1221                                                                                First Class Mail
Chartered Organization         Bell Utd Methodist Church                                 Daniel Boone Council 414                          P.O. Box 36                                             Leicester, NC 28748‐0036                                                                           First Class Mail
Voting Party                   Bella Vista First United Methodist                        Attn: Amy Gilmore                                 20 Boyce Dr                                             Bella Vista, AR 72715                                             lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bella Vista Police Dept                                   Westark Area Council 016                          105 Town Ctr W                                          Bella Vista, AR 72714‐2420                                                                         First Class Mail
Chartered Organization         Bellaire Lions Club                                       President Gerald R Ford 781                       P.O. Box 268                                            Bellaire, MI 49615‐0268                                                                            First Class Mail
Chartered Organization         Bellaire Puritas Develoment Corp                          Lake Erie Council 440                             14703 Puritas Ave                                       Cleveland, OH 44135‐2817                                                                           First Class Mail
Voting Party                   Bellaire United Methodist Church                          Attn: Pastor Seann Duffin                         4417 Bellaire Blvd                                      Bellaire, TX 77401                                                pastor@bellaireumc.org           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Bellamy UMC 4870 Chestnut Fork Road, Glouchester, VA      c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bellamy Utd Methodist Men                                 Colonial Virginia Council 595                     4870 Chestnut Fork Rd                                   Gloucester, VA 23061‐3949                                                                          First Class Mail
Chartered Organization         Bellbrook Presbyterian Church                             Tecumseh 439                                      72 W Franklin St                                        Bellbrook, OH 45305‐1903                                                                           First Class Mail
Chartered Organization         Bellbrook Utd Methodist Church                            Tecumseh 439                                      47 E Franklin St                                        Bellbrook, OH 45305‐2006                                                                           First Class Mail
Chartered Organization         Belle Chasse Academy                                      Southeast Louisiana Council 214                   100 5th St                                              Belle Chasse, LA 70037‐1002                                                                        First Class Mail
Chartered Organization         Belle Forest Community Teachers                           Chickasaw Council 558                             3135 Ridgeway Rd                                        Memphis, TN 38115‐2734                                                                             First Class Mail
Voting Party                   Belle Fourche Umc                                         Attn: Pastor                                      1804 7th Ave                                            Belle Fourche, SD 57717                                           pastor.bfumc@midconetwork.com    Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Belle Fourche Volunteer Fire Dept                         Black Hills Area Council 695 695                  605 National St                                         Belle Fourche, SD 57717‐1822                                                                       First Class Mail
Chartered Organization         Belle Haven Marina, Inc                                   National Capital Area Council 082                 P.O. Box 7093                                           Alexandria, VA 22307‐0093                                                                          First Class Mail
Voting Party                   Belle Meade United Methodist Church                       Attn: Ruth Strohmeier                             121 Davidson Rd                                         Nashville, TN 37205                                               ruth@bellemeadeumc.org           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Belle Place Elementary Pto                                Evangeline Area 212                               411 Leboutseois Rd                                      New Iberia, LA 70563                                                                               First Class Mail
Chartered Organization         Belle Plaine Lions Club International                     Northern Star Council 250                         1000 S Chestnut St                                      Belle Plaine, MN 56011‐2317                                                                        First Class Mail
Chartered Organization         Belle Plaine Rotary                                       Northern Star Council 250                         223 N Willow St                                         Belle Plaine, MN 56011‐1624                                                                        First Class Mail
Voting Party                   Bellefontaine United Methodist Church                     Attn: Glen P Connoley                             10600 Bellefontaine Rd                                  St Louis, MO 63137                                                glencbumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bellemans Union Church                                    Hawk Mountain Council 528                         3540 Bellemans Church Rd                                Mohrsville, PA 19541‐8916                                                                          First Class Mail
Chartered Organization         Bellemans Union Church                                    Hawk Mountain Council 528                         842 Trolley Rd                                          Mohrsville, PA 19541‐9086                                                                          First Class Mail
Voting Party                   Bellemont United Methodist Church                         Attn: Treasurer, Bellemont Umc                    4039 Markwood Rd                                        Burlington, NC 27215                                              lorit@bellemontumc.org           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bellemont Utd Methodist Men                               Old N State Council 070                           4039 Markwood Rd                                        Burlington, NC 27215‐7125                                                                          First Class Mail
Chartered Organization         Belleplain Volunteer Fire Co                              Garden State Council 690                          Rr 1                                                    Woodbine, NJ 08270                                                                                 First Class Mail
Chartered Organization         Bellerive School Pto                                      Greater St Louis Area Council 312                 620 Rue De Fleur Dr                                     Creve Coeur, MO 63141‐7364                                                                         First Class Mail
Voting Party                   Belleview United Methodist                                c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Belleview Utd Methodist Church                            North Florida Council 087                         P.O. Box 567                                            Belleview, FL 34421‐0567                                                                           First Class Mail
Chartered Organization         Belleville Community Club                                 Glaciers Edge Council 620                         P.O. Box 439                                            Belleville, WI 53508‐0439                                                                          First Class Mail
Voting Party                   Belleville First United Methodist Church                  Attn: Treasurer                                   417 Charles St                                          Belleville, MI 48111                                                                               First Class Mail
Chartered Organization         Belleville Kiwanis Charities Foundation                   Greater St Louis Area Council 312                 P.O. Box 153                                            Belleville, IL 62222‐0153                                                                          First Class Mail
Chartered Organization         Belleville Lions Club                                     Coronado Area Council 192                         P.O. Box 502                                            Belleville, KS 66935‐0502                                                                          First Class Mail
Chartered Organization         Bellevue Baptist Church                                   Longhorn Council 662                              P.O. Box 1216                                           Hurst, TX 76053‐1216                                                                               First Class Mail
Chartered Organization         Bellevue Congregational                                   Chief Seattle Council 609                         752 108th Ave Ne                                        Bellevue, WA 98004‐5108                                                                            First Class Mail
Chartered Organization         Bellevue Easttown Optimists                               Bay‐Lakes Council 635                             2785 Manitowoc Rd                                       Green Bay, WI 54311‐6633                                                                           First Class Mail
Chartered Organization         Bellevue Fire Dept                                        Chief Seattle Council 609                         450 110th Ave Ne                                        Bellevue, WA 98004‐5514                                                                            First Class Mail
Voting Party                   Bellevue First United Methodist Church                    c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bellevue Heights Umc                                      Longhouse Council 373                             2112 S Geddes St                                        Syracuse, NY 13207‐1535                                                                            First Class Mail
Voting Party                   Bellevue Heights United Methodist Church                  Attn: James Morgan                                2112 S Geddes St                                        Syracuse, NY 13207                                                bellevueheights@cnymail.com      Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bellevue Hospital Center                                  Greater New York Councils, Bsa 640                462 1st Ave                                             New York, NY 10016‐9196                                                                            First Class Mail
Chartered Organization         Bellevue Lions Club                                       Mid‐America Council 326                           4313 Amos Gates Dr                                      Bellevue, NE 68123‐1107                                                                            First Class Mail
Chartered Organization         Bellevue Lions Club                                       Mid‐America Council 326                           9801 S 28th Ave                                         Bellevue, NE 68123‐4095                                                                            First Class Mail
Chartered Organization         Bellevue Masonic Lodge 325                                Mid‐America Council 326                           1908 Franklin St                                        Bellevue, NE 68005‐3457                                                                            First Class Mail
Chartered Organization         Bellevue Optimist                                         Mid‐America Council 326                           P.O. Box 6                                              Bellevue, NE 68005‐0006                                                                            First Class Mail
Voting Party                   Bellevue United Methodist Church                          Attn: Rev Brian Marcoulier                        7501 Old Harding Pike                                   Nashville, TN 37221                                               office@bumc.com                  Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Bellevue United Methodist Church                          Attn: Mens Group                                  122 W Capital Ave                                       Bellevue, MI 49021                                                mymerec@att.net                  Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Bellevue United Methodist Church                          Attn: Charles F Durham Jr                         415 Mcnaron Dr                                          Gadsden, AL 35904                                                 cdurham@aol.com                  Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Bellevue United Methodist Church                          Charles Franklin Durham Jr                        209 Mary Lou Cir                                        Gadsden, AL 35904                                                                                  First Class Mail
Chartered Organization         Bellevue Youth Center                                     Northeastern Pennsylvania Council 501             531 Emmett St                                           Scranton, PA 18505‐1016                                                                            First Class Mail
Chartered Organization         Bellewood Baptist Church                                  Longhouse Council 373                             445 Church St                                           North Syracuse, NY 13212‐2454                                                                      First Class Mail
Chartered Organization         Bellflower Kiwanis Club                                   Long Beach Area Council 032                       9302 Laurel St                                          Bellflower, CA 90706‐5693                                                                          First Class Mail
Chartered Organization         Bell‐Graham Elementary School Pto                         Three Fires Council 127                           4N505 Fox Mill Blvd                                     Saint Charles, IL 60175                                                                            First Class Mail
Chartered Organization         Bellingham Covenant Church                                Mount Baker Council, Bsa 606                      1530 E Bakerview Rd                                     Bellingham, WA 98226‐9150                                                                          First Class Mail
Chartered Organization         Bellingham Memorial School Pto                            Narragansett 546                                  130 Blackstone St                                       Bellingham, MA 02019‐1684                                                                          First Class Mail
Chartered Organization         Bellmore Presbyterian Church                              Theodore Roosevelt Council 386                    2740 Martin Ave                                         Bellmore, NY 11710‐3268                                                                            First Class Mail
Voting Party                   Bellmore United Methodist Church                          Attn: Judy Chiarelli                              2640 Royle St                                           Bellmore, NY 11710                                                bellmoreumc@juno.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Bellpoint Community Church                                Attn: Brooke Williams, Office Manager/Treasurer   4771 State Route 257 S                                  Delaware, OH 43015                                                office@bellpointumc.com          Email
                                                                                                                                                                                                                                                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                 Page 28 of 442
                                                                                   Case 20-10343-LSS                                        Doc 8171                                            Filed 01/06/22                                         Page 44 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                         Name                                                                                           Address                                                                                                        Email              Method of Service
Chartered Organization         Bellpoint Utd Methodist Church                             Simon Kenton Council 441                 4771 State Route 257 S                                       Delaware, OH 43015‐9223                                                                           First Class Mail
Chartered Organization         Bellport Fire Dept                                         Suffolk County Council Inc 404           161 Main St                                                  Bellport, NY 11713‐2521                                                                           First Class Mail
Chartered Organization         Bellport High School                                       Suffolk County Council Inc 404           205 Beaver Dam Rd                                            Brookhaven, NY 11719‐9707                                                                         First Class Mail
Voting Party                   Bells United Methodist Church                              Attn: Greta Davis & Rev Michael Parker   6016 Allentown Rd                                            Camp Springs, MD 20746                                                                            First Class Mail
Firm                           Belluck & Fox, LLP                                         Kristina Georgiou                        546 5th Avenue, 5th Floor                                    New York, NY 10036                                               KGeorgiou@belluckfox.com         Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Bellview Baptist Church                                    Greater Alabama Council 001              150 Noccalula Dr                                             Gadsden, AL 35904‐3419                                                                            First Class Mail
Chartered Organization         Bellville American Legion Post 115                         Sam Houston Area Council 576             P.O. Box 314                                                 Bellville, TX 77418‐0314                                                                          First Class Mail
Chartered Organization         Bellville Lions Club                                       Sam Houston Area Council 576             1118 Fm 1456 Rd                                              Bellville, TX 77418‐4506                                                                          First Class Mail
Chartered Organization         Bellwood Baptist Church                                    Middle Tennessee Council 560             1150 Middle Tennessee Blvd                                   Murfreesboro, TN 37130‐5074                                                                       First Class Mail
Chartered Organization         Bellwood Salvation Army Bellwood Boys                      And Girls Club                           777 Hllwell Pkwy Nw                                          Atlanta, GA 30318‐6770                                                                            First Class Mail
Chartered Organization         Bellwood‐Antis Lions Club                                  Laurel Highlands Council 527             1974 Bellmeade Dr                                            Altoona, PA 16602‐7548                                                                            First Class Mail
Chartered Organization         Belmar Elementary Pta                                      Denver Area Council 061                  885 S Garrison St                                            Lakewood, CO 80226‐4126                                                                           First Class Mail
Chartered Organization         Belmar Elementary School                                   Denver Area Council 061                  885 S Garrison St                                            Lakewood, CO 80226‐4126                                                                           First Class Mail
Chartered Organization         Belmont Citizens Police                                    Piedmont Council 420                     201 Chronicle St                                             Belmont, NC 28012‐3378                                                                            First Class Mail
Chartered Organization         Belmont Elementary School                                  Baltimore Area Council 220               1406 N Ellamont St                                           Baltimore, MD 21216‐3815                                                                          First Class Mail
Chartered Organization         Belmont Fire Dept                                          Blue Ridge Council 551                   1 Fork Shoals Rd                                             Greenville, SC 29605‐2701                                                                         First Class Mail
Voting Party                   Belmont Heights United Methodist Church                    Attn: Lori Monnier                       317 Termino Ave                                              Long Beach, CA 90814                                             lorimonnier@hotmail.com          Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Belmont Hills Ptg                                          Washington Crossing Council 777          5000 Neshaminy Blvd                                          Bensalem, PA 19020‐1157                                                                           First Class Mail
Voting Party                   Belmont II Ruritan Club                                    Attn: Juliann Poff                       3289 Vickers Switch Rd                                       Christiansburg, VA 24073                                         jopoff.jp@gmail.com              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Belmont Runyon School                                      Northern New Jersey Council, Bsa 333     1 W Runyon St                                                Newark, NJ 07108                                                                                  First Class Mail
Chartered Organization         Belmont Shore Lions Club                                   Long Beach Area Council 032              5156 E Ebell St                                              Long Beach, CA 90808‐1834                                                                         First Class Mail
Voting Party                   Belmont UMC 3510 Broad Rock Blvd, Richmond, VA 23234       c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Belmont United Methodist Church                            Attn: Stephen Crowell                    7 Park Cir                                                   Belmont, NY 14813                                                scrowell@united.edu              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Belmont United Methodist Church                            Attn: Mark Hagewood                      2007 Acklen Ave                                              Nashville, TN 37221                                              mark@belmontumc.org              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Belmont Watertown United Methodist Church                  Attn: Joel G Grimm                       421 Common St                                                Belmont, MA 02478                                                trustees@bwumc.org               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Belmont Watertown United Methodist Church                  421 Common St                            Belmont, MA 02478                                                                                                             trustees@bwumc.org               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Belmont‐Watertown Utd Methodist                            The Spirit of Adventure 227              421 Common St                                                Belmont, MA 02478‐2873                                                                            First Class Mail
Chartered Organization         Beloved Disciple Church Rc                                 French Creek Council 532                 1310 S Center St Ext                                         Grove City, PA 16127‐4206                                                                         First Class Mail
Chartered Organization         Belton Christian Church                                    Heart of America Council 307             409 Airway Ln                                                Belton, MO 64012‐1801                                                                             First Class Mail
Chartered Organization         Belton Fire Dept                                           Heart of America Council 307             16300 N Mullen Rd                                            Belton, MO 64012‐2618                                                                             First Class Mail
Chartered Organization         Belton Fire Dept                                           Blue Ridge Council 551                   P.O. Box 828                                                 Belton, SC 29627‐0828                                                                             First Class Mail
Voting Party                   Belton First United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Belton First United Methodist Church                       205 E 3rd Ave                            Belton, TX 76549                                                                                                                                               First Class Mail
Chartered Organization         Belton New Horizons Nazarene Church                        Heart of America Council 307             17200 Chestnut Dr                                            Belton, MO 64012‐2820                                                                             First Class Mail
Chartered Organization         Belton New Horizons Nazarene Church                        Heart of America Council 307             17200 Chestnut Dr                                            Belton, MO 64012‐2820                                                                             First Class Mail
Chartered Organization         Beltsville Academic Pto                                    National Capital Area Council 082        4300 Wicomico Ave                                            Beltsville, MD 20705‐2673                                                                         First Class Mail
Chartered Organization         Beltway Pack Church                                        Texas Trails Council 561                 2850 State Hwy 351                                           Abilene, TX 79601‐4882                                                                            First Class Mail
Chartered Organization         Beltway Park Church South                                  Texas Trails Council 561                 4009 Beltway S                                               Abilene, TX 79606‐5510                                                                            First Class Mail
Chartered Organization         Belvedere Pta                                              Baltimore Area Council 220               360 Broadwater Rd                                            Arnold, MD 21012‐1476                                                                             First Class Mail
Voting Party                   Belvedere United Methodist Church Of Aiken County          Attn: Richard C. Goldie                  202 Rhomboid Pl                                              Belvedere, SC 29841                                              belvedereunitedm@bellsouth.net   Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Belvedere United Methodist Church Of Aiken County          Attn: Richard C. Goldie                  2632 Old Charleston Rd                                       Gilbert, SC 29054                                                                                 First Class Mail
Chartered Organization         Belvedere Utd Methodist Church                             Georgia‐Carolina 093                     202 Rhomboid Pl                                              Belvedere, SC 29841‐2636                                                                          First Class Mail
Chartered Organization         Belwood Charge Utd Methodist Church                        Piedmont Council 420                     5701 Fallston Rd                                             Lawndale, NC 28090‐9288                                                                           First Class Mail
Chartered Organization         Belzer Band Booster Club, Inc                              Crossroads of America 160                5423 Mark Ln                                                 Indianapolis, IN 46226‐1669                                                                       First Class Mail
Chartered Organization         Belzer Day Camp                                            Crossroads of America 160                6102 Boy Scout Rd                                            Indianapolis, IN 46226‐1357                                                                       First Class Mail
Chartered Organization         Belzer Scout Camp                                          Crossroads of America 160                6002 Boy Scout Rd                                            Indianapolis, IN 46226                                                                            First Class Mail
Voting Party                   Bement United Methodist Church                             Attn: Janet Perry                        750 E 1110 N Rd                                              Bement, IL 61813                                                 perrybros@hotmail.com            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Bement United Methodist Church                             249 N Piatt                              P.O. Box 20                                                  Bement, IL 61813                                                 bementumc@yahoo.com              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Bement United Methodist Church                             Attn: 249 N Piatt                        P.O. Box 20                                                  Bement, IL 61813                                                 BementUMC@yahoo.com              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Bemidji Lions Club                                         Voyageurs Area 286                       P.O. Box 1099                                                Bemidji, MN 56619‐1099                                                                            First Class Mail
Chartered Organization         Bemidji Police Dept &                                      Beltrami County Sheriff Dept             613 Minnesota Ave Nw                                         Bemidji, MN 56601‐3036                                                                            First Class Mail
Chartered Organization         Bemis Elementary School Pta                                Great Lakes Fsc 272                      3571 Northfield Pkwy                                         Troy, MI 48084‐1459                                                                               First Class Mail
Chartered Organization         Bemiss Utd Methodist Church                                South Georgia Council 098                4879 Bemiss Rd                                               Valdosta, GA 31605‐6066                                                                           First Class Mail
Voting Party                   Bemus Point United Methodist Church                        Attn: Pastor Joe Pascoe                  4954 Bemus‐Ellery Rd, P.O. Box 99                            Bemus Point, NY 14712                                            suzanneallen@bpumc.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Bemus Point Utd Methodist Church                           Allegheny Highlands Council 382          4954 Bemus Ellery Rd                                         Bemus Point, NY 14712‐9737                                                                        First Class Mail
Chartered Organization         Ben Ali Temple Aaonms                                      Golden Empire Council 047                3262 Marysville Blvd                                         Sacramento, CA 95815‐1411                                                                         First Class Mail
Chartered Organization         Ben Davis Jrotc                                            Crossroads of America 160                1200 N Girls School Rd                                       Indianapolis, IN 46214‐3403                                                                       First Class Mail
Chartered Organization         Ben Eielson High Booster Club                              Midnight Sun Council 696                 675 Ravens Way                                               Eielson Afb, AK 99702‐1308                                                                        First Class Mail
Chartered Organization         Ben Franklin And Churchill Schools                         Parents For Scouting                     350 Bryant Ave                                               Glen Ellyn, IL 60137‐5256                                                                         First Class Mail
Chartered Organization         Ben Franklin Middle School                                 National Capital Area Council 082        3300 Lees Corner Rd                                          Chantilly, VA 20151‐3105                                                                          First Class Mail
Chartered Organization         Ben Franklin School Parent Assn                            Pacific Skyline Council 031              2385 Trousdale Dr                                            Burlingame, CA 94010‐5704                                                                         First Class Mail
Voting Party                   Ben Hill United Methodist Church ‐ Atlanta                 c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Ben Hill Utd Methodist Church                              Atlanta Area Council 092                 2099 Fairburn Rd Sw                                          Atlanta, GA 30331‐4812                                                                            First Class Mail
Chartered Organization         Ben Sheppard Elementary Pta                                South Florida Council 084                5700 W 24th Ave                                              Hialeah, FL 33016‐4424                                                                            First Class Mail
Chartered Organization         Benbrook Pto                                               Sam Houston Area Council 576             4026 Bolin Rd                                                Houston, TX 77092‐4711                                                                            First Class Mail
Voting Party                   Benbrook UMC (1122 Bryant St, Benbrook, TX 76126)          c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Benbrook Utd Methodist Church                              Longhorn Council 662                     1122 Bryant St                                               Benbrook, TX 76126‐3418                                                                           First Class Mail
Voting Party                   Bend FUMC 680 NW Bond Street, Bend, OR 97703               c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Bend Of The River                                          Lasalle Council 165                      900 Mayflower Rd                                             Niles, MI 49120                                                                                   First Class Mail
Chartered Organization         Bend Ultimate                                              Crater Lake Council 491                  19599 Greatwood Loop                                         Bend, OR 97702‐2790                                                                               First Class Mail
Chartered Organization         Benedictine College Prepartory                             Heart of Virginia Council 602            12829 River Rd                                               Richmond, VA 23238‐7206                                                                           First Class Mail
Voting Party                   Benevola United Methodist Church                           Attn: Dawn Baker                         19925 Benevola Church Rd                                     Boonsboro, MD 21713                                              benevolachurch@myactv.net        Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Benevolant & Protective Order Of Elks                      Westmoreland Fayette 512                 P.O. Box 705                                                 Manor, PA 15665‐0705                                                                              First Class Mail
Chartered Organization         Benevolent & Protective Order                              Chief Seattle Council 609                Elks Lodge 2524                                              Forks, WA 98331                                                                                   First Class Mail
Chartered Organization         Benevolent & Protective Order                              Elks Lodge 259                           3195 S Ridge Rd                                              Green Bay, WI 54304‐5628                                                                          First Class Mail
Chartered Organization         Benevolent & Protective Order Elks 1689                    Crater Lake Council 491                  P.O. Box 596                                                 Crescent City, CA 95531‐0596                                                                      First Class Mail
Chartered Organization         Benevolent & Protective Order Elks 187                     Yucca Council 573                        7800 Edgemere Blvd                                           El Paso, TX 79925‐3835                                                                            First Class Mail
Chartered Organization         Benevolent & Protective Order Flk 1762                     Longhouse Council 373                    511 Fulton St                                                Carthage, NY 13619‐1222                                                                           First Class Mail
Chartered Organization         Benevolent & Protective Order Of                           Elks Norfolk Lodge 653                   P.O. Box 118                                                 Norfolk, NE 68702‐0118                                                                            First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      Longhorn Council 662                     601 W Pioneer Pkwy                                           Arlington, TX 76010‐5659                                                                          First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      Mid‐America Council 326                  501 Poplar St                                                Atlantic, IA 50022‐1273                                                                           First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      Seneca Waterways 397                     4400 Sweden Walker Rd                                        Brockport, NY 14420‐2718                                                                          First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      National Capital Area Council 082        St Marys Lodge 2092                                          California, MD 20619                                                                              First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      Abraham Lincoln Council 144              201 W Main St                                                Carlinville, IL 62626‐1730                                                                        First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      San Diego Imperial Council 049           901 Elks Ln                                                  Chula Vista, CA 91910‐6558                                                                        First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      Duarte                                   2436 Huntington Dr                                           Duarte, CA 91010‐2153                                                                             First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      Lodge 2188                               8421 Arlington Blvd                                          Fairfax, VA 22031‐4601                                                                            First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      Lodge 1431                               622 Greybull Ave                                             Greybull, WY 82426‐2041                                                                           First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      Leatherstocking 400                      124 Mary St                                                  Herkimer, NY 13350‐1922                                                                           First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      Blue Mountain Council 604                P.O. Box 886                                                 Hermiston, OR 97838‐0886                                                                          First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      Golden Empire Council 047                920 D St                                                     Marysville, CA 95901‐5322                                                                         First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      Las Vegas Area Council 328               1000 Lillyhill Dr                                            Needles, CA 92363‐3432                                                                            First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      National Capital Area Council 082        5 Taft Ct                                                    Rockville, MD 20850‐1307                                                                          First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      Leatherstocking 400                      1315 Champlin Ave                                            Utica, NY 13502‐3615                                                                              First Class Mail
Chartered Organization         Benevolent & Protective Order Of Elks                      Longhouse Council 373                    P.O. Box 728                                                 Watertown, NY 13601                                                                               First Class Mail
Chartered Organization         Benevolent P. Order Elks Lodge 1544                        Hudson Valley Council 374                46 North St                                                  Monticello, NY 12701‐1711                                                                         First Class Mail
Chartered Organization         Benevolent Protective Order Elks                           Lodge 2129                               P.O. Box 217                                                 Blawenburg, NJ 08504‐0217                                                                         First Class Mail
Chartered Organization         Benevolent Protective Order Elks                           Lodge 1955                               110 Hickory Corner Rd                                        East Windsor, NJ 08520‐2416                                                                       First Class Mail
Chartered Organization         Benevolent Protective Order Elks                           Lodge 2180                               72 W Railroad Ave                                            Jamesburg, NJ 08831                                                                               First Class Mail
Chartered Organization         Benevolent Protective Order Elks                           Lodge 2229                               67 Old Amboy Rd                                              Old Bridge, NJ 08857‐3358                                                                         First Class Mail
Chartered Organization         Benevolent Protective Order Elks                           Lodge 2065                               1 Elks Ln                                                    Sierra Vista, AZ 85635‐1739                                                                       First Class Mail
Chartered Organization         Benevolent Protective Order Elks                           Lodge 2116                               665 Rahway Ave                                               Woodbridge, NJ 07095‐3551                                                                         First Class Mail
Chartered Organization         Benevolent Protective Order Elks 1199                      Northern Lights Council 429              P.O. Box 1596                                                Bismarck, ND 58502‐1596                                                                           First Class Mail
Chartered Organization         Benevolent Protective Order Elks 2409                      Longs Peak Council 062                   36355 US Hwy 385                                             Wray, CO 80758                                                                                    First Class Mail
Chartered Organization         Benevolent Protective Order Elks 2541                      Longs Peak Council 062                   525 Main St                                                  Louisville, CO 80027‐2037                                                                         First Class Mail
Chartered Organization         Benevolent Protective Order Elks 566                       Longs Peak Council 062                   3975 28th St                                                 Boulder, CO 80301‐1603                                                                            First Class Mail
Chartered Organization         Benevolent Protective Order Elks 809                       Longs Peak Council 062                   3061 W 29th St                                               Greeley, CO 80631‐8530                                                                            First Class Mail
Chartered Organization         Benevolent Protective Order Of Elks                        Mayflower Council 251                    1077 Pond St 2136                                            Franklin, MA 02038‐2630                                                                           First Class Mail
Chartered Organization         Benevolent Protective Order Of Elks                        Daniel Webster Council, Bsa 330          Rt 302                                                       Littleton, NH 03561                                                                               First Class Mail
Chartered Organization         Benevolent Protective Order Of Elks                        Crater Lake Council 491                  2017 SE Madras Rd                                            Madras, OR 97741                                                                                  First Class Mail
Chartered Organization         Benevolent Protective Order Of Elks 1900                   Greater Yosemite Council 059             19071 N Lower Sacramento Rd                                  Woodbridge, CA 95258‐9269                                                                         First Class Mail
Chartered Organization         Benevolent Protective Order Of Elks 2007                   Catalina Council 011                     P.O. Box 3                                                   San Manuel, AZ 85631‐0003                                                                         First Class Mail
Chartered Organization         Benevolent Protective Order Of Elks 955                    Catalina Council 011                     650 E 10th St                                                Douglas, AZ 85607‐2003                                                                            First Class Mail
Chartered Organization         Benevolent Protective Order Of The Elks                    Suwannee River Area Council 664          276 N Magnolia Dr                                            Tallahassee, FL 32301‐2638                                                                        First Class Mail
Chartered Organization         Benicia Lions Club                                         Mt Diablo‐Silverado Council 023          P.O. Box 385                                                 Benicia, CA 94510‐0385                                                                            First Class Mail
Chartered Organization         Benicia Police Dept                                        Mt Diablo‐Silverado Council 023          200 E L St                                                   Benicia, CA 94510‐3239                                                                            First Class Mail
Chartered Organization         Benignus Elementary Pto                                    Sam Houston Area Council 576             7225 Alvin A Klein Dr                                        Spring, TX 77379‐6912                                                                             First Class Mail
Chartered Organization         Benjamin Barnes Branch Ymca                                Black Warrior Council 006                2939 18th St                                                 Tuscaloosa, AL 35401‐4215                                                                         First Class Mail
Chartered Organization         Benjamin Franklin                                          Lake Erie Council 440                    1905 Spring Rd                                               Cleveland, OH 44109‐4460                                                                          First Class Mail
Chartered Organization         Benjamin Franklin Elementary School Pto                    Patriots Path Council 358                700 Prospect St                                              Westfield, NJ 07090‐3907                                                                          First Class Mail
Chartered Organization         Benjamin Franklin School                                   Lake Erie Council 440                    1905 Spring Rd                                               Cleveland, OH 44109‐4460                                                                          First Class Mail
Voting Party                   Benld United Methodist Church                              Address Redacted                                                                                                                                                       Email Address Redacted           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Bennett B Breed                                            Address Redacted                                                                                                                                                                                        First Class Mail
Chartered Organization         Bennett Community Organization                             Longs Peak Council 062                   1125 Bennett Rd                                              Fort Collins, CO 80521‐4501                                                                       First Class Mail
Chartered Organization         Bennett Elementary School Pto                              National Capital Area Council 082        8800 Old Dominion Dr                                         Manassas, VA 20110‐6925                                                                           First Class Mail
Chartered Organization         Bennett International Group                                Flint River Council 095                  1001 Industrial Pkwy                                         Mcdonough, GA 30253‐7330                                                                          First Class Mail
Voting Party                   Bennett Memorial United Methodist Church                   Attn: Ronald G. Burleson                 503 Letcher St                                               Henderson, KY 42420                                              pastor@bennettmemorial.net       Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Bennett Schroeder Wieck                                    Joseph R Schroeder Schroeder             517 Locust St                                                Marshall, IL 62441                                               jschroeder@bswlawfirm.com        Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Bennett Watkins Lions Club                                 Denver Area Council 061                  301 S County Rd 137                                          Bennett, CO 80102‐8640                                                                            First Class Mail
Chartered Organization         Bennett'S Corners Community Church                         Great Trail 433                          47 W 130th St                                                Hinckley, OH 44233‐9373                                                                           First Class Mail
Chartered Organization         Bennettsville Fire Dept                                    Pee Dee Area Council 552                 P.O. Box 1036                                                Bennettsville, SC 29512‐1036                                                                      First Class Mail
Voting Party                   Bennettsville‐Cheraw Area Cooperative Ministry             Kay G Crowe                              1613 Main St                                                 Columbia, SC 29201                                               chancellor@umcsc.org             Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Bennettsville‐Cheraw Area Cooperative Ministry             Attn: Judith A Knox                      P.O. Box 397                                                 Bennettsville, SC 29512                                          chancellor@umcsc.org             Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Bennington Lions Club                                      Coronado Area Council 192                105 N Nelson St                                              Bennington, KS 67422‐5007                                                                         First Class Mail
Chartered Organization         Bensalem Utd Methodist Church                              Washington Crossing Council 777          4300 Hulmeville Rd                                           Bensalem, PA 19020‐3855                                                                           First Class Mail
Chartered Organization         Benson First Response                                      Green Mountain 592                       P.O. Box 199                                                 Benson, VT 05731‐0199                                                                             First Class Mail
Chartered Organization         Benson Kiwanis Club                                        Tuscarora Council 424                    9255 Raleigh Rd                                              Benson, NC 27504‐7113                                                                             First Class Mail
Voting Party                   Benson Memorial United Methodist Church (Bmumc)            Attn: Treasurer                          4706 Creedmoor Rd                                            Raleigh, NC 27612                                                mikeymikejones62@gmail.com       Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Benson Middle School ‐ Stem Scouts                         Catalina Council 011                     360 S Patagonia St                                           Benson, AZ 85602‐6533                                                                             First Class Mail
Voting Party                   Benson United Methodist Church                             William Abbott Olsen                     P.O. Box 72                                                  205 E Church St                Benson, NC 27504                  billyolsen@nccumc.org            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Benson United Methodist Church, Benson, Nc                 Attn: Dianne Butler, Treasurer           P.O. Box 72                                                  Benson, NC 27504                                                 billyolsen@nccumc.org            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Benson Vfw Post 1403                                       Northern Lights Council 429              1135 Pacific Ave                                             Benson, MN 56215‐1857                                                                             First Class Mail
Chartered Organization         Benson Ward ‐ Lds St David Stake                           Catalina Council 011                     381 N Pomerene Rd                                            Benson, AZ 85602                                                                                  First Class Mail
Chartered Organization         Bent Tree Bible Church                                     Circle Ten Council 571                   4141 International Pkwy                                      Carrollton, TX 75007‐1907                                                                         First Class Mail
Chartered Organization         Benteen Elementary School Pta                              Atlanta Area Council 092                 200 Cassanova St Se                                          Atlanta, GA 30315‐4208                                                                            First Class Mail
Voting Party                   Bentley Creek Wesleyan Church                              Attn: Robert Jacob Wuethrich             13255 Berwick Tpk                                            Gillett, PA 16925                                                office@bcwesleyan.org            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Benton Christian Church                                    Columbia‐Montour 504                     305 3rd St                                                   Benton, PA 17814‐7522                                                                             First Class Mail
Chartered Organization         Benton City 1St Utd Methodist Ch                           Blue Mountain Council 604                906 9th St                                                   Benton City, WA 99320                                                                             First Class Mail
Voting Party                   Benton City Umc                                            c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Benton County Sheriffs Office                              Blue Mountain Council 604                7122 W Okanogan Pl Bldg B                                    Kennewick, WA 99336‐2359                                                                          First Class Mail
Voting Party                   Benton First United Methodist Church                       c/o Friday, Eldredge & Clark LLP         Attn: Lindsey Emerson Raines                                 400 W Capitol Ave, Ste 2000    Little Rock, AR 72201             lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Benton First United Methodist Church                       Attn: Jim Delamar                        200 N Market St                                              Benton, AR 72015                                                 jim.delamar@fumcbenton.org       Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Benton Harbor Area Schools                                 Southern Shores Fsc 783                  636 Pipestone St                                             Benton Harbor, MI 49022‐4152                                                                      First Class Mail
Chartered Organization         Benton Heights Presbyterian Church                         Central N Carolina Council 416           2701 Concord Hwy                                             Monroe, NC 28110‐8772                                                                             First Class Mail
Chartered Organization         Benton High School Jrotc                                   Pony Express Council 311                 5655 S 4th St                                                Saint Joseph, MO 64504‐1708                                                                       First Class Mail
Chartered Organization         Benton Lions Club                                          Quivira Council, Bsa 198                 P.O. Box 393                                                 Benton, KS 67017‐0393                                                                             First Class Mail
Chartered Organization         Benton Lions Club                                          Quivira Council, Bsa 198                 450 W South St                                               Benton, KS 67017‐9387                                                                             First Class Mail
Chartered Organization         Benton Township Esa                                        Water and Woods Council 782              4713 Hartel Rd                                               Potterville, MI 48876‐9702                                                                        First Class Mail
Voting Party                   Benton United Methodist Church (179410)                    c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Benton Utd Methodist Church                                Norwela Council 215                      4615 Palmetto Rd                                             Benton, LA 71006‐9711                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 29 of 442
                                                                                    Case 20-10343-LSS                                                         Doc 8171                                            Filed 01/06/22                                                Page 45 of 457
                                                                                                                                                                                               Exhibit B
                                                                                                                                                                                                Service List
                                                                                                                                                                                         Served as set forth below

        Description                                                        Name                                                                                                              Address                                                                                                                Email                  Method of Service
Voting Party                   Bentonville First United Methodist Church                          Attn: Toni Hinrichs                                201 NW 2nd St                                                Bentonville, AR 72712                                                   lraines@fridayfirm.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Benttree Bible Fellowship                                          Circle Ten Council 571                             4141 International Pkwy                                      Carrollton, TX 75007‐1907                                                                                     First Class Mail
Chartered Organization         Bentwood Elementary School Pta                                     Heart of America Council 307                       13000 Bond St                                                Overland Park, KS 66213‐4463                                                                                  First Class Mail
Chartered Organization         Bentwood Trail Presbyterian Church                                 Circle Ten Council 571                             6000 Bentwood Trl                                            Dallas, TX 75252‐5147                                                                                         First Class Mail
Voting Party                   Bentz Law Firm, P.C.                                               Len Spagnolo                                       112 Simmons Rd                                               Mcmurray, PA 15317                                                      lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bentz Law Firm, P.C.                                               Daniel Maier                                       Bentz Law Firm, P.C.                                         680 Washington Rd, Ste 200            Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bentz Law Firm, Pc                                                 Len Spagnolo                                       112 Simmons Rd                                               Mcmurray                                                                lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Berea United Methodist Church                                      Attn: Tonya L Cummings                             101 Fee St                                                   Berea, KY 40403                                                         tonyaalcummings@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Beresford Zion United Methodist Church                             47106 298th St                                     Beresford, SD 57004                                                                                                                  bzfin@hotmail.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bergen Commty                                                      College Aviation Post 747                          400 County Rd 62                                             Paramus, NJ 07652                                                                                             First Class Mail
Chartered Organization         Bergen Evangelical Presbyterian Church                             Iroquois Trail Council 376                         38 S Lake Ave                                                Bergen, NY 14416‐9734                                                                                         First Class Mail
Voting Party                   Bergen United Methodist Church                                     Attn: Treasurer                                    27 S Lake Ave                                                P.O. Box 216                          Bergen, NY 14416                  office@bergenumc.org                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bergen Utd Methodist Church                                        Iroquois Trail Council 376                         P.O. Box 266                                                 Bergen, NY 14416‐0266                                                                                         First Class Mail
Firm                           Berger Montague, Nye Stirling Hale & Miller LLP, and Motley Rice   Benjamin J. Sweet (Nye, Stirling, Hale & Miller)   1145 Bower Hill Road, Ste 104                                Pittsburgh, PA 15243                                                    blueblood8457@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Firm                           Berger Montague, Nye Stirling Hale & Miller LLP, and Motley Rice   Alison Bernal (Nye Stirling Hale & Miller LLP)     33 West Mission Street, Ste 201                              Santa Barbara, CA 93101                                                 tim@nshmlaw.com                       Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Berkeley Baptist Church                                            Denver Area Council 061                            4050 W 44th Ave                                              Denver, CO 80212‐2349                                                                                         First Class Mail
Chartered Organization         Berkeley County Ems                                                Coastal Carolina Council 550                       223 N Live Oak Dr                                            Moncks Corner, SC 29461‐3705                                                                                  First Class Mail
Chartered Organization         Berkeley County Sheriff Dept                                       Coastal Carolina Council 550                       223 N Live Oak Dr                                            Moncks Corner, SC 29461‐3705                                                                                  First Class Mail
Voting Party                   Berkeley Hills Lutheran Church                                     Attn: Heather S Lubold                             517 Sangree Rd                                               Pittsburgh, PA 15237                                                    bhlc517@verizon.net                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Berkeley Lions Club                                                Mt Diablo‐Silverado Council 023                    P.O. Box 874                                                 Berkeley, CA 94701‐0874                                                                                       First Class Mail
Voting Party                   Berkeley Methodist United Church                                   Attn: Lindsay Hiratzka                             10033 Foxboro Cir                                            San Ramon, CA 94583                                                     hiratzkal@hotmail.com                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Berkeley Methodist United Church                                   1710 Carleton St                                   Berkeley, CA 94703                                                                                                                                                         First Class Mail
Voting Party                   Berkeley United Methodist Church                                   Attn: Linda Sue Aranda                             2407 Berkeley Ave                                            Austin, TX 79745                                                        Office@berkelyumc.org                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Berkley American Legion Post 374                                   Great Lakes Fsc 272                                2079 12 Mile Rd                                              Berkley, MI 48072‐1854                                                                                        First Class Mail
Chartered Organization         Berkley Firefighters Assoc                                         Narragansett 546                                   5 N Main St                                                  Berkley, MA 02779‐1312                                                                                        First Class Mail
Voting Party                   Berkley Firefighters Association, Inc                              Attn: Brian W Perry                                8 Grove St                                                   Berkley, MA 02779                                                       bperrycar2@comcast.net                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Berkley Firefighters Association, Inc                              Attn: Brian W Perry                                5 N Main St                                                  Berkley, MA 02779                                                                                             First Class Mail
Chartered Organization         Berkley First Utd Methodist Church                                 Great Lakes Fsc 272                                2820 12 Mile Rd                                              Berkley, MI 48072‐1412                                                                                        First Class Mail
Chartered Organization         Berkley Hills Lutheran Church                                      Laurel Highlands Council 527                       Sangree Rd                                                   Pittsburgh, PA 15237                                                                                          First Class Mail
Chartered Organization         Berkley Post 121 American Legion                                   Narragansett 546                                   80 Myricks St                                                Berkley, MA 02779‐1810                                                                                        First Class Mail
Chartered Organization         Berkmar Utd Methodist Church                                       Northeast Georgia Council 101                      675 Pleasant Hill Rd Nw                                      Lilburn, GA 30047‐8748                                                                                        First Class Mail
Chartered Organization         Berks County Bar Assoc                                             Hawk Mountain Council 528                          544 Court St                                                 Reading, PA 19601‐3412                                                                                        First Class Mail
Chartered Organization         Berks County Sheriff Office                                        Hawk Mountain Council 528                          633 Court St                                                 Reading, PA 19601‐4302                                                                                        First Class Mail
Voting Party                   Berlin Center United Methodist Church                              Attn: Pastor Fred Higgins                          15611 Akron‐Canfield Rd                                      Berlin Center, OH 44401                                                 FredRHiggins@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Berlin Vfw Anmac Post 6253                                         Garden State Council 690                           34 Chestnut Ave                                              Berlin, NJ 08009‐1102                                                                                         First Class Mail
Chartered Organization         Berlin Vol Fire Dept                                               Laurel Highlands Council 527                       P.O. Box 13                                                  Berlin, PA 15530‐0013                                                                                         First Class Mail
Chartered Organization         Berlin‐Lions Club                                                  Heart of New England Council 230                   43 South St                                                  Berlin, MA 01503‐1606                                                                                         First Class Mail
Chartered Organization         Berlinmillcreek‐Zionsville Vol Fire Dept                           Sam Houston Area Council 576                       P.O. Box 1832                                                Brenham, TX 77834‐1832                                                                                        First Class Mail
Firm                           Berman & Simmons, P.A.                                             Michael T. Bigos                                   129 Lisbon Street, P O Box 961                               Lewiston, ME 04243‐0961                                                 mbigos@bermansimmons.com              Email
                                                                                                                                                                                                                                                                                          steve@crewjanci.com                   First Class Mail
Firm                           Berman O'Connor & Mann                                             Michael J. Berman                                  111 W. Chalan Santo Papa, Ste 503                            Hagatna, Guam 96910                                                                                           First Class Mail
Voting Party                   Bermuda Hundred UMC 2025 Florence Ave, Chester, VA 23836           c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bermuda Hundred Utd Methodist Church                               Heart of Virginia Council 602                      2025 Florence Ave                                            Chester, VA 23836‐6228                                                                                        First Class Mail
Chartered Organization         Bernard Middle School Pto                                          Greater St Louis Area Council 312                  1054 Forder Rd                                               Saint Louis, MO 63129‐1714                                                                                    First Class Mail
Voting Party                   Bernardsville Umc                                                  c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bernay Apgar Post 342 American Legion                              Patriots Path Council 358                          E Main St                                                    Chester, NJ 07930                                                                                             First Class Mail
Chartered Organization         Berne Lodge 684 Free & Accepted Masons                             Attn: Louis Schenck                                1652 Helderberg Trl                                          Berne, NY 12023                                                                                               First Class Mail
Chartered Organization         Berne Rotary Club                                                  Anthony Wayne Area 157                             179 W Main St                                                Berne, IN 46711‐1548                                                                                          First Class Mail
Chartered Organization         Bernice Mathews Elem Team Up Program                               Nevada Area Council 329                            535 E Plumb Ln                                               Reno, NV 89502‐3503                                                                                           First Class Mail
Chartered Organization         Bernshausen Elementary Pto                                         Sam Houston Area Council 576                       11116 Mahaffey Rd                                            Tomball, TX 77375‐6908                                                                                        First Class Mail
Chartered Organization         Berrien County Sheriff'S Dept                                      Southern Shores Fsc 783                            919 Port St                                                  Saint Joseph, MI 49085‐1116                                                                                   First Class Mail
Voting Party                   Berrien Springs United Methodist Church                            Attn: William C Walters                            310 W Mars St                                                Berrien Springs, MI 49103                                               wwalters1965@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Berry Elementary                                                   Sam Houston Area Council 576                       2310 Berry Rd                                                Houston, TX 77093‐7418                                                                                        First Class Mail
Chartered Organization         Berry High School Ffa                                              Black Warrior Council 006                          18242 Hwy 18 E                                               Berry, AL 35546‐2208                                                                                          First Class Mail
Voting Party                   Berry Memorial United Methodist Church                             c/o Chicago: Berry Memorial                        4742 N Western Ave                                           Chicago, IL 60625                                                       mkrings@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Berrys Chapel Church Of Christ                                     Middle Tennessee Council 560                       1777 Berrys Chapel Rd                                        Franklin, TN 37069‐4535                                                                                       First Class Mail
Chartered Organization         Berry'S Chapel Church Of Christ                                    Middle Tennessee Council 560                       1777 Berrys Chapel Rd                                        Franklin, TN 37069‐4535                                                                                       First Class Mail
Voting Party                   Berryton United Methodist Church                                   c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Berryton United Methodist Church                                   7010 SE Berryton Rd                                Berryton, KS 66409                                                                                                                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Berryton Utd Methodist Church                                      Jayhawk Area Council 197                           P.O. Box 25                                                  Berryton, KS 66409‐0025                                                                                       First Class Mail
Voting Party                   Berryville United Methodist Church                                 c/o Friday, Eldredge & Clark LLP                   Attn: Lindsey Emerson Raines                                 400 W Capitol Ave, Ste 2000           Little Rock, AR 72201             lraines@fridayfirm.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Berryville United Methodist Church                                 Attn: Denise Tinney‐Clark                          P.O. Box 267                                                 Berryville, AR 72616                                                    bvfumc@windstream.net                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bert G Taylor Post 300 American Legion                             Black Swamp Area Council 449                       500 Glenwood Ave                                             Napoleon, OH 43545‐1340                                                                                       First Class Mail
Voting Party                   Berta A Penney Memorial United Methodist Church                    P.O. Box 704                                       Kemmerer, WY 83101                                                                                                                   sawrnr@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Berwick Umc                                                        Attn: Marc Couture                                 204 Somersworth Rd                                           Rollinsford, NH 03869                                                   mrcouture@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Berwick United Methodist Church                                    Attn: Stephen Macleod                              37 School St                                                 Berwick, ME 03901                                                       pastor@berwickumc.org                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Berwick Utd Methodist Church                                       Pine Tree Council 218                              P.O. Box 645                                                 Berwick, ME 03901‐0645                                                                                        First Class Mail
Chartered Organization         Berwyn Moose Lodge 424                                             Pathway To Adventure 456                           3625 S Harlem Ave                                            Berwyn, IL 60402‐3212                                                                                         First Class Mail
Chartered Organization         Berwyn Police Dept                                                 Pathway To Adventure 456                           6401 31st St                                                 Berwyn, IL 60402‐3106                                                                                         First Class Mail
Chartered Organization         Berwyn Utd Methodist Church                                        Chester County Council 539                         140 Waterloo Ave                                             Berwyn, PA 19312‐1733                                                                                         First Class Mail
Chartered Organization         Bess Brannen Elementary Pto                                        Bay Area Council 574                               802 That Way St                                              Lake Jackson, TX 77566‐4226                                                                                   First Class Mail
Chartered Organization         Bessemer Elks Lodge                                                Greater Alabama Council 001                        1313 4th Ave N                                               Bessemer, AL 35020‐5674                                                                                       First Class Mail
Chartered Organization         Bessemer Rotary Club                                               Moraine Trails Council 500                         Bessemer Presbyterian Church                                 Bessemer, PA 16112                                                                                            First Class Mail
Voting Party                   Bessie'S Floral Design, Inc                                        124 Main St W                                      Oak Hill, WV 25901‐2935                                                                                                                                                    First Class Mail
Chartered Organization         Beth Eden Baptist Church                                           Pathway To Adventure 456                           11121 S Loomis St                                            Chicago, IL 60643‐3635                                                                                        First Class Mail
Chartered Organization         Beth Eden Evangelical Lutheran Church                              Piedmont Council 420                               400 N Main Ave                                               Newton, NC 28658‐3102                                                                                         First Class Mail
Chartered Organization         Beth Eden Lutheran Church Elca                                     Piedmont Council 420                               400 N Main Ave                                               Newton, NC 28658‐3102                                                                                         First Class Mail
Chartered Organization         Beth Eden Utd Methodist Church                                     Blackhawk Area 660                                 3201 Huffman Blvd                                            Rockford, IL 61103‐2941                                                                                       First Class Mail
Chartered Organization         Beth El Temple                                                     New Birth of Freedom 544                           2637 N Front St                                              Harrisburg, PA 17110‐1112                                                                                     First Class Mail
Voting Party                   Beth Horon UMC 71 Beth Horon Dr, Natural Bridge Station, VA        c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Beth Israel Brotherhood                                            Baltimore Area Council 220                         3706 Crondall Ln                                             Owings Mills, MD 21117‐2234                                                                                   First Class Mail
Chartered Organization         Beth Jacob Congregation                                            W.L.A.C.C. 051                                     9030 W Olympic Blvd                                          Beverly Hills, CA 90211‐3540                                                                                  First Class Mail
Chartered Organization         Beth Jacob Congregation Of Irvine                                  Orange County Council 039                          3900 Michelson Dr                                            Irvine, CA 92612‐1765                                                                                         First Class Mail
Chartered Organization         Beth Knesset Bamidbar                                              W.L.A.C.C. 051                                     1611 E Ave J                                                 Lancaster, CA 93535‐4247                                                                                      First Class Mail
Chartered Organization         Beth Meyer Synagogue                                               Occoneechee 421                                    504 Newton Rd                                                Raleigh, NC 27615‐6212                                                                                        First Class Mail
Chartered Organization         Beth Shalom Synagogue                                              Heart of America Council 307                       14200 Lamar Ave                                              Overland Park, KS 66223‐4850                                                                                  First Class Mail
Chartered Organization         Bethabara Moravian Church                                          Old Hickory Council 427                            2100 Bethabara Rd                                            Winston Salem, NC 27106‐2702                                                                                  First Class Mail
Voting Party                   Bethal Evangelical Lutheran Church                                 Attn: Andrew Hathaway Borden                       90 Bryn Mawr Ave                                             Auburn, MA 01501                                                        bethlauburn@verizon.net               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bethalto Police Benev Assoc 85                                     Greater St Louis Area Council 312                  213 N Prairie St                                             Bethalto, IL 62010‐1306                                                                                       First Class Mail
Chartered Organization         Bethania Lutheran Church                                           Three Harbors Council 636                          4120 Wright Ave                                              Racine, WI 53405‐3226                                                                                         First Class Mail
Chartered Organization         Bethania Moravian Church                                           Old Hickory Council 427                            P.O. Box 17                                                  Bethania, NC 27010‐0017                                                                                       First Class Mail
Chartered Organization         Bethany Baptist Church                                             Greater New York Councils, Bsa 640                 460 Marcus Garvey Blvd                                       Brooklyn, NY 11216‐2529                                                                                       First Class Mail
Chartered Organization         Bethany Baptist Church                                             Cascade Pacific Council 492                        1150 Hilfiker Ln Se                                          Salem, OR 97302‐1825                                                                                          First Class Mail
Chartered Organization         Bethany Baptist Church                                             Ventura County Council 057                         200 Bethany Ct                                               Thousand Oaks, CA 91360‐2013                                                                                  First Class Mail
Voting Party                   Bethany Berwick (04140)                                            c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200            Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bethany Christian Church                                           East Carolina Council 426                          P.O. Box 156                                                 Arapahoe, NC 28510‐0156                                                                                       First Class Mail
Chartered Organization         Bethany Christian Church                                           Atlanta Area Council 092                           2868 Carrollton Villa Rica Hwy                               Carrollton, GA 30116‐5513                                                                                     First Class Mail
Chartered Organization         Bethany Christian Church                                           Atlanta Area Council 092                           3264 Villa Rica Hwy                                          Dallas, GA 30157‐0667                                                                                         First Class Mail
Chartered Organization         Bethany Christian Church                                           Yucca Council 573                                  10453 Springwood Dr                                          El Paso, TX 79925‐7345                                                                                        First Class Mail
Chartered Organization         Bethany Christian Church                                           Yucca Council 573                                  3639 Red Cloud Pl                                            El Paso, TX 79936‐1246                                                                                        First Class Mail
Chartered Organization         Bethany Christian Church                                           Cornhusker Council 324                             1645 N Cotner Blvd                                           Lincoln, NE 68505‐1629                                                                                        First Class Mail
Chartered Organization         Bethany Church Assemblies Of God                                   Northern New Jersey Council, Bsa 333               568 Wellington Dr                                            Wyckoff, NJ 07481‐1133                                                                                        First Class Mail
Chartered Organization         Bethany Church On The Hill                                         Ventura County Council 057                         200 Bethany Ct                                               Thousand Oaks, CA 91360‐2013                                                                                  First Class Mail
Chartered Organization         Bethany Church Ucc                                                 Green Mountain 592                                 115 Main St                                                  Montpelier, VT 05602‐2985                                                                                     First Class Mail
Voting Party                   Bethany Church, Long Beach, California                             Attn: Tim Springer                                 2250 Clark Ave                                               Long Beach, CA 90815                                                    tspringer@bethanylb.org               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bethany Churchmen                                                  Bay‐Lakes Council 635                              202 S 11th St                                                Escanaba, MI 49829‐3451                                                                                       First Class Mail
Chartered Organization         Bethany Congregational Church                                      Theodore Roosevelt Council 386                     100 Main St                                                  East Rockaway, NY 11518‐1801                                                                                  First Class Mail
Chartered Organization         Bethany Congregational Church                                      Mayflower Council 251                              3 Rockhill St                                                Foxboro, MA 02035‐2340                                                                                        First Class Mail
Chartered Organization         Bethany Covenant Church                                            Connecticut Rivers Council, Bsa 066                785 Mill St                                                  Berlin, CT 06037‐2428                                                                                         First Class Mail
Voting Party                   Bethany First United Methodist Church                              Daniel Francillon                                  100 Cummins Hwy.                                             Roslindale, MA 02131                                                    bethanyfirstumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bethany First United Methodist Church                              Attn: Chairperson of the Trustees                  Attn: Daniel Francillon                                      100 Cummins Hwy                       Roslindale, MA 02131              bethanyfirstumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bethany Franklinville                                              c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Laurel Highlands Council 527                       200 3rd Ave                                                  Altoona, PA 16602‐3928                                                                                        First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Chief Seattle Council 609                          7968 Finch Rd Ne                                             Bainbridge Island, WA 98110‐2704                                                                              First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Mississippi Valley Council 141 141                 2515 Madison Ave                                             Burlington, IA 52601‐6620                                                                                     First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Denver Area Council 061                            4500 E Hampden Ave                                           Cherry Hills Village, CO 80113‐4223                                                                           First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Connecticut Rivers Council, Bsa 066                50 Court St                                                  Cromwell, CT 06416‐1621                                                                                       First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Blackhawk Area 660                                 76 W Crystal Lake Ave                                        Crystal Lake, IL 60014‐6155                                                                                   First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Mid‐America Council 326                            703 Broadway St                                              Emmetsburg, IA 50536‐2419                                                                                     First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Mid Iowa Council 177                               2712 Washington Ave                                          Iowa Falls, IA 50126‐1554                                                                                     First Class Mail
Chartered Organization         Bethany Lutheran Church                                            W D Boyce 138                                      P.O. Box Lundy Ln                                            Leland, IL 60531                                                                                              First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Quivira Council, Bsa 198                           320 N Main St                                                Lindsborg, KS 67456‐2011                                                                                      First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Central Minnesota 296                              P.O. Box 473                                                 Nevis, MN 56467‐0473                                                                                          First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Hawk Mountain Council 528                          1375 Friedensburg Rd                                         Reading, PA 19606‐1010                                                                                        First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Hawk Mountain Council 528                          1375 Friedensburg Rd                                         Reading, PA 19606‐1010                                                                                        First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Northern Lights Council 429                        1315 6th St Ne                                               Red Lake Falls, MN 56750‐4328                                                                                 First Class Mail
Chartered Organization         Bethany Lutheran Church                                            Mid‐America Council 326                            15 W 14th St                                                 Spencer, IA 51301‐3536                                                                                        First Class Mail
Voting Party                   Bethany Lutheran Church                                            Attn: Connie R Reiner                              4200 N 204th St                                              Elkhorn, NE 68022                                                       theresa.kreifels@bethanyelkhorn.org   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bethany Lutheran Church                                            Attn: Rev Megan Filer                              2900 Parkview Dr                                             Longview, WA 98632                                                      pastor@bethanylongview.org            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bethany Lutheran Church                                            Attn: Diana Anderson                               512 Main St                                                  Toms River, NJ 08753                                                    Diana@DianaAndersonEsquire.com        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bethany Lutheran Church                                            Attn: Gerald R J Heuer                             11475 E Outer Dr                                             Detroit, MI 48224                                                       businessmanager@bethanydetroit.org    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bethany Lutheran Church                                            617 Morgan Ave                                     Palmyray, NJ 08065                                                                                                                                                         First Class Mail
Chartered Organization         Bethany Lutheran Church ‐ Lcms                                     Capitol Area Council 564                           3701 W Slaughter Ln                                          Austin, TX 78749‐5902                                                                                         First Class Mail
Voting Party                   Bethany Lutheran Church Lakewood                                   c/o Law Offices of Steven B Lever                  200 Pine Ave, Ste 620                                        Long Beach, CA 90802                                                    sblever@leverlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bethany Lutheran Church Lakewood                                   4644 Clark Ave                                     Long Beach, CA 90808                                                                                                                 kkritzer@bethanylutheran.org          Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bethany Lutheran Church Lakewood                                   4644 Clark Ave                                     Long Beach, CA 90808                                                                                                                                                       First Class Mail
Chartered Organization         Bethany Lutheran Church Men                                        Three Fires Council 127                            8 S Lincoln St                                               Batavia, IL 60510‐2424                                                                                        First Class Mail
Voting Party                   Bethany Lutheran Church Of Boone Nc                                Attn: Robert P Laney                               906 Main St, Ste 202                                         North Wilkesboro, NC 28659                                              rlaney@robertlaneylawfirm.com         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Bethany Lutheran Church Of Spanaway, Washington                    Attn: Ms Lisa Olson, President                     26418 Mountain Hwy E                                         Spanaway, WA 98387                                                      sunset.weaving@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bethany Lutheran Church‐Bigfork                                    Montana Council 315                                P.O. Box 398                                                 Bigfork, MT 59911‐0398                                                                                        First Class Mail
Chartered Organization         Bethany Memorial Church                                            Ohio River Valley Council 619                      P.O. Box 149                                                 Bethany, WV 26032‐0149                                                                                        First Class Mail
Chartered Organization         Bethany Methodist Church                                           Old N State Council 070                            3650 Bethany Church Rd                                       Franklinville, NC 27248‐8008                                                                                  First Class Mail
Chartered Organization         Bethany Methodist Church                                           Bay‐Lakes Council 635                              1110 Echo Ln                                                 Green Bay, WI 54304‐4312                                                                                      First Class Mail
Chartered Organization         Bethany Missionary Baptist Church                                  Cradle of Liberty Council 525                      5747 Warrington Ave                                          Philadelphia, PA 19143‐5213                                                                                   First Class Mail
Voting Party                   Bethany Of Fox Valley Umc                                          Aurora: Bethany of Fox Valley                      2200 Ridge Ave                                               Aurora, IL 60504                                                        pastorsam@bfvumc.org                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Bethany Presbyterian                                               Queen Anne United Methodist                        1818 Queen Anne Ave N                                        Seattle, WA 98109‐2848                                                                                        First Class Mail
Chartered Organization         Bethany Presbyterian                                               Cape Fear Council 425                              2237 Castle Hayne Rd                                         Wilmington, NC 28401‐2773                                                                                     First Class Mail
Chartered Organization         Bethany Presbyterian Church                                        Blue Ridge Council 551                             106 Fawn Rd                                                  Clinton, SC 29325‐3747                                                                                        First Class Mail
Chartered Organization         Bethany Presbyterian Church                                        Atlanta Area Council 092                           1002 Bethany Rd                                              Covington, GA 30016‐8743                                                                                      First Class Mail
Chartered Organization         Bethany Presbyterian Church                                        Old N State Council 070                            1500 S Main St                                               Graham, NC 27253‐4419                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                Page 30 of 442
                                                                                   Case 20-10343-LSS                                                                      Doc 8171                                          Filed 01/06/22                                              Page 46 of 457
                                                                                                                                                                                                         Exhibit B
                                                                                                                                                                                                          Service List
                                                                                                                                                                                                   Served as set forth below

        Description                                                         Name                                                                                                                       Address                                                                                                              Email                  Method of Service
Chartered Organization         Bethany Presbyterian Church                                                 Sagamore Council 162                                  3305 Longlois Dr                                           Lafayette, IN 47904‐1719                                                                                    First Class Mail
Chartered Organization         Bethany Presbyterian Church                                                 Pennsylvania Dutch Council 524                        25 N West End Ave                                          Lancaster, PA 17603‐3226                                                                                    First Class Mail
Chartered Organization         Bethany Presbyterian Church                                                 French Creek Council 532                              100 W Venango St                                           Mercer, PA 16137‐1109                                                                                       First Class Mail
Chartered Organization         Bethany Presbyterian Church                                                 Central N Carolina Council 416                        6713 Plyler Mill Rd                                        Monroe, NC 28112‐9570                                                                                       First Class Mail
Chartered Organization         Bethany Presbyterian Church                                                 Cascade Pacific Council 492                           15505 NW Springville Rd                                    Portland, OR 97229‐1801                                                                                     First Class Mail
Chartered Organization         Bethany Presbyterian Church                                                 Seneca Waterways 397                                  3000 Dewey Ave                                             Rochester, NY 14616‐3729                                                                                    First Class Mail
Chartered Organization         Bethany Presbyterian Church                                                 Chief Seattle Council 609                             3 Howe St                                                  Seattle, WA 98109‐2525                                                                                      First Class Mail
Chartered Organization         Bethany Reformed Church                                                     Twin Rivers Council 364                               760 New Scotland Ave                                       Albany, NY 12208‐1741                                                                                       First Class Mail
Chartered Organization         Bethany Umc                                                                 Quivira Council, Bsa 198                              1601 S Main St                                             Wichita, KS 67213‐5138                                                                                      First Class Mail
Voting Party                   Bethany Umc ‐ Jefferson                                                     c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany Umc ‐ Jefferson                                                     4659 Brockton Rd                                      Jefferson, GA 30549                                                                                                                                                    First Class Mail
Voting Party                   Bethany Umc 510 N Hanover St Lebanon Pa 17046                               c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany Umc 510 N Hanover St Lebanon Pa 17046                               510 N Hanover St                                      Lebanon, PA 17046                                                                                                                                                      First Class Mail
Voting Party                   Bethany UMC Gloucester Point 1509 Todd's Lane, Hampton, VA 23666            c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany UMC Gloucester Point 1860 Hayes Road, Glouchester Point, VA 23062   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Bethany Union Church                                                        Pathway To Adventure 456                              1750 W 103rd St                                            Chicago, IL 60643‐2821                                                                                      First Class Mail
Voting Party                   Bethany United Methodist Church                                             Attn: Scott W Liebold                                 7179 Purvis Ln                                             Smithfield, VA 23430                                                  sliebold1@outlook.com                 Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             Attn: Pastor & Treasurer                              902 Portland St                                            Rochester, NH 03868                                                   rj_lefebv@hotmail.com                 Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             Attn: Rhuel Dickinson, Board Chair                    154 Phillips Lake Rd                                       Blaxton, MS 39044                                                     rhuel.dickinson@att.net               Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             Attn: Doug Sonnenberg, Lead Pastor                    6388 Cincinnati‐Dayton Rd                                  Middletown, OH 45044                                                  pastor@bethanychurchoh.org            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             Attn: Jill Connery, Bethany United Methodist Church   1110 Echo Ln                                               Green Bay, WI 54304                                                   office@bethanygreenbay.org            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             Attn: Narcisse Philips                                1208 St Johns Pl                                           Brooklyn, NY 11213                                                    narhamphilips@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             1208 St Johns Pl                                      Brooklyn, NY 11213                                                                                                               narhamphilips@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             Attn: Martha Rose, Book Keeper                        Bethany United Methodist Church                            2875 Bethany Ln                   Ellicott City, MD 21042             martha@bethanyum.org                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             Attn: Denise Mann                                     P.O. Box 239                                               Wanchese, NC 27981                                                    mannfarmyard@embarqmail.com           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             Attn: Beatrice Wright                                 4533 Mendez St                                             New Orleans, LA 70126                                                 cbcllc@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             Attn: Laura M Gray                                    353 E Vienna St                                            Clio, MI 48420                                                        bethanyumcclio@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             Attn: Cathy Por Taro ‐ Treasurer                      2809 Guess Rd                                              Durham, NC 27705                                                      bethanyumc1@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             Attn: Lynn Fuller                                     6100 Moorman Rd                                            Louisville, KY 40272                                                  admin.office@bethanyumc.com           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church                                             Attn: Kelly Trakner, Treas                            153 Connerly Rd                                            Braxton, MS 39044                                                                                           First Class Mail
Voting Party                   Bethany United Methodist Church                                             760 Hurt Rd                                           Smyrna, GA 30082                                                                                                                                                       First Class Mail
Voting Party                   Bethany United Methodist Church ‐ Smyrna                                    c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church (09580)                                     c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church (184815)                                    c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church (187831)                                    c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church (187831)                                    c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228                                                      First Class Mail
Voting Party                   Bethany United Methodist Church Of Austin                                   Attn: Kevin Jackson                                   10010 Anderson Mill Rd                                     Austin, TX 78750                                                      kevin.jackson@bethany‐umc.org         Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Methodist Church Of Summerville, Inc.                        Attn: Rev. Mitch Houston                              118 W 3rd South St                                         Summerville, SC 29483                                                 mhouston@bethany‐umc.com              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Presbyterian Church                                          Attn: Peter Sang Pak                                  293 W Passaic Ave                                          Bloomfield, NJ 07003                                                  sanghpak@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Presbyterian Church                                          Peter Sang Pak                                        293 W Passaic Ave                                          Bloomfield, NJ 07003                                                  sanghpak@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Presbyterian Church                                          Attn: Ellen O'Connell, Esq                            600 Parsippany Rd, Ste 204                                 Parsippany, NJ 07054                                                  sanghpak@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethany United Presbyterian Church                                          Attn: Ellen O'Connell, Esq                            600 Parsippany Rd, Ste 204                                 Parsippany, NJ 07650                                                  sanghpak@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Bethany Utd Church Of Christ                                                Great Trail 433                                       1235 Broad Blvd                                            Cuyahoga Falls, OH 44223‐2428                                                                               First Class Mail
Chartered Organization         Bethany Utd Church Of Christ                                                Pennsylvania Dutch Council 524                        140 E Main St                                              Ephrata, PA 17522‐2739                                                                                      First Class Mail
Chartered Organization         Bethany Utd Methodist Church                                                Capitol Area Council 564                              10010 Anderson Mill Rd                                     Austin, TX 78750‐2127                                                                                       First Class Mail
Chartered Organization         Bethany Utd Methodist Church                                                Columbia‐Montour 504                                  116 Summerhill Ave                                         Berwick, PA 18603‐2145                                                                                      First Class Mail
Chartered Organization         Bethany Utd Methodist Church                                                Andrew Jackson Council 303                            153 Conerly Rd                                             Braxton, MS 39044‐9630                                                                                      First Class Mail
Chartered Organization         Bethany Utd Methodist Church                                                Baltimore Area Council 220                            2875 Bethany Ln                                            Ellicott City, MD 21042‐2213                                                                                First Class Mail
Chartered Organization         Bethany Utd Methodist Church                                                Anthony Wayne Area 157                                7715 Sunny Ln                                              Fort Wayne, IN 46835‐1166                                                                                   First Class Mail
Chartered Organization         Bethany Utd Methodist Church                                                Northeast Georgia Council 101                         4659 Brockton Rd                                           Jefferson, GA 30549‐3554                                                                                    First Class Mail
Chartered Organization         Bethany Utd Methodist Church                                                Dan Beard Council, Bsa 438                            6388 Cincinnati Dayton Rd                                  Liberty Township, OH 45044‐8797                                                                             First Class Mail
Chartered Organization         Bethany Utd Methodist Church                                                Glaciers Edge Council 620                             3910 Mineral Point Rd                                      Madison, WI 53705‐5124                                                                                      First Class Mail
Chartered Organization         Bethany Utd Methodist Church                                                Atlanta Area Council 092                              760 Hurt Rd Sw                                             Smyrna, GA 30082‐2919                                                                                       First Class Mail
Chartered Organization         Bethany Utd Methodist Church                                                Coastal Carolina Council 550                          118 W 3rd South St                                         Summerville, SC 29483‐5918                                                                                  First Class Mail
Chartered Organization         Bethany Utd Methodist Church                                                Minsi Trails Council 502                              1208 Brookside Rd                                          Wescosville, PA 18106‐9402                                                                                  First Class Mail
Chartered Organization         Bethany Utd Methodist Men                                                   Colonial Virginia Council 595                         1509 Todds Ln                                              Hampton, VA 23666‐2946                                                                                      First Class Mail
Chartered Organization         Bethany Utd Presbyterian Church                                             Northern New Jersey Council, Bsa 333                  293 W Passaic Ave                                          Bloomfield, NJ 07003‐5500                                                                                   First Class Mail
Chartered Organization         Bethany Volunteer Firemen Assoc                                             Connecticut Yankee Council Bsa 072                    765 Amity Rd                                               Bethany, CT 06524‐3028                                                                                      First Class Mail
Voting Party                   Bethany/Wescosville                                                         c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Bethel Acres Utd Methodist Church                                           Last Frontier Council 480                             35500 Hardesty Rd                                          Shawnee, OK 74801‐5667                                                                                      First Class Mail
Chartered Organization         Bethel African Methodist Episc Ch                                           Old N State Council 070                               200 N Regan St                                             Greensboro, NC 27401‐3142                                                                                   First Class Mail
Chartered Organization         Bethel African Methodist Episcopal                                          Water and Woods Council 782                           535 Cathay St                                              Saginaw, MI 48601‐1318                                                                                      First Class Mail
Chartered Organization         Bethel African Methodist Espicopal Ch                                       Connecticut Rivers Council, Bsa 066                   1154 Blue Hills Ave                                        Bloomfield, CT 06002‐1981                                                                                   First Class Mail
Chartered Organization         Bethel Ame Church                                                           Southern Shores Fsc 783                               900 John A Woods Dr                                        Ann Arbor, MI 48105‐1713                                                                                    First Class Mail
Chartered Organization         Bethel Ame Church                                                           Central Florida Council 083                           226 E Howry Ave                                            Deland, FL 32724‐5526                                                                                       First Class Mail
Chartered Organization         Bethel Assembly Of God                                                      Greater Alabama Council 001                           5250 Hwy 46                                                Heflin, AL 36264‐6222                                                                                       First Class Mail
Chartered Organization         Bethel Baptist Church                                                       Illowa Council 133                                    1196 N Academy St                                          Galesburg, IL 61401‐2647                                                                                    First Class Mail
Chartered Organization         Bethel Baptist Church                                                       Piedmont Council 420                                  200 Bethel Church Rd                                       Lincolnton, NC 28092‐8332                                                                                   First Class Mail
Chartered Organization         Bethel Baptist Church                                                       Heart of Virginia Council 602                         1100 Huguenot Springs Rd                                   Midlothian, VA 23113‐7219                                                                                   First Class Mail
Chartered Organization         Bethel Baptist Church                                                       W D Boyce 138                                         1028 S 6th St                                              Princeton, IL 61356‐9308                                                                                    First Class Mail
Chartered Organization         Bethel Baptist Church                                                       Conquistador Council Bsa 413                          2420 N Garden Ave                                          Roswell, NM 88201‐7623                                                                                      First Class Mail
Chartered Organization         Bethel Baptist Church                                                       Westchester Putnam 388                                1 Fisher Ct                                                White Plains, NY 10601‐4119                                                                                 First Class Mail
Chartered Organization         Bethel Baptist Institutional Church                                         North Florida Council 087                             215 Bethel Baptist St                                      Jacksonville, FL 32202‐3933                                                                                 First Class Mail
Chartered Organization         Bethel Church                                                               Crossroads of America 160                             12110 W Bethel Ave                                         Muncie, IN 47304‐9728                                                                                       First Class Mail
Voting Party                   Bethel Church Of Christ                                                     Attn: Alan R Bormuth                                  3051 Port St                                               Morganton, NC 28655                                                   al@bormuth.com                        Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Bethel Commandment Church                                                   Garden State Council 690                              P.O. Box 67                                                Whitesboro, NJ 08252‐0067                                                                                   First Class Mail
Voting Party                   Bethel Community United Methodist Church                                    Attn: Wanda J Greaves                                 1 Rixtown Rd                                               Griswold, CT 06351                                                    pastorwanda@hotmail.com               Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Bethel Cumberland Presnyterian Church                                       Middle Tennessee Council 560                          3375 Sango Rd                                              Clarksville, TN 37043‐4538                                                                                  First Class Mail
Chartered Organization         Bethel Evangelical Congregation Church                                      Pennsylvania Dutch Council 524                        3716 Main St                                               Conestoga, PA 17516‐9613                                                                                    First Class Mail
Chartered Organization         Bethel Evangelical Lutheran Church                                          National Capital Area Council 082                     8712 Plantation Ln                                         Manassas, VA 20110‐4535                                                                                     First Class Mail
Chartered Organization         Bethel Evangelical Lutheran Church                                          Northern Star Council 250                             4120 17th Ave S                                            Minneapolis, MN 55407‐3318                                                                                  First Class Mail
Chartered Organization         Bethel First Presbyterian Church                                            Lincoln Heritage Council 205                          502 E Main St                                              Campbellsville, KY 42718‐1331                                                                               First Class Mail
Chartered Organization         Bethel Fish & Game Assoc                                                    Connecticut Yankee Council Bsa 072                    P.O. Box 16                                                Bethel, CT 06801‐0016                                                                                       First Class Mail
Chartered Organization         Bethel Grange 404                                                           Chief Seattle Council 609                             1585 SE Cedar Rd                                           Port Orchard, WA 98367‐9844                                                                                 First Class Mail
Voting Party                   Bethel Hill (179204)                                                        c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel International United Methodist Church                                Attn: James Mclean & Janet Ravneberg                  1220 Bethel Rd                                             Columbus, OH 43220                                                    jmclean@mybethel.org                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Beth‐El Jewish Center Of Flatbush                                           Greater New York Councils, Bsa 640                    1981 Homecrest Ave                                      Brooklyn, NY 11229‐2709                                                                                        First Class Mail
Chartered Organization         Bethel Lutheran Church                                                      Silicon Valley Monterey Bay 055                       10181 Finch Ave                                         Cupertino, CA 95014‐3410                                                                                       First Class Mail
Chartered Organization         Bethel Lutheran Church                                                      Montana Council 315                                                                                      1009 Great Falls, MT 59404                                                                                          First Class Mail
Chartered Organization         Bethel Lutheran Church                                                      Central Minnesota 296                                 901 W Broadway                                          Little Falls, MN 56345‐1479                                                                                    First Class Mail
Chartered Organization         Bethel Lutheran Church                                                      Northern Star Council 250                             1321 North Ave                                          Northfield, MN 55057‐4596                                                                                      First Class Mail
Chartered Organization         Bethel Lutheran Church                                                      Golden Empire Council 047                             1200 Alamos Ave                                         Sacramento, CA 95815‐1707                                                                                      First Class Mail
Chartered Organization         Bethel Lutheran Church                                                      Great Lakes Fsc 272                                   26400 Little Mack Ave                                   Saint Clair Shores, MI 48081‐2154                                                                              First Class Mail
Chartered Organization         Bethel Lutheran Church                                                      Erie Shores Council 460                               1853 South Ave                                          Toledo, OH 43609‐2086                                                                                          First Class Mail
Chartered Organization         Bethel Lutheran Church                                                      Northern Lights Council 429                           1433 Maple Ct                                           Wahpeton, ND 58075‐3135                                                                                        First Class Mail
Voting Party                   Bethel Lutheran Church                                                      c/o Gavin Janssen & Stabenow Ltd                      Attn: Lori Moldan                                       1017 N Hennepin Ave                  Glencoe, MN 55336                   lmoldan@goslawfirm.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel Lutheran Church                                                      Attn: Kenneth Sayler                                  12919 NE 159th St                                          Brush Prairie, WA 98606                                               khjsayler@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel Lutheran Church                                                      P.O. Box 207                                          Lester Prairie, MN 55354                                                                                                         bethellutheranlp@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel Lutheran Church                                                      Attn: Kenneth Sayler                                  P.O. Box 175                                               Brush Prairie, WA 98606                                                                                     First Class Mail
Chartered Organization         Bethel Lutheran Church &                                                    Mount Zion Lutheran Church                            920 3rd St                                                 Hudson, WI 54016‐1631                                                                                       First Class Mail
Chartered Organization         Bethel Methodist Church                                                     Northeast Georgia Council 101                         Lumpkin Campground                                         Rd                                Dawsonville, GA 30534                                                     First Class Mail
Chartered Organization         Bethel Missionary Baptist Church                                            Buckskin 617                                          P.O. Box 168                                               Lochgelly, WV 25866‐0168                                                                                    First Class Mail
Chartered Organization         Bethel Murdoch Presbyterian Church                                          Dan Beard Council, Bsa 438                            9602 Murdock Goshen Rd                                     Loveland, OH 45140‐9749                                                                                     First Class Mail
Chartered Organization         Bethel Ofw Baptist Church                                                   Tuscarora Council 424                                 3168 Nc Hwy 96 S                                           Four Oaks, NC 27524                                                                                         First Class Mail
Voting Party                   Bethel Park United Methodist Church                                         Terry A. Roof                                         25 Beech Ave                                               Denmark, SC 29042                                                     bethelparkumc@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel Park United Methodist Church                                         Attn:Rev. Terry A Roof                                P.O. Box 207                                               Denmark, SC 29042                                                     bethelparkumc@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Bethel Presbyterian Church                                                  Laurel Highlands Council 527                          2999 Bethel Church Rd                                      Bethel Park, PA 15102‐1253                                                                                  First Class Mail
Chartered Organization         Bethel Presbyterian Church                                                  Mecklenburg County Council 415                        19920 Bethel Church Rd                                     Cornelius, NC 28031‐7000                                                                                    First Class Mail
Chartered Organization         Bethel Presbyterian Church                                                  Stonewall Jackson Council 763                         563 Bethel Green Rd                                        Staunton, VA 24401‐5730                                                                                     First Class Mail
Chartered Organization         Bethel Presbyterian Church                                                  Baltimore Area Council 220                            4135 Norrisville Rd                                        White Hall, MD 21161‐9308                                                                                   First Class Mail
Chartered Organization         Bethel Rotary Club                                                          Green Mountain 592                                    P.O. Box 239                                               Bethel, VT 05032‐0239                                                                                       First Class Mail
Voting Party                   Bethel Umc (Mount Greenwood)                                                Attn: Barbara Lee Good                                9358 S Homan Ave                                           Evergreen Park, IL 60805                                              fumcepoffice@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel UMC 1459 Garden Creek Road, Matthews, VA                             c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel UMC 6903 Blantyre Road, Warrenton, VA 20187                          c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel Umc Of Oak Ridge                                                     c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel Umc Radford                                                          Attn: Treasurer                                       2525 Wintergreen Dr                                        Radford, VA 24141                                                     markmiller.psalm1@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel UMC‐Woodbridge, VA                                                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist ‐ Murrayville                                       c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist 6001 Mt Vernon Rd, Murrayville, Ga                  c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist Bullitt County, KY                                  Attn: Lou Ann Moore, Treasurer Bethel UMC             7357 Hwy 44 E                                              Mount Washington, KY 40047                                            info@bethelbullitt.org                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist Church                                              Attn: Bert Foster                                     17500 Manchester Rd                                        Wildwood, MO 63038                                                    secretary@bethelunitedmethodist.org   Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist Church                                              Attn: Saekwan Jin                                     3404 Bailey Ave                                            Bronx, NY 10463                                                       saekwanjin@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist Church                                              Attn: Secretary/Treasurer And/Or Pastor               5211 Preston Dr                                            Midland, TX 79707                                                     rmedearis@lubbocklawfirm.com          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist Church                                              P.O. Box 403                                          Bolivia, NC 28422                                                                                                                rev.Howell@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist Church                                              Attn: Linda Howe                                      346 Intervale Rd                                           Bethel, ME 04217                                                      lhowe7273@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist Church                                              Attn: Rev Karen Howell                                1795 Hwy 210                                               Hampstead, NC 28443                                                   keith.knox001@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist Church                                              c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist Church                                              Attn: Charles W May                                   701 Baltimore Ave                                          Mtn Lake Park, MD 21550                                               cmay304@hotmail.com                   Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist Church                                              Attn: Nancy L Brown                                   303 Coldwater Brook Rd                                     Oxford, ME 04270                                                      brownnancy1950@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist Church                                              Attn: Christopher Evan Barnabo                        141 Greenwood Ave                                          Bethel, CT 06801                                                      bmethodistchurch@snet.net             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist Church                                              Attn: Kristie Weir‐Martell                            W5110 County Rd A                                          Elkhorn, WI 53121                                                     bethelumc@elknet.net                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                          Page 31 of 442
                                                                                   Case 20-10343-LSS                                                    Doc 8171                                     Filed 01/06/22                                              Page 47 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                        Name                                                                                                 Address                                                                                                                                Email                    Method of Service
Voting Party                   Bethel United Methodist Church                                 Bethel Umc Brian H Bays                       4011 W 200 S.                                            Anderson, IN 46011                                                                      basebays@aol.com                        Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church                                 Attn: Arlene Wright & Alvin Hugh Fauntleroy   16101 Swanson Rd                                         Upper Marlboro, MD 20772                                                                                                        First Class Mail
Voting Party                   Bethel United Methodist Church                                 Attn: Financial Secretary                     P.O. Box 387                                             Bethel, ME 04217                                                                                                                First Class Mail
Voting Party                   Bethel United Methodist Church (166656)                        c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200           Pittsburgh, PA 15228                               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church (188083)                        c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200           Pittsburgh, PA 15228                               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church (97284)                         c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200           Pittsburgh, PA 15228                               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church At Peachtree Rock               Attn: Robert E Scarborough                    P.O. Box 84653                                           Lexington, SC 29073                                                                     res@tds.net                             Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church At Peachtree Rock               Robert E Scarborough                          P.O. Box 84654                                           Lexington, SC 29073                                                                     res@tds.net                             Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church Chewsville                      Attn: David Brandenburg                       21006 Twin Springs Dr                                    Smithsburg, MD 21783                                                                                                            First Class Mail
Voting Party                   Bethel United Methodist Church Hickory                         c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church Of Charleston                   Attn: Sue Bennett                             51 Pit St                                                Charleston, SC 29401                                                                    admin@bethelcharleston.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church Of Columbia, Inc.               Attn: Rev Julie Songer Belman                 4600 Daniel Dr                                           Columbia, SC 29206                                                                      jdsonger@umcsc.org                      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church Of Iva                          Bob Witherow                                  1007 E Front St, P.O. Box 535                            Iva, SC 29655                                                                           bobfyre56@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church Of Iva                          Attn: Bob Witherow                            601 Seigler Rd                                           Iva, SC 29655                                                                           bobfyre56@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church Of Kingstree, Inc.              Attn: Louis R Ashley                          6155 Thurgood Marshall Hwy                               Kingstree, SC 29556                                                                     lrashley@umcsc.org                      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church Of Spartanburg                  Attn: Brad Gray                               245 S Church St                                          Spartanburg, SC 29306                                                                   revbradgray@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church Of Spartanburg                  Attn: Rev Brad Gray                           672 Mosswood Ln                                          Spartanburg, SC 29301                                                                   revbradgray@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church, Brooklyn                       Attn: Heidi Thomas                            1325 Bedford Ave                                         Brooklyn, NY 11216                                                                      bethelum2@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethel United Methodist Church, Inc                            Attn: Rev Dr Scott H Wachter                  355 Hampton St                                           Walterboro, SC 29488                                                                    shwachter13@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Bethel Utd Church Of Christ                                    Heart of America Council 307                  4900 NE Parvin Rd                                        Kansas City, MO 64117‐2048                                                                                                      First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Daniel Boone Council 414                      1050 Riceville Rd                                        Asheville, NC 28805‐9244                                                                                                        First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Dan Beard Council, Bsa 438                    402 W Plane St                                           Bethel, OH 45106‐1312                                                                                                           First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Northeast Georgia Council 101                 100 Lumpkin Campground Rd S                              Dawsonville, GA 30534‐6143                                                                                                      First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Tuscarora Council 424                         1882 Hood Swamp Rd                                       La Grange, NC 28551‐8610                                                                                                        First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Del Mar Va 081                                130 W 4th St                                             Lewes, DE 19958‐1312                                                                                                            First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Northern Star Council 250                     2116 Commerce Blvd                                       Mound, MN 55364‐1545                                                                                                            First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Lincoln Heritage Council 205                  7357 Hwy 44 E                                            Mount Washington, KY 40047‐7738                                                                                                 First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Piedmont Council 420                          P.O. Box 1443                                            Old Fort, NC 28762‐1443                                                                                                         First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Last Frontier Council 480                     35500 Hardesty Rd                                        Shawnee, OK 74801‐5667                                                                                                          First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Cape Fear Council 425                         1849 E Boiling Spring Rd                                 Southport, NC 28461‐9521                                                                                                        First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Palmetto Council 549                          245 S Church St                                          Spartanburg, SC 29306‐3495                                                                                                      First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Chester County Council 539                    952 Bethel Church Rd                                     Spring City, PA 19475‐9650                                                                                                      First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Flint River Council 095                       245 Fairview Rd                                          Stockbridge, GA 30281‐1043                                                                                                      First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    National Capital Area Council 082             6903 Blantyre Rd                                         Warrenton, VA 20187‐7151                                                                                                        First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    Daniel Boone Council 414                      804 Sonoma Rd                                            Waynesville, NC 28786‐6510                                                                                                      First Class Mail
Chartered Organization         Bethel Utd Methodist Church                                    National Capital Area Council 082             3130 Minnieville Rd                                      Woodbridge, VA 22192                                                                                                            First Class Mail
Chartered Organization         Bethel Utd Methodist Church/Pond Pto                           Greater St Louis Area Council 312             17200 Manchester Rd                                      Grover, MO 63040‐1021                                                                                                           First Class Mail
Chartered Organization         Bethel Utd Methodist Mens Club                                 Indian Waters Council 553                     4600 Daniel Dr                                           Columbia, SC 29206‐1404                                                                                                         First Class Mail
Chartered Organization         Bethel Utd Methodist Mens Club                                 Central N Carolina Council 416                12700 Idlebrook Rd                                       Midland, NC 28107‐9795                                                                                                          First Class Mail
Chartered Organization         Bethel Wesley Utd Methodist Church                             Illowa Council 133                            1201 13th St                                             Moline, IL 61265‐3015                                                                                                           First Class Mail
Chartered Organization         Bethel Wesleyan Church                                         Daniel Boone Council 414                      909 Tracy Grove Rd                                       Flat Rock, NC 28731‐9720                                                                                                        First Class Mail
Voting Party                   Bethelship Norwegian Umc                                       5523 4th Ave                                  Brooklyn, NY 11220                                                                                                                               pastorjaykimlinda@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethelview United Methodist (Cumming)                          c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethelview United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethelview United Methodist Church 4525 Bethelview Rd Cummin   c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Bethelview Utd Methodist Church                                Northeast Georgia Council 101                 4525 Bethelview Rd                                       Cumming, GA 30040‐5740                                                                                                          First Class Mail
Chartered Organization         Bethesda Baptist Church                                        Longhorn Council 662                          100 W Bethesda Rd                                        Burleson, TX 76028‐1674                                                                                                         First Class Mail
Chartered Organization         Bethesda Belmont Morristown Rotary                             Ohio River Valley Council 619                 301 N Main St                                            Bethesda, OH 43719                                                                                                              First Class Mail
Chartered Organization         Bethesda Evangelical Church                                    Greater St Louis Area Council 312             85 Lemay Gardens Dr                                      Saint Louis, MO 63125‐2446                                                                                                      First Class Mail
Chartered Organization         Bethesda Evangelical Lutheran Church                           Laurel Highlands Council 527                  3084 Leechburg Rd                                        New Kensington, PA 15068‐3452                                                                                                   First Class Mail
Voting Party                   Bethesda Evangelical Lutheran Church                           Attn: Sandra W Retzlaff                       401 40th Ave S                                           Moorhead, MN 56560                                                                      bethesdaluth@msn.com                    Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Bethesda Lutheran Church                                       Lake Erie Council 440                         28607 Wolf Rd                                            Bay Village, OH 44140‐2066                                                                                                      First Class Mail
Chartered Organization         Bethesda Lutheran Church                                       Northern Star Council 250                     1947 110th Ave                                           Dresser, WI 54009‐4411                                                                                                          First Class Mail
Chartered Organization         Bethesda Lutheran Church                                       Oregon Trail Council 697                      4445 Royal Ave                                           Eugene, OR 97402‐1752                                                                                                           First Class Mail
Chartered Organization         Bethesda Lutheran Church                                       Northern Star Council 250                     2855 47th St E                                           Inver Grove Heights, MN 55076‐1138                                                                                              First Class Mail
Chartered Organization         Bethesda Lutheran Church ‐ Ames                                Mid Iowa Council 177                          1517 Northwestern Ave                                    Ames, IA 50010‐5271                                                                                                             First Class Mail
Chartered Organization         Bethesda Lutheran Church ‐ Jewell                              Mid Iowa Council 177                          439 Main St                                              Jewell, IA 50130‐7705                                                                                                           First Class Mail
Voting Party                   Bethesda Lutheran Church Of Jewell, Iowa                       Attn: Justin T. Deppe                         439 Main St                                              P.O. Box 330                         Jewell, IA 50130                                   bethesda439@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Bethesda Presbyterian Church                                   Laurel Highlands Council 527                  7220 Bennett St                                          Pittsburgh, PA 15208‐1471                                                                                                       First Class Mail
Chartered Organization         Bethesda Presbyterian Church                                   Old N State Council 070                       1074 Ashland Rd                                          Ruffin, NC 27326‐9660                                                                                                           First Class Mail
Chartered Organization         Bethesda Presbyterian Men'S Club                               Palmetto Council 549                          4858 Mcconnells Hwy                                      York, SC 29745‐7577                                                                                                             First Class Mail
Chartered Organization         Bethesda Pto                                                   Potawatomi Area Council 651                   730 S University Dr                                      Waukesha, WI 53188‐4543                                                                                                         First Class Mail
Chartered Organization         Bethesda School Pto                                            Middle Tennessee Council 560                  4907 Bethesda Rd                                         Thompsons Station, TN 37179‐9231                                                                                                First Class Mail
Chartered Organization         Bethesda U M Church Of Holtwood Pa                             Pennsylvania Dutch Council 524                1086 Hilldale Rd                                         Holtwood, PA 17532‐9744                                                                                                         First Class Mail
Chartered Organization         Bethesda Umc                                                   Blue Ridge Council 551                        516 Piedmont Hwy                                         Piedmont, SC 29673‐9107                                                                                                         First Class Mail
Voting Party                   Bethesda Umc 928                                               c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                    ERICE@BRADLEY.COM                       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Bethesda Umc Church                                            National Capital Area Council 082             8300 Old Georgetown Rd                                   Bethesda, MD 20814‐1416                                                                                                         First Class Mail
Voting Party                   Bethesda United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethesda United Methodist Church                               Attn: Riley Williams                          8300 Old Georgetown Rd                                   Bethesda, MD 20814                                                                      bethesdaumc@washmorefeet.org            Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethesda United Methodist Church                               Attn: Kimberly Acton                          11901 Bethesday Church Rd                                Damascus, MD 20872                                                                      bethesdablessings@verizon.net           Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethesda United Methodist Church                               Attn: Treasurer                               6300 Harford Rd                                          Baltimore, MD 21214                                                                                                             First Class Mail
Voting Party                   Bethesda United Methodist Church (Swedesboro)                  c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethesda United Methodist Church, Inc.                         Attn: Howard Keith Hiller                     516 Piedmont Rd                                          Easley, SC 29642                                                                        hiller3@mail.com                        Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethesda United Methodist Church/Kingstree, Inc                Attn: Rev Joyce M Edwards                     P.O. Box 843                                             Kingstree, SC 29556                                                                     jctimmons@umcsc.org                     Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Bethesda Utd Methodist Church                                  Northeast Georgia Council 101                 444 Bethesda Church Rd                                   Lawrenceville, GA 30044‐4249                                                                                                    First Class Mail
Chartered Organization         Bethesda Utd Methodist Church                                  Garden State Council 690                      1435 Kings Hwy                                           Swedesboro, NJ 08085‐1627                                                                                                       First Class Mail
Chartered Organization         Bethesda Utd Methodist Men                                     Del Mar Va 081                                406 N Div St                                             Salisbury, MD 21801‐4274                                                                                                        First Class Mail
Chartered Organization         Bethesda‐Chevy Chase Rotary Club                               National Capital Area Council 082             P.O. Box 5856                                            Bethesda, MD 20824‐5856                                                                                                         First Class Mail
Voting Party                   Bethia UMC                                                     c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Bethia Utd Methodist Church                                    Heart of Virginia Council 602                 10700 Winterpock Rd                                      Chesterfield, VA 23832‐2447                                                                                                     First Class Mail
Chartered Organization         Bethleham Utd Methodist Church                                 Greater Alabama Council 001                   1720 Mcelderry Rd                                        Munford, AL 36268                                                                                                               First Class Mail
Chartered Organization         Bethlehem Baptist Church                                       National Capital Area Council 082             7836 Fordson Rd                                          Alexandria, VA 22306‐2837                                                                                                       First Class Mail
Chartered Organization         Bethlehem Baptist Church College Place                         Indian Waters Council 553                     1028 Eham St                                             Columbia, SC 29203                                                                                                              First Class Mail
Chartered Organization         Bethlehem Evangelical Lutheran Church                          Three Fires Council 127                       1915 N 1st St                                            Dekalb, IL 60115‐1842                                                                                                           First Class Mail
Chartered Organization         Bethlehem Evangelical Lutheran Church                          Three Fires Council 127                       340 Grand Blvd                                           Elgin, IL 60120‐4224                                                                                                            First Class Mail
Chartered Organization         Bethlehem Evangelical Lutheran Church                          San Diego Imperial Council 049                925 Balour Dr                                            Encinitas, CA 92024‐3946                                                                                                        First Class Mail
Chartered Organization         Bethlehem Evangelical Lutheran Church                          Laurel Highlands Council 527                  1719 Mount Royal Blvd                                    Glenshaw, PA 15116‐2105                                                                                                         First Class Mail
Voting Party                   Bethlehem Evangelical Lutheran Church                          Attn: Pastor Michael Korte                    808 Weiss St                                             Saginaw, MI 48602                                                                       thenry@bethlehemsaginaw.org             Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem Evangelical Lutheran Church                          Bethlehem Lutheran Church                     1024 Monroe Ave Ne                                       Renton, WA 98056                                                                        blessings@bethlehemlutheranrenton.org   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem Evangelical Lutheran Church Of Granada Hills         12227 Balboa Blvd                             Granada Hills, CA 91344                                                                                                                          president@bethlehemlutheran.net         Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem First United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Bethlehem First Utd Methodist                                  Northeast Georgia Council 101                 709 Christmas Ave                                        Bethlehem, GA 30620‐2911                                                                                                        First Class Mail
Chartered Organization         Bethlehem First Utd Methodist Church                           Northeast Georgia Council 101                 709 Christmas Ave                                        Bethlehem, GA 30620‐2911                                                                                                        First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Sioux Council 733                             1620 Milwaukee Ave Ne                                    Aberdeen, SD 57401‐4857                                                                                                         First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Cascade Pacific Council 492                   18865 SW Johnson St                                      Beaverton, OR 97003‐3164                                                                                                        First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Greater New York Councils, Bsa 640            6935 4th Ave                                             Brooklyn, NY 11209‐1501                                                                                                         First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Greater New York Councils, Bsa 640            440 Ovington Ave                                         Brooklyn, NY 11209‐1505                                                                                                         First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Mid‐America Council 326                       300 E Bow Dr                                             Cherokee, IA 51012‐1299                                                                                                         First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Seneca Waterways 397                          48 Perrin St                                             Fairport, NY 14450‐2122                                                                                                         First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Northern Lights Council 429                   613 16th St S                                            Fargo, ND 58103‐2548                                                                                                            First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      W.L.A.C.C. 051                                12227 Balboa Blvd                                        Granada Hills, CA 91344‐1703                                                                                                    First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Samoset Council, Bsa 627                      1901 Kowalski Rd                                         Kronenwetter, WI 54455‐8890                                                                                                     First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Denver Area Council 061                       2100 Wadsworth Blvd                                      Lakewood, CO 80214‐5707                                                                                                         First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Longs Peak Council 062                        1000 15th Ave                                            Longmont, CO 80501‐2718                                                                                                         First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Mount Baker Council, Bsa 606                  7215 51st Ave Ne                                         Marysville, WA 98270‐4033                                                                                                       First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Northern Star Council 250                     4100 Lyndale Ave S                                       Minneapolis, MN 55409‐1447                                                                                                      First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Erie Shores Council 460                       Front St                                                 Pemberville, OH 43450                                                                                                           First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Three Fires Council 127                       P.O. Box 3850                                            Saint Charles, IL 60174‐9085                                                                                                    First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Greater St Louis Area Council 312             2153 Salisbury St                                        Saint Louis, MO 63107‐3129                                                                                                      First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Mid Iowa Council 177                          411 3rd Ave                                              Slater, IA 50244‐7774                                                                                                           First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Glaciers Edge Council 620                     300 Broadway Dr                                          Sun Prairie, WI 53590‐1743                                                                                                      First Class Mail
Chartered Organization         Bethlehem Lutheran Church                                      Mid‐America Council 326                       504 W 8th St                                             Wahoo, NE 68066‐1503                                                                                                            First Class Mail
Voting Party                   Bethlehem Lutheran Church                                      490 N 4th St                                  Bayport, MN 55003                                                                                                                                pastor.blcbayport@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem Lutheran Church                                      85 Elm Ave                                    Delmar, NY 12054                                                                                                                                 mueller@blcdelmar.com                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem Lutheran Church                                      c/o Lamey Law Firm PA                         980 Inwood Ave N                                         Oakdale, MN 55128                                                                       jlamey@lameylaw.com                     Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem Lutheran Church                                      Attn: Karen Saake                             925 Balour Dr                                            Encinitas, CA 92024                                                                     info@blcenc.org                         Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem Lutheran Church                                      Attn: Lori Fuchs                              4310 County Rd 137                                       St. Cloud, MN 56301                                                                     ckjellberg‐nelson@quinlivan.com         Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem Lutheran Church                                      Attn: John Nygard, President                  101 E 38th St                                            Tacoma, WA 98404                                                                        bethlehemlute@harbornet.com             Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem Lutheran Church                                      Attn: Wendy S Popp                            4620 20th St                                             Rockford, IL 61109                                                                                                              First Class Mail
Voting Party                   Bethlehem Lutheran Church & School                             Attn: Jeffery Leyon Davey                     1837 Mountain St                                         Carson City, NV 89703                                                                   jefferyldavey@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Bethlehem Lutheran Church Twin Cities                          Northern Star Council 250                     16023 Minnetonka Blvd                                    Minnetonka, MN 55345‐1302                                                                                                       First Class Mail
Voting Party                   Bethlehem Lutheran Church Twin Cities                          Attn: Steve Tjeltveit                         4100 Lyndale Ave S                                       Minneapolis, MN 55409                                                                   stj@bethlehem‐church.org                Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Bethlehem Lutheran Church‐Kalispell                            Montana Council 315                           603 S Main St                                            Kalispell, MT 59901‐4852                                                                                                        First Class Mail
Chartered Organization         Bethlehem Presbyterian Church                                  Central N Carolina Council 416                7608 Concord Hwy                                         Monroe, NC 28110‐7094                                                                                                           First Class Mail
Chartered Organization         Bethlehem Presbyterian Church                                  Washington Crossing Council 777               2 Race St                                                Pittstown, NJ 08867‐4220                                                                                                        First Class Mail
Voting Party                   Bethlehem Presbyterian Church                                  Judith D Bracco                               1520 Rte 94                                              New Windsor, NY 12553                                                                   jbracco26@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem Presbyterian Church                                  P.O. Box 250                                  Salisbury Mills, NY 12577                                                                                                                        jbracco26@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem Presbyterian Church At Grandin NJ                    Attn: Alan D Ford                             2 Race St                                                Pittstown, NJ 08867                                                                     a.ford@embarqmail.com                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem Presbyterian Church Of Grandin NJ                    Attn: Allan D Ford                            2 Race St                                                Pittstown, NJ 08867                                                                     A.FORD@EMBARQMAIL.COM                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Bethlehem Ruritan Club                                         Colonial Virginia Council 595                 140 Manning Rd                                           Suffolk, VA 23434                                                                                                               First Class Mail
Voting Party                   Bethlehem Ruritan Club                                         Attn: William F Rissell                       314 Westwood Dr                                          Suffolk, VA 23434                                                                       wfrissell@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem Ruritan Club                                         P.O. Box 1937                                 Suffolk, VA 23439                                                                                                                                dtpatrickjr@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Bethlehem Ruritan Club &                                       c/o Warren Hollar                             Mt Pisgah Lutheran Ch                                    Piedmont Council 420                 781 River Hills Ct        Taylorsville, NC 28681                                           First Class Mail
Chartered Organization         Bethlehem Rutitan Club                                         Colonial Virginia Council 595                 140 Manning Rd                                           Suffolk, VA 23434                                                                                                               First Class Mail
Voting Party                   Bethlehem Thornton                                             c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Bethlehem Township Police Dept                                 Minsi Trails Council 502                      4225 Eon Ave                                             Bethlehem, PA 18020                                                                                                             First Class Mail
Voting Party                   Bethlehem UMC                                                  c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem Umc Waxhaw                                           c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Bethlehem United Methodist Church                              Attn: Rev Wanda D Altman‐Shirah               P.O. Box 258                                             St Matthews, SC 29135                                                                   wdaltman@umcsc.org                      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 32 of 442
                                                                                 Case 20-10343-LSS                                         Doc 8171                                           Filed 01/06/22                                             Page 48 of 457
                                                                                                                                                                           Exhibit B
                                                                                                                                                                            Service List
                                                                                                                                                                     Served as set forth below

        Description                                                      Name                                                                                            Address                                                                                                            Email              Method of Service
Voting Party                   Bethlehem United Methodist Church                        1560 Cr 81                                New Albany, MS 38652                                                                                                             jfflwrncee@yahoo.com             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bethlehem United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bethlehem United Methodist Church                        321 Redland Rd                            Advance, Nc                                                                                                                                                       First Class Mail
Voting Party                   Bethlehem United Methodist Church (09140)                c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bethlehem United Methodist Church (Codorus)              c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bethlehem United Methodist Church Advance NC             c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bethlehem United Methodist Church On Highway 21          Attn: Rev Pamela Richardson               3319 Broughton St                                           Orangeburg, SC 29115                                                 pdrichardson@umcsc.org           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bethlehem United Methodist Church On Highway 21          Attn: Pamela Richardson                   6815 Columbia Rd                                            St Matthews, SC 29135                                                pdrichardson@umcsc.org           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bethlehem Utd Church Of Christ                           Buffalo Trace 156                         6400 Oak Hill Rd                                            Evansville, IN 47725‐7346                                                                             First Class Mail
Chartered Organization         Bethlehem Utd Methodist Church                           Old N State Council 070                   321 Redland Rd                                              Advance, NC 27006‐6721                                                                                First Class Mail
Chartered Organization         Bethlehem Utd Methodist Church                           Old N State Council 070                   6103 Appomattox Rd                                          Climax, NC 27233‐9185                                                                                 First Class Mail
Chartered Organization         Bethlehem Utd Methodist Church                           Blue Ridge Mtns Council 599               42 Phoebe Pond Rd                                           Concord, VA 24538                                                                                     First Class Mail
Chartered Organization         Bethlehem Utd Methodist Church                           New Birth of Freedom 544                  109 E Main St                                               Dallastown, PA 17313‐2207                                                                             First Class Mail
Chartered Organization         Bethlehem Utd Methodist Church                           Middle Tennessee Council 560              2419 Bethlehem Loop Rd                                      Franklin, TN 37069‐6901                                                                               First Class Mail
Chartered Organization         Bethlehem Utd Methodist Church                           Greater Alabama Council 001               94 Harmon Ln                                                Munford, AL 36268‐7394                                                                                First Class Mail
Chartered Organization         Bethlehem Utd Methodist Church                           East Carolina Council 426                 162 Old Walnut Ln                                           Newport, NC 28570‐5422                                                                                First Class Mail
Chartered Organization         Bethlehem Utd Methodist Church                           Piedmont Council 420                      607 Bethlehem Rd                                            Statesville, NC 28677‐1642                                                                            First Class Mail
Chartered Organization         Bethlehem Utd Methodist Church                           Chester County Council 539                P.O. Box 57                                                 Thornton, PA 19373‐0057                                                                               First Class Mail
Chartered Organization         Bethlehem Utd Methodist Church                           Stonewall Jackson Council 763             23258 Village Rd                                            Unionville, VA 22567                                                                                  First Class Mail
Chartered Organization         Bethlehem Utd Methodist Church                           Central N Carolina Council 416            5300 Nesbit Rd                                              Waxhaw, NC 28173‐9558                                                                                 First Class Mail
Voting Party                   Bethlehem: Wesley UMC                                    c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bethpage                                                 c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bethpage Chamber Of Commerce, Inc                        Theodore Roosevelt Council 386            P.O. Box 636                                                Bethpage, NY 11714‐0636                                                                               First Class Mail
Chartered Organization         Bethpage Methodist Church                                Central N Carolina Council 416            109 Fellowship Dr                                           Kannapolis, NC 28081‐9566                                                                             First Class Mail
Chartered Organization         Bethpage Utd Methodist Church                            Central N Carolina Council 416            109 Fellowship Dr                                           Kannapolis, NC 28081‐9566                                                                             First Class Mail
Chartered Organization         Bethphage Lutheran Church                                Piedmont Council 420                      3440 Hwy 182                                                Lincolnton, NC 28092‐0671                                                                             First Class Mail
Chartered Organization         Bethune Bowman ‐ Ai                                      Indian Waters Council 553                 4857 Charleston Hwy                                         Rowesville, SC 29133‐9407                                                                             First Class Mail
Chartered Organization         Bethune Lions Club                                       Indian Waters Council 553                 401 Chestnut St E                                           Bethune, SC 29009‐9067                                                                                First Class Mail
Chartered Organization         Bettendorf Fire Dept                                     Illowa Council 133                        1609 State St                                               Bettendorf, IA 52722‐4937                                                                             First Class Mail
Chartered Organization         Bettendorf Police Dept                                   Illowa Council 133                        1609 State St                                               Bettendorf, IA 52722‐4937                                                                             First Class Mail
Chartered Organization         Bettendorf Presbyterian Church                           Illowa Council 133                        1200 Middle Rd                                              Bettendorf, IA 52722‐3604                                                                             First Class Mail
Chartered Organization         Better Billings Foundation                               Montana Council 315                       2216 Grand Ave                                              Billings, MT 59102‐2619                                                                               First Class Mail
Voting Party                   Betty Rednour                                            415 Plainview Heights Cir                 Greeneville, TN 37745                                                                                                            bettyrednour@hotmail.com         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Beukendaal Fire Dept                                     Twin Rivers Council 364                   501 Sacandaga Rd                                            Schenectady, NY 12302‐6021                                                                            First Class Mail
Chartered Organization         Beulah Branch, Bismarck Nd Stake                         Northern Lights Council 429               1820 Cottontail Dr                                          Beulah, ND 58523                                                                                      First Class Mail
Chartered Organization         Beulah Educational Support Team                          Rocky Mountain Council 063                8734 School House Ln W                                      Beulah, CO 81023‐9770                                                                                 First Class Mail
Chartered Organization         Beulah Fire Dept                                         Rocky Mountain Council 063                8675 Central Ave                                            Beulah, CO 81023                                                                                      First Class Mail
Chartered Organization         Beulah Lions Club                                        Northern Lights Council 429               P.O. Box 101                                                Beulah, ND 58523‐0101                                                                                 First Class Mail
Chartered Organization         Beulah Missionary Church                                 Lasalle Council 165                       57595 Old County Rd 17                                      Goshen, IN 46528‐8439                                                                                 First Class Mail
Voting Party                   Beulah Park United Methodist Church (99966)              c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Beulah Presbyterian Church                               Lincoln Heritage Council 205              P.O. Box 91072                                              Louisville, KY 40291‐0072                                                                             First Class Mail
Chartered Organization         Beulah Ralph Elementary Pta                              Great Rivers Council 653                  5801 S Hwy Kk                                               Columbia, MO 65203‐8740                                                                               First Class Mail
Chartered Organization         Beulah Ruritan Club                                      Old Hickory Council 427                   Rr 9                                                        Mount Airy, NC 27030                                                                                  First Class Mail
Chartered Organization         Beulah Ruritan Club                                      Old Hickory Council 427                   5436 W Pine St                                              Mount Airy, NC 27030‐6178                                                                             First Class Mail
Voting Party                   Beulah UMC                                               c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Beulah Umc                                               907 Kimberlin Heights Rd                  Knoxville, TN 37920                                                                                                              don.ferguson46@gmail.com         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Beulah United Methodist Church                           Attn: Marilyn Brehe, Treasurer            5903 Pennsylvania                                           Beulah, CO 81023                                                     marilynbrehe@yahoo.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Beulah United Methodist Church, Inc.                     Attn: Rev Jad Taylor                      1577 Old State Rd                                           Gaston, SC 29053                                                     pastor@beulahumcsr.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Beulah Utd Methodist Church                              Great Smoky Mountain Council 557          907 Kimberlin Heights Rd                                    Kimberlin Heights, TN 37920‐9022                                                                      First Class Mail
Chartered Organization         Beulah Utd Methodist Church                              Heart of Virginia Council 602             6930 Hopkins Rd                                             North Chesterfield, VA 23234‐6253                                                                     First Class Mail
Chartered Organization         Beulah Utd Methodist Church                              Chattahoochee Council 091                 5165 Lee Rd 270                                             Valley, AL 36854‐6912                                                                                 First Class Mail
Chartered Organization         Beulah Utilities District                                Chattahoochee Council 091                 5320 Lee Rd 270                                             Valley, AL 36854‐7016                                                                                 First Class Mail
Chartered Organization         Beulaville Presbyterian Church                           Tuscarora Council 424                     205 E Main St                                               Beulaville, NC 28518‐8703                                                                             First Class Mail
Chartered Organization         Beveridge Elementary School                              Pathway To Adventure 456                  1234 Cleveland St                                           Gary, IN 46404‐2424                                                                                   First Class Mail
Voting Party                   Beverly Batchelor                                        1010 Salem St Nw                          Wilson, NC 27893                                                                                                                 Eliot@FarrisThomas.Law           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Beverly Farm Foundation                                  Greater St Louis Area Council 312         6301 Humbert Rd                                             Godfrey, IL 62035‐2163                                                                                First Class Mail
Chartered Organization         Beverly Hills Community Church                           Greater Tampa Bay Area 089                82 Civic Cir                                                Beverly Hills, FL 34465‐8809                                                                          First Class Mail
Voting Party                   Beverly Hills Community UMC                              c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Beverly Hills Lions Club                                 Great Lakes Fsc 272                       31200 Fairfax Ave                                           Beverly Hills, MI 48025‐5650                                                                          First Class Mail
Chartered Organization         Beverly Hills Police Dept                                W.L.A.C.C. 051                            464 N Rexford Dr                                            Beverly Hills, CA 90210‐4873                                                                          First Class Mail
Chartered Organization         Beverly Hills Presbyterian Church                        Buckskin 617                              469 Norway Ave                                              Huntington, WV 25705‐1541                                                                             First Class Mail
Chartered Organization         Beverly Presbyterian Church Mens Club                    Garden State Council 690                  121 Warren St                                               Beverly, NJ 08010‐1307                                                                                First Class Mail
Voting Party                   Beverly Squirrell                                        Address Redacted                                                                                                                                                                                            First Class Mail
Voting Party                   Bevin Alexander Law, Plc                                 Bevin R Alexander, Jr                     111 Hexham Dr, Ste B                                        Lynchburg, VA 24502                                                  bevin@bevinalexanderlaw.com      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bexar Cnty Sheriffs Office                               Jefferson High School                     200 N Comal                                                 San Antonio, TX 78207‐3505                                                                            First Class Mail
Chartered Organization         Bexar Cnty Sheriffs Office                               Lanier High School                        200 N Comal                                                 San Antonio, TX 78207‐3505                                                                            First Class Mail
Chartered Organization         Bexar Cnty Sheriffs Office                               S San High Sch                            200 N Comal                                                 San Antonio, TX 78207‐3505                                                                            First Class Mail
Chartered Organization         Bexar Cnty Sheriffs Office                               Burbank High School                       1450 Gillette Blvd                                          San Antonio, TX 78224‐2100                                                                            First Class Mail
Chartered Organization         Bexar Cnty Sheriffs Office‐E Central                     Alamo Area Council 583                    200 N Comal                                                 San Antonio, TX 78207‐3505                                                                            First Class Mail
Chartered Organization         Bexar Commodities                                        Alamo Area Council 583                    5150 Broadway St 306                                        San Antonio, TX 78209‐5710                                                                            First Class Mail
Chartered Organization         Bexar County Sheriffs Office                             Brackeridge High School                   200 N Comal                                                 San Antonio, TX 78207‐3505                                                                            First Class Mail
Chartered Organization         Bexar County Sheriff'S Office                            Sam Houston High School                   200 N Comal                                                 San Antonio, TX 78207‐3505                                                                            First Class Mail
Chartered Organization         Bexar County Sheriffs Office‐Edison                      Alamo Area Council 583                    200 N Comal                                                 San Antonio, TX 78207‐3505                                                                            First Class Mail
Chartered Organization         Bexar County Sheriffs Office‐Highland                    Alamo Area Council 583                    200 N Comal                                                 San Antonio, TX 78207‐3505                                                                            First Class Mail
Voting Party                   Bexley United Methodist Church                           Attn: Debbie Sharp                        2657 E Broad St                                             Columbus, OH 43209                                                   sharp@bexleyumc.org              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bexley Utd Methodist Church                              Simon Kenton Council 441                  2657 E Broad St                                             Bexley, OH 43209‐1842                                                                                 First Class Mail
Chartered Organization         Beyer School Pto                                         Blackhawk Area 660                        333 15th Ave                                                Rockford, IL 61104‐5101                                                                               First Class Mail
Voting Party                   Beymer Memorial United Methodist ‐ Winter Haven          c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Beymer Memorial Utd Methodist Church                     Greater Tampa Bay Area 089                700 N Lake Howard Dr                                        Winter Haven, FL 33881‐3102                                                                           First Class Mail
Chartered Organization         Beyond The Bell                                          Mid‐America Council 326                   2500 Glenn Ave, Ste 78                                      Sioux City, IA 51106‐2771                                                                             First Class Mail
Chartered Organization         Beyond The Bell‐East                                     Mid‐America Council 326                   2500 Glenn Ave, Ste 78                                      Sioux City, IA 51106‐2771                                                                             First Class Mail
Chartered Organization         Beyond The Bell‐West                                     Mid‐America Council 326                   2500 Glenn Ave, Ste 78                                      Sioux City, IA 51106‐2771                                                                             First Class Mail
Chartered Organization         Be‐You‐Tiful Spa                                         Buffalo Trace 156                         217 W State Rd 68                                           Lynnville, IN 47619                                                                                   First Class Mail
Chartered Organization         Bhsha, Inc                                               W.L.A.C.C. 051                            340 S Lemon Ave                                             Walnut, CA 91789‐2706                                                                                 First Class Mail
Chartered Organization         Bible Chapel Utd Church Of Christ                        Dan Beard Council, Bsa 438                P.O. Box 194                                                Hamersville, OH 45130‐0194                                                                            First Class Mail
Chartered Organization         Bible Class‐First Utd Methodist                          Yocona Area Council 748                   412 W Main St                                               Tupelo, MS 38804‐3818                                                                                 First Class Mail
Chartered Organization         Bible Fellowship Baptist Church                          Pee Dee Area Council 552                  462 Hwy 57 S                                                Little River, SC 29566‐7006                                                                           First Class Mail
Voting Party                   Bible Korean United Methodist Church                     Attn: Chong Kim                           1201 Carlls Straight Path                                   Dix Hills, NY 11746                                                                                   First Class Mail
Chartered Organization         Bibleway Christian Fellowship                            Baltimore Area Council 220                4412 Maine Ave                                              Gwynn Oak, MD 21207‐7563                                                                              First Class Mail
Voting Party                   Bicknell United Methodist Church                         Attn: Treasurer                           P.O. Box 99                                                 Bicknell, IN 47512                                                   bumcoffice2@gmail.com            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Biddeford Saco Lodge Of Elks 1597                        Pine Tree Council 218                     P.O. Box 1597                                               Saco, ME 04072‐7597                                                                                   First Class Mail
Chartered Organization         Biddeford Saco Lodge Of Elks 1597                        Pine Tree Council 218                     P.O. Box 1597                                               Saco, ME 04072‐7597                                                                                   First Class Mail
Voting Party                   Bidwell Tovarez, PLLC                                    Attn: David E Tovarez                     333 W 7th St, Ste 230                                       Royal Oak                                                            david@bidwelltovarez.com         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bierbaum School Pto                                      Greater St Louis Area Council 312         2050 Union Rd                                               Saint Louis, MO 63125‐3053                                                                            First Class Mail
Voting Party                   Big Agnes, Inc                                           P.O. Box 773072                           Steamboat Springs, CO 80477‐3072                                                                                                                                  First Class Mail
Chartered Organization         Big Bear Lions Club, Inc                                 California Inland Empire Council 045      P.O. Box 3217                                               Big Bear City, CA 92314‐3217                                                                          First Class Mail
Chartered Organization         Big Bend Elementary Pto                                  Potawatomi Area Council 651               W230S8695 Big Bend Dr                                       Big Bend, WI 53103                                                                                    First Class Mail
Chartered Organization         Big Bend‐Vernon Volunteer Fire Dept                      Potawatomi Area Council 651               W233S7475 Woodland Ln                                       Big Bend, WI 53103                                                                                    First Class Mail
Chartered Organization         Big Brothers Big Sisters Nei                             Anthony Wayne Area 157                    1005 W Rudisill Blvd                                        Fort Wayne, IN 46807‐2172                                                                             First Class Mail
Chartered Organization         Big Canoe Chapel                                         Atlanta Area Council 092                  10455 Big Canoe                                             Big Canoe, GA 30143‐5125                                                                              First Class Mail
Chartered Organization         Big Canoe Chapel, Inc                                    Atlanta Area Council 092                  10455 Big Canoe                                             Big Canoe, GA 30143‐5125                                                                              First Class Mail
Chartered Organization         Big Creek Elementary Pta                                 Northeast Georgia Council 101             1994 Peachtree Pkwy                                         Cumming, GA 30041‐9506                                                                                First Class Mail
Chartered Organization         Big Duece Chapter Of The Fa Assoc                        Last Frontier Council 480                 429 Chickasha Rd                                            Fort Sill, OK 73503‐1227                                                                              First Class Mail
Voting Party                   Big Fork Community United Methodist Church               Attn: Rob Peter                           Big Fork Cumc                                               750 Electric Ave                    Big Fork, MT 59911               bigforkcumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Big Fork Vfw Post 4042                                   Montana Council 315                       636 Blaine View Ln                                          Kalispell, MT 59901‐7621                                                                              First Class Mail
Chartered Organization         Big Foundation                                           Trapper Trails 589                        153 N 4950 W                                                West Point, UT 84015‐6973                                                                             First Class Mail
Chartered Organization         Big Ivy Community Center                                 Daniel Boone Council 414                  P.O. Box 428                                                Barnardsville, NC 28709‐0428                                                                          First Class Mail
Chartered Organization         Big Knob Grange 2008                                     Laurel Highlands Council 527              419 Big Knob Rd                                             Rochester, PA 15074‐2659                                                                              First Class Mail
Chartered Organization         Big Lake Lions Club                                      Central Minnesota 296                     P.O. Box 128                                                Big Lake, MN 55309‐0128                                                                               First Class Mail
Chartered Organization         Big Lakes Developmental Center                           Coronado Area Council 192                 1416 Hayes Dr                                               Manhattan, KS 66502‐5066                                                                              First Class Mail
Chartered Organization         Big Miller Grove Baptist Church                          Atlanta Area Council 092                  3800 Big Miller Grove Way                                   Lithonia, GA 30038‐4811                                                                               First Class Mail
Voting Party                   Big Pine United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Big Pine Utd Methodist Church                            South Florida Council 084                 P.O. Box 642                                                Big Pine Key, FL 33043                                                                                First Class Mail
Voting Party                   Big Rapids First Umc                                     Attn: Patricia Little                     16385 Mud Lake Rd                                           Rodney, MI 49342                                                     pl49342@gmail.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Big River Hills Eagles Aerie 4210                        Greater St Louis Area Council 312         P.O. Box 212                                                Bonne Terre, MO 63628‐0212                                                                            First Class Mail
Chartered Organization         Big Rock Lions Club                                      Three Fires Council 127                   408 Rhodes Ave                                              Big Rock, IL 60511‐2034                                                                               First Class Mail
Chartered Organization         Big Rock Volunteer Fire Dept Assoc                       Three Fires Council 127                   47W863 E 2nd St                                             Big Rock, IL 60511                                                                                    First Class Mail
Chartered Organization         Big Sandy Utd Methodist Church                           Black Warrior Council 006                 11441 Mcpherson Landing Rd                                  Tuscaloosa, AL 35405‐9051                                                                             First Class Mail
Chartered Organization         Big Scary Gym                                            Las Vegas Area Council 328                1940 Chickasaw Dr                                           Henderson, NV 89002‐8652                                                                              First Class Mail
Chartered Organization         Big Sky Cycling                                          Montana Council 315                       801 N Last Chance Gulch                                     Helena, MT 59601‐3352                                                                                 First Class Mail
Chartered Organization         Big Sky Parents Of Cub Scouts                            Montana Council 315                       3231 Granger Ave E                                          Billings, MT 59102‐6044                                                                               First Class Mail
Voting Party                   Big Spring First United Methodist Church                 Attn: Secretary/Treasurer And/Or Pastor   P.O. Box 1229                                               Big Spring, TX 79721                                                                                  First Class Mail
Chartered Organization         Big Stone Gap Kiwanis Club                               Sequoyah Council 713                      113 W 2nd St S                                              Big Stone Gap, VA 24219‐2619                                                                          First Class Mail
Voting Party                   Bigfork Community United Methodist Church                Attn: Rob Petek, Treasurer                750 Electric Ave                                            Big Fork, MT 59911                                                   bigforkcumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bigham‐Taylor Roofing Co                                 San Francisco Bay Area Council 028        22721 Alice St                                              Hayward, CA 94541‐6401                                                                                First Class Mail
Chartered Organization         Bigler Ymca                                              Bucktail Council 509                      P.O. Box 417                                                Bigler, PA 16825‐0417                                                                                 First Class Mail
Chartered Organization         Bill J. Elliott Elementary ‐ Gifw                        Longhorn Council 662                      1608 Quails Nest Dr R                                       Fort Worth, TX 76177‐7542                                                                             First Class Mail
Chartered Organization         Bill Reed Insurance Agency                               15851 Matsbrook St                        Westminster, CA 92683                                                                                                                                             First Class Mail
Voting Party                   Bill Sieverkropp                                         8851 Rd 16 Nw                             Ephrata, WA 98823                                                                                                                kropp@accima.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Billings Rod & Gun Club                                  Montana Council 315                       2931 Rod and Gun Club Rd                                    Billings, MT 59106‐9669                                                                               First Class Mail
Chartered Organization         Billings Rod And Gun Club                                Montana Council 315                       2030 Greenbriar Rd                                          Billings, MT 59105‐3541                                                                               First Class Mail
Chartered Organization         Billion Oyster Project                                   Greater New York Councils, Bsa 640        10 South St Slip 7                                          New York, NY 10004‐1921                                                                               First Class Mail
Chartered Organization         Bills Toggery                                            Northern Star Council 250                 138 Lewis St S                                              Shakopee, MN 55379‐1576                                                                               First Class Mail
Chartered Organization         Billy Dixon Square And Compass Club                      Golden Spread Council 562                 P.O. Box 608                                                Fritch, TX 79036                                                                                      First Class Mail
Chartered Organization         Biloxi Rotary Club                                       Pine Burr Area Council 304                P.O. Box 303                                                Biloxi, MS 39533‐0303                                                                                 First Class Mail
Chartered Organization         Biloxi Rotary Club & City Of Diberville                  Pine Burr Area Council 304                P.O. Box 303                                                Biloxi, MS 39533‐0303                                                                                 First Class Mail
Chartered Organization         Binachi Shooting Sports                                  Choctaw Area Council 302                  4434 Camp Binachi Rd                                        Meridian, MS 39301‐9581                                                                               First Class Mail
Chartered Organization         Bingham Academy                                          Transatlantic Council, Bsa 802            P.O. Box 4937                                               Ethiopia                                                                                              First Class Mail
Chartered Organization         Binghampton Ward ‐ Lds Tucson Stake                      Catalina Council 011                      3700 E Fort Lowell Rd                                       Tucson, AZ 85716‐1729                                                                                 First Class Mail
Chartered Organization         Binghamton Prof Ff Local 729 Iaff                        Baden‐Powell Council 368                  180 Main St                                                 Binghamton, NY 13905‐2608                                                                             First Class Mail
Chartered Organization         Bint Jeball Cultural Center                              Great Lakes Fsc 272                       6220 Miller Rd                                              Dearborn, MI 48126‐2310                                                                               First Class Mail
Voting Party                   Birch Run United Methodist Church                        Attn: Alma J.Neurohr                      12265 Church St                                             Birch Run, MI 48415                                                  birchrunumc5919@gmail.com        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Birch Run Utd Methodist Men                              Water and Woods Council 782               12265 Church St                                             Birch Run, MI 48415‐9288                                                                              First Class Mail
Chartered Organization         Birch Run Vfw                                            Water and Woods Council 782               11325 Dixie Hwy                                             Birch Run, MI 48415‐9751                                                                              First Class Mail
Chartered Organization         Birchtree Parent Guild                                   Great Alaska Council 610                  7101 E Palmer Wasilla Hwy                                   Palmer, AK 99645                                                                                      First Class Mail
Chartered Organization         Birchwood Colony Club                                    Garden State Council 690                  S Lakeside Dr                                               Medford, NJ 08055                                                                                     First Class Mail
Chartered Organization         Bird Island Migrant Project                              Northern Star Council 250                 P.O. Box 460                                                Bird Island, MN 55310                                                                                 First Class Mail
Chartered Organization         Birdsboro Area Climbers Assoc                            Hawk Mountain Council 528                 429 Glasgow St                                              Stowe, PA 19464‐6556                                                                                  First Class Mail
Chartered Organization         Birkes Elementary P T O                                  Sam Houston Area Council 576              8500 Queenston Blvd                                         Houston, TX 77095‐4784                                                                                First Class Mail
Chartered Organization         Birmingham 44                                            Great Lakes Fsc 272                       37357 Woodward Ave                                          Bloomfield Hills, MI 48304‐5003                                                                       First Class Mail
Chartered Organization         Birmingham City Schools                                  Greater Alabama Council 001               2015 Park Pl                                                Birmingham, AL 35203‐2705                                                                             First Class Mail
Chartered Organization         Birmingham City Schools Career Tech                      Greater Alabama Council 001               720 86th St S                                               Birmingham, AL 35206‐2812                                                                             First Class Mail
Chartered Organization         Birmingham Fire & Rescue Services                        Greater Alabama Council 001               1808 7th Ave N                                              Birmingham, AL 35203‐2201                                                                             First Class Mail
Chartered Organization         Birmingham Fire Fighters Assoc                           Lake Erie Council 440                     11017 Chapel St                                             Wakeman, OH 44889‐8359                                                                                First Class Mail
Chartered Organization         Birmingham Lions Club                                    Great Lakes Fsc 272                       P.O. Box 1121                                               Birmingham, MI 48012‐1121                                                                             First Class Mail
Voting Party                   Birmingham United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Birmingham United Methodist Church                       15770 Birmingham Hwy                      Milton, GA 30004                                                                                                                                                  First Class Mail
Chartered Organization         Birmingham Utd Methodist Church                          Atlanta Area Council 092                  15770 Birmingham Hwy                                        Milton, GA 30004‐2687                                                                                 First Class Mail
Chartered Organization         Birney Prep Academy                                      Cradle of Liberty Council 525             900 Lindley Ave                                             Philadelphia, PA 19141‐3920                                                                           First Class Mail
Voting Party                   Bishop & Trustees Of The Diocese Of Nebraska             Attn: Dc Woody Bradford III               6457 Frances St, Ste 100                                    Omaha, NE 68106                                                      wbradford@houghtonbradford.com   Email
                                                                                                                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                            Page 33 of 442
                                                                                    Case 20-10343-LSS                                          Doc 8171                                          Filed 01/06/22                                            Page 49 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                        Name                                                                                             Address                                                                                                            Email              Method of Service
Voting Party                   Bishop First United Methodist Church                           Attn: David Spencer Camphouse           205 N Fowler                                               Bishop, CA 93514                                                    office@bishopumc.org              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Bishop George Ahr Hs                                           Attn: Andre L Kydala                    54 Old Hwy 22                                              Clinton, NJ 08809                                                                                     First Class Mail
Voting Party                   Bishop Janes Umc ‐ Basking Ridge                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Bishop Lions Club                                              Southern Sierra Council 030             P.O. Box 1040                                              Bishop, CA 93515                                                                                      First Class Mail
Chartered Organization         Bishop Mcguinness Catholic High School                         Last Frontier Council 480               801 NW 50th St                                             Oklahoma City, OK 73118‐6001                                                                          First Class Mail
Voting Party                   Bishop Of The Diocese Of Metuchen                              Attn: Andre L Kydala                    54 Old Hwy 22                                              Clinton, NJ 08809                                                                                     First Class Mail
Voting Party                   Bishop Of The Episcopal Diocese Of Georgia, Inc                c/o Law Offices of Skip Jennings, PC    Attn: Richard C E Jennings                                 115 W Oglethorpe Ave             Savannah, GA 31401                 skipjenningspc@comcast.net        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Bishop Of The Episcopal Diocese Of Georgia, Inc                18 E 34th St                            Savannah, GA 31401                                                                                                                                               First Class Mail
Voting Party                   Bishop Walsh School, Inc                                       Attn: Matthew W Oakey                   218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                 moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Bishop Walsh School, Inc                                       c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                      218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Bishop Ward Class‐First Methodist Church                       Circle Ten Council 571                  301 Church St                                              Sulphur Springs, TX 75482‐2605                                                                        First Class Mail
Chartered Organization         Bishopville Police Dept                                        Pee Dee Area Council 552                112 E Council St                                           Bishopville, SC 29010‐1738                                                                            First Class Mail
Voting Party                   Bisin Designs, LLC                                             Attn: Brian Kelleghan                   735 S Lincoln St                                           Longmont, CO 80501                                                  brian@bisondesigns.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Bismarck 1St Ward, Bismarck Nd Stake                           Northern Lights Council 429             300 W Edmonton Dr                                          Bismarck, ND 58503‐0228                                                                               First Class Mail
Chartered Organization         Bismarck 3Rd Ward Bismarck Nd Stake                            Northern Lights Council 429             1500 Country West Rd                                       Bismarck, ND 58503‐0137                                                                               First Class Mail
Voting Party                   Bismarck United Methodist Church                               Attn: Danny Crow                        P.O. Box 100                                               Bismarck, AR 71929                                                  dmcrow@catc.net                   Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Bismarck Utd Methodist Church                                  Quapaw Area Council 018                 7075 Hwy 7                                                 Bismarck, AR 71929‐7171                                                                               First Class Mail
Chartered Organization         Bismarck Ward 2, Bismarck Nd Stake                             Northern Lights Council 429             1500 Country West Rd                                       Bismarck, ND 58503‐0137                                                                               First Class Mail
Voting Party                   Bison Designs, LLC                                             P.O. Box 912176                         Denver, CO 80291‐2176                                                                                                                                            First Class Mail
Chartered Organization         Bison Outdoor Adventure Club                                   Circle Ten Council 571                  2120 W Jefferson Blvd                                      Dallas, TX 75208‐5517                                                                                 First Class Mail
Chartered Organization         Bitner‐Bechdel Post 623                                        Susquehanna Council 533                 68 Wynn Ave                                                Beech Creek, PA 16822                                                                                 First Class Mail
Chartered Organization         Bixby Knolls Christian Church                                  Long Beach Area Council 032             1240 E Carson St                                           Long Beach, CA 90807‐3031                                                                             First Class Mail
Chartered Organization         Black & Veatch                                                 Denver Area Council 061                 6300 S Syracuse Way, Ste 300                               Centennial, CO 80111‐6723                                                                             First Class Mail
Chartered Organization         Black & Veatch Engineers                                       Heart of America Council 307            11401 Lamar Ave                                            Overland Park, KS 66211‐1508                                                                          First Class Mail
Chartered Organization         Black Canyon Signs, Inc                                        Utah National Parks 591                 597 Grove Creek Dr                                         Pleasant Grove, UT 84062‐2429                                                                         First Class Mail
Chartered Organization         Black Eagle Civic Center                                       Montana Council 315                     3116 Old Havre Hwy                                         Black Eagle, MT 59414‐1039                                                                            First Class Mail
Chartered Organization         Black Elementary Pto                                           Sam Houston Area Council 576            14155 Grant Rd                                             Cypress, TX 77429‐1396                                                                                First Class Mail
Chartered Organization         Black Forest Community Club                                    Pikes Peak Council 060                  12530 Black Forest Rd                                      Colorado Springs, CO 80908                                                                            First Class Mail
Chartered Organization         Black Hawk County Ymca ‐ Aldrich                               Winnebago Council, Bsa 173              669 S Hackett Rd                                           Waterloo, IA 50701‐5632                                                                               First Class Mail
Chartered Organization         Black Hawk County Ymca ‐ Becker                                Winnebago Council, Bsa 173              669 S Hackett Rd                                           Waterloo, IA 50701‐5632                                                                               First Class Mail
Chartered Organization         Black Hawk County Ymca ‐ Cedar Heights                         Winnebago Council, Bsa 173              669 S Hackett Rd                                           Waterloo, IA 50701‐5632                                                                               First Class Mail
Chartered Organization         Black Hawk County Ymca ‐ Dike                                  Winnebago Council, Bsa 173              669 S Hackett Rd                                           Waterloo, IA 50701‐5632                                                                               First Class Mail
Chartered Organization         Black Hawk County Ymca ‐ Lowell                                Winnebago Council, Bsa 173              669 S Hackett Rd                                           Waterloo, IA 50701‐5632                                                                               First Class Mail
Chartered Organization         Black Hawk County Ymca ‐ Poyner                                Winnebago Council, Bsa 173              669 S Hackett Rd                                           Waterloo, IA 50701‐5632                                                                               First Class Mail
Chartered Organization         Black Hawk County Ymca ‐ Southdale                             Winnebago Council, Bsa 173              669 S Hackett Rd                                           Waterloo, IA 50701‐5632                                                                               First Class Mail
Chartered Organization         Black Hawk Ymca ‐ Orchard Hill                                 Winnebago Council, Bsa 173              669 S Hackett Rd                                           Waterloo, IA 50701‐5632                                                                               First Class Mail
Chartered Organization         Black Jack Fire Protection District                            Greater St Louis Area Council 312       5675 N US Hwy 67                                           Florissant, MO 63034‐2603                                                                             First Class Mail
Voting Party                   Black River Umc                                                Attn: Robert J Mccarthy                 144 S Main St                                              Black River, NY 13612                                               robert_mccarthy1@yahoo.com        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Black River Volunteer Fire Dept                                Longhouse Council 373                   P.O. Box 95                                                Black River, NY 13612‐0095                                                                            First Class Mail
Voting Party                   Blackbaud, Inc                                                 P.O. Box 930256                         Atlanta, GA 31193‐0256                                                                                                                                           First Class Mail
Chartered Organization         Blackbob Pto                                                   Heart of America Council 307            14701 S Brougham Dr                                        Olathe, KS 66062‐2628                                                                                 First Class Mail
Chartered Organization         Blackfoot Fire Dept                                            Grand Teton Council 107                 225 N Ash St                                               Blackfoot, ID 83221‐2218                                                                              First Class Mail
Voting Party                   Blackhawk Area Council 660                                     Attn: William A Reilly II               6801 Spring Creek Rd, 2D                                   Rockford, IL 61114                                                  wreilly@reilly‐lawoffices.com     Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blackhawk County Ymca ‐ Irving                                 Winnebago Council, Bsa 173              669 S Hackett Rd                                           Waterloo, IA 50701‐5632                                                                               First Class Mail
Chartered Organization         Blackhawk Ministries                                           Anthony Wayne Area 157                  7400 E State Blvd                                          Fort Wayne, IN 46815‐6502                                                                             First Class Mail
Chartered Organization         Blackhawk School Pto                                           Mississippi Valley Council 141 141      2804 S 14th St                                             Burlington, IA 52601‐3401                                                                             First Class Mail
Voting Party                   Blacklick Community Umc (97307)                                c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blacklick Elementary Pride Partners Pto                        Simon Kenton Council 441                6540 Havens Corners Rd                                     Blacklick, OH 43004‐8415                                                                              First Class Mail
Voting Party                   Blackman United Methodist Church                               Attn: David Stockton                    4380 Manson Pike                                           Murfreesboro, TN 37129                                              pastor@blackmanumc.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blackridge Civic Assoc                                         Laurel Highlands Council 527            P.O. Box 10684                                             Pittsburgh, PA 15235‐0684                                                                             First Class Mail
Chartered Organization         Blacks Chapel Mbc                                              Andrew Jackson Council 303              3425 Robinson St                                           Jackson, MS 39209‐6732                                                                                First Class Mail
Voting Party                   Blacksburg Presbyterian Church                                 701 Church St Se                        Blacksburg, VA 24060                                                                                                           greg@campbellackermanlaw.com      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Blacksburg UMC                                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blacksburg Utd Methodist Church                                Blue Ridge Mtns Council 599             111 Church St Se                                           Blacksburg, VA 24060‐4801                                                                             First Class Mail
Chartered Organization         Blackshear Elementary                                          Sam Houston Area Council 576            2900 Holman St                                             Houston, TX 77004‐3240                                                                                First Class Mail
Voting Party                   Blackshear First United Methodist Church                       Attn: Amelia Hitt, Treasurer            P.O. Box 127                                               225 Church St                    Blackshear, GA 31516               blackshearumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blackshear Pto                                                 Sam Houston Area Council 576            11211 Lacey Rd                                             Tomball, TX 77375‐7805                                                                                First Class Mail
Voting Party                   Blackstone Valley United Methodist Church                      Attn: Rev Kim E K Manion                61 Linwood Ave                                             Whitinsville, MA 01588                                              pastor@blackstonevalleyumc.org    Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Blacksville United Methodist Church                            Attn: Lisa Renee D'Eletto               P.O. Box 126                                               Blacksville, WV 26521                                               lisadeletto@yahoo.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Blacksville United Methodist Church                            Attn: Lisa D'Eletto                     P.O. Box 46                                                Blacksville, WV 26521                                               lisadeletto@yahoo.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blackthorn Assoc, LLC                                          Mayflower Council 251                   32 Falcon Ridge Dr                                         Hopkinton, MA 01748‐1588                                                                              First Class Mail
Voting Party                   Blackwater United Methodist Church                             Attn: Danielle Yarbrough‐Whitworth      10000 Blackwater Rd                                        City of Central, LA 70714                                           Finance@Blackwaterumc.org         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blackwater Utd Methodist Church                                Istrouma Area Council 211               10000 Blackwater Rd                                        Baker, LA 70714‐7005                                                                                  First Class Mail
Chartered Organization         Blackwell Community Center                                     Heart of Virginia Council 602           300 E 15th St                                              Richmond, VA 23224‐3858                                                                               First Class Mail
Chartered Organization         Blackwell Institute                                            Great Lakes Fsc 272                     9330 Shoemaker St                                          Detroit, MI 48213‐3152                                                                                First Class Mail
Chartered Organization         Blackwell Utd Methodist Church                                 Cimarron Council 474                    524 W Coolidge Ave                                         Blackwell, OK 74631‐4824                                                                              First Class Mail
Voting Party                   Blackwell, Raymond L                                           Address Redacted                                                                                                                                                       Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Bladensburg Police Dept                                        National Capital Area Council 082       4910 Tilden Rd                                             Bladensburg, MD 20710‐1247                                                                            First Class Mail
Chartered Organization         Blaine Christian Church                                        President Gerald R Ford 781             7018 Putney Rd                                             Arcadia, MI 49613‐9600                                                                                First Class Mail
Chartered Organization         Blaine Festival                                                Northern Star Council 250               P.O. Box 490563                                            Blaine, MN 55449‐0563                                                                                 First Class Mail
Chartered Organization         Blaine Memorial Utd Methodist Church                           Chief Seattle Council 609               3001 24th Ave S                                            Seattle, WA 98144‐5930                                                                                First Class Mail
Chartered Organization         Blaine Police Dept                                             Northern Star Council 250               10801 Town Square Dr Ne                                    Blaine, MN 55449‐8100                                                                                 First Class Mail
Chartered Organization         Blaine Utd Methodist Church                                    Northern Star Council 250               621 115th Ave Ne                                           Blaine, MN 55434‐2927                                                                                 First Class Mail
Chartered Organization         Blair Lions Club                                               Mid‐America Council 326                 1117 Corey Dr                                              Blair, NE 68008‐2712                                                                                  First Class Mail
Chartered Organization         Blair Lutheran Churches                                        Gateway Area 624                        P.O. Box 46                                                Blair, WI 54616‐0046                                                                                  First Class Mail
Chartered Organization         Blair Road Utd Methodist Men                                   Mecklenburg County Council 415          9135 Blair Rd                                              Mint Hill, NC 28227‐8557                                                                              First Class Mail
Chartered Organization         Blake Elementary School                                        Lincoln Heritage Council 205            3801 Bonaventure Blvd                                      Louisville, KY 40219‐4811                                                                             First Class Mail
Chartered Organization         Blakemore Utd Methodist Church                                 Middle Tennessee Council 560            3601 W End Ave                                             Nashville, TN 37205‐2404                                                                              First Class Mail
Chartered Organization         Blakeslee Rotary Club                                          Minsi Trails Council 502                109 Pawnee Ct                                              Long Pond, PA 18334                                                                                   First Class Mail
Chartered Organization         Blakewood Elementary School P T O                              Three Harbors Council 636               3501 Blakewood Ave                                         South Milwaukee, WI 53172‐3402                                                                        First Class Mail
Voting Party                   Blakey Memorial United Methodist Church                        Attn: Nicholas Guay                     86 Summit St                                               Baileyville, ME 06694                                               ngguay68@gmail.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Blakey Memorial United Methodist Church                        Attn: Nicholas Guay                     P.O. Box 104                                               Eastport, ME 04631                                                  ngguay68@gmail.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blanchard Police Dept                                          Last Frontier Council 480               117 W Broadway                                             Blanchard, OK 73010‐5419                                                                              First Class Mail
Chartered Organization         Blanchard Valley Regional Health Center                        Black Swamp Area Council 449            1900 S Main St                                             Findlay, OH 45840‐1214                                                                                First Class Mail
Chartered Organization         Blanchard Ward Lds Church                                      Norwela Council 215                     143 Church St                                              Belcher, LA 71004‐3800                                                                                First Class Mail
Voting Party                   Blanchard‐Pineriver United Methodist Church                    Attn: Rose Nedry                        7655 W Blanchard Rd                                        Blanchard, MI 49310                                                 rnedry@gmail.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Blanche Umc                                                    Attn: William Malone                    35 Blanche Cir                                             Taft, TN 38488                                                      malonew@bellsouth.net             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Blanco United Methodist Church                                 Emily Elizabeth Romero                  61 Pecan St                                                Blanco, TX 78606                                                    secretarybumc1@gmail.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Blanco United Methodist Church                                 P.O. Box 339                            Blanco, TX 78606                                                                                                               secretarybumc1@gmail.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Bland Street United Methodist Church                           Attn: Lauren A Duncan                   2620 Bland Rd                                              Bluefield, WV 24701                                                 blandstumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blanford Sportsman Club                                        Crossroads of America 160               799 W State Rd 163                                         Clinton, IN 47842                                                                                     First Class Mail
Chartered Organization         Blanford Sportsman Club                                        Crossroads of America 160               799 W State Rd 163                                         Clinton, IN 47842                                                                                     First Class Mail
Chartered Organization         Blankner Elementary Ptsa                                       Central Florida Council 083             2500 S Mills Ave                                           Orlando, FL 32806‐4716                                                                                First Class Mail
Chartered Organization         Blauvelt Volunteer Fire Co                                     Hudson Valley Council 374               548 Wern Hwy                                               Blauvelt, NY 10913                                                                                    First Class Mail
Chartered Organization         Blawenburg Reformed Church                                     Washington Crossing Council 777         P.O. Box 266                                               Blawenburg, NJ 08504‐0266                                                                             First Class Mail
Voting Party                   Bleakley Platt & Schmidt, Llp                                  Justin M Gardner                        One North Lexington Ave, 7th Fl                            White Plains, NY 10601                                              jgardner@bpslaw.com               Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Bleakley, Platt & Schmidt, Llp                                 Justin M Gardner                        One North Lexington Ave, 7th Fl                            White Plains, NY 10601                                              jgardner@bpslaw.com               Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Bledsoe‐Bulas Post 6133 Vfw                                    Great Rivers Council 653                604 W Jefferson Ave                                        Owensville, MO 65066‐1342                                                                             First Class Mail
Voting Party                   Blenheim Hill UMC                                              Attn: Lyndon Cornell                    1410 North Rd                                              N Blenheim, NY 12131                                                lcornell@midtel.net               Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blenker Companies, Inc                                         Samoset Council, Bsa 627                P.O. Box 40                                                Amherst, WI 54406‐0040                                                                                First Class Mail
Chartered Organization         Blessed Francis Seelos Academy                                 Laurel Highlands Council 527            201 Church Rd                                              Wexford, PA 15090‐8842                                                                                First Class Mail
Chartered Organization         Blessed John Xxiii Catholic Church                             South Florida Council 084               16800 Miramar Pkwy                                         Miramar, FL 33027‐4566                                                                                First Class Mail
Chartered Organization         Blessed Mother Catholic Church Owensboro                       Lincoln Heritage Council 205            601 E 23rd St                                              Owensboro, KY 42303‐5123                                                                              First Class Mail
Chartered Organization         Blessed Mother Teresa Parish                                   Greater Niagara Frontier Council 380    496 Terrace Blvd                                           Depew, NY 14043‐3213                                                                                  First Class Mail
Chartered Organization         Blessed Redeemer Lutheran Church                               Sioux Council 733                       705 S Sioux Blvd                                           Brandon, SD 57005‐1731                                                                                First Class Mail
Chartered Organization         Blessed Sacrament                                              Mid‐America Council 326                 3012 Jackson St                                            Sioux City, IA 51104‐2742                                                                             First Class Mail
Chartered Organization         Blessed Sacrament Cathedral                                    Westmoreland Fayette 512                334 N Main St                                              Greensburg, PA 15601‐1811                                                                             First Class Mail
Chartered Organization         Blessed Sacrament Catholic Church                              Old N State Council 070                 710 Koury Dr                                               Burlington, NC 27215‐6721                                                                             First Class Mail
Chartered Organization         Blessed Sacrament Catholic Church                              Central Florida Council 083             720 12th St                                                Clermont, FL 34711‐2096                                                                               First Class Mail
Chartered Organization         Blessed Sacrament Catholic Church                              Central Florida Council 083             5135 N Cocoa Blvd                                          Cocoa, FL 32927‐6032                                                                                  First Class Mail
Chartered Organization         Blessed Sacrament Catholic Church                              Glaciers Edge Council 620               2116 Hollister Ave                                         Madison, WI 53726‐3958                                                                                First Class Mail
Chartered Organization         Blessed Sacrament Catholic Church                              Simon Kenton Council 441                378 E Main St                                              Newark, OH 43055‐6529                                                                                 First Class Mail
Chartered Organization         Blessed Sacrament Catholic Church                              Alamo Area Council 583                  600 Oblate Dr                                              San Antonio, TX 78216‐7326                                                                            First Class Mail
Chartered Organization         Blessed Sacrament Catholic Church                              Great Salt Lake Council 590             9757 S 1700 E                                              Sandy, UT 84092‐3002                                                                                  First Class Mail
Chartered Organization         Blessed Sacrament Catholic Church                              Chief Seattle Council 609               5050 8th Ave Ne                                            Seattle, WA 98105‐3603                                                                                First Class Mail
Chartered Organization         Blessed Sacrament Catholic Church                              Abraham Lincoln Council 144             1725 S Walnut St                                           Springfield, IL 62704‐4045                                                                            First Class Mail
Chartered Organization         Blessed Sacrament Catholic School                              Water and Woods Council 782             3109 Swede Ave                                             Midland, MI 48642‐3842                                                                                First Class Mail
Chartered Organization         Blessed Sacrament Church                                       Dan Beard Council, Bsa 438              2415 Dixie Hwy                                             Ft Mitchell, KY 41017‐2936                                                                            First Class Mail
Chartered Organization         Blessed Sacrament Church                                       South Texas Council 577                 2219 Galveston St                                          Laredo, TX 78043‐3002                                                                                 First Class Mail
Chartered Organization         Blessed Sacrament Church                                       Daniel Webster Council, Bsa 330         14 Elm St                                                  Manchester, NH 03103‐7242                                                                             First Class Mail
Chartered Organization         Blessed Sacrament Church                                       Patriots Path Council 358               1890 Washington Valley Rd                                  Martinsville, NJ 08836‐2054                                                                           First Class Mail
Chartered Organization         Blessed Sacrament Church                                       Narragansett 546                        239 Regent Ave                                             Providence, RI 02908‐4530                                                                             First Class Mail
Chartered Organization         Blessed Sacrament Church                                       Black Hills Area Council 695 695        4500 Jackson Blvd                                          Rapid City, SD 57702‐4972                                                                             First Class Mail
Chartered Organization         Blessed Sacrament Church                                       Coastal Georgia Council 099             1003 E Victory Dr                                          Savannah, GA 31405‐2425                                                                               First Class Mail
Chartered Organization         Blessed Sacrament Church                                       Greater Tampa Bay Area 089              11565 66th Ave                                             Seminole, FL 33772‐6140                                                                               First Class Mail
Chartered Organization         Blessed Sacrament Church                                       Suwannee River Area Council 664         624 Miccosukee Rd                                          Tallahassee, FL 32308‐4965                                                                            First Class Mail
Chartered Organization         Blessed Sacrament Church                                       Winnebago Council, Bsa 173              650 Stephan Ave                                            Waterloo, IA 50701‐2036                                                                               First Class Mail
Voting Party                   Blessed Sacrament Church                                       c/o Woods Oviatt Gilman LLP             Attn: Timothy P Lyster, Esq                                1900 Bausch & Lomb Pl            Rochester, NY 14604                tlyster@woodsoviatt.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blessed Sacrament Home‐School Assoc                            Winnebago Council, Bsa 173              600 Stephan Ave                                            Waterloo, IA 50701‐2036                                                                               First Class Mail
Chartered Organization         Blessed Sacrament Hsa                                          Water and Woods Council 782             3109 Swede Ave                                             Midland, MI 48642‐3842                                                                                First Class Mail
Voting Party                   Blessed Sacrament Martinsville                                 Attn: Andre L Kydala                    54 Old Hwy 22                                              Clinton, NJ 08809                                                                                     First Class Mail
Chartered Organization         Blessed Sacrament Mens Club                                    Quivira Council, Bsa 198                124 N Roosevelt St                                         Wichita, KS 67208‐3717                                                                                First Class Mail
Chartered Organization         Blessed Sacrament Parish                                       Pathway To Adventure 456                3615 S Hoyne Ave                                           Chicago, IL 60609‐1147                                                                                First Class Mail
Chartered Organization         Blessed Sacrament Parish                                       Quapaw Area Council 018                 614 S Church St                                            Jonesboro, AR 72401‐3114                                                                              First Class Mail
Chartered Organization         Blessed Sacrament Parish                                       Mississippi Valley Council 141 141      1119 S 7th St                                              Quincy, IL 62301‐5369                                                                                 First Class Mail
Voting Party                   Blessed Sacrament Parish, Grand Rapids                         c/o Warner Norcross & Judd LLP          Attn: Elisabeth M Von Eitzen                               150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blessed Sacrament Rc Church                                    Greater Niagara Frontier Council 380    263 Claremont Ave                                          Buffalo, NY 14223‐2507                                                                                First Class Mail
Chartered Organization         Blessed Sacrament Roman Catholic Church                        Gateway Area 624                        2404 King St                                               La Crosse, WI 54601‐4329                                                                              First Class Mail
Chartered Organization         Blessed Sacrament Roman Catholic Church                        Cornhusker Council 324                  1720 Lake St                                               Lincoln, NE 68502‐3736                                                                                First Class Mail
Chartered Organization         Blessed Sacrament Roman Catholic Church                        Erie Shores Council 460                 4227 Bellevue Rd                                           Toledo, OH 43613‐3936                                                                                 First Class Mail
Chartered Organization         Blessed Sacrament Roman Catholic Church                        Great Trail 433                         3020 Reeves Rd Ne                                          Warren, OH 44483‐3616                                                                                 First Class Mail
Voting Party                   Blessed Sacrament Roman Catholic Congregation, Incorporated    Attn: Matthew W Oakey                   218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                 moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Blessed Sacrament Roman Catholic Congregation, Incorporated    c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                      218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blessed Sacrament Roman Church                                 Connecticut Rivers Council, Bsa 066     182 Robbins St                                             Waterbury, CT 06708‐2638                                                                              First Class Mail
Chartered Organization         Blessed Sacrament School                                       Longhouse Council 373                   3129 James St                                              Syracuse, NY 13206‐3001                                                                               First Class Mail
Chartered Organization         Blessed Teresa Calcutta Catholic Ch                            Great Smoky Mountain Council 557        P.O. Box 1076                                              Maynardville, TN 37807‐1076                                                                           First Class Mail
Chartered Organization         Blessed Trinity Catholic Church                                North Florida Council 087               10472 Beach Blvd                                           Jacksonville, FL 32246‐3651                                                                           First Class Mail
Chartered Organization         Blessed Trinity Catholic Church                                North Florida Council 087               5 SE 17th St                                               Ocala, FL 34471‐5152                                                                                  First Class Mail
Voting Party                   Blessed Trinity Roman Catholic Church Society Of Buffalo, NY   c/o Woods Oviatt Gilman LLP             Attn: Timothy P Lyster, Esq                                1900 Bausch & Lomb Pl            Rochester, NY 14604                tlyster@woodsoviatt.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blessed Virgin Mary Help Christians Rcc                        Greater New York Councils, Bsa 640      7031 48th Ave                                              Woodside, NY 11377‐6010                                                                               First Class Mail
Chartered Organization         Blevins Elementary Pto                                         Greater St Louis Area Council 312       25 E North St                                              Eureka, MO 63025‐1206                                                                                 First Class Mail
Voting Party                   Blfd Pres Church On The Green                                  Attn: Scott Maciag                      147 Broad St                                               Bloomfield, NJ 07003                                                smaciag1@gmail.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Blissfield Rotary Club                                         Southern Shores Fsc 783                 Blissfield Mi                                              Blissfield, MI 49228                                                                                  First Class Mail
Chartered Organization         Bloom Elementary School                                        Blackhawk Area 660                      2912 Brendenwood Rd                                        Rockford, IL 61107‐1907                                                                               First Class Mail
Voting Party                   Bloomberg Finance Lp                                           P.O. Box 416604                         Boston, MA 02241‐6604                                                                                                                                            First Class Mail
Chartered Organization         Bloomdale Knights Of Pythias Lodge 278                         Erie Shores Council 460                 P.O. Box 233                                               Bloomdale, OH 44817‐0233                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 34 of 442
                                                                                  Case 20-10343-LSS                                         Doc 8171                                         Filed 01/06/22                                                   Page 50 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                        Name                                                                                         Address                                                                                                                 Email                         Method of Service
Voting Party                   Bloomdale Trinity United Methodist Church                   Attn: John Ross Nemcik                  310 Beall Dr                                              Bloomdale, OH 44817                                                        captnem6@yahoo.com                         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bloomfield Christian Church                                 Mid Iowa Council 177                    107 N Davis St                                            Bloomfield, IA 52537‐1412                                                                                             First Class Mail
Chartered Organization         Bloomfield Hills Optimist Club                              Great Lakes Fsc 272                     P.O. Box 781                                              Bloomfield Hills, MI 48303‐0781                                                                                       First Class Mail
Chartered Organization         Bloomfield Lions Club                                       Hoosier Trails Council 145 145          306 Marshall Ln                                           Bloomfield, IN 47424‐1426                                                                                             First Class Mail
Chartered Organization         Bloomfield Lions Club                                       Seneca Waterways 397                    P.O. Box 385                                              Bloomfield, NY 14469‐0385                                                                                             First Class Mail
Chartered Organization         Bloomfield Police Dept                                      Connecticut Rivers Council, Bsa 066     785 Park Ave                                              Bloomfield, CT 06002‐2444                                                                                             First Class Mail
Voting Party                   Bloomfield Presbyterian Church On The Green                 Attn: Scott Maciag                      147 Broad St                                              Bloomfield, NJ 07003                                                       smaciag1@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bloomfield R‐14 Pto                                         Greater St Louis Area Council 312       19634 State Hwy E                                         Bloomfield, MO 63825‐8529                                                                                             First Class Mail
Chartered Organization         Bloomfield Rotary Club                                      Seneca Waterways 397                    P.O. Box 7                                                Bloomfield, NY 14469‐0007                                                                                             First Class Mail
Chartered Organization         Bloomfield Ruritan Club                                     Mid‐America Council 326                 527 Cir Dr                                                Bloomfield, NE 68718‐2046                                                                                             First Class Mail
Voting Party                   Bloomfield United Methodist Church                          Attn: Secretary                         60 W Main St, P.O. Box 403                                Bloomfield, IN 47424                                                       office@bloomfieldumc.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Bloomfield United Methodist Church                          Attn: Treasurer                         401 E North St                                            Bloomfield, IA 52537                                                       bumc@netins.net                            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Bloomfield United Methodist Church                          Attn: Treasurer                         P.O. Box 166                                              Bloomfield, IA 52537                                                       bumc@netins.net                            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Bloomfield United Methodist Church                          Attn: Pastor Egan M Bovell              297 School St                                             Bloomfield, CT 06002                                                       bloomfieldumc@sbcglobal.net                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bloomfield Utd Methodist Church                             Lincoln Heritage Council 205            126 Taylorsville Rd                                       Bloomfield, KY 40008                                                                                                  First Class Mail
Chartered Organization         Bloomfield Utd Presbyterian Church                          Muskingum Valley Council, Bsa 467       5760 Cambridge Rd                                         New Concord, OH 43762                                                                                                 First Class Mail
Chartered Organization         Bloomingdale Afjrotc                                        Greater Tampa Bay Area 089              1700 Bloomingdale Ave                                     Valrico, FL 33596‐6220                                                                                                First Class Mail
Chartered Organization         Bloomingdale Conservation Club                              Southern Shores Fsc 783                 16681 41st St                                             Bloomingdale, MI 49026‐8769                                                                                           First Class Mail
Chartered Organization         Bloomingdale Fire Dept                                      Northern New Jersey Council, Bsa 333    190 Union Ave                                             Bloomingdale, NJ 07403                                                                                                First Class Mail
Voting Party                   Bloomingdale United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                        erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bloomingdale Utd Methodist Church                           Northern New Jersey Council, Bsa 333    65 Main St                                                Bloomingdale, NJ 07403‐1613                                                                                           First Class Mail
Chartered Organization         Bloomingdale Vfw Post 7539                                  Three Fires Council 127                 101 Fairfield Way                                         Bloomingdale, IL 60108‐1537                                                                                           First Class Mail
Chartered Organization         Bloomington Housing Authority                               W D Boyce 138                           104 E Wood St                                             Bloomington, IL 61701‐6791                                                                                            First Class Mail
Chartered Organization         Bloomington Jr High Outdoor Education                       W D Boyce 138                           901 Colton Ave                                            Bloomington, IL 61701‐3374                                                                                            First Class Mail
Chartered Organization         Bloomington Police Dept                                     Northern Star Council 250               1800 W Old Shakopee Rd                                    Bloomington, MN 55431‐3071                                                                                            First Class Mail
Chartered Organization         Bloomington/Normal Sunrise Rotary Club                      W D Boyce 138                           200 W Monroe St, Ste 2                                    Bloomington, IL 61701‐3998                                                                                            First Class Mail
Voting Party                   Bloomville United Methodist Church                          P.O. Box 3                              Bloomvile, NY 13739                                                                                                                  pastordelawareheadwatersparish@gmail.com   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bloss Township Recreation                                   Five Rivers Council, Inc 375            P.O. Box 141                                              Arnot, PA 16911‐0141                                                                                                  First Class Mail
Voting Party                   Blossom Methodist Church                                    Attn: Tim Walker                        1409 Westborough                                          Argyle, TX 76226                                                           timwalker@timwalker.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Blount County Boys And Girls Club                           Great Smoky Mountain Council 557        520 S Washington St                                       Maryville, TN 37804‐5804                                                                                              First Class Mail
Chartered Organization         Blount Home Education Assoc                                 Great Smoky Mountain Council 557        1533 Ramsay St                                            Alcoa, TN 37701‐2045                                                                                                  First Class Mail
Voting Party                   Blountsville Umc                                            Attn: John J Lewis                      P.O. Box 69                                               Blountsville, AL 35631                                                     alex@beaube.com                            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Blountville United Methodist Church                         Attn: Larry Elam                        3390 Hwy 126                                              Blountville, TN 37617                                                      Blountvilleunited@btes.tv                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Blountville Utd Methodist Church                            Sequoyah Council 713                    P.O. Box 686                                              Blountville, TN 37617‐0686                                                                                            First Class Mail
Chartered Organization         Blue Ash Civic League                                       Dan Beard Council, Bsa 438              9306 Towne Square Ave                                     Blue Ash, OH 45242‐6943                                                                                               First Class Mail
Chartered Organization         Blue Creek Pta                                              Montana Council 315                     3652 Blue Creek Rd                                        Billings, MT 59101‐9172                                                                                               First Class Mail
Chartered Organization         Blue Cross And Blue Shield Of Minnesota                     Northern Star Council 250               3535 Blue Cross Rd                                        Eagan, MN 55122‐1154                                                                                                  First Class Mail
Chartered Organization         Blue Earth Lions Club                                       Twin Valley Council Bsa 283             105 N Holland St                                          Blue Earth, MN 56013‐1228                                                                                             First Class Mail
Chartered Organization         Blue Grass American Legion Post 711                         Illowa Council 133                      106 S Juniata St                                          Blue Grass, IA 52726‐7712                                                                                             First Class Mail
Voting Party                   Blue Grass American Legion Post 711                         Attn: Gary R Berndt                     106 S Juniata                                             Blue Grass, IA 52726                                                       tyredpapa@mchsi.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Blue Grass American Legion Post 711                         Attn: Gary Berndt                       6085 116th St                                             Blue Grass, IA 52726                                                       tyredpapa@mchsi.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Blue Grass Cncl 204                                         2134 Nicholasville Rd, Ste 3            Lexington, KY 40503‐2521                                                                                                                                                        First Class Mail
Voting Party                   Blue Grass United Methodist Church                          Attn: Doug Heiman                       14200 Petersburg Rd                                       Evansville, IN 47725                                                       doug.heiman@bluegrassuc.org                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Blue Grass Utd Methodist Church                             Buffalo Trace 156                       14240 Petersburg Rd                                       Evansville, IN 47725‐8362                                                                                             First Class Mail
Voting Party                   Blue Hill Methodist                                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                        erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Blue Hill Volunteer Fire Dept                               Overland Trails 322                     P.O. Box 474                                              Blue Hill, NE 68930‐0474                                                                                              First Class Mail
Chartered Organization         Blue Hill Volunteer Fire Dept                               Overland Trails 322                     P.O. Box 474                                              Blue Hill, NE 68930‐0474                                                                                              First Class Mail
Chartered Organization         Blue Lake Baptist Church Of Chipley                         Gulf Coast Council 773                  1405 Blue Lake Rd                                         Chipley, FL 32428‐6017                                                                                                First Class Mail
Chartered Organization         Blue Mound Lions Club                                       Greater St Louis Area Council 312       221 S Prairie St                                          Blue Mound, IL 62513‐9711                                                                                             First Class Mail
Chartered Organization         Blue Peak Solutions, LLC                                    Pikes Peak Council 060                  1339 Voyager Pkwy, Ste 130 116                            Colorado Springs, CO 80921                                                                                            First Class Mail
Chartered Organization         Blue Ridge Autism And Achievement Center                    Blue Ridge Mtns Council 599             312 Whitwell Dr                                           Roanoke, VA 24019‐2039                                                                                                First Class Mail
Chartered Organization         Blue Ridge Blvd Christian Church                            Heart of America Council 307            P.O. Box 1692                                             Independence, MO 64055‐0692                                                                                           First Class Mail
Voting Party                   Blue Ridge Blvd Umc                                         Attn: Anchul Axelrod                    5055 Blue Ridge Blvd                                      Kansas City, MO 64133                                                      churchadmin@theridgekc.org                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Blue Ridge Blvd Utd Methodist Church                        Heart of America Council 307            5055 Blue Ridge Blvd                                      Kansas City, MO 64133‐2547                                                                                            First Class Mail
Chartered Organization         Blue Ridge Chapter Of The Eaa, Inc                          Piedmont Council 420                    3127 Port St                                              Morganton, NC 28655‐9449                                                                                              First Class Mail
Voting Party                   Blue Ridge Chapter Of The Eaa, Inc.                         Attn: Alan R Bormuth                    3051 Port St                                              Morganton, NC 28655                                                        al@bormuth.com                             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Blue Ridge Church Of The Brethren                           Blue Ridge Mtns Council 599             15664 W Lynchburg Salem Tpke                              Blue Ridge, VA 24064                                                                                                  First Class Mail
Chartered Organization         Blue Ridge Community Of Christ                              Heart of America Council 307            3371 Blue Ridge Blvd                                      Independence, MO 64052‐1070                                                                                           First Class Mail
Chartered Organization         Blue Ridge Healthcare Hospitals, Inc                        Piedmont Council 420                    2201 S Sterling St                                        Morganton, NC 28655‐4044                                                                                              First Class Mail
Chartered Organization         Blue Ridge Methodist Church                                 Sam Houston Area Council 576            2929 Reed Rd                                              Houston, TX 77051‐2354                                                                                                First Class Mail
Voting Party                   Blue Ridge Mountains Cncl 599                               2131 Valley View Blvd Nw                Roanoke, VA 24012‐2031                                                                                                                                                          First Class Mail
Chartered Organization         Blue Ridge Presbyterian Church                              Heart of America Council 307            P.O. Box 16536                                            Kansas City, MO 64133‐0536                                                                                            First Class Mail
Chartered Organization         Blue Ridge Scout Reservation                                Blue Ridge Mtns Council 599             P.O. Box 7606                                             Roanoke, VA 24019‐0606                                                                                                First Class Mail
Chartered Organization         Blue Ridge Trinity Lutheran Church                          Heart of America Council 307            5757 Blue Ridge Blvd                                      Raytown, MO 64133‐3362                                                                                                First Class Mail
Voting Party                   Blue Ridge Umc                                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                        erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Blue Ridge Umc 235 Orvin Lance Dr Blue Ridge, GA 40513      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                        erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Blue Ridge United Methodist Church                          Attn: Rhonda Williams                   P.O. Box 263                                              Blue Ridge, TX 75424                                                       fumcbroffice@verizon.net                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Blue River Valley Elementary School Pto                     Crossroads of America 160               4713 N Hillsboro Rd                                       New Castle, IN 47362                                                                                                  First Class Mail
Chartered Organization         Blue Sea Assets, LLC                                        Las Vegas Area Council 328              7582 Las Vegas Blvd S, Ste 271                            Las Vegas, NV 89123‐1009                                                                                              First Class Mail
Chartered Organization         Blue Spgs 1St Utd Methodist Ch                              Heart of America Council 307            301 SW Woods Chapel Rd                                    Blue Springs, MO 64015‐3325                                                                                           First Class Mail
Chartered Organization         Blue Springs First Christian Church                         Heart of America Council 307            701 NW 15th St                                            Blue Springs, MO 64015‐2907                                                                                           First Class Mail
Chartered Organization         Blue Spruce Kiwanis                                         Denver Area Council 061                 P.O. Box 1153                                             Evergreen, CO 80437‐1153                                                                                              First Class Mail
Voting Party                   Blue Valley Memorial United Methodist Church                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                        erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Blue Vly Memorial Utd Methodist Ch                          Coronado Area Council 192               835 Church Ave                                            Manhattan, KS 66502‐4470                                                                                              First Class Mail
Chartered Organization         Blueberry Hill School Pto                                   Western Massachusetts Council 234       Blueberry Hill Rd                                         Longmeadow, MA 01106                                                                                                  First Class Mail
Chartered Organization         Bluebonnet Volunteerfiredepartment                          Capitol Area Council 564                P.O. Box 335                                              Cedar Creek, TX 78612‐0335                                                                                            First Class Mail
Chartered Organization         Bluefield Ward Ch Jesus Christ Lds                          Buckskin 617                            122 Fairway St                                            Bluefield, VA 24605                                                                                                   First Class Mail
Chartered Organization         Bluefield Ward Lds                                          Church of Jesus Christ                  122 Fairway St                                            Bluefield, VA 24605                                                                                                   First Class Mail
Chartered Organization         Bluegrass Church                                            Buffalo Trace 156                       14200 Petersburg Rd                                       Evansville, IN 47725‐8362                                                                                             First Class Mail
Chartered Organization         Bluegrass Middle School                                     Lincoln Heritage Council 205            170 Jenkins St                                            Elizabethtown, KY 42701                                                                                               First Class Mail
Chartered Organization         Bluegrass Rifle Club                                        Blue Grass Council 204                  6274 Steele Rd                                            Versailles, KY 40383‐9733                                                                                             First Class Mail
Chartered Organization         Blueridge Elementary                                        Sam Houston Area Council 576            6241 Mchard Rd                                            Houston, TX 77053‐5018                                                                                                First Class Mail
Voting Party                   Blueridge United Methodist Church Pack 434                  Attn: Pastor Janice Gilbert             2929 Reed Rd                                              Houston, TX 77051                                                          office@blueridgeumchouston.org             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bluewater Community Church                                  Gulf Coast Council 773                  4580 Range Rd                                             Niceville, FL 32578‐8712                                                                                              First Class Mail
Voting Party                   Bluewell Umc                                                Attn: Terry D Keller                    228 Warden Ave                                            Bluefield, WV 24701                                                        terryanddreama@citlink.net                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bluewell Utd Methodist                                      Buckskin 617                            Rr 4 Box 541                                              Bluefield, WV 24701                                                                                                   First Class Mail
Chartered Organization         Bluff City Utd Methodist Church                             Sequoyah Council 713                    P.O. Box 190                                              Bluff City, TN 37618‐0190                                                                                             First Class Mail
Voting Party                   Bluff Park United Methodist Church                          Attn: Jason Kurt Mccrory                733 Valley St                                             Hoover, AL 35226                                                           jmccrory@bpumc.org                         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bluffdale Lions Club                                        Great Salt Lake Council 590             14400 S Redwood Dr                                        Bluffdale, UT 84065                                                                                                   First Class Mail
Voting Party                   Bluffdale Umc                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                        erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Bluffdale Umc                                               877 Church St                           Bluff Dale, TX 76433                                                                                                                                                            First Class Mail
Chartered Organization         Bluffsview Elementary Pta                                   Simon Kenton Council 441                7111 Linworth Rd                                          Columbus, OH 43235‐5147                                                                                               First Class Mail
Voting Party                   Bluffton 1st United Methodist Church                        Attn: Richard Yoder                     325 W Washington St                                       Bluffton, IN 46714                                                         rpyoder2@yahoo.com                         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bluffton Boys And Girls Club                                Coastal Carolina Council 550            100 He Mccracken Cir                                      Bluffton, SC 29910‐5836                                                                                               First Class Mail
Chartered Organization         Bluffton Township Fire Dept                                 Coastal Carolina Council 550            P.O. Box 970                                              Bluffton, SC 29910                                                                                                    First Class Mail
Chartered Organization         Bluffton Township Fire District                             Coastal Carolina Council 550            357 Fording Island Rd                                     Bluffton, SC 29909‐6134                                                                                               First Class Mail
Voting Party                   Bluffton United Methodist Church, Inc                       Attn: Pat Kirkland                      101 Calhoun St                                            Bluffton, SC 29910                                                         blufftonumc@hargray.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Bluffton United Methodist Church, Inc                       Attn: Pat Kirkland                      P.O. Box 368                                              Bluffton, SC 29910                                                         blufftonumc@hargray.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bluffton Utd Methodist Church                               Coastal Carolina Council 550            101 Calhoun St                                            Bluffton, SC 29910                                                                                                    First Class Mail
Chartered Organization         Bluffton‐Harrison Elementary Pto                            Anthony Wayne Area 157                  1100 E Spring St                                          Bluffton, IN 46714‐2814                                                                                               First Class Mail
Voting Party                   Blum United Methodist Church ‐ Blum                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                        erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Blum United Methodist Church ‐ Blum                         2043 E 5th St                           Blum, TX 76627                                                                                                                                                                  First Class Mail
Chartered Organization         Blythe Police Dept                                          California Inland Empire Council 045    240 N Spring St                                           Blythe, CA 92225‐1635                                                                                                 First Class Mail
Chartered Organization         Blythewood High Sch‐Sch Impr Council                        Indian Waters Council 553               10901 Wilson Blvd                                         Blythewood, SC 29016‐9241                                                                                             First Class Mail
Chartered Organization         B'Nai Jeshurun Congregation                                 Lake Erie Council 440                   27501 Fairmount Blvd                                      Pepper Pike, OH 44124‐4609                                                                                            First Class Mail
Chartered Organization         Bnai Shalom                                                 Northern New Jersey Council, Bsa 333    300 Pleasant Valley Way                                   West Orange, NJ 07052‐2917                                                                                            First Class Mail
Chartered Organization         Board Of Deacons‐Pennside Presbyterian                      Hawk Mountain Council 528               253 N 25th St                                             Reading, PA 19606‐2062                                                                                                First Class Mail
Chartered Organization         Board Of Police Commissioners                               Heart of America Council 307            1125 Locust St                                            Kansas City, MO 64106‐2623                                                                                            First Class Mail
Voting Party                   Board Of Trustees Of Rosemont Baptist Church Lexington Ky   c/o Kaplan Johnson Abate & Bird LLP     Attn: Tyler Yeager                                        710 W Main St, 4th Fl               Louisville, KY 40202                   peter@thetamposilawgroup.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Board Of Trustees Of Rosemont Baptist Church Lexington Ky   c/o Rosemont Baptist Church             556 Rosemont Garden                                       Lexington, KY 40503                                                                                                   First Class Mail
Chartered Organization         Boardman Rotary Club ‐ Harding                              Great Trail 433                         P.O. Box 3114                                             Youngstown, OH 44513‐3114                                                                                             First Class Mail
Chartered Organization         Boardman Rotary Club ‐ Mlk                                  Great Trail 433                         P.O. Box 3114                                             Youngstown, OH 44513‐3114                                                                                             First Class Mail
Chartered Organization         Boardman Rotary Club ‐ Taft                                 Great Trail 433                         P.O. Box 3114                                             Youngstown, OH 44513‐3114                                                                                             First Class Mail
Voting Party                   Boardman United Methodist Church                            Attn: Rev Jerry Krueger                 6809 Market St                                            Youngstown, OH 44512                                                       boardmanmethodist@sbcglobal.net            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Boathouse Marina                                            Heart of Virginia Council 602           829 Robin Grove Ln                                        Colonial Beach, VA 22443‐2728                                                                                         First Class Mail
Chartered Organization         Bobo'S Wash And Wax                                         Crater Lake Council 491                 4140 Williams Hwy                                         Grants Pass, OR 97527‐8795                                                                                            First Class Mail
Chartered Organization         Boca Raton Fire & Rescue Services                           Gulf Stream Council 085                 6500 Congress Ave, Ste 200                                Boca Raton, FL 33487‐2851                                                                                             First Class Mail
Chartered Organization         Boca Raton Police Dept                                      Gulf Stream Council 085                 100 NW 2nd Ave                                            Boca Raton, FL 33432‐3842                                                                                             First Class Mail
Chartered Organization         Boeing                                                      Greater St Louis Area Council 312       Mc 5100 3462                                              P.O. Box 516                        Saint Louis, MO 63166‐0516                                                        First Class Mail
Chartered Organization         Bogalusa Daily News                                         Istrouma Area Council 211               525 Ave V                                                 Bogalusa, LA 70427‐4413                                                                                               First Class Mail
Chartered Organization         Boger City Utd Methodist Church                             Piedmont Council 420                    2320 E Main St                                            Lincolnton, NC 28092‐4151                                                                                             First Class Mail
Chartered Organization         Boght Community Fire Co, Inc                                Twin Rivers Council 364                 8 Preston Dr                                              Cohoes, NY 12047‐4978                                                                                                 First Class Mail
Chartered Organization         Boiling Spgs Utd Methodist Men'S Club                       Indian Waters Council 553               2373 Calks Ferry Rd                                       Lexington, SC 29073‐8641                                                                                              First Class Mail
Chartered Organization         Boiling Springs Baptist Church                              Piedmont Council 420                    307 S Main St                                             Boiling Springs, NC 28017                                                                                             First Class Mail
Chartered Organization         Boiling Springs Baptist Church                              Piedmont Council 420                    P.O. Box 917                                              Boiling Springs, NC 28017‐0917                                                                                        First Class Mail
Chartered Organization         Boiling Springs Social Club                                 Palmetto Council 549                    506 Grouse Ln                                             Boiling Springs, SC 29316‐6108                                                                                        First Class Mail
Voting Party                   Boiling Springs United Methodist Church                     Attn: Kenneth W Prill                   2373 Calks Ferry Rd                                       Lexington, SC 29073                                                        revkenprill@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Boiling Springs United Methodist Church                     Attn: Rev Kenneth W Prill               540 Kitti Wake Dr                                         West Columbia, SC 29170                                                    revkenprill@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Boise Cascade                                               Inland Northwest Council 611            1274 S Boise Rd                                           Kettle Falls, WA 99141‐9792                                                                                           First Class Mail
Chartered Organization         Boise City News                                             Golden Spread Council 562               P.O. Box 278                                              Boise City, OK 73933‐0278                                                                                             First Class Mail
Chartered Organization         Bolder Supply                                               Denver Area Council 061                 7162 Eagle Shadow Ave                                     Brighton, CO 80602‐6000                                                                                               First Class Mail
Voting Party                   Boling United Methodist Church                              Attn: Kenny Carter                      607 Texas Ave                                             Boling, TX 77420                                                           kcarter55@comcast.net                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Boling United Methodist Church                              Attn: Pastor Kenny Carter               P.O. Box 272                                              Boling, TX 77420                                                           kcarter55@comcast.net                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Boling Utd Methodist Chruch                                 Sam Houston Area Council 576            607 Texas Ave                                             Boling, TX 77420                                                                                                      First Class Mail
Chartered Organization         Bolingbrook Dept Of Public Works                            Rainbow Council 702                     375 W Briarcliff Rd                                       Bolingbrook, IL 60440‐3825                                                                                            First Class Mail
Chartered Organization         Bolingbrook Police Dept                                     Rainbow Council 702                     375 W Briarcliff Rd                                       Bolingbrook, IL 60440‐3825                                                                                            First Class Mail
Chartered Organization         Bolivar City Fire Dept                                      Ozark Trails Council 306                211 W Walnut St                                           Bolivar, MO 65613‐1958                                                                                                First Class Mail
Chartered Organization         Bolivar Lions Club                                          Allegheny Highlands Council 382         P.O. Box 436                                              Bolivar, NY 14715‐0436                                                                                                First Class Mail
Voting Party                   Bolivar Umc                                                 Attn: Elva Cornell                      80 Friendship St                                          Bolivar, NY 14715                                                          elvacornell@yahoo.com                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Bolivar United Methodist Church                             Attn: Terry Wilso                       1027 Horse Run Rd                                         Little Genesee, NY 14754                                                   twilson15@stny.rr.com                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Bolivar United Methodist Church                             Attn: Dennis Mccartney                  256 Poplar St                                             P.O. Box 435                        Bolivar, OH 44612                      office@bolivarumc.org                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bolivar Utd Methodist Church                                Ozark Trails Council 306                105 E Div St                                              Bolivar, MO 65613‐1106                                                                                                First Class Mail
Chartered Organization         Bolivar Utd Methodist Church                                Buckeye Council 436                     220 Poplar St Nw                                          Bolivar, OH 44612                                                                                                     First Class Mail
Chartered Organization         Bolivar Utd Methodist Church                                West Tennessee Area Council 559         218 W Market St                                           Bolivar, TN 38008‐2602                                                                                                First Class Mail
Chartered Organization         Bolton Ecumenical Council Of Churches                       Connecticut Rivers Council, Bsa 066     228 Bolton Center Rd                                      Bolton, CT 06043‐7636                                                                                                 First Class Mail
Chartered Organization         Bolton‐The First Parish Of Bolton                           Heart of New England Council 230        673 Main St                                               Bolton, MA 01740‐1307                                                                                                 First Class Mail
Chartered Organization         Bon Air Center                                              Marin Council 035                       50 Bon Air Ctr, Ste 200                                   Greenbrae, CA 94904‐3031                                                                                              First Class Mail
Chartered Organization         Bon Air Presbyterian Church                                 Heart of Virginia Council 602           9201 W Huguenot Rd                                        North Chesterfield, VA 23235‐2307                                                                                     First Class Mail
Voting Party                   Bon Air UMC                                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                        erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bon Air Utd Methodist Church                                Heart of Virginia Council 602           1645 Buford Rd                                            North Chesterfield, VA 23235‐4274                                                                                     First Class Mail
Chartered Organization         Bon Secours Memorial Regional Med Ctr                       Heart of Virginia Council 602           8260 Atlee Rd                                             Mechanicsville, VA 23116‐1844                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 35 of 442
                                                                                     Case 20-10343-LSS                                                 Doc 8171                                        Filed 01/06/22                                              Page 51 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                           Name                                                                                                Address                                                                                                                         Email              Method of Service
Voting Party                   Bonaire United Methodist Church                               Attn: Jo Lynn Bass                               221 Church St                                            Bonaire, GA 31005                                                                 info@bonairechurch.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bonaire Utd Methodist Church                                  Central Georgia Council 096                      144 Elm St                                               Bonaire, GA 31005‐3453                                                                                             First Class Mail
Chartered Organization         Bonanza Ward ‐ Lds Rincon Stake                               Catalina Council 011                             1655 S Melpomeme Way                                     Tucson, AZ 85748                                                                                                   First Class Mail
Chartered Organization         Bond County Senior Center                                     Greater St Louis Area Council 312                1001 E Harris Ave                                        Greenville, IL 62246‐2219                                                                                          First Class Mail
Chartered Organization         Bond Hill Math & Science Discovery Pto                        Dan Beard Council, Bsa 438                       1510 California Ave                                      Cincinnati, OH 45237‐5621                                                                                          First Class Mail
Chartered Organization         Bond Hill Rec Center                                          Dan Beard Council, Bsa 438                       1501 Elizabeth Pl                                        Cincinnati, OH 45237‐5622                                                                                          First Class Mail
Chartered Organization         Bondurant American Legion                                     Mid Iowa Council 177                             200 5th St Se                                            Bondurant, IA 50035‐1001                                                                                           First Class Mail
Chartered Organization         Bonham Academy Parent Teacher Assoc                           Alamo Area Council 583                           925 S Saint Marys St                                     San Antonio, TX 78205‐3410                                                                                         First Class Mail
Chartered Organization         Bonham Elementary P T A                                       Texas Trails Council 561                         4250 Potomac Ave                                         Abilene, TX 79605‐2727                                                                                             First Class Mail
Firm                           Boni, Zack & Snyder LLC                                       Michael J. Boni                                  15 St. Asaphs Road                                       Bala Cynwyd, PA 19010                                                             mboni@bonizack.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Firm                           Bonina & Bonina PC                                            John Bonina, Esq                                 16 Court Street Ste 1800                                 Brooklyn, NY 11241                                                                Jbonina@medlaw1.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bonita Spgs Mid Ctr For The Arts                              Southwest Florida Council 088                    10141 W Terry St                                         Bonita Springs, FL 34135‐4734                                                                                      First Class Mail
Chartered Organization         Bonita Springs Ward Lds                                       Southwest Florida Council 088                    20601 Three Oaks Pkwy                                    Estero, FL 33928‐3083                                                                                              First Class Mail
Chartered Organization         Bonito Security                                               Northwest Georgia Council 100                    P.O. Box 1967                                            Marietta, GA 30061‐1967                                                                                            First Class Mail
Voting Party                   Bonners Ferry United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bonners Ferry Utd Methodist Men                               Inland Northwest Council 611                     1281 Ridgewood Rd                                        Moyie Springs, ID 83845‐6007                                                                                       First Class Mail
Chartered Organization         Bonnie Brae Elementary ‐ Gfwar                                Longhorn Council 662                             3504 Kimbo Rd                                            Fort Worth, TX 76111‐5249                                                                                          First Class Mail
Voting Party                   Bonnie H Bishop                                               Address Redacted                                                                                                                                                                                                             First Class Mail
Chartered Organization         Bonny Slope Community Organization                            Cascade Pacific Council 492                      11775 NW Mcdaniel Rd                                     Portland, OR 97229‐4031                                                                                            First Class Mail
Voting Party                   Bonsack UMC                                                   c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bonsack Utd Methodist Church                                  Blue Ridge Mtns Council 599                      4493 Bonsack Rd                                          Roanoke, VA 24012‐7009                                                                                             First Class Mail
Chartered Organization         Bookcliff Odd Fellow Lodge 45                                 Denver Area Council 061                          P.O. Box 866                                             Rifle, CO 81650‐0866                                                                                               First Class Mail
Chartered Organization         Booker T Washington Community Center                          Dan Beard Council, Bsa 438                       1140 S Front St                                          Hamilton, OH 45011‐3019                                                                                            First Class Mail
Chartered Organization         Booker T Washington Elementary                                Prairielands 117                                 606 E Grove St                                           Champaign, IL 61820‐3241                                                                                           First Class Mail
Chartered Organization         Booker T Washington School                                    Greater Alabama Council 001                      115 4th St                                               Birmingham, AL 35217‐1603                                                                                          First Class Mail
Voting Party                   Booker United Methodist Church                                c/o Field, Manning, Stone, Hawthor               Attn: Robert A. (Andy) Aycock                            2112 Indiana Ave                  Lubbock, TX 79410                               rmedearis@lubbocklawfirm.com     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Booker United Methodist Church                                Attn: Secretary/Treasurer And/Or Pastor          412 Eastern                                              Booker, TX 79005                                                                                                   First Class Mail
Chartered Organization         Booker Utd Methodist Church                                   Golden Spread Council 562                        P.O. Box 168                                             Booker, TX 79005‐0168                                                                                              First Class Mail
Chartered Organization         Bookman Road Elementary Pto                                   Indian Waters Council 553                        1245 Bookman Rd                                          Elgin, SC 29045‐8657                                                                                               First Class Mail
Chartered Organization         Bookwalter Utd Methodist Church                               Great Smoky Mountain Council 557                 4218 Central Ave Pike                                    Knoxville, TN 37912‐4307                                                                                           First Class Mail
Voting Party                   Bookwalterumc                                                 Attn: Charles P Gault                            6858 Reddege Rd                                          Knoxville, TN 37918                                                               cpgault@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Boone Co/Belvidere Pd Law Enforcement                         Blackhawk Area 660                               615 N Main St                                            Belvidere, IL 61008‐2650                                                                                           First Class Mail
Chartered Organization         Boone County Sheriff'S Dept                                   Great Rivers Council 653                         2121 E County Dr                                         Columbia, MO 65202‐9064                                                                                            First Class Mail
Chartered Organization         Boone County Veterans Club                                    Blackhawk Area 660                               2014 W Lincoln Ave                                       Belvidere, IL 61008                                                                                                First Class Mail
Chartered Organization         Boone Elementary Pto                                          Greater St Louis Area Council 312                1464 Boone St                                            Troy, MO 63379‐2216                                                                                                First Class Mail
Chartered Organization         Boone Grove Christian Church                                  Lasalle Council 165                              P.O. Box 92                                              Boone Grove, IN 46302‐0092                                                                                         First Class Mail
Chartered Organization         Boone High Criminal Justice Academy                           Central Florida Council 083                      1000 E Kaley St                                          Orlando, FL 32806‐3105                                                                                             First Class Mail
Voting Party                   Boone Hill United Methodist Church                            Attn: Rev. Sheldon Withrow                       801 Boone Hill Rd                                        Summerville, SC 29483                                                             bhumc.office@knology.net         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Boone Hill Utd Methodist Church                               Coastal Carolina Council 550                     810 Boone Hill Rd                                        Summerville, SC 29483                                                                                              First Class Mail
Chartered Organization         Boone School Pta                                              Heart of America Council 307                     8817 Wornall Rd                                          Kansas City, MO 64114‐2922                                                                                         First Class Mail
Voting Party                   Boone Umc                                                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Boone Utd Methodist Church                                    Old Hickory Council 427                          471 New Market Blvd                                      Boone, NC 28607‐5360                                                                                               First Class Mail
Chartered Organization         Boone Valley Izaak Walton League                              Mid Iowa Council 177                             P.O. Box 11                                              Webster City, IA 50595‐0011                                                                                        First Class Mail
Chartered Organization         Boonsboro Lions Club                                          Mason Dixon Council 221                          P.O. Box 21                                              Boonsboro, MD 21713‐0021                                                                                           First Class Mail
Voting Party                   Boonville                                                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Boonville Lions Club                                          Great Rivers Council 653                         P.O. Box 52                                              Boonville, MO 65233‐0052                                                                                           First Class Mail
Chartered Organization         Boonville Utd Methodist Church                                Old Hickory Council 427                          P.O. Box 178                                             Boonville, NC 27011‐0178                                                                                           First Class Mail
Chartered Organization         Boonville Utd Methodist Men                                   Old Hickory Council 427                          P.O. Box 178                                             Boonville, NC 27011‐0178                                                                                           First Class Mail
Chartered Organization         Boopa'S Bagel Deli                                            Longhorn Council 662                             6513 N Beach St                                          Fort Worth, TX 76137‐2627                                                                                          First Class Mail
Chartered Organization         Booth Hill School Pto                                         Housatonic Council, Bsa 069                      544 Booth Hill Rd                                        Shelton, CT 06484‐3426                                                                                             First Class Mail
Firm                           Booth Law                                                     Roger E. Booth                                   21250 Hawthorne Blvd, Ste 475                            Torrance, CA 90503                                                                rbooth@booth.law                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Booth's Corner Siloam 3720 Foulk Rd Garnet Valley, Pa 19060   c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Booth'S Corner Siloam 3720 Foulk Rd Garnet Valley, Pa 19060   3720 Foulk Rd                                    Garnet Valley, PA 19060                                                                                                                                                     First Class Mail
Chartered Organization         Boots Dickson Post 174 American Legion                        Great Rivers Council 653                         600 Short St                                             Palmyra, MO 63461‐1063                                                                                             First Class Mail
Chartered Organization         Bordentown Elks Lodge 2085                                    Garden State Council 690                         11 Amboy Rd                                              Bordentown, NJ 08505‐1901                                                                                          First Class Mail
Chartered Organization         Bordentown Lodge 2085 Bpoe                                    Garden State Council 690                         11 Amboy Rd                                              Bordentown, NJ 08505‐1901                                                                                          First Class Mail
Chartered Organization         Bordentown Township Police Dept                               Garden State Council 690                         1 Municipal Dr                                           Bordentown, NJ 08505‐2109                                                                                          First Class Mail
Voting Party                   Border County Sign Co                                         dba Ely Design Works                             766 E Madison St                                         Ely, MN 55731‐1609                                                                                                 First Class Mail
Chartered Organization         Border Patrol Imperial Beach                                  San Diego Imperial Council 049                   P.O. Box 68                                              Imperial Beach, CA 91933‐0068                                                                                      First Class Mail
Chartered Organization         Borger American Legion Post 671                               Golden Spread Council 562                        P.O. Box 1371                                            Borger, TX 79008‐1371                                                                                              First Class Mail
Chartered Organization         Borger Kiwanis Club                                           Golden Spread Council 562                        P.O. Box 775                                             Borger, TX 79008‐0775                                                                                              First Class Mail
Chartered Organization         Borough Of Coplay                                             Minsi Trails Council 502                         98 S 4th St                                              Coplay, PA 18037‐1304                                                                                              First Class Mail
Chartered Organization         Borough Of Emmaus Emergency Services                          Minsi Trails Council 502                         100 N 6th St                                             Emmaus, PA 18049‐2463                                                                                              First Class Mail
Voting Party                   Borowsky & Hayes Llp                                          Attn: Christopher J. Hayes                       101 Mission St                                           San Francisco, CA 94105                                                           christopher.hayes@borowsky.com   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Borowsky & Hayes Llp                                          Attn: Christopher J. Hayes                       101 Mission St ,Ste 1640                                 San Francisco, CA 94105                                                           christopher.hayes@borowsky.com   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Borowsky & Hayes Llp                                          Attn: Christopher J Hayes                        101 Mission St, Ste 1640                                 San Francisco, CA 94105                                                           christopher.hayes@borowsky.com   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Borowsky & Hayes Llp                                          Attn: Christopher J. Hayes                       101 Mission St, Ste 1640                                 San Francisco, CA 94105                                                           christopher.hayes@borowsky.com   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Borowsky & Hayes Llp                                          Christopher J. Hayes                             101 Mission St, Ste 1640                                 San Francisco, CA 94105                                                           christopher.hayes@borowsky.com   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Borowsky & Hayes Llp                                          c/o Borowsky & Hayes LLP                         Attn: Christopher Hayes                                  101 Mission St, Ste 1640          San Francisco, CA 94105                         christopher.hayes@borowsky.com   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Bosqueville United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Bossier City Asbury United Methodist Church                   Attn: Amy Simon                                  3200 Airline Dr                                          Bossier City, LA 71111                                                            amy@asburybossier.org            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bossier Parish Ems                                            Norwela Council 215                              5275 Swan Lake Rd                                        Bossier City, LA 71111‐6413                                                                                        First Class Mail
Chartered Organization         Boston Ave Methodist Church                                   Indian Nations Council 488                       1301 S Boston Ave                                        Tulsa, OK 74119‐3205                                                                                               First Class Mail
Voting Party                   Boston Ave United Methodist Church                            c/o Steve Soule & Angelyn Dale                   Attn: Hall Estill                                        320 S Boston Ave, Ste 200         Tulsa, OK 74103                                 ssoule@hallestill.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Boston Avenue United Methodist Church                         c/o Hall Estill                                  Attn: Steve Soule                                        320 S Boston Ave, Ste 200         Tulsa, OK 74103                                 ssoule@hallestill.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Boston Avenue United Methodist Church                         Attn: Angie Dale                                 1301 S Boston Ave                                        Tulsa, OK 74119                                                                   angelyndale@bostonavenue.org     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Boston Elementary School Pta                                  Lincoln Heritage Council 205                     669 Allen Rd                                             Boston, KY 40107‐8606                                                                                              First Class Mail
Chartered Organization         Boston Fire Co, Inc                                           Greater Niagara Frontier Council 380             P.O. Box 357                                             Boston, NY 14025‐0357                                                                                              First Class Mail
Chartered Organization         Boston Land Co                                                Narragansett 546                                 30 Highland St                                           Taunton, MA 02780‐4879                                                                                             First Class Mail
Chartered Organization         Bostwick Lake Congregational Church                           President Gerald R Ford 781                      7979 Belding Rd Ne                                       Rockford, MI 49341‐8412                                                                                            First Class Mail
Chartered Organization         Botannical Heights Neighborhood Assn                          Greater St Louis Area Council 312                3829 Lafayette Ave                                       Saint Louis, MO 63110‐2615                                                                                         First Class Mail
Voting Party                   Bothell United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bothell Utd Methodist Men                                     Chief Seattle Council 609                        18515 92nd Ave Ne                                        Bothell, WA 98011‐2206                                                                                             First Class Mail
Chartered Organization         Bothwell Regional Health Center                               Great Rivers Council 653                         1505 W 3rd St                                            Sedalia, MO 65301‐3604                                                                                             First Class Mail
Chartered Organization         Botsford Elementary School P.T.O.                             Great Lakes Fsc 272                              19515 Lathers St                                         Livonia, MI 48152‐2221                                                                                             First Class Mail
Voting Party                   Bouckville United Methodist Church                            St Rt 20                                         Bouckville, NY 13310                                                                                                                       Naustin256@aol.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Boughton Baptist Church                                       Caddo Area Council 584                           353 Nevada 35 S                                          Prescott, AR 71857                                                                                                 First Class Mail
Chartered Organization         Boulder City Police Dept                                      Las Vegas Area Council 328                       1005 Arizona St                                          Boulder City, NV 89005‐2606                                                                                        First Class Mail
Chartered Organization         Boulder County Sheriff'S Office                               Longs Peak Council 062                           5600 Flatiron Pkwy                                       Boulder, CO 80301‐2866                                                                                             First Class Mail
Chartered Organization         Boulder Housing And Human Services                            Longs Peak Council 062                           P.O. Box 471                                             Boulder, CO 80306‐0471                                                                                             First Class Mail
Chartered Organization         Boulder Junction Lions Club                                   Samoset Council, Bsa 627                         P.O. Box 61                                              Boulder Junction, WI 54512‐0061                                                                                    First Class Mail
Chartered Organization         Boule Medical                                                 Colonial Virginia Council 595                    100 Sentara Cir                                          Williamsburg, VA 23188‐5713                                                                                        First Class Mail
Chartered Organization         Boulevard Christian Church                                    Baltimore Area Council 220                       920 Essex Ave                                            Essex, MD 21221‐3429                                                                                               First Class Mail
Chartered Organization         Boulevard Kiwanis Club                                        Cascade Pacific Council 492                      1815 Bergeron Ct                                         Vancouver, WA 98661‐6501                                                                                           First Class Mail
Chartered Organization         Boulevard Lions Club                                          South Texas Council 577                          487 Live Oak Dr                                          Inez, TX 77968‐3637                                                                                                First Class Mail
Chartered Organization         Boulevard Presbyterian Church                                 Simon Kenton Council 441                         1235 Northwest Blvd                                      Columbus, OH 43212‐3562                                                                                            First Class Mail
Chartered Organization         Bound Brook Presbyterian Church                               Patriots Path Council 358                        409 Mountain Ave                                         Bound Brook, NJ 08805‐1737                                                                                         First Class Mail
Voting Party                   Bound Tree Medical                                            23537 Network Pl                                 Chicago, IL 60673‐1235                                                                                                                                                      First Class Mail
Chartered Organization         Bountiful Community Church Of Christ                          Great Salt Lake Council 590                      100 N 400 E                                              Bountiful, UT 84010                                                                                                First Class Mail
Chartered Organization         Bountiful Elks Lodge 2442                                     Great Salt Lake Council 590                      544 W 400 N                                              Bountiful, UT 84010‐6928                                                                                           First Class Mail
Voting Party                   Bountiful Umc Of Martinsville ‐ Martinsville                  c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bourbon Boosters                                              Greater St Louis Area Council 312                526 E Pine St                                            Bourbon, MO 65441‐8100                                                                                             First Class Mail
Chartered Organization         Bourbon Boosters Club                                         Greater St Louis Area Council 312                P.O. Box 432                                             Bourbon, MO 65441‐0432                                                                                             First Class Mail
Voting Party                   Bourland, Wall & Wenzel, P.C.                                 Attn: Darren B Moore                             301 Commerce, Ste 1500                                   Fort Worth, TX 76102                                                              dmoore@bwwlaw.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Bourne United Methodist Church                                Attn: Pastor Tim Atwater                         P.O. Box 3037                                            Bourne, MA 02532                                                                  timatwater@juno.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bow Community Mens Club                                       Daniel Webster Council, Bsa 330                  91 Bow Center Rd                                         Bow, NH 03304‐4203                                                                                                 First Class Mail
Chartered Organization         Bow Lake Community Club                                       Daniel Webster Council, Bsa 330                  P.O. Box 204                                             Strafford, NH 03884‐0204                                                                                           First Class Mail
Voting Party                   Bow Mills United Methodist Church                             Attn: Rev Virginia Fryer & Financial Secretary   505 South St                                             Bow, NH 03304                                                                     pastor@bowmillsumc.org           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bow Police Dept                                               Daniel Webster Council, Bsa 330                  12 Robinson Rd                                           Bow, NH 03304‐3601                                                                                                 First Class Mail
Chartered Organization         Bowdoinham Second Baptist Church                              Pine Tree Council 218                            P.O. Box 57                                              Bowdoinham, ME 04008‐0057                                                                                          First Class Mail
Chartered Organization         Bowen Elementary Pto                                          Sam Houston Area Council 576                     3870 Copperfield Dr                                      Bryan, TX 77802‐5857                                                                                               First Class Mail
Voting Party                   Bowen United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bowen‐Holland American Legion Post 141                        Norwela Council 215                              202 Spear Dr                                             Vivian, LA 71082                                                                                                   First Class Mail
Voting Party                   Bowen's Corners United Methodist Church                       Attn: Pastor and Treasurer                       758 St Rte 176                                           Fulton, NY 13069                                                                  iamsaved@twcny.rr.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bower Hill Community Church                                   Laurel Highlands Council 527                     70 Moffett St                                            Pittsburgh, PA 15243‐1110                                                                                          First Class Mail
Voting Party                   Bower Memorial United Methodist Church (182827)               c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228                            lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Firm                           Bowersox Law Firm, P.C                                        Jeffrey A. Bowersox                              3 Centerpointe Drive, Ste 190                            Lake Oswego, OR 97035                                                             jeffrey@bowersoxlaw.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bowfin Base Subvets                                           Aloha Council, Bsa 104                           1601 Frederick St                                        Honolulu, HI 96818                                                                                                 First Class Mail
Chartered Organization         Bowie Elementary Pta                                          Texas Trails Council 561                         1733 S 20th St                                           Abilene, TX 79602‐4620                                                                                             First Class Mail
Voting Party                   Bowie United Methodist Church                                 Attn: Janet Reed                                 13009 6th St                                             Bowie, MD 20720                                                                   BowieUMC@gmail.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bowles School Pto                                             Greater St Louis Area Council 312                501 Bowles Ave                                           Fenton, MO 63026‐3820                                                                                              First Class Mail
Chartered Organization         Bowling Green Alliance Church                                 Erie Shores Council 460                          1161 Napoleon Rd                                         Bowling Green, OH 43402‐4835                                                                                       First Class Mail
Chartered Organization         Bowling Green First Presbyterian Church                       Great Rivers Council 653                         205 W Centennial Ave                                     Bowling Green, MO 63334‐1515                                                                                       First Class Mail
Chartered Organization         Bowling Green Lds Church                                      Erie Shores Council 460                          1033 Conneaut Ave                                        Bowling Green, OH 43402                                                                                            First Class Mail
Chartered Organization         Bowling Green Methodist Church                                Greater Tampa Bay Area 089                       4910 Church Ave                                          Bowling Green, FL 33834‐2889                                                                                       First Class Mail
Voting Party                   Bowman Chapel Umc                                             Attn: Scott Benton                               405 W Prairie St                                         Guthrie Center, IA 50115                                                          guthriecenter‐umc@iaumc.net      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bowman Lions Club                                             Attn: Douglas Langhoff                           406 2nd Ave Se                                           Bowman, ND 58623‐4060                                                                                              First Class Mail
Voting Party                   Bowman Memorial Umc                                           701 High St                                      Hazard, KY 41701                                                                                                                           glenncox4@aol.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Bowman Umc                                                    Attn: Rev Ray Sherwood                           P.O. Box 122                                             408 2nd St Sw                     Bowman, ND 58623                                bumc@ndsupernet.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Bowmansville Volunteer Fire Assoc                             Greater Niagara Frontier Council 380             P.O. Box 137                                             Bowmansville, NY 14026‐0137                                                                                        First Class Mail
Chartered Organization         Box Elder Volunteer Fire Dept                                 Black Hills Area Council 695 695                 120 Box Elder Rd                                         Box Elder, SD 57719‐9579                                                                                           First Class Mail
Chartered Organization         Boxborough‐District Minutemen, Inc                            Heart of New England Council 230                 648 Stow Rd                                              Boxborough, MA 01719‐2102                                                                                          First Class Mail
Chartered Organization         Boxford Fire Dept                                             The Spirit of Adventure 227                      6 Middleton Rd                                           Boxford, MA 01921‐2316                                                                                             First Class Mail
Chartered Organization         Boxford Firefighters Relief Assoc Vol                         The Spirit of Adventure 227                      P.O. Box 178                                             West Boxford, MA 01885‐0178                                                                                        First Class Mail
Chartered Organization         Boxford Parent Teachers Organization                          The Spirit of Adventure 227                      33 Spofford Rd                                           Boxford, MA 01921                                                                                                  First Class Mail
Chartered Organization         Boy & Girls Club After                                        School Enrichment Program                        1800 S Grand Ave E                                       Springfield, IL 62703‐2733                                                                                         First Class Mail
Chartered Organization         Boy Scout Units 448, Inc                                      Central N Carolina Council 416                   900 S Main St                                            Salisbury, NC 28144‐6445                                                                                           First Class Mail
Voting Party                   Boy Scouts Of America                                         Jeffrey N Hunt                                   659 Sheldon Dr                                           Trophy Club, TX 76262‐1807                                                        reneemhunt@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Boy Scouts Of America                                         Attn: Kollon Merchak                             415 Merchak Cir N                                        Hudson, WI 54016                                                                  leahmerchak@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Boy Scouts Of America, Northern New Jersey Council            c/o Mccarter & English LLP                       Attn: Jeffrey T Testa, Esq                               100 Mulberry St                   Four Gateway Center          Newark, NJ 07102   fbarbosa@mccarter.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Boy Scouts Of America, Northern New Jersey Council            c/o Mccarter & English LLP                       Attn: Jeffrey T. Testa Esq                               100 Mulberry St                   4 Gateway Ctr                Newark, NJ 07102   fbarbosa@mccarter.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Boy Scouts Parents Club                                       Northern New Jersey Council, Bsa 333             724 5th St                                               Carlstadt, NJ 07072‐1724                                                                                           First Class Mail
Voting Party                   Boyce UMC                                                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Boyce United Methodist Church                                 Attn: Treasurer, Boyce Umc                       P.O. Box 233                                             Boyce, VA 22620                                                                   harryneidig@vaumc.org            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Boyceville Fire Dept                                          Chippewa Valley Council 637                      512 Center St                                            Boyceville, WI 54725‐7529                                                                                          First Class Mail
Voting Party                   Boyd's Grove United Methodist Church                          Attn: Rev Janice Ringenberg                      1976 Wyanet Walnut Rd                                    P.O. Box 159                      Bradford, IL 61421                              jrings94@gmail.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Boyertown Lions Community Ambulance                           Hawk Mountain Council 528                        2 E 2nd St                                               Boyertown, PA 19512‐1541                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 36 of 442
                                                                                 Case 20-10343-LSS                                          Doc 8171                                 Filed 01/06/22                                       Page 52 of 457
                                                                                                                                                                  Exhibit B
                                                                                                                                                                   Service List
                                                                                                                                                            Served as set forth below

        Description                                                       Name                                                                                  Address                                                                                                    Email              Method of Service
Chartered Organization         Boyette Springs Elementary School Pta                    Greater Tampa Bay Area 089              10141 Sedgebrook Dr                                  Riverview, FL 33569‐5777                                                                      First Class Mail
Chartered Organization         Boyle Road Elementary School Pta                         Suffolk County Council Inc 404          242 Boyle Rd                                         Port Jefferson Station, NY 11776                                                              First Class Mail
Chartered Organization         Boylston ‐ 1St Congregational Church                     Heart of New England Council 230        10 Church St                                         Boylston, MA 01505‐1321                                                                       First Class Mail
Chartered Organization         Boyne City Rotary                                        President Gerald R Ford 781             P.O. Box 219                                         Boyne City, MI 49712‐0219                                                                     First Class Mail
Chartered Organization         Boyne Valley Lions Club                                  President Gerald R Ford 781             P.O. Box 451                                         Boyne City, MI 49712‐0451                                                                     First Class Mail
Chartered Organization         Boynton Beach Fire Rescue Dept                           Gulf Stream Council 085                 2180 High Ridge Rd                                   Boynton Beach, FL 33435                                                                       First Class Mail
Voting Party                   Boynton Chapel United Methodist Church                   Attn: Pastor Linda Davis                2812 Milby St                                        Houston, TX 77004                                              davisld222@gmail.com           Email
                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Boynton Umc ‐ Ringgold                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                   100 N Tampa St, Ste 2200           Tampa, FL 33602             Erice@bradley.com              Email
                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Boynton Umc ‐ Ringgold                                   4246 Boynton Dr                         Ringgold, GA 30736                                                                                                                                 First Class Mail
Chartered Organization         Boynton‐Webber American Legion Post 179                  Pine Tree Council 218                   P.O. Box 401                                         South China, ME 04358‐0401                                                                    First Class Mail
Chartered Organization         Boys & Girls Club                                        Inland Northwest Council 611            200 W Mullan Ave                                     Post Falls, ID 83854‐7255                                                                     First Class Mail
Chartered Organization         Boys & Girls Club ‐ Hidden Valley                        Nevada Area Council 329                 2115 Alphabet Dr                                     Reno, NV 89502‐9525                                                                           First Class Mail
Chartered Organization         Boys & Girls Club ‐ Johnson Beacon                       Denver Area Council 061                 1850 S Irving St                                     Denver, CO 80219‐4656                                                                         First Class Mail
Chartered Organization         Boys & Girls Club ‐ Lois Allen                           Nevada Area Council 329                 5155 Mcguffey Rd                                     Sun Valley, NV 89433‐8125                                                                     First Class Mail
Chartered Organization         Boys & Girls Club 9Th Street Torch Club                  Nevada Area Council 329                 2680 E 9th St                                        Reno, NV 89512‐3231                                                                           First Class Mail
Chartered Organization         Boys & Girls Club At School 29                           Seneca Waterways 397                    88 Kirkland Rd                                       Rochester, NY 14611‐3137                                                                      First Class Mail
Chartered Organization         Boys & Girls Club Central Mn Sside                       Central Minnesota 296                   1205 6th Ave S                                       Saint Cloud, MN 56301‐5582                                                                    First Class Mail
Chartered Organization         Boys & Girls Club Chippewa Falls Center                  Chippewa Valley Council 637             21 E Grand Ave                                       Chippewa Falls, WI 54729‐2560                                                                 First Class Mail
Chartered Organization         Boys & Girls Club Cr Olivet Mission                      Hawkeye Area Council 172                420 6th St SE, Ste 240                               Cedar Rapids, IA 52401‐1906                                                                   First Class Mail
Chartered Organization         Boys & Girls Club Duquesne/ West Mifflin                 Laurel Highlands Council 527            29 N 3rd St 31                                       Duquesne, PA 15110‐1047                                                                       First Class Mail
Chartered Organization         Boys & Girls Club East                                   Central N Carolina Council 416          6010 W Marshville Blvd                               Marshville, NC 28103‐1222                                                                     First Class Mail
Chartered Organization         Boys & Girls Club Fire Tower                             East Carolina Council 426               621 W Fire Tower Rd                                  Winterville, NC 28590‐9232                                                                    First Class Mail
Chartered Organization         Boys & Girls Club Gadsden Etowah Cnty                    Greater Alabama Council 001             P.O. Box 2601                                        Gadsden, AL 35903‐0601                                                                        First Class Mail
Chartered Organization         Boys & Girls Club Greater High Point                     Old N State Council 070                 801 Sunset Ave                                       Asheboro, NC 27203                                                                            First Class Mail
Chartered Organization         Boys & Girls Club Greene County                          East Carolina Council 426               614 Middle School Rd                                 Snow Hill, NC 28580‐7688                                                                      First Class Mail
Chartered Organization         Boys & Girls Club Hawthorne Unit                         Heart of America Council 307            16995 E Dover Ln                                     Independence, MO 64056‐1591                                                                   First Class Mail
Chartered Organization         Boys & Girls Club Hernando Cnty, Inc                     Greater Tampa Bay Area 089              5425 Commercial Way                                  Spring Hill, FL 34606‐1110                                                                    First Class Mail
Chartered Organization         Boys & Girls Club Luis Munoz Martin Sch                  Lake Erie Council 440                   1701 Castle Ave                                      Cleveland, OH 44113‐5262                                                                      First Class Mail
Chartered Organization         Boys & Girls Club Metrowest                              Cellucci Clubhouse                      21 Church St                                         Hudson, MA 01749‐2105                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Monroe Middle School                   Central N Carolina Council 416          601 E Sunset Dr                                      Monroe, NC 28112‐5864                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Muskegon Lakeshore                     President Gerald R Ford 781             P.O. Box 1018                                        Muskegon, MI 49443‐1018                                                                       First Class Mail
Chartered Organization         Boys & Girls Club New Castle                             Del Mar Va 081                          19 Lambson Ln                                        New Castle, DE 19720‐2118                                                                     First Class Mail
Chartered Organization         Boys & Girls Club Of Albany‐Arbor Hill                   Twin Rivers Council 364                 21 Delaware Ave                                      Albany, NY 12210‐1601                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Of Albany‐Ash                          Twin Rivers Council 364                 21 Delaware Ave                                      Albany, NY 12210‐1601                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Of Albany‐Delaware Cs                  Twin Rivers Council 364                 21 Delaware Ave                                      Albany, NY 12210‐1601                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Of Albany‐Eagle Point                  Twin Rivers Council 364                 21 Delaware Ave                                      Albany, NY 12210‐1601                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Of Albany‐Giffen                       Twin Rivers Council 364                 21 Delaware Ave                                      Albany, NY 12210‐1601                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Of Albany‐Nses                         Twin Rivers Council 364                 21 Delaware Ave                                      Albany, NY 12210‐1601                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Of Albany‐Pine Hills                   Twin Rivers Council 364                 21 Delaware Ave                                      Albany, NY 12210‐1601                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Of Albany‐Schuyler                     Twin Rivers Council 364                 21 Delaware Ave                                      Albany, NY 12210‐1601                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Of Albany‐Sheridan                     Twin Rivers Council 364                 21 Delaware Ave                                      Albany, NY 12210‐1601                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Of Albany‐T.O.A.S.T.                   Twin Rivers Council 364                 21 Delaware Ave                                      Albany, NY 12210‐1601                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Of Athens                              Northeast Georgia Council 101           440‐4 Dering Ext.                                    Athens, GA 30606                                                                              First Class Mail
Chartered Organization         Boys & Girls Club Of Bend                                Crater Lake Council 491                 500 NW Wall St                                       Bend, OR 97703‐2608                                                                           First Class Mail
Chartered Organization         Boys & Girls Club Of Bloomington                         Hoosier Trails Council 145 145          P.O. Box 1716                                        Bloomington, IN 47402‐1716                                                                    First Class Mail
Chartered Organization         Boys & Girls Club Of Central Alabama                     Greater Alabama Council 001             2380 Old Springville Rd                              Birmingham, AL 35215‐4048                                                                     First Class Mail
Chartered Organization         Boys & Girls Club Of Cleveland County                    Piedmont Council 420                    P.O. Box 2001                                        Shelby, NC 28151‐2001                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Of Fauquier County                     National Capital Area Council 082       169 Keith St                                         Warrenton, VA 20186‐3231                                                                      First Class Mail
Chartered Organization         Boys & Girls Club Of Fort Mill                           Palmetto Council 549                    410 Black Hwy                                        York, SC 29745                                                                                First Class Mail
Chartered Organization         Boys & Girls Club Of Gaffney                             Palmetto Council 549                    201 Pecan St                                         Gaffney, SC 29340‐3306                                                                        First Class Mail
Chartered Organization         Boys & Girls Club Of Greater Dubuque                     Northeast Iowa Council 178              1299 Locust St                                       Dubuque, IA 52001‐4709                                                                        First Class Mail
Chartered Organization         Boys & Girls Club Of Hamilton, Inc                       Dan Beard Council, Bsa 438              958 East Ave                                         Hamilton, OH 45011‐3809                                                                       First Class Mail
Chartered Organization         Boys & Girls Club Of Harlem ‐ Sr                         Greater New York Councils, Bsa 640      521 W 145th St                                       New York, NY 10031‐5101                                                                       First Class Mail
Chartered Organization         Boys & Girls Club Of Lanier                              Northeast Georgia Council 101           2094 Memorial Park Dr                                Gainesville, GA 30504‐5802                                                                    First Class Mail
Chartered Organization         Boys & Girls Club Of Lenoir County                       East Carolina Council 426               2600 Rouse Rd                                        Kinston, NC 28504‐8034                                                                        First Class Mail
Chartered Organization         Boys & Girls Club Of Marshfield, Inc                     Mayflower Council 251                   37 Proprietors Dr                                    Marshfield, MA 02050‐2172                                                                     First Class Mail
Chartered Organization         Boys & Girls Club Of Menomonie                           Chippewa Valley Council 637             615 24th Ave W                                       Menomonie, WI 54751‐3828                                                                      First Class Mail
Chartered Organization         Boys & Girls Club Of Morris County, Inc                  Patriots Path Council 358               19 Oak Ave                                           Pequannock, NJ 07440‐1307                                                                     First Class Mail
Chartered Organization         Boys & Girls Club Of North Slo County                    Los Padres Council 053                  901 N Railroad Ave                                   Santa Maria, CA 93458‐3072                                                                    First Class Mail
Chartered Organization         Boys & Girls Club Of Pitt County                         East Carolina Council 426               475 Belvoir Hwy                                      Greenville, NC 27834‐8946                                                                     First Class Mail
Chartered Organization         Boys & Girls Club Of Poughkeepsie                        Hudson Valley Council 374               221 Smith St                                         Poughkeepsie, NY 12601‐2110                                                                   First Class Mail
Chartered Organization         Boys & Girls Club Of San Antonio‐Barkley                 Ruiz                                    829 Nogalitos St                                     San Antonio, TX 78204‐1839                                                                    First Class Mail
Chartered Organization         Boys & Girls Club Of The Piedmont                        Piedmont Council 420                    1001 Cochran St                                      Statesville, NC 28677‐5671                                                                    First Class Mail
Chartered Organization         Boys & Girls Club Of The Redwoods                        Crater Lake Council 491                 3117 Prospect Ave                                    Eureka, CA 95503‐5035                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Of The Rogue Valley                    Crater Lake Council 491                 203 SE 9th St                                        Grants Pass, OR 97526‐3022                                                                    First Class Mail
Chartered Organization         Boys & Girls Club Of The Smoky Mountains                 Great Smoky Mountain Council 557        P.O. Box 5743                                        Sevierville, TN 37864‐5743                                                                    First Class Mail
Chartered Organization         Boys & Girls Club Of The Upstate                         Palmetto Council 549                    201 Pecan St                                         Gaffney, SC 29340‐3306                                                                        First Class Mail
Chartered Organization         Boys & Girls Club Of Washington                          621 W Fire Tower Rd                     Winterville, NC 28590                                                                                                                              First Class Mail
Chartered Organization         Boys & Girls Club Of Wayne County                        Tuscarora Council 424                   P.O. Box 774                                         Goldsboro, NC 27533‐0774                                                                      First Class Mail
Chartered Organization         Boys & Girls Club Oklahoma Cnty, Inc                     Last Frontier Council 480               1150 NW 36th St                                      Oklahoma City, OK 73118‐5602                                                                  First Class Mail
Chartered Organization         Boys & Girls Club Paulding County                        Atlanta Area Council 092                335 Academy Dr A                                     Dallas, GA 30132‐4904                                                                         First Class Mail
Chartered Organization         Boys & Girls Club San Antonio                            Jt Barckenridge                         829 Nogalitos St                                     San Antonio, TX 78204‐1839                                                                    First Class Mail
Chartered Organization         Boys & Girls Club San Antonio                            Kate Schenck                            829 Nogalitos St                                     San Antonio, TX 78204‐1839                                                                    First Class Mail
Chartered Organization         Boys & Girls Club San Antonio                            Mission Academy                         600 SW 19th St                                       San Antonio, TX 78207‐4610                                                                    First Class Mail
Chartered Organization         Boys & Girls Club Sutton Hooker Unit                     Cherokee Area Council 556               280 Campbell Rd                                      Benton, TN 37307‐3806                                                                         First Class Mail
Chartered Organization         Boys & Girls Club Tucker Unit                            Cherokee Area Council 556               385 3rd St Sw                                        Cleveland, TN 37311‐5977                                                                      First Class Mail
Chartered Organization         Boys & Girls Club W Chester Liberty                      Dan Beard Council, Bsa 438              8749 Cincinnati Dayton Rd                            West Chester, OH 45069‐3136                                                                   First Class Mail
Chartered Organization         Boys & Girls Club, Greater Chippewa Vly                  Chippewa Valley Council 637             1005 Oxford Ave                                      Eau Claire, WI 54703‐5347                                                                     First Class Mail
Chartered Organization         Boys & Girls Club, Midlands                              Council Bluffs                          815 N 16th St                                        Council Bluffs, IA 51501‐0126                                                                 First Class Mail
Chartered Organization         Boys & Girls Club, Midlands‐Carter Lake                  Mid‐America Council 326                 815 N 16th St                                        Council Bluffs, IA 51501‐0126                                                                 First Class Mail
Chartered Organization         Boy'S & Girls Club, Wisconsin Rapid Area                 Samoset Council, Bsa 627                501 17th St S                                        Wisconsin Rapids, WI 54494‐5100                                                               First Class Mail
Chartered Organization         Boys & Girls Club, Wisconsin Rapids Area                 Samoset Council, Bsa 627                501 17th St S                                        Wisconsin Rapids, WI 54494‐5100                                                               First Class Mail
Chartered Organization         Boys & Girls Club‐Eside Learning Ctr                     Sioux Council 733                       700 S Sneve Ave                                      Sioux Falls, SD 57103‐2544                                                                    First Class Mail
Chartered Organization         Boys & Girls Club‐Highland                               Winnebago Council, Bsa 173              515 Lime St                                          Waterloo, IA 50703‐3804                                                                       First Class Mail
Chartered Organization         Boys & Girls Clubs                                       Buffalo Butler Mitchell                 370 Massachusetts Ave                                Buffalo, NY 14213‐2227                                                                        First Class Mail
Chartered Organization         Boys & Girls Clubs Greater Kansas City                   Heart of America Council 307            3831 E 43rd St                                       Kansas City, MO 64130‐2101                                                                    First Class Mail
Chartered Organization         Boys & Girls Clubs Greater Washington                    National Capital Area Council 082       4103 Benning Rd Ne                                   Washington, DC 20019‐3423                                                                     First Class Mail
Chartered Organization         Boys & Girls Clubs Of Central Minnesota                  Central Minnesota 296                   320 Raymond Ave Ne                                   Saint Cloud, MN 56304‐0340                                                                    First Class Mail
Chartered Organization         Boys & Girls Clubs Of Cleveland                          Lake Erie Council 440                   3340 Trowbridge Ave                                  Cleveland, OH 44109‐2049                                                                      First Class Mail
Chartered Organization         Boys & Girls Clubs Of Metro Atlanta                      Northeast Georgia Council 101           P.O. Box 1150                                        Monroe, GA 30655‐1150                                                                         First Class Mail
Chartered Organization         Boys & Girls Clubs Of Santa Cruz County                  Silicon Valley Monterey Bay 055         543 Center St                                        Santa Cruz, CA 95060‐4337                                                                     First Class Mail
Chartered Organization         Boys & Girls Clubs Of St Charles                         Greater St Louis Area Council 312       1211 Lindenwood Ave                                  Saint Charles, MO 63301‐0805                                                                  First Class Mail
Chartered Organization         Boys & Girls Clubs Of Tampa Bay, Inc                     Greater Tampa Bay Area 089              1307 N Macdill Ave                                   Tampa, FL 33607‐5155                                                                          First Class Mail
Chartered Organization         Boys & Girls Clubs Of The Glbr                           Kids Campus                             1781 Fordney St                                      Saginaw, MI 48601‐2807                                                                        First Class Mail
Chartered Organization         Boys & Girls Clubs San Antonio                           Collin Gardens                          829 Nogalitos St                                     San Antonio, TX 78204‐1839                                                                    First Class Mail
Chartered Organization         Boys & Girls Clubs Spgfield Sertoma                      Ozark Trails Council 306                2524 S Golden Ave                                    Springfield, MO 65807‐3207                                                                    First Class Mail
Chartered Organization         Boys & Girls Clubs St Charles Cnty                       Greater St Louis Area Council 312       1211 Lindenwood Ave                                  Saint Charles, MO 63301‐0805                                                                  First Class Mail
Chartered Organization         Boys & Girls Clubs Stanislaus Cnty                       P.O. Box 3349                           Modesto, CA 95353                                                                                                                                  First Class Mail
Chartered Organization         Boys & Girls Clubs Stoneham & Wakefield                  The Spirit of Adventure 227             15 Dale Ct                                           Stoneham, MA 02180‐1813                                                                       First Class Mail
Chartered Organization         Boys & Girls Clubs, Mississippi Vly                      Illowa Council 133                      406 7th St                                           Moline, IL 61265‐1179                                                                         First Class Mail
Chartered Organization         Boys & Girls Clubs, Virginia Peninsula                   Colonial Virginia Council 595           7066 Hayes Shopping Ctr                              Hayes, VA 23072‐3329                                                                          First Class Mail
Chartered Organization         Boys & Girls Clubs‐Diehl Club                            Great Lakes Fsc 272                     4242 Collingwood St                                  Detroit, MI 48204‐1614                                                                        First Class Mail
Chartered Organization         Boys And Girls Club                                      Lincoln St Unit                         P.O. Box 1716                                        Bloomington, IN 47402‐1716                                                                    First Class Mail
Chartered Organization         Boys And Girls Club                                      Hawkeye Area Council 172                P.O. Box 8866                                        Cedar Rapids, IA 52408‐8866                                                                   First Class Mail
Chartered Organization         Boys And Girls Club                                      Middle Tennessee Council 560            915 38th Ave N                                       Nashville, TN 37209‐2532                                                                      First Class Mail
Chartered Organization         Boys And Girls Club                                      Northeastern Pennsylvania Council 501   609 Ash St                                           Scranton, PA 18510‐1047                                                                       First Class Mail
Chartered Organization         Boys And Girls Club ‐ 14Th St                            Sioux Council 733                       700 S Sneve Ave                                      Sioux Falls, SD 57103‐2544                                                                    First Class Mail
Chartered Organization         Boys And Girls Club ‐ Assam                              Sioux Council 733                       700 S Sneve Ave                                      Sioux Falls, SD 57103‐2544                                                                    First Class Mail
Chartered Organization         Boys And Girls Club ‐ Bennis                             Sioux Council 733                       700 S Sneve Ave                                      Sioux Falls, SD 57103‐2544                                                                    First Class Mail
Chartered Organization         Boys And Girls Club ‐ Brandon                            Sioux Council 733                       700 S Sneve Ave                                      Sioux Falls, SD 57103‐2544                                                                    First Class Mail
Chartered Organization         Boys And Girls Club ‐ Ellettsville Unit                  Hoosier Trails Council 145 145          P.O. Box 1716                                        Bloomington, IN 47402‐1716                                                                    First Class Mail
Chartered Organization         Boys And Girls Club ‐ Explorer                           Sioux Council 733                       700 S Sneve Ave                                      Sioux Falls, SD 57103‐2544                                                                    First Class Mail
Chartered Organization         Boys And Girls Club ‐ Journey                            Sioux Council 733                       700 S Sneve Ave                                      Sioux Falls, SD 57103‐2544                                                                    First Class Mail
Chartered Organization         Boys And Girls Club ‐ Musgrave Unit                      Ozark Trails Council 306                1410 N Fremont Ave                                   Springfield, MO 65802‐2007                                                                    First Class Mail
Chartered Organization         Boys And Girls Club ‐ Rollan Melton                      Nevada Area Council 329                 6575 Archimedes Ln                                   Reno, NV 89523‐6211                                                                           First Class Mail
Chartered Organization         Boys And Girls Club ‐ Stalnaker Unit                     Ozark Trails Council 306                1410 N Fremont Ave                                   Springfield, MO 65802‐2007                                                                    First Class Mail
Chartered Organization         Boys And Girls Club 57Th Street                          Sioux Council 733                       700 S Sneve Ave                                      Sioux Falls, SD 57103‐2544                                                                    First Class Mail
Chartered Organization         Boys And Girls Club Carl D Thomas                        Central Georgia Council 096             P.O. Box 4431                                        Macon, GA 31208‐4431                                                                          First Class Mail
Chartered Organization         Boys And Girls Club Evansville, Inc                      Buffalo Trace 156                       P.O. Box 4194                                        Evansville, IN 47724‐0194                                                                     First Class Mail
Chartered Organization         Boys And Girls Club Greater Cincinnati                   (Findlay St)                            901 Findlay St                                       Cincinnati, OH 45214‐2135                                                                     First Class Mail
Chartered Organization         Boys And Girls Club J & D Wagner                         Heart of America Council 307            2405 Elmwood Ave                                     Kansas City, MO 64127‐4536                                                                    First Class Mail
Chartered Organization         Boys And Girls Club Jarvis                               East Carolina Council 426               510 S Washington St                                  Greenville, NC 27858‐2301                                                                     First Class Mail
Chartered Organization         Boys And Girls Club Joliet                               Rainbow Council 702                     226 E Clinton St                                     Joliet, IL 60432‐2855                                                                         First Class Mail
Chartered Organization         Boys And Girls Club King Danforth                        Central Georgia Council 096             P.O. Box 4431                                        Macon, GA 31208‐4431                                                                          First Class Mail
Chartered Organization         Boys And Girls Club Leslie Unit                          Heart of America Council 307            315 S Leslie St                                      Independence, MO 64050‐4030                                                                   First Class Mail
Chartered Organization         Boys And Girls Club Murphy Tindall                       Central Georgia Council 096             P.O. Box 4431                                        Macon, GA 31208‐4431                                                                          First Class Mail
Chartered Organization         Boys And Girls Club North East Ohio                      Lake Erie Council 440                   6114 Broadway Ave                                    Cleveland, OH 44127‐1740                                                                      First Class Mail
Chartered Organization         Boys And Girls Club Of Abilene                           Texas Trails Council 561                1219 E South 11th St                                 Abilene, TX 79602‐4283                                                                        First Class Mail
Chartered Organization         Boys And Girls Club Of Ada                               Arbuckle Area Council 468               915 S Hickory St                                     Ada, OK 74820‐8000                                                                            First Class Mail
Chartered Organization         Boys And Girls Club Of Allentown                         Minsi Trails Council 502                720 N 6th St                                         Allentown, PA 18102‐1608                                                                      First Class Mail
Chartered Organization         Boys And Girls Club Of Amarillo                          Golden Spread Council 562               1923 S Lincoln St                                    Amarillo, TX 79109‐2745                                                                       First Class Mail
Chartered Organization         Boys And Girls Club Of Atchison                          Pony Express Council 311                1215 Ash St                                          Atchison, KS 66002‐1182                                                                       First Class Mail
Chartered Organization         Boys And Girls Club Of Barren Glasgow                    Lincoln Heritage Council 205            100 Cheatham St                                      Glasgow, KY 42141‐2210                                                                        First Class Mail
Chartered Organization         Boys And Girls Club Of Bartlesville                      Cherokee Area Council 469 469           401 S Seminole Ave                                   Bartlesville, OK 74003‐3334                                                                   First Class Mail
Chartered Organization         Boys And Girls Club Of Bethalto                          Greater St Louis Area Council 312       324 E Central St                                     Bethalto, IL 62010‐1303                                                                       First Class Mail
Chartered Organization         Boys And Girls Club Of Black Hawk County                 Winnebago Council, Bsa 173              515 Lime St                                          Waterloo, IA 50703‐3804                                                                       First Class Mail
Chartered Organization         Boys And Girls Club Of Boone County                      Crossroads of America 160               1575 Mulberry St                                     Zionsville, IN 46077‐1146                                                                     First Class Mail
Chartered Organization         Boys And Girls Club Of Brown County                      Texas Trails Council 561                1701 Ave L                                           Brownwood, TX 76801‐4836                                                                      First Class Mail
Chartered Organization         Boys And Girls Club Of Cape Girardeau                    Greater St Louis Area Council 312       1913 Whitener St                                     Cape Girardeau, MO 63701‐5114                                                                 First Class Mail
Chartered Organization         Boys And Girls Club Of Central Fl                        Central Florida Council 083             1824 Temple Ter                                      Melbourne, FL 32935‐2066                                                                      First Class Mail
Chartered Organization         Boys And Girls Club Of Cheyenne                          Longs Peak Council 062                  515 W Jefferson Rd                                   Cheyenne, WY 82007‐2378                                                                       First Class Mail
Chartered Organization         Boys And Girls Club Of Cocoa                             Central Florida Council 083             814 Dixon Blvd                                       Cocoa, FL 32922‐6805                                                                          First Class Mail
Chartered Organization         Boys And Girls Club Of Eden                              Old N State Council 070                 1026 Harris St                                       Eden, NC 27288‐6303                                                                           First Class Mail
Chartered Organization         Boys And Girls Club Of Greater Kingsport                 Sequoyah Council 713                    1 Positive Pl                                        Kingsport, TN 37660                                                                           First Class Mail
Chartered Organization         Boys And Girls Club Of Hernando County                   Greater Tampa Bay Area 089              5425 Commercial Way                                  Spring Hill, FL 34606‐1110                                                                    First Class Mail
Chartered Organization         Boys And Girls Club Of Jackson County                    Northeast Georgia Council 101           P.O. Box 1314                                        Commerce, GA 30529‐0025                                                                       First Class Mail
Chartered Organization         Boys And Girls Club Of Kenosha                           Three Harbors Council 636               1330 52nd St                                         Kenosha, WI 53140‐3236                                                                        First Class Mail
Chartered Organization         Boys And Girls Club Of Long Beach                        Long Beach Area Council 032             3635 Long Beach Blvd                                 Long Beach, CA 90807‐4018                                                                     First Class Mail
Chartered Organization         Boys And Girls Club Of Martinsville                      Henry County                            311 E Church St                                      Martinsville, VA 24112‐2927                                                                   First Class Mail
Chartered Organization         Boys And Girls Club Of Muskegon                          President Gerald R Ford 781             900 3rd St, Ste 200                                  Muskegon, MI 49440‐1135                                                                       First Class Mail
Chartered Organization         Boys And Girls Club Of Napa Valley                       Mt Diablo‐Silverado Council 023         1515 Pueblo Ave                                      Napa, CA 94558‐4837                                                                           First Class Mail
Chartered Organization         Boys And Girls Club Of Noblesville ‐ As                  Crossroads of America 160               1448 Conner St                                       Noblesville, IN 46060‐2913                                                                    First Class Mail
Chartered Organization         Boys And Girls Club Of Odessa                            Buffalo Trail Council 567               800 E 13th St                                        Odessa, TX 79761‐2732                                                                         First Class Mail
Chartered Organization         Boys And Girls Club Of Sierra Vista                      Catalina Council 011                    1746 Paseo San Luis                                  Sierra Vista, AZ 85635‐4610                                                                   First Class Mail
Chartered Organization         Boys And Girls Club Of Stamford                          Connecticut Yankee Council Bsa 072      347 Stillwater Ave                                   Stamford, CT 06902‐3622                                                                       First Class Mail
Chartered Organization         Boys And Girls Club Of The Peninsula                     Pacific Skyline Council 031             400 Market Pl                                        Menlo Park, CA 94025‐1231                                                                     First Class Mail
Chartered Organization         Boys And Girls Club Of Troy                              Great Lakes Fsc 272                     3670 John R Rd                                       Troy, MI 48083‐5684                                                                           First Class Mail
Chartered Organization         Boys And Girls Club Of Vista                             San Diego Imperial Council 049          410 W California Ave                                 Vista, CA 92083‐3534                                                                          First Class Mail
Chartered Organization         Boys And Girls Club Of Waterloo, Inc                     Winnebago Council, Bsa 173              515 Lime St 50703                                    Waterloo, IA 50703‐3804                                                                       First Class Mail
Chartered Organization         Boys And Girls Club Of West Plains                       Ozark Trails Council 306                613 W 1st St                                         West Plains, MO 65775‐2617                                                                    First Class Mail
Chartered Organization         Boys And Girls Club Roll Hill                            Dan Beard Council, Bsa 438              2411 Baltimore Ave                                   Cincinnati, OH 45225‐1001                                                                     First Class Mail
Chartered Organization         Boys And Girls Club Shallowater                          South Plains Council 694                3221 59th St                                         Lubbock, TX 79413‐5515                                                                        First Class Mail
Chartered Organization         Boys And Girls Club Union Elementary                     Central Georgia Council 096             P.O. Box 4431                                        Macon, GA 31208‐4431                                                                          First Class Mail
Chartered Organization         Boys And Girls Club Youth Commonwealth                   President Gerald R Ford 781             235 Straight Ave Nw                                  Grand Rapids, MI 49504‐5633                                                                   First Class Mail
Chartered Organization         Boys And Girls Club‐Ak                                   Great Alaska Council 610                2300 W 36th Ave                                      Anchorage, AK 99517‐2557                                                                      First Class Mail
Chartered Organization         Boys And Girls Clubs Eastside St. Cloud                  Central Minnesota 296                   320 Raymond Ave Ne                                   Saint Cloud, MN 56304‐0340                                                                    First Class Mail
Chartered Organization         Boys And Girls Clubs Of Greater St Louis                 Greater St Louis Area Council 312       2901 N Grand Blvd                                    Saint Louis, MO 63107‐2608                                                                    First Class Mail
Chartered Organization         Boys And Girls Clubs Of Metro Atlanta                    Northeast Georgia Council 101           P.O. Box 1150                                        Monroe, GA 30655‐1150                                                                         First Class Mail
Chartered Organization         Boys And Girls Clubs Of Milford                          Connecticut Yankee Council Bsa 072      59 Devonshire Rd                                     Milford, CT 06460‐5917                                                                        First Class Mail
Chartered Organization         Boys And Girls Clubs Of No. La.                          Louisiana Purchase Council 213          400 Jeffress St                                      Jonesboro, LA 71251‐2036                                                                      First Class Mail
Chartered Organization         Boys And Girls Clubs Of Philadelphia                     Cradle of Liberty Council 525           2901 Bridge St                                       Philadelphia, PA 19137‐1811                                                                   First Class Mail
Chartered Organization         Boys And Girls Clubs Of Poplar Bluff                     Greater St Louis Area Council 312       P.O. Box 55                                          Poplar Bluff, MO 63902‐0055                                                                   First Class Mail
Chartered Organization         Boys And Girls Clubs Of Roosevelt                        Central Minnesota 296                   345 30th Ave N                                       Saint Cloud, MN 56303‐3755                                                                    First Class Mail
Chartered Organization         Boys And Girls Clubs Of The Austin Area                  Capitol Area Council 564                6648 Ed Bluestein Blvd                               Austin, TX 78723‐3933                                                                         First Class Mail
Chartered Organization         Boys And Girls Of The Timber Ridge, Inc                  Norwela Council 215                     P.O. Box 777                                         Homer, LA 71040‐0777                                                                          First Class Mail
Chartered Organization         Boys And Girls Town Of Missouri                          Greater St Louis Area Council 312       284 Meramec Wilderness Ln                            Steelville, MO 65565‐7802                                                                     First Class Mail
Chartered Organization         Boys Club Of Orwigsburg                                  Hawk Mountain Council 528               91 E Independence St                                 Orwigsburg, PA 17961‐2342                                                                     First Class Mail
Chartered Organization         Boys Girls Club Sacred Heart                             Winnebago Council, Bsa 173              515 Lime St                                          Waterloo, IA 50703‐3804                                                                       First Class Mail
Chartered Organization         Boys Home, Inc                                           Stonewall Jackson Council 763           411 Boys Home Rd                                     Covington, VA 24426                                                                           First Class Mail
Chartered Organization         Boys Ii Young Men                                        Norwela Council 215                     5947 Manitoba Ln                                     Shreveport, LA 71107‐2011                                                                     First Class Mail
Chartered Organization         Boys Prep Elementary Charter School                      Greater New York Councils, Bsa 640      1695 Seward Ave                                      Bronx, NY 10473‐4249                                                                          First Class Mail
Chartered Organization         Boys Republic                                            California Inland Empire Council 045    1907 Boys Republic Dr                                Chino Hills, CA 91709‐5447                                                                    First Class Mail
Chartered Organization         Boys Scouts Of America Pack 3300, Inc                    Southwest Florida Council 088           17501 Fuchsia Rd                                     Fort Myers, FL 33967‐2978                                                                     First Class Mail
Chartered Organization         Boys To Men                                              Mid Iowa Council 177                    2500 38th St                                         Des Moines, IA 50310‐4529                                                                     First Class Mail
Chartered Organization         Boys Town Volunteer Fire Dept                            Mid‐America Council 326                 P.O. Box 9999                                        Boys Town, NE 68010                                                                           First Class Mail
Chartered Organization         Bozeman Police Gallatin County                           Montana Council 315                     615 S 16th Ave                                       Bozeman, MT 59715‐1313                                                                        First Class Mail
Voting Party                   Bozeman United Methodist Church                          Attn: Treasurer                         121 S Willson Ave                                    Bozeman, MT 59715                                              christian@bozemanumc.org       Email
                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bpo Elks 15                                              National Capital Area Council 082       5 Taft Ct                                            Rockville, MD 20850‐1307                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                   Page 37 of 442
                                                                                Case 20-10343-LSS                                                      Doc 8171                                       Filed 01/06/22                                            Page 53 of 457
                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                    Service List
                                                                                                                                                                             Served as set forth below

        Description                                                      Name                                                                                                    Address                                                                                                           Email              Method of Service
Chartered Organization         Bpo Elks 15                                             National Capital Area Council 082                      6012 Willow Hill Ln                                     Rockville, MD 20855‐1644                                                                             First Class Mail
Chartered Organization         Bpo Elks 15 Washington Rockville                        National Capital Area Council 082                      5 Taft Ct                                               Rockville, MD 20850‐1307                                                                             First Class Mail
Chartered Organization         Bpo Elks 1929                                           Las Vegas Area Council 328                             716 S Laguna Ave                                        Parker, AZ 85344‐4950                                                                                First Class Mail
Chartered Organization         Bpo Elks 2250                                           Overland Trails 322                                    820 Ave J                                               Cozad, NE 69130‐1762                                                                                 First Class Mail
Chartered Organization         Bpo Elks 684                                            National Capital Area Council 082                      289 Willowdale Dr                                       Frederick, MD 21702‐3998                                                                             First Class Mail
Chartered Organization         Bpo Elks Lodge 122                                      Norwela Council 215                                    310 E Preston Ave                                       Shreveport, LA 71105‐2837                                                                            First Class Mail
Chartered Organization         Bpo Elks Lodge 1565‐Huntington                          Suffolk County Council Inc 404                         195 Main St                                             Huntington, NY 11743‐7052                                                                            First Class Mail
Chartered Organization         Bpo Elks Lodge 1625                                     W.L.A.C.C. 051                                         240 E Ave K                                             Lancaster, CA 93535‐4522                                                                             First Class Mail
Chartered Organization         Bpo Elks Lodge 1815 Berea                               Lake Erie Council 440                                  626 N Rocky River Dr                                    Berea, OH 44017‐1628                                                                                 First Class Mail
Chartered Organization         Bpo Elks Lodge 1825                                     Inland Northwest Council 611                           111 S Meadow St                                         Grangeville, ID 83530‐1902                                                                           First Class Mail
Chartered Organization         Bpo Elks Lodge 1930                                     Grand Columbia Council 614                             814 N Stratford Rd                                      Moses Lake, WA 98837‐1512                                                                            First Class Mail
Chartered Organization         Bpo Elks Lodge 2036 Smithtown                           Suffolk County Council Inc 404                         120 Edgewood Ave                                        Smithtown, NY 11787‐2737                                                                             First Class Mail
Chartered Organization         Bpo Elks Lodge 2132                                     Garden State Council 690                               P.O. Box 235                                            Clayton, NJ 08312‐0235                                                                               First Class Mail
Chartered Organization         Bpo Elks Lodge 2138                                     Suffolk County Council Inc 404                         P.O. Box 602                                            Centereach, NY 11720‐0602                                                                            First Class Mail
Chartered Organization         Bpo Elks Lodge 2515                                     Monmouth Council, Bsa 347                              Ramtown Greenville                                      Road                              Howell, NJ 07731                                                   First Class Mail
Chartered Organization         Bpo Elks Lodge 2656 ‐ Buckhorn                          Grand Canyon Council 010                               6718 E Avalon St                                        Mesa, AZ 85205‐9015                                                                                  First Class Mail
Chartered Organization         Bpo Elks Lodge 2809                                     Grand Canyon Council 010                               P.O. Box 2809                                           Globe, AZ 85502‐2809                                                                                 First Class Mail
Chartered Organization         Bpo Elks Lodge 335                                      Grand Canyon Council 010                               14424 N 32nd St                                         Phoenix, AZ 85032‐5022                                                                               First Class Mail
Chartered Organization         Bpo Elks Lodge 368                                      Crossroads of America 160                              P.O. Box 68                                             Elwood, IN 46036‐0068                                                                                First Class Mail
Chartered Organization         Bpo Elks Lodge 41                                       Iroquois Trail Council 376                             6791 N Canal Rd                                         Lockport, NY 14094‐9680                                                                              First Class Mail
Chartered Organization         Bpo Elks Lodge 499                                      Grand Canyon Council 010                               2101 N San Francisco St                                 Flagstaff, AZ 86001‐1388                                                                             First Class Mail
Chartered Organization         Bpo Elks Lodge 810                                      Great Lakes Fsc 272                                    2100 Scott Lake Rd                                      Waterford, MI 48328‐1661                                                                             First Class Mail
Chartered Organization         Bpo Elks Lodge No 391                                   Simon Kenton Council 441                               73 N 3rd St                                             Newark, OH 43055‐5522                                                                                First Class Mail
Chartered Organization         Bpo Elks No 6                                           Golden Empire Council 047                              6446 Riverside Blvd                                     Sacramento, CA 95831‐1023                                                                            First Class Mail
Chartered Organization         Bpo Elks, Lodge 2237                                    Northern New Jersey Council, Bsa 333                   405 Bowden Rd                                           Cedar Grove, NJ 07009‐1540                                                                           First Class Mail
Chartered Organization         Bpo Elks, Union Lodge 1583                              Patriots Path Council 358                              281 Chestnut St                                         Union, NJ 07083‐9411                                                                                 First Class Mail
Chartered Organization         Bpoe 2348 Lodge                                         Longhouse Council 373                                  3730 Cold Springs Rd                                    Baldwinsville, NY 13027‐9340                                                                         First Class Mail
Chartered Organization         Bpoe 1247                                               Crater Lake Council 491                                601 Main St                                             Klamath Falls, OR 97601‐6051                                                                         First Class Mail
Chartered Organization         Bpoe 1376                                               Inland Northwest Council 611                           30196 Hwy 200                                           Sandpoint, ID 83864                                                                                  First Class Mail
Chartered Organization         Bpoe 1600 State College Elks                            Juniata Valley Council 497                             P.O. Box 8                                              Boalsburg, PA 16827‐0008                                                                             First Class Mail
Chartered Organization         Bpoe 1632                                               Montana Council 315                                    421 2nd St Ne                                           Cut Bank, MT 59427‐2728                                                                              First Class Mail
Chartered Organization         Bpoe 1786                                               Golden Empire Council 047                              P.O. Box 469                                            Willows, CA 95988                                                                                    First Class Mail
Chartered Organization         Bpoe 1929                                               Las Vegas Area Council 328                             716 S Laguna Ave                                        Parker, AZ 85344‐4950                                                                                First Class Mail
Chartered Organization         Bpoe 2072                                               Twin Rivers Council 364                                1 Elks Ln                                               Keeseville, NY 12944‐3519                                                                            First Class Mail
Chartered Organization         Bpoe 239                                                Montana Council 315                                    223 Main St                                             Anaconda, MT 59711‐2253                                                                              First Class Mail
Chartered Organization         Bpoe 2427 Elks                                          Northern Star Council 250                              720 Hwy 7 E                                             Hutchinson, MN 55350‐1922                                                                            First Class Mail
Chartered Organization         Bpoe 2481/Methodist Men                                 Laurel Highlands Council 527                           1638 Memorial Dr                                        Oakland, MD 21550‐4337                                                                               First Class Mail
Chartered Organization         Bpoe 916                                                Green Mountain 592                                     925 North Ave                                           Burlington, VT 05408‐2743                                                                            First Class Mail
Chartered Organization         Bpoe Aurora Lodge 1921                                  Denver Area Council 061                                560 Geneva St                                           Aurora, CO 80010‐4305                                                                                First Class Mail
Chartered Organization         Bpoe Bend 1371                                          Crater Lake Council 491                                63120 Boyd Acres Rd                                     Bend, OR 97701‐8516                                                                                  First Class Mail
Chartered Organization         Bpoe Elks 1554                                          Montana Council 315                                    P.O. Box 505                                            Dillon, MT 59725‐0505                                                                                First Class Mail
Chartered Organization         Bpoe Elks Lodge 1272 Cambridge Md                       Del Mar Va 081                                         P.O. Box 381                                            Cambridge, MD 21613‐0381                                                                             First Class Mail
Chartered Organization         Bpoe Elks Lodge 1622                                    Del Mar Va 081                                         502 Dutchmans Ln                                        Easton, MD 21601‐3322                                                                                First Class Mail
Chartered Organization         Bpoe Elks Lodge 1903 Dover De                           Del Mar Va 081                                         200 Saulsbury Rd                                        Dover, DE 19904‐2721                                                                                 First Class Mail
Chartered Organization         Bpoe Elks Lodge 2401 Milford De                         Del Mar Va 081                                         18951 Elks Lodge Rd                                     Milford, DE 19963                                                                                    First Class Mail
Chartered Organization         Bpoe Elks Lodge 2576 Kent Island Md                     Del Mar Va 081                                         2525 Romancoke Rd                                       Stevensville, MD 21666‐2911                                                                          First Class Mail
Chartered Organization         Bpoe Elks Lodge 2645 Ocean City                         Del Mar Va 081                                         13708 Sinepuxent Ave                                    Ocean City, MD 21842‐4553                                                                            First Class Mail
Chartered Organization         Bpoe Elks Lodge 817 Salisbury Md                        Del Mar Va 081                                         401 Church Hill Ave                                     Salisbury, MD 21804‐5614                                                                             First Class Mail
Chartered Organization         Bpoe Elks Lodge 104                                     Narragansett 546                                       141 Pelham St                                           Newport, RI 02840‐3131                                                                               First Class Mail
Chartered Organization         Bpoe Elks Lodge 1172                                    Great Southwest Council 412                            P.O. Box 814                                            Tucumcari, NM 88401‐0814                                                                             First Class Mail
Chartered Organization         Bpoe Elks Lodge 1187                                    Black Hills Area Council 695 695                       3333 Jolly Ln                                           Rapid City, SD 57703‐6085                                                                            First Class Mail
Chartered Organization         Bpoe Elks Lodge 1328 San Gabriel                        Greater Los Angeles Area 033                           1373 E Las Tunas Dr                                     San Gabriel, CA 91776‐1705                                                                           First Class Mail
Chartered Organization         Bpoe Elks Lodge 1352                                    Gulf Stream Council 085                                6188 Belvedere Rd                                       West Palm Beach, FL 33413‐1116                                                                       First Class Mail
Chartered Organization         Bpoe Elks Lodge 1420                                    San Diego Imperial Council 049                         P.O. Box 1299                                           Brawley, CA 92227‐1299                                                                               First Class Mail
Chartered Organization         Bpoe Elks Lodge 1440                                    Great Southwest Council 412                            1112 Susan Ave                                          Gallup, NM 87301‐4968                                                                                First Class Mail
Chartered Organization         Bpoe Elks Lodge 1611 Cody                               Greater Wyoming Council 638                            1202 Beck Ave                                           Cody, WY 82414‐3626                                                                                  First Class Mail
Chartered Organization         Bpoe Elks Lodge 1687                                    San Diego Imperial Council 049                         P.O. Box 1687                                           Escondido, CA 92033‐1687                                                                             First Class Mail
Chartered Organization         Bpoe Elks Lodge 1704                                    Nevada Area Council 329                                P.O. Box 1704                                           Hawthorne, NV 89415‐1704                                                                             First Class Mail
Chartered Organization         Bpoe Elks Lodge 1747                                    Great Southwest Council 412                            801 Municipal Dr                                        Farmington, NM 87401‐2623                                                                            First Class Mail
Chartered Organization         Bpoe Elks Lodge 1772                                    Great Alaska Council 610                               102 W Marine Way                                        Kodiak, AK 99615‐6301                                                                                First Class Mail
Chartered Organization         Bpoe Elks Lodge 1870                                    Gulf Stream Council 085                                1001 S Kanner Hwy                                       Stuart, FL 34994‐3738                                                                                First Class Mail
Chartered Organization         Bpoe Elks Lodge 2011                                    San Diego Imperial Council 049                         901 Elks Ln                                             Chula Vista, CA 91910‐6558                                                                           First Class Mail
Chartered Organization         Bpoe Elks Lodge 2051 Montebello                         Greater Los Angeles Area 033                           506 W Whittier Blvd                                     Montebello, CA 90640‐5234                                                                            First Class Mail
Chartered Organization         Bpoe Elks Lodge 2173 Bishopville, Md                    Del Mar Va 081                                         Worcester Hwy                                           Bishopville, MD 21813                                                                                First Class Mail
Chartered Organization         Bpoe Elks Lodge 2297 ‐ Horseheads                       Five Rivers Council, Inc 375                           Hickory Grove Rd                                        Horseheads, NY 14845                                                                                 First Class Mail
Chartered Organization         Bpoe Elks Lodge 2500                                    Great Southwest Council 412                            1530 Barbara Loop Se                                    Rio Rancho, NM 87124‐1097                                                                            First Class Mail
Chartered Organization         Bpoe Elks Lodge 2540 Cape Henlopen De                   Del Mar Va 081                                         7 Mcintosh Ct                                           Lewes, DE 19958‐9727                                                                                 First Class Mail
Chartered Organization         Bpoe Elks Lodge 2658                                    Gulf Stream Council 085                                2290 SE Lennard Rd                                      Port Saint Lucie, FL 34952‐6875                                                                      First Class Mail
Chartered Organization         Bpoe Elks Lodge 507                                     Great Southwest Council 412                            901 E 2nd Ave                                           Durango, CO 81301‐5110                                                                               First Class Mail
Chartered Organization         Bpoe Elks Lodge 794                                     Orange County Council 039                              212 S Elk Ln                                            Santa Ana, CA 92701‐5011                                                                             First Class Mail
Chartered Organization         Bpoe Elks Lodge 882 &                                   St Matthew Lutheran Ch                                 123 N Main St                                           Galena, IL 61036‐2221                                                                                First Class Mail
Chartered Organization         Bpoe Elks Lodge 966 San Pedro                           Greater Los Angeles Area 033                           1748 Cumbre Dr                                          San Pedro, CA 90732‐4222                                                                             First Class Mail
Chartered Organization         Bpoe Golden Spike Elks Lodge 719                        Trapper Trails 589                                     1875 W 5200 S                                           Roy, UT 84067‐2930                                                                                   First Class Mail
Chartered Organization         Bpoe Hb Elks 1959                                       Orange County Council 039                              7711 Talbert Ave                                        Huntington Beach, CA 92648‐1320                                                                      First Class Mail
Chartered Organization         Bpoe John Day Lodge 1824                                Blue Mountain Council 604                              140 NE Dayton St                                        John Day, OR 97845‐1203                                                                              First Class Mail
Chartered Organization         Bpoe Lodge ‐ Livonia 2246                               Great Lakes Fsc 272                                    31117 Plymouth Rd                                       Livonia, MI 48150‐2103                                                                               First Class Mail
Chartered Organization         Bpoe Lodge 1023                                         Lakeland Elementary School                             47 Div St                                               Coldwater, MI 49036‐1920                                                                             First Class Mail
Chartered Organization         Bpoe Lodge 1418                                         Inland Northwest Council 611                           628 Main Ave                                            Saint Maries, ID 83861‐1838                                                                          First Class Mail
Chartered Organization         Bpoe Lodge 1486,Ossining                                Westchester Putnam 388                                 118 Croton Ave                                          Ossining, NY 10562‐4204                                                                              First Class Mail
Chartered Organization         Bpoe Lodge 1558                                         Conquistador Council Bsa 413                           P.O. Box 249                                            Carlsbad, NM 88221‐0249                                                                              First Class Mail
Chartered Organization         Bpoe Lodge 1682                                         Las Vegas Area Council 328                             1217 Nevada Hwy                                         Boulder City, NV 89005‐1868                                                                          First Class Mail
Chartered Organization         Bpoe Lodge 1941                                         Northern New Jersey Council, Bsa 333                   Foxwood Rd                                              Mahwah, NJ 07430                                                                                     First Class Mail
Chartered Organization         Bpoe Lodge 1943                                         Oregon Trail Council 697                               106 S Main St                                           Myrtle Creek, OR 97457‐7326                                                                          First Class Mail
Chartered Organization         Bpoe Lodge 2022                                         Hudson Valley Council 374                              P.O. Box 337                                            Red Hook, NY 12571‐0337                                                                              First Class Mail
Chartered Organization         Bpoe Lodge 2041                                         Hudson Valley Council 374                              2041 Elks Dr                                            Nanuet, NY 10954‐3417                                                                                First Class Mail
Chartered Organization         Bpoe Lodge 2067                                         Hudson Valley Council 374                              P.O. Box 862                                            Greenwood Lake, NY 10925‐0862                                                                        First Class Mail
Chartered Organization         Bpoe Lodge 2609                                         Hudson Valley Council 374                              P.O. Box 47                                             Wappingers Falls, NY 12590‐0047                                                                      First Class Mail
Chartered Organization         Bpoe Lodge 275                                          Hudson Valley Council 374                              29 Overocker Rd                                         Poughkeepsie, NY 12603‐2513                                                                          First Class Mail
Chartered Organization         Bpoe Lodge 322                                          Los Padres Council 053                                 222 Elks Ln                                             San Luis Obispo, CA 93401‐5434                                                                       First Class Mail
Chartered Organization         Bpoe Lodge 534‐Red Lodge                                Montana Council 315                                    1114 S Broadway Ave                                     Red Lodge, MT 59068‐9517                                                                             First Class Mail
Chartered Organization         Bpoe Lodge 666                                          Potawatomi Area Council 651                            117 N 1st St                                            Watertown, WI 53094‐3701                                                                             First Class Mail
Chartered Organization         Bpoe Lodge No 28                                        Ohio River Valley Council 619                          P.O. Box 6849                                           Wheeling, WV 26003‐0922                                                                              First Class Mail
Chartered Organization         Bpoe Long Branch Elks 742                               Monmouth Council, Bsa 347                              150 Garfield Ave                                        Long Branch, NJ 07740‐6715                                                                           First Class Mail
Chartered Organization         Bpoe Mobile Lodge 108                                   Mobile Area Council‐Bsa 004                            2671 Dauphin Island Pkwy                                Mobile, AL 36605‐3408                                                                                First Class Mail
Chartered Organization         Bpoe Payson Elks 2154                                   Grand Canyon Council 010                               1206 N Beeline Hwy                                      Payson, AZ 85541‐3716                                                                                First Class Mail
Chartered Organization         Bpoe Placerville Lodge 1712                             Golden Empire Council 047                              3821 Quest Ct                                           Cameron Park, CA 95682‐8562                                                                          First Class Mail
Chartered Organization         Bpoe Placerville Lodge 1712                             Golden Empire Council 047                              3821 Quest Ct                                           Shingle Springs, CA 95682‐8562                                                                       First Class Mail
Chartered Organization         Bpoe Red Hook‐Rhinebeck Lodge 2022                      Hudson Valley Council 374                              7711 Albany Post Rd                                     Red Hook, NY 12571‐2146                                                                              First Class Mail
Chartered Organization         Bpoe Redondo Beach Lodge 1378                           Greater Los Angeles Area 033                           315 Esplanade                                           Redondo Beach, CA 90277‐3634                                                                         First Class Mail
Chartered Organization         Bpoe Stuart‐Jensen Beach Lodge 1870                     Gulf Stream Council 085                                1001 S Kanner Hwy                                       Stuart, FL 34994‐3738                                                                                First Class Mail
Chartered Organization         Bpoe Walterboro Lodge 1988                              Coastal Carolina Council 550                           236 Milestone Ln                                        Walterboro, SC 29488‐2108                                                                            First Class Mail
Chartered Organization         Bpoe Warrensburg 673                                    Heart of America Council 307                           822 E Young Ave                                         Warrensburg, MO 64093‐9615                                                                           First Class Mail
Chartered Organization         Bpoe Weehawken Lodge 1456                               Northern New Jersey Council, Bsa 333                   2 50th St                                               Weehawken, NJ 07086‐7535                                                                             First Class Mail
Chartered Organization         Bpoe‐Elks Lodge 590                                     Hawkeye Area Council 172                               637 Foster Rd                                           Iowa City, IA 52245‐1514                                                                             First Class Mail
Chartered Organization         Bpoe‐Walnut Creek Elks Lodge 1811                       Mt Diablo‐Silverado Council 023                        1475 Creekside Dr                                       Walnut Creek, CA 94596‐5620                                                                          First Class Mail
Voting Party                   Bracken United Methodist Church                         Attn: Barbara Aziz                                     20377 Fm 2252                                           San Antonio, TX 78266                                               admin@brackenumc.org             Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Brackett Memorial Church                                Attn: Pastor & Will Green                              9 Church Ave                                            Peaks Island, ME 04108                                              brackettmumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Braddock Heights Vol. Fire Dept                         National Capital Area Council 082                      6715 Jefferson Blvd                                     Braddock Heights, MD 21714                                                                           First Class Mail
Voting Party                   Braddock Street UMC                                     c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Braddock Street United Methodist Church                 Attn: Rachel Bedell, Financial Secy, Braddock St Umc   115 Wolfe St                                            Winchester, VA 22601                                                rachel@braddockstreetumc.org     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Braden River United Methodist Church                    c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Bradfield Elementary Pta                                Circle Ten Council 571                                 4300 Sern Ave                                           Dallas, TX 75205                                                                                     First Class Mail
Voting Party                   Bradford Capital Holdings LP                            Attn: Brian L Brager                                   Re: C2G Engineering Inc                                 P.O. Box 4353                     Clifton, NJ 07012                                                  First Class Mail
Voting Party                   Bradford Capital Holdings, LP                           Attn: Brian L Brager                                   Re: Capital Printing Co                                 P.O. Box 4353                     Clifton, NJ 07012                                                  First Class Mail
Voting Party                   Bradford Capital Holdings, LP                           Attn: Brian Brager                                     re: First Advantage Lns                                 P.O. Box 4353                     Clifton, NJ 07012                                                  First Class Mail
Voting Party                   Bradford Capital Holdings, LP                           Attn: Brian Brager                                     Re: Robots And Pencils                                  P.O. Box 4353                     Clifton, NJ 07012                                                  First Class Mail
Chartered Organization         Bradford Congregational Church                          Green Mountain 592                                     Main St                                                 Bradford, VT 05033                                                                                   First Class Mail
Chartered Organization         Bradford County Ems Assoc                               Five Rivers Council, Inc 375                           29 Vankuren Dr, Ste 2                                   Towanda, PA 18848‐8335                                                                               First Class Mail
Chartered Organization         Bradford Elementary Pta                                 Denver Area Council 061                                1 White Oak Dr                                          Littleton, CO 80127‐4348                                                                             First Class Mail
Chartered Organization         Bradford Manor Hose Co 4, Inc                           Connecticut Yankee Council Bsa 072                     85 George St                                            East Haven, CT 06512‐4724                                                                            First Class Mail
Chartered Organization         Bradford Place Homeowners Assoc                         Crossroads of America 160                              704 S State Rd 135, Ste D                               Greenwood, IN 46143‐6501                                                                             First Class Mail
Voting Party                   Bradford United Methodist Church                        Attn: Thomas Winningham                                P.O. Box 531                                            Bradford, AR 72020                                                  tomwin@centurytel.net            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Bradford United Methodist Church                        c/o Friday, Eldredge & Clark LLP                       Attn: Lindsey Emerson Raines                            400 W Capitol Ave, Ste 2000       Little Rock, AR 72201             lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Bradfordwoods Community Church                          Laurel Highlands Council 527                           P.O. Box 421                                            Bradfordwoods, PA 15015‐0421                                                                         First Class Mail
Voting Party                   Bradley Arant Boult Cummings Llp                        Edwin G Rice                                           100 N Tampa St, Ste 2200                                Tampa, FL 33602                                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Bradley Arant Boult Cummings Llp                        Edwin G. Rice                                          100 N Tampa St, Ste 2200                                Tampa, FL 33602                                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Bradley Arant Boult Cummings Llp                        Edwin G Rice                                           100 N Tampa St, Ste 2200                                Tampa, FL 33602                                                                                      First Class Mail
Voting Party                   Bradley Arant Boult Cummings Llp                        Edwin G. Rice                                          100 N Tampa St, Ste 2200                                Tampa, FL 33602                                                                                      First Class Mail
Voting Party                   Bradley Arant Boult Cummings Llp                        Edwin Rice                                             100 N Tampa St, Ste 2200                                Tampa, FL 33602                                                                                      First Class Mail
Voting Party                   Bradley Arant Boult Cummings Llp                        Edwin Rice                                             100N Tampa St, Ste 2200                                 Tampa, FL 33602                                                                                      First Class Mail
Voting Party                   Bradley Arant Cummings Llp                              Edwin G Rice                                           100 N Tampa St, Ste 2200                                Tampa, FL 33602                                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Bradley County Fire & Rescue                            Cherokee Area Council 556                              260 Inman St E                                          Cleveland, TN 37311‐6039                                                                             First Class Mail
Voting Party                   Bradley D Tilden                                        c/o Boy Scouts of America                              Attn: Chase Koontz                                      1325 W Walnut Hill Ln             Irving, TX 75015                  chase.koontz@scouting.org        Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Bradley Elementary School                               Buckskin 617                                           210 Bradley School Rd                                   Mount Hope, WV 25880‐9522                                                                            First Class Mail
Chartered Organization         Bradley Fire Dept                                       Rainbow Council 702                                    147 S Michigan Ave                                      Bradley, IL 60915‐2243                                                                               First Class Mail
Voting Party                   Bradley Law Firm                                        Michael Keith Bradley                                  13 East Henderson St                                    Cleburne, TX 76031                                                  keith@bradleylawyers.com         Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Bradley Memorial                                        c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Bradley Umc                                             Attn: John Groves, Bsa Charter Org Rep                 210 W Main St                                           Greenfield, IN 46140                                                Bradleyumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Bradley Utd Methodist Church                            Crossroads of America 160                              210 W Main St                                           Greenfield, IN 46140‐2051                                                                            First Class Mail
Voting Party                   Bradley Wesley United Methodist Church                  c/o Wesley United Methodist Church                     500 N Cleveland Ave                                     Bradley, IL 60915                                                   office@bradleywesley.org         Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Bradley Wesley United Methodist Church                  Attn: Keith Schweitzer, Treasurer                      734 Olde Oak Dr                                         Bourbonnais, IL 60914                                               keithschweitzer@comcast.net      Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Firm                           Bradshaw & Bryant, PLLC                                 Michael A. Bryant                                      1505 Division St                                        Waite Park, MN 56303                                                                                 First Class Mail
Voting Party                   Braeside Holdings, LLC                                  795 Bartlett Ave                                       Antioch, IL 60002                                                                                                           gsurprent@braesidefisplay.com    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Brainard Lodge 102                                      Connecticut Rivers Council, Bsa 066                    P.O. Box 1715                                           Niantic, CT 06357                                                                                    First Class Mail
Chartered Organization         Brainerd High School Rotc                               Cherokee Area Council 556                              1020 N Moore Rd                                         Chattanooga, TN 37411‐2525                                                                           First Class Mail
Voting Party                   Brainerd United Methodist Church                        Attn: Michael A Mcmahan                                1132 Ridgetop Dr                                        Chattanooga, TN 37421                                               m.mcmahan@epbfi.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Brainerd United Methodist Church                        Attn: Michael A Mcmahan                                4315 Brainerd Rd                                        Chattanooga, TN 37411                                               dwise@brainerdumc.org            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Braintree Highlands School Pto                          Mayflower Council 251                                  144 Wildwood Ave                                        Braintree, MA 02184‐8502                                                                             First Class Mail
Chartered Organization         Bramlett Elementary School Pto                          Northeast Georgia Council 101                          622 Freeman Brock Rd                                    Auburn, GA 30011‐2610                                                                                First Class Mail
Voting Party                   Bramlett United Methodist Church                        Attn: John Fahrney                                     2043 Bramlett Church Rd                                 Great Court, SC 29645                                               pastor@bramlettumc.com           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Bramlett Utd Church                                     Blue Ridge Council 551                                 2043 Bramlett Church Rd                                 Gray Court, SC 29645‐3719                                                                            First Class Mail
Chartered Organization         Bramlett Utd Methodist                                  Blue Ridge Council 551                                 2160 Bramlett Church Rd                                 Gray Court, SC 29645‐3720                                                                            First Class Mail
Chartered Organization         Branch Township Booster Club                            Hawk Mountain Council 528                              167 Llewellyn Rd                                        Llewellyn, PA 17944                                                                                  First Class Mail
Chartered Organization         Branchburg Police Dept                                  Patriots Path Council 358                              590 Old York Rd                                         Branchburg, NJ 08876‐3736                                                                            First Class Mail
Chartered Organization         Branchburg Rotary                                       Patriots Path Council 358                              P.O. Box 5135                                           North Branch, NJ 08876‐1302                                                                          First Class Mail
Chartered Organization         Branches, LLC                                           Northern Star Council 250                              812 Prospect Ct                                         Osceola, WI 54020‐8163                                                                               First Class Mail
Voting Party                   Branchport United Methodist Church                      Attn: David Thorn                                      3988 Belknap Hill Rd                                    Branchport, NY 14418                                                dthorn@frontiernet.net           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Branchville American Legion                             Patriots Path Council 358                              Rt 206 N                                                Branchville, NJ 07826                                                                                First Class Mail
Chartered Organization         Brand New Church                                        Westark Area Council 016                               7751 Hwy 7 N                                            Harrison, AR 72601‐4863                                                                              First Class Mail
Chartered Organization         Brandaris, Inc                                          Trapper Trails 589                                     1154 Hanline Cir                                        Kaysville, UT 84037‐9408                                                                             First Class Mail
Voting Party                   Brandenburg United Methodist Church                     Attn: Treasurer, Brandenburg Umc                       215 Broadway St                                         Brandenburg, KY 40108                                               lynn.beach@bburgumc.org          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Brandon 86 Rotary Club                                  Greater Tampa Bay Area 089                             P.O. Box 718                                            Brandon, FL 33509‐0718                                                                               First Class Mail
Chartered Organization         Brandon Christian Fellowship, Inc                       Greater Tampa Bay Area 089                             P.O. Box 1684                                           Brandon, FL 33509‐1684                                                                               First Class Mail
Chartered Organization         Brandon Elks Lodge 2383                                 Greater Tampa Bay Area 089                             800 Centennial Lodge Dr                                 Brandon, FL 33510‐4634                                                                               First Class Mail
Chartered Organization         Brandon Fire Relief Assoc                               Northern Lights Council 429                            P.O. Box 236                                            Brandon, MN 56315‐0236                                                                               First Class Mail
Chartered Organization         Brandon First Utd Methodist Church                      Andrew Jackson Council 303                             205 Mary Ann Dr                                         Brandon, MS 39042‐3317                                                                               First Class Mail
Voting Party                   Brandon United Methodist Church                         Attn: Treasurer & Kenneth G Bevan                      P.O. Box 55                                             Brandon, VT 05733                                                   church@brandonumc.com            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Brandon Wang                                            Address Redacted                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                    Page 38 of 442
                                                                                   Case 20-10343-LSS                                            Doc 8171                                      Filed 01/06/22                                           Page 54 of 457
                                                                                                                                                                           Exhibit B
                                                                                                                                                                            Service List
                                                                                                                                                                     Served as set forth below

        Description                                                        Name                                                                                          Address                                                                                                        Email                 Method of Service
Voting Party                   Brandt United Methodist Church                                  Attn: Treasurer                         6805 E US Rt 40                                        Tipp City, OH 45321                                                brandt‐office@woh.rr.com          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Branford Fire Dept                                              Connecticut Yankee Council Bsa 072      45 N Main St                                           Branford, CT 06405‐3010                                                                              First Class Mail
Chartered Organization         Brannon Kreis Post 149                                          The American Legion                     202 S Kingston St                                      Wartburg, TN 37887‐4251                                                                              First Class Mail
Chartered Organization         Branson Daybreakers Rotary Club                                 Ozark Trails Council 306                P.O. Box 7033                                          Branson, MO 65615‐7033                                                                               First Class Mail
Chartered Organization         Branson Police Dept                                             Ozark Trails Council 306                110 W Maddux St, Ste 100                               Branson, MO 65616‐2859                                                                               First Class Mail
Chartered Organization         Branson‐Hollister Lions Club                                    Ozark Trails Council 306                P.O. Box 1103                                          Branson, MO 65615‐1103                                                                               First Class Mail
Chartered Organization         Branson‐Hollister Rotary Club                                   Ozark Trails Council 306                P.O. Box 6407                                          Branson, MO 65615‐6407                                                                               First Class Mail
Voting Party                   Brasher Falls United Methodist Church                           Attn: Sheryl Moulton                    544 State Hwy 11C                                      Winthrop, NY 13697                                                 slmrgm@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Brasher Falls United Methodist Church                           c/o NBT Bank                            264 Main St                                            Massena, NY 13662                                                                                    First Class Mail
Voting Party                   Brattain Minnix Garcia                                          Terry W Tolliver                        One Indiana Sq, Ste 2625                               Indianapolis, IN 46204                                             terry@bmgindy.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Brattleboro First United Methodist Church                       Attn: Lawrence Gary Lake                18 Town Crier Dr                                       Brattleboro, VT 05301                                              pastor‐larry@live.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Brautigam & Brautigam, LLP                                      Daryl P. Brautiam                       32 White St                                            Fredonia, NY 14063                                                 darylbrautigam@brautigamlaw.com   Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Brawley Police Dept                                             San Diego Imperial Council 049          351 Main St                                            Brawley, CA 92227‐2419                                                                               First Class Mail
Voting Party                   Bray Barnes                                                     c/o Boy Scouts of America               Attn: Chase Koontz                                     1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Brayton Pta                                                     Patriots Path Council 358               10 Myrtle Ave                                          Summit, NJ 07901‐3409                                                                                First Class Mail
Voting Party                   Brazil First United Methodist Church                            Attn: Gregory L Runyon                  201 N Meridian St                                      Brazil, IN 47834                                                   brazilfirst@nwcable.net           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Brazoria Lions Club                                             Bay Area Council 574                    P.O. Box 992                                           Brazoria, TX 77422‐0992                                                                              First Class Mail
Chartered Organization         Brazos County Sheriff Office                                    Sam Houston Area Council 576            300 E 26th St, Ste 105                                 Bryan, TX 77803‐5359                                                                                 First Class Mail
Chartered Organization         Brazos County Sherriff'S Office                                 Sam Houston Area Council 576            1700 W Hwy 21                                          Bryan, TX 77803‐1300                                                                                 First Class Mail
Chartered Organization         Brazosport Isd                                                  Bay Area Council 574                    P.O. Box Z                                             Freeport, TX 77542‐1926                                                                              First Class Mail
Chartered Organization         Brea Kiwanis Club                                               Orange County Council 039               P.O. Box 1372                                          Brea, CA 92822‐1372                                                                                  First Class Mail
Chartered Organization         Brea Police Dept                                                Orange County Council 039               1 Civic Center Cir                                     Brea, CA 92821‐5792                                                                                  First Class Mail
Chartered Organization         Brea Rotary International                                       Orange County Council 039               P.O. Box 404                                           Brea, CA 92822‐0404                                                                                  First Class Mail
Chartered Organization         Bread Of Life Lutheran Church                                   Northern Lights Council 429             1415 17th Ave Sw                                       Minot, ND 58701‐6192                                                                                 First Class Mail
Voting Party                   Breakfast Optimist Club Of Elkhart                              Attn: Richard Griffen                   P.O. Box 1427                                          Elkhart, IN 46515                                                  dickgriffen@yahoo.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Breaks Interstate Park                                          Sequoyah Council 713                    P.O. Box 100                                           Breaks, VA 24607‐0100                                                                                First Class Mail
Chartered Organization         Breath Of Life Evangelistic Outreach                            Circle Ten Council 571                  2411 Birmingham Ave                                    Dallas, TX 75215‐3459                                                                                First Class Mail
Voting Party                   Breathing Air Concepts                                          103680 Overseas Hwy                     Key Largo, FL 33037‐2837                                                                                                                                    First Class Mail
Chartered Organization         Breckenridge First Umc                                          Water and Woods Council 782             125 3rd St                                             Breckenridge, MI 48615‐2502                                                                          First Class Mail
Chartered Organization         Breckenridge Lutheran Church                                    Northern Lights Council 429             301 6th St N                                           Breckenridge, MN 56520‐1505                                                                          First Class Mail
Chartered Organization         Breckenridge Rotary Club                                        Texas Trails Council 561                P.O. Box 183                                           Breckenridge, TX 76424‐0183                                                                          First Class Mail
Voting Party                   Breckinridge United Methodist Church                            125 3rd St                              Breckenridge, MI 48615                                                                                                    breckenridgeumc@yahoo.com         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Breckville United Methodist Church                              Attn: Rebecca Paroda                    65 Public Sq                                           Brecksville, OH 44141                                              office@breckvilleumc.com          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Brecon United Methodist Church                                  Attn: James Sies Jr                     7388 E Kemper Rd                                       Cincinnati, OH 45249                                               breconumc@fusc.net                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bremen First Utd Methodist Church                               Atlanta Area Council 092                321 Hamilton Ave                                       Bremen, GA 30110‐1623                                                                                First Class Mail
Chartered Organization         Bremen High School District 228                                 Pathway To Adventure 456                15233 Pulaski Rd                                       Midlothian, IL 60445‐3755                                                                            First Class Mail
Chartered Organization         Bremen Utd Methodist Church                                     Lasalle Council 165                     302 W Plymouth St                                      Bremen, IN 46506‐1547                                                                                First Class Mail
Chartered Organization         Bremen Utd Methodist Church                                     Simon Kenton Council 441                Mulberry & Walnut St                                   Bremen, OH 43107                                                                                     First Class Mail
Chartered Organization         Bremen‐Bethel Presbyterian Church                               Simon Kenton Council 441                142 Purvis Ave                                         Bremen, OH 43107‐1139                                                                                First Class Mail
Chartered Organization         Bremer Bank/S&C Bank                                            Northern Star Council 250               104 Maple St W                                         Amery, WI 54001‐1049                                                                                 First Class Mail
Chartered Organization         Bremerton Central Lions Club                                    Chief Seattle Council 609               P.O. Box 363                                           Bremerton, WA 98337‐0076                                                                             First Class Mail
Chartered Organization         Bremerton Elks Lodge 1181                                       Chief Seattle Council 609               4131 Pine Rd Ne                                        Bremerton, WA 98310‐2257                                                                             First Class Mail
Voting Party                   Bremerton United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Bremke Law                                                      Attn: Giovanna Bremke                   37040 Colorado Ave                                     Avon, OH 44011                                                                                       First Class Mail
Chartered Organization         Brenda Scott Parent Teacher Organization                        Great Lakes Fsc 272                     18440 Hoover St                                        Detroit, MI 48205‐4086                                                                               First Class Mail
Voting Party                   Brenham First United Methodist Church                           Attn: Roberta S Maltas                  408 N Baylor                                           Brenham, TX 77833                                                  rmaltas@sbcglobal.net             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Brennan Woods Backers                                           Greater St Louis Area Council 312       4630 Brennan Rd                                        High Ridge, MO 63049‐1801                                                                            First Class Mail
Firm                           Brent Coon & Associates                                         Robert Schwartz                         300 Fannin Street, Ste 200                             Houston, TX 77002                                                  BCABSAclient@bcoonlaw.com         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Brentfield Citizens For Scouting                                Circle Ten Council 571                  17204 Graystone Dr                                     Dallas, TX 75248‐1614                                                                                First Class Mail
Voting Party                   Brentfield Citizens For Scouting, Inc                           6924 Brentfield Dr                      Dallas, TX 75248                                                                                                          barryrosen2000@gmail.com          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Brentfield Citizens For Scouting, Inc.                          Attn: Barry Rosen                       6924 Brentfield Dr                                     Dallas, TX 75248                                                   barryrosen2000@gmail.com          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Brentford Al Auxiliary‐Mellette                                 Sioux Council 733                       39315 152nd St                                         Mellette, SD 57461‐5205                                                                              First Class Mail
Chartered Organization         Brentsville Hs Ptac                                             National Capital Area Council 082       12109 Aden Rd                                          Nokesville, VA 20181‐2340                                                                            First Class Mail
Chartered Organization         Brentwood Baptist Church                                        Sam Houston Area Council 576            13033 Landmark St                                      Houston, TX 77045‐3431                                                                               First Class Mail
Voting Party                   Brentwood Community United Methodist Church                     Attn: Pastor Hyesung Lee                801 2nd St                                             Brentwood, CA 94513                                                drfunk519@gmail.com               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Brentwood Elementary Ptso                                       Inland Northwest Council 611            406 W Regina Ave                                       Spokane, WA 99218‐2830                                                                               First Class Mail
Chartered Organization         Brentwood Fire Dept                                             Suffolk County Council Inc 404          125 4th St                                             Brentwood, NY 11717‐5539                                                                             First Class Mail
Chartered Organization         Brentwood Legion Ambulance                                      Suffolk County Council Inc 404          29 3rd Ave                                             Brentwood, NY 11717‐4605                                                                             First Class Mail
Chartered Organization         Brentwood Lions Club                                            Mt Diablo‐Silverado Council 023         P.O. Box 811                                           Brentwood, CA 94513‐0811                                                                             First Class Mail
Chartered Organization         Brentwood Muslim Community Center                               Mt Diablo‐Silverado Council 023         7701 Lone Tree Way                                     Brentwood, CA 94513‐2107                                                                             First Class Mail
Chartered Organization         Brentwood Ny Islanders Lions Club 42645                         Suffolk County Council Inc 404          P.O. Box 577                                           Brentwood, NY 11717‐0577                                                                             First Class Mail
Chartered Organization         Brentwood Police Dept                                           Mt Diablo‐Silverado Council 023         9100 Brentwood Blvd                                    Brentwood, CA 94513‐4000                                                                             First Class Mail
Chartered Organization         Brentwood Presbyterian Church                                   W.L.A.C.C. 051                          12000 San Vicente Blvd                                 Los Angeles, CA 90049‐4923                                                                           First Class Mail
Chartered Organization         Brentwood Ufsd                                                  Suffolk County Council Inc 404          52 3rd Ave                                             Brentwood, NY 11717‐4651                                                                             First Class Mail
Chartered Organization         Brentwood Ufsd ‐ West Middle School                             Suffolk County Council Inc 404          2030 Udall Rd                                          Bay Shore, NY 11706‐1915                                                                             First Class Mail
Chartered Organization         Brentwood Ufsd‐ North Middle School                             Suffolk County Council Inc 404          350 Wicks Rd                                           Brentwood, NY 11717‐1131                                                                             First Class Mail
Chartered Organization         Brentwood Ufsd‐ South Middle School                             Suffolk County Council Inc 404          785 Candlewood Rd                                      Brentwood, NY 11717‐6615                                                                             First Class Mail
Voting Party                   Brentwood United Methodist Church                               Attn: Leslie Hotzfeld                   309 Frankling Rd                                       Brentwood, TN 37027                                                lhotzfeld@bumc.net                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Brentwood United Methodist Church                               Attn: William Hammel                    1899 S Irving St                                       Denver, CO 80219                                                   billhammel@q.com                  Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Brentwood United Methodist Church                               Attn: William Hammel, Treasurer         1899 S Irving St                                       Denver, CO 80219                                                   billhammel@q.com                  Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bret Harte Elementary School                                    San Francisco Bay Area Council 028      1035 Gilman Ave                                        San Francisco, CA 94124‐3710                                                                         First Class Mail
Chartered Organization         Breton Downs Pto                                                President Gerald R Ford 781             2500 Boston St Se                                      Grand Rapids, MI 49506‐4787                                                                          First Class Mail
Chartered Organization         Brett Brown Dds Md Pc                                           Cascade Pacific Council 492             1660 NW Eliza Ct                                       Albany, OR 97321‐1290                                                                                First Class Mail
Firm                           Brett Duke, PC                                                  Brett Duke                              6350 Escondido Dr, Ste A14                             El Paso, TX 79912                                                  brettduke@brettduke.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Brett Rogers                                                    1866 Valley View Rd                     Sayre, PA 18840                                                                                                                                             First Class Mail
Chartered Organization         Brevard County Sheriffs Office                                  Central Florida Council 083             700 S Park Ave                                         Titusville, FL 32780‐4007                                                                            First Class Mail
Voting Party                   Brevard First Umc                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Brevard First Utd Methodist Church                              Daniel Boone Council 414                325 N Broad St                                         Brevard, NC 28712‐3303                                                                               First Class Mail
Chartered Organization         Brevard Group Treatment Home                                    Central Florida Council 083             3905 Grissom Pkwy                                      Cocoa, FL 32926‐3669                                                                                 First Class Mail
Chartered Organization         Brewer Blackbird Homeschool                                     Capitol Area Council 564                16801 Brewer Blackbird Dr                              Pflugerville, TX 78660‐5794                                                                          First Class Mail
Chartered Organization         Brewer First Utd Methodist Church                               Katahdin Area Council 216               40 S Main St                                           Brewer, ME 04412‐2112                                                                                First Class Mail
Chartered Organization         Brewerton Parent Teachers Organization                          Longhouse Council 373                   Brewerton Elementary School                            Us Route 11                       Brewerton, NY 13029                                                First Class Mail
Chartered Organization         Brewerton Vol Fire Dept                                         Longhouse Council 373                   P.O. Box 629                                           Brewerton, NY 13029‐0629                                                                             First Class Mail
Chartered Organization         Brewster Baptist Church                                         Cape Cod and Islands Cncl 224           1848 Main St                                           Brewster, MA 02631‐1827                                                                              First Class Mail
Chartered Organization         Brewster Lions Club                                             Coronado Area Council 192               320 Illinois Ave                                       Brewster, KS 67732‐8621                                                                              First Class Mail
Chartered Organization         Brewster Lions Club                                             Westchester Putnam 388                  3 Rocco Dr                                             Brewster, NY 10509‐4002                                                                              First Class Mail
Chartered Organization         Brewster Lodge Of Elks 2101                                     Westchester Putnam 388                  P.O. Box 376                                           Brewster, NY 10509‐0376                                                                              First Class Mail
Voting Party                   Brewster Morhous, PLLC                                          Attn: William P Stafford, II            P.O. Box 529                                           Bluefield, WV 24701                                                wstafford@brewstermorhous.com     Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Brewster Police Assoc                                           Cape Cod and Islands Cncl 224           Rt 124                                                 Brewster, MA 02631                                                                                   First Class Mail
Chartered Organization         Brewton First Utd Methodist Church                              Gulf Coast Council 773                  P.O. Box 289                                           Brewton, AL 36427‐0289                                                                               First Class Mail
Voting Party                   Brian M Hayes                                                   422 Sand Creek Rd, Bldg 2, 229          Albany, NY 12205                                                                                                          brian.m.hayes6@gmail.com          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Brian P Williams                                                c/o Boy Scouts of America               Attn: Chase Koontz                                     1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Brian Steger                                                    Address Redacted                                                                                                                                                  Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Brian Tomlinson                                                 7183 Orchard St                         Riverside, CA 92504                                                                                                                                         First Class Mail
Chartered Organization         Briar Glen Ptc                                                  Three Fires Council 127                 1800 Briarcliffe Blvd                                  Wheaton, IL 60189‐8402                                                                               First Class Mail
Chartered Organization         Briarcliff Congregational Church                                Westchester Putnam 388                  30 S State Rd                                          Briarcliff Manor, NY 10510‐2250                                                                      First Class Mail
Chartered Organization         Briarcliff Manor Fire Dept                                      Westchester Putnam 388                  1111 Pleasantville Rd                                  Briarcliff Manor, NY 10510‐1603                                                                      First Class Mail
Voting Party                   Briargate Presbyterian Church In The United States Of America   Attn: Kathy Sturgeon                    2100 Upper Hunters Trace                               Louisville, KY 40216                                               briargatepc@gmail.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Briarwood Baptist Church                                        Northeast Georgia Council 101           1990 Robinhood Rd                                      Watkinsville, GA 30677                                                                               First Class Mail
Chartered Organization         Briarwood Baptist Church                                        Northeast Georgia Council 101           P.O. Box 122                                           Watkinsville, GA 30677‐0004                                                                          First Class Mail
Chartered Organization         Briarwood Parent Teacher Organization                           Heart of America Council 307            14101 S Brougham Dr                                    Olathe, KS 66062‐2085                                                                                First Class Mail
Chartered Organization         Brice Prairie Conservation Assoc                                Gateway Area 624                        County Hwy Z                                           Onalaska, WI 54650                                                                                   First Class Mail
Chartered Organization         Brice Prairie Lions Club                                        Gateway Area 624                        N5753 County Rd Ot                                     Onalaska, WI 54650                                                                                   First Class Mail
Chartered Organization         Brice Utd Methodist Church                                      Simon Kenton Council 441                3160 Brice Rd                                          Brice, OH 43109                                                                                      First Class Mail
Chartered Organization         Briceville Elementary School Pto                                Great Smoky Mountain Council 557        103 Slatestone Rd                                      Briceville, TN 37710‐2018                                                                            First Class Mail
Chartered Organization         Brick Avon Academy                                              Northern New Jersey Council, Bsa 333    219 Avon Ave                                           Newark, NJ 07108‐1502                                                                                First Class Mail
Voting Party                   Brick Chapel Um Church                                          Attn: Paul Fulp Pastor                  3547 State Rd 231                                      Greencastle, IN 46135                                              plumvalleyfarm@tds.net            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Brick Chapel Um Church                                          Joan Constance Beck                     6103 N Co Rd 500 E                                     Bainbridge, IN 46105                                               plumvalleyfarm@tds.net            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Brick Church Of The Brethren                                    Blue Ridge Mtns Council 599             2363 Brick Church Rd                                   Rocky Mount, VA 24151‐4017                                                                           First Class Mail
Voting Party                   Brick Presbyterian Church                                       Attn: Michael Thomas Kraynick           111 Drum Point Rd                                      Brick, NJ 08723                                                    brick.presbyterian@verizon.net    Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Brick Reformed Church                                           Hudson Valley Council 374               P.O. Box 114                                           Montgomery, NY 12549‐0114                                                                            First Class Mail
Chartered Organization         Bricolage Academy                                               Southeast Louisiana Council 214         3368 Esplanade Ave                                     New Orleans, LA 70119‐3132                                                                           First Class Mail
Voting Party                   Bridge Church Fellowship                                        P.O. Box 260                            Argenta, IL 62501                                                                                                         rkaufman561@gmail.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Bridge Church Fellowship                                        Attn: Laura E Richardson                132 S Water St, Ste 444                                Decatur, IL 62523                                                  lauraerichardson@hotmail.com      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bridge Community Church                                         Pine Burr Area Council 304              16121 Lorraine Rd                                      Biloxi, MS 39532‐7423                                                                                First Class Mail
Chartered Organization         Bridge Gate Community School                                    Simon Kenton Council 441                4060 Sullivant Ave                                     Columbus, OH 43228‐5102                                                                              First Class Mail
Chartered Organization         Bridge To Grace Church                                          Atlanta Area Council 092                2385 Holcomb Bridge Rd                                 Roswell, GA 30076‐3407                                                                               First Class Mail
Chartered Organization         Bridgegate Community School                                     Simon Kenton Council 441                4060 Sullivant Ave                                     Columbus, OH 43228‐5102                                                                              First Class Mail
Chartered Organization         Bridgepoint Elementary Boosters                                 Capitol Area Council 564                6401 Cedar St                                          Austin, TX 78746‐1316                                                                                First Class Mail
Chartered Organization         Bridgepointe                                                    Great Lakes Fsc 272                     21800 Haggerty Rd, Ste 205                             Northville, MI 48167‐8981                                                                            First Class Mail
Chartered Organization         Bridgeport Community Church                                     Water and Woods Council 782             P.O. Box 541                                           Bridgeport, MI 48722‐0541                                                                            First Class Mail
Chartered Organization         Bridgeport Elementary School                                    Crossroads of America 160               9035 W Morris St                                       Indianapolis, IN 46231‐1259                                                                          First Class Mail
Chartered Organization         Bridgeport Gun Club & Vfw Post 9931                             Water and Woods Council 782             3265 Roselle Dr                                        Saginaw, MI 48601                                                                                    First Class Mail
Chartered Organization         Bridgeport Lions Club                                           Longs Peak Council 062                  P.O. Box 430                                           Bridgeport, NE 69336‐0430                                                                            First Class Mail
Voting Party                   Bridgeport UMC                                                  Attn: Diane DiLuzio                     377 Rte 31                                             P.O. Box 369                      Bridgeport, NY 13030             dianed7246@gmail.com              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Bridgeport United Methodist Church                              Attn: Carol Benedict, Treasurer         9411 Lakeshore Rd                                      Bridgeport, NY 13030                                               mecarol@aol.com                   Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Bridgeport United Methodist Church                              Attn: John Bachman                      7901 Peck Rd                                           Bridgeport, NY 13030                                               kballach66@aol.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Bridgeport United Methodist Church                              Attn: Ken Ramsey                        251 Worthington Dr                                     Bridgeport, WV 26330                                               info@bridgeportumc.org            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Bridgeport United Methodist Church                              Ken Alan Ramsey                         251 Worthington Dr                                     Bridgeport, WV 26330                                               info@bridgeportumc.org            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bridgeport Volunteer Fire Dept                                  Garden State Council 690                P.O. Box 488                                           Bridgeport, NJ 08014‐0488                                                                            First Class Mail
Voting Party                   Bridger United Methodist Church                                 Attn: John G Scheetz                    220 W Broadway                                         P.O. Box 528                      Bridger, MT 59014                jscheetz@netzero.net              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bridger Utd Methodist Church                                    Montana Council 315                     222 N Broadway                                         Bridger, MT 59014                                                                                    First Class Mail
Chartered Organization         Bridges Of Hope Fellowship                                      Middle Tennessee Council 560            4023 Smithville Hwy                                    Mcminnville, TN 37110‐6533                                                                           First Class Mail
Chartered Organization         Bridgestone Hoa                                                 Sam Houston Area Council 576            4518 Shalom Creek Ln                                   Spring, TX 77388‐3929                                                                                First Class Mail
Chartered Organization         Bridgeton Police Dept                                           Greater St Louis Area Council 312       12355 Natural Bridge Rd                                Bridgeton, MO 63044‐2020                                                                             First Class Mail
Chartered Organization         Bridgeton Police Dept                                           Garden State Council 690                330 Fayette St                                         Bridgeton, NJ 08302‐2914                                                                             First Class Mail
Chartered Organization         Bridgetown Middle School Pta                                    Dan Beard Council, Bsa 438              5191 Clearlake Dr                                      Cincinnati, OH 45247‐7807                                                                            First Class Mail
Chartered Organization         Bridgeview Parent Teachers Assoc                                Illowa Council 133                      316 S 12th St                                          Le Claire, IA 52753‐9230                                                                             First Class Mail
Chartered Organization         Bridgeview Park District                                        Pathway To Adventure 456                8100 Beloit Ave                                        Bridgeview, IL 60455‐1683                                                                            First Class Mail
Chartered Organization         Bridgewater Church Of The Brethren                              Stonewall Jackson Council 763           420 College View Dr                                    Bridgewater, VA 22812‐3524                                                                           First Class Mail
Chartered Organization         Bridgewater Citizens Group                                      Daniel Webster Council, Bsa 330         Rfd 2                                                  Bridgewater, NH 03264                                                                                First Class Mail
Chartered Organization         Bridgewater Fire Rescue And Ems                                 Daniel Webster Council, Bsa 330         311 Mayhew Tpke                                        Bristol, NH 03222‐5215                                                                               First Class Mail
Chartered Organization         Bridgewater Middle School Ptsa                                  Central Florida Council 083             5600 Tiny Rd                                           Winter Garden, FL 34787‐9202                                                                         First Class Mail
Voting Party                   Bridgewater United Methodist Church                             Attn: Finance Chair                     35 School St                                           Bridgewater, MA 02324                                              hboudreau@aol.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Bridgewater United Methodist Church                             Attn: Alicia Velez Stewart              62 Crescent Dr                                         Bridgewater, MA 02324                                              avstewart@gmail.com               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Bridgeway Community Church                                      Baltimore Area Council 220              9189 Red Branch Rd                                     Columbia, MD 21045‐2013                                                                              First Class Mail
Voting Party                   Bridgeway Solutions, Inc                                        600 E Union St                          Morganton, NC 28655‐3458                                                                                                                                    First Class Mail
Chartered Organization         Bridgewood Church                                               Northern Star Council 250               6201 W 135th St                                        Savage, MN 55378‐4410                                                                                First Class Mail
Chartered Organization         Bridgton Lions Club                                             Pine Tree Council 218                   P.O. Box 103                                           Bridgton, ME 04009‐0103                                                                              First Class Mail
Chartered Organization         Brielle Fire Co No 1                                            Monmouth Council, Bsa 347               508 Longstreet Ave                                     Brielle, NJ 08730                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                            Page 39 of 442
                                                                                  Case 20-10343-LSS                                            Doc 8171                                     Filed 01/06/22                                           Page 55 of 457
                                                                                                                                                                         Exhibit B
                                                                                                                                                                          Service List
                                                                                                                                                                   Served as set forth below

        Description                                                        Name                                                                                        Address                                                                                                                             Email                    Method of Service
Voting Party                   Briensburg United Methodist Church                             Attn: Pastor, Briensburg Umc            1908 Briensburg Rd                                    Benton, KY 42025                                                                       bill@livingweb.onmicrosoft.com        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Brigade Boys And Girls Club                                    East Carolina Council 426               323 New River Dr                                      Jacksonville, NC 28540‐6028                                                                                                  First Class Mail
Chartered Organization         Brigadoon Civic League                                         Tidewater Council 596                   1705 Tweed Ct                                         Virginia Beach, VA 23464‐8137                                                                                                First Class Mail
Chartered Organization         Brigham City Community                                         Trapper Trails 589                      641 E 200 N                                           Brigham City, UT 84302‐2249                                                                                                  First Class Mail
Chartered Organization         Bright Futures‐Hale Creek                                      Great Lakes Fsc 272                     203 Boone Hall                                        Ypsilanti, MI 48197‐2212                                                                                                     First Class Mail
Chartered Organization         Bright Futures‐Romulus Elementary                              Great Lakes Fsc 272                     203 Boone Hall                                        Ypsilanti, MI 48197‐2212                                                                                                     First Class Mail
Chartered Organization         Bright Key ‐ Selma Street                                      Alabama‐Florida Council 003             1501 W Selma St                                       Dothan, AL 36301‐3335                                                                                                        First Class Mail
Voting Party                   Bright Star United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                                      erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bright Star Utd Methodist Church                               Atlanta Area Council 092                3715 Bright Star Rd                                   Douglasville, GA 30135‐3223                                                                                                  First Class Mail
Chartered Organization         Bright Star Utd Methodist Church                               Atlanta Area Council 092                3715 Bright Star Rd                                   Douglasville, GA 30135‐3223                                                                                                  First Class Mail
Chartered Organization         Brightmoor Community Center                                    Great Lakes Fsc 272                     14451 Burt Rd                                         Detroit, MI 48223‐2773                                                                                                       First Class Mail
Chartered Organization         Brighton Elks Lodge 1586                                       Denver Area Council 061                 101 N Main St                                         Brighton, CO 80601‐1626                                                                                                      First Class Mail
Chartered Organization         Brighton Fire Dept, Inc                                        Seneca Waterways 397                    3100 East Ave                                         Rochester, NY 14610‐3522                                                                                                     First Class Mail
Chartered Organization         Brighton First Utd Methodist Church                            Southern Shores Fsc 783                 400 E Grand River Ave                                 Brighton, MI 48116‐1516                                                                                                      First Class Mail
Chartered Organization         Brighton Lions Club                                            Southern Shores Fsc 783                 P.O. Box 99                                           Brighton, MI 48116‐0099                                                                                                      First Class Mail
Chartered Organization         Brighton Masonic Lodge 247                                     Attn: Charitable Giving Committee       P.O. Box 144                                          Brighton, MI 48116‐0144                                                                                                      First Class Mail
Chartered Organization         Brighton Optimist Club                                         Southern Shores Fsc 783                 P.O. Box 524                                          Brighton, MI 48116‐0524                                                                                                      First Class Mail
Chartered Organization         Brighton Police Dept                                           Seneca Waterways 397                    2300 Elmwood Ave                                      Rochester, NY 14618‐2145                                                                                                     First Class Mail
Chartered Organization         Brighton Rotary Club                                           Southern Shores Fsc 783                 555 Brighton St                                       Brighton, MI 48116‐1472                                                                                                      First Class Mail
Chartered Organization         Brighton Rotary Club                                           Seneca Waterways 397                    P.O. Box 18141                                        Rochester, NY 14618‐0141                                                                                                     First Class Mail
Chartered Organization         Brighton Township Vol Fire Co                                  Laurel Highlands Council 527            P.O. Box 498                                          Beaver, PA 15009‐0498                                                                                                        First Class Mail
Chartered Organization         Brighton Twp Volunteer Fire Dept                               Laurel Highlands Council 527            P.O. Box 498                                          Beaver, PA 15009‐0498                                                                                                        First Class Mail
Voting Party                   Brighton United Methodist Church                               Attn: Joel Kershaw                      625 S 8th Ave                                         Brighton, CO 80601                                                                     revkershaw@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Brightwood Concerned Parents                                   Greater Los Angeles Area 033            1850 W Hellman Ave                                    Alhambra, CA 91803‐3801                                                                                                      First Class Mail
Voting Party                   Brightwood Park United Methodist                               744 Jefferson St Nw                     Washington, DC 20011                                                                                                                         Sburgess4630@gmail.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Brightwood Ruritan Club                                        Stonewall Jackson Council 763           3807 Lillards Ford Rd                                 Brightwood, VA 22715‐1617                                                                                                    First Class Mail
Voting Party                   Brightwood Ruritan Club, Inc.                                  Attn: Andy Anderson                     4489 Hoover Rd                                        Reva, VA 22735                                                                         andy1@nexet.net                       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Brilliant Utd Methodist Church                                 Ohio River Valley Council 619           525 Labelle St                                        Brilliant, OH 43913‐1117                                                                                                     First Class Mail
Chartered Organization         Brimfield Evangelical Free Church                              W D Boyce 138                           11724 N Maher Rd                                      Brimfield, IL 61517‐9550                                                                                                     First Class Mail
Chartered Organization         Brimfield Firefighters Assoc, Inc                              Western Massachusetts Council 234       34A Wales Rd                                          Brimfield, MA 01010                                                                                                          First Class Mail
Voting Party                   Brimstone United Methodist Church                              600 Blenheim Hill Rd                    Jefferson, NY 12093                                                                                                                                                                First Class Mail
Voting Party                   Brinkley First United Methodist                                Attn: Katie Threat                      404 W Ash St                                          Brinkley, AR 72021                                                                     lraines@fridayfirm.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Brinnon Community Church                                       Chief Seattle Council 609               P.O. Box 151                                          Brinnon, WA 98320‐0151                                                                                                       First Class Mail
Chartered Organization         Bristol Congregational Church                                  Pine Tree Council 218                   P.O. Box 154                                          Bristol, ME 04539‐0154                                                                                                       First Class Mail
Chartered Organization         Bristol County Sheriffs Office                                 Narragansett 546                        400 Faunce Corner Rd                                  North Dartmouth, MA 02747‐1275                                                                                               First Class Mail
Chartered Organization         Bristol Elementary Pta                                         Pikes Peak Council 060                  890 N Walnut St                                       Colorado Springs, CO 80905‐1052                                                                                              First Class Mail
Voting Party                   Bristol Federated Church                                       William Elwell                          37 North St                                           Bristol                                                                                bristolfederated@gmail.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bristol Fire & Rescue                                          Three Harbors Council 636               8312 198th Ave                                        Bristol, WI 53104                                                                                                            First Class Mail
Voting Party                   Bristol Hill United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                                      erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Bristol Hill United Methodist Church                           4826 County Line Rd                     Kansas City, KS 66106                                                                                                                                                              First Class Mail
Chartered Organization         Bristol Hill Utd Methodist Church                              Heart of America Council 307            4826 County Line Rd                                   Kansas City, KS 66106‐3707                                                                                                   First Class Mail
Chartered Organization         Bristol Historical Society                                     Connecticut Rivers Council, Bsa 066     98 Summer St                                          Bristol, CT 06010‐5051                                                                                                       First Class Mail
Chartered Organization         Bristol Police Dept                                            Connecticut Rivers Council, Bsa 066     131 N Main St                                         Bristol, CT 06010‐8123                                                                                                       First Class Mail
Chartered Organization         Bristol Township Police Organization                           Washington Crossing Council 777         2501 Bath Rd                                          Bristol, PA 19007‐2150                                                                                                       First Class Mail
Chartered Organization         Bristol Train Of Artillery                                     Narragansett 546                        135 State St                                          Bristol, RI 02809‐2205                                                                                                       First Class Mail
Voting Party                   Bristol United Methodist Church                                Attn: William G Lewis                   P.O. Box 275                                          Bristol, IN 46507                                                                      gary.lewis@inumc.org                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Bristol United Methodist Church                                Attn: Charlotte Lake, Trustee           515 Racoon Run Blvd                                   Salem, WV 26426                                                                        calake47@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bristol Utd Methodist Church                                   Three Harbors Council 636               3463 213th Ave                                        Bristol, WI 53104‐9174                                                                                                       First Class Mail
Chartered Organization         Bristol Utd Methodist Church‐Wesley                            Three Harbors Council 636               8014 199th Ave                                        Bristol, WI 53104                                                                                                            First Class Mail
Chartered Organization         Bristolville Utd Methodist Church                              Great Trail 433                         P.O. Box 234                                          Bristolville, OH 44402‐0234                                                                                                  First Class Mail
Chartered Organization         Bristow First Church Of God                                    Indian Nations Council 488              320 S Walnut St                                       Bristow, OK 74010‐3030                                                                                                       First Class Mail
Chartered Organization         Bristow Run Elementary Pto                                     National Capital Area Council 082       8990 Worthington Dr                                   Bristow, VA 20136‐5701                                                                                                       First Class Mail
Voting Party                   Bristow Umc                                                    Bristow First United Methodist Church   P.O. Box 1138                                         Bristow, OK 74010                                                                      pastor@bristowmethodist.org           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         British International School                                   Of Chicago Lincoln Park                 714 W Eman St                                         Chicago, IL 60610                                                                                                            First Class Mail
Chartered Organization         British Intl Sch Charlotte                                     Mecklenburg County Council 415          7000 Endhaven Ln                                      Charlotte, NC 28277‐2370                                                                                                     First Class Mail
Chartered Organization         Britton Elementary Pto                                         Simon Kenton Council 441                4501 Britton Pkwy                                     Hilliard, OH 43026‐9446                                                                                                      First Class Mail
Chartered Organization         Broad Channel Volunteer Fire District                          Greater New York Councils, Bsa 640      15 Noel Rd                                            Broad Channel, NY 11693‐1037                                                                                                 First Class Mail
Voting Party                   Broad Cove Church                                              Attn: Anne Roundy                       456 River Rd                                          Cushing, ME 04563                                                                      revaroundy@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Broad Street Christian Church                                  Blue Ridge Mtns Council 599             106 Broad St                                          Martinsville, VA 24112‐2804                                                                                                  First Class Mail
Chartered Organization         Broad Street Methodist Church Mens Club                        Cherokee Area Council 556               P.O. Box 3                                            Cleveland, TN 37364‐0003                                                                                                     First Class Mail
Voting Party                   Broad Street Um Church                                         Attn: Dee Evans                         P.O. Box 13                                           Weston, WV 26452                                                                       wessan001@aol.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Broad Street United Methodist Church                           Attn: Steve Keck                        310 N Broad St                                        Clinton, SC 29325                                                                      steve.keck@broadstreet‐umc.org        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Broad Street United Methodist Church                           Rachel Ann Barnhart                     74 North Broad St                                     Norwich, NY 13815                                                                      bsumcnorwich@gmail.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Broad Street United Methodist Church                           Attn: Rachel Ann Barnhart               74 N Broad St                                         Norwich, NY 13815                                                                      bsumc8@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Broadalbin Memorial Vfw Post 8690                              Twin Rivers Council 364                 19 Pine St                                            Broadalbin, NY 12025                                                                                                         First Class Mail
Chartered Organization         Broadfording Fellowship Ch, Brethren                           Mason Dixon Council 221                 14010 Greencastle Pike                                Hagerstown, MD 21740‐2343                                                                                                    First Class Mail
Chartered Organization         Broadkiln Marina                                               Del Mar Va 081                          13795 Coastal Hwy                                     Milton, DE 19968‐3724                                                                                                        First Class Mail
Chartered Organization         Broadleigh Elementary                                          Simon Kenton Council 441                3039 Maryland Ave                                     Columbus, OH 43209‐1538                                                                                                      First Class Mail
Chartered Organization         Broadmoor Elementary Pto                                       Evangeline Area 212                     609 Broadmoor Blvd                                    Lafayette, LA 70503‐5205                                                                                                     First Class Mail
Chartered Organization         Broadmoor Rotary Club                                          Pikes Peak Council 060                  P.O. Box 1443                                         Colorado Springs, CO 80901‐1443                                                                                              First Class Mail
Voting Party                   Broadmoor United Methodist Church                              Attn: Doris Brown                       10230 Mollylea Dr                                     Baton Rouge, LA 70815                                                                  dbrown@broadmoormethodist.org         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Broadmoor United Methodist Church Of Shreveport, Louisiana     Attn: Terry A Love                      3715 Youree Dr                                        Shreveport, LA 71105                                                                   terry@broadmoorumc.org                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Broadmoor Utd Methodist Church                                 Norwela Council 215                     3715 Youree Dr                                        Shreveport, LA 71105‐2131                                                                                                    First Class Mail
Chartered Organization         Broadneck Scouting Assoc, Inc                                  Baltimore Area Council 220              P.O. Box 969                                          Severna Park, MD 21146‐0969                                                                                                  First Class Mail
Chartered Organization         Broadview Fire Dept                                            Pathway To Adventure 456                2400 S 25th Ave                                       Broadview, IL 60155‐3859                                                                                                     First Class Mail
Voting Party                   Broadway Christian Parish Umc, South Bend In                   Attn: Treasurer                         1412 S Carroll St                                     South Bend, IN 46613                                                                   broadwayum1412@gmail.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Broadway Methodist Episcopal Church Of Kansas City, Missouri   Attn: Rev Steven Jones                  406 W 74th St                                         Kansas City, MO 64114                                                                  KeystoneChurchOffice@gmail.com        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Broadway Presbyterian Church                                   Greater New York Councils, Bsa 640      601 W 114th St                                        New York, NY 10025‐7906                                                                                                      First Class Mail
Voting Party                   Broadway Umc                                                   3338 N Broadway                         Chicago, IL 60657                                                                                                                            pastoralkalyall@gmail.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Broadway United Methodist Church                               309 E Broadway Ave                      Maryville, TN 37804                                                                                                                          Office@broadwayumc.net                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Broadway United Methodist Church                               Attn: Laura Vincent                     1323 Melnse St                                        Bowling Green, KY 42104                                                                lvincent@broadwayunited.org           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Broadway United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                                      erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Broadway United Methodist Church                               Attn: Trustees                          120 Church Ave Se                                     New Philadelphia, OH 44663                                                             bumc@broadway‐umc.org                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Broadway United Methodist Church ‐ Plattsburg                  Attn: Craig Mattke                      301 W Broadway St                                     P.O. Box 386                      Plattsburg, MO 64477                                 Soundtech@plattsburgbumc.org          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Broadway United Methodist Church Of Council Bluffs Iowa        Attn: Rev Alexis Johnson                11 S 1st St                                           Council Bluffs, IA 51503                                                               pastors@broadwayunitedmethodist.com   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Broadway United Methodist Church Of Council Bluffs Iowa        c/o Smith Peterson Law Firm LLP         Attn: Marvin O Kieckhafer                             133 W Broadway                    P.O. Box 249              Council Bluffs, IA 51502   mok@smithpeterson.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Broadway Utd Methodist Church                                  Mid‐America Council 326                 11 S 1st St                                           Council Bluffs, IA 51503‐4315                                                                                                First Class Mail
Chartered Organization         Broadway Utd Methodist Church                                  Heart of America Council 307            406 W 74th St                                         Kansas City, MO 64114‐1329                                                                                                   First Class Mail
Chartered Organization         Broadway‐Timberville Ruritan Club                              Stonewall Jackson Council 763           P.O. Box 64                                           Broadway, VA 22815‐0064                                                                                                      First Class Mail
Voting Party                   Brock United Methodist                                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                                      erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Brock United Methodist                                         127 Lazy Bend Rd                        Brock, TX 76087                                                                                                                                                                    First Class Mail
Chartered Organization         Brock Utd Methodist Church                                     Longhorn Council 662                    127 Lazy Bend Rd                                      Brock, TX 76087‐9664                                                                                                         First Class Mail
Chartered Organization         Brockport Fire Dept                                            Seneca Waterways 397                    38 Market St                                          Brockport, NY 14420‐1934                                                                                                     First Class Mail
Chartered Organization         Brockport Police Dept                                          Seneca Waterways 397                    1 Clinton St                                          Brockport, NY 14420‐1803                                                                                                     First Class Mail
Voting Party                   Brockport United Methodist Church                              Attn: Eric Michael Helms                92 Main St                                            Brockport, NY 14420                                                                    pastorerichelms@gmail.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Brockport United Methodist Church (85264)                      c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228                                 lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Brockway Township Fire Dept                                    Water and Woods Council 782             7644 Brockway Rd                                      Brockway, MI 48097‐3408                                                                                                      First Class Mail
Voting Party                   Brodhead United Methodist Church                               Attn: Rev Kook Ho Kim                   501 1st Center Ave                                    Brodhead, WI 53520                                                                     pastor.brodheadumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Brodnax UMC                                                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                                      erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Brogden Methodist Church                                       Tuscarora Council 424                   2918 S US 117 Hwy                                     Dudley, NC 28333‐5100                                                                                                        First Class Mail
Chartered Organization         Brogden Primary School                                         Tuscarora Council 424                   2253 Old Mt Olive Hwy                                 Dudley, NC 28333‐6321                                                                                                        First Class Mail
Chartered Organization         Brogden Utd Methodist Church                                   Tuscarora Council 424                   2918 US Hwy 13 S                                      Dudley, NC 28333                                                                                                             First Class Mail
Voting Party                   Broghan Noelle Hunt                                            1606 Clayhill Ave                       Hacienda Heights, CA 91745                                                                                                                   pastorbroghan@gmail.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Broken Arrow Elementary Pta                                    Heart of America Council 307            5901 Alden St                                         Shawnee, KS 66216‐3849                                                                                                       First Class Mail
Chartered Organization         Broken Arrow Elks Lodge 2673                                   Indian Nations Council 488              10266 S 241st East Ave                                Broken Arrow, OK 74014‐3746                                                                                                  First Class Mail
Chartered Organization         Broken Now Elks 1688                                           Overland Trails 322                     625 S 10th Ave                                        Broken Bow, NE 68822‐2413                                                                                                    First Class Mail
Voting Party                   Bronson First United Methodist Church                          Attn: Samuel Gordy                      312 E Chicago St                                      Bronson, MI 49028                                                                      bronsonumc@charter.net                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bronx County District Attorney'S Office                        Greater New York Councils, Bsa 640      198 E 161st St                                        Bronx, NY 10451‐3536                                                                                                         First Class Mail
Chartered Organization         Bronx Devt & Enrichment Initiative                             Greater New York Councils, Bsa 640      576 E 165th St                                        Bronx, NY 10456‐6860                                                                                                         First Class Mail
Voting Party                   Bronx: Epworth United Methodist Church                         Attn: Jessica Ellis, CFO                475 Riverside Dr, Ste 1922                            New York, NY 10115                                                                     jellis@umcitysociety.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Bronxville Group Of Citizens                                   Westchester Putnam 388                  1820 Midland Ave                                      Bronxville, NY 10708‐6019                                                                                                    First Class Mail
Chartered Organization         Bronxville Scout Committee, Inc                                Westchester Putnam 388                  P.O. Box 630                                          Bronxville, NY 10708‐0630                                                                                                    First Class Mail
Chartered Organization         Brook Crossing Estates Homeowners Assn                         Three Fires Council 127                 P.O. Box 2953                                         Naperville, IL 60567‐2953                                                                                                    First Class Mail
Voting Party                   Brook Hill United Methodist Church                             Attn: Treasurer, Brook Hill Umc         8946 Indian Springs Rd                                Frederick, MD 21702                                                                    wgooding@bhumc.org                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Brook Hollow Christian Church                                  Texas Trails Council 561                2310 S Willis St                                      Abilene, TX 79605‐6226                                                                                                       First Class Mail
Chartered Organization         Brook Park Council                                             Pathway To Adventure 456                1214 Raymond Ave                                      La Grange Park, IL 60526‐1362                                                                                                First Class Mail
Chartered Organization         Brook Utd Methodist Church                                     Sagamore Council 162                    124 E Main St                                         Brook, IN 47922‐8866                                                                                                         First Class Mail
Chartered Organization         Brookdale Uni Hospital Med Ctr                                 Greater New York Councils, Bsa 640      1 Brookdale Plz                                       Brooklyn, NY 11212‐3139                                                                                                      First Class Mail
Firm                           Brooke F Cohen Law                                             Brooke F. Cohen, Esq                    4318 Glenwick Lane                                    Dallas, TX 75205                                                                       bsaclaims@cohenhirsch.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Brookfield ‐ Congregational Church                             Heart of New England Council 230        8 Common St                                           Brookfield, MA 01506                                                                                                         First Class Mail
Chartered Organization         Brookfield Academy                                             Potawatomi Area Council 651             3460 N Brookfield Rd                                  Brookfield, WI 53045‐2523                                                                                                    First Class Mail
Chartered Organization         Brookfield Jaycees                                             Potawatomi Area Council 651             P.O. Box 135                                          Brookfield, WI 53008‐0135                                                                                                    First Class Mail
Chartered Organization         Brookfield Rotary Club                                         French Creek Council 532                P.O. Box 88                                           Brookfield, OH 44403‐0088                                                                                                    First Class Mail
Chartered Organization         Brookfield Swimming Club                                       National Capital Area Council 082       P.O. Box 220067                                       Chantilly, VA 20153‐0067                                                                                                     First Class Mail
Chartered Organization         Brookhaven College                                             Circle Ten Council 571                  3939 Valley View Ln                                   Farmers Branch, TX 75244‐4906                                                                                                First Class Mail
Chartered Organization         Brookhaven Community Assoc                                     Mountaineer Area 615                    1186 E 2nd St                                         Morgantown, WV 26508‐8726                                                                                                    First Class Mail
Chartered Organization         Brookhaven Police Dept                                         Atlanta Area Council 092                2665 Buford Hwy Ne                                    Atlanta, GA 30324‐3239                                                                                                       First Class Mail
Chartered Organization         Brookings Elks Lodge 1934                                      Oregon Trail Council 697                800 Elk Dr                                            Brookings, OR 97415‐9648                                                                                                     First Class Mail
Chartered Organization         Brookings Harbor Lions Club                                    Oregon Trail Council 697                524 Pine St A                                         Brookings, OR 97415‐9611                                                                                                     First Class Mail
Chartered Organization         Brookland Baptist Church                                       Indian Waters Council 553               1066 Sunset Blvd                                      West Columbia, SC 29169‐6862                                                                                                 First Class Mail
Chartered Organization         Brookland Volunteer Fire Dept                                  Quapaw Area Council 018                 P.O. Box 396                                          Brookland, AR 72417‐0396                                                                                                     First Class Mail
Chartered Organization         Brookland Volunteer Fire Dept Auxiliary                        Quapaw Area Council 018                 P.O. Box 369                                          Brookland, AR 72417‐0369                                                                                                     First Class Mail
Chartered Organization         Brooklawn Fire Co                                              Garden State Council 690                100 S Wilson Ave                                      Brooklawn, NJ 08030‐2737                                                                                                     First Class Mail
Chartered Organization         Brooklawn Youth Services                                       Lincoln Heritage Council 205            2125 Goldsmith Ln                                     Louisville, KY 40218‐1206                                                                                                    First Class Mail
Voting Party                   Brooklet United Methodist Church                               Attn: William A Strickland Jr           P.O. Box 290                                          201 Parker Ave                    Brooklet, GA 30415                                   chip@brookletumc.org                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Brooklet Utd Methodist Church                                  Coastal Georgia Council 099             P.O. Box 296                                          Brooklet, GA 30415‐0296                                                                                                      First Class Mail
Chartered Organization         Brooklyn Center Police Dept                                    Northern Star Council 250               6645 Humboldt Ave N                                   Brooklyn Center, MN 55430‐1810                                                                                               First Class Mail
Chartered Organization         Brooklyn Chinese American Assoc                                Greater New York Councils, Bsa 640      5000 8th Ave                                          Brooklyn, NY 11220‐2221                                                                                                      First Class Mail
Chartered Organization         Brooklyn Chinese American Assoc                                Greater New York Councils, Bsa 640      5002 8th Ave                                          Brooklyn, NY 11220‐2221                                                                                                      First Class Mail
Chartered Organization         Brooklyn Elementary School Pto                                 Hoosier Trails Council 145 145          251 N Church St                                       Brooklyn, IN 46111‐9711                                                                                                      First Class Mail
Chartered Organization         Brooklyn Fire Dept                                             Lake Erie Council 440                   8400 Memphis Ave                                      Cleveland, OH 44144‐2125                                                                                                     First Class Mail
Chartered Organization         Brooklyn Firefighters Local 1145                               Lake Erie Council 440                   8400 Memphis Ave                                      Cleveland, OH 44144‐2125                                                                                                     First Class Mail
Chartered Organization         Brooklyn Lanes Bowling Center                                  Southern Shores Fsc 783                 11522 Brooklyn Rd                                     Brooklyn, MI 49230‐8486                                                                                                      First Class Mail
Chartered Organization         Brooklyn Omalley Recl Center                                   Baltimore Area Council 220              3560 3rd St                                           Baltimore, MD 21225‐1809                                                                                                     First Class Mail
Chartered Organization         Brooklyn Park Fire Dept                                        Northern Star Council 250               5700 85th Ave N                                       Brooklyn Park, MN 55443‐1819                                                                                                 First Class Mail
Chartered Organization         Brooklyn Park Police Dept                                      Northern Star Council 250               5400 85th Ave N                                       Brooklyn Park, MN 55443‐1823                                                                                                 First Class Mail
Chartered Organization         Brooklyn Sportsmans Club                                       Southern Shores Fsc 783                 P.O. Box 713                                          Brooklyn, MI 49230‐0713                                                                                                      First Class Mail
Chartered Organization         Brooklyn Usd 88                                                Greater St Louis Area Council 312       800 Madison St                                        Lovejoy, IL 62059‐5306                                                                                                       First Class Mail
Chartered Organization         Brooklyn Utd Methodist Church                                  Northern Star Council 250               7200 Brooklyn Blvd                                    Brooklyn Center, MN 55429‐1238                                                                                               First Class Mail
Chartered Organization         Brooklyn Utd Methodist Church                                  Glaciers Edge Council 620               201 Church St                                         Brooklyn, WI 53521‐9401                                                                                                      First Class Mail
Chartered Organization         Brooklyn Volunteer Fire Dept, Inc                              Hoosier Trails Council 145 145          P.O. Box 27                                           Brooklyn, IN 46111‐0027                                                                                                      First Class Mail
Chartered Organization         Brookpark Utd Methodist Church                                 Lake Erie Council 440                   6220 Smith Rd                                         Brook Park, OH 44142‐3338                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                          Page 40 of 442
                                                                                    Case 20-10343-LSS                                                       Doc 8171                                         Filed 01/06/22                                            Page 56 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                          Name                                                                                                       Address                                                                                                            Email               Method of Service
Chartered Organization         Brooks Academies                                             Alamo Area Council 583                                 6070 Babcock Rd                                           San Antonio, TX 78240‐2138                                                                             First Class Mail
Voting Party                   Brooks Memorial United Methodist Church                      Attn: Xiomara Gumbs‐Webb                               143‐22 109th Ave                                          Jamaica, NY 11435                                                   brooksmemorial@aol.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brooks School Elementary Pto                                 Crossroads of America 160                              12451 Brooks School Rd                                    Fishers, IN 46037‐9745                                                                                 First Class Mail
Chartered Organization         Brooks Utd Methodist Church                                  Flint River Council 095                                P.O. Box 57                                               Brooks, GA 30205‐0057                                                                                  First Class Mail
Chartered Organization         Brookside Baptist Church                                     Indian Nations Council 488                             3615 S Peoria Ave                                         Tulsa, OK 74105‐3243                                                                                   First Class Mail
Chartered Organization         Brookside Community Church                                   Anthony Wayne Area 157                                 6102 Evard Rd                                             Fort Wayne, IN 46835‐1891                                                                              First Class Mail
Chartered Organization         Brookside Elementary Pta                                     Simon Kenton Council 441                               6700 Mcvey Blvd                                           Columbus, OH 43235‐2820                                                                                First Class Mail
Chartered Organization         Brookside School                                             Connecticut Yankee Council Bsa 072                     382 Highland Ave                                          Norwalk, CT 06854‐3423                                                                                 First Class Mail
Voting Party                   Brookside United Methodist Church                            Attn: Dennis Whitehead                                 1865 Von Horn Rd                                          Jackson, MI 49201                                                   dwhite49201@gmail.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brookside Utd Methodist Church                               Southern Shores Fsc 783                                4000 Francis St                                           Jackson, MI 49203‐5436                                                                                 First Class Mail
Chartered Organization         Brookside Village Volunteer Fire Dept                        Bay Area Council 574                                   6243 Brookside Rd                                         Pearland, TX 77581‐2045                                                                                First Class Mail
Voting Party                   Brookston Untied Methodist Church                            Attn: Rev. Melinda Huffman Or Kirk Grumm, Trustee Ch   206 E 4th St P.O. Box 216                                 Brookston, IN 47923                                                 pastor@brookstonumc.org            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brookston Utd Methodist Church                               Sagamore Council 162                                   328 N Wood St                                             Brookston, IN 47923                                                                                    First Class Mail
Voting Party                   Brookstown                                                   c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Brooksville First Umc                                        c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Brooksville United Methodist Church                          Attn: Rebecca Poole‐Heyne Layleader Bumc               P.O. Box 34                                               Brooksville, ME 04617                                               rph0425@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brooksville Utd Methodist Church                             Blue Grass Council 204                                 P.O. Box 145                                              Brooksville, KY 41004‐0145                                                                             First Class Mail
Chartered Organization         Brookview Elementary                                         Atlanta Area Council 092                               3250 Hammarskjold Dr                                      East Point, GA 30344‐6318                                                                              First Class Mail
Chartered Organization         Brookview School Pto                                         Blackhawk Area 660                                     1750 Madron Rd                                            Rockford, IL 61107‐2459                                                                                First Class Mail
Voting Party                   Brookville Community Umc                                     Attn: Christina Miller                                 114 Hay Ave                                               P.O. Box 172                      Brookville, OH 45309              bcumchurch@gmail.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brookville Evangelical Utd Methodist Ch                      Bucktail Council 509                                   30 S White St                                             Brookville, PA 15825‐2420                                                                              First Class Mail
Voting Party                   Brookville First United Methodist Church                     Attn: Jack Florkey                                     963 Salem St                                              Brookville, OH 45309                                                brookvillefirstumc@gmail.com       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Brookville Oh First United Methodist Church                  Attn: Jack A Floekey                                   P.O. Box 92                                               Brookville, OH 45309                                                jflorkey@wildblue.net              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brookville Presbyterian Church                               Bucktail Council 509                                   100 White St                                              Brookville, PA 15825‐1208                                                                              First Class Mail
Voting Party                   Brookville United Methodist Church                           Attn: Treasurer                                        150 E 8th St                                              Brookville, IN 47012                                                steve.rundel@inumc.org             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Brookwood Community Church                                   580 Brookwood Point Pl                                 Simpsonville, SC 29681                                                                                                        david.hardy@brookwoodchurch.org    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brookwood Elementary School Pta                              Northeast Georgia Council 101                          2980 Vaughan Dr                                           Cumming, GA 30041‐7308                                                                                 First Class Mail
Voting Party                   Broomfield United Methodist Church                           Attn: Mindy J Davidson                                 545 W 10th Ave                                            Broomfield, CO 80020                                                mindy.davidson@broomfieldumc.org   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brosville Volunteer Fire Dept                                Blue Ridge Mtns Council 599                            11912 Martinsville Hwy                                    Danville, VA 24541‐0873                                                                                First Class Mail
Chartered Organization         Brother William Scott Jr Sigma Beta Club                     Garden State Council 690                               P.O. Box 341                                              Willingboro, NJ 08046‐0341                                                                             First Class Mail
Chartered Organization         Brotherhood First Methodist Church                           Middle Tennessee Council 560                           3131 Browns Mill Rd                                       Cookeville, TN 38506‐6217                                                                              First Class Mail
Chartered Organization         Brotherhood Masonic Lodge 375                                Greater Tampa Bay Area 089                             8344 Natoma St                                            Brooksville, FL 34606‐2171                                                                             First Class Mail
Chartered Organization         Brotherhood Of Congregation Emanuel                          Sam Houston Area Council 576                           1500 Sunset Blvd                                          Houston, TX 77005‐1845                                                                                 First Class Mail
Chartered Organization         Brotherhood Of St Johns‐Evangelical                          Northern New Jersey Council, Bsa 333                   145 Mortimer Ave                                          Rutherford, NJ 07070‐1614                                                                              First Class Mail
Chartered Organization         Brotherhood Of Temple Beth Israel                            Sam Houston Area Council 576                           5600 N Braeswood Blvd, Ste B                              Houston, TX 77096‐2924                                                                                 First Class Mail
Chartered Organization         Brotherhood‐Luther Memorial Church                           Northern Star Council 250                              315 15th Ave N                                            South St Paul, MN 55075‐1822                                                                           First Class Mail
Chartered Organization         Brougham Elementary Pto                                      Heart of America Council 307                           15500 S Brougham Dr                                       Olathe, KS 66062‐3100                                                                                  First Class Mail
Chartered Organization         Brouse, Woodke, Meyer Pllp                                   Voyageurs Area 286                                     P.O. Box 1273                                             Bemidji, MN 56619‐1273                                                                                 First Class Mail
Chartered Organization         Broussard Larriviere Trahan Vfw 9210                         Evangeline Area 212                                    207 Ave B                                                 Youngsville, LA 70592‐5716                                                                             First Class Mail
Chartered Organization         Browerville Vets Club                                        Central Minnesota 296                                  720 7th St E                                              Browerville, MN 56438                                                                                  First Class Mail
Voting Party                   Brown & Bigelow Licensing Co                                 345 Plato Blvd E                                       Saint Paul, MN 55107‐1211                                                                                                                                        First Class Mail
Chartered Organization         Brown City Rotary Club                                       Water and Woods Council 782                            4400 2nd St                                               Brown City, MI 48416‐7742                                                                              First Class Mail
Chartered Organization         Brown Deer Elementary Pto                                    Three Harbors Council 636                              5757 W Dean Rd                                            Brown Deer, WI 53223‐2946                                                                              First Class Mail
Chartered Organization         Brown Elementary School Pta                                  Greater Alabama Council 001                            4811 Court J                                              Birmingham, AL 35208‐1720                                                                              First Class Mail
Chartered Organization         Brown Memorial Baptist Church                                Greater New York Councils, Bsa 640                     484 Washington Ave                                        Brooklyn, NY 11238‐2304                                                                                First Class Mail
Chartered Organization         Brown Memorial Church                                        Greater New York Councils, Bsa 640                     484 Washington Ave                                        Brooklyn, NY 11238‐2304                                                                                First Class Mail
Voting Party                   Brown Memorial United Methodist Church                       Attn: Pastor Chong Choi                                36 Church St                                              Clinton, ME 04927                                                   choichong@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Brown Memorial United Methodist Church                       Attn: Trustees                                         228 Davis St                                              Syracuse, NY 13204                                                  bjnorrix@aol.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brown Resident Camp                                          Coronado Area Council 192                              1038 1935 Ln                                              Abilene, KS 67410‐6374                                                                                 First Class Mail
Chartered Organization         Brown Street Academy                                         Three Harbors Council 636                              2020 N 20th St                                            Milwaukee, WI 53205‐1139                                                                               First Class Mail
Voting Party                   Brown Summit United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Firm                           Brown, LLC                                                   Jason T. Brown                                         111 Town Square Place, Ste 400                            Jersey City, NJ 07310                                               cocozguan@jtblawgroup.com          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Browne Academy                                               National Capital Area Council 082                      5917 Telegraph Rd                                         Alexandria, VA 22310‐2234                                                                              First Class Mail
Chartered Organization         Brownell Parents Group                                       Water and Woods Council 782                            6302 Oxley Dr                                             Flint, MI 48504‐1673                                                                                   First Class Mail
Chartered Organization         Brownell Talbot School                                       Mid‐America Council 326                                400 N Happy Hollow Blvd                                   Omaha, NE 68132‐2106                                                                                   First Class Mail
Chartered Organization         Browning Community Society                                   Montana Council 315                                    312 1st Ave Sw                                            Browning, MT 59417                                                                                     First Class Mail
Chartered Organization         Browning Elementary                                          Sam Houston Area Council 576                           607 Northwood St                                          Houston, TX 77009‐4510                                                                                 First Class Mail
Voting Party                   Browns Mills United Methodist                                c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Browns Mills Utd Methodist Church                            Garden State Council 690                               2 Pemberton Blvd                                          Browns Mills, NJ 08015                                                                                 First Class Mail
Chartered Organization         Browns Point Improvement Club                                Pacific Harbors Council, Bsa 612                       5125 Tok A Lou Ave Ne                                     Tacoma, WA 98422                                                                                       First Class Mail
Voting Party                   Browns Point Umc                                             c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Browns Utd Methodist Church                                  West Tennessee Area Council 559                        181 Mcleary Rd                                            Jackson, TN 38305‐6294                                                                                 First Class Mail
Chartered Organization         Brownsburg Police Dept                                       Crossroads of America 160                              31 N Green St                                             Brownsburg, IN 46112‐1282                                                                              First Class Mail
Chartered Organization         Brownstown Lions Club                                        Hoosier Trails Council 145 145                         206 S Main St                                             Brownstown, IN 47220                                                                                   First Class Mail
Voting Party                   Brownstown Lions Club, Inc.                                  Attn: Matthew J. Lorenzo                               218 W 2nd St                                              Seymour, IN 47274                                                   mjlorenzo@jefflorenzo.com          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brownsville 1St Utd Methodist Ch                             West Tennessee Area Council 559                        117 E Franklin St                                         Brownsville, TN 38012‐2136                                                                             First Class Mail
Voting Party                   Brownsville Community United Methodist Church West Windsor   P.O. Box 176                                           Brownsville, VT 05037                                                                                                         rev.chuebner@gmail.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brownsville Police                                           Rio Grande Council 775                                 2900 Southmost Rd                                         Brownsville, TX 78521‐4787                                                                             First Class Mail
Voting Party                   Brownville Junction United Methodist Church                  Attn: Pastor Stephen Dean                              P.O. Box 372                                              Brownville Jct, ME 04415                                            bjdean52@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Brownville United Methodist Church                           Attn: Sandra L Johnson                                 24407 Corte 54                                            Dexter, NY 13634                                                    schristie1966@gmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brownville Volunteer Fire Dept                               P.O. Box 2                                             Brownville, NY 13615                                                                                                                                             First Class Mail
Chartered Organization         Bruce Collins Elementary Pto                                 Great Lakes Fsc 272                                    12900 Grand Haven Dr                                      Sterling Heights, MI 48312‐3223                                                                        First Class Mail
Chartered Organization         Bruce Craig Elementary                                       Tukabatchee Area Council 005                           108 Craig Industrial Park                                 Selma, AL 36701‐8138                                                                                   First Class Mail
Voting Party                   Bruce Hearn                                                  1504 Park Lake Dr                                      Newburgh, NY 12550                                                                                                            positivebruce43@gmail.com          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bruce Kelleher, Inc                                          3246 Garden Brook Dr                                   Farmers Branch, TX 75234‐2309                                                                                                                                    First Class Mail
Voting Party                   Bruce McDonald Memorial United Methodist Church              104 E McDonald Ave                                     Man, WV 25635                                                                                                                 bmmumc@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bruce Mcdonald Memorial Utd Methodist Ch                     Buckskin 617                                           102 Bridge St                                             Man, WV 25635                                                                                          First Class Mail
Chartered Organization         Bruce'S Mobil Glass & Screen                                 Greater Yosemite Council 059                           110 John Muir Ct                                          Modesto, CA 95350‐6120                                                                                 First Class Mail
Chartered Organization         Bruceton Lions Club                                          West Tennessee Area Council 559                        40 Bayless Ave                                            Bruceton, TN 38317‐2422                                                                                First Class Mail
Voting Party                   Bruceton United Methodist Church                             Attn: Sheila M Marks                                   1003 E High St                                            Oakland, MD 21550                                                   sheilamarks83@gmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Brucetown UMC                                                c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Brucetown United Methodist Church                            Attn: Patricia Edens                                   2035 Brucetown Rd                                         Clear Brook, VA 22624                                               patriciaedens101@comcast.net       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bruceville Eddy United Methodist Church ‐ Eddy               c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradely.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bruceville Eddy United Methodist Church ‐ Eddy               404 W 3rd St                                           Eddy, TX 76524                                                                                                                                                   First Class Mail
Chartered Organization         Bruington Baptist Church                                     Heart of Virginia Council 602                          4784 the Trl                                              Bruington, VA 23023‐4125                                                                               First Class Mail
Chartered Organization         Brumby Elementary School                                     Atlanta Area Council 092                               1306 Powers Ferry Rd Se                                   Marietta, GA 30067‐5410                                                                                First Class Mail
Voting Party                   Bruner Frank Schumacher, L.L.C.                              Attn: Bergan E Schumacher                              5804 1st Ave                                              P.O. Box 2230                     Keaney, NE 68848                  bschmacher@brunerfrank.com         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bruner Frank Schumacher, LLC                                 Attn: Bergan E Schumacher                              5804 1st Ave                                              P.O. Box 2230                     Kearney, NE 68848                 bschumacher@brunerfrank.com        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bruning Enterprises, Inc.                                    Loretta Arlene Bruning                                 7718 N State Rd 9                                         Shelbyville, IN 46176                                               lbruning@bruningenterprises.com    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Brunnerville United Methodist Church                         517 Pine Hill Rd                                       Lititz, PA 17543                                                                                                              steve@lititzumc.org                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brunnsum Scouting Assoc                                      Transatlantic Council, Bsa 802                         Psc 7 Box 374                                             Apo, AE 09104‐0004                                                                                     First Class Mail
Chartered Organization         Brunssum Support Group                                       Transatlantic Council, Bsa 802                         Cmr 460                                                   Apo, AE 09703                                                                                          First Class Mail
Chartered Organization         Brunswick Island Baptist Church                              Cape Fear Council 425                                  1672 Mt Pisgah Rd Sw                                      Supply, NC 28462‐5404                                                                                  First Class Mail
Chartered Organization         Brunswick Lions Club                                         National Capital Area Council 082                      P.O. Box 31                                               Brunswick, MD 21716‐0031                                                                               First Class Mail
Chartered Organization         Brunswick Lodge 2556 Bpoe ‐ Elks                             Twin Rivers Council 364                                665 Brunswick Rd                                          Troy, NY 12180‐6909                                                                                    First Class Mail
Chartered Organization         Brunswick Police Dept                                        Pine Tree Council 218                                  85 Pleasant St                                            Brunswick, ME 04011‐2204                                                                               First Class Mail
Chartered Organization         Brunswick Reformed Church                                    Great Trail 433                                        3535 Grafton Rd                                           Brunswick, OH 44212‐4602                                                                               First Class Mail
Chartered Organization         Brunswick Sportsman'S Club                                   Twin Rivers Council 364                                P.O. Box 21                                               Cropseyville, NY 12052‐0021                                                                            First Class Mail
Voting Party                   Brunswick United Methodist                                   Attn: Pastor                                           1395 Pearl Rd                                             P.O. Box 85                       Brunswick, OH 44212               office@brunswickumc.org            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Brunswick United Methodist Church                            Attn: Rev Sharon Lovejoy                               320 Church Rd                                             Brunswick, ME 04011                                                 office@umcbrunswick.org            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Brunswick United Methodist Church Of Crystal, Minnesota      Attn: Andrew J Stoebner                                120 S 6th St, Ste 2500                                    Minneapolis, MN 55402                                               astoebner@lapplibra.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Brunswick Utd Methodist Church                               Great Trail 433                                        P.O. Box 85                                               Brunswick, OH 44212‐0085                                                                               First Class Mail
Chartered Organization         Brush Lions Club                                             Longs Peak Council 062                                 2301 Mill St                                              Brush, CO 80723                                                                                        First Class Mail
Voting Party                   Brushwood Umc                                                Attn: James Reid                                       1620 Brushwood Dr                                         Dubberly, LA 71024                                                                                     First Class Mail
Chartered Organization         Bruton Town Community Center                                 Blue Ridge Council 551                                 200 Leo Lewis St                                          Greenville, SC 29609‐4567                                                                              First Class Mail
Voting Party                   Bryan Cave Leighton Paisner Llp                              Terence J Thum                                         1200 Main St, Ste 3800                                    Kansas City, MO 64105                                               tjthum@bclplaw.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bryan School Pta                                             Inland Northwest Council 611                           802 E Harrison Ave                                        Coeur D Alene, ID 83814‐4533                                                                           First Class Mail
Chartered Organization         Bryans Road Lions Club                                       National Capital Area Council 082                      14602 Livingston Rd                                       Accokeek, MD 20607‐2808                                                                                First Class Mail
Voting Party                   Bryant First United Methodist                                Attn: Trena Smith                                      508 N Reynolds Rd                                         Bryant, AR 72022                                                    lraines@fridayfirm.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bryant Ruritan Club                                          1573 County Rd 326                                     Flatrock, AL 35966                                                                                                            legaltender1949@gmail.com          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bryant School Pto                                            Water and Woods Council 782                            925 Hampton St                                            Owosso, MI 48867‐4268                                                                                  First Class Mail
Voting Party                   Bryantville United Methodist Church                          Garrett James Olson                                    546 Mattakeesett St                                       Pembroke, MA 02359                                                  gols2009@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bryantville United Methodist Church                          Attn: Garrett Olson                                    P.O. Box 447                                              Pembroke, MA 02327                                                  gols2009@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bryker Woods P.T.A.                                          Capitol Area Council 564                               3309 Kerbey Ln                                            Austin, TX 78703‐1452                                                                                  First Class Mail
Chartered Organization         Bryn Athyn Church                                            Cradle of Liberty Council 525                          P.O. Box 277                                              Bryn Athyn, PA 19009‐0277                                                                              First Class Mail
Chartered Organization         Bryn Athyn Church                                            Cradle of Liberty Council 525                          P.O. Box 277                                              Bryn Athyn, PA 19009‐0277                                                                              First Class Mail
Chartered Organization         Bryn Mawr Park Presbyterian Church                           Westchester Putnam 388                                 20 Buckingham Rd                                          Yonkers, NY 10701‐6714                                                                                 First Class Mail
Chartered Organization         Bryn Mawr Presbyterian Church                                Cradle of Liberty Council 525                          625 Montgomery Ave                                        Bryn Mawr, PA 19010‐3424                                                                               First Class Mail
Voting Party                   Bryn Mawr Presbyterian Church                                Attn: Jamie Schultz                                    420 S Cedar Lake Rd                                       Minneapolis, MI 55405                                               pastor@brynmawrchurch.org          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Bryson City Umc                                              c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Bsa 337 Boosters                                             California Inland Empire Council 045                   43820 Alcoba Dr                                           Temecula, CA 92592‐4375                                                                                First Class Mail
Chartered Organization         Bsa At Iup                                                   Laurel Highlands Council 527                           210 S 10th St                                             Indiana, PA 15705‐0001                                                                                 First Class Mail
Chartered Organization         Bsa Denver Area Council 061                                  Re: Havern School                                      Fredric C Hamilton Scout Hq                               10455 W 6th Ave, Ste 100          Denver, CO 80215                                                     First Class Mail
Chartered Organization         Bsa Explorer Post 465                                        Greater Yosemite Council 059                           4030 Kiernan Ave                                          Modesto, CA 95356‐9506                                                                                 First Class Mail
Chartered Organization         Bsa Health System                                            Golden Spread Council 562                              1600 Wakkace Blvd                                         Amarillo, TX 79106                                                                                     First Class Mail
Chartered Organization         Bsa Lifestructures                                           Crossroads of America 160                              9365 Counselors Row                                       Indianapolis, IN 46240‐6422                                                                            First Class Mail
Chartered Organization         Buchanan County Academy                                      Pony Express Council 311                               4702 Green Acres Rd                                       Saint Joseph, MO 64506‐1263                                                                            First Class Mail
Chartered Organization         Buchanan First Presbyterian Church                           Sequoyah Council 713                                   P.O. Box 1339                                             Grundy, VA 24614‐1339                                                                                  First Class Mail
Voting Party                   Buchanan First United Methodist Church                       Attn: Karen Worvey (Current Treasurer)                 132 S Oak St                                              Buchanan, MI 49107                                                  office@buchananfirstumc.org        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Buchanan Loop                                                President Gerald R Ford 781                            1775 Buchanan Ave Sw                                      Grand Rapids, MI 49507‐1642                                                                            First Class Mail
Chartered Organization         Buchanan Umc                                                 Atlanta Area Council 092                               P.O. Box 342                                              Buchanan, GA 30113‐0342                                                                                First Class Mail
Voting Party                   Buchanan UMC (3623 US‐27, Buchanan, GA)                      c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Buchingham Utd Methodist Garland                             Circle Ten Council 571                                 1212 W Buckingham Rd                                      Garland, TX 75040‐4534                                                                                 First Class Mail
Chartered Organization         Buckcreek Volunteer Fire Dept                                Sagamore Council 162                                   P.O. Box 181                                              Buck Creek, IN 47924‐0181                                                                              First Class Mail
Chartered Organization         Buckeye Police Explorers                                     Grand Canyon Council 010                               21699 W Yuma Rd                                           Buckeye, AZ 85326‐8708                                                                                 First Class Mail
Voting Party                   Buckeye Umc                                                  Attn: Linda Mankey                                     115 Wades Run Rd                                          Morgantown, WV 26501                                                                                   First Class Mail
Voting Party                   Buckeystown United Methodist Church, Inc                     Attn: Sherry Stouffer                                  P.O. Box 399                                              3440 Buckeystown Pike             Buckeystown, MD 21717             smstouffer@comcast.net             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Firm                           Buckfire & Buckfire PC                                       Robert Lantzy                                          29000 Inkster Rd. Ste 150                                 Southfield, MI 48034                                                robert@buckfirelaw.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Buckhall UMC 10251 Moore Dr, Manassas, VA 20111              c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Buckhall Utd Methodist Church                                National Capital Area Council 082                      10251 Moore Dr                                            Manassas, VA 20111‐2556                                                                                First Class Mail
Chartered Organization         Buckhorn Fire Co                                             Columbia‐Montour 504                                   19 Firehall Rd                                            Bloomsburg, PA 17815‐8367                                                                              First Class Mail
Voting Party                   Buckhorn United Methodist Church (179476)                    c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Buckingham Masonic Lodge 242                                 Heart of Virginia Council 602                          P.O. Box 242                                              Buckingham, VA 23921‐0242                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 41 of 442
                                                                                   Case 20-10343-LSS                                       Doc 8171                                            Filed 01/06/22                                             Page 57 of 457
                                                                                                                                                                            Exhibit B
                                                                                                                                                                             Service List
                                                                                                                                                                      Served as set forth below

        Description                                                       Name                                                                                            Address                                                                                                             Email              Method of Service
Voting Party                   Buckingham United Methodist Church                         Attn: Grover Sherlin                    1212 W Buckingham Rd                                         Garland, TX 75040                                                    bumc@bumcgarland.org              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Buckley Eagles Aerie 1387                                  Pacific Harbors Council, Bsa 612        22019 112th St Ct E                                          Buckley, WA 98321‐9139                                                                                 First Class Mail
Chartered Organization         Buckley Parents For Scouting                               Chief Seattle Council 609               12124 223rd Ave E                                            Bonney Lake, WA 98391‐7607                                                                             First Class Mail
Chartered Organization         Bucklins Lions Club                                        Santa Fe Trail Council 194              Bucklin, KS 67834                                                                                                                                                   First Class Mail
Chartered Organization         Buckner Community Of Christ Church                         Heart of America Council 307            1001 S Sibley St                                             Buckner, MO 64016‐8506                                                                                 First Class Mail
Chartered Organization         Buckner Elementary School                                  Lincoln Heritage Council 205            1240 Colonel Dr                                              Buckner, KY 40010                                                                                      First Class Mail
Chartered Organization         Bucks County Rescue Squad                                  Washington Crossing Council 777         143 King St                                                  Bristol, PA 19007‐3106                                                                                 First Class Mail
Chartered Organization         Bucks Hill School Parent Liaison                           Connecticut Rivers Council, Bsa 066     330 Bucks Hill Rd                                            Waterbury, CT 06704‐1222                                                                               First Class Mail
Voting Party                   Bucksport United Methodist Church                          P.O. Box 1727                           Bucksport, ME 04416                                                                                                               Bucksportumc@aol.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bucktown Youth Assoc, Inc                                  Southeast Louisiana Council 214         1427 Seminole Ave                                            Metairie, LA 70005‐1339                                                                                First Class Mail
Chartered Organization         Bucyrus Police Dept Explorers                              Buckeye Council 436                     500 S Sandusky Ave                                           Bucyrus, OH 44820‐2623                                                                                 First Class Mail
Voting Party                   Buda United Methodist Church                               Attn: Cathy Rudzinski ‐ Buda Umc        P.O. Box 1196                                                Buda, TX 78610                                                       info@budaumc.org                  Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Buda Utd Methodist Church                                  Capitol Area Council 564                302 Elm St                                                   Buda, TX 78610‐2743                                                                                    First Class Mail
Chartered Organization         Budd Insurance Agency                                      Southern Shores Fsc 783                 160 Div St, Ste C                                            Coldwater, MI 49036‐2914                                                                               First Class Mail
Chartered Organization         Buddha Light International Assoc                           Detroit Chapter                         318 Town Center Dr                                           Troy, MI 48084‐1742                                                                                    First Class Mail
Chartered Organization         Buddha Light International Assoc Florida                   Central Florida Council 083             6555 Hoffner Ave                                             Orlando, FL 32822‐3324                                                                                 First Class Mail
Voting Party                   Buddhist Church Of Sacramento                              Attn: Robert Keiichi Tanaka             2401 Riverside Blvd                                          Sacramento, CA 95818                                                 betanaka@pacbell.net              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Buddhist Church Of San Francisco                           1881 Pine St                            San Francisco, CA 94109                                                                                                           bcsfoffice@gmail.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Buddhist Churches Of America                               Attn: Glenn Tomohiro Inanaga            1710 Octavia St                                              San Francisco, CA 94109                                              inanaga@gmail.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Buechel Umc                                                Attn: Bob Olsen                         2817 Hikes Ln                                                Louisville, KY 40218                                                 admin@buechelchurch.org           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Buellton Business Assoc                                    Los Padres Council 053                  P.O. Box 231                                                 Buellton, CA 93427‐0231                                                                                First Class Mail
Chartered Organization         Buellton Chamber Of Commerce                               Los Padres Council 053                  P.O. Box 231                                                 Buellton, CA 93427‐0231                                                                                First Class Mail
Chartered Organization         Buena Park Elks Lodge 2046                                 Orange County Council 039               7212 Melrose St                                              Buena Park, CA 90621‐3225                                                                              First Class Mail
Chartered Organization         Buena Park Police Dept                                     Orange County Council 039               6650 Beach Blvd                                              Buena Park, CA 90621‐2905                                                                              First Class Mail
Voting Party                   Buena Vista Methodist Church                               Attn: Roger Presnell                    P.O. Box 449                                                 Buena Vista, GA 31803                                                bvmethodist@windstream.net        Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Buena Vista Utd Methodist Church                           Alameda Council Bsa 022                 2311 Buena Vista Ave                                         Alameda, CA 94501‐1404                                                                                 First Class Mail
Chartered Organization         Buffalo Elementary Improvement Council                     Buckskin 617                            331 Buffalo Creek Rd                                         Kenova, WV 25530‐9611                                                                                  First Class Mail
Chartered Organization         Buffalo Grove Area Chamber Of Commerce                     Northeast Illinois 129                  50 1/2 Raupp Blvd                                            Buffalo Grove, IL 60089                                                                                First Class Mail
Chartered Organization         Buffalo Grove Rotary                                       Northeast Illinois 129                  512 Ronnie Dr                                                Buffalo Grove, IL 60089‐1160                                                                           First Class Mail
Voting Party                   Buffalo Grove: Kingswood                                   Attn: Ryan D Foley                      401 W Dundee Rd                                              Buffalo Grove, IL 60089                                              jpreston@kingswoodumc.com         Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Buffalo Lions Club                                         Northern Star Council 250               P.O. Box 531                                                 Buffalo, MN 55313‐0531                                                                                 First Class Mail
Chartered Organization         Buffalo Police Dept                                        Greater Niagara Frontier Council 380    68 Court St                                                  Buffalo, NY 14202‐3476                                                                                 First Class Mail
Chartered Organization         Buffalo Public School 17                                   Greater Niagara Frontier Council 380    1045 W Delavan Ave                                           Buffalo, NY 14209‐1313                                                                                 First Class Mail
Voting Party                   Buffalo Trail Cncl 567                                     1101 W Texas Ave                        Midland, TX 79701‐6171                                                                                                                                              First Class Mail
Chartered Organization         Buffalo Trail Scout Ranch Staff Assoc                      Buffalo Trail Council 567               1101 W Texas Ave                                             Midland, TX 79701‐6171                                                                                 First Class Mail
Chartered Organization         Buffalo Trails Parents & Friends Of 52                     Denver Area Council 061                 24300 E Progress Dr                                          Aurora, CO 80016‐5930                                                                                  First Class Mail
Voting Party                   Buffalo United Methodist Church                            Attn: Michael Hargraves                 P.O. Box 134                                                 Buffalo, MO 65622                                                    umcbuffalo@gmail.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Buffalo Valley United Methodist (066215)                   c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Buffalo Ward Lds Buffalo Stake                             Greater Niagara Frontier Council 380    145 Goodell St                                               Buffalo, NY 14203                                                                                      First Class Mail
Chartered Organization         Buffalo Ward Lds Buffalo Stake                             Greater Niagara Frontier Council 380    72 Layton Ave                                                Buffalo, NY 14226‐4227                                                                                 First Class Mail
Voting Party                   Buford First United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                    ERICE@BRADLEY.COM                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Buford First Utd Methodist Church                          Northeast Georgia Council 101           285 E Main St                                                Buford, GA 30518‐5716                                                                                  First Class Mail
Chartered Organization         Buford Presbyterian Church                                 Northeast Georgia Council 101           P.O. Box 1358                                                Buford, GA 30515‐8358                                                                                  First Class Mail
Voting Party                   Buford Street United Methodist Church                      Attn: Rev. David Nichols                120 E Buford St                                              Gaffney, SC 29340                                                                                      First Class Mail
Chartered Organization         Bugbee School Pto                                          Connecticut Rivers Council, Bsa 066     1943 Asylum Ave                                              West Hartford, CT 06117‐3058                                                                           First Class Mail
Voting Party                   Buhl United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Building Bright Futures ‐ 21St Cclc                        Grand Teton Council 107                 3115 Pole Line Rd                                            Pocatello, ID 83201‐6119                                                                               First Class Mail
Chartered Organization         Building Character                                         Utah National Parks 591                 20 N Main St, Ste 402                                        Saint George, UT 84770‐5603                                                                            First Class Mail
Chartered Organization         Building Commitee Valladolid 70                            The Spirit of Adventure 227             177 Lynnfield St                                             Lynn, MA 01904‐2225                                                                                    First Class Mail
Chartered Organization         Building Mechanical Services Corp                          Puerto Rico Council 661                 Building Mechanical Services Corp                            Girasol A 122 San Rafael Estate   Bayamon, PR 00959                                                    First Class Mail
Chartered Organization         Bullard Southern Baptist Church                            East Texas Area Council 585             P.O. Box 338                                                 Bullard, TX 75757‐0338                                                                                 First Class Mail
Chartered Organization         Bullhead City Fire Dept                                    Las Vegas Area Council 328              1260 Hancock Rd                                              Bullhead City, AZ 86442‐5906                                                                           First Class Mail
Chartered Organization         Bullhead City Police Dept                                  Las Vegas Area Council 328              1255 Marina Blvd                                             Bullhead City, AZ 86442‐5733                                                                           First Class Mail
Chartered Organization         Bullitt Central High School                                Lincoln Heritage Council 205            1330 Hwy 44 E                                                Shepherdsville, KY 40165‐7180                                                                          First Class Mail
Chartered Organization         Bullitt East High School                                   Lincoln Heritage Council 205            11450 Hwy 44 E                                               Mount Washington, KY 40047‐7214                                                                        First Class Mail
Chartered Organization         Bullitt Lick Middle School                                 Lincoln Heritage Council 205            555 W Blue Lick Rd                                           Shepherdsville, KY 40165‐7915                                                                          First Class Mail
Chartered Organization         Bulloch County Sheriff Dept                                Coastal Georgia Council 099             17257 US Hwy 301 N                                           Statesboro, GA 30458‐7563                                                                              First Class Mail
Chartered Organization         Bullock Creek Presbyterian Church                          Palmetto Council 549                    7386 Lockhart Rd                                             Sharon, SC 29742‐7761                                                                                  First Class Mail
Chartered Organization         Bullseye Shooting Range                                    Quivira Council, Bsa 198                1455 N Terrace Dr                                            Wichita, KS 67208‐2212                                                                                 First Class Mail
Chartered Organization         Bullskin Township Fair Assoc                               Westmoreland Fayette 512                2488 State Route 982                                         Mount Pleasant, PA 15666‐2522                                                                          First Class Mail
Chartered Organization         Bullskin Township Lions Club                               Westmoreland Fayette 512                3426 Country Club Rd                                         Mount Pleasant, PA 15666‐2230                                                                          First Class Mail
Voting Party                   Bullville United Methodist Church                          Attn: Kevin Ray Holland                 2857 Ny‐17K                                                  Bullville, NY 10915                                                  bullvilleumc@YAHOO.COM            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Bullville United Methodist Church                          2857 Ny‐17K                             Bullville, NY 10915                                                                                                               bullvilleumc@yahoo.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bulverde Lions Club                                        Alamo Area Council 583                  P.O. Box 285                                                 Bulverde, TX 78163‐0285                                                                                First Class Mail
Voting Party                   Bulverde United Methodist Church                           28300 Hwy 281 N                         San Antonio, TX 78260                                                                                                             vicki@bulverdeumc.org             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bulverde Utd Methodist Church                              Alamo Area Council 583                  28300 US Hwy 281 N                                           San Antonio, TX 78260‐1706                                                                             First Class Mail
Chartered Organization         Bulverde‐Spring Branch Ems                                 Alamo Area Council 583                  353 Rodeo Dr                                                 Spring Branch, TX 78070‐6257                                                                           First Class Mail
Chartered Organization         Buncombe County Sheriffs Dept                              Daniel Boone Council 414                60 Court Plz Fl 4                                            Asheville, NC 28801‐3576                                                                               First Class Mail
Chartered Organization         Buncombe St Methodist Church                               Blue Ridge Council 551                  200 Buncombe St                                              Greenville, SC 29601‐2008                                                                              First Class Mail
Voting Party                   Buncombe Street United Methodist Church                    Attn: Karen Gambrell                    200 Buncombe St                                              Greenville, SC 29601                                                 karen.gambrell@bsumc.com          Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bundles Of Hope                                            Sam Houston Area Council 576            9119 Kirkleigh St                                            Spring, TX 77379‐8613                                                                                  First Class Mail
Chartered Organization         Bundy Trucking, Inc                                        Utah National Parks 591                 1805 E 740 South Cir                                         Saint George, UT 84790‐4066                                                                            First Class Mail
Chartered Organization         Bunker Hill Elementary School Pta                          Sam Houston Area Council 576            11950 Taylorcrest Rd                                         Houston, TX 77024‐4300                                                                                 First Class Mail
Chartered Organization         Bunker Hill Parent Teachers Organization                   Crossroads of America 160               6620 Shelbyville Rd                                          Indianapolis, IN 46237‐9720                                                                            First Class Mail
Chartered Organization         Bunker Hill School Pto                                     Crossroads of America 160               6620 Shelbyville Rd                                          Indianapolis, IN 46237‐9720                                                                            First Class Mail
Voting Party                   Bunker Hill Umc                                            Attn: Pastor Evan Strong                120 N Elm St                                                 Bunker Hill, IN 46914                                                e_strong12@yahoo.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Bunker Hill Umc                                            Attn: Alice Carroll                     P.O. Box 327                                                 Bunker Hill, WV 25413                                                bhumchurch@gmail.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Bunker Hill Utd Methodist                                  Shenandoah Area Council 598             P.O. Box 327                                                 Bunker Hill, WV 25413‐0327                                                                             First Class Mail
Chartered Organization         Bunker Hill Utd Methodist Church                           Sagamore Council 162                    100 N Broadway                                               Bunker Hill, IN 46914                                                                                  First Class Mail
Chartered Organization         Bunker Hill Utd Methodist Church                           Shenandoah Area Council 598             P.O. Box 327                                                 Bunker Hill, WV 25413‐0327                                                                             First Class Mail
Chartered Organization         Bunn ‐ Hill King Utd Methodist                             Occoneechee 421                         P.O. Box 142                                                 Bunn, NC 27508‐0142                                                                                    First Class Mail
Chartered Organization         Buntyn Presbyterian Church                                 Chickasaw Council 558                   561 S Prescott St                                            Memphis, TN 38111‐4333                                                                                 First Class Mail
Voting Party                   Burbank First United Methodist Church                      Sam Kim                                 639 Stanford Rd                                              Burbank, CA 91502                                                    sambkim7@gmail.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Burbank First United Methodist Church                      Attn: Donna Michel                      700 N Glenoaks Blvd                                          Burbank, CA 91502                                                    dmichel@bfumc.net                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Burbank Manor Presbyterian Church                          Pathway To Adventure 456                815 W Van Buren St, Ste 400                                  Chicago, IL 60607‐3569                                                                                 First Class Mail
Chartered Organization         Burbank Police Dept                                        Verdugo Hills Council 058               200 N 3rd St                                                 Burbank, CA 91502‐1201                                                                                 First Class Mail
Voting Party                   Burco Chemical & Supply, Inc                               1125 S 2nd St                           Raton, NM 87740‐2305                                                                                                                                                First Class Mail
Chartered Organization         Burdick Auto Solutions                                     Circle Ten Council 571                  210 E Erwin Ave                                              Mckinney, TX 75069‐2150                                                                                First Class Mail
Chartered Organization         Burgaw Lions Club                                          Cape Fear Council 425                   P.O. Box 1252                                                Burgaw, NC 28425‐1252                                                                                  First Class Mail
Chartered Organization         Burgaw Presbyterian Church                                 Cape Fear Council 425                   P.O. Box 565                                                 Burgaw, NC 28425‐0565                                                                                  First Class Mail
Chartered Organization         Burgess Peterson Academy                                   Atlanta Area Council 092                480 Clifton St Se                                            Atlanta, GA 30316‐1736                                                                                 First Class Mail
Chartered Organization         Burgettstown Grange 1502                                   Laurel Highlands Council 527            100 Creek Rd                                                 Burgettstown, PA 15021                                                                                 First Class Mail
Chartered Organization         Burhans Crouse Funeral Home                                Westmoreland Fayette 512                28 Connellsville St                                          Dunbar, PA 15431‐1510                                                                                  First Class Mail
Chartered Organization         Burien Police                                              Chief Seattle Council 609               14905 6th Ave Sw                                             Burien, WA 98166‐1967                                                                                  First Class Mail
Chartered Organization         Burkburnett Boys & Girls Club                              Northwest Texas Council 587             P.O. Box 2                                                   Burkburnett, TX 76354‐0002                                                                             First Class Mail
Chartered Organization         Burkburnett Volunteer Fire Dept.                           Northwest Texas Council 587             100 Peyton St                                                Burkburnett, TX 76354‐2712                                                                             First Class Mail
Chartered Organization         Burke Building Center                                      Sioux Council 733                       1307 S Main St                                               Burke, SD 57523‐2011                                                                                   First Class Mail
Voting Party                   Burke Centre Conservancy                                   Attn: Patrick Gloyd                     6060 Burke Centre Pkwy                                       Burke, VA 22015                                                      patrick@burkecentre.org           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Burke Centre Conservancy                                   c/o Whiteford, Taylor & Preston LLP     Attn: Marla Diaz                                             3190 Fairview Park Dr, Ste 800    Falls Church, VA 22042             mdiaz@wtplaw.com                  Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Burke County Sheriffs Office                               Piedmont Council 420                    150 Government Dr                                            Morganton, NC 28655‐4663                                                                               First Class Mail
Chartered Organization         Burke County Sheriffs Office                               Georgia‐Carolina 093                    225 Ga Hwy 24 S                                              Waynesboro, GA 30830‐4591                                                                              First Class Mail
Chartered Organization         Burke Presbyterian Church                                  National Capital Area Council 082       5690 Oak Leather Dr                                          Burke, VA 22015‐2236                                                                                   First Class Mail
Chartered Organization         Burke Street Elementary School                             Shenandoah Area Council 598             422 W Burke St                                               Martinsburg, WV 25401‐2732                                                                             First Class Mail
Voting Party                   Burke UMC 6200 Burke Centre Pkwy, Burke, VA 22015          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Burke United Methodist Church                              Attn: Greg Perrigo                      1027 W Maine St                                              Burke, NY 12917                                                      twoloons@hughes.net               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Burke Utd Methodist Church                                 National Capital Area Council 082       6200 Burke Centre Pkwy                                       Burke, VA 22015‐3019                                                                                   First Class Mail
Chartered Organization         Burke Volunteer Fire Dept                                  National Capital Area Council 082       9501 Old Burke Lake Rd                                       Burke, VA 22015‐3129                                                                                   First Class Mail
Voting Party                   Burke/Dannemora Umcs                                       Attn: Gary A Rgodehamel                 92 Horsehead Point Rd                                        Loon Lake, NY 12989                                                  twoloons@hughes.net               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Burke/Dannemora Umcs                                       Attn: Gary A Rhodehamel                 92 Horsehead Point Rd                                        Loon Lake, NY 12989                                                  twoloons@hughes.net               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Burket United Methodist Church                             Attn: Pastor Gary Loy                   102 Market St                                                Burket, IN 46508                                                     Burketumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Burket Utd Methodist Church                                Anthony Wayne Area 157                  P.O. Box 25                                                  Burket, IN 46508‐0025                                                                                  First Class Mail
Chartered Organization         Burket Utd Methodist Church                                Anthony Wayne Area 157                  P.O. Box 25                                                  Burket, IN 46508‐0025                                                                                  First Class Mail
Voting Party                   Burkhead                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Burkhead Utd Methodist Church                              Old Hickory Council 427                 5250 Silas Creek Pkwy                                        Winston Salem, NC 27106‐5527                                                                           First Class Mail
Chartered Organization         Burleigh Pto                                               Potawatomi Area Council 651             16185 Burleigh Pl                                            Brookfield, WI 53005‐2851                                                                              First Class Mail
Chartered Organization         Burleson Police Explorers                                  Longhorn Council 662                    1161 SW Wilshire Blvd                                        Burleson, TX 76028‐5718                                                                                First Class Mail
Voting Party                   Burley                                                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Burley 10Th Ward ‐ Burley Stake                            Snake River Council 111                 958 Maplewood St                                             Burley, ID 83318‐5512                                                                                  First Class Mail
Chartered Organization         Burley 11Th Ward ‐ Burley West Stake                       Snake River Council 111                 2400 Park Ave                                                Burley, ID 83318                                                                                       First Class Mail
Chartered Organization         Burley 1St Ward ‐ Burley West Stake                        Snake River Council 111                 2420 Park Ave                                                Burley, ID 83318                                                                                       First Class Mail
Chartered Organization         Burley 2Nd Ward ‐ Burley Stake                             Snake River Council 111                 515 E 16th St                                                Burley, ID 83318                                                                                       First Class Mail
Chartered Organization         Burley 3Rd Ward ‐ Burley West Stake                        Snake River Council 111                 2200 Oakley Ave                                              Burley, ID 83318                                                                                       First Class Mail
Chartered Organization         Burley 4Th Ward ‐ Burley Stake                             Snake River Council 111                 515 E 16th St                                                Burley, ID 83318                                                                                       First Class Mail
Chartered Organization         Burley 5Th Ward ‐ Burley West Stake                        Snake River Council 111                 2420 Park Ave                                                Burley, ID 83318                                                                                       First Class Mail
Chartered Organization         Burley 7Th Ward ‐ Burley West Stake                        Snake River Council 111                 2200 Oakley Ave                                              Burley, ID 83318                                                                                       First Class Mail
Chartered Organization         Burley 8Th Ward ‐ Burley Stake                             Snake River Council 111                 2050 Normal Ave                                              Burley, ID 83318                                                                                       First Class Mail
Chartered Organization         Burley 9Th Ward ‐ Burley Stake                             Snake River Council 111                 2100 Normal Ave                                              Burley, ID 83318                                                                                       First Class Mail
Chartered Organization         Burley Utd Methodist Church                                Snake River Council 111                 P.O. Box 447                                                 Burley, ID 83318‐0447                                                                                  First Class Mail
Chartered Organization         Burley Utd Methodist Church                                Snake River Council 111                 450 E 27th St                                                Burley, ID 83318‐3022                                                                                  First Class Mail
Chartered Organization         Burlingame Federated Church                                Jayhawk Area Council 197                322 S Topeka Ave                                             Burlingame, KS 66413‐1347                                                                              First Class Mail
Chartered Organization         Burlingame Police Dept                                     Pacific Skyline Council 031             1111 Trousdale Dr                                            Burlingame, CA 94010‐3209                                                                              First Class Mail
Chartered Organization         Burlington County Police                                   Garden State Council 690                49 Rancocas Rd                                               Mount Holly, NJ 08060‐1317                                                                             First Class Mail
Chartered Organization         Burlington Fire Dept                                       Mississippi Valley Council 141 141      418 Valley St                                                Burlington, IA 52601‐5515                                                                              First Class Mail
Chartered Organization         Burlington Fire Dept                                       Old N State Council 070                 215 S Church St                                              Burlington, NC 27215‐3708                                                                              First Class Mail
Chartered Organization         Burlington Fire Dept                                       Three Harbors Council 636               165 W Washington St                                          Burlington, WI 53105‐1445                                                                              First Class Mail
Chartered Organization         Burlington Firefighters Local 2313                         The Spirit of Adventure 227             21 Center St                                                 Burlington, MA 01803‐3014                                                                              First Class Mail
Voting Party                   Burlington First United Methodist Church                   Attn: Treasurer                         416 Jefferson St                                             Burlington, IA 52601                                                 admin@umcburl.org                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Burlington First United Methodist Church                   Attn: Sharon Blake                      421 Washington Str                                           Burlington, IA 52601                                                 admin@umcburl.org                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Burlington Flats Fish & Game                               Leatherstocking 400                     Fish and Game Club Rd                                        Burlington Flats, NY 13315                                                                             First Class Mail
Chartered Organization         Burlington Kiwanis Yth & Fam Assist, Inc                   Three Harbors Council 636               441 Milwaukee Ave                                            Burlington, WI 53105‐1223                                                                              First Class Mail
Chartered Organization         Burlington Masonic Lodge 32                                Garden State Council 690                2308 Mount Holly Rd                                          Burlington, NJ 08016‐4138                                                                              First Class Mail
Chartered Organization         Burlington Northern Santa Fe                               Mount Baker Council, Bsa 606            2454 Occidental Ave S                                        Seattle, WA 98134‐1439                                                                                 First Class Mail
Chartered Organization         Burlington Notre Dame Schools                              Mississippi Valley Council 141 141      702 S Roosevelt Ave                                          Burlington, IA 52601‐1674                                                                              First Class Mail
Chartered Organization         Burlington Police Dept                                     Mississippi Valley Council 141 141      424 N 3rd St                                                 Burlington, IA 52601‐5224                                                                              First Class Mail
Chartered Organization         Burlington Rotary Club                                     Pikes Peak Council 060                  P.O. Box 122                                                 Burlington, CO 80807‐0122                                                                              First Class Mail
Voting Party                   Burlington United Methodist Church                         Attn: Treasurer, Bumc                   290 13th St                                                  P.O. Box 668                      Burlington, CO 80807               burlingtonumc@centurytel.net      Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Burlington Utd Methodist Church                            Jayhawk Area Council 197                207 S 6th St                                                 Burlington, KS 66839‐1709                                                                              First Class Mail
Chartered Organization         Burnet Elementary School                                   Sam Houston Area Council 576            5403 Canal St                                                Houston, TX 77011‐2307                                                                                 First Class Mail
Chartered Organization         Burnet Fire Dept                                           Capitol Area Council 564                P.O. Box 1369                                                Burnet, TX 78611‐7369                                                                                  First Class Mail
Chartered Organization         Burnetboys And Girls Club                                  Capitol Area Council 564                P.O. Box 181                                                 Burnet, TX 78611‐0181                                                                                  First Class Mail
Chartered Organization         Burnett Creek School Pto                                   Sagamore Council 162                    5700 N 50 W                                                  West Lafayette, IN 47906‐9736                                                                          First Class Mail
Chartered Organization         Burnette Avenue Baptist Church                             Lincoln Heritage Council 205            6800 S Hurstbourne Pkwy                                      Louisville, KY 40291‐2883                                                                              First Class Mail
Chartered Organization         Burney Lions Club                                          Golden Empire Council 047               P.O. Box 217                                                 Burney, CA 96013‐0217                                                                                  First Class Mail
Chartered Organization         Burney Lions Club 1946                                     Golden Empire Council 047               P.O. Box 217                                                 Burney, CA 96013‐0217                                                                                  First Class Mail
Chartered Organization         Burnham Bros Fireworks, Inc                                Great Southwest Council 412             P.O. Box 2081                                                Kirtland, NM 87417‐2081                                                                                First Class Mail
Chartered Organization         Burnham Lions Club                                         Juniata Valley Council 497              403 1st Ave                                                  Burnham, PA 17009‐1509                                                                                 First Class Mail
Voting Party                   Burns & Levinson Llp                                       125 High St, Ste 330                    Boston, MA 02110‐2711                                                                                                                                               First Class Mail
Chartered Organization         Burns Lions Club                                           Ore‐Ida Council 106 ‐ Bsa 106           P.O. Box 45                                                  Burns, OR 97720‐0045                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                             Page 42 of 442
                                                                                   Case 20-10343-LSS                                           Doc 8171                                              Filed 01/06/22                                             Page 58 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                         Name                                                                                                Address                                                                                                            Email                     Method of Service
Chartered Organization         Burns Mccauliffe Post 465 American                             Baden‐Powell Council 368                63 S Main St                                                   Homer, NY 13077                                                                                              First Class Mail
Voting Party                   Burns Memorial Umc                                             Attn: Suzanne Marquez, Treasurer        1095 Newark St                                                 Aurora, CO 80010                                                     Pastorpeter@burnsmethodist.org          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Burns Memorial United Methodist Church                         Attn: Peter S Freytog                   1095 Newark St                                                 Aurora, CO 80010                                                     Pastorpeter@burnsmethodist.org          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Burnside Johnston & Connor                                     Jack Byrkit Johnston                    210 S 5th St, P.O. Box 276                                     Vandalia, IL 62471                                                   jackjohnston@burnsidejohnston.com       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Burnt Chimney UMC 6625 Booker T Washington Hwy, Wirtz, WA 24   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Burnt Church Community Center                                  West Tennessee Area Council 559         110 School Dr                                                  Savannah, TN 38372‐8331                                                                                      First Class Mail
Voting Party                   Burnt Factory UMC 1943 Jordan Springs Rd, Stephenson, VA 226   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Burnt Factory United Methodist Church                          Attn: Tammy Cunningham                  P.O. Box 399                                                   Stephenson, VA 22656                                                 tcunningham@bankofclarke.com            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Burnt Hickory Baptist Church                                   Atlanta Area Council 092                5145 Due West Rd                                               Powder Springs, GA 30127‐4302                                                                                First Class Mail
Chartered Organization         Burnt Hickory Utd Methodist Church                             Atlanta Area Council 092                9484 Cartersville Hwy                                          Dallas, GA 30132‐2555                                                                                        First Class Mail
Voting Party                   Burnt Hills United Methodist Church                            Attn: Pastor Holly Nye                  816 Route 50                                                   Burnt Hills, NY 12027                                                hn@nycap.rr.com                         Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Burnt Hills Utd Methodist Church                               Twin Rivers Council 364                 816 State Route 50                                             Burnt Hills, NY 12027‐9503                                                                                   First Class Mail
Voting Party                   Burr & Forman, Llp                                             Attn: H William Wasden                  P.O. Box 2287                                                  Mobile, AL 36602                                                     Bwasden@burr.com                        Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Burr Elementary                                                Pathway To Adventure 456                1621 W Wabansia Ave                                            Chicago, IL 60622‐1439                                                                                       First Class Mail
Chartered Organization         Burr Elementary School                                         Great Lakes Fsc 272                     41460 Ryan Rd                                                  Sterling Heights, MI 48314‐3940                                                                              First Class Mail
Chartered Organization         Burra Burra Museum                                             Cherokee Area Council 556               P.O. Box 458                                                   Ducktown, TN 37326‐0458                                                                                      First Class Mail
Chartered Organization         Burrillville Org For Subst Abuse Prev                          Narragansett 546                        105 Harrisville Main St                                        Harrisville, RI 02830‐1403                                                                                   First Class Mail
Chartered Organization         Burt Avenue Wesleyan                                           Muskingum Valley Council, Bsa 467       230 Burt Ave                                                   Coshocton, OH 43812‐2108                                                                                     First Class Mail
Chartered Organization         Burt J. Asper American Legion Post 46                          New Birth of Freedom 544                755 Philadelphia Ave                                           Chambersburg, PA 17201‐1266                                                                                  First Class Mail
Voting Party                   Burt United Methodist Church                                   Attn: Lynn Konrad                       2761 E Burt Rd                                                 Burt, MI 48417                                                       konlyn@msn.com                          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Burt United Methodist Church                                   12799 Nichols Rd                        P.O. Box 96                                                    Burt, MI 48417                                                       konlyn@msn.com                          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Burtchville Fire Dept                                          Water and Woods Council 782             4000 Burtch Rd                                                 Burtchville, MI 48059‐1800                                                                                   First Class Mail
Chartered Organization         Burton Center                                                  Blue Ridge Council 551                  2605 Hway 221 72 E                                             Greenwood, SC 29649                                                                                          First Class Mail
Chartered Organization         Burton Congregational Church                                   Lake Erie Council 440                   P.O. Box 496                                                   Burton, OH 44021‐0496                                                                                        First Class Mail
Chartered Organization         Burton International Lsco                                      Great Lakes Fsc 272                     2001 Martin Luther King Jr Blvd                                Detroit, MI 48208‐2870                                                                                       First Class Mail
Chartered Organization         Burton International Lsco Pto                                  Great Lakes Fsc 272                     2001 Martin Luther King Jr Blvd                                Detroit, MI 48208‐2870                                                                                       First Class Mail
Voting Party                   Burton Memorial Umc                                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Burton Memorial Umc                                            93001 Overseas Hwy                      Tavernier, FL 33070                                                                                                                                                         First Class Mail
Chartered Organization         Burton Memorial Utd Methodist Church                           Pine Burr Area Council 304              2419 22nd Ave                                                  Gulfport, MS 39501‐4624                                                                                      First Class Mail
Chartered Organization         Burton Memorial Utd Methodist Church                           South Florida Council 084               93001 Overseas Hwy                                             Tavernier, FL 33070‐2828                                                                                     First Class Mail
Chartered Organization         Burton Mid Sch Counseling Initiative                           President Gerald R Ford 781             2133 Buchanan Ave Sw                                           Grand Rapids, MI 49507‐2967                                                                                  First Class Mail
Chartered Organization         Burton Volunteer Fire Dept                                     Sam Houston Area Council 576            P.O. Box 548                                                   Burton, TX 77835‐0548                                                                                        First Class Mail
Chartered Organization         Burton Woolery American Legion Post 18                         Hoosier Trails Council 145 145          1800 W 3rd St                                                  Bloomington, IN 47404‐5205                                                                                   First Class Mail
Chartered Organization         Burton/Bentley Kiwanis/Vfw 2777                                Water and Woods Council 782             1400 Audrey St                                                 Burton, MI 48509‐2105                                                                                        First Class Mail
Chartered Organization         Bush Creek Church Of The Brethren                              National Capital Area Council 082       4821A Green Valley Rd                                          Monrovia, MD 21770                                                                                           First Class Mail
Chartered Organization         Bush Hills Academy Pta                                         Greater Alabama Council 001             900 16th St W                                                  Birmingham, AL 35208‐2313                                                                                    First Class Mail
Chartered Organization         Bush River Yacht Club                                          Baltimore Area Council 220              4001 E Baker Ave                                               Abingdon, MD 21009‐1436                                                                                      First Class Mail
Voting Party                   Bush Umc                                                       Attn: Rev James B Moore                 510 Ave B                                                      Bogalusa, LA 70427                                                   revjbmoore@aol.com                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Bushell United Methodist Church                                Attn: Amy Holman                        390 N Crafford St                                              Bushnell, IL 61422                                                   bushnellunitedmethodist@yahoo.com       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Bushkill Methodist Church                                      Minsi Trails Council 502                1330 Church Rd                                                 Wind Gap, PA 18091‐9710                                                                                      First Class Mail
Chartered Organization         Bushkill Township Volunteer Fire Co                            Minsi Trails Council 502                155 Firehouse Dr                                               Nazareth, PA 18064‐9560                                                                                      First Class Mail
Voting Party                   Bushkill United Methodist                                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Bushnell First Umc                                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Bushnells Basin Fire Assoc, Inc                                Seneca Waterways 397                    661 Kreag Rd                                                   Pittsford, NY 14534‐3716                                                                                     First Class Mail
Chartered Organization         Bushton Utd Methodist Church                                   Quivira Council, Bsa 198                213 3rd Rd                                                     Bushton, KS 67427                                                                                            First Class Mail
Chartered Organization         Bushy Run Lions Club                                           Westmoreland Fayette 512                109 Linda Ct                                                   Jeannette, PA 15644‐1007                                                                                     First Class Mail
Chartered Organization         Bushy Run Lions Club                                           Westmoreland Fayette 512                112 Thomas St                                                  Jeannette, PA 15644‐1049                                                                                     First Class Mail
Voting Party                   Business Card                                                  Eric Norland                            1435 Koll Cir, #106                                            San Jose, CA 95112                                                   eric@norlandlaw.com                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Business Mens Bible Class                                      Texas Southwest Council 741             P.O. Box 83                                                    San Angelo, TX 76902‐0083                                                                                    First Class Mail
Chartered Organization         Busy Bee Creations                                             Greater Los Angeles Area 033            215 S Fernwood St                                              West Covina, CA 91791‐1813                                                                                   First Class Mail
Chartered Organization         Busy Lady Quilt Shop, LLC                                      Lincoln Heritage Council 205            336 Plum Creek Ct                                              Taylorsville, KY 40071‐7909                                                                                  First Class Mail
Chartered Organization         Butler Armco Employees Assoc                                   Moraine Trails Council 500              134 Family Ln                                                  Butler, PA 16002‐0034                                                                                        First Class Mail
Chartered Organization         Butler Blast Program                                           Mid‐America Council 326                 945 S 18th St                                                  Fort Dodge, IA 50501‐5928                                                                                    First Class Mail
Voting Party                   Butler First United Methodist Church                           Attn: J Lee Mcphearson                  124 S Mulberry Ave                                             Butler, AL 36904                                                     jleemc@tds.net                          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Butler Harmon American Legion Post                             Nr Kiwanis                              P.O. Box 10                                                    New Richmond, WI 54017‐0010                                                                                  First Class Mail
Voting Party                   Butler Memorial United Methodist Church                        3920 Paulding Ave                       Bronx, NY 10466                                                                                                                     revallenanp@aol.com                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Butler Traditional High School                                 Lincoln Heritage Council 205            2222 Crums Ln                                                  Louisville, KY 40216‐4242                                                                                    First Class Mail
Voting Party                   Butler United Methodist                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Butler University Laboratory School                            Crossroads of America 160               1349 E 54th St                                                 Indianapolis, IN 46220‐3301                                                                                  First Class Mail
Chartered Organization         Butler Utd Methodist Church                                    Dan Beard Council, Bsa 438              8417 US Hwy 27 N                                               Butler, KY 41006‐8792                                                                                        First Class Mail
Chartered Organization         Butte County Fire Dept                                         Golden Empire Council 047               176 Nelson Ave                                                 Oroville, CA 95965‐3425                                                                                      First Class Mail
Chartered Organization         Butte Creek Wrangler Assoc                                     Cascade Pacific Council 492             13462 S Butte Creek Rd                                         Scotts Mills, OR 97375‐9700                                                                                  First Class Mail
Chartered Organization         Butterfield Ward ‐ Lds St David Stake                          Catalina Council 011                    381 N Pomerene Rd                                              Benson, AZ 85602                                                                                             First Class Mail
Chartered Organization         Butterfield Ward ‐ Lds Tucson West Stake                       Catalina Council 011                    3336 W Sophia St                                               Tucson, AZ 85741‐2052                                                                                        First Class Mail
Voting Party                   Button Memorial United Methodist Church                        Attn: Pastor                            P.O. Box 68                                                    Little Elm, TX 75068                                                 pastor@buttonchurch.org                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Button Memorial Utd Methodist Church                           Longhorn Council 662                    101 W Eldorado Pkwy                                            Little Elm, TX 75068                                                                                         First Class Mail
Voting Party                   Buttzville United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Buxton Centre Baptist Church                                   Pine Tree Council 218                   938 Long Plains Rd                                             Buxton, ME 04093‐3208                                                                                        First Class Mail
Voting Party                   Buxton United Methodist Church                                 Attn: William Houlihan                  276 Chicopee Rd                                                Buxton, ME 04022                                                     bhoulihan@evergreenpartnerhousing.com   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Firm                           Buzin Law, P.C.                                                Andrew S. Buzin                         111 Broadway, Ste 1204                                         New York, NY 10006                                                   abuzin@buzinlaw.com                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Bvfd Social Club                                               Las Vegas Area Council 328              P.O. Box 113                                                   Beatty, NV 89003‐0113                                                                                        First Class Mail
Voting Party                   Byers Avenue United Methodist Church                           Attn: Melinda Sexson                    1730 Byers Ave                                                 Joplin, MO 64804                                                     baumc@cableone.net                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Byers Taxi Service, Inc                                        Moraine Trails Council 500              P.O. Box 336                                                   Vandergrift, PA 15690‐0336                                                                                   First Class Mail
Chartered Organization         Bykota Lodge 333                                               Gulf Stream Council 085                 P.O. Box 15354                                                 West Palm Beach, FL 33416‐5354                                                                               First Class Mail
Chartered Organization         Byog                                                           Oregon Trail Council 697                228 Harbor St                                                  Florence, OR 97439‐9664                                                                                      First Class Mail
Chartered Organization         Byrd School Home & School Assoc                                Northern New Jersey Council, Bsa 333    640 Doremus Ave                                                Glen Rock, NJ 07452‐2033                                                                                     First Class Mail
Chartered Organization         Byrom Pso                                                      Cascade Pacific Council 492             21800 SW 91st Ave                                              Tualatin, OR 97062‐9296                                                                                      First Class Mail
Chartered Organization         Byron Chamber Of Commerce                                      Water and Woods Council 782             3453 Lovejoy Rd                                                Byron, MI 48418‐9620                                                                                         First Class Mail
Chartered Organization         Byron Community Ministries                                     President Gerald R Ford 781             8250 Byron Creek Dr                                            Byron Center, MI 49315‐9198                                                                                  First Class Mail
Chartered Organization         Byron Firemans Assoc                                           Blackhawk Area 660                      232 W 2nd St                                                   Byron, IL 61010‐1451                                                                                         First Class Mail
Voting Party                   Byron First United Methodist Church                            Attn: Bart Batruszevige                 101 S Ann St                                                   P.O. Box 127                      Byron, MI 48418                    byronumc@byronumc.com                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Byron First Utd Methodist Church                               Water and Woods Council 782             P.O. Box 127                                                   Byron, MI 48418‐0127                                                                                         First Class Mail
Chartered Organization         Byron Lions Club                                               Central Georgia Council 096             P.O. Box 1123                                                  Byron, GA 31008‐1123                                                                                         First Class Mail
Chartered Organization         Byron Lions Club                                               Blackhawk Area 660                      P.O. Box 200                                                   Byron, IL 61010‐0200                                                                                         First Class Mail
Chartered Organization         Byron Pennington Crocker Post 184                              Garden State Council 690                4200 Atlantic Ave                                              Wildwood, NJ 08260‐4602                                                                                      First Class Mail
Voting Party                   Byron United Methodist Church                                  Attn: Financial Secretary               P.O. Box 175                                                   14671 Byron Hwy                   Byron, CA 94514                    office@byronumc.net                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Byron United Methodist Church                                  Attn: Tom Carruth                       103 W Heritage Blvd                                            Byron, GA 31008                                                      lcbyrn@aol.com                          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         C & M Diversified Co, Inc                                      Silicon Valley Monterey Bay 055         14684 Bronson Ave                                              San Jose, CA 95124‐3555                                                                                      First Class Mail
Voting Party                   C Adam Toney Tires‐Wholesale                                   P.O. Box 99                             Oak Hill, WV 25901‐0099                                                                                                                                                     First Class Mail
Chartered Organization         C Blyth Andrews Housing                                        Greater Tampa Bay Area 089              2201 E Osborne Ave                                             Tampa, FL 33610‐6258                                                                                         First Class Mail
Voting Party                   C David Moody                                                  c/o Boy Scouts of America               Attn: Chase Koontz                                             1325 W Walnut Hill Ln             Irving, TX 75015                   chase.koontz@scouting.org               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         C L Perkins Post 60 ‐ American Legion                          Daniel Webster Council, Bsa 330         21 Main St                                                     Farmington, NH 03835                                                                                         First Class Mail
Chartered Organization         C O Harrison Elementary School Pta                             Dan Beard Council, Bsa 438              585 Neeb Rd                                                    Cincinnati, OH 45233‐4610                                                                                    First Class Mail
Chartered Organization         C R Applegate School Pto                                       Monmouth Council, Bsa 347               47 Jean Brennan Dr                                             Freehold, NJ 07728‐4208                                                                                      First Class Mail
Voting Party                   C Travis Traylor                                               c/o Boy Scouts of America               Attn: Chase Koontz                                             1325 W Walnut Hill Ln             Irving, TX 75015                   chase.koontz@scouting.org               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         C W Shipley Sea                                                Shenandoah Area Council 598             P.O. Box 270                                                   Harpers Ferry, WV 25425                                                                                      First Class Mail
Voting Party                   C Wayne Brock                                                  Address Redacted                                                                                                                                                            Email Address Redacted                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         C. T. Club                                                     Northern Lights Council 429             25 N Munsterman St                                             Appleton, MN 56208‐1259                                                                                      First Class Mail
Chartered Organization         C.A.R.E. Assoc                                                 Mississippi Valley Council 141 141      451 N Vine St                                                  Kahoka, MO 63445                                                                                             First Class Mail
Chartered Organization         C.A.R.E.S.                                                     Greater Alabama Council 001             P.O. Box 11126                                                 Huntsville, AL 35814‐1126                                                                                    First Class Mail
Chartered Organization         C.C. Moss Elementary ‐ Gifw                                    Longhorn Council 662                    4108 Eastland St                                               Fort Worth, TX 76119‐2982                                                                                    First Class Mail
Chartered Organization         C.R.Batchelder, American Legion Post 72                        Daniel Webster Council, Bsa 330         Rt. 28                                                         Alton, NH 03809                                                                                              First Class Mail
Voting Party                   C/O Adams And Reese Llp                                        Attn: Timothy James Anzenberger         1018 Highland Colony Pkwy, Ste 800                             Ridgeland, MS 39157                                                  tim.anzenberger@arlaw.com               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Allen, Vernon & Hoskins, Plc                               Attn: J.K. Robison                      1317 7th Ave, Ste 210                                          Marion, IA 52302                                                     jrobison@allenvernon.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Bond Schoeneck & King                                      Attn: Andrew S Rivera                   One Lincoln Center                                             Syracuse, NY 13202                                                   arivera@bsk.com                         Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Burrage Law Firm                                           Attn: David Burrage                     P.O. 1727                                                      Durant, OK 74701                                                     kwalston@burragelaw.com                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Chubb                                                      Adrienne Logan                          436 Walnut St                                                  Philadelphia, PA 19106                                                                                       First Class Mail
Voting Party                   C/O Chubb                                                      Attn: Adrienne Logan                    436 Walnut St                                                  Philadelphia, PA 19106                                                                                       First Class Mail
Voting Party                   C/O Chubb F/K/A Ace                                            Attn: Collateral Manager                Pamela Bachstadt                                               436 Walnut St                     Philadelphia, PA 19106                                                     First Class Mail
Voting Party                   C/O Church Of The Good Shepherd Umc                            Steven R Good                           P.O. Box 695                                                   5 W Washington St                 Oswego, IL 60543                   office@goodshepherdoswego.org           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Ciardi Ciardi & Astin                                      Attn: Walter W Gouldsbury III, Esq      1905 Spruce St                                                 Philadelphia, PA 19103                                               wgouldsbury@ciardilaw.com               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Collins And Aromatorio, Pc                                 Attn: Lawrence C Collins                110 Main St                                                    Byron, GA 31008                                                      lcbyrn@aol.com                          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Davis Wright Tremaine                                      Attn: Joseph M Vanleuven                1300 SW 5th Ave, Ste 2400                                      Portland, OR 97201                                                   joevanleuven@dwt.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Dentons Bingham Greenebaum Llp                             Attn: James R Irving                    3500 Pnc Tower, 101 S 5th St                                   Louisville, KY 40299                                                 james.irving@dentons.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Drinkwater & Goldstein, Llp                                Attn: Tara L Magitz                     277 White Horse Pike, Ste 200                                  Atco, NJ 08004                                                       info@drinkwatergoldsteinlaw.com         Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Friday, Eldredge & Clark, Llp                              Attn: Lindsey Emerson Raines            400 W Capitol Ave, Ste 2000                                    Little Rock, AR 72201                                                lraines@fridayfirm.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Frost Brown Todd, LLC                                      Attn: Benjamin Katz                     150 3rd Ave S, Ste 1900                                        Nashville, TN 37201                                                  bkatz@fbtlaw.com                        Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Gerry & Kulm Ask, Prof, LLC                                Attn: Clair Robert Gerry                P.O. Box 966                                                   Sioux Falls, SD 57101                                                gerry@sgsllc.com                        Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Ghma Law                                                   Attn: David R Hillier                   P.O. Box 3235                                                  Asheville, NC 28802                                                  dhillier@ghma.law                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Grim, Biehn & Thatcher                                     Attn: Kelly L Eberle                    P.O. Box 215                                                   Perkasie, PA 18944                                                   keberle@grimlaw.com                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O James R Anderson Law Office                                Attn: James R Anderson                  600 Mamaroneck Ave, Ste 400                                    Harrison, NY 10528                                                   janderson10528@gmail.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Lagerlof, Llp                                              Attn: Andrew Douglas Turner             155 No Lake Ave, 11th Fl                                       Pasadena, CA 91101                                                   adturner@lagerlof.com                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Law Offices Of Robert S Lewis, Pc                          Attn: Robert S Lewis                    53 Burd St                                                     Nyack, NY 10960                                                      robert.lewlaw1@gmail.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Law Offices Of Skip Jennings, Pc                           Attn: Richard C E Jennings              115 W Oglethorpe Ave                                           Savannah, GA 03401                                                   skipjenningspc@comcast.net              Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Magavern Frimm Llp                                         Attn: Cheryl Smith Fisher               1100 Rand Bldg, 14 Lafayette Square                            Buffalo, NY 14203                                                    efisher@magavern.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Magavern Grimm Llp                                         Attn: Cheryl Smith Fisher               1100 Rand Bldg, 14 Lafayette Square                            Buffalo, NY 14203                                                    efisher@magavern.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Magavern Magavern & Grimm Llp                              Attn: Cheryl Smith Fisher               1100 Rand Bldg, 14 Lafayette Sq                                Buffalo, NY 14203                                                    cfisher@magavern.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Magavern Magavern Grimm Llp                                Attn: Cheryl Smith Fisher               1100 Rand Bldg                                                 14 Lafayette Sq                   Buffalo, NY 14203                  cfisher@magavern.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Magavern Magavern Grimm Llp                                Attn: Cheryl Smith Fisher               1100 Rand Bldg, 14 Lafayette Sq                                Buffalo, NY 14203                                                    cfisher@magavern.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Mcgivney, Kluger, Clark & Intoccia                         Attn: Kevin D Torge, Esq                80 Broad St, 23rd Fl                                           New York, NY 10004                                                   ktorge@mcgivneyandkluger.com            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Mcgivney, Kluger, Clark & Intoccia, Pc                     Attn: Kevin D Torge, Esq                80 Broad St, 23rd Fl                                           New York, NY 10004                                                   ktorge@mcgivneyandkluger.com            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Messner Reeves, Llp                                        Attn: Deanne R Stodden                  1430 Wynkoop St, Ste 300                                       Denver, CO 80202                                                     bankruptcy@messner.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   C/O Moritt Hock & Hamroff Llp                                  Attn: Theresa A Driscoll                400 Garden City Plz                                            Garden City, NY 11530                                                tdriscoll@moritthock.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 43 of 442
                                                                                   Case 20-10343-LSS                                                  Doc 8171                                       Filed 01/06/22                                           Page 59 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                         Name                                                                                                Address                                                                                                      Email                         Method of Service
Voting Party                   C/O Newman Williams Law Office, Pc                         Attn: Vincent Rubino                               712 Monroe St, P.O. Box 511                             Stroudsburg, PA 18360                                              vrubino@newmanwilliams.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   C/O Pfeifer Morgan & Stesiak                               Attn: Ryan G Milligan                              53600 N Ironwood Rd                                     South Bend, IN 46635                                               RMilligan@pilawyers.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   C/O Rembolt Ludtke Llp                                     Attn: Benjamin E Moore                             1128 Lincoln Mall, Ste 300                              Lincoln, NE 68508                                                  bmoore@remboltlawfirm.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   C/O Sherrard, German & Kelly, Pc                           Attn: Suzanne L Dewalt                             535 Smithfield St, Ste 300                              Pittsburgh, PA 15222                                               sld@sgkpc.com                           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   C/O Steinberg, Symer & Platt, Llp                          Attn: Jonathan E Symer                             27 Garden St                                            Poughkeepsie, NY 12601                                             jsymer@sspp‐law.com                     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   C/O Stephen D Tousey Law Offices, Ltd                      Attn: Stephen D Tousey                             2400 Big Timber Rd, Ste 201A                            Elgin, IL 60124                                                    stousey@elginlawyer.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   C/O Steven R Pitzner, Pc                                   Attn: Steven Robert Pitzner                        10701 Gleneagles Ln                                     Rowlett, TX 75089                                                  srpitzner@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   C/O Stichter, Riedel, Blain & Postler, Pa                  Attn: Daniel R Fogarty                             110 E Madison St, 300                                   Tampa, FL 33602                                                    dfogarty.ecf@srbp.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         C2 Pipeline Denby                                          Great Lakes Fsc 272                                12800 Kelly Rd                                          Detroit, MI 48224‐1506                                                                                     First Class Mail
Chartered Organization         C2 Pipeline Fitzgerald                                     Great Lakes Fsc 272                                23200 Ryan Rd                                           Warren, MI 48091‐4551                                                                                      First Class Mail
Chartered Organization         C2 Pipeline Pershing                                       Great Lakes Fsc 272                                18875 Ryan Rd                                           Detroit, MI 48234‐1917                                                                                     First Class Mail
Chartered Organization         C2 Pipeline Warren Woods                                   Great Lakes Fsc 272                                27900 Bunert Rd                                         Warren, MI 48088‐4865                                                                                      First Class Mail
Chartered Organization         Caballeros De Colon 5156                                   Puerto Rico Council 661                            Reparto Flamingo                                        Calle Capitan Correa              Bayamon, PR 00959                                                        First Class Mail
Chartered Organization         Caballeros De Colon Consejo                                Puerto Rico Council 661                            Reyes Catolicos 1811                                    Mayaguez, PR 00681                                                                                         First Class Mail
Chartered Organization         Caballeros De Colon Mayaguez                               Puerto Rico Council 661                            P.O. Box 2983                                           Mayaguez, PR 00681‐2983                                                                                    First Class Mail
Chartered Organization         Cabelas Acworth                                            Atlanta Area Council 092                           150 Npoint Pkwy                                         Acworth, GA 30102                                                                                          First Class Mail
Voting Party                   Cabeza, John                                               Address Redacted                                                                                                                                                              Email Address Redacted                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Cabin John Park Vfd                                        National Capital Area Council 082                  8001 River Rd                                           Bethesda, MD 20817‐2705                                                                                    First Class Mail
Chartered Organization         Cable & Area Lions Club                                    Voyageurs Area 286                                 P.O. Box 444                                            Cable, WI 54821‐0444                                                                                       First Class Mail
Voting Party                   Cablevision Systems Corporation                            dba Optimum                                        P.O. Box 742698                                         Cincinnati, OH 45274‐2698                                                                                  First Class Mail
Chartered Organization         Cabool Housing Authority                                   Ozark Trails Council 306                           P.O. Box 74                                             Cabool, MO 65689‐0074                                                                                      First Class Mail
Chartered Organization         Cabot Lions Club                                           Quapaw Area Council 018                            General Delivery                                        Cabot, AR 72023                                                                                            First Class Mail
Voting Party                   Cabot United Methodist Church                              c/o Pat Yingling                                   2003 S Pine St                                          Cabot, AR 72007                                                    lraines@fridayfirm.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Cabot Utd Methodist Church                                 Quapaw Area Council 018                            P.O. Box 1118                                           Cabot, AR 72023‐1118                                                                                       First Class Mail
Chartered Organization         Cabrillo Host Lions Club                                   Silicon Valley Monterey Bay 055                    P.O. Box 94                                             Aptos, CA 95001‐0094                                                                                       First Class Mail
Chartered Organization         Cache County Sheriffs Office                               Trapper Trails 589                                 1225 Valley View Dr                                     Logan, UT 84321‐4585                                                                                       First Class Mail
Chartered Organization         Cache Valley Cabinets And Tops                             Trapper Trails 589                                 44 N 200 W                                              Richmond, UT 84333‐1407                                                                                    First Class Mail
Chartered Organization         Cadby Shutts Vfw Post 7552                                 Twin Rivers Council 364                            P.O. Box 10                                             Hillsdale, NY 12529‐0010                                                                                   First Class Mail
Voting Party                   Caddo Area Council, Boy Scouts Of America                  Attn: Caddo Area Council                           24 Lynwood Dr                                           Texarkana, TX 75503                                                anthony.escobar@scouting.org            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Caddo Heights Elementary                                   Norwela Council 215                                1702 Corbitt St                                         Shreveport, LA 71108‐3008                                                                                  First Class Mail
Chartered Organization         Caddo Mills Historical Society                             Circle Ten Council 571                             2308 Main St                                            Caddo Mills, TX 75135                                                                                      First Class Mail
Voting Party                   Caddo Mills United Methodist Church                        P.O. Box 417                                       Caddo Mills, TX 75135                                                                                                                                              First Class Mail
Chartered Organization         Cade Chapel Missionary Baptist Church                      Andrew Jackson Council 303                         1000 W Ridgeway St                                      Jackson, MS 39213‐6259                                                                                     First Class Mail
Chartered Organization         Cadiz Methodist Church                                     Lincoln Heritage Council 205                       482 Lakota Dr                                           Cadiz, KY 42211‐6107                                                                                       First Class Mail
Voting Party                   Cadiz United Methodist Church, Inc                         Attn: James Redd, Asst Pastor                      482 Lakota Dr                                           Cadiz, KY 42211                                                    pastorjames@outlook.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Cadott Lions Club                                          Chippewa Valley Council 637                        8038 223rd St                                           Cadott, WI 54727‐4713                                                                                      First Class Mail
Chartered Organization         Caguas Private School                                      Puerto Rico Council 661                            130 Calle Jardines                                      Caguas, PR 00725‐2494                                                                                      First Class Mail
Chartered Organization         Cahaba Chapter Order Of The Arrow                          Tukabatchee Area Council 005                       1209 Selma Ave                                          Selma, AL 36703‐4447                                                                                       First Class Mail
Chartered Organization         Cahaba Heights Utd Methodist Church                        Greater Alabama Council 001                        3139 Cahaba Heights Rd                                  Vestavia, AL 35243‐5245                                                                                    First Class Mail
Chartered Organization         Cahill Benjamin Richardson, LLC                            Gulf Stream Council 085                            8501 SE Boy Scout Rd                                    Tequesta, FL 33469‐1899                                                                                    First Class Mail
Chartered Organization         Cahill Richardson, LLC                                     Central Florida Council 083                        1304 Biarritz St Nw                                     Palm Bay, FL 32907‐6815                                                                                    First Class Mail
Chartered Organization         Cai Learning Academy                                       Minsi Trails Council 502                           1033 W Washington St                                    Allentown, PA 18102                                                                                        First Class Mail
Chartered Organization         Cains Chapel Methodist Mens Club                           Tukabatchee Area Council 005                       P.O. Box 96                                             Deatsville, AL 36022‐0096                                                                                  First Class Mail
Chartered Organization         Cairo American College                                     Transatlantic Council, Bsa 802                     1 Midan Eigla                                           Maadi                             Egypt                                                                    First Class Mail
Chartered Organization         Cairo Elementary School                                    Greater St Louis Area Council 312                  3101 Elm St                                             Cairo, IL 62914‐1362                                                                                       First Class Mail
Voting Party                   Cairo United Methodist Church                              Attn: John Choi                                    13510 US Hwy 41A                                        Henderson, KY 42420                                                cairoumchurch@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Cairo United Methodist Church                              Attn: Pastor Ann Morgan                            488 Main St                                             Cairo, NY 12413                                                                                            First Class Mail
Chartered Organization         Cal Fire‐Riverside County Fire                             California Inland Empire Council 045               41725 Rosetta Canyon Dr                                 Lake Elsinore, CA 92532‐1655                                                                               First Class Mail
Chartered Organization         Calabash Charter Academy                                   W.L.A.C.C. 051                                     23055 Eugene St                                         Woodland Hills, CA 91364‐3723                                                                              First Class Mail
Voting Party                   Calais United Methodist Church                             Attn: Treasurer Calais Umc                         849 Main St                                             Calais, ME 04619                                                   calaisumc@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Calamus American Legion Post 466                           Illowa Council 133                                 2907 178th Ave                                          Calamus, IA 52729‐9628                                                                                     First Class Mail
Voting Party                   Calcasieu Area Cncl 209                                    304 Dr Michael Debakey Dr                          Lake Charles, LA 70601‐5822                                                                                                                                        First Class Mail
Chartered Organization         Calcutt 21St Century Program                               Narragansett 546                                   112 Washington St                                       Central Falls, RI 02863‐2232                                                                               First Class Mail
Chartered Organization         Caldwell Christian Church                                  Ore‐Ida Council 106 ‐ Bsa 106                      3207 E Ustick Rd                                        Caldwell, ID 83605‐6523                                                                                    First Class Mail
Chartered Organization         Caldwell Commty                                            College Technical Institute                        2855 Hickory Blvd                                       Hudson, NC 28638‐2672                                                                                      First Class Mail
Chartered Organization         Caldwell County Sheriff Dept                               Piedmont Council 420                               2351 Morganton Blvd Sw                                  Lenoir, NC 28645‐4973                                                                                      First Class Mail
Chartered Organization         Caldwell Early College                                     Piedmont Council 420                               2859 Hickory Blvd                                       Hudson, NC 28638‐2672                                                                                      First Class Mail
Chartered Organization         Caldwell Enterprises                                       Sequoyah Council 713                               846 Hwy 44, Lot 8                                       Bristol, TN 37620‐0674                                                                                     First Class Mail
Chartered Organization         Caldwell Memorial Hospital                                 Piedmont Council 420                               Mulberry St                                             Lenoir, NC 28645                                                                                           First Class Mail
Voting Party                   Caldwell Umc                                               c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Caldwell Utd Methodist Church                              Northern New Jersey Council, Bsa 333               80 Academy Rd                                           Caldwell, NJ 07006                                                                                         First Class Mail
Chartered Organization         Caldwell Utd Methodist Church                              Muskingum Valley Council, Bsa 467                  537 Main St                                             Caldwell, OH 43724‐1324                                                                                    First Class Mail
Chartered Organization         Caldwell Vfw                                               Ore‐Ida Council 106 ‐ Bsa 106                      1101 Cleveland Blvd                                     Caldwell, ID 83605‐3855                                                                                    First Class Mail
Chartered Organization         Caldwell West Caldwell Scouting, Inc                       Northern New Jersey Council, Bsa 333               37 Hillside Ave                                         Caldwell, NJ 07006‐5205                                                                                    First Class Mail
Chartered Organization         Cale Elementary School P T O                               Stonewall Jackson Council 763                      1757 Avon St Ext                                        Charlottesville, VA 22902‐8708                                                                             First Class Mail
Chartered Organization         Caledonia American Legion Post 305                         President Gerald R Ford 781                        9548 Cherry Valley Ave Se                               Caledonia, MI 49316‐9564                                                                                   First Class Mail
Chartered Organization         Caledonia Area Kiwanis                                     President Gerald R Ford 781                        9265 Cherry Valley Ave Se                               Caledonia, MI 49316‐9504                                                                                   First Class Mail
Chartered Organization         Caledonia Elementary School                                Lake Erie Council 440                              914 Caledonia Ave                                       Cleveland, OH 44112‐2319                                                                                   First Class Mail
Chartered Organization         Caledonia Mumford Lions Club                               Iroquois Trail Council 376                         P.O. Box 144                                            Caledonia, NY 14423‐0144                                                                                   First Class Mail
Chartered Organization         Caledonia Supper Club                                      Pushmataha Area Council 691                        1294 Stanley Rd                                         Caledonia, MS 39740‐7504                                                                                   First Class Mail
Voting Party                   Caledonia United Methodist Church                          Attn: Erin Benjamin, Treasurer Caledonia Umc       250 Vine St Se                                          Caledonia, MI 49316                                                office@caledoniaumc.org                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Caledonia Volunteer Fire Dept                              Iroquois Trail Council 376                         288 Armstrong Pl                                        Caledonia, NY 14423‐1126                                                                                   First Class Mail
Chartered Organization         Calera Elks Lodge 2703                                     Greater Alabama Council 001                        P.O. Box 1098                                           Calera, AL 35040‐1098                                                                                      First Class Mail
Voting Party                   Calera United Methodist Church                             c/o Calera Umc                                     Lorrie Compton                                          P.O. Box 288                      Calera, OK 74730                 caleraokumc@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Calexico Police                                            San Diego Imperial Council 049                     417 Heber Ave                                           Calexico, CA 92231‐2810                                                                                    First Class Mail
Chartered Organization         Calexico Rotary Club                                       San Diego Imperial Council 049                     P.O. Box 747                                            Calexico, CA 92232‐0747                                                                                    First Class Mail
Voting Party                   Calhan United Methodist Church                             Robert Lynn Selle                                  581 Denver St                                           Calhan, CO 80808                                                   calhanumc@hotmail.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Calhan United Methodist Church                             Attn: Bob Selle                                    8870 N Calhan Hwy                                       Calhan, CO 80808                                                   calhanumc@hotmail.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Calhoun First Presbyterian Church                          Northwest Georgia Council 100                      829 Red Bud Rd Ne                                       Calhoun, GA 30701‐1968                                                                                     First Class Mail
Voting Party                   Calhoun First Umc                                          c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Calhoun First Umc                                          205 E Line St                                      Calhoun, GA 3701                                                                                                                                                   First Class Mail
Voting Party                   Calhoun Umc                                                Ken S Berggren                                     405 Main St                                             Calhoun, KY 42327                                                  brokenberggren@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Calhoun United Methodist Church                            Attn: Treasurer, Calhoun United Methodist Church   P.O. Box 36                                             Calhoun, KY 42327                                                  henrietta.miller@hotmail.com            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Calhoun United Methodist Church                            P.O. Box 185                                       820 Hwy 163                                             Calhoun, TN 37309                                                  calhountennesseeumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   California Heights United Methodist Church                 Attn: Douglas Alan Dickson                         3759 Orange Ave                                         Long Beach, CA 90807                                               PastorDoug@CalHeightsUMC.org            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         California Heights Utd Methodist                           Long Beach Area Council 032                        3759 Orange Ave                                         Long Beach, CA 90807‐4228                                                                                  First Class Mail
Chartered Organization         California Highway Patrol                                  Santa Cruz County                                  10395 Soquel Dr                                         Aptos, CA 95003‐4937                                                                                       First Class Mail
Chartered Organization         California Highway Patrol                                  California Inland Empire Council 045               195 Highland Springs Ave                                Beaumont, CA 92223‐2511                                                                                    First Class Mail
Chartered Organization         California Highway Patrol                                  Golden Empire Council 047                          413 Southgate Ave                                       Chico, CA 95928‐7436                                                                                       First Class Mail
Chartered Organization         California Highway Patrol                                  Mt Diablo‐Silverado Council 023                    3050 Travis Blvd                                        Fairfield, CA 94534‐3443                                                                                   First Class Mail
Chartered Organization         California Highway Patrol                                  Sequoia Council 027                                1380 E Fortune Ave                                      Fresno, CA 93725‐1958                                                                                      First Class Mail
Chartered Organization         California Highway Patrol                                  Silicon Valley Monterey Bay 055                    740 Renz Ln                                             Gilroy, CA 95020‐9584                                                                                      First Class Mail
Chartered Organization         California Highway Patrol                                  Golden Empire Council 047                          11363 Mccourtney Rd                                     Grass Valley, CA 95949‐9759                                                                                First Class Mail
Chartered Organization         California Highway Patrol                                  Sequoia Council 027                                1565 Glendale Ave                                       Hanford, CA 93230‐6934                                                                                     First Class Mail
Chartered Organization         California Highway Patrol                                  Golden Empire Council 047                          5700 Live Oak Dr                                        Kelseyville, CA 95451‐8947                                                                                 First Class Mail
Chartered Organization         California Highway Patrol                                  Sequoia Council 027                                3051 Airport Dr                                         Madera, CA 93637‐9294                                                                                      First Class Mail
Chartered Organization         California Highway Patrol                                  Mt Diablo‐Silverado Council 023                    5001 Blum Rd                                            Martinez, CA 94553‐4307                                                                                    First Class Mail
Chartered Organization         California Highway Patrol                                  Southern Sierra Council 030                        1313 State Hwy 58                                       Mojave, CA 93501‐1900                                                                                      First Class Mail
Chartered Organization         California Highway Patrol                                  Golden Empire Council 047                          11336 Trade Center Dr                                   Rancho Cordova, CA 95742‐6219                                                                              First Class Mail
Chartered Organization         California Highway Patrol                                  California Inland Empire Council 045               9530 Pittsburgh Ave                                     Rancho Cucamonga, CA 91730‐6007                                                                            First Class Mail
Chartered Organization         California Highway Patrol                                  Pacific Skyline Council 031                        355 Convention Way                                      Redwood City, CA 94063‐1402                                                                                First Class Mail
Chartered Organization         California Highway Patrol                                  California Inland Empire Council 045               8118 Lincoln Ave                                        Riverside, CA 92504‐4347                                                                                   First Class Mail
Chartered Organization         California Highway Patrol                                  Rohnert Park Office 360                            6100 Labath Ave                                         Rohnert Park, CA 94928‐7916                                                                                First Class Mail
Chartered Organization         California Highway Patrol                                  Golden Empire Council 047                          6 Massie Ct                                             Sacramento, CA 95823‐4301                                                                                  First Class Mail
Chartered Organization         California Highway Patrol                                  California Inland Empire Council 045               2211 Wern Ave                                           San Bernardino, CA 92411                                                                                   First Class Mail
Chartered Organization         California Highway Patrol                                  San Diego Imperial Council 049                     5902 Kearny Villa Rd                                    San Diego, CA 92123‐1109                                                                                   First Class Mail
Chartered Organization         California Highway Patrol                                  San Diego Imperial Council 049                     435 La Tortuga Dr                                       Vista, CA 92081‐4321                                                                                       First Class Mail
Chartered Organization         California Highway Patrol ‐ Joshua Tree                    California Inland Empire Council 045               63683 29 Palms Hwy                                      Joshua Tree, CA 92252‐6613                                                                                 First Class Mail
Chartered Organization         California Highway Patrol ‐ Monterey                       Silicon Valley Monterey Bay 055                    960 E Blanco Rd                                         Salinas, CA 93901‐4419                                                                                     First Class Mail
Chartered Organization         California Highway Patrol ‐ San Jose                       Silicon Valley Monterey Bay 055                    2020 Junction Ave                                       San Jose, CA 95131‐2104                                                                                    First Class Mail
Chartered Organization         California Highway Patrol ‐ Sf Area                        San Francisco Bay Area Council 028                 455 8th St                                              San Francisco, CA 94103‐4407                                                                               First Class Mail
Chartered Organization         California Highway Patrol (Dublin)                         San Francisco Bay Area Council 028                 4999 Gleason Dr                                         Dublin, CA 94568‐7643                                                                                      First Class Mail
Chartered Organization         California Highway Patrol (Oakland)                        San Francisco Bay Area Council 028                 3601 Telegraph Ave                                      Oakland, CA 94609‐2426                                                                                     First Class Mail
Chartered Organization         California Highway Patrol Altadena                         Greater Los Angeles Area 033                       2130 Windsor Ave                                        Altadena, CA 91001‐5369                                                                                    First Class Mail
Chartered Organization         California Highway Patrol Amador                           Golden Empire Council 047                          301 Clinton Rd                                          Jackson, CA 95642‐2663                                                                                     First Class Mail
Chartered Organization         California Highway Patrol‐ Antelope Vly                    Greater Los Angeles Area 033                       2041 W Ave I                                            Lancaster, CA 93536‐7202                                                                                   First Class Mail
Chartered Organization         California Highway Patrol‐ Central                         Greater Los Angeles Area 033                       777 W Washington Blvd                                   Los Angeles, CA 90015‐4128                                                                                 First Class Mail
Chartered Organization         California Highway Patrol E Los Angeles                    Greater Los Angeles Area 033                       1601 Corporate Center Dr                                Monterey Park, CA 91754‐7627                                                                               First Class Mail
Chartered Organization         California Highway Patrol El Cajon Area                    San Diego Imperial Council 049                     1722 E Main St                                          El Cajon, CA 92021‐5218                                                                                    First Class Mail
Chartered Organization         California Highway Patrol Explorer 265                     Greater Yosemite Council 059                       3330 N Ad Art Rd                                        Stockton, CA 95215‐2241                                                                                    First Class Mail
Chartered Organization         California Highway Patrol Newhall Area                     Greater Los Angeles Area 033                       28648 the Old Rd                                        Valencia, CA 91355‐1021                                                                                    First Class Mail
Chartered Organization         California Highway Patrol Redding                          Golden Empire Council 047                          2503 Cascade Blvd                                       Redding, CA 96003‐0930                                                                                     First Class Mail
Chartered Organization         California Highway Patrol‐ W Los Angeles                   Greater Los Angeles Area 033                       6300 Bristol Pkwy                                       Culver City, CA 90230‐6945                                                                                 First Class Mail
Chartered Organization         California Highway Patrol‐ W Vly Area                      Greater Los Angeles Area 033                       5825 De Soto Ave                                        Woodland Hills, CA 91367‐5202                                                                              First Class Mail
Chartered Organization         California Highway Patrol, El Centro                       San Diego Imperial Council 049                     2331 US Hwy 86                                          Imperial, CA 92251‐9780                                                                                    First Class Mail
Chartered Organization         California Highway Patrol‐Baldwin Park                     Greater Los Angeles Area 033                       14039 Francisquito Ave                                  Baldwin Park, CA 91706‐5907                                                                                First Class Mail
Chartered Organization         California Jr Life Guards Salt Creek                       Orange County Council 039                          P.O. Box 1639                                           Huntington Beach, CA 92647‐1639                                                                            First Class Mail
Chartered Organization         California Lions Club                                      Great Rivers Council 653                           P.O. Box 141                                            California, MO 65018‐0141                                                                                  First Class Mail
Chartered Organization         California National Guard                                  Orange County Council 039                          455 Saratoga Ave Bldg 15                                Los Alamitos, CA 90890                                                                                     First Class Mail
Voting Party                   California State Controller                                Attn: David Brownfield, Staff Counsel              300 Capitol Mall, Ste 1850                              Sacramento, CA 95814                                               dbrownfield@sco.ca.gov                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   California United Methodist Church (102702)                c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   California United Methodist Church (102702)                c/o Bentz Law Firm                                 Attn: Sean Bollman                                      680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         California Utd Methodist Church                            Laurel Highlands Council 527                       227 3rd St                                              California, PA 15419‐1131                                                                                  First Class Mail
Chartered Organization         California Waterfowl Assoc.                                Golden Empire Council 047                          1346 Blue Oaks Blvd, Ste 200                            Roseville, CA 95678‐7034                                                                                   First Class Mail
Chartered Organization         Callahan Masonic Lodge 32                                  North Florida Council 087                          P.O. Box 535                                            Callahan, FL 32011‐0535                                                                                    First Class Mail
Chartered Organization         Callahan Neighborhood Center                               Central Florida Council 083                        101 N Parramore Ave                                     Orlando, FL 32801‐1713                                                                                     First Class Mail
Chartered Organization         Callaway Elementary School                                 Baltimore Area Council 220                         3701 Fernhill Ave                                       Baltimore, MD 21215‐6133                                                                                   First Class Mail
Chartered Organization         Callaway High School                                       Andrew Jackson Council 303                         601 Beasley Rd                                          Jackson, MS 39206‐2802                                                                                     First Class Mail
Voting Party                   Callicoon United Methodist Church                          Attn: Sandra Flynn                                 266A Callicoon Rd                                       Damascus, PA 18415                                                 sandraflynn1947@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Callicoon United Methodist Church                          P.O. Box 235                                       Callicoon, NY 12723                                                                                                        sandraflynn1947@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Calloway UMC 5000 Lee Hwy, Arlington, VA 22207             c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Cally Rae Lynn Kjellberg‐Nelson                            c/o Quinlivan & Hughes, Pa                         1740 West St Germain St                                 P.O. Box 1008                     St. Cloud, MN 56302              ckjellberg‐nelson@quinlivan.com         Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Caln Elementary Pta                                        Chester County Council 539                         3609 Lincoln Hwy                                        Thorndale, PA 19372‐1003                                                                                   First Class Mail
Chartered Organization         Caloosa Elementary School                                  Southwest Florida Council 088                      620 Del Prado Blvd S                                    Cape Coral, FL 33990‐2668                                                                                  First Class Mail
Chartered Organization         Calumet City Police Dept                                   Pathway To Adventure 456                           1200 Pulaski Rd                                         Calumet City, IL 60409‐3915                                                                                First Class Mail
Voting Party                   Calvary & South Marion Umc Parish                          Erik Wibholm                                       901 Moore St                                            Stratford, IA 50249                                                calvarysouthmariontreasurer@gmail.com   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Calvary Asbury Utd Methodist Church                        Del Mar Va 081                                     103 N Church St                                         Sudlersville, MD 21668‐1435                                                                                First Class Mail
Chartered Organization         Calvary Baptist Church                                     Louisiana Purchase Council 213                     5011 Jackson St                                         Alexandria, LA 71303‐2316                                                                                  First Class Mail
Chartered Organization         Calvary Baptist Church                                     Capitol Area Council 564                           P.O. Box 340                                            Bastrop, TX 78602‐0340                                                                                     First Class Mail
Chartered Organization         Calvary Baptist Church                                     Pushmataha Area Council 691                        295 Dowdle Dr                                           Columbus, MS 39702‐8004                                                                                    First Class Mail
Chartered Organization         Calvary Baptist Church                                     Del Mar Va 081                                     1120 Market St                                          Denton, MD 21629‐3476                                                                                      First Class Mail
Chartered Organization         Calvary Baptist Church                                     Grand Columbia Council 614                         840 Cowboy Ln                                           Ellensburg, WA 98926‐8512                                                                                  First Class Mail
Chartered Organization         Calvary Baptist Church                                     Greater Los Angeles Area 033                       2990 Damien Ave                                         La Verne, CA 91750‐4110                                                                                    First Class Mail
Chartered Organization         Calvary Baptist Church                                     Quapaw Area Council 018                            5700 Cantrell Rd                                        Little Rock, AR 72207‐4402                                                                                 First Class Mail
Chartered Organization         Calvary Baptist Church                                     Old Hickory Council 427                            314 S Franklin Rd                                       Mount Airy, NC 27030‐4218                                                                                  First Class Mail
Chartered Organization         Calvary Baptist Church                                     Westmoreland Fayette 512                           792 S Center Ave                                        New Stanton, PA 15672                                                                                      First Class Mail
Chartered Organization         Calvary Baptist Church                                     Crater Lake Council 491                            2241 N Main St                                          Prineville, OR 97754‐8159                                                                                  First Class Mail
Chartered Organization         Calvary Baptist Church                                     Old N State Council 070                            7860 Nc Hwy 87                                          Reidsville, NC 27320‐8856                                                                                  First Class Mail
Chartered Organization         Calvary Baptist Church                                     Pacific Harbors Council, Bsa 612                   9010 320th St S                                         Roy, WA 98580‐8786                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 44 of 442
                                                                                    Case 20-10343-LSS                                                     Doc 8171                                      Filed 01/06/22                                             Page 60 of 457
                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                      Service List
                                                                                                                                                                               Served as set forth below

        Description                                                        Name                                                                                                    Address                                                                                                             Email                    Method of Service
Chartered Organization         Calvary Baptist Church                                      Alamo Area Council 583                                6142 Fm 78                                             San Antonio, TX 78244‐1032                                                                                   First Class Mail
Voting Party                   Calvary Bellwood (Extended) (188380)                        c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Brownsburg Um Church                                Attn: Steve Highsmith                                 575 W Northfield Dr                                    Brownsburg, IN 46112                                                 toutcalt@calvaryunited.org              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Calvary Chapel                                              Mount Baker Council, Bsa 606                          9428 4th St Se                                         Lake Stevens, WA 98258‐3980                                                                                  First Class Mail
Chartered Organization         Calvary Chapel Chico                                        Golden Empire Council 047                             1888 Springfield Dr                                    Chico, CA 95928‐7315                                                                                         First Class Mail
Chartered Organization         Calvary Chapel Ft Lauderdale                                South Florida Council 084                             2401 W Cypress Creek Rd                                Ft Lauderdale, FL 33309‐1828                                                                                 First Class Mail
Chartered Organization         Calvary Chapel Golden Springs                               Greater Los Angeles Area 033                          22324 Golden Springs Dr                                Diamond Bar, CA 91765‐2449                                                                                   First Class Mail
Voting Party                   Calvary Chapel Of Costa Mesa                                Attn: Julie Ana Irving                                3800 S Fairview St                                     Santa Ana, CA 92704                                                  Jirving@ccccm.com                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Calvary Chapel Of Downey                                    Long Beach Area Council 032                           12808 Woodruff Ave                                     Downey, CA 90242‐5055                                                                                        First Class Mail
Chartered Organization         Calvary Chapel Of Norman                                    Last Frontier Council 480                             1401 W Boyd St                                         Norman, OK 73069‐4805                                                                                        First Class Mail
Voting Party                   Calvary Chapel Of Oxnard                                    Attn: Eric Robbins                                    2001 Eastman Ave                                       Oxnard, CA 93030                                                     eric@calvaryoxnard.org                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Calvary Chapel Of Santa Maria                               Los Padres Council 053                                2620 Santa Maria Way                                   Santa Maria, CA 93455‐1714                                                                                   First Class Mail
Chartered Organization         Calvary Chapel Of Thousand Oaks                             Ventura County Council 057                            320 Via Las Brisas                                     Newbury Park, CA 91320‐7032                                                                                  First Class Mail
Chartered Organization         Calvary Chapel Pomona Valley                                Greater Los Angeles Area 033                          2809 Pomona Blvd                                       Pomona, CA 91768‐3225                                                                                        First Class Mail
Chartered Organization         Calvary Chapel Tracy                                        Greater Yosemite Council 059                          125 Gandy Dancer Dr, Ste 40                            Tracy, CA 95377‐8912                                                                                         First Class Mail
Chartered Organization         Calvary Church                                              Orange County Council 039                             1010 N Tustin Ave                                      Santa Ana, CA 92705‐3503                                                                                     First Class Mail
Chartered Organization         Calvary Church                                              W.L.A.C.C. 051                                        7115 Shoup Ave                                         West Hills, CA 91307‐2353                                                                                    First Class Mail
Chartered Organization         Calvary Church Of The Nazarene                              Coastal Carolina Council 550                          P.O. Box 329                                           Goose Creek, SC 29445‐0329                                                                                   First Class Mail
Chartered Organization         Calvary Church Of The Nazarine Apopka                       Central Florida Council 083                           750 Roger Williams Rd                                  Apopka, FL 32703‐5508                                                                                        First Class Mail
Chartered Organization         Calvary Community Center                                    Pathway To Adventure 456                              8200 S South Chicago Ave                               Chicago, IL 60617‐1817                                                                                       First Class Mail
Chartered Organization         Calvary Community Church                                    W.L.A.C.C. 051                                        5495 Via Rocas                                         Westlake Village, CA 91362‐4084                                                                              First Class Mail
Chartered Organization         Calvary Episcopal Church                                    Dan Beard Council, Bsa 438                            3766 Clifton Ave                                       Cincinnati, OH 45220‐1299                                                                                    First Class Mail
Chartered Organization         Calvary Episcopal Church                                    Sam Houston Area Council 576                          806 Thompson Rd                                        Richmond, TX 77469‐3334                                                                                      First Class Mail
Voting Party                   Calvary Episcopal Church                                    Cary Gay Tanner                                       P.O. Box 685                                           Menard, TX 76859                                                     tanner.carygray@gmail.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Episcopal Church                                    Attn: Cary Gay Tanner                                 P.O. Box 863                                           Menard, TX 76859                                                     tanner.carygay@gmail.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Episcopal Church                                    c/o Cadwell Sanford Deibert & Garry LLP               Attn: Steven W Sanford                                 200 E 10th St, Ste 200            Sioux Falls, SD 57104              ssanford@cadlaw.com                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Episcopal Church                                    P.O. Box 41                                           Burnt Hills, NY 12027                                                                                                       rector@calvarybh.org                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Episcopal Church                                    123 S 9th St                                          Columbia, MO 65201                                                                                                          ccarpenter@calvaryonninth.org           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Episcopal Church                                    Attn: Alexander Urquhart                              P.O. Box 7100                                          Rocky Mount, NC 27804                                                aurquhart@bwsw.com                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Episcopal Church (Underhill)                        c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                  159 Main St                       Nashua, NH 03060                   peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Episcopal Church Richmond, TX 77469                 Attn: Ralph Morgan                                    806 Thompson Rd                                        Richmond, TX 77469                                                   khaley@ces‐richmond.org                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Episcopal Church, Tarboro NC                        Attn: Alexander B. Urquhart                           P.O. Box 7100                                          Rocky Mount, NC 27804                                                aurquhart@bwsw.com                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Calvary Evangelical Lutheran Church                         Great Lakes Fsc 272                                   6805 Bluegrass Dr                                      Clarkston, MI 48346‐1402                                                                                     First Class Mail
Chartered Organization         Calvary Evangelical Lutheran Church                         Great Lakes Fsc 272                                   9101 Highland Rd                                       White Lake, MI 48386‐2033                                                                                    First Class Mail
Voting Party                   Calvary Evangelical Lutheran Church                         Attn: Gary W Brown                                    5804 Shepherd Dr                                       Frederick, MD 21704                                                  gwbrow52@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Evangelical Lutheran Church                         Attn: Bonnie Deturck Council President                1009 Elizabeth Ave                                     Laureldale, PA 19605                                                 contactcalvary@verizon.net              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Evangelical Lutheran Church                         107 N Wood Dale Rd                                    Wood Dale, IL 60191                                                                                                         calvarywooddaleil@gmail.com             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Evangelical Lutheran Church                         Attn: Rob Lundquist                                   5909 Davis Rd                                          Woodbine, MD 21797                                                   calvarytreasurer@hughes.net             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Evangelical Lutheran Church Of San Diego            3060 54th St                                          San Diego, CA 92105                                                                                                         calvluthsd@msn.com                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Calvary Hilltop Utd Methodist Church                        Dan Beard Council, Bsa 438                            1930 W Galbraith Rd                                    Cincinnati, OH 45239‐4753                                                                                    First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Northern Lights Council 429                           605 Douglas St                                         Alexandria, MN 56308‐1732                                                                                    First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Northern New Jersey Council, Bsa 333                  165 W Crescent Ave                                     Allendale, NJ 07401‐1545                                                                                     First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Anthony Wayne Area 157                                1532 N Main St                                         Bluffton, IN 46714‐1125                                                                                      First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Central N Carolina Council 416                        950 Bradley St                                         Concord, NC 28025‐0908                                                                                       First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Theodore Roosevelt Council 386                        36 Taylor Ave                                          East Meadow, NY 11554‐2126                                                                                   First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Northern Star Council 250                             6817 Antrim Rd                                         Edina, MN 55439‐1704                                                                                         First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Northern Lights Council 429                           1405 S 9th St                                          Grand Forks, ND 58201‐5563                                                                                   First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Suffolk County Council Inc 404                        860 Townline Rd                                        Hauppauge, NY 11788‐2809                                                                                     First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Heart of America Council 307                          7500 Oak St                                            Kansas City, MO 64114‐1945                                                                                   First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Hawk Mountain Council 528                             1009 Elizabeth Ave                                     Laureldale, PA 19605‐2630                                                                                    First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Baltimore Area Council 220                            16151 Old Frederick Rd                                 Mount Airy, MD 21771‐3337                                                                                    First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Inland Northwest Council 611                          1101 N Chase Rd                                        Post Falls, ID 83854‐9603                                                                                    First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Black Hills Area Council 695 695                      5311 Sheridan Lake Rd                                  Rapid City, SD 57702‐9237                                                                                    First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Longhorn Council 662                                  7620 Baker Blvd                                        Richland Hills, TX 76118‐5904                                                                                First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Bay‐Lakes Council 635                                 1921 Adams St                                          Two Rivers, WI 54241‐2560                                                                                    First Class Mail
Chartered Organization         Calvary Lutheran Church                                     Northern Star Council 250                             302 Olena Ave                                          Willmar, MN 56201‐4536                                                                                       First Class Mail
Voting Party                   Calvary Lutheran Church                                     Attn: Steve Ellis                                     17200 Via Magdelena                                    San Lorenzo, CA 94580                                                steve@zone7water.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Lutheran Church                                     119 N King St                                         Morganton, NC 28655                                                                                                         pastorpcarlson@gmail.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Lutheran Church                                     414 S Wood St                                         Mora, MN 55051                                                                                                              office@calvarymora.org                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Lutheran Church                                     Attn: William Arnold                                  4211 NW Topeka Blvd                                    Topeka, KS 66617                                                     calvarylcms@calvarytopeka.org           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Lutheran Church                                     4211 NW Topeka Blvd                                   Topeka, KS 66617                                                                                                            calvarylcms@calvarytopeka.org           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Lutheran Church                                     Attn: Congregational President                        3 Eayrestown Rd                                        Medford, NJ 08055                                                    calvary.lcms.medford@gmail.com          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Lutheran Church Of East Meadow                      Attn: Treasurer Calvary Lutheran & Christine Schulz   36 Taylor Ave                                          East Meadow, NY 11554                                                treasurer@calvarylc.org                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Lutheran Church Willmar MN                          Attn: Timothy Don Malek                               302 Olena Ave Se                                       Willmar, MN 56201                                                    calvarylutheran@calvarywillmar.org      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Lutheran Church, Inc. Of Bluffton, Indiana          c/o Plews Shadley Racher & Braun LLP                  Attn: Josh S Tatum                                     1346 N Delaware St                Indianapolis, IN 46202             jtatum@psrb.com                         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Calvary Lutheran Churchmen                                  Illowa Council 133                                    121 Meridian St                                        New Windsor, IL 61465‐5051                                                                                   First Class Mail
Chartered Organization         Calvary Lutheran Church‐White Lake                          Great Lakes Fsc 272                                   9101 Highland Rd                                       White Lake, MI 48386‐2033                                                                                    First Class Mail
Chartered Organization         Calvary Lutheran Mens Club                                  Voyageurs Area 286                                    2508 Washington Ave Se                                 Bemidji, MN 56601‐8847                                                                                       First Class Mail
Voting Party                   Calvary Memorial Umc                                        Jason Bradley Leighton                                109 W Greene St                                        Snow Hill, NC 28580                                                  Jason.Leighton@nccumc.org               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Memorial United Methodist Church                    Attn: Treasurer                                       107 W Greene St                                        Snow Hill, NC 28580                                                  Jason.Leighton@nccumc.org               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Calvary Presbyterian Ch San Francisco                       San Francisco Bay Area Council 028                    2515 Fillmore St                                       San Francisco, CA 94115‐1318                                                                                 First Class Mail
Chartered Organization         Calvary Presbyterian Church                                 Great Southwest Council 412                           P.O. Box 336                                           Bayfield, CO 81122‐0336                                                                                      First Class Mail
Chartered Organization         Calvary Presbyterian Church                                 Laurel Highlands Council 527                          695 School St                                          Indiana, PA 15701‐3076                                                                                       First Class Mail
Chartered Organization         Calvary Presbyterian Church                                 Northeast Illinois 129                                510 N Cedar Lake Rd                                    Round Lake, IL 60073‐2804                                                                                    First Class Mail
Chartered Organization         Calvary Presbyterian Church                                 Greater Los Angeles Area 033                          1050 Fremont Ave                                       South Pasadena, CA 91030‐3225                                                                                First Class Mail
Chartered Organization         Calvary Presbyterian Church                                 Greater New York Councils, Bsa 640                    909 Castleton Ave                                      Staten Island, NY 10310‐1812                                                                                 First Class Mail
Voting Party                   Calvary Presbyterian Church                                 Attn: Debra Neal                                      4495 Magnolia Ave                                      Riverside, CA 92501                                                  DebbieN@CalvaryPresCh.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Presbyterian Church                                 Attn: Britta E Warren                                 805 SW Broadway, Ste 1900                              Portland, OR 97205                                                   britta.warren@bhlaw.com                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Calvary Presbyterian Church In America                      Occoneechee 421                                       6520 Ray Rd                                            Raleigh, NC 27613‐3234                                                                                       First Class Mail
Chartered Organization         Calvary Presbyterian Church Of Wyncote                      Cradle of Liberty Council 525                         217 Fernbrook Ave                                      Wyncote, PA 19095‐1508                                                                                       First Class Mail
Chartered Organization         Calvary Reformed Church                                     President Gerald R Ford 781                           955 E 8th St                                           Holland, MI 49423‐3075                                                                                       First Class Mail
Voting Party                   Calvary St George's Episcopal Church                        755 Clinton Ave                                       Bridgeport, CT 06604                                                                                                        howsthings@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Umc                                                 Attn: Mary Jacobson                                   535 Walnut Ln                                          Green Spring, WV 26722                                               watermark1@frontiernet.net              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Umc                                                 c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary UMC                                                 c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                     100 N Tampa St. Ste 2200          Tampa, FL 33602                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary Umc                                                 112 Blanding Blvd                                     Orange, FL 32073                                                                                                                                                    First Class Mail
Voting Party                   Calvary Umc Of West Decatur (189260)                        c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             Attn: Jimmie Buie                                     1885 University Ave                                    Bronx, NY 10453                                                      umcalvarych@aol.com                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             Attn: Beth Hutton                                     3939 Gamber Rd                                         Finksburg, MD 21048                                                  TREASURER@calvaryumcgamber.org          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             Attn: Tom Brandon                                     4520 Paramount Pt                                      Colorado Springs, CO 80918                                           tngbrandon@aol.com                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             Attn: Ray Slaubaugh                                   1700 N Towanda Ave                                     Normal, IL 61761                                                     ray.slaubaugh@connectwithcalvary.org    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             Attn:President Board of Trustees                      131 W 2nd St                                           Frederick, MD 21701                                                  office@calvaryumc.org                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             Marcy L Bosch                                         1702 28th St                                           Spirit Lake                                                          mscb@mchsi.com                          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             Attn: Greg Reed                                       205 Court St                                           Ripley, WV 25271                                                     greed8907@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             Attn: Carl Steidel                                    59 Sabattus St                                         Lewiston, ME 04240                                                   cps593@gmail.com                        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             Attn: David Taylor                                    11 Chippendale Ct                                      Latham, NY 12110                                                     calvaryumclatham@gmail.com              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             Attn: Ronna Dee Jackson                               3105 Lamar Ave                                         Paris, TX 75460                                                      calvaryumcfinance@gmail.com             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             220 W Burke St                                        Martinsburg, WV 25401                                                                                                       calvaryum@comcast.net                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             901 Moore St                                          Stratford, IA 50249                                                                                                         calvarysouthmariontreasurer@gmail.com   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church                             Attn: Finance Chair                                   200 Turner Rd                                          Middletown, RI 02842                                                 calvary02842@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church ‐ Atlanta                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church ‐ Atlanta                   1471 Palph Daniel Abernathy Blvd Sw                   Atlanta, GA 30310                                                                                                                                                   First Class Mail
Voting Party                   Calvary United Methodist Church (02220)                     c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (05190)                     c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (100543)                    c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (100667)                    c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (149504)                    c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (178142)                    c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (179044)                    c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (188994)                    c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (189635)                    c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (32103751)                  c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (32103751)                  c/o Bentz Law Firm                                    Attn: Sean Bollman                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (4160)                      c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (97967)                     c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (98882)                     c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church (Az)                        c/o Clarke Law Firm, Plc                              Attn: Marilee Miller Clarke                            8141 E Indian Bend Rd, Ste 105    Scottsdale, AZ 85250               marilee@clarkelawaz.com                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church Arnolds Park LA             Attn: Calvary United Methodist Church                 679 W Okoboji Grove Rd                                 Arnolds Park, IA 51331                                               calvarylovesall@gmail.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church Mt Airy Md                  Attn: Mark K Plante                                   403 S Main St                                          Mt Airy, MD 21771                                                    Trustees@Calvary‐MtAiry.org             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Calvary United Methodist Church Of Holly                    Holly Calvary United Methodist Church: Treasurer      15010 N Holly Rd                                       Holly, MI 48442                                                      hollycalvarychurch@gmail.com            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                      Page 45 of 442
                                                                                  Case 20-10343-LSS                                                    Doc 8171                                        Filed 01/06/22                                             Page 61 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                        Name                                                                                                   Address                                                                                                            Email                 Method of Service
Voting Party                   Calvary United Methodist Church Of Villa Park                    Attn: James Fu                                 136 E Highland Ave                                      Villa Park, IL 60181                                                 pastor@calvaryvillapark.org         Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Calvary United Methodist Church Waldorf MD                       Attn: Rev Loretta Johnson                      3235 Leonardtown Rd                                     Waldorf, MD 20601                                                    lorettaewe1@verizon.net             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Calvary Utd & St Francis Xavier Ches                             Ohio River Valley Council 619                  1601 1st St                                             Moundsville, WV 26041‐1306                                                                               First Class Mail
Chartered Organization         Calvary Utd Church Of Christ                                     Laurel Highlands Council 527                   125 Shaw Ave                                            Turtle Creek, PA 15145‐2030                                                                              First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Southern Shores Fsc 783                        1415 Miller Ave                                         Ann Arbor, MI 48103‐3758                                                                                 First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     National Capital Area Council 082              2315 S Grant St                                         Arlington, VA 22202‐2548                                                                                 First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Anthony Wayne Area 157                         P.O. Box 229                                            Avilla, IN 46710‐0229                                                                                    First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Crossroads of America 160                      575 W Northfield Dr                                     Brownsburg, IN 46112‐8158                                                                                First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Pikes Peak Council 060                         4210 Austin Bluffs Pkwy                                 Colorado Springs, CO 80918‐2930                                                                          First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     New Birth of Freedom 544                       203 Mumper Ln                                           Dillsburg, PA 17019‐1355                                                                                 First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Heart of Virginia Council 602                  7647 History Land Hwy                                   Farnham, VA 22460                                                                                        First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Anthony Wayne Area 157                         6301 Winchester Rd                                      Fort Wayne, IN 46819‐1518                                                                                First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     New Birth of Freedom 544                       4700 Locust Ln                                          Harrisburg, PA 17109‐4515                                                                                First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Quivira Council, Bsa 198                       118 W Jackson Ave                                       Iola, KS 66749‐2834                                                                                      First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Five Rivers Council, Inc 375                   P.O. Box 237                                            Lawrenceville, PA 16929‐0237                                                                             First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Westmoreland Fayette 512                       201 N Saint Clair St                                    Ligonier, PA 15658                                                                                       First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     North Florida Council 087                      112 Blanding Blvd                                       Orange Park, FL 32073‐2621                                                                               First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Sherrodsville                                  338 S Church St                                         Sherrodsville, OH 44675                                                                                  First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Laurel Highlands Council 527                   239 W Church St                                         Somerset, PA 15501‐1948                                                                                  First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Stonewall Jackson Council 763                  Rr 340                                                  Stuarts Draft, VA 24477                                                                                  First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Stonewall Jackson Council 763                  2179 Stuarts Draft Hwy                                  Stuarts Draft, VA 24477‐3102                                                                             First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Westmoreland Fayette 512                       34 Clark St                                             Uniontown, PA 15401‐4516                                                                                 First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Bucktail Council 509                           167 Blue Ball Rd                                        West Decatur, PA 16878                                                                                   First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     Quivira Council, Bsa 198                       2525 N Rock Rd                                          Wichita, KS 67226‐1170                                                                                   First Class Mail
Chartered Organization         Calvary Utd Methodist Church                                     New Birth of Freedom 544                       Pottsville St                                           Wiconisco, PA 17097                                                                                      First Class Mail
Voting Party                   Calvary W. Nanticoke Umc (40413)                                 c/o Bentz Law Firm                             Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Calvary Wesleyan Church                                          Great Trail 433                                139 31st St Sw                                          Barberton, OH 44203‐7319                                                                                 First Class Mail
Voting Party                   Calvary, Dumont                                                  c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Calvert City United Methodist Church                             Attn: Ryan Heatherly, Pastor                   571 Oak Park Blvd                                       P.O. Box 128                      Calvert City, KY 42029             calvertcityumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Calvert County Sheriff'S Dept                                    National Capital Area Council 082              30 Church St                                            Prince Frederick, MD 20678‐4173                                                                          First Class Mail
Chartered Organization         Calvert Lodge 2620                                               National Capital Area Council 082              1021 Dares Beach Rd                                     Prince Frederick, MD 20678                                                                               First Class Mail
Chartered Organization         Calvert Marine Museum                                            National Capital Area Council 082              14150 Solomons Island Rd                                Solomons Island, MD 20688                                                                                First Class Mail
Chartered Organization         Calvery Missionary Baptist Church                                Sam Houston Area Council 576                   10346 Fairfax St                                        Houston, TX 77029‐2728                                                                                   First Class Mail
Chartered Organization         Calvery Utd Methodist Church                                     Southern Shores Fsc 783                        790 Patterson Dr                                        Monroe, MI 48161‐1844                                                                                    First Class Mail
Chartered Organization         Calvin Presbyterian Church                                       Tidewater Council 596                          2901 E Little Creek Rd                                  Norfolk, VA 23518‐3341                                                                                   First Class Mail
Chartered Organization         Calvin Presbyterian Church                                       Cascade Pacific Council 492                    10445 SW Canterbury Ln                                  Tigard, OR 97224‐4811                                                                                    First Class Mail
Voting Party                   Calvin Presbyterian Church Of Tigard, Oregon                     Attn: Calvin Presbyterian Church ‐ Treasurer   10445 SW Canterbury Ln                                  Tigard, OR 97224                                                     dan.breen@comcast.net               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Calypso Presbyterian Church                                      Tuscarora Council 424                          Rt 2 Box 371‐A                                          Calypso, NC 28325                                                                                        First Class Mail
Chartered Organization         Calypso Presbyterian Church                                      Tuscarora Council 424                          P.O. Box 321                                            Calypso, NC 28325‐0321                                                                                   First Class Mail
Chartered Organization         Camanche Fire Dept                                               Illowa Council 133                             720 9th Ave                                             Camanche, IA 52730‐1445                                                                                  First Class Mail
Voting Party                   Camanche Kiwanis Camanche Ia                                     Attn: Roxanne Aude                             P.O. Box 303                                            Camanche, IA 52730                                                   raude@mediacombb.net                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Camanche Kiwanis Club                                            Illowa Council 133                             P.O. Box 303                                            Camanche, IA 52730‐0303                                                                                  First Class Mail
Chartered Organization         Camano Lutheran Church                                           Mount Baker Council, Bsa 606                   850 Heichel Rd                                          Camano Island, WA 98282‐8804                                                                             First Class Mail
Chartered Organization         Camarillo Amber'S Light Lions Club                               Ventura County Council 057                     P.O. Box 3264                                           Camarillo, CA 93011‐3264                                                                                 First Class Mail
Voting Party                   Camarillo United Methodist Church                                Attn: Treasurer                                291 Anacapa Dr                                          Camarillo, CA 93010                                                  sec@cam‐umc.org                     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Camas Church Of The Nazarene                                     Cascade Pacific Council 492                    2204 NE Birch St                                        Camas, WA 98607‐1047                                                                                     First Class Mail
Chartered Organization         Cambria Volunteer Fire Co                                        Iroquois Trail Council 376                     4631 Cambria Wilson Rd                                  Lockport, NY 14094‐9796                                                                                  First Class Mail
Voting Party                   Cambrian Park United Methodist Church                            Attn: Rev Amy Beth Durward                     1919 Gunston Way                                        San Jose, CA 95124                                                   RevAmyBeth@CambrianParkUMC.org      Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Cambridge Academy                                                Grand Canyon Council 010                       20365 E Ocotillo Rd                                     Queen Creek, AZ 85142‐9584                                                                               First Class Mail
Chartered Organization         Cambridge Area Rotary                                            Green Mountain 592                             P.O. Box 96                                             Cambridge, VT 05444‐0096                                                                                 First Class Mail
Chartered Organization         Cambridge City Evening Kiwanis                                   Crossroads of America 160                      16933 W Delaware St                                     Cambridge City, IN 47327‐9793                                                                            First Class Mail
Chartered Organization         Cambridge Elementary School                                      Central Florida Council 083                    2000 Cambridge Dr                                       Cocoa, FL 32922‐6513                                                                                     First Class Mail
Chartered Organization         Cambridge Utd Methodist Church                                   Blue Ridge Council 551                         201 Kitson St                                           Ninety Six, SC 29666                                                                                     First Class Mail
Chartered Organization         Cambridge Valley Rescue Squad                                    Twin Rivers Council 364                        37 Gilbert St                                           Cambridge, NY 12816‐2618                                                                                 First Class Mail
Chartered Organization         Camden Community Culinary Co Op 4C                               Coastal Georgia Council 099                    106 E Conyers St                                        Saint Marys, GA 31558‐8300                                                                               First Class Mail
Chartered Organization         Camden Cumberland Presbyterian Church                            West Tennessee Area Council 559                239 W Main St                                           Camden, TN 38320‐1642                                                                                    First Class Mail
Chartered Organization         Camden Fire Dept                                                 Indian Waters Council 553                      1000 Lyttleton St                                       Camden, SC 29020‐4415                                                                                    First Class Mail
Chartered Organization         Camden Lions Club                                                Leatherstocking 400                            P.O. Box 85                                             Camden, NY 13316‐0085                                                                                    First Class Mail
Chartered Organization         Camden Military Academy                                          Indian Waters Council 553                      520 US Hwy N                                            Camden, SC 29020                                                                                         First Class Mail
Voting Party                   Camden United Methodist Church                                   Attn: Michael Waterman                         P.O. Box 104, 132 Main St                               Camden, NY 13316                                                     camdenumc@centralny.twcbc.com       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Camden Utd Methodist Church                                      Leatherstocking 400                            132 Main St                                             Camden, NY 13316‐1138                                                                                    First Class Mail
Chartered Organization         Camden Utd Methodist Church                                      Miami Valley Council, Bsa 444                  P.O. Box 87                                             Camden, OH 45311‐0087                                                                                    First Class Mail
Chartered Organization         Camden Wyoming Fire Co                                           Del Mar Va 081                                 200 E Camden Wyoming Ave                                Camden, DE 19934‐1303                                                                                    First Class Mail
Voting Party                   Camelbak Products, Inc                                           P.O. Box 734148                                Chicago, IL 60673‐4148                                                                                                                                           First Class Mail
Chartered Organization         Cameron Lions Club                                               Longhorn Council 662                           P.O. Box 52                                             Cameron, TX 76520‐0052                                                                                   First Class Mail
Chartered Organization         Cameron Park Fire Dept                                           Golden Empire Council 047                      3200 Country Club Dr                                    Cameron Park, CA 95682‐8631                                                                              First Class Mail
Voting Party                   Cameron United Methodist Church                                  Attn: Dan Brown                                201 N Pine St                                           Cameron, MO 64429                                                    office@cameronumc.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Cameron Utd Methodist Church                                     National Capital Area Council 082              3130 Franconia Rd                                       Alexandria, VA 22310‐2315                                                                                First Class Mail
Voting Party                   Camilla United Methodist Church                                  Attn: Gennie Woods                             P.O. Box 192                                            39 S Harney St                    Camilla, GA 31730                  gwoodscumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Camillus Police Benevolent Assoc                                 Longhouse Council 373                          4600 W Genesee St                                       Syracuse, NY 13219‐1748                                                                                  First Class Mail
Chartered Organization         Camino Principal Ward ‐ Lds Tucson Stake                         Catalina Council 011                           6150 E Fairmount St                                     Tucson, AZ 85712                                                                                         First Class Mail
Firm                           Cammarano & Cammarano, P.C.                                      Michael J. Cammarano Jr. Esq.                  219 E. Lancaster Ave.                                   Schillington, PA 19607                                               mike@cammaranolaw.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Camp Augustine                                                   Overland Trails 322                            2299 W Camp Augustine Rd                                Doniphan, NE 68832‐9541                                                                                  First Class Mail
Chartered Organization         Camp Babcock‐Hovey Alumni Assoc                                  c/o Hank Roenke                                24 Maplewood Dr                                         Geneva, NY 14456‐1420                                                                                    First Class Mail
Chartered Organization         Camp Bartlett                                                    Trapper Trails 589                             1200 E 5400 S                                           Ogden, UT 84403‐4527                                                                                     First Class Mail
Chartered Organization         Camp Barton Alumni Assoc                                         Baden‐Powell Council 368                       P.O. Box 66                                             Binghamton, NY 13903‐0066                                                                                First Class Mail
Chartered Organization         Camp Berry Staff Assoc                                           Black Swamp Area Council 449                   11716 County Rd 40                                      Findlay, OH 45840‐9029                                                                                   First Class Mail
Chartered Organization         Camp Boddie                                                      East Carolina Council 426                      419 Boy Scout Rd                                        Blounts Creek, NC 27814‐9397                                                                             First Class Mail
Chartered Organization         Camp Bomazeen                                                    Pine Tree Council 218                          656 Horse Point Rd                                      Belgrade, ME 04917‐3032                                                                                  First Class Mail
Chartered Organization         Camp Bud Schiele                                                 Piedmont Council 420                           668 Boy Scout Rd                                        Rutherfordton, NC 28139‐8227                                                                             First Class Mail
Chartered Organization         Camp Carpenter                                                   Daniel Webster Council, Bsa 330                300 Blondin Rd                                          Manchester, NH 03109‐5907                                                                                First Class Mail
Voting Party                   Camp Chapel Umc                                                  Attn: Carol Pazdersky                          5000 E Joppa Rd                                         Perry Hall, MD 21128                                                 carol.pazdersky@gmail.com           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Camp Chapel Umc                                                  Carol Leydig Pazdersky                         5000 E Joppa Rd                                         Perry Hall                                                           carol.pazdersky@gmail.com           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Camp Chapel Utd Methodist Church                                 Baltimore Area Council 220                     5000 E Joppa Rd                                         Perry Hall, MD 21128‐9314                                                                                First Class Mail
Chartered Organization         Camp Chicagami                                                   Voyageurs Area 286                             3755 Scout Camp Rd                                      Eveleth, MN 55734‐4073                                                                                   First Class Mail
Chartered Organization         Camp Conestoga                                                   Westmoreland Fayette 512                       255 Conestoga Camp Rd                                   Somerset, PA 15501‐5649                                                                                  First Class Mail
Chartered Organization         Camp Cornhusker Camp Staff                                       Cornhusker Council 324                         63375 703 Trl                                           Du Bois, NE 68345‐5032                                                                                   First Class Mail
Chartered Organization         Camp Crooked Creek Staff Alumni Assoc                            Lincoln Heritage Council 205                   950 Terry Dr                                            Shepherdsville, KY 40165‐7899                                                                            First Class Mail
Chartered Organization         Camp Curran Community Assoc                                      Pacific Harbors Council, Bsa 612               P.O. Box 44742                                          Tacoma, WA 98448‐0742                                                                                    First Class Mail
Chartered Organization         Camp Dick Elementary                                             Blue Grass Council 204                         279 N Camp Dick Rd                                      Lancaster, KY 40444‐6713                                                                                 First Class Mail
Chartered Organization         Camp Fife                                                        Trapper Trails 589                             1200 E 5400 S                                           Ogden, UT 84403‐4527                                                                                     First Class Mail
Chartered Organization         Camp Fire West Texas                                             Buffalo Trail Council 567                      3500 N A St, Ste 1200                                   Midland, TX 79705‐3608                                                                                   First Class Mail
Chartered Organization         Camp Friendship                                                  Black Hills Area Council 695 695               P.O. Box 1986                                           Rapid City, SD 57709‐1986                                                                                First Class Mail
Chartered Organization         Camp Fully Involved                                              Daniel Webster Council, Bsa 330                27 Derry St                                             Merrimack, NH 03054‐3153                                                                                 First Class Mail
Chartered Organization         Camp Geiger                                                      Pony Express Council 311                       9525 County Rd 388                                      Saint Joseph, MO 64505‐3578                                                                              First Class Mail
Chartered Organization         Camp George Thomas                                               Last Frontier Council 480                      Rr 2 Box 169                                            Apache, OK 73006                                                                                         First Class Mail
Chartered Organization         Camp Greenough Scout Reservation                                 Cape Cod and Islands Cncl 224                  227 Pine St                                             Yarmouth Port, MA 02675‐2377                                                                             First Class Mail
Voting Party                   Camp Ground United Methodist Church Treasurer, Camp Ground Umc   4625 Campground Rd                             Fayetteville, NC 28314                                                                                                       sangpark@nccumc.org                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Camp Hadley Trust                                                Narragansett 546                               P.O. Box 504                                            Marion, MA 02738‐0009                                                                                    First Class Mail
Chartered Organization         Camp Hill Grace Evangelical Lutheran Ch                          New Birth of Freedom 544                       1610 Carlisle Rd                                        Camp Hill, PA 17011‐7505                                                                                 First Class Mail
Voting Party                   Camp Hill Umc (5130)                                             c/o Bentz Law Firm                             Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Camp Hill‐Wesley United Methodist Church                         Attn: Cindi Dunn                               P.O. Box 1                                              Harpers Ferry, WV 25425                                              cindi1375@aol.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Camp Hunt Bsa                                                    Trapper Trails 589                             1200 E 5400 S                                           Ogden, UT 84403‐4527                                                                                     First Class Mail
Chartered Organization         Camp J. George Mitnick                                           Black Warrior Council 006                      4436 Calumet Loop                                       Jasper, AL 35501‐7845                                                                                    First Class Mail
Chartered Organization         Camp Jackson Fire Dept                                           Greater St Louis Area Council 312              3201 Camp Jackson Rd                                    Cahokia, IL 62206‐2906                                                                                   First Class Mail
Chartered Organization         Camp Kiesel And Camp Browning                                    Trapper Trails 589                             1200 E 5400 S                                           Ogden, UT 84403‐4527                                                                                     First Class Mail
Chartered Organization         Camp Kootaga Alumni Assoc                                        Buckskin 617                                   Rt 1 Box 233                                            Walker, WV 26180                                                                                         First Class Mail
Chartered Organization         Camp La No Che Central Florida Council                           Central Florida Council 083                    P.O. Box 489                                            Paisley, FL 32767‐0489                                                                                   First Class Mail
Chartered Organization         Camp Laramie Peak Staff Alumni                                   Longs Peak Council 062                         65 Forest Svc Rd 633                                    Wheatland, WY 82201‐8007                                                                                 First Class Mail
Chartered Organization         Camp Lawton Alumni & Staff Assoc                                 Catalina Council 011                           P.O. Box 786                                            Mount Lemmon, AZ 85619‐0786                                                                              First Class Mail
Chartered Organization         Camp Loll                                                        Trapper Trails 589                             1200 E 5400 S                                           Ogden, UT 84403‐4527                                                                                     First Class Mail
Chartered Organization         Camp Mack                                                        Pennsylvania Dutch Council 524                 Rr 1 Scout Lane                                         Newmanstown, PA 17073                                                                                    First Class Mail
Chartered Organization         Camp Manatoc Reservation                                         Great Trail 433                                1065 Truxell Rd                                         Peninsula, OH 44264                                                                                      First Class Mail
Chartered Organization         Camp Manitowa                                                    Greater St Louis Area Council 312              12770 N Benton Rd                                       Benton, IL 62812‐4567                                                                                    First Class Mail
Chartered Organization         Camp Mckee                                                       Blue Grass Council 204                         8695 Levee Rd                                           Jeffersonville, KY 40337‐9376                                                                            First Class Mail
Chartered Organization         Camp Mcpherson Scouting Group                                    Cape Fear Council 425                          817 Ad Hinson Rd                                        Chadbourn, NC 28431‐9357                                                                                 First Class Mail
Chartered Organization         Camp Merz Alumni                                                 Allegheny Highlands Council 382                5297 W Lake Rd                                          Mayville, NY 14757‐9603                                                                                  First Class Mail
Chartered Organization         Camp Miakonda                                                    Erie Shores Council 460                        5600 W Sylvania Ave                                     Toledo, OH 43623‐3307                                                                                    First Class Mail
Chartered Organization         Camp Mountain Run                                                Bucktail Council 509                           5091 Mountain Run Rd                                    Penfield, PA 15849‐1219                                                                                  First Class Mail
Chartered Organization         Camp New Fork                                                    Trapper Trails 589                             1200 E 5400 S                                           Ogden, UT 84403‐4527                                                                                     First Class Mail
Chartered Organization         Camp Old Indian                                                  Blue Ridge Council 551                         601 Callahan Mountain Rd                                Travelers Rest, SC 29690‐9340                                                                            First Class Mail
Chartered Organization         Camp Omega, Inc                                                  Central Florida Council 083                    P.O. Box 543                                            Sanford, FL 32772‐0543                                                                                   First Class Mail
Chartered Organization         Camp Oyo                                                         Simon Kenton Council 441                       168 Shawnee Rd                                          West Portsmouth, OH 45663‐9009                                                                           First Class Mail
Chartered Organization         Camp Puhtok Forboys And Girls, Inc                               Baltimore Area Council 220                     17433 Big Falls Rd                                      Monkton, MD 21111‐1121                                                                                   First Class Mail
Chartered Organization         Camp Rainey Mountain                                             Northeast Georgia Council 101                  1494 Rainey Mountain Rd                                 Clayton, GA 30525‐5738                                                                                   First Class Mail
Chartered Organization         Camp Rotary Scout Camp                                           Water and Woods Council 782                    3201 S Clare Ave                                        Clare, MI 48617‐9756                                                                                     First Class Mail
Chartered Organization         Camp Roy C Manchester                                            Lincoln Heritage Council 205                   1531 Cross Rd                                           Benton, KY 42025‐6524                                                                                    First Class Mail
Chartered Organization         Camp Royaneh Alumni Assoc                                        San Francisco Bay Area Council 028             1001 Davis St                                           San Leandro, CA 94577‐1514                                                                               First Class Mail
Chartered Organization         Camp Royaneh Stakeholders                                        San Francisco Bay Area Council 028             P.O. Box 39                                             Cazadero, CA 95421‐0039                                                                                  First Class Mail
Chartered Organization         Camp Seminole                                                    Pushmataha Area Council 691                    40 Camp Seminole Rd                                     Starkville, MS 39759‐6376                                                                                First Class Mail
Chartered Organization         Camp Sertoma Foundation, Inc                                     Crossroads of America 160                      2316 S German Church Rd                                 Indianapolis, IN 46239‐9620                                                                              First Class Mail
Chartered Organization         Camp Simpson                                                     Arbuckle Area Council 468                      6535 E Coatsworth Rd                                    Milburn, OK 73450‐9811                                                                                   First Class Mail
Chartered Organization         Camp Staff Alumni                                                Moraine Trails Council 500                     150 Bu Co Co Ln                                         Slippery Rock, PA 16057‐3506                                                                             First Class Mail
Chartered Organization         Camp Staff Alumni Assoc                                          Sioux Council 733                              31071 430th Ave                                         Tabor, SD 57063‐6202                                                                                     First Class Mail
Voting Party                   Camp Street Umc                                                  Attn: Treasurer, Tom Vanderhoff                110 Sanford Dr                                          Jamestown, NY 14701                                                  campstreetumchurch@windstream.net   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Camp Sunshine Centennial Hills                                   Tukabatchee Area Council 005                   515 Percy Dr                                            Montgomery, AL 36104                                                                                     First Class Mail
Chartered Organization         Camp Sunshine For Boys                                           Tukabatchee Area Council 005                   3236 Bankhead Ave                                       Montgomery, AL 36106‐2448                                                                                First Class Mail
Chartered Organization         Camp Sunshine Gibbs West                                         Tukabatchee Area Council 005                   2025 Terminal Rd                                        Montgomery, AL 36108‐3104                                                                                First Class Mail
Chartered Organization         Camp Sunshine Southlawn Commons                                  Tukabatchee Area Council 005                   100 Windywood Dr                                        Montgomery, AL 36108‐5502                                                                                First Class Mail
Voting Party                   Camp Tanako, Inc                                                 Attn: Kayla Hardage                            4301 Hwy 290                                            Hot Springs, AR 71913                                                lraines@fridayfirm.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Camp Tanako, Inc                                                 c/o Friday Eldredge & Clark LLP                Attn: Lindsey Emerson Raines                            400 W Capitol Ave, Ste 2000       Little Rock, AR 72201              lraines@fridayfirm.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Camp Taylor Elementary School                                    Lincoln Heritage Council 205                   1446 Belmar Dr                                          Louisville, KY 40213‐1775                                                                                First Class Mail
Chartered Organization         Camp Thoreau Summer                                              Three Harbors Council 636                      7878 N 60th St                                          Milwaukee, WI 53223‐4109                                                                                 First Class Mail
Chartered Organization         Camp Thunderbird Alumni                                          Pacific Harbors Council, Bsa 612               609 N Water St                                          Ellensburg, WA 98926‐2853                                                                                First Class Mail
Chartered Organization         Camp Tracy New Scout Camp (Camp Staff)                           Great Salt Lake Council 590                    1200 E 5400 S                                           Ogden, UT 84403‐4527                                                                                     First Class Mail
Chartered Organization         Camp Tuscarora                                                   Tuscarora Council 424                          1433 Scout Rd                                           Four Oaks, NC 27524‐9781                                                                                 First Class Mail
Chartered Organization         Camp Verde Fire District                                         Grand Canyon Council 010                       26 W Salt Mine Rd, Unit B                               Camp Verde, AZ 86322‐7171                                                                                First Class Mail
Chartered Organization         Camp William Hinds                                               Pine Tree Council 218                          146 Plains Rd                                           Raymond, ME 04071‐6234                                                                                   First Class Mail
Chartered Organization         Camp Wilmont Sweeney                                             San Francisco Bay Area Council 028             2600 Fairmont Dr                                        San Leandro, CA 94578‐1007                                                                               First Class Mail
Chartered Organization         Camp Wingate Kirkland                                            Cape Cod and Islands Cncl 224                  79 White Rock Rd                                        Yarmouth Port, MA 02675‐2314                                                                             First Class Mail
Voting Party                   Camp Wingmann, Inc                                               Attn: Joshua Joseph                            3404 Wingmann Rd                                        Avon Park, FL 33825                                                  jjoseph@campwingmann.org            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Camp Wingmann, Inc                                               Joshua Joseph                                  3404 Wingmann Rd                                        Avon Park, FL 33825                                                                                      First Class Mail
Voting Party                   Camp Wright (Stevensville)                                       c/o The Law Office of Andrea Ross              Attn: Andrea Ross, Esq                                  129 N West St, Ste 1              Easton, MD 21601                   Andie@AndieRossLaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Camp Yawgoog                                                     Narragansett 546                               61 Camp Yawgoog Rd                                      Rockville, RI 02873‐1001                                                                                 First Class Mail
Chartered Organization         Campamento Guajataka                                             Puerto Rico Council 661                        Carr 119 Km 24.1                                        San Sebastian, PR 00669                                                                                  First Class Mail
Chartered Organization         Campbell Ame Church                                              National Capital Area Council 082              2562 M L K Jr Ave Se                                    Washington, DC 20020‐5247                                                                                First Class Mail
Chartered Organization         Campbell County Family Ymca                                      Dan Beard Council, Bsa 438                     1437 S Fort Thomas Ave                                  Fort Thomas, KY 41075‐2411                                                                               First Class Mail
Chartered Organization         Campbell County Police Dept                                      Dan Beard Council, Bsa 438                     8774 Constable Dr                                       Alexandria, KY 41001‐8557                                                                                First Class Mail
Chartered Organization         Campbell County Vfw Post 3205                                    Dan Beard Council, Bsa 438                     P.O. Box 173                                            Alexandria, KY 41001‐0173                                                                                First Class Mail
Chartered Organization         Campbell County Ymca                                             Dan Beard Council, Bsa 438                     1437 S Fort Thomas Ave                                  Fort Thomas, KY 41075‐2411                                                                               First Class Mail
Chartered Organization         Campbell Miracle Mile Optimist Club                              Silicon Valley Monterey Bay 055                5655 Gallup Dr                                          San Jose, CA 95118‐3178                                                                                  First Class Mail
Chartered Organization         Campbell Parent Teacher Organization                             Cornhusker Council 324                         2200 Dodge St                                           Lincoln, NE 68521‐1250                                                                                   First Class Mail
Chartered Organization         Campbell Police Dept                                             Silicon Valley Monterey Bay 055                70 N 1st St                                             Campbell, CA 95008‐1458                                                                                  First Class Mail
Chartered Organization         Campbell Scouting Foundation                                     Silicon Valley Monterey Bay 055                610 Craig Ave                                           Campbell, CA 95008‐4511                                                                                  First Class Mail
Voting Party                   Campbell United Methodist Church                                 Attn: Barbara Wade                             1675 Winchester Blvd                                    Campbell, CA 95008                                                   office@campbellunited.org           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Campbell United Methodist Church                                 Attn: Church Administrator                     1747 E Republic Rd                                      Springfield, MO 65804                                                mbrown@campbellumc.org              Email
                                                                                                                                                                                                                                                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 46 of 442
                                                                                   Case 20-10343-LSS                                                        Doc 8171                                           Filed 01/06/22                                                 Page 62 of 457
                                                                                                                                                                                            Exhibit B
                                                                                                                                                                                             Service List
                                                                                                                                                                                      Served as set forth below

        Description                                                       Name                                                                                                            Address                                                                                                                                Email              Method of Service
Voting Party                   Campbell United Methodist Church                           8516 Main St                                             Campbell, NY 14821                                                                                                                                   goody41@live.com                 Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Campbell Ward ‐ Lds Tucson Stake                           Catalina Council 011                                     3750 E Fort Lowell Rd                                       Tucson, AZ 85716                                                                                                          First Class Mail
Chartered Organization         Campbell‐Richmond Al Post 63                               Great Lakes Fsc 272                                      8047 Ortonville Rd                                          Clarkston, MI 48348‐4457                                                                                                  First Class Mail
Voting Party                   Campbellsburg Baptist Church, Inc.                         Attn: Matthew Doane                                      P.O. Box 372                                                La Grange, KY 40031                                                                      matt@cornerstonelawky.com        Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Campbellsport Volunteer Fire Dept                          Bay‐Lakes Council 635                                    P.O. Box 709                                                Campbellsport, WI 53010‐0709                                                                                              First Class Mail
Chartered Organization         Campbellsville 1St Utd Methodist Ch                        Lincoln Heritage Council 205                             317 E Main St                                               Campbellsville, KY 42718‐1326                                                                                             First Class Mail
Voting Party                   Campbellsville First United Methodist Church               Attn: Janet Kaye Brdley                                  317 E Main St                                               Campbellsville, KY 42718                                                                 firstchurch317@windstream.net    Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Campbelltown Volunteer Fire Co                             Pennsylvania Dutch Council 524                           P.O. Box 64                                                 Campbelltown, PA 17010‐0064                                                                                               First Class Mail
Chartered Organization         Camping Comm Chief Cornplanter                             Chief Cornplanter Council, Bsa 538                       316 4th Ave                                                 Warren, PA 16365‐5712                                                                                                     First Class Mail
Voting Party                   Campobello United Methodist Church                         Attn: Billy Inman                                        401 Depot St                                                Campobello, SC 29322                                                                     b_inman3@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Campobello United Methodist Church                         Attn: Billy Inman                                        P.O. Box 38                                                 Landrum, SC 29356                                                                        b_inman3@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Firm                           Campolo Middleton McCormick, LLP                           Jess Basso                                               4575 Veterans Memorial Hwy                                  Ronkonkoma, NY 11779                                                                     jbasso@cmmllp.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Campton United Methodist Church                            Attn: Rev. Joseph Vansickle                              P.O. Box 159                                                Campton, KY 41301                                                                        camptonumcky@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Campton‐Thornton Firemen'S Assoc                           Daniel Webster Council, Bsa 330                          Rt.49                                                       Campton, NH 03223                                                                                                         First Class Mail
Voting Party                   Camptown Community Church (79503)                          c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200            Pittsburgh, PA 15228                               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Campus Christian Community                                 Attn: Treasurer, United Campus Ministry At Texas State   510 N Guadalupe St                                          San Marcos, TX 78666                                                                     ucmtxstate@ucmtxstate.org        Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Campus Elementary                                          President Gerald R Ford 781                              710 Benjamin Ave Se                                         Grand Rapids, MI 49506‐2622                                                                                               First Class Mail
Chartered Organization         Campus Of Hope Tenants                                     Greater Alabama Council 001                              7527 66th St S                                              Birmingham, AL 35212‐2034                                                                                                 First Class Mail
Chartered Organization         Canaan Baptist Church                                      Greater Alabama Council 001                              824 15th St N                                               Bessemer, AL 35020‐5669                                                                                                   First Class Mail
Chartered Organization         Canaan Baptist Church                                      Prairielands 117                                         402 W Main St                                               Urbana, IL 61801‐2618                                                                                                     First Class Mail
Chartered Organization         Canaan Fire Dept                                           Daniel Webster Council, Bsa 330                          P.O. Box 353                                                Canaan, NH 03741‐0353                                                                                                     First Class Mail
Chartered Organization         Canaan Lions Club                                          Daniel Webster Council, Bsa 330                          P.O. Box 252                                                Canaan, NH 03741‐0252                                                                                                     First Class Mail
Chartered Organization         Canaan Township Fire Dept                                  Great Trail 433                                          P.O. Box 2223                                               Creston, OH 44217‐2223                                                                                                    First Class Mail
Voting Party                   Canaan Umc                                                 c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200              Tampa, FL 33602                                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Canaan United Methodist Church                             Attn: Pastor Lee D Gangaware                             P.O. Box 636                                                Canaan, CT 06018                                                                         canaanctumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Canaan Utd Methodist Church                                Buckskin 617                                             401 Roane St                                                Charleston, WV 25302‐2022                                                                                                 First Class Mail
Voting Party                   Canaan, NH United Methodist Church                         Attn: Kendric Munsey                                     252 Codfish Hill Rd                                         Canaan, NH 03741                                                                         kmuns66@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Canadian                                                   Attn: Treasurer                                          P.O. Box 157                                                Canadian, OK 74425                                                                       garyomer@itlnet.net              Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Canadian Academy                                           Far E Council 803                                        4‐1 Koyo Cho Naka                                           Higashinada ‐Ku,                      Japan                                                                               First Class Mail
Chartered Organization         Canadian County Childrens Justice Center                   Last Frontier Council 480                                7905 E US Hwy 66                                            El Reno, OK 73036‐9225                                                                                                    First Class Mail
Chartered Organization         Canadochly Lutheran Church                                 New Birth of Freedom 544                                 4921 E Prospect Rd                                          York, PA 17406‐8647                                                                                                       First Class Mail
Chartered Organization         Canady & Canady, Attys.                                    Cape Fear Council 425                                    P.O. Box 7                                                  Saint Pauls, NC 28384‐0007                                                                                                First Class Mail
Chartered Organization         Canajoharie Loyal Order Moose Lodge 853                    Twin Rivers Council 364                                  159 Erie Blvd                                               Canajoharie, NY 13317‐1167                                                                                                First Class Mail
Chartered Organization         Canal Fulton Utd Methodist Church                          Buckeye Council 436                                      P.O. Box 323                                                Canal Fulton, OH 44614‐0323                                                                                               First Class Mail
Voting Party                   Canal Point United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200              Tampa, FL 33602                                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Canal Point United Methodist Church                        37050 2nd St                                             Canal Point, FL 33438                                                                                                                                                                 First Class Mail
Chartered Organization         Canal Winchester Lions Club                                Simon Kenton Council 441                                 20 S Trine St                                               Canal Winchester, OH 43110                                                                                                First Class Mail
Chartered Organization         Canandaigua Elks Lodge 1844                                Seneca Waterways 397                                     19 Niagara St                                               Canandaigua, NY 14424‐2016                                                                                                First Class Mail
Chartered Organization         Canandaigua Emergency Squad                                Seneca Waterways 397                                     233N Pearl St                                               Canandaigua, NY 14424                                                                                                     First Class Mail
Chartered Organization         Canastota Volunteer Fire Dept                              Leatherstocking 400                                      P.O. Box 81                                                 Canastota, NY 13032‐0081                                                                                                  First Class Mail
Chartered Organization         Canby Kiwanis Club                                         Cascade Pacific Council 492                              P.O. Box 1224                                               Canby, OR 97013‐1224                                                                                                      First Class Mail
Chartered Organization         Canby Lions Club                                           Cascade Pacific Council 492                              P.O. Box 711                                                Canby, OR 97013‐0711                                                                                                      First Class Mail
Voting Party                   Canby United Methodist Church ‐ Canby                      c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200              Tampa, FL 33602                                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Canby Utd Methodist Church                                 Cascade Pacific Council 492                              1520 N Holly St                                             Canby, OR 97013‐2203                                                                                                      First Class Mail
Chartered Organization         Candia Congregational Church                               Daniel Webster Council, Bsa 330                          P.O. Box 62                                                 Candia, NH 03034‐0062                                                                                                     First Class Mail
Chartered Organization         Candlewick Lake Assoc                                      Blackhawk Area 660                                       13400 Il Route 76                                           Poplar Grove, IL 61065‐8812                                                                                               First Class Mail
Chartered Organization         Cando Lutheran Church                                      Northern Lights Council 429                              P.O. Box 644                                                Cando, ND 58324‐0644                                                                                                      First Class Mail
Chartered Organization         Candor Lions Club                                          Central N Carolina Council 416                           P.O. Box 518                                                Candor, NC 27229‐0518                                                                                                     First Class Mail
Chartered Organization         Cane Creek Elementary School Pto                           Middle Tennessee Council 560                             1500 W Jackson St                                           Cookeville, TN 38501‐7105                                                                                                 First Class Mail
Voting Party                   Caneadea United Methodist Church                           Attn: Craig Buelow                                       2 Chapel St                                                 Belfast, NY 14711                                                                        office@nacumc.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Canebrake Fire District                                    Blue Ridge Council 551                                   100 Hillside Church Rd                                      Fountain Inn, SC 29644‐9152                                                                                               First Class Mail
Voting Party                   Canfield United Methodist Church                           Attn: Reverend Ivy Smith                                 27 S Broad St                                               Canfield, OH 44406                                                                       pastor@canfieldumc.org           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cannon Bridge ‐ Ai                                         Indian Waters Council 553                                396 Saint Paul St                                           Orangeburg, SC 29115‐5465                                                                                                 First Class Mail
Chartered Organization         Cannon Utd Methodist Church                                Northeast Georgia Council 101                            2424 Webb Gin House Rd                                      Snellville, GA 30078‐2042                                                                                                 First Class Mail
Voting Party                   Cannons Camp Ground Ruritan Club                           Attn: Danny Thomas Phillips                              P.O. Box 813                                                Cowpens, SC 29330                                                                        danny@jfblakely.com              Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Cannon's Camp Ground United Methodist Church, Inc          Attn: Tommy Peake                                        121 Gray St                                                 Spartanburg, SC 29037                                                                    tdpeake@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Cannon'S Camp Ground United Methodist Church, Inc          Attn: Joe Blackwelder                                    2450 Cannons Campground Rd                                  Spartanburg, SC 29307                                                                                                     First Class Mail
Chartered Organization         Cannons Campground Utd Methodist Ch                        Palmetto Council 549                                     3450 Cannons Campground Rd                                  Spartanburg, SC 29307‐3210                                                                                                First Class Mail
Chartered Organization         Cannonsburg Trinity Church                                 Buckskin 617                                             11620 Midland Trail Rd                                      Ashland, KY 41102‐7728                                                                                                    First Class Mail
Voting Party                   Cannonsburg Trinity United Methodist                       11620 Midland Trail Rd                                   Ashland, KY 41102                                                                                                                                    brucelee321@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Canonsburg Utd Presbyterian Church                         Laurel Highlands Council 527                             112 W Pike St                                               Canonsburg, PA 15317‐1316                                                                                                 First Class Mail
Voting Party                   Canterbury Retreat & Conference Center                     1601 Alafaya Trl                                         Oviedo, FL 32765                                                                                                                                     chalmers@canterburyretreay.org   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Canterbury School                                          Old N State Council 070                                  5400 Old Lake Jeanette Rd                                   Greensboro, NC 27455‐1322                                                                                                 First Class Mail
Chartered Organization         Canterbury School Of Florida                               Cousteau Center                                          990 62nd Ave Ne                                             St Petersburg, FL 33702‐7611                                                                                              First Class Mail
Chartered Organization         Canterbury Utd Methodist Church                            Greater Alabama Council 001                              350 Overbrook Rd                                            Mountain Brk, AL 35213‐4332                                                                                               First Class Mail
Chartered Organization         Canterbury Woods Civic Assoc                               National Capital Area Council 082                        4811 Woodland Way                                           Annandale, VA 22003‐4158                                                                                                  First Class Mail
Chartered Organization         Canton Church Of The Bretheren                             W D Boyce 138                                            269 E Chestnut St                                           Canton, IL 61520‐2730                                                                                                     First Class Mail
Chartered Organization         Canton Dept Of Public Safety                               Great Lakes Fsc 272                                      1150 S Canton Center Rd                                     Canton, MI 48188‐1608                                                                                                     First Class Mail
Chartered Organization         Canton First Utd Methodist Church                          Atlanta Area Council 092                                 930 Lower Scott Mill Rd                                     Canton, GA 30115‐3836                                                                                                     First Class Mail
Chartered Organization         Canton Lions Club                                          Cimarron Council 474                                     P.O. Box 389                                                Canton, OK 73724‐0389                                                                                                     First Class Mail
Chartered Organization         Canton Police Dept                                         Buckeye Council 436                                      218 Cleveland Ave Sw                                        Canton, OH 44702‐1906                                                                                                     First Class Mail
Chartered Organization         Canton Rotary Club                                         Sioux Council 733                                        P.O. Box 254                                                Canton, SD 57013‐0254                                                                                                     First Class Mail
Chartered Organization         Canton Township Fire Dept                                  Buckeye Council 436                                      210 38th St Se                                              Canton, OH 44707‐1304                                                                                                     First Class Mail
Voting Party                   Canton United Methodist Church                             Attn: David Reed Crowell                                 41 Court St                                                 Canton, NY 13617                                                                         cantonUMCNY@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Canton Ward Lds Church                                     Atlanta Area Council 092                                 3459 E Cherokee Dr                                          Canton, GA 30115                                                                                                          First Class Mail
Voting Party                   Cantrall United Methodist Church                           Attn: Wade Edward Meteer                                 P.O. Box 123                                                Cantrall, IL 62625‐0123                                                                  acunitedmc@sbcglobal.net         Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Canyon Creek Lds Ward                                      Montana Council 315                                      7160 Silversprings Cir                                      Billings, MT 59106‐4210                                                                                                   First Class Mail
Chartered Organization         Canyon Creek Parents For Scouts                            Mount Baker Council, Bsa 606                             23227 49th Ave Se                                           Bothell, WA 98021‐9025                                                                                                    First Class Mail
Voting Party                   Canyon Creek Presbyterian Church, Incorporated             3901 N Star Rd                                           Richardson, TX 75082                                                                                                                                 info@canyoncreekpres.org         Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Canyon Creek Ward                                          Greater Yosemite Council 059                             972 Vintage Oak Ave                                         Galt, CA 95632‐3061                                                                                                       First Class Mail
Chartered Organization         Canyon Heights Academy                                     Silicon Valley Monterey Bay 055                          775 Waldo Rd                                                Campbell, CA 95008‐4638                                                                                                   First Class Mail
Chartered Organization         Canyon High Sch                                            Comal Cnty Sheriffs Office                               1404 N Interstate 35                                        New Braunfels, TX 78130‐2817                                                                                              First Class Mail
Chartered Organization         Canyon Hills Presbyterian Church                           Orange County Council 039                                190 S Fairmont Blvd                                         Anaheim, CA 92808‐1337                                                                                                    First Class Mail
Chartered Organization         Canyon Isd Kids                                            Sundown Lane Elementary                                  3301 N 23rd St                                              Canyon, TX 79015‐6166                                                                                                     First Class Mail
Chartered Organization         Canyon Isd Kids ‐ Arden Rd                                 Golden Spread Council 562                                3301 N 23rd St                                              Canyon, TX 79015‐6166                                                                                                     First Class Mail
Chartered Organization         Canyon Isd Kids ‐ Crestview Elementary                     Golden Spread Council 562                                3301 N 23rd St                                              Canyon, TX 79015‐6166                                                                                                     First Class Mail
Chartered Organization         Canyon Isd Kids ‐ Gene Howe Elementary                     Golden Spread Council 562                                3301 N 23rd St                                              Canyon, TX 79015‐6166                                                                                                     First Class Mail
Chartered Organization         Canyon Isd Kids ‐ Hillside                                 Golden Spread Council 562                                3301 N 23rd St                                              Canyon, TX 79015‐6166                                                                                                     First Class Mail
Chartered Organization         Canyon Isd Kids ‐ Lakeview Elementary                      Golden Spread Council 562                                3301 N 23rd St                                              Canyon, TX 79015‐6166                                                                                                     First Class Mail
Chartered Organization         Canyon Isd Kids ‐ Reeves Hinger                            Golden Spread Council 562                                3301 N 23rd St                                              Canyon, TX 79015‐6166                                                                                                     First Class Mail
Voting Party                   Canyon Lake United Methodist Church                        Attn: Pastor Deann Eidem                                 3500 Canyon Lake Dr                                         Rapid City, SD 57702                                                                     office@clumc.com                 Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Canyon Lake United Methodist Church                        Attn: Treasurer, Canyon Lake Umc                         206 Flintstone Dr                                           Canyon Lake, TX 78133                                                                    office@canyonlakeumc.org         Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Canyon Ridge Christian Church                              Las Vegas Area Council 328                               6200 W Lone Mountain Rd                                     Las Vegas, NV 89130‐2118                                                                                                  First Class Mail
Chartered Organization         Canyon Ridge Church                                        Pacific Harbors Council, Bsa 612                         8514 Waller Rd E                                            Tacoma, WA 98446                                                                                                          First Class Mail
Chartered Organization         Canyon Ridge Ward                                          Twin Falls West Stake                                    824 Caswell Ave W                                           Twin Falls, ID 83301‐3625                                                                                                 First Class Mail
Chartered Organization         Canyon View Pta                                            Orange County Council 039                                12025 Yale Ct                                               Irvine, CA 92620‐0210                                                                                                     First Class Mail
Voting Party                   Canyonville Methodist Church                               c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200              Tampa, FL 33602                                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Capac United Methodist Church                              Attn: Karen Kegler                                       14952 Imlay City Rd                                         Capac, MI 48014                                                                          capacumparish@yahoo.com          Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Capac Utd Methodist Church                                 Water and Woods Council 782                              14952 Imlay City Rd                                         Mussey, MI 48014‐2510                                                                                                     First Class Mail
Chartered Organization         Cape Arthur Improvement Asso, Inc                          Baltimore Area Council 220                               P.O. Box 702                                                Severna Park, MD 21146‐0702                                                                                               First Class Mail
Chartered Organization         Cape Carteret Presbyterian Church                          East Carolina Council 426                                100 Yaupon Dr                                               Cape Carteret, NC 28584‐8949                                                                                              First Class Mail
Voting Party                   Cape Cod And Islands Council, Inc                          Attn: Robert C Chamberlain Esq                           99 Willow St                                                P.O. Box 40                           Yarmouthport, MA 02675                             rchamberlain@rubinrudman.com     Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cape Coral High School                                     Southwest Florida Council 088                            2300 Santa Barbara Blvd                                     Cape Coral, FL 33991‐4346                                                                                                 First Class Mail
Chartered Organization         Cape Coral Hospital                                        Southwest Florida Council 088                            636 Del Prado Blvd S                                        Cape Coral, FL 33990‐2668                                                                                                 First Class Mail
Chartered Organization         Cape Coral Police                                          Southwest Florida Council 088                            1100 Cultural Park Blvd                                     Cape Coral, FL 33990‐1270                                                                                                 First Class Mail
Chartered Organization         Cape Coral Power Squadron                                  Southwest Florida Council 088                            917 SE 47th Ter                                             Cape Coral, FL 33904‐9009                                                                                                 First Class Mail
Chartered Organization         Cape Elizabeth Lions Club                                  Pine Tree Council 218                                    P.O. Box 6302                                               Cape Elizabeth, ME 04107‐0102                                                                                             First Class Mail
Voting Party                   Cape Elizabeth United Methodist Church                     280 Oceanhouse Rd                                        Cape Elizabeth, ME 04107                                                                                                                             capeelizabethumc@gmail.com       Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cape Fear Academy                                          Cape Fear Council 425                                    3900 S College Rd                                           Wilmington, NC 28412‐2009                                                                                                 First Class Mail
Voting Party                   Cape Fear Council                                          Attn: Jonathan Widmark                                   110 Longstreet Dr                                           Wilmington, NC 28412                                                                     jonathan.widmark@scouting.org    Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cape Girardeau Police Dept                                 Greater St Louis Area Council 312                        40 S Sprigg St                                              Cape Girardeau, MO 63703‐6212                                                                                             First Class Mail
Chartered Organization         Cape Girardeau Public Schools Foundation                   Greater St Louis Area Council 312                        301 N Clark St                                              Cape Girardeau, MO 63701‐5105                                                                                             First Class Mail
Chartered Organization         Cape Island Baptist Church                                 Garden State Council 690                                 115 Gurney St                                               Cape May, NJ 08204‐2466                                                                                                   First Class Mail
Voting Party                   Cape May                                                   c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200              Tampa, FL 33602                                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cape May County Sheriff Dept                               Garden State Council 690                                 9 N Main St                                                 Cape May Court House, NJ 08210‐2117                                                                                       First Class Mail
Chartered Organization         Cape Regional Medical Center                               Garden State Council 690                                 2 Stone Harbor Blvd                                         Cape May Court House, NJ 08210‐2138                                                                                       First Class Mail
Chartered Organization         Capell & Howard Pc                                         Tukabatchee Area Council 005                             150 S Perry St                                              Montgomery, AL 36104‐4227                                                                                                 First Class Mail
Chartered Organization         Capella Church Of Christ                                   Old Hickory Council 427                                  1187 Flat Shoals Rd                                         King, NC 27021‐7661                                                                                                       First Class Mail
Voting Party                   Capers Chapel United Methodist Church Of Aiken County      Attn: Donna Eidson                                       659 Ghee Ct                                                 Aiken, SC 29801                                                                          dgseidson@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Capers Chapel United Methodist Church Of Aiken County      Attn: Donna Eidson                                       2341 Storm Branch Rd                                        Beech Island, SC 29842                                                                                                    First Class Mail
Chartered Organization         Capetillo Insurance Agency                                 Texas Southwest Council 741                              2199 Del Rio Blvd                                           Eagle Pass, TX 78852                                                                                                      First Class Mail
Chartered Organization         Capilla Del Sol Christian Church                           Catalina Council 011                                     3130 W Overton Rd                                           Tucson, AZ 85742‐9622                                                                                                     First Class Mail
Chartered Organization         Capistrano Valley Christian Schools, Inc                   Orange County Council 039                                32032 Del Obispo St                                         San Juan Capistrano, CA 92675‐3434                                                                                        First Class Mail
Chartered Organization         Capital Kids‐Sullivant Gardens                             Simon Kenton Council 441                                 1111 E Broad St                                             Columbus, OH 43205‐1303                                                                                                   First Class Mail
Chartered Organization         Capital Prep Harbor Lower School                           Connecticut Yankee Council Bsa 072                       461 Mill Hill Ave                                           Bridgeport, CT 06610‐2866                                                                                                 First Class Mail
Voting Party                   Capitol Area Council                                       12500 N I H 35                                           Austin, TX 78753                                                                                                                                     rsouth@w‐g.com                   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Capitol Broadcasting Co                                    Attn: Loretta Harper Arnold                              2619 Wern Blvd                                              Raleigh, NC 27606                                                                                                         First Class Mail
Chartered Organization         Capitol City Sda School                                    Crossroads of America 160                                2143 Blvd Pl                                                Indianapolis, IN 46202‐1250                                                                                               First Class Mail
Chartered Organization         Capitol Council                                            Telephone Pioneers of America                            New Birth of Freedom 544                                    Verizon 10th Fl                       Strawberry Square           Harrisburg, PA 17011                                    First Class Mail
Voting Party                   Capitol Heights Presbyterian Church                        1100 Fillmore St                                         Denver, CO 80206                                                                                                                                     cnorton@nortonsmithlaw.com       Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Capitol Heights Presbyterian Church                        c/o Messner Reeves LLP                                   Attn: Deanne R. Stodden                                     1430 Wynkoop St, Ste 300              Denver, CO 80202                                   bankruptcy@messner.com           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Capitol Hill Fundraising, Inc                              Northern Star Council 250                                560 Concordia Ave                                           Saint Paul, MN 55103‐2443                                                                                                 First Class Mail
Chartered Organization         Capitol Hill Scouts                                        National Capital Area Council 082                        228 12th Pl Ne                                              Washington, DC 20002‐6302                                                                                                 First Class Mail
Chartered Organization         Capitol Lions Club                                         Golden Empire Council 047                                6619 Trudy Way                                              Sacramento, CA 95831‐1913                                                                                                 First Class Mail
Chartered Organization         Capitola Police Dept                                       Silicon Valley Monterey Bay 055                          422 Capitola Ave                                            Capitola, CA 95010‐3318                                                                                                   First Class Mail
Chartered Organization         Capitulo Ffa Juan Ponce De Leon                            Puerto Rico Council 661                                  P.O. Box 366                                                Arecibo, PR 00613‐0366                                                                                                    First Class Mail
Voting Party                   Capleville United Methodist Church                         Attn: Autura Eason‐Williams                              4725 Riverdale Rd                                           Memphis, TN 38141                                                                        Caplevilleunited@bellsouth.net   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Capon Bridge United Methodist Church                       Attn: Glenn Eanes                                        332 Meadow View Rd                                          Capon Bridge, WV 26711                                                                   glenneanes@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Capon Bridge Utd Methodist Chur                            Shenandoah Area Council 598                              P.O. Box 65                                                 Capon Bridge, WV 26711‐0065                                                                                               First Class Mail
Chartered Organization         Caprock High School Rotc                                   Golden Spread Council 562                                3001 SE 34th Ave                                            Amarillo, TX 79103‐5599                                                                                                   First Class Mail
Voting Party                   Capron United Methodist Church                             Attn: Jeffrey Brace                                      250 W North St, P.O. Box 258                                Capron, IL 61012                                                                         jbrace8459@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Capshaw Elementary School Pto                              Middle Tennessee Council 560                             1 Cougar Ln                                                 Cookeville, TN 38501‐4725                                                                                                 First Class Mail
Chartered Organization         Capstone Eye Clinic, LLC                                   Great Alaska Council 610                                 3122 E Meridian Park Loop                                   Wasilla, AK 99654‐7255                                                                                                    First Class Mail
Voting Party                   Capt Tim, LLC                                              100 Cabana Cay Cir, Unit 106                             Panama City Beach, FL 32413‐4663                                                                                                                                                      First Class Mail
Chartered Organization         Captain Rick'S Diving Adventures                           Simon Kenton Council 441                                 760 S State St                                              Westerville, OH 43081‐3300                                                                                                First Class Mail
Chartered Organization         Captains Cove Marina                                       Connecticut Yankee Council Bsa 072                       1 Bostwick Ave                                              Bridgeport, CT 06605‐2435                                                                                                 First Class Mail
Chartered Organization         Captions West, Inc                                         Trapper Trails 589                                       1656 S Sunset Dr                                            Kaysville, UT 84037‐9554                                                                                                  First Class Mail
Chartered Organization         Carbondale Church Of Christ                                Indian Nations Council 488                               3114 W 51st St                                              Tulsa, OK 74107‐7516                                                                                                      First Class Mail
Chartered Organization         Carden Arbor View School                                   California Inland Empire Council 045                     1530 N San Antonio Ave                                      Upland, CA 91786‐2272                                                                                                     First Class Mail
Chartered Organization         Cardinal Air, LLC                                          Old N State Council 070                                  2222 Pilots View Rd                                         Asheboro, NC 27205‐9523                                                                                                   First Class Mail
Chartered Organization         Cardinal Cushing Center                                    Mayflower Council 251                                    405 Washington St                                           Hanover, MA 02339‐3212                                                                                                    First Class Mail
Chartered Organization         Cardinal Joseph Bernardin Catholic Sch                     Pathway To Adventure 456                                 9250 W 167th St                                             Orland Hills, IL 60487‐5933                                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                             Page 47 of 442
                                                                                        Case 20-10343-LSS                                                       Doc 8171                                   Filed 01/06/22                                           Page 63 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                         Service List
                                                                                                                                                                                  Served as set forth below

        Description                                                          Name                                                                                                     Address                                                                                                          Email              Method of Service
Chartered Organization         Cardinal Newman School                                          Indian Waters Council 553                             2945 Alpine Rd                                        Columbia, SC 29223‐2701                                                                             First Class Mail
Chartered Organization         Cardinal Pacelli School                                         Dan Beard Council, Bsa 438                            927 Ellison Ave                                       Cincinnati, OH 45226‐1226                                                                           First Class Mail
Chartered Organization         Cardinal Ritter High School                                     Greater St Louis Area Council 312                     701 N Spring Ave                                      Saint Louis, MO 63108‐3603                                                                          First Class Mail
Voting Party                   Cardinal Shehan School, Inc                                     Attn: Matthew W Oakey                                 218 N Charles St, Ste 400                             Baltimore, MD 21201                                                moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Carella, Byrne, Cecchi, Olstein, Brody & Agnello, P.C.          Attn: Charles M. Carella                              5 Becker Farm Rd                                      Roseland, NJ 07068                                                 cmcarella@carellabyrne.com       Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Carella, Byrne, Cecchi, Olstein, Brody & Agnello, Pc.           Attn: Charles M. Carella                                                                                                                                                       gtroublefield@carellabyrne.com   Email
Voting Party                   Cares, Inc                                                      P.O. Box 6228                                         Huntsville, AL 35813                                                                                                     Mrsvhmoore@wowway.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carey 1St Ward ‐ Carey Stake                                    Snake River Council 111                               P.O. Box 358                                          Carey, ID 83320‐0358                                                                                First Class Mail
Chartered Organization         Carey 2Nd Ward ‐ Carey Stake                                    Snake River Council 111                               P.O. Box 157                                          Carey, ID 83320‐0157                                                                                First Class Mail
Voting Party                   Carey International, Inc                                        c/o Fair Harbor Capital LLC                           Attn: Victor Knox                                     P.O. Box 237037                   New York, NY 10023               vknox@fairharborcapital.com      Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carey Stake ‐ Sun Valley Ward                                   Snake River Council 111                               P.O. Box 268                                          Sun Valley, ID 83353‐0268                                                                           First Class Mail
Chartered Organization         Cargill Methodist Church Youth Council                          Glaciers Edge Council 620                             2000 Wesley Ave                                       Janesville, WI 53545‐2676                                                                           First Class Mail
Voting Party                   Cargill United Methodist Church                                 Attn: Stephen Paul Scott                              2000 Wesley Ave                                       Janesville, WI 53545                                               steve@cargillumc.org             Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carhartt, Inc                                                   Blue Grass Council 204                                285 Carhartt Ave                                      Irvine, KY 40336‐7725                                                                               First Class Mail
Chartered Organization         Carib Christian School                                          Puerto Rico Council 661                               P.O. Box 250470                                       Aguadilla, PR 00604‐0470                                                                            First Class Mail
Chartered Organization         Caribbean School                                                Puerto Rico Council 661                               Calle 9                                               La Rambla                         Ponce, PR 00731                                                   First Class Mail
Chartered Organization         Caribbean‐American For Commty                                   Involvement, Inc                                      1030 Royal Palm Beach Blvd                            Royal Palm Beach, FL 33411‐1667                                                                     First Class Mail
Chartered Organization         Caribou Kiwanis Club                                            Katahdin Area Council 216                             794 Main St                                           Caribou, ME 04736‐4451                                                                              First Class Mail
Chartered Organization         Caribou Rotary Club                                             Katahdin Area Council 216                             P.O. Box 1073                                         Caribou, ME 04736‐1073                                                                              First Class Mail
Chartered Organization         Carillon Elememtary School Pta                                  Central Florida Council 083                           3200 Lockwood Blvd                                    Oviedo, FL 32765‐9199                                                                               First Class Mail
Chartered Organization         Carkenord Ptc                                                   Great Lakes Fsc 272                                   27100 24 Mile Rd                                      Chesterfield, MI 48051‐1677                                                                         First Class Mail
Chartered Organization         Carl Caviness Post 102                                          c/o Donald Garrett                                    215 S 12th St                                         Chariton, IA 50049‐1916                                                                             First Class Mail
Chartered Organization         Carl H Lindner Family Ymca Hays Porter                          Dan Beard Council, Bsa 438                            1425 Linn St                                          Cincinnati, OH 45214‐2605                                                                           First Class Mail
Chartered Organization         Carl Junction First Christian Church                            Ozark Trails Council 306                              103 Hodge Dr                                          Carl Junction, MO 64834‐9476                                                                        First Class Mail
Chartered Organization         Carl Junction First Christian Church                            Ozark Trails Council 306                              103 Hodge Dr                                          Carl Junction, MO 64834‐9476                                                                        First Class Mail
Chartered Organization         Carl Lauro Commty                                               Engagement Committee                                  99 Kenyon St                                          Providence, RI 02903‐1434                                                                           First Class Mail
Chartered Organization         Carl Rhodenizer Recreation Center                               Atlanta Area Council 092                              3499 Rex Rd                                           Rex, GA 30273‐1037                                                                                  First Class Mail
Chartered Organization         Carl Traeger Psc                                                Bay‐Lakes Council 635                                 3000 W 20th Ave                                       Oshkosh, WI 54904‐6344                                                                              First Class Mail
Voting Party                   Carla Roland                                                    c/o The Episcopal Church of Saint Matthew and Saint   26 West 84th St                                       New York, NY 10024                                                 operations@smstchurch.org        Email
                                                                                               Timothy                                                                                                                                                                                                         First Class Mail
Chartered Organization         Carle Place American Legion Post 1718                           Theodore Roosevelt Council 386                        12 Evelyn Ave                                         Westbury, NY 11590‐4215                                                                             First Class Mail
Voting Party                   Carlene S Smith                                                 5395 Westview Ln                                      Lisle, IL 60532                                                                                                          carlenedavid@sbcglobal.net       Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carleton Sportsmen Club                                         Southern Shores Fsc 783                               P.O. Box 221                                          Carleton, MI 48117‐0221                                                                             First Class Mail
Chartered Organization         Carlinville Knights Columbus Council 663                        Abraham Lincoln Council 144                           106 N Side Sq                                         Carlinville, IL 62626‐1748                                                                          First Class Mail
Voting Party                   Carlinville United Methodist                                    Rex Earl Hendrix                                      444 N Center St                                       Carlinville, IL 62626                                              rexhendrix@mac.com               Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Carlinville United Methodist Church                             Attn: Rex Hendrix, Pastor                             201 S Broad St                                        Carlinville, IL 62626                                              carlinvilleumc@outlook.com       Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carlinville Utd Methodist Men                                   Abraham Lincoln Council 144                           201 S Broad St                                        Carlinville, IL 62626‐1718                                                                          First Class Mail
Voting Party                   Carlisle First United Methodist                                 Attn: Tressa Tompkins                                 P.O. Box 417                                          Carlisle, AR 72024                                                 secretary@carlisleumc.org        Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carlisle First Utd Methodist Church                             Quapaw Area Council 018                               P.O. Box 417                                          Carlisle, AR 72024‐0417                                                                             First Class Mail
Chartered Organization         Carlisle Lions Club                                             Quapaw Area Council 018                               P.O. Box 587                                          Carlisle, AR 72024‐0587                                                                             First Class Mail
Chartered Organization         Carlisle Lions Club                                             Dan Beard Council, Bsa 438                            465 Park Dr                                           Carlisle, OH 45005                                                                                  First Class Mail
Voting Party                   Carlisle United Methodist Church                                Andrew Bardole                                        1140 Bellflower Dr                                    Carlisle, IA 50047                                                 andrewpbardole@gmail.com         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Carlisle United Methodist Church                                405 School St                                         Carlisle, IA 50047                                                                                                       andrewpbardole@gmail.com         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Carlisle United Methodist Church (05160)                        c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carlisle Utd Methodist Church                                   New Birth of Freedom 544                              45 S West St                                          Carlisle, PA 17013‐2837                                                                             First Class Mail
Chartered Organization         Carlock Fireman'S Club                                          W D Boyce 138                                         200 N Lincoln St                                      Carlock, IL 61725‐3014                                                                              First Class Mail
Chartered Organization         Carls Flooring & Paint                                          Indian Nations Council 488                            111 N Adair St                                        Pryor, OK 74361‐2411                                                                                First Class Mail
Chartered Organization         Carlsbad Elks Lodge No. 1558                                    Conquistador Council Bsa 413                          P.O. Box 249                                          Carlsbad, NM 88221‐0249                                                                             First Class Mail
Chartered Organization         Carlsbad Fire Fighters Assoc                                    San Diego Imperial Council 049                        2560 Orion Way                                        Carlsbad, CA 92010‐7240                                                                             First Class Mail
Chartered Organization         Carlsbad Kiwanis Club                                           San Diego Imperial Council 049                        P.O. Box 711                                          Carlsbad, CA 92018‐0711                                                                             First Class Mail
Chartered Organization         Carlsbad Police Dept                                            San Diego Imperial Council 049                        2560 Orion Way                                        Carlsbad, CA 92010‐7240                                                                             First Class Mail
Chartered Organization         Carlson Assoc, Inc                                              Denver Area Council 061                               12460 1st St                                          Eastlake, CO 80614‐5000                                                                             First Class Mail
Voting Party                   Carlson Memorial Umc                                            c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carlson Memorial Utd Methodist Church                           Southwest Florida Council 088                         310 Campbell St                                       Labelle, FL 33935‐5269                                                                              First Class Mail
Chartered Organization         Carlson Memorial Utd Methodist Men                              Southwest Florida Council 088                         P.O. Box 386                                          Labelle, FL 33975‐0386                                                                              First Class Mail
Chartered Organization         Carlstadt Christian Assembly                                    Northern New Jersey Council, Bsa 333                  307 Washington St                                     Carlstadt, NJ 07072‐1109                                                                            First Class Mail
Chartered Organization         Carlton Area Lions Club                                         Voyageurs Area 286                                    P.O. Box 37                                           Carlton, MN 55718‐0037                                                                              First Class Mail
Chartered Organization         Carlton Hills Lutheran Church                                   San Diego Imperial Council 049                        9733 Halberns Blvd                                    Santee, CA 92071‐1433                                                                               First Class Mail
Chartered Organization         Carlton Volunteer Firefighters Assoc                            Cascade Pacific Council 492                           343 W Roosevelt Ave                                   Carlton, OR 97111‐1209                                                                              First Class Mail
Chartered Organization         Carlyle Jaycees                                                 Greater St Louis Area Council 312                     P.O. Box 236                                          Carlyle, IL 62231‐0236                                                                              First Class Mail
Chartered Organization         Carlyle Lions Club                                              Greater St Louis Area Council 312                     10805 Shattuc Rd                                      Centralia, IL 62801‐7829                                                                            First Class Mail
Chartered Organization         Carman Trails Pto                                               Greater St Louis Area Council 312                     555 S Weidman Rd                                      Manchester, MO 63021‐5729                                                                           First Class Mail
Chartered Organization         Carmel Lutheran Church                                          Crossroads of America 160                             4850 E Main St                                        Carmel, IN 46033‐9818                                                                               First Class Mail
Chartered Organization         Carmel Police Dept                                              Crossroads of America 160                             3 Civic Sq                                            Carmel, IN 46032‐2584                                                                               First Class Mail
Chartered Organization         Carmel Presbyterian Church                                      Mecklenburg County Council 415                        2048 Carmel Rd                                        Charlotte, NC 28226‐5024                                                                            First Class Mail
Voting Party                   Carmel United Methodist Church, Inc.                            Attn: Rev Adriane Curtis                              621 S Range Line Rd                                   Carmel, IN 46032                                                   acurtis@carmelumc.org            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carmel Utd Methodist Church                                     Crossroads of America 160                             621 S Rangeline Rd                                    Carmel, IN 46032‐2142                                                                               First Class Mail
Chartered Organization         Carmel Valley Scouting, Inc                                     Silicon Valley Monterey Bay 055                       P.O. Box 90                                           Carmel Valley, CA 93924‐0090                                                                        First Class Mail
Chartered Organization         Carmel Vfw, Daniel O'Brien Post 1374                            Westchester Putnam 388                                32 Gleneida Ave                                       Carmel, NY 10512‐1701                                                                               First Class Mail
Voting Party                   Carmi Emmanuel United Methodist Church                          Attn: Adam Sexton                                     203 Edgewood Ln                                       Carmi, IL 62821                                                    carmiemmanuel@gmail.com          Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carmi Rotary Club                                               Buffalo Trace 156                                     206 Fairview Dr                                       Carmi, IL 62821‐1524                                                                                First Class Mail
Chartered Organization         Carmichael Elks Lodge 2103                                      Attn: Jim Warrick                                     5631 Cypress Ave                                      Carmichael, CA 95608‐6613                                                                           First Class Mail
Chartered Organization         Carmichael Kiwanis Club                                         Attn: Vera Vaccaro                                    P.O. Box 680                                          Carmichael, CA 95609‐0680                                                                           First Class Mail
Voting Party                   Carmichael Presbyterian Church                                  Attn: Paul Shultz                                     5645 Marconi Ave                                      Carmichael, CA 95608                                               paul@carmichaelpres.org          Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carmichaels 1St Utd Methodist Ch                                Laurel Highlands Council 527                          104 W South St                                        Carmichaels, PA 15320‐1250                                                                          First Class Mail
Chartered Organization         Carnahan High School Of The Future                              Greater St Louis Area Council 312                     4041 S Broadway                                       Saint Louis, MO 63118‐4603                                                                          First Class Mail
Voting Party                   Carnegie United Methodist Church                                Attn: Margaret Settle & Sandy R Settle                103 E 3rd St                                          Carnegie, OK 73015                                                 margaretsettle@yahoo.com         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carnesville Lions Club                                          Northeast Georgia Council 101                         P.O. Box 366                                          Carnesville, GA 30521‐0366                                                                          First Class Mail
Chartered Organization         Carneys Point Penns Grove                                       Municipal Alliance                                    303 Harding Hwy                                       Penns Grove, NJ 08069‐2248                                                                          First Class Mail
Chartered Organization         Caro Exchange Club                                              Water and Woods Council 782                           305 W Sherman St                                      Caro, MI 48723‐1535                                                                                 First Class Mail
Chartered Organization         Caro Rotary Club                                                Water and Woods Council 782                           P.O. Box 623                                          Caro, MI 48723‐0623                                                                                 First Class Mail
Voting Party                   Caro United Methodist Church                                    670 W Gilford Rd                                      Caro, MI 48723                                                                                                           tstriff@gmail.com                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Carol A Pick                                                    c/o Vails Gate United Methodist Church                17 Hill Run Rd                                        Newburgh, NY 12550                                                 ccap137@gmail.com                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Carol Mclane                                                    327 S East St                                         Portland                                                                                                                 carolmclane0350@gmail.com        Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Caroleen First Utd Methodist Church                             Piedmont Council 420                                  P.O. Box 187                                          Caroleen, NC 28019‐0187                                                                             First Class Mail
Chartered Organization         Carolina Beach Presbyterian Church                              Cape Fear Council 425                                 1209 Lake Park Blvd N                                 Carolina Beach, NC 28428‐4132                                                                       First Class Mail
Chartered Organization         Carolina Beach Presbyterian Church                              Cape Fear Council 425                                 1204 Lake Park Blvd N                                 Carolina Beach, NC 28428‐4163                                                                       First Class Mail
Voting Party                   Carolina Business Supplies, Inc                                 Attn: Alice Dixon                                     5100 Rozzelles Ferry Rd                               Charlotte, NC 28216                                                alice@mycbsoffice.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Carolina Business Supplies, Inc                                 P.O. Box 681027                                       Charlotte, NC 28216                                                                                                                                       First Class Mail
Chartered Organization         Carolina Day School                                             Daniel Boone Council 414                              1345 Hendersonville Rd                                Asheville, NC 28803‐1923                                                                            First Class Mail
Chartered Organization         Carolina Raptor Center                                          Mecklenburg County Council 415                        6000 Sample Rd                                        Huntersville, NC 28078‐8491                                                                         First Class Mail
Chartered Organization         Carolina Volunteer Fire Assoc                                   Narragansett 546                                      208 Richmond Townhouse Rd                             Carolina, RI 02812‐1038                                                                             First Class Mail
Chartered Organization         Carolina Voyager Charter School                                 Coastal Carolina Council 550                          2415 Ave F                                            North Charleston, SC 29405‐1941                                                                     First Class Mail
Chartered Organization         Carolinas College Of Health Sciences Sna                        Mecklenburg County Council 415                        P.O. Box 32861                                        Charlotte, NC 28232‐2861                                                                            First Class Mail
Voting Party                   Caroline Church Of Brookhaven                                   Attn: Richard Dennis Visconti                         1 Dyke Rd                                             Setauket, NY 11733                                                 office@carolinechurch.net        Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Caroline Ruritan Club                                           National Capital Area Council 082                     23156 Sorrell Ln                                      Milford, VA 22514‐2621                                                                              First Class Mail
Chartered Organization         Carollton Elementary School P T O                               Three Harbors Council 636                             8965 S Carollton Dr                                   Oak Creek, WI 53154‐4125                                                                            First Class Mail
Voting Party                   Carolyn's Highgate Methodist Community Center                   Attn: Bonnie Hovermann                                275 Manley Rd                                         Milton, VT 05468                                                   Hovermann4@comcast.net           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carpenter Parents Assoc                                         Southern Shores Fsc 783                               4250 Central Blvd                                     Ann Arbor, MI 48108‐1216                                                                            First Class Mail
Chartered Organization         Carpenter School Pto                                            Pathway To Adventure 456                              300 N Hamlin Ave                                      Park Ridge, IL 60068‐2924                                                                           First Class Mail
Chartered Organization         Carpenter Trust                                                 Erie Shores Council 460                               500 N Locust St                                       Oak Harbor, OH 43449‐1136                                                                           First Class Mail
Voting Party                   Carpenter, Hazlewood, Delgado & Bolen, Llp                      Scott Brian Carpenter                                 1400 E Southern Ave, #400                             Tempe, AZ 85282                                                    Scott@carpenterhazlewood.com     Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carpenter‐Diesch‐White Legion Post No436                        Northeast Iowa Council 178                            308 N West St                                         Earlville, IA 52041‐2543                                                                            First Class Mail
Voting Party                   Carpenters United Methodist Church                              c/o Carpenters Campground United Methodist Church     3530 Best Rd                                          Maryville, TN 37803                                                jmg337@att.net                   Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carpenters Utd Methodist Church                                 Great Smoky Mountain Council 557                      3538 Best Rd                                          Maryville, TN 37803‐2641                                                                            First Class Mail
Voting Party                   Carpinteria Community Church                                    1111 Vallecito Rd                                     Carpinteria, CA 93013                                                                                                    carpchurch@gmail.com             Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carrboro Umc Men                                                Occoneechee 421                                       200 Hillsborough Rd                                   Carrboro, NC 27510‐1334                                                                             First Class Mail
Voting Party                   Carrboro United Methodists Church                               Attn: Devan Clark                                     200 Hillsborough Rd                                   Carrboro, NC 27510                                                 carrborounitedme@bellsouth.net   Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carriage Hill Elementary Pto                                    Mid‐America Council 326                               400 Cedardale Rd                                      Papillion, NE 68046‐2850                                                                            First Class Mail
Chartered Organization         Carrington Lions Club                                           Northern Lights Council 429                           564 9th Ave N                                         Carrington, ND 58421‐1250                                                                           First Class Mail
Chartered Organization         Carrington Lions Club                                           Northern Lights Council 429                           325 5th Ave S                                         Carrington, ND 58421‐2142                                                                           First Class Mail
Chartered Organization         Carrington School                                               Connecticut Rivers Council, Bsa 066                   24 Kenmore Ave                                        Waterbury, CT 06708‐1845                                                                            First Class Mail
Chartered Organization         Carroll College                                                 Montana Council 315                                   1601 N Benton Ave                                     Helena, MT 59625‐0001                                                                               First Class Mail
Chartered Organization         Carroll County High School Jrotc                                Blue Ridge Mtns Council 599                           100 Cavs Ln                                           Hillsville, VA 24343‐1669                                                                           First Class Mail
Chartered Organization         Carroll County Law Enforcement                                  Baltimore Area Council 220                            100 W Court St                                        Westminster, MD 21102                                                                               First Class Mail
Voting Party                   Carroll First United Methodist Church                           Attn: Treasurer                                       1621 N Main St                                        Carroll, IA 51401                                                  carrollumc@msn.com               Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carroll Junior High                                             Louisiana Purchase Council 213                        2913 Renwick St                                       Monroe, LA 71201‐8146                                                                               First Class Mail
Chartered Organization         Carroll Manor Fire Co                                           National Capital Area Council 082                     2795 Adams St                                         Adamstown, MD 21710‐9629                                                                            First Class Mail
Chartered Organization         Carroll Oakland Elementary Pto                                  Middle Tennessee Council 560                          4664 Hunters Point Pike                               Lebanon, TN 37087‐1111                                                                              First Class Mail
Chartered Organization         Carroll Peak Elementary ‐ Gifw                                  Longhorn Council 662                                  1201 E Jefferson Ave                                  Fort Worth, TX 76104‐5775                                                                           First Class Mail
Chartered Organization         Carroll Township Trustees                                       Erie Shores Council 460                               11080 W Toussaint East Rd                             Oak Harbor, OH 43449‐8820                                                                           First Class Mail
Voting Party                   Carroll, Pamela E                                               Address Redacted                                                                                                                                                               Email Address Redacted           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carrollton Church Of The Nazarene                               Circle Ten Council 571                                1529 E Hebron Pkwy                                    Carrollton, TX 75010‐1209                                                                           First Class Mail
Chartered Organization         Carrollton Farmers Branch Rotary Club                           Circle Ten Council 571                                P.O. Box 417                                          Carrollton, TX 75011                                                                                First Class Mail
Chartered Organization         Carrollton Farmers Branch Rotary Club                           Circle Ten Council 571                                P.O. Box 417                                          Carrollton, TX 75011                                                                                First Class Mail
Voting Party                   Carrollton First United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  ERICE@BRADLEY.COM                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carrollton Police Dept                                          Circle Ten Council 571                                2025 E Jackson Rd                                     Carrollton, TX 75006‐1739                                                                           First Class Mail
Chartered Organization         Carrollton Ruritan Club                                         Colonial Virginia Council 595                         109 Arabian Trl                                       Smithfield, VA 23430‐6720                                                                           First Class Mail
Chartered Organization         Carrollwood Seventh Day Adventist Church                        Greater Tampa Bay Area 089                            10619 Henderson Rd                                    Tampa, FL 33625‐4917                                                                                First Class Mail
Chartered Organization         Carrow Baptist Church                                           Tidewater Council 596                                 5545 Susquehanna Dr                                   Virginia Beach, VA 23462‐4034                                                                       First Class Mail
Chartered Organization         Carrsville Ruritan Club                                         Colonial Virginia Council 595                         5336 Carrsville Hwy                                   Carrsville, VA 23315                                                                                First Class Mail
Voting Party                   Carson & Alliman White                                          Attn: Peter J Alliman III                             138 College St S                                      Madisonville, TN 37354                                             allimanp@aol.com                 Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Carson & Alliman White                                          Peter Alliman III                                     138 College St S                                      Madisonville, TN 37354                                             allimanp@aol.com                 Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carson Boys N Girls Club                                        Three Harbors Council 636                             4920 W Capitol Dr                                     Milwaukee, WI 53216‐2321                                                                            First Class Mail
Voting Party                   Carson City First United Methodist Church                       Attn: Rev Maggie Mcnaught                             400 W King St, Ste 100                                Carson City, NV 89703                                              margaret.mcnaught@cnumc.org      Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carson Valley Lions Club                                        Nevada Area Council 329                               P.O. Box 314                                          Minden, NV 89423‐0314                                                                               First Class Mail
Chartered Organization         Carson Valley Medical Center                                    Nevada Area Council 329                               1107 US Hwy 395 N                                     Gardnerville, NV 89410‐5304                                                                         First Class Mail
Chartered Organization         Carstens Academy Pacsa                                          Great Lakes Fsc 272                                   13000 Essex Ave                                       Detroit, MI 48215‐3243                                                                              First Class Mail
Voting Party                   Carter Ledyard & Milburn Llp                                    Attn: James Gadsden                                   2 Wall St                                             New York, NY 10005                                                 gadsden@clm.com                  Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Carter Memorial Umc                                             Attn: Gary Shaw                                       800 Highland Ave                                      Needham Heights, MA 02494                                          pastor@carterumc.org             Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carter Park Elementary ‐ Gfwar                                  Longhorn Council 662                                  1204 E Broadus Ave                                    Fort Worth, TX 76115‐2823                                                                           First Class Mail
Voting Party                   Carteret Street United Methodist Church                         Attn: Gray Wilson                                     408 Carteret St                                       Beaufort, SC 29902                                                 csumc@islc.net                   Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carteret Street Utd Methodist Church                            Coastal Carolina Council 550                          P.O. Box 788                                          Beaufort, SC 29901‐0788                                                                             First Class Mail
Voting Party                   Carter's United Methodist Church                                Attn: Michelle Washington                             P.O. Box 85                                           Tracy's Landing, MD 20779                                                                           First Class Mail
Chartered Organization         Carter‐Smith Vfw Post 5867                                      San Diego Imperial Council 049                        12650 Lindo Ln                                        Lakeside, CA 92040‐4212                                                                             First Class Mail
Chartered Organization         Cartersville Rotary                                             Northwest Georgia Council 100                         P.O. Box 1476                                         Cartersville, GA 30120‐1476                                                                         First Class Mail
Chartered Organization         Carterville Baptist Church                                      Pine Burr Area Council 304                            1115 Carterville Rd                                   Petal, MS 39465‐3112                                                                                First Class Mail
Voting Party                   Carterville First United Methodist Church                       Attn: Sharon K Fuller                                 301 N Pine St                                         Carterville, IL 62918                                              CartervilleFUMC@gmail.com        Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Carthage 1st UMC                                                Attn: David Fowler                                    617 S Main St                                         Carthage, MO 64836                                                 carthage1strev@gmail.com         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Carthage Lds                                                    Longhouse Council 373                                 21883 Cole Rd                                         Carthage, NY 13619                                                                                  First Class Mail
Chartered Organization         Carthage Police Dept                                            Ozark Trails Council 306                              310 W 4th St                                          Carthage, MO 64836‐1746                                                                             First Class Mail
Voting Party                   Carthage United Methodist Church Carthage, Tennessee            Attn: David Bass                                      P.O. Box 500                                          Carthage, TN 37030                                                 dbass@bassandbass.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 48 of 442
                                                                                       Case 20-10343-LSS                                                          Doc 8171                                      Filed 01/06/22                                                Page 64 of 457
                                                                                                                                                                                             Exhibit B
                                                                                                                                                                                              Service List
                                                                                                                                                                                       Served as set forth below

        Description                                                           Name                                                                                                         Address                                                                                                                Email                 Method of Service
Chartered Organization         Carthage Utd Methodist Church                                                   Andrew Jackson Council 303               P.O. Box 169                                            Carthage, MS 39051‐0169                                                                                      First Class Mail
Chartered Organization         Carthage Utd Methodist Church                                                   Middle Tennessee Council 560             P.O. Box 241                                            Carthage, TN 37030‐0241                                                                                      First Class Mail
Chartered Organization         Carver Boys N Girls Club                                                        Three Harbors Council 636                1900 N 1st St                                           Milwaukee, WI 53212‐3705                                                                                     First Class Mail
Chartered Organization         Carver Center                                                                   Westchester Putnam 388                   P.O. Box 429                                            Port Chester, NY 10573‐0429                                                                                  First Class Mail
Chartered Organization         Carver Community Organization                                                   Buffalo Trace 156                        400 SE 8th St                                           Evansville, IN 47713‐1819                                                                                    First Class Mail
Chartered Organization         Carver County Sheriff                                                           Northern Star Council 250                606 E 4th St                                            Chaska, MN 55318‐2102                                                                                        First Class Mail
Chartered Organization         Carver Elementary School                                                        Greater St Louis Area Council 312        3325 Bell Ave                                           Saint Louis, MO 63106‐1602                                                                                   First Class Mail
Chartered Organization         Carver High School                                                              Tukabatchee Area Council 005             2001 W Fairview Ave                                     Montgomery, AL 36108‐4118                                                                                    First Class Mail
Chartered Organization         Carver Middle School                                                            Indian Nations Council 488               624 E Oklahoma Pl                                       Tulsa, OK 74106‐4831                                                                                         First Class Mail
Chartered Organization         Carversville Christian Church                                                   Washington Crossing Council 777          3736 Aquetong Rd                                        Carversville, PA 18913                                                                                       First Class Mail
Chartered Organization         Cary High School Naval Jrotc                                                    Occoneechee 421                          638 Walnut St                                           Cary, NC 27511‐4224                                                                                          First Class Mail
Chartered Organization         Cary Police Dept                                                                Blackhawk Area 660                       654 Village Hall Dr                                     Cary, IL 60013‐2547                                                                                          First Class Mail
Voting Party                   Cary Presbyterian Church, Inc.                                                  Attn: Barbara S Carew                    614 Griffis St                                          Cary, NC 27511                                                          barbara.carew@carypresbyterian.org   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cary Reynolds Pta                                                               Atlanta Area Council 092                 3498 Pine St                                            Doraville, GA 30340‐2776                                                                                     First Class Mail
Voting Party                   Cary United Methodist Church                                                    Attn: Norval Brown                       500 N 1st St                                            Cary, IL 60013                                                          caryumc@caryumc.org                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cary Utd Methodist Church                                                       Blackhawk Area 660                       500 1st St                                              Cary, IL 60013‐2181                                                                                          First Class Mail
Chartered Organization         Cary‐Grove Amvets                                                               Blackhawk Area 660                       425 Wentworth Cir                                       Cary, IL 60013‐2321                                                                                          First Class Mail
Chartered Organization         Casa De Amigos                                                                  Buffalo Trail Council 567                1101 Garden Ln                                          Midland, TX 79701‐3683                                                                                       First Class Mail
Chartered Organization         Casa De La Esperanza Learning Center                                            Longs Peak Council 062                   1520 S Emery St                                         Longmont, CO 80501‐6952                                                                                      First Class Mail
Chartered Organization         Casa Esperanza                                                                  W.L.A.C.C. 051                           14705 Blythe St                                         Panorama City, CA 91402‐5807                                                                                 First Class Mail
Chartered Organization         Casa Familiar                                                                   San Diego Imperial Council 049           119 W Hall Ave                                          San Ysidro, CA 92173‐2514                                                                                    First Class Mail
Chartered Organization         Casa Grande Fire Dept                                                           Catalina Council 011                     377 E Val Vista Blvd                                    Casa Grande, AZ 85122‐6900                                                                                   First Class Mail
Chartered Organization         Casa Juan Bosco, Inc                                                            Puerto Rico Council 661                  P.O. Box 1836                                           Aguadilla, PR 00605‐1836                                                                                     First Class Mail
Voting Party                   Casar                                                                           c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Casas Adobes Ward                                                               Lds Tucson North Stake                   939 W Chapala Dr                                        Tucson, AZ 85704‐4516                                                                                        First Class Mail
Chartered Organization         Cascade Christian Church                                                        President Gerald R Ford 781              2829 Thornapple River Dr Se                             Grand Rapids, MI 49546‐6843                                                                                  First Class Mail
Chartered Organization         Cascade Civil War Society                                                       Crater Lake Council 491                  3504 Cannon Ave                                         Klamath Falls, OR 97603‐6628                                                                                 First Class Mail
Voting Party                   Cascade Designs Nevada, LLC                                                     29383 Network Pl                         Chicago, IL 60673‐1293                                                                                                                                               First Class Mail
Chartered Organization         Cascade Elementary School Pto                                                   Blue Mountain Council 604                505 S Highland Dr                                       Kennewick, WA 99337‐5112                                                                                     First Class Mail
Chartered Organization         Cascade Leadership Challenge                                                    Chief Seattle Council 609                13203 2nd Ave Nw                                        Seattle, WA 98177‐4004                                                                                       First Class Mail
Chartered Organization         Cascade Lions Club                                                              Northeast Iowa Council 178               Cascade, IA 52033                                                                                                                                                    First Class Mail
Voting Party                   Cascade Pacific                                                                 Attn: Matthew S Devore                   2145 SW Naito Pkwy                                      Portland, OR 97201                                                      matthew.devore@scouting.org          Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cascade Pacific Council Bsa                                                     Attn: Matthew S Devore                   2145 SW Naito Pkwy                                      Portland, OR 97201                                                      Matthew.Devore@scouting.org          Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cascade Pacific Council Bsa                                                     Attn: Joseph M Vanleuven                 1300 SW 5th Ave, Ste 2400                               Portland, OR 97201                                                      joevanleuven@dwt.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cascade Pacific Council Bsa                                                     c/o Davis Wright Tremaine                Attn: Joseph M Vanleuven                                1300 SW 5th Ave, Ste 2400            Portland, OR 97201                 joevanleuven@dwt.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cascade United Methodist Church                                                 Attn: John Kernaghan                     2808 Old US Hwy 91                                      Cascade, MT 59421                                                       johnjkernaghan@gmail.com             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cascade United Methodist Church                                                 P.O. Box 25                              Cascade, MT 59421                                                                                                               johnjkernaghan@gmail.com             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cascade United Methodist Church                                                 Deborah Dawn Hanson                      303 Central Ave W                                       P.O. Box 25                          Cascade, MT 59421‐0025             dddh@gmx.com                         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cascade Utd Methodist Church                                                    Atlanta Area Council 092                 3144 Cascade Rd Sw                                      Atlanta, GA 30311‐3616                                                                                       First Class Mail
Voting Party                   Casco United Methodist Church                                                   Attn: Ron Ridley                         880 66th St                                             South Haven, MI 49090                                                   cascoumcoffice@gmail.com             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Case Clc Pta                                                                    Great Trail 433                          1420 Garman Rd                                          Akron, OH 44313‐6421                                                                                         First Class Mail
Voting Party                   Casey United Methodist Church                                                   Attn: Dennis Mumford                     703 N Route 49                                          Casey, IL 62420                                                         dnmumford@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cashiers Umc                                                                    c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cashmere American Legion Auxiliary 64                                           Grand Columbia Council 614               P.O. Box 441                                            Cashmere, WA 98815‐0441                                                                                      First Class Mail
Voting Party                   Cashmere United Methodist Church ‐ Cashmere                                     c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cashton Community Club                                                          Gateway Area 624                         539 Schneider St                                        Cashton, WI 54619‐8038                                                                                       First Class Mail
Chartered Organization         Cashtown Area Lions Club                                                        New Birth of Freedom 544                 1043 Green Ridge Rd                                     Orrtanna, PA 17353‐9655                                                                                      First Class Mail
Voting Party                   Cason Umc ‐ Delray Beach                                                        c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cason Utd Methodist Church                                                      Gulf Stream Council 085                  342 N Swinton Ave                                       Delray Beach, FL 33444‐2726                                                                                  First Class Mail
Chartered Organization         Casper Five Trails Rotary Club                                                  Greater Wyoming Council 638              4210 Deer Run                                           Casper, WY 82601‐6014                                                                                        First Class Mail
Chartered Organization         Cass City Rotary Club                                                           Water and Woods Council 782              P.O. Box 63                                             Cass City, MI 48726‐0063                                                                                     First Class Mail
Chartered Organization         Cass Co Elks Lodge                                                              Heart of America Council 307             2402 N M 291 Hwy                                        Harrisonville, MO 64701                                                                                      First Class Mail
Chartered Organization         Cass Co Emergency Services Dis. 2                                               Caddo Area Council 584                   P.O. Box 157                                            Queen City, TX 75572‐0157                                                                                    First Class Mail
Chartered Organization         Cass County Cowboy Church                                                       Caddo Area Council 584                   P.O. Box 189                                            Atlanta, TX 75551‐0189                                                                                       First Class Mail
Chartered Organization         Cass County Emergency Svcs District 2                                           Caddo Area Council 584                   P.O. Box 157                                            Queen City, TX 75572‐0157                                                                                    First Class Mail
Chartered Organization         Cass County Sheriffs Office                                                     Mid‐America Council 326                  P.O. Box 10                                             Plattsmouth, NE 68048‐0010                                                                                   First Class Mail
Chartered Organization         Cass District 63 Ptc                                                            Pathway To Adventure 456                 8502 Bailey Rd                                          Darien, IL 60561‐5333                                                                                        First Class Mail
Chartered Organization         Cass Road Baptist Church                                                        Erie Shores Council 460                  1400 Cass Rd                                            Maumee, OH 43537‐2718                                                                                        First Class Mail
Chartered Organization         Cassadaga American Legion Post 1280                                             Allegheny Highlands Council 382          228 Maple Ave                                           Cassadaga, NY 14718‐9725                                                                                     First Class Mail
Voting Party                   Cassandra M Robinson                                                            Address Redacted                                                                                                                                                                                              First Class Mail
Chartered Organization         Casselberry Utd Methodist Church                                                Central Florida Council 083              321 Piney Ridge Rd                                      Casselberry, FL 32707‐3805                                                                                   First Class Mail
Chartered Organization         Casselton Fire Dept                                                             Northern Lights Council 429              121 Langer Ave N                                        Casselton, ND 58012                                                                                          First Class Mail
Voting Party                   Cassidy United Methodist Church                                                 Attn: Anthony A Ponder                   5801 Memorial Blvd                                      Kingsport, TX 37664                                                     cassidyumc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cassidy Utd Methodist Church                                                    Sequoyah Council 713                     5801 Memorial Blvd                                      Kingsport, TN 37664‐4364                                                                                     First Class Mail
Chartered Organization         Cassville Fire Dept                                                             Blackhawk Area 660                       310 W Amelia St                                         Cassville, WI 53806                                                                                          First Class Mail
Chartered Organization         Cassville Rotary Club                                                           Ozark Trails Council 306                 12964 Fr 2195                                           Cassville, MO 65625                                                                                          First Class Mail
Chartered Organization         Cassville Volunteer Fire Co                                                     Jersey Shore Council 341                 785 Miller Ave                                          Jackson, NJ 08527‐3547                                                                                       First Class Mail
Chartered Organization         Castaic Chamber Of Commerce                                                     W.L.A.C.C. 051                           31744 Castaic Rd, Ste 103                               Castaic, CA 91384‐3902                                                                                       First Class Mail
Chartered Organization         Castaic Lions Club                                                              W.L.A.C.C. 051                           30801 Gilmour St                                        Castaic, CA 91384‐3451                                                                                       First Class Mail
Chartered Organization         Castile Community Club                                                          Iroquois Trail Council 376               12 S Main St                                            Castile, NY 14427                                                                                            First Class Mail
Voting Party                   Castle Creek United Methodist Church                                            David Russell Wickins                    1082 Castle Creek Rd                                    Castle Creek, NY 13744                                                  revwick@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Castle Creek United Methodist Church                                            Attn: Richard James                      209 Castle Creek Rd                                     Binghamton, NY 13901                                                    revwick@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Castle Elementary School Pto                                                    Buffalo Trace 156                        3077 State Route 261                                    Newburgh, IN 47630‐8147                                                                                      First Class Mail
Chartered Organization         Castle Hills Residential Assoc                                                  Circle Ten Council 571                   4400 State Hwy 121, Ste 900                             Lewisville, TX 75056‐4952                                                                                    First Class Mail
Chartered Organization         Castle Rock Fire Dept                                                           Denver Area Council 061                  300 Perry St                                            Castle Rock, CO 80104‐2421                                                                                   First Class Mail
Chartered Organization         Castle Rock Police Dept                                                         Denver Area Council 061                  100 Perry St                                            Castle Rock, CO 80104‐2486                                                                                   First Class Mail
Chartered Organization         Castle South Parent Support Group                                               Buffalo Trace 156                        3711 Casey Rd                                           Newburgh, IN 47630‐8343                                                                                      First Class Mail
Chartered Organization         Castle Valley Center                                                            Utah National Parks 591                  755 N Cedar Hills Dr                                    Price, UT 84501‐2045                                                                                         First Class Mail
Chartered Organization         Castleman & Sons Plumbing, Inc                                                  Three Harbors Council 636                11725 W Scherrei Dr                                     Franklin, WI 53132‐1619                                                                                      First Class Mail
Chartered Organization         Castleton Hill Moravian Church                                                  Greater New York Councils, Bsa 640       1657 Victory Blvd                                       Staten Island, NY 10314‐3507                                                                                 First Class Mail
Chartered Organization         Castleton Kiwanis Club                                                          Twin Rivers Council 364                  112 S Main St                                           Castleton On Hudson, NY 12033‐1220                                                                           First Class Mail
Voting Party                   Castleton United Methodist Church                                               Attn: Mark Unland, Trustee               7160 Shadeland Station                                  Indianapolis, IN 46256                                                  CARSONARM14@gmail.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Castleton Utd Methodist Church                                                  Crossroads of America 160                7160 Shadeland Sta                                      Indianapolis, IN 46256‐3915                                                                                  First Class Mail
Chartered Organization         Castro Valley Utd Methodist Church                                              San Francisco Bay Area Council 028       19806 Wisteria St                                       Castro Valley, CA 94546‐4119                                                                                 First Class Mail
Chartered Organization         Castro Vly Utd Methodist Ch Mens Club                                           San Francisco Bay Area Council 028       19806 Wisteria St                                       Castro Valley, CA 94546‐4119                                                                                 First Class Mail
Voting Party                   Caswell Springs Umc                                                             Kevin M Trantham                         18601 Hwy 63                                            Moss Point, MS 39562                                                    revtran@me.com                       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Caswell Springs United Methodist Church                                         Attn: Terry Jackson                      2804 Goff Rd                                            Moss Point, MS 39562                                                    revtran@me.com                       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Caswell Springs Utd Methodist Church                                            Pine Burr Area Council 304               18601 Hwy 63                                            Moss Point, MS 39562‐8579                                                                                    First Class Mail
Chartered Organization         Catalina Elementary School Pta                                                  Central Florida Council 083              2510 Gulfstream Rd                                      Orlando, FL 32805‐5813                                                                                       First Class Mail
Chartered Organization         Catalina Ward ‐ Lds Tucson North Stake                                          Catalina Council 011                     55 W Arrowsmith Dr                                      Oro Valley, AZ 85755                                                                                         First Class Mail
Chartered Organization         Cataula Utd Methodist Church                                                    Chattahoochee Council 091                P.O. Box 276                                            Cataula, GA 31804‐0276                                                                                       First Class Mail
Voting Party                   Cataumet United Methodist Church                                                Attn: Thomas Atwater                     P.O. Box 812                                            Cataumet, MA 02534                                                      timatwater@juno.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Catawba Lodge 56, Afm                                                           Palmetto Council 549                     P.O. Box 56                                             Fort Mill, SC 29716‐0056                                                                                     First Class Mail
Chartered Organization         Catawba Sail And Power Squadron                                                 Palmetto Council 549                     4743 Cascade Ave                                        Rock Hill, SC 29732‐8190                                                                                     First Class Mail
Chartered Organization         Catawba Trail Elementary School Pto                                             Indian Waters Council 553                1080 Old National Hwy                                   Elgin, SC 29045‐8138                                                                                         First Class Mail
Voting Party                   Catawba UMC                                                                     c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Catawba Utd Methodist Church                                                    Blue Ridge Mtns Council 599              4972 Catawba Creek Rd                                   Catawba, VA 24070‐2102                                                                                       First Class Mail
Chartered Organization         Catawissa Ave Utd Methodist Church                                              Susquehanna Council 533                  319 Catawissa Ave                                       Sunbury, PA 17801‐2059                                                                                       First Class Mail
Voting Party                   Catawissa Avenue United Methodist Church(180362)                                c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Catawissa First United Methodist Church (04250)                                 c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Catfish Charlies                                                                Northeast Iowa Council 178               1650 E 16th St Ext                                      Dubuque, IA 52001                                                                                            First Class Mail
Chartered Organization         Cathadral Of St.Joseph                                                          Great Rivers Council 653                 2305 W Main St                                          Jefferson City, MO 65109‐0915                                                                                First Class Mail
Chartered Organization         Cathedral Carmel Elem                                                           Evangeline Area 212                      848 Saint John St                                       Lafayette, LA 70501‐6762                                                                                     First Class Mail
Voting Party                   Cathedral Church Of Saint John The Divine                                       c/o Epstein Becker & Green, PC           Attn: Wendy G. Marcari                                  875 3rd Ave                          New York, NY 10022                 wmarcari@ebglaw.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cathedral Church Of Saint John The Divine                                       Attn: Michael J Edwards                  1047 Amsterdam Ave                                      New York, NY 10025                                                      medwards@stjohndivine.org            Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cathedral Church Of Saint John The Divine                                       Attn: Michael J. Edwards                 1047 Amsterdam Ave                                      New York, NY 10025                                                      medwards@stjohndivine.org            Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cathedral Church Of Saint John The Divine                                       c/o Epstein Becker & Green, PC           Attn: Wendy G Marcari                                   875 3rd Ave                          New York, NY 10022                 medwards@stjohndivine.org            Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cathedral Church Of St. Luke                                                    130 N Magnolia Ave                       Orlando, FL 32801                                                                                                               rkidd@stlukescathedral.org           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cathedral Church Of St. Paul (Burlington)                                       c/o The Tamposi Law Group, PC            Attn: Peter N Tamposi                                   159 Main St                          Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cathedral Church Of St. Paul, Fond Du Lac, WI                                   Attn: Episcopal Diocese of Fond Du Lac   1051 N Lynndale Dr, 1B                                  Appleton, WI 54914                                                      gordon@stillingslaw.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cathedral City Police Dept                                                      California Inland Empire Council 045     68700 Avenida Lalo Guerrero                             Cathedral City, CA 92234‐1208                                                                                First Class Mail
Chartered Organization         Cathedral High School                                                           Yucca Council 573                        1309 N Stanton St                                       El Paso, TX 79902‐4121                                                                                       First Class Mail
Chartered Organization         Cathedral Holy Name Society                                                     Greater St Louis Area Council 312        200 W Harrison St                                       Belleville, IL 62220‐2025                                                                                    First Class Mail
Chartered Organization         Cathedral Of Immaculate Conception                                              East Texas Area Council 585              423 S Broadway Ave                                      Tyler, TX 75702‐8102                                                                                         First Class Mail
Chartered Organization         Cathedral Of Mary Our Queen                                                     Baltimore Area Council 220               5200 N Charles St                                       Baltimore, MD 21210‐2002                                                                                     First Class Mail
Chartered Organization         Cathedral Of Our Lady Of Guadalupe                                              Santa Fe Trail Council 194               3231 N 14Th                                             Dodge City, KS 67801                                                                                         First Class Mail
Chartered Organization         Cathedral Of Sacred Heart                                                       Gulf Coast Council 773                   1212 E Moreno St                                        Pensacola, FL 32503‐5659                                                                                     First Class Mail
Chartered Organization         Cathedral Of Saint Eugene                                                       Redwood Empire Council 041               2323 Montgomery Dr                                      Santa Rosa, CA 95405‐5001                                                                                    First Class Mail
Chartered Organization         Cathedral Of Saint John Berchmans                                               Norwela Council 215                      939 Jordan St                                           Shreveport, LA 71101‐4309                                                                                    First Class Mail
Voting Party                   Cathedral Of St Andrew                                                          c/o Squire Patton Boggs (Us) LLP         Attn: Mark A Salzberg                                   2550 M St NW                         Washington, DC 20037               mark.salzberg@squirepb.com           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cathedral Of St Augustine                                                       North Florida Council 087                35 Treasury St                                          Saint Augustine, FL 32084‐3616                                                                               First Class Mail
Chartered Organization         Cathedral Of St Catharine Of Siena                                              Minsi Trails Council 502                 1825 W Turner St                                        Allentown, PA 18104‐5617                                                                                     First Class Mail
Voting Party                   Cathedral Of St Francis Assisi                                                  Attn: Andre L Kydala                     54 Old Hwy 22                                           Clinton, NJ 08809                                                                                            First Class Mail
Chartered Organization         Cathedral Of St Mary Of The Assumption                                          Narragansett 546                         327 2nd St                                              Fall River, MA 02721‐2007                                                                                    First Class Mail
Chartered Organization         Cathedral Of St Peter                                                           Blackhawk Area 660                       1243 N Church St                                        Rockford, IL 61103‐6240                                                                                      First Class Mail
Chartered Organization         Cathedral Of St Philip                                                          Atlanta Area Council 092                 2744 Peachtree Rd Nw                                    Atlanta, GA 30305‐2937                                                                                       First Class Mail
Voting Party                   Cathedral Of St. John Episcopal (Providence)                                    c/o The Tamposi Law Group, PC            Attn: Peter N Tamposi                                   159 Main St                          Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cathedral Of St. Mary Of The Immaculate Conception                              Attn: Matt Mckillip                      610 Lingle Ave, P.O. Box 260                            Lafayette, IN 47902                                                     mmckillip@dol‐in.org                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cathedral Of The Risen Christ                                                   Cornhusker Council 324                   3500 Sheridan Blvd                                      Lincoln, NE 68506‐6127                                                                                       First Class Mail
Chartered Organization         Cathedral Of The Rockies: Amity Campus                                          Ore‐Ida Council 106 ‐ Bsa 106            4464 S Maple Grove Rd                                   Boise, ID 83709‐5459                                                                                         First Class Mail
Chartered Organization         Cathedral Of The Sacred Heart                                                   Gulf Coast Council 773                   1212 E Moreno St                                        Pensacola, FL 32503‐5659                                                                                     First Class Mail
Chartered Organization         Cathedral Of The Sacred Heart Of Jesus                                          Great Smoky Mountain Council 557         711 S Northshore Dr                                     Knoxville, TN 37919‐7549                                                                                     First Class Mail
Chartered Organization         Cathedral Of The, Incarnation                                                   Middle Tennessee Council 560             2015 W End Ave                                          Nashville, TN 37203‐2304                                                                                     First Class Mail
Chartered Organization         Cathedral School                                                                Cascade Pacific Council 492              110 NW 17th Ave                                         Portland, OR 97209‐2101                                                                                      First Class Mail
Chartered Organization         Catholic ‐ Holy Rosary Church                                                   Grand Teton Council 107                  145 9th St                                              Idaho Falls, ID 83404‐4805                                                                                   First Class Mail
Chartered Organization         Catholic ‐ Holy Rosary Church                                                   Grand Teton Council 107                  228 9th St                                              Idaho Falls, ID 83404‐4859                                                                                   First Class Mail
Voting Party                   Catholic Charities Of Metuchen                                                  Attn: Andre L Kydala                     54 Old Hwy 22                                           Clinton, NJ 08809                                                       kydalalaw@aim.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Catholic Charities Of The Diocese Of Rockville Centre                           c/o Cullen and Dykman LLP                Attn: Matthew G Roseman                                 100 Quentin Roosevelt Blvd           Garden City, NY 11530              tslome@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Catholic Church Of Corpus Christi                                               Northern Star Council 250                2131 Fairview Ave N                                     Roseville, MN 55113‐5416                                                                                     First Class Mail
Chartered Organization         Catholic Church Of St Ann                                                       Atlanta Area Council 092                 4905 Roswell Rd                                         Marietta, GA 30062‐6518                                                                                      First Class Mail
Voting Party                   Catholic Church Of St John The Baptist                                          c/o Woods Oviatt Gilman LLP              Attn: Timothy P Lyster, Esq                             1900 Bausch & Lomb Pl                Rochester, NY 14604                tlyster@woodsoviatt.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Catholic Church Of St Luke                                                      Blue Ridge Council 551                   4408 Hwy 86                                             Easley, SC 29642‐9554                                                                                        First Class Mail
Chartered Organization         Catholic Church Of St Monica                                                    Atlanta Area Council 092                 1700 Buford Hwy                                         Duluth, GA 30097‐2814                                                                                        First Class Mail
Chartered Organization         Catholic Church Of The Annunciation                                             Blue Grass Council 204                   1007 Main St                                            Paris, KY 40361‐1709                                                                                         First Class Mail
Chartered Organization         Catholic Church Of The Epiphany                                                 Central Florida Council 083              201 Lafayette St                                        Port Orange, FL 32127‐5012                                                                                   First Class Mail
Chartered Organization         Catholic Church Of The Holy Ghost                                               Mayflower Council 251                    518 Washington St                                       Whitman, MA 02382‐1911                                                                                       First Class Mail
Chartered Organization         Catholic Church Of The Holy Spirit                                              Gulf Coast Council 773                   10650 Gulf Beach Hwy                                    Pensacola, FL 32507‐9118                                                                                     First Class Mail
Chartered Organization         Catholic Committee On Scouting                                                  Great Rivers Council 653                 1011 Boonville Rd                                       Jefferson City, MO 65109‐0619                                                                                First Class Mail
Voting Party                   Catholic Community Of Ascension And St Augustine Roman Catholic Congregation,   Attn: Matthew W Oakey                    218 N Charles St, Ste 400                               Baltimore, MD 21201                                                     moakey@gejlaw.com                    Email
                               Incorporated                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Catholic Community of Ascension And St Augustine Roman Catholic Congregation,   c/o Gallagher Evelius & Jones LLP        Attn: Matthew W Oakey                                   218 N Charles St, Ste 400            Baltimore, MD 21201                moakey@gejlaw.com                    Email
                               Incorporated                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Catholic Community Of New Bedford                                               Narragansett 546                         106 Illinois St                                         New Bedford, MA 02745‐2516                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                              Page 49 of 442
                                                                                 Case 20-10343-LSS                                                                       Doc 8171                                       Filed 01/06/22                                              Page 65 of 457
                                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                                      Service List
                                                                                                                                                                                               Served as set forth below

        Description                                                     Name                                                                                                                       Address                                                                                                              Email                 Method of Service
Voting Party                   Catholic Community Of South Baltimore Roman Catholic Congregation, Incorporated   c/o Gallagher Evelius & Jones LLP              Attn: Matthew W Oakey                                   218 N Charles St, Ste 400         Baltimore, MD 21201                 moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Catholic Community Of St Matthias                                                 Patriots Path Council 358                      168 John F Kennedy Blvd                                 Somerset, NJ 08873‐2230                                                                                    First Class Mail
Voting Party                   Catholic Diocese Of Arlington                                                     Attn: Mark Herrmann                            200 N Glebe Rd, Ste 922                                 Arlington, VA 22203                                                   mark.herrmann@arlingtondiocese.org   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Catholic Diocese Of Arlington                                                     Attn: Mark Herrmann, Esq                       200 N Glebe Rd, Ste 922                                 Arlington, VA 22203                                                   mark.herrmann@arlingtondiocese.org   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Catholic Diocese Of Arlington                                                     c/o Hunton Andrews Kurth LLP                   Attn: J.R. Smith, Esq                                   951 E Byrd St                     Richmond, VA 23219                  mark.herrmann@arlingtondiocese.org   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Catholic Diocese Of Richmond                                                      Stonewall Jackson Council 763                  1205 Pen Park Rd                                        Charlottesville, VA 22901‐3111                                                                             First Class Mail
Chartered Organization         Catholic Diocese Of Richmond                                                      Stonewall Jackson Council 763                  1465 Incarnation Dr                                     Charlottesville, VA 22901‐5702                                                                             First Class Mail
Voting Party                   Catholic Guardian Services                                                        Attn: Monsignor Joseph Lamorte                 1011 1st Ave                                            New York, NY 10022                                                    Msgr.Joseph.LaMorte@archny.org       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Catholic Holy Spirit Catholic Commty                                              Grand Teton Council 107                        524 N 7th Ave                                           Pocatello, ID 83201‐5707                                                                                   First Class Mail
Chartered Organization         Catholic Home School Assoc Of Omaha                                               Mid‐America Council 326                        4816 S 13th St                                          Omaha, NE 68107‐3003                                                                                       First Class Mail
Chartered Organization         Catholic Men Of The Chapel                                                        Transatlantic Council, Bsa 802                 Unit 5210 8 Fw/Hc                                       Apo, AE 09461‐5210                                                                                         First Class Mail
Chartered Organization         Catholic Men St Justin                                                            St Mary Magdalen Parish                        665 E Garfield Ave                                      Hazel Park, MI 48030‐1202                                                                                  First Class Mail
Chartered Organization         Catholic Men'S Group                                                              W D Boyce 138                                  502 N Monroe St                                         Clinton, IL 61727‐1447                                                                                     First Class Mail
Chartered Organization         Catholic Schools Of Fairbanks                                                     Midnight Sun Council 696                       615 Monroe St                                           Fairbanks, AK 99701‐2936                                                                                   First Class Mail
Chartered Organization         Catholic Urban Programs Griffin Center                                            Greater St Louis Area Council 312              P.O. Box 2185                                           East Saint Louis, IL 62202‐2185                                                                            First Class Mail
Voting Party                   Creditor Name Redacted                                                            Address Redacted                                                                                                                                                                                                  First Class Mail
Chartered Organization         Catlettsburg Elem Sch 21 Stcclcwow                                                Buckskin 617                                   3348 Court St                                           Catlettsburg, KY 41129‐1108                                                                                First Class Mail
Chartered Organization         Catlin Lions Club                                                                 Prairielands 117                               10562 Catlin Indianola Rd                               Catlin, IL 61817‐9114                                                                                      First Class Mail
Chartered Organization         Catoctin Fish And Game Protective Assoc                                           National Capital Area Council 082              10219 Clark Rd                                          Myersville, MD 21773                                                                                       First Class Mail
Chartered Organization         Catonsville Presbyterian Church                                                   Baltimore Area Council 220                     1400 Frederick Rd                                       Catonsville, MD 21228‐5017                                                                                 First Class Mail
Voting Party                   Catonsville United Methodist Church                                               Attn: Linda Pyle                               6 Melvin Ave                                            Catonsville, MD 21228                                                 cumclinda@verizon.net                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cats Club 21St Century Brown Elementary                                           Capitol Area Council 564                       505 W Anderson Ln                                       Austin, TX 78752‐1111                                                                                      First Class Mail
Chartered Organization         Cat'S Welding                                                                     Texas Trails Council 561                       P.O. Box 483                                            Haskell, TX 79521‐0483                                                                                     First Class Mail
Voting Party                   Catskill United Methodist Church                                                  Attn: Dianne Bitterman                         40 Woodland Ave                                         Catskill, NY 12414                                                    cumctract@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Caughdenoy Methodist Church                                                       Longhouse Council 373                          P.O. Box 59B                                            Central Square, NY 13036                                                                                   First Class Mail
Voting Party                   Caughdenoy United Methodist Church                                                Attn: Brian S Schumaker                        3 Co Rt 37                                              Central Square, NY 13036                                              brian.schumaker@evoqua.com           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Cauis Guilliams                                                                   Address Redacted                                                                                                                                                                                                  First Class Mail
Voting Party                   Cavanaugh United Methodist Church                                                 Attn: Zeke Allen                               P.O. Box 180602                                         Fort Smith, AR 72918                                                  zeke.allen@arumc.org                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Cavanaugh United Methodist Church                                                 Friday, Eldredge & Clark LLP                   Lindsey Emerson Raines                                  400 W Capitol Ave, Ste 2000       Little Rock, AR 72201               lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Cave Spring UMC                                                                   c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Cave Spring United Methodist Church                                               c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Cave Spring United Methodist Church                                               30 Alabama St                                  Cave Spring, GA 30124                                                                                                                                              First Class Mail
Chartered Organization         Cave Spring Utd Methodist Church                                                  Blue Ridge Mtns Council 599                    4505 Hazel Dr                                           Roanoke, VA 24018‐3927                                                                                     First Class Mail
Chartered Organization         Cave Spring Utd Methodist Men'S Club                                              Northwest Georgia Council 100                  5420 Fosters Mill Rd Sw                                 Cave Spring, GA 30124‐2320                                                                                 First Class Mail
Chartered Organization         Caveman Kiwanis Club                                                              Crater Lake Council 491                        712 SW Cypress St                                       Grants Pass, OR 97526‐2668                                                                                 First Class Mail
Voting Party                   Cayan, LLC                                                                        dba Cayan Holdings                             1 Federal St Fl 2                                       Boston, MA 02110‐2003                                                                                      First Class Mail
Chartered Organization         Cayce Dept Of Public Safety                                                       Indian Waters Council 553                      2 Lavern Jumper Rd                                      Cayce, SC 29033‐2916                                                                                       First Class Mail
Chartered Organization         Cayuga Christian Church                                                           Crossroads of America 160                      P.O. Box 731                                            Cayuga, IN 47928‐0731                                                                                      First Class Mail
Voting Party                   Cayuga United Methodist Church                                                    Attn: Rev Kevin A Grish                        6201 Center St                                          Cayuga, NY 13034                                                      kgrish@rochester.rr.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Caze Parent Support Group Special Needs                                           Buffalo Trace 156                              2013 S Green River Rd                                   Evansville, IN 47715‐5731                                                                                  First Class Mail
Chartered Organization         Cazenovia American Legion Post 88                                                 Leatherstocking 400                            P.O. Box 263                                            Cazenovia, NY 13035‐0263                                                                                   First Class Mail
Voting Party                   Cb C/O Jennifer Bishoff                                                           Attn: Thomas Young                             400 Nola Ruth Blvd                                      Harker Heights, TX 76548                                              tyoung@mytexaslegal.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cbp Border Patrol                                                                 Yucca Council 573                              1997 Hwy 54 S                                           Alamogordo, NM 88310‐7377                                                                                  First Class Mail
Chartered Organization         Cbp Calexico 2503                                                                 San Diego Imperial Council 049                 1699 Carr Rd                                            Calexico, CA 92231‐9703                                                                                    First Class Mail
Chartered Organization         Cbp Office Of Field Operations                                                    Rio Grande Council 775                         3300 S Expressway 77/83                                 Brownsville, TX 78521                                                                                      First Class Mail
Chartered Organization         Cbs, LLC                                                                          Tidewater Council 596                          953 Reon Dr                                             Virginia Beach, VA 23464‐3825                                                                              First Class Mail
Chartered Organization         Ccsd Police Officer Assoc                                                         Las Vegas Area Council 328                     2412 Harlequin Cir                                      Henderson, NV 89074‐6291                                                                                   First Class Mail
Chartered Organization         Cdf Freedom School Of Licking County                                              Simon Kenton Council 441                       734 Sherwick Rd                                         Newark, OH 43055‐2848                                                                                      First Class Mail
Chartered Organization         Cdf Freedom Schools Of Licking County                                             Simon Kenton Council 441                       734 Sherwick Rd                                         Newark, OH 43055‐2848                                                                                      First Class Mail
Chartered Organization         Cdf/San Mateo County Fire Dept                                                    Pacific Skyline Council 031                    320 Paul Scannell Dr                                    San Mateo, CA 94402‐4060                                                                                   First Class Mail
Chartered Organization         Cdr William Mccool School Pto                                                     Aloha Council, Bsa 104                         Psc 455 Box 168                                         Fpo, AP 96540‐0002                                                                                         First Class Mail
Voting Party                   CDW, LLC                                                                          Attn: Vida Krug                                200 N Milwaukee Ave                                     Vernon Hills, IL 60061                                                vida.krug@cdw.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Cdw, LLC                                                                          Vida Krug                                      220 N Milwaukee Ave                                     Vernon Hills, IL 60061                                                                                     First Class Mail
Chartered Organization         Ceasar Chavez Academy                                                             Great Lakes Fsc 272                            4100 Martin St                                          Detroit, MI 48210‐2806                                                                                     First Class Mail
Chartered Organization         Ceasar Chavez East Academy                                                        Great Lakes Fsc 272                            4130 Maxwell St                                         Detroit, MI 48214‐1109                                                                                     First Class Mail
Chartered Organization         Cebar Esd, Inc                                                                    Capitol Area Council 564                       353 S Commons Ford Rd                                   Austin, TX 78733‐4008                                                                                      First Class Mail
Voting Party                   CEC Facilities Group                                                              c/o Fair Harbor Capital LLC                    P.O. Box 237037                                         New York, NY 10023                                                    vknox@fairharborcapital.com          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cecil American Legion Post 793                                                    Laurel Highlands Council 527                   P.O. Box 93                                             Cecil, PA 15321‐0093                                                                                       First Class Mail
Chartered Organization         Cecil B Moore Rec Center                                                          Cradle of Liberty Council 525                  2551 N 22nd St                                          Philadelphia, PA 19132‐3743                                                                                First Class Mail
Chartered Organization         Cecil Cox Post 147 Amer Leg &                                                     Memorial United Methodist Church               P.O. Box 415                                            Clovis, CA 93613‐0415                                                                                      First Class Mail
Chartered Organization         Cecil Cox Post 147, Inc American Legion                                           Sequoia Council 027                            508 4th St                                              Clovis, CA 93612‐1121                                                                                      First Class Mail
Chartered Organization         Cecil Cox Post 147, Inc American Legion                                           Sequoia Council 027                            P.O. Box 415                                            Clovis, CA 93613‐0415                                                                                      First Class Mail
Voting Party                   Cecil I Walker Machinery Co                                                       Attn: Norma Ehrhart                            dba Boyd Co                                             10001 Linn Station Rd             Louisville, KY 40223                normaehrhart@boydcat.com             Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cecil Murray Center For Commty                                                    Engagement                                     Greater Los Angeles Area 033                            Abm Building, Ste 205             Los Angeles, CA 90089                                                    First Class Mail
Chartered Organization         Cecilia Valley Elementary School                                                  Lincoln Heritage Council 205                   931 E Main St                                           Cecilia, KY 42724‐7614                                                                                     First Class Mail
Voting Party                   Cecilton Parish Incl Zion Umc And St Paul's Umc                                   c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Cedar Bayou Grace Umc                                                             Attn: Rick Merling Trustee                     3700 N Hwy 146                                          Baytown, TX 77520                                                     rhmerl@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cedar Bayou Grace Utd Methodist Ch                                                Sam Houston Area Council 576                   2714 Ferry Rd                                           Baytown, TX 77520‐3863                                                                                     First Class Mail
Chartered Organization         Cedar Bluff Police Dept                                                           Buckskin 617                                   115 Central Ave                                         Cedar Bluff, VA 24609                                                                                      First Class Mail
Chartered Organization         Cedar Bluffs Fire And Rescue                                                      Mid‐America Council 326                        13 E Main St                                            Cedar Bluffs, NE 68015‐3129                                                                                First Class Mail
Chartered Organization         Cedar Chapel Utd Methodist Church                                                 Quivira Council, Bsa 198                       1140 E 47th St S                                        Wichita, KS 67216‐2053                                                                                     First Class Mail
Chartered Organization         Cedar City Elks Lodge 1556                                                        Utah National Parks 591                        111 E 200 N                                             Cedar City, UT 84720‐2618                                                                                  First Class Mail
Voting Party                   Cedar Cliff Umc                                                                   c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Cedar Cliff United Methodist Church                                               Attn: James Elton Wooten                       4683 Cedar Cliff Rd                                     Graham, NC 27253                                                      jwooten@nccumc.org                   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cedar Creek Baptist Church                                                        North Florida Council 087                      1372 Lane Ave S                                         Jacksonville, FL 32205‐6885                                                                                First Class Mail
Chartered Organization         Cedar Creek Booster Club                                                          Capitol Area Council 564                       3301 Pinnacle Rd                                        Austin, TX 78746‐7440                                                                                      First Class Mail
Chartered Organization         Cedar Creek Church                                                                Georgia‐Carolina 093                           3001 Banks Mill Rd                                      Aiken, SC 29803‐8481                                                                                       First Class Mail
Voting Party                   Cedar Creek United Methodist Church                                               Attn: Eben S Files                             P.O. Box 33                                             Cedar Creek, TX 78612                                                 treasurer@cedarcreekumc.org          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cedar Creek Utd Methodist Church                                                  Capitol Area Council 564                       5630 Fm 535                                             Cedar Creek, TX 78612                                                                                      First Class Mail
Chartered Organization         Cedar Crest Elementary                                                            Circle Ten Council 571                         2020 Mouser Ln                                          Dallas, TX 75203‐3942                                                                                      First Class Mail
Chartered Organization         Cedar Cross Utd Methodist Church                                                  Mount Baker Council, Bsa 606                   1210 132nd St Se                                        Mill Creek, WA 98012‐5306                                                                                  First Class Mail
Chartered Organization         Cedar Draw Ward ‐ Filer Stake                                                     Snake River Council 111                        841 W Midway St                                         Filer, ID 83328                                                                                            First Class Mail
Chartered Organization         Cedar Elementary Pto                                                              Buckeye Council 436                            2823 9th St Sw                                          Canton, OH 44710‐1917                                                                                      First Class Mail
Chartered Organization         Cedar Grange 534                                                                  Chief Seattle Council 609                      P.O. Box 486                                            Maple Valley, WA 98038‐0486                                                                                First Class Mail
Chartered Organization         Cedar Grove Elementary School                                                     Lincoln Heritage Council 205                   1900 Cedar Grove Rd                                     Shepherdsville, KY 40165‐7548                                                                              First Class Mail
Chartered Organization         Cedar Grove Elementary School                                                     Jersey Shore Council 341                       137 Cedar Grove Rd                                      Toms River, NJ 08753                                                                                       First Class Mail
Chartered Organization         Cedar Grove Elks Lodge 2237                                                       Northern New Jersey Council, Bsa 333           405 Bowden Rd                                           Cedar Grove, NJ 07009‐1540                                                                                 First Class Mail
Voting Party                   Cedar Grove United Methodist Church                                               Attn: Donna Elliott                            168 Old Turnpike Rd                                     Parkersburg, WV 26104                                                 cedargroveumc@cascable.net           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cedar Grove Utd Methodist Church                                                  Great Smoky Mountain Council 557               1246 Whitaker Rd                                        New Market, TN 37820                                                                                       First Class Mail
Chartered Organization         Cedar Hall Elementary School                                                      Buffalo Trace 156                              2100 N Fulton Ave                                       Evansville, IN 47710‐2842                                                                                  First Class Mail
Chartered Organization         Cedar Hill Baptist Church                                                         Great Smoky Mountain Council 557               636 Demory Rd                                           La Follette, TN 37766‐8226                                                                                 First Class Mail
Chartered Organization         Cedar Hill Church Of Christ                                                       Circle Ten Council 571                         535 S Clark Rd                                          Cedar Hill, TX 75104‐2822                                                                                  First Class Mail
Chartered Organization         Cedar Hill Fire Dept                                                              Circle Ten Council 571                         1212 W Belt Line Rd                                     Cedar Hill, TX 75104‐1605                                                                                  First Class Mail
Chartered Organization         Cedar Hill Pto                                                                    Great Rivers Council 653                       1510 Vieth Dr                                           Jefferson City, MO 65109‐1986                                                                              First Class Mail
Chartered Organization         Cedar Hill Roller Rink                                                            Circle Ten Council 571                         202 W Main St                                           Dallas, TX 75208‐1930                                                                                      First Class Mail
Chartered Organization         Cedar Hill School Pto                                                             Patriots Path Council 358                      46 Pine Brook Rd                                        Towaco, NJ 07082‐1426                                                                                      First Class Mail
Voting Party                   Cedar Hill United Methodist Church                                                Attn: Sanford Aydlett                          P.O. Box 126                                            Cedar Hill, TN 37032                                                  rebakah.rochte@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cedar Hills Baptist Church                                                        Great Smoky Mountain Council 557               726 Hilltop Dr                                          Jacksboro, TN 37757‐2033                                                                                   First Class Mail
Chartered Organization         Cedar Hills Baptist Church                                                        Cascade Pacific Council 492                    2470 SW Roxbury Ave                                     Portland, OR 97225‐4440                                                                                    First Class Mail
Chartered Organization         Cedar Hills P T O                                                                 Three Harbors Council 636                      2225 W Sycamore Ave                                     Oak Creek, WI 53154‐1049                                                                                   First Class Mail
Chartered Organization         Cedar Key Utd Methodist Church                                                    North Florida Council 087                      P.O. Box 338                                            Cedar Key, FL 32625‐0338                                                                                   First Class Mail
Voting Party                   Cedar Lake United Methodist Church, Inc                                           Attn: Donna L Radford                          7124 W 137th Pl                                         Cedar Lake, IN 46302                                                  cedarlakeumc@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cedar Mill Ptc                                                                    Cascade Pacific Council 492                    10265 NW Cornell Rd                                     Portland, OR 97229‐5248                                                                                    First Class Mail
Voting Party                   Cedar Park First United Methodist Church                                          600 W Park St                                  Cedar Park, TX 78613                                                                                                          Peter@cpfumc.org                     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cedar Park Police Dept                                                            Capitol Area Council 564                       911 Quest Pkwy                                          Cedar Park, TX 78613‐2270                                                                                  First Class Mail
Chartered Organization         Cedar Park Presbyterian Church                                                    Cradle of Liberty Council 525                  7740 Limekiln Pike                                      Philadelphia, PA 19150‐1831                                                                                First Class Mail
Chartered Organization         Cedar Park Rotary Club                                                            Capitol Area Council 564                       P.O. Box 1446                                           Cedar Park, TX 78630‐1446                                                                                  First Class Mail
Chartered Organization         Cedar Park Utd Methodist Church                                                   Capitol Area Council 564                       600 W Park St                                           Cedar Park, TX 78613‐2925                                                                                  First Class Mail
Chartered Organization         Cedar Point Elementary School                                                     National Capital Area Council 082              12601 Braemar Pkwy                                      Bristow, VA 20136‐3079                                                                                     First Class Mail
Chartered Organization         Cedar Rapids Police Dept                                                          Hawkeye Area Council 172                       505 1st St Sw                                           Cedar Rapids, IA 52404‐2103                                                                                First Class Mail
Chartered Organization         Cedar Ridge Pta                                                                   Utah National Parks 591                        4501 W Cedar Hills Dr                                   Cedar Hills, UT 84062‐8707                                                                                 First Class Mail
Chartered Organization         Cedar Ridge Pta                                                                   Indian Nations Council 488                     9817 S Mingo Rd                                         Tulsa, OK 74133‐5123                                                                                       First Class Mail
Chartered Organization         Cedar Spgs Parent Teacher Organizaiton                                            Greater St Louis Area Council 312              6992 Rivermont Trl                                      House Springs, MO 63051‐2027                                                                               First Class Mail
Chartered Organization         Cedar Springs Lions Club                                                          President Gerald R Ford 781                    19 N Main St                                            Cedar Springs, MI 49319                                                                                    First Class Mail
Chartered Organization         Cedar Springs Rotary Club                                                         President Gerald R Ford 781                    P.O. Box 73                                             Cedar Springs, MI 49319‐0073                                                                               First Class Mail
Voting Party                   Cedar Springs United Methodist Church                                             Attn: Cameron Poerner Supak                    827 Rock Dam Rd                                         Marlin, TX 76661                                                      revcameronsupak@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Cedar Springs United Methodist Church                                             Attn: Lawrence French                          140 N Main St                                           Cedar Springs, MI 49319                                               pastorlarryfrench@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Cedar Springs United Methodist Church                                             Attn: Pastor Cameron P Supak                   411 Coleman St                                          Marlin, TX 76661                                                      firstumcMarlin@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cedar Springs Utd Methodist Church                                                President Gerald R Ford 781                    P.O. Box K                                              Cedar Springs, MI 49319‐0811                                                                               First Class Mail
Chartered Organization         Cedar Union Church                                                                Minsi Trails Council 502                       3419 Broadway                                           Allentown, PA 18104‐5928                                                                                   First Class Mail
Voting Party                   Cedar United Methodist Church of Ham Lake, Minnesota                              c/o Lapp, Libra, Stoebner & Pusch, Chartered   Attn: Andrew J Stoebner                                 120 S 6th St, Ste 2500            Minneapolis, MN 55402               astoebner@lapplibra.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cedar Valley Alumni Assoc                                                         Quapaw Area Council 018                        1400 Neville St                                         Jonesboro, AR 72401‐4721                                                                                   First Class Mail
Chartered Organization         Cedar Wood Parents Group                                                          Mount Baker Council, Bsa 606                   15825 34th Ave Se                                       Mill Creek, WA 98012‐8321                                                                                  First Class Mail
Chartered Organization         Cedarburg Fire Dept                                                               Bay‐Lakes Council 635                          P.O. Box 327                                            Cedarburg, WI 53012‐0327                                                                                   First Class Mail
Chartered Organization         Cedar‐East Bethel Lions                                                           Northern Star Council 250                      Cedar Mn                                                Cedar, MN 55011                                                                                            First Class Mail
Voting Party                   Cedaredge Community Methodist Church                                              Attn: Steve Countryman                         P.O. Box 369                                            Cedaredge, CO 81413                                                   pgubkin@cedaredgecumc.com            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cedartown Police Dept                                                             Northwest Georgia Council 100                  118 N Philpot St                                        Cedartown, GA 30125‐2738                                                                                   First Class Mail
Voting Party                   Cedarville Umc                                                                    c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Cedarville United Methodist Church                                                c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Cedarville Utd Methodist Church                                                   Chester County Council 539                     1092 Laurelwood Rd                                      Pottstown, PA 19465‐7420                                                                                   First Class Mail
Chartered Organization         Cedarville Utd Presbyterian Church                                                Tecumseh 439                                   P.O. Box 52                                             Cedarville, OH 45314‐0052                                                                                  First Class Mail
Chartered Organization         Celebration Church                                                                Baltimore Area Council 220                     7101 Riverwood Dr                                       Columbia, MD 21046‐1246                                                                                    First Class Mail
Chartered Organization         Celebration Covenant Church                                                       Mid‐America Council 326                        16868 Giles Rd                                          Omaha, NE 68136‐1115                                                                                       First Class Mail
Chartered Organization         Celebration Lutheran Church                                                       Central Minnesota 296                          1500 Pine Cone Rd                                       Sartell, MN 56377‐2187                                                                                     First Class Mail
Voting Party                   Celebration Lutheran Church                                                       Attn: Mary Rosen                               2500 Shaw Rd                                            Payallup, WA 98374                                                    info@celebrationlutheranchruch.org   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Celebration Rotary Club                                                           Central Florida Council 083                    P.O. Box 470232                                         Celebration, FL 34747‐0232                                                                                 First Class Mail
Voting Party                   Celebration Umc                                                                   c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Celebration United Methodist Church                                               Attn: Gereeta Greene                           1289 S 250 E                                            Winona Lake, IN 46590                                                 officeumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Celebration United Methodist Church                                               Attn: Jason J Martens                          500 Pasgue Flower Trl                                   Brandon, SO 57005                                                     celebration@alliancecom.net          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Celebration United Methodist Church                                               500 Pasque Flower Trl                          Brandon, SD 57005                                                                                                             celebrartion@alliance.com            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Celebration Utd Methodist Church                                                  North Florida Council 087                      9501 SW Archer Rd                                       Gainesville, FL 32608‐5721                                                                                 First Class Mail
Chartered Organization         Celerity Woodmere Charter School                                                  Southeast Louisiana Council 214                3191 Alex Kornman Blvd                                  Harvey, LA 70058‐2043                                                                                      First Class Mail
Voting Party                   Celeste United Methodist Church                                                   Attn: Rev Ask Harmon                           P.O. Box 326                                            Celeste, TX 75423                                                     pastorcelesteumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Celina First Baptist Church                                                       Middle Tennessee Council 560                   P.O. Box 690                                            Celina, TN 38551‐0690                                                                                      First Class Mail
Voting Party                   Cellco Partnership D/B/A Verizon Wireless                                         Attn: William M Vermette                       22001 Loudoun County Pkwy                               Ashburn, VA 20147                                                     William.Vermett@Verizon.Com          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Cellco Partnership Dba Verizon Wireless                                           c/o Verizon                                    Attn: Paul Adamec                                       500 Technology Dr                 Weldon Spring, MO 63304             Paul.Adamec@Verizon.Com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Celo United Methodist Church                                                      c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Celoron United Methodist Church                                                   Attn: Christian Fandt                          28 Church St                                            P.O. Box 477                      Celoron, NY 14720                   bjfandt@twc.com                      Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                      Page 50 of 442
                                                                                      Case 20-10343-LSS                                                  Doc 8171                                         Filed 01/06/22                                          Page 66 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                        Name                                                                                                      Address                                                                                                          Email                Method of Service
Voting Party                   Celoron United Methodist Church                                Christian Fandt                                   28 Livingston Ave                                         P.O. Box 477                     Celoron, NY 14720                bjfandt@twc.com                     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Celtic Cross Presbteryian Church                               5839 Dewey Dr                                     Citrus Heights, CA 95621                                                                                                    bobyule@celticpc.org                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary Chenango Street                                      438 Chenango St                                   Binghamton, NY 13901                                                                                                        jreed1015@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Centenary Methodist Church                                     East Carolina Council 426                         309 New St                                                New Bern, NC 28560‐4936                                                                               First Class Mail
Voting Party                   Centenary Morning Sun United Methodist Church                  Attn: Sue Anderson, Treasurer                     P.O. Box 446                                              Morning Sun, IA 52640                                             centenarymorningsun@gmail.com       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary Steelton (32103660)                                  c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary Umc                                                  15 Sanford St                                     Attleboro MA 02703                                                                                                          rgardiner37@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary Umc                                                  Attn: Gary Abrams, Trustee Chair, Centenary Umc   3312 Cedar Ln                                             Portsmouth, VA 23703                                              johncole@vaumc.org                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary Umc                                                  c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary Umc ‐ Danville                                       Attn: Treasurer, Centenary Umc                    1441 Perryville Rd                                        Danville, KY 40422                                                office@danvillecumc.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary Umc (Metuchen)                                       c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary Umc Of Lawton Oklahoma                               Attn: Treasurer                                   704 SW D Ave                                              Lawton, OK 73507                                                  office@lawtoncentenary.org          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist                                     Faith Bahm                                        1015 Cleveland St                                         Franklinton, LA 70438                                             office@cumcfranklinton.org          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church                              Attn: Alice Virginia (Ginger) Howe Isom           P.O. Box 1638                                             Morristown, TN 37816                                              treasurer@centenarychurch.org       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church                              Attn: Jim England                                 2901 Winchester Ave                                       Ashland, KY 41101                                                 office@ashlandcentenary.org         Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church                              Attn: Jennifer W Reed                             103 Dr Mann Rd                                            P.O. Box 630                     Skowhegan, ME 04976              jreedecho@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church                              Attn: William H Price                             910 Fordice Rd                                            Lebanon, IN 46052                                                 jgeeslinjr@aol.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church                              Attn: Bruce Bishop                                1290 College St                                           Macon, GA 31204                                                   jdiannebuck@gmail.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church                              Janet Buck                                        491 Pinecrest Rd                                          Macon, GA 31204                                                   jdiannebuck@gmail.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church                              Attn: Gina C Evans                                2800 Tates Creek Rd                                       Lexington, KY 40502                                               gina@lexchurch.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church                              Attn: T. Tones                                    P.O. Box 712                                              Mccomb, MS 39649                                                  finance@centenary‐umc.net           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church                              Attn: Gene Rouse                                  34 Turner Ave                                             Skowhegan, ME 04976                                               egenerouse@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church                              Attn: Dennis J Devorick                           1527 Hwy 544                                              Conway, SC 29526                                                  djdevorick@umcsc.org                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church                              Attn: Christopher Prince                          203 E Grove Ave                                           Effingham, IL 62401                                               chris@effinghamcumc.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church‐ Greenwich                   Attn: Ruth Shippee                                1 Gray Ave                                                Greenwich, NY 12834                                               centenaryumctreasurer@gmail.com     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church Laurel, De                   c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church Of New Albany Ind, Inc.      Attn: Roger A. Ketterer                           P.O. Box 1826                                             New Albany, IN 47151                                              roger1andlois@att.net               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church Of New Bern, Inc.            Attn: Thomas M. Greener Dmin                      P.O. Box 1388                                             New Bern, NC 28563                                                kathymitchell@centenarychurch.com   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church SS                           Attn: Camille E Vogts                             P.O. Box 529                                              Shady Side, MD 20764                                              cevogts@aol.com                     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centenary United Methodist Church: Smithfield, NC              Attn: William Ervin Holliday                      140 E Market St                                           Smithfield, NC 27577                                              wholliday@nccumc.org                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Centenary Utd Methodist Church                                 Cornhusker Council 324                            608 Elk St                                                Beatrice, NE 68310‐2920                                                                               First Class Mail
Chartered Organization         Centenary Utd Methodist Church                                 Heart of Virginia Council 602                     350 N Marshall St                                         Chase City, VA 23924‐1735                                                                             First Class Mail
Chartered Organization         Centenary Utd Methodist Church                                 Simon Kenton Council 441                          2048 Denune Ave                                           Columbus, OH 43211‐1720                                                                               First Class Mail
Chartered Organization         Centenary Utd Methodist Church                                 Blue Grass Council 204                            1441 Perryville Rd                                        Danville, KY 40422‐1369                                                                               First Class Mail
Chartered Organization         Centenary Utd Methodist Church                                 Istrouma Area Council 211                         1015 Cleveland St                                         Franklinton, LA 70438‐1701                                                                            First Class Mail
Chartered Organization         Centenary Utd Methodist Church                                 Old N State Council 070                           2300 W Friendly Ave                                       Greensboro, NC 27403‐1108                                                                             First Class Mail
Chartered Organization         Centenary Utd Methodist Church                                 Abraham Lincoln Council 144                       331 E State St                                            Jacksonville, IL 62650‐2029                                                                           First Class Mail
Chartered Organization         Centenary Utd Methodist Church                                 Del Mar Va 081                                    200 W Market St                                           Laurel, DE 19956‐1049                                                                                 First Class Mail
Chartered Organization         Centenary Utd Methodist Church                                 Patriots Path Council 358                         200 Hillside Ave                                          Metuchen, NJ 08840‐1920                                                                               First Class Mail
Chartered Organization         Centenary Utd Methodist Church                                 Coastal Carolina Council 550                      672 Gaillard Rd                                           Moncks Corner, SC 29461‐7333                                                                          First Class Mail
Chartered Organization         Centenary Utd Methodist Church                                 East Carolina Council 426                         P.O. Box 1388                                             New Bern, NC 28563‐1388                                                                               First Class Mail
Chartered Organization         Centenary Utd Methodist Church                                 Pine Tree Council 218                             113 Dr Mann Rd                                            Skowhegan, ME 04976‐4111                                                                              First Class Mail
Chartered Organization         Centenary Utd Methodist Church                                 Old Hickory Council 427                           646 W 5th St                                              Winston Salem, NC 27101‐2705                                                                          First Class Mail
Chartered Organization         Centenial Hills Ymca                                           Las Vegas Area Council 328                        8056 Broken Spur Ln                                       Las Vegas, NV 89131‐4510                                                                              First Class Mail
Chartered Organization         Centennial Ame Zion Church                                     Westchester Putnam 388                            114 W 4th St                                              Mount Vernon, NY 10550‐4062                                                                           First Class Mail
Chartered Organization         Centennial Elem School Booster Assn                            Pacific Harbors Council, Bsa 612                  2637 45th Ave Se                                          Olympia, WA 98501‐4864                                                                                First Class Mail
Chartered Organization         Centennial Evangelical Lutheran Church                         Chester County Council 539                        1330 Hares Hill Rd                                        Kimberton, PA 19442                                                                                   First Class Mail
Chartered Organization         Centennial Gun Club                                            Denver Area Council 061                           11800 E Peakview Ave                                      Centennial, CO 80111‐6861                                                                             First Class Mail
Chartered Organization         Centennial K‐8                                                 Denver Area Council 061                           4665 N Raleigh St                                         Denver, CO 80212‐2560                                                                                 First Class Mail
Chartered Organization         Centennial Lodge 326                                           Mid‐America Council 326                           2424 S 135th Ave                                          Omaha, NE 68144‐2423                                                                                  First Class Mail
Chartered Organization         Centennial Lutheran Church                                     Denver Area Council 061                           3595 W Belleview Ave                                      Englewood, CO 80110‐6343                                                                              First Class Mail
Chartered Organization         Centennial Pto                                                 Northern Lights Council 429                       2800 Ithica Dr                                            Bismarck, ND 58503‐0954                                                                               First Class Mail
Voting Party                   Centennial United Methodist Church (187693)                    c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Centennial Utd Methodist Church                                Heart of America Council 307                      1834 Woodland Ave                                         Kansas City, MO 64108‐1633                                                                            First Class Mail
Chartered Organization         Centennial Utd Methodist Church                                Northern Star Council 250                         1524 County Rd C2 W                                       Roseville, MN 55113‐1635                                                                              First Class Mail
Chartered Organization         Centennial Utd Methodist Church                                St. Anthony Park                                  2200 Hillside Ave                                         Saint Paul, MN 55108‐1609                                                                             First Class Mail
Voting Party                   Center Avenue United Methodist Church (Pitcairn)               c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Center Barnstead Fire Co                                       Daniel Webster Council, Bsa 330                   P.O. Box 117                                              Barnstead, NH 03218‐0117                                                                              First Class Mail
Chartered Organization         Center Cass School District 66                                 Pathway To Adventure 456                          699 Plainfield Rd                                         Downers Grove, IL 60516‐5024                                                                          First Class Mail
Chartered Organization         Center Congregational Church                                   Connecticut Rivers Council, Bsa 066               11 Center St                                              Manchester, CT 06040‐5002                                                                             First Class Mail
Chartered Organization         Center Congregational Church                                   Connecticut Rivers Council, Bsa 066               155 Main St                                               Torrington, CT 06790‐5207                                                                             First Class Mail
Voting Party                   Center Conway United Methodist Church                          Attn: Tom Davidson                                P.O. Box 415                                              Center Conway, NH 03813                                           ccumc@roadrunner.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Center Creek Repair                                            Twin Valley Council Bsa 283                       3062 160th St                                             Granada, MN 56039‐3004                                                                                First Class Mail
Chartered Organization         Center For Inquiry 2 After School                              Crossroads of America 160                         725 N New Jersey St                                       Indianapolis, IN 46202‐3322                                                                           First Class Mail
Chartered Organization         Center For Inquiry 327 Ptsa                                    Crossroads of America 160                         545 E 19th St                                             Indianapolis, IN 46202‐1735                                                                           First Class Mail
Chartered Organization         Center For Inquiry 70                                          Crossroads of America 160                         510 E 46th St                                             Indianapolis, IN 46205‐1817                                                                           First Class Mail
Chartered Organization         Center For Learning After School Mcnair                        Pacific Skyline Council 031                       2033 Pulgas Ave                                           East Palo Alto, CA 94303‐2025                                                                         First Class Mail
Chartered Organization         Center For Sharing                                             Blue Mountain Council 604                         3525 E A St                                               Pasco, WA 99301‐5252                                                                                  First Class Mail
Chartered Organization         Center For Spiritual Living                                    Verdugo Hills Council 058                         4845 Dunsmore Ave                                         La Crescenta, CA 91214‐1849                                                                           First Class Mail
Chartered Organization         Center For Spiritual Living                                    North Florida Council 087                         1795 Old Moultrie Rd                                      St Augustine, FL 32084‐4164                                                                           First Class Mail
Chartered Organization         Center For Urban Research Ed And Trn                           Connecticut Rivers Council, Bsa 066               1443 Albany Ave                                           Hartford, CT 06112‐2110                                                                               First Class Mail
Chartered Organization         Center For Youth @ School 106                                  Seneca Waterways 397                              279 W Ridge Rd                                            Rochester, NY 14615‐2927                                                                              First Class Mail
Chartered Organization         Center For Youth At School 45                                  Seneca Waterways 397                              1445 Clifford Ave                                         Rochester, NY 14621‐4220                                                                              First Class Mail
Chartered Organization         Center For Youth In Conservation                               Great Southwest Council 412                       2359 Ruta Corta St                                        Santa Fe, NM 87507‐6907                                                                               First Class Mail
Chartered Organization         Center Grove Middle School North                               Crossroads of America 160                         202 N Morgantown Rd                                       Greenwood, IN 46142‐7655                                                                              First Class Mail
Voting Party                   Center Moreland United Methodist Church (079547)               c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspangolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Center Moreland United Methodist Church (079547)               c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Center Moreland Utd Methodist Church                           Northeastern Pennsylvania Council 501             1244 Sr 292 E                                             Tunkhannock, PA 18657‐5919                                                                            First Class Mail
Chartered Organization         Center Moriches Fire Dept                                      Suffolk County Council Inc 404                    301 Main St                                               Center Moriches, NY 11934‐3506                                                                        First Class Mail
Voting Party                   Center Moriches United Methodist Church                        464 Main St                                       Center Moriches, NY 11934                                                                                                   pastorsharonumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Center Moriches Watchdog Commty                                Assoc Inc                                         P.O. Box 36                                               Center Moriches, NY 11934‐0036                                                                        First Class Mail
Chartered Organization         Center Point Construction                                      Trapper Trails 589                                P.O. Box 387                                              Morgan, UT 84050‐0387                                                                                 First Class Mail
Chartered Organization         Center Point Fire/Rescue Dept                                  Greater Alabama Council 001                       P.O. Box 9651                                             Birmingham, AL 35220‐0651                                                                             First Class Mail
Chartered Organization         Center Point Lions                                             Hawkeye Area Council 172                          P.O. Box 444                                              Center Point, IA 52213‐0444                                                                           First Class Mail
Voting Party                   Center Point United Methodist Church                           Attn: Marsha Fannin                               P.O. Box 283                                              Center Point, IA 52213                                            mark1615cpumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Center Point Utd Baptist Church                                Buckskin 617                                      P.O. Box 389                                              West Hamlin, WV 25571‐0389                                                                            First Class Mail
Chartered Organization         Center Pointe Church                                           Central Florida Council 083                       9580 Curry Ford Rd                                        Orlando, FL 32825‐7603                                                                                First Class Mail
Chartered Organization         Center Road Church Of Christ                                   Sagamore Council 162                              899 W 300 S                                               Kokomo, IN 46902‐5130                                                                                 First Class Mail
Chartered Organization         Center School Pto                                              The Spirit of Adventure 227                       18 Irving St                                              Peabody, MA 01960‐4225                                                                                First Class Mail
Chartered Organization         Center Street Pta                                              c/o 195 Capitol Ave                               Theodore Roosevelt Council 386                            Williston Park, NY 11596                                                                              First Class Mail
Chartered Organization         Center That Cares                                              Laurel Highlands Council 527                      2701 Centre Ave                                           Pittsburgh, PA 15219‐4905                                                                             First Class Mail
Chartered Organization         Center Township Fire Dept                                      Hoosier Trails Council 145 145                    199 S State Rd 45                                         Bloomfield, IN 47424‐6109                                                                             First Class Mail
Voting Party                   Center Trinity United Methodist Church                         Attn: Ken Macmillen, Ross Hooley, Sharon Corley   884 Kempton St                                            New Bedord, MA 02740                                              pastorkenmac@gmail.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Center Twp. Vfd No 36                                          Laurel Highlands Council 527                      115 Trinity Dr                                            Aliquippa, PA 15001‐1444                                                                              First Class Mail
Voting Party                   Center Umc (Hoschton)                                          c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Center United Methodist Church (178233)                        c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Center United Methodist Church (178233)                        c/o Bentz Law Firm                                Attn: Sean Bollman                                        680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Center United Methodist Church (95811)                         c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Center United Methodist Church Of Indianapolis, Inc.           Attn: Terry Tolliver                              5445 Bluff Rd                                             Indianapolis, IN 46217                                            Terry@BMGIndy.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Center United Methodist Church Welcome NC                      c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Center Utd Methodist Church                                    Muskingum Valley Council, Bsa 467                 11026 Cadiz Rd                                            Cambridge, OH 43725‐8750                                                                              First Class Mail
Chartered Organization         Center Utd Methodist Church                                    Piedmont Council 420                              4945 Sherrills Ford Rd                                    Catawba, NC 28609‐7927                                                                                First Class Mail
Chartered Organization         Center Utd Methodist Church                                    Central N Carolina Council 416                    1119 Union St S                                           Concord, NC 28025‐5827                                                                                First Class Mail
Chartered Organization         Center Utd Methodist Church                                    Northeast Georgia Council 101                     7641 Jackson Trail Rd                                     Hoschton, GA 30548‐2727                                                                               First Class Mail
Chartered Organization         Center Utd Methodist Church                                    Old N State Council 070                           1847 U S Hwy 64 N                                         Mocksville, NC 27028                                                                                  First Class Mail
Chartered Organization         Center Utd Methodist Church                                    Old N State Council 070                           P.O. Box 179                                              Welcome, NC 27374‐0179                                                                                First Class Mail
Chartered Organization         Centerburg Church Of Christ                                    Muskingum Valley Council, Bsa 467                 3830 Columbus Rd                                          Centerburg, OH 43011‐9475                                                                             First Class Mail
Chartered Organization         Centerburg Utd Methodist Church                                Muskingum Valley Council, Bsa 467                 23 Church St                                              Centerburg, OH 43011‐9395                                                                             First Class Mail
Chartered Organization         Centerline Pelorus, LLC                                        National Capital Area Council 082                 12539 Homestead Dr                                        Nokesville, VA 20181‐1701                                                                             First Class Mail
Voting Party                   Centerpoint Christian Fellowship Church                        Attn: Centerpoint Pastor                          8021 State Route 12, Ste 18                               Barneveld, NY 13304                                               centerpointcf@gmail.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Centerpoint Church                                             California Inland Empire Council 045              24470 Washington Ave                                      Murrieta, CA 92562‐7234                                                                               First Class Mail
Voting Party                   Centerpoint Energy                                             Attn: Angela B Thompson                           P.O. Box 1700                                             Houston, TX 77251                                                                                     First Class Mail
Chartered Organization         Centerport Fire Dept                                           Suffolk County Council Inc 404                    9 Park Cir                                                Centerport, NY 11721‐1630                                                                             First Class Mail
Voting Party                   Centerport United Methodist Church                             Attn: Bob Lafroscia                               97 Little Neck Rd                                         Centerport, NY 11721                                              rjlafroscia@gmail.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Centerstage Motorsports, LLC                                   Central N Carolina Council 416                    1906 Briarcrest Dr Nw                                     Charlotte, NC 28269‐6215                                                                              First Class Mail
Chartered Organization         Centerton 2Nd Lds Ward Troop                                   Westark Area Council 016                          950 Seba Rd                                               Centerton, AR 72719‐7302                                                                              First Class Mail
Chartered Organization         Centerton Volunteer Fire Co                                    Garden State Council 690                          64 Dealtown Rd                                            Pittsgrove, NJ 08318‐3816                                                                             First Class Mail
Voting Party                   Centertown United Methodist Church                             Attn: Patty Underwood                             355 W Green Hill Rd                                       Mcminnville, TN 37110                                             timothybodey@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Centerville Anderson Ymca                                      Blue Ridge Council 551                            201 E Reed Rd                                             Anderson, SC 29621‐2095                                                                               First Class Mail
Chartered Organization         Centerville Baptist Church                                     Tidewater Council 596                             908 Centerville Tpke S                                    Chesapeake, VA 23322‐3954                                                                             First Class Mail
Chartered Organization         Centerville Christian Endeavor Church                          The Spirit of Adventure 227                       135 Standley St                                           Beverly, MA 01915‐1353                                                                                First Class Mail
Chartered Organization         Centerville Community Church                                   Miami Valley Council, Bsa 444                     10688 Dayton Lebanon Pike                                 Dayton, OH 45458‐4602                                                                                 First Class Mail
Chartered Organization         Centerville Lions Club                                         St Genevieve Catholic Church                      7087 Goiffon Rd                                           Centerville, MN 55038‐9125                                                                            First Class Mail
Chartered Organization         Centerville Memorial Fire Dept                                 Iroquois Trail Council 376                        P.O. Box 16                                               Centerville, NY 14029‐0016                                                                            First Class Mail
Chartered Organization         Centerville P.T.A.                                             Circle Ten Council 571                            600 Keen Dr                                               Garland, TX 75041‐3724                                                                                First Class Mail
Chartered Organization         Centerville Police Dept                                        Miami Valley Council, Bsa 444                     155 W Spring Valley Pike                                  Dayton, OH 45458‐3765                                                                                 First Class Mail
Chartered Organization         Centerville Presbyterian Church                                San Francisco Bay Area Council 028                4360 Central Ave                                          Fremont, CA 94536‐5802                                                                                First Class Mail
Voting Party                   Centerville Umc                                                Attn: Robert Schooley                             P.O. Box 403                                              Rushford, NY 14777                                                                                    First Class Mail
Voting Party                   Centerville UMC 6400 Old Centerville Rd, Centerville, VA 201   c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centerville United Methodist Church                            Attn: Gary Rutke/Larry Odum                       600 N Houston Lake Blvd                                   Centerville, GA 31028                                             cvilleumcga@gmail.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Centerville United Methodist Church                            Attn: Treasurer, Centerville Umc Millie Vosburg   P.O. Box 55                                               Hume, NY 14745                                                                                        First Class Mail
Chartered Organization         Centerville Utd Methodist Church                               Miami Valley Council, Bsa 444                     63 E Franklin St                                          Centerville, OH 45459‐5952                                                                            First Class Mail
Chartered Organization         Centracomm Communications                                      Black Swamp Area Council 449                      323 S Main St                                             Findlay, OH 45840‐3311                                                                                First Class Mail
Chartered Organization         Central Academy Ohio                                           Erie Shores Council 460                           2727 Kenwood Blvd                                         Toledo, OH 43606‐3216                                                                                 First Class Mail
Chartered Organization         Central Alabama Electric Cooperative                           Tukabatchee Area Council 005                      P.O. Box 681570                                           Prattville, AL 36068‐1570                                                                             First Class Mail
Voting Party                   Central Avenue Methodist Church                                29 E Carpenter St                                 Athens, OH 45701                                                                                                            info@centralavenue.net              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Central Bank                                                   Northern Star Council 250                         304 N Cascade St                                          Osceola, WI 54020                                                                                     First Class Mail
Chartered Organization         Central Baptist                                                Indian Nations Council 488                        9001 N 145th East Ave                                     Owasso, OK 74055‐8532                                                                                 First Class Mail
Chartered Organization         Central Baptist Church                                         The Spirit of Adventure 227                       9 Academy St                                              Chelmsford, MA 01824‐2613                                                                             First Class Mail
Chartered Organization         Central Baptist Church                                         Pee Dee Area Council 552                          P.O. Box 253                                              Darlington, SC 29540‐0253                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 51 of 442
                                                                                     Case 20-10343-LSS                                                   Doc 8171                                       Filed 01/06/22                                              Page 67 of 457
                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                      Service List
                                                                                                                                                                               Served as set forth below

        Description                                                           Name                                                                                                 Address                                                                                                             Email                  Method of Service
Chartered Organization         Central Baptist Church                                        Tuscarora Council 424                              6050 Plain View Hwy                                     Dunn, NC 28334‐6852                                                                                        First Class Mail
Chartered Organization         Central Baptist Church                                        East Texas Area Council 585                        P.O. Box 1647                                           Jacksonville, TX 75766‐1647                                                                                First Class Mail
Chartered Organization         Central Baptist Church                                        Capitol Area Council 564                           407 E Eggleston                                         Manor, TX 78653                                                                                            First Class Mail
Chartered Organization         Central Baptist Church                                        Flint River Council 095                            P.O. Box 1221                                           Newnan, GA 30264‐1221                                                                                      First Class Mail
Chartered Organization         Central Baptist Church Youth Committee                        Central Florida Council 083                        142 Fairview Ave                                        Daytona Beach, FL 32114‐2104                                                                               First Class Mail
Chartered Organization         Central Ca Hispanic Chamber Commerce                          Sequoia Council 027                                2331 Fresno St                                          Fresno, CA 93721‐1801                                                                                      First Class Mail
Chartered Organization         Central Ca Hispanic Chamber Commerce                          Sequoia Council 027                                764 P St                                                Fresno, CA 93721‐2725                                                                                      First Class Mail
Chartered Organization         Central Ca Hispanic Chamber Commerce                          Sequoia Council 027                                1535 E Olive Ave, Ste C                                 Fresno, CA 93728‐3740                                                                                      First Class Mail
Chartered Organization         Central Calaveras Fire And Rescue                             Greater Yosemite Council 059                       19927 Jesus Maria Rd                                    Mokelumne Hill, CA 95245‐9560                                                                              First Class Mail
Chartered Organization         Central Catholic School                                       Crossroads of America 160                          1155 Cameron St                                         Indianapolis, IN 46203‐5216                                                                                First Class Mail
Chartered Organization         Central Chesterfield Ruritan Club                             Heart of Virginia Council 602                      2230 Grey Oak Dr                                        North Chesterfield, VA 23236‐5278                                                                          First Class Mail
Chartered Organization         Central Christian Church                                      Crossroads of America 160                          923 Jackson St                                          Anderson, IN 46016‐1430                                                                                    First Class Mail
Chartered Organization         Central Christian Church                                      Sequoyah Council 713                               424 Melrose St                                          Bristol, TN 37620‐3626                                                                                     First Class Mail
Chartered Organization         Central Christian Church                                      Crossroads of America 160                          800 N Central Ave                                       Connersville, IN 47331‐2050                                                                                First Class Mail
Chartered Organization         Central Christian Church                                      Cimarron Council 474                               1111 W Broadway Ave                                     Enid, OK 73703‐5841                                                                                        First Class Mail
Chartered Organization         Central Christian Church                                      Westark Area Council 016                           400 N Waldron Rd                                        Fort Smith, AR 72903‐1464                                                                                  First Class Mail
Chartered Organization         Central Christian Church                                      Anthony Wayne Area 157                             500 Macgahan St                                         Huntington, IN 46750‐1312                                                                                  First Class Mail
Chartered Organization         Central Christian Church                                      Simon Kenton Council 441                           1541 S 7th St                                           Ironton, OH 45638‐2175                                                                                     First Class Mail
Chartered Organization         Central Christian Church                                      Grand Canyon Council 010                           933 N Lindsay Rd                                        Mesa, AZ 85213‐6048                                                                                        First Class Mail
Chartered Organization         Central Christian Church                                      Greater St Louis Area Council 312                  1420 Illini Dr                                          O Fallon, IL 62269‐3582                                                                                    First Class Mail
Chartered Organization         Central Christian Church                                      Grand Teton Council 107                            918 E Center St                                         Pocatello, ID 83201‐5702                                                                                   First Class Mail
Chartered Organization         Central Christian Church                                      Hoosier Trails Council 145 145                     P.O. Box 402                                            Seymour, IN 47274‐0402                                                                                     First Class Mail
Chartered Organization         Central Christian Church                                      Ozark Trails Council 306                           1475 N Washington Ave                                   Springfield, MO 65802‐1937                                                                                 First Class Mail
Chartered Organization         Central Christian Church                                      Buckeye Council 436                                407 N Market St                                         Wooster, OH 44691‐3515                                                                                     First Class Mail
Voting Party                   Central Christian Church                                      Attn: John N Williams                              701 N Delaware St                                       Indianapolis, IN 46204                                                office@indyccc.org                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central Christian Church (Disciples Of Christ)                Attn: Board Moderator                              P.O. Box 796                                            Winnsboro, TX 75494                                                   cccwinnsboro@suddenlinkmail.com      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central Christian Church Disciples Of Christ                  923 Jackson St                                     Anderson, IN 46016                                                                                                            cccfinancialoffice@gmail.com         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central Christian Church Of Elkhart, Indiana                  Attn: Mike Iavagnilio                              22810 Bainbridge Dr                                     Ellehart, IN 46514                                                    Iavagnilio5@gmail.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central Christian Church Of Elkhart, Indiana                  Attn: Michael Frank Iavagnilio                     418 W Franklin St                                       Elkhart, IN 46516                                                                                          First Class Mail
Voting Party                   Central Christian Church, Fairmont, WV                        Attn: Jeffrey B Carpenter                          428 Fairmont Ave                                        Fairmont, WV 26554                                                    jeff@smithcarpenteragency.com        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Central Church Of Christ                                      Lincoln Heritage Council 205                       P.O. Box 1162                                           Benton, KY 42025‐2162                                                                                      First Class Mail
Chartered Organization         Central Church Of Christ                                      Texas Southwest Council 741                        402 W Cantu Rd                                          Del Rio, TX 78840‐3012                                                                                     First Class Mail
Chartered Organization         Central Church Of The Nazarene                                Indian Nations Council 488                         7291 E 81st St                                          Tulsa, OK 74133‐4228                                                                                       First Class Mail
Chartered Organization         Central City Elks Lodge 557                                   Denver Area Council 061                            113 Main St                                             Central City, CO 80427                                                                                     First Class Mail
Chartered Organization         Central City Fire Dept                                        Hawkeye Area Council 172                           P.O. Box 165                                            Central City, IA 52214‐0165                                                                                First Class Mail
Voting Party                   Central City United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Central Civitan                                               Middle Tennessee Council 560                       P.O. Box 45                                             Cunningham, TN 37052‐0045                                                                                  First Class Mail
Chartered Organization         Central Civitan Club                                          Middle Tennessee Council 560                       P.O. Box 54                                             Cunningham, TN 37052‐0054                                                                                  First Class Mail
Chartered Organization         Central Coast Exchange Club                                   Los Padres Council 053                             P.O. Box 1163                                           Grover Beach, CA 93483‐1163                                                                                First Class Mail
Chartered Organization         Central College Presbyterian Church                           Simon Kenton Council 441                           975 S Sunbury Rd                                        Westerville, OH 43081‐9345                                                                                 First Class Mail
Chartered Organization         Central Congregational Church                                 The Spirit of Adventure 227                        1 Worthen St                                            Chelmsford, MA 01824‐2609                                                                                  First Class Mail
Chartered Organization         Central Congregational Church                                 Narragansett 546                                   296 Angell St                                           Providence, RI 02906‐2107                                                                                  First Class Mail
Chartered Organization         Central Elem 21St Century                                     Afterschool Program                                1510 Dinah Washington Ave                               Tuscaloosa, AL 35401‐4240                                                                                  First Class Mail
Chartered Organization         Central Elementary School Pto                                 Greater St Louis Area Council 312                  4525 Central School Rd                                  Saint Charles, MO 63304‐7113                                                                               First Class Mail
Chartered Organization         Central Ems                                                   Northeast Georgia Council 101                      8460 Wallace Tatum Rd                                   Cumming, GA 30028‐3670                                                                                     First Class Mail
Chartered Organization         Central Faith Heart Academy                                   Central Florida Council 083                        825 Forrest Ave                                         Cocoa, FL 32922‐7516                                                                                       First Class Mail
Chartered Organization         Central Fire District                                         Grand Teton Council 107                            697 Annis Hwy                                           Rigby, ID 83442‐1221                                                                                       First Class Mail
Voting Party                   Central Florida Cncl 83                                       1951 S Orange Blossom Trl, Ste 102                 Apopka, FL 32703‐7747                                                                                                         eric.magendantz@scouting.org         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central Florida Council 83                                    c/o Fair Harbor Capital LLC                        Attn: Victor Knox                                       P.O. Box 237037                     New York, NY 10023                vknox@fairharborcapital.com          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Central Florida Pediatric Therapy Fndn                        Central Florida Council 083                        P.O. Box 120547                                         Clermont, FL 34712‐0547                                                                                    First Class Mail
Chartered Organization         Central Hardin High School                                    Lincoln Heritage Council 205                       3040 Leitchfield Rd                                     Cecilia, KY 42724‐9699                                                                                     First Class Mail
Chartered Organization         Central High School East Jrotc                                Black Warrior Council 006                          905 15th St                                             Tuscaloosa, AL 35401‐4711                                                                                  First Class Mail
Chartered Organization         Central High School Jrotc                                     Pony Express Council 311                           2602 Edmond St                                          Saint Joseph, MO 64501‐3289                                                                                First Class Mail
Voting Party                   Central Highlands United Methodist Church(99534)              c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Central Illinois Black Bear Society                           Abraham Lincoln Council 144                        P.O. Box 73                                             Pawnee, IL 62558‐0073                                                                                      First Class Mail
Voting Party                   Central Korean United Methodist Church                        Attn: Churl Kim                                    25 Oakland Ave                                          Tuckahoe, NY 10707                                                    churlkim@hotmail.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Central Lane Robotics                                         Oregon Trail Council 697                           2545 Alder St                                           Eugene, OR 97405‐3031                                                                                      First Class Mail
Chartered Organization         Central Lutheran Church                                       Mount Baker Council, Bsa 606                       925 N Forest St                                         Bellingham, WA 98225‐5507                                                                                  First Class Mail
Chartered Organization         Central Lutheran Church                                       Chippewa Valley Council 637                        411 N Bridge St 101                                     Chippewa Falls, WI 54729‐2484                                                                              First Class Mail
Chartered Organization         Central Lutheran Church                                       Circle Ten Council 571                             1000 Eon Rd                                             Dallas, TX 75218                                                                                           First Class Mail
Chartered Organization         Central Lutheran Church                                       Glaciers Edge Council 620                          201 W Rollin St                                         Edgerton, WI 53534                                                                                         First Class Mail
Voting Party                   Central Lutheran Church                                       Attn: Timothy T Parker                             1000 2nd Ave, 30th Fl                                   Seattle, WA 98104                                                     ttp@pattersonbuchanan.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central Lutheran Church                                       Attn: Attorney Robert A Ferg                       411 N Bridge St, Ste 201                                Chippewa Falls, WI 54729                                              rferg@ferglaw.org                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Central Lutheran Church Of Yakima                             Grand Columbia Council 614                         1604 W Yakima Ave                                       Yakima, WA 98902‐2953                                                                                      First Class Mail
Chartered Organization         Central Lutheran School‐Nh                                    Anthony Wayne Area 157                             1400 Elm St                                             New Haven, IN 46774‐1740                                                                                   First Class Mail
Chartered Organization         Central Macomb Optimist Club                                  Great Lakes Fsc 272                                14412 Edshire Dr                                        Sterling Heights, MI 48312‐4348                                                                            First Class Mail
Chartered Organization         Central Maine Medical Center                                  Pine Tree Council 218                              300 Main St                                             Lewiston, ME 04240‐7027                                                                                    First Class Mail
Chartered Organization         Central Marin Police Authority                                Marin Council 035                                  250 Doherty Dr                                          Larkspur, CA 94939‐1532                                                                                    First Class Mail
Chartered Organization         Central Methodist Church                                      Old N State Council 070                            P.O. Box 126                                            Denton, NC 27239‐0126                                                                                      First Class Mail
Chartered Organization         Central Methodist Church                                      South Georgia Council 098                          201 W Central Ave                                       Fitzgerald, GA 31750‐2439                                                                                  First Class Mail
Chartered Organization         Central Methodist Church                                      Pee Dee Area Council 552                           225 W Cheves St                                         Florence, SC 29501‐4403                                                                                    First Class Mail
Chartered Organization         Central Methodist Church                                      President Gerald R Ford 781                        222 Cass St                                             Traverse City, MI 49684‐5734                                                                               First Class Mail
Voting Party                   Central Minnesota Council                                     Attn: Melissa Stricherz                            1191 Scout Dr                                           Sartell, MN 56377                                                     melissa.stricherz@scouting.org       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Central Nassau Rotary Club                                    Theodore Roosevelt Council 386                     P.O. Box 15                                             West Hempstead, NY 11552‐0015                                                                              First Class Mail
Chartered Organization         Central Parent Supp Grp Special Needs                         Buffalo Trace 156                                  5400 N 1st Ave                                          Evansville, IN 47710‐4110                                                                                  First Class Mail
Chartered Organization         Central Park Clc                                              Mid‐America Council 326                            4904 N 42nd St                                          Omaha, NE 68111‐1819                                                                                       First Class Mail
Chartered Organization         Central Park Elementary Pto                                   Water and Woods Council 782                        1400 Rodd St                                            Midland, MI 48640‐5406                                                                                     First Class Mail
Chartered Organization         Central Park Pta                                              Greater Alabama Council 001                        4915 Ave Q                                              Birmingham, AL 35208‐4405                                                                                  First Class Mail
Chartered Organization         Central Park School                                           Patriots Path Council 358                          5 Jean St                                               Morristown, NJ 07960‐2841                                                                                  First Class Mail
Chartered Organization         Central Pathfinder Club                                       National Capital Area Council 082                  P.O. Box 6636                                           St Croix, VI 00823‐6636                                                                                    First Class Mail
Chartered Organization         Central Piedmont Commuity College Dental                      Mecklenburg County Council 415                     3210 Cpcc Harris Campus Dr                              Charlotte, NC 28208‐5053                                                                                   First Class Mail
Chartered Organization         Central Piedmont Community College                            Mecklenburg County Council 415                     1609 Alleghany St                                       Charlotte, NC 28208‐0803                                                                                   First Class Mail
Chartered Organization         Central Pierce Fire And Rescue                                Pacific Harbors Council, Bsa 612                   P.O. Box 940                                            Spanaway, WA 98387‐0940                                                                                    First Class Mail
Chartered Organization         Central Point Police Dept                                     Crater Lake Council 491                            155 S 2nd St                                            Central Point, OR 97502‐2209                                                                               First Class Mail
Chartered Organization         Central Point Pto                                             Crater Lake Council 491                            450 S 4th St                                            Central Point, OR 97502‐2224                                                                               First Class Mail
Chartered Organization         Central Presbyterian                                          Blue Ridge Council 551                             1404 N Blvd                                             Anderson, SC 29621‐4833                                                                                    First Class Mail
Chartered Organization         Central Presbyterian Church                                   Blue Ridge Council 551                             1404 N Blvd                                             Anderson, SC 29621‐4833                                                                                    First Class Mail
Chartered Organization         Central Presbyterian Church                                   Chester County Council 539                         100 W Uwchlan Ave                                       Downingtown, PA 19335‐2320                                                                                 First Class Mail
Chartered Organization         Central Presbyterian Church                                   Westark Area Council 016                           2901 Rogers Ave                                         Fort Smith, AR 72901‐4229                                                                                  First Class Mail
Chartered Organization         Central Presbyterian Church                                   Iroquois Trail Council 376                         31 Center St                                            Geneseo, NY 14454‐1203                                                                                     First Class Mail
Chartered Organization         Central Presbyterian Church                                   Sagamore Council 162                               31 N 7th St                                             Lafayette, IN 47901‐1422                                                                                   First Class Mail
Chartered Organization         Central Presbyterian Church                                   South Florida Council 084                          12455 SW 104th St                                       Miami, FL 33186‐3603                                                                                       First Class Mail
Chartered Organization         Central Presbyterian Church                                   Abraham Lincoln Council 144                        210 W Douglas Ave                                       Petersburg, IL 62675‐1548                                                                                  First Class Mail
Voting Party                   Central Presbyterian Church Of Waco, Texas                    Attn: Chris Harris Wolfe                           9191 Woodway Dr                                         Woodway, TX 76712                                                     office@cpcwaco.org                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central Printing                                              P.O. Box 552                                       Mabscott, WV 25871‐0552                                                                                                                                            First Class Mail
Chartered Organization         Central Private School                                        Istrouma Area Council 211                          12801 Centerra Ct                                       Baker, LA 70714‐6818                                                                                       First Class Mail
Chartered Organization         Central Pto                                                   W D Boyce 138                                      1301 Eagle Ave                                          Washington, IL 61571‐1111                                                                                  First Class Mail
Chartered Organization         Central Rec Center                                            Baltimore Area Council 220                         1201 N Rosedale St                                      Baltimore, MD 21216‐3840                                                                                   First Class Mail
Chartered Organization         Central Schwenkfelder Church                                  Cradle of Liberty Council 525                      P.O. Box 67                                             Worcester, PA 19490‐0067                                                                                   First Class Mail
Chartered Organization         Central Square Congregational Church                          Mayflower Council 251                              71 Central Sq                                           Bridgewater, MA 02324‐2508                                                                                 First Class Mail
Chartered Organization         Central Square Lions Club                                     Longhouse Council 373                              P.O. Box 406                                            Central Square, NY 13036‐0406                                                                              First Class Mail
Chartered Organization         Central Square Vol Fire Co 1                                  Longhouse Council 373                              Main St                                                 Central Square, NY 13036                                                                                   First Class Mail
Chartered Organization         Central Steele Creek Presbyterian Church                      Mecklenburg County Council 415                     9401 S Tryon St                                         Charlotte, NC 28273‐6501                                                                                   First Class Mail
Chartered Organization         Central Synagogue Of Nassau County                            Theodore Roosevelt Council 386                     430 Demott Ave                                          Rockville Centre, NY 11570‐1865                                                                            First Class Mail
Chartered Organization         Central Texas Amvets Post 115                                 Capitol Area Council 564                           P.O. Box 21                                             Kyle, TX 78640‐0021                                                                                        First Class Mail
Voting Party                   Central Umc                                                   Attn: Robert K Morris                              4373 Galley Rd                                          Colorado Springs, CO 80915                                            morrisrk2@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central Umc                                                   Attn: Ae Lee                                       P.O. Box 128                                            301 S Pine                          Grantsburg, WI 54840              jennlee1732@gmail.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central UMC                                                   c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central Umc                                                   Attn: Trustee                                      8237 N Kenton                                           Stokie, IL 60076                                                      centralchurch@skokiecentralumc.org   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central UMC                                                   1213 Porter St                                     Richmond, VA 23224                                                                                                                                                 First Class Mail
Voting Party                   Central Umc Albemarie                                         c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central Umc, Shelby                                           c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central Umckm                                                 c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Central Union Church                                          Aloha Council, Bsa 104                             1660 S Beretania St                                     Honolulu, HI 96826‐1104                                                                                    First Class Mail
Voting Party                   Central United Methodist                                      c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist (78485)                              c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Tami Stewart                                 2535 W New Hope Rd                                      Rogers, AR 72758                                                      tami@cumcrogers.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Central Umc, Church Administrator            3700 Pacific Ave                                        Stockton, CA 95204                                                    swanden@cumcstockton.org             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Rev Sally Haynes & Sharon Lawrence           5144 Oak St                                             Kansas City, MO 64112                                                 sally@connectatcentral.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Paul Battistini                              14 School St                                            Middleboro, MA 02346                                                  paul_batt@hotmail.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Rev Dr Richard M. Wright                     P.O. Box 428                                            Fitzgerald, GA 31750                                                  pastorrichwright@yahoo.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               c/o Friday, Eldredge & Clark LLP                   Attn: Lindsey Emerson Raines                            400 W Capitol Ave, Ste 2000         Little Rock, AR 72201             lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Joe N Long, Jr                               1005 College St                                         Newberry, SC 29108                                                    karen.centralumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Joseph Seger                                 1425 E Main St                                          Richmond, IN 47374                                                    joseph@richmondcumc.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Janet Stengel                                205 S 5th St                                            Milbank, SD 57252                                                     janet.stengel@milbankcentral.com     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Betty J Tracewell/Treasurer                  5144 Oak St                                             Kansas City, MO 64112                                                 info@connectatcentral.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Gayle Dean Inscho                                  2607 Old River Rd Se                                    Decatur, AL 35603                                                     gayleinscho@aol.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Pastor Miriam Smith                          616 Jackson St                                          Decatur, AL 35603                                                     gayleinscho@aol.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Darcus Dewling                               222 Cass St                                             Traverse City, MI 49684                                               darcy@tccentralumc.org               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               111 E Spruce                                       Sault Sainte Marie, MI 49783                                                                                                  centralumc632@gmail.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Treasurer, Central United Methodist Church   201 N Market St                                         Oskaloosa, IA 52577                                                   centralum@mahaska.org                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Joseph F. Adams                              P.O. Box 6487                                           Huntington, WV 25704                                                  CentralUM@comcast.net                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Brian Swain                                  P.O. Box 1106                                           Fayetteville, AR 72702                                                bswain@centraltolife.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church                               Attn: John Paul Whitaker                           2107 Main St                                            Newberry, SC 29108                                                                                         First Class Mail
Voting Party                   Central United Methodist Church                               Attn: Secretary/Treasurer And/Or Pastor            517 Rock Island Ave                                     Dalhart, TX 79022                                                                                          First Class Mail
Voting Party                   Central United Methodist Church (Az)                          c/o Clarke Law Firm, Plc                           Attn: Marilee Miller Clarke                             8141 E Indian Bend Rd, Ste 105      Scottsdale, AZ 85250              marilee@clarkelawaz.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church Jackson, MS                   Attn: Henry C Clay III                             P.O. Box 2365                                           Ridgeland, MS 39158                                                   hcclayiii@aol.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church Of Asheville, Inc             c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church Of Florence                   Attn: Rev Thomas W Smith                           225 West Cheves St                                      Florence, SC 29501                                                    twsmith1@umcsc.org                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church Of Florence, South Carolina   Thomas W Smith                                     225 West Cheves St                                      Florence, SC 29588                                                    twsmith1@umcsc.org                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church Of Monroe, Inc.               Attn: John T Burns                                 103 N Main St                                           Monroe, NC 28112                                                      john@jtburnslaw.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Central United Methodist Church Of Mount Airy, NC             c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                      Page 52 of 442
                                                                                    Case 20-10343-LSS                                                                Doc 8171                                        Filed 01/06/22                                               Page 68 of 457
                                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                                   Service List
                                                                                                                                                                                            Served as set forth below

        Description                                                      Name                                                                                                                   Address                                                                                                                           Email                Method of Service
Voting Party                   Central United Methodist Church Of Spartanburg, SC                      Attn: Thom Henson                                    102 Williamsburg Dr                                      Spartanburg, SC 29302                                                                powersl@wofford.edu               Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Central United Methodist Church Of Spartanburg, Sc                      Linda P Bilanchone                                   233 North Church St                                      Spartanburg, SC 29306                                                                powersl@wofford.edu               Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Central United Methodist Church, Fairmont Wv                            Attn: Sid Absher                                     301 Fairmont Ave                                         Fairmont, WV 26554                                                                   central@ma.rr.com                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Central United Methodist Church, Lenoir City, TN                        Attn: Joel Malone                                    P.O. Box 448                                             Lenoir City, TN 37771                                                                joelmalone@centralmethodist.com   Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Central United Methodist Church.                                        c/o Field, Manning, Stone, Hawthorne & Aycock, P.C   Attn: Robert A. (Andy) Aycock                            2112 Indiana Ave                  Lubbock, TX 79410                                  rmedearis@lubbocklawfirm.com      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Central United Protestant Church                                        c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Central Utd Church Of Christ                                            Great Rivers Council 653                             118 W Ashley St                                          Jefferson City, MO 65101‐2904                                                                                          First Class Mail
Chartered Organization         Central Utd Meth Church Mens Club                                       Central N Carolina Council 416                       P.O. Box 428                                             Albemarle, NC 28002‐0428                                                                                               First Class Mail
Chartered Organization         Central Utd Methodist Ch Mens Club                                      Jersey Shore Council 341                             5 Marvin Ave                                             Linwood, NJ 08221‐2006                                                                                                 First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Great Southwest Council 412                          201 University Blvd Ne                                   Albuquerque, NM 87106‐4562                                                                                             First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Daniel Boone Council 414                             27 Church St                                             Asheville, NC 28801‐3303                                                                                               First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Great Smoky Mountain Council 557                     994 Main St                                              Bean Station, TN 37708                                                                                                 First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Pikes Peak Council 060                               4373 Galley Rd                                           Colorado Springs, CO 80915‐2728                                                                                        First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Mountaineer Area 615                                 301 Fairmont Ave                                         Fairmont, WV 26554‐2712                                                                                                First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Westark Area Council 016                             6 E Dickson St                                           Fayetteville, AR 72701‐5215                                                                                            First Class Mail
Chartered Organization         Central Utd Methodist Church                                            South Georgia Council 098                            210 W Central Ave                                        Fitzgerald, GA 31750                                                                                                   First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Pee Dee Area Council 552                             P.O. Box 87                                              Florence, SC 29503‐0087                                                                                                First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Buckskin 617                                         1043 Jefferson Ave                                       Huntington, WV 25704‐2836                                                                                              First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Andrew Jackson Council 303                           500 N Farish St                                          Jackson, MS 39202‐3201                                                                                                 First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Piedmont Council 420                                 113 S Piedmont Ave                                       Kings Mountain, NC 28086‐3444                                                                                          First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Great Smoky Mountain Council 557                     301 Hickory Creek Rd                                     Lenoir City, TN 37771‐6901                                                                                             First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Choctaw Area Council 302                             1004 23rd Ave                                            Meridian, MS 39301‐5019                                                                                                First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Piedmont Council 420                                 214 N Academy St                                         Mooresville, NC 28115‐3107                                                                                             First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Old Hickory Council 427                              1909 N Main St                                           Mount Airy, NC 27030‐2403                                                                                              First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Greater St Louis Area Council 312                    112 N Range St                                           Oblong, IL 62449‐1117                                                                                                  First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Mid Iowa Council 177                                 201 N Market St                                          Oskaloosa, IA 52577‐2828                                                                                               First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Blue Ridge Mtns Council 599                          P.O. Box 611                                             Radford, VA 24143‐0611                                                                                                 First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Heart of Virginia Council 602                        1211 Porter St                                           Richmond, VA 23224‐2153                                                                                                First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Mount Baker Council, Bsa 606                         1013 Polte Rd                                            Sedro Woolley, WA 98284‐9478                                                                                           First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Piedmont Council 420                                 200 E Marion St                                          Shelby, NC 28150‐4610                                                                                                  First Class Mail
Chartered Organization         Central Utd Methodist Church                                            Pathway To Adventure 456                             8237 Kenton Ave                                          Skokie, IL 60076‐2611                                                                                                  First Class Mail
Chartered Organization         Central Utd Methodist Ch‐Waterford                                      Great Lakes Fsc 272                                  3882 Highland Rd                                         Waterford, MI 48328‐2329                                                                                               First Class Mail
Chartered Organization         Central Utd Protestant Church                                           Blue Mountain Council 604                            1124 Stevens Dr                                          Richland, WA 99354‐3360                                                                                                First Class Mail
Chartered Organization         Central Valley Medical Center                                           Utah National Parks 591                              48 W 1500 N                                              Nephi, UT 84648‐8900                                                                                                   First Class Mail
Voting Party                   Central Valley United Methodist                                         12 Smithclove Rd                                     Centra Valley, NY 10917                                                                                                                       Cvumc@optimum.net                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Central Valley United Methodist Church                                  Attn: Wendy Paige                                    12 Smithclove Rd                                         P.O. Box                          Central Valley, NY 10917                           Cvumc@optimum.net                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Central Waco                                                            c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Central Ward ‐ Lds Tucson Stake                                         Catalina Council 011                                 105 N Norton Ave                                         Tucson, AZ 85719‐6021                                                                                                  First Class Mail
Chartered Organization         Centralia Community Church                                              Jayhawk Area Council 197                             418 Main St                                              Centralia, KS 66415                                                                                                    First Class Mail
Voting Party                   Centralia First United Methodist Church                                 Attn: Sid Davis                                      103 S Elm St                                             Centralia, IL 62801                                                                  pastorsid21@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Centralia Rotary Club                                                   Great Rivers Council 653                             218 W Railroad St                                        Centralia, MO 65240‐1324                                                                                               First Class Mail
Chartered Organization         Centralville Sportsmens Club                                            The Spirit of Adventure 227                          308 Wheeler Rd                                           Dracut, MA 01826‐4232                                                                                                  First Class Mail
Chartered Organization         Centrastate Healthcare System                                           Monmouth Council, Bsa 347                            901 W Main St                                            Freehold, NJ 07728‐2537                                                                                                First Class Mail
Chartered Organization         Centre Congregational Church                                            The Spirit of Adventure 227                          5 Summer St                                              Lynnfield, MA 01940‐1837                                                                                               First Class Mail
Voting Party                   Centre Congregational Church                                            Attn: William M Mccarthy                             193 Main St                                              Brattleboro, VT 05301                                                                billvtatty.centre@gmail.com       Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Centre First United Methodist Church                                    Attn: Bill Hawkins                                   P.O. Box 296                                             Centre, AL 35960                                                                     office@centrefumc.com             Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Centre Grove United Methodist Church (180910)                           c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228                               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Centre Learning Communitee Charter Sch                                  Juniata Valley Council 497                           2643 W College Ave                                       State College, PA 16801‐2604                                                                                           First Class Mail
Chartered Organization         Centre Life Link Ems, Inc                                               Juniata Valley Council 497                           P.O. Box 272                                             State College, PA 16804‐0272                                                                                           First Class Mail
Chartered Organization         Centre Presbyterian Church                                              New Birth of Freedom 544                             3219 Freeman Hollow Rd                                   Loysville, PA 17047                                                                                                    First Class Mail
Chartered Organization         Centre Rotary Club                                                      Greater Alabama Council 001                          P.O. Box 792                                             Centre, AL 35960‐0792                                                                                                  First Class Mail
Voting Party                   Centre Umc                                                              Attn: Walter Johnson                                 2409 Rocks Rd                                            Forest Hill, MD 21050                                                                walterj@waltergcoale.com          Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Centreville Elementary School Pta                                       National Capital Area Council 082                    14330 Green Trails Blvd                                  Centreville, VA 20121‐3879                                                                                             First Class Mail
Chartered Organization         Centreville Presbyterian Church                                         National Capital Area Council 082                    15450 Lee Hwy                                            Centreville, VA 20120‐2127                                                                                             First Class Mail
Voting Party                   Centreville United Methodist Church                                     305 E Main St                                        Centreville, MI 49032                                                                                                                         Centrevilleumc305@gmail.com       Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Centreville United Methodist Church ‐ Centreville                       c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Centreville Utd Methodist Church                                        Del Mar Va 081                                       General Delivery                                         Centreville, MD 21617                                                                                                  First Class Mail
Chartered Organization         Centreville Utd Methodist Church                                        National Capital Area Council 082                    6400 Old Centreville Rd                                  Centreville, VA 20121‐2628                                                                                             First Class Mail
Chartered Organization         Centreville Volunteer Fire Dept, Inc                                    National Capital Area Council 082                    5856 Old Centreville Rd                                  Centreville, VA 20121‐2426                                                                                             First Class Mail
Chartered Organization         Centro Cristiano De Restauracion                                        Puerto Rico Council 661                              P.O. Box 754                                             Cabo Rojo, PR 00623‐0754                                                                                               First Class Mail
Chartered Organization         Centro De Actividades                                                   Familiares Y Escutista                               Puerto Rico Council 661                                  848 Calle Hypolais                Urb Country Club              San Juan, PR 00924                                     First Class Mail
Chartered Organization         Centro De Actividades Familia Escutista                                 Puerto Rico Council 661                              Country Club 848                                         Calle Hypolais                    San Juan, PR 00924                                                                   First Class Mail
Voting Party                   Century Indemnity Company                                               c/o Duane Morris LLP                                 Attn: Wendy M Simkulak                                   30 S 17th St                      Philadelphia, PA 19103                             WMSimkulak@duanemorris.com        Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Century Indemnity Company                                               c/o Duane Morris LLP                                 Attn: Wendy M. Simkulak                                  30 S 17th St                      Philadelphia, PA 19103                             WMSimkulak@duanemorris.com        Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Century Indemnity Company                                               c/o O'Melveny & Myers LLP                            Attn: Tancred Schiavoni                                  7 Times Sq                        New York, NY 10038                                                                   First Class Mail
Voting Party                   Century Indemnity Company (As Defined In Poc)                           Attn: Christopher Celentano                          10 Exchange Pl 9th Fl                                    Jersey City, NJ 07302                                                                                                  First Class Mail
Voting Party                   Century Indemnity Company (As Defined In Poc)                           c/o Chubb                                            Attn: Christopher Celentano                              10 Exchange Pl, 9th Fl            Jersey City, NJ 07302                                                                First Class Mail
Voting Party                   Centurylink                                                             Business Services                                    P.O. Box 52187                                           Phoenix, AZ 85072‐2187                                                                                                 First Class Mail
Voting Party                   Centurylink                                                             P.O. Box 91155                                       Seattle, WA 98111‐9255                                                                                                                                                          First Class Mail
Voting Party                   Centurylink Communications, LLC fka Qwest Communications Company, LLC   Attn: Bankruptcy                                     220 N 5th St                                             Bismarck, ND 58501                                                                   bmg.bankruptcy@centurylink.com    Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Centurylink Communications, LLC fka Qwest Communications Company, LLC   Attn: Legal‐Bky                                      1025 El Dorado Blvd                                      Broomfield, CO 80021                                                                 bankruptcylegal@centurylink.com   Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Cerebral Palsy Of Westchester                                           Westchester Putnam 388                               1186 King St                                             Rye Brook, NY 10573‐1069                                                                                               First Class Mail
Chartered Organization         Ceres Dept Of Public Safety                                             Greater Yosemite Council 059                         2727 3rd St                                              Ceres, CA 95307‐3219                                                                                                   First Class Mail
Chartered Organization         Ceres Emergency Svcs Explorer Post 452                                  Greater Yosemite Council 059                         2755 3rd St                                              Ceres, CA 95307‐3219                                                                                                   First Class Mail
Chartered Organization         Ceres Lions Club                                                        Greater Yosemite Council 059                         P.O. Box 562                                             Ceres, CA 95307‐0562                                                                                                   First Class Mail
Chartered Organization         Ceresco Baptist Church                                                  Southern Shores Fsc 783                              234 Marshall St                                          Ceresco, MI 49033                                                                                                      First Class Mail
Chartered Organization         Cerrillos Lodge No 19                                                   Great Southwest Council 412                          431 Paseo De Peralta                                     Santa Fe, NM 87501‐1958                                                                                                First Class Mail
Chartered Organization         Cerritos Baptist Church                                                 Greater Los Angeles Area 033                         11947 Del Amo Blvd                                       Cerritos, CA 90703‐7627                                                                                                First Class Mail
Chartered Organization         Cerritos Mission Church                                                 Long Beach Area Council 032                          12413 195th St                                           Cerritos, CA 90703‐7705                                                                                                First Class Mail
Voting Party                   Certified Diesel Corporation                                            3641 W State Rd 84                                   Ft Lauderdale, FL 33312‐4809                                                                                                                                                    First Class Mail
Chartered Organization         Cesar Chavez Academy Elementary                                         Great Lakes Fsc 272                                  8126 W Vernor Hwy                                        Detroit, MI 48209‐1524                                                                                                 First Class Mail
Chartered Organization         Cesar Chavez College Preparatory School                                 Simon Kenton Council 441                             2400 Mock Rd                                             Columbus, OH 43219‐5300                                                                                                First Class Mail
Chartered Organization         Cesar Chavez Elem Okcps                                                 Last Frontier Council 480                            600 SE Grand Blvd                                        Oklahoma City, OK 73129‐4950                                                                                           First Class Mail
Chartered Organization         Cesar Chavez Elementary ‐ Gfwar                                         Longhorn Council 662                                 3710 Deen Rd                                             Fort Worth, TX 76106‐4107                                                                                              First Class Mail
Chartered Organization         Cesar Chavez Learning Center                                            Circle Ten Council 571                               1710 N Carroll Ave                                       Dallas, TX 75204‐4402                                                                                                  First Class Mail
Voting Party                   Ceuteuary United Methodist Church                                       1740 S 500 E                                         Salt Lake City, UT 84105                                                                                                                      ceuteuaryumchurch@msn.com         Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Cfc Dimmitt First Assembly                                              South Plains Council 694                             P.O. Box 187                                             Hereford, TX 79045‐0187                                                                                                First Class Mail
Chartered Organization         Cfi 84 Ptsa Center For Inquiry                                          Crossroads of America 160                            440 E 57th St                                            Indianapolis, IN 46220‐2518                                                                                            First Class Mail
Chartered Organization         Ch Hill Utd Methodist Ch Henderson                                      Lincoln Heritage Council 205                         2601 US Hwy 60 E                                         Henderson, KY 42420‐2297                                                                                               First Class Mail
Chartered Organization         Ch2M Hill B&W West Valley (Chbwv)                                       Allegheny Highlands Council 382                      9415 Route 219                                           West Valley, NY 14171‐9628                                                                                             First Class Mail
Chartered Organization         Cha Consulting, Inc                                                     Crossroads of America 160                            300 S Meridian St                                        Indianapolis, IN 46225‐1193                                                                                            First Class Mail
Chartered Organization         Chabad Of West Boca                                                     Gulf Stream Council 085                              19701 Fl7                                                Boca Raton, FL 33498                                                                                                   First Class Mail
Chartered Organization         Chabad Of West Boca Raton                                               Gulf Stream Council 085                              19701 State Rd 7                                         Boca Raton, FL 33498‐4705                                                                                              First Class Mail
Chartered Organization         Chabot Elementary School Parents Club                                   San Francisco Bay Area Council 028                   19104 Lake Chabot Rd                                     Castro Valley, CA 94546‐2936                                                                                           First Class Mail
Chartered Organization         Chadbourne Family & Faculty                                             San Francisco Bay Area Council 028                   801 Plymouth Ave                                         Fremont, CA 94539‐4637                                                                                                 First Class Mail
Chartered Organization         Chaddock                                                                Mississippi Valley Council 141 141                   205 S 24th St                                            Quincy, IL 62301‐4446                                                                                                  First Class Mail
Chartered Organization         Chaffee County Sheriffs Office                                          Rocky Mountain Council 063                           P.O. Box 699                                             Salida, CO 81201‐0699                                                                                                  First Class Mail
Chartered Organization         Chaffee Elks Lodge 1810                                                 Greater St Louis Area Council 312                    120 E Yoakum Ave                                         Chaffee, MO 63740‐1131                                                                                                 First Class Mail
Firm                           Chaffin Luhana, LLP                                                     Eric Chaffin, Esq.; Steven Cohn, Esq.                600 3rd Ave, 12th Floor                                  New York, NY 10016                                                                   BSA@chaffinluhana.com             Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Chagrin Falls Fire Dept                                                 Lake Erie Council 440                                21 W Washington St                                       Chagrin Falls, OH 44022‐3010                                                                                           First Class Mail
Voting Party                   Chaires United Methodist Church                                         c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Chaires Utd Methodist Church                                            Suwannee River Area Council 664                      9243 Parkhill Rd                                         Tallahassee, FL 32317‐8702                                                                                             First Class Mail
Voting Party                   Chalagroup, Inc                                                         6949 Buckeye St                                      Chino, CA 91710‐8249                                                                                                                                                            First Class Mail
Voting Party                   Chalfont United Methodist Church                                        c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Chalfont United Methodist Church                                        11 Meadowbrook Ln                                    Chalfont, PA 18914                                                                                                                                                              First Class Mail
Chartered Organization         Chalfont Utd Methodist Church                                           Washington Crossing Council 777                      11 Meadowbrook Ln                                        Chalfont, PA 18914‐2810                                                                                                First Class Mail
Chartered Organization         Challenge Academy                                                       Yucca Council 573                                    6400 Delta Dr                                            El Paso, TX 79905‐5408                                                                                                 First Class Mail
Chartered Organization         Challenge Preparatory Cub Scout Pack 710                                Greater New York Councils, Bsa 640                   710 Hartman Ln                                           Far Rockaway, NY 11691‐1849                                                                                            First Class Mail
Chartered Organization         Challenge Unlimited                                                     Greater St Louis Area Council 312                    4452 Industrial Dr                                       Alton, IL 62002‐5938                                                                                                   First Class Mail
Chartered Organization         Chamber Of Commerce                                                     Bellville Clearfork                                  101 Worshire Rd                                          Bellville, OH 44813‐1037                                                                                               First Class Mail
Chartered Organization         Chamberlain College Of Nursing                                          Greater St Louis Area Council 312                    11830 Westline Industrial Dr                             Saint Louis, MO 63146‐3326                                                                                             First Class Mail
Chartered Organization         Chamberlayne Baptist Church                                             Heart of Virginia Council 602                        215 Wilkinson Rd                                         Richmond, VA 23227‐1622                                                                                                First Class Mail
Voting Party                   Chamberlayne Heights UMC 6100 Chamberlayne Rd, Richmond, VA             c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Chambers County Sherifs Dept                                            Three Rivers Council 578                             201 N Court St                                           Anahuac, TX 77514                                                                                                      First Class Mail
Chartered Organization         Chambers Elementary School                                              Lake Erie Council 440                                14305 Shaw Ave                                           Cleveland, OH 44112‐2707                                                                                               First Class Mail
Voting Party                   Chambers Hill Umc (03110)                                               c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228                               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Chamblee First Utd Methodist Church                                     Atlanta Area Council 092                             4147 Chamblee Dunwoody Rd                                Chamblee, GA 30341‐1424                                                                                                First Class Mail
Chartered Organization         Chamisa School Parent Teacher                                           Great Southwest Council 412                          301 Meadow Ln                                            Los Alamos, NM 87547‐3711                                                                                              First Class Mail
Chartered Organization         Champaign County Fire Chiefs Assoc                                      Prairielands 117                                     409 E Reynolds St                                        Tolono, IL 61880‐9567                                                                                                  First Class Mail
Chartered Organization         Champaign West Rotary                                                   Prairielands 117                                     2308 Aspen Dr                                            Champaign, IL 61821‐6273                                                                                               First Class Mail
Chartered Organization         Champion Christian Church                                               Great Trail 433                                      151 Center St W                                          Warren, OH 44481‐9313                                                                                                  First Class Mail
Chartered Organization         Champion Forest Baptist Church                                          Jersey Village                                       16518 Jersey Dr                                          Jersey Village, TX 77040‐1906                                                                                          First Class Mail
Chartered Organization         Chancellor Avenue School Pta                                            Northern New Jersey Council, Bsa 333                 844 Chancellor Ave                                       Irvington, NJ 07111‐2281                                                                                               First Class Mail
Chartered Organization         Chances And Services For Youth (Casy)                                   Crossroads of America 160                            1101 S 13th St                                           Terre Haute, IN 47802‐1409                                                                                             First Class Mail
Chartered Organization         Chandler Baptist Church                                                 Heart of America Council 307                         11401 NE State Route 33                                  Liberty, MO 64068‐7306                                                                                                 First Class Mail
Chartered Organization         Chandler Christian Church                                               Grand Canyon Council 010                             1825 S Alma School Rd                                    Chandler, AZ 85286‐6903                                                                                                First Class Mail
Chartered Organization         Chandler Elementary School Parent Group                                 Buffalo Trace 156                                    401 S Jaycee St                                          Chandler, IN 47610‐9505                                                                                                First Class Mail
Chartered Organization         Chandler Evangelical Friends Church                                     Cimarron Council 474                                 215 N Blaine Ave                                         Chandler, OK 74834‐1202                                                                                                First Class Mail
Chartered Organization         Chandler Police Dept                                                    Circle Ten Council 571                               P.O. Box 425                                             Chandler, TX 75758‐0425                                                                                                First Class Mail
Voting Party                   Chandler United Methodist Church                                        Attn: Christena Gay Poehlein                         127 S State St                                           Chandler, IN 47610                                                                   cumc127s@sigecom.net              Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Chandler United Methodist Church                                        Attn: Christena Gay Poehlein                         P.O. Box 266                                             Chandler, IN 47610                                                                   cumc127s@sigecom.net              Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Chandler United Methodist Church (Chandler, AZ)                         c/o Clarke Law Firm, Plc                             Attn: Marilee Miller Clarke                              8141 E Indian Bend Rd, Ste 105    Scottsdale, AZ 85250                               marilee@clarkelawaz.com           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Chandler Utd Methodist Church                                           Grand Canyon Council 010                             450 E Chandler Heights Rd                                Chandler, AZ 85249‐5576                                                                                                First Class Mail
Voting Party                   Chandlers Valley United Methodist Church (60390)                        c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228                               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Changepoint                                                             Great Alaska Council 610                             6689 Changepoint Dr                                      Anchorage, AK 99518‐1578                                                                                               First Class Mail
Voting Party                   Channahon United Methodist Church                                       Attn: Clayton Lee Schuler                            24751 W Eames                                            Channahon, IL 60410                                                                  office@channahonumc.org           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Channel Craft & Dist, Inc                                               P.O. Box 101                                         N Charleroi, PA 15022‐0101                                                                                                                                                      First Class Mail
Chartered Organization         Chaparral Christian Church                                              Grand Canyon Council 010                             6451 E Shea Blvd                                         Scottsdale, AZ 85254‐5062                                                                                              First Class Mail
Chartered Organization         Chaparral Concerned Parents                                             Ore‐Ida Council 106 ‐ Bsa 106                        1155 N Deer Creek Ln                                     Meridian, ID 83642‐4242                                                                                                First Class Mail
Chartered Organization         Chapel By The Lake                                                      Great Alaska Council 610                             11024 Auke Lake Way                                      Juneau, AK 99801‐8623                                                                                                  First Class Mail
Chartered Organization         Chapel By The Sea Presbyterian                                          Southwest Florida Council 088                        100 Chapel St                                            Fort Myers Beach, FL 33931‐3202                                                                                        First Class Mail
Voting Party                   Chapel Church (184826)                                                  c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228                               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Chapel Hedges                                                           Simon Kenton Council 441                             15495 Winchester Rd                                      Ashville, OH 43103‐9585                                                                                                First Class Mail
Chartered Organization         Chapel Hill Academy                                                     Patriots Path Council 358                            31 Chapel Hill Rd                                        Lincoln Park, NJ 07035‐1901                                                                                            First Class Mail
Chartered Organization         Chapel Hill Bible Church                                                Occoneechee 421                                      260 Erwin Rd                                             Chapel Hill, NC 27514‐6855                                                                                             First Class Mail
Chartered Organization         Chapel Hill Lions Club                                                  Middle Tennessee Council 560                         P.O. Box 212                                             Chapel Hill, TN 37034‐0212                                                                                             First Class Mail
Chartered Organization         Chapel Hill Presbyterian Church                                         Heart of America Council 307                         3108 SW US Hwy 40                                        Blue Springs, MO 64015‐4527                                                                                            First Class Mail
Chartered Organization         Chapel Hill Presbyterian Church                                         Pacific Harbors Council, Bsa 612                     7700 Skansie Ave                                         Gig Harbor, WA 98335‐8309                                                                                              First Class Mail
Voting Party                   Chapel Hill Umc                                                         Attn: Diane Kimble                                   88 S Kanawha St                                          Buckhannon, WV 26201                                                                 chapelhillumchurch@gmail.com      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Chapel Hill United Methodist Church                                     Roger Wayne Bogue                                    240 Pr 4660                                              Castroville, TX 78009‐5502                                                           rwbcga75@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Chapel Hill United Methodist Church                                     Attn: Ross A Plourde                                 211 N Robinson Ave, Ste 1000                             Oklahoma City, OK 73102                                                              ross.plourde@mcafeetaft.com       Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Chapel Hill United Methodist Church                                     Attn: Treasurer, Chapel Hill Umc                     P.O. Box 246                                             Chapel Hill, TN 37034                                                                office@chapelhilltnumc.org        Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Chapel Hill United Methodist Church                                     2601 US Hwy 60 East                                  Henderson, KY 42420                                                                                                                           denisekirtley@chchurch.org        Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                   Page 53 of 442
                                                                                     Case 20-10343-LSS                                                        Doc 8171                                               Filed 01/06/22                                           Page 69 of 457
                                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                                   Service List
                                                                                                                                                                                            Served as set forth below

        Description                                                       Name                                                                                                                  Address                                                                                                           Email              Method of Service
Voting Party                   Chapel Hill United Methodist Church                            Attn: Treasurer, Chapel Hill United Methodist Church   4114 SW Loop 410                                                San Antonio, TX 78227                                              chapelhill410@att.net             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Chapel Hill United Methodist Church Chapel Hill Umc            963 N Girls School Rd                                  Indianapolis, IN 46214                                                                                                             administrator@chapelhillumc.com   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chapel Hill Utd Church Of Christ                               New Birth of Freedom 544                               701 Poplar Church Rd                                            Camp Hill, PA 17011‐2314                                                                             First Class Mail
Chartered Organization         Chapel Hill Utd Methodist Church                               Southern Shores Fsc 783                                157 Chapel Hill Dr                                              Battle Creek, MI 49015‐4631                                                                          First Class Mail
Chartered Organization         Chapel Hill Utd Methodist Church                               Mountaineer Area 615                                   88 S Kanawha St                                                 Buckhannon, WV 26201‐2635                                                                            First Class Mail
Chartered Organization         Chapel Hill Utd Methodist Church                               Crossroads of America 160                              963 N Girls School Rd                                           Indianapolis, IN 46214‐3669                                                                          First Class Mail
Chartered Organization         Chapel Hill Utd Methodist Church                               President Gerald R Ford 781                            14591 Fruit Ridge Ave                                           Kent City, MI 49330‐9751                                                                             First Class Mail
Chartered Organization         Chapel Hill Utd Methodist Church                               Last Frontier Council 480                              2717 W Hefner Rd                                                Oklahoma City, OK 73120‐6423                                                                         First Class Mail
Chartered Organization         Chapel Hill Utd Methodist Church                               Southern Shores Fsc 783                                7028 Oakland Dr                                                 Portage, MI 49024‐4148                                                                               First Class Mail
Chartered Organization         Chapel Hill Utd Methodist Church                               Quivira Council, Bsa 198                               1550 N Chapel Hill St                                           Wichita, KS 67206‐5505                                                                               First Class Mail
Chartered Organization         Chapel Hill Utd Methodist Church, Inc                          Crossroads of America 160                              963 N Girls School Rd                                           Indianapolis, IN 46214‐3669                                                                          First Class Mail
Voting Party                   Chapel Lane Presbyterian Church                                Attn: Patricia Martin                                  5501 Jefferson Ave                                              Midland, MI 48640‐2995                                             clpcsession@gmail.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Chapel Of St John The Divine (Episcopal)(Saunderstown)         c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                           159 Main St                       Nashua, NH 03060                 peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chapel Of The Centurion                                        Colonial Virginia Council 595                          P.O. Box 3461                                                   Hampton, VA 23663‐0461                                                                               First Class Mail
Voting Party                   Chapel Of The Epiphany (Preston)                               c/o The Law Office of Andrea Ross                      Attn: Andrea Ross, Esq                                          129 N West St, Ste 1              Easton, MD 21601                 Andie@AndieRossLaw.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Chapel Of The Hills Community Umc                              Attn: Treasurer & Katherine Hunter                     25153 Viejas Blvd                                               Descanso, CA 91916                                                 pastorkatehunter@gmail.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Chapel Of The Holy Cross (Stockton)                            c/o The Law Office of Andrea Ross                      Attn: Andrea Ross, Esq                                          129 N West St, Ste 1              Easton, MD 21601                 Patrick@DioceseofEaston.org       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Chapel Of The Lakes Lutheran Church                            9407 90th Ave                                          Mecosta, MI 49332                                                                                                                  lesley@hoeniglaw.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chapel Run Breakout Center                                     Atlanta Area Council 092                               4522 Snapfinger Woods Dr                                        Decatur, GA 30035‐4178                                                                               First Class Mail
Chartered Organization         Chapel Street Congregational Church                            Narragansett 546                                       185 Chapel St                                                   Lincoln, RI 02865‐2149                                                                               First Class Mail
Chartered Organization         Chapel Utd Methodist Church                                    c/o Ann Jackson                                        1310 220th St                                                   Garwin, IA 50632‐9769                                                                                First Class Mail
Chartered Organization         Chapel Utd Methodist Church                                    Lake Erie Council 440                                  2019 Hubbard Rd                                                 Madison, OH 44057‐2565                                                                               First Class Mail
Chartered Organization         Chapelside Cleveland Academy                                   Lake Erie Council 440                                  3845 E 131st St                                                 Cleveland, OH 44120‐4661                                                                             First Class Mail
Voting Party                   Chapelwood United Methodist Church                             c/o Teresa Cannon                                      11140 Greenbay                                                  Houston, TX 77024                                                  tcannon@chapelwood.org            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Chapelwood United Methodist Church                             c/o Hoover Slovacek LLP                                Attn: Steven A Leyh                                             5051 Westheimer, Ste 1200         Houston, TX 77056                leyh@hooverslovacek.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chapelwood Utd Methodist Church                                Sam Houston Area Council 576                           11140 Greenbay St                                               Houston, TX 77024‐6729                                                                               First Class Mail
Chartered Organization         Chapin Church Of Jesus Christ Lds                              Indian Waters Council 553                              7499 Broad River Rd                                             Irmo, SC 29063                                                                                       First Class Mail
Chartered Organization         Chapin Police Dept                                             Indian Waters Council 553                              157 Columbia Ave                                                Chapin, SC 29036‐9423                                                                                First Class Mail
Chartered Organization         Chaplain Charles J Watters School 24                           Northern New Jersey Council, Bsa 333                   220 Virginia Ave                                                Jersey City, NJ 07304‐1424                                                                           First Class Mail
Chartered Organization         Chaple Hill Utd Methodist Church                               Northwest Georgia Council 100                          1818 Kingston Hwy Se                                            Rome, GA 30161‐7504                                                                                  First Class Mail
Chartered Organization         Chaplin Elementary School Pto                                  Connecticut Rivers Council, Bsa 066                    240 Palmer Rd                                                   Chaplin, CT 06235‐2319                                                                               First Class Mail
Chartered Organization         Chapman Men'S Bible Class                                      Yocona Area Council 748                                P.O. Box 854                                                    Tupelo, MS 38802‐0854                                                                                First Class Mail
Chartered Organization         Chapman‐Belter American Legion Post 4                          Samoset Council, Bsa 627                               604 Alfred St                                                   Athens, WI 54411‐9548                                                                                First Class Mail
Chartered Organization         Chappaqua Troop 1 Parents Assoc                                Westchester Putnam 388                                 5 Boulder Trl                                                   Chappaqua, NY 10514‐3049                                                                             First Class Mail
Chartered Organization         Chapter 442 Cfli                                               Narragansett 546                                       613 Dartmouth Woods Dr                                          Dartmouth, MA 02747‐5120                                                                             First Class Mail
Chartered Organization         Chapter 7 Greater Little Rock Dav                              Quapaw Area Council 018                                109 S 2nd St                                                    Jacksonville, AR 72076‐4558                                                                          First Class Mail
Chartered Organization         Chapter C Special Forces Assoc                                 Occoneechee 421                                        P.O. Box 72908                                                  Fort Bragg, NC 28307‐2908                                                                            First Class Mail
Chartered Organization         Chardon Utd Methodist Church                                   Lake Erie Council 440                                  515 North St                                                    Chardon, OH 44024‐1037                                                                               First Class Mail
Chartered Organization         Charitable Realty                                              Circle Ten Council 571                                 1601 Clover Ln                                                  Fort Worth, TX 76107‐3902                                                                            First Class Mail
Voting Party                   Chariton First United Methodist Church                         923 Roland Ave                                         P.O. Box 672                                                    Chariton, IA 50049                                                 chariton1stumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Charity Church Ministries                                      Crossroads of America 160                              2697 W 10th St                                                  Indianapolis, IN 46222‐3625                                                                          First Class Mail
Chartered Organization         Charity Foundation, Inc                                        Grand Canyon Council 010                               1423 S Higley Rd, Ste 127                                       Mesa, AZ 85206‐3450                                                                                  First Class Mail
Chartered Organization         Charity Runs, Inc                                              Norwela Council 215                                    165 Ann St                                                      Natchitoches, LA 71457‐9702                                                                          First Class Mail
Chartered Organization         Charity Utd Methodist Church                                   Tidewater Council 596                                  4080 Charity Neck Rd                                            Virginia Beach, VA 23457‐1543                                                                        First Class Mail
Chartered Organization         Charleroi Masonic Lodge                                        Laurel Highlands Council 527                           640 Mckean Ave                                                  Charleroi, PA 15022‐1917                                                                             First Class Mail
Chartered Organization         Charles Black Recreation Center                                Lasalle Council 165                                    3419 W Washington St                                            South Bend, IN 46619‐1936                                                                            First Class Mail
Chartered Organization         Charles County Sheriff'S Office                                National Capital Area Council 082                      P.O. Box 189                                                    La Plata, MD 20646‐0189                                                                              First Class Mail
Chartered Organization         Charles D Jageler Al Post 42                                   Longhorn Council 662                                   P.O. Box 1076                                                   Gatesville, TX 76528‐6076                                                                            First Class Mail
Chartered Organization         Charles D Lodger 35 American Legion                            W D Boyce 138                                          P.O. Box 259                                                    Glasford, IL 61533‐0259                                                                              First Class Mail
Voting Party                   Charles E Deale                                                1300 West St                                           Annapolis, MD 21401                                                                                                                charliedeale45@gmail.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Charles Evans Elementary School                                Arbuckle Area Council 468                              P.O. Box 1709                                                   Ardmore, OK 73402‐1709                                                                               First Class Mail
Chartered Organization         Charles Eyre American Legion Post 633                          Simon Kenton Council 441                               P.O. Box 190                                                    Seaman, OH 45679‐0190                                                                                First Class Mail
Chartered Organization         Charles F Hard Elementary Pta                                  Greater Alabama Council 001                            2801 Arlington Ave                                              Bessemer, AL 35020‐3624                                                                              First Class Mail
Chartered Organization         Charles H Eyre American Legion Post 633                        Simon Kenton Council 441                               P.O. Box 190                                                    Seaman, OH 45679‐0190                                                                                First Class Mail
Chartered Organization         Charles J Fulton Al Post 382                                   Water and Woods Council 782                            1322 Clinton Ave                                                Saint Clair, MI 48079‐5226                                                                           First Class Mail
Voting Party                   Charles Keathley                                               Address Redacted                                                                                                                                                                          Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Charles McClelland Echard                                      Address Redacted                                                                                                                                                                          Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Charles Nash Pta                                               Three Harbors Council 636                              6801 99th Ave                                                   Kenosha, WI 53142‐7574                                                                               First Class Mail
Voting Party                   Charles R Erickson                                             91 N West St                                           Westerville, OH 43081                                                                                                              cperickson78@gmail.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Charles Town Baptist Church                                    Shenandoah Area Council 598                            211 E Congress St                                               Charles Town, WV 25414‐1317                                                                          First Class Mail
Chartered Organization         Charles Town Moose Lodge 948                                   Shenandoah Area Council 598                            P.O. Box 516                                                    Charles Town, WV 25414‐0516                                                                          First Class Mail
Chartered Organization         Charles Town Ward Lds Church                                   Shenandoah Area Council 598                            343 Carriage Dr                                                 Harpers Ferry, WV 25425‐9600                                                                         First Class Mail
Voting Party                   Charles W Dahlquist II                                         c/o Boy Scouts of America                              Attn: Chase Koontz                                              1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Charles Wesley Utd Methodist Church                            National Capital Area Council 082                      6817 Dean Dr                                                    Mc Lean, VA 22101‐5442                                                                               First Class Mail
Voting Party                   Charles Worley                                                 14131 Hwy 231 431 N                                    Hazel Green, AL 35750                                                                                                                                                First Class Mail
Chartered Organization         Charleston Area Medical Center                                 Buckskin 617                                           P.O. Box 1547                                                   Charleston, WV 25326‐1547                                                                            First Class Mail
Chartered Organization         Charleston City Police Dept                                    Coastal Carolina Council 550                           180 Lockwood Blvd                                               Charleston, SC 29403‐5152                                                                            First Class Mail
Chartered Organization         Charleston Commty                                              Family Devt Corp                                       100 Florida St                                                  Charleston, WV 25302‐1131                                                                            First Class Mail
Chartered Organization         Charleston Community Impact Corp                               Coastal Carolina Council 550                           4870 Piedmont Ave                                               North Charleston, SC 29406‐3921                                                                      First Class Mail
Chartered Organization         Charleston County Sheriffs Office                              Coastal Carolina Council 550                           3691 Leeds Ave                                                  Charleston, SC 29405‐7437                                                                            First Class Mail
Chartered Organization         Charleston Presbyterian Church                                 Coastal Carolina Council 550                           1405 Miles Dr                                                   Charleston, SC 29407‐5161                                                                            First Class Mail
Chartered Organization         Charleston Sail & Power Squadron                               Coastal Carolina Council 550                           1376 Orange Grove Rd                                            Charleston, SC 29407‐3946                                                                            First Class Mail
Voting Party                   Charleston United Methodist Church                             Attn: J Robert Webster                                 P.O. Box 351                                                    Charleston, MO 63834                                               robb@charlestonumc.org            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Charlestown Congregational Church                              Daniel Webster Council, Bsa 330                        71 Main St                                                      Charlestown, NH 03603‐4911                                                                           First Class Mail
Chartered Organization         Charlestown Fire Dept                                          Daniel Webster Council, Bsa 330                        Main St                                                         Charlestown, NH 03603                                                                                First Class Mail
Chartered Organization         Charlotte Co Sheriff'S Office                                  Southwest Florida Council 088                          7474 Utilities Rd                                               Punta Gorda, FL 33982‐2417                                                                           First Class Mail
Voting Party                   Charlotte Congregational Church                                403 Church Hill Rd                                     P.O. Box 12                                                     Charlotte, VT 05445                                                charlotteucc@gmavt.net            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Charlotte Fagan United Methodist Church                        Attn: Kevin Mahoney                                    P.O. Box 516                                                    Charlotte, TN 37036                                                xmahoneyx@gmail.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Charlotte Fagan United Methodist Church                        Attn: Mary Collins                                     3158 Vanleer Hwy                                                Charlotte, TN 37036                                                marycollins7793@aol.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Charlotte Fire Dept                                            Mecklenburg County Council 415                         500 Dalton Ave                                                  Charlotte, NC 28206‐3031                                                                             First Class Mail
Chartered Organization         Charlotte/Mecklenburg Police Dept                              Mecklenburg County Council 415                         825 E 4th St                                                    Charlotte, NC 28202                                                                                  First Class Mail
Chartered Organization         Charlottesville Lions Club                                     Crossroads of America 160                              10165 E Co Rd 25 N                                              Charlottesville, IN 46117                                                                            First Class Mail
Chartered Organization         Charlton ‐ American Legion Post 391                            Heart of New England Council 230                       P.O. Box 671                                                    Charlton, MA 01507‐0671                                                                              First Class Mail
Chartered Organization         Charlton ‐ Federated Church                                    Heart of New England Council 230                       P.O. Box 355                                                    Charlton, MA 01507‐0355                                                                              First Class Mail
Chartered Organization         Charlton ‐ Police Dept                                         Heart of New England Council 230                       85 Masonic Home Rd                                              Charlton, MA 01507‐1317                                                                              First Class Mail
Chartered Organization         Charlton ‐ St Josephs Church                                   Heart of New England Council 230                       P.O. Box 338                                                    Charlton City, MA 01508‐0338                                                                         First Class Mail
Voting Party                   Charlton City United Methodist Church                          Attn: Treasurer                                        74 Stafford St                                                  Charlton, MA 01507                                                 john@cc‐umc.org                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Charlton Utd Methodist Church                                  New Birth of Freedom 544                               5920 Jonestown Rd                                               Harrisburg, PA 17112‐4003                                                                            First Class Mail
Chartered Organization         Charter Hose Co 4                                              Housatonic Council, Bsa 069                            4 Murray St                                                     Ansonia, CT 06401‐2120                                                                               First Class Mail
Chartered Organization         Charter Oak Ptc                                                W D Boyce 138                                          5221 W Timberedge Dr                                            Peoria, IL 61615‐3244                                                                                First Class Mail
Voting Party                   Charter Oak United Methodist Church (97411)                    c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                          680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Charterwood Municipal Utility District                         Sam Houston Area Council 576                           15820 Quill Dr                                                  Houston, TX 77070                                                                                    First Class Mail
Chartered Organization         Chartiers Center                                               Laurel Highlands Council 527                           2866 Glenmore Ave                                               Pittsburgh, PA 15216‐2124                                                                            First Class Mail
Chartered Organization         Chartiers Hill Utd Presbyterian Ch                             Laurel Highlands Council 527                           2230 Washington Rd                                              Canonsburg, PA 15317‐4914                                                                            First Class Mail
Voting Party                   Chartley United Methodist Church                               Stevens L. Cobb                                        166 Plain St                                                    Norton, MA 02766                                                   steve@cobbsweb.org                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Chartley United Methodist Church                               Attn: Cheryl Moreau                                    23 Esther Dr                                                    N Providence, RI 02911                                             steve@cobbsweb.org                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Charyl Stockwell Academy                                       Southern Shores Fsc 783                                9758 E Highland Rd                                              Howell, MI 48843‐9098                                                                                First Class Mail
Chartered Organization         Charyl Stockwell Academy District                              Southern Shores Fsc 783                                9758 E Highland Rd                                              Howell, MI 48843‐9098                                                                                First Class Mail
Firm                           Chasan & Walton, LLC; Dumas & Vaughn, LLC                      Gilion Dumas & Ashley Vaughn                           3835 NE Hancock St., Ste. GLB                                   Portland, OR 97212                                                 ashley@dumasandvaughn.com         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chase Boys And Girls Club                                      Dan Beard Council, Bsa 438                             4151 Turrill St                                                 Cincinnati, OH 45223‐2218                                                                            First Class Mail
Voting Party                   Chase Bylenga Hulst, PLLC                                      Attn: April A Hulst                                    25 Div Ave S, Ste 500                                           Grand Rapids, MI 49503                                             april@chasebylenga.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Chase Bylenga Hulst, PLLC                                      Attn: April A. Hulst                                   25 Div Ave S, Ste 500                                           Grand Rapids, MI 49503                                             april@chasebylenga.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chase Family Resource Center                                   Connecticut Rivers Council, Bsa 066                    40 Woodtick Rd                                                  Waterbury, CT 06705‐2207                                                                             First Class Mail
Voting Party                   Chase United Methodist Church                                  Attn: Walter Jackson III                               6601 Ebenezer Rd                                                Middle River, MD 21220                                             almatalbert@aol.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chase Utd Methodist Church                                     Baltimore Area Council 220                             6601 Ebenezer Rd                                                Baltimore, MD 21220‐1217                                                                             First Class Mail
Chartered Organization         Chaseburg American Legion                                      Gateway Area 624                                       P.O. Box 15                                                     Chaseburg, WI 54621‐0015                                                                             First Class Mail
Chartered Organization         Chaser Nautical Foundation                                     Mt Diablo‐Silverado Council 023                        P.O. Box 5651                                                   Napa, CA 94581‐0651                                                                                  First Class Mail
Chartered Organization         Chaska Fire Dept                                               Northern Star Council 250                              285 Engler Blvd                                                 Chaska, MN 55318‐1299                                                                                First Class Mail
Chartered Organization         Chaska Police                                                  Northern Star Council 250                              2 City Hall Plz                                                 Chaska, MN 55318‐1950                                                                                First Class Mail
Voting Party                   Chasm Falls United Methodist Church                            Attn: Rev John A Werley                                867County Rte 25                                                Malone, NY 12953                                                   werl71@twcny.rr.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chassahowitzka Community Assoc                                 Greater Tampa Bay Area 089                             10300 S Riviera Dr                                              Homosassa, FL 34448‐5531                                                                             First Class Mail
Chartered Organization         Chatfield Lions Club                                           Gamehaven 299                                          P.O. Box 421                                                    Chatfield, MN 55923‐0421                                                                             First Class Mail
Voting Party                   Chatham Heights UMC 1817 Old Chatham Rd, Martinsville, VA 24   c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chatham Lions Club                                             Bay‐Lakes Council 635                                  P.O. Box                                                        Chatham, MI 49816                                                                                    First Class Mail
Chartered Organization         Chatham Post 42 American Legion                                Twin Rivers Council 364                                34 Woodbridge Ave                                               Chatham, NY 12037                                                                                    First Class Mail
Chartered Organization         Chatham Presbyterian Church                                    Abraham Lincoln Council 144                            1835 E Walnut St                                                Chatham, IL 62629‐1578                                                                               First Class Mail
Chartered Organization         Chatham Rotary Club                                            Blue Ridge Mtns Council 599                            P.O. Box 855                                                    Chatham, VA 24531‐0855                                                                               First Class Mail
Voting Party                   Chatham Umc                                                    Sonda Womack                                           P.O. Box 416                                                    Chatham, LA 71226                                                                                    First Class Mail
Voting Party                   Chatham United Methodist Church                                Attn: Sonda Womack                                     210 Womack Rd                                                   Chatham, LA 71226                                                                                    First Class Mail
Chartered Organization         Chatham Utd Methodist Church                                   Cape Cod and Islands Cncl 224                          569 Main St                                                     Chatham, MA 02633‐2243                                                                               First Class Mail
Voting Party                   Chatsworth First United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chatsworth First Utd Methodist Church                          Northwest Georgia Council 100                          P.O. Box 152                                                    Chatsworth, GA 30705‐0152                                                                            First Class Mail
Voting Party                   Chatsworth West United Methodist Church                        Attn: Trustees Chair, Chatsworth West Umc              10824 Topanga Canyon Blvd                                       Chatsworth, CA 91311                                               chatsworthwestumc@gmail.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chattahoochee Nature Center                                    Atlanta Area Council 092                               9135 Willeo Rd                                                  Roswell, GA 30075‐4723                                                                               First Class Mail
Chartered Organization         Chattanooga Police Explorer                                    Cherokee Area Council 556                              3300 Amnicola Hwy                                               Chattanooga, TN 37406‐1740                                                                           First Class Mail
Chartered Organization         Chautauqua Camp                                                Miami Valley Council, Bsa 444                          10550 Camp Trl                                                  Miamisburg, OH 45342‐5130                                                                            First Class Mail
Chartered Organization         Chaves County Sheriff Dept                                     Conquistador Council Bsa 413                           1 Saint Marys Pl                                                Roswell, NM 88203‐5400                                                                               First Class Mail
Chartered Organization         Chavez Evj Co, Ltd                                             Circle Ten Council 571                                 4210 Junius St                                                  Dallas, TX 75246‐1429                                                                                First Class Mail
Chartered Organization         Chazy & Westport Communications                                Twin Rivers Council 364                                P.O. Box Q                                                      Westport, NY 12993                                                                                   First Class Mail
Chartered Organization         Cheat Lake Elementary                                          Mountaineer Area 615                                   P.O. Box 152A                                                   Morgantown, WV 26507                                                                                 First Class Mail
Chartered Organization         Cheat Lake Umc                                                 Mountaineer Area 615                                   750 Fairchance Rd                                               Morgantown, WV 26508‐2633                                                                            First Class Mail
Voting Party                   Cheat Lake United Methodist Church                             Attn: Shawn Weaver                                     750 Fairchance Rd                                               Morgantown, WV 26508                                               weaver.shawn@gmail.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Cheatham Memorial Utd Methodist Ch                             Circle Ten Council 571                                 P.O. Box 800                                                    Edgewood, TX 75117‐0800                                                                              First Class Mail
Chartered Organization         Chebanse American Legion                                       Prairielands 117                                       255 S Walnut St                                                 Chebanse, IL 60922‐2011                                                                              First Class Mail
Voting Party                   Chebeague United Methodist Church                              Attn: Cheryl R Stevens                                 258 North Rd                                                    Chebeague Island, ME 04017                                                                           First Class Mail
Chartered Organization         Checotah Lodge No 86 Af & Am                                   Indian Nations Council 488                             P.O. Box 826                                                    Checotah, OK 74426‐0826                                                                              First Class Mail
Chartered Organization         Cheektowaga Police Dept                                        Greater Niagara Frontier Council 380                   3223 Union Rd                                                   Cheektowaga, NY 14227‐1084                                                                           First Class Mail
Chartered Organization         Cheesequake Volunteer Fire Dept                                Monmouth Council, Bsa 347                              113 State Route 34                                              Matawan, NJ 07747‐2129                                                                               First Class Mail
Chartered Organization         Chelsea Church Of The Nazarene                                 Southern Shores Fsc 783                                P.O. Box 389                                                    Chelsea, MI 48118‐0389                                                                               First Class Mail
Voting Party                   Chelsea First United Methodist Church                          Attn: Finance Manager                                  128 Park St                                                     Chelsea, MI 48118                                                  jbarrett@chelseaumc.org           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chelsea Heights Pto                                            Northern Star Council 250                              1557 Huron St                                                   Saint Paul, MN 55108‐2317                                                                            First Class Mail
Chartered Organization         Chelsea Kiwanis Club                                           Southern Shores Fsc 783                                P.O. Box 61                                                     Chelsea, MI 48118‐0061                                                                               First Class Mail
Chartered Organization         Cheltenham Scout Cabin Assoc                                   Cradle of Liberty Council 525                          7707 Mill Rd                                                    Elkins Park, PA 19027‐2708                                                                           First Class Mail
Voting Party                   Chemsearchfe                                                   P.O. Box 971269                                        Dallas, TX 75397‐1269                                                                                                                                                First Class Mail
Voting Party                   Chemung United Methodist Church                                Attn: Jeffrey Stuart Brace                             P.O. Box 258                                                    250 W North St                    Capron, IL 61012                 jbrace8459@gmail.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chena Kiwanis Club                                             Midnight Sun Council 696                               P.O. Box 73112                                                  Fairbanks, AK 99707‐3112                                                                             First Class Mail
Chartered Organization         Chenango Bridge Utd Methodist Church                           Baden‐Powell Council 368                               P.O. Box 501                                                    Chenango Bridge, NY 13745‐0501                                                                       First Class Mail
Voting Party                   Cheney United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradely.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Chengdu Intl Christian Fellowship                              Far E Council 803                                      46 Renmin Nan Lu Si Duan, 124‐1‐7‐10                            China                                                                                                First Class Mail
Chartered Organization         Chenoa Vfw Post 8350                                           W D Boyce 138                                          215 S Green St                                                  Chenoa, IL 61726‐1133                                                                                First Class Mail
Chartered Organization         Chenoweth Elementary School                                    Lincoln Heritage Council 205                           3622 Brownsboro Rd                                              Louisville, KY 40207‐1861                                                                            First Class Mail
Chartered Organization         Chepachet Union Church                                         Narragansett 546                                       1138 Putnam Pike                                                Chepachet, RI 02814‐1966                                                                             First Class Mail
Voting Party                   Cheriton UMC 21309 S Bayside Rd, Cheviton, VA 23316            c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Cherokee County Fire & Emergency Service                       Atlanta Area Council 092                               150 Chattin Dr                                                  Canton, GA 30115‐8249                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                   Page 54 of 442
                                                                                  Case 20-10343-LSS                                            Doc 8171                                           Filed 01/06/22                                            Page 70 of 457
                                                                                                                                                                               Exhibit B
                                                                                                                                                                                Service List
                                                                                                                                                                         Served as set forth below

        Description                                                        Name                                                                                              Address                                                                                                                Email                   Method of Service
Chartered Organization         Cherokee Park Elementary                                    Norwela Council 215                        2010 E Algonquin Trl                                        Shreveport, LA 71107‐5402                                                                                      First Class Mail
Chartered Organization         Cherokee Sheriffs Office                                    Atlanta Area Council 092                   498 Chattin Dr                                              Canton, GA 30115‐8240                                                                                          First Class Mail
Chartered Organization         Cherokee Staff Alumni                                       Old N State Council 070                    3296 Boy Scout Camp Rd                                      Yanceyville, NC 27379‐9150                                                                                     First Class Mail
Chartered Organization         Cherokee Trail And Campsites, Inc                           Atlanta Area Council 092                   P.O. Box 708                                                Tucker, GA 30085‐0708                                                                                          First Class Mail
Voting Party                   Cherokee Village United Methodist Church                    c/o Friday, Eldredge & Clark LLP           Attn: Lindsey Emerson Raines                                400 W Capitol Ave, Ste 2000       Little Rock, AR 72201                 lraines@fridayfirm.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Cherokee Village United Methodist Church                    Attn: Julie Decker                         P.O. Box 420                                                Cherokee Village, AR 72525                                              cherokee.village@arumc.org             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Cherokee Volunteer Firefighters, Inc                        Greater Alabama Council 001                P.O. Box 181                                                Cherokee, AL 35616‐0181                                                                                        First Class Mail
Chartered Organization         Cherokee Youth Center Boys & Girls Club                     Daniel Boone Council 414                   P.O. Box 455                                                Cherokee, NC 28719‐0455                                                                                        First Class Mail
Chartered Organization         Cherry Creek Academy                                        Denver Area Council 061                    6260 S Dayton St                                            Englewood, CO 80111‐5203                                                                                       First Class Mail
Voting Party                   Cherry Creek United Methodist Church                        Attn: Treasurer                            6813 Main St                                                Cherry Creek, NY 14723                                                  brendayhendricks@gmail.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Cherry Creek Wesleyan Church                                Denver Area Council 061                    19401 E Chenango Dr                                         Aurora, CO 80015‐3405                                                                                          First Class Mail
Chartered Organization         Cherry Crest Parents For Scouting                           Chief Seattle Council 609                  12400 NE 32nd St                                            Bellevue, WA 98005‐1610                                                                                        First Class Mail
Chartered Organization         Cherry Hill Presbyterian Church                             Great Lakes Fsc 272                        24110 Cherry Hill St                                        Dearborn, MI 48124‐1356                                                                                        First Class Mail
Chartered Organization         Cherry Hill School P T O                                    c/o Cub Scouts Pack 229                    410 Bogert Rd                                               River Edge, NJ 07661‐1813                                                                                      First Class Mail
Chartered Organization         Cherry Hill Twp Vol Fire Co                                 Laurel Highlands Council 527               P.O. Box 305                                                Penn Run, PA 15765‐0305                                                                                        First Class Mail
Chartered Organization         Cherry Hills Village Friends Of Scouting                    Denver Area Council 061                    2400 E Quincy Ave                                           Englewood, CO 80113‐4955                                                                                       First Class Mail
Voting Party                   Cherry Lane                                                 c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                       Erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Cherry Park Presbyterian Church                             Attn: Gayle Lynn Burke                     348 SW Cherry Park Rd                                       P.O. Box 310                      Troutdale, OR 97060                   burkegayle@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Cherry Park Presbyterian Church                             348 SW Cherry Park Rd                      P.O. Box 310                                                Troutdale, OR 97060                                                     burkegayle@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Cherry Valley Camp Staff                                    Greater Los Angeles Area 033               3450 E Sierra Madre Blvd                                    Pasadena, CA 91107‐1934                                                                                        First Class Mail
Chartered Organization         Cherry Valley Cub Residence Camp Staff                      Greater Los Angeles Area 033               3450 E Sierra Madre Blvd                                    Pasadena, CA 91107‐1934                                                                                        First Class Mail
Chartered Organization         Cherry Valley Fire                                          Blackhawk Area 660                         112 S Cherry St                                             Cherry Valley, IL 61016‐7712                                                                                   First Class Mail
Voting Party                   Cherry Valley United Methodist Church                       112 S Cherry St                            P.O. Box 235                                                Cherry Valley, IL 61016                                                 pastor.cvumc@comcast.net               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Cherrydale UMC                                              c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                       erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Cherrydale Utd Methodist Church                             National Capital Area Council 082          3701 Lorcom Ln                                              Arlington, VA 22207‐5150                                                                                       First Class Mail
Chartered Organization         Cherryville Rotary Club                                     Piedmont Council 420                       700 E 1st St                                                Cherryville, NC 28021‐2931                                                                                     First Class Mail
Voting Party                   Cheryl Diane Pokorny                                        9208 Parsons Rd                            Croton, OH 43013                                                                                                                    cheripokorny7@gmail.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chesaning Rotary Club                                       Water and Woods Council 782                200 S Line St                                               Chesaning, MI 48616‐1333                                                                                       First Class Mail
Voting Party                   Chesaning Trinity Umc                                       1629 W Brady Rd                            Chesaning, MI 48616                                                                                                                 chesaningtrinityumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chesapeak Church Of The Nazarene                            Buckskin 617                               817 3rd Ave                                                 Chesapeake, OH 45619                                                                                           First Class Mail
Chartered Organization         Chesapeake Church Of The Nazarene                           Buckskin 617                               817 3rd Ave                                                 Chesapeake, OH 45619                                                                                           First Class Mail
Chartered Organization         Chesapeake Multicultural Resource Center                    Del Mar Va 081                             20 Bay St                                                   Easton, MD 21601‐2755                                                                                          First Class Mail
Chartered Organization         Chesapeake Police Dept                                      Tidewater Council 596                      304 Albemarle Dr                                            Chesapeake, VA 23322‐5502                                                                                      First Class Mail
Voting Party                   Chesapeake United Methodist Church                          Attn: Treasurer, Chesapeake Umc            131st St                                                    Charleston, WV 25315                                                    darick.biondi@gmail.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Cheshire Lions Club, Incorporated                           Connecticut Rivers Council, Bsa 066        71 Horton Ave                                               Cheshire, CT 06410‐2707                                                                                        First Class Mail
Chartered Organization         Cheshire Police Dept                                        Connecticut Rivers Council, Bsa 066        500 Highland Ave                                            Cheshire, CT 06410‐2249                                                                                        First Class Mail
Voting Party                   Cheshire United Methodist Church                            Attn: Ken Keiffer                          205 Academy Rd                                              Cheshire, CT 06410                                                      office@cheshireumc.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Cheshire United Methodist Church                            Attn: Jennie Pierce, Treasurer             197 Church St                                               P.O. Box 628                      Cheshire, MA 01225                                                           First Class Mail
Chartered Organization         Chester Baptist Church                                      Heart of Virginia Council 602              4317 School St                                              Chester, VA 23831‐4448                                                                                         First Class Mail
Chartered Organization         Chester Community Charter School East                       Cradle of Liberty Council 525              214 E 5th St                                                Chester, PA 19013‐4510                                                                                         First Class Mail
Chartered Organization         Chester Concerned Parents                                   Inland Northwest Council 611               3525 S Pines Rd                                             Spokane Valley, WA 99206‐5930                                                                                  First Class Mail
Chartered Organization         Chester County Bar Assoc                                    Chester County Council 539                 15 W Gay St                                                 West Chester, PA 19380‐3024                                                                                    First Class Mail
Chartered Organization         Chester County Family Academy                               Chester County Council 539                 323 E Gay St, Ste B7                                        West Chester, PA 19380‐2755                                                                                    First Class Mail
Chartered Organization         Chester Fire Dept                                           Greater St Louis Area Council 312          1330 State St                                               Chester, IL 62233‐1310                                                                                         First Class Mail
Chartered Organization         Chester Fire Dept                                           Daniel Webster Council, Bsa 330            27 Murphy Dr                                                Chester, NH 03036‐8108                                                                                         First Class Mail
Chartered Organization         Chester Firemans Assoc                                      Western Massachusetts Council 234          300 Route 20                                                Chester, MA 01011                                                                                              First Class Mail
Chartered Organization         Chester Hill Assoc                                          Western Massachusetts Council 234          471 Skyline Trl                                             Chester, MA 01011‐9529                                                                                         First Class Mail
Chartered Organization         Chester Lions Club                                          Greater St Louis Area Council 312          16 Knollwood Dr                                             Chester, IL 62233‐1415                                                                                         First Class Mail
Chartered Organization         Chester Miller Concerned Citizens                           Water and Woods Council 782                911 Thurman St                                              Saginaw, MI 48602‐2859                                                                                         First Class Mail
Chartered Organization         Chester Presbyterian Church                                 Heart of Virginia Council 602              3424 W Hundred Rd                                           Chester, VA 23831‐2117                                                                                         First Class Mail
Voting Party                   Chester Presbyterian Church, Inc                            c/o Owen & Owen                            Attn: Mary Burkey Owens Esq                                 15521 Miflothian Tpke             Midlothian, VA 23113                  mowens@owenowens.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chester Township Fire Dept                                  Tecumseh 439                               5580 State Route 380                                        Wilmington, OH 45177‐8566                                                                                      First Class Mail
Voting Party                   Chester UMC                                                 c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                       erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chester United Methodist Church                             Brent Morgan Buckley                       46580 Sr 248                                                Long Bottom, OH 45743                                                   brent.m.buckley@gmail.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chester United Methodist Church                             Attn: Brandon Buckley                      43570 Lovers Ln                                             Pomeroy, OH 45769                                                       brandon@prefabllc.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chester Upland Charter School                               Cradle of Liberty Council 525              1100 Main St                                                Upland, PA 19015‐2611                                                                                          First Class Mail
Chartered Organization         Chester Upland School Of The Arts                           Cradle of Liberty Council 525              501 W 9th St                                                Chester, PA 19013‐4057                                                                                         First Class Mail
Chartered Organization         Chester Utd Methodist                                       Buckskin 617                               43570 Lovers Ln                                             Pomeroy, OH 45769‐9769                                                                                         First Class Mail
Chartered Organization         Chester Utd Methodist Church                                Heart of Virginia Council 602              12132 Percival St                                           Chester, VA 23831‐4739                                                                                         First Class Mail
Voting Party                   Chesterbrook UMC                                            c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                       erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chesterbrook Utd Methodist Church                           National Capital Area Council 082          1711 Kirby Rd                                               Mc Lean, VA 22101‐4815                                                                                         First Class Mail
Chartered Organization         Chesterfield Baptist Church                                 Heart of Virginia Council 602              16520 Hull St Rd                                            Moseley, VA 23120‐1456                                                                                         First Class Mail
Chartered Organization         Chesterfield Christian Church                               Crossroads of America 160                  207 E Plum St                                               Chesterfield, IN 46017‐1715                                                                                    First Class Mail
Chartered Organization         Chesterfield Fire Fighter Assoc                             Great Lakes Fsc 272                        33991 23 Mile Rd                                            Chesterfield, MI 48047‐4008                                                                                    First Class Mail
Chartered Organization         Chesterfield Lions Club                                     Great Lakes Fsc 272                        52101 Gratiot Ave                                           Chesterfield, MI 48051‐2034                                                                                    First Class Mail
Chartered Organization         Chesterfield Police Dept                                    Greater St Louis Area Council 312          184 Chesterfield In Blvd                                    Chesterfield, MO 63005‐1220                                                                                    First Class Mail
Chartered Organization         Chesterfield Volunteer Fire Dept                            Western Massachusetts Council 234          North Rd                                                    Chesterfield, MA 01012                                                                                         First Class Mail
Voting Party                   Chesterhill United Methodist Church                         Attn: Richard Alan Seiter                  2275 W State Route 555                                      Chesterhill, OH 43728                                                   rickaseiter@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chesterland Baptist Church                                  Lake Erie Council 440                      12670 Chillicothe Rd                                        Chesterland, OH 44026‐3159                                                                                     First Class Mail
Voting Party                   Chesterton United Methodist Church                          Attn: Heather Foley & Deborah Beard        434 S 2nd St                                                Chesterton, IN 46304                                                    chesterton.umc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chestnut Grove Middle School                                Old Hickory Council 427                    2185 Chestnut Grove Rd                                      King, NC 27021‐7414                                                                                            First Class Mail
Voting Party                   Chestnut Grove Presbyterian Church                          Attn: Diane A Caso                         3701 Sweet Air Rd                                           Phoenix, MD 21131                                                       diane@chestnutgrovechurch.net          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chestnut Hill Baptist Church                                Narragansett 546                           Victory Hwy                                                 Exeter, RI 02822                                                                                               First Class Mail
Chartered Organization         Chestnut Hill School Parent Teacher                         Water and Woods Council 782                3900 Chestnut Hill Dr                                       Midland, MI 48642‐6204                                                                                         First Class Mail
Voting Party                   Chestnut Hill Umc                                           Attn: George R Enos                        21 Anglers Ridge Dr                                         Harpers Ferry, WV 25425                                                 ecenos@frontiernet.net                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chestnut Hill United Methodist Church                       Attn: Alyson L Hill                        2416 Chestnut Hill Church Rd                                Dandridge, TN 37725                                                     hillalyson@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chestnut Hill United Methodist Church                       Attn: Patricia Hardy                       1523 Hostler Rd                                             Harpers Ferry, WV 25425                                                 ecenos@frontiernet.net                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chestnut Hill Utd Church Of Christ                          Minsi Trails Council 502                   6870 Chestnut Hill Church Rd                                Coopersburg, PA 18036‐3528                                                                                     First Class Mail
Chartered Organization         Chestnut Level Presbyterian Church                          Pennsylvania Dutch Council 524             1068 Chestnut Level Rd                                      Quarryville, PA 17566‐9756                                                                                     First Class Mail
Voting Party                   Chestnut Memorial UMC                                       c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                       erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chestnut Memorial Utd Meth Church                           Colonial Virginia Council 595              1024 Harpersville Rd                                        Newport News, VA 23601‐1010                                                                                    First Class Mail
Chartered Organization         Chestnut Memorial Utd Methodist Ch                          Colonial Virginia Council 595              1024 Harpersville Rd                                        Newport News, VA 23601‐1010                                                                                    First Class Mail
Chartered Organization         Chestnut Ridge Christian Church                             Atlanta Area Council 092                   2663 Johnson Ferry Rd                                       Marietta, GA 30062‐5251                                                                                        First Class Mail
Voting Party                   Chestnut Street UMC, Gardner, MA 01440                      c/o Chestnut St United                     161 Chestnut St                                             Gardner, MA 01440                                                       rousseausela@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chestnut Street United Methodist Church                     Selaima T. Rousseau                        161 Chestnut St                                             Gardner, MA 01440                                                       rousseausela@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chestnut Street United Methodist Church                     200 E 8th St                               Lumberton, NC 28358                                                                                                                 csumc@ncrrbiz.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chestnut Street United Methodist Church                     c/o Law Offices of Bruce F. Jobe, PA       Attn: Bruce F Jobe                                          4312 Ludgate St                   Lumberton                             brucejobeatty@nc.rr.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chestnut Street Utd Methodist Church                        Cape Fear Council 425                      P.O. Box 1464                                               Lumberton, NC 28359‐1464                                                                                       First Class Mail
Voting Party                   Chetek Lutheran Church                                      Attn: Sandi Gunderson President            1419 2nd St                                                 P.O. Box 625                      Chetek, WI 54728                      cheteklutheran@chibardun.net           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Cheviot Firemens Assoc, Inc                                 Dan Beard Council, Bsa 438                 3816 Harrison Ave                                           Cincinnati, OH 45211                                                                                           First Class Mail
Chartered Organization         Cheviot Police Explorer Post 801                            Dan Beard Council, Bsa 438                 3814 Harrison Ave                                           Cincinnati, OH 45211‐4726                                                                                      First Class Mail
Voting Party                   Cheviot United Methodist Church                             Attn: Ad Council Chair                     3820 Westwood Northern Blvd                                 Cinncinnati, OH 45211                                                   ebruestle@ralaw.com                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chevy Chase United Methodist Church                         Attn: George Monk Jr & Kirkland Reynolds   7001 Connecticut Ave                                        Chevy Chase, MD 20815                                                   office@chevychaseumc.org               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chewelah Kiwanis Club                                       Inland Northwest Council 611               P.O. Box 285                                                Chewelah, WA 99109‐0285                                                                                        First Class Mail
Chartered Organization         Chewelah Valley Lions Club                                  Inland Northwest Council 611               P.O. Box 994                                                Chewelah, WA 99109‐0994                                                                                        First Class Mail
Chartered Organization         Chews Landing Fire Co                                       Garden State Council 690                   43 Somerdale Rd                                             Blackwood, NJ 08012‐5385                                                                                       First Class Mail
Voting Party                   Chews Memorial United Methodist Church                      Attn: Doris Tongue (Treasurer)             492 Owensville Rd                                           Harwood, MD 20776                                                                                              First Class Mail
Voting Party                   Chews United Methodist Church Mens Club ‐ Glendora          c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                       erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chewsville Community Center                                 Mason Dixon Council 221                    P.O. Box 162                                                Chewsville, MD 21721‐0162                                                                                      First Class Mail
Chartered Organization         Chewsville Lions Club                                       c/o Warren Middlekauff                     19830 Jefferson Blvd                                        Hagerstown, MD 21742‐4234                                                                                      First Class Mail
Chartered Organization         Cheyenne First Utd Methodist Church                         Last Frontier Council 480                  P.O. Box 6                                                  Cheyenne, OK 73628‐0006                                                                                        First Class Mail
Chartered Organization         Cheyenne First Utd Methodist Church                         Last Frontier Council 480                  P.O. Box 85                                                 Cheyenne, OK 73628‐0085                                                                                        First Class Mail
Chartered Organization         Cheyenne Mountain Elementary School Pto                     Pikes Peak Council 060                     5250 Farthing Dr                                            Colorado Springs, CO 80906‐5963                                                                                First Class Mail
Chartered Organization         Cheyenne Mountain Vfw Post 3917                             Pikes Peak Council 060                     P.O. Box 5355                                               Colorado Springs, CO 80931‐5355                                                                                First Class Mail
Chartered Organization         Cheyenne Police Dept                                        Longs Peak Council 062                     2020 Capitol Ave                                            Cheyenne, WY 82001‐3618                                                                                        First Class Mail
Chartered Organization         Cheyenne Wells Fire Dept                                    Pikes Peak Council 060                     151 S 1st St W                                              Cheyenne Wells, CO 80810‐5014                                                                                  First Class Mail
Chartered Organization         Chg Youth Outreach                                          Blue Mountain Council 604                  2899 Crosswater Loop                                        Richland, WA 99354‐5012                                                                                        First Class Mail
Firm                           Chhabra Gibbs & Herrington, PLLC                            Brian K. Herrington                        120 N Congress St. Ste. 200                                 Jackson, MS 39201                                                       bherrington@nationalclasslawyers.com   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chi Lang 1279 Assoc                                         Orange County Council 039                  16706 Bayberry St                                           Fountain Valley, CA 92708‐2266                                                                                 First Class Mail
Firm                           Chiacchia & Fleming, LLP                                    Daniel J. Chiacchia                        5113 S Park Ave                                             Hamburg, NY 14075                                                       dan@cf‐legal.com                       Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chiang Mai International School                             Far E Council 803                          Jason Leseure                                               Chiang Mai International School   Chiangmai, 50000           Thailand                                          First Class Mail
Chartered Organization         Chiang Rai Intl Christian Sch                               Far E Council 803                          P.O. Box 36 Baan Duu Post Office                            Chaing Rai, 57100                 Thailand                                                                     First Class Mail
Voting Party                   Chicago & South Shore Methodist Episcopal                   c/o South Shore                            7350 S Jeffrey Blvd                                         Chicago, IL 60649                                                       adonnadreid@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chicago & Southfield Methodist                              c/o Southshore Umc                         7350 S Jeffrey Blvd                                         Chicago, IL 60649                                                       adonnareid@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chicago 77th Street Methodist                               c/o South Shore UMC                        7350 S Jeffrey Blvd                                         Chicago, IL 60649                                                       adonnadreid@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chicago Coptic Church                                       Pathway To Adventure 456                   2100 W Frontage Rd                                          Palatine, IL 60067                                                                                             First Class Mail
Voting Party                   Chicago Englewood Umc                                       Attn: Peggy Jackson‐Turner                 6400 S Stewart Ave                                          Chicago, IL 60621                                                       EnglewoodRust64@att.net                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chicago First Ward Lds                                      Pathway To Adventure 456                   5100 N Springfield Ave                                      Chicago, IL 60625‐6024                                                                                         First Class Mail
Chartered Organization         Chicago Housing Authority                                   Pathway To Adventure 456                   60 E Van Buren St                                           Chicago, IL 60605‐1241                                                                                         First Class Mail
Voting Party                   Chicago Hyde Park Methodist Church                          c/o Chicago South Shore Umc                7350 S Jeffery Blvd                                         Chicago, IL 60649                                                       adonnadreid@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chicago Latvian Zion Lutheran Church                        Pathway To Adventure 456                   6551 W Montrose Ave                                         Chicago, IL 60634‐1423                                                                                         First Class Mail
Voting Party                   Chicago Parkside Methodist                                  c/o Southshore Umc                         7350 S Jeffrey Rd                                           Chicago, IL 60649                                                       adonnadreid@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chicago Police Dept                                         Pathway To Adventure 456                   1718 S State St                                             Chicago, IL 60616‐1216                                                                                         First Class Mail
Chartered Organization         Chicago Police Dept                                         Pathway To Adventure 456                   5400 N Lincoln Ave                                          Chicago, IL 60625‐2223                                                                                         First Class Mail
Chartered Organization         Chicago Police Dept                                         Pathway To Adventure 456                   6464 N Clark St                                             Chicago, IL 60626‐4920                                                                                         First Class Mail
Chartered Organization         Chicago Police Dept‐15Th District                           Pathway To Adventure 456                   5701 W Madison St                                           Chicago, IL 60644‐3950                                                                                         First Class Mail
Chartered Organization         Chicago Police District 022                                 Pathway To Adventure 456                   1900 W Monterey Ave                                         Chicago, IL 60643‐4244                                                                                         First Class Mail
Voting Party                   Chicago Rust Memorial Umc                                   Attn: Peggy A Jackson‐Turner               6400 S Stewart Ave                                          Chicago, IL 60621                                                       englewoodrust64@att.net                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chicago South Elks Lodge 1596                               Pathway To Adventure 456                   4428 Midlothian Tpke                                        Crestwood, IL 60418‐1917                                                                                       First Class Mail
Voting Party                   Chicago South Shore                                         7350 S Jeffery Blvd                        Chicago, IL 60649                                                                                                                   adonnadried@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chicago St Johns Methodist Episcopal                        c/o South Shore Umc                        7350 S Jeffrey Blvd                                         Chicago, IL 60649                                                       adonnadreid@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chicago Trinity                                             11030 S Longwood Dr                        Chicago, IL 60643                                                                                                                   dennislangdon03@gmail.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chicago United Church Of Hyde Park                          1448 E 53rd St                             Chicago, IL 60615                                                                                                                   sruhlz23@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Chicago Yacht Club                                          Pathway To Adventure 456                   400 E Monroe St                                             Chicago, IL 60603‐6403                                                                                         First Class Mail
Voting Party                   Chicago: Chicago Lawn Umc                                   Attn: Rosa Garcia                          3500 W 63rd Pl                                              Chicago, IL 60629                                                       rosa43garflo@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chicago: Edison Park                                        6740 N Oliphant                            Chicago, IL 60631                                                                                                                   vicmeladjr@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chicago: El Redentor Del Calvario/The Redeemer Of Calvary   5001 W Gunnison St                         Chicago, IL 60630                                                                                                                   fmenzes@comcast.net                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chicago: Emanuel                                            Attn: Auderine Molina                      4256 N Ridgeway Ave                                         Chicago, IL 60131                                                       pastor.audrey@ymail.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chicago: Humboldt Park Umc                                  2120 N Mozart St                           Chicago, IL 60647                                                                                                                   garygrecar@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Chicago: Hyde Park Korean                                   Attn: Woo Min Lee                          5600 S Woodlawn Ave                                         Chicago, IL 60637                                                       chicago.kacm@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                Page 55 of 442
                                                                                   Case 20-10343-LSS                                         Doc 8171                                    Filed 01/06/22                                           Page 71 of 457
                                                                                                                                                                      Exhibit B
                                                                                                                                                                       Service List
                                                                                                                                                                Served as set forth below

        Description                                                         Name                                                                                    Address                                                                                                       Email                                  Method of Service
Voting Party                   Chicago: Morgan Park                                       Attn: Dennis Langdon                      11030 S Longwood Dr                                  Chicago, IL 60643                                                  dennislangdon03@gmail.com                         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Chicago: Southlawn United Methodist Church                 8605 S Cregier                            Chicago, IL 60617                                                                                                       slawnumc@sbcglobal.net; colleenmn7337@comcast.net Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Chichester Grange 132                                      Daniel Webster Council, Bsa 330           86 Broadway                                          Concord, NH 03301‐2740                                                                                               First Class Mail
Voting Party                   Chichester Umc                                             Mark Alan Buttaro                         2 Snowdrop Ln                                        Litchfield                                                         pastor.buttaro@gmail.com                          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Chichester United Methodist Church                         Attn: Treasurer, Chichester Umc           P.O. Box 39                                          Epsom, NH 03234                                                    cumc.nh@gmail.com                                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Chickahominy Indians Eern Div, Inc                         Heart of Virginia Council 602             3120 Mt Pleasant Rd                                  Providence Forge, VA 23140‐3611                                                                                      First Class Mail
Voting Party                   Chickalah United Methodist Church                          Attn: Cyndia Callan                       P.O. Box 188                                         Dardanelle, AR 72834                                               cjcallan@centurytel.net                           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Chickasaw Civic Theatre                                    Mobile Area Council‐Bsa 004               P.O. Box 11476                                       Mobile, AL 36671‐0476                                                                                                First Class Mail
Voting Party                   Chickasaw Council, Boy Scouts Of America, Inc.             Attn: Richard L. Fisher                   171 S Hollywood St                                   Memphis, TN 38112                                                  richard.fisher@scouting.org                       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Chickasaw Council, Boy Scouts Of America, Inc.             Attn: Jason P. Hood                       Davies Hood Pllc                                     22 N Front St, Ste 620            Memphis, TN 38103                jason.hood@davieshood.com                         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Chickasaw County Historical Society                        Winnebago Council, Bsa 173                2729 Cheyenne Ave                                    Nashua, IA 50658‐9611                                                                                                First Class Mail
Voting Party                   Chickasaw Nation, A Federally Recognized Indian Tribe      c/o Green Law Firm PC                     Attn: Jared Easterling                               301 E Main St                     Ada, OK 74820                    je@greenlawfirmpc.net                             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Chickasha Rotary Club                                      Last Frontier Council 480                 619 W Chickasha Ave                                  Chickasha, OK 73018‐2413                                                                                             First Class Mail
Chartered Organization         Chico Breakfast Lions Club                                 Golden Empire Council 047                 P.O. Box 1909                                        Chico, CA 95927‐1909                                                                                                 First Class Mail
Chartered Organization         Chico Elks Lodge                                           Golden Empire Council 047                 1705 Manzanita Ave                                   Chico, CA 95926‐1622                                                                                                 First Class Mail
Chartered Organization         Chico Elks Lodge 423                                       Golden Empire Council 047                 1705 Manzanita Ave                                   Chico, CA 95926‐1622                                                                                                 First Class Mail
Chartered Organization         Chicopee Moose Family Center                               Western Massachusetts Council 234         244 Fuller Rd                                        Chicopee, MA 01020‐3709                                                                                              First Class Mail
Chartered Organization         Chicora Loyal Order Of Moose 962                           Moraine Trails Council 500                P.O. Box M                                           Chicora, PA 16025‐0412                                                                                               First Class Mail
Chartered Organization         Chief Drywall Corp                                         Great Salt Lake Council 590               3162 W 7325 S                                        West Jordan, UT 84084‐2826                                                                                           First Class Mail
Chartered Organization         Chief Kiondashawa District Committee                       French Creek Council 532                  6 1/2 Orangeville St                                 Greenville, PA 16125                                                                                                 First Class Mail
Chartered Organization         Chief Petty Officers Assoc                                 Tidewater Council 596                     514 Cardwell St                                      Elizabeth City, NC 27909‐6904                                                                                        First Class Mail
Chartered Organization         Chief Petty Officers Assoc                                 Far E Council 803                         Psc 561 Box 142                                      Fpo, AP 96310‐0002                                                                                                   First Class Mail
Chartered Organization         Chief Petty Officers Assoc                                 Far E Council 803                         Psc 476 Box 1                                        Fpo, AP 96322‐0001                                                                                                   First Class Mail
Chartered Organization         Chief Petty Officers Assoc                                 Far E Council 803                         Psc 476 Box 973                                      Fpo, AP 96322‐0010                                                                                                   First Class Mail
Chartered Organization         Chief Petty Officer'S Organization                         Baltimore Area Council 220                Building T4                                          Fort Meade, MD 20755                                                                                                 First Class Mail
Voting Party                   Chief Seattle Cncl 609                                     3120 Rainier Ave S                        Seattle, WA 98144‐6015                                                                                                                                                    First Class Mail
Chartered Organization         Chief Tarhe Elementary School Pto                          Simon Kenton Council 441                  2141 Greencrest Way                                  Lancaster, OH 43130‐7591                                                                                             First Class Mail
Chartered Organization         Chiefpettyofficer Assoc Sigonella Top Iv                   Transatlantic Council, Bsa 802            Psc 812 Box 3530                                     Fpo, AE 09627‐0036                                                                                                   First Class Mail
Chartered Organization         Chief'S Group                                              Black Hills Area Council 695 695          1958 Scott Dr, Ste 1                                 Ellsworth Afb, SD 57706‐4710                                                                                         First Class Mail
Chartered Organization         Chief'S Group 31 Fw                                        Transatlantic Council, Bsa 802            Psc 103                                              Apo, AE 09603                                                                                                        First Class Mail
Chartered Organization         Chieftain Archery                                          Moraine Trails Council 500                4711 Leechburg Rd                                    New Kensington, PA 15068                                                                                             First Class Mail
Voting Party                   Chien, Wendy J                                             Address Redacted                                                                                                                                                                                                    First Class Mail
Voting Party                   Chiera Law Group                                           Randall John Chiera                       54 Main St                                           Tarrytown, NY 10591                                                rjc@chieralegal.com                               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Child Center‐Marygrove                                     Greater St Louis Area Council 312         2705 Mullanphy Ln                                    Florissant, MO 63031‐3727                                                                                            First Class Mail
Chartered Organization         Child Development Center                                   Montana Council 315                       1725 Mt Hwy 35                                       Kalispell, MT 59901‐2464                                                                                             First Class Mail
Chartered Organization         Child Nutrition Service, Inc                               Heart of America Council 307              14450 N US Hwy 169, Ste Q                            Smithville, MO 64089‐9292                                                                                            First Class Mail
Chartered Organization         Child Opportunity Zone Pawtucket                           Narragansett 546                          40 Baldwin St                                        Pawtucket, RI 02860‐2724                                                                                             First Class Mail
Chartered Organization         Children Charter Concerned Parents                         Istrouma Area Council 211                 1143 North St                                        Baton Rouge, LA 70802‐4547                                                                                           First Class Mail
Chartered Organization         Children Of The Valley                                     Mount Baker Council, Bsa 606              1318 S 18th St                                       Mount Vernon, WA 98274‐6028                                                                                          First Class Mail
Chartered Organization         Childrens Home Of Northern Ky                              Dan Beard Council, Bsa 438                200 Home Rd                                          Covington, KY 41011‐1942                                                                                             First Class Mail
Chartered Organization         Childrens Home Wyoming Un Meth Conf                        Baden‐Powell Council 368                  1182 Chenango St                                     Binghamton, NY 13901‐1653                                                                                            First Class Mail
Chartered Organization         Childrens Hospital & Medical Center                        Mid‐America Council 326                   8200 Dodge St                                        Omaha, NE 68114‐4113                                                                                                 First Class Mail
Chartered Organization         Children'S Hospital Medical Center                         Great Trail 433                           1 Perkins Sq                                         Akron, OH 44308‐1063                                                                                                 First Class Mail
Chartered Organization         Childrens Leadership Academy                               Grand Canyon Council 010                  1648 S 16th St                                       Phoenix, AZ 85034‐5340                                                                                               First Class Mail
Chartered Organization         Childrens Mercy Hospital                                   Heart of America Council 307              2401 Gillham Rd                                      Kansas City, MO 64108‐4619                                                                                           First Class Mail
Chartered Organization         Children'S Place Preschool                                 Cradle of Liberty Council 525             6006 Colgate St                                      Philadelphia, PA 19111‐6005                                                                                          First Class Mail
Chartered Organization         Children'S Place Preschool Longshore                       Cradle of Liberty Council 525             4817 Longshore Ave                                   Philadelphia, PA 19135                                                                                               First Class Mail
Chartered Organization         Childrens Therapy Center                                   Northern New Jersey Council, Bsa 333      125 Bauer Dr                                         Oakland, NJ 07436‐3123                                                                                               First Class Mail
Chartered Organization         Childress Elks Lodge 1113                                  Golden Spread Council 562                 P.O. Box 427                                         Childress, TX 79201‐0427                                                                                             First Class Mail
Chartered Organization         Chilhowee Rod And Gun Club                                 Great Smoky Mountain Council 557          P.O. Box 345                                         Athens, TN 37371‐0345                                                                                                First Class Mail
Voting Party                   Chilhowie United Methodist Church                          Attn: Kyra Bishop, Treasurer              P.O. Box 367                                         Chilhowie, VA 24319                                                kbishop@berryhomecenter.com                       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Chili Fire Dept, Inc                                       Seneca Waterways 397                      3231 Chili Ave                                       Rochester, NY 14624‐5411                                                                                             First Class Mail
Chartered Organization         Chili Lions Club                                           Seneca Waterways 397                      P.O. Box 24                                          North Chili, NY 14514‐0024                                                                                           First Class Mail
Chartered Organization         Chillicothe Elks Lodge 656                                 Grace Episcopal Church                    421 Elm St                                           Chillicothe, MO 64601‐2610                                                                                           First Class Mail
Chartered Organization         Chillicothe Primary School                                 Simon Kenton Council 441                  235 Cherry St                                        Chillicothe, OH 45601‐2350                                                                                           First Class Mail
Voting Party                   Chilmark Community Church United Methodist                 Attn: Kathy Teel                          9 Menemsha Crossroad                                 Chilmark, MA 02535                                                 chilmarkchurch@gmail.com                          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         China Baptist Church                                       Pine Tree Council 218                     P.O. Box 6095                                        China Village, ME 04926‐0095                                                                                         First Class Mail
Chartered Organization         China Grove Utd Methodist Church                           Central N Carolina Council 416            110 W Church St                                      China Grove, NC 28023‐2102                                                                                           First Class Mail
Chartered Organization         China Utd Methodist Church                                 Three Rivers Council 578                  P.O. Box 8                                           China, TX 77613‐0008                                                                                                 First Class Mail
Voting Party                   Chinchilla United Methodist Church (078144)                c/o Bentz Law Firm                        Attn: Leonard Spagnolo                               680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspangolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Chinchilla United Methodist Church (078144)                c/o Bentz Law Firm                        Attn: Leonard Spagnolo                               680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Chinese American Scouting Assoc                            Silicon Valley Monterey Bay 055           1618 Cheney Ct                                       San Jose, CA 95128‐3602                                                                                              First Class Mail
Chartered Organization         Chinese Baptist Church                                     Chief Seattle Council 609                 5801 Beacon Ave S                                    Seattle, WA 98108‐3103                                                                                               First Class Mail
Chartered Organization         Chinese Church Of Christ                                   Silicon Valley Monterey Bay 055           1490 Saratoga Ave                                    San Jose, CA 95129‐4935                                                                                              First Class Mail
Voting Party                   Chinese United Methodist Church                            Attn: Cumc Office                         69 Madison St                                        New York, NY 10002                                                 office@cumc.nyc                                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Chino Police Dept                                          California Inland Empire Council 045      5450 Guardian Way                                    Chino, CA 91710‐1210                                                                                                 First Class Mail
Chartered Organization         Chino Rotary Club                                          California Inland Empire Council 045      P.O. Box 116                                         Chino, CA 91708‐0116                                                                                                 First Class Mail
Voting Party                   Chino United Methodist Church                              Attn: William Hogarth                     5201 Riverside Dr                                    Chino, CA 91710                                                    revmatt@chinoumc.org                              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Chino Valley Fire Dept                                     California Inland Empire Council 045      14011 Civic Center                                   Chino Hills, CA 91709                                                                                                First Class Mail
Chartered Organization         Chino Valley Masonic Lodge                                 California Inland Empire Council 045      3955 Thomas St                                       Pomona, CA 91766                                                                                                     First Class Mail
Chartered Organization         Chinook Ptsa                                               Cascade Pacific Council 492               1900 NW Bliss Rd                                     Vancouver, WA 98685‐1824                                                                                             First Class Mail
Chartered Organization         Chip Ganassi Racing                                        Crossroads of America 160                 7777 Woodland Dr                                     Indianapolis, IN 46278‐1794                                                                                          First Class Mail
Voting Party                   Chippewa United Methodist Church (95640)                   c/o Bentz Law Firm                        Attn: Leonard Spagnolo                               680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Chippewa Utd Methodist Church                              Laurel Highlands Council 527              2545 Darlington Rd                                   Beaver Falls, PA 15010‐1226                                                                                          First Class Mail
Chartered Organization         Chippewa Valley Bible Church                               Chippewa Valley Council 637               531 E South Ave                                      Chippewa Falls, WI 54729‐3402                                                                                        First Class Mail
Chartered Organization         Chippewa Valley Family Ymca                                Chippewa Valley Council 637               611 Jefferson Ave                                    Chippewa Falls, WI 54729‐1353                                                                                        First Class Mail
Chartered Organization         Chippewa Valley High School                                Chippewa Valley Council 637               2820 E Park Ave                                      Chippewa Falls, WI 54729‐3598                                                                                        First Class Mail
Voting Party                   Chiquola United Methodist Church                           Attn: Beth Smith                          129 W Greer St                                       Honea Path, SC 29654                                               gsv1003@gmail.com                                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Chiquola United Methodist Church                           Attn: Gregg Scott Varner                  P.O. Box 375                                         Honea Path, SC 29654                                               gsv1003@gmail.com                                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Chiquola Utd Methodist Church                              Blue Ridge Council 551                    405 Chiquola Ave                                     Honea Path, SC 29654‐1617                                                                                            First Class Mail
Chartered Organization         Chisago Lake Ev Lutheran                                   Northern Star Council 250                 1 Summit Ave                                         Center City, MN 55012                                                                                                First Class Mail
Chartered Organization         Chisago Lakes Lions                                        Northern Star Council 250                 P.O. Box 135                                         Chisago City, MN 55013‐0135                                                                                          First Class Mail
Chartered Organization         Chisholm Elementary School P.T.A.                          Cimarron Council 474                      300 Colorado Ave                                     Enid, OK 73701‐6621                                                                                                  First Class Mail
Chartered Organization         Chisholm Hills Church Of Christ                            Greater Alabama Council 001               2810 Chisholm Rd                                     Florence, AL 35630‐1016                                                                                              First Class Mail
Voting Party                   Chittenango United Methodist Church                        Attn: Treasurer. Chittenango Umc          205 Falls Blvd                                       Chittenango, NY 13037                                              chittenangoumc@gmail.com                          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Choconut Center United Methodist Church                    Attn: Treasurer, Choconut Center Umc      5 Lewis Rd                                           Binghamton, NY 13905                                               ccumc@stny.rr.com                                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Choctaw Police Dept                                        Choctaw Area Council 302                  125 River Ridge Cir                                  Philadelphia, MS 39350‐1009                                                                                          First Class Mail
Voting Party                   Choctaw United Methodist Church                            Attn: Treasurer                           1200 N Choctaw Rd                                    Choctaw, OK 73020                                                  office@choctawumc.com                             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Choctaw Volunteer Fire Dept                                Southeast Louisiana Council 214           2854 Choctaw Rd                                      Thibodaux, LA 70301‐8900                                                                                             First Class Mail
Chartered Organization         Chopmist Hill Volunteer Fire Dept                          Narragansett 546                          1362 Chopmist Hill Rd                                North Scituate, RI 02857‐1577                                                                                        First Class Mail
Chartered Organization         Choteau Lions Club                                         Montana Council 315                       Lions Hall                                           Choteau, MT 59422                                                                                                    First Class Mail
Chartered Organization         Chouteau Utd Methodist Church                              Indian Nations Council 488                104 S Hayden St                                      Chouteau, OK 74337                                                                                                   First Class Mail
Chartered Organization         Chowchilla Friends Of Scouting                             Sequoia Council 027                       128 Holiday Way                                      Chowchilla, CA 93610‐2019                                                                                            First Class Mail
Chartered Organization         Chp ‐ Santa Fe Springs                                     Greater Los Angeles Area 033              10051 Orr and Day Rd                                 Santa Fe Springs, CA 90670‐3578                                                                                      First Class Mail
Chartered Organization         Chp ‐ Visalia                                              Sequoia Council 027                       5025 W Noble Ave                                     Visalia, CA 93277‐8310                                                                                               First Class Mail
Chartered Organization         Chp Explorer Post 460                                      Greater Yosemite Council 059              1500 Bell Dr                                         Atwater, CA 95301‐9651                                                                                               First Class Mail
Chartered Organization         Chp North Sac Explorer Post                                Golden Empire Council 047                 5109 Tyler St                                        Sacramento, CA 95841‐2527                                                                                            First Class Mail
Chartered Organization         Chp South Los Angeles                                      Greater Los Angeles Area 033              19700 Hamilton Ave                                   Torrance, CA 90502‐1310                                                                                              First Class Mail
Voting Party                   Chris Caterson                                             4110 Turnpike Rd                          Montrose, PA 18801                                                                                                      chris@littleandnelson.com                         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Chrismar Mapping Services, Inc                             7 Wilson St                               Uxbridge, On L9P 1H8                                 Canada                                                                                                               First Class Mail
Voting Party                   Christ ‐ Newark Umc                                        Attn: Cindy Kosik                         1149 Hebron Rd                                       Heath, OH 43056                                                    sebritton@windstream.net                          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ & Holy Trinity Episcopal Church                     Connecticut Yankee Council Bsa 072        55 Myrtle Ave                                        Westport, CT 06880‐3510                                                                                              First Class Mail
Voting Party                   Christ & St. John's Episcopal Church                       Attn: Patricia Ann Beauhamois             P.O. Box 240                                         Champlain, NY 12919                                                pbeauharnois@aol.com                              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ 410 N Holden Rd Greensboro, NC 27410                c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                   100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Alive Community Church                              W D Boyce 138                             9320 Route 150                                       Edwards, IL 61528                                                                                                    First Class Mail
Voting Party                   Christ And Grace Episcopal Church                          1545 S Sycamore St                        Petersburg, VA 23805                                                                                                    rteasley@christandgrace.org                       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ And Holy Trinity                                    Attn: John D. Betit                       55 Myrtle Ave                                        Westport, CT 06880                                                 jbetit@chtwestport.org                            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Baptist Church Of Raleigh, Inc                      Attn: Mr. Kim B. Faucette Administrator   400 Newton Rd                                        Raleigh, NC 27615                                                  kim@christbaptist.org                             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ By The Sea Umc                                      c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                   100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Chapel Community Church                             Flint River Council 095                   115 Sullivan Rd                                      Zebulon, GA 30295‐3420                                                                                               First Class Mail
Chartered Organization         Christ Chapel Wesleyan Church                              Seneca Waterways 397                      1410 Lake Rd W Frk                                   Hamlin, NY 14464‐9510                                                                                                First Class Mail
Voting Party                   Christ Chapel Wesleyan Church                              Attn: Rev. Roberta May Davis              1410 Lake Rd, West Fork                              P.O. Box 322                      Hamlin, NY 14464                 CCWC1410@outlook.com                              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Church                                              Greater St Louis Area Council 312         26 N 14th St                                         Belleville, IL 62220‐1014                                                                                            First Class Mail
Chartered Organization         Christ Church                                              Pathway To Adventure 456                  1492 Henry Ave                                       Des Plaines, IL 60016‐6641                                                                                           First Class Mail
Chartered Organization         Christ Church                                              Daniel Webster Council, Bsa 330           43 Pine St                                           Exeter, NH 03833‐2720                                                                                                First Class Mail
Chartered Organization         Christ Church                                              Pine Tree Council 218                     6 Dane St                                            Kennebunk, ME 04043‐7054                                                                                             First Class Mail
Chartered Organization         Christ Church                                              Coastal Carolina Council 550              2304 N Hwy 17                                        Mount Pleasant, SC 29466‐9172                                                                                        First Class Mail
Chartered Organization         Christ Church                                              Northeast Illinois 129                    470 Maple St                                         Winnetka, IL 60093‐2652                                                                                              First Class Mail
Voting Party                   Christ Church                                              Roseann Degennaro                         524 Park Ave                                         New York, NY 10065                                                 roseann@christchurchnyc.org                       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church                                              c/o Christ Episcopal Church               90 Kings Hwy                                         Middletown, NJ 07748                                               office@christchurchmiddletown.org                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church & Trinity Lutheran (Sheffield)E)             c/o The Tamposi Law Group, PC             Attn: Peter N Tamposi                                159 Main St                       Nashua, NH 03060                 peter@thetamposilawgroup.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church (Easton)                                     c/o The Law Office of Andrea Ross         Attn: Andrea Ross, Esq                               129 N West St, Ste 1              Easton, MD 21601                 Andie@AndieRossLaw.com                            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church (Episcopal) Incorporated                     Attn: John Brice                          250 W Main St, Ste 1600                              Lexington, KY 40507                                                jbrice@wyattfirm.com                              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church (Exeter)                                     c/o The Tamposi Law Group, PC             Attn: Peter N Tamposi                                159 Main St                       Nashua, NH 03060                 peter@thetamposilawgroup.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church (Fitchburg)                                  c/o The Tamposi Law Group, PC             Attn: Peter N Tamposi                                159 Main St                       Nashua, NH 03060                 peter@thetamposilawgroup.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church (North Brookfield)                           c/o The Tamposi Law Group, PC             Attn: Peter N Tamposi                                159 Main St                       Nashua, NH 03060                 peter@thetamposilawgroup.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church (North Conway)                               c/o The Tamposi Law Group, PC             Attn: Peter N Tamposi                                159 Main St                       Nashua, NH 03060                 peter@thetamposilawgroup.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church (Portsmouth)                                 c/o The Tamposi Law Group, PC             Attn: Peter N Tamposi                                159 Main St                       Nashua, NH 03060                 peter@thetamposilawgroup.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church (Rochdale)                                   c/o The Tamposi Law Group, PC             Attn: Peter N Tamposi                                159 Main St                       Nashua, NH 03060                 peter@thetamposilawgroup.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church (St Michaels)                                c/o The Law Office of Andrea Ross         Attn: Andrea Ross, Esq                               129 N West St, Ste 1              Easton, MD 21601                 Andie@AndieRossLaw.com                            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Church Anglican                                     Heart of America Council 307              5500 W 91st St                                       Overland Park, KS 66207‐2136                                                                                         First Class Mail
Chartered Organization         Christ Church At Goshen                                    Lincoln Heritage Council 205              12001 W Hwy 42                                       Goshen, KY 40026‐9793                                                                                                First Class Mail
Voting Party                   Christ Church Bay Ridge Brooklyn, NY 11209                 7301 Ridge Blvd                           Brooklyn, NY 11209                                                                                                      parishadministrator@christchurchbayridge.org      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church Cathedral (Springfield)                      c/o The Tamposi Law Group, PC             Attn: Peter N Tamposi                                159 Main St                       Nashua, NH 03060                 peter@thetamposilawgroup.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church Christiana Hundred                           Attn: Rev Ruth L Beresford                505 E Buck Rd                                        Wilmington, DE 19807                                               rberesford@christchurchde.org                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church Cranbrook                                    Attn: Fr. William Danaher                 470 Church Rd                                        Bloomfield Hills, MI 48304                                         wdanaher@christchurchcranbrook.org                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Church Episcopal                                    Pine Tree Council 218                     1 Pleasant St                                        Gardiner, ME 04345‐2129                                                                                              First Class Mail
Chartered Organization         Christ Church Episcopal                                    Pine Tree Council 218                     2 Dresden Ave                                        Gardiner, ME 04345‐2633                                                                                              First Class Mail
Chartered Organization         Christ Church Episcopal                                    Connecticut Rivers Council, Bsa 066       9 S Main St                                          Sharon, CT 06069                                                                                                     First Class Mail
Voting Party                   Christ Church Episcopal                                    Attn: Shirley Smith Graham                5000 Pouncey Tract Rd                                Glen Allen, VA 23059                                               s.smithgraham@ccerva.org                          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church Episcopal                                    671 Rte 28                                Harwich Port, MA 02646                                                                                                  revmom87@outlook.com                              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church Episcopal                                    524 N 5th St                              Beatrice, NE 68310                                                                                                      christchurchbaptism@gmail.com                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                       Page 56 of 442
                                                                                    Case 20-10343-LSS                                                     Doc 8171                                                Filed 01/06/22                                            Page 72 of 457
                                                                                                                                                                                               Exhibit B
                                                                                                                                                                                                Service List
                                                                                                                                                                                         Served as set forth below

        Description                                                          Name                                                                                                            Address                                                                                                          Email                      Method of Service
Voting Party                   Christ Church Episcopal                                     Attn: Charlotte Collins Reed                          21 Aurora St                                                     Hudson, OH 44236                                                    charlotte.reed@christchurchhudson.org   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Church Episcopal Church                              Blue Ridge Council 551                                10 N Church St                                                   Greenville, SC 29601‐2809                                                                                   First Class Mail
Chartered Organization         Christ Church Episcopal Church                              Indian Nations Council 488                            10901 S Yale Ave                                                 Tulsa, OK 74137‐7211                                                                                        First Class Mail
Chartered Organization         Christ Church Episcopal Norcross                            Atlanta Area Council 092                              400 Holcomb Bridge Rd                                            Norcross, GA 30071‐2040                                                                                     First Class Mail
Chartered Organization         Christ Church Episcopal Parish                              Blue Ridge Council 551                                10 N Church St                                                   Greenville, SC 29601‐2809                                                                                   First Class Mail
Voting Party                   Christ Church Episcopal Parish                              c/o Squire Patton Boggs (Us) LLP                      Attn: Mark A Salzberg                                            2550 M St NW                       Washington, DC 20037             mark.salzberg@squirepb.com              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church Episcopal Parish                              Attn: Alison Morna Schultz                            1060 Chandler Rd                                                 Lake Oswego, OR 97034                                               aschultz@ccparish.org                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church Episcopal, Harlan                             P.O. Box 858                                          Harlan, KY 40831                                                                                                                     bkibler@diolex.org                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church Federated                                     6 Dane St                                             Kennebunk, ME 04043                                                                                                                  christchurchbk@gmail.com                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Church Fox Chapel                                    Laurel Highlands Council 527                          630 Squaw Run Rd E                                               Pittsburgh, PA 15238‐1924                                                                                   First Class Mail
Voting Party                   Christ Church Huron, OH                                     Attn: Michael Floyd                                   120 Ohio St                                                      Huron, OH 44839                                                     christchurch@bex.net                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Church In Short Hills                                Northern New Jersey Council, Bsa 333                  66 Highland Ave                                                  Short Hills, NJ 07078‐2829                                                                                  First Class Mail
Voting Party                   Christ Church In The City Of New Brunswick                  Attn: Business Operations Manager                     5 Paterson St                                                    New Brunswick, NJ 08901                                             mark.mcmahon@christchurchnewbrunsw      Email
                                                                                                                                                                                                                                                                                      ick.org                                 First Class Mail
Voting Party                   Christ Church In The Town Of Oyster Bay                     Attn: Michael John Piret                              55 E Main St                                                     Oyster Bay, NY 11771                                                office@christchurchoysterbay.org        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Church Irving                                        Circle Ten Council 571                                1750 E Airport Fwy                                               Irving, TX 75062‐4825                                                                                       First Class Mail
Voting Party                   Christ Church Iu (Worton)                                   c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                           129 N West St, Ste 1               Easton, MD 21601                 Patrick@DioceseofEaston.org             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church La Crosse                                     c/o Ruder Ware Llsc                                   Attn: Randi Osberg                                               402 Graham Ave, 6th Fl             Eau Claire, WI 54701             rosberg@ruderware.com                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church La Crosse                                     c/o Diocese of Eau Claire Inc                         Attn: Treasurer                                                  510 S Farwell                      Eau Claire, WI 54701                                                     First Class Mail
Voting Party                   Christ Church Manhasset                                     1351 Northern Blvd                                    Manhasset, NY 11030                                                                                                                  stamke@christchurchmanhasset.org        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church Middle Haddam Ct                              Attn: Ann Perrott                                     P.O. Box 81                                                      Middle Haddam, CT 06456                                             ann@perrotts.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Church New Brighton                                  Greater New York Councils, Bsa 640                    76 Franklin Ave                                                  Staten Island, NY 10301‐1239                                                                                First Class Mail
Voting Party                   Christ Church New Brighton                                  Attn: Andrea S Morse, Esq                             391 Forest Ave                                                   Staten Island, NY 10301                                             asmorselaw@mindspring.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church Of Bath, United Church Of Christ              109 S Chestnut St                                     Bath, PA 18014                                                                                                                       pastormike@rcn.com                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church Of Ramapo                                     Attn: Richard Smith                                   65 Washington Ave                                                Suffern, NY 10901                                                   richcsmith3@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Church Of The Valley                                 Southern Sierra Council 030                           13701 Stockdale Hwy                                              Bakersfield, CA 93314‐9662                                                                                  First Class Mail
Chartered Organization         Christ Church Of The Valley                                 Daniel Boone Council 414                              P.O. Box 2863                                                    Cashiers, NC 28717‐2863                                                                                     First Class Mail
Chartered Organization         Christ Church Parish                                        Gulf Coast Council 773                                18 W Wright St                                                   Pensacola, FL 32501‐4830                                                                                    First Class Mail
Voting Party                   Christ Church Parish                                        Philip S Brown                                        56 Christ Church Ln P.O. Box 476                                 Urbanna, VA 23149                                                   ccparish1666@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church Parish                                        P.O. Box 476                                          Saluda, VA 23149                                                                                                                     ccparish1666@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church Parish, Kent Island                           c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                           129 N West St, Ste 1               Easton, MD 21601                 Andie@AndieRossLaw.com                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Church Presbyerian                                   Northwest Georgia Council 100                         510 S Tibbs Rd                                                   Dalton, GA 30720‐3963                                                                                       First Class Mail
Chartered Organization         Christ Church Presbyterian                                  Hawkeye Area Council 172                              2000 1st Ave Nw                                                  Cedar Rapids, IA 52405‐4706                                                                                 First Class Mail
Chartered Organization         Christ Church Presbyterian                                  Northwest Georgia Council 100                         510 S Tibbs Rd                                                   Dalton, GA 30720‐3963                                                                                       First Class Mail
Chartered Organization         Christ Church Quaker Farms                                  Housatonic Council, Bsa 069                           470 Quaker Farms Rd                                              Oxford, CT 06478‐1307                                                                                       First Class Mail
Chartered Organization         Christ Church Sierra Madre                                  Greater Los Angeles Area 033                          170 W Sierra Madre Blvd                                          Sierra Madre, CA 91024‐2435                                                                                 First Class Mail
Voting Party                   Christ Church United                                        Attn: Treasurer                                       1 Bartlett St                                                    Lowell, MA 01852                                                    ccuoffice@wewelcomeall.org              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church United Methodist                              Attn: President, Board of Trustees                    690 Colorado Blvd                                                Denver, CO 80206                                                    trustees@christchurchcolorado.org       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church United Methodist                              Attn: Rev Stephen Bauman                              4111 Broadway                                                    New York, NY 10033                                                  stephen@christchurchnyc.org             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church United Methodist                              Attn: Rev Stephen Bauman                              524 Park Ave                                                     New York, NY 10065                                                  stephen@christchurchnyc.org             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church United Methodist                              Attn: Robert Dennison, Treasurer Christ Church Um     1539 West Pike St                                                Clarksburg, WV 26301                                                rdenniso@aol.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church United Methodist                              Attn: Thad Marshall, Controller                       6363 Research Forest Dr                                          The Woodlands, TX 77381                                             jpowers@cc‐um.org                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church United Methodist                              Attn: Treasurer                                       1221 Quarrier St                                                 Charleston, WV 25301                                                jayparkins@msn.com                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church United Methodist                              Attn: Barb Ann Zirkelbach                             5109 Washington Ave                                              Racine, WI 53406                                                    christcumc@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church United Methodist                              Attn: Randall Paige                                   545 Old Town Rd                                                  Port Jefferson Station, NY 11776                                    admin@ccpjs.org                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church United Methodist, Glens Falls                 Attn: Treasurer                                       54 Bay St                                                        Glens Falls, NY 12801                                               rweihing.ccgf@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church United Methodist, Inc                         c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church United Methodist, Southwick, MA               Attn: Ken Blanchard                                   98 The Laurels                                                   Enfield, CT 06082                                                   kenblan1980@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Church Utd                                           The Spirit of Adventure 227                           10 Arlington St                                                  Dracut, MA 01826‐3914                                                                                       First Class Mail
Chartered Organization         Christ Church Utd Methodist                                 Greater Alabama Council 001                           5091 Caldwell Mill Rd                                            Birmingham, AL 35242‐4525                                                                                   First Class Mail
Chartered Organization         Christ Church Utd Methodist                                 Monmouth Council, Bsa 347                             300 Ridge Rd                                                     Fair Haven, NJ 07704‐3431                                                                                   First Class Mail
Chartered Organization         Christ Church Utd Methodist Church                          Lincoln Heritage Council 205                          4614 Brownsboro Rd                                               Louisville, KY 40207‐1745                                                                                   First Class Mail
Voting Party                   Christ Church Winnetka                                      Attn: The Rev. Christopher Powell, Rector             470 Maple Ave                                                    Winnetka, IL 60093                                                  capowell430@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church, Babylon                                      12 Prospect St                                        Babylon, NY 11702                                                                                                                    secretaryccbny@optonline.net            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church, Bay Saint Louis, Mississippi                 Attn: Marcus M Wilson                                 190 E Capitol St, Ste 650                                        Jackson, MS 39201                                                   mwilson@blswlaw.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church, Bay Saint Louis, Mississippi                 Attn: George Riviere                                  912 S Beach Blvd                                                 Bay St Louis, MS 39520                                              georgeriviere@bellsouth.net             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church, Bronxville Ny                                Attn: Jennifer Redman                                 17 Sagamore Rd                                                   Bronxville, NY 10708                                                warden@ccbny.org                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church, Huron, Ohio                                  Attn: Michael Floyd                                   120 Ohio St                                                      Huron, OH 44839                                                     christchurch@bex.net                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church, Pittsford                                    Attn: Rev Dr Ronald B Young                           36 S Main St                                                     Pittsford, NY 14534                                                 ronald@christchurchpittsford.com        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church, Port Republic                                3100 Broomes Island Rd                                Port Republic, MD 20676                                                                                                              info@christchurchcalvert.org            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church, United Methodist, Inc                        Attn: Shannon Herlihy Mcconnell                       4614 Brownsboro Rd                                               Louisville, KY 40207                                                shannon@ccum.net                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church, United Methodist, Inc                        c/o Fultz Maddox Dickens Plc                          Attn: Phillip A Martin                                           101 S 5th St, 27th Fl              Louisville, KY 40202             shannon@ccum.net                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Church, Utd Church Of Christ                         Pennsylvania Dutch Council 524                        247 S Market St                                                  Elizabethtown, PA 17022‐2419                                                                                First Class Mail
Voting Party                   Christ Church, Woodbury, Nj                                 Attn: Fr Brian K Burgess                              62 Delaware St                                                   Woodbury, NJ 08096                                                  frburgess@christchurch.woodburynj.org   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Church: Fair Haven                                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Clarion Presbyterian Church                          Seneca Waterways 397                                  415 Thornell Rd                                                  Pittsford, NY 14534‐9738                                                                                    First Class Mail
Chartered Organization         Christ Community Church                                     National Capital Area Council 082                     21660 Red Rum Dr                                                 Ashburn, VA 20147‐7521                                                                                      First Class Mail
Chartered Organization         Christ Community Church                                     Middle Tennessee Council 560                          1530 Woodland Ave                                                Cookeville, TN 38501‐1372                                                                                   First Class Mail
Chartered Organization         Christ Community Church                                     Istrouma Area Council 211                             P.O. Box 1113                                                    Denham Springs, LA 70727‐1113                                                                               First Class Mail
Chartered Organization         Christ Community Church                                     Crossroads of America 160                             13097 Allisonville Rd                                            Fishers, IN 46038‐1023                                                                                      First Class Mail
Chartered Organization         Christ Community Church                                     Middle Tennessee Council 560                          1215 Hillsboro Rd                                                Franklin, TN 37069‐4642                                                                                     First Class Mail
Chartered Organization         Christ Community Church                                     Heart of America Council 307                          1100 Kasold Dr                                                   Lawrence, KS 66049‐3418                                                                                     First Class Mail
Chartered Organization         Christ Community Church                                     Greater Tampa Bay Area 089                            1895 Overlook Dr                                                 Winter Haven, FL 33884‐1155                                                                                 First Class Mail
Chartered Organization         Christ Community Church ‐ Montreat                          Daniel Boone Council 414                              396 Geneva Pl                                                    Montreat, NC 28757                                                                                          First Class Mail
Voting Party                   Christ Community Church (04350)                             c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Community Church Of The Nazarene                     Heart of America Council 307                          21385 College Blvd                                               Olathe, KS 66061‐7342                                                                                       First Class Mail
Chartered Organization         Christ Community Church Of The Nazarene                     Longhouse Council 373                                 3644 Warners Rd                                                  Syracuse, NY 13209‐9603                                                                                     First Class Mail
Chartered Organization         Christ Community Church, Milpitas                           Silicon Valley Monterey Bay 055                       1000 S Park Victoria Dr                                          Milpitas, CA 95035‐6994                                                                                     First Class Mail
Voting Party                   Christ Community Umc                                        c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Community United Methodist Church                    c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Community United Methodist Church (86736)            c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Community United Methodist Church (86736)            c/o Bentz Law Firm                                    Attn: Leonard Spagnolo & Daniel Maier                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Community Utd Methodist                              Grand Canyon Council 010                              104 W Wern Ave                                                   Avondale, AZ 85323                                                                                          First Class Mail
Chartered Organization         Christ Community Utd Methodist Church                       Yucca Council 573                                     P.O. Box 24063                                                   El Paso, TX 79914‐0063                                                                                      First Class Mail
Voting Party                   Christ Community Wesleyan Church                            Attn: Todd Wood                                       6275 Kenney Memorial Ln                                          Albany, OH 45710                                                    todd@ccwconline.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ Congregational Church                                Connecticut Rivers Council, Bsa 066                   1075 Main St                                                     Newington, CT 06111‐2917                                                                                    First Class Mail
Chartered Organization         Christ Congregational Church                                National Capital Area Council 082                     9525 Colesville Rd                                               Silver Spring, MD 20901‐4843                                                                                First Class Mail
Chartered Organization         Christ Episc Ch Christ Lutheran Ch                          Lincoln Heritage Council 205                          P.O. Box 1054                                                    Elizabethtown, KY 42702‐1054                                                                                First Class Mail
Chartered Organization         Christ Episcopal Church                                     Columbia‐Montour 504                                  712 E 16th St                                                    Berwick, PA 18603‐2302                                                                                      First Class Mail
Chartered Organization         Christ Episcopal Church                                     Capitol Area Council 564                              P.O. Box 638                                                     Cedar Park, TX 78630‐0638                                                                                   First Class Mail
Chartered Organization         Christ Episcopal Church                                     Hawkeye Area Council 172                              220 40th St Ne                                                   Cedar Rapids, IA 52402‐5616                                                                                 First Class Mail
Chartered Organization         Christ Episcopal Church                                     Istrouma Area Council 211                             120 S New Hampshire St                                           Covington, LA 70433‐3500                                                                                    First Class Mail
Chartered Organization         Christ Episcopal Church                                     Circle Ten Council 571                                534 W 10th St                                                    Dallas, TX 75208‐4720                                                                                       First Class Mail
Chartered Organization         Christ Episcopal Church                                     Great Lakes Fsc 272                                   120 N Military St                                                Dearborn, MI 48124‐1035                                                                                     First Class Mail
Chartered Organization         Christ Episcopal Church                                     Atlanta Area Council 092                              1210 Wooten Lake Rd Nw                                           Kennesaw, GA 30144‐1347                                                                                     First Class Mail
Chartered Organization         Christ Episcopal Church                                     Great Trail 433                                       118 S Mantua St                                                  Kent, OH 44240‐3437                                                                                         First Class Mail
Chartered Organization         Christ Episcopal Church                                     Palmetto Council 549                                  534 Plantation Rd                                                Lancaster, SC 29720‐5805                                                                                    First Class Mail
Chartered Organization         Christ Episcopal Church                                     Pacific Skyline Council 031                           1040 Border Rd                                                   Los Altos, CA 94024‐4724                                                                                    First Class Mail
Chartered Organization         Christ Episcopal Church                                     Coastal Carolina Council 550                          2304 N Hwy 17                                                    Mount Pleasant, SC 29466‐9172                                                                               First Class Mail
Chartered Organization         Christ Episcopal Church                                     Atlanta Area Council 092                              400 Holcomb Bridge Rd                                            Norcross, GA 30071‐2040                                                                                     First Class Mail
Chartered Organization         Christ Episcopal Church                                     Five Rivers Council, Inc 375, 1st St                  Corning, NY 14830                                                                                                                                                            First Class Mail
Chartered Organization         Christ Episcopal Church                                     North Florida Council 087                             400 San Juan Dr                                                  Ponte Vedra Beach, FL 32082‐2838                                                                            First Class Mail
Chartered Organization         Christ Episcopal Church                                     Hudson Valley Council 374                             20 Carroll St                                                    Poughkeepsie, NY 12601‐4314                                                                                 First Class Mail
Chartered Organization         Christ Episcopal Church                                     Coastal Georgia Council 099                           305 Wheeler St                                                   Saint Marys, GA 31558‐8431                                                                                  First Class Mail
Chartered Organization         Christ Episcopal Church                                     Lake Erie Council 440                                 3445 Warrensville Center Rd                                      Shaker Heights, OH 44122‐5206                                                                               First Class Mail
Chartered Organization         Christ Episcopal Church                                     Southeast Louisiana Council 214                       1534 7th St                                                      Slidell, LA 70458‐2847                                                                                      First Class Mail
Chartered Organization         Christ Episcopal Church                                     Jersey Shore Council 341                              157 Shore Rd                                                     Somers Point, NJ 08244‐2752                                                                                 First Class Mail
Chartered Organization         Christ Episcopal Church                                     National Capital Area Council 082                     8951 Courthouse Rd                                               Spotsylvania, VA 22553‐2517                                                                                 First Class Mail
Chartered Organization         Christ Episcopal Church                                     Ozark Trails Council 306                              601 E Walnut St                                                  Springfield, MO 65806‐2419                                                                                  First Class Mail
Chartered Organization         Christ Episcopal Church                                     Del Mar Va 081                                        830 Romancoke Rd                                                 Stevensville, MD 21666‐2790                                                                                 First Class Mail
Chartered Organization         Christ Episcopal Church                                     Black Warrior Council 006                             605 Lurleen B Wallace Blvd N                                     Tuscaloosa, AL 35401‐1712                                                                                   First Class Mail
Chartered Organization         Christ Episcopal Church                                     Great Trail 433                                       2627 Atlantic St Ne                                              Warren, OH 44483‐4423                                                                                       First Class Mail
Chartered Organization         Christ Episcopal Church                                     Northern Star Council 250                             7305 Afton Rd                                                    Woodbury, MN 55125‐1501                                                                                     First Class Mail
Voting Party                   Christ Episcopal Church                                     Attn: Rev Douglas Moyer                               205 N 7th St                                                     Stroudsburg, PA 18360                                               vrubino@newmanwilliams.com              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     6800 Oakland Mills Rd                                 Columbia, MD 21045                                                                                                                   revmanny@christchurchcolumbia.org       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     Attn: The Reverend Noelle York‐Simmons                118 N Washington St                                              Alexandria, VA 22314                                                rector@ccalex.org                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     2000 Main St                                          Stratford, CT 06615                                                                                                                  mompat101@aol.com                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     Attn: COO                                             1412 Providence Rd                                               Charlotte, NC 28207                                                 mauneyw@christchurchcharlotte.org       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     Attn: Mark A Salzberg, Squire Patton Boggs (Us) LLP   2550 M St, Nw                                                    Washington, DC 20037                                                mark.salzberg@squirepb.com              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     Attn: Michelle Roach                                  151 W Church Ave                                                 Longwood, FL 32750                                                  longwoodchristchurch@gmail.com          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     Attn: Kathy Pope                                      P.O. Box 298                                                     Glenrock, WY 82637                                                  kmpope7@hotmail.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     Attn: Peter Nicolaysen                                P.O. Box 7                                                       Casper, WY 82602                                                    kmpope7@hotmail.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     Attn: James Howsmon                                   162 S Main St                                                    Oberlin, OH 44074                                                   jhowsmon@oberlin.edu                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     P.O. Box 570                                          Sag Harbor, NY 11963                                                                                                                 info@christchurchshny.org               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     14 School St                                          Medway, MA 02053                                                                                                                     info@cecmedway.org                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     Attn: Hal Hayek                                       220 40H St Ne                                                    Cedar Rapids, IA 52402                                              halh@christepiscopal.org                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     703 S Main St                                         Jefferson, TX 75667                                                                                                                  fr_john_himes@hotmail.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Episcopal Church                                     720 Riverside Ave                                     Adrian, MI 49221                                                                                                                     edjohn@frontier.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                Page 57 of 442
                                                                                      Case 20-10343-LSS                                                           Doc 8171                                         Filed 01/06/22                                            Page 73 of 457
                                                                                                                                                                                                Exhibit B
                                                                                                                                                                                                 Service List
                                                                                                                                                                                          Served as set forth below

        Description                                                          Name                                                                                                             Address                                                                                                             Email                       Method of Service
Voting Party                   Christ Episcopal Church                                           15 W High St                                            Ballston Spa, NY 12020                                                                                                        djroyjrcpc@msn.com                          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church                                           Attn: David Powell                                      2345 Grand Blvd, Ste 2200                                 Kansas City, MO 64108                                               david.powell@lathropgpm.com                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church                                           2100 N 2nd St                                           Clinton, IA 52732                                                                                                             christepiscopal2@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church                                           623 N 5th St                                            Burlington, IA 52601                                                                                                          christchurchonline@christchurchonline.com   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church                                           56 S Cliff St                                           Ansonia, CT 06401                                                                                                             christchurchans@sbcglobal.net               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church                                           Attn: Sue Bauer                                         7145 Fieldcrest Dr                                        Lockport, NY 14094                                                  cfisher@magavern.com                        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church                                           Attn: Troy Lynn Preston                                 33 E 1st St                                               Corning, NY 14830                                                   cepiscopal@yahoo.com                        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church                                           601 E Walnut St                                         Springfield, MO 65806                                                                                                         cec@christepiscopalchurch.com               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church                                           c/o Episcopal Diocese of Northwestern Pa                Attn: Sean Rowe                                           145 W 6th St                     Erie, PA 16501                     cdougan@dionwpa.org                         Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church                                           206 Poplar St                                           Elizabethtown, KY 42701                                                                                                       bnbaker83@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church                                           Attn: The Rev Alexander D Macphail, Rector              1101 Franklin Rd Sw                                       Roanoke, VA 24016                                                   amachphail@christroanoke.org                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church                                           3520 W Whitestone Blvd                                  Cedar Park, TX 78613                                                                                                          admin@cectx.org                             Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church                                           Attn: Timothy C Quinnell                                57031 5th St                                              Calumet, MI 49913                                                                                               First Class Mail
Voting Party                   Christ Episcopal Church                                           1521 N Patterson St                                     Valdosta, GA 31602                                                                                                                                                        First Class Mail
Voting Party                   Christ Episcopal Church ‐ North Hills                             Attn: The Rev Canon Kimberly Karashin                   325 Oliver Ave, Ste 300                                   Pittsburgh, PA 15222                                                sld@sgkpc.com                               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church (Bethel)                                  c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                     159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church (Cambridge)                               c/o The Law Office of Andrea Ross                       Attn: Andrea Ross, Esq                                    129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com                      Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church (Cedar Key)                               Attn: Jon Davis                                         P.O. Box 210                                              Cedar Key, FL 32625                                                 frjondavisphd@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church (Cedar Key)                               c/o Rogers Towers Pa                                    Attn: Betsy Cox, Esq                                      1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207             bcox@rtlaw.com                              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church (Denton)                                  c/o The Law Office of Andrea Ross                       Attn: Andrea Ross, Esq                                    129 N West St, Ste 1             Easton, MD 21601                   Patrick@DioceseofEaston.org                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church (Island Pond)                             c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                     159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church (Lincoln)                                 c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                     159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church (Montpelier)                              c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                     159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church (Ponte Vedra Beach)                       Thomas P. Reeder                                        400 San Juan Dr                                           Ponte Vedra Beach, FL 32082                                         treeder@christepiscopalchurch.org           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church (Ponte Vedra Beach)                       Attn: Thomas P. Reeder                                  1301 Riverplace Blvd, Ste 1500                            Jacksonville, FL 32207                                              bcox@rtlaw.com                              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church (Westerly)                                c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                     159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Amelia Virginia                           Attn: The Rev Michael Stone                             16401 Court St                                            P.O. Box 468                     Amelia, VA 23002                   michaelstone51@verizon.net                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Cathedral Corp                            c/o Ruder Ware Llsc                                     Attn: Randi Osberg                                        402 Graham Ave, 6th Fl           Eau Claire, WI 54701               rosberg@ruderware.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Cathedral Corp                            c/o Diocese of Eau Claire Inc                           Attn: Treasurer                                           510 S Farwell                    Eau Claire, WI 54701                                                           First Class Mail
Voting Party                   Christ Episcopal Church Clinton Parish Diocese Of Washington      Attn: Robert Lau                                        8710 Old Branch Ave                                       Clinton, MD 20735                                                   christchurchclinton@verizon.net             Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Corp                                      Attn: Marsha; Benjamin Day                              1210 Wooten Lake Rd                                       Kennesaw, GA 30144                                                  communications@christchurchkennesaw.com     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Covington, Louisiana                      c/o Baker Donelson                                      Attn: Mark Mercante                                       3 Sanctuary Blvd                 Mandeville, LA 70471               mmercante@bakerdonelson.com                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Dallas                                    Attn: Fabian Villalobos                                 534 W 10th St                                             Dallas, TX 75208                                                    christchurchdallas@att.net                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Dearborn Mi                               120 N Military                                          Dearborn, MI 48124                                                                                                            terri@christchurchdearborn.org              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church East Norwalk Ct                           Attn: Clerk of the Vestry                               2 Emerson St                                              Norwalk, CT 06855                                                   rexdogwoof@aol.com                          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Guilford                                  Attn: Randolph West                                     P.O. Box 574                                              Guilford, CT 06437                                                  harrisoncec@snet.net                        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church In Alameda, California                    Attn: The Rev Stephen Mchale                            1700 Santa Clara Ave                                      Alameda, CA 94501                                                   stephen@christchurchalameda.org             Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church In Los Altos, California                  Attn: The Rev Claire Dietrich Ranna                     1040 Border Rd                                            Los Altos, CA 94024                                                 claire@ccla.us                              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Christ Episcopal Church Medway                                    Mayflower Council 251                                   14 School St                                              Medway, MA 02053‐1306                                                                                           First Class Mail
Voting Party                   Christ Episcopal Church Of Bethany, Inc                           Attn: The Rev Dr Robert Clements                        526 Amity Rd                                              Bethany, CT 06524                                                   office@christchurchbethany.org              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Of Bradenton, Inc                         c/o Stichter Riedel Blain & Postler, PA                 Attn: Daniel R Fogarty                                    110 E Madison St, Ste 200        Tampa, FL 33602                    dfogarty.ecf@srbp.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Of Bradenton, Inc                         Attn: Robert Baker Rector                               4030 Manatee Ave W                                        Bradenton, FL 34205                                                                                             First Class Mail
Voting Party                   Christ Episcopal Church Of Kent, Oh                               Attn: The Rev Julie Blake Fisher                        118 S Mantua St                                           Kent, OH 44240                                                      christchurchkent@att.net                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Of Kent, Ohio                             Attn: Julie Blake Fisher                                118 S Mantua St                                           Kent, OH 44240                                                      christchurchkent@att.net                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Of Kent, Ohio                             Attn: Rev Julie Blake Fisher                            118 S Mantua St                                           Kent, OH 44240                                                      christchurchkent@att.net                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church of Shaker Heights Ohio                    3445 Warrensville Ctr Rd                                Shaker Heights, OH 44122                                                                                                      priest@cometochristchurch.com               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church of Shaker Heights Ohio                    Attn: Mark Wilson Biggerman                             3655 Traver Rd                                            Shaker Heights, OH 44122                                            Mark@mblegal.com                            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Of Shaker Heights, Ohio                   3445 Warrensville Ctr Rd                                Shaker Heights, OH 44122                                                                                                      priest@cometochristchurch.org               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Of Shaker Heights, Ohio                   Attn: Mark Wilson Biggerman                             3655 Traver Rd                                            Shaker Heights, OH 44122                                            mark@mblegal.com                            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Of Warren Ohio                            Attn: Rev J Jeffrey Baker                               2627 Atlantic St Ne                                       Warren, OH 44483                                                    finance@christchurchwarren.org              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Of Warren, Ohio                           Attn: The Rev J Jeffrey Baker                           2627 Atlantic St, NE                                      Warren, OH 44483                                                    finance@christchurchwarren.org              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Sei Ko Kai In San Francisco, California   Attn: The Rev Debra Low‐Skinner                         2140 Pierce St                                            San Francisco, CA 94115                                             revdeb95008@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Spotsylvania                              Attn: Daniel Edward Johnson                             8951 Courthouse Rd                                        Spotsylvania, VA 22553                                              rector@christchurchspotsy.com               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church Tracy City Tn                             Attn: The Rev Amy B Lamborn Stem                        213 1st Ave Nw                                            Winchester, TN 37398                                                stemvicar@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church, Bluefield, Wv                            Attn: Senior Warden                                     200 Duhring St                                            Bluefield, WV 24701                                                 wstafford@brewstermorhous.com               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church, Clayton, New York                        Attn: Martha L Berry                                    P.O. Box 3520                                             Syracuse, NY 13220                                                  riverparishes@twcny.rr.com                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church, Eastport                                 c/o The Episcopal Diocese of Maine / Martin             P.O. Box 4036                                             Portland, ME 04101                                                  bmartin@episcopalmain.org                   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church, Gardiner                                 c/o The Episcopal Diocese of Maine / Martin             P.O. Box 4036                                             Portland, ME 04101                                                  bmartin@episcopalmaine.org                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church, Hornell                                  Attn: Andrew Eklund                                     118 Crosby St                                             Hornell, NY 14843                                                   eklundag@alfred.edu                         Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church, Hornell                                  6 Center St                                             Hornell, NY 14843                                                                                                             christchurchhornell@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church, Inc Of Slidell                           1534 7th St                                             Slidell, LA 70458                                                                                                             rector@christchurchslidell.net              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church, Inc.                                     Attn: Snr. Warden, Christ Episcopal Church Inc          257 4th St                                                South Amboy, NJ 08879                                               ChristChurchSouthAmboy@outlook.com          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church, Manlius, New York                        P.O. Box 3520                                           Syracuse, NY 13220                                                                                                            marthalberry@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church, Needham                                  1132 Highland Ave                                       Needham, MA 02494                                                                                                             nick@ccneedham.org                          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church, Poughkeepsie, Ny                         Attn: Rev Susan Fortunato                               20 Carroll St                                             Poughkeepsie, NY 12601                                              rector@christchurchpok.org                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church, Tuscaloosa, Al                           Attn: Rev Rob Morpeth, Diocese of Alabama               521 N 20th St                                             Birmingham, AL 35203                                                hgould@bankfirst.com                        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Episcopal Church, Tuscaloosa, Al                           Attn: Heyward Gould                                     605 Lurleen B Wallace Blvd N                              Tuscaloosa, AL 35401                                                hgould@bankfirst.com                        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Christ Evangelical Lutheran Church                                New Birth of Freedom 544                                126 W Main St                                             Dallastown, PA 17313‐1603                                                                                       First Class Mail
Chartered Organization         Christ Evangelical Lutheran Church                                Pennsylvania Dutch Council 524                          125 E High St                                             Elizabethtown, PA 17022‐1949                                                                                    First Class Mail
Chartered Organization         Christ Evangelical Lutheran Church                                Theodore Roosevelt Council 386                          61 N Grove St                                             Freeport, NY 11520‐3039                                                                                         First Class Mail
Chartered Organization         Christ Evangelical Lutheran Church                                Mason Dixon Council 221                                 216 N Cleveland Ave                                       Hagerstown, MD 21740‐5005                                                                                       First Class Mail
Chartered Organization         Christ Evangelical Lutheran Church                                Suffolk County Council Inc 404                          P.O. Box 205                                              Islip Terrace, NY 11752‐0205                                                                                    First Class Mail
Chartered Organization         Christ Evangelical Lutheran Church                                Laurel Highlands Council 527                            Elknud Ln                                                 Johnstown, PA 15905                                                                                             First Class Mail
Chartered Organization         Christ Evangelical Lutheran Church                                Cradle of Liberty Council 525                           700 Pennsylvania Ave                                      Oreland, PA 19075‐1234                                                                                          First Class Mail
Voting Party                   Christ Evangelical Lutheran Church                                Attn: Wade Sjogren                                      35 Bank St                                                Bridgeton, NJ 08302                                                 wadesjogren@whibco.com                      Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Evangelical Lutheran Church                                Attn: Christopher Nilsen                                337 Farview Ave                                           Paramus, NJ 07652                                                   christinparamus@hotmail.com                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Christ Family Church                                              Cherokee Area Council 556                               12070 Dayton Pike                                         Soddy Daisy, TN 37379‐7518                                                                                      First Class Mail
Voting Party                   Christ Fellowship United Methodist Church                         10915 Shaenfield Rd                                     San Antonio, TX 78254                                                                                                                                                     First Class Mail
Voting Party                   Christ First Umc                                                  c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ First Umc ‐ Wasilla                                        c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ First United Methodist Church ‐ Jamestown, Ny              Attn: Kim Olofson                                       663 Lakeview Ave                                          Jamestown, NY 14701                                                 c1stumc@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Christ First Utd Methodist Church                                 Allegheny Highlands Council 382                         663 Lakeview Ave                                          Jamestown, NY 14701‐3105                                                                                        First Class Mail
Chartered Organization         Christ First Utd Methodist Church                                 Great Alaska Council 610                                2749 S Old Knik Rd                                        Wasilla, AK 99654‐4994                                                                                          First Class Mail
Chartered Organization         Christ Hamilton Utd Lutheran Church                               Minsi Trails Council 502                                419 Bossardsville Rd                                      Stroudsburg, PA 18360‐6888                                                                                      First Class Mail
Voting Party                   Christ Indianapolis United Methodist Church, Inc.                 Attn: Business Administrator, Christ United Methodist   8540 US 31 S                                              Indianapolis, IN 46227                                              terri@cumc‐indy.net                         Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Christ Kettering UMC                                              Attn: Brian Law                                         3440 Shroyer Rd                                           Kettering, OH 45429                                                 brian@christumc.org                         Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Christ King Catholic School                                       Three Harbors Council 636                               2604 N Swan Blvd                                          Milwaukee, WI 53226‐1847                                                                                        First Class Mail
Voting Party                   Christ Korean Umc                                                 6144 Amboy Rd                                           Staten Island, NY 10309                                                                                                       jchoon67@hotmail.com                        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Christ Life Community                                             Middle Tennessee Council 560                            P.O. Box 529                                              Smyrna, TN 37167‐0529                                                                                           First Class Mail
Chartered Organization         Christ Lutheran                                                   Simon Kenton Council 441                                2314 E Main St                                            Bexley, OH 43209‐2335                                                                                           First Class Mail
Chartered Organization         Christ Lutheran & School                                          Great Southwest Council 412                             7701 Candelaria Rd Ne                                     Albuquerque, NM 87110‐2752                                                                                      First Class Mail
Chartered Organization         Christ Lutheran Church                                            Minsi Trails Council 502                                1245 Hamilton St                                          Allentown, PA 18102‐4337                                                                                        First Class Mail
Chartered Organization         Christ Lutheran Church                                            Orange County Council 039                               820 W Imperial Hwy                                        Brea, CA 92821‐3808                                                                                             First Class Mail
Chartered Organization         Christ Lutheran Church                                            Sam Houston Area Council 576                            1104 Carlee Dr                                            Brenham, TX 77833‐5009                                                                                          First Class Mail
Chartered Organization         Christ Lutheran Church                                            Gamehaven 299                                           201 Frontage Rd Ne                                        Byron, MN 55920‐1269                                                                                            First Class Mail
Chartered Organization         Christ Lutheran Church                                            Pathway To Adventure 456                                60 55th St                                                Clarendon Hills, IL 60514‐1475                                                                                  First Class Mail
Chartered Organization         Christ Lutheran Church                                            Middle Tennessee Council 560                            2425 Kirkwood Rd                                          Clarksville, TN 37043‐1331                                                                                      First Class Mail
Chartered Organization         Christ Lutheran Church                                            Glaciers Edge Council 620                               220 S Main St                                             Deforest, WI 53532‐1112                                                                                         First Class Mail
Chartered Organization         Christ Lutheran Church                                            Capitol Area Council 564                                510 Luther Dr                                             Georgetown, TX 78628‐8973                                                                                       First Class Mail
Chartered Organization         Christ Lutheran Church                                            Laurel Highlands Council 527                            P.O. Box 143                                              Grantsville, MD 21536‐0143                                                                                      First Class Mail
Chartered Organization         Christ Lutheran Church                                            Sioux Council 733                                       701 N Main Ave                                            Hartford, SD 57033‐2178                                                                                         First Class Mail
Chartered Organization         Christ Lutheran Church                                            Minsi Trails Council 502                                69 Main St                                                Hellertown, PA 18055‐1742                                                                                       First Class Mail
Chartered Organization         Christ Lutheran Church                                            Denver Area Council 061                                 8997 S Broadway                                           Highlands Ranch, CO 80129‐2337                                                                                  First Class Mail
Chartered Organization         Christ Lutheran Church                                            Buffalo Trace 156                                       131 S State Rd 56                                         Jasper, IN 47546                                                                                                First Class Mail
Chartered Organization         Christ Lutheran Church                                            Minsi Trails Council 502                                189 Church Rd                                             Jim Thorpe, PA 18229‐2776                                                                                       First Class Mail
Chartered Organization         Christ Lutheran Church                                            Cradle of Liberty Council 525                           1600 Sumneytown Pike                                      Kulpsville, PA 19443                                                                                            First Class Mail
Chartered Organization         Christ Lutheran Church                                            Bay Area Council 574                                    P.O. Box 948                                              Lake Jackson, TX 77566‐0948                                                                                     First Class Mail
Chartered Organization         Christ Lutheran Church                                            Atlanta Area Council 092                                176 W Sandtown Rd Sw                                      Marietta, GA 30064‐2416                                                                                         First Class Mail
Chartered Organization         Christ Lutheran Church                                            Chippewa Valley Council 637                             1306 Wilcox St                                            Menomonie, WI 54751‐4624                                                                                        First Class Mail
Chartered Organization         Christ Lutheran Church                                            Southern Shores Fsc 783                                 4250 Page Ave                                             Michigan Center, MI 49254‐1034                                                                                  First Class Mail
Chartered Organization         Christ Lutheran Church                                            Orange County Council 039                               2715 E La Veta Ave                                        Orange, CA 92869‐5108                                                                                           First Class Mail
Chartered Organization         Christ Lutheran Church                                            Heart of America Council 307                            11720 Nieman Rd                                           Overland Park, KS 66210‐4308                                                                                    First Class Mail
Chartered Organization         Christ Lutheran Church                                            Pathway To Adventure 456                                41 S Rohlwing Rd                                          Palatine, IL 60074‐6459                                                                                         First Class Mail
Chartered Organization         Christ Lutheran Church                                            Mississippi Valley Council 141 141                      333 S 36th St                                             Quincy, IL 62305                                                                                                First Class Mail
Chartered Organization         Christ Lutheran Church                                            Northern Star Council 250                               510 Germain St                                            Somerset, WI 54025                                                                                              First Class Mail
Chartered Organization         Christ Lutheran Church                                            Western Massachusetts Council 234                       568 College Hwy                                           Southwick, MA 01077‐9774                                                                                        First Class Mail
Chartered Organization         Christ Lutheran Church                                            Glaciers Edge Council 620                               237 E Daley St                                            Spring Green, WI 53588‐8029                                                                                     First Class Mail
Chartered Organization         Christ Lutheran Church                                            Glaciers Edge Council 620                               700 County Rd B                                           Stoughton, WI 53589‐3291                                                                                        First Class Mail
Chartered Organization         Christ Lutheran Church                                            W.L.A.C.C. 051                                          25816 Tournament Rd                                       Valencia, CA 91355‐2323                                                                                         First Class Mail
Chartered Organization         Christ Lutheran Church                                            Lasalle Council 165                                     2610 Campbell St                                          Valparaiso, IN 46385‐2355                                                                                       First Class Mail
Chartered Organization         Christ Lutheran Church                                            Northeast Illinois 129                                  595 N Deerpath Dr                                         Vernon Hills, IL 60061‐1801                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                 Page 58 of 442
                                                                                     Case 20-10343-LSS                                          Doc 8171                                        Filed 01/06/22                                             Page 74 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                          Name                                                                                          Address                                                                                                             Email               Method of Service
Chartered Organization         Christ Lutheran Church                                         Theodore Roosevelt Council 386           3384 Island Rd                                           Wantagh, NY 11793‐3347                                                                                  First Class Mail
Chartered Organization         Christ Lutheran Church                                         Greater Los Angeles Area 033             311 S Citrus St                                          West Covina, CA 91791‐2110                                                                              First Class Mail
Chartered Organization         Christ Lutheran Church                                         Mid‐America Council 326                  517 8th St                                               Wisner, NE 68791‐2347                                                                                   First Class Mail
Chartered Organization         Christ Lutheran Church                                         Northern New Jersey Council, Bsa 333     32 Pascack Rd                                            Woodcliff Lake, NJ 07677‐8318                                                                           First Class Mail
Chartered Organization         Christ Lutheran Church                                         Grand Columbia Council 614               5606 W Lincoln Ave                                       Yakima, WA 98908‐2753                                                                                   First Class Mail
Chartered Organization         Christ Lutheran Church                                         Grand Canyon Council 010                 2555 S Engler Ave                                        Yuma, AZ 85365‐3216                                                                                     First Class Mail
Voting Party                   Christ Lutheran Church                                         Attn: Michael Winning                    189 Burr Rd                                              E Northport, NY 11731                                                watrud@verizon.net                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church                                         Attn: Pastor                             2501 SW 320th St                                         Federal Way, WA 98023                                                theolsenv@gmail.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church                                         Attn: Teri Guadioso                      25816 Tournament Rd                                      Santa Clarita, CA 91355                                              teri@clcscv.org                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church                                         Attn: Council President                  66 S Main St                                             Manchester, PA 17345                                                 slammergg@yahoo.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church                                         c/o Reed Law Offices, Pc, Llo            Attn: Shayla Reed                                        3032 S 87th St                    Omaha, NE 68124                    reed@reed‐law‐offices.com          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church                                         Attn: Dennis Alan Blauser                396 Buhl Blvd                                            Sharon, PA 16148                                                     pemmett53@gmail.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church                                         Attn: Paul Emmett                        396 Buhl Blvd                                            Sharon, PA 16146                                                     pemmett53@gmail.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church                                         Attn: Mark L'Heureux                     4325 Sumner St                                           Lincoln, NE 68506                                                    mlheureux@christlincoln.org        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church                                         Attn: Darrell Raduechel, Treasurer       P.O. Box 35756                                           Des Moines, IA 50315                                                 desmoinesclc@gmail.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church                                         Attn: David Roland Froemming             250 S Grant St                                           Lancaster, WI 53813                                                  christelca@tds.net                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church                                         2211 Mainland Rd                         Harleysville, PA 19438                                                                                                        bkuhlen@christlc.org               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ Lutheran Church ‐ Lincoln                               Cornhusker Council 324                   4325 Sumner St                                           Lincoln, NE 68506‐1165                                                                                  First Class Mail
Chartered Organization         Christ Lutheran Church Elca                                    Quivira Council, Bsa 198                 P.O. Box 347                                             Eureka, KS 67045‐0347                                                                                   First Class Mail
Chartered Organization         Christ Lutheran Church Men In Mission                          Northern Lights Council 429              502 17th St Nw                                           Minot, ND 58703‐1950                                                                                    First Class Mail
Chartered Organization         Christ Lutheran Church Of Capitol Hill                         Northern Star Council 250                105 University Ave W                                     Saint Paul, MN 55103‐2028                                                                               First Class Mail
Voting Party                   Christ Lutheran Church Of Costa Mesa, Ca                       Attn: Karen Culp                         760 Victoria St                                          Costa Mesa, CA 92627                                                 Karen.Culp@christcm.org            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church Of Costa Mesa, Ca                       Attn: Karen Culp, Parish Administrator   760 Victoria St                                          Costa Mesa, CA 92627                                                 Karen.culp@christcm.org            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ Lutheran Church Of Federal Way                          Pacific Harbors Council, Bsa 612         2501 SW 320th St                                         Federal Way, WA 98023‐2515                                                                              First Class Mail
Voting Party                   Christ Lutheran Church Of Long Beach California                6500 E Stearns St                        Long Beach, CA 90815                                                                                                          pjschallis@gmail.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church Of Visalia                              3830 W Tulare Ave                        Visalia, CA 93277                                                                                                             office@clcvisalia.org              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church Of Woodcliff                            Attn: Diana Anderson                     512 Main St                                              Toms River, NJ 08753                                                 Diana@DianaAndersonEsquire.com     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ Lutheran Church Of Yakima                               Grand Columbia Council 614               5606 W Lincoln Ave                                       Yakima, WA 98908‐2753                                                                                   First Class Mail
Chartered Organization         Christ Lutheran Church On Capitol Hill                         Northern Star Council 250                105 University Ave W                                     Saint Paul, MN 55103‐2028                                                                               First Class Mail
Chartered Organization         Christ Lutheran Church Outreach Program                        Minsi Trails Council 502                 189 Church Rd                                            Jim Thorpe, PA 18229‐2776                                                                               First Class Mail
Voting Party                   Christ Lutheran Church, Hartford, Sd                           Attn: Chad Madsen                        701 N Main Ave                                           Hartford, SD 57033                                                   chadmadsen@gmail.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church, Valparaiso, Indiana                    c/o Plews Shadley Racher & Braun LLP     Attn: Josh S Tatum                                       1346 N Delaware St                Indianapolis, IN 46202             jtatum@psrb.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Lutheran Church, Woodside, Queens                       Attn: Joshua Hollmann                    33‐57 58th St                                            Woodside, NY 11377                                                   Joshua.hollmann@concordia‐ny.edu   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ Lutheran Men In Mission                                 Northern Lights Council 429              502 17th St Nw                                           Minot, ND 58703‐1950                                                                                    First Class Mail
Chartered Organization         Christ Lutheran Ministries                                     Orange County Council 039                760 Victoria St                                          Costa Mesa, CA 92627‐2968                                                                               First Class Mail
Chartered Organization         Christ Lutheran School                                         Mid‐America Council 326                  511 S 5th St                                             Norfolk, NE 68701‐5278                                                                                  First Class Mail
Chartered Organization         Christ Memorial Lutheran Church                                Greater St Louis Area Council 312        5252 S Lindbergh Blvd                                    Saint Louis, MO 63126‐3519                                                                              First Class Mail
Voting Party                   Christ Memorial Lutheran Church                                Attn: Treasurer                          13501 Sunset Trl                                         Plymouth, MN 55441                                                   dave_erstad@yahoo.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ Memorial Lutheran Church Lcms                           Sam Houston Area Council 576             14200 Memorial Dr                                        Houston, TX 77079‐6702                                                                                  First Class Mail
Chartered Organization         Christ Memorial Presbyterian Church                            Baltimore Area Council 220               6410 Amherst Ave                                         Columbia, MD 21046‐1059                                                                                 First Class Mail
Chartered Organization         Christ Methodist & Presbyterian Utd                            Cascade Pacific Council 492              412 Clay St W                                            Monmouth, OR 97361‐1911                                                                                 First Class Mail
Chartered Organization         Christ Methodist Church                                        Twin Rivers Council 364                  Bay St                                                   Glens Falls, NY 12801                                                                                   First Class Mail
Chartered Organization         Christ Our King Church                                         Coastal Carolina Council 550             1122 Russell Dr                                          Mount Pleasant, SC 29464‐4010                                                                           First Class Mail
Voting Party                   Christ Our King Presbyterian Church                            Attn: Alan D Cushen                      10 Lexington Rd                                          Bel Air, MD 21014                                                    communication@christourking.net    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ Our King Presbyterian Church                            10 Lexington Rd                          Bel Air, MD 21014                                                                                                             communication@christourking.net    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ Our Light Church                                        Twin Rivers Council 364                  15 Exchange St                                           Albany, NY 12205‐3307                                                                                   First Class Mail
Chartered Organization         Christ Our Redeemer Catholic Church                            Gulf Coast Council 773                   1028 White Point Rd                                      Niceville, FL 32578‐4218                                                                                First Class Mail
Chartered Organization         Christ Our Savior Lutheran Church                              Great Alaska Council 610                 1612 Oceanview Dr                                        Anchorage, AK 99515‐3911                                                                                First Class Mail
Chartered Organization         Christ Our Savior Lutheran Church                              Longs Peak Council 062                   640 Alpine St                                            Longmont, CO 80504‐4637                                                                                 First Class Mail
Chartered Organization         Christ Presbyterian Church                                     Southwest Florida Council 088            515 Upper Manatee River Rd Ne                            Bradenton, FL 34212‐8909                                                                                First Class Mail
Chartered Organization         Christ Presbyterian Church                                     Northern Star Council 250                6901 Normandale Rd                                       Edina, MN 55435‐1510                                                                                    First Class Mail
Chartered Organization         Christ Presbyterian Church                                     Glaciers Edge Council 620                444 E Gorham St                                          Madison, WI 53703                                                                                       First Class Mail
Chartered Organization         Christ Presbyterian Church                                     Crossroads of America 160                7879 N Carroll Rd                                        Mccordsville, IN 46055                                                                                  First Class Mail
Chartered Organization         Christ Presbyterian Church                                     Dan Beard Council, Bsa 438               5657 Pleasant View Dr                                    Milford, OH 45150‐2836                                                                                  First Class Mail
Chartered Organization         Christ Presbyterian Church                                     Middle Tennessee Council 560             2323 Old Hickory Blvd                                    Nashville, TN 37215‐5311                                                                                First Class Mail
Chartered Organization         Christ Presbyterian Church                                     Central Florida Council 083              1035 W Granada Blvd                                      Ormond Beach, FL 32174‐9169                                                                             First Class Mail
Chartered Organization         Christ Presbyterian Church                                     Marin Council 035                        620 Del Ganado Rd                                        San Rafael, CA 94903‐2306                                                                               First Class Mail
Voting Party                   Christ Presbyterian Church (U.S.A) Of Tallahassee, Florida,    2317 Bannerman Rd                        Tallahassee, FL 32312                                                                                                         lbfaragasso@henryblaw.com          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ Presbyterian Church Usa                                 Suwannee River Area Council 664          2317 Bannerman Rd                                        Tallahassee, FL 32312‐9045                                                                              First Class Mail
Chartered Organization         Christ Prince Of Peace                                         Moraine Trails Council 500               718 4th Ave                                              Ford City, PA 16226‐1103                                                                                First Class Mail
Chartered Organization         Christ Prince Of Peace Church                                  Greater St Louis Area Council 312        415 Weidman Rd                                           Manchester, MO 63011‐4431                                                                               First Class Mail
Chartered Organization         Christ School                                                  Daniel Boone Council 414                 500 Christ School Rd                                     Arden, NC 28704‐9570                                                                                    First Class Mail
Chartered Organization         Christ Temple Apostolic Church                                 Mobile Area Council‐Bsa 004              801 Virginia St                                          Mobile, AL 36603‐1217                                                                                   First Class Mail
Voting Party                   Christ The Cornerstone                                         Attn: Daniel Carroll                     3135 Summit Bridge Rd                                    Bear, DE 19701                                                       dcarroll@ctcde.net                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ The Cornerstone Lutheran Church                         Attn: Tom Meyer                          9028 Westmore Rd                                         San Diego, CA 92126                                                  tlmeyer45@att.net                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ The Divine Teacher Catholic Acad                        Laurel Highlands Council 527             207 Brilliant Ave                                        Pittsburgh, PA 15215                                                                                    First Class Mail
Chartered Organization         Christ The Good Shepard Catholic Church                        Water and Woods Council 782              2445 N Charles St                                        Saginaw, MI 48602‐5009                                                                                  First Class Mail
Chartered Organization         Christ The Good Shepherd Catholic Church                       Sam Houston Area Council 576             18511 Klein Church Rd                                    Spring, TX 77379‐4945                                                                                   First Class Mail
Chartered Organization         Christ The Good Shepherd Lutheran Church                       Cascade Pacific Council 492              4440 State St                                            Salem, OR 97301‐5457                                                                                    First Class Mail
Chartered Organization         Christ The Good Shepherd Lutheran Church                       Silicon Valley Monterey Bay 055          1550 Meridian Ave                                        San Jose, CA 95125‐5319                                                                                 First Class Mail
Voting Party                   Christ The Good Shepherd Lutheran Church                       Attn: Eric Norland                       1435 Koll Cir, Ste 106                                   San Jose, CA 95112                                                   eric@norlandlaw.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ The Good Shepherd Parish                                Garden State Council 690                 1655 Magnolia Rd                                         Vineland, NJ 08361‐6536                                                                                 First Class Mail
Chartered Organization         Christ The Incarnate Word Catholic Ch                          Sam Houston Area Council 576             8503 S Kirkwood Rd                                       Houston, TX 77099‐4056                                                                                  First Class Mail
Chartered Organization         Christ The King                                                Inland Northwest Council 611             1700 E Pennsylvania Ave                                  Coeur D Alene, ID 83814‐5563                                                                            First Class Mail
Chartered Organization         Christ The King                                                Three Harbors Council 636                7750 N 60th St                                           Milwaukee, WI 53223‐4107                                                                                First Class Mail
Voting Party                   Christ The King                                                c/o Christ the King Episcopal Church     6400 N Socrum Loop Rd                                    Lakeland, FL 33810                                                   joann@ctklakeland.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ The King Catholic Ch Little Rock                        Quapaw Area Council 018                  4000 N Rodney Parham Rd                                  Little Rock, AR 72212‐2443                                                                              First Class Mail
Chartered Organization         Christ The King Catholic Ch Madisonville                       Lincoln Heritage Council 205             1600 Kingsway Dr                                         Madisonville, KY 42431‐5826                                                                             First Class Mail
Chartered Organization         Christ The King Catholic Church                                Atlanta Area Council 092                 2699 Peachtree Rd Ne                                     Atlanta, GA 30305‐3666                                                                                  First Class Mail
Chartered Organization         Christ The King Catholic Church                                Norwela Council 215                      425 Mccormick St                                         Bossier City, LA 71111‐4635                                                                             First Class Mail
Chartered Organization         Christ The King Catholic Church                                Rio Grande Council 775                   2255 Southmost Rd                                        Brownsville, TX 78521‐3760                                                                              First Class Mail
Chartered Organization         Christ The King Catholic Church                                Circle Ten Council 571                   8017 Preston Rd                                          Dallas, TX 75225‐6304                                                                                   First Class Mail
Chartered Organization         Christ The King Catholic Church                                Buffalo Trace 156                        P.O. Box 156                                             Ferdinand, IN 47532‐0156                                                                                First Class Mail
Chartered Organization         Christ The King Catholic Church                                North Florida Council 087                742 Arlington Rd N                                       Jacksonville, FL 32211‐7306                                                                             First Class Mail
Chartered Organization         Christ The King Catholic Church                                Grand Canyon Council 010                 1551 E Dana Ave                                          Mesa, AZ 85204‐1229                                                                                     First Class Mail
Chartered Organization         Christ The King Catholic Church                                Northern Star Council 250                5029 Zenith Ave S                                        Minneapolis, MN 55410‐2115                                                                              First Class Mail
Chartered Organization         Christ The King Catholic Church                                Mt Diablo‐Silverado Council 023          199 Brandon Rd                                           Pleasant Hill, CA 94523‐3220                                                                            First Class Mail
Chartered Organization         Christ The King Catholic Church                                Blue Mountain Council 604                1111 Stevens Dr                                          Richland, WA 99354‐3360                                                                                 First Class Mail
Chartered Organization         Christ The King Catholic Church                                Greater St Louis Area Council 312        7324 Balson Ave                                          Saint Louis, MO 63130‐2901                                                                              First Class Mail
Chartered Organization         Christ The King Catholic Church                                Greater Tampa Bay Area 089               821 S Dale Mabry Hwy                                     Tampa, FL 33609‐4410                                                                                    First Class Mail
Chartered Organization         Christ The King Catholic Church                                Southeast Louisiana Council 214          535 Deerfield Rd                                         Terrytown, LA 70056‐2811                                                                                First Class Mail
Chartered Organization         Christ The King Catholic Church                                Jayhawk Area Council 197                 5973 SW 25th St                                          Topeka, KS 66614‐1972                                                                                   First Class Mail
Chartered Organization         Christ The King Catholic Church ‐ Gering                       Longs Peak Council 062                   P.O. Box 33                                              Gering, NE 69341‐0033                                                                                   First Class Mail
Voting Party                   Christ The King Catholic Church, Indianapolis, Inc.            Attn: John S Mercer                      1400 N Meridian St                                       Indianapolis, IN 46202                                               jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ The King Catholic Men'S Group                           Longs Peak Council 062                   P.O. Box 33                                              Gering, NE 69341‐0033                                                                                   First Class Mail
Chartered Organization         Christ The King Catholic Parish                                Cascade Pacific Council 492              7414 SE Michael Dr                                       Portland, OR 97222‐1426                                                                                 First Class Mail
Chartered Organization         Christ The King Church                                         Northeastern Pennsylvania Council 501    417 Main St                                              Eynon, PA 18403‐1245                                                                                    First Class Mail
Chartered Organization         Christ The King Church                                         Baltimore Area Council 220               126 Dorsey Rd                                            Glen Burnie, MD 21061‐3247                                                                              First Class Mail
Chartered Organization         Christ The King Church                                         Mid‐America Council 326                  654 S 86th St                                            Omaha, NE 68114‐4214                                                                                    First Class Mail
Chartered Organization         Christ The King Church                                         Cradle of Liberty Council 525            3252 Chesterfield Rd                                     Philadelphia, PA 19114‐1524                                                                             First Class Mail
Voting Party                   Christ The King Church                                         Attn: Monsignor Joseph Lamorte           1011 1st Ave                                             New York, NY 10022                                                   msgr.joseph.lamorte@archny.org     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ The King Church Of East Bay                             President Gerald R Ford 781              3801 Shore Rd                                            Williamsburg, MI 49690                                                                                  First Class Mail
Chartered Organization         Christ The King Church Of East Bay                             President Gerald R Ford 781              P.O. Box 95                                              Williamsburg, MI 49690‐0095                                                                             First Class Mail
Chartered Organization         Christ The King Episcopal Church                               Colonial Virginia Council 595            4109 Big Bethel Rd                                       Yorktown, VA 23693‐3821                                                                                 First Class Mail
Voting Party                   Christ The King Episcopal Church                               6400 N Socrum Loop Rd                    Lakeland, FL 33809                                                                                                            joanntatlian@gmail.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ The King Episcopal Church                               15325 Bellaire Blvd                      Houston, TX 77083                                                                                                             contactckec@gmail.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ The King Episcopal Church                               Attn: David Nelson                       19330 Pinehurst Trail Dr                                 Humble, TX 77346                                                     bgchaplain@gmail.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ The King Episcopal Church                               Attn: Thomas Erskine Haynes              4109 Big Bethel Rd                                       Tabb, VA 23693                                                                                          First Class Mail
Voting Party                   Christ The King Glen Burnie Roman Catholic Congregation,       c/o Gallagher Evelius & Jones LLP        Attn: Matthew W Oakey                                    218 N Charles St, Ste 400         Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Mid‐America Council 326                  7308 S 42nd St                                           Bellevue, NE 68147‐1002                                                                                 First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Chief Seattle Council 609                3730 148th Ave Se                                        Bellevue, WA 98006‐1659                                                                                 First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Northern Star Council 250                8600 Fremont Ave S                                       Bloomington, MN 55420‐2600                                                                              First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Occoneechee 421                          600 Walnut St                                            Cary, NC 27511‐4224                                                                                     First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Inland Northwest Council 611             5350 N 4th St                                            Coeur D Alene, ID 83815‐9210                                                                            First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Pikes Peak Council 060                   950 Vindicator Dr                                        Colorado Springs, CO 80919‐3615                                                                         First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Indian Waters Council 553                7239 Patterson Rd                                        Columbia, SC 29209‐2625                                                                                 First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Potawatomi Area Council 651              1600 N Genesee St                                        Delafield, WI 53018‐1202                                                                                First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Great Southwest Council 412              495 Florida Rd                                           Durango, CO 81301‐4730                                                                                  First Class Mail
Chartered Organization         Christ The King Lutheran Church                                San Francisco Bay Area Council 028       1301 Mowry Ave                                           Fremont, CA 94538‐1701                                                                                  First Class Mail
Chartered Organization         Christ The King Lutheran Church                                National Capital Area Council 082        10550 Georgetown Pike                                    Great Falls, VA 22066‐2416                                                                              First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Northern Star Council 250                1040 S Grade Rd Sw                                       Hutchinson, MN 55350                                                                                    First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Bay‐Lakes Council 635                    440 Stoneville Rd                                        Ishpeming, MI 49849‐2931                                                                                First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Southeast Louisiana Council 214          1001 W Esplanade Ave                                     Kenner, LA 70065‐2731                                                                                   First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Greater Tampa Bay Area 089               11220 Oakhurst Rd                                        Largo, FL 33774‐4447                                                                                    First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Twin Valley Council Bsa 283              222 Pfau St                                              Mankato, MN 56001‐5253                                                                                  First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Northern Lights Council 429              1900 14th St S                                           Moorhead, MN 56560‐4520                                                                                 First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Northern Star Council 250                1900 7th St Nw                                           New Brighton, MN 55112‐6533                                                                             First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Golden Empire Council 047                5811 Walnut Ave                                          Orangevale, CA 95662‐4821                                                                               First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Greater Los Angeles Area 033             2706 W 182nd St                                          Torrance, CA 90504‐5229                                                                                 First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Alamo Area Council 583                   1129 Pat Booker Rd                                       Universal City, TX 78148‐3901                                                                           First Class Mail
Chartered Organization         Christ The King Lutheran Church                                Dan Beard Council, Bsa 438               7393 Dimmick Rd                                          West Chester, OH 45069‐4231                                                                             First Class Mail
Voting Party                   Christ The King Lutheran Church                                Attn: Treasurer                          3803 W Lake Houston Pkwy                                 Kingwood, TX 77339                                                   nickfewing@gmail.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ The King Lutheran Church                                Attn: Michael Haas                       1700 E Pennsylvania Ave                                  Coeur D'Alene, ID 83814                                              mike@ctkcda.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ The King Lutheran Church Incorporated                   c/o Plews Shadley Racher & Braun LLP     Attn: Josh S Tatum                                       1346 N Delaware St                Indianapolis, IN 46202             jtatum@psrb.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ The King Lutheran Church Of Cary, North Carolina, Inc   Attn: Business Manager                   P.O. Box 164                                             Cary, NC 27512                                                       jflem732@gmail.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Christ The King Lutheran Of Largo, Inc                         11220 Oakhurst Rd                        Largo, FL 33774                                                                                                               office@ctklm.org                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ The King Lutheran School                                Great Lakes Fsc 272                      15600 Trenton Rd                                         Southgate, MI 48195‐2063                                                                                First Class Mail
Chartered Organization         Christ The King Men'S Club                                     Abraham Lincoln Council 144              1930 Barberry Dr                                         Springfield, IL 62704‐4113                                                                              First Class Mail
Chartered Organization         Christ The King Parish                                         Mayflower Council 251                    54 Lyman St                                              Brockton, MA 02302‐3121                                                                                 First Class Mail
Chartered Organization         Christ The King Parish                                         Daniel Webster Council, Bsa 330          72 S Main St                                             Concord, NH 03301‐4830                                                                                  First Class Mail
Chartered Organization         Christ The King Parish                                         Baltimore Area Council 220               126 Dorsey Rd                                            Glen Burnie, MD 21061‐3247                                                                              First Class Mail
Chartered Organization         Christ The King Parish                                         Narragansett 546                         180 Old North Rd                                         Kingston, RI 02881‐1415                                                                                 First Class Mail
Chartered Organization         Christ The King Parish                                         Cape Cod and Islands Cncl 224            P.O. Box 1800                                            Mashpee, MA 02649‐1800                                                                                  First Class Mail
Chartered Organization         Christ The King Parish                                         Tidewater Council 596                    1803 Columbia Ave                                        Norfolk, VA 23509‐1200                                                                                  First Class Mail
Chartered Organization         Christ The King Parish Council                                 Southern Sierra Council 030              1800 Bedford Way                                         Bakersfield, CA 93308‐2528                                                                              First Class Mail
Chartered Organization         Christ The King Parish Council                                 Middle Tennessee Council 560             3001 Belmont Blvd                                        Nashville, TN 37212‐6001                                                                                First Class Mail
Voting Party                   Christ The King Rc Church                                      c/o Cullen and Dykman LLP                Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd        Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Christ The King Roman Catholic Church                          Blue Grass Council 204                   299 Colony Blvd                                          Lexington, KY 40502‐2322                                                                                First Class Mail
Chartered Organization         Christ The King Roman Catholic Church                          Lasalle Council 165                      52473 Indiana State Route 933                            South Bend, IN 46637‐3853                                                                               First Class Mail
Chartered Organization         Christ The King Roman Catholic Church                          Erie Shores Council 460                  4100 Harvest Ln                                          Toledo, OH 43623‐4312                                                                                   First Class Mail
Chartered Organization         Christ The King Roman Catholic Church                          Narragansett 546                         130 Legris Ave                                           West Warwick, RI 02893‐2944                                                                             First Class Mail
Chartered Organization         Christ The King Roman Catholic Church                          Westchester Putnam 388                   740 N Broadway                                           Yonkers, NY 10701‐1543                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 59 of 442
                                                                                      Case 20-10343-LSS                                                          Doc 8171                                      Filed 01/06/22                                         Page 75 of 457
                                                                                                                                                                                            Exhibit B
                                                                                                                                                                                             Service List
                                                                                                                                                                                      Served as set forth below

        Description                                                           Name                                                                                                        Address                                                                                                         Email                          Method of Service
Voting Party                   Christ The King Roman Catholic Church                           Attn: Susan A Zeringue                                   7887 Walmsley Ave                                      New Orleans, LA 70125                                            szeringue@arch‐no.org                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ The King Roman Catholic Church Gretna Louisiana          c/o Archdiocese of New Orleans                           Attn: Susan Zeringue                                   7887 Walmsley                  New Orleans, LA 70125             szeringue@arch‐no.org                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ The King School                                          South Plains Council 694                                 4011 54th St                                           Lubbock, TX 79413‐4614                                                                                         First Class Mail
Voting Party                   Christ The King Seminary                                        c/o Woods Oviatt Gilman LLP                              Attn: Timothy P Lyster, Esq                            1900 Bausch & Lomb Pl          Rochester, NY 14604               tlyster@woodsoviatt.com                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ The King Spiritual Life Center                           Twin Rivers Council 364                                  575 Burton Rd                                          Greenwich, NY 12834‐7912                                                                                       First Class Mail
Voting Party                   Christ The King, Glen Burnie,Roman Catholic Congregation, Inc   c/o Gallagher Evelius & Jones LLP                        Attn: Matthew W Oakey                                  218 N Charles St, Ste 400      Baltimore, MD 21201               moakey@gejlaw.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ The Lord Lutheran Church                                 Northeast Georgia Council 101                            1001 Duluth Hwy                                        Lawrenceville, GA 30043‐7309                                                                                   First Class Mail
Voting Party                   Christ The Lord Lutheran Church                                 12N462 Tina Trl                                          Elgin, IL 60124                                                                                                         stousey@elginlawyer.com                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ The Redeemer Catholic Church                             Northeast Georgia Council 101                            8875 Stone River Dr                                    Gainesville, GA 30506‐4859                                                                                     First Class Mail
Chartered Organization         Christ The Redeemer Catholic Church                             Sam Houston Area Council 576                             11507 Huffmeister Rd                                   Houston, TX 77065‐1051                                                                                         First Class Mail
Voting Party                   Christ The Redeemer Parish                                      Attn: Andre L Kydala                                     54 Old Hwy 22                                          Clinton, NJ 08809                                                kydalalaw@aim.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ The Savior Lutheran Church                               Denver Area Council 061                                  1092 S Nome St                                         Aurora, CO 80012‐3250                                                                                          First Class Mail
Chartered Organization         Christ The Servant Lutheran Church                              Circle Ten Council 571                                   821 S Greenville Ave                                   Allen, TX 75002‐3312                                                                                           First Class Mail
Chartered Organization         Christ The Servant Lutheran Church                              Las Vegas Area Council 328                               2 S Pecos Rd                                           Henderson, NV 89074‐6366                                                                                       First Class Mail
Voting Party                   Christ The Shepherd Lutheran Church                             Attn: Ralph Folkerts                                     4655 Webb Bridge Rd                                    Alpharetta, GA 30005                                             business_manager@cts.org                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Christ The Vine Lutheran Church                                 Cascade Pacific Council 492                              18677 SE Hwy 212                                       Damascus, OR 97089‐2703                                                                                        First Class Mail
Chartered Organization         Christ Ucc                                                      Minsi Trails Council 502                                 109 S Chestnut St                                      Bath, PA 18014‐1003                                                                                            First Class Mail
Voting Party                   Christ Umc                                                      Attn: Gabriela Garcia                                    207 Haverhill St                                       Lawrence, MA 01840                                               revgarcia.gg@gmail.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Umc                                                      c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Umc                                                      6818 W Grace St                                          Richmond, VA 23226                                                                                                      christumcrva@aol.com                          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Umc (178905)                                             c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Umc (4550)                                               c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ UMC Inc                                                  c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Umc Jacobus (184724)                                     c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Umc Of Lincoln                                           c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Umc Of Yorkana (09701)                                   c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Umc Of Yorkana (09701)                                   c/o Bentz Law Firm                                       Attn: Sean Bollman                                     680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ Umc Sterling                                             104 S 4th St                                             Sterling, CO 80751                                                                                                      office.sterlingcumc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ UMC‐Neptune Beach (400 Penman Rd, Neptune Beach, FL)     c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Church Of Christ                                  Attn: Colin C. Clark                                     26 N 14th St                                           Belleville, IL 62220                                             ltinge.cucc@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Christ                                  Jane Susan Eesley                                        4509 Highcrest Rd                                      Rockford, IL 61107                                               jeesley@christumc.cc                          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Mark Stephens                                            811 West Broadway St                                   Mayfield, KY 42066                                               wktp76@gmail.com                              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Treasurer, Christ United Methodist Church          3625 W 138th St                                        Cleveland, OH 44111                                              treasurer@christumc.com                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Tr Cook                                            6000 Old Canton Rd                                     Jackson, MS 39211                                                tr.cook@christunitedjxn.org                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Treasurer                                          200 Chapel Dr                                          Mcminnville, TN 37110                                            sommer.worley@tnumc.com                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Treasurer                                          470 E Broadway St                                      Alliance, OH 44601                                               secretary@CUMCAlliance.org                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Susie Burgess                                            4630 Ashforth Way                                      Owings Mills, MD 21117                                           Sburgess4630@aol.com                          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  900 4th St Sw                                            Washington, DC 20024                                                                                                    Sburgess4630@aol.com                          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Roland Huysman                                     3300 Austin Pkwy                                       Sugar Land, TX 77479                                             roro@christchurchsl.org                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Rev Garvin Warden                                  2291 Kingstown Rd                                      P.O. Box 1608                  Kingston, RI 02881                revcumcri@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Russell Butler                                     2375 E 3300 S                                          Salt Lake City, UT 84109                                         pastorrusty@christumcutah.org                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Morris Lloyd Roebuck                               50 St Emanuel St                                       Mobile, AL 36602                                                 mlroebuck@aol.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Becky Hall                                         8645 E Brainerd Rd                                     Chattanooga, TN 37421                                            ministries@christchurchchatt.org              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Business Administrator                             2330 W 41st St                                         Davenport, IA 52806                                              michellemenke@christchurchdavenport.org       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Pastor Mark Kilbourne                              7535 Maynardville Hwy                                  Knoxville, TN 37938                                              mark@christumcknox.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Lyndall G Demers                                   135 Main St                                            Lancaster, NH 03584                                              lademers35@hotmail.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Kristin J. Iseman                                  1020 S Valley Forge Rd                                 Lansdale, PA 19446                                               kristin.iseman@cumclansdale.org               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Jeanne Nobbs                                       2900 9th Ave S                                         P.O. Box 6303                  Great Falls, MT 59406             jnobbs@bresnan.net                            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Pastor                                             301 E Drake Rd                                         Port Collins, CO 80526                                           info@cumc‐fc.org                              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Jerry House                                        4201 State Hwy 6 S                                     College Station, TX 77845                                        info@christ‐umc.org                           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Treasurer                                          4488 Poplar Ave                                        Memphis, TN 38117                                                finance@cumcmemphis.org                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Diane Garfield, Administrative Council Chair       65 Bedford Rd N                                        Battle Creek, MI 49037                                           diane.garfield@comcast.net                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Debbie L. Nelson                                   215 N Fulton St                                        Wauseon, OH 43567                                                debbiecumc@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Denis Brichford                                    800 Market St                                          Chapel Hill, NC 27516                                            dbrichford@christmethodist.org                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Twanda Prioleau                                    2005 Chase St                                          Baltimore, MD 21213                                              cumchurch@verizon.net                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Twanda Evette Prioleau                                   2005 E Chase St                                        Baltimore, MD 21213                                              cumchurch@verizon.net                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  200 Hazelnut Hill Rd                                     Groton, CT 06340                                                                                                        ChurchOffice@christumcgroton.comcastbiz.net   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Rev Mark J Goin                                    1204 Crabapple Dr                                      Shreveport, LA 71078                                             churchadmin@christ‐umc.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Christy Burton                                     14506 E 39th St                                        Independence, MO 64055                                           church.office@icumc.org                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  1868 S Poplar St                                         Casper, WY 32601                                                                                                        christumccasper@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Alexander W Hunter                                 P.O. Box 701                                           Northampton, MA 01062                                            christnorthampton@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Rev Chad Sayers                                    633 Linwood Ave                                        Olean, NY 14760                                                  Chad@christumcolean.org                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Carla Schank, Treasurer                            1868 S Poplar                                          Casper, WY 82601                                                 ccolesch@live.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Juhye Hahn                                         51 Violet Dr                                           Beacon, NY 12508                                                 beaconchristumc@gmail.com                     Email
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Voting Party                   Christ United Methodist Church                                  Juhye Hahn                                               51 Violet Dr                                           Beacon, NY 12508                                                 beaconchristumc@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Brenda Bussman                                     3515 S Harvard Ave                                     Tulsa, OK 74135                                                  bbussman@cumctulsa.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Louann P Mclain                                    511 Russell Pkwy                                       Warner Robins, GA 31088                                          admin@christunited.net                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church                                  Attn: Lyndall G Demers                                   112 Middle St, Apt 2                                   Lancaster, NH 03584                                                                                            First Class Mail
Voting Party                   Christ United Methodist Church                                  7795 Babcock St                                          Palm Bay, FL 32909                                                                                                                                                    First Class Mail
Voting Party                   Christ United Methodist Church ‐ Farmers Branch, Texas          Attn: Steve Smith, Chairperson ‐ Board of Trustees       2807 Valwood Pkwy                                      Dallas, TX 75234                                                 STEVE.SMITH1460@GMAIL.COM                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church ‐ Jersey City                    c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church ‐ N Lehigh Acres                 c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church ‐ Portland                       c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church (04620)                          c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church (100680)                         c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church (101206)                         c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church (189247)                         c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church (189965)                         c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church (32103710)                       c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church (40453)                          c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church (89227)                          c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church (99192)                          c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church (Brooklyn)                       Attn: Rev. Dr Gabriel Akinbode                           673 45th St                                            Brooklyn, NY 11220                                               umc4christ@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church Carolina Forest, Inc.            Attn: Kay G Crowe                                        P.O. Box 8448                                          Columbia, SC 29202                                               chancellor@umcsc.org                          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church Gastonia                         c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church High Point                       c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church Of Elmhurst                      920 Swain Ave                                            Elmhurst, IL 60126                                                                                                      pastor@christumcelmhurst.org                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church Of Fort Worth, Texas             c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church Of Fort Worth, Texas             3301 Sycamore School Rd                                  Ft Worth, Tx                                                                                                                                                          First Class Mail
Voting Party                   Christ United Methodist Church Of Locke And Moravia             Attn: Treasurer                                          36 Church St                                           Moravia, NY 13118                                                bethie_d@yahoo.com                            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church Of Mayfield, Ky                  Attn: Mark Stephens                                      1322 West Broadway                                     Mayfield, KY 42066                                               wktp76@gmail.com                              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church Of Staten Island                 1890 Forest Ave                                          Staten Island, NY 10303                                                                                                                                               First Class Mail
Voting Party                   Christ United Methodist Church Of The Illinois Quad Cities      3801 7th St                                              East Moline, IL 61244                                                                                                   office@christchurcheastmoline.org             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church Of Washington Indiana, Inc.      Attn: Treasurer                                          104 N Meridian St                                      Washington, IN 47501                                             christ_umc@sbcglobal.net                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church Of Williamson County             Attn: Treasurer of Christ Umc                            508 Franklin Rd                                        Franklin, TN 37069                                               michael@christumcfranklin.org                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church Stockdale Tx                     Attn: Diana Higginbotham                                 P.O. Box 247                                           Stockdale, TX 78160                                              cumc78160@yahoo.com                           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church, Belle Plaine, Iowa              Attn: Finance Chairperson, Christ United Methodist Chu   708 15th St, P.O. Box 213                              Belle Plaine, IA 52208                                           bpcumc@gmail.com                              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church, Plano                           Attn: Kim Hill                                           3101 Coit Rd                                           Plano, TX 75075                                                  kim@cumc.com                                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church, Texarkana                       Attn: Mary Jansen                                        5204 S Rondo Rd                                        Texarkana, AR 71854                                              christchurch@christchurchtxk.com              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church, Wheeling, Wv                    Attn: Treasurer                                          1232 National Rd                                       Wheeling, WV 26003                                                                                             First Class Mail
Voting Party                   Christ United Methodist Church,Fort Worth                       c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Christ United Methodist Church: Amherst                         Attn: Gregg Maliken, Treasurer Christ Umc                350 Saratoga Rd                                        Amherst, NY 14226                                                g_s_mali@yahoo.com                            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                             Page 60 of 442
                                                                                  Case 20-10343-LSS                                             Doc 8171                                         Filed 01/06/22                                                Page 76 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                        Name                                                                                             Address                                                                                                                 Email              Method of Service
Voting Party                   Christ United Methodist Church‐Weirton                          Attn: Pastor Carol Mckay                P.O. Box 2149                                             Weirton, WV 26062                                                       smstangel@aol.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Christ United Methodist Church‐Weirton, Wv Pastor Carol Mckay   P.O. Box 2149                           Weirton, WV 26062                                                                                                                 c.ed.powell@comcast.net            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Christ United Presbyterian Church                               Attn: Clerk of Session                  1700 Sutter St                                            San Francisco, CA 94115                                                 pastor@cupc.org                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Christ United Presbyterian Church Of San Diego                  Attn: Gail Barrett                      3025 Fir St,                                              San Diego, CA 92102                                                     gbarrett@cupcsd.org                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Christ Unity Church Of Sacramento                               Golden Empire Council 047               9249 Folsom Blvd                                          Sacramento, CA 95826‐2503                                                                                  First Class Mail
Chartered Organization         Christ Utd Baptist Fellowship                                   West Tennessee Area Council 559         5774 Millsfield Hwy                                       Dyersburg, TN 38024‐6859                                                                                   First Class Mail
Chartered Organization         Christ Utd Church                                               Sam Houston Area Council 576            14207 Telge Rd                                            Cypress, TX 77429‐4627                                                                                     First Class Mail
Chartered Organization         Christ Utd Church Of Christ                                     Minsi Trails Council 502                P.O. Box 187                                              Conyngham, PA 18219‐0187                                                                                   First Class Mail
Chartered Organization         Christ Utd Evan Lutheran Church                                 Columbia‐Montour 504                    116 Church St                                             Catawissa, PA 17820‐1108                                                                                   First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Buckeye Council 436                     1140 Claremont Ave                                        Ashland, OH 44805‐3716                                                                                     First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Water and Woods Council 782             3322 E Huron Rd                                           Au Gres, MI 48703‐9347                                                                                     First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Simon Kenton Council 441                700 S Main St                                             Baltimore, OH 43105‐9351                                                                                   First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Hudson Valley Council 374               60 Union St                                               Beacon, NY 12508                                                                                           First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Laurel Highlands Council 527            44 Highland Rd                                            Bethel Park, PA 15102‐1806                                                                                 First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Lincoln Heritage Council 205            716 Cave Mill Rd                                          Bowling Green, KY 42104‐4686                                                                               First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Cradle of Liberty Council 525           600 E Dutton Mill Rd                                      Brookhaven, PA 19015‐1028                                                                                  First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Randolph                                29470 Gaylord Ave                                         Cannon Falls, MN 55009‐9223                                                                                First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Mecklenburg County Council 415          8020 Bellhaven Blvd                                       Charlotte, NC 28216‐1156                                                                                   First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Del Mar Va 081                          6253 Church St                                            Chincoteague, VA 23336‐2454                                                                                First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Sam Houston Area Council 576            4203 State Hwy 6 S                                        College Station, TX 77845‐8967                                                                             First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Greater St Louis Area Council 312       1503 N Summit Ave                                         Decatur, IL 62526‐3405                                                                                     First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Illowa Council 133                      3801 7th St                                               East Moline, IL 61244‐3506                                                                                 First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Three Fires Council 127                 920 S Swain Ave                                           Elmhurst, IL 60126‐4968                                                                                    First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     French Creek Council 532                2615 W 32nd St                                            Erie, PA 16506‐3349                                                                                        First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     National Capital Area Council 082       7600 Ox Rd                                                Fairfax Station, VA 22039‐2527                                                                             First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Washington Crossing Council 777         501 Wistar Rd                                             Fairless Hills, PA 19030‐4103                                                                              First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Circle Ten Council 571                  2807 Valwood Pkwy                                         Farmers Branch, TX 75234‐3531                                                                              First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Longhorn Council 662                    3301 Sycamore School Rd                                   Fort Worth, TX 76123‐3029                                                                                  First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Longhorn Council 662                    3301 Sycamore School Rd                                   Fort Worth, TX 76123‐3029                                                                                  First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Piedmont Council 420                    3415 Union Rd                                             Gastonia, NC 28056‐7051                                                                                    First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Old N State Council 070                 410 N Holden Rd                                           Greensboro, NC 27410‐5620                                                                                  First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Piedmont Council 420                    2416 Zion Church Rd                                       Hickory, NC 28602‐7116                                                                                     First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Heart of America Council 307            14506 E 39th St S                                         Independence, MO 64055‐4228                                                                                First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Crossroads of America 160               8540 US 31 S                                              Indianapolis, IN 46227‐0971                                                                                First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Simon Kenton Council 441                150 Portsmouth St                                         Jackson, OH 45640‐1666                                                                                     First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     New Birth of Freedom 544                202 N Main St                                             Jacobus, PA 17407‐1008                                                                                     First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Miami Valley Council, Bsa 444           3440 Shroyer Rd                                           Kettering, OH 45429‐2612                                                                                   First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Great Smoky Mountain Council 557        7535 Maynardville Pike                                    Knoxville, TN 37938‐3348                                                                                   First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Sagamore Council 162                    3610 S 18th St                                            Lafayette, IN 47909‐7364                                                                                   First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Southwest Florida Council 088           1430 Homestead Rd N                                       Lehigh Acres, FL 33936‐4829                                                                                First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Cornhusker Council 324                  4530 A St                                                 Lincoln, NE 68510‐4818                                                                                     First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Louisville                              600 E Gorgas St                                           Louisville, OH 44641‐1724                                                                                  First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Mobile Area Council‐Bsa 004             6101 Grelot Rd                                            Mobile, AL 36609‐3611                                                                                      First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Northeastern Pennsylvania Council 501   175 S Main Rd                                             Mountain Top, PA 18707‐1936                                                                                First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Westmoreland Fayette 512                2800 Coulterville Rd                                      N Huntingdon, PA 15642                                                                                     First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     North Florida Council 087               400 Penman Rd                                             Neptune Beach, FL 32266‐3818                                                                               First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Simon Kenton Council 441                P.O. Box 748                                              Newark, OH 43058‐0748                                                                                      First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Colonial Virginia Council 595           133 Deep Creek Rd                                         Newport News, VA 23606‐2219                                                                                First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Susquehanna Council 533                 P.O. Box 268                                              Northumberland, PA 17857‐0268                                                                              First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Central Florida Council 083             7795 Babcock St Se                                        Palm Bay, FL 32909‐5710                                                                                    First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Circle Ten Council 571                  3101 Coit Rd                                              Plano, TX 75075‐3725                                                                                       First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Erie Shores Council 460                 P.O. Box 137                                              Portage, OH 43451‐0137                                                                                     First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Cascade Pacific Council 492             12755 NW Dogwood St                                       Portland, OR 97229‐5550                                                                                    First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Gamehaven 299                           400 5th Ave Sw                                            Rochester, MN 55902‐3273                                                                                   First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Atlanta Area Council 092                1340 Woodstock Rd                                         Roswell, GA 30075‐2128                                                                                     First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Alamo Area Council 583                  102 SE Main St                                            Stockdale, TX 78160‐6081                                                                                   First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Hawk Mountain Council 528               400 E Grand Ave                                           Tower City, PA 17980                                                                                       First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Crossroads of America 160               P.O. Box 743                                              Westfield, IN 46074‐0743                                                                                   First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Crossroads of America 160               318 N Union St                                            Westfield, IN 46074‐9461                                                                                   First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Ohio River Valley Council 619           1232 National Rd                                          Wheeling, WV 26003‐5793                                                                                    First Class Mail
Chartered Organization         Christ Utd Methodist Church                                     Del Mar Va 081                          6 N Clifton Ave                                           Wilmington, DE 19805‐2262                                                                                  First Class Mail
Chartered Organization         Christ Utd Methodist Church Mens Club                           Yocona Area Council 748                 3161 E Shiloh Rd                                          Corinth, MS 38834‐2910                                                                                     First Class Mail
Chartered Organization         Christ Utd Methodist Church Of Casper                           Greater Wyoming Council 638             1868 S Poplar St                                          Casper, WY 82601‐4509                                                                                      First Class Mail
Chartered Organization         Christ Utd Methodist Men                                        Yocona Area Council 748                 3161 E Shiloh Rd                                          Corinth, MS 38834‐2910                                                                                     First Class Mail
Chartered Organization         Christ Utd Methodist Men                                        Montana Council 315                     2900 9th Ave S                                            Great Falls, MT 59405‐3225                                                                                 First Class Mail
Chartered Organization         Christ Utd Presbyterian                                         San Diego Imperial Council 049          3035 Fir St                                               San Diego, CA 92102                                                                                        First Class Mail
Chartered Organization         Christ Wesleyan Church                                          Old N State Council 070                 2400 S Holden Rd                                          Greensboro, NC 27407‐5719                                                                                  First Class Mail
Chartered Organization         Christ, Prince Of Peace                                         Moraine Trails Council 500              740 4th Ave                                               Ford City, PA 16226                                                                                        First Class Mail
Chartered Organization         Christ, Prince Of Peace                                         Moraine Trails Council 500              718 4th Ave                                               Ford City, PA 16226‐1103                                                                                   First Class Mail
Chartered Organization         Christchurch Presbyterian                                       Sam Houston Area Council 576            5001 Bellaire Blvd                                        Bellaire, TX 77401‐4423                                                                                    First Class Mail
Chartered Organization         Christian Academy                                               Miami Valley Council, Bsa 444           2151 W Russell Rd                                         Sidney, OH 45365‐7037                                                                                      First Class Mail
Chartered Organization         Christian Academy In Japan                                      Far E Council 803                       1‐2‐14 Shinkawa‐Cho                                       Higashi                            Japan                                                                   First Class Mail
Chartered Organization         Christian Activity Center                                       Greater St Louis Area Council 312       540 N 6th St                                              East Saint Louis, IL 62201‐1320                                                                            First Class Mail
Chartered Organization         Christian And Missionary Alliance Church                        Miami Valley Council, Bsa 444           306 Devor St                                              Greenville, OH 45331‐1539                                                                                  First Class Mail
Chartered Organization         Christian Appalachian Project                                   Blue Grass Council 204                  485 Ponderosa Dr                                          Paintsville, KY 41240‐8558                                                                                 First Class Mail
Chartered Organization         Christian Brothers Catholic School                              Southeast Louisiana Council 214         4600 Canal St                                             New Orleans, LA 70119‐5808                                                                                 First Class Mail
Chartered Organization         Christian Care Retirement Community                             Anthony Wayne Area 157                  720 E Dustman Rd                                          Bluffton, IN 46714‐1214                                                                                    First Class Mail
Chartered Organization         Christian Church ‐ Carlisle                                     Mid Iowa Council 177                    625 Elm St                                                Carlisle, IA 50047‐7734                                                                                    First Class Mail
Chartered Organization         Christian Church ‐ Osceola                                      Mid Iowa Council 177                    300 S Main St                                             Osceola, IA 50213‐1418                                                                                     First Class Mail
Voting Party                   Christian Church In Oregon‐Sw Idaho                             Attn: Douglas Arthur Wirt               245 SW Bancroft, Ste F                                    Portland, OR 97239                                                      doug@oidisciples.org               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Christian Church In Oregon‐Sw Idaho                             Douglas Arthur Wirt                     245 SW Bancroft, Ste F                                    Portland, OR 97239                                                      doug@oidisciples.org               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Christian Church Of Lemon Grove                                 San Diego Imperial Council 049          6970 San Miguel Ave                                       Lemon Grove, CA 91945‐2120                                                                                 First Class Mail
Chartered Organization         Christian City Church                                           Cascade Pacific Council 492             17979 Stafford Rd                                         Lake Oswego, OR 97034‐7627                                                                                 First Class Mail
Chartered Organization         Christian City Of Praise                                        Georgia‐Carolina 093                    1510 Halton Rd                                            Augusta, GA 30909‐9609                                                                                     First Class Mail
Chartered Organization         Christian Community Presbyterian Church                         National Capital Area Council 082       3120 Belair Dr                                            Bowie, MD 20715‐3101                                                                                       First Class Mail
Voting Party                   Christian E. Iversen                                            605 13th St                             Paso Robles, CA 93446                                                                                                             civersen@fix.net                   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Christian Education Commission                                  Stonewall Jackson Council 763           420 College View Dr                                       Bridgewater, VA 22812‐3524                                                                                 First Class Mail
Chartered Organization         Christian Fellowship Baptist Church                             Atlanta Area Council 092                1500 Norman Dr                                            Atlanta, GA 30349‐5404                                                                                     First Class Mail
Chartered Organization         Christian Fellowship Ministries, Inc                            Rip Van Winkle Council 405              230 Kings Mall Ct 150                                     Kingston, NY 12401‐1574                                                                                    First Class Mail
Chartered Organization         Christian Fellowship School                                     Great Rivers Council 653                4600 Christian Fellowship Rd                              Columbia, MO 65203‐0274                                                                                    First Class Mail
Chartered Organization         Christian Homeschool Parents Of 4031                            Circle Ten Council 571                  813 Fairlawn St                                           Allen, TX 75002‐5008                                                                                       First Class Mail
Chartered Organization         Christian Hospital                                              Greater St Louis Area Council 312       11133 Dunn Rd                                             Saint Louis, MO 63136‐6163                                                                                 First Class Mail
Chartered Organization         Christian Life Assembly                                         Inland Northwest Council 611            P.O. Box 276                                              Saint John, WA 99171‐0276                                                                                  First Class Mail
Chartered Organization         Christian Life Center                                           Greater St Louis Area Council 312       1901 N Park Ave                                           Herrin, IL 62948‐2741                                                                                      First Class Mail
Chartered Organization         Christian Mens Fellowship                                       East Carolina Council 426               P.O. Box 205                                              Farmville, NC 27828‐0205                                                                                   First Class Mail
Chartered Organization         Christian Men'S Fellowship                                      Fredericktown Christian Church          208 W Main St                                             Fredericktown, MO 63645‐1128                                                                               First Class Mail
Chartered Organization         Christian Mens Fellowship Murray                                Lincoln Heritage Council 205            111 N 5th St                                              Murray, KY 42071‐2056                                                                                      First Class Mail
Chartered Organization         Christian Park 82 As                                            Crossroads of America 160               4700 English Ave                                          Indianapolis, IN 46201‐4712                                                                                First Class Mail
Chartered Organization         Christian Service Commission                                    Great Lakes Fsc 272                     22430 Michigan Ave                                        Dearborn, MI 48124‐2114                                                                                    First Class Mail
Chartered Organization         Christiana Care Health Systems                                  Del Mar Va 081                          131 Continental Dr, Ste 202                               Newark, DE 19713‐4320                                                                                      First Class Mail
Chartered Organization         Christiana Lutheran Church                                      Central N Carolina Council 416          6190Us52Hwy                                               Salisbury, NC 28144                                                                                        First Class Mail
Voting Party                   Christiana Lutheran Church                                      Attn: Madeline Zieverink                200 Primrose Dr                                           Salisbury, NC 28146                                                     mzee121@gmail.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Christiana Lutheran Church                                      6190 US Hwy 52                          Salisbury, NC 28146                                                                                                               mzee121@gmail.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Christiana Utd Methodist Church                                 Del Mar Va 081                          21 W Main St                                              Christiana, DE 19702‐1504                                                                                  First Class Mail
Chartered Organization         Christiansburg Presbyterian Church                              Blue Ridge Mtns Council 599             107 W Main St                                             Christiansburg, VA 24073‐2943                                                                              First Class Mail
Voting Party                   Christiansburg Presbyterian Church                              c/o Cowanperry PC                       Attn: Eric D Chapman                                      250 S Main St, Ste 226             Blacksburg, VA 24060                 echapman@cowanperry.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Christiansburg Rescue                                           Blue Ridge Mtns Council 599             190 Depot St W                                            Christiansburg, VA 24073‐2904                                                                              First Class Mail
Voting Party                   Christiansburg United Methodist                                 Attn: Diane Littlejohn                  7 E 3rd St                                                P.O. Box 407                       Christiansburg, OH 45389                                                First Class Mail
Firm                           Christina Pendleton & Associates PC                             Damon Pendleton                         1506 Staples Mill Rd., Ste 101                            Richmond, VA 23230                                                      ckreid@caklaw.net                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Christine D Smith                                               13185 W Townline Rd                     Waukegan, IL 60087                                                                                                                berniesbusybees@aol.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Christine Duncan Heritage Academy                               Great Southwest Council 412             1900 Atrisco Dr Nw                                        Albuquerque, NM 87120‐1146                                                                                 First Class Mail
Voting Party                   Christland United Methodist Church                              Attn: Karen Hettig, Treasurer           721 E Charles St                                          Marion, IN 46952                                                        marionchristlandumc@gmail.com      Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Christmas Civic Assoc, Inc                                      Central Florida Council 083             P.O. Box 473                                              Christmas, FL 32709‐0473                                                                                   First Class Mail
Voting Party                   Christopher Bovid                                               P.O. Box 300                            Kalamazoo, MI 49077                                                                                                               cbovid@bovidlaw.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Christopher M Davis                                             N 112 W 12808 Mequon Rd                 Germantown, WI 53022                                                                                                                                                 First Class Mail
Firm                           Christopher T. Aumais                                           1126 Wilshire Blvd.                     Los Angeles, CA 90017                                                                                                             caumais@girardikeese.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Christos Victor Lutheran Church                                 Baltimore Area Council 220              9833 Harford Rd                                           Parkville, MD 21234‐1941                                                                                   First Class Mail
Chartered Organization         Christ'S Church                                                 East Carolina Council 426               745 Davenport Farm Rd                                     Winterville, NC 28590‐8950                                                                                 First Class Mail
Chartered Organization         Christs Church At Mason                                         Dan Beard Council, Bsa 438              5165 Wern Row Rd                                          Mason, OH 45040                                                                                            First Class Mail
Chartered Organization         Christs Church At Whitewater                                    Flint River Council 095                 1577 Hwy 85 S                                             Fayetteville, GA 30215‐7802                                                                                First Class Mail
Chartered Organization         Christs Church Camden                                           Coastal Georgia Council 099             201 Kings Bay Rd                                          Kingsland, GA 31548‐6848                                                                                   First Class Mail
Voting Party                   Christ's Church Methodist & Presbyterian United                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                      Erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Christ's Church Of Rye                                          Attn: Daniel Filor                      2 Rectory St                                              Rye, NY 10580                                                           danielfilor@yahoo.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Christ'S Foundry United Methodist Mission                       Amy D Spaur                             9891 Webb Chapel Rd                                       Dallas, TX 75220                                                        christsfoundry@gmail.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Christ'S Foundry United Methodist Mission                       Attn: Amy Spaur                         P.O. Box 29126                                            Dallas, TX 75229                                                        christsfoundry@gmail.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Christ'S Greenfield Lutheran Church                             Grand Canyon Council 010                425 N Greenfield Rd                                       Gilbert, AZ 85234‐5053                                                                                     First Class Mail
Voting Party                   Christ's Greenfield Lutheran Church                             Attn: Jack Kalleberg                    425 N Greenfield Rd                                       Gilbert, AZ 85234                                                       jkalleberg@cglchurch.org           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Christs Haven For Children                                      Longhorn Council 662                    4200 Keller Haslet Rd                                     Fort Worth, TX 76244‐8005                                                                                  First Class Mail
Chartered Organization         Christ'S Kingdom Builders Ministries                            Indian Nations Council 488              9230 Osage St                                             Muskogee, OK 74403                                                                                         First Class Mail
Chartered Organization         Christ's Prince Of Peace                                        Knights of Columbus                     Trapper Trails 589, Bldg 351                              Crow Hall                          Hill Afb, UT 84056                                                      First Class Mail
Chartered Organization         Christ'S Reformed Church                                        Mason Dixon Council 221                 130 W Franklin St                                         Hagerstown, MD 21740‐4704                                                                                  First Class Mail
Chartered Organization         Christs Utd Lutheran Church                                     Susquehanna Council 533                 13765 Old Turnpike Rd                                     Millmont, PA 17845‐9150                                                                                    First Class Mail
Chartered Organization         Christus Building Corp Church                                   Greater St Louis Area Council 312       318 N Adams St                                            Festus, MO 63028                                                                                           First Class Mail
Chartered Organization         Christus Lutheran Church Brotherhood                            Bay‐Lakes Council 635                   120 N Main St                                             Clintonville, WI 54929‐1232                                                                                First Class Mail
Chartered Organization         Christus Victor Lutheran Church                                 Pathway To Adventure 456                1045 S Arlington Heights Rd                               Elk Grove Village, IL 60007‐3703                                                                           First Class Mail
Chartered Organization         Christus Victor Lutheran Church                                 Bay Area Council 574                    2098 W Main St                                            League City, TX 77573‐3544                                                                                 First Class Mail
Chartered Organization         Christus Victor Lutheran Church                                 Pine Burr Area Council 304              Hwy 90 E                                                  Ocean Springs, MS 39564                                                                                    First Class Mail
Chartered Organization         Christus Victor Lutheran Elca                                   Occoneechee 421                         1619 E Nc Hwy 54                                          Durham, NC 27713                                                                                           First Class Mail
Chartered Organization         Christus Victor Lutheran Elca                                   Occoneechee 421                         1615 E Nc Hwy 54                                          Durham, NC 27713‐2105                                                                                      First Class Mail
Chartered Organization         Christy'S Kids                                                  Gulf Stream Council 085                 13380 83rd Ln N                                           West Palm Beach, FL 33412‐2607                                                                             First Class Mail
Chartered Organization         Chs Mobile Integrated Health Care                               Seneca Waterways 397                    280 Calkins Rd                                            Rochester, NY 14623‐4210                                                                                   First Class Mail
Voting Party                   Chubb                                                           Adrienne Logan                          436 Walnut St                                             Philadelphia, PA 19106                                                                                     First Class Mail
Voting Party                   Chubb                                                           Attn: Adrienne Logan                    436 Walnut St                                             Philadelphia, PA 19106                                                                                     First Class Mail
Voting Party                   Chubb                                                           Attn: Pamela Bachstadt                  436 Walnut St                                             Philadelphia, PA 19106                                                                                     First Class Mail
Voting Party                   Chubb Custom Insurance Company                                  c/o Duane Morris LLP                    Attn: Wendy M Simkulak                                    30 S 17th St                       Philadelphia, PA 19103               WMSimkulak@duanemorris.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Chubb Custom Insurance Company                                  c/o Duane Morris LLP                    Attn: Wendy M. Simkulak                                   30 S 17th St                       Philadelphia, PA 19103               WMSimkulak@duanemorris.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Chubb Custom Insurance Company                                  Attn: Christopher Celentano             10 Exchange Pl ‐ 9th Fl                                   Jersey City, NJ 07302                                                                                      First Class Mail
Voting Party                   Chubb Custom Insurance Company                                  c/o Chubb                               Attn: Christopher Celentano                               10 Exchange Pl, 9th Fl             Jersey City, NJ 07302                                                   First Class Mail
Voting Party                   Chubb Custom Insurance Company                                  c/o O'Melveny & Myers LLP               Attn: Tancred Schiavoni                                   7 Times Sq                         New York, NY 10038                                                      First Class Mail
Voting Party                   Chubb Group Of Insurance Companies                              15 Mountainview Rd                      Warren, NJ 07059‐6711                                                                                                                                                First Class Mail
Chartered Organization         Chuckatuck Ruritan Club                                         Colonial Virginia Council 595           Chuckatuck Sta                                            Suffolk, VA 23432                                                                                          First Class Mail
Voting Party                   Chuckatuck Ruritan Club 244                                     Attn: William T Spence                  1795 Cherry Grove Rd N                                    Suffolk, VA 23432                                                       wspence@stgbeer.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Chugach Parents For Scouting                                    Great Alaska Council 610                8301 Ginami Cir                                           Anchorage, AK 99516‐2593                                                                                   First Class Mail
Chartered Organization         Chula Vista Border Patrol                                       San Diego Imperial Council 049          P.O. Box 210038                                           Chula Vista, CA 91921‐0038                                                                                 First Class Mail
Chartered Organization         Chula Vista Fire Dept                                           San Diego Imperial Council 049          447 F St                                                  Chula Vista, CA 91910‐3715                                                                                 First Class Mail
Chartered Organization         Chula Vista Police Dept                                         San Diego Imperial Council 049          315 4th Ave                                               Chula Vista, CA 91910‐3801                                                                                 First Class Mail
Chartered Organization         Church At Battle Creek                                          Indian Nations Council 488              3201 N Aspen Ave                                          Broken Arrow, OK 74012                                                                                     First Class Mail
Chartered Organization         Church At Litchfield Park                                       Grand Canyon Council 010                300 N Old Litchfield Rd                                   Litchfield Park, AZ 85340‐4320                                                                             First Class Mail
Voting Party                   Church At Ross Bridge ‐ Umc                                     Nathan L Carden                         2101 Grand Ave                                            Hoover, AL 35226                                                                                           First Class Mail
Voting Party                   Church At Ross Bridge United Methodist Church                   Attn: Nathan Carden                     3862 Village Center Dr                                    Hoover, AL 35226                                                        Nathan.L.Carden@gmail.com          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Church At South Creek                                           Central Florida Council 083             P.O. Box 620091                                           Orlando, FL 32862‐0091                                                                                     First Class Mail
Voting Party                   Church Beyond The Walls (Providence)                            c/o The Tamposi Law Group, PC           Attn: Peter N Tamposi                                     159 Main St                        Nashua, NH 03060                     peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Church By The Woods                                             Dan Beard Council, Bsa 438              P.O. Box 62443                                            Cincinnati, OH 45262‐0443                                                                                  First Class Mail
Chartered Organization         Church Christ At 521 S Jefferson, Inc                           Middle Tennessee Council 560            521 S Jefferson Ave                                       Cookeville, TN 38501‐4009                                                                                  First Class Mail
Voting Party                   Church Church Hittle And Antrim                                 Bruce M Bittner                         2 N 9th St                                                Noblesville, IN 46060                                                   stephen_bar@msn.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 61 of 442
                                                                                    Case 20-10343-LSS                                           Doc 8171                                         Filed 01/06/22                                                   Page 77 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                         Name                                                                                            Address                                                                                                                                            Email              Method of Service
Voting Party                   Church Council Chairperson                                  Fv Thomspson, 3Rd                           236 Lake Dr                                               Ripley, TN 38063                                                                                    fvlinthomson@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Church Good Shepherd Utd Ch Christ                          Hawk Mountain Council 528                   W Philadelphia Ave                                        Boyertown, PA 19512                                                                                                                   First Class Mail
Voting Party                   Church Hill First United Methodist Church                   P.O. Box 307                                Church Hill, TN 37642                                                                                                                                         dcsteelers54@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Church Hill Fumc                                            David Lee Clark                             211 Kay Ave                                               Church Hill, TN 37642                                                                               dcsteelers54@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Church Hill Umc                                             11 Church St                                Norwell, MA 02061                                                                                                                                                                               First Class Mail
Voting Party                   Church Hill United Methodist Church (6211)                  c/o Bentz Law Firm                          Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200            Pittsburgh, PA 15228                                          lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Church Hill Utd Methodist Church                            Juniata Valley Council 497                  199 Woodland Cir                                          Reedsville, PA 17084                                                                                                                  First Class Mail
Chartered Organization         Church In Silver Lake                                       Great Trail 433                             2951 Kent Rd                                              Silver Lake, OH 44224‐3027                                                                                                            First Class Mail
Chartered Organization         Church In The Gardens                                       Greater New York Councils, Bsa 640          50 Ascan Ave                                              Forest Hills, NY 11375‐6009                                                                                                           First Class Mail
Chartered Organization         Church In The Wildwood                                      Pikes Peak Council 060                      P.O. Box 26                                               Green Mountain Falls, CO 80819‐0026                                                                                                   First Class Mail
Chartered Organization         Church Jesus Chirst Lds                                     Transatlantic Council, Bsa 802              Erich Ollenhauer Stragge 36                               Wiesbaden, Biebrich 65187             Germany                                                                                         First Class Mail
Chartered Organization         Church Jesus Christ Later‐Day Saints                        Potawatomi Area Council 651                 755 Woelfel Rd                                            Brookfield, WI 53045‐5619                                                                                                             First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Matthews Ward                               Mecklenburg County Council 415                            13925 Thompson Rd                     Matthews Ward                        Mint Hill, NC 28227                                        First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Aberdeen                                    1103 24th Ave Nw                                          Aberdeen, SD 57401                                                                                                                    First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Aberdeen                                    1115 24th Ave Ne                                          Aberdeen, SD 57401                                                                                                                    First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Texas Trails Council 561                    134643 Ward 2                                             Abilene, TX 79603                                                                                                                     First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Texas Trails Council 561                    484318 Abilene Stake 514446                               Abilene, TX 79603                                                                                                                     First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Longs Peak Council 062                      224 Park Knoll Dr                                         Alliance, NE 69301‐4427                                                                                                               First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     (Lds)                                       711 E Atlantic Ave                                        Altoona, PA 16602‐5405                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Far E Council 803                           Psc 3 Box 8517                                            Apo, AP 96266‐0086                                                                                                                    First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Blue Ridge Mtns Council 599                 555 Westview Ave                                          Bedford, VA 24523‐1515                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Blue Ridge Mtns Council 599                 1325 Longwood Ave                                         Bedford, VA 24523‐2204                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Westark Area Council 016                    1 Lambeth Dr                                              Bella Vista, AR 72714                                                                                                                 First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Westark Area Council 016                    1 Lambeth Rd                                              Bella Vista, AR 72714‐3160                                                                                                            First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Montana Council 315                         2929 Belvedere Dr                                         Billings, MT 59102‐3716                                                                                                               First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Old Hickory Council 427                     604 Poplar Grove Rd                                       Boone, NC 28607                                                                                                                       First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Andrew Jackson Council 303                  102 Quail Cv                                              Brandon, MS 39047‐6661                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Hawk Mountain Council 528                   1540 Crossland Rd                                         Breinigsville, PA 18031‐1471                                                                                                          First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Brookings                                   1118 42nd St                                              Brookings, SD 57006‐6201                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Mountaineer Area 615                        179 S Kanawha St                                          Buckhannon, WV 26201‐2318                                                                                                             First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Blackhawk Area 660                          115 S Fox Run Ln                                          Byron, IL 61010                                                                                                                       First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Buckskin 617                                P.O. Box 786                                              Chapmanville, WV 25508‐0786                                                                                                           First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Mecklenburg County Council 415              2500 Rocky River Rd                                       Charlotte, NC 28213‐5178                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Mecklenburg County Council 415              2500 Rocky River Rd                                       Charlotte, NC 28213‐5178                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Harrisburg Ward                             2500 Rocky River Rd                                       Charlotte, NC 28213‐5178                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Mecklenburg County Council 415              5815 Carmel Rd                                            Charlotte, NC 28226‐8105                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Carmel Ward                                 5815 Carmel Rd                                            Charlotte, NC 28226‐8105                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Mecklenburg County Council 415              5815 Carmel Rd                                            Charlotte, NC 28226‐8105                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Pineville Ward                              5815 Carmel Rd                                            Charlotte, NC 28226‐8105                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Sharon Ward                                 5815 Carmel Rd                                            Charlotte, NC 28226‐8105                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Waxhaw Ward                                 5815 Carmel Rd                                            Charlotte, NC 28226‐8105                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Weddington Ward                             5815 Carmel Rd                                            Charlotte, NC 28226‐8105                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Second Ward                                 1275 Timberwood Blvd                                      Charlottesville, VA 22911‐9095                                                                                                        First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Andrew Jackson Council 303                  1617 Tanglewood Dr                                        Clinton, MS 39056‐3649                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Colfax Ward                                 8934 US Hwy 421 E                                         Colfax, NC 27235                                                                                                                      First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Colfax Ward                                 8934 W Market St                                          Colfax, NC 27235‐9602                                                                                                                 First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Hopkins Ward                                4440 Fort Jackson Blvd                                    Columbia, SC 29209‐1006                                                                                                               First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Conrad                                      416 S Kansas St                                           Conrad, MT 59425‐2231                                                                                                                 First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     West Tennessee Area Council 559             3400 US Hwy 51 S                                          Dyersburg, TN 38024‐8283                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Jersey Shore Council 341                    624 Zion Rd                                               Egg Harbor Twp, NJ 08234‐5926                                                                                                         First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Eldersburg                                  7225 Slacks Rd                                            Eldersburg, MD 21784‐5947                                                                                                             First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     French Creek Council 532                    1101 S Hill Rd                                            Erie, PA 16509‐4829                                                                                                                   First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Fayetteville Branch                         8628 5 Rd E                                               Fabius, NY 13063                                                                                                                      First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Mannington Branch                           2 Kimberly Hts                                            Farmington, WV 26571                                                                                                                  First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Winnebago Council, Bsa 173                  406 Water St                                              Fayette, IA 52142                                                                                                                     First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Lakefield Ward                              3621 Lakefield Dr                                         Greensboro, NC 27406‐6811                                                                                                             First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Guilford Ward                               3719 Pinetop Rd                                           Greensboro, NC 27410‐2825                                                                                                             First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Summit Ward                                 3719 Pinetop Rd                                           Greensboro, NC 27410‐2825                                                                                                             First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Hampstead Ward                              4117 Lower Beckleysville Rd                               Hampstead, MD 21074‐2228                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Hampstead Ward                              4117 Lower Beckleysville Rd                               Hampstead, MD 21074‐2228                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Pee Dee Area Council 552                    981 W Carolina Ave                                        Hartsville, SC 29550‐4445                                                                                                             First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Westbank Wrd No Stk                         2625 Jupiter St                                           Harvey, LA 70058                                                                                                                      First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Petal Ward                                  1618 Broadway Dr                                          Hattiesburg, MS 39402‐3201                                                                                                            First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Old N State Council 070                     1830 Chestnut Dr                                          High Point, NC 27262‐4568                                                                                                             First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Southeast Louisiana Council 214             3702 Hwy 311                                              Houma, LA 70360                                                                                                                       First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Cornelius Ward                              7036 Mcilwaine Rd                                         Huntersville, NC 28078                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Huntersville Ward                           4036 Mcilwaine Rd                                         Huntersville, NC 28078                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Huntersville Ward                           7032 Mcilwaine Rd                                         Huntersville, NC 28078‐6944                                                                                                           First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Mt. Island Ward                             7032 Mcilwaine Rd                                         Huntersville, NC 28078‐6944                                                                                                           First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Quivira Council, Bsa 198                    518 E 43rd Ave                                            Hutchinson, KS 67502‐4521                                                                                                             First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Laplace Wrd No Stk                          373 Afton Ct                                              La Place, LA 70068‐2609                                                                                                               First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Elizabethtown Ward                          1136 Sunwood Ln                                           Lancaster, PA 17601‐7106                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Lititz Ward                                 1136 Sunwood Ln                                           Lancaster, PA 17601‐7106                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Ephrata Ward                                1210 E King St                                            Lancaster, PA 17602‐3236                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Lancaster Ward                              1210 E King St                                            Lancaster, PA 17602‐3236                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Lebanon Ward                                455 Church Rd                                             Lebanon, PA 17042‐9406                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Calcasieu Area Council 209                  127 Sapphire Ln                                           Leesville, LA 71446                                                                                                                   First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Blue Grass Council 204                      2459 Sir Barton Way                                       Lexington, KY 40509‐2267                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Longhouse Council 373                       4889 Bear Rd                                              Liverpool, NY 13088‐4757                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Heritage                                    3211 58th St                                              Lubbock, TX 79413‐5505                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Canyon West                                 7014 Frankford Ave                                        Lubbock, TX 79424‐1439                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Shadow Hill Ward                            7014 Frankford Ave                                        Lubbock, TX 79424‐1439                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Monterey Park                               6310 114th St                                             Lubbock, TX 79424‐6024                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Regal Park                                  6310 114th St                                             Lubbock, TX 79424‐6024                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Luling Brch No Stk                          321 Lakewood Dr                                           Luling, LA 70070‐3010                                                                                                                 First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Madison Branch                              927 N Lee Ave                                             Madison, SD 57042                                                                                                                     First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Fayetteville                                5070 N Eagle Village Rd                                   Manlius, NY 13104                                                                                                                     First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Marshall                                    207 S 4th St, Unit A                                      Marshall, MN 56258‐1225                                                                                                               First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Maryville Branch                            1721 S Munn Ave                                           Maryville, MO 64468                                                                                                                   First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Simpsonville Ward 101                       403 Bel Arbor Ln                                          Mauldin, SC 29662‐2876                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Washington Ward                             195 Wellington Cir                                        Mcmurray, PA 15317‐3092                                                                                                               First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Chickasaw Council 558                       4520 Winchester Rd                                        Memphis, TN 38118‐5151                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Hudson Valley Council 374                   790 Silver Lake Scotchtown Rd                             Middletown, NY 10941                                                                                                                  First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Sioux Council 733                           P.O. Box 837                                              Mission, SD 57555‐0837                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Beaver Valley Ward                          114 Church Dr                                             Monaca, PA 15061                                                                                                                      First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Laurel Highlands Council 527                132 Sacred Heart Rd                                       Monongahela, PA 15063                                                                                                                 First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Mt. Island Ward                             Mecklenburg County Council 415                            Mountain Island Ward                  7036 Mcilwaine Rd                    Huntersville, NC 28078                                     First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Uptown Wrd No Stk                           3613 Saint Charles Ave                                    New Orleans, LA 70115                                                                                                                 First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     New Philadelphia                            521 Stratton Ave Sw                                       New Philadelphia, OH 44663                                                                                                            First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     2nd Wd Westchester St                       111 North Ave                                             New Rochelle, NY 10801‐7405                                                                                                           First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Hudson Valley Council 374                   485 Mount Airy Rd                                         New Windsor, NY 12553‐8937                                                                                                            First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Overland Trails 322                         2038 N Front Rd                                           North Platte, NE 69101‐1431                                                                                                           First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Of Yarmouth                                 247 Walnut Hill Rd                                        North Yarmouth, ME 04097                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     c/o George B. Estes                         650 Bugeia Ln                                             Novato, CA 94945‐1557                                                                                                                 First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Oakland, Nj                                 72 Monhegan Ave                                           Oakland, NJ 07436‐4034                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Yorktown ‐Stake‐ Yorktown                   801 Kitchawan Rd 134                                      Ossining, NY 10562                                                                                                                    First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     West Tennessee Area Council 559             1921 Lone Oak Rd                                          Paris, TN 38242‐5642                                                                                                                  First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Buckskin 617                                2515 Capital Dr                                           Parkersburg, WV 26101‐7115                                                                                                            First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Pine Tree Council 218                       8 Howe Dr                                                 Parsonsfield, ME 04047                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Lds                                         42 E 39th St                                              Paterson, NJ 07514                                                                                                                    First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Flat Creek Ward                             101 S Peachtree Pkwy                                      Peachtree City, GA 30269                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Cradle of Liberty Council 525               413 Fern Dr                                               Perkasie, PA 18944‐1242                                                                                                               First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Blue Grass Council 204                      114 Tollage Crk                                           Pikeville, KY 41501                                                                                                                   First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Old Hickory Council 427                     Golf Course Rd                                            Pilot Mountain, NC 27041                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Old Hickory Council 427                     Golf Course Rd                                            Pilot Mountain, NC 27041                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Pipestone                                   701 2nd Ave Sw                                            Pipestone, MN 56164‐1413                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Pittsburgh 5th Ward                         46 School St                                              Pittsburgh, PA 15220‐2717                                                                                                             First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Pittsburgh 4th Ward                         2202 Reis Run Rd                                          Pittsburgh, PA 15237                                                                                                                  First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Lds                                         1404 N Motorola Dr                                        Pontiac, IL 61764‐9197                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Longhouse Council 373                       21 Castle Dr                                              Potsdam, NY 13676‐1610                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Hudson Valley Council 374                   Twin Hills Rd                                             Poughkeepsie, NY 12601                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Hawk Mountain Council 528                   3344 Reading Crest Ave                                    Reading, PA 19605‐1623                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Hawk Mountain Council 528                   3344 Reading Crest Ave                                    Reading, PA 19605‐1623                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Eden Ward                                   4751 Nc Hwy 14                                            Reidsville, NC 27320                                                                                                                  First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Pea Ridge Branch                            13809 Degraff Rd                                          Rogers, AR 72756‐8866                                                                                                                 First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Lds                                         1117 Rose Lee Ln                                          Rosepine, LA 70659                                                                                                                    First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Natchitoches                                Norwela Council 215                                       Rr 5                                  Natchitoches, LA 11457                                                                          First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Botetourt Branch                            6311 Wayburn Dr                                           Salem, VA 24153‐4116                                                                                                                  First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Piedmont Council 420                        307 Country Club Rd                                       Shelby, NC 28150                                                                                                                      First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     2nd Ward Sioux Falls                        3901 S Fairhall Ave                                       Sioux Falls, SD 57106‐1738                                                                                                            First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     1st Ward Sioux Falls                        3900 S Fairhall Ave                                       Sioux Falls, SD 57106‐1739                                                                                                            First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Brandon                                     2113 S Copper Crest Trl                                   Sioux Falls, SD 57110‐6801                                                                                                            First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Gulfport Stake                              112 Rue Esplanade                                         Slidell, LA 70461                                                                                                                     First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Durham Stake, S Boston Ward                 3192 Dan River Church Rd                                  South Boston, VA 24592                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Montana Council 315                         61501 Watson Rd                                           St Ignatius, MT 59865‐9121                                                                                                            First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Pushmataha Area Council 691                 413 Abernathy Dr                                          Starkville, MS 39759‐5590                                                                                                             First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Longhouse Council 373                       801 E Colvin St                                           Syracuse, NY 13210‐3201                                                                                                               First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Flint River Council 095                     3748 Barnesville Hwy                                      Thomaston, GA 30286‐1506                                                                                                              First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Jersey Shore Council 341                    1348 Old Freehold Rd                                      Toms River, NJ 08753                                                                                                                  First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Tuscola Branch                              408 Sunset Dr                                             Tuscola, IL 61953‐1352                                                                                                                First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Daniel Boone Council 414                    91 Monticello Rd                                          Weaverville, NC 28787                                                                                                                 First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Royal Palm Beach Ward                       990 Big Blue Trce                                         Wellington, FL 33414‐3915                                                                                                             First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Westchester 1st Ward                        Westchester Stake                                         Westchester Putnam 388                60 Wayside Ln                        Scarsdale, NY 10583                                        First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     East Carolina Council 426                   3110 Westshire Dr N                                       Wilson, NC 27896‐1717                                                                                                                 First Class Mail
Chartered Organization         Church Jesus Christ Lds                                     Osan Military Branch                        Far E Council 803                                         Yaesu Christo Hugisongdo Kyo‐Hway     Pyeongtaek‐Si, Seojeong‐Dong 837‐8   Republic Of Korea                                          First Class Mail
Chartered Organization         Church Jesus Christ Lds‐Poughkeepsie                        Hudson Valley Council 374                   204 Spackenkill Rd                                        Poughkeepsie, NY 12603‐5135                                                                                                           First Class Mail
Chartered Organization         Church Lds Sheridan 3Rd Ward                                Greater Wyoming Council 638                 2051 Colonial Dr                                          Sheridan, WY 82801‐6007                                                                                                               First Class Mail
Chartered Organization         Church Of All Saints                                        Minsi Trails Council 502                    17 N Cleveland St                                         Mcadoo, PA 18237                                                                                                                      First Class Mail
Chartered Organization         Church Of Annunciata Catholic Church                        Pathway To Adventure 456                    11128 S Ave G                                             Chicago, IL 60617‐6925                                                                                                                First Class Mail
Chartered Organization         Church Of Annunciation                                      Bay‐Lakes Council 635                       401 Gray St                                               Green Bay, WI 54303‐3013                                                                                                              First Class Mail
Chartered Organization         Church Of Ascension                                         Miami Valley Council, Bsa 444               2025 Woodman Dr                                           Kettering, OH 45420‐2902                                                                                                              First Class Mail
Chartered Organization         Church Of Christ                                            Daniel Webster Council, Bsa 330             14 Milford St                                             Brookline, NH 03033‐2446                                                                                                              First Class Mail
Chartered Organization         Church Of Christ                                            Simon Kenton Council 441                    18077 State Route 31                                      Marysville, OH 43040‐9767                                                                                                             First Class Mail
Chartered Organization         Church Of Christ                                            Pine Burr Area Council 304                  4524 Meridian St                                          Moss Point, MS 39563‐4214                                                                                                             First Class Mail
Chartered Organization         Church Of Christ                                            Northeastern Pennsylvania Council 501       5439 Main Rd                                              Sweet Valley, PA 18656‐2488                                                                                                           First Class Mail
Chartered Organization         Church Of Christ                                            Suffolk County Council Inc 404              600 Montauk Hwy                                           West Islip, NY 11795‐4412                                                                                                             First Class Mail
Chartered Organization         Church Of Christ At Hagerstown                              Mason Dixon Council 221                     10014 White Hall Rd                                       Hagerstown, MD 21740‐1482                                                                                                             First Class Mail
Chartered Organization         Church Of Christ At Trenton Crossing                        Middle Tennessee Council 560                2650 Trenton Rd                                           Clarksville, TN 37040‐5801                                                                                                            First Class Mail
Chartered Organization         Church Of Christ Congregational                             Connecticut Rivers Council, Bsa 066         P.O. Box 216                                              Goshen, CT 06756‐0216                                                                                                                 First Class Mail
Chartered Organization         Church Of Christ Congregational                             Attn: John Krukar                           P.O. Box 216                                              Goshen, CT 06756‐0216                                                                                                                 First Class Mail
Voting Party                   Church Of Christ D/B/A Brookline Community Church           Attn: Rev Catherine A Merrill               P.O. Box 507                                              Brookline, NH 03033                                                                                 cheryl@notingerlaw.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Church Of Christ In Christian Union                         Simon Kenton Council 441                    8280 Rickard Rd                                           Plain City, OH 43064‐9404                                                                                                             First Class Mail
Chartered Organization         Church Of Christ Paris                                      Transatlantic Council, Bsa 802              4 Rue Deodat De Severac                                   Paris, 75017                          France                                                                                          First Class Mail
Chartered Organization         Church Of Christ Paris                                      Transatlantic Council, Bsa 802              4 Rue Deodat De Severac                                   Paris, 75017                          France                                                                                          First Class Mail
Voting Party                   Church Of Christ Uniting (079844)                           c/o Bentz Law Firm                          Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200            Pittsburgh, PA 15228                                          lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Church Of Christ, Congregational                            (United Church of Christ)                   4 Litchfield Rd                                           Norfolk, CT 06058                                                                                                                     First Class Mail
Chartered Organization         Church Of Good Shepherd                                     Greater New York Councils, Bsa 640          608 Isham St                                              New York, NY 10034‐2006                                                                                                               First Class Mail
Voting Party                   Church Of Good Shepherd                                     c/o Barrett & Barrett                       Attn: Ted A Barrett, Esq                                  505 Patricia Ave                      Dunedin, FL 34698                                             barrettandbarrettlaw@gmail.com    Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Church Of Holy Comforter, Montgomery, Al                    Attn: Rev Rob Morpeth, Diocese of Alabama   521 N 20th St                                             Birmingham, AL 35203                                                                                rmorpeth@dioala.org               Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Church Of Holy Trinity, Episcopal, South Bend, Inc          Attn: Dr Terri L Bays                       915 N Olive St                                            South Bend, IN 46628                                                                                rmilligan@pilawyers.com           Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Church Of Infant Jesus                                      c/o Cullen and Dykman LLP                   Attn: Matthew G Roseman                                   100 Quentin Roosevelt Blvd            Garden City, NY 11530                                         MRoseman@cullenllp.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Church Of Jesus Christ L D S                                Pony Express Council 311                    812 Jansen St                                             Chillicothe, MO 64601‐1804                                                                                                            First Class Mail
Chartered Organization         Church Of Jesus Christ L D S                                Pony Express Council 311                    7 N Carriage Dr                                           Saint Joseph, MO 64506‐1230                                                                                                           First Class Mail
Chartered Organization         Church Of Jesus Christ L D S                                Pony Express Council 311                    2930 Oklahoma Ave                                         Trenton, MO 64683                                                                                                                     First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                  Arbuckle Area Council 468                   12690 County Rd 3522                                      Ada, OK 74820‐1793                                                                                                                    First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                  Pony Express Council 311                    1102 N 18th St                                            Albany, MO 64402                                                                                                                      First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                  Central N Carolina Council 416              1718 Ridge St                                             Albemarle, NC 28001                                                                                                                   First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                  Buckeye Council 436                         1295 Montgomery                                           Ashland, OH 44805                                                                                                                     First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                  Columbia‐Montour 504                        7368 School House Rd                                      Berwick, PA 18603                                                                                                                     First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                  Gulf Stream Council 085                     1480 Knuth Rd                                             Boynton Beach, FL 33436‐4604                                                                                                          First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                  Cradle of Liberty Council 525               721 Paxon Hollow Rd                                       Broomall, PA 19008‐3423                                                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 62 of 442
                                                                                     Case 20-10343-LSS                                                     Doc 8171                                          Filed 01/06/22                                               Page 78 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                        Name                                                                                                         Address                                                                                                                               Email              Method of Service
Chartered Organization         Church Of Jesus Christ Lds                                                  Texas Trails Council 561               4503 4th St                                                Brownwood, TX 76801‐7437                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Stonewall Jackson Council 763          217 Ridge Ave                                              Buena Vista, VA 24416‐1413                                                                                               First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Stonewall Jackson Council 763          2438 Maple Ave                                             Buena Vista, VA 24416‐2212                                                                                               First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Stonewall Jackson Council 763          2227 Oak Ave                                               Buena Vista, VA 24416‐2349                                                                                               First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Northwest Georgia Council 100          455 Mcdaniel Station Rd Sw                                 Calhoun, GA 30701‐3320                                                                                                   First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Stonewall Jackson Council 763          1275 Timberwood Blvd                                       Charlottesville, VA 22911‐9095                                                                                           First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pushmataha Area Council 691            2808 Ridge Rd                                              Columbus, MS 39705‐3131                                                                                                  First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pushmataha Area Council 691            2808 Ridge Rd                                              Columbus, MS 39705‐3131                                                                                                  First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pine Burr Area Council 304             89350 Diamondhead Dr E                                     Diamondhead, MS 39525‐3641                                                                                               First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Patriots Path Council 358              40 Cherry St                                               Elizabeth, NJ 07202‐2110                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Northern New Jersey Council, Bsa 333   840 Soldier Hill Rd                                        Emerson, NJ 07630‐1521                                                                                                   First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Black Hills Area Council 695 695       15148 Sd Hwy 73                                            Faith, SD 57626‐8006                                                                                                     First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pine Tree Council 218                  14 Hasson St                                               Farmingdale, ME 04344‐1614                                                                                               First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pine Tree Council 218                  141 Woodfield Dr                                           Farmington, ME 04938                                                                                                     First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Flint River Council 095                2021 Redwine Rd                                            Fayetteville, GA 30215                                                                                                   First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Middle Tennessee Council 560           78 Ables Ln                                                Fayetteville, TN 37334‐4856                                                                                              First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Andrew Jackson Council 303             342 W Main St                                              Florence, MS 39073                                                                                                       First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Piedmont Council 420                   250 Mount Pleasant Church Rd                               Forest City, NC 28043                                                                                                    First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Gulf Stream Council 085                2901 Virginia Ave                                          Fort Pierce, FL 34981                                                                                                    First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Santa Fe Trail Council 194             619 E Mary St                                              Garden City, KS 67846‐3341                                                                                               First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Tuscarora Council 424                  1000 11th St                                               Goldsboro, NC 27534‐1618                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Tuscarora Council 424                  1000 11th St                                               Goldsboro, NC 27534‐1618                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Lake Erie Council 440                  12090 Durkee Rd                                            Grafton, OH 44044‐9501                                                                                                   First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Overland Trails 322                    212 W 22nd St                                              Grand Island, NE 68801‐2375                                                                                              First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Overland Trails 322                    212 W 22nd St                                              Grand Island, NE 68801‐2375                                                                                              First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Blue Ridge Council 551                 400 Farrs Bridge Rd                                        Greenville, SC 29617                                                                                                     First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Blue Ridge Council 551                 Hwy 254                                                    Greenwood, SC 29646                                                                                                      First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Blue Ridge Council 551                 Hwy 254 At Crestview                                       Greenwood, SC 29646                                                                                                      First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Cherokee Area Council 469 469          1104 Lee St                                                Grove, OK 74344                                                                                                          First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Black Warrior Council 006              171 County Rd 3401                                         Haleyville, AL 35565‐6959                                                                                                First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  West Tennessee Area Council 559        923 Pipkin Rd                                              Jackson, TN 38305‐5708                                                                                                   First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Allegheny Highlands Council 382        851 Forest Ave                                             Jamestown, NY 14701‐7936                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Flint River Council 095                2100 Lake Jodeco Rd                                        Jonesboro, GA 30236‐5238                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Coronado Area Council 192              1705 Mcfarland Rd                                          Junction City, KS 66441‐3368                                                                                             First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Overland Trails 322                    510 E 46th St                                              Kearney, NE 68847‐2602                                                                                                   First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Overland Trails 322                    510 E 46th St                                              Kearney, NE 68847‐2602                                                                                                   First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Gulf Stream Council 085                5837 Aurora Ct                                             Lake Worth, FL 33463‐1533                                                                                                First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Blue Grass Council 204                 1789 Tates Creek Rd                                        Lexington, KY 40502‐2763                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Piedmont Council 420                   105 Old Tram St                                            Lincolnton, NC 28092‐4243                                                                                                First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Lake Erie Council 440                  3501 Kolbe Rd                                              Lorain, OH 44053‐1631                                                                                                    First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Coronado Area Council 192              2812 Marlatt Ave                                           Manhattan, KS 66502                                                                                                      First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Buckeye Council 436                    1951 Middle Bellville Rd                                   Mansfield, OH 44904                                                                                                      First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Piedmont Council 420                   2230 Airport Rd                                            Marion, NC 28752‐4509                                                                                                    First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Overland Trails 322                    411 Elizabeth Ln                                           Mccook, NE 69001‐2830                                                                                                    First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Suffolk County Council Inc 404         1 Cedar Ave                                                Medford, NY 11763                                                                                                        First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Choctaw Area Council 302               5805 N Hills St                                            Meridian, MS 39307‐2907                                                                                                  First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Cherokee Area Council 469 469          1516 Ponder Ct                                             Miami, OK 74354‐3610                                                                                                     First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Miami Valley Council, Bsa 444          4930 Central Ave                                           Middletown, OH 45044‐5425                                                                                                First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Three Harbors Council 636              9904 W Calumet Rd                                          Milwaukee, WI 53224                                                                                                      First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Old Hickory Council 427                166 Woodbridge Dr                                          Mount Airy, NC 27030‐7546                                                                                                First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pathway To Adventure 456               1530 Tulip Ln                                              Munster, IN 46321‐3133                                                                                                   First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Stonewall Jackson Council 763          1869 Taylors Gap Rd                                        North Garden, VA 22959‐1540                                                                                              First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Susquehanna Council 533                2294 Ridge Rd                                              Northumberland, PA 17857                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pine Burr Area Council 304             1302 Martin St                                             Pascagoula, MS 39581‐2337                                                                                                First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  W D Boyce 138                          3700 W Reservoir Blvd                                      Peoria, IL 61615‐3959                                                                                                    First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  South Plains Council 694               4211 W 2nd St                                              Plainview, TX 79072                                                                                                      First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Cradle of Liberty Council 525          93 Maugers Mill Rd                                         Pottstown, PA 19464‐1501                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Samoset Council, Bsa 627               780 Iverson St                                             Rhinelander, WI 54501‐2800                                                                                               First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Northwest Georgia Council 100          3300 Garden Lakes Pkwy Nw                                  Rome, GA 30165‐1757                                                                                                      First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Northwest Georgia Council 100          3300 Garden Lakes Pkwy Nw                                  Rome, GA 30165‐1757                                                                                                      First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Central Minnesota 296                  1420 29th Ave N                                            Saint Cloud, MN 56303‐1318                                                                                               First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Coronado Area Council 192              845 S Ohio St                                              Salina, KS 67401‐5223                                                                                                    First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Lake Erie Council 440                  4511 Galloway Rd                                           Sandusky, OH 44870‐6026                                                                                                  First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pine Tree Council 218                  25 Wview Dr                                                Sanford, ME 04073                                                                                                        First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Seminole Branch                        100 NW Ave J                                               Seminole, TX 79360‐2743                                                                                                  First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Piedmont Council 420                   307 Country Club Rd                                        Shelby, NC 28150                                                                                                         First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pine Tree Council 218                  25 Bush St, Apt 5                                          Skowhegan, ME 04976‐1806                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Tuscarora Council 424                  303 Canterbury Rd                                          Smithfield, NC 27577‐4820                                                                                                First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Tuscarora Council 424                  303 Canterbury Rd                                          Smithfield, NC 27577‐4820                                                                                                First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Glaciers Edge Council 620              825 S Van Buren St                                         Stoughton, WI 53589‐5305                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Simon Kenton Council 441               6 Cross St                                                 The Plains, OH 45780‐1436                                                                                                First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  South Georgia Council 098              Murray Ave                                                 Tifton, GA 31794                                                                                                         First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  South Georgia Council 098              Murray Ave                                                 Tifton, GA 31794                                                                                                         First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Great Rivers Council 653               Hwy 5                                                      Tipton, MO 65081                                                                                                         First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Puerto Rico Council 661                Calle Colina Real                                          Toa Baja, PR 00949                                                                                                       First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pine Tree Council 218                  33 Pinewood Dr                                             Topsham, ME 04086                                                                                                        First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pine Tree Council 218                  26 Washington St                                           Waterville, ME 04901                                                                                                     First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pine Tree Council 218                  26 Washington St                                           Waterville, ME 04901                                                                                                     First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Stonewall Jackson Council 763          2825 Jefferson Ln                                          Waynesboro, VA 22980‐1552                                                                                                First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Louisiana Purchase Council 213         800 Downing Pines Rd                                       West Monroe, LA 71291                                                                                                    First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Westchester 1st Ward                   Westchester Stake ‐ Westchester                            Westchester Putnam 388             60 Wayside Ln                Scarsdale, NY 10583                                      First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pathway To Adventure 456               1550 Haase Ave                                             Westchester, IL 60154‐3421                                                                                               First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  Pine Tree Council 218                  755 River Rd                                               Windham, ME 04062                                                                                                        First Class Mail
Chartered Organization         Church Of Jesus Christ Lds                                                  South Plains Council 694               209 Tiger St                                               Wolfforth, TX 79382‐5325                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Lds ‐ Canton                                         W D Boyce 138                          1313 Sunview Dr                                            Canton, IL 61520‐2249                                                                                                    First Class Mail
Chartered Organization         Church Of Jesus Christ Lds ‐ Canton                                         c/o Matthew Scott Oettli               9383 Huntshire Ave Nw                                      North Canton, OH 44720‐8258                                                                                              First Class Mail
Chartered Organization         Church Of Jesus Christ Lds ‐ Lisbon                                         Buckeye Council 436                    7160 State Route 45                                        Lisbon, OH 44432‐8314                                                                                                    First Class Mail
Chartered Organization         Church Of Jesus Christ Lds ‐ Massillon                                      Buckeye Council 436                    2625 Ohio State Dr Se                                      Massillon, OH 44646‐9616                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Lds ‐ Wooster                                        Buckeye Council 436                    1388 Liahona Dr                                            Wooster, OH 44691                                                                                                        First Class Mail
Chartered Organization         Church Of Jesus Christ Lds Alliance Ward                                    Buckeye Council 436                    2260 Hedgewood Ave                                         Alliance, OH 44601‐4411                                                                                                  First Class Mail
Chartered Organization         Church Of Jesus Christ Lds Conway Ward                                      Pee Dee Area Council 552               450 Dunn Short Cut Rd                                      Conway, SC 29527                                                                                                         First Class Mail
Chartered Organization         Church Of Jesus Christ Lds Lake Norman                                      Piedmont Council 420                   148 Lazy Ln                                                Mooresville, NC 28117                                                                                                    First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds ‐ Saco                                        Pine Tree Council 218                  13 Smith Ln                                                Saco, ME 04072                                                                                                           First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds 37427 Ward                                    Texas Trails Council 561               3325 N 12th St                                             Abilene, TX 79603‐4736                                                                                                   First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds Atchison                                      Pony Express Council 311               1415 Riverview Dr                                          Atchison, KS 66002‐3154                                                                                                  First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds Bossier                                       Norwela Council 215                    310 Wellington Dr                                          Bossier City, LA 71111                                                                                                   First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds Cameron                                       Pony Express Council 311               1100 E Grand Ave                                           Cameron, MO 64429                                                                                                        First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds Chicago                                       Pathway To Adventure 456               5100 N Springfield Ave                                     Chicago, IL 60625‐6024                                                                                                   First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds Far West                                      Pony Express Council 311               1100 E Grand Ave                                           Cameron, MO 64429                                                                                                        First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds Many                                          Norwela Council 215                    2084 Natchitoches Hwy                                      Many, LA 71449                                                                                                           First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds Of Wm                                         Louisiana Purchase Council 213         800 Downing Pines Rd                                       West Monroe, LA 71291                                                                                                    First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds Salem                                         Ozark Trails Council 306               1701 W Franklin St                                         Salem, MO 65560                                                                                                          First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds Thibodaux                                     Houma Ward                             3702 Hwy 311                                               Houma, LA 70360                                                                                                          First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds‐Cornish                                       Pine Tree Council 218                  8 Howe Dr                                                  Parsonsfield, ME 04047                                                                                                   First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds‐Saco Ward                                     Pine Tree Council 218                  15 Smith Ln                                                Saco, ME 04072                                                                                                           First Class Mail
Chartered Organization         Church Of Jesus Christ Of Lds‐Yarmouth                                      Pine Tree Council 218                  247 Walnut Hill Rd                                         North Yarmouth, ME 04097                                                                                                 First Class Mail
Chartered Organization         Church Of Jesus Christ Shreveport Ward                                      Norwela Council 215                    216 Johnnie Dr                                             Shreveport, LA 71115‐2606                                                                                                First Class Mail
Chartered Organization         Church Of Jesus Christ Stonewall Ward                                       Norwela Council 215                    2560 US Hwy 171                                            Stonewall, LA 71070                                                                                                      First Class Mail
Chartered Organization         Church Of Latter‐Day Saints                                                 Gastonia Stake                         2710 Redbud Dr                                             Gastonia, NC 28056                                                                                                       First Class Mail
Chartered Organization         Church Of Latter‐Day Saints                                                 West New York                          6301 Palisade Ave                                          West New York, NJ 07093‐2317                                                                                             First Class Mail
Chartered Organization         Church Of Lds ‐ Owingsville Ward                                            Blue Grass Council 204                 12 Maysville Ave                                           Mt Sterling, KY 40353‐1034                                                                                               First Class Mail
Chartered Organization         Church Of Lds (Hudson)                                                      Northern New Jersey Council, Bsa 333   140 Sip Ave                                                Jersey City, NJ 07306‐3009                                                                                               First Class Mail
Chartered Organization         Church Of Lds Caprock Ward                                                  South Plains Council 694               3211 58th St                                               Lubbock, TX 79413‐5505                                                                                                   First Class Mail
Chartered Organization         Church Of Lds Eldersburg                                                    Baltimore Area Council 220             7225 Slacks Rd                                             Eldersburg, MD 21784‐5947                                                                                                First Class Mail
Chartered Organization         Church Of Lds Gray Ward                                                     Central Georgia Council 096            139 Hunting Dr                                             Gray, GA 31032‐6127                                                                                                      First Class Mail
Chartered Organization         Church Of Nativity                                                          Mid‐America Council 326                4242 Natalia Way                                           Sioux City, IA 51106‐4035                                                                                                First Class Mail
Voting Party                   Church Of Our Savior (Killington)                                           c/o The Tamposi Law Group, PC          Attn: Peter N Tamposi                                      159 Main St                        Nashua, NH 03060                                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Church Of Our Savior (Milford)                                              c/o The Tamposi Law Group, PC          Attn: Peter N Tamposi                                      159 Main St                        Nashua, NH 03060                                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Church Of Our Saviour                                                       Circle Ten Council 571                 1616 N Jim Miller Rd                                       Dallas, TX 75217‐1320                                                                                                    First Class Mail
Chartered Organization         Church Of Our Saviour                                                       Bay‐Lakes Council 635                  363 S Main St                                              Fond Du Lac, WI 54935‐4949                                                                                               First Class Mail
Chartered Organization         Church Of Our Saviour                                                       Daniel Webster Council, Bsa 330        P.O. Box 237                                               Milford, NH 03055‐0237                                                                                                   First Class Mail
Voting Party                   Church Of Our Saviour                                                       Attn: David Milam                      P.O. Box 89                                                60 Union St                        Middleborough, MA 02346                            cosparishhall@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Church Of Our Saviour St‐Matthews‐Leran                                     Northern New Jersey Council, Bsa 333   Roosevelt Ave                                              Paterson Plk Rd                    Secaucus, NJ 07094                                                                    First Class Mail
Chartered Organization         Church Of Our Saviour Umc                                                   Laurel Highlands Council 527           1502 Chicago St                                            Pittsburgh, PA 15214‐2416                                                                                                First Class Mail
Voting Party                   Church Of Our Saviour United Methodist                                      Attn: Jessica Ellis, CFO               475 Riverside Dr, Ste 1922                                 New York, NY 10115                                                                    jellis@umcitysociety.org           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Church Of Reconciliation                                                    8900 Starcrest Dr                      San Antonio, TX 78217                                                                                                                            bill@cor‐satx.org                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Church Of Sacred Heart                                                      Attn: Andre L Kydala                   54 Old Hwy 22                                              Clinton, NJ 08809                                                                     kydalalaw@aim.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Church Of Saint Anastasia Rcc                                               Greater New York Councils, Bsa 640     4514 245th St                                              Little Neck, NY 11362‐1135                                                                                               First Class Mail
Chartered Organization         Church Of Saint Andrew                                                      Greater New York Councils, Bsa 640     40 Old Mill Rd                                             Staten Island, NY 10306‐1122                                                                                             First Class Mail
Chartered Organization         Church Of Saint Anne                                                        Theodore Roosevelt Council 386         35 Dartmouth St                                            Garden City, NY 11530‐5109                                                                                               First Class Mail
Chartered Organization         Church Of Saint Clare Roman Catholic                                        Mayflower Council 251                  1244 Liberty St                                            Braintree, MA 02184‐8216                                                                                                 First Class Mail
Chartered Organization         Church Of Saint Clement                                                     Yucca Council 573                      810 N Campbell St                                          El Paso, TX 79902‐5203                                                                                                   First Class Mail
Chartered Organization         Church Of Saint Edward                                                      Winnebago Council, Bsa 173             1423 Kimball Ave                                           Waterloo, IA 50702‐3837                                                                                                  First Class Mail
Chartered Organization         Church Of Saint James                                                       Patriots Path Council 358              184 S Finley Ave                                           Basking Ridge, NJ 07920‐1429                                                                                             First Class Mail
Chartered Organization         Church Of Saint James The Less                                              Westchester Putnam 388                 10 Church Ln                                               Scarsdale, NY 10583‐4216                                                                                                 First Class Mail
Chartered Organization         Church Of Saint Magdalen                                                    Washington Crossing Council 777        105 Mine St                                                Flemington, NJ 08822‐1512                                                                                                First Class Mail
Chartered Organization         Church Of Saint Patrick                                                     Southwest Florida Council 088          7900 Bee Ridge Rd                                          Sarasota, FL 34241‐6305                                                                                                  First Class Mail
Chartered Organization         Church Of Saint Rocco                                                       Theodore Roosevelt Council 386         18 3rd St                                                  Glen Cove, NY 11542‐3718                                                                                                 First Class Mail
Chartered Organization         Church Of Santa Susanna                                                     Transatlantic Council, Bsa 802         Via Venti Settembre 15                                     Roma, 00187                        Italy                                                                                 First Class Mail
Chartered Organization         Church Of Santa Teresa                                                      Silicon Valley Monterey Bay 055        794 Calero Ave                                             San Jose, CA 95123‐3912                                                                                                  First Class Mail
Chartered Organization         Church Of Scientology                                                       Greater Tampa Bay Area 089             210 S Fort Harrison Ave                                    Clearwater, FL 33756‐5109                                                                                                First Class Mail
Chartered Organization         Church Of Scientology Celebrity Center                                      Greater Los Angeles Area 033           5930 Franklin Ave                                          Los Angeles, CA 90028‐5516                                                                                               First Class Mail
Chartered Organization         Church Of Scientology Of The Valley                                         W.L.A.C.C. 051                         11455 Burbank Blvd                                         North Hollywood, CA 91601‐2303                                                                                           First Class Mail
Chartered Organization         Church Of Ss Cosmas And Damian                                              Lake Erie Council 440                  10419 Ravenna Rd                                           Twinsburg, OH 44087‐1726                                                                                                 First Class Mail
Chartered Organization         Church Of St Anastasia Rcc                                                  Greater New York Councils, Bsa 640     4514 245th St                                              Douglaston, NY 11362‐1135                                                                                                First Class Mail
Chartered Organization         Church Of St Andrew                                                         Central Minnesota 296                  566 4th St Nw                                              Elk River, MN 55330‐1428                                                                                                 First Class Mail
Chartered Organization         Church Of St Benedict Men'S Club                                            Indian Nations Council 488             2200 W Ithica St                                           Broken Arrow, OK 74012‐7455                                                                                              First Class Mail
Chartered Organization         Church Of St Clare                                                          Lake Erie Council 440                  5659 Mayfield Rd                                           Lyndhurst, OH 44124‐2915                                                                                                 First Class Mail
Chartered Organization         Church Of St Columba                                                        Northern Star Council 250              1327 Lafond Ave                                            Saint Paul, MN 55104‐2035                                                                                                First Class Mail
Chartered Organization         Church Of St Edward                                                         Northern Star Council 250              9401 Nesbitt Ave S                                         Minneapolis, MN 55437‐1943                                                                                               First Class Mail
Chartered Organization         Church Of St Eugene'S                                                       Westchester Putnam 388                 32 Massitoa Rd                                             Yonkers, NY 10710‐5016                                                                                                   First Class Mail
Chartered Organization         Church Of St Helen                                                          Patriots Path Council 358              1600 Rahway Ave                                            Westfield, NJ 07090‐3615                                                                                                 First Class Mail
Chartered Organization         Church Of St John The Apostle                                               Minsi Trails Council 502               5171 Milford Rd                                            East Stroudsburg, PA 18302‐9106                                                                                          First Class Mail
Voting Party                   Church Of St John The Evangelist In Stockton California                     c/o Ragghianti Freitas LLP             Attn: Michael O Glass Esq                                  1101 5th Ave, Ste 100              San Rafael, CA 94901                               mglass@rflawllp.com                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Church Of St Mark                                                           Greater New York Councils, Bsa 640     1417 Union St                                              Brooklyn, NY 11213‐4337                                                                                                  First Class Mail
Chartered Organization         Church Of St Mark                                                           Northern Star Council 250              2001 Dayton Ave                                            Saint Paul, MN 55104‐5804                                                                                                First Class Mail
Chartered Organization         Church Of St Mark/All Saints                                                Jersey Shore Council 341               429 S Pitney Rd                                            Galloway, NJ 08205‐9780                                                                                                  First Class Mail
Chartered Organization         Church Of St Mary Catholic                                                  Indian Nations Council 488             1347 E 49th Pl                                             Tulsa, OK 74105‐4779                                                                                                     First Class Mail
Chartered Organization         Church Of St Mary Magdalene                                                 San Diego Imperial Council 049         1945 Illion St                                             San Diego, CA 92110‐1316                                                                                                 First Class Mail
Chartered Organization         Church Of St Marys                                                          Northern Star Council 250              15858 Marystown Rd                                         Shakopee, MN 55379                                                                                                       First Class Mail
Chartered Organization         Church Of St Michael                                                        Northern Star Council 250              16311 Duluth Ave Se                                        Prior Lake, MN 55372‐2423                                                                                                First Class Mail
Voting Party                   Church Of St Michael                                                        c/o Woods Oviatt Gilman LLP            Attn: Timothy P Lyster, Esq                                1900 Bausch & Lomb Pl              Rochester, NY 14604                                tlyser@woodsoviatt.com             Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Church Of St Michael The Archangel                                          7400 Tudor Rd                          Colorado Springs, CO 80919                                                                                                                       rector@stmikeschurch.com           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Church Of St Patrick                                                        Greater New York Councils, Bsa 640     3650 Richmond Rd                                           Staten Island, NY 10306                                                                                                  First Class Mail
Voting Party                   Church Of St Peter The Apostle                                              c/o Gallagher Evelius & Jones LLP      Attn: Matthew W Oakey                                      218 N Charles St, Ste 400          Baltimore, MD 21201                                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Church Of St Peter The Apostle Oakland Roman Catholic                       c/o Gallagher Evelius & Jones LLP      Attn: Matthew W Oakey                                      218 N Charles St, Ste 400          Baltimore, MD 21201                                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Church Of St Peter The Apostle, Oakland, Roman Catholic Congregation, Inc   c/o Gallagher Evelius & Jones LLP      Attn: Matthew W Oakey                                      218 N Charles St, Ste 400          Baltimore, MD 21201                                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Church Of St Peters                                                         Central Minnesota 296                  930 31st Ave N                                             Saint Cloud, MN 56303‐2346                                                                                               First Class Mail
Chartered Organization         Church Of St Roch                                                           Greater New York Councils, Bsa 640     602 Port Richmond Ave                                      Staten Island, NY 10302‐1703                                                                                             First Class Mail
Chartered Organization         Church Of St Therese                                                        Tidewater Council 596                  4137 Portsmouth Blvd                                       Chesapeake, VA 23321‐2127                                                                                                First Class Mail
Chartered Organization         Church Of St William                                                        Northern Star Council 250              6120 5th St Ne                                             Fridley, MN 55432‐5033                                                                                                   First Class Mail
Voting Party                   Church Of St. Aidan                                                         c/o Cullen and Dykman LLP              Attn: Matthew G Roseman                                    100 Quentin Roosevelt Blvd         Garden City, NY 11530                              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Church Of St. Anne                                                          35 Dartmouth St                        Garden City, NY 11530                                                                                                                            tdriscoll@moritthock.com           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Church Of St. Catharine                                                     Northern New Jersey Council, Bsa 333   905 S Maple Ave                                            Glen Rock, NJ 07452‐2832                                                                                                 First Class Mail
Chartered Organization         Church Of St. Denis                                                         Hudson Valley Council 374              602 Beekman Rd                                             Hopewell Junction, NY 12533‐6305                                                                                         First Class Mail
Voting Party                   Church Of St. John The Evangelist (Dunbarton)                               c/o The Tamposi Law Group, PC          Attn: Peter N Tamposi                                      159 Main St                        Nashua, NH 03060                                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 63 of 442
                                                                                      Case 20-10343-LSS                                                 Doc 8171                                                Filed 01/06/22                                               Page 79 of 457
                                                                                                                                                                                             Exhibit B
                                                                                                                                                                                              Service List
                                                                                                                                                                                       Served as set forth below

        Description                                                        Name                                                                                                            Address                                                                                                           Email                   Method of Service
Voting Party                   Church Of St. John The Evangelist (Epis)(Newport)             c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of St. John The Evangelist In Stockton, California     c/o Ragghianti Freitas LLP                        Attn: Michael O. Glass, Esq.                                     1101 5th Ave, Ste 100               San Rafael, CA 94901               mglass@rflawllp.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of St. Joseph The Worker                               Southeast Louisiana Council 214                   P.O. Box 190                                                     Pierre Part, LA 70339‐0190                                                                                First Class Mail
Voting Party                   Church Of St. Jude                                            The Rev. Frederic A. Miller                       2505 Lufberry Ave                                                Wantagh, NY 11793                                                      sjwantagh1@gmail.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of St. Jude, Wantagh                                   3606 Lufberry Ave                                 Wantagh, NY 11793                                                                                                                       sjwantagh1@gmail.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of St. Luke & St. Peter                                2745 Canoe Creek Rd                               St. Cloud, FL 34772                                                                                                                     Ullrich.jason@gmail.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of St. Luke The Beloved Physician (Saranac Lake)       c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of St. Mark The Evangelist                             Attn: Mary L Berry                                P.O. Box 3520                                                    Syracuse, NY 13220                                                     stmarkssyracuse@gmail.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of St. Mary                                            c/o Cullen and Dykman LLP                         Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd          Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of St. Patrick                                         c/o Cullen and Dykman LLP                         Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd          Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of St. Paul And St. Andrew United Methodist            Attn: Brent Ness                                  263 W 86th St                                                    New York, NY 10024                                                     brent@stpaulandstandrew.org        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of St. Paul The Apostle                                c/o Cullen and Dykman LLP                         Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd          Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of St. Rita                                            Greater New York Councils, Bsa 640                281 Bradley Ave                                                  Staten Island, NY 10314‐5168                                                                              First Class Mail
Voting Party                   Church Of St. Rocco                                           c/o Cullen and Dykman LLP                         Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd          Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of St. Uriel The Archangel                             Russell Agnew Griffin                             219 Philadelphia Blvd                                            Sea Girt, NJ 08750                                                     rag53@optonline.net                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of The Accension                                       Central Florida Council 083                       4950 S Apopka Vineland Rd                                        Orlando, FL 32819‐3104                                                                                    First Class Mail
Chartered Organization         Church Of The Advent                                          Chester County Council 539                        401 N Union St                                                   Kennett Square, PA 19348‐2427                                                                             First Class Mail
Chartered Organization         Church Of The Advent                                          East Carolina Council 426                         P.O. Box 463                                                     Williamston, NC 27892‐0463                                                                                First Class Mail
Voting Party                   Church Of The Advent                                          104 W Elizabeth St                                Brownsville, TX 78520                                                                                                                   marthajwarburton@gmail.com         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Advent (Coventry)                               c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of The Advent Of S.E. Ocala, Inc                       North Florida Council 087                         11251 SW Hwy 484                                                 Dunnellon, FL 34432‐6415                                                                                  First Class Mail
Voting Party                   Church Of The American Martyrs, Scottsburg, Inc.              Attn: John S Mercer                               1400 N Meridian St                                               Indianapolis, IN 46202                                                 jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of The Annunciation                                    Narragansett 546                                  175 Oaklawn Ave                                                  Cranston, RI 02920‐9320                                                                                   First Class Mail
Chartered Organization         Church Of The Annunciation                                    Heart of America Council 307                      701 N Jefferson St                                               Kearney, MO 64060‐8389                                                                                    First Class Mail
Chartered Organization         Church Of The Annunciation                                    Lincoln Heritage Council 205                      105 Main St                                                      Shelbyville, KY 40065‐1021                                                                                First Class Mail
Voting Party                   Church Of The Annunciation Of Our Lady                        Attn: Rev. Jennifer Liem, Rector                  5725 Stearns School Rd                                           Guernee, IL 60031                                                      rector@annunciationgurnee.org      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Annunciation Roman Catholic Congregation, Inc   c/o Gallagher Evelius & Jones LLP                 Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Apostles                                        322 S Macarthur Blvd                              Coppell, TX 75019                                                                                                                       office@churchoftheapostles.net     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Apostles Episcopal                              Attn: Diana Kelly                                 1380 Wolf River Blvd                                             Collierville, TN 38107                                                 dekelly20@bellsouth.net            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of The Ascension                                       Narragansett 546                                  390 Pontiac Ave                                                  Cranston, RI 02910‐3322                                                                                   First Class Mail
Chartered Organization         Church Of The Ascension                                       Simon Kenton Council 441                          555 S Main St                                                    Johnstown, OH 43031‐9150                                                                                  First Class Mail
Chartered Organization         Church Of The Ascension                                       Miami Valley Council, Bsa 444                     2025 Woodman Dr                                                  Kettering, OH 45420‐2902                                                                                  First Class Mail
Chartered Organization         Church Of The Ascension                                       Heart of America Council 307                      9510 W 127th St                                                  Overland Park, KS 66213‐3200                                                                              First Class Mail
Chartered Organization         Church Of The Ascension                                       Tidewater Council 596                             4853 Princess Anne Rd                                            Virginia Beach, VA 23462‐4446                                                                             First Class Mail
Voting Party                   Church Of The Ascension                                       Attn: Stewart Mason Tabb                          405 Talbot Hall Rd                                               Norfolk, VA 23505                                                      stabb@ascension‐norfolk.org        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Ascension                                       702 Osage St                                      Neodesha, KS 66757                                                                                                                      ssbreese@aol.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Ascension                                       Attn: Rev Vincent Black                           13216 Detroit Ave                                                Lakewood, OH 44107                                                     revvincentblack@yahoo.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Ascension                                       Attn: Samuel Nsengiyumva                          23 N Court St                                                    Westminster, MD 21157                                                  rectoratascension@gmail.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Ascension                                       Attn: Larry Doddema                               311 Washington St                                                Frankfort, KY 40601                                                    info@ascensionfrankfort.org        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Ascension                                       Attn: Paul Klitzke                                8787 Greenville Ave                                              Dallas, TX 75243                                                                                          First Class Mail
Voting Party                   Church Of The Ascension & Holy Trinity                        420 W 18th St                                     Pueblo, CO 81003                                                                                                                        harry.tournay@gmail.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Ascension & Holy Trinity                        c/o Messner Reeves LLP                            Attn: Deanne Stodden                                             1430 Wynkoop St, Ste 300            Denver, CO 80202                   bankruptcy@messner.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Ascension (Epis)(Cranston)                      c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Ascension (Epis)(Wakefield)                     c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of The Ascension Roman Catholic                        Northern New Jersey Council, Bsa 333              256 Azalea Dr                                                    New Milford, NJ 07646‐2531                                                                                First Class Mail
Chartered Organization         Church Of The Assumption                                      Lake Erie Council 440                             9183 Broadview Rd                                                Broadview Hts, OH 44147‐2595                                                                              First Class Mail
Chartered Organization         Church Of The Assumption                                      Dan Beard Council, Bsa 438                        7711 Joseph St                                                   Cincinnati, OH 45231‐3406                                                                                 First Class Mail
Chartered Organization         Church Of The Assumption                                      Northern New Jersey Council, Bsa 333              29 Jefferson Ave                                                 Emerson, NJ 07630‐1229                                                                                    First Class Mail
Chartered Organization         Church Of The Assumption                                      Westchester Putnam 388                            131 Union Ave                                                    Peekskill, NY 10566‐3445                                                                                  First Class Mail
Chartered Organization         Church Of The Assumption                                      Northern Star Council 250                         305 E 77th St                                                    Richfield, MN 55423‐4312                                                                                  First Class Mail
Chartered Organization         Church Of The Assumption                                      Longhorn Council 662                              P.O. Box 276                                                     West, TX 76691‐0276                                                                                       First Class Mail
Voting Party                   Church Of The Assumption Catholic Church                      Attn: Rev Timothy Vaverek                         6225 E US 290 Hwy Svrd Eb                                        Austin, TX 78723                                                       ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Assumption Catholic Church                      Attn: Rev Timothy Vaverek                         303 S Harrison                                                   West, TX 76691                                                                                            First Class Mail
Voting Party                   Church Of The Atonement (Westfield)                           c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of The Beatitudes                                      Grand Canyon Council 010                          555 W Glendale Ave                                               Phoenix, AZ 85021‐8763                                                                                    First Class Mail
Voting Party                   Church Of The Beatitudes Of Phoenix                           Attn: Brown Family Law Group, Plc                 7600 N 15th St, 150                                              Phoenix, AZ 85020                                                      bruce.brown@azbrownlaw.com         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Beloved (Pascoag)                               c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of The Beloved Disciple                                Roman Catholic Church                             1310 S Center St Ext                                             Grove City, PA 16127‐4206                                                                                 First Class Mail
Voting Party                   Church Of The Blessed Sacrament                               c/o Cullen and Dykman LLP                         Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd          Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Blessed Sacrament, West Lafayette, In 47906     Attn: Matt Mckillip                               610 Lingle Ave                                                   Lafayette, IN 47902                                                    mmckillip@dol‐in.org               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of The Brethren                                        Blackhawk Area 660                                215 N Court St                                                   Dixon, IL 61021‐1249                                                                                      First Class Mail
Chartered Organization         Church Of The Chimes Congregational                           W.L.A.C.C. 051                                    14115 Magnolia Blvd                                              Sherman Oaks, CA 91423‐1118                                                                               First Class Mail
Voting Party                   Church Of The Covenant Umc                                    Attn: Holly Goldman‐Craig, Administrative Ass'T   P.O. Box 306                                                     Averill Park, NY 12018                                                                                    First Class Mail
Chartered Organization         Church Of The Cross                                           Indian Waters Council 553                         7244 Patterson Rd                                                Columbia, SC 29209‐2626                                                                                   First Class Mail
Voting Party                   Church Of The Cross United Methodist ‐ Salina                 c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Cross United Methodist ‐ Salina                 16600 Rush St,                                    Salina, KS 67401                                                                                                                        erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of The Cross Utd Methodist                             Coronado Area Council 192                         1600 Rush St                                                     Salina, KS 67401‐5553                                                                                     First Class Mail
Chartered Organization         Church Of The Crucifixion                                     Baltimore Area Council 220                        126 Dorsey Rd                                                    Glen Burnie, MD 21061‐3247                                                                                First Class Mail
Chartered Organization         Church Of The Epiphany                                        Simon Kenton Council 441                          6110 Angel Ridge Rd                                              Athens, OH 45701‐9603                                                                                     First Class Mail
Chartered Organization         Church Of The Epiphany                                        Jersey Shore Council 341                          615 Thiele Rd                                                    Brick, NJ 08724‐1140                                                                                      First Class Mail
Chartered Organization         Church Of The Epiphany                                        Connecticut Rivers Council, Bsa 066               196 Main St                                                      Durham, CT 06422‐2106                                                                                     First Class Mail
Chartered Organization         Church Of The Epiphany                                        Greater New York Councils, Bsa 640                239 E 21st St                                                    New York, NY 10010‐6463                                                                                   First Class Mail
Chartered Organization         Church Of The Epiphany                                        Heart of Virginia Council 602                     11000 Smoketree Dr                                               North Chesterfield, VA 23236‐3144                                                                         First Class Mail
Voting Party                   Church Of The Epiphany                                        100 Colorado Blvd                                 Denver, CO 80206                                                                                                                        stace_tafoya@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Epiphany                                        Attn: Leslie Ankele                               206 N 3rd St                                                     Kingsville, TX 78363                                                   office.epiphanyktx@gmail.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Epiphany (Epis)(Rumford)                        c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Epiphany (Lisbon)                               c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Epiphany (Newport)                              c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Epiphany / Christ The King (Wilbraham)          c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Eternal Hills, Tabernash                        Attn: Barb Williams                               P.O. Box 300                                                     100 Meadows Blvd                    Tabernash, CO 80478                admin@eternalhills.org             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Foothills ‐ Umc                                 Attn: Priscilla Nanong                            1014 Highland Ave                                                Duarte, CA 91010                                                       churchofthefoothills@verizon.net   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Four Seasons                                    Attn: Treasurer                                   9100 E 109th Ave                                                 Crown Point, IN 46307                                                  cofsum@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of The Good Samaritan                                  Chester County Council 539                        212 W Lancaster Ave                                              Paoli, PA 19301‐1723                                                                                      First Class Mail
Chartered Organization         Church Of The Good Samaritan, Anglican                        North Florida Council 087                         3813 Old Jennings Rd                                             Middleburg, FL 32068‐3791                                                                                 First Class Mail
Voting Party                   Church Of The Good Shepard                                    c/o Cullen and Dykman LLP                         Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd          Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepard                                    700 S Upper Bdwy St                               Corpus Christi, TX 78401                                                                                                                BMurry@cottgs.org                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   United Methodist                                  400 W Duarte Rd                                                  Arcadia, CA 91007‐6819                                                                                    First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   Simon Kenton Council 441                          64 University Ter                                                Athens, OH 45701‐2913                                                                                     First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   San Diego Imperial Council 049                    3990 Bonita Rd                                                   Bonita, CA 91902‐1260                                                                                     First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   Middle Tennessee Council 560                      1420 Wilson Pike                                                 Brentwood, TN 37027‐7701                                                                                  First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   Northeast Georgia Council 101                     3740 Holtzclaw Rd                                                Cumming, GA 30041‐3502                                                                                    First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   The Spirit of Adventure 227                       62 Cedar St                                                      Dedham, MA 02026‐3237                                                                                     First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   Westchester Putnam 388                            39 Granite Springs Rd                                            Granite Springs, NY 10527‐1108                                                                            First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   Cherokee Area Council 556                         211 Franklin Rd                                                  Lookout Mountain, TN 37350‐1223                                                                           First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   Greater New York Councils, Bsa 640                608 Isham St                                                     New York, NY 10034‐2006                                                                                   First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   Three Fires Council 127                           P.O. Box 695                                                     Oswego, IL 60543‐0695                                                                                     First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   Cradle of Liberty Council 525                     Chalfont Dr & Calera Rd                                          Philadelphia, PA 19154                                                                                    First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   Patriots Path Council 358                         200 State Rt 23                                                  Sussex, NJ 07461‐3100                                                                                     First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   Sam Houston Area Council 576                      715 Carrell St                                                   Tomball, TX 77375‐4808                                                                                    First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   National Capital Area Council 082                 2351 Hunter Mill Rd                                              Vienna, VA 22181‐3005                                                                                     First Class Mail
Chartered Organization         Church Of The Good Shepherd                                   Northwest Texas Council 587                       1007 Burnett St                                                  Wichita Falls, TX 76301‐3209                                                                              First Class Mail
Voting Party                   Church Of The Good Shepherd                                   Attn: Rev Stephen Ashby                           23599 Cedar Rd                                                   Lyndhurst, OH 44122                                                    info@gsepiscopal.org               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd                                   Attn: Rev. Harry Arthur Roark                     39 Granite Springs Rd                                            Granite Springs, NY 10527                                              hal@goodshepherdny.org             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd                                   Rev. Harry Arthur Roark                           39 Granite Springs Rd                                            Granite Springs, NY 10527                                              hal@goodshepherdny.org             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd                                   Attn: Galen Snodgrass                             4947 NE Chouteau Dr                                              Kansas City, MO 64119                                                  frgalen.snodgrass@gmail.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd                                   Attn: Brent Owens                                 1100 Stockton St                                                 Jacksonville, FL 32204                                                 frbrentowens@gmail.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd                                   Attn: David Powell                                2345 Grand Blvd, Ste 2200                                        Kansas City, MO 64108                                                  david.powell@lathropgpm.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd                                   c/o Rogers Towers, Pa                             Attn: Betsy C Cox, Esq                                           1301 Riverplace Blvd, Ste 1500      Jacksonville, FL 32207             bcox@rtlaw.com                     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd                                   Attn: Alan J Smith                                1500 Quentin Rd                                                  Lebanon, PA 17042                                                      asmith@umcogs.org                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd ‐ Arlington                       c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd ‐ Arlington                       2020 S Collins St                                 Arlington, TX 76010                                                                                                                                                        First Class Mail
Voting Party                   Church Of The Good Shepherd (177444)                          c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd (177444)                          c/o Bentz Law Firm                                Attn: Leonard Spagnolo & Daniel Maier                            680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd (Barre)                           c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd (Epis)(Pawtucket)                 c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd (Nashua)                          c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                            159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd Evangelical United Brethren       5 W Washington St                                 Oswego, IL 60543                                                                                                                        office@goodshepherdoswego.org      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd Umc                               Attn: Treasurer                                   3025 Lucas Dairy Rd                                              Grafton, WV 26354                                                      shepherdwv@comcast.net             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church of the Good Shepherd UMC                               c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd United Methodist                  Attn: Eva Thai‐Erwin                              400 W Duarte Rd                                                  Arcadia, CA 91007                                                      pastoreva@cgsum.org                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd United Methodist                  Attn: Trustee                                     6176 Sharon Woods Blvd                                           Columbus, OH 43229                                                     GoodShepherdUM@sbcglobal.net       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Church Of The Good Shepherd United Methodist Church           Attn: Steven R Good                               P.O. Box 695                                                     5 W Washington St                   Oswego, IL 60543                   office@goodshepherdoswego.org      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Church Of The Good Shepherd Utd Meth                          Simon Kenton Council 441                          6176 Sharon Woods Blvd                                           Columbus, OH 43229‐2112                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                              Page 64 of 442
                                                                                   Case 20-10343-LSS                                                                        Doc 8171                                               Filed 01/06/22                                                 Page 80 of 457
                                                                                                                                                                                                                Exhibit B
                                                                                                                                                                                                                 Service List
                                                                                                                                                                                                          Served as set forth below

        Description                                                       Name                                                                                                                                Address                                                                                                                  Email                    Method of Service
Chartered Organization         Church Of The Good Shepherd Utd Meth                                                     Laurel Highlands Council 527               1650 Clay Ave                                                   Tyrone, PA 16686‐2150                                                                                             First Class Mail
Voting Party                   Church Of The Good Shepherd, Dedham                                                      Attn: Brian Michael Angel Burke            60 Cedar St                                                     Dedham, MA 02026                                                         cgsdedhamoffice@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Good Shepherd, Granite Springs, New York                                   Attn: James M Ringer, Esq.                 32 Richard Somers Rd                                            Granite Springs, NY 10527                                                jmr@msf‐law.com                          Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Good Shepherd, Granite Springs, New York                                   39 Granite Springs Rd                      Granite Springs, NY 10527                                                                                                                admin@goodshepherdny.org                 Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Good Shepherd, Granite Springs, Ny                                         Attn: James Ringer, Esq.                   32 Richard Somers Rd                                            Granite Springs, NY 10527                                                jmr@msf‐law.com                          Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Good Shepherd, Norfolk, Virginia                                           7400 Hampton Blvd                          Norfolk, VA 23505                                                                                                                        Lisa.Chandler@rwcrent.com                Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Good Shepherd, Vienna Va                                                   Attn: Henry Miller                         2351 Hunter Mill Rd                                             Vienna, VA 22181                                                         wmterry5@verizon.net                     Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Harvest                                                                    Chickasaw Council 558                      P.O. Box 1577                                                   Olive Branch, MS 38654‐0945                                                                                       First Class Mail
Chartered Organization         Church Of The Heavenly Rest                                                              Texas Trails Council 561                   602 Meander St                                                  Abilene, TX 79602‐1027                                                                                            First Class Mail
Voting Party                   Church Of The Holy Angels (Concord)                                                      c/o The Tamposi Law Group, PC              Attn: Peter N Tamposi                                           159 Main St                         Nashua, NH 03060                     peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Holy Apostles                                                              Chickasaw Council 558                      1380 Wolf River Blvd                                            Collierville, TN 38017‐8687                                                                                       First Class Mail
Chartered Organization         Church Of The Holy Apostles                                                              Sam Houston Area Council 576               1225 W Grand Pkwy S                                             Katy, TX 77494‐8283                                                                                               First Class Mail
Voting Party                   Church Of The Holy Apostles                                                              c/o Epstein Becker & Green, PC             Attn: Wendy G Marcari                                           875 3rd Ave                         New York, NY 10022                   wmarcari@ebglaw.com                      Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Apostles                                                              c/o Epstein Becker & Green PC              Attn: Wendy Marcari, Esq                                        875 3rd Ave                         New York, NY 10022                   wmarcari@ebglaw.com                      Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Apostles                                                              612 Greenwood Ave                          Brooklyn, NY 11218                                                                                                                       info@holyapostlesbrooklyn.com            Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Apostles                                                              Attn: Anna Pearson                         296 9th Ave                                                     New York, NY 10001                                                       annaspearson@holyapostlesnyc.org         Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Apostles                                                              Attn: Rev Anna Pearson                     296 9th Ave                                                     New York, NY 10001                                                       annaspearson@holyapostlesnyc.org         Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Apostles                                                              Attn: Rev Mario Melendez                   1593 Lynnhaven Pkwy                                             Virginia Beach, VA 23453                                                 admin@holyapostlesvb.org                 Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Apostles Episcopal                                                    Attn: Rev Canon Sharon Alexander           692 Poplar Ave                                                  Memphis, TN 38105                                                        salexander@episwtn.org                   Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Apostles, Wauconda                                                    Attn: Rev. Martha Gillette                 26238 N Hwy 59                                                  Wauconda, IL 60084                                                       marthagillette@att.net                   Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Holy Child                                                                 Del Mar Va 081                             2500 Naamans Rd                                                 Wilmington, DE 19810‐1236                                                                                         First Class Mail
Voting Party                   Church Of The Holy Child                                                                 Attn: Robert M Anderson                    1225 W Granada Blvd                                             Ormond Beach, FL 32174                                                   office@holychild.us                      Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Holy Comforter                                                             Georgia‐Carolina 093                       473 Furys Ferry Rd                                              Augusta, GA 30907‐8221                                                                                            First Class Mail
Chartered Organization         Church Of The Holy Comforter                                                             Mecklenburg County Council 415             2701 Park Rd                                                    Charlotte, NC 28209‐1311                                                                                          First Class Mail
Chartered Organization         Church Of The Holy Comforter                                                             Northeast Illinois 129                     222 Kenilworth Ave                                              Kenilworth, IL 60043‐1243                                                                                         First Class Mail
Voting Party                   Church Of The Holy Comforter                                                             c/o Law Offices of Skip Jennings, PC       Attn: Richard CE Jennings                                       115 W Oglethorpe Ave                Savannah, GA 31401                   skipjenningspc@comcast.net               Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Comforter                                                             Attn: Shawn Sthreshley                     4819 Monument Ave                                               Richmond, VA 23230                                                       shawn.sthreshley@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Comforter                                                             Attn: Rick Effinger                        223 N Summit St                                                 Crescent City, FL 32112                                                  holycomforter@windstream.net             Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Comforter                                                             c/o Rogers Towers, Pa                      Attn: Betsy C Cox, Esq                                          1301 Riverplace Blvd, Ste 1500      Jacksonville, FL 32207               bcox@rtlaw.com                           Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Comforter                                                             473 Furys Ferry Rd                         Martinez, GA 30907                                                                                                                                                                First Class Mail
Voting Party                   Church Of The Holy Comforter Kenilworth, Illinois                                        Attn: The Rev Dr Jason Parkin              222 Kenilworth Ave                                              Kenilworth, IL 60043                                                     jlparkin@holycomforter.org               Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Comforter, Montgomery, Al                                             Attn: Rev Rosa Lindahl                     2911 Woodley Rd                                                 Montgomery, AL 36111                                                     rosa@holycomfortermgm.org                Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Communion                                                             Attn: Rev Canon Sharon Alexander           692 Poplar Ave                                                  Memphis, TN 38105                                                        salexander@episwtn.org                   Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Communion                                                             Marlene R Shaw                             4645 Walnut Grove Rd                                            Memphis, TN 38117                                                        marleneshaw2116@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Communion                                                             Attn: Les Singleton                        P.O. Box 655                                                    Hawthorne, FL 32640                                                      LES32667@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Communion                                                             c/o Rogers Towers, Pa                      Attn: Betsy C Cox, Esq                                          1301 Riverplace Blvd, Ste 1500      Jacksonville, FL 32207               bcox@rtlaw.com                           Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Holy Cross                                                                 Quivira Council, Bsa 198                   2631 Independence Rd                                            Hutchinson, KS 67502‐8417                                                                                         First Class Mail
Chartered Organization         Church Of The Holy Cross                                                                 Heart of America Council 307               8311 W 93rd St                                                  Overland Park, KS 66212‐3152                                                                                      First Class Mail
Chartered Organization         Church Of The Holy Cross                                                                 Chief Seattle Council 609                  11526 162nd Ave Ne                                              Redmond, WA 98052‐2645                                                                                            First Class Mail
Chartered Organization         Church Of The Holy Cross                                                                 Twin Rivers Council 364                    3764 Main St                                                    Warrensburg, NY 12885‐1836                                                                                        First Class Mail
Voting Party                   Church Of The Holy Cross                                                                 c/o Iglesia De La Santa Cruz               Attn: Rev Nell B Archer                                         399A Himrod St                      Brooklyn, NY 11237                   santacruzbushwick@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Holy Family                                                                Baden‐Powell Council 368                   3600 Phyllis St                                                 Endicott, NY 13760‐1968                                                                                           First Class Mail
Chartered Organization         Church Of The Holy Family                                                                Water and Woods Council 782                11804 S Saginaw St                                              Grand Blanc, MI 48439‐1323                                                                                        First Class Mail
Chartered Organization         Church Of The Holy Family                                                                Connecticut Rivers Council, Bsa 066        185 Church                                                      Hebron, CT 06248                                                                                                  First Class Mail
Chartered Organization         Church Of The Holy Family                                                                Tidewater Council 596                      1279 N Great Neck Rd                                            Virginia Beach, VA 23454‐2117                                                                                     First Class Mail
Chartered Organization         Church Of The Holy Ghost                                                                 Three Fires Council 127                    254 N Wood Dale Rd                                              Wood Dale, IL 60191‐2092                                                                                          First Class Mail
Voting Party                   Church Of The Holy Innocents                                                             Attn: Kevin Torge                          Mcgivney Kluger Clark & Intoccia Pc                             80 Broad St, 23rd Fl                New York, NY 10004                   ktorge@mcgivneyandkluger.com             Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Innocents                                                             401 Main St                                P.O. Box 116                                                    Highland Falls, NY 10928                                                 ktorge@mcgivneyandkluger.com             Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Innocents                                                             Attn: Judy                                 P.O. Box 116                                                    401 Main St                         Highland Falls, NY 10928             holyinnocents@verizon.net                Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Nativity                                                              c/o Squire Patton Boggs (Us) LLP           Attn: Mark A Salzberg                                           2550 M St NW                        Washington, DC 20037                 mark.salzberg@squirepb.com               Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Nativity                                                              Attn: Elizabeth Sievert Berman             5286 Kalaniana'Ole Hwy                                          Honolulu, HI 96821                                                       hncrector@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Presence, Inc                                                         Attn: The Rev C D Mcdonald                 355 N Kepler Rd                                                 Deland, FL 32724                                                         ChurchOffice@holypresencedeland.com      Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Redeemer, Inc.                                                        Attn: Deanne R. Stodden                    2552 N Williams St                                              Denver, CO 80205                                                         bonspen68@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Holy Spirit                                                                Crossroads of America 160                  7243 E 10th St                                                  Indianapolis, IN 46219‐4957                                                                                       First Class Mail
Chartered Organization         Church Of The Holy Spirit                                                                North Florida Council 087                  11665 Fort Caroline Rd                                          Jacksonville, FL 32225‐1602                                                                                       First Class Mail
Chartered Organization         Church Of The Holy Spirit                                                                Patriots Path Council 358                  318 Newark Pompton Tpke                                         Pequannock, NJ 07440‐1329                                                                                         First Class Mail
Chartered Organization         Church Of The Holy Spirit                                                                Central Minnesota 296                      2405 Walden Way                                                 Saint Cloud, MN 56301‐9071                                                                                        First Class Mail
Chartered Organization         Church Of The Holy Spirit                                                                Pathway To Adventure 456                   1451 Bode Rd                                                    Schaumburg, IL 60194‐2760                                                                                         First Class Mail
Voting Party                   Church Of The Holy Spirit                                                                160 Rock St                                Fall River, MA 02720                                                                                                                     office@holyspiritchurchfr.org            Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Spirit                                                                Attn: Norma Lilia Uvalle                   11093 Bandera Rd                                                San Antonio, TX 78250                                                    holyspirit@sentbythespirit.org           Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Spirit                                                                1305 Thomas Dr                             Bellevue, NE 68005                                                                                                                       frtom@chsepiscopal.org                   Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Spirit (Episcopal)                                                    c/o The Tamposi Law Group, PC              Attn: Peter N Tamposi                                           159 Main St                         Nashua, NH 03060                     peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Spirit (Ocean City)                                                   c/o The Law Office of Andrea Ross          Attn: Andrea Ross, Esq                                          129 N West St, Ste 1                Easton, MD 21601                     Andie@AndieRossLaw.com                   Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Spirit (Plymouth)                                                     c/o The Tamposi Law Group, PC              Attn: Peter N Tamposi                                           159 Main St                         Nashua, NH 03060                     peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Spirit Roman Catholic Congregation, Inc                               c/o Gallagher Evelius & Jones LLP          Attn: Matthew W Oakey                                           218 N Charles St, Ste 400           Baltimore, MD 21201                  moakey@gejlaw.com                        Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Holy Spirit, Inc                                                           Greater Tampa Bay Area 089                 601 Phillippe Pkwy                                              Safety Harbor, FL 34695‐3148                                                                                      First Class Mail
Voting Party                   Church Of The Holy Trinity                                                               c/o Halloran Sage LLP                      Attn: Michael Steven Wrona                                      One Goodwin Square, 225 Asylum St   Hartford, CT 06103                   wrona@halloransage.com                   Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Trinity                                                               Attn: Ramelle Mccall                       2300 W Lafayette Ave                                            Baltimore, MD 21216                                                      vestry@chofholytrinity.comcastbiz.net    Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Trinity                                                               2300 W Lafayette Ave                       Baltimore, MD 21216                                                                                                                      vestry@chofholytrinity.comcastbiz.net    Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Trinity                                                               c/o Woods Oviatt Gilman LLP                Attn: Timothy P Lyster, Esq                                     1900 Bausch & Lomb Pl               Rochester, NY 14604                  tlyster@woodsoviatt.com                  Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Trinity                                                               Attn: Roger Joslin                         768 Main St                                                     P.O. Box 502                        Greenport, NY 11944                  holytrinitygreenport@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Trinity                                                               Attn: David C Trimble                      309 S Broadway                                                  Georgetown, KY 40324                                                     brimbleside@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Holy Trinity (Oxford)                                                      c/o The Law Office of Andrea Ross          Attn: Andrea Ross, Esq                                          129 N West St, Ste 1                Easton, MD 21601                     Andie@AndieRossLaw.com                   Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Immaculate Conception                                                      Monmouth Council, Bsa 347                  18 South St                                                     Spotswood, NJ 08884‐1645                                                                                          First Class Mail
Voting Party                   Church Of The Immaculate Conception Roman Catholic Congregation, Incorporated            c/o Gallagher Evelius & Jones LLP          Attn: Matthew W Oakey                                           218 N Charles St, Ste 400           Baltimore, MD 21201                  moakey@gejlaw.com                        Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Immaculate Conception, Towson, Roman Catholic Congregation, Incorporated   c/o Gallagher Evelius & Jones LLP          Attn: Matthew W Oakey                                           218 N Charles St, Ste 400           Baltimore, MD 21201                  moakey@gejlaw.com                        Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Immaculate Heart Of Mary                                                   Greater St Louis Area Council 312          8 W Hwy D                                                       New Melle, MO 63365                                                                                               First Class Mail
Chartered Organization         Church Of The Incarnation                                                                Miami Valley Council, Bsa 444              55 Williamsburg Ln                                              Dayton, OH 45459‐4218                                                                                             First Class Mail
Chartered Organization         Church Of The Incarnation                                                                Verdugo Hills Council 058                  1001 N Brand Blvd                                               Glendale, CA 91202‐2936                                                                                           First Class Mail
Chartered Organization         Church Of The Incarnation                                                                The Spirit of Adventure 227                429 Upham St                                                    Melrose, MA 02176‐3433                                                                                            First Class Mail
Chartered Organization         Church Of The Incarnation                                                                Great Southwest Council 412                2309 Monterrey Rd Ne                                            Rio Rancho, NM 87144‐5579                                                                                         First Class Mail
Voting Party                   Church Of The Incarnation                                                                Attn: The Rev Tom Phillips                 1601 Alafaya Trl                                                Oviedo, FL 32766                                                         Tom@incarnationcfl.com                   Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Incarnation                                                                Attn: Rev Thomas Kincaid                   3966 Mckinney Ave                                               Dallas, TX 75204                                                         tkincaid@incarnation.org                 Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Incarnation                                                                c/o Archdiocese of Los Angeles             Attn: Margaret Graf, General Counsel                            3424 Wilshire Blvd                  Los Angeles, CA 90010                legla@la‐archdiocese.org                 Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Incarnation                                                                Attn: Margaret Graf                        3424 Wilshire Blvd                                              Los Angeles, CA 90010                                                    legal@la‐archdiocese.org                 Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Incarnation                                                                Attn: The Rev Adrian Dannhauser            209 Madison Ave                                                 New York, NY 10016                                                       adannhauser@churchoftheincarnation.org   Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Incarnation                                                                The Rev. Adrian Dannhauser                 209 Madison Ave                                                 New York, NY 10016                                                       adannhauser@churchoftheincarnation.org   Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Infant Savior                                                              Hudson Valley Council 374                  22 Holland Ave                                                  Pine Bush, NY 12566‐7000                                                                                          First Class Mail
Voting Party                   Church Of The Joyful Healer                                                              Attn: April Sousa                          1944 Central Ave                                                Mckinleyville, CA 95519                                                  umcjhoffice@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Lakes Umc                                                                  Attn: Bryan George                         5944 Fulton Dr Nw                                               Canton, OH 44718                                                         bryan@churchofthelakes.org               Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Lakes Umc                                                                  Bryan Lee George                           5944 Fulton Dr Nw                                               Canton, OH 44718                                                         bryan@churchofthelakes.org               Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Lds                                                                        San Diego Imperial Council 049             1515 Elder Ave                                                  San Diego, CA 92154                                                                                               First Class Mail
Chartered Organization         Church Of The Little Flower                                                              South Florida Council 084                  2711 Indian Mound Trl                                           Coral Gables, FL 33134‐5553                                                                                       First Class Mail
Chartered Organization         Church Of The Lord Jesus Christ                                                          Pony Express Council 311                   1201 Central Ave                                                Horton, KS 66439‐1722                                                                                             First Class Mail
Chartered Organization         Church Of The Magdalen                                                                   Quivira Council, Bsa 198                   12626 E 21st St N                                               Wichita, KS 67206‐3535                                                                                            First Class Mail
Chartered Organization         Church Of The Master                                                                     Greater New York Councils, Bsa 640         2783 Lafayette Ave                                              Bronx, NY 10465‐2230                                                                                              First Class Mail
Chartered Organization         Church Of The Master                                                                     Grand Canyon Council 010                   6659 E University Dr                                            Mesa, AZ 85205‐7605                                                                                               First Class Mail
Chartered Organization         Church Of The Master Lutheran Church                                                     Inland Northwest Council 611               4800 N Ramsey Rd                                                Coeur D Alene, ID 83815‐8401                                                                                      First Class Mail
Voting Party                   Church Of The Master United Methodist                                                    Attn: Charles Erickson, Ad Council Chair   24 N Grove St                                                   Westerville, OH 43081                                                    cperickson78@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Mediator                                                                   North Florida Council 087                  P.O. Box 184                                                    Micanopy, FL 32667‐0184                                                                                           First Class Mail
Chartered Organization         Church Of The Messiah                                                                    Baltimore Area Council 220                 5801 Harford Rd                                                 Baltimore, MD 21214‐1848                                                                                          First Class Mail
Chartered Organization         Church Of The Messiah                                                                    Atlanta Area Council 092                   415 Charles Cox Dr                                              Canton, GA 30115‐5455                                                                                             First Class Mail
Chartered Organization         Church Of The Messiah                                                                    National Capital Area Council 082          12201 Spotswood Furnace Ln                                      Fredericksburg, VA 22407‐2265                                                                                     First Class Mail
Voting Party                   Church Of The Messiah                                                                    Attn: John B Madden                        6436 Montgomery Sreet                                           Rhinebeck, NY 12572                                                      rhinebeck.episcopal@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Messiah                                                                    Anthony Lapointe                           296 Glen St                                                     Glen Falls, NY 12801                                                     bailey_0705@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Messiah                                                                    296 Glen St                                Glen Falls, NY 12801                                                                                                                     bailey_0705@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Messiah (North Woodstock)                                                  c/o The Tamposi Law Group, PC              Attn: Peter N Tamposi                                           159 Main St                         Nashua, NH 03060                     peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Messiah Episcopal                                                          Twin Rivers Council 364                    296 Glen St                                                     Glens Falls, NY 12801‐3501                                                                                        First Class Mail
Voting Party                   Church Of The Messiah Umc                                                                51 N State St                              Westerville, OH 43081                                                                                                                    creed@messiahumc.net                     Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Most Holy Rosary                                                           c/o Woods Oviatt Gilman LLP                Attn: Timothy P Lyster, Esq                                     1900 Bausch & Lomb Pl               Rochester, NY 14604                  tlyster@woodsoviatt.com                  Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Most Precious Blood                                                        c/o Cullen and Dykman LLP                  Attn: Matthew G Roseman                                         100 Quentin Roosevelt Blvd          Garden City, NY 11530                MRoseman@cullenllp.com                   Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Church Of The Nativity                                                                   Chickasaw Council 558                      5955 Saint Elmo Rd                                              Bartlett, TN 38135‐1516                                                                                           First Class Mail
Chartered Organization         Church Of The Nativity                                                                   National Capital Area Council 082          6400 Nativity Ln                                                Burke, VA 22015‐4006                                                                                              First Class Mail
Chartered Organization         Church Of The Nativity                                                                   Laurel Highlands Council 527               33 Alice St                                                     Crafton, PA 15205‐2801                                                                                            First Class Mail
Chartered Organization         Church Of The Nativity                                                                   Crossroads of America 160                  7300 Lantern Rd                                                 Indianapolis, IN 46256‐2118                                                                                       First Class Mail
Chartered Organization         Church Of The Nativity                                                                   Mayflower Council 251                      45 Howard St                                                    Northborough, MA 01532‐1441                                                                                       First Class Mail
Chartered Organization         Church Of The Nativity                                                                   Laurel Highlands Council 527               33 Alice St                                                     Pittsburgh, PA 15205‐2801                                                                                         First Class Mail
Voting Party                   Church Of The Nativity ‐ Crafton                                                         Attn: The Rev Canon Kimberly Karashin      325 Oliver Ave, Ste 300                                         Pittsburgh, PA 15222                                                     sld@sgkpc.com                            Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Nativity ‐ Crafton                                                         Attn: The Rev Canon Kimberly Karashin      325 Oliver Ave, Ste 300                                         Pittsburgh, PA 15222                                                                                              First Class Mail
Voting Party                   Church Of The Nativity (Northborough)                                                    c/o The Tamposi Law Group, PC              Attn: Peter N Tamposi                                           159 Main St                         Nashua, NH 03060                     peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Church Of The Nativity Episcopal, Inc.                                                   c/o Plews Shadley Racher & Braun LLP       Attn: Todd G Relue                                              1346 N Delaware St                  Indianapolis, IN 46202               trelue@psrb.com                          Email
                                                                                                                                                                                                                                                                                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                 Page 65 of 442
                                                                                    Case 20-10343-LSS                                                                                  Doc 8171                                       Filed 01/06/22                                        Page 81 of 457
                                                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                                                    Service List
                                                                                                                                                                                                             Served as set forth below

        Description                                                       Name                                                                                                                                   Address                                                                                                       Email                    Method of Service
Chartered Organization         Church Of The Nativity Mens Club                                                            Greater Tampa Bay Area 089                          705 E Brandon Blvd                                     Brandon, FL 33511‐5443                                                                                 First Class Mail
Voting Party                   Church Of The Nativity Of Our Lord Jesus Christ Roman Catholic Congregation, Incorporated   c/o Gallagher Evelius & Jones LLP                   Attn: Matthew W Oakey                                  218 N Charles St, Ste 400       Baltimore, MD 21201             moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Nativity, Inc.                                                                31 E 3rd St                                         P.O. Box 3                                             Maysville, KY 41056                                             rector@churchofnativity.org            Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Church Of The Nazarene                                                                      Pacific Harbors Council, Bsa 612                    1119 W 1st St                                          Centralia, WA 98531‐3015                                                                               First Class Mail
Chartered Organization         Church Of The Nazarene                                                                      Quivira Council, Bsa 198                            201 E 19th Ave                                         Winfield, KS 67156‐4946                                                                                First Class Mail
Chartered Organization         Church Of The Nazarene ‐ Nyssa                                                              Ore‐Ida Council 106 ‐ Bsa 106                       412 Good Ave                                           Nyssa, OR 97913‐3609                                                                                   First Class Mail
Chartered Organization         Church Of The Nazarene / The Point                                                          Crossroads of America 160                           2578 Donica Rd                                         Greenwood, IN 46143‐9520                                                                               First Class Mail
Voting Party                   Church Of The Palms Pcusa                                                                   Attn: Pamela Gillespie                              3224 Bee Ridge Rd                                      Sarasota, FL 34239                                              pgillespie@churchofthepalms.org        Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Church Of The Palms Presbyterian                                                            Southwest Florida Council 088                       3224 Bee Ridge Rd                                      Sarasota, FL 34239‐7201                                                                                First Class Mail
Chartered Organization         Church Of The Palms Umc                                                                     Coastal Carolina Council 550                        1425 Okatie Hwy                                        Okatie, SC 29909‐3704                                                                                  First Class Mail
Voting Party                   Church Of The Palms United Methodist, Inc                                                   Pete Berntson                                       1425 Okatie Hwy                                        Okatie, SC 29909                                                pete@palmsumc.org                      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Palms United Methodist, Inc                                                   Attn: Pete Berntson                                 462 Summerlake Cir, Apt 105                            Ridgeland, SC 29936                                             pete@palmsumc.org                      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Church Of The Pilgrimage                                                                    Mayflower Council 251                               8 Town Sq                                              Plymouth, MA 02360‐3352                                                                                First Class Mail
Chartered Organization         Church Of The Precious Blood                                                                Monmouth Council, Bsa 347                           72 Riverdale Ave                                       Monmouth Beach, NJ 07750‐1475                                                                          First Class Mail
Voting Party                   Church Of The Reconciliation (Webster)                                                      c/o The Tamposi Law Group, PC                       Attn: Peter N Tamposi                                  159 Main St                     Nashua, NH 03060                peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Church Of The Red Rocks Ucc                                                                 Grand Canyon Council 010                            54 Bowstring Dr                                        Sedona, AZ 86336‐6531                                                                                  First Class Mail
Chartered Organization         Church Of The Redeemer                                                                      Baltimore Area Council 220                          5603 N Charles St                                      Baltimore, MD 21210‐2006                                                                               First Class Mail
Chartered Organization         Church Of The Redeemer                                                                      Heart of Virginia Council 602                       8275 Meadowbridge Rd                                   Mechanicsville, VA 23116‐2329                                                                          First Class Mail
Chartered Organization         Church Of The Redeemer                                                                      Marin Council 035                                   123 Knight Dr                                          San Rafael, CA 94901‐1427                                                                              First Class Mail
Chartered Organization         Church Of The Redeemer                                                                      Five Rivers Council, Inc 375                        201 S Wilbur Ave                                       Sayre, PA 18840‐1605                                                                                   First Class Mail
Voting Party                   Church Of The Redeemer                                                                      Attn: Bob Thunelius                                 1904 Popps Ferry Rd                                    Biloxi, MS 39532                                                bbt0918@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Redeemer                                                                      c/o Bennett Lotterhos Sulser & Wilson               Attn: Marcus M Wilson                                  190 E Capitol St, Ste 650       Jackson, MS 39201               bbt0918@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Redeemer (Epis)(Providence)                                                   c/o The Tamposi Law Group, PC                       Attn: Peter N Tamposi                                  159 Main St                     Nashua, NH 03060                peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Redeemer (Rochester)                                                          c/o The Tamposi Law Group, PC                       Attn: Peter N Tamposi                                  159 Main St                     Nashua, NH 03060                peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Church Of The Redeemer Episcopal                                                            Sam Houston Area Council 576                        5700 Lawndale St                                       Houston, TX 77023‐3842                                                                                 First Class Mail
Voting Party                   Church Of The Redeemer Methodist Episcopal                                                  Attn: Jessica Ellis, CFO                            475 Riverside Dr, Ste 1922                             New York, NY 10115                                              bshillady@umcitysociety.org            Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Redeemer, A Florida Corporation Not For Profit                                Attn: The Rev Charleston Wilson                     222 S Palm Ave                                         Sarasota, FL 34236                                              cwilson@redeemersarasota.org           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Church Of The Redemption                                                                    Baltimore Area Council 220                          1401 Towson St                                         Baltimore, MD 21230‐5301                                                                               First Class Mail
Voting Party                   Church Of The Redemption, Locust Point, Inc.                                                Attn: E Menton                                      1401 Towson St                                         Baltimore, MD 21230                                             EMENTON@GMAIL.COM                      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Regeneration                                                                  Attn: Patrik Trettenero                             P.O. Box 321                                           Pine Plains, NY 12567                                           meetthepatricks@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Church Of The Resurrection                                                                  National Capital Area Council 082                   2280 N Beauregard St                                   Alexandria, VA 22311‐2200                                                                              First Class Mail
Chartered Organization         Church Of The Resurrection                                                                  Quivira Council, Bsa 198                            4910 N Woodlawn Blvd                                   Bel Aire, KS 67220‐3608                                                                                First Class Mail
Chartered Organization         Church Of The Resurrection                                                                  Baltimore Area Council 220                          3175 Paulskirk Dr                                      Ellicott City, MD 21042‐2655                                                                           First Class Mail
Chartered Organization         Church Of The Resurrection                                                                  Baltimore Area Council 220                          700 Anchor Dr                                          Joppa, MD 21085                                                                                        First Class Mail
Chartered Organization         Church Of The Resurrection                                                                  Baltimore Area Council 220                          P.O. Box 222                                           Joppa, MD 21085‐0222                                                                                   First Class Mail
Chartered Organization         Church Of The Resurrection                                                                  Greater Tampa Bay Area 089                          3855 S Florida Ave                                     Lakeland, FL 33813‐1109                                                                                First Class Mail
Chartered Organization         Church Of The Resurrection                                                                  Laurel Highlands Council 527                        1100 Creedmoor Ave                                     Pittsburgh, PA 15226‐2254                                                                              First Class Mail
Chartered Organization         Church Of The Resurrection                                                                  Tidewater Council 596                               3501 Cedar Ln                                          Portsmouth, VA 23703‐3803                                                                              First Class Mail
Chartered Organization         Church Of The Resurrection                                                                  Westchester Putnam 388                              910 Boston Post Rd                                     Rye, NY 10580‐2832                                                                                     First Class Mail
Voting Party                   Church Of The Resurrection                                                                  Attn: Susanne Nanka‐Bruce                           85‐09 118 St                                           Key Gardens, NY 11415                                           resurrectionrichmondhill@verizon.net   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Resurrection                                                                  Attn: Jo Belser                                     3737 Seminary Rd, Pmb‐1220W                            Alexandria, VA 22304                                            priest@welcometoresurrecion.org        Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Resurrection                                                                  Attn: Dorcas Sampson                                5909 Walzem Rd                                         Windcrest, TX 78218                                             office@church‐resurrection.org         Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Resurrection                                                                  Attn: Anthony Anderson                              10952 Mayberry Plz                                     Omaha, NE 68154                                                                                        First Class Mail
Voting Party                   Church Of The Resurrection                                                                  P.O. Box 11210                                      Alexandria, VA 22311                                                                                                                                          First Class Mail
Voting Party                   Church Of The Resurrection ‐ United Methodist                                               c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200        Tampa, FL 33602                 erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Church Of The Resurrection Episcopal                                                        Alamo Area Council 583                              5909 Walzem Rd                                         Windcrest, TX 78218‐2112                                                                               First Class Mail
Chartered Organization         Church Of The Resurrection Roman                                                            Laurel Highlands Council 527                        1100 Creedmoor Ave                                     Pittsburgh, PA 15226‐2254                                                                              First Class Mail
Voting Party                   Church Of The Resurrection Roman Catholic Church                                            c/o Gallagher Evelius & Jones LLP                   Attn: Matthew W Oakey                                  218 N Charles St, Ste 400       Baltimore, MD 21201             moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Resurrection Roman Catholic Congregation, Inc                                 c/o Gallagher Evelius & Jones LLP                   Attn: Matthew W Oakey                                  218 N Charles St, Ste 400       Baltimore, MD 21201             moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Resurrection, Hopewell Junction Ny 12533                                      Attn: Janice Kotuby                                 182 Rte 376                                            Hopewell Jct, NY 12533                                          nyresurrection@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Resurrection, Hopewell Junction, Ny                                           182 Route 376                                       Hopewell Junction, NY 12533                                                                                            nyresurrection@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Church Of The Resurrection, Sunnyvale                                                       Silicon Valley Monterey Bay 055                     725 Cascade Dr                                         Sunnyvale, CA 94087‐3157                                                                               First Class Mail
Chartered Organization         Church Of The Rock                                                                          Green Mountain 592                                  1091 Fairfax Rd                                        Saint Albans, VT 05478‐6267                                                                            First Class Mail
Voting Party                   Church Of The Saviour United Methodist                                                      Attn: Loretta Dahlstrom                             2537 Lee Rd                                            Cleveland Heights, OH 44118                                     ldahlstrom@cotsumc.org                 Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Saviour United Methodist                                                      Attn: Treasurer & David H Smith                     8005 Pfeiffer Rd                                       Montgomery, OH 45242                                            dave.smith@cos‐umc.org                 Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Shepherd United Methodist Church                                              Attn: Rev Jon Spalding                              1601 Woodstone Dr                                      Saint Charles, MO 63304                                         jon_spalding@coswired.org              Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The St Uriel The Archangel                                                        c/o Mark A Salzberg, Squire Patton Boggs (Us) LLP   2550 M St Nw                                           Washington, DC 20037                                            rag53@optonline.net                    Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Transfiguration                                                               Attn: Scott Simpson Myers                           P.O. Box 87                                            Braddock Heights, MD 21714                                      transfiguration1@verizon.net           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Transfiguration                                                               Island Rd                                           Pointe Aux Pins, MI 49775                                                                                                                                     First Class Mail
Voting Party                   Church Of The Transfiguration (Carroll)                                                     c/o The Tamposi Law Group, PC                       Attn: Peter N Tamposi                                  159 Main St                     Nashua, NH 03060                peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Transfiguration (Derry)                                                       c/o The Tamposi Law Group, PC                       Attn: Peter N Tamposi                                  159 Main St                     Nashua, NH 03060                peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Transfiguration (Episcopal Cranston)                                          c/o The Tamposi Law Group, PC                       Attn: Peter N Tamposi                                  159 Main St                     Nashua, NH 03060                peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Transfiguration (Episcopal), Inc                                              14115 Hillcrest Rd                                  Dallas, TX 75254                                                                                                       slowrance@transfiguration.net          Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Transfiguration (Whitfield)                                                   c/o The Tamposi Law Group, PC                       Attn: Peter N Tamposi                                  159 Main St                     Nashua, NH 03060                peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Transformation (Epis)(Cranston)                                               c/o The Tamposi Law Group, PC                       Attn: Peter N Tamposi                                  159 Main St                     Nashua, NH 03060                peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Church Of The Valley Presbyterian                                                           California Inland Empire Council 045                20700 Standing Rock Ave                                Apple Valley, CA 92307‐3304                                                                            First Class Mail
Voting Party                   Church Of The Wildwood, Umc                                                                 Attn: Shirley Oskamp                                P.O. Box 37                                            Chittenden, VT 05737                                            pastor.rutland2019@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church Of The Woods (Canterbury)                                                            c/o The Tamposi Law Group, PC                       Attn: Peter N Tamposi                                  159 Main St                     Nashua, NH 03060                peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Church Of The Word                                                                          Indian Nations Council 488                          P.O. Box 945                                           Kellyville, OK 74039‐0945                                                                              First Class Mail
Chartered Organization         Church Of The Word                                                                          Indian Nations Council 488                          1915 W Taft Ave                                        Sapulpa, OK 74066‐8757                                                                                 First Class Mail
Chartered Organization         Church On Main Presbyterian Church                                                          Del Mar Va 081                                      44 W Main St                                           Middletown, DE 19709‐1039                                                                              First Class Mail
Voting Party                   Church On The Cape                                                                          P.O. Box 2740                                       Kennebunkport, ME 04046                                                                                                hosoon09@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Church On The Cape United Methodist Church                                                  Rev. Ho Soon Han                                    P.O. Box 2740                                          Kennebunkport, ME 04046                                         hosoon09@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Church On The Rock                                                                          Caddo Area Council 584                              1601 Mall Dr                                           Texarkana, TX 75503‐2673                                                                               First Class Mail
Chartered Organization         Church St Utd Methodist Church                                                              Tukabatchee Area Council 005                        214 Church St                                          Selma, AL 36701‐4510                                                                                   First Class Mail
Chartered Organization         Church Street School Pta                                                                    Westchester Putnam 388                              100 Orchard St                                         White Plains, NY 10604‐1408                                                                            First Class Mail
Voting Party                   Church Street United Methodist Church, Selma, Alabama                                       Attn: James Mcneill, Jr                             P.O. Box 1190                                          707 Selma Ave                   Selma, AL 36702                 jbm@hhpclaw.com                        Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Church Street Utd Methodist Church                                                          Great Smoky Mountain Council 557                    P.O. Box 1303                                          Knoxville, TN 37901‐1303                                                                               First Class Mail
Chartered Organization         Church Street Utd Methodist Church                                                          Tukabatchee Area Council 005                        214 Church St                                          Selma, AL 36701‐4510                                                                                   First Class Mail
Chartered Organization         Church Without Walls                                                                        Sam Houston Area Council 576                        7500 Eldridge Pkwy                                     Houston, TX 77083‐3406                                                                                 First Class Mail
Chartered Organization         Church, Assumption Blessed Virgin Mary                                                      Minsi Trails Council 502                            4101 Old Bethlehem Pike                                Bethlehem, PA 18015‐9097                                                                               First Class Mail
Chartered Organization         Church, Beatitudes‐Utd Ch Christ                                                            Grand Canyon Council 010                            555 W Glendale Ave                                     Phoenix, AZ 85021‐8763                                                                                 First Class Mail
Chartered Organization         Church, Cross Utd Methodist Ch                                                              Buckeye Council 436                                 5100 Cleveland Rd                                      Wooster, OH 44691‐1158                                                                                 First Class Mail
Chartered Organization         Church, Faith Lutheran, Reno                                                                Nevada Area Council 329                             2075 W 7th St                                          Reno, NV 89503‐3444                                                                                    First Class Mail
Chartered Organization         Church, Incarnation Catholic Ch                                                             Chickasaw Council 558                               360 Bray Station Rd                                    Collierville, TN 38017‐3263                                                                            First Class Mail
Chartered Organization         Church, Lakes Utd Methodist Ch                                                              Buckeye Council 436                                 5944 Fulton Dr Nw                                      Canton, OH 44718‐1753                                                                                  First Class Mail
Chartered Organization         Church, Resurrection Utd Methodist Ch                                                       Heart of America Council 307                        13720 Roe Blvd                                         Leawood, KS 66224‐3588                                                                                 First Class Mail
Chartered Organization         Church, Resurrection, Emmaus Catholic Ch                                                    Capitol Area Council 564                            1718 Lohmans Crossing Rd                               Lakeway, TX 78734‐5158                                                                                 First Class Mail
Chartered Organization         Churches Of God, General Conference                                                         Black Swamp Area Council 449                        700 E Melrose Ave                                      Findlay, OH 45840‐4417                                                                                 First Class Mail
Chartered Organization         Churchhill Memorial Utd Methodist Ch                                                        Greater Niagara Frontier Council 380                8019 Boston State Rd                                   Boston, NY 14025                                                                                       First Class Mail
Chartered Organization         Churchill Academy                                                                           Tukabatchee Area Council 005                        395 Ray Thorington Rd                                  Montgomery, AL 36117‐8486                                                                              First Class Mail
Chartered Organization         Churchill Elementary Pto                                                                    President Gerald R Ford 781                         961 Porter Rd                                          Norton Shores, MI 49441‐5849                                                                           First Class Mail
Chartered Organization         Churchill Park                                                                              Lincoln Heritage Council 205                        435 Boxley Ave                                         Louisville, KY 40209‐1109                                                                              First Class Mail
Chartered Organization         Churchland Baptist Church                                                                   Old N State Council 070                             7516 S Nc Hwy 150                                      Lexington, NC 27295‐5254                                                                               First Class Mail
Chartered Organization         Churchville Fire Dept, Inc                                                                  Seneca Waterways 397                                24 Washington St                                       Churchville, NY 14428‐9603                                                                             First Class Mail
Chartered Organization         Churchville Lions Club                                                                      Baltimore Area Council 220                          P.O. Box 131                                           Churchville, MD 21028‐0131                                                                             First Class Mail
Chartered Organization         Churchville Lions Club                                                                      Seneca Waterways 397                                7365 Buffalo Rd                                        Churchville, NY 14428‐9597                                                                             First Class Mail
Chartered Organization         Churchville Lions Club                                                                      Stonewall Jackson Council 763                       Churchville                                            Churchville, VA 24421                                                                                  First Class Mail
Voting Party                   Churchwardens And Vestry Of St Thomas Church In Columbus                                    Attn: Michael D Smith                               P.O. Box 1432                                          944 2nd Ave                     Columbus, GA 31902              mikesmith@michaeldsmithlaw.com         Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Churubusco Chamber Of Commerce                                                              Anthony Wayne Area 157                              111 N Main St                                          Churubusco, IN 46723‐1708                                                                              First Class Mail
Voting Party                   Churubusco United Methodist                                                                 Attn: Jennifer Meyer                                750 N Main St                                          Churubusco, IN 46723                                            cumc99@aol.com                         Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cianbro Corp                                                                                Pine Tree Council 218                               P.O. Box 1000                                          Pittsfield, ME 04967‐1000                                                                              First Class Mail
Voting Party                   Cicero United Methodist Church                                                              Attn: Laura Chambers ‐ Treasurer                    P.O. Box 617                                           100 E Jackson St                Cicero, IN 46034                pastor@ciceroumc.org                   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cicero United Methodist Church                                                              Jesse E Mullins                                     P.O. Box 617                                           100 E Jackson St                Cicero, IN 46034                pastor@ciceroumc.org                   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cicero United Methodist Church                                                              Attn: Dennis Schrumor                               100 E Jackson St                                       P.O. Box 617                    Cicero, IN 46034                d.eschrumpt@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cicero United Methodist Church                                                              Attn: Treasurer                                     P.O. Box 1087                                          8416 Brewerton Rd               Cicero, NY 13039                ciceroumchurch@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cicero Utd Methodist Church                                                                 Crossroads of America 160                           P.O. Box 56                                            Cicero, IN 46034‐0056                                                                                  First Class Mail
Chartered Organization         Cicero Utd Methodist Church                                                                 Longhouse Council 373                               8416 N Main St                                         Cicero, NY 13039                                                                                       First Class Mail
Chartered Organization         Cics ‐ Jackson Pto                                                                          Blackhawk Area 660                                  315 Summit St                                          Rockford, IL 61107‐4231                                                                                First Class Mail
Chartered Organization         Cienega Ward ‐ Lds South Stake                                                              Catalina Council 011                                700 E Sahuarita Rd                                     Vail, AZ 85641                                                                                         First Class Mail
Chartered Organization         Cimarron Council                                                                            Cimarron Council 474                                P.O. Box 3146                                          Enid, OK 73702‐3146                                                                                    First Class Mail
Chartered Organization         Cimarron Rotary Club                                                                        Santa Fe Trail Council 194                          P.O. Box 521                                           Cimarron, KS 67835‐0521                                                                                First Class Mail
Voting Party                   Cimarron West                                                                               Address Redacted                                                                                                                                                                                                  First Class Mail
Chartered Organization         Cincinnati Christian Schools                                                                Dan Beard Council, Bsa 438                          7350 Dixie Hwy                                         Fairfield, OH 45014‐5547                                                                               First Class Mail
Chartered Organization         Cinco Charities                                                                             Sam Houston Area Council 576                        21421 Cinco Park Rd                                    Katy, TX 77450‐4534                                                                                    First Class Mail
Chartered Organization         Cinco Ranch Church Of Christ                                                                Sam Houston Area Council 576                        6655 S Mason Rd                                        Katy, TX 77450‐5459                                                                                    First Class Mail
Chartered Organization         Cincy After School Reese & Price                                                            Dan Beard Council, Bsa 438                          1228 Considine Ave                                     Cincinnati, OH 45204‐1604                                                                              First Class Mail
Chartered Organization         Cinnaminson Fire Dept                                                                       Garden State Council 690                            1621 Riverton Rd                                       Cinnaminson, NJ 08077‐2325                                                                             First Class Mail
Voting Party                   Cintas Corp 200                                                                             P.O. Box 630803                                     Cincinnati, OH 45263‐0803                                                                                                                                     First Class Mail
Voting Party                   Cintas Corporation 003                                                                      P.O. Box 630803                                     Cincinnati, OH 45263‐0803                                                                                                                                     First Class Mail
Voting Party                   Cintas Corporation 492                                                                      P.O. Box 650838                                     Dallas, TX 75265‐0838                                                                                                                                         First Class Mail
Chartered Organization         Circle C Homeowner'S Assoc                                                                  Capitol Area Council 564                            5119 La Crosse Ave, Ste 100                            Austin, TX 78739                                                                                       First Class Mail
Chartered Organization         Circle City Preparatory School                                                              Crossroads of America 160                           4002 N Franklin Rd                                     Indianapolis, IN 46226‐5297                                                                            First Class Mail
Chartered Organization         Circle Of Peace Church Of The Brethren                                                      Grand Canyon Council 010                            8430 W Deer Valley Rd                                  Peoria, AZ 85382‐2400                                                                                  First Class Mail
Chartered Organization         Circle Ten Council                                                                          Circle Ten Council 571                              8605 Harry Hines Blvd                                  Dallas, TX 75235‐3014                                                                                  First Class Mail
Voting Party                   Circle Ten Council                                                                          8605 Harry Hines Blvd                               Dallas, TX 75235                                                                                                       samuel.thompson@scouting.org           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Circle Ten Council ‐ Bsa                                                                    Samuel Thompson                                     8605 Harry Hines Blvd                                  Dallas, TX 75235                                                samuel.thompson@scouting.org           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Circleville Community United Methodist Church                                               Attn: Brandon T Grover                              120 N Pickaway St                                      Circleville, OH 43113                                           tadgrover@frontier.com                 Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Circuitree, LLC                                                                             Attn: Tom Newberry                                  1353 Lake Shore Dr                                     Branson, MO 65616                                               tom@circuitree.com                     Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cisco Fumc, Cisco                                                                           c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200        Tampa, FL 33602                 erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cisco Fumc, Cisco                                                                           405 W 8th St                                        Cisco, TX 76437                                                                                                                                               First Class Mail
Chartered Organization         Cissel‐Saxon American Legion Post 41                                                        National Capital Area Council 082                   905 Sligo Ave                                          Silver Spring, MD 20910‐4705                                                                           First Class Mail
Chartered Organization         Cissna Park American Legion Post                                                            Prairielands 117                                    P.O. Box 97                                            Cissna Park, IL 60924‐0097                                                                             First Class Mail
Chartered Organization         Cities Restaurant                                                                           Greater Los Angeles Area 033                        3956 E 4th St                                          Los Angeles, CA 90063‐1501                                                                             First Class Mail
Chartered Organization         Citizen Hose Co Of The Lancaster Fire                                                       Greater Niagara Frontier Council 380                24 W Drullard Ave                                      Lancaster, NY 14086‐1626                                                                               First Class Mail
Chartered Organization         Citizens Academy Southeast                                                                  Lake Erie Council 440                               15700 Lotus Dr                                         Cleveland, OH 44128‐2427                                                                               First Class Mail
Chartered Organization         Citizens Committee                                                                          Leatherstocking 400                                 461 5th Ave Ext                                        Frankfort, NY 13340‐3413                                                                               First Class Mail
Chartered Organization         Citizens Committee Of Pack 201                                                              Mt Diablo‐Silverado Council 023                     2890 Winthrop Ave                                      San Ramon, CA 94583‐3437                                                                               First Class Mail
Chartered Organization         Citizens Committee Of Troop 104                                                             Mt Diablo‐Silverado Council 023                     6806 Tahoe Pl                                          El Cerrito, CA 94530‐3720                                                                              First Class Mail
Chartered Organization         Citizens For Animal Welfare                                                                 Piedmont Council 420                                P.O. Box 88                                            Harmony, NC 28634‐0088                                                                                 First Class Mail
Chartered Organization         Citizens For Mayor Jerry Bennett                                                            Pathway To Adventure 456                            10335 S Roberts Rd                                     Palos Hills, IL 60465‐1929                                                                             First Class Mail
Chartered Organization         Citizens For Scouting                                                                       California Inland Empire Council 045                4481 Lone Trl                                          Jurupa Valley, CA 92509‐7131                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                    Page 66 of 442
                                                                                       Case 20-10343-LSS                                            Doc 8171                                              Filed 01/06/22                                             Page 82 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                        Name                                                                                                      Address                                                                                                            Email                 Method of Service
Chartered Organization         Citizens For Scouting                                          Buckskin 617                                 2951 W Front St                                                Richlands, VA 24641‐1108                                                                                 First Class Mail
Chartered Organization         Citizens For Scouting At Herr Es                               Las Vegas Area Council 328                   6475 Eagle Creek Ln                                            Las Vegas, NV 89156‐5916                                                                                 First Class Mail
Chartered Organization         Citizens For Scouting In Winnetka, Inc                         Northeast Illinois 129                       560 Chestnut St                                                Winnetka, IL 60093‐2202                                                                                  First Class Mail
Chartered Organization         Citizens For Youth                                             Quivira Council, Bsa 198                     P.O. Box 425                                                   Nickerson, KS 67561‐0425                                                                                 First Class Mail
Chartered Organization         Citizens Group                                                 Theodore Roosevelt Council 386               275 Lakeville Rd                                               Great Neck, NY 11020‐1646                                                                                First Class Mail
Chartered Organization         Citizens Group Of Filer                                        Snake River Council 111                      3670 N 2100 E                                                  Filer, ID 83328‐5674                                                                                     First Class Mail
Chartered Organization         Citizens Group Of Glocester                                    Narragansett 546                             58 Jackson School House Rd                                     Chepachet, RI 02814‐1200                                                                                 First Class Mail
Chartered Organization         Citizens Group Of San Ramon                                    Mt Diablo‐Silverado Council 023              35 Seneca Ln                                                   San Ramon, CA 94583‐4305                                                                                 First Class Mail
Chartered Organization         Citizens Of Gene Ward                                          Las Vegas Area Council 328                   1555 E Hacienda Ave                                            Las Vegas, NV 89119‐2709                                                                                 First Class Mail
Chartered Organization         Citizens Of Good Hope                                          Greater Alabama Council 001                  134 Town Hall Dr                                               Cullman, AL 35057‐3257                                                                                   First Class Mail
Chartered Organization         Citizens Of Hamel                                              Greater St Louis Area Council 312            111 S Old Route 66                                             Hamel, IL 62046‐1075                                                                                     First Class Mail
Chartered Organization         Citizens Of Haysville                                          Quivira Council, Bsa 198                     1260 E 71st St S                                               Haysville, KS 67060‐2107                                                                                 First Class Mail
Chartered Organization         Citizens Of Ignacio                                            Great Southwest Council 412                  P.O. Box 706                                                   Ignacio, CO 81137‐0706                                                                                   First Class Mail
Chartered Organization         Citizens Of Inola                                              Indian Nations Council 488                   18305 E 610 Rd C                                               Inola, OK 74036‐5678                                                                                     First Class Mail
Chartered Organization         Citizens Of Jordan Creek                                       Mid Iowa Council 177                         4501 Mills Civic Pkwy                                          West Des Moines, IA 50265‐5480                                                                           First Class Mail
Chartered Organization         Citizens Of Pellston Village                                   President Gerald R Ford 781                  175 N Milton St                                                Pellston, MI 49769‐9259                                                                                  First Class Mail
Chartered Organization         Citizens Of River Forest Illinois                              Pathway To Adventure 456                     929 William St                                                 River Forest, IL 60305‐1456                                                                              First Class Mail
Chartered Organization         Citizens Of South Norfolk                                      Tidewater Council 596                        2700 Omar St                                                   Chesapeake, VA 23324‐2952                                                                                First Class Mail
Chartered Organization         Citizens Of Village Of Bourbonnais                             Rainbow Council 702                          700 Main St Nw                                                 Bourbonnais, IL 60914‐2302                                                                               First Class Mail
Chartered Organization         Citizens Police Academy Alumni                                 Middle Tennessee Council 560                 940 New Salem Hwy                                              Murfreesboro, TN 37129‐3335                                                                              First Class Mail
Chartered Organization         Citizens War W Virginia For Scouting                           Buckskin 617                                 P.O. Box 281                                                   Warriormine, WV 24894‐0281                                                                               First Class Mail
Voting Party                   Cito Umc (2342)                                                c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                         680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Cito Umc (2342)                                                c/o Bentz Law Firm                           Attn: Sean Bollman                                             680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Citracado Dental Group                                         San Diego Imperial Council 049               500 W El Norte Pkwy                                            Escondido, CA 92026‐3983                                                                                 First Class Mail
Chartered Organization         Citronelle Utd Methodist Church                                Mobile Area Council‐Bsa 004                  P.O. Box 125                                                   Citronelle, AL 36522‐0125                                                                                First Class Mail
Chartered Organization         Citrus County Sheriffs Office                                  Greater Tampa Bay Area 089                   1 Dr Martin Luther King Jr Ave                                 Inverness, FL 34450‐4968                                                                                 First Class Mail
Chartered Organization         Citrus Cove Elementary Pto                                     Gulf Stream Council 085                      8400 Lawrence Rd                                               Boynton Beach, FL 33436‐1717                                                                             First Class Mail
Chartered Organization         Citrus Heights Police Dept                                     Golden Empire Council 047                    6315 Fountain Square Dr                                        Citrus Heights, CA 95621‐5556                                                                            First Class Mail
Voting Party                   Citrus Heights United Methodist Church                         Attn: Kim Quadros                            12400 Fair Oaks Blvd, 115                                      Fair Oaks, CA 95628                                                  chumc@surewest.net                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Citrus Heights Utd Methodist Church                            Golden Empire Council 047                    7833 Highland Ave                                              Citrus Heights, CA 95610‐4500                                                                            First Class Mail
Chartered Organization         City Academy                                                   Greater St Louis Area Council 312            4175 N Kingshighway Blvd                                       Saint Louis, MO 63115‐1733                                                                               First Class Mail
Chartered Organization         City Bible Church Rocky Butte Campus                           Cascade Pacific Council 492                  9200 NE Fremont St                                             Portland, OR 97220‐3610                                                                                  First Class Mail
Chartered Organization         City Bible Church Vancouver Campus                             Cascade Pacific Council 492                  14311 SE Mill Plain Blvd                                       Vancouver, WA 98684‐6952                                                                                 First Class Mail
Chartered Organization         City Church                                                    Yucca Council 573                            2200 Sun Country Dr                                            El Paso, TX 79938‐4644                                                                                   First Class Mail
Chartered Organization         City Coconut Creek Police Explorers                            Post 18                                      4800 W Copans Rd                                               Coconut Creek, FL 33063‐3879                                                                             First Class Mail
Voting Party                   City Creek Parking, Inc                                        P.O. Box 112130                              Salt Lake City, UT 84147‐2130                                                                                                                                           First Class Mail
Chartered Organization         City House, Inc                                                Circle Ten Council 571                       830 Central Pkwy E, Ste 350                                    Plano, TX 75074‐5582                                                                                     First Class Mail
Chartered Organization         City Light Ministry                                            Hawk Mountain Council 528                    940 Spruce St                                                  Reading, PA 19602‐1955                                                                                   First Class Mail
Chartered Organization         City Of Austin Fire Dept                                       Capitol Area Council 564                     4201 Ed Bluestein Blvd                                         Austin, TX 78721‐2909                                                                                    First Class Mail
Chartered Organization         City Of Avondale Estates                                       Atlanta Area Council 092                     21 N Avondale Plz                                              Avondale Estates, GA 30002‐1317                                                                          First Class Mail
Chartered Organization         City Of Barnesville Police Dept                                Flint River Council 095                      100 Mill St                                                    Barnesville, GA 30204‐1216                                                                               First Class Mail
Chartered Organization         City Of Beloit                                                 Glaciers Edge Council 620                    100 State St                                                   Beloit, WI 53511‐6234                                                                                    First Class Mail
Chartered Organization         City Of Beloit Fire Dept                                       Glaciers Edge Council 620                    1111 Church St                                                 Beloit, WI 53511‐5437                                                                                    First Class Mail
Chartered Organization         City Of Bethlehem Police Dept                                  Minsi Trails Council 502                     10 E Church St                                                 Bethlehem, PA 18018‐6005                                                                                 First Class Mail
Chartered Organization         City Of Biloxi Police Dept                                     Pine Burr Area Council 304                   170 Porter Ave                                                 Biloxi, MS 39530‐3753                                                                                    First Class Mail
Chartered Organization         City Of Bowie Police Dept                                      National Capital Area Council 082            15901 Excalibur Rd                                             Bowie, MD 20716‐3910                                                                                     First Class Mail
Chartered Organization         City Of Boynton Beach Police                                   Gulf Stream Council 085                      100 E Boynton Beach Blvd                                       Boynton Beach, FL 33435‐3838                                                                             First Class Mail
Voting Party                   City Of Burlington, North Carolina                             Attn: City Manager‐ City of Burlington, Nc   425 S Lexington Ave                                            Burlington, NC 27215                                                 legalnotices@burlingtonnc.gov       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         City Of Camargo                                                Blue Grass Council 204                       General Delivery                                               Mount Sterling, KY 40353                                                                                 First Class Mail
Chartered Organization         City Of Champaign Fire Dept                                    Prairielands 117                             307 S Randolph St                                              Champaign, IL 61820‐4868                                                                                 First Class Mail
Chartered Organization         City Of Champaign Police Dept.                                 Prairielands 117                             82 E University Ave                                            Champaign, IL 61820‐4148                                                                                 First Class Mail
Chartered Organization         City Of Charlotte                                              Mecklenburg County Council 415               600 E 4th St                                                   Charlotte, NC 28202‐2816                                                                                 First Class Mail
Voting Party                   City Of Charlotte                                              Billing Center                               P.O. Box 1316                                                  Charlotte, NC 28201‐1316                                                                                 First Class Mail
Chartered Organization         City Of Chico                                                  Golden Empire Council 047                    1460 Humboldt Rd                                               Chico, CA 95928‐9111                                                                                     First Class Mail
Chartered Organization         City Of Cincinnati Police Dept                                 Dan Beard Council, Bsa 438                   310 Ezzard Charles Dr                                          Cincinnati, OH 45214‐2805                                                                                First Class Mail
Chartered Organization         City Of Clinton Fire Dept                                      Blue Ridge Council 551                       404 N Broad St                                                 Clinton, SC 29325‐1704                                                                                   First Class Mail
Chartered Organization         City Of Colton Fire Dept                                       California Inland Empire Council 045         303 E E St                                                     Colton, CA 92324‐2854                                                                                    First Class Mail
Chartered Organization         City Of Columbia Police Dept                                   Great Rivers Council 653                     600 E Walnut St                                                Columbia, MO 65201‐4461                                                                                  First Class Mail
Chartered Organization         City Of Darlington Fire Dept                                   Pee Dee Area Council 552                     301 Orange St                                                  Darlington, SC 29532‐3839                                                                                First Class Mail
Chartered Organization         City Of Dayton Fire Dept                                       Miami Valley Council, Bsa 444                300 N Main St                                                  Dayton, OH 45402‐1208                                                                                    First Class Mail
Chartered Organization         City Of Delray Beach                                           Gulf Stream Council 085                      50 NW 1st Ave                                                  Delray Beach, FL 33444‐2610                                                                              First Class Mail
Chartered Organization         City Of Deltona Fire Dept                                      Central Florida Council 083                  1685 Providence Blvd                                           Deltona, FL 32725‐4928                                                                                   First Class Mail
Chartered Organization         City Of Doral                                                  South Florida Council 084                    6100 NW 99th Ave                                               Doral, FL 33178‐2738                                                                                     First Class Mail
Chartered Organization         City Of Dunwoody Police                                        Atlanta Area Council 092                     41 Perimeter Ctr E, Ste 100                                    Atlanta, GA 30346‐1903                                                                                   First Class Mail
Chartered Organization         City Of Elgin Fire Dept                                        Three Fires Council 127                      550 Summit St                                                  Elgin, IL 60120‐4219                                                                                     First Class Mail
Chartered Organization         City Of Fairfield Police Dept                                  Dan Beard Council, Bsa 438                   5230 Pleasant Ave                                              Fairfield, OH 45014‐3555                                                                                 First Class Mail
Chartered Organization         City Of Fenton Fire Dept                                       Water and Woods Council 782                  205 E Caroline St                                              Fenton, MI 48430‐4171                                                                                    First Class Mail
Chartered Organization         City Of Findlay Airport                                        Black Swamp Area Council 449                 1615 Gray St                                                   Findlay, OH 45840‐1411                                                                                   First Class Mail
Chartered Organization         City Of Florissant                                             Greater St Louis Area Council 312            1700 N US Hwy 67                                               Florissant, MO 63033‐1902                                                                                First Class Mail
Chartered Organization         City Of Fort Worth                                             Longhorn Council 662                         200 Texas St                                                   Fort Worth, TX 76102‐6314                                                                                First Class Mail
Voting Party                   City Of Fort Worth                                             Attn: Stephen A Cumbie                       200 Texas St                                                   Fort Worth, TX 76102                                                 stephen.cumbie@fortworthtexas.gov   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         City Of Franklin Police Dept                                   Middle Tennessee Council 560                 900 Columbia Ave                                               Franklin, TN 37064‐2832                                                                                  First Class Mail
Chartered Organization         City Of Freeport Fire Dept                                     Blackhawk Area 660                           1650 S Walnut Ave                                              Freeport, IL 61032‐6458                                                                                  First Class Mail
Voting Party                   City Of Fresno                                                 Fresno City Attorneys Office                 2600 Fresno St, Rm 2031                                        Fresno, CA 93721                                                     RICARDO.FARFAN@FRESNO.GOV           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         City Of Ft Lauderdale Fire Rescue Dept                         South Florida Council 084                    2200 Exec Airport Way 59                                       Fort Lauderdale, FL 33309‐1733                                                                           First Class Mail
Chartered Organization         City Of Galt Police Dept                                       Greater Yosemite Council 059                 455 Industrial Dr                                              Galt, CA 95632‐1561                                                                                      First Class Mail
Chartered Organization         City Of Glenwood Springs Fire Dept                             Denver Area Council 061                      806 Cooper Ave                                                 Glenwood Springs, CO 81601‐3428                                                                          First Class Mail
Chartered Organization         City Of Greeneville Citizens                                   Sequoyah Council 713                         P.O. Box 377                                                   Sneedville, TN 37869‐0377                                                                                First Class Mail
Chartered Organization         City Of Greensburg                                             Lincoln Heritage Council 205                 110 W Court St                                                 Greensburg, KY 42743‐1557                                                                                First Class Mail
Chartered Organization         City Of Harrison Fire Dept                                     Dan Beard Council, Bsa 438                   200 Harrison Ave                                               Harrison, OH 45030‐1330                                                                                  First Class Mail
Chartered Organization         City Of Haskell Volunteer Fire Dept                            Texas Trails Council 561                     301 N 1st St                                                   Haskell, TX 79521‐5906                                                                                   First Class Mail
Chartered Organization         City Of Helen Ga                                               Attn: Northeast Georgia Council 101          P.O. Box 280                                                   Helen, GA 30545‐0280                                                                                     First Class Mail
Chartered Organization         City Of Hemet Fire Dept                                        Attn: California Inland Empire Council 045   510 E Florida Ave                                              Hemet, CA 92543‐4334                                                                                     First Class Mail
Chartered Organization         City Of Hudson Fire Dept                                       Twin Rivers Council 364                      520 Warren St                                                  Hudson, NY 12534‐2802                                                                                    First Class Mail
Chartered Organization         City Of Indio Police Dept/Cadet Program                        Attn: California Inland Empire Council 045   46800 Jackson St                                               Indio, CA 92201‐6040                                                                                     First Class Mail
Voting Party                   City of Irving‐Municipal Services Bill                         P.O. Box 840898                              Dallas, TX 75284‐0898                                                                                                                                                   First Class Mail
Chartered Organization         City Of Keene Fire Dept                                        Attn: Daniel Webster Council, Bsa 330        33 Vernon St                                                   Keene, NH 03431                                                                                          First Class Mail
Chartered Organization         City Of King Fire Dept                                         Old Hickory Council 427                      302 W King St                                                  King, NC 27021‐9169                                                                                      First Class Mail
Chartered Organization         City Of Knoxville Fire Dept                                    Attn: Great Smoky Mountain Council 557       900 E Hill Ave, Ste 430                                        Knoxville, TN 37915‐2570                                                                                 First Class Mail
Chartered Organization         City Of Las Vegas Dps                                          Attn: Las Vegas Area Council 328             3300 Stewart Ave                                               Las Vegas, NV 89101‐3710                                                                                 First Class Mail
Chartered Organization         City Of Laurinburg Police Dept                                 Attn: Cape Fear Council 425                  303 W Church St                                                Laurinburg, NC 28352‐3719                                                                                First Class Mail
Chartered Organization         City Of Lavergne Fire Rescue Dept                              Middle Tennessee Council 560                 283 Old Nashville Hwy                                          La Vergne, TN 37086‐2834                                                                                 First Class Mail
Chartered Organization         City Of Lawrence Police Dept                                   The Spirit of Adventure 227                  90 Lowell St                                                   Lawrence, MA 01840‐1210                                                                                  First Class Mail
Chartered Organization         City Of Lilburn Police Dept                                    Attn: Northeast Georgia Council 101          76 Main St NW                                                  Lilburn, GA 30047‐5020                                                                                   First Class Mail
Chartered Organization         City Of Lynnville                                              Attn:Middle Tennessee Council 560            P.O. Box 158                                                   Lynnville, TN 38472‐0158                                                                                 First Class Mail
Chartered Organization         City Of Lynnwood Police Dept                                   Attn: Mount Baker Council, Bsa 606           P.O. Box 5008                                                  Lynnwood, WA 98046‐5008                                                                                  First Class Mail
Chartered Organization         City Of Malden Parks And Recreation                            Attn: Greater St Louis Area Council 312      607 N Douglass St                                              Malden, MO 63863‐1507                                                                                    First Class Mail
Chartered Organization         City Of Manteca Police Dept                                    Attn: Greater Yosemite Council 059           1001 W Center St                                               Manteca, CA 95337‐4302                                                                                   First Class Mail
Chartered Organization         City Of Margate Fire Dept                                      Attn: South Florida Council 084              600 N Rock Island Rd                                           Margate, FL 33063‐4327                                                                                   First Class Mail
Chartered Organization         City Of Marina Recreation Dept                                 Attn: Silicon Valley Monterey Bay 055        211 Hillcrest Ave                                              Marina, CA 93933‐3534                                                                                    First Class Mail
Voting Party                   City Of Memphis                                                P.O. Box 185                                 Memphis, TN 38101                                                                                                                   kjackson1@shelbycountytrustee.com   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         City Of Mesquite Florence                                      Attn:Circle Ten Council 571                  1515 N Galloway Ave                                            Mesquite, TX 75149‐2359                                                                                  First Class Mail
Chartered Organization         City Of Mesquite Parks & Rec Center                            Attn: Circle Ten Council 571                 1515 N Galloway Ave                                            Mesquite, TX 75149‐2359                                                                                  First Class Mail
Chartered Organization         City Of Mesquite Rutherford                                    Attn: Circle Ten Council 571                 1515 N Galloway Ave                                            Mesquite, TX 75149‐2359                                                                                  First Class Mail
Chartered Organization         City Of Miami Gardens Police Dept                              Attn: South Florida Council 084              18711 NW 27th Ave                                              Miami Gardens, FL 33056                                                                                  First Class Mail
Chartered Organization         City Of Miami Police‐South Station                             Attn: South Florida Council 084              2200 W Flagler St                                              Miami, FL 33135‐1523                                                                                     First Class Mail
Chartered Organization         City Of Monroe Fire Dept                                       Attn: Northeast Georgia Council 101          116 S Broad St                                                 Monroe, GA 30655‐2154                                                                                    First Class Mail
Chartered Organization         City Of Monroe Police Dept                                     Attn: Northeast Georgia Council 101          116 S Broad St                                                 Monroe, GA 30655‐2154                                                                                    First Class Mail
Chartered Organization         City Of Nappanee Fire Dept                                     Attn: Lasalle Council 165                    300 W Lincoln St                                               Nappanee, IN 46550‐1948                                                                                  First Class Mail
Chartered Organization         City Of Newnan Police Dept                                     Flint River Council 095                      1 Joseph Hannah Blvd                                           Newnan, GA 30263‐1906                                                                                    First Class Mail
Chartered Organization         City Of Ontario Fire Dept                                      Attn: California Inland Empire Council 045   425 E B St                                                     Ontario, CA 91764‐4107                                                                                   First Class Mail
Chartered Organization         City Of Opa Locka Parks & Recreation                           South Florida Council 084                    215 N Perviz Ave                                               Opa Locka, FL 33054‐3387                                                                                 First Class Mail
Chartered Organization         City Of Orange Public Library                                  Attn: Orange County Council 039              407 E Chapman Ave                                              Orange, CA 92866‐1509                                                                                    First Class Mail
Chartered Organization         City Of Oxford Div Of Police                                   Attn: Dan Beard Council, Bsa 438             101 E High St                                                  Oxford, OH 45056‐1991                                                                                    First Class Mail
Chartered Organization         City Of Oxnard Fire Dept                                       Attn: Ventura County Council 057             360 W 2nd St                                                   Oxnard, CA 93030‐5650                                                                                    First Class Mail
Chartered Organization         City Of Palm Springs Fire Dept                                 Attn: California Inland Empire Council 045   300 N El Cielo Rd                                              Palm Springs, CA 92262‐6968                                                                              First Class Mail
Chartered Organization         City Of Palms High School                                      Attn: Southwest Florida Council 088          2830 Winkler Ave, Ste 201                                      Fort Myers, FL 33916‐9301                                                                                First Class Mail
Chartered Organization         City Of Pinellas Park Fire Dept                                Attn: Greater Tampa Bay Area 089             11350 43rd St N                                                Clearwater, FL 33762‐4900                                                                                First Class Mail
Chartered Organization         City Of Princeton Police Deptartment                           W D Boyce 138                                2 S Main St                                                    Princeton, IL 61356‐1708                                                                                 First Class Mail
Chartered Organization         City Of Raleigh Fire Dept                                      Occoneechee 421                              310 W Martin St                                                Raleigh, NC 27601‐1326                                                                                   First Class Mail
Voting Party                   City Of Raton, Raton Water Works                               Attn: Geneva Marie Trujillo                  224 Svage Ave                                                  Raton, NM 87740                                                      gmtrujillo@cityofraton.com          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         City Of Refuge                                                 Attn: Atlanta Area Council 092               1300 Joseph E Boone Blvd NW                                    Atlanta, GA 30314‐2032                                                                                   First Class Mail
Chartered Organization         City Of Rio Rancho Police Dept                                 Great Swest Council 412                      500 Quantum Rd NE                                              Rio Rancho, NM 87124‐4501                                                                                First Class Mail
Chartered Organization         City Of Rochester Fire Dept                                    Great Lakes Fsc 272                          277 E 2nd St                                                   Rochester, MI 48307‐2003                                                                                 First Class Mail
Chartered Organization         City Of Rockford Fire Dept                                     Blackhawk Area 660                           204 S 1st St                                                   Rockford, IL 61104‐2033                                                                                  First Class Mail
Chartered Organization         City Of Rome Police Dept                                       Northwest Georgia Council 100                5 Government Plz, Ste 300                                      Rome, GA 30161‐2807                                                                                      First Class Mail
Chartered Organization         City Of San Clemente Marine Safety                             Orange County Council 039                    910 Calle Negocio                                              San Clemente, CA 92673‐6268                                                                              First Class Mail
Chartered Organization         City Of San Luis Fire Dept                                     Grand Canyon Council 010                     1165 N Mccain St                                               San Luis, AZ 85349                                                                                       First Class Mail
Chartered Organization         City Of Sebastian Police Dept                                  Gulf Stream Council 085                      1201 Main St                                                   Sebastian, FL 32958‐4165                                                                                 First Class Mail
Chartered Organization         City Of Semmes                                                 Mobile Area Council‐Bsa 004                  P.O. Box 1757                                                  Semmes, AL 36575‐1757                                                                                    First Class Mail
Chartered Organization         City Of Shelby Police Dept                                     Piedmont Council 420                         130 W Warren St                                                Shelby, NC 28150‐5370                                                                                    First Class Mail
Chartered Organization         City Of Slocomb Ems                                            Alabama‐Florida Council 003                  324 S State Hwy 103                                            Slocomb, AL 36375‐6533                                                                                   First Class Mail
Chartered Organization         City Of Sneedville Citizens                                    Sequoyah Council 713                         P.O. Box 377                                                   Sneedville, TN 37869‐0377                                                                                First Class Mail
Chartered Organization         City Of Snoqualmie Police Dept                                 Chief Seattle Council 609                    34825 SE Douglas St                                            Snoqualmie, WA 98065‐9220                                                                                First Class Mail
Chartered Organization         City Of Socorro                                                Yucca Council 573                            901 N Rio Vista Rd                                             Socorro, TX 79927‐4615                                                                                   First Class Mail
Chartered Organization         City Of Spartanburg                                            Palmetto Council 549                         210 Bomar Ave                                                  Spartanburg, SC 29306‐5406                                                                               First Class Mail
Chartered Organization         City Of Sunrise Fire‐Rescue                                    South Florida Council 084                    10440 W Oakland Park Blvd                                      Sunrise, FL 33351‐6822                                                                                   First Class Mail
Chartered Organization         City Of Taylor Mill Police Dept                                Dan Beard Council, Bsa 438                   5227 Taylor Mill Rd                                            Taylor Mill, KY 41015‐2127                                                                               First Class Mail
Chartered Organization         City Of Thornton Fire Dept                                     Denver Area Council 061                      14051 Colorado Blvd                                            Thornton, CO 80602‐7870                                                                                  First Class Mail
Chartered Organization         City Of Tolleson Fire Dept                                     Grand Canyon Council 010                     203 N 92nd Ave                                                 Tolleson, AZ 85353‐2901                                                                                  First Class Mail
Chartered Organization         City Of Tonawanda Fire Dept                                    Greater Niagara Frontier Council 380         44 William St                                                  Tonawanda, NY 14150‐2222                                                                                 First Class Mail
Chartered Organization         City Of Troy Police Dept                                       Greater St Louis Area Council 312            800 Cap Au Gris St                                             Troy, MO 63379‐1712                                                                                      First Class Mail
Chartered Organization         City Of Tustin/Tustin Pd                                       Orange County Council 039                    300 Centennial Way                                             Tustin, CA 92780‐3715                                                                                    First Class Mail
Chartered Organization         City Of Vacaville Fire Dept                                    Golden Empire Council 047                    650 Merchant St                                                Vacaville, CA 95688‐6908                                                                                 First Class Mail
Chartered Organization         City Of Vandalia Fire Dept                                     Miami Valley Council, Bsa 444                8705 Peters Pike                                               Vandalia, OH 45377‐9306                                                                                  First Class Mail
Chartered Organization         City Of Walker Fire Dept                                       President Gerald R Ford 781                  4343 Remembrance Rd NW                                         Walker, MI 49534‐7503                                                                                    First Class Mail
Chartered Organization         City Of White House Fire Dept                                  Middle Tennessee Council 560                 120 Business Park Dr                                           White House, TN 37188‐5257                                                                               First Class Mail
Chartered Organization         City On A Hill Utd Methodist Church                            Atlanta Area Council 092                     7745 Main St                                                   Woodstock, GA 30188‐1691                                                                                 First Class Mail
Voting Party                   City Point United Methodist Church Fka Richland Hills          c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   City Point United Methodist Church fka Richland Hills          7301 Glenview Dr                             N Richland Hills, TX 76180                                                                                                                                              First Class Mail
Chartered Organization         City Point Utd Methodist Church                                Longhorn Council 662                         7301 Glenview Dr                                               Richland Hills, TX 76180‐8337                                                                            First Class Mail
Voting Party                   City Road Chapel United Methodist Church                       Attn: Jay Voorhees                           701 Gallatin Pike S                                            Madison, TN 37115                                                    jvoorhees@cityroadchapel.org        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   City Road United Methodist Church                              Attn: Frank Williams                         511 N Rd St                                                    Elizabeth City, NC 27909                                             crumcec@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         City Road Utd Methodist Church                                 Middle Tennessee Council 560                 701 Gallatin Pike S                                            Madison, TN 37115‐4014                                                                                   First Class Mail
Chartered Organization         City Soul Ministries                                           Buckskin 617                                 1101 46th St                                                   Vienna, WV 26105‐9420                                                                                    First Class Mail
Chartered Organization         City Utilities Of Springfield                                  Ozark Trails Council 306                     301 E Central St                                               Springfield, MO 65802‐3834                                                                               First Class Mail
Chartered Organization         Cityview Site ‐ Canyon Kids                                    Golden Spread Council 562                    3301 N 23rd St                                                 Canyon, TX 79015‐6166                                                                                    First Class Mail
Chartered Organization         Civitan Club Of Albertville                                    Greater Alabama Council 001                  P.O. Box 51                                                    Albertville, AL 35950‐0001                                                                               First Class Mail
Chartered Organization         Civitan Club Of Clarksville                                    Middle Tennessee Council 560                 P.O. Box 881                                                   Clarksville, TN 37041‐0881                                                                               First Class Mail
Chartered Organization         Civitan Club Of Fairfield                                      Dan Beard Council, Bsa 438                   1381 Hunter Rd                                                 Fairfield, OH 45014‐4504                                                                                 First Class Mail
Chartered Organization         Civitan Club Of Guntersville                                   Greater Alabama Council 001                  2577 Buck Island Dr                                            Guntersville, AL 35976‐8583                                                                              First Class Mail
Chartered Organization         Civitan Club Of Wilsonville                                    Greater Alabama Council 001                  31 Mcclure Dr                                                  Wilsonville, AL 35186‐8021                                                                               First Class Mail
Voting Party                   CJ Adams Law, PLLC                                             Attn: Christy Adams                          200 S Buckman St                                               Shepherdsville, KY 40165                                             cjadamslaw@gmail.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Clabauch, Scott                                                Address Redacted                                                                                                                                                                 Email Address Redacted              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Clackamas County Boring Fire District 1                        Cascade Pacific Council 492                  11300 SE Fuller Rd                                             Milwaukie, OR 97222‐1124                                                                                 First Class Mail
Chartered Organization         Claflin University                                             Indian Waters Council 553                    400 Magnolia St                                                Orangeburg, SC 29115‐6815                                                                                First Class Mail
Chartered Organization         Clague Road Utd Church Of Christ                               Lake Erie Council 440                        3650 Clague Rd                                                 North Olmsted, OH 44070‐1651                                                                             First Class Mail
Voting Party                   Claiborne United Methodist Church                              Attn: Ruth Ann Spurlock Miller               5401 Cypress St                                                West Monroe, LA 71291                                                DAN.VARNADO@YAHOO.COM               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Claim 980                                                      Attn: Jeremy Barberi                         The Law Office of Bruce W Slane, Pc                            188 E Post Rd, Ste 205            White Plains, NY 10601             jeremy@slane‐law.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Claim 988                                                      Attn: Jeremy Barberi                         The Law Office of Bruce W Slane, Pc                            188 E Post Rd, Ste 205            White Plains, NY 10601             jeremy@slane‐law.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Claim 991                                                      Attn: Jeremy Barberi                         The Law Office of Bruce W Slane, Pc                            188 E Post Rd, Ste 205            White Plains, NY 10601             jeremy@slane‐law.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Claim 992                                                      Attn: Jeremy Barberi                         The Law Office of Bruce W Slane, Pc                            188 E Post Rd, Ste 205            White Plains, NY 10601             jeremy@slane‐law.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Clair Memorial Utd Methodist Church                            Mid‐America Council 326                      5544 Ames Ave                                                  Omaha, NE 68104‐2808                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 67 of 442
                                                                                  Case 20-10343-LSS                                         Doc 8171                                           Filed 01/06/22                                                 Page 83 of 457
                                                                                                                                                                            Exhibit B
                                                                                                                                                                             Service List
                                                                                                                                                                      Served as set forth below

        Description                                                        Name                                                                                           Address                                                                                                                 Email              Method of Service
Chartered Organization         Clairbourn School                                         Greater Los Angeles Area 033              8400 Huntington Dr                                          San Gabriel, CA 91775‐1154                                                                                 First Class Mail
Chartered Organization         Clairemont Covenant Church                                San Diego Imperial Council 049            5255 Mount Ararat Dr                                        San Diego, CA 92111‐3812                                                                                   First Class Mail
Chartered Organization         Clairemont Lutheran Church                                San Diego Imperial Council 049            4271 Clairemont Mesa Blvd                                   San Diego, CA 92117‐2721                                                                                   First Class Mail
Chartered Organization         Clairton Elementary School                                Laurel Highlands Council 527              501 Waddell Ave                                             Clairton, PA 15025‐1559                                                                                    First Class Mail
Chartered Organization         Clairview Preschool                                       Westmoreland Fayette 512                  102 Equity Dr                                               Greensburg, PA 15601‐7190                                                                                  First Class Mail
Chartered Organization         Clallam County Fire District 2                            Chief Seattle Council 609                 102 E 5th St                                                Port Angeles, WA 98362‐3014                                                                                First Class Mail
Chartered Organization         Clallam County Fire District 3                            Chief Seattle Council 609                 323 N 5th Ave                                               Sequim, WA 98382‐3313                                                                                      First Class Mail
Chartered Organization         Clancy Vfd                                                Montana Council 315                       P.O. Box 157                                                Clancy, MT 59634‐0157                                                                                      First Class Mail
Voting Party                   Clanton First United Methodist Church                     Attn: Wesley Kelley                       207 8th St N                                                Clanton, AL 35045                                                        wes@clantonfumc.org               Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clanton First United Methodist Church                     Attn: Barbara Lewis, Treasurer            207 8th St N                                                Clanton, AL 35045                                                        blewisisworking@yahoo.com         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clapps Chapel UMC                                         Larry Dean Dougherty                      7420 Clapps Chapel Rd                                       Corryton, TN 37721                                                       ldd1676@gmail.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clapps Chapel United Methodist Church                     Attn: Larry Dean Dougherty                7420 Clapps Chapel Rd                                       Corryton, TN 37721                                                       ldd1676@gmail.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clapp's Chapel United Methodist Church                    7420 Clapps Chapel Rd                     Corryton, TN 37721                                                                                                                   pastorjoephillips@gmail.com       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clara City Lions Club                                     Northern Star Council 250                 General Delivery                                            Clara City, MN 56222                                                                                       First Class Mail
Chartered Organization         Clara Mohammed School                                     Three Harbors Council 636                 317 W Wright St                                             Milwaukee, WI 53212‐2729                                                                                   First Class Mail
Chartered Organization         Clare County Senior Community Center                      Water and Woods Council 782               P.O. Box 98                                                 Farwell, MI 48622‐0098                                                                                     First Class Mail
Voting Party                   Clare Jane Chapman                                        1 School House Ln                         Shelburne Falls, MA 01370                                                                                                            clacha1842@gmail.com              Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clare United Methodist Church                             Attn: Judy Bailey Admin                   105 E 7th St                                                Clare, MI 48617                                                          jbailey@clareumc.org              Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Claremont Police Dept                                     Greater Los Angeles Area 033              570 W Bonita Ave                                            Claremont, CA 91711‐4626                                                                                   First Class Mail
Chartered Organization         Claremont Presbyterian Church                             Greater Los Angeles Area 033              1111 N Mountain Ave                                         Claremont, CA 91711‐3751                                                                                   First Class Mail
Voting Party                   Claremont United Methodist Church                         Attn: Trustee Chair                       211 W Foothill Blvd                                         Claremont, CA 91711                                                      office@claremontumc.org           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Claremont Utd Church Of Christ                            Greater Los Angeles Area 033              233 Harrison Ave                                            Claremont, CA 91711‐4324                                                                                   First Class Mail
Chartered Organization         Claremore Church Of The Nazarene                          Indian Nations Council 488                1336 N Dorothy Ave                                          Claremore, OK 74017‐4447                                                                                   First Class Mail
Chartered Organization         Clarence G Dzuris Vfw Post 5221                           Pikes Peak Council 060                    568 Colorado Ave                                            Calhan, CO 80808                                                                                           First Class Mail
Chartered Organization         Clarence H Beaver Masonic Lodge 124                       Transatlantic Council, Bsa 802            Psc 47 Box 1447                                             Apo, AE 09470‐0015                                                                                         First Class Mail
Chartered Organization         Clarence H Beaver Masonic Lodge 124                       Transatlantic Council, Bsa 802            Pso 47 Box 1142                                             Apo, AE 9470                                                                                               First Class Mail
Chartered Organization         Clarence L Neiman Post 455                                Erie Shores Council 460                   4805 County Rd 16                                           Woodville, OH 43469‐9845                                                                                   First Class Mail
Chartered Organization         Clarence L Nieman Post 455                                Erie Shores Council 460                   P.O. Box 94                                                 Woodville, OH 43469‐0094                                                                                   First Class Mail
Voting Party                   Clarence United Methodist Church                          Attn: Lee Schoonover, Treasurer           301 S Center St                                             Clarence, MO 63437                                                       lee.schoonover72@yahoo.com        Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clarence Utd Methodist Church                             Greater Niagara Frontier Council 380      10205 Greiner Rd                                            Clarence, NY 14031‐1303                                                                                    First Class Mail
Voting Party                   Clarenceville United Methodist Church                     Attn: Donald Robert Sperling              20300 Middle Belt Rd                                        Livonia, MI 48152                                                        clarencevillechurch@gmail.com     Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clarendon First Christian Church                          Golden Spread Council 562                 P.O. Box 690                                                Clarendon, TX 79226‐0690                                                                                   First Class Mail
Voting Party                   Clarendon First United Methodist Church                   Attn: Secretary/Treasurer And/Or Pastor   420 Jefferson                                               Clarendon, TX 79226                                                                                        First Class Mail
Chartered Organization         Clarendon First Utd Methodist Church                      Golden Spread Council 562                 P.O. Box 1050                                               Clarendon, TX 79226‐1050                                                                                   First Class Mail
Voting Party                   Clarendon UMC                                             c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clarendon Utd Methodist Church                            National Capital Area Council 082         606 N Irving St                                             Arlington, VA 22201‐2004                                                                                   First Class Mail
Voting Party                   Clarion First United Methodist Church                     Attn: Michael Gudka                       201 3rd Ave Ne                                              Clarion, IA 50525                                                        pastormikegudka@gmail.com         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clarion Lodge 277 Fr & Acc Masons                         French Creek Council 532                  P.O. Box 20                                                 Clarion, PA 16214‐0020                                                                                     First Class Mail
Chartered Organization         Clarion Vfw Post 2612                                     Winnebago Council, Bsa 173                211 6th St Sw                                               Clarion, IA 50525                                                                                          First Class Mail
Chartered Organization         Clark Cnty Fire Distr 3 Firemans Assoc                    Cascade Pacific Council 492               17718 NE 159th St                                           Brush Prairie, WA 98606‐7236                                                                               First Class Mail
Chartered Organization         Clark County Fire Dept                                    Las Vegas Area Council 328                575 E Flamingo Rd                                           Las Vegas, NV 89119‐6950                                                                                   First Class Mail
Chartered Organization         Clark County Firefighters Assoc                           Blue Grass Council 204                    34 S Main St, Ste 103                                       Winchester, KY 40391‐2600                                                                                  First Class Mail
Chartered Organization         Clark County Sheriffs Dept                                Cascade Pacific Council 492               P.O. Box 410                                                Vancouver, WA 98666‐0410                                                                                   First Class Mail
Chartered Organization         Clark County Sheriff'S Office                             Tecumseh 439                              120 N Fountain Ave                                          Springfield, OH 45502‐1163                                                                                 First Class Mail
Chartered Organization         Clark Elementary PTO                                      Greater St Louis Area Council 312         9130 Big Bend Blvd                                          Webster Groves, MO 63119‐3919                                                                              First Class Mail
Chartered Organization         Clark Elementary School PTO                               Tukabatchee Area Council 005              405 Lawrence St                                             Selma, AL 36703‐3843                                                                                       First Class Mail
Chartered Organization         Clark Hanson Vfw Post 117                                 Northern Star Council 250                 205 1st St W                                                Canby, MN 56220‐1409                                                                                       First Class Mail
Voting Party                   Clark Hill Strasburger                                    Attn: Brian G Hamilton                    901 Main St, Ste 6000                                       Dallas, TX 75202                                                         bhamilton@clarkhill.com           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clark Memorial United Methodist Church                    Attn: Gloster B Current Jr                1014 14th Ave N                                             Nashville, TN 37208                                                      mrbryant.current@gmail.com        Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clark Memorial United Methodist Church                    Attn: Okc Clark                           5808 NW 23Rd                                                Okc, OK 73127                                                            mikeglaird@yahoo.com              Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clark Police Dept                                         Patriots Path Council 358                 315 Westfield Ave                                           Clark, NJ 07066‐1704                                                                                       First Class Mail
Chartered Organization         Clark Rifles Inc                                          Cascade Pacific Council 492               25115 NE Rawson Rd                                          Brush Prairie, WA 98606‐5828                                                                               First Class Mail
Voting Party                   Clark Silvergate, P.A.                                    Attn: Anibal Irastorza                    799 Brickell Plz, Ste 900                                   Miami, FL 33131                                                          airastorza@cspalaw.com            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clark Utd Methodist                                       French Creek Council 532                  96 Charles St                                               Clark, PA 16113                                                                                            First Class Mail
Chartered Organization         Clarke County Reserves                                    Mid Iowa Council 177                      P.O. Box 537                                                Osceola, IA 50213‐0537                                                                                     First Class Mail
Chartered Organization         Clarke County Sheriffs Office                             Northeast Georgia Council 101             325 E Washington St                                         Athens, GA 30601‐4514                                                                                      First Class Mail
Chartered Organization         Clarke Funeral Home                                       Heart of Virginia Council 602             110 E 5th Ave                                               Kenbridge, VA 23944                                                                                        First Class Mail
Voting Party                   Clarke Law Firm, Plc                                      Marilee Miller Clarke                     8141 E Indian Bend Rd, Suite 105                            Scottsdale, AZ 85250                                                     marilee@clarkelawaz.com           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clarke Street School B & G Club                           Three Harbors Council 636                 2816 W Clarke St                                            Milwaukee, WI 53210‐2621                                                                                   First Class Mail
Voting Party                   Clarkesville First Umc                                    c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clarkesville Methodist Mens Club                          Northeast Georgia Council 101             P.O. Box 130                                                Clarkesville, GA 30523‐0003                                                                                First Class Mail
Chartered Organization         Clarkesville Veterinary Hospital                          Northeast Georgia Council 101             6637 Hwy 115                                                Clarkesville, GA 30523‐6747                                                                                First Class Mail
Voting Party                   Clarks Green United Methodist Church                      Attn: Kevin St. Martin                    117 Glenburn Rd                                             Clarks Green, PA 18411                                                   kstmartin@susumc.org              Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clarks Green United Methodist Church                      Attn: William Fiore                       118 Glenburn Rd                                             Clarks Green, PA 18411                                                   bilfiore@epix.net                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clarks Green United Methodist Church (078166)             c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200           Pittsburgh, PA 15228                lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clarks Green Utd Methodist Church                         Northeastern Pennsylvania Council 501     119 Glenburn Rd                                             Clarks Green, PA 18411‐2515                                                                                First Class Mail
Chartered Organization         Clarks Grove Cumberland Presbyterian                      Great Smoky Mountain Council 557          306 Jackson Hills Dr                                        Maryville, TN 37804‐2508                                                                                   First Class Mail
Voting Party                   Clarks Summit Umc (30313)                                 c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200           Pittsburgh, PA 15228                lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clarks Summit Utd Methodist Church                        Northeastern Pennsylvania Council 501     Grove St &                                                  Morgan Hwy                           Clarks Summit, PA 18411                                               First Class Mail
Chartered Organization         Clarksburg Community Church                               Golden Empire Council 047                 P.O. Box 83                                                 Clarksburg, CA 95612‐0083                                                                                  First Class Mail
Chartered Organization         Clarksburg Elementary Pta                                 National Capital Area Council 082         23930 Burdette Forest Rd                                    Clarksburg, MD 20871‐4420                                                                                  First Class Mail
Voting Party                   Clarksbury ‐ Harmony                                      c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clarksbury UMC                                            c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clarksdale United Methodist Church                        Attn: Renee Moore                         P.O. Box 1303                                               Clarksdale, MS 38614                                                     clarksdaleumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clarkson College                                          Mid‐America Council 326                   101 S 42nd St                                               Omaha, NE 68131‐2715                                                                                       First Class Mail
Chartered Organization         Clarkston Rotary Club                                     Great Lakes Fsc 272                       6167 White Lake Rd                                          Clarkston, MI 48346‐2070                                                                                   First Class Mail
Voting Party                   Clarkston Umc                                             c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradely.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clarkston United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clarkston United Methodist Church                         Attn: Collen Godfrey                      6600 Waldon Rd                                              Clarkston, MI 48346                                                      cgodfrey@clarkstonumc.org         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clarkston Utd Methodist Church                            Inland Nwest Council 611                  1242 Highland Ave                                           Clarkston, WA 99403‐2840                                                                                   First Class Mail
Chartered Organization         Clarksville 1St Utd Methodist Ch                          Westark Area Council 016                  P.O. Box 535                                                Clarksville, AR 72830‐0535                                                                                 First Class Mail
Chartered Organization         Clarksville Bible Church                                  President Gerald R Ford 781               191 S Main St                                               Clarksville, MI 48815‐9654                                                                                 First Class Mail
Chartered Organization         Clarksville Fire Dept                                     Baltimore Area Council 220                5000 Signal Bell Ln                                         Clarksville, MD 21029‐2605                                                                                 First Class Mail
Voting Party                   Clarksville First United Methodist Church                 c/o Rev Heather Clawitter                 200 W Sevier St, 535                                        Clarksville, AR 72830                                                    lraines@fridayfirm.com            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clarksville Police Dept                                   Middle Tennessee Council 560              135 Commerce St                                             Clarksville, TN 37040‐5100                                                                                 First Class Mail
Chartered Organization         Clarksville Rotary Club                                   Middle Tennessee Council 560              P.O. Box 572                                                Clarksville, TN 37041‐0572                                                                                 First Class Mail
Chartered Organization         Clarksville Sunrise Rotary Club                           Middle Tennessee Council 560              139 Village Way                                             Clarksville, TN 37043‐5458                                                                                 First Class Mail
Chartered Organization         Clarksville Utd Methodist Church                          Tecumseh 439                              68 S 1st St                                                 Clarksville, OH 45113‐8752                                                                                 First Class Mail
Voting Party                   Clarkton United Methodist Church                          Attn: Shannon Owens Ross, Pastor          9072 US Hwy 701 S                                           P.O. Box 744                         Clarkton, NC 28433                  sross@nccumc.org                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clas Ropes Course                                         Utah National Parks 591                   3606 W Center St                                            Provo, UT 84601‐8257                                                                                       First Class Mail
Voting Party                   Class B Inc                                               9437 Corporate Lake Dr                    Tampa, FL 33643                                                                                                                      eric.hilferding@classb.com        Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Classb Inc                                                9437 Corporate Lake Dr                    Tampa, FL 33634‐2359                                                                                                                 eric.hilferding@classb.com        Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Classic Auto Collision Center                             Chippewa Valley Council 637               N4041 State Rd 40                                           Bruce, WI 54819                                                                                            First Class Mail
Chartered Organization         Classical Conversation                                    Suwannee River Area Council 664           2000 Quinn Ct                                               Tallahassee, FL 32309‐3239                                                                                 First Class Mail
Chartered Organization         Classical Conversations                                   Suwannee River Area Council 664           2000 Quinn Ct                                               Tallahassee, FL 32309‐3239                                                                                 First Class Mail
Chartered Organization         Claude H Montgomery Al Post 58                            Mid‐America Council 326                   111 E Front St                                              Valley, NE 68064‐1547                                                                                      First Class Mail
Chartered Organization         Claude O Markoe                                           National Capital Area Council 082         7175 Mars Hills                                             Frederiksted, VI 00840                                                                                     First Class Mail
Chartered Organization         Clawson Middle School                                     Great Lakes Fsc 272                       150 John M Ave                                              Clawson, MI 48017‐1514                                                                                     First Class Mail
Chartered Organization         Clawson Utd Methodist Church                              Great Lakes Fsc 272                       205 N Main St                                               Clawson, MI 48017‐1524                                                                                     First Class Mail
Chartered Organization         Clay Center Fire Dept                                     Coronado Area Council 192                 504 Grant Ave                                               Clay Center, KS 67432‐2918                                                                                 First Class Mail
Chartered Organization         Clay City Utd Methodist Church                            Greater St Louis Area Council 312         412 S Main St                                               Clay City, IL 62824‐1183                                                                                   First Class Mail
Chartered Organization         Clay County Medical Center                                Coronado Area Council 192                 617 Liberty St                                              Clay Center, KS 67432‐1564                                                                                 First Class Mail
Chartered Organization         Clay Creative Academy                                     Northeast Georgia Council 101             7309 Coral Lake Dr                                          Flowery Branch, GA 30542‐5598                                                                              First Class Mail
Chartered Organization         Clay Lions Club                                           Buckskin 617                              3292 Triplett Ridge Rd                                      Clay, WV 25043‐6017                                                                                        First Class Mail
Voting Party                   Clay Umc                                                  Barry Lee Hallman                         5070 Pine Mountain Rd                                       Remlap, AL 35133                                                         barry.hallman@umcna.org           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clay United Methodist                                     Attn: Barry Hallman                       6790 Old Springville Rd                                     P.O. Box 117                         Clay, AL 35048                      barry.hallman@umcna.org           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clay Utd Methodist Church                                 Greater Alabama Council 001               6790 Old Springville Rd                                     Clay, AL 35048                                                                                             First Class Mail
Chartered Organization         Clay Utd Methodist Church                                 Lasalle Council 165                       17646 Cleveland Rd                                          South Bend, IN 46635‐1382                                                                                  First Class Mail
Chartered Organization         Clay‐Granger Lions Club                                   Lasalle Council 165                       P.O. Box 526                                                Granger, IN 46530‐0526                                                                                     First Class Mail
Chartered Organization         Claysburg Rotary Club                                     Laurel Highlands Council 527              P.O. Box 1                                                  Claysburg, PA 16625‐0001                                                                                   First Class Mail
Chartered Organization         Clayton Business & Community Assoc                        Mt Diablo‐Silverado Council 023           P.O. Box 436                                                Clayton, CA 94517‐0436                                                                                     First Class Mail
Chartered Organization         Clayton Civitan Club                                      Tuscarora Council 424                     340 Mccullers St                                            Clayton, NC 27520                                                                                          First Class Mail
Chartered Organization         Clayton Civitan Club Youth Center                         Tuscarora Council 424                     P.O. Box 385                                                Clayton, NC 27528‐0385                                                                                     First Class Mail
Chartered Organization         Clayton County Explorers                                  Atlanta Area Council 092                  7911 N Mcdonough St                                         Jonesboro, GA 30236‐2436                                                                                   First Class Mail
Chartered Organization         Clayton County Exploring Post                             Atlanta Area Council 092                  7911 N Mcdonough St                                         Jonesboro, GA 30236‐2436                                                                                   First Class Mail
Chartered Organization         Clayton County Fire And Emergency Svcs                    Atlanta Area Council 092                  7810 Hwy 85                                                 Riverdale, GA 30274‐3920                                                                                   First Class Mail
Chartered Organization         Clayton Elementary PTA                                    Bay‐Lakes Council 635                     2916 Fairview Rd                                            Neenah, WI 54956‐9365                                                                                      First Class Mail
Chartered Organization         Clayton Fire                                              Northern Star Council 250                 P.O. Box 44                                                 Clayton, WI 54004‐0044                                                                                     First Class Mail
Voting Party                   Clayton First Umc (Clayton)                               c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clayton Methodist Church                                  Longhouse Council 373                     324 John St                                                 Clayton, NY 13624‐1017                                                                                     First Class Mail
Chartered Organization         Clayton Presbyterian Church                               Crossroads of America 160                 4887 Pennsylvania St                                        Clayton, IN 46118                                                                                          First Class Mail
Voting Party                   Clayton United Methodist Church                           Attn: Financial Secretary                 324 John St                                                 Clayton, NY 13624                                                        claytonumc@outlook.com            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Cle Elum Volunteer Fire Dept                              Grand Columbia Council 614                141 Swallow Ln                                              Cle Elum, WA 98922‐9386                                                                                    First Class Mail
Chartered Organization         Clear Creek Elementary                                    Lincoln Heritage Council 205              279 Chapel Hl                                               Shelbyville, KY 40065‐7821                                                                                 First Class Mail
Chartered Organization         Clear Creek Elementary PTO                                Hoosier Trails Council 145 145            300 W Clear Creek Dr                                        Bloomington, IN 47403‐4800                                                                                 First Class Mail
Chartered Organization         Clear Lake Area Community Center, Inc                     Northern Star Council 250                 560 5th St                                                  Clear Lake, WI 54005‐8540                                                                                  First Class Mail
Chartered Organization         Clear Lake Church Of Christ                               Sam Houston Area Council 576              938 El Dorado Blvd                                          Houston, TX 77062‐4020                                                                                     First Class Mail
Chartered Organization         Clear Lake Forest Community Assoc                         Sam Houston Area Council 576              1019 Baronridge Dr                                          Taylor Lake Village, TX 77586‐4001                                                                         First Class Mail
Chartered Organization         Clear Lake Lions Club                                     Central Minnesota 296                     P.O. Box 127                                                Clear Lake, MN 55319‐0127                                                                                  First Class Mail
Chartered Organization         Clear Lake Presbyterian Church                            Sam Houston Area Council 576              1511 El Dorado Blvd                                         Houston, TX 77062‐3422                                                                                     First Class Mail
Voting Party                   Clear Lake United Methodist Church                        Attn: Pastor Dave Peterson                508 2nd Ave N                                               Clear Lake, IA 50428                                                     pastor@clearlakeumc.org           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clear Lake United Methodist Church                        Attn: Charles Anderson                    16335 El Camino Real                                        Houston, TX 77062                                                        finance@clearlakemethodist.org    Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clear Lakes Ward ‐ Filer Stake                            Snake River Council 111                   Fair St                                                     Buhl, ID 83316                                                                                             First Class Mail
Voting Party                   Clear Ridge United Methodist Church (178255)              c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200           Pittsburgh, PA 15228                lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clear Spring Fire ‐ Rescue                                Blue Ridge Council 551                    3008 Woodruff Rd                                            Simpsonville, SC 29681‐4810                                                                                First Class Mail
Chartered Organization         Clear Spring Scouting Assoc                               Mason Dixon Council 221                   P.O. Box 245                                                Clear Spring, MD 21722‐0245                                                                                First Class Mail
Chartered Organization         Clear Springs Pto                                         Northern Star Council 250                 5701 County Rd 101                                          Minnetonka, MN 55345‐5022                                                                                  First Class Mail
Chartered Organization         Clearfield Community Church                               Trapper Trails 589                        200 S 500 E                                                 Clearfield, UT 84015                                                                                       First Class Mail
Chartered Organization         Clearfork Baptist Church                                  Muskingum Valley Council, Bsa 467         72998 Broadhead Rd                                          Kimbolton, OH 43749‐9781                                                                                   First Class Mail
Voting Party                   Clearing United Methodist                                 Attn: Amos N Oladipo                      1000 Central Ave                                            Oak Lawn, IL 60453                                                       oladipoamos@yahoo.com             Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clearlake Police Dept                                     Mt Diablo‐Silverado Council 023           14050 Olympic Dr                                            Clearlake, CA 95422‐8801                                                                                   First Class Mail
Chartered Organization         Clearview Elementary School PTA                           National Capital Area Council 082         12635 Builders Rd                                           Herndon, VA 20170‐2991                                                                                     First Class Mail
Chartered Organization         Clearview Medical Explorers                               Northeast Georgia Council 101             2151 W Spring St                                            Monroe, GA 30655‐3202                                                                                      First Class Mail
Voting Party                   Clearview Umc                                             c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bardley.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Clearview United Methodist Church                         Attn: Anne Fisher                         1733 Massillon Rd                                           Akron, OH 44312                                                          afisher1023@att.net               Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Clearview Utd Methodist Ch                                Mens' Fellowship                          4515 38th Ave N                                             St Petersburg, FL 33713‐1126                                                                               First Class Mail
Chartered Organization         Clearwater Church Of The Nazarine                         Quivira Council, Bsa 198                  529 E Ross St                                               Clearwater, KS 67026‐7829                                                                                  First Class Mail
Chartered Organization         Clearwater Creek Ptc                                      Heart of America Council 307              930 S Clearwater Creek Dr                                   Olathe, KS 66061‐5260                                                                                      First Class Mail
Chartered Organization         Clearwater Neighborhood Family Center                     Greater Tampa Bay Area 089                900 N Martin Luther King Jr Ave                             Clearwater, FL 33755‐3344                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                             Page 68 of 442
                                                                                    Case 20-10343-LSS                                               Doc 8171                                   Filed 01/06/22                                       Page 84 of 457
                                                                                                                                                                            Exhibit B
                                                                                                                                                                             Service List
                                                                                                                                                                      Served as set forth below

        Description                                                        Name                                                                                           Address                                                                                                      Email              Method of Service
Voting Party                   Clearwater United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200         Tampa, FL 33602               erice@bradley.com                Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Clearwater United Methodist Church                          130 N First                                     Clearwater, KS 67026                                                                                                                                First Class Mail
Voting Party                   Cleburne First Umc ‐ Cleburne                               c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200         Tampa, FL 33602               erice@bradley.com                Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Cleburne First Umc ‐ Cleburne                               1300 W Westhill Dr                              Cleburne, TX 79033                                                                                                                                  First Class Mail
Chartered Organization         Cleburne Police Dept                                        Longhorn Council 662                            302 W Henderson St                                  Cleburne, TX 76033‐5476                                                                         First Class Mail
Chartered Organization         Cleghorn Lions Club                                         Chippewa Valley Council 637                     S10414 Cty Rd I                                     Eleva, WI 54738                                                                                 First Class Mail
Chartered Organization         Clelian Heights For Exceptional Children                    Westmoreland Fayette 512                        135 Clelian Heights Ln                              Greensburg, PA 15601‐6665                                                                       First Class Mail
Chartered Organization         Clement Friends Of Pack Troop 145                           Three Harbors Council 636                       3666 S Clement Ave                                  Milwaukee, WI 53207‐3566                                                                        First Class Mail
Chartered Organization         Clements Circle Civic Assoc                                 Great Lakes Fsc 272                             11181 Haller St                                     Livonia, MI 48150‐3142                                                                          First Class Mail
Chartered Organization         Clements Circle Civic Assoc                                 Attn: Lynn Fenton                               9919 Deering St                                     Livonia, MI 48150‐3225                                                                          First Class Mail
Chartered Organization         Clemmons Civic Club                                         Old Hickory Council 427                         2870 Middlebrook Dr                                 Clemmons, NC 27012                                                                              First Class Mail
Voting Party                   Clemmons United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200         Tampa, FL 33602               erice@bradley.com                Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Clemmons Utd Methodist Church                               Old Hickory Council 427                         Hwy 158                                             Clemmons, NC 27012                                                                              First Class Mail
Voting Party                   Clemson United Methodist Church                             Attn: Anne Eldridge                             300 Frontage Rd                                     Clemson, SC 29631                                              aphageman@bellsouth.net          Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Clemson Utd Methodist Church                                Blue Ridge Council 551                          P.O. Box 590                                        Clemson, SC 29633‐0590                                                                          First Class Mail
Voting Party                   Clendenin Umc                                               Attn: Treasurer                                 P.O. Box 686                                        Clendenin, WV 25045                                            Lisa.stilgenbauer@yahoo.com      Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Clendenin Utd Methodist Church                              Buckskin 617                                    121 Koontz Ave                                      Clendenin, WV 25045                                                                             First Class Mail
Chartered Organization         Cleora Group Of Citizens                                    Cherokee Area Council 469 469                   32281 Pebble Bch                                    Afton, OK 74331‐5632                                                                            First Class Mail
Chartered Organization         Clermont Family Ymca                                        Dan Beard Council, Bsa 438                      2075 James E Sauls Sr Dr                            Batavia, OH 45103‐3256                                                                          First Class Mail
Chartered Organization         Clermont Lions Club                                         Crossroads of America 160                       P.O. Box 34100                                      Indianapolis, IN 46234‐0100                                                                     First Class Mail
Chartered Organization         Cleveland Church Of Christ                                  Twin Valley Council Bsa 283                     P.O. Box 307                                        Cleveland, MN 56017‐0307                                                                        First Class Mail
Chartered Organization         Cleveland Community College                                 Piedmont Council 420                            137 S Post Rd                                       Shelby, NC 28152‐6224                                                                           First Class Mail
Chartered Organization         Cleveland Community Partners                                Cimarron Council 474                            1401 W Pawnee St                                    Cleveland, OK 74020‐3033                                                                        First Class Mail
Chartered Organization         Cleveland County Arts Council                               Piedmont Council 420                            111 S Washington St                                 Shelby, NC 28150‐4626                                                                           First Class Mail
Chartered Organization         Cleveland County Sheriffs Office                            Piedmont Council 420                            100 Justice Pl                                      Shelby, NC 28150‐4638                                                                           First Class Mail
Chartered Organization         Cleveland Elementary School                                 Northern New Jersey Council, Bsa 333            388 Bergen St                                       Newark, NJ 07103‐2232                                                                           First Class Mail
Voting Party                   Cleveland First United Methodist Church                     Attn: Marcia Houser                             318 S Court St                                      Cleveland, MS 38732                                            fumc.marcia@gmail.com            Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Cleveland Heights Christian Church                          Greater Niagara Frontier Council 380            4774 Union Rd                                       Cheektowaga, NY 14225‐1844                                                                      First Class Mail
Chartered Organization         Cleveland Hill Fd Board Fire Comm                           Greater Niagara Frontier Council 380            440 Cleveland Dr                                    Buffalo, NY 14225‐1010                                                                          First Class Mail
Chartered Organization         Cleveland Lions Club                                        Bay‐Lakes Council 635                           1410 Wview St                                       Cleveland, WI 53015                                                                             First Class Mail
Chartered Organization         Cleveland Parents Of Cubs                                   Long Beach Area Council 032                     5922 Deerford St                                    Lakewood, CA 90713‐2431                                                                         First Class Mail
Chartered Organization         Cleveland Police Dept‐Community                             Lake Erie Council 440                           1300 Ontario St                                     Cleveland, OH 44113‐1603                                                                        First Class Mail
Voting Party                   Cleveland United Methodist Church                           Attn: Wendy Marie Morrison                      P.O. Box 188                                        Cleveland, NY 13042                                            wendymorrison.church@yahoo.com   Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Cleveland United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200         Tampa, FL 33602               erice@bradley.com                Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Cleveland United Methodist Church                           Attn: Steven Smith                              73 Bridge St                                        Cleveland, NY 13042                                            clevelandumc@aol.com             Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Cleveland United Methodist Church 112 E Kytle St            c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200         Tampa, FL 33602               erice@bradley.com                Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Cleveland Utd Methodist Church                              Northeast Georgia Council 101                   P.O. Box 1226                                       Cleveland, GA 30528‐0023                                                                        First Class Mail
Chartered Organization         Cleveland Vfw Post 4800                                     Chickasaw Council 558                           Highway 61 N                                        Cleveland, MS 38732                                                                             First Class Mail
Chartered Organization         Cleveland Ward                                              Church of Jesus Christ Latter‐Day Saints        50472 S 36700 Rd                                    Cleveland, OK 74020‐6564                                                                        First Class Mail
Chartered Organization         Clever Utd Methodist Church                                 Ozark Trails Council 306                        P.O. Box 66                                         Clever, MO 65631‐0066                                                                           First Class Mail
Chartered Organization         Clewiston Police Dept                                       Gulf Stream Council 085                         300 S Berner Rd                                     Clewiston, FL 33440‐3406                                                                        First Class Mail
Chartered Organization         Clifford Davis Elementary ‐ Gifw                            Longhorn Council 662                            4300 Campus Dr                                      Fort Worth, TX 76119‐5534                                                                       First Class Mail
Chartered Organization         Clifford Garbison Al Post 356                               Lasalle Council 165                             P.O. Box 84                                         Hamlet, IN 46532‐0084                                                                           First Class Mail
Chartered Organization         Clifford J Fulmer Post 92                                   Leatherstocking 400                             8083 State Route 20                                 Waterville, NY 13480‐2211                                                                       First Class Mail
Chartered Organization         Clifton Elks Lodge 1569                                     Northern New Jersey Council, Bsa 333            775 Clifton Ave                                     Clifton, NJ 07013‐1836                                                                          First Class Mail
Chartered Organization         Clifton Forge Presbyterian Church                           Stonewall Jackson Council 763                   544 Church St                                       Clifton Forge, VA 24422‐1113                                                                    First Class Mail
Chartered Organization         Clifton Lions Club                                          Prairielands 117                                100 S Maple St                                      Clifton, IL 60927                                                                               First Class Mail
Chartered Organization         Clifton Lions Club                                          National Capital Area Council 082               P.O. Box 41                                         Clifton, VA 20124‐0041                                                                          First Class Mail
Voting Party                   Clifton Lutheran Church                                     Attn: James D Bixby                             150 Humphrey St                                     Marblehead, MA 01945                                           infoclc@verizon.net              Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Clifton Park Lodge 2466 Bpoe ‐ Elks                         Attn: Mr Michael Bloss                          P.O. Box 220                                        Clifton Park, NY 12065‐0220                                                                     First Class Mail
Chartered Organization         Clifton Presbyterian Church                                 National Capital Area Council 082               12748 Richards Ln                                   Clifton, VA 20124                                                                               First Class Mail
Chartered Organization         Clifton Springs Rotary Club                                 Seneca Waterways 397                            14 Hillside Dr                                      Clifton Springs, NY 14432‐9371                                                                  First Class Mail
Voting Party                   Clifton Springs United Methodist Church                     Attn: John Mueller                              1381 King Rd                                        Clifton Springs, NY 14432                                      johnmuellerwbf@gmail.com         Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Clifton United Methodist Church                             Attn: Mike Hartup                               P.O. Box 172                                        Clifton, TN 38425                                              michaelhartup@att.net            Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Clifton United Methodist Church                             Attn: Jackie Brewton                            305 W Pillow St                                     Clifton, TN 38425                                              jackie@garret.net                Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Clifton Utd Methodist Church                                Atlanta Area Council 092                        4095 Stonewall Tell Rd                              College Park, GA 30349‐1406                                                                     First Class Mail
Chartered Organization         Cliftondale Congregational Church                           The Spirit of Adventure 227                     50 Essex St                                         Saugus, MA 01906‐4310                                                                           First Class Mail
Voting Party                   Cliftondale UMC (4095 Stonewall Tell, College Park, GA)     c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200         Tampa, FL 33602               erice@bradley.com                Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Climax United Methodist Church                              Attn: Donna Smith                               133 E Maple                                         Climax, MI 49034                                               cxssumc@gmail.com                Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Climax United Methodist Church                              Donna Smith                                     133 East Maple                                      Climax, MI 49034                                                                                First Class Mail
Chartered Organization         Clinch County Lions Club                                    South Georgia Council 098                       4411 Fargo Hwy                                      Homerville, GA 31634‐5346                                                                       First Class Mail
Voting Party                   Clinch County Lions Club                                    Attn: Jeff Helms                                P.O. Box 537                                        Homerville, GA 31634                                           tth@helmslaw.com                 Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Clinch School Teachers Assoc                                Sequoyah Council 713                            1540 Clinch Valley Rd                               Sneedville, TN 37869‐2015                                                                       First Class Mail
Voting Party                   Clinton Avenue United Methodist Church                      Attn: Joy Macvane                               122 Clinton Ave                                     Kingston, NY 12401                                             joy.macvane@nyac‐umc.com         Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Clinton Chapel Ame Zion Church                              Tukabatchee Area Council 005                    4560 Narrow Lane Rd                                 Montgomery, AL 36116‐2956                                                                       First Class Mail
Chartered Organization         Clinton Church Of Christ                                    Quapaw Area Council 018                         184 3rd St                                          Clinton, AR 72031‐7013                                                                          First Class Mail
Chartered Organization         Clinton Church Of Christ                                    Illowa Council 133                              210 N 13th St                                       Clinton, IA 52732‐4822                                                                          First Class Mail
Chartered Organization         Clinton County Resa                                         Water and Woods Council 782                     1013 S US Hwy 27, Ste A                             Saint Johns, MI 48879‐2423                                                                      First Class Mail
Voting Party                   Clinton Ct United Methodist Church                          12 Commerce St                                  Clinton, CT 06413                                                                                                                                   First Class Mail
Chartered Organization         Clinton Elks Lodge 1034                                     Heart of America Council 307                    115 W Franklin St                                   Clinton, MO 64735‐2007                                                                          First Class Mail
Voting Party                   Clinton First United Methodist Church                       Attn: Gwenda Bizzle                             210 S Washtington St                                Clinton, KY 42031                                              fusumcoffice02@att.net           Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Clinton First United Methodist Church                       First United Methodist Church ‐ Treasurer       1001 Frisco Ave                                     Clinton, OK 73601                                              clintonfumc@cableone.net         Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Clinton Kiwanis Club                                        Blue Ridge Council 551                          P.O. Box 454                                        Clinton, SC 29325‐0454                                                                          First Class Mail
Chartered Organization         Clinton Massie PTO                                          Tecumseh 439                                    2556 Lebanon Rd                                     Clarksville, OH 45113‐8201                                                                      First Class Mail
Chartered Organization         Clinton Moose Lodge 363                                     Illowa Council 133                              1936 Lincoln Way                                    Clinton, IA 52732‐7218                                                                          First Class Mail
Chartered Organization         Clinton P Russell Elementary PTA                            Circle Ten Council 571                          3031 S Beckley Ave                                  Dallas, TX 75224‐3501                                                                           First Class Mail
Voting Party                   Clinton Presbyterian Church                                 Attn: Paul N Morrissette                        91 Center St                                        Clinton, NJ 08809‐1413                                         pmorrissette@gmail.com           Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Clinton Presbyterian Church                                 91 Center St                                    Clinton, NJ 08809‐1413                                                                                             pmorrissette@gmail.com           Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Clinton Twp Volunteer Fire Dept                             Black Swamp Area Council 449                    North S R 101                                       Tiffin, OH 44883                                                                                First Class Mail
Voting Party                   Clinton United Methodist Church                             Attn: Jerry A. Johnson                          32 Manorhill Dri                                    P.O. Box 571                     Clinton, IL 61727             jajlawyer1@gmail.com             Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Clinton United Methodist Church                             Attn: The Rev Darrell W Howard                  308 E Main St                                       Clinton, IL 61727                                              darrell.howard@mchsi.com         Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Clinton United Methodist Church                             Attn: Michael H Terrell                         105 Utica Rd                                        Clinton, NY 13323                                              cumc@centralny.twcbc.com         Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Clinton United Methodist Church                             Attn: Kevin Augustus                            10700 Brandywine Rd                                 Clinton, MD 20735                                                                               First Class Mail
Chartered Organization         Clinton Utd Methodist Church                                Istrouma Area Council 211                       P.O. Box 148                                        Clinton, LA 70722‐0148                                                                          First Class Mail
Chartered Organization         Clinton Utd Presbyterian Church                             Laurel Highlands Council 527                    25 Wilson Rd                                        Clinton, PA 15026‐1798                                                                          First Class Mail
Chartered Organization         Clinton Ywca                                                Illowa Council 133                              317 7th Ave S                                       Clinton, IA 52732‐5635                                                                          First Class Mail
Chartered Organization         Clinton‐Fish & Game Assoc                                   Heart of New England Council 230                185 Lancaster Rd                                    Clinton, MA 01510                                                                               First Class Mail
Chartered Organization         Clinton‐Presbyterian Church                                 Heart of New England Council 230                169 Chestnut St                                     Clinton, MA 01510‐3610                                                                          First Class Mail
Chartered Organization         Clinton‐St John                                             Heart of New England Council 230                149 Chestnut St                                     Clinton, MA 01510‐3610                                                                          First Class Mail
Chartered Organization         Clintonville Ruritan Club                                   Buckskin 617                                    18918 Midland Trl W                                 Crawley, WV 24931‐9761                                                                          First Class Mail
Voting Party                   Clintwood United Methodist Church                           Attn: Harry D. Childress                        P.O. Box 494                                        Clintwood, VA 24228                                            harryd.childress@gmail.com       Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Clintwood Volunteer Fire Dept                               Sequoyah Council 713                            P.O. Box 455                                        Clintwood, VA 24228‐0455                                                                        First Class Mail
Chartered Organization         Clio Area Fire                                              Water and Woods Council 782                     3291 W Vienna Rd                                    Clio, MI 48420‐1344                                                                             First Class Mail
Chartered Organization         Clive Lions Club                                            Mid Iowa Council 177                            14822 Lakeview Dr                                   Clive, IA 50325‐7804                                                                            First Class Mail
Voting Party                   Clonmell ‐ Gibbsboro                                        c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200         Tampa, FL 33602               erice@bradley.com                Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Clonmell Umc                                                c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200         Tampa, FL 33602               erice@bradley.com                Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Clonmell Utd Methodist Church                               Garden State Council 690                        516 W Broad St                                      Gibbstown, NJ 08027‐1071                                                                        First Class Mail
Chartered Organization         Cloquet Gospel Tabernacle                                   Voyageurs Area 286                              1400 Washington Ave                                 Cloquet, MN 55720‐2451                                                                          First Class Mail
Chartered Organization         Close Walk Utd Methodist Church                             Cape Fear Council 425                           117 Village Rd Ne                                   Leland, NC 28451‐7413                                                                           First Class Mail
Chartered Organization         Closer Walk Utd Methodist Church                            Cape Fear Council 425                           117C Village Rd Ne                                  Leland, NC 28451                                                                                First Class Mail
Chartered Organization         Closter Lions Club                                          Northern New Jersey Council, Bsa 333            P.O. Box 206                                        Closter, NJ 07624‐0206                                                                          First Class Mail
Chartered Organization         Cloudcroft Utd Methodist Church                             Yucca Council 573                               P.O. Box 229                                        Cloudcroft, NM 88317‐0229                                                                       First Class Mail
Chartered Organization         Clough Pike Elementary PTO                                  Dan Beard Council, Bsa 438                      808 Clough Pike                                     Cincinnati, OH 45245‐1715                                                                       First Class Mail
Voting Party                   Clough United Methodist Church                              Attn: Paula W Stewart                           2010 Wolfangel Rd                                   Cincinnati, OH 45255                                           revpaulalou@att.net              Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Clover Fire Dept                                            Palmetto Council 549                            115 Bethel St                                       Clover, SC 29710‐1101                                                                           First Class Mail
Chartered Organization         Clover Hill Civic Assoc                                     National Capital Area Council 082               8122 Glendale Dr                                    Frederick, MD 21702‐2922                                                                        First Class Mail
Chartered Organization         Clover Presbyterian Church                                  Palmetto Council 549                            202 Kings Mountain St                               Clover, SC 29710‐1214                                                                           First Class Mail
Chartered Organization         Clover/Optimist/Presbyterian                                Palmetto Council 549                            202 Kings Mountain St                               Clover, SC 29710‐1214                                                                           First Class Mail
Chartered Organization         Cloverdale Fire Dept                                        Redwood Empire Council 041                      451 S Cloverdale Blvd                               Cloverdale, CA 95425‐4003                                                                       First Class Mail
Chartered Organization         Clovis Elks Lodge 2599                                      Sequoia Council 027                             535 Woodworth Ave                                   Clovis, CA 93612‐1014                                                                           First Class Mail
Chartered Organization         Clovis Fire Dept                                            Sequoia Council 027                             1233 5th St                                         Clovis, CA 93612‐1316                                                                           First Class Mail
Chartered Organization         Clovis Horseshow & Festival Assoc.                          Sequoia Council 027                             748 Rodeo Dr                                        Clovis, CA 93612‐1900                                                                           First Class Mail
Chartered Organization         Clovis Kiwanis                                              Sequoia Council 027                             2572 Trenton Ave                                    Clovis, CA 93619‐4249                                                                           First Class Mail
Chartered Organization         Clovis Masonic Lodge 417 F&Am                               Sequoia Council 027                             P.O. Box 417                                        Clovis, CA 93613‐0417                                                                           First Class Mail
Chartered Organization         Clovis Police Dept                                          Sequoia Council 027                             1033 5th St                                         Clovis, CA 93612‐1313                                                                           First Class Mail
Chartered Organization         Club Amigos Unidos Inc                                      Puerto Rico Council 661                         Hc 3 Box 33625                                      Aguada, PR 00602‐9770                                                                           First Class Mail
Chartered Organization         Club De Leones                                              Puerto Rico Council 661                         P.O. Box 2528                                       Juncos, PR 00777‐2528                                                                           First Class Mail
Chartered Organization         Club De Leones De Adjuntas                                  Puerto Rico Council 661                         P.O. Box 26                                         Adjuntas, PR 00601‐0026                                                                         First Class Mail
Chartered Organization         Club De Leones De Bayamon                                   Puerto Rico Council 661                         P.O. Box 6427                                       Bayamon, PR 00960‐5427                                                                          First Class Mail
Chartered Organization         Club De Leones De Cabo Rojo                                 Puerto Rico Council 661                         P.O. Box 665                                        Cabo Rojo, PR 00623‐0665                                                                        First Class Mail
Chartered Organization         Club De Leones De Rincon                                    Puerto Rico Council 661                         Hc 1 Box 4362                                       Rincon, PR 00677‐8741                                                                           First Class Mail
Chartered Organization         Club De Leones Isabela                                      Puerto Rico Council 661                         P.O. Box 551                                        Isabela, PR 00662‐0551                                                                          First Class Mail
Chartered Organization         Club De Leones Jeronimo                                     Puerto Rico Council 661                         Hc 2 Box 13379                                      Lajas, PR 00667‐9318                                                                            First Class Mail
Chartered Organization         Club De Leones Ponce                                        Puerto Rico Council 661                         P.O. Box 330045                                     Ponce, PR 00733‐0045                                                                            First Class Mail
Chartered Organization         Club Esteem                                                 Central Florida Council 083                     3316 Monroe St                                      Melbourne, FL 32901‐8059                                                                        First Class Mail
Chartered Organization         Club Rotario De San German                                  Puerto Rico Council 661                         Carr. 102 Km 20 Hm 6                                San German, PR 00683                                                                            First Class Mail
Chartered Organization         Club Rotario De Yauco                                       Puerto Rico Council 661                         Ave Rotaria Carr 127                                Yauco, PR 00698                                                                                 First Class Mail
Chartered Organization         Clyde Church Of Christ                                      Texas Trails Council 561                        206 S 4th St                                        Clyde, TX 79510                                                                                 First Class Mail
Chartered Organization         Clyde Civic Improvement Assoc                               Mt Diablo‐Silverado Council 023                 109 Wellington Ave                                  Concord, CA 94520‐1112                                                                          First Class Mail
Chartered Organization         Clyde Hamrick PTO                                           Greater St Louis Area Council 312               4524 E 4 Ridge Rd                                   Imperial, MO 63052                                                                              First Class Mail
Chartered Organization         Clyde Holy Name Society                                     Seneca Waterways 397                            45 W Dezeng St                                      Clyde, NY 14433                                                                                 First Class Mail
Voting Party                   Clyde L Smith                                               Attn: Treasurer Trentville Umc                  1711 Wisteria View Way                              Knoxville, TN 37914                                            csmith@trentvilleumc.org         Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Clyde Volunteer Fire Dept                                   Seneca Waterways 397                            P.O. Box 266                                        Clyde, NY 14433‐0266                                                                            First Class Mail
Voting Party                   Clymer United Methodist Church                              Attn: Kevin Lane Costner                        P.O. Box 264                                        Clymer, NY 14724                                               clymer.umc@gmail.com             Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Cmha Post Oak                                               Simon Kenton Council 441                        1383 Vida Way                                       Columbus, OH 43228‐3793                                                                         First Class Mail
Chartered Organization         Cmha Post Oak                                               Simon Kenton Council 441                        1383 Vida Way                                       Columbus, OH 43228‐3793                                                                         First Class Mail
Chartered Organization         Cmha Rosewind Resident Council                              Simon Kenton Council 441                        1400 Brooks Ave                                     Columbus, OH 43211‐2900                                                                         First Class Mail
Chartered Organization         Cmjoslin Post 618 American Legion                           Sam Houston Area Council 576                    P.O. Box 554                                        Willis, TX 77378‐0554                                                                           First Class Mail
Chartered Organization         Co‐ Alliance                                                Muskingum Valley Council, Bsa 467               975 Malinda St                                      Zanesville, OH 43701‐3856                                                                       First Class Mail
Chartered Organization         Coachmans Trail Homeowners Assoc                            Occoneechee 421                                 11412 Coachmans Way                                 Raleigh, NC 27614                                                                               First Class Mail
Chartered Organization         Coahoma Lions Club                                          Buffalo Trail Council 567                       P.O. Box 25                                         Coahoma, TX 79511‐0025                                                                          First Class Mail
Voting Party                   Coal City United Methodist Church                           6801 E Mcardle Rd                               Coal City, IL 60416                                                                                                revshuby@hotmail.com             Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Coal City Utd Methodist Church                              Rainbow Council 702                             6805 E Mcardle Rd                                   Coal City, IL 60416‐9701                                                                        First Class Mail
Chartered Organization         Coal Creek Canyon Improvement Assoc                         Denver Area Council 061                         P.O. Box 7331                                       Golden, CO 80403‐0103                                                                           First Class Mail
Chartered Organization         Coal Mountain Elementary PTO                                Northeast Georgia Council 101                   3455 Coal Mountain Dr                               Cumming, GA 30028‐3277                                                                          First Class Mail
Chartered Organization         Coal Valley Fire Protection District                        Illowa Council 133                              103 W 18th Ave                                      Coal Valley, IL 61240‐9337                                                                      First Class Mail
Voting Party                   Coalbush United Methodist, Mishawaka Indiana                Attn: Financial Secretary & Rev Grant Merrell   15977 Jackson Rd                                    Mishawaka, IN 46544                                            coalbush@yahoo.com               Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Coalbush Utd Methodist Church                               Lasalle Council 165                             15977 Jackson Rd                                    Mishawaka, IN 46544‐9228                                                                        First Class Mail
Chartered Organization         Coalgate Lions Club                                         Arbuckle Area Council 468                       1003 W Blair Ave                                    Coalgate, OK 74538‐1207                                                                         First Class Mail
Chartered Organization         Coalinga Police Dept                                        Sequoia Council 027                             270 N 6th St                                        Coalinga, CA 93210‐1908                                                                         First Class Mail
Chartered Organization         Coalition For Kids                                          Sequoyah Council 713                            2308 Watauga Rd                                     Johnson City, TN 37601‐2828                                                                     First Class Mail
Chartered Organization         Coalition For St Amant Area Scouting                        Istrouma Area Council 211                       12040 Niece Rd                                      Saint Amant, LA 70774‐3712                                                                      First Class Mail
Voting Party                   Coalville United Methodist Church                           Attn: Len Mcraney                               12298 Shorecrest Rd                                 Biloxi, MS 39532                                               coalvilleumc@cableone.net        Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Coalwood Community Umc                                      Attn: Carol De Haven                            88 Snakeroot Br, Rd                                 Welch, WV 24801                                                ctdehaven@outlook.com            Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Coan Park Recreation Center                                 Atlanta Area Council 092                        1530 Woodbine Ave SE                                Atlanta, GA 30317‐1900                                                                          First Class Mail
Chartered Organization         Coast Christian Fellowship                                  Greater Los Angeles Area 033                    4000 Pacific Coast Hwy                              Torrance, CA 90505‐5712                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                             Page 69 of 442
                                                                                    Case 20-10343-LSS                                           Doc 8171                                        Filed 01/06/22                                               Page 85 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                         Name                                                                                           Address                                                                                                                          Email                       Method of Service
Voting Party                   Coast Episcopal Schools, Inc Formerly Christ Episcopal Day   Attn: Marcus M Wilson                      190 E Capitol St, Ste 650                                Jackson, MS 39201                                                                   mwilson@blswlaw.com                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Coast Episcopal Schools, Inc Formerly Christ Episcopal Day   Attn: George Riviere                       912 S Beach Blvd                                         Bay St Louis, MS 39520                                                              georgeriviere@bellsouth.net              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Coast Guard Auxiliary                                        Middle Tennessee Council 560               600 Dr Martin Luther King Pl                             Louisville, KY 40202‐2239                                                                                                    First Class Mail
Voting Party                   Coastal Georgia Council, Inc.                                Attn: Wade W Herring, II                   200 E St Julian St                                       P.O. Box 9848                        Savannah, GA 31412                             wherring@huntermaclean.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Coastal Shores Baptist Church                                Coastal Carolina Council 550               Dorchester Rd                                            North Charleston, SC 29418                                                                                                   First Class Mail
Chartered Organization         Coastline Realty Services Inc                                Greater Tampa Bay Area 089                 10366 Kamble Ridge Ct                                    Weeki Wachee, FL 34613                                                                                                       First Class Mail
Chartered Organization         Coatesville Commty                                           Education Foundation                       P.O. Box 1060                                            Coatesville, PA 19320‐0126                                                                                                   First Class Mail
Voting Party                   Coats Missionary Baptist Church                              Attn: Richard D Sparkman                   32 W Williams St                                         P.O. Box 1687                        Angier, NC 27501                               rds@sparkmanlaw.com                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Coats Missionary Baptist Church                              Attn: Richard D. Sparkman                  32 West Williams St                                      P.O. Box 1687                        Angier, NC 27501                               rds@sparkmanlaw.com                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Coats United Methodist Church                                Attn: Paul Chadwick Cecil                  P.O. Box 388                                             Coats, NC 27521                                                                     cchadwick@nccumc.org                     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cobb County Fire Dept                                        Atlanta Area Council 092                   1595 County Services Pkwy Sw                             Marietta, GA 30008‐4007                                                                                                      First Class Mail
Chartered Organization         Cobb County Police Dept                                      Atlanta Area Council 092                   2245 Callaway Rd SW                                      Marietta, GA 30008‐8505                                                                                                      First Class Mail
Chartered Organization         Cobb Williams Nehiba Post 222                                Voyageurs Area 286                         6483 Mccormack Lake Rd                                   Chisholm, MN 55719‐8527                                                                                                      First Class Mail
Chartered Organization         Cobblestone Farm Assoc                                       Southern Shores Fsc 783                    2781 Packard St                                          Ann Arbor, MI 48108‐3236                                                                                                     First Class Mail
Chartered Organization         Cobleskill Fire Dept                                         Leatherstocking 400                        610 E Main St                                            Cobleskill, NY 12043‐3820                                                                                                    First Class Mail
Voting Party                   Cobleskill United Methodist Church                           Attn: Anna Blinn Cole                      107 Chapel St, Ste 1                                     Cobleskill, NY 12043                                                                pastor.anna.cole@gmail.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cobleskill United Methodist Church                           Attn: Pastor Anna Blinn Cole               107 Chapel St, Ste 1                                     Cobleskill, NY 12043                                                                cobyumc107@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cobleskill Utd Methodist Church                              Leatherstocking 400                        109 Chapel St                                            Cobleskill, NY 12043                                                                                                         First Class Mail
Voting Party                   Coburg United Methodist                                      c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Coc Metro Church                                             Longhorn Council 662                       28691 Harper Rd                                          Prosper, TX 75078‐5000                                                                                                       First Class Mail
Voting Party                   Coca Cola Refreshments                                       South Dade Coca‐Cola                       P.O. Box 403390                                          Atlanta, GA 30384‐3390                                                                                                       First Class Mail
Chartered Organization         Co‐Cathedral Of St Joseph                                    Pony Express Council 311                   519 N 10th St                                            Saint Joseph, MO 64501‐1820                                                                                                  First Class Mail
Chartered Organization         Co‐Cathedral Of St Theresa                                   Aloha Council, Bsa 104                     712 N School St                                          Honolulu, HI 96817‐3098                                                                                                      First Class Mail
Chartered Organization         Cochise Elementary School Parents                            Grand Canyon Council 010                   9451 N 84th St                                           Scottsdale, AZ 85258‐1836                                                                                                    First Class Mail
Chartered Organization         Cochran Brothers Roofing Inc                                 Greater Tampa Bay Area 089                 121 Brittany Ln                                          Sebring, FL 33875‐5797                                                                                                       First Class Mail
Chartered Organization         Cochran Masonic Lodge                                        Central Georgia Council 096                Masonic Dr                                               Cochran, GA 31014                                                                                                            First Class Mail
Voting Party                   Cochranton United Methodist Church (89067)                   c/o Bentz Law Firm                         Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200           Pittsburgh, PA 15228                           lspagnolo@bentzlaw.com                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cockrell Hill Utd Methodist Church                           Circle Ten Council 571                     4031 W Clarendon Dr                                      Dallas, TX 75211‐4917                                                                                                        First Class Mail
Voting Party                   Cockrell Printing Co                                         c/o Cockrell Enovation                     Attn: Jennifer Salazar                                   218 W Broadway Ave                   Fort Worth, TX 76104                           mloizos@cockrellenovations.com           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cocoa Beach Elks Lodge 2387                                  Central Florida Council 083                175 N Brevard Ave                                        Cocoa Beach, FL 32931‐2931                                                                                                   First Class Mail
Chartered Organization         Cocoa Presbyterian Church                                    Central Florida Council 083                1404 Dixon Blvd                                          Cocoa, FL 32922‐6412                                                                                                         First Class Mail
Chartered Organization         Coconut Palm K‐8 Academy                                     South Florida Council 084                  24400 SW 124th Ave                                       Homestead, FL 33032‐4202                                                                                                     First Class Mail
Voting Party                   Codemantra Us, LLC                                           101 Federal St, Ste 1900                   Boston, MA 02110‐1861                                                                                                                                                                 First Class Mail
Chartered Organization         Cody Elementary School PTA                                   Illowa Council 133                         2100 Territorial Rd                                      Leclaire, IA 52753‐9216                                                                                                      First Class Mail
Chartered Organization         Coeburn Kiwanis Club                                         Sequoyah Council 713                       7147 Caney Ridge Rd                                      Coeburn, VA 24230‐5111                                                                                                       First Class Mail
Chartered Organization         Coequyt Plumbing And Heating                                 Sioux Council 733                          409 E Lyon St                                            Minneota, MN 56264‐9288                                                                                                      First Class Mail
Chartered Organization         Coeur D'Alene Police Dept                                    Inland Nwest Council 611                   3818 N Schreiber Way                                     Coeur D Alene, ID 83815‐8362                                                                                                 First Class Mail
Chartered Organization         Coeur D'Alene Shriner Club                                   Inland Nwest Council 611                   P.O. Box 393                                             Coeur D Alene, ID 83816‐0393                                                                                                 First Class Mail
Voting Party                   Coeur D'Arlene Community Methodist Church                    c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cof Training Services                                        Heart of America Council 307               P.O. Box 459                                             Ottawa, KS 66067‐0459                                                                                                        First Class Mail
Chartered Organization         Coffee County Sheriff Office                                 Middle Tennessee Council 560               76 County Jail Ln                                        Manchester, TN 37355‐4431                                                                                                    First Class Mail
Chartered Organization         Cohasset Rotary Club                                         Mayflower Council 251                      P.O. Box 36                                              Cohasset, MA 02025‐0036                                                                                                      First Class Mail
Firm                           Cohen & Malad, LLP                                           Gregory L. Laker; Amina A. Thomas          One Indiana Square Ste 1400                              Indianapolis, IN 46204                                                              glaker@cohenandmalad.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cohocton Fire Dept                                           Five Rivers Council, Inc 375               43 Maple Ave                                             Cohocton, NY 14826                                                                                                           First Class Mail
Voting Party                   Coker United Methodist Church                                c/o Gunn Lee & Cave, PC                    Attn: Ted D Lee                                          8023 Vantage Dr, Ste 1500            San Antonio, TX 78230                          ted.lee@gunn‐lee.com                     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Coker Utd Methodist Church                                   Alamo Area Council 583                     231 E North Loop Rd                                      San Antonio, TX 78216‐1812                                                                                                   First Class Mail
Voting Party                   Coker's Chapel United Methodist Church                       Attn: Margaret Butler                      3042 Jeff Davis School Rd                                Meridian, MS 39301                                                                  cbutler1346@comcast.net                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cokes Chapel Utd Methodist Church                            Flint River Council 095                    4096 Lower Fayetteville Rd                               Sharpsburg, GA 30277‐3167                                                                                                    First Class Mail
Voting Party                   Cokesbury Memorial United Methodist Church                   Attn: Christel Hess                        P.O. Box 85                                              Abingdon, MD 21009                                                                  CokesburyMemorial@gmail.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cokesbury Methodist Church                                   Occoneechee 421                            P.O. Box 280                                             Stedman, NC 28391‐0280                                                                                                       First Class Mail
Voting Party                   Cokesbury Umc Johnson City Campus                            110 Mary St                                Johnson City, TN 37615                                                                                                                       khingers@cokesbury.tv                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cokesbury Umc, Inc                                           Attn: Carter Cross                         Cokesbury Church                                         9919 Kingston Pike                   Knoxville, TN 37922                            ccross@cokesbury.tv                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cokesbury United Methodist 1801 Nw 65Th Ave                  c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cokesbury United Methodist Church                            Attn: Pastor ‐ Tracy Sexton                2440 S Cokesbury Rd                                      Henderson, NC 27537                                                                 tclayton@nccumc.org                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cokesbury United Methodist Church                            Attn: Carolyn Peck, Chair of Trustees      5725 N 9th Ave                                           Pensacola, FL 32566                                                                 mina@cokesburychurch.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cokesbury United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cokesbury United Methodist Church                            Attn: Russell Keller (Or Current Chair)    4990 Dorchester Rd                                       North Charleston, SC 29418                                                          cokesburysecretary@comcast.net           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cokesbury Utd Methodist Church                               Mecklenburg County Council 415             6701 Idlewild Rd                                         Charlotte, NC 28212‐0592                                                                                                     First Class Mail
Chartered Organization         Cokesbury Utd Methodist Church                               Great Smoky Mountain Council 557           9919 Kingston Pike                                       Knoxville, TN 37922‐6923                                                                                                     First Class Mail
Chartered Organization         Cokesbury Utd Methodist Church                               Occoneechee 421                            7536 Clinton Rd                                          Stedman, NC 28391‐9064                                                                                                       First Class Mail
Chartered Organization         Cokesbury Utd Methodist Men                                  Gulf Coast Council 773                     5725 N 9th Ave                                           Pensacola, FL 32504‐8920                                                                                                     First Class Mail
Chartered Organization         Col. Lowell H Smith Vfw Post 10015                           Catalina Council 011                       4727 S 12th Ave                                          Tucson, AZ 85714‐2406                                                                                                        First Class Mail
Chartered Organization         Colbert Methodist Church                                     Circle Ten Council 571                     P.O. Box 1148                                            Colbert, OK 74733‐1148                                                                                                       First Class Mail
Chartered Organization         Colbert School PTO                                           Inland Nwest Council 611                   4526 E Greenbluff Rd                                     Colbert, WA 99005‐9654                                                                                                       First Class Mail
Voting Party                   Colbert United Methodist Church                              P.O. Box 1148                              Colbert, OK 74733                                                                                                                            methodistchurchcolbert@yahoo.com;        Email
                                                                                                                                                                                                                                                                                    colbertunitedmethodistchurch@yahoo.com   First Class Mail
Chartered Organization         Colby Lions Club                                             Samoset Council, Bsa 627                   312 N 2nd St                                             Colby, WI 54421‐9606                                                                                                         First Class Mail
Voting Party                   Colby United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Colchester Community Umc                                     Attn: Dora Janeway Odarenko                P.O. Box 403                                             Downsville, NY 13755                                                                djodarenko@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Colchester Community United Methodist Church                 Attn: Antoinette Vessey                    P.O. Box 324                                             Downsville, NY 13755                                                                djodarenko@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Colchester Federated Church                                  Connecticut Rivers Council, Bsa 066        60 Main St                                               Colchester, CT 06415‐2953                                                                                                    First Class Mail
Chartered Organization         Colchester First Christian Church                            Illowa Council 133                         201 N Hun St                                             Colchester, IL 62326‐1121                                                                                                    First Class Mail
Chartered Organization         Colchester Lions Club                                        Green Mountain 592                         156 Meadow Dr                                            Colchester, VT 05446‐6423                                                                                                    First Class Mail
Chartered Organization         Cold Spg Elem Home & Sch Assoc                               Washington Crossing Council 777            4150 Durham Rd                                           Doylestown, PA 18902‐1377                                                                                                    First Class Mail
Voting Party                   Cold Spring United Methodist Church                          Attn: Micah Coleman Campbell               216 Main St                                              Cold Spring, NY 10516                                                               micah.colemancampbell@nyac‐umc.com       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cold Spring/South Highland United Methodist Church           Attn: Micah Coleman Campbell               216 Main St                                              Cold Spring, NY 10516                                                               micah.colemancampbell@nyac‐umc.com       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Cold Springs                                                 c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                                erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Cold Springs Academy After School                            Crossroads of America 160                  3650 Cold Spring Rd                                      Indianapolis, IN 46222‐1965                                                                                                  First Class Mail
Chartered Organization         Cold Springs Methodist Church                                Central N Carolina Council 416             2550 Cold Springs Rd E                                   Concord, NC 28025‐8004                                                                                                       First Class Mail
Chartered Organization         Cold Springs Presbyterian Church                             Sequoyah Council 713                       280 Cold Spring Rd                                       Bristol, TN 37620                                                                                                            First Class Mail
Chartered Organization         Cold Springs Utd Methodist Church                            Central N Carolina Council 416             2550 Cold Springs Rd E                                   Concord, NC 28025‐8004                                                                                                       First Class Mail
Chartered Organization         Cold Springs Valley Church                                   Nevada Area Council 329                    P.O. Box 61447                                           Reno, NV 89506‐0030                                                                                                          First Class Mail
Chartered Organization         Cold Springs Volunteer Fire Dept                             Nevada Area Council 329                    17505 US Hwy 395 N                                       Reno, NV 89508‐8015                                                                                                          First Class Mail
Chartered Organization         Cold Water School PTA                                        Greater St Louis Area Council 312          1105 Wiethaupt Rd                                        Florissant, MO 63031‐1944                                                                                                    First Class Mail
Chartered Organization         Colden Volunteer Fire Co                                     Greater Niagara Frontier Council 380       8448 Gutekunst Rd                                        Colden, NY 14033‐9716                                                                                                        First Class Mail
Chartered Organization         Coldenham Fire Dept                                          Hudson Valley Council 374                  Coldenham Rd                                             Walden, NY 12586                                                                                                             First Class Mail
Voting Party                   Coldspring United Methodist Church                           Attn: Pastor Dan Darby Or Current Pastor   1 Cemetery Rd                                            Coldspring, TX 77331                                                                coldspringum@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Coldspring Utd Methodist Men                                 Three Rivers Council 578                   1 Cemetery Rd                                            Coldspring, TX 77331‐5301                                                                                                    First Class Mail
Chartered Organization         Coldwater Kiwanis Club                                       Southern Shores Fsc 783                    132 N Clay St                                            Coldwater, MI 49036‐1330                                                                                                     First Class Mail
Chartered Organization         Coldwell Banker Farm & Home Realty                           Utah National Parks 591                    1340 W Hwy 40                                            Vernal, UT 84078‐4203                                                                                                        First Class Mail
Chartered Organization         Cole Arts & Sciences Academy                                 Denver Area Council 061                    3240 N Humboldt St                                       Denver, CO 80205‐3934                                                                                                        First Class Mail
Chartered Organization         Cole Canoe Base Staff                                        Great Lakes Fsc 272                        1356 E Greenwood Rd                                      Alger, MI 48610‐9349                                                                                                         First Class Mail
Voting Party                   Coleen Ann Wierman                                           P.O. Box 395                               Kingsley, MI 49649                                                                                                                                                                    First Class Mail
Chartered Organization         Colegio Catolico La Merced                                   Puerto Rico Council 661                    Calle Lucia Vazquez                                      Cayey, PR 00736                                                                                                              First Class Mail
Chartered Organization         Colegio Creativo De Pr                                       Puerto Rico Council 661, Ste 256           Ave San Claudio 352                                      Rio Piedras, PR 00924                                                                                                        First Class Mail
Chartered Organization         Colegio Evangelico Capitan Correa                            Puerto Rico Council 661                    Bo Carrizales                                            Carr 493 Km 0.2                      Hatillo, PR 00659                                                                       First Class Mail
Chartered Organization         Colegio Marista                                              Puerto Rico Council 661                    Alturas De Torrimar                                      Calle Marcelino Champagnat           Guaynabo, PR 00969                                                                      First Class Mail
Chartered Organization         Colegio Marista El Salvador                                  Puerto Rico Council 661                    Carr 2 Km 45.5                                           Manati, PR 00674                                                                                                             First Class Mail
Chartered Organization         Colegio Mater Salvatoris                                     Puerto Rico Council 661                    Carr 838 Km 4.8                                          Barrio Monacillos                    Rio Piedras, PR 00926                                                                   First Class Mail
Chartered Organization         Colegio Mercedes Morales Inc                                 Puerto Rico Council 661                    Urbanizacion Victor Braegger                             Guaynabo, PR 00966                                                                                                           First Class Mail
Chartered Organization         Colegio Nuestra Senora                                       Del Perpetuo Socorro                       Puerto Rico Council 661                                  Ave Tejas                            908 Km 20                  Humacao, Pr 00791                                            First Class Mail
Chartered Organization         Colegio Nuestra Senora Del Carmen                            Puerto Rico Council 661                    Esquina Padre Francisco Lopez                            Avenida Doctor Susoni                Hatillo, PR 00659                                                                       First Class Mail
Chartered Organization         Colegio Nuestra Sra Del Perpetuo Socorro                     Puerto Rico Council 661                    P.O. Box 9107                                            Humacao, PR 00792‐9107                                                                                                       First Class Mail
Chartered Organization         Colegio Perpetuo Socorro                                     Puerto Rico Council 661                    Bo Coqui Carr 3                                          Salinas, PR 00704                                                                                                            First Class Mail
Chartered Organization         Colegio Ponceno                                              Puerto Rico Council 661                    1900 Carr 14 63                                          Coto Laurel, PR 00780‐2147                                                                                                   First Class Mail
Chartered Organization         Colegio Radians Inc                                          Puerto Rico Council 661                    P.O. Box 371298                                          Cayey, PR 00737‐1298                                                                                                         First Class Mail
Chartered Organization         Colegio Sagrado Corazon                                      Puerto Rico Council 661                    215 Calle Palma Real                                     San Juan, PR 00927‐4826                                                                                                      First Class Mail
Chartered Organization         Colegio San Agustin                                          Puerto Rico Council 661                    P.O. Box 342                                             Boqueron, PR 00622‐0342                                                                                                      First Class Mail
Chartered Organization         Colegio San Carlos Borromeo                                  Puerto Rico Council 661                    P.O. Box 1009                                            Aguadilla, PR 00605‐1009                                                                                                     First Class Mail
Chartered Organization         Colegio San Ignacio                                          Puerto Rico Council 661                    1940 Calle Sauco                                         San Juan, PR 00927‐6718                                                                                                      First Class Mail
Chartered Organization         Colegio San Jose                                             Puerto Rico Council 661                    P.O. Box                                                                                21300 San Juan, PR 00928                                                                      First Class Mail
Chartered Organization         Colegio San Vicente De Paul                                  Puerto Rico Council 661                    709 Calle Bolivar                                        San Juan, PR 00909‐2840                                                                                                      First Class Mail
Chartered Organization         Colegio Santa Maria Del Camino                               Puerto Rico Council 661                    658 Carr 8860                                            Trujillo Alto, PR 00976‐5437                                                                                                 First Class Mail
Chartered Organization         Coleman Co, Inc                                              Alamo Area Council 583                     766 Fm 306                                               Canyon Lake, TX 78130‐2548                                                                                                   First Class Mail
Chartered Organization         Coleman Lions Club                                           Water and Woods Council 782                P.O. Box 163                                             Coleman, MI 48618‐0163                                                                                                       First Class Mail
Voting Party                   Coleman Memorial United Methodist Church                     Attn: Kevin Marston                        322 N Military Ave                                       Lawrence, TN 38464                                                                  info@colemanumc.org                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Coleman Memorial Utd Methodist Church                        Middle Tennessee Council 560               322 N Military Ave                                       Lawrenceburg, TN 38464‐3328                                                                                                  First Class Mail
Chartered Organization         Colerain Presbyterian Church                                 Ohio River Valley Council 619              P.O. Box 96                                              Colerain, OH 43916‐0096                                                                                                      First Class Mail
Chartered Organization         Colerain Township Police Dept                                Dan Beard Council, Bsa 438                 4200 Springdale Rd                                       Cincinnati, OH 45251‐1419                                                                                                    First Class Mail
Chartered Organization         Coleridge Taylor Elementary                                  Lincoln Heritage Council 205               1115 W Chestnut St                                       Louisville, KY 40203‐2046                                                                                                    First Class Mail
Chartered Organization         Coles Crossing Cai                                           Sam Houston Area Council 576               13050 Barker Cypress Rd                                  Cypress, TX 77429‐8312                                                                                                       First Class Mail
Chartered Organization         Coles Crossing Cai, Inc                                      Sam Houston Area Council 576               13060 Barker Cypress Rd                                  Cypress, TX 77429                                                                                                            First Class Mail
Chartered Organization         Coles Ferry PTO                                              Middle Tennessee Council 560               511 Coles Ferry Pike                                     Lebanon, TN 37087‐2209                                                                                                       First Class Mail
Chartered Organization         Coles Transportation                                         Utah National Parks 591                    440 E Main St Trlr 3                                     Santaquin, UT 84655‐7188                                                                                                     First Class Mail
Chartered Organization         Colesville Lions Club                                        National Capital Area Council 082          2005 Hopefield Rd                                        Silver Spring, MD 20905‐4223                                                                                                 First Class Mail
Chartered Organization         Colesville Presbyterian Church                               National Capital Area Council 082          12800 New Hampshire Ave                                  Silver Spring, MD 20904‐3352                                                                                                 First Class Mail
Voting Party                   Colesville United Methodist Church                           Attn: Larry Haynes                         52 Randolph Rd                                           Silver Spring, MD 20904                                                             Admin@cumc.org                           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Coleta Umc                                                   Attn: Joel Mcclellan                       112 N Main St                                            Coleta, IL 61081                                                                    Joelmclellan@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Coleta United Methodist Church                               Attn: Joel Mcclellan                       201 N Main St                                            Coleta, IL 61081                                                                                                             First Class Mail
Chartered Organization         Colfax Area Churches                                         Chippewa Valley Council 637                506 Balsam St                                            Colfax, WI 54730‐8900                                                                                                        First Class Mail
Voting Party                   Colfax First United Methodist Church                         Attn: Terry Pollard                        103 W Div St                                             P.O. Box 125                         Colfax, IA 50054                               terry1058@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Colfax Lions Club                                            Golden Empire Council 047                  P.O. Box 664                                             Colfax, CA 95713‐0664                                                                                                        First Class Mail
Chartered Organization         Colfax Sportsmens Club Inc                                   Chippewa Valley Council 637                E6779 County Rd B                                        Colfax, WI 54730                                                                                                             First Class Mail
Voting Party                   Colfax United Methodist Church                               Attn: Pauline Ferguson                     P.O. Box 200                                             202 S Harrison St                    Colfax, IL 61728                               pferg1986@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Colfax United Methodist Church                               Attn: Nathaniel Langford                   P.O. Box 403                                             Colfax, LA 71417                                                                    nathaniel@email.com                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Colfax United Methodist Church                               Attn: Ken Tape, Treasurer                  P.O. Box 216                                             Colfax, WI 54730                                                                    colfaxumc@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Colfax Utd Methodist Church                                  W D Boyce 138                              200 S Harrison St                                        Colfax, IL 61728                                                                                                             First Class Mail
Chartered Organization         Colgate Baptist Church                                       Lincoln Heritage Council 205               125 E Montgomery Ave                                     Clarksville, IN 47129‐3025                                                                                                   First Class Mail
Chartered Organization         Collaborative College For Leadership                         Piedmont Council 420                       500 W Broad St                                           Statesville, NC 28677‐5264                                                                                                   First Class Mail
Voting Party                   Collamer United Church                                       Attn: Treasurer CUC                        6865 Fly Rd                                              East Syracuse, NY 13057                                                             collamerunitedchurch@verizon.net         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Collamer Utd Church                                          Longhouse Council 373                      6865 Fly Rd                                              East Syracuse, NY 13057‐9725                                                                                                 First Class Mail
Chartered Organization         Collective For Youth                                         Rose Hill Elementary                       5605 Corby St                                            Omaha, NE 68104‐4127                                                                                                         First Class Mail
Chartered Organization         Collective For Youth                                         Indian Hills Elementary                    3121 U St                                                Omaha, NE 68107‐3378                                                                                                         First Class Mail
Chartered Organization         Collective For Youth                                         Howard Kennedy Elementary                  2906 N 30th St                                           Omaha, NE 68111‐3101                                                                                                         First Class Mail
Chartered Organization         Collective For Youth                                         Mid‐America Council 326                    302 S 36th St                                            Omaha, NE 68131‐3818                                                                                                         First Class Mail
Chartered Organization         Collective For Youth Ashland Park                            Robbins Elementary                         5050 S 51st St                                           Omaha, NE 68117‐1955                                                                                                         First Class Mail
Chartered Organization         Collective For Youth Bancroft Elementary                     Mid‐America Council 326                    2724 Riverview Blvd                                      Omaha, NE 68108‐1643                                                                                                         First Class Mail
Chartered Organization         Collective For Youth Castelar Elem Sch                       Mid‐America Council 326                    2316 S 18th St                                           Omaha, NE 68108‐3952                                                                                                         First Class Mail
Chartered Organization         Collective For Youth Fontenelle Elem                         Mid‐America Council 326                    3905 N 52nd St                                           Omaha, NE 68104‐2909                                                                                                         First Class Mail
Chartered Organization         Collective For Youth Nelson Mandela Elem                     Mid‐America Council 326                    6316 N 30th St                                           Omaha, NE 68111‐1208                                                                                                         First Class Mail
Chartered Organization         Collective For Youth Norfolk Mid Sch                         Mid‐America Council 326                    1221 Norfolk 1st St                                      Norfolk, NE 68701                                                                                                            First Class Mail
Chartered Organization         Collective For Youth Skinner Magnet Ctr                      Mid‐America Council 326                    4304 N 33rd St                                           Omaha, NE 68111‐2748                                                                                                         First Class Mail
Chartered Organization         Collective For Youth Washington Elem                         Mid‐America Council 326                    130 E 9th St                                             Fremont, NE 68025‐4101                                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 70 of 442
                                                                                    Case 20-10343-LSS                                       Doc 8171                                          Filed 01/06/22                                             Page 86 of 457
                                                                                                                                                                           Exhibit B
                                                                                                                                                                            Service List
                                                                                                                                                                     Served as set forth below

        Description                                                          Name                                                                                        Address                                                                                                              Email                  Method of Service
Chartered Organization         Collective For Youth/Gateway Elementary                     Mid‐America Council 326                 5610 S 42nd St                                             Omaha, NE 68107‐3103                                                                                        First Class Mail
Chartered Organization         Collective For Youth‐Gilder Elementary                      Mid‐America Council 326                 3705 Chandler Rd W                                         Bellevue, NE 68147‐1123                                                                                     First Class Mail
Chartered Organization         Collective For Youth‐Shermanelementary                      Mid‐America Council 326                 5618 N 14th Ave                                            Omaha, NE 68110‐1134                                                                                        First Class Mail
Chartered Organization         Collective Of Youth Druid Hill                              Mid‐America Council 326                 4020 N 30th St                                             Omaha, NE 68111‐2975                                                                                        First Class Mail
Chartered Organization         College Ave Utd Methodist Church                            The Spirit of Adventure 227             149 Broadway                                               Somerville, MA 02145‐2132                                                                                   First Class Mail
Voting Party                   College Avenue United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   College Avenue United Methodist Church (95308)              c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         College Avenue Utd Methodist Church                         Coronado Area Council 192               1609 College Ave                                           Manhattan, KS 66502‐2717                                                                                    First Class Mail
Chartered Organization         College Church Of The Nazarene                              Heart of America Council 307            2020 E Sheridan St                                         Olathe, KS 66062‐2326                                                                                       First Class Mail
Voting Party                   College Crew United Methodist Church                        Attn: Bill Pettus                       8568 Horton Hwy                                            College Grove, TN 37046                                              abill40@aol.com                        Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         College Heights Christian Church                            Ozark Trails Council 306                4311 Newman Rd                                             Joplin, MO 64801‐4017                                                                                       First Class Mail
Chartered Organization         College Heights Presbyterian Church                         Occoneechee 421                         1801 Seabrook Rd                                           Fayetteville, NC 28301‐0531                                                                                 First Class Mail
Voting Party                   College Heights Umc ‐ Lakeland                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   College Heights United Methodist Church                     Attn: Judy Ward                         710 College St Rd                                          Elizabethtown, KY 42701                                              jward_2000@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         College Hill Baptist Church                                 Andrew Jackson Council 303              1600 Florence Ave                                          Jackson, MS 39204‐2413                                                                                      First Class Mail
Voting Party                   College Hill Community Church (Presbyterian Usa)            1547 Philadelphia Dr                    Dayton, OH 45406                                                                                                                shirtle@sbcglobal.net                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   College Hill Community Church (Presbyterian Usa)            Attn: Stanley A. Hirtle                 1547 Philadelphia Dr                                       Dayton, OH 45406                                                     collegehillcommunitychurch@gmail.com   Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         College Hill Middle School                                  Caddo Area Council 584                  1600 Forest St                                             Texarkana, AR 71854‐7401                                                                                    First Class Mail
Voting Party                   College Hill Moravian Church                                72 W Laurel St                          Bethlehem, PA 18018                                                                                                             moravianpastorchris@gmail.com          Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         College Hill Presbyterian Church                            Dan Beard Council, Bsa 438              5742 Hamilton Ave                                          Cincinnati, OH 45224‐2965                                                                                   First Class Mail
Voting Party                   College Hill Presbyterian Church                            Attn: Rebecca Rosenbauer                300 W Burke St                                             Easton, PA 18042                                                     rosenbau@lafayette.edu                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   College Hill Presbyterian Church                            501 Brodhead St                         Easton, PA 18042                                                                                                                rosenbau@lafayette.edu                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         College Hill Rec Center                                     Dan Beard Council, Bsa 438              5545 Belmont Ave                                           Cincinnati, OH 45224‐3188                                                                                   First Class Mail
Chartered Organization         College Hills Church Of Christ                              Middle Tennessee Council 560            1401 Leeville Pike                                         Lebanon, TN 37090‐4337                                                                                      First Class Mail
Voting Party                   College Mound United Methodist Church                       Attn: Robert Williams                   P.O. Box 793                                               Terrell, TX 75160                                                    pastorbob45@sbcglobal.net              Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         College Of The Ouachitas                                    Quapaw Area Council 018                 1 College Cir                                              Malvern, AR 72104‐3520                                                                                      First Class Mail
Voting Party                   College Park First United Methodist Church                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   College Park United Methodist                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   College Park United Methodist Church                        Attn: Patty Jamas                       9601 Rhode Island Ave                                      College Park, MD 20740                                               cpumchurchlady@yahoo.com               Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         College Park Utd Methodist Church                           Central Florida Council 083             644 W Princeton St                                         Orlando, FL 32804‐5328                                                                                      First Class Mail
Chartered Organization         College Place Presbyterian Church Men                       Blue Mountain Council 604               325 NE Damson Ave                                          College Pl, WA 99324‐1023                                                                                   First Class Mail
Voting Party                   College Place Umc                                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   College United Methodist Church                             Attn: Matt Mcphee                       4300 Telegraph Rd                                          Ventura, CA 93003                                                    pastormatt@venturafumc.org             Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         College Utd Methodist Church                                Oregon Trail Council 697                1123 Main St                                               Philomath, OR 97370‐9810                                                                                    First Class Mail
Chartered Organization         Collegewood Community Club Pack 722                         Greater Los Angeles Area 033            20725 Collegewood Dr                                       Walnut, CA 91789‐1118                                                                                       First Class Mail
Voting Party                   Collegiate United Methodist Church                          Attn: Brian Brand                       2622 Lincoln Way                                           Ames, IA 50014                                                       isubrand@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Colleton County Fire Rescue                                 Coastal Carolina Council 550            113 Mable T Willis Blvd                                    Walterboro, SC 29488‐4522                                                                                   First Class Mail
Chartered Organization         Colleyville Police Dept                                     Longhorn Council 662                    5201 Riverwalk Dr                                          Colleyville, TX 76034‐5893                                                                                  First Class Mail
Chartered Organization         Collier County Sheriff'S Office                             Southwest Florida Council 088           3319 Tamiami Trl E                                         Naples, FL 34112‐4901                                                                                       First Class Mail
Chartered Organization         Collier Township Board Commissioners                        Laurel Highlands Council 527            2418 Hilltop Rd                                            Presto, PA 15142‐1176                                                                                       First Class Mail
Chartered Organization         Collierville Christian Church                               Chickasaw Council 558                   707 S Byhalia Rd                                           Collierville, TN 38017                                                                                      First Class Mail
Chartered Organization         Collierville Police Dept                                    Chickasaw Council 558                   156 N Rowlett St                                           Collierville, TN 38017‐2678                                                                                 First Class Mail
Chartered Organization         Collierville Presbyterian Church                            Chickasaw Council 558                   202 W Poplar Ave                                           Collierville, TN 38017‐2649                                                                                 First Class Mail
Voting Party                   Collierville United Methodist Church                        Attn: Rev. Deborah Suddarth             454 W Poplar Ave                                           Collierville, TN 38017                                               dsuddarth@colliervilleumc.org          Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Collierville Utd Methodist Men'S Club                       Chickasaw Council 558                   454 W Poplar Ave                                           Collierville, TN 38017‐2599                                                                                 First Class Mail
Chartered Organization         Collin County Adventure Camp                                Circle Ten Council 571                  1180 Houston St                                            Anna, TX 75409‐6317                                                                                         First Class Mail
Chartered Organization         Collington Square Elementary                                Middle School                           1409 N Collington Ave                                      Baltimore, MD 21213‐3418                                                                                    First Class Mail
Chartered Organization         Collins Hill High School Jrotc                              Northeast Georgia Council 101           50 Taylor Rd                                               Suwanee, GA 30024‐3695                                                                                      First Class Mail
Voting Party                   Collins Memorial Umc                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Collins Memorial Umc                                        2220 Bolton Rd Nw                       Atlanta, GA 30318                                                                                                                                                      First Class Mail
Chartered Organization         Collins Memorial Utd Methodist Church                       Atlanta Area Council 092                2220 Bolton Rd Nw                                          Atlanta, GA 30318‐1214                                                                                      First Class Mail
Chartered Organization         Collins Rotary Club                                         Pine Burr Area Council 304              P.O. Box 1688                                              Collins, MS 39428‐1688                                                                                      First Class Mail
Voting Party                   Collinsville First United Methodist Church                  Attn: Treasurer                         207 W Church St                                            Collinsville, IL 62234                                               office@collinsvillefirst.org           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Collinsville Police Dept                                    Greater St Louis Area Council 312       200 W Clay St                                              Collinsville, IL 62234‐3218                                                                                 First Class Mail
Chartered Organization         Collinsville Volunteer Fire Dept                            Circle Ten Council 571                  P.O. Box 557                                               Collinsville, TX 76233‐0557                                                                                 First Class Mail
Chartered Organization         Collinwood Fire Dept                                        Middle Tennessee Council 560            P.O. Box 98                                                Collinwood, TN 38450‐0098                                                                                   First Class Mail
Chartered Organization         Collom And Carney Radiology                                 Caddo Area Council 584                  5002 Cowhorn Creek                                         Texarkana, TX 75503                                                                                         First Class Mail
Chartered Organization         Coloma Lions Club                                           Bay‐Lakes Council 635                   P.O. Box 161                                               Coloma, WI 54930‐0161                                                                                       First Class Mail
Voting Party                   Coloma United Methodist Church                              Attn: Christine Beaudoin                144 S Church St                                            P.O. Box 670                        Coloma, MI 49038                 cmbeau81@aol.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Coloma Utd Methodist Church                                 Southern Shores Fsc 783                 P.O. Box 670                                               Coloma, MI 49038‐0670                                                                                       First Class Mail
Voting Party                   Colon United Methodist Church                               Attn: Sandy Rench                       P.O. Box 646                                               Colon, MI 49040                                                                                             First Class Mail
Chartered Organization         Colona Utd Methodist Men                                    Illowa Council 133                      1709 Cleveland Rd                                          Colona, IL 61241‐8978                                                                                       First Class Mail
Chartered Organization         Colonia Vol Chemical Hook & Ladder Co                       Patriots Path Council 358               250 Inman Ave                                              Colonia, NJ 07067‐1725                                                                                      First Class Mail
Chartered Organization         Colonial Beach Baptist Church                               Heart of Virginia Council 602           10 Garfield Ave                                            Colonial Beach, VA 22443‐2351                                                                               First Class Mail
Chartered Organization         Colonial Dames Xvii Century                                 Quapaw Area Council 018                 335 Bondair Rd                                             Higden, AR 72067‐9362                                                                                       First Class Mail
Chartered Organization         Colonial Heights Al Post 284                                Heart of Virginia Council 602           P.O. Box 57                                                Colonial Heights, VA 23834‐0057                                                                             First Class Mail
Chartered Organization         Colonial Heights Presbyterian Church                        Sequoyah Council 713                    213 Colonial Heights Rd                                    Kingsport, TN 37663‐2244                                                                                    First Class Mail
Voting Party                   Colonial Heights Presbyterian Church Of Portland            2828 SE Stephes St                      Portland, OR 97214                                                                                                              office@chpcpdx.org                     Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Colonial Heights UMC                                        Attn: Rev. Rhonda Hobbs                 6321 Chapman Hwy                                           Knoxville, TN 37920                                                  office@colonialheightsumc.org          Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Colonial Heights Utd Methodist Church                       Sequoyah Council 713                    P.O. Box 6027                                              Kingsport, TN 37663‐1027                                                                                    First Class Mail
Chartered Organization         Colonial Hills Civic Assoc                                  Simon Kenton Council 441                P.O. Box 676                                               Worthington, OH 43085‐0676                                                                                  First Class Mail
Chartered Organization         Colonial Hills Utd Methodist Church                         Alamo Area Council 583                  5247 Vance Jackson Rd                                      San Antonio, TX 78230‐4624                                                                                  First Class Mail
Chartered Organization         Colonial Point Christian Church                             Connecticut Rivers Council, Bsa 066     855 Chapel Rd                                              South Windsor, CT 06074‐4252                                                                                First Class Mail
Chartered Organization         Colonial Presbyterian Church                                Heart of America Council 307            12501 W 137th St                                           Overland Park, KS 66221‐4129                                                                                First Class Mail
Chartered Organization         Colonie Police Dept                                         Twin Rivers Council 364                 312 Wolf Rd                                                Latham, NY 12110‐4802                                                                                       First Class Mail
Chartered Organization         Colorado Adventure Point                                    Denver Area Council 061                 10455 W 6th Ave, Ste 150                                   Lakewood, CO 80215‐5784                                                                                     First Class Mail
Chartered Organization         Colorado City Park And Rec                                  Rocky Mountain Council 063              P.O. Box 20229                                             Colorado City, CO 81019‐2229                                                                                First Class Mail
Chartered Organization         Colorado Ent And Allergy                                    Pikes Peak Council 060                  3030 N Cir Dr, Ste 300                                     Colorado Springs, CO 80909‐1180                                                                             First Class Mail
Chartered Organization         Colorado Natl Guard Friends Scouting                        Denver Area Council 061                 8212 Club Crest Dr                                         Arvada, CO 80005‐2204                                                                                       First Class Mail
Chartered Organization         Colorado School PTO                                         Illowa Council 133                      149 Colorado St                                            Muscatine, IA 52761‐5330                                                                                    First Class Mail
Chartered Organization         Colorado Springs Fire Dept                                  Pikes Peak Council 060                  375 Printers Pkwy                                          Colorado Springs, CO 80910‐3191                                                                             First Class Mail
Voting Party                   Colquitt United Methodist Church                            Attn: Scott Dozier Stanfill             453 E Main St                                              P.O. Box 155                        Colquitt, GA 39837               colquittunited@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Firm                           Colter Legal PLLC                                           John G. Harnishfeger                    1717 K Street, NW Ste 900                                  Washington, DC 20006                                                 John.Harnishfeger@ColterLegal.com      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Colton Police Dept                                          California Inland Empire Council 045    650 N La Cadena Dr                                         Colton, CA 92324‐2823                                                                                       First Class Mail
Chartered Organization         Colts Neck Vol Fire Dept Co 2                               Monmouth Council, Bsa 347               P.O. Box 172                                               Colts Neck, NJ 07722‐0172                                                                                   First Class Mail
Chartered Organization         Columbia Academy                                            Baltimore Area Council 220              10350 Old Columbia Rd                                      Columbia, MD 21046‐1711                                                                                     First Class Mail
Chartered Organization         Columbia Building Assoc                                     Water and Woods Council 782             3501 Rattle Run Rd                                         Saint Clair, MI 48079                                                                                       First Class Mail
Chartered Organization         Columbia Central High School Njrotc                         Middle Tennessee Council 560            921 Lion Pkwy                                              Columbia, TN 38401‐4605                                                                                     First Class Mail
Chartered Organization         Columbia Club Of Osceola County Inc                         Central Florida Council 083             2000 Neptune Rd                                            Kissimmee, FL 34744‐4941                                                                                    First Class Mail
Chartered Organization         Columbia County Sheriff Office                              Georgia‐Carolina 093                    2273 County Camp Rd                                        Appling, GA 30802‐3732                                                                                      First Class Mail
Voting Party                   Columbia Cross Roads Umc, Inc. (141315)                     c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Columbia Elementary School                                  Central Florida Council 083             1225 Waco Blvd Se                                       Palm Bay, FL 32909‐5306                                                                                        First Class Mail
Chartered Organization         Columbia Falls Lions Club                                   Montana Council 315                                                                         100 Columbia Falls, MT 59912                                                                                       First Class Mail
Voting Party                   Columbia Falls United Methodist Church                      Attn: Ann Bohmer                        P.O. Box 27                                             Columbia Falls, MT 59912                                                office@columbiafallsumc.org            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Columbia Falls United Methodist Church                      Attn: Dawnette Robbins                  P.O. Box 222                                               Columbia Falls, ME 04623                                                                                    First Class Mail
Chartered Organization         Columbia Fire Dept                                          Middle Tennessee Council 560            1000 S Garden St                                           Columbia, TN 38401‐3255                                                                                     First Class Mail
Chartered Organization         Columbia Fire Dept.‐Cate Center                             Indian Waters Council 553               1800 Laurel St                                             Columbia, SC 29201‐2627                                                                                     First Class Mail
Chartered Organization         Columbia Heights Fire Dept                                  Northern Star Council 250               825 41st Ave Ne                                            Columbia Heights, MN 55421‐2910                                                                             First Class Mail
Chartered Organization         Columbia Heights Utd Methodist Church                       Simon Kenton Council 441                775 Galloway Rd                                            Galloway, OH 43119‐8551                                                                                     First Class Mail
Chartered Organization         Columbia Independent School                                 Great Rivers Council 653                1801 N Stadium Blvd                                        Columbia, MO 65202‐1330                                                                                     First Class Mail
Chartered Organization         Columbia Lions Club                                         Connecticut Rivers Council, Bsa 066     P.O. Box 1                                                 Columbia, CT 06237‐0001                                                                                     First Class Mail
Chartered Organization         Columbia Lodge 25 A.F. & A.M.                               Connecticut Rivers Council, Bsa 066     895 Main St                                                South Glastonbury, CT 06073‐2218                                                                            First Class Mail
Chartered Organization         Columbia Machine, Inc                                       Cascade Pacific Council 492             P.O. Box 8950                                              Vancouver, WA 98668‐8950                                                                                    First Class Mail
Voting Party                   Columbia Machine, Inc                                       Attn: Alex Poust                        1211 SW 5th Ave, 19th Fl                                   Portland, OR 97204                                                   apoust@schwabe.com                     Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Columbia Middle School                                      Denver Area Council 061                 17600 E Columbia Ave                                       Aurora, CO 80013‐4401                                                                                       First Class Mail
Chartered Organization         Columbia Police Dept                                        Pine Burr Area Council 304              205 2nd St                                                 Columbia, MS 39429‐2947                                                                                     First Class Mail
Chartered Organization         Columbia Police Dept                                        Middle Tennessee Council 560            707 N Main St                                              Columbia, TN 38401‐3317                                                                                     First Class Mail
Chartered Organization         Columbia Rotary Club                                        East Carolina Council 426               P.O. Box 696                                               Columbia, NC 27925‐0696                                                                                     First Class Mail
Chartered Organization         Columbia Rotary Club                                        Middle Tennessee Council 560            2288 Tindell Ln                                            Columbia, TN 38401‐7133                                                                                     First Class Mail
Chartered Organization         Columbia Street Baptist Church                              Katahdin Area Council 216               63 Columbia St                                             Bangor, ME 04401‐6316                                                                                       First Class Mail
Chartered Organization         Columbia Township                                           Five Rivers Council, Inc 375            P.O. Box 33                                                Columbia Cross Rds, PA 16914‐0033                                                                           First Class Mail
Voting Party                   Columbia United Methodist Church                            Attn: Rob Hoffman                       202 Burkesville St                                         Columbia, KY 42728                                                   columbiaunitedmc@gmail.com             Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Columbia United Methodist Church                            Attn: Pastor Paul Kethley               315 S 16th St                                              West Columbia, TX 77486                                              church@columbiaum.org                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Columbia Yacht Club                                         Pathway To Adventure 456                111 N Lake Shore Dr                                        Chicago, IL 60601‐7342                                                                                      First Class Mail
Chartered Organization         Columbian Center Inc                                        Heart of Virginia Council 602           2324 Pump Rd                                               Henrico, VA 23233‐2621                                                                                      First Class Mail
Chartered Organization         Columbian Club Of Metuchen                                  Patriots Path Council 358               48 Sharon Ct                                               Metuchen, NJ 08840‐1730                                                                                     First Class Mail
Chartered Organization         Columbian Club Of Virginia Beach Inc                        Tidewater Council 596                   1236 Prosperity Rd                                         Virginia Beach, VA 23451‐4841                                                                               First Class Mail
Chartered Organization         Columbian Hall Building Corp                                Potawatomi Area Council 651             P.O. Box 82                                                Oconomowoc, WI 53066‐0082                                                                                   First Class Mail
Chartered Organization         Columbian Presbyterian Church                               Longhouse Council 373                   P.O. Box 270                                               La Fayette, NY 13084‐0270                                                                                   First Class Mail
Chartered Organization         Columbiana Kiwanis Club                                     Greater Alabama Council 001             P.O. Box 338                                               Columbiana, AL 35051‐0338                                                                                   First Class Mail
Chartered Organization         Columbiana Police Dept                                      Buckeye Council 436                     28 S Vine St                                               Columbiana, OH 44408‐1207                                                                                   First Class Mail
Voting Party                   Columbiana United Methodist Church                          Attn: Bruce Burttram                    664 Stoney Ridge Tr                                        Columbiana, AL 35051                                                 bruce42348@gmail.com                   Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Columbianism 3006                                           Calcasieu Area Council 209              P.O. Box 1006                                              Iowa, LA 70647‐1006                                                                                         First Class Mail
Chartered Organization         Columbiarivergorge Natl Scenic Area Fire                    Cascade Pacific Council 492             902 Wasco St, Ste 200                                      Hood River, OR 97031‐3117                                                                                   First Class Mail
Chartered Organization         Columbine Hills Church                                      Denver Area Council 061                 9700 Old Coal Mine Ave                                     Littleton, CO 80123‐4006                                                                                    First Class Mail
Voting Party                   Columbine United Church                                     Attn: Deanne R. Stodden                 6375 S Platte Canyon Rd                                    Littleton, CO 80123                                                  jill@columbineunitedchurch.org         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Columbine Utd Church                                        Denver Area Council 061                 6375 S Platte Canyon Rd                                    Littleton, CO 80123‐6534                                                                                    First Class Mail
Chartered Organization         Columbus After School Program                               Mid‐America Council 326                 2715 13th St                                               Columbus, NE 68601‐4916                                                                                     First Class Mail
Voting Party                   Columbus Asbury Umc                                         Attn: Trustee Chairperson               1751 27th St                                               Columbus, IN 47201                                                   asbury@asburycolumbus.org              Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Columbus Bilingual Academy North                            Simon Kenton Council 441                3360 Kohr Blvd                                             Columbus, OH 43224‐3051                                                                                     First Class Mail
Chartered Organization         Columbus City Masonic Lodge 107                             Mississippi Valley Council 141 141      P.O. Box 168                                               Columbus Jct, IA 52738‐0168                                                                                 First Class Mail
Chartered Organization         Columbus Club                                               Bay Area Council 574                    6403 N Hwy 6                                               Alvin, TX 77511                                                                                             First Class Mail
Chartered Organization         Columbus Club Of Wharton                                    Sam Houston Area Council 576            2820 N Fulton St                                           Wharton, TX 77488‐2106                                                                                      First Class Mail
Chartered Organization         Columbus Club Of Yoakum                                     Capitol Area Council 564                P.O. Box 309                                               Yoakum, TX 77995‐0309                                                                                       First Class Mail
Chartered Organization         Columbus County Dream Center, Inc                           Cape Fear Council 425                   403 S Martin Luther King Jr Ave                            Whiteville, NC 28472‐3909                                                                                   First Class Mail
Chartered Organization         Columbus Div Of Police                                      Simon Kenton Council 441                120 Marconi Blvd                                           Columbus, OH 43215‐2864                                                                                     First Class Mail
Chartered Organization         Columbus Grove Middle / High School                         Black Swamp Area Council 449            201 W Cross St                                             Columbus Grove, OH 45830‐1237                                                                               First Class Mail
Voting Party                   Columbus Junction United Methodist Church                   Attn: Treasurer Barb Dotson             517 2nd St                                                 Columbus Junction, IA 52738                                          seccjumc@iowatelecom.net               Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Columbus Lions Club                                         Northern Star Council 250               P.O. Box 484                                               Forest Lake, MN 55025‐0484                                                                                  First Class Mail
Chartered Organization         Columbus Moose Lodge 11                                     Simon Kenton Council 441                1444 Demorest Rd                                           Columbus, OH 43228‐3744                                                                                     First Class Mail
Chartered Organization         Columbus Noon Lions Club                                    Sam Houston Area Council 576            P.O. Box 532                                               Columbus, TX 78934‐0532                                                                                     First Class Mail
Chartered Organization         Columbus Police Dept                                        Chattahoochee Council 091               510 10th St                                                Columbus, GA 31901‐2877                                                                                     First Class Mail
Chartered Organization         Columbus Recreation & Parks Dept                            Simon Kenton Council 441                1111 E Broad St                                            Columbus, OH 43205‐1303                                                                                     First Class Mail
Chartered Organization         Columbus Spanish Immersion Academy PTO                      Simon Kenton Council 441                3940 Karl Rd                                               Columbus, OH 43224‐2125                                                                                     First Class Mail
Voting Party                   Columbus United Methodist Church                            Attn: Rev. Howard E Boles               618 8th St                                                 Columbus, IN 47201                                                   hboles@fumccolumbus.org                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Columbus Utd Methodist Church                               Piedmont Council 420                    P.O. Box 533                                               Columbus, NC 28722‐0533                                                                                     First Class Mail
Chartered Organization         Colusa Lions Club                                           Golden Empire Council 047               333 Ashley Dr                                              Colusa, CA 95932‐3367                                                                                       First Class Mail
Voting Party                   Colville United Methodist Church (Colville)                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Colwyn Leadership Team                                      Cradle of Liberty Council 525           211 Pine St                                                Darby, PA 19023‐3129                                                                                        First Class Mail
Chartered Organization         Comanche Trail Church Of Christ                             Golden Spread Council 562               P.O. Box 30516                                             Amarillo, TX 79120‐0516                                                                                     First Class Mail
Chartered Organization         Combee Elementary PTA                                       Greater Tampa Bay Area 089              2805 Morgan Combee Rd                                      Lakeland, FL 33801‐2937                                                                                     First Class Mail
Chartered Organization         Combined Locks Advancement Assoc                            Bay‐Lakes Council 635                   405 Wallace St                                             Combined Locks, WI 54113‐1129                                                                               First Class Mail
Chartered Organization         Combined Locks Fire & Rescue                                Bay‐Lakes Council 635                   405 Wallace St                                             Combined Locks, WI 54113‐1129                                                                               First Class Mail
Voting Party                   Comby United Methodist Church                               Attn: Donald W Fallis                   106 Fm 2755                                                Comby, TX 75433                                                      fallisdn@cumoytel.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                            Page 71 of 442
                                                                                  Case 20-10343-LSS                                             Doc 8171                                     Filed 01/06/22                                                   Page 87 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                       Name                                                                                          Address                                                                                                                 Email                   Method of Service
Voting Party                   Comcast                                                    P.O. Box 71211                               Charlotte, NC 28272‐1211                                                                                                                                              First Class Mail
Chartered Organization         Comer Lions Club                                           Northeast Georgia Council 101                422 Main St                                           Comer, GA 30629                                                                                                 First Class Mail
Chartered Organization         Comerciantes Unidos                                        Greater Yosemite Council 059                 P.O. Box 1193                                         Stockton, CA 95201‐1193                                                                                         First Class Mail
Chartered Organization         Comite De Padres                                           Puerto Rico Council 661                      J11 Calle 5                                           Juana Diaz, PR 00795                                                                                            First Class Mail
Chartered Organization         Comite De Padres Pack 1204                                 Esc Josefita Monserrate De Selles            P.O. Box 191736                                       San Juan, PR 00919‐1736                                                                                         First Class Mail
Chartered Organization         Comite De Padres Unidad 104                                Puerto Rico Council 661                      J11 Calle 5                                           Urb Las Flores                        Juana Diaz, PR 00795                                                      First Class Mail
Chartered Organization         Comite De Padres Y Amigos De La Tropa247                   Puerto Rico Council 661                      31 Calle Miguel Planellas                             Cidra, PR 00739‐3341                                                                                            First Class Mail
Voting Party                   Commack United Methodist Church                            Attn: Roslyn Lee                             486 Townline Rd                                       Commack, NY 11725                                                          mail@commack‐umc.org                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Commemorative Air Force                                    Grand Canyon Council 010                     4733 E Encanto St                                     Mesa, AZ 85205‐5233                                                                                             First Class Mail
Chartered Organization         Commemorative Air Force                                    Nevada Area Council 329                      5519 Alpha Ave Hngr H‐10                              Reno, NV 89506‐1206                                                                                             First Class Mail
Chartered Organization         Commerce Kiwanis Club                                      Northeast Georgia Council 101                P.O. Box 441                                          Commerce, GA 30529‐0009                                                                                         First Class Mail
Chartered Organization         Commerce Masonic Lodge 121                                 Great Lakes Fsc 272                          374 W Walled Lake Dr                                  Walled Lake, MI 48390‐3459                                                                                      First Class Mail
Chartered Organization         Commerce Police Dept                                       Circle Ten Council 571                       1103 Sycamore St                                      Commerce, TX 75428‐2616                                                                                         First Class Mail
Chartered Organization         Commerce Presbyterian Church                               Northeast Georgia Council 101                89 Lakeview Dr                                        Commerce, GA 30529‐2614                                                                                         First Class Mail
Voting Party                   Commerce United Methodist Church                           Attn: Treasurer, Commerce Umc                1155 N Commerce Rd                                    Commerce Twp, MI 48382                                                                                          First Class Mail
Chartered Organization         Commerce V3 Inc                                            Central Florida Council 083                  13045 Mountain Trl                                    Clermont, FL 34715‐9474                                                                                         First Class Mail
Chartered Organization         Commercial Point Community Men'S Club                      Simon Kenton Council 441                     P.O. Box 97                                           Orient, OH 43146‐0097                                                                                           First Class Mail
Voting Party                   Commercial Point United Methodist Church                   Attn: Sheila Writsel ‐ Treasurer             P.O. Box 96                                           Commercial Point, OH 43116                                                 sdwritsel@aol.com                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Commodore Perry Food Pantry Inc                            French Creek Council 532                     P.O. Box 246                                          West Middlesex, PA 16159‐0250                                                                                   First Class Mail
Chartered Organization         Commodore Perry Lions Club                                 French Creek Council 532                     P.O. Box 6                                            Hadley, PA 16130‐0006                                                                                           First Class Mail
Chartered Organization         Commonwealth Club Of Cache Valley                          Trapper Trails 589                           P.O. Box 332                                          Millville, UT 84326‐0332                                                                                        First Class Mail
Chartered Organization         Commonwealth Parkville School                              Puerto Rico Council 661                      Urb Parville                                          Calle Alabama Final                   Guaynabo, PR 00969                                                        First Class Mail
Chartered Organization         Commty Consolidated School Dist 180                        Pathway To Adventure 456                     16W631 91st St                                        Willowbrook, IL 60527‐6126                                                                                      First Class Mail
Chartered Organization         Commty Christ Natl Guard                                   Attn: Methodist Mens                         Mid‐America Council 326                               Rlds Church, 17th & 1st Ave N         Denison, IA 51442                                                         First Class Mail
Chartered Organization         Commty Congregational                                      United Church of Christ                      P.O. Box 585                                          Pinckney, MI 48169‐0585                                                                                         First Class Mail
Chartered Organization         Commty Of Faith                                            United Methodist Church                      9120 Teacher Ln                                       Davenport, FL 33897‐6212                                                                                        First Class Mail
Chartered Organization         Commty Presbyterian Church                                 Mountainside                                 1459 Deer Path                                        Mountainside, NJ 07092                                                                                          First Class Mail
Chartered Organization         Communimatics Mobile Notary Services                       Attn: Central Florida Council 083            P.O. Box 2410                                         Goldenrod, FL 32733‐2410                                                                                        First Class Mail
Chartered Organization         Communities In School Dudley Site                          Attn: Southern Shores Fsc 783                308 Roosevelt Ave W                                   Battle Creek, MI 49037‐2153                                                                                     First Class Mail
Chartered Organization         Communities In Schools Big Country                         Attn: Texas Trails Council 561               1654 Campus Ct                                        Abilene, TX 79601‐3701                                                                                          First Class Mail
Chartered Organization         Communities In Schools Of Rowan County                     Attn: Central N Carolina Council 416         204 E Innes St, Ste 240                               Salisbury, NC 28144‐5191                                                                                        First Class Mail
Chartered Organization         Communities In Schools Of San Antonio                      Attn: Alamo Area Council 583                 1616 E Commerce St                                    San Antonio, TX 78205‐3347                                                                                      First Class Mail
Chartered Organization         Communities In Schools Petersburg                          Attn: Heart of Virginia Council 602          255 E South Blvd                                      Petersburg, VA 23805‐2700                                                                                       First Class Mail
Chartered Organization         Communities In Schools Valleyview Site                     Attn: Southern Shores Fsc 783                960 Ave A                                             Springfield, MI 49037‐7604                                                                                      First Class Mail
Chartered Organization         Communities In Schools Willow                              Attn: Water and Woods Council 782            741 N Cedar St, Ste 100                               Lansing, MI 48906‐5285                                                                                          First Class Mail
Chartered Organization         Communities In Schools‐Attwood                             Attn: Water and Woods Council 782            741 N Cedar St, Ste 100                               Lansing, MI 48906‐5285                                                                                          First Class Mail
Chartered Organization         Community Action Network                                   Attn: Southern Shores Fsc 783                P.O. Box 130076                                       Ann Arbor, MI 48113‐0076                                                                                        First Class Mail
Chartered Organization         Community Action Organization Of Wny                       Attn: Greater Niagara Frontier Council 380   45 Jewett Ave                                         Buffalo, NY 14214‐2441                                                                                          First Class Mail
Chartered Organization         Community Ambulance                                        Attn: Las Vegas Area Council 328             91 Corporate Center Dr                                Henderson, NV 89074                                                                                             First Class Mail
Chartered Organization         Community Ambulance                                        Attn: Central Georgia Council 096            242 Holt Ave                                          Macon, GA 31201‐1227                                                                                            First Class Mail
Chartered Organization         Community Athletics Boos Tech Club                         Attn: Circle Ten Council 571                 P.O. Box 331                                          Nevada, TX 75173‐0331                                                                                           First Class Mail
Chartered Organization         Community Athletics Booster Club                           Attn: Circle Ten Council 571                 P.O. Box 331                                          Nevada, TX 75173‐0331                                                                                           First Class Mail
Chartered Organization         Community Bank Of Dunlap                                   Attn: Mid‐America Council 326                601 Iowa Ave                                          Dunlap, IA 51529‐1333                                                                                           First Class Mail
Chartered Organization         Community Baptist Church                                   Attn: Connecticut Rivers Council, Bsa 066    585 E Center St                                       Manchester, CT 06040‐4441                                                                                       First Class Mail
Chartered Organization         Community Baptist Church                                   Attn: California Inland Empire Council 045   9090 19th St                                          Rancho Cucamonga, CA 91701‐4614                                                                                 First Class Mail
Chartered Organization         Community Bible Church                                     Attn: Alamo Area Council 583                 2477 N Loop 1604 E                                    San Antonio, TX 78232‐1700                                                                                      First Class Mail
Chartered Organization         Community Bible Church                                     Attn: North Florida Council 087              3150 US Hwy 1 S                                       St Augustine, FL 32086‐6486                                                                                     First Class Mail
Chartered Organization         Community Bible Church                                     Attn: Flint River Council 095                2001 Jodeco Rd                                        Stockbridge, GA 30281‐5115                                                                                      First Class Mail
Chartered Organization         Community Christian Church                                 Attn: Northeast Illinois 129                 1970 Riverwoods Rd                                    Lincolnshire, IL 60069‐4005                                                                                     First Class Mail
Chartered Organization         Community Christian Church                                 Attn: Three Fires Council 127                1635 Emerson Ln                                       Naperville, IL 60540‐1981                                                                                       First Class Mail
Chartered Organization         Community Christian Fellowship                             Attn: Crater Lake Council 491                20380 Cooley Rd                                       Bend, OR 97703‐8852                                                                                             First Class Mail
Chartered Organization         Community Church                                           Attn: Middle Tennessee Council 560           381 W Main St                                         Hendersonville, TN 37075‐3312                                                                                   First Class Mail
Chartered Organization         Community Church                                           Attn: Westark Area Council 016               288 Main St                                           West Fork, AR 72774‐2904                                                                                        First Class Mail
Voting Party                   Community Church                                           448 Washington Ave                           Pelham, NY 10803                                                                                                                 Rtbt76@hotmail.com                   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Community Church                                           Attn: Treasurer                              161 Myrtle Ave                                        Newark, OH 43055                                                           pastornathan@cwcnewark.org           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Church Of Alton                                  Attn: Daniel Webster Council, Bsa 330        P.O. Box 997                                          Alton, NH 03809‐0997                                                                                            First Class Mail
Chartered Organization         Community Church Of Christ                                 Attn: Northern Star Council 250              5990 134th St Ct                                      Apple Valley, MN 55124‐6463                                                                                     First Class Mail
Chartered Organization         Community Church Of Durham                                 Attn: Daniel Webster Council, Bsa 330        P.O. Box 310                                          Durham, NH 03824‐0310                                                                                           First Class Mail
Chartered Organization         Community Church Of East Williston                         Attn:Theodore Roosevelt Council 386          45 E Williston Ave                                    East Williston, NY 11596‐1942                                                                                   First Class Mail
Chartered Organization         Community Church Of Glen Rock                              Attn: Northern New Jersey Council, Bsa 333   354 Rock Rd                                           Glen Rock, NJ 07452‐1812                                                                                        First Class Mail
Chartered Organization         Community Church Of God                                    Attn: Central Georgia Council 096            5555 Bethesda Ave                                     Macon, GA 31206‐4476                                                                                            First Class Mail
Chartered Organization         Community Church Of Greenburg                              Attn: Hoosier Trails Council 145 145         1427 W Vandalia Rd                                    Greensburg, IN 47240‐9207                                                                                       First Class Mail
Chartered Organization         Community Church Of Harrington Park                        Attn: Northern New Jersey Council, Bsa 333   1 Spring St                                           Harrington Park, NJ 07640‐1510                                                                                  First Class Mail
Chartered Organization         Community Church Of Ho Ho Kus                              Attn: Northern New Jersey Council, Bsa 333   400 Warren Ave                                        Ho Ho Kus, NJ 07423‐1574                                                                                        First Class Mail
Voting Party                   Community Church Of Hoboken                                c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200              Tampa, FL 33602                      erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Church Of Hohokus                                Attn: Northern New Jersey Council, Bsa 333   400 Warren Ave                                        Ho Ho Kus, NJ 07423‐1574                                                                                        First Class Mail
Chartered Organization         Community Church Of Hudson                                 Attn: Winnebago Council, Bsa 173             P.O. Box 60                                           Hudson, IA 50643‐0060                                                                                           First Class Mail
Chartered Organization         Community Church Of Huntington                             Attn: Green Mountain 592                     P.O. Box 24                                           Huntington, VT 05462‐0024                                                                                       First Class Mail
Chartered Organization         Community Church Of Joy                                    Attn: Chief Seattle Council 609              723 233rd Ave Ne                                      Sammamish, WA 98074‐7237                                                                                        First Class Mail
Voting Party                   Community Church Of Peru                                   Attn: Rev Peggi Eller & Brian Milton Guest   13 Elm St                                             Peru, NY 12972                                                             pastorpeggi@gmail.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Church Of Poway                                  Attn: San Diego Imperial Council 049         13501 Community Rd                                    Poway, CA 92064‐4064                                                                                            First Class Mail
Chartered Organization         Community Church Of Rolling Meadows                        Attn: Pathway To Adventure 456               2720 Kirchoff Rd                                      Rolling Meadows, IL 60008‐1860                                                                                  First Class Mail
Voting Party                   Community Church Of Sandwich                               Attn: Pastor Deb Hoffman                     P.O. Box 267                                          12 Church St                          Ctr Sandwich, NH 03227               sandwichchurch@gmail.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Church Of The Pelhams                            Westchester Putnam 388                       Washington Ave                                        Pelham, NY 10803                                                                                                First Class Mail
Voting Party                   Community Church Of The Pelhams, Inc                       Attn: Robert B Taylor                        448 Washington Ave                                    Pelham, NY 10803                                                           Rtbt76@hotmail.com                   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Church Pine Grove                                Attn:Golden Empire Council 047               14045 Ponderosa Way                                   Pine Grove, CA 95665‐9406                                                                                       First Class Mail
Chartered Organization         Community Church Presbyterian‐                             Attn: President Gerald R Ford 781            109 N Harrison St                                     Ludington, MI 49431‐1710                                                                                        First Class Mail
Chartered Organization         Community Club Of Selby                                    Attn: Sioux Council 733                      P.O. Box 244                                          Selby, SD 57472‐0244                                                                                            First Class Mail
Chartered Organization         Community Club Of Winthrop                                 Attn:Winnebago Council, Bsa 173              P.O. Box 159                                          Winthrop, IA 50682‐0159                                                                                         First Class Mail
Chartered Organization         Community Concerns Inc                                     Attn: Atlanta Area Council 092               605 Spencer St Nw                                     Atlanta, GA 30314‐4046                                                                                          First Class Mail
Chartered Organization         Community Concerns Inc                                     Attn: Atlanta Area Council 092               605 Spencer St Nw                                     Atlanta, GA 30314‐4046                                                                                          First Class Mail
Chartered Organization         Community Congregational Church                            Attn: San Diego Imperial Council 049         276 F St                                              Chula Vista, CA 91910‐2815                                                                                      First Class Mail
Chartered Organization         Community Congregational Church                            Attn: Three Fires Council 127                P.O. Box 308                                          Elburn, IL 60119‐0308                                                                                           First Class Mail
Chartered Organization         Community Congregational Church                            Attn: Crossroads of America 160              4592 Hurricane Rd                                     Franklin, IN 46131‐7651                                                                                         First Class Mail
Chartered Organization         Community Congregational Church                            Attn: Bay‐Lakes Council 635                  502 Center St                                         Kewaunee, WI 54216‐1306                                                                                         First Class Mail
Voting Party                   Community Congregational Church Of Chula Vista             Attn: Gerald May                             P.O. Box 5574                                         Chula Vista, CA 91912                                                      jerrymay121@outlook.com              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Community Congregational Church Of Elburn, Ucc             100 E Shannon St                             Elburn, IL 60119                                                                                                                 elburnuccoffice@gmail.com            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Congregational Church Ucc                        Attn: Montana Council 315                    P.O. Box 545                                          Columbus, MT 59019‐0545                                                                                         First Class Mail
Chartered Organization         Community Congregrational Church Ucc                       Attn: Montana Council 315                    P.O. Box 545                                          Columbus, MT 59019‐0545                                                                                         First Class Mail
Chartered Organization         Community Connections Of Jax ‐ Normandy                    North Florida Council 087                    1751 Lindsey Rd                                       Jacksonville, FL 32221‐6772                                                                                     First Class Mail
Chartered Organization         Community Covenant Church                                  Attn: Great Alaska Council 610               16123 Artillery Rd                                    Eagle River, AK 99577‐8076                                                                                      First Class Mail
Chartered Organization         Community Covenant Church                                  Attn: Heart of America Council 307           15700 W 87th St Pkwy                                  Lenexa, KS 66219‐1436                                                                                           First Class Mail
Chartered Organization         Community Covenant Church                                  Attn: The Spirit of Adventure 227            33 Lake St                                            Peabody, MA 01960‐3645                                                                                          First Class Mail
Voting Party                   Community Covenant Church                                  7018 Sydenstricker Rd                        Springfield, VA 22152                                                                                                            naah96@verizon.net                   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Economic Development Assoc                       Attn: Golden Empire Council 047              P.O. Box 424                                          Pollock Pines, CA 95726‐0424                                                                                    First Class Mail
Chartered Organization         Community Ems                                              Attn: Great Lakes Fsc 272                    25400 W 8 Mile Rd                                     Southfield, MI 48033‐3866                                                                                       First Class Mail
Chartered Organization         Community Evangelical Free Church                          Attn: Lasalle Council 165                    120 E Bertrand Rd                                     Niles, MI 49120‐4125                                                                                            First Class Mail
Chartered Organization         Community Federated Church                                 Attn: Greater Wyoming Council 638            244 N 6th St                                          Thermopolis, WY 82443‐2310                                                                                      First Class Mail
Chartered Organization         Community Fellowship Church                                Attn: Atlanta Area Council 092               612 Cohran Store Rd                                   Douglasville, GA 30134‐7286                                                                                     First Class Mail
Chartered Organization         Community Grand Lodge Of Masons                            Attn: Northern Star Council 250              11501 Masonic Home Dr                                 Minneapolis, MN 55437‐3661                                                                                      First Class Mail
Chartered Organization         Community Healthcare Clinic                                Attn: Northwest Texas Council 587            200 Mlk Jr Blvd                                       Wichita Falls, TX 76301‐1152                                                                                    First Class Mail
Chartered Organization         Community Housing Innovations                              Attn: Suffolk County Council Inc 404         3240 Route 112                                        Medford, NY 11763‐1447                                                                                          First Class Mail
Chartered Organization         Community Housing Partners                                 Attn: Blue Ridge Mtns Council 599            1446 Fayette St                                       Martinsville, VA 24112‐3361                                                                                     First Class Mail
Chartered Organization         Community Learning Center                                  Attn: Samoset Council, Bsa 627               500 N Pierce St                                       Adams, WI 53910‐9316                                                                                            First Class Mail
Chartered Organization         Community Learning Center Ldf School                       Attn: Samoset Council, Bsa 627               2899 State Hwy 47 S                                   Lac Du Flambeau, WI 54538‐9769                                                                                  First Class Mail
Chartered Organization         Community Learning Center, Inc                             Attn: Longhorn Council 662                   555 N Grants Ln                                       Fort Worth, TX 76108‐1803                                                                                       First Class Mail
Voting Party                   Community Life United Methodist Chruch                     Attn: Caleb Bennett                          4115 Soundside Dr                                     Gulf Breeze, FL 32563                                                      cbennett@clc.life                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Life Utd Methodist Church                        Gulf Coast Council 773                       415 Soundside Dr                                      Gulf Breeze, FL 32563                                                                                           First Class Mail
Chartered Organization         Community Lions Club                                       Attn: Middle Tennessee Council 560           336 Dunnaway Rd                                       Shelbyville, TN 37160‐5667                                                                                      First Class Mail
Voting Party                   Community Lions Club                                       Attn: Phillip Perryman                       143 Virgil Beasley Rd                                 Chapel Hill, TN 37034                                                      perrymanpe@gmail.com                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Lutheran Church                                  Attn: Las Vegas Area Council 328             3720 E Tropicana Ave                                  Las Vegas, NV 89121‐7337                                                                                        First Class Mail
Voting Party                   Community Lutheran Church                                  21014 Whitfield Pl                           Sterling, VA 20165                                                                                                               clcsecretary@communitylutheran.org   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Medical Center                                   Attn: Jersey Shore Council 341               99 Route 37 W                                         Toms River, NJ 08755‐6423                                                                                       First Class Mail
Chartered Organization         Community Memorial Hospital                                Attn: Leatherstocking 400                    150 Broad St                                          Hamilton, NY 13346‐9575                                                                                         First Class Mail
Chartered Organization         Community Memorial Hospital                                Attn: Black Swamp Area Council 449           208 Columbus St                                       Hicksville, OH 43526‐1250                                                                                       First Class Mail
Voting Party                   Community Methodist Church                                 Attn: Cory Emmett Paine                      13070 5th St                                          P.O. Box 871                          Clearlake Oaks, CA 95423             coryp@calnevumc.org                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Community Methodist Church Of Desert Hot Springs           c/o East District Union of the Umc           Attn: John Dandurand                                  Ontario, Ca 91762                     Ontario, CA 91762                    eastdistrict@calpacumc.org           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Montessori                                       West Tennessee Area Council 559              716 Westwood Ave                                      Jackson, TN 38301‐4265                                                                                          First Class Mail
Chartered Organization         Community Of Christ                                        Pony Express Council 311                     902 W 4th St                                          Cameron, MO 64429‐1419                                                                                          First Class Mail
Chartered Organization         Community Of Christ                                        President Gerald R Ford 781                  220 S Center Ave                                      Gaylord, MI 49735‐1308                                                                                          First Class Mail
Chartered Organization         Community Of Christ                                        Mississippi Valley Council 141 141           P.O. Box 513                                          Nauvoo, IL 62354‐0513                                                                                           First Class Mail
Chartered Organization         Community Of Christ                                        Heart of America Council 307                 515 S 1st St                                          Odessa, MO 64076‐1505                                                                                           First Class Mail
Chartered Organization         Community Of Christ                                        c/o David Powell                             1103 Main St                                          Stewartsville, MO 64490‐7106                                                                                    First Class Mail
Chartered Organization         Community Of Christ                                        Jayhawk Area Council 197                     5252 SW 19th St                                       Topeka, KS 66604‐3664                                                                                           First Class Mail
Chartered Organization         Community Of Christ                                        Denver Area Council 061                      3780 Ward Rd                                          Wheat Ridge, CO 80033‐5231                                                                                      First Class Mail
Voting Party                   Community of Christ                                        Office of General Counsel                    1001 W Walnut St                                      Independence, MO 64050                                                     jcraft@cofchrist.org                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Of Christ Abundant Life Ctr                      Pony Express Council 311                     5130 Faraon St                                        Saint Joseph, MO 64506‐3371                                                                                     First Class Mail
Chartered Organization         Community Of Christ Church                                 Mid‐America Council 326                      140 W Kanesville Blvd                                 Council Bluffs, IA 51503‐3049                                                                                   First Class Mail
Chartered Organization         Community Of Christ Church                                 Mobile Area Council‐Bsa 004                  672 Azalea Rd                                         Mobile, AL 36609‐1530                                                                                           First Class Mail
Chartered Organization         Community Of Christ Church                                 Mississippi Valley Council 141 141           906 W Henry St                                        Mount Pleasant, IA 52641‐1509                                                                                   First Class Mail
Chartered Organization         Community Of Christ Church                                 Inland Nwest Council 611                     11515 E Broadway Ave                                  Spokane Valley, WA 99206‐4910                                                                                   First Class Mail
Chartered Organization         Community Of Christ The Redeemer                           Northern Star Council 250                    110 Crusader Ave W                                    West Saint Paul, MN 55118‐4427                                                                                  First Class Mail
Chartered Organization         Community Of Faith Church                                  Lake Erie Council 440                        9715 E River Rd                                       Elyria, OH 44035‐8149                                                                                           First Class Mail
Chartered Organization         Community Of Faith Church                                  Greater St Louis Area Council 312            5208 Meadowland Pkwy                                  Marion, IL 62959‐6386                                                                                           First Class Mail
Chartered Organization         Community Of Faith Methodist Church                        National Capital Area Council 082            13224 Franklin Farm Rd                                Herndon, VA 20171‐4034                                                                                          First Class Mail
Voting Party                   Community of Faith UMC                                     c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200              Tampa, FL 33602                      erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Community Of Faith United Methodist Church ‐ Davenport     c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200              Tampa, FL 33602                      erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Of Ghs Outdoor Ed Post                           Chief Seattle Council 609                    P.O. Box 22911                                        Seattle, WA 98122‐0911                                                                                          First Class Mail
Chartered Organization         Community Of Grace Church                                  Northeast Georgia Council 101                1200 Athens Hwy                                       Grayson, GA 30017‐1769                                                                                          First Class Mail
Chartered Organization         Community Of Grace Lutheran Church                         Northern Star Council 250                    4000 Linden St                                        White Bear Lake, MN 55110‐4252                                                                                  First Class Mail
Voting Party                   Community Of Grace Umc                                     Attn: Rev Donna Hinkle                       225 28th St                                           Huntington, WV 25702                                                       communityofgraceumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Of Hope                                          Anthony Wayne Area 157                       208 W Jackson St                                      Columbia City, IN 46725‐2008                                                                                    First Class Mail
Chartered Organization         Community Of Hope Church                                   Grand Canyon Council 010                     45295 W Honeycutt Ave                                 Maricopa, AZ 85139‐1801                                                                                         First Class Mail
Chartered Organization         Community Of Hope Umc                                      Longhorn Council 662                         1800 E Debbie Ln                                      Mansfield, TX 76063‐3336                                                                                        First Class Mail
Voting Party                   Community Of Hope United Methodist Church ‐ Mansfield      c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200              Tampa, FL 33602                      erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Community Of Hope United Methodist Church ‐ Mansfield      1800 E Debbie Lane                           Mansfield, TX 76063                                                                                                                                                   First Class Mail
Chartered Organization         Community Of Joy, Elca                                     Great Swest Council 412                      841 Saratoga Dr NE                                    Rio Rancho, NM 87144‐3202                                                                                       First Class Mail
Chartered Organization         Community Of Love Lutheran Church                          Chester County Council 539                   117 N 4th St                                          Oxford, PA 19363‐1503                                                                                           First Class Mail
Chartered Organization         Community Of Morgan'S Point Resort                         Longhorn Council 662                         8 Morgans Point Blvd                                  Belton, TX 76513‐6438                                                                                           First Class Mail
Chartered Organization         Community Of Morgan'S Point Resort                         Longhorn Council 662                         8 Morgans Point Blvd                                  Morgans Point Resort, TX 76513‐6438                                                                             First Class Mail
Chartered Organization         Community Of Saints                                        Northern Star Council 250                    335 Hurley St E                                       West St Paul, MN 55118‐1605                                                                                     First Class Mail
Chartered Organization         Community Of Saints School                                 Northern Star Council 250                    335 Hurley St E                                       West St Paul, MN 55118‐1605                                                                                     First Class Mail
Chartered Organization         Community Of St Mary & St Ann                              Water and Woods Council 782                  807 Saint Marys Blvd                                  Charlotte, MI 48813‐2215                                                                                        First Class Mail
Voting Party                   Community Of The Ascension, Cambridge And Upper Fairmont   c/o The Law Office of Andrea Ross            Attn: Andrea Ross, Esq                                129 N West St, Ste 1                  Easton, MD 21601                     Andie@AndieRossLaw.com               Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Community Presbyterian Church                              Buckskin 617                                 605 Bellefonte Princess Rd                            Ashland, KY 41101‐2181                                                                                          First Class Mail
Chartered Organization         Community Presbyterian Church                              North Florida Council 087                    150 Sherry Dr                                         Atlantic Beach, FL 32233‐5236                                                                                   First Class Mail
Chartered Organization         Community Presbyterian Church                              Patriots Path Council 358                    220 Main St                                           Chester, NJ 07930                                                                                               First Class Mail
Chartered Organization         Community Presbyterian Church                              Westmoreland Fayette 512                     P.O. Box 361                                          New Alexandria, PA 15670‐0361                                                                                   First Class Mail
Chartered Organization         Community Presbyterian Church                              Occoneechee 421                              P.O. Box 1449                                         Pinehurst, NC 28370‐1449                                                                                        First Class Mail
Chartered Organization         Community Presbyterian Church                              Mt Diablo‐Silverado Council 023              200 E Leland Rd                                       Pittsburg, CA 94565‐4947                                                                                        First Class Mail
Chartered Organization         Community Presbyterian Church                              South Texas Council 577                      P.O. Box 147                                          Port Aransas, TX 78373‐0147                                                                                     First Class Mail
Chartered Organization         Community Presbyterian Church                              Crater Lake Council 491                      529 NW 19th St                                        Redmond, OR 97756‐8520                                                                                          First Class Mail
Chartered Organization         Community Presbyterian Church                              Mt Diablo‐Silverado Council 023              2800 Georgia St                                       Vallejo, CA 94591‐6504                                                                                          First Class Mail
Voting Party                   Community Presbyterian Church                              P.O. Box 1689                                Redmond, OR 97756                                                                                                                ryan@redmondcpc.org                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Community Presbyterian Church                              145 Carletondale Rd                          Ringwood, NJ 07456                                                                                                               ringwoodcpc@gmail.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Community Presbyterian Church                              Richard J Crowe                              8315 Warrens Way                                      Wanaque, NJ 07465                                                          rich.crowe@gmail.com                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 72 of 442
                                                                                   Case 20-10343-LSS                                                   Doc 8171                                      Filed 01/06/22                                                      Page 88 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                       Name                                                                                                  Address                                                                                                                        Email              Method of Service
Chartered Organization         Community Presbyterian Church A.F.                             Utah National Parks 591                         75 N 100 E                                             American Fork, UT 84003‐1732                                                                                      First Class Mail
Chartered Organization         Community Presbyterian Church Cambria                          Los Padres Council 053                          2250 Yorkshire Dr                                      Cambria, CA 93428‐3917                                                                                            First Class Mail
Chartered Organization         Community Presbyterian Church La Mirada                        Greater Los Angeles Area 033                    13701 Hillsborough Dr                                  La Mirada, CA 90638‐3400                                                                                          First Class Mail
Voting Party                   Community Presbyterian Church Of Chester                       Attn: Christopher Wayne Scrivens                220 Main St                                            P.O. Box 148                             Chester, NJ 07930                       pastor@cpcchester.org            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community Presbyterian Church Of Chester, Nj                   Attn: Christopher Wayne Scrivens                220 Main St                                            P.O. Box 148                             Chester, NJ 07930                       pastor@cpcchester.org            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community Presbyterian Church Of Chester, Nj                   Attn: Ellen O'Connell                           600 Parsippany Rd, Ste 204                             Parsippany, NJ 07054                                                             pastor@cpcchester.org            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community Presbyterian Church Of Chester, Nj                   Attn: Ellen O'Connell Esq                       600 Parsippany Rd, Ste 204                             Parsippany, NJ 07054                                                             eoconnell@iwwt.law               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community Presbyterian Church Of Three Rivers                  Attn: Jackie Tuttle                             P.O. Box 685                                           43410 Sierra Drr                         Three Rivers, CA 93271                  3rpresbyterian@att.net           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Community Rowing Of San Diego                                  San Diego Imperial Council 049                  3431 Conrad Ave                                        San Diego, CA 92117‐1748                                                                                          First Class Mail
Chartered Organization         Community School 112                                           Greater New York Councils, Bsa 640              1925 Schieffelin Ave                                   Bronx, NY 10466‐5605                                                                                              First Class Mail
Chartered Organization         Community Service Venturing                                    Alameda Council Bsa 022                         2857 Lincoln Ave                                       Alameda, CA 94501‐3068                                                                                            First Class Mail
Chartered Organization         Community Support Assoc                                        Transatlantic Council, Bsa 802                  Joachim‐Becher‐Str. 19                                                                     9213 60320 Frankfurt/Main          Germany                                    First Class Mail
Chartered Organization         Community Support Assoc Frankfurt                              Transatlantic Council, Bsa 802                  Giessener Strasse 30                                   Frankfurt, 60435                         Germany                                                                  First Class Mail
Voting Party                   Community Umc                                                  Attn: Trustee Chair                             1690 Riedel Rd                                         Crofton, MD 21114                                                                trustees@cumc.net                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community Umc                                                  c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200                 Tampa, FL 33602                         erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community Umc Fairfield                                        Attn: Terry Odneal                              1875 Fairfield Ave                                     Fairfield, CA 94533                                                              terryodneal@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community Umc Of Kenilworth                                    c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200                 Tampa, FL 33602                         erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community Umc Of Wrightwood                                    Attn: Bruce Laclaire                            P.O. Box 62                                            Wrightwood, CA 92397                                                             om.wwumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              Thomas William Ln                               507 W E St                                             Butner, NC 27509                                                                 tlane16@nc.rr.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              Attn: Michelle Huck                             434 Lewis St                                           P.O. Box 300                             Pagosa Springs, CO 81147                secretary@cumcps.org             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              Attn: George C Hooper                           6652 Heil Ave                                          Huntington Beach, CA 92647                                                       pastorgeorge@cumchb.org          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              Attn: Rebecca Cho                               5 Damon St                                             Wayland, MA 01778                                                                offic@cumcwayland.org            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              Attn: Lee Roy Pihard Jr                         311 28 St                                              Butner, NC 27509                                                                 lpihard@nc.rr.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              Lemoille: Community                             73 Main St                                             Lamoille, IL 61330                                                               lamoillecumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              Attn: Kitty Kaehler                             14700 Watertown Plank Rd                               Elm Grove, WI 53122                                                              kitty.kaehler@cumceg.org         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              Attn: Valerie Ward, Office Manager              163 W 4800 S                                           Ogden, UT 84405                                                                  gtwgbrown@gmail.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200                 Tampa, FL 33602                         erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              Attn: Kerry L Moyer, Chair, Finance Committee   8680 Fort Smallwood Dr                                 Pasadena, MD 21122                                                               communityumc2@verizon.net        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              Attn: Caprice Brown                             300 Brock Bridge Rd                                    Laurel, MD 20724                                                                 brownbowie3@gmail.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              Attn: Alice Kerns                               386 Browns Chapel Rd                                   Morgantown, WV 26508                                                             alice.kerns@mail.wvu.edu         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              Attn: Christine Hollingshead                    135 Laurel St                                          Valley Springs, CA 95252                                                         2hollingsheads@gmail.com         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church                              147 Burke Ave                                   Prestonburg, KY 41653                                                                                                                                                    First Class Mail
Voting Party                   Community United Methodist Church ‐ Oakdale                    1480 Poplar St                                  Oakdale, CA 95361                                                                                                                       cumcoakdaleadmin@gmail.com       Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church 3114 Okeechobee Rd, Fort P   c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200                 Tampa, FL 33602                         erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church At Crystal Lake              Attn: Jennifer Erin Lund                        9 Hemlock Trl                                          Ellington, CT 06029                                                              jenelund08@gmail.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church At Crystal Lake              Attn: Jennifer Lund                             278 Sandy Beach Rd                                     Ellington, CT 06029                                                              finance@crystallakecommumc.org   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church Hispanic                     Attn: Jose Mora‐Gil                             40 13th St                                             Monroe, NJ 08831                                                                 jfmoragil@hotmail.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church North Anson, Maine           Attn: Linda Powell, Finance Chair               49 Crescent St                                         Skowhegan, ME 04976                                                              lindaleehunter@hotmail.com       Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church Of Clearlake Oaks            P.O. Box 962                                    Clearlake Oak, CA 95423                                                                                                                 coryp@calnevumc.org              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church Of Half Moon Bay             Attn: Chair of Board of Trustees                777 Miramontes St                                      Half Moon Bay, CA 94019                                                          office@hmbcumc.org               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church Of Julian                    Attn: Rudy Rikansrud                            2420 Frisius Dr                                        P.O. Box 2366                            Julian, CA 92036                        rikansrudrb@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church Of Julian                    Attn: Lucinda Arntson                           P.O. Box 460                                           Julian, CA 92036                                                                 rikansrudrb@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church Of Naperville, Inc.          Attn: Hunter James Henderson                    20 N Center                                            Naperville, IL 60540                                                             hwayoungchong@gmail.com          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church Of Williams (Az)             c/o Clarke Law Firm, Plc                        Attn: Marilee Miller Clarke                            8141 E Indian Bend Rd, Ste 105           Scottsdale, AZ 85250                    marilee@clarkelawaz.com          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church, 4921 S Us Hwy 17/92, Cass   c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200                 Tampa, FL 33602                         erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church, North Anson Maine           Attn: Sharon Sagat‐Stover                       362 Dunham Rd                                          Vassalboro, ME 04989                                                             mccrevstover@aol.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church, Yerington                   Attn: Pastor Betty Weiser                       221 N Main St                                          P.O. Box 109                             Yerington, NV 89447                     betty.weiser@cnumc.org           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church‐Hispanic                     Attn: Jose Mora                                 8810 35th Ave                                          Jackson Heights, NY 11372                                                        jfmoragil@hotmail.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Community United Methodist Church‐Jackson Heights              81‐10 35th Ave                                  Jackson Heights, NY 11372                                                                                                               pastoreumin@hotmail.com          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Community Utd Church Of Christ                                 Hawk Mountain Council 528                       3330 Saint Lawrence Ave                                Reading, PA 19606‐2341                                                                                            First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Grand Canyon Council 010                        104 W Wern Ave                                         Avondale, AZ 85323                                                                                                First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Gulf Stream Council 085                         401 SW 1st St                                          Belle Glade, FL 33430‐3403                                                                                        First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Montana Council 315                             750 Electric Ave                                       Bigfork, MT 59911‐3631                                                                                            First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Miami Valley Council, Bsa 444                   114 Hay Ave                                            Brookville, OH 45309‐1704                                                                                         First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Central Florida Council 083                     321 Piney Ridge Rd                                     Casselberry, FL 32707‐3805                                                                                        First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Simon Kenton Council 441                        120 N Pickaway St                                      Circleville, OH 43113‐1730                                                                                        First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Inland Nwest Council 611                        1470 W Hanley Ave                                      Coeur D Alene, ID 83815‐8639                                                                                      First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Baltimore Area Council 220                      1690 Riedel Rd                                         Crofton, MD 21114‐1631                                                                                            First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Miami Valley Council, Bsa 444                   339 Meyer Ave                                          Dayton, OH 45431‐1977                                                                                             First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Mt Diablo‐Silverado Council 023                 1875 Fairfield Ave                                     Fairfield, CA 94533‐3602                                                                                          First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Gulf Stream Council 085                         3114 Okeechobee Rd                                     Fort Pierce, FL 34947‐4619                                                                                        First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Central Florida Council 083                     309 College Ave                                        Fruitland Park, FL 34731‐3103                                                                                     First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Pacific Skyline Council 031                     777 Miramontes St                                      Half Moon Bay, CA 94019‐1926                                                                                      First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Mountaineer Area 615                            1966 Grafton Rd                                        Morgantown, WV 26508‐4712                                                                                         First Class Mail
Chartered Organization         Community Utd Methodist Church                                 President Gerald R Ford 781                     1614 Ruddiman Dr                                       Muskegon, MI 49445‐3040                                                                                           First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Greater Tampa Bay Area 089                      207 Buckingham Ave E                                   Oldsmar, FL 34677‐3742                                                                                            First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Baltimore Area Council 220                      8680 Smallwood Rd                                      Pasadena, MD 21122                                                                                                First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Chief Seattle Council 609                       130 Church St                                          Port Hadlock, WA 98339‐9439                                                                                       First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Cape Fear Council 425                           2999 Calloway Rd                                       Raeford, NC 28376‐7636                                                                                            First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Conquistador Council Bsa 413                    220 Junction Rd                                        Ruidoso, NM 88345‐6072                                                                                            First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Mid‐America Council 326                         1st and Baker Dr                                       Sergeant Bluff, IA 51054                                                                                          First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Three Fires Council 127                         400 W Spring St                                        South Elgin, IL 60177‐1538                                                                                        First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Water and Woods Council 782                     P.O. Box 186                                           Standish, MI 48658‐0186                                                                                           First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Tidewater Council 596                           1072 Old Kempsville Rd                                 Virginia Beach, VA 23464‐5561                                                                                     First Class Mail
Chartered Organization         Community Utd Methodist Church                                 Grand Canyon Council 010                        127 W Sherman Ave                                      Williams, AZ 86046‐2546                                                                                           First Class Mail
Chartered Organization         Community Utd Methodist Mens Club                              Orange County Council 039                       6652 Heil Ave                                          Huntington Beach, CA 92647‐4359                                                                                   First Class Mail
Chartered Organization         Community Utd Presbyterian Church                              Westmoreland Fayette 512                        P.O. Box 361                                           New Alexandria, PA 15670‐0361                                                                                     First Class Mail
Chartered Organization         Compass Christian Church                                       Longhorn Council 662                            2600 Hall Johnson Rd                                   Colleyville, TX 76034‐5257                                                                                        First Class Mail
Chartered Organization         Compass Christian Church                                       Great Lakes Fsc 272                             35475 5 Mile Rd                                        Livonia, MI 48154‐2366                                                                                            First Class Mail
Voting Party                   Compass Group Usa                                              Dba Eurest                                      Attn: Cathy Alion                                      2400 Yorkmont Rd                         Charlotte, NC 28217                     catherne.alion@compass‐usa.com   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Complete Structural Consulting                                 Crossroads of America 160                       9880 Westpoint Dr, Ste 100                             Indianapolis, IN 46256‐3385                                                                                       First Class Mail
Chartered Organization         Completely Kids                                                Mid‐America Council 326                         2566 Saint Marys Ave                                   Omaha, NE 68105‐1655                                                                                              First Class Mail
Chartered Organization         Completely Kids Norris Middle School                           Mid‐America Council 326                         2235 S 46th St                                         Omaha, NE 68106‐3304                                                                                              First Class Mail
Chartered Organization         Composite F Am Masonic Lodge 499                               Great Lakes Fsc 272                             27151 Gratiot Ave                                      Roseville, MI 48066‐2933                                                                                          First Class Mail
Chartered Organization         Compton Fire Dept Station 1                                    Greater Los Angeles Area 033                    201 S Acacia Ave                                       Compton, CA 90220‐3102                                                                                            First Class Mail
Chartered Organization         Computer Bits Inc                                              Pathway To Adventure 456                        7805 Palm Dr                                           Orland Park, IL 60462‐4232                                                                                        First Class Mail
Voting Party                   Computer Data Source, Inc                                      275 Industrial Way W                            Eatontown, NJ 07724‐2205                                                                                                                                                 First Class Mail
Chartered Organization         Comstock North                                                 Southern Shores Fsc 783                         3100 N 26th St                                         Kalamazoo, MI 49048‐9215                                                                                          First Class Mail
Chartered Organization         Comstock Park Comm Outreach Coalition                          President Gerald R Ford 781                     100 Betty St Ne                                        Comstock Park, MI 49321‐9116                                                                                      First Class Mail
Chartered Organization         Conant Elementary School PTO                                   Great Lakes Fsc 272                             4100 Quarton Rd                                        Bloomfield Hills, MI 48302‐4041                                                                                   First Class Mail
Chartered Organization         Concerned Adults For Troop 146                                 Great Lakes Fsc 272                             21641 Yale St                                          Saint Clair Shores, MI 48081‐1997                                                                                 First Class Mail
Chartered Organization         Concerned Adults Of Juveniles                                  Calcasieu Area Council 209                      P.O. Box 2073                                          Lake Charles, LA 70602‐2073                                                                                       First Class Mail
Chartered Organization         Concerned Adults Of Troop 248                                  Great Lakes Fsc 272                             49658 Guy Dr                                           Macomb, MI 48044‐1647                                                                                             First Class Mail
Chartered Organization         Concerned Citizen Group                                        Blue Grass Council 204                          2002 Memphis Ct                                        Lexington, KY 40505‐2531                                                                                          First Class Mail
Chartered Organization         Concerned Citizens                                             Westchester Putnam 388                          625 Douglas Rd                                         Chappaqua, NY 10514‐3021                                                                                          First Class Mail
Chartered Organization         Concerned Citizens At Indian Lake Elem                         Middle Tennessee Council 560                    505 Indian Lake Rd                                     Hendersonville, TN 37075‐4600                                                                                     First Class Mail
Chartered Organization         Concerned Citizens At Moore Elementary                         Middle Tennessee Council 560                    1061 Lewisburg Pike                                    Franklin, TN 37064‐6727                                                                                           First Class Mail
Chartered Organization         Concerned Citizens Benjamin Sch Distr 25                       Three Fires Council 127                         28W250 Saint Charles Rd                                West Chicago, Il 60185                                                                                            First Class Mail
Chartered Organization         Concerned Citizens For Holy Cross                              Heart of America Council 307                    540 Holmes St                                          Kansas City, MO 64106‐3501                                                                                        First Class Mail
Chartered Organization         Concerned Citizens For Scouting                                Pathway To Adventure 456                        2211 N Burke Dr                                        Arlington Heights, IL 60004‐3249                                                                                  First Class Mail
Chartered Organization         Concerned Citizens For Young Adults                            Cherokee Area Council 556                       153 N Lake Ter                                         Rossville, GA 30741‐8155                                                                                          First Class Mail
Chartered Organization         Concerned Citizens For Youth Our Commty                        Gulf Stream Council 085                         3720 Sherwood Blvd                                     Delray Beach, FL 33445‐5631                                                                                       First Class Mail
Chartered Organization         Concerned Citizens Group                                       Middle Tennessee Council 560                    1135 Rucker Rd                                         Christiana, TN 37037‐5412                                                                                         First Class Mail
Chartered Organization         Concerned Citizens Kc                                          Neighborhood Academy                            1619 E 24th Ter                                        Kansas City, MO 64108‐3005                                                                                        First Class Mail
Chartered Organization         Concerned Citizens Meadowmere Elem                             Heart of America Council 307                    7010 E 136th St                                        Grandview, MO 64030‐3829                                                                                          First Class Mail
Chartered Organization         Concerned Citizens Monte Sano Village                          Istrouma Area Council 211                       3002 E Mason Ave                                       Baton Rouge, LA 70805‐1201                                                                                        First Class Mail
Chartered Organization         Concerned Citizens Of Atoka                                    West Tennessee Area Council 559                 2055 Rosemark Rd                                       Atoka, TN 38004‐7834                                                                                              First Class Mail
Chartered Organization         Concerned Citizens Of Bear River Valley                        Trapper Trails 589                              660 N 100 E                                            Tremonton, UT 84337‐1103                                                                                          First Class Mail
Chartered Organization         Concerned Citizens Of Beech Community                          Middle Tennessee Council 560                    3124 Long Hollow Pike                                  Hendersonville, TN 37075                                                                                          First Class Mail
Chartered Organization         Concerned Citizens Of Bradford                                 Five Rivers Council, Inc 375                    9888 Old State Rd                                      Bradford, NY 14815‐9712                                                                                           First Class Mail
Chartered Organization         Concerned Citizens Of Camp Tuscarora                           Baden‐Powell Council 368                        209 Summitt Rd                                         Windsor, NY 13865                                                                                                 First Class Mail
Chartered Organization         Concerned Citizens Of Cedar Hill                               Middle Tennessee Council 560                    7617 Hwy 41 N, Ste 101                                 Adams, TN 37010‐5089                                                                                              First Class Mail
Chartered Organization         Concerned Citizens Of Chesbrough                               Istrouma Area Council 211                       16219 Hwy 10                                           Roseland, LA 70456‐2169                                                                                           First Class Mail
Chartered Organization         Concerned Citizens Of Clarksdale                               Istrouma Area Council 211                       801 Swan Ave                                           Baton Rouge, LA 70807‐4803                                                                                        First Class Mail
Chartered Organization         Concerned Citizens Of Conn West                                Heart of America Council 307                    1100 High Grove Rd                                     Grandview, MO 64030‐2473                                                                                          First Class Mail
Chartered Organization         Concerned Citizens Of Crew 370                                 Istrouma Area Council 211                       43285 Bayou Narcisse Rd                                Gonzales, LA 70737‐7661                                                                                           First Class Mail
Chartered Organization         Concerned Citizens Of Danville                                 Prairielands 117                                9994 Camp Drake Rd                                     Fairmount, IL 61841‐6425                                                                                          First Class Mail
Chartered Organization         Concerned Citizens Of Dearing Elementary                       Las Vegas Area Council 328                      3046 Ferndale St                                       Las Vegas, NV 89121‐2612                                                                                          First Class Mail
Chartered Organization         Concerned Citizens Of Dinuba                                   Sequoia Council 027                             850 N Eaton Ave                                        Dinuba, CA 93618‐3223                                                                                             First Class Mail
Chartered Organization         Concerned Citizens Of Ector                                    Circle Ten Council 571                          P.O. Box 392                                           Ector, TX 75439‐0392                                                                                              First Class Mail
Chartered Organization         Concerned Citizens Of Hampton Hall                             Atlanta Area Council 092                        10545 Centennial Dr                                    Alpharetta, GA 30022‐5769                                                                                         First Class Mail
Chartered Organization         Concerned Citizens Of Hawthorne                                Sioux Council 733                               422 N Duluth Ave                                       Sioux Falls, SD 57104‐2724                                                                                        First Class Mail
Chartered Organization         Concerned Citizens Of Henderson County                         West Tennessee Area Council 559                 317 W Church St                                        Lexington, TN 38351‐2096                                                                                          First Class Mail
Chartered Organization         Concerned Citizens Of Ingels School                            Heart of America Council 307                    11600 Food Ln                                          Kansas City, MO 64134‐3904                                                                                        First Class Mail
Chartered Organization         Concerned Citizens Of Leadore                                  Grand Teton Council 107                         P.O. Box 70                                            Leadore, ID 83464‐0070                                                                                            First Class Mail
Chartered Organization         Concerned Citizens Of Lemoore                                  Sequoia Council 027                             1248 W Oak Dr Cir                                      Reedley, CA 93654‐2727                                                                                            First Class Mail
Chartered Organization         Concerned Citizens Of Norwood Park                             Pathway To Adventure 456                        6113 N Northcott Ave                                   Chicago, IL 60631‐2457                                                                                            First Class Mail
Chartered Organization         Concerned Citizens Of Pack 228                                 Las Vegas Area Council 328                      4668 Petaluma Cir                                      Las Vegas, NV 89120‐1743                                                                                          First Class Mail
Chartered Organization         Concerned Citizens Of Pack 29                                  Sequoia Council 027                             6263 E Homan Ave                                       Fresno, CA 93727‐8849                                                                                             First Class Mail
Chartered Organization         Concerned Citizens Of Pack 378                                 Middle Tennessee Council 560                    6300 Lascassas Pike                                    Lascassas, TN 37085‐4574                                                                                          First Class Mail
Chartered Organization         Concerned Citizens Of Pack 603                                 Las Vegas Area Council 328                      3143 Blossom Glen Dr                                   Henderson, NV 89014‐3166                                                                                          First Class Mail
Chartered Organization         Concerned Citizens Of Pierce County                            Coastal Georgia Council 099                     3116 Rhett Cir                                         Patterson, GA 31557‐2452                                                                                          First Class Mail
Chartered Organization         Concerned Citizens Of Pollock                                  Louisiana Purchase Council 213                  17411 Hwy 167                                          Dry Prong, LA 71423‐9201                                                                                          First Class Mail
Chartered Organization         Concerned Citizens Of Prairie School                           Prairielands 117                                2102 E Washington St                                   Urbana, IL 61802‐4520                                                                                             First Class Mail
Chartered Organization         Concerned Citizens Of Prince George                            Heart of Virginia Council 602                   559 Trenton Dr                                         Fort Lee, VA 23801‐1494                                                                                           First Class Mail
Chartered Organization         Concerned Citizens Of Redfield                                 Sioux Council 733                               17649 392nd Ave                                        Redfield, SD 57469‐7218                                                                                           First Class Mail
Chartered Organization         Concerned Citizens Of Riverwoods School                        Three Fires Council 127                         2225 Keim Rd                                           Naperville, IL 60565‐4003                                                                                         First Class Mail
Chartered Organization         Concerned Citizens Of Salina                                   Utah National Parks 591                         90 W Main St                                           Salina, UT 84654‐1353                                                                                             First Class Mail
Chartered Organization         Concerned Citizens Of Selma                                    Sequoia Council 027                             132 W Burlwood Ln                                      Lemoore, CA 93245‐2314                                                                                            First Class Mail
Chartered Organization         Concerned Citizens Of Shayne Elementary                        Middle Tennessee Council 560                    6217 Nolensville Pike                                  Nashville, TN 37211‐6814                                                                                          First Class Mail
Chartered Organization         Concerned Citizens Of Sioux Falls                              Sioux Council 733                               800 N West Ave                                         Sioux Falls, SD 57104‐5720                                                                                        First Class Mail
Chartered Organization         Concerned Citizens Of St. Pauls                                Cape Fear Council 425                           253 Gentle Winds Dr                                    Saint Pauls, NC 28384‐8935                                                                                        First Class Mail
Chartered Organization         Concerned Citizens Of Sumner County                            Middle Tennessee Council 560                    555 Hickory Hills Blvd                                 Whites Creek, TN 37189‐9331                                                                                       First Class Mail
Chartered Organization         Concerned Citizens Of Thomas Paine                             Prairielands 117                                1801 James Cherry Dr                                   Urbana, IL 61802‐5584                                                                                             First Class Mail
Chartered Organization         Concerned Citizens Of Tracy                                    Sioux Council 733                               162 Morgan St                                          Tracy, MN 56175‐1323                                                                                              First Class Mail
Chartered Organization         Concerned Citizens Of Troop 29                                 Sequoia Council 027                             6263 E Homan Ave                                       Fresno, CA 93727‐8849                                                                                             First Class Mail
Chartered Organization         Concerned Citizens Of Venturing                                Prairielands 117                                802 W Main St                                          Urbana, IL 61801‐2510                                                                                             First Class Mail
Chartered Organization         Concerned Citizens Of Westdale Heights                         Istrouma Area Council 211                       849 S 17th St                                          Baton Rouge, LA 70802‐4026                                                                                        First Class Mail
Chartered Organization         Concerned Citizens Of Yankee Ridge                             Prairielands 117                                2102 S Anderson St                                     Urbana, IL 61801‐6710                                                                                             First Class Mail
Chartered Organization         Concerned Citizens Parents Of Albany                           Istrouma Area Council 211                       P.O. Box 965                                           Albany, LA 70711‐0965                                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 73 of 442
                                                                                 Case 20-10343-LSS                                                 Doc 8171                                             Filed 01/06/22                                            Page 89 of 457
                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                      Service List
                                                                                                                                                                               Served as set forth below

        Description                                                       Name                                                                                                     Address                                                                                                            Email                 Method of Service
Chartered Organization         Concerned Citizens Robert Frost Elem                     Sioux Council 733                                 4708 S Arthur Cir                                             Sioux Falls, SD 57105‐7037                                                                               First Class Mail
Chartered Organization         Concerned Citizens Symington Elem Sch                    Heart of America Council 307                      8650 Ruskin Way                                               Kansas City, MO 64134‐3412                                                                               First Class Mail
Chartered Organization         Concerned Citizensof St Pauls                            Cape Fear Council 425                             253 Gentle Winds Dr                                           Saint Pauls, NC 28384‐8935                                                                               First Class Mail
Chartered Organization         Concerned Faculty Of Dupont Elementary                   Denver Area Council 061                           7970 Kimberly St                                              Commerce City, CO 80022‐1048                                                                             First Class Mail
Chartered Organization         Concerned Families Of The Hmong Commty                   Sequoia Council 027                               530 W Sierra Ave                                              Clovis, CA 93612‐0122                                                                                    First Class Mail
Chartered Organization         Concerned Group Of Parents                               Chief Seattle Council 609                         6830 NE Bothell Way PMB 352, Ste C                            Kenmore, WA 98028‐3546                                                                                   First Class Mail
Chartered Organization         Concerned Group Of Parents                               c/o John Riekena                                  16541 Redmond Way, Apt 309C                                   Redmond, WA 98052‐4492                                                                                   First Class Mail
Chartered Organization         Concerned Nshore Parents For Scouting                    Chief Seattle Council 609                         6830 NE Bothell Way PMB 352, Ste C                            Kenmore, WA 98028‐3546                                                                                   First Class Mail
Chartered Organization         Concerned Parent Of Capitol Square                       Istrouma Area Council 211                         700 N 17th St                                                 Baton Rouge, LA 70802‐3705                                                                               First Class Mail
Chartered Organization         Concerned Parents                                        Ore‐Ida Council 106 ‐ Bsa 106                     343 W Crestwood Dr                                            Nampa, ID 83686‐8348                                                                                     First Class Mail
Chartered Organization         Concerned Parents Brookside Charter Sch                  Heart of America Council 307                      1815 E 63rd St                                                Kansas City, MO 64130‐3436                                                                               First Class Mail
Chartered Organization         Concerned Parents Century Villages                       At Cabrillo                                       2176 Atlantic Ave                                             Long Beach, CA 90806‐4838                                                                                First Class Mail
Chartered Organization         Concerned Parents For Scouting                           Pathway To Adventure 456                          2359 N Windsor Dr                                             Arlington Heights, IL 60004‐2724                                                                         First Class Mail
Chartered Organization         Concerned Parents Glen Oaks Park Elem                    Istrouma Area Council 211                         5656 Lanier Dr                                                Baton Rouge, LA 70812‐2633                                                                               First Class Mail
Chartered Organization         Concerned Parents Hughes Mid Sch                         Long Beach Area Council 032                       2176 Atlantic Ave                                             Long Beach, CA 90806‐4838                                                                                First Class Mail
Chartered Organization         Concerned Parents James Garfield Elem                    Long Beach Area Council 032                       1625 Junipero Ave                                             Long Beach, CA 90804‐1461                                                                                First Class Mail
Chartered Organization         Concerned Parents Melbourne Elem                         Long Beach Area Council 032                       2176 Atlantic Ave                                             Long Beach, CA 90806‐4838                                                                                First Class Mail
Chartered Organization         Concerned Parents Mondovi Elemt Sch                      Gateway Area 624                                  S1101 Rockwell Rd                                             Alma, Wi 54610                                                                                           First Class Mail
Chartered Organization         Concerned Parents Nativity Catholic Ch                   Crossroads of America 160                         7725 Seastern Ave                                             Indianapolis, IN 46239                                                                                   First Class Mail
Chartered Organization         Concerned Parents Of                                     Duane St, Apts Complex                            1701 Duane St                                                 Baton Rouge, LA 70802‐7665                                                                               First Class Mail
Chartered Organization         Concerned Parents Of Addams Elementary                   Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Afia                                Heart of America Council 307                      7910 Troost Ave                                               Kansas City, MO 64131‐1920                                                                               First Class Mail
Chartered Organization         Concerned Parents Of Almond School                       Pacific Skyline Council 031                       160 Formway Ct                                                Los Altos, CA 94022‐2325                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Ardenwood Village                   Istrouma Area Council 211                         1957 N Ardenwood Dr                                           Baton Rouge, LA 70806‐1632                                                                               First Class Mail
Chartered Organization         Concerned Parents Of Audubon                             Chief Seattle Council 609                         3014 W Lake Sammamish Pkwy Ne                                 Redmond, WA 98052‐5900                                                                                   First Class Mail
Chartered Organization         Concerned Parents Of Barkstall School                    Prairielands 117                                  2201 Hallbeck Dr                                              Champaign, IL 61822‐9653                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Chavez Elementary                   Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Coronado Middle                     Heart of America Council 307                      1735 N 64th Ter                                               Kansas City, KS 66102‐1009                                                                               First Class Mail
Chartered Organization         Concerned Parents Of Cotaylor/Kirklane                   Gulf Stream Council 085                           4200 Purdy Ln                                                 Palm Springs, FL 33461‐1469                                                                              First Class Mail
Chartered Organization         Concerned Parents Of Cub Pack 429                        Chief Seattle Council 609                         12107 NE 168th Pl                                             Bothell, WA 98011‐7124                                                                                   First Class Mail
Chartered Organization         Concerned Parents Of Dingeman Elem                       San Diego Imperial Council 049                    11102 Tampere Ct                                              San Diego, CA 92131‐3683                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Dooley Elementary                   Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Edison Elementary                   Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Ervin Elc                           Heart of America Council 307                      10530 Greenwood Rd                                            Kansas City, KS 66134                                                                                    First Class Mail
Chartered Organization         Concerned Parents Of Garden Hills                        Prairielands 117                                  2001 Garden Hills Dr                                          Champaign, IL 61821‐1522                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Gilman                              Prairielands 117                                  312 E Lincoln Ave                                             Onarga, IL 60955‐1313                                                                                    First Class Mail
Chartered Organization         Concerned Parents Of Girls Troop 422                     Rainbow Council 702                               4730 W Iris Ln                                                Monee, IL 60449‐4402                                                                                     First Class Mail
Chartered Organization         Concerned Parents Of Gompers School                      Long Beach Area Council 032                       2176 Atlantic Ave                                             Long Beach, CA 90806‐4838                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Great Kills                         Greater New York Councils, Bsa 640                434 Leverett Ave                                              Staten Island, NY 10308‐1333                                                                             First Class Mail
Chartered Organization         Concerned Parents Of Hal Smith                           Las Vegas Area Council 328                        5150 E Desert Inn Rd                                          Las Vegas, NV 89122‐4220                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Harte Elementary                    Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Herrera Elementary                  Long Beach Area Council 032                       2176 Atlantic Ave                                             Long Beach, CA 90806‐4838                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Hudson School                       Long Beach Area Council 032                       1625 Junipero Ave                                             Long Beach, CA 90804‐1461                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Ilalko Elementary                   Chief Seattle Council 609                         5204 Quincy Ave Se                                            Auburn, WA 98092‐8723                                                                                    First Class Mail
Chartered Organization         Concerned Parents Of Jackson Woods                       South Texas Council 577                           10817 Stonewall Blvd                                          Corpus Christi, TX 78410‐2429                                                                            First Class Mail
Chartered Organization         Concerned Parents Of Kelly Terrace                       Istrouma Area Council 211                         999 Rosenwald Rd                                              Baton Rouge, LA 70807‐4119                                                                               First Class Mail
Chartered Organization         Concerned Parents Of Lamping Elem School                 Las Vegas Area Council 328                        2259 Lyrical Rd                                               Henderson, NV 89052‐6528                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Lincoln Elementary                  Long Beach Area Council 032                       2176 Atlantic Ave                                             Long Beach, CA 90806‐4838                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Lindsey Academy                     Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Lol / Wc                            Greater Tampa Bay Area 089                        2209 Collier Pkwy, Ste 118                                    Land O Lakes, FL 34639‐5285                                                                              First Class Mail
Chartered Organization         Concerned Parents Of Mann Elementary                     Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Margaret Mead                       Chief Seattle Council 609                         1826 211th Way Ne                                             Sammamish, WA 98074‐4219                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Marion                              Circle Ten Council 571                            1535 Cliff Creek Dr                                           Allen, TX 75002‐0921                                                                                     First Class Mail
Chartered Organization         Concerned Parents Of Mcmillin Elementary                 San Diego Imperial Council 049                    1418 Plumas Pines Pl                                          Chula Vista, CA 91915‐2179                                                                               First Class Mail
Chartered Organization         Concerned Parents Of Muir Academy                        Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Nelson Academy                      Long Beach Area Council 032                       1625 Junipero Ave                                             Long Beach, CA 90804‐1461                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Orland Hills                        Pathway To Adventure 456                          8924 Dwight Ct                                                Orland Hills, IL 60487‐5941                                                                              First Class Mail
Chartered Organization         Concerned Parents Of Pack 1225                           Middle Tennessee Council 560                      3414 Hillsboro Pike                                           Nashville, TN 37215‐1412                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Pack 140                            Las Vegas Area Council 328                        231 Bailey Island Dr                                          Henderson, NV 89074‐8898                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Pack 20                             Las Vegas Area Council 328                        3650 Cambridge St                                             Las Vegas, NV 89169‐4019                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Pack 208                            Long Beach Area Council 032                       2801 Bomberry St                                              Lakewood, CA 90712‐3724                                                                                  First Class Mail
Chartered Organization         Concerned Parents Of Pack 24                             Pacific Harbors Council, Bsa 612                  9010 Mckinley Ave                                             Tacoma, WA 98445‐3243                                                                                    First Class Mail
Chartered Organization         Concerned Parents Of Pack 267                            Long Beach Area Council 032                       2277 Granada Ave                                              Long Beach, CA 90815‐2532                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Pack 350                            Pathway To Adventure 456                          2060 Excalibur Ct                                             Lynwood, IL 60411‐8574                                                                                   First Class Mail
Chartered Organization         Concerned Parents Of Pack 351                            Middle Tennessee Council 560                      P.O. Box 666                                                  Spring Hill, TN 37174‐0666                                                                               First Class Mail
Chartered Organization         Concerned Parents Of Pack 371                            Great Lakes Fsc 272                               39618 Cobridge Dr                                             Clinton Township, MI 48038‐2764                                                                          First Class Mail
Chartered Organization         Concerned Parents Of Pack 4025                           San Diego Imperial Council 049                    976 Tapia Ct                                                  Calexico, CA 92231                                                                                       First Class Mail
Chartered Organization         Concerned Parents Of Pack 42                             Pacific Harbors Council, Bsa 612                  8442 S Park Ave                                               Tacoma, WA 98444‐6329                                                                                    First Class Mail
Chartered Organization         Concerned Parents Of Pack 509                            Las Vegas Area Council 328                        71 Belle Maison Ave                                           Las Vegas, NV 89123‐3423                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Pack 521                            Las Vegas Area Council 328                        2815 W Ford Ave, Apt 1030                                     Las Vegas, NV 89123‐6666                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Pack 586                            Chief Seattle Council 609                         3050 206th Way Ne                                             Sammamish, WA 98074‐4370                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Pack 718                            c/o Ben Newman                                    7009 Dartbrook Dr                                             Dallas, TX 75254‐7927                                                                                    First Class Mail
Chartered Organization         Concerned Parents Of Pack 825                            San Diego Imperial Council 049                    1577 Copper Penny Dr                                          Chula Vista, CA 91915‐1829                                                                               First Class Mail
Chartered Organization         Concerned Parents Of Patton Elementary                   Middle Tennessee Council 560                      1003 Woodridge Pl                                             Mount Juliet, TN 37122‐3085                                                                              First Class Mail
Chartered Organization         Concerned Parents Of Ps 188X                             Greater New York Councils, Bsa 640                770 Grote St                                                  Bronx, NY 10460‐1007                                                                                     First Class Mail
Chartered Organization         Concerned Parents Of Ramona Elementary                   Long Beach Area Council 032                       2176 Atlantic Ave                                             Long Beach, CA 90806‐4838                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Robert                              Istrouma Area Council 211                         21385 E Prevost Ln                                            Loranger, LA 70446‐1721                                                                                  First Class Mail
Chartered Organization         Concerned Parents Of Roosevelt Terrace                   Istrouma Area Council 211                         1255 W Roosevelt St                                           Baton Rouge, LA 70802‐8700                                                                               First Class Mail
Chartered Organization         Concerned Parents Of Roseland Montessori                 Istrouma Area Council 211                         12516 Time Ave                                                Roseland, LA 70456‐2671                                                                                  First Class Mail
Chartered Organization         Concerned Parents Of Roundy Elementary                   Las Vegas Area Council 328                        2755 Mohave                                                   Las Vegas, NV 89146                                                                                      First Class Mail
Chartered Organization         Concerned Parents Of Santa Fe                            Heart of America Council 307                      8908 Old Santa Fe Rd                                          Kansas City, MO 64138‐3911                                                                               First Class Mail
Chartered Organization         Concerned Parents Of Scotlandvilla                       Istrouma Area Council 211                         10666 Scotland Ave                                            Baton Rouge, LA 70807‐3050                                                                               First Class Mail
Chartered Organization         Concerned Parents Of Smith Elementary                    Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Syracuse                            Trapper Trails 589                                2371 W 1125 S                                                 Syracuse, UT 84075‐7085                                                                                  First Class Mail
Chartered Organization         Concerned Parents Of Troop 2010                          San Diego Imperial Council 049                    1790 Sunny Crest Ln                                           Bonita, CA 91902‐4057                                                                                    First Class Mail
Chartered Organization         Concerned Parents Of Troop 25                            Suffolk County Council Inc 404                    43 Nimitz Ave                                                 Brentwood, NY 11717‐3503                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Troop 578                           Las Vegas Area Council 328                        2505 Anthem Village Dr E209                                   Henderson, NV 89052‐5505                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Troop 593                           South Plains Council 694                          17601 County Rd 3100                                          Slaton, TX 79364‐6867                                                                                    First Class Mail
Chartered Organization         Concerned Parents Of Troop 678                           Las Vegas Area Council 328                        9029 Iron Hitch Ave                                           Las Vegas, NV 89143‐4438                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Truman Ele Linc                     Heart of America Council 307                      9601 James A Reed Rd                                          Kansas City, MO 64134‐1652                                                                               First Class Mail
Chartered Organization         Concerned Parents Of Utah County                         Utah National Parks 591                           860 N 900 W                                                   Provo, UT 84604‐3169                                                                                     First Class Mail
Chartered Organization         Concerned Parents Of Venture Crew 1403                   Long Beach Area Council 032                       19514 Alida Ave                                               Cerritos, CA 90703‐7512                                                                                  First Class Mail
Chartered Organization         Concerned Parents Of Venturing Crew 422                  Rainbow Council 702                               4730 W Iris Ln                                                Monee, IL 60449‐4402                                                                                     First Class Mail
Chartered Organization         Concerned Parents Of Webster Elementary                  Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Wesley Chapel                       Greater Tampa Bay Area 089                        5450 Bruce B Downs Blvd                                       Wesley Chapel, FL 33544‐8616                                                                             First Class Mail
Chartered Organization         Concerned Parents Of Whitney                             Las Vegas Area Council 328                        117 S Cimarron Rd                                             Las Vegas, NV 89145‐4726                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Whittier Elementary                 Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Willard Elementary                  Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Of Wood Plaza                          Istrouma Area Council 211                         9990 Ave J                                                    Baton Rouge, LA 70807‐7009                                                                               First Class Mail
Chartered Organization         Concerned Parents Of Wynn Elementary                     Las Vegas Area Council 328                        5655 Edna Ave                                                 Las Vegas, NV 89146‐6841                                                                                 First Class Mail
Chartered Organization         Concerned Parents Of Zion Terrace                        Istrouma Area Council 211                         5958 Cadillac St                                              Baton Rouge, LA 70811‐5815                                                                               First Class Mail
Chartered Organization         Concerned Parents Pack 0479 & Troop 0479                 Istrouma Area Council 211                         29910 S Pine St                                               Livingston, LA 70754‐6111                                                                                First Class Mail
Chartered Organization         Concerned Parents Roosevelt Elem                         Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Sherkenbach / Bilbray                  Las Vegas Area Council 328                        8901 Wind Warrior Ave                                         Las Vegas, NV 89143‐5406                                                                                 First Class Mail
Chartered Organization         Concerned Parents Utd Cambodian Commty                   Long Beach Area Council 032                       1625 Junipero Ave, Apt B                                      Long Beach, CA 90804‐1462                                                                                First Class Mail
Chartered Organization         Concerned Parents Vegas Verdes Elem                      Las Vegas Area Council 328                        4000 El Parque Ave                                            Las Vegas, NV 89102‐3812                                                                                 First Class Mail
Chartered Organization         Concerned Parents Washington Mid Sch                     Long Beach Area Council 032                       2176 Atlantic Ave                                             Long Beach, CA 90806‐4838                                                                                First Class Mail
Chartered Organization         Concerned Scouter Of Cbh                                 Central Georgia Council 096                       2251 Boy Scout Rd                                             Byron, GA 31008‐9410                                                                                     First Class Mail
Chartered Organization         Conco Management Inc                                     Great Salt Lake Council 590                       9891 S Countrywood Dr                                         Sandy, UT 84092‐3753                                                                                     First Class Mail
Chartered Organization         Concord Baptist Church                                   Circle Ten Council 571                            6808 Pastor Bailey Dr                                         Dallas, TX 75237                                                                                         First Class Mail
Chartered Organization         Concord East Side Pto                                    Lasalle Council 165                               57156 County Rd 13                                            Elkhart, IN 46516‐9717                                                                                   First Class Mail
Chartered Organization         Concord Elks Lodge 1994                                  Mt Diablo‐Silverado Council 023                   P.O. Box 935                                                  Concord, CA 94522‐0935                                                                                   First Class Mail
Chartered Organization         Concord Methodist Church                                 Miami Valley Council, Bsa 444                     1123 S Main St                                                Englewood, OH 45322‐2820                                                                                 First Class Mail
Chartered Organization         Concord Neighborhood Center                              Crossroads of America 160                         1310 S Meridian St                                            Indianapolis, IN 46225‐1524                                                                              First Class Mail
Chartered Organization         Concord Nevitt Forest                                    Blue Ridge Council 551                            201 E Reed Rd                                                 Anderson, SC 29621‐2095                                                                                  First Class Mail
Chartered Organization         Concord Presbyterian Church                              Piedmont Council 420                              3867 Taylorsville Hwy                                         Statesville, NC 28625‐2589                                                                               First Class Mail
Chartered Organization         Concord Presbyterian Church                              Moraine Trails Council 500                        625 Hooker Rd                                                 West Sunbury, PA 16061‐1715                                                                              First Class Mail
Chartered Organization         Concord School Ptg                                       Greater St Louis Area Council 312                 10305 Concord School Rd                                       Saint Louis, MO 63128‐1228                                                                               First Class Mail
Chartered Organization         Concord Scout House, Inc                                 The Spirit of Adventure 227                       74 Walden St                                                  Concord, MA 01742‐2509                                                                                   First Class Mail
Chartered Organization         Concord St Andrews Utd Methodist Ch                      National Capital Area Council 082                 5910 Goldsboro Rd                                             Bethesda, MD 20817‐6034                                                                                  First Class Mail
Voting Party                   Concord Trinity Umc                                      Attn: Gale Preston                                5275 S Lindbergh                                              St Louis, MO 63126                                                  info@concordtrinity.org              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Concord Trinity Utd Methodist Church                     Greater St Louis Area Council 312                 5275 S Lindbergh Blvd                                         Saint Louis, MO 63126‐3551                                                                               First Class Mail
Voting Party                   Concord Umc                                              Attn: Greg Brumley                                1645 West St                                                  Concord, CA 94521                                                   greg@brumleyproperties.com           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Concord Umc                                              c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Concord Umc (177216)                                     c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Concord United Methodist Church                          Attn: Treasurer                                   11020 Roane Dr                                                Knoxville, TN 37934                                                 ltrotter7@comcast.net                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Concord United Methodist Church                          Orval Edwin Hancock, Jr                           135 Oxford Ln                                                 West Paducah, KY 42086                                              hancockoe@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Concord United Methodist Church                          5178 Hinkleville Rd                               Paducah, KY 42001                                                                                                                 hancockoe@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Concord United Methodist Church                          Attn: Treasurer Concord United Methodist Church   119 S Main St                                                 P.O. Box 366                       Concord, MI 49237                concordumc1@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Concord United Methodist Church                          Attn: Treasurer                                   1123 S Main St                                                Englewood, OH 45322                                                 concordchurch@englewoodconcord.com   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Concord United Methodist Church                          Attn: Jack Fredekeing                             P.O. Box 746                                                  Athens, WV 24712                                                    concord2@frontier.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Concord United Methodist Church (95707)                  c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Concord Utd Methodist Church                             Simon Kenton Council 441                          30769 Route 50 Chillicothe                                    Chillicothe, OH 45601                                                                                    First Class Mail
Chartered Organization         Concord Utd Methodist Church                             Old N State Council 070                           163 Cherry Hill Rd                                            Mocksville, NC 27028                                                                                     First Class Mail
Chartered Organization         Concord Utd Methodist Church                             Old N State Council 070                           70 Concord Church Rd                                          Roxboro, NC 27574‐6368                                                                                   First Class Mail
Chartered Organization         Concord Utd Methodist Church                             Tecumseh 439                                      2963 N State Route 560                                        Urbana, OH 43078‐9369                                                                                    First Class Mail
Chartered Organization         Concord Utd Methodist Men                                Colonial Virginia Council 595                     19039 Walkers Mill Rd                                         Jarratt, VA 23867‐8541                                                                                   First Class Mail
Chartered Organization         Concord Utd Methodist Mens Club                          Great Smoky Mountain Council 557                  11020 Roane Dr                                                Knoxville, TN 37934‐2916                                                                                 First Class Mail
Chartered Organization         Concord Yacht Club                                       Great Smoky Mountain Council 557                  11600 S Northshore Dr                                         Knoxville, TN 37922‐4806                                                                                 First Class Mail
Chartered Organization         Concordia Evangelical Lutheran Church                    Pennsylvania Dutch Council 524                    3825 Concordia Rd                                             Columbia, PA 17512‐9730                                                                                  First Class Mail
Voting Party                   Concordia Evangelical Lutheran Church, Lc‐Ms             Attn: Leslie B. Brown                             216 5th Ave, Se                                               Conover, NC 28613                                                   lbrown@concordianc.org               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Concordia First United Methodist Church, Inc             c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Concordia First United Methodist Church, Inc             740 W 11Th                                        Concordia, KS 66901                                                                                                                                                    First Class Mail
Chartered Organization         Concordia Lutheran Church                                Pathway To Adventure 456                          3144 Home Ave                                                 Berwyn, IL 60402‐2910                                                                                    First Class Mail
Chartered Organization         Concordia Lutheran Church                                Minsi Trails Council 502                          2623 Brookside Rd                                             Macungie, PA 18062‐9045                                                                                  First Class Mail
Chartered Organization         Concordia Lutheran Church                                Alamo Area Council 583                            16801 Huebner Rd                                              San Antonio, TX 78258‐4456                                                                               First Class Mail
Chartered Organization         Concordia Lutheran Church                                Voyageurs Area 286                                1708 John Ave                                                 Superior, WI 54880‐2617                                                                                  First Class Mail
Voting Party                   Concordia Lutheran Church                                Attn: Mark Lawrence Winzler                       40 Pitkin St                                                  Manchester, CT 06040                                                office@concordiamanchester.org       Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Concordia Lutheran Church & School                       Piedmont Council 420                              215 5th Ave Se                                                Conover, NC 28613‐1918                                                                                   First Class Mail
Chartered Organization         Concordia Lutheran Church & School                       Blackhawk Area 660                                7424 N 2nd St                                                 Machesney Park, IL 61115‐2814                                                                            First Class Mail
Voting Party                   Concordia Lutheran Church Cerritos California            Attn: William Thomas Almany III                   13633 183rd St                                                Cerritos, CA 90703                                                  cerritos@condcordia.org              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Concordia Lutheran School                                Southeast Louisiana Council 214                   1001 Rupp St                                                  Gretna, LA 70053‐2147                                                                                    First Class Mail
Chartered Organization         Conduit Ministries Inc                                   Allegheny Highlands Council 382                   120 Delaware Ave                                              Jamestown, NY 14701‐6314                                                                                 First Class Mail
Chartered Organization         Conemaugh Twp Lions Club                                 Laurel Highlands Council 527                      201 Hickory St                                                Davidsville, PA 15928‐9309                                                                               First Class Mail
Chartered Organization         Conestoga Community Organization                         Cascade Pacific Council 492                       12250 SW Conestoga Dr                                         Beaverton, OR 97008‐8326                                                                                 First Class Mail
Chartered Organization         Conestoga/Collective For Youth                           Mid‐America Council 326                           2115 Burdette St                                              Omaha, NE 68110‐2335                                                                                     First Class Mail
Chartered Organization         Conesus Lake Sportsman Club Inc                          Iroquois Trail Council 376                        P.O. Box 220B                                                 Lakeville, NY 14480‐0907                                                                                 First Class Mail
Chartered Organization         Conesville Fire Dept                                     Leatherstocking 400                               1292 State Route 990V                                         Gilboa, NY 12076‐2819                                                                                    First Class Mail
Voting Party                   Conesville Um Chapel Church                              Attn: June Abrams                                 133 Champlin Rd                                               Gilboa, NY 12076                                                    conesvillesundayschool@gmail.com     Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Conesville Um Chapel Church                              Attn: Kimberly Young                              887 Bull Hill Rd                                              Gilboa, NY 12076                                                    conesvillesundayschool@gmail.com     Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Confluence Academy                                       Greater St Louis Area Council 312                 3017 N 13th St                                                Saint Louis, MO 63107‐3924                                                                               First Class Mail
Chartered Organization         Confluence Lions Club                                    Laurel Highlands Council 527                      1643 Listonburg Rd                                            Confluence, PA 15424‐2423                                                                                First Class Mail
Chartered Organization         Confluence Preparatory Academy‐Elite                     Greater St Louis Area Council 312                 310 N 15th St                                                 Saint Louis, MO 63103‐2378                                                                               First Class Mail
Chartered Organization         Congdon ‐ Overlook Lodge 163 F&Am                        Patriots Path Council 358                         P.O. Box 621                                                  Bernardsville, NJ 07924‐0621                                                                             First Class Mail
Chartered Organization         Congregal Ch In S Glastonbury                            Connecticut Rivers Council, Bsa 066               P.O. Box 187                                                  South Glastonbury, CT 06073‐0187                                                                         First Class Mail
Chartered Organization         Congregation Ahavath Chesed                              North Florida Council 087                         8727 San Jose Blvd                                            Jacksonville, FL 32217‐4229                                                                              First Class Mail
Chartered Organization         Congregation Anshei Shalom                               Theodore Roosevelt Council 386                    472 Hempstead Ave                                             West Hempstead, NY 11552‐2700                                                                            First Class Mail
Chartered Organization         Congregation Beth Abraham                                Baltimore Area Council 220                        6208 Wallis Ave                                               Baltimore, MD 21215‐3734                                                                                 First Class Mail
Chartered Organization         Congregation Beth El                                     Sam Houston Area Council 576                      3900 Raoul Wallenberg Ln                                      Missouri City, TX 77459‐2225                                                                             First Class Mail
Chartered Organization         Congregation Beth El                                     Mayflower Council 251                             105 Hudson Rd                                                 Sudbury, MA 01776‐1666                                                                                   First Class Mail
Chartered Organization         Congregation Beth Shalom                                 Northeast Illinois 129                            3433 Walters Ave                                              Northbrook, IL 60062‐3217                                                                                First Class Mail
Chartered Organization         Congregation Beth Sholom                                 Mt Diablo‐Silverado Council 023                   1455 Elm St                                                   Napa, CA 94559‐3925                                                                                      First Class Mail
Chartered Organization         Congregation B'Nai Jacob                                 Connecticut Yankee Council Bsa 072                75 Rimmon Rd                                                  Woodbridge, CT 06525‐2003                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                      Page 74 of 442
                                                                                   Case 20-10343-LSS                                           Doc 8171                                        Filed 01/06/22                                           Page 90 of 457
                                                                                                                                                                            Exhibit B
                                                                                                                                                                             Service List
                                                                                                                                                                      Served as set forth below

        Description                                                       Name                                                                                            Address                                                                                                           Email              Method of Service
Voting Party                   Congregation B'Nai Yisrael Of Armonk                           Attn: Aaron Kwittken                    2 Banksville Rd                                          Armonk, NY 10504                                                   chip@cbyarmonk.org                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Congregation B'Nai Yisrael Of Armonk                           2 Banksville Rd                         Armonk, NY 10504                                                                                                            chip@cbyarmonk.org                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Congregation Of Veshalom                                       Atlanta Area Council 092                1681 N Druid Hills Rd Ne                                 Brookhaven, GA 30319‐4155                                                                            First Class Mail
Chartered Organization         Congregation Oher Shalom                                       Circle Ten Council 571                  7103 Mumford Ct                                          Dallas, TX 75252‐6134                                                                                First Class Mail
Chartered Organization         Congregation Olam Tikvah Men'S Club                            National Capital Area Council 082       3800 Glenbrook Rd                                        Fairfax, VA 22031‐3100                                                                               First Class Mail
Chartered Organization         Congregational Church Of Algonquin                             Blackhawk Area 660                      109 Washington St                                        Algonquin, IL 60102‐2627                                                                             First Class Mail
Chartered Organization         Congregational Church Of Burlington                            Connecticut Rivers Council, Bsa 066     P.O. Box 1291                                            Burlington, CT 06013‐0291                                                                            First Class Mail
Chartered Organization         Congregational Church Of East Canaan                           Connecticut Rivers Council, Bsa 066     6 Granite Ave                                            Canaan, CT 06018                                                                                     First Class Mail
Chartered Organization         Congregational Church Of East Hampton                          Connecticut Rivers Council, Bsa 066     59 Main St                                               East Hampton, CT 06424                                                                               First Class Mail
Chartered Organization         Congregational Church Of Ellington                             Connecticut Rivers Council, Bsa 066     72 Main St                                               Ellington, CT 06029‐3315                                                                             First Class Mail
Chartered Organization         Congregational Church Of Ellsworth                             Katahdin Area Council 216               Church St                                                Ellsworth, ME 04605                                                                                  First Class Mail
Chartered Organization         Congregational Church Of Greens Farms                          Connecticut Yankee Council Bsa 072      71 Hillandale Rd                                         Westport, CT 06880‐5320                                                                              First Class Mail
Chartered Organization         Congregational Church Of Harwinton                             Connecticut Rivers Council, Bsa 066     1 Litchfield Rd                                          Harwinton, CT 06791                                                                                  First Class Mail
Chartered Organization         Congregational Church Of Hollis                                Daniel Webster Council, Bsa 330         23 Main St                                               Hollis, NH 03049                                                                                     First Class Mail
Chartered Organization         Congregational Church Of Jefferson Park                        Pathway To Adventure 456                5320 W Giddings St                                       Chicago, IL 60630‐3604                                                                               First Class Mail
Chartered Organization         Congregational Church Of Killingworth                          Connecticut Rivers Council, Bsa 066     273 Route 81                                             Killingworth, CT 06419‐1218                                                                          First Class Mail
Chartered Organization         Congregational Church Of Manhasset                             Theodore Roosevelt Council 386          1845 Nern Blvd                                           Manhasset, NY 11030                                                                                  First Class Mail
Chartered Organization         Congregational Church Of Marlborough                           Connecticut Rivers Council, Bsa 066     35 S Main St                                             Marlborough, CT 06447‐1556                                                                           First Class Mail
Chartered Organization         Congregational Church Of Middlebury                            Connecticut Rivers Council, Bsa 066     1242 Whittemore Rd                                       Middlebury, CT 06762‐2425                                                                            First Class Mail
Chartered Organization         Congregational Church Of Naugatuck                             Connecticut Rivers Council, Bsa 066     9 Div St                                                 Naugatuck, CT 06770‐4128                                                                             First Class Mail
Chartered Organization         Congregational Church Of Raymond                               Daniel Webster Council, Bsa 330         1 Church St                                              Raymond, NH 03077                                                                                    First Class Mail
Chartered Organization         Congregational Church Of Roxbury                               Connecticut Rivers Council, Bsa 066     24 Church St                                             Roxbury, CT 06783‐1703                                                                               First Class Mail
Chartered Organization         Congregational Church Of South Dartmouth                       Narragansett 546                        17 Middle St                                             South Dartmouth, MA 02748‐3413                                                                       First Class Mail
Chartered Organization         Congregational Church Of South Hero                            Green Mountain 592                      P.O. Box 99                                              South Hero, VT 05486‐0099                                                                            First Class Mail
Chartered Organization         Congregational Church Of Taftville                             Connecticut Rivers Council, Bsa 066     16 N B St                                                Taftville, CT 06380‐1490                                                                             First Class Mail
Chartered Organization         Congregational Church Of The Valley                            Grand Canyon Council 010                12001 E Shea Blvd                                        Scottsdale, AZ 85259‐5101                                                                            First Class Mail
Voting Party                   Congregational Church Of The Valley United Church Of Christ    Attn: Scott Greenwood                   222 S Mill Ave, Ste 800                                  Tempe, AZ 85281                                                    law@scottgreenwood.com            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Congregational Church Of Topsfield                             The Spirit of Adventure 227             9 E Common St                                            Topsfield, MA 01983‐1426                                                                             First Class Mail
Chartered Organization         Congregational Church Of West Suffield                         Connecticut Rivers Council, Bsa 066     P.O. Box 26                                              West Suffield, CT 06093‐0026                                                                         First Class Mail
Chartered Organization         Congregational Church Of Westbrook                             Connecticut Rivers Council, Bsa 066     Norris Ave                                               Westbrook, CT 06498                                                                                  First Class Mail
Voting Party                   Congregational Community Church Of Sunnyvale                   Attn: Winston Gould                     1112 S Bernardo Ave                                      Sunnyvale, CA 94087                                                conglchurch@outlook.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Congregational Utd Church Of Christ                            Overland Trails 322                     310 N Woodward St                                        Ainsworth, NE 69210‐1350                                                                             First Class Mail
Chartered Organization         Congregational Utd Church Of Christ                            Mid Iowa Council 177                    P.O. Box 38                                              Baxter, IA 50028‐0038                                                                                First Class Mail
Chartered Organization         Congregational Utd Church Of Christ                            Mississippi Valley Council 141 141      P.O. Box 230                                             Denmark, IA 52624‐0230                                                                               First Class Mail
Chartered Organization         Congregational Utd Church Of Christ                            Suffolk County Council Inc 404          335 Horseblock Rd                                        Farmingville, NY 11738‐1212                                                                          First Class Mail
Chartered Organization         Congregational Utd Church Of Christ                            Northern Lights Council 429             P.O. Box 3369                                            Minot, ND 58702‐3369                                                                                 First Class Mail
Chartered Organization         Congregational Utd Church Of Christ                            Bay‐Lakes Council 635                   1511 Nicolet Blvd                                        Neenah, WI 54956‐2983                                                                                First Class Mail
Chartered Organization         Congregational Utd Church Of Christ                            Three Fires Council 127                 40W451 Fox Mill Blvd                                     St Charles, IL 60175                                                                                 First Class Mail
Chartered Organization         Congress Community Church                                      Great Trail 433                         10691 Franchester Rd                                     West Salem, OH 44287‐9680                                                                            First Class Mail
Chartered Organization         Congress St Utd Methodist Church                               Sagamore Council 162                    2010 Congress St                                         Lafayette, IN 47905‐1265                                                                             First Class Mail
Voting Party                   Congress Street Umc                                            Attn: Dolores Flynn                     2010 Congress St                                         Lafayette, IN 47905                                                                                  First Class Mail
Chartered Organization         Congressional Schools Of Virginia                              National Capital Area Council 082       3229 Sleepy Hollow Rd                                    Falls Church, VA 22042‐4311                                                                          First Class Mail
Chartered Organization         Conifer Community Church                                       Denver Area Council 061                 9998 Havekost Rd                                         Conifer, CO 80433‐9111                                                                               First Class Mail
Chartered Organization         Conklin Kiwanis                                                Baden‐Powell Council 368                P.O. Box 84                                              Conklin, NY 13748‐0084                                                                               First Class Mail
Chartered Organization         Conklin Methodist Church                                       Monmouth Council, Bsa 347               82 Main St                                               South River, NJ 08882‐1229                                                                           First Class Mail
Chartered Organization         Conklin Presbyterian Church                                    Baden‐Powell Council 368                1175 Conklin Rd                                          Conklin, NY 13748‐1402                                                                               First Class Mail
Voting Party                   Conklin Presbyterian Church/Broad Avenue‐North Chapel          Attn: Mark S Gorgos                     99 Corporate Dr                                          Binghamton, NY 13904                                               mgorgos@cglawoffices.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Conklin Presbyterian Church/Broad Avenue‐North Chapel          Attn: Mark S Gorgos, Esq                99 Corporate Dr                                          Binghamton, NY 13904                                               mgorgos@cglawoffices.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Conklin School PTO                                             Blackhawk Area 660                      3003 Halsted Rd                                          Rockford, IL 61101‐2705                                                                              First Class Mail
Voting Party                   Conklin United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Connally Law Offices, Llc                                      Georgia T Connally                      218 S Clay St                                            Louisville, KY 40202                                               georgia@connallylawoffices.com    Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Conneaut Elem School Pto                                       c/o Conneaut Elementary School          542 Conneaut Ave                                         Bowling Green, OH 43402                                                                              First Class Mail
Voting Party                   Connectedsign                                                  Attn: Kelly Glatfelter                  480 New Holland Ave, Ste 6202                            Lancaster, PA 17602                                                kglatfelter@connectsign.com       Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Connecticut Estonian Society Inc                               Connecticut Rivers Council, Bsa 066     5 Old Post Rd                                            Tolland, CT 06084‐3337                                                                               First Class Mail
Chartered Organization         Connecticut Farms Presbyterian Church                          Patriots Path Council 358               888 Stuyvesant Ave                                       Union, NJ 07083‐6918                                                                                 First Class Mail
Chartered Organization         Connecticut River Sportsmens Club                              Daniel Webster Council, Bsa 330         125 Whitcomb Rd                                          Swanzey, NH 03446‐2215                                                                               First Class Mail
Voting Party                   Connecticut Rivers Council 66                                  Attn: Patrick W Boatman                 155 Sycamore St                                          Glastonbury, CT 06033                                              pboatman@boatmanlaw.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Connecticut Rivers Council 66                                  c/o Boatman Law LLC                     Attn: Patrick W Boatman                                  155 Sycamore St                  Glastonbury, CT 06033             pboatman@boatmanlaw.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Connecticut Rivers Council 66                                  60 Darlin St                            E Hartford, CT 06108                                                                                                        pboatman@boatmanlaw.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Connecticut Rivers Council Stem                                Connecticut Rivers Council, Bsa 066     60 Darlin St                                             East Hartford, CT 06108‐3201                                                                         First Class Mail
Chartered Organization         Connecting For Children And Families                           Narragansett 546                        46 Hope St                                               Woonsocket, RI 02895‐4210                                                                            First Class Mail
Chartered Organization         Connection Chrisitan Church                                    Buffalo Trail Council 567               4241 Tanglewood Ln                                       Odessa, TX 79762‐5988                                                                                First Class Mail
Chartered Organization         Connection Church                                              Quapaw Area Council 018                 4110 Memorial Dr                                         Gosnell, AR 72315‐5771                                                                               First Class Mail
Voting Party                   Connection Church Umc                                          Attn: David Alexandre                   21 Curtis Rd                                             Saugus, MA 01906                                                   davidgoval@hotmail.com            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Connection United Methodist Church                             Attn: Terry Maggart                     P.O. Box 148120                                          Nashville, TN 37214                                                coordinator@apmumc.net            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Connection United Methodist Church                             Attn: Terry A Maggart                   2846 Lebanon Pike                                        Nashville, TN 37214                                                                                  First Class Mail
Chartered Organization         Connell Memorial Umc                                           Middle Tennessee Council 560            113 Church St                                            Goodlettsville, TN 37072‐1427                                                                        First Class Mail
Voting Party                   Connell Memorial United Methodist Church                       Attn: Craig Hutfilz                     113 Church St                                            Goodlettsville, TN 37072                                           contact@connellumc.org            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Connell Utd Methodist                                          Middle Tennessee Council 560            113 Church St                                            Goodlettsville, TN 37072‐1427                                                                        First Class Mail
Voting Party                   Connelly, Kenneth L                                            Address Redacted                                                                                                                                                    Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Connersville Baptist Temple                                    Crossroads of America 160               1380 E State Rd 44                                       Connersville, IN 47331‐8291                                                                          First Class Mail
Chartered Organization         Connetquot High School                                         Suffolk County Council Inc 404          190 7th St                                               Bohemia, NY 11716‐1300                                                                               First Class Mail
Voting Party                   Connexion                                                      Attn: Jordan Harris                     Connexion                                                149 Broadway                     Somerville, MA 02144              pastor@connexionumc.org           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Connexion                                                      Jordan Harris                           Connexion                                                149 Broadway                     Somerville, MA 02144              pastor@connexionumc.org           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Connoquenessing Vfd                                            Moraine Trails Council 500              Main St                                                  Connoquenessing, PA 16027                                                                            First Class Mail
Chartered Organization         Connor Academy Public Charter School                           Grand Teton Council 107                 1295 Alpine Ave                                          Chubbuck, ID 83202‐3100                                                                              First Class Mail
Voting Party                   Connor Bunn PLLC                                               David Warren Woodard                    2514 Nast St N                                           Wilson, NC 27896                                                   dww@cbrw.net                      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Connors Llp                                                    Randall D. White                        1000 Liberty Bldg                                        Buffalo, NY 14202                                                  rdw@connorsllp.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Conn‐Weissenberger AL Post 587                                 Erie Shores Council 460                 2020 W Alexis Rd                                         Toledo, OH 43613‐2215                                                                                First Class Mail
Chartered Organization         Conover Police Dept                                            Piedmont Council 420                    115 2nd Ave NW                                           Conover, NC 28613                                                                                    First Class Mail
Voting Party                   Conquitador Council 413                                        Attn: R Matthew Bristol                 P.O. Box 2929                                            Roswell, NM 88202                                                  Mattrmblaw@gmail.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Conrad American Legion Post 681                                Winnebago Council, Bsa 173              P.O. Box 681                                             Conrad, IA 50621‐0681                                                                                First Class Mail
Voting Party                   Conrad United Methodist Church                                 Attn: Shane Jacobson, Trustee           206 E Maple Ave                                          Conrad, IA 50621                                                   conradumc@heartofiowa.net         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Conron Camp Foundation Inc                                     Greater New York Councils, Bsa 640      17129 46th Ave                                           Flushing, NY 11358‐3305                                                                              First Class Mail
Chartered Organization         Conron Camp Foundation Inc                                     Greater New York Councils, Bsa 640      9409 Vanderveer St                                       Queens Village, NY 11428‐1730                                                                        First Class Mail
Chartered Organization         Conroy School                                                  Laurel Highlands Council 527            1398 Page St                                             Pittsburgh, PA 15233‐2007                                                                            First Class Mail
Chartered Organization         Consejo Escolar Escuela San Agustin                            Puerto Rico Council 661                 Ext San Agustin Calle 6                                  San Juan, PR 00926                                                                                   First Class Mail
Chartered Organization         Consejo Monsenor Jose Torres Diaz 3836                         Puerto Rico Council 661                 21 Camino Tomas Morales                                  San Juan, PR 00926‐9208                                                                              First Class Mail
Chartered Organization         Consolidated Edison                                            Greater New York Councils, Bsa 640      4 Irving Pl, Rm 1650‐S                                   New York, NY 10003‐3502                                                                              First Class Mail
Chartered Organization         Constable Precinct 2 Explorer                                  South Texas Council 577                 901 S Milmo Ave                                          Laredo, TX 78043‐5244                                                                                First Class Mail
Chartered Organization         Constantia Volunteer Fire Dept                                 Longhouse Council 373, Route 23         Constantia, NY 13044                                                                                                                                          First Class Mail
Chartered Organization         Constantia Volunteer Fire Dept. Inc                            Longhouse Council 373                   23 County Route 23                                       Constantia, NY 13044                                                                                 First Class Mail
Chartered Organization         Constantine Rotary Club                                        Attn: Mark Honeysett                    133 Jeremy Ln                                            Constantine, MI 49042‐8803                                                                           First Class Mail
Chartered Organization         Constantino Brumidi Lodge 2211                                 Suffolk County Council Inc 404          2075 Deer Park Ave                                       Deer Park, NY 11729‐2120                                                                             First Class Mail
Chartered Organization         Construction Industry Assoc Of Rochester                       Seneca Waterways 397                    180 Linden Oaks                                          Rochester, NY 14625‐2837                                                                             First Class Mail
Voting Party                   Consumer Reports                                               Subscription Dept, Box 2069             Harlan, IA 51593                                                                                                                                              First Class Mail
Firm                           Consumer Safety Legal                                          Jaime E. Moss, Esq.                     1314 Loma Drive, #4                                      Hermosa Beach, CA 90254                                            jmoss@consumersafetylegal.com     Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         ContemporaryTheology 1stUtd Methodist Ch                       Westark Area Council 016                307 W Elm St                                             Rogers, AR 72756‐4535                                                                                First Class Mail
Chartered Organization         Continental Colony Elementary Pta                              Atlanta Area Council 092                3181 Hogan Rd SW                                         Atlanta, GA 30331‐2803                                                                               First Class Mail
Voting Party                   Continental Message Solution, Inc                              41 S Grant Ave                          Columbus, OH 43215‐3979                                                                                                                                       First Class Mail
Chartered Organization         Continental Ranch Ward                                         Lds Marana Stake                        3530 W Magee Rd                                          Tucson, AZ 85741‐1126                                                                                First Class Mail
Chartered Organization         Continental School Of Beauty                                   Seneca Waterways 397                    633 Jefferson Rd                                         Rochester, NY 14623‐3231                                                                             First Class Mail
Chartered Organization         Continental Village Fire Dept                                  Westchester Putnam 388                  12 Spy Pond Rd                                           Garrison, NY 10524‐1114                                                                              First Class Mail
Voting Party                   Contoocook United Methodist Church                             Attn: Gil P Lee                         24‐28 Maple St                                           Contoocook, NH 03229                                                                                 First Class Mail
Chartered Organization         Contra Costa Fire Dept                                         Mt Diablo‐Silverado Council 023         4288 Folsom Dr                                           Antioch, CA 94531‐8246                                                                               First Class Mail
Chartered Organization         Contra Costa Youth Soccer League                               Mt Diablo‐Silverado Council 023         1134 Lovell Ct                                           Concord, CA 94520‐4304                                                                               First Class Mail
Chartered Organization         Convenant Utd Methodist Church                                 Inland Nwest Council 611                15515 N Gleneden Dr                                      Spokane, WA 99208‐9743                                                                               First Class Mail
Voting Party                   Conventioon Of Theprotestant Episcopal Church Of The Diocese   Attn: The Rev Andrew Walter             Church House Mt St Alban                                 3101 Wisconsin Ave               Washington, DC 20016              awalter@edow.org                  Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Convis Union United Methodist Church                           Attn: Roy Nudding                       18990 12 Mile Rd                                         Battle Creek, MI 49014                                             revmkm2017@gmail.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Conway United Methodist Church ‐ Orlando                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Conway Utd Methodist Church                                    Central Florida Council 083             3401 Conway Rd                                           Orlando, FL 32812‐7601                                                                               First Class Mail
Chartered Organization         Conway Ward LDS Church                                         Pee Dee Area Council 552                450 Dunn Short Cut Rd                                    Conway, SC 29527                                                                                     First Class Mail
Voting Party                   Conyers First United Methodist Church (Conyers)                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Conyers First Utd Methodist Church                             Atlanta Area Council 092                921 N Main St NW                                         Conyers, GA 30012‐4482                                                                               First Class Mail
Chartered Organization         Conyers Police Dept                                            Atlanta Area Council 092                1194 Scott St Se                                         Conyers, GA 30012‐5436                                                                               First Class Mail
Chartered Organization         Cook Elementary PTA                                            Westark Area Council 016                3517 Brooken Hill Dr                                     Fort Smith, AR 72908‐9257                                                                            First Class Mail
Voting Party                   Cookeville First United Methodist Church                       Attn: Luann Throgmorton                 165 E Broad St                                           Cookeville, TN 38501                                               bsa@cookevillefumc.org            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Cookeville First Utd Methodist Umw                             Middle Tennessee Council 560            165 E Broad St                                           Cookeville, TN 38501‐3211                                                                            First Class Mail
Chartered Organization         Cooks Corners Elementary School Pt0                            Lasalle Council 165                     358 Bullseye Lake Rd                                     Valparaiso, IN 46383‐1978                                                                            First Class Mail
Chartered Organization         Cooks Memorial Presbyterian Church                             Mecklenburg County Council 415          3413 Mt Holly Hntrsvl Rd                                 Charlotte, NC 28216‐8654                                                                             First Class Mail
Chartered Organization         Cooks Umc Mens Club                                            Middle Tennessee Council 560            7919 Lebanon Rd                                          Mount Juliet, TN 37122‐7217                                                                          First Class Mail
Chartered Organization         Cool Community Assoc                                           Golden Empire Council 047               P.O. Box 171                                             Cool, CA 95614‐0171                                                                                  First Class Mail
Chartered Organization         Cool Spring Baptist Church                                     Heart of Virginia Council 602           P.O. Box 1630                                            Mechanicsville, VA 23116‐0003                                                                        First Class Mail
Chartered Organization         Cooley Elementary PTO                                          Great Lakes Fsc 272                     2000 Highfield Rd                                        Waterford, MI 48329‐3827                                                                             First Class Mail
Chartered Organization         Coolidge Elementary School Pta                                 Hawkeye Area Council 172                6225 1st Ave SW                                          Cedar Rapids, IA 52405‐3105                                                                          First Class Mail
Voting Party                   Coolidge Hollow United Methodist Church (7451)                 c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228              lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Coolidge Police Dept                                           Grand Canyon Council 010                911 S Arizona Blvd                                       Coolidge, AZ 85128‐5428                                                                              First Class Mail
Chartered Organization         Coolidge School Concerned Parents                              Greater Los Angeles Area 033            524 Coolidge Dr                                          San Gabriel, CA 91775‐2212                                                                           First Class Mail
Chartered Organization         Coolspring Volunteer Fire Dept                                 Lasalle Council 165                     7111 W 400 N                                             Michigan City, IN 46360‐2938                                                                         First Class Mail
Chartered Organization         Coolville Utd Methodist Church                                 Buckskin 617                            P.O. Box 125                                             Coolville, OH 45723‐0125                                                                             First Class Mail
Chartered Organization         Coon Rapids Fire Dept                                          Northern Star Council 250               2831 113th Ave Nw                                        Coon Rapids, MN 55433‐3402                                                                           First Class Mail
Chartered Organization         Coon Rapids Methodist Church                                   Northern Star Council 250               10506 Hanson Blvd NW                                     Coon Rapids, MN 55433‐4131                                                                           First Class Mail
Chartered Organization         Coon Rapids Police Dept                                        Northern Star Council 250               11155 Robinson Dr NW                                     Coon Rapids, MN 55433‐3761                                                                           First Class Mail
Chartered Organization         Coon Valley Conservation Club                                  Gateway Area 624                        S1005 Knudson Ln                                         Coon Valley, WI 54623                                                                                First Class Mail
Firm                           Cooney & Conway, LLP                                           J. Devitt Cooney, Jr                    120 N. LaSalle St. 30th Floor                            Chicago, IL 60602                                                  kconway@cooneyconway.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Coop Ahorro Y Credito San Rafael                               Puerto Rico Council 661                 Calle San Carlos                                         Quebradillas, PR 00678                                                                               First Class Mail
Firm                           Cooper & Elliott LLC                                           Barton R Keyes                          305 West Nationwide Boulevard                            Columbus, OH 43215                                                 bartk@cooperelliott.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Cooper Avenue Baptist Church                                   Golden Empire Council 047               804 Cooper Ave                                           Yuba City, CA 95991‐3812                                                                             First Class Mail
Chartered Organization         Cooper Elementary PTA                                          Northeast Georgia Council 101           555 Ozora Rd                                             Loganville, GA 30052‐5028                                                                            First Class Mail
Chartered Organization         Cooper Elementary PTO                                          Three Harbors Council 636               249 Conkey St                                            Burlington, WI 53105‐1805                                                                            First Class Mail
Voting Party                   Cooper First United Methodist Church                           Attn: Treasurer                         200 SW 1st St                                            Cooper, TX 75432                                                   kw.finley@gmail.com               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Cooper Memorial Umc                                            Attn: William Spellman                  9901 Cooper Church Dr                                    Louisville, KY 40229                                               williamspellman777@gmail.com      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Cooper Memorial Umc                                            John Anthony Marts                      9801 Cooper Church Dr                                    Louisville, KY 40229                                               j.anthony.marts@gmail.com         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Cooper Memorial Utd Methodist Church                           Lincoln Heritage Council 205            9901 Cooper Church Dr                                    Louisville, KY 40229‐1289                                                                            First Class Mail
Chartered Organization         Cooper Mountain Pto                                            Cascade Pacific Council 492             7670 SW 170th Ave                                        Beaverton, OR 97007‐5865                                                                             First Class Mail
Chartered Organization         Cooperativa De Ahorros Y Credito Isabela                       Puerto Rico Council 661                 Buzon 99 Ruta 5                                          Isabela, PR 00662                                                                                    First Class Mail
Chartered Organization         Coopers Ruritan Club                                           East Carolina Council 426               896 Macedonia Rd                                         Spring Hope, NC 27882‐8376                                                                           First Class Mail
Chartered Organization         Coopersburg Lions Club                                         Minsi Trails Council 502                34 S Main St                                             Coopersburg, PA 18036‐1911                                                                           First Class Mail
Chartered Organization         Cooperstown Rotary Club                                        Leatherstocking 400                     P.O. Box 993                                             Cooperstown, NY 13326‐5993                                                                           First Class Mail
Chartered Organization         Coopersville Utd Methodist Church                              President Gerald R Ford 781             105 68th Ave N                                           Coopersville, MI 49404‐9704                                                                          First Class Mail
Chartered Organization         Coopertown Mens Club                                           Middle Tennessee Council 560            3936 Hwy 49 W                                            Springfield, TN 37172‐5651                                                                           First Class Mail
Chartered Organization         Coopertown School Pto                                          Cradle of Liberty Council 525           800 Coopertown Rd                                        Bryn Mawr, PA 19010‐3743                                                                             First Class Mail
Chartered Organization         Coos Bay Lions Club                                            Oregon Trail Council 697                P.O. Box 3                                               Coos Bay, OR 97420‐0001                                                                              First Class Mail
Chartered Organization         Copake Fire Co                                                 Twin Rivers Council 364                 390 County Route 7A                                      Copake, NY 12516‐1232                                                                                First Class Mail
Chartered Organization         Copake Fire Co No. 1                                           Twin Rivers Council 364                 P.O. Box 630                                             Copake, NY 12516‐0630                                                                                First Class Mail
Voting Party                   Copake United Methodist Church                                 Attn: Jinha Choi                        1669 County Rte 7A                                       Copake, NY 12516                                                   jinha.choi@nyac‐umc.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                             Page 75 of 442
                                                                                   Case 20-10343-LSS                                             Doc 8171                                                    Filed 01/06/22                                              Page 91 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                        Name                                                                                                         Address                                                                                                               Email                Method of Service
Chartered Organization         Copeland PTO                                                   Sam Houston Area Council 576              18018 Forest Heights Dr                                              Houston, TX 77095‐4441                                                                                     First Class Mail
Chartered Organization         Copley Police                                                  Great Trail 433                           1280 Sunset Dr                                                       Copley, OH 44321‐1605                                                                                      First Class Mail
Chartered Organization         Copley Utd Methodist Church                                    Great Trail 433                           1518 S Cleveland Massillon Rd                                        Copley, OH 44321‐1908                                                                                      First Class Mail
Chartered Organization         Coppell Bible Fellowship                                       Circle Ten Council 571                    751 W Sandy Lake Rd                                                  Coppell, TX 75019‐2402                                                                                     First Class Mail
Chartered Organization         Coppell Police Dept                                            Circle Ten Council 571                    130 Town Center Blvd                                                 Coppell, TX 75019‐2127                                                                                     First Class Mail
Chartered Organization         Copper Canyon Fire And Medical Authority                       Grand Canyon Council 010                  26 W Salt Mine Rd, Unit B                                            Camp Verde, AZ 86322‐7171                                                                                  First Class Mail
Chartered Organization         Copper Creek PTA                                               Grand Canyon Council 010                  7071 W Hillcrest Blvd                                                Glendale, AZ 85310‐5255                                                                                    First Class Mail
Voting Party                   Copper Hill Umc                                                Attn: Lisa Griffin                        50 Griffin Rd                                                        East Granby, CT 06026                                                 LkaGriffin@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Copper View Autism Parents Assn                                Great Salt Lake Council 590               8338 S Mcclanahan Ln                                                 West Jordan, UT 84081‐4714                                                                                 First Class Mail
Chartered Organization         Copperas Cove Moose Lodge 2029                                 Longhorn Council 662                      2680 S Fm 116                                                        Copperas Cove, TX 76522                                                                                    First Class Mail
Chartered Organization         Copperfield Community Assoc Inc                                Sam Houston Area Council 576              7170 Cherry Park Dr                                                  Houston, TX 77095‐2713                                                                                     First Class Mail
Chartered Organization         Copperopolis Fire Protection District                          Greater Yosemite Council 059              P.O. Box 131                                                         Copperopolis, CA 95228‐0131                                                                                First Class Mail
Chartered Organization         Coptic Orthodox Church                                         Pathway To Adventure 456                  15W655 79th St                                                       Burr Ridge, IL 60527                                                                                       First Class Mail
Chartered Organization         Coquillard Primary Sch After Sch Care                          Lasalle Council 165                       1245 N Sheridan St                                                   South Bend, IN 46628‐1226                                                                                  First Class Mail
Chartered Organization         Coquille Valley Elks Bpoe 1935                                 Oregon Trail Council 697                  54942 Maple Heights Rd                                               Coquille, OR 97423‐7745                                                                                    First Class Mail
Chartered Organization         Coquina Elementary School                                      Central Florida Council 083               850 Knox Mcrae Dr                                                    Titusville, FL 32780‐6407                                                                                  First Class Mail
Chartered Organization         Cora Thomas PTO                                                Sam Houston Area Council 576              6822 Irby Cobb Blvd                                                  Richmond, TX 77469‐1167                                                                                    First Class Mail
Chartered Organization         Coral Academy Of Science                                       Nevada Area Council 329                   6275 Neil Rd                                                         Reno, NV 89511‐1136                                                                                        First Class Mail
Voting Party                   Coral Reef Park Co Inc                                         P.O. Box 1560                             Key Largo, FL 33033                                                                                                                                                             First Class Mail
Chartered Organization         Coral Reef Senior High                                         South Florida Council 084                 10101 SW 152nd St                                                    Miami, FL 33157‐1603                                                                                       First Class Mail
Chartered Organization         Coral Ridge Elementary School                                  Lincoln Heritage Council 205              10608 National Tpke                                                  Fairdale, KY 40118‐9711                                                                                    First Class Mail
Chartered Organization         Coral Springs Community Church Inc                             South Florida Council 084                 3266 NW 99th Way                                                     Coral Springs, FL 33065‐4007                                                                               First Class Mail
Chartered Organization         Coral Springs Police Explorers                                 South Florida Council 084                 2801 Coral Springs Dr                                                Coral Springs, FL 33065‐3825                                                                               First Class Mail
Chartered Organization         Coralville Central Parent Teacher Org                          Hawkeye Area Council 172                  501 6th St                                                           Coralville, IA 52241‐2013                                                                                  First Class Mail
Voting Party                   Coralville Methodist Church                                    Attn: Dennis Leytem                       806 13th Ave                                                         Coralville, IA 52241                                                  office@coralvilleumc.org             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Coralville Noon Optimist                                       Hawkeye Area Council 172                  P.O. Box 5196                                                        Coralville, IA 52241‐0196                                                                                  First Class Mail
Chartered Organization         Coram Fire Dept                                                Suffolk County Council Inc 404            303 Middle Country Rd                                                Coram, NY 11727‐4401                                                                                       First Class Mail
Voting Party                   Coraopolis United Methodist Church (95764)                     c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                               680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Coraopolis Utd Methodist Church                                Mens Club                                 1205 Ridge Ave                                                       Coraopolis, PA 15108‐1928                                                                                  First Class Mail
Chartered Organization         Corbin Presbyterian Church                                     Blue Grass Council 204                    601 Master St                                                        Corbin, KY 40701‐1057                                                                                      First Class Mail
Chartered Organization         Corcoran Police Dept                                           Sequoia Council 027                       1031 Chittenden Ave                                                  Corcoran, CA 93212‐2406                                                                                    First Class Mail
Voting Party                   Cordele First United Methodist Church                          Attn: Tricia Joiner                       302 E 12th Ave                                                       Cordele, GA 31015                                                     larry@cordelefirst.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cordell First United Methodist Church                          216 S Glenn Enlish                        Cordell, OK 73632                                                                                                                                                               First Class Mail
Chartered Organization         Cordell First Utd Methodist Church                             Last Frontier Council 480                 P.O. Box 378                                                         Cordell, OK 73632‐0378                                                                                     First Class Mail
Chartered Organization         Cordera Community Assoc                                        Pikes Peak Council 060                    11894 Grand Lawn Cir                                                 Colorado Springs, CO 80924‐5003                                                                            First Class Mail
Chartered Organization         Cordia Humphey American Legion Post 265                        Greater St Louis Area Council 312         121 Jackson St                                                       Potosi, MO 63664‐1508                                                                                      First Class Mail
Chartered Organization         Cordova High Ffa                                               Black Warrior Council 006                 183 School Rd                                                        Cordova, AL 35550‐1116                                                                                     First Class Mail
Chartered Organization         Cordova Masonic Lodge 559                                      Black Warrior Council 006                 P.O. Box 259                                                         Cordova, AL 35550‐0259                                                                                     First Class Mail
Chartered Organization         Cordova Volunteer Firemens Assoc                               Del Mar Va 081                            31913 Blades Rd E                                                    Cordova, MD 21625‐2101                                                                                     First Class Mail
Chartered Organization         Cordynamics, Inc                                               c/o Peter Senese                          683 S Washington St                                                  Elmhurst, IL 60126‐4348                                                                                    First Class Mail
Voting Party                   Core Creek United Methodist Church                             Attn: Phyllis Bean                        124 Hardesty Loop Rd                                                 Newport, NC 28570                                                     office@corecreek.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Corfu Rescue Hook And Ladder Co Number 1                       Iroquois Trail Council 376                116 E Main St                                                        Corfu, NY 14036‐9609                                                                                       First Class Mail
Voting Party                   Corinna United Methodist Church                                Attn: Rev Michele St Cyr                  16 Dexter Rd                                                         P.O. Box 418                        Corinna, ME 04928                 revsheli1991@gmail.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Corinth Presbyterian Church                                    Attn: Kenneth Eugene Hamilton             4269 Corinth Blvd                                                    Dayton, OH 45410                                                      Kenneth.E.Hamilton108@gmail.com      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Corinth Reformed Church                                        Piedmont Council 420                      150 16th Ave Nw                                                      Hickory, NC 28601‐2458                                                                                     First Class Mail
Voting Party                   Corinth Reformed Church Inc                                    c/o Young, Morphis, Bach & Taylor LLP     Attn: Jimmy Summerlin, Jr                                            P.O. Drawer 2428                    Hickory, NC 28603                 jimmys@hickorylaw.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Corinth Reformed Church Inc                                    150 16th Ave Nw                           Hickory, NC 28601                                                                                                                          jimmys@hickorylaw.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Corinth Reformed Utd Church Of Christ                          Piedmont Council 420                      150 16th Ave Nw                                                      Hickory, NC 28601‐2458                                                                                     First Class Mail
Voting Party                   Corinth Umc                                                    Attn: William R. Garver                   3200 W County Rd, 400 S                                              Muncie, IN 47302                                                      wrgarver@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Corinth Umc                                                    c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Corinth United Methodist Church                                Attn: Steve Smith                         275 Main St                                                          Corinth, ME 04427                                                     ch2wxman@msn.com                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Corinth Utd Methodist Church                                   Katahdin Area Council 216                 P.O. Box 17                                                          Corinth, ME 04427‐0017                                                                                     First Class Mail
Chartered Organization         Corinth Utd Methodist Church                                   Heart of Virginia Council 602             23 W Williamsburg Rd                                                 Sandston, VA 23150‐2009                                                                                    First Class Mail
Chartered Organization         Corinth Utd Methodist,Cowan Elem Pto                           Crossroads of America 160                 3210 W County Rd 400 S                                               Muncie, IN 47302‐8913                                                                                      First Class Mail
Chartered Organization         Corinth Volunteer Fire Mens Assoc                              Twin Rivers Council 364                   16 Saratoga Ave                                                      Corinth, NY 12822‐1111                                                                                     First Class Mail
Chartered Organization         Cork Utd Methodist Church                                      Greater Tampa Bay Area 089                4815 W Sam Allen Rd                                                  Plant City, FL 33565‐5604                                                                                  First Class Mail
Chartered Organization         Cormorant Lakes Sportsmen'S Club                               Northern Lights Council 429               18587 Sportsmen Rd                                                   Audubon, MN 56511‐8401                                                                                     First Class Mail
Chartered Organization         Cornelia Kiwanis Club                                          Northeast Georgia Council 101             Wyly St                                                              Cornelia, GA 30531                                                                                         First Class Mail
Chartered Organization         Cornelia Kiwanis Club                                          Northeast Georgia Council 101             P.O. Box 1556                                                        Cornelia, GA 30531‐1025                                                                                    First Class Mail
Chartered Organization         Cornelia Kiwanis Club                                          Northeast Georgia Council 101             Cornelia, GA 30531                                                                                                                                                              First Class Mail
Voting Party                   Cornelia Umc (Cornelia)                                        c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Cornelia Utd Methodist Church                                  Northeast Georgia Council 101             275 Wyly St                                                          Cornelia, GA 30531‐3648                                                                                    First Class Mail
Chartered Organization         Cornell School Pto                                             Mid Iowa Council 177                      3843 6th Ave                                                         Des Moines, IA 50313‐3426                                                                                  First Class Mail
Voting Party                   Cornerstone ‐ Miama ‐ Cutler Bay                               c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Cornerstone Baptist Church                                     Greater New York Councils, Bsa 640        574 Madison St                                                       Brooklyn, NY 11221‐1606                                                                                    First Class Mail
Chartered Organization         Cornerstone Baptist Church                                     Circle Ten Council 571                    1819 Martin Luther King Jr Blvd                                      Dallas, TX 75215‐2806                                                                                      First Class Mail
Chartered Organization         Cornerstone Baptist Church                                     Gulf Stream Council 085                   1450 SW Broadview St                                                 Port Saint Lucie, FL 34983‐2930                                                                            First Class Mail
Chartered Organization         Cornerstone Christian Center                                   Southeast Louisiana Council 214           6550 Lapalco Blvd                                                    Marrero, LA 70072‐4645                                                                                     First Class Mail
Chartered Organization         Cornerstone Christian Ch Mens Ministry                         Twin Valley Council Bsa 283               241 E 3rd St                                                         Redwood Falls, MN 56283‐1609                                                                               First Class Mail
Chartered Organization         Cornerstone Christian Church                                   Simon Kenton Council 441                  4900 Big Run South Rd                                                Grove City, OH 43123‐9692                                                                                  First Class Mail
Chartered Organization         Cornerstone Christian Church                                   Gulf Stream Council 085                   5950 12th St                                                         Vero Beach, FL 32966‐1103                                                                                  First Class Mail
Chartered Organization         Cornerstone Christian Sch Jacksonville                         North Florida Council 087                 9039 Beach Blvd                                                      Jacksonville, FL 32216‐4624                                                                                First Class Mail
Chartered Organization         Cornerstone Church Of God Arvada                               Denver Area Council 061                   5624 Yarrow St                                                       Arvada, CO 80002‐2442                                                                                      First Class Mail
Chartered Organization         Cornerstone Community Church                                   Quivira Council, Bsa 198                  900 S Ridgeway St                                                    Caney, KS 67333‐1621                                                                                       First Class Mail
Chartered Organization         Cornerstone Community Church                                   Lincoln Heritage Council 205              6639 Saint Marys Rd                                                  Floyds Knobs, IN 47119‐9134                                                                                First Class Mail
Chartered Organization         Cornerstone Community Church                                   Lasalle Council 165                       P.O. Box 480                                                         Kouts, IN 46347‐0480                                                                                       First Class Mail
Chartered Organization         Cornerstone Community Church                                   Green Mountain 592                        26 Bombardier Rd                                                     Milton, VT 05468‐3203                                                                                      First Class Mail
Chartered Organization         Cornerstone Community Church                                   Connecticut Yankee Council Bsa 072        718 West Ave                                                         Norwalk, CT 06850‐3302                                                                                     First Class Mail
Chartered Organization         Cornerstone Elementary Pto                                     Greater Alabama Council 001               118 55th St N                                                        Birmingham, AL 35212‐2420                                                                                  First Class Mail
Chartered Organization         Cornerstone Evangelical Free Church                            Longs Peak Council 062                    35 S Carlson Blvd                                                    Johnstown, CO 80534                                                                                        First Class Mail
Chartered Organization         Cornerstone Fbc                                                Northern Lights Council 429               1320 19th Ave W                                                      Williston, ND 58801‐6573                                                                                   First Class Mail
Chartered Organization         Cornerstone Fellowship                                         Chester County Council 539                101 Kylies Rd                                                        Coatesville, PA 19320‐1734                                                                                 First Class Mail
Chartered Organization         Cornerstone Lutheran Church                                    Crossroads of America 160                 13450 E 116th St                                                     Fishers, IN 46037‐9407                                                                                     First Class Mail
Voting Party                   Cornerstone Of Faith United Methodist Church As Successor In   Attn: George Taber                        1081 Main St                                                         Coventry, RI 02816                                                    gtaber45@verizon.net                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Cornerstone Presbyterian Church                                National Capital Area Council 082         P.O. Box 783                                                         California, MD 20619‐0783                                                                                  First Class Mail
Chartered Organization         Cornerstone Presbyterian Church, Epc                           Tukabatchee Area Council 005              301 Broad St                                                         Selma, AL 36701‐4502                                                                                       First Class Mail
Voting Party                   Cornerstone Relocation Group LLC                               106 Allen Rd                              Basking Ridge, NJ 07920‐3851                                                                                                                                                    First Class Mail
Voting Party                   Cornerstone Umc                                                Attn: Joy Zook                            12066 Cr 100 E                                                       Chrisney, IN 47611                                                    jszook@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornerstone Umc                                                2956 Sharpsburg‐Mccollum Rd               Newnan, GA 30265                                                                                                                                                                First Class Mail
Voting Party                   Cornerstone Umc ‐ Newman                                       c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornerstone Umc Saco Me                                        Attn: Mary Fifield                        20 Jenkins Rd                                                        Saco, ME 04072                                                        office@cumccornerstone.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornerstone United Methodist Church                            Attn: Mike Gillen                         24 Bluff Spring Ct                                                   St Charles, MO 63366                                                  mikeg@cornerstoneofallon.org         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornerstone United Methodist Church                            Attn: Joslyn Johnson                      1910 Disciple Dr                                                     Jonesboro, AR 72405                                                   lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornerstone United Methodist Church                            7600 Princeton Glendale Rd                Liberty Twp, OH 45011                                                                                                                      kgeis@cornerstonechurch.org          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornerstone United Methodist Church                            Attn: Irvin Plowden, Jr                   2697 Heckle Blvd                                                     Rock Hill, SC 29732                                                   ivplowdenjr@umcsc.org                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornerstone United Methodist Church                            Clint A Fink                              1407 E County Rd 800 N                                               Chrisney, IN 47611                                                    finkca@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornerstone United Methodist Church                            Attn: Tim Roth                            808 Offnere St                                                       Portsmouth, OH 45662                                                  cornerstoneofportsmouth@yahoo.com    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornerstone United Methodist Church                            Attn: Treasurer                           1151 Tom Ginnever Ave                                                O'Fallon, MO 63366                                                    cornerstone@cornerstoneofallon.org   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornerstone United Methodist Church                            Attn: William R Werst Jr                  41W170 Russell Rd                                                    Elgin, IL 60124                                                       bwerst@millerinsuranceservices.com   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornerstone United Methodist Church                            Board of Trustees Chair‐Cornerstone Umc   18081 W Rd                                                           Houston, TX 77095                                                     bhcorpening@gmail.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornerstone United Methodist Church                            Attn: Bennett Corpening                   Board of Trustees Chair ‐ Cornerstone Umc                            18081 W Rd                          Houston, TX 77095                 BHCORPENING@GMAIL.COM                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornerstone United Methodist Church                            Attn: Robert Quon                         2050 Valencia Ave                                                    Placentia, CA 92870                                                                                        First Class Mail
Voting Party                   Cornerstone United Methodist Church ‐ Covington                c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Cornerstone Utd Methodist Church                               Del Mar Va 081                            3135 Summit Bridge Rd                                                Bear, DE 19701‐2001                                                                                        First Class Mail
Chartered Organization         Cornerstone Utd Methodist Church                               Buffalo Trace 156                         P.O. Box 228                                                         Chrisney, IN 47611‐0228                                                                                    First Class Mail
Chartered Organization         Cornerstone Utd Methodist Church                               Chief Seattle Council 609                 20730 SE 272nd St                                                    Covington, WA 98042‐8549                                                                                   First Class Mail
Chartered Organization         Cornerstone Utd Methodist Church                               South Florida Council 084                 20740 Old Cutler Rd                                                  Cutler Bay, FL 33189‐2451                                                                                  First Class Mail
Chartered Organization         Cornerstone Utd Methodist Church                               Lake Erie Council 440                     2949 W River Rd N                                                    Elyria, OH 44035‐1343                                                                                      First Class Mail
Chartered Organization         Cornerstone Utd Methodist Church                               Circle Ten Council 571                    7502 N Garland Ave                                                   Garland, TX 75044‐2583                                                                                     First Class Mail
Chartered Organization         Cornerstone Utd Methodist Church                               Sam Houston Area Council 576              18081 West Rd                                                        Houston, TX 77095‐5585                                                                                     First Class Mail
Chartered Organization         Cornerstone Utd Methodist Church                               Marshall                                  202 N 4th St                                                         Marshall, MN 56258‐1300                                                                                    First Class Mail
Chartered Organization         Cornerstone Utd Methodist Church                               Flint River Council 095                   2956 Sharpsburg Mccullum Rd                                          Newnan, GA 30265‐1800                                                                                      First Class Mail
Chartered Organization         Cornerstone Utd Methodist Church                               Dan Beard Council, Bsa 438                7600 Princeton Glendale Rd                                           West Chester, OH 45011‐8403                                                                                First Class Mail
Voting Party                   Cornersville United Methodist Church Inc.                      Attn: Barbara C Capps                     202 Lynnville Rd                                                     Cornersville, TN 37047                                                fcapps@tds.net                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Cornersville Utd Methodist Church                              Middle Tennessee Council 560              100 S Mulberry St                                                    Cornersville, TN 37047                                                                                     First Class Mail
Voting Party                   Cornhusker Council 324                                         Attn: John Sumner                         600 S 120th St                                                       Walton, NE 68461                                                      John.sumner@scouting.org             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Corning Rotary Club                                            Golden Empire Council 047                 1301 Hoag St                                                         Corning, CA 96021‐2912                                                                                     First Class Mail
Voting Party                   Corning United Methodist Church                                Attn: Erin Wetzel, Treasurer              P.O. Box 307                                                         Corning, IA 50841                                                     CorningUMChurch@gmail.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Corning United Methodist Church                                Attn: Leann Robine                        901 Nodaway                                                          Corning, IA 50841                                                                                          First Class Mail
Chartered Organization         Corning Utd Methodist Church                                   Mid‐America Council 326                   901 Nodaway St                                                       Corning, IA 50841‐1328                                                                                     First Class Mail
Chartered Organization         Cornwall On Hudson Elem School PTO                             Hudson Valley Council 374                 234 Hudson St                                                        Cornwall On Hudson, NY 12520‐1525                                                                          First Class Mail
Chartered Organization         Cornwall Presbyterian Church                                   Hudson Valley Council 374                 2054 Independence Dr                                                 New Windsor, NY 12553‐4931                                                                                 First Class Mail
Voting Party                   Cornwall Presbyterian Church                                   c/o Greher Law Offices PC                 Attn: Andrew N Greher                                                1161 Little Britain Rd, Ste B       New Windsor, NY 12553             greherlawoffices@gmail.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornwall United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Cornwall United Methodist Church                               Attn: Pastor                              198 Main St                                                          Cornwall, NY 12518                                                    attorney@hudsonvalleylegal.com       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Cornwall Utd Methodist Church                                  Pennsylvania Dutch Council 524            P.O. Box 687                                                         Cornwall, PA 17016‐0687                                                                                    First Class Mail
Chartered Organization         Cornwells Utd Methodist Church                                 Washington Crossing Council 777           2284 Bristol Pike                                                    Bensalem, PA 19020‐5239                                                                                    First Class Mail
Chartered Organization         Corona Fire Dept                                               California Inland Empire Council 045      400 S Vicentia Ave                                                   Corona, CA 92882‐2187                                                                                      First Class Mail
Chartered Organization         Corona Firefighters Assoc                                      California Inland Empire Council 045      815 W 6th St, Ste 130                                                Corona, CA 92882‐3295                                                                                      First Class Mail
Chartered Organization         Corona Heritage Foundation                                     California Inland Empire Council 045      510 W Foothill Pkwy                                                  Corona, CA 92882‐6305                                                                                      First Class Mail
Chartered Organization         Corona Police Dept                                             California Inland Empire Council 045      730 Corp Yard Way                                                    Corona, CA 92880‐2002                                                                                      First Class Mail
Chartered Organization         Corona Utd Methodist Church                                    California Inland Empire Council 045      2880 California Ave                                                  Corona, CA 92881‐4194                                                                                      First Class Mail
Chartered Organization         Corona Ward ‐ LDS South Stake                                  Catalina Council 011                      865 S Eynon Pl                                                       Vail, AZ 85641‐6728                                                                                        First Class Mail
Chartered Organization         Coronado Area Council ‐ Camp Hansen                            Coronado Area Council 192                 1004 S Lake Rd                                                       Kirwin, KS 67644                                                                                           First Class Mail
Voting Party                   Coronado Community United Methodist Church ‐ New Smyrna Bch    c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Coronado Elementary PTA                                        Denver Area Council 061                   7922 S Carr Ct                                                       Littleton, CO 80128‐5374                                                                                   First Class Mail
Chartered Organization         Coronado High School PTA                                       Pikes Peak Council 060                    1590 W Fillmore St                                                   Colorado Springs, CO 80904‐1104                                                                            First Class Mail
Chartered Organization         Coronado Optimist Club                                         Great Swest Council 412                   P.O. Box 62                                                          Bernalillo, NM 87004‐0062                                                                                  First Class Mail
Chartered Organization         Coronado Police Dept                                           San Diego Imperial Council 049            700 Orange Ave                                                       Coronado, CA 92118‐2234                                                                                    First Class Mail
Chartered Organization         Coronado Ward ‐ LDS Tucson North Stake                         Catalina Council 011                      939 W Chapala Dr                                                     Tucson, AZ 85704‐4516                                                                                      First Class Mail
Chartered Organization         Corp Aviation Services Inc                                     Ohio River Valley Council 619             46226 National Rd                                                    Saint Clairsville, OH 43950‐8742                                                                           First Class Mail
Chartered Organization         Corp. John Loudenslager Post 366 Am Leg                        Cradle of Liberty Council 525             7976 Oxford Ave                                                      Philadelphia, PA 19111‐2241                                                                                First Class Mail
Voting Party                   Corporation Of The President Of The Church Of Jesus Christ O   Attn: Paul Rytting                        50 E N Temple St                                                     Salt Lake City, UT 84150                                              RyytingPD@churchofjesusChrist.org    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Corporation Of The President Of The Church Of Jesus Christ O   Attn: Paul Rytting                        50 E N Temple St                                                     Salt Lake City, UT 84150                                              ryttingpd@ChurchofJesusChrist.org    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Corpus Christi Catholic Church                                 San Diego Imperial Council 049            450 Corral Canyon Rd                                                 Bonita, CA 91902‐4072                                                                                      First Class Mail
Chartered Organization         Corpus Christi Catholic Church                                 Buffalo Trace 156                         5528 Hogue Rd                                                        Evansville, IN 47712‐3218                                                                                  First Class Mail
Chartered Organization         Corpus Christi Catholic Church                                 Circle Ten Council 571                    111 N Wood St                                                        Ferris, TX 75125‐2025                                                                                      First Class Mail
Chartered Organization         Corpus Christi Catholic Church                                 Cradle of Liberty Council 525             900 Sumneytown Pike                                                  Lansdale, PA 19446‐5414                                                                                    First Class Mail
Chartered Organization         Corpus Christi Catholic Church                                 Heart of America Council 307              6001 Bob Billings Pkwy                                               Lawrence, KS 66049‐5200                                                                                    First Class Mail
Chartered Organization         Corpus Christi Catholic Church                                 Greater St Louis Area Council 312         206 Rasp St                                                          O Fallon, IL 62269‐3619                                                                                    First Class Mail
Chartered Organization         Corpus Christi Catholic Church                                 Grand Canyon Council 010                  3550 E Knox Rd                                                       Phoenix, AZ 85044‐3500                                                                                     First Class Mail
Chartered Organization         Corpus Christi Catholic Church                                 Grand Canyon Council 010                  P.O. Box 50040                                                       Phoenix, AZ 85076‐0040                                                                                     First Class Mail
Chartered Organization         Corpus Christi Catholic Church                                 Catalina Council 011                      300 N Tanque Verde Loop Rd                                           Tucson, AZ 85748‐3509                                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 76 of 442
                                                                                    Case 20-10343-LSS                                                     Doc 8171                                       Filed 01/06/22                                              Page 92 of 457
                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                       Service List
                                                                                                                                                                                Served as set forth below

        Description                                                          Name                                                                                                   Address                                                                                                             Email               Method of Service
Chartered Organization         Corpus Christi Catholic Church Mens Club                    Piedmont Council 042                                  322 Saint James Dr                                      Piedmont, CA 94611‐3627                                                                                 First Class Mail
Chartered Organization         Corpus Christi Catholic School                              W D Boyce 138                                         1909 E Lincoln St                                       Bloomington, IL 61701‐7131                                                                              First Class Mail
Chartered Organization         Corpus Christi Catholic School                              Pikes Peak Council 060                                2410 N Cascade Ave                                      Colorado Springs, CO 80907‐6741                                                                         First Class Mail
Chartered Organization         Corpus Christi Catholic School                              President Gerald R Ford 781                           12100 Quincy St                                         Holland, MI 49424‐8003                                                                                  First Class Mail
Voting Party                   Corpus Christi Catholic School, Holland                     c/o Warner Norcross & Judd LLP                        Attn: Elisabeth M Von Eitzen                            150 Ottawa Ave NW, Ste 1500        Grand Rapids, MI 49503             evoneitzen@wnj.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Corpus Christi Church                                       Orange County Council 039                             27231 Aliso Viejo Pkwy                                  Aliso Viejo, CA 92656‐2690                                                                              First Class Mail
Chartered Organization         Corpus Christi Church                                       Greater New York Councils, Bsa 640                    529 W 121st St                                          New York, NY 10027‐5904                                                                                 First Class Mail
Chartered Organization         Corpus Christi Church                                       Twin Rivers Council 364                               P.O. Box 628                                            Round Lake, NY 12151‐0628                                                                               First Class Mail
Chartered Organization         Corpus Christi Church                                       Twin Rivers Council 364                               2001 Route 9                                            Round Lake, NY 12151‐1701                                                                               First Class Mail
Chartered Organization         Corpus Christi Fire Dept                                    South Texas Council 577                               2406 Leopard St                                         Corpus Christi, TX 78408‐3720                                                                           First Class Mail
Chartered Organization         Corpus Christi Isd Police Dept                              South Texas Council 577                               4401 Greenwood Dr                                       Corpus Christi, TX 78416‐1842                                                                           First Class Mail
Chartered Organization         Corpus Christi Parish                                       Green Mountain 592                                    49 Winter St                                            Saint Johnsbury, VT 05819‐2144                                                                          First Class Mail
Voting Party                   Corpus Christi Parish                                       c/o Cullen and Dykman LLP                             Attn: Matthew G Roseman                                 100 Quentin Roosevelt Blvd         Garden City, NY 11530              MRoseman@cullenllp.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Corpus Christi Parish                                       Attn: Andre L Kydala                                  54 Old Hwy 22                                           Clinton, NJ 08809                                                                                       First Class Mail
Chartered Organization         Corpus Christi Police Dept                                  South Texas Council 577                               321 John Sartain St                                     Corpus Christi, TX 78401‐2511                                                                           First Class Mail
Chartered Organization         Corpus Christi Roman Catholic Church                        Northern New Jersey Council, Bsa 333                  206 Washington Pl                                       Hasbrouck Heights, NJ 07604‐1910                                                                        First Class Mail
Chartered Organization         Corpus Christi Roman Catholic Church                        Northern New Jersey Council, Bsa 333                  218 Washington Pl                                       Hasbrouck Heights, NJ 07604‐1910                                                                        First Class Mail
Chartered Organization         Corpus Christi Roman Catholic Church                        Mobile Area Council‐Bsa 004                           6300 Mckenna Dr                                         Mobile, AL 36608‐3914                                                                                   First Class Mail
Voting Party                   Corpus Christi Roman Catholic Church Congregation, Inc      c/o Gallagher Evelius & Jones LLP                     Attn: Matthew W Oakey                                   218 N Charles St, Ste 400          Baltimore, MD 21201                moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Corpus Christi Roman Catholic Congregation Inc              c/o Gallagher Evelius & Jones LLP                     Attn: Matthew W Oakey                                   218 N Charles St, Ste 400          Baltimore, MD 21201                moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Corpus Christi Rotary Club Sunrise                          South Texas Council 577                               6653 Downing St                                         Corpus Christi, TX 78414‐3543                                                                           First Class Mail
Chartered Organization         Corpus Christi State Supped Living Ctr                      South Texas Council 577                               902 Airport Rd                                          Corpus Christi, TX 78405‐3513                                                                           First Class Mail
Chartered Organization         Corpus Christi Yacht Club                                   South Texas Council 577                               98 Coopers Aly                                          Corpus Christi, TX 78401‐2835                                                                           First Class Mail
Chartered Organization         Corralitos Padres                                           Silicon Valley Monterey Bay 055                       569 Corralitos Rd                                       Watsonville, CA 95076‐0517                                                                              First Class Mail
Voting Party                   Corretore Law Offices For Umc Webster                       Attn: David Corretore                                 66 E Main St                                            Webster, NY 14580                                                     david@corretorelaw.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Corron Elementary School PTO                                Three Fires Council 127                               455 Thornwood Way                                       South Elgin, IL 60177‐2222                                                                              First Class Mail
Chartered Organization         Corryville Recreation Center                                Dan Beard Council, Bsa 438                            2823 Eden Ave                                           Cincinnati, OH 45219‐2291                                                                               First Class Mail
Chartered Organization         Corsair Foundation                                          Cascade Pacific Council 492                           1624 E 11th St                                          The Dalles, OR 97058‐3120                                                                               First Class Mail
Chartered Organization         Corse PTO                                                   Mississippi Valley Council 141 141                    700 S Starr Ave                                         Burlington, IA 52601‐3014                                                                               First Class Mail
Chartered Organization         Cortaro Ward ‐ LDS Marana Stake                             Catalina Council 011                                  3530 W Magee Rd                                         Tucson, AZ 85741‐1126                                                                                   First Class Mail
Chartered Organization         Corte Madera Lions Club                                     Marin Council 035                                     498 Tamalpais Dr                                        Corte Madera, CA 94925‐1561                                                                             First Class Mail
Chartered Organization         Cortez Elks                                                 Great Swest Council 412                               P.O. Box 726                                            Cortez, CO 81321‐0726                                                                                   First Class Mail
Chartered Organization         Cortez Elks Lodge                                           Great Swest Council 412                               2100 N Dolores Rd                                       Cortez, CO 81321                                                                                        First Class Mail
Chartered Organization         Cortez Lodge 1789 Bpoe                                      Great Swest Council 412                               P.O. Box 726                                            Cortez, CO 81321‐0726                                                                                   First Class Mail
Chartered Organization         Cortland Commty                                             Volunteer Fire Dept Assoc                             455 N St                                                Cortland, IL 60112                                                                                      First Class Mail
Chartered Organization         Cortland Moose Lodge 1012                                   Great Trail 433                                       6400 State Route 46                                     Cortland, OH 44410‐9609                                                                                 First Class Mail
Chartered Organization         Corvallis Elks Lodge 1413                                   Oregon Trail Council 697                              1400 NW 9th St                                          Corvallis, OR 97330‐4511                                                                                First Class Mail
Voting Party                   Corvallis United Methodist Church                           Attn: Treasurer ‐ Corvallis United Methodist Church   P.O. Box 37                                             Corvallis, MT 59828                                                   worship@corvallisumc.org          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Corvallis Utd Methodist Church                              Montana Council 315                                   411 S 5th St                                            Hamilton, MT 59840‐2750                                                                                 First Class Mail
Chartered Organization         Corydon Utd Methodist Church                                Mid Iowa Council 177                                  213 W Jackson St                                        Corydon, IA 50060‐1421                                                                                  First Class Mail
Chartered Organization         Coshocton County Sheriff's Office                           Muskingum Valley Council, Bsa 467                     328 Chestnut St                                         Coshocton, OH 43812‐1133                                                                                First Class Mail
Voting Party                   Cosmes Outboard Service LLC                                 44 Pelican Ln                                         Big Pine Key, FL 33043‐3314                                                                                                                                     First Class Mail
Chartered Organization         Cosmic Comics                                               Las Vegas Area Council 328                            3830 E Flamingo Rd, Ste F2                              Las Vegas, NV 89121‐6237                                                                                First Class Mail
Chartered Organization         Costa Mesa Fire Dept Explor Post 400                        Orange County Council 039                             P.O. Box 1200                                           Costa Mesa, CA 92628‐1200                                                                               First Class Mail
Chartered Organization         Costa Mesa Police Dept                                      Orange County Council 039                             P.O. Box 1200                                           Costa Mesa, CA 92628‐1200                                                                               First Class Mail
Chartered Organization         Costano Elementary School                                   Pacific Skyline Council 031                           2695 Fordham St                                         East Palo Alto, CA 94303‐1207                                                                           First Class Mail
Chartered Organization         Costello Elementary School PTO                              Great Lakes Fsc 272                                   5201 Abington Dr                                        Troy, MI 48085‐3415                                                                                     First Class Mail
Voting Party                   Costello, Carlson, Butzon & Schmit, LLP                     Hans K. Carlson                                       603 2nd St                                              Jackson, MN 56143                                                     hans@swmnlaw.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Coteau Volunteer Fire Dept                                  Southeast Louisiana Council 214                       2325 Coteau Rd                                          Houma, LA 70364‐3712                                                                                    First Class Mail
Chartered Organization         Cottage Grove Elementary Pto                                Northern Star Council 250                             7447 65th St S                                          Cottage Grove, MN 55016‐1104                                                                            First Class Mail
Chartered Organization         Cottage Grove Lions Club                                    Northern Star Council 250                             8729 Indian Blvd S                                      Cottage Grove, MN 55016‐2150                                                                            First Class Mail
Chartered Organization         Cottage Grove Lions Club                                    c/o Lee Phillips                                      2414 Nora Rd                                            Cottage Grove, WI 53527‐9415                                                                            First Class Mail
Chartered Organization         Cottage Grove Police Explorers                              Northern Star Council 250                             12800 Ravine Pkwy                                       Cottage Grove, MN 55016‐6103                                                                            First Class Mail
Chartered Organization         Cottage Grove Utd Church Of Christ                          Northern Star Council 250                             7008 Lamar Ave S                                        Cottage Grove, MN 55016‐2317                                                                            First Class Mail
Chartered Organization         Cottage Grove Vfw Post 8752                                 Northern Star Council 250                             9260 E Point Douglas Rd S                               Cottage Grove, MN 55016‐4031                                                                            First Class Mail
Chartered Organization         Cottage Lake Presbyterian Church                            Chief Seattle Council 609                             P.O. Box 950                                            Woodinville, WA 98072‐0950                                                                              First Class Mail
Chartered Organization         Cotter Schools                                              Gamehaven 299                                         1115 W Broadway St                                      Winona, MN 55987‐5145                                                                                   First Class Mail
Chartered Organization         Cotton Hill Ward‐Lds                                        Blue Ridge Mtns Council 599                           5836 Cotton Hill Rd                                     Roanoke, VA 24018‐5200                                                                                  First Class Mail
Chartered Organization         Cotton Valley Fumc                                          Norwela Council 215                                   130 Church St                                           Cotton Valley, LA 71018                                                                                 First Class Mail
Chartered Organization         Cottondale Utd Methodist Church                             Black Warrior Council 006                             2117 Church St                                          Cottondale, AL 35453‐2051                                                                               First Class Mail
Chartered Organization         Cottonwood Creek Baptist Church                             Circle Ten Council 571                                1015 Sam Rayburn Tollway                                Allen, TX 75013‐5620                                                                                    First Class Mail
Chartered Organization         Cottonwood Creek PTO                                        Circle Ten Council 571                                615 Minyard Dr                                          Coppell, TX 75019‐2014                                                                                  First Class Mail
Chartered Organization         Cottonwood Elementary School                                Arbuckle Area Council 468                             P.O. Box 347                                            Coalgate, OK 74538‐0347                                                                                 First Class Mail
Chartered Organization         Cottonwood Middle School                                    Arbuckle Area Council 468                             P.O. Box 347                                            Coalgate, OK 74538‐0347                                                                                 First Class Mail
Chartered Organization         Cottonwood Plains Elementary School PTA                     Longs Peak Council 062                                525 Turman Dr                                           Fort Collins, CO 80525‐9399                                                                             First Class Mail
Chartered Organization         Cottonwood Presbyterian Church                              Great Salt Lake Council 590                           1580 E Vine St                                          Salt Lake City, UT 84121‐1945                                                                           First Class Mail
Chartered Organization         Cottreall‐Warner AL Post 942                                Seneca Waterways 397                                  818 Ridge Rd                                            Webster, NY 14580‐2411                                                                                  First Class Mail
Chartered Organization         Cottrell Boylan Post 253 AL                                 Black Swamp Area Council 449                          518 Erie St                                             Antwerp, OH 45813                                                                                       First Class Mail
Chartered Organization         Cotuit Federated Church                                     Cape Cod and Islands Cncl 224                         40 School St                                            Cotuit, MA 02635‐3245                                                                                   First Class Mail
Chartered Organization         Coufal Land Management                                      Pikes Peak Council 060                                7650 Wranglers Way                                      Colorado Springs, CO 80908‐2151                                                                         First Class Mail
Chartered Organization         Cougar Lanes, Ltd                                           Glaciers Edge Council 620                             204 Mill St                                             Clinton, WI 53525‐9459                                                                                  First Class Mail
Chartered Organization         Coulee City Presbyterian Church                             Grand Columbia Council 614                            214 N 4th St                                            Coulee City, WA 99115‐5158                                                                              First Class Mail
Chartered Organization         Coulson Church Of The Brethren                              Blue Ridge Mtns Council 599                           4127 Coulson Church Rd                                  Hillsville, VA 24343‐3682                                                                               First Class Mail
Chartered Organization         Council Bluffs After Sch Club‐Longfellow                    Mid‐America Council 326                               2011 S 10th St                                          Council Bluffs, IA 51501‐7204                                                                           First Class Mail
Chartered Organization         Council Bluffs After School Club‐Rue                        Mid‐America Council 326                               300 W Broadway, Ste 1600                                Council Bluffs, IA 51503‐9054                                                                           First Class Mail
Chartered Organization         Council Elementary School PTA                               Sequoyah Council 713                                  7608 Helen Henderson Hwy                                Honaker, VA 24260‐4178                                                                                  First Class Mail
Chartered Organization         Council Grove Rotary                                        Coronado Area Council 192                             510 Spencer St                                          Council Grove, KS 66846‐1264                                                                            First Class Mail
Chartered Organization         Council Grove Rotary Club                                   Coronado Area Council 192                             P.O. Box C                                              Council Grove, KS 66846‐0620                                                                            First Class Mail
Chartered Organization         Council Oak Elementary School PTA                           Indian Nations Council 488                            1920 S Cincinnati Ave                                   Tulsa, OK 74119‐5228                                                                                    First Class Mail
Chartered Organization         Council Of Churches                                         Cornhusker Council 324                                7701 S 176th Rd                                         Adams, NE 68301‐8254                                                                                    First Class Mail
Chartered Organization         Council Of Churches Of Wendell                              Occoneechee 421                                       421 Mattox St                                           Wendell, NC 27591‐8059                                                                                  First Class Mail
Chartered Organization         Council Of Grace Lutheran Church                            Cradle of Liberty Council 525                         25 W Broad St                                           Hatfield, PA 19440‐2905                                                                                 First Class Mail
Chartered Organization         Council Of Ministries                                       Seneca Waterways 397                                  1160 Macedon Center Rd                                  Macedon, NY 14502‐9138                                                                                  First Class Mail
Voting Party                   Country Club Christian Church                               Attn: Eileen Brown                                    6101 Ward Pkwy                                          Kansas City, MO 64113                                                 eileenb@cccckc.org                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Country Club View Civic Assoc                               National Capital Area Council 082                     P.O. Box 7074                                           Fairfax Station, VA 22039‐7074                                                                          First Class Mail
Chartered Organization         Country Lane Home & School Club                             Silicon Valley Monterey Bay 055                       5140 Country Ln                                         San Jose, CA 95129‐4217                                                                                 First Class Mail
Chartered Organization         Country Parkway Elementary School PTA                       Greater Niagara Frontier Council 380                  35 Hollybrook Dr                                        Williamsville, NY 14221‐3823                                                                            First Class Mail
Chartered Organization         Countryside Christian Church                                Heart of America Council 307                          6101 Nall Ave                                           Mission, KS 66202‐3545                                                                                  First Class Mail
Voting Party                   Countryside Community Church                                Attn: Robyn Hubbard                                   13130 Faith Plz                                         Omaha, NE 68144                                                       robynh@countrysideucc.org         Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Countryside Community Church (75414)                        c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Countryside Elementary Pto                                  Heart of America Council 307                          15800 W 124th Ter                                       Olathe, KS 66062‐1116                                                                                   First Class Mail
Chartered Organization         Countryside PTO                                             Pathway To Adventure 456                              205 W County Line Rd                                    Barrington, IL 60010‐4022                                                                               First Class Mail
Voting Party                   Countryside United Methodist Church                         Attn: Heather Hoffmans                                3221 SW Burlingame Rd                                   Topeka, KS 66611                                                      heather@countrysideumc.org        Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Countryside Ward ‐ LDS Tucson West Stake                    Catalina Council 011                                  3500 W Sumter Dr                                        Tucson, AZ 85742‐8680                                                                                   First Class Mail
Chartered Organization         Countryside Ymca                                            Dan Beard Council, Bsa 438                            1699 Deerfield Rd                                       Lebanon, OH 45036‐9215                                                                                  First Class Mail
Chartered Organization         County Line Utd Methodist Church                            Atlanta Area Council 092                              1183 County Line Rd NW                                  Acworth, GA 30101‐7824                                                                                  First Class Mail
Chartered Organization         Coupeville Foursquare Church                                Mount Baker Council, Bsa 606                          P.O. Box 896                                            Coupeville, WA 98239‐0896                                                                               First Class Mail
Chartered Organization         Coupeville Lions Club                                       Mount Baker Council, Bsa 606                          P.O. Box 473                                            Coupeville, WA 98239‐0473                                                                               First Class Mail
Chartered Organization         Courageous Inc                                              Great Lakes Fsc 272                                   12925 Auburn St                                         Detroit, MI 48223‐3400                                                                                  First Class Mail
Chartered Organization         Court Street Scouts                                         Pine Burr Area Council 304                            609 Sern Ave                                            Hattiesburg, MS 39401                                                                                   First Class Mail
Voting Party                   Court Street United Methodist Church                        Attn: Suzanna Hyland                                  609 Southern Ave                                        Hattiesburg, MS 39401                                                 suekeenhyland@gmail.com           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Court Street United Methodist Church                        Attn: Suzanna K Hyland                                416 Court St                                            Hattiesburg, MS 39401                                                                                   First Class Mail
Voting Party                   Court Street United Methodist Church (078805)               c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Court Street Utd Methodist Mens Club                        Water and Woods Council 782                           225 W Court St                                          Flint, MI 48502‐1130                                                                                    First Class Mail
Voting Party                   Courtdale United Methodist Church (079560)                  c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Courthouse Commty                                           United Methodist Church                               2708 Princess Anne Rd                                   Virginia Beach, VA 23456‐2510                                                                           First Class Mail
Voting Party                   Courthouse Community Umc                                    c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Courtland Oakfield United Methodist Church                  Attn: Chuck Ellis                                     10295 Myers Lake Ave NE                                 Rockford, MI 49341                                                    courtland.oakfieldumc@gmail.com   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Courtland Ruritan Club                                      Attn: Christopher Michael Bell                        P.O. Box 586                                            Courtland, VA 23837                                                   gjackson244@gmail.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Courtland Ruritan Club, Inc.                                Attn: Christopher Michael Bell                        P.O. Box 586                                            Courtland, VA 23837                                                   gjackson244@gmail.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Courtland Umc                                               c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Courtney Knight and Stephen Knight, Jointly                 c/o Schnader Harrison Segal & Lewis, LLP              Attn: Kristi J Doughty                                  824 N Market St, Ste 800           Wilmington, DE 19801               kdoughty@schnader.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Courtney Preston Kellner                                    325 W Main St, Ste 1800                               Louisville, KY 40202                                                                                                          courtney@kellnergreen.com         Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Couts Memorial United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Couts Memorial United Methodist Church                      802 N Elm St                                          Weatherford, TX 76086                                                                                                                                           First Class Mail
Chartered Organization         Couts Utd Methodist Church                                  Longhorn Council 662                                  802 N Elm St                                            Weatherford, TX 76086‐2524                                                                              First Class Mail
Chartered Organization         Coutts Sweetgrass Lions Club                                Montana Council 315                                   P.O. Box 722                                            Sunburst, MT 59482‐0722                                                                                 First Class Mail
Voting Party                   Cove United Methodist Church                                Attn: Kathy Tanner                                    366 Old Hwy 431                                         Owens Cross Rds, AL 35763                                             Kathy@covechurch.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Cove Utd Methodist Church                                   Greater Alabama Council 001                           366 Old Hwy 431                                         Hampton Cove, AL 35763‐9264                                                                             First Class Mail
Chartered Organization         Cove Utd Presbyterian Church                                Ohio River Valley Council 619                         3404 Main St                                            Weirton, WV 26062‐4557                                                                                  First Class Mail
Voting Party                   Covenant                                                    c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Covenant (Charlotte)                                        c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Covenant Baptist Church, Inc.                               Attn: Eric D Bruce                                    P.O. Box 75037                                          Wichita, KS 67275                                                     Mail@KsAdvocates.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Covenant Christian Church                                   Circle Ten Council 571                                P.O. Box 1803                                           Paris, TX 75461‐1803                                                                                    First Class Mail
Chartered Organization         Covenant Church Utd Methodist                               Old N State Council 070                               1526 Skeet Club Rd                                      High Point, NC 27265‐9530                                                                               First Class Mail
Chartered Organization         Covenant Community Church                                   Daniel Boone Council 414                              11 Rocket Dr                                            Asheville, NC 28803‐9100                                                                                First Class Mail
Chartered Organization         Covenant Community Church                                   Dan Beard Council, Bsa 438                            2860 Mack Rd                                            Fairfield, OH 45014‐5130                                                                                First Class Mail
Chartered Organization         Covenant Community Church                                   Last Frontier Council 480                             2250 S Yukon Pkwy                                       Yukon, OK 73099‐4594                                                                                    First Class Mail
Voting Party                   Covenant Community Church                                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Covenant Community Presbyterian Church                      Samoset Council, Bsa 627                              1806 Won Ave                                            Schofield, WI 54476                                                                                     First Class Mail
Voting Party                   Covenant Community Presbyterian Church                      Attn: James E Gates                                   1806 Weston Ave                                         Schofield, WI 54476                                                   ccpc@covenantcommunitypc.org      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Covenant Congregational Church                              Mayflower Council 251                                 204 Center St                                           North Easton, MA 02356‐1924                                                                             First Class Mail
Chartered Organization         Covenant Evangelical Presbyterian Church                    Bay Area Council 574                                  102 Yaupon St                                           Lake Jackson, TX 77566‐5461                                                                             First Class Mail
Chartered Organization         Covenant Faith Utd Methodist Ch                             Sam Houston Area Council 576                          7900 Fuqua St                                           Houston, TX 77075‐3734                                                                                  First Class Mail
Chartered Organization         Covenant Glen Utd Methodist Church                          Sam Houston Area Council 576                          3663 Center St                                          Houston, TX 77007                                                                                       First Class Mail
Voting Party                   Covenant Hills Christian Camp                               Attn: John H. Schuyler Board of Managers Chairman     318 E Main St                                           Frankfort, NY 13349                                                   boardchairchcc@gmail.com          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Covenant Lutheran Church                                    Sam Houston Area Council 576                          P.O. Box 840485                                         Houston, TX 77284‐0485                                                                                  First Class Mail
Chartered Organization         Covenant Of Grace Presbyterian Church                       Baltimore Area Council 220                            820 Nicodemus Rd                                        Reisterstown, MD 21136‐6000                                                                             First Class Mail
Chartered Organization         Covenant Presbyterian                                       Daniel Boone Council 414                              2101 Kanuga Rd                                          Hendersonville, NC 28739‐6737                                                                           First Class Mail
Chartered Organization         Covenant Presbyterian                                       Greater Los Angeles Area 033                          6323 W 80th St                                          Los Angeles, CA 90045‐1417                                                                              First Class Mail
Chartered Organization         Covenant Presbyterian Ch Palo Alto                          Pacific Skyline Council 031                           670 E Meadow Dr                                         Palo Alto, CA 94306‐3627                                                                                First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Northeast Georgia Council 101                         1065 Gaines School Rd                                   Athens, GA 30605‐3135                                                                                   First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Atlanta Area Council 092                              2461 Peachtree Rd Ne                                    Atlanta, GA 30305‐4149                                                                                  First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Ore‐Ida Council 106 ‐ Bsa 106                         4848 N Five Mile Rd                                     Boise, ID 83713‐1824                                                                                    First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Garden State Council 690                              2618 New Albany Rd                                      Cinnaminson, NJ 08077‐3451                                                                              First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Sam Houston Area Council 576                          220 Rock Prairie Rd                                     College Station, TX 77845‐8795                                                                          First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Simon Kenton Council 441                              2070 Ridgecliff Rd                                      Columbus, OH 43221‐1948                                                                                 First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Southwest Florida Council 088                         2439 Mcgregor Blvd                                      Fort Myers, FL 33901‐3305                                                                               First Class Mail
Chartered Organization         Covenant Presbyterian Church                                North Florida Council 087                             1001 NW 98th St                                         Gainesville, FL 32606‐5503                                                                              First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Andrew Jackson Council 303                            4000 Ridgewood Rd                                       Jackson, MS 39211‐6425                                                                                  First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Sequoyah Council 713                                  603 Sunset Dr                                           Johnson City, TN 37604‐3029                                                                             First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Heart of America Council 307                          5931 Swope Pkwy                                         Kansas City, MO 64130‐4242                                                                              First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Greater Los Angeles Area 033                          6323 W 80th St                                          Los Angeles, CA 90045‐1417                                                                              First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Glaciers Edge Council 620                             326 S Segoe Rd                                          Madison, WI 53705‐4955                                                                                  First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Chester County Council 539                            400 Lancaster Ave                                       Malvern, PA 19355‐1806                                                                                  First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Atlanta Area Council 092                              2881 Canton Rd                                          Marietta, GA 30066‐5469                                                                                 First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Last Frontier Council 480                             10100 Ridgeview Dr                                      Oklahoma City, OK 73120‐3336                                                                            First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Blue Ridge Mtns Council 599                           1831 Deyerle Rd Sw                                      Roanoke, VA 24018‐1317                                                                                  First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Palmetto Council 549                                  1830 Celanese Rd                                        Rock Hill, SC 29732‐1733                                                                                First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Alamo Area Council 583                                211 Roleto Dr                                           San Antonio, TX 78213‐2414                                                                              First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Dan Beard Council, Bsa 438                            415 N Main St                                           Springboro, OH 45066‐9556                                                                               First Class Mail
Chartered Organization         Covenant Presbyterian Church                                Tecumseh 439                                          201 N Limestone St                                      Springfield, OH 45503‐4201                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 77 of 442
                                                                                    Case 20-10343-LSS                                                                       Doc 8171                                      Filed 01/06/22                                           Page 93 of 457
                                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                                        Service List
                                                                                                                                                                                                 Served as set forth below

        Description                                                       Name                                                                                                                       Address                                                                                                          Email                    Method of Service
Chartered Organization         Covenant Presbyterian Church                                               Quivira Council, Bsa 198                                 1750 N Tyler Rd                                        Wichita, KS 67212‐1507                                                                                    First Class Mail
Voting Party                   Covenant Presbyterian Church                                               Attn: Clerk of Session Covenant Presbyterian Church      18630 SE Div St                                        Gresham, OR 97030                                                  davedcovenant@msn.com                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant Presbyterian Church                                               18630 SE Div St                                          Gresham, OR 97030                                                                                                         davedcovenant@msn.com                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Covenant Presbyterian Church (Pusa)                                        Capitol Area Council 564                                 3003 Northland Dr                                      Austin, TX 78757‐5036                                                                                     First Class Mail
Chartered Organization         Covenant Presbyterian Church Mens                                          Glaciers Edge Council 620                                326 S Segoe Rd                                         Madison, WI 53705‐4955                                                                                    First Class Mail
Voting Party                   Covenant Presbyterian Church of Johnson City, TN, Inc.                     603 Sunset Dr                                            Johnson City, TN 37604                                                                                                    office@cpcjc.org                       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant Presbyterian Church of Johnson City, TN, Inc.                     Attn: Donald S Hart                                      812 Beech Dr                                           Johnson City, TN 37604                                             dshartjr@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant Presbyterian Church Roanoke, VA                                   Attn: Wilburn Dibling                                    1831 Deyerle Rd Sw                                     Roanoke, VA 24018                                                  wcd@cox.net                            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant Presbyterian Church, Cinnaminson, NJ                              Attn: David C. Landgraf                                  2618 New Albany Rd                                     Cinnaminson, NJ 08077                                              covenantpreschurch@comcast.net         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Covenant Ranch Fellowship Church                                           Buffalo Trail Council 567                                302 Hughes St                                          Westbrook, TX 79565                                                                                       First Class Mail
Voting Party                   Covenant Umc                                                               Jonathan Ramsay Snape                                    12112 Shetland Chase                                   Austin, TX 78727                                                   jonathanrsnape@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant Umc                                                               Attn: Jonathan Ramsay Snape                              4410 Duval Rd                                          Austin, TX 78727                                                   jonathanrsnape@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant Umc                                                               Attn: Jeff Crites ‐ Covenant Umc                         909 W Jefferson St                                     La Grange, KY 40031                                                covenantunitedmethodist@gmail.com      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant Umc (Smyrna)                                                      c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant Umc Albuquerque                                                   c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant Umc Of St Bernard Inc                                             Attn: Richard Stierwald                                  115 E D'Amour St                                       Chalmette, LA 70043                                                Rstierwa@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant United Methodist Church                                           1124 Culver Rd                                           Rochester, NY 14609                                                                                                       welcome@covenantroc.org                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant United Methodist Church                                           Attn: Mary Guse                                          2330 E Broadway                                        Helena, MI 59601                                                   rmguse@msn.com                         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant United Methodist Church                                           Attn: Margaret Chinn                                     20301 Pleasant Ridge Dr                                Montgomery Village, MD 20886                                       office@covenant‐umc.org                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant United Methodist Church                                           Attn: Rev. Matt Yon                                      1310 Old Spartanburg Rd                                Greer, SC 29650                                                    myon@covumc.org                        Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant United Methodist Church                                           Attn: Lisa Johnson                                       8350 Walnut Grove Rd                                   Cordova, TN 38018                                                  ljohnson@covenantumc.org               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant United Methodist Church                                           c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant United Methodist Church ‐ Springfield                             c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant United Methodist Church ‐ Springfield                             212 W Springfield Rd                                     Springfield, PA 19064                                                                                                                                            First Class Mail
Voting Party                   Covenant United Methodist Church (08280)                                   c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant United Methodist Church Moore Township 2715 Mountain View Drive   c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Covenant United Methodist Church Port Orange Fl                            c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                                                         First Class Mail
Voting Party                   Covenant United Methodist Church, Middlesboro                              Attn: Betsy Huber, Treasurer                             P.O. Box 399                                           Middlesboro, KY 40965                                              pastorcovenantumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Covenant Utd Church Of Christ                                              Iroquois Trail Council 376                               4449 Main St                                           Gasport, NY 14067‐9202                                                                                    First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              Great Swest Council 412                                  8510 Wyoming Blvd Ne                                   Albuquerque, NM 87113‐1882                                                                                First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              Capitol Area Council 564                                 4410 Duval Rd                                          Austin, TX 78727‐6808                                                                                     First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              Southeast Louisiana Council 214                          115 E Damour St                                        Chalmette, LA 70043‐5125                                                                                  First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              Southeast Louisiana Council 214                          P.O. Box 530                                           Chalmette, LA 70044‐0530                                                                                  First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              Tidewater Council 596                                    2004 Dock Landing Rd                                   Chesapeake, VA 23321‐3512                                                                                 First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              Bay‐Lakes Council 635                                    20 N Marr St                                           Fond Du Lac, WI 54935‐3434                                                                                First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              Anthony Wayne Area 157                                   10001 Coldwater Rd                                     Fort Wayne, IN 46825‐2039                                                                                 First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              Lincoln Heritage Council 205                             909 W Jefferson St                                     Lagrange, KY 40031‐1028                                                                                   First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              Pennsylvania Dutch Council 524                           346 N 9th St                                           Lebanon, PA 17046‐3465                                                                                    First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              Blue Grass Council 204                                   602 Dorchester Ave                                     Middlesboro, KY 40965‐2030                                                                                First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              Central Florida Council 083                              3701 Clyde Morris Blvd                                 Port Orange, FL 32129‐2319                                                                                First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              Inland Nwest Council 611                                 15515 N Gleneden Dr                                    Spokane, WA 99208‐9743                                                                                    First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              Cradle of Liberty Council 525                            212 W Springfield Rd                                   Springfield, PA 19064‐2402                                                                                First Class Mail
Chartered Organization         Covenant Utd Methodist Church                                              East Carolina Council 426                                4000 Corey Rd                                          Winterville, NC 28590‐9260                                                                                First Class Mail
Chartered Organization         Covenant Wealth Management                                                 Old Hickory Council 427                                  301 N Main St Fl 24                                    Winston Salem, NC 27101‐3836                                                                              First Class Mail
Voting Party                   Coventant United Methodist Church Moore Township 2715 Mounta               2715 Mountain View Dr                                    Bath, PA 18014                                                                                                                                                   First Class Mail
Chartered Organization         Coventry Catholic Men'S Club, Inc                                          Connecticut Rivers Council, Bsa 066                      P.O. Box 243                                           Coventry, CT 06238‐0243                                                                                   First Class Mail
Chartered Organization         Coventry Church Of The Brethren                                            Chester County Council 539                               946 Keen Rd                                            Pottstown, PA 19465‐7532                                                                                  First Class Mail
Voting Party                   Coventry Church, Ocala                                                     Attn: Sarah Caprani                                      1017 E Robinson St                                     Orlando, FL 32801                                                  Sholcombe@cfdiocese.org                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Coventryville Methodist Church                                             Chester County Council 539                               1521 Old Ridge Rd                                      Pottstown, PA 19465‐8509                                                                                  First Class Mail
Chartered Organization         Covina Police Explorer Post                                                Greater Los Angeles Area 033                             444 N Citrus Ave                                       Covina, CA 91723‐2013                                                                                     First Class Mail
Voting Party                   Covina United Methodist Church                                             Attn: Glen Pierce                                        437 W San Bernardino Rd                                Covina, CA 91723                                                   covinaumc@covinaumc.org                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Covington Exchange Club                                                    West Tennessee Area Council 559                          P.O. Box 376                                           Covington, TN 38019‐0376                                                                                  First Class Mail
Voting Party                   Covington First United Methodist Church                                    Attn: Sandra Burgess                                     145 W Church Ave                                       Covington, TN 38019                                                covingtonfumc@covingtonfumc.com        Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Covington Police Dept                                                      Atlanta Area Council 092                                 13183 Harland Dr Ne                                    Covington, GA 30014‐6421                                                                                  First Class Mail
Chartered Organization         Covington Presbyterian Church                                              Miami Valley Council, Bsa 444                            30 N Pearl St                                          Covington, OH 45318‐1610                                                                                  First Class Mail
Chartered Organization         Covington Presbyterian Church                                              Miami Valley Council, Bsa 444                            115 N Pearl St                                         Covington, OH 45318‐1611                                                                                  First Class Mail
Voting Party                   Covington United Methodist Church (140424)                                 c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Covington Utd Methodist Church                                             Longhorn Council 662                                     115 S Douglass St                                      Covington, TX 76636                                                                                       First Class Mail
Chartered Organization         Covington Ward New Orleans Stake Lds                                       Southeast Louisiana Council 214                          2638 W 15th Ave                                        Covington, LA 70433‐1131                                                                                  First Class Mail
Chartered Organization         Cowboy Church Of Harrison County                                           East Texas Area Council 585                              P.O. Box 1073                                          Hallsville, TX 75650‐1073                                                                                 First Class Mail
Chartered Organization         Cowern Parent Teacher Group                                                Northern Star Council 250                                2131 Margaret St N                                     Saint Paul, MN 55109‐4142                                                                                 First Class Mail
Chartered Organization         Coweta Charter Academy                                                     Flint River Council 095                                  6675 Hwy 16                                            Senoia, GA 30276‐3345                                                                                     First Class Mail
Voting Party                   Cox Memorial United Methodist Church                                       29 Middle St                                             P.O. Box 294                                           Hallowell, ME 04347                                                coxumcpastor@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Coxs Creek Elem Parent Teacher Assoc                                       Lincoln Heritage Council 205                             5635 Louisville Rd                                     Coxs Creek, KY 40013‐8731                                                                                 First Class Mail
Chartered Organization         Coxsackie American Legion Post 166                                         Rip Van Winkle Council 405                               P.O. Box 101                                           Coxsackie, NY 12051‐0101                                                                                  First Class Mail
Chartered Organization         Coy School P G A                                                           Erie Shores Council 460                                  3604 Pickle Rd                                         Oregon, OH 43616‐4126                                                                                     First Class Mail
Chartered Organization         Cozad Elks Club                                                            Overland Trails 322                                      P.O. Box 243                                           Cozad, NE 69130‐0243                                                                                      First Class Mail
Chartered Organization         Cpcc Drones                                                                Mecklenburg County Council 415                           11920 Verhoeff Dr                                      Huntersville, NC 28078                                                                                    First Class Mail
Chartered Organization         Cpl Mark Goyet Vfw Post 12160                                              South Texas Council 577                                  P.O. Box 694                                           Sinton, TX 78387‐0694                                                                                     First Class Mail
Chartered Organization         Crabbe Elementary School                                                   Buckskin 617                                             520 17th St                                            Ashland, KY 41101‐2706                                                                                    First Class Mail
Chartered Organization         Crabtree Utd Methodist Church                                              Daniel Boone Council 414                                 5405 Crabtree Rd                                       Clyde, NC 28721‐8777                                                                                      First Class Mail
Chartered Organization         Crafton Ingram Rotary                                                      Laurel Highlands Council 527                             P.O. Box 44007                                         Pittsburgh, PA 15205‐0207                                                                                 First Class Mail
Chartered Organization         Craftsmen Recreation Club Inc                                              Great Trail 433                                          4450 Rex Lake Dr                                       New Franklin, OH 44319‐3430                                                                               First Class Mail
Voting Party                   Craig D'Anniballe                                                          5625 Manchester Rd                                       New Franklin, OH 44319                                                                                                    pastor@manchesterunitedmethodist.org   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Craig Fenneman                                                             c/o Boy Scouts of America                                Attn: Chase Koontz                                     1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org              Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Craig Memorial Congregational Church                                       P.O. Box 1386                                            Paradise, CA 95967                                                                                                                                               First Class Mail
Voting Party                   Craig Memorial United Methodist Church                                     Attn: Anne Reid                                          844 John Wills Ave, Box 127                            Eastaboga, AL 36260                                                annereid@cableone.net                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Craig Robert Paschal                                                       470 W Grand Ave                                          Mancos, CO 81328                                                                                                                                                 First Class Mail
Chartered Organization         Craig School PTO                                                           Greater St Louis Area Council 312                        1492 Craig Rd                                          Saint Louis, MO 63146‐4842                                                                                First Class Mail
Chartered Organization         Craig‐Harris Post 251 American Legion                                      Sam Houston Area Council 576                             P.O. Box 1001                                          El Campo, TX 77437‐1001                                                                                   First Class Mail
Firm                           Crain Brogdon Rogers LLP                                                   Quentin Brogdon                                          3400 Carlisle Ste 200                                  Dallas, TX 75201                                                   qbrogdon@cbrlawfirm.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Cramer Security & Investigations Inc                                       P.O. Box 1082                                            Beckley, WV 25802‐1082                                                                                                                                           First Class Mail
Chartered Organization         Cramp Second Chances                                                       Cradle of Liberty Council 525                            3449 N Mascher St                                      Philadelphia, PA 19140‐4621                                                                               First Class Mail
Chartered Organization         Cranberry Commty                                                           United Presbyterian Church                               2662 Rochester Rd                                      Cranberry Twp, PA 16066‐6604                                                                              First Class Mail
Chartered Organization         Cranberry Elks Lodge 2249                                                  Moraine Trails Council 500                               20720 Route 19                                         Cranberry Twp, PA 16066‐6003                                                                              First Class Mail
Chartered Organization         Cranberry Lake Volunteer Fire Dept                                         Patriots Path Council 358                                Rte 206                                                Andover, NJ 07821                                                                                         First Class Mail
Chartered Organization         Cranberry Lions Club/Seneca Vfd                                            French Creek Council 532                                 152 Pennsylvania Ave                                   Seneca, PA 16346‐2524                                                                                     First Class Mail
Chartered Organization         Cranberry Township Friends Of Scouting                                     Moraine Trails Council 500                               158 Briarwood Ln                                       Cranberry Twp, PA 16066‐4714                                                                              First Class Mail
Voting Party                   Cranberry United Methodist Church                                          Rev Dr Karin Walker                                      1509 Fallston Rd                                       Fallston, MD 21047                                                 karin.walker@fallstonumc.org           Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Cranberry United Methodist Church                                          Attn: Rhonda Simons                                      1632 Perryman Rd                                       Aberdeen, MD 21001                                                 karin.walker@fallstonumc.org           Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Cranbrook Educational Community                                            Great Lakes Fsc 272                                      P.O. Box 801                                           Bloomfield Hills, MI 48303‐0801                                                                           First Class Mail
Chartered Organization         Cranbury School PTA                                                        Connecticut Yankee Council Bsa 072                       10 Knowalot Ln                                         Norwalk, CT 06851‐1311                                                                                    First Class Mail
Voting Party                   Crandall United Methodist Church                                           Attn: Gary Moonshower, Trustee                           Cumc                                                   P.O. Box 145                      Crandall, TX 75114               gmoonshower@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Crandall Utd Methodist Church                                              Circle Ten Council 571                                   P.O. Box 145                                           Crandall, TX 75114‐0145                                                                                   First Class Mail
Chartered Organization         Crandell Holdings, LLC                                                     Catalina Council 011                                     4349 E Tennessee St                                    Tucson, AZ 85714‐2136                                                                                     First Class Mail
Chartered Organization         Crandon Public Library Friends, Library                                    Samoset Council, Bsa 627                                 110 W Polk St                                          Crandon, WI 54520‐1468                                                                                    First Class Mail
Chartered Organization         Crane Presbyterian Church                                                  Ozark Trails Council 306                                 P.O. Box 46                                            Crane, MO 65633‐0046                                                                                      First Class Mail
Voting Party                   Cranford                                                                   c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Cranford Fire Explorer Post                                                Patriots Path Council 358                                7 Springfield Ave                                      Cranford, NJ 07016‐2116                                                                                   First Class Mail
Chartered Organization         Cranford Police Dept                                                       Patriots Path Council 358                                8 Springfield Ave                                      Cranford, NJ 07016‐2181                                                                                   First Class Mail
Chartered Organization         Cranford Utd Methodist Church                                              Patriots Path Council 358                                Lincoln Ave                                            Cranford, NJ 07016                                                                                        First Class Mail
Chartered Organization         Cranford Utd Methodist Church                                              Patriots Path Council 358                                201 Lincoln Ave E                                      Cranford, NJ 07016‐2909                                                                                   First Class Mail
Chartered Organization         Cranston Police Dept                                                       Narragansett 546                                         5 Garfield Ave                                         Cranston, RI 02920‐7805                                                                                   First Class Mail
Chartered Organization         Cranston Rotary Club                                                       Narragansett 546                                         648 Park Ave                                           Cranston, RI 02910                                                                                        First Class Mail
Voting Party                   Craryville United Methodist Church                                         Attn: Jinha Choi                                         1775 Route 23                                          Craryville, NY 12521                                               jinha.choi@nyac‐umc.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Crawford Co Citizens For Scouting                                          Central Georgia Council 096                              P.O. Box 233                                           Roberta, GA 31078‐0233                                                                                    First Class Mail
Chartered Organization         Crawford Co Citizens For Scouting                                          Central Georgia Council 096                              P.O. Box 466                                           Roberta, GA 31078‐0466                                                                                    First Class Mail
Chartered Organization         Crawford Elementary PTO                                                    Denver Area Council 061                                  1600 Florence St                                       Aurora, CO 80010‐2130                                                                                     First Class Mail
Voting Party                   Crawford Memorial United Methodist Church                                  Attn: Anne Robertson                                     34 Dix St                                              Winchester, MA 01890                                               pastor@crawfodumc.org                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Crawford Memorial United Methodist Church                                  Attn: Noel Chin                                          3757 White Plains Rd                                   Bronx, NY 10467                                                    noel.chin@mycrawford.org               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Crawford Woods PTO                                                         Dan Beard Council, Bsa 438                               2200 Hensley Ave                                       Hamilton, OH 45011‐3905                                                                                   First Class Mail
Chartered Organization         Crawford‐Hale Post American Legion 95                                      Greater St Louis Area Council 312                        321 S 7th St                                           Vandalia, IL 62471‐2731                                                                                   First Class Mail
Voting Party                   Crawfordsville Christ's UMC                                                Attn: Gerald Whalen                                      909 E Main St                                          Crawfordsville, IN 47933                                           christsumc@mymetronet.net              Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Crawfordsville First United Methodist Church                               Attn: Treasurer, Crawfordsville First United Methodist   212 E Wabash Ave                                       Crawfordsville, IN 47933                                           brian.campbell@inumc.org               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Crawfordville United Methodist Church                                      c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Crawfordville United Methodist Church                                      176 Ochlockonee St                                       Crawfordville. FL 32327                                                                                                                                          First Class Mail
Chartered Organization         Crawfordville Utd Methodist Church                                         Suwannee River Area Council 664                          176 Ochlockonee St                                     Crawfordville, FL 32327‐2041                                                                              First Class Mail
Chartered Organization         Creative City School                                                       Baltimore Area Council 220                               2810 Shirley Ave                                       Baltimore, MD 21215‐6624                                                                                  First Class Mail
Voting Party                   Creative Laser Solutions                                                   13404 Woodland Ave                                       Kansas City, MO 64146‐1803                                                                                                                                       First Class Mail
Chartered Organization         Creative Learning Academy Believes                                         Erie Shores Council 460                                  1 Aurora L Gonzalez Dr                                 Toledo, OH 43609‐2783                                                                                     First Class Mail
Voting Party                   Creative Specialties LLC                                                   P.O. Box 27986                                           Denver, CO 80227‐0986                                                                                                                                            First Class Mail
Chartered Organization         Creator Lutheran Church                                                    Cascade Pacific Council 492                              13250 SE Sunnyside Rd                                  Clackamas, OR 97015‐7396                                                                                  First Class Mail
Voting Party                   Creator Lutheran Church                                                    Attn: Pastor Amanda Olson Decastillo                     16702 S Tapps Dr E                                     Bonney Lake, WA 98391                                              office@creatorlutheran.net             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Credit Suisse First Boston                                                 Greater New York Councils, Bsa 640                       11 Madison Ave                                         New York, NY 10010‐3643                                                                                   First Class Mail
Voting Party                   Creditor 1239                                                              Address Redacted                                                                                                                                                                   Email Address Redacted                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Creditor 131                                                               Address Redacted                                                                                                                                                                   Email Address Redacted                 Email
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Voting Party                   Creditor 269                                                               Address Redacted                                                                                                                                                                   Email Address Redacted                 Email
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Voting Party                   Creditor 3450                                                              Address Redacted                                                                                                                                                                   Email Address Redacted                 Email
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Voting Party                   Creditor 372                                                               Address Redacted                                                                                                                                                                   Email Address Redacted                 Email
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Voting Party                   Creditor 393                                                               Address Redacted                                                                                                                                                                   Email Address Redacted                 Email
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Voting Party                   Creditor 394                                                               Address Redacted                                                                                                                                                                   Email Address Redacted                 Email
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Voting Party                   Creditor 7392                                                              Address Redacted                                                                                                                                                                   Email Address Redacted                 Email
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Voting Party                   Creditor 7566                                                              Address Redacted                                                                                                                                                                   Email Address Redacted                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Creditor 7990                                                              Address Redacted                                                                                                                                                                   Email Address Redacted                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Creditor 9354                                                              Address Redacted                                                                                                                                                                   Email Address Redacted                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Creditsafe Usa, Inc                                                        4635 Crackersport Rd                                     Allentown, PA 18104‐9553                                                                                                                                         First Class Mail
Chartered Organization         Creec School                                                               Coastal Carolina Council 550                             1011 Old Cemetery Rd                                   Mc Clellanville, SC 29458‐9735                                                                            First Class Mail
Chartered Organization         Creech Road Elementary                                                     Occoneechee 421                                          450 Creech Rd                                          Garner, NC 27529‐2908                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                        Page 78 of 442
                                                                                     Case 20-10343-LSS                                                  Doc 8171                                         Filed 01/06/22                                                Page 94 of 457
                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                       Service List
                                                                                                                                                                                Served as set forth below

        Description                                                          Name                                                                                                   Address                                                                                                               Email                           Method of Service
Chartered Organization         Creedmoor Elementary Lead                                        Capitol Area Council 564                       5604 Fm 1327                                              Austin, TX 78747                                                                                                      First Class Mail
Voting Party                   Creedmoor United Methodist Church                                214 Park Ave                                   P.O. Box 368                                              Creedmoor, NC 27522                                                     Creedmoorumc@outlook.com                      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Creedmoor Utd Methodist Church                                   Occoneechee 421                                P.O. Box 368                                              Creedmoor, NC 27522‐0368                                                                                              First Class Mail
Chartered Organization         Creeds Ruritan Club                                              Tidewater Council 596                          P.O. Box 7015                                             Virginia Beach, VA 23457‐0015                                                                                         First Class Mail
Voting Party                   Creeds Ruritan Club                                              Attn: Donald Stevenson                         1057 Princess Anne Rd                                     Virginia Beach, VA 23457                                                donald.stevenson@cox.net                      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Creekside Church (Cumming)                                       c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Creekside Community Church                                       San Francisco Bay Area Council 028             951 Macarthur Blvd                                        San Leandro, CA 94577‐3004                                                                                            First Class Mail
Chartered Organization         Creekside Elementary PTO                                         Southern Shores Fsc 783                        3480 E St                                                 Hartland, MI 48353                                                                                                    First Class Mail
Chartered Organization         Creekside Elementary School                                      Crossroads of America 160                      700 E State Rd 44                                         Franklin, IN 46131‐7692                                                                                               First Class Mail
Chartered Organization         Creekside Middle School                                          Crossroads of America 160                      355 W 126th St                                            Carmel, IN 46032                                                                                                      First Class Mail
Voting Party                   Creekside United Methodist Church (97568)                        c/o Bentz Law Firm                             Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Creekside Utd Methodist Church                                   Northeast Georgia Council 101                  673 Peachtree Pkwy                                        Cumming, GA 30041‐9500                                                                                                First Class Mail
Chartered Organization         Creekwood Church Of Christ                                       Mobile Area Council‐Bsa 004                    1901 Schillinger Rd S                                     Mobile, AL 36695‐4117                                                                                                 First Class Mail
Chartered Organization         Creekwood Umc                                                    Circle Ten Council 571                         261 Country Club Rd                                       Allen, TX 75002‐7643                                                                                                  First Class Mail
Voting Party                   Creekwood United Methodist Church                                Attn: Russell Nickols                          261 Country Club Rd                                       Allen, TX 75002                                                         rnickols@creekwoodumc.org                     Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Creel Elementary School                                          Central Florida Council 083                    2000 Glenwood Dr                                          Melbourne, FL 32935‐5494                                                                                              First Class Mail
Chartered Organization         Creighton University                                             Mid‐America Council 326                        2500 California Plz                                       Omaha, NE 68178‐0133                                                                                                  First Class Mail
Chartered Organization         Creighton University Dental School                               Mid‐America Council 326                        2500 California Plz                                       Omaha, NE 68178‐0133                                                                                                  First Class Mail
Chartered Organization         Crenshaw Christian Academy                                       Tukabatchee Area Council 005                   197 Country Club Dr                                       Luverne, AL 36049                                                                                                     First Class Mail
Voting Party                   Crenshaw Umc ‐ Blackstone                                        c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Crenshaw Utd Methodist Church                                    Heart of Virginia Council 602                  200 Church St                                             Blackstone, VA 23824‐1704                                                                                             First Class Mail
Chartered Organization         Crepe Myrtles                                                    Evangeline Area 212                            2210 W Saint Mary Blvd                                    Lafayette, LA 70506‐2510                                                                                              First Class Mail
Chartered Organization         Crepes N Creme                                                   San Diego Imperial Council 049                 13144 Old West Ave                                        San Diego, CA 92129‐2407                                                                                              First Class Mail
Voting Party                   Cresaptown United Methodist Church                               Attn: W Stephen Young                          P.O. Box 5206                                             Cresaptown, MD 21505                                                    youngsl@atlanticbb.net                        Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Cresaptown Utd Methodist Church                                  Laurel Highlands Council 527                   14805 Mcmullen Hwy SW                                     Cresaptown, MD 21502‐5611                                                                                             First Class Mail
Chartered Organization         Crescent Academy                                                 Great Lakes Fsc 272                            25175 Code Rd                                             Southfield, MI 48033‐5805                                                                                             First Class Mail
Chartered Organization         Crescent Academy International                                   Great Lakes Fsc 272                            40440 Palmer Rd                                           Canton, MI 48188‐2034                                                                                                 First Class Mail
Chartered Organization         Crescent Bay Optimist Club                                       W.L.A.C.C. 051                                 P.O. Box 66314                                            Los Angeles, CA 90066‐0314                                                                                            First Class Mail
Chartered Organization         Crescent City Vol Firefighters Assoc                             Crater Lake Council 491                        255 W Washington Blvd                                     Crescent City, CA 95531‐8323                                                                                          First Class Mail
Chartered Organization         Crescent Elementry School                                        Last Frontier Council 480                      P.O. Box 719                                              Crescent, OK 73028‐0719                                                                                               First Class Mail
Chartered Organization         Crescent Fire Protection District                                Crater Lake Council 491                        255 W Washington Blvd                                     Crescent City, CA 95531‐8323                                                                                          First Class Mail
Chartered Organization         Crescent Hill Utd Methodist Church                               Lincoln Heritage Council 205                   201 S Peterson Ave                                        Louisville, KY 40206‐2573                                                                                             First Class Mail
Voting Party                   Crescent Park United Methodist Church                            Attn: Scott Squires                            2826 Myrtle St                                            Sioux City, IA 51103                                                    75squires@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Crescent School Pso                                              Northern New Jersey Council, Bsa 333           Crescent Ave                                              Waldwick, NJ 07463                                                                                                    First Class Mail
Chartered Organization         Crescenta Canada Rotary Club                                     Greater Los Angeles Area 033                   1103 S Gladys Ave                                         San Gabriel, CA 91776‐3130                                                                                            First Class Mail
Chartered Organization         Crescenta Valley Utd Methodist Church                            Verdugo Hills Council 058                      2700 Montrose Ave                                         Montrose, CA 91020‐1314                                                                                               First Class Mail
Firm                           Cresci Firm, LLC                                                 Peter J. Cresci, Esq                           10175 Campbell Rd                                         Paris, NY 13456                                                         crescilegal@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Cressey Road United Methodist Church                             Attn:Pastor                                    P.O. Box 607                                              Gorham, ME 04038                                                        pastor@cresseyrdumc.org                       Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Cressey Road Utd Methodist Church                                Pine Tree Council 218                          81 Cressey Rd                                             Gorham, ME 04038                                                                                                      First Class Mail
Chartered Organization         Cresskill Citzens Club                                           Northern New Jersey Council, Bsa 333           34 Pierce Ave                                             Cresskill, NJ 07626‐1126                                                                                              First Class Mail
Voting Party                   Crest Craft Co                                                   Attn: Brad Olsen                               4460 Lake Forest Dr, St 232                               Blue Ash, OH 45242                                                      brand@crestcraft.com                          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Crest Craft of Ri Div Or J&A Mktg                                200 Compass Cir                                North Kingstown, RI 02852‐2610                                                                                                                                                  First Class Mail
Chartered Organization         Crested Butte Fire Protection District                           Denver Area Council 061                        306 Maroon                                                Crested Butte, CO 81224                                                                                               First Class Mail
Chartered Organization         Cresthill Baptist Church                                         National Capital Area Council 082              6510 Laurel Bowie Rd                                      Bowie, MD 20715‐1705                                                                                                  First Class Mail
Chartered Organization         Crestline Elementary Pto                                         Greater Alabama Council 001                    600 Crestline Dr SW                                       Hartselle, AL 35640‐2611                                                                                              First Class Mail
Chartered Organization         Crestmont Elem After Sch Program                                 Black Warrior Council 006                      2400 34th Ave                                             Northport, AL 35476‐3728                                                                                              First Class Mail
Voting Party                   Creston                                                          c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Creston Intermediate                                             Crossroads of America 160                      10925 Prospect St                                         Indianapolis, IN 46239‐9692                                                                                           First Class Mail
Voting Party                   Creston Umc                                                      126 W S St                                     Creston, IL 60113                                                                                                                 mecthmpsn@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Creston Utd Methodist Church                                     Great Trail 433                                166 S Main St                                             Creston, OH 44217‐9701                                                                                                First Class Mail
Chartered Organization         Crestview Christian Church                                       Coronado Area Council 192                      4761 Tuttle Creek Blvd                                    Manhattan, KS 66502‐9079                                                                                              First Class Mail
Chartered Organization         Crestview Presbyterian Church                                    Dan Beard Council, Bsa 438                     9463 Cincinnati Columbus Rd                               West Chester, OH 45069‐4153                                                                                           First Class Mail
Voting Party                   Crestview United Methodist Church Dba Violet Crown City Church   1300 Morrow                                    Austin, TX 78757                                                                                                                  treasurer@crestviewmethodist.org              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Crestwood Baptist Church                                         Three Rivers Council 578                       1150 Hwy 69 S                                             Kountze, TX 77625‐6950                                                                                                First Class Mail
Chartered Organization         Crestwood Christian Church                                       Blue Grass Council 204                         1882 Bellefonte Dr                                        Lexington, KY 40503‐2046                                                                                              First Class Mail
Chartered Organization         Crestwood Elementary School PTO                                  Greater St Louis Area Council 312              1020 S Sappington Rd                                      Saint Louis, MO 63126‐1005                                                                                            First Class Mail
Chartered Organization         Crestwood Middle School                                          Great Trail 433                                10880 John Edward Dr                                      Mantua, OH 44255‐9411                                                                                                 First Class Mail
Chartered Organization         Crestwood Police Dept                                            Pathway To Adventure 456                       13840 Cicero Ave                                          Crestwood, IL 60418‐1827                                                                                              First Class Mail
Chartered Organization         Crestwood School C.A.P.T.                                        Glaciers Edge Council 620                      5930 Old Sauk Rd                                          Madison, WI 53705‐2505                                                                                                First Class Mail
Voting Party                   Crestwood United Methodist Church                                Attn: Brad Bowman                              7214 Kavanaugh Rd                                         Crestwood, KY 40014                                                     church@crestwoodmethodist.com                 Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Creswell Elementary PTA                                          Norwela Council 215                            2901 Creswell Ave                                         Shreveport, LA 71104‐3107                                                                                             First Class Mail
Chartered Organization         Creswell Vfw Post 4039                                           Oregon Trail Council 697                       111 S 10th St                                             Creswell, OR 97426‐9726                                                                                               First Class Mail
Chartered Organization         Crete High School                                                Cornhusker Council 324                         1750 Iris Ave                                             Crete, NE 68333‐1909                                                                                                  First Class Mail
Chartered Organization         Crete Lions Club                                                 Cornhusker Council 324                         614 E 1st St                                              Crete, NE 68333‐3103                                                                                                  First Class Mail
Voting Party                   Crete United Methodist Church                                    Attn: Edward A. Genzler                        1321 Main St                                              Crete, IL 60417                                                         klarsen@creteumc.org                          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Crete Utd Methodist Ch Youth Grp                                 Pathway To Adventure 456                       1321 Main St                                              Crete, IL 60417‐2130                                                                                                  First Class Mail
Chartered Organization         Creve Coeur Christian Church                                     W D Boyce 138                                  101 S Thorncrest Ave                                      Creve Coeur, IL 61610‐3963                                                                                            First Class Mail
Chartered Organization         Crew 1872 Alumni Assoc                                           Longhorn Council 662                           3217 Meadowbrook Dr                                       Fort Worth, TX 76103‐2431                                                                                             First Class Mail
Firm                           Crew Janci LLP                                                   Stephen F. Crew and Peter B. Janci             1200 NW Naito Parkway, Ste 500                            Portland, OR 97209‐2829                                                 steve@crewjanci.com                           Email
                                                                                                                                                                                                                                                                                 peter@crewjanci.com                           First Class Mail
Voting Party                   Crews United Methodist Church                                    c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Crews Utd Methodist Church                                       Old Hickory Council 427                        4150 Reidsville Rd                                        Winston Salem, NC 27101‐2143                                                                                          First Class Mail
Voting Party                   CRG Financial LLC                                                Re: Development Dimensions International Inc   Attn: Allison Axenrod                                     100 Union Ave                        Cresskill, NJ 07626                                                              First Class Mail
Voting Party                   CRG Financial LLC                                                Attn: Allison Axenrod                          re: Corra Technology Inc                                  100 Union Ave                        Cresskill, NJ 07626                                                              First Class Mail
Voting Party                   CRG Financial LLC                                                Attn: Allison Axenrod                          Re: Element Moving & Storage                              100 Union Ave                        Cresskill, NJ 07626                                                              First Class Mail
Voting Party                   CRG Financial LLC                                                Attn: Allison R Axenrod                        Re: Sol Sunguard Corporation                              100 Union Ave                        Creskill, NJ 07626                                                               First Class Mail
Chartered Organization         Crgc Educational Foundation Inc                                  Cascade Pacific Council 492                    9377 S Barnards Rd                                        Canby, OR 97013‐9379                                                                                                  First Class Mail
Chartered Organization         Crichfield School PTA                                            Lasalle Council 165                            336 W Johnson Rd                                          Laporte, IN 46350‐1968                                                                                                First Class Mail
Voting Party                   Cridersville United Methodist Church                             Attn: David Reichelderfer                      105 Shawnee Rd                                            Cridersville, OH 45806                                                  cvumc@bright.net                              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Crieve Hall Church Of Christ                                     Middle Tennessee Council 560                   4806 Trousdale Dr                                         Nashville, TN 37220‐1304                                                                                              First Class Mail
Chartered Organization         Crievewood Umc Mens Club                                         Middle Tennessee Council 560                   451 Hogan Rd                                              Nashville, TN 37220‐2013                                                                                              First Class Mail
Voting Party                   Crievewood United Methodist Church                               Attn: Treasurer                                451 Hogan Rd                                              Nashville, TN 37220                                                     administrator@crievewoodumc.comcastlbiz.net   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Crievewood Utd Methodist Mens Club                               Middle Tennessee Council 560                   451 Hogan Rd                                              Nashville, TN 37220‐2013                                                                                              First Class Mail
Voting Party                   Crimora Ruritan Club                                             Attn: Teresa S Stewart                         P.O. Box 337                                              Crimora, VA 24431                                                       crimoramom@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Crinos Extreme Martial Arts                                      Suffolk County Council Inc 404                 2460 Nesconset Hwy                                        Stony Brook, NY 11790‐3501                                                                                            First Class Mail
Chartered Organization         Cripple Creek Fire Dept                                          Pikes Peak Council 060                         147 E Bennett Ave                                         Cripple Creek, CO 80813‐5038                                                                                          First Class Mail
Chartered Organization         Crisp County Fire Rescue                                         South Georgia Council 098                      112 Eddie Rd                                              Cordele, GA 31015‐5350                                                                                                First Class Mail
Chartered Organization         Crisp County Sheriff'S Office                                    South Georgia Council 098                      196 Ga Hwy 300 S                                          Cordele, GA 31015‐8009                                                                                                First Class Mail
Chartered Organization         Crispus Attucks Rec Center                                       Baltimore Area Council 220                     1601 E Madison St                                         Baltimore, MD 21205‐1419                                                                                              First Class Mail
Voting Party                   Cristo Rey Catholic Church Austin TX                             c/o Bsa Coordinator                            Attn: Chancellor                                          6225 E US 290 Hwy Svrd Eb            Austin, TX 78723                   ron‐walker@austindiocese.org                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Cristo Rey Catholic Church Austin TX                             Attn: Rev Marcelino Pena Tadeo                 2208 E 2nd St                                             Austin, TX 78702                                                                                                      First Class Mail
Chartered Organization         Cristo Rey Catholic Parish                                       Yucca Council 573                              8011 Williamette Ave                                      El Paso, TX 79907‐2235                                                                                                First Class Mail
Chartered Organization         Criswell Robinson Post 71                                        Quapaw Area Council 018                        116 N 1st St                                              Cabot, AR 72023‐3075                                                                                                  First Class Mail
Chartered Organization         Crockett Early College High School                               Capitol Area Council 564                       5601 Manchaca Rd                                          Austin, TX 78745                                                                                                      First Class Mail
Chartered Organization         Crockett Lions Club                                              Mt Diablo‐Silverado Council 023                51 Rolph Park Dr                                          Crockett, CA 94525‐1415                                                                                               First Class Mail
Voting Party                   Crockett Springs Umc ‐ Shawsville                                c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Crockett Striped Bass Club                                       Mt Diablo‐Silverado Council 023                995 Loring Ave                                            Crockett, CA 94525                                                                                                    First Class Mail
Chartered Organization         Crockett Virtus Social Club Inc                                  Mt Diablo‐Silverado Council 023                40 Grand View Ave                                         Crockett, CA 94525‐1010                                                                                               First Class Mail
Chartered Organization         Croft Corners Fire Co/Vfw Post 170                               Hudson Valley Council 374                      7 Spackenkill Rd                                          Poughkeepsie, NY 12603‐5312                                                                                           First Class Mail
Chartered Organization         Cromer PTO                                                       Grand Canyon Council 010                       7150 Silver Saddle Rd                                     Flagstaff, AZ 86004‐3207                                                                                              First Class Mail
Chartered Organization         Cromie School Ptc                                                Great Lakes Fsc 272                            29797 Gilbert Dr                                          Warren, MI 48093‐2510                                                                                                 First Class Mail
Chartered Organization         Cromwell Court                                                   Cape Cod and Islands Cncl 224                  168 Barnstable Rd                                         Hyannis, MA 02601‐2980                                                                                                First Class Mail
Chartered Organization         Cromwell Fire Dept                                               Connecticut Rivers Council, Bsa 066            82 Court St                                               Cromwell, CT 06416‐1621                                                                                               First Class Mail
Chartered Organization         Cronomer Valley Fire Dept                                        Hudson Valley Council 374                      296 N Plank Rd                                            Newburgh, NY 12550‐8820                                                                                               First Class Mail
Chartered Organization         Crooked River Ranch Lions Club                                   Crater Lake Council 491                        P.O. Box 1163                                             Crooked River Ranch, OR 97760‐1007                                                                                    First Class Mail
Voting Party                   Crooks Memorial Umc ‐ Yorktown                                   c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Crosby Community Club                                            Chief Seattle Council 609                      P.O. Box 305                                              Seabeck, WA 98380‐0305                                                                                                First Class Mail
Voting Party                   Crosby United Methodist Church                                   Attn: Rev James W Lea                          1334 Runneburg Rd                                         Crosby, TX 77532                                                        office@crosbyumc.org                          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Crosby United Methodist Church                                   Attn: Rev Jamie Lea                            P.O. Box 1385                                             Crosby, TX 77532                                                        office@crosbyumc.org                          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Crosby Utd Methodist Church                                      Sam Houston Area Council 576                   1334 Runneburg Rd                                         Crosby, TX 77532‐5943                                                                                                 First Class Mail
Chartered Organization         Cross & Crown Lutheran Church                                    Chief Seattle Council 609                      10940 SE 168th St                                         Renton, WA 98055‐5916                                                                                                 First Class Mail
Chartered Organization         Cross And Crown Lutheran Church                                  Mecklenburg County Council 415                 300 Pineville Matthews Rd                                 Matthews, NC 28105‐9117                                                                                               First Class Mail
Chartered Organization         Cross And Crown Lutheran Church                                  California Inland Empire Council 045           6723 Etiwanda Ave                                         Rancho Cucamonga, CA 91739‐9306                                                                                       First Class Mail
Voting Party                   Cross And Flame Ministries                                       Attn: Christine Nolan                          1500 Pine St                                              Murphysboro, IL 62966                                                                                                 First Class Mail
Chartered Organization         Cross Church                                                     Alamo Area Council 583                         814 N Bauer St                                            Seguin, TX 78155‐3206                                                                                                 First Class Mail
Chartered Organization         Cross Creek Charter Academy Ptc                                  President Gerald R Ford 781                    7701 Kalamazoo Ave Se                                     Byron Center, MI 49315‐9534                                                                                           First Class Mail
Chartered Organization         Cross Creek Community Church                                     Buckskin 617                                   2175 Cross Creek Rd                                       Buffalo, WV 25033‐7455                                                                                                First Class Mail
Chartered Organization         Cross Crown Lutheran Church                                      Mecklenburg County Council 415                 300 Pineville Matthews Rd                                 Matthews, NC 28105‐9117                                                                                               First Class Mail
Voting Party                   Cross In The Desert United Methodist Church (Phoenix, Az)        c/o Clarke Law Firm, Plc                       Attn: Marilee Miller Clarke                               8141 E Indian Bend Rd, Ste 105       Scottsdale, AZ 85250               marilee@clarkelawaz.com                       Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Cross In The Desert Utd Methodist                                Grand Canyon Council 010                       12835 N 32nd St                                           Phoenix, AZ 85032‐6517                                                                                                First Class Mail
Chartered Organization         Cross In The Desert Utd Methodist Ch                             Grand Canyon Council 010                       12835 N 32nd St                                           Phoenix, AZ 85032‐6517                                                                                                First Class Mail
Voting Party                   Cross Lanes United Methodist Church                              Attn: Krysta Rexrode Wolfe & J F Lacaria       5320 Frontier Dr                                          Cross Lanes, WV 25313                                                   jf.lacaria@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Cross Lanes Utd Methodist                                        Buckskin 617                                   5320 Frontier Dr                                          Charleston, WV 25313‐1307                                                                                             First Class Mail
Chartered Organization         Cross Lanes Utd Methodist Church                                 Buckskin 617                                   5320 Frontier Dr                                          Charleston, WV 25313‐1307                                                                                             First Class Mail
Voting Party                   Cross Lutheran Church Elca                                       Attn: Angela Thrane                            W710 Gopher Hill Rd                                       Ixonia, WI 53036                                                        office@crosslutheranchurch.com                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Cross Lutheran Church‐Mens Club                                  Three Harbors Council 636                      126 Chapel Ter                                            Burlington, WI 53105‐1622                                                                                             First Class Mail
Chartered Organization         Cross Mills Fire Dept                                            Narragansett 546                               4258 Old Post Rd                                          Charlestown, RI 02813‐2554                                                                                            First Class Mail
Chartered Organization         Cross Of Christ Lutheran Church                                  Chief Seattle Council 609                      411 156th Ave Ne                                          Bellevue, WA 98007‐5332                                                                                               First Class Mail
Chartered Organization         Cross Of Christ Lutheran Church                                  Central N Carolina Council 416                 4500 Rimer Rd                                             Concord, NC 28025‐7381                                                                                                First Class Mail
Chartered Organization         Cross Of Glory Lutheran Church                                   Northern Star Council 250                      5929 Brooklyn Blvd                                        Brooklyn Center, MN 55429‐2529                                                                                        First Class Mail
Voting Party                   Cross Of Glory Lutheran Church                                   14719 W 163rd St                               Homer Glen, IL 60491                                                                                                              dana@crossofglory.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Cross Of Grace Lutheran Church                                   Crossroads of America 160                      3519 S 600 W                                              New Palestine, IN 46163‐9735                                                                                          First Class Mail
Voting Party                   Cross Of Grace Lutheran Church, New Palestine, Indiana           c/o Plews Shadley Racher & Braun LLP           Attn: Josh S Tatum                                        1346 N Delaware St                   Indianapolis, IN 46202             jtatum@psrb.com                               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Cross Of Hope Lutheran Church                                    Great Swest Council 412                        6104 Taylor Ranch Rd NW                                   Albuquerque, NM 87120‐2639                                                                                            First Class Mail
Chartered Organization         Cross Of Life Lutheran Church                                    Atlanta Area Council 092                       1000 Hembree Rd                                           Roswell, GA 30076‐1121                                                                                                First Class Mail
Voting Party                   Cross Of Life Lutheran Church, Incorporated                      1000 Hembree Rd                                Roswell, GA 30075                                                                                                                 Office@crossoflifelutheran.org                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Cross Plains First United Methodist Church ‐ Cross Plains        c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Cross Plains First United Methodist Church ‐ Cross Plains        1000 N Main St                                 Cross Plains, TX 76443                                                                                                                                                          First Class Mail
Chartered Organization         Cross Plains Lions Club                                          Glaciers Edge Council 620                      P.O. Box 215                                              Cross Plains, WI 53528‐0215                                                                                           First Class Mail
Chartered Organization         Cross Plains Umc                                                 Middle Tennessee Council 560                   7665 Tennessee 25                                         Cross Plains, TN 37049                                                                                                First Class Mail
Chartered Organization         Cross Point Alliance Church                                      Inland Nwest Council 611                       1330 Powers Ave                                           Lewiston, ID 83501‐5732                                                                                               First Class Mail
Chartered Organization         Cross Pointe Swim & Racquet Inc                                  National Capital Area Council 082              8275 Glen Eagles Ln                                       Fairfax Station, VA 22039‐2681                                                                                        First Class Mail
Chartered Organization         Cross Purpose                                                    Denver Area Council 061                        2959 N Franklin St                                        Denver, CO 80205‐4511                                                                                                 First Class Mail
Chartered Organization         Cross Roads Commty                                               Presbyterian Church                            Moraine Trails Council 500                                1st and Main Sts                     Leechburg, PA 15656                                                              First Class Mail
Voting Party                   Cross Roads United Methodist Church                              Attn: Rhonda Smith                             3146 Saltwell Rd                                          Huntington, WV 25705                                                    crossroadsumc@comcast.net                     Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Cross Roads Utd Methodist Church                                 Chickasaw Council 558                          9315 E Shelby Dr                                          Collierville, TN 38017‐3307                                                                                           First Class Mail
Chartered Organization         Cross Roads Utd Methodist Church                                 Simon Kenton Council 441                       1100 S Hague Ave                                          Columbus, OH 43204‐2383                                                                                               First Class Mail
Voting Party                   Cross Tracks Church                                              Attn: Treasurer, Cross Tracks Church           P.O. Box 266                                              Liberty Hill, TX 78624                                                  crosstrackschurch@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Cross Village                                                    President Gerald R Ford 781                    4200 W Levering Rd                                        Harbor Springs, MI 49740‐9739                                                                                         First Class Mail
Chartered Organization         Cross Winds Presbyterian Church                                  Grand Canyon Council 010                       20125 N 15th Ave                                          Phoenix, AZ 85027‐4307                                                                                                First Class Mail
Chartered Organization         Crossett Lions Club                                              De Soto Area Council 013                       603 Hickory St                                            Crossett, AR 71635‐3507                                                                                               First Class Mail
Voting Party                   Crossgates United Methodist Church                               Attn: Joe Squyres, Trustee Chair               23 Crossgates Dr                                          Brandon, MS 39042                                                       jsquyres@steelservice.com                     Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Crosslife Free Will Baptist Church                               Crossroads of America 160                      7030 E Stop 11 Rd                                         Indianapolis, IN 46259‐8702                                                                                           First Class Mail
Chartered Organization         Crossnore Volunteer Fire Dept Auxiliary                          Daniel Boone Council 414                       P.O. Box 507                                              Crossnore, NC 28616‐0507                                                                                              First Class Mail
Chartered Organization         Crosspoint Church                                                California Inland Empire Council 045           6950 Edison Ave                                           Chino, CA 91710‐9029                                                                                                  First Class Mail
Chartered Organization         Crosspoint Church Of Christ                                      Circle Ten Council 571                         3020 Bardin Rd                                            Grand Prairie, TX 75052‐3826                                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 79 of 442
                                                                                  Case 20-10343-LSS                                        Doc 8171                                      Filed 01/06/22                                            Page 95 of 457
                                                                                                                                                                      Exhibit B
                                                                                                                                                                       Service List
                                                                                                                                                                Served as set forth below

        Description                                                        Name                                                                                     Address                                                                                                                         Email              Method of Service
Chartered Organization         Crosspointe Alliance Church                               North Campus                             3242 Ridge Rd                                          Charlotte, NC 28269‐0843                                                                                           First Class Mail
Chartered Organization         Crosspointe Chruch                                        First Freewill Baptist Church            2601 24th Ave Se                                       Norman, OK 73071‐1717                                                                                              First Class Mail
Chartered Organization         Crosspointe Church                                        Arbuckle Area Council 468                P.O. Box 39                                            Ada, OK 74821‐0039                                                                                                 First Class Mail
Chartered Organization         Crosspointe Church                                        Quapaw Area Council 018                  P.O. Box 735                                           Bryant, AR 72089‐0735                                                                                              First Class Mail
Voting Party                   Crossroad Church ‐ Jacksonville                           c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Crossroad Lutheran Church                                 North Florida Council 087                5101 Lakeshore Dr W                                    Orange Park, FL 32003‐7738                                                                                         First Class Mail
Chartered Organization         Crossroad Utd Methodist Church                            North Florida Council 087                10005 Gate Pkwy N                                      Jacksonville, FL 32246‐8311                                                                                        First Class Mail
Chartered Organization         Crossroads Assembly Of God                                W D Boyce 138                            P.O. Box 578                                           Elmwood, IL 61529‐0578                                                                                             First Class Mail
Chartered Organization         Crossroads Assembly Of God                                Sequoyah Council 713                     2747 Tennessee 66                                      Rogersville, TN 37857                                                                                              First Class Mail
Chartered Organization         Crossroads Baptist Church                                 Alabama‐Florida Council 003              3276 Main St                                           Cottondale, FL 32431‐3052                                                                                          First Class Mail
Chartered Organization         Crossroads Baptist Church                                 Alamo Area Council 583                   8300 Tezel Rd                                          San Antonio, TX 78254‐3016                                                                                         First Class Mail
Chartered Organization         Crossroads Baptist Church                                 Sam Houston Area Council 576             5000 College Park Dr                                   The Woodlands, TX 77384‐4506                                                                                       First Class Mail
Chartered Organization         Crossroads Christian Church                               Sequoyah Council 713                     1300 Suncrest Dr                                       Johnson City, TN 37615‐4116                                                                                        First Class Mail
Chartered Organization         Crossroads Church                                         Simon Kenton Council 441                 5679 Tarlton Rd                                        Circleville, OH 43113‐9766                                                                                         First Class Mail
Chartered Organization         Crossroads Church                                         Occoneechee 421                          6781 Camden Rd                                         Fayetteville, NC 28306‐7223                                                                                        First Class Mail
Chartered Organization         Crossroads Church                                         Golden Empire Council 047                10050 Wolf Rd                                          Grass Valley, CA 95949‐8194                                                                                        First Class Mail
Chartered Organization         Crossroads Church                                         Northern Star Council 250                17671 Glacier Way                                      Lakeville, MN 55044‐6452                                                                                           First Class Mail
Chartered Organization         Crossroads Church Of The Nazarene                         Baltimore Area Council 220               2750 Rogers Ave                                        Ellicott City, MD 21043‐3312                                                                                       First Class Mail
Chartered Organization         Crossroads Coalition                                      Quapaw Area Council 018                  1790 Falls Blvd N                                      Wynne, AR 72396‐4022                                                                                               First Class Mail
Chartered Organization         Crossroads Commty                                         Center (Bellevue B&Gc)                   16000 NE 10th St                                       Bellevue, WA 98008‐3560                                                                                            First Class Mail
Chartered Organization         Crossroads Commty                                         Church of the Nazarene                   3622 Hammond Ave                                       Waterloo, IA 50702‐5520                                                                                            First Class Mail
Chartered Organization         Crossroads Community Church                               Cascade Pacific Council 492              40257 Hunt Ln                                          Astoria, OR 97103‐8250                                                                                             First Class Mail
Chartered Organization         Crossroads Community Church                               Longs Peak Council 062                   P.O. Box 537                                           Pine Bluffs, WY 82082‐0537                                                                                         First Class Mail
Chartered Organization         Crossroads Community Church                               Old N State Council 070                  P.O. Box 355                                           Stokesdale, NC 27357‐0355                                                                                          First Class Mail
Chartered Organization         Crossroads Elementary School                              Lincoln Heritage Council 205             156 Erin Cir                                           Mount Washington, KY 40047‐6113                                                                                    First Class Mail
Voting Party                   Crossroads Fellowship Church                              c/o Forrest Firm PC                      Attn: Rachel M Blunk                                   125 S Elm St, Ste 100             Greensboro, NC 27401                            rachel.blunk@forrestfirm.com     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Crossroads Fellowship Cma                                 Middle Tennessee Council 560             2687 Tiny Town Rd                                      Clarksville, TN 37042‐8552                                                                                         First Class Mail
Chartered Organization         Crossroads Lutheran Church                                Palmetto Council 549                     8511 Shelley Mullis Rd                                 Fort Mill, SC 29707‐9527                                                                                           First Class Mail
Chartered Organization         Crossroads Neighborhood Church                            Chief Seattle Council 609                7555 Old Military Rd Ne                                Bremerton, WA 98311‐3237                                                                                           First Class Mail
Chartered Organization         Crossroads Presbyterian Church                            Cradle of Liberty Council 525            10 W Cherry Ln                                         Limerick, PA 19468‐1302                                                                                            First Class Mail
Chartered Organization         Crossroads Presbyterian Church Mens Club                  Laurel Highlands Council 527             Haymaker Rd                                            Crossroads Church                 Monroeville, PA 15146                                                            First Class Mail
Chartered Organization         Crossroads Presbyterian Church Mens Club                  Laurel Highlands Council 527             2310 Haymaker Rd                                       Monroeville, PA 15146‐4326                                                                                         First Class Mail
Chartered Organization         Crossroads School                                         Patriots Path Council 358                45 Cardinal Dr                                         Westfield, NJ 07090‐1019                                                                                           First Class Mail
Voting Party                   Crossroads United Methodist Church                        Attn: Rich White                         599 30 Rd                                              Grand Jct, CO 81504                                                               richbccamp@hotmail.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crossroads United Methodist Church                        Attn: Marvin Trippett                    185 Trail Ridge Rd                                     Parkersburg, WV 26104                                                             mdtrippett@casinternet.net       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crossroads United Methodist Church                        Attn: Lesa Kestler, Board of Directors   43454 Crossroads Dr                                    Ashburn, VA 20147                                                                 lkestler@crossroadsnova.org      Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crossroads United Methodist Church                        Attn: Lori Hardy                         1600 Main St                                           Perry, GA 31069                                                                   lhardy@perrycrossroads.org       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crossroads United Methodist Church                        Attn: Cindy Jones                        P.O. Box 167                                           Belton, MO 64012                                                                  cjones@crossroads‐umc.com        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crossroads United Methodist Church                        Attn: Judith Boisse                      15 Grammar Rd                                          P.O. Box 290                      Sanford, ME 04073                               andjude@metrocast.net            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crossroads United Methodist Church ‐ Kimberly             c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crossroads United Methodist Church (102815)               c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228                            lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crossroads United Methodist Church, Inc.                  Attn: Donna Cimino                       1420 N Main St                                         Washington, IL 61571                                                              dcimino@mtco.com                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Crossroads Utd Methodist Ch Belton                        Heart of America Council 307             P.O. Box 167                                           Belton, MO 64012‐0167                                                                                              First Class Mail
Chartered Organization         Crossroads Utd Methodist Church                           Snake River Council 111                  P.O. Box 326                                           Kimberly, ID 83341‐0326                                                                                            First Class Mail
Chartered Organization         Crossroads Utd Methodist Church                           W D Boyce 138                            1420 N Main St                                         Washington, IL 61571‐1387                                                                                          First Class Mail
Chartered Organization         Crossroads Wesleyan Church                                Black Hills Area Council 695 695         1823 Sheridan Lake Rd                                  Rapid City, SD 57702‐4219                                                                                          First Class Mail
Chartered Organization         Crossville First Utd Methodist Church                     Great Smoky Mountain Council 557         100 Braun St                                           Crossville, TN 38555‐7506                                                                                          First Class Mail
Chartered Organization         Crossville Latterday Saints Church                        Great Smoky Mountain Council 557         1550 Genesis Rd                                        Crossville, TN 38555                                                                                               First Class Mail
Chartered Organization         Crossway Church                                           Andrew Jackson Council 303               1825 Hwy 615                                           Vicksburg, MS 39180                                                                                                First Class Mail
Chartered Organization         Crossway Community Church                                 Dan Beard Council, Bsa 438               9091 New Haven Rd                                      Harrison, OH 45030‐2816                                                                                            First Class Mail
Chartered Organization         Crosswicks Community Assoc                                Garden State Council 690                 P.O. Box 128                                           Crosswicks, NJ 08515‐0128                                                                                          First Class Mail
Voting Party                   Cross‐Wind United Methodist Church Inc                    Attn: James H Austen                     1730 Delaware Rd                                       Logansport, IN 46947                                                              austen@starrausten.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Cross‐Wind Utd Methodist Church                           Sagamore Council 162                     616 N State Rd 25                                      Logansport, IN 46947‐6678                                                                                          First Class Mail
Chartered Organization         Croswell First Utd Methodist Church                       Water and Woods Council 782              13 N Howard Ave                                        Croswell, MI 48422‐1222                                                                                            First Class Mail
Chartered Organization         Crothersville First Baptist Church                        Hoosier Trails Council 145 145           401 E Howard St                                        Crothersville, IN 47229‐1209                                                                                       First Class Mail
Chartered Organization         Croton Elemenraty School                                  Central Florida Council 083              1449 Croton Rd                                         Melbourne, FL 32935‐3267                                                                                           First Class Mail
Chartered Organization         Croton Ems                                                Westchester Putnam 388                   44 Wayne St                                            Croton On Hudson, NY 10520‐2912                                                                                    First Class Mail
Chartered Organization         Croton Falls Fire Dept                                    Westchester Putnam 388, Route 22         Croton Falls, NY 10519                                                                                                                                                    First Class Mail
Voting Party                   Croton Untied Methodist Church                            Attn: Barbara McDavid                    75 N High St                                           P.O. Box 154                      Croton, OH 43013                                mcdavidbarb@gmail.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Croton Untied Methodist Church                            Attn: Jesse Van Fossen                   11674 School Lane Rd                                   Centerburg, OH 43011                                                              cheripokorny7@gmail.com          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Croton Utd Methodist Church                               Simon Kenton Council 441                 75 N High St                                           Croton, OH 43013                                                                                                   First Class Mail
Chartered Organization         Croton Volunteer Fire Dept                                Westchester Putnam 388                   30 Wayne St                                            Croton On Hudson, NY 10520‐2912                                                                                    First Class Mail
Chartered Organization         Crouch Elementary School ‐ Gifw                           Longhorn Council 662                     2810 Prairie Hill Dr                                   Grand Prairie, TX 75051‐1085                                                                                       First Class Mail
Chartered Organization         Crouse Utd Methodist Church                               Piedmont Council 420                     P.O. Box 43                                            Crouse, NC 28033‐0043                                                                                              First Class Mail
Chartered Organization         Crowley Barnum American Legion Post 25                    Leatherstocking 400                      43 W Main St                                           Mohawk, NY 13407‐1040                                                                                              First Class Mail
Chartered Organization         Crowley First Utd Methodist Church                        Longhorn Council 662                     509 Peach St                                           Crowley, TX 76036‐3118                                                                                             First Class Mail
Voting Party                   Crowley Fumc ‐ Crowley                                    c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crowley Fumc ‐ Crowley                                    509 Peach St                             Crowley, TX 76036                                                                                                                                                         First Class Mail
Chartered Organization         Crown Equipment Corp                                      Black Swamp Area Council 449             44 S Washington St                                     New Bremen, OH 45869‐1288                                                                                          First Class Mail
Voting Party                   Crown Equipment Corporation                               P.O. Box 641173                          Cincinnati, OH 45264‐1173                                                                                                                                                 First Class Mail
Voting Party                   Crown Heights United Methodist Church                     1021 NW 37Th                             Oklahoma City, OK 73118                                                                                                                  trina@crownheightsumc.org        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crown Heights United Methodist Church                     Attn: Harry (Lee) Endicott               P.O. Box 780                                           Oklahoma City, OK 73101                                                           lee@bullard‐associates.com       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Crown Of Glory Lutheran                                   Northern Star Council 250                1141 Cardinal St                                       Chaska, MN 55318‐1654                                                                                              First Class Mail
Chartered Organization         Crown Of Life Lutheran Church                             Grand Teton Council 107                  3856 E 300 N                                           Rigby, ID 83442‐5422                                                                                               First Class Mail
Chartered Organization         Crown Of Life Lutheran Church                             Great Lakes Fsc 272                      2975 Dutton Rd                                         Rochester Hills, MI 48306‐2347                                                                                     First Class Mail
Voting Party                   Crown Point First United Methodist Church                 Attn: Robert Wilson                      352 S Main St                                          Crown Point, IN 46307                                                             admin@fumccp.org                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crown Point United Methodist Church                       Attn: Rev Scott Tyler                    P.O. Box 307                                           Crown Point, NY 12928                                                             scottrtyler@icloud.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crozet Umc ‐ Crozet                                       c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Crozet Utd Methodist Church                               Stonewall Jackson Council 763            1156 Crozet Ave                                        Crozet, VA 22932‐3130                                                                                              First Class Mail
Voting Party                   Cruso Church                                              c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Cruso Church                                              11653 Cruso Rd                           Canton, NC 28716                                                                                                                                                          First Class Mail
Voting Party                   Crystal Bay Corporation                                   dba Woodlund Homes                       P.O. Box 600                                           Wyoming, MN 55092‐0600                                                                                             First Class Mail
Chartered Organization         Crystal Grange                                            Chief Seattle Council 609                2160 NE Paulson Rd                                     Poulsbo, WA 98370‐6940                                                                                             First Class Mail
Chartered Organization         Crystal Lake Elementary A Commty                          Partnership School                       700 Galvin Dr                                          Lakeland, FL 33801‐6216                                                                                            First Class Mail
Voting Party                   Crystal Lake First Umc                                    Attn: Lisa A Kruse‐Safford               236 W Crystal Lake Ave                                 Crystal Lake, IL 60014                                                            lksafford@firstchurchcl.org      Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crystal Lake Umc                                          c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crystal Lake Umc                                          2001 N Crystal Lake Dr                   Lakeland, FL 33801                                                                                                                                                        First Class Mail
Chartered Organization         Crystal Lakes Elementary                                  Gulf Stream Council 085                  6050 Gateway Blvd                                      Boynton Beach, FL 33472‐5128                                                                                       First Class Mail
Chartered Organization         Crystal Lions Club                                        President Gerald R Ford 781              2530 S Shore Dr                                        Crystal, MI 48818‐9689                                                                                             First Class Mail
Chartered Organization         Crystal Police Dept                                       Northern Star Council 250                4141 Douglas Dr N                                      Crystal, MN 55422‐1609                                                                                             First Class Mail
Voting Party                   Crystal River Umc                                         c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Crystal River Umc                                         4801 N Citrus Ave                        Crystal River, FL 3442                                                                                                                                                    First Class Mail
Chartered Organization         Crystal River Utd Methodist Church                        Greater Tampa Bay Area 089               4801 N Citrus Ave                                      Crystal River, FL 34428‐6040                                                                                       First Class Mail
Chartered Organization         Crystal Springs                                           Narragansett 546                         38 Narrows Rd                                          Assonet, MA 02702‐1633                                                                                             First Class Mail
Voting Party                   Crystal Springs United Methodist Church                   306 W Georgetown St                      Crystal Springs, MS 39059                                                                                                                csumc.information@gmail.com      Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Crystal Springs Utd Methodist Church                      Pacific Skyline Council 031              2145 Bunker Hill Dr                                    San Mateo, CA 94402‐3830                                                                                           First Class Mail
Chartered Organization         Crystal Springs Ward ‐ Filer Stake                        Snake River Council 111                  2263 E 4195 N                                          Filer, ID 83328‐5098                                                                                               First Class Mail
Chartered Organization         Cs 134 George F Bristow School Sr                         Greater New York Councils, Bsa 640       1330 Bristow St                                        Bronx, NY 10459‐1416                                                                                               First Class Mail
Chartered Organization         Cs Land                                                   Utah National Parks 591                  355 E 100 N, Apt 9                                     Vernal, UT 84078‐2128                                                                                              First Class Mail
Voting Party                   CSC Holdings LLC, Cp Sanibel LLC                          Dba Sanibel Harbour Marriot              c/o Fair Harbor Capital LLC                            Attn: Victor Knox                 P.O. Box 237037            New York, NY 10023   vknox@fairharborcapital.com      Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Csd Staff Assoc                                           Northwest Georgia Council 100            3624 Everett Springs Rd Ne                             Armuchee, GA 30105‐2772                                                                                            First Class Mail
Chartered Organization         Csp Of Northeast Georgia                                  Northeast Georgia Council 101            56 Franklin Spring Cir                                 Royston, GA 30662‐2902                                                                                             First Class Mail
Chartered Organization         Csp Of Northeast Georgia                                  Northeast Georgia Council 101            613 Cook St                                            Royston, GA 30662‐3933                                                                                             First Class Mail
Chartered Organization         Cspa And Vfw Post 993                                     Tidewater Council 596                    70 Morrison St                                         Portsmouth, VA 23702                                                                                               First Class Mail
Chartered Organization         Csrsaa                                                    Chief Seattle Council 609                2115 201st Pl SE, Unit A4                              Bothell, WA 98012‐8562                                                                                             First Class Mail
Chartered Organization         Ctpu                                                      Greater Yosemite Council 059             P.O. Box 502                                           Woodbridge, CA 95258‐0502                                                                                          First Class Mail
Chartered Organization         Ctr For Architecture & Design                             Kansas City                              1801 Mcgee St, Ste 100                                 Kansas City, MO 64108‐1832                                                                                         First Class Mail
Chartered Organization         Ctr For Individualized Trng & Edu                         Narragansett 546                         15 Bough St                                            Providence, RI 02909‐2803                                                                                          First Class Mail
Chartered Organization         Ctr For Marine Sciences & Tech                            East Carolina Council 426                303 College Cir                                        Morehead City, NC 28557‐2941                                                                                       First Class Mail
Chartered Organization         Ctrton 2Nd Ward Ch Jesus Ch                               Westark Area Council 016                 950 Seba Rd                                            Centerton, AR 72719‐7302                                                                                           First Class Mail
Chartered Organization         Cub Parents Of Marie Riviere                              Southeast Louisiana Council 214          1564 Lake Ave                                          Metairie, LA 70005‐1470                                                                                            First Class Mail
Chartered Organization         Cub Run Elementary School PTA                             National Capital Area Council 082        5301 Sully Station Dr                                  Centreville, VA 20120‐1367                                                                                         First Class Mail
Chartered Organization         Cub Scout Boosters Of Hammond Elementary                  Baltimore Area Council 220               8325 Mary Lee Ln                                       Laurel, MD 20723‐1175                                                                                              First Class Mail
Chartered Organization         Cub Scout Pack 335 Inc                                    Gulf Stream Council 085                  22374 Garrison St                                      Boca Raton, FL 33428‐4038                                                                                          First Class Mail
Chartered Organization         Cub Scout Pack 737                                        Greater Los Angeles Area 033             23330 Quail Summit Dr                                  Diamond Bar, CA 91765‐3031                                                                                         First Class Mail
Chartered Organization         Cub Scout Pack 815 Of La Mirada                           Greater Los Angeles Area 033             14817 Greenworth Dr                                    La Mirada, CA 90638‐3056                                                                                           First Class Mail
Chartered Organization         Cub Scout Pack 844 Inc                                    Central Florida Council 083              701 Green Ct                                           Kissimmee, FL 34759‐4117                                                                                           First Class Mail
Chartered Organization         Cub Scout Pack 851 Inc                                    Greater Los Angeles Area 033             3115 Merrill Dr, Apt 48                                Torrance, CA 90503‐7176                                                                                            First Class Mail
Chartered Organization         Cub Scout Pack 95 AL Post 40                              Las Vegas Area Council 328               425 E Van Wagenen St                                   Henderson, NV 89015‐7380                                                                                           First Class Mail
Chartered Organization         Cub Scout Parents Of Kellar School                        W D Boyce 138                            6413 N Mount Hawley Rd                                 Peoria, IL 61614‐3017                                                                                              First Class Mail
Chartered Organization         Cub Scout Parents Of Mcgavock Elementary                  Middle Tennessee Council 560             85 Fairway Dr                                          Nashville, TN 37214‐2148                                                                                           First Class Mail
Chartered Organization         Cub Scout Parents Of Metairie Academy                     Southeast Louisiana Council 214          201 Metairie Rd                                        Metairie, LA 70005‐4538                                                                                            First Class Mail
Chartered Organization         Cub Scout Parents Wa Wright Elem                          Middle Tennessee Council 560             802 Copperfield Ct                                     Mount Juliet, TN 37122‐1313                                                                                        First Class Mail
Chartered Organization         Cub Scouts ‐ LDS Tucson East Stake                        Catalina Council 011                     6901 E Kenyon Dr                                       Tucson, AZ 85710‐4711                                                                                              First Class Mail
Chartered Organization         Cuba City Lions Club                                      Blackhawk Area 660                       512 E Webster St                                       Cuba City, WI 53807‐1621                                                                                           First Class Mail
Voting Party                   Cuba United Methodist Church                              Attn: Bruce T Bailey                     903 W Washington St                                    Cuba, MO 65453                                                                    info@umccuba.org                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Cuba United Methodist Church                              Attn: Robbie Cornell, Treasurer          49 E Main St                                           Cuba, NY 14727                                                                    cornell7888@gmail.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Cucamonga Christian Fellowship                            11376 5th St                             Rancho Cucamonga, CA 91730                                                                                                               janelle@ccflive.org              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Cuddebackville Reformed Church                            Hudson Valley Council 374                P.O. Box 293                                           Cuddebackville, NY 12729‐0293                                                                                      First Class Mail
Chartered Organization         Cuero First Utd Methodist Church                          Capitol Area Council 564                 301 E Courthouse St                                    Cuero, TX 77954‐2919                                                                                               First Class Mail
Voting Party                   Cullen And Dykman LLP                                     Attn: Matthew G Roseman                  100 Quentin Roosevelt Blvd                             Garden City, NY 11530                                                             MRoseman@cullenllp.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Cullen And Dykman LLP                                     Matthew G. Roseman                       100 Quentin Roosevelt Blvd                             Garden City, NY 11530                                                             MRoseman@cullenllp.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Cullen Assoc Hope Center                                  Norwela Council 215                      401 E Rd                                               Cullen, LA 71021                                                                                                   First Class Mail
Chartered Organization         Cullens Youth Assoc, Inc, The                             Connecticut Yankee Council Bsa 072       P.O. Box 323                                           Newtown, CT 06470‐0323                                                                                             First Class Mail
Chartered Organization         Culleoka Lions Club                                       Middle Tennessee Council 560             P.O. Box 143                                           Culleoka, TN 38451‐0143                                                                                            First Class Mail
Voting Party                   Cullman First United Methodist Church                     Attn: Lyle Holland                       320 3rd Ave SE                                         Cullman, AL 35055                                                                 lyle.holland@umcna.org           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Cullowhee                                                 c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                                 erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Cullowhee                                                 416 Central Dr                           Cullowhee, NC 28723                                                                                                                                                       First Class Mail
Chartered Organization         Cullowhee Utd Methodist Church                            Daniel Boone Council 414                 P.O. Box 1267                                          Cullowhee, NC 28723‐1267                                                                                           First Class Mail
Chartered Organization         Culpeper Police Dept                                      National Capital Area Council 082        740 Old Brandy Rd                                      Culpeper, VA 22701‐2865                                                                                            First Class Mail
Chartered Organization         Cultural Arts Academy Charter School                      Greater New York Councils, Bsa 640       1400 Linden Blvd                                       Brooklyn, NY 11212‐5149                                                                                            First Class Mail
Chartered Organization         Culver City Elks Lodge 1917                               W.L.A.C.C. 051                           11160 Washington Pl                                    Culver City, CA 90232‐3920                                                                                         First Class Mail
Chartered Organization         Culver City Police Dept                                   W.L.A.C.C. 051                           4040 Duquesne Ave                                      Culver City, CA 90232‐2804                                                                                         First Class Mail
Chartered Organization         Culver Education Foundation                               Woodcraft Camp                           1300 Academy Rd 120                                    Culver, IN 46511‐1234                                                                                              First Class Mail
Voting Party                   Culver‐Palms United Methodist Church                      Attn: Trustee Chair                      4464 Sepulveda Blvd                                    Culver City, CA 90230                                                             dentr11@aol.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Cumberland ‐ North Yarmouth Lions Club                    Pine Tree Council 218                    105 Middle Rd                                          Cumberland, ME 04021‐3710                                                                                          First Class Mail
Chartered Organization         Cumberland & Happy Hollow Parent Council                  Sagamore Council 162                     1130 N Salisbury St                                    West Lafayette, IN 47906‐2447                                                                                      First Class Mail
Chartered Organization         Cumberland Baptist Church                                 Great Smoky Mountain Council 557         5600 Wern Ave                                          Knoxville, TN 37921                                                                                                First Class Mail
Chartered Organization         Cumberland Community Church                               Laurel Highlands Council 527             12900 Bedford Rd Ne                                    Cumberland, MD 21502‐6853                                                                                          First Class Mail
Chartered Organization         Cumberland County Sheriff Office                          Garden State Council 690                 220 N Laurel St                                        Bridgeton, NJ 08302‐1516                                                                                           First Class Mail
Chartered Organization         Cumberland County Sheriffs Office                         Pine Tree Council 218                    36 County Way                                          Portland, ME 04102‐2755                                                                                            First Class Mail
Chartered Organization         Cumberland County Wildlfe Club                            Occoneechee 421                          2611 Mellwood Dr                                       Fayetteville, NC 28306‐3408                                                                                        First Class Mail
Chartered Organization         Cumberland El School Friends Of Pack 400                  Three Harbors Council 636                4780 N Marlborough Dr                                  Whitefish Bay, WI 53211‐1166                                                                                       First Class Mail
Chartered Organization         Cumberland Elementary School Pto                          Water and Woods Council 782              2801 Cumberland Rd                                     Lansing, MI 48906‐3621                                                                                             First Class Mail
Chartered Organization         Cumberland Fire Departmant                                Pine Tree Council 218                    366 Tuttle Rd                                          Cumberland, ME 04021‐3627                                                                                          First Class Mail
Chartered Organization         Cumberland Presbyterian Church                            Last Frontier Council 480                P.O. Box 8                                             Burns Flat, OK 73624‐0008                                                                                          First Class Mail
Chartered Organization         Cumberland Presbyterian Church                            West Tennessee Area Council 559          P.O. Box 181                                           Dyer, TN 38330‐0181                                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                       Page 80 of 442
                                                                                     Case 20-10343-LSS                                                       Doc 8171                                                   Filed 01/06/22                                        Page 96 of 457
                                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                                      Service List
                                                                                                                                                                                               Served as set forth below

        Description                                                      Name                                                                                                                      Address                                                                                                       Email              Method of Service
Chartered Organization         Cumberland Presbyterian Church                                West Tennessee Area Council 559                        2280 Parr Ave                                                       Dyersburg, TN 38024‐2011                                                                         First Class Mail
Chartered Organization         Cumberland Presbyterian Church                                Greater St Louis Area Council 312                      1700 Outer W Delaware                                               Fairfield, IL 62837                                                                              First Class Mail
Chartered Organization         Cumberland Presbyterian Church                                Greater St Louis Area Council 312                      300 NW 5th St                                                       Fairfield, IL 62837‐1610                                                                         First Class Mail
Chartered Organization         Cumberland Presbyterian Church                                Great Smoky Mountain Council 557                       503 College St                                                      Loudon, TN 37774‐1268                                                                            First Class Mail
Chartered Organization         Cumberland Presbyterian Church                                Middle Tennessee Council 560                           P.O. Box 176                                                        Winchester, TN 37398‐0176                                                                        First Class Mail
Voting Party                   Cumberland Presbyterian Church Farmville, Virginia            1835 Cumberland Rd                                     Farmville, VA 23901                                                                                                                 rjop@kinex.net                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cumberland Rd. Elementary Pto                                 Crossroads of America 160                              13535 Cumberland Rd                                                 Fishers, IN 46038‐3602                                                                           First Class Mail
Voting Party                   Cumberland Umc                                                2262 George Owen Rd                                    Fayetteville, NC 28306                                                                                                              bherring@nccumc.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Cumberland United Methodist Church                            Attn: Rev Dr Frederick Yebuah                          163 S Coit St                                                       Florence, SC 29501                                              fnyebuah@umcsc.org               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Cumberland United Methodist Church                            Attn: Rev Ronnie Bell                                  219 N Muessing St                                                   Indianapolis, IN 46229                                          cumc219@sbcglobal.net            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cumberland University I                                       Middle Tennessee Council 560                           1 Cumberland Sq                                                     Lebanon, TN 37087‐3408                                                                           First Class Mail
Chartered Organization         Cumberland University Ii                                      Middle Tennessee Council 560                           1 Cumberland Sq                                                     Lebanon, TN 37087‐3408                                                                           First Class Mail
Chartered Organization         Cumberland Utd Methodist Church                               Occoneechee 421                                        2262 George Owen Rd                                                 Fayetteville, NC 28306‐8240                                                                      First Class Mail
Voting Party                   Cumc                                                          Brian S Schumaker                                      179 Slosson Rd                                                      West Monroe, NY 13167                                           brian.schumaker@evoqua.com       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Cumc Oldsmar                                                  c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cumming American Legion Post 562                              Mid Iowa Council 177                                   1728 Holly Dr                                                       Norwalk, IA 50211‐1144                                                                           First Class Mail
Chartered Organization         Cumming First Utd Methodist Church                            Northeast Georgia Council 101                          P.O. Box 606                                                        Cumming, GA 30028‐0606                                                                           First Class Mail
Chartered Organization         Cumming First Utd Methodist Church                            Northeast Georgia Council 101                          770 Canton Hwy                                                      Cumming, GA 30040‐8327                                                                           First Class Mail
Chartered Organization         Cumming Utd Methodist Church                                  Northeast Georgia Council 101                          P.O. Box 606                                                        Cumming, GA 30028‐0606                                                                           First Class Mail
Voting Party                   Cummings First United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cunningham Park PTA                                           National Capital Area Council 082                      1001 Park St Se                                                     Vienna, VA 22180‐6606                                                                            First Class Mail
Voting Party                   Cunningham Umc ‐ Palmyra                                      c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Cupeper Umc                                                   c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cupeyville School                                             Puerto Rico Council 661                                P.O. Box 192705                                                     San Juan, PR 00919‐2705                                                                          First Class Mail
Chartered Organization         Curative Care Network Inc                                     Three Harbors Council 636                              1000 N 92nd St                                                      Milwaukee, WI 53226‐3533                                                                         First Class Mail
Chartered Organization         Cure Of Ars Catholic School                                   Heart of America Council 307                           9401 Mission Rd                                                     Leawood, KS 66206‐2045                                                                           First Class Mail
Chartered Organization         Cure Of Ars R C Church                                        Theodore Roosevelt Council 386                         2323 Merrick Ave                                                    Merrick, NY 11566‐4304                                                                           First Class Mail
Chartered Organization         Currie Community Baptist Church                               Cape Fear Council 425                                  28396 Nc Hwy 210                                                    Currie, NC 28435                                                                                 First Class Mail
Chartered Organization         Curry High School Ffa                                         Black Warrior Council 006                              155 Yellow Jacket Dr                                                Jasper, AL 35503‐5655                                                                            First Class Mail
Chartered Organization         Curtis Bay Elementary/Middle                                  Baltimore Area Council 220                             4301 W Bay Ave                                                      Brooklyn, MD 21225‐2518                                                                          First Class Mail
Chartered Organization         Curtis Bay Rec Center                                         Baltimore Area Council 220                             1630 Filbert St                                                     Baltimore, MD 21226‐1354                                                                         First Class Mail
Chartered Organization         Curtis Olson Vfw                                              Central Minnesota 296                                  401 Pacific Ave                                                     Randall, MN 56475‐4402                                                                           First Class Mail
Voting Party                   Curtis Paul Murley                                            63 Cushing St                                          Long Island, ME 04050                                                                                                               eumc.treas@gmail.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Curwensville United Methodist Church (180863)                 c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200     Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Curwensville Utd Methodist Church                             Bucktail Council 509                                   700 State St                                                        Curwensville, PA 16833‐1037                                                                      First Class Mail
Chartered Organization         Cushing Elementary School PTO                                 Potawatomi Area Council 651                            227 Genesee St                                                      Delafield, WI 53018‐1810                                                                         First Class Mail
Chartered Organization         Cushing First Christian Church                                Cimarron Council 474                                   300 E Moses St                                                      Cushing, OK 74023‐3350                                                                           First Class Mail
Chartered Organization         Cushing First Utd Methodist Church                            Cimarron Council 474                                   930 S Little Ave                                                    Cushing, OK 74023‐4862                                                                           First Class Mail
Chartered Organization         Custer Baker Intermediate School                              Crossroads of America 160                              711 E State Rd 44                                                   Franklin, IN 46131                                                                               First Class Mail
Voting Party                   Custer Road United Methodist Church, Inc                      Attn: Kendra Trautman ‐ Treasurer/Cfo                  6601 Custer Rd                                                      Plano, TX 75023                                                 ktrautman@crumc.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Custer Rotary Club & Bh Electric Coop                         Black Hills Area Council 695 695                       235 S 9th St                                                        Custer, SD 57730‐2005                                                                            First Class Mail
Chartered Organization         Custer Sportsmens Club Inc                                    Mount Baker Council, Bsa 606                           3000 Birch Bay Lynden Rd                                            Custer, WA 98240‐9506                                                                            First Class Mail
Voting Party                   Custom Accessories Inc                                        5900 Ami Dr                                            Richmond, IL 60071‐8968                                                                                                                                              First Class Mail
Chartered Organization         Custom Lawn Care Services                                     Great Smoky Mountain Council 557                       3352 Old Airport Rd                                                 White Pine, TN 37890‐3920                                                                        First Class Mail
Chartered Organization         Customs & Border Protection                                   Mount Baker Council, Bsa 606                           9901 Pacific Hwy                                                    Blaine, WA 98230‐9242                                                                            First Class Mail
Chartered Organization         Customs & Border Protection                                   Pathway To Adventure 456                               610 S Canal St                                                      Chicago, IL 60607‐4523                                                                           First Class Mail
Chartered Organization         Customs & Border Protection                                   Lake Erie Council 440                                  6747 Engle Rd                                                       Cleveland, OH 44130‐7907                                                                         First Class Mail
Chartered Organization         Customs & Border Protection                                   South Texas Council 577                                700 Zaragoza                                                        Laredo, TX 78041                                                                                 First Class Mail
Chartered Organization         Customs & Border Protection                                   Long Beach Area Council 032                            301 E Ocean Blvd, Ste 1400                                          Long Beach, CA 90802‐4826                                                                        First Class Mail
Chartered Organization         Customs & Border Protection                                   Chief Seattle Council 609                              1021 SW Klickitat Way, Ste D103                                     Seattle, WA 98134‐1100                                                                           First Class Mail
Chartered Organization         Customs & Border Protection                                   Greater Tampa Bay Area 089                             1624 E 7th Ave, Ste 101                                             Tampa, FL 33605‐3769                                                                             First Class Mail
Chartered Organization         Cut And Shoot Family Lion Club                                Sam Houston Area Council 576                           P.O. Box 7108                                                       Conroe, TX 77306‐0108                                                                            First Class Mail
Chartered Organization         Cutler Bay Middle School                                      South Florida Council 084                              19400 Gulfstream Rd                                                 Cutler Bay, FL 33157‐8658                                                                        First Class Mail
Chartered Organization         Cutler Bay Senior High Stem                                   South Florida Council 084                              8601 SW 212th St                                                    Cutler Bay, FL 33189‐3301                                                                        First Class Mail
Voting Party                   Cutler United Methodist Church                                Attn: Treasurer, Renee Patterson                       21 School St                                                        Calais, ME 04619                                                sstevensgrant@gmail.com          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Firm                           Cutter Law PC                                                 Matt Breining, Esq. & Jennifer Domer, Esq.             401 Watt Ave, Ste 100                                               Sacramento, CA 95864                                            mbreining@cutterlaw.com          Email
                                                                                                                                                                                                                                                                                        jdomer@cutterlaw.com             First Class Mail
Firm                           Cutter Law, P.C., Estey Bomberger                             Matt Breining, Esq. & Jennifer Domer, Esq.             401 Watt Ave, Ste 100                                               Sacramento, CA 95864                                            jdomer@cutterlaw.com;            Email
                                                                                                                                                                                                                                                                                        mbreining@cutterlaw.com          First Class Mail
Chartered Organization         Cutter Scout Reservation Venture Crew                         Pacific Skyline Council 031                            1150 Chess Dr                                                       Foster City, CA 94404‐1107                                                                       First Class Mail
Chartered Organization         Cuyahoga Community College                                    Lake Erie Council 440                                  11000 W Pleasant Valley Rd                                          Parma, OH 44130‐5114                                                                             First Class Mail
Chartered Organization         Cuyahoga County Sheriff Dept                                  Lake Erie Council 440                                  1215 W 3rd St                                                       Cleveland, OH 44113‐1532                                                                         First Class Mail
Chartered Organization         Cuyahoga Heights Scouting Assoc                               Lake Erie Council 440                                  4863 E 71st St                                                      Cleveland, OH 44125‐1078                                                                         First Class Mail
Chartered Organization         Cuyler Community Center                                       Central Florida Council 083                            2329 Harry T Moore Ave                                              Mims, FL 32754‐4222                                                                              First Class Mail
Voting Party                   Cuyler Warren United Methodist Church                         Attn: Jessica Ellis, CFO                               475 Riverside Dr, Ste 1922                                          New York, NY 10115                                              bshillady@umcitysociety.org      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cvhs Race Team Parents Advisory Group                         Oregon Trail Council 697                               4440 NW Crocus Pl                                                   Corvallis, OR 97330‐3367                                                                         First Class Mail
Chartered Organization         Cydo                                                          Transatlantic Council, Bsa 802                         Box 11671                                                           Dhahran, 31311                 Saudi Arabia                                                      First Class Mail
Voting Party                   Cynthia J. Vanallen                                           169 Old State Rd                                       Broadalbin, NY 12025                                                                                                                pastorcindyvan@yahoo.com         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cynthiana Elks Lodge 438                                      Blue Grass Council 204                                 1544 US Hwy 62 E                                                    Cynthiana, KY 41031‐6706                                                                         First Class Mail
Chartered Organization         Cynthiana Police Dept                                         Blue Grass Council 204                                 104 E Pleasant St, Ste 5                                            Cynthiana, KY 41031‐1598                                                                         First Class Mail
Chartered Organization         Cypress Centennial Scouting Lions Club                        Sam Houston Area Council 576                           P.O. Box 2893                                                       Cypress, TX 77410‐2893                                                                           First Class Mail
Chartered Organization         Cypress Creek Christian Church                                Sam Houston Area Council 576                           6823 Cypresswood Dr                                                 Spring, TX 77379‐7705                                                                            First Class Mail
Chartered Organization         Cypress Creek Emergency Medical Services                      Sam Houston Area Council 576                           7111 Five Forks Dr                                                  Spring, TX 77379‐4101                                                                            First Class Mail
Chartered Organization         Cypress Homeschool Assoc                                      Sam Houston Area Council 576                           12320 Barker Cypress Rd PMB 164, Ste 600                            Cypress, TX 77429‐8325                                                                           First Class Mail
Chartered Organization         Cypress Lake Presbyterian Church                              Southwest Florida Council 088                          8260 Cypress Lake Dr                                                Fort Myers, FL 33919‐5116                                                                        First Class Mail
Voting Party                   Cypress Lake Umc ‐ Fort Myers                                 c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cypress Lake Utd Methodist Church                             Southwest Florida Council 088                          8570 Cypress Lake Dr                                                Fort Myers, FL 33919‐5117                                                                        First Class Mail
Chartered Organization         Cypress Police Dept                                           Orange County Council 039                              5275 Orange Ave                                                     Cypress, CA 90630‐2957                                                                           First Class Mail
Chartered Organization         Cypress Shores Baptist Church                                 Mobile Area Council‐Bsa 004                            4327 Higgins Rd                                                     Mobile, AL 36619‐8911                                                                            First Class Mail
Voting Party                   Cypress Trails United Methodist Church                        Attn: Treasurer, Helle Verhoeven                       22801 Aldine Westfield Rd                                           Spring, TX 77373                                                                                 First Class Mail
Chartered Organization         Cypress Trails Utd Methodist Church                           Sam Houston Area Council 576                           P.O. Box 789                                                        Spring, TX 77383‐0789                                                                            First Class Mail
Voting Party                   Cypress United Methodist Church                               Attn: Business Administrator & Patricia (Trisha) Lee   13403 Cypress North Houston Rd                                      Cypress, TX 77429                                               tmorrison@cypress‐umc.org        Email
                                                                                             Morrison                                                                                                                                                                                                                    First Class Mail
Voting Party                   Cypress Wesleyan Church                                       Attn: Mark Knight                                      377 Alton Darby Creek Rd                                            Galloway, OH 43119                                              markk@cypresschurch.tv           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Cypress‐Fairbanks Isd Police Dept                             Sam Houston Area Council 576                           11200 Telge Rd                                                      Cypress, TX 77429‐3398                                                                           First Class Mail
Chartered Organization         Cyr Plourde Post 145                                          Katahdin Area Council 216                              P.O. Box 254                                                        Frenchville, ME 04745‐0254                                                                       First Class Mail
Chartered Organization         Cyrene Lodge 844 Masonic Lodge                                Tukabatchee Area Council 005                           P.O. Box 16                                                         Uniontown, AL 36786‐0016                                                                         First Class Mail
Chartered Organization         D & G Upholstery                                              Great Smoky Mountain Council 557                       11474 Finch Rd                                                      Weeki Wachee, FL 34614‐3505                                                                      First Class Mail
Chartered Organization         D Bar A Scout Ranch                                           Great Lakes Fsc 272                                    880 E Sutton Rd                                                     Metamora, MI 48455‐9701                                                                          First Class Mail
Chartered Organization         D I B S, LLC                                                  Dan Beard Council, Bsa 438                             8339 S State Route 123                                              Blanchester, OH 45107‐8467                                                                       First Class Mail
Voting Party                   D Kent Clayburn                                               c/o Boy Scouts of America                              Attn: Chase Koontz                                                  1325 W Walnut Hill Ln          Irving, TX 75015                 chase.koontz@scouting.org        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         D Mcrae Elementary ‐ Gifw                                     Longhorn Council 662                                   3316 Ave N                                                          Fort Worth, TX 76105‐3434                                                                        First Class Mail
Firm                           D Miller & Associates, PLLC                                   Rochelle Guiton                                        2610 W Sam Houston Pkwy. Ste. 200                                   Houston, TX 77042                                               bsa@dmillerlaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         D. A. V. Chapter 85                                           The Spirit of Adventure 227                            85 Willow St                                                        Malden, MA 02148‐5825                                                                            First Class Mail
Chartered Organization         D.A.V. Montessori                                             Sam Houston Area Council 576                           14375 Schiller Rd                                                   Houston, TX 77082‐4303                                                                           First Class Mail
Chartered Organization         Dacc Wildlife                                                 Simon Kenton Council 441                               4565 Columbus Pike                                                  Delaware, OH 43015‐8969                                                                          First Class Mail
Chartered Organization         Dacula Lodge 433                                              Northeast Georgia Council 101                          P.O. Box 665                                                        Dacula, GA 30019‐0012                                                                            First Class Mail
Voting Party                   Dacula United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Dacula Utd Methodist Church                                   Northeast Georgia Council 101                          2655 Fence Rd                                                       Dacula, GA 30019‐2119                                                                            First Class Mail
Chartered Organization         Dacusville Recreation Center                                  Blue Ridge Council 551                                 183 Shoals Creek Church Rd                                          Easley, SC 29640                                                                                 First Class Mail
Chartered Organization         Dade City Police Dept                                         Greater Tampa Bay Area 089                             38042 Pasco Ave                                                     Dade City, FL 33525‐4233                                                                         First Class Mail
Chartered Organization         Dads Club Of Troop One Flushing Inc                           Greater New York Councils, Bsa 640                     3511 191st St                                                       Flushing, NY 11358‐2424                                                                          First Class Mail
Chartered Organization         Daggett Elementery School ‐ Gfwar                             Longhorn Council 662                                   1608 Quails Nest Dr                                                 Fort Worth, TX 76177‐7542                                                                        First Class Mail
Chartered Organization         Daggett Volunteer Fire Dept                                   California Inland Empire Council 045                   P.O. Box 193                                                        Daggett, CA 92327‐0193                                                                           First Class Mail
Chartered Organization         Dagsboro Fire Dept                                            Del Mar Va 081                                         P.O. Box 128                                                        Dagsboro, DE 19939‐0128                                                                          First Class Mail
Chartered Organization         Dahlgren Utd Methodist Church                                 National Capital Area Council 082                      P.O. Box 1797                                                       Dahlgren, VA 22448‐1797                                                                          First Class Mail
Chartered Organization         Dahlonega Baptist Church                                      Northeast Georgia Council 101                          203 S Chestatee St                                                  Dahlonega, GA 30533                                                                              First Class Mail
Chartered Organization         Dahlonega Baptist Church                                      Northeast Georgia Council 101                          234 Hawkins St                                                      Dahlonega, GA 30533‐1119                                                                         First Class Mail
Voting Party                   Dahlonega United Methodist Church (Dahlonega)                 c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Daingerfield Lions Club                                       Circle Ten Council 571                                 1109 Glenn St                                                       Daingerfield, TX 75638‐1807                                                                      First Class Mail
Chartered Organization         Daingerfield Lions Club                                       Circle Ten Council 571                                 500 Park Dr                                                         Daingerfield, TX 75638‐2020                                                                      First Class Mail
Chartered Organization         Dakota County Sheriffs Office                                 Northern Star Council 250                              1580 Hwy 55                                                         Hastings, MN 55033‐2343                                                                          First Class Mail
Voting Party                   Dakota‐Rock Grove Umc                                         Attn: Leslie Renee Stanford                            120 S Church St                                                     Dakota, IL 61018                                                dkrgumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Dalals Housing Authority @ Buckeye                            Circle Ten Council 571                                 6676 Buckeye Commons Way                                            Dallas, TX 75215                                                                                 First Class Mail
Chartered Organization         Dale City Moose Lodge 2165                                    National Capital Area Council 082                      15424 Cardinal Dr                                                   Woodbridge, VA 22193‐1819                                                                        First Class Mail
Chartered Organization         Dale Crick Chapter 793 Moph                                   Grand Canyon Council 010                               409 W Santa Fe Ave                                                  Flagstaff, AZ 86001‐5318                                                                         First Class Mail
Chartered Organization         Dale Presbyterian Church                                      Buffalo Trace 156                                      P.O. Box 426                                                        Dale, IN 47523‐0426                                                                              First Class Mail
Voting Party                   Daleville United Methodist Church                             Attn: Pam Hill                                         P.O. Box 574                                                        8104 S Hickory Ln              Daleville, IN 47334              Dalevilleumc@sbcglobal.net       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Dalewood Middle School                                        Cherokee Area Council 556                              1300 Shallowford Rd                                                 Chattanooga, TN 37411‐1627                                                                       First Class Mail
Voting Party                   Dalewood United Methodist Church                              Attn: Charles Nokes / Treasurer                        2300 Ridgecrest Dr                                                  Nashville, TN 37216                                             charlesnokes@hotmail.com         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Dallas Arboretum                                              Circle Ten Council 571                                 8525 Garland Rd                                                     Dallas, TX 75218‐4335                                                                            First Class Mail
Voting Party                   Dallas Bar Association                                        2101 Ross Ave                                          Dallas, TX 75201‐2703                                                                                                                                                First Class Mail
Chartered Organization         Dallas Bay Baptist Church                                     Cherokee Area Council 556                              8305 Daisy Dallas Rd                                                Hixson, TN 37343‐1453                                                                            First Class Mail
Chartered Organization         Dallas Bay Volunteer Fire And Rescue                          Cherokee Area Council 556                              2010 Mcconnell Ln                                                   Hixson, TN 37343                                                                                 First Class Mail
Chartered Organization         Dallas Christian School                                       Circle Ten Council 571                                 1515 Republic Pkwy                                                  Mesquite, TX 75150‐6911                                                                          First Class Mail
Chartered Organization         Dallas Elks Lodge 11                                          Circle Ten Council 571                                 8550 Lullwater Dr                                                   Dallas, TX 75238‐4753                                                                            First Class Mail
Chartered Organization         Dallas Elks Lodge 71                                          Circle Ten Council 571                                 8550 Lullwater Dr                                                   Dallas, TX 75238‐4753                                                                            First Class Mail
Chartered Organization         Dallas Fire Rescue                                            Circle Ten Council 571                                 1500 Marilla St, Rm 7A                                              Dallas, TX 75201‐6318                                                                            First Class Mail
Voting Party                   Dallas First United Methodist (141 E. Memorial, Dallas, GA)   c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Dallas First Utd Methodist Church                             Atlanta Area Council 092                               141 E Memorial Dr                                                   Dallas, GA 30132‐4273                                                                            First Class Mail
Chartered Organization         Dallas Isd Police                                             Circle Ten Council 571                                 2500 S Ervay St                                                     Dallas, TX 75215‐2603                                                                            First Class Mail
Chartered Organization         Dallas Lutheran Church                                        Chippewa Valley Council 637                            101 W Dallas St                                                     Dallas, WI 54733‐9707                                                                            First Class Mail
Voting Party                   Dallas Lutheran Church                                        Attn: Lucy Hardie/ Pastor Dallas Lutheran Church       101 E Dallas St                                                     Dallas, WI 54733                                                aharrington@barronlawyers.com    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Dallas Masonic Lodge 128                                      Caddo Area Council 584                                 701 Port Arthur Ave                                                 Mena, AR 71953‐3262                                                                              First Class Mail
Chartered Organization         Dallas Police Dept                                            Circle Ten Council 571                                 4230 W Illinois Ave                                                 Dallas, TX 75211‐8457                                                                            First Class Mail
Chartered Organization         Dallas Police Dept                                            Circle Ten Council 571                                 1400 S Lamar St                                                     Dallas, TX 75215‐1801                                                                            First Class Mail
Chartered Organization         Dallas Police Dept                                            Circle Ten Council 571                                 9915 E Northwest Hwy                                                Dallas, TX 75238‐4324                                                                            First Class Mail
Chartered Organization         Dallas Police Dept                                            Circle Ten Council 571                                 1999 E Camp Wisdom Rd                                               Dallas, TX 75241‐3710                                                                            First Class Mail
Chartered Organization         Dallas Police Dept Jr.Explorer                                Circle Ten Council 571                                 1400 S Lamar St                                                     Dallas, TX 75215‐1801                                                                            First Class Mail
Chartered Organization         Dallas Police Explorer Program                                Circle Ten Council 571                                 725 N Jim Miller Rd                                                 Dallas, TX 75217‐4835                                                                            First Class Mail
Chartered Organization         Dallas Sioux Creek Fire Dept                                  Chippewa Valley Council 637                            211 W Dallas St                                                     Dallas, WI 54733                                                                                 First Class Mail
Voting Party                   Dallas United Methodist Church (079582)                       c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200     Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Dallas Utd Methodist Church                                   Northeastern Pennsylvania Council 501                  4 Parsonage St                                                      Dallas, PA 18612‐1021                                                                            First Class Mail
Chartered Organization         Dallas Zoo                                                    Circle Ten Council 571                                 650 S R L Thornton Fwy                                              Dallas, TX 75203‐3013                                                                            First Class Mail
Chartered Organization         Dalraida Utd Methodist Church                                 Tukabatchee Area Council 005                           3817 Atlanta Hwy                                                    Montgomery, AL 36109‐3625                                                                        First Class Mail
Voting Party                   Dalton First United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Dalton Lions Club                                             Western Massachusetts Council 234                      127 Ashuelot St                                                     Dalton, MA 01226‐1403                                                                            First Class Mail
Voting Party                   Dalton Neil Kennon                                            4495 Sandhill Rd                                       Marietta, OH 45750                                                                                                                  kennonscustomsawing@gmail.com    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Dalton Police Dept                                            Northwest Georgia Council 100                          301 Jones St                                                        Dalton, GA 30720‐3462                                                                            First Class Mail
Chartered Organization         Dalton Presbyterian Church                                    Buckeye Council 436                                    163 W Main St                                                       Dalton, OH 44618                                                                                 First Class Mail
Chartered Organization         Dalton Presbyterian Church                                    Buckeye Council 436                                    P.O. Box 306                                                        Dalton, OH 44618‐0306                                                                            First Class Mail
Voting Party                   Dalton United Methodist Church (078268)                       c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200     Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Dalton Utd Methodist Church                                   Northeastern Pennsylvania Council 501                  P.O. Box 683                                                        Dalton, PA 18414‐0683                                                                            First Class Mail
Chartered Organization         Daly City Police Dept                                         Pacific Skyline Council 031                            333 90th St                                                         Daly City, CA 94015‐1808                                                                         First Class Mail
Chartered Organization         Dalys Chapel Free Will Baptist Church                         East Carolina Council 426                              6138 Dalys Chapel Rd                                                Seven Springs, NC 28578‐9434                                                                     First Class Mail
Chartered Organization         Damascus 199 F&Am/Amer. Legion Post 125                       Mount Baker Council, Bsa 606                           P.O. Box 588                                                        Granite Falls, WA 98252‐0588                                                                     First Class Mail
Chartered Organization         Damascus Emmanuel Church                                      Central N Carolina Council 416                         502 E Fisher St                                                     Salisbury, NC 28144‐5108                                                                         First Class Mail
Chartered Organization         Damascus Lodge Temple                                         Mount Baker Council, Bsa 606                           P.O. Box 588                                                        Granite Falls, WA 98252‐0588                                                                     First Class Mail
Voting Party                   Damascus Manor United Methodist Church (078281)               c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200     Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Damascus Manor Utd Methodist Church                           Northeastern Pennsylvania Council 501                  P.O. Box 221                                                        Damascus, PA 18415‐0221                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                      Page 81 of 442
                                                                                   Case 20-10343-LSS                                           Doc 8171                                                Filed 01/06/22                                              Page 97 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                       Name                                                                                                    Address                                                                                                              Email              Method of Service
Chartered Organization         Damascus School PTA                                            Northeastern Pennsylvania Council 501   Rr 371                                                           Damascus, PA 18415                                                                                      First Class Mail
Voting Party                   Damascus Umc                                                   Attn: Steven Malley, Treasurer          9700 New Hurch St                                                Monrovia, MD 20872                                                    steve.malley@damascusumc.org      Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Damascus United Methodist Church                               Attn: Rev Vaughn Marsden                17194 Hwy 65 S                                                   Damascus, AR 72039                                                    mdvyankeefan@gmail.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Damascus Volunteer Fire Dept                                   National Capital Area Council 082       26334 Ridge Rd                                                   Damascus, MD 20872‐1947                                                                                 First Class Mail
Firm                           Damon J Baldone & Associates, APLC                             Damon J . Baldone                       162 New Orleans Blvd                                             Houma, LA 70364                                                       damon@baldonelaw.com              Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Dan Beard Council, Inc                                         Dan Beard Council, Bsa 438              10078 Reading Rd                                                 Cincinnati, OH 45241‐4833                                                                               First Class Mail
Chartered Organization         Dan Leghorn Engine Co No. 1                                    Hudson Valley Council 374               426 S Plank Rd                                                   Newburgh, NY 12550‐5706                                                                                 First Class Mail
Voting Party                   Dana Cowan Havron                                              1044 Fm 2199 S                          Marshall, TX 75672                                                                                                                     dhavron79@yahoo.com               Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Dana Limited                                                   Erie Shores Council 460                 3939 Technology Dr                                               Maumee, OH 43537‐9194                                                                                   First Class Mail
Chartered Organization         Danbury Police Dept                                            Connecticut Yankee Council Bsa 072      375 Main St                                                      Danbury, CT 06810‐5525                                                                                  First Class Mail
Voting Party                   Dandridge First United Methodist Church                        121 E Meeting St                        Dandridge, TN 37725                                                                                                                    dandridgefumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Dane Street Congregational Church                              The Spirit of Adventure 227             10 Dane St                                                       Beverly, MA 01915‐4515                                                                                  First Class Mail
Voting Party                   Daniel Boone Cncl 414                                          333 W Haywood St                        Asheville, NC 28801‐3155                                                                                                                                                 First Class Mail
Chartered Organization         Daniel Boone Conservation League                               Potawatomi Area Council 651             W276N9293 Red Wing Rd                                            Hartland, WI 53029                                                                                      First Class Mail
Voting Party                   Daniel Cabela                                                  Attn: Brian J. Koenig                   1125 S 103rd St, Ste 800                                         Omaha, NE 68124                                                       Brian.Koenig@koleyjessen.com      Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Daniel E Smith                                                 2053 Dolina Dr                          Virginia Beach, VA 23464                                                                                                               dansmith.msp@gmail.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Daniel Frank Ames                                              927 River Rd                            Bucksport, ME 04416                                                                                                                    pastordfames59@gmail.com          Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Daniel G Ownby                                                 c/o Boy Scouts of America               Attn: Chase Koontz                                               1325 W Walnut Hill Ln             Irving, TX 75015                    chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Daniel J Martin Legion Post 8 Wi                               Potawatomi Area Council 651             2301 Springdale Rd                                               Waukesha, WI 53186‐2856                                                                                 First Class Mail
Chartered Organization         Daniel L Orr Ii Ltd                                            Las Vegas Area Council 328              2040 W Charleston Blvd                                           Las Vegas, NV 89102‐2227                                                                                First Class Mail
Chartered Organization         Daniel L Orr Ii, Dds. Ms. Ltd                                  Las Vegas Area Council 328              2040 W Charleston Blvd, Ste 201                                  Las Vegas, NV 89102‐2287                                                                                First Class Mail
Voting Party                   Daniel M Cabela                                                c/o Boy Scouts of America               Attn: Chase Koontz                                               1325 W Walnut Hill Ln             Irving, TX 75015                    chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Daniel R. Lydic                                                c/o Sumc                                Daniel R Lydic                                                   4394 Ridge Rd                     Stevensville, MI 49127              drlydic@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Daniel Ryan Guthery                                            405 6th Ave SE                          Cullman, AL 35055                                                                                                                      gutheryd@gmail.com                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Daniel W Mcneil                                                Address Redacted                                                                                                                                                                                                 First Class Mail
Chartered Organization         Daniel Webster 46 As                                           Crossroads of America 160               1450 S Reisner St                                                Indianapolis, IN 46221‐1637                                                                             First Class Mail
Voting Party                   Daniel Webster Cncl 330                                        571 Holt Ave                            Manchester, NH 03109‐5213                                                                                                                                                First Class Mail
Chartered Organization         Daniel Webster Elementary PTA                                  Circle Ten Council 571                  3815 S Franklin St                                               Dallas, TX 75233‐3309                                                                                   First Class Mail
Chartered Organization         Daniel Wright Elementary PTO                                   Simon Kenton Council 441                2335 W Case Rd                                                   Columbus, OH 43235‐7532                                                                                 First Class Mail
Voting Party                   Daniels Memorial United Methodist Church                       2802 E Ash St                           Goldsboro, NC 27534                                                                                                                    danielsmemorialm@bellsouth.net    Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Daniels Memorial Utd Methodist Mens                            Tuscarora Council 424                   2802 E Ash St                                                    Goldsboro, NC 27534‐4519                                                                                First Class Mail
Voting Party                   Daniels Osborn Law Firm, Plc                                   John D Daniels                          600 4th St, Ste 302                                              Sioux City, IA 51101                                                  john@danielsosborn.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Danielson Lodge Of Elks 1706                                   Connecticut Rivers Council, Bsa 066     13 Center St                                                     Danielson, CT 06239‐3007                                                                                First Class Mail
Voting Party                   Danielson Umc                                                  Attn: Pastor Danielson Umc              9 Spring St                                                      Danielson, CT 06239                                                   umcd@snet.net                     Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Daniels‐St. Thomas Umc (183684)                                c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Danielsville United Methodist Church, 295 General Daniel Ave   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Danielsville Utd Methodist Church                              Northeast Georgia Council 101           P.O. Box 145                                                     Danielsville, GA 30633‐0145                                                                             First Class Mail
Chartered Organization         Danish Lutheran Church                                         Orange County Council 039               16881 Bastanchury Rd                                             Yorba Linda, CA 92886‐1607                                                                              First Class Mail
Firm                           Danizger & De Llano, LLP                                       Paul Danizger                           440 Louisiana St, Ste 1212                                       Houston, TX 77002                                                     rod@dandell.com                   Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Dannelly Elementary School                                     Tukabatchee Area Council 005            3425 Carter Hill Rd                                              Montgomery, AL 36111‐1807                                                                               First Class Mail
Voting Party                   Dannemora United Methodist Church                              Attn: Mary Laura Barber                 2613 Rte 374                                                     Dannemora, NY 12929                                                   twoloons@hughes.net               Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Danny R Clifton                                                Address Redacted                                                                                                                                                               Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Dan'S Ace Hardware                                             Grand Teton Council 107                 101 E Main St, Ste 201                                           Rexburg, ID 83440‐2017                                                                                  First Class Mail
Chartered Organization         Dansville Fish And Game                                        Five Rivers Council, Inc 375            Gibson St                                                        Dansville, NY 14437                                                                                     First Class Mail
Chartered Organization         Dansville Foursquare Church                                    Five Rivers Council, Inc 375            49 West Ave                                                      Dansville, NY 14437‐1439                                                                                First Class Mail
Chartered Organization         Dansville Utd Methodist Church                                 Water and Woods Council 782             1932 N M 52                                                      Stockbridge, MI 49285‐9625                                                                              First Class Mail
Chartered Organization         Danville Baptist Church                                        Daniel Webster Council, Bsa 330         226 Main St                                                      Danville, NH 03819                                                                                      First Class Mail
Chartered Organization         Danville Baptist Church                                        Daniel Webster Council, Bsa 330         226 Main St                                                      Danville, NH 03819                                                                                      First Class Mail
Chartered Organization         Danville Boys & Girls Club                                     Prairielands 117                        850 N Griffin St                                                 Danville, IL 61832‐3306                                                                                 First Class Mail
Chartered Organization         Danville Community Presbyterian Church                         Mt Diablo‐Silverado Council 023         222 W El Pintado                                                 Danville, CA 94526‐2513                                                                                 First Class Mail
Chartered Organization         Danville Knights Of Columbus                                   Columbia‐Montour 504                    345 Oakgrove Rd                                                  Danville, PA 17821                                                                                      First Class Mail
Chartered Organization         Danville Lions Club                                            Mississippi Valley Council 141 141      104 W Shepherd St                                                Danville, IA 52623                                                                                      First Class Mail
Chartered Organization         Danville Police Dept/Pitt Co Sheriffs                          Blue Ridge Mtns Council 599             P.O. Box 3300                                                    Danville, VA 24543‐3300                                                                                 First Class Mail
Voting Party                   Danville United Methodist Church                               Attn: Rev Hyung‐Kyu Yi                  87 Park St                                                       P.O. Box 35                       Danville, VT 05828                  pastorkyu@charter.net             Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Danville United Methodist Church                               Attn: Cecilia Hamrick                   P.O. Box 729                                                     Danville, AR 72833                                                    lraines@fridayfirm.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Danville United Methodist Church                               Attn: Trustees Dumc Brian Rumple        820 W Mill St                                                    Danville, IN 46122                                                    bgrumple@comcast.net              Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Danville United Methodist Church                               Attn: Pastor John Idoine                P.O. Box 36                                                      Danville, OH 43014                                                    acwilliams48@yahoo.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Daphne Utd Methodist Church                                    Mobile Area Council‐Bsa 004             P.O. Box 609                                                     Daphne, AL 36526‐0609                                                                                   First Class Mail
Chartered Organization         Daphne Utd Methodist Church                                    Mobile Area Council‐Bsa 004             P.O. Box 609                                                     Daphne, AL 36526‐0609                                                                                   First Class Mail
Chartered Organization         Darby Creek PTO                                                Simon Kenton Council 441                6305 Pinefield Dr                                                Hilliard, OH 43026‐7705                                                                                 First Class Mail
Voting Party                   D'Arcy Johnson Day                                             Attn: Steven K Johnson                  3120 Fire Rd, Ste 100                                            Egg Harbor Township, NJ 08234                                                                           First Class Mail
Chartered Organization         Dardanelle First Free Will Baptist                             Westark Area Council 016                2494 State Hwy 22 W                                              Dardanelle, AR 72834‐8830                                                                               First Class Mail
Voting Party                   Dardanelle First United Methodist Church                       Attn: Cyndia Callan                     P.O. Box 188                                                     Dardanelle, AR 72834                                                  cjcallan@centurytel.net           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Dardenne Presbyterian Church                                   Greater St Louis Area Council 312       7400 S Outer 364                                                 Dardenne Prairie, MO 63368‐7006                                                                         First Class Mail
Chartered Organization         Darien Lion'S Club                                             Pathway To Adventure 456                1702 Plainfield Rd                                               Darien, IL 60561‐5044                                                                                   First Class Mail
Voting Party                   Darien United Methodist Church                                 Attn: Charles Holek                     345 Middlesex Rd                                                 Darien, CT 06820                                                      chuck6h@optonline.net             Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Darke County Fish & Game Ass.                                  Miami Valley Council, Bsa 444           1407 New Garden Rd                                               New Paris, OH 45347‐9121                                                                                First Class Mail
Chartered Organization         Darlington Conservation Club, Inc                              Crossroads of America 160               6342 N 700 E                                                     Darlington, IN 47940‐7004                                                                               First Class Mail
Chartered Organization         Darlington Fire Dept                                           Blackhawk Area 660                      11700 Ames Rd                                                    Darlington, WI 53530‐9268                                                                               First Class Mail
Voting Party                   Darn Tough Vermont                                             Attn: Wendi Nettles                     P.O. Box 307                                                     Northfield, VT 05663                                                  wendi@darntough.com               Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Darn Tough Vermont                                             P.O. Box 1784                           Northfield, VT 05302                                                                                                                                                     First Class Mail
Chartered Organization         Darnaby Pta                                                    Indian Nations Council 488              7625 E 87th St                                                   Tulsa, OK 74133‐4818                                                                                    First Class Mail
Chartered Organization         Darnestown Presbyterian Church                                 National Capital Area Council 082       15120 Turkey Foot Rd                                             Darnestown, MD 20878‐3960                                                                               First Class Mail
Voting Party                   Darrel Rittman                                                 c/o Andrews & Thornton                  4701 Von Karman Ave, Ste 300                                     Newport Beach, CA 92660                                               BSA@AndrewsThornton.com           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Darrel Rittman                                                 4701 Von Karman Ave, Ste 300            Newport Beach, CA 92660                                                                                                                BSA@AndrewsThornton.com           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Darrouzett Al Kiowa Post 635                                   Golden Spread Council 562               P.O. Box 52                                                      Darrouzett, TX 79024‐0052                                                                               First Class Mail
Voting Party                   Darryl Youngblood                                              Address Redacted                                                                                                                                                                                                 First Class Mail
Chartered Organization         Dartside                                                       Trapper Trails 589                      1201 N Hill Field Rd                                             Layton, UT 84041‐5137                                                                                   First Class Mail
Voting Party                   Daryl R Lindemann                                              52 Maple Ridge Dr                       Morton, IL 61550                                                                                                                       drlindemann1@gmail.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           Dashner Law Firm                                               Geoffrey Dashner                        4500 Fuller Dr Ste. 209                                          Irving, TX 75038                                                      geoffrey@dashnerlaw.com           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Data Of Plano                                                  Circle Ten Council 571                  3251 Independence Pkwy                                           Plano, TX 75075‐1972                                                                                    First Class Mail
Voting Party                   Datamax                                                        Leasing Div                             P.O. Box 2235                                                    Saint Louis, MO 63139                                                                                   First Class Mail
Chartered Organization         Dauphin Way Utd Methodist Church                               Mobile Area Council‐Bsa 004             1507 Dauphin St                                                  Mobile, AL 36604‐1708                                                                                   First Class Mail
Chartered Organization         Dauphin Way Utd Methodist Church                               Mobile Area Council‐Bsa 004             P.O. Box 6845                                                    Mobile, AL 36660‐0845                                                                                   First Class Mail
Firm                           Dautrich & O'Brien Law Offices, P.C.                           Michael D. Dautrich                     534 Court St                                                     Reading, PA 19601                                                                                       First Class Mail
Voting Party                   Davco Roofing & Sheetmetal                                     4408 Northpoint Industrl Blvd           Charlotte, NC 28216‐6305                                                                                                                                                 First Class Mail
Voting Party                   Dave Orchard                                                   P.O. Box 584                            Grand Saline, TX 75140                                                                                                                 gsfumc2016@gmail.com              Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Davenport American Legion Post 335                             Cornhusker Council 324                  Rr 1                                                             Davenport, NE 68335                                                                                     First Class Mail
Chartered Organization         Davenport Elks Lodge 298                                       Illowa Council 133                      4400 W Central Park Ave                                          Davenport, IA 52804‐1004                                                                                First Class Mail
Chartered Organization         Davenport Fire Dept                                            Illowa Council 133                      331 Scott St                                                     Davenport, IA 52801‐1132                                                                                First Class Mail
Chartered Organization         Davenport Lions Club                                           Inland Nwest Council 611                P.O. Box 533                                                     Davenport, WA 99122‐0533                                                                                First Class Mail
Chartered Organization         Davenport Police Dept                                          Illowa Council 133                      416 N Harrison St                                                Davenport, IA 52801‐1304                                                                                First Class Mail
Chartered Organization         Davey Tree Expert Co                                           Great Trail 433                         1500 N Mantua St                                                 Kent, OH 44240‐2372                                                                                     First Class Mail
Voting Party                   David A Gordon                                                 521 W 5th St                            P.O. Box 384                                                     Mid, MI 48647                                                         davemarlene59@gmail.com           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   David Allen Daniel                                             280 Miller Rd                           Parkersburg, WV 26104                                                                                                                  cedargroveumc@cascable.net        Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   David Biegler                                                  c/o Boy Scouts of America               Attn: Chase Koontz                                               1325 W Walnut Hill Ln             Irving, TX 75015                    chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   David Braen                                                    Address Redacted                                                                                                                                                                                                 First Class Mail
Chartered Organization         David C Harrison Post 14 American Legion                       Del Mar Va 081                          P.O. Box 345                                                     Smyrna, DE 19977‐0345                                                                                   First Class Mail
Voting Party                   David Christopher Palmer                                       186 Whiteface Rd                        North Sandwich, NH 03259                                                                                                               debugpaltal@gmail.com             Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   David Clement                                                  Address Redacted                                                                                                                                                                                                 First Class Mail
Chartered Organization         David Day Construction LLC                                     Middle Tennessee Council 560            1580 Primm Rd                                                    Ashland City, TN 37015‐6260                                                                             First Class Mail
Voting Party                   David E Larkin                                                 Address Redacted                                                                                                                                                               Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   David E Nelson                                                 P.O. Box 859                            Annandale, MN 55302                                                                                                                    brown@annandalelaw.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         David G Snyder Memorial Vfw Post 8681                          Greater Tampa Bay Area 089              18940 Drayton St                                                 Spring Hill, FL 34610‐7010                                                                              First Class Mail
Voting Party                   David H Sirken                                                 Address Redacted                                                                                                                                                                                                 First Class Mail
Chartered Organization         David Haas Umc                                                 Louisiana Purchase Council 213          P.O. Box 680                                                     Bunkie, LA 71322‐0680                                                                                   First Class Mail
Chartered Organization         David Hellums Community Center                                 Blue Ridge Council 551                  311 Spartanburg St                                               Greenville, SC 29607‐1024                                                                               First Class Mail
Chartered Organization         David Hicks PTO                                                Great Lakes Fsc 272                     100 Helen St                                                     Inkster, MI 48141‐1262                                                                                  First Class Mail
Firm                           David J. Kiyonaga, PLLC                                        David J. Kiyonaga                       510 king Street, Ste 400                                         Alexandria, VA 22314                                                  david@kiyolaw.com                 Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   David L Campbell                                               Address Redacted                                                                                                                                                               Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         David L O Connor Vets Foreign War 9966                         Tecumseh 439                            10750 Musselman Rd                                               New Carlisle, OH 45344‐8293                                                                             First Class Mail
Voting Party                   David L Steward                                                c/o Boy Scouts of America               Attn: Chase Koontz                                               1325 W Walnut Hill Ln             Irving, TX 75015                    chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   David L. Briscoe                                               c/o Boy Scouts of America               Attn: Chase Koontz                                               1325 W Walnut Hill Ln             Irving, TX 75015                    chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           David L. Kramer, P.C.                                          David L. Kramer                         3265 Liberty Road S.                                             Salem, OR 97302                                                       david@kramerlaw.us                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   David M. Clark                                                 c/o Boy Scouts of America               Attn: Chase Koontz                                               1325 W Walnut Hill Ln             Irving, TX 75015                    chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   David Nitz                                                     402 Highland Ave                        Northfield, MN 55057                                                                                                                   mitz402@gmail.com                 Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         David Oren Hunter Elementary School                            Great Lakes Fsc 272                     21320 Roche Rd                                                   Brownstown Twp, MI 48183‐4888                                                                           First Class Mail
Voting Party                   David P. Rumbarger                                             c/o Boy Scouts of America               Attn: Chase Koontz                                               1325 W Walnut Hill Ln             Irving, TX 75015                    chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   David R Glassy                                                 303 Columbia Cir                        Bossier City, LA 71112                                                                                                                 dmglassy87@bellsouth.net          Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           David R. Morabito, Esq.                                        David R. Morabito                       P.O. Box 187, 117 West Commercial St.                            East Rochester, NY 14445                                              david@morabitolawoffice.com       Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   David S Alexander                                              c/o Boy Scouts of America               Attn: Chase Koontz                                               1325 W Walnut Hill Ln             Irving, TX 75015                    chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   David S Burkett                                                1915 Bordeaux Rue                       Northwood, OH 43619‐1649                                                                                                               ds.burkett@prodigy.net            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         David S Miles Post 174                                         Housatonic Council, Bsa 069             43 Oxford Rd                                                     Oxford, CT 06478‐1927                                                                                   First Class Mail
Voting Party                   David Wayne Lauermann                                          26223 Valley Point Ln                   Santa Clarita, CA 91321                                                                                                                dnlauermann@gmail.com             Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   David Weekley                                                  c/o Boy Scouts of America               Attn: Chase Koontz                                               1325 W Walnut Hill Ln             Irving, TX 75015                    chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Davidson Memorial United Methodist Church                      Attn: Beverly Maguffee, Pastor          265 S Buckman St                                                 Shepherdsville, KY 40165                                              revbmaguffee@gmail.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Davidson United Methodist Church                               Attn: Sarah Haynes, Senior Accountant   233 S Main St                                                    P.O. Box 718                      Davidson, NC 28036                  shaynes@davidsonumc.org           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Davidsonville Family Recreation Center                         Baltimore Area Council 220              3358 Davidsonville Rd                                            Davidsonville, MD 21035‐1946                                                                            First Class Mail
Voting Party                   Davidsonville United Methodist Church                          Attn: Church Treasurer                  819 W Central Ave                                                P.O. Box 370                      Davidsonville, MD 21035             dumcoffice@dumc.net               Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Davie Police Dept                                              South Florida Council 084               1230 S Nob Hill Rd                                               Davie, FL 33324‐4201                                                                                    First Class Mail
Voting Party                   Davie United Methodist Church                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Davie Utd Methodist Church                                     South Florida Council 084               6500 SW 47th St 12                                               Davie, FL 33314‐4305                                                                                    First Class Mail
Voting Party                   Davies & Kalwinsky Taff, Esqs                                  Attn: Joel Andrew Davies                143 Rte 70                                                       Toms River, NJ 08755                                                  jdavies@taffanddavies.com         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Daviess County Sheriffs Office                                 Hoosier Trails Council 145 145          101 NE 4th St                                                    Washington, IN 47501‐2964                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 82 of 442
                                                                                   Case 20-10343-LSS                                                        Doc 8171                                     Filed 01/06/22                                            Page 98 of 457
                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                       Service List
                                                                                                                                                                                Served as set forth below

        Description                                                        Name                                                                                                     Address                                                                                                            Email               Method of Service
Chartered Organization         Davila Elementary PTO                                      Sam Houston Area Council 576                           7610 Dahlia St                                          Houston, TX 77012‐3005                                                                                 First Class Mail
Chartered Organization         Davinci Academy                                            Trapper Trails 589                                     2033 Grant Ave                                          Ogden, UT 84401‐0409                                                                                   First Class Mail
Voting Party                   Davis And Kuelthau                                         Bruce Byron Deadman                                    318 S Washington St, Ste 300                            Green Bay, WI 54301                                                                                    First Class Mail
Firm                           Davis Bethune & Jones Law                                  Grant Davis/Ted Ruzicka                                1100 Main St. #2930                                     Kansas City, MO 64105                                               gdavis@dbjlaw.net                  Email
                                                                                                                                                                                                                                                                             Truzicka@dbjlaw.net                First Class Mail
Voting Party                   Davis Community Church                                     Attn: Treasurer                                        412 C St                                                Davis, CA 95616                                                     office@dccpres.org                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Davis Elementary                                           Tukabatchee Area Council 005                           3605 Rosa L Parks Ave                                   Montgomery, AL 36105‐2027                                                                              First Class Mail
Chartered Organization         Davis Elementary PTA                                       Atlanta Area Council 092                               2433 Jamerson Rd                                        Marietta, GA 30066‐1431                                                                                First Class Mail
Chartered Organization         Davis Elementary PTO                                       Chickasaw Council 558                                  516 W Market St                                         Greenwood, MS 38930‐4234                                                                               First Class Mail
Chartered Organization         Davis Island Youth Sailing Foundation                      Greater Tampa Bay Area 089                             301 W Platt St 216                                      Tampa, FL 33606‐2292                                                                                   First Class Mail
Chartered Organization         Davis Junction Utd Methodist Church                        Blackhawk Area 660                                     105 E Chicago Ave                                       Davis Junction, IL 61020‐9412                                                                          First Class Mail
Chartered Organization         Davis Moran Vfw Post 8290                                  Southeast Louisiana Council 214                        28000 Main St                                           Lacombe, LA 70445‐6433                                                                                 First Class Mail
Chartered Organization         Davis Pence Post 69 American Legion                        Mid Iowa Council 177                                   136 W Jefferson St                                      Osceola, IA 50213‐1286                                                                                 First Class Mail
Chartered Organization         Davis Police Dept                                          Golden Empire Council 047                              2600 5th St                                             Davis, CA 95618‐7718                                                                                   First Class Mail
Chartered Organization         Davis Regional Medical Center                              Piedmont Council 420                                   P.O. Box 1823                                           Statesville, NC 28687‐1823                                                                             First Class Mail
Chartered Organization         Davis Seamon Vfw Post 812                                  Yucca Council 573                                      Bldg 452 Pershing Rd                                    Fort Bliss, TX 79906                                                                                   First Class Mail
Chartered Organization         Davisburg Utd Methodist Church                             Great Lakes Fsc 272                                    803 Broadway                                            Davisburg, MI 48350‐2452                                                                               First Class Mail
Chartered Organization         Davison Free Methodist Church                              Water and Woods Council 782                            502 Church St                                           Davison, MI 48423‐1412                                                                                 First Class Mail
Voting Party                   Davison United Methodist Church                            Attn: Michael Hall                                     207 E 3rd St                                            Davison, MI 48423                                                   umchurchoffice.davison@gmail.com   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Davison Utd Methodist Ch Mens Club                         Water and Woods Council 782                            207 E 3rd St                                            Davison, MI 48423‐1405                                                                                 First Class Mail
Voting Party                   Dawn Douville                                              Address Redacted                                                                                                                                                                   Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Dawn M Warren                                              Address Redacted                                                                                                                                                                                                      First Class Mail
Voting Party                   Dawsey United Methodist Church Inc                         Attn: Mark Mcgee                                       2708 S Fleetwood Dr                                     Florence, SC 29505                                                  mark.bmtooling@att.net             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Dawsey United Methodist Church Inc                         Attn: Mark Mcgee                                       711 Fore Rd                                             Florence, SC 29506                                                  mark.bmtooling@att.net             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Dawson County Emergency Services                           Northeast Georgia Council 101                          P.O. Box 576                                            Dawsonville, GA 30534‐0011                                                                             First Class Mail
Chartered Organization         Dawson County Sheriffs Office                              Northeast Georgia Council 101                          19 Tucker Ave                                           Dawsonville, GA 30534‐3431                                                                             First Class Mail
Chartered Organization         Dawson Elementary                                          Capitol Area Council 564                               3001 S 1st St                                           Austin, TX 78704‐6351                                                                                  First Class Mail
Chartered Organization         Dawson Elementary School                                   South Texas Council 577                                6821 Sanders Dr                                         Corpus Christi, TX 78413‐2157                                                                          First Class Mail
Chartered Organization         Dawson Memorial Baptist Church                             Greater Alabama Council 001                            1114 Oxmoor Rd                                          Birmingham, AL 35209‐5320                                                                              First Class Mail
Chartered Organization         Dawson PTO                                                 President Gerald R Ford 781                            125 Elm St                                              Allegan, MI 49010‐9401                                                                                 First Class Mail
Chartered Organization         Dawson Utd Methodist Church                                Quivira Council, Bsa 198                               P.O. Box 16797                                          Wichita, KS 67216‐0797                                                                                 First Class Mail
Voting Party                   Day & Dodds, Llc                                           Attn: Bradford C Dodds                                 3 Bradley Park Ct, Ste A                                Columbus, GA 31904                                                  bdodds@daydodds.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Dayspring United Methodist Church (Tempe, Az)              c/o Clarke Law Firm, Plc                               Attn: Marilee Miller Clarke                             8141 E Indian Bend Rd, Ste 105     Scottsdale, AZ 85250             marilee@clarkelawaz.com            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Dayspring Utd Methodist Church                             Grand Canyon Council 010                               1365 E Elliot Rd                                        Tempe, AZ 85284‐1608                                                                                   First Class Mail
Chartered Organization         Dayton Amateur Radio Assoc                                 Miami Valley Council, Bsa 444                          6619 Bellefontaine Rd                                   Dayton, OH 45424‐3304                                                                                  First Class Mail
Chartered Organization         Dayton Home School Assc                                    Northern Star Council 250                              12000 S Diamond Lake Rd                                 Dayton, MN 55327‐9735                                                                                  First Class Mail
Chartered Organization         Dayton Wranglers                                           Mid‐America Council 326                                General Delivery                                        Dayton, IA 50530                                                                                       First Class Mail
Chartered Organization         Daytona Beach Police Dept                                  Central Florida Council 083                            129 Valor Blvd                                          Daytona Beach, FL 32114‐8169                                                                           First Class Mail
Voting Party                   D‐Ben Security Systems Inc                                 91 Thompson St                                         Newburgh, NY 12550‐4145                                                                                                                                        First Class Mail
Chartered Organization         De Kalb Junction Volunteer Fire Dept                       Longhouse Council 373                                  P.O. Box 290                                            De Kalb Junction, NY 13630‐0290                                                                        First Class Mail
Voting Party                   De Lage Landen Financial Services, Inc                     Attn: Joanna Smith                                     1111 Old Eagle School Rd                                Wayne, PA 19087                                                     jksmith@leasedirect.com            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   De Leon First United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   De Soto Area Council                                       Attn: Jeff Schwab                                      118 W Peach St                                          El Dorado, AR 71730                                                 jeff.schwab@scouting.org           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         De Zavala Elementary Pto                                   Sam Houston Area Council 576                           7521 Ave H                                              Houston, TX 77012‐1125                                                                                 First Class Mail
Chartered Organization         Deadwood Elks Lodge 508                                    Black Hills Area Council 695 695                       P.O. Box 584                                            Deadwood, SD 57732‐0584                                                                                First Class Mail
Chartered Organization         Dean Allen Parent Teacher Organization                     Las Vegas Area Council 328                             8680 W Hammer Ln                                        Las Vegas, NV 89149‐4012                                                                               First Class Mail
Chartered Organization         Dean Lucas American Legion Post 25                         Conquistador Council Bsa 413                           2400 W 7th St                                           Clovis, NM 88101‐2222                                                                                  First Class Mail
Chartered Organization         Dearborn County Sheriffs Dept                              Hoosier Trails Council 145 145                         301 W High St                                           Lawrenceburg, IN 47025‐1911                                                                            First Class Mail
Voting Party                   Dearborn First Umc                                         22124 Garrison                                         Dearborn, MI 48124                                                                                                          pastor@dearbornfirstumc.org        Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Dearborn Hills Methodist Church                            Hoosier Trails Council 145 145                         25365 Stateline Rd                                      Lawrenceburg, IN 47025‐9791                                                                            First Class Mail
Voting Party                   Dearborn Hills United Methodist Church                     Attn: Robert Cannon                                    25365 State Line Rd                                     Lawrenceburg, IN 47025                                              office@dhmc.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Dearborn Police Dept                                       Great Lakes Fsc 272                                    16099 Michigan Ave                                      Dearborn, MI 48126‐2937                                                                                First Class Mail
Chartered Organization         Dearborn Ymca Community Center                             Mobile Area Council‐Bsa 004                            321 N Warren St                                         Mobile, AL 36603‐5938                                                                                  First Class Mail
Chartered Organization         Dearing Utd Methodist Church                               Georgia‐Carolina 093                                   161 Church St                                           Dearing, GA 30808                                                                                      First Class Mail
Voting Party                   Debows Umc                                                 c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Debra Thomas Learning Centers                              W D Boyce 138                                          1711 R T Dunn Dr                                        Bloomington, IL 61701‐8708                                                                             First Class Mail
Voting Party                   Decatur First United Methodist Church                      502 W Monroe St                                        Decatur, IN 46733                                                                                                           steve.austin@inumc.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Decatur First United Methodist Church ‐ Decatur            c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Decatur First Utd Methodist                                Atlanta Area Council 092                               601 E Ponce De Leon Ave                                 Decatur, GA 30030                                                                                      First Class Mail
Chartered Organization         Decatur First Utd Methodist Church                         Atlanta Area Council 092                               300 E Ponce De Leon Ave                                 Decatur, GA 30030‐2616                                                                                 First Class Mail
Voting Party                   Decatur Grace United Methodist Church                      Attn: Sigurd Bjorklund                                 901 N Main St                                           Decatur, IL 62521                                                   sigurdb28@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Decatur Heritage Christian Academy                         Greater Alabama Council 001                            P.O. Box 5659                                           Decatur, AL 35601‐0659                                                                                 First Class Mail
Chartered Organization         Decatur Housing Authority                                  Atlanta Area Council 092                               481 Electric Ave                                        Decatur, GA 30030‐3027                                                                                 First Class Mail
Chartered Organization         Decatur Methodist Church                                   Choctaw Area Council 302                               P.O. Box 325                                            Decatur, MS 39327‐0325                                                                                 First Class Mail
Chartered Organization         Decatur Police Dept                                        Longhorn Council 662                                   1601 S State St                                         Decatur, TX 76234‐2742                                                                                 First Class Mail
Voting Party                   Decatur United Methodist Church                            Attn: William Joseph Conner                            P.O. Box 1255                                           Decatur, TN 37322                                                   pastor@decaturumc.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Decatur United Methodist Church                            Attn: Olin C Thomas                                    268 W Broad St                                          P.O. Box 325                       Decatur, MS 39327                decaturum@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Decker Elementary                                          Capitol Area Council 564                               8500 Decker Ln                                          Austin, TX 78724‐2202                                                                                  First Class Mail
Chartered Organization         Declo 1St Ward ‐ Declo Stake                               Snake River Council 111                                213 W Main St                                           Declo, ID 83323                                                                                        First Class Mail
Chartered Organization         Declo 2nd Ward ‐ Declo Stake                               Snake River Council 111                                213 W Main St                                           Declo, ID 83323                                                                                        First Class Mail
Chartered Organization         Declo Stake‐Almo Ward                                      Snake River Council 111                                2985 S 834 E                                            Almo, ID 83312                                                                                         First Class Mail
Firm                           Decof, Barry, Mega & Quinn, P.C                            Michael P. Quinn, Jr., Esq                             One Smith Hill                                          Providence, RI 02903                                                mpq@decof.com                      Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Decorah Lutheran Church                                    Winnebago Council, Bsa 173                             309 Winnebago St                                        Decorah, IA 52101‐1837                                                                                 First Class Mail
Chartered Organization         Decorah Pac                                                Bay‐Lakes Council 635                                  1225 Sylvan Way                                         West Bend, WI 53095‐5015                                                                               First Class Mail
Chartered Organization         Deep Creek Baptist Church                                  Tidewater Council 596                                  250 Mill Creek Pkwy                                     Chesapeake, VA 23323‐1017                                                                              First Class Mail
Chartered Organization         Deep Creek Community Church                                Southwest Florida Council 088                          1500 Cooper St                                          Punta Gorda, FL 33950‐6209                                                                             First Class Mail
Voting Party                   Deep Creek Umc ‐ Chesapeake                                c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Deep Creek Utd Methodist Church                            Tidewater Council 596                                  141 George Washington Hwy N                             Chesapeake, VA 23323‐1801                                                                              First Class Mail
Chartered Organization         Deep Creek Ward ‐ Filer Stake                              Snake River Council 111                                1001 Fair St                                            Buhl, ID 83316                                                                                         First Class Mail
Chartered Organization         Deep Run Free Will Baptist Church                          East Carolina Council 426                              2390 John Green Smith Rd                                Deep Run, NC 28525                                                                                     First Class Mail
Voting Party                   Deep South Schooner Inc                                    202 William St                                         Key West, FL 33040‐6645                                                                                                                                        First Class Mail
Chartered Organization         Deer Creek Conservation Club                               Sagamore Council 162                                   6203 S 375 E                                            Jonesboro, IN 46938‐9704                                                                               First Class Mail
Chartered Organization         Deer Creek Fire Protection Dist                            Tazewood Fire and Ems                                  P.O. Box 352                                            Deer Creek, IL 61733‐0352                                                                              First Class Mail
Chartered Organization         Deer Lake Day Camp                                         Connecticut Yankee Council Bsa 072                     101 Paper Mill Rd                                       Killingworth, CT 06419‐1349                                                                            First Class Mail
Voting Party                   Deer Lake United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Deer Lake Utd Methodist Church                             Suwannee River Area Council 664                        8013 Deer Lk S                                          Tallahassee, FL 32312                                                                                  First Class Mail
Chartered Organization         Deer Lakes High School                                     Laurel Highlands Council 527                           163 E Union Rd                                          Cheswick, PA 15024‐1719                                                                                First Class Mail
Chartered Organization         Deer Lakes School District                                 Laurel Highlands Council 527                           East Union Rd                                           Cheswick, PA 15024                                                                                     First Class Mail
Chartered Organization         Deer Park Church Of The Nazarene                           Inland Nwest Council 611                               P.O. Box 700                                            Deer Park, WA 99006‐0700                                                                               First Class Mail
Chartered Organization         Deer Park Grace Utd Methodist Church                       Pony Express Council 311                               2522 S Leonard Rd                                       Saint Joseph, MO 64503‐1846                                                                            First Class Mail
Chartered Organization         Deer Park Rotary                                           Inland Nwest Council 611                               P.O. Box 1234                                           Deer Park, WA 99006‐1234                                                                               First Class Mail
Voting Party                   Deer Park Umc                                              Attn: Donna Bastien                                    P.O. Box 9                                              Bailey, CO 80421                                                    dickmcpherson@mac.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Deer Park United Methodist Church                          Attn: Craig Jacobs, Business Manager                   1300 E 13th St                                          Deer Park, TX 77536                                                 craig@dpumc.ordg                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Deer Park United Methodist Church                          1300 E 13th St                                         Deer Park, TX 77536                                                                                                                                            First Class Mail
Chartered Organization         Deer Path School PTO                                       Blackhawk Area 660                                     2211 Crystal Lake Rd                                    Cary, IL 60013‐1470                                                                                    First Class Mail
Chartered Organization         Deer Valley Scouting Assoc                                 Grand Canyon Council 010                               8122 N 29th Dr                                          Phoenix, AZ 85051‐6321                                                                                 First Class Mail
Voting Party                   Deerfield                                                  c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Deerfield Elementary PTO                                   Great Lakes Fsc 272                                    3600 Crooks Rd                                          Rochester Hills, MI 48309‐4159                                                                         First Class Mail
Chartered Organization         Deerfield Fair Assoc Inc                                   Daniel Webster Council, Bsa 330                        34 Stage Rd                                             Deerfield, NH 03037‐1607                                                                               First Class Mail
Chartered Organization         Deerfield Hills Community Center                           Pikes Peak Council 060                                 4290 Deerfield Hills Rd                                 Colorado Springs, CO 80916‐3505                                                                        First Class Mail
Chartered Organization         Deerfield Lutheran Church                                  Glaciers Edge Council 620                              206 S Main St                                           Deerfield, WI 53531‐9537                                                                               First Class Mail
Chartered Organization         Deerfield Pto                                              Heart of America Council 307                           101 Lawrence Ave                                        Lawrence, KS 66049‐1825                                                                                First Class Mail
Voting Party                   Deerfield United Methodist Church                          c/o Mission Foundation of the Ohio River Valley Dist   Attn: James Shriver                                     7388 E Kemper Rd, Ste 1            Cincinnati, OH 45249             wgarrett@clermontcountyohio.gov    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Deerfield Utd Methodist Church                             Santa Fe Trail Council 194                             P.O. Box 200                                            Deerfield, KS 67838‐0200                                                                               First Class Mail
Chartered Organization         Deerfield Utd Methodist Church                             Dan Beard Council, Bsa 438                             2757 W US Hwy 22 and 3                                  Maineville, OH 45039‐8354                                                                              First Class Mail
Chartered Organization         Deerfield Village Community Assn Inc                       Sam Houston Area Council 576                           4045 Deerfield Village Dr                               Houston, TX 77084‐3204                                                                                 First Class Mail
Voting Party                   Deerfield: Christ United Methodist Church                  600 Deerfield Rd                                       Deerfield, IL 60015                                                                                                         info@christumcdeerfield.org        Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Deerwood Elementary School PTO                             Northern Star Council 250                              1480 Deerwood Dr                                        Eagan, MN 55122‐1831                                                                                   First Class Mail
Chartered Organization         Deerwood PTA                                               Sam Houston Area Council 576                           2920 Forest Garden Dr                                   Kingwood, TX 77345‐1409                                                                                First Class Mail
Chartered Organization         Defiance Engine Co 3                                       Patriots Path Council 358                              P.O. Box 1015                                           Hopatcong, NJ 07843‐0815                                                                               First Class Mail
Chartered Organization         Defiance Rotary Club                                       Black Swamp Area Council 449                           P.O. Box 830                                            Defiance, OH 43512‐0830                                                                                First Class Mail
Firm                           DeGaris Wright McCall                                      Harold T McCall                                        5707 Interstate 10 W                                    San Antonio, TX 78201                                               hmccall@dwmlawyers.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Degolyer Dad'S Club                                        Circle Ten Council 571                                 3453 Flair Dr                                           Dallas, TX 75229‐2603                                                                                  First Class Mail
Chartered Organization         Dehesa Charter School                                      San Diego Imperial Council 049                         1441 Montiel Rd, Ste 143                                Escondido, CA 92026‐2242                                                                               First Class Mail
Firm                           Deitrich Law Firm P.C                                      Nicholas Shemik                                        101 John James Audubon Pkwy                             Buffalo, NY 14228                                                   NSHEMIK@CAIIJED.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Dekalb Academy Tech & Envt                                 Atlanta Area Council 092                               1492 Kelton Dr                                          Stone Mountain, GA 30083‐1918                                                                          First Class Mail
Chartered Organization         Dekalb Assoc Of Fire Depts Inc                             Greater Alabama Council 001                            151 14th St Ne                                          Fort Payne, AL 35967‐3102                                                                              First Class Mail
Chartered Organization         Dekalb County Fire And Rescue                              Atlanta Area Council 092                               1950 W Exchange Pl                                      Tucker, GA 30084‐5329                                                                                  First Class Mail
Chartered Organization         Dekalb County Police Explorers                             Atlanta Area Council 092                               1960 W Exchange Pl                                      Tucker, GA 30084‐5329                                                                                  First Class Mail
Chartered Organization         Dekalb Elks Bpoe 765                                       Three Fires Council 127                                209 S Annie Glidden Rd                                  Dekalb, IL 60115‐5818                                                                                  First Class Mail
Chartered Organization         Dekalb Family Moose Center 586                             Three Fires Council 127                                1231 E Lincoln Hwy                                      Dekalb, IL 60115‐3947                                                                                  First Class Mail
Voting Party                   Dekalb First United Methodist Church                       Attn: Pastor: Rev. Amanda Stratton                     P.O. Box 396                                            210 W Austin                       Dekalb, TX 75559                 dekalbpreacher@aol.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Deko Technical And Graphical Svcs Inc                      Central N Carolina Council 416                         1405 Debbie St                                          Kannapolis, NC 28083‐3927                                                                              First Class Mail
Chartered Organization         Del Norte Ambulance                                        Crater Lake Council 491                                2600 Morehead Rd                                        Crescent City, CA 95531‐7904                                                                           First Class Mail
Chartered Organization         Del Norte County Sheriffs Dept                             Crater Lake Council 491                                650 5th St                                              Crescent City, CA 95531‐3918                                                                           First Class Mail
Chartered Organization         Del Rey Parents Club                                       Mt Diablo‐Silverado Council 023                        25 El Camino Moraga                                     Orinda, CA 94563‐4117                                                                                  First Class Mail
Chartered Organization         Del Rio Host Lions Club                                    Texas Swest Council 741                                P.O. Box 420462                                         Del Rio, TX 78842‐0462                                                                                 First Class Mail
Chartered Organization         Del Valle Elementary Lead                                  Capitol Area Council 564                               5400 Ross Rd                                            Del Valle, TX 78617‐3260                                                                               First Class Mail
Chartered Organization         Del Valle Middle School Lead                               Capitol Area Council 564                               5500 Ross Rd                                            Del Valle, TX 78617‐3400                                                                               First Class Mail
Chartered Organization         Delafield American Legion Post 196                         Potawatomi Area Council 651                            333 N Lapham Peak Rd                                    Delafield, WI 53018‐1927                                                                               First Class Mail
Chartered Organization         Delafield Legion Post 196                                  Potawatomi Area Council 651                            333 N Lapham Peak Rd                                    Delafield, WI 53018‐1927                                                                               First Class Mail
Chartered Organization         Deland Elks Lodge 1463                                     Central Florida Council 083                            P.O. Box 567                                            Deland, FL 32721‐0567                                                                                  First Class Mail
Chartered Organization         Deland Police Dept                                         Central Florida Council 083                            219 W Howry Ave                                         Deland, FL 32720‐5423                                                                                  First Class Mail
Voting Party                   Deland Trinity                                             c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Delaney Street Baptist Church                              Central Florida Council 083                            1919 Delaney Ave                                        Orlando, FL 32806‐3005                                                                                 First Class Mail
Chartered Organization         Delano Lions Club                                          Northern Star Council 250                              P.O. Box 252                                            Delano, MN 55328‐0252                                                                                  First Class Mail
Voting Party                   Delanson United Methodist Church                           Attn: Dale F Schneeberger                              P.O. Box 145                                            Delanson, NY 12144                                                  fmaguson@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Delanson United Methodist Church                           Attn: Adelaid Thompson, Treasurer                      P.O. Box 44                                             Quaker St, NY 12141                                                 fmaguson@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Delavan Darien Rotary Club                                 Glaciers Edge Council 620                              P.O. Box 552                                            Delavan, WI 53115‐0552                                                                                 First Class Mail
Voting Party                   Delavan(Wi) United Methodist Church                        Attn: Treasurer                                        213 S 2nd St                                            Delavan, WI 53115                                                   delavanumcwi@gmail.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Delaware County Sheriffs Office                            Simon Kenton Council 441                               149 N Sandusky St                                       Delaware, OH 43015‐1732                                                                                First Class Mail
Chartered Organization         Delaware Elementary School                                 Buffalo Trace 156                                      700 N Garvin St                                         Evansville, IN 47711‐6126                                                                              First Class Mail
Chartered Organization         Delaware River Yacht Club                                  Cradle of Liberty Council 525                          9635 Milnor St                                          Philadelphia, PA 19114‐3109                                                                            First Class Mail
Chartered Organization         Delaware Valley Fish And Game Assoc                        Washington Crossing Council 777                        P.O. Box 17                                             Point Pleasant, PA 18950‐0017                                                                          First Class Mail
Chartered Organization         Delcambre Volunteer Fire Dept                              Evangeline Area 212                                    302 N Railroad St                                       Delcambre, LA 70528‐3022                                                                               First Class Mail
Voting Party                   Deleon Springs Umc                                         c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Delevan Vol. Fire Co                                       Allegheny Highlands Council 382                        P.O. Box 22                                             Delevan, NY 14042‐0022                                                                                 First Class Mail
Chartered Organization         Delhi First Baptist Church                                 Leatherstocking 400                                    21 2nd St                                               Delhi, NY 13753‐1147                                                                                   First Class Mail
Chartered Organization         Delhi Township Fire Dept                                   Dan Beard Council, Bsa 438                             697 Neeb Rd                                             Cincinnati, OH 45233‐4613                                                                              First Class Mail
Chartered Organization         Delhi Township Police                                      Dan Beard Council, Bsa 438                             934 Neeb Rd                                             Cincinnati, OH 45233‐4101                                                                              First Class Mail
Chartered Organization         Delhi Utd Methodist Church                                 Louisiana Purchase Council 213                         P.O. Box 395                                            Delhi, LA 71232‐0395                                                                                   First Class Mail
Chartered Organization         Dellwood Recreation Center                                 Greater St Louis Area Council 312                      10266 W Florissant Ave                                  Saint Louis, MO 63136‐2106                                                                             First Class Mail
Chartered Organization         Delmont Lions Club                                         Westmoreland Fayette 512                               154 Abbe Pl                                             Delmont, PA 15626‐1318                                                                                 First Class Mail
Voting Party                   Deloof Dever Eby Wright Milliman Bourque & Issa, Pllc      Attn: Mark J Eby                                       301 N Main St, 2nd Fl                                   Ann Arbor, MI 48104                                                 mark.eby@eecsb.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Delores T. Aaron Charter School                            Southeast Louisiana Council 214                        10200 Curran Blvd                                       New Orleans, LA 70127‐1304                                                                             First Class Mail
Chartered Organization         Delphi Academy                                             Greater Los Angeles Area 033                           11341 Brainard Ave                                      Lake View Terrace, CA 91342‐6854                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 83 of 442
                                                                                   Case 20-10343-LSS                                       Doc 8171                                                Filed 01/06/22                                              Page 99 of 457
                                                                                                                                                                                Exhibit B
                                                                                                                                                                                 Service List
                                                                                                                                                                          Served as set forth below

        Description                                                         Name                                                                                              Address                                                                                                             Email                Method of Service
Chartered Organization         Delphi Lions Club                                          Sagamore Council 162                    9827 S Evans Rd                                                  Brookston, IN 47923‐8002                                                                                 First Class Mail
Chartered Organization         Delphos St John Catholic Church                            Black Swamp Area Council 449            331 E 2nd St                                                     Delphos, OH 45833‐1704                                                                                   First Class Mail
Chartered Organization         Delran Twp Fire District No 1                              Garden State Council 690                900 S Chester Ave                                                Delran, NJ 08075‐1234                                                                                    First Class Mail
Chartered Organization         Delray Beach Fire Dept                                     Gulf Stream Council 085                 501 W Atlantic Ave                                               Delray Beach, FL 33444‐2555                                                                              First Class Mail
Chartered Organization         Delray Beach Police Dept                                   Gulf Stream Council 085                 300 W Atlantic Ave                                               Delray Beach, FL 33444‐3666                                                                              First Class Mail
Chartered Organization         Delta Area Economic Opportunity Corp                       Greater St Louis Area Council 312       99 Skyview Rd                                                    Portageville, MO 63873‐9180                                                                              First Class Mail
Chartered Organization         Delta Chapter‐Alpha Phi Omega Fraternity                   Chattahoochee Council 091               3130 Auburn University Student Center                            Auburn, AL 36849‐0001                                                                                    First Class Mail
Chartered Organization         Delta Charter School                                       Louisiana Purchase Council 213          300 Lynwood Dr                                                   Ferriday, LA 71334‐2038                                                                                  First Class Mail
Chartered Organization         Delta Clearwater Moose Lodge 911                           Midnight Sun Council 696                P.O. Box 1478                                                    Delta Junction, AK 99737‐1478                                                                            First Class Mail
Voting Party                   Delta Community Presbyterian Church                        1900 Willow Lake Rd                     Discovery Bay, CA 94505                                                                                                                deltachurch@dcpfamily.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Delta County Ambulance District                            Denver Area Council 061                 60 Heinz St                                                      Delta, CO 81416‐3425                                                                                     First Class Mail
Chartered Organization         Delta Lions Club                                           Midnight Sun Council 696                P.O. Box 243                                                     Delta Junction, AK 99737‐0243                                                                            First Class Mail
Chartered Organization         Delta Lions Club                                           Southeast Louisiana Council 214         1725 Hickory Ave                                                 New Orleans, LA 70123‐1603                                                                               First Class Mail
Chartered Organization         Delta Theta Lambda Ch Alpha Phi Alpha                      Greater Alabama Council 001             4301 Oakwood Ave NW                                              Huntsville, AL 35810‐4072                                                                                First Class Mail
Voting Party                   Delta United Methodist Church                              P.O. Box 427                            Delta, CO 81416                                                                                                                        clayaaron@bresnan.net              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Delta Zeta Sorority                                        Central Minnesota 296                   511 8th Ave S                                                    Saint Cloud, MN 56301‐4247                                                                               First Class Mail
Voting Party                   Delton Faith United Methodist Church                       Attn: Treasurer                         P.O. Box 467                                                     Delton, MI 49046                                                      jklewis@mei.net                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Delton Faith United Methodist Church                       Jana K Lewis                            P.O. Box 467                                                     503 Bush St                         Delton, MI 49046                  jklewis@mei.net                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Delton Michigan Fire Club                                  President Gerald R Ford 781             201 E Orchard St                                                 Delton, MI 49046‐9503                                                                                    First Class Mail
Chartered Organization         Deltona Christian Church                                   Central Florida Council 083             960 E Normandy Blvd                                              Deltona, FL 32725‐6458                                                                                   First Class Mail
Chartered Organization         Deltona Fire Station 65                                    Central Florida Council 083             2983 Howland Blvd                                                Deltona, FL 32725‐2902                                                                                   First Class Mail
Chartered Organization         Deltona Presbyterian Church                                Central Florida Council 083             2300 Howland Blvd                                                Deltona, FL 32738‐2984                                                                                   First Class Mail
Chartered Organization         Demetrious Johnson Charitable Foundation                   Greater St Louis Area Council 312       840 Caronne Dr                                                   St Louis, MO 63021                                                                                       First Class Mail
Chartered Organization         Demiguel Elementary School PTO                             Grand Canyon Council 010                3500 S Gillenwater Dr                                            Flagstaff, AZ 86005‐9004                                                                                 First Class Mail
Voting Party                   Deming, Parker, Hoffman, Campbell, & Daly LLC              Elizabeth Nicole Harrison               2200 Century Pkwy Ne, Ste 800                                    Atlanta, GA 30345                                                     nharrison@deminglaw.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Democracy Prep At Agassi Campus                            Las Vegas Area Council 328              1201 W Lake Mead Blvd                                            Las Vegas, NV 89106‐2411                                                                                 First Class Mail
Chartered Organization         Demopolis High Jrotc                                       Black Warrior Council 006               701 US Hwy 80 W                                                  Demopolis, AL 36732‐4113                                                                                 First Class Mail
Chartered Organization         Demorest Fire Dept                                         Northeast Georgia Council 101           P.O. Box 128                                                     Demorest, GA 30535‐0128                                                                                  First Class Mail
Voting Party                   Demotte United Methodist Church                            Attn: Treasurer Demotte Umc             227 N Halleck St                                                 Demotte, IN 46310                                                     demotteumc@yahoo.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Denise Norfleet‐Walker                                     3201 Carlswood Cir                      Windsor Mill, MD 21244                                                                                                                 denise.norfleet@verizon.net        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Denise V. Fitzgerald                                       805 N Chapel Gate Ln                    Baltimore, MD 21229                                                                                                                    bless5227@msn.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Denison First United Methodist Church                      Attn: Rev Michael A Fillmore            113 S 14th St                                                    Denison, IA 51442                                                                                        First Class Mail
Chartered Organization         Denmark Elementary                                         West Tennessee Area Council 559         1945 Denmark Rd                                                  Jackson, TN 38305                                                                                        First Class Mail
Voting Party                   Dennie Memorial United Methodist Church                    Attn: John Samuels, Treasurer           P.O. Box 115                                                     Lebanon Junction, KY 40150                                                                               First Class Mail
Chartered Organization         Dennis Chavez Pta                                          Great Swest Council 412                 7500 Barstow St NE                                               Albuquerque, NM 87109‐4951                                                                               First Class Mail
Voting Party                   Dennis Chookaszian                                         c/o Boy Scouts of America               Attn: Chase Koontz                                               1325 W Walnut Hill Ln               Irving, TX 75015                  dennis@chookaszian.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Dennis Kampa                                               Address Redacted                                                                                                                                                               Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Dennis Langdon                                             c/o Chicago Morgan Park                 11030 S Longwood Dr                                              Chicago, IL 60643                                                     dennislangdon03@gmail.com          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Dennison Elementary PTA                                    Denver Area Council 061                 401 Independence St                                              Lakewood, CO 80226‐1082                                                                                  First Class Mail
Chartered Organization         Denton Avenue School PTA                                   Theodore Roosevelt Council 386          1050 Denton Ave                                                  New Hyde Park, NY 11040‐2202                                                                             First Class Mail
Voting Party                   Denton Community United Methodist Church                   Attn: Chasi Stonehocker, Treasurer      464 Morse Ln                                                     Denton, MT 59430                                                      ahangindstonehocker@hotmail.com    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Denton County Sheriff'S Office                             Longhorn Council 662                    127 N Woodrow Ln                                                 Denton, TX 76205‐6325                                                                                    First Class Mail
Chartered Organization         Denton Creek Elementary PTO                                Circle Ten Council 571                  250 Natches Trce                                                 Coppell, TX 75019‐2062                                                                                   First Class Mail
Chartered Organization         Denton Fire Dept                                           Longhorn Council 662                    332 E Hickory St                                                 Denton, TX 76201‐4272                                                                                    First Class Mail
Voting Party                   Denton's Chapel                                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Dentons Chapel Utd Methodist Church                        Piedmont Council 420                    5358 Dentons Chapel Rd                                           Morganton, NC 28655‐8815                                                                                 First Class Mail
Chartered Organization         Dentons Chapel Utd Methodist Church                        Piedmont Council 420                    5358 Dentons Chapel Rd                                           Morganton, NC 28655‐8815                                                                                 First Class Mail
Chartered Organization         Denver Academy Of Torah                                    Denver Area Council 061                 6825 E Alameda Ave                                               Denver, CO 80224‐1363                                                                                    First Class Mail
Voting Party                   Denver Area Cncl 61                                        10455 W 6th Ave, Ste 100                Denver, CO 80215‐5783                                                                                                                                                     First Class Mail
Chartered Organization         Denver Elk Lodge No 17 Bpolks                              Denver Area Council 061                 2475 W 26th Ave                                                  Denver, CO 80211‐5501                                                                                    First Class Mail
Chartered Organization         Denver Elks                                                Denver Area Council 061                 2475 W 26th Ave                                                  Denver, CO 80211‐5501                                                                                    First Class Mail
Chartered Organization         Denver Elks Lodge 17                                       Denver Area Council 061                 2475 W 26th Ave                                                  Denver, CO 80211‐5501                                                                                    First Class Mail
Chartered Organization         Denver Health Paramedic Div                                Denver Area Council 061                 660 Bannock St                                                   Denver, CO 80204‐4506                                                                                    First Class Mail
Chartered Organization         Denver Lodge 17 Bpo Elks                                   Denver Area Council 061                 2465 W 26th Ave                                                  Denver, CO 80211                                                                                         First Class Mail
Chartered Organization         Denver Tech Center Rotary                                  Denver Area Council 061                 59994 S Holly St, Ste 211                                        Greenwood Village, CO 80111                                                                              First Class Mail
Chartered Organization         Denver Utd Methodist Church Men                            Piedmont Council 420                    3910 N Hwy 16                                                    Denver, NC 28037‐7907                                                                                    First Class Mail
Chartered Organization         Denver Zoological Foundation                               Denver Area Council 061                 2900 E 23rd Ave                                                  Denver, CO 80205‐5735                                                                                    First Class Mail
Chartered Organization         Denville Community Church                                  Patriots Path Council 358               190 Diamond Spring Rd                                            Denville, NJ 07834‐2910                                                                                  First Class Mail
Voting Party                   Denville Community Church United Methodist                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Depauville United Methodist Church                         Attn: Pastor Lalone                     324 John St                                                      Clayton, NY 13624                                                     pastorearllalone@gmail.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Depew & Dehn                                               Russell E Depew, Attorney               201 W Olive                                                      Bloomington, IL 61701                                                 depewlaw@aol.com                   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Deposit Rotary Club                                        Baden‐Powell Council 368                P.O. Box 80                                                      Deposit, NY 13754‐0080                                                                                   First Class Mail
Chartered Organization         Depot Square Pizza                                         Green Mountain 592                      40 Depot Sq                                                      Northfield, VT 05663‐7093                                                                                First Class Mail
Voting Party                   Deppe Law Office                                           Attn: Justin T. Deppe                   614 Main St                                                      P.O. Box 86                         Jewell, IA 50130‐0086             justin_deppe@hotmail.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Dept Of Juvenile Justice                                   Lincoln Heritage Council 205            8300 Westport Rd                                                 Louisville, KY 40242‐3042                                                                                First Class Mail
Chartered Organization         Dept. Of Persons With Disabilities                         Patriots Path Council 358               1 Catholic Charties Way                                          Oak Ridge, NJ 07438                                                                                      First Class Mail
Chartered Organization         Deptford Township Police Dept                              Garden State Council 690                1011 Cooper St                                                   Woodbury, NJ 08096‐3076                                                                                  First Class Mail
Chartered Organization         Derby 2nd Congregational Church                            Housatonic Council, Bsa 069             P.O. Box 395                                                     Derby, CT 06418‐0395                                                                                     First Class Mail
Chartered Organization         Derby Lions Club                                           Green Mountain 592                      P.O. Box 388                                                     Derby, VT 05829‐0388                                                                                     First Class Mail
Chartered Organization         Derby Methodist Church                                     Housatonic Council, Bsa 069             17 5th St                                                        Derby, CT 06418‐1822                                                                                     First Class Mail
Chartered Organization         Derby Ridge Family School Partnership                      Great Rivers Council 653                4000 Derby Ridge Dr                                              Columbia, MO 65202‐4504                                                                                  First Class Mail
Voting Party                   Derby United Methodist Church                              Attn: Council Chair                     17 5th St                                                        Derby, CT 06418                                                       contact@derbyghanaumc.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Derby‐Shelton Rotary Club                                  Housatonic Council, Bsa 069             P.O. Box 224                                                     Shelton, CT 06484‐0224                                                                                   First Class Mail
Chartered Organization         Derek C Lines Dds LLC                                      Great Swest Council 412                 5343 Wyoming Blvd NE, Ste A                                      Albuquerque, NM 87109‐3199                                                                               First Class Mail
Chartered Organization         Derouen‐Moss Post 279 American Legion                      Evangeline Area 212                     16838 E La Hwy 330                                               Erath, LA 70533‐6354                                                                                     First Class Mail
Chartered Organization         Derry Area Middle School                                   Westmoreland Fayette 512                994 N Chestnut St Ext                                            Derry, PA 15627‐7610                                                                                     First Class Mail
Chartered Organization         Derry First Utd Methodist Church                           Westmoreland Fayette 512                311 N Ligonier St                                                Derry, PA 15627‐1632                                                                                     First Class Mail
Chartered Organization         Derry Presbyterian Church                                  New Birth of Freedom 544                248 E Derry Rd                                                   Hershey, PA 17033‐2709                                                                                   First Class Mail
Chartered Organization         Derry‐Salem Elks Lodge 2226                                Daniel Webster Council, Bsa 330         39 Shadow Lake Rd                                                Salem, NH 03079‐1401                                                                                     First Class Mail
Chartered Organization         Derynoski PTO                                              Connecticut Yankee Council Bsa 072      240 Main St                                                      Southington, CT 06489‐2528                                                                               First Class Mail
Chartered Organization         Des Moines Area Community College                          Mid Iowa Council 177                    600 N 2nd Ave W                                                  Newton, IA 50208‐3000                                                                                    First Class Mail
Chartered Organization         Des Moines Elks Lodge 98                                   Mid Iowa Council 177                    5420 NE 12th Ave                                                 Pleasant Hill, IA 50327                                                                                  First Class Mail
Voting Party                   Des Moines United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Des Parents Group                                          Glaciers Edge Council 620               404 N Johnson St                                                 Dodgeville, WI 53533‐1026                                                                                First Class Mail
Chartered Organization         Des Plaines Police Dept                                    Pathway To Adventure 456                1420 Miner St                                                    Des Plaines, IL 60016‐4484                                                                               First Class Mail
Chartered Organization         Des Plains Elks Lodge 1526                                 Northeast Illinois 129                  2744 Grand Ave                                                   Waukegan, IL 60085‐2441                                                                                  First Class Mail
Chartered Organization         Desert Ac                                                  San Diego Imperial Council 049          429 W Main St                                                    El Centro, CA 92243‐3006                                                                                 First Class Mail
Chartered Organization         Desert Cross Lutheran Church                               Grand Canyon Council 010                8600 S Mcclintock Dr                                             Tempe, AZ 85284‐2500                                                                                     First Class Mail
Voting Party                   Desert Foothills United Methodist Church (Az)              c/o Clarke Law Firm, Plc                Attn: Marilee Miller Clarke                                      8141 E Indian Bend Rd, Ste 105      Scottsdale, AZ 85250              marilee@clarkelawaz.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Desert Foothills Utd Methodist Church                      Grand Canyon Council 010                2156 E Liberty Ln                                                Phoenix, AZ 85048‐8150                                                                                   First Class Mail
Chartered Organization         Desert Grace Commty                                        Church of Nazarene                      12134 N Frontage Rd                                              Yuma, AZ 85367‐7865                                                                                      First Class Mail
Chartered Organization         Desert Group Search And Rescue                             W.L.A.C.C. 051                          P.O. Box 1419                                                    Rosamond, CA 93560‐1419                                                                                  First Class Mail
Chartered Organization         Desert Hills Middle School PTO                             Blue Mountain Council 604               1701 S Clodfelter Rd                                             Kennewick, WA 99338‐1266                                                                                 First Class Mail
Chartered Organization         Desert Hills Presbyterian Church                           Grand Canyon Council 010                P.O. Box 874                                                     Carefree, AZ 85377‐0874                                                                                  First Class Mail
Chartered Organization         Desert Hills Presbyterian Church                           Grand Canyon Council 010                24605 N Scottsdale Rd                                            Scottsdale, AZ 85262                                                                                     First Class Mail
Chartered Organization         Desert Hot Springs Police Dept                             California Inland Empire Council 045    65950 Pierson Blvd                                               Desert Hot Springs, CA 92240‐3044                                                                        First Class Mail
Chartered Organization         Desert Son Community Church                                Catalina Council 011                    5250 W Cortaro Farms Rd                                          Tucson, AZ 85742‐9030                                                                                    First Class Mail
Voting Party                   Desert Spring United Methodist Church (Nv)                 c/o Clarke Law Firm, Plc                Attn: Marilee Miller Clarke                                      8141 E Indian Bend Rd, Ste 105      Scottsdale, AZ 85250              marilee@clarkelawaz.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Desert Spring Utd Methodist Church                         Las Vegas Area Council 328              120 N Pavilion Center Dr                                         Las Vegas, NV 89144‐4009                                                                                 First Class Mail
Chartered Organization         Desert Vineyard                                            W.L.A.C.C. 051                          1011 E Ave I                                                     Lancaster, CA 93535‐2119                                                                                 First Class Mail
Chartered Organization         Desert Willow Ward ‐ LDS Rincon Stake                      Catalina Council 011                    8851 E La Palma Dr                                               Tucson, AZ 85747‐5364                                                                                    First Class Mail
Chartered Organization         Deshler American Legion Post 316                           Black Swamp Area Council 449            429 S Stearns Ave                                                Deshler, OH 43516                                                                                        First Class Mail
Voting Party                   Designsensory                                              Attn: Ronnie Rochelle                   Centerpoint Commons Bldg 1                                       1740 Commons Pt Dr                  Knoxville, TN 37932               ron@designsensory.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Desoto Area Lions                                          Gateway Area 624                        65915 Desoto Bluffs Dr                                           De Soto, WI 54624                                                                                        First Class Mail
Chartered Organization         Desoto Community Church Of God                             Greater St Louis Area Council 312       300 W Mineral St                                                 De Soto, MO 63020‐2069                                                                                   First Class Mail
Chartered Organization         Desoto County High School Jrotc                            Southwest Florida Council 088           1710 E Gibson St                                                 Arcadia, FL 34266‐8753                                                                                   First Class Mail
Chartered Organization         Desoto County Sheriff Dept                                 Chickasaw Council 558                   311 W South St                                                   Hernando, MS 38632‐2606                                                                                  First Class Mail
Chartered Organization         Desoto County Sheriff'S Sar Unit                           Chickasaw Council 558                   830 Old Hwy 51 N                                                 Nesbit, MS 38651‐9591                                                                                    First Class Mail
Chartered Organization         Desoto Presbyterian Church                                 Circle Ten Council 571                  212 W Pleasant Run Rd                                            Desoto, TX 75115‐3958                                                                                    First Class Mail
Voting Party                   Desoto United Methodist Church                             6309 N County Rd 500 E                  Muncie, IN 47303                                                                                                                       desotoumc@yahoo.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Desoto Utd Meth Ch,1St Ch God Eaton                        Crossroads of America 160               700 E Harris St                                                  Eaton, IN 47338‐9402                                                                                     First Class Mail
Chartered Organization         Desoto Utd Methodist Church                                Heart of America Council 307            P.O. Box 400                                                     De Soto, KS 66018‐0400                                                                                   First Class Mail
Chartered Organization         Dessel‐Schmidt Post 225                                    Mid‐America Council 326                 121 N Main St                                                    Holstein, IA 51025‐7754                                                                                  First Class Mail
Chartered Organization         Destin Utd Methodist Church                                Gulf Coast Council 773                  200 Beach Dr                                                     Destin, FL 32541‐2404                                                                                    First Class Mail
Chartered Organization         Destiny Christian Academy                                  Atlanta Area Council 092                7400 Factory Shoals Rd                                           Austell, GA 30168‐7634                                                                                   First Class Mail
Chartered Organization         Destiny Church                                             National Capital Area Council 082       1241 S King St                                                   Leesburg, VA 20175‐5096                                                                                  First Class Mail
Chartered Organization         Destiny Temple                                             Old Hickory Council 427                 1131 NE 21st St                                                  Winston Salem, NC 27105‐5309                                                                             First Class Mail
Chartered Organization         Dests Unlimited Nern Ca, Inc                               San Francisco Bay Area Council 028      1989 Santa Rita Rd, Ste C                                        Pleasanton, CA 94566‐4751                                                                                First Class Mail
Chartered Organization         Detroit Country Day School Village Camp                    Great Lakes Fsc 272                     3600 Bradway Blvd                                                Bloomfield Hills, MI 48301‐2412                                                                          First Class Mail
Chartered Organization         Detroit Innovation Academy                                 Great Lakes Fsc 272                     18211 Plymouth Rd                                                Detroit, MI 48228‐1142                                                                                   First Class Mail
Chartered Organization         Detroit Lakes Police Dept                                  Northern Lights Council 429             106 Holmes St E                                                  Detroit Lakes, MN 56501‐3120                                                                             First Class Mail
Chartered Organization         Detroit Police Dept 10Th Precinct                          Great Lakes Fsc 272                     12000 Livernois Ave                                              Detroit, MI 48204‐1330                                                                                   First Class Mail
Chartered Organization         Detroit Police Dept 8Th Precinct                           Great Lakes Fsc 272                     11450 Warwick St                                                 Detroit, MI 48228‐1388                                                                                   First Class Mail
Chartered Organization         Detroit Police Dept Northeastern Dist.                     Great Lakes Fsc 272                     5100 E Nevada St                                                 Detroit, MI 48234‐2307                                                                                   First Class Mail
Chartered Organization         Detroit Police Law Enforcement Explorers                   Great Lakes Fsc 272                     1441 W 7 Mile Rd                                                 Detroit, MI 48203‐4001                                                                                   First Class Mail
Chartered Organization         Detroit Police Law Enforcement Explorers                   Great Lakes Fsc 272                     3500 Conner St                                                   Detroit, MI 48215‐2473                                                                                   First Class Mail
Chartered Organization         Detroit Police Law Enforcement Explorers                   Great Lakes Fsc 272                     18100 Meyers Rd                                                  Detroit, MI 48235‐1493                                                                                   First Class Mail
Chartered Organization         Detroit Police Law Enforecement Explorer                   Great Lakes Fsc 272                     11187 Gratiot Ave                                                Detroit, MI 48213‐1337                                                                                   First Class Mail
Chartered Organization         Detroit Service Learning Academy                           Great Lakes Fsc 272                     21605 W 7 Mile Rd                                                Detroit, MI 48219‐1810                                                                                   First Class Mail
Chartered Organization         Devaney Elementary School Pto                              Crossroads of America 160               1011 S Brown Ave                                                 Terre Haute, IN 47803‐2845                                                                               First Class Mail
Voting Party                   Devang Desai                                               c/o Boy Scouts of America               Attn: Chase Koontz                                               1325 W Walnut Hill Ln               Irving, TX 75015                  chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Developmental Pathways                                     Denver Area Council 061                 325 Inverness Dr S                                               Englewood, CO 80112‐6012                                                                                 First Class Mail
Chartered Organization         Devine Records Management Llc                              Pee Dee Area Council 552                P.O. Box 1691                                                    Dillon, SC 29536‐1691                                                                                    First Class Mail
Chartered Organization         Devon 50 Inc                                               Chester County Council 539              P.O. Box 50                                                      Devon, PA 19333‐0050                                                                                     First Class Mail
Chartered Organization         Devon 50, Inc Grp Interested Citizens                      Chester County Council 539              P.O. Box 50                                                      Devon, PA 19333‐0050                                                                                     First Class Mail
Chartered Organization         Devon Park Restoration Branch                              Heart of America Council 307            824 E Devon St                                                   Independence, MO 64055‐1635                                                                              First Class Mail
Chartered Organization         Devon Rotary Club 6723                                     Connecticut Yankee Council Bsa 072      P.O. Box 421                                                     Milford, CT 06460‐0421                                                                                   First Class Mail
Chartered Organization         Devonshire Elementary PTO                                  Pathway To Adventure 456                1401 Pennsylvania Ave                                            Des Plaines, IL 60018‐1120                                                                               First Class Mail
Chartered Organization         Devtal Learning Center                                     New Providence                          330 Central Ave                                                  New Providence, NJ 07974‐2352                                                                            First Class Mail
Chartered Organization         Dewberry Engineers Inc                                     Greater New York Councils, Bsa 640      132 W 31st St, Rm 301                                            New York, NY 10001‐3473                                                                                  First Class Mail
Chartered Organization         Dewees Rec Center                                          Baltimore Area Council 220              5501 Ivanhoe Ave                                                 Baltimore, MD 21212‐3919                                                                                 First Class Mail
Chartered Organization         Deweews Rec Center                                         Baltimore Area Council 220              5501 Ivanhoe Ave                                                 Baltimore, MD 21212‐3919                                                                                 First Class Mail
Chartered Organization         Dewey Int. Studies                                         Greater St Louis Area Council 312       6746 Clayton Ave                                                 Saint Louis, MO 63139‐3756                                                                               First Class Mail
Chartered Organization         Dewey Middle School                                        Cherokee Area Council 469 469           1 Bulldogger Rd                                                  Dewey, OK 74029‐1601                                                                                     First Class Mail
Chartered Organization         Dewey School PTA                                           Northeast Illinois 129                  1551 Wesley Ave                                                  Evanston, IL 60201‐4121                                                                                  First Class Mail
Chartered Organization         Dewitt Clinton Masonic Lodge                               Cape Cod and Islands Cncl 224           P.O. Box 1772                                                    Sandwich, MA 02563‐1772                                                                                  First Class Mail
Chartered Organization         Dewitt Lions Club                                          Water and Woods Council 782             1306 Sandhill Dr                                                 Dewitt, MI 48820‐9550                                                                                    First Class Mail
Chartered Organization         Dewitt Night Lions                                         c/o Leo Fier                            200 8th St                                                       De Witt, IA 52742‐1732                                                                                   First Class Mail
Chartered Organization         Dewitt Rotary Club                                         Quapaw Area Council 018                 P.O. Box 511                                                     De Witt, AR 72042‐0511                                                                                   First Class Mail
Chartered Organization         Dexter American Legion Post 557                            Southern Shores Fsc 783                 8225 Dexter Chelsea Rd                                           Dexter, MI 48130‐9786                                                                                    First Class Mail
Chartered Organization         Dexter And Caze Elementary Schools                         Buffalo Trace 156                       917 S Dexter Ave                                                 Evansville, IN 47714‐2618                                                                                First Class Mail
Chartered Organization         Dexter Lions Club                                          Southern Shores Fsc 783                 9652 Alice Hill Rd                                               Dexter, MI 48130‐9595                                                                                    First Class Mail
Chartered Organization         Dexter Sunrise Kiwanis                                     Katahdin Area Council 216               74 Grove St                                                      Dexter, ME 04930‐1379                                                                                    First Class Mail
Voting Party                   Dexter United Methodist Church                             Attn: Linda Cope                        P.O. Box 159                                                     Dexter, IA 50070                                                      lcopester@aol.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Dexter United Methodist Church                             Attn: Ingrid Wisner                     20232 County Rt 59                                               Dexter, NY 13634                                                      dexterbrownvilleumc642@gmail.com   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Diablo View Middle School                                  Mt Diablo‐Silverado Council 023         300 Diablo View Ln                                               Clayton, CA 94517‐1600                                                                                   First Class Mail
Chartered Organization         Diamond Archery                                            Quivira Council, Bsa 198                10502 E 26th Cir N                                               Wichita, KS 67226‐4612                                                                                   First Class Mail
Chartered Organization         Diamond Hill Ptso                                          Blue Ridge Council 551                  104 Lake Secession Rd                                            Abbeville, SC 29620‐6417                                                                                 First Class Mail
Voting Party                   Diamond Hill United Methodist Church                       521 E Putnam Ave                        Cos Cob, CT 06807                                                                                                                      officedhumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Diamond Hill Utd Methodist Church                          Greenwich 067                           521 E Putnam Ave                                                 Cos Cob, CT 06807‐2506                                                                                   First Class Mail
Chartered Organization         Diamond In The Rough                                       Northeast Georgia Council 101           2140 Mcgee Rd, Ste C270                                          Snellville, GA 30078‐2979                                                                                First Class Mail
Chartered Organization         Diamond Lake Lutheran Church                               Northern Star Council 250               5760 Portland Ave                                                Minneapolis, MN 55417‐2462                                                                               First Class Mail
Chartered Organization         Diamond Lake School District 76 PTO                        Northeast Illinois 129                  25807 N Diamond Lake Rd                                          Mundelein, IL 60060‐9415                                                                                 First Class Mail
Chartered Organization         Diamond Masonry                                            Las Vegas Area Council 328              9515 Redwood St                                                  Las Vegas, NV 89139‐7312                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                 Page 84 of 442
                                                                                    Case 20-10343-LSS                                           Doc 8171                                       Filed 01/06/22                                                          Page 100 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                          Name                                                                                               Address                                                                                                                   Email                    Method of Service
Chartered Organization         Diamond Spgs El Dorado Firefighter Assoc                    Golden Empire Council 047                       P.O. Box 741                                              Diamond Springs, CA 95619‐0741                                                                                     First Class Mail
Chartered Organization         Diamond Vly Fire Special Svc Distr                          Utah National Parks 591                         1651 W Diamond Valley Dr                                  Saint George, UT 84770‐6013                                                                                        First Class Mail
Voting Party                   Diamondhead United Methodist Church                         Attn: Tim Willis                                5305 Noma Dr                                              Diamondhead, MS 39525                                                       kliphsaints@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diboll First United Methodist Church                        Attn: David Goodwin                             401 S Hines St                                            Diboll, TX 75941                                                            office@fumcdiboll.net                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dibs On Oils LLC                                            Pikes Peak Council 060                          5927 Adamants Dr                                          Colorado Springs, CO 80924‐4201                                                                                    First Class Mail
Firm                           DiCello Levitt Gutlzer LLC                                  Mark DiCello                                    7556 Mentor Ave                                           Mentor, OH 44060                                                            mabramowitz@dicellolevitt.com          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dickerson Park Zoo                                          Ozark Trails Council 306                        3043 N Fort Ave                                           Springfield, MO 65803‐1052                                                                                         First Class Mail
Chartered Organization         Dickey Hill                                                 Baltimore Area Council 220                      5025 Dickey Hill Rd                                       Gwynn Oak, MD 21207‐7239                                                                                           First Class Mail
Chartered Organization         Dickey Memorial Presbyterian Church                         Baltimore Area Council 220                      5112 Wetheredsville Rd                                    Gwynn Oak, MD 21207‐6645                                                                                           First Class Mail
Chartered Organization         Dickinson 2nd Ward Bismarck Nd Stake                        Northern Lights Council 429                     1200 Alder Ave                                            Dickinson, ND 58601                                                                                                First Class Mail
Chartered Organization         Dickinson Branch, Bismarck Nd Stake                         Northern Lights Council 429                     1200 Alder Ave                                            Dickinson, ND 58601                                                                                                First Class Mail
Voting Party                   Dickinson First Umc (Chartering Cub Scouts)                 Attn: Rev Jack Matkin                           200 Fm 517 Rd W                                           Dickinson, TX 77539                                                         revactionjackson@gmail.com             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dickinson Pto                                               Attn: Megan Dorsey: Pto Representative          7110 Greatwood Pkwy                                       Sugar Land, TX 77479‐6275                                                                                          First Class Mail
Chartered Organization         Dickinson Roughrider Kiwanis Club                           Northern Lights Council 429                     10641 Hwy 10                                              Dickinson, ND 58601‐9567                                                                                           First Class Mail
Chartered Organization         Dickson Animal Clinic                                       Piedmont Council 420                            2940 S New Hope Rd                                        Gastonia, NC 28056‐8320                                                                                            First Class Mail
Chartered Organization         Dickson City Commty                                         Ambulance Assoc                                 2 Eagle Ln                                                Dickson City, PA 18519‐1350                                                                                        First Class Mail
Voting Party                   Dickson First United Methodist Church                       Attn: James Peeker, Treasurer                   215 N Main St                                             Dickson, TN 37055                                                           church_f@bellsouth.net                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dickson Fisrt Utd Methodist Church                          Middle Tennessee Council 560                    111 Hwy 70 E                                              Dickson, TN 37055‐2080                                                                                             First Class Mail
Chartered Organization         Die Hard Dice                                               Utah National Parks 591                         521 Village Dr                                            Orem, UT 84058‐5358                                                                                                First Class Mail
Chartered Organization         Diederich Farm LLC                                          Bay‐Lakes Council 635                           901 Mooren Acre Ct                                        De Pere, WI 54115‐7781                                                                                             First Class Mail
Chartered Organization         Dien Hong Youth Foundation                                  Silicon Valley Monterey Bay 055                 3515 Pleasant Row Ct                                      San Jose, CA 95148‐1917                                                                                            First Class Mail
Chartered Organization         Diesen Winkler American Legion Post 325                     Greater St Louis Area Council 312               P.O. Box 243                                              Germantown, IL 62245‐0243                                                                                          First Class Mail
Chartered Organization         Dietrich Ward ‐ Carey Stake                                 Snake River Council 111                         181 S 650 E                                               Dietrich, ID 83324                                                                                                 First Class Mail
Chartered Organization         Dighton Community Church                                    Narragansett 546                                2036 Elm St                                               Dighton, MA 02715                                                                                                  First Class Mail
Chartered Organization         Digital Datacomm                                            Utah National Parks 591                         1284 E 420 S                                              Provo, UT 84606                                                                                                    First Class Mail
Voting Party                   Digital Marketing & Print Solutions                         3305 Wiley Post Rd                              Carrollton, TX 75006‐5113                                                                                                                                                    First Class Mail
Chartered Organization         Dike School Of The Arts                                     Lake Erie Council 440                           2501 E 61st St                                            Cleveland, OH 44104‐1816                                                                                           First Class Mail
Voting Party                   Dike United Methodist Church                                Attn: Treasurer, Dike United Methodist Church   439 Church St                                             Dike, IA 50624                                                              dikemethodist@aol.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dillon Cabinet And Millwork Inc                             Middle Tennessee Council 560                    420 S College St                                          Lebanon, TN 37087‐3922                                                                                             First Class Mail
Voting Party                   Dillon Chapel United Methodist Church                       Attn: Mary Jeffrey                              2441 16th St Rd                                           Huntington, WV 25701                                                                                               First Class Mail
Chartered Organization         Dillon Lions Club                                           Pee Dee Area Council 552                        P.O. Box 1003                                             Dillon, SC 29536‐1003                                                                                              First Class Mail
Chartered Organization         Dillon Road Presbyterian Church                             Suwannee River Area Council 664                 3041 Dillon Rd                                            Thomasville, GA 31757‐2224                                                                                         First Class Mail
Chartered Organization         Dillon Sportsman Center Foundation                          Simon Kenton Council 441                        6051 Jacksontown Rd                                       Newark, OH 43056‐9296                                                                                              First Class Mail
Voting Party                   Dillsburg ‐ Mt. Airy (5196)                                 c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200                 Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dillsburg Lions Club                                        New Birth of Freedom 544                        P.O. Box 264                                              Dillsburg, PA 17019‐0264                                                                                           First Class Mail
Voting Party                   Dilworth                                                    c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200                   Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dilworth Lions Club                                         Northern Lights Council 429                     P.O. Box 116                                              Dilworth, MN 56529‐0116                                                                                            First Class Mail
Chartered Organization         Dilworth Lions Club                                         Northern Lights Council 429                     20 Avon St                                                Dilworth, MN 56529‐1435                                                                                            First Class Mail
Voting Party                   Dilworth Lutheran Church                                    Attn: Elizabeth Hiller                          P.O. Box 474                                              Dilworth, MN 56529                                                          pastorelizabeth@dilworthlutheran.org   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dingmans Ferry Utd Methodist Church                         Hudson Valley Council 374                       115 Myck Rd                                               Dingmans Ferry, PA 18328‐9544                                                                                      First Class Mail
Voting Party                   Dingsman Ferry Umc                                          c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200                   Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dinuba Fire                                                 Sequoia Council 027                             420 E Tulare St                                           Dinuba, CA 93618‐2309                                                                                              First Class Mail
Chartered Organization         Dinuba Law Enforcement                                      Sequoia Council 027                             680 S Alta Ave                                            Dinuba, CA 93618‐2654                                                                                              First Class Mail
Chartered Organization         Dinwiddie Moose Lodge 1993                                  Heart of Virginia Council 602                   7212 Boydton Plank Rd                                     North Dinwiddie, VA 23803‐6704                                                                                     First Class Mail
Voting Party                   Diocesan Council, Inc. Ecd                                  Attn: The Rev Canon Martha Kirkpatrick          913 Wilson Rd                                             Wilmington, DE 19803                                                        mkirkpatrick@delaware.church           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocesan Council, Inc. Ecd                                  Attn: The Rev. Canon Martha Kirkpatrick         913 Wilson Rd                                             Wilmington, DE 19803                                                        mkirkpatrick@delaware.church           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Metuchen Closed Schools (See Attached)              Attn: Andre L Kydala                            54 Old Hwy 22                                             Clinton, NJ 08809                                                                                                  First Class Mail
Voting Party                   Diocese Of Central Florida, Incorporated                    Attn: The Reverend Canon Scott Holcombe         1017 E Robinson St                                        Orlando, FL 32801                                                           scaprani@cfdiocese.org                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of East Tennessee, St John'S Episcopal Church       Attn: Brian Cole                                500 N Roan St                                             Johnson City, TN 37601                                                                                             First Class Mail
Voting Party                   Diocese Of East Tennessee, St Luke'S Episcopal Church       Attn: Brian Cole                                600 Chestnut Ave Se                                       Knoxville, TN 37914                                                                                                First Class Mail
Voting Party                   Diocese Of Easton                                           Attn: Patrick A Collins                         314 North St                                              Easton, MD 21601                                                            Patrick@DioceseofEaston.org            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of Easton                                           Patrick A. Collins                              314 North St                                              Easton, MD 21601                                                            Patrick@DioceseofEaston.org            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of Eau Claire Inc                                   c/o Ruder Ware Llsc                             Attn: Randi Osberg                                        402 Graham Ave, 6th Fl                     Eau Claire, WI 54701             rosberg@ruderware.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of Eau Claire Inc                                   Attn: Treasurer                                 510 S Farwell                                             Eau Claire, WI 54701                                                                                               First Class Mail
Voting Party                   Diocese Of Lafayette‐In‐Indiana                             Attn: Matt Mckillip                             610 Lingle Ave                                            P.O. Box 260                               Lafayette, IN 47902              mmckillip@dol‐in.org                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of Metuchen                                         Attn: Andre L Kydala                            54 Old Hwy 22                                             Clinton, NJ 08809                                                           kydalalaw@aim.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Diocese Of Orange Christ Cathedral                          Orange County Council 039                       13280 Chapman Ave                                         Garden Grove, CA 92840‐4414                                                                                        First Class Mail
Voting Party                   Diocese Of Pennsylvania Of The Episcopal Church             Attn: Rafael X Zahralddin‐Aravena               1105 N Market St, Ste 1700                                Wilmington, DE 19801                                                        rxza@elliottgreenleaf.com              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Diocese Of Phoenix/Serra                                    Grand Canyon Council 010                        400 E Monroe St                                           Phoenix, AZ 85004‐2336                                                                                             First Class Mail
Voting Party                   Diocese Of Rhode Island                                     c/o The Tamposi Law Group, PC                   Attn: Peter N Tamposi                                     159 Main St                                Nashua, NH 03060                 peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Diocese Of Rockville Centre                                 Theodore Roosevelt Council 386                  50 N Park Ave                                             Rockville Centre, NY 11570‐4129                                                                                    First Class Mail
Chartered Organization         Diocese Of Rockville Centre                                 Suffolk County Council Inc 404                  P.O. Box 9023                                             Rockville Centre, NY 11571‐9023                                                                                    First Class Mail
Voting Party                   Diocese Of San Joaquin & Protestant Episcopal Bishop        c/o Ragghianti Freitas LLP                      Attn: Michael O Glass Esq                                 1101 5th Ave, Ste 100                      San Rafael, CA 94901             mglass@rflawllp.com                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of San Joaquin & Protestant Episcopal Bishop        c/o Ragghianti Freitas LLP                      Attn: Michael O. Glass, Esq.                              1101 5th Ave, Ste 100                      San Rafael, CA 94901             mglass@rflawllp.com                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of Southern Virginia                                Attn: Canon Roy Hoffman                         11827 Canon Blvd, Ste 101                                 Newport News, VA 23606                                                      shaynes@diosova.org                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of Southwest Florida Inc                            c/o Stichter Riedel Blain & Postler, PA         Attn: Daniel R Fogarty                                    110 E Madison St, Ste 200                  Tampa, FL 33602                  dfogarty.ecf@srbp.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of Southwest Florida Inc                            c/o Hahn Loeser                                 Attn: Theodore L Tripp                                    2400 1st St, Ste 300                       Fort Myers, FL 33901                                                    First Class Mail
Voting Party                   Diocese Of The Central Gulf Coast ‐ The Episcopal Church    Attn: Scott A Remington                         125 E Intendencia St                                      Pensacola, FL 32502                                                         sremington@clarkpartington.com         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of The Central Gulf Coast ‐ The Episcopal Church    Scott A Remington                               125 E Intendencia St                                      Pensacola, FL 32502                                                         sremington@clarkpartington.com         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of The Central Gulf Coast ‐ The Episcopal Church    c/o Clark Parkington                            Attn: Scott A Remington                                   125 E Intendencia St                       Pensacola, FL 32502              sremington@clarkpartington.com         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of The Central Gulf Coast ‐ The Episcopal Church    Scott A Remington                               125 E Intendencia St                                      Pensacola, FL 32502                                                         sremington@clarkparington.com          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of The Central Gulf Coast ‐ The Episcopal Church    Attn: Rev James Russell Kendrick                P.O. Box 13330                                            Pensacola, FL 32591                                                         russell@diocgc.org                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of The Central Gulf Coast ‐ The Episcopal Church    Attn: Rt Rev James Russell Kendrick             P.O. Box 13330                                            Pensacola, FL 32591                                                         russell@diocgc.org                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of The Central Gulf Coast The Episcopal Church      Attn: Scott A Remington                         125 E Intendencia St                                      Pensacola, FL 32502                                                         sremington@clarkpartington.com         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of The Central Gulf Coast, The Episcopal Church     Attn: Scott A Remington                         125 E Intendencia St                                      Pensacola, FL 32502                                                         sremington@clarkpartington.com         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of The Central Gulf Coast, The Episcopal Church     Attn: Scott Remington                           125 E Intendencia St                                      Pensacola, FL 32502                                                         sremington@clarkpartington.com         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of The Central Gulf Coast, The Episcopal Church     Scott A Remington                               125 E Intendencia St                                      Pensacola, FL 32502                                                         sremington@clarkpartington.com         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of The Central Gulf Coast, The Episcopal Church     Scott A Remington                               125 E Intendencia St                                      Pensacola, FL 32502                                                         sremington@clarkparington.com          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of West Virginia                                    Karen E Klein                                   317 5th Ave                                               South Charleston, WV 25303                                                  kklein@moorebiserlaw.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Diocese Of Winona‐Rochester                                 c/o Brian R Trumbauer                           c/o Bodman Plc                                            1901 St Antoine St, 6th Fl At Ford Field   Detroit, MI 48226                btrumbauer@bodmanlaw.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Diocese Trenton Catholic Ctte, Scouting                     Washington Crossing Council 777                 P.O. Box 5147                                             Trenton, NJ 08638‐0147                                                                                             First Class Mail
Chartered Organization         Diplomat Elementary School                                  Southwest Florida Council 088                   1115 NE 16th Ter                                          Cape Coral, FL 33909‐5394                                                                                          First Class Mail
Voting Party                   Direct Energy Business, Inc                                 P.O. Box 660749                                 Dallas, TX 75266‐0749                                                                                                                                                        First Class Mail
Voting Party                   Directv                                                     P.O. Box 105249                                 Atlanta, GA 30348‐5249                                                                                                                                                       First Class Mail
Voting Party                   Directv                                                     P.O. Box 5006                                   Carol Stream, IL 60197‐5006                                                                                                                                                  First Class Mail
Chartered Organization         Disabled America Veterans Chapter 29                        Longhorn Council 662                            607 E Veterans Memorial Blvd                              Harker Heights, TX 76548‐1390                                                                                      First Class Mail
Chartered Organization         Disabled American Veterans                                  Gulf Stream Council 085                         11 Amherst Ct, Apt A                                      Royal Palm Beach, FL 33411‐7918                                                                                    First Class Mail
Chartered Organization         Disabled American Veterans ‐ Chapter 26                     Pikes Peak Council 060                          6880 Palmer Park Blvd                                     Colorado Springs, CO 80915‐1725                                                                                    First Class Mail
Chartered Organization         Disabled American Veterans 41                               Tidewater Council 596                           P.O. Box 2153                                             Portsmouth, VA 23702                                                                                               First Class Mail
Chartered Organization         Disabled American Veterans Buffalo C62                      Ozark Trails Council 306                        1100 N Maple St                                           Buffalo, MO 65622                                                                                                  First Class Mail
Chartered Organization         Disciple Discovery Center                                   Indian Nations Council 488                      1883 S Cherokee St                                        Catoosa, OK 74015‐3209                                                                                             First Class Mail
Chartered Organization         Disciples Christian Church                                  Circle Ten Council 571                          2001 Independence Pkwy                                    Plano, TX 75075‐3163                                                                                               First Class Mail
Chartered Organization         Disciples Of Christ First Christian                         Prairielands 117                                546 N 6th St                                              Watseka, IL 60970‐1420                                                                                             First Class Mail
Voting Party                   Disciples United Methodist Church                           Attn: Rev Sandra Smith King                     185 Riley Smith Rd                                        Greenville, SC 29615                                                        ssking@umcsc.org                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Disciples Utd Methodist Church                              Iroquois Trail Council 376                      4410 Holley Byron Rd                                      Holley, NY 14470‐9020                                                                                              First Class Mail
Chartered Organization         Discover Church Of Noble Inc                                Last Frontier Council 480                       996 S Front St                                            Noble, OK 73068‐8511                                                                                               First Class Mail
Chartered Organization         Discover Nowhere LLC                                        Bay‐Lakes Council 635                           N3494 State Hwy 55                                        White Lake, WI 54491                                                                                               First Class Mail
Chartered Organization         Discover Of Noble Church Inc                                Last Frontier Council 480                       996 S Front St                                            Noble, OK 73068‐8511                                                                                               First Class Mail
Chartered Organization         Discovery Bay Lions Club                                    Mt Diablo‐Silverado Council 023                 P.O. Box 493                                              Byron, CA 94514‐0493                                                                                               First Class Mail
Chartered Organization         Discovery Charter School Hillpointe                         Las Vegas Area Council 328                      8941 Hillpointe Rd                                        Las Vegas, NV 89134‐0391                                                                                           First Class Mail
Chartered Organization         Discovery Charter School Sandhill                           Las Vegas Area Council 328                      8941 Hillpointe Rd                                        Las Vegas, NV 89134‐0391                                                                                           First Class Mail
Chartered Organization         Discovery Christian Church                                  California Inland Empire Council 045            27555 Alessandro Blvd                                     Moreno Valley, CA 92555‐5601                                                                                       First Class Mail
Chartered Organization         Discovery Church                                            Central Minnesota 296                           700 18th St N                                             Sauk Rapids, MN 56379                                                                                              First Class Mail
Chartered Organization         Discovery Elaementary After School                          Central Florida Council 083                     1275 Glendale Ave Nw                                      Palm Bay, FL 32907‐8067                                                                                            First Class Mail
Chartered Organization         Discovery Elementary Pto                                    Northern Lights Council 429                     3300 43rd Ave S                                           Grand Forks, ND 58201‐5991                                                                                         First Class Mail
Chartered Organization         Discovery Link, Dps Schools                                 Denver Area Council 061                         1617 S Acoma St                                           Denver, CO 80223‐3624                                                                                              First Class Mail
Chartered Organization         Discovery Outdoor Committee                                 Pacific Skyline Council 031                     1150 Chess Dr                                             Foster City, CA 94404‐1107                                                                                         First Class Mail
Chartered Organization         Discovery Point Silverthorn                                 Greater Tampa Bay Area 089                      14281 Odyssey Rd                                          Spring Hill, FL 34609‐0793                                                                                         First Class Mail
Chartered Organization         Discovery School                                            Rio Grande Council 775                          1711 W Alberta Rd                                         Edinburg, TX 78539‐8427                                                                                            First Class Mail
Chartered Organization         Discovery School Of Lancaster                               Palmetto Council 549                            1033 E Meadow Dr, Apt A                                   Lancaster, SC 29720‐5826                                                                                           First Class Mail
Voting Party                   Discovery Umc                                               Attn: Terra Richardson                          5487 Stadium Trace Pkwy                                   Hoover, AL 35244                                                            bamatsr@aol.com                        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Discovery United Methodist Church                           Attn: Chr of Trustees                           13000 Gayton Rd                                           Henrico, VA 23233                                                           office@discoverymethodist.org          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Discovery Utd Methodist Church                              Greater Alabama Council 001                     5487 Stadium Trace Pkwy                                   Hoover, AL 35244‐4547                                                                                              First Class Mail
Chartered Organization         Discovery Utd Methodist Church                              Heart of Virginia Council 602                   13000 Gayton Rd                                           Richmond, VA 23233‐6952                                                                                            First Class Mail
Chartered Organization         Dishman Mcginnis Elementary School PTA                      Lincoln Heritage Council 205                    375 Glen Lily Rd                                          Bowling Green, KY 42101‐2062                                                                                       First Class Mail
Chartered Organization         Disney Elementary                                           Indian Nations Council 488                      11702 E 25th St                                           Tulsa, OK 74129‐5630                                                                                               First Class Mail
Chartered Organization         Disney Pta                                                  Indian Nations Council 488                      11702 E 25th St                                           Tulsa, OK 74129‐5630                                                                                               First Class Mail
Chartered Organization         Disston Memorial Presbyterian Church                        Cradle of Liberty Council 525                   4500 Tyson Ave                                            Philadelphia, PA 19135‐1856                                                                                        First Class Mail
Chartered Organization         Distinctive College Prep                                    Great Lakes Fsc 272                             19360 Harper Ave                                          Harper Woods, MI 48225‐2212                                                                                        First Class Mail
Chartered Organization         Distinctive Lighting                                        Montana Council 315                             2608 W Main St                                            Bozeman, MT 59718‐3943                                                                                             First Class Mail
Chartered Organization         District 2 Fire & Rescue                                    Alamo Area Council 583                          7045 Old Talley Rd                                        San Antonio, TX 78253                                                                                              First Class Mail
Chartered Organization         District Committee Outreach                                 Twin Valley Council Bsa 283                     636 1st Ave N                                             Sleepy Eye, MN 56085‐1004                                                                                          First Class Mail
Chartered Organization         District Iv Law Enforcement Post 1004                       National Capital Area Council 082               5135 Indian Head Hwy                                      Oxon Hill, MD 20745‐2014                                                                                           First Class Mail
Firm                           Dittrich Law Firm, PLLC                                     Brian E. Dittrich                               101 Park Avenue, Ste 1300                                 Oklahoma City, OK 73102                                                     bdittrich@dittrichlawfirm.com          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dive Connections                                            Stonewall Jackson Council 763                   1754 Timberwood Blvd                                      Charlottesville, VA 22911‐7593                                                                                     First Class Mail
Chartered Organization         Diverse Unity Outreach Center                               Water and Woods Council 782                     4330 Pine Grove Ave                                       Fort Gratiot, MI 48059‐3730                                                                                        First Class Mail
Voting Party                   Diversified Security, Inc                                   P.O. Box 18891                                  West Palm Beach, FL 33416‐8891                                                                                                                                               First Class Mail
Chartered Organization         Divine Child Parish Mens Club                               Great Lakes Fsc 272                             25001 Herbert Weier Dr                                    Dearborn, MI 48128‐1045                                                                                            First Class Mail
Chartered Organization         Divine Destiny School                                       Three Harbors Council 636                       3782 N 12th St                                            Milwaukee, WI 53206‐3003                                                                                           First Class Mail
Chartered Organization         Divine Mercy Catholic Church                                Northern Star Council 250                       4 2nd Ave Sw                                              Faribault, MN 55021‐6029                                                                                           First Class Mail
Chartered Organization         Divine Mercy Catholic School                                Northern Star Council 250                       15 3rd Ave Sw                                             Faribault, MN 55021‐6037                                                                                           First Class Mail
Chartered Organization         Divine Mercy Holy Name Society                              Three Harbors Council 636                       695 College Ave                                           South Milwaukee, WI 53172‐1252                                                                                     First Class Mail
Chartered Organization         Divine Mercy Parish                                         Heart of America Council 307                    P.O. Box 267                                              Gardner, KS 66030‐0267                                                                                             First Class Mail
Voting Party                   Divine Mercy Parish                                         Attn: Andre L Kydala                            54 Old Hwy 22                                             Clinton, NJ 08809                                                                                                  First Class Mail
Chartered Organization         Divine Mercy Parish ‐ Rcc                                   Greater New York Councils, Bsa 640              219 Conselyea St                                          Brooklyn, NY 11211‐2516                                                                                            First Class Mail
Chartered Organization         Divine Mercy Parish Corp                                    Connecticut Yankee Council Bsa 072              1620 Whitney Ave                                          Hamden, CT 06517‐2024                                                                                              First Class Mail
Chartered Organization         Divine Mercy Parish St Cecilia'S                            Greater New York Councils, Bsa 640              84 Herbert St                                             Brooklyn, NY 11222‐5047                                                                                            First Class Mail
Voting Party                   Divine Mercy Roman Catholic Congregation Inc                c/o Gallagher Evelius & Jones LLP               Attn: Matthew W Oakey                                     218 N Charles St, Ste 400                  Baltimore, MD 21201              moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Divine Redeemer Catholic Church PTA                         Pikes Peak Council 060                          926 Farragut Ave                                          Colorado Springs, CO 80909‐3724                                                                                    First Class Mail
Chartered Organization         Divine Redeemer Church                                      Susquehanna Council 533                         438 West Ave                                              Mount Carmel, PA 17851‐1102                                                                                        First Class Mail
Chartered Organization         Divine Redeemer Presbyterian Church                         Alamo Area Council 583                          407 N Calaveras                                           San Antonio, TX 78207‐2807                                                                                         First Class Mail
Chartered Organization         Divine Savior Catholic Church                               Golden Empire Council 047                       9079 Greenback Ln                                         Orangevale, CA 95662‐4703                                                                                          First Class Mail
Chartered Organization         Divine Saviour Catholic Church                              Palmetto Council 549                            P.O. Box 341                                              York, SC 29745‐0341                                                                                                First Class Mail
Chartered Organization         Divine Temple Church                                        Bay‐Lakes Council 635                           425 Cherry St                                             Green Bay, WI 54301‐5012                                                                                           First Class Mail
Voting Party                   Diving Equipment & Marketing Assoc                          3750 Convoy St, Ste 310                         San Diego, CA 92111‐3741                                                                                                                                                     First Class Mail
Chartered Organization         Division Street P.T.A.                                      Twin Rivers Council 364                         220 Div St                                                Saratoga Springs, NY 12866‐3021                                                                                    First Class Mail
Chartered Organization         Dix Hills Fire Dept                                         Suffolk County Council Inc 404                  115 E Deer Park Rd                                        Dix Hills, NY 11746‐4818                                                                                           First Class Mail
Voting Party                   Dix Hills United Methodist Church                           400 Deer Park Ave                               Dix Hills, NY 11746                                                                                                                                                          First Class Mail
Chartered Organization         Dix Hills Utd Methodist Church                              Suffolk County Council Inc 404                  400 Deer Park Rd                                          Dix Hills, NY 11746‐5205                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 85 of 442
                                                                                 Case 20-10343-LSS                                            Doc 8171                                                Filed 01/06/22                                                   Page 101 of 457
                                                                                                                                                                                         Exhibit B
                                                                                                                                                                                          Service List
                                                                                                                                                                                   Served as set forth below

        Description                                                       Name                                                                                                         Address                                                                                                              Email                  Method of Service
Voting Party                   Dixboro United Methodist Church                            Attn: Randall Hucks, Treasurer, Dixboro Umc   5221 Church Rd                                                      Ann Arbor, MI 48195                                                  rjhucks@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dixie Elementary School                                    Lincoln Heritage Council 205                  10201 Casalanda Dr                                                  Louisville, KY 40272‐3821                                                                                   First Class Mail
Chartered Organization         Dixie Home & School Club                                   Marin Council 035                             1175 Idylberry Rd                                                   San Rafael, CA 94903‐1131                                                                                   First Class Mail
Chartered Organization         Dixie Utd Methodist Chruch                                 Pine Burr Area Council 304                    111 Dixie Church Rd                                                 Hattiesburg, MS 39401‐0331                                                                                  First Class Mail
Voting Party                   Dixmont United Methodist Church                            P.O. Box 65                                   Dixmont, ME 04932                                                                                                                        mwebber@rsu19.net                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dixon Lions Club                                           Golden Empire Council 047                     960 N Lincoln St                                                    Dixon, CA 95620‐2117                                                                                        First Class Mail
Voting Party                   Dixon Methodist Episcopal Church                           c/o Dixon: First                              Attn: Timothy Mitchell                                              202 S Peoria                      Dixon, IL 61021                    dixon1stsecretary@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dixon Parent Teacher Organization                          Potawatomi Area Council 651                   2400 Pilgrim Square Dr                                              Brookfield, WI 53005‐4420                                                                                   First Class Mail
Chartered Organization         Dixon Police Dept                                          Golden Empire Council 047                     201 W A St                                                          Dixon, CA 95620‐3429                                                                                        First Class Mail
Chartered Organization         Dixon Police Dept                                          Blackhawk Area 660                            306 S Hennepin Ave                                                  Dixon, IL 61021‐3020                                                                                        First Class Mail
Chartered Organization         Dixon School PTO                                           Potawatomi Area Council 651                   2400 Pilgrim Square Dr                                              Brookfield, WI 53005‐4420                                                                                   First Class Mail
Chartered Organization         Dixon Troxell Post 211                                     Mason Dixon Council 221                       P.O. Box 250                                                        Funkstown, MD 21734‐0250                                                                                    First Class Mail
Voting Party                   Dixon United Methodist Church Of Dixon, California         Attn: Catharine M Morris                      209 N Jefferson St                                                  Dixon, CA 95620                                                      dixonumc@att.net                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Diyanet Center Of America                                  National Capital Area Council 082             9704 Good Luck Rd                                                   Lanham, MD 20706‐3302                                                                                       First Class Mail
Chartered Organization         Dkk Consulting                                             National Capital Area Council 082             1510 Inlet Ct                                                       Reston, VA 20190‐4409                                                                                       First Class Mail
Chartered Organization         Dlr Group                                                  Mid‐America Council 326                       6457 Frances St, Ste 200                                            Omaha, NE 68106‐2278                                                                                        First Class Mail
Chartered Organization         Dlt Construction                                           Las Vegas Area Council 328                    6500 W Richmar Ave, Ste 400                                         Las Vegas, NV 89139‐7351                                                                                    First Class Mail
Chartered Organization         Dm Airport Developers Inc                                  Patriots Path Council 358                     8 Airport Rd                                                        Morristown, NJ 07960‐4624                                                                                   First Class Mail
Chartered Organization         Dm Services, Llc                                           Middle Tennessee Council 560                  P.O. Box 51                                                         Burns, TN 37029‐0051                                                                                        First Class Mail
Firm                           DMA Advocates                                              Lena Mitchell                                 2610 W Sam Houstan PKWY                                             Houstan, Texas 77042                                                 lemitchell@thedmaadvocates.com         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dn Mcqueen Post 103 The American Legion                    Southwest Florida Council 088                 2101 Taylor Rd                                                      Punta Gorda, FL 33950‐6254                                                                                  First Class Mail
Voting Party                   Dobbins Memorial Umc ‐ Delanco                             c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dobbins Memorial Utd Methodist Church                      Garden State Council 690                      330 Union Ave                                                       Delanco, NJ 08075‐4656                                                                                      First Class Mail
Chartered Organization         Dobbins Oregon House Impr Fndn                             Golden Empire Council 047                     P.O. Box 302                                                        Oregon House, CA 95962‐0302                                                                                 First Class Mail
Voting Party                   Dobson United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dobson Utd Methodist Church                                Old Hickory Council 427                       800 Tobe Hudson Rd                                                  Dobson, NC 27017‐7694                                                                                       First Class Mail
Chartered Organization         Doby'S Bridge Presbyterian Church                          Palmetto Council 549                          2500 S Dobys Bridge Rd                                              Fort Mill, SC 29715‐7686                                                                                    First Class Mail
Chartered Organization         Doc'S Harley Davidson                                      Bay‐Lakes Council 635                         W2709 State Rd 29                                                   Bonduel, WI 54107                                                                                           First Class Mail
Chartered Organization         Dodge Memorial Christian Church                            Mid‐America Council 326                       3200 Ave C                                                          Council Bluffs, IA 51501‐1962                                                                               First Class Mail
Chartered Organization         Dodge Road Elementary School PTA                           Greater Niagara Frontier Council 380          1900 Dodge Rd                                                       East Amherst, NY 14051‐1304                                                                                 First Class Mail
Chartered Organization         Dodge School Afterschool Program                           Overland Trails 322                           2808 O Flannagan St                                                 Grand Island, NE 68803‐1331                                                                                 First Class Mail
Chartered Organization         Dodson Chapel Utd Methodist Church                         Middle Tennessee Council 560                  4701 Dodson Chapel Rd                                               Hermitage, TN 37076                                                                                         First Class Mail
Chartered Organization         Dodson International Parts Inc                             Heart of America Council 307                  2155 Vermont Rd                                                     Rantoul, KS 66079‐9014                                                                                      First Class Mail
Chartered Organization         Doe Run Presbyterian Church                                Chester County Council 539                    3104 Doe Run Church Rd                                              Coatesville, PA 19320‐4459                                                                                  First Class Mail
Chartered Organization         Dogan El                                                   Sam Houston Area Council 576                  4202 Liberty Rd                                                     Houston, TX 77026‐5824                                                                                      First Class Mail
Chartered Organization         Dogan Middle School PTA                                    East Texas Area Council 585                   1319 Earl Campbell Pkwy                                             Tyler, TX 75701‐9697                                                                                        First Class Mail
Voting Party                   Do‐Gree Fashions, Ltd Usa                                  Do‐Gree Fashions                              3205 Bedford Rd                                                     Montreal, QC H3S 1G3              Canada                                                                    First Class Mail
Chartered Organization         Dolgeville Fire Dept Inc                                   Leatherstocking 400                           20 S Helmer Ave                                                     Dolgeville, NY 13329‐1216                                                                                   First Class Mail
Voting Party                   Dolores Catholic Church Austin TX                          c/o Bsa Coordinator                           Attn: Chancellor                                                    6225 E US 290 Hwy Svrd Eb         Austin, TX 78723                   ron‐walker@austindiocese.org           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Dolores Catholic Church Austin TX                          Attn: Rev Juan Pablo Barragan Mendoza         1111 Montopolis                                                     Austin, TX 78741                                                                                            First Class Mail
Chartered Organization         Dolores Huerta Elementary                                  Indian Nations Council 488                    10620 E 27th St                                                     Tulsa, OK 74129‐7529                                                                                        First Class Mail
Chartered Organization         Dolores Huerta Elementary ‐ Gfwar                          Longhorn Council 662                          3309 W Long Ave                                                     Fort Worth, TX 76106‐5358                                                                                   First Class Mail
Chartered Organization         Domestic Violence Ctr Santa Clarita Vly                    W.L.A.C.C. 051                                P.O. Box 220037                                                     Newhall, CA 91322‐0037                                                                                      First Class Mail
Voting Party                   Dominic Wolters                                            c/o Boy Scouts of America                     Attn: Chase Koontz                                                  1325 W Walnut Hill Ln             Irving, TX 75015                   chase.koontz@scouting.org              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dominican College Of Blauvelt                              Hudson Valley Council 374                     614 Wern Hwy                                                        Blauvelt, NY 10913                                                                                          First Class Mail
Chartered Organization         Dominic'S Painting                                         Silicon Valley Monterey Bay 055               957 Fern Ave                                                        Felton, CA 95018‐9517                                                                                       First Class Mail
Chartered Organization         Dominion Virginia Power                                    Heart of Virginia Council 602                 120 Tredegar St                                                     Richmond, VA 23219‐4306                                                                                     First Class Mail
Chartered Organization         Don Cherry Vfw Post 5083                                   Illowa Council 133                            223 S State St                                                      Geneseo, IL 61254‐1454                                                                                      First Class Mail
Chartered Organization         Don England Assoc                                          Capitol Area Council 564                      9114 Balcones Club Dr                                               Austin, TX 78750‐2768                                                                                       First Class Mail
Chartered Organization         Don Hansen Vfw Post 10796                                  Northern Star Council 250                     135 172nd Ln Ne                                                     Ham Lake, MN 55304‐4773                                                                                     First Class Mail
Chartered Organization         Don Moyer Boys & Girls Club                                Prairielands 117                              201 E Park St                                                       Champaign, IL 61820‐3722                                                                                    First Class Mail
Chartered Organization         Don Rae Vfw Post 8846                                      President Gerald R Ford 781                   1061 Witham Rd                                                      Muskegon, MI 49445‐2415                                                                                     First Class Mail
Voting Party                   Donald Dean Gabhart                                        690 14th Ave Ne                               Sioux Center, IA 51250                                                                                                                   deang@mtcnet.net                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Donald E Lambert                                           12245 N Lakeview Dr                           Baton Rouge, LA 70810                                                                                                                    DLambert15@cox.net                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Donald Eric Smith                                          588 College Grove Rd                          Eagleville, TN 37060                                                                                                                     don.smith@lawsonproducts.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Donald F Walsh Jr Foundation                               Circle Ten Council 571                        12403 Concho Dr                                                     Frisco, TX 75033‐0974                                                                                       First Class Mail
Voting Party                   Donald H Hadley                                            215 Harrison St                               Rockville, MD 20850                                                                                                                                                             First Class Mail
Chartered Organization         Donald J Yacks PTO                                         Great Lakes Fsc 272                           37500 Union Lake Rd                                                 Harrison Twp, MI 48045                                                                                      First Class Mail
Voting Party                   Donald McChesney                                           Address Redacted                                                                                                                                                                       Email Address Redacted                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Donald Plock‐German Valley Umc                             German Valley                                 7 S Main St                                                         German Valley, IL 61039                                              donald.plock57@gmail.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Donald Plock‐Winnebago Umc                                 Attn: Donald Plock                            213 S Elida St                                                      Winnebago, IL 61088                                                  donald.plock57@gmail.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Donegal Presbyterian Church                                Pennsylvania Dutch Council 524                1891 Donegal Springs Rd                                             Mount Joy, PA 17552‐8900                                                                                    First Class Mail
Voting Party                   Doneslson Heights United Methodist Church                  Attn: Pastor & Treasurer                      84 Fairway Dr                                                       Nashville, TN 37214                                                  donelsonheightsumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Donges Bay School PTA                                      Bay‐Lakes Council 635                         2401 W Donges Bay Rd                                                Mequon, WI 53092‐5562                                                                                       First Class Mail
Chartered Organization         Doniphan County Rural Fire District 4                      Pony Express Council 311                      P.O. Box 265                                                        Elwood, KS 66024‐0265                                                                                       First Class Mail
Voting Party                   Doniphan United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Doniphan United Methodist Church                           Attn: Mary Russom                             305 Plum St                                                         Doniphan, MO 63935                                                   doniphanumc@hotmail.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Doniphan Utd Methodist Church                              Overland Trails 322                           304 N 4th St                                                        Doniphan, NE 68832‐9587                                                                                     First Class Mail
Voting Party                   Donna Banks                                                4102 Neal Rd                                  Durham, NC 27705                                                                                                                         dbanks@nccumc.org                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Donna By Design                                            Circle Ten Council 571                        631 Delores Dr                                                      Grand Prairie, TX 75052‐4850                                                                                First Class Mail
Voting Party                   Donnie Carl                                                Address Redacted                                                                                                                                                                                                              First Class Mail
Chartered Organization         Doolittle School P T O                                     Connecticut Rivers Council, Bsa 066           824 Cornwall Ave                                                    Cheshire, CT 06410‐2603                                                                                     First Class Mail
Chartered Organization         Doornink Brunsting 199 American Legion                     c/o Ted De Hoogh                              P.O. Box 62                                                         Sioux Center, IA 51250‐0062                                                                                 First Class Mail
Chartered Organization         Doornink‐Brunsting Post 199 American                       Mid‐America Council 326                       General Delivery                                                    Legion                            Sioux Center, IA 51250                                                    First Class Mail
Chartered Organization         Dora Erickson Elem ‐Beyond The Bell                        Grand Teton Council 107                       940 Garfield St                                                     Idaho Falls, ID 83401‐2900                                                                                  First Class Mail
Chartered Organization         Dora High School                                           Black Warrior Council 006                     330 Glenn C Gant Cir                                                Dora, AL 35062‐4412                                                                                         First Class Mail
Chartered Organization         Dorado Scouting Inc                                        Puerto Rico Council 661                       P.O. Box 1508                                                       Dorado, PR 00646‐1508                                                                                       First Class Mail
Chartered Organization         Doral Academy Of Las Vegas Cactus Campus                   Las Vegas Area Council 328                    9025 W Cactus Ave                                                   Las Vegas, NV 89178‐4045                                                                                    First Class Mail
Chartered Organization         Dorchester County Ems                                      Del Mar Va 081                                829 Fieldcrest Rd                                                   Cambridge, MD 21613‐9423                                                                                    First Class Mail
Chartered Organization         Dorchester County Fire Rescue                              Coastal Carolina Council 550                  101 Ridge St                                                        Saint George, SC 29477‐2486                                                                                 First Class Mail
Chartered Organization         Dorchester Presbyterian Church                             Coastal Carolina Council 550                  204 Botany Bay Ct                                                   North Charleston, SC 29418‐3046                                                                             First Class Mail
Chartered Organization         Dorchester Presbyterian Church                             Coastal Carolina Council 550                  10290 Dorchester Rd                                                 Summerville, SC 29485‐8432                                                                                  First Class Mail
Firm                           Dordulian Law Group                                        Samuel Dordulian                              550 N. Brand Blvd, Ste 1990                                         Glendale, CA 91203                                                   sdordulian@dlawgroup.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Dorothy Calvert                                            716 Grandview Dr                              Auburn, CA 95603                                                                                                                         decalvert@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dorothy Eisenberg Elementary School PTA                    Las Vegas Area Council 328                    7770 W Delhi Ave                                                    Las Vegas, NV 89129‐6749                                                                                    First Class Mail
Chartered Organization         Dorothy Moses PTO                                          Northern Lights Council 429                   1312 Columbia Dr                                                    Bismarck, ND 58504‐6518                                                                                     First Class Mail
Chartered Organization         Dorothy Nolan Home School Assoc                            Twin Rivers Council 364                       221 Jones Rd                                                        Saratoga Springs, NY 12866‐5714                                                                             First Class Mail
Chartered Organization         Dorothy Volunteer Fire Co                                  Jersey Shore Council 341                      P.O. Box 227                                                        Dorothy, NJ 08317‐0227                                                                                      First Class Mail
Chartered Organization         Dorr Lions Club                                            President Gerald R Ford 781                   3103 134th Ave                                                      Hopkins, MI 49328‐9723                                                                                      First Class Mail
Voting Party                   Dorranceton United Methodist Church (079822)               c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dorris Dann Kids Campus                                    Greater Los Angeles Area 033                  4316 Peck Rd                                                        El Monte, CA 91732‐1906                                                                                     First Class Mail
Voting Party                   Dorsey Emmanuel Umc                                        Richard C Oursler                             7760 Waterloo Rd                                                    Jessup, MD 20794                                                     roursler22@hotmail.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Dorsey Emmanuel United Methodist Church                    Attn: Dorsey Emmanuel Umc Trustees            6951 Dorsey Rd                                                      Elkridge, MD 21075                                                   roursler22@hotmail.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dorseyville Alliance Church                                Laurel Highlands Council 527                  3703 Saxonburg Blvd                                                 Pittsburgh, PA 15238‐1065                                                                                   First Class Mail
Voting Party                   Dorton United Methodist Church                             Attn: Amanda Sizemore                         3405 US Hwy 70                                                      Crossville, TN 38557                                                 twinrosebud7@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Dorton United Methodist Church                             Attn: Treasurer                               P.O. Box 1012                                                       Crossville, TN 38557                                                 cindy_b@frontiernet.net                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dossin Elem Sch Parent Teacher Assoc                       Great Lakes Fsc 272                           16650 Glendale St                                                   Detroit, MI 48227‐1210                                                                                      First Class Mail
Chartered Organization         Dostyk American International School                       Transatlantic Council, Bsa 802                37 Vladimirskaya St                                                 Kazakhstan                                                                                                  First Class Mail
Chartered Organization         Dothan Fire Dept                                           Alabama‐Florida Council 003                   600 Columbia Hwy                                                    Dothan, AL 36301‐1762                                                                                       First Class Mail
Chartered Organization         Dotsonville Community Center                               Middle Tennessee Council 560                  3189 Dotsonville Rd                                                 Clarksville, TN 37042‐6953                                                                                  First Class Mail
Voting Party                   Double R Acquisition LLC                                   dba Double R Electric                         4010 Forney Rd                                                      Mesquite, TX 75149‐2721                                                                                     First Class Mail
Voting Party                   Doubs‐Epworth United Methodist Church                      Attn: Martha Houck                            5131 Doubs Rd                                                       Adamstown, MD 21710                                                  doubsepworthumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dougherty Vly San Ramon Rotary                             Mt Diablo‐Silverado Council 023               P.O. Box 239                                                        San Ramon, CA 94583‐0239                                                                                    First Class Mail
Chartered Organization         Douglas ‐ Fire Fighters Assoc                              Heart of New England Council 230              64 Main St                                                          Douglas, MA 01516                                                                                           First Class Mail
Chartered Organization         Douglas ‐ St Denis Catholic Church                         Heart of New England Council 230              23 Manchaug St                                                      Douglas, MA 01516‐2044                                                                                      First Class Mail
Firm                           Douglas & London PC                                        Michael A London                              59 Maiden Lane, 6th Floor                                           New York, NY 10038                                                   kpadden@douglasandlondon.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Douglas Ave Presbyterian Church                            Mid Iowa Council 177                          4601 Douglas Ave                                                    Des Moines, IA 50310‐2742                                                                                   First Class Mail
Voting Party                   Douglas Avenue United Methodist Church                     Attn: Keith Thomas Schnepp, Trustees          501 S Douglas Ave                                                   Springfield, IL 62704                                                daumc@douglasavenue.org                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Douglas Church                                             Louisiana Purchase Council 213                289 Wesley Dr                                                       Ruston, LA 71270‐3288                                                                                       First Class Mail
Chartered Organization         Douglas Commty                                             United Methodist Church                       P.O. Box 240509                                                     Douglas, AK 99824‐0509                                                                                      First Class Mail
Voting Party                   Douglas Community Umc ‐ 1106 Third St, Douglas, AK 99824   c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Douglas Community Umc ‐ Douglas                            c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Douglas County Boys & Girls Club                           Atlanta Area Council 092                      8828 Gurley Rd                                                      Douglasville, GA 30134‐1608                                                                                 First Class Mail
Chartered Organization         Douglas County Sheriff                                     Denver Area Council 061                       4000 Justice Way                                                    Castle Rock, CO 80109‐7802                                                                                  First Class Mail
Chartered Organization         Douglas County Sheriff                                     Mid‐America Council 326                       3601 N 156th St                                                     Omaha, NE 68116‐2025                                                                                        First Class Mail
Chartered Organization         Douglas County Sheriff's Dept                              Atlanta Area Council 092                      8470 Earl D Lee Blvd                                                Douglasville, GA 30134‐2519                                                                                 First Class Mail
Chartered Organization         Douglas County Sheriff's Dept                              Nevada Area Council 329                       P.O. Box 218                                                        Minden, NV 89423‐0218                                                                                       First Class Mail
Voting Party                   Douglas Dittrick                                           c/o Boy Scouts of America                     Attn: Chase Koontz                                                  1325 W Walnut Hill Ln             Irving, TX 75015                   chase.koontz@scouting.org              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Douglas Elementary School PTA                              East Texas Area Council 585                   1508 N Haynie Ave                                                   Tyler, TX 75702‐3483                                                                                        First Class Mail
Chartered Organization         Douglas First Umc‐United Methodist Men                     South Georgia Council 098                     901 Chester Ave N                                                   Douglas, GA 31533‐3607                                                                                      First Class Mail
Voting Party                   Douglas First United Methodist Church                      c/o Cottingham & Porter Pc                    319 Ashley St E                                                     Douglas, GA 31533                                                    willthompson@cottinghamandporter.com   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Douglas Macarthur Elementary Pta                           Crossroads of America 160                     454 E Stop 11 Rd                                                    Indianapolis, IN 46227‐2560                                                                                 First Class Mail
Chartered Organization         Douglas Ward ‐ Lds Sierra Vista Stake                      Catalina Council 011                          2800 E 15th St                                                      Douglas, AZ 85607                                                                                           First Class Mail
Chartered Organization         Douglass PTO                                               Dan Beard Council, Bsa 438                    2627 Park Ave                                                       Cincinnati, OH 45206‐1476                                                                                   First Class Mail
Chartered Organization         Dousman PTO                                                Potawatomi Area Council 651                   226 W Ottawa Ave                                                    Dousman, WI 53118‐9333                                                                                      First Class Mail
Chartered Organization         Dousman‐Ottawa Lions Club                                  Potawatomi Area Council 651                   P.O. Box 303                                                        Dousman, WI 53118‐0303                                                                                      First Class Mail
Chartered Organization         Dove Academy Of Detroit                                    Great Lakes Fsc 272                           20001 Wexford St                                                    Detroit, MI 48234‐1807                                                                                      First Class Mail
Voting Party                   Dove Of The Desert United Methodist Church (Az)            c/o Clarke Law Firm, Plc                      Attn: Marilee Miller Clarke                                         8141 E Indian Bend Rd, Ste 105    Scottsdale, AZ 85250               marilee@clarkelawaz.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dove Science Academy Elem                                  Last Frontier Council 480                     4901 N Lincoln Blvd                                                 Oklahoma City, OK 73105‐3322                                                                                First Class Mail
Chartered Organization         Dover Baptist Church                                       Central N Carolina Council 416                2527 Dover Church Rd                                                Seagrove, NC 27341‐7241                                                                                     First Class Mail
Voting Party                   Dover Bethany United Methodist Church (184531)             c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dover Church                                               The Spirit of Adventure 227                   17 Springdale Ave                                                   Dover, MA 02030‐2352                                                                                        First Class Mail
Chartered Organization         Dover Congregational Church                                Lake Erie Council 440                         2239 Dover Center Rd                                                Westlake, OH 44145‐3156                                                                                     First Class Mail
Voting Party                   Dover First United Methodist Church                        c/o Black Mccuskey Souers & Arbaugh LPa       Attn: Chrysanthe E Vassiles Esq                                     220 Market Ave S, Ste 1000        Canton, OH 44702                   cvassiles@bmsa.com                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Dover First United Methodist Church                        c/o Chrysanthe E Vassiles, Esq                c/o Black Mccuskey Souers & Arbaugh, LPa                            220 Market Ave S, Ste 1000        Canton, OH 44702                   cvassiles@bmsa.com                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dover Kiwanis Club                                         Middle Tennessee Council 560                  P.O. Box 298                                                        Dover, TN 37058‐0298                                                                                        First Class Mail
Chartered Organization         Dover Lions Club                                           New Birth of Freedom 544                      4269 Marlborough Rd                                                 Dover, PA 17315‐3423                                                                                        First Class Mail
Chartered Organization         Dover Lions Club                                           New Birth of Freedom 544                      1880 Poplar Rd                                                      Dover, PA 17315‐3660                                                                                        First Class Mail
Chartered Organization         Dover School District Sau 11                               Daniel Webster Council, Bsa 330               81 Locust St 409                                                    Dover, NH 03820                                                                                             First Class Mail
Voting Party                   Dover/Foxcroft Umc                                         Attn: Jim Mello                               970 Silverlake Rd                                                   Bucksport, ME 04416                                                  mellojim@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Dover/Foxcroft Umc                                         Attn: Barbara L. Clark                        65 Union St                                                         Dover‐Foxcroft, ME 04426                                             barbara112547@gmail.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Dow Chemical International                                 Water and Woods Council 782                   2030 Dow Center                                                     Midland, MI 48674‐1500                                                                                      First Class Mail
Voting Party                   Downers Grove: Faith                                       Attn: Donald Hickok                           432 59th St                                                         Downers Grove, IL 60516                                              office@faithchurchdg.org               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Downey Fire Dept Administration                            Greater Los Angeles Area 033                  11111 Brookshire Ave                                                Downey, CA 90241‐3817                                                                                       First Class Mail
Chartered Organization         Downey Los Amigos Kiwanis                                  Greater Los Angeles Area 033                  P.O. Box 1052                                                       Downey, CA 90240‐0052                                                                                       First Class Mail
Chartered Organization         Downey Police Dept                                         Greater Los Angeles Area 033                  10911 Brookshire Ave                                                Downey, CA 90241‐3847                                                                                       First Class Mail
Voting Party                   Downey United Methodist Church                             Attn: Paul Ashley                             10801 Downey Ave                                                    Downey, CA 90241                                                     paul.ashley@ca.rr.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Downey Weaver Post 34 American Legion                      Narragansett 546                              Rt 2 S County Tr                                                    Richmond, RI 02813                                                                                          First Class Mail
Voting Party                   Downs Memorial United Methodist                            Attn: Steve Mitchell                          6026 Idaho                                                          Oakland, CA 94608                                                    downsumc@aol.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                          Page 86 of 442
                                                                                  Case 20-10343-LSS                                     Doc 8171                                       Filed 01/06/22                                                 Page 102 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                       Name                                                                                          Address                                                                                                          Email              Method of Service
Voting Party                   Downs Umc                                                 Attn: Janice Cuba                        102 S Seminary St                                          P.O. Box 49                       Downs, IL 61736                  office@downsumc.org              Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Downs Utd Methodist Church                                W D Boyce 138                            P.O. Box 49                                                Downs, IL 61736‐0049                                                                                First Class Mail
Chartered Organization         Downsville Christian Church                               Mason Dixon Council 221                  8641 Downsville Pike                                       Williamsport, MD 21795‐4007                                                                         First Class Mail
Chartered Organization         Downtown Kiwanis Club Of Peoria                           W D Boyce 138                            2705 W Wendarm Ct                                          West Peoria, IL 61604‐4956                                                                          First Class Mail
Chartered Organization         Downtown Lions Club Of Corpus Christi                     South Texas Council 577                  P.O. Box 1524                                              Corpus Christi, TX 78403‐1524                                                                       First Class Mail
Chartered Organization         Downtown Post 64                                          Aka David Mckeever Post 64               1770 S Park Ave                                            Buffalo, NY 14220‐1412                                                                              First Class Mail
Chartered Organization         Doyle Hose Co 2                                           Greater Niagara Frontier Council 380     100 Willowlawn Pkwy                                        Buffalo, NY 14206‐3422                                                                              First Class Mail
Chartered Organization         Doyle Insurance Services                                  Sioux Council 733                        P.O. Box 339                                               Minneota, MN 56264‐0339                                                                             First Class Mail
Chartered Organization         Doyle Ryder 21St Century                                  Water and Woods Council 782              1040 N Saginaw St                                          Flint, MI 48503‐1736                                                                                First Class Mail
Chartered Organization         Doyle Ryder Pto                                           Water and Woods Council 782              1040 N Saginaw St                                          Flint, MI 48503‐1736                                                                                First Class Mail
Voting Party                   Doylesburg Umc (177967)                                   c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Doylestown Presbyterian Church                            Attn: John M. Willingham                 127 E Court St                                             Doylestown, PA 18901                                               linayr@dtownpc.org               Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Doylestown United Methodist Church                        Attn: Don Holden                         153 Church St                                              Doylestown, OH 44230                                               dtownumc@brightdsl.net           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Doylestown Utd Methodist Church                           Washington Crossing Council 777          320 E Swamp Rd                                             Doylestown, PA 18901‐4734                                                                           First Class Mail
Voting Party                   Doyline Umc                                               Attn: Kara Greene                        116 Main St                                                Doyline, LA 71023                                                  karagreene@hotmail.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Dp Curtis Trucking                                        Utah National Parks 591                  1314 S Hwy 89                                              Richfield, UT 84701                                                                                 First Class Mail
Voting Party                   Dpc Industries Inc                                        P.O. Box 301023                          Dallas, TX 75303‐1023                                                                                                                                          First Class Mail
Chartered Organization         Dqud 300 Education Foundation                             Greater St Louis Area Council 312        845 E Jackson St                                           Du Quoin, IL 62832‐3871                                                                             First Class Mail
Chartered Organization         Dr Charles P Defuccio Ps 39 Elem Sch                      Northern New Jersey Council, Bsa 333     214 Plainfield Ave                                         Jersey City, NJ 07306‐7006                                                                          First Class Mail
Voting Party                   Dr Francis J Rigney                                       Address Redacted                                                                                                                                                                                        First Class Mail
Chartered Organization         Dr Harvey Goldstone                                       A Professional Corp                      9531 Castine Dr                                            Huntington Beach, CA 92646‐8419                                                                     First Class Mail
Chartered Organization         Dr John Hole School‐Pto                                   Miami Valley Council, Bsa 444            180 W Whipp Rd                                             Dayton, OH 45459‐1856                                                                               First Class Mail
Chartered Organization         Dr N H Jones Elementary Pto                               North Florida Council 087                1900 SW 5th St                                             Ocala, FL 34471‐1861                                                                                First Class Mail
Chartered Organization         Dr Pepper Bottling Co                                     Middle Tennessee Council 560             P.O. Box 819                                               Mc Minnville, TN 37111‐0819                                                                         First Class Mail
Chartered Organization         Dr Phillips Elementary PTA                                Central Florida Council 083              6909 Dr Phillips Blvd                                      Orlando, FL 32819‐4678                                                                              First Class Mail
Chartered Organization         Dr. Charles P Defuccio No. 39                             Northern New Jersey Council, Bsa 333     214 Plainfield Ave                                         Jersey City, NJ 07306‐7006                                                                          First Class Mail
Chartered Organization         Dr. Ethel Allen Elementary School                         Cradle of Liberty Council 525            3200 W Lehigh Ave                                          Philadelphia, PA 19132‐1834                                                                         First Class Mail
Chartered Organization         Dr. Martin Luther King Charter School                     Southeast Louisiana Council 214          1617 Caffin Ave                                            New Orleans, LA 70117‐2909                                                                          First Class Mail
Chartered Organization         Dr. Rosenak'S Optical Options                             Pony Express Council 311                 2229 N Belt Hwy, Ste A                                     Saint Joseph, MO 64506‐2481                                                                         First Class Mail
Chartered Organization         Dragon Hill Lodge                                         Far E Council 803                        7 Yongsandong 4(Sa)‐Ga                                     Yongsan‐Gu                        Korea, Republic Of                                                First Class Mail
Chartered Organization         Drake Ave Christian Church                                Mid Iowa Council 177                     303 Drake Ave                                              Centerville, IA 52544‐2243                                                                          First Class Mail
Chartered Organization         Dramco Tool & Die                                         Overland Trails 322                      502 Claude Rd                                              Grand Island, NE 68803‐4932                                                                         First Class Mail
Chartered Organization         Dranesville Elementary PTA                                National Capital Area Council 082        1515 Powells Tavern Pl                                     Herndon, VA 20170‐2832                                                                              First Class Mail
Voting Party                   Dranesville Umc ‐ Herndon                                 c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Dranesville Utd Methodist Church                          National Capital Area Council 082        1089 Liberty Meeting Ct                                    Herndon, VA 20170‐2369                                                                              First Class Mail
Chartered Organization         Drayton Ave Presbyterian Church                           Great Lakes Fsc 272                      2441 Pinecrest Dr                                          Ferndale, MI 48220‐2714                                                                             First Class Mail
Chartered Organization         Dreaam Franklin                                           Prairielands 117                         910 Pomona Dr                                              Champaign, IL 61822‐2375                                                                            First Class Mail
Chartered Organization         Dream City Church                                         Grand Canyon Council 010                 21000 N 75th Ave                                           Glendale, AZ 85308‐9622                                                                             First Class Mail
Chartered Organization         Dresden Elementary School                                 Atlanta Area Council 092                 2449 Dresden Dr                                            Chamblee, GA 30341‐5218                                                                             First Class Mail
Voting Party                   Dresden First United Methodist Church                     Attn: Brad Jordan                        105 S Church St                                            Dresden, TN 38225                                                  dbjordan95@gmail.com             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Dresden Richmond Umc                                      Attn: Gayle Holden                       103 Weymouth Dr                                            Richmond, ME 04342                                                 gayle.holden62@gmail.com         Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Dresden Richmond Umc                                      Attn: Gayle Holden                       121 Pleasant St                                            Richmond, ME 04357                                                 drumchurch121@gmail.com          Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Dresden Utd Methodist Church                              Muskingum Valley Council, Bsa 467        P.O. Box 111                                               Dresden, OH 43821‐0111                                                                              First Class Mail
Chartered Organization         Dressel Elementary PTO                                    Greater St Louis Area Council 312        10255 Musick Rd                                            Saint Louis, MO 63123‐5064                                                                          First Class Mail
Voting Party                   Dressler's Ridge United Methodist Church(183150)          c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Drew Charter School PTA                                   Atlanta Area Council 092                 301 E Lake Blvd Se                                         Atlanta, GA 30317‐3152                                                                              First Class Mail
Firm                           Drew Cooper & Anding                                      Stephen R. Drew                          80 Ottawa Ave. NW, Ste. 200                                Grand Rapids, MI 49503                                             sdrew@dca‐lawyers.com            Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Drew Umc                                                  Ann M Reilly                             2103 Kings Way                                             Carmel, NY 10512                                                   areilly2103@gmail.com            Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Drew Umc                                                  Attn: Drew United Methodist Church       28 Glenida Ave                                             Carmel, NY 10512                                                   areilly2103@gmail.com            Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Drew Umc ‐ Port Jervis                                    c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Drew United Methodist Church                              Attn: Donna‐Lov Salatino                 28 Gleneida Ave                                            Carmel, NY 10512                                                   Drewumc1@gmail.com               Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Drew Utd Methodist Church                                 Westchester Putnam 388                   P.O. Box 900                                               Carmel, NY 10512‐0900                                                                               First Class Mail
Voting Party                   Drexel Hill                                               c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Drexel Hill Utd Methodist Church                          Cradle of Liberty Council 525            600 Burmont Rd                                             Drexel Hill, PA 19026‐3821                                                                          First Class Mail
Firm                           Dreyer Boyajian LLP                                       Joshua R. Friedman, Esq.                 75 Columbia Street                                         Albany, NY 12210                                                   jfriedman@dblawny.com            Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Driggs Elementary School                                  Connecticut Rivers Council, Bsa 066      77 Woodlawn Ter                                            Waterbury, CT 06710‐1721                                                                            First Class Mail
Chartered Organization         Dripping Springs Presbyterian                             Capitol Area Council 564                 26650 Ranch Rd 12                                          Dripping Springs, TX 78620‐4969                                                                     First Class Mail
Chartered Organization         Dripping Springs Utd Methodist Church                     Capitol Area Council 564                 28900 Ranch Rd 12                                          Dripping Springs, TX 78620                                                                          First Class Mail
Chartered Organization         Driver Ruritan Club                                       Colonial Virginia Council 595            Berea                                                      Suffolk, VA 23435                                                                                   First Class Mail
Voting Party                   Driver Rurtian Club 352                                   Attn: William Wulfkuhle                  1016 Erin Dr                                               Suffolk, VA 23435                                                  bill@fornazor.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Firm                           Drivon Turner & Waters, PLC                               Davey L. Turner                          215 N. San Joaquin St.                                     Stockton, CA 95202                                                 dturner@drivonlaw.com            Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Drug Enforcement Admininstation                           Greater New York Councils, Bsa 640       49 10th Ave                                                New York, NY 10014                                                                                  First Class Mail
Chartered Organization         Drug Enforcement Administration                           Greater New York Councils, Bsa 640       99 10th Ave                                                New York, NY 10011‐4713                                                                             First Class Mail
Voting Party                   Drug Testing Services Inc                                 dba Keys Consortium                      93911 Overseas Hwy, Ste 3                                  Tavernier, FL 33070‐3025                                                                            First Class Mail
Voting Party                   Druid Hills United Methodist Church                       Attn: Diane M Housler                    4001 University Blvd E                                     Tuscaloosa, AL 35404                                               diane.housler@umcna.org          Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Drummond Fire Dept                                        Voyageurs Area 286                       P.O. Box 194                                               Drummond, WI 54832‐0194                                                                             First Class Mail
Chartered Organization         Drummond Montessori                                       Pathway To Adventure 456                 1845 W Cortland St                                         Chicago, IL 60622‐1036                                                                              First Class Mail
Chartered Organization         Dry Creek Elementary Ptco                                 Denver Area Council 061                  7686 E Hinsdale Ave                                        Centennial, CO 80112‐1714                                                                           First Class Mail
Chartered Organization         Dry Creek Ward Antelope Stake                             Golden Empire Council 047                3621 Elverta Rd                                            Antelope, CA 95843                                                                                  First Class Mail
Chartered Organization         Dryair                                                    Ore‐Ida Council 106 ‐ Bsa 106            1658 N Watson Pl                                           Eagle, ID 83616‐7016                                                                                First Class Mail
Chartered Organization         Dryden Four Inc                                           Chippewa Valley Council 637              P.O. Box 264                                               Shell Lake, WI 54871‐0264                                                                           First Class Mail
Chartered Organization         Dryden Utd Methodist Church                               Water and Woods Council 782              5400 Main St                                               Dryden, MI 48428‐9383                                                                               First Class Mail
Chartered Organization         Dryden Vfw Post 8158                                      Baden‐Powell Council 368                 2272 Dryden Rd                                             Dryden, NY 13053‐9712                                                                               First Class Mail
Chartered Organization         Dryden Volunteer Fire Auxiliaries                         Water and Woods Council 782              5393 Main St                                               Dryden, MI 48428‐9784                                                                               First Class Mail
Chartered Organization         Dryden Volunteer Fire Dept                                Sequoyah Council 713                     P.O. Box 206                                               Dryden, VA 24243‐0206                                                                               First Class Mail
Chartered Organization         Dryland Utd Church Of Christ                              Minsi Trails Council 502                 4415 Newburg Rd                                            Nazareth, PA 18064‐9672                                                                             First Class Mail
Voting Party                   Ds Services Of America Inc                                dba Crystal Springs                      P.O. Box 660579                                            Dallas, TX 75266‐0579                                                                               First Class Mail
Chartered Organization         Du Bridge Project ‐ Columbine                             Denver Area Council 061                  2390 W Cedar Ave                                           Denver, CO 80223‐1757                                                                               First Class Mail
Chartered Organization         Du Bridge Project ‐ Lincoln Park                          Denver Area Council 061                  1265 Mariposa St                                           Denver, CO 80204‐3586                                                                               First Class Mail
Voting Party                   Duane Richard Partin                                      3325 Amber Dr                            Wilmington, NC 28409                                                                                                          drpartin1@gmail.com              Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Dublin Baptist Church                                     Simon Kenton Council 441                 7195 Coffman Rd                                            Dublin, OH 43017‐1033                                                                               First Class Mail
Chartered Organization         Dublin Commty                                             Church United Church of Christ           81 W Bridge St                                             Dublin, OH 43017‐1167                                                                               First Class Mail
Chartered Organization         Dublin Community Church                                   Simon Kenton Council 441                 81 W Bridge St                                             Dublin, OH 43017‐1167                                                                               First Class Mail
Chartered Organization         Dublin Elementary Pfc                                     San Francisco Bay Area Council 028       7997 Vomac Rd                                              Dublin, CA 94568‐1409                                                                               First Class Mail
Voting Party                   Dublin First ‐ Dublin                                     c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Dublin First Utd Methodist Church                         Central Georgia Council 096              305 W Gaines St                                            Dublin, GA 31021‐6111                                                                               First Class Mail
Chartered Organization         Dublin Rotary Club                                        Texas Trails Council 561                 719 Hurt St                                                Dublin, TX 76446‐1321                                                                               First Class Mail
Voting Party                   Dublin United Methodist Church                            Attn: Rev Donald Shelor                  P.O. Box 577                                               Dublin, VA 24084                                                   shelordon@gmail.com              Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Dublin United Methodist Church Inc                        Attn: George Rockey                      1528 Whiteford Rd                                          Street, MD 21154                                                   gwr@zoominternet.net             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Dublin Volunteer Fire Dept                                Cape Fear Council 425                    324 3rd St                                                 Dublin, NC 28332                                                                                    First Class Mail
Chartered Organization         Dubois Lions Club                                         Greater Wyoming Council 638              P.O. Box 777                                               Dubois, WY 82513‐0777                                                                               First Class Mail
Voting Party                   Duboistown United Methodist Church (23‐222‐7187)          c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Dubuque County Conservation Board                         Northeast Iowa Council 178               13606 Swiss Valley Rd                                      Peosta, IA 52068‐9407                                                                               First Class Mail
Chartered Organization         Dubuque Fighting Saints                                   Northeast Iowa Council 178               1800 Admiral Sheehy Dr                                     Dubuque, IA 52001‐2379                                                                              First Class Mail
Chartered Organization         Dubuque Police Dept                                       Northeast Iowa Council 178               P.O. Box 875                                               Dubuque, IA 52004‐0875                                                                              First Class Mail
Chartered Organization         Duck Creek Historical Society                             Del Mar Va 081                           P.O. Box 335                                               Smyrna, DE 19977‐0335                                                                               First Class Mail
Chartered Organization         Dudley ‐ St Anthony Of Padua R.C. Parish                  Heart of New England Council 230         22 Dudley Hill Rd                                          Dudley, MA 01571‐5922                                                                               First Class Mail
Chartered Organization         Due West Ar Presbyterian Church                           Blue Ridge Council 551                   P.O. Box 397                                               Due West, SC 29639‐0397                                                                             First Class Mail
Chartered Organization         Due West Ar Presbyterian Church                           Blue Ridge Council 551                   Plaxco Scout Hut                                           Hayes St                          Due W, SC 29639                                                   First Class Mail
Voting Party                   Due West Umc ‐ Marietta                                   c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Due West Utd Methodist Church                             Atlanta Area Council 092                 3956 Due West Rd Nw                                        Marietta, GA 30064‐1020                                                                             First Class Mail
Chartered Organization         Dueber Elementary School                                  Buckeye Council 436                      645 Dueber Ave SW                                          Canton, OH 44706‐1214                                                                               First Class Mail
Chartered Organization         Dueber Utd Methodist Church                               Buckeye Council 436                      645 Dueber Ave SW                                          Canton, OH 44706‐1210                                                                               First Class Mail
Voting Party                   Duff Street United Methodist Church                       Attn: Church Treasurer                   400 Duff Ave                                               Clarksburg, WV 26301                                               duffstreet@gmail.com             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Dufur Christian Church                                    Cascade Pacific Council 492              P.O. Box 425                                               Dufur, OR 97021‐0425                                                                                First Class Mail
Chartered Organization         Duggan School PTO                                         Connecticut Rivers Council, Bsa 066      38 W Porter St                                             Waterbury, CT 06708‐3814                                                                            First Class Mail
Voting Party                   Dugger, Thomas                                            Address Redacted                                                                                                                                                       Email Address Redacted           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Duke Energy Carolinas                                     c/o Haynsworth Sinkler Boyd Pa           Attn: Mary M Caskey                                        P.O. Box 11889                    Columbia, SC 29211               mcaskey@hsblawfirm.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Duke Energy Carolinas                                     550 S Tryon St                           DEC45A                                                     Charlotte, NC 28202                                                lynn.colombo@duke‐energy.com     Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Duke Memorial United Methodist Church, Inc.               Attn: Kathryn Bradley                    504 W Chapel Hill St                                       Durham, NC 27701                                                   kbradley@law.duke.edu            Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Dulin Umc ‐ Falls Church                                  c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Dulles Community Church                                   National Capital Area Council 082        4200 Lafayette Center Dr, Ste T                            Chantilly, VA 20151‐1241                                                                            First Class Mail
Chartered Organization         Dulles International Airport Rotary Club                  National Capital Area Council 082        22214 Rock Hill Rd                                         Herndon, VA 20147                                                                                   First Class Mail
Chartered Organization         Dulles Rotary                                             National Capital Area Council 082        P.O. Box 554                                               Herndon, VA 20172‐0554                                                                              First Class Mail
Chartered Organization         Dulles Rotary Club                                        National Capital Area Council 082        P.O. Box 554                                               Herndon, VA 20172‐0554                                                                              First Class Mail
Voting Party                   Duluth First United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Duluth First United Methodist Church                      3208 Duluth Hwy                          Duluth, GA 30096                                                                                                                                               First Class Mail
Chartered Organization         Duluth First Utd Methodist Church                         Atlanta Area Council 092                 P.O. Box 699                                               Duluth, GA 30096‐0699                                                                               First Class Mail
Chartered Organization         Duluth Utd Methodist                                      Atlanta Area Council 092                 3208 Duluth Hwy 120 120                                    Duluth, GA 30096‐3653                                                                               First Class Mail
Chartered Organization         Duluth Utd Methodist Church                               Atlanta Area Council 092                 3208 Duluth Hwy 120 120                                    Duluth, GA 30096‐3653                                                                               First Class Mail
Firm                           Dumas & Vaughn, LLC                                       Gilion Dumas & Ashley Vaughn             3835 NE Hancock St., Ste. GLB                              Portland, OR 97212                                                 gilion@dumasandvaughn            Email
                                                                                                                                                                                                                                                                ashley@dumasandvaughn.com        First Class Mail
Chartered Organization         Dumas Fire Dept                                           Golden Spread Council 562                106 N Bliss Ave                                            Dumas, TX 79029‐2705                                                                                First Class Mail
Chartered Organization         Dumas First Presbyterian Church                           Golden Spread Council 562                P.O. Box 1118                                              Dumas, TX 79029‐1118                                                                                First Class Mail
Voting Party                   Dumas First United Methodist Church                       Attn: Shannon Moreland                   230 Court St                                               Dumas, AR 71639                                                    lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Dumfries Umc                                              c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Dunbar Elementary                                         Greater St Louis Area Council 312        1900 Tudor Ave                                             East Saint Louis, IL 62207‐2150                                                                     First Class Mail
Chartered Organization         Dunbar Elementary PTO                                     Greater St Louis Area Council 312        1415 N Garrison Ave                                        Saint Louis, MO 63106‐1506                                                                          First Class Mail
Chartered Organization         Dunbar High School                                        Southwest Florida Council 088            3800 Edison Ave                                            Fort Myers, FL 33916‐4708                                                                           First Class Mail
Voting Party                   Dunbar United Methodist                                   Attn: Elizabeth Tolley, Treasurer Dumc   1401 Myers Ave                                             Dunbar, WV 25064                                                   dunbarumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Duncan Chapel Fire District                               Blue Ridge Council 551                   5111 Old Buncombe Rd                                       Greenville, SC 29617‐8205                                                                           First Class Mail
Chartered Organization         Duncan Creek Properties Llc                               Northeast Georgia Council 101            3615 Braselton Hwy, Ste 103                                Dacula, GA 30019‐5907                                                                               First Class Mail
Chartered Organization         Duncan Falls Elementary P.T.O.                            Muskingum Valley Council, Bsa 467        397 Oak St                                                 Duncan Falls, OH 43734‐9704                                                                         First Class Mail
Chartered Organization         Duncan Falls Presbyterian Church                          Muskingum Valley Council, Bsa 467        376 Main St                                                Duncan Falls, OH 43734‐9763                                                                         First Class Mail
Voting Party                   Duncan Hodge                                              2321 Tucker Lane                         Gwynn Oak, MD 21207                                                                                                           duncanhodge1@gmail.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Duncan Memorial Umc ‐ Berryville                          c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Duncan Memorial Umc, 201 Henry St, Ashland, VA 23005      c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Duncan Memorial United Methodist Church                   Attn: Rev. Edward Rossiter Chellis       1203 Saville St                                            Georgetown, SC 29440                                               rosschellis@yahoo.com            Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Duncan Memorial United Methodist Church                   Attn: Gary Fultz                         210 E Main St                                              Berryville, VA 22611                                               admin@dmumc.org                  Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Duncan Memorial United Methodist Church                   Edward Rossiter Chellis                  901 Highmarket St                                          Georgetown, SC 29440                                                                                First Class Mail
Chartered Organization         Duncan Memorial Utd Methodist                             Heart of Virginia Council 602            201 Henry St                                               Ashland, VA 23005‐1607                                                                              First Class Mail
Chartered Organization         Duncan Memorial Utd Methodist Church                      Coastal Carolina Council 550             901 Highmarket St                                          Georgetown, SC 29440‐3527                                                                           First Class Mail
Voting Party                   Duncan‐Parnell Corporate                                  P.O. Box 35649                           Charlotte, NC 28235‐5649                                                                                                                                       First Class Mail
Chartered Organization         Duncanville Church Of Christ                              Circle Ten Council 571                   P.O. Box 382000                                            Duncanville, TX 75138‐2000                                                                          First Class Mail
Chartered Organization         Duncanville Church Of Christ                              Circle Ten Council 571                   P.O. Box 382000                                            Duncanville, TX 75138‐2000                                                                          First Class Mail
Chartered Organization         Dundee Area Council Of Churches                           Seneca Waterways 397                     67 Main St                                                 Dundee, NY 14837‐1052                                                                               First Class Mail
Chartered Organization         Dundee Elementary School Pta                              Mid‐America Council 326                  310 N 51st St                                              Omaha, NE 68132‐2846                                                                                First Class Mail
Chartered Organization         Dundee Presbyterian Church                                Mid‐America Council 326                  5312 Underwood Ave                                         Omaha, NE 68132‐2148                                                                                First Class Mail
Chartered Organization         Dundee Sportsmans Club                                    Southern Shores Fsc 783                  2300 Plank Rd                                              Dundee, MI 48131‐9741                                                                               First Class Mail
Chartered Organization         Dundee Township Lions Club                                Three Fires Council 127                  P.O. Box 273                                               Dundee, IL 60118‐0273                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 87 of 442
                                                                                 Case 20-10343-LSS                                    Doc 8171                                       Filed 01/06/22                                                     Page 103 of 457
                                                                                                                                                                        Exhibit B
                                                                                                                                                                         Service List
                                                                                                                                                                  Served as set forth below

        Description                                                       Name                                                                                        Address                                                                                                              Email              Method of Service
Chartered Organization         Dunellen Sponsors Club Inc                               Patriots Path Council 358               Pulaski St                                                 Dunellen, NJ 08812                                                                                      First Class Mail
Voting Party                   Dunkerton First United Methodist Church                  Attn: James Beranek                     3206 Tucson Dr                                             Cedar Falls, IA 50613                                                  jimberanek@gmail.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Dunkerton First United Methodist Church                  Attn: Julie Heiple                      6317 E Gresham Rd                                          Dunkerton, IA 50626                                                                                     First Class Mail
Chartered Organization         Dunkirk Albany Lions Club                                Crossroads of America 160               335 Lincoln Ave                                            Dunkirk, IN 47336‐1162                                                                                  First Class Mail
Chartered Organization         Dunkirk Professional Firefighters Assoc                  Local 1616                              Allegheny Highlands Council 382                                                                                                                                    First Class Mail
Voting Party                   Dunlap United Methodist Church                           Attn: Diana Kado                        23674 US Hwy 33 E                                          Elkhart, IN 46517                                                      dunlapumc@frontier.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Dunlap Utd Methodist Church                              Cherokee Area Council 556               1958 Main St                                               Dunlap, TN 37327‐3725                                                                                   First Class Mail
Chartered Organization         Dunlap Utd Methodist Church                              Lasalle Council 165                     23674 US Hwy 33                                            Elkhart, IN 46517‐3608                                                                                  First Class Mail
Chartered Organization         Dunleith Elementary PTA                                  Atlanta Area Council 092                120 Saine Dr Sw                                            Marietta, GA 30008‐3878                                                                                 First Class Mail
Chartered Organization         Dunlo American Legion Post 573                           Laurel Highlands Council 527            P.O. Box 266                                               Dunlo, PA 15930‐0266                                                                                    First Class Mail
Chartered Organization         Dunmore Presbyterian Church                              Northeastern Pennsylvania Council 501   137 Chestnut St                                            Dunmore, PA 18512‐2367                                                                                  First Class Mail
Voting Party                   Dunmore United Methodist Church (30324)                  c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200            Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Dunn County Humane Society                               Chippewa Valley Council 637             302 Brickyard Rd                                           Menomonie, WI 54751‐1767                                                                                First Class Mail
Voting Party                   Dunn Loring United Methodist Church                      Attn: Trustee Chair                     2501 Gallows Rd                                            Dunn Loring, VA 22027                                                  jec7576@gmail.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Dunn Loring Volunteer Fire Dept                          National Capital Area Council 082       2148 Gallows Rd                                            Dunn Loring, VA 22027                                                                                   First Class Mail
Chartered Organization         Dunns Corner Community Church                            Narragansett 546                        221 Post Rd                                                Westerly, RI 02891‐2623                                                                                 First Class Mail
Chartered Organization         Dunsmuir Fire Dept                                       Crater Lake Council 491                 5902 Dunsmuir Ave                                          Dunsmuir, CA 96025‐2332                                                                                 First Class Mail
Chartered Organization         Dunstable Congregational Church                          The Spirit of Adventure 227             P.O. Box 190                                               Dunstable, MA 01827‐0190                                                                                First Class Mail
Chartered Organization         Dunwoody Baptist Church                                  Atlanta Area Council 092                1445 Mount Vernon Rd                                       Dunwoody, GA 30338‐4716                                                                                 First Class Mail
Voting Party                   Dunwoody United Methodist Church ‐ Dunwoody              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Dunwoody Utd Methodist Church                            Atlanta Area Council 092                1548 Mount Vernon Rd                                       Dunwoody, GA 30338‐4119                                                                                 First Class Mail
Chartered Organization         D‐Up Basketball Fundamentals                             And Skills Training Inc                 613 E Washington Dr                                        High Point, NC 27260‐5145                                                                               First Class Mail
Chartered Organization         Dupage A M E Church                                      Three Fires Council 127                 4300 Yackley Ave                                           Lisle, IL 60532‐1163                                                                                    First Class Mail
Chartered Organization         Dupage County Sheriff'S Office                           Three Fires Council 127                 501 N County Farm Rd                                       Wheaton, IL 60187‐3942                                                                                  First Class Mail
Chartered Organization         Dupage Memorial Veterans Of Foreign Wars                 Three Fires Council 127                 0N731 Papworth St                                          Wheaton, IL 60187                                                                                       First Class Mail
Chartered Organization         Duplin County Sheriffs Office                            Tuscarora Council 424                   P.O. Box 908                                               Kenansville, NC 28349‐0908                                                                              First Class Mail
Chartered Organization         Duplin Rotary Club                                       c/o C Johnson Sheffield                 P.O. Box 895                                               Warsaw, NC 28398‐0895                                                                                   First Class Mail
Chartered Organization         Duplin Rotary Club                                       c/o C Johnson Sheffield, Cpa, Pc        P.O. Box 895                                               Warsaw, NC 28398‐0895                                                                                   First Class Mail
Chartered Organization         Durand Lions Club                                        Blackhawk Area 660                      American Legion Hall                                       Durand, IL 61024                                                                                        First Class Mail
Chartered Organization         Durand Lions Club                                        Blackhawk Area 660                      14941 Ruby St                                              Durand, IL 61024‐9752                                                                                   First Class Mail
Chartered Organization         Durand Lions Club                                        Chippewa Valley Council 637             General Delivery                                           Durand, WI 54736                                                                                        First Class Mail
Chartered Organization         Durand‐Pepin Masonic Lodge 149                           Chippewa Valley Council 637             P.O. Box 82                                                Durand, WI 54736‐0082                                                                                   First Class Mail
Chartered Organization         Durant‐Tuuri‐Mott Parent Advy Council                    Water and Woods Council 782             1518 University Ave                                        Flint, MI 48504‐6208                                                                                    First Class Mail
Chartered Organization         Durbin Creek Elementary P.T.O.                           North Florida Council 087               4100 Race Track Rd                                         Saint Johns, FL 32259‐2083                                                                              First Class Mail
Chartered Organization         Durbin Elementary School Pto                             Crossroads of America 160               18000 Durbin Rd                                            Noblesville, IN 46060‐8883                                                                              First Class Mail
Chartered Organization         Durham Bulls Fox 50 Tv                                   Occoneechee 421                         613 Wilton Meadow Dr                                       Garner, NC 27529‐4841                                                                                   First Class Mail
Chartered Organization         Durham Exchange Club                                     Golden Empire Council 047               P.O. Box 403                                               Durham, CA 95938‐0403                                                                                   First Class Mail
Chartered Organization         Durham Lions Club                                        Occoneechee 421                         1850 Hillandale Rd                                         Durham, NC 27705‐2670                                                                                   First Class Mail
Chartered Organization         Durham Nockamixon PTA                                    Washington Crossing Council 777         41 Thomas Free Dr                                          Kintnersville, PA 18930‐9657                                                                            First Class Mail
Voting Party                   Durham Oaks Hill United Methodist Church                 Attn: Claudia Every                     347 Sutton Rd                                              Cornwallville, NY 12418                                                cevery56@gmail.com               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Durham Pistol And Rifle Club Education                   Old N State Council 070                 3973 S Jim Minor Rd                                        Haw River, NC 27258‐8728                                                                                First Class Mail
Chartered Organization         Durham Police Dept                                       Occoneechee 421                         101 City Hall Plz                                          Durham, NC 27701‐3329                                                                                   First Class Mail
Chartered Organization         Durham Sail & Power Squadron                             Occoneechee 421                         3101 Doubleday Pl                                          Durham, NC 27705‐5412                                                                                   First Class Mail
Chartered Organization         Durham School Of Engineering                             Mid‐America Council 326                 1110 S 67th St                                             Omaha, NE 68182‐1100                                                                                    First Class Mail
Chartered Organization         Durham School Parents Club                               Cascade Pacific Council 492             7980 SW Durham Rd                                          Portland, OR 97224‐7313                                                                                 First Class Mail
Chartered Organization         Durham Volunteer Fire Co                                 Attn: Jen Kinzel                        P.O. Box 154                                               Durham, CT 06422‐0154                                                                                   First Class Mail
Chartered Organization         Duryea Lions Club No 6061                                Northeastern Pennsylvania Council 501   P.O. Box 2085                                              Duryea, PA 18642‐0085                                                                                   First Class Mail
Chartered Organization         Dushore Fire Co                                          Five Rivers Council, Inc 375            212 Julia St                                               Dushore, PA 18614                                                                                       First Class Mail
Chartered Organization         Dushore Lions Club                                       Five Rivers Council, Inc 375            P.O. Box 1                                                 Dushore, PA 18614‐0001                                                                                  First Class Mail
Voting Party                   Dusky's Sport Center                                     110 N Bryan Rd                          Dania, FL 33004‐2244                                                                                                                                               First Class Mail
Chartered Organization         Dutch Eagles Inc                                         Hawk Mountain Council 528               8660 Hensingersville Rd                                    Macungie, PA 18062‐2062                                                                                 First Class Mail
Chartered Organization         Dutch Neck Presbyterian Church                           Washington Crossing Council 777         154 S Mill Rd                                              Princeton Junction, NJ 08550‐2006                                                                       First Class Mail
Chartered Organization         Dutch Reformed Church                                    Washington Crossing Council 777         23 Church St                                               High Bridge, NJ 08829‐1507                                                                              First Class Mail
Chartered Organization         Dutch Reformed Church Of The Tarrytowns                  Westchester Putnam 388                  42 N Broadway                                              Tarrytown, NY 10591‐3206                                                                                First Class Mail
Chartered Organization         Dutcher Lodge 193 F&Am                                   President Gerald R Ford 781             635 Main St                                                Fennville, MI 49408                                                                                     First Class Mail
Chartered Organization         Dutchess County Deputy Sheriff, Pba                      Hudson Valley Council 374               108 Parker Ave                                             Poughkeepsie, NY 12601‐1951                                                                             First Class Mail
Voting Party                   Dutilh United Methodist Church (95822)                   c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200            Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Dutton Utd Methodist Church                              Montana Council 315                     20 1st Ave NE                                              Dutton, MT 59433‐9668                                                                                   First Class Mail
Chartered Organization         Duval Cnty Emergency Svc Distr 1                         South Texas Council 577                 1106 S Norton                                              Freer, TX 78357                                                                                         First Class Mail
Chartered Organization         Duxberry Park Art Impact Elementary                      Simon Kenton Council 441                1779 E Maynard Ave                                         Columbus, OH 43219‐1080                                                                                 First Class Mail
Chartered Organization         Duxbury Post 223 American Legion                         Mayflower Council 251                   254 West St                                                Duxbury, MA 02332‐3644                                                                                  First Class Mail
Voting Party                   Dvs Renewal                                              17 E Chapman St                         Ely, MN 55731‐1227                                                                                                                                                 First Class Mail
Chartered Organization         Dwight Cowles American Legion Post 370                   Heart of America Council 307            7500 W 75th St                                             Overland Park, KS 66204‐2954                                                                            First Class Mail
Voting Party                   Dyer United Methodist                                    Attn: Devin Cook                        2016 Church St                                             Dyer, IN 46311                                                         office@dyerumc.org               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Dyer United Methodist                                    Attn: Robert Gorczynski                 624 212th St                                               Dyer, IN 46311                                                         gorbob@ameritech.net             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Dyer Utd Methodist Church                                Pathway To Adventure 456                2016 Church St                                             Dyer, IN 46311‐1728                                                                                     First Class Mail
Voting Party                   Dykema Gossett PLLC                                      Eric Lamar White                        1717 Main St, Ste 4200                                     Dallas, TX 75201                                                       ewhite@dykema.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Dyle E Bray Vfw Post 739                                 Minsi Trails Council 502                202 Veterans Rd                                            Bangor, PA 18013‐2755                                                                                   First Class Mail
Chartered Organization         Dynamic Possibilities Day Hab Center                     Sam Houston Area Council 576            17440 Fm 529 Rd, Ste 106                                   Houston, TX 77095‐1168                                                                                  First Class Mail
Chartered Organization         Dysart Lions Club                                        Mid Iowa Council 177                    P.O. Box 579                                               Dysart, IA 52224‐0579                                                                                   First Class Mail
Chartered Organization         E A Jones Elementary PTO                                 Sam Houston Area Council 576            302 Martin Ln                                              Missouri City, TX 77489‐1445                                                                            First Class Mail
Chartered Organization         E Brookfield ‐ Baptist Church                            Heart of New England Council 230        262 E Main St                                              East Brookfield, MA 01515                                                                               First Class Mail
Chartered Organization         E Brookfield ‐ Fire Dept Assoc                           Heart of New England Council 230        273 E Main St                                              East Brookfield, MA 01515                                                                               First Class Mail
Chartered Organization         E Brookfield ‐ Howe Lumber Co Inc                        Heart of New England Council 230        555 E Main St                                              East Brookfield, MA 01515‐1705                                                                          First Class Mail
Chartered Organization         E Chicago Katherine House                                Boys & Girls Club                       2009 E 138th St                                            East Chicago, IN 46312‐2369                                                                             First Class Mail
Chartered Organization         E D Nixon Elementary                                     Tukabatchee Area Council 005            1000 Edgar D Nixon Ave                                     Montgomery, AL 36104‐4838                                                                               First Class Mail
Chartered Organization         E Fairfield Utd Methodist Church                         Buckeye Council 436                     45675 State Route 558                                      New Waterford, OH 44445‐9754                                                                            First Class Mail
Chartered Organization         E G Shaw School Parent Teachers                          Tecumseh 439                            3560 Kemp Rd                                               Beavercreek, OH 45431‐2532                                                                              First Class Mail
Voting Party                   E Gordon Gee                                             c/o Boy Scouts of America               Attn: Chase Koontz                                         1325 W Walnut Hill Ln                 Irving, TX 75015                 chase.koontz@scouting.org        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         E Greenwich Veterans Firemens Assoc                      Narragansett 546                        80 Queen St                                                East Greenwich, RI 02818‐3746                                                                           First Class Mail
Chartered Organization         E M Trout Elementary School Parent                       Cimarron Council 474                    2109 E Prospect Ave                                        Ponca City, OK 74604‐2431                                                                               First Class Mail
Voting Party                   E Naples Umc                                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         E P Clarke PTO                                           Southern Shores Fsc 783                 515 E Glenlord Rd                                          Saint Joseph, MI 49085‐9342                                                                             First Class Mail
Chartered Organization         E Point 1St Mallaliou Methodist Ch                       Atlanta Area Council 092                2651 Church St                                             East Point, GA 30344‐3115                                                                               First Class Mail
Chartered Organization         E Richmond Scoutin Support Assct                         Greater St Louis Area Council 312       7406 Bruno Ave                                             Saint Louis, MO 63117‐2412                                                                              First Class Mail
Chartered Organization         E S Haven Academy                                        Circle Ten Council 571                  813 Ryan Rd                                                Dallas, TX 75224‐3338                                                                                   First Class Mail
Chartered Organization         E. C. Stevens And Pond Hill PTO                          Connecticut Yankee Council Bsa 072      18 Kondracki Ln                                            Wallingford, CT 06492‐4938                                                                              First Class Mail
Chartered Organization         E. G. Ross Elementary PFC                                Great Swest Council 412                 6700 Palomas Ave Ne                                        Albuquerque, NM 87109‐5630                                                                              First Class Mail
Chartered Organization         E. R. Dickson P.T.A.                                     Mobile Area Council‐Bsa 004             4645 Bit and Spur Rd                                       Mobile, AL 36608‐2607                                                                                   First Class Mail
Chartered Organization         Ea Young Academy                                         Longhorn Council 662                    8521 Davis Blvd                                            North Richland Hills, TX 76182‐8311                                                                     First Class Mail
Chartered Organization         Eaa Chapter 1432                                         Greater Yosemite Council 059            P.O. Box 9104                                              Stockton, CA 95208‐1104                                                                                 First Class Mail
Chartered Organization         Eaa Chapter 237                                          Northern Star Council 250               8891 Airport Rd Ne                                         Blaine, MN 55449‐7220                                                                                   First Class Mail
Chartered Organization         Eaa Chapter 32                                           Greater St Louis Area Council 312       6410 Grafton Ferry Rd                                      Portage Des Sioux, MO 63373‐1616                                                                        First Class Mail
Chartered Organization         Eaa Chapter 635                                          Central Florida Council 083             1585 W Beresford Ave                                       Deland, FL 32720‐3636                                                                                   First Class Mail
Chartered Organization         Eaa Chapter 838 Of Racine, Inc                           Three Harbors Council 636               3333 N Green Bay Rd                                        Racine, WI 53404‐1547                                                                                   First Class Mail
Chartered Organization         Eaa Chapter 977                                          North Florida Council 087               288 SW Challenger Ln                                       Lake City, FL 32025‐1667                                                                                First Class Mail
Chartered Organization         Eac Network                                              Suffolk County Council Inc 404          60 Plant Ave                                               Hauppauge, NY 11788‐3810                                                                                First Class Mail
Chartered Organization         Eads Es PTO                                              Pathway To Adventure 456                8000 Jackson Ave                                           Munster, IN 46321‐1125                                                                                  First Class Mail
Chartered Organization         Eagan Fire Dept                                          Northern Star Council 250               1001 Station Trl                                           Eagan, MN 55123‐1358                                                                                    First Class Mail
Chartered Organization         Eagan Fire Fighters Relief Assoc                         Northern Star Council 250               1001 Station Trl                                           Eagan, MN 55123‐1358                                                                                    First Class Mail
Chartered Organization         Eagan Lions Club                                         Northern Star Council 250               1763 Meadowlark Ct                                         Eagan, MN 55122‐1722                                                                                    First Class Mail
Chartered Organization         Eagan Police Dept                                        Northern Star Council 250               3830 Pilot Knob Rd                                         Eagan, MN 55122‐1810                                                                                    First Class Mail
Chartered Organization         Eagan Rotary Club                                        Northern Star Council 250               3324 Promenade Ave                                         Eagan, MN 55121‐2259                                                                                    First Class Mail
Chartered Organization         Eagle                                                    National Capital Area Council 082       3230 Lima Pl                                               Dulles, VA 20189‐3233                                                                                   First Class Mail
Chartered Organization         Eagle Bound Boys Inc                                     Gulf Stream Council 085                 11680 Timberwood Rd                                        Boca Raton, FL 33428‐1111                                                                               First Class Mail
Chartered Organization         Eagle Business Assoc                                     Potawatomi Area Council 651             P.O. Box 272                                               Eagle, WI 53119‐0272                                                                                    First Class Mail
Chartered Organization         Eagle Cabinets                                           Westark Area Council 016                P.O. Box 387                                               Flippin, AR 72634‐0387                                                                                  First Class Mail
Chartered Organization         Eagle Claw                                               Winnebago Council, Bsa 173              P.O. Box 503                                               Shell Rock, IA 50670‐0503                                                                               First Class Mail
Chartered Organization         Eagle College Prep St Louis                              Greater St Louis Area Council 312       3716 Morganford Rd                                         Saint Louis, MO 63116‐1615                                                                              First Class Mail
Chartered Organization         Eagle Creek Community Church Corp.                       Crossroads of America 160               5943 Lafayette Rd                                          Indianapolis, IN 46254‐1013                                                                             First Class Mail
Chartered Organization         Eagle Grove Evangelical Lutheran Church                  Winnebago Council, Bsa 173              2nd & Garfield                                             Eagle Grove, IA 50533                                                                                   First Class Mail
Chartered Organization         Eagle Grove Lions Club                                   Winnebago Council, Bsa 173              715 NE 3rd St                                              Eagle Grove, IA 50533‐1511                                                                              First Class Mail
Chartered Organization         Eagle Lions Club                                         Denver Area Council 061                 P.O. Box 4020                                              Eagle, CO 81631‐4020                                                                                    First Class Mail
Chartered Organization         Eagle Lodge 1403                                         Miami Valley Council, Bsa 444           433 E Court St                                             Sidney, OH 45365‐3043                                                                                   First Class Mail
Chartered Organization         Eagle Mountain Baptist Church                            Longhorn Council 662                    8780 Eagle Mountain Cir                                    Fort Worth, TX 76135‐9496                                                                               First Class Mail
Chartered Organization         Eagle Point Bay Assoc                                    Greater St Louis Area Council 312       275 Foxrun Rd                                              Goreville, IL 62939‐3262                                                                                First Class Mail
Chartered Organization         Eagle Point Lions                                        Crater Lake Council 491                 3980 E Antelope Rd                                         Eagle Point, OR 97524‐7877                                                                              First Class Mail
Chartered Organization         Eagle Point Lions Club                                   Crater Lake Council 491                 P.O. Box 1348                                              Eagle Point, OR 97524‐1348                                                                              First Class Mail
Chartered Organization         Eagle Point Parent Group                                 Northern Star Council 250               7850 15th St N                                             Oakdale, MN 55128‐5603                                                                                  First Class Mail
Chartered Organization         Eagle Pointe Church                                      Atlanta Area Council 092                5100 Old Stilesboro Rd Nw                                  Acworth, GA 30101‐5737                                                                                  First Class Mail
Chartered Organization         Eagle Rock Community Assoc                               Ozark Trails Council 306                P.O. Box 72                                                Eagle Rock, MO 65641‐0072                                                                               First Class Mail
Chartered Organization         Eagle Rock Evangelical Covenant Church                   Verdugo Hills Council 058               1649 Yosemite Dr                                           Los Angeles, CA 90041‐2818                                                                              First Class Mail
Voting Party                   Eagle Rock Umc ‐ Eagle Rock                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Eagle Umc                                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Eagle United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Eagle Utd Methodist Church                               Ore‐Ida Council 106 ‐ Bsa 106           651 N Eagle Rd                                             Eagle, ID 83616‐5007                                                                                    First Class Mail
Chartered Organization         Eagle Utd Methodist Church                               Cornhusker Council 324                  704 S 4th St                                               Eagle, NE 68347‐5084                                                                                    First Class Mail
Chartered Organization         Eagle Valley Fire Co                                     Hudson Valley Council 374               14 Scott Mine Rd                                           Tuxedo Park, NY 10987‐4756                                                                              First Class Mail
Chartered Organization         Eagle Valley Fire Co                                     Hudson Valley Council 374               673 Eagle Valley Rd                                        Tuxedo Park, NY 10987‐4758                                                                              First Class Mail
Chartered Organization         Eagle Wings Academy                                      Simon Kenton Council 441                9100 Jacksontown Rd Se                                     Jacksontown, OH 43030                                                                                   First Class Mail
Chartered Organization         Eagles                                                   Mid‐America Council 326                 209 S 23rd St                                              Plattsmouth, NE 68048‐2903                                                                              First Class Mail
Chartered Organization         Eagles 2258, Albert Lea                                  Twin Valley Council Bsa 283             205 W William St                                           Albert Lea, MN 56007‐2561                                                                               First Class Mail
Chartered Organization         Eagles Aerie 2338                                        Chief Seattle Council 609               4001 Jackson Ave Se                                        Port Orchard, WA 98366‐1429                                                                             First Class Mail
Chartered Organization         Eagles Aerie 622                                         Central Minnesota 296                   730 41st Ave N                                             Saint Cloud, MN 56303‐2030                                                                              First Class Mail
Chartered Organization         Eagles Club Aerie 2749                                   P.O. Box 875                            Wahpeton, ND 58074                                                                                                                                                 First Class Mail
Chartered Organization         Eagles Nest Elementary School PTA                        Central Florida Council 083             5353 Metrowest Blvd                                        Orlando, FL 32811‐2703                                                                                  First Class Mail
Chartered Organization         Eagles Nest Society                                      Golden Empire Council 047               5601 Natomas Blvd, Apt 7102                                Sacramento, CA 95835‐2262                                                                               First Class Mail
Chartered Organization         Eagle'S View Church                                      Longhorn Council 662                    200 Blue Bonnet St                                         Saginaw, TX 76179‐1511                                                                                  First Class Mail
Chartered Organization         Eagleswood Volunteer Fire Co                             Jersey Shore Council 341                219 Railroad Ave                                           West Creek, NJ 08092‐3324                                                                               First Class Mail
Chartered Organization         Eagleton Elementary School                               Great Smoky Mountain Council 557        708 Sam Houston School Rd                                  Maryville, TN 37804‐5631                                                                                First Class Mail
Chartered Organization         Eakin School PTO                                         Middle Tennessee Council 560            2400 Fairfax Ave                                           Nashville, TN 37212‐3403                                                                                First Class Mail
Voting Party                   Ean Services LLC                                         Attn: Mary Bushyhead                    14002 E 21st St, Ste 1500                                  Tulsa, OK 74134                                                        mary.e.bushyhead@ehi.com         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Ean Services LLC                                         P.O. Box 402383                         Atlanta, GA 30384‐2383                                                                                                                                             First Class Mail
Chartered Organization         Eanes Elementary School Booster Club                     Capitol Area Council 564                4101 Bee Caves Rd                                          West Lake Hills, TX 78746‐6409                                                                          First Class Mail
Voting Party                   Earl Gillian, Jr, P.C.                                   Attn: Earl Gillian, Jr                  1 Commerce St, Ste 630                                     Montgomery, AL 36104                                                   egillian@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Earl Gillian, Jr, P.C.                                   1 Commerce St, Ste 630                  Montgomery, AL 36104                                                                                                              egillian@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Earl Gladfelter American Legion Post 268                 Southern Shores Fsc 783                 8 Park Ln                                                  Milan, MI 48160‐1602                                                                                    First Class Mail
Chartered Organization         Earl J Manning American Legion Post 490                  Twin Rivers Council 364                 P.O. Box 464                                               Stillwater, NY 12170‐0464                                                                               First Class Mail
Voting Party                   Earl Nolan Bates                                         P.O. Box 1222                           4397 Fm 1553                                               Leonard, TX 75452                                                      ebates1532@gmail.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Earl Township Parent Teacher Org                         Hawk Mountain Council 528               Rd 3                                                       Boyertown, Pa 19512                                                                                     First Class Mail
Chartered Organization         Earl Township Parent Teacher Org                         Hawk Mountain Council 528               22 School House Rd                                         Boyertown, PA 19512‐7925                                                                                First Class Mail
Chartered Organization         Earle Street Baptist Church                              Blue Ridge Council 551                  225 W Earle St                                             Greenville, SC 29609‐5423                                                                               First Class Mail
Chartered Organization         Earlham & Penn Ctr Utd Methodist Ch                      Mid Iowa Council 177                    P.O. Box 338                                               Earlham, IA 50072‐0338                                                                                  First Class Mail
Voting Party                   Earlham United Methodist Church                          Attn: Jan K Fletcher                    555 NE Sycamore Ave                                        Earlham, IA 50072                                                      jfletch555@g.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Earlham United Methodist Church                          Attn: David Gadwin                      510 NE Plum Ave                                            Earlham, IA 50072                                                      dagwins57@gmail.com              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Earlville Fire Co                                        Leatherstocking 400                     4 N Main St                                                Earlville, NY 13332                                                                                     First Class Mail
Voting Party                   Earlville Umc                                            Attn: Sandra Smith                      313 Stilson                                                Earlville, IL 60518                                                    sandrasminth@aol.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Earlville United Parish                                  Jake Connolly                           221 Radcliffe St                                           Earlville, IA 52041                                                    jake.connolly86@gmail.com        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Earlville United Parish                                  111 N West St                           Earlville, IA 52041                                                                                                               eup91@iowatelecom.net            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Early Lake Lions Club                                    Mt Diablo‐Silverado Council 023         3019 Keeling Ave                                           Lakeport, CA 95453‐6806                                                                                 First Class Mail
Chartered Organization         Early Utd Methodist Church                               Texas Trails Council 561                P.O. Box 3281                                              Brownwood, TX 76803‐3281                                                                                First Class Mail
Chartered Organization         Early View Academy Of Excellence                         Three Harbors Council 636               7132 W Good Hope Rd                                        Milwaukee, WI 53223‐4611                                                                                First Class Mail
Chartered Organization         Earlysville Ruritan Club                                 Stonewall Jackson Council 763           Rr 1 Box 162                                               Earlysville, VA 22936                                                                                   First Class Mail
Chartered Organization         Earthwork Programs                                       Western Massachusetts Council 234       P.O. Box 150                                               Amherst, MA 01004‐0150                                                                                  First Class Mail
Chartered Organization         East 39Th Street Commty                                  Of Christ Church                        15006 E 39th St S                                          Independence, MO 64055‐4238                                                                             First Class Mail
Chartered Organization         East African Community Services                          Chief Seattle Council 609               7050 32nd Ave S                                            Seattle, WA 98118‐3502                                                                                  First Class Mail
Chartered Organization         East Allegheny School District                           Laurel Highlands Council 527            1150 Jacks Run Rd                                          North Versailles, PA 15137‐2726                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                         Page 88 of 442
                                                                                  Case 20-10343-LSS                                    Doc 8171                                  Filed 01/06/22                                                    Page 104 of 457
                                                                                                                                                                    Exhibit B
                                                                                                                                                                     Service List
                                                                                                                                                              Served as set forth below

        Description                                                        Name                                                                                   Address                                                                                                               Email                      Method of Service
Chartered Organization         East Alton Community Of Christ Church                     Heart of America Council 307            16999 E 23rd St S                                     Independence, MO 64057‐1826                                                                                      First Class Mail
Chartered Organization         East Angelo Lions Club                                    Texas Swest Council 741                 P.O. Box 5616                                         San Angelo, TX 76902‐5616                                                                                        First Class Mail
Voting Party                   East Arlington Grace Lutheran Church                      Attn: Craig K Jackson                   2617 Dale View Dr                                     Jacksonville, FL 32225                                                councilpresident@gracelutheraneagles.org   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East Arlington Grace Lutheran Church                      12200 Mccormick Rd                      Jacksonville, FL 32225                                                                                                      councilpresident@gracelutheraneagles.org   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East Asheville Umc                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Asheville Utd Methodist Church                       Daniel Boone Council 414                48 Browndale Rd                                       Asheville, NC 28805‐2618                                                                                         First Class Mail
Chartered Organization         East Avon Fire Dept.                                      Iroquois Trail Council 376              P.O. Box 329                                          Avon, NY 14414                                                                                                   First Class Mail
Voting Party                   East Bangor United Methodist Church                       Attn: David Goss                        136 W Central Ave                                     E Bangor, PA 18013                                                    davegoss922@gmail.com                      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Baton Rouge Sheriffs Office                          Istrouma Area Council 211               1120 Government St                                    Baton Rouge, LA 70802‐4802                                                                                       First Class Mail
Chartered Organization         East Bay High School Ajrotc                               Greater Tampa Bay Area 089              7710 Old Big Bend Rd                                  Gibsonton, FL 33534‐5815                                                                                         First Class Mail
Chartered Organization         East Bend Baptist Church                                  Old Hickory Council 427                 112 Fairground Rd                                     East Bend, NC 27018‐8193                                                                                         First Class Mail
Chartered Organization         East Bend Umc                                             Old Hickory Council 427                 P.O. Box 117                                          East Bend, NC 27018‐0117                                                                                         First Class Mail
Voting Party                   East Bend Umc                                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East Berlin United Methodist Church                       139 Main St                             P.O. Box 265                                          East Berlin, CT 06023                                                                                            First Class Mail
Chartered Organization         East Bernard Lions Club                                   Sam Houston Area Council 576            P.O. Box 866                                          East Bernard, TX 77435‐0866                                                                                      First Class Mail
Chartered Organization         East Bethel Fire Dept                                     Northern Star Council 250               2751 Viking Blvd NE                                   East Bethel, MN 55092                                                                                            First Class Mail
Voting Party                   East Boothbay United Methodist Church                     Attn: Sarah Giles, Treasurer            P.O. Box 11                                           Ocean Point Rd At Church St       East Boothbay, ME 04544             segiles@roadrunner.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East Boothbay United Methodist Church                     Richard M Rego                          79 Townsend Ave                                       Boothbay Harbor, ME 04538                                             richardmrego@gmail.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Boston Police                                        The Spirit of Adventure 227             69 Paris St                                           East Boston, MA 02128‐3053                                                                                       First Class Mail
Voting Party                   East Branch Harvard United Methodist Church               Attn: Jo & Kevin Keesler                P.O. Box 201                                          E Branch, NY 13756                                                    kees@frontiernet.net                       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Brentwood Presbyterian Church                        Middle Tennessee Council 560            9000 Concord Rd                                       Brentwood, TN 37027‐8507                                                                                         First Class Mail
Voting Party                   East Bridgewater United Methodist Church                  Attn: Roy E Gardner                     54 N Central St                                       East Bridgewater, MA 02333                                            roygardner@comcast.net                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East Bridgewater United Methodist Church                  Attn: Roy E Gardner                     27 Grove St                                           East Bridgewater, MA 02333                                                                                       First Class Mail
Chartered Organization         East Bridgewater Utd Methodist Church                     Mayflower Council 251                   78 N Water St                                         East Bridgewater, MA 02333‐1441                                                                                  First Class Mail
Chartered Organization         East Broad St Umc                                         Piedmont Council 420                    315 W Broad St                                        Statesville, NC 28677‐5261                                                                                       First Class Mail
Chartered Organization         East Brooks Fire Dept                                     South Georgia Council 098               1290 Cates Rd                                         Valdosta, GA 31602‐6137                                                                                          First Class Mail
Voting Party                   East Calvary Methodist Episcopal Church                   Attn: Jessica Ellis, CFO                475 Riverside Dr, Ste 1922                            New York, NY 10115                                                    bshillady@umcitysociety.org                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East Chatham Methodist Church                             Attn: Kerry D Williams                  3286 County Rte 9                                     East Chatham, NY 12060                                                72grandprix.kw@gmail.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Cleveland Special Programs                           Lake Erie Council 440                   13231 Euclid Ave                                      East Cleveland, OH 44112‐4523                                                                                    First Class Mail
Voting Party                   East Cobb United Methodist ‐ Marietta                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East Cobb United Methodist ‐ Marietta                     2325 Roswell Rd Ne                      Maretta, GA 30062                                                                                                                                                      First Class Mail
Chartered Organization         East Columbus Elementary School Pta                       Simon Kenton Council 441                3100 E 7th Ave                                        Columbus, OH 43219‐1700                                                                                          First Class Mail
Voting Party                   East Columbus United Methodist Church                     East Columbus Umc ‐ Admin Chair         2439 Indiana Ave                                      Columbus, IN 47201                                                    office@eastcolumbusumc.org                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Columbus Utd Methodist Church                        Hoosier Trails Council 145 145          2439 Indiana Ave                                      Columbus, IN 47201‐7022                                                                                          First Class Mail
Chartered Organization         East Concord Fire Dept                                    Greater Niagara Frontier Council 380    9413 Genesee Rd                                       East Concord, NY 14055‐9701                                                                                      First Class Mail
Voting Party                   East Concord United Methodist Church                      Attn: Georganna W Dow                   125 Dow Dr                                            Lunenburg, VT 05906                                                   georgied47@yahoo.com                       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East Continental Supplies                                 7955 W 20th Ave                         Hialeah, FL 33014‐3229                                                                                                                                                 First Class Mail
Chartered Organization         East County Church Of Christ                              Cascade Pacific Council 492             24375 SE Stark St                                     Gresham, OR 97030‐3391                                                                                           First Class Mail
Chartered Organization         East County Veterans Support Servies                      522 W 2nd St                            Antioch, CA 94509                                                                                                                                                      First Class Mail
Voting Party                   East Cross United Methodist Church                        Attn: Treasurer                         820 S Madison Blvd                                    Bartlesville, OK 74006                                                treasurer@eastcross.org                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Dekalb Boys & Girls Club                             Atlanta Area Council 092                6020 Paul Rd                                          Lithonia, GA 30058‐6226                                                                                          First Class Mail
Chartered Organization         East Dover First Aid And Rescue Squad                     Jersey Shore Council 341                2 Garfield Ave                                        Toms River, NJ 08753‐7172                                                                                        First Class Mail
Chartered Organization         East Elementary PTA                                       Chickasaw Council 558                   208 Meadowbrook Rd                                    Greenwood, MS 38930‐6931                                                                                         First Class Mail
Chartered Organization         East Elementary School                                    West Tennessee Area Council 559         Ashport Rd                                            Jackson, TN 38305                                                                                                First Class Mail
Chartered Organization         East Elementary School PTO                                Piedmont Council 420                    600 Cleveland Ave                                     Kings Mountain, NC 28086‐2508                                                                                    First Class Mail
Chartered Organization         East End Baptist Church                                   Quapaw Area Council 018                 4701 E End Rd                                         Hensley, AR 72065‐9248                                                                                           First Class Mail
Chartered Organization         East End Parent Teachers Assoc Hensley                    c/o E End School                        21801 Arch St                                         Little Rock, AR 72206‐9233                                                                                       First Class Mail
Chartered Organization         East End School PTO                                       Patriots Path Council 358               170 Oneida Ave                                        North Plainfield, NJ 07060‐4421                                                                                  First Class Mail
Chartered Organization         East End Temple Lodge                                     Choctaw Area Council 302                1637 9th Ave                                          Meridian, MS 39301‐3502                                                                                          First Class Mail
Voting Party                   East End United Methodist (1115)                          c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East End United Methodist (1115)                          c/o Bentz Law Firm                      Attn: Sean Bollman                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East End United Methodist (188334)                        c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East End United Methodist Church                          Attn: Daniel Foster                     1212 Holly St                                         Nashville, TN 37206                                                   foster.danielj@gmail.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East End Utd Methodist Church                             West Tennessee Area Council 559         104 Fairground St                                     Savannah, TN 38372                                                                                               First Class Mail
Chartered Organization         East Fallowfield Elementary School PTO                    Chester County Council 539              2254 Strasburg Rd                                     Coatesville, PA 19320‐4437                                                                                       First Class Mail
Chartered Organization         East Flint Lions Club                                     Water and Woods Council 782             4352 Crosby Rd                                        Flint, MI 48506‐1416                                                                                             First Class Mail
Chartered Organization         East Forsyth Middle School                                Old Hickory Council 427                 810 Bagley Rd                                         Kernersville, NC 27284‐9897                                                                                      First Class Mail
Chartered Organization         East Franklin Twp Vol Fire Dept                           Moraine Trails Council 500              165 E Brady Rd                                        Kittanning, PA 16201‐2048                                                                                        First Class Mail
Chartered Organization         East Gate Church                                          Three Rivers Council 578                1707 Cr 1611                                          Dayton, TX 77535                                                                                                 First Class Mail
Chartered Organization         East Gate Lions                                           Blue Mountain Council 604               P.O. Box 2665                                         Walla Walla, WA 99362‐0333                                                                                       First Class Mail
Chartered Organization         East Goshen Home & School Assoc                           Chester County Council 539              Rt. 352 and Paoli Pike                                West Chester, PA 19380                                                                                           First Class Mail
Chartered Organization         East Greenbush Fire Co                                    Twin Rivers Council 364                 68 Phillips Rd                                        Rensselaer, NY 12144‐4709                                                                                        First Class Mail
Chartered Organization         East Greenwich Boys Home Assoc                            Narragansett 546                        380 Moosehorn Rd                                      East Greenwich, RI 02818‐1114                                                                                    First Class Mail
Chartered Organization         East Greenwich Home & School Assoc                        Garden State Council 690                7 Quaker Rd                                           Mickleton, NJ 08056‐1306                                                                                         First Class Mail
Voting Party                   East Greenwich United Methodist Church                    Attn: Treasurer                         1558 S County Trl                                     E Greenwich, RI 02818                                                 egumc@aol.com                              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Greenwich Yacht Club                                 Narragansett 546                        10 Water St                                           East Greenwich, RI 02818‐3907                                                                                    First Class Mail
Chartered Organization         East Hall Navy Junior Rotc                                Northeast Georgia Council 101           3534 E Hall Rd                                        Gainesville, GA 30507‐7111                                                                                       First Class Mail
Chartered Organization         East Hardin Middle School                                 Lincoln Heritage Council 205            129 College St                                        Glendale, KY 42740‐9798                                                                                          First Class Mail
Chartered Organization         East Hartland Fire Dept Inc                               Connecticut Rivers Council, Bsa 066     South Rd                                              East Hartland, CT 06027                                                                                          First Class Mail
Chartered Organization         East Hartland Volunteer Fire Dept Inc                     Connecticut Rivers Council, Bsa 066     34 South Rd                                           East Hartland, CT 06027‐1500                                                                                     First Class Mail
Chartered Organization         East Haven Fire Dept                                      Connecticut Yankee Council Bsa 072      200 Main St                                           East Haven, CT 06512‐3005                                                                                        First Class Mail
Chartered Organization         East Heights Utd Methodist Church                         Quivira Council, Bsa 198                4407 E Douglas Ave                                    Wichita, KS 67218‐1009                                                                                           First Class Mail
Chartered Organization         East Hickman Volunteer Fire Dept                          Middle Tennessee Council 560            10011 Old Hwy 46                                      Bon Aqua, TN 37025‐1725                                                                                          First Class Mail
Chartered Organization         East Hickman Volunteer Fire Dept                          Middle Tennessee Council 560            1509 Bruce Dr                                         Bon Aqua, TN 37025‐1900                                                                                          First Class Mail
Chartered Organization         East High School                                          Denver Area Council 061                 1600 City Park Esplanade                              Denver, CO 80206‐1429                                                                                            First Class Mail
Chartered Organization         East High School Jrotc                                    Denver Area Council 061                 1600 City Park Esplanade                              Denver, CO 80206‐1429                                                                                            First Class Mail
Chartered Organization         East Hill Community Club Inc                              Connecticut Rivers Council, Bsa 066     59 Daniel Trace                                       Collinsville, CT 06022                                                                                           First Class Mail
Chartered Organization         East Hill Flying Club                                     Baden‐Powell Council 368                62 Brown Rd                                           Ithaca, NY 14850‐1248                                                                                            First Class Mail
Chartered Organization         East Hills Community Church                               California Inland Empire Council 045    20660 Orange Terrace Pkwy                             Riverside, CA 92508‐3156                                                                                         First Class Mail
Chartered Organization         East Hills Moravian Church                                Minsi Trails Council 502                1830 Butztown Rd                                      Bethlehem, PA 18017‐3210                                                                                         First Class Mail
Voting Party                   East Hills Moravian Church, Inc                           Attn: William W Matz Jr                 211 W Broad St                                        Bethlehem, PA 18018                                                   billmatzlaw@gmail.com                      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Holmes Fire & Ems Co                                 Buckeye Council 436                     P.O. Box 186                                          Berlin, OH 44610‐0186                                                                                            First Class Mail
Voting Party                   East Jewett Umc                                           P.O. Box 53                             East Jewett, NY 12424                                                                                                       gal950@yahoo.com                           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Jordan Rotary Club                                   President Gerald R Ford 781             P.O. Box 195                                          East Jordan, MI 49727‐0195                                                                                       First Class Mail
Chartered Organization         East Lake Lions Club                                      San Diego Imperial Council 049          1175 Barton Peak Dr                                   Chula Vista, CA 91913‐1668                                                                                       First Class Mail
Voting Party                   East Lake Umc                                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Lake Utd Methodist Church                            Greater Tampa Bay Area 089              2801 E Lake Rd                                        Palm Harbor, FL 34685‐1813                                                                                       First Class Mail
Voting Party                   East Lansing, University United Methodist Church          Attn: Jason Makowski                    1120 S Harrison Rd                                    East Lansing, MI 48823                                                makowsk7@gmail.com                         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Las Vegas Community/Senior Center                    Las Vegas Area Council 328              250 N Eern Ave                                        Las Vegas, NV 89101                                                                                              First Class Mail
Chartered Organization         East Linden Elementary School                             Simon Kenton Council 441                2505 Brentnell Ave                                    Columbus, OH 43211‐1991                                                                                          First Class Mail
Voting Party                   East Longmeadow United Methodist Church                   Attn: Treasurer                         215 Somers Rd                                         East Longmeadow, MA 01028                                             info@elumc.org                             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East Lynn Christian Church                                Attn: Stephanie Lee Young‐Helou         522 E 53rd St                                         Anderson, IN 46013                                                    stephanie@ccs‐indy.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East Lynn Christian Church, Inc                           822 E 53rd St                           Anderson, IN 46013                                                                                                          stephanie@ccs‐indy.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Lynn Elementary                                      Buckskin 617                            19594 E Lynn Rd                                       East Lynn, WV 25512‐8000                                                                                         First Class Mail
Chartered Organization         East Main Presbyterian Church                             French Creek Council 532                120 E Main St                                         Grove City, PA 16127‐2245                                                                                        First Class Mail
Chartered Organization         East Maine Fire Co                                        Baden‐Powell Council 368                847 E Maine Rd                                        Johnson City, NY 13790‐4626                                                                                      First Class Mail
Chartered Organization         East Meadow Fire Dept Ladder Co 2                         Theodore Roosevelt Council 386          197 E Meadow Ave                                      East Meadow, NY 11554‐2439                                                                                       First Class Mail
Voting Party                   East Middlebury United Methodist Church                   Attn: Myungso Lee                       2 Church St                                           Middlebury, VT 05753                                                  myungsohope@gmail.com                      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Millcreek Lions Club                                 Great Salt Lake Council 590             P.O. Box 9103                                         Millcreek, UT 84109‐0103                                                                                         First Class Mail
Chartered Organization         East Mississippi Rotary Club                              Choctaw Area Council 302                2115 5th St                                           Meridian, MS 39301‐5131                                                                                          First Class Mail
Voting Party                   East Monmouth United Methodist Church                     Attn: W. Prince Emumc                   P.O. Box 217                                          Monmouth, ME 04259                                                    nonip@twc.com                              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Montgomery County Fire Dept                          Sam Houston Area Council 576            27980 Fm 1485 Rd                                      New Caney, TX 77357‐7822                                                                                         First Class Mail
Chartered Organization         East Montgomery Elementary School PTO                     Middle Tennessee Council 560            230 Mcadoo Creek Rd                                   Clarksville, TN 37043‐7408                                                                                       First Class Mail
Chartered Organization         East Montpelier Volunteer Fire Dept                       Green Mountain 592                      54 Village Acres                                      East Montpelier, VT 05651                                                                                        First Class Mail
Chartered Organization         East Moriches Fire Dept                                   Suffolk County Council Inc 404          Pine St                                               East Moriches, NY 11940                                                                                          First Class Mail
Voting Party                   East Moriches United Methodist Church                     Attn: Henry R Janiesch                  31 Emilie Dr                                          Center Moriches, NY 11934                                             xvpf14@yahoo.com                           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   East Moriches United Methodist Church                     Attn: Henry R Janiesch                  370 Montauk Hwy                                       East Moriches, NY 11940                                                                                          First Class Mail
Chartered Organization         East Naples Utd Methodist Church                          Southwest Florida Council 088           2701 Airport Rd S                                     Naples, FL 34112‐4817                                                                                            First Class Mail
Chartered Organization         East Northport Chamber Of Commerce                        Suffolk County Council Inc 404          514 Larkfield Rd, Ste 2                               East Northport, NY 11731‐4210                                                                                    First Class Mail
Chartered Organization         East Northport Fire Dept                                  Suffolk County Council Inc 404          1 9th Ave                                             East Northport, NY 11731‐1822                                                                                    First Class Mail
Chartered Organization         East Oakview Elem School Ptc                              President Gerald R Ford 781             3940 Suburban Shores Dr Ne                            Grand Rapids, MI 49525‐1841                                                                                      First Class Mail
Chartered Organization         East Ohio Larpers                                         Buckeye Council 436                     107 Carolina Ave                                      Chester, WV 26034‐1110                                                                                           First Class Mail
Chartered Organization         East Orange Public Safety Dept                            Northern New Jersey Council, Bsa 333    715 Park Ave                                          East Orange, NJ 07017‐1004                                                                                       First Class Mail
Chartered Organization         East Orange Public Safety Dept                            Northern New Jersey Council, Bsa 333    44 City Plaza                                         East Orange, NJ 07018                                                                                            First Class Mail
Chartered Organization         East Orange Ruritan Club                                  Stonewall Jackson Council 763           P.O. Box 112                                          Unionville, VA 22567‐0112                                                                                        First Class Mail
Chartered Organization         East Orrington Congregational Church                      Katahdin Area Council 216               38 Johnson Mill Rd                                    Orrington, ME 04474‐3235                                                                                         First Class Mail
Chartered Organization         East Palestine Happy Youth                                Buckeye Council 436                     825 W North Ave                                       East Palestine, OH 44413‐1263                                                                                    First Class Mail
Chartered Organization         East Palo Alto Charter                                    Aspire Public Schools                   1286 Runnymede St                                     East Palo Alto, CA 94303‐1332                                                                                    First Class Mail
Chartered Organization         East Park Community Center                                Middle Tennessee Council 560            600 Woodland St                                       Nashville, TN 37206‐4212                                                                                         First Class Mail
Chartered Organization         East Peoria Vfw                                           W D Boyce 138                           308 Lawnridge Dr                                      Creve Coeur, IL 61610‐3940                                                                                       First Class Mail
Voting Party                   East Pittston Umc                                         Attn: Gayle Holden                      1083 E Pittston Rd                                    Dresden, ME 04345                                                     gayle.holden62@gmail.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Plano Murphy Pet Hospital                            Circle Ten Council 571                  627 W Fm 544                                          Murphy, TX 75094‐4587                                                                                            First Class Mail
Voting Party                   East Point First Mallalieu                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                     ERICE@BRADLEY.COM                          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Prospect Lion Club                                   New Birth of Freedom 544                73 New Bridgeville                                    Wrightsville, PA 17368                                                                                           First Class Mail
Chartered Organization         East Providence Police Explorer Cadets                    Narragansett 546                        750 Waterman Ave                                      East Providence, RI 02914‐1714                                                                                   First Class Mail
Voting Party                   East Quogue United Methodist Church                       Attn: Kenneth Bohler                    P.O. Box 3017                                         East Quogue, NY 11942                                                 krib1957@gmail.com                         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Quogue Utd Methodist Men                             Suffolk County Council Inc 404          P.O. Box 3000                                         East Quogue, NY 11942‐2001                                                                                       First Class Mail
Voting Party                   East Randolph United Methodist Church                     Attn: Judy Messinger                    P.O. Box 67                                           East Randolph, NY 14730                                               pastorchuck65@gmail.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Ridge High School                                    Cherokee Area Council 556               4320 Bennett Rd                                       Chattanooga, TN 37412‐2206                                                                                       First Class Mail
Voting Party                   East Ridge United Methodist Church                        Attn: Natalie Smart                     1601 Prater Rd                                        Chattanooga, TN 37412                                                                                            First Class Mail
Chartered Organization         East Rivanna Volunteer Fire Co                            Stonewall Jackson Council 763           3501 Steamer Dr                                       Keswick, VA 22947‐2803                                                                                           First Class Mail
Chartered Organization         East Rochester Fire Dept                                  Seneca Waterways 397                    415 Main St                                           East Rochester, NY 14445‐1707                                                                                    First Class Mail
Chartered Organization         East Rochester Rotary Club                                Seneca Waterways 397                    234 E Filbert St                                      East Rochester, NY 14445‐1512                                                                                    First Class Mail
Chartered Organization         East Rock School                                          Connecticut Yankee Council Bsa 072      133 Nash St                                           New Haven, CT 06511‐2645                                                                                         First Class Mail
Chartered Organization         East Rowan Ymca                                           Central N Carolina Council 416          1056 Quail Haven Ln                                   Rockwell, NC 28138‐8518                                                                                          First Class Mail
Voting Party                   East Rush United Methodist Church (79753)                 c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Rutherford Fire Dept                                 Northern New Jersey Council, Bsa 333    1 Everett Pl                                          East Rutherford, NJ 07073‐1701                                                                                   First Class Mail
Chartered Organization         East Saint Louis District 189                             Greater St Louis Area Council 312       12 N 10th St                                          East St Louis, IL 62201                                                                                          First Class Mail
Voting Party                   East Salem United Methodist Church (178871)               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East San Jose Kiwanis Club                                Silicon Valley Monterey Bay 055         310 Gordon Ave                                        San Jose, CA 95127‐1611                                                                                          First Class Mail
Voting Party                   East Saugus United Methodist Church                       Attn: Patricia Oduor                    85 Chestnut St                                        Saugus, MA 01906                                                      eastsaugus@gmail.com                       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Seneca Volunteer Fire Co                             Greater Niagara Frontier Council 380    100 Lein Rd                                           West Seneca, NY 14224‐3202                                                                                       First Class Mail
Chartered Organization         East Shore Utd Methodist Church                           Lake Erie Council 440                   23002 Lake Shore Blvd                                 Euclid, OH 44123‐1325                                                                                            First Class Mail
Chartered Organization         East Side Lutheran Church                                 Sioux Council 733                       1300 E 10th St                                        Sioux Falls, SD 57103‐1779                                                                                       First Class Mail
Chartered Organization         East Side Utd Methodist Church                            Pathway To Adventure 456                11000 S Ewing Ave                                     Chicago, IL 60617‐6919                                                                                           First Class Mail
Chartered Organization         East Side Utd Methodist Church Mens                       Pathway To Adventure 456                11000 S Ewing Ave                                     Chicago, IL 60617‐6919                                                                                           First Class Mail
Voting Party                   East Somerset Baptist Church                              Attn: Darvie D Fension                  345 Pumphouse Rd                                      Somerset, KY 42503                                                    darvie@eastsomerset.org                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Sparta Utd Methodist Church                          Buckeye Council 436                     2041 Pine St Se                                       East Sparta, OH 44626‐9570                                                                                       First Class Mail
Chartered Organization         East Stone Gap Baptist Church                             Sequoyah Council 713                    3904 E Stone Gap Rd                                   East Stone Gap, VA 24246                                                                                         First Class Mail
Voting Party                   East Stone Gap United Methodist Church                    Attn: Brad Stapleton                    3902 Logan Ave                                        Big Stone Gap, VA 24219                                               rev.bradstapleton@gmail.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         East Stroudsburg Utd Methodist Church                     Minsi Trails Council 502                83 S Courtland St                                     East Stroudsburg, PA 18301‐2826                                                                                  First Class Mail
Chartered Organization         East Surry Jrotc                                          Old Hickory Council 427                 801 W Main St                                         Pilot Mountain, NC 27041‐9318                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                     Page 89 of 442
                                                                                    Case 20-10343-LSS                                                                           Doc 8171                                         Filed 01/06/22                                                 Page 105 of 457
                                                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                                                     Service List
                                                                                                                                                                                                              Served as set forth below

        Description                                                          Name                                                                                                                                 Address                                                                                                            Email              Method of Service
Voting Party                   East Tenth United Methodist Church                                                       Attn: Jean M Casmir Hill                          2327 E 10th St                                               Indianapolis, IN 46201                                             jcasmirhill@east10th.org           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         East Texas Area Council                                                                  East Texas Area Council 585                       4908 Hightech Dr                                             Tyler, TX 75703‐2625                                                                                  First Class Mail
Voting Party                   East Texas Area Council                                                                  Attn: James S Robertson Jr                        909 E Southeast Loop 323, Ste 400                            Tyler, TX 75701                                                    jr@wilsonlawfirm.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   East Texas Area Council                                                                  1331 E 5th St                                     Tyler, TX 75701‐3427                                                                                                            dewayne.stephens@scouting.org      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         East Union Middle School                                                                 Central N Carolina Council 416                    6010 Marshville Blvd                                         Marshville, NC 28103                                                                                  First Class Mail
Chartered Organization         East Union Presbyterian Church                                                           Laurel Highlands Council 527                      292 E Union Rd                                               Cheswick, PA 15024‐2107                                                                               First Class Mail
Voting Party                   East United Methodist Church                                                             Attn: Rev Ed Bollack                              1505 E Monument St                                           Colorado Springs, CO 80909                                         jebfalcon@zgh.me                   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   East Valley Bible Church                                                                 1820 W Elliot Rd                                  Gilbert, AZ 85233                                                                                                               neilpitchel@redemptionaz.com       Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         East Valley Parents                                                                      Ore‐Ida Council 106 ‐ Bsa 106                     5913 S Settlement Way                                        Boise, ID 83716‐9037                                                                                  First Class Mail
Chartered Organization         East Washington Academy Pto                                                              Crossroads of America 160                         1000 E Washington St                                         Muncie, IN 47305‐2046                                                                                 First Class Mail
Chartered Organization         East Wesley Hills Parent Assoc                                                           Hudson Valley Council 374                         22 Deerwood Rd                                               Spring Valley, NY 10977‐1003                                                                          First Class Mail
Chartered Organization         East Whittier Friends Church                                                             Greater Los Angeles Area 033                      15911 Whittier Blvd                                          Whittier, CA 90603‐2524                                                                               First Class Mail
Voting Party                   East Whittier Umc                                                                        Attn: Paul Gardiner, East Whittier Umc            10005 S Cole Rd                                              Whittier, CA 90603                                                 pgsg123@verizon.net                Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         East Whittier Utd Methodist Church                                                       Greater Los Angeles Area 033                      10005 Cole Rd                                                Whittier, CA 90603‐2009                                                                               First Class Mail
Chartered Organization         East Whittier Utd Presbyterian Church                                                    Greater Los Angeles Area 033                      14061 2nd St                                                 Whittier, CA 90605‐1047                                                                               First Class Mail
Chartered Organization         East Wilkinson County Library                                                            Central Georgia Council 096                       154 E Main St                                                Irwinton, GA 31042                                                                                    First Class Mail
Voting Party                   East Worcester United Methodist Church                                                   Attn: Brenda Hunt                                 159 Mravlja Rd                                               Worcester, NY 12197                                                pastordan76@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   East Worcester United Methodist Church                                                   Daniel Martin                                     4 S Hill Rd                                                  East Worcester, NY 12064                                           pastordan76@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         East Ymca Of St Paul                                                                     Northern Star Council 250                         875 Arcade St                                                Saint Paul, MN 55106‐3800                                                                             First Class Mail
Chartered Organization         Eastbrooke Ward ‐ Twin Falls Stake                                                       Snake River Council 111                           778 Carriage Ln N                                            Twin Falls, ID 83301‐7589                                                                             First Class Mail
Chartered Organization         Eastchester Youth Council Inc                                                            Westchester Putnam 388                            40 Mill Rd                                                   Eastchester, NY 10709‐1523                                                                            First Class Mail
Voting Party                   Easter Lutheran Church                                                                   Attn: Megan Torgerson                             4200 Pilot Knob Rd                                           Eagan, MN 55122                                                    czaja@dbclaw.com                   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Easter Seals Of Western New York                                                         Seneca Waterways 397                              402 Rogers Pkwy                                              Rochester, NY 14617‐4738                                                                              First Class Mail
Chartered Organization         Easter Seals Sno Mo                                                                      Daniel Webster Council, Bsa 330                   260 Griswold Rd                                              Gilmanton Iw, NH 03837‐4108                                                                           First Class Mail
Voting Party                   Easterday Houin                                                                          James E Easterday                                 119 W Garro St                                               Plymouth, IN 46563                                                 james@easterdayhouin.com           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Eastern District Of The Moravian Church, A Regional Judicatory Of The Moravian Church,   c/o Shay, Santee & Kelhart                        Attn: Richard Santee Jr                                      44 E Broad St                     Bethlehem, PA 18018              rsantee@ssk‐esq.com                Email
                               Northern Province                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Eastern Gate Ministries                                                                  Simon Kenton Council 441                          6389 Blacklick Eastern Rd                                    Pickerington, OH 43147‐9267                                                                           First Class Mail
Chartered Organization         Eastern Hancock Elementary School                                                        Crossroads of America 160                         10450 E 250 N                                                Charlottesville, IN 46117                                                                             First Class Mail
Chartered Organization         Eastern Heights Lutheran Church                                                          Northern Star Council 250                         616 Ruth St N                                                Saint Paul, MN 55119‐3936                                                                             First Class Mail
Chartered Organization         Eastern High School Screaming Eagles                                                     Lincoln Heritage Council 205                      12400 Old Shelbyville Rd                                     Louisville, KY 40243‐1506                                                                             First Class Mail
Chartered Organization         Eastern New Mexico University ‐ Roswell                                                  Conquistador Council Bsa 413                      52 University Blvd                                           Roswell, NM 88203‐8435                                                                                First Class Mail
Chartered Organization         Eastern Orthodox Community North Ga                                                      Northeast Georgia Council 101                     3074 Bethelview Rd                                           Cumming, GA 30040‐5042                                                                                First Class Mail
Chartered Organization         Eastern Orthodox Community Of North Ga                                                   Northeast Georgia Council 101                     3074 Bethelview Rd                                           Cumming, GA 30040‐5042                                                                                First Class Mail
Chartered Organization         Eastern Pa Ems Council, Inc                                                              Minsi Trails Council 502                          4801 Kernsville Rd                                           Orefield, PA 18069‐2317                                                                               First Class Mail
Voting Party                   Eastern Parkway United Methodist Church                                                  Attn: Robert Bour                                 943 Palmer Ave                                               Schenectady, NY 12309                                              rmsbour2@msn.com                   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Eastern Senior High School Hmsa                                                          National Capital Area Council 082                 1700 E Capitol St NE                                         Washington, DC 20003‐1622                                                                             First Class Mail
Voting Party                   Eastern Shore Chapel Episcopal Church                                                    c/o Vandeventer Black LLP                         Attn: Anne G. Bibeau, Esq.                                   101 W Main St, Ste 500            Norfolk, VA 23510                abibeau@vanblacklaw.com            Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Eastern Star Church                                                                      Crossroads of America 160                         5750 E 30th St                                               Indianapolis, IN 46218‐3314                                                                           First Class Mail
Chartered Organization         Eastern Star Lodge 55                                                                    Dan Beard Council, Bsa 438                        P.O. Box 133                                                 Franklin, OH 45005‐0133                                                                               First Class Mail
Chartered Organization         Eastern Wind Sailing LLC                                                                 Tidewater Council 596                             411 New York Ave                                             Norfolk, VA 23508‐2722                                                                                First Class Mail
Chartered Organization         Easterseals Chicagoland And Rockford                                                     Pathway To Adventure 456                          1939 W 13th St                                               Chicago, IL 60608‐1236                                                                                First Class Mail
Chartered Organization         Easterseals New York                                                                     Seneca Waterways 397                              402 Rogers Pkwy                                              Rochester, NY 14617‐4738                                                                              First Class Mail
Chartered Organization         Eastfield College                                                                        Circle Ten Council 571                            3737 Motley Dr                                               Mesquite, TX 75150‐2033                                                                               First Class Mail
Chartered Organization         Eastgate Christian Church                                                                Heart of America Council 307                      4010 S River Blvd                                            Independence, MO 64055‐4343                                                                           First Class Mail
Chartered Organization         Eastgate Church                                                                          Three Rivers Council 578                          P.O. Box 340                                                 Dayton, TX 77535‐0006                                                                                 First Class Mail
Chartered Organization         Eastgate Elementary PTO                                                                  Simon Kenton Council 441                          1925 Stratford Way                                           Columbus, OH 43219‐2946                                                                               First Class Mail
Voting Party                   Eastham United Methodist Church                                                          3200 Rte 6 State Hwy                              Eastham, MA 02642                                                                                                               musictec@comcast.net               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Eastham United Methodist Church                                                          Attn: Pastor                                      3200 State Hwy                                               Eastham, MA 02642                                                  eumc@c4.net                        Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Easthaven Elementary School                                                              Simon Kenton Council 441                          2360 Garnet Pl                                               Columbus, OH 43232‐3905                                                                               First Class Mail
Chartered Organization         Eastlake Area Kiwanis                                                                    Lake Erie Council 440                             P.O. Box 7225                                                Eastlake, OH 44097‐0225                                                                               First Class Mail
Chartered Organization         Eastlake Cumberland Presbyterian                                                         Last Frontier Council 480                         700 SW 134th St                                              Oklahoma City, OK 73170‐7308                                                                          First Class Mail
Chartered Organization         Eastlake Lions Club                                                                      San Diego Imperial Council 049                    1211 Barton Peak Dr                                          Chula Vista, CA 91913‐1667                                                                            First Class Mail
Chartered Organization         Eastland Lions Club                                                                      Texas Trails Council 561                          1205 W Commerce St                                           Eastland, TX 76448‐2425                                                                               First Class Mail
Voting Party                   Eastland Umc ‐ Fredericksburg                                                            c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Eastland United Methodist Church                                                         Attn: Jerry Orndorff ‐ Finance Chair              10718 Courthouse Rd                                          Fredericksburg, VA 22407                                           ornofrk@aol.com                    Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Eastman First United Methodist Church, Inc.                                              Attn: Spence Barron                               5324 Anson Ave                                               P.O. Box 129                      Eastman, GA 31023                eastmanfumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Eastminster Presbyterian Church                                                          Indian Waters Council 553                         3200 Trenholm Rd                                             Columbia, SC 29204‐3335                                                                               First Class Mail
Chartered Organization         Eastminster Presbyterian Church                                                          Great Smoky Mountain Council 557                  4904 Asheville Hwy                                           Knoxville, TN 37914‐4229                                                                              First Class Mail
Chartered Organization         Eastminster Presbyterian Church                                                          Atlanta Area Council 092                          3125 Sewell Mill Rd                                          Marietta, GA 30062‐4809                                                                               First Class Mail
Chartered Organization         Eastminster Presbyterian Church                                                          Atlanta Area Council 092                          5801 Hugh Howell Rd                                          Stone Mtn, GA 30087‐2304                                                                              First Class Mail
Chartered Organization         Eastminster Presbyterian Church                                                          Quivira Council, Bsa 198                          1958 N Webb Rd                                               Wichita, KS 67206‐3404                                                                                First Class Mail
Voting Party                   Eastminster Presbyterian Church                                                          Attn: Sandy Watkins                               2240 Woodruff Rd                                             Simpsonville, SC 29681                                             piperscully@charter.net            Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Eastmister Presbyterian                                                                  Blue Ridge Council 551                            2240 Woodruff Rd                                             Simpsonville, SC 29681‐5438                                                                           First Class Mail
Chartered Organization         Easton Area Community Center                                                             Minsi Trails Council 502                          901 Washington St                                            Easton, PA 18042‐4341                                                                                 First Class Mail
Chartered Organization         Easton Place Utd Methodist Men                                                           Mid Iowa Council 177                              2412 Eon Blvd                                                Des Moines, IA 50317                                                                                  First Class Mail
Chartered Organization         Eastorn Shore Bldg Assoc                                                                 Mobile Area Council‐Bsa 004                       P.O. Box 53                                                  Daphne, AL 36526‐0053                                                                                 First Class Mail
Chartered Organization         Eastover School PTA                                                                      Great Lakes Fsc 272                               1101 Westview Rd                                             Bloomfield Hills, MI 48304‐2071                                                                       First Class Mail
Chartered Organization         Eastpoint Church                                                                         Inland Nwest Council 611                          15303 E Sprague Ave                                          Spokane Valley, WA 99037‐5041                                                                         First Class Mail
Chartered Organization         Eastpoint Utd Methodist Church                                                           Suwannee River Area Council 664                   P.O. Box 522                                                 Eastpoint, FL 32328‐0522                                                                              First Class Mail
Chartered Organization         Eastpointe Christian Church                                                              Simon Kenton Council 441                          745 N Waggoner Rd                                            Blacklick, OH 43004‐9760                                                                              First Class Mail
Chartered Organization         Eastpointe Community Church                                                              Last Frontier Council 480                         6801 S Anderson Rd                                           Oklahoma City, OK 73150‐6309                                                                          First Class Mail
Chartered Organization         Eastridge Church Of Christ                                                               Circle Ten Council 571                            485 N Stodghill Rd                                           Rockwall, TX 75087‐6804                                                                               First Class Mail
Chartered Organization         Eastridge Elementary School                                                              Crossroads of America 160                         10930 E 10th St                                              Indianapolis, IN 46229‐2608                                                                           First Class Mail
Chartered Organization         Eastside College Preparatory School                                                      Pacific Skyline Council 031                       1041 Myrtle St                                               East Palo Alto, CA 94303‐2013                                                                         First Class Mail
Chartered Organization         Eastside Community Church                                                                North Florida Council 087                         13301 Beach Blvd                                             Jacksonville, FL 32246‐7260                                                                           First Class Mail
Chartered Organization         Eastside Community Church Muskogee                                                       Indian Nations Council 488                        500 E Peak Blvd                                              Muskogee, OK 74403‐8620                                                                               First Class Mail
Chartered Organization         Eastside Elementary School                                                               Crossroads of America 160                         4500 Main St                                                 Anderson, IN 46013‐4732                                                                               First Class Mail
Chartered Organization         Eastside Fire & Rescue                                                                   Chief Seattle Council 609                         175 Newport Way NW                                           Issaquah, WA 98027‐3104                                                                               First Class Mail
Chartered Organization         Eastside Foursquare Church                                                               Chief Seattle Council 609                         14520 100th Ave NE                                           Bothell, WA 98011                                                                                     First Class Mail
Chartered Organization         Eastside Medical Center                                                                  Northeast Georgia Council 101                     1700 Medical Way                                             Snellville, GA 30078‐2195                                                                             First Class Mail
Chartered Organization         Eastside Middle School                                                                   Lincoln Heritage Council 205                      6925 Kentucky St                                             Mt Washington, KY 40047                                                                               First Class Mail
Chartered Organization         Eastside Terrace (Bellevue B&Gc)                                                         Chief Seattle Council 609                         704 147th Pl Ne                                              Bellevue, WA 98007‐4714                                                                               First Class Mail
Chartered Organization         Eastwick Press LLC                                                                       Twin Rivers Council 364                           13 Babcock Lake Rd                                           Grafton, NY 12082                                                                                     First Class Mail
Voting Party                   Eastwick United Methodist Church                                                         Attn: Alvin Kingcade                              8321 Lindbergh Blvd                                          Philadelphia, PA 19153                                             alvin.kingcade@comcast.net         Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Eastwood Baptist Church                                                                  Crater Lake Council 491                           675 N Keene Way Dr                                           Medford, OR 97504‐6822                                                                                First Class Mail
Chartered Organization         Eastwood Baptist Church                                                                  Longhouse Council 373                             3212 James St                                                Syracuse, NY 13206‐3044                                                                               First Class Mail
Chartered Organization         Eastwood Christian Church                                                                Middle Tennessee Council 560                      1601 Eastland Ave                                            Nashville, TN 37206‐2537                                                                              First Class Mail
Chartered Organization         Eastwood Church Of Christ                                                                Norwela Council 215                               4100 Hwy 80                                                  Haughton, LA 71037‐9409                                                                               First Class Mail
Chartered Organization         Eastwood Elementary Pto                                                                  Oregon Trail Council 697                          2550 SE Waldon Ave                                           Roseburg, OR 97470‐3805                                                                               First Class Mail
Voting Party                   Eastwood Memorial United Methodist Church                                                Attn: Jerry Mattson                               512 Ward Ave                                                 Caruthersville, MO 63830                                           eastwoodmemorial@att.net           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Eastwood Memorial United Methodist Church                                                Attn: Denny Callen                                P.O. Box 384                                                 Caruthersville, MO 63830                                           denny.callen@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Eastwood School Pta                                                                      Lasalle Council 165                               2605 County Rd 15                                            Elkhart, IN 46514‐8653                                                                                First Class Mail
Chartered Organization         Eaton Rapids Fire Dept Ladies Auxiliary                                                  Water and Woods Council 782                       101 Line St                                                  Eaton Rapids, MI 48827‐1166                                                                           First Class Mail
Voting Party                   Eaton Rapids First United Methodist Church                                               Attn: Linda Vandenberg                            600 S Main St                                                Eaton Rapids, MI 48827                                             vandenberg595@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Eaton Street Lumber                                                                      Manley De Boer Lumber Co                          1109 Eaton St                                                Key West, FL 33040‐6926                                                                               First Class Mail
Voting Party                   Eaton United Methodist Church                                                            Matthew Gerald Pickett                            425 Peregrine Pt                                             Eaton, CO 80615                                                    rmplkp@msn.com                     Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Eaton United Methodist Church                                                            Attn: Rita Daily                                  120 N Maple St                                               Eaton, OH 45320                                                    ritadaily2@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Eaton United Methodist Church                                                            Attn: Trustee                                     219 E South St                                               P.O. Box 158                      Eaton, IN 47338                  jabivens1@outlook.com              Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Eaton United Methodist Church                                                            Attn: Ken Vance                                   303 Maple Ave                                                Eaton, CO 80615                                                    EatonUMC@slbbi.com                 Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Eatonton First Utd Methodist Church                                                      Central Georgia Council 096                       103 W Magnolia St                                            Eatonton, GA 31024‐1343                                                                               First Class Mail
Chartered Organization         Eatontown Engine Truck & Hose Co 1                                                       Monmouth Council, Bsa 347                         37 Broad St                                                  Eatontown, NJ 07724                                                                                   First Class Mail
Chartered Organization         Eatonville Lions Club                                                                    Pacific Harbors Council, Bsa 612                  P.O. Box 385                                                 Eatonville, WA 98328‐0385                                                                             First Class Mail
Chartered Organization         Eau Claire Area                                                                          Hmong Mutual Assist Assoc Memorial                1320 W Clairemont Ave                                        Eau Claire, WI 54701‐4566                                                                             First Class Mail
Chartered Organization         Eau Claire Area Hmong                                                                    Mutual Assist Assoc Inc                           1320 W Clairemont Ave                                        Eau Claire, WI 54701‐4566                                                                             First Class Mail
Chartered Organization         Eau Claire Express Baseball                                                              Chippewa Valley Council 637                       102 E Grand Ave                                              Eau Claire, WI 54701‐3638                                                                             First Class Mail
Chartered Organization         Eau Claire Seymour Lions Club                                                            Chippewa Valley Council 637                       P.O. Box 3064                                                Eau Claire, WI 54702‐3064                                                                             First Class Mail
Chartered Organization         Eau Claire Ymca                                                                          Chippewa Valley Council 637                       700 Graham Ave                                               Eau Claire, WI 54701‐3840                                                                             First Class Mail
Voting Party                   Ebbert Memorial Springfield                                                              c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ebbert Memorial Utd Methodist Church                                                     Oregon Trail Council 697                          532 C St                                                     Springfield, OR 97477‐4653                                                                            First Class Mail
Chartered Organization         Ebenezer Ame Church                                                                      National Capital Area Council 082                 7707 Allentown Rd                                            Ft Washington, MD 20744‐1740                                                                          First Class Mail
Chartered Organization         Ebenezer Baptist Church                                                                  Atlanta Area Council 092                          407 Auburn Ave NE                                            Atlanta, GA 30312‐1503                                                                                First Class Mail
Chartered Organization         Ebenezer Baptist Church                                                                  Mecklenburg County Council 415                    2020 W Sugar Creek Rd                                        Charlotte, NC 28262‐4954                                                                              First Class Mail
Chartered Organization         Ebenezer Baptist Church                                                                  Pine Burr Area Council 304                        900 E 8th St                                                 Hattiesburg, MS 39401‐1719                                                                            First Class Mail
Chartered Organization         Ebenezer Baptist Church                                                                  Heart of Virginia Council 602                     216 W Leigh St                                               Richmond, VA 23220‐3213                                                                               First Class Mail
Chartered Organization         Ebenezer Baptist Church West                                                             Northeast Georgia Council 101                     205 N Chase St                                               Athens, GA 30606‐3007                                                                                 First Class Mail
Voting Party                   Ebenezer Counseling Services                                                             325 Ebenezer Rd                                   Knoxville, TN 37923‐5310                                                                                                                                           First Class Mail
Voting Party                   Ebenezer Granite Falls                                                                   c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ebenezer Lutheran Church                                                                 Central N Carolina Council 416                    4914 Old Beatty Ford Rd                                      China Grove, NC 28023‐7667                                                                            First Class Mail
Chartered Organization         Ebenezer Lutheran Church                                                                 Indian Waters Council 553                         1301 Richland St                                             Columbia, SC 29201‐2521                                                                               First Class Mail
Chartered Organization         Ebenezer Mennonite Church                                                                Black Swamp Area Council 449                      8905 Columbus Grove Rd                                       Bluffton, OH 45817‐8501                                                                               First Class Mail
Chartered Organization         Ebenezer Missionary Baptist Assoc                                                        Piedmont Council 420                              1612 Kings Rd                                                Shelby, NC 28150‐6124                                                                                 First Class Mail
Chartered Organization         Ebenezer Missionary Baptist Church                                                       Pine Burr Area Council 304                        900 E 8th St                                                 Hattiesburg, MS 39401‐1719                                                                            First Class Mail
Chartered Organization         Ebenezer U.C.C.                                                                          Minsi Trails Council 502                          P.O. Box 24                                                  New Tripoli, PA 18066‐0024                                                                            First Class Mail
Chartered Organization         Ebenezer Umc                                                                             Heart of Virginia Council 602                     144 Ebenezer Church Rd                                       Oldhams, VA 22529                                                                                     First Class Mail
Voting Party                   Ebenezer Umc                                                                             c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ebenezer Umc ‐ Stafford                                                                  c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ebenezer Umc Catawba Co Inc                                                              c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ebenezer Umc Forsyth                                                                     c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ebenezer United Methodist                                                                c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ebenezer United Methodist Church                                                         Attn: Sandra Wean                                 4901 Woodbine Rd                                             Sykesville, MD 21784                                               treasurereumc@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ebenezer United Methodist Church                                                         Attn: Janet Lawlor                                1001 Ebenezer Rd                                             Knoxville, TN 37923                                                tbpaul@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ebenezer United Methodist Church                                                         Timothy Paul                                      953 Festival Lane                                            Knoxville, TN 37923                                                tbpaul@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ebenezer United Methodist Church                                                         Attn: Rev Judit A Emerson                         4901 Wood Woodbine Rd                                        Sykesville, MD 21784                                               revjae@aol.com                     Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ebenezer United Methodist Church                                                         Attn: Pamela Myirski, Trustee Chairperson, Eumc   3345 Charles St                                              Fallston, MD 21047                                                 pmyirski@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ebenezer United Methodist Church                                                         Attn: Shirley Scott                               4912 Whitfield Chapel Rd                                     Lanham, MD 20706                                                   Mdvmrk@aol.com                     Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ebenezer United Methodist Church                                                         c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ebenezer United Methodist Church                                                         Attn: Andrew Hodge, Treasurer                     6020 Rock Quarry Rd                                          Raleigh, NC 27610                                                  andrew@adamsandhodge.com           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ebenezer United Methodist Church (187088)                                                c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ebenezer Utd Church Of Christ                                                            Greater Niagara Frontier Council 380              630 Main St                                                  West Seneca, NY 14224‐3030                                                                            First Class Mail
Chartered Organization         Ebenezer Utd Methodist Church                                                            Atlanta Area Council 092                          2533 Stanton Rd SE                                           Conyers, GA 30094‐2533                                                                                First Class Mail
Chartered Organization         Ebenezer Utd Methodist Church                                                            Central Georgia Council 096                       1671 Dames Ferry Rd                                          Forsyth, GA 31029‐2566                                                                                First Class Mail
Chartered Organization         Ebenezer Utd Methodist Church                                                            North Florida Council 087                         9114 Norfolk Blvd                                            Jacksonville, FL 32208‐1809                                                                           First Class Mail
Chartered Organization         Ebenezer Utd Methodist Church                                                            Del Mar Va 081                                    525 Polly Drummond Hill Rd                                   Newark, DE 19711‐4342                                                                                 First Class Mail
Chartered Organization         Ebenezer Utd Methodist Church                                                            National Capital Area Council 082                 161 Embrey Mill Rd                                           Stafford, VA 22554‐6811                                                                               First Class Mail
Chartered Organization         Ebenezer Utd Methodist Church                                                            National Capital Area Council 082                 161 Embrey Mill Rd                                           Stafford, VA 22554‐6811                                                                               First Class Mail
Chartered Organization         Ebenezer Utd Methodist Men                                                               Great Smoky Mountain Council 557                  1001 Ebenezer Rd                                             Knoxville, TN 37923‐6505                                                                              First Class Mail
Chartered Organization         Ebenezer Utd Methodist Mens                                                              Northeast Georgia Council 101                     P.O. Box 875                                                 Clarkesville, GA 30523‐0015                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                     Page 90 of 442
                                                                               Case 20-10343-LSS                                   Doc 8171                                     Filed 01/06/22                                                       Page 106 of 457
                                                                                                                                                                   Exhibit B
                                                                                                                                                                    Service List
                                                                                                                                                             Served as set forth below

        Description                                                     Name                                                                                     Address                                                                                                             Email                   Method of Service
Voting Party                   Ebensburg United Methodist Church (97661)              c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200           Pittsburgh, PA 15228                lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Ebenzer United Methodist                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Ebrp Dept Of Emergency Medical Service                 Istrouma Area Council 211               P.O. Box 1471                                           Baton Rouge, LA 70821‐1471                                                                                  First Class Mail
Chartered Organization         Ecclesiastical Griswoldville Chapel                    Connecticut Rivers Council, Bsa 066     178 Griswold Rd                                         Wethersfield, CT 06109                                                                                      First Class Mail
Chartered Organization         Eccleston Elementary School PTA                        Central Florida Council 083             1500 Aaron Ave                                          Orlando, FL 32811‐4114                                                                                      First Class Mail
Chartered Organization         Echo Hill Presbyterian Church                          Hawkeye Area Council 172                9000 C Ave                                              Marion, IA 52302‐4817                                                                                       First Class Mail
Chartered Organization         Echo Hills Parent & Teacher Assoc                      Great Trail 433                         4405 Stow Rd                                            Stow, OH 44224‐1844                                                                                         First Class Mail
Chartered Organization         Eckerd College                                         Greater Tampa Bay Area 089              4200 54th Ave S                                         St Petersburg, FL 33711‐4744                                                                                First Class Mail
Chartered Organization         Eclc Of New Jersey                                     Patriots Path Council 358               21 Lum Ave                                              Chatham, NJ 07928‐2320                                                                                      First Class Mail
Chartered Organization         Eclectic Methodist Church                              Tukabatchee Area Council 005            P.O. Box 158                                            Eclectic, AL 36024‐0002                                                                                     First Class Mail
Chartered Organization         Eclectic Utd Methodist Church                          Tukabatchee Area Council 005            1035 Main St                                            Eclectic, AL 36024‐6011                                                                                     First Class Mail
Chartered Organization         Ecole Kenwood French Immersion                         Simon Kenton Council 441                3770 Shattuck Ave                                       Columbus, OH 43220‐4179                                                                                     First Class Mail
Chartered Organization         Economic Opportunity Council Suffok, Inc               Suffolk County Council Inc 404          31 W Main St                                            Patchogue, NY 11772‐3034                                                                                    First Class Mail
Chartered Organization         Economy Lions Club                                     Crossroads of America 160               8090 Franklin Rd                                        Hagerstown, IN 47346‐9643                                                                                   First Class Mail
Chartered Organization         Ecos Del Horizonte                                     Puerto Rico Council 661                 Calle Jose De Diego 322                                 Cidra, PR 00739                                                                                             First Class Mail
Chartered Organization         Ecs Beacon Center                                      Cradle of Liberty Council 525           238 E Wyoming Ave                                       Philadelphia, PA 19120‐4449                                                                                 First Class Mail
Chartered Organization         Ecumenical Church Of Pueblo West                       Rocky Mountain Council 063              434 S Conquistador Ave                                  Pueblo, CO 81007‐1861                                                                                       First Class Mail
Chartered Organization         Ed Glover Elem                                         Sam Houston Area Council 576            1510 Columbia Blue Dr                                   Missouri City, TX 77489‐5112                                                                                First Class Mail
Voting Party                   Eddy Irish                                             Address Redacted                                                                                                                                                                                            First Class Mail
Voting Party                   Eddystone                                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Eddyville United Methodist Church                      Attn: David Terry                       214 Jenkins Rd                                          Eddyville, KY 42038                                                      churchoffice@eddyvilleumc.com      Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Eden Church Of The Brethren                            Buckeye Council 436                     4437 Richville Dr Sw                                    Canton, OH 44706‐3835                                                                                       First Class Mail
Chartered Organization         Eden Elementary School                                 Crossroads of America 160               8185 N State Rd 9                                       Greenfield, IN 46140‐9017                                                                                   First Class Mail
Chartered Organization         Eden Firemens Assoc                                    Bay‐Lakes Council 635                   P.O. Box 22                                             Eden, WI 53019‐0022                                                                                         First Class Mail
Chartered Organization         Eden Lutheran Church                                   California Inland Empire Council 045    4725 Brockton Ave                                       Riverside, CA 92506‐0132                                                                                    First Class Mail
Chartered Organization         Eden Prairie Utd Methodist                             Northern Star Council 250               15050 Scenic Heights Rd                                 Eden Prairie, MN 55344‐2213                                                                                 First Class Mail
Chartered Organization         Eden Road Community Church                             Longhorn Council 662                    7000 Matlock Rd                                         Arlington, TX 76002‐3410                                                                                    First Class Mail
Chartered Organization         Eden Ucc                                               Greater St Louis Area Council 312       903 N 2nd St                                            Edwardsville, IL 62025‐1556                                                                                 First Class Mail
Voting Party                   Eden United Methodist Church                           Attn: Kevin Karstedt                    8843 Hammond Dr                                         Eden, NY 14057                                                           john.parsons.family@verizon.net    Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Eden United Methodist Church                           Attn: David Crittenden                  2122 E Eden Rd                                          Greenfield, IN 46140                                                     edenumc@myninestar.net             Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Eden United Methodist Church                           Attn: David Crittenden                  6247 Tennison Ct                                        Indianapolis, IN 46236                                                   dave.crittenden@inumc.org          Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Eden Utd Church Of Christ                              Pathway To Adventure 456                5051 W Gunnison St                                      Chicago, IL 60630‐2310                                                                                      First Class Mail
Chartered Organization         Eden Utd Methodist Church                              Greater Niagara Frontier Council 380    2820 E Church St                                        Eden, NY 14057‐1202                                                                                         First Class Mail
Chartered Organization         Eden Valley Lions Club                                 Northern Star Council 250               P.O. Box 586                                            Eden Valley, MN 55329‐0586                                                                                  First Class Mail
Voting Party                   Edenton Street United Methodist Church                 Attn: Patricia Joanne Gravinese, CFO    228 W Edenton St                                        Raleigh, NC 27603                                                        pgravinese@esumc.org               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edgar Lions Club                                       Samoset Council, Bsa 627                General Delivery                                        Edgar, WI 54426                                                                                             First Class Mail
Chartered Organization         Edgar Road School PTA                                  Greater St Louis Area Council 312       1131 Edgar Rd                                           Saint Louis, MO 63119‐4950                                                                                  First Class Mail
Chartered Organization         Edgar Road School PTO                                  Greater St Louis Area Council 312       1131 Edgar Rd                                           Saint Louis, MO 63119‐4950                                                                                  First Class Mail
Chartered Organization         Edgarton Christian Academy                             Garden State Council 690                212 Catawba Ave                                         Newfield, NJ 08344‐9545                                                                                     First Class Mail
Chartered Organization         Edgartown Firemans Assoc                               Cape Cod and Islands Cncl 224           Pease Point Rd                                          Edgartown, MA 02539                                                                                         First Class Mail
Voting Party                   Edge Memorial 441 S Main Ave, Groveland, Fl 34736      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edge Memorial Utd Methodist Church                     Central Florida Council 083             441 S Main Ave                                          Groveland, FL 34736‐2583                                                                                    First Class Mail
Chartered Organization         Edgebrook Lutheran Church                              Pathway To Adventure 456                5252 W Devon Ave                                        Chicago, IL 60646‐4145                                                                                      First Class Mail
Chartered Organization         Edgecombe Circle Elementary/Middle                     Baltimore Area Council 220              2835 Virginia Ave                                       Baltimore, MD 21215‐6560                                                                                    First Class Mail
Chartered Organization         Edgefield Utd Methodist Church                         Georgia‐Carolina 093                    309 Norris St                                           Edgefield, SC 29824                                                                                         First Class Mail
Chartered Organization         Edgehill Assoc                                         Colonial Virginia Council 595           700 Cockletown Rd                                       Yorktown, VA 23692                                                                                          First Class Mail
Chartered Organization         Edgemont Presbyterian Church Assoc                     Stonewall Jackson Council 763           2306 S Church Ave                                       Covington, VA 24426‐2703                                                                                    First Class Mail
Voting Party                   Edgemont United Methodist Church                       Attn: William Reade                     101 Kingswood Dr                                        Florence, AL 35630                                                       wr@williamreade.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edgerton Elementary Pto                                Three Harbors Council 636               5145 S 116th St                                         Hales Corners, WI 53130‐1001                                                                                First Class Mail
Chartered Organization         Edgerton Elementary School Pto                         Water and Woods Council 782             11218 N Linden Rd                                       Clio, MI 48420‐8585                                                                                         First Class Mail
Voting Party                   Edgerton United Methodist Church                       Attn: Paul Shoemaker, Treasurer         112 Albion St                                           Edgerton, WI 53534                                                       officeeumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edgerton Utd Methodist Church                          Black Swamp Area Council 449            307 N Michigan Ave                                      Edgerton, OH 43517‐9391                                                                                     First Class Mail
Voting Party                   Edgewater United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Edgewater United Methodist Church ‐ Port Charlotte     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edgewood Chamber Of Commerce                           Northeast Iowa Council 178              P.O. Box 130                                            Edgewood, IA 52042‐0130                                                                                     First Class Mail
Chartered Organization         Edgewood Chamber Of Commerce                           Northeast Iowa Council 178              Edgewood, IA 52042                                                                                                                                                  First Class Mail
Chartered Organization         Edgewood Congregational Church                         Narragansett 546                        1788 Broad St                                           Cranston, RI 02905‐3520                                                                                     First Class Mail
Chartered Organization         Edgewood Elementary                                    Baltimore Area Council 220              1900 Edgewood St                                        Baltimore, MD 21216‐2534                                                                                    First Class Mail
Chartered Organization         Edgewood Elementary School                             Crossroads of America 160               3525 Winding Way                                        Anderson, IN 46011‐1802                                                                                     First Class Mail
Chartered Organization         Edgewood Fire Dept                                     Dan Beard Council, Bsa 438              385 Dudley Pike                                         Edgewood, KY 41017‐2670                                                                                     First Class Mail
Chartered Organization         Edgewood Home School Assoc                             Cradle of Liberty Council 525           525 8th Ave                                             Folsom, PA 19033‐2030                                                                                       First Class Mail
Chartered Organization         Edgewood Parent Teacher Organization                   President Gerald R Ford 781             3255 Pontaluna Rd                                       Fruitport, MI 49415‐9600                                                                                    First Class Mail
Chartered Organization         Edgewood Presbyterian Church                           Chattahoochee Council 091               3617 Macon Rd                                           Columbus, GA 31907‐2531                                                                                     First Class Mail
Chartered Organization         Edgewood Presbyterian Church Inc                       Chattahoochee Council 091               3617 Macon Rd                                           Columbus, GA 31907‐2531                                                                                     First Class Mail
Chartered Organization         Edgewood Renaissance Academy Magnet Sch                Southwest Florida Council 088           3464 Edgewood Ave                                       Fort Myers, FL 33916‐1104                                                                                   First Class Mail
Chartered Organization         Edgewood School PTA                                    Westchester Putnam 388                  Roosevelt Pl                                            Scarsdale, NY 10583                                                                                         First Class Mail
Voting Party                   Edgewood United Methodist Church                       Attn: Maurice Hodges                    1820 E Epler Ave                                        Indianapolis, IN 46227                                                   edgewoodumc.indy@gmail.com         Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edick‐Hamlink Vfw Post 369                             Longhouse Council 373                   P.O. Box 1001                                           Mexico, NY 13114‐1001                                                                                       First Class Mail
Chartered Organization         Edina‐Eden Prairie Police Dept                         Northern Star Council 250               4801 W 50th St                                          Edina, MN 55424‐1330                                                                                        First Class Mail
Voting Party                   Edinboro United Methodist Church (89160)               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200           Pittsburgh, PA 15228                lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edinburg Cisd Police Dept                              Rio Grande Council 775                  1343 E Schunior St                                      Edinburg, TX 78541                                                                                          First Class Mail
Chartered Organization         Edinburg Lions Club                                    Shenandoah Area Council 598             627 Cobb Ct                                             Woodstock, VA 22664‐1357                                                                                    First Class Mail
Chartered Organization         Edinburg Township Fire Fighters Assoc                  Great Trail 433                         6727 Tallmadge Rd                                       Rootstown, OH 44272‐9524                                                                                    First Class Mail
Chartered Organization         Edinburg Utd Church Of Christ                          Great Trail 433                         4081 Rock Spring Rd                                     Ravenna, OH 44266‐8733                                                                                      First Class Mail
Chartered Organization         Edinburgh Lions Club                                   Crossroads of America 160               405 N Walnut St                                         Edinburgh, IN 46124‐1021                                                                                    First Class Mail
Voting Party                   Edinburgh United Methodist Church                      Attn: Jason Allen Hyer, Treasurer       107 W Campbell St                                       Edinburgh, IN 46124                                                      edinburghmethodist@att.net         Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edison Chouest Offshore                                Southeast Louisiana Council 214         16201 E Main St                                         Cut Off, LA 70345‐3804                                                                                      First Class Mail
Chartered Organization         Edison First Aid Squad No 2 Inc                        Patriots Path Council 358               848 New Dover Rd                                        Edison, NJ 08820‐1805                                                                                       First Class Mail
Chartered Organization         Edison Job Corps Academy                               Patriots Path Council 358               500 Plainfield Ave                                      Edison, NJ 08817‐2515                                                                                       First Class Mail
Voting Party                   Edison Lutheran Church                                 14221 Church Rd                         Bow, WA 98232                                                                                                                    edisonlutheran@live.com            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edison Park Elementary School                          Southwest Florida Council 088           2401 Euclid Ave                                         Fort Myers, FL 33901‐4944                                                                                   First Class Mail
Chartered Organization         Edison Park K‐8 Center                                 South Florida Council 084               500 NW 67th St                                          Miami, FL 33150‐3917                                                                                        First Class Mail
Chartered Organization         Edison Park Lutheran Church                            Pathway To Adventure 456                6626 N Oliphant Ave                                     Chicago, IL 60631‐1514                                                                                      First Class Mail
Chartered Organization         Edison Park Pta                                        South Florida Council 084               500 NW 67th St                                          Miami, FL 33150‐3917                                                                                        First Class Mail
Chartered Organization         Edison Police Dept                                     Patriots Path Council 358               100 Municipal Blvd                                      Edison, NJ 08817‐3302                                                                                       First Class Mail
Chartered Organization         Edison Vfw Memorial Post 3117                          Patriots Path Council 358               53 National Rd                                          Edison, NJ 08817‐2808                                                                                       First Class Mail
Voting Party                   Edisto Fork United Methodist Church                    Attn: Ellis White Jr                    4444 Deerfield Dr                                       Orangeburg, SC 29118                                                     edistofork@gmail.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Edisto Fork United Methodist Church                    Attn: Kay G Crowe                       P.O. Box 2593                                           Orangeburg, SC 29116                                                     chancellor@umcsc.org               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edith L Frierson Elementary PTO                        Coastal Carolina Council 550            6133 Maybank Hwy                                        Wadmalaw Island, SC 29487‐7049                                                                              First Class Mail
Chartered Organization         Edmeston Volunteer Fire Dept                           Leatherstocking 400                     27 East St                                              Edmeston, NY 13335                                                                                          First Class Mail
Firm                           Edmiston & Colton Law Firm                             Shane Colton                            310 Grand Ave                                           Billings, MT 59101                                                       scolton@yellowstonelaw.com         Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edmonds Police Dept                                    Mount Baker Council, Bsa 606            250 5th Ave N                                           Edmonds, WA 98020‐3146                                                                                      First Class Mail
Voting Party                   Edmonds United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edmonds Utd Methodist Church                           Mount Baker Council, Bsa 606            828 Caspers St                                          Edmonds, WA 98020‐2618                                                                                      First Class Mail
Chartered Organization         Edmonson County Lions Club                             Lincoln Heritage Council 205            104 Fairgrounds Rd Hwy 101 S                            Brownsville, KY 42210                                                                                       First Class Mail
Chartered Organization         Edna Lions Club                                        South Texas Council 577                 P.O. Box 19                                             Edna, TX 77957‐0019                                                                                         First Class Mail
Chartered Organization         Edna Martin Christian Center ‐ As                      Crossroads of America 160               2259 Ralston Ave                                        Indianapolis, IN 46218                                                                                      First Class Mail
Voting Party                   Edom United Methodist Church                           Attn: Treasurer                         8430 Fm 279                                             Brownsboro, TX 75756                                                                                        First Class Mail
Chartered Organization         Eduardo Mata Elementary                                Circle Ten Council 571                  7420 La Vista Dr                                        Dallas, TX 75214‐4230                                                                                       First Class Mail
Chartered Organization         Education Center Ashley Chapel                         Central N Carolina Council 416          377 Mizpah Rd                                           Rockingham, NC 28379‐9081                                                                                   First Class Mail
Chartered Organization         Educational First Steps                                Circle Ten Council 571                  2800 Swiss Ave                                          Dallas, TX 75204‐5926                                                                                       First Class Mail
Voting Party                   Edward A. Genzler                                      1529 Main St                            Crete, IL 60417                                                                                                                  office@crete.umc.org               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Edward B Whitcomb                                      P.O. Box 68                             Round Top, NY 12473                                                                                                                                                 First Class Mail
Voting Party                   Edward G Mills II                                      c/o Stark & Stark PC                    Attn: David Schmid                                      993 Lenox Dr, Bldg 2                 Lawrenceville, NJ 08648             dschmid@stark‐stark.com            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edward Grine American Legion Post 354                  Black Swamp Area Council 449            20 E South St                                           New Riegel, OH 44853                                                                                        First Class Mail
Chartered Organization         Edward Hynes Charter School                            Southeast Louisiana Council 214         990 Harrison Ave                                        New Orleans, LA 70124‐3833                                                                                  First Class Mail
Chartered Organization         Edward Jones                                           Circle Ten Council 571                  2300 Valley View Ln Stop 430                            Dallas, TX 75234‐5753                                                                                       First Class Mail
Chartered Organization         Edward Jones                                           Greater St Louis Area Council 312       12555 Manchester Rd                                     Saint Louis, MO 63131‐3710                                                                                  First Class Mail
Voting Party                   Edward M Barber                                        Address Redacted                                                                                                                                                                                            First Class Mail
Chartered Organization         Edward Schultz American Legion Post 697                Pathway To Adventure 456                18255 Grant St                                          Lansing, IL 60438‐3107                                                                                      First Class Mail
Chartered Organization         Edward Stone Middle School                             Mississippi Valley Council 141 141      3000 Mason Rd                                           Burlington, IA 52601‐1409                                                                                   First Class Mail
Voting Party                   Edwards Chapel Umc                                     Attn: Warren Vandewark                  9227 Cherry Hill Rd                                     Clymer, NY 14724                                                         pastorwarrenv@gmail.com            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Edwards Chapel, Umc                                    Attn: Warren Vandewark                  3675 Mead Rd                                            Jamestown, NY 14701                                                      pastorwarrenv@gmail.com            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Edwards Street Fellowship Center                       Attn: Ann Mccullen                      P.O. Box 17532                                          Hattiesburg, MS 39404                                                    info@edwardsstreetfellowship.org   Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edwardsville Fire Dept                                 Greater St Louis Area Council 312       410 N Main St                                           Edwardsville, IL 62025‐1618                                                                                 First Class Mail
Chartered Organization         Edwardsville Police Dept                               Greater St Louis Area Council 312       400 N Main St                                           Edwardsville, IL 62025‐1618                                                                                 First Class Mail
Chartered Organization         Edwardsville Utd Methodist Church                      Heart of America Council 307            302 N 4th St                                            Edwardsville, KS 66111‐1316                                                                                 First Class Mail
Voting Party                   Edwater United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Edwin C Creeger Jr American Legion                     National Capital Area Council 082       8 Park Ln                                               Thurmont, MD 21788‐1901                                                                                     First Class Mail
Voting Party                   Edwin R. Morin                                         2431 S 275 W                            Shelbyville, IN 46176‐9191                                                                                                       bemorin@lightbound.com             Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Effingham Elks Lodge 1016                              Greater St Louis Area Council 312       2102 S Banker St                                        Effingham, IL 62401‐2813                                                                                    First Class Mail
Chartered Organization         Effingham Police Dept                                  Greater St Louis Area Council 312       206 E Section Ave                                       Effingham, IL 62401                                                                                         First Class Mail
Chartered Organization         Effingham Sportsman'S Club                             Greater St Louis Area Council 312       P.O. Box 444                                            Effingham, IL 62401‐0444                                                                                    First Class Mail
Chartered Organization         Effingham Union Church                                 Pony Express Council 311                P.O. Box 303                                            Effingham, KS 66023‐0303                                                                                    First Class Mail
Voting Party                   Effort United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Effort United Methodist Church                         178 Merwinsburg Rd                      Effort, PA 18330                                                                                                                                                    First Class Mail
Chartered Organization         Effort Utd Methodist Church                            Minsi Trails Council 502                P.O. Box 545                                            Effort, PA 18330‐0545                                                                                       First Class Mail
Chartered Organization         Egg Harbor Township Police Dept                        Jersey Shore Council 341                3515 Bargaintown Rd                                     Egg Harbor Township, NJ 08234‐8317                                                                          First Class Mail
Chartered Organization         Eglin Elementary School PTO                            Gulf Coast Council 773                  200 Gaffney Rd                                          Eglin Afb, FL 32542‐1313                                                                                    First Class Mail
Chartered Organization         Ehrhardt Elementary School PTO                         Sam Houston Area Council 576            6603 Rosebrook Ln                                       Spring, TX 77379‐4159                                                                                       First Class Mail
Chartered Organization         Eighty Scouts, Inc                                     Golden Spread Council 562               P.O. Box 51                                             Amarillo, TX 79105‐0051                                                                                     First Class Mail
Chartered Organization         Eighty‐First St School B & G Club                      Three Harbors Council 636               2964 N 81st St                                          Milwaukee, WI 53222‐4808                                                                                    First Class Mail
Chartered Organization         Eike Jordan Bauer Post 1501                            Seneca Waterways 397                    344 Dorsey Rd                                           Rochester, NY 14616‐3429                                                                                    First Class Mail
Chartered Organization         Eisenhower Commty                                      Elementary School Pto                   1235 Pershing St                                        Flint, MI 48503‐3533                                                                                        First Class Mail
Chartered Organization         Eisenhower Elementary                                  Lincoln Heritage Council 205            5300 Jessamine Ln                                       Louisville, KY 40258‐2221                                                                                   First Class Mail
Chartered Organization         Eisenhower Elementary School P T A                     Illowa Council 133                      2827 Jersey Ridge Rd                                    Davenport, IA 52803‐2135                                                                                    First Class Mail
Chartered Organization         Eisenhower Elementary School P T A                     Three Harbors Council 636               11600 W Center St                                       Wauwatosa, WI 53222‐4120                                                                                    First Class Mail
Chartered Organization         Eisenhower Intermediate School PTO                     Patriots Path Council 358               791 Eisenhower Ave                                      Bridgewater, NJ 08807‐1557                                                                                  First Class Mail
Chartered Organization         Eisenhower International School Pta                    Indian Nations Council 488              3111 E 56th St                                          Tulsa, OK 74105‐7429                                                                                        First Class Mail
Chartered Organization         Eisenhower Parent Advisory Rd                          Abraham Lincoln Council 144             1901 W Lafayette Ave                                    Jacksonville, IL 62650‐1010                                                                                 First Class Mail
Chartered Organization         Eisenhower Pto                                         Northern Star Council 250               1001 Hwy 7                                              Hopkins, MN 55305‐4737                                                                                      First Class Mail
Chartered Organization         Ejercito Azul De Maria                                 Puerto Rico Council 661                 P.O. Box 1111                                           Mayaguez, PR 00681‐1111                                                                                     First Class Mail
Chartered Organization         Ekklesia Christian Life Ministeries                    Lincoln Heritage Council 205            1401 Bluegrass Ave                                      Louisville, KY 40215‐1203                                                                                   First Class Mail
Chartered Organization         Eklund Systems For Business                            Longhouse Council 373                   6532 Fremont Rd                                         East Syracuse, NY 13057‐9453                                                                                First Class Mail
Chartered Organization         Ekron Fire And Rescue Inc                              Lincoln Heritage Council 205            P.O. Box 99                                             Ekron, KY 40117‐0099                                                                                        First Class Mail
Chartered Organization         El Bethel Utd Methodist Church                         Piedmont Council 420                    122 El Bethel Rd                                        Kings Mountain, NC 28086‐8503                                                                               First Class Mail
Voting Party                   El Buen Pastor Umc Santa Paula                         Attn: Treasurer                         1029 E Santa Paula St                                   Santa Paula, CA 93060                                                    elbuenpastor.umc@verizon.net       Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         El Cajon Police Dept                                   San Diego Imperial Council 049          100 Civic Center Way                                    El Cajon, CA 92020‐3975                                                                                     First Class Mail
Chartered Organization         El Campo Police Dept                                   Sam Houston Area Council 576            303 E Jackson St                                        El Campo, TX 77437‐4533                                                                                     First Class Mail
Chartered Organization         El Campo Volunteer Fire Dept                           Sam Houston Area Council 576            220 Merchant St                                         El Campo, TX 77437‐4518                                                                                     First Class Mail
Chartered Organization         El Centro Hispano                                      Westchester Putnam 388                  346 S Lexington Ave                                     White Plains, NY 10606‐2539                                                                                 First Class Mail
Chartered Organization         El Centro Police Dept                                  San Diego Imperial Council 049          150 N 11th St                                           El Centro, CA 92243‐2836                                                                                    First Class Mail
Chartered Organization         El Cerrito Police Dept                                 Mt Diablo‐Silverado Council 023         10900 San Pablo Ave                                     El Cerrito, CA 94530‐2387                                                                                   First Class Mail
Voting Party                   El Divino Redentor Umc                                 2421 Maple                              Mcallen, TX 78501                                                                                                                edrumcmcallen15@gmail.com          Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         El Do Youth Incorporated                               Ozark Trails Council 306                P.O. Box 52                                             El Dorado Springs, MO 64744‐0052                                                                            First Class Mail
Chartered Organization         El Dorado Branch ‐ LDS Tucson East Stake               Catalina Council 011                    6901 E Kenyon Dr                                        Tucson, AZ 85710‐4711                                                                                       First Class Mail
Chartered Organization         El Dorado County Fire District                         Golden Empire Council 047               P.O. Box 807                                            Camino, CA 95709‐0807                                                                                       First Class Mail
Chartered Organization         El Dorado County Fire Volunteer Assoc                  Golden Empire Council 047               4040 Carson Rd                                          Camino, CA 95709                                                                                            First Class Mail
Chartered Organization         El Dorado County Law Enforcement                       Golden Empire Council 047               300 Fair Ln                                             Placerville, CA 95667‐4102                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                    Page 91 of 442
                                                                                    Case 20-10343-LSS                                          Doc 8171                                             Filed 01/06/22                                                 Page 107 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                          Name                                                                                                    Address                                                                                                          Email                Method of Service
Voting Party                   El Dorado First United Methodist Church                        Attn: Andrea Hale                          201 S Hill Ave                                                   El Dorado, AR 71730                                                lraines@fridayfirm.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         El Mesias Methodist Church                                     Sam Houston Area Council 576               406 E Rittenhouse St                                             Houston, TX 77076‐1606                                                                                First Class Mail
Chartered Organization         El Mirage Police Dept                                          Grand Canyon Council 010                   12401 W Cinnabar Ave                                             El Mirage, AZ 85335‐3258                                                                              First Class Mail
Chartered Organization         El Monte Police Dept                                           Greater Los Angeles Area 033               11333 Valley Blvd                                                El Monte, CA 91731‐3227                                                                               First Class Mail
Chartered Organization         El Paso County Sheriffs Dept                                   Yucca Council 573                          3850 Justice Rd                                                  El Paso, TX 79938‐7472                                                                                First Class Mail
Chartered Organization         El Paso Elks Lodge 187                                         Yucca Council 573                          2278 Trawood Dr, Ste C                                           El Paso, TX 79935‐3028                                                                                First Class Mail
Chartered Organization         El Paso Elks Lodge 187                                         Yucca Council 573                          2278 Trawood Dr, Ste C‐D                                         El Paso, TX 79935‐3044                                                                                First Class Mail
Chartered Organization         El Paso Fire Dept                                              Yucca Council 573                          6800 Delta Dr                                                    El Paso, TX 79905‐5508                                                                                First Class Mail
Chartered Organization         El Paso Fire Protection District                               W D Boyce 138                              700 S Fayette St                                                 El Paso, IL 61738‐1442                                                                                First Class Mail
Chartered Organization         El Paso Police Dept.                                           Yucca Council 573                          9011 Escobar Dr                                                  El Paso, TX 79907‐1802                                                                                First Class Mail
Chartered Organization         El Redentor Presbyterian Church                                Central Florida Council 083                6971 Red Bug Lake Rd                                             Oviedo, FL 32765‐6528                                                                                 First Class Mail
Chartered Organization         El Reno First Chruch Of The Nazerene                           Last Frontier Council 480                  910 S Reno Ave                                                   El Reno, OK 73036‐5257                                                                                First Class Mail
Chartered Organization         El Rey Del Pollo                                               Pathway To Adventure 456                   1114 E Dundee Rd                                                 Palatine, IL 60074‐8305                                                                               First Class Mail
Chartered Organization         El Segundo Rotary Club                                         Greater Los Angeles Area 033               P.O. Box 85                                                      El Segundo, CA 90245‐0085                                                                             First Class Mail
Chartered Organization         El Sobrante Utd Methodist Church                               Mt Diablo‐Silverado Council 023            670 Appian Way                                                   El Sobrante, CA 94803‐1361                                                                            First Class Mail
Chartered Organization         Elan Academy Charter School                                    Southeast Louisiana Council 214            709 Park Blvd                                                    New Orleans, LA 70114‐5948                                                                            First Class Mail
Chartered Organization         Elanco                                                         Crossroads of America 160                  P.O. Box 708                                                     Greenfield, IN 46140‐0708                                                                             First Class Mail
Chartered Organization         Elba Volunteer Fire Auiiliaries                                Water and Woods Council 782                3714 Genesee Rd                                                  Lapeer, MI 48446‐2918                                                                                 First Class Mail
Chartered Organization         Elba Volunteer Fire Co Inc                                     Iroquois Trail Council 376                 Main St                                                          Elba, NY 14058                                                                                        First Class Mail
Chartered Organization         Elba Volunteer Fire Dept                                       Iroquois Trail Council 376                 Main St                                                          Elba, NY 14058                                                                                        First Class Mail
Chartered Organization         Elba Ward ‐ Declo Stake                                        Snake River Council 111                    1198 E 2000 S                                                    Elba, ID 83342                                                                                        First Class Mail
Chartered Organization         Elberfeld American Legion                                      Buffalo Trace 156                          350 N 4th St                                                     Elberfeld, IN 47613                                                                                   First Class Mail
Chartered Organization         Elbert Cnty Office Emgerceny Mgt                               Denver Area Council 061                    751 Ute Ave                                                      Kiowa, CO 80117‐9377                                                                                  First Class Mail
Chartered Organization         Elberta Volunteer Fire Dept                                    Mobile Area Council‐Bsa 004                P.O. Box 152                                                     Elberta, AL 36530‐0152                                                                                First Class Mail
Chartered Organization         Elberton First Utd Methodist Church                            Northeast Georgia Council 101              132 E Church St                                                  Elberton, GA 30635‐2420                                                                               First Class Mail
Chartered Organization         Elbow Lake Lions Club                                          Northern Lights Council 429                26779 Oak Point Rd                                               Elbow Lake, MN 56531‐9121                                                                             First Class Mail
Chartered Organization         Elbow Pat Group                                                Buffalo Trail Council 567                  411 6th St                                                       Forsan, TX 79720                                                                                      First Class Mail
Chartered Organization         Elbridge Community Church                                      Longhouse Council 373                      109 E Main St                                                    Elbridge, NY 13060                                                                                    First Class Mail
Chartered Organization         Elburn & Countryside Fire Prot Distr                           Three Fires Council 127                    210 E North St                                                   Elburn, IL 60119‐9003                                                                                 First Class Mail
Voting Party                   Elburn Daughtry                                                Address Redacted                                                                                                                                                                                                  First Class Mail
Chartered Organization         Elcho Utd Church Of Christ                                     Samoset Council, Bsa 627                   11291 Dorr St                                                    Elcho, WI 54428                                                                                       First Class Mail
Voting Party                   Elderslie St Andrews Umc                                       Attn: Kisha Thomas                         5601 Pimlico Rd                                                  Baltimore, MD 21209                                                info@esaumc.org                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Eldon Church Of The Nazarene                                   Great Rivers Council 653                   1024 E Lawson Ave                                                Eldon, MO 65026‐2607                                                                                  First Class Mail
Voting Party                   Eldon J Simpson                                                76 Rowell Rd                               Newport, NH 03773                                                                                                                   eldonsjass@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Eldon L Chadwick Post 6017 Vfw                                 President Gerald R Ford 781                8440 N US Hwy 31                                                 Pentwater, MI 49449‐8919                                                                              First Class Mail
Chartered Organization         Eldon Lions Club                                               Great Rivers Council 653                   P.O. Box 345                                                     Eldon, MO 65026‐0345                                                                                  First Class Mail
Chartered Organization         Eldon Vfw Post 2442                                            Great Rivers Council 653                   P.O. Box 301                                                     Eldon, MO 65026‐0301                                                                                  First Class Mail
Chartered Organization         Eldora Kiwanis                                                 Mid Iowa Council 177                       1113 Washington St                                               Eldora, IA 50627‐1662                                                                                 First Class Mail
Chartered Organization         Eldorado Firefighters Inc                                      Greater St Louis Area Council 312          901 4th St                                                       Eldorado, IL 62930‐1203                                                                               First Class Mail
Chartered Organization         Eldorado Rotary                                                Greater St Louis Area Council 312          865 Bourland Rd                                                  Eldorado, IL 62930‐3359                                                                               First Class Mail
Voting Party                   Eldred United Methodist Church (150946)                        c/o Bentz Law Firm                         Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200      Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Eldridge United Methodist Church                               Attn: Treasurer, Eldridge Umc              604 S 2nd St                                                     Eldridge, IA 52748                                                                                    First Class Mail
Voting Party                   Eleanor Morrison                                               c/o Boy Scouts of America                  Attn: Chase Koontz                                               1325 W Walnut Hill Ln           Irving, TX 75015                   chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Eleanor Presbyterian Church                                    Buckskin 617                               P.O. Box 896                                                     Eleanor, WV 25070‐0896                                                                                First Class Mail
Chartered Organization         Eleanor Roosevelt PTO                                          Washington Crossing Council 777            185 Walton Dr                                                    Morrisville, PA 19067‐5959                                                                            First Class Mail
Chartered Organization         Eleanor Skillen 34 As                                          Crossroads of America 160                  1410 Wade St                                                     Indianapolis, IN 46203‐4340                                                                           First Class Mail
Chartered Organization         Electchester Parents Assoc                                     Greater New York Councils, Bsa 640         6725 161st St, Apt 3C                                            Fresh Meadows, NY 11365‐3117                                                                          First Class Mail
Chartered Organization         Electric Power Research Institute                              Mecklenburg County Council 415             1300 W W T Harris Blvd                                           Charlotte, NC 28262‐8550                                                                              First Class Mail
Chartered Organization         Electroimpact Inc                                              Mount Baker Council, Bsa 606               4413 Chennault Beach Rd                                          Mukilteo, WA 98275‐5048                                                                               First Class Mail
Chartered Organization         Element Church                                                 Piedmont Council 420                       1071 S Broadway St                                               Forest City, NC 28043‐3680                                                                            First Class Mail
Chartered Organization         Elevation Utd Methodist Church                                 Tuscarora Council 424                      5101 Elevation Rd                                                Benson, NC 27504‐7392                                                                                 First Class Mail
Chartered Organization         Elf Khurafeh Shriners                                          Water and Woods Council 782                P.O. Box 3261                                                    Saginaw, MI 48605‐3261                                                                                First Class Mail
Chartered Organization         Elfinwild Utd Presbyterian Church                              Laurel Highlands Council 527               3200 Mount Royal Blvd                                            Glenshaw, PA 15116‐1408                                                                               First Class Mail
Chartered Organization         Elfrida Ward ‐ Lds St David Stake                              Catalina Council 011                       10539 N US Hwy 191                                               Elfrida, AZ 85610                                                                                     First Class Mail
Chartered Organization         Elgin Ch Izaak Walton League America                           Three Fires Council 127                    899 Jay St                                                       Elgin, IL 60120‐8243                                                                                  First Class Mail
Voting Party                   Elgin First United Methodist Church                            Attn: Alan Walters                         216 E Highland Ave                                               Elgin, IL 60120                                                    fumcelgin216@gmail.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Elgin First United Methodist Church                            608 G St                                   Elgin, OK 73538                                                                                                                     Elginmethodist@outlook.com         Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Elgin La Luz De Cristo                                         Attn: Ruben Rivera                         37W040 Highland Ave                                              Elgin, IL 60124                                                    ruben.nacho90@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elgin Lions Club                                               Winnebago Council, Bsa 173                 P.O. Box 184                                                     Elgin, IA 52141‐0184                                                                                  First Class Mail
Chartered Organization         Elgin Police Dept                                              Three Fires Council 127                    151 Douglas Ave                                                  Elgin, IL 60120‐5539                                                                                  First Class Mail
Chartered Organization         Elgin Police Dept                                              Capitol Area Council 564                   202 Depot St                                                     Elgin, TX 78621‐2615                                                                                  First Class Mail
Voting Party                   Elgin: Journey Of Hope                                         Attn: Jarrod Allen Severing                37W040 Highland Ave                                              Elgin, IL 60124                                                    jarrod.severing@gmail.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Eli Lilly & Co                                                 Computing and Information Technology       Crossroads of America 160                                        Lilly Corporate Center          Indianapolis, IN 46285                                                First Class Mail
Chartered Organization         Eli Lilly & Co ‐ General Engineering                           Crossroads of America 160                  893 S Delaware St                                                Indianapolis, IN 46225‐1782                                                                           First Class Mail
Chartered Organization         Eli Lilly & Co ‐ General Science                               Crossroads of America 160                  Lilly Corporate Center                                           Indianapolis, IN 46285                                                                                First Class Mail
Chartered Organization         Eli Pinney Elementary School PTO                               Simon Kenton Council 441                   9989 Concord Rd                                                  Dublin, OH 43017‐8511                                                                                 First Class Mail
Chartered Organization         Elim Lutheran Church                                           Cascade Pacific Council 492                15815 NE 182nd Ave                                               Brush Prairie, WA 98606‐9701                                                                          First Class Mail
Chartered Organization         Elim Lutheran Church                                           Trapper Trails 589                         575 23rd St                                                      Ogden, UT 84401‐1539                                                                                  First Class Mail
Chartered Organization         Elim Lutheran Church                                           Redwood Empire Council 041                 504 Baker St                                                     Petaluma, CA 94952‐2523                                                                               First Class Mail
Chartered Organization         Elim Lutheran Church                                           Northern Star Council 250                  3978 W Broadway Ave                                              Robbinsdale, MN 55422‐2275                                                                            First Class Mail
Chartered Organization         Elim Lutheran Church                                           Northern Star Council 250                  20971 Olinda Trl N                                               Scandia, MN 55073‐7613                                                                                First Class Mail
Voting Party                   Elim Lutheran Church                                           Attn: John Strongitharm ‐ Treasurer        6101 Cody St                                                     Duluth, MN 55807                                                   info@elimlc.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elim Lutheran Church (Elca)                                    Voyageurs Area 286                         6101 Cody St                                                     Duluth, MN 55807‐1972                                                                                 First Class Mail
Voting Party                   Elimsport United Methodist Church (8165)                       c/o Bentz Law Firm                         Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200      Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Eliot United Methodist Church                                  Attn: Dawn Dimanna                         238 Harold L Dow Hwy                                             Eliot, ME 03903                                                    graceinhim@comcast.net             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elisabet Ney Elementary School                                 Bay Area Council 574                       308 Winding Way St                                               Lake Jackson, TX 77566‐5311                                                                           First Class Mail
Voting Party                   Elissa M Stuttler                                              177 Congress Hill Rd                       Franklin, PA 16323                                                                                                                                                     First Class Mail
Chartered Organization         Elite Pipe Welding Academy                                     Sam Houston Area Council 576               7119 Village Way                                                 Houston, TX 77087‐2904                                                                                First Class Mail
Chartered Organization         Elite Retreat Of Shelley                                       Grand Teton Council 107                    193 W Pine St                                                    Shelley, ID 83274‐1234                                                                                First Class Mail
Firm                           Elizabeth A. Citrin, P.C.                                      Elizabeth A. Citrin, Esq.                  28311 N Main St, B‐103                                           Daphne, AL 36526                                                   elizabeth@elizabethcitrin.com      Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elizabeth Ann Seton Catholic Church                            California Inland Empire Council 045       3357 Cedarglen Rd                                                Ontario, CA 91761‐0342                                                                                First Class Mail
Voting Party                   Elizabeth Ann Seton Parish                                     Attn: Andre L Kydala                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                     First Class Mail
Chartered Organization         Elizabeth Baptist Church                                       Atlanta Area Council 092                   4245 Cascade Rd SW                                               Atlanta, GA 30331‐7245                                                                                First Class Mail
Chartered Organization         Elizabeth City Elks Lodge                                      Tidewater Council 596                      400 E Fearing St                                                 Elizabeth City, NC 27909‐4820                                                                         First Class Mail
Chartered Organization         Elizabeth City Police Dept                                     Tidewater Council 596                      305 E Amain St                                                   Elizabeth City, NC 27909                                                                              First Class Mail
Chartered Organization         Elizabeth City Rotary Club                                     Tidewater Council 596                      P.O. Box 508                                                     Elizabeth City, NC 27907‐0508                                                                         First Class Mail
Chartered Organization         Elizabeth Coalition To House Homeless                          Patriots Path Council 358                  118 Div St                                                       Elizabeth, NJ 07201                                                                                   First Class Mail
Voting Party                   Elizabeth D Mcrary                                             1300 Auton Rd                              Lenoir, NC 28645                                                                                                                    medmcrary@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Elizabeth Lee Umc                                              c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200        Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Elizabeth Lee United Methodist Church 116 Cove Rd Chickamaug   c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200        Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elizabeth Lee Utd Methodist Church                             Cherokee Area Council 556                  139 Cove Rd                                                      Chickamauga, GA 30707‐1406                                                                            First Class Mail
Voting Party                   Elizabeth Memorial United Methodist Church                     Attn: Current Trustee Chairperson          108 Oakwood Rd                                                   Charleston, WV 25314                                               elizabeth.memorial.umc@gmail.com   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elizabeth Morris Elementary                                    Greater St Louis Area Council 312          1700 Jerome Ln                                                   Cahokia, IL 62206‐2329                                                                                First Class Mail
Chartered Organization         Elizabeth Police Dept                                          Patriots Path Council 358                  1 Police Plz                                                     Elizabeth, NJ 07201‐2300                                                                              First Class Mail
Chartered Organization         Elizabeth Rotary                                               Patriots Path Council 358                  1085 Liberty Ave                                                 Hillside, NJ 07205‐2526                                                                               First Class Mail
Chartered Organization         Elizabeth Shelton PTA                                          Housatonic Council, Bsa 069                138 Willoughby Rd                                                Shelton, CT 06484‐5951                                                                                First Class Mail
Voting Party                   Elizabeth Street Umc                                           1209 N Elizabeth St                        Durham, NC 27701                                                                                                                    louise.mckellar1@gmail.com         Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Elizabeth Sullivan Memorial Umc                                Attn: Freda Billings                       1711 Gayland Dr                                                  Bogalusa, LA 70427                                                 esumumc@att.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Elizabeth Sullivan Memorial Umc                                510 Ave B                                  Bogalusa, LA 70427                                                                                                                  esumumc@att.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Elizabeth United Methodist Church                              Attn: Rev Craig Blankenship                P.O. Box 549                                                     Elizabeth, WV 26143                                                jcraigb11@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Elizabeth United Methodist Church In Smithfield                Attn: Rev Christine Yeatts/Brinda Pearce   4269 Cleveland Rd                                                Smithfield, NC 27577                                               kyeatts@nccumc.org                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elizabeth Waters School PTO                                    Bay‐Lakes Council 635                      495 Wabash Ave                                                   Fond Du Lac, WI 54935‐5924                                                                            First Class Mail
Voting Party                   Elizabeth: First                                               Attn: Roger Paul Bronkema                  309 S Main St                                                    Elizabeth, IL 61028                                                rbronkema18@gmail.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elizabethtown Baptist Church                                   Cape Fear Council 425                      1800 W Broad St                                                  Elizabethtown, NC 28337‐8820                                                                          First Class Mail
Chartered Organization         Elizabethtown Rotary Club                                      Cape Fear Council 425                      1100 E Broad St                                                  Elizabethtown, NC 28337                                                                               First Class Mail
Voting Party                   Elizabethtown St Paul's                                        c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200        Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Elizaville United Methodist Church                             740 County Rte 2                           Elizaville, NY 12523                                                                                                                nathan.badore@nyac‐umc.com         Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elk City Lodge 2343                                            Last Frontier Council 480                  P.O. Box 361                                                     Elk City, OK 73648‐0361                                                                               First Class Mail
Voting Party                   Elk City United Methodist Church                               Attn: Sherry Larson                        720 W Country Club                                               Elk City, OK 73644                                                 elkcityumc@cableone.net            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Elk City United Methodist Church                               Vicki Eileen Chambers                      720 W Country Club                                               Elk City, OK 73644                                                 elkcityumc@cableone.net            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elk County Tool & Die Inc                                      Bucktail Council 509                       P.O. Box 835                                                     Saint Marys, PA 15857‐0835                                                                            First Class Mail
Chartered Organization         Elk Creek Fire Protection District                             Denver Area Council 061                    P.O. Box 607                                                     Conifer, CO 80433‐0607                                                                                First Class Mail
Chartered Organization         Elk Elementary Center                                          Buckskin 617                               3320 Pennsylvania Ave                                            Charleston, WV 25302‐4632                                                                             First Class Mail
Chartered Organization         Elk Garden Utd Methodist Church                                Sequoyah Council 713                       P.O. Box 1433                                                    Lebanon, VA 24266‐1433                                                                                First Class Mail
Chartered Organization         Elk Grove Historical Society                                   Golden Empire Council 047                  9941 E Stockton Blvd                                             Elk Grove, CA 95759                                                                                   First Class Mail
Chartered Organization         Elk Grove Lions Club                                           Golden Empire Council 047                  P.O. Box 465                                                     Elk Grove, CA 95759‐0465                                                                              First Class Mail
Chartered Organization         Elk Grove Optimist Club                                        Golden Empire Council 047                  P.O. Box 672                                                     Elk Grove, CA 95759‐0672                                                                              First Class Mail
Chartered Organization         Elk Grove Police Dept                                          Golden Empire Council 047                  8380 Laguna Palms Way, Ste 100                                   Elk Grove, CA 95758‐8091                                                                              First Class Mail
Chartered Organization         Elk Hills Presbyterian Church                                  Buckskin 617                               109 Church Rd                                                    Charleston, WV 25302‐4505                                                                             First Class Mail
Chartered Organization         Elk Lick Camp Trails                                           Allegheny Highlands Council 382            2420 Bordell Rd                                                  Smethport, PA 16749‐4514                                                                              First Class Mail
Chartered Organization         Elk Mound Alternative High School                              Chippewa Valley Council 637                405 University St                                                Elk Mound, WI 54739‐9556                                                                              First Class Mail
Chartered Organization         Elk Mound Area Lions Club                                      Chippewa Valley Council 637                General Delivery                                                 Elk Mound, WI 54739                                                                                   First Class Mail
Chartered Organization         Elk Mound Area Lions Club                                      Chippewa Valley Council 637                400 N Holly Ave                                                  Elk Mound, WI 54739‐9700                                                                              First Class Mail
Chartered Organization         Elk Mound Middle School                                        Chippewa Valley Council 637                302 University St                                                Elk Mound, WI 54739‐9506                                                                              First Class Mail
Voting Party                   Elk Point United Parish                                        Attn: David Bambas                         107 N Douglas St, Box 147                                        Elk Point, SD 57025                                                epuppastor@gmail.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elk Ridge Shooting Sports LLC                                  Denver Area Council 061                    12105 W Cedar Dr                                                 Lakewood, CO 80228‐2103                                                                               First Class Mail
Chartered Organization         Elk River Lions                                                Central Minnesota 296                      General Delivery                                                 Elk River, MN 55330                                                                                   First Class Mail
Chartered Organization         Elk River Lions Club                                           Central Minnesota 296                      General Delivery                                                 Elk River, MN 55330                                                                                   First Class Mail
Chartered Organization         Elkdale Baptist Church                                         Tukabatchee Area Council 005               2221 Elkdale St                                                  Selma, AL 36701‐4912                                                                                  First Class Mail
Chartered Organization         Elkdale Scouting Committee                                     Tukabatchee Area Council 005               816 Selma Ave, Ste 5                                             Selma, AL 36701‐4628                                                                                  First Class Mail
Chartered Organization         Elkhardt Thompson Middle School                                Heart of Virginia Council 602              7825 Forest Hill Ave                                             Richmond, VA 23225‐1930                                                                               First Class Mail
Chartered Organization         Elkhart Conservation Club                                      Lasalle Council 165                        P.O. Box 784                                                     Elkhart, IN 46515‐0784                                                                                First Class Mail
Chartered Organization         Elkhart County Sheriff Dept                                    Lasalle Council 165                        26861 County Rd 26                                               Elkhart, IN 46517‐9782                                                                                First Class Mail
Chartered Organization         Elkhart Elementary PTO                                         Denver Area Council 061                    1020 Eagle St                                                    Aurora, CO 80011‐6902                                                                                 First Class Mail
Voting Party                   Elkhart Faith United Methodist Church, Inc.                    Attn: Michael Y Wyrick                     22045 County Rd 18                                               Goshen, IN 46528                                                   mywyrick1@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Elkhart First United Methodist Church                          Attn: Treasurer                            P.O. Box 468                                                     Elkhart, TX 75839                                                  elkhartumc@valornet.com            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elkhorn Hills Utd Methodist Men                                Mid‐America Council 326                    20227 Veterans Dr                                                Elkhorn, NE 68022‐2839                                                                                First Class Mail
Chartered Organization         Elkhorn Lion'S Club                                            Glaciers Edge Council 620                  P.O. Box 569                                                     Elkhorn, WI 53121                                                                                     First Class Mail
Voting Party                   Elkhorn Um Church                                              Attn: David G Poole                        1137 Linda Dr                                                    Princeton, IL 61356                                                                                   First Class Mail
Chartered Organization         Elkin Fire Dept                                                Old Hickory Council 427                    304 N Front St                                                   Elkin, NC 28621‐3338                                                                                  First Class Mail
Chartered Organization         Elkins Community Church                                        Westark Area Council 016                   12229 Elk Rdg                                                    Wesley, AR 72773‐9108                                                                                 First Class Mail
Voting Party                   Elkins Community Church                                        Attn: Marilyn Sue Carter                   P.O. Box 191                                                     Elkins, AR 72727                                                   lraines@fridayfirm.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elkins Lake Baptist Church                                     Sam Houston Area Council 576               206 Sh 19                                                        Huntsville, TX 77340                                                                                  First Class Mail
Chartered Organization         Elkins Park Presbyterian Church                                Cradle of Liberty Council 525              234 Cedar Rd                                                     Elkins Park, PA 19027‐1603                                                                            First Class Mail
Voting Party                   Elkland United Methodist Church (7181)                         c/o Bentz Law Firm                         Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200      Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Elkland United Methodist Church (7181)                         c/o Bentz Law Firm                         Attn: Leonard Spagnolo & Daniel Maier                            680 Washington Rd, Ste 200      Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Elkon Umc ‐ Elkton                                             c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200        Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Elks ‐ Bpoe Lodge 1087 S                                       Grand Teton Council 107                    640 E Elva St                                                    Idaho Falls, ID 83401‐2722                                                                            First Class Mail
Chartered Organization         Elks ‐ Bpoe Lodge 1416                                         Grand Teton Council 107                    P.O. Box 99                                                      Blackfoot, ID 83221‐0099                                                                              First Class Mail
Chartered Organization         Elks 2173                                                      Del Mar Va 081                             13308 Worcester Hwy                                              Bishopville, MD 21813‐1352                                                                            First Class Mail
Chartered Organization         Elks Casper Lodge                                              Greater Wyoming Council 638                108 E 7th St                                                     Casper, WY 82601‐3126                                                                                 First Class Mail
Chartered Organization         Elks Club 299                                                  Bay‐Lakes Council 635                      1943 Erie Ave                                                    Sheboygan, WI 53081‐3708                                                                              First Class Mail
Chartered Organization         Elks Club 676 ‐ Neenah‐Menasha                                 Bay‐Lakes Council 635                      328 Nicolet Blvd                                                 Menasha, WI 54952‐3334                                                                                First Class Mail
Chartered Organization         Elks Lodge 296                                                 Rainbow Council 702                        250 SE Frontage Rd                                               Joliet, IL 60431‐9057                                                                                 First Class Mail
Chartered Organization         Elks Lodge 399                                                 Caddo Area Council 584                     4701 Garland Ave                                                 Texarkana, AR 71854‐1439                                                                              First Class Mail
Chartered Organization         Elks Lodge ‐ Ames 1626                                         Mid Iowa Council 177                       522 Douglas Ave                                                  Ames, IA 50010‐6216                                                                                   First Class Mail
Chartered Organization         Elks Lodge ‐ Jefferson Bpoe 2306                               Mid Iowa Council 177                       103 E Harrison St                                                Jefferson, IA 50129                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 92 of 442
                                                                                 Case 20-10343-LSS                                            Doc 8171                                   Filed 01/06/22                                                    Page 108 of 457
                                                                                                                                                                            Exhibit B
                                                                                                                                                                             Service List
                                                                                                                                                                      Served as set forth below

        Description                                                       Name                                                                                            Address                                                                                                             Email              Method of Service
Chartered Organization         Elks Lodge 1053 (Bpoe)                                   Denver Area Council 061                          P.O. Box 1166                                         Montrose, CO 81402‐1166                                                                                First Class Mail
Chartered Organization         Elks Lodge 1082 ‐ Hoquiam                                Pacific Harbors Council, Bsa 612                 624 K St                                              Hoquiam, WA 98550‐3536                                                                                 First Class Mail
Chartered Organization         Elks Lodge 1112 San Mateo                                Pacific Skyline Council 031                      229 W 20th Ave                                        San Mateo, CA 94403‐1302                                                                               First Class Mail
Chartered Organization         Elks Lodge 1172                                          Great Swest Council 412                          2118 S Adams St                                       Tucumcari, NM 88401‐3864                                                                               First Class Mail
Chartered Organization         Elks Lodge 1189 Oregon City                              Cascade Pacific Council 492                      610 Mcloughlin Blvd                                   Oregon City, OR 97045‐1827                                                                             First Class Mail
Chartered Organization         Elks Lodge 1241                                          Central Florida Council 083                      P.O. Box 1346                                         Sanford, FL 32772‐1346                                                                                 First Class Mail
Chartered Organization         Elks Lodge 1246 Of Summit                                Patriots Path Council 358                        40 Maple St                                           Summit, NJ 07901‐2536                                                                                  First Class Mail
Chartered Organization         Elks Lodge 1249                                          Seneca Waterways 397                             233 S Main St                                         Newark, NY 14513                                                                                       First Class Mail
Chartered Organization         Elks Lodge 1296 Greenfield                               Western Massachusetts Council 234                3 Church St                                           Greenfield, MA 01301‐2992                                                                              First Class Mail
Chartered Organization         Elks Lodge 1419                                          California Inland Empire Council 045             1150 W 4th St                                         Ontario, CA 91762‐1704                                                                                 First Class Mail
Chartered Organization         Elks Lodge 142 Milwaukie Portland                        Cascade Pacific Council 492                      P.O. Box 22242                                        Portland, OR 97269‐2242                                                                                First Class Mail
Chartered Organization         Elks Lodge 1471 Palo Alto                                Pacific Skyline Council 031                      4249 El Camino Real                                   Palo Alto, CA 94306‐4405                                                                               First Class Mail
Chartered Organization         Elks Lodge 1475                                          Orange County Council 039                        211 E Chapman Ave                                     Orange, CA 92866‐1505                                                                                  First Class Mail
Chartered Organization         Elks Lodge 1623 (Bpoe)                                   Denver Area Council 061                          123 S Main St                                         Gunnison, CO 81230‐2332                                                                                First Class Mail
Chartered Organization         Elks Lodge 1632                                          Montana Council 315                              18 S Central Ave                                      Cut Bank, MT 59427‐2915                                                                                First Class Mail
Chartered Organization         Elks Lodge 1695 Polson                                   Montana Council 315                              512 Main St                                           Polson, MT 59860‐2712                                                                                  First Class Mail
Chartered Organization         Elks Lodge 1748 Seaside                                  Cascade Pacific Council 492                      324 Ave A                                             Seaside, OR 97138‐5721                                                                                 First Class Mail
Chartered Organization         Elks Lodge 179                                           Northern Star Council 250                        5880 Omaha Ave N                                      Stillwater, MN 55082‐6330                                                                              First Class Mail
Chartered Organization         Elks Lodge 1799 Blythe                                   California Inland Empire Council 045             244 W Hobsonway                                       Blythe, CA 92225‐1619                                                                                  First Class Mail
Chartered Organization         Elks Lodge 1839                                          California Inland Empire Council 045             P.O. Box 3387                                         Beaumont, CA 92223‐1203                                                                                First Class Mail
Chartered Organization         Elks Lodge 186 ‐ Olympia                                 Pacific Harbors Council, Bsa 612                 1818 4th Ave E                                        Olympia, WA 98506‐4630                                                                                 First Class Mail
Chartered Organization         Elks Lodge 187                                           Yucca Council 573                                2278 Trawood Dr                                       El Paso, TX 79935‐3044                                                                                 First Class Mail
Chartered Organization         Elks Lodge 1873                                          Central Florida Council 083                      1655 Kings Hwy                                        Kissimmee, FL 34744‐6422                                                                               First Class Mail
Chartered Organization         Elks Lodge 1884                                          Nevada Area Council 329                          P.O. Box 1177                                         Quincy, CA 95971‐1177                                                                                  First Class Mail
Chartered Organization         Elks Lodge 1889                                          Rio Grande Council 775                           1426 S Commerce St                                    Harlingen, TX 78550‐7713                                                                               First Class Mail
Chartered Organization         Elks Lodge 1905                                          California Inland Empire Council 045             P.O. Box 5266                                         Palm Springs, CA 92263‐5266                                                                            First Class Mail
Chartered Organization         Elks Lodge 1935                                          Oregon Trail Council 697                         P.O. Box 428                                          Coquille, OR 97423‐0428                                                                                First Class Mail
Chartered Organization         Elks Lodge 1968                                          San Diego Imperial Council 049                   1947 E Vista Way                                      Vista, CA 92084‐3320                                                                                   First Class Mail
Chartered Organization         Elks Lodge 1982                                          President Gerald R Ford 781                      4932 W Houghton Lake Dr                               Houghton Lake, MI 48629‐9203                                                                           First Class Mail
Chartered Organization         Elks Lodge 1991 Emerald Hills                            Pacific Skyline Council 031                      938 Wilmington Way                                    Emerald Hills, CA 94062‐4036                                                                           First Class Mail
Chartered Organization         Elks Lodge 1993                                          Orange County Council 039                        1451 Brea Blvd                                        Fullerton, CA 92835                                                                                    First Class Mail
Chartered Organization         Elks Lodge 2013                                          California Inland Empire Council 045             P.O. Box 3517                                         Fontana, CA 92334‐3517                                                                                 First Class Mail
Chartered Organization         Elks Lodge 2045                                          California Inland Empire Council 045             P.O. Box 771                                          Corona, CA 92878‐0771                                                                                  First Class Mail
Chartered Organization         Elks Lodge 2091 So San Francisco                         Pacific Skyline Council 031                      920 Stonegate Dr                                      South San Francisco, CA 94080‐1568                                                                     First Class Mail
Chartered Organization         Elks Lodge 2119 Of Manville/Hillsborough                 Patriots Path Council 358                        P.O. Box 355                                          Manville, NJ 08835‐0355                                                                                First Class Mail
Chartered Organization         Elks Lodge 216                                           Alamo Area Council 583                           15650 Market Hl                                       San Antonio, TX 78256‐1004                                                                             First Class Mail
Chartered Organization         Elks Lodge 218                                           Greater Yosemite Council 059                     8900 Thornton Rd                                      Stockton, CA 95209‐1820                                                                                First Class Mail
Chartered Organization         Elks Lodge 2210 Silverton                                Cascade Pacific Council 492                      300 High St                                           Silverton, OR 97381‐1711                                                                               First Class Mail
Chartered Organization         Elks Lodge 2218 Of Potosi                                Greater St Louis Area Council 312                P.O. Box 177                                          Potosi, MO 63664‐0177                                                                                  First Class Mail
Chartered Organization         Elks Lodge 2243                                          San Diego Imperial Council 049                   1393 Windsor Rd                                       Cardiff By the Sea, CA 92007‐1353                                                                      First Class Mail
Chartered Organization         Elks Lodge 2286 (Bpoe)                                   Denver Area Council 061                          P.O. Box 57                                           Glenwood Springs, CO 81602‐0057                                                                        First Class Mail
Chartered Organization         Elks Lodge 2314                                          California Inland Empire Council 045             55946 Yucca Trl                                       Yucca Valley, CA 92284‐2529                                                                            First Class Mail
Chartered Organization         Elks Lodge 2322                                          Bay Area Council 574                             623 Hanson Rd                                         Kemah, TX 77565‐2701                                                                                   First Class Mail
Chartered Organization         Elks Lodge 2383 Of Brandon                               Greater Tampa Bay Area 089                       800 Centennial Lodge Dr                               Brandon, FL 33510‐4634                                                                                 First Class Mail
Chartered Organization         Elks Lodge 2388 ‐ Lakewood                               Pacific Harbors Council, Bsa 612                 6313 75th St W                                        Lakewood, WA 98499‐8369                                                                                First Class Mail
Chartered Organization         Elks Lodge 24                                            Seneca Waterways 397                             3525 E Henrietta Rd                                   Henrietta, NY 14467‐9700                                                                               First Class Mail
Chartered Organization         Elks Lodge 2411 Gateway                                  Cascade Pacific Council 492                      16321 SE Stark St                                     Portland, OR 97233‐3957                                                                                First Class Mail
Chartered Organization         Elks Lodge 2440 Forest Grove                             Cascade Pacific Council 492                      2810 Pacific Ave                                      Forest Grove, OR 97116‐1846                                                                            First Class Mail
Chartered Organization         Elks Lodge 2444                                          Orange County Council 039                        25092 Marguerite Pkwy                                 Mission Viejo, CA 92692‐2444                                                                           First Class Mail
Chartered Organization         Elks Lodge 2477 Of Thousand Oaks                         Ventura County Council 057                       185 N Conejo School Rd                                Thousand Oaks, CA 91362                                                                                First Class Mail
Chartered Organization         Elks Lodge 2500                                          Great Swest Council 412                          1530 Barbara Loop Se                                  Rio Rancho, NM 87124‐1097                                                                              First Class Mail
Chartered Organization         Elks Lodge 2561 (Bpoe)                                   Denver Area Council 061                          P.O. Box 515                                          Silverthorne, CO 80498‐0515                                                                            First Class Mail
Chartered Organization         Elks Lodge 2587                                          Greater St Louis Area Council 312                1163 Tom Ginnever Ave                                 O Fallon, MO 63366‐4472                                                                                First Class Mail
Chartered Organization         Elks Lodge 2589 Battle Ground                            Cascade Pacific Council 492                      907 SE Grace Ave                                      Battle Ground, WA 98604‐8375                                                                           First Class Mail
Chartered Organization         Elks Lodge 2591                                          California Inland Empire Council 045             33700 Mission Trl                                     Wildomar, CA 92595‐8430                                                                                First Class Mail
Chartered Organization         Elks Lodge 2646                                          California Inland Empire Council 045             9202 E Ave                                            Hesperia, CA 92345                                                                                     First Class Mail
Chartered Organization         Elks Lodge 2701                                          Greater St Louis Area Council 312                921 N Perryville Blvd                                 Perryville, MO 63775‐1261                                                                              First Class Mail
Chartered Organization         Elks Lodge 317                                           Chief Seattle Council 609                        555 Otto St                                           Port Townsend, WA 98368‐9710                                                                           First Class Mail
Chartered Organization         Elks Lodge 343                                           Water and Woods Council 782                      3292 Beach Rd                                         Port Huron, MI 48060‐1739                                                                              First Class Mail
Chartered Organization         Elks Lodge 409                                           Ozark Trails Council 306                         2223 E Bennett St                                     Springfield, MO 65804‐1730                                                                             First Class Mail
Chartered Organization         Elks Lodge 444                                           Sioux Council 733                                460 Dakota Ave S                                      Huron, SD 57350‐2514                                                                                   First Class Mail
Chartered Organization         Elks Lodge 575 (Bpoe)                                    Denver Area Council 061                          249 S 4th St                                          Grand Junction, CO 81501‐2503                                                                          First Class Mail
Chartered Organization         Elks Lodge 583                                           California Inland Empire Council 045             663 New York St                                       Redlands, CA 92374‐2937                                                                                First Class Mail
Chartered Organization         Elks Lodge 593 ‐ Aberdeen                                Pacific Harbors Council, Bsa 612                 1712 S Boone St                                       Aberdeen, WA 98520‐7513                                                                                First Class Mail
Chartered Organization         Elks Lodge 639 Of Cape Girardeau                         Greater St Louis Area Council 312                639 Elks Ln                                           Cape Girardeau, MO 63701‐8407                                                                          First Class Mail
Chartered Organization         Elks Lodge 643                                           California Inland Empire Council 045             6166 Brockton Ave                                     Riverside, CA 92506‐2201                                                                               First Class Mail
Chartered Organization         Elks Lodge 687                                           Bay‐Lakes Council 635                            P.O. Box 95                                           Manitowoc, WI 54221‐0095                                                                               First Class Mail
Chartered Organization         Elks Lodge 692 (Bpoe)                                    Denver Area Council 061                          P.O. Box 3583                                         Telluride, CO 81435‐3583                                                                               First Class Mail
Chartered Organization         Elks Lodge 80                                            Cornhusker Council 324                           5910 South St 58Th                                    Lincoln, NE 68506                                                                                      First Class Mail
Chartered Organization         Elks Lodge 823 Vancouver                                 Cascade Pacific Council 492                      11605 SE Mcgillivray Blvd                             Vancouver, WA 98683‐5203                                                                               First Class Mail
Chartered Organization         Elks Lodge 836                                           California Inland Empire Council 045             2055 Elks Dr                                          San Bernardino, CA 92404‐5506                                                                          First Class Mail
Chartered Organization         Elks Lodge 837                                           Texas Swest Council 741                          421 San Felipe Springs Rd                             Del Rio, TX 78840                                                                                      First Class Mail
Chartered Organization         Elks Lodge 9                                             Greater St Louis Area Council 312                12481 Ladue Rd                                        Creve Coeur, MO 63141‐8100                                                                             First Class Mail
Chartered Organization         Elks Lodge 905                                           Pine Tree Council 218                            76 Industrial St                                      Waterville, ME 04901‐5774                                                                              First Class Mail
Chartered Organization         Elks Lodge 96 B.P.O.E.                                   Leatherstocking 400                              126 W Liberty St                                      Rome, NY 13440‐5718                                                                                    First Class Mail
Chartered Organization         Elks Lodge 992                                           Seneca Waterways 397                             P.O. Box 43                                           Seneca Falls, NY 13148‐0043                                                                            First Class Mail
Chartered Organization         Elks Lodge 994                                           Sioux Council 733                                504 W 27th St                                         Yankton, SD 57078‐5346                                                                                 First Class Mail
Chartered Organization         Elks Lodge 997 Northampton                               Western Massachusetts Council 234                17 Spring St                                          Florence, MA 01062‐9733                                                                                First Class Mail
Chartered Organization         Elks Lodge B.O.P.E. 42                                   Leatherstocking 400                              60 N Ann St                                           Little Falls, NY 13365                                                                                 First Class Mail
Chartered Organization         Elks Lodge Bpoe 2389                                     California Inland Empire Council 045             P.O. Box 578                                          Yucaipa, CA 92399‐0578                                                                                 First Class Mail
Chartered Organization         Elks Lodge Hemet                                         California Inland Empire Council 045             P.O. Box 596                                          Hemet, CA 92546‐0596                                                                                   First Class Mail
Chartered Organization         Elks Lodge No 1063                                       Greater St Louis Area Council 312                4801 Maryville Rd                                     Granite City, IL 62040‐2537                                                                            First Class Mail
Chartered Organization         Elks Lodge No 2347                                       Silicon Valley Monterey Bay 055                  1680 Martin Ave                                       Santa Clara, CA 95050‐2503                                                                             First Class Mail
Chartered Organization         Elks Lodge Of Greenwich‐Bpoe 2223                        Twin Rivers Council 364                          636 County Route 77                                   Greenwich, NY 12834‐2223                                                                               First Class Mail
Chartered Organization         Elks Lodge Of Park Ridge                                 Northern New Jersey Council, Bsa 333             13 Sulak Ln                                           Park Ridge, NJ 07656‐2104                                                                              First Class Mail
Chartered Organization         Elks Lodge Salem Post 336                                Cascade Pacific Council 492                      2336 Turner Rd Se                                     Salem, OR 97302‐2060                                                                                   First Class Mail
Chartered Organization         Elk'S Mt Clemens Lodge 2124                              Great Lakes Fsc 272                              179 S Main St                                         Mount Clemens, MI 48043‐2308                                                                           First Class Mail
Chartered Organization         Elks Of Lacey Lodge 2518                                 Jersey Shore Council 341                         900 Beach Blvd                                        Forked River, NJ 08731‐5225                                                                            First Class Mail
Chartered Organization         Elks Of Point Pleasant Lodge 1698                        Jersey Shore Council 341                         P.O. Box 1069                                         Pt Pleasant Beach, NJ 08742‐1069                                                                       First Class Mail
Chartered Organization         Elks Of Toms River Lodge 1875                            Jersey Shore Council 341                         600 Washington St                                     Toms River, NJ 08753‐6735                                                                              First Class Mail
Chartered Organization         Elks Usa Bpoe 2376                                       Heart of America Council 307                     7010 N Cherry St                                      Kansas City, MO 64118‐2641                                                                             First Class Mail
Chartered Organization         Elkton Lions Club                                        Water and Woods Council 782                      P.O. Box 371                                          Elkton, MI 48731‐0371                                                                                  First Class Mail
Voting Party                   Elkton United Methodist Church ‐ Elkton                  c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Elkton Utd Methodist Church                              Del Mar Va 081                                   219 E Main St                                         Elkton, MD 21921‐5717                                                                                  First Class Mail
Chartered Organization         Elkton Utd Methodist Church                              Stonewall Jackson Council 763                    205 Warren St                                         Elkton, VA 22827                                                                                       First Class Mail
Chartered Organization         El‐Ku‐Ta Lodge ‐ Order Of The Arrow                      Great Salt Lake Council 590                      P.O. Box 575                                          Stockton, UT 84071‐0517                                                                                First Class Mail
Chartered Organization         Ella Austin Community Center                             Alamo Area Council 583                           1023 N Pine St                                        San Antonio, TX 78202‐1203                                                                             First Class Mail
Chartered Organization         Ella Bailey Rec Center                                   Baltimore Area Council 220                       100 E Heath St                                        Baltimore, MD 21230‐4936                                                                               First Class Mail
Chartered Organization         Ella Risk 21St Century Program                           Narragansett 546                                 949 Dexter St                                         Central Falls, RI 02863‐1715                                                                           First Class Mail
Voting Party                   Ellen Louise Bridge                                      131 Main St                                      Newport, ME 04953                                                                                                           ebridge@tdstelme.net             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ellendale Baptist Church                                 Chickasaw Council 558                            3861 Broadway Rd                                      Bartlett, TN 38135‐1942                                                                                First Class Mail
Chartered Organization         Ellendale Utd Methodist Church                           Chickasaw Council 558                            P.O. Box 85                                           Ellendale, TN 38029‐0085                                                                               First Class Mail
Chartered Organization         Ellenville Methodist Church                              Rip Van Winkle Council 405                       85 Canal St                                           Ellenville, NY 12428‐1440                                                                              First Class Mail
Voting Party                   Ellenville United Methodist Church                       Attn: President of Trustees                      P.O. Box 591                                          Ellenville, NY 12428                                                  dlschmalzle@gmail.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Ellerbe First United Methodist Church                    Attn: Betty Lyerly                               P.O. Box 340                                          Ellerbe, NC 28338                                                     emily.hamil@nccumc.org           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ellerbe Utd Methodist Church                             Central N Carolina Council 416                   P.O. Box 340                                          Ellerbe, NC 28338‐0340                                                                                 First Class Mail
Chartered Organization         Ellettsville First Utd Methodist                         Hoosier Trails Council 145 145                   P.O. Box 548                                          Ellettsville, IN 47429‐0548                                                                            First Class Mail
Chartered Organization         Ellicott City Volunteer Fireman'S Assoc                  Baltimore Area Council 220                       4150 Montgomery Rd                                    Ellicott City, MD 21043‐6035                                                                           First Class Mail
Chartered Organization         Ellicott Fire Protection District                        Pikes Peak Council 060                           75 N Ellicott Hwy                                     Calhan, CO 80808‐7902                                                                                  First Class Mail
Chartered Organization         Ellicott School District 22                              Pikes Peak Council 060                           322 S Ellicott Hwy                                    Calhan, CO 80808‐8963                                                                                  First Class Mail
Chartered Organization         Ellicottville Fire Dept                                  Allegheny Highlands Council 382                  30 Filmore Dr                                         Ellicottville, NY 14731                                                                                First Class Mail
Chartered Organization         Ellingson Tactical Safety And Security                   Gamehaven 299                                    4550 NW 50th St                                       Medford, MN 55049‐8095                                                                                 First Class Mail
Voting Party                   Ellington A/C & Heat Inc                                 3280 Hwy US 1                                    Rockledge, FL 32955                                                                                                                                          First Class Mail
Voting Party                   Ellington United Methodist Church                        Attn: Cynthia F Wragge                           1131 Harris Hollow Rd                                 Gerry, NY 14740                                                                                        First Class Mail
Voting Party                   Ellington United Methodist Church                        Attn: Treasurer                                  P.O. Box 361                                          Ellington, NY 14732                                                                                    First Class Mail
Voting Party                   Ellingwood's Corner UMC                                  796 Lebanon Rd                                   Winterport, ME 04496                                                                                                        ellingwoodcornerumc@gmail.com    Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ellinwood Lions Club                                     Quivira Council, Bsa 198                         115 Pembroke Pl                                       Ellinwood, KS 67526‐1342                                                                               First Class Mail
Voting Party                   Elliot Investment Corp                                   dba Petals & Stems Florist                       13319 Montfort Dr                                     Dallas, TX 75240‐5116                                                                                  First Class Mail
Chartered Organization         Elliott Es PTO                                           Pathway To Adventure 456                         8718 White Oak Ave                                    Munster, IN 46321‐2738                                                                                 First Class Mail
Firm                           Elliott Stern Calabrese LLP                              Christopher J Calabrese                          1 East Main Street                                    Rochester, NY 14614                                                   chrisc@rochester‐law.com         Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ellis Arts Academy PTO                                   Blackhawk Area 660                               222 S Central Ave                                     Rockford, IL 61102‐2011                                                                                First Class Mail
Chartered Organization         Ellis County Sheriff Office                              Circle Ten Council 571                           300 S Jackson St                                      Waxahachie, TX 75165‐3750                                                                              First Class Mail
Chartered Organization         Ellis Eagles Parent Organization                         Southeast Louisiana Council 214                  801 Brockenbraugh Ct                                  Metairie, LA 70005‐2051                                                                                First Class Mail
Chartered Organization         Ellis Hollow Community Center                            Baden‐Powell Council 368                         111 Genung Rd                                         Ithaca, NY 14850                                                                                       First Class Mail
Chartered Organization         Ellis Rotary Club                                        Coronado Area Council 192                        201 E 6th St                                          Ellis, KS 67637‐2105                                                                                   First Class Mail
Chartered Organization         Ellis Vfw Post 9139                                      Coronado Area Council 192                        446 Feedlot Rd                                        Ellis, KS 67637‐9305                                                                                   First Class Mail
Chartered Organization         Ellisburg Volunteer Fire Dept                            Longhouse Council 373                            1395 N Main St                                        Ellisburg, NY 13636                                                                                    First Class Mail
Chartered Organization         Ellisville Rotary Club                                   Pine Burr Area Council 304                       P.O. Box 1                                            Ellisville, MS 39437‐0001                                                                              First Class Mail
Chartered Organization         Ellsinore Youth Center                                   Greater St Louis Area Council 312                1993 Carter 327                                       Ellsinore, MO 63937‐8628                                                                               First Class Mail
Chartered Organization         Ellsworth Home & School Assoc                            Three Fires Council 127                          145 N Sleight St                                      Naperville, IL 60540‐4739                                                                              First Class Mail
Chartered Organization         Ellsworth Presbyterian Church                            Great Trail 433                                  P.O. Box 55                                           Ellsworth, OH 44416‐0055                                                                               First Class Mail
Voting Party                   Ellsworth United Methodist Church                        Attn: Judy Bragg                                 P.O. Box471                                           Ellsworth, ME 04605                                                   jubobrag@myfairpoint.com         Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Ellsworth United Methodist Church                        Randall Chretien                                 34 Shadow Lane                                        Holden, ME 04429                                                      crcreesh@gmail.com               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ellwood School                                           Cradle of Liberty Council 525                    6701 N 13th St                                        Philadelphia, PA 19126‐2848                                                                            First Class Mail
Chartered Organization         Elm City Rotary Club                                     East Carolina Council 426                        P.O. Box 1643                                         Elm City, NC 27822‐1643                                                                                First Class Mail
Chartered Organization         Elm Creek Lions Club                                     Overland Trails 322                              P.O. Box 184                                          Elm Creek, NE 68836‐0184                                                                               First Class Mail
Chartered Organization         Elm Grove Baptist Church                                 Old N State Council 070                          1302 US 29 Bus                                        Reidsville, NC 27320‐8138                                                                              First Class Mail
Chartered Organization         Elm Grove Golden K Kiwanis Club                          Potawatomi Area Council 651                      1260 Church St                                        Elm Grove, WI 53122‐1767                                                                               First Class Mail
Chartered Organization         Elm Grove Methodist Church                               Ohio River Valley Council 619                    125 Kruger St                                         Elm Grove, WV 26003‐5120                                                                               First Class Mail
Chartered Organization         Elm Grove PTA                                            Sam Houston Area Council 576                     2815 Clear Ridge Dr                                   Kingwood, TX 77339‐1328                                                                                First Class Mail
Voting Party                   Elm Grove United Methodist Church                        Attn: Tim W Kimpel                               125 Kruger St                                         Wheeling, WV 26003                                                    tw.kimpel@gmail.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Elm Park United Methodist Church                         Attn: Bruce Downie                               401 Chestnut St                                       Oneonta, NY 13820                                                     epumc1@gmail.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Elm Park United Methodist Church (32130325)              c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Elm Street United Methodist Church                       Attn: Treasurer Elm St United Methodist Church   P.O. Box 2410                                         S Portland, ME 04116                                                  epiphanyumc@cnymail.com          Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Elma Grange 26                                           Pacific Harbors Council, Bsa 612                 P.O. Box 1882                                         Elma, WA 98541‐1882                                                                                    First Class Mail
Voting Party                   Elma United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Elma United Methodist Church                             Attn: Pastor                                     2991 Bowen Rd                                         Elma, NY 14059                                                        elmaumoffice@gmail.com           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Firm                           Elmbrook Law Offices, LLC                                Gregory Straub                                   850 Elm Grove Road, Ste 20                            Elm Grove, WI 53122                                                   greg‐straub@msn.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Elmer E Vance Post 386‐American Legion                   Abraham Lincoln Council 144                      118 S Dye St                                          Virden, IL 62690‐1404                                                                                  First Class Mail
Chartered Organization         Elmer Ellis Post 33 American Legion                      Pony Express Council 311                         911 N Ashland Dr                                      Cameron, MO 64429‐1153                                                                                 First Class Mail
Chartered Organization         Elmer Grange 29                                          Garden State Council 690                         535 Daretown Rd                                       Elmer, NJ 08318                                                                                        First Class Mail
Chartered Organization         Elmer T. Hawkins Lodge No. 113                           Transatlantic Council, Bsa 802                   Cmr 447 Box 56                                        Apo, AE 09020                                                                                          First Class Mail
Chartered Organization         Elmhurst Elementary School                               Erie Shores Council 460                          4530 Elmhurst Rd                                      Toledo, OH 43613‐3128                                                                                  First Class Mail
Chartered Organization         Elmhurst Fire Dept                                       Three Fires Council 127                          209 N York St                                         Elmhurst, IL 60126‐2717                                                                                First Class Mail
Chartered Organization         Elmhurst Police Dept                                     Three Fires Council 127                          125 E 1st St                                          Elmhurst, IL 60126‐2818                                                                                First Class Mail
Chartered Organization         Elmira City School PTA                                   Five Rivers Council, Inc 375                     110 Hendy Ave                                         Elmira, NY 14905‐1905                                                                                  First Class Mail
Chartered Organization         Elmira Elks Lodge 62                                     Five Rivers Council, Inc 375                     300 E Gray St                                         Elmira, NY 14901‐3110                                                                                  First Class Mail
Chartered Organization         Elmo F Hill Post 291                                     W D Boyce 138                                    610 E South St                                        Lexington, IL 61753‐1506                                                                               First Class Mail
Voting Party                   Elmont United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Elmont Utd Methodist Church                              Jayhawk Area Council 197                         6635 NW Church Ln                                     Topeka, KS 66618‐2032                                                                                  First Class Mail
Chartered Organization         Elmont Volunteer Fire Dept                               Theodore Roosevelt Council 386                   95 Lehrer Ave                                         Elmont, NY 11003‐2431                                                                                  First Class Mail
Voting Party                   Elmore United Methodist Church                           Attn: Patricia Jacob                             153 Fox Hill Dr                                       Jeffersonville, VT 05464                                              Pattyjacobvt@gmail.com           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Elmore United Methodist Church                           P.O. Box 181                                     Lake Elmore, VT 05657                                                                                                       Pattyjacobvt@gmail.com           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Elmsford Fire Dept                                       Westchester Putnam 388                           15 S Stone Ave                                        Elmsford, NY 10523‐3612                                                                                First Class Mail
Chartered Organization         Elmwood Avenue Baptist Church                            Five Rivers Council, Inc 375                     232 Elmwood Ave                                       Elmira Heights, NY 14903‐1316                                                                          First Class Mail
Voting Party                   Elmwood Avenue Presbyterian Church                       Attn: Melinda E Wingenbach                       2816 Elmwood Ave                                      Erie, PA 16508                                                        elmwoodbookkeeper@gmail.com      Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Elmwood Elementary PTA                                   Great Lakes Fsc 272                              22700 California St                                   Saint Clair Shores, MI 48080‐3824                                                                      First Class Mail
Chartered Organization         Elmwood Home & School Assoc                              Potawatomi Area Council 651                      5900 S Sunnyslope Rd                                  New Berlin, WI 53151‐8719                                                                              First Class Mail
Chartered Organization         Elmwood Park Volunteer Fire Dept                         Northern New Jersey Council, Bsa 333             98 Martha Ave                                         Elmwood Park, NJ 07407‐1130                                                                            First Class Mail
Chartered Organization         Elmwood Presbyterian Church                              Northern New Jersey Council, Bsa 333             135 Elmwood Ave                                       East Orange, NJ 07018‐2420                                                                             First Class Mail
Chartered Organization         Elmwood Pto                                              Water and Woods Council 782                      1533 Elmwood Rd                                       Lansing, MI 48917‐1543                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                             Page 93 of 442
                                                                                  Case 20-10343-LSS                                                                                    Doc 8171                                                    Filed 01/06/22                                                   Page 109 of 457
                                                                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                                                                  Service List
                                                                                                                                                                                                                           Served as set forth below

        Description                                                       Name                                                                                                                                                  Address                                                                                                                 Email               Method of Service
Voting Party                   Elmwood United Presbyterian Church                                                       Karen H. Jackson                                         135 Elmwood Ave                                                      East Orange, NJ 07018                                                   cuddlesrock@aol.com                Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Elmwood United Presbyterian Church                                                       c/o Ellen O'Connell, Esq.                                600 Parsippany Rd, Ste 204                                           Parsippany, NJ 07054                                                    cuddlesrock@aol.com                Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Elmwood Volunteer Fire Dept                                                              Cornhusker Council 324                                   P.O. Box 3                                                           Elmwood, NE 68349‐0003                                                                                     First Class Mail
Chartered Organization         Elon College Fire Rescue Explorers                                                       Old N State Council 070                                  P.O. Box 595                                                         Elon College, NC 27244‐0595                                                                                First Class Mail
Chartered Organization         Elon Community Utd Church Of Christ                                                      Old N State Council 070                                  204 N Williamson Ave                                                 Elon, NC 27244‐9151                                                                                        First Class Mail
Chartered Organization         Eloy Fire District                                                                       Grand Canyon Council 010                                 4010 N Toltec Rd                                                     Eloy, AZ 85131‐1400                                                                                        First Class Mail
Voting Party                   Elroy United Methodist Church                                                            Attn: Gary Broad Treas Elroy United Methodist Church     125 Royall Ave                                                       Elroy, WI 53929                                                         ggboard@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Elsberry Methodist Church                                                                Greater St Louis Area Council 312                        109 N 4th St                                                         Elsberry, MO 63343‐1222                                                                                    First Class Mail
Voting Party                   Elsberry United Methodist Church                                                         Attn: Sarah Hunt                                         109 N 4th St                                                         Elsberry, MO 63343                                                      sarahlhunt@sbcglobal.net           Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Elsie‐Vinemaple Firefighters Assoc                                                       Cascade Pacific Council 492                              42644 Loyd Ln                                                        Seaside, OR 97138‐6095                                                                                     First Class Mail
Chartered Organization         Elsmere Fire Co A Inc                                                                    Twin Rivers Council 364                                  15 W Poplar Dr                                                       Delmar, NY 12054‐2140                                                                                      First Class Mail
Chartered Organization         Eltingville Lutheran Church                                                              Greater New York Councils, Bsa 640                       300 Genesee Ave                                                      Staten Island, NY 10312‐2449                                                                               First Class Mail
Voting Party                   Elton United Methodist Church                                                            Attn: Sara Rozas                                         P.O. Box 733                                                         Elton, LA 70532                                                         sara.l.rozas@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Elverson United Methodist Church                                                         c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Elverson United Methodist Church                                                         32 E Main Sr                                             Elverson, PA 19520                                                                                                                                                              First Class Mail
Chartered Organization         Elverson/Morgantown Lions Club                                                           Chester County Council 539                               101 S Chestnut St                                                    Elverson, PA 19520‐9410                                                                                    First Class Mail
Chartered Organization         Elwin Utd Methodist Church                                                               Greater St Louis Area Council 312                        1260 W Elwin Rd                                                      Elwin, IL 62532                                                                                            First Class Mail
Chartered Organization         Elwood Community Church                                                                  Rainbow Council 702                                      P.O. Box 305                                                         Elwood, IL 60421‐0305                                                                                      First Class Mail
Chartered Organization         Elwood Optimist Club                                                                     Crossroads of America 160                                7753 W 1300 N                                                        Elwood, IN 46036‐9208                                                                                      First Class Mail
Chartered Organization         Elwood Volunteer Fire Co                                                                 Jersey Shore Council 341                                 P.O. Box 223                                                         Elwood, NJ 08217‐0223                                                                                      First Class Mail
Chartered Organization         Ely Chapman Education Foundation                                                         Muskingum Valley Council, Bsa 467                        403 Scammel St                                                       Marietta, OH 45750‐2008                                                                                    First Class Mail
Voting Party                   Ely Northland Market                                                                     Attn: Donna Richards                                     1230 E Sheridan St                                                   Ely, MN 55731                                                           enm@frontiernet.net                Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Ely United Methodist Church                                                              Attn: Paul Podbourny                                     P.O. Box 151838                                                      Ely, NV 89315                                                           ElyUMC@att.net                     Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ely‐Fagan American Legion Post 1151                                                      Seneca Waterways 397                                     P.O. Box 72                                                          Henrietta, NY 14467‐0072                                                                                   First Class Mail
Chartered Organization         Elyria Community                                                                         Lake Erie Council 440                                    300 Abbe Rd N                                                        Elyria, OH 44035‐3724                                                                                      First Class Mail
Chartered Organization         Elyria Moose Lodge 778                                                                   Lake Erie Council 440                                    555 Ternes Ln                                                        Elyria, OH 44035‐6251                                                                                      First Class Mail
Chartered Organization         Elysburg Presbyterian Church                                                             Susquehanna Council 533                                  320 W Valley Ave                                                     Elysburg, PA 17824‐7245                                                                                    First Class Mail
Chartered Organization         Emalea Warner Elementary School                                                          Del Mar Va 081                                           801 W 18th St                                                        Wilmington, DE 19802‐3852                                                                                  First Class Mail
Chartered Organization         Eman Schools                                                                             Crossroads of America 160                                11965 Allisonville Rd                                                Fishers, IN 46038‐2315                                                                                     First Class Mail
Chartered Organization         Emanuel Advent Christian Church                                                          Daniel Webster Council, Bsa 330                          24 Eern Ave                                                          Rochester, NH 03867                                                                                        First Class Mail
Voting Party                   Emanuel Church                                                                           Attn: Charter Rep                                        324 W Main St                                                        P.O. Box 415                         Manchester, MI 48158               emanuelucc8359@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Emanuel Episcopal                                                                        Baden‐Powell Council 368                                 W Main St                                                            Norwich, NY 13815                                                                                          First Class Mail
Voting Party                   Emanuel Evangelical Lutheran Church                                                      200 Greenwood St                                         Worcester, MA 01607                                                                                                                          emanuellutheran@aol.com            Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Emanuel Lutheran Church                                                                  Mid‐America Council 326                                  2444 N Broadway                                                      Council Bluffs, IA 51503‐0432                                                                              First Class Mail
Chartered Organization         Emanuel Lutheran Church                                                                  Northern Star Council 250                                2075 70th St E                                                       Inver Grove Heights, MN 55077‐2533                                                                         First Class Mail
Chartered Organization         Emanuel Lutheran Church                                                                  Buckeye Council 436                                      241 S Prospect St                                                    Marion, OH 43302‐3921                                                                                      First Class Mail
Chartered Organization         Emanuel Lutheran Church                                                                  Westchester Putnam 388                                   197 Manville Rd                                                      Pleasantville, NY 10570‐2136                                                                               First Class Mail
Chartered Organization         Emanuel Lutheran Church Of Milbank                                                       Sioux Council 733                                        701 S 1st St                                                         Milbank, SD 57252‐2803                                                                                     First Class Mail
Chartered Organization         Emanuel Utd Church Of Christ                                                             Southern Shores Fsc 783                                  324 W Main St                                                        Manchester, MI 48158‐8667                                                                                  First Class Mail
Chartered Organization         Emanuel Utd Church Of Christ                                                             Northeastern Pennsylvania Council 501                    7768 Blue Ridge Trl                                                  Mountain Top, PA 18707‐3110                                                                                First Class Mail
Chartered Organization         Emanuel Utd Church Of Christ                                                             Buckeye Council 436                                      13989 Pitt Rd 127                                                    Upper Sandusky, OH 43351                                                                                   First Class Mail
Chartered Organization         Emanuel Utd Methodist Church                                                             Seneca Waterways 397                                     925 Joseph Ave                                                       Rochester, NY 14621‐3448                                                                                   First Class Mail
Chartered Organization         Embry Hills Methodist Church                                                             Atlanta Area Council 092                                 3304 Henderson Mill Rd                                               Atlanta, GA 30341‐4504                                                                                     First Class Mail
Voting Party                   Embry Hills United Methodist Church ‐ Atlanta                                            c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Embry Riddle Aeronautical University                                                     Central Florida Council 083                              1 Aerospace Blvd                                                     Daytona Beach, FL 32114‐3910                                                                               First Class Mail
Voting Party                   Embury United Methodist Church                                                           Attn: Terrie Lamica, Treasurer                           2060 Locke‐Cuba Rd                                                   Millington, TN 38053                                                    terrie.lamica@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Embury United Methodist Church (078840)                                                  c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                               680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Embury Utd Methodist Church                                                              Monmouth Council, Bsa 347                                49 Church St                                                         Little Silver, NJ 07739‐1401                                                                               First Class Mail
Voting Party                   Embury: Little Silver                                                                    c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Emerald Academy                                                                          Great Smoky Mountain Council 557                         220 Carrick St                                                       Knoxville, TN 37921‐6323                                                                                   First Class Mail
Chartered Organization         Emerald Avenue Utd Methodist Church                                                      Great Smoky Mountain Council 557                         1620 N Central St                                                    Knoxville, TN 37917‐5541                                                                                   First Class Mail
Chartered Organization         Emerald Bay Assoc                                                                        W.L.A.C.C. 051                                           P.O. Box 959                                                         Venice, CA 90294‐0959                                                                                      First Class Mail
Chartered Organization         Emerald Bible Fellowship                                                                 Oregon Trail Council 697                                 1855 Cal Young Rd                                                    Eugene, OR 97401‐2040                                                                                      First Class Mail
Chartered Organization         Emerald City Marine Corps League                                                         Leatherstocking 400                                      Legion Dr                                                            Chittenango, NY 13037                                                                                      First Class Mail
Chartered Organization         Emerald Glen                                                                             Simon Kenton Council 441                                 930 Regentshire Dr                                                   Columbus, OH 43228‐6327                                                                                    First Class Mail
Voting Party                   Emerald Saint Peter's                                                                    7860 Center St                                           Emerald, PA 18080                                                                                                                            ritz007@verizon.net                Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Emergency Medical Svcs                                                                   Education and Consulting Inc                             24423 Rolling Meadow Dr                                              Tomball, TX 77375‐5005                                                                                     First Class Mail
Voting Party                   Emerickville United Methodist Church (85413)                                             c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                               680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Emerson 2Nd Ward ‐ Paul Stake                                                            Snake River Council 111                                  125 S 950 W                                                          Paul, ID 83347                                                                                             First Class Mail
Chartered Organization         Emerson Elementary PTO                                                                   Mid Iowa Council 177                                     1109 E Euclid Ave                                                    Indianola, IA 50125‐2899                                                                                   First Class Mail
Chartered Organization         Emerson Elementary School                                                                Gateway Area 624                                         2101 Campbell Rd                                                     La Crosse, WI 54601‐3845                                                                                   First Class Mail
Chartered Organization         Emerson Elementary School PTO                                                            Great Lakes Fsc 272                                      32151 Danna                                                          Fraser, MI 48026‐3253                                                                                      First Class Mail
Chartered Organization         Emerson Unitarian Universalist Congr Inc                                                 Atlanta Area Council 092                                 4010 Canton Rd                                                       Marietta, GA 30066‐7623                                                                                    First Class Mail
Chartered Organization         Emerson Ward ‐ Paul Stake                                                                Snake River Council 111                                  125 S 950 W                                                          Paul, ID 83347                                                                                             First Class Mail
Chartered Organization         Emerson‐Williams School P T O                                                            Connecticut Rivers Council, Bsa 066                      461 Wells Rd                                                         Wethersfield, CT 06109‐2874                                                                                First Class Mail
Firm                           Emery Celli Brinckerhoff Abady Ward & Maazel LLP and Kaufman Lieb Lebowitz & Frick LLP   Debra Greenberger at ECBAWM and David Lebowitz at KLLF   ECBAWM: 600 5th ave, 10th Floor, NY, NY 10020; KLLF: 10 E. 40th      New York, NY 10020                                                      dgreenberger@ecbawm.com            Email
                                                                                                                                                                                 Street, Ste. 3307 NY, NY 10016                                                                                                               dlebowitz@kllflaw.com              First Class Mail
Chartered Organization         Emerywood Baptist Church                                                                 Old N State Council 070                                  1300 Country Club Dr                                                 High Point, NC 27262‐4554                                                                                  First Class Mail
Chartered Organization         Emilie Utd Methodist Church                                                              Washington Crossing Council 777                          7300 New Falls Rd                                                    Levittown, PA 19055‐1007                                                                                   First Class Mail
Chartered Organization         Eminence Christian Church                                                                Hoosier Trails Council 145 145                           P.O. Box 203                                                         Eminence, IN 46125‐0203                                                                                    First Class Mail
Chartered Organization         Emington Utd Church Of Christ                                                            W D Boyce 138                                            103 Div St                                                           Emington, IL 60934                                                                                         First Class Mail
Voting Party                   Emlenton Presbyterian Church                                                             Attn: Stacey Logue, Clerk of Session                     508 Main St                                                          Emlenton, PA 16373                                                      staceylogue570@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emma Gray Memorial United Methodist Church                                               Attn: Rev Andy Watson                                    321 W Georgia St                                                     Woodruff, SC 29388                                                      bullboy81@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Emma Gray Utd Methodist Church                                                           Palmetto Council 549                                     321 W Georgia St                                                     Woodruff, SC 29388‐1814                                                                                    First Class Mail
Chartered Organization         Emma Gray Utd Methodist Men                                                              Palmetto Council 549                                     321 W Georgia St                                                     Woodruff, SC 29388‐1814                                                                                    First Class Mail
Chartered Organization         Emma H Willard School P T O                                                              Connecticut Rivers Council, Bsa 066                      1088 Norton Rd                                                       Berlin, CT 06037‐3020                                                                                      First Class Mail
Voting Party                   Emmanual Church Of Middleburg, Virginia                                                  Attn: Mary Gayle Holden                                  109 N Bailey Ln                                                      Middleburg, VA 20132                                                                                       First Class Mail
Voting Party                   Emmanual Church Of Middleburg, Virginia                                                  Eugene Lecouteur                                         P.O. Box 306                                                         Middleburg, VA 20118                                                                                       First Class Mail
Chartered Organization         Emmanuel Baptist Church                                                                  Louisiana Purchase Council 213                           430 Jackson St                                                       Alexandria, LA 71301‐8359                                                                                  First Class Mail
Chartered Organization         Emmanuel Baptist Church                                                                  Buckskin 617                                             1401 Washington St W                                                 Charleston, WV 25387‐2313                                                                                  First Class Mail
Chartered Organization         Emmanuel Baptist Church                                                                  Golden Empire Council 047                                9350 Kiefer Blvd                                                     Sacramento, CA 95826‐5502                                                                                  First Class Mail
Chartered Organization         Emmanuel Christian Academy                                                               Great Trail 433                                          350 S Portage Path                                                   Akron, OH 44320‐2336                                                                                       First Class Mail
Voting Party                   Emmanuel Church And Rectory (Dublin)                                                     c/o The Tamposi Law Group, PC                            Attn: Peter N Tamposi                                                159 Main St                          Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Emmanuel Church Geneva                                                                   Transatlantic Council, Bsa 802                           3 Rue Monthoux                                                       Geneva, 1201                         Switzerland                                                           First Class Mail
Chartered Organization         Emmanuel Church Of God In Christ                                                         Southern Shores Fsc 783                                  106 E Saint Marys St                                                 Decatur, MI 49045‐1021                                                                                     First Class Mail
Chartered Organization         Emmanuel Commty                                                                           United Methodist Church                                 Potawatomi Area Council 651                                          N84W16707 Menomonee Ave              Menomonee Falls, Wi 53051                                             First Class Mail
Voting Party                   Emmanuel Community United Methodist Church                                               Attn: Gary Morgan                                        N84W16707 Menomonee Ave                                              Menomonee Falls, WI 53051                                                                                  First Class Mail
Chartered Organization         Emmanuel Episcopal Church                                                                Five Rivers Council, Inc 375                             380 Pennsylvania Ave                                                 Elmira, NY 14904‐1759                                                                                      First Class Mail
Chartered Organization         Emmanuel Episcopal Church                                                                Stonewall Jackson Council 763                            660 S Main St                                                        Harrisonburg, VA 22801‐5819                                                                                First Class Mail
Chartered Organization         Emmanuel Episcopal Church                                                                Chief Seattle Council 609                                4400 86th Ave Se                                                     Mercer Island, WA 98040‐4146                                                                               First Class Mail
Chartered Organization         Emmanuel Episcopal Church                                                                National Capital Area Council 082                        P.O. Box 306                                                         Middleburg, VA 20118‐0306                                                                                  First Class Mail
Chartered Organization         Emmanuel Episcopal Church                                                                Last Frontier Council 480                                214 W Farrall                                                        Shawnee, OK 74801‐8320                                                                                     First Class Mail
Chartered Organization         Emmanuel Episcopal Church                                                                North Florida Council 087                                P.O. Box 302                                                         Welaka, FL 32193‐0302                                                                                      First Class Mail
Chartered Organization         Emmanuel Episcopal Church                                                                Blue Grass Council 204                                   General Delivery                                                     Winchester, KY 40391                                                                                       First Class Mail
Voting Party                   Emmanuel Episcopal Church                                                                Attn: Tom Dahlman                                        501 N Broadway Ave                                                   Shawnee, OK 74801                                                       tom.dahlman@emmanuelshawnee.com    Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church                                                                Attn: Tom Dahlman                                        P.O. Box 1905                                                        Shawnee, OK 74802                                                       tom.dahlman@emmanuelshawnee.com    Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church                                                                Attn:Rev. Diane Tomlinson                                412 N Church St                                                      Rockford, IL 61103                                                      rectordiane@emmanuelrockford.org   Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church                                                                P.O. Box 26                                              Chatham, VA 24531                                                                                                                            rectorchatham1844@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church                                                                5181 Singleton Way                                       Virginia Beach, VA 23462                                                                                                                     office.emmanuelvb@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church                                                                Attn: Matthew W Ryan                                     144 E 4th St                                                         Emporium, PA 15834                                                      mattwryan@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church                                                                Attn: Courtney Carter                                    P.O. Box 302                                                         Welaka, FL 32193                                                        ladycourt@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church                                                                Attn: Todd Blomerth                                      118 N Church St                                                      Lockhart, TX 78644                                                      emmanuellockhart@sbcglobal.net     Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church                                                                327 N Center St                                          Corry, PA 16407                                                                                                                              emmanuel.corry@yahoo.com           Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church                                                                400 N High St                                            Franklin, VA 23851                                                                                                                           emmanual1882@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church                                                                c/o Rogers Towers, Pa                                    Attn: Betsy C Cox, Esq                                               1301 Riverplace Blvd, Ste 1500       Jacksonville, FL 32207             bcox@rtlaw.com                     Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church                                                                Attn: Susan Grosso                                       1603 E Winter Park Rd                                                Orlando, FL 32803                                                       admin@emmanuelepiscopal.net        Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church (Chestertown)                                                  c/o The Law Office of Andrea Ross                        Attn: Andrea Ross, Esq                                               129 N West St, Ste 1                 Easton, MD 21601                   Andie@AndieRossLaw.com             Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church (Cumberland)                                                   c/o The Tamposi Law Group, PC                            Attn: Peter N Tamposi                                                159 Main St                          Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church (Newport)                                                      c/o The Tamposi Law Group, PC                            Attn: Peter N Tamposi                                                159 Main St                          Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church Hampton Virginia                                               Attn: Rhonda Wheeler                                     179 E Mercury Blvd                                                   Hampton, VA 23669                                                       office@emmanuelhampton.org         Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church Of La Grange, Illinois                                         Attn: Parish Administrator                               203 S Kensington Ave                                                 La Grange, IL 60525                                                     admin@eeclg.org                    Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church Of Middleburg, Virginia                                        Mary Gayle Holden                                        105 E Washington St                                                  Middleburg, VA 20117                                                    mgholden@thtlawfirm.com            Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church, Elmira, New York                                              P.O. Box 3520                                            Syracuse, NY 13220                                                                                                                           marthalberry@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church, Inc.                                                          2410 Lexington Rd                                        Winchester, KY 40391                                                                                                                         mtyeiser@hotmail.com               Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Episcopal Church, Norwich, New York                                             P.O. Box 3520                                            Syracuse, NY 13220                                                                                                                           emmanuelchurch@frontiernet.net     Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Evangelical Lutheran Church Columbus, Nebraska                                  Attn: Clark Grant                                        P.O. Box 455                                                         Columbus, NE 68602                                                      clark@grantattorney.com            Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Evangelical Lutheran Church La Habra, Ca                                        150 N Palm St                                            La Habra, CA 90631                                                                                                                           churchinfo@elclh.org               Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Emmanuel Family And Child Devt Center                                                    Heart of America Council 307                             2416 Swope Pkwy                                                      Kansas City, MO 64130‐2639                                                                                 First Class Mail
Chartered Organization         Emmanuel Lutheran                                                                        Daniel Boone Council 414                                 51 Wilburn Pl                                                        Asheville, NC 28806‐2752                                                                                   First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 National Capital Area Council 082                        7730 Bradley Blvd                                                    Bethesda, MD 20817‐1443                                                                                    First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 Muskingum Valley Council, Bsa 467                        1500 Pleasant Valley Dr                                              Coshocton, OH 43812‐9139                                                                                   First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 Lake Erie Council 440                                    360 Princeton Ave                                                    Elyria, OH 44035‐6462                                                                                      First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 Westmoreland Fayette 512                                 5000 Old William Penn Hwy                                            Export, PA 15632‐9348                                                                                      First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 Cascade Pacific Council 492                              2218 E Kessler Blvd                                                  Longview, WA 98632‐1846                                                                                    First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 Cornhusker Council 324, 8th and Beaver                   York, NE 68467                                                                                                                                                                  First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 Laurel Highlands Council 527                             Grant & Highland Aves                                                Pittsburgh, PA 15223                                                                                       First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 Cradle of Liberty Council 525                            150 N Hanover St                                                     Pottstown, PA 19464‐5434                                                                                   First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 Montana Council 315                                      5515 Shepherd Acton Rd                                               Shepherd, MT 59079                                                                                         First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 Pacific Harbors Council, Bsa 612                         1315 N Stevens St                                                    Tacoma, WA 98406‐3719                                                                                      First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 Juniata Valley Council 497                               N Mill St                                                            Thompsontown, PA 17094                                                                                     First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 National Capital Area Council 082                        2589 Chain Bridge Rd                                                 Vienna, VA 22181‐5577                                                                                      First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 Indian Waters Council 553                                2491 Emanuel Church Rd                                               West Columbia, SC 29170‐1143                                                                               First Class Mail
Chartered Organization         Emmanuel Lutheran Church                                                                 Southern Shores Fsc 783                                  201 N River St                                                       Ypsilanti, MI 48198‐2808                                                                                   First Class Mail
Chartered Organization         Emmanuel Luthern Church                                                                  Southern Shores Fsc 783                                  9950 Ridge Hwy                                                       Britton, MI 49229‐9548                                                                                     First Class Mail
Chartered Organization         Emmanuel Missionary Baptist Church                                                       Pikes Peak Council 060                                   3615 Vickers Dr                                                      Colorado Springs, CO 80918‐3061                                                                            First Class Mail
Chartered Organization         Emmanuel Presbyterian Church                                                             Longhorn Council 662                                     2701 Harwood Rd                                                      Bedford, TX 76021‐3752                                                                                     First Class Mail
Voting Party                   Emmanuel Presbyterian Church                                                             Attn: Rev Anita Bernhardt                                3520 Perry St                                                        Erie, PA 16504                                                          emmanuel_presb@yahoo.com           Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Presbyterian Church Of Bedford, Texas                                           Attn: Darren B Moore                                     2701 Harwood Rd                                                      Bedford, TX 76021                                                       bjfield@tx.rr.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Presbyterian Church (Pin 09074)                                                 Emmanuel Presbyterian Church                             1926 West Chelan Ave                                                 Spokane, WA 99205                                                       office@emmanuelpres‐spokane.org    Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Emmanuel Reformed Utd Ch Christ                                                          Westmoreland Fayette 512                                 3618 Hills Church Rd                                                 Export, PA 15632‐9371                                                                                      First Class Mail
Voting Party                   Emmanuel Umc ‐ 2732 Martinsburg, Va                                                      c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Umc ‐ Amherst                                                                   c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Emmanuel Umc (Oaklyn) ‐ Haddon Township                                                  c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                                    Page 94 of 442
                                                                                     Case 20-10343-LSS                                                 Doc 8171                                      Filed 01/06/22                                                   Page 110 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                         Service List
                                                                                                                                                                                  Served as set forth below

        Description                                                           Name                                                                                                    Address                                                                                                         Email                      Method of Service
Voting Party                   Emmanuel Umc In Windsor (9492)                               c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Emmanuel United Methodist                                    Attn: Treasurer, Emmanuel United Methodist           136 Tressel St                                            White Sulphur Springs, WV 24986                                      edwardcraft@me.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Emmanuel United Methodist Church                             Attn: Kay L Dieterlen, Treasurer                     P.O. Box 38                                               Otisco, IN 47163                                                     rjdieterlen@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Emmanuel United Methodist Church                             Attn: Jane Kinzer                                    2404 Kirby Rd                                             Memphis, TN 38119                                                    jkinzer@emmanuelmemphis.org           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Emmanuel United Methodist Church                             Attn: Connie Jennings                                4312 Amelia Olive Branch Rd                               Batavia, OH 45103                                                    info@emmanuel‐umc.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Emmanuel United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Emmanuel United Methodist Church                             2800 W Eau Gallie Blvd                               Melbourne, FL 32935                                                                                                                                                  First Class Mail
Voting Party                   Emmanuel United Methodist Church, Laurel, Md                 Emmanuel United Methodist Church                     10755 Scaggsville Rd                                      Laurel, MD 20723                                                     office@eumclaurel.org                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Emmanuel Utd Church Of Christ                                Southern Shores Fsc 783                              324 W Main St                                             Manchester, MI 48158‐8667                                                                                  First Class Mail
Chartered Organization         Emmanuel Utd Methodist Church                                National Capital Area Council 082                    11416 Cedar Ln                                            Beltsville, MD 20705‐2609                                                                                  First Class Mail
Chartered Organization         Emmanuel Utd Methodist Church                                Buckeye Council 436                                  222 W Martin St                                           East Palestine, OH 44413‐1766                                                                              First Class Mail
Chartered Organization         Emmanuel Utd Methodist Church                                Baltimore Area Council 220                           10755 Scaggsville Rd                                      Laurel, MD 20723‐1223                                                                                      First Class Mail
Chartered Organization         Emmanuel Utd Methodist Church                                Iroquois Trail Council 376                           75 East Ave                                               Lockport, NY 14094‐3808                                                                                    First Class Mail
Chartered Organization         Emmanuel Utd Methodist Church                                Simon Kenton Council 441                             73 Scioto St                                              Lucasville, OH 45648                                                                                       First Class Mail
Chartered Organization         Emmanuel Utd Methodist Church                                Central Florida Council 083                          2800 W Eau Gallie Blvd                                    Melbourne, FL 32935‐8929                                                                                   First Class Mail
Chartered Organization         Emmanuel Utd Methodist Church                                Crossroads of America 160                            16000 Cumberland Rd                                       Noblesville, IN 46060‐4105                                                                                 First Class Mail
Chartered Organization         Emmanuel Utd Methodist Church                                Seneca Waterways 397                                 925 Joseph Ave                                            Rochester, NY 14621‐3448                                                                                   First Class Mail
Chartered Organization         Emmanuel Utd Methodist Church                                Shenandoah Area Council 598                          2732 Martinsburg Pike                                     Stephenson, VA 22656‐1712                                                                                  First Class Mail
Chartered Organization         Emmanuel Worship Center                                      Heart of Virginia Council 602                        236 Grove Ave                                             Petersburg, VA 23803‐3240                                                                                  First Class Mail
Chartered Organization         Emmanuel‐Bethlehem Lutheran Brotherhood                      Voyageurs Area 286                                   602 4th Ave                                               Two Harbors, MN 55616‐1412                                                                                 First Class Mail
Chartered Organization         Emmanuels Evangelical Lutheran Church                        Miami Valley Council, Bsa 444                        30 W Warren St                                            Germantown, OH 45327‐1041                                                                                  First Class Mail
Voting Party                   Emmanuel's Lutheran Church                                   Attn: Robert Siegfried, Treasurer                    3175 Valley View Dr                                       Bath, PA 18014                                                       bobsiegfried51@gmail.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Emmaus Catholic Church                                       Attn: Chancellor                                     6225 E US 290 Hwy Svrd Eb                                 Austin, TX 78723                                                     ron‐walker@austindiocese.org          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Emmaus Catholic Church Dba Church Of Resurrection            Attn: Rev David Leibham                              1718 Lohmans Crossing                                     Lakeway, TX 78734                                                                                          First Class Mail
Chartered Organization         Emmaus Lutheran Church                                       Central Florida Council 083                          2500 S Volusia Ave                                        Orange City, FL 32763‐9124                                                                                 First Class Mail
Voting Party                   Emmaus Moravian Church                                       146 Main St                                          Emmaus, PA 18049                                                                                                               ffirgrh@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Emmaus Umc Of Smithville ‐ Galloway                          c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Emmaus United Methodist Church                               Attn: Bruce B France                                 715 Morris St                                             Albany, NY 12208                                                     eumoffice@albanytwcbc.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Emmaus Utd Methodist Church                                  Jersey Shore Council 341                             706 E Moss Mill Rd                                        Galloway, NJ 08205‐4215                                                                                    First Class Mail
Chartered Organization         Emmaus Utd Methodist Church                                  Blue Ridge Mtns Council 599                          2282 Meadors Spur Rd                                      Moneta, VA 24121‐5952                                                                                      First Class Mail
Chartered Organization         Emmert Heating & Air                                         Quapaw Area Council 018                              906 S Promise Land Rd                                     Blytheville, AR 72315‐7737                                                                                 First Class Mail
Chartered Organization         Emmetsburg Kiwanis                                           Mid‐America Council 326                              P.O. Box 565                                              Emmetsburg, IA 50536‐0565                                                                                  First Class Mail
Chartered Organization         Emmett Lions Club                                            Ore‐Ida Council 106 ‐ Bsa 106                        850 S Moffatt Ave                                         Emmett, ID 83617‐3768                                                                                      First Class Mail
Chartered Organization         Emmott Elementary PTO                                        Sam Houston Area Council 576                         11750 Steeple Way Blvd                                    Houston, TX 77065‐4366                                                                                     First Class Mail
Voting Party                   Emory Fellowship United Methodist Church                     Attn: Lamar Wilson, Jr                               6100 Georgia Ave NW                                       Washington, DC 20011                                                 lwilson358@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Emory Johns Creek Hospital                                   Atlanta Area Council 092                             6325 Hospital Pkwy                                        Johns Creek, GA 30097‐5775                                                                                 First Class Mail
Chartered Organization         Emory Methodist Church                                       Baltimore Area Council 220                           3810 Church Rd                                            Ellicott City, MD 21043‐4504                                                                               First Class Mail
Voting Party                   Emory United Methodist Church                                Attn: George Smith Treasurer                         1600 Emory Rd                                             Upperco, MD 21155                                                    mbarranger@msn.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Emory United Methodist Church                                Attn: Brooks Morton                                  3799 Church Rd                                            Elliott City, MD 21043                                               emorytreasurer@verizon.net            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Emory United Methodist Church                                P.O. Box 985                                         Emory, VA 24327                                                                                                                djackson@ehc.edu                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Emory Utd Methodist Church                                   Baltimore Area Council 220                           3810 Church Rd                                            Ellicott City, MD 21043‐4504                                                                               First Class Mail
Chartered Organization         Empire Education Group                                       Seneca Waterways 397                                 340 Elmridge Center Dr                                    Rochester, NY 14626‐3461                                                                                   First Class Mail
Chartered Organization         Empowerment Church                                           Great Lakes Fsc 272                                  24300 Southfield Rd                                       Southfield, MI 48075‐2820                                                                                  First Class Mail
Chartered Organization         Empowerment Community Devt Corp                              Piedmont Council 042                                 3900 Telegraph Ave                                        Oakland, CA 94609‐2422                                                                                     First Class Mail
Voting Party                   Emr Elevator, Inc                                            2320 Michigan Ct                                     Arlington, TX 76016‐5870                                                                                                                                             First Class Mail
Chartered Organization         Emu Bright Futures At Ford Elc                               Southern Shores Fsc 783                              203 Boone Hall                                            Ypsilanti, MI 48197‐2212                                                                                   First Class Mail
Chartered Organization         Emu Bright Futures Perry Elc                                 Southern Shores Fsc 783                              203 Boone Hall                                            Ypsilanti, MI 48197‐2212                                                                                   First Class Mail
Chartered Organization         Emu Bright Futures‐Holmes                                    Southern Shores Fsc 783                              1255 Holmes Rd                                            Ypsilanti, MI 48198‐3941                                                                                   First Class Mail
Chartered Organization         Enable Utah                                                  Trapper Trails 589                                   535 W Stockman Way                                        Ogden, UT 84401‐1335                                                                                       First Class Mail
Chartered Organization         Encantada Home Owners Assoc                                  Puerto Rico Council 661                              110 Plaza Silvestre                                       Trujillo Alto, PR 00976‐6169                                                                               First Class Mail
Chartered Organization         Enchanted Hills School PTO                                   Great Swest Council 412                              5400 Obregon Rd Ne                                        Rio Rancho, NM 87144‐1535                                                                                  First Class Mail
Chartered Organization         Enchanted Valley Hoa                                         Sam Houston Area Council 576                         14910 Enchanted Valley Dr                                 Houston, TX 77429                                                                                          First Class Mail
Chartered Organization         Endeavour Elementary Magnet                                  Central Florida Council 083                          902 Pineda St                                             Cocoa, FL 32922                                                                                            First Class Mail
Chartered Organization         Enderlin Nd Lions Club                                       Northern Lights Council 429                          220 Broadway St                                           Enderlin, ND 58027‐1217                                                                                    First Class Mail
Chartered Organization         Endevour Elementary                                          Central Florida Council 083                          905 Pineda St                                             Cocoa, FL 32922‐6370                                                                                       First Class Mail
Chartered Organization         Endicott Elks Lodge                                          Baden‐Powell Council 368                             619 N Nanticoke Ave                                       Endicott, NY 13760‐4116                                                                                    First Class Mail
Chartered Organization         Endura Mfg LLC                                               Utah National Parks 591                              45 E 600 N                                                Mapleton, UT 84664‐3746                                                                                    First Class Mail
Voting Party                   Endwell United Methodist Church                              Attn: Mark Kimpland                                  3301 Watson Blvd                                          Endwell, NY 13760                                                    pastormark@endwellumc.org             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Enfield Mascoma Lions Club                                   Daniel Webster Council, Bsa 330                      P.O. Box 91                                               Enfield, NH 03748‐0091                                                                                     First Class Mail
Chartered Organization         Enfield Street School PTO                                    Connecticut Rivers Council, Bsa 066                  1318 Enfield St                                           Enfield, CT 06082‐4942                                                                                     First Class Mail
Voting Party                   Enfield United Methodist Church                              Attn: Pastor Paul Guest                              P.O. Box 484                                              Enfield, NH 03748                                                    pastorpaulguest@gmail.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Engadine United Methodist Church                             Attn: Jackie Roe                                     N6828 Elm St                                              P.O. Box 157                      Engadine, MI 49827                 revjackieroe@gmail.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Engineered Permits Inc                                       Central Florida Council 083                          311 S Woodland Blvd, Ste A                                Deland, FL 32720‐5893                                                                                      First Class Mail
Voting Party                   England First United Methodist Church                        Attn: Diane Hughes                                   200 NE 2nd St                                             England, AR 72046                                                    diane.hughes@arumc.org                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         England First Utd Methodist Church                           Quapaw Area Council 018                              200 NE                                                    England, AR 72046                                                                                          First Class Mail
Chartered Organization         Engleburg Boys And Girls Club                                Three Harbors Council 636                            5100 N 91st St                                            Milwaukee, WI 53225‐4131                                                                                   First Class Mail
Chartered Organization         Engleman School‐District 30 Pta                              Overland Trails 322                                  1812 Mansfield Rd                                         Grand Island, NE 68803‐1509                                                                                First Class Mail
Chartered Organization         Englewood Christian Church                                   North Florida Council 087                            4316 Barnes Rd                                            Jacksonville, FL 32207‐7019                                                                                First Class Mail
Voting Party                   Englewood United Methodist Church                            Attn: Treasurer, Englewood United Methodist Church   107 N Walnut St                                           Englewood, OH 45322                                                  office@englewoodunitedmethodist.com   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Englewood United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Englewood Utd Methodist Church                               Southwest Florida Council 088                        700 E Dearborn St                                         Englewood, FL 34223‐3506                                                                                   First Class Mail
Voting Party                   Englewood‐Rust United Methodist Church                       Attn: Peggy Jackson‐Turner                           6400 S Stewart Ave                                        Chicago, IL 60621                                                    englewoodrust64@att.net               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         English Lutheran Church                                      Moraine Trails Council 500                           200 E Grandview Ave                                       Zelienople, PA 16063‐1133                                                                                  First Class Mail
Chartered Organization         English Lutheran Church Of Bateman                           Chippewa Valley Council 637                          20588 County Hwy X                                        Chippewa Falls, WI 54729‐9110                                                                              First Class Mail
Chartered Organization         Enid First Utd Methodist Church                              Cimarron Council 474                                 P.O. Box 3707                                             Enid, OK 73702‐3707                                                                                        First Class Mail
Chartered Organization         Enid Ward                                                    Church of Jesus Christ Latter‐Day Saints             419 N Eisenhower St                                       Enid, OK 73703‐3814                                                                                        First Class Mail
Chartered Organization         Enlace Academy                                               Crossroads of America 160                            3725 N Kiel Ave                                           Indianapolis, IN 46224‐1228                                                                                First Class Mail
Chartered Organization         Enoch City Police Dept                                       Utah National Parks 591                              900 E Midvalley Rd                                        Enoch, UT 84721‐9605                                                                                       First Class Mail
Voting Party                   Enola Emmanuel United Methodist Church (178027)              c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Enon Baptist Church                                          Heart of Virginia Council 602                        8814 Andersonville Rd                                     Dillwyn, VA 23936‐2054                                                                                     First Class Mail
Chartered Organization         Enon Chapel Baptist Church                                   East Carolina Council 426                            102 Barbara Ave                                           Midway Park, NC 28544‐1419                                                                                 First Class Mail
Chartered Organization         Enon Tabernacle Baptist Church                               Cradle of Liberty Council 525                        2800 W Cheltenham Ave                                     Philadelphia, PA 19150‐1201                                                                                First Class Mail
Chartered Organization         Enon Utd Methodist Church                                    Tecumseh 439                                         85 Broadway Rd                                            Enon, OH 45323‐1104                                                                                        First Class Mail
Voting Party                   Enosburg Falls United Methodist Church                       Attn: Donavee Copenhaver                             P.O. Box 355                                              Enosburg Falls, VT 05450                                             bookladi@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Enterprise Attendance Center                                 Andrew Jackson Council 303                           1601 Hwy 583 Se                                           Brookhaven, MS 39601‐8839                                                                                  First Class Mail
Chartered Organization         Enterprise Charter School                                    Greater Niagara Frontier Council 380                 275 Oak St                                                Buffalo, NY 14203‐1638                                                                                     First Class Mail
Chartered Organization         Enterprise Lions Club                                        Golden Empire Council 047                            P.O. Box 493308                                           Redding, CA 96049‐3308                                                                                     First Class Mail
Chartered Organization         Enterprise School                                            Andrew Jackson Council 303                           1601 Hwy 583 Se                                           Brookhaven, MS 39601‐8839                                                                                  First Class Mail
Chartered Organization         Enterprise Scouting Parents Assoc                            Golden Empire Council 047                            942 Merchant St                                           Redding, CA 96002‐0627                                                                                     First Class Mail
Voting Party                   Enterprise Umc                                               c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Enterprise Umc                                               210 W S St                                           Enterprise, KS 67441                                                                                                                                                 First Class Mail
Voting Party                   Enterprise United Methodist Church                           P.O. Box 155                                         Enterprise, MS 39330                                                                                                           sgunn@esd.k12.ms.us                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Entiatgrange                                                 Entiat Valley Commty Svcs                            P.O. Box 463                                              Entiat, WA 98822‐0463                                                                                      First Class Mail
Chartered Organization         Environmental Charter School                                 Greater Los Angeles Area 033                         3600 W Imperial Hwy                                       Inglewood, CA 90303‐2714                                                                                   First Class Mail
Chartered Organization         Environmental Management Inc                                 Heart of America Council 307                         P.O. Box 23753                                            Overland Park, KS 66283‐3753                                                                               First Class Mail
Firm                           Envoy Legal & Consulting International                       Jonathon T. Tichy                                    10708 S. 1300 E., Ste 108                                 Sandy, UT 84094                                                      tichy@envoylegal.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Eoc ‐ William Floyd Middle School                            Suffolk County Council Inc 404                       31 W Main St                                              Patchogue, NY 11772‐3034                                                                                   First Class Mail
Chartered Organization         Eoc‐ William Paca Middle School                              Suffolk County Council Inc 404                       31 W Main St, Ste 300                                     Patchogue, NY 11772‐3026                                                                                   First Class Mail
Chartered Organization         Ephrata First U M Church                                     Pennsylvania Dutch Council 524                       68 N Church St                                            Ephrata, PA 17522‐2038                                                                                     First Class Mail
Chartered Organization         Epic                                                         W D Boyce 138                                        1913 W Townline Rd                                        Peoria, IL 61615‐1621                                                                                      First Class Mail
Chartered Organization         Epic Adv Troop 2001                                          Mt Diablo‐Silverado Council 023                      9640 Ernwood Pl                                           San Ramon, CA 94583‐3727                                                                                   First Class Mail
Chartered Organization         Epic Elementary Pta                                          Greater Alabama Council 001                          1000 10th Ave S                                           Birmingham, AL 35205‐4606                                                                                  First Class Mail
Chartered Organization         Epiphany Catholic School PTA                                 W D Boyce 138                                        1002 E College Ave                                        Normal, IL 61761‐3129                                                                                      First Class Mail
Chartered Organization         Epiphany Council Knights Columbus 8160                       Jersey Shore Council 341                             615 Thiele Rd                                             Brick, NJ 08724‐1140                                                                                       First Class Mail
Voting Party                   Epiphany Episcopal Church                                    Christopher Mark Bridges                             1041 10th Ave                                             Honolulu, HI 96816                                                   priestepiphany@gmail.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Epiphany Episcopal Church                                    c/o Mark A Salzberg, Squire Patton Boggs (Us) LLP    2550 M St, NW                                             Washington, DC 20037                                                 priestepiphany@gmail.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Epiphany Episcopal Church                                    309 W Elm St                                         P.O. Box 367                                              Sedan, KS 67361                                                      MOMARY1400@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Epiphany Episcopal Church                                    Attn: Michael Long                                   601 N Wood St                                             Burnet, TX 78660                                                     epiphanyburnet@gmail.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Epiphany Episcopal Church, Timonium, MD                      Attn: Rev Christopher Lindh‐Payne                    2216 Pot Spring Rd                                        Timonium, MD 21093                                                   revklp@epiphanybaltimore.org          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Epiphany Evangelical Lutheran Church                         Three Fires Council 127                              314 W Vallette St                                         Elmhurst, IL 60126‐4267                                                                                    First Class Mail
Chartered Organization         Epiphany Lutheran Church                                     Greater New York Councils, Bsa 640                   721 Lincoln Pl                                            Brooklyn, NY 11216‐4209                                                                                    First Class Mail
Chartered Organization         Epiphany Lutheran Church                                     Miami Valley Council, Bsa 444                        6430 Far Hills Ave                                        Centerville, OH 45459‐2726                                                                                 First Class Mail
Chartered Organization         Epiphany Lutheran Church                                     Grand Canyon Council 010                             800 W Ray Rd                                              Chandler, AZ 85225‐6717                                                                                    First Class Mail
Chartered Organization         Epiphany Lutheran Church                                     National Capital Area Council 082                    13495 Keytone Rd                                          Dale City, VA 22193‐4734                                                                                   First Class Mail
Chartered Organization         Epiphany Lutheran Church                                     Twin Valley Council Bsa 283                          605 Pkwy Ave                                              Eagle Lake, MN 56024‐7712                                                                                  First Class Mail
Chartered Organization         Epiphany Lutheran Church                                     Baltimore Area Council 220                           9122 Sybert Dr                                            Ellicott City, MD 21043‐6434                                                                               First Class Mail
Chartered Organization         Epiphany Lutheran Church                                     Anthony Wayne Area 157                               6606 Maplecrest Rd                                        Fort Wayne, IN 46835‐2533                                                                                  First Class Mail
Chartered Organization         Epiphany Lutheran Church                                     Atlanta Area Council 092                             1350 Peachtree Industrial Blvd                            Suwanee, GA 30024‐1805                                                                                     First Class Mail
Chartered Organization         Epiphany Lutheran Church                                     Great Alaska Council 610                             P.O. Box 829                                              Valdez, AK 99686‐0829                                                                                      First Class Mail
Voting Party                   Epiphany Lutheran Church                                     c/o Capell Barnett Matalon & Schoenfeld LLP          Attn: Joseph Milano                                       1385 Broadway, 12th Fl            New York, NY 10018                 JMilano@cbmslaw.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Epiphany Mens Club                                           Greater St Louis Area Council 312                    6596 Smiley Ave                                           Saint Louis, MO 63139‐2425                                                                                 First Class Mail
Chartered Organization         Epiphany Methodist Church                                    National Capital Area Council 082                    1014 Country Club Dr NE                                   Vienna, VA 22180‐3624                                                                                      First Class Mail
Chartered Organization         Epiphany Of Our Lord Rcc                                     Cradle of Liberty Council 525                        3050 Walton Rd                                            Plymouth Meeting, PA 19462‐2361                                                                            First Class Mail
Chartered Organization         Epiphany Of The Lord Catholic Church                         Sam Houston Area Council 576                         1530 Norwalk Dr                                           Katy, TX 77450‐4918                                                                                        First Class Mail
Chartered Organization         Epiphany Parish                                              Winnebago Council, Bsa 173                           300 5th St Se                                             Mason City, IA 50401‐4005                                                                                  First Class Mail
Chartered Organization         Epiphany Parish Of Seattle                                   Chief Seattle Council 609                            1805 38th Ave                                             Seattle, WA 98122‐3447                                                                                     First Class Mail
Voting Party                   Epiphany Parish Of Walpole, Massachusetts                    62 Front St                                          Walpole, MA 02081                                                                                                              office.epiphany@verizon.net           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Epiphany Roman Catholic Church                               Greater New York Councils, Bsa 640                   239 E 21st St                                             New York, NY 10010‐6463                                                                                    First Class Mail
Chartered Organization         Epiphany Roman Catholic Church                               Five Rivers Council, Inc 375                         304 S Elmer Ave                                           Sayre, PA 18840‐2050                                                                                       First Class Mail
Voting Party                   Epiphany UCC                                                 Attn: Scott Howard Howell                            9365 Clarence Center Rd                                   Clarence Center, NY 14032                                            secretary@epiphanyucc.us              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Epiphany United Methodist Church                             Attn: Cindy Gordon                                   Epiphany Umc                                              6635 Loveland‐Miamiville Rd       Loveland, OH 45140                 cgordon@epiphanyumc.org               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Epiphany Utd Methodist Church                                Dan Beard Council, Bsa 438                           6635 Loveland Miamiville Rd                               Loveland, OH 45140‐6953                                                                                    First Class Mail
Voting Party                   Episcopal Cathedral Of St Paul                               Attn: Melinda Hall                                   134 W 7th St                                              Erie, PA 16501                                                       mhall@cathedralofstpaul.org           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Episcopal Church In Minnesota                                Attn: Douglas Franzen                                1101 Broadway Ave                                         Minneapolis, MN 55411                                                chancellor@episcopalmn.org            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Episcopal Church Of Diocese Of Pennsylvania                  Attn: Mary Kohart                                    23 E Airy St                                              Norristown, PA 19401                                                 mek@elliottgreenleaf.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Episcopal Church Of Messiah                                  Old N State Council 070                              108 S 2nd Ave                                             Mayodan, NC 27027                                                                                          First Class Mail
Voting Party                   Episcopal Church Of Our Savior                               c/o Episcopal Diocese of Northwestern Pa             Attn: Sean Rowe                                           145 W 6th St                      Erie, PA 16501                     cdougan@dionwpa.org                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Episcopal Church Of Our Saviour                              North Florida Council 087                            12236 Mandarin Rd                                         Jacksonville, FL 32223‐1813                                                                                First Class Mail
Voting Party                   Episcopal Church Of Our Saviour                              Joe Gibbes                                           12236 Mandarin Rd                                         Jacksonville, FL 32223                                               jgibbes@oursaviourjax.org             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Episcopal Church Of Our Saviour                              c/o Rogers Towers, Pa                                Attn: Betsy C Cox, Esq                                    1301 Riverplace Blvd, Ste 1500    Jacksonville, FL 32207             bcox@rtlaw.com                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Episcopal Church Of Our Saviour, In Oakland, California      Attn: The Rev Merry Chan Ong                         1011 Harrison St                                          Oakland, CA 94607                                                    revmerry@oursaviouroakland.org        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Episcopal Church Of Our Saviour, Longwood ‐ Brookline        Attn: Joel Matteson Ives                             25 Monmouth St                                            Brookline, MA 02446                                                  RECTOR@OURSAVIOURBROOKLINE.ORG        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Episcopal Church Of Pittsfield 118 Hight St.                 c/o The Tamposi Law Group, PC                        Attn: Peter N Tamposi                                     159 Main St                       Nashua, NH 03060                   peter@thetamposilawgroup.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Episcopal Church Of Reconciliation                           Alamo Area Council 583                               8900 Starcrest Dr                                         San Antonio, TX 78217‐4741                                                                                 First Class Mail
Chartered Organization         Episcopal Church Of Saint Martin                             Golden Empire Council 047                            640 Hawthorne Ln                                          Davis, CA 95616‐3463                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 95 of 442
                                                                                  Case 20-10343-LSS                                                Doc 8171                                     Filed 01/06/22                                                               Page 111 of 457
                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                    Service List
                                                                                                                                                                             Served as set forth below

        Description                                                       Name                                                                                                   Address                                                                                                                         Email                      Method of Service
Chartered Organization         Episcopal Church Of Saint Matthew                              Catalina Council 011                           9071 E Old Spanish Trl                                   Tucson, AZ 85710‐6265                                                                                                      First Class Mail
Chartered Organization         Episcopal Church Of St John The Baptist                        Grand Canyon Council 010                       4102 W Union Hills Dr                                    Glendale, AZ 85308‐1702                                                                                                    First Class Mail
Chartered Organization         Episcopal Church Of St Thomas                                  Narragansett 546                               111 High St                                              Taunton, MA 02780‐3901                                                                                                     First Class Mail
Voting Party                   Episcopal Church Of St. John The Baptist (Wakefield)           c/o The Tamposi Law Group, PC                  Attn: Peter N Tamposi                                    159 Main St                                 Nashua, NH 03060                     peter@thetamposilawgroup.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of St. John The Divine                        Irene Egmalis Maliaman                         911 N Marine Corps Dr                                    Tamuning, GU 96913                                                               revirene@episcopalguam.org                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of St. John The Divine                        c/o Squire Patton Boggs (Us) LLP               Attn: Mark A Salzberg                                    2550 M St NW                                Washington, DC 20037                 revirene@episcopalguam.org                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Episcopal Church Of The Advent                                 Tidewater Council 596                          9629 Norfolk Ave                                         Norfolk, VA 23503‐1701                                                                                                     First Class Mail
Chartered Organization         Episcopal Church Of The Advent                                 Palmetto Council 549                           141 Advent St                                            Spartanburg, SC 29302‐1904                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Advent                                 Attn: William Barrett                          1302 E Hartford                                          Hernando, FL 34442                                                               revdude2000@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Advent                                 Attn: Terry Bull                               54 Delware Rd                                            Kennore, NY 14217                                                                cfisher@magavern.com                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Annunciation                           602 N Old Orchard Ln                           Lewisville, TX 75077                                                                                                                      mtrcatherine@annunciationlewisville.org   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Episcopal Church Of The Ascension                              Greater Tampa Bay Area 089                     701 Orange Ave                                           Clearwater, FL 33756‐5232                                                                                                  First Class Mail
Voting Party                   Episcopal Church Of The Ascension                              4950 S Apopka‐Vineland Rd                      Orlando, FL 32819                                                                                                                         rector@ascension‐orlando.org              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Ascension                              26 Chautauqua Pl                               Bradford, PA 16701                                                                                                                        ascensionbradford@outlook.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Ascension At Fork                      183 Fork‐Bixby Rd                              Advance, NC 27006                                                                                                                         rprice@yadtel.net                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Episcopal Church Of The Creator                                Andrew Jackson Council 303                     1445 Clinton Raymond Rd                                  Clinton, MS 39056‐5443                                                                                                     First Class Mail
Voting Party                   Episcopal Church of the Creator                                7159 Mechanicsville Tpke                       Mechanicsville, VA 23111                                                                                                                  creatorcontact@comcast.net                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Creator                                William H Burk                                 7159 Mechanicsville Turnpike                             Mechanicsville, VA 23111                                                                                                   First Class Mail
Chartered Organization         Episcopal Church Of The Epiphany                               Capitol Area Council 564                       P.O. Box 2                                               Burnet, TX 78611‐0002                                                                                                      First Class Mail
Chartered Organization         Episcopal Church Of The Epiphany                               Evangeline Area 212                            1103 S Union St                                          Opelousas, LA 70570‐5952                                                                                                   First Class Mail
Chartered Organization         Episcopal Church Of The Epiphany                               Circle Ten Council 571                         421 Custer Rd                                            Richardson, TX 75080‐5628                                                                                                  First Class Mail
Voting Party                   Episcopal Church Of The Epiphany                               c/o Episcopal Diocese of Northwestern Pa       Attn: Sean Rowe                                          145 W 6th St                                Erie, PA 16501                       cdougan@dionwpa.org                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Epiphany Houston, TX                   9600 S Gessner                                 Houston, TX 77071                                                                                                                         phall@epiphany‐hou.org                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Epiphany, Richardson                   Attn: The Rev Anne W Randall                   421 Custer Rd                                            Richardson, TX 75080                                                             brandall@epiphany‐richardson.org          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Good Shepard, Brentwood                Attn: The Rev Canon Natalie Van Kirk           1420 Wilson Pike                                         Brentwood, TN 37027                                                              nvankirk@goodshepard.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Episcopal Church Of The Good Shepherd                          Middle Tennessee Council 560                   P.O. Box 1867                                            Brentwood, TN 37024‐1867                                                                                                   First Class Mail
Chartered Organization         Episcopal Church Of The Good Shepherd                          Middle Tennessee Council 560                   1420 Wilson Pike                                         Brentwood, TN 37027‐7701                                                                                                   First Class Mail
Chartered Organization         Episcopal Church Of The Good Shepherd                          North Florida Council 087                      1100 Stockton St                                         Jacksonville, FL 32204‐4237                                                                                                First Class Mail
Chartered Organization         Episcopal Church Of The Good Shepherd                          Silicon Valley Monterey Bay 055                301 Corral De Tierra Rd                                  Salinas, CA 93908‐8917                                                                                                     First Class Mail
Voting Party                   Episcopal Church Of The Good Shepherd                          Attn: The Rev George Mcgavern & Julie Rhodes   715 Carrell St                                           Tomball, TX 77375                                                                rector@goodshepherdtomball.org            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Good Shepherd                          Attn: Michael Mills                            11122 Midway Rd                                          Dallas, TX 75229                                                                 michael.mills@gsecd.org                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Good Shepherd                          Attn: Margaret J Megerian                      175 E Salisbury St                                       Asheboro, NC 27203                                                               margaret@megerianwells.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Good Shepherd                          Attn: Margaret J. Megerian                     175 E Salisbury St                                       Asheboro, NC 27203                                                               margaret@megerianwells.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Good Shepherd                          Attn: Lance Robbins                            1130 Webster Rd                                          Webster, NY 14580                                                                gswebsterny@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Good Shepherd                          Attn: Heather Rodriguez                        331 Lake Ave                                             Maitland, FL 32751                                                               church@goodshepherd‐maitland.com          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Good Shepherd                          Attn: Brian Witalis                            182 Coram Ave                                            Shelton, CT 06484                                                                brilesmegmat@sbcglobal.net                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Holy Advent                            Attn: Holy Advent & Lisa M Dunkle Scheffler    81 E Main St                                             Clinton, CT 06413                                                                lmdunkle64@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Holy Comforter, Gadsden, Al            Attn: Rev. Rob Morpeth                         521 N 20th St                                            Birmingham, AL 35203                                                             rmorpeth@dioala.org                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Holy Comforter, Gadsden, Al            Attn: the Rev. Carl M. Saxton, II              156 S 9th St                                             Gadsden, AL 35901                                                                hcrector@att.net                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Episcopal Church Of The Holy Cross                             Chief Seattle Council 609                      11526 162nd Ave Ne                                       Redmond, WA 98052‐2645                                                                                                     First Class Mail
Voting Party                   Episcopal Church Of The Holy Cross                             Attn: Peter R Franklin                         150 Melrose Ave                                          Tryon, NC 28782                                                                  woodsidetryon@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Holy Mount                             Attn: Judith Fleming Burgess                   121 Mescalero Trl                                        Ruidoso, NM 88345                                                                episcopal@eclc.us                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Episcopal Church Of The Holy Spirit                            Mid‐America Council 326                        1305 Thomas Dr                                           Bellevue, NE 68005‐2973                                                                                                    First Class Mail
Chartered Organization         Episcopal Church Of The Holy Spirit                            Sam Houston Area Council 576                   12535 Perthshire Rd                                      Houston, TX 77024‐4106                                                                                                     First Class Mail
Voting Party                   Episcopal Church Of The Holy Spirit                            Attn: James Wack                               220 E Main St                                            Tuckerton, NJ, 08087                                                             holyspiritepiscopal@verizon.net           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Holy Spirit, Houston, Texas            Attn: Joshua T Condon                          12535 Perthshire                                         Houston, TX 77024                                                                jcondon@hsechurch.org                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church of the Incarnation                            1957 Five Mile Line Rd                         Penfield, NY 14526                                                                                                                        mitch@incarnationpenfieldny.org           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Mediator                               1620 Turner St                                 Allentown, PA 18102                                                                                                                       mail@episcopalmediator.org                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Mediator                               George Holston                                 P.O. Box 184                                             Micanopy, FL 32667                                                               George.w.holston@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Mediator                               c/o Rogers Towers, Pa                          Attn: Betsy C Cox, Esq                                   1301 Riverplace Blvd, Ste 1500              Jacksonville, FL 32207               bcox@rtlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Episcopal Church Of The Messiah                                Baltimore Area Council 220                     5801 Harford Rd                                          Baltimore, MD 21214‐1848                                                                                                   First Class Mail
Chartered Organization         Episcopal Church Of The Messiah                                Old N State Council 070                        108 S 2nd Ave                                            Mayodan, NC 27027                                                                                                          First Class Mail
Chartered Organization         Episcopal Church Of The Nativity                               Grand Canyon Council 010                       22405 N Miller Rd                                        Scottsdale, AZ 85255‐4939                                                                                                  First Class Mail
Voting Party                   Episcopal Church Of The Nativity                               Attn: Peter Wong                               205 Holly Ln                                             Dothan, AL 36301                                                                 rector@nativitydothan.org                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Nativity, Raleigh, NC                  Attn: Stephanie Loy Allen                      8849 Ray Rd                                              Raleigh, NC 27613                                                                coordinator@nativityonline.org            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Episcopal Church Of The Redeemer                               Blue Mountain Council 604                      241 SE 2nd St                                            Pendleton, OR 97801‐2222                                                                                                   First Class Mail
Voting Party                   Episcopal Church Of The Redeemer                               Attn: Wiley Ammons                             7500 Southside Blvd                                      Jacksonville, FL 32256                                                           wiley@redeemerjax.org                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Redeemer                               Attn: Rev Stan Holmes                          102 Taylor St                                            Ansted, WV 25812                                                                 kklein@moorebierlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Redeemer                               Attn: Fred J Bernhardt Jr                      2341 Winterfield Rd                                      Midlothian, VA 23113                                                             episcopalredeemer@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Redeemer                               c/o Rogers Towers, Pa                          Attn: Betsy C Cox, Esq                                   1301 Riverplace Blvd, Ste 1500              Jacksonville, FL 32207               bcox@rtlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Redeemer, Irving, TX                   Attn: Canon Victoria Heard                     2700 Warren Cir                                          Irving, TX 75062                                                                 heard@redeemer‐irving.com                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Episcopal Church Of The Resurrection                           Capitol Area Council 564                       2200 Justin Ln                                           Austin, TX 78757‐2417                                                                                                      First Class Mail
Chartered Organization         Episcopal Church Of The Resurrection                           Last Frontier Council 480                      13112 N Rockwell Ave                                     Oklahoma City, OK 73142‐2717                                                                                               First Class Mail
Chartered Organization         Episcopal Church Of The Resurrection                           Mt Diablo‐Silverado Council 023                399 Gregory Ln                                           Pleasant Hill, CA 94523‐2837                                                                                               First Class Mail
Chartered Organization         Episcopal Church Of The Resurrection                           Theodore Roosevelt Council 386                 147 Campbell Ave                                         Williston Park, NY 11596‐1606                                                                                              First Class Mail
Voting Party                   Episcopal Church Of The Resurrection                           c/o Epscopal Diocese of Utah                   Attn: Stephen Hutchinson                                 75 S 200 E                                  Salt Lake City, UT 84111             shutchinson@episcopal‐ut.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Resurrection                           David R. Lynch                                 1433 NW R.D. Mize Rd                                     Blue Springs, MO 64015                                                           rector@episcopal‐bluesprings.org          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Resurrection                           Attn: Kathy Kelly                              15319 E 8th Ave                                          Spokane Valley, WA 99037                                                         office@resurrectionspokane.org            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Resurrection                           Attn: Kathryn Mckinley                         P.O. Box 14771                                           Spokane Valley, WA 99214‐0771                                                    office@resurrectionspokane.org            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Resurrection                           Attn: David Powell                             2345 Grand Blvd                                          Kansas City, MO 64108                                                            david.powell@lathropgpm.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Resurrection                           Attn: Anthony Anderson                         3004 Belvedere Blvd                                      Omaha, NE 68111                                                                  cor.omaha@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Resurrection                           P.O. Box 14771                                 Spokane Valley, WA 99214‐0771                                                                                                                                                       First Class Mail
Voting Party                   Episcopal Church Of The Resurrection Parish Corporation        Attn: Nancy Cary, Hershner Hunter LLP          180 E 11th Aven                                          Eugene, OR 97401                                                                 hhecfb@hershnerhunter.com                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Resurrection, Rainbow City, Al         Attn: the Rev. Richelle Thompson               113 Brown Ave                                            Rainbow City, AL 35906‐3122                                                      therev.richelle@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Resurrection, Rainbow City, Al         Attn: Rev Rob Morpeth                          521 N 20th St                                            Birmingham, AL 35203                                                             rmorpeth@dioala.org                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Church Of The Transfiguration                        336 E Aurora Ave                               Ironwood, MI 49938                                                                                                                                                                  First Class Mail
Chartered Organization         Episcopal Church Of Transfiguration                            National Capital Area Council 082              13925 New Hampshire Ave                                  Silver Spring, MD 20904‐6218                                                                                               First Class Mail
Voting Party                   Episcopal Conference Center Diocese Of Southwest Florida Inc   c/o Stichter Riedel Blain & Postler, PA        Attn: Daniel R Fogarty                                   110 E Madison St, Ste 200                   Tampa, FL 33602                      dfogarty.ecf@srbp.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Conference Center Diocese Of Southwest Florida Inc   c/o Hahn Loeser                                Attn: Theodore L Tripp                                   2400 1st St, Ste 300 300                    Fort Myers, FL 33901                                                           First Class Mail
Voting Party                   Episcopal Corporation Of The Diocese Of Iowa                   Attn: Bishop Alan Scarfe                       225 37th St                                              Des Moines, IA 50312                                                             officeoftheBishop@iowaepiscopal.org       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Episcopal Day School                                           Rio Grande Council 775                         34 N Coria St                                            Brownsville, TX 78520‐8310                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Alaska, Incoporated                       Hillis Clark Martin & Peterson P.S.            999 3rd Ave, Ste 4600                                    Seattle, WA 98104                                                                brian.free@hcmp.com                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Alaska, Incorporated                      c/o Hillis Clark Martin & Peterson             Attn: Brian C Free                                       999 3rd Ave, Ste 4600                       Seattle, WA 98104                    brian.free@hcmp.com                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Arizona                                   Attn: Jennifer A. Reddal                       114 W Roosevelt St                                       Phoenix, AZ 85003                                                                bishopreddal@azdiocese.org                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Atlanta Inc                               Alicia Schuster‐Weltner                        2744 Peachtree Rd NW                                     Atlanta, GA 30342                                                                aschusterweltner@episcopalatlanta.org     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Central New York                          P.O. Box 3520                                  Syracuse, NY 13220                                                                                                                        marthalberry@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Chicago                                   Attn: Bishop Jeffrey Lee                       65 E Huron                                               Chicago, IL 60611                                                                bishop@episcopalchicago.org               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Dallas                                    George Robinson Sumner                         1630 N Garrett Ave                                       Dallas, TX 75206                                                                 gsumner@edod.org                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Dallas, Its Missions & Mission Stations   Attn: David James Parsons                      2323 Bryan St, Ste 2200                                  Dallas, TX 75201                                                                 parsons@sbep‐law.com                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of East Carolina                             705 Doctors Cir                                Kinston, NC 28503                                                                                                                         lsmith@diocese‐eastcarolina.org           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of East Carolina                             Attn: Joan C Geiszler‐Ludlum                   2720 Columbia Ave                                        Wilmington, NC 28403                                                             jcgl@ec.rr.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of East Carolina                             Joan C. Geiszler‐Ludlum                        2720 Columbia Ave                                        Wilmington, NC 28403                                                             jcgl@ec.rr.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Easton                                    c/o The Law Office of Andrea Ross              Attn: Andrea Ross, Esq                                   129 N West St, Ste 1                        Easton, MD 21601                     Andie@AndieRossLaw.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Fond Du Lac                               Attn: Gordon Stillings                         1051 N Lynndale Dr 1B                                    Appleton, WI 54914                                                               gordon@stillingslaw.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Fond Du Lac                               Attn: Gordon E Stillings                       490 Rainbow Beach Rd                                     Neenah, WI 94956                                                                 gordon@stillingslaw.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Fond Du Lac                               Gordon E Stillings                             490 Rainbow Beach Rd                                     Neenah, WI 54956                                                                 gordon@stillingslaw.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Fond Du Lac                               Attn: Gordon Stillings                         P.O. Box 98                                              Neenah, WI 54956                                                                 gordon@stillingslaw.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Fond Du Lac                               Gordon E Stillings                             P.O. Box 98                                              Neenah, WI 54956                                                                 gordon@stillingslaw.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Fort Worth                                c/o The Reverend Canon Janet Waggoner          P.O. Box 8695                                            Fort Worth, TX 76124                                                             haliburton@namanhowell.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Indianapolis                              c/o Plews Shadley Racher & Braun LLP           Attn: Todd G Relue                                       1346 N Delaware St                          Indianapolis, IN 46202               trelue@psrb.com                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Lexington                                 Attn: Bryant Carleton Kibler, Sr               607 Nwy 1746                                             Irvine, KY 40336‐8701                                                            bkibler@diolex.org                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Long Island                               Attn: James Weller, Chancellor                 36 Cathedral Ave                                         Garden City, NY 11530                                                            jweller@dioceseli.org                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Massachusetts                             c/o Hemenway & Barnes LLP                      Attn: Edward Notis‐Mcconarty                             75 State St                                 Boston, MA 02109                     emcconarty@hembar.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Michigan                                  Attn: Jo Ann Hardy                             4800 Woodward Ave                                        Detroit, MI 48201                                                                jhardy@edomi.org                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Milwaukee, Inc.                           Attn: Rev. Kevin Huddleston                    804 E Juneau Ave                                         Milwaukee, WI 53202                                                              huddleston@diomil.org                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Montana                                   Attn: Martha Stebbins                          515 N Park Ave                                           P.O. Box 2020                               Helena, MT 59624                     montanabishop@diomontana.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of New Jersey                                Attn: Canon Phyllis B. Jones                   808 W State St                                           Trenton, NJ 08618                                                                pjones@dioceseofnj.org                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of Nh, Its Churches, Missions And Chapels    c/o The Tamposi Law Group, PC                  Attn: Peter N Tamposi                                    159 Main St                                 Nashua, NH 03060                     peter@thetamposilawgroup.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of North Carolina                            c/o K&L Gates LLP                              Attn: A Lee Hogewood III                                 4350 Lassiter At North Hills Ave, Ste 300   Raleigh, NC 27609                    lee.hogewood@klgates.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of North Carolina                            c/o K&L Gates LLP                              Attn: A Lee Hogewood, III                                4350 Lassiter At North Hills Ave, Ste 300   Raleigh, NC 27609                    lee.hogewood@klgates.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Episcopal Diocese Of North Carolina                            Attn: David F Sellery                          200 W Morgan St, Ste 300                                 Raleigh, NC 27601                                                                david.sellery@episdionc.org               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                    Page 96 of 442
                                                                                  Case 20-10343-LSS                                                    Doc 8171                                             Filed 01/06/22                                                             Page 112 of 457
                                                                                                                                                                                               Exhibit B
                                                                                                                                                                                                Service List
                                                                                                                                                                                         Served as set forth below

        Description                                                        Name                                                                                                              Address                                                                                                                      Email              Method of Service
Voting Party                   Episcopal Diocese Of North Carolina                            Attn: David F. Sellery                             200 W Morgan StSte 300                                           Raleigh, NC 27601                                                              david.sellery@episdionc.org      Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of North Carolina, On Behalf Of Members      c/o K&L Gates LLP                                  Attn: A Lee Hogewood, III                                        4350 Lassiter At North Hills Ave, Ste 300   Raleigh, NC 27609                  lee.hogewood@klgates.com         Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of Northern Michigan                         Attn: Timothy C Quinnell                           131 E Ridge St                                                   Marquette, MI 49855                                                                                             First Class Mail
Voting Party                   Episcopal Diocese Of Northwest Texas                           c/o Ciardi Ciardi & Astin                          Attn: Walter W Gouldsbury III, Esq                               1905 Spruce St                              Philadelphia, PA 19103             wgouldsbury@ciardilaw.com        Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of Northwest Texas                           1802 Broadway                                      Lubbock, TX 79401                                                                                                                                                                First Class Mail
Voting Party                   Episcopal Diocese Of Northwestern Pennsylvania                 c/o Episcopal Diocese of Northwestern Pa           Attn: Sean Rowe                                                  145 W 6th St                                Erie, PA 16501                     cdougan@dionwpa.org              Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of Ohio                                      Attn: William A Powel III                          2230 Euclid Ave                                                  Cleveland, OH 44115                                                            wpowel@dohio.org                 Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of Pittsburgh / Episcopal Church In Usa      Attn: The Rev Canon Kimberly Karashin              325 Oliver Ave, Ste 300                                          Pittsburgh, PA 15222                                                                                            First Class Mail
Voting Party                   Episcopal Diocese Of Pittsburgh/ Episcopal Church In The Usa   Attn: The Rev Canon Kimberly Karashin              325 Oliver Ave, Ste 300                                          Pittsburgh, PA 15222                                                           sld@sgkpc.com                    Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of Rochester                                 3825 E Henrietta Rd, Ste 100                       Henrietta, NY 14467                                                                                                                             todd@episcopalrochester.org      Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of Texas                                     1225 Texas Ave                                     Houston, TX 77002                                                                                                                               cfaulstich@epicenter.org         Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of The Rio Grande                            Attn: Michael C B Hunn                             6400 Coors Blvd NW                                               Albuquerque, NM 87120                                                          bishophunn@dioceserg.org         Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of West Virginia                             Attn: Bishop W Michie Klusmeyer                    1608 Virginia St E                                               Charleston, WV 25311                                                           mklusmeyer@wvdiocese.org         Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of West Virginia                             Attn: Karen E Klein                                317 5th Ave                                                      South Charleston, WV 25303                                                     kklein@moorebiserlaw.com         Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of West Virginia                             Karen E Klein                                      317 5th Ave                                                      South Charleston, WV 25303                                                     kklein@moorebiserlaw.com         Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of West Virginia                             Karen E Klein                                      317 5th Ave                                                      South Charleston, WV 25303                                                     kklein@moorebierlaw.com          Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of Western Kansas                            Attn: Marc E Kliewer                               1811 E Mary St, Ste B                                            Garden City, KS 67846                                                          mkliewer@kenberk.com             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of Western Kansas                            1 N Main St, Ste 418                               Hutchinson, KS 67501                                                                                                                            mkliewer@kenberk.com             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of Western Mass (Springfield)                c/o The Tamposi Law Group, PC                      Attn: Peter N Tamposi                                            159 Main St                                 Nashua, NH 03060                   peter@thetamposilawgroup.com     Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of Western New York                          Attn: The Right Reverend Sean Rowe                 1064 Brighton Rd                                                 Tonawanda, NY 14150                                                            cfisher@magavern.com             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of Wyoming                                   Attn: Peter Nicolaysen                             P.O. Box 7                                                       Casper, WY 82602                                                               petercn@vcn.com                  Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Diocese Of Wyoming                                   Jessica Reynolds                                   123 S Durbin                                                     Casper, WY 82601                                                                                                First Class Mail
Voting Party                   Episcopal Diocese Or Lexington                                 Attn: Bryant Carleton Kibler, Sr                   607 Hwy 1746                                                     Irvine, KY 40336‐8701                                                          bkibler@diolex.org               Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Episcopal Parish Of Ames                                       2338 Lincoln Way                                   Ames, IA 50014                                                                                                                                  Church@stjohns‐ames.org          Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Episcopal Parrish Of St David                                  Northern Star Council 250                          13000 Saint Davids Rd                                            Minnetonka, MN 55305‐4120                                                                                       First Class Mail
Chartered Organization         Episcopal School Of Knoxville                                  Great Smoky Mountain Council 557                   950 Episcopal School Way                                         Knoxville, TN 37932‐3069                                                                                        First Class Mail
Chartered Organization         Eplers Utd Church Of Christ                                    Hawk Mountain Council 528                          Rd 1                                                             Leesport, PA 19533                                                                                              First Class Mail
Chartered Organization         Eplers Utd Church Of Christ Church                             Hawk Mountain Council 528                          W Leesport Rd Rd 1                                               Leesport, PA 19533                                                                                              First Class Mail
Chartered Organization         Epoch Dream Center                                             Del Mar Va 081                                     P.O. Box 218                                                     Hebron, MD 21830‐0218                                                                                           First Class Mail
Chartered Organization         Epping Community Church                                        Daniel Webster Council, Bsa 330                    4 Pleasant St                                                    Epping, NH 03042‐3508                                                                                           First Class Mail
Chartered Organization         Epping Fire Dept                                               Daniel Webster Council, Bsa 330                    37 Pleasant St                                                   Epping, NH 03042‐3512                                                                                           First Class Mail
Chartered Organization         Epping Rural Fire Volunteer Dept                               Northern Lights Council 429                        402 2nd St                                                       Epping, ND 58843                                                                                                First Class Mail
Chartered Organization         Epsilon Lambda Charitable Foundation                           Greater St Louis Area Council 312                  P.O. Box 78662                                                   Saint Louis, MO 63178‐8662                                                                                      First Class Mail
Voting Party                   Epting Law Group LLC                                           Attn: Joseph M Epting Jr                           125 Exec Pointe Blvd, Ste 200                                    Columbia, SC 29210                                                             jepting@aboutjustice.com         Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Epting Memorial Utd Methodist Church                           Blue Ridge Council 551                             1401 Milligan St                                                 Newberry, SC 29108‐4329                                                                                         First Class Mail
Voting Party                   Epworth Bethlehem                                              c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                    Tampa, FL 33602                    ERICE@BRADLEY.COM                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Epworth Community Club                                         Northeast Georgia Council 101                      P.O. Box 89                                                      Epworth, GA 30541‐0089                                                                                          First Class Mail
Chartered Organization         Epworth Community Club                                         Northeast Georgia Council 101                      P.O. Box 89                                                      Epworth, GA 30541‐0089                                                                                          First Class Mail
Voting Party                   Epworth Memorial Umc, South Bend In                            Attn: Treasurer                                    2404 Lincoln Way W                                               South Bend, IN 46628                                                           epworth.memorial@sbcglobal.net   Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Epworth Methodist Church                                       Baltimore Area Council 220                         3317 Saint Lukes Ln &                                            Baltimore, MD 21207                                                                                             First Class Mail
Chartered Organization         Epworth Methodist Church                                       Central N Carolina Council 416                     1030 Burrage Rd NE                                               Concord, NC 28025‐2910                                                                                          First Class Mail
Chartered Organization         Epworth Methodist Church                                       Mid Iowa Council 177                               412 Euclid Ave                                                   Des Moines, IA 50313‐4236                                                                                       First Class Mail
Voting Party                   Epworth Umc                                                    Attn: Treasurer                                    919 Palatka Rd                                                   Louisville, KY 40214                                                           epworth@bellsouth.net            Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth Umc ‐ Aylett                                           c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth Umc ‐ Norfolk                                          c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth Umc ‐ Selma                                            c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth Umc (Palmyra)                                          c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth Umc Berkley                                            Attn: Annette Cayot Treasurer                      1953 Hopkins St                                                  Berkeley, CA 94707                                                             acayot@acayot.net                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Chapel                                Attn: Virginia Vauls                               3317 St Lukes Ln                                                 Baltimore, MD 21207                                                            gabrams@afnw.com                 Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Todd Noren‐Hentz                             2102 Epworth Dr                                                  Huntsville, AL 35761                                                           todd.noren‐hentz@umcna.org       Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Rev. Robert L. Rabenstein II                 1540 Camp Rd                                                     Charleston, SC 29412                                                           rlrabenstein@umcsc.org           Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Treasurer, Epworth United Methodist Church   4855 W Central Ave                                               Toledo, OH 43615                                                               peter@epworth.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Louise Raines                                299 Church St N                                                  Ripley, WV 25271                                                               office@epworthumcripley.org      Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Mickey J Bailey                              520 County Rd 125                                                Elmendorf, TX 78112                                                            mjbailey2018@outlook.com         Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Mickey J Bailey                                    5718 Pecan Valley Dr                                             San Antonio, TX 78223                                                          mjbailey2018@outlook.com         Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Margaret Bass                                3002 Hope Valley Rd                                              Durham, NC 27707                                                               mbass@epworth‐umc.org            Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Keith Macneal                                      12 Idalla Ave, 6                                                 Worcester, MA 01606                                                            kmacneal@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Treasurer                                    64 Salisbury St                                                  Worcester, MA 01609                                                            kmacneal@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: John Meada, Finance Chair                    4241 Arno Rd                                                     Franklin, TN 37064                                                             johnwilliammeada@gmail.com       Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Joan Klein, Pastor Epworth Umc               915 Newport Ave                                                  Pawtucket, RI 02861                                                            joanklein0610@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Susan Kester                                 P.O. Box 1134                                                    Jesup, GA 31598                                                                jesupepworth@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Treasurer                                    5100 Karl Rd                                                     Columbus, OH 43229                                                             epworthonkarl@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Carol Fontaine                               P.O. Box 1020                                                    Kalispell, MT 59903                                                            epworth59901@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Greg Hardy                                   412 Euclid Ave                                                   Des Moines, IA 50313                                                           Epworth412@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Sharon Hennings                              1133 So 20th St                                                  Fort Dodge, IA 50501                                                           epwfd@frontiernet.net            Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Sheila Eldredge                              315 Ave F                                                        Fort Dodge, IA 50501                                                           epwfd@frontiernet.net            Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                2400 Devonshire Dr                                 Columbus, GA 31904                                                                                                                              church@epworthumc.com            Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Verna H. Eskridge                            4606 Bernadine Dr                                                San Antonio, TX 78220‐4747                                                                                      First Class Mail
Voting Party                   Epworth United Methodist Church                                Attn: Verna Eskridge                               5718 Pecan Valley                                                San Antonio, TX 78223                                                                                           First Class Mail
Voting Party                   Epworth United Methodist Church ‐ Arlington                    c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church ‐ Arlington                    1400 S Cooper St                                   Arlington, TX 76013                                                                                                                                                              First Class Mail
Voting Party                   Epworth United Methodist Church ‐ Hollywood                    c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church (95877)                        c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200                  Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church (95877)                        c/o Bentz Law Firm                                 Attn: Leonard Spagnolo & Daniel Maier                            680 Washington Rd, Ste 200                  Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church (Az)                           c/o Clarke Law Firm, Plc                           Attn: Marilee Miller Clarke                                      8141 E Indian Bend Rd, Ste 105              Scottsdale, AZ 85250               marilee@clarkelawaz.com          Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church Aylett                         Attn: Jon Baker                                    11 Epworth Rd                                                    Aylett, VA 23009                                                               jonathanbaker07@comcast.net      Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church Fallon Nevada                  Attn: Steven M Endacott                            1601 Tamara Ln                                                   Fallon, NV 89406                                                               endacottsteve@charter.net        Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church Gaithersburg                   Attn: Sandra Matty                                 9008 Rosemont Ave                                                Gaithersburg, MD 20877                                                         execadmin@eumc‐md.org            Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church Of Rock Hill                   Attn: Irvin Plowden, Jr                            620 Briarcliff Rd                                                Rock Hill, SC 29730                                                            ivplowdenjr@umcsc.org            Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church, Denver                        Attn: Juanita Brown ‐ Treasurer                    1865 Bruce Randolph Ave                                          Denver, CO 80205                                                               jkanost@eumcdenver.org           Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Epworth United Methodist Church, Marion, Ohio                  Attn: Paula Aparis, Financial Secretary            249 E Center St                                                  Marion, OH 43302                                                               dlhoffman70@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Epworth Utd Methodist                                          Coastal Carolina Council 550                       1540 Camp Rd                                                     Charleston, SC 29412‐4063                                                                                       First Class Mail
Chartered Organization         Epworth Utd Methodist Ch Fallon, NV                            Nevada Area Council 329                            280 E Stillwater Ave                                             Fallon, NV 89406‐3952                                                                                           First Class Mail
Chartered Organization         Epworth Utd Methodist Chapel                                   Baltimore Area Council 220                         3317 Saint Lukes Ln                                              Baltimore, MD 21207‐5703                                                                                        First Class Mail
Chartered Organization         Epworth Utd Methodist Church                                   Atlanta Area Council 092                           1561 Mclendon Ave NE                                             Atlanta, GA 30307‐2167                                                                                          First Class Mail
Chartered Organization         Epworth Utd Methodist Church                                   Heart of Virginia Council 602                      11 Epworth Rd                                                    Aylett, VA 23009‐2508                                                                                           First Class Mail
Chartered Organization         Epworth Utd Methodist Church                                   Mt Diablo‐Silverado Council 023                    1953 Hopkins St                                                  Berkeley, CA 94707‐2603                                                                                         First Class Mail
Chartered Organization         Epworth Utd Methodist Church                                   Minsi Trails Council 502                           3245 Oakland Rd                                                  Bethlehem, PA 18020‐1231                                                                                        First Class Mail
Chartered Organization         Epworth Utd Methodist Church                                   Conquistador Council Bsa 413                       1406 W Blodgett St                                               Carlsbad, NM 88220‐4535                                                                                         First Class Mail
Chartered Organization         Epworth Utd Methodist Church                                   Mid‐America Council 326                            1222 5th Ave                                                     Council Bluffs, IA 51501‐3938                                                                                   First Class Mail
Chartered Organization         Epworth Utd Methodist Church                                   Del Mar Va 081                                     P.O. Box 547                                                     Exmore, VA 23350‐0547                                                                                           First Class Mail
Chartered Organization         Epworth Utd Methodist Church                                   Middle Tennessee Council 560                       4340 Arno Rd                                                     Franklin, TN 37064                                                                                              First Class Mail
Chartered Organization         Epworth Utd Methodist Church                                   Greater Alabama Council 001                        2102 Epworth Dr NE                                               Huntsville, AL 35811‐2133                                                                                       First Class Mail
Chartered Organization         Epworth Utd Methodist Church                                   Buckeye Council 436                                249 E Center St                                                  Marion, OH 43302‐3814                                                                                           First Class Mail
Chartered Organization         Epworth Utd Methodist Church                                   Blue Ridge Mtns Council 599                        60 Merriman Way Rd                                               Moneta, VA 24121‐3149                                                                                           First Class Mail
Chartered Organization         Epworth Utd Methodist Church                                   Erie Shores Council 460                            4855 W Central Ave                                               Ottawa Hills, OH 43615‐2337                                                                                     First Class Mail
Chartered Organization         Epworth Utd Methodist Men                                      Alamo Area Council 583                             5718 Pecan Valley Dr                                             San Antonio, TX 78223‐2413                                                                                      First Class Mail
Voting Party                   Epworth: Bethlehem                                             3245 Oakland Rd                                    Bethlehem, PA 18017                                                                                                                                                              First Class Mail
Chartered Organization         Equestrian Pointe Ward                                         Utah National Parks 591                            370 N 4050 W                                                     Cedar City, UT 84720                                                                                            First Class Mail
Voting Party                   Equinunk United Methodist Church (30327)                       c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200                  Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Firm                           Equitas Advocates PC                                           Eric W. Pearson, Esq.                              10421 S Jordan Gateway #600                                      Salt Lake City, UT 84095                                                       ewp@EquitasAdvocatesPC.com       Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Era Ministries Church Of Christ                                Water and Woods Council 782                        700 E Mount Morris St                                            Mount Morris, MI 48458‐2019                                                                                     First Class Mail
Chartered Organization         Erath County Sheriff'S Office                                  Texas Trails Council 561                           1043 Glen Rose Rd                                                Stephenville, TX 76401‐5321                                                                                     First Class Mail
Voting Party                   Eric E Burnett                                                 2419 Corral Trail                                  Chattanooga, TN 37421                                                                                                                           eebemt@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Eric H. Schultz                                                c/o Boy Scouts of America                          Attn: Chase Koontz                                               1325 W Walnut Hill Ln                       Irving, TX 75015                   chase.koontz@scouting.org        Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Eric Norman Simmons                                            3925 Baulistrol                                    Okemas, MI 48864                                                                                                                                ericsimmons@tds.net              Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Eric Pai As Administrator Of The Estate Of Jp A Minor          c/o Collison Law Offices                           Attn: Robert Fink                                                134 N Lasalle St, Ste 1200                  Chicago, IL 60620                  rfink@collisonltd.com            Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Erickson‐Sederstrom                                            Mid‐America Council 326                            10330 Regency Pkwy Dr                                            Omaha, NE 68114‐3774                                                                                            First Class Mail
Chartered Organization         Ericksson Group Inc                                            Northeast Georgia Council 101                      4520 Summerwood Dr                                               Cumming, GA 30041‐9442                                                                                          First Class Mail
Chartered Organization         Erie 2 Boces Ormsby                                            Greater Niagara Frontier Council 380               300 Gleed Ave                                                    East Aurora, NY 14052‐2983                                                                                      First Class Mail
Chartered Organization         Erie 2 Lakeshore Carrier Center Boces                          Greater Niagara Frontier Council 380               8035 Erie Rd                                                     Angola, NY 14006                                                                                                First Class Mail
Chartered Organization         Erie County Assoc Of Firefighters                              Lake Erie Council 440                              P.O. Box 94                                                      Milan, OH 44846‐0094                                                                                            First Class Mail
Chartered Organization         Erie County Sheriff Dept                                       Greater Niagara Frontier Council 380               10 Delaware Ave                                                  Buffalo, NY 14202‐3913                                                                                          First Class Mail
Chartered Organization         Erie County Sheriffs Office                                    Greater Niagara Frontier Council 380               10 Delaware Ave                                                  Buffalo, NY 14202‐3913                                                                                          First Class Mail
Chartered Organization         Erie Elementary School PTO                                     Great Lakes Fsc 272                                42276 Romeo Plank Rd                                             Clinton Township, MI 48038‐2194                                                                                 First Class Mail
Chartered Organization         Erie Elks Lodge 67                                             French Creek Council 532                           2409 Peninsula Dr                                                Erie, PA 16506‐2958                                                                                             First Class Mail
Chartered Organization         Erie Fire Dept                                                 Southern Shores Fsc 783                            2060 Manhattan St                                                Erie, MI 48133                                                                                                  First Class Mail
Voting Party                   Erie Shores Council Inc Bsa                                    Attn: Edward A Caldwell                            5600 W Sylvania Ave                                              Toledo, OH 43623                                                               ed.caldwell@scouting.org         Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Erie United Methodist Church                                   Attn: Ad Board Chair                               P.O. Box 8                                                       Erie, CO 80516                                                                 Erieumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Erie Utd Methodist Church                                      Hoosier Trails Council 145 145                     1718 Erie Church Rd                                              Bedford, IN 47421‐7603                                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                Page 97 of 442
                                                                                     Case 20-10343-LSS                                                                Doc 8171                                     Filed 01/06/22                                                      Page 113 of 457
                                                                                                                                                                                                      Exhibit B
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                                                                                                                                                                                                Served as set forth below

        Description                                                           Name                                                                                                                  Address                                                                                                                Email                  Method of Service
Chartered Organization         Erie Utd Methodist Church                                      Longs Peak Council 062                                            604 Holbrook                                             Erie, CO 80516                                                                                                First Class Mail
Chartered Organization         Eriksson PTO                                                   Great Lakes Fsc 272                                               1275 N Haggerty Rd                                       Canton, MI 48187‐3707                                                                                         First Class Mail
Voting Party                   Erin Eisner                                                    Address Redacted                                                                                                                                                                                   Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Erin School Parent Teacher Club                                Potawatomi Area Council 651                                       6901 County Rd O                                         Hartford, WI 53027‐8849                                                                                       First Class Mail
Chartered Organization         Erlanger Police Dept                                           Dan Beard Council, Bsa 438                                        505 Commonwealth Ave                                     Erlanger, KY 41018‐1223                                                                                       First Class Mail
Chartered Organization         Ernest Mcgowen Elementary PTO                                  Sam Houston Area Council 576                                      6820 Homestead Rd                                        Houston, TX 77028‐5045                                                                                        First Class Mail
Chartered Organization         Ernest Phillips American Legion Post 485                       Laurel Highlands Council 527                                      221 E Lincoln Ave                                        Mc Donald, PA 15057‐1427                                                                                      First Class Mail
Chartered Organization         Ernest W Young Post 63                                         Daniel Webster Council, Bsa 330                                   38 Millville St                                          Salem, NH 03079‐2671                                                                                          First Class Mail
Chartered Organization         Ernie Pyle School 90 Afterschool                               Crossroads of America 160                                         3351 W 18th St                                           Indianapolis, IN 46222‐2603                                                                                   First Class Mail
Chartered Organization         Ernst & Young                                                  Circle Ten Council 571                                            2323 Victory Ave                                         Dallas, TX 75219‐7657                                                                                         First Class Mail
Chartered Organization         Ernst & Young LLP                                              Atlanta Area Council 092                                          55 Ivan Allen Jr Blvd Nw                                 Atlanta, GA 30308‐3050                                                                                        First Class Mail
Chartered Organization         Erp Center For Excellence                                      Western Massachusetts Council 234                                 1 Arch Rd                                                Westfield, MA 01085‐1795                                                                                      First Class Mail
Voting Party                   Erwin First United Methodist Church                            Attn: Trustees, Erwin First United Methodist Church,              920 Euclid Ave                                           Syracuse, NY 13210                                                      erwinfoffice78@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Erwin Presbyterian Church                                      Sequoyah Council 713                                              105 N Elm Ave                                            Erwin, TN 37650‐1259                                                                                          First Class Mail
Voting Party                   Erwin United Methodist Church                                  Attn: Jerry R Walker                                              600 Denim Dr                                             Erwin, NC 28334                                                         jrwalkerchfc@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   ES, A Minor, By Angie Garcia, Natural Mother                   c/o Debry & Associates                                            Attn: Travis Alkire                                      45 West Sego Lily Dr, Ste 401      Sandy, UT 84070                      talkire@robertdebry.com               Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   ES, A Minor, By Angie Garcia, Natural Mother                   c/o Ray Quinney & Nebeker P.C.                                    Attn: Steven W Call                                      36 S Main St, Ste 1400             Salt Lake City, UT 84111             scall@rqn.com                         Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Esc Jose Rodriguez De Soto                                     Puerto Rico Council 661                                           P.O. Box 691                                             Ensenada, PR 00647‐0691                                                                                       First Class Mail
Chartered Organization         Esc. Miguel F. Santiago Echegaray                              Puerto Rico Council 661                                           Carr 453 Km 6.2 Bo Quebrada                              Camuy, PR 00627                                                                                               First Class Mail
Voting Party                   Escalon Umc                                                    Attn: Treasurer Escalon United Methodist Church                   2000 Jackson Ave                                         Escalon, CA 95320                                                       ladywriter16@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Escanaba Township ‐ Recreation                                 Bay‐Lakes Council 635                                             4618 County 416 20th Rd                                  Gladstone, MI 49837‐9037                                                                                      First Class Mail
Chartered Organization         Escondido Fire Dept                                            San Diego Imperial Council 049                                    1163 N Centre City Pkwy                                  Escondido, CA 92026‐3423                                                                                      First Class Mail
Chartered Organization         Escondido Moose Lodge 1874                                     San Diego Imperial Council 049                                    25721 Jesmond Dene Rd                                    Escondido, CA 92026‐8627                                                                                      First Class Mail
Chartered Organization         Escondido Sunrise Rotary                                       San Diego Imperial Council 049                                    P.O. Box 163                                             Escondido, CA 92033‐0163                                                                                      First Class Mail
Chartered Organization         Escuela Alberto Einstein                                       Puerto Rico Council 661                                           657 Calle Felipe R Goyco                                 San Juan, PR 00915‐4026                                                                                       First Class Mail
Chartered Organization         Escuela Belen Blanco De Zequeira                               Puerto Rico Council 661                                           P.O. Box 1980‐386                                        Loiza, PR 00772‐1980                                                                                          First Class Mail
Chartered Organization         Escuela De Guadalupe                                           Denver Area Council 061                                           3401 Pecos St                                            Denver, CO 80211‐3518                                                                                         First Class Mail
Chartered Organization         Escuela Ines M Mendoza                                         Puerto Rico Council 661                                           P.O. Box 610                                             Cabo Rojo, PR 00623‐0610                                                                                      First Class Mail
Chartered Organization         Escuela Intermedia Jardines De Ponce                           Puerto Rico Council 661                                           Carr 505 Km 0‐5                                          Ponce, PR 00732                                                                                               First Class Mail
Chartered Organization         Escuela Jose Rodriguez De Soto                                 Puerto Rico Council 661                                           P.O. Box 691                                             Ensenada, PR 00647‐0691                                                                                       First Class Mail
Chartered Organization         Escuela Parcelas Suarez                                        Puerto Rico Council 661                                           P.O. Box 2979                                            Carolina, PR 00984‐2979                                                                                       First Class Mail
Chartered Organization         Escuela Republica De Brazil                                    Puerto Rico Council 661                                           Calle 48 SE 1258                                         San Juan, PR 00926                                                                                            First Class Mail
Chartered Organization         Esek Hopkins Middle School                                     Narragansett 546                                                  480 Charles St                                           Providence, RI 02904‐2237                                                                                     First Class Mail
Chartered Organization         Esg Business Services                                          San Diego Imperial Council 049                                    2934 Hayloft Pl                                          Escondido, CA 92029‐2414                                                                                      First Class Mail
Voting Party                   Esis, Inc                                                      c/o Duane Morris LLP                                              Attn: Wendy M Simkulak                                   30 S 17th St                       Philadelphia, PA 19103               WMSimkulak@duanemorris.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Esis, Inc                                                      Robert J Mayo                                                     436 Walnut St                                            Philadelphia, PA 19103                                                                                        First Class Mail
Chartered Organization         Esitec, LLC                                                    Potawatomi Area Council 651                                       1915 Macarthur Rd                                        Waukesha, WI 53188‐5702                                                                                       First Class Mail
Voting Party                   Esperance ‐ Sloansville United Methodist Church                Attn: Lewis R Scranton                                            498 Main St                                              Delanson, NY 12053                                                      lscranton@nycap.rr.com                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Esperanza Lutheran Church                                      Grand Canyon Council 010                                          2601 E Thunderhill Pl                                    Phoenix, AZ 85048‐9517                                                                                        First Class Mail
Chartered Organization         Espiritu Santo Catholic Church                                 Greater Tampa Bay Area 089                                        2405 Phillippe Pkwy                                      Safety Harbor, FL 34695‐2067                                                                                  First Class Mail
Chartered Organization         Essdack                                                        Quivira Council, Bsa 198                                          1500 E 11th Ave, Ste 200                                 Hutchinson, KS 67501‐3722                                                                                     First Class Mail
Chartered Organization         Essentia Health                                                Northern Lights Council 429                                       1702 University Dr S                                     Fargo, ND 58103‐4940                                                                                          First Class Mail
Chartered Organization         Essex County Cops For Kids                                     Northern New Jersey Council, Bsa 333                              555 Mount Prospect Ave                                   Newark, NJ 07104‐1545                                                                                         First Class Mail
Chartered Organization         Essex Industries Inc                                           Greater St Louis Area Council 312                                 7700 Gravois Rd                                          Saint Louis, MO 63123‐4728                                                                                    First Class Mail
Chartered Organization         Essex Parent Teacher Organization                              The Spirit of Adventure 227                                       12 Story St                                              Essex, MA 01929‐1142                                                                                          First Class Mail
Voting Party                   Essex United Methodist Church                                  Attn: David Wyman                                                 22469 County Rd 732                                      Dexter, MO 63841                                                        wymandavid@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Essex United Methodist Church                                  Attn: Charles Houghtaling                                         524 Maryland Ave                                         Essex, MD 21221                                                         finance.essexumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Essex Veteran Memorial/V F W Post 6726                         Connecticut Rivers Council, Bsa 066                               P.O. Box 142                                             Centerbrook, CT 06409‐0142                                                                                    First Class Mail
Chartered Organization         Estabrook School PTO                                           Southern Shores Fsc 783                                           1555 W Cross St                                          Ypsilanti, MI 48197‐2011                                                                                      First Class Mail
Chartered Organization         Estacada Lions Club                                            Cascade Pacific Council 492                                       P.O. Box 715                                             Estacada, OR 97023‐0715                                                                                       First Class Mail
Chartered Organization         Estacion Experiemental Agricola                                Puerto Rico Council 661                                           P.O. Box 1306                                            Gurabo, PR 00778‐1306                                                                                         First Class Mail
Chartered Organization         Estacion Experimental Agricola                                 Puerto Rico Council 661                                           P.O. Box 1306                                            Gurabo, PR 00778‐1306                                                                                         First Class Mail
Voting Party                   Estate of Richard J Mathews                                    Address Redacted                                                                                                                                                                                   Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Estate of Rodolfo R Trevino                                    Address Redacted                                                                                                                                                                                   Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Estates Of Heatherwilde                                        Capitol Area Council 564                                          16800 Cactus Blossom Dr                                  Pflugerville, TX 78660‐2202                                                                                   First Class Mail
Voting Party                   Estero United Methodist Estero                                 c/o Bradley Arant Boult Cummings, LLP                             Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                      erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Estero Utd Methodist Church                                    Southwest Florida Council 088                                     8088 Lords Way St                                        Estero, FL 33928‐3159                                                                                         First Class Mail
Voting Party                   Estes Express Lines                                            Attn: Donna Ferguson                                              3901 W Broad St                                          Richmond, VA 23230                                                      nicole.washington@estes‐express.com   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Estes Industries, LLC                                          1295 H St                                                         Penrose, CO 81240‐9698                                                                                                                                                 First Class Mail
Chartered Organization         Estes Park Police Dept                                         Longs Peak Council 062                                            170 Macgregor Ave                                        Estes Park, CO 80517‐5001                                                                                     First Class Mail
Firm                           Estey & Bomberger, LLP, Cutter Law, PC                         Stephen J. Estey, Esq., Kristen K. Barton, Esq., Brooks Cutter,   2869 India St                                            San Diego, CA 92103                                                     kristen@estey‐bomberger.com           Email
                                                                                              Esq.                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Esther Methodist Church                                        Greater St Louis Area Council 312                                 501 Jefferson St                                         Park Hills, MO 63601‐4251                                                                                     First Class Mail
Chartered Organization         Esther Utd Methodist Church                                    Greater St Louis Area Council 312                                 501 Jefferson St                                         Park Hills, MO 63601‐4251                                                                                     First Class Mail
Voting Party                   Estherville Lutheran Church                                    Attn: Tim J Johnson                                               208 N 8th St                                             Estherville, IA 51334                                                   patmmeyer@hotmail.com                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Estill Springs Lions Club                                      Middle Tennessee Council 560                                      110 Elkins St                                            Estill Springs, TN 37330‐3060                                                                                 First Class Mail
Chartered Organization         Estill Springs Methodist Church                                Middle Tennessee Council 560                                      213 Eastbrook Rd                                         Estill Springs, TN 37330‐3304                                                                                 First Class Mail
Chartered Organization         Estill Springs PTO                                             Blue Grass Council 204                                            314 Main St                                              Irvine, KY 40336‐1086                                                                                         First Class Mail
Voting Party                   Estill Springs United Methodist Church                         Attn: Robert Vernon Walker Jr                                     111 Mckinney Cir                                         Estill Springs, TN 37330                                                rvwalker@united.net                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Estill Springs United Methodist Church                         Attn: Treasurer Esumc                                             P.O. Box 113                                             Estill Springs, TN 37330                                                rvwalker@united.net                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Eta Mu Lambda Chapter Of                                       Alpha Phi Alpha Fraternity Inc                                    P.O. Box 141                                             Gastonia, NC 28053‐0141                                                                                       First Class Mail
Chartered Organization         Eternal Trinity Lutheran Church                                Gulf Coast Council 773                                            6076 Old Bagdad Hwy                                      Milton, FL 32583‐8943                                                                                         First Class Mail
Firm                           Ethan P. Arbuckle, Attorney at Law, LLC                        Ethan P. Arbuckle                                                 671 Hwy 171, Ste L                                       Stonewall, LA 71078                                                     ethan@arbucklelegal.com               Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Ethel M Young Elementary PTO                                   Sam Houston Area Council 576                                      3555 Bellfort St                                         Houston, TX 77051‐1401                                                                                        First Class Mail
Chartered Organization         Etiwanda Community Church                                      California Inland Empire Council 045                              7126 Etiwanda Ave                                        Etiwanda, CA 91739‐9758                                                                                       First Class Mail
Chartered Organization         Etna Road Elementary                                           Simon Kenton Council 441                                          4531 Etna Rd                                             Whitehall, OH 43213‐1947                                                                                      First Class Mail
Voting Party                   Etna United Methodist Church                                   Attn: Terry Crane, Treasurer                                      P.O. Box 70                                              Etna, OH 43018                                                          office@etnaumc.org                    Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Etna Utd Methodist Church                                      Simon Kenton Council 441                                          500 Pike St SW                                           Etna, OH 43018‐9002                                                                                           First Class Mail
Chartered Organization         Etowah Jrotc                                                   Greater Alabama Council 001                                       201 Case Ave SE                                          Attalla, AL 35954‐3406                                                                                        First Class Mail
Chartered Organization         Etowah Masonic Lodge 222                                       Northeast Georgia Council 101                                     P.O. Box 1702                                            Dawsonville, GA 30534‐0031                                                                                    First Class Mail
Chartered Organization         Etowah Masonic Lodge 222 F&Am                                  Northeast Georgia Council 101                                     P.O. Box 1702                                            Dawsonville, GA 30534‐0031                                                                                    First Class Mail
Voting Party                   Etowah Umc                                                     c/o Bradley Arant Boult Cummings, LLP                             Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                      erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Etowah Utd Methodist Church                                    Daniel Boone Council 414                                          P.O. Box 1268                                            Etowah, NC 28729‐1268                                                                                         First Class Mail
Chartered Organization         Etss Columbus Global Academy                                   Simon Kenton Council 441                                          4077 Karl Rd                                             Columbus, OH 43224‐2137                                                                                       First Class Mail
Chartered Organization         Etss East Linden Elementary                                    Simon Kenton Council 441                                          2505 Brentnell Ave                                       Columbus, OH 43211‐1991                                                                                       First Class Mail
Chartered Organization         Etss Wedgewood Middle School                                   Simon Kenton Council 441                                          3800 Briggs Rd                                           Columbus, OH 43228‐3144                                                                                       First Class Mail
Chartered Organization         Euclid Ave Utd Methodist Church                                Muskingum Valley Council, Bsa 467                                 1324 Euclid Ave                                          Zanesville, OH 43701‐2925                                                                                     First Class Mail
Chartered Organization         Euclid Park Elementary School                                  Lake Erie Council 440                                             17914 Euclid Ave                                         Cleveland, OH 44112‐1222                                                                                      First Class Mail
Chartered Organization         Euclid Preparatory School                                      Lake Erie Council 440                                             23001 Euclid Ave                                         Euclid, OH 44117‐1600                                                                                         First Class Mail
Chartered Organization         Eudora Lions Club Foundation                                   Heart of America Council 307                                      P.O. Box 574                                             Eudora, KS 66025‐0574                                                                                         First Class Mail
Chartered Organization         Eudora Utd Methodist Church                                    Heart of America Council 307                                      2084 N 1300th Rd                                         Eudora, KS 66025‐8128                                                                                         First Class Mail
Chartered Organization         Euell A. Wilson Community Center                               Anthony Wayne Area 157                                            1512 Oxford St                                           Fort Wayne, IN 46806‐3612                                                                                     First Class Mail
Chartered Organization         Eugene Elks Lodge 357                                          Oregon Trail Council 697                                          P.O. Box 2475                                            Eugene, OR 97402‐0126                                                                                         First Class Mail
Chartered Organization         Eugene Field                                                   Heart of America Council 307                                      720 S Tremont Ave                                        Ottawa, KS 66067‐2700                                                                                         First Class Mail
Chartered Organization         Eugene Field Elementary School                                 Last Frontier Council 480                                         1515 N Klein Ave                                         Oklahoma City, OK 73106‐4414                                                                                  First Class Mail
Chartered Organization         Eugene Field PTA Inc                                           Ozark Trails Council 306                                          2120 E Barataria St                                      Springfield, MO 65804‐3813                                                                                    First Class Mail
Voting Party                   Eugene First United Methodist Church 1376 Olive St Eugene,Or   c/o Bradley Arant Boult Cummings, LLP                             Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                      erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Eugene Yacht Club                                              Oregon Trail Council 697                                          P.O. Box 2751                                            Eugene, OR 97402‐0376                                                                                         First Class Mail
Chartered Organization         Euharlee Law Enforcement Explores                              Northwest Georgia Council 100                                     30 Burges Mill Rd                                        Euharlee, GA 30145‐2881                                                                                       First Class Mail
Voting Party                   Eumc                                                           Attn: Courtney Renee Dake                                         604 S 2nd St                                             Eldridge, IA 52748                                                                                            First Class Mail
Chartered Organization         Euper Lane Parent Teacher Assoc                                Westark Area Council 016                                          6601 Euper Ln                                            Fort Smith, AR 72903‐4049                                                                                     First Class Mail
Chartered Organization         Eupora Lions Club                                              Pushmataha Area Council 691                                       P.O. Box 594                                             Eupora, MS 39744‐0594                                                                                         First Class Mail
Chartered Organization         Eureka Christian Church                                        c/o Bob Mcclure                                                   3100 N Knoxville Ave, Ste 219                            Peoria, IL 61603‐1047                                                                                         First Class Mail
Chartered Organization         Eureka Elks Lodge 652                                          Crater Lake Council 491                                           445 Herrick Ave                                          Eureka, CA 95503‐6419                                                                                         First Class Mail
Voting Party                   Eureka Springs United Methodist Church                         Attn: Martie Davis                                                195 Huntsville Rd                                        Eureka Springs, AR 72632                                                lraines@fridayfirm.com                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Eureka United Methodist Church                                 Attn: Timothy Gerard Schulte                                      215 N Central Ave                                        Eureka, MO 63025                                                        tim.schulte@the‐river.church          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Eureka United Methodist Church                                 Attn: Tim Schulte                                                 P.O. Box 67                                              Eureka, MO 63025                                                        tim.schulte@the‐river.church          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Eureka United Methodist Church                                 208 N Callender St                                                Eureka, IL 61530                                                                                                                 eumc14@frontier.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Eureka Utd Methodist Church                                    Greater St Louis Area Council 312                                 215 N Central Ave                                        Eureka, MO 63025‐1825                                                                                         First Class Mail
Chartered Organization         Eustis Elks Lodge 1578                                         Central Florida Council 083                                       P.O. Box 1660                                            Eustis, FL 32727‐1660                                                                                         First Class Mail
Chartered Organization         Eva Casstevens American Legion Post 535                        Greater St Louis Area Council 312                                 General Delivery                                         Beecher City, IL 62414                                                                                        First Class Mail
Chartered Organization         Eva Casstevens Legion Post 535                                 Greater St Louis Area Council 312                                 Rr 1                                                     Beecher City, IL 62414                                                                                        First Class Mail
Voting Party                   Evan. Luth. Trinity Congr. Unaltered Augsbrg Cnfsn Utica Mi    Attn: Jeff Pioch                                                  45160 Van Dyke Ave                                       Utica, MI 48317                                                         jpioch@trinityutica.com               Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Evangel Heights United Methodist Church                        Attn: Trustees Evangel Heights United Methodist Church            114 N Ironwood Dr                                        South Bend, IN 46615                                                    rvanwechel@hotmail.com                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Evangel Utd Methodist Church                                   Jayhawk Area Council 197                                          227 Pennsylvania Ave                                     Holton, KS 66436‐1844                                                                                         First Class Mail
Chartered Organization         Evangel Utd Methodist Church                                   Gamehaven 299                                                     2645 Broadway Ave N                                      Rochester, MN 55906‐3979                                                                                      First Class Mail
Chartered Organization         Evangelical Congregational Church                              Mayflower Council 251                                             8 Church St                                              Westborough, MA 01581‐1904                                                                                    First Class Mail
Chartered Organization         Evangelical Covenant Church                                    Mid‐America Council 326                                           501 2nd St S                                             Albert City, IA 50510‐1323                                                                                    First Class Mail
Chartered Organization         Evangelical Covenant Church                                    Sagamore Council 162                                              3600 S 9th St                                            Lafayette, IN 47909‐3540                                                                                      First Class Mail
Chartered Organization         Evangelical Covenant Church Of Hinsdale                        Pathway To Adventure 456                                          412 S Garfield St                                        Hinsdale, IL 60521‐4419                                                                                       First Class Mail
Chartered Organization         Evangelical Free Church                                        Longs Peak Council 062                                            611 Cody Ave                                             Alliance, NE 69301‐4309                                                                                       First Class Mail
Chartered Organization         Evangelical Free Church                                        Great Rivers Council 653                                          600 Silvey St                                            Columbia, MO 65203‐0028                                                                                       First Class Mail
Voting Party                   Evangelical Free Church Of Chula Vista, Inc.                   Paseo Del Rey Church                                              900 Paseo Del Rey                                        Chula Vista, CA 91910                                                   cindy@paseodelrey.org                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Evangelical Immanuel Lutheran Church Of Whitestone Inc.        Attn: Michael R Jakob                                             11‐10 150th St                                           Whitestone, NY 11357                                                    immwhitestone@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Evangelical Lutheran Ch Of Living Word                         Cradle of Liberty Council 525                                     1250 Eon Rd                                              Abington, PA 19001                                                                                            First Class Mail
Chartered Organization         Evangelical Lutheran Ch, Master                                Lake Erie Council 440                                             860 Northfield Rd                                        Bedford, OH 44146‐3816                                                                                        First Class Mail
Chartered Organization         Evangelical Lutheran Ch, Redeemer                              Greater New York Councils, Bsa 640                                9216 217th St                                            Queens Village, NY 11428‐1254                                                                                 First Class Mail
Chartered Organization         Evangelical Lutheran Ch, Resurrection                          Seneca Waterways 397                                              3736 Saint Paul Blvd                                     Rochester, NY 14617‐2737                                                                                      First Class Mail
Chartered Organization         Evangelical Lutheran Ch, Trinity                               Cradle of Liberty Council 525                                     2300 S 18th St                                           Philadelphia, PA 19145‐3730                                                                                   First Class Mail
Chartered Organization         Evangelical Lutheran Church                                    Gateway Area 624                                                  115 N 5th St                                             Black River Falls, WI 54615‐1237                                                                              First Class Mail
Chartered Organization         Evangelical Lutheran Church                                    Mason Dixon Council 221                                           43 S Church St                                           Waynesboro, PA 17268‐1525                                                                                     First Class Mail
Chartered Organization         Evangelical Lutheran Church Frederick                          National Capital Area Council 082                                 31 E Church St                                           Frederick, MD 21701‐5401                                                                                      First Class Mail
Voting Party                   Evangelical Lutheran Church Of The Ascension                   Attn: Council President, Ascension Lutheran Church                P.O. Box 266                                             Shelby, NC 28151                                                        ascensionsecof@bellsouth.net          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Evangelical Lutheran Church Of The Good Shepherd               1700 Bower Hill Rd                                                Pittsburgh, PA 15243                                                                                                             treasurer@goodshepherdbowerhill.com   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Evangelical Lutheran Church Of The Redeemer                    Attn: Robert Wenk                                                 1545 Chain Bridge Rd                                     Mclean, VA 22101                                                        rob.wenk@verizon.net                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Evangelical Lutheran Church Zion                               National Capital Area Council 082                                 107 W Main St                                            Middletown, MD 21769‐8007                                                                                     First Class Mail
Chartered Organization         Evangelical Ucc                                                Greater St Louis Area Council 312                                 2406 Poplar St                                           Highland, IL 62249                                                                                            First Class Mail
Voting Party                   Evangelical Umc In Clarksboro                                  c/o Bradley Arant Boult Cummings, LLP                             Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                      erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Evangelical United Brethren Church                             Attn: Steven R. Good                                              5 W Washington St                                        Oswego, IL 60543                                                        office@goodshepherdoswego.org         Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Evangelical United Church Of Christ                            Attn: Barbara Bray                                                2520 Poplar St                                           Highland, IL 62249                                                      bbray@evucc.org                       Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Evangelical United Methodist Church                            Attn: Eumc                                                        345 Broadwater Ave                                       Billings, MT 59101                                                      office@actyourfaith.org               Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Evangelical United Methodist Church                            Attn: Treasurer, Evangelical United Methodist Church              1000 Flaxmill Rd                                         Huntington, IN 46750                                                    marti@e‐umc.org                       Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Evangelical United Methodist Church (188425)                   c/o Bentz Law Firm                                                Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200         Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Evangelical United Methodist Church (61496)                    c/o Bentz Law Firm                                                Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200         Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Evangelical Utd Church Of Christ                               Greater St Louis Area Council 312                                 1212 W Homer M Adams Pkwy                                Godfrey, IL 62035‐3344                                                                                        First Class Mail
Chartered Organization         Evangelical Utd Lutheran Church                                Cornhusker Council 324                                            5945 Fremont St                                          Lincoln, NE 68507‐1623                                                                                        First Class Mail
Chartered Organization         Evangelical Utd Methodist Church                               Bucktail Council 509                                              30 S White St                                            Brookville, PA 15825‐2420                                                                                     First Class Mail
Chartered Organization         Evangelical Utd Methodist Church                               Garden State Council 690                                          14 W Cohawkin Rd                                         Clarksboro, NJ 08020‐1124                                                                                     First Class Mail
Chartered Organization         Evangelical Utd Methodist Church                               Chief Cornplanter Council, Bsa 538                                18 2nd St                                                Youngsville, PA 16371‐1409                                                                                    First Class Mail
Voting Party                   Evangeline Area Council 212                                    Attn: Art Hawkins                                                 2266 S College Rd Ext, Ste E                             Lafayette, LA 70508                                                     Art.hawkins@scouting.org              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Evans Center Volunteer Fire Co                                 Greater Niagara Frontier Council 380                              P.O. Box 193                                             Angola, NY 14006‐0193                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                       Page 98 of 442
                                                                                  Case 20-10343-LSS                                                                         Doc 8171                                                 Filed 01/06/22                                                 Page 114 of 457
                                                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                                                         Service List
                                                                                                                                                                                                                  Served as set forth below

        Description                                                     Name                                                                                                                                          Address                                                                                                                         Email              Method of Service
Chartered Organization         Evans Center Volunteer Fire Co                                                 Greater Niagara Frontier Council 380                     8298 Erie Rd                                                        Angola, NY 14006‐8807                                                                                              First Class Mail
Chartered Organization         Evans Elementary School                                                        Buffalo Trace 156                                        2727 N Evans Ave                                                    Evansville, IN 47711‐6227                                                                                          First Class Mail
Voting Party                   Evans Memorial United Methodist Church (60710)                                 c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200      Pittsburgh, PA 15228                             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Evans Middle School                                                            Ottumwa Public Schools                                   812 Chester Ave                                                     Ottumwa, IA 52501‐4150                                                                                             First Class Mail
Chartered Organization         Evans School PTO                                                               Bay‐Lakes Council 635                                    140 S Peters Ave                                                    Fond Du Lac, WI 54935‐3830                                                                                         First Class Mail
Chartered Organization         Evans Utd Methodist Church                                                     Blackhawk Area 660                                       7605 N 2nd St                                                       Loves Park, IL 61115‐2817                                                                                          First Class Mail
Voting Party                   Evansburg Umc                                                                  c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200        Tampa, FL 33602                                  Erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Evansburg Utd Methodist Church                                                 Cradle of Liberty Council 525                            3871 Germantown Pike                                                Collegeville, PA 19426‐3110                                                                                        First Class Mail
Chartered Organization         Evanston American Legion Post 42                                               Northeast Illinois 129                                   1030 Central St                                                     Evanston, IL 60201‐1702                                                                                            First Class Mail
Chartered Organization         Evanston Fire Dept                                                             Northeast Illinois 129                                   909 Lake St                                                         Evanston, IL 60201‐4318                                                                                            First Class Mail
Chartered Organization         Evanston Lighthouse Rotary Club                                                Northeast Illinois 129                                   P.O. Box 445                                                        Evanston, IL 60204‐0445                                                                                            First Class Mail
Chartered Organization         Evanston Police Dept                                                           Northeast Illinois 129                                   1454 Elmwood Ave                                                    Evanston, IL 60201‐4333                                                                                            First Class Mail
Chartered Organization         Evanston Sunrise Lions Club                                                    Northeast Illinois 129                                   2925 Central St                                                     Evanston, IL 60201‐1243                                                                                            First Class Mail
Voting Party                   Evanston: Hemenway Umc                                                         Attn: Reuel Talapian                                     933 Chicago Ave                                                     Evanston, IL 60202                                                               reueltalapian@ymial.com           Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Evansville Aldersgate Umc                                                      Attn: James Clark                                        5130 Lincoln Ave                                                    Evansville, IN 47715                                                                                               First Class Mail
Chartered Organization         Evansville Fire Dept                                                           Northern Lights Council 429                              P.O. Box 367                                                        Evansville, MN 56326‐0367                                                                                          First Class Mail
Chartered Organization         Evansville Lions Club                                                          Glaciers Edge Council 620                                239 W Liberty St                                                    Evansville, WI 53536‐1252                                                                                          First Class Mail
Chartered Organization         Evart Utd Methodist Church                                                     President Gerald R Ford 781                              619 N Cherry St                                                     Evart, MI 49631                                                                                                    First Class Mail
Chartered Organization         Even Start Family Literacy Center                                              Glaciers Edge Council 620                                717 Hackett St                                                      Beloit, WI 53511‐5330                                                                                              First Class Mail
Chartered Organization         Evendale Carpet & Flooring                                                     Juniata Valley Council 497                               35626 Route 35 N                                                    Cocolamus, PA 17014‐8909                                                                                           First Class Mail
Chartered Organization         Evendale Community Church                                                      Dan Beard Council, Bsa 438                               P.O. Box 62636                                                      Cincinnati, OH 45262‐0636                                                                                          First Class Mail
Chartered Organization         Evening Optimist Club                                                          Circle Ten Council 571                                   1103 N Washington Ave                                               Mount Pleasant, TX 75455‐2525                                                                                      First Class Mail
Chartered Organization         Evening Optimist Club Of Albuquerque                                           Great Swest Council 412                                  4016 Blue Ridge Pl NE                                               Albuquerque, NM 87111‐4169                                                                                         First Class Mail
Chartered Organization         Evening Optimists                                                              Great Swest Council 412                                  4016 Blue Ridge Pl NE                                               Albuquerque, NM 87111‐4169                                                                                         First Class Mail
Chartered Organization         Evening Street PTA                                                             Simon Kenton Council 441                                 885 Evening St                                                      Worthington, OH 43085‐3048                                                                                         First Class Mail
Voting Party                   Everbridge, Inc                                                                P.O. Box 740745                                          Los Angeles, CA 90074‐0745                                                                                                                                                             First Class Mail
Chartered Organization         Everest Area Optimist Club                                                     Samoset Council, Bsa 627                                 P.O. Box 103                                                        Schofield, WI 54476‐0103                                                                                           First Class Mail
Chartered Organization         Everest Optimist                                                               Samoset Council, Bsa 627                                 842 Ridgeland Ave                                                   Schofield, WI 54476‐1150                                                                                           First Class Mail
Chartered Organization         Everett Central Lions Club                                                     Mount Baker Council, Bsa 606                             P.O. Box 1243                                                       Everett, WA 98206‐1243                                                                                             First Class Mail
Chartered Organization         Everett ‐Clc Lincoln                                                           Cornhusker Council 324                                   1123 C St                                                           Lincoln, NE 68502‐1256                                                                                             First Class Mail
Chartered Organization         Everett School ‐ Ymca After School                                             The Spirit of Adventure 227                              71 Pleasant St                                                      Dorchester, MA 02125‐1823                                                                                          First Class Mail
Voting Party                   Everett United Methodist Church (176768)                                       c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200      Pittsburgh, PA 15228                             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Everglades Community Assoc                                                     South Florida Council 084                                P.O. Box 343529                                                     Homestead, FL 33034‐0529                                                                                           First Class Mail
Chartered Organization         Everglades Community Church                                                    South Florida Council 084                                20871 Johnson St, Ste 101                                           Pembroke Pines, FL 33029‐1918                                                                                      First Class Mail
Chartered Organization         Evergreen Academy                                                              Three Harbors Council 636                                3554 Taylor Ave                                                     Elmwood Park, WI 53405‐4728                                                                                        First Class Mail
Chartered Organization         Evergreen Baptist Church                                                       Greater Los Angeles Area 033                             1255 San Gabriel Blvd                                               Rosemead, CA 91770‐4237                                                                                            First Class Mail
Chartered Organization         Evergreen Church Of Macon                                                      Central Georgia Council 096                              5221 Nisbet Dr                                                      Macon, GA 31206‐4969                                                                                               First Class Mail
Chartered Organization         Evergreen Church Of Peachtree City, Inc                                        Flint River Council 095                                  400 Windgate Rd                                                     Peachtree City, GA 30269‐2271                                                                                      First Class Mail
Chartered Organization         Evergreen Lions                                                                Montana Council 315                                      P.O. Box 5421                                                       Kalispell, MT 59903‐5421                                                                                           First Class Mail
Chartered Organization         Evergreen Lutheran Church                                                      Denver Area Council 061                                  5980 Hwy 73                                                         Evergreen, CO 80439‐6519                                                                                           First Class Mail
Voting Party                   Evergreen Park: First Umc                                                      Attn: Barbara Lee Good                                   9358 S Homan Ave                                                    Evergreen Park, IL 60805                                                         fumcepoffice@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Evergreen Presbyterian Church                                                  Pacific Harbors Council, Bsa 612                         10118 249th St E                                                    Graham, WA 98338                                                                                                   First Class Mail
Voting Party                   Evergreen Umc ‐ Leesburg                                                       c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200        Tampa, FL 33602                                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Evergreen United Methodist Church                                              Attn: Julie Poston                                       11098 US 15‐501N                                                    Chapel Hill, NC 27517                                                            info@evergreen‐umc.org            Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Evergreen United Methodist Church                                              Attn: Curtis P. Murley, Treasurer                        P.O. Box 297                                                        10 Leavitt St                   Long Island, ME 04050                            eumc.treas@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Evergreen Utd Methodist                                                        Occoneechee 421                                          11098 US 15 501 N                                                   Chapel Hill, NC 27517‐6009                                                                                         First Class Mail
Chartered Organization         Evergreen Utd Methodist Church                                                 Louisiana Purchase Council 213                           P.O. Box 680                                                        Bunkie, LA 71322‐0680                                                                                              First Class Mail
Voting Party                   Evergreen Valley United Methodist Church                                       Attn: Chair, Administrative Council                      3520 San Felipe Rd                                                  San Jose, CA 95135                                                               SheilaHeacock1122@gmail.com       Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Everitt Middle School                                                          Denver Area Council 061                                  3900 Kipling St                                                     Wheat Ridge, CO 80033‐4124                                                                                         First Class Mail
Voting Party                   Everman Umc                                                                    c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200        Tampa, FL 33602                                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Everman Umc                                                                    530 Townley Dr                                           Everman, TX 76140                                                                                                                                                                      First Class Mail
Chartered Organization         Everman Utd Methodist Church                                                   Longhorn Council 662                                     530 Townley Dr                                                      Fort Worth, TX 76140‐5204                                                                                          First Class Mail
Chartered Organization         Everson Civic Club                                                             Westmoreland Fayette 512                                 307 Graff St                                                        Everson, PA 15631‐1203                                                                                             First Class Mail
Chartered Organization         Everson Lions Club                                                             Mount Baker Council, Bsa 606                             6574 Lawrence Rd                                                    Everson, WA 98247‐9576                                                                                             First Class Mail
Voting Party                   Eversource                                                                     P.O. Box 56007                                           Boston, MA 02205‐6007                                                                                                                                                                  First Class Mail
Chartered Organization         Everton Elementary School Pto                                                  Crossroads of America 160                                2440 E Everton Rd                                                   Connersville, IN 47331‐8917                                                                                        First Class Mail
Chartered Organization         Everton Vol Fire Dept                                                          Crossroads of America 160                                5495 S State Rd 1                                                   Connersville, IN 47331‐9448                                                                                        First Class Mail
Chartered Organization         Everyday Christian Fellowship                                                  Alamo Area Council 583                                   950 N Everyday Way                                                  Cibolo, TX 78108‐4081                                                                                              First Class Mail
Chartered Organization         Evesham Police Dept                                                            Garden State Council 690                                 984 Tuckerton Rd                                                    Marlton, NJ 08053‐2652                                                                                             First Class Mail
Chartered Organization         Evesham Twp Fire Dept District 1                                               Garden State Council 690                                 125 E Main St                                                       Marlton, NJ 08053‐2159                                                                                             First Class Mail
Voting Party                   Evolution Umc                                                                  Attn: Leanna Van Zandt Nauman                            202 W Hyde Park Ave                                                 Saint Joseph MO 64504                                                            preacherlvz@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Ewa Immaculate Conception Catholic Ch                                          Aloha Council, Bsa 104                                   91‐1298 Renton Rd                                                   Ewa Beach, Hi 96706                                                                                                First Class Mail
Chartered Organization         Exalta Music                                                                   California Inland Empire Council 045                     6946 Royal Crest Way                                                Fontana, CA 92336‐5539                                                                                             First Class Mail
Chartered Organization         Excalibur Youth Services                                                       Blue Ridge Council 551                                   5321 Old Buncombe Rd                                                Travelers Rest, SC 29690                                                                                           First Class Mail
Chartered Organization         Excel Christian School                                                         Nevada Area Council 329                                  850 Baring Blvd                                                     Sparks, NV 89434‐1508                                                                                              First Class Mail
Chartered Organization         Excela Health Latrobe                                                          Westmoreland Fayette 512                                 1 Mellon Way                                                        Latrobe, PA 15650‐1197                                                                                             First Class Mail
Voting Party                   Excelsior Grange #5 Patrons Of Husbandry                                       Attn: Steven Verrill                                     270 Bailey Hill Rd                                                  Poland, ME 04274                                                                 sverrill@roadrunner.com           Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Exceptional Teens & Adults Learning Ctr                                        Lincoln Heritage Council 205                             724 W Breckinridge St                                               Louisville, KY 40203‐2108                                                                                          First Class Mail
Chartered Organization         Exchange Ambulance Of The Islips, Inc                                          Suffolk County Council Inc 404                           P.O. Box 1                                                          East Islip, NY 11730‐0001                                                                                          First Class Mail
Chartered Organization         Exchange Club                                                                  Chickasaw Council 558                                    33 Gaston Dr                                                        Cleveland, MS 38732‐9568                                                                                           First Class Mail
Chartered Organization         Exchange Club                                                                  Pushmataha Area Council 691                              P.O. Box 362                                                        Columbus, MS 39703‐0362                                                                                            First Class Mail
Chartered Organization         Exchange Club Of Austin                                                        Capitol Area Council 564                                 4211 Far West Blvd                                                  Austin, TX 78731‐2803                                                                                              First Class Mail
Chartered Organization         Exchange Club Of Austin                                                        Capitol Area Council 564                                 P.O. Box 684921                                                     Austin, TX 78768‐4921                                                                                              First Class Mail
Chartered Organization         Exchange Club Of Columbus                                                      Pushmataha Area Council 691                              P.O. Box 8114                                                       Columbus, MS 39705‐0030                                                                                            First Class Mail
Chartered Organization         Exchange Club Of Durham                                                        Connecticut Rivers Council, Bsa 066                      252 Main St                                                         Durham, CT 06422‐1647                                                                                              First Class Mail
Chartered Organization         Exchange Club Of Farmington                                                    Connecticut Rivers Council, Bsa 066                      79 Main St                                                          Farmington, CT 06032                                                                                               First Class Mail
Chartered Organization         Exchange Club Of Florence                                                      Greater Alabama Council 001                              P.O. Box 742                                                        Florence, AL 35631‐0742                                                                                            First Class Mail
Chartered Organization         Exchange Club Of Fort Bend                                                     Sam Houston Area Council 576                             7002 Riverbrook Dr, Ste 900F                                        Sugar Land, TX 77479‐6531                                                                                          First Class Mail
Chartered Organization         Exchange Club Of Glastonbury                                                   Connecticut Rivers Council, Bsa 066                      111 Tall Timbers Ln                                                 Glastonbury, CT 06033‐3393                                                                                         First Class Mail
Chartered Organization         Exchange Club Of Grayslake                                                     Northeast Illinois 129                                   P.O. Box 113                                                        Grayslake, IL 60030‐0113                                                                                           First Class Mail
Chartered Organization         Exchange Club Of Hollister                                                     Silicon Valley Monterey Bay 055                          P.O. Box 1240                                                       Hollister, CA 95024‐1240                                                                                           First Class Mail
Chartered Organization         Exchange Club Of Irvine                                                        Orange County Council 039                                P.O. Box 4537                                                       Irvine, CA 92616‐4537                                                                                              First Class Mail
Chartered Organization         Exchange Club Of Murphy Texas                                                  Circle Ten Council 571                                   P.O. Box 1984                                                       Wylie, TX 75098‐1984                                                                                               First Class Mail
Chartered Organization         Exchange Club Of Naperville                                                    Three Fires Council 127                                  511 Aurora Ave, Unit 510                                            Naperville, IL 60540‐6291                                                                                          First Class Mail
Chartered Organization         Exchange Club Of Rapid City                                                    Black Hills Area Council 695 695                         302 Main St                                                         Rapid City, SD 57701‐2838                                                                                          First Class Mail
Chartered Organization         Exchange Club Of Sugar Land                                                    Sam Houston Area Council 576                             4800 Sugar Grove Blvd, Ste 100                                      Stafford, TX 77477‐2627                                                                                            First Class Mail
Chartered Organization         Exchange Club/Elon Comm Church/College                                         Old N State Council 070                                  204 N Williamson Ave                                                Elon, NC 27244‐9151                                                                                                First Class Mail
Chartered Organization         Exchange New Car Sales                                                         Military Car Sales                                       Transatlantic Council, Bsa 802                                      Westerbachstrasse 23            Kronberg, 61476             Germany                                                First Class Mail
Chartered Organization         Executive Edu Academy Charter Sch                                              Minsi Trails Council 502                                 555 Union Blvd, Ste 4                                               Allentown, PA 18109‐3389                                                                                           First Class Mail
Voting Party                   Executive Risk Indemnity Inc.                                                  c/o Duane Morris LLP                                     Attn: Wendy M Simkulak                                              30 S 17th St                    Philadelphia, PA 19103                           WMSimkulak@duanemorris.com        Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Executive Risk Indemnity Inc.                                                  c/o Duane Morris LLP                                     Attn: Wendy M. Simkulak                                             30 S 17th St                    Philadelphia, PA 19103                           WMSimkulak@duanemorris.com        Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Executive Risk Specialty Insurance Company                                     c/o Duane Morris LLP                                     Attn: Wendy M Simkulak                                              30 S 17th St                    Philadelphia, PA 19103                           WMSimkulak@duanemorris.com        Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Executive Risk Specialty Insurance Company Insurance Company                   c/o Duane Morris LLP                                     Attn: Wendy M. Simkulak                                             30 S 17th St                    Philadelphia, PA 19103                           WMSimkulak@duanemorris.com        Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Exeter (Nh) United Methodist Church                                            Attn: Rev James A Blair                                  307 Epping Rd                                                       Exeter, NH 03833                                                                 eumcnh2@outlook.com               Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Exeter Lions Club                                                              Sequoia Council 027                                      P.O. Box 405                                                        Exeter, CA 93221‐0405                                                                                              First Class Mail
Chartered Organization         Exeter Police Dept                                                             Daniel Webster Council, Bsa 330                          P.O. Box 127                                                        Exeter, NH 03833‐0127                                                                                              First Class Mail
Chartered Organization         Exeter Volunteer Fire Dept 1                                                   Narragansett 546                                         305 Ten Rod Rd                                                      Exeter, RI 02822‐3117                                                                                              First Class Mail
Voting Party                   Exley United Methodist Church                                                  Attn: Pastor Shelley Andrews                             338 Lake St                                                         P.O. Box 69                     Wilson, NY 14172                                 office@exleychurch.org            Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Exothermic Robotics                                                            Chief Seattle Council 609                                6906 237th Ave Ne                                                   Redmond, WA 98053‐7912                                                                                             First Class Mail
Chartered Organization         Exotic Pet Birds Inc                                                           Seneca Waterways 397                                     656 Ridge Rd                                                        Webster, NY 14580‐2350                                                                                             First Class Mail
Chartered Organization         Expat Americans Growing Leaders In Excel                                       National Capital Area Council 082                        Unit 3230 Box 351                                                   Dpo, AA 34031‐0351                                                                                                 First Class Mail
Voting Party                   Experience Based Learning Systems, LLC                                         Attn: David Allen Kolb                                   75 Ulua Rd                                                          Kaunakakai, HI 96748                                                             oak5@msn.com                      Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Experimental Aircraft Assoc                                                    Greater St Louis Area Council 312                        P.O. Box 3086                                                       Oshkosh, WI 54903‐3086                                                                                             First Class Mail
Chartered Organization         Experimental Aircraft Assoc Chapter 44                                         Seneca Waterways 397                                     44 Eisenhauer Dr                                                    Brockport, NY 14420‐1427                                                                                           First Class Mail
Chartered Organization         Experimental Aircraft Assoc Chapter 898                                        Jersey Shore Council 341                                 373 N Main St                                                       Barnegat, NJ 08005‐2439                                                                                            First Class Mail
Chartered Organization         Explorador Urbano Inc                                                          Puerto Rico Council 661                                  46 Calle Duarte                                                     Mayaguez, PR 00682‐1133                                                                                            First Class Mail
Chartered Organization         Explore Risd Risd Academy                                                      Circle Ten Council 571                                   701 W Belt Line Rd                                                  Richardson, TX 75080‐6015                                                                                          First Class Mail
Chartered Organization         Explorer Post 0708                                                             Longhouse Council 373                                    46735 Interstate Rt 81                                              Alexandria Bay, NY 13607                                                                                           First Class Mail
Chartered Organization         Explorer Post 109 Inc                                                          The Spirit of Adventure 227                              207 Shurtleff St                                                    Chelsea, MA 02150‐2912                                                                                             First Class Mail
Chartered Organization         Explorer Post 140                                                              Nevada Area Council 329                                  472‐400 Diamond Crest Rd                                            Susanville, CA 96130                                                                                               First Class Mail
Chartered Organization         Extended School Program                                                        Northern Lights Council 429                              128 Soo Line Dr, Ste 102                                            Bismarck, ND 58501‐3338                                                                                            First Class Mail
Chartered Organization         Exton Community Baptist Church                                                 Chester County Council 539                               114 E Swedesford Rd                                                 Exton, PA 19341‐2322                                                                                               First Class Mail
Voting Party                   Exton United Methodist                                                         c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200        Tampa, FL 33602                                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Exton Utd Methodist Church                                                     Chester County Council 539                               181 Sharp Ln                                                        Exton, PA 19341‐1499                                                                                               First Class Mail
Chartered Organization         Extraordinary Abilities Llc                                                    Sam Houston Area Council 576                             5109 E 5th St                                                       Katy, TX 77493‐2117                                                                                                First Class Mail
Voting Party                   Exxel Outdoors LLC                                                             1 International Ct                                       Broomfield, CO 80021‐3200                                                                                                                                                              First Class Mail
Chartered Organization         Exxon Mobil Corp                                                               Sam Houston Area Council 576                             22777 Springwoods Village                                           Houston, TX 77027                                                                                                  First Class Mail
Voting Party                   Exxonmobil                                                                     P.O. Box 6404                                            Sioux Falls, SD 57117‐6404                                                                                                                                                             First Class Mail
Chartered Organization         Eye On You Photography Corp Llc                                                Crossroads of America 160                                635 N State St                                                      Greenfield, IN 46140‐1400                                                                                          First Class Mail
Chartered Organization         Ezekiel Lutheran Church                                                        Northern Star Council 250                                202 S 2nd St                                                        River Falls, WI 54022‐2459                                                                                         First Class Mail
Chartered Organization         Ezell Harding Christian School                                                 Middle Tennessee Council 560                             574 Bell Rd                                                         Antioch, TN 37013‐2071                                                                                             First Class Mail
Voting Party                   Ezion‐Mount Carmel United Methodist ‐ Wilmington                               c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200        Tampa, FL 33602                                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Ezra Millard Elementary School Pto                                             Mid‐America Council 326                                  14111 Blondo St                                                     Omaha, NE 68164‐3046                                                                                               First Class Mail
Chartered Organization         F & Am Lodge 393                                                               Longhouse Council 373                                    205 Mcginnis Rd                                                     Waddington, NY 13694‐3107                                                                                          First Class Mail
Chartered Organization         F G Lindsey School PTA                                                         Westchester Putnam 388                                   Trolley Rd                                                          Montrose, NY 10548                                                                                                 First Class Mail
Chartered Organization         F P Tillman PTO                                                                Greater St Louis Area Council 312                        230 Quan Ave                                                        Saint Louis, MO 63122‐2819                                                                                         First Class Mail
Chartered Organization         F S Ervin Elementary                                                           Tukabatchee Area Council 005                             500 Leroy Randolph Rd                                               Pine Hill, AL 36769‐2618                                                                                           First Class Mail
Chartered Organization         F. W. Thompson Masonic Lodge                                                   The Spirit of Adventure 227                              25 Great Rd                                                         Bedford, MA 01730‐2119                                                                                             First Class Mail
Chartered Organization         F.J. Sciame Construction Co Inc                                                Greater New York Councils, Bsa 640                       14 Wall St Fl 2                                                     New York, NY 10005‐2141                                                                                            First Class Mail
Chartered Organization         F.O.E. Eagles 2711                                                             Greater Wyoming Council 638                              210 W 3rd St                                                        Gillette, WY 82716‐3718                                                                                            First Class Mail
Chartered Organization         Fackrell Holdings                                                              Utah National Parks 591                                  1365 N 1250 S                                                       Orem, UT 84058                                                                                                     First Class Mail
Voting Party                   Factoryville Umc (078348)                                                      c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200      Pittsburgh, PA 15228                             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Factoryville Utd Methodist Church                                              Northeastern Pennsylvania Council 501                    162 College Ave                                                     Factoryville, PA 18419‐7720                                                                                        First Class Mail
Chartered Organization         Fair Grove Methodist Church                                                    Old N State Council 070                                  138 Fairgrove Church Rd                                             Thomasville, NC 27360‐6385                                                                                         First Class Mail
Voting Party                   Fair Harbor Capital LLC                                                        Re: Hudson Graphics, Inc Fine Printing Hudson Printing   Attn: Fredric Glass                                                 Ansonia Finance Station         P.O. Box 237037             New York, NY 10023                                     First Class Mail
Voting Party                   Fair Harbor Capital LLC                                                        Re: Madeira USA LTD                                      Attn: Fredrick Glass                                                Ansonia Finance Station         P.O. Box 237037             New York, NY 10023                                     First Class Mail
Voting Party                   Fair Harbor Capital, LLC                                                       Re: City Of Mount Hope ‐ Water                           Attn: Fredric Glass                                                 Ansonia Finance Station         P.O. Box 237037             New York, NY 10023                                     First Class Mail
Voting Party                   Fair Harbor Capital, LLC                                                       Re: Symphonix Solutions, Inc                             Attn: Fredric Glass                                                 Ansonia Finance Station         P.O. Box 237037             New York, NY 10023                                     First Class Mail
Voting Party                   Fair Harbor Capital, LLC as assignee of Landry Architects                      Attn: Fredric Glass                                      Re: Landry Architects                                               Ansonia Finance Station         P.O. Box 237037             New York, NY 10023                                     First Class Mail
Voting Party                   Fair Harbor Capital, LLC as assignee of Red Mountain Appraisal Services, LLC   Attn: Fredric Glass                                      Re: Red Mountain Appraisal Services, LLC                            Ansonia Finance Station         P.O. Box 237037             New York, NY 10023                                     First Class Mail
Voting Party                   Fair Harbor Capital, LLC as assignee of Smith Grounds Managements LLC          Attn: Fredric Glass                                      Re: Smith Grounds Managements LLC                                   Ansonia Finance Station         P.O. Box 237037             New York, NY 10023                                     First Class Mail
Voting Party                   Fair Harbor Capital, LLC, as assignee of Associated Battery Company            Attn: Fredric Glass                                      Re: Associated Battery Company                                      Ansonia Finance Station         P.O. Box 237037             New York, NY 10023                                     First Class Mail
Voting Party                   Fair Harbor Capital, LLC, as assignee of Epromos Promotional Products Inc      Attn: Fredric Glass                                      Re: Epromos Promotional Products Inc                                Ansonia Finance Station         P.O. Box 237037             New York, NY 10023                                     First Class Mail
Voting Party                   Fair Harbor Capital, LLC, as assignee of Oak Hill Garbage Disposal Inc         Attn: Fredric Glass                                      Re: Oak Hill Garbage Disposal Inc                                   Ansonia Finance Station         P.O. Box 237037             New York, NY 10023                                     First Class Mail
Voting Party                   Fair Harbor Capital, LLC, as assignee of R B Powers Company                    Attn: Fredric Glass                                      Re: R B Powers Company                                              Ansonia Finance Station         P.O. Box 237037             New York, NY 10023                                     First Class Mail
Voting Party                   Fair Harbor Capital, LLC, as assignee of Stites & Harbison Pllc                Attn: Fredric Glass                                      Re: Stites & Harbison Pllc                                          Ansonia Finance Station         P.O. Box 237037             New York, NY 10023                                     First Class Mail
Chartered Organization         Fair Haven Council Of Churches                                                 c/o Methodist Church                                     Green Mountain 592                                                  West Park Pl                    Fair Haven, VT 05743                                                               First Class Mail
Chartered Organization         Fair Haven Police Dept                                                         Monmouth Council, Bsa 347                                35 Fisk St                                                          Fair Haven, NJ 07704‐3324                                                                                          First Class Mail
Voting Party                   Fair Haven United Methodist Church                                             Attn: Susan Hardman‐Zimmerman                            289 Main St                                                         Poultney, VT 05764                                                               shardman‐zimmerman@susumc.org     Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Fair Hill Environmental Foundation, Inc                                        Del Mar Va 081                                           630 Tawes Dr                                                        Elkton, MD 21921‐2122                                                                                              First Class Mail
Chartered Organization         Fair Lawn Police Dept                                                          Northern New Jersey Council, Bsa 333                     8‐01 Fair Lawn Ave                                                  Fair Lawn, NJ 07410‐1800                                                                                           First Class Mail
Chartered Organization         Fair Lawn Rescue Assoc                                                         Northern New Jersey Council, Bsa 333                     P.O. Box 239                                                        Fair Lawn, NJ 07410‐0239                                                                                           First Class Mail
Voting Party                   Fair Oaks United Methodist Church                                              9849 Fair Oaks Blvd                                      Fair Oaks, CA 95628                                                                                                                                  office@fairoaksumc.org            Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Fair Play Camp School Incorporated                                             Blue Ridge Council 551                                   347 Wilderness Trl                                                  Westminster, SC 29693‐3404                                                                                         First Class Mail
Chartered Organization         Fair View Umc & Centre Presbyterian                                            Piedmont Council 420                                     P.O. Box 27                                                         Mount Mourne, NC 28123‐0027                                                                                        First Class Mail
Chartered Organization         Fair View Utd Methodist &                                                      Centre Presbyterian Churches                             P.O. Box 27                                                         Mount Mourne, NC 28123‐0027                                                                                        First Class Mail
Chartered Organization         Fairbanks Elks Lodge 1551                                                      Midnight Sun Council 696                                 1003 Pioneer Rd                                                     Fairbanks, AK 99701‐2817                                                                                           First Class Mail
Chartered Organization         Fairbanks Host Lions Club                                                      Midnight Sun Council 696                                 P.O. Box 71908                                                      Fairbanks, AK 99707‐1908                                                                                           First Class Mail
Chartered Organization         Fairbanks N Star Borough Sch Distr                                             Midnight Sun Council 696                                 520 5th Ave                                                         Fairbanks, AK 99701‐4718                                                                                           First Class Mail
Voting Party                   Fairbanks United Methodist Church                                              Attn: (Pastor) Heather Sims                              8350 Jones Rd                                                       Houston, TX 77065                                                                churchoffice@fairbanksumc.org     Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Fairbanks Utd Methodist Church                                                 Sam Houston Area Council 576                             8718 Landwood Dr                                                    Houston, TX 77040‐4713                                                                                             First Class Mail
Chartered Organization         Fairbrae Swim And Tennis                                                       Silicon Valley Monterey Bay 055                          696 Sheraton Dr                                                     Sunnyvale, CA 94087‐2425                                                                                           First Class Mail
Chartered Organization         Fairbrook Elem Sch Parent‐Teacher Org                                          Tecumseh 439                                             260 N Fairfield Rd                                                  Beavercreek, OH 45430‐1749                                                                                         First Class Mail
Voting Party                   Fairbrook United Methodist Church (176781)                                     c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200      Pittsburgh, PA 15228                             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                         Page 99 of 442
                                                                                  Case 20-10343-LSS                                                     Doc 8171                                    Filed 01/06/22                                                     Page 115 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                        Name                                                                                                      Address                                                                                                                             Email              Method of Service
Voting Party                   Fairburn United Methodist Church                          Attn: Carey L Sogge                                      P.O. Box 13                                              Fairburn, SD 57738                                                                 CLSogge@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairburn United Methodist Church ‐ Fairburn               c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                                erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairbury Elks Lodge                                       Cornhusker Council 324                                   525 G St                                                 Fairbury, NE 68352‐2404                                                                                               First Class Mail
Chartered Organization         Fairchance V F D                                          Westmoreland Fayette 512                                 31 Pittsburgh St                                         Fairchance, PA 15436‐1018                                                                                             First Class Mail
Chartered Organization         Fairchild Chiefs Group                                    Inland Nwest Council 611                                 610 N Depot Ave                                          Fairchild Afb, WA 99011‐9685                                                                                          First Class Mail
Voting Party                   Fairdale Community Umc (079720)                           c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200          Pittsburgh, PA 15228                           lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairdale Elementary                                       Buckskin 617                                             P.O. Box 10                                              Fairdale, WV 25839‐0010                                                                                               First Class Mail
Chartered Organization         Fairdale Elementary School                                Lincoln Heritage Council 205                             10104 Mitchell Hill Rd                                   Fairdale, KY 40118‐9409                                                                                               First Class Mail
Chartered Organization         Fairdale Fire Dept                                        Lincoln Heritage Council 205                             10015 Mitchell Hill Rd                                   Fairdale, KY 40118‐9005                                                                                               First Class Mail
Chartered Organization         Fairdale High School                                      Lincoln Heritage Council 205                             1001 Fairdale Rd                                         Fairdale, KY 40118‐9653                                                                                               First Class Mail
Chartered Organization         Fairfax Club Estates Homeowners Assoc                     National Capital Area Council 082                        P.O. Box 10133                                           Fairfax, VA 22038‐8008                                                                                                First Class Mail
Chartered Organization         Fairfax County Fire And Rescue Dept                       National Capital Area Council 082                        12099 Government Center Pkwy                             Fairfax, VA 22035‐5501                                                                                                First Class Mail
Chartered Organization         Fairfax First Baptist Church                              Chattahoochee Council 091                                510 Denson St                                            Valley, AL 36854‐4803                                                                                                 First Class Mail
Voting Party                   Fairfax United Methodist Church                           Attn: Peter Ficken                                       10300 Stratford Ave                                      Fairfax, VA 22030                                                                  lbarricks@fairfaxumc.org           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairfax Utd Lacrosse, Inc                                 Green Mountain 592                                       P.O. Box 381                                             Fairfax, VT 05454‐0381                                                                                                First Class Mail
Chartered Organization         Fairfax Utd Methodist Men                                 Pony Express Council 311                                 305 N Broadway St                                        Fairfax, MO 64446                                                                                                     First Class Mail
Chartered Organization         Fairfax Utd Methodist Men                                 National Capital Area Council 082                        10300 Stratford Ave                                      Fairfax, VA 22030‐3217                                                                                                First Class Mail
Chartered Organization         Fairfax Villa                                             c/o Tammy Harper                                         Cavalier Woods Civic Assoc                               National Capital Area Council 082   4223 San Carlos Dr         Fairfax, VA 22030                                      First Class Mail
Firm                           Fairﬁeld & Associates & Paradie & Rabasco                 Amy Fairfield, Vene Paradie                              115 Middle Street, Ste 300                               Portland, ME 04101                                                                 amy@fairfieldandassociates.com     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Firm                           Fairfield & Associates, P.A.                              Amy L. Fairfield                                         10 Stoney Brook Lane                                     Lyman, ME 04002                                                                    amy@fairfieldandassociates.com     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairfield Baptist Church                                  Atlanta Area Council 092                                 6133 Redan Rd                                            Lithonia, GA 30058‐5403                                                                                               First Class Mail
Voting Party                   Fairfield Center Umc                                      Sungmin Jeon                                             20 W School St                                           Oakland, ME 04963                                                                  smj0301@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairfield Center United Methodist Church                  Attn: Treasurer, Fairfield Center Umc                    62 Ohio Hill Rd                                          Fairfield, ME 04937                                                                mtozier34@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairfield Central Ptc                                     Dan Beard Council, Bsa 438                               5058 Dixie Hwy                                           Fairfield, OH 45014‐2934                                                                                              First Class Mail
Chartered Organization         Fairfield City School System                              Greater Alabama Council 001                              6405 Ave D                                               Fairfield, AL 35064‐1955                                                                                              First Class Mail
Chartered Organization         Fairfield Community Club                                  Overland Trails 322                                      P.O. Box 3                                               Fairfield, NE 68938‐0003                                                                                              First Class Mail
Chartered Organization         Fairfield Community Service Club                          Overland Trails 322                                      P.O. Box 3                                               Fairfield, NE 68938‐0003                                                                                              First Class Mail
Chartered Organization         Fairfield East Ptc                                        Dan Beard Council, Bsa 438                               6711 Morris Rd                                           Fairfield Township, OH 45011‐5419                                                                                     First Class Mail
Chartered Organization         Fairfield Elementary School PTO                           Simon Kenton Council 441                                 13000 Coventry Ave                                       Pickerington, OH 43147‐8865                                                                                           First Class Mail
Chartered Organization         Fairfield Firefighters                                    Mt Diablo‐Silverado Council 023                          1200 Kentucky St                                         Fairfield, CA 94533‐4808                                                                                              First Class Mail
Voting Party                   Fairfield First United Methodist Church                   Attn: Sharon Flinspach & James C Flinspach               201 N Court St                                           Fairfield, IA 52556                                                                sharonflinspach@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairfield First United Methodist Church                   Attn: Nathan Jeffries                                    109 S 1st St                                             Fairfield, IL 62837                                                                rev.chocolatier@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairfield First Utd Methodist Church                      Longhorn Council 662                                     201 N Mount St                                           Fairfield, TX 75840‐3143                                                                                              First Class Mail
Voting Party                   Fairfield Grace Umc                                       Attn: Rev Kun Sam Cho                                    1089 Fairfield Woods Rd                                  Fairfield, CT 06825                                                                fairfieldgrace@sbcglobal.net       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairfield Host Lions Club                                 Mt Diablo‐Silverado Council 023                          P.O. Box 126                                             Fairfield, CA 94533‐0012                                                                                              First Class Mail
Chartered Organization         Fairfield Kiwanis Club                                    Atlanta Area Council 092                                 9047 Woodlake Ln                                         Villa Rica, GA 30180‐9623                                                                                             First Class Mail
Chartered Organization         Fairfield Knights Of Columbus                             Northern New Jersey Council, Bsa 333                     420 US Hwy 46                                            Fairfield, NJ 07004‐1909                                                                                              First Class Mail
Chartered Organization         Fairfield Lions Club                                      New Birth of Freedom 544                                 4 Field Trl                                              Fairfield, PA 17320‐8241                                                                                              First Class Mail
Chartered Organization         Fairfield Moose Family Ctr                                Mt Diablo‐Silverado Council 023                          P.O. Box 63                                              Fairfield, CA 94533‐0006                                                                                              First Class Mail
Chartered Organization         Fairfield Park & Rec Dept                                 Holland Hill Sch                                         75 Mill Plain Rd                                         Fairfield, CT 06824‐5043                                                                                              First Class Mail
Chartered Organization         Fairfield Park & Rec Dept                                 Jennings School                                          75 Mill Plain Rd                                         Fairfield, CT 06824‐5043                                                                                              First Class Mail
Chartered Organization         Fairfield Park & Rec Dept                                 Roger Sherman Sch                                        75 Mill Plain Rd                                         Fairfield, CT 06824‐5043                                                                                              First Class Mail
Chartered Organization         Fairfield Park & Rec Dept                                 N Stratfield Sch                                         75 Mill Plain Rd                                         Fairfield, CT 06824‐5043                                                                                              First Class Mail
Chartered Organization         Fairfield Park & Rec Dept‐Burr School                     Connecticut Yankee Council Bsa 072                       75 Mill Plain Rd                                         Fairfield, CT 06824‐5043                                                                                              First Class Mail
Chartered Organization         Fairfield Park & Rec Dept‐Mill Hill Sch                   Connecticut Yankee Council Bsa 072                       75 Mill Plain Rd                                         Fairfield, CT 06824‐5043                                                                                              First Class Mail
Chartered Organization         Fairfield Park & Rec Dept‐Riverfield Sch                  Connecticut Yankee Council Bsa 072                       75 Mill Plain Rd                                         Fairfield, CT 06824‐5043                                                                                              First Class Mail
Chartered Organization         Fairfield Park & Rec Dept‐Stratfield Sch                  Connecticut Yankee Council Bsa 072                       75 Mill Plain Rd                                         Fairfield, CT 06824‐5043                                                                                              First Class Mail
Chartered Organization         Fairfield Park/Rec Dept‐Osborn Hill Sch                   Connecticut Yankee Council Bsa 072                       75 Mill Plain Rd                                         Fairfield, CT 06824‐5043                                                                                              First Class Mail
Chartered Organization         Fairfield Parks & Recreation Dept                         Connecticut Yankee Council Bsa 072                       75 Mill Plain Rd                                         Fairfield, CT 06824‐5043                                                                                              First Class Mail
Chartered Organization         Fairfield Presbyterian Church                             Heart of Virginia Council 602                            6930 Cold Harbor Rd                                      Mechanicsville, VA 23111‐5039                                                                                         First Class Mail
Chartered Organization         Fairfield PTA                                             Norwela Council 215                                      6215 Fairfield Ave                                       Shreveport, LA 71106‐2715                                                                                             First Class Mail
Chartered Organization         Fairfield School PTO                                      Oregon Trail Council 697                                 3455 Royal Ave                                           Eugene, OR 97402‐1947                                                                                                 First Class Mail
Chartered Organization         Fairfield Township Fire Dept                              Dan Beard Council, Bsa 438                               6048 Morris Rd                                           Fairfield Township, OH 45011‐5118                                                                                     First Class Mail
Voting Party                   Fairfield United Methodist Church                         Attn: Trustee Chair, Fairfield United Methodist Church   P.O. Box 313                                             Fairfield, ME 04937                                                                dbelgard@msn.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairfield Utd Methodist Church                            Pine Tree Council 218                                    37 Skowhegan Rd                                          Fairfield, ME 04937                                                                                                   First Class Mail
Chartered Organization         Fairgrove Methodist Church                                Old N State Council 070                                  138 Fairgrove Church Rd                                  Thomasville, NC 27360‐6385                                                                                            First Class Mail
Voting Party                   Fairgrove Umc                                             c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                                erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairhaven Methodist Church                                Sam Houston Area Council 576                             1330 Gessner Rd                                          Houston, TX 77055‐4005                                                                                                First Class Mail
Voting Party                   Fairhaven United Methodist Church                         Attn: Rev Kenneth B Hawes                                12801 Darnestown Rd                                      Gaithersburg, MD 20878                                                             pastorken.fairhavenumc@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairhaven United Methodist Church                         Attn: David Collins                                      3131 W Walnut St                                         Johnson City, TN 37604                                                             collinsdav@comcast.net             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairhill School PTA                                       National Capital Area Council 082                        3001 Chichester Ln                                       Fairfax, VA 22031‐2113                                                                                                First Class Mail
Chartered Organization         Fairhope Methodist Mens Ministry                          Mobile Area Council‐Bsa 004                              155 S Section St                                         Fairhope, AL 36532‐2211                                                                                               First Class Mail
Voting Party                   Fairhope United Methodist Church                          Attn: Dr Darren Mcclellan                                155 S Section St                                         Fairhope, AL 36532                                                                 scp@ajlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairhope Utd Methodist Mens Club                          Mobile Area Council‐Bsa 004                              155 S Section St                                         Fairhope, AL 36532‐2211                                                                                               First Class Mail
Chartered Organization         Fairhope Volunteer Fire Dept                              Mobile Area Council‐Bsa 004                              P.O. Box 1218                                            Fairhope, AL 36533‐1218                                                                                               First Class Mail
Chartered Organization         Fairlawn Lutheran Church                                  Great Trail 433                                          3415 W Market St                                         Fairlawn, OH 44333‐3307                                                                                               First Class Mail
Voting Party                   Fairlawn Umc                                              Attn: Pastor Scott Cave                                  2001 S Parker                                            Evansville, IN 47714                                                                                                  First Class Mail
Voting Party                   Fairlawn United Methodist Church, Radford                 Attn: Treasurer                                          7584 Brandon Rd                                          Radford, VA 24141                                                                  markmiller.psalm1@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairlawn Utd Methodist Church                             Buffalo Trace 156                                        2001 S Parker Dr                                         Evansville, IN 47714‐3815                                                                                             First Class Mail
Voting Party                   Fairlington Umc ‐ Alexandria                              c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                                erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairlington Umc Mens Club                                 National Capital Area Council 082                        3900 King St                                             Alexandria, VA 22302‐1510                                                                                             First Class Mail
Chartered Organization         Fairmeadows Parent Faculty Club                           Mid Iowa Council 177                                     217 S 27th St                                            West Des Moines, IA 50265‐6498                                                                                        First Class Mail
Chartered Organization         Fairmont Presbyterian Church                              Miami Valley Council, Bsa 444                            3705 Far Hills Ave                                       Kettering, OH 45429‐2505                                                                                              First Class Mail
Voting Party                   Fairmont Presbyterian Church                              Attn: Brian Maguire                                      3705 Far Hills Ave                                       Dayton, OH 45429                                                                   office@fairmontchurch.org          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairmont Private School                                   Orange County Council 039                                1557 W Mable St                                          Anaheim, CA 92802‐1021                                                                                                First Class Mail
Chartered Organization         Fairmont‐Hahntown Vfd                                     Westmoreland Fayette 512                                 890 Rose St                                              N Huntingdon, PA 15642‐4346                                                                                           First Class Mail
Chartered Organization         Fairmount First Umc                                       Northwest Georgia Council 100                            121 Calhoun St                                           Fairmount, GA 30139                                                                                                   First Class Mail
Chartered Organization         Fairmount Kiwanis Club                                    Northwest Georgia Council 100                            P.O. Box 8                                               Fairmount, GA 30139‐0008                                                                                              First Class Mail
Chartered Organization         Fairmount Kiwanis Club                                    Northwest Georgia Council 100                            12028 Fairmount Hwy Se                                   Fairmount, GA 30139‐3000                                                                                              First Class Mail
Voting Party                   Fairmount Park Umc ‐ Norfolk                              c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                                erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairmount Springs (179705)                                c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200          Pittsburgh, PA 15228                           lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairmount Umc                                             c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                                erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairmount United Methodist Church                         Attn: Pastor Heysook Kim                                 301 S Walnut St                                          Fairmount, IN 46928                                                                mroth@comtech.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairmount United Methodist Church ‐ Fairmount             c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                                erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairport Baptist Home                                     Seneca Waterways 397                                     4646 Nine Mile Point Rd                                  Fairport, NY 14450‐1163                                                                                               First Class Mail
Chartered Organization         Fairport Central PTA                                      Seneca Waterways 397                                     303 Jefferson Ave                                        Fairport, NY 14450‐2313                                                                                               First Class Mail
Chartered Organization         Fairport Lions Club                                       Seneca Waterways 397                                     103 Blackwatch Trl                                       Fairport, NY 14450‐3803                                                                                               First Class Mail
Voting Party                   Fairport United Methodist Church                          Attn: Charles H Rieck III, Trustee Chairperson           31 W Church St                                           Fairport, NY 14450                                                                 chip1346@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairview Baptist Church                                   Heart of America Council 307                             9551 NE State Route Bb                                   Butler, MO 64730‐9690                                                                                                 First Class Mail
Chartered Organization         Fairview Baptist Church                                   Daniel Boone Council 414                                 P.O. Box 1339                                            Fairview, NC 28730‐1339                                                                                               First Class Mail
Chartered Organization         Fairview Baptist Church                                   National Capital Area Council 082                        900 Charlotte St                                         Fredericksburg, VA 22401‐5604                                                                                         First Class Mail
Chartered Organization         Fairview Baptist‐Speedwell Presb                          Old N State Council 070                                  862 Iron Works Rd                                        Reidsville, NC 27320‐9509                                                                                             First Class Mail
Chartered Organization         Fairview Boys And Girls Club                              Middle Tennessee Council 560                             1814 Fairview Blvd                                       Fairview, TN 37062‐9090                                                                                               First Class Mail
Chartered Organization         Fairview Christian Church                                 Heart of America Council 307                             1800 NE 65th St                                          Kansas City, MO 64118‐3606                                                                                            First Class Mail
Chartered Organization         Fairview Elementary                                       Greater St Louis Area Council 312                        8888 Clifton Ave                                         Saint Louis, MO 63136‐3804                                                                                            First Class Mail
Chartered Organization         Fairview Elementary School P T O                          French Creek Council 532                                 7460 Mccray Rd                                           Fairview, PA 16415‐2401                                                                                               First Class Mail
Chartered Organization         Fairview Elementary School Pta                            Mid‐America Council 326                                  14110 Tregaron Dr                                        Bellevue, NE 68123‐3724                                                                                               First Class Mail
Chartered Organization         Fairview Elementary School PTA                            National Capital Area Council 082                        5815 Ox Rd                                               Fairfax Station, VA 22039‐1430                                                                                        First Class Mail
Chartered Organization         Fairview Fire Co                                          Hudson Valley Council 374                                258 Violet Ave                                           Poughkeepsie, NY 12601‐1236                                                                                           First Class Mail
Chartered Organization         Fairview Grange 1351                                      Laurel Highlands Council 527                             6270 Tuscarawas Rd                                       Beaver, PA 15009                                                                                                      First Class Mail
Chartered Organization         Fairview High School Ajrotc                               Middle Tennessee Council 560                             2595 Fairview Blvd                                       Fairview, TN 37062‐9027                                                                                               First Class Mail
Chartered Organization         Fairview Home & School Assoc                              Northern New Jersey Council, Bsa 333                     376 Berkeley Ave                                         Bloomfield, NJ 07003‐5036                                                                                             First Class Mail
Chartered Organization         Fairview Lake Ymca                                        Patriots Path Council 358                                1035 Fairview Lake Rd                                    Newton, NJ 07860‐4008                                                                                                 First Class Mail
Chartered Organization         Fairview Methodist Church                                 Caddo Area Council 584                                   1524 Laurel St                                           Texarkana, AR 71854‐4263                                                                                              First Class Mail
Chartered Organization         Fairview Parent Teachers Organization                     Monmouth Council, Bsa 347                                230 Cooper Rd                                            Red Bank, NJ 07701‐6010                                                                                               First Class Mail
Chartered Organization         Fairview Parents Teachers Organization                    Monmouth Council, Bsa 347                                230 Cooper Rd                                            Red Bank, NJ 07701‐6010                                                                                               First Class Mail
Chartered Organization         Fairview Park Utd Methodist Church                        Lake Erie Council 440                                    22420 Lorain Rd                                          Fairview Park, OH 44126‐2210                                                                                          First Class Mail
Chartered Organization         Fairview Presbyterian Church                              Northeast Georgia Council 101                            857 Duluth Hwy                                           Lawrenceville, GA 30043‐5320                                                                                          First Class Mail
Chartered Organization         Fairview Primary Ptso                                     Greater St Louis Area Council 312                        7047 Emma Ave                                            Saint Louis, MO 63136‐1049                                                                                            First Class Mail
Chartered Organization         Fairview Pto                                              Heart of America Council 307                             600 N Marion St                                          Olathe, KS 66061‐2430                                                                                                 First Class Mail
Chartered Organization         Fairview School                                           Laurel Highlands Council 527                             Western Beaver                                           School Dist                         Midland, PA 15059                                                                 First Class Mail
Chartered Organization         Fairview School PTA                                       Great Rivers Council 653                                 909 S Fairview Rd                                        Columbia, MO 65203‐0719                                                                                               First Class Mail
Chartered Organization         Fairview School PTO                                       Northeast Georgia Council 101                            2925 Cannon Bridge Rd                                    Demorest, GA 30535‐4712                                                                                               First Class Mail
Chartered Organization         Fairview School PTO                                       Pathway To Adventure 456                                 300 N Fairview Ave                                       Mount Prospect, IL 60056‐2376                                                                                         First Class Mail
Chartered Organization         Fairview Scouters Inc                                     Cimarron Council 474                                     202 N Main St                                            Fairview, OK 73737‐1623                                                                                               First Class Mail
Voting Party                   Fairview UMC, 1013 Westover Dr, Danville VA 24541         c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                                erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairview United Methodist                                 Attn: Virginia Kesterson                                 1524 Laurel St                                           Texarkana, AR 71854                                                                sugarhillumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairview United Methodist                                 c/o Friday, Eldredge & Clark LLP                         Attn: Lindsey Emerson Raines                             400 W Capitol Ave, Ste 2000         Little Rock, AR 72201                          lraines@fridayfirm.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairview United Methodist Church                          Attn: Steve Cordle                                       2508 Old Niles Ferry Rd                                  Maryville, TN 37803                                                                scordle@fairview‐umc.org           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairview United Methodist Church                          c/o Pastor Kathryn Burchfield                            2603 Mt. Holly Rd                                        Camden, AR 71701                                                                   pastorkat2012@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairview United Methodist Church                          Attn: Janet Clark                                        254 Robinson St                                          Binghamton, NY 13904                                                               fairviewumchurch1@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Fairview United Methodist Church (178290)                 c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200          Pittsburgh, PA 15228                           lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairview Utd Methodist Church                             Old Hickory Council 427                                  3692 Quaker Church Rd                                    Pinnacle, NC 27043‐9448                                                                                               First Class Mail
Chartered Organization         Fairview‐Oneal Junior Fire Explorers                      Blue Ridge Council 551                                   149 Seibert Rd                                           Prosperity, SC 29127‐7221                                                                                             First Class Mail
Voting Party                   Fairwood Community Umc ‐ Renton                           c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                                erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairwood Elementary PTO                                   Dan Beard Council, Bsa 438                               281 N Fair Ave                                           Hamilton, OH 45011‐4242                                                                                               First Class Mail
Chartered Organization         Fairwood Financial Services                               Chief Seattle Council 609                                14410 SE Petrovitsky Rd                                  Renton, WA 98058‐8900                                                                                                 First Class Mail
Voting Party                   Fairwood United Methodist Church                          Attn: Brandy Stevens                                     1712 Old Omen Rd                                         Tyler, TX 75701                                                                    brandystevens.fairwood@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Fairwood Utd Methodist Church                             Chief Seattle Council 609                                15255 SE Fairwood Blvd                                   Renton, WA 98058‐8645                                                                                                 First Class Mail
Chartered Organization         Faison K‐12                                               Laurel Highlands Council 527                             7430 Tioga St                                            Pittsburgh, PA 15208‐1951                                                                                             First Class Mail
Voting Party                   Faison United Methodist Church                            Attn: Jabe Largen                                        P.O. Box 417                                             Faison, NC 28341                                                                   jlargen@nccumc.org                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Faith ‐ Jacksonville                                      c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                                erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Faith Always Wins Foundation Inc                          Heart of America Council 307                             16671 Orchard Ln                                         Stilwell, KS 66085‐8806                                                                                               First Class Mail
Chartered Organization         Faith Assembly Of Belleville                              Great Lakes Fsc 272                                      894 E Huron River Dr                                     Van Buren Twp, MI 48111‐2872                                                                                          First Class Mail
Chartered Organization         Faith Baptist Church                                      Central Georgia Council 096                              232 Ga Hwy 126                                           Cochran, GA 31014‐6046                                                                                                First Class Mail
Chartered Organization         Faith Baptist Church                                      Connecticut Rivers Council, Bsa 066                      182 Broadbrook Rd                                        Enfield, CT 06082‐5303                                                                                                First Class Mail
Chartered Organization         Faith Baptist Church                                      Anthony Wayne Area 157                                   6600 Trier Rd                                            Fort Wayne, IN 46815‐5453                                                                                             First Class Mail
Chartered Organization         Faith Baptist Church                                      Blue Grass Council 204                                   116 Pocahontas Trl                                       Georgetown, KY 40324‐1123                                                                                             First Class Mail
Chartered Organization         Faith Baptist Church                                      Flint River Council 095                                  346 Hwy 138 E                                            Stockbridge, GA 30281‐3912                                                                                            First Class Mail
Chartered Organization         Faith Bible Chapel International                          Denver Area Council 061                                  6210 Ward Rd                                             Arvada, CO 80004‐3818                                                                                                 First Class Mail
Voting Party                   Faith Bible Chapel International                          c/o Hatch Ray Olsen Conan LLC                            Attn: Christopher J Conant                               730 17th St, Ste 200                Denver, CO 80202                               cconant@hatchlawyers.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Faith Bible Church                                        Circle Ten Council 571                                   1437 W Pleasant Run Rd                                   Desoto, TX 75115‐2725                                                                                                 First Class Mail
Chartered Organization         Faith Bible Church Cma                                    Central Florida Council 083                              3015 Howland Blvd                                        Deltona, FL 32725‐2904                                                                                                First Class Mail
Voting Party                   Faith Chapel United Methodist Church (4741)               c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200          Pittsburgh, PA 15228                           lspangolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Faith Chapel United Methodist Church (4741)               c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200          Pittsburgh, PA 15228                           lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Faith Christian Church                                    Great Alaska Council 610                                 4240 Wisconsin St                                        Anchorage, AK 99517‐2801                                                                                              First Class Mail
Chartered Organization         Faith Christian Church                                    Las Vegas Area Council 328                               1100 Buchanan Blvd                                       Boulder City, NV 89005‐2136                                                                                           First Class Mail
Chartered Organization         Faith Christian Church                                    Mid‐America Council 326                                  2201 S 132nd St                                          Omaha, NE 68144‐2501                                                                                                  First Class Mail
Chartered Organization         Faith Christian Church                                    Quivira Council, Bsa 198                                 2110 W 45th St S                                         Wichita, KS 67217‐4104                                                                                                First Class Mail
Chartered Organization         Faith Christian Church‐Bh                                 Mid‐America Council 326                                  2201 S 132nd St                                          Omaha, NE 68144‐2501                                                                                                  First Class Mail
Chartered Organization         Faith Community Baptist Church                            Heart of Virginia Council 602                            1903 Cool Ln                                             Richmond, VA 23223‐3911                                                                                               First Class Mail
Chartered Organization         Faith Community Church                                    Mid Iowa Council 177                                     807 N 3rd St                                             Eddyville, IA 52553‐9658                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 100 of 442
                                                                                   Case 20-10343-LSS                                    Doc 8171                                     Filed 01/06/22                                                    Page 116 of 457
                                                                                                                                                                        Exhibit B
                                                                                                                                                                         Service List
                                                                                                                                                                  Served as set forth below

        Description                                                         Name                                                                                      Address                                                                                                               Email                               Method of Service
Chartered Organization         Faith Community Church                                     Old N State Council 070                 417 Arlington St                                          Greensboro, NC 27406‐1448                                                                                                First Class Mail
Chartered Organization         Faith Community Church                                     Laurel Highlands Council 527            341 Jefferson St                                          Rochester, PA 15074‐2003                                                                                                 First Class Mail
Chartered Organization         Faith Community Church                                     North Florida Council 087               3450 County Rd 210 W                                      Saint Johns, FL 32259‐2017                                                                                               First Class Mail
Chartered Organization         Faith Community Endowment                                  Central N Carolina Council 416          P.O. Box 551                                              Faith, NC 28041‐0551                                                                                                     First Class Mail
Chartered Organization         Faith Community Endowment, Inc                             Central N Carolina Council 416          P.O. Box 551                                              Faith, NC 28041‐0551                                                                                                     First Class Mail
Voting Party                   Faith Community Umc                                        Attn: Kate Ehrenberger                  5304 Hamlet Ave                                           Baltimore, MD 21214                                                  kateehren@msn.com                                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Community Umc                                        Katherine Ehrenberger                   5315 Harford Rd                                           Baltimore, MD 21214                                                  kateehren@msn.com                                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Community Umc (Bayville)                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Community United Methodist Church                    Attn: Faith Community Umc               8230 Cox Rd                                               West Chester, OH 45069                                               tim.waugh@faithcommunityumc.org                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Community United Methodist Church                    Attn: Rev Andrew Wagner                 100 Country Club Dr                                       Xenia, OH 45385                                                      office@fcum.org                                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Community United Methodist Church (96622)            c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Faith Community Utd Methodist Church                       Baltimore Area Council 220              5315 Harford Rd                                           Baltimore, MD 21214‐2255                                                                                                 First Class Mail
Chartered Organization         Faith Community Utd Methodist Church                       Jersey Shore Council 341                526 Atlantic City Blvd                                    Bayville, NJ 08721‐2037                                                                                                  First Class Mail
Chartered Organization         Faith Community Utd Methodist Church                       Bay‐Lakes Council 635                   N1966 Julius Dr                                           Greenville, WI 54942                                                                                                     First Class Mail
Chartered Organization         Faith Community Utd Methodist Church                       Dan Beard Council, Bsa 438              4310 Richardson Rd                                        Independence, KY 41051‐8726                                                                                              First Class Mail
Chartered Organization         Faith Covenant Church                                      Great Lakes Fsc 272                     35415 W 14 Mile Rd                                        Farmington Hills, MI 48331‐1300                                                                                          First Class Mail
Chartered Organization         Faith Covenant Church                                      Pacific Harbors Council, Bsa 612        1915 Washington St                                        Sumner, WA 98390‐2020                                                                                                    First Class Mail
Chartered Organization         Faith Creek Utd Methodist Church                           Flint River Council 095                 2331 Hwy 29 N                                             Newnan, GA 30265‐1032                                                                                                    First Class Mail
Chartered Organization         Faith Cumberland Presbyterian Church                       Chickasaw Council 558                   3427 Appling Rd                                           Bartlett, TN 38133‐2703                                                                                                  First Class Mail
Voting Party                   Faith East Waterford (178005)                              c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Episcopal Church (Merrimack)                         c/o The Tamposi Law Group, PC           Attn: Peter N Tamposi                                     159 Main St                       Nashua, NH 03060                   peter@thetamposilawgroup.com                        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Faith Evangelical Congregational Church                    Pennsylvania Dutch Council 524          2124 Old Philadelphia Pike                                Lancaster, PA 17602‐3415                                                                                                 First Class Mail
Chartered Organization         Faith Evangelical Lutheran Church                          Central Florida Council 083             509 E Pennsylvania Ave                                    Deland, FL 32724‐3616                                                                                                    First Class Mail
Chartered Organization         Faith Evangelical Lutheran Church                          Of Lehigh Acres Inc                     Southwest Florida Council 088                                                                                                                                                      First Class Mail
Chartered Organization         Faith Evangelical Lutheran Church                          Chief Seattle Council 609               9041 166th Ave Ne                                         Redmond, WA 98052‐3709                                                                                                   First Class Mail
Chartered Organization         Faith Evangelical Lutheran Church                          Gamehaven 299                           648 E 5th St                                              Saint Charles, MN 55972‐1356                                                                                             First Class Mail
Chartered Organization         Faith Evangelical Lutheran Church                          Minsi Trails Council 502                3355 Macarthur Rd                                         Whitehall, PA 18052‐2903                                                                                                 First Class Mail
Voting Party                   Faith Evangelical Lutheran Church Of Lexington, KY, Inc.   c/o Plews Shadley Racher & Braun LLP    Attn: Josh Tatum                                          1346 N Delaware St                Indianapolis, IN 46202             jtatum@psrb.com                                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Evangelical Lutheran Church, Ft. Wayne, In Inc.      c/o Plews Shadley Racher & Braun LLP    Attn: Josh S Tatum                                        1346 N Delaware St                Indianapolis, IN 46202             jtatum@psrb.com                                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Faith Family Education Foundation                          Circle Ten Council 571                  1608 Osprey Dr                                            Desoto, TX 75115‐2428                                                                                                    First Class Mail
Chartered Organization         Faith Fellowship Assembly Of God                           Narragansett 546                        260 Victory Hwy                                           West Greenwich, RI 02817‐2155                                                                                            First Class Mail
Voting Party                   Faith Fellowship Umc                                       Attn: Rev David A Arruda                P.O. Box 1145                                             Mansfield, MA 02048                                                  Faithfellowshipumc@verizon.net                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Harbor United Methodist Church, Inc                  c/o Blackburn & Ording, Pllc            Attn: Ray C Blackburn                                     P.O. Box 895                      Hampstead, NC 28443                Ray@rayblackburn.com                                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Faith Harbor Utd Methodist Church                          Cape Fear Council 425                   P.O. Box 2713                                             Surf City, NC 28445‐0030                                                                                                 First Class Mail
Chartered Organization         Faith Immanuel Presbyterian Church                         New Birth of Freedom 544                1801 Colonial Rd                                          Harrisburg, PA 17112‐1406                                                                                                First Class Mail
Chartered Organization         Faith In Christ Fellowship                                 Bay‐Lakes Council 635                   101 Oakridge Dr                                           Marquette, MI 49855‐8866                                                                                                 First Class Mail
Chartered Organization         Faith In Christ Lutheran Church                            Tecumseh 439                            1603 Moorefield Rd                                        Springfield, OH 45503‐5956                                                                                               First Class Mail
Voting Party                   Faith Journey United Methodist Church                      Attn: Mike Jordan Chair of Trustees     8396 Morgan Rd                                            Clay, NY 13041                                                       fjoffice@fjumc.org; pastordanielbradley@yahoo.com   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Faith Lilac Way Lutheran Church                            Northern Star Council 250               5530 42nd Ave N                                           Robbinsdale, MN 55422‐1705                                                                                               First Class Mail
Voting Party                   Faith Lorain United Methodist Church                       Attn: Irv Butler                        2201 Reid Ave                                             Lorain, OH 44052                                                     FAITHUMC2019@GMAIL.COM                              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Faith Lutheran                                             Capitol Area Council 564                6600 Woodrow Ave                                          Austin, TX 78757‐2521                                                                                                    First Class Mail
Chartered Organization         Faith Lutheran Church                                      Cascade Pacific Council 492             930 Queen Ave Sw                                          Albany, OR 97321‐2631                                                                                                    First Class Mail
Chartered Organization         Faith Lutheran Church                                      Great Swest Council 412                 10000 Spain Rd NE                                         Albuquerque, NM 87111‐1952                                                                                               First Class Mail
Chartered Organization         Faith Lutheran Church                                      Orange County Council 039               2219 W Orange Ave                                         Anaheim, CA 92804‐3445                                                                                                   First Class Mail
Chartered Organization         Faith Lutheran Church                                      Three Fires Council 127                 3000 Liberty St                                           Aurora, IL 60502‐9512                                                                                                    First Class Mail
Chartered Organization         Faith Lutheran Church                                      Sequoyah Council 713                    2909 Weaver Pike                                          Bristol, TN 37620‐9013                                                                                                   First Class Mail
Chartered Organization         Faith Lutheran Church                                      W.L.A.C.C. 051                          7500 De Soto Ave                                          Canoga Park, CA 91303‐1430                                                                                               First Class Mail
Chartered Organization         Faith Lutheran Church                                      Golden Empire Council 047               667 E 1st Ave                                             Chico, CA 95926‐3519                                                                                                     First Class Mail
Chartered Organization         Faith Lutheran Church                                      Chippewa Valley Council 637             733 Woodward Ave                                          Chippewa Falls, WI 54729‐3283                                                                                            First Class Mail
Chartered Organization         Faith Lutheran Church                                      Mid Iowa Council 177                    10395 University Ave                                      Clive, IA 50325‐6472                                                                                                     First Class Mail
Chartered Organization         Faith Lutheran Church                                      Northern Star Council 250               1115 Hanson Blvd NW                                       Coon Rapids, MN 55433                                                                                                    First Class Mail
Chartered Organization         Faith Lutheran Church                                      Minsi Trails Council 502                2012 Sullivan Trl                                         Easton, PA 18040‐8338                                                                                                    First Class Mail
Chartered Organization         Faith Lutheran Church                                      French Creek Council 532                5414 E Lake Rd                                            Erie, PA 16511‐1427                                                                                                      First Class Mail
Chartered Organization         Faith Lutheran Church                                      Great Trail 433                         2726 W Market St                                          Fairlawn, OH 44333‐4236                                                                                                  First Class Mail
Chartered Organization         Faith Lutheran Church                                      Longhorn Council 662                    6000 Morriss Rd                                           Flower Mound, TX 75028‐3709                                                                                              First Class Mail
Chartered Organization         Faith Lutheran Church                                      Circle Ten Council 571                  2200 SW 3rd St                                            Grand Prairie, TX 75051‐4801                                                                                             First Class Mail
Chartered Organization         Faith Lutheran Church                                      President Gerald R Ford 781             2740 Fuller Ave Ne                                        Grand Rapids, MI 49505‐3746                                                                                              First Class Mail
Chartered Organization         Faith Lutheran Church                                      Patriots Path Council 358               381 S Branch Rd                                           Hillsborough, NJ 08844‐3367                                                                                              First Class Mail
Chartered Organization         Faith Lutheran Church                                      Great Rivers Council 653                2027 Industrial Dr                                        Jefferson City, MO 65109‐0901                                                                                            First Class Mail
Chartered Organization         Faith Lutheran Church                                      Southwest Florida Council 088           705 Leeland Heights Blvd                                  Lehigh Acres, FL 33972                                                                                                   First Class Mail
Chartered Organization         Faith Lutheran Church                                      Blue Grass Council 204                  1000 Tates Creek Rd                                       Lexington, KY 40502‐2205                                                                                                 First Class Mail
Chartered Organization         Faith Lutheran Church                                      Hawkeye Area Council 172                155 Boyson Rd                                             Marion, IA 52302‐9443                                                                                                    First Class Mail
Chartered Organization         Faith Lutheran Church                                      Samoset Council, Bsa 627                207 S Cherry Ave                                          Marshfield, WI 54449‐3733                                                                                                First Class Mail
Chartered Organization         Faith Lutheran Church                                      Buckeye Council 436                     107 6th St Sw                                             Massillon, OH 44647‐6523                                                                                                 First Class Mail
Chartered Organization         Faith Lutheran Church                                      Central Florida Council 083             280 E Merritt Ave                                         Merritt Island, FL 32953‐3415                                                                                            First Class Mail
Chartered Organization         Faith Lutheran Church                                      Greater Yosemite Council 059            P.O. Box 488                                              Murphys, CA 95247‐0488                                                                                                   First Class Mail
Chartered Organization         Faith Lutheran Church                                      Central Florida Council 083             2010 W Granada Blvd                                       Ormond Beach, FL 32174‐2531                                                                                              First Class Mail
Chartered Organization         Faith Lutheran Church                                      Indian Nations Council 488              9222 N Garnett Rd                                         Owasso, OK 74055‐4424                                                                                                    First Class Mail
Chartered Organization         Faith Lutheran Church                                      Golden Empire Council 047               22601 State Hwy 88                                        Pioneer, CA 95666‐9214                                                                                                   First Class Mail
Chartered Organization         Faith Lutheran Church                                      Montana Council 315                     406 5th Ave SW                                            Ronan, MT 59864‐2919                                                                                                     First Class Mail
Chartered Organization         Faith Lutheran Church                                      Samoset Council, Bsa 627                P.O. Box 6                                                Rosholt, WI 54473‐0006                                                                                                   First Class Mail
Chartered Organization         Faith Lutheran Church                                      Great Lakes Fsc 272                     50600 Shelby Rd                                           Shelby Township, MI 48317‐1248                                                                                           First Class Mail
Chartered Organization         Faith Lutheran Church                                      Winnebago Council, Bsa 173              422 N Prairie St                                          Shell Rock, IA 50670‐7744                                                                                                First Class Mail
Chartered Organization         Faith Lutheran Church                                      Glaciers Edge Council 620               1305 Blackhawk Blvd                                       South Beloit, IL 61080‐2225                                                                                              First Class Mail
Chartered Organization         Faith Lutheran Church                                      W D Boyce 138                           2206 Washington Rd                                        Washington, IL 61571‐1931                                                                                                First Class Mail
Chartered Organization         Faith Lutheran Church                                      Indian Waters Council 553               1717 Platt Springs Rd R                                   West Columbia, SC 29169‐5526                                                                                             First Class Mail
Chartered Organization         Faith Lutheran Church                                      Greater Los Angeles Area 033            9920 Mills Ave                                            Whittier, CA 90604‐1032                                                                                                  First Class Mail
Voting Party                   Faith Lutheran Church                                      Attn: Timothy T Parker                  1000 2nd Ave, 30th Fl                                     Seattle, WA 98104                                                    ttp@pattersonbuchanan.com                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Lutheran Church                                      14206 E Flagg Rd                        Rochelle, IL 61068                                                                                                             pastor@faithlcrochelle.org                          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Lutheran Church                                      Attn: Treasurer                         225 Jamestowne Blvd                                       Knoxville, TN 37934                                                  mary@faithloves.org                                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Lutheran Church                                      Attn: Michael Metzger                   P.O. Box 10147                                            Canoga Park, CA 91309                                                laurie@faithlutherancanogapark.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Lutheran Church                                      Attn: Daniel David Raemsch              6600 Woodrow Ave                                          Austin, TX 78757                                                     flcoffice@att.net                                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Lutheran Church                                      2349 Old Tpke Rd                        Lewisburg, PA 17837                                                                                                            faithchurch@dejazzd.com                             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Lutheran Church                                      2349 Old Turnpike Rd                    Lewisburg, PA 17837                                                                                                            faithchurch@dejazzd.com                             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Lutheran Church                                      Attn: Robert Garth Scott                12534 Holly Rd                                            Grand Blanc, MI 48439                                                churchoffice@faithgb.org                            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Faith Lutheran Church ‐ Bismarck                           Northern Lights Council 429             1402 E Ave C                                              Bismarck, ND 58501‐4345                                                                                                  First Class Mail
Chartered Organization         Faith Lutheran Church ‐ Mo Synod                           Jayhawk Area Council 197                1716 SW Gage Blvd                                         Topeka, KS 66604‐3334                                                                                                    First Class Mail
Chartered Organization         Faith Lutheran Church ‐ West Fargo                         Northern Lights Council 429             127 2nd Ave E                                             West Fargo, ND 58078‐1812                                                                                                First Class Mail
Voting Party                   Faith Lutheran Church & Preschool Lcms                     Attn: Ed Myers                          507 New Byhalia Rd                                        Collierville, TN 38017                                               office@faithcollierville.com                        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Lutheran Church & School                             Attn: Rebecca Sheridan                  231 Jackson Ave                                           Syosset, NY 11791                                                                                                        First Class Mail
Voting Party                   Faith Lutheran Church At Eustis, Florida                   Attn: Janet Marcil                      2727 S Grove St                                           Eustis, FL 32726                                                     jmarcil@flcse.org                                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Faith Lutheran Church Lcms                                 Sam Houston Area Council 576            800 Brooks St                                             Sugar Land, TX 77478‐3816                                                                                                First Class Mail
Voting Party                   Faith Lutheran Church Lcms Of Denver                       4785 Elm Court                          Denver, CO 80211                                                                                                               hgarypeg@aol.com                                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Faith Lutheran Church Men                                  Northern Lights Council 429             1402 E Ave C                                              Bismarck, ND 58501‐4345                                                                                                  First Class Mail
Voting Party                   Faith Lutheran Church Of Anaheim                           2219 W Orange Ave                       Anaheim, CA 92804                                                                                                              mwalsh@cikpower.com                                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Faith Lutheran Church Of Golden                            Denver Area Council 061                 17701 W 16th Ave                                          Golden, CO 80401‐2567                                                                                                    First Class Mail
Voting Party                   Faith Lutheran Church Of Meadow Vista                      Faith Lutheran Church                   1115 Combie Rd                                            Meadow Vista, CA 95722                                               pastor@faithmv.net                                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Lutheran Church, Fairlawn, Ohio                      Attn: Jean Hansen                       2726 W Market St                                          Fairlawn, OH 44333                                                   pastor@faithlutheranchurch.org                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Lutheran Topeka Ks                                   Attn: Galen F Dale                      1716 SW Gage Blvd                                         Topeka, KS 66604                                                     office@faithlutherantopeka.com                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Faith Memorial Lutheran Church                             Lasalle Council 165                     753 N Calumet Ave                                         Valparaiso, IN 46383‐7903                                                                                                First Class Mail
Voting Party                   Faith Methodist Church                                     Attn: Janet Vogt Spencer                6810 Montrose Rd                                          Rockville, MD 20852                                                  jspencer@faithworkshere.com                         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Faith Presbyterian Church                                  Denver Area Council 061                 11373 E Alameda Ave                                       Aurora, CO 80012‐1023                                                                                                    First Class Mail
Chartered Organization         Faith Presbyterian Church                                  Black Swamp Area Council 449            P.O. Box 966                                              Findlay, OH 45839‐0966                                                                                                   First Class Mail
Chartered Organization         Faith Presbyterian Church                                  Chickasaw Council 558                   8816 Poplar Pike                                          Germantown, TN 38138‐7704                                                                                                First Class Mail
Chartered Organization         Faith Presbyterian Church                                  Inland Nwest Council 611                9845 N Maple St                                           Hayden, ID 83835                                                                                                         First Class Mail
Chartered Organization         Faith Presbyterian Church                                  Crossroads of America 160               8170 Hague Rd                                             Indianapolis, IN 46256‐1649                                                                                              First Class Mail
Chartered Organization         Faith Presbyterian Church                                  Mid‐America Council 326                 8100 Giles Rd                                             La Vista, NE 68128‐6049                                                                                                  First Class Mail
Chartered Organization         Faith Presbyterian Church                                  Lincoln Heritage Council 205            9800 Stonestreet Rd                                       Louisville, KY 40272‐2848                                                                                                First Class Mail
Chartered Organization         Faith Presbyterian Church                                  Mississippi Valley Council 141 141      1027 S 24th St                                            Quincy, IL 62301‐6130                                                                                                    First Class Mail
Chartered Organization         Faith Presbyterian Church                                  Suwannee River Area Council 664         2200 N Meridian Rd                                        Tallahassee, FL 32303‐5123                                                                                               First Class Mail
Chartered Organization         Faith Presbyterian Church                                  Sagamore Council 162                    3318 State Rd 26 W                                        West Lafayette, IN 47906‐4666                                                                                            First Class Mail
Voting Party                   Faith Presbyterian Church                                  Attn: Trayce Allen, Clerk of Session    301 Bailey Ranch Rd                                       Aledo, TX 76008                                                      th25975@gmail.com                                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Presbyterian Church                                  275 Alemeda Dr                          Palm Springs, FL 33461                                                                                                         faithpresps@gmail.com                               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Presbyterian Church                                  Attn: Rev Hillary Cheek                 6309 W Friendly Ave                                       Greensboro, NC 27410                                                 faithpresgsonc@gmail.com                            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Presbyterian Church Of Emmaus                        P.O. Box 507                            Emmaus, PA 18049                                                                                                               office@faithchurchemmaus.org                        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Faith Presbyterian Church Of Tallahassee                   Suwannee River Area Council 664         2200 N Meridian Rd                                        Tallahassee, FL 32303‐5123                                                                                               First Class Mail
Chartered Organization         Faith Presbyterian Church Pcusa                            North Florida Council 087               2738 SE County Rd 21B                                     Melrose, FL 32666                                                                                                        First Class Mail
Chartered Organization         Faith Southwest Umc                                        Golden Spread Council 562               4415 Wesley St                                            Amarillo, TX 79121‐1949                                                                                                  First Class Mail
Chartered Organization         Faith Tabernacle Church Of God In Christ                   Pennsylvania Dutch Council 524          665 S Ann St                                              Lancaster, PA 17602‐4615                                                                                                 First Class Mail
Chartered Organization         Faith Tabernacle Community Church                          Chattahoochee Council 091               1601 Floyd Rd                                             Columbus, GA 31907                                                                                                       First Class Mail
Chartered Organization         Faith Temple                                               Blue Ridge Council 551                  5080 Sandy Flat Rd                                        Taylors, SC 29687‐6739                                                                                                   First Class Mail
Chartered Organization         Faith Umc                                                  Anthony Wayne Area 157                  207 E Dewald St                                           Fort Wayne, IN 46803‐3319                                                                                                First Class Mail
Voting Party                   Faith Umc                                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith Umc In Centerville                                   Attn: Treasurer & Christy Lynn Ehrle    23851 Ia‐5                                                Centerville, IA 52544                                                christy.ehrle@iaumc.net                             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Evangelical Lutheran Church                   Attn: The Rev Marissa Becklin           357 Walnut St                                             Denver, PA 17517                                                     faithunited@ptd.net                                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Terry Coddington                  15769 Livingston Rd                                       Accokeek, MD 20607                                                   treasurer@faithumc‐accokeek.org                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Ross Reinhiller                   219 1st Ave W                                             Williston, ND 58801                                                  rreinhiller@gmail.com                               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Treasurer                         811 N Brandywine Ave                                      Schenectady, NY 12308                                                roger.sheffer@mnsu.edu                              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Penny L Franz                           522 E 6th St                                              Cheyenne, WY 82007                                                   penny@ewecount.com                                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Penny Franz                       819 Randall Ave                                           Cheyene, WY 82001                                                    penny@ewecount.com                                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Michael W Cassidy                 1950 SW Eagles Pkwy                                       Grain Valley, MO 64029                                               pastormike@valleyfaith.church                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Bobbie Verser                     9820 W Markham St                                         Little Rock, AR 72205                                                office@faithumc‐lr.org                              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Valerie Sansing                   P.O. Box 494                                              Orange, TX 77631                                                     office@faithorange.org                              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Tim Albrecht                      1025 Tullar Rd                                            Neenah, WI 54956                                                     office@faithchurchneenah.com                        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Rev Wanda Santos‐Perez            191 Montcalm St                                           Chicopee, MA 01020                                                   office@chicopeeumc.org                              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Sharyl Syler                      300 9th St Nw                                             North Canton, OH 44720                                               ncfaith@faithumchurch.org                           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Michael Joe Layman                6400 Chasse Knoll                                         Orange, TX 77632                                                     layman.mj@gmail.com                                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Ken Laber                         909 19th Ave N                                            Fargo, IN 58102                                                      kenneth.laber@gmail.com                             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: James Midgley                     81 Clintonville Rd                                        North Haven, CT 06473                                                jjmidg07@gmail.com                                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                         Page 101 of 442
                                                                                   Case 20-10343-LSS                                            Doc 8171                                             Filed 01/06/22                                                       Page 117 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                         Service List
                                                                                                                                                                                  Served as set forth below

        Description                                                         Name                                                                                                      Address                                                                                                                Email                  Method of Service
Voting Party                   Faith United Methodist Church                              Attn: Terry L Covella                           411 Harding                                                       P.O. Box 783                         Kendallville, IN 46755             fumc411@sbcglobal.net                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Mr Garth Peterson, Treasurer, Faith Umc   899 Dorset St                                                     South Burlington, VT 05403                                              faithumom@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Tony Eager                                719 Harrell Rd                                                    West Monroe, LA 71291                                                   eager.tony@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Pastor David Dorn II                      4600 Fm 359                                                       Richmond, TX 77406                                                      david.dorn@faithumc.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: James Midgley                             75 Clintonville Rd                                                North Haven, CT 06473                                                   chaperal@sbcglobal.net               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church                              5395 Westview Ln                                Lisle, IL 60532                                                                                                                           carlenedavid@sbcglobal.net           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Melanie Elaine Eager                      3510 Arkansas Rd                                                  West Monroe, LA 71291                                                   admin@faithmethodist.net             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church                              Attn: Becky Atwater                             707 Unionville Rd                                                 Steuben, ME 04680                                                                                            First Class Mail
Voting Party                   Faith United Methodist Church ‐ Ft Meyers                  c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church ‐ Sammamish                  c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church (04690)                      c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church (08131)                      c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church (08370)                      c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church (182680)                     c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church (32106672)                   c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church Bellefonte (06130)           c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church Champaign, Il                Attn: Douglas Spencer Abbott                    1719 S Prospect                                                   Champaign, IL 61820                                                     doug@champaignfaith.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church Fannett                      Attn: Darlene Rivett/Business Manager           18895 Fm 365                                                      Beaumont, TX 77705                                                      faithfannettumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church Of Brimfield                 Attn: Karen L. Upson                            1226 Saxe Rd                                                      Suffield (Mogadore), OH 44260                                           brimfieldchurchpastor@outlook.com    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church Of Brimfield                 Attn: Rev Don & Rev Karen Upson                 1235 Tallmadge Rd                                                 Brimfield (Kent), OH 44240                                              brimfieldchurchpastor@outlook.com    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church Of Orland Park               Attn: Caleb Hong                                15101 80th Ave                                                    Orland Park, IL 60462                                                   pastorcaleb@faithumcop.org           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church Of Torrance                  Attn: Allison K Mark                            1226 Date Ave                                                     Torrance, CA 90503                                                      revallison@faithsouthbay.org         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church Of Torrance                  Attn: Allison K Mark                            2115 W 182nd St                                                   Torrance, CA 90504                                                      revallison@faithsouthbay.org         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church Of West Terre Haute Inc      Allen Edgargladish                              116 N 3rd St                                                      P.O. Box 123                         West Terre Haute, IN 47885         FaithUMCWTH@gmail.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church Of West Terre Haute Inc      P.O. Box 123                                    West Terre Haute, IN 47885                                                                                                                FaithUMCWTH@Gmail.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church, Hellam (92900)              c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church, Hellam (92900)              c/o Bentz Law Firm                              Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church, Of Kearney, Nebraska        c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church, Of Kearney, Nebraska        1623 Central Ave                                Kearney, NE 68847‐6021                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church, Superior, WI                c/o Faith United Methodist Church               Attn: Treasurer                                                   1531 Hughitt Ave                     Superior, WI 54880                 churchoffice@superiorfaithumc.org    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Church, Tulsa                       Attn: Glen Moore                                7431 E 91st St                                                    Tulsa, OK 74133                                                         gmoore@faithtulsa.org                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Hudson                              c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Methodist Oregon, Oh                          Attn: Treasurer, Faith United Methodist         3415 Starr Ave                                                    Oregon, OH 43616                                                        oregonfaith@att.net                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Presbyterian Church                           c/o Daniels Osborn Law Firm, Plc                Attn: John D. Daniels                                             600 4th St, Ste 302                  Sioux City, IA 51101               john@danielsosborn.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith United Presbyterian Church                           4327 Morningside Ave                            Sioux City, IA 51106                                                                                                                      faithupc@outlook.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Faith Utd Church Of Christ                                 Minsi Trails Council 502                        5992 Route 378                                                    Center Valley, PA 18034‐9455                                                                                 First Class Mail
Chartered Organization         Faith Utd Church Of Christ                                 New Birth of Freedom 544                        P.O. Box 2                                                        Grantville, PA 17028‐0002                                                                                    First Class Mail
Chartered Organization         Faith Utd Church Of Christ                                 Voyageurs Area 286                              P.O. Box 1113                                                     International Falls, MN 56649‐1113                                                                           First Class Mail
Chartered Organization         Faith Utd Evangelical Lutheran Church                      Pennsylvania Dutch Council 524                  357 Walnut St                                                     Denver, PA 17517‐1437                                                                                        First Class Mail
Chartered Organization         Faith Utd Lutheran                                         Crossroads of America 160                       4015 National Rd W                                                Richmond, IN 47374‐4706                                                                                      First Class Mail
Chartered Organization         Faith Utd Lutheran Church                                  Voyageurs Area 286                              8964 Hwy 37                                                       Iron, MN 55751‐8124                                                                                          First Class Mail
Chartered Organization         Faith Utd Methodist                                        Mid Iowa Council 177                            23851 Hwy 5                                                       Centerville, IA 52544‐8429                                                                                   First Class Mail
Chartered Organization         Faith Utd Methodist                                        East Carolina Council 426                       4143 Dr M L King Jr Blvd                                          New Bern, NC 28562                                                                                           First Class Mail
Chartered Organization         Faith Utd Methodist                                        Northern Star Council 250                       2708 33rd Ave Ne                                                  St Anthony, MN 55418‐1638                                                                                    First Class Mail
Chartered Organization         Faith Utd Methodist                                        Indian Nations Council 488                      7431 E 91st St                                                    Tulsa, OK 74133‐6020                                                                                         First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Buckeye Council 436                             1574 State Route 96                                               Ashland, OH 44805‐9262                                                                                       First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Three Rivers Council 578                        18895 Fm 365 Rd                                                   Beaumont, TX 77705‐8763                                                                                      First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Juniata Valley Council 497                      512 Hughes St                                                     Bellefonte, PA 16823‐8646                                                                                    First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Gulf Stream Council 085                         6340 Boynton Beach Blvd                                           Boynton Beach, FL 33437‐3506                                                                                 First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Prairielands 117                                1719 S Prospect Ave                                               Champaign, IL 61820‐7041                                                                                     First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Pathway To Adventure 456                        432 59th St                                                       Downers Grove, IL 60516‐1439                                                                                 First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Gamehaven 299                                   27 4th St Sw                                                      Eyota, MN 55934‐6516                                                                                         First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Northern Lights Council 429                     909 19th Ave N                                                    Fargo, ND 58102‐2262                                                                                         First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Anthony Wayne Area 157                          207 E Dewald St                                                   Fort Wayne, IN 46803‐3319                                                                                    First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Blackhawk Area 660                              1430 S Walnut Ave                                                 Freeport, IL 61032‐6408                                                                                      First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Blackhawk Area 660                              1440 S Walnut Ave                                                 Freeport, IL 61032‐6408                                                                                      First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Illowa Council 133                              876 E Knox St                                                     Galesburg, IL 61401‐5170                                                                                     First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Three Fires Council 127                         325 S Stott St                                                    Genoa, IL 60135‐1261                                                                                         First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Erie Shores Council 460                         200 E Madison St                                                  Gibsonburg, OH 43431‐1404                                                                                    First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Blue Ridge Council 551                          1301 S Main St                                                    Greer, SC 29651                                                                                              First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Central N Carolina Council 416                  3708 Faith Church Rd                                              Indian Trail, NC 28079‐6564                                                                                  First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Overland Trails 322                             1623 Central Ave                                                  Kearney, NE 68847‐6021                                                                                       First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Great Trail 433                                 1235 Tallmadge Rd                                                 Kent, OH 44240‐6455                                                                                          First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Three Fires Council 127                         815 S Finley Rd                                                   Lombard, IL 60148‐3235                                                                                       First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Susquehanna Council 533                         700 Fairview Dr                                                   Montoursville, PA 17754‐1626                                                                                 First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Connecticut Yankee Council Bsa 072              81 Clintonville Rd                                                North Haven, CT 06473‐2325                                                                                   First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Erie Shores Council 460                         3415 Starr Ave                                                    Oregon, OH 43616‐2429                                                                                        First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Chief Seattle Council 609                       3924 Issaquah Pine Lake Rd Se                                     Sammamish, WA 98029‐7259                                                                                     First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Gamehaven 299                                   617 Maple Ln                                                      Spring Valley, MN 55975‐1514                                                                                 First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Minsi Trails Council 502                        1160 Clause Dr                                                    Stroudsburg, PA 18360‐1251                                                                                   First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Greater Los Angeles Area 033                    2115 W 182nd St                                                   Torrance, CA 90504‐4303                                                                                      First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Cascade Pacific Council 492                     27400 SE Stark St                                                 Troutdale, OR 97060‐9409                                                                                     First Class Mail
Chartered Organization         Faith Utd Methodist Church                                 Crossroads of America 160                       116 N 3rd St                                                      West Terre Haute, IN 47885‐1226                                                                              First Class Mail
Chartered Organization         Faith Utd Methodist Church ‐ Denton                        Longhorn Council 662                            6060 Teasley Ln                                                   Denton, TX 76210‐2018                                                                                        First Class Mail
Chartered Organization         Faith Utd Methodist Church ‐ Fargo                         Northern Lights Council 429                     909 19th Ave N                                                    Fargo, ND 58102‐2262                                                                                         First Class Mail
Chartered Organization         Faith Utd Methodist Church Men'S Club                      Southwest Florida Council 088                   15690 Mcgregor Blvd                                               Fort Myers, FL 33908‐2501                                                                                    First Class Mail
Chartered Organization         Faith Utd Methodist Church Mens Group                      Gulf Stream Council 085                         6340 Boynton Beach Blvd                                           Boynton Beach, FL 33437‐3506                                                                                 First Class Mail
Chartered Organization         Faith Utd Methodist Church‐Richmond                        Sam Houston Area Council 576                    4600 Fm 359 Rd                                                    Richmond, TX 77406‐7622                                                                                      First Class Mail
Chartered Organization         Faith Utd Methodist Mens Club                              Northern Lights Council 429                     715 17th Ave W                                                    Williston, ND 58801‐4529                                                                                     First Class Mail
Chartered Organization         Faith Utd Methodist Mens Club                              Northern Lights Council 429                     219 1st Ave W                                                     Williston, ND 58801‐6025                                                                                     First Class Mail
Chartered Organization         Faith Utd Methodist Mens Group                             Lake Erie Council 440                           2201 Reid Ave                                                     Lorain, OH 44052‐4853                                                                                        First Class Mail
Chartered Organization         Faith Utd Methodist Of Twinsburg                           Lake Erie Council 440                           2560 Post Rd                                                      Twinsburg, OH 44087‐1432                                                                                     First Class Mail
Chartered Organization         Faith Utd Presbyterian                                     Mid‐America Council 326                         4327 Morningside Ave                                              Sioux City, IA 51106‐2949                                                                                    First Class Mail
Chartered Organization         Faith Utd Presbyterian Church                              Sioux Council 733                               800 S Splitrock Blvd                                              Brandon, SD 57005‐1830                                                                                       First Class Mail
Chartered Organization         Faith Utd Presbyterian Church                              Garden State Council 690                        318 Stokes Rd                                                     Medford, NJ 08055‐8403                                                                                       First Class Mail
Chartered Organization         Faith Utd Presbyterian Church                              Pathway To Adventure 456                        6200 167th St                                                     Tinley Park, IL 60477‐2977                                                                                   First Class Mail
Chartered Organization         Faith Utd Presbyterian Church                              Greater Niagara Frontier Council 380            3150 Elmwood Ave                                                  Tonawanda, NY 14217‐1116                                                                                     First Class Mail
Chartered Organization         Faith West Academy                                         Sam Houston Area Council 576                    2225 Porter Rd                                                    Katy, TX 77493‐5802                                                                                          First Class Mail
Voting Party                   Faith Westwood United Methodist Church                     c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faith Westwood United Methodist Church                     4814 Oaks Lane                                  Omaha, NE 68137                                                                                                                                                                First Class Mail
Chartered Organization         Faith Westwood Utd Methodist Church                        Mid‐America Council 326                         4814 Oaks Ln                                                      Omaha, NE 68137‐2032                                                                                         First Class Mail
Chartered Organization         Faith Worship & Outreach                                   Andrew Jackson Council 303                      6893 Medgar Evers Blvd                                            Jackson, MS 39213‐2512                                                                                       First Class Mail
Chartered Organization         Faith Worship Ctr Schuylkill Cnty                          Hawk Mountain Council 528                       1168 Centre Tpke                                                  Orwigsburg, PA 17961‐9058                                                                                    First Class Mail
Chartered Organization         Faithbridge Church                                         Three Harbors Council 636                       10402 Northwestern Ave                                            Franksville, WI 53126‐9502                                                                                   First Class Mail
Voting Party                   Faithbridge Inc                                            Attn: Patience Vitacco                          10402 Northwestern Ave                                            Franksville, WI 53126                                                   patience.vitacco@faithbridgewi.com   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Faithbridge Presbyterian Church                            Circle Ten Council 571                          10930 College Pkwy                                                Frisco, TX 75035‐8668                                                                                        First Class Mail
Voting Party                   Faithbridge United Methodist Church                        Attn: Pastor Ken Werlein                        18000 Stuebner Airline Rd                                         Spring, TX 77379                                                        ken.werlein@faithbridge.org          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Faithbridge United Methodist Congregation                  Attn: Bob Lavall ‐ Treasurer                    109 East Ave B                                                    Heavener, OK 74937                                                      journey_ricky@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Faithful Friend Moble Veterinary Clinic                    Northeast Georgia Council 101                   4581 Kelly Mill Rd                                                Cumming, GA 30040‐1704                                                                                       First Class Mail
Chartered Organization         Faithful Savior Lutheran Church                            Cascade Pacific Council 492                     11100 NE Skidmore St                                              Portland, OR 97220‐2466                                                                                      First Class Mail
Chartered Organization         Faithful Shepherd Catholic School                          Northern Star Council 250                       3355 Columbia Dr                                                  Eagan, MN 55121‐4202                                                                                         First Class Mail
Chartered Organization         Faithful Shepherd Presbyterian Church                      Mid‐America Council 326                         2530 S 165th Ave                                                  Omaha, NE 68130‐1659                                                                                         First Class Mail
Voting Party                   Faithful Umc                                               Attn: George Lewis                              P.O. Box 69                                                       14253 Hwy 431                        St Amant, LA 70774                 glewis133@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Falcon Elementary School PTA                               Pikes Peak Council 060                          12050 Falcon Hwy                                                  Peyton, CO 80831‐8076                                                                                        First Class Mail
Chartered Organization         Falcon Fire Protection District                            Pikes Peak Council 060                          7030 Old Meridian Rd                                              Peyton, CO 80831‐8112                                                                                        First Class Mail
Voting Party                   Falconer & Gerry United Methodist Church                   Attn: Heather Allport‐Cohoon                    1727 Forest Ave                                                   Jamestown, NY 14701                                                     hallportcohoon@gmail.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Falconer Inc                                               Alameda Council Bsa 022                         1516 Oak St, Ste 103                                              Alameda, CA 94501‐2953                                                                                       First Class Mail
Chartered Organization         Falconer Volunteer Fire Dept, Inc                          Allegheny Highlands Council 382                 115 Davis St                                                      Falconer, NY 14733                                                                                           First Class Mail
Voting Party                   Fall Branch United Methodist Church                        Attn: Treasurer                                 P.O. Box 86                                                       Fall Branch, TN 37656                                                   sandadeakins@gmail.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Fall Branch Utd Methodist Church                           Sequoyah Council 713                            1901 Hwy 93                                                       Fall Branch, TN 37656‐1612                                                                                   First Class Mail
Chartered Organization         Fall Creek Middle School                                   Chippewa Valley Council 637                     336 E Hoover Ave                                                  Fall Creek, WI 54742‐9625                                                                                    First Class Mail
Chartered Organization         Fallbrook Baptist Church                                   Sam Houston Area Council 576                    12512 Walters Rd                                                  Houston, TX 77014‐2784                                                                                       First Class Mail
Voting Party                   Fallbrook United Methodist Church                          Attn: Treasurer, Fallbrook Umc                  1844 Winter Haven Rd                                              Fallbrook, CA 92028                                                     Pastor@fallbrookumc.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Falls Church Presbyterian Church                           National Capital Area Council 082               225 E Broad St                                                    Falls Church, VA 22046‐4504                                                                                  First Class Mail
Chartered Organization         Falls City Lions Club                                      Cornhusker Council 324                          1906 Fulton St                                                    Falls City, NE 68355‐2236                                                                                    First Class Mail
Voting Party                   Falls Creek United Methodist Church (85468)                c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Falls Lannon Lions Club                                    Potawatomi Area Council 651                     P.O. Box 473                                                      Lannon, WI 53046‐0473                                                                                        First Class Mail
Chartered Organization         Fallsington Utd Methodist Church                           Washington Crossing Council 777                 50 Lacrosse St                                                    Levittown, PA 19054‐1106                                                                                     First Class Mail
Voting Party                   Fallston United Methodist Church                           Attn: Carole Cover                              1509 Fallston Rd                                                  Fallston, MD 21047                                                      karin.walker@fallstonumc.org         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Falmouth Congregational Church                             Pine Tree Council 218                           267 Falmouth Rd                                                   Falmouth, ME 04105‐2005                                                                                      First Class Mail
Chartered Organization         Familias Para Scouting De Cahlan Es                        Las Vegas Area Council 328                      2801 Fort Sumter Dr                                               North Las Vegas, NV 89030‐5201                                                                               First Class Mail
Chartered Organization         Familias Para Scouting De Herron Es                        Las Vegas Area Council 328                      2421 Kenneth Rd                                                   North Las Vegas, NV 89030‐5926                                                                               First Class Mail
Chartered Organization         Families First                                             Atlanta Area Council 092                        80 Joseph E Lowery Blvd Nw                                        Atlanta, GA 30314‐3421                                                                                       First Class Mail
Chartered Organization         Families First Inc                                         Atlanta Area Council 092                        1105 W Peachtree St Ne                                            Atlanta, GA 30309‐3608                                                                                       First Class Mail
Chartered Organization         Families First Stanford Village                            Atlanta Area Council 092                        1105 W Peachtree St NW En                                         Atlanta, GA 30309                                                                                            First Class Mail
Chartered Organization         Families For Scouting                                      Utah National Parks 591                         80 S Carbon Ave                                                   Price, UT 84501‐2802                                                                                         First Class Mail
Chartered Organization         Families For Scouting Inc                                  Circle Ten Council 571                          5100 Riverside Dr                                                 Irving, TX 75039‐4309                                                                                        First Class Mail
Chartered Organization         Families Forward                                           Dan Beard Council, Bsa 438                      1835 Fairfax Ave                                                  Cincinnati, OH 45207‐1811                                                                                    First Class Mail
Chartered Organization         Families Of Mines Road For Scouting                        South Texas Council 577                         2903 Mier St, Apt 2                                               Laredo, TX 78043‐3045                                                                                        First Class Mail
Chartered Organization         Families Of Pack 814                                       Mt Diablo‐Silverado Council 023                 2 Terraced Hills Way                                              San Ramon, CA 94583‐9102                                                                                     First Class Mail
Chartered Organization         Families Of Strawberry Hill                                The Spirit of Adventure 227                     9 Holmes St                                                       Cambridge, MA 02138‐4505                                                                                     First Class Mail
Chartered Organization         Families Of Troop 92                                       Attn: Jerry Dean Buchanan                       2641 Wittens Mill Rd                                              North Tazewell, VA 24630‐8240                                                                                First Class Mail
Chartered Organization         Family & Friends Of Cutler Manor                           South Florida Council 084                       10875 SW 216th St                                                 Miami, FL 33170‐3103                                                                                         First Class Mail
Chartered Organization         Family & School Assoc                                      Garden State Council 690                        Chews School                                                      Somerdale Rd                         Blackwood, NJ 08012                                                     First Class Mail
Chartered Organization         Family And Friends Of Pack 605                             Heart of America Council 307                    2614 NW London Dr                                                 Blue Springs, MO 64015‐3306                                                                                  First Class Mail
Chartered Organization         Family And Friends Of Troop 605                            Heart of America Council 307                    2614 NW London Dr                                                 Blue Springs, MO 64015‐3306                                                                                  First Class Mail
Chartered Organization         Family Bible Church                                        Lasalle Council 165                             52100 Woodsedge Dr                                                Granger, IN 46530‐6289                                                                                       First Class Mail
Chartered Organization         Family Christian Center                                    Central Florida Council 083                     2500 S Hwy 27                                                     Clermont, FL 34711‐6820                                                                                      First Class Mail
Chartered Organization         Family Engagement Committee                                Utah National Parks 591                         3435 N 1120 E                                                     Lehi, UT 84043‐6538                                                                                          First Class Mail
Chartered Organization         Family Facets                                              Greater St Louis Area Council 312               P.O. Box 1662                                                     Columbia, MO 65205‐1662                                                                                      First Class Mail
Chartered Organization         Family Of Christ Lutheran Church                           Northern Star Council 250                       185th St                                                          Lakeville, MN 55044                                                                                          First Class Mail
Voting Party                   Family Of Christ Lutheran Church                           Attn: Rev Kathleen Neeley                       3500 NW 129th St                                                  Vancouver, WA 98685                                                     office@foclutheranchurch.org         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Family Of Christ Lutheran Church                           Attn: Rev. Kathleen Neeley                      3500 NW 129th St                                                  Vancouver, WA 98685                                                     office@foclutheranchurch.org         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Family Of Christ West Lutheran Church                      Greater Tampa Bay Area 089                      5601 Hanley Rd                                                    Tampa, FL 33634‐4905                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 102 of 442
                                                                                    Case 20-10343-LSS                                                 Doc 8171                                             Filed 01/06/22                                                          Page 118 of 457
                                                                                                                                                                                              Exhibit B
                                                                                                                                                                                               Service List
                                                                                                                                                                                        Served as set forth below

        Description                                                          Name                                                                                                           Address                                                                                                                    Email               Method of Service
Chartered Organization         Family Of Faith Luthern Church                              Hudson Valley Council 374                            240 Midland Lake Rd                                               Middletown, NY 10941‐3310                                                                                     First Class Mail
Chartered Organization         Family Of God Lutheran Church                               Voyageurs Area 286                                   4097 Martin Rd                                                    Duluth, MN 55803‐1332                                                                                         First Class Mail
Voting Party                   Family Of Grace Lutheran Church                             Attn: Mark K Johnson, Pastor                         31317 124th Ave Se                                                Auburn, WA 98092                                                           office@familyofgracelutheran.org   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Family Resources                                            Laurel Highlands Council 527                         1425 Forbes Ave                                                   Pittsburgh, PA 15219‐5140                                                                                     First Class Mail
Chartered Organization         Family Resources Fairmount Pines                            Illowa Council 133                                   4205 N Fairmount St                                               Davenport, IA 52806‐3054                                                                                      First Class Mail
Chartered Organization         Family Scout Units Of Colorado                              Denver Area Council 061                              5625 S Newport St                                                 Greenwood Village, CO 80111‐1711                                                                              First Class Mail
Chartered Organization         Family Security                                             Tidewater Council 596                                2192 Weybridge Dr                                                 Virginia Beach, VA 23454‐5025                                                                                 First Class Mail
Chartered Organization         Family Services Lincoln                                     Cornhusker Council 324                               501 S 7th St                                                      Lincoln, NE 68508‐2920                                                                                        First Class Mail
Chartered Organization         Family Worship Center                                       Southern Shores Fsc 783                              1901 Mount Hope Rd                                                Grass Lake, MI 49240‐9332                                                                                     First Class Mail
Chartered Organization         Familymeans                                                 Northern Star Council 250                            1875 Northwestern Ave S                                           Stillwater, MN 55082‐7534                                                                                     First Class Mail
Chartered Organization         Fancy Gap Utd Methodist Church                              Blue Ridge Mtns Council 599                          793 Old Appalachian Trl                                           Fancy Gap, VA 24328‐2800                                                                                      First Class Mail
Chartered Organization         Fannie C. Williams Charter School                           Southeast Louisiana Council 214                      11755 Dwyer Rd                                                    New Orleans, LA 70128‐3454                                                                                    First Class Mail
Chartered Organization         Fannin County Fire & Rescue Ems                             Northeast Georgia Council 101                        P.O. Box 1168                                                     Blue Ridge, GA 30513‐0020                                                                                     First Class Mail
Voting Party                   Fannin United Methodist Church                              Attn: Georgia Lee Swickheimer                        P.O. Box 217                                                      Fannin, TX 77960                                                           alexalvarezut@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Fanwood Presbyterian Church                                 Patriots Path Council 358                            74 S Martine Ave                                                  Fanwood, NJ 07023‐1637                                                                                        First Class Mail
Firm                           Farah and Farah, P.A.                                       Laurence C. Huttman, Esquire                         10 West Adams St.                                                 Jacksonville, FL 32202                                                     lhuttman@farahandf arah. com       Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Fargo 1St Ward, Fargo Nd Stake                              Northern Lights Council 429                          2502 17th Ave S                                                   Fargo, ND 58103‐3610                                                                                          First Class Mail
Chartered Organization         Fargo 2Nd Ward, Fargo Nd Stake                              Northern Lights Council 429                          2502 17th Ave S                                                   Fargo, ND 58103‐3610                                                                                          First Class Mail
Chartered Organization         Fargo Police Dept                                           Northern Lights Council 429                          105 25th St N                                                     Fargo, ND 58102‐4002                                                                                          First Class Mail
Chartered Organization         Fargo Utd Methodist Church                                  Cimarron Council 474                                 P.O. Box 18                                                       Fargo, OK 73840‐0018                                                                                          First Class Mail
Chartered Organization         Fargo‐Moorhead Rotary Club                                  Northern Lights Council 429                          P.O. Box 9359                                                     Fargo, ND 58106‐9359                                                                                          First Class Mail
Chartered Organization         Faribault Police Dept                                       Northern Star Council 250                            25 4th St Nw                                                      Faribault, MN 55021‐5120                                                                                      First Class Mail
Voting Party                   Farina United Methodist Church                              Attn: Mary Ellen Langley                             302 N Vine St                                                     Farina, IL 62838                                                           dmeak6@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Farina United Methodist Church                              Mary Ellen Langley                                   P.O. Box 217                                                      Farina, IL 62838                                                                                              First Class Mail
Chartered Organization         Farish Street Baptist Church                                Andrew Jackson Council 303                           619 N Farish St                                                   Jackson, MS 39202‐3204                                                                                        First Class Mail
Chartered Organization         Farm Preservation Foundation                                Southern Shores Fsc 783                              7343 Angle Rd                                                     Northville, MI 48168‐9413                                                                                     First Class Mail
Chartered Organization         Farmacia Apolo                                              Puerto Rico Council 661                              528 Fernandez Vanga                                               San Juan, PR 00926                                                                                            First Class Mail
Chartered Organization         Farmer City American Legion                                 W D Boyce 138                                        755 Stensel Dr                                                    Farmer City, IL 61842‐1601                                                                                    First Class Mail
Chartered Organization         Farmer Utd Methodist Mens Club                              Old N State Council 070                              4933 New Hope Rd                                                  Denton, NC 27239‐9300                                                                                         First Class Mail
Voting Party                   Farmer, Bradley                                             Address Redacted                                                                                                                                                                                  Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Farmers Branch Moose Lodge 2277                             Circle Ten Council 571                               P.O. Box 814056                                                   Farmers Branch, TX 75234                                                                                      First Class Mail
Chartered Organization         Farmers Branch Police Dept                                  Circle Ten Council 571                               3723 Valley View Ln                                               Dallas, TX 75244‐4902                                                                                         First Class Mail
Voting Party                   Farmersburg United Methodist Church                         Attn: Treasurer                                      P.O. Box 207                                                      Farmersburg, IN 47850                                                      farmersburgumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Farmersburg Utd Methodist Church                            Crossroads of America 160                            318 W Main St                                                     Farmersburg, IN 47850                                                                                         First Class Mail
Chartered Organization         Farmersville Fire Dept                                      Sequoia Council 027                                  909 W Visalia Rd                                                  Farmersville, CA 93223‐1843                                                                                   First Class Mail
Chartered Organization         Farmersville Parent Teacher Organization                    Buffalo Trace 156                                    4065 Hwy 69 S                                                     Mount Vernon, IN 47620‐7205                                                                                   First Class Mail
Chartered Organization         Farmersville Rotary Club                                    Miami Valley Council, Bsa 444                        12945 Manning Rd                                                  Farmersville, OH 45325                                                                                        First Class Mail
Chartered Organization         Farmingdale Catholic Center                                 Theodore Roosevelt Council 386                       1 Morton St                                                       Farmingdale, NY 11735‐4340                                                                                    First Class Mail
Chartered Organization         Farmingdale Ptc & Elementary School                         Abraham Lincoln Council 144                          2473 N Farmingdale Rd                                             Pleasant Plains, IL 62677‐4012                                                                                First Class Mail
Chartered Organization         Farmingdale Rotary Club                                     Theodore Roosevelt Council 386                       P.O. Box 575                                                      Farmingdale, NY 11735‐0575                                                                                    First Class Mail
Voting Party                   Farmingdale United Methodist Church                         Attn: Joseph Ewoodzie                                407 Main St                                                       Farmingdale, NY 11735                                                      pastorjoseph@farmingdaleumc.org    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Farmington Community Center                                 Old N State Council 070                              1723 Farmington Rd                                                Mocksville, NC 27028‐7651                                                                                     First Class Mail
Chartered Organization         Farmington Eagles 4031                                      Northern Star Council 250                            200 3rd St                                                        Farmington, MN 55024‐1032                                                                                     First Class Mail
Chartered Organization         Farmington Heights Church Of God                            East Carolina Council 426                            910 Raleigh Rd Pkwy W                                             Wilson, NC 27896‐2701                                                                                         First Class Mail
Chartered Organization         Farmington Lions Club                                       Northern Star Council 250                            2982 225th St W                                                   Farmington, MN 55024‐9741                                                                                     First Class Mail
Chartered Organization         Farmington Presbyterian Church                              Chickasaw Council 558                                8245 Farmington Blvd                                              Germantown, TN 38139‐3214                                                                                     First Class Mail
Chartered Organization         Farmington Rotary Foundation                                Great Lakes Fsc 272                                  P.O. Box 2974                                                     Farmington Hills, MI 48333‐2974                                                                               First Class Mail
Voting Party                   Farmington Umc                                              Attn: Treasurer Farmington Umc                       2526 Elm St                                                       Farmington, CA 95230                                                       ladywriter16@hotmail.com           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Farmington United Methodist Church                          Attn: Charles Harper                                 355 Southwinds Rd                                                 Farmington, AR 72730                                                       farmingtonumcar@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Farmington Vet Clinic                                       Northern Star Council 250                            645 8th St                                                        Farmington, MN 55024‐1404                                                                                     First Class Mail
Chartered Organization         Farmington Vol Fire Dept                                    Seneca Waterways 397                                 P.O. Box 25117                                                    Farmington, NY 14425‐0117                                                                                     First Class Mail
Chartered Organization         Farmington Volunteer Fire Dept                              Connecticut Rivers Council, Bsa 066                  P.O. Box 200                                                      Farmington, CT 06034‐0200                                                                                     First Class Mail
Chartered Organization         Farmington Volunteer Fire Dept                              Westmoreland Fayette 512                             P.O. Box 251                                                      Farmington, PA 15437‐0251                                                                                     First Class Mail
Chartered Organization         Farmington Ymca Program Center                              W D Boyce 138                                        88 W Fremont                                                      Farmington, IL 61531                                                                                          First Class Mail
Chartered Organization         Farmland Lions Club / Parker Umc                            Crossroads of America 160                            320 N Main St                                                     Parker City, IN 47368‐9546                                                                                    First Class Mail
Chartered Organization         Farmlife Ruritan Club                                       East Carolina Council 426                            2865 Fire Dept Rd                                                 Williamston, NC 27892‐8748                                                                                    First Class Mail
Chartered Organization         Farmville Boys And Girls Club                               East Carolina Council 426                            3443 Park St                                                      Farmville, NC 27828                                                                                           First Class Mail
Chartered Organization         Farmville Methodist Church                                  Northwest Georgia Council 100                        6906 Fairmount Hwy SE                                             Calhoun, GA 30701‐4021                                                                                        First Class Mail
Chartered Organization         Farmville Police Dept                                       Heart of Virginia Council 602                        116 N Main St                                                     Farmville, VA 23901‐1306                                                                                      First Class Mail
Chartered Organization         Farmville Rescue And Ems, Inc                               East Carolina Council 426                            4414 Belcher St                                                   Farmville, NC 27828                                                                                           First Class Mail
Voting Party                   Farmville Umc ‐ Farmville                                   c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Farney Elementary PTO                                       Sam Houston Area Council 576                         14425 Barker Cypress Rd                                           Cypress, TX 77429‐1675                                                                                        First Class Mail
Voting Party                   Farnham Memorial Umc                                        Attn: Eric Stephen Feustel                           P.O. Box 306                                                      1613 Main St                            Pittsburg, NH 03592                ericfeustel@comcast.net            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Farnsley Middle School                                      Lincoln Heritage Council 205                         3400 Lees Ln                                                      Louisville, KY 40216‐2013                                                                                     First Class Mail
Chartered Organization         Farrady Post 24 American Legion                             Laurel Highlands Council 527                         27 W Main St                                                      Frostburg, MD 21532‐1301                                                                                      First Class Mail
Chartered Organization         Farragut Church Of Christ                                   Great Smoky Mountain Council 557                     136 Smith Rd                                                      Knoxville, TN 37934‐3702                                                                                      First Class Mail
Voting Party                   Farragut Mt. Zion United Methodist Church(08173)            c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200              Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Farragut Mt. Zion United Methodist Church(08173)            c/o Bentz Law Firm                                   Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200              Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Farragut Presbyterian Church                                Great Smoky Mountain Council 557                     209 Jamestowne Blvd                                               Farragut, TN 37934‐2727                                                                                       First Class Mail
Chartered Organization         Farragut Utd Methodist Church                               Susquehanna Council 533                              45 Route 864 Hwy                                                  Montoursville, PA 17754‐8485                                                                                  First Class Mail
Chartered Organization         Fast 30                                                     Grand Canyon Council 010                             5102 E Columbine Dr                                               Scottsdale, AZ 85254‐4129                                                                                     First Class Mail
Firm                           Fasy Law PLLC                                               Daniel Fasy                                          1752 NW Market Street #1502                                       Seattle, WA 98107                                                          dan@fasylaw.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Faternal Order Of The Eagles Aerie 3080                     Northern Lights Council 429                          931 US Bus 52                                                     Harvey, ND 58341                                                                                              First Class Mail
Voting Party                   Father Charles A Hall, SSJ Catholic School Inc.             c/o Gallagher Evelius & Jones LLP                    Attn: Matthew W Oakey                                             218 N Charles St, Ste 400               Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Father Dyer United Methodist Church                         Attn: Board of Trustees                              P.O. Box 383                                                      Breckinridge, CO 80424                                                     info@fatherdyer.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Father Dyer Utd Methodist                                   Denver Area Council 061                              P.O. Box 6201                                                     Breckenridge, CO 80424‐6201                                                                                   First Class Mail
Chartered Organization         Father Francisco Garces                                     Las Vegas Area Council 328                           1111 N Michael Way                                                Las Vegas, NV 89108‐1418                                                                                      First Class Mail
Chartered Organization         Father Marquette School                                     Bay‐Lakes Council 635                                500 S 4th St                                                      Marquette, MI 49855‐4706                                                                                      First Class Mail
Chartered Organization         Fathers Club 100 Inc                                        Northeastern Pennsylvania Council 501                13 Stocker St                                                     Plains, PA 18705‐1920                                                                                         First Class Mail
Chartered Organization         Fatima Council Knights Of Columbus                          Greater St Louis Area Council 312                    1216 Teson Rd                                                     Hazelwood, MO 63042‐1232                                                                                      First Class Mail
Chartered Organization         Fatima Council Nights Of Columbus                           Greater St Louis Area Council 312                    1216 Teson Rd                                                     Hazelwood, MO 63042‐1232                                                                                      First Class Mail
Chartered Organization         Faucett Lions Club                                          Pony Express Council 311                             108 Oak St                                                        Faucett, MO 64448‐7500                                                                                        First Class Mail
Chartered Organization         Faulkner County Rescue                                      Quapaw Area Council 018                              1220 Clarence Dr                                                  Conway, AR 72034‐5591                                                                                         First Class Mail
Chartered Organization         Faulkner Design Group                                       Circle Ten Council 571                               3232 Mckinney Ave, Ste 1170                                       Dallas, TX 75204‐2470                                                                                         First Class Mail
Chartered Organization         Fauquier County Sheriffs Office                             National Capital Area Council 082                    78 W Lee St                                                       Warrenton, VA 20186‐3245                                                                                      First Class Mail
Voting Party                   Fawn United Methodist Church (09210)                        c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200              Pittsburgh, PA 15228               STBollman@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Fawn United Methodist Church (09210)                        c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200              Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Fawn Utd Methodist Church                                   New Birth of Freedom 544                             67 S Market St                                                    Fawn Grove, PA 17321‐9593                                                                                     First Class Mail
Voting Party                   Faxon‐Kenmar Umc (181765)                                   c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200              Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Fay Biccard Glick Neighborhood Center                       Crossroads of America 160                            2990 W 71st St                                                    Indianapolis, IN 46268‐2239                                                                                   First Class Mail
Chartered Organization         Fay Galloway Elementary School PTO                          Las Vegas Area Council 328                           701 Skyline Rd                                                    Henderson, NV 89002‐8215                                                                                      First Class Mail
Chartered Organization         Fayette City Recreation League                              Laurel Highlands Council 527                         P.O. Box 125                                                      Fayette City, PA 15438‐0125                                                                                   First Class Mail
Chartered Organization         Fayette County Ems                                          Capitol Area Council 564                             1721 Von Minden Rd                                                La Grange, TX 78945‐2400                                                                                      First Class Mail
Chartered Organization         Fayette County Fish & Game Assoc Inc                        Simon Kenton Council 441                             3684 Old Springfield Rd NE                                        Washington Court House, OH 43160‐7503                                                                         First Class Mail
Chartered Organization         Fayette County High School Ffa                              Black Warrior Council 006                            202 14th Ct Ne                                                    Fayette, AL 35555‐1700                                                                                        First Class Mail
Chartered Organization         Fayette County Kiwanis                                      Flint River Council 095                              3019 Carol Dr                                                     Fayetteville, GA 30214‐1023                                                                                   First Class Mail
Chartered Organization         Fayette Lions Club                                          Black Warrior Council 006                            821 Shannon Cir                                                   Fayette, AL 35555                                                                                             First Class Mail
Chartered Organization         Fayette Lions Club                                          Attn: Steven Nolen                                   Black Warrior Council 006                                         Fayette, AL 35555                                                                                             First Class Mail
Chartered Organization         Fayette Lions Club                                          Juniata Valley Council 497                           158 Lions Den Dr                                                  Mc Alisterville, PA 17049‐8483                                                                                First Class Mail
Chartered Organization         Fayette Presbyterian Church                                 Flint River Council 095                              791 Hwy 92 N                                                      Fayetteville, GA 30214‐1312                                                                                   First Class Mail
Chartered Organization         Fayette Utd Methodist Church                                Black Swamp Area Council 449                         P.O. Box 99                                                       Fayette, OH 43521‐0099                                                                                        First Class Mail
Voting Party                   Fayettesville First United Methodist                        175 E Lanier Ave                                     Fayetteville, GA 30214                                                                                                                                                          First Class Mail
Voting Party                   Fayettesville First United Methodist, Fayetteville, Ga      c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Fayetteville 1st Utd Methodist Ch                           Flint River Council 095                              175 Lanier Ave E                                                  Fayetteville, GA 30214‐1659                                                                                   First Class Mail
Chartered Organization         Fayetteville Christian Church                               Flint River Council 095                              114 Hickory Rd                                                    Fayetteville, GA 30214‐1221                                                                                   First Class Mail
Chartered Organization         Fayetteville Cumberland Presbyterian Ch                     Middle Tennessee Council 560                         1015 Lewisburg Hwy                                                Fayetteville, TN 37334‐2201                                                                                   First Class Mail
Chartered Organization         Fayetteville Masonic Lodge 711                              Flint River Council 095                              P.O. Box 711                                                      Fayetteville, GA 30214‐0711                                                                                   First Class Mail
Chartered Organization         Fayetteville Police Dept                                    Occoneechee 421                                      467 Hay St                                                        Fayetteville, NC 28301‐5565                                                                                   First Class Mail
Chartered Organization         Fayetteville Utd Methodist Church                           Flint River Council 095                              175 Lanier Ave E                                                  Fayetteville, GA 30214‐1659                                                                                   First Class Mail
Chartered Organization         Fayetteville Utd Methodist Church                           Longhouse Council 373                                601 E Genesee St                                                  Fayetteville, NY 13066‐1555                                                                                   First Class Mail
Firm                           Fazzano & Tomasiewicz, LLC                                  Patrick Tomasiewicz                                  96 Oak Street                                                     Hartford, CT 06106                                                         pt@ftlawct.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Fdr Academy                                                 Lake Erie Council 440                                800 Linn Dr                                                       Cleveland, OH 44108‐2755                                                                                      First Class Mail
Chartered Organization         Federal Bureau Investigation Chicago Div                    Pathway To Adventure 456                             2111 W Roosevelt Rd                                               Chicago, IL 60608‐1128                                                                                        First Class Mail
Chartered Organization         Federal Bureau Of Investigation                             Greater New York Councils, Bsa 640                   75 N Hangar Rd, Ste 241                                           Jamaica, NY 11430‐1802                                                                                        First Class Mail
Chartered Organization         Federal Bureau Of Investigation                             Greater New York Councils, Bsa 640                   26 Federal Plz                                                    New York, NY 10278‐0004                                                                                       First Class Mail
Voting Party                   Federal Insurance Company                                   c/o Duane Morris LLP                                 Attn: Wendy M Simkulak                                            30 S 17th St                            Philadelphia, PA 19103             WMSimkulak@duanemorris.com         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Federal Insurance Company                                   c/o Duane Morris LLP                                 Attn: Wendy M. Simkulak                                           30 S 17th St                            Philadelphia, PA 19103             WMSimkulak@duanemorris.com         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Federal Insurance Company                                   Attn: Christopher Celentano                          10 Exchange Pl ‐9Th                                               Jersey City, NJ 07302                                                                                         First Class Mail
Voting Party                   Federal Insurance Company                                   Attn: Christopher Celentano                          10 Exchange Pl, 9th Fl                                            Jersey City, NJ 07302                                                                                         First Class Mail
Chartered Organization         Federal Way Dept Of Public Safety                           Pacific Harbors Council, Bsa 612                     P.O. Box 9718                                                     Federal Way, WA 98063                                                                                         First Class Mail
Chartered Organization         Federal Way Kiwanis                                         Pacific Harbors Council, Bsa 612                     P.O. Box 3232                                                     Federal Way, WA 98063‐3232                                                                                    First Class Mail
Chartered Organization         Federal Way Utd Methodist Church                            Pacific Harbors Council, Bsa 612                     29645 51st Ave S                                                  Auburn, WA 98001‐2321                                                                                         First Class Mail
Chartered Organization         Federated Church                                            Jayhawk Area Council 197                             322 S Topeka Ave                                                  Burlingame, KS 66413‐1347                                                                                     First Class Mail
Chartered Organization         Federated Church                                            Lake Erie Council 440                                76 Bell St                                                        Chagrin Falls, OH 44022‐2956                                                                                  First Class Mail
Chartered Organization         Federated Church                                            Mid‐America Council 326                              2704 15th St                                                      Columbus, NE 68601‐4935                                                                                       First Class Mail
Chartered Organization         Federated Church                                            Greater Yosemite Council 059                         P.O. Box 1418                                                     Patterson, CA 95363‐1418                                                                                      First Class Mail
Chartered Organization         Federated Church                                            Three Fires Council 127                              612 W State St                                                    Sycamore, IL 60178‐1330                                                                                       First Class Mail
Voting Party                   Federated Church Of Bristol                                 Attn: William Elwell, Pastor                         37 N St                                                           Bristol, VT 05443                                                          bristolfederated@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Federated Church Of East Arlington                          Attn: Rev Kathleen S Clark                           102 Pond Rd                                                       Arlington, VT 05250                                                        ksclark58@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Federated Church Of Norfolk Ma                              Mayflower Council 251                                1 Union St                                                        Norfolk, MA 02056‐1705                                                                                        First Class Mail
Chartered Organization         Federated Church Of Orland                                  Golden Empire Council 047                            709 1st St                                                        Orland, CA 95963‐1817                                                                                         First Class Mail
Chartered Organization         Federated Church Of Spearville                              Santa Fe Trail Council 194                           P.O. Box 62                                                       Spearville, KS 67876‐0062                                                                                     First Class Mail
Chartered Organization         Federated Church Of Sutton                                  Overland Trails 322                                  P.O. Box 306                                                      Sutton, NE 68979‐0306                                                                                         First Class Mail
Chartered Organization         Federated Church Of Thomaston                               Pine Tree Council 218                                8 Hyler St                                                        Thomaston, ME 04861‐3703                                                                                      First Class Mail
Voting Party                   Federated Church Of Thomaston                               Attn: Rev. Dr Susan Stonestreet                      Federated Church, 7 Hyler St                                      Thomaston, ME 04861                                                        susanstst@aol.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Federated Church Of Wauconda                                200 S Barrington Rd                                  Wauconda, IL 60084                                                                                                                           soonsunlee@live.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Federated Community Church                                  Grand Canyon Council 010                             400 W Aspen Ave                                                   Flagstaff, AZ 86001‐5306                                                                                      First Class Mail
Voting Party                   Fedex Corporate Services Inc                                As Assignee of Fedex Express Ground/Freight/Office   Attn: Janet Yanowsky                                              3965 Airways Blvd, Mod G, 3rd Fl        Memphis, TN 38116                  Bankruptcy@fedex.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Feh Design ‐ Architecture                                   Northeast Iowa Council 178                           951 Main St                                                       Dubuque, IA 52001‐6710                                                                                        First Class Mail
Chartered Organization         Felix Varela Snr High Police Explorers                      South Florida Council 084                            15255 SW 96th St                                                  Miami, FL 33196‐1200                                                                                          First Class Mail
Chartered Organization         Felix Ventures Foundation                                   Greater Los Angeles Area 033                         523 W 6th St, Ste 1120                                            Los Angeles, CA 90014‐1219                                                                                    First Class Mail
Chartered Organization         Fellenzer Engineering                                       Hudson Valley Council 374                            22 Mulberry St, Ste 2A                                            Middletown, NY 10940‐5741                                                                                     First Class Mail
Chartered Organization         Fellowship Baptist Church                                   Golden Spread Council 562                            P.O. Box 388                                                      Borger, TX 79008‐0388                                                                                         First Class Mail
Chartered Organization         Fellowship Baptist Church                                   Dan Beard Council, Bsa 438                           247 E US Hwy 22 and 3                                             Maineville, OH 45039‐9627                                                                                     First Class Mail
Chartered Organization         Fellowship Baptist Church                                   Anthony Wayne Area 157                               289 S 200 W                                                       Portland, IN 47371‐7991                                                                                       First Class Mail
Chartered Organization         Fellowship Baptist Church                                   Lincoln Heritage Council 205                         1298 Rogersville Rd                                               Radcliff, KY 40160‐9345                                                                                       First Class Mail
Chartered Organization         Fellowship Bible Church                                     Trapper Trails 589                                   4783 N 3100 E                                                     Eden, UT 84310                                                                                                First Class Mail
Chartered Organization         Fellowship Bible Church                                     Ozark Trails Council 306                             4855 S Farm Rd 205                                                Rogersville, MO 65742‐8681                                                                                    First Class Mail
Chartered Organization         Fellowship Bible Church Tucson                              Catalina Council 011                                 6721 E 12th St                                                    Tucson, AZ 85710‐1012                                                                                         First Class Mail
Chartered Organization         Fellowship Christian Church                                 Indian Nations Council 488                           500 N 15th St                                                     Broken Arrow, OK 74012‐2954                                                                                   First Class Mail
Chartered Organization         Fellowship Christian School                                 Atlanta Area Council 092                             10965 Woodstock Rd                                                Roswell, GA 30075‐2851                                                                                        First Class Mail
Chartered Organization         Fellowship Church Inc                                       Istrouma Area Council 211                            14363 Hwy 73                                                      Prairieville, LA 70769‐3618                                                                                   First Class Mail
Chartered Organization         Fellowship Community Church Inc                             Blue Ridge Mtns Council 599                          1226 Red Lane Ext                                                 Salem, VA 24153‐1710                                                                                          First Class Mail
Chartered Organization         Fellowship General Baptist Church                           Greater St Louis Area Council 312                    3581 N Westwood Blvd                                              Poplar Bluff, MO 63901‐6061                                                                                   First Class Mail
Chartered Organization         Fellowship Independent Baptist Church                       Lincoln Heritage Council 205                         1298 Rogersville Rd                                               Radcliff, KY 40160‐9345                                                                                       First Class Mail
Chartered Organization         Fellowship Lutheran Church                                  Indian Nations Council 488                           6727 S Sheridan Rd                                                Tulsa, OK 74133‐1741                                                                                          First Class Mail
Chartered Organization         Fellowship Of The Parks Church                              Longhorn Council 662                                 9900 N Beach St                                                   Fort Worth, TX 76244‐5822                                                                                     First Class Mail
Chartered Organization         Fellowship Of The Parks Haslet Campus                       Longhorn Council 662                                 1029 Avondale Haslet Rd                                           Haslet, TX 76052‐3514                                                                                         First Class Mail
Chartered Organization         Fellowship Of The Rockies‐Fountain                          Pikes Peak Council 060                               7755 C and S Rd                                                   Fountain, CO 80817‐2917                                                                                       First Class Mail
Chartered Organization         Fellowship Presbyterian Church                              Suwannee River Area Council 664                      3158 Shamrock St S                                                Tallahassee, FL 32309‐3325                                                                                    First Class Mail
Voting Party                   Fellowship Umc                                              Attn: David R Glassy                                 4750 Barksdale Blvd                                               Bossier City, LA 71112                                                     fumcoffice1@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                               Page 103 of 442
                                                                                  Case 20-10343-LSS                                                         Doc 8171                                          Filed 01/06/22                                                   Page 119 of 457
                                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                                  Service List
                                                                                                                                                                                           Served as set forth below

        Description                                                        Name                                                                                                                Address                                                                                                           Email                  Method of Service
Voting Party                   Fellowship Umc ‐ Haddon Heights                                    c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fellowship United Methodist                                        Attn: Edlen Cowley                                   101 Trophy Club Dr                                            Trophy Club, TX 76262                                               elden@fumctc.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fellowship United Methodist Church                                 Attn: Danny K Yahn, Trustee Chairman                 2511 State Hwy 99                                             Murfreesboro, TN 37128                                              trusteeschairman@tnfellowship.com   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fellowship United Methodist Church                                 Attn: Treasurer                                      1200 Mcdonald Ave                                             Hamlet, NC 28345                                                    dblair@nccumc.org                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fellowship United Methodist Church                                 Attn: Debra Sutton                                   2201 Peachers Mill Rd                                         Clarksville, TN 37042                                               Dawn@fellowshipumc.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fellowship Utd Methodist Church                                    Norwela Council 215                                  4750 Barksdale Blvd                                           Bossier City, LA 71112‐4506                                                                             First Class Mail
Chartered Organization         Fellowship Utd Methodist Church                                    Middle Tennessee Council 560                         2511 Hwy 99                                                   Murfreesboro, TN 37128‐3102                                                                             First Class Mail
Chartered Organization         Fellowship Utd Methodist Church                                    Longhorn Council 662                                 101 Trophy Club Dr                                            Trophy Club, TX 76262‐5595                                                                              First Class Mail
Voting Party                   Fells United Methodist Church (99660)                              c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Felton Community Fire Co, Inc                                      Del Mar Va 081                                       9 E Main St                                                   Felton, DE 19943‐7323                                                                                   First Class Mail
Chartered Organization         Felton Fire Co                                                     Del Mar Va 081                                       9 E Main St                                                   Felton, DE 19943‐7323                                                                                   First Class Mail
Chartered Organization         Felton Presbyterian Church                                         Silicon Valley Monterey Bay 055                      6090 Hwy 9                                                    Felton, CA 95018‐9526                                                                                   First Class Mail
Voting Party                   Fenmore Street Umc                                                 Attn: Joan Cox                                       276 Fenimore St                                               Brooklyn, NY 11225                                                                                      First Class Mail
Voting Party                   Fennville United Methodist Church                                  Attn: John A Hitsman                                 5849 124th Ave                                                Fennville, MI 49408                                                 johnhitsmansr@gmail.com             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fenton Lions Club                                                  Greater St Louis Area Council 312                    1300 W Lark Industrial Dr                                     Fenton, MO 63026‐4323                                                                                   First Class Mail
Voting Party                   Fenton United Methodist Church                                     Attn: Brenda Adams & Bradley J Steward               119 S Leroy St                                                Fenton, MI 48430                                                    brad.steward@gm.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fenton Utd Methodist Ch &                                          Fenton Lions Club                                    119 S Leroy St                                                Fenton, MI 48430‐2637                                                                                   First Class Mail
Chartered Organization         Fenton Utd Methodist Church                                        Water and Woods Council 782                          P.O. Box 488                                                  Fenton, MI 48430‐0488                                                                                   First Class Mail
Chartered Organization         Fergus Falls Sertoma Club                                          Northern Lights Council 429                          P.O. Box 621                                                  Fergus Falls, MN 56538‐0621                                                                             First Class Mail
Voting Party                   Ferguson Enterprises Inc 1480                                      P.O. Box 644054                                      Pittsburgh, PA 15264‐4054                                                                                                                                             First Class Mail
Chartered Organization         Ferguson Township Lions Club                                       Juniata Valley Council 497                           454 W Pine Grove Rd                                           Pine Grove Mills, PA 16868                                                                              First Class Mail
Chartered Organization         Fern Creek High School                                             Reserve Officer Training Corps                       9115 Fern Creek Rd                                            Louisville, KY 40291‐2711                                                                               First Class Mail
Chartered Organization         Fern Creek Utd Methodist Church                                    Lincoln Heritage Council 205                         6727 Bardstown Rd                                             Louisville, KY 40291‐3047                                                                               First Class Mail
Chartered Organization         Fernandina Beach Rotary Club                                       North Florida Council 087                            2222 High Rigger Ct                                           Fernandina Beach, FL 32034‐4521                                                                         First Class Mail
Chartered Organization         Fernbrook Elementary School PTO                                    Northern Star Council 250                            9661 Fernbrook Ln N                                           Maple Grove, MN 55369‐9745                                                                              First Class Mail
Chartered Organization         Fernbrook School                                                   Patriots Path Council 358                            206 Quaker Church Rd                                          Randolph, NJ 07869‐1416                                                                                 First Class Mail
Chartered Organization         Ferndale Chamber Of Commerce                                       Crater Lake Council 491                              8445 Centerville Rd                                           Ferndale, CA 95536‐9463                                                                                 First Class Mail
Chartered Organization         Ferndale Lions Club                                                Crater Lake Council 491                              P.O. Box 262                                                  Ferndale, CA 95536‐0262                                                                                 First Class Mail
Chartered Organization         Ferndale Lions Club                                                Mount Baker Council, Bsa 606                         P.O. Box 1977                                                 Ferndale, WA 98248‐1977                                                                                 First Class Mail
Voting Party                   Ferndale Umc                                                       Attn: Patty Griffin                                  117 Ferndale Rd                                               Glen Burnie, MD 21061                                               ferndaleumcsecretary@gmail.com      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ferndale United Methodist Church (187886)                          c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ferndale Utd Methodist Church                                      Baltimore Area Council 220                           117 Ferndale Rd                                               Ferndale, MD 21456                                                                                      First Class Mail
Chartered Organization         Ferndale Utd Methodist Church                                      Baltimore Area Council 220                           117 Ferndale Rd                                               Glen Burnie, MD 21061‐2626                                                                              First Class Mail
Chartered Organization         Fernhill Elementary School PTO                                     Chester County Council 539                           915 Lincoln Ave                                               West Chester, PA 19380‐4513                                                                             First Class Mail
Chartered Organization         Fernvale Church Of Christ                                          Middle Tennessee Council 560                         5911 Old State Hwy 96                                         Fairview, TN 37062                                                                                      First Class Mail
Chartered Organization         Fernwood Friends Of Pack 179                                       Three Harbors Council 636                            3239 S Pennsylvania Ave                                       Milwaukee, WI 53207‐3131                                                                                First Class Mail
Voting Party                   Ferrellgas                                                         P.O. Box 173940                                      Denver, CO 80217‐3940                                                                                                                                                 First Class Mail
Voting Party                   Ferris Heights United Methodist Church ‐ Waxahachie                c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ferrisburgh Center United Methodist Church                         Attn: Paul L Hoffman                                 P.O. Box 7                                                    Ferrisburgh, VT 05456                                               plhoff123@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ferry Farm Baptist Church                                          National Capital Area Council 082                    1 Westmoreland Dr                                             Fredericksburg, VA 22405‐3058                                                                           First Class Mail
Voting Party                   Ferry Joseph, P.A.                                                 Attn: John D. Mclaughlin, Jr                         824 N Market St, Ste 100                                      Wilmington, DE 19801                                                jmclaughlin@ferryjoseph.com         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ferry Joseph, PA                                                   Attn: John D McLaughlin, Jr                          824 N Market St, Ste 1000                                     Wilmington, DE 19801                                                jmclaughlin@ferryjoseph.com         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Festus/Crystal City Rotary Club                                    Attn: Terrence Bridgewater                           6 Waggener Industrial Ct                                      Crystal City, MO 63019‐1343                                                                             First Class Mail
Chartered Organization         Festus‐Crystal City Elks Lodge 1721                                Greater St Louis Area Council 312                    4 Elks Dr                                                     Festus, MO 63028‐3761                                                                                   First Class Mail
Voting Party                   Few Chapel United Methodist Church                                 John Mackeil                                         4000 N Hwy 101                                                Greer, SC 29651                                                     jamackeiljr@umcsc.org               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fews Chapel United Methodist Church                                Attn: Marvin Cannon                                  2476 Fews Bridge Rd                                           Greer, SC 29651                                                     jamackeiljr@umcsc.org               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fewsmith Memorial Presbyterian Church                              Northern New Jersey Council, Bsa 333                 444 Union Ave                                                 Belleville, NJ 07109‐2205                                                                               First Class Mail
Voting Party                   Fewsmith Memorial Presbyterian Church                              Attn: Warren C Mcneill                               444 Union Ave                                                 Belleville, NJ 07109                                                fewsmithchurch@juno.com             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fewsmith Memorial Presbyterian Church                              Warren C. Mcneill                                    444 Union Ave                                                 Belleville, NJ 07109                                                fewsmithchurch@juno.com             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fewsmith Memorial Presbyterian Church                              c/o Ellen O'Connell, Esq.                            Attn: Warren C Mcneill                                        600 Parsippany Rd, Ste 204        Parsippany, NJ 07054              fewsmithchurch@juno.com             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fewsmith Memorial Presbyterian Church                              Attn: Ellen O'Connell, Esq.                          600 Parsippany Rd, Ste 204                                    Parsippany, NJ 07054                                                eoconnell@iwwt.law                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fewsmith Presbyterian Church                                       Northern New Jersey Council, Bsa 333                 444 Union Ave                                                 Belleville, NJ 07109‐2205                                                                               First Class Mail
Chartered Organization         Ff Marketing                                                       Alameda Council Bsa 022                              1848 Central Ave                                              Alameda, CA 94501‐2621                                                                                  First Class Mail
Chartered Organization         Fh Stoltze Land And Lumber Co                                      Montana Council 315                                  P.O. Box 1429                                                 Columbia Falls, MT 59912‐1429                                                                           First Class Mail
Chartered Organization         Fickett Elementary                                                 Atlanta Area Council 092                             3935 Rux Rd SW                                                Atlanta, GA 30331‐5056                                                                                  First Class Mail
Chartered Organization         Fidelis Technologies                                               Pathway To Adventure 456                             3110 Opengate Rd                                              Crystal Lake, IL 60012‐1172                                                                             First Class Mail
Chartered Organization         Fidelitas Masonic Lodge 364                                        Hawkeye Area Council 172                             P.O. Box 90                                                   Fairfax, IA 52228‐0090                                                                                  First Class Mail
Voting Party                   Fidelity Investments                                               100 Crosby Pkwy                                      Covington, KY 41015‐4325                                                                                                                                              First Class Mail
Chartered Organization         Field Elementary School PTO                                        Great Lakes Fsc 272                                  1000 S Haggerty Rd                                            Canton, MI 48188‐1308                                                                                   First Class Mail
Chartered Organization         Field Store Elementary School PTO                                  Sam Houston Area Council 576                         31670 Giboney Rd                                              Waller, TX 77484‐7825                                                                                   First Class Mail
Voting Party                   Field, Manning, Stone, Hawthor                                     Attn: Robert A (Andy) Aycock                         2112 Indiana Ave                                              Lubbock, TX 79410                                                   rmedearis@lubbocklawfirm.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Field, Manning, Stone, Hawthor                                     Robert A. (Andy) Aycock                              2112 Indiana Ave                                              Lubbock, TX 79410                                                   rmedearis@lubbocklawfirm.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Field, Manning, Stone, Hawthorne & Aycock, P.C.                    Attn: Robert A (Andy) Aycock                         2112 Indiana Ave                                              Lubbock, TX 79410                                                   rmedearis@lubbocklawfirm.com        Email
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Voting Party                   Field, Manning, Stone, Hawthorne & Aycock, P.C.                    Attn: Robert A. (Andy) Aycock                        2112 Indiana Ave                                              Lubbock, TX 79410                                                   rmedearis@lubbocklawfirm.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Field, Manning, Stone, Hawthorne & Aycock, P.C.                    Robert A (Andy) Aycock                               2112 Indiana Ave                                              Lubbock, TX 79410                                                   rmedearis@lubbocklawfirm.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Field, Manning, Stone, Hawthorne & Aycock, P.C.                    Robert A. (Andy) Aycock                              2112 Indiana Ave                                              Lubbock, TX 79410                                                   rmedearis@lubbocklawfirm.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Field, Manning, Stone, Hawthorne & Aycock, P.C.                    c/o Field, Manning, Stone, Hawthorne & Aycock, P.C   Attn: Robert A. (Andy) Aycock                                 2112 Indiana Ave                  Lubbock, TX 79410                 rmedearis@lubbocklawfirm.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Field, Manning, Stone, Hawthorne & Aycock, Pc                      Attn: Robert A (Andy) Aycock                         2112 Indiana Ave                                              Lubbock, TX 79410                                                   rmedearis@lubbocklawfirm.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Field, Manning, Stone, Hawthorne & Aycock, Pc                      Attn: Robert Andy Aycock                             2112 Indiana Ave                                              Lubbock, TX 79410                                                   rmedearis@lubbocklawfirm.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Field, Manning, Stone, Hawthorne & Aycock, Pc                      Robert A (Andy) Aycock                               2112 Indiana Ave                                              Lubbock, TX 79410                                                   rmedearis@lubbocklawfirm.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fieldale Umc ‐ Fieldale                                            c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Firm                           Fields & Associates LLC                                            Larry Fields                                         707 N 2nd St, Ste 400                                         St. Louis, MO 63102                                                 lsf19@msn.com                       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fields Of Grace                                                    Leatherstocking 400                                  3673 State Route 145                                          Cobleskill, NY 12043‐5403                                                                               First Class Mail
Chartered Organization         Fields Road Elementary Pta                                         National Capital Area Council 082                    1 School Dr                                                   Gaithersburg, MD 20878‐2809                                                                             First Class Mail
Voting Party                   Fields United Methodist Church                                     34077 Lorain Rd                                      North Ridgeville, OH 44039                                                                                                        fieldsofficemanager@gmail.com       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fieldstone Presbyterian Church                                     804 Fieldstone Rd                                    Mooresville, NC 28115                                                                                                             ingeromanchester@gmail.com          Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fieldstone Presbyterian Church Mooresville, North Carolina P       804 Fieldstone Rd                                    Mooresville, NC 28115                                                                                                             ingeromanchester@gmail.com          Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fieldstone Presbyterian Church Mooresville, North Carolina P       c/o Fieldstone Presbyterian Church                   Attn: Inger Ostergaard Manchester                             804 Fieldstone Rd                 Moorseville, NC 28115             bhmayhew48@gmail.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fiest Elementary PTO                                               Sam Houston Area Council 576                         8425 Pine Falls Dr                                            Houston, TX 77095‐4618                                                                                  First Class Mail
Voting Party                   Fiesta                                                             2834 E 46th St                                       Vernon, CA 90058‐2404                                                                                                                                                 First Class Mail
Chartered Organization         Fifth Ave Utd Methodist Church                                     Bay‐Lakes Council 635                                323 S 5th Ave                                                 West Bend, WI 53095‐3332                                                                                First Class Mail
Voting Party                   Fifth Avenue United Methodist Church                               1800 5th Ave                                         Council Bluffs, IA 51501                                                                                                          faumc@ms.com                        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fifth Baptist Church                                               Heart of Virginia Council 602                        1415 W Cary St                                                Richmond, VA 23220‐5303                                                                                 First Class Mail
Chartered Organization         Fifth District Volunteer Fire Dept                                 Baltimore Area Council 220                           P.O. Box 601                                                  Clarksville, MD 21029‐0601                                                                              First Class Mail
Chartered Organization         Fifth Street Baptist Church                                        Heart of Virginia Council 602                        2800 3rd Ave                                                  Richmond, VA 23222‐3916                                                                                 First Class Mail
Voting Party                   Fifth Street United Methodist Church                               Attn: Attm: Admin Council Chair, Sandy Cunningham    1021 North St                                                 Chesterfield, IN 46017                                              sandycunningham13@comcast.net       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fifth Ward Elementary P.T.O.                                       Southeast Louisiana Council 214                      158 Panther Dr                                                Reserve, LA 70084‐5009                                                                                  First Class Mail
Voting Party                   Fiix Inc                                                           35 Golden Ave, Ste A‐201                             Toronto, ON M6R 2J5                                           Canada                                                                                                  First Class Mail
Voting Party                   Filer United Methodist Church                                      c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fillmore Lions Club                                                Ventura County Council 057                           P.O. Box 632                                                  Fillmore, CA 93016‐0632                                                                                 First Class Mail
Voting Party                   Fillmore Umc                                                       Attn: David Burgeson                                 1053 Royal Oaks Pl                                            Santa Paula, CA 93060                                               northdistrict@calpacumc.org         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fillmore Umc                                                       Attn: Ndu Chairman                                   9003 Reseda Blvd, Ste 206                                     Northridge, CA 91324                                                northdistrict@calpacumc.org         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fillmore Wesleyan Church                                           Iroquois Trail Council 376                           P.O. Box 8                                                    Fillmore, NY 14735‐0008                                                                                 First Class Mail
Voting Party                   Fincastle Presbyterian Church                                      P.O. Box 144                                         108 Back St                                                   Fincastle, VA 24090                                                 jfkilby50@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fincastle Presbyterian Church                                      John Franklin Kilby                                  585 Ashley Way                                                Daleville, VA 24080                                                 jfkilby50@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fincham Enterprises Inc                                            5601 Wilshire Ave Ne                                 Albuquerque, NM 87113‐1931                                                                                                                                            First Class Mail
Chartered Organization         Finco Enterprises                                                  Utah National Parks 591                              P.O. Box 38016                                                Leamington, UT 84638‐0016                                                                               First Class Mail
Voting Party                   Findlay Lake United Methodist Church Treasurer, Findley Lake Umc   P.O. Box 447                                         Findley Lake, NY 14736                                                                                                            Pastor.davecooke@gmail.com          Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Findley Elementary School Pto                                      Cascade Pacific Council 492                          4155 NW Saltzman Rd                                           Portland, OR 97229‐2433                                                                                 First Class Mail
Chartered Organization         Finest First Construction                                          California Inland Empire Council 045                 7426 Cherry Ave PMB 307, Ste 210                              Fontana, CA 92336‐4221                                                                                  First Class Mail
Chartered Organization         Fin‐Feather‐Fur Outfitters                                         Buckeye Council 436                                  652 US Hwy 250 E                                              Ashland, OH 44805‐9755                                                                                  First Class Mail
Chartered Organization         Finger Lake Elementary Pta                                         Great Alaska Council 610                             P.O. Box 875910                                               Wasilla, AK 99687‐5910                                                                                  First Class Mail
Chartered Organization         Finger Lakes Community College                                     Seneca Waterways 397                                 200 Victor Heights Pkwy                                       Victor, NY 14564‐9015                                                                                   First Class Mail
Chartered Organization         Finger Lakes Family Inc                                            Baden‐Powell Council 368                             P.O. Box 242                                                  Etna, NY 13062‐0242                                                                                     First Class Mail
Chartered Organization         Finn Academy ‐ An Elmira Charter School                            Five Rivers Council, Inc 375                         610 Lake St                                                   Elmira, NY 14901‐2231                                                                                   First Class Mail
Chartered Organization         Fir Conway Lutheran Church                                         Mount Baker Council, Bsa 606                         18101 Fir Island Rd                                           Mount Vernon, WA 98273‐7107                                                                             First Class Mail
Chartered Organization         Fir Grove Pto                                                      Cascade Pacific Council 492                          6300 SW Wilson Ave                                            Beaverton, OR 97008‐4424                                                                                First Class Mail
Voting Party                   Fircrest United Methodist Church                                   c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fire And Rescue Assoc Of Kennett                                   Greater St Louis Area Council 312                    200 Cedar St                                                  Kennett, MO 63857‐2002                                                                                  First Class Mail
Chartered Organization         Fire Dept Belmond                                                  Winnebago Council, Bsa 173                           127 Sunset Dr                                                 Belmond, IA 50421‐1732                                                                                  First Class Mail
Chartered Organization         Fire Dept Of Mount Juliet Tn                                       Middle Tennessee Council 560                         104 Belinda Pkwy                                              Mount Juliet, TN 37122‐3693                                                                             First Class Mail
Chartered Organization         Fire Dept Of The City Of New York                                  Greater New York Councils, Bsa 640                   9 Metrotech Ctr                                               Brooklyn, NY 11201‐5431                                                                                 First Class Mail
Chartered Organization         Fire Dept Of Viborg                                                Sioux Council 733                                    P.O. Box 51                                                   Viborg, SD 57070‐0051                                                                                   First Class Mail
Chartered Organization         Fire Dept Of Worthing                                              Sioux Council 733                                    403 S Prairie St                                              Worthing, SD 57077                                                                                      First Class Mail
Chartered Organization         Fire Fighters Assoc                                                Unit 14007 Aloha Council Bsa 104                     Apo, AP 96543‐4007                                                                                                                                                    First Class Mail
Chartered Organization         Fire Mountain Staff Alumni Assoc                                   Mount Baker Council, Bsa 606                         22922 13th Pl W                                               Bothell, WA 98021‐9115                                                                                  First Class Mail
Chartered Organization         Fire Prep And Leadership Academy                                   Las Vegas Area Council 328                           1016 W Owens Ave                                              Las Vegas, NV 89106‐2520                                                                                First Class Mail
Voting Party                   Fire Protection Service Corp                                       3292 Harrison Blvd                                   Ogden, UT 84403                                                                                                                                                       First Class Mail
Chartered Organization         Fire Service Women Of New York State                               Twin Rivers Council 364                              P.O. Box 1377                                                 Guilderland, NY 12084‐1377                                                                              First Class Mail
Chartered Organization         Firefighters Of Stevens Dist 4                                     Inland Nwest Council 611                             4162 Springdale Hunters Rd                                    Springdale, WA 99173‐9707                                                                               First Class Mail
Chartered Organization         Firelands Lions Club                                               Lake Erie Council 440                                15018 South St                                                Wakeman, OH 44889‐8356                                                                                  First Class Mail
Chartered Organization         Firelands Military Vehicle Group                                   Lake Erie Council 440                                1319 Pearl St                                                 Sandusky, OH 44870‐3034                                                                                 First Class Mail
Chartered Organization         Firestone Des Moines                                               Mid Iowa Council 177                                 4600 NW 2nd St                                                Des Moines, IA 50313‐2254                                                                               First Class Mail
Chartered Organization         Firetree Place                                                     Susquehanna Council 533                              600 Campbell St                                               Williamsport, PA 17701‐4807                                                                             First Class Mail
Voting Party                   First ‐ Dade City                                                  c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Pasadena                             Attn: Amanda Horton                                  1062 Fairmont Pkwy                                            Pasadena, TX 77504                                                  amandahorton@firstpasadena.org      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Indianola, Iowa                     Attn: Timothy Bonney, Lead Pastor                    307 W Ashland Ave                                             Indianola, IA 50125                                                 rpeeler83@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First & Summerfield United Methodist Church                        Attn: Gina Reed                                      425 College St                                                New Haven, CT 06511                                                                                     First Class Mail
Voting Party                   First & Wesley United Methodist Church                             Attn: Wilberforce Arhin                              89 Center St                                                  West Haven, CT 06516                                                first&wesleyumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         First Advent Christian Church                                      Buckskin 617                                         615 Randolph St                                               Charleston, WV 25302‐2020                                                                               First Class Mail
Chartered Organization         First African Methodist Episcopal Church                           Atlanta Area Council 092                             2046 Richard Allen Ln SE                                      Atlanta, GA 30316‐4344                                                                                  First Class Mail
Chartered Organization         First Alliance Church                                              Moraine Trails Council 500                           111 Mission Meade Dr                                          New Castle, PA 16105‐1603                                                                               First Class Mail
Chartered Organization         First Ame Church                                                   Greater Los Angeles Area 033                         1700 N Raymond Ave                                            Pasadena, CA 91103‐1837                                                                                 First Class Mail
Chartered Organization         First American Lutheran Church                                     Bay‐Lakes Council 635                                511 Madison St                                                Oconto, WI 54153‐1719                                                                                   First Class Mail
Chartered Organization         First And Calvary Presbyterian Church                              Ozark Trails Council 306                             820 E Cherry St                                               Springfield, MO 65806‐3414                                                                              First Class Mail
Chartered Organization         First Apostolic Church                                             Greater St Louis Area Council 312                    1202 S Poplar St                                              Centralia, IL 62801‐4754                                                                                First Class Mail
Chartered Organization         First Assembly Of God                                              Illowa Council 133                                   P.O. Box 92                                                   Abingdon, IL 61410‐0092                                                                                 First Class Mail
Chartered Organization         First Assembly Of God                                              Indian Nations Council 488                           P.O. Box 1213                                                 Okmulgee, OK 74447‐1213                                                                                 First Class Mail
Chartered Organization         First Assembly Of God                                              Simon Kenton Council 441                             400 US Hwy 23                                                 Raceland, KY 41169‐1098                                                                                 First Class Mail
Chartered Organization         First Assembly Of God                                              Jersey Shore Council 341                             800 Bay Ave                                                   Toms River, NJ 08753‐3502                                                                               First Class Mail
Chartered Organization         First Bank Johnston City                                           Greater St Louis Area Council 312                    908 Grand Ave                                                 Johnston City, IL 62951‐1250                                                                            First Class Mail
Chartered Organization         First Baptist                                                      Northeast Georgia Council 101                        751 Green St NW                                               Gainesville, GA 30501‐3321                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                  Page 104 of 442
                                                                                       Case 20-10343-LSS                                  Doc 8171                              Filed 01/06/22                                               Page 120 of 457
                                                                                                                                                                   Exhibit B
                                                                                                                                                                    Service List
                                                                                                                                                             Served as set forth below

        Description                                                             Name                                                                             Address                                                                                                                       Email              Method of Service
Chartered Organization         First Baptist                                                  East Texas Area Council 585            207 S Main St                                     Henderson, TX 75654‐3539                                                                                        First Class Mail
Chartered Organization         First Baptist & Spencer Baptist Churches                       Piedmont Council 420                   Wilson St And                                     Oak St                           Spindale, NC 28160                                                             First Class Mail
Chartered Organization         First Baptist Castle Rock                                      Cascade Pacific Council 492            211 Front Ave NW                                  Castle Rock, WA 98611                                                                                           First Class Mail
Chartered Organization         First Baptist Ch Of Chitt                                      Leatherstocking 400                    520 Tuscarora Rd                                  Chittenango, NY 13037‐9719                                                                                      First Class Mail
Chartered Organization         First Baptist Church                                           Five Rivers Council, Inc 375           14 Baldwin Ave                                    Addison, NY 14801‐1228                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Great Trail 433                        1670 Shatto Ave                                   Akron, OH 44313‐6354                                                                                            First Class Mail
Chartered Organization         First Baptist Church                                           Crossroads of America 160              2107 S Park Ave                                   Alexandria, IN 46001‐8049                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           National Capital Area Council 082      2932 King St                                      Alexandria, VA 22302‐3512                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Northeast Georgia Council 101          P.O. Box 8107                                     Athens, GA 30603‐8107                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           Georgia‐Carolina 093                   161 Allen St                                      Barnwell, SC 29812‐1647                                                                                         First Class Mail
Chartered Organization         First Baptist Church                                           Heart of America Council 307           1410 N 155th St                                   Basehor, KS 66007‐9391                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Katahdin Area Council 216              95 High St                                        Belfast, ME 04915‐6349                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Minsi Trails Council 502               3235 Linden St                                    Bethlehem, PA 18017‐1918                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Utah National Parks 591                157 S 300 W                                       Blanding, UT 84511‐4248                                                                                         First Class Mail
Chartered Organization         First Baptist Church                                           Sequoyah Council 713                   P.O. Box 587                                      Blountville, TN 37617‐0587                                                                                      First Class Mail
Chartered Organization         First Baptist Church                                           Buffalo Trace 156                      214 E Walnut St                                   Boonville, IN 47601‐1851                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Garden State Council 690               200 Prince St                                     Bordentown, NJ 08505‐1320                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Daniel Webster Council, Bsa 330        88 W Main St                                      Bradford, NH 03221                                                                                              First Class Mail
Chartered Organization         First Baptist Church                                           Seneca Waterways 397                   124 Main St                                       Brockport, NY 14420‐1910                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Lincoln Heritage Council 205           401 Highland Ave                                  Carrollton, KY 41008‐1016                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Ozark Trails Council 306               P.O. Box 116                                      Clever, MO 65631‐0116                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           Ozark Trails Council 306               105 Kennedy Ave                                   Clever, MO 65631‐6627                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           Andrew Jackson Council 303             100 E College St                                  Clinton, MS 39056‐4246                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Tuscarora Council 424                  408 College St                                    Clinton, NC 28328‐4010                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           South Texas Council 577                3115 Ocean Dr                                     Corpus Christi, TX 78404‐1614                                                                                   First Class Mail
Chartered Organization         First Baptist Church                                           Del Mar Va 081                         1 S Somerset Ave                                  Crisfield, MD 21817‐1508                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Northwest Georgia Council 100          311 N Thornton Ave                                Dalton, GA 30720‐3466                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           Longhorn Council 662                   1100 Malone St                                    Denton, TX 76201‐2755                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           Catalina Council 011                   700 E 10th St                                     Douglas, AZ 85607‐2233                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Great Swest Council 412                P.O. Box 85                                       Dove Creek, CO 81324‐0085                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           West Tennessee Area Council 559        220 Masonic St                                    Dyersburg, TN 38024‐4619                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Leatherstocking 400                    9 W Main St                                       Earlville, NY 13332                                                                                             First Class Mail
Chartered Organization         First Baptist Church                                           Blue Ridge Council 551                 300 E 1st Ave                                     Easley, SC 29640‐3064                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           Narragansett 546                       P.O. Box 551                                      East Greenwich, RI 02818‐0551                                                                                   First Class Mail
Chartered Organization         First Baptist Church                                           Del Mar Va 081                         General Delivery                                  East New Market, MD 21631                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Seneca Waterways 397                   119 W Elm St                                      East Rochester, NY 14445‐1824                                                                                   First Class Mail
Chartered Organization         First Baptist Church                                           Old Hickory Council 427                110 Gwyn Ave                                      Elkin, NC 28621‐3423                                                                                            First Class Mail
Chartered Organization         First Baptist Church                                           Arbuckle Area Council 468              P.O. Box 247                                      Elmore City, OK 73433‐0247                                                                                      First Class Mail
Chartered Organization         First Baptist Church                                           Baden‐Powell Council 368               1406 Monroe St                                    Endicott, NY 13760‐5421                                                                                         First Class Mail
Chartered Organization         First Baptist Church                                           Northeast Georgia Council 101          751 Green St NW                                   Gainesville, GA 30501‐3321                                                                                      First Class Mail
Chartered Organization         First Baptist Church                                           Ozark Trails Council 306               1014 E 7th St                                     Galena, KS 66739                                                                                                First Class Mail
Chartered Organization         First Baptist Church                                           Santa Fe Trail Council 194             1005 N 11th St                                    Garden City, KS 67846                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           Heart of America Council 307           P.O. Box 245                                      Gardner, KS 66030‐0245                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Piedmont Council 420                   2650 Union Rd                                     Gastonia, NC 28054‐6018                                                                                         First Class Mail
Chartered Organization         First Baptist Church                                           Piedmont Council 420                   P.O. Box 6298                                     Gastonia, NC 28056‐6023                                                                                         First Class Mail
Chartered Organization         First Baptist Church                                           Greater St Louis Area Council 312      820 Broadway St                                   Gillespie, IL 62033‐1136                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Buckskin 617                           P.O. Box 237                                      Grantsville, WV 26147‐0237                                                                                      First Class Mail
Chartered Organization         First Baptist Church                                           French Creek Council 532               60 Shenango St                                    Greenville, PA 16125‐2069                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Westark Area Council 016               P.O. Box 635                                      Greenwood, AR 72936‐0635                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Flint River Council 095                106 W Taylor St                                   Griffin, GA 30223‐3025                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Indian Nations Council 488             420 W Trudgeon St                                 Henryetta, OK 74437‐4028                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Five Rivers Council, Inc 375           26 Church St                                      Hornell, NY 14843‐1608                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Andrew Jackson Council 303             430 N President St                                Jackson, MS 39201                                                                                               First Class Mail
Chartered Organization         First Baptist Church                                           Glaciers Edge Council 620              3414 Woodhall Dr                                  Janesville, WI 53546‐1812                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Daniel Webster Council, Bsa 330        105 Maple Ave                                     Keene, NH 03431‐1629                                                                                            First Class Mail
Chartered Organization         First Baptist Church                                           Buffalo Trail Council 567              400 N East Ave                                    Kermit, TX 79745                                                                                                First Class Mail
Chartered Organization         First Baptist Church                                           Illowa Council 133                     123 S Tremont St                                  Kewanee, IL 61443‐2129                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Cherokee Area Council 556              201 N Main St                                     La Fayette, GA 30728‐2419                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Crossroads of America 160              207 E Washington St                               Lebanon, IN 46052‐2211                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Capitol Area Council 564               P.O. Box 90                                       Luling, TX 78648‐0090                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           Hoosier Trails Council 145 145         416 Vine St                                       Madison, IN 47250‐3121                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Greater St Louis Area Council 312      1804 S 9th St                                     Mattoon, IL 61938‐6120                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Cascade Pacific Council 492            125 SE Cowls St                                   Mcminnville, OR 97128‐6005                                                                                      First Class Mail
Chartered Organization         First Baptist Church                                           Blue Grass Council 204                 P.O. Box 839                                      Middlesboro, KY 40965‐0839                                                                                      First Class Mail
Chartered Organization         First Baptist Church                                           Dan Beard Council, Bsa 438             4500 Riverview Ave                                Middletown, OH 45042‐2939                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Water and Woods Council 782            915 E Sugnet Rd                                   Midland, MI 48642‐3772                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Buffalo Trail Council 567              2104 W Louisiana Ave                              Midland, TX 79701‐5920                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Old N State Council 070                412 N Main St                                     Mocksville, NC 27028‐2118                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Texas Trails Council 561               P.O. Box 68                                       Moran, TX 76464‐0068                                                                                            First Class Mail
Chartered Organization         First Baptist Church                                           Piedmont Council 420                   P.O. Box 459                                      Morganton, NC 28680‐0459                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Piedmont Council 420                   P.O. Box 549                                      Morganton, NC 28680‐0549                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Atlanta Area Council 092               1647 Lake Harbin Rd                               Morrow, GA 30260‐1700                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           Old Hickory Council 427                714 N Main St                                     Mount Airy, NC 27030‐3743                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           East Carolina Council 426              239 Middle St                                     New Bern, NC 28560‐2141                                                                                         First Class Mail
Chartered Organization         First Baptist Church                                           Daniel Webster Council, Bsa 330        461 Main St                                       New London, NH 03257                                                                                            First Class Mail
Chartered Organization         First Baptist Church                                           Tidewater Council 596                  418 E Bute St                                     Norfolk, VA 23510‐2802                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Western Massachusetts Council 234      131 Main St                                       North Adams, MA 01247‐3418                                                                                      First Class Mail
Chartered Organization         First Baptist Church                                           Buckskin 617, 16th & Myers Ave         Dunbar, WV 25064                                                                                                                                                  First Class Mail
Chartered Organization         First Baptist Church                                           Greater Alabama Council 001            300 3rd Ave E                                     Oneonta, AL 35121‐1418                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Lincoln Heritage Council 205           230 J R Miller Blvd                               Owensboro, KY 42303‐4268                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Seneca Waterways 397                   1862 Penfield Rd                                  Penfield, NY 14526‐1410                                                                                         First Class Mail
Chartered Organization         First Baptist Church                                           Seneca Waterways 397                   224 Main St                                       Penn Yan, NY 14527‐1714                                                                                         First Class Mail
Chartered Organization         First Baptist Church                                           Gulf Coast Council 773                 500 N Palafox St                                  Pensacola, FL 32501‐3921                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Choctaw Area Council 302               414 Pecan Ave                                     Philadelphia, MS 39350‐2934                                                                                     First Class Mail
Chartered Organization         First Baptist Church                                           South Texas Council 577                1305 Wildcat Dr                                   Portland, TX 78374‐2811                                                                                         First Class Mail
Chartered Organization         First Baptist Church                                           Buckskin 617                           P.O. Box 10                                       Racine, WV 25165‐0010                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           Mayflower Council 251                  518 N Main St                                     Randolph, MA 02368‐3706                                                                                         First Class Mail
Chartered Organization         First Baptist Church                                           Heart of Virginia Council 602          2709 Monument Ave                                 Richmond, VA 23220‐2658                                                                                         First Class Mail
Chartered Organization         First Baptist Church                                           Central N Carolina Council 416         201 N Randolph St                                 Rockingham, NC 28379‐3431                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Capitol Area Council 564               306 Round Rock Ave                                Round Rock, TX 78664‐5142                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Indian Waters Council 553              P.O. Box 348                                      Saint Matthews, SC 29135‐0348                                                                                   First Class Mail
Chartered Organization         First Baptist Church                                           Lincoln Heritage Council 205           200 E Walnut St                                   Salem, IN 47167‐2132                                                                                            First Class Mail
Chartered Organization         First Baptist Church                                           Coronado Area Council 192              843 Lewis Ave                                     Salina, KS 67401‐5309                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           Lake Erie Council 440                  3630 Fairmount Blvd                               Shaker Hts, OH 44118‐4341                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Piedmont Council 420                   120 N Lafayette St                                Shelby, NC 28150‐4456                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           De Soto Area Council 013               201 W 7th St                                      Smackover, AR 71762‐1860                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Tuscarora Council 424                  P.O. Box 209                                      Smithfield, NC 27577‐0209                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Daniel Boone Council 414               125 Tappan St                                     Spruce Pine, NC 28777‐2901                                                                                      First Class Mail
Chartered Organization         First Baptist Church                                           Circle Ten Council 571                 116 Oak Ave                                       Sulphur Springs, TX 75482‐2852                                                                                  First Class Mail
Chartered Organization         First Baptist Church                                           Calcasieu Area Council 209             401 S Huntington St                               Sulphur, LA 70663‐4431                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Crossroads of America 160              4701 E Poplar Dr                                  Terre Haute, IN 47803‐2441                                                                                      First Class Mail
Chartered Organization         First Baptist Church                                           Caddo Area Council 584                 3015 Moores Ln                                    Texarkana, TX 75503‐2203                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Flint River Council 095                208 S Church St                                   Thomaston, GA 30286‐5534                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Pony Express Council 311               P.O. Box 55                                       Union Star, MO 64494‐0055                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           South Georgia Council 098              200 W Central Ave                                 Valdosta, GA 31601‐5511                                                                                         First Class Mail
Chartered Organization         First Baptist Church                                           Cherokee Area Council 469 469          321 W Illinois Ave                                Vinita, OK 74301‐3131                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           The Spirit of Adventure 227            400 Lexington St                                  Waltham, MA 02452‐0944                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           Hoosier Trails Council 145 145         100 E Walnut St                                   Washington, IN 47501‐2757                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Pine Burr Area Council 304             814 Azalea Dr                                     Waynesboro, MS 39367‐2721                                                                                       First Class Mail
Chartered Organization         First Baptist Church                                           Daniel Boone Council 414               10 S Main St                                      Waynesville, NC 28786                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           Pine Tree Council 218                  733 Main St                                       Westbrook, ME 04092‐3415                                                                                        First Class Mail
Chartered Organization         First Baptist Church                                           Cape Fear Council 425                  South 5th Ave                                     Wilmington, NC 28401                                                                                            First Class Mail
Chartered Organization         First Baptist Church                                           East Carolina Council 426              P.O. Box 1467                                     Wilson, NC 27894‐1467                                                                                           First Class Mail
Chartered Organization         First Baptist Church                                           Seneca Waterways 397                   6025 New Hartford St                              Wolcott, NY 14590‐1101                                                                                          First Class Mail
Chartered Organization         First Baptist Church                                           South Plains Council 694               501 Main St                                       Wolfforth, TX 79382‐2950                                                                                        First Class Mail
Voting Party                   First Baptist Church                                           Gordon W Davidson                      202 Mcdaniel St                                   Monroe, GA 30655                                                                gordon@fbcmonroe.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Baptist Church ‐ Alliance                                Buckeye Council 436                    1659 W State St                                   Alliance, OH 44601‐3683                                                                                         First Class Mail
Chartered Organization         First Baptist Church ‐ Blountstown                             Alabama‐Florida Council 003            14506 State Rd 71 S                               Blountstown, FL 32424‐5122                                                                                      First Class Mail
Chartered Organization         First Baptist Church ‐ Eureka                                  Montana Council 315                    P.O. Box 391                                      Eureka, MT 59917‐0391                                                                                           First Class Mail
Chartered Organization         First Baptist Church ‐ Johnston                                Mid Iowa Council 177                   8250 NW 62nd Ave                                  Johnston, IA 50131‐8805                                                                                         First Class Mail
Voting Party                   First Baptist Church ‐ Kosciusko Ms 39090                      Attn: John Shaw                        P.O. Box 744                                      Kosciusko, MS 39090                                                             jesmcj@bellsouth.net            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Baptist Church ‐ Pierre                                  Sioux Council 733                      2310 E Capitol Ave                                Pierre, SD 57501‐3016                                                                                           First Class Mail
Chartered Organization         First Baptist Church ‐ Quanah                                  Northwest Texas Council 587            601 S Main St                                     Quanah, TX 79252‐4749                                                                                           First Class Mail
Chartered Organization         First Baptist Church ‐ Shawnee                                 Last Frontier Council 480              P.O. Box 1928                                     Shawnee, OK 74802‐1928                                                                                          First Class Mail
Voting Party                   First Baptist Church Biloxi, Mississippi, Inc.                 Attn: Scott D. Smith                   P.O. Box 4603                                     Biloxi, MS 39531                                                                scottsmithatty@bellsouth.net    Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Baptist Church Bristow                                   Indian Nations Council 488             P.O. Box 717                                      Bristow, OK 74010‐0717                                                                                          First Class Mail
Chartered Organization         First Baptist Church Broad Street                              Chickasaw Council 558                  2835 Broad Ave                                    Memphis, TN 38112‐2903                                                                                          First Class Mail
Chartered Organization         First Baptist Church Brotherhood                               South Georgia Council 098              221 S Lee St                                      Americus, GA 31709‐3913                                                                                         First Class Mail
Chartered Organization         First Baptist Church Cassville                                 Ozark Trails Council 306               602 West St                                       Cassville, MO 65625‐1464                                                                                        First Class Mail
Chartered Organization         First Baptist Church China Spring                              Longhorn Council 662                   301 Illinois                                      China Spring, TX 76633‐2930                                                                                     First Class Mail
Voting Party                   First Baptist Church Clinton                                   Attn: Kenny Stanteen                   100 College St                                    Clinton, MS 39056                                                               info@fbcclinton.org             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Baptist Church Dawson                                    Northeast Georgia Council 101          P.O. Box 1358                                     Dawsonville, GA 30534‐0025                                                                                      First Class Mail
Voting Party                   First Baptist Church dba First Raptor Academy                  7401 Katy Fwy                          Houston, TX 77024                                                                                                                 bflynn@grsm.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First Baptist Church dba First Raptor Academy                  c/o Gordon Rees                        Attn: Barry G Flynn                               1900 W Loop S, Ste 1000          Houston, TX 77027                                                              First Class Mail
Chartered Organization         First Baptist Church Denbigh                                   Colonial Virginia Council 595          3628 Campbell Rd                                  Newport News, VA 23602‐5509                                                                                     First Class Mail
Chartered Organization         First Baptist Church Deweyville                                Three Rivers Council 578               P.O. Box 79                                       Deweyville, TX 77614‐0079                                                                                       First Class Mail
Chartered Organization         First Baptist Church East                                      Last Frontier Council 480              3302 SE Lee Blvd                                  Lawton, OK 73501‐8448                                                                                           First Class Mail
Chartered Organization         First Baptist Church Eaton                                     Crossroads of America 160              510 E Columbia Ave                                Eaton, IN 47338‐9476                                                                                            First Class Mail
Chartered Organization         First Baptist Church Ellijay                                   Northeast Georgia Council 101          164 Dalton St                                     Ellijay, GA 30540‐3100                                                                                          First Class Mail
Voting Party                   First Baptist Church Enterprise                                302 N Main St                          Enterprise, AL 36330                                                                                                              ben@fbcenterprise.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Baptist Church Greenwood                                 Blue Ridge Council 551                 722 Grace St                                      Greenwood, SC 29649‐2133                                                                                        First Class Mail
Chartered Organization         First Baptist Church Gresham Rd                                Atlanta Area Council 092               2394 Gresham Rd SE                                Atlanta, GA 30316‐3700                                                                                          First Class Mail
Chartered Organization         First Baptist Church Groves                                    Three Rivers Council 578               P.O. Box 937                                      Groves, TX 77619‐0937                                                                                           First Class Mail
Chartered Organization         First Baptist Church Huntsville                                Greater Alabama Council 001            600 Governors Dr SW                               Huntsville, AL 35801‐5128                                                                                       First Class Mail
Chartered Organization         First Baptist Church In Chili                                  Seneca Waterways 397                   3182 Chili Ave                                    Rochester, NY 14624‐5410                                                                                        First Class Mail
Chartered Organization         First Baptist Church Jefferson City                            Great Smoky Mountain Council 557       1610 Russell Ave                                  Jefferson City, TN 37760‐2204                                                                                   First Class Mail
Chartered Organization         First Baptist Church Lawrence                                  Heart of America Council 307           1330 Kasold Dr                                    Lawrence, KS 66049‐3422                                                                                         First Class Mail
Chartered Organization         First Baptist Church Madisonville                              Lincoln Heritage Council 205           1634 Sunrise Dr                                   Madisonville, KY 42431‐2229                                                                                     First Class Mail
Chartered Organization         First Baptist Church Mens Fellowship                           Overland Trails 322                    3610 6th Ave                                      Kearney, NE 68845‐2841                                                                                          First Class Mail
Chartered Organization         First Baptist Church Moody                                     Greater Alabama Council 001            902 Church St                                     Moody, AL 35004‐2639                                                                                            First Class Mail
Voting Party                   First Baptist Church Mt Washington                             Attn: Melissa Laytham                  320 N Bardstown Rd                                Mt Washington, KY 40047                                                         mlaytham@fbcmw.org              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Baptist Church Murray                                    Lincoln Heritage Council 205           203 S 4th St                                      Murray, KY 42071‐2508                                                                                           First Class Mail
Chartered Organization         First Baptist Church Of Agawam                                 Western Massachusetts Council 234      760 Main St                                       Agawam, MA 01001‐2504                                                                                           First Class Mail
Chartered Organization         First Baptist Church Of Alameda                                Alameda Council Bsa 022                1515 Santa Clara Ave                              Alameda, CA 94501‐2433                                                                                          First Class Mail
Chartered Organization         First Baptist Church Of Albany                                 South Georgia Council 098              145 Oakland Pkwy                                  Leesburg, GA 31763‐7201                                                                                         First Class Mail
Voting Party                   First Baptist Church Of Albany, Georgia, Inc.                  Attn: James H Edge                     2829 Old Dawson Rd                                P.O. Drawer 71727                Albany, GA 31708                               wduskin@mcdr‐law.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First Baptist Church Of Albany, Georgia, Inc.                  Attn: James H. Edge                    2829 Old Dawson Rd                                P.O. Drawer 71727                Albany, GA 31708                               jedge@mcdr‐law.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Baptist Church Of Anderson                               Crossroads of America 160              907 N Raible Ave                                  Anderson, IN 46011‐9296                                                                                         First Class Mail
Chartered Organization         First Baptist Church Of Arlington                              The Spirit of Adventure 227            819 Massachusetts Ave                             Arlington, MA 02476‐4701                                                                                        First Class Mail
Chartered Organization         First Baptist Church Of Ashland                                Heart of Virginia Council 602          800 Thompson St                                   Ashland, VA 23005‐1110                                                                                          First Class Mail
Chartered Organization         First Baptist Church Of Benton                                 Greater St Louis Area Council 312      201 S Main St                                     Benton, IL 62812‐1402                                                                                           First Class Mail
Chartered Organization         First Baptist Church Of Bristol                                Narragansett 546                       250 Hope St                                       Bristol, RI 02809                                                                                               First Class Mail
Voting Party                   First Baptist Church Of Brookhaven, MS                         c/o Kellms Law Firm                    Attn: Milton West                                 P.O. Box 1406                    136 E Chippewa St       Brookhaven, MS 39602   brady@kellemsdurr.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Baptist Church Of Brooksville                            Greater Tampa Bay Area 089             420 Howell Ave                                    Brooksville, FL 34601‐2043                                                                                      First Class Mail
Chartered Organization         First Baptist Church Of Carlisle                               Blue Grass Council 204                 345 N Locust St                                   Carlisle, KY 40311‐1125                                                                                         First Class Mail
Chartered Organization         First Baptist Church Of Carolina Beach                         Cape Fear Council 425                  409 Lake Park Blvd N                              Carolina Beach, NC 28428‐4805                                                                                   First Class Mail
Chartered Organization         First Baptist Church Of Cassville                              Ozark Trails Council 306               602 West St                                       Cassville, MO 65625‐1464                                                                                        First Class Mail
Chartered Organization         First Baptist Church Of Citrus Park                            Greater Tampa Bay Area 089             7705 Gunn Hwy                                     Tampa, FL 33625‐3117                                                                                            First Class Mail
Chartered Organization         First Baptist Church Of Clinton                                Andrew Jackson Council 303             100 E College St                                  Clinton, MS 39056‐4246                                                                                          First Class Mail
Chartered Organization         First Baptist Church Of College Hill                           Greater Tampa Bay Area 089             3838 N 29th St                                    Tampa, FL 33610‐7768                                                                                            First Class Mail
Chartered Organization         First Baptist Church Of Corona                                 California Inland Empire Council 045   155 W 8th St                                      Corona, CA 92882‐3305                                                                                           First Class Mail
Chartered Organization         First Baptist Church Of Corsicana                              Circle Ten Council 571                 510 W Collin St                                   Corsicana, TX 75110‐5107                                                                                        First Class Mail
Chartered Organization         First Baptist Church Of Corvallis                              Oregon Trail Council 697               125 NW 10th St                                    Corvallis, OR 97330‐6101                                                                                        First Class Mail
Chartered Organization         First Baptist Church Of Crestmont                              Cradle of Liberty Council 525          1678 Fairview Ave                                 Willow Grove, PA 19090‐4633                                                                                     First Class Mail
Chartered Organization         First Baptist Church Of Crown Heights                          Greater New York Councils, Bsa 640     450 Eern Pkwy                                     Brooklyn, NY 11225                                                                                              First Class Mail
Chartered Organization         First Baptist Church Of Decatur                                Atlanta Area Council 092               308 Clairemont Ave                                Decatur, GA 30030‐2506                                                                                          First Class Mail
Chartered Organization         First Baptist Church Of Edwardsville                           Greater St Louis Area Council 312      534 Saint Louis St                                Edwardsville, IL 62025‐1502                                                                                     First Class Mail
Chartered Organization         First Baptist Church Of Elm Mott                               Longhorn Council 662                   P.O. Box 308                                      Elm Mott, TX 76640‐0308                                                                                         First Class Mail
Chartered Organization         First Baptist Church Of Franklin                               Middle Tennessee Council 560           828 Murfreesboro Rd                               Franklin, TN 37064‐2905                                                                                         First Class Mail
Chartered Organization         First Baptist Church Of Geronimo                               Last Frontier Council 480              P.O. Box 128                                      Geronimo, OK 73543‐0128                                                                                         First Class Mail
Chartered Organization         First Baptist Church Of Glenarden                              National Capital Area Council 082      3600 Brightseat Rd                                Landover, MD 20785‐2414                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                    Page 105 of 442
                                                                                   Case 20-10343-LSS                                                 Doc 8171                                    Filed 01/06/22                                                      Page 121 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                        Name                                                                                                   Address                                                                                                                Email              Method of Service
Chartered Organization         First Baptist Church Of Goodlettsville                     Middle Tennessee Council 560                          211 Cafe Rd                                             Goodlettsville, TN 37072‐1509                                                                            First Class Mail
Chartered Organization         First Baptist Church Of Grain Valley                       Heart of America Council 307                          P.O. Box 346                                            Grain Valley, MO 64029‐0346                                                                              First Class Mail
Chartered Organization         First Baptist Church Of Gray                               Central Georgia Council 096                           134 W Clinton St                                        Gray, GA 31032‐5322                                                                                      First Class Mail
Chartered Organization         First Baptist Church Of Greater Toledo                     Erie Shores Council 460                               6520 Pilliod Rd                                         Holland, OH 43528‐8614                                                                                   First Class Mail
Chartered Organization         First Baptist Church Of Guilford                           Baltimore Area Council 220                            7504 Oakland Mills Rd                                   Columbia, MD 21046‐1612                                                                                  First Class Mail
Chartered Organization         First Baptist Church Of Haddonfield                        Garden State Council 690                              124 Kings Hwy E                                         Haddonfield, NJ 08033‐2004                                                                               First Class Mail
Chartered Organization         First Baptist Church Of Helotes                            Alamo Area Council 583                                P.O. Box 1490                                           Helotes, TX 78023‐1490                                                                                   First Class Mail
Chartered Organization         First Baptist Church Of Hendersonville                     Middle Tennessee Council 560                          106 Bluegrass Commons Blvd                              Hendersonville, TN 37075‐2706                                                                            First Class Mail
Voting Party                   First Baptist Church Of Hendersonville, Tennessee          c/o Davis Law Goup, Pllc                              Attn: Randle S Davis, Esq                               103 Wexford Hall                  Hendersonville, TN 37075             rdavis@davislawgrouppllc.com      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Baptist Church Of Hendersonville, Tennessee          c/o Davis Law Group, PLLC                             Attn: Randle S Davis, Esq                               103 Wexford Hall                  Hendersonville, TN 37075             rdavis@davislawgrouppllc.com      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Holt                               Gulf Coast Council 773                                P.O. Box 38                                             Holt, FL 32564‐0038                                                                                      First Class Mail
Chartered Organization         First Baptist Church Of Hoosick Falls                      Twin Rivers Council 364                               80 Main St                                              Hoosick Falls, NY 12090‐2004                                                                             First Class Mail
Chartered Organization         First Baptist Church Of Horizon City                       Yucca Council 573                                     17018 Darrington Rd                                     Horizon City, TX 79928‐7310                                                                              First Class Mail
Voting Party                   First Baptist Church Of Houston                            Attn: Barry Flynn                                     1900 W Loop S, Ste 1000                                 Houston, TX 77027                                                      bllynn@qgrsm.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Jamestown                          Old N State Council 070                               306 Guilford Rd                                         Jamestown, NC 27282‐9708                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Jeff City                          Great Rivers Council 653                              301 E Capitol Ave                                       Jefferson City, MO 65101‐3003                                                                            First Class Mail
Chartered Organization         First Baptist Church Of Jefferson                          Pine Tree Council 218                                 P.O. Box 921                                            Jefferson, ME 04348‐0921                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of La Grange                          Pathway To Adventure 456                              20 N Ashland Ave                                        La Grange, IL 60525‐2007                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Laurelton                          Jersey Shore Council 341                              1824 Route 88                                           Brick, NJ 08724‐3506                                                                                     First Class Mail
Chartered Organization         First Baptist Church Of Livingston                         Middle Tennessee Council 560                          708 E Main St                                           Livingston, TN 38570‐1650                                                                                First Class Mail
Chartered Organization         First Baptist Church Of Lorena                             Longhorn Council 662                                  307 E Center St                                         Lorena, TX 76655‐9604                                                                                    First Class Mail
Chartered Organization         First Baptist Church Of Los Fresnos                        Rio Grande Council 775                                300 E Ocean Blvd                                        Los Fresnos, TX 78566‐3229                                                                               First Class Mail
Chartered Organization         First Baptist Church Of Lutz                               Greater Tampa Bay Area 089                            18116 N US Hwy 41                                       Lutz, FL 33549‐6479                                                                                      First Class Mail
Chartered Organization         First Baptist Church Of Malden                             The Spirit of Adventure 227                           493 Main St                                             Malden, MA 02148‐5107                                                                                    First Class Mail
Chartered Organization         First Baptist Church Of Mandeville, Inc                    Istrouma Area Council 211                             1895 Hwy 190                                            Mandeville, LA 70448‐3465                                                                                First Class Mail
Chartered Organization         First Baptist Church Of Marietta                           Atlanta Area Council 092                              148 Church St NE                                        Marietta, GA 30060‐1630                                                                                  First Class Mail
Chartered Organization         First Baptist Church Of Marion                             Choctaw Area Council 302                              5711 Clinton St                                         Marion, MS 39342‐8210                                                                                    First Class Mail
Voting Party                   First Baptist Church Of Marion                             c/o Law Office of Douglas M Engell                    Attn: Douglas M Engell                                  P.O. Box 309                      Marion, MS 39342                     dengell@dougengell.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Baptist Church Of Marion                             P.O. Box 607                                          Marion, MS 39342                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Mason                              Dan Beard Council, Bsa 438                            735 Reading Rd                                          Mason, OH 45040‐1340                                                                                     First Class Mail
Chartered Organization         First Baptist Church Of Mcdonough                          Flint River Council 095                               101 Macon St                                            Mcdonough, GA 30253‐3328                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Mclouth                            Jayhawk Area Council 197                              P.O. Box 190                                            Mc Louth, KS 66054‐0190                                                                                  First Class Mail
Chartered Organization         First Baptist Church Of Mentone                            Anthony Wayne Area 157                                206 S Oak St                                            Mentone, IN 46539                                                                                        First Class Mail
Voting Party                   First Baptist Church Of Meridian, Inc                      701 26th Ave                                          Meridian, MS 39301                                                                                                             sandra@fbcmeridian.org            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Mont Belvieu                       Sam Houston Area Council 576                          P.O. Box 1167                                           Mont Belvieu, TX 77580‐1167                                                                              First Class Mail
Chartered Organization         First Baptist Church Of Morrisville                        Occoneechee 421                                       209 Church St                                           Morrisville, NC 27560‐9168                                                                               First Class Mail
Chartered Organization         First Baptist Church Of Morrow                             Atlanta Area Council 092                              1647 Lake Harbin Rd                                     Morrow, GA 30260‐1700                                                                                    First Class Mail
Chartered Organization         First Baptist Church Of Murfreesboro                       Middle Tennessee Council 560                          200 E Main St                                           Murfreesboro, TN 37130‐3729                                                                              First Class Mail
Voting Party                   First Baptist Church Of New Albany, Mississippi            Attn: D Andrew Phillips                               P.O. Box 947                                            Oxford, MS 38655                                                       aphillips@mitchellmcnutt.com      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Baptist Church Of New Castle, Inc                    Attn: Matthew Doane                                   P.O. Box 372                                            La Grange, KY 40031                                                    matt@cornerstonelawky.com         Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of New Market                         Patriots Path Council 358                             450 New Market Rd                                       Piscataway, NJ 08854‐1463                                                                                First Class Mail
Chartered Organization         First Baptist Church Of Newport                            Great Smoky Mountain Council 557                      261 E Broadway                                          Newport, TN 37821‐3179                                                                                   First Class Mail
Chartered Organization         First Baptist Church Of Olathe                             Heart of America Council 307                          2024 E 151st St                                         Olathe, KS 66062‐2944                                                                                    First Class Mail
Chartered Organization         First Baptist Church Of Opelousas                          Evangeline Area 212                                   P.O. Box 1938                                           Opelousas, LA 70571‐1938                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Orange                             Three Rivers Council 578                              P.O. Box 1453                                           Orange, TX 77631‐1453                                                                                    First Class Mail
Voting Party                   First Baptist Church Of Orange Texas                       Attn: Jason Fuller                                    7637 Mlk Dr                                             Orange, TX 77632                                                       jason@fbco.org                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Owego                              Baden‐Powell Council 368                              228 Main St                                             Owego, NY 13827‐1612                                                                                     First Class Mail
Voting Party                   First Baptist Church Of Owensboro, Inc                     c/o Kaplan Johnson Abate & Bird LLP                   Attn: Tyler R Yeager                                    710 W Main St, 4th Fl             Louisville, KY 40202                 tyeager@kaplanjohnsonlaw.com      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Baptist Church Of Owensboro, Inc                     230 Jr Miller Blvd                                    Owensboro, KY 42301                                                                                                                                              First Class Mail
Chartered Organization         First Baptist Church Of Parrish                            Southwest Florida Council 088                         P.O. Box 195                                            Parrish, FL 34219‐0195                                                                                   First Class Mail
Chartered Organization         First Baptist Church Of Peculiar                           Heart of America Council 307                          P.O. Box 325                                            Peculiar, MO 64078‐0325                                                                                  First Class Mail
Voting Party                   First Baptist Church Of Pensacola, Inc.                    c/o Beggs & Lane, Rllp                                Attn: John P Daniel                                     501 Commendencia St               Pensacola, FL 32502                  jpd@beggslane.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Baptist Church Of Philadelphia, Ms                   Attn: Donald J Kilgore                                414 Pecan Ave                                           Philadelphia, MS 39350                                                 kilgore_j@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Baptist Church Of Pine Bluff                         Attn: Steve Dalrymple, Trustee                        6501 Hazel St                                           Pine Bluff, AR 71603                                                   fbcpinebluffar@gmail.com          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Baptist Church Of Plugerville                        Attn: Mike Northen ‐ Church Business Administrator    306 10th St                                             Pflugerville, TX 78660                                                 accountmanager@fbcpville.org      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Ponca City                         Cimarron Council 474                                  218 S 6th St                                            Ponca City, OK 74601‐5430                                                                                First Class Mail
Chartered Organization         First Baptist Church Of Poplarville                        Pine Burr Area Council 304                            203 S Main St                                           Poplarville, MS 39470‐2821                                                                               First Class Mail
Chartered Organization         First Baptist Church Of Riverside‐Mens                     California Inland Empire Council 045                  5500 Alessandro Blvd                                    Riverside, CA 92506‐3569                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of San Diego                          San Diego Imperial Council 049                        5055 Governor Dr                                        San Diego, CA 92122‐2845                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Sanford                            Occoneechee 421                                       200 Summitt Dr                                          Sanford, NC 27330                                                                                        First Class Mail
Chartered Organization         First Baptist Church Of Shawnee                            Last Frontier Council 480                             P.O. Box 1928                                           Shawnee, OK 74802‐1928                                                                                   First Class Mail
Voting Party                   First Baptist Church Of Shelby, Nc                         Attn: Anthony Tench                                   120 N Lafayette St                                      Shelby, NC 28150                                                       atench77@gmail.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Shelbyville                        Crossroads of America 160                             27 W Broadway St                                        Shelbyville, IN 46176‐1255                                                                               First Class Mail
Chartered Organization         First Baptist Church Of Shepherdsville                     Lincoln Heritage Council 205                          254 S Buckman St                                        Shepherdsville, KY 40165‐8041                                                                            First Class Mail
Voting Party                   First Baptist Church Of Shepherdsville, Ky                 Attn: Christy J Adams, John E Spainhour, Co‐Counsel   200 S Buckman St, 1st Fl                                Shepherdsville, KY 40165                                               cjadamslaw@gmail.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Baptist Church Of Smyrna, Georgia                    Attn: Jeff Hodges                                     1275 Church St                                          Smyrna, GA 30080                                                       jhodges@smyrnafirst.org           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of South Bend                         Pacific Harbors Council, Bsa 612                      P.O. Box 147                                            South Bend, WA 98586‐0147                                                                                First Class Mail
Chartered Organization         First Baptist Church Of Southington                        Connecticut Yankee Council Bsa 072                    581 Meriden Ave                                         Southington, CT 06489‐3901                                                                               First Class Mail
Chartered Organization         First Baptist Church Of Sparta                             Old Hickory Council 427                               202 S Main St                                           Sparta, NC 28675‐9636                                                                                    First Class Mail
Voting Party                   First Baptist Church Of Spartanburg, Inc                   c/o Wagenmaker & Oberly                               53 W Jackson Blvd, Ste 1734                             Chicago, IL 60604                                                      clyde@wagenmakerlaw.com           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Spring Hill                        Middle Tennessee Council 560                          5219 Main St                                            Spring Hill, TN 37174‐2449                                                                               First Class Mail
Chartered Organization         First Baptist Church Of Springfield                        National Capital Area Council 082                     7300 Gary St                                            Springfield, VA 22150‐4101                                                                               First Class Mail
Chartered Organization         First Baptist Church Of Stilwell Kansas                    Heart of America Council 307                          19950 Broadmoor Ln                                      Stilwell, KS 66085‐8901                                                                                  First Class Mail
Chartered Organization         First Baptist Church Of Tahlequah                          Indian Nations Council 488                            201 Ron Rice Rd                                         Tahlequah, OK 74464‐5557                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Texas City                         Bay Area Council 574                                  1400 9th Ave N                                          Texas City, TX 77590‐5448                                                                                First Class Mail
Chartered Organization         First Baptist Church Of The Lakes                          Las Vegas Area Council 328                            9125 Spring Mountain Rd                                 Las Vegas, NV 89117‐6352                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Theodore                           Mobile Area Council‐Bsa 004                           7125 Bellingrath Rd                                     Theodore, AL 36582‐2211                                                                                  First Class Mail
Chartered Organization         First Baptist Church Of Toccoa                             Northeast Georgia Council 101                         475 E Tugalo St                                         Toccoa, GA 30577‐2131                                                                                    First Class Mail
Chartered Organization         First Baptist Church Of Tuscola                            Texas Trails Council 561                              702 Kent Ave                                            Tuscola, TX 79562‐2299                                                                                   First Class Mail
Voting Party                   First Baptist Church Of Valdosta, Georgia                  106 E Force St                                        Valdosta, GA 31601                                                                                                             lasmith.laspc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Valley Mills                       Longhorn Council 662                                  P.O. Box 627                                            Valley Mills, TX 76689‐0627                                                                              First Class Mail
Chartered Organization         First Baptist Church Of Village Mills                      Three Rivers Council 578                              P.O. Box 460                                            Village Mills, TX 77663‐0460                                                                             First Class Mail
Chartered Organization         First Baptist Church Of Walterboro                         Coastal Carolina Council 550                          124 S Memorial Ave                                      Walterboro, SC 29488‐3942                                                                                First Class Mail
Chartered Organization         First Baptist Church Of Westwood                           The Spirit of Adventure 227                           808 High St                                             Westwood, MA 02090‐2503                                                                                  First Class Mail
Voting Party                   First Baptist Church Of White Plains                       Attn: Rev. Tim Dalton                                 456 North St                                            White Plains, NY 10605                                                 revtimdalton@gmail.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Church Of Winnemucca                         Nevada Area Council 329                               P.O. Box 7                                              Winnemucca, NV 89446‐0007                                                                                First Class Mail
Chartered Organization         First Baptist Church Of Wylie                              Circle Ten Council 571                                200 N Ballard Ave                                       Wylie, TX 75098‐4476                                                                                     First Class Mail
Chartered Organization         First Baptist Church On The Hill                           Silicon Valley Monterey Bay 055                       500 Sands Dr                                            San Jose, CA 95125‐6233                                                                                  First Class Mail
Chartered Organization         First Baptist Church Pinellas Park                         Greater Tampa Bay Area 089                            5495 Park Blvd N                                        Pinellas Park, FL 33781‐3325                                                                             First Class Mail
Chartered Organization         First Baptist Church Rochester                             Seneca Waterways 397                                  175 Allens Creek Rd                                     Rochester, NY 14618‐3229                                                                                 First Class Mail
Voting Party                   First Baptist Church San Augustine                         Attn: Mary Flowers                                    502 E Columbia St                                       San Augustine, TX 75972                                                fbcsatx@outlook.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Church South Hill                            Tidewater Council 596                                 3633 Galberry Rd                                        Chesapeake, VA 23323‐1407                                                                                First Class Mail
Chartered Organization         First Baptist Church Sugar Hill Inc                        Northeast Georgia Council 101                         5091 Hwy 20                                             Sugar Hill, GA 30518                                                                                     First Class Mail
Chartered Organization         First Baptist Church Trumann                               Quapaw Area Council 018                               P.O. Box 575                                            Trumann, AR 72472‐0575                                                                                   First Class Mail
Chartered Organization         First Baptist Church Union City                            West Tennessee Area Council 559                       500 E Church St                                         Union City, TN 38261‐4006                                                                                First Class Mail
Chartered Organization         First Baptist Church Vega                                  Golden Spread Council 562                             704 S Main St                                           Vega, TX 79092                                                                                           First Class Mail
Chartered Organization         First Baptist Church West                                  Mecklenburg County Council 415                        1801 Oaklawn Ave                                        Charlotte, NC 28216‐5120                                                                                 First Class Mail
Voting Party                   First Baptist Church Whitwell                              Attn: Matthew Daniel                                  1970 N Main St                                          Whitwell, TN 37397                                                                                       First Class Mail
Chartered Organization         First Baptist Church Wylie                                 Circle Ten Council 571                                200 N Ballard Ave                                       Wylie, TX 75098‐4476                                                                                     First Class Mail
Voting Party                   First Baptist Church, Arlington                            Attn: S Lisby, Exec Financial Office                  301 S Center St, 300                                    Arlington, TX 76010                                                    phyllis.lisby@fbca.org            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Baptist Church, Dyersburg, Tn                        c/o Wilkerson & Gauldin                               P.O. Box 220                                            Dyersburg, TN 38025                                                    mgauldin@tenn‐law.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Baptist Church, Dyersburg, Tn                        220 Masonic St                                        Dyersburg, TN 38024                                                                                                            jstone@fbcdyersburg.com           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Forsyth                                      Ozark Trails Council 306                              P.O. Box 74                                             Forsyth, MO 65653‐0074                                                                                   First Class Mail
Chartered Organization         First Baptist Forsyth                                      Ozark Trails Council 306                              10000 State Hwy 76                                      Forsyth, MO 65653‐5443                                                                                   First Class Mail
Voting Party                   First Baptist Of Brookhaven, Ms                            Attn: Milton West                                     P.O. Box 1406                                           Brookhaven, MS 39602                                                   brady@kellemsdurr.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Baptist Of Laurinburg                                Cape Fear Council 425                                 302 E Church St                                         Laurinburg, NC 28352‐3856                                                                                First Class Mail
Chartered Organization         First Bethel Ame Church                                    Northern New Jersey Council, Bsa 333                  2 Auburn St                                             Paterson, NJ 07501                                                                                       First Class Mail
Voting Party                   First Bethel United Methodist Church (102622)              c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200        Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Bethel Utd Methodist Church                          Laurel Highlands Council 527                          5901 Library Rd                                         Bethel Park, PA 15102‐3396                                                                               First Class Mail
Chartered Organization         First Broad St Utd Methodist Church                        Sequoyah Council 713                                  P.O. Box 1346                                           Kingsport, TN 37662‐1346                                                                                 First Class Mail
Voting Party                   First Broad Street United Methodist Church                 Attn: First Broad St Umc Exec. Dir.                   100 E Church Cr                                         Kingsport, TN 37660                                                    nflora@fbsumc.org                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Calvary Baptist Church                               Occoneechee 421                                       1311 Morehead Ave                                       Durham, NC 27707‐1253                                                                                    First Class Mail
Voting Party                   First Centenary United Methodist Church                    Attn: Karen Gates                                     P.O. Box 208                                            Chattanooga, TN 37401                                                                                    First Class Mail
Chartered Organization         First Chinese Baptist Church, La                           Greater Los Angeles Area 033                          942 Yale St                                             Los Angeles, CA 90012‐1725                                                                               First Class Mail
Chartered Organization         First Christian Chruch                                     East Carolina Council 426                             419 E Main St                                           Belhaven, NC 27810                                                                                       First Class Mail
Chartered Organization         First Christian Church                                     Arbuckle Area Council 468                             13th & Broadway                                         Ada, OK 74820                                                                                            First Class Mail
Chartered Organization         First Christian Church                                     Texas Trails Council 561                              201 S Walnut                                            Albany, TX 76430                                                                                         First Class Mail
Chartered Organization         First Christian Church                                     Texas Trails Council 561                              P.O. Box 2316                                           Albany, TX 76430‐8014                                                                                    First Class Mail
Chartered Organization         First Christian Church                                     Longhorn Council 662                                  910 S Collins St                                        Arlington, TX 76010‐2842                                                                                 First Class Mail
Chartered Organization         First Christian Church                                     Circle Ten Council 571                                900 Robbins Rd                                          Athens, TX 75751‐2952                                                                                    First Class Mail
Chartered Organization         First Christian Church                                     Blue Grass Council 204                                P.O. Box 414                                            Barbourville, KY 40906‐0414                                                                              First Class Mail
Chartered Organization         First Christian Church                                     Cherokee Area Council 469 469                         520 S Osage Ave                                         Bartlesville, OK 74003‐3528                                                                              First Class Mail
Chartered Organization         First Christian Church                                     Ozark Trails Council 306                              3020 Roberts Rd                                         Baxter Springs, KS 66713‐2371                                                                            First Class Mail
Chartered Organization         First Christian Church                                     South Texas Council 577                               715 N Saint Marys St                                    Beeville, TX 78102‐4044                                                                                  First Class Mail
Chartered Organization         First Christian Church                                     Tecumseh 439                                          215 E Sandusky Ave                                      Bellefontaine, OH 43311‐2018                                                                             First Class Mail
Chartered Organization         First Christian Church                                     Mount Baker Council, Bsa 606                          495 E Bakerview Rd                                      Bellingham, WA 98226‐9168                                                                                First Class Mail
Chartered Organization         First Christian Church                                     Blue Grass Council 204                                206 Chestnut St                                         Berea, KY 40403‐1981                                                                                     First Class Mail
Chartered Organization         First Christian Church                                     Pony Express Council 311                              P.O. Box 422                                            Bethany, MO 64424‐0422                                                                                   First Class Mail
Chartered Organization         First Christian Church                                     Buckskin 617                                          2200 Bland Rd                                           Bluefield, WV 24701‐4155                                                                                 First Class Mail
Chartered Organization         First Christian Church                                     Ozark Trails Council 306                              407 W Broadway St                                       Bolivar, MO 65613‐1535                                                                                   First Class Mail
Chartered Organization         First Christian Church                                     Lincoln Heritage Council 205                          1106 State St                                           Bowling Green, KY 42101‐2649                                                                             First Class Mail
Chartered Organization         First Christian Church                                     Indian Nations Council 488                            2602 S Elm Pl                                           Broken Arrow, OK 74012‐7849                                                                              First Class Mail
Chartered Organization         First Christian Church                                     Great Rivers Council 653                              1416 N Main St                                          Brookfield, MO 64628‐1014                                                                                First Class Mail
Chartered Organization         First Christian Church                                     Texas Trails Council 561                              2411 Coggin Ave                                         Brownwood, TX 76801‐5356                                                                                 First Class Mail
Chartered Organization         First Christian Church                                     Mississippi Valley Council 141 141                    P.O. Box 952                                            Burlington, IA 52601‐0952                                                                                First Class Mail
Chartered Organization         First Christian Church                                     Muskingum Valley Council, Bsa 467                     1127 Beatty Ave                                         Cambridge, OH 43725‐1921                                                                                 First Class Mail
Chartered Organization         First Christian Church                                     Winnebago Council, Bsa 173                            1302 W 11th St                                          Cedar Falls, IA 50613‐2313                                                                               First Class Mail
Chartered Organization         First Christian Church                                     Cimarron Council 474                                  614 Manvel Ave                                          Chandler, OK 74834‐2841                                                                                  First Class Mail
Chartered Organization         First Christian Church                                     Last Frontier Council 480                             P.O. Box 626                                            Chickasha, OK 73023‐0626                                                                                 First Class Mail
Chartered Organization         First Christian Church                                     Greater St Louis Area Council 312                     105 N Maple St                                          Christopher, IL 62822‐1719                                                                               First Class Mail
Chartered Organization         First Christian Church                                     Hoosier Trails Council 145 145                        531 5th St                                              Columbus, IN 47201‐6224                                                                                  First Class Mail
Chartered Organization         First Christian Church                                     Dan Beard Council, Bsa 438                            14 W 5th St                                             Covington, KY 41011‐1402                                                                                 First Class Mail
Chartered Organization         First Christian Church                                     Blue Grass Council 204                                555 E Lexington Ave                                     Danville, KY 40422‐1557                                                                                  First Class Mail
Chartered Organization         First Christian Church                                     Last Frontier Council 480                             201 W 1st St                                            Edmond, OK 73003‐5503                                                                                    First Class Mail
Chartered Organization         First Christian Church                                     Last Frontier Council 480                             201 E 2nd St                                            Edmond, OK 73034‐4561                                                                                    First Class Mail
Chartered Organization         First Christian Church                                     Greater St Louis Area Council 312                     310 S Main St                                           Edwardsville, IL 62025‐2020                                                                              First Class Mail
Chartered Organization         First Christian Church                                     Laurel Highlands Council 527                          55 Providence St                                        Everett, PA 15537‐1328                                                                                   First Class Mail
Chartered Organization         First Christian Church                                     Mid Iowa Council 177                                  1905 S Main St                                          Fairfield, IA 52556‐9500                                                                                 First Class Mail
Chartered Organization         First Christian Church                                     Blue Grass Council 204                                316 Ann St                                              Frankfort, KY 40601‐2804                                                                                 First Class Mail
Chartered Organization         First Christian Church                                     North Florida Council 087                             3411 NW 83rd St                                         Gainesville, FL 32606‐5610                                                                               First Class Mail
Chartered Organization         First Christian Church                                     Ozark Trails Council 306                              919 S Main St                                           Galena, KS 66739‐1339                                                                                    First Class Mail
Chartered Organization         First Christian Church                                     Blue Grass Council 204                                112 E College St                                        Georgetown, KY 40324‐1604                                                                                First Class Mail
Chartered Organization         First Christian Church                                     Disciples of Christ                                   P.O. Box 698                                            Glendora, CA 91740‐0698                                                                                  First Class Mail
Chartered Organization         First Christian Church                                     Crossroads of America 160                             110 S Indiana St                                        Greencastle, IN 46135‐1697                                                                               First Class Mail
Chartered Organization         First Christian Church                                     Mason Dixon Council 221                               1345 Potomac Ave                                        Hagerstown, MD 21742‐3318                                                                                First Class Mail
Chartered Organization         First Christian Church                                     Mississippi Valley Council 141 141                    961 Walnut St                                           Hamilton, IL 62341‐1459                                                                                  First Class Mail
Chartered Organization         First Christian Church                                     Sequoia Council 027                                   505 W Cameron St                                        Hanford, CA 93230‐3615                                                                                   First Class Mail
Chartered Organization         First Christian Church                                     Blue Mountain Council 604                             775 W Highland Ave                                      Hermiston, OR 97838‐2274                                                                                 First Class Mail
Chartered Organization         First Christian Church                                     Greater St Louis Area Council 312                     P.O. Box 266                                            Herrick, IL 62431‐0266                                                                                   First Class Mail
Chartered Organization         First Christian Church                                     Lincoln Heritage Council 205                          2601 S Walnut St                                        Hopkinsville, KY 42240‐4766                                                                              First Class Mail
Chartered Organization         First Christian Church                                     Orange County Council 039                             1207 Main St                                            Huntington Beach, CA 92648‐2720                                                                          First Class Mail
Chartered Organization         First Christian Church                                     North Florida Council 087                             11924 San Jose Blvd                                     Jacksonville, FL 32223‐1840                                                                              First Class Mail
Chartered Organization         First Christian Church                                     Lincoln Heritage Council 205                          3209 Middle Rd                                          Jeffersonville, IN 47130‐5503                                                                            First Class Mail
Chartered Organization         First Christian Church                                     Quapaw Area Council 018                               2600 Woodsprings Rd                                     Jonesboro, AR 72404‐0903                                                                                 First Class Mail
Chartered Organization         First Christian Church                                     Oregon Trail Council 697                              12th & Nyssa St                                         Junction City, OR 97448                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 106 of 442
                                                                                       Case 20-10343-LSS                                    Doc 8171                                Filed 01/06/22                                                        Page 122 of 457
                                                                                                                                                                       Exhibit B
                                                                                                                                                                        Service List
                                                                                                                                                                 Served as set forth below

        Description                                                             Name                                                                                 Address                                                                                                                  Email              Method of Service
Chartered Organization         First Christian Church                                         Illowa Council 133                       105 Dwight St                                       Kewanee, IL 61443‐3529                                                                                     First Class Mail
Chartered Organization         First Christian Church                                         Sagamore Council 162                     854 N 300 W                                         Kokomo, IN 46901‐3964                                                                                      First Class Mail
Chartered Organization         First Christian Church                                         Heart of America Council 307             1000 Kentucky St                                    Lawrence, KS 66044‐2916                                                                                    First Class Mail
Chartered Organization         First Christian Church                                         Blue Grass Council 204                   300 S Main St                                       Lawrenceburg, KY 40342‐1284                                                                                First Class Mail
Chartered Organization         First Christian Church                                         Last Frontier Council 480                701 SW D Ave                                        Lawton, OK 73501‐4509                                                                                      First Class Mail
Chartered Organization         First Christian Church                                         Heart of America Council 307             130 N 6th St                                        Leavenworth, KS 66048‐1921                                                                                 First Class Mail
Chartered Organization         First Christian Church                                         New Birth of Freedom 544                 442 Hummel Ave                                      Lemoyne, PA 17043‐1954                                                                                     First Class Mail
Chartered Organization         First Christian Church                                         Middle Tennessee Council 560             368 W Main St                                       Linden, TN 37096‐3002                                                                                      First Class Mail
Chartered Organization         First Christian Church                                         Los Padres Council 053                   P.O. Box 1056                                       Lompoc, CA 93438‐1056                                                                                      First Class Mail
Chartered Organization         First Christian Church                                         Heart of America Council 307             602 N 1st St                                        Louisburg, KS 66053‐6454                                                                                   First Class Mail
Chartered Organization         First Christian Church                                         Great Rivers Council 653                 6th & S Carolina                                    Louisiana, MO 63353                                                                                        First Class Mail
Chartered Organization         First Christian Church                                         Last Frontier Council 480                415 E 1st St                                        Luther, OK 73054                                                                                           First Class Mail
Chartered Organization         First Christian Church                                         Illowa Council 133                       120 N Mcarthur St                                   Macomb, IL 61455‐2101                                                                                      First Class Mail
Chartered Organization         First Christian Church                                         Hoosier Trails Council 145 145           512 W Main St                                       Madison, IN 47250‐3718                                                                                     First Class Mail
Chartered Organization         First Christian Church                                         Coronado Area Council 192                3001 Grand Mere Pkwy                                Manhattan, KS 66503‐8648                                                                                   First Class Mail
Chartered Organization         First Christian Church                                         Greater Yosemite Council 059             1125 N Union Rd                                     Manteca, CA 95336‐3049                                                                                     First Class Mail
Chartered Organization         First Christian Church                                         Great Rivers Council 653                 130 N Jefferson Ave                                 Marshall, MO 65340‐1744                                                                                    First Class Mail
Chartered Organization         First Christian Church                                         Circle Ten Council 571                   1800 W Hunt St                                      Mckinney, TX 75069‐3366                                                                                    First Class Mail
Chartered Organization         First Christian Church                                         Great Trail 433                          4797 Sharon Copley Rd                               Medina, OH 44256‐7404                                                                                      First Class Mail
Chartered Organization         First Christian Church                                         Dan Beard Council, Bsa 438               4520 Rosedale Rd                                    Middletown, OH 45042‐3872                                                                                  First Class Mail
Chartered Organization         First Christian Church                                         Montana Council 315                      2701 S Russell St                                   Missoula, MT 59801‐7915                                                                                    First Class Mail
Chartered Organization         First Christian Church                                         Blue Grass Council 204                   100 Michigan Ave                                    Monticello, KY 42633                                                                                       First Class Mail
Chartered Organization         First Christian Church                                         Last Frontier Council 480                629 NW 12th St                                      Moore, OK 73160‐3615                                                                                       First Class Mail
Chartered Organization         First Christian Church                                         Hoosier Trails Council 145 145           525 N Indiana St                                    Mooresville, IN 46158‐1215                                                                                 First Class Mail
Chartered Organization         First Christian Church                                         Rainbow Council 702                      455 W Smor Rd                                       Morris, IL 60450                                                                                           First Class Mail
Chartered Organization         First Christian Church                                         W D Boyce 138                            115 N Washington St                                 Mount Pulaski, IL 62548‐1146                                                                               First Class Mail
Chartered Organization         First Christian Church                                         Blue Grass Council 204                   222 W Main St                                       Mt Sterling, KY 40353‐1348                                                                                 First Class Mail
Chartered Organization         First Christian Church                                         Ore‐Ida Council 106 ‐ Bsa 106            629 12th Ave S                                      Nampa, ID 83651                                                                                            First Class Mail
Chartered Organization         First Christian Church                                         Ore‐Ida Council 106 ‐ Bsa 106            619 12th Ave S                                      Nampa, ID 83651‐4251                                                                                       First Class Mail
Chartered Organization         First Christian Church                                         Ozark Trails Council 306                 1314 Oak Ridge Dr                                   Neosho, MO 64850‐2663                                                                                      First Class Mail
Chartered Organization         First Christian Church                                         Ozark Trails Council 306                 Washington & Austin                                 Nevada, MO 64772                                                                                           First Class Mail
Chartered Organization         First Christian Church                                         Crossroads of America 160                2000 Bundy Ave                                      New Castle, IN 47362‐2920                                                                                  First Class Mail
Chartered Organization         First Christian Church                                         Buffalo Trace 156                        4544 State Rd 261                                   Newburgh, IN 47630                                                                                         First Class Mail
Chartered Organization         First Christian Church                                         Crossroads of America 160                16377 Herriman Blvd                                 Noblesville, IN 46060‐5414                                                                                 First Class Mail
Chartered Organization         First Christian Church                                         Arbuckle Area Council 468, 13th & Bdwy   Ada, OK 74820                                                                                                                                                  First Class Mail
Chartered Organization         First Christian Church                                         North Florida Council 087                1908 E Fort King St                                 Ocala, FL 34471‐2529                                                                                       First Class Mail
Chartered Organization         First Christian Church                                         North Florida Council 087                2876 Moody Ave                                      Orange Park, FL 32073‐6435                                                                                 First Class Mail
Chartered Organization         First Christian Church                                         Lincoln Heritage Council 205             700 J R Miller Blvd                                 Owensboro, KY 42303‐3553                                                                                   First Class Mail
Chartered Organization         First Christian Church                                         Dan Beard Council, Bsa 438               80 Evanwood Dr                                      Owenton, KY 40359‐7053                                                                                     First Class Mail
Chartered Organization         First Christian Church                                         Greater St Louis Area Council 312        201 S Main St                                       Paris, IL 61944‐2252                                                                                       First Class Mail
Chartered Organization         First Christian Church                                         Womens / Mens Fellowships                1201 Chestnut St                                    Pekin, IL 61554‐2915                                                                                       First Class Mail
Chartered Organization         First Christian Church                                         Westmoreland Fayette 512                 P.O. Box 297                                        Perryopolis, PA 15473‐0297                                                                                 First Class Mail
Chartered Organization         First Christian Church                                         Ozark Trails Council 306                 705 E Centennial Dr                                 Pittsburg, KS 66762‐6511                                                                                   First Class Mail
Chartered Organization         First Christian Church                                         East Carolina Council 426                509 E Main St                                       Plymouth, NC 27962‐1410                                                                                    First Class Mail
Chartered Organization         First Christian Church                                         Blue Ridge Mtns Council 599              524 Jefferson Ave N                                 Pulaski, VA 24301‐4618                                                                                     First Class Mail
Chartered Organization         First Christian Church                                         East Carolina Council 426                124 Trott Rd                                        Richlands, NC 28574‐6341                                                                                   First Class Mail
Chartered Organization         First Christian Church                                         Great Smoky Mountain Council 557         510 N Chamberlain Ave                               Rockwood, TN 37854‐2317                                                                                    First Class Mail
Chartered Organization         First Christian Church                                         Blue Ridge Mtns Council 599              712 Front Ave                                       Salem, VA 24153‐6136                                                                                       First Class Mail
Chartered Organization         First Christian Church                                         Quapaw Area Council 018                  2721 W Beebe Capps Expy                             Searcy, AR 72143‐8800                                                                                      First Class Mail
Chartered Organization         First Christian Church                                         Great Rivers Council 653                 200 S Limit Ave                                     Sedalia, MO 65301‐3623                                                                                     First Class Mail
Chartered Organization         First Christian Church                                         Quivira Council, Bsa 198                 204 N Chautauqua St                                 Sedan, KS 67361‐1304                                                                                       First Class Mail
Chartered Organization         First Christian Church                                         Lincoln Heritage Council 205             100 Eminence Pike                                   Shelbyville, KY 40065                                                                                      First Class Mail
Chartered Organization         First Christian Church                                         Crossroads of America 160                107 W 3rd St                                        Sheridan, IN 46069‐1047                                                                                    First Class Mail
Chartered Organization         First Christian Church                                         Quapaw Area Council 018                  2803 E Kiehl Ave                                    Sherwood, AR 72120‐3243                                                                                    First Class Mail
Chartered Organization         First Christian Church                                         Blue Grass Council 204                   Hwy 39                                              Somerset, KY 42503                                                                                         First Class Mail
Chartered Organization         First Christian Church                                         Abraham Lincoln Council 144              2106 S Main St                                      South Jacksonville, IL 62650‐9254                                                                          First Class Mail
Chartered Organization         First Christian Church                                         Blackhawk Area 660                       3400 6th Ave                                        Sterling, IL 61081‐4053                                                                                    First Class Mail
Chartered Organization         First Christian Church                                         Circle Ten Council 571                   405 N Adelaide St                                   Terrell, TX 75160‐2706                                                                                     First Class Mail
Chartered Organization         First Christian Church                                         Central Florida Council 083              2880 W Jay Jay Rd                                   Titusville, FL 32796‐1725                                                                                  First Class Mail
Chartered Organization         First Christian Church                                         Pony Express Council 311                 1700 Princeton Rd                                   Trenton, MO 64683‐1531                                                                                     First Class Mail
Chartered Organization         First Christian Church                                         Snake River Council 111                  601 Shoshone St N                                   Twin Falls, ID 83301‐6154                                                                                  First Class Mail
Chartered Organization         First Christian Church                                         East Texas Area Council 585              4202 S Broadway Ave                                 Tyler, TX 75701‐8721                                                                                       First Class Mail
Chartered Organization         First Christian Church                                         South Georgia Council 098                P.O. Box 4750                                       Valdosta, GA 31604‐4750                                                                                    First Class Mail
Chartered Organization         First Christian Church                                         Lasalle Council 165                      1507 Glendale Blvd                                  Valparaiso, IN 46383‐3883                                                                                  First Class Mail
Chartered Organization         First Christian Church                                         Heart of America Council 307             101 E Gay St                                        Warrensburg, MO 64093‐1846                                                                                 First Class Mail
Chartered Organization         First Christian Church                                         East Carolina Council 426                401 E 2nd St                                        Washington, NC 27889‐5004                                                                                  First Class Mail
Chartered Organization         First Christian Church                                         Circle Ten Council 571                   1109 Brown St                                       Waxahachie, TX 75165‐1957                                                                                  First Class Mail
Chartered Organization         First Christian Church                                         Coastal Georgia Council 099              412 Mcdonald St                                     Waycross, GA 31503‐7666                                                                                    First Class Mail
Chartered Organization         First Christian Church                                         Pushmataha Area Council 691              P.O. Box 208                                        West Point, MS 39773‐0208                                                                                  First Class Mail
Chartered Organization         First Christian Church                                         Quapaw Area Council 018                  304 White Hall Ave                                  White Hall, AR 71602‐2724                                                                                  First Class Mail
Chartered Organization         First Christian Church                                         Northwest Texas Council 587              3701 Taft Blvd                                      Wichita Falls, TX 76308‐2315                                                                               First Class Mail
Chartered Organization         First Christian Church                                         Sagamore Council 162                     106 S Market St                                     Winamac, IN 46996‐1563                                                                                     First Class Mail
Voting Party                   First Christian Church                                         Attn: Terry Lawrence Munson              1982 S Elizabeth St                                 Kokomo, IN 46902                                                         Terrym@Foresiteinc.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church                                         Patricia Ann Thompson Winters            121 Mary Way                                        Belton MO 64012                                                          revtrish@fccnkc.org               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church                                         Attn: Rev Roxie Mcnelly                  89 S Main                                           Martinsville, IN 46151                                                   pastorroxie@fccmartinsville.org   Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church                                         Attn: Erika Huggins                      7301 Miller Rd                                      Rowlett, TX 75088                                                        office@fccrowlett.org             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church                                         Attn: Patricia Ann Thompson Winters      2018 Gentry                                         North Kansas City, MO 64116                                              fccnkc.treasurer@gmail.com        Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         First Christian Church ‐ Emporia                               Jayhawk Area Council 197                 202 E 12th Ave                                      Emporia, KS 66801‐5009                                                                                     First Class Mail
Voting Party                   First Christian Church ‐ Kokomo In                             Attn: Brett Ellison                      854 N 300 W                                         Kokomo, IN 46901                                                         Terrym@Foresiteinc.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         First Christian Church ‐ Minerva                               Buckeye Council 436                      300 W Lincolnway                                    Minerva, OH 44657‐1417                                                                                     First Class Mail
Chartered Organization         First Christian Church ‐ Oskaloosa                             Mid Iowa Council 177                     119 A Ave E                                         Oskaloosa, IA 52577‐2825                                                                                   First Class Mail
Chartered Organization         First Christian Church ‐ Scottsbluff                           Longs Peak Council 062                   2102 Ave A                                          Scottsbluff, NE 69361‐1935                                                                                 First Class Mail
Chartered Organization         First Christian Church ‐ Winterset                             Mid Iowa Council 177                     103 W Green St                                      Winterset, IA 50273‐1532                                                                                   First Class Mail
Chartered Organization         First Christian Church & Kiwanis Club                          East Texas Area Council 585              4202 S Broadway Ave                                 Tyler, TX 75701‐8721                                                                                       First Class Mail
Voting Party                   First Christian Church (Disciples Of Christ)                   Attn: Linda Queen                        100 Cobun Ave                                       Morgantown, WV 26501                                                     fccmorgantown@gmail.com           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church (Disciples Of Christ) In Macomb, Il     Attn: Tim Adams                          120 N Mcarthur St                                   Macomb, IL 61455                                                                                           First Class Mail
Voting Party                   First Christian Church (Disciples Of Christ) Parkersburg, Wv   Attn: Jayne Chafin                       1400 Washington Ave                                 Parkersburg, WV 26101                                                    secretary@movpdoc.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church (Disciples Of Christ) Pendleton, Or     215 N Main St                            Pendleton, OR 97801                                                                                                          office@fccpendleton.org           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         First Christian Church Bowling Green                           Lincoln Heritage Council 205             1106 State St                                       Bowling Green, KY 42101‐2649                                                                               First Class Mail
Chartered Organization         First Christian Church Bryan                                   College Station                          700 S Ennis St                                      Bryan, TX 77803                                                                                            First Class Mail
Chartered Organization         First Christian Church Canyon Country                          W.L.A.C.C. 051                           27421 Homyr Pl                                      Canyon Country, CA 91351‐3709                                                                              First Class Mail
Voting Party                   First Christian Church Cedar Falls Ia                          Attn: Pamela Taylor                      1302 W 11th St                                      Cedar Falls, IA 50613                                                    firstchristian@cfu.net            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church Disciples Of Christ, Baxter Springs     Attn: G Bert Kellum                      3020 Roberts Rd                                     Baxter Springs, KS 66713                                                 BERT@KINGREYKELLUM.COM            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church Edwardsville IL                         Attn: Douglas Job                        310 S Main St                                       Edwardsville, IL 62025                                                   doug@fccedwardsville.org          Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         First Christian Church Little Rock                             Quapaw Area Council 018                  1500 N Mississippi St                               Little Rock, AR 72207‐5851                                                                                 First Class Mail
Chartered Organization         First Christian Church Madisonville                            Lincoln Heritage Council 205             1030 College Dr                                     Madisonville, KY 42431‐9181                                                                                First Class Mail
Chartered Organization         First Christian Church Mens Fellowship                         W D Boyce 138                            1201 Chestnut St                                    Pekin, IL 61554‐2915                                                                                       First Class Mail
Chartered Organization         First Christian Church Mens Group                              Pony Express Council 311                 7th & Santa Fe                                      Atchison, KS 66002                                                                                         First Class Mail
Chartered Organization         First Christian Church Of Allen                                Circle Ten Council 571                   1207 Twin Creeks Dr                                 Allen, TX 75013‐1121                                                                                       First Class Mail
Chartered Organization         First Christian Church Of Anna                                 Circle Ten Council 571                   P.O. Box 365                                        Anna, TX 75409‐0365                                                                                        First Class Mail
Voting Party                   First Christian Church Of Arlington                            910 S Collins                            Arlington, TX 76010                                                                                                          jcraighubble@gmail.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church Of Arlington                            c/o the Hubble Law Firm Pllc             Attn: G Craig Hubble                                1521 N Cooper, Ste 750              Arlington, TX 76011                  gcraighubble@gmail.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church Of Bartlesville, Ok                     Attn: Trustee Chair                      520 SE Osage                                        Bartlesville, OK 74003                                                   office@bvillefcc.org              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         First Christian Church Of Beaches                              North Florida Council 087                2125 Ocean Front                                    Neptune Beach, FL 32266‐4842                                                                               First Class Mail
Voting Party                   First Christian Church Of Bluefield                            Attn: Ron Hypes Treasurer                2200 Bland Rd                                       Bluefield, WV 24701                                                      fccbluefield@gmail.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church Of Bluefield                            Attn: Ron Hypes, Treasurer               2200 Bland Rd                                       Bluefield, WV 24701                                                      fccbluefield@gmail.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church Of Burbank                              221 S 6th St                             Burbank, CA 91501                                                                                                            info@fccburbank.org               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church Of Canton, Illinois                     Attn: Trygve Meade                       175A S Main St                                      Canton, IL 61520                                                         trygve@meadelawpc.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church Of Canton, Inc.                         215 W Elm St                             Canton, IL 61520                                                                                                             contact@cantonfcc.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         First Christian Church Of Carrollton                           Circle Ten Council 571                   1835 Walnut Ave                                     Carrollton, TX 75006‐6114                                                                                  First Class Mail
Chartered Organization         First Christian Church Of Casper                               Greater Wyoming Council 638              520 Cy Ave                                          Casper, WY 82601‐3647                                                                                      First Class Mail
Voting Party                   First Christian Church Of Corvallis Oregon                     602 SW Madison Ave                       Corvallis, OR 97330                                                                                                          office@heartofcorvallis.org       Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         First Christian Church Of Duncan                               Last Frontier Council 480                912 W Walnut Ave                                    Duncan, OK 73533‐4624                                                                                      First Class Mail
Chartered Organization         First Christian Church Of Duncanville                          Circle Ten Council 571                   203 S Main St                                       Duncanville, TX 75116‐4705                                                                                 First Class Mail
Chartered Organization         First Christian Church Of Fayette                              Great Rivers Council 653                 307 N Church St                                     Fayette, MO 65248‐1105                                                                                     First Class Mail
Chartered Organization         First Christian Church Of Garland                              Circle Ten Council 571                   115 S Glenbrook Dr                                  Garland, TX 75040‐6225                                                                                     First Class Mail
Voting Party                   First Christian Church Of Glendora                             Attn: Judy Thorndyke                     300 N Glendora Ave                                  Glendora, CA 91741                                                       rev.kkd@verizon.net               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         First Christian Church Of Independence                         Quivira Council, Bsa 198                 319 W Laurel St                                     Independence, KS 67301‐3314                                                                                First Class Mail
Voting Party                   First Christian Church Of Independence                         Attn: Brent Schondelmeyer                125 S Pleasant                                      Independence, MO 64050                                                   brent@fccindepmo.org              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church Of Jeffersonville, Inc.                 c/o Thompson Law LLC                     Attn: Pamela Thompson                               603 N Shore Dr, Ste 105             Jeffersonville, IN 47130             pam@thompsonlawllc.net            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church Of Junction City Oregon                 Attn: Barbara K. Bower                   1250 Nyssa                                          Junction City, OR 97448                                                  junctioncityfcc@gmail.com         Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church Of Junction City Oregon                 Attn: Barbara K Bower                    1250 Nyssa                                          Junction City, OR 97448                                                  BKBPC@juno.com                    Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         First Christian Church Of Lake Butler                          North Florida Council 087                155 NW 1st St                                       Lake Butler, FL 32054‐1604                                                                                 First Class Mail
Voting Party                   First Christian Church Of Louisburg, Ks                        Attn: Pastor Justin Schwartz             602 N 1st St                                        Louisburg, KS 66053                                                      pastor@fcclouisburgks.org         Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         First Christian Church Of Lufkin                               East Texas Area Council 585              1300 S 1st St                                       Lufkin, TX 75901‐4750                                                                                      First Class Mail
Chartered Organization         First Christian Church Of Mckinney                             Circle Ten Council 571                   1800 W Hunt St                                      Mckinney, TX 75069‐3366                                                                                    First Class Mail
Chartered Organization         First Christian Church Of Melissa                              Circle Ten Council 571                   P.O. Box 606                                        Melissa, TX 75454‐0606                                                                                     First Class Mail
Chartered Organization         First Christian Church Of Monongahela                          Laurel Highlands Council 527             Chess St & 6th St                                   Monongahela, PA 15063                                                                                      First Class Mail
Chartered Organization         First Christian Church Of Nkc                                  Heart of America Council 307             2018 Gentry St                                      Kansas City, MO 64116‐3523                                                                                 First Class Mail
Chartered Organization         First Christian Church Of Nkc                                  Heart of America Council 307             2018 Gentry St                                      North Kansas City, MO 64116‐3523                                                                           First Class Mail
Chartered Organization         First Christian Church Of Poplar Bluff                         Greater St Louis Area Council 312        1601 N Main St                                      Poplar Bluff, MO 63901‐3439                                                                                First Class Mail
Chartered Organization         First Christian Church Of Port Orchard                         Chief Seattle Council 609                4885 SW Hovde Rd                                    Port Orchard, WA 98367‐7083                                                                                First Class Mail
Chartered Organization         First Christian Church Of Rowlett                              Circle Ten Council 571                   7301 Miller Rd                                      Rowlett, TX 75088‐6246                                                                                     First Class Mail
Chartered Organization         First Christian Church Of Sikeston                             Greater St Louis Area Council 312        1006 N Main St                                      Sikeston, MO 63801‐5044                                                                                    First Class Mail
Chartered Organization         First Christian Church Of Smithville                           Heart of America Council 307             201 N Bridge St                                     Smithville, MO 64089‐8266                                                                                  First Class Mail
Chartered Organization         First Christian Church Of Stow                                 Great Trail 433                          3493 Darrow Rd                                      Stow, OH 44224‐4008                                                                                        First Class Mail
Chartered Organization         First Christian Church Of Texas City                           Bay Area Council 574                     2400 21st St N                                      Texas City, TX 77590‐5210                                                                                  First Class Mail
Chartered Organization         First Christian Church Of Topeka                               Jayhawk Area Council 197                 1880 SW Gage Blvd                                   Topeka, KS 66604‐3336                                                                                      First Class Mail
Chartered Organization         First Christian Church Of Tullahoma                            Middle Tennessee Council 560             P.O. Box 606                                        Tullahoma, TN 37388‐0606                                                                                   First Class Mail
Voting Party                   First Christian Church Of Valparaiso                           Attn: Cheryl Girman                      1507 Glendale Blvd                                  Valparaiso, IN 46383                                                     sec@fccvalpo.org                  Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         First Christian Church Of Waxahachie                           Circle Ten Council 571                   1109 Brown St                                       Waxahachie, TX 75165‐1957                                                                                  First Class Mail
Chartered Organization         First Christian Church Of Wellington                           Quivira Council, Bsa 198                 123 W 9th St                                        Wellington, KS 67152‐4031                                                                                  First Class Mail
Chartered Organization         First Christian Church Of Winnsboro                            East Texas Area Council 585              P.O. Box 556                                        Winnsboro, TX 75494‐0556                                                                                   First Class Mail
Voting Party                   First Christian Church Olathe Ks                               200 E Loula St                           Olathe, KS 66061                                                                                                             kbgordon54@yahoo.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         First Christian Church San Marcos                              Capitol Area Council 564                 3105 Ranch Rd 12                                    San Marcos, TX 78666‐2490                                                                                  First Class Mail
Chartered Organization         First Christian Church Wagoner                                 Indian Nations Council 488               415 NE 2nd St                                       Wagoner, OK 74467‐4413                                                                                     First Class Mail
Voting Party                   First Christian Church Wilson Nc                               Attn: Tim Sharp, Treasurer               P.O. Box 2702                                       Wilson, NC 27894                                                         tim@toweins.com                   Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church(Disciples Of Christ)Crawfordsville In   Kristy Reese                             107 South Walnut St                                 Crawfordsville, IN 47933                                                 211fccville@gmail.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church, Disciples Of Christ, Baxter Springs    Attn: G Bert Kellum                      P.O. Box 230                                        Baxter Springs, KS 66713                                                 bert@kingreykellum.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church, Eugene, Or                             1166 Oak St                              Eugene, OR 97401                                                                                                             doug@oidisciples.org              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church, Mooresville, Indiana                   Attn: Board Chair                        525 N Indiana St                                    Mooresville, IN 46158                                                    support@firstccmooresville.org    Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian Church, North Bend, Oregon                     2420 Sherman Ave                         North Bend, OR 97459                                                                                                         doug@oidisciples.org              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   First Christian(Disciples Of Christ) Of Crawfordsville, In     Attn: Chairman of Exec Board             211 S Walnut St                                     Crawfordsville, IN 47933                                                 211fccville@gmail.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         First Church ‐ Christ Experience                               Last Frontier Council 480                131 NW 4th St                                       Oklahoma City, OK 73102‐6211                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                        Page 107 of 442
                                                                                   Case 20-10343-LSS                                                 Doc 8171                                                Filed 01/06/22                                                  Page 123 of 457
                                                                                                                                                                                                Exhibit B
                                                                                                                                                                                                 Service List
                                                                                                                                                                                          Served as set forth below

        Description                                                         Name                                                                                                              Address                                                                                                          Email              Method of Service
Voting Party                   First Church ‐ Corona United Methodist                           Attn: Jessica Ellis, CFO                        475 Riverside Dr, Ste 1922                                          New York, NY 10115                                                 bshillady@umcitysociety.org     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First Church Baldwin United Methodist                            Attn: Pastor Claire Wu                          881 Merrick Rd                                                      Baldwin, NY 11510                                                  firstchurchbaldwin@gmail.com    Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Church Congregational                                      Connecticut Yankee Council Bsa 072              148 Beach Rd                                                        Fairfield, CT 06824‐6002                                                                           First Class Mail
Chartered Organization         First Church Congregational                                      Lake Erie Council 440                           22 Liberty St                                                       Painesville, OH 44077‐3307                                                                         First Class Mail
Voting Party                   First Church In Barre, Universalist, 1796                        Attn: David Sanguinetti, Secretary              P.O. Box 764                                                        Barre, VT 05641                                                    davesangvt@outlook.com          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First Church In Windsor                                          107 Palisado Ave                                Windsor, CT 06095                                                                                                                      pastornicole@fcwucc.org         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First Church In Windsor                                          Attn: Lee D. Hoffman                            Pullman and Comley LLC                                              90 State House Square             Hartford, CT 06103               lhoffman@pullcom.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Church Of Bethlehem                                        Connecticut Rivers Council, Bsa 066             Main St                                                             Bethlehem, CT 06751                                                                                First Class Mail
Chartered Organization         First Church Of Christ                                           Connecticut Yankee Council Bsa 072              511 Amity Rd                                                        Bethany, CT 06524‐3000                                                                             First Class Mail
Chartered Organization         First Church Of Christ                                           Dan Beard Council, Bsa 438                      6080 Camp Ernst Rd                                                  Burlington, KY 41005‐8354                                                                          First Class Mail
Chartered Organization         First Church Of Christ                                           Prairielands 117                                715 W Vermilion St                                                  Catlin, IL 61817‐9781                                                                              First Class Mail
Chartered Organization         First Church Of Christ                                           Connecticut Rivers Council, Bsa 066             190 Court St                                                        Middletown, CT 06457‐3302                                                                          First Class Mail
Chartered Organization         First Church Of Christ                                           Cape Cod and Islands Cncl 224                   136 Old Main St                                                     Sandwich, MA 02563                                                                                 First Class Mail
Chartered Organization         First Church Of Christ                                           Connecticut Rivers Council, Bsa 066             P.O. Box 251                                                        Unionville, CT 06085‐0251                                                                          First Class Mail
Chartered Organization         First Church Of Christ                                           Connecticut Rivers Council, Bsa 066             12 S Main St                                                        West Hartford, CT 06107‐2406                                                                       First Class Mail
Chartered Organization         First Church Of Christ                                           Connecticut Yankee Council Bsa 072              5 Meetinghouse Ln                                                   Woodbridge, CT 06525‐1519                                                                          First Class Mail
Chartered Organization         First Church Of Christ & Eccles Society                          Connecticut Rivers Council, Bsa 066             689 Hopmeadow St                                                    Simsbury, CT 06070‐2210                                                                            First Class Mail
Chartered Organization         First Church Of Christ Congregational                            Connecticut Rivers Council, Bsa 066             366 Main St                                                         Old Saybrook, CT 06475‐2319                                                                        First Class Mail
Chartered Organization         First Church Of Christ Scientist Salem                           Cascade Pacific Council 492                     935 High St Se                                                      Salem, OR 97302‐4131                                                                               First Class Mail
Chartered Organization         First Church Of Evans                                            Greater Niagara Frontier Council 380            7431 Erie Rd                                                        Derby, NY 14047‐9500                                                                               First Class Mail
Chartered Organization         First Church Of God                                              Sioux Council 733                               P.O. Box 477                                                        Marion, SD 57043‐0477                                                                              First Class Mail
Chartered Organization         First Church Of God                                              Great Rivers Council 653                        803 Union Ave                                                       Moberly, MO 65270‐2429                                                                             First Class Mail
Chartered Organization         First Church Of God                                              Southern Shores Fsc 783                         2627 Niles Ave                                                      Saint Joseph, MI 49085‐1925                                                                        First Class Mail
Chartered Organization         First Church Of God ‐ Alliance                                   Buckeye Council 436                             505 N Lincoln Ave                                                   Alliance, OH 44601‐1637                                                                            First Class Mail
Chartered Organization         First Church Of Ipswich                                          The Spirit of Adventure 227                     Meeting House Green                                                 Ipswich, MA 01938                                                                                  First Class Mail
Chartered Organization         First Church Of Lombard                                          Three Fires Council 127                         220 S Main St                                                       Lombard, IL 60148‐2630                                                                             First Class Mail
Chartered Organization         First Church Of Monson                                           Western Massachusetts Council 234               5 High St                                                           Monson, MA 01057‐1007                                                                              First Class Mail
Chartered Organization         First Church Of Pembroke                                         Mayflower Council 251                           P.O. Box 576                                                        Pembroke, MA 02359‐0576                                                                            First Class Mail
Voting Party                   First Church Of Round Hill                                       Attn: Rev. Leo W Curry                          464 Round Hill Rd                                                   Greenwich, CT 06831                                                fcroundhill@outlook.com         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Church Of Squantum Congregational                          The Spirit of Adventure 227                     164 Bellevue Rd                                                     Quincy, MA 02171‐1350                                                                              First Class Mail
Chartered Organization         First Church Of The Nazarene                                     Buffalo Trail Council 567                       1400 S Lancaster St                                                 Big Spring, TX 79720‐4410                                                                          First Class Mail
Chartered Organization         First Church Of The Nazarene                                     Cimarron Council 474                            104 E Wichita Ave                                                   Cleveland, OK 74020‐3634                                                                           First Class Mail
Chartered Organization         First Church Of The Nazarene                                     Last Frontier Council 480                       910 S Reno Ave                                                      El Reno, OK 73036‐5257                                                                             First Class Mail
Chartered Organization         First Church Of The Nazarene                                     Lincoln Heritage Council 205                    600 E Main St                                                       Glasgow, KY 42141‐2722                                                                             First Class Mail
Chartered Organization         First Church Of The Nazarene                                     Longs Peak Council 062                          2515 W 16th St                                                      Greeley, CO 80634‐4901                                                                             First Class Mail
Chartered Organization         First Church Of The Nazarene                                     Sagamore Council 162                            201 Veterans Memorial Pkwy E                                        Lafayette, IN 47905‐8790                                                                           First Class Mail
Chartered Organization         First Church Of The Nazarene                                     Juniata Valley Council 497                      5851 Newton Ave                                                     Mc Connellstown, PA 16660                                                                          First Class Mail
Chartered Organization         First Church Of The Nazarene                                     Ore‐Ida Council 106 ‐ Bsa 106                   601 16th Ave S                                                      Nampa, ID 83651‐4728                                                                               First Class Mail
Voting Party                   First Church Of The Nazarene Of Pasadena                         Attn: Rev Joe Watkins                           3700 E Sierra Madre Blvd                                            Pasadena, CA 91107                                                 jwatkins@paznaz.org             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First Church Of Winthrop, United Methodist                       Attn: Treasurer, First Church of Winthrop, Um   217 Winthrop St                                                     Winthrop, MA 02152                                                                                 First Class Mail
Chartered Organization         First Church West Of Plantation                                  South Florida Council 084                       9904 NW 77th St                                                     Tamarac, FL 33321‐7401                                                                             First Class Mail
Voting Party                   First Church‐FUMC                                                c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Coast High School (Sn)                                     North Florida Council 087                       590 Duval Station Rd                                                Jacksonville, FL 32218‐1869                                                                        First Class Mail
Chartered Organization         First Colony Christian Church                                    Sam Houston Area Council 576                    4141 Sweetwater Blvd                                                Sugar Land, TX 77479‐2406                                                                          First Class Mail
Voting Party                   First Colony Church Of Christ                                    Attn: Donna Pruitt                              2140 First Colony Blvd                                              Sugar Land, TX 77479                                               DonnaP@FirstColonyChurch.org    Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Commerce Bank                                              Middle Tennessee Council 560                    500 N Ellington Pkwy                                                Lewisburg, TN 37091‐2911                                                                           First Class Mail
Voting Party                   First Community United Methodist Church                          Attn: Patrick Deflorio, Treasurer               55 Otis St                                                          Medford, MA 02155                                                  FESeamster@msn.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Cong Ch Tosa Christian Ed Board                            Three Harbors Council 636                       1511 Church St                                                      Wauwatosa, WI 53213‐2515                                                                           First Class Mail
Chartered Organization         First Congregational                                             Oregon Trail Council 697                        1050 E 23rd Ave                                                     Eugene, OR 97405‐3070                                                                              First Class Mail
Chartered Organization         First Congregational Church                                      President Gerald R Ford 781                     201 S 2nd Ave                                                       Alpena, MI 49707‐2881                                                                              First Class Mail
Chartered Organization         First Congregational Church                                      Connecticut Rivers Council, Bsa 066             Rte 6 Box 107                                                       Andover, CT 06232                                                                                  First Class Mail
Chartered Organization         First Congregational Church                                      The Spirit of Adventure 227                     18 Andover Rd                                                       Billerica, MA 01821‐1916                                                                           First Class Mail
Chartered Organization         First Congregational Church                                      Green Mountain 592                              Brattleboro Vt                                                      Brattleboro, VT 05301                                                                              First Class Mail
Chartered Organization         First Congregational Church                                      Water and Woods Council 782                     P.O. Box 296                                                        Breckenridge, MI 48615‐0296                                                                        First Class Mail
Chartered Organization         First Congregational Church                                      Pine Tree Council 218                           S High St                                                           Bridgton, ME 04009                                                                                 First Class Mail
Chartered Organization         First Congregational Church                                      Greater St Louis Area Council 312               105 S Franklin St                                                   Bunker Hill, IL 62014‐1453                                                                         First Class Mail
Chartered Organization         First Congregational Church                                      Westchester Putnam 388                          210 Orchard Ridge Rd                                                Chappaqua, NY 10514‐2733                                                                           First Class Mail
Chartered Organization         First Congregational Church                                      Water and Woods Council 782                     106 S Bostwick St                                                   Charlotte, MI 48813‐1414                                                                           First Class Mail
Chartered Organization         First Congregational Church                                      Katahdin Area Council 216                       P.O. Box 232                                                        Cherryfield, ME 04622‐0232                                                                         First Class Mail
Chartered Organization         First Congregational Church                                      Connecticut Rivers Council, Bsa 066             111 Church Dr                                                       Cheshire, CT 06410‐3104                                                                            First Class Mail
Chartered Organization         First Congregational Church                                      Oregon Trail Council 697                        4515 SW West Hills Rd                                               Corvallis, OR 97333‐3999                                                                           First Class Mail
Chartered Organization         First Congregational Church                                      Blackhawk Area 660                              461 Pierson St                                                      Crystal Lake, IL 60014‐5772                                                                        First Class Mail
Chartered Organization         First Congregational Church                                      Pathway To Adventure 456                        1047 Curtiss St                                                     Downers Grove, IL 60515‐4607                                                                       First Class Mail
Chartered Organization         First Congregational Church                                      Connecticut Rivers Council, Bsa 066             837 Main St                                                         East Hartford, CT 06108‐3119                                                                       First Class Mail
Chartered Organization         First Congregational Church                                      Western Massachusetts Council 234               7 Somers Rd                                                         East Longmeadow, MA 01028‐2917                                                                     First Class Mail
Chartered Organization         First Congregational Church                                      Connecticut Rivers Council, Bsa 066             124 Scantic Rd                                                      East Windsor, CT 06088‐9734                                                                        First Class Mail
Chartered Organization         First Congregational Church                                      Green Mountain 592                              39 Main St                                                          Essex Junction, VT 05452‐3108                                                                      First Class Mail
Chartered Organization         First Congregational Church                                      The Spirit of Adventure 227                     7 Andover St                                                        Georgetown, MA 01833‐2031                                                                          First Class Mail
Chartered Organization         First Congregational Church                                      Three Fires Council 127                         535 Forest Ave                                                      Glen Ellyn, IL 60137‐4148                                                                          First Class Mail
Chartered Organization         First Congregational Church                                      Connecticut Rivers Council, Bsa 066             221 N Granby Rd                                                     Granby, CT 06035‐1330                                                                              First Class Mail
Chartered Organization         First Congregational Church                                      President Gerald R Ford 781                     126 E Cass St                                                       Greenville, MI 48838‐1906                                                                          First Class Mail
Chartered Organization         First Congregational Church                                      Connecticut Yankee Council Bsa 072              122 Broad St                                                        Guilford, CT 06437‐2634                                                                            First Class Mail
Chartered Organization         First Congregational Church                                      Baden‐Powell Council 368                        P.O. Box 217                                                        Harford, PA 18823‐0217                                                                             First Class Mail
Chartered Organization         First Congregational Church                                      Mayflower Council 251                           725 Washington St                                                   Holliston, MA 01746‐2159                                                                           First Class Mail
Chartered Organization         First Congregational Church                                      Blackhawk Area 660                              11628 Main St                                                       Huntley, IL 60142‐7397                                                                             First Class Mail
Chartered Organization         First Congregational Church                                      Quivira Council, Bsa 198                        3410 N Plum St                                                      Hutchinson, KS 67502‐2900                                                                          First Class Mail
Chartered Organization         First Congregational Church                                      Baden‐Powell Council 368                        309 Highland Rd                                                     Ithaca, NY 14850‐2301                                                                              First Class Mail
Chartered Organization         First Congregational Church                                      Connecticut Rivers Council, Bsa 066             Rt 207                                                              Lebanon, CT 06249                                                                                  First Class Mail
Chartered Organization         First Congregational Church                                      Daniel Webster Council, Bsa 330                 P.O. Box 230                                                        Lebanon, NH 03766‐0230                                                                             First Class Mail
Chartered Organization         First Congregational Church                                      Western Massachusetts Council 234               P.O. Box 395                                                        Lee, MA 01238‐0395                                                                                 First Class Mail
Chartered Organization         First Congregational Church                                      Daniel Webster Council, Bsa 330                 508 Union St                                                        Manchester, NH 03104‐4837                                                                          First Class Mail
Chartered Organization         First Congregational Church                                      The Spirit of Adventure 227                     121 W Foster St                                                     Melrose, MA 02176‐3832                                                                             First Class Mail
Chartered Organization         First Congregational Church                                      Ore‐Ida Council 106 ‐ Bsa 106                   515 E 15th N                                                        Mountain Home, ID 83647‐1704                                                                       First Class Mail
Chartered Organization         First Congregational Church                                      Potawatomi Area Council 651                     231 Roberts Dr                                                      Mukwonago, WI 53149‐1129                                                                           First Class Mail
Chartered Organization         First Congregational Church                                      Mayflower Council 251                           100 Winter St                                                       Norwood, MA 02062‐2049                                                                             First Class Mail
Chartered Organization         First Congregational Church                                      Daniel Webster Council, Bsa 330                 301 Pembroke St                                                     Pembroke, NH 03275‐3234                                                                            First Class Mail
Chartered Organization         First Congregational Church                                      Sequoia Council 027                             165 E Mill Ave                                                      Porterville, CA 93257‐3860                                                                         First Class Mail
Chartered Organization         First Congregational Church                                      Grand Canyon Council 010                        216 E Gurley St                                                     Prescott, AZ 86301‐3822                                                                            First Class Mail
Chartered Organization         First Congregational Church                                      California Inland Empire Council 045            2 W Olive Ave                                                       Redlands, CA 92373‐5244                                                                            First Class Mail
Chartered Organization         First Congregational Church                                      Southern Shores Fsc 783                         2001 Niles Ave                                                      Saint Joseph, MI 49085‐1614                                                                        First Class Mail
Chartered Organization         First Congregational Church                                      President Gerald R Ford 781                     312 Hoffman St                                                      Saugatuck, MI 49453‐9495                                                                           First Class Mail
Chartered Organization         First Congregational Church                                      Pine Tree Council 218                           167 Black Point Rd                                                  Scarborough, ME 04074‐9377                                                                         First Class Mail
Chartered Organization         First Congregational Church                                      Southern Shores Fsc 783                         651 Phoenix St                                                      South Haven, MI 49090‐1510                                                                         First Class Mail
Chartered Organization         First Congregational Church                                      Pine Tree Council 218                           17 E Main St                                                        South Paris, ME 04281‐1503                                                                         First Class Mail
Chartered Organization         First Congregational Church                                      Abraham Lincoln Council 144                     2100 S Bates Ave                                                    Springfield, IL 62704‐4364                                                                         First Class Mail
Chartered Organization         First Congregational Church                                      The Spirit of Adventure 227                     1 Church St                                                         Stoneham, MA 02180‐2002                                                                            First Class Mail
Chartered Organization         First Congregational Church                                      Connecticut Yankee Council Bsa 072              2301 Main St                                                        Stratford, CT 06615‐5920                                                                           First Class Mail
Chartered Organization         First Congregational Church                                      Connecticut Rivers Council, Bsa 066             835 Riverside Ave                                                   Torrington, CT 06790‐4537                                                                          First Class Mail
Chartered Organization         First Congregational Church                                      President Gerald R Ford 781                     6105 Center Rd                                                      Traverse City, MI 49686‐1923                                                                       First Class Mail
Chartered Organization         First Congregational Church                                      Northern New Jersey Council, Bsa 333            19 Church St                                                        Verona, NJ 07044‐2544                                                                              First Class Mail
Chartered Organization         First Congregational Church                                      Connecticut Yankee Council Bsa 072              23 S Main St                                                        Wallingford, CT 06492‐4201                                                                         First Class Mail
Chartered Organization         First Congregational Church                                      Connecticut Yankee Council Bsa 072              1 Church St                                                         West Haven, CT 06516‐4928                                                                          First Class Mail
Chartered Organization         First Congregational Church                                      Mayflower Council 251                           519 Washington St                                                   Whitman, MA 02382‐1910                                                                             First Class Mail
Chartered Organization         First Congregational Church                                      The Spirit of Adventure 227                     21 Church St                                                        Winchester, MA 01890‐1801                                                                          First Class Mail
Chartered Organization         First Congregational Church                                      Connecticut Rivers Council, Bsa 066             P.O. Box 147                                                        Woodstock, CT 06281‐0147                                                                           First Class Mail
Voting Party                   First Congregational Church                                      Attn: Pastor                                    1106 Chestnut St                                                    Western Springs, IL 60558                                          rich@wscongo.org                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Congregational Church ‐ Braintree                          Mayflower Council 251                           12 Elm St                                                           Braintree, MA 02184‐3203                                                                           First Class Mail
Chartered Organization         First Congregational Church ‐ Plympton                           Mayflower Council 251                           254 Main St                                                         Plympton, MA 02367                                                                                 First Class Mail
Chartered Organization         First Congregational Church ‐ Ucc                                Lake Erie Council 440                           P.O. Box 66                                                         Berlin Heights, OH 44814‐0066                                                                      First Class Mail
Chartered Organization         First Congregational Church ‐ Ucc                                Longs Peak Council 062                          1500 9th Ave                                                        Longmont, CO 80501‐4228                                                                            First Class Mail
Chartered Organization         First Congregational Church Hanover                              Mayflower Council 251                           515 Hanover St                                                      Hanover, MA 02339‐2246                                                                             First Class Mail
Chartered Organization         First Congregational Church Norwich                              Connecticut Rivers Council, Bsa 066             81 E Town St                                                        Norwich, CT 06360‐2322                                                                             First Class Mail
Voting Party                   First Congregational Church Of Berkeley                          Attn: Morris Wright                             First Congregational Church of Berkeley                             2345 Channing Way                 Berkeley, CA 94704               info@fccb.org                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Congregational Church Of Bethlehem                         Connecticut Rivers Council, Bsa 066             Main St S                                                           Bethlehem, CT 06751                                                                                First Class Mail
Chartered Organization         First Congregational Church Of Brimfield                         Western Massachusetts Council 234               P.O. Box 203                                                        Brimfield, MA 01010‐0203                                                                           First Class Mail
Chartered Organization         First Congregational Church Of Camden                            Pine Tree Council 218                           55 Elm St                                                           Camden, ME 04843‐1904                                                                              First Class Mail
Chartered Organization         First Congregational Church Of Charlotte                         Water and Woods Council 782                     106 S Bostwick St                                                   Charlotte, MI 48813‐1414                                                                           First Class Mail
Chartered Organization         First Congregational Church Of Dalton                            Western Massachusetts Council 234               514 Main St                                                         Dalton, MA 01226‐1610                                                                              First Class Mail
Voting Party                   First Congregational Church Of East Hartford Ucc                 837 Main St                                     East Hartford, CT 06108                                                                                                                office@churchcorners.org        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Congregational Church Of Fairhaven                         Narragansett 546                                34 Center St                                                        Fairhaven, MA 02719‐2931                                                                           First Class Mail
Chartered Organization         First Congregational Church Of Greenwich                         Greenwich 067                                   108 Sound Beach Ave                                                 Old Greenwich, CT 06870‐1519                                                                       First Class Mail
Chartered Organization         First Congregational Church Of Hamilton                          The Spirit of Adventure 227                     624 Bay Rd                                                          Hamilton, MA 01936                                                                                 First Class Mail
Chartered Organization         First Congregational Church Of Hudson                            Great Trail 433                                 47 Aurora St                                                        Hudson, OH 44236‐2902                                                                              First Class Mail
Chartered Organization         First Congregational Church Of Lasalle                           W D Boyce 138                                   502 Joliet St                                                       La Salle, IL 61301‐2132                                                                            First Class Mail
Chartered Organization         First Congregational Church Of Ledyard                           Connecticut Rivers Council, Bsa 066             P.O. Box 77                                                         Ledyard, CT 06339‐0077                                                                             First Class Mail
Chartered Organization         First Congregational Church Of Lee                               Western Massachusetts Council 234               P.O. Box 395                                                        Lee, MA 01238‐0395                                                                                 First Class Mail
Voting Party                   First Congregational Church Of Mn, United Church Of Christ       500 8th Ave Se                                  Minneapolis, MN 55414                                                                                                                  office@firstchurchmn.org        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Congregational Church Of Old Lyme                          Connecticut Rivers Council, Bsa 066             2 Ferry Rd                                                          Old Lyme, CT 06371‐2323                                                                            First Class Mail
Chartered Organization         First Congregational Church Of Pelham                            Daniel Webster Council, Bsa 330                 2 Main St                                                           Pelham, NH 03076‐3723                                                                              First Class Mail
Chartered Organization         First Congregational Church Of Perris                            California Inland Empire Council 045            100 N A St                                                          Perris, CA 92570‐1902                                                                              First Class Mail
Chartered Organization         First Congregational Church Of Peru                              W D Boyce 138                                   1431 4th St                                                         Peru, IL 61354‐3601                                                                                First Class Mail
Voting Party                   First Congregational Church Of Raynham Ucc                       Attn: Rev. James A. Tilbe                       785 S Main St                                                       Raynham, MA 02767                                                  jtilbe@comcast.net              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Congregational Church Of Rowley                            The Spirit of Adventure 227                     175 Main St                                                         Rowley, MA 01969‐1504                                                                              First Class Mail
Voting Party                   First Congregational Church Of Royal Oak                         1314 Northwood Blvd                             Royal Oak, MI 48073                                                                                                                    gidlendo@gmail.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First Congregational Church Of Royal Oak                         Attn: Sheryl G Lendo                            1314 Northwood Blvd                                                 Royal Oak, MI 48073                                                fccro@fccro.org                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Congregational Church Of Santa Ana                         Orange County Council 039                       2555 Santiago St                                                    Santa Ana, CA 92706‐1726                                                                           First Class Mail
Chartered Organization         First Congregational Church Of Tallmadge                         Great Trail 433                                 85 Heritage Dr                                                      Tallmadge, OH 44278‐1420                                                                           First Class Mail
Chartered Organization         First Congregational Church Of Twinsburg                         Lake Erie Council 440                           9050 Church St                                                      Twinsburg, OH 44087‐2102                                                                           First Class Mail
Chartered Organization         First Congregational Church Of Vernon                            Connecticut Rivers Council, Bsa 066             695 Hartford Tpke                                                   Vernon, CT 06066‐5021                                                                              First Class Mail
Chartered Organization         First Congregational Church Of Warwick                           Narragansett 546                                715 Oakland Beach Ave                                               Warwick, RI 02889‐9632                                                                             First Class Mail
Chartered Organization         First Congregational Church Of Wayne                             Great Lakes Fsc 272                             2 Towne Square St                                                   Wayne, MI 48184‐1637                                                                               First Class Mail
Voting Party                   First Congregational Church Of Wilmette                          1125 Wilmette Ave                               Wilmette, IL 60091                                                                                                                     sperdew@fccw.org                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Congregational Church Rock Springs                         Trapper Trails 589                              1275 Adams Ave                                                      Rock Springs, WY 82901‐7449                                                                        First Class Mail
Chartered Organization         First Congregational Church Ucc                                  Water and Woods Council 782                     6494 Belsay Rd                                                      Grand Blanc, MI 48439‐9757                                                                         First Class Mail
Chartered Organization         First Congregational Church Ucc                                  Longs Peak Council 062                          2101 16th St                                                        Greeley, CO 80631‐5116                                                                             First Class Mail
Voting Party                   First Congregational Church United Church Of Christ Wy           Attn: Beryl Harm                                100 W Works St                                                      Sheridan, WY 82801                                                 godworks100@gmail.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Congregational Church Womens Guild                         Western Massachusetts Council 234               20 Lathrop St                                                       West Springfield, MA 01089‐2732                                                                    First Class Mail
Chartered Organization         First Congregational Church‐Wayne                                Great Lakes Fsc 272                             2 Towne Square St                                                   Wayne, MI 48184‐1637                                                                               First Class Mail
Chartered Organization         First Congregational Of Mccook                                   Overland Trails 322                             P.O. Box 655                                                        Mccook, NE 69001‐0655                                                                              First Class Mail
Chartered Organization         First Congregational Of Sullivan                                 Buckeye Council 436                             503 US Hwy 224                                                      Sullivan, OH 44880‐9719                                                                            First Class Mail
Chartered Organization         First Congregational U.C.C.                                      Montana Council 315                             310 N 27th St                                                       Billings, MT 59101‐1236                                                                            First Class Mail
Chartered Organization         First Congregational Ucc                                         815 S Concord Rd                                Oconomowoc, WI 53066                                                                                                                                                   First Class Mail
Chartered Organization         First Congregational Ucc                                         Leatherstocking 400                             1 Bridge St                                                         Sidney, NY 13838‐1203                                                                              First Class Mail
Chartered Organization         First Congregational Ucc Church                                  Glaciers Edge Council 620                       741 E High St                                                       Milton, WI 53563‐1547                                                                              First Class Mail
Chartered Organization         First Congregational Ucc Of Eagle River                          Samoset Council, Bsa 627                        105 N First                                                         Eagle River, WI 54521                                                                              First Class Mail
Voting Party                   First Congregational United Church Of Christ                     Attn: Barbara Sue Mcbride                       2503 Main St                                                        La Crosse, WI 54601                                                kristi@firstcongolax.org        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First Congregational United Church Of Christ ‐ Eau Claire        c/o White & Schilling LLP                       Attn: Howard White                                                  P.O. Box 228                      Eau Claire, WI 54701             hwhite@wwsattorneys.com         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         First Congregational Utd Church                                  Longs Peak Council 062                          1500 9th St                                                         Boulder, CO 80302                                                                                  First Class Mail
Chartered Organization         First Corinth Missionary Baptist                                 Atlanta Area Council 092                        2165 Hllwell Pkwy NW                                                Atlanta, GA 30318‐4703                                                                             First Class Mail
Chartered Organization         First Covenant Church                                            Northern Star Council 250                       801 Willmar Ave Sw                                                  Willmar, MN 56201‐3032                                                                             First Class Mail
Chartered Organization         First Cumberland Presbyterian Church                             West Tennessee Area Council 559                 1730 US Hwy 45 Byp                                                  Jackson, TN 38305‐4415                                                                             First Class Mail
Chartered Organization         First Cumberland Presbyterian Church                             Great Smoky Mountain Council 557                6900 Nubbin Ridge Dr                                                Knoxville, TN 37919‐8290                                                                           First Class Mail
Chartered Organization         First Cumberland Presbyterian Church                             West Tennessee Area Council 559                 16835 Highland Dr                                                   Mc Kenzie, TN 38201‐1672                                                                           First Class Mail
Chartered Organization         First Dakota National Bank                                       Sioux Council 733                               P.O. Box 718                                                        Parkston, SD 57366‐0718                                                                            First Class Mail
Voting Party                   First Denver City United Methodist Church                        Attn: Secretary/Treasurer And/Or Pastor         210 W 4th St                                                        Denver City, TX 79323                                                                              First Class Mail
Chartered Organization         First District Police                                            Greater St Louis Area Council 312               3157 Sublette Ave                                                   Saint Louis, MO 63139‐1468                                                                         First Class Mail
Voting Party                   First English Evangelical Lutheran Church, Baltimore, Maryland   Not Provided                                    Baltimore, MD                                                                                                                                                          First Class Mail
Chartered Organization         First English Lutheran Church                                    Capitol Area Council 564                        3001 Whitis Ave                                                     Austin, TX 78705‐2921                                                                              First Class Mail
Chartered Organization         First English Lutheran Church                                    Montana Council 315                             1243 N 31st St                                                      Billings, MT 59101‐0134                                                                            First Class Mail
Chartered Organization         First English Lutheran Church                                    Northern Star Council 250                       204 2nd St Nw                                                       Faribault, MN 55021‐5111                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                 Page 108 of 442
                                                                                     Case 20-10343-LSS                                              Doc 8171                                   Filed 01/06/22                                                   Page 124 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                          Name                                                                                               Address                                                                                                                  Email              Method of Service
Chartered Organization         First English Lutheran Church                                          Blackhawk Area 660                      303 S Galena Ave                                        Freeport, IL 61032‐5126                                                                                    First Class Mail
Chartered Organization         First English Lutheran Church                                          Blackhawk Area 660                      215 W Pine St                                           Platteville, WI 53818‐3115                                                                                 First Class Mail
Chartered Organization         First English Lutheran Church                                          Samoset Council, Bsa 627                440 Garfield St                                         Wisconsin Rapids, WI 54494‐4813                                                                            First Class Mail
Chartered Organization         First Evangelical Church                                               Chickasaw Council 558                   735 Ridge Lake Blvd                                     Memphis, TN 38120‐9402                                                                                     First Class Mail
Chartered Organization         First Evangelical Community Church                                     Greater Los Angeles Area 033            11330 166th St                                          Cerritos, CA 90703‐1601                                                                                    First Class Mail
Chartered Organization         First Evangelical Free Church                                          Illowa Council 133                      3321 7th St                                             Moline, IL 61265‐6109                                                                                      First Class Mail
Chartered Organization         First Evangelical Lutheran Church                                      Great Trail 433                         249 2nd St NW                                           Barberton, OH 44203‐2254                                                                                   First Class Mail
Chartered Organization         First Evangelical Lutheran Church                                      Abraham Lincoln Council 144             301 W 4th St                                            Beardstown, IL 62618‐1110                                                                                  First Class Mail
Chartered Organization         First Evangelical Lutheran Church                                      Chief Seattle Council 609               10207 NE 183rd St                                       Bothell, WA 98011‐3417                                                                                     First Class Mail
Chartered Organization         First Evangelical Lutheran Church                                      Bay Area Council 574                    2415 Winnie St                                          Galveston, TX 77550‐1920                                                                                   First Class Mail
Chartered Organization         First Evangelical Lutheran Church                                      Old N State Council 070                 3600 W Friendly Ave                                     Greensboro, NC 27410‐4812                                                                                  First Class Mail
Chartered Organization         First Evangelical Lutheran Church                                      Gamehaven 299                           309 Forest St                                           Kenyon, MN 55946‐1132                                                                                      First Class Mail
Chartered Organization         First Evangelical Lutheran Church                                      Longs Peak Council 062                  803 3rd Ave                                             Longmont, CO 80501‐5927                                                                                    First Class Mail
Chartered Organization         First Evangelical Lutheran Church                                      Cornhusker Council 324                  315 S 16th St                                           Nebraska City, NE 68410‐2645                                                                               First Class Mail
Chartered Organization         First Evangelical Lutheran Church                                      Baltimore Area Council 220              8397 Piney Orchard Pkwy                                 Odenton, MD 21113‐1539                                                                                     First Class Mail
Chartered Organization         First Evangelical Lutheran Church                                      Tecumseh 439                            287 W Main St                                           Xenia, OH 45385‐2934                                                                                       First Class Mail
Voting Party                   First Evangelical Lutheran Church                                      Attn: Kevin Fritsch                     2221 Indian Summer Dr                                   Odenton, MD 21113                                                   kevin.fritsch@felcodenton.org          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Evangelical Lutheran Church                                      3604 Chatham Rd                         Ellicott City, MD 21042                                                                                                     flcoffice@firstlutheranec.org          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Evangelical Lutheran Church Of Lexington,Inc.                    c/o Leonard and Bell,Attorney           Attn: Franklin A Bell                                   P.O. Box 614                       Lexington, NC 27293                                                     First Class Mail
Voting Party                   First Evangelical Lutheran Church Of Odenton                           Attn: President, Felc                   8397 Piney Orchard Pkwy                                 Odenton, MD 21113                                                   churchoffice@felcodenton.org           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Evangelical Lutheran Church Of Redlands                          1207 W Cypress Ave                      Redlands, CA 92373                                                                                                          office@firstlutheranredlands.org       Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Evangelical Lutheran Church Of Torrance, Ca                      2900 W Carson St                        Torrance, CA 90503                                                                                                          hurstw@flchurch.org                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Evangelical Lutheran Church Worthington, Mn                      1200 4th Ave                            Worthington, MN 56187                                                                                                       felcpastor@frontier.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Faith Missionary Baptist Church                                  Cradle of Liberty Council 525           1705 Highland Ave                                       Chester, PA 19013‐1421                                                                                     First Class Mail
Voting Party                   First Farragut United Methodist Church                                 Attn: Jennifer Braun                    12733 Kingston Pike                                     Knoxville, TN 37934                                                 finance@ffumc.org                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Federated Church                                                 Great Trail 433                         10786 Mahoning Ave                                      North Jackson, OH 44451‐9791                                                                               First Class Mail
Chartered Organization         First Free Will Baptist Church                                         East Carolina Council 426               3150 Wern Blvd                                          Tarboro, NC 27886                                                                                          First Class Mail
Chartered Organization         First Friends Church                                                   Mid Iowa Council 177                    2409 S 6th St                                           Marshalltown, IA 50158‐4406                                                                                First Class Mail
Chartered Organization         First General Baptist Church                                           Buffalo Trace 156                       P.O. Box 347                                            Owensville, IN 47665‐0347                                                                                  First Class Mail
Chartered Organization         First Good Shepherd Lutheran Church                                    Las Vegas Area Council 328              301 S Maryland Pkwy                                     Las Vegas, NV 89101‐5320                                                                                   First Class Mail
Voting Party                   First Hawthorne                                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Hawthrone                                                        22118 SE 17th Ave                       Hawthorne, FL 32640                                                                                                                                                First Class Mail
Chartered Organization         First Health Moore Regional Hospital                                   Occoneechee 421                         P.O. Box 3000                                           Pinehurst, NC 28374‐3000                                                                                   First Class Mail
Voting Party                   First Henderson United Methodist Church (Nv)                           c/o Clarke Law Firm, Plc                Attn: Marilee Miller Clarke                             8141 E Indian Bend Rd, Ste 105     Scottsdale, AZ 85250             marilee@clarkelawaz.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Lake City                                                        973 S Marion Avr                        Lake City, FL 32025                                                                                                                                                First Class Mail
Voting Party                   First Lake City, 973 S Marion Ave, Lake City, Fl 32025                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Lutheran Brotherhood ‐ Brookings                                 Sioux Council 733                       P.O. Box 300                                            Brookings, SD 57006‐0300                                                                                   First Class Mail
Chartered Organization         First Lutheran Church                                                  Central N Carolina Council 416          230 S 2nd St                                            Albemarle, NC 28001‐5702                                                                                   First Class Mail
Chartered Organization         First Lutheran Church                                                  Twin Valley Council Bsa 283             301 W Clark St                                          Albert Lea, MN 56007‐2505                                                                                  First Class Mail
Chartered Organization         First Lutheran Church                                                  Cascade Pacific Council 492             725 33rd St                                             Astoria, OR 97103‐2723                                                                                     First Class Mail
Chartered Organization         First Lutheran Church                                                  Mid‐America Council 326                 2146 Wright St                                          Blair, NE 68008‐1146                                                                                       First Class Mail
Chartered Organization         First Lutheran Church                                                  Central Minnesota 296                   424 S 8th St                                            Brainerd, MN 56401‐3624                                                                                    First Class Mail
Chartered Organization         First Lutheran Church                                                  Capitol Area Council 564                P.O. Box 177                                            Burnet, TX 78611‐0177                                                                                      First Class Mail
Chartered Organization         First Lutheran Church                                                  New Birth of Freedom 544                43 W Washington St                                      Chambersburg, PA 17201‐2462                                                                                First Class Mail
Chartered Organization         First Lutheran Church                                                  Greater Tampa Bay Area 089              1644 Nursery Rd                                         Clearwater, FL 33756‐2437                                                                                  First Class Mail
Chartered Organization         First Lutheran Church                                                  Winnebago Council, Bsa 173              604 W Broadway St                                       Decorah, IA 52101‐1602                                                                                     First Class Mail
Chartered Organization         First Lutheran Church                                                  Lutheran Brotherhood                    324 N 3rd St                                            Dekalb, IL 60115‐3343                                                                                      First Class Mail
Chartered Organization         First Lutheran Church                                                  Northern Lights Council 429             912 Lake Ave                                            Detroit Lakes, MN 56501‐3404                                                                               First Class Mail
Chartered Organization         First Lutheran Church                                                  Alamo Area Council 583                  1406 6th St                                             Floresville, TX 78114‐2366                                                                                 First Class Mail
Chartered Organization         First Lutheran Church                                                  North Florida Council 087               1801 NW 5th Ave                                         Gainesville, FL 32603‐1624                                                                                 First Class Mail
Chartered Organization         First Lutheran Church                                                  Overland Trails 322                     3315 G Ave                                              Kearney, NE 68847‐3653                                                                                     First Class Mail
Chartered Organization         First Lutheran Church                                                  Gamehaven 299                           100 Peace Rdg                                           Lake City, MN 55041‐5500                                                                                   First Class Mail
Chartered Organization         First Lutheran Church                                                  Northern Star Council 250               703 S Sibley Ave                                        Litchfield, MN 55355‐3341                                                                                  First Class Mail
Chartered Organization         First Lutheran Church                                                  East Texas Area Council 585             3901 Bill Owens Pkwy                                    Longview, TX 75605‐2674                                                                                    First Class Mail
Chartered Organization         First Lutheran Church                                                  Overland Trails 322                     305 W 5th St                                            North Platte, NE 69101‐3830                                                                                First Class Mail
Chartered Organization         First Lutheran Church                                                  Pony Express Council 311                302 S 10th St                                           Saint Joseph, MO 64501‐2724                                                                                First Class Mail
Chartered Organization         First Lutheran Church                                                  Twin Valley Council Bsa 283             1114 W Traverse Rd                                      Saint Peter, MN 56082‐1168                                                                                 First Class Mail
Chartered Organization         First Lutheran Church                                                  Mid‐America Council 326                 3939 Cheyenne Blvd                                      Sioux City, IA 51104‐4333                                                                                  First Class Mail
Chartered Organization         First Lutheran Church                                                  Mid‐America Council 326                 3601 Dakota Ave                                         South Sioux City, NE 68776‐3643                                                                            First Class Mail
Chartered Organization         First Lutheran Church                                                  Black Swamp Area Council 449            P.O. Box 434                                            Stryker, OH 43557‐0434                                                                                     First Class Mail
Chartered Organization         First Lutheran Church                                                  Jayhawk Area Council 197                1234 SW Fairlawn Rd                                     Topeka, KS 66604‐2021                                                                                      First Class Mail
Chartered Organization         First Lutheran Church                                                  Greater Los Angeles Area 033            2900 W Carson St                                        Torrance, CA 90503‐6005                                                                                    First Class Mail
Chartered Organization         First Lutheran Church                                                  Montana Council 315                     415 Johnson St                                          Wolf Point, MT 59201‐1815                                                                                  First Class Mail
Voting Party                   First Lutheran Church                                                  Attn: Tor K. Berg                       10207 NE 183rd St                                       Bothell, WA 98011                                                   office@flcbothell.org                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Lutheran Church                                                  Attn: Dan Moore                         501 Pierce St, Ste 300                                  Sioux City, IA 51101                                                dmoore@moorecorbett.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Lutheran Church                                                  303 6th Ave                             Havre, MT 59501                                                                                                             cep@bresnan.net                        Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Lutheran Church                                                  Attn: Ron Mathews/Pastor                4 W Lasalle Ave                                         Barron, WI 54812                                                    ajharrington@barronlawyers.com         Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Lutheran Church ‐ Alexandria                                     Northern Lights Council 429             9th & Douglas                                           Alexandria, MN 56308                                                                                       First Class Mail
Chartered Organization         First Lutheran Church ‐ Barron                                         Chippewa Valley Council 637             4 W La Salle Ave                                        Barron, WI 54812‐1307                                                                                      First Class Mail
Chartered Organization         First Lutheran Church ‐ Bottineau                                      Northern Lights Council 429             701 Main St                                             Bottineau, ND 58318‐1345                                                                                   First Class Mail
Chartered Organization         First Lutheran Church ‐ Minot                                          Northern Lights Council 429             120 5th Ave NW                                          Minot, ND 58703‐2338                                                                                       First Class Mail
Chartered Organization         First Lutheran Church ‐ Watford City                                   Northern Lights Council 429             212 2nd Ave NW                                          Watford City, ND 58854                                                                                     First Class Mail
Chartered Organization         First Lutheran Church Brookings                                        Sioux Council 733                       P.O. Box 300                                            Brookings, SD 57006‐0300                                                                                   First Class Mail
Chartered Organization         First Lutheran Church Hot Springs                                      Quapaw Area Council 018                 105 Village Rd                                          Hot Springs, AR 71913‐6715                                                                                 First Class Mail
Voting Party                   First Lutheran Church Litchfield Mn                                    c/o Dolan & Besser                      Attn: William Dolan                                     409 Sibley Ave N                   Litchfield, MN 55355             willdolan@dolanbesser.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Lutheran Church Litchfield Mn                                    Attn: Pastor Thomas Evenson             703 Sibley Ave S                                        Litchfield, MN 55355                                                firstsr@hutchtel.net                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Lutheran Church Of Albemarle                                     Attn: Karen Grochowsky                  230 S 2nd St                                            Albemarle, NC 28001                                                 firstchurchalbemarle@gmail.com         Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Lutheran Church Of Colton                                        Sioux Council 733                       405 E 3rd St                                            Colton, SD 57018                                                                                           First Class Mail
Chartered Organization         First Lutheran Church Of Gray Manor                                    Baltimore Area Council 220              212 Oakwood Rd                                          Baltimore, MD 21222‐2319                                                                                   First Class Mail
Voting Party                   First Lutheran Church Of Little Falls Minnesota                        2100 Riverview Dr                       Little Falls, MN 56345                                                                                                      firstserv@flclittlefalls.org           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Lutheran Church Of Longview                                      Attn: James Marshall Hernholm           3901 Bill Owens Pkwy                                    Longview, TX 75601                                                  Pastor@firstlutheran.us                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Lutheran Church Of Mitchell, Sd                                  Attn: Rev Dr Lon Kvanli                 441 N Duff St                                           Mitchell, SD 57301                                                  gerry@sgsllc.com                       Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Lutheran Church Of Port Orchard                                  Chief Seattle Council 609               2483 Mitchell Rd SE                                     Port Orchard, WA 98366‐4408                                                                                First Class Mail
Chartered Organization         First Lutheran Church Of Poulsbo                                       Chief Seattle Council 609               P.O. Box 825                                            Poulsbo, WA 98370‐0825                                                                                     First Class Mail
Chartered Organization         First Lutheran Church Of Red Wing                                      Gamehaven 299                           615 W 5th St                                            Red Wing, MN 55066‐2465                                                                                    First Class Mail
Chartered Organization         First Lutheran Church Of Richmond Beach                                Chief Seattle Council 609               18354 8th Ave NW                                        Shoreline, WA 98177‐3546                                                                                   First Class Mail
Chartered Organization         First Lutheran Church Of Shelby                                        Buckeye Council 436                     33 Broadway St                                          Shelby, OH 44875‐1209                                                                                      First Class Mail
Chartered Organization         First Lutheran Church Of Throggs Neck                                  Greater New York Councils, Bsa 640      3075 Baisley Ave                                        Bronx, NY 10461‐6126                                                                                       First Class Mail
Chartered Organization         First Lutheran Church Of Throgsneck                                    Greater New York Councils, Bsa 640      3075 Baisley Ave                                        Bronx, NY 10461‐6126                                                                                       First Class Mail
Chartered Organization         First Lutheran Church Torrance                                         Greater Los Angeles Area 033            2900 W Carson St                                        Torrance, CA 90503‐6005                                                                                    First Class Mail
Chartered Organization         First Lutheran Church Youth Board                                      Glaciers Edge Council 620               612 N Randall Ave                                       Janesville, WI 53545‐1958                                                                                  First Class Mail
Voting Party                   First Lutheran Church, Detroit Lakes, Mn                               912 Lake Ave                            Detroit Lakes, MN 56501                                                                                                     flc@firstlutheranchurch.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Lutheran Church‐Elca                                             Lake Erie Council 440                   1019 W 5th St                                           Lorain, OH 44052‐1409                                                                                      First Class Mail
Chartered Organization         First Lutheran Mens Club                                               Northern Lights Council 429             200 E 5th St                                            Morris, MN 56267‐1206                                                                                      First Class Mail
Chartered Organization         First Methodist Church                                                 Last Frontier Council 480               P.O. Box 490                                            Blanchard, OK 73010‐0490                                                                                   First Class Mail
Chartered Organization         First Methodist Church                                                 Gulf Coast Council 773                  820 Belleville Ave                                      Brewton, AL 36426‐1755                                                                                     First Class Mail
Chartered Organization         First Methodist Church                                                 Circle Ten Council 571                  127 N Roberts Rd                                        Cedar Hill, TX 75104‐7405                                                                                  First Class Mail
Chartered Organization         First Methodist Church                                                 Circle Ten Council 571                  320 N 15th St                                           Corsicana, TX 75110‐4512                                                                                   First Class Mail
Chartered Organization         First Methodist Church                                                 Last Frontier Council 480               P.O. Box 390                                            Edmond, OK 73083‐0390                                                                                      First Class Mail
Chartered Organization         First Methodist Church                                                 Circle Ten Council 571                  801 W Ave B                                             Garland, TX 75040‐6216                                                                                     First Class Mail
Chartered Organization         First Methodist Church                                                 Circle Ten Council 571                  122 N Center St                                         Grand Prairie, TX 75050‐5607                                                                               First Class Mail
Chartered Organization         First Methodist Church                                                 W D Boyce 138                           101 S Broadway St                                       Havana, IL 62644‐1466                                                                                      First Class Mail
Chartered Organization         First Methodist Church                                                 Daniel Boone Council 414                6th Ave At Church St                                    Hendersonville, NC 28739                                                                                   First Class Mail
Chartered Organization         First Methodist Church                                                 Old N State Council 070                 512 N Main St                                           High Point, NC 27260‐5016                                                                                  First Class Mail
Chartered Organization         First Methodist Church                                                 Black Warrior Council 006               1800 3rd Ave S                                          Jasper, AL 35501‐5314                                                                                      First Class Mail
Chartered Organization         First Methodist Church                                                 Sequoyah Council 713                    900 Spring St                                           Johnson City, TN 37604‐6846                                                                                First Class Mail
Chartered Organization         First Methodist Church                                                 Circle Ten Council 571                  208 S Houston St                                        Kaufman, TX 75142‐1922                                                                                     First Class Mail
Chartered Organization         First Methodist Church                                                 Calcasieu Area Council 209              202 N 5th St                                            Leesville, LA 71446‐4028                                                                                   First Class Mail
Chartered Organization         First Methodist Church                                                 Norwela Council 215                     401 Gum St                                              Logansport, LA 71049                                                                                       First Class Mail
Chartered Organization         First Methodist Church                                                 Circle Ten Council 571                  501 S 3rd St                                            Mabank, TX 75147‐2706                                                                                      First Class Mail
Chartered Organization         First Methodist Church                                                 West Tennessee Area Council 559         P.O. Box 25                                             Paris, TN 38242‐0025                                                                                       First Class Mail
Chartered Organization         First Methodist Church                                                 Choctaw Area Council 302                563 E Main St                                           Philadelphia, MS 39350‐2429                                                                                First Class Mail
Chartered Organization         First Methodist Church                                                 Pine Burr Area Council 304              220 3rd St                                              Picayune, MS 39466‐4012                                                                                    First Class Mail
Chartered Organization         First Methodist Church                                                 Circle Ten Council 571                  600 Daubitz Dr                                          Red Oak, TX 75154‐4440                                                                                     First Class Mail
Chartered Organization         First Methodist Church                                                 Norwela Council 215                     P.O. Box 1567                                           Shreveport, LA 71165‐1567                                                                                  First Class Mail
Chartered Organization         First Methodist Church                                                 Mayflower Council 251                   109 Pleasant St                                         Stoughton, MA 02072‐2632                                                                                   First Class Mail
Chartered Organization         First Methodist Church                                                 Flint River Council 095                 132 Cherokee Rd                                         Thomaston, GA 30286‐3401                                                                                   First Class Mail
Chartered Organization         First Methodist Church                                                 South Georgia Council 098               General Delivery                                        Tifton, GA 31794                                                                                           First Class Mail
Chartered Organization         First Methodist Church                                                 East Carolina Council 426               302 W 2nd St                                            Washington, NC 27889                                                                                       First Class Mail
Chartered Organization         First Methodist Church                                                 Arbuckle Area Council 468               223 1st St                                              Wilson, OK 73463                                                                                           First Class Mail
Voting Party                   First Methodist Church                                                 Attn: Terri Pierce, Treasurer           511 S Oak St                                            Springfield, TN 37172                                               terri.pierce@springfieldfumc.org       Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Methodist Church ‐ Clinton                                       Last Frontier Council 480               1001 Frisco Ave                                         Clinton, OK 73601‐3326                                                                                     First Class Mail
Chartered Organization         First Methodist Church ‐ Huntsville                                    Sam Houston Area Council 576            1016 Sam Houston Ave                                    Huntsville, TX 77320‐3925                                                                                  First Class Mail
Chartered Organization         First Methodist Church Belton                                          Longhorn Council 662                    205 E 3rd Ave                                           Belton, TX 76513‐3145                                                                                      First Class Mail
Voting Party                   First Methodist Church Colleyville Texas                               Attn: Robert S Bob Mcgrath              1000 Church St                                          Colleyville, TX 76034                                               mddawson@fumccolleyville.org           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Methodist Church Colleyville Texas                               Attn: Robert S Bob Mcgrath              2510 Radcliffe Dr                                       Arlington, TX 76012                                                 judgemcgrath@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Methodist Church Jacksonville                                    Quapaw Area Council 018                 220 W Main St                                           Jacksonville, AR 72076‐4505                                                                                First Class Mail
Chartered Organization         First Methodist Church Mens Club                                       W D Boyce 138                           1315 Court St                                           Pekin, IL 61554‐5023                                                                                       First Class Mail
Chartered Organization         First Methodist Church North Little Rock                               Quapaw Area Council 018                 6701 John F Kennedy Blvd                                North Little Rock, AR 72116‐5343                                                                           First Class Mail
Chartered Organization         First Methodist Church Of Creston                                      Mid‐America Council 326                 306 S Cherry St                                         Creston, IA 50801‐3217                                                                                     First Class Mail
Voting Party                   First Methodist Church Of Deport                                       Attn: Donald E Smith                    422 County Rd 1624                                      Pattonville, TX 75346                                               Minter2008@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Methodist Church Of Evergreen Park                               Pathway To Adventure 456                9358 S Homan Ave                                        Evergreen Park, IL 60805‐2208                                                                              First Class Mail
Voting Party                   First Methodist Church Of Libertyville                                 Libertville Umc                         429 Brainerd Ave                                        Libertyville, IL 60048                                              jay.carr@umcl.org                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Methodist Church Of Royse City                                   Circle Ten Council 571                  P.O. Box 327                                            Royse City, TX 75189‐0327                                                                                  First Class Mail
Voting Party                   First Methodist Church Of Savannah Tennessee Of The Methodis           c/o Smith & Smith Attorneys At Law      Attn: Martha Smith                                      428 Main St                        Savannah, TN 38372               martha@smithandsmithlegal.com          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Methodist Church Of Savannah Tennessee Of The Methodist Church   Attn: Rev Joe Rutherford                270 Main St                                             Savannah, TN 38372                                                  fumcgann@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Methodist Church Of Van Wert Ohio                                Attn: Tom Burenga & Ned Compton         113 W Central Ave                                       Van Wert, OH 45891                                                  tburenga@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Methodist Church Of Van Wert Ohio                                Attn: Thomas I Burenga III              9769 G Noble Ln                                         Van Wert, OH 45891                                                  tburenga@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Methodist Episcopal Society                                      Attn: Jeff Gardner                      66 Chwstnut St                                          Oneonta, NY 13820                                                   jeff@firstumc‐oneonta.org              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Missionary Baptist Church                                        Greater Alabama Council 001             3509 Blue Spring Rd NW                                  Huntsville, AL 35810‐3458                                                                                  First Class Mail
Chartered Organization         First Missionary Baptist Church                                        Greater Tampa Bay Area 089              200 Ave R NW                                            Winter Haven, FL 33881‐2166                                                                                First Class Mail
Chartered Organization         First Missionary Baptist Church‐Lagrange                               East Carolina Council 426               201 N Caswell St                                        La Grange, NC 28551‐1503                                                                                   First Class Mail
Chartered Organization         First National Bank Of Fayetteville                                    Middle Tennessee Council 560            405 College St W                                        Fayetteville, TN 37334‐2913                                                                                First Class Mail
Chartered Organization         First National Bank Of Pulaski                                         Middle Tennessee Council 560            206 S 1st St                                            Pulaski, TN 38478                                                                                          First Class Mail
Chartered Organization         First Nazareth Baptist Church                                          Indian Waters Council 553               2351 Gervais St                                         Columbia, SC 29204‐1869                                                                                    First Class Mail
Voting Party                   First New Port Richey                                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Oneida United Methodist Church                                   234 N Main St                           Oneida, TN 37841                                                                                                            david@revdavegass.org                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Parish Church                                                    Daniel Webster Council, Bsa 330         218 Central Ave                                         Dover, NH 03820‐4128                                                                                       First Class Mail
Chartered Organization         First Parish Church                                                    Daniel Webster Council, Bsa 330         P.O. Box 114                                            East Derry, NH 03041‐0114                                                                                  First Class Mail
Chartered Organization         First Parish Church                                                    The Spirit of Adventure 227             50 Church St                                            Waltham, MA 02452‐5506                                                                                     First Class Mail
Chartered Organization         First Parish Church                                                    Pine Tree Council 218                   116 Main St                                             Yarmouth, ME 04096‐6712                                                                                    First Class Mail
Voting Party                   First Parish Church Congregational UC Dover NH                         Attn: Council Chair                     218 Central Ave                                         Dover, NH 03820                                                     firstparish@comcast.net                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Parish Church Of Yarmouth                                        Pine Tree Council 218                   116 Main St                                             Yarmouth, ME 04096‐6712                                                                                    First Class Mail
Chartered Organization         First Parish Church Utd                                                The Spirit of Adventure 227             48 Main St                                              Westford, MA 01886‐2506                                                                                    First Class Mail
Voting Party                   First Parish Church York Maine                                         Attn: Jeffrey W Mcconnell               180 York St                                             York, ME 03909                                                      office@firstparishyork.net             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Parish Church‐Congregational                                     Pine Tree Council 218                   40 Main St                                              Freeport, ME 04032‐1211                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 109 of 442
                                                                                 Case 20-10343-LSS                                Doc 8171                                    Filed 01/06/22                                                 Page 125 of 457
                                                                                                                                                                 Exhibit B
                                                                                                                                                                  Service List
                                                                                                                                                           Served as set forth below

        Description                                                       Name                                                                                 Address                                                                                                        Email                       Method of Service
Chartered Organization         First Parish Congregational Church                       Pine Tree Council 218                9 Cleaveland St                                         Brunswick, ME 04011‐2109                                                                                  First Class Mail
Chartered Organization         First Parish Congregational Church                       Pine Tree Council 218                1 Church St                                             Gorham, ME 04038‐1001                                                                                     First Class Mail
Chartered Organization         First Parish Congregational Church                       The Spirit of Adventure 227          1 Church St                                             Wakefield, MA 01880‐2301                                                                                  First Class Mail
Chartered Organization         First Parish Congregational Church                       Pine Tree Council 218                116 Main St                                             Yarmouth, ME 04096‐6712                                                                                   First Class Mail
Chartered Organization         First Pentecostal Church                                 Southeast Louisiana Council 214      384 Robert Blvd                                         Slidell, LA 70458‐1355                                                                                    First Class Mail
Chartered Organization         First Pentecostal Church Of Masardis                     Katahdin Area Council 216            1306 Garfield Rd                                        Masardis, ME 04732‐6039                                                                                   First Class Mail
Chartered Organization         First Prebyterian Church                                 Middle Tennessee Council 560         101 Legends Club Ln                                     Franklin, TN 37069‐2262                                                                                   First Class Mail
Voting Party                   First Prebyterian Church Of The Covenant                 Chris James Weichman                 250 W 7th St                                            Erie, PA 16501                                                    chris.weichman@firstconvenanterie.org   Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         First Pres Of Debary River City Church                   Central Florida Council 083          267 E Highbanks Rd                                      Debary, FL 32713‐2609                                                                                     First Class Mail
Chartered Organization         First Presbyterian                                       Quivira Council, Bsa 198             Church C/0 Clerk of Session                             24th and Washington              Great Bend, KS 67530                                                     First Class Mail
Chartered Organization         First Presbyterian                                       Quivira Council, Bsa 198             15 N Steuben Ave                                        Chanute, KS 66720‐1611                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Georgia‐Carolina 093                 224 Barnwell Ave Nw                                     Aiken, SC 29801‐3904                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church                                Bay Area Council 574                 302 S Johnson St                                        Alvin, TX 77511‐2155                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church                                Blue Ridge Council 551               302 W Whitner St                                        Anderson, SC 29624‐1415                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Bay Area Council 574                 130 S Arcola St                                         Angleton, TX 77515‐4901                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Central Florida Council 083          500 S Highland Ave                                      Apopka, FL 32703‐5342                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Arbuckle Area Council 468            223 W Broadway St                                       Ardmore, OK 73401‐6228                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Arbuckle Area Council 468            P.O. Box 486                                            Ardmore, OK 73402‐0486                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Old N State Council 070              420 W Walker Ave                                        Asheboro, NC 27203‐6722                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Pony Express Council 311             302 N 5th St                                            Atchison, KS 66002‐2425                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Longhouse Council 373                112 South St                                            Auburn, NY 13021‐4838                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Longhouse Council 373                64 Oswego St                                            Baldwinsville, NY 13027‐2426                                                                              First Class Mail
Chartered Organization         First Presbyterian Church                                Green Mountain 592                   39 Summer St                                            Barre, VT 05641‐3746                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church                                Cherokee Area Council 469 469        505 S Dewey Ave                                         Bartlesville, OK 74003‐3513                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                Greater Tampa Bay Area 089           355 S Florida Ave                                       Bartow, FL 33830‐4706                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Louisiana Purchase Council 213       310 S Washington St                                     Bastrop, LA 71220‐4526                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Iroquois Trail Council 376           300 E Main St                                           Batavia, NY 14020‐2314                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Dan Beard Council, Bsa 438           227 North St                                            Batavia, OH 45103                                                                                         First Class Mail
Chartered Organization         First Presbyterian Church                                Southern Shores Fsc 783              111 Capital Ave Ne                                      Battle Creek, MI 49017‐3928                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                Cornhusker Council 324               321 N 5th St                                            Beatrice, NE 68310‐2952                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Laurel Highlands Council 527         252 College Ave                                         Beaver, PA 15009‐2706                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Baltimore Area Council 220           224 N Main St                                           Bel Air, MD 21014‐3500                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Piedmont Council 420                 102 S Central Ave                                       Belmont, NC 28012                                                                                         First Class Mail
Chartered Organization         First Presbyterian Church                                Blackhawk Area 660                   221 N Main St                                           Belvidere, IL 61008‐2847                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Voyageurs Area 286                   501 Minnesota Ave NW                                    Bemidji, MN 56601‐3024                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Crater Lake Council 491              230 NE 9th St                                           Bend, OR 97701‐5137                                                                                       First Class Mail
Chartered Organization         First Presbyterian Church                                Westark Area Council 016             901 NE J St                                             Bentonville, AR 72712‐4933                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                Northern Lights Council 429          3rd & Thayer                                            Bismarck, ND 58501                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church                                Gulf Stream Council 085              600 W Camino Real                                       Boca Raton, FL 33486‐5523                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Ore‐Ida Council 106 ‐ Bsa 106        950 W State St                                          Boise, ID 83702‐5440                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church                                Rainbow Council 702                  180 N Weber Rd                                          Bolingbrook, IL 60440‐1564                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                Circle Ten Council 571               818 N Main St                                           Bonham, TX 75418‐3724                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Patriots Path Council 358            513 Birch St                                            Boonton, NJ 07005‐1701                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Southwest Florida Council 088        1402 Manatee Ave W                                      Bradenton, FL 34205‐6774                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Allegheny Highlands Council 382      54 E Corydon St                                         Bradford, PA 16701‐2050                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Ozark Trails Council 306             420 W Main St                                           Branson, MO 65616‐2726                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Garden State Council 690             119 W Commerce St                                       Bridgeton, NJ 08302‐1803                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Sequoyah Council 713                 700 Florida Ave                                         Bristol, TN 37620                                                                                         First Class Mail
Chartered Organization         First Presbyterian Church                                Five Rivers Council, Inc 375         10 S Main St                                            Canisteo, NY 14823‐1163                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Piedmont Council 420                 107 W Academy St                                        Cherryville, NC 28021‐3201                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                Middle Tennessee Council 560         213 Main St                                             Clarksville, TN 37040‐3237                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                Chickasaw Council 558                1100 W Hwy 8                                            Cleveland, MS 38732‐2261                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Cherokee Area Council 556            433 N Ocoee St                                          Cleveland, TN 37311‐5087                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Five Rivers Council, Inc 375         P.O. Box 305                                            Cohocton, NY 14826‐0305                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Baltimore Area Council 220           9325 Presbyterian Cir                                   Columbia, MD 21045‐1829                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Chattahoochee Council 091            1100 1st Ave                                            Columbus, GA 31901‐2404                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Central N Carolina Council 416       70 Union St N                                           Concord, NC 28025‐4767                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Longhorn Council 662                 704 M L King Jr Dr                                      Copperas Cove, TX 76522‐2535                                                                              First Class Mail
Chartered Organization         First Presbyterian Church                                Yocona Area Council 748              919 E Shiloh Rd                                         Corinth, MS 38834‐2651                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                South Texas Council 577              430 S Carancahua St                                     Corpus Christi, TX 78401‐3436                                                                             First Class Mail
Chartered Organization         First Presbyterian Church                                Patriots Path Council 358            11 Springfield Ave                                      Cranford, NJ 07016‐2116                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Pathway To Adventure 456             3739 Cherry Hill Dr                                     Crown Point, IN 46307‐8937                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                Greater Tampa Bay Area 089           37412 Church Ave                                        Dade City, FL 33525‐4032                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Circle Ten Council 571               1835 Young St                                           Dallas, TX 75201‐5611                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Illowa Council 133                   1702 Iowa St                                            Davenport, IA 52803‐4315                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Central Florida Council 083          724 N Woodland Blvd                                     Deland, FL 32720‐2707                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Simon Kenton Council 441             73 W Winter St                                          Delaware, OH 43015‐1934                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Santa Fe Trail Council 194           803 Central Ave                                         Dodge City, KS 67801‐4904                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Alabama‐Florida Council 003          3012 W Main St                                          Dothan, AL 36305‐1103                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Patriots Path Council 358            218 Dunellen Ave                                        Dunellen, NJ 08812‐1232                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Occoneechee 421                      901 N Park Ave                                          Dunn, NC 28334‐3241                                                                                       First Class Mail
Chartered Organization         First Presbyterian Church                                Great Swest Council 412              1159 E 3rd Ave                                          Durango, CO 81301‐5288                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Chippewa Valley Council 637          2112 Rudolph Rd                                         Eau Claire, WI 54701‐4750                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Last Frontier Council 480            1001 S Rankin St                                        Edmond, OK 73034‐4766                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Yucca Council 573                    1340 Murchison Dr                                       El Paso, TX 79902‐4821                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Lincoln Heritage Council 205         1016 Pear Orchard Rd                                    Elizabethtown, KY 42701‐9476                                                                              First Class Mail
Chartered Organization         First Presbyterian Church                                Mid‐America Council 326              601 Omaha Ave                                           Essex, IA 51638‐8051                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church                                Alabama‐Florida Council 003          201 N Randolph Ave                                      Eufaula, AL 36027‐1632                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Mount Baker Council, Bsa 606         2936 Rockefeller Ave                                    Everett, WA 98201‐4020                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Tecumseh 439                         1130 Highview Dr                                        Fairborn, OH 45324‐5622                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Great Swest Council 412              865 N Dustin Ave                                        Farmington, NM 87401‐6103                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Water and Woods Council 782          503 S Leroy St                                          Fenton, MI 48430‐2152                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Black Swamp Area Council 449         2330 S Main St                                          Findlay, OH 45840‐1146                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Pee Dee Area Council 552             700 Park Ave                                            Florence, SC 29501‐5149                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Bay‐Lakes Council 635                1225 4th St                                             Fond Du Lac, WI 54935‐6727                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                Mid‐America Council 326              1111 5th Ave N                                          Fort Dodge, IA 50501‐3243                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Cherokee Area Council 556            1 Harker Rd                                             Fort Oglethorpe, GA 30742‐3777                                                                            First Class Mail
Chartered Organization         First Presbyterian Church                                Westark Area Council 016             116 N 12th St                                           Fort Smith, AR 72901‐2742                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Orange County Council 039            838 N Euclid St                                         Fullerton, CA 92832‐1010                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Great Rivers Council 653             718 Court St                                            Fulton, MO 65251‐1968                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Northeast Georgia Council 101        800 S Enota Dr Ne                                       Gainesville, GA 30501‐2431                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                Blue Ridge Mtns Council 599          P.O. Box 2                                              Galax, VA 24333‐0002                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church                                Orange County Council 039            11832 Euclid St                                         Garden Grove, CA 92840‐2227                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                Heart of America Council 307         138 E Shawnee St                                        Gardner, KS 66030‐1318                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Piedmont Council 420                 1621 E Garrison Blvd                                    Gastonia, NC 28054‐5130                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Leatherstocking 400                  Marion Ave                                              Gilbertsville, NY 13776                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Greater Wyoming Council 638          511 Carey Ave                                           Gillette, WY 82716‐4332                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Tuscarora Council 424                1101 E Ash St                                           Goldsboro, NC 27530‐5101                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                President Gerald R Ford 781          508 Franklin Ave                                        Grand Haven, MI 49417‐1496                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                Overland Trails 322                  2103 W Anna St                                          Grand Island, NE 68803‐5824                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                Denver Area Council 061              3940 27 1/2 Rd                                          Grand Junction, CO 81506‐4185                                                                             First Class Mail
Chartered Organization         First Presbyterian Church                                Old N State Council 070              617 N Elm St                                            Greensboro, NC 27401‐2019                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Lincoln Heritage Council 205         158 S Main St                                           Greenville, KY 42345‐1592                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Chickasaw Council 558                1 John Calvin Cir                                       Greenville, MS 38701‐6306                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Chickasaw Council 558                1 John Calvin Cir                                       Greenville, MS 38701‐6306                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                East Carolina Council 426            1400 S Elm St                                           Greenville, NC 27858‐3746                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Blue Ridge Council 551               209 W Washington St                                     Greenville, SC 29601                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church                                Chickasaw Council 558                300 Main St                                             Greenwood, MS 38930‐4418                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Blue Ridge Council 551               108 Cambridge Ave E                                     Greenwood, SC 29646‐2222                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Istrouma Area Council 211            111 N Pine St                                           Hammond, LA 70401‐3244                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Colonial Virginia Council 595        514 S Armistead Ave                                     Hampton, VA 23669‐4109                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Great Rivers Council 653             120 N 6th St                                            Hannibal, MO 63401‐3411                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Blue Grass Council 204               P.O. Box 1063                                           Harlan, KY 40831‐1063                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Westark Area Council 016             220 N Arbor Dr                                          Harrison, AR 72601‐4667                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Dan Beard Council, Bsa 438           115 S Vine St                                           Harrison, OH 45030‐1313                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Overland Trails 322                  621 N Lincoln Ave                                       Hastings, NE 68901‐5118                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                The Spirit of Adventure 227          346 Broadway                                            Haverhill, MA 01832‐2922                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Coronado Area Council 192            2900 Hall St                                            Hays, KS 67601‐1875                                                                                       First Class Mail
Chartered Organization         First Presbyterian Church                                Piedmont Council 420                 237 2nd St Nw                                           Hickory, NC 28601‐4932                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Piedmont Council 420                 237 2nd St Nw                                           Hickory, NC 28601‐4932                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Old N State Council 070              918 N Main St                                           High Point, NC 27262‐3924                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Coronado Area Council 192            223 N 4th Ave                                           Hill City, KS 67642‐1818                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Conquistador Council Bsa 413         920 N Turner St                                         Hobbs, NM 88240‐5156                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church                                President Gerald R Ford 781          659 State St                                            Holland, MI 49423‐5158                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Laurel Highlands Council 527         601 Walnut St                                           Hollidaysburg, PA 16648‐2111                                                                              First Class Mail
Chartered Organization         First Presbyterian Church                                Quapaw Area Council 018              213 Whittington Ave                                     Hot Springs, AR 71901‐3409                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                Anthony Wayne Area 157               50 E Tipton St                                          Huntington, IN 46750‐2148                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Buckskin 617                         1015 5th Ave                                            Huntington, WV 25701‐2202                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Lake Erie Council 440                225 Williams St                                         Huron, OH 44839‐1637                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church                                Quivira Council, Bsa 198             201 E Sherman St                                        Hutchinson, KS 67501‐7161                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Leatherstocking 400                  90 Morgan St                                            Ilion, NY 13357‐2260                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church                                Winnebago Council, Bsa 173           115 6th Ave Nw                                          Independence, IA 50644‐1701                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                Heart of America Council 307         100 N Pleasant St                                       Independence, MO 64050‐2654                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                Southern Shores Fsc 783              743 W Michigan Ave                                      Jackson, MI 49201‐1908                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                East Carolina Council 426            400 N Bayshore Blvd                                     Jacksonville, NC 28540‐5448                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                Greater New York Councils, Bsa 640   8960 164th St                                           Jamaica, NY 11432‐5142                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Great Rivers Council 653             324 Madison St                                          Jefferson City, MO 65101‐3109                                                                             First Class Mail
Chartered Organization         First Presbyterian Church                                Southern Shores Fsc 783              300 E Chicago St                                        Jonesville, MI 49250‐1187                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Ozark Trails Council 306             509 Pearl                                               Joplin, MO 64801                                                                                          First Class Mail
Chartered Organization         First Presbyterian Church                                Coronado Area Council 192            P.O. Box 148                                            Junction City, KS 66441‐0154                                                                              First Class Mail
Chartered Organization         First Presbyterian Church                                Southern Shores Fsc 783              321 W South St                                          Kalamazoo, MI 49007‐4708                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Central N Carolina Council 416       200 Vance Ave                                           Kannapolis, NC 28081                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church                                Blue Mountain Council 604            2001 W Kennewick Ave                                    Kennewick, WA 99336‐3204                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Central Florida Council 083          15 Church St                                            Kissimmee, FL 34741‐5126                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Chattahoochee Council 091            120 Broad St                                            Lagrange, GA 30240‐2704                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                North Florida Council 087            P.O. Box 469                                            Lake City, FL 32056‐0469                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Santa Fe Trail Council 194           202 N Wern St                                           Lakin, KS 67860                                                                                           First Class Mail
Chartered Organization         First Presbyterian Church                                Simon Kenton Council 441             222 N Broad St                                          Lancaster, OH 43130‐3001                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Palmetto Council 549                 700 N Main St                                           Lancaster, SC 29720‐2140                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Blue Ridge Council 551               402 W Main St                                           Laurens, SC 29360                                                                                         First Class Mail
Chartered Organization         First Presbyterian Church                                Heart of America Council 307         2415 Clinton Pkwy                                       Lawrence, KS 66047‐3723                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Illowa Council 133                   200 S 12th St                                           Le Claire, IA 52753‐9553                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Theodore Roosevelt Council 386       474 Wantagh Ave                                         Levittown, NY 11756‐5321                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                W D Boyce 138                        101 N Main St                                           Lewistown, IL 61542‐1408                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Montana Council 315                  215 5th Ave S                                           Lewistown, MT 59457‐2913                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Longhorn Council 662                 1002 Fox Ave                                            Lewisville, TX 75067‐5128                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Old N State Council 070              P.O. Box 586                                            Lexington, NC 27293‐0586                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Northeast Illinois 129               219 W Maple Ave                                         Libertyville, IL 60048‐2137                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                Longhouse Council 373                603 Tulip St                                            Liverpool, NY 13088‐5044                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Cape Fear Council 425                P.O. Box 1061                                           Lumberton, NC 28359‐1061                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Blue Ridge Mtns Council 599          1215 V E S Rd                                           Lynchburg, VA 24503‐2046                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Westchester Putnam 388               411 Route 6N                                            Mahopac, NY 10541‐4755                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Coronado Area Council 192            801 Leavenworth St                                      Manhattan, KS 66502‐5942                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Baden‐Powell Council 368             East Main St                                            Marathon, NY 13803                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church                                Atlanta Area Council 092             189 Church St NE                                        Marietta, GA 30060‐1629                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Simon Kenton Council 441             210 W 5th St                                            Marysville, OH 43040‐1112                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Quivira Council, Bsa 198             1400 N Main St                                          Mcpherson, KS 67460‐1902                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                French Creek Council 532             890 Liberty St                                          Meadville, PA 16335‐2608                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                W D Boyce 138                        1003 5th St                                             Mendota, IL 61342‐1911                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Grand Canyon Council 010             161 N Mesa Dr                                           Mesa, AZ 85201‐6756                                                                                       First Class Mail
Chartered Organization         First Presbyterian Church                                Circle Ten Council 571               1028 S Belt Line Rd                                     Mesquite, TX 75149‐5066                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Hudson Valley Council 374            P.O. Box 128                                            Milford, PA 18337‐0128                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Theodore Roosevelt Council 386       182 1st St                                              Mineola, NY 11501‐4024                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Central N Carolina Council 416       302 E Windsor St                                        Monroe, NC 28112‐4842                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Sagamore Council 162                 104 N Illinois St                                       Monticello, IN 47960‐2058                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Black Swamp Area Council 449         114 W Washington St                                     Montpelier, OH 43543‐1356                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Baden‐Powell Council 368             367 Church St                                           Montrose, PA 18801‐1274                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Piedmont Council 420                 249 W Mclelland Ave                                     Mooresville, NC 28115‐3132                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                Rainbow Council 702                  200 E Jackson St                                        Morris, IL 60450‐1804                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Great Smoky Mountain Council 557     600 W Main St                                           Morristown, TN 37814‐4509                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                Inland Nwest Council 611             405 S Van Buren St                                      Moscow, ID 83843‐2940                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Garden State Council 690             125 Garden St                                           Mount Holly, NJ 08060‐1841                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                Mississippi Valley Council 141 141   902 S Walnut St                                         Mount Pleasant, IA 52641‐2433                                                                             First Class Mail
Chartered Organization         First Presbyterian Church                                Blue Grass Council 204               125 W Main St                                           Mount Sterling, KY 40353‐1350                                                                             First Class Mail
Chartered Organization         First Presbyterian Church                                Muskingum Valley Council, Bsa 467    106 N Gay St                                            Mount Vernon, OH 43050‐2504                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                Ohio River Valley Council 619        Union St                                                Mt Pleasant, OH 43939                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                Illowa Council 133                   401 Iowa Ave                                            Muscatine, IA 52761‐3819                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                Black Swamp Area Council 449         303 W Washington St                                     Napoleon, OH 43545‐1743                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                Andrew Jackson Council 303           400 State St                                            Natchez, MS 39120‐3475                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                Moraine Trails Council 500           125 N Jefferson St                                      New Castle, PA 16101‐3904                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                  Page 110 of 442
                                                                                    Case 20-10343-LSS                                                 Doc 8171                                   Filed 01/06/22                                                     Page 126 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                          Name                                                                                                 Address                                                                                                                Email              Method of Service
Chartered Organization         First Presbyterian Church                                       Ohio River Valley Council 619                    200 S Court St                                          New Cumberland, WV 26047                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Ohio River Valley Council 619                    59 E Benjamin Dr                                        New Martinsville, WV 26155‐2705                                                                          First Class Mail
Chartered Organization         First Presbyterian Church                                       Central Florida Council 083                      509 Magnolia St                                         New Smyrna Beach, FL 32168‐7340                                                                          First Class Mail
Chartered Organization         First Presbyterian Church                                       Del Mar Va 081                                   292 W Main St                                           Newark, DE 19711‐3235                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       W.L.A.C.C. 051                                   24317 Newhall Ave                                       Newhall, CA 91321‐2721                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                       Piedmont Council 420                             701 N Main Ave                                          Newton, NC 28658‐3145                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Tidewater Council 596                            820 Colonial Ave                                        Norfolk, VA 23507‐1810                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                       Last Frontier Council 480                        555 S University Blvd                                   Norman, OK 73069‐5747                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Gulf Stream Council 085                          717 Prosperity Farms Rd                                 North Palm Beach, FL 33408‐4198                                                                          First Class Mail
Chartered Organization         First Presbyterian Church                                       Overland Trails 322                              1901 W Leota St                                         North Platte, NE 69101‐6441                                                                              First Class Mail
Chartered Organization         First Presbyterian Church                                       Blue Mountain Council 604, 6th & Wash            La Grande, OR 97850                                                                                                                                              First Class Mail
Chartered Organization         First Presbyterian Church                                       Montana Council 315, 11th Ave & Ewing            Helena, MT 59601                                                                                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       P.O. Box 726                                     Henderson, NC 27556                                                                                                                                              First Class Mail
Chartered Organization         First Presbyterian Church                                       North Florida Council 087                        511 SE 3rd St                                           Ocala, FL 34471‐2211                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                       San Diego Imperial Council 049                   2001 S El Camino Real                                   Oceanside, CA 92054‐6230                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       French Creek Council 532                         215 E Bissell Ave                                       Oil City, PA 16301‐2001                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       Last Frontier Council 480                        1001 NW 25th St                                         Oklahoma City, OK 73106‐5678                                                                             First Class Mail
Chartered Organization         First Presbyterian Church                                       Buffalo Trace 156                                P.O. Box 824                                            Olney, IL 62450‐0824                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                       Mid‐America Council 326                          216 S 34th St                                           Omaha, NE 68131‐3404                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                       Leatherstocking 400                              304 Broad St                                            Oneida, NY 13421‐2104                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Blackhawk Area 660                               903 S 8th St                                            Oregon, IL 61061‐2122                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Central Florida Council 083                      106 E Church St                                         Orlando, FL 32801‐3341                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                       Heart of America Council 307                     344 Main St                                             Osawatomie, KS 66064‐1329                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                       Mid Iowa Council 177                             228 W 4th St                                            Ottumwa, IA 52501‐2512                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                       c/o Tom Hoskins                                  2745 Whistler Ln SE                                     Owens Cross Rds, AL 35763‐9386                                                                           First Class Mail
Chartered Organization         First Presbyterian Church                                       Lincoln Heritage Council 205                     1328 Griffith Ave                                       Owensboro, KY 42301‐2817                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Yocona Area Council 748                          924 Van Buren Ave                                       Oxford, MS 38655‐3960                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Ventura County Council 057                       850 Ivywood Dr                                          Oxnard, CA 93030‐3401                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Circle Ten Council 571                           P.O. Box 646                                            Paris, TX 75461‐0646                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                       Buckskin 617                                     1341 Juliana St                                         Parkersburg, WV 26101‐3901                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                       Simon Kenton Council 441                         405 S Main St                                           Pataskala, OH 43062‐8399                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Southern Shores Fsc 783                          120 Pine St                                             Paw Paw, MI 49079‐1351                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                       Blue Grass Council 204                           508 Cedar Creek Rd                                      Pikeville, KY 41501‐1419                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Seneca Waterways 397                             21 Church St                                            Pittsford, NY 14534‐2005                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Seneca Waterways 397                             25 Church St                                            Pittsford, NY 14534‐2005                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Lasalle Council 165                              P.O. Box 433                                            Plymouth, IN 46563‐0433                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       Suffolk County Council Inc 404                   P.O. Box 397                                            Port Jefferson, NY 11777‐0397                                                                            First Class Mail
Chartered Organization         First Presbyterian Church                                       Gulf Stream Council 085                          2240 SE Walton Rd                                       Port Saint Lucie, FL 34952‐7834                                                                          First Class Mail
Chartered Organization         First Presbyterian Church                                       Gulf Stream Council 085                          2240 SE Walton Rd                                       Port St Lucie, FL 34952‐7834                                                                             First Class Mail
Chartered Organization         First Presbyterian Church                                       Cradle of Liberty Council 525                    750 N Evans St                                          Pottstown, PA 19464‐4616                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Rocky Mountain Council 063                       220 W 10th St                                           Pueblo, CO 81003‐2906                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Blue Ridge Mtns Council 599                      408 Jefferson Ave N                                     Pulaski, VA 24301‐4616                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                       Suwannee River Area Council 664                  306 N Madison St                                        Quincy, FL 32351‐1823                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Patriots Path Council 358                        1731 Church St                                          Rahway, NJ 07065‐3501                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Golden Empire Council 047                        2315 Plr St                                             Redding, CA 96001                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church                                       Glaciers Edge Council 620                        148 N Park St                                           Reedsburg, WI 53959‐1668                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Southern Shores Fsc 783                          8047 Church St                                          Richland, MI 49083‐9629                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       Northern New Jersey Council, Bsa 333             722 E Ridgewood Ave                                     Ridgewood, NJ 07450‐3907                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Blue Ridge Mtns Council 599                      2101 Jefferson St SW                                    Roanoke, VA 24014‐2401                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                       Palmetto Council 549                             234 E Main St                                           Rock Hill, SC 29730‐4542                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Patriots Path Council 358                        35 Church St                                            Rockaway, NJ 07866‐3059                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       Central N Carolina Council 416                   904 Fayetteville Rd                                     Rockingham, NC 28379‐3706                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                       South Texas Council 577                          301 Hwy 35 N                                            Rockport, TX 78382‐2734                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       East Carolina Council 426                        153 N Church St                                         Rocky Mount, NC 27804‐5402                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                       Westark Area Council 016                         1901 S 26th St                                          Rogers, AR 72758‐6126                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Ozark Trails Council 306                         919 E 10th St                                           Rolla, MO 65401‐3501                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                       Mississippi Valley Council 141 141               301 W Washington St                                     Rushville, IL 62681‐1353                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Ohio River Valley Council 619                    110 S Marietta St                                       Saint Clairsville, OH 43950‐1159                                                                         First Class Mail
Chartered Organization         First Presbyterian Church                                       Twin Valley Council Bsa 283                      706 3rd Ave S                                           Saint James, MN 56081‐1745                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                       Coronado Area Council 192                        308 S 8th St                                            Salina, KS 67401‐3916                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Great Salt Lake Council 590                      12 C St                                                 Salt Lake City, UT 84103‐2329                                                                            First Class Mail
Chartered Organization         First Presbyterian Church                                       San Diego Imperial Council 049                   320 Date St                                             San Diego, CA 92101‐2610                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Twin Rivers Council 364                          57 Church St                                            Saranac Lake, NY 12983‐1816                                                                              First Class Mail
Chartered Organization         First Presbyterian Church                                       Seneca Waterways 397                             25 Cayuga St                                            Seneca Falls, NY 13148                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                       Lincoln Heritage Council 205                     629 Main St                                             Shelbyville, KY 40065‐1108                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                       Blue Ridge Council 551                           510 E Curtis St                                         Simpsonville, SC 29681‐2666                                                                              First Class Mail
Chartered Organization         First Presbyterian Church                                       Tuscarora Council 424                            South 3rd St                                            Smithfield, NC 27577                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                       Suffolk County Council Inc 404                   175 E Main St                                           Smithtown, NY 11787‐2808                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Blue Ridge Mtns Council 599                      800 N Main St                                           South Boston, VA 24592‐3341                                                                              First Class Mail
Chartered Organization         First Presbyterian Church                                       Palmetto Council 549                             393 E Main St                                           Spartanburg, SC 29302‐1917                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                       Occoneechee 421                                  101 Spring Ave                                          Spring Lake, NC 28390‐3342                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                       Montana Council 315                              209 2nd St S                                            Stanford, MT 59479‐9456                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       Piedmont Council 420                             125 N Meeting St                                        Statesville, NC 28677‐5277                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                       Blackhawk Area 660                               P.O. Box 441                                            Sterling, IL 61081‐0441                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       Cimarron Council 474                             524 S Duncan St                                         Stillwater, OK 74074‐4045                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                       Patriots Path Council 358                        158 Central Ave                                         Stirling, NJ 07980‐1258                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       Pee Dee Area Council 552                         9 W Calhoun St                                          Sumter, SC 29150‐4216                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Susquehanna Council 533                          P.O. Box 751                                            Sunbury, PA 17801‐0751                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                       Great Smoky Mountain Council 557                 601 Church St                                           Sweetwater, TN 37874‐2906                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                       Abraham Lincoln Council 144                      116 E Franklin St                                       Taylorville, IL 62568‐2215                                                                               First Class Mail
Chartered Organization         First Presbyterian Church                                       Caddo Area Council 584                           516 Pecan St                                            Texarkana, AR 71854‐5336                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Flint River Council 095                          403 Birdsong St                                         Thomaston, GA 30286‐4027                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Black Swamp Area Council 449                     96 S Monroe St                                          Tiffin, OH 44883‐2837                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       French Creek Council 532                         216 N Franklin St                                       Titusville, PA 16354‐1702                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                       Yocona Area Council 748                          P.O. Box 1725                                           Tupelo, MS 38802‐1725                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Black Warrior Council 006                        900 Greensboro Ave                                      Tuscaloosa, AL 35401‐2310                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                       California Inland Empire Council 045             869 N Euclid Ave                                        Upland, CA 91786‐3973                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Tecumseh 439                                     116 W Court St                                          Urbana, OH 43078‐1616                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Twin Rivers Council 364                          3212 Church St                                          Valatie, NY 12184‐2303                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                       Lasalle Council 165                              3401 Valparaiso St                                      Valparaiso, IN 46383‐2453                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                       Black Swamp Area Council 449                     110 W Crawford St                                       Van Wert, OH 45891‐1902                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       Great Rivers Council 653                         214 N Jefferson St                                      Vandalia, MO 63382‐1411                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       Andrew Jackson Council 303                       1501 Cherry St                                          Vicksburg, MS 39180‐3543                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Central N Carolina Council 416                   208 S Green St                                          Wadesboro, NC 28170‐2646                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Hudson Valley Council 374                        2568 South Ave                                          Wappingers Falls, NY 12590‐3193                                                                          First Class Mail
Chartered Organization         First Presbyterian Church                                       Chief Cornplanter Council, Bsa 538               300 Market St                                           Warren, PA 16365‐2360                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Simon Kenton Council 441                         214 N Hinde St                                          Washington Court House, OH 43160‐1310                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Hudson Valley Council 374                        30 Goshen Ave                                           Washingtonville, NY 10992‐1115                                                                           First Class Mail
Chartered Organization         First Presbyterian Church                                       Seneca Waterways 397                             42 E Main St                                            Waterloo, NY 13165‐1431                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       Potawatomi Area Council 651                      810 N East Ave                                          Waukesha, WI 53186‐4808                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       Mid‐America Council 326                          216 W 3rd St                                            Wayne, NE 68787‐1803                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                       Ozark Trails Council 306                         P.O. Box 13                                             Webb City, MO 64870‐0013                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Ozark Trails Council 306                         511 W Broadway St                                       Webb City, MO 64870‐1811                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Rio Grande Council 775                           709 S Iowa Ave                                          Weslaco, TX 78596‐7035                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                       Tukabatchee Area Council 005                     100 W Bridge St                                         Wetumpka, AL 36092‐2603                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       Three Fires Council 127                          715 N Carlton Ave                                       Wheaton, IL 60187‐4020                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church                                       Northern Star Council 250                        4821 Bloom Ave                                          White Bear Lake, MN 55110‐2703                                                                           First Class Mail
Chartered Organization         First Presbyterian Church                                       Cape Fear Council 425                            511 N Thompson St                                       Whiteville, NC 28472‐3423                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                       California Inland Empire Council 045             33122 Grape St                                          Wildomar, CA 92595‐8377                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church                                       Hawkeye Area Council 172                         P.O. Box 24                                             Williamsburg, IA 52361‐0024                                                                              First Class Mail
Chartered Organization         First Presbyterian Church                                       Cape Fear Council 425                            125 S 3rd St                                            Wilmington, NC 28401‐4554                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                       East Carolina Council 426                        414 Sunset Rd NW                                        Wilson, NC 27893‐2956                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church                                       Shenandoah Area Council 598                      116 Loudoun St Mall                                     Winchester, VA 22601                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church                                       Shenandoah Area Council 598                      116 S Loudoun St                                        Winchester, VA 22601‐4722                                                                                First Class Mail
Chartered Organization         First Presbyterian Church                                       Blackhawk Area 660                               208 E Winnebago St                                      Winnebago, IL 61088‐9682                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church                                       Greater Tampa Bay Area 089                       5510 19th St                                            Zephyrhills, FL 33542‐4599                                                                               First Class Mail
Voting Party                   First Presbyterian Church                                       Attn: Steve Pitzner, Esq                         10701 Gleneagles Ln                                     Rowlett, TX 75089                                                     srpitzner@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church                                       2910 Central Ave                                 Middletown, OH 45044                                                                                                          sandy@fpcmiddletown.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church                                       508 W Davis St                                   Burlington, NC 27215                                                                                                          rshive@fpcburlington.org           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church                                       Attn: Rev Erin Hayes‐Cook                        1731 Church St                                          Rahway, NJ 07065                                                      revehayes@gmail.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church                                       Attn: Anne Bouquin                               54 E Corydon St                                         Bradford, PA 16701                                                    presbybradford@gmail.com           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church                                       Ronald Wilbur Weidler                            260 Main St E                                           Girard, PA 16417                                                      office@girardpc.org                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church                                       Attn: Jon Richey                                 200 Church St                                           Neenah, WI 54957                                                      jarichey66@gmail.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church                                       Attn: Ellen O'Connell Esq                        600 Parsipanny Rd, Ste 204                              Parsipanny, NJ 07054                                                  eoconnell@iwwt.law                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church                                       Attn: Rev Jonathan Mitchell                      201 SW Dorion Ave                                       Pendleton, OR 97801                                                                                      First Class Mail
Voting Party                   First Presbyterian Church                                       1002 Fox Ave                                     Lewisville, TX 75067                                                                                                                                             First Class Mail
Voting Party                   First Presbyterian Church ‐ Asheville                           Attn: Robyn F Mcneal                             40 Church St                                            Asheville, NC 28801                                                   rmcneal@fpcasheville.org           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church ‐ Asheville                           Attn: John C Cloninger Esquire                   366 Merrimon Ave                                        Asheville, NC 28801                                                   jcloninger@hc‐firm.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church ‐ Boulder                             Longs Peak Council 062                           1820 15th St                                            Boulder, CO 80302‐5412                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church ‐ Bryan                               Sam Houston Area Council 576                     1100 Carter Creek Pkwy                                  Bryan, TX 77802‐1129                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church ‐ Cheyenne                            Longs Peak Council 062                           220 W 22nd St                                           Cheyenne, WY 82001‐3614                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church ‐ Fort Collins                        Longs Peak Council 062                           531 S College Ave                                       Fort Collins, CO 80524‐3001                                                                              First Class Mail
Chartered Organization         First Presbyterian Church ‐ Houston                             Sam Houston Area Council 576                     5300 Main St                                            Houston, TX 77004‐6811                                                                                   First Class Mail
Voting Party                   First Presbyterian Church ‐ Lincoln                             Attn: Cheryl Rennick                             840 S 17th St                                           Lincoln, NE 68508                                                     finance@foclincoln.org             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church ‐ Paris                               West Tennessee Area Council 559                  P.O. Box 107                                            Paris, TN 38242‐0107                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church ‐ Salem                               Buckeye Council 436                              436 E 2nd St                                            Salem, OH 44460‐2816                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church ‐ Vernon                              Northwest Texas Council 587                      2001 Yucca Ln                                           Vernon, TX 76384‐4970                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church ‐ Wooster                             Buckeye Council 436                              621 College Ave                                         Wooster, OH 44691‐2913                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church &                                     First Methodist Church Mens Club                 P.O. Box 1508                                           Bay Minette, AL 36507‐1508                                                                               First Class Mail
Chartered Organization         First Presbyterian Church & Moose Lodge                         Allegheny Highlands Council 382                  49 S Portage St                                         Westfield, NY 14787‐1454                                                                                 First Class Mail
Voting Party                   First Presbyterian Church 602 White Hills, Rockwall, Tx 75087   c/o Steve Pitzner Pc                             Attn: Steve Pitzner                                     10701 Gleneagles Ln                     Rowlett, TX 75089             srpitzner@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church And Society Of Hays City Kansas       Attn: Celeste Lasich                             2900 Hall St                                            Hays, KS 67601                                                        presbychsec@gmail.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church Anderson Sc                           Attn: Emily Ann Marr                             302 W Whitner St                                        Anderson, SC 29624                                                    emilym@fpcandersonsc.com           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church At Caldwell                           Elizabeth L Resch                                326 Bloomfield Ave                                      Caldwell, NJ 07006                                                    reschel@verizon.net                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church At Caldwell                           Attn: Ellen O'Connell Esq                        600 Parsippany Rd, Ste 204                              Parsippany, NJ 07054                                                  reschel@verizon.net                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church At Dayton                             Wendi L. Werner                                  P.O. Box 436                                            Dayton, NJ 08810                                                      wendi.daytonpres@gmail.com         Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church At Dayton                             First Presbyterian Church At Dayton, Moderator   P.O. Box 435                                            Dayton, NJ 08810                                                      daytonpres362@gmail.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church At Red Bank                           Attn: Clerk                                      255 Harding Rd                                          Red Bank, NJ 07701                                                    tsimbinoss@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church At Red Bank                           First Presbyterian Church At Red Bank ‐ Clerk    255 Harding Rd                                          Red Bank, NJ 07701                                                    clerk@towerhillchurch.org          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church Belmar                                Monmouth Council, Bsa 347                        600 9th Ave                                             Belmar, NJ 07719‐2336                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church Belmar                                Monmouth Council, Bsa 347                        121 Van Cortlandt Dr                                    Brick, NJ 08723‐7935                                                                                     First Class Mail
Voting Party                   First Presbyterian Church Bridgeton                             Attn: Susan E Iacovone                           119 W Commerce St                                       Bridgeton, NJ 08302                                                   debbibg2@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church Butte                                 Montana Council 315                              900 W Platinum St                                       Butte, MT 59701                                                                                          First Class Mail
Chartered Organization         First Presbyterian Church Butte                                 Montana Council 315                              901 W Platinum St                                       Butte, MT 59701‐2219                                                                                     First Class Mail
Voting Party                   First Presbyterian Church Danville, Va, Inc                     Attn: Jack Hayes                                 937 Main St                                             Danville, VA 24541                                                    vickie@fpcdanville.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church Greenville Nc                         Attn: Charles Derek Perry                        1400 S Elm St                                           Greenville, NC 27858                                                  derekperry@allstate.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church Gt                                    Montana Council 315                              215 5th Ave S                                           Lewistown, MT 59457‐2913                                                                                 First Class Mail
Voting Party                   First Presbyterian Church Hamilton Square                       Attn: Barbara Guynn                              3550 Nottingham Way                                     Hamilton Square, NJ 08690                                             bgandwg@aol.com                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church In Hammond                            c/o Seale & Ross Plc                             Attn: Thomas Jay Seale, III                             200 N Cate St                           Hammond, LA 70401             tjseale@sealeross.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church In Hammond                            Attn: Rev Barry Chance                           111 N Pine St                                           Hammond, LA 70401                                                     pastor@fpchammond.org              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church In Springfield                        Cradle of Liberty Council 525                    1710 Bethlehem Pike                                     Flourtown, PA 19031‐1626                                                                                 First Class Mail
Voting Party                   First Presbyterian Church Irvington                             777 Grove St                                     Irvington, NJ 07111                                                                                                           deniseedkennedy@gmail.com          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church Irvington                             777 Grove St                                     Irvington, NJ 07111                                                                                                                                              First Class Mail
Chartered Organization         First Presbyterian Church Lewistown                             Montana Council 315                              215 5th Ave S                                           Lewistown, MT 59457‐2913                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 111 of 442
                                                                                     Case 20-10343-LSS                                                  Doc 8171                                      Filed 01/06/22                                              Page 127 of 457
                                                                                                                                                                                         Exhibit B
                                                                                                                                                                                          Service List
                                                                                                                                                                                   Served as set forth below

        Description                                                           Name                                                                                                     Address                                                                                                        Email                  Method of Service
Chartered Organization         First Presbyterian Church Marlboro                           Rip Van Winkle Council 405                            98 West St                                                 Marlboro, NY 12542‐6157                                                                              First Class Mail
Chartered Organization         First Presbyterian Church Mayfield                           Lincoln Heritage Council 205                          P.O. Box 435                                               Mayfield, KY 42066‐0030                                                                              First Class Mail
Chartered Organization         First Presbyterian Church Mcalester                          Indian Nations Council 488                            P.O. Box 1550                                              Mcalester, OK 74502‐1550                                                                             First Class Mail
Chartered Organization         First Presbyterian Church Mens Club                          Leatherstocking 400                                   304 Broad St                                               Oneida, NY 13421‐2104                                                                                First Class Mail
Voting Party                   First Presbyterian Church Metuchen Nj                        Attn: Ms Susan Harmon                                 270 Woodbridge Ave                                         P.O. Box 385                  Metuchen, NJ 08840               sharmon@fpcweb.org                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Metuchen Nj                        Attn: Ms. Susan Harmon                                270 Woodbridge Ave                                         P.O. Box 385                  Metuchen, NJ 08840               sharmon@fpcweb.org                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Metuchen Nj                        Attn: Paul Gunsser                                    6 Sandia Ct                                                Edison, NJ 08820                                               pdg213@yahoo.com                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Moses Lake                         Grand Columbia Council 614                            1142 W Ivy Ave                                             Moses Lake, WA 98837‐2051                                                                            First Class Mail
Voting Party                   First Presbyterian Church Norfolk, Madison County, Ne        104 S 10th St                                         Norfolk, NE 68701                                                                                                         firstpresb@conpoint.com               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Oak Ridge                          Great Smoky Mountain Council 557                      P.O. Box 6106                                              Oak Ridge, TN 37831‐3961                                                                             First Class Mail
Chartered Organization         First Presbyterian Church Of Adrian                          Southern Shores Fsc 783                               156 E Maumee St                                            Adrian, MI 49221‐2704                                                                                First Class Mail
Chartered Organization         First Presbyterian Church Of Alameda                         Alameda Council Bsa 022                               2001 Santa Clara Ave                                       Alameda, CA 94501‐2720                                                                               First Class Mail
Voting Party                   First Presbyterian Church Of Alameda                         Jackie M. Barker                                      2001 Santa Clara Ave                                       Alameda, CA 94501                                              office@alamedachurch.com              Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Alameda                         2001 Santa Clara Ave                                  Alameda, CA 94501                                                                                                         office@alamedachurch.com              Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Alameda                         Attn: Elizabeth Berke‐Dreyfuss, Wendel Rosen LLP      1111 Broadway, 24th Fl                                     Oakland, CA 94607                                              edreyfuss@wendel.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Alameda                         c/o Wendel Rosen LLP                                  Attn: Elizabeth Berke‐Dreyfuss                             1111 Broadway 24th Fl         Oakland, CA 94607                edreyfuss@wendel.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Allen, Texas                    Attn: Kelly Chadwick                                  605 S Greenville Ave                                       Allen, TX 75002                                                office@fpcallen.org                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Allen, Texas                    Attn: Kelly Yeager Chadwick                           605 S Greenville Ave                                       Allen, TX 75002                                                office@fpcallen.org                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Allentown                       Minsi Trails Council 502                              3231 W Tilghman St                                         Allentown, PA 18104‐3412                                                                             First Class Mail
Voting Party                   First Presbyterian Church Of Allentown                       Attn: Jan Nolting Carter                              3231 W Tilgham St                                          Allentown, PA 18104                                            roger.yott.1@gmail.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Allentown                       Attn: Roger Yott                                      Jan Nolting Carter                                         3231 W Tilghman St            Allentown, PA 18104              jan.noltingcarter@jpcallentown.org    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Alton, Illinois                 Attn: James Sinclair                                  500 Bond St                                                Alton, IL 62002                                                jsinclair@sslalaw.com                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Anaconda                        Montana Council 315, 4th & Main                       Anaconda, MT 59711                                                                                                                                              First Class Mail
Chartered Organization         First Presbyterian Church Of Ann Arbor                       Southern Shores Fsc 783                               1432 Washtenaw Ave                                         Ann Arbor, MI 48104‐3121                                                                             First Class Mail
Chartered Organization         First Presbyterian Church Of Arkadelphia                     Quapaw Area Council 018                               1220 Pine St                                               Arkadelphia, AR 71923‐4727                                                                           First Class Mail
Chartered Organization         First Presbyterian Church Of Avon                            Iroquois Trail Council 376                            5605 E Avon Lima Rd                                        Avon, NY 14414‐9575                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Barberton                       Great Trail 433                                       636 W Park Ave                                             Barberton, OH 44203‐2414                                                                             First Class Mail
Voting Party                   First Presbyterian Church Of Barre, Vt                       Attn: Carl Vincent Hilton Vanosdall                   19 Seminary St                                             Barre, VT 05641                                                fpcbarre@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Bartow                          Greater Tampa Bay Area 089                            355 S Florida Ave                                          Bartow, FL 33830‐4706                                                                                First Class Mail
Chartered Organization         First Presbyterian Church Of Bath                            Five Rivers Council, Inc 375                          6 W Pulteney Sq                                            Bath, NY 14810                                                                                       First Class Mail
Voting Party                   First Presbyterian Church Of Bel Air, Maryland               Attn: Melissa K Lopez                                 224 N Main St                                              Bel Air, MD 20104                                              office@firstpresbelair.org            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Bellevue                        1717 Bellevue Way Ne                                  Bellevue, WA 98004                                                                                                        Lfortin@belpres.org                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Belmont                         Piedmont Council 420                                  102 S Central Ave                                          Belmont, NC 28012                                                                                    First Class Mail
Voting Party                   First Presbyterian Church Of Bend                            Attn: Boyd Levet                                      230 NE 9th St                                              Bend, OR 97701                                                 blevet@beudfp.org                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Bethlehem                       Minsi Trails Council 502                              2344 Center St                                             Bethlehem, PA 18017‐3706                                                                             First Class Mail
Voting Party                   First Presbyterian Church Of Bethlehem, Inc                  c/o Shay, Santee & Kelhart                            Attn: Richard Santee Jr                                    44 E Broad St                 Bethlehem, PA 18018              rsantee@ssk‐esq.com                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Big Flats                       Five Rivers Council, Inc 375                          P.O. Box 454                                               Big Flats, NY 14814‐0454                                                                             First Class Mail
Chartered Organization         First Presbyterian Church Of Branchville                     Patriots Path Council 358                             P.O. Box 1                                                 Branchville, NJ 07826‐0001                                                                           First Class Mail
Chartered Organization         First Presbyterian Church Of Branchville                     Patriots Path Council 358                             P.O. Box 2163                                              Branchville, NJ 07826‐2163                                                                           First Class Mail
Chartered Organization         First Presbyterian Church Of Brighton                        Denver Area Council 061                               510 S 27th Ave                                             Brighton, CO 80601‐3446                                                                              First Class Mail
Chartered Organization         First Presbyterian Church Of Brighton                        Greater St Louis Area Council 312                     402 N Main St                                              Brighton, IL 62012                                                                                   First Class Mail
Voting Party                   First Presbyterian Church Of Bristol, Inc.                   Attn: Jack W Hyder, Jr                                701 Florida Ave                                            Bristol, TN 37620                                              jwhyder@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Burlingame                      Pacific Skyline Council 031                           1500 Eon Dr                                                Burlingame, CA 94010                                                                                 First Class Mail
Voting Party                   First Presbyterian Church Of Caldwell                        Elizabeth L Resch                                     326 Bloomfield Ave                                         Caldwell, NJ 07006                                             reschel@verizon.net                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Caldwell                        Attn: Ellen O'Connell, Esq                            600 Parsippany Rd, Ste 204                                 Parsippany, NJ 07054                                           reschel@verizon.net                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Canton                          W D Boyce 138                                         275 Linden St                                              Canton, IL 61520‐1115                                                                                First Class Mail
Voting Party                   First Presbyterian Church Of Cape Girardeau                  Attn: Ellen Louise Gurnon                             P.O. Box 477                                               Cape Girardeau, MO 63702                                       fpresbytcape@gmail.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Casa Grande                     702 E Cottonwood Ln                                   Casa Grande, AZ 85122                                                                                                     fpccasagrande@gmail.com               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Cazenovia                       Leatherstocking 400                                   27 Albany St                                               Cazenovia, NY 13035‐1233                                                                             First Class Mail
Chartered Organization         First Presbyterian Church Of Charleston                      Buckskin 617                                          16 Leon Sullivan Way                                       Charleston, WV 25301‐2402                                                                            First Class Mail
Chartered Organization         First Presbyterian Church Of Chester                         Hudson Valley Council 374                             98 Main St                                                 Chester, NY 10918‐1327                                                                               First Class Mail
Voting Party                   First Presbyterian Church Of Chester, Ny                     Attn: Matthew Vandermullen                            94‐96 Main St                                              Chester, NY 10918                                              Info@chespresny.com                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Chicago Heights                 Attn: Michael Welf                                    900 Thomas St                                              Chicago Heights, IL 60411                                      mikewelf@ameritech.net                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Clarks Summit                   Attn: Nancy Owens, Administrative Assistant           300 School St                                              Clarks Summit, PA 18411                                        office@fpccs.org                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Clarks Summit                   Attn: David K Brown, Creditor's Attorney              220 Penn Ave, Ste 200                                      Scranton, PA 18503                                             dbrown@kbh‐law.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Coal Valley                     Illowa Council 133                                    2431 1st St                                                Coal Valley, IL 61240‐9533                                                                           First Class Mail
Chartered Organization         First Presbyterian Church Of Cody                            Greater Wyoming Council 638                           2025 23rd St                                               Cody, WY 82414‐4923                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Corry                           Attn: Treasurer                                       607 West Smith St                                          Corry, PA 16407                                                                                      First Class Mail
Voting Party                   First Presbyterian Church Of Cottage Grove, Or               Attn: Charles Missar, Treasurer                       216 S 3rd St                                               Cottage Grove, OR 97424                                        MissarLLC@ordata.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Covina                          Greater Los Angeles Area 033                          310 N 2nd Ave                                              Covina, CA 91723‐2124                                                                                First Class Mail
Chartered Organization         First Presbyterian Church Of Covington                       Atlanta Area Council 092                              1169 Clark St SW                                           Covington, GA 30014‐2314                                                                             First Class Mail
Chartered Organization         First Presbyterian Church Of Cranbury                        Washington Crossing Council 777                       22 S Main St                                               Cranbury, NJ 08512‐3112                                                                              First Class Mail
Voting Party                   First Presbyterian Church Of Cranbury Nj, Inc                c/o Brennan Law Firm                                  73 N Main St                                               Cranbury, NJ 08512                                             fbrennan@brennanlaw.org               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Cranford                        Attn: Ellen O'Connell, Esq.                           600 Parsippany Rd, Ste 204                                 Parsippany, NJ 07054                                           eoconnell@iwwt.law                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Cranford                        Attn: Donna Graziano                                  11 Springfield Ave                                         Cranford, NJ 07016                                             dagrazrdh@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Dallas, Texas                   Attn: Ashlee Hueston                                  1835 Young St                                              Dallas, TX 75201                                               ashleeh@fpcdallas.org                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church of Davenport                       Attn: Kristine Olson                                  1702 Iowa St                                               Davenport, IA 52803                                            olson@fpcdavenport.org                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Dayton                          Monmouth Council, Bsa 347                             362 Georges Rd                                             Dayton, NJ 08810‐1425                                                                                First Class Mail
Chartered Organization         First Presbyterian Church Of Deerfield                       Northeast Illinois 129                                824 Waukegan Rd                                            Deerfield, IL 60015‐3206                                                                             First Class Mail
Voting Party                   First Presbyterian Church Of Delhi Ny                        c/o Coughlin & Gerhart LLP                            Attn: Keith A Gorgos                                       99 Corporate Dr               Binghamton, NY 13904             kgorgos@cglawoffices.com              Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Delhi Ny                        Attn: Keith A. Gorgos                                 Coughlin & Gerhart LLP                                     99 Corporate Dr               Binghamton, NY 13904             kgorgos@cglawoffices.com              Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Delray Beach                    33 Gleason St                                         Delray Beach, FL 33483                                                                                                    administrator@firstdelray.com         Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Dimondale                       Water and Woods Council 782                           162 N Bridge St                                            Dimondale, MI 48821‐9231                                                                             First Class Mail
Voting Party                   First Presbyterian Church Of Dunedin, Inc.                   455 Scotland St                                       Dunedin, FL 34698                                                                                                         churchadmin@fpcdunedin.org            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Dupage                          Rainbow Council 702                                   180 N Weber Rd                                             Bolingbrook, IL 60440‐1564                                                                           First Class Mail
Chartered Organization         First Presbyterian Church Of Edgewood                        Laurel Highlands Council 527                          120 E Swissvale Ave                                        Pittsburgh, PA 15218‐1474                                                                            First Class Mail
Chartered Organization         First Presbyterian Church Of Elko                            Nevada Area Council 329                               1559 Sewell Dr                                             Elko, NV 89801‐2845                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Encino                          W.L.A.C.C. 051                                        4963 Balboa Blvd                                           Encino, CA 91316‐3437                                                                                First Class Mail
Chartered Organization         First Presbyterian Church Of Englewood                       Northern New Jersey Council, Bsa 333                  150 E Palisade Ave                                         Englewood, NJ 07631‐3013                                                                             First Class Mail
Chartered Organization         First Presbyterian Church Of Englishtown                     Monmouth Council, Bsa 347                             50 Main St                                                 Englishtown, NJ 07726‐1557                                                                           First Class Mail
Voting Party                   First Presbyterian Church Of Evansville, Indiana, Inc.       c/o Office Administrator, First Presbyterian Church   Attn:Lora Blaylock                                         609 SE 2nd St                 Evansville, IN 47713             firstpres@firstpresevansville.com     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Fairborn, Ohio                  Attn: Rev. Joe Hinds                                  1130 Highview Dr                                           Fairborn, OH 45324                                             firstpresbyterianfairborn@gmail.com   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Fairfield, Connecticut          Attn: John Vance Hancock                              190 Old Ridgefield Rd                                      Wilton, CT 06897                                               vhancock@gregoryandadams.com          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Fairfield, Connecticut          2475 Easton Tumpike                                   Fairfield, CT 06825                                                                                                                                             First Class Mail
Chartered Organization         First Presbyterian Church Of Farmington                      Great Swest Council 412                               865 N Dustin Ave                                           Farmington, NM 87401‐6103                                                                            First Class Mail
Voting Party                   First Presbyterian Church Of Farmington                      Attn: Sara Kirsten                                    26165 Farmington Rd                                        Farmington Hills, MI 48334                                     info@farmington‐pres.org              Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Fenton                          Water and Woods Council 782                           P.O. Box 436                                               Fenton, MI 48430‐0436                                                                                First Class Mail
Voting Party                   First Presbyterian Church Of Fenton                          Attn: Pastor Robert Carnes                            503 S Leroy St                                             Fenton, MI 48430                                               larry@4sqauretax.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Ferguson                        Greater St Louis Area Council 312                     401 Darst Rd                                               Ferguson, MO 63135‐2431                                                                              First Class Mail
Chartered Organization         First Presbyterian Church Of Finleyville                     Laurel Highlands Council 527                          3495 Washington Ave                                        Finleyville, PA 15332‐1372                                                                           First Class Mail
Voting Party                   First Presbyterian Church Of Fort Lauderdale Florida Inc     Attn: Kim White                                       401 SE 15th Ave                                            Ft Lauderdale, FL 33301                                        stevew@firstpres.cc                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Franklin                        Middle Tennessee Council 560                          101 Legends Club Ln                                        Franklin, TN 37069‐2262                                                                              First Class Mail
Chartered Organization         First Presbyterian Church Of Gallatin                        Middle Tennessee Council 560                          167 W Main St                                              Gallatin, TN 37066‐3252                                                                              First Class Mail
Voting Party                   First Presbyterian Church Of Garden Grove                    Wayne Wolfe                                           2317 W Adams St                                            Santa Ana, CA 92704                                            wayashar@aol.com                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Garden Grove                    Attn: Wayne Wolfe                                     11832 Euclid St                                            Garden Grove, CA 92840                                         fpcgg@fpcgg.org                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Garland                         Circle Ten Council 571                                930 W Ave B                                                Garland, TX 75040‐6219                                                                               First Class Mail
Chartered Organization         First Presbyterian Church Of Garner                          Occoneechee 421                                       503 Lakeside Dr                                            Garner, NC 27529‐4214                                                                                First Class Mail
Voting Party                   First Presbyterian Church Of Gilbertsville                   113 Marion Ave                                        P.O. Box 314                                               Gilbertsville, NY 13776                                        jcostello55@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Gillette                        Greater Wyoming Council 638                           511 Carey Ave                                              Gillette, WY 82716‐4332                                                                              First Class Mail
Voting Party                   First Presbyterian Church Of Girard                          Attn: Ron Weidler                                     P.O. Box 106                                               Girard, PA 16417                                               office@girardpc.org                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Glen Cove                       Theodore Roosevelt Council 386                        7 North Ln                                                 Glen Cove, NY 11542‐2608                                                                             First Class Mail
Chartered Organization         First Presbyterian Church Of Glen Ellyn                      Three Fires Council 127                               500 Anthony St                                             Glen Ellyn, IL 60137‐4428                                                                            First Class Mail
Chartered Organization         First Presbyterian Church Of Greensburg                      Hoosier Trails Council 145 145                        202 N Franklin St                                          Greensburg, IN 47240‐1735                                                                            First Class Mail
Chartered Organization         First Presbyterian Church Of Greenwood                       Blue Ridge Council 551                                108 Cambridge Ave E                                        Greenwood, SC 29646‐2222                                                                             First Class Mail
Chartered Organization         First Presbyterian Church Of Grove City                      Simon Kenton Council 441                              4227 Broadway                                              Grove City, OH 43123‐3005                                                                            First Class Mail
Voting Party                   First Presbyterian Church Of Haddon Heights, Nj              Attn: Anthony F Masi                                  28 7th Ave                                                 Haddon Heights, NJ 08035                                       info.fpchh@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Haines City                     Greater Tampa Bay Area 089                            104 Scenic Hwy                                             Haines City, FL 33844‐9328                                                                           First Class Mail
Chartered Organization         First Presbyterian Church Of Hanover                         Patriots Path Council 358                             14 Hanover Rd                                              East Hanover, NJ 07936‐3417                                                                          First Class Mail
Voting Party                   First Presbyterian Church Of Highland                        Attn: President of Trustees                           P.O. Box 725                                               Highland, NY 12528                                             fpchighland@verizon.net               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Hightstown                      Attn: Abigail Rivenburgh                              320 N Main St                                              Hightstown, NJ 08520                                           INFO@hightstownpres.org               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Hilton Head                     Coastal Carolina Council 550                          540 William Hilton Pkwy                                    Hilton Head, SC 29928‐3603                                                                           First Class Mail
Chartered Organization         First Presbyterian Church Of Holley                          Iroquois Trail Council 376                            34 N Main St                                               Holley, NY 14470‐1056                                                                                First Class Mail
Voting Party                   First Presbyterian Church Of Hollywood, Florida              1530 Hollywood Blvd                                   Hollywood, FL 33020                                                                                                       kennedym@fpcoh.org                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Honesdale                       Northeastern Pennsylvania Council 501                 201 10th St                                                Honesdale, PA 18431‐1917                                                                             First Class Mail
Voting Party                   First Presbyterian Church of Huron, OH                       Attn: Sara Hodsden                                    225 Williams St                                            Huron, OH 44839                                                fpchuron@bex.net                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Inverness                       Greater Tampa Bay Area 089                            206 Washington Ave                                         Inverness, FL 34450‐4942                                                                             First Class Mail
Chartered Organization         First Presbyterian Church Of Irwin                           Westmoreland Fayette 512                              617 Main St                                                Irwin, PA 15642‐3406                                                                                 First Class Mail
Voting Party                   First Presbyterian Church Of Kearney, Nebraska               Attn: Clint Cozier                                    4511 6th Ave                                               Kearney, NE 68845                                              pastor@fpckearney.org                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Kearney, Nebraska               c/o Clint Cozier                                      4511 6th Ave                                               Kearney, NE 68845                                              pastor@fpckearney.org                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Kenosha                         Three Harbors Council 636                             6209 64th St                                               Kenosha, WI 53142‐2913                                                                               First Class Mail
Chartered Organization         First Presbyterian Church Of Kingwood                        Sam Houston Area Council 576                          5520 Kingwood Dr                                           Kingwood, TX 77345‐2622                                                                              First Class Mail
Chartered Organization         First Presbyterian Church Of Kouts                           Lasalle Council 165                                   1419 S 500 E                                               Kouts, IN 46347‐9736                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church Of Lake Forest                     Northeast Illinois 129                                700 N Sheridan Rd                                          Lake Forest, IL 60045‐2201                                                                           First Class Mail
Voting Party                   First Presbyterian Church Of Lake Worth Beach                231 N Federal Hwy                                     Lake Worth Beach, FL 33460                                                                                                firstpresby60107@bellsouth.net        Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Lakeland                        Greater Tampa Bay Area 089                            175 Lake Hollingsworth Dr                                  Lakeland, FL 33801‐5673                                                                              First Class Mail
Voting Party                   First Presbyterian Church Of Lambertville Nj                 Attn: Richard Hopkins                                 31 N Union St                                              Lambertville, NJ 08530                                         r.hopkins1@comcast.net                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Lansdowne                       Cradle of Liberty Council 525                         140 N Lansdowne Ave                                        Lansdowne, PA 19050‐1550                                                                             First Class Mail
Chartered Organization         First Presbyterian Church Of Lapeer                          Water and Woods Council 782                           433 N Calhoun St                                           Lapeer, MI 48446‐2009                                                                                First Class Mail
Voting Party                   First Presbyterian Church Of Leadville                       Attn: Sarah Savage                                    P.O. Box 498                                               Leadville, CO 80461                                            sbsavage54@outlook.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Lebanon                         Middle Tennessee Council 560                          304 W Main St                                              Lebanon, TN 37087‐3546                                                                               First Class Mail
Chartered Organization         First Presbyterian Church Of Levittown                       Washington Crossing Council 777                       5918 Bristol Emilie Rd                                     Levittown, PA 19057‐2606                                                                             First Class Mail
Chartered Organization         First Presbyterian Church Of Lewiston                        Greater Niagara Frontier Council 380                  505 Cayuga St                                              Lewiston, NY 14092‐1653                                                                              First Class Mail
Chartered Organization         First Presbyterian Church Of Liberty                         Heart of America Council 307                          138 N Main St                                              Liberty, MO 64068‐1640                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                          Page 112 of 442
                                                                                    Case 20-10343-LSS                                       Doc 8171                                  Filed 01/06/22                                                    Page 128 of 457
                                                                                                                                                                         Exhibit B
                                                                                                                                                                          Service List
                                                                                                                                                                   Served as set forth below

        Description                                                          Name                                                                                      Address                                                                                                                            Email                    Method of Service
Voting Party                   First Presbyterian Church Of Littleton, Colorado            Attn: Pastor Cody Sandahl                  1609 W Littleton Blvd                                  Littleton, CO 80120                                                                1609fpcl@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Logan                          Simon Kenton Council 441                   2 W Hunter St                                          Logan, OH 43138‐1512                                                                                                       First Class Mail
Chartered Organization         First Presbyterian Church Of London                         Simon Kenton Council 441                   211 Garfield Ave                                       London, OH 43140‐9203                                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church Of Lufkin                         East Texas Area Council 585                607 Janeway Ave                                        Lufkin, TX 75904‐4661                                                                                                      First Class Mail
Voting Party                   First Presbyterian Church Of Lynchburg, Inc.                Attn: Albert M Baker, MD                   3808 Peakland Pl                                       Lynchburg, VA 24503                                                                abaker@lynchburgpulmonary.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Mahopac                        Attn: Heather Strickland                   411 Rt 6N                                              Mahopac, NY 10541                                                                  hestrickland@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Maitland                       Central Florida Council 083                341 N Orlando Ave                                      Maitland, FL 32751‐4701                                                                                                    First Class Mail
Voting Party                   First Presbyterian Church Of Marlborough                    c/o President of Trustees                  Attn: Howard C. Baker                                  P.O. Box 577                        Marlboro, NY 12542                             fpcmarlboro@verizon.net                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Marlborough                    Howard C. Baker                            P.O. Box 577                                           Marlboro, NY 12542                                                                 fpcmarlboro@verizon.net                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Martinsville, Va               Attn: Henry Grady Moore III                1901 Patrick Henry Ave                                 Martinsville, VA 24112                                                             hgmoore3@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Mason                          Water and Woods Council 782                131 E Maple St                                         Mason, MI 48854‐1655                                                                                                       First Class Mail
Voting Party                   First Presbyterian Church Of Mendham                        Attn: Ellen O'Connell, Esq                 600 Parsippany Rd, Ste 204                             Parsippany, NJ 07054                                                               eoconnell@iwwt.law                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Mendham                        Attn: Ellen O'Connell, Esq.                600 Parsippany Rd, Ste 204                             Parsippany, NJ 07054                                                               eoconnell@iwwt.law                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Mendham                        Attn: Alison Paden                         14 Hilltop Rd                                          Mendham, NJ 07945                                                                  associatepastor@hilltopchurch.org       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Mendham                        Attn: Ellen O'Connell, Esq                 600 Parsippany Rd, Ste 204                             Parsippany, NJ 07054                                                               associatepastor@hilltopchurch.org       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Mesquite                       Circle Ten Council 571                     1028 S Belt Line Rd                                    Mesquite, TX 75149‐5066                                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church Of Milan                          Illowa Council 133                         1620 1st St W                                          Milan, IL 61264‐3300                                                                                                       First Class Mail
Chartered Organization         First Presbyterian Church Of Monroe                         Northeast Georgia Council 101              P.O. Box 784                                           Monroe, GA 30655‐0784                                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church Of Montezuma                      Crossroads of America 160                  251 E Wilkinson St                                     Montezuma, IN 47862                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Montrose                       Attn: Chris Caterson                       367 Church St                                          Montrose PA 18801                                                                  firstpresbyterianmontrose@yahoo.com     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Moscow                         Attn: Stephen Bergmann                     405 S Van Buren St                                     Moscow, ID 83843                                                                   berdoc@moscow.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Moscow                         Attn: Stephen Bermann                      405 S Van Buren St                                     Moscow, ID 83843                                                                   berdoc@moscow.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Mount Vernon, New York         Attn: Joyce E Evans                        199 N Columbus Ave                                     Mount Vernon, NY 10553                                                             fpcmvny@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Mtn View                       Pacific Skyline Council 031                1667 Miramonte Ave                                     Mountain View, CA 94040‐3051                                                                                               First Class Mail
Chartered Organization         First Presbyterian Church Of Nashville                      Middle Tennessee Council 560               4815 Franklin Pike                                     Nashville, TN 37220‐1121                                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church Of New Vernon                     Patriots Path Council 358                  2 Lees Hill Rd                                         New Vernon, NJ 07976                                                                                                       First Class Mail
Chartered Organization         First Presbyterian Church Of Newark                         San Francisco Bay Area Council 028         35450 Newark Blvd                                      Newark, CA 94560‐1816                                                                                                      First Class Mail
Voting Party                   First Presbyterian Church Of Newhall                        Bsa Troop 609 Charter Representative       24317 Newhall Ave                                      Newhall, CA 91321                                                                  churchoffice@presby‐newhall.org         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Northville                     200 E Main St                              Northville, MI 48167                                                                                                                      jacquelinespycher@fpcnorthville.org     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Ogden                          Trapper Trails 589                         880 28th St                                            Ogden, UT 84403‐0271                                                                                                       First Class Mail
Voting Party                   First Presbyterian Church Of Oil City                       215 E Bissell Ave                          Oil City, PA 16301                                                                                                                        firstpresby@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Olean                          Allegheny Highlands Council 382            P.O. Box 1608                                          Olean, NY 14760‐6608                                                                                                       First Class Mail
Voting Party                   First Presbyterian Church Of Oxnard                         Attn: Theodore Lowden Brandt               850 Ivywood Dr                                         Oxnard, CA 93030                                                                   ted@fpox.org                            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Palestine                      East Texas Area Council 585                410 Ave A St                                           Palestine, TX 75801‐2904                                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church Of Palm Bay                       Central Florida Council 083                1080 Port Malabar Blvd Ne                              Palm Bay, FL 32905‐5136                                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church Of Parsons                        Quivira Council, Bsa 198                   1700 Broadway Ave                                      Parsons, KS 67357‐3312                                                                                                     First Class Mail
Voting Party                   First Presbyterian Church Of Paw Paw                        First Presbyterian Church                  120 Pine St                                            Paw Paw, MI 49079                                                                  tkomccaff@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Paw Paw                        120 Pine St                                Paw Paw, MI 49079                                                                                                                         tkomccaff@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Pompano Beach                  Attn:Thomas Paradise                       5821 Hollywood Blvd                                    Hollywood, FL 33021                                                                tparadise@florida‐law.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Ponca City                     Cimarron Council 474                       1505 E Grand Ave                                       Ponca City, OK 74604‐5210                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Port Jervis                    Hudson Valley Council 374                  60 Sussex St                                           Port Jervis, NY 12771‐1930                                                                                                 First Class Mail
Voting Party                   First Presbyterian Church Of Ramsey, Nj                     Attn: John Myers                           15 Shuart Ln                                           Ramsey, NJ 07446                                                                   administration@ramseypc.org             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Ramsey, Nj                     Attn: John Myers, Chair, Admin Committee   15 Shuart Ln                                           Ramsey, NJ 07446                                                                   administration@ramseypc.org             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Redlands                       Attn: Cheryl Ann Raine                     100 Cajon St                                           Redlands, CA 92373                                                                 fpcredlands@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Richmond                       Blue Grass Council 204                     330 W Main St                                          Richmond, KY 40475‐1455                                                                                                    First Class Mail
Voting Party                   First Presbyterian Church Of Rockaway                       35 Church St                               Rockaway, NJ 07866                                                                                                                        office@fpcrockaway.org                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Rogers                         Westark Area Council 016                   1901 S 26th St                                         Rogers, AR 72758‐6126                                                                                                      First Class Mail
Voting Party                   First Presbyterian Church of Salina                         Attn: Todd Davidson                        P.O. Box 1247                                          Salina, KS 67402                                                                   davidson@hamptonlaw.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church of Salina                         Attn: Melanie Dennis                       308 S 8th St                                           Salina, KS 67401                                                                                                           First Class Mail
Chartered Organization         First Presbyterian Church Of Saline                         Southern Shores Fsc 783                    143 E Michigan Ave                                     Saline, MI 48176‐1552                                                                                                      First Class Mail
Voting Party                   First Presbyterian Church Of Salt Lake City                 Attn: Steven John Aeschbacher              12 C. St                                               Salt Lake City, UT 84103                                                           office@fpcslc.org                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of San Diego                      Attn: Riley Mcrae                          320 Date St                                            San Diego, CA 92101                                                                riley.mcrae@fpcsd.org                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of San Marcos                     Capitol Area Council 564                   410 W Hutchison St                                     San Marcos, TX 78666‐4433                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Sayreville                     Monmouth Council, Bsa 347                  174 Main St                                            Sayreville, NJ 08872‐1150                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Sharon                         Attn: Chester B Scholl Jr & Treasurer      600 E State St                                         Sharon, PA 16146                                                                   cbs@fdgs‐law.com                        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Smyrna                         Middle Tennessee Council 560               545 W Sam Ridley Pkwy                                  Smyrna, TN 37167                                                                                                           First Class Mail
Chartered Organization         First Presbyterian Church Of South Amboy                    Monmouth Council, Bsa 347                  P.O. Box 787                                           South Amboy, NJ 08879‐0787                                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church Of South Lyon                     Great Lakes Fsc 272                        205 E Lake St                                          South Lyon, MI 48178‐1410                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Springfield                    Cradle of Liberty Council 525              356 Summit Rd                                          Springfield, PA 19064‐1443                                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church Of St Louis                       Greater St Louis Area Council 312          7200 Delmar Blvd                                       University City, MO 63130‐4164                                                                                             First Class Mail
Voting Party                   First Presbyterian Church Of Stamford                       c/o Halloran & Sage LLP                    Attn: Michael Steven Wrona                             One Goodwin Square                  225 Asylum St             Hartford, CT 06103   wrona@halloransage.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Sterling                       Attn: Christina Berry & Samantha O'Keefe   410 2nd Ave                                            P.O. Box 441                        Sterling, IL 61081                             firstpresbyteriansterling@live.com      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Stillwater                     Attn: Deb Schultz                          6201 Osgood Ave N                                      Stillwater, MN 55082                                                               church@fpc‐stillwater.org               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Stillwater, Inc.               524 S Duncan                               Stillwater, OK 74074                                                                                                                      losborn@houston‐osborn.com              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Succasunna                     Patriots Path Council 358                  99 Main St                                             Succasunna, NJ 07876‐1417                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of The Covenant                   Attn: Reverend Chris Weichman              250 W 7th St                                           Erie, PA 16501                                                                     chris.weichmann@firstcovenanterie.org   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Towanda                        Five Rivers Council, Inc 375               5 Court St                                             Towanda, PA 18848‐1801                                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church Of Urbana                         Prairielands 117                           602 W Green St                                         Urbana, IL 61801‐3945                                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church Of Warminster                     Washington Crossing Council 777            500 Madison Ave                                        Warminster, PA 18974‐4618                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Warren, Pa                     Attn: Lynn Sears, Clerk of Session         300 Market St                                          Warren, PA 16365                                                                   carrie.salapek@gmail.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Washington                     Minsi Trails Council 502                   40 E Church St                                         Washington, NJ 07882‐1478                                                                                                  First Class Mail
Voting Party                   First Presbyterian Church Of Wayne, Nebraska                Attn: Jane L. O'Leary                      216 West 3rd St                                        Wayne, NE 68787                                                                    fpcwayne@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Weedsport                      Longhouse Council 373                      8871 S Seneca St                                       Weedsport, NY 13166                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Weedsport                      Attn: Neil J. Smith, Esq.                  Mackenzie Hughes LLP                                   440 S Warren St, Ste 400            Syracuse, NY 13202                             nsmith@mackenziehughes.com              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Wellsboro                      Five Rivers Council, Inc 375               130 Main St                                            Wellsboro, PA 16901‐1412                                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church Of Westminster                    Orange County Council 039                  7702 Westminster Blvd                                  Westminster, CA 92683‐4032                                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church Of Wilmette                       Northeast Illinois 129                     600 9th St                                             Wilmette, IL 60091‐2716                                                                                                    First Class Mail
Voting Party                   First Presbyterian Church Of Wilmington, North Carolina     Attn: Dr Dan Lewis                         125 S 3rd St                                           Wilmington, NC 28401                                                               hkitchin@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Wilson                         414 Sunset Rd                              Wilson, NC 27893                                                                                                                          tomwalkins@ristpreswilson.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Woodbridge, Nj                 Attn: Robert E Stephan                     600 Rahway Ave                                         Woodbridge, NJ 07095                                                               Treasurer@FPCWoodbridgeNJ.org           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Woodbury Heights               Attn: Samantha Eachus                      335 Elm Ave                                            Woodbury Heights, NJ 08097                                                         HeightsPres@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Woodbury Heights               Attn: Ellen O'Connell Esq                  600 Parsippany Rd, Ste 204                             Parsippany, NJ 07054                                                               eoconnell@iwwt.law                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church Of Woodbury Heights               c/o Iwwt Law                               Attn: Ellen O'Connell, Esq                             600 Parsippany Rd, Ste 204          Parsippany, NJ 07054                           eoconnell@iwwt.law                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Of Yorktown                       Westchester Putnam 388                     2880 Crompond Rd                                       Yorktown Heights, NY 10598‐2935                                                                                            First Class Mail
Chartered Organization         First Presbyterian Church Of Youngstown                     Great Trail 433                            201 Wick Ave                                           Youngstown, OH 44503‐1001                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church Of Ypsilanti                      Southern Shores Fsc 783                    300 N Washington St                                    Ypsilanti, MI 48197‐2522                                                                                                   First Class Mail
Chartered Organization         First Presbyterian Church Of Zephyrhills                    Greater Tampa Bay Area 089                 5510 19th St                                           Zephyrhills, FL 33542‐4599                                                                                                 First Class Mail
Chartered Organization         First Presbyterian Church Othello                           Grand Columbia Council 614                 715 E Scootney St                                      Othello, WA 99344‐1838                                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church Owasso                            Indian Nations Council 488                 12800 E 85th St N                                      Owasso, OK 74055‐2193                                                                                                      First Class Mail
Chartered Organization         First Presbyterian Church Owensboro                         Lincoln Heritage Council 205               1328 Griffith Ave                                      Owensboro, KY 42301‐2817                                                                                                   First Class Mail
Voting Party                   First Presbyterian Church Rahway                            Attn: Ellen O'Connell                      600 Parsippany Rd, Ste 204                             Parsippany, NJ 07054                                                               eoconnell@iwwt.law                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church Sapulpa                           Indian Nations Council 488                 P.O. Box 29                                            Sapulpa, OK 74067‐0029                                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church Stanhope                          Patriots Path Council 358                  100 Main St                                            Stanhope, NJ 07874‐2631                                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church‐ Tulsa                            Indian Nations Council 488                 709 S Boston Ave                                       Tulsa, OK 74119‐1609                                                                                                       First Class Mail
Voting Party                   First Presbyterian Church, Covington, Va                    Attn: Joseph Wilson                        185 N Maple Ave                                        Covington, VA 24426                                                                fpccovingtonva@aol.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church, Elizabethtown                    Attn: Chelsea Benham                       1016 Pear Orchard Rd                                   Elizabethtown, KY 42701                                                            financial@etownpres.org                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church, Elkhart, In                      200 E Beardsley Ave                        Elkhart, IN 46514                                                                                                                         office@presby.net                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church, Green Bay Wisconsin              c/o Davis and Kuelthau                     Attn: Bruce Deadman                                    318 S Washington St, Ste 300        Green Bay, WI 54301                            bdeadman@dkattorneys.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church, Hickory, NC                      c/o Young, Morphis, Bach & Taylor LLP      Attn: Jimmy Summerlin, Jr                              P.O. Drawer 2428                    Hickory, NC 28603                              jimmys@hickorylaw.com                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church, Hickory, NC                      237 2nd St NW                              Hickory, NC 28601                                                                                                                         jimmys@hickorylaw.com                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church, Livermore                        Attn: Danielle Hayes                       2020 5th St                                            Livermore, CA 94550                                                                office@fpcl.us                          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church, Longview, Texas                  Attn: Treasurer                            301 N Center                                           Longview, TX 75601                                                                 ebbmob@aol.com                          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church, Oneonta, Ny                      Attn: Pastor                               296 Main St                                            Oneonta, NY 13820                                                                  oneonta.1st@susvalpresby.org            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Presbyterian Church, Titusville, Pa                   Attn: Dr Vaughan Smith                     216 N Franklin St                                      Titusville, PA 16354                                                               firstpresby216@verizon.net              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Church, Usa                              West Tennessee Area Council 559            19835 Main St E                                        Huntingdon, TN 38344‐3926                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church, Wolcott                          Seneca Waterways 397                       11988 W Main St                                        Wolcott, NY 14590‐1044                                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church‐Fort Stockton                     Texas Swest Council 741                    202 N Oklahoma St                                      Fort Stockton, TX 79735                                                                                                    First Class Mail
Chartered Organization         First Presbyterian Church‐Granada Hills                     W.L.A.C.C. 051                             10400 Zelzah Ave                                       Northridge, CA 91326‐3510                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church‐Men Class                         Central N Carolina Council 416             P.O. Box 789                                           Concord, NC 28026‐0789                                                                                                     First Class Mail
Chartered Organization         First Presbyterian Church‐San Angelo                        Texas Swest Council 741                    32 N Irving St                                         San Angelo, TX 76903‐5843                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Church‐Walker Bible                      Central N Carolina Council 416             904 Fayetteville Rd                                    Rockingham, NC 28379‐3706                                                                                                  First Class Mail
Chartered Organization         First Presbyterian Mens Bible Class                         Connecticut Yankee Council Bsa 072         2475 Eon Tpke                                          Fairfield, CT 06825                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Mens Bros.‐ Brookings                    Sioux Council 733                          405 7th Ave                                            Brookings, SD 57006‐2018                                                                                                   First Class Mail
Voting Party                   First Presbyterian Of Brazoria, Tx, Inc.                    Attn: Sarah Virginia Raska                 P.O. Box 70                                            Brazoria, TX 77422                                                                 fpcbrazoria@live.com                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbyterian Roanoke Rapids                           East Carolina Council 426                  16 E 5th St                                            Roanoke Rapids, NC 27870‐1932                                                                                              First Class Mail
Chartered Organization         First Presbyterian Union Church                             Baden‐Powell Council 368                   111 Temple St                                          Owego, NY 13827‐1420                                                                                                       First Class Mail
Voting Party                   First Presbyterian Union Church                             Attn: Joan Wise‐Hostetter                  P.O. Box 355                                           Owego, NY 13827                                                                    office@owegofpuc.org                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Presbytrian Church Of Clinton                         Blue Ridge Council 551                     410 E Carolina Ave                                     Clinton, SC 29325‐2525                                                                                                     First Class Mail
Chartered Organization         First Protestant Church                                     Alamo Area Council 583                     172 W Coll St                                          New Braunfels, TX 78130‐5108                                                                                               First Class Mail
Chartered Organization         First Reformed Church                                       President Gerald R Ford 781                P.O. Box 197                                           Byron Center, MI 49315‐0197                                                                                                First Class Mail
Chartered Organization         First Reformed Church                                       Hudson Valley Council 374                  1153 Main St                                           Fishkill, NY 12524‐3604                                                                                                    First Class Mail
Chartered Organization         First Reformed Church                                       Westchester Putnam 388                     18 Farragut Ave                                        Hastings On Hudson, NY 10706‐2305                                                                                          First Class Mail
Chartered Organization         First Reformed Church Of Bethlehem                          Twin Rivers Council 364                    38 Church Rd                                           Selkirk, NY 12158‐1415                                                                                                     First Class Mail
Chartered Organization         First Reformed Church Of Demotte                            Sagamore Council 162                       5387 W State Rd 10                                     Wheatfield, IN 46392‐9284                                                                                                  First Class Mail
Voting Party                   First Reformed Church Of Hastings‐On‐Hudson                 Attn: Andrew W Smith                       18 Farragut Ave                                        Hastings‐On‐Hudson, NY 10706                                                       frc1850@aol.com                         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Reformed Church Of Pompton Plains                     Patriots Path Council 358                  529 Newark Pompton Tpke                                Pompton Plains, NJ 07444‐1743                                                                                              First Class Mail
Chartered Organization         First Reformed Church Of Tampa                              Greater Tampa Bay Area 089                 8283 W Hillsborough Ave                                Tampa, FL 33615‐4111                                                                                                       First Class Mail
Chartered Organization         First Reformed Church Of Walden                             Hudson Valley Council 374                  70 Scofield St                                         Walden, NY 12586‐1732                                                                                                      First Class Mail
Voting Party                   First Riverview                                             c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200            Tampa, FL 33602                                erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   First Riverview                                             8002 US Hwt                                S Riverview, FL 33578                                                                                                                                                             First Class Mail
Voting Party                   First Rowlett United Methodist Church                       Attn: Victor Vazqez                        4405 Main St                                           Rowlett, TX 75088                                                                  vvcreates@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         First Saint Marks Lutheran Church                           Erie Shores Council 460                    1121 Grasser St                                        Oregon, OH 43616‐3189                                                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                          Page 113 of 442
                                                                                    Case 20-10343-LSS                                             Doc 8171                                     Filed 01/06/22                                                Page 129 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                          Name                                                                                               Address                                                                                                                           Email              Method of Service
Chartered Organization         First Saints Community Church                               National Capital Area Council 082                25550 Point Lookout Rd                                    Leonardtown, MD 20650                                                                                               First Class Mail
Voting Party                   First Saints Community Church                               Attn: Treasurer, First Saints Community Church   P.O. Box 95                                               25550 Point Lookout Rd         P.O. Box 95                Leonardtown, MD 20650   communications@firstsaints.org    Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Sanford ‐ Sanford                                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         First Security Bank                                         Winnebago Council, Bsa 173                       P.O. Box 577                                              Charles City, IA 50616‐0577                                                                                         First Class Mail
Voting Party                   First Seminole United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         First Sergeants Assoc                                       Unit 14007 Aloha Council Bsa 104                 Apo, AP 96543‐4007                                                                                                                                                            First Class Mail
Chartered Organization         First Southern Baptist Church                               Grand Canyon Council 010                         20895 W Hamilton St                                       Buckeye, AZ 85396                                                                                                   First Class Mail
Voting Party                   First Spanish United Methodist Church                       Attn: Dolimar Lebron                             163 E 111th St                                            New York, NY 10029                                                                dorlimar.lebron@nyac‐umc.com      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Spanish United Methodist Church                       Attn: Jessica Ellis, CFO                         475 Riverside Dr, Ste 1922                                New York, NY 10115                                                                bshillady@umcitysociety.org       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Spanish United Presbyterian Church Of Miami           2480 NW 7th St                                   Miami, FL 33125                                                                                                                             mcsit@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         First St Charles Utd Methodist Church                       Greater St Louis Area Council 312                801 1st Capitol Dr                                        Saint Charles, MO 63301‐2731                                                                                        First Class Mail
Chartered Organization         First St Pauls Lutheran Church                              Overland Trails 322                              501 N Burlington Ave                                      Hastings, NE 68901‐5036                                                                                             First Class Mail
Chartered Organization         First St. Paul Lutheran                                     Overland Trails 322                              501 N Burlington Ave                                      Hastings, NE 68901‐5036                                                                                             First Class Mail
Chartered Organization         First State Community Action Agency                         Del Mar Va 081                                   308 N Railroad Ave                                        Georgetown, DE 19947‐1252                                                                                           First Class Mail
Voting Party                   First State Insurance Company                               Attn: Joshua D Weinberg/Shipman & Goodwin        1875 K St, NW S Ste 600                                   Washington, DC 20006                                                              jweinberg@goodwin.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Street Peck Wesley Umc                                c/o Mount Zion Umc                               Attn: Rev. Ronald J. Southall                             2722 Louisiana Ave             New Orleans, LA 70113                              rsouthallministries@gmail.com     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Street Peck Wesley Umc                                Attn: Bettie White                               2309 Dryades St                                           New Orleans, LA 70113                                                             bettienwhite40@gmail.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Temple                                                c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         First Trinity Lutheran Church                               Allegheny Highlands Council 382                  470 N Main St                                             Wellsville, NY 14895‐1043                                                                                           First Class Mail
Chartered Organization         First Trinity Presbyterian Church                           Pine Burr Area Council 304                       500 N 5th Ave                                             Laurel, MS 39440‐3411                                                                                               First Class Mail
Voting Party                   First Troutman United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         First U M Churches                                          Laurel Highlands Council 527                     50 S Walnut St                                            Blairsville, PA 15717‐1484                                                                                          First Class Mail
Chartered Organization         First Umc                                                   Gateway Area 624                                 1105 Butts Ave                                            Tomah, WI 54660‐1806                                                                                                First Class Mail
Voting Party                   First Umc                                                   Attn: Shirley Reed                               P.O. Box 185                                              Springfield, WI 53176                                                             pastorshirleyreed@gmail.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc                                                   625 5th St                                       Brookings, SD 57006                                                                                                                         office@brookingsmethodist.org     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc                                                   c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc                                                   310 Douglas St                                   New Smyrna Beach, FL 32168                                                                                                                                                    First Class Mail
Voting Party                   First Umc ‐ Charlotte                                       c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc ‐ Cocoa Beach                                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc ‐ Martinsville                                    c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc ‐ National Park                                   c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc ‐ New Smyrna Beach, Fl                            c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc ‐ Norfolk                                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc ‐ Timberville                                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc (Fox Hill) ‐ Hampton                              c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc (Hopewell)                                        c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc (Salem)                                           c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc (Westfield)                                       c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc (Winchester) ‐ Winchester                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc Alachua                                           c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc Asheboro                                          c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         First Umc Bay City Texas                                    Sam Houston Area Council 576                     2300 Ave H                                                Bay City, TX 77414‐6026                                                                                             First Class Mail
Voting Party                   First Umc Beeville Tx                                       Attn: Pastor Dean Fleming                        106 E Cleveland                                           Beeville, TX 78102                                                                pastor@beevilleumc.org            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Bishop                                            First Umc of Bishop                              804 E 6th St                                              Bishop, TX 78343                                                                                                    First Class Mail
Voting Party                   First Umc Blanchard, Ok                                     David B Johnson                                  1101 N Main                                               Blanchard, OK 73010                                                                                                 First Class Mail
Voting Party                   First Umc Charlottesville, Va ‐ Charlottesville             c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc China Grove                                       c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Chula Vista                                       Attn: Brian Cox, Dir of Operations               1200 E H St                                               Chula Vista, CA 91910                                                             Ariana.Horcasitas@fumccv.org      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Clewiston                                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc Clifton                                           c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Falfurrias                                        302 W Allen St                                   Falfurrias, TX 78355                                                                                                                                                          First Class Mail
Voting Party                   First Umc Forreston                                         402 1st Ave                                      Forreston, IL 61030                                                                                                                         kpduits@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Gainsville                                        c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Gainsville                                        419 NE 1st St                                    Gainesville, FL 32601                                                                                                                                                         First Class Mail
Voting Party                   First Umc Granite Falls                                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Hampton ‐ Hampton                                 c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Hartselle                                         Attn: James Russell Jr                           1227 Chickasaw Ln NW                                      Hartselle, AL 35640                                                               rayferrr@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Hickory                                           c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc Hobe Sound                                        c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Hobe Sound                                        10100 SE Federal Hwy                             Hobe Sound, FL 33455                                                                                                                                                          First Class Mail
Voting Party                   First Umc Hollidaysburg (1440)                              c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200     Pittsburgh, PA 15228                               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Homestead                                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc Hurst                                             c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc Hurst                                             521 W Pipeline Rd                                Hurst, TX 76053                                                                                                                                                               First Class Mail
Voting Party                   First Umc Kissimmee                                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc Land O' Lakes                                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc Liberty                                           c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Lucedale                                          Attn: David Newton                               5101 Main St                                              Lucedale, MS 39452                                                                newtondavid93@icloud.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Mcgregor                                          c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Mcgregor                                          500 S Madison                                    Mcgregor, TX 76657                                                                                                                                                            First Class Mail
Chartered Organization         First Umc Mens Club Of Lebanon                              Middle Tennessee Council 560                     415 W Main St                                             Lebanon, TN 37087‐3501                                                                                              First Class Mail
Chartered Organization         First Umc Mens Club Of Manchester                           Middle Tennessee Council 560                     105 Church St                                             Manchester, TN 37355‐1670                                                                                           First Class Mail
Chartered Organization         First Umc Mens Club‐Gallatin                                Middle Tennessee Council 560                     149 W Main St                                             Gallatin, TN 37066‐3231                                                                                             First Class Mail
Voting Party                   First Umc Moorestown 446 E Camden Ave                       c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc Morganton                                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc Mount Dora                                        c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc Mt Holly                                          c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Narrows                                           P.O. Box 398                                     Narrows, VA 24124                                                                                                                           revdougarmstrong@yahoo.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Neenah‐Menasha                                    Attn: Rebecca Henry                              108 W Doty Ave                                            Neenah, WI 54956                                                                  rhenry0674@gmail.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc New Milford (076123)                              c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200     Pittsburgh, PA 15228                               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Norwood Nc                                        c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Of Alpine Tx                                      c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Chartered Organization         First Umc Of Augusta                                        Quivira Council, Bsa 198                         2420 Ohio St                                              Augusta, KS 67010‐2384                                                                                              First Class Mail
Voting Party                   First Umc Of Avalon                                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         First Umc Of Columbia                                       Middle Tennessee Council 560                     222 W 7th St                                              Columbia, TN 38401‐3234                                                                                             First Class Mail
Chartered Organization         First Umc Of Franklin                                       Middle Tennessee Council 560                     120 Aldersgate Way                                        Franklin, TN 37069‐1430                                                                                             First Class Mail
Chartered Organization         First Umc Of Gainesboro                                     Middle Tennessee Council 560                     P.O. Box 206                                              Gainesboro, TN 38562‐0206                                                                                           First Class Mail
Chartered Organization         First Umc Of Germantown                                     Cradle of Liberty Council 525                    6001 Germantown Ave                                       Philadelphia, PA 19144‐2111                                                                                         First Class Mail
Voting Party                   First Umc Of Glen Ellyn                                     424 Forest                                       Glen Ellyn, IL 60137                                                                                                                        dr.daniel.diss@gmail.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Of Hammond                                        Attn: Christopher Allen Tiedeman                 9548 Fran Lin Pkwy                                        Munster, IN 46324                                                                 chris.tiedeman@inumc.org          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Of Hendersonville Inc                             c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Of Hightstown                                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         First Umc Of Lakeland                                       Greater Tampa Bay Area 089                       72 Lake Morton Dr                                         Lakeland, FL 33801‐5345                                                                                             First Class Mail
Chartered Organization         First Umc Of Lavergne                                       Middle Tennessee Council 560                     248 Old Waldron Rd                                        La Vergne, TN 37086‐4402                                                                                            First Class Mail
Chartered Organization         First Umc Of Lebanon                                        Middle Tennessee Council 560                     415 W Main St                                             Lebanon, TN 37087‐3501                                                                                              First Class Mail
Voting Party                   First Umc Of Manchester Nh                                  Attn: Treasurer                                  961 Valley St                                             Manchester, NH 03103                                                              WadeMEwing@aol.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         First Umc Of Murfreesboro                                   Middle Tennessee Council 560                     265 W Thompson Ln                                         Murfreesboro, TN 37129‐1223                                                                                         First Class Mail
Voting Party                   First Umc Of N Platte Nebraska                              c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Of Nanticoke (40454)                              c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200     Pittsburgh, PA 15228                               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Of Newton                                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
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Voting Party                   First Umc Of Ocala                                          c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Of Paintsville Kentucky Inc                       Attn: Robin Stone                                505 Main St                                               Paintsville, KY 41240                                                             secretary@paintsvillefumc.net     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         First Umc Of Pensacola                                      Gulf Coast Council 773                           6 E Wright St                                             Pensacola, FL 32501‐4846                                                                                            First Class Mail
Voting Party                   First Umc Of Port Byron                                     Attn: Jim Crozier                                9414 228th St N                                           Port Byron, IL 61275                                                              jim.crozier@outlook.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Of Port Orange, Inc                               c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         First Umc Of Sebring                                        Greater Tampa Bay Area 089                       126 S Pine St                                             Sebring, FL 33870‐3640                                                                                              First Class Mail
Voting Party                   First Umc Of Somerville                                     Attn: Pastor Victoria Simons                     P.O. Box 276                                              Somerville, TX 77879                                                              pastorvickie@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Of Somerville                                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Of Stuart                                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   First Umc Of Torrington                                     Attn: Rev Ximena Diaz                            21 Fern Dr                                                Torrington, CT 06790                                                              fumctorrington@gmail.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         First Umc Of Tullahoma Mens Club                            Middle Tennessee Council 560                     208 W Lauderdale St                                       Tullahoma, TN 37388‐3366                                                                                            First Class Mail
Chartered Organization         First Umc Of Wartrace                                       Middle Tennessee Council 560                     305 Main St E                                             Wartrace, TN 37183                                                                                                  First Class Mail
Chartered Organization         First Umc Of Winchester                                     Middle Tennessee Council 560                     P.O. Box 427                                              Winchester, TN 37398‐0427                                                                                           First Class Mail
Voting Party                   First Umc Of Winter Garden Inc                              c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200       Tampa, FL 33602                                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 114 of 442
                                                                                   Case 20-10343-LSS                                                                                        Doc 8171                                             Filed 01/06/22                                           Page 130 of 457
                                                                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                                                                     Service List
                                                                                                                                                                                                                              Served as set forth below

        Description                                                         Name                                                                                                                                                  Address                                                                                                      Email                Method of Service
Voting Party                   First Umc Olympia                                                                             c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First Umc Palmetto                                                                            c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First Umc Perkasie                                                                            c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First Umc Pinellas Park                                                                       c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First Umc Premont                                                                             246 SW 1st St                                            Premont, TX 78375                                                                                                                                                  First Class Mail
Voting Party                   First Umc Riverstone                                                                          c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First Umc Roosevelt                                                                           Attn: Andrea Smith                                       30 Union Pl                                                       Roosevelt, NY 11575                                         rooseveltumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First Umc Shamokin                                                                            Attn: Rev Alicia Julia‐Stanley                           100 E Sunbury St                                                  Shamokin, PA 17872                                          NW.Shamokin.First@epaumc.org         Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First Umc Starke                                                                              c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First Umc Tuckerton                                                                           c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First Umc, Inc Of Emporia                                                                     c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First Umc, Starkville, Miss                                                                   Attn: Leonard Smith, Church Admin                        200 W Lampkin St                                                  Starkville, MS 39759                                        leonard@first‐umc.org                Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First Umc‐Wauchula                                                                            c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         First Unitarian Church Of Dallas                                                              Circle Ten Council 571                                   4015 Normandy Ave                                                 Dallas, TX 75205‐1750                                                                            First Class Mail
Voting Party                   First United Church Of Elon College, Nc Also Known As First United Methodist Church Of Elon   Attn: James Waddell                                      1630 Westbrook Ave                                                Elon, NC 27244                                              office@elonfumc.org                  Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Church Of Hereford                                                               Attn: Secretary/Treasurer And/Or Pastor                  501 Main St                                                       Hereford, TX 79045                                                                               First Class Mail
Voting Party                   First United Church Of Oak Park                                                               Attn: John Edgerton                                      848 Lake St                                                       Oak Park, IL 60302                                          sallie.smylie@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Church Of Oak Park                                                               Attn: Sallie G Smylie                                    848 Lake St                                                       Oak Park, IL 60301                                          sallie.smylie@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Church Of Pennigton Gap                                                          Attn: E Harber Jr                                        41880 E Morgan Ave                                                Pennington Gap, VA 24277                                    pgfumc@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Church Of Pennington Gap                                                         Attn: E Harber                                           41880 E Morgan Ave                                                Pennington Gap, VA 24277                                    pgfumc@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Church Osage City Ks                                                             c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Church Osage City Ks                                                             219 S 6Th                                                Osage City, KS 66523                                                                                                                                               First Class Mail
Voting Party                   First United Meth Church Ringgold La                                                          Attn: James Reid                                         2500 Military Rd                                                  Ringgold, LA 71068                                                                               First Class Mail
Voting Party                   First United Method Church                                                                    Attn: Kathy Smith & J Randy Cooper                       225 Mail St                                                       Martin, TN 38237                                            Treasurer@martinfumc.org             Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodest Church Logansport In                                                   c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist                                                                        Attn: Irene Hackett                                      1131 Hidden Valley Rd                                             Pownal, VT 05261                                            rev.jill.colley.robinson@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist                                                                        Attn: Carolyn Burrall                                    1099 W Pine St                                                    Heber Springs, AR 72543                                     lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist                                                                        c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist ‐ Menominee, MI                                                        Attn: Liane R Callow                                     601 10th Ave                                                      Menominee, MI 49858                                         lrcallow61@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Seagoville Texas                                                       Attn: Goin Postal                                        Attn: Rev Dana Kent                                               103 N Kaufman 109          Seagoville, TX 75159             danakent10@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist 126 S Pine St Sebring, Fl 33870                                        c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Boise                                                                  c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Casper                                                                 Blithe Cummings Fumc                                     302 E 2nd St                                                      Casper WY 82601                                             treasurer@fumccasper.com             Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Chuch Of Schenectady                                                   Attn: Rev Sara E Baron                                   603 State St                                                      Schenectady, NY 12305                                       s.baron@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Susan Wiesehan                                     2127 Ichabod Ln                                                   Edinburg, TX 78539                                          wiesehan@sbcglobal.net               Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Rev Valarie Englert                                801 W Ave B                                                       Garland, TX 75040                                           venglert@fumcgarland.org             Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Pastor Marvin Ewertt                               P.O. Box 447                                                      Goldthwaite, TX 76844                                       umcgold@centex.net                   Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Troy Merseal                                       4349 St Johns Rd                                                  Washington, MO 63090                                        troy@firstwashingtonumc.org          Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Janet D Jones                                      234 N Main St                                                     Kenton, OH 43326                                            treasurer@kentonfirst.org            Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Treasurer, First United Methodist Church           332 E 2nd St                                                      Casper, WY 82601                                            treasurer@fumccasper.com             Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Cathy Camera                                       100 Braun St                                                      Crossvile, TN 38555                                         treasurer@crossvillefumc.com         Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 P.O. Box 357                                             Homer, LA 71040                                                                                                               thuff@fumchomer.com                  Email
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Voting Party                   First United Methodist Church                                                                 Attn: James Morrise                                      339 10th St Ne                                                    Mason City, IA 50401                                        sunshiness@hotmail.com               Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Stephen Brice                                      144 Ocean Ave                                                     Amityville, NY 11701                                        Stevensail@hotmail.com               Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Business Administrator                             518 19th St N                                                     Birmingham, AL 35203                                        steve@firstchurchbhm.com             Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Belvidere First                                          610 Bonus Ave                                                     Belvidere, IL 61008                                         srpastor@fumcbelvidere.com           Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Finance Office                                     302 N Center St                                                   Cotulla, TX 78014                                           sheryl78368@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Scott Bixler                                             300 East Main                                                     Missoula, MT 59801                                          sfbixler@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Mike Brown, Senior Pastor                          410 Williams St                                                   Waycross, GA 31501                                          seniorpastor@waycrossfirst.com       Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Phillip Hamilton Trustees Chairman                 311 Jackson St                                                    Russellville, AL 35653                                      secretary@russellvilefumc.com        Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Penny Sanders                                      P.O. Box 232                                                      32 N Davis St              Keyser, WV 26726                 secretary@keyserfirstmethodist.com   Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Debbie Bunker                                      820 9th St                                                        Berthoud, CO 80513                                          secretary@berthoudumc.org            Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Treasurer, First Umc                               18 Pleasant St                                                    Littleton, NH 03561                                         sdk7_2001@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Harry White, Treasurer, Rockford First Umc         P.O. Box 556                                                      Rockford, IA 50468                                          rock4umc@myomnitel.com               Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Secretary/Treasurer And/Or Pastor                  1004 E Broadway                                                   Brownfield, TX 79316                                        rmedearis@lubbocklawfirm.com         Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 403 S Cornell Ave                                        Fritch, TX 79036                                                                                                              rmedearis@lubbocklawfirm.com         Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Ronald Ruffo                                       P.O. Box 2048                                                     Statesboro, GA 30459                                        rkersey@statesborofirst.com          Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Rev Lisa Turnbull                                  2057 Obrie                                                        P.O. Box 216               Zwolle, LA 71486                 revturnbull@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Carol Kress                                        119 S Georgia Ave                                                 Mason City, IA 50401                                        revkress@outlook.com                 Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Chris Erickson                                     1102 Elm St                                                       Lisbon, ND 58054                                            rerickson@drtel.net                  Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Rev Michael Ludle                                  719 Flinn St                                                      Ravenswood, WV 26164                                        ravenswood1stumc@frontier.com        Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Pam Randall                                        P.O. Box 137                                                      Quitman, MS 39355                                           quitmanfumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Larry Ensor                                        P.O. Box 2590                                                     Quinlan, TX 75474                                           ptaggert@netportusa.com              Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Paul Fong, Trustee First United Methodist Church   2950 Washington Blvd                                              Fremont, CA 94539                                           paulkfong@comcast.net                Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Sabina Terrades                                    449 Main St                                                       Southbridge, MA 01550                                       pastorsabinaterrades@gmail.com       Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Helen R. Oates                                     304 W 5th St                                                      Williamstown, WV 26187                                      pastorhelenfirstumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Eric Blachford                                     1100 N Div St                                                     Harvard, IL 60033                                           pastorericblachford@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Dana Lynn Coker                                          801 Star St                                                       Bonham, TX 75418                                            pastordanacoker@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Pastor Aj Bush                                     203 E 200 S                                                       Salt Lake City, UT 84111                                    pastorajbush@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Rev Edgar Solis                                    1001 Pleasant St                                                  Demoines, IA 50309                                          pastor@dmfirstchurhc.org             Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 1339 W 400 N                                             Marriott‐Slaterville, UT 84404                                                                                                ogdenfumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Mykayla Mullins                                    224 Broad St                                                      P.O. Box 178               Mason, TX 76856                  officemgr@fumcmason.org              Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 600 E Hammond St                                         Red Oak, IA 51566                                                                                                             office@redoakfumc.org                Email
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Voting Party                   First United Methodist Church                                                                 727 Elm St                                               Perry, OK 73077                                                                                                               office@perryfumc.com                 Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Paul Smith                                         210 N 2nd Ave E                                                   Newton, IA 50208                                            office@newtonfirst.org               Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Debra Hanson                                       129 Miller Ave                                                    Portsmouth, NH 03801                                        office@fumcportsmouth.net            Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Pastor                                             59 E Putnam Ave                                                   Greenwich, CT 06830                                         office@fumcgreenwich.com             Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Kathy Trevino                                      917 10th Ave                                                      Greeley, CO 80631                                           office@fumcgreeley.org               Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Peter Jacobs                                       320 S Main St                                                     Fort Atkinson, WI 53538                                     office@fortmethodist.org             Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Chrystal Qualls                                    P.O. Box 1670                                                     Ashland, KY 41105                                           office@chocolatechurch.org           Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Treasurer, United Methodist Church                 220 S Main St                                                     New Carlisle, OH 45344                                      nefirstumc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Heart of Longmont Church                                 350 11th Ave                                                      Longmont, CO 80501                                          murphyslaw229@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Rev Ralph Pieper                                   808 E Mt Morris St                                                Mt. Morris, MI 48458                                        mtmorrisfirstumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 205 Mary Ann Dr                                          Brandon, MS 39042                                                                                                             morrowrealty@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Brittany Taylor & Charles B Mcelveen               307 E Godbold St                                                  Marion, SC 29571                                            marionfumc@bellsouth.net             Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Laurence Holker Potts                              4717 Warwick Ln                                                   Bryan, TX 77802                                             lhpjr1@hotmail.com                   Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Lynn Halley                                        325 E Franklin St                                                 Appleton, WI 54911                                          lhalley@appfumc.org                  Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: S Greg Kneer, Treasurer                            303 S Broad St                                                    Knoxville, IL 61448                                         knoxvilleumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Carleton Robertson                                 14 Church St                                                      Lonaconing, MD 21539                                        kheerak@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Heerak Kim                                         14706 Smith Hill Rd SW                                            Frostburg, MD 21532                                         kheerak@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Rodney Lindsey                                     2285 Hwy 1 N                                                      Greenville, MS 38703                                        jrlpdl@aol.com                       Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 James Rodney Lindsey                                     402 Washington Ave                                                Greenville, MS 38701                                        jrlpdl@aol.com                       Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Jerrold Kelly                                      201 Monroe St                                                     Jefferson City, MO 65101                                    jkelly@jcfumc.org                    Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Jeffrey J Hunt                                     34 S Main St                                                      Rochester, NH 03867                                         jjhrev@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Jill Hankins                                       1610 Prince St                                                    Conway, AR 72032                                            jhankins@conwayfumc.org              Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: James N Flagg Jr                                   800 E Main St                                                     Humble, TX 77338                                            jflagg@fumc‐humble.org               Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 Attn: Jonathan Crail                                     Dekalb: First United Methodist Church                             317 N 4th St               Dekalb, IL 60115                 Jcrail@firstumc.net                  Email
                                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church                                                                 4300 Howard Ave                                          Westeen Springs, IL 60558                                                                                                     jcampanono@gmail.com                 Email
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In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                                     Page 115 of 442
                                                                                     Case 20-10343-LSS                                             Doc 8171                                             Filed 01/06/22                                               Page 131 of 457
                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                            Service List
                                                                                                                                                                                     Served as set forth below

        Description                                                           Name                                                                                                       Address                                                                                                      Email                                 Method of Service
Voting Party                   First United Methodist Church                                Attn: Chris Schwartzkopf, Trustee                302 M State St                                                    Geneseo, IL 61254                                               info@peopleneedjesus.org                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Trustee Chair                              P.O. Box 609                                                      Henryetta, OK 74437                                             henryettamethodist@sbcglobal.net                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Harold E Chamberlain                       236 Mullin St                                                     Watertown, NY 13601                                             hechamberlin37@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Barbara Grishow                            310 W 11th St                                                     Pueblo, CO 81003                                                grishows@comcast.net                              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: George M Via                               104 S Main St                                                     Boomsville, MS 38829                                            gria@georgevia.com                                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Geisa Matos                                52 Church St                                                      Marlborough, MA 01752                                           geisa3matos@gmail.com                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Gary Leroy Phillis                         5512 S 1200 W                                                     Riverdale, UT 84405                                             garyphillis47@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                120 N Kellogg St                                 Galesburg, IL 61401                                                                                                               galesburgfumc@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Jeff Dungan                                109 College St                                                    Pittsburg, TX 75686                                             FUMCPittsburg@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                300 E Main                                       Missoula, MT 59801                                                                                                                fumcmissoula@gmail.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Daniel Stone                               39 Exchange St                                                    Milford, MA 01757                                               fumcmilford@gmail.com                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Erin Mcallister                            121 Harrison Sw                                                   Camden, AR 71701                                                fumccamden@sbcglobal.net                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Patti Felmet                               801 Star St                                                       Bonham, TX 75418                                                fumcbonham.office@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Rev Steven J Porter                        920 Main St                                                       Franklin, LA 70538                                              fumcberwick@yahoo.com                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Lamon Geddie                               P.O. Box 1132                                                     Gilmer, TX 75644                                                fumcacct@etex.net                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Holly Hardsaw                              1324 Church St                                                    New Castle, IN 47362                                            fumc@ncmethodist.org                              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                101 E 1st N St                                   Morristown, TN 37814                                                                                                              fumc@fumcmorristown.org                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                207 W 11th St                                    Yankton, SD 57078                                                                                                                 firstumc@iw.net                                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                906 1st Ave, S                                   Fargo, ND 58103                                                                                                                   firstumc@firstumcfargo.org                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Treasurer, First United Methodist Church   P.O. Box 518                                                      Durant, OK 74702                                                firstumc@durantumc.org                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Paul L Manson                              2660 Oak Ave S                                                    Huron, SD 57350                                                 finance@huronfumc.org; pastorpaul@hurcnfumc.org   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Missy Garrett                              300 E Houston St                                                  Marshall, TX 75670                                              finance@fumcmarshall.org                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Rev Edward B Simmons                       900 S Shoreline Blvd                                              Corpus Christi, TX 78401                                        esimmons@ccfumc.com                               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                   erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Edward Reifenberg                          2416 W Cloverdale Park                                            Montgomery, AL 36106                                            ereifenberg@fumcmontgomery.org                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Dick Wempen                                103 N Locust St                                                   Assumption, IL 62510                                            dwempen@aol.com                                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Carrie Stargardt                           501 Howe St                                                       Green Bay, WI 54301                                             dkalas@fumcgb.org                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                David John Kalas                                 501 Howe St                                                       Green Bay, WI 54301                                             dkalas@fumcgb.org                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Rev Earl Dickerson                         P.O. Box 2                                                        Parsons, TN 38363                                               dickerson.earl@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Debbie Faulkner                            214 S Denton Str                                                  Gainesville, TX 76240                                           dfaulkner@fumcgainesville.org                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Larry Lawman                               501 S Walnut St                                                   Dexter, MD 63841                                                dexterfirstumc@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Diane Carson                               316 Centerville St, NW                                            Denham Springs, LA 70726                                        dcarson@fumc‐ds.org                               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                317 N Main                                       Altus, OK 73521                                                                                                                   darjaltusfumc@cableone.net                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Clifford Cole                              P.O. Box 324                                                      Piggott, AR 72454                                               colelaw@nwcable.net                               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Connie Landrum, Trustees Chair             201 N Main St                                                     P.O. Box 258                  Sylvania, GA 30467                clevefreeman30467@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                2011 Branner Ave                                 Jefferson City, TN 37760                                                                                                          cindylc@firstumcjc.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Treasurer                                  P.O. Box 1444                                                     Great Falls, MT 59403                                           Churchoffice@umcgreatfalls.org                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Barbara Leitch                             275 W Michigan Ave                                                Jackson, MI 49201                                               church@firstumcjackson.org                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Rev Dr Christopher Fisher                  420 Saylor St                                                     Schuylkill Haven, PA 17972                                      cfisher@havenfirstumc.org                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                P.O. Box 961 Cs                                  3301 W St                                                         Weirton, WV 26062                                               carmikeclements@msn.com                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Treasurer of First Umc                     601 Main St                                                       Mount Vernon, IN 47620                                          cadie@firstumcmv.com                              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Rev Bryce Feighner                         209 W Green St                                                    Hastings, MI 49058                                              brycefeighner@yahoo.com                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Brian L Seders                             315 Kerens Ave                                                    Elkins, WY 26241                                                blseders@gmail.com                                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Patricia Flores                            P.O. Box 825                                                      Raymondville, TX 78580                                          bcareaga@riotx.org                                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Jimmy Ellington                            P.O. Box H200                                                     Lyford, TX 78569                                                bcareaga@riotx.org                                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Treasurer                                  428 Washington St                                                 Audubon, IA 50025                                               audfirstumc@gmail.com                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Paige Campbell                             308 N 2nd St                                                      Altamont, IL 62411                                              altamontfumc@gmail.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Lawrence Alport                            6635 Homan Ave                                                    Hammond, IN 46324                                               admin@hammondfumc.org                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Arturo Cadar                                     1062 Fairmont Pkwy                                                Pasadena, TX 77504                                              acadar@firstpasadena.org                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Robert E Hoffman                           1000 S 10th St                                                    Lockport, IL 60441                                              1umclockport@ameritech.net                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Secretary/Treasurer And/Or Pastor          1411 Broadway                                                     Lubbock, TX 79401                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Stephen C Mahaffey                               201 S Shelby St                                                   Carthage, TX 75633                                                                                                First Class Mail
Voting Party                   First United Methodist Church                                Attn: Joseph Fernald Jr                          217 S Railroad Ave                                                Brookhaven MS 39601                                                                                               First Class Mail
Voting Party                   First United Methodist Church                                Attn: Robert G Sheppard Trustee                  236 7th Ave S                                                     Clinton, IA 52732                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Secretary/Treasurer And/Or Pastor          2700 College Ave                                                  Snyder, TX 79549                                                                                                  First Class Mail
Voting Party                   First United Methodist Church                                Attn: Michael J Rowe                             360 Water St                                                      Framingham, MA 01701                                                                                              First Class Mail
Voting Party                   First United Methodist Church                                Attn: Greg Beadle                                415 N Seminary St                                                 Florence, AL 35630                                                                                                First Class Mail
Voting Party                   First United Methodist Church                                First United Methodist Church, Charles Marsh     49 S Green St                                                     Berkeley Springs, WV 25411                                                                                        First Class Mail
Voting Party                   First United Methodist Church                                Robert D Conyer                                  527 N Blvd                                                        Baton Rouge, LA 70802                                                                                             First Class Mail
Voting Party                   First United Methodist Church                                Kathy A Trevino                                  917 10th Ave                                                      Greeley, CO 80631                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                25 Broadway                                      Amityville, NY 11701                                                                                                                                                                First Class Mail
Voting Party                   First United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                                                                     First Class Mail
Voting Party                   First United Methodist Church                                1023 N 6th St                                    Chillicothe, IL 61523                                                                                                                                                               First Class Mail
Voting Party                   First United Methodist Church                                310 S Main St                                    Lexington, NC 27292                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church                                Attn: Joy Morgan                                 P.O. Box 32                                                       Columbus, MS 39703                                                                                                First Class Mail
Voting Party                   First United Methodist Church                                Attn: Cathy Camera                               P.O. Box 752                                                      Crossville, TN 38567                                                                                              First Class Mail
Voting Party                   First United Methodist Church Baldwyn, Ms                    Attn: Craig Gaines                               312 W Main St                                                     P.O. Box 146                  Baldwyn, MS 38824                 owenpet@yahoo.com                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Bowie                        Attn: Cynthia G Knobloch                         P.O. Box 778                                                      Bowie, TX 76230                                                 fumcoffice@fumcbowie.org                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Canton                       Attn: Pastor Adam Muckleroy                      600 S Buffalo St                                                  Canton, TX 75103                                                lisa@cantonfum.com                                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Carlsbad, Nm                 c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                   erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Clearwater                   c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                   erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Forrest City                 c/o Friday, Eldredge & Clark LLP                 Attn: Lindsey Emerson Raines                                      400 W Capitol Ave, Ste 2000   Little Rock, AR 72201             lraines@fridayfirm.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Forrest City                 Attn: Brad Beavers                               P.O. Box 66                                                       Forrest City, AR 72336                                          brbeavers@sbcglobal.net                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Georgetown                   c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                   erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Georgetown                   410 E University Ave                             Georgetown, TX 78626                                                                                                                                                                First Class Mail
Voting Party                   First United Methodist Church ‐ Grand Jct                    Attn: Phyllis Neff & Roxie Denning               522 White Ave                                                     Grand Junction, CO 81501                                        treasurer@fumcgj.org                              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Green Cove Springs           c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                   erice@bradley.com                                 Email
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Voting Party                   First United Methodist Church ‐ Hamilton                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                   erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Kirksville, Mo               Attn: Scott Beard                                300 E Washington St                                               Kirksville, MO 63501                                            pastorscottbeard@gmail.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Laredo                       Attn: Bill Wells, Jr                             1220 Mcclelland St                                                Laredo, TX 78040                                                officefumcl@gmail.com                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Lexington                    c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                   erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Lindale                      Attn: Pastor Michael Peschkle                    402 W Hubbard                                                     Lindale, TX 75771                                               michaelspeschke@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Lombard                      155 S Main St                                    Lombard, IL 60148                                                                                                                 revlfr@firstumclombard.org                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Mesquite, Tx                 Attn: Senior Pastor                              P.O. Box 852909                                                   Mesquite, TX 75185                                              office@firstmesquiteumc.org                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Modesto                      Attn: Melissa Schecter ‐ Treasurer               850 16th St                                                       Modesto, CA 95354                                               susan@firstumcmodesto.org                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church ‐ Monroe, La                   Attn: Pastor Brian Mercer, Senior Pastor         3900 LP Rd                                                        Monroe, LA 71201                                                pastorbrian@firstmethodistmonroe.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church (080400)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church (100840)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church (101560)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church (102746)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church (102826)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church (103546)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
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Voting Party                   First United Methodist Church (103980)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church (103980)                       c/o Bentz Law Firm                               Attn: Sean Bollman                                                680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church (104040)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church (150662)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
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Voting Party                   First United Methodist Church (1570)                         c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
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Voting Party                   First United Methodist Church (176928)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church (176963)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church (176963)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church (178381)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist Church (178528)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
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Voting Party                   First United Methodist Church (180908)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
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Voting Party                   First United Methodist Church (181526)                       c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                            Page 116 of 442
                                                                                     Case 20-10343-LSS                                                     Doc 8171                                             Filed 01/06/22                                               Page 132 of 457
                                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                                    Service List
                                                                                                                                                                                             Served as set forth below

        Description                                                           Name                                                                                                               Address                                                                                                                 Email                    Method of Service
Voting Party                   First United Methodist Church (182235)                         c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (182235)                         c/o Bentz Law Firm                                     Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (184358)                         c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (2610)                           c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (32107270)                       c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (4170)                           c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (85344)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (85366)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (85708)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (85787)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (86601)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (87308)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (88724)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (88724)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (89125)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
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Voting Party                   First United Methodist Church (89524)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (89901)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
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Voting Party                   First United Methodist Church (95206)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
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Voting Party                   First United Methodist Church (95866)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
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Voting Party                   First United Methodist Church (97342)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
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Voting Party                   First United Methodist Church (97626)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (97785)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (97923)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (98142)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
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Voting Party                   First United Methodist Church (98346)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
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Voting Party                   First United Methodist Church (98803)                          c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200    Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church (Mannington)                     Attn: Tony Wayne                                       430 Big Run Rd                                                    Metz, WV 26585                                                                                                  First Class Mail
Voting Party                   First United Methodist Church (Of Trenton, Mi)                 Attn: Jerry Ward                                       2610 W Jefferson Ave                                              Trenton, MI 48183                                                           2wardj@comcast.net                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church , Marshall, Il                   Marshall First United Methodist                        702 Plum St                                                       Marshall, IL 62441                                                          jschroeder@bswlawfirm.com           Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church 415 N Lee St                     c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                               erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church 448 N Kansas, Ne 68978           c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                               erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church 715 Diamond                      c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                               erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Aberdeen Ms                      Attn: Bob Scott Trustee                                P.O. Box 93                                                       Aberdeen, MS 39730                                                          mail@fumcaberdeen.org               Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Alcoa                            Attn: Johnny Walker, Chair Administrator               617 Gilbert St                                                    Alcoa, TN 37701                                                             Johnny9143@ATT.net                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Alexandria, La                   Attn: Tom Goodwin                                      2727 Jackson St                                                   Alexandria, LA 71301                                                        tomgoodwin@bc.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Algona Ia                        Attn: Pastor                                           201 W Nebraska St                                                 Algona, IA 50511                                                            mpete@petelipp.com                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Algona Ia                        c/o Peterson & Lipps                                   Attn: Martin Peterson                                             6 E State St                  P,O, Box 575               Algona, IA 50511   mpete@petelipp.com                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Amesbury Ma                      Attn: Steven Murray                                    92 Newton Rd                                                      Plaistow, NH 03865                                                          Steve@rock‐church.org               Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Anadarco                         P.O. Box 803                                           Anadarko, OK 73005                                                                                                                            danddp45@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Anadarco                         Attn: David Powell                                     202 W Oklahoma                                                    Anadarko, OK 73005                                                                                              First Class Mail
Voting Party                   First United Methodist Church Arlington, Tx                    c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                               erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Arlington, Tx                    313 N Center St                                        Alrington, TX 76011                                                                                                                                                               First Class Mail
Voting Party                   First United Methodist Church At Flint, Mi                     Attn: Treasurer                                        225 W Court St                                                    Flint, MI 48502                                                             nanettenoyce@courtstreetflint.org   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church At Newton                        c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                               erice@bradley.com                   Email
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Voting Party                   First United Methodist Church Austin                           1201 Lavaca St                                         Austin, TX 78701                                                                                                                              dave@fumcaustin.org                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Bainbridge, Ga                   Attn: Christi Murray                                   P.O. Box 541                                                      Bainbridge, GA 39818                                                        secretary@bainbridgefumc.org        Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Blanchard, Ok                    Attn: Fumc Administrative Assistant                    P.O. Box 490                                                      Blanchard, OK 73010                                                         admin@blanchardfumc.org             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Boerne Tx                        Attn: Marcus Anderson                                  2034 Grand LP                                                     Boerne, TX 78006                                                            marcus@gvtc.com                     Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Boerne Tx                        Attn: Marcus Anderson                                  205 James St                                                      Boerne, TX 78006                                                            fumc@boeme.org                      Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Bossier                          Attn: G Pierce                                         201 John Wesley Blvd                                              Bossier City, LA 71112                                                      gpierce@fumcbossier.org             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Boyce                            Attn: Bob Evans                                        217 W Lakes Blvd                                                  Alexandria, LA 71303                                                        fumcboyce@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Bridgeport                       Attn: Rod Sutherland                                   608 17th St                                                       Bridgeport, TX 76426                                                        rod@sutherlandenergy.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Broken Arrow                     Attn: Kathy Glassco                                    112 E College St                                                  Broken Arrow, OK 74012                                                      Kathy.glassco@fumcba.org            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Brownsville                      Attn: Phillip Hoeflinger                               Fumc Brownsville                                                  1225 Boca Chica Blvd          Brownsville, TX 78520                         office@fumcbrownsville.org          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Caldwell                         Attn: Wayne Calder                                     306 W Fox St                                                      Caldwell, TX 77836                                                          fumcc306@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Canadian                         Attn: Secretary/Treasurer And/Or Pastor                520 Main St                                                       Canadian, TX 79014                                                          rmedearis@lubbocklawfirm.com        Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Cedar Hill                       Attn: Larry Horner, Treasurer                          P.O. Box 187                                                      Cedar Hill, TX 75106                                                        office@1stch.org                    Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Chandler Tx                      Attn: Debbie Bernard                                   507 N Brand                                                       Chandler, TX 75758                                                          bryan@chandlerfumc.org              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Chestertown Md                   c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                               erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Church                           Attn: Steve Mahaffeg                                   201S Shelby St                                                    Carthage, TX 75633                                                          Carthagefume@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Clermont                         c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                               erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Coppell                          Attn: Bentley Foster                                   420 S Heartz                                                      Coppell, TX 75019                                                           bfoster@fumccoppell.org             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Corsicana                        c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                               erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Corsicana                        320 N 15th St                                          Corsicana, TX 75110                                                                                                                                                               First Class Mail
Voting Party                   First United Methodist Church Corvallis                        c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                               erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Couverneur                       Ron Mcdougall                                          34 Grove St                                                       Gouverneur, NY 13642                                                        firstumcgouverneur@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Creston, Iowa                    Attn: Treasurer, First Umc                             P.O. Box 265                                                      Creston, IA 50801                                                           fumc.creston@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Dallas                           Attn: Wendy Westberg                                   1928 Ross Ave                                                     Dallas, TX 75201                                                            wwestberg@fumcdallas.org            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Dayton Texas                     Attn: Guy Williams                                     P.O. Box 505                                                      Dayton, TX 77535                                                            guy@firstumcdayton.org              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Dba Riverstone Church 808 N Mo   c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                               erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Decatur Il                       Attn: Rev Camilla Hempstead                            201 W North St                                                    Decatur, IL 62522                                                           pastorcamilla@decaturfirstumc.org   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Decatur Il                       Attn: Nysa Legions                                     201 W North St                                                    Decatur, IL 62522                                                                                               First Class Mail
Voting Party                   First United Methodist Church Deming                           c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200      Tampa, FL 33602                               erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Desoto, Texas                    Attn: Pastor Kevin Strempke                            310 Roaring Springs Dr                                            Desoto, TX 75115                                                            kevinstrempke@earthlink.net         Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Duncanville Texas                Attn: Business Manager                                 403 S Main St                                                     Duncanville, TX 75116                                                       abril@fumcd.com                     Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church El Campo, Texas                  1001 Ave I                                             El Campo, TX 77437                                                                                                                                                                First Class Mail
Voting Party                   First United Methodist Church Fairfield                        Attn: Pastor Richard Heyduck                           201 N Mount St                                                    Fairfield, TX 75840                                                         fumcfairfield@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Fort Smith                       c/o Friday Eldredge & Clark LLP                        Attn: Lindsey Raines                                              400 W Capitol Ave, Ste 2000   Little Rock, AR 72201                         lraines@fridayfirm.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Fort Smith                       Attn: William Reeves                                   200 N 15th St                                                     Ft Smith, AR 72901                                                          breeves@arumc.org                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Fulshear                         Barry Boswell                                          8201 Harris St                                                    Fulshear, TX 77441                                                          trustees@firstfulshear.org          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Fulshear                         Attn: Barry Boswell                                    8201 Harris St                                                    Fulshear, TX 77441                                                          connections@firstfulshear.org       Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Gillette                         Attn: Susan Hunt Eickbush                              2000 Lakeway Rd                                                   Gillette, WY 82716                                                          admin@imaginefaith.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Glenwood Springs, CO             Attn: Klaus Kocher                                     P.O. Box 7                                                        Glenwood Springs, CO 81601                                                  lkkocher87@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Glenwood Springs, CO             Attn: Dwight Cook                                      37 Laird Ln                                                       Glenwood Springs, CO 81601                                                  billdarcookies@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Golden                           Attn: Treasurer                                        1500 Ford                                                         Golden, CO 80401                                                            pastor@goldenchurch.org             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Gouverneur                       Attn: Trustee Chair                                    P.O. Box 157                                                      Gouverneur, NY 13642                                                        firstumcgouverneur@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Graham                           Attn: Financial Secretary                              303 N Main St                                                     Graham, NC 27253                                                            claire@fumcgraham‐nc.org            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Hamlet                           Attn: Treasurer                                        300 Charlotte St                                                  Hamlet, NC 28345                                                            dblair@nccumc.org                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Hammond                          Attn: Justin Proctor                                   2200 Rue Denise                                                   Hammond, LA 70403                                                           dpetrolia@fumehammond.org           Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Harlingen                        321 E Harrison                                         Harlingen, TX 78550                                                                                                                           Susie@fumcharlingen.org             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Hartselle                        Attn: James Russell Jr                                 210 Hickory St Se                                                 Hartselle, AL 35640                                                         rhuter@fumcchartselle.org           Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Henderson Nc                     Attn: Treasurer, Tommy Farmer                          114 Church St                                                     Henderson, NC 27536                                                         bfletch@nccumc.org                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Hendersonville, Tennessee        Attn: Ken Richardson Or Current Business Manager & R   217 E Main St                                                     Hendersonville, TN 37075                                                    ken.richardson@hfumc.org            Email
                                                                                              Patrick Parker                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Highland Ny                      57 Vineyard Ave                                        Highland, NY 12528                                                                                                                            Arlene.Dawber@nyac‐umc.com          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church Hinton, Wv                       Attn: Leisa Moten, First United Methodist              312 Ballengee St                                                  Hinton, WV 25951                                                                                                First Class Mail
Voting Party                   First United Methodist Church Hondo                            Attn: Pastor of First Umc Hondo                        1006 16th St                                                      Hondo, TX 78861                                                             jbruhn@riotx.org                    Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church In Andalusia                     Attn: John Roberts / Reesa Daughtrey                   403 E Three Notch St                                              Andalusia, AL 36420                                                         firstumc@andalusia‐umc.com          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church In Flushing                      Attn: Rev Chongho James Kim                            3824 149th St                                                     Flushing, NY 11354                                                          fumc@fumc.net                       Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   First United Methodist Church In Horseheads                    Attn: Alan Ryder, Treasurer                            1034 W Broad St                                                   Horseheads, NY 14845                                                        hltdsfirstumc@styny.rr.com          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                    Page 117 of 442
                                                                                     Case 20-10343-LSS                                                     Doc 8171                               Filed 01/06/22                                               Page 133 of 457
                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                      Service List
                                                                                                                                                                               Served as set forth below

        Description                                                           Name                                                                                                 Address                                                                                                     Email                     Method of Service
Voting Party                   First United Methodist Church Iowa Park                        Attn: Finance Officer                                  201 E Bank St                                       Iowa Park, TX 76367                                             churchoffice@iowaparkumc.org         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Johnson City, Tx                 Attn: Pastor                                           P.O. Box 207                                        Johnson City, TX 78636                                          pastor@fumcjctx.org                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Kerens                           c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Kerens                           202 NW 2Nd                                             Kerens, TX 75144                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church Kerrville, Inc                   Attn: Cathy Robertson, Treasurer Kerrville First Umc   321 Thompson Dr                                     Kerrville, TX 78028                                             cathy.robertson@kfumc.org            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Ketchikan ‐ Ketchikan            c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Killeen                          c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Killeen (Texas)                  Attn: Mike Tuggle                                      3501 E Elms Rd                                      Killeen, TX 76542                                               mike.tuggle@fumc‐killeen.org         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church La Porte                         9601 W Fairmont Pkwy                                   La Porte, TX 77571                                                                                                  gmiller@fumclp.org                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Lexington                        Attn: Jennifer Gibson                                  200 West High St                                    Lexington, KY 40507                                             jennifer@1stumc.org                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Lindale                          Attn: Michael Peschke                                  402 W Hubbard                                       P.O. Box 367                Lindale, TX 75771                   michaelspeschke@gmail.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Livingston Tx.                   Attn: Business Manager                                 P.O. Box 1638                                       Livingston, TX 77351                                            businessmanager@livingstonfumc.org   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Loveland                         Attn: Treasurer, First United Methodist Church         533 N Grant Ave                                     Loveland, CO 80537                                              mhannon@fumcloveland.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Middletown Ct                    First Umc Middletown                                   P.O. Box 2664                                       Middletown, CT 06457                                            barbara.marks@comcast.net            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Millville                        c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Mission, Texas Inc.              Attn: Rev. William Duke                                1101 Doherty Ave                                    Mission, TX 78572                                               revfumc@hotmail.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Mission, Texas Inc.              Attn: Lisa Keller                                      1309 East 29th St                                   Mission, TX 78574                                               lisaharrisonkeller@gmail.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Missouri City                    Attn: Pastor Elizabeth Duffin                          3900 Lexington Blvd                                 Missouri City, TX 77459                                         eduffin@fumcmc.org                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Murfreesboro                     Attn: Fred Halfpap                                     265 W Thompson Ln                                   Murfreesboro, TN 37129                                          fhalfpap@fumcm.org                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Naples 388 First Ave S Naples    c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church New Braunfels                    Attn: John Adams                                       572 W San Antonio St                                New Braunfels, TX 78130                                         don@fumcnb.org                       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Northville                       Attn: Nancy Solomon & Judy Dore                        777 W Eight Mile Rd                                 Northville, MI 48167                                            nsolomon@fumcnorthville.org          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Ada, Oklahoma                 Attn: Brian Matthews                                   129 W 14th St                                       Ada, OK 74820                                                   revbmat@gmail.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Alexander City, Alabama       Attn: Mack Clayton                                     310 Green St                                        Alexander City, AL 35010                                                                             First Class Mail
Voting Party                   First United Methodist Church Of Allen                         Attn: Paul White                                       601 S Greenville Ave                                Allen, TX 75002                                                 larryw@fumcallen.org                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Alpine, Tx                    c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Alvin                         Attn: Pastor Wesley Duncan                             611 W S St                                          Alvin, TX 77511                                                 roxanncorona@alvinmethodist.org      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Alvord                        Attn: Margaret Hunt, Rev Carol Sparks, Liz Johnson     100 W Washington St                                 Alvord, TX 76225                                                admin@fumcalvord.org                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Andover                       181 S Main St                                          P.O. Box 207                                        Andover, OH 44003                                               revpaige@andoverfirstumc.org         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Apopka                        c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Archer City                   Attn: Megan Densmore                                   224 S Center St                                     P.O. Box 1414               Archer City, TX 76351               officemanageracfumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Ardmore, Inc.                 Attn: Lorenzo T Collins                                501 W Main                                          Ardmore, OK 73401                                               holly@fumcardmore.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Ashland Al                    Attn: George L Beale MD                                84041 Hwy 9                                         Ashland, AL 36251                                               glbealemd@me.com                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Atmore, Al                    Burr & Forman LLP                                      H. William Wasden                                   P.O. Box 2287               Mobile, AL 36602                    Bwasden@burr.com                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Atmore, Al                    Attn: Pastor                                           311 S Pensacola Ave                                 Atmore, AL 36502                                                                                     First Class Mail
Voting Party                   First United Methodist Church Of Augustine                     c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Bad Axe                       Attn: Roger Swartzendruber, Ad Council                 216 E Woodworth                                     Bad Axe, MI 48413                                               office@badaxefumc.org                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Bakersfield                   First United Methodist Church                          4600 Stockdale Hwy                                  Bakersfield, CA 93309                                           office@fumcbakersfield.org           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Baldwin                       c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                                                          First Class Mail
Voting Party                   First United Methodist Church Of Batesville                    Attn: Teresa Brown                                     P.O. Box 2014                                       Batesville, AR 72503                                            fumcbatesville@gmail.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Baton Rouge                   Attn: Rev. Brady Whitton, First Umc                    930 N Blvd                                          Baton Rouge, LA 70802                                           bwhitton@firstmethodist.org          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Baxley                        Attn: J Alexander Johnson                              132 W Parker St                                     Baxley, GA 31513                                                jajohnson@jajlaw.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Beaumont                      Attn: Jon G. Stouffer                                  P.O. Box 3247                                       Beaumont, TX 77704                                              jon@fumcbeaumont.org                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Bensenville                   First United Methodist Church                          328 S Church Rd                                     Bensenville, IL 60106                                           dhcramer3@aol.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Birmingham                    Attn: Chairperson Bd of Trustees                       1589 W Maple Rd                                     Birmingham, MI 48009                                            office@fumcbirmingham.org            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Blairstown                    c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Blue Springs                  Attn: Elaine Buchholz                                  301 SW Woods Chapel Rd                              Blue Springs, MO 64015                                          alyttle@bluespringsumc.org           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Blytheville                   Attn: Risa Mann                                        701 W Main                                          Blytheville, AR 72315                                           lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Boothbay Harbor               Richard M Rego                                         79 Townsend Ave                                     Boothbay Harbor, ME 04538                                       richardmrego@gmail.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Boothbay Harbor               Attn: Betty‐Lou Townsend, First Umc Treasurer          P.O. Box 641                                        81 Townsend Ave             Boothbay Harbor, ME 04538           bettylou8585@gmail.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Boulder                       Attn: Fredrick Lee Powers                              3905 Orange Ct                                      Boulder, CO 80304                                               rickpowers@comcast.net               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Boulder                       Attn: Treasurer                                        1421 Spruce St                                      Boulder, CO 80302                                               office@fumcboulder.org               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Bradenton                     c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Bremen ‐ Bremen               c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Brewton                       820 Belleville Ave                                     Brewton, AL 36426                                                                                                   egillian@bellsouth.net               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Brownsville, TN               Attn: Sammy Tillman                                    117 E Franklin St                                   Brownsville, TN 38012                                           youth@brownsvillefumc.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Brushton                      c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Buna, Texas, Inc.             Attn: Suzanne Gentz, Treasurer                         P.O. Box 1148                                       Buna, TX 77612                                                  fumcbunatexas@gmail.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Bunnell, 205 N Pine St, Bun   c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Burkburnett                   Attn: Pastor Elizabeth Talbert                         301 E 4th St                                        Burkburnett, TX 76354                                           info@fumcburkburnett.org             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Burkburnett                   Attn: Elizabeth Talbert                                P.O. Box 896                                        Burkburnett, TX 76354                                                                                First Class Mail
Voting Party                   First United Methodist Church Of Burlington, Vt                Attn: Steve Oakland, First Umc Treasurer               21 Buell St                                         Burlington, VT 05401                                            steveoakland@together.net            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Callahan                      c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Canandaigua                   Attn: Daniel Speers                                    100 N Main St                                       Canandaigua, NY 14424                                           fumcofc@wny.twcbc.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Canoga Park                   Attn: The Rev Lynn Westover                            22700 Sherman Way                                   West Hills, CA 91307                                            preachingbarefoot@att.net            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Canyon                        Attn: Scott Dillard                                    1818 4th Ave                                        Canyon, TX 79015                                                rmedearis@lubbocklawfirm.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Carrollton                    Attn: Jenn Magill                                      2201 E Hebron Pkwy                                  Carrollton, TX 75010                                            jmagill@firstchurch.net              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Cedar Falls                   Attn: Church Treasurer                                 718 Clay St                                         Cedar Falls, IA 50613                                           scott.kober@aboutfirst.com           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Celina                        Attn: Trustees Chair                                   12465 W Fm 428                                      Celina, TX 75009                                                eric@automationintegration.net       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Central Islip, Ny             Attn: David Miller                                     51 Wheeler Rd                                       P.O. Box 1228               Central Islip, NY 11722             dave_fm@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Chenango Bridge               Attn: Rev Robert J Clark                               P.O. Box 501                                        Chenango Bridge, NY 13745                                       rclark@nccumc.org                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Cheraw Sc Inc                 Attn: Debra Armstrong                                  117 3rd St                                          Cheraw, SC 29520                                                fumcangiesmith@gmail.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Cheraw Sc Inc                 Attn: John Moore                                       305 Diane Dr                                        Cheraw, SC 29520                                                                                     First Class Mail
Voting Party                   First United Methodist Church Of Claremont, Nh                 Attn: Priscilla Hull                                   45 Chase St                                         Claremont, NH 03743                                             prh18@icloud.com                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Claremont, Nh                 Attn: Eldon J. Simpson, Jr                             76 Rowell Rd                                        Newport, NH 03773                                               eldonsjass@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Clay Center                   c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Clay Center                   921 5th St                                             Clay Center, KS 67432                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Clover, Inc.                  Attn: Rev Alex Stevenson                               124 Bethel St                                       Clover, SC 29710                                                alex@cloverfumc.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Colleyville                   c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Colleyville                   1000 Church St                                         Colleyville, TX 76034                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Comanche                      c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Comanche                      217 E Grand Ave                                        Comache, TX 76442                                                                                                                                        First Class Mail
Voting Party                   First United Methodist Church of Conover, Inc                  Attn: Harold L Thornburg                               410 First Ave N                                     Conover, NC 28613                                               fumcc@fumcconover.org                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Conroe                        Attn: Executive Pastor Mike Lindstrom                  4308 West Davis St                                  Conroe, TX 77304                                                mlindstrom@fmconroe.org              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Conway, Inc.                  Attn: Joe Hunter Hyman                                 1001 5th Ave                                        Conway, SC 29526                                                joseph_hyman@yahoo.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Coral Gables                  c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Corning, Ny                   Attn: Trustees Chair, First Umc of Corning, Ny         144 Cedar St                                        Corning, NY 14830                                               fumchurch@stny.rr.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Cortez                        Attn: Treasurer                                        P.O. Box 1016                                       Cortez, CO 81321                                                fumccortez@gmail.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Crossett                      Attn: Emily Moffatt                                    500 Main St                                         Crossett, AR 71635                                              lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Cuero                         Attn: Jeanine Calliham                                 211 N Clinton                                       Cuero, TX 77954                                                 pastor@cuerofumc.org                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Davis                         Attn: Treasury                                         P.O. Box 246                                        Davis, OK 73030                                                 office@pathwaydavis.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of De Ridder                     406 W Shirley St                                       Deridder, LA 70634                                                                                                  revlarqine@fumcderidder.org          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Decorah, Iowa                 Attn: Treasurer ‐ Dfumc                                P.O. Box 221                                        Decorah, IA 52101                                               DFUMC.Tres@gmail.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Del Rio                       Attn: Janice Casillas, Treasurer                       100 Spring                                          Del Rio, TX 78840                                               fumc‐secretary@bizstx.rr.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Delmar                        Attn: Paul Kehoe, Chair of Trustees                    428 Kenwood Ave                                     Delmar, NY 12054                                                churchoffice@delmarmethodist.org     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Delran                        c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200    Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Denton, Inc                   Attn: Alan Heath                                       201 S Locust St                                     Denton, TX 76201                                                aheath@fumc‐denton.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Deposit                       c/o First United Methodist Church                      Attn: Paul W Hochuli                                109 2nd St                  Deposit, NY 13754                   pwhoch1956@gmail.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Dilley                        Attn: Woody Bryan, Finance Chair                       P.O. Drawer Q                                       Dilley, TX 78017                                                firstumcdilley@gmail.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Downers Grove                 1032 Maple Ave                                         Downers Grove, IL 60515                                                                                             dgfumc@dgfumc.org                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                      Page 118 of 442
                                                                                     Case 20-10343-LSS                                                    Doc 8171                                             Filed 01/06/22                                                 Page 134 of 457
                                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                                   Service List
                                                                                                                                                                                            Served as set forth below

        Description                                                          Name                                                                                                               Address                                                                                                      Email                    Method of Service
Voting Party                   First United Methodist Church Of Durango                     Attn: Robb Bourdon                                      2917 Aspen Dr                                                     Durango, CO 81301                                                 robb@summitdurango.org             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Durant, Ok                  5400 W Main St                                          Durant, OK 74701                                                                                                                    kwalston@burragelaw.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Early                       c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Early                       1073 Early Blvd                                         Early, TX 76802                                                                                                                                                        First Class Mail
Voting Party                   First United Methodist Church Of Eastpoint                   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Eastpoint                   3117 Patton Dr                                          Eastpoint, FL 32328                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of El Centro, Ca               Attn: Sandra Lara                                       2230 Hamilton Ave                                                 El Centro, CA 92243                                               cyndre48@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of El Dorado                   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of El Monte                    Attn: Treasurer                                         3903 N Tyler Ave                                                  El Monte, CA 91731                                                firstumcelmonte@yahoo.com          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Elizabeth City, Nc          Attn: Herman L. Cox                                     201 South Rd St                                                   Elizabeth City, NC 27909                                          h.cox@outlook.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Elizabethton, Tn            Attn: Board of Trustees Chairperson                     325 East E St                                                     Elizabethton, TN 37643                                            soblessed@fumcelizabethton.com     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Endicott                    Attn: John Eggleston & Wilfredo J Baez                  53 Mckinnley St                                                   Endicott, NY 13760                                                egg‐man@stny.rr.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Ennis                       Attn: Joyce W Lindauer                                  1412 Main St, Ste 500                                             Dallas, TX 75202                                                  joyce@joycelindauer.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Ennis                       Attn: Joyce W Lindauer Attorney Pllc                    1412 Main St, Ste 500                                             Dallas, TX 75202                                                  joyce@joycelindauer.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Enterprise Alabama          Attn: Albert Bryars III                                 217 S Main St                                                     Enterprise, AL 36330                                              finance@efume.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Escondido                   Attn: William Debos                                     341 S Kalmia St                                                   Escondidio, CA 92025                                              revnotbill@fumcescondido.org       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Eustis                      c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@Bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Evanston                    Attn: Grace Imathiv                                     516 Church                                                        Evanston, IL 60201                                                grace@faithatfirst.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Exclesior Springs           Attn: Laura Blevins                                     1650 Rainbow Blvd                                                 Excelsior Springs, MO 64024                                       laura@esmethodist.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Fairless Hills              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Fairless Hills              840 Trenton Rd                                          Fairless Hills, PA 19030                                                                                                                                               First Class Mail
Voting Party                   First United Methodist Church Of Farmington, Michigan        First United Methodist Church of Farmington, Michigan   33112 Grand River Ave                                             Farmington, MI 48336                                              kemtrains@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Ferris                      c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Forney Tx                   Attn: Judy Core Financial Secretary                     414 W Broad St                                                    Forney, TX 75126                                                  office@firstmethodist.org          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Fort Collins                Attn: Lead Pastor                                       1005 Stover                                                       Fort Collins, CO 80524                                            Melanie@fcfumc.net                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Fort Dodge, Iowa            Attn:Nicholas K. Cochrane                               809 Central Ave, Ste 600                                          Fort Dodge, IA 50501                                              nick.cochrane@johnsonlawia.com     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Fort Lupton, Co             c/o Finance Dept of Fumc of Fort Lupton                 306 Park Ave                                                      Fort Lupton, CO 80621                                             office@fumc‐fortlupton.org         Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church of Fort Scott, Kansas          c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Fountain Valley             Attn: Rev Glen Haworth                                  18225 Bushard St                                                  Fountain Valley, CA 92708                                         pastorglen@thefount.church         Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Franklin, Ohio              Attn: Mike Smith                                        303 S Main                                                        Franklin, OH 45005                                                pastorlaurasaunders@yahoo.com      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Frederick, Oklahoma         Attn: Brad Benson, Chairman of Board of Trustees        301 E Grand Ave                                                   Frederick, OK 73542                                               BradBensonok@gmail.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Frostproof Inc              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Gainesville                 c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Geneva, Ohio                Attn: Randall W May                                     89 S Broadway                                                     Geneva, OH 44041                                                  genevaumchurch@windstream.net      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Gering                      c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Germantown                  Attn: Beverly Lucas                                     6001 Germantown Ave                                               Philadelphia, PA 19119                                            Bejlucas@aol.com                   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Gilbert (Az)                c/o Clarke Law Firm, Plc                                Attn: Marilee Miller Clarke                                       8141 E Indian Bend Rd, Ste 105   Scottsdale, AZ 85250             marilee@clarkelawaz.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Gilford/Laconia Inc         Attn: Rev James Shook                                   18 Wesley Way                                                     P.O. Box 7408                    Gilford, NH 03247                pastor.nhhope@gmail.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Glen Ellyn                  424 Forest                                              Glen Ellyn, IL 60137                                                                                                                office@geumc.org                   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Glen Rose                   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Glendale (Az)               c/o Clarke Law Firm, Plc                                Attn: Marilee Miller Clarke                                       8141 E Indian Bend Rd, Ste 105   Scottsdale, AZ 85250             marilee@clarkelawaz.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Goodland, Kansas            c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Goodland, Kansas            1116 Sherman Ave                                        Goodland, KS 67735                                                                                                                                                     First Class Mail
Voting Party                   First United Methodist Church Of Grand Prairie, Texas        Attn: Pastor Kathryn Strempke                           122 N Center St                                                   Grand Prairie, TX 75050                                           kathryn@fumcgp.org                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Grapevine, Tx               c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Greene                      Attn: Michele Clark                                     32‐34 S Chenango St                                               Greene, NY 13778                                                  mere1951@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Greenville, Alabama, Inc.   Attn: Pastor Andy Terry                                 112 Adams St                                                      Greenville, AL 36037                                              as.perry947@gmail.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Grove                       Attn: Treasurer                                         1005 Leisure Rd                                                   Grove, OK 74344                                                   gfumc@groveumc.org                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Gulfport                    Attn: Pete Lenes                                        2301 15th St                                                      Gulfport, MS 39501                                                leslie@fumc‐gulfport.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hale                        Attn: Church Council Chair, First Umc of Hale           201 W Main                                                        P.O. Box 46                      Hale, MI 48739                   haleumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hallsville                  Attn: Pastor ‐ Brian A. Brooks                          P.O. Box 365                                                      1256 W Main                      Hallsville, TX 75650             pastor@fumchallsville.org          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hamilton                    391 Bay Rd                                              South Hamilton, MA 01982                                                                                                            joannehus@gmail.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hanford                     Attn: Margaret F Gregory                                505 N Redington St                                                Hanford, CA 93230                                                 office@fumchanford.org             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hanover (09250)             c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hanover (09250)             c/o Bentz Law Firm                                      Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Health Inc                  Attn: Carla Brooks, Church Board Chair                  140 Smirl                                                         Heath, TX 75032                                                   cbrooks_health@sbcglobal.net       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Henderson                   Attn: William Mike Mayhugh                              204 N Marshall St                                                 Henderson, TX 75652                                               mmayhugh@fumchenderson.org         Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Henderson Kentucky Inc      Attn: Pastor Jim Wofford                                338 3rd St                                                        Henderson, KY 42420                                               jwofford@hendersonfirstumc.org     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hillsboro                   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hillsdale                   Attn: Jinha Choi                                        P.O. Box 217                                                      Hillsdale, NY 12529                                               jinha.choi@nyac‐umc.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hinton, Inc.                Attn: Shirley Hunt                                      P.O. Box 310                                                      Hinton, OK 73047                                                  hintonumc@hintonet.net             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hobart, Oklahoma            Attn: Thomas W Talley                                   P.O. Box 841                                                      Hobart, OK 73651                                                  talleylaw@sbcglobal.net            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hobart, Oklahoma            Attn: William Finch                                     201 S Washington St                                               Hobart, OK 73651                                                  jwfinch@sbcglobal.net              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Holdrege                    Attn: Nora Ann Mendyk                                   1024 15th Ave                                                     Holdrege, NE 68949                                                nmendyk@greatplaisumc.org          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church of Holdrege                    c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Holdrege                    Attn: Nora Ann Mendyk                                   604 West Ave                                                      Holdrege, NE 68949                                                                                   First Class Mail
Voting Party                   First United Methodist Church Of Holland                     Attn: Kent Jagnow                                       57 West 10th St                                                   Holland, MI 49423                                                 kent@fumcholland.org               Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hopkins                     Attn: Sharon Venable                                    1305 S Main St                                                    Hopkinsville, KY 42240                                            svenable@hopfumc.org               Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hopkinsville Ky Inc         Sharon Patterson Venable                                1305 S Main St                                                    Hopkinsville, KY 42240                                            svenable@hopfumc.org               Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hudson, Fl Inc              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Hudson, Ma                  Attn: Geisa Matos                                       34 Felton St                                                      Hudson, MA 01749                                                  geisa3matos@gmail.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Huntington Beach            Attn: Lee Selby                                         2721 Delaware St                                                  Huntington Beach, CA 92648                                        surfcitychurchumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church of Hyattsville, MD             Attn: Daphne Marke                                      6201 Belcrest Rd                                                  Hyattsville, MD 20782                                             dnicol@fumchy.org                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Immokalee                   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Iowa Falls, Ia              Attn: Roger Nissly                                      511 Washington Ave                                                Iowa Falls, IA 50126                                              wjlaw@qwestoffice.net              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Jacksonville                Attn: Jo Ann Silvi                                      308 West Main St                                                  Jacksonville, AR 72076                                            joannjfumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Jacksonville, Inc           Attn: Heather Watkins                                   109 Gayle Ave Sw                                                  Jacksonville, AL 36265                                            churchadministrator@jaxfumc.org    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Jacksonville, Texas         Attn: Doug Wintermute                                   1031 SE Loop 456                                                  Jacksonville, TX 75766                                            dwinterm@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Jamaica                     Attn: Seneca Rosealee Francis                           162‐10 Highland Ave                                               Jamaica, NY 11432                                                 umcofjamaica@gmail.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Jamestown                   Attn: Rev Martin Toepke‐Floyd                           115 3rd St Se                                                     Jamestown, ND 58401                                               Jamestownfirst@daktel.com          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Johnston City               Attn: Stephen Hudspath                                  400 W Broadway                                                    Johnston City, IL 62951                                           fumcjc@frontier.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Jupiter ‐ Tequesta          c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Kalamazoo                   Attn: Christopher Bovid, Esq.                           3885 S 9th St, #300                                               Kalamazoo, MI 49077                                               cbovid@bovidlaw.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Kennitt Missouri            Attn: Rev Mark Kailbourn                                300 College                                                       Kennett, MO 63857                                                 1stkennettpastor@gmail.com         Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Lagrange                    Attn: Cerna C Rand                                      100 W Cossitt Ave                                                 Lagrange, IL 60525                                                office@fumc.org                    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Lagrange Inc                c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Lagrange Inc                401 Broad St                                            Lagrange, GA 30240                                                                                                                                                     First Class Mail
Voting Party                   First United Methodist Church Of Lake Charles, La            Attn: Bus Admin                                         812 Kirkman St                                                    Lake Charles, LA 70601                                            jim.spitzkeit@fumclc.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Lake Jackson                Attn: Pastor                                            404 Azalea                                                        Lake Jackson, TX 77566                                            johns@ljfumc.org                   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Lakeland                    c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Lancaster Sc                Attn: Jill Marshall                                     710 W Shiloh Unity Rd                                             Lancaster, SC 29720                                               firesets@comporium.net             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Laurel                      424 Main St                                             Laurel, MD 20707                                                                                                                    cherilyngohome@gmail.com           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Laurens, Inc.               Attn: Rev Daniel Eplee                                  244 W Main St                                                     Laurens, SC 29360                                                 pastor@firstmethodistlaurens.org   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church of Lawrence                    c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
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Voting Party                   First United Methodist Church Of Lawrenceville               c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Lawrenceville               394 W Crogan St                                         Lawrenceville, GA 30046                                                                                                                                                First Class Mail
Voting Party                   First United Methodist Church Of Leavenworth Kansas          c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Leavenworth Kansas          422 Chestnut St                                         Leavenworth, KS 66048                                                                                                                                                  First Class Mail
Voting Party                   First United Methodist Church Of Lebanon                     Attn: Pastor Kathy Osiel                                300 N Madison                                                     Lebanon, MO 65536                                                 pastorkathy1umc@gmail.com          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                   Page 119 of 442
                                                                                     Case 20-10343-LSS                                                       Doc 8171                                     Filed 01/06/22                                                  Page 135 of 457
                                                                                                                                                                                             Exhibit B
                                                                                                                                                                                              Service List
                                                                                                                                                                                       Served as set forth below

        Description                                                         Name                                                                                                           Address                                                                                                            Email                      Method of Service
Voting Party                   First United Methodist Church Of Leesville, Ince               Attn: Tony C Tillman                                     501 S 4th St                                              Leesville, LA 71446                                                tony@tctlaw.net                           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Leonard, Tx 75452             Attn: Pastor Joe Gist                                    206 N Main St                                             Leonard, TX 75452                                                  office@fumcleonard.org                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Lexington                     Attn: Bill L Bobbit                                      27 E Church St                                            Lexington, TN 38351                                                lorie@fumclexington.org                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Liberal Ks                    c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Liberal Ks                    116 W 3rd St                                             Liberal, KS 67901                                                                                                                                                      First Class Mail
Voting Party                   First United Methodist Church Of Liberty, Texas                Joshua Wayne Hale                                        539 Main St                                               Liberty, TX 77575                                                  pastor@fumclib.org                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Liberty, Texas                Attn: Pastor Joshuah Hale                                P.O. Box 469                                              Liberty, TX 77575                                                  pastor@fumclib.org                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church of Lincolnton                    c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Lincolton                     c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Logansport, Inc               Attn: Thomas R Mcleroy                                   P.O. Box 666                                              Center, TX 75935                                                   mcleroylaw@sbcglobal.net                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Lompoc                        Attn: Rev Joy Price                                      925 N F St                                                Lompoc, CA 93436                                                   office@lompocumc.org                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of London                        Attn: Rev Sean Ryan                                      301 W 5th St                                              London, KY 40741                                                   pastor@london1umc.org                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Long Beach                    Attn: John Long, Board of Trustee Chairman               208 Pine St                                               Long Beach, MS 39560                                               fumclb@cableone.net                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Lutz                          c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Mabank                        Attn: Lance Douglas Gutierrez                            501 S 3rd St                                              Mabank, TX 75147                                                   lance@fumcmabank.com                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Madisonville, Ky              Attn: Hon J Keith Cartwright                             P.O. Box 695                                              Madisonville, KY 42431                                             kcartwright@feptc.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Madisonville, Tn Inc          Attn: Peter Alliman III                                  P.O. Box 157                                              Madisonville, TN 37354                                             adminassist@firstunitedmadisonville.org   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Madisonville, Tn Inc          Attn: Peter J Alliman III                                P.O. Box 157                                              Madisonville, TN 37354                                             adminassist@firstunitedmadisonville.org   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Magnolia                      Attn: Amanda Franks                                      320 W Main                                                Magnolia, AR 71753                                                 lraines@fridayfirm.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Mansfield                     c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Marble Falls                  1101 Bluebonnet Dr                                       Marble Fall, TX 78654                                                                                                        pat@fumcmarblefalls.com                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Marietta, Georgia, Inc.       c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Maryville                     Attn: Treasurer                                          804 Montvale Station Rd                                   Maryville, TN 37803                                                mjblodgett@charter.net                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Maumelle                      c/o Friday, Eldredge & Clark LLP                         Attn: Lindsey Emerson Raines                              400 W Capitol Ave, Ste 2000      Little Rock, AR 72201             lraines@fridayfirm.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Maumelle                      Attn: Kyle Berry                                         P.O. Box 13984                                            Maumelle, AR 72113                                                 churchoffice@fumcmaumelle.org             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Mcallen                       c/o Altas, Hall & Rodriquez LLP                          Attn: Vicki Skaggs                                        P.O. Box 3725                    Mcallen, TX 78502                 vmskaggs@atlashall.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Mcallen                       Attn: Laura Heikes                                       4200 N Mccoll Rd                                          Mcallen, TX 78504                                                  lheikes@mcfirst.com                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Mckinney, Tx                  Attn: Chairman Board of Trustees                         315 N Church St                                           Mckinney, TX 75069                                                 info@sharingtheheart.org                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Melbourne                     c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Melrose                       c/o Lucas Law Group LLC                                  Attn: David R. Lucas, Esq.                                One Nelson Terrace, Ste D        Melrose, MA 02176                 DLucas@LucasLawGroupLLC.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Mena                          Attn: Sandy Wiggins                                      501 9th St                                                Mena, AR 71953                                                     menafumc@yahoo.com                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Mexico, Ny                    Attn: Treasurer                                          P.O. Box 255                                              Mexico, NY 13114                                                   arossam@yahoo.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Middlefield                   Attn: Treasurer/Pastor & Elizabeth J Anderson            14999 S State Ave                                         P.O. Box 207                     Middlefield, OH 44062             treasurer@middlefieldumc.com              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Middleton Idaho               c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Midland                       Attn: Secretary/Treasurer And/Or Pastor                  305 S Baird St                                            Midland, TX 79701                                                  rmedearis@lubbocklawfirm.com              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Mont Belvieu                  Attn: Melody Kraus                                       10629 Eagle Dr                                            Mont Belvieu, TX 77523                                             melodykraus@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Monticello, Arkansas          Attn: Lynne Russell                                      317 S Main St                                             Monticello, AR 71655                                               masterfumc@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Monticello, Arkansas          c/o Friday, Eldredge & Clark LLP                         Attn: Lindsey Emerson Raines                              400 W Capitol Ave, Ste 2000      Little Rock, AR 72201             lraines@fridayfirm.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Mount Clemens                 Attn: Alicea Lynn Williams                               57 Sb Gratiot Ave                                         Mount Clemens, MI 48043                                            office@mountclemensumc.org                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Mount Pleasant, Ia            Attn: Steve Brimhall                                     309 N Maint St                                            Mount Pleasant, IA 52641                                           brimhallsk@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Mountain City, Tn             Robert O Glenn                                           242 North Church St                                       Mountain City, TN 37683                                            roglenn@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Mountain City, Tn             Attn: John W Crabtree, Pastor                            128 N Church St                                           Mountain City, TN 37683                                            revcrab@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Mountain Home                 Attn: Kathy Davis                                        605 W 6th St                                              Mountain Home, AR 72653                                            kdavis@fumcmh.org                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Myrtle Beach                  Attn: Rev Meredith M Dark                                901 N Kings Hwy                                           Myrtle Beach, SC 29577                                             mmdark@umcsc.org                          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Napa                          625 Randolph St                                          Napa, CA 94559                                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church Of Natchitoches                  Attn: Kenny Kaufman Jr                                   727 Whitfield Dr                                          Natchitoches, LA 71457                                             kenkdawg195@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of New Hartford                  Attn: Office Manager                                     105 Genesee St                                            New Hartford, NY 13413                                             office@firstumconline.org                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of New Hartford                  Attn: Bradley D Chesebro                                 22 Kellogg Rd                                             New Hartford, NY 13413                                                                                       First Class Mail
Voting Party                   First United Methodist Church Of New Iberia                    119 Jefferson St                                         New Iberia, LA 70560                                                                                                         lynn@derouenfinancial.com                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Newcastle                     Attn: Treasurer, First Umc                               P.O. Box 579                                              Newcastle, WY 82701                                                fumc@fumcnewcastle.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church of Norfolk                       Attn: Patricia Matthews                                  26 Park St                                                Norwood, NY 13668                                                  patcpm@twcny.rr.com                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church of Norfolk                       c/o NBT Bank                                             6554 Highway 56                                           Potsdam, NY 13676                                                  CustomerService@nbtbank.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of North Andover Massachusetts   Attn: Paul E Carlotto                                    57 Peters St                                              North Andover, MA 01845                                            p.carlotto@verizon.net                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of North Attleboro               Attn: Lyle Hutson                                        637 S Washington St, Unit 52                              North Attleboro, MA 02760                                          ckhutson@comcast.net                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of North Wilkesboro              c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Norwalk, Ohio                 Attn: Laura Calkins                                      60 West Main St                                           Norwalk, OH 44857                                                  brianoglesbee55@gmail.com;                Email
                                                                                                                                                                                                                                                                                    norwalkfirstumcchurch@gmail.com           First Class Mail
Voting Party                   First United Methodist Church Of Numboldt                      Attn: Treasurer First United Methodis Church of Humbol   200 N 12th Ave                                            P.O. Box 314                     Humboldt, TN 38343                humboldtfirstumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Oak Lawn                      Attn: Amos N Oladipo                                     1000 Central Ave                                          Oak Lawn, IL 60453                                                 oladipoamos@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Oakhurst                      c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Oceanside                     2915 Davison St                                          Oceanside, NY 11572                                                                                                          blessings@fumoceanside.com                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Ontario                       Attn: Meredith Freeman                                   918 N Euclid                                              Ontario, CA 91762                                                  info@churchoneuclid.org                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Orange                        Attn: Michael Haymond                                    161 S Orange St                                           Orange, CA 92866                                                   mhaymond@sbcglobal.net                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Orlando                       c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
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Voting Party                   First United Methodist Church Of Ormond Beach                  c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
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Voting Party                   First United Methodist Church Of Orrington                     Attn: Philip R. Chaffee                                  P.O. Box 95                                               Orrington, ME 04474                                                ronchaffee818@yahoo.com                   Email
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Voting Party                   First United Methodist Church Of Overton                       213 E Henderson St                                       Overton, TX 25684                                                                                                            fsprrp@aol.com                            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Owasso, Inc.                  Attn: Rev Dr James E Cinocca Jr                          13800 E 106 St N                                          Owasso, OK 74055                                                   jimcinocca@fumcowasso.org                 Email
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Voting Party                   First United Methodist Church Of Oxford                        Attn: Brandon Suggs                                      212 Snow St                                               Oxford, AL 36207                                                   office@oxfumc.org                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Palestine, Texas              Attn: Pastor Alexander Dixon Lupo                        422 S Magnolia                                            Palestine, TX 75801                                                pastor@fumcpalestine.org                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Palmdale                      Attn: James A. White                                     39055 10th St W                                           Palmdale, CA 93551                                                 whitehome808@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Pampa                         c/o Field, Manning, Stone, Hawthorne & Aycock, P.C.      Attn: Robert A. (Andy) Aycock                             2112 Indiana Ave                 Lubbock, TX 79410                 rmedearis@lubbocklawfirm.com              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Pampa                         Attn: Secretary/Treasurer And/Or Pastor                  P.O. Box 1981                                             Pampa, TX 79066                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Park Ridge                    418 W Touhy Ave                                          Park Ridge, IL 60068                                                                                                         pastordavid@parkridgeumc.org              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Parkersburg Wv                Attn: Younger Powers                                     1001 Juliana St                                           Parkersburg, WV 26101                                              fumcjulianna@wvdsh.net                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Pell City, Al                 Attn: Teresa Harris/Church Administrator                 2200 3rd Ave N                                            Pell City, AL 35125                                                teresa@pellcityfumc.org                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Pensacola, Inc.               Attn: Philip A. Bates                                    25 W Cedar St, Ste 550                                    Pensacola, FL 32591                                                pbates@philipbates.net                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Phoenix                       c/o Clarke Law Firm, Plc                                 Attn: Marilee Miller Clarke                               8141 E Indian Bend Rd, Ste 105   Scottsdale, AZ 85250              marilee@clarkelawaz.com                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Pine Bluff                    Attn: Ann Cain                                           200 West 6th Ave                                          Pine Bluff, AR 71601                                               acain@fumcpba.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Pittsfield, Ma                Attn: Ann Mottley/Lynn Bronson                           55 Fenn St                                                Pittsfield, MA 01201                                               24acmottley@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Plano,Texas                   Attn: Church Administrator                               3160 E Spring Creek Pkwy                                  Plano, TX 75074                                                    gwelsh@fumcplano.org                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Plant City                    c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Pocatello                     c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Port Jefferson                603 Main St                                              Port Jefferson, NY 11777                                                                                                     1stumc@optonline.net                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Port St. Florida              c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Port St. Joe, Inc.            c/o Beggs & Lane, Rllp                                   Attn: John P Daniel                                       501 Commendencia St              Pensacola, FL 32502               jpd@beggslane.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Prestonsburg Kentucky Inc     Attn: Jerri Williams                                     256 S Arnold Ave                                          Prestonsburg, KY 41653                                                                                       First Class Mail
Voting Party                   First United Methodist Church Of Punta Gorda Inc               c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Quitman, Texas                Attn: Rev. Keefe Cropper                                 P.O. Box 1643                                             Quitman, TX 75783                                                  keefe@fumcquitman.org                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Reseda                        Attn: Rev Tonya S Harris                                 18120 Saticoy St                                          Reseda, CA 91335                                                   resedachurch@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Riverside                     Attn: Trustee President                                  4845 Brockton Ave                                         Riverside, CA 92506                                                                                          First Class Mail
Voting Party                   First United Methodist Church Of Rockwall Texas                Attn: Gary Hancock                                       1200 E Yellow Jacket Ln                                   Rockwall, TX 75087                                                 ghancock@fumcrockwall.com                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Rosenberg                     Attn: Robert Hausler, Jr                                 1106 4th St                                               Rosenberg, TX 77471                                                connie@fumcrosenberg.net                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Royal Oak                     Attn: Jennifer Tripoli, Exec Dir of Rofum                320 W 7th St                                              Royal Oak, MI 48067                                                jtripoli@rofum.org                        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Russellville                  Attn: Terri Kulbeth                                      304 S Commerce Ave                                        Russellville, AR 72801                                             lraines@fridayfirm.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Safford (Az)                  c/o Clarke Law Firm, Plc                                 Attn: Marilee Miller Clarke                               8141 E Indian Bend Rd, Ste 105   Scottsdale, AZ 85250              marilee@clarkelawaz.com                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Saint Jo                      Attn: Larry Coleman                                      P.O. Box 310                                              Saint Jo, TX 76265                                                 Kcolemantx@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church Of Saline                        Attn: Mark J Eby                                         1200 N Ann Arbor St                                       Saline, MI 48176                                                   tzimmerman@fumc‐saline.org                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   First United Methodist Church of San Augustine                 Attn: Pastor Timothy Turner                              205 S Liberty                                             San Augustine, TX 75972                                            pastortimturner@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                              Page 120 of 442
                                                                                      Case 20-10343-LSS                                                  Doc 8171                                    Filed 01/06/22                                                   Page 136 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                         Service List
                                                                                                                                                                                  Served as set forth below

        Description                                                            Name                                                                                                   Address                                                                                                        Email                     Method of Service
Voting Party                   First United Methodist Church Of San Benito                   Attn: Bill Elliott                                    400 N Sam Houston Blvd                                   San Benito, TX 78586                                                fumcsanbenito@GMAIL.COM             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of San Fernando                 Sandra Marie Richards                                 1525 Glenoaks Blvd                                       San Fernando, CA 91340                                              sandie.richards@gmail.com           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church of San Fernando                 Attn: Pastor                                          1515 Glenoaks Blvd                                       San Fernando, CA 91340                                              fumcsf@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of San Gabriel                  201 N San Gabriel Blvd                                San Gabriel, CA 91775                                                                                                        fumcsgengl@gmail.com                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Sanford ‐ Sanford            c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Santa Anna                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Santa Monica                 Attn: Christina A. Eddy                               1008 11th St                                             Santa Monica, CA 90403                                              info@santamonicaumc.org             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Saranac Lake, Inc.           Attn: Bruce Barnard                                   63 Church St                                             Saranac Lake, NY 12983                                              bruce@barnardclan.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Saranac Lake, Inc.           Attn: Bruce Barnard                                   91 Garondah Rd                                           P.O. Box 246                     Rainbow Lake, NY 12976             bruce@barnardclan.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Sarasota                     c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Schulenburg, Texas           Attn: Pastor                                          209 N Upton Ave                                          Schulenburg, TX 78956                                               jerryevins@gmail.com                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Scotch Plains                c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Scottsboro                   Attn: Joy Overby                                      1105 S Broad St                                          Scottsboro, AL 35768                                                joy@fumcscottsboro.org              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Seal Beach                   Attn: Greg Fellars, Trustee                           148 10th St                                              Seal Beach, CA 90740                                                office@firstchurchdealbeach.org     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Seffner                      c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Seffner                      1310 S Kingwat Rd                                     Seffner, FL 33584                                                                                                                                                First Class Mail
Voting Party                   First United Methodist Church Of Seymour                      Attn: Treasurer                                       201 E 3rd St                                             Seymour, IN 47274                                                   fumcseymour@gmail.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Shelton                      186 Rocky Rest Rd                                     Shelton, CT 06484                                                                                                            barb_drew@hotmail.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Siler City, Nc               Attn: Rev William Sabiston                            1001 W Raleigh St                                        Siler City, NC 27344                                                william.sabiston@nccumc.org         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Skiatook                     Attn: Treasurer                                       1007 S Osage                                             Skiatook, OK 74070                                                  patmck@atlasok.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Slidell                      Attn: Pierre O. Broussard III                         433 Erlanger Ave                                         Slidell, LA 70458                                                   trustees@firstumcslidell.org        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of South Haven                  429 Michigan Ave                                      South Haven, MI 49090                                                                                                        southhavenmethodist@gmail.com       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Springboro, Oh               Attn: Treasurer, First Umc of Springboro              60 E North St                                            Springboro, OH 45066                                                fumcspringboro@gmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of St. Charles                  Attn: Daniel Barnett                                  12 Vanguard Dr                                           St Peters, MO 63376                                                 dan@dgbarnett.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of St. Charles                  Attn: Jack Mccormick                                  801 First Capitol Dr                                     St Charles, MO 63301                                                dan@dgbarnett.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of St. Cloud                    c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    eric@bardley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Stoughton                    Attn: Roberta Williams                                30 Belltree                                              Plymouth, MA 02360                                                  RobertaWilliams@aol.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Stoughton                    Attn: Rev. Roberta Williams                           103 Pleasant St                                          Stoughton, MA 02072                                                 FUMCStoughton@gmail.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Sulphur Springs              Attn: Elaine Rutherford                               301 Church St                                            Sulphur Springs, TX 75482                                           erutherford@ssfumc.org              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Sylacauga                    Attn: Rev Russell Hestley                             105 E Spring St                                          Sylacauga, AL 35150                                                 russell.hestley@umcna.org           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Sylvania                     Attn: Richard Rymers                                  7000 Erie St                                             Sylvania, OH 43560                                                  rickrymers@bex.net                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Tavares, 600 W Ianthe St,    c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church of Taylorsville                 c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Taylorsville 1400 Hwy 16 S   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Taylorville Il               Attn: Pastor Becky Lembke                             200 S Walnut St                                          Taylorville, IL 62568                                               grepatrick05@gmail.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Terrell, Texas               Attn: Treasurer                                       503 W College St                                         Terrell, TX 75160                                                   pastor@fumcterrell.org              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Texarkana                    c/o Melody Hickson                                    400 E 6Th                                                Texarkana, AR 71854                                                 melody@bethechurch.email            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Texarkana                    c/o Friday, Eldredge & Clark LLP                      Attn: Lindsey Emerson Raines                             400 W Capitol Ave, Ste 2000      Little Rock, AR 72201              lraines@fridayfirm.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Tifton                       Attn: Melanie W Raines                                107 W 12th St                                            Tifton, GA 31794                                                    financialsecretary@tiftonfumc.org   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Toms River                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Tracy                        Attn: Art Cummings Lay Leader                         330 Acacia St                                            Tracy, CA 95376                                                     uoptigersartcummings@gmail.com      Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Troy                         Attn: William Wesp, Trustees Chairman                 6363 Livernois                                           Troy, MI 48098                                                      bill.wesp@comcast.net               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Tucker                       c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Tullahoma Tn Inc             Attn: William C Bates                                 208 West Lauderdale St                                   Tullahoma, TN 37388                                                 wcbates@lighttube.net               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Tulsa                        Attn: Exec Admin‐First United Methodist of Tulsa      1115 S Boulder Ave                                       Tulsa, OK 74119                                                     christabberer@fumctulsa.org         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Tupelo, Inc                  Attn: Sharon Turner                                   P.O. Box 854                                             Tupelo, MS 38802                                                    shannon@fumctupelo.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Tuscaloosa                   Attn: Charles Tuten                                   800 Greensboro Ave                                       Tuscaloosa, AL 35401                                                charles@fumct.org                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Tuttle, Inc.                 402 S Cimarron Rd                                     Tuttle, OK 73089                                                                                                             wcwmitchell@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Union County ‐ Blairsville   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Upland                       Attn: Rev Dr Benjamin Ellis                           262 N Euclid Ave                                         Upland, CA 91786                                                    pastorbenellis@gmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Upland                       Attn: Ben Ellis                                       376 W Aster St                                           Upland, CA 91786                                                    pastorbenellis@gmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Valley Mills                 c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Valley Mills                 501 Ave C                                             Valley Hills, TX 76689                                                                                                                                           First Class Mail
Voting Party                   First United Methodist Church Of Valliant, Oklahoma           Attn: Thomas Ellis                                    117 N Central Ave                                        Idabel, OK 74745                                                    tomellislaw@gmail.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Valliant, Oklahoma           Thomas Hugh Ellis                                     P.O. Box 629                                             Valliant, OK 74745                                                  tomellislaw@gmail.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Valparaiso, In               Kathryn I Shifflett                                   103 Franklin St                                          Valparaiso, IN 46383                                                office@valpofumc.org                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Valparaiso, In Inc           Attn: Kate Shifflett                                  103 Franklin St                                          Valparaiso, IN 46383                                                office@valpofumc.org                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Victor                       Attn: Randall Henry                                   106 E Main St                                            Victor, NY 14564                                                    rhenry2785@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Vidalia Inc                  Attn: Treasurer                                       P.O. Box 150                                             Vidalia, GA 30475                                                   betsy@vidaliafirstumc.org           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Waco                         c/o Naman Howell Smith and Lee                        Attn: Kyle Knas                                          400 Austin Ave, Ste 800          Waco, TX 76701                     kknas@namanhowell.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Wagoner                      Attn: Treasurer, Fumc Wagoner                         P.O. Box 394                                             Wagoner, OK 74477                                                   office@wagonerfumc.org              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Wallingford Ct               Attn: John Defilippo                                  293 Grieb Rd                                             Wallingford, CT 06492                                               jdefilippo@snet.net                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Wallingford Ct               Attn: John Defilippo                                  941 Old Rockhill Rd                                      Wallingford, CT 06492                                               jdefilippo@snet.net                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Warner Robins, Inc.          Attn: Donald Rhodes                                   205 N Davis Dr                                           Warner Robins, GA 31093                                             administrator@fumcwrga.org          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Warrensburg                  Attn: Allen Scism                                     141 E Gay St                                             Warrensburg, MO 64093                                               peter@umcburg.org                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Warsaw Indiana Inc           Attn: Business Manager                                179 S Indiana St                                         Warsaw, IN 46580                                                    busmgr@warsawfumc.org               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Watertown, Sd                Attn: Chad Miller & Jennifer Michelle Tyler           4 2nd Ave Se                                             P.O. Box 1416                    Watertown, SD 57201                office@watertownfirst.church        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Waukegan                     128 N Martin Luther King Jr Ave                       Waukegan, IL 60085                                                                                                           fume1@sbcglob.net                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Waxahachie                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Waynoka Ok                   Attn: Rodeana Bixler                                  31683 Custer Rd                                          Waynoka, OK 73860                                                   bixler@pldi.net                     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Weatherford                  c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradely.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Weatherford                  301 S Main St                                         Weatherford, TX 76086                                                                                                                                            First Class Mail
Voting Party                   First United Methodist Church Of Weimar                       Attn: Scott Brasher                                   301 W St Charles                                         Weimar, TX 78962                                                    fumcweimar@gmail.com                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Weslaco, Tx                  Attn: Bsa Representative                              520 S Illinois                                           Weslaco, TX 78596                                                   officeweslacofumc@gmail.com         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of West Lafayette               Attn: Rev Duane Carlisle                              1700 W State St                                          West Lafayette, IN 47906                                            rkroeschen@fumcwl.org               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of West Monroe                  Attn: Lamar Oliver                                    1411 Glenwood Dr                                         West Monroe, LA 71291                                               lamar@lamaroliver.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of West Monroe                  Attn: Rev Lamar Oliver                                1411 Glenwood Dr                                         West Monroe, LA 71921                                               lamar@lamaroliver.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of West Point                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of West Point                   306 E 7th St                                          W Point, GA 31833                                                                                                                                                First Class Mail
Voting Party                   First United Methodist Church Of Westfield                    Attn: Brice Thomas Arbour                             16 Court St                                              Westfield, MA 01085                                                 fumc01085@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Westfield, Ny                Attn: Treasurer, Pauline Emilson & Scott E Robbins    101 E Main St                                            Westfield, NY 14787                                                 westmeth@fairpoint.net              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Wetumpka, Alabama            Attn: Earl Gillian, Jr                                1 Commerce St, Ste 630                                   Montgomery, AL 36104                                                egillian@bellsouth.net              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Wewoka                       P.O. Box 558                                          Wewoka, OK 74884                                                                                                             methodistwewoka@sbcglobal.net       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Whittier                     Attn: Board of Trustees                               13222 Bailey St                                          Whittier, CA 90601                                                  reynolds461@gmail.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Wichita Falls, Inc           Attn: Kay Yeager                                      909 10th St                                              Wichita Falls, TX 76301                                             kyeager@lhtek.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Wiggins Ms                   Attn: Heath Williams                                  520 Pine Ave E                                           Wiggins, MS 39577                                                   hwilliams@wgeotechnical.com         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Wilmington                   Attn: John Weitendorf Jr                              401 E Kahler Rd                                          Wilmington, IL 60481                                                safirefour@aol.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Wilson, Nc                   Attn: Treasurer & James Joyner Edmundson              100 Green St NE                                          P.O. Box 1423                    Wilson, NC 27894                   franstafford@fumcwilson.org         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Winslow (Az)                 c/o Clarke Law Firm, Plc                              Attn: Marilee Miller Clarke                              8141 E Indian Bend Rd, Ste 105   Scottsdale, AZ 85250               marilee@clarkelawaz.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Yazoo City                   Attn: Daniel Pender                                   P.O. Box 444                                             Yazoo City, MS 39194                                                Fumcyazoo@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Of Yuma (Az)                    c/o Clarke Law Firm, Plc                              Attn: Marilee Miller Clarke                              8141 E Indian Bend Rd, Ste 105   Scottsdale, AZ 85250               marilee@clarkelawaz.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Olney                           c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Olney                           110 W Elm                                             Olney, TX 76374                                                                                                                                                  First Class Mail
Voting Party                   First United Methodist Church Oshkosh                         Attn: Dennis Knickelbein                              700 W Linwood Ave                                        Oshkosh, WI 54901                                                   firstumc@ntd.net                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Oviedo                          c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Palo Alto                       Attn: Sidney Buttrill, President, Board of Trustees   625 Hamilton Ave                                         Palo Alto, CA 94301                                                 bud.buttrill@mindspring.com         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Paris                           Attn: Janet Lee Dodd                                  322 Lamar Ave                                            Paris, TX 75460                                                     jdodd52@firstmethodistparis.org     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   First United Methodist Church Parsons                         Attn: Jeanette Croston                                101 1st St                                               Parsons, WV 26287                                                   Marvin_Canfield@yahoo.com           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 121 of 442
                                                                                    Case 20-10343-LSS                                                Doc 8171                                    Filed 01/06/22                                                 Page 137 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                        Name                                                                                                   Address                                                                                                           Email               Method of Service
Voting Party                   First United Methodist Church Pearsall, Texas                  Attn: Sylvia Glazner                             P.O. Box 786                                             Pearsall, TX 78061                                                sglazner@att.net                   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Pearsall, Texas                  Attn: David Bachelor                             509 E San Antonio St                                     Pearsall, TX 78061                                                                                   First Class Mail
Voting Party                   First United Methodist Church Pilot Mountain                   c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Poplar Bluff                     Attn: Office Manager / Treasurer / Pastor        500 N Main St                                            Poplar Bluff, MO 63901                                            fumc@fumcpb.org                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Portland, Tx                     Attn: Larry Mcrorey                              4545 Wildcat Dr                                          Portland, TX 78374                                                                                   First Class Mail
Voting Party                   First United Methodist Church Prairie Grove                    Attn: Doug Stumbaugh                             1401 E Parks St                                          Prairie Grove, AR 72753                                           dougstumbaugh@cox.net              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Rogers                           c/o Friday, Eldredge & Clark LLP                 Attn: Lindsey Emerson Raines                             400 W Capitol Ave, Ste 2000   Little Rock, AR 72201               lraines@fridayfirm.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Rogers                           Attn: Tami Hinojosa                              307 W Elm St                                             Rogers, AR 72756                                                  fumcrogers@sbcglobal.net           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Round Rock                       c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church San Angelo Texas                 Attn: Senior Pastor                              37 E Beauregard                                          San Angelo, TX 76903                                              fumc@wtexas.us                     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church San Diego                        Attn: Linda Hawk                                 2111 Camino Del Rio South                                San Diego, CA 92108                                               lhawk@fumcsd.org                   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Santa Barbara                    Attn: W Scott Burns                              305 E Anapamu St                                         Santa Barbara, CA 93101                                           office@fumcsb.org                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Seguin Tx                        Attn: Bonnie Dixon                               710 N Austin St                                          Seguin, TX 78155                                                  finance@fumcseguin.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Shamrock                         Attn: Secretary/Treasurer And/Or Pastor          500 N Main St                                            Shamrock, TX 79079                                                                                   First Class Mail
Voting Party                   First United Methodist Church Sherman                          401 N Elm St                                     Sherman, TX 75090                                                                                                          office@firstmethodistsherman.org   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Shreveport                       Attn: Senior Pastor                              500 Common St                                            Shreveport, LA 71101                                                                                 First Class Mail
Voting Party                   First United Methodist Church Sioux City, Iowa                 Attn:Roger Clark Madden                          1915 Nebraska St                                         Sioux City, IA 51104                                                                                 First Class Mail
Voting Party                   First United Methodist Church Sonora Tx                        Attn: Linda Fisher                               P.O. Box 675                                             Sonora, TX 76950                                                                                     First Class Mail
Voting Party                   First United Methodist Church South Bend                       Attn: Lou Anne Wilson, Financial Manager         333 N Main                                               South Bend, IN 46601                                              Finance@FirstMethodistSB.org       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Stamford Ct                      Attn: Chair, Board of Trustees                   42 Cross Rd                                              Stamford, CT 06905                                                admin@fumcstamford.org             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Teague, Tx                       Attn: Jason Huffman                              P.O. Box 240                                             Teague, TX 75860                                                  jasonbhuffman@gmail.com            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Tomah                            Attn: Pam Johnson                                1105 Butts Ave                                           Tomah, WI 54660                                                   office@tomahumc.org                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Trinity, Tx                      Attn: Pastor, John Jeffrey Goodwin               131 N Elm                                                Trinity, TX 75862                                                 trifumc1872@gmail.com              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Trussville                       Attn: David Teel                                 120 N Chalkville Rd                                      Trussville, AL 35173                                              financial@fumctrussville.com       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Valley Center                    c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Vidor Texas, Inc                 Attn: Administrative Board Johnnie Brown         P.O. Box 656                                             Vidor, TX 77670                                                   vtxfumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Vidor Texas, Inc                 Attn: Johnnie Ann Keen Brown                     P.O. Box 1076                                            Vidor, TX 77670                                                   jkeensflorist@yahoo.com            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Wellington                       Attn: Robert Andy Aycock                         P.O. Box 767                                             Wellington, TX 79095                                                                                 First Class Mail
Voting Party                   First United Methodist Church Willimantic                      Attn: Pastor James Mercurio                      29 Puddin Ln                                             Mansfield Center, CT 06250                                        pastorjim2889@gmail.com            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Willimantic                      c/o First United Methodist Church Mansfield      29 Puddin Ln                                             Mansfield Center, CT 06250                                        mansfieldfirst@gmail.com           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church‐ Williston                       c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Winter Park                      c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church Zephyrhills                      c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, 405 7Th St (Great Plains Conf   c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Ansonia, Ct                     First United Methodist Church                    No                                                       47 Franklin St                Ansonia, CT 06401                   umchur@snet.net                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Atlanta, Texas                  Attn: Michelle Caver                             701 Lindsey Ln                                           Atlanta, TX 75551                                                 michelle@atlantamethodist.org      Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Augusta Ks                      c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Benton Ky                       Attn: Tom Blankenship                            P.O. Box 571                                             Benton, KY 42025                                                  tom@bedlaw.com                     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Bloomington In                  Attn: Kimberly Bockstege & Mary Therese Crouse   219 E 4th St                                             Bloomington, IN 47408                                             kimb@fumcb.org                     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Boone, Iowa                     Attn: David Swinton                              703 Arden St                                             Boone, IA 50036                                                   dr.davidswinton@gmail.com          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Buckhannon, Wv 26201            Attn:Michael Steven Meadows                      52 S Florida St                                          Buckhannon, WV 26201                                                                                 First Class Mail
Voting Party                   First United Methodist Church, Cache, OK                       P.O. Box 436                                     Cache, OK 73527‐0436                                                                                                       secretary@cachefumc.com            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Cache, OK                       Attn: Rhonda Clemmer, Treasurer                  3673 SW Crater Creek Rd                                  Cache, OK 73527                                                   rhondaclemmer@aol.com              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Central City                    Attn: Jimmy Coleman                              P.O. Box 249                                             Central City, KY 42330                                            ccsecretarypatsy@gmail.com         Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Charleston                      c/o Friday, Eldredge & Clark LLP                 Attn: Lindsey Emerson Raines                             400 W Capitol Ave, Ste 2000   Little Rock, AR 72201               lraines@fridayfirm.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Charleston                      Attn: Rhonda Baggett                             P.O. Box 35                                              Charleston, AR 72933                                              fumccharleston@gmail.com           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Chatham, Ma                     Attn: Thomas Gallen                              16 Cross St                                              Chatham, MA 02633                                                 tjgjt@hotmail.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Cheyenne, Wy                    Attn: Bob Curtis, Treasurer                      108 E 18th St                                            Cheyenne, WY 82001                                                fumc‐cheyenne@fumccheyenne.org     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Clinton, Ms                     Attn: Dr Ricky James                             100 Mt Salus Dr                                          Clinton, MS 39056                                                 ricky@firstmethodistclinton.org    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Coffeyville                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Coffeyville                     304 W 10th St                                    Coffeyville, KS 67337                                                                                                                                         First Class Mail
Voting Party                   First United Methodist Church, Columbus                        c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Corinth, Ms                     Attn: John C Ross Jr                             P.O. Box 1681                                            Corinth, MS 38835                                                 manupnorth20@yahoo.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Covington, La 70433             Attn: John Greene, Treasurer                     203 N Jefferson Ave                                      Covington, LA 70433                                               fumccov@bellsouth.net              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Crockett, Texas                 Attn: Pastor                                     P.O. Box 984                                             Crockett, TX 75835                                                office@crockettumc.org             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Crockett, Texas                 Attn: William R. Pemberton                       P.O. Box 1112                                            Crockett, TX 75835                                                bill@pembertontriallaw.net         Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Cynthiana, Ky                   Attn: Ted Beam                                   302 E Pike St                                            P.O. Box 307                  Cynthiana, KY 41031                 ted.beam@hotmail.com               Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Dyersburg                       c/o Jenkins Dedmon Hayes Law Group LLP           Attn: Mark L Hayes                                       P.O. Box 846                  Dyersburg, TN 38025                 mhayes@lexverum.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Dyersburg                       c/o Jenkins Dedmon Hayes Law Group, LLP          Attn: Mark L Hayes                                       426 Troy Ave                  Dyersburg, TN 38025                 mhayes@lexverum.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Dyersburg                       100 McGaughey St                                 Dyersburg, TN 38024                                                                                                        kkesterson@fumcdyersburg.com       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Edna                            Attn: Kelli Lee Williamson                       216 W Main St                                            P.O. Box 790                  Edna, TX 77957                      fumcedna@gmail.com                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Elgin                           Attn: Samuel Blanco                              216 W 3rd St                                             Elgin, TX 78621                                                   fumcelgintx@gmail.com              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Ephrata                         68 N Church St                                   Ephrata, PA 17522                                                                                                          walter@ephratafirst.org            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Galax                           Attn: William Brannon, Trustee                   306 W Center St                                          Galax, VA 24333                                                   fumcgalax1@gmail.com               Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Garden City                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Groveton, Tx                    Attn: John Reynolds, Treasurer                   P.O. Box 185                                             Groveton, TX 75845                                                N5LRS@ARRL.net                     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Havana, Il                      Attn: Eric Snedeker                              101 S Broadway St                                        Havana, IL 62644                                                  office@havanaumc.org               Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Hudson                          c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Inc, Morehead City, Nc          c/o Kirkman Whitford Law Firm                    Attn: Neil B. Whitford                                   710 Arendell St, Ste 105      Morehead City, NC 28557             nwhitford@kirkmanwhitford.com      Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Irving                          Attn: Jimmy Bellew                               211 W 3rd St                                             Irving, TX 75060                                                  finance@fumcirving.org             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Isle Of Palms                   Attn: Rev. Dr Laura Parrish                      12 21st Ave                                              Isle of Palms, SC 29451                                           pastorlaura@iopmethodist.com       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Jasper Tx                       Attn: Linda Mcternan                             P.O. Box 127                                             Jasper, TX 75951                                                  lcmcterman@hotmail.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Johnson City, Tn                Attn: Treasurer                                  900 Spring St                                            Johnson City, TN 37604                                            treasurer@1stchurchjc.org          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Laurinburg Nc                   Attn: Robert Weagraff                            11241 Troon Cir                                          Laurinburg, NC 28352                                              weagraff85@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Laurinburg Nc                   Attn: B Tyson                                    101 West Church St                                       Laurinburg, NC 28352                                              office@laurinburgfirstumc.org      Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Little Rock                     Attn: Sara Williams                              723 Center St                                            Little Rock, AR 72201                                             swilliams@fumclr.org               Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Lovington                       c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Luling Texas                    Attn: President of Church Council                703 E Bowie St                                           Luling, TX 78648                                                  knobleslaw@yahoo.com               Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Malakoff                        Attn: Pastor Ed Fisher Jr                        107 S College St                                         Malakoff, TX 75148                                                malakofumc@embarqmail.com          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Marion                          Attn: John Terry                                 1298 7th Ave                                             Marion, IA 52302                                                  jterry@marionmethodist.org         Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Marshaltown Ia                  Attn: Jeff Kodis                                 202 W Main St                                            Marshalltown, IA 50158                                            jeff@fumc‐mtown.org                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Mcminnville Tn                  Attn: Treasurer, First United Methodist Church   200 W Main                                               Mcminnville, TN 37110                                                                                First Class Mail
Voting Party                   First United Methodist Church, Meriden Ct                      Attn: Richard L Hanse                            15 Pleasant St                                           Meriden, CT 06450                                                 firstumcmeriden@gmail.com          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Mertzon, Texas                  Attn: Mark Krause                                P.O. Box 358                                             Mertzon, TX 76941                                                 pastor@fumcmertzon.org             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Monroe, Mi                      First United Methodist Church                    312 Harrison St                                          Monroe, MI 48161                                                  monroefumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Mooresville                     Attn: Willis E Yeager                            900 Indianapolis Rd                                      Mooresville, IN 46158                                             bill@mooresvillefumc.org           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Mt Vernon                       First United Methodist Church                    227 E Lincoln Ave                                        Mt Vernon, NY 10552                                               umc1mv@verizon.net                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Pekin                           Attn: Valerie M Moehle                           410 Broadway                                             Pekin, IL 61554                                                   vmoehle@msandllegal.com            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Pekin                           Attn: Scott Ewing                                1315 Court St                                            Pekin, IL 61554                                                   info@pekinfirst.org                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Pflugerville Texas              Attn: Chair of Trustees Committee                P.O. Box 560                                             Pflugerville, TX 78691‐0560                                       fumc@pflugervilleumc.org           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Pilot Mountain 203 Stephens     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200      Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Poteau Oklahoma                 Attn: James Perkin                               109 S Harper St                                          Poteau, OK 74953                                                  pastor@poteaufumc.com              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Princeton, Wv                   c/o Brewster Morhous Pllc                        Attn: William P Stafford, II                             P.O. Box 529                  Bluefield, WV 24701                 wstafford@brewstermorhous.com      Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Rapid City, Sd                  Attn: Bill Waugh                                 629 Kansas City St                                       Rapid City, SD 57701                                              bill@rapidcityfirst.org            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Reedley Neal Harris             1461 11th St                                     Reedley, CA 93654                                                                                                          neallynnh@comcast.net              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Richardson, Texas               Attn: Dianne Weideman                            503 N Central Expy                                       Richardson, TX 75080                                              dweideman@fumcr.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Rocky Mount, Nc                 Attn: Jim Bell                                   100 S Church St                                          Rocky Mount, NC 27804                                             jbell@fumcrm.org                   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Rusk Texas                      Attn: Rev Tj Gabelman                            P.O. Box 99                                              Rusk, TX 75785                                                    ruskfumc@hotmail.com               Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Sachse, Tx                      Attn: Paul Irek, Treasurer                       1520 Blackburn Rd                                        Sachse, TX 75048                                                  treasureer@fumcsachse.org          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   First United Methodist Church, Sanger                          William Lloyd Boutwell                           4000 Windmill Dr                                         Sanger, TX 76266                                                  billboutwell@embarqmail.com        Email
                                                                                                                                                                                                                                                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 122 of 442
                                                                                     Case 20-10343-LSS                                                 Doc 8171                                    Filed 01/06/22                                                    Page 138 of 457
                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                       Service List
                                                                                                                                                                                Served as set forth below

        Description                                                           Name                                                                                                  Address                                                                                                             Email                 Method of Service
Voting Party                   First United Methodist Church, Sanger Tx                       Attn: Phillip Stobaugh                             2208 Pheasant Run                                        Plano, TX 75023                                                      pistobaugh@gmail.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church, Santa Rosa                      Attn: Pastor Lori Sawdon                           1551 Montgomery Dr                                       Santa Rosa, CA 95405                                                 lori.sawdon@fumcsantarosa.org       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church, Sikeston                        Attn: Paullester Walker                            1307 N Main St                                           Sikeston, MO 63801                                                   paullester@thefunchurch.org         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church, Sikeston                        Attn: Paullester Walker                            P.O. Box 682                                             Sikeston, MO 63801                                                   paullester@thefunchurch.org         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church, Spearman                        Attn: Secretary/Treasurer And/Or Pastor            407 Haney St                                             Spearman, TX 79081                                                   rmedearis@lubbocklawfirm.com        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church, Stafford Springs                Attn: Treasurer                                    8 Church St                                              Stafford Springs, CT 06076                                           pastorfumstafford@gmail.com         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church, Stigler, Ok                     Attn: Gary Dunn                                    P.O. Box 249                                             Stigler, OK 74462                                                    s1umc@att.net                       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church, Turlock                         Attn: Kevin Cunningham, Chair, Board of Trustees   1660 Arbor Way                                           Turlock, CA 95380                                                                                        First Class Mail
Voting Party                   First United Methodist Church, Van Alstyne, Texas              Attn: Debbie Nance & Priscilla Josselyn            303 S Preston                                            P.O. Box 125                       Van Alstyne, TX 75495             church@vafumc.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church, Vandalia, Illinois              c/o First United Methodist Church                  Attn: Clayton Gathe                                      127 N 4th St                       Vandalia, IL 62471                jackjohnston@burnsidejohnston.com   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church, Victoria                        Attn: Heather Linville                             407 N Bridge St                                          Victoria, TX 77901                                                   heatherlinville@fumcvictoria.com    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church, Walton, Ny                      Attn: John Drinan, Treasurer                       101 North St                                             Walton, NY 13856                                                     usnsuppo6512@gmail.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church, Washington Nc                   Attn: Charles Moore                                304 W 2nd St                                             Washington, NC 27889                                                 admin@fumcw.com                     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church, Westborough                     Attn: Gina Downing, Operations Manager             120 W Main St                                            Westborough, MA 01581                                                opsmanager@firstumchurch.com        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐Bay City                         Attn: Pastor, Wade Floyd                           2300 Ave H                                               Bay City, TX 77414                                                   fumcbc@sbcglobal.net                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐Brookings                        Attn: Jean Scherschligt                            625 5th St                                               Brookings, SD 57006                                                  finance@brookingsmethodist.org      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐Bryan                            Attn: Rick Sitton                                  506 E 28th St                                            Bryan, TX 77803                                                      rick@fumcbryan.org                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐Chanute                          c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐Douglas, Wy                      Attn: Patricia Ann Bell                            136 S 5th St                                             Douglas, WY 82633                                                    fumcdouglas@gmail.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐Goliad                           Attn: Matt Bochat                                  518 N Mount Auburn St                                    Goliad, TX 77963                                                     mattbochat@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐Longview                         Attn: Jay Jackson, Senior Pastor                   400 N Fredonia St                                        Longview, TX 75601                                                   jjackson@longviewfumc.org           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐Pasadena                         Attn: Tim Sun                                      500 E Colorado Blvd                                      Pasadena, CA 91101                                                   tsun@fumcpasadena.org               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐Pigeon Forge                     Attn: Stuart Albee                                 P.O. Box 157                                             Pigeon Forge, TN 37868                                               pastorstuart78@gmail.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐San Marcos                       Attn: Karen Rust                                   Fumc‐Sm, Treasurer                                       129 W Hutchinson St                San Marcos, TX 78666              js@fumcsm.org                       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐Shinnston                        Rev. Cindy Sue Boggs                               509 Pike St                                              Shinnston, WV 26431                                                  medsecii@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐Shinnston                        Attn: Pastor                                       64 Rebecca St                                            Shinnston, WV 26431                                                  fumcshinnston@gmail.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐Uvalde                           Attn: Sandra Cox Treasurer                         301 N High                                               Uvalde, TX 78801                                                     office@fumvuvalde.org               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Church‐Winnsboro, Tx                    Attn: Mary Tom Mcclemore                           301 Church St                                            Winnsboro, TX 75494                                                  fumcwinnsboro@gmail.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Commerce                                Attn: Jim Brown                                    1709 Hwy 50                                              Commerce, TX 75428                                                   Jimandnelb@gmail.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Jonesboro                               Attn: Scot Woodruff                                801 S Main                                               Jonesboro, AR 72401                                                  lraines@fridayfirm.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Kennedale                               c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Kenosha                                 Attn: Rev Dr Susan Patterson‐Sumwalt               919 60th W                                               Kenosha, WI 53140                                                    susan@firstumckenosha.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist‐ Marshall Mo                            Attn: Jim Deutsch                                  225 E Arrow                                              Marshall, MI 65340                                                   marshallfirstumc@mmuonline.net      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Mountain View                           Attn: Janis Sinclair                               209 Church Ave                                           Mountain View, AR 72560                                              fumcmv@mvtel.net                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Of Bixby                                15502 S Memorial Dr                                Bixby, OK 74008                                                                                                               fumcbix@olp.net                     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist of Lagrange, Illinois                   c/o Lagrange: First                                100 W Cossitt Ave                                        Lagrange, IL 60505                                                   cernacrand@aol.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Of Lincoln                              Attn: Barbara S Libby                              16 Lee Rd                                                Lincoln, ME 04457                                                    libbybarbara@gmail.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist of Malvern                              Friday, Eldredge & Clark, LLP                      Attn: Lindsey Emerson Raines                             400 W Capitol Ave, Ste 2000        Little Rock, AR 72201             lraines@fridayfirm.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist of Malvern                              Attn: Chris Walthall                               127 E Page Ave                                           Malvern, AR 72104                                                    hsduckman@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Palacios                                Attn: David Moreno                                 P.O. Box 947                                             Palacios, TX 77465                                                   palaciosumcpastor@gmail.com         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Watauga                                 c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist Watauga                                 6112 Watauga Rd                                    Watauga, TX 76148                                                                                                                                                 First Class Mail
Voting Party                   First United Methodist, Arkadelphia                            Attn: Rose Phillips                                107 N 9th St                                             Arkadelphia, AR 71923                                                raphillips94@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist, Franklin, Nc 66 Harrison Ave, Frankl   c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodist, Port Neches                            Attn: Pastor Rev Curtis Matthys                    1826 Nall St                                             Port Neches, TX 77651                                                info@fumcportneches.org             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Methodst Church Sapulpa                           Attn: James Reh                                    1401 E Taft                                              Sapulpa, OK 74066                                                    jreh@att.net                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Presbyterian Church                               Attn: Luke Farwell                                 605 N Webster Ave                                        De Pere, WI 54115                                                    luke@firstunitedpc.org              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Presbyterian Church                               Attn: Pastor Luke Farwell                          605 N Webster Ave                                        De Pere, WI 54115                                                    luke@firstunitedpc.org              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Presbyterian Church Of Edinboro                   Attn: Janice Zeart                                 4281 Route 6N                                            Edinboro, PA 16412                                                   office@edinboropresby.org           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First United Presbyterian Church Of Pine Plains, NY            Attn: Treasurer                                    P.O. Box 313                                             Pine Plains, NY 12567                                                schase560@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First Unted Church Of Pennington Gap                           41880 E Morgan Ave                                 Pennington Gap, VA 24277                                                                                                      pgfmc@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   First Untied Methodist Church Cary, Nc, Inc.                   Attn: Christine Hildebrand, Exec Dir               117 S Academy St                                         Cary, NC 27511                                                       childebrand@firstcary.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         First Utd Church Of Christ                                     Dan Beard Council, Bsa 438                         5808 Glenview Ave                                        Cincinnati, OH 45224‐2814                                                                                First Class Mail
Chartered Organization         First Utd Church Of Christ                                     Hawk Mountain Council 528                          3rd & Pine Sts                                           Hamburg, PA 19526                                                                                        First Class Mail
Chartered Organization         First Utd Church Of Christ                                     Hawk Mountain Council 528                          76 S 3rd St                                              Hamburg, PA 19526‐1828                                                                                   First Class Mail
Chartered Organization         First Utd Church Of Christ                                     Colonial Virginia Council 595                      1017 Todds Ln                                            Hampton, VA 23666‐1924                                                                                   First Class Mail
Chartered Organization         First Utd Church Of Christ                                     Westmoreland Fayette 512                           P.O. Box 89                                              Harrison City, PA 15636‐0089                                                                             First Class Mail
Chartered Organization         First Utd Church Of Christ                                     Minsi Trails Council 502                           501 Northampton St                                       Hellertown, PA 18055‐1838                                                                                First Class Mail
Chartered Organization         First Utd Church Of Christ                                     W D Boyce 138                                      210 W Chestnut St                                        Sheffield, IL 61361‐9662                                                                                 First Class Mail
Chartered Organization         First Utd Church Of Christ                                     Sugarcreek                                         526 W Main St                                            Sugarcreek, OH 44681‐9395                                                                                First Class Mail
Chartered Organization         First Utd Church Of Christ                                     Miami Valley Council, Bsa 444                      120 S Market St                                          Troy, OH 45373‐3325                                                                                      First Class Mail
Chartered Organization         First Utd Church Of Christ                                     Miami Valley Council, Bsa 444                      120 S Market St                                          Troy, OH 45373‐3325                                                                                      First Class Mail
Chartered Organization         First Utd Church Of Mt Pulaski                                 W D Boyce 138                                      303 E Jefferson St                                       Mount Pulaski, IL 62548‐1228                                                                             First Class Mail
Chartered Organization         First Utd Church Of Oak Park                                   Pathway To Adventure 456                           848 Lake St                                              Oak Park, IL 60301‐1314                                                                                  First Class Mail
Chartered Organization         First Utd Church Of Richardson                                 Circle Ten Council 571                             503 N Central Expy                                       Richardson, TX 75080‐5315                                                                                First Class Mail
Chartered Organization         First Utd Church Seagoville                                    Circle Ten Council 571                             101 S Kaufman St                                         Seagoville, TX 75159‐3101                                                                                First Class Mail
Chartered Organization         First Utd Commty                                               Methodist Church Bd of Trustees                    3717 Main St                                             Mchenry, IL 60050‐5252                                                                                   First Class Mail
Chartered Organization         First Utd Lutheran Church                                      Bay‐Lakes Council 635                              2401 Kohler Memorial Dr                                  Sheboygan, WI 53081‐3128                                                                                 First Class Mail
Chartered Organization         First Utd Methodiist Church                                    Yocona Area Council 748                            P.O. Box 286                                             Booneville, MS 38829‐0286                                                                                First Class Mail
Chartered Organization         First Utd Methodist                                            Southern Shores Fsc 783                            120 S State St                                           Ann Arbor, MI 48104‐1606                                                                                 First Class Mail
Chartered Organization         First Utd Methodist                                            Twin Valley Council Bsa 283                        204 1st Ave Nw                                           Austin, MN 55912‐3144                                                                                    First Class Mail
Chartered Organization         First Utd Methodist                                            Greater Alabama Council 001                        341 W Main St                                            Centre, AL 35960‐1327                                                                                    First Class Mail
Chartered Organization         First Utd Methodist                                            Andrew Jackson Council 303                         Hwy 80 E Mt. Salus Dr                                    Clinton, MS 39056                                                                                        First Class Mail
Chartered Organization         First Utd Methodist                                            Great Smoky Mountain Council 557                   P.O. Box 752                                             Crossville, TN 38557‐0752                                                                                First Class Mail
Chartered Organization         First Utd Methodist                                            Northwest Georgia Council 100                      500 S Thornton Ave                                       Dalton, GA 30720‐8270                                                                                    First Class Mail
Chartered Organization         First Utd Methodist                                            Greater Wyoming Council 638                        136 S 5th St                                             Douglas, WY 82633‐2435                                                                                   First Class Mail
Chartered Organization         First Utd Methodist                                            Circle Ten Council 571                             810 N Denny St                                           Howe, TX 75459‐3582                                                                                      First Class Mail
Chartered Organization         First Utd Methodist                                            Hawkeye Area Council 172                           1298 7th Ave                                             Marion, IA 52302‐3442                                                                                    First Class Mail
Chartered Organization         First Utd Methodist                                            West Tennessee Area Council 559                    225 Main St                                              Martin, TN 38237‐2119                                                                                    First Class Mail
Chartered Organization         First Utd Methodist                                            Evangeline Area 212                                119 Jefferson St                                         New Iberia, LA 70560‐3601                                                                                First Class Mail
Chartered Organization         First Utd Methodist                                            Overland Trails 322                                1600 W E St                                              North Platte, NE 69101‐4957                                                                              First Class Mail
Chartered Organization         First Utd Methodist                                            Pine Burr Area Council 304                         323 N Haugh Ave                                          Picayune, MS 39466‐4063                                                                                  First Class Mail
Chartered Organization         First Utd Methodist                                            Circle Ten Council 571                             503 N Central Expy                                       Richardson, TX 75080‐5315                                                                                First Class Mail
Chartered Organization         First Utd Methodist                                            Circle Ten Council 571                             309 N Josephine                                          Royse City, TX 75189                                                                                     First Class Mail
Chartered Organization         First Utd Methodist                                            Sam Houston Area Council 576                       200 Atchison St                                          Sealy, TX 77474‐2304                                                                                     First Class Mail
Chartered Organization         First Utd Methodist                                            Flint River Council 095                            132 Cherokee Rd                                          Thomaston, GA 30286‐3401                                                                                 First Class Mail
Chartered Organization         First Utd Methodist                                            West Tennessee Area Council 559                    500 S College St                                         Trenton, TN 38382‐2119                                                                                   First Class Mail
Chartered Organization         First Utd Methodist ‐ Mens Fellowship                          Glaciers Edge Council 620                          320 S Main St                                            Fort Atkinson, WI 53538‐2229                                                                             First Class Mail
Chartered Organization         First Utd Methodist &                                          Taylorsville Presbyterian Churches                 110 E Main Ave                                           Taylorsville, NC 28681                                                                                   First Class Mail
Chartered Organization         First Utd Methodist Bella Vista                                Westark Area Council 016                           20 Boyce Dr                                              Bella Vista, AR 72715‐8760                                                                               First Class Mail
Chartered Organization         First Utd Methodist Bridgeport                                 Longhorn Council 662                               608 17th St                                              Bridgeport, TX 76426‐3917                                                                                First Class Mail
Chartered Organization         First Utd Methodist Calhoun                                    Northwest Georgia Council 100                      205 E Line St                                            Calhoun, GA 30701‐1929                                                                                   First Class Mail
Chartered Organization         First Utd Methodist Ch                                         Flint River Council 095                            P.O. Box 595                                             Griffin, GA 30224‐0016                                                                                   First Class Mail
Chartered Organization         First Utd Methodist Chr Of Lynn Haven                          Gulf Coast Council 773                             4501 Transmitter Rd                                      Panama City, FL 32404‐5708                                                                               First Class Mail
Chartered Organization         First Utd Methodist Church                                     Coronado Area Council 192                          601 N Cedar St                                           Abilene, KS 67410‐2337                                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                                     Arbuckle Area Council 468                          129 W 14th St                                            Ada, OK 74820‐6413                                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                                     West Tennessee Area Council 559                    201 E Main St                                            Adamsville, TN 38310‐2317                                                                                First Class Mail
Chartered Organization         First Utd Methodist Church                                     Greater Niagara Frontier Council 380               7 Church St                                              Akron, NY 14001‐1217                                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                                     Buffalo Trace 156                                  129 E Main St                                            Albion, IL 62806‐1203                                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                                     Southern Shores Fsc 783                            600 E Michigan Ave                                       Albion, MI 49224‐1849                                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                                     Great Smoky Mountain Council 557                   617 Gilbert St                                           Alcoa, TN 37701‐2373                                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                                     Tukabatchee Area Council 005                       310 Green St                                             Alexander City, AL 35010‐1408                                                                            First Class Mail
Chartered Organization         First Utd Methodist Church                                     Cimarron Council 474                               626 College Ave                                          Alva, OK 73717‐2224                                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                                     Longhorn Council 662                               301 N Spears St                                          Alvarado, TX 76009‐3865                                                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                                     Last Frontier Council 480                          202 W Oklahoma Ave                                       Anadarko, OK 73005‐3410                                                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                                     Crossroads of America 160                          1215 Jackson St                                          Anderson, IN 46016‐1652                                                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                                     Overland Trails 322                                701 5th St                                               Arapahoe, NE 68922                                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                                     Arbuckle Area Council 468                          P.O. Box 1632                                            Ardmore, OK 73402‐1632                                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                                     Pathway To Adventure 456                           1903 E Euclid Ave                                        Arlington Heights, IL 60004‐5803                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                                     Longhorn Council 662                               313 N Center St                                          Arlington, TX 76011‐7536                                                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                                     Conquistador Council Bsa 413                       P.O. Box 1492                                            Artesia, NM 88211‐1492                                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                                     Old N State Council 070                            224 N Fayetteville St                                    Asheboro, NC 27203‐5530                                                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                                     Old N State Council 070                            224 N Fayetteville St                                    Asheboro, NC 27203‐5530                                                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                                     Buckeye Council 436                                220 Sandusky St                                          Ashland, OH 44805‐2033                                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                                     Greater Alabama Council 001                        208 E Hobbs St                                           Athens, AL 35611‐2108                                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                                     Northeast Georgia Council 101                      327 N Lumpkin St                                         Athens, GA 30601‐2743                                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                                     Simon Kenton Council 441                           2 S College St                                           Athens, OH 45701‐2904                                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                                     Caddo Area Council 584                             701 Lindsey Ln                                           Atlanta, TX 75551‐2325                                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                                     Gulf Coast Council 773                             311 S Pensacola Ave                                      Atmore, AL 36502‐2520                                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                                     Arbuckle Area Council 468                          P.O. Box 563                                             Atoka, OK 74525‐0563                                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                                     Suwannee River Area Council 664                    300 W Shotwell St                                        Bainbridge, GA 39819‐3906                                                                                First Class Mail
Chartered Organization         First Utd Methodist Church                                     Katahdin Area Council 216                          703 Essex St                                             Bangor, ME 04401‐3509                                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                                     Texas Trails Council 561                           P.O. Box 768                                             Bangs, TX 76823‐0768                                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                                     Flint River Council 095                            375 Thomaston St                                         Barnesville, GA 30204‐1616                                                                               First Class Mail
Chartered Organization         First Utd Methodist Church                                     Ohio River Valley Council 619                      123 W Church St                                          Barnesville, OH 43713‐1015                                                                               First Class Mail
Chartered Organization         First Utd Methodist Church                                     Iroquois Trail Council 376                         8221 Lewiston Rd                                         Batavia, NY 14020‐1251                                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                                     Coastal Georgia Council 099                        217 S Main St                                            Baxley, GA 31513‐0110                                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                                     Mobile Area Council‐Bsa 004                        P.O. Box 338                                             Bay Minette, AL 36507‐0338                                                                               First Class Mail
Chartered Organization         First Utd Methodist Church                                     Ohio River Valley Council 619                      3402 Guernsey St                                         Bellaire, OH 43906‐1209                                                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                                     Piedmont Council 420                               807 S Point Rd                                           Belmont, NC 28012‐4147                                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                                     Coronado Area Council 192                          801 N Bell St                                            Beloit, KS 67420‐1652                                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                                     Blackhawk Area 660                                 610 Bonus Ave                                            Belvidere, IL 61008‐2305                                                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                                     Crater Lake Council 491                            680 NW Bond St                                           Bend, OR 97703‐3274                                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                                     Three Fires Council 127                            328 S Church Rd                                          Bensenville, IL 60106‐2342                                                                               First Class Mail
Chartered Organization         First Utd Methodist Church                                     Westark Area Council 016                           201 NW 2nd St                                            Bentonville, AR 72712‐5234                                                                               First Class Mail
Chartered Organization         First Utd Methodist Church                                     Shenandoah Area Council 598                        49 S Green St                                            Berkeley Springs, WV 25411‐1638                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                                     Evangeline Area 212                                109 Gilmore Dr                                           Berwick, LA 70342‐2101                                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                                     Buffalo Trail Council 567                          P.O. Box 1229                                            Big Spring, TX 79721‐1229                                                                                First Class Mail
Chartered Organization         First Utd Methodist Church                                     Montana Council 315                                2800 4th Ave N                                           Billings, MT 59101‐1234                                                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                                     Gulf Stream Council 085                            625 NE Mizner Blvd                                       Boca Raton, FL 33432‐2703                                                                                First Class Mail
Chartered Organization         First Utd Methodist Church                                     Ore‐Ida Council 106 ‐ Bsa 106                      1110 W Franklin St                                       Boise, ID 83702‐5340                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 123 of 442
                                                                   Case 20-10343-LSS                               Doc 8171                                   Filed 01/06/22                               Page 139 of 457
                                                                                                                                                 Exhibit B
                                                                                                                                                  Service List
                                                                                                                                           Served as set forth below

        Description                                         Name                                                                               Address                                                                       Email              Method of Service
Chartered Organization         First Utd Methodist Church                 Ore‐Ida Council 106 ‐ Bsa 106       717 N 11th St                                          Boise, ID 83702‐5365                                            First Class Mail
Chartered Organization         First Utd Methodist Church                 Southwest Florida Council 088       27690 Shriver Ave                                      Bonita Springs, FL 34135‐5665                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Yocona Area Council 748             P.O. Box 334                                           Booneville, MS 38829‐0334                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Great Rivers Council 653            Broadway and Church                                    Bowling Green, MO 63334                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Southwest Florida Council 088       603 11th St W                                          Bradenton, FL 34205‐7729                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Atlanta Area Council 092            321 Hamilton Ave                                       Bremen, GA 30110‐1623                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              P.O. Box 1015                                          Broken Bow, OK 74728‐1015                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Andrew Jackson Council 303          215 W Cherokee St                                      Brookhaven, MS 39601‐3217                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Rio Grande Council 775              1225 Boca Chica Blvd                                   Brownsville, TX 78520‐8231                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Texas Trails Council 561            2500 11th St                                           Brownwood, TX 76801‐7817                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Coastal Georgia Council 099         1400 Norwich St                                        Brunswick, GA 31520‐7032                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Quapaw Area Council 018             508 N Reynolds Rd                                      Bryant, AR 72022‐3026                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Lasalle Council 165                 132 S Oak St                                           Buchanan, MI 49107‐1559                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Mountaineer Area 615                52 S Florida St                                        Buckhannon, WV 26201‐2672                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Choctaw Area Council 302            South Mulberry                                         Butler, AL 36904                                                First Class Mail
Chartered Organization         First Utd Methodist Church                 De Soto Area Council 013            121 Harrison Ave Sw                                    Camden, AR 71701‐3934                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Pony Express Council 311            201 N Pine St                                          Cameron, MO 64429‐1604                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Seneca Waterways 397                100 N Main St                                          Canandaigua, NY 14424‐1233                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Daniel Boone Council 414            29 Newfound St                                         Canton, NC 28716‐4050                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Daniel Boone Council 414            31 Newfound St                                         Canton, NC 28716‐4050                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              P.O. Box 187                                           Canton, TX 75103‐0187                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              600 S Buffalo St                                       Canton, TX 75103‐1808                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Garden State Council 690            1 Church St                                            Cape May Court House, NJ 08210‐2148                             First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater St Louis Area Council 312   214 W Main St                                          Carbondale, IL 62901‐2920                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Buffalo Trace 156                   100 S Church St                                        Carmi, IL 62821‐1658                                            First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater St Louis Area Council 312   P.O. Box 337                                           Carrier Mills, IL 62917‐0337                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Atlanta Area Council 092            206 Newnan St                                          Carrollton, GA 30117‐3123                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Carrollton                          P.O. Box 85                                            Carrollton, OH 44615‐0085                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              2201 E Hebron Pkwy                                     Carrollton, TX 75010‐4442                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Ozark Trails Council 306            617 S Main St                                          Carthage, MO 64836‐1650                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Denver Area Council 061             1200 South St                                          Castle Rock, CO 80104‐2141                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Winnebago Council, Bsa 173          723 Washington St                                      Cedar Falls, IA 50613‐2957                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              128 N Roberts Rd                                       Cedar Hill, TX 75104‐1944                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 East Texas Area Council 585         211 Porter St                                          Center, TX 75935‐3831                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Suffolk County Council Inc 404      P.O. Box 1228                                          Central Islip, NY 11722‐0960                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater St Louis Area Council 312   413 E Broadway                                         Centralia, IL 62801‐3254                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              502 W Broad St                                         Chandler, TX 75758                                              First Class Mail
Chartered Organization         First Utd Methodist Church                 Quivira Council, Bsa 198            202 S Lincoln Ave                                      Chanute, KS 66720‐2433                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Westark Area Council 016            P.O. Box 35                                            Charleston, AR 72933‐0035                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Lincoln Heritage Council 205        423 Main Cross St                                      Charlestown, IN 47111‐1434                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Stonewall Jackson Council 763       101 E Jefferson St                                     Charlottesville, VA 22902‐5103                                  First Class Mail
Chartered Organization         First Utd Methodist Church                 Northwest Georgia Council 100       100 W Chestnut St                                      Chatsworth, GA 30705                                            First Class Mail
Chartered Organization         First Utd Methodist Church                 Piedmont Council 420                601 N Pink St                                          Cherryville, NC 28021‐2518                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Del Mar Va 081                      P.O. Box 227                                           Chestertown, MD 21620‐0227                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Longs Peak Council 062              108 E 18th St                                          Cheyenne, WY 82001‐4520                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 North Florida Council 087           P.O. Box 1086                                          Chiefland, FL 32644‐1086                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Central N Carolina Council 416      110 W Church St                                        China Grove, NC 28023‐2102                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 San Diego Imperial Council 049      1200 E H St                                            Chula Vista, CA 91910‐7789                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Tukabatchee Area Council 005        207 8th St N                                           Clanton, AL 35045‐2750                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Winnebago Council, Bsa 173          201 3rd Ave Ne                                         Clarion, IA 50525‐1111                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Westark Area Council 016            200 W Sevier St, Unit 535                              Clarksville, AR 72830‐5422                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Coronado Area Council 192           P.O. Box 118                                           Clay Center, KS 67432‐0118                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Longhorn Council 662                1300 W Westhill Dr                                     Cleburne, TX 76033‐5912                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Cherokee Area Council 556           3425 Ocoee St N                                        Cleveland, TN 37312‐4456                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Gulf Stream Council 085             352 W Arcade Ave                                       Clewiston, FL 33440‐2802                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Longhorn Council 662                P.O. Box 529                                           Clifton, TX 76634‐0529                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Illowa Council 133                  621 S 3rd St                                           Clinton, IA 52732‐4313                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Palmetto Council 549                124 Bethel St                                          Clover, SC 29710‐1146                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Conquistador Council Bsa 413        1501 Sycamore St                                       Clovis, NM 88101‐4933                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Longhorn Council 662                P.O. Box 205                                           Colleyville, TX 76034‐0205                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Pikes Peak Council 060              420 N Nevada Ave                                       Colorado Springs, CO 80903‐1227                                 First Class Mail
Chartered Organization         First Utd Methodist Church                 Columbiana                          210 S Main St                                          Columbiana, OH 44408‐1308                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Hoosier Trails Council 145 145      618 8th St                                             Columbus, IN 47201‐6861                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Ozark Trails Council 306            330 W Maple St                                         Columbus, KS 66725‐1709                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Pushmataha Area Council 691         602 Main St                                            Columbus, MS 39701‐5736                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Texas Trails Council 561            P.O. Box 88                                            Comanche, TX 76442‐0088                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              1709 State Hwy 24                                      Commerce, TX 75428                                              First Class Mail
Chartered Organization         First Utd Methodist Church                 Piedmont Council 420                P.O. Box 235                                           Conover, NC 28613‐0235                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Pee Dee Area Council 552            1001 5th Ave                                           Conway, SC 29526‐4355                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              420 S Heartz Rd                                        Coppell, TX 75019‐5818                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 South Florida Council 084           8650 W Sample Rd                                       Coral Springs, FL 33065‐4431                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 South Georgia Council 098           302 E 12th Ave                                         Cordele, GA 31015‐1373                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Five Rivers Council, Inc 375        144 Cedar St                                           Corning, NY 14830‐2633                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Corsicana                           320 N 15th St                                          Corsicana, TX 75110‐4512                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Oregon Trail Council 697            1165 NW Monroe Ave                                     Corvallis, OR 97330‐6045                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Atlanta Area Council 092            1113 Conyers St Sw                                     Covington, GA 30014‐2391                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Istrouma Area Council 211           80007 Fitzgerald Church Rd                             Covington, LA 70435‐7826                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Crossroads of America 160           212 E Wabash Ave                                       Crawfordsville, IN 47933‐2525                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Mid‐America Council 326             400 N Elm St                                           Creston, IA 50801‐2325                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Gulf Coast Council 773              599 8th Ave                                            Crestview, FL 32536‐2013                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 De Soto Area Council 013            500 Main St                                            Crossett, AR 71635‐2932                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Great Smoky Mountain Council 557    P.O. Box 752                                           Crossville, TN 38557‐0752                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Pathway To Adventure 456            352 S Main St                                          Crown Point, IN 46307‐4050                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Blackhawk Area 660                  236 W Crystal Lake Ave                                 Crystal Lake, IL 60014‐5847                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater Alabama Council 001         320 3rd St Se                                          Cullman, AL 35055‐3524                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Great Trail 433                     245 Portage Trl                                        Cuyahoga Falls, OH 44221‐3223                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Blue Grass Council 204              P.O. Box 307                                           Cynthiana, KY 41031‐0307                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Tukabatchee Area Council 005        P.O. Box 305                                           Dadeville, AL 36853‐0305                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Piedmont Council 420                301 W Main St                                          Dallas, NC 28034‐2024                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Great Smoky Mountain Council 557    121 E Meeting St                                       Dandridge, TN 37725‐4826                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Arbuckle Area Council 468           306 S 3rd St                                           Davis, OK 73030                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                 Lincoln Heritage Council 205        P.O. Box 372                                           Dawson Springs, KY 42408‐0372                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Cherokee Area Council 556           P.O. Box 12                                            Dayton, TN 37321‐0012                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Texas Trails Council 561            616 S Houston St                                       De Leon, TX 76444                                               First Class Mail
Chartered Organization         First Utd Methodist Church                 Atlanta Area Council 092            300 E Ponce De Leon Ave                                Decatur, GA 30030‐2616                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater St Louis Area Council 312   201 W North St                                         Decatur, IL 62522‐2221                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Anthony Wayne Area 157              502 W Monroe St                                        Decatur, IN 46733‐1624                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Gulf Coast Council 773              P.O. Box 9                                             Defuniak Springs, FL 32435‐0009                                 First Class Mail
Chartered Organization         First Utd Methodist Church                 Three Fires Council 127             321 Oak St                                             Dekalb, IL 60115‐3369                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Twin Rivers Council 364             428 Kenwood Ave                                        Delmar, NY 12054‐1849                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Istrouma Area Council 211           319 Mattie St                                          Denham Springs, LA 70726‐3339                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Longhorn Council 662                201 S Locust St                                        Denton, TX 76201‐6007                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Calcasieu Area Council 209          P.O. Box 965                                           Deridder, LA 70634‐0965                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Calcasieu Area Council 209          P.O. Box 965                                           Deridder, LA 70634‐0965                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Santa Fe Trail Council 194          210 Soule St                                           Dodge City, KS 67801‐2558                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Cimarron Council 474                115 N Pennsylvania Ave                                 Drumright, OK 74030‐3413                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Bucktail Council 509                100 W Long Ave                                         Du Bois, PA 15801‐2104                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Last Frontier Council 480           2300 N Country Club Rd                                 Duncan, OK 73533‐3314                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              403 S Main St                                          Duncanville, TX 75116‐4709                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 West Tennessee Area Council 559     189 N Main St                                          Dyer, TN 38330‐1813                                             First Class Mail
Chartered Organization         First Utd Methodist Church                 West Tennessee Area Council 559     100 Mcgaughey St E                                     Dyersburg, TN 38024                                             First Class Mail
Chartered Organization         First Utd Methodist Church                 East Liverpool                      200 W 5th St                                           East Liverpool, OH 43920‐2834                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Water and Woods Council 782         600 S Main St                                          Eaton Rapids, MI 48827‐1426                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Rio Grande Council 775              P.O. Box 25                                            Edinburg, TX 78540‐0025                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Last Frontier Council 480           305 E Hurd St                                          Edmond, OK 73034‐4534                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 San Diego Imperial Council 049      312 S 8th St                                           El Centro, CA 92243‐2907                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Quivira Council, Bsa 198            421 W Central Ave                                      El Dorado, KS 67042‐2109                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Northeast Georgia Council 101       118 S Thomas St                                        Elberton, GA 30635‐2518                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Last Frontier Council 480           P.O. Box 177                                           Elgin, OK 73538‐0177                                            First Class Mail
Chartered Organization         First Utd Methodist Church                 Last Frontier Council 480           P.O. Box 177                                           Elgin, OK 73538‐0177                                            First Class Mail
Chartered Organization         First Utd Methodist Church                 Glaciers Edge Council 620           111 N Broad St                                         Elkhorn, WI 53121‐1349                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Mountaineer Area 615                315 Kerens Ave                                         Elkins, WV 26241‐3852                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Hoosier Trails Council 145 145      P.O. Box 548                                           Ellettsville, IN 47429‐0548                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Moraine Trails Council 500          416 Crescent Ave                                       Ellwood City, PA 16117‐1963                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Baden‐Powell Council 368            53 Mckinley Ave                                        Endicott, NY 13760‐5414                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              303 N Sherman St                                       Ennis, TX 75119                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              300 N Sherman St                                       Ennis, TX 75119‐3933                                            First Class Mail
Chartered Organization         First Utd Methodist Church                 Alabama‐Florida Council 003         101 E Barbour St                                       Eufaula, AL 36027‐2021                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Oregon Trail Council 697            1376 Olive St                                          Eugene, OR 97401‐3960                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Quivira Council, Bsa 198            P.O. Box 286                                           Eureka, KS 67045‐0286                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Central Florida Council 083         600 S Grove St                                         Eustis, FL 32726‐4823                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Heart of America Council 307        1650 Rainbow Blvd                                      Excelsior Springs, MO 64024‐1161                                First Class Mail
Chartered Organization         First Utd Methodist Church                 Fairfield                           P.O. Box 464                                           Fairfield, IA 52556‐0008                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              206 N Main St                                          Farmersville, TX 75442‐1635                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Blue Grass Council 204              117 W Main St                                          Flemingsburg, KY 41041‐1040                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 De Soto Area Council 013            104 E 4th St                                           Fordyce, AR 71742‐2302                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Piedmont Council 420                341 E Main St                                          Forest City, NC 28043‐3127                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Fort Collins                        1005 Stover St                                         Fort Collins, CO 80524‐3849                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Mid‐America Council 326             127 N 10th St                                          Fort Dodge, IA 50501‐3914                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Ozark Trails Council 306            301 S National Ave                                     Fort Scott, KS 66701‐1313                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Westark Area Council 016            200 N 15th St                                          Fort Smith, AR 72901‐3218                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Blue Grass Council 204              211 Washington St                                      Frankfort, KY 40601‐1821                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Bay Area Council 574                1600 W Broad St                                        Freeport, TX 77541‐5239                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Mid‐America Council 326             815 N Broad St                                         Fremont, NE 68025‐4128                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Gulf Coast Council 773              103 1st St Se                                          Ft Walton Bch, FL 32548‐5803                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Northeast Georgia Council 101       2780 Thompson Bridge Rd                                Gainesville, GA 30506‐1636                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Santa Fe Trail Council 194          1106 N Main St                                         Garden City, KS 67846‐4440                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Heart of America Council 307        205 S Oak St                                           Garnett, KS 66032‐1019                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Piedmont Council 420                190 E Franklin Blvd                                    Gastonia, NC 28052‐4105                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Pine Burr Area Council 304          2717 Hwy 90                                            Gautier, MS 39553‐5154                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Illowa Council 133                  302 N State St                                         Geneseo, IL 61254‐1238                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Longs Peak Council 062              900 O St                                               Gering, NE 69341‐2958                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater Wyoming Council 638         2000 W Lakeway Rd                                      Gillette, WY 82718‐5620                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 East Texas Area Council 585         105 N Montgomery St                                    Gilmer, TX 75644‐2130                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Three Fires Council 127             424 Forest Ave                                         Glen Ellyn, IL 60137‐4625                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Denver Area Council 061             1500 Ford St                                           Golden, CO 80401‐1951                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Lasalle Council 165                 214 S 5th St                                           Goshen, IN 46528‐3714                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Mobile Area Council‐Bsa 004         P.O. Box 448                                           Grand Bay, AL 36541‐0448                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Denver Area Council 061             522 White Ave                                          Grand Junction, CO 81501‐2644                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              122 N Center St                                        Grand Prairie, TX 75050‐5607                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571              501 N Main St                                          Grand Saline, TX 75140‐1851                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Piedmont Council 420                9 Lakeside Ave                                         Granite Falls, NC 28630‐1725                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Buffalo Trace 156                   117 W North St                                         Grayville, IL 62844                                             First Class Mail
Chartered Organization         First Utd Methodist Church                 Montana Council 315                 600 2nd Ave N                                          Great Falls, MT 59401                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Montana Council 315                 610 2nd Ave N                                          Great Falls, MT 59401‐2524                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Westmoreland Fayette 512            15 E 2nd St                                            Greensburg, PA 15601‐3103                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Tukabatchee Area Council 005        112 Adams St                                           Greenville, AL 36037‐2602                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater St Louis Area Council 312   310 S 2nd St                                           Greenville, IL 62246‐1727                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 President Gerald R Ford 781         204 W Cass St                                          Greenville, MI 48838‐1758                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Miami Valley Council, Bsa 444       202 W 4th St                                           Greenville, OH 45331‐1424                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 French Creek Council 532            73 Clinton St                                          Greenville, PA 16125‐2252                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Chickasaw Council 558               161 S Line St                                          Grenada, MS 38901‐2518                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Cherokee Area Council 469 469       1005 Leisure Rd                                        Grove, OK 74344‐5149                                            First Class Mail
Chartered Organization         First Utd Methodist Church                 Pine Burr Area Council 304          2301 15th St                                           Gulfport, MS 39501‐2028                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Texas Trails Council 561            103 E Main St                                          Gustine, TX 76455‐2737                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Last Frontier Council 480           224 E Noble Ave                                        Guthrie, OK 73044‐3217                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 East Texas Area Council 585         P.O. Box 365                                           Hallsville, TX 75650‐0365                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Sequoia Council 027                 505 N Redington St                                     Hanford, CA 93230‐3832                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Mid‐America Council 326             1202 9th St                                            Harlan, IA 51537‐1602                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Westark Area Council 016            1100 W Bower Ave                                       Harrison, AR 72601‐3271                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Henderson                           P.O. Box 579                                           Henderson, TN 38340‐0579                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 East Texas Area Council 585         204 N Marshall St                                      Henderson, TX 75652‐3172                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 New Birth of Freedom 544            64 W Chocolate Ave                                     Hershey, PA 17033‐1422                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Piedmont Council 420                311 3rd Ave Ne                                         Hickory, NC 28601‐5130                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Old N State Council 070             512 N Main St                                          High Point, NC 27260‐5016                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Pathway To Adventure 456            654 E 4th St                                           Hobart, IN 46342‐4409                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Last Frontier Council 480           P.O. Box 648                                           Hobart, OK 73651‐0648                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Conquistador Council Bsa 413        200 E Snyder St                                        Hobbs, NM 88240‐8303                                            First Class Mail
Chartered Organization         First Utd Methodist Church                 Quivira Council, Bsa 198            467 W 3rd St                                           Hoisington, KS 67544‐2205                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Overland Trails 322                 P.O. Box 30                                            Holdrege, NE 68949‐0030                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Overland Trails 322                 604 West Ave                                           Holdrege, NE 68949‐2325                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                  Page 124 of 442
                                                                   Case 20-10343-LSS                                     Doc 8171                                   Filed 01/06/22                                                    Page 140 of 457
                                                                                                                                                       Exhibit B
                                                                                                                                                        Service List
                                                                                                                                                 Served as set forth below

        Description                                         Name                                                                                     Address                                                                                                      Email              Method of Service
Chartered Organization         First Utd Methodist Church                 Laurel Highlands Council 527              801 Allegheny St                                       Hollidaysburg, PA 16648‐2401                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Jayhawk Area Council 197                  P.O. Box 269                                           Holton, KS 66436‐0269                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Heart of Virginia Council 602             P.O. Box 636                                           Hopewell, VA 23860‐0636                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Quapaw Area Council 018                   1100 Central Ave                                       Hot Springs National Park, AR 71901‐5451                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Southeast Louisiana Council 214           6109 Hwy 311                                           Houma, LA 70360‐6659                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Juniata Valley Council 497                427 Mifflin St                                         Huntingdon, PA 16652‐1520                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 West Tennessee Area Council 559           P.O. Box 39                                            Huntingdon, TN 38344‐0039                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Buckskin 617                              1124 5th Ave                                           Huntington, WV 25701‐2205                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Longhorn Council 662                      P.O. Box 1461                                          Hurst, TX 76053‐1461                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Overland Trails 322                       420 Holland St                                         Imperial, NE 69033‐2046                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Quivira Council, Bsa 198                  P.O. Box 545                                           Independence, KS 67301‐0545                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Indianola                                 302 W Ashland Ave                                      Indianola, IA 50125‐2424                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 South Texas Council 577                   P.O. Box 688                                           Ingleside, TX 78362‐0688                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Hawkeye Area Council 172                  214 E Jefferson St                                     Iowa City, IA 52245‐2135                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Iowa Falls                                619 Main St                                            Iowa Falls, IA 50126‐2223                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Simon Kenton Council 441                  101 N 5th St                                           Ironton, OH 45638‐1477                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571                    211 W 3rd St                                           Irving, TX 75060‐2940                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Westmoreland Fayette 512                  310 Oak St                                             Irwin, PA 15642‐3558                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Coastal Carolina Council 550              P.O. Box 807                                           Isle of Palms, SC 29451‐0807                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Coastal Carolina Council 550              12 21st Ave                                            Isle of Palms, SC 29451‐2302                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Longhorn Council 662                      406 N Main St                                          Jacksboro, TX 76458‐1730                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater St Louis Area Council 312         400 W Broadway Blvd                                    Johnston City, IL 62951‐1430                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Quapaw Area Council 018                   801 S Main St                                          Jonesboro, AR 72401‐3549                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Longhorn Council 662                      114 Paula Dr                                           Joshua, TX 76058‐3081                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Coronado Area Council 192                 804 N Jefferson St                                     Junction City, KS 66441‐2445                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Allegheny Highlands Council 382           112 Greeves St                                         Kane, PA 16735‐5606                                                                            First Class Mail
Chartered Organization         First Utd Methodist Church                 Overland Trails 322                       4500 Linden Dr                                         Kearney, NE 68847‐2522                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Blue Mountain Council 604                 421 W Kennewick Ave                                    Kennewick, WA 99336‐3825                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Illowa Council 133                        108 E Central Blvd                                     Kewanee, IL 61443‐2246                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Great Rivers Council 653                  300 E Washington St                                    Kirksville, MO 63501‐3074                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Central Florida Council 083               101 W Dakin Ave                                        Kissimmee, FL 34741‐5062                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Knoxville                                 P.O. Box 497                                           Knoxville, IA 50138‐0497                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Pathway To Adventure 456                  100 W Cossitt Ave                                      La Grange, IL 60525‐2330                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Chattahoochee Council 091                 401 Broad St                                           Lagrange, GA 30240‐2633                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Anthony Wayne Area 157                    209 W Spring St                                        Lagrange, IN 46761‐1845                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Calcasieu Area Council 209                812 Kirkman St                                         Lake Charles, LA 70601‐4359                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Bay Area Council 574                      404 Azalea St                                          Lake Jackson, TX 77566‐5872                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater Tampa Bay Area 089                72 Lake Morton Dr                                      Lakeland, FL 33801‐5345                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Texas Trails Council 561                  2 Alexander Ln                                         Lampasas, TX 76550‐3691                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Simon Kenton Council 441                  163 E Wheeling St                                      Lancaster, OH 43130‐3706                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater Wyoming Council 638               262 N 3rd St                                           Lander, WY 82520‐2811                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Water and Woods Council 782               3827 Delta River Dr                                    Lansing, MI 48906‐3477                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Longs Peak Council 062                    1215 E Gibbon St                                       Laramie, WY 82072‐2845                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Pine Burr Area Council 304                420 N 5th Ave                                          Laurel, MS 39440‐3912                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Cape Fear Council 425                     P.O. Box 1706                                          Laurinburg, NC 28353‐1706                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Last Frontier Council 480                 2602 NW Ferris Ave                                     Lawton, OK 73505‐5222                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 W D Boyce 138                             P.O. Box 169                                           Le Roy, IL 61752‐0169                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Ozark Trails Council 306                  300 N Madison Ave                                      Lebanon, MO 65536‐2977                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Calcasieu Area Council 209                202 N 5th St                                           Leesville, LA 71446‐4028                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Piedmont Council 420                      309 Church St NW                                       Lenoir, NC 28645‐5118                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Longhorn Council 662                      907 W Main St                                          Lewisville, TX 75067‐3515                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Blue Grass Council 204                    200 W High St                                          Lexington, KY 40507‐1828                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Old N State Council 070                   310 S Main St                                          Lexington, NC 27292‐3233                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 West Tennessee Area Council 559           27 E Church St                                         Lexington, TN 38351‐1813                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Santa Fe Trail Council 194                116 W 3rd St                                           Liberal, KS 67901‐3219                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 W D Boyce 138                             302 Broadway St                                        Lincoln, IL 62656‐2018                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Cornhusker Council 324                    2723 N 50th St                                         Lincoln, NE 68504‐2765                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Piedmont Council 420                      201 E Main St                                          Lincolnton, NC 28092‐3332                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Istrouma Area Council 211                 P.O. Box 155                                           Livingston, LA 70754‐0155                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Three Fires Council 127                   155 S Main St                                          Lombard, IL 60148‐2627                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Arbuckle Area Council 468                 10 Church St                                           Lone Grove, OK 73443                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Pine Burr Area Council 304                208 Pine St                                            Long Beach, MS 39560‐6041                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Mid‐America Council 326                   P.O. Box 398                                           Louisville, NE 68037‐0398                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Conquistador Council Bsa 413              407 N Main Ave                                         Lovington, NM 88260‐3654                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 President Gerald R Ford 781               621 E Main St                                          Lowell, MI 49331‐1719                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571                    501 S 3rd St                                           Mabank, TX 75147‐2706                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Arbuckle Area Council 468                 P.O. Box 88                                            Madill, OK 73446‐0088                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Lincoln Heritage Council 205              200 E Center St                                        Madisonville, KY 42431‐2041                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Great Smoky Mountain Council 557          P.O. Box 157                                           Madisonville, TN 37354‐0157                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 De Soto Area Council 013                  320 W Main St                                          Magnolia, AR 71753‐3503                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Coronado Area Council 192                 612 Poyntz Ave                                         Manhattan, KS 66502‐6041                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Norwela Council 215                       502 Polk St                                            Mansfield, LA 71052‐2408                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Atlanta Area Council 092                  56 Whitlock Ave NW                                     Marietta, GA 30064‐2342                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Bay‐Lakes Council 635                     813 Owena St                                           Marinette, WI 54143‐1948                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater St Louis Area Council 312         702 Plum St                                            Marshall, IL 62441‐1351                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Ohio River Valley Council 619             307 Clay St                                            Martins Ferry, OH 43935                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Blue Ridge Mtns Council 599               146 E Main St                                          Martinsville, VA 24112‐2814                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Simon Kenton Council 441                  207 S Court St                                         Marysville, OH 43040‐1546                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Pony Express Council 311                  102 N Main St                                          Maryville, MO 64468‐1601                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Great Smoky Mountain Council 557          804 Montvale Station Rd                                Maryville, TN 37803‐5804                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Longhouse Council 373                     189 Main St                                            Massena, NY 13662‐1907                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater St Louis Area Council 312         1601 Charleston Ave                                    Mattoon, IL 61938‐4013                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Jersey Shore Council 341                  6011 Main St                                           Mays Landing, NJ 08330‐1845                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571                    315 N Church St                                        Mckinney, TX 75069‐3821                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Last Frontier Council 480                 P.O. Box 997                                           Mcloud, OK 74851‐0997                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Caddo Area Council 584                    501 9th St                                             Mena, AR 71953‐3243                                                                            First Class Mail
Chartered Organization         First Utd Methodist Church                 Bay‐Lakes Council 635                     601 10th Ave                                           Menominee, MI 49858‐3011                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Mason Dixon Council 221                   Of Mercersburg                                         Mercersburg, PA 17236                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Mason Dixon Council 221                   11 N Fayette St                                        Mercersburg, PA 17236‐1609                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Connecticut Yankee Council Bsa 072        159 E Main St                                          Meriden, CT 06450                                                                              First Class Mail
Chartered Organization         First Utd Methodist Church                 Longhorn Council 662                      300 N Main                                             Meridian, TX 76665‐4779                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Longhorn Council 662                      203 N Canton St                                        Mexia, TX 76667‐2926                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 c/o Jeff Kodis                            Marshalltown                                           Mid Iowa Council 177                       202 W Main St      Marshalltown, IA 50158           First Class Mail
Chartered Organization         First Utd Methodist Church                 Ore‐Ida Council 106 ‐ Bsa 106             104 E Main St                                          Middleton, ID 83644                                                                            First Class Mail
Chartered Organization         First Utd Methodist Church                 Water and Woods Council 782               P.O. Box 466                                           Midland, MI 48640                                                                              First Class Mail
Chartered Organization         First Utd Methodist Church                 Buffalo Trail Council 567                 305 S Baird St                                         Midland, TX 79701‐5206                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571                    800 S 9th St                                           Midlothian, TX 76065‐3658                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Montana Council 315                       24 N 11th St                                           Miles City, MT 59301‐3402                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Garden State Council 690                  201 N 2nd St                                           Millville, NJ 08332‐6501                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 East Texas Area Council 585               612 N Newsom St                                        Mineola, TX 75773‐1848                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Glaciers Edge Council 620                 400 Doty St                                            Mineral Point, WI 53565‐1297                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Montana Council 315                       300 E Main St                                          Missoula, MT 59802‐4721                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Buffalo Trail Council 567                 600 S Alice Ave                                        Monahans, TX 79756‐5002                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Illowa Council 133                        221 E Broadway                                         Monmouth, IL 61462‐1868                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Laurel Highlands Council 527              430 W Main St                                          Monongahela, PA 15063‐2552                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Sam Houston Area Council 576              P.O. Box 530                                           Mont Belvieu, TX 77580‐0530                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 De Soto Area Council 013                  317 S Main St                                          Monticello, AR 71655‐4815                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Cimarron Council 474                      P.O. Box 385                                           Mooreland, OK 73852‐0385                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Garden State Council 690                  Camden & Pleasant Valley                               Moorestown, NJ 08057                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Piedmont Council 420                      200 N King St                                          Morganton, NC 28655‐3437                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Quapaw Area Council 018                   201 S Chestnut St                                      Morrilton, AR 72110‐4104                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Rainbow Council 702                       118 W Jackson St                                       Morris, IL 60450‐1846                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Inland Nwest Council 611                  322 E 3rd St                                           Moscow, ID 83843‐2921                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Piedmont Council 420                      140 N Main St                                          Mount Holly, NC 28120‐1768                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Tuscarora Council 424                     120 E James St                                         Mount Olive, NC 28365‐1711                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Water and Woods Council 782               400 S Main St                                          Mount Pleasant, MI 48858‐2523                                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571                    406 Hwy 37 S                                           Mount Vernon, TX 75457                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571                    P.O. Box 625                                           Mount Vernon, TX 75457‐0625                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Mount Baker Council, Bsa 606              1607 E Div St                                          Mount Vernon, WA 98274‐4503                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Sequoyah Council 713                      128 N Church St                                        Mountain City, TN 37683‐1324                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Westark Area Council 016                  605 W 6th St                                           Mountain Home, AR 72653‐3411                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Piedmont Council 420                      140 N Main St                                          Mt Holly, NC 28120‐1768                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Mississippi Valley Council 141 141        309 N Main St                                          Mt Pleasant, IA 52641‐1654                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Water and Woods Council 782               400 S Main St                                          Mt Pleasant, MI 48858‐2523                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Middle Tennessee Council 560              202 S Main St                                          Mt Pleasant, TN 38474‐1630                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Middle Tennessee Council 560              204 S Main St                                          Mt Pleasant, TN 38474‐1630                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Westark Area Council 016                  325 Church Ave                                         Mulberry, AR 72947                                                                             First Class Mail
Chartered Organization         First Utd Methodist Church                 Daniel Boone Council 414                  P.O. Box 86                                            Murphy, NC 28906‐0086                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Lincoln Heritage Council 205              503 Maple St                                           Murray, KY 42071‐2529                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 East Texas Area Council 585               201 E Hospital St                                      Nacogdoches, TX 75961‐5251                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 East Texas Area Council 585               601 E Hospital St                                      Nacogdoches, TX 75961‐5255                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Southwest Florida Council 088             388 1st Ave S                                          Naples, FL 34102‐5962                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571                    201 Cedar Ave                                          Naples, TX 75568                                                                               First Class Mail
Chartered Organization         First Utd Methodist Church                 Caddo Area Council 584                    1403 W Sunset St                                       Nashville, AR 71852‐4072                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Norwela Council 215                       411 2nd St                                             Natchitoches, LA 71457‐4651                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Sam Houston Area Council 576              616 Holland St                                         Navasota, TX 77868                                                                             First Class Mail
Chartered Organization         First Utd Methodist Church                 Cornhusker Council 324                    1023 1st Ave                                           Nebraska City, NE 68410‐2315                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                 Bay‐Lakes Council 635                     108 W Doty Ave                                         Neenah, WI 54956‐3065                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Simon Kenton Council 441                  P.O. Box 37                                            Nelsonville, OH 45764‐0037                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Simon Kenton Council 441                  205 W Columbus St                                      Nelsonville, OH 45764‐1146                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Yocona Area Council 748                   P.O. Box 156                                           New Albany, MS 38652‐0156                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Yocona Area Council 748                   207 E Bankhead St                                      New Albany, MS 38652‐3902                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Seneca Waterways 397                      P.O. Box 62                                            Newark, NY 14513‐0062                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Flint River Council 095                   33 Greenville St                                       Newnan, GA 30263‐2601                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Flint River Council 095                   P.O. Box 2424                                          Newnan, GA 30264‐2424                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Patriots Path Council 358                 111 Ryerson Ave                                        Newton, NJ 07860‐1586                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 Great Trail 433                           608 N Crandon Ave                                      Niles, OH 44446‐3435                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Crossroads of America 160                 2051 Monument St                                       Noblesville, IN 46060‐2445                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 W.L.A.C.C. 051                            4832 Tujunga Ave                                       North Hollywood, CA 91601‐4520                                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                 Hoosier Trails Council 145 145            240 W Poplar St                                        North Vernon, IN 47265‐1719                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Old Hickory Council 427                   Sixth & E St                                           North Wilkesboro, NC 28659                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Old Hickory Council 427                   401 6th St                                             North Wilkesboro, NC 28659‐4159                                                                First Class Mail
Chartered Organization         First Utd Methodist Church                 Great Rivers Council 653, 4th & Osage     Sedalia, MO 65301                                                                                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Great Rivers Council 653, 4th and Osage   Sedalia, MO 65301                                                                                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 204 W Brown St                            San Saba, TX 76877                                                                                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 W D Boyce 138, 1st Ave & 6th St           Mendota, IL 61342                                                                                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Great Smoky Mountain Council 557          1350 Oak Ridge Tpke                                    Oak Ridge, TN 37830‐6416                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 North Florida Council 087                 1126 E Silver Springs Blvd                             Ocala, FL 34470‐6704                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Pacific Harbors Council, Bsa 612          1224 Legion Way SE                                     Olympia, WA 98501‐1655                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Great Smoky Mountain Council 557          P.O. Box 4445                                          Oneida, TN 37841‐4445                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 California Inland Empire Council 045      918 N Euclid Ave                                       Ontario, CA 91762‐2320                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Jayhawk Area Council 197                  P.O. Box 154                                           Osage City, KS 66523‐0154                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Bay‐Lakes Council 635                     700 W Linwood Ave                                      Oshkosh, WI 54901‐1823                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Heart of America Council 307              203 E 4th St                                           Ottawa, KS 66067‐2305                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                 East Texas Area Council 585               213 E Henderson St                                     Overton, TX 75684‐1307                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Alabama‐Florida Council 003               167 E Broad St                                         Ozark, AL 36360‐0583                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Westark Area Council 016                  503 W Commercial St                                    Ozark, AR 72949‐3111                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Gulf Coast Council 773                    903 E 4th St                                           Panama City, FL 32401‐3760                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Quapaw Area Council 018                   404 W Main St                                          Paragould, AR 72450‐4219                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater St Louis Area Council 312         324 W Court St                                         Paris, IL 61944‐1706                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571                    322 Lamar Ave                                          Paris, TX 75460‐4376                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Pathway To Adventure 456                  418 W Touhy Ave                                        Park Ridge, IL 60068‐4207                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater Alabama Council 001               2200 3rd Ave N                                         Pell City, AL 35125‐1712                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Sequoyah Council 713                      41880 E Morgan Ave                                     Pennington Gap, VA 24277‐3218                                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                 Gulf Coast Council 773                    6 E Wright St                                          Pensacola, FL 32501‐4846                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Washington Crossing Council 777           501 W Market St                                        Perkasie, PA 18944‐1418                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Erie Shores Council 460                   200 W 2nd St                                           Perrysburg, OH 43551‐1403                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Buffalo Trace 156                         P.O. Box 157                                           Petersburg, IN 47567‐0157                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Coronado Area Council 192                 593 3rd St                                             Phillipsburg, KS 67661‐2136                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Grand Canyon Council 010                  5510 N Central Ave                                     Phoenix, AZ 85012‐1313                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Pine Burr Area Council 304                220 3rd St                                             Picayune, MS 39466‐4012                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Ozark Trails Council 306                  415 N Pine St                                          Pittsburg, KS 66762‐3816                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Circle Ten Council 571                    P.O. Box 556                                           Pittsburg, TX 75686‐0556                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                 Western Massachusetts Council 234         55 Fenn St                                             Pittsfield, MA 01201‐6231                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 Lasalle Council 165                       400 N Michigan St                                      Plymouth, IN 46563‐1738                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                 Quapaw Area Council 018                   400 N Thomasville Ave                                  Pocahontas, AR 72455‐2766                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                 W D Boyce 138                             219 N Chicago St                                       Pontiac, IL 61764‐1911                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                 Greater St Louis Area Council 312         500 N Main St                                          Poplar Bluff, MO 63901‐5050                                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                 Longhouse Council 373                     South St                                               Port Byron, NY 13140                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church                 Three Rivers Council 578                  1826 Nall St                                           Port Neches, TX 77651‐3331                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                 Gulf Coast Council 773                    1001 Constitution Dr                                   Port Saint Joe, FL 32456                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                        Page 125 of 442
                                                                              Case 20-10343-LSS                                   Doc 8171                               Filed 01/06/22                           Page 141 of 457
                                                                                                                                                            Exhibit B
                                                                                                                                                             Service List
                                                                                                                                                      Served as set forth below

        Description                                                    Name                                                                               Address                                                                                  Email              Method of Service
Chartered Organization         First Utd Methodist Church                            Conquistador Council Bsa 413            P.O. Box 419                                       Portales, NM 88130‐0419                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Conquistador Council Bsa 413            200 S Ave C                                        Portales, NM 88130‐6252                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Atlanta Area Council 092                4329 Marietta St                                   Powder Springs, GA 30127‐2608                                              First Class Mail
Chartered Organization         First Utd Methodist Church                            Quivira Council, Bsa 198                100 N Jackson St                                   Pratt, KS 67124‐1733                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                            Buckskin 617                            100 Center St                                      Princeton, WV 24740‐2946                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Southwest Florida Council 088           507 W Marion Ave                                   Punta Gorda, FL 33950‐4420                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Circle Ten Council 571                  1555 E Quinlan Pkwy                                Quinlan, TX 75474‐8629                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Black Hills Area Council 695 695        629 Kansas City St                                 Rapid City, SD 57701‐3637                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Great Swest Council 412                 1501 S 4th St                                      Raton, NM 87740‐4362                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                            Buckskin 617                            719 Flinn Ave                                      Ravenswood, WV 26164‐1331                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Circle Ten Council 571                  P.O. Box 25                                        Red Oak, TX 75154‐0025                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Nevada Area Council 329                 209 W 1st St                                       Reno, NV 89501‐1202                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                            W.L.A.C.C. 051                          18120 Saticoy St                                   Reseda, CA 91335‐3119                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Bucktail Council 509                    506 Jackson St                                     Reynoldsville, PA 15851‐1356                                               First Class Mail
Chartered Organization         First Utd Methodist Church                            Samoset Council, Bsa 627                724 Arbutus St                                     Rhinelander, WI 54501‐3701                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Circle Ten Council 571                  503 N Central Expy                                 Richardson, TX 75080‐5315                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Blue Grass Council 204                  401 W Main St                                      Richmond, KY 40475‐1458                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater Yosemite Council 059            6901 3rd St                                        Riverbank, CA 95367‐2012                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            California Inland Empire Council 045    4845 Brockton Ave                                  Riverside, CA 92506‐0134                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater Alabama Council 001             806 Main St                                        Roanoke, AL 36274‐1432                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater St Louis Area Council 312       201 W Walnut St                                    Robinson, IL 62454‐2149                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Circle Ten Council 571                  P.O. Box 158                                       Rockwall, TX 75087‐0158                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            East Carolina Council 426               100 S Church St                                    Rocky Mount, NC 27804‐5701                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Ozark Trails Council 306                803 N Main St                                      Rolla, MO 65401‐3025                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                            Oregon Trail Council 697                1771 W Harvard Ave                                 Roseburg, OR 97471‐2716                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Circle Ten Council 571                  4405 Main St                                       Rowlett, TX 75088‐5160                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Mississippi Valley Council 141 141      210 W Jefferson St                                 Rushville, IL 62681‐1006                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater Alabama Council 001             311 Jackson Ave N                                  Russellville, AL 35653‐2344                                                First Class Mail
Chartered Organization         First Utd Methodist Church                            Piedmont Council 420                    264 N Main St                                      Rutherfordton, NC 28139‐2536                                               First Class Mail
Chartered Organization         First Utd Methodist Church                            North Florida Council 087               118 King St                                        Saint Augustine, FL 32084‐4324                                             First Class Mail
Chartered Organization         First Utd Methodist Church                            Central Florida Council 083             1001 Ohio Ave                                      Saint Cloud, FL 34769‐3743                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater St Louis Area Council 312       West 3rd and N Walnut                              Saint Elmo, IL 62458                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                            Water and Woods Council 782             116 S Franklin St                                  Saint Louis, MI 48880‐1737                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater Tampa Bay Area 089              212 3rd St N                                       Saint Petersburg, FL 33701‐3819                                            First Class Mail
Chartered Organization         First Utd Methodist Church                            Central N Carolina Council 416          217 S Church St                                    Salisbury, NC 28144‐4927                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Rio Grande Council 775                  400 N Sam Houston Blvd                             San Benito, TX 78586‐4667                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Capitol Area Council 564                129 W Hutchison St                                 San Marcos, TX 78666‐5616                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Texas Trails Council 561                P.O. Box 487                                       San Saba, TX 76877‐0487                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Central Florida Council 083             419 S Park Ave                                     Sanford, FL 32771‐1933                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            West Tennessee Area Council 559         906 Main St E                                      Savannah, TN 38372                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                            Scottsbluff                             2002 4th Ave                                       Scottsbluff, NE 69361‐2033                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater Alabama Council 001             1105 S Broad St                                    Scottsboro, AL 35768‐2513                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Circle Ten Council 571                  101 S Kaufman St                                   Seagoville, TX 75159‐3101                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Orange County Council 039               148 10th St                                        Seal Beach, CA 90740‐6421                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Great Rivers Council 653                1701 W 32nd St                                     Sedalia, MO 65301‐8619                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            West Tennessee Area Council 559         1122 W Cherry Ave                                  Selmer, TN 38375‐5000                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Great Smoky Mountain Council 557        1469 Dupont Rd                                     Seymour, TN 37865‐6664                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Crossroads of America 160               34 W Washington St                                 Shelbyville, IN 46176‐1244                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Mid‐America Council 326                 200 Church St                                      Shenandoah, IA 51601‐1734                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Circle Ten Council 571                  401 N Elm St                                       Sherman, TX 75090‐5805                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Mountaineer Area 615                    64 Rebecca St                                      Shinnston, WV 26431‐1454                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Occoneechee 421                         1101 W Raleigh St                                  Siler City, NC 27344‐4200                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Southeast Louisiana Council 214         433 Erlanger Ave                                   Slidell, LA 70458‐3429                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            De Soto Area Council 013                500 W 7th St                                       Smackover, AR 71762‐1707                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Blue Grass Council 204                  99 S Central Ave                                   Somerset, KY 42501‐2001                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Patriots Path Council 358               48 W High St                                       Somerville, NJ 08876‐2113                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            West Tennessee Area Council 559         202 S East St                                      Somerville, TN 38068‐1610                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Simon Kenton Council 441                950 Main St                                        South Shore, KY 41175                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Westark Area Council 016                P.O. Box 6293                                      Springdale, AR 72766‐6293                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Abraham Lincoln Council 144             2941 S Koke Mill Rd                                Springfield, IL 62711‐9651                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater Niagara Frontier Council 380    474 E Main St                                      Springville, NY 14141‐1437                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Connecticut Yankee Council Bsa 072      42 Cross Rd                                        Stamford, CT 06905‐3402                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Quapaw Area Council 018                 300 Washington St                                  Star City, AR 71667‐5119                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Pushmataha Area Council 691             200 W Lampkin St                                   Starkville, MS 39759‐2812                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Pushmataha Area Council 691             200 W Lampkin St                                   Starkville, MS 39759‐2812                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Coastal Georgia Council 099             P.O. Box 534                                       Statesboro, GA 30459‐0534                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Gulf Stream Council 085                 1500 S Kanner Hwy                                  Stuart, FL 34994‐7101                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Sequoyah Council 713                    P.O. Box 134                                       Surgoinsville, TN 37873‐0134                                               First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater Alabama Council 001             105 E Spring St                                    Sylacauga, AL 35150‐3045                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Daniel Boone Council 414                P.O. Box 296                                       Sylva, NC 28779‐0296                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                            Atlanta Area Council 092                P.O. Box 461                                       Tallapoosa, GA 30176‐0461                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Tukabatchee Area Council 005            1 Jordan Ave                                       Tallassee, AL 36078‐1237                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater Tampa Bay Area 089              501 E Tarpon Ave                                   Tarpon Springs, FL 34689‐4323                                              First Class Mail
Chartered Organization         First Utd Methodist Church                            Abraham Lincoln Council 144             200 S Walnut St                                    Taylorville, IL 62568‐2244                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater Los Angeles Area 033            5957 Golden West Ave                               Temple City, CA 91780‐2227                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Longhorn Council 662                    P.O. Box 773                                       Temple, TX 76503‐0773                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Suwannee River Area Council 664         P.O. Box 975                                       Thomasville, GA 31799‐0975                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Georgia‐Carolina 093                    353 Main St                                        Thomson, GA 30824‐2612                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            South Georgia Council 098               107 12th St W                                      Tifton, GA 31794‐6944                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Jayhawk Area Council 197                600 SW Topeka Blvd                                 Topeka, KS 66603‐3202                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater St Louis Area Council 312       3324 Old US Hwy 50                                 Trenton, IL 62293‐3309                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Piedmont Council 420                    204 Mills Ave                                      Troutman, NC 28166                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                            Piedmont Council 420                    124 Painted Bunting Dr                             Troutman, NC 28166‐9505                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Black Warrior Council 006               800 Greensboro Ave                                 Tuscaloosa, AL 35401‐2146                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Snake River Council 111                 360 Shoshone St E                                  Twin Falls, ID 83301‐6106                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Buckeye Council 436                     P.O. Box 426                                       Uhrichsville, OH 44683‐0426                                                First Class Mail
Chartered Organization         First Utd Methodist Church                            Santa Fe Trail Council 194              321 W Grant Ave                                    Ulysses, KS 67880‐2419                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            French Creek Council 532                42 E High St                                       Union City, PA 16438‐1035                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Piedmont Council 420                    217 German Ave SE                                  Valdese, NC 28690                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                            Mt Diablo‐Silverado Council 023         502 Virginia St                                    Vallejo, CA 94590‐6020                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Circle Ten Council 571                  101 N Burris St                                    Valliant, OK 74764                                                         First Class Mail
Chartered Organization         First Utd Methodist Church                            Lasalle Council 165                     103 Franklin St                                    Valparaiso, IN 46383‐4861                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Circle Ten Council 571                  301 S Preston St                                   Van Alstyne, TX 75495                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Black Swamp Area Council 449            113 W Central Ave                                  Van Wert, OH 45891‐1702                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater St Louis Area Council 312       127 N 4th St                                       Vandalia, IL 62471‐2308                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Water and Woods Council 782             139 N Main St                                      Vassar, MI 48768‐1318                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Ventura County Council 057              1338 E Santa Clara St                              Ventura, CA 93001‐3213                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Seneca Waterways 397                    106 E Main St                                      Victor, NY 14564‐1304                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            South Texas Council 577                 407 N Bridge St                                    Victoria, TX 77901‐6516                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Sagamore Council 162                    110 N Cass St                                      Wabash, IN 46992‐2440                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Longhorn Council 662                    4901 Cobbs Dr                                      Waco, TX 76710‐2754                                                        First Class Mail
Chartered Organization         First Utd Methodist Church                            Connecticut Yankee Council Bsa 072      941 Old Rock Hill Rd                               Wallingford, CT 06492‐3950                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Black Swamp Area Council 449            504 Glynwood Rd                                    Wapakoneta, OH 45895‐1129                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Chief Cornplanter Council, Bsa 538      200 Market St                                      Warren, PA 16365‐2372                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Anthony Wayne Area 157                  179 S Indiana St                                   Warsaw, IN 46580‐2805                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Laurel Highlands Council 527            29 N College St                                    Washington, PA 15301‐6711                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Yocona Area Council 748                 P.O. Box 288                                       Water Valley, MS 38965‐0288                                                First Class Mail
Chartered Organization         First Utd Methodist Church                            Last Frontier Council 480               438 E D Ave                                        Waurika, OK 73573‐3230                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Cornhusker Council 324                  14410 Folkestone St                                Waverly, NE 68462‐1539                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Daniel Boone Council 414                566 S Haywood St                                   Waynesville, NC 28786‐4342                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Cimarron Council 474                    110 N Flynn St                                     Waynoka, OK 73860                                                          First Class Mail
Chartered Organization         First Utd Methodist Church                            Buckskin 617                            120 Church St                                      Webster Springs, WV 26288‐1112                                             First Class Mail
Chartered Organization         First Utd Methodist Church                            Longhouse Council 373                   2744 E Brutus St                                   Weedsport, NY 13166‐8706                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Lake Erie Council 440                   127 Park Pl                                        Wellington, OH 44090‐1339                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Grand Columbia Council 614              941 Washington St                                  Wenatchee, WA 98801‐2672                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Rio Grande Council 775                  520 S Illinois Ave                                 Weslaco, TX 78596‐6240                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Water and Woods Council 782             2490 W State Rd                                    West Branch, MI 48661‐9213                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Three Fires Council 127                 318 W Main St                                      West Dundee, IL 60118‐2021                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            W.L.A.C.C. 051                          22700 Sherman Way                                  West Hills, CA 91307‐2332                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Chickasaw Council 558                   215 N Missouri St                                  West Memphis, AR 72301‐3139                                                First Class Mail
Chartered Organization         First Utd Methodist Church                            Louisiana Purchase Council 213          1411 Glenwood Dr                                   West Monroe, LA 71291‐5509                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Westmoreland Fayette 512                P.O. Box 149                                       West Newton, PA 15089‐0149                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Northeastern Pennsylvania Council 501   408 Wyoming Ave                                    West Pittston, PA 18643‐2827                                               First Class Mail
Chartered Organization         First Utd Methodist Church                            Pushmataha Area Council 691             P.O. Box 293                                       West Point, MS 39773‐0293                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Mayflower Council 251                   120 W Main St                                      Westborough, MA 01581‐3018                                                 First Class Mail
Chartered Organization         First Utd Methodist Church                            Tukabatchee Area Council 005            306 W Tuskeena St                                  Wetumpka, AL 36092‐2423                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Abraham Lincoln Council 144             239 N Main St                                      White Hall, IL 62092‐1144                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Circle Ten Council 571                  122 S Union St                                     Whitesboro, TX 76273‐2108                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Greater Los Angeles Area 033            13222 Bailey St                                    Whittier, CA 90601‐4305                                                    First Class Mail
Chartered Organization         First Utd Methodist Church                            Northwest Texas Council 587             909 10th St                                        Wichita Falls, TX 76301‐3411                                               First Class Mail
Chartered Organization         First Utd Methodist Church                            Pine Burr Area Council 304              P.O. Box 597                                       Wiggins, MS 39577‐0597                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Seneca Waterways 397                    P.O. Box 172                                       Williamson, NY 14589‐0172                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Buckskin 617                            P.O. Box 78                                        Williamson, WV 25661‐0078                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            North Florida Council 087               213 W Noble Ave                                    Williston, FL 32696‐2029                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            East Carolina Council 426               P.O. Box 1423                                      Wilson, NC 27894‐1423                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Blue Grass Council 204                  204 S Main St                                      Winchester, KY 40391‐2456                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Northeast Georgia Council 101           280 N Broad St                                     Winder, GA 30680‐2149                                                      First Class Mail
Chartered Organization         First Utd Methodist Church                            Longs Peak Council 062                  503 Walnut St                                      Windsor, CO 80550‐5145                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Twin Valley Council Bsa 283             109 Cleveland Ave W                                Winnebago, MN 56098‐2095                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Grand Canyon Council 010                101 E Hillview St                                  Winslow, AZ 86047‐2709                                                     First Class Mail
Chartered Organization         First Utd Methodist Church                            Central Florida Council 083             125 N Lakeview Ave                                 Winter Garden, FL 34787‐2710                                               First Class Mail
Chartered Organization         First Utd Methodist Church                            Winterset                               P.O. Box 347                                       Winterset, IA 50273‐0347                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Circle Ten Council 571                  P.O. Box 74                                        Wolfe City, TX 75496‐0074                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Overland Trails 322                     1105 Main St                                       Wood River, NE 68883‐3109                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Blackhawk Area 660                      201 W South St                                     Woodstock, IL 60098‐3703                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Arbuckle Area Council 468               504 S Robberson Ave                                Wynnewood, OK 73098‐5817                                                   First Class Mail
Chartered Organization         First Utd Methodist Church                            Andrew Jackson Council 303              P.O. Box 444                                       Yazoo City, MS 39194‐0444                                                  First Class Mail
Chartered Organization         First Utd Methodist Church                            Last Frontier Council 480               400 Elm Ave                                        Yukon, OK 73099‐2628                                                       First Class Mail
Chartered Organization         First Utd Methodist Church                            Grand Canyon Council 010                298 W 3rd St                                       Yuma, AZ 85364‐2220                                                        First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Alvin                    Bay Area Council 574                    611 W South St                                     Alvin, TX 77511‐4318                                                       First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Ames                     Mid Iowa Council 177                    516 Kellogg Ave                                    Ames, IA 50010‐6228                                                        First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Bowie                    Northwest Texas Council 587             1515 Jefferson St                                  Bowie, TX 76230‐2603                                                       First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Burk                     Northwest Texas Council 587             301 E 4th St                                       Burkburnett, TX 76354‐3448                                                 First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Burleson                 Longhorn Council 662                    590 NE Mcalister Rd                                Burleson, TX 76028‐7418                                                    First Class Mail
Voting Party                   First Utd Methodist Church ‐ Colfax                   10277 Olive Ave                         Colfax, IA 50054                                                                               mark@ottolawyers.com           Email
                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Dover                    Buckeye Council 436                     1725 N Wooster Ave                                 Dover, OH 44622‐2503                                                       First Class Mail
Chartered Organization         First Utd Methodist Church ‐ El Campo                 Sam Houston Area Council 576            1001 Ave I                                         El Campo, TX 77437‐3239                                                    First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Greeley                  Longs Peak Council 062                  917 10th Ave                                       Greeley, CO 80631‐3811                                                     First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Hamilton                 Longhorn Council 662                    P.O. Box 386                                       Hamilton, TX 76531‐0386                                                    First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Holliday                 Northwest Texas Council 587             P.O. Box 1037                                      Holliday, TX 76366‐1037                                                    First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Katy                     Sam Houston Area Council 576            5601 5th St                                        Katy, TX 77493‐1915                                                        First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Laramie                  Longs Peak Council 062                  1215 E Gibbon St                                   Laramie, WY 82072‐2845                                                     First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Lisbon                   Buckeye Council 436                     114 E Washington St                                Lisbon, OH 44432‐1422                                                      First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Mitchell                 Sioux Council 733                       310 N Rowley St                                    Mitchell, SD 57301‐2616                                                    First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Nevada                   Mid Iowa Council 177                    1036 7th St                                        Nevada, IA 50201‐1907                                                      First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Pearland                 Bay Area Council 574                    2314 N Grand Blvd                                  Pearland, TX 77581‐4210                                                    First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Perry                    Mid Iowa Council 177                    P.O. Box 237                                       Perry, IA 50220‐0237                                                       First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Pierre                   Sioux Council 733                       117 N Central Ave                                  Pierre, SD 57501‐1926                                                      First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Salem                    Buckeye Council 436                     244 S Broadway Ave                                 Salem, OH 44460‐3004                                                       First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Troy                     Alabama‐Florida Council 003             213 N 3 Notch St                                   Troy, AL 36081‐2011                                                        First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Vernon                   Northwest Texas Council 587             3029 Wilbarger St                                  Vernon, TX 76384‐4573                                                      First Class Mail
Chartered Organization         First Utd Methodist Church ‐ Weimar                   Sam Houston Area Council 576            301 W Saint Charles St                             Weimar, TX 78962‐2313                                                      First Class Mail
Chartered Organization         First Utd Methodist Church Albany                     Cascade Pacific Council 492             1115 28th Ave Sw                                   Albany, OR 97321‐3406                                                      First Class Mail
Chartered Organization         First Utd Methodist Church Alpine                     Buffalo Trail Council 567               208 E Sul Ross Ave                                 Alpine, TX 79830‐4722                                                      First Class Mail
Chartered Organization         First Utd Methodist Church Alvarado                   Longhorn Council 662                    P.O. Box 364                                       Alvarado, TX 76009‐0364                                                    First Class Mail
Chartered Organization         First Utd Methodist Church Arkansas                   Quivira Council, Bsa 198                2448 Edgemont Dr                                   Arkansas City, KS 67005‐3880                                               First Class Mail
Chartered Organization         First Utd Methodist Church Athens                     Circle Ten Council 571                  225 Lovers Ln                                      Athens, TX 75751‐2912                                                      First Class Mail
Chartered Organization         First Utd Methodist Church Batesville                 Quapaw Area Council 018                 615 E Main St                                      Batesville, AR 72501‐4647                                                  First Class Mail
Chartered Organization         First Utd Methodist Church Beebe                      Quapaw Area Council 018                 302 N Main St                                      Beebe, AR 72012‐3050                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Bixby                      Indian Nations Council 488              15502 S Memorial Dr                                Bixby, OK 74008‐4162                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Bixby                      Indian Nations Council 488              15502 S Memorial Dr                                Bixby, OK 74008‐4162                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Carbondale                 Greater St Louis Area Council 312       214 W Main St                                      Carbondale, IL 62901‐2920                                                  First Class Mail
Chartered Organization         First Utd Methodist Church Clarksdale                 Chickasaw Council 558                   P.O. Box 1303                                      Clarksdale, MS 38614‐1303                                                  First Class Mail
Chartered Organization         First Utd Methodist Church Cleveland                  Chickasaw Council 558                   P.O. Box 130                                       Cleveland, MS 38732‐0130                                                   First Class Mail
Chartered Organization         First Utd Methodist Church Conway                     Quapaw Area Council 018                 1610 Prince St                                     Conway, AR 72034‐3935                                                      First Class Mail
Chartered Organization         First Utd Methodist Church Diboll                     East Texas Area Council 585             401 S Hines St                                     Diboll, TX 75941‐2413                                                      First Class Mail
Chartered Organization         First Utd Methodist Church Dothan                     Alabama‐Florida Council 003             1380 W Main St                                     Dothan, AL 36301‐1310                                                      First Class Mail
Chartered Organization         First Utd Methodist Church Dublin                     Central Georgia Council 096             305 W Gaines St                                    Dublin, GA 31021‐6111                                                      First Class Mail
Chartered Organization         First Utd Methodist Church El Dorado                  Quivira Council, Bsa 198                421 W Central Ave                                  El Dorado, KS 67042‐2109                                                   First Class Mail
Chartered Organization         First Utd Methodist Church Fellowship                 Chattahoochee Council 091               206 S Mcdougald Ave                                Pine Mountain, GA 31822‐3119                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                             Page 126 of 442
                                                                              Case 20-10343-LSS                                   Doc 8171                                Filed 01/06/22                                               Page 142 of 457
                                                                                                                                                             Exhibit B
                                                                                                                                                              Service List
                                                                                                                                                       Served as set forth below

        Description                                                    Name                                                                                Address                                                                                                      Email              Method of Service
Chartered Organization         First Utd Methodist Church Flatrock                   Southern Shores Fsc 783                 28400 Evergreen St                                  Flat Rock, MI 48134‐1281                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Frisco                     Circle Ten Council 571                  7659 Preston Rd                                     Frisco, TX 75034‐5602                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Fritch                     Golden Spread Council 562               403 S Cornell Ave                                   Fritch, TX 79036‐8632                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Gadsden                    Greater Alabama Council 001             115 S 5th St                                        Gadsden, AL 35901‐4215                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Grandview                  Longhorn Council 662                    P.O. Box 1213                                       Grandview, TX 76050‐1213                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Greene                     Baden‐Powell Council 368                32 S Chenango St                                    Greene, NY 13778‐1232                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Hamburg                    De Soto Area Council 013                202 S Main St                                       Hamburg, AR 71646‐3228                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Heath                      Circle Ten Council 571                  201 Laurence Dr PMB 415                             Heath, TX 75032‐9900                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church Henderson                  Lincoln Heritage Council 205            338 3rd St                                          Henderson, KY 42420‐2906                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Hillsville                 Blue Ridge Mtns Council 599             P.O. Box 356                                        Hillsville, VA 24343‐0356                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church ‐Howe                      Circle Ten Council 571                  810 N Denny St                                      Howe, TX 75459‐3582                                                                            First Class Mail
Chartered Organization         First Utd Methodist Church Humble                     Sam Houston Area Council 576            800 E Main St                                       Humble, TX 77338‐4750                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Idabel                     Circle Ten Council 571                  302 SE Jefferson St                                 Idabel, OK 74745‐4872                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church In Ganado                  South Texas Council 577                 P.O. Box 345                                        Ganado, TX 77962‐0345                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Kelso                      Cascade Pacific Council 492             206 Cowlitz Way                                     Kelso, WA 98626‐3411                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church Kerens                     Circle Ten Council 571                  205 NW 2nd St                                       Kerens, TX 75144‐2519                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Laramie                    Longs Peak Council 062                  108 E 18th St                                       Cheyenne, WY 82001‐4520                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church Laredo                     South Texas Council 577                 1220 Mcclelland Ave                                 Laredo, TX 78040‐5227                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Laurel                     Pine Burr Area Council 304              420 N 5th Ave                                       Laurel, MS 39440‐3912                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Lawrence                   946 Vermont St                          Lawrence, KS 66044                                                                                                                                 First Class Mail
Chartered Organization         First Utd Methodist Church Liberty                    Three Rivers Council 578                539 Main St                                         Liberty, TX 77575‐4809                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Lufkin                     East Texas Area Council 585             805 E Denman Ave                                    Lufkin, TX 75901‐4829                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Malakoff                   Circle Ten Council 571                  107 College St                                      Malakoff, TX 75148                                                                             First Class Mail
Chartered Organization         First Utd Methodist Church Mannington                 Mountaineer Area 615                    118 Clarksburg St                                   Mannington, WV 26582‐1313                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church Maumelle                   Quapaw Area Council 018                 1201 Edgewood Dr                                    Maumelle, AR 72113‐6906                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church Mcpherson                  Quivira Council, Bsa 198                1200 E Kansas Ave                                   Mcpherson, KS 67460‐5104                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Men                        Old N State Council 070                 P.O. Box 220                                        Liberty, NC 27298‐0220                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Men                        Istrouma Area Council 211               P.O. Box 2903                                       St Francisvle, LA 70775‐2903                                                                   First Class Mail
Chartered Organization         First Utd Methodist Church Mens Club                  Coronado Area Council 192               601 N Cedar St                                      Abilene, KS 67410‐2337                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Mens Club                  Water and Woods Council 782             828 Lapeer Ave                                      Port Huron, MI 48060‐4476                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church Men'S Club                 Sam Houston Area Council 576            1010 7th St                                         Hempstead, TX 77445‐5303                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Men'S Club                 Longs Peak Council 062                  350 11th Ave                                        Longmont, CO 80501‐4322                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church Metropolis                 Lincoln Heritage Council 205            100 E 5th St                                        Metropolis, IL 62960‐2109                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church Morris                     Indian Nations Council 488              601 S Hughes Ave                                    Morris, OK 74445‐2229                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Nampa                      Ore‐Ida Council 106 ‐ Bsa 106           2717 12th Ave Rd                                    Nampa, ID 83686‐6382                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church Newcastle                  Longhorn Council 662                    P.O. Box 187                                        Newcastle, TX 76372‐0187                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Of Adrian                  Southern Shores Fsc 783                 1245 W Maple Ave                                    Adrian, MI 49221‐1313                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Apopka                  Central Florida Council 083             201 S Park Ave                                      Apopka, FL 32703‐4256                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Ashdown                 Caddo Area Council 584                  145 E Commerce St                                   Ashdown, AR 71822‐2819                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Augusta                 Quivira Council, Bsa 198                2420 Ohio St                                        Augusta, KS 67010‐2384                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Bastrop                 Capitol Area Council 564                P.O. Box 672                                        Bastrop, TX 78602‐0672                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Bedford                 Longhorn Council 662                    1245 Bedford Rd                                     Bedford, TX 76021‐6601                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Blmfld                  Great Swest Council 412                 11095 N 1st St                                      Bloomfield, NM 87413                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church Of Boyd                    Longhorn Council 662                    540 S Allen St Fm 730                               Boyd, TX 76023                                                                                 First Class Mail
Chartered Organization         First Utd Methodist Church Of Brenham                 Sam Houston Area Council 576            408 N Baylor St                                     Brenham, TX 77833‐3213                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Bunnell                 Central Florida Council 083             P.O. Box 335                                        Bunnell, FL 32110‐0335                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Burbank                 Verdugo Hills Council 058               700 N Glenoaks Blvd                                 Burbank, CA 91502‐1031                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Celina                  Circle Ten Council 571                  P.O. Box 306                                        Celina, TX 75009‐0306                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Cheraw                  Pee Dee Area Council 552                117 3rd St                                          Cheraw, SC 29520‐2801                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Conyers                 Atlanta Area Council 092                921 N Main St Nw                                    Conyers, GA 30012‐4482                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Dallas                  Piedmont Council 420                    301 W Main St                                       Dallas, NC 28034‐2024                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Dayton                  Three Rivers Council 578                106 S Cleveland St                                  Dayton, TX 77535‐2512                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Desoto                  Circle Ten Council 571                  310 Roaring Springs Dr                              Desoto, TX 75115‐5822                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Duncan                  Last Frontier Council 480               2300 N Country Club Rd                              Duncan, OK 73533‐3314                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Eugene                  Oregon Trail Council 697                1376 Olive St                                       Eugene, OR 97401‐3960                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Frisco                  Circle Ten Council 571                  7659 Preston Rd                                     Frisco, TX 75034‐5602                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Fulton                  Lincoln Heritage Council 205            200 Carr St                                         Fulton, KY 42041‐1502                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Grove                   Cherokee Area Council 469 469           1031 Hillside Rd                                    Grove, OK 74344‐3515                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church Of Grove                   Cherokee Area Council 469 469           P.O. Box 450387                                     Grove, OK 74345‐0387                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church Of Groves                  Three Rivers Council 578                6501 Washington St                                  Groves, TX 77619‐5422                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Hawkins                 East Texas Area Council 585             P.O. Box 450                                        Hawkins, TX 75765‐0450                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Hayward                 San Francisco Bay Area Council 028      1183 B St                                           Hayward, CA 94541‐4201                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Hewitt                  Longhorn Council 662                    600 S 1st St                                        Hewitt, TX 76643‐3729                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Hubbard                 Great Trail 433                         48 Church St                                        Hubbard, OH 44425‐2014                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Hudson                  Greater Tampa Bay Area 089              13123 US Hwy 19                                     Hudson, FL 34667‐1768                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Jupiter                 Gulf Stream Council 085                 815 E Indiantown Rd                                 Jupiter, FL 33477‐5108                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Kennett                 Greater St Louis Area Council 312       300 College Ave                                     Kennett, MO 63857‐2011                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Kingman                 Quivira Council, Bsa 198                P.O. Box 287                                        Kingman, KS 67068‐0287                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Konawa                  Last Frontier Council 480               301 W 1st St                                        Konawa, OK 74849‐2001                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Laplace                 Southeast Louisiana Council 214         301 Bamboo Rd                                       La Pl, LA 70068‐6484                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church Of Loomis                  Golden Empire Council 047               6414 Brace Rd                                       Loomis, CA 95650‐8903                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Madison                 Northeast Georgia Council 101           285 Old Post Rd                                     Madison, GA 30650‐1235                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Many                    Norwela Council 215                     1000 Main St                                        Many, LA 71449‐3129                                                                            First Class Mail
Chartered Organization         First Utd Methodist Church Of Mason                   Capitol Area Council 564                P.O. Box 178                                        Mason, TX 76856‐0178                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church Of Mathis                  South Texas Council 577                 420 S Duval St                                      Mathis, TX 78368‐2908                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Miami                   Cherokee Area Council 469 469           200 B St Nw                                         Miami, OK 74354‐5807                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church Of Milford                 Mayflower Council 251                   39 Exchange St                                      Milford, MA 01757‐2001                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Monroe                  Northeast Georgia Council 101           400 S Broad St                                      Monroe, GA 30655‐2122                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Norfolk                 Mid‐America Council 326                 406 W Phillip Ave                                   Norfolk, NE 68701‐5250                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Npr                     Greater Tampa Bay Area 089              5901 Indiana Ave                                    New Port Richey, FL 34652‐2370                                                                 First Class Mail
Chartered Organization         First Utd Methodist Church Of Odessa                  Buffalo Trail Council 567               415 N Lee Ave                                       Odessa, TX 79761‐5030                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Oviedo                  Central Florida Council 083             263 King St                                         Oviedo, FL 32765‐8106                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of P Hills                 Greater St Louis Area Council 312       401 Taylor Ave                                      Park Hills, MO 63601‐2116                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church Of Portage                 Lasalle Council 165                     2637 Mccool Rd                                      Portage, IN 46368‐2623                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Pryor                   Indian Nations Council 488              400 E Graham Ave                                    Pryor, OK 74361‐3831                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church Of Reform                  Black Warrior Council 006               807 3rd St Ne                                       Reform, AL 35481‐2225                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Rowlett                 Circle Ten Council 571                  P.O. Box 447                                        Rowlett, TX 75030‐0447                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Safford                 Grand Canyon Council 010                1020 S 10th Ave                                     Safford, AZ 85546‐3425                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Salem                   Blue Ridge Mtns Council 599             125 W Main St                                       Salem, VA 24153‐3615                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church Of Sanger                  Longhorn Council 662                    P.O. Box 367                                        Sanger, TX 76266‐0367                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Seffner                 Greater Tampa Bay Area 089              P.O. Box 607                                        Seffner, FL 33583‐0607                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Stcloud                 Central Florida Council 083             1000 Ohio Ave                                       Saint Cloud, FL 34769‐3744                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church Of Tavares                 Central Florida Council 083             P.O. Box 1086                                       Tavares, FL 32778‐1086                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Wagoner                 Indian Nations Council 488              308 E Church St                                     Wagoner, OK 74467‐5210                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Wharton                 Sam Houston Area Council 576            1717 Pioneer Ave                                    Wharton, TX 77488‐2922                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Of Winnie                  Three Rivers Council 578                P.O. Box 1570                                       Winnie, TX 77665‐1570                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Of Yuma                    Grand Canyon Council 010                298 W 3rd St                                        Yuma, AZ 85364‐2220                                                                            First Class Mail
Chartered Organization         First Utd Methodist Church Palestine                  East Texas Area Council 585             422 S Magnolia St                                   Palestine, TX 75801‐3532                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Pineville                  Louisiana Purchase Council 213          2550 Monroe Hwy                                     Pineville, LA 71360‐4139                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Portland                   Cascade Pacific Council 492             1838 SW Jefferson St                                Portland, OR 97201‐2463                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church Portland                   South Texas Council 577                 4500 Wildcat Dr                                     Portland, TX 78374                                                                             First Class Mail
Chartered Organization         First Utd Methodist Church Poteau                     Indian Nations Council 488              109 S Harper St                                     Poteau, OK 74953‐4221                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Quitman                    East Texas Area Council 585             P.O. Box 1643                                       Quitman, TX 75783‐2643                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Refugio                    South Texas Council 577                 P.O. Box 267                                        Refugio, TX 78377‐0267                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Sapulpa                    Indian Nations Council 488              1401 E Taft Ave                                     Sapulpa, OK 74066‐6035                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church Searcy                     Quapaw Area Council 018                 304 N Main St                                       Searcy, AR 72143‐5424                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Selmer                     West Tennessee Area Council 559         1122 W Cherry Ave                                   Selmer, TN 38375‐5000                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church Stratford                  Golden Spread Council 562               P.O. Box 1289                                       Stratford, TX 79084‐1289                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church The Colony                 Longhorn Council 662                    4901 Paige Rd                                       The Colony, TX 75056‐2329                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church Troop 27                   Greater Los Angeles Area 033            500 E Colorado Blvd                                 Pasadena, CA 91101‐2027                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church Um Men                     Pine Burr Area Council 304              P.O. Box 845                                        Lucedale, MS 39452‐0845                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church Umm                        Sam Houston Area Council 576            1106 4th St                                         Rosenberg, TX 77471‐3414                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Vancouver                  Cascade Pacific Council 492             401 E 33rd St                                       Vancouver, WA 98663‐2203                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Wellington                 Quivira Council, Bsa 198                P.O. Box 189                                        Wellington, KS 67152‐0189                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church Wenatchee                  Grand Columbia Council 614              941 Washington St                                   Wenatchee, WA 98801‐2672                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church Wilburton                  Indian Nations Council 488              P.O. Box 6                                          Wilburton, OK 74578‐0006                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church, Cocoa Bch                 Central Florida Council 083             3300 N Atlantic Ave                                 Cocoa Beach, FL 32931‐3409                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church, LLC                       Last Frontier Council 480               509 Cottonwood                                      Granite, OK 73547                                                                              First Class Mail
Chartered Organization         First Utd Methodist Church, Pt Neches                 Three Rivers Council 578                1826 Nall St                                        Port Neches, TX 77651‐3331                                                                     First Class Mail
Chartered Organization         First Utd Methodist Church‐Andalusia                  Alabama‐Florida Council 003             P.O. Box 1066                                       Andalusia, AL 36420‐1222                                                                       First Class Mail
Chartered Organization         First Utd Methodist Church‐Boerne                     Alamo Area Council 583                  205 James St                                        Boerne, TX 78006‐2303                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church‐Bourbon                    Lasalle Council 165                     204 N Washington St                                 Bourbon, IN 46504‐1625                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church‐Brady                      Texas Swest Council 741                 P.O. Box 1030                                       Brady, TX 76825‐1030                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church‐Buchanan                   Lasalle Council 165                     132 S Oak St                                        Buchanan, MI 49107‐1559                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church‐Coleman                    Texas Trails Council 561                500 W Liveoak St                                    Coleman, TX 76834‐3525                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church‐Dearborn                   Great Lakes Fsc 272                     22124 Garrison St                                   Dearborn, MI 48124‐2207                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church‐Del Rio                    Texas Swest Council 741                 P.O. Box 1234                                       Del Rio, TX 78841‐1234                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church‐Farmington                 Great Lakes Fsc 272                     33112 Grand River Ave                               Farmington, MI 48336‐3120                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church‐Marion                     Blue Ridge Mtns Council 599             115 S Church St                                     Marion, VA 24354‐3109                                                                          First Class Mail
Chartered Organization         First Utd Methodist Church‐Meth. Men                  Greater Yosemite Council 059            1660 Arbor Way                                      Turlock, CA 95380‐3508                                                                         First Class Mail
Chartered Organization         First Utd Methodist Church‐Plymouth                   Great Lakes Fsc 272                     45201 N Territorial Rd                              Plymouth, MI 48170‐6528                                                                        First Class Mail
Chartered Organization         First Utd Methodist Church‐Rusk                       East Texas Area Council 585             255 S Henderson St                                  Rusk, TX 75785‐1365                                                                            First Class Mail
Chartered Organization         First Utd Methodist Church‐Salem                      Blue Ridge Mtns Council 599             125 W Main St                                       Salem, VA 24153‐3615                                                                           First Class Mail
Chartered Organization         First Utd Methodist Church‐San Angelo                 Texas Swest Council 741                 37 E Beauregard Ave                                 San Angelo, TX 76903‐5830                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church‐South Lyon                 Great Lakes Fsc 272                     640 S Lafayette St                                  South Lyon, MI 48178‐1438                                                                      First Class Mail
Chartered Organization         First Utd Methodist Church‐Sugarland                  Sam Houston Area Council 576            431 Eldridge Rd                                     Sugar Land, TX 77478‐3111                                                                      First Class Mail
Chartered Organization         First Utd Methodist Durant                            Circle Ten Council 571                  P.O. Box 518                                        Durant, OK 74702‐0518                                                                          First Class Mail
Chartered Organization         First Utd Methodist Men                               Indian Nations Council 488              112 E College St                                    Broken Arrow, OK 74012‐3909                                                                    First Class Mail
Chartered Organization         First Utd Methodist Men                               West Tennessee Area Council 559         117 E Franklin St                                   Brownsville, TN 38012‐2136                                                                     First Class Mail
Chartered Organization         First Utd Methodist Men                               Lasalle Council 165                     434 S 2nd St                                        Chesterton, IN 46304‐2403                                                                      First Class Mail
Chartered Organization         First Utd Methodist Men                               Texas Trails Council 561                P.O. Box 447                                        Goldthwaite, TX 76844‐0447                                                                     First Class Mail
Chartered Organization         First Utd Methodist Men                               Last Frontier Council 480               201 W Main St                                       Moore, OK 73160‐5141                                                                           First Class Mail
Chartered Organization         First Utd Methodist Men                               Overland Trails 322                     1217 Q St                                           Ord, NE 68862‐1830                                                                             First Class Mail
Chartered Organization         First Utd Methodist Men                               Circle Ten Council 571                  249 Dove Hollow Rd                                  Whitewright, TX 75491‐5200                                                                     First Class Mail
Chartered Organization         First Utd Methodist Men                               Circle Ten Council 571                  2212 Durham Rd                                      Whitewright, TX 75491‐7223                                                                     First Class Mail
Chartered Organization         First Utd Methodist Men Murray                        Lincoln Heritage Council 205            503 Maple St                                        Murray, KY 42071‐2529                                                                          First Class Mail
Chartered Organization         First Utd Methodist Mens Assoc                        Anthony Wayne Area 157                  502 W Monroe St                                     Decatur, IN 46733‐1624                                                                         First Class Mail
Chartered Organization         First Utd Methodist Mens Club                         Andrew Jackson Council 303              Hwy 80 W                                            Clinton, MS 39056                                                                              First Class Mail
Chartered Organization         First Utd Methodist Mens Club                         West Tennessee Area Council 559         Methodist Mens Club                                 Dyersburg, TN 38024                                                                            First Class Mail
Chartered Organization         First Utd Methodist Mens Club                         Southern Shores Fsc 783                 1230 Bower St                                       Howell, MI 48843‐1106                                                                          First Class Mail
Chartered Organization         First Utd Methodist Men'S Club                        Gulf Stream Council 085                 625 NE Mizner Blvd                                  Boca Raton, FL 33432‐2703                                                                      First Class Mail
Chartered Organization         First Utd Methodist Men'S Club                        W D Boyce 138                           1315 Court St                                       Pekin, IL 61554‐5023                                                                           First Class Mail
Chartered Organization         First Utd Methodist Mens Group                        Last Frontier Council 480               P.O. Box 490                                        Blanchard, OK 73010‐0490                                                                       First Class Mail
Chartered Organization         First Utd Methodist Mens Organization                 Greater St Louis Area Council 312       619 Kitchell St                                     Pana, IL 62557‐1855                                                                            First Class Mail
Chartered Organization         First Utd Methodist Ministries, Inc                   Crossroads of America 160               225 W State St                                      Pendleton, IN 46064‐1035                                                                       First Class Mail
Chartered Organization         First Utd Methodist Of Alamo                          West Tennessee Area Council 559         80 N Johnson St                                     Alamo, TN 38001‐1747                                                                           First Class Mail
Chartered Organization         First Utd Methodist Of Bloomfield                     Great Swest Council 412                 1105 N 1st St                                       Bloomfield, NM 87413‐5270                                                                      First Class Mail
Chartered Organization         First Utd Methodist Of New Iberia                     Evangeline Area 212                     119 Jefferson St                                    New Iberia, LA 70560‐3601                                                                      First Class Mail
Chartered Organization         First Utd Methodist Of Satellite Bch                  Central Florida Council 083             450 Lee Ave                                         Satellite Beach, FL 32937‐2910                                                                 First Class Mail
Chartered Organization         First Utd Methodist Rowlett                           Circle Ten Council 571                  4405 Main St                                        Rowlett, TX 75088‐5160                                                                         First Class Mail
Chartered Organization         First Utd Methodist Stigler                           Indian Nations Council 488              P.O. Box 249                                        Stigler, OK 74462‐0249                                                                         First Class Mail
Chartered Organization         First Utd Methodist, Livingston                       Three Rivers Council 578                2901 US Hwy 190 W                                   Livingston, TX 77351                                                                           First Class Mail
Chartered Organization         First Utd Methodist/O Fallon Kiwanis                  Greater St Louis Area Council 312       504 E US Hwy 50                                     O Fallon, IL 62269‐2827                                                                        First Class Mail
Chartered Organization         First Utd Methodist‐Moody                             Longhorn Council 662                    500 6th St                                          Moody, TX 76557                                                                                First Class Mail
Chartered Organization         First Utd Methodist‐Tuscumbia                         Greater Alabama Council 001             104 E 3rd St                                        Tuscumbia, AL 35674‐2018                                                                       First Class Mail
Chartered Organization         First Utd Presbyterian Church                         Bay‐Lakes Council 635                   605 N Webster Ave                                   De Pere, WI 54115‐3430                                                                         First Class Mail
Chartered Organization         First Utd Presbyterian Church                         W D Boyce 138                           83 N Cone St                                        Farmington, IL 61531‐1248                                                                      First Class Mail
Chartered Organization         First Utd Presbyterian Church                         Westark Area Council 016                695 E Calvin St                                     Fayetteville, AR 72703‐2010                                                                    First Class Mail
Chartered Organization         First Utd Presbyterian Church                         Buckskin 617                            51 State                                            Gallipolis, OH 45631‐1131                                                                      First Class Mail
Chartered Organization         First Utd Presbyterian Church                         Iroquois Trail Council 376              34 E Albion St                                      Holley, NY 14470‐1036                                                                          First Class Mail
Chartered Organization         First Utd Presbyterian Church                         Five Rivers Council, Inc 375            P.O. Box 72                                         Mansfield, PA 16933‐0072                                                                       First Class Mail
Chartered Organization         First Utd Presbyterian Church                         Heart of America Council 307            110 E Peoria St                                     Paola, KS 66071‐1709                                                                           First Class Mail
Chartered Organization         First Utd Presbyterian Church                         Quivira Council, Bsa 198                1700 Broadway Ave                                   Parsons, KS 67357‐3312                                                                         First Class Mail
Chartered Organization         First Utd Presbyterian Church                         Chief Seattle Council 609               1111 Franklin St                                    Port Townsend, WA 98368‐6638                                                                   First Class Mail
Chartered Organization         First Utd Presbyterian Church                         Bay‐Lakes Council 635                   555 Bingham Ave                                     Sault Sainte Marie, MI 49783‐2140                                                              First Class Mail
Chartered Organization         First Utd Presbyterian Church                         President Gerald R Ford 781             760 E Savidge St                                    Spring Lake, MI 49456‐2436                                                                     First Class Mail
Chartered Organization         First Utd Presbyterian Church                         Baltimore Area Council 220              65 Washington Rd                                    Westminster, MD 21157‐5640                                                                     First Class Mail
Chartered Organization         First Utd Presbyterian Church                         Tecumseh 439                            314 Xenia Ave                                       Yellow Springs, OH 45387‐1834                                                                  First Class Mail
Chartered Organization         First Utd Redeemer Lutheran Church                    Greater New York Councils, Bsa 640      9210 217th St                                       Queens Village, NY 11428‐1254                                                                  First Class Mail
Chartered Organization         First Utd Utd Methodist Church                        Simon Kenton Council 441                88 N 5th St                                         Newark, OH 43055                                                                               First Class Mail
Voting Party                   First Vietnamese Umc                                  c/o Chicago: First Vietnamese Umc       3100 W Wilson Ave                                   Chicago, IL 60625                                               maihoangle@gmail.com           Email
                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         First Ward Community Center                           Water and Woods Council 782             1410 N 12th St                                      Saginaw, MI 48601‐8500                                                                         First Class Mail
Chartered Organization         First Washington Utd Methodist Church                 Greater St Louis Area Council 312       4349 Saint Johns Rd                                 Washington, MO 63090‐5749                                                                      First Class Mail
Chartered Organization         First Wyoming Presbyterian Church                     Longs Peak Council 062                  2972 Main St                                        Torrington, WY 82240‐1932                                                                      First Class Mail
Chartered Organization         First Wyoming Utd Presbyterian Church                 Longs Peak Council 062                  2972 Main St                                        Torrington, WY 82240‐1932                                                                      First Class Mail
Voting Party                   First‐Bartow                                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200            Tampa, FL 33602             erice@bradley.com              Email
                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   First‐Faith Umc                                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200            Tampa, FL 33602             erice@bradley.com              Email
                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   First‐Faith Umc                                       4190 W Capital Ave                      Grand Island, NE 68803                                                                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                              Page 127 of 442
                                                                                    Case 20-10343-LSS                                                 Doc 8171                                        Filed 01/06/22                                                           Page 143 of 457
                                                                                                                                                                                         Exhibit B
                                                                                                                                                                                          Service List
                                                                                                                                                                                   Served as set forth below

        Description                                                         Name                                                                                                       Address                                                                                                                    Email                  Method of Service
Chartered Organization         First‐Faith Utd Methodist Men                                   Overland Trails 322                              4190 W Capital Ave                                           Grand Island, NE 68803‐1120                                                                                      First Class Mail
Voting Party                   Firwood United Methodist Church (080524)                        c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200                 Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Firwood Utd Methodist Church                                    Northeastern Pennsylvania Council 501            399 Old River Rd                                             Wilkes Barre, PA 18702‐1507                                                                                      First Class Mail
Chartered Organization         Fish & Game Club                                                Twin Rivers Council 364                          25 Game Club Rd                                              Schroon Lake, NY 12870                                                                                           First Class Mail
Chartered Organization         Fishback Creek Academy                                          Crossroads of America 160                        8301 W 86th St                                               Indianapolis, IN 46278‐1133                                                                                      First Class Mail
Chartered Organization         Fishbowl Utd Sportsmans Club                                    Northern Star Council 250                        P.O. Box 318                                                 Webster, WI 54893‐0318                                                                                           First Class Mail
Voting Party                   Fishburn Church (186687)                                        c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200                 Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Fishburne Military School                                       Stonewall Jackson Council 763                    225 S Wayne Ave                                              Waynesboro, VA 22980‐4621                                                                                        First Class Mail
Chartered Organization         Fisher Amvets Post 52                                           Prairielands 117                                 P.O. Box 52                                                  Fisher, IL 61843‐0052                                                                                            First Class Mail
Chartered Organization         Fisher PTO                                                      Great Lakes Fsc 272                              10000 Crosley                                                Redford, MI 48239‐2006                                                                                           First Class Mail
Chartered Organization         Fishers Elem School P T O                                       Crossroads of America 160                        11442 Lantern Rd                                             Fishers, IN 46038‐2946                                                                                           First Class Mail
Chartered Organization         Fishers Police Dept                                             Crossroads of America 160                        4 Municipal Dr                                               Fishers, IN 46038‐1574                                                                                           First Class Mail
Chartered Organization         Fishers Rotary Club                                             Crossroads of America 160                        1 Municipal Dr                                               Fishers, IN 46038‐1574                                                                                           First Class Mail
Voting Party                   Fishers United Methodist Church                                 Attn: Ralph Thielking                            9691 E 116th St                                              Fishers, IN 46037                                                           rthielking@mmufus.com                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Fishers Utd Methodist Church                                    Crossroads of America 160                        9690 E 116th St                                              Fishers, IN 46037‐2838                                                                                           First Class Mail
Chartered Organization         Fishhawk Fellowship Church                                      Greater Tampa Bay Area 089                       15326 Fishhawk Blvd                                          Lithia, FL 33547‐3914                                                                                            First Class Mail
Voting Party                   Fishing Creek Salem (5250)                                      c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200                 Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Fishing Creek Salem Utd Methodist Ch                            New Birth of Freedom 544                         402 Valley Rd                                                Etters, PA 17319‐9557                                                                                            First Class Mail
Voting Party                   Fishkill United Methodist Church                                Attn: Micah Coleman Campbell                     38 Broad St                                                  Fishkill, NY 12524                                                          micah.colemancampbell@nyac‐umc.com   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Fisk Community Center                                           Greater St Louis Area Council 312                501 Garfield St                                              Fisk, MO 63940                                                                                                   First Class Mail
Voting Party                   Fisk Memorial United Methodist Church                           Attn: Pastor Alecia Reeves‐Freeman               106 Walnut St                                                Natick, MA 01760                                                            fiskpastor@fiskumc.org               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Fit Academy                                                     Northern Star Council 250                        7200 147th St W                                              Apple Valley, MN 55124‐9008                                                                                      First Class Mail
Chartered Organization         Fitchburg Fire & Rescue Assoc                                   Glaciers Edge Council 620                        5791 Lacy Rd                                                 Fitchburg, WI 53711‐5363                                                                                         First Class Mail
Chartered Organization         Fitchburg‐Boy'S And Girls Club Of                               Fitchburg, Leominster                            365 Lindell Ave                                              Leominster, MA 01453‐5414                                                                                        First Class Mail
Chartered Organization         Fitchburg‐Fitchburg Friends Of Scouting                         Heart of New England Council 230                 123 Village Xing                                             Fitchburg, MA 01420‐1354                                                                                         First Class Mail
Chartered Organization         Fitchburg‐K Of C Home Assoc                                     Heart of New England Council 230                 165 Electric Ave                                             Fitchburg, MA 01420                                                                                              First Class Mail
Chartered Organization         Fitchburg‐Saint Bernards Elem Sch                               Heart of New England Council 230                 254 Summer St                                                Fitchburg, MA 01420‐4573                                                                                         First Class Mail
Chartered Organization         Fitchburg‐Utd Commercial Travelers                              Tri City                                         Heart of New England Council 230                             Council 823                                Fitchburg, MA 01420                                                   First Class Mail
Chartered Organization         Fitzgerald Memorial Baptist Church                              14 Fitzgerald Rd                                 Cumberland, VA 23040                                                                                                                                                          First Class Mail
Chartered Organization         Fitzgerald Methodist Church                                     Istrouma Area Council 211                        80007 Fitzgerald Church Rd                                   Covington, LA 70435‐7826                                                                                         First Class Mail
Voting Party                   Fitzgerald Umc                                                  Attn: Jeffrey Kenneth Barker                     18096 Old Barker Rd                                          Covington, LA 70435                                                         lr606@bellsouth.net                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Fitzgerald Umc                                                  Attn: Jeffrey Barker ‐ Fumc                      80007 Fitzgerald Church Rd                                   Covington, LA 70435‐7826                                                    info@fitzumc.org                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Fitzgibbon, Thomas H                                            Address Redacted                                                                                                                                                                          Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Fitzpatrick Hotel Group                                         Greater New York Councils, Bsa 640               687 Lexington Ave                                            New York, NY 10022‐2607                                                                                          First Class Mail
Chartered Organization         Fitzsimonds Boys & Girls Club                                   Three Harbors Council 636                        3400 W North Ave                                             Milwaukee, WI 53208‐1448                                                                                         First Class Mail
Firm                           Fiumara & Milligan Law, PC and Casper Meadows Schwartz & Cook   Michael A. Fiumara and Michael D. Meadows        182 Farmers Lane, Ste. 100A                                  Santa Rosa/ Walnut Creek, CA 95405/94596                                    michael@fiumara.com                  Email
                                                                                                                                                                                                                                                                                         meadows@cmslaw.com                   First Class Mail
                                                                                                                                                                                                                                                                                         shafiq@fiumara.com
Chartered Organization         Five Acres School                                               Chief Seattle Council 609                        515 Lotzgesell Rd                                            Sequim, WA 98382‐8074                                                                                            First Class Mail
Chartered Organization         Five Holy Martyrs Roman Catholic Church                         Pathway To Adventure 456                         4327 S Richmond St                                           Chicago, IL 60632‐2504                                                                                           First Class Mail
Chartered Organization         Five Points Lions Club                                          Yucca Council 573                                6130 Montana Ave                                             El Paso, TX 79925‐2052                                                                                           First Class Mail
Voting Party                   Five Points Mission                                             Attn: Jessica Ellis, CFO                         475 Riverside Dr, Ste 1922                                   New York, NY 10115                                                          acallender@umcitysociety.org         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Five Points Umm                                                 Attn: Treasurer, Five Points Umm                 P.O. Box 74                                                  Riner, VA 24149                                                             office@auburnumcva.org               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Five Rivers Council, Inc. Bsa                                   Attn: John M Sharkey                             244 W Water St                                               Elmira, NY 14901                                                            jmshark138@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Five Rivers Council,Bsa                                         Five Rivers Council, Inc 375                     P.O. Box 5190                                                Horseheads, NY 14844                                                                                             First Class Mail
Chartered Organization         Five Rivers Metroparks Ranger Div                               Miami Valley Council, Bsa 444                    409 E Monument Ave                                           Dayton, OH 45402‐1260                                                                                            First Class Mail
Chartered Organization         Five Star                                                       Chief Seattle Council 609                        15612 SE 128th St                                            Renton, WA 98059‐8522                                                                                            First Class Mail
Chartered Organization         Fj Kingsbury Elementary School                                  Connecticut Rivers Council, Bsa 066              220 Columbia Blvd                                            Waterbury, CT 06710‐1401                                                                                         First Class Mail
Chartered Organization         Fj Reitz Parent Support Group                                   Buffalo Trace 156                                350 Dreier Blvd                                              Evansville, IN 47712‐5039                                                                                        First Class Mail
Voting Party                   Flag Springs ‐ Asheboro, Nc                                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Flag Springs Utd Methodist Church                               Old N State Council 070                          5852 Zoo Pkwy                                                Asheboro, NC 27205‐1439                                                                                          First Class Mail
Voting Party                   Flagler Beach Umc, 1520 Daytona Ave, Flagler Beach, Fl 32136    c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Flagler Beach Utd Methodist Church                              Central Florida Council 083                      1520 S Daytona Ave                                           Flagler Beach, FL 32136‐3813                                                                                     First Class Mail
Chartered Organization         Flagler County Sheriff'S Office                                 Central Florida Council 083                      901 E Moody Blvd                                             Bunnell, FL 32110‐5909                                                                                           First Class Mail
Chartered Organization         Flagstaff Christian Fellowship                                  Grand Canyon Council 010                         123 S Beaver St                                              Flagstaff, AZ 86001‐5601                                                                                         First Class Mail
Chartered Organization         Flagstone Church Of Christ                                      Westark Area Council 016                         3801 SW Eden Brooke St                                       Bentonville, AR 72713‐5657                                                                                       First Class Mail
Chartered Organization         Flanagan‐Dorn American Legion Post 294                          Potawatomi Area Council 651                      231 Goodwin Ave                                              Hartland, WI 53029‐2108                                                                                          First Class Mail
Chartered Organization         Flanders Baptist And Community Church                           Connecticut Rivers Council, Bsa 066              85 Boston Post Rd                                            East Lyme, CT 06333                                                                                              First Class Mail
Chartered Organization         Flanders Fire Co 1                                              Patriots Path Council 358                        27 Main St                                                   Flanders, NJ 07836‐9129                                                                                          First Class Mail
Voting Party                   Flanders United Methodist Church                                Attn: Ruben Rivera Martinez, Pastor              P.O. Box 1321                                                Riverhead, NY 11901                                                         rriveramartinez24@gmail.com          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Flanders United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Flanders Utd Methodist Church                                   Patriots Path Council 358                        12 Park Pl                                                   Flanders, NJ 07836                                                                                               First Class Mail
Voting Party                   Flandreau United Methodist Church                               Attn: Linda Christensen                          210 N Prairie St                                             Flandreau, SD 57028                                                         lindachristensen55@hotmail.com       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Flat Nose Ranch                                                 Utah National Parks 591                          Hc 74 Box 321                                                Pioche, NV 89043                                                                                                 First Class Mail
Chartered Organization         Flat Rock Baptist Church                                        Old Hickory Council 427                          P.O. Box 267                                                 Hamptonville, NC 27020‐0267                                                                                      First Class Mail
Chartered Organization         Flat Rock Baptist Church                                        Blue Ridge Council 551                           115 Slab Bridge Rd                                           Liberty, SC 29657‐9705                                                                                           First Class Mail
Chartered Organization         Flat Rock Baptist Church                                        Old Hickory Council 427                          P.O. Box 587                                                 Mount Airy, NC 27030‐0587                                                                                        First Class Mail
Voting Party                   Flat Rock First United Methodist Church                         Attn: Daniel W Whisler                           28400 Evergreen St                                           Flat Rock, MI 48134                                                         whislerdw@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Flatwoods Elementary School                                     Black Warrior Council 006                        3800 66th Ave                                                Northport, AL 35473‐2210                                                                                         First Class Mail
Chartered Organization         Fleet Reserve Assoc                                             Sequoia Council 027                              P.O. Box 669                                                 Lemoore, CA 93245‐0669                                                                                           First Class Mail
Chartered Organization         Fleet Reserve Assoc                                             National Capital Area Council 082                21707 Three Notch Rd                                         Lexington Park, MD 20653                                                                                         First Class Mail
Chartered Organization         Fleet Reserve Assoc                                             National Capital Area Council 082                P.O. Box 93                                                  Patuxent River, MD 20670‐0093                                                                                    First Class Mail
Chartered Organization         Fleet Reserve Assoc 91                                          North Florida Council 087                        5391 Collins Rd                                              Jacksonville, FL 32244‐5305                                                                                      First Class Mail
Chartered Organization         Fleet Reserve Assoc Br 18                                       Mount Baker Council, Bsa 606                     P.O. Box 146                                                 Mountlake Terrace, WA 98043‐0146                                                                                 First Class Mail
Chartered Organization         Fleet Reserve Assoc Br 97                                       Mount Baker Council, Bsa 606                     311 SE 8th Ave                                               Oak Harbor, WA 98277‐3736                                                                                        First Class Mail
Chartered Organization         Fleet Reserve Assoc Branch 103                                  Far E Council 803                                Psc 473 Box 186                                              Fpo, AP 96349‐0002                                                                                               First Class Mail
Chartered Organization         Fleet Reserve Assoc Branch 178                                  Silicon Valley Monterey Bay 055                  P.O. Box 1447                                                Monterey, CA 93942‐1447                                                                                          First Class Mail
Chartered Organization         Fleet Reserve Assoc Branch 346                                  Gulf Coast Council 773                           2117 Wilkinson Ave                                           Panama City, FL 32408‐4907                                                                                       First Class Mail
Chartered Organization         Fleet Reserve Assoc Branch 46                                   Aloha Council, Bsa 104                           891 Valkenburgh St                                           Honolulu, HI 96818‐4400                                                                                          First Class Mail
Chartered Organization         Fleet Reserve Assoc No 55                                       Cascade Pacific Council 492                      7034 SE 91st Ave                                             Portland, OR 97266‐5536                                                                                          First Class Mail
Chartered Organization         Fleet Reserve Assoc Post 99                                     Tidewater Council 596                            357 Edwin Dr                                                 Virginia Beach, VA 23462‐4522                                                                                    First Class Mail
Chartered Organization         Fleet Reserve Assoc, Branch 70                                  San Diego Imperial Council 049                   14231 Garden Rd                                              Poway, CA 92064‐4906                                                                                             First Class Mail
Chartered Organization         Fleming Federated Church                                        Longhouse Council 373                            4990 State Route 34                                          Auburn, NY 13021‐9728                                                                                            First Class Mail
Voting Party                   Fleming Federated Church                                        Attn: Scott Crowley Chairman of the Trustees     4967 State Rt 34                                             Auburn, NY 13021                                                            sdcrow123@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Fleming Island United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Fleming Island Utd Methodist Church                             North Florida Council 087                        7170 Hwy 17                                                  Fleming Island, FL 32003‐9318                                                                                    First Class Mail
Chartered Organization         Fleming Memorial Church                                         Mountaineer Area 615                             1493 Locust Ave                                              Fairmont, WV 26554‐1326                                                                                          First Class Mail
Chartered Organization         Fleming Memorial Presbyterian Church                            Mountaineer Area 615                             1493 Locust Ave                                              Fairmont, WV 26554‐1326                                                                                          First Class Mail
Chartered Organization         Flemington Borough Police Dept                                  Washington Crossing Council 777                  100 Main St                                                  Flemington, NJ 08822‐1413                                                                                        First Class Mail
Chartered Organization         Flemington Fire Dept                                            Washington Crossing Council 777                  38 Park Ave                                                  Flemington, NJ 08822‐1375                                                                                        First Class Mail
Chartered Organization         Flemington Moose Lodge No. 1829                                 Washington Crossing Council 777                  81 Barley Sheaf Rd                                           Flemington, NJ 08822‐3120                                                                                        First Class Mail
Voting Party                   Flemington Presbyterian Church                                  Attn: Cindy Hall                                 10 E Main St                                                 Flemington, NJ 08822                                                        office@flemingtonpres.org            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Flemington Presbyterian Church                                  Attn: Edward L Harris, Jr                        22 William Barnes Rd                                         Flemington, NJ 08822                                                        elharris3@comcast.net                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Flemington Presbyterian Church                                  Attn: Edward L. Harris, Jr                       22 William Barnes Rd                                         Flemington, NJ 08822                                                        elharris3@comcast.net                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Fletcher 50 Library Rd, Fletcher, Nc 28732                      c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Fletcher Hills Kiwanis                                          San Diego Imperial Council 049                   P.O. Box 19051                                               San Diego, CA 92159‐0051                                                                                         First Class Mail
Chartered Organization         Fletcher Hills Presbyterian Church                              San Diego Imperial Council 049                   455 Church Way                                               El Cajon, CA 92020‐2713                                                                                          First Class Mail
Voting Party                   Fletcher Hills Presbyterian Church Of El Cajon, Ca              Fletcher Hills Presbyterian Church of El Cajon   455 Church Way                                               El Cajon, CA 92020                                                          office@fhpc.org                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Fletcher United Methodist Church                                Attn: Rev. Tom Trautman                          P.O. Box 491                                                 Fletcher, OK 73541                                                                                               First Class Mail
Chartered Organization         Fletcher Utd Methodist Church                                   Daniel Boone Council 414                         P.O. Box                                                     Fletcher, NC 28732                                                                                               First Class Mail
Chartered Organization         Fletcher Utd Methodist Church                                   Daniel Boone Council 414                         50 Library Rd                                                Fletcher, NC 28732‐4632                                                                                          First Class Mail
Chartered Organization         Flickinger Parent Group                                         Great Lakes Fsc 272                              45400 Vanker Ave                                             Utica, MI 48317‐5794                                                                                             First Class Mail
Voting Party                   Flint Asbury United Methodist Church                            Attn: James Craig                                1653 Davison Rd                                              Flint, MI 48506                                                             FlintAsburyUMC@gmail.com             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Flint Calvary United Methodist Church                           Attn: Mark Raymond, Administrator                2111 Flushing Rd                                             Flint, MI 48504                                                             flintcalvary@gmail.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Flint Calvary United Methodist Church                           c/o Calvary UMC                                  Attn: David Vanostrom, Treasurer                             2111 Flushing Rd                           Flint, MI 48504                                                       First Class Mail
Voting Party                   Flint Hill Umc                                                  Attn: Margie Boumel                              2732 Park Mills Rd                                           Adamstown, MD 21710                                                         circuitrider.rodfry@gmail.com        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Flint Lake Elementary School PTA                                Lasalle Council 165                              4106 Calumet Ave                                             Valparaiso, IN 46383‐2242                                                                                        First Class Mail
Voting Party                   Flintstone United Methodist Church                              Attn: Justin R Keating                           1733 Battlefield Pkwy                                        Fort Oglethorpe, GA 30742                                                                                        First Class Mail
Chartered Organization         Flintstone‐Simpson Utd Methodist Men                            Cherokee Area Council 556                        2503 Chattanooga Valley Rd                                   Flintstone, GA 30725                                                                                             First Class Mail
Chartered Organization         Flintwood Wesleyan Church                                       Hoosier Trails Council 145 145                   5300 25th St                                                 Columbus, IN 47203‐3328                                                                                          First Class Mail
Chartered Organization         Flipper Temple Ame Church                                       Atlanta Area Council 092                         580 Fair St SW                                               Atlanta, GA 30314‐4804                                                                                           First Class Mail
Chartered Organization         Flippin Christian Church                                        Westark Area Council 016                         306 E Main St                                                Flippin, AR 72634                                                                                                First Class Mail
Chartered Organization         Flomaton Lions Club                                             Gulf Coast Council 773                           1615 Wilkerson St                                            Flomaton, AL 36441‐5586                                                                                          First Class Mail
Chartered Organization         Flora First Utd Methodist Church                                Greater St Louis Area Council 312                103 E 3rd St                                                 Flora, IL 62839‐2036                                                                                             First Class Mail
Chartered Organization         Flora Rotary International                                      Sagamore Council 162                             208 Park Row                                                 Flora, IN 46929‐9659                                                                                             First Class Mail
Voting Party                   Floral City United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Floral Heights United Methodist Church                          Attn: Business Manager                           2214 10th St                                                 Wichita Falls, TX 76309                                                     bdmontgomery79@gmail.com             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Floral Park Methodist Church                                    Theodore Roosevelt Council 386                   35 Verbena Ave                                               Floral Park, NY 11001‐2711                                                                                       First Class Mail
Chartered Organization         Florence Christian Church                                       Dan Beard Council, Bsa 438                       300 Main St                                                  Florence, KY 41042‐2017                                                                                          First Class Mail
Chartered Organization         Florence Community Pharmacy                                     Montana Council 315                              P.O. Box 1134                                                Florence, MT 59833‐1134                                                                                          First Class Mail
Chartered Organization         Florence Elks Lodge 1858                                        Oregon Trail Council 697                         P.O. Box 36                                                  Florence, OR 97439‐0002                                                                                          First Class Mail
Chartered Organization         Florence Historical Foundation                                  Mid‐America Council 326                          P.O. Box 12331                                               Omaha, NE 68112‐0331                                                                                             First Class Mail
Chartered Organization         Florence Presbyterian Church                                    Mid‐America Council 326                          8314 N 31st St                                               Omaha, NE 68112‐2136                                                                                             First Class Mail
Voting Party                   Florence United Methodist Church                                Attn: Rev. David T. Grout                        8585 Old Toll Rd                                             Florence, KY 41042                                                          david@florenceumc.com                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Florence‐Carlton Community Church                               Montana Council 315                              P.O. Box 219                                                 Florence, MT 59833‐0219                                                                                          First Class Mail
Chartered Organization         Flores & Ritchie LLC                                            Texas Swest Council 741                          493 Madison St                                               Eagle Pass, TX 78852‐4508                                                                                        First Class Mail
Voting Party                   Floresville United Methodist Church                             Attn: Pastor Adam R Knapp                        1205 B St                                                    Floresville, TX 78118                                                       floresvilleumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Florham Park PTA                                                Patriots Path Council 358                        56 Elm St                                                    Florham Park, NJ 07932‐1603                                                                                      First Class Mail
Chartered Organization         Florham Pistol & Rifle Club, Inc                                Patriots Path Council 358                        90 Brooklake Rd                                              Florham Park, NJ 07932‐2819                                                                                      First Class Mail
Chartered Organization         Florida Fishing Academy                                         Gulf Stream Council 085                          7067 Peninsula Ct                                            Lake Worth, FL 33467‐7942                                                                                        First Class Mail
Chartered Organization         Florida Grange 306                                              Great Swest Council 412                          12960 County Rd 310                                          Ignacio, CO 81137‐9715                                                                                           First Class Mail
Voting Party                   Florida Keys Aqueduct Authority                                 1100 Kennedy Dr                                  Key West, FL 33040‐4021                                                                                                                                                       First Class Mail
Voting Party                   Florida Keys Electric Cooperative                               Attn: Maria Jones                                P.O. Box 377                                                 Tavernier, FL 33070                                                         maria.jones@fkec.com                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Florin Roebig                                                   Wil Florin                                       777 Alderman Rd                                              Palm Harbor, FL 34683                                                       medmal_efiling@florinroebig.com      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Floris Umc ‐ Herndon                                            c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                   Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Floris Utd Methodist Church                                     National Capital Area Council 082                13600 Frying Pan Rd                                          Herndon, VA 20171‐3110                                                                                           First Class Mail
Chartered Organization         Florissant Valley Kiwanis Club                                  Greater St Louis Area Council 312                955 Rue Saint Francois St                                    Florissant, MO 63031‐4925                                                                                        First Class Mail
Chartered Organization         Flower Mound Presbyterian Church                                Longhorn Council 662                             1501 Flower Mound Rd                                         Flower Mound, TX 75028‐3512                                                                                      First Class Mail
Chartered Organization         Flower Mound Rotary Club                                        Longhorn Council 662                             P.O. Box 271450                                              Flower Mound, TX 75027‐1450                                                                                      First Class Mail
Voting Party                   Flower Mound United Methodist Church                            Attn: Brian Moshier                              3950 Bruton Orand Blvd                                       Flower Mound, TX 75022                                                      finance@fmumc.org                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Flower Mound Utd Methodist Men'S Club                           Longhorn Council 662                             3950 Bruton Orand Blvd                                       Flower Mound, TX 75022‐2867                                                                                      First Class Mail
Chartered Organization         Flowery Branch Masonic Lodge 212                                Northeast Georgia Council 101                    P.O. Box 624                                                 Flowery Branch, GA 30542‐0011                                                                                    First Class Mail
Chartered Organization         Flowery Branch Police Dept                                      Northeast Georgia Council 101                    P.O. Box 757                                                 Flowery Branch, GA 30542‐0013                                                                                    First Class Mail
Chartered Organization         Flowery Branch Utd Methodist Church                             Northeast Georgia Council 101                    P.O. Box 490                                                 Flowery Branch, GA 30542‐0009                                                                                    First Class Mail
Chartered Organization         Floyd Baptist Church                                            Blue Ridge Mtns Council 599                      510 E Main St                                                Floyd, VA 24091‐2615                                                                                             First Class Mail
Chartered Organization         Floyd Lodge 537 American Legion                                 Attn: Dan Roghair                                304 Central Ave SW                                           Orange City, IA 51041‐1636                                                                                       First Class Mail
Chartered Organization         Floyd Springs Umc                                               Northwest Georgia Council 100                    1954 Floyd Springs Rd NE                                     Armuchee, GA 30105‐2504                                                                                          First Class Mail
Chartered Organization         Floyd Volunteer Fire Dept                                       Leatherstocking 400                              8367 Old Floyd Rd                                            Rome, NY 13440‐0545                                                                                              First Class Mail
Voting Party                   Floyd, Pflueger & Ringer, P.S.                                  Attn: Thomas B Nedderman                         200 W Thomas St, Ste 500                                     Seattle, WA 98119                                                           tnedderman@floyd‐ringer.com          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Floydada Lions Club                                             South Plains Council 694                         P.O. Box 7                                                   Floydada, TX 79235‐0007                                                                                          First Class Mail
Chartered Organization         Floyds Studio                                                   Inland Nwest Council 611                         4127 N Maple Leaf Rd                                         Coeur D Alene, ID 83815‐2000                                                                                     First Class Mail
Voting Party                   Flushing United Methodist Church                                Attn: Jeffrey A. Welch                           726 E Main St, Apt 604                                       Flushing, MI 48433                                                          Jeffwelch54@outlook.com              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                          Page 128 of 442
                                                                                   Case 20-10343-LSS                                                  Doc 8171                                             Filed 01/06/22                                                         Page 144 of 457
                                                                                                                                                                                              Exhibit B
                                                                                                                                                                                               Service List
                                                                                                                                                                                        Served as set forth below

        Description                                                        Name                                                                                                             Address                                                                                                                   Email                  Method of Service
Voting Party                   Flushing United Methodist Church                            Attn: Treasurer                                      413 E Main St                                                     Flushing, MI 48433                                                        Flumc@sbcglobal.net                   Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Flushing Utd Methodist Church                               Ohio River Valley Council 619                        301 High St                                                       Flushing, OH 43977                                                                                              First Class Mail
Chartered Organization         Fluvanna Community Church                                   Allegheny Highlands Council 382                      3363 Fluvanna Ave Ext                                             Jamestown, NY 14701‐9782                                                                                        First Class Mail
Chartered Organization         Fluvanna County Sheriffs Office                             Stonewall Jackson Council 763                        160 Commons Blvd                                                  Palmyra, VA 22963‐4828                                                                                          First Class Mail
Chartered Organization         Fluvanna Fire Dept                                          Allegheny Highlands Council 382                      Rd 1                                                              Jamestown, NY 14701                                                                                             First Class Mail
Chartered Organization         Fly Church Of The Nazarene                                  Middle Tennessee Council 560                         5688 Leipers Creek Rd                                             Santa Fe, TN 38482                                                                                              First Class Mail
Voting Party                   Fly Creek United Methodist Church                           Attn: Sharon Rankins‐Burd                            P.O. Box 128                                                      852 County Hwy 26                       Fly Creek, NY 13337               pastorsharonrankinsburd@gmail.com     Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Fly Right Incorporated                                      Central N Carolina Council 416                       7275 Westwinds Blvd Nw                                            Concord, NC 28027‐3310                                                                                          First Class Mail
Voting Party                   Flying A Security Systems, Inc                              12605 SW 114th Ave                                   Miami, FL 33176‐4509                                                                                                                                                              First Class Mail
Chartered Organization         Flying L Ranch Resort                                       Alamo Area Council 583                               675 Flying L Dr                                                   Bandera, TX 78003                                                                                               First Class Mail
Chartered Organization         Flynn Park School PTA                                       Greater St Louis Area Council 312                    7220 Waterman Ave                                                 Saint Louis, MO 63130‐4156                                                                                      First Class Mail
Chartered Organization         F‐M Ambulance Service Inc                                   Northern Lights Council 429                          2215 18th St S                                                    Fargo, ND 58103‐5105                                                                                            First Class Mail
Chartered Organization         Fn Brown School Sca                                         Northern New Jersey Council, Bsa 333                 125 Grove Ave                                                     Verona, NJ 07044‐1621                                                                                           First Class Mail
Chartered Organization         Fndn, Rotary Club Forest Grove                              Cascade Pacific Council 492                          P.O. Box 125                                                      Forest Grove, OR 97116‐0125                                                                                     First Class Mail
Chartered Organization         Foe 4149 Sky Valley                                         Mount Baker Council, Bsa 606                         P.O. Box 1589                                                     Sultan, WA 98294‐1589                                                                                           First Class Mail
Chartered Organization         Foe 4273                                                    Central Florida Council 083                          27150 Haywood Worm Farm Rd                                        Okahumpka, FL 34762‐3232                                                                                        First Class Mail
Chartered Organization         Fogarty Memorial School P T O                               Narragansett 546                                     736 Snake Hill Rd                                                 North Scituate, RI 02857‐2818                                                                                   First Class Mail
Firm                           Fogelman Law Firm                                           Matthew Fogelman                                     189 Wells Avenue, Ste 302                                         Newton, MA 02459                                                          mjf@fogelmanlawfirm.com               Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Foland Wickens Roper Hofer & Crawford Pc                    Attn: Philip Sumner                                  1 Kansas City Pl                                                  1200 Main St, Ste 2200                  Kansas City, MO 64105             psumner@fwpclaw.com                   Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Foley Area Chamber                                          Central Minnesota 296                                P.O. Box 499                                                      Foley, MN 56329‐0499                                                                                            First Class Mail
Chartered Organization         Foley Optimist Club                                         Mobile Area Council‐Bsa 004                          P.O. Box 1353                                                     Foley, AL 36536‐1353                                                                                            First Class Mail
Voting Party                   Folkston United Methodist Church                            Attn: Daniel Underwood                               P.O. Box 396                                                      1463 3rd St                             Folkston, GA 31537                folksumc@windstream.net               Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Folkston Utd Methodist Church                               Coastal Georgia Council 099                          1463 3rd St                                                       Folkston, GA 31537‐8905                                                                                         First Class Mail
Voting Party                   Follansbee United Methodist Church                          Attn: Russell Clem                                   200 Loretta Ave                                                   Follansbee, WV 26037                                                      rclem200@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Folsom City Lions Club                                      Golden Empire Council 047                            117 Abrozo Ct                                                     Folsom, CA 95630‐4933                                                                                           First Class Mail
Chartered Organization         Folsom Police Dept                                          Golden Empire Council 047                            46 Natoma St                                                      Folsom, CA 95630‐2614                                                                                           First Class Mail
Chartered Organization         Folwell School PTO Inc                                      Garden State Council 690                             465 Jacksonville Rd                                               Mount Holly, NJ 08060                                                                                           First Class Mail
Chartered Organization         Fond Du Lac Police Dept                                     Bay‐Lakes Council 635                                126 N Main St                                                     Fond Du Lac, WI 54935‐3424                                                                                      First Class Mail
Chartered Organization         Fontana Police Dept                                         California Inland Empire Council 045                 17005 Upland Ave                                                  Fontana, CA 92335‐3534                                                                                          First Class Mail
Chartered Organization         Foothill Rehab & Performance Srvc                           Grand Teton Council 107                              3715 Woodking Dr                                                  Idaho Falls, ID 83404‐4720                                                                                      First Class Mail
Chartered Organization         Foothills Baptist Church                                    Grand Canyon Council 010                             15450 S 21st St                                                   Phoenix, AZ 85048‐9518                                                                                          First Class Mail
Chartered Organization         Foothills Ch Rancho Santa Margarita                         Orange County Council 039                            23122 Arroyo Vis                                                  Rancho Santa Margarita, CA 92688‐2608                                                                           First Class Mail
Voting Party                   Foothills United Methodist Church                           Attn: Kevin Cooksy                                   3301 Green Valley Rd                                              Rescue, CA 95672                                                          office@foothillsumc.net               Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Foothills United Methodist Church                           Attn: Treasurer, Foothills United Methodist Church   4031 Avocado Blvd                                                 La Mesa, CA 91941                                                         lindacree@foothillsumc.org            Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Foothills United Methodist Church                           Attn:Rev. Moon Ho Kim                                17 Fremont St                                                     Gloversville, NY 12078                                                                                          First Class Mail
Chartered Organization         Foothills Utd Methodist Church                              San Diego Imperial Council 049                       4301 Avocado Blvd                                                 La Mesa, CA 91941                                                                                               First Class Mail
Chartered Organization         Foothills Young Marines C                                   O Beverly Hills Glass                                9150 W Jewell Ave                                                 Lakewood, CO 80232‐6481                                                                                         First Class Mail
Chartered Organization         Footprints Of Michigan ‐ Forestview                         Water and Woods Council 782                          3300 W Main St                                                    Lansing, MI 48917‐4383                                                                                          First Class Mail
Chartered Organization         Footprints Of Michigan Inc ‐ Pattengill                     Water and Woods Council 782                          3300 W Main St                                                    Lansing, MI 48917‐4383                                                                                          First Class Mail
Chartered Organization         For The Kids Foundation Of Tampa Bay                        Greater Tampa Bay Area 089                           302 E Henry Ave                                                   Tampa, FL 33604‐7032                                                                                            First Class Mail
Chartered Organization         For Unity Community Outreach Corp                           Connecticut Rivers Council, Bsa 066                  P.O. Box 330991                                                   West Hartford, CT 06133‐0991                                                                                    First Class Mail
Voting Party                   Foraker Umc                                                 Attn: Rusti Payne                                    P.O. Box 151                                                      Shidler, OK 74652                                                         rpayne@kawnation.com                  Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Foraker Umc                                                 Homer T Big Eagle II                                 P.O. Box 212                                                      Shidler, OK 74652                                                         h.troybigeagle@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forbes Hospital                                             Westmoreland Fayette 512                             2570 Haymaker Rd                                                  Monroeville, PA 15146‐3513                                                                                      First Class Mail
Chartered Organization         Forbush High School Jrotc                                   Old Hickory Council 427                              1525 Falcon Rd                                                    East Bend, NC 27018‐8439                                                                                        First Class Mail
Chartered Organization         Force Beacons                                               Denver Area Council 061                              1550 S Wolff St                                                   Denver, CO 80219‐4353                                                                                           First Class Mail
Chartered Organization         Ford Drake Scout Memorial Inc                               Great Lakes Fsc 272                                  1524 Middlebelt Rd                                                Garden City, MI 48135‐2815                                                                                      First Class Mail
Voting Party                   Ford Memorial United Methodist Church (97706)               c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200              Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Ford Memorial United Methodist Church (97706)               c/o Bentz Law Firm                                   Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200              Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Ford Middle School                                          Narragansett 546                                     708 Middle Rd                                                     Acushnet, MA 02743‐1409                                                                                         First Class Mail
Chartered Organization         Ford St Utd Methodist Church                                Crossroads of America 160                            P.O. Box 626                                                      Lapel, IN 46051‐0626                                                                                            First Class Mail
Voting Party                   Ford Street United Methodist Church                         Attn: Glenn James Knepp                              P.O. Box 626                                                      Lapel, IN 46051                                                           communications@fordstchurch.com       Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forder School PTO                                           Greater St Louis Area Council 312                    623 W Ripa Ave                                                    Saint Louis, MO 63125‐2525                                                                                      First Class Mail
Voting Party                   Fordham United Methodist Church                             Attn: Church Treasurer                               2543 Marion Ave                                                   Bronx, NY 10458                                                           fumcinthebronx@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Ford's Chapel Umc                                           Attn: Kanunu Busambwa                                100 Kayo Rd                                                       Madison, AL 35758                                                                                               First Class Mail
Voting Party                   Ford'S Chapel Umc                                           Kanunu E Busambwa                                    280 Ford Chapel Rd                                                Harvest, AL 35749                                                                                               First Class Mail
Chartered Organization         Fords Fire Co Posts                                         Patriots Path Council 358                            667 King George Rd                                                Fords, NJ 08863‐1844                                                                                            First Class Mail
Chartered Organization         Fords Fire Co Traditional Units                             Patriots Path Council 358                            667 King George Rd                                                Fords, NJ 08863‐1844                                                                                            First Class Mail
Voting Party                   Fordyce First United Methodist                              c/o Friday, Eldredge & Clark LLP                     Attn: Lindsey Emerson Raines                                      400 W Capitol Ave, Ste 2000             Little Rock, AR 72201             lraines@fridayfirm.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Fordyce First United Methodist                              Attn: Patsy Garlington                               P.O. Box 1003                                                     Fordyce, AR 71742                                                         ffumc@windstream.net                  Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Forest ‐ Silver Springs                                     c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forest Ave Home & School Assoc                              Northern New Jersey Council, Bsa 333                 118 Forest Ave                                                    Verona, NJ 07044‐1224                                                                                           First Class Mail
Chartered Organization         Forest Baptist Church                                       Andrew Jackson Council 303                           P.O. Box 338                                                      Forest, MS 39074‐0338                                                                                           First Class Mail
Chartered Organization         Forest Bend Homeowners Assoc Inc                            Sam Houston Area Council 576                         4300 Laura Leigh Dr                                               Friendswood, TX 77546‐4168                                                                                      First Class Mail
Chartered Organization         Forest City Community Assoc Inc                             Theodore Roosevelt Council 386                       3199 Morgan Dr                                                    Wantagh, NY 11793                                                                                               First Class Mail
Chartered Organization         Forest City Foursquare Church                               Piedmont Council 420                                 178 Cornwell St                                                   Forest City, NC 28043‐3695                                                                                      First Class Mail
Chartered Organization         Forest City Lions Club                                      c/o Steven Howell                                    205 S Monroe St                                                   Oregon, MO 64473‐9665                                                                                           First Class Mail
Voting Party                   Forest City United Methodist Church                         Attn: Steven Peterson                                305 S Clark St                                                    Forest City, IA 50436                                                                                           First Class Mail
Voting Party                   Forest Grove Presbyterian Church                            Attn: Rebecca Schroeder                              1856 Forest Grove Rd                                              Forest Grove, PA 18922                                                    office@forestgrovechurch.org          Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Forest Grove Umc ‐ Ashland                                  c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forest Hill Assoc                                           San Francisco Bay Area Council 028                   381 Magellan Ave                                                  San Francisco, CA 94116‐1434                                                                                    First Class Mail
Chartered Organization         Forest Hill Church                                          Mecklenburg County Council 415                       7224 Park Rd                                                      Charlotte, NC 28210‐6133                                                                                        First Class Mail
Chartered Organization         Forest Hill Church                                          Lake Erie Council 440                                3031 Monticello Blvd                                              Cleveland Heights, OH 44118‐1250                                                                                First Class Mail
Chartered Organization         Forest Hill High School                                     Andrew Jackson Council 303                           2607 Raymond Rd                                                   Jackson, MS 39212‐2252                                                                                          First Class Mail
Chartered Organization         Forest Hill Police Dept                                     Longhorn Council 662                                 3336 Horton Rd                                                    Forest Hill, TX 76119‐6012                                                                                      First Class Mail
Voting Party                   Forest Hill United Methodist Church                         Attn: Mandy Jones                                    265 Union St N                                                    Concord, NC 28025                                                         mandy@foresthillumc.org               Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Forest Hills                                                c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forest Hills Baptist Church                                 Occoneechee 421                                      201 Dixie Trl                                                     Raleigh, NC 27607‐7015                                                                                          First Class Mail
Chartered Organization         Forest Hills Presbyterian Church                            President Gerald R Ford 781                          7495 Cascade Rd Se                                                Grand Rapids, MI 49546‐9110                                                                                     First Class Mail
Chartered Organization         Forest Hills Presbyterian Church                            Alamo Area Council 583                               P.O. Box 257                                                      Helotes, TX 78023‐0257                                                                                          First Class Mail
Chartered Organization         Forest Hills Presbyterian Church                            Laurel Highlands Council 527                         1840 Ardmore Blvd                                                 Pittsburgh, PA 15221‐4408                                                                                       First Class Mail
Chartered Organization         Forest Hills Presbyterian Church                            Greater Tampa Bay Area 089                           709 W Linebaugh Ave                                               Tampa, FL 33612‐7853                                                                                            First Class Mail
Voting Party                   Forest Hills Presbyterian Church                            Attn: George Hunter Gutshall                         725 Beechnut Ln                                                   Martinsville, VA 24112                                                    george.gutshall@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Forest Hills Presbyterian Church, Inc                       Attn: Sheron Alves Bass, Esq                         9385 N 56th St, Ste 311                                           Temple Terrace, FL 33617                                                  sheron@basslawgroup.com               Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forest Hills PTA                                            Greater Alabama Council 001                          101 Stovall Dr                                                    Florence, AL 35633‐1435                                                                                         First Class Mail
Voting Party                   Forest Hills United Methodist Church                        Attn: Trustees Chair                                 1250 Old Hickory Blvd                                             Brentwood, TN 37027                                                       foresthillsumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Forest Hills United Methodist Church, Inc                   Attn: Tammy Humphries & Ttee                         1217 Forest Hill Rd                                               Macon, GA 31210                                                           tammyhumphries@foresthillsmacon.com   Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forest Lake Lions Club                                      Northern Star Council 250                            P.O. Box 543                                                      Forest Lake, MN 55025‐0543                                                                                      First Class Mail
Chartered Organization         Forest Lake Senior High                                     Northern Star Council 250                            6101 Scandia Trl N                                                Forest Lake, MN 55025‐2630                                                                                      First Class Mail
Voting Party                   Forest Lake United Methodist Church                         Attn: Dr Kevin L Thomas, Senior Pastor               1711 4th Ave                                                      Tuscaloosa, AL 35401                                                      kthomas@forestlakeumc.org             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forest Lake Vfw Post 4210                                   Northern Star Council 250                            556 12th St Sw                                                    Forest Lake, MN 55025                                                                                           First Class Mail
Chartered Organization         Forest Park Baptist Church                                  National Capital Area Council 082                    12995 Church Rd                                                   Waldorf, MD 20601‐3680                                                                                          First Class Mail
Chartered Organization         Forest Park Presbyterian Church                             Potawatomi Area Council 651                          2300 S Sunnyslope Rd                                              New Berlin, WI 53151‐3068                                                                                       First Class Mail
Chartered Organization         Forest Park Presbyterian Church                             Potawatomi Area Council 651                          12700 W Howard Ave                                                New Berlin, WI 53151‐6104                                                                                       First Class Mail
Chartered Organization         Forest Park School Assoc                                    Three Harbors Council 636                            6810 45th Ave                                                     Kenosha, WI 53142‐3873                                                                                          First Class Mail
Voting Party                   Forest Park United Methodist Church                         4473 College St                                      Forest Park, GA 30297                                                                                                                                                             First Class Mail
Voting Party                   Forest Park United Methodist Church ‐ Forest Park           c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forest Park Utd Methodist Church                            Atlanta Area Council 092                             4473 College St                                                   Forest Park, GA 30297‐3701                                                                                      First Class Mail
Chartered Organization         Forest Park Utd Methodist Church                            Gulf Coast Council 773                               1401 W 23rd St                                                    Panama City, FL 32405‐2903                                                                                      First Class Mail
Chartered Organization         Forest Ptc                                                  Pathway To Adventure 456                             1375 S 5th Ave                                                    Des Plaines, IL 60018‐1430                                                                                      First Class Mail
Voting Party                   Forest Road UMC 2805 Old Forest Road, Lynchburg, VA 24501   c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forest Street Utd Methodist Church                          Middle Tennessee Council 560                         416 Church St                                                     Clarksville, TN 37040‐4028                                                                                      First Class Mail
Chartered Organization         Forest Trail Booster Club                                   Capitol Area Council 564                             1203 S Capital of Texas Hwy                                       West Lake Hills, TX 78746‐6427                                                                                  First Class Mail
Voting Party                   Forest Umc                                                  Attn: David Slaughter                                P.O. Box 68                                                       Forest, MS 39074                                                          kim@forestumc.org                     Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Forest Umc ‐ Forest                                         c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forestbrook Animal Hospital                                 Piedmont Council 420                                 3200 Union Rd                                                     Gastonia, NC 28056‐7050                                                                                         First Class Mail
Voting Party                   Forestburg Umc                                              Attn: Rev Greg Parr                                  16846 Fm 455                                                      Forestburg, TX 76239                                                      gregparr1@windstream.net              Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forestdale Fire District                                    1485 Forestdale BLvd                                 Birmingham, AL 35214                                                                                                                                                              First Class Mail
Chartered Organization         Forester Elem Parent Teacher Assoication                    Alamo Area Council 583                               10726 Rousseau St                                                 San Antonio, TX 78245‐2948                                                                                      First Class Mail
Firm                           Forester Haynie, PLLC                                       Ashley Pileika                                       400 N Saint Paul St, Ste. 700                                     Dallas, TX 75201                                                          info@foresterhaynie.com               Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Forestville UMC                                             Forestville United Methodist Church                  6550 Covey Rd                                                     Forestville, CA 95436                                                     mightotta@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forestville Utd Methodist Men                               Redwood Empire Council 041                           6550 Covey Rd                                                     Forestville, CA 95436‐9115                                                                                      First Class Mail
Chartered Organization         Forever Green Unities                                       Seneca Waterways 397                                 95 Brayer St                                                      Rochester, NY 14606‐1139                                                                                        First Class Mail
Chartered Organization         Fork Shoals School PTA                                      Blue Ridge Council 551                               916 Mckelvey Rd                                                   Pelzer, SC 29669‐9277                                                                                           First Class Mail
Voting Party                   Fork United Methodist Church                                Attn: Anthony Lattanzi                               6511 Upland Rd                                                    Fork, MD 21051                                                            t_lattanzi@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Fork United Methodist Church                                Attn: Robert Batchelor                               12800 Fork Rd                                                     Fork, MD 21051                                                            fork_waugh_secretary@forkumc.org      Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Forksville United Methodist Church (180965)                 c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200              Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Firm                           Forman Law Office P.A.                                      Theodore S. Forman                                   238 NE 1st Ave                                                    Delray Beach, FL 33444                                                    ted@formanlawoffices.com              Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Former East Main Street Umc (Lock Haven)                    c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200              Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Former Members Of Post 2111                                 Anthony Wayne Area 157                               514 E Hazel St                                                    Albion, IN 46701‐1310                                                                                           First Class Mail
Chartered Organization         Forrest Burdette Memorial Utd Methodist                     Buckskin 617                                         2848 Putnam Ave                                                   Hurricane, WV 25526‐1424                                                                                        First Class Mail
Voting Party                   Forrest Hill United Methodist Church                        Attn: James Peacock                                  1217 W Woodside Dr                                                Dunlap, IL 61525                                                          ruspeacock@hotmail.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Forrest Hill United Methodist Church                        Attn: Joy Williamson                                 223 Indian Creek Dr                                               Pekin, IL 61554                                                           joy@williamson.net                    Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forrest Hill Utd Methodist Church                           W D Boyce 138                                        706 E Forrest Hill Ave                                            Peoria, IL 61603‐1926                                                                                           First Class Mail
Voting Party                   Forrest J Gertin                                            c/o Boy Scouts of America                            Attn: Chase Koontz                                                1325 W Walnut Hill Ln                   Irving, TX 75015                  chase.koontz@scouting.org             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forrest Lodge Vfw Post 245                                  Washington Crossing Council 777                      2118 Old Bethlehem Pike                                           Sellersville, PA 18960‐1228                                                                                     First Class Mail
Chartered Organization         Forreston Reformed Church                                   Blackhawk Area 660                                   P.O. Box 664                                                      Forreston, IL 61030‐0664                                                                                        First Class Mail
Chartered Organization         Forsyth Area Sports Teams                                   Northeast Georgia Council 101                        2645 Pilgrim Mill Cir                                             Cumming, GA 30041‐9074                                                                                          First Class Mail
Chartered Organization         Forsyth County Fire Dept                                    Northeast Georgia Council 101                        3480 Settingdown Rd                                               Cumming, GA 30028‐8804                                                                                          First Class Mail
Chartered Organization         Forsyth County Sheriffs Office                              Northeast Georgia Council 101                        202 Veterans Memorial Blvd                                        Cumming, GA 30040‐2646                                                                                          First Class Mail
Chartered Organization         Forsyth County Sheriffs Office                              Old Hickory Council 427                              P.O. Box 21089                                                    Winston Salem, NC 27120‐1089                                                                                    First Class Mail
Chartered Organization         Forsyth Ems                                                 Old Hickory Council 427                              911 E 5th St                                                      Winston Salem, NC 27101‐4321                                                                                    First Class Mail
Chartered Organization         Forsyth Tech Community College                              Old Hickory Council 427                              2100 Silas Creek Pkwy                                             Winston Salem, NC 27103‐5150                                                                                    First Class Mail
Chartered Organization         Forsyth Township Ministerium                                Bay‐Lakes Council 635                                P.O. Box 1114                                                     Gwinn, MI 49841‐1114                                                                                            First Class Mail
Voting Party                   Forsyth United Methodist Church                             210 E Ruehl St                                       P.O. Box 56                                                       Forsyth, IL 62535                                                         forsythuntiedmc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Forsyth United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                   Erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Forsyth United Methodist Church                             68 W Johnston St                                     Forsyth, GA 31029                                                                                                                           erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Forsyth United Methodist Church                             Attn: Rev R Andrew Maxwell                           209 S Elwood St                                                   Forsyth, IL 62535                                                         andrew.maxwell1953@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Forsyth Utd Methodist Church                                Central Georgia Council 096                          68 W Johnston St                                                  Forsyth, GA 31029‐2113                                                                                          First Class Mail
Chartered Organization         Forsyth Utd Methodist Church                                Greater St Louis Area Council 312                    210 E Ruehl St                                                    Forsyth, IL 62535‐4010                                                                                          First Class Mail
Chartered Organization         Forsyth Volunteer Fire Dept                                 Montana Council 315                                  P.O. Box 1247                                                     Forsyth, MT 59327‐1247                                                                                          First Class Mail
Chartered Organization         Forsyth‐Cumming Optimist Club                               Northeast Georgia Council 101                        P.O. Box 111                                                      Cumming, GA 30028‐0111                                                                                          First Class Mail
Chartered Organization         Fort Allen P T O                                            Westmoreland Fayette 512                             560 Baltzer Meyer Pike                                            Greensburg, PA 15601‐6837                                                                                       First Class Mail
Chartered Organization         Fort Ann Volunteer Fire Co                                  Twin Rivers Council 364                              11289 State Route 149                                             Fort Ann, NY 12828                                                                                              First Class Mail
Chartered Organization         Fort Ashby Lions Club Inc                                   Laurel Highlands Council 527                         P.O. Box 167                                                      Fort Ashby, WV 26719‐0167                                                                                       First Class Mail
Chartered Organization         Fort Belvoir Friends Of Scouting                            National Capital Area Council 082                    P.O. Box 15127                                                    Alexandria, VA 22309‐0127                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                               Page 129 of 442
                                                                                  Case 20-10343-LSS                                        Doc 8171                                       Filed 01/06/22                                                 Page 145 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                        Name                                                                                            Address                                                                                                          Email                  Method of Service
Chartered Organization         Fort Belvoir Friends Of Scouting                          National Capital Area Council 082            P.O. Box 15142                                             Alexandria, VA 22309‐0142                                                                              First Class Mail
Chartered Organization         Fort Bend Animal Services                                 Sam Houston Area Council 576                 1210 Blume Rd                                              Rosenberg, TX 77471‐4070                                                                               First Class Mail
Chartered Organization         Fort Bend Christian Academy                               Sam Houston Area Council 576                 1250 7th St                                                Sugar Land, TX 77478‐2773                                                                              First Class Mail
Chartered Organization         Fort Bend Columbus Club                                   Sam Houston Area Council 576                 P.O. Box 866                                               Rosenberg, TX 77471‐0866                                                                               First Class Mail
Chartered Organization         Fort Bend County Sheriff'S Office                         Sam Houston Area Council 576                 1410 Williams Way Blvd                                     Richmond, TX 77469‐3617                                                                                First Class Mail
Voting Party                   Fort Branch First United Methodist Church                 Attn: Melissa Foster                         100 W Vine St                                              Ft Branch, IN 47648                                               melissa@fbfirst.org                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fort Burd Utd Presbyterian Church                         Westmoreland Fayette 512                     200 Thornton Rd                                            Brownsville, PA 15417‐9611                                                                             First Class Mail
Chartered Organization         Fort Chiswell Utd Methodist Church                        Blue Ridge Mtns Council 599                  771 Fort Chiswell Rd                                       Max Meadows, VA 24360                                                                                  First Class Mail
Chartered Organization         Fort Daniel Elementary School                             Northeast Georgia Council 101                1725 Auburn Rd                                             Dacula, GA 30019‐1131                                                                                  First Class Mail
Voting Party                   Fort Des Moines United Methodist Church                   Attn: Jane White                             6205 SW 9th St                                             Des Moines, IA 50315                                              ftdsmumc@gmail.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Fort Donelson Memorial United Methodist Church            Attn: J. Bryan Watson                        P.O. Box 53                                                Dover, TN 37058                                                   bryanwatson59@gmail.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fort Fairfield Frontier Fish & Game                       Katahdin Area Council 216                    550 Dorsey Rd                                              Fort Fairfield, ME 04742                                                                               First Class Mail
Chartered Organization         Fort Fairfield Frontier Fish And Game                     Katahdin Area Council 216                    P.O. Box 182                                               Fort Fairfield, ME 04742‐0182                                                                          First Class Mail
Chartered Organization         Fort Foote Baptist Church                                 National Capital Area Council 082            8310 Fort Foote Rd                                         Fort Washington, MD 20744‐5527                                                                         First Class Mail
Chartered Organization         Fort Gay Utd Methodist Church                             Buckskin 617                                 Court St                                                   Att. Tom Baisden                 Fort Gay, WV 25514                                                    First Class Mail
Chartered Organization         Fort Gibson Utd Methodist Church                          Sequoyah Council 713                         30 Church St                                               Castlewood, VA 24224                                                                                   First Class Mail
Chartered Organization         Fort Hill Presbyterian Church                             Blue Ridge Council 551                       101 Edgewood Ave                                           Clemson, SC 29631‐1403                                                                                 First Class Mail
Chartered Organization         Fort Hill Presbyterian Church                             Blue Ridge Council 551                       399 College Ave                                            Clemson, SC 29631‐1473                                                                                 First Class Mail
Voting Party                   Fort Hill Umc ‐ Lynchburg                                 c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fort Hunter Fire District                                 Twin Rivers Council 364                      3525 Carman Rd                                             Schenectady, NY 12303‐5439                                                                             First Class Mail
Chartered Organization         Fort Island PTA                                           Great Trail 433                              496 Trunko Rd                                              Fairlawn, OH 44333‐3274                                                                                First Class Mail
Chartered Organization         Fort Jackson Dept Of Emergency Services                   Indian Waters Council 553                    5385 Jackson Blvd                                          Columbia, SC 29207‐6111                                                                                First Class Mail
Chartered Organization         Fort Jones Fire Dept                                      Crater Lake Council 491                      31 Newton St                                               Fort Jones, CA 96032                                                                                   First Class Mail
Chartered Organization         Fort Kent Lions Club                                      Katahdin Area Council 216                    P.O. Box 26                                                Fort Kent, ME 04743‐0026                                                                               First Class Mail
Chartered Organization         Fort King Presbyterian Church                             North Florida Council 087                    13 NE 36th Ave                                             Ocala, FL 34470‐1302                                                                                   First Class Mail
Chartered Organization         Fort Knox Federal Credit Union                            Lincoln Heritage Council 205                 1175 Pershing Dr                                           Fort Knox, KY 40121‐1994                                                                               First Class Mail
Chartered Organization         Fort Lee Crater Ch Warrant Officer Assoc                  Heart of Virginia Council 602                3901 C Ave Bldg 10000, Ste E                               Fort Lee, VA 23801‐1815                                                                                First Class Mail
Chartered Organization         Fort Madison Fire Dept                                    Mississippi Valley Council 141 141           811 Ave E                                                  Fort Madison, IA 52627‐2841                                                                            First Class Mail
Voting Party                   Fort Madison United Methodist Church                      Attn: Pastor Kayla Lange‐Carney              510 9th St                                                 Fort Madison, IA 52627                                            fmfstumc@msn.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fort Meigs Elementary                                     Erie Shores Council 460                      26431 Fort Meigs Rd                                        Perrysburg, OH 43551‐1152                                                                              First Class Mail
Voting Party                   Fort Morgan United Methodist Church                       Attn: Deb Polansky, Treasurer                117 W Bijou                                                Fort Morgan, CO 80701                                             fortmorganumc@outlook.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fort Myers Middle Academy                                 Southwest Florida Council 088                3050 Central Ave                                           Fort Myers, FL 33901‐7305                                                                              First Class Mail
Chartered Organization         Fort Myers Power Squadron                                 Southwest Florida Council 088                3145 Royalston Ave                                         Fort Myers, FL 33916‐1541                                                                              First Class Mail
Chartered Organization         Fort Oglethorpe Fire & Rescue                             Cherokee Area Council 556                    201 Forrest Rd                                             Fort Oglethorpe, GA 30742‐3706                                                                         First Class Mail
Voting Party                   Fort Oglethorpe United Methodist Church                   1733 Battlefield Pkwy                        Fort Oglethorpe, GA 30742                                                                                                    revjustinkeating@gmail.com           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fort Owen American Legion Post 94                         Montana Council 315                          1055 Middle Burnt Fork Rd                                  Stevensville, MT 59870                                                                                 First Class Mail
Chartered Organization         Fort Payne City Schools                                   Greater Alabama Council 001                  205 45th St Ne                                             Fort Payne, AL 35967‐4011                                                                              First Class Mail
Voting Party                   Fort Payne First United Methodst Church                   Attn: Michael Miller                         3012 Forest Ave NW                                         Ft. Payne, AL 35967                                               michael.fpfirst@gmail.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fort Pierce Masonic Lodge No 87                           Gulf Stream Council 085                      4590 Oleander Ave                                          Fort Pierce, FL 34982‐4204                                                                             First Class Mail
Chartered Organization         Fort Pierce Police Dept                                   Gulf Stream Council 085                      920 S US Hwy 1                                             Fort Pierce, FL 34950‐5106                                                                             First Class Mail
Chartered Organization         Fort Salonga School PTA                                   Suffolk County Council Inc 404               39 Sunken Meadow Rd                                        Fort Salonga, NY 11768‐2720                                                                            First Class Mail
Chartered Organization         Fort Stewart Youth Challenge                              Coastal Georgia Council 099                  P.O. Box 3610                                              Fort Stewart, GA 31315‐3610                                                                            First Class Mail
Chartered Organization         Fort Valley Utd Methodist Church                          Central Georgia Council 096                  301 W Church St                                            Fort Valley, GA 31030‐3719                                                                             First Class Mail
Chartered Organization         Fort Vancouver Sail & Power Squadron                      Cascade Pacific Council 492                  1312 SW Taylors Ferry Rd                                   Portland, OR 97219                                                                                     First Class Mail
Voting Party                   Fort Washington Baptist Church                            11516 Fort Washington Rd                     Fort Washington, MD 20744                                                                                                    pastorfwbc@verizon.net               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fort Washington Collegate                                 Greater New York Councils, Bsa 640           729 W 181st St                                             New York, NY 10033‐4730                                                                                First Class Mail
Voting Party                   Fort Wayne Calvary Umc                                    Attn: Robert D Muth                          6301 Winchester Rd                                         Fort Wayne, IN 46819                                              dinamee4@frontier.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fort Wayne Urban League                                   Anthony Wayne Area 157                       2135 S Hanna St                                            Fort Wayne, IN 46803‐2401                                                                              First Class Mail
Chartered Organization         Fort Worth Country Day                                    Longhorn Council 662                         4200 Country Day Ln                                        Fort Worth, TX 76109‐4201                                                                              First Class Mail
Chartered Organization         Fort Worth Fire Dept                                      Longhorn Council 662                         509 W Felix St                                             Fort Worth, TX 76115‐3405                                                                              First Class Mail
Chartered Organization         Fort Worth Police Dept                                    Longhorn Council 662                         511 W Felix St                                             Fort Worth, TX 76115‐3405                                                                              First Class Mail
Chartered Organization         Fort Worthington Rec Center                               Baltimore Area Council 220                   2710 E Hoffman St                                          Baltimore, MD 21213‐3847                                                                               First Class Mail
Chartered Organization         Fortified Prep                                            Orange County Council 039                    8671 Hudson River Cir                                      Fountain Valley, CA 92708‐5503                                                                         First Class Mail
Chartered Organization         Fortis Properties LLC                                     Daniel Webster Council, Bsa 330              4 Linda Ln                                                 Merrimack, NH 03054‐2922                                                                               First Class Mail
Chartered Organization         Fortuna Lions Club                                        Crater Lake Council 491                      P.O. Box 432                                               Fortuna, CA 95540‐0432                                                                                 First Class Mail
Chartered Organization         Fortuna Rotary Club                                       Crater Lake Council 491                      P.O. Box 518                                               Fortuna, CA 95540‐0518                                                                                 First Class Mail
Chartered Organization         Fortuna Volunteer Fire Dept                               Crater Lake Council 491                      320 S Fortuna Blvd                                         Fortuna, CA 95540‐2737                                                                                 First Class Mail
Chartered Organization         Fortville Elementary Pto                                  Crossroads of America 160                    8414 N 200 W                                               Fortville, IN 46040‐9748                                                                               First Class Mail
Chartered Organization         Forty Fort Lions Club                                     Northeastern Pennsylvania Council 501        245 Owen St                                                Swoyersville, PA 18704‐2207                                                                            First Class Mail
Voting Party                   Foshee Mcmullen Law Grp Inc                               Attn: Rebecca Howington                      187 Roberson Mill Rd, Unit 103                             Milledgeville, GA 31061                                                                                First Class Mail
Chartered Organization         Foss Marine                                               Long Beach Area Council 032                  P.O. Box 1940                                              Long Beach, CA 90801‐1940                                                                              First Class Mail
Chartered Organization         Foss Waterway Seaport                                     Pacific Harbors Council, Bsa 612             705 Dock St                                                Tacoma, WA 98402‐4625                                                                                  First Class Mail
Chartered Organization         Foster And Adoptive Family Assoc                          Blue Grass Council 204                       700 Bluegrass Ave                                          Frankfort, KY 40601‐4408                                                                               First Class Mail
Chartered Organization         Foster Animal Hospital Pa                                 Central N Carolina Council 416               730 Concord Pkwy N                                         Concord, NC 28027‐6036                                                                                 First Class Mail
Chartered Organization         Foster City Police Dept                                   Pacific Skyline Council 031                  1030 E Hillsdale Blvd                                      Foster City, CA 94404‐1604                                                                             First Class Mail
Chartered Organization         Foster Elementary PTA                                     Sam Houston Area Council 576                 1800 Trailwood Village Dr                                  Kingwood, TX 77339‐3306                                                                                First Class Mail
Chartered Organization         Foster Elementary School PTO                              Sam Houston Area Council 576                 3919 Ward St                                               Houston, TX 77021‐4861                                                                                 First Class Mail
Chartered Organization         Foster Memorial American Legion Post                      Narragansett 546                             Foster Center Rd                                           Foster, RI 20825                                                                                       First Class Mail
Voting Party                   Foster Selman, Jr                                         Address Redacted                                                                                                                                                          Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Fosterdale Ny United Methodist Church                     Attn: Suzanne Umnik                          62 Old County Rd                                           Cochecton, NY 12726                                               fugan@frontiernet.net                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Foster'S Chapel Umc                                       Palmetto Council 549                         154 Pea Ridge Hwy                                          Jonesville, SC 29353‐3000                                                                              First Class Mail
Voting Party                   Fostoria Wesley United Methodist Church                   Attn: William Allen Bentley                  1200 Vanburen St                                           Fostoria, OH 44830                                                fostoriawesley@gmail.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Foundation                                                c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@Bradley.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Foundation                                                10751 W Adams Ave                            Temple, TX 76502                                                                                                                                                  First Class Mail
Chartered Organization         Foundation For Youth                                      Hoosier Trails Council 145 145               405 Hope Ave                                               Columbus, IN 47201‐6435                                                                                First Class Mail
Chartered Organization         Foundation For Youth Initiative‐Texas                     Alamo Area Council 583                       16702 Fallen Tree Dr                                       San Antonio, TX 78247‐2036                                                                             First Class Mail
Chartered Organization         Foundation Preparatory Charter School                     3121 Saint Bernard Ave                       New Orleans, LA 70119                                                                                                                                             First Class Mail
Chartered Organization         Foundation Umc                                            Longhorn Council 662                         10751 W Adams Ave                                          Temple, TX 76502‐5138                                                                                  First Class Mail
Chartered Organization         Founders Lions Club                                       Capitol Area Council 564                     9800 Curlew Dr                                             Austin, TX 78748‐5854                                                                                  First Class Mail
Voting Party                   Foundry ‐ St Andrew Umc                                   Attn: Chad Brooks                            143 Church St                                              Starleta, LA 71280                                                wearefoundry@gmail.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Foundry Umc ‐ Virginia Beach                              c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Foundry United Methodist Church                           Attn: Theresa Fauser, Exec Pastor            8350 Jones Rd                                              Houston,TX 77065                                                  theresa.fauser@foundrychurch.org     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Foundry United Methodist Church                           Attn: Rev Lani Willbanks                     1500 16th St NW                                            Washington, DC 20036                                              lwillbanks@foundryumc.org            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Fountain Avenue United Methodist Church                   Attn: Wallace E Smith                        300 Fountain Ave                                           Paducah, KY 42001                                                 office@fountainavenuechurch.com      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fountain City Lions Club Inc                              Crossroads of America 160                    P.O. Box 223                                               Fountain City, IN 47341‐0223                                                                           First Class Mail
Chartered Organization         Fountain City Presbyterian Church                         Great Smoky Mountain Council 557             500 Hotel Rd                                               Knoxville, TN 37918‐3234                                                                               First Class Mail
Voting Party                   Fountain City Presbyterian Church, Knoxville, Tennessee   Attn: W Tyler Chastain                       116 Agnes Rd                                               Knoxville, TN 37919                                               wtylerc@bsmlaw.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Fountain City United Methodist Church                     Attn: John Patterson                         212 Hotel Rd                                               Knoxville, TN 37918                                               john.patterson@fountaincityumc.org   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fountain Elementary School                                Atlanta Area Council 092                     5215 West St                                               Forest Park, GA 30297‐2717                                                                             First Class Mail
Voting Party                   Fountain First United Methodist Church                    Attn: Treasurer                              1003 N Santa Fe Ave                                        Fountain, CO 80817                                                mainoffice@fumcfountain.org          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fountain Inn Rotary Club                                  Blue Ridge Council 551                       S. Main St                                                 Fountain Inn, SC 29644                                                                                 First Class Mail
Chartered Organization         Fountain Lake School District PTA                         Quapaw Area Council 018                      4207 Park Ave                                              Hot Springs, AR 71901‐9473                                                                             First Class Mail
Chartered Organization         Fountain Valley Police                                    Orange County Council 039                    10200 Slater Ave                                           Fountain Valley, CA 92708‐4736                                                                         First Class Mail
Chartered Organization         Fountain Valley Utd Methodist Church                      Orange County Council 039                    18225 Bushard St                                           Fountain Valley, CA 92708‐5729                                                                         First Class Mail
Voting Party                   Fountaintown United Methodist Church                      Attn: Joseph Kuhn, Treas. Fountaintown Umc   450 E 1100 N.                                              Fountaintown, IN 46130                                            KJJKuhn@aol.com                      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Four & Six Cycle Inc                                      Pathway To Adventure 456                     9258 N Courtland Dr                                        Niles, IL 60714‐1328                                                                                   First Class Mail
Chartered Organization         Four Brothers Farming In Clinton Co                       Illowa Council 133                           2568 223rd Ave                                             Grand Mound, IA 52751‐9668                                                                             First Class Mail
Chartered Organization         Four Mile Presbyterian Church                             Laurel Highlands Council 527                 6078 Tuscarawas Rd                                         Beaver, PA 15009‐9549                                                                                  First Class Mail
Chartered Organization         Four Oaks Achievement Academy                             Hawkeye Area Council 172                     943 14th Ave Se                                            Cedar Rapids, IA 52401‐2610                                                                            First Class Mail
Chartered Organization         Four Oaks Civitan Club                                    Tuscarora Council 424                        P.O. Box 487                                               Four Oaks, NC 27524‐0487                                                                               First Class Mail
Chartered Organization         Four Oaks Civitan Club                                    Tuscarora Council 424                        P.O. Box 1009                                              Four Oaks, NC 27524‐1009                                                                               First Class Mail
Voting Party                   Four Oaks Umc                                             Tyler Guy Wood                               405 Pine Dr                                                Four Oaks, NC 27524                                               tyler.foumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Four Oaks United Methodist Church                         302 N Church St                              Four Oaks, NC 27524                                                                                                          tyler.foumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Four Oaks Utd Methodist Church                            Tuscarora Council 424                        P.O. Box 177                                               Four Oaks, NC 27524‐0177                                                                               First Class Mail
Chartered Organization         Four Season Family Day Care                               Occoneechee 421                              396 Wood Point Dr                                          Lillington, NC 27546‐5973                                                                              First Class Mail
Chartered Organization         Four Seasons Sports                                       Tuscarora Council 424                        1713 E Ash St                                              Goldsboro, NC 27530‐4042                                                                               First Class Mail
Chartered Organization         Four Sons Logistics LLC                                   Denver Area Council 061                      81191 Deadwood Trl                                         Crawford, CO 81415‐5703                                                                                First Class Mail
Chartered Organization         Four Square Sportsman Club                                Water and Woods Council 782                  6777 Cline Rd                                              Grant Township, MI 48032‐1602                                                                          First Class Mail
Chartered Organization         Foursquare Church Of South Boston                         Blue Ridge Mtns Council 599                  1011 S of Dan School Rd                                    South Boston, VA 24592‐6956                                                                            First Class Mail
Chartered Organization         Foursquare Church‐Eb Fellowship                           Mt Diablo‐Silverado Council 023              2615 Camino Tassajara                                      Danville, CA 94506‐4409                                                                                First Class Mail
Chartered Organization         Foursquare Gospel‐Church Of Open Door                     Illowa Council 133                           816 13th Ave N                                             Clinton, IA 52732‐5116                                                                                 First Class Mail
Chartered Organization         Fourteen Holy Helpers Rc Church                           Greater Niagara Frontier Council 380         1345 Indian Church Rd                                      West Seneca, NY 14224‐1311                                                                             First Class Mail
Chartered Organization         Fourth & Elm Church Of Christ                             Texas Trails Council 561                     P.O. Box 917                                               Sweetwater, TX 79556‐0917                                                                              First Class Mail
Chartered Organization         Fourth & Elm Church Of Christ                             Texas Trails Council 561                     400 Elm St                                                 Sweetwater, TX 79556‐4533                                                                              First Class Mail
Chartered Organization         Fourth Avenue Church Of Christ                            Middle Tennessee Council 560                 117 4th Ave N                                              Franklin, TN 37064‐2601                                                                                First Class Mail
Chartered Organization         Fourth Degree Assembly 89                                 Longs Peak Council 062                       2600 6th Ave                                               Greeley, CO 80631‐8403                                                                                 First Class Mail
Chartered Organization         Fourth Presbyterian Church                                National Capital Area Council 082            5500 River Rd                                              Bethesda, MD 20816‐3342                                                                                First Class Mail
Chartered Organization         Fourth Presbyterian Church                                Blue Ridge Council 551                       703 E Washington St                                        Greenville, SC 29601‐3034                                                                              First Class Mail
Chartered Organization         Fourth Presbyterian Church                                Blue Ridge Council 551                       703 E Washington St                                        Greenville, SC 29601‐3034                                                                              First Class Mail
Chartered Organization         Fourth Street Baptist Church                              Chattahoochee Council 091                    P.O. Box 1591                                              Columbus, GA 31902‐1591                                                                                First Class Mail
Voting Party                   Fourth United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Fourth United Methodist Church (185012)                   c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fourth Utd Methodist Church                               Garden State Council 690                     308 Kates Blvd                                             Millville, NJ 08332‐5365                                                                               First Class Mail
Chartered Organization         Fow Group                                                 Baltimore Area Council 220                   3009 Old Channel Rd                                        Laurel, MD 20724‐2922                                                                                  First Class Mail
Voting Party                   Fowery Branch United Methodist Church                     c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fowler Dix Park Post 5095                                 Connecticut Rivers Council, Bsa 066          12 Essex                                                   East Hampton, CT 06424                                                                                 First Class Mail
Chartered Organization         Fowler Family Center                                      Minsi Trails Council 502                     1210 E 4th St                                              Bethlehem, PA 18015‐2016                                                                               First Class Mail
Chartered Organization         Fowler Inc                                                Trapper Trails 589                           340 W Main St                                              Tremonton, UT 84337‐1210                                                                               First Class Mail
Chartered Organization         Fowler Park Ward LDS                                      Atlanta Area Council 092                     510 Brannon Rd                                             Cumming, GA 30041‐6436                                                                                 First Class Mail
Chartered Organization         Fowler Rotary Club                                        Sagamore Council 162                         P.O. Box 568                                               Fowler, IN 47944‐0568                                                                                  First Class Mail
Voting Party                   Fowler United Methodist Church                            Attn: Cheryl Smith, Treasurer                302 S Main St                                              Fowler, CO 81039                                                  fmumc@juno.com                       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fowler Utd Methodist Church                               Sagamore Council 162                         908 E 12th St                                              Fowler, IN 47944                                                                                       First Class Mail
Voting Party                   Fowlersville United Methodist Church (179911)             c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Fowlersville United Methodist Church (179911)             c/o Bentz Law Firm                           Attn: Sean Bollman                                         680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fowlerville Rotary Club                                   Southern Shores Fsc 783                      P.O. Box 489                                               Fowlerville, MI 48836‐0489                                                                             First Class Mail
Chartered Organization         Fox 1 Holdings                                            Central N Carolina Council 416               7902 Rockland Trl                                          Waxhaw, NC 28173‐7322                                                                                  First Class Mail
Voting Party                   Fox Chase United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Fox Chase United Methodist Church                         201 Loney St                                 Philadelphia, PA 19111                                                                                                                                            First Class Mail
Voting Party                   Fox Hill Central Umc                                      c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fox Island Community & Recreation Assoc                   Pacific Harbors Council, Bsa 612             690 9th Ave Fi                                             Fox Island, WA 98333                                                                                   First Class Mail
Chartered Organization         Fox Lake Volunteer Fire Dept                              Northeast Illinois 129                       114 Washington St                                          Ingleside, IL 60041                                                                                    First Class Mail
Chartered Organization         Fox Point ‐ Bayside School P T O                          Three Harbors Council 636                    601 E Ellsworth Ln                                         Milwaukee, WI 53217‐1827                                                                               First Class Mail
Voting Party                   Fox River Gove: Community                                 Attn: Karen Sersen                           400 Opatrny Dr                                             Fox River Grove, IL 60021                                         pastorkaren@frgmethodist.org         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fox River Grove Lions Club                                Blackhawk Area 660                           P.O. Box 103                                               Fox River Grove, IL 60021‐0103                                                                         First Class Mail
Chartered Organization         Fox Run PTO                                               Connecticut Yankee Council Bsa 072           288 Fillow St                                              Norwalk, CT 06850‐2214                                                                                 First Class Mail
Chartered Organization         Fox Twp Fire Dept                                         Bucktail Council 509                         Main St                                                    Kersey, PA 15846                                                                                       First Class Mail
Chartered Organization         Fox Valley Older Adult Services                           Three Fires Council 127                      1406 Suydam Rd                                             Sandwich, IL 60548‐1459                                                                                First Class Mail
Chartered Organization         Fox Valley Presbyterian Church                            Three Fires Council 127                      227 E Side Dr                                              Geneva, IL 60134‐1544                                                                                  First Class Mail
Chartered Organization         Fox Valley Shooting Range                                 Three Fires Council 127                      780 S Mclean Blvd                                          Elgin, IL 60123‐6710                                                                                   First Class Mail
Chartered Organization         Fox Valley Special Recreation Assoc                       Three Fires Council 127                      2121 W Indian Trl                                          Aurora, IL 60506‐1613                                                                                  First Class Mail
Chartered Organization         Foxborough Fire & Rescue                                  Mayflower Council 251                        8 Chestnut St                                              Foxboro, MA 02035‐1402                                                                                 First Class Mail
Chartered Organization         Foxdale Village                                           Juniata Valley Council 497                   500 E Marylyn Ave                                          State College, PA 16801‐6269                                                                           First Class Mail
Chartered Organization         Foxon Recreation League                                   Connecticut Yankee Council Bsa 072           North High St                                              East Haven, CT 06512                                                                                   First Class Mail
Voting Party                   Fpc‐M                                                     Attn: Paul Gunsser                           6 Sandia Ct                                                Edison, NJ 08820                                                  pdg213@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Fpe Exam Prep Com                                         Grand Teton Council 107                      145 Stone Hedge Ct                                         Idaho Falls, ID 83404‐8020                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 130 of 442
                                                                                    Case 20-10343-LSS                                   Doc 8171                                         Filed 01/06/22                                                    Page 146 of 457
                                                                                                                                                                            Exhibit B
                                                                                                                                                                             Service List
                                                                                                                                                                      Served as set forth below

        Description                                                          Name                                                                                         Address                                                                                                              Email              Method of Service
Voting Party                   Fraboni's Wholesale Distributors Inc                        Attn: Mark Thune                        315 E 13th St                                                Hibbing, MN 55746                                                    mthune@frabonis.com               Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           Fradley Law Firm, PA                                        Donald S. Fradley                       27 N. Pennock Lane, Ste 104                                  Jupiter, FL 33458                                                    fradley@bellsouth.net             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Frames Memorial United Methodist Church                     Attn: Don Gundlach                      142 Mount Ave                                                Phoenix, MD 21131                                                    karin.walker@fallstonumc.org      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Frames Memorial United Methodist Church                     Karin Walker                            1509 Fallston Rd                                             Fallston, MD 21047                                                   karin.walker@fallstonumc.org      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Frances H Johnson                                           Address Redacted                                                                                                                                                          Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Frances Lynne Park                                          Address Redacted                                                                                                                                                          Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Frances Lynne Park                                          Address Redacted                                                                                                                                                          Email Address Redacted            Email
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Voting Party                   Frances Lynne Park                                          Address Redacted                                                                                                                                                          Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Franchesca Fede Gomez                                       Allen & Carwile, Pc                     520 Lew Dewitt Blvd, Ste 102                                 P.O. Drawer 1558                    Waynesboro, VA 22980             fgomez@allencarwile.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Franchise Missionary Baptist Church                         Chattahoochee Council 091               P.O. Box 1819                                                Phenix City, AL 36868‐1819                                                                             First Class Mail
Chartered Organization         Francis Asbury Umc                                          Daniel Boone Council 414                725 Asbury Rd                                                Candler, NC 28715‐4423                                                                                 First Class Mail
Voting Party                   Francis Asbury United Methodist Church                      Attn: Maria A. Freneaux                 15447 Old Hammond Hwy                                        Baton Rouge, LA 70816                                                faumcbr@gmail.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Francis Asbury Utd Methodist Church                         Tidewater Council 596                   1871 N Great Neck Rd                                         Virginia Beach, VA 23454‐1110                                                                          First Class Mail
Chartered Organization         Francis Gallagher Post 294                                  Mid Iowa Council 177                    P.O. Box 225                                                 Brooklyn, IA 52211‐0225                                                                                First Class Mail
Chartered Organization         Francis Lewis High School                                   Greater New York Councils, Bsa 640      5820 Utopia Pkwy                                             Fresh Meadows, NY 11365‐1529                                                                           First Class Mail
Voting Party                   Francis R Mcallister                                        c/o Boy Scouts of America               Attn: Chase Koontz                                           1325 W Walnut Hill Ln               Irving, TX 75015                 chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Francis Town Council                                        Arbuckle Area Council 468               P.O. Box 103                                                 Francis, OK 74844‐0103                                                                                 First Class Mail
Chartered Organization         Francis W Parker 56 As                                      Crossroads of America 160               2353 Columbia Ave                                            Indianapolis, IN 46205‐4523                                                                            First Class Mail
Voting Party                   Francis Wayne Witt                                          Address Redacted                                                                                                                                                                                            First Class Mail
Chartered Organization         Franconia Moose Family Center                               National Capital Area Council 082       P.O. Box 10377                                               Alexandria, VA 22310‐0377                                                                              First Class Mail
Voting Party                   Franconia Umc ‐ Alexandria                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Francotyp Postalia Inc                                      P.O. Box 157                            Bedford Park, IL 60499‐0157                                                                                                                                         First Class Mail
Chartered Organization         Frank Achievers Program                                     Three Harbors Council 636               1816 57th St                                                 Kenosha, WI 53140‐3947                                                                                 First Class Mail
Chartered Organization         Frank Adler Law                                             Circle Ten Council 571                  2600 Lone Star Dr                                            Dallas, TX 75212‐6336                                                                                  First Class Mail
Chartered Organization         Frank Borman Elementary ‐ Utd Way                           Longhorn Council 662                    1201 Parvin St                                               Denton, TX 76205‐6715                                                                                  First Class Mail
Chartered Organization         Frank C Havens School Parents Club                          Piedmont Council 042                    Piedmont, CA 94611                                                                                                                                                  First Class Mail
Voting Party                   Frank Caldwell Laney                                        409 Accolade Dr                         Cary, NC 27513                                                                                                                    frank_laney@ca4.uscourts.gov      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Frank D Tsuru                                               c/o Boy Scouts of America               Attn: Chase Koontz                                           1325 W Walnut Hill Ln               Irving, TX 75015                 chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Frank E Robinson American Legion Pt 586                     Miami Valley Council, Bsa 444           377 N 3rd St                                                 Tipp City, OH 45371‐1919                                                                               First Class Mail
Voting Party                   Frank E Welling                                             dba Kingwood Laser Graphics             2261 Northpark Dr, Ste 134                                   Kingwood, TX 77339                                                   ed@kingwoodlaser.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Frank Elementary PTO                                        Sam Houston Area Council 576            9225 Crescent Clover Dr                                      Spring, TX 77379‐8590                                                                                  First Class Mail
Firm                           Frank J. D'Amico, Jr., APLC                                 Frank J. D'Amico, Jr.                   4608 Rye Street                                              Metairie, LA 70006                                                   beverly@damicolaw.net             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Frank Love Shelton View Parents, Scouts                     Mount Baker Council, Bsa 606            21518 Damson Rd                                              Bothell, WA 98021‐8125                                                                                 First Class Mail
Voting Party                   Frank M Diaz                                                Address Redacted                                                                                                                                                          Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Frank M Jarman American Legion Post 36                      Del Mar Va 081                          9155 American Legion Rd                                      Chestertown, MD 21620‐3153                                                                             First Class Mail
Chartered Organization         Frank P Tillman PTO                                         Greater St Louis Area Council 312       230 Quan Ave                                                 Saint Louis, MO 63122‐2819                                                                             First Class Mail
Chartered Organization         Frank Pierce Recreation Center                              Greater Tampa Bay Area 089              2000 7th St S                                                St Petersburg, FL 33705‐2725                                                                           First Class Mail
Voting Party                   Frank R Ramirez                                             c/o Boy Scouts of America               Attn: Chase Koontz                                           1325 W Walnut Hill Ln               Irving, TX 75015                 frankrramirez1976@gmail.com       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Franke Park Elementary PTA                                  Anthony Wayne Area 157                  828 Mildred Ave                                              Fort Wayne, IN 46808‐2178                                                                              First Class Mail
Chartered Organization         Frankenmuth Rotary Club                                     c/o Zehnder and Assoc                   656 S Main St                                                Frankenmuth, MI 48734‐1643                                                                             First Class Mail
Voting Party                   Frankenmuth United Methodist Church                         346 E Vates St                          Frankenmuth, MI 48734                                                                                                             todd@mcnally‐nimergood.com        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Frankfort Fire District                                     Rainbow Council 702                     333 W Nebraska St                                            Frankfort, IL 60423‐1434                                                                               First Class Mail
Chartered Organization         Frankfort Police Dept                                       Blue Grass Council 204                  P.O. Box 697                                                 Frankfort, KY 40602‐0697                                                                               First Class Mail
Chartered Organization         Frankfort Square Park District                              Rainbow Council 702                     7540 W Braemar Ln                                            Frankfort, IL 60423‐9106                                                                               First Class Mail
Voting Party                   Frankfort United Methodist Church                           215 Linden Dr                           Frankforst, IL 60423                                                                                                              administrator@frankfortumc.org    Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Frankfort Ward LDS Church                                   Rainbow Council 702                     2405 Fleetwood Dr                                            Joliet, IL 60432‐0800                                                                                  First Class Mail
Chartered Organization         Frankfurt International School                              Transatlantic Council, Bsa 802          An Der Waldlust 15                                           Oberursel, 61440                    Germany                                                            First Class Mail
Chartered Organization         Franklin Borough Recreation Committee                       Patriots Path Council 358               46 Main St                                                   Franklin, NJ 07416‐1421                                                                                First Class Mail
Chartered Organization         Franklin Boys & Girls Club                                  Middle Tennessee Council 560            129 W Fowlkes St                                             Franklin, TN 37064‐3561                                                                                First Class Mail
Voting Party                   Franklin Central Christian Church (Disciples Of Christ)     Attn: Rev Gale Stutz                    4100 S Franklin Rd                                           Indianapolis, IN 46239                                               galefccc@gmail.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Franklin Christian Church                                   Abraham Lincoln Council 144             P.O. Box 208                                                 Franklin, IL 62638‐0208                                                                                First Class Mail
Chartered Organization         Franklin Community Church                                   Great Lakes Fsc 272                     32473 Normandy Rd                                            Franklin, MI 48025                                                                                     First Class Mail
Voting Party                   Franklin Community Church                                   David Huseltine                         26425 Welllington                                            Franklin, MI 48025                                                   DHuseltine@franklinchurch.us      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Franklin Community Church                                   26425 Wellington Rd                     Franklin, MI 48025                                                                                                                DHuseltine@franklinchurch.us      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Franklin Community Middle School                            Crossroads of America 160               625 Grizzly Cub Dr                                           Franklin, IN 46131‐1362                                                                                First Class Mail
Chartered Organization         Franklin County Sheriffs Office                             Blue Mountain Council 604               1016 N 4th Ave D201                                          Pasco, WA 99301‐3706                                                                                   First Class Mail
Voting Party                   Franklin Covey Client Sales Inc                             Attn: Franklin Covey                    P.O. Box 25127                                               Salt Lake City, UT 84125                                             ARHelp@FranklinCovey.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Franklin Elementary PTO                                     Denver Area Council 061                 1603 E Euclid Ave                                            Centennial, CO 80121‐2701                                                                              First Class Mail
Chartered Organization         Franklin Elementary School Ptf                              Sagamore Council 162                    400 W Miami Ave                                              Logansport, IN 46947                                                                                   First Class Mail
Chartered Organization         Franklin Elite Athletics, LLC.                              Occoneechee 421                         15 Pinyon Cir                                                Pinehurst, NC 28374‐9455                                                                               First Class Mail
Chartered Organization         Franklin Fire Co 1                                          Garden State Council 690                3135 Route 206                                               Columbus, NJ 08022‐2012                                                                                First Class Mail
Chartered Organization         Franklin Fire Dept                                          Connecticut Rivers Council, Bsa 066     5 Tyler Dr                                                   North Franklin, CT 06254‐1135                                                                          First Class Mail
Voting Party                   Franklin First United Methodist Church, Inc                 Attn: W Scott Crabtree                  112 S College St                                             Franklin, KY 42134                                                   scott@scottcrabtree.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Franklin Fox Trails                                         Utah National Parks 591                 320 E Gammon Rd                                              Vineyard, UT 84059‐4028                                                                                First Class Mail
Voting Party                   Franklin Grove United Methodist Church                      Attn: Terry Kemp                        223 W Middle St                                              Franklin Grove, IL 61031                                             satyanima@gmail.com               Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Franklin Heights Baptist Church                             Central N Carolina Council 416          526 Wright Ave                                               Kannapolis, NC 28083‐4064                                                                              First Class Mail
Chartered Organization         Franklin High Street Methodist Church                       Colonial Virginia Council 595           31164 Camp Pkwy                                              Courtland, VA 23837                                                                                    First Class Mail
Voting Party                   Franklin Lakes Umc                                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Franklin Lakes Utd Methodist Church                         Northern New Jersey Council, Bsa 333    454 Pulis Ave                                                Franklin Lakes, NJ 07417‐1324                                                                          First Class Mail
Voting Party                   Franklin Lane                                               707 Wood Valley Rd                      Waynesboro, GA 30830                                                                                                                                                First Class Mail
Voting Party                   Franklin Lion's Club                                        P.O. Box 37                             Franklin, IL 62638                                                                                                                rroper2@casscomm.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Franklin Middle School PTA                                  National Capital Area Council 082       3300 Lees Corner Rd                                          Chantilly, VA 20151‐3105                                                                               First Class Mail
Chartered Organization         Franklin Outing Club                                        Daniel Webster Council, Bsa 330         200 Prospect St                                              Franklin, NH 03235‐1958                                                                                First Class Mail
Chartered Organization         Franklin Park Elementary School PTO                         Southwest Florida Council 088           2323 Ford St                                                 Fort Myers, FL 33916‐4302                                                                              First Class Mail
Chartered Organization         Franklin Park Homeowners Assoc                              South Florida Council 084               2501 Franklin Dr                                             Fort Lauderdale, FL 33311‐6766                                                                         First Class Mail
Chartered Organization         Franklin Professional Firefighters                          Three Harbors Council 636               8901 W Drexel Ave                                            Franklin, WI 53132‐9725                                                                                First Class Mail
Chartered Organization         Franklin Reformed Church                                    Northern New Jersey Council, Bsa 333    45 Hillside Cres                                             Nutley, NJ 07110‐1616                                                                                  First Class Mail
Chartered Organization         Franklin Road Academy                                       Middle Tennessee Council 560            4700 Franklin Pike                                           Nashville, TN 37220‐1136                                                                               First Class Mail
Chartered Organization         Franklin Rod And Gun Club Inc                               Mayflower Council 251                   51 Florence St                                               Franklin, MA 02038                                                                                     First Class Mail
Chartered Organization         Franklin Rotary Club                                        Daniel Boone Council 414                P.O. Box 375                                                 Franklin, NC 28744‐0375                                                                                First Class Mail
Chartered Organization         Franklin Rotary Club At Noon                                Middle Tennessee Council 560            P.O. Box 1557                                                Franklin, TN 37065‐1557                                                                                First Class Mail
Chartered Organization         Franklin School PTO                                         Patriots Path Council 358               1000 Franklin Ave                                            South Plainfield, NJ 07080‐2163                                                                        First Class Mail
Chartered Organization         Franklin School PTO                                         Patriots Path Council 358               136 Blackburn Rd                                             Summit, NJ 07901‐2313                                                                                  First Class Mail
Chartered Organization         Franklin School PTO                                         Buffalo Trace 156                       2600 Wabash Ave                                              Vincennes, IN 47591‐6413                                                                               First Class Mail
Chartered Organization         Franklin Special Sch Distr Mac Program                      Middle Tennessee Council 560            1406 Cannon St                                               Franklin, TN 37064‐3542                                                                                First Class Mail
Chartered Organization         Franklin Square                                             Munson Volunteer Fire Dept.             841 Liberty Pl                                               Franklin Square, NY 11010‐2428                                                                         First Class Mail
Chartered Organization         Franklin Square Elementary School                           Baltimore Area Council 220              1400 W Lexington St                                          Baltimore, MD 21223‐1854                                                                               First Class Mail
Voting Party                   Franklin St John United Methodist Church ‐ Newark           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Franklin Township Civic League                              Crossroads of America 160               8822 Southeastern Ave                                        Indianapolis, IN 46239‐1341                                                                            First Class Mail
Chartered Organization         Franklin Township Fire Dept                                 Simon Kenton Council 441                P.O. Box 576                                                 Peebles, OH 45660‐0576                                                                                 First Class Mail
Chartered Organization         Franklin Township Middle School East                        Crossroads of America 160               10440 Indian Creek Rd S                                      Indianapolis, IN 46259‐1451                                                                            First Class Mail
Chartered Organization         Franklin Twp Middle School West                             Crossroads of America 160               7620 E Edgewood Ave                                          Indianapolis, IN 46239‐8742                                                                            First Class Mail
Chartered Organization         Franklin Ub Church                                          Simon Kenton Council 441                7171 Central College Rd                                      New Albany, OH 43054‐9303                                                                              First Class Mail
Voting Party                   Franklin Umc                                                Attn:Betty Harris                       1231 Washington Pike                                         Wellsburg, WV 26070                                                                                    First Class Mail
Voting Party                   Franklin United Methodist Church                            Attn: Minchang Lee                      88 Franklin St                                               Franklin, NH 03235                                                   umcfranklinumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Franklin United Methodist Church                            Attn: Graydon P Smith                   P.O. Box 313                                                 Franklin, MA 02038                                                   office@franklinumc.org            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Franklin United Methodist Church                            Attn: Graydon Smith                     82 W Central St                                              Franklin, MA 02038                                                   graydon@franklinumc.org           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Franklin United Methodist Church                            Attn: Rev Polly D Standing              116 W Decherd                                                P.O. Box 556                        Franklin, TX 77856               Franklinumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Franklin United Methodist Church                            Attn: Shirley Sandreth                  175 Manor Dr                                                 Wellsburg, WV 26070                                                                                    First Class Mail
Chartered Organization         Franklin Utd Methodist Church                               Dan Beard Council, Bsa 438              303 S Main St                                                Franklin, OH 45005‐2227                                                                                First Class Mail
Chartered Organization         Franklin Volunteer Fire Dept                                Leatherstocking 400                     P.O. Box 8                                                   Franklin, NY 13775‐0008                                                                                First Class Mail
Chartered Organization         Franklin W Brown PTO                                        Great Lakes Fsc 272                     25485 Middlebelt Rd                                          New Boston, MI 48164‐9271                                                                              First Class Mail
Voting Party                   Franklinton Umc                                             Attn: Treasurer/Franklinton Umc         109 N Main St                                                Franklinton, NC 27525                                                franklintonumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Franklinville                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Franklinville Area Fellowship Of                            Allegheny Highlands Council 382         Vfw Post 9487                                                Franklinville, NY 14737                                                                                First Class Mail
Chartered Organization         Franklinville Fire Co                                       Garden State Council 690                P.O. Box 64                                                  Franklinville, NJ 08322‐0064                                                                           First Class Mail
Chartered Organization         Franklinville Utd Methodist Church                          Garden State Council 690                1525 Coles Mill Rd                                           Franklinville, NJ 08322‐2551                                                                           First Class Mail
Voting Party                   Frankton First United Methodist Church                      Attn: Michael Shuter                    7400 N 400 W                                                 Frankton, IN 46044                                                   mike@shutersunsetfarms.com        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Frankton Lions Club & Al Post 469                           Crossroads of America 160               4350 W 700 N                                                 Frankton, IN 46044‐9401                                                                                First Class Mail
Chartered Organization         Frankton Methodist Church                                   Crossroads of America 160               P.O. Box 338                                                 Frankton, IN 46044‐0338                                                                                First Class Mail
Chartered Organization         Fraser Lions Club                                           Great Lakes Fsc 272                     34540 Utica Rd                                               Fraser, MI 48026‐3574                                                                                  First Class Mail
Chartered Organization         Fraser River Valley Lions Club                              Denver Area Council 061                 100 Meadows Blvd                                             Tabernash, CO 80478                                                                                    First Class Mail
Chartered Organization         Fraser Ross Sack Watchko Vfw Post 8695                      Garden State Council 690                15 Lyndhurst Rd                                              Marmora, NJ 08223‐1420                                                                                 First Class Mail
Chartered Organization         Fraser Vfw Post 6691                                        Great Lakes Fsc 272                     17075 Anita                                                  Fraser, MI 48026‐2256                                                                                  First Class Mail
Chartered Organization         Fraternal Order Eagles 3177 Ladies Aux                      Katahdin Area Council 216               22 Atlantic Ave                                              Brewer, ME 04412‐1518                                                                                  First Class Mail
Chartered Organization         Fraternal Order Eagles Big Walnut 3261                      Simon Kenton Council 441                1623 Brice Rd                                                Reynoldsburg, OH 43068‐2701                                                                            First Class Mail
Chartered Organization         Fraternal Order Eagles Roseclair 2895                       Great Lakes Fsc 272                     29500 Little Mack Ave                                        Roseville, MI 48066‐2237                                                                               First Class Mail
Chartered Organization         Fraternal Order Of Eagle ‐ Aerie 4123                       National Capital Area Council 082       21 Cool Spring Rd                                            Fredericksburg, VA 22405‐2600                                                                          First Class Mail
Chartered Organization         Fraternal Order Of Eagles                                   Pathway To Adventure 456                13140 Lake Shore Dr                                          Cedar Lake, IN 46303‐9224                                                                              First Class Mail
Chartered Organization         Fraternal Order Of Eagles                                   Crater Lake Council 491                 130 SE J St                                                  Grants Pass, OR 97526‐3010                                                                             First Class Mail
Chartered Organization         Fraternal Order Of Eagles                                   Mayflower Council 251                   56 Florence St                                               Marlborough, MA 01752‐2857                                                                             First Class Mail
Chartered Organization         Fraternal Order Of Eagles                                   Samoset Council, Bsa 627                1104 S Oak Ave                                               Marshfield, WI 54449‐4109                                                                              First Class Mail
Chartered Organization         Fraternal Order Of Eagles                                   Pacific Harbors Council, Bsa 612        P.O. Box 1358                                                Puyallup, WA 98371‐0125                                                                                First Class Mail
Chartered Organization         Fraternal Order Of Eagles                                   Great Lakes Fsc 272                     23631 Greater Mack Ave                                       Saint Clair Shores, MI 48080‐1404                                                                      First Class Mail
Chartered Organization         Fraternal Order Of Eagles 1213                              Las Vegas Area Council 328              1601 E Washington Ave                                        Las Vegas, NV 89101‐1145                                                                               First Class Mail
Chartered Organization         Fraternal Order Of Eagles 2874                              Water and Woods Council 782             7542 Palms Rd                                                Ira, MI 48023‐2714                                                                                     First Class Mail
Chartered Organization         Fraternal Order Of Eagles 3372                              Utah National Parks 591                 220 N 600 W                                                  Pleasant Grove, UT 84062‐2267                                                                          First Class Mail
Chartered Organization         Fraternal Order Of Eagles 3607 Howell                       Southern Shores Fsc 783                 141 Schroeder Park Dr                                        Howell, MI 48843‐8990                                                                                  First Class Mail
Chartered Organization         Fraternal Order Of Eagles 397                               Tecumseh 439                            1802 Selma Rd                                                Springfield, OH 45505‐4242                                                                             First Class Mail
Chartered Organization         Fraternal Order Of Eagles 497                               Water and Woods Council 782             7078 Gratiot Rd                                              Saginaw, MI 48609‐6903                                                                                 First Class Mail
Chartered Organization         Fraternal Order Of Eagles 612                               Southern Shores Fsc 783                 301 Detroit St                                               Jackson, MI 49201‐1552                                                                                 First Class Mail
Chartered Organization         Fraternal Order Of Eagles Aerie 3138                        Great Lakes Fsc 272                     P.O. Box 39                                                  Taylor, MI 48180‐0039                                                                                  First Class Mail
Chartered Organization         Fraternal Order Of Eagles Aerie 545                         Greater St Louis Area Council 312       100 Eagle Dr                                                 Belleville, IL 62221‐4400                                                                              First Class Mail
Chartered Organization         Fraternal Order Of Eagles No 1126                           Greater St Louis Area Council 312       2558 Madison Ave                                             Granite City, IL 62040‐4851                                                                            First Class Mail
Chartered Organization         Fraternal Order Of Moose 2491                               Rainbow Council 702                     16310 S Lincoln Hwy, Ste 100/102                             Plainfield, IL 60586‐9006                                                                              First Class Mail
Chartered Organization         Fraternal Order Of Orioles Nest 183                         Minsi Trails Council 502                475 Orioles Dr                                               Lehighton, PA 18235‐9337                                                                               First Class Mail
Chartered Organization         Fraternal Order Of Police                                   Water and Woods Council 782             Clay Twp                                                     Clay Twp, MI 48001                                                                                     First Class Mail
Chartered Organization         Fraternal Order Of Police                                   National Capital Area Council 082       P.O. Box 7393                                                Fredericksburg, VA 22404‐7393                                                                          First Class Mail
Chartered Organization         Fraternal Order Of Police                                   Middle Tennessee Council 560            510 Chestnut St                                              Hohenwald, TN 38462‐1944                                                                               First Class Mail
Chartered Organization         Fraternal Order Of Police ‐ Lodge 35                        Pathway To Adventure 456                901 Wellington Ave                                           Elk Grove Village, IL 60007‐3456                                                                       First Class Mail
Chartered Organization         Fraternal Order Of Police Assoc 8                           Black Swamp Area Council 449            750 W Robb Ave                                               Lima, OH 45801‐2758                                                                                    First Class Mail
Chartered Organization         Fraternal Order Of Police Lodge 11                          Central Minnesota 296                   23545 Cross Dr                                               Deerwood, MN 56444‐8744                                                                                First Class Mail
Chartered Organization         Fraternal Order Of Police Lodge 147                         Southern Shores Fsc 783                 3470 Angling Rd                                              Coloma, MI 49038                                                                                       First Class Mail
Chartered Organization         Fraternal Order Of Police Lodge 2                           Heart of America Council 307            P.O. Box 272                                                 Lawrence, KS 66044‐0272                                                                                First Class Mail
Chartered Organization         Fraternal Order Of Police Lodge 39 &                        Pathway To Adventure 456                31 Riverside Rd                                              Riverside, IL 60546‐2264                                                                               First Class Mail
Chartered Organization         Fraternal Order Of Police Lodge 94                          Great Trail 433                         P.O. Box 717                                                 Wooster, OH 44691‐0717                                                                                 First Class Mail
Chartered Organization         Fraternal Order Of The Eagles                               Northern Lights Council 429             1400 Collins Ave                                             Mandan, ND 58554‐2071                                                                                  First Class Mail
Chartered Organization         Fraternal Order Police Local Lodge 249                      Buffalo Trace 156                       403 8th St                                                   Carmi, IL 62821‐1211                                                                                   First Class Mail
Chartered Organization         Fraternal Order Police Wwego Lodge 25                       Southeast Louisiana Council 214         P.O. Box 756                                                 Westwego, LA 70096‐0756                                                                                First Class Mail
Chartered Organization         Fratney Boys N Girls Club                                   Three Harbors Council 636               3255 N Fratney St                                            Milwaukee, WI 53212‐2240                                                                               First Class Mail
Chartered Organization         Fraturnity Of Eagles 2323                                   Mt Diablo‐Silverado Council 023         3223 Carlson Blvd                                            El Cerrito, CA 94530‐3906                                                                              First Class Mail
Chartered Organization         Frayser Elem Family Resource Ctr                            Lincoln Heritage Council 205            1230 Larchmont Ave                                           Louisville, KY 40215‐2232                                                                              First Class Mail
Chartered Organization         Frazier Revitalization                                      Circle Ten Council 571                  4716 Elsie Faye Heggins St                                   Dallas, TX 75210‐1464                                                                                  First Class Mail
Chartered Organization         Fred E Hayes Post 57 American Legion                        Grand Columbia Council 614              P.O. Box 56                                                  Grandview, WA 98930‐0056                                                                               First Class Mail
Chartered Organization         Fred Funston American Legion Post 227                       Mid‐America Council 326                 28500 420th St                                               Avoca, IA 51521‐5538                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                             Page 131 of 442
                                                                                  Case 20-10343-LSS                                   Doc 8171                                    Filed 01/06/22                                                 Page 147 of 457
                                                                                                                                                                     Exhibit B
                                                                                                                                                                      Service List
                                                                                                                                                               Served as set forth below

        Description                                                        Name                                                                                    Address                                                                                                          Email                               Method of Service
Chartered Organization         Fred Garner Pto                                           Greater Tampa Bay Area 089              2500 Havendale Blvd NW                                  Winter Haven, FL 33881‐1875                                                                                         First Class Mail
Chartered Organization         Fred Slayden American Legion Post 363                     Mid Iowa Council 177                    105 E Marion St                                         Monroe, IA 50170‐7757                                                                                               First Class Mail
Chartered Organization         Fred T Foard Model Un                                     Piedmont Council 420                    3407 Plateau Rd                                         Newton, NC 28658‐8809                                                                                               First Class Mail
Chartered Organization         Frederic Lions Club                                       Northern Star Council 250               P.O. Box 563                                            Frederic, WI 54837‐0563                                                                                             First Class Mail
Chartered Organization         Frederick Cnty Sheriff'S Office‐Club 152                  Shenandoah Area Council 598             1080 Coverstone Dr                                      Winchester, VA 22602‐4369                                                                                           First Class Mail
Chartered Organization         Frederick County Fire & Rescue (Club)                     Shenandoah Area Council 598             1080 Coverstone Dr                                      Winchester, VA 22602‐4369                                                                                           First Class Mail
Chartered Organization         Frederick County Sheriffs Cadets                          Shenandoah Area Council 598             5 N Kent St                                             Winchester, VA 22601‐5037                                                                                           First Class Mail
Chartered Organization         Frederick County Sheriff'S Office                         National Capital Area Council 082       110 Airport Dr E                                        Frederick, MD 21701‐3115                                                                                            First Class Mail
Chartered Organization         Frederick Douglas Community Center                        Erie Shores Council 460                 1001 Indiana Ave                                        Toledo, OH 43607‐4084                                                                                               First Class Mail
Voting Party                   Frederick Joel Markham                                    c/o Boy Scouts of America               Attn: Chase Koontz                                      1325 W Walnut Hill Ln            Irving, TX 75015                 chase.koontz@scouting.org                         Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Frederick Lodge 684 Bpoe                                  National Capital Area Council 082       289 Willowdale Dr                                       Frederick, MD 21702‐3998                                                                                            First Class Mail
Chartered Organization         Frederick Police Dept                                     National Capital Area Council 082       100 W Patrick St                                        Frederick, MD 21701‐5578                                                                                            First Class Mail
Voting Party                   Frederick Wallace                                         Address Redacted                                                                                                                                                  Email Address Redacted                            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fredericksburg Umc ‐ Fredericksburg                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fredericksburg Umc Umm                                    National Capital Area Council 082       308 Hanover St                                          Fredericksburg, VA 22401‐5935                                                                                       First Class Mail
Voting Party                   Fredericksburg United Methodist Church                    Attn: Senior Pastor                     1800 N Llano St                                         Fredericksburg, TX 78624                                          glumpkin59@hotmail.com                            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fredericksburg Utd Methodist Church                       Pennsylvania Dutch Council 524          P.O. Box 7                                              Fredericksburg, PA 17026‐0007                                                                                       First Class Mail
Chartered Organization         Fredericksburg Utd Methodist Church                       National Capital Area Council 082       308 Hanover St                                          Fredericksburg, VA 22401‐5935                                                                                       First Class Mail
Chartered Organization         Fredericktown Army Jrotc                                  Greater St Louis Area Council 312       805 E Hwy 72                                            Fredericktown, MO 63645‐7292                                                                                        First Class Mail
Chartered Organization         Fredericktown Fire Dept                                   Greater St Louis Area Council 312       202 W College Ave                                       Fredericktown, MO 63645‐1450                                                                                        First Class Mail
Chartered Organization         Fredericktown Lions Club                                  Muskingum Valley Council, Bsa 467       141 S Main St                                           Fredericktown, OH 43019‐1270                                                                                        First Class Mail
Chartered Organization         Fredericktown Utd Methodist Church                        Muskingum Valley Council, Bsa 467       123 Columbus Rd                                         Fredericktown, OH 43019‐1267                                                                                        First Class Mail
Chartered Organization         Fredon Volunteer Fire Co                                  Patriots Path Council 358               443A State Route 94 S                                   Newton, NJ 07860                                                                                                    First Class Mail
Chartered Organization         Fredon Volunteer Fire Co Inc                              Patriots Path Council 358               443A State Route 94 S                                   Newton, NJ 07860                                                                                                    First Class Mail
Voting Party                   Fredonia First United Methodist Church                    Attn: Heather Lesch                     25 Church St                                            Fredonia, NY 14063                                                pastornettie7777@gmail.com                        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fredonia Lions Club                                       Bay‐Lakes Council 635                   107 Edmaro St                                           Fredonia, WI 53021‐9418                                                                                             First Class Mail
Chartered Organization         Fredrick Douglas Elementary                               Southeast Louisiana Council 214         1400 Huey P Long Ave                                    Gretna, LA 70053‐6436                                                                                               First Class Mail
Chartered Organization         Free & Accepted Masons Ark Lodge 33                       Seneca Waterways 397                    State Routes 5 and 20                                   Geneva, NY 14456                                                                                                    First Class Mail
Chartered Organization         Free Library Of Philadelphia                              Cradle of Liberty Council 525           6942 Woodland Ave                                       Philadelphia, PA 19142‐1823                                                                                         First Class Mail
Voting Party                   Freeburg United Methodist Church (04323)                  c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Freeburg Utd Methodist Church                             Susquehanna Council 533                 New Market St                                           Freeburg, PA 17827                                                                                                  First Class Mail
Chartered Organization         Freedom Elementary School Ptc                             South Texas Council 577                 415 Eg Ranch                                            Laredo, TX 78046                                                                                                    First Class Mail
Chartered Organization         Freedom Fellowship                                        Las Vegas Area Council 328              8391 Las Lagunas Ln                                     Las Vegas, NV 89129‐1817                                                                                            First Class Mail
Chartered Organization         Freedom Fellowship Church                                 Longs Peak Council 062                  503 S Main St                                           Yuma, CO 80759‐2719                                                                                                 First Class Mail
Chartered Organization         Freedom High School Njrotc                                Greater Tampa Bay Area 089              17410 Commerce Park Blvd                                Tampa, FL 33647‐3500                                                                                                First Class Mail
Chartered Organization         Freedom Museum                                            National Capital Area Council 082       10600 Harry J Parrish Blvd                              Manassas, VA 20110‐7843                                                                                             First Class Mail
Chartered Organization         Freedom Optimist Club Inc                                 Baltimore Area Council 220              P.O. Box 781                                            Sykesville, MD 21784                                                                                                First Class Mail
Chartered Organization         Freedom Park Elementary                                   Georgia‐Carolina 093                    345 42nd St                                             Fort Gordon, GA 30905‐5947                                                                                          First Class Mail
Chartered Organization         Freedom Plains Presbyterian Church                        Hudson Valley Council 374               P.O. Box 400                                            Lagrangeville, NY 12540‐0400                                                                                        First Class Mail
Chartered Organization         Freedom Plains Utd Presbyterian Ch                        Hudson Valley Council 374               Overlook Rd                                             Poughkeepsie, Ny 12603                                                                                              First Class Mail
Chartered Organization         Freedom Ptc                                               Sequoia Council 027                     2955 Gettysburg Ave                                     Clovis, CA 93611‐3954                                                                                               First Class Mail
Chartered Organization         Freedom Tabernacle Baptist Church                         Blue Ridge Mtns Council 599             442 Freedom Tabernacle Ln                               Atkins, VA 24311‐3133                                                                                               First Class Mail
Chartered Organization         Freehold Elks 1454                                        Monmouth Council, Bsa 347               73 E Main St                                            Freehold, NJ 07728‐2224                                                                                             First Class Mail
Chartered Organization         Freeland American Legion Post 473                         Minsi Trails Council 502                523 Centre St                                           Freeland, PA 18224‐1901                                                                                             First Class Mail
Chartered Organization         Freeland Lions Club                                       Water and Woods Council 782             730 Church St                                           Freeland, MI 48623‐2533                                                                                             First Class Mail
Chartered Organization         Freeman Group Of Citizens For Scouting                    Water and Woods Council 782             4001 Ogema Ave                                          Flint, MI 48507‐2887                                                                                                First Class Mail
Voting Party                   Freemont Emmanuel Umc (183695)                            c/o Bentz Law Firm                      Attn: Sean Bollman                                      680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Freemont United Methodist Church                          Attn: Roger Bradshaw                    351 Butterfield                                         Fremont, MI 49412                                                 umcfremont@att.net                                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Freeny United Methodist Church                            Attn: James Matheny                     3396 Freeny Rd                                          Carthage, MS 39051                                                revmatheny@aol.com                                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Freeport Elem                                             Bay Area Council 574                    P.O. Box Z                                              Freeport, TX 77542‐1926                                                                                             First Class Mail
Chartered Organization         Freeport Health Network                                   Blackhawk Area 660                      1045 W Stephenson St                                    Freeport, IL 61032‐4864                                                                                             First Class Mail
Chartered Organization         Freeport Police Dept                                      Blackhawk Area 660                      320 W Exchange St                                       Freeport, IL 61032‐4110                                                                                             First Class Mail
Chartered Organization         Freeport Police Dept                                      Bay Area Council 574                    430 N Brazosport Blvd                                   Freeport, TX 77541‐3802                                                                                             First Class Mail
Voting Party                   Freeport United Methodist Church                          Attn: Marva D. Usher‐Kerr               46 Pine St                                              Freeport, NY 11520                                                revmduk@gmail.com                                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Freeport: Faith                                           Attn: Dawn Vehmeier                     1440 S Walnut Ave                                       Freeport, IL 61032                                                sheepish81@gmail.com                              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Freeport: Harmony / Trinity                               Attn: Harold Lingel                     2600 W Pearl City Rd                                    Freeport, IL 61032                                                lingelsr@hotmail.com; pastoreddieeddy@gmail.com   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Freeport:Harmony/Emburx                                   Attn: Harold Lingel Sr                  2600 W Pearl City Rd                                    Freeport, IL 61032                                                pastoreddieeddy@gmail.com                         Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Freer Police Dept                                         South Texas Council 577                 P.O. Box N                                              Freer, TX 78357‐2014                                                                                                First Class Mail
Voting Party                   Freer United Methodist Church                             Attn: Ann Martinez, Treasurer           P.O. Box 75                                             Freer, TX 78357                                                   ajenkins1977@yahoo.com                            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Firm                           Freese & Goss, PLLC                                       Tim K. Goss                             3500 Maple Ave., Ste. 1100                              Dallas, TX 75219                                                  abuseclaims@freeseandgoss.com                     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Freese And Nichols, Inc                                   P.O. Box 980004                         Ft Worth, TX 76198‐0004                                                                                                                                                     First Class Mail
Chartered Organization         Freetown Community Center                                 Blue Ridge Council 551                  200 Alice Ave                                           Greenville, SC 29611‐4509                                                                                           First Class Mail
Voting Party                   Freeville United Methodist Church                         Attn: Ronald J Moore                    P.O. Box 166                                            Freeville, NY 13068                                               freevillemethodistchurch@yahoo.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Freeville Utd Methodist Church                            Baden‐Powell Council 368                37 Main St                                              Freeville, NY 13068‐9599                                                                                            First Class Mail
Chartered Organization         Freeway Propane Inc                                       Utah National Parks 591                 P.O. Box 804                                            Spanish Fork, UT 84660‐0804                                                                                         First Class Mail
Chartered Organization         Fremont Elks Lodge 2121                                   San Francisco Bay Area Council 028      38991 Farwell Dr                                        Fremont, CA 94536‐7221                                                                                              First Class Mail
Chartered Organization         Fremont Elk'S Lodge 2121                                  San Francisco Bay Area Council 028      38991 Farwell Dr                                        Fremont, CA 94536‐7221                                                                                              First Class Mail
Voting Party                   Fremont Emmanuel Umc (183695)                             c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fremont Fire Dept                                         San Francisco Bay Area Council 028      43600 S Grimmer Blvd                                    Fremont, CA 94538‐6381                                                                                              First Class Mail
Voting Party                   Fremont First United Methodist Church                     Attn: Office Manager                    815 N Broad                                             Fremont, NE 68025                                                 Fremontfumc@gpcom.net                             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fremont Moose Lodge 2387                                  Anthony Wayne Area 157                  P.O. Box 878                                            Fremont, IN 46737‐0878                                                                                              First Class Mail
Chartered Organization         Fremont Parent Teacher Organization                       Northeast Illinois 129                  28855 N Fremont Center Rd                               Mundelein, IL 60060‐9451                                                                                            First Class Mail
Chartered Organization         Fremont Police Dept                                       San Francisco Bay Area Council 028      2000 Stevenson Blvd                                     Fremont, CA 94538‐2336                                                                                              First Class Mail
Voting Party                   Fremont Portland                                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Fremont Rotary Club                                       Tuscarora Council 424                   P.O. Box 731                                            Fremont, NC 27830‐0731                                                                                              First Class Mail
Voting Party                   Fremont United Methodist Church                           Attn: M. Ann Chambers                   105 N Tolford St                                        P.O. Box 653                     Fremont, IN 46737                secfremontumc@hotmail.com                         Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Fremont United Methodist Church                           P.O. Box 147                            Fremont, NC 27830                                                                                                                                                           First Class Mail
Chartered Organization         Fremont Utd Methodist Church                              Tuscarora Council 424                   106 N Sycamore St                                       Fremont, NC 27830                                                                                                   First Class Mail
Chartered Organization         Fremont Utd Methodist Church                              Cascade Pacific Council 492             2620 NE Fremont St                                      Portland, OR 97212‐2540                                                                                             First Class Mail
Chartered Organization         Fremont Utd Methodist Men                                 President Gerald R Ford 781             351 Butterfield St                                      Fremont, MI 49412‐1717                                                                                              First Class Mail
Voting Party                   French Creek                                              Attn: Duane Havard                      1815 Robinson Rd W                                      Erie, PA 16509                                                    duane.havard@scouting.org                         Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         French Island Lions Club                                  Gateway Area 624                        921 Plainview Rd                                        La Crosse, WI 54603‐8501                                                                                            First Class Mail
Chartered Organization         French River Lutheran Church                              Voyageurs Area 286                      5310 Ryan Rd                                            Duluth, MN 55804‐2906                                                                                               First Class Mail
Chartered Organization         French‐Bartlett Vfw Post 1082                             Lake Erie Council 440                   343 Northfield Rd                                       Bedford, OH 44146‐4604                                                                                              First Class Mail
Voting Party                   Frenchtown Presbyterian Church                            22 4th St                               Frenchtown, NJ 08825                                                                                                      jmc@jcampbellesq.com                              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Frenship Mesa Ward                                        South Plains Council 694                7014 Lubbock Ave                                        Lubbock, TX 79424                                                                                                   First Class Mail
Chartered Organization         Fresh Wind Christian Community                            President Gerald R Ford 781             18201 Honor Hwy                                         Interlochen, MI 49643‐9295                                                                                          First Class Mail
Chartered Organization         Fresno Buddhist Betsuin And Ujcc                          Sequoia Council 027                     1340 Kern St                                            Fresno, CA 93706‐3320                                                                                               First Class Mail
Chartered Organization         Fresno Co Library ‐ Auberry                               Sequoia Council 027                     33049 Auberry Rd                                        Auberry, CA 93602                                                                                                   First Class Mail
Chartered Organization         Fresno County Sportsmen'S Club                            Sequoia Council 027                     10645 N Lanes Rd                                        Fresno, CA 93730‐1108                                                                                               First Class Mail
Chartered Organization         Fresno Fire Dept                                          Sequoia Council 027                     911 H St                                                Fresno, CA 93721‐2510                                                                                               First Class Mail
Chartered Organization         Fresno Police Dept Chaplaincy                             Sequoia Council 027                     P.O. Box 1271                                           Fresno, CA 93715‐1271                                                                                               First Class Mail
Chartered Organization         Fresno Sheriff Dept                                       Sequoia Council 027                     2200 Fresno St                                          Fresno, CA 93721‐1703                                                                                               First Class Mail
Voting Party                   Fresno United Methodist Church                            Attn: William Owens                     P.O. Box 787                                            413 Main St                      Coshocton, OH 43812              bill@owensmanning.com                             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Friday Harbor Power Squadron                              Mount Baker Council, Bsa 606            161 Avenida De Oro                                      Friday Harbor, WA 98250‐6931                                                                                        First Class Mail
Voting Party                   Friday, Eldredge & Clark Llp                              Attn: Lindsey Emerson Raines            400 W Capitol Ave, Ste 2000                             Little Rock, AR 72201                                             lraines@fridayfirm.com                            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Friday, Eldredge & Clark, Llp                             Attn: Lindsey Emerson Raines            400 W Capitol Ave, Ste 2000                             Little Rock, AR 72201                                             lraines@fridayfirm.com                            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Friday, Eldredge & Clark, Llp                             Lindsey Emerson Raines                  400 W Capitol Ave, Ste 2000                             Little Rock, AR 72201                                             lraines@fridayfirm.com                            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Friday, Eldredge & Clark, Llp                             Attn: Lindsey Emerson Raines            400 W Capitol Ave, Ste 2000                             Little Rock, AR 72201                                                                                               First Class Mail
Chartered Organization         Fridley High School Oec                                   Northern Star Council 250               6000 Moore Lake Dr W                                    Fridley, MN 55432‐5601                                                                                              First Class Mail
Chartered Organization         Fridley Knights Of Columbus                               Northern Star Council 250               4030 Jackson St Ne                                      Minneapolis, MN 55421‐2929                                                                                          First Class Mail
Chartered Organization         Fridley Lions                                             Northern Star Council 250               P.O. Box 32815                                          Fridley, MN 55432‐0815                                                                                              First Class Mail
Chartered Organization         Fridley Police Dept                                       Northern Star Council 250               6431 University Ave Ne                                  Minneapolis, MN 55432‐4303                                                                                          First Class Mail
Chartered Organization         Friedberg Moravian Church                                 Old Hickory Council 427                 3201 Friedberg Church Rd                                Winston Salem, NC 27127                                                                                             First Class Mail
Chartered Organization         Friedberg Moravian Church                                 Old Hickory Council 427                 2178 Friedberg Church Rd                                Winston Salem, NC 27127‐9727                                                                                        First Class Mail
Chartered Organization         Friedens Evangelical Lutheran Church                      Minsi Trails Council 502                2451 Saucon Valley Rd                                   Center Valley, PA 18034‐9787                                                                                        First Class Mail
Chartered Organization         Friedens Evangelical Lutheran Church                      Hawk Mountain Council 528               P.O. Box 231                                            Oley, PA 19547‐0231                                                                                                 First Class Mail
Chartered Organization         Friedens Lutheran Church                                  Laurel Highlands Council 527            131 S Main St                                           Friedens, PA 15541‐8404                                                                                             First Class Mail
Chartered Organization         Friedens Lutheran Church                                  Pennsylvania Dutch Council 524          301 W Washington Ave                                    Myerstown, PA 17067‐1038                                                                                            First Class Mail
Voting Party                   Friedens United Church Of Christ Inc                      Attn: Jim Jensen                        8000 S Meridian St                                      Indianapolis, IN 46217                                            jim@jensenfordinsurance.com                       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Friedens United Church Of Christ Inc                      Attn: Jim Jensen                        8300 S Meridian St                                      Indianapolis, IN 46217                                                                                              First Class Mail
Chartered Organization         Friedens Utd Church Of Christ                             Crossroads of America 160               8300 S Meridian St                                      Indianapolis, IN 46217‐4943                                                                                         First Class Mail
Chartered Organization         Friedens Utd Church Of Christ                             Greater St Louis Area Council 312       313 E Booneslick Rd                                     Warrenton, MO 63383‐2007                                                                                            First Class Mail
Chartered Organization         Friedland Moravian Church                                 Old Hickory Council 427                 2750 Friedland Church Rd                                Winston Salem, NC 27107‐4518                                                                                        First Class Mail
Chartered Organization         Friedland Moravian Church                                 Old Hickory Council 427                 2750 Friedland Church Rd                                Winston Salem, NC 27107‐4518                                                                                        First Class Mail
Chartered Organization         Friend American Legion                                    Cornhusker Council 324                  112 Maple St                                            Friend, NE 68359                                                                                                    First Class Mail
Chartered Organization         Friendly Center                                           Erie Shores Council 460                 1324 N Superior St                                      Toledo, OH 43604‐2028                                                                                               First Class Mail
Chartered Organization         Friendly House                                            Illowa Council 133                      1221 N Myrtle St                                        Davenport, IA 52804‐3800                                                                                            First Class Mail
Chartered Organization         Friends & Families Of Troop 531                           Three Harbors Council 636               7134 S Beachwood Ct                                     Franklin, WI 53132‐8575                                                                                             First Class Mail
Chartered Organization         Friends & Family N Star Distr Pack 850                    Las Vegas Area Council 328              5936 Magic Oak St                                       North Las Vegas, NV 89031‐6886                                                                                      First Class Mail
Chartered Organization         Friends & Family N Star Scouts                            Of Pack 500                             8056 Broken Spur Ln                                     Las Vegas, NV 89131‐4510                                                                                            First Class Mail
Chartered Organization         Friends & Family Of Pack 21                               Grand Canyon Council 010                23638 W Beacon Ln                                       Wittmann, AZ 85361‐2760                                                                                             First Class Mail
Chartered Organization         Friends & Family Of Pack 257                              Denver Area Council 061                 8648 E Easter Pl                                        Centennial, CO 80112‐1856                                                                                           First Class Mail
Chartered Organization         Friends & Family Of Pack 351                              Denver Area Council 061                 6154 S Newark Way                                       Englewood, CO 80111‐5850                                                                                            First Class Mail
Chartered Organization         Friends & Family Of Pack 809                              Denver Area Council 061                 6986 S Ammons St                                        Littleton, CO 80128‐4458                                                                                            First Class Mail
Chartered Organization         Friends & Family Of Troop 21                              Grand Canyon Council 010                23638 W Beacon Ln                                       Wittmann, AZ 85361‐2760                                                                                             First Class Mail
Chartered Organization         Friends & Family Powderhorn Elem Sch                      Denver Area Council 061                 12109 W Coal Mine Ave                                   Littleton, CO 80127‐4851                                                                                            First Class Mail
Chartered Organization         Friends 1996 Youth Edu Fndn Inc                           Atlanta Area Council 092                5729 Strathmoor Manor Cir                               Lithonia, GA 30058‐2619                                                                                             First Class Mail
Chartered Organization         Friends And Family Of Copper Mesa                         Denver Area Council 061                 3169 Lynwood Ave                                        Highlands Ranch, CO 80126‐8046                                                                                      First Class Mail
Chartered Organization         Friends And Family Of Pack 143                            South Plains Council 694                5721 108th St                                           Lubbock, TX 79424‐8209                                                                                              First Class Mail
Chartered Organization         Friends And Family Of Pack 2010                           Denver Area Council 061                 26641 E Arbor Dr                                        Aurora, CO 80016‐6129                                                                                               First Class Mail
Chartered Organization         Friends And Family Of Pack 3250                           Heart of America Council 307            14235 W 123rd St                                        Olathe, KS 66062‐6025                                                                                               First Class Mail
Chartered Organization         Friends And Family Of Pack 662                            Denver Area Council 061                 5311 Windflower Ln                                      Highlands Ranch, CO 80130‐8936                                                                                      First Class Mail
Chartered Organization         Friends And Family Of Pack 749                            Denver Area Council 061                 3770 S Mission Pkwy, Apt D                              Aurora, CO 80013‐2400                                                                                               First Class Mail
Chartered Organization         Friends And Family Of Pack 81                             Las Vegas Area Council 328              9520 Havasu Canyon Ave                                  Las Vegas, NV 89166‐3755                                                                                            First Class Mail
Chartered Organization         Friends And Family Of Troop 175                           Great Swest Council 412                 403 Mcdonald Rd                                         Farmington, NM 87401‐3521                                                                                           First Class Mail
Chartered Organization         Friends And Family Of Troop 430                           Las Vegas Area Council 328              1741 Winter Rock Way                                    Las Vegas, NV 89031                                                                                                 First Class Mail
Chartered Organization         Friends And Supporters Of Troop 30                        Grand Canyon Council 010                2709 E Evans Dr                                         Phoenix, AZ 85032‐4981                                                                                              First Class Mail
Chartered Organization         Friends And Supporters Of Troop 30                        Grand Canyon Council 010                8219 N 74th Pl                                          Scottsdale, AZ 85258‐2703                                                                                           First Class Mail
Chartered Organization         Friends B T Washington                                    Connecticut Yankee Council Bsa 072      240 Greene St                                           New Haven, CT 06511‐6934                                                                                            First Class Mail
Chartered Organization         Friends Barnard Envtal Studies Magnet                     Connecticut Yankee Council Bsa 072      170 Derby Ave                                           New Haven, CT 06511‐5144                                                                                            First Class Mail
Chartered Organization         Friends Benjamin Banneker Elem Sch                        Heart of America Council 307            7050 Askew Ave                                          Kansas City, MO 64132‐3237                                                                                          First Class Mail
Chartered Organization         Friends Christian Elementary School                       Orange County Council 039               5151 Lakeview Ave                                       Yorba Linda, CA 92886‐4936                                                                                          First Class Mail
Chartered Organization         Friends Christian Middle School                           Orange County Council 039               4231 Rose Dr                                            Yorba Linda, CA 92886‐1635                                                                                          First Class Mail
Chartered Organization         Friends Compass At Baptise Elem Linc                      Heart of America Council 307            5401 E 103rd St                                         Kansas City, MO 64137‐1365                                                                                          First Class Mail
Chartered Organization         Friends Crooked Creek Elem Sch                            Crossroads of America 160               2150 Kessler Blvd W Dr                                  Indianapolis, IN 46228‐1706                                                                                         First Class Mail
Chartered Organization         Friends Fountain Hill Elem Sch                            Minsi Trails Council 502                1330 Church St                                          Fountain Hill, PA 18015‐4418                                                                                        First Class Mail
Chartered Organization         Friends Francis Willard Elem Sch                          Kidzone                                 4601 State Ave                                          Kansas City, KS 66102                                                                                               First Class Mail
Chartered Organization         Friends Frank Rushton Elem Kidzone                        Heart of America Council 307            2605 W 43rd Ave                                         Kansas City, KS 66103‐3122                                                                                          First Class Mail
Chartered Organization         Friends Freemansburg Elem Sch                             Minsi Trails Council 502                501 Monroe St                                           Freemansburg, PA 18017‐7249                                                                                         First Class Mail
Chartered Organization         Friends Grace Mcwayne Elem Sch                            Three Fires Council 127                 3501 Hapner Way                                         Batavia, IL 60510‐2678                                                                                              First Class Mail
Chartered Organization         Friends Heights Terrace Elem Sch                          Minsi Trails Council 502                275 Mill St                                             Hazleton, PA 18201‐6701                                                                                             First Class Mail
Voting Party                   Friends In Christ United Methodist Church                 Attn: Craig Buelow                      2 Chapel St                                             Belfast, NY 14711                                                 ofice@nacumc.com                                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Friends In Christ Utd Methodist Ch                        Iroquois Trail Council 376              P.O. Box 184                                            Fillmore, NY 14735‐0184                                                                                             First Class Mail
Chartered Organization         Friends John Martinez School                              Connecticut Yankee Council Bsa 072      100 James St                                            New Haven, CT 06513‐4222                                                                                            First Class Mail
Chartered Organization         Friends Johnson Cnty Youth Detention Ctr                  Heart of America Council 307            920 W Spruce St                                         Olathe, KS 66061‐3199                                                                                               First Class Mail
Chartered Organization         Friends New Chelsea Elem Kidzone                          Heart of America Council 307            2500 Wood Ave                                           Kansas City, KS 66104‐4835                                                                                          First Class Mail
Chartered Organization         Friends New Stanley Elem Kid Zone                         Heart of America Council 307            3604 Metropolitan Ave                                   Kansas City, KS 66106‐2712                                                                                          First Class Mail
Chartered Organization         Friends Of 165Th Air Squad                                Coastal Georgia Council 099             1401 Robert B Miller Jr Rd                              Garden City, GA 31408‐9001                                                                                          First Class Mail
Chartered Organization         Friends Of 1776 Inc                                       Atlanta Area Council 092                4479 Mountain Creek Dr NE                               Roswell, GA 30075‐4032                                                                                              First Class Mail
Chartered Organization         Friends Of 224                                            Mt Diablo‐Silverado Council 023         4115 Happy Valley Rd                                    Lafayette, CA 94549‐2410                                                                                            First Class Mail
Chartered Organization         Friends Of 40, Inc                                        Chattahoochee Council 091               P.O. Box 737                                            Pine Mountain, GA 31822‐0737                                                                                        First Class Mail
Chartered Organization         Friends Of 45                                             The Spirit of Adventure 227             P.O. Box 381241                                         Cambridge, MA 02238‐1241                                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                      Page 132 of 442
                                                                                 Case 20-10343-LSS                                 Doc 8171                                    Filed 01/06/22                            Page 148 of 457
                                                                                                                                                                  Exhibit B
                                                                                                                                                                   Service List
                                                                                                                                                            Served as set forth below

        Description                                                       Name                                                                                  Address                                                                    Email              Method of Service
Chartered Organization         Friends Of 515 Scouts                                    Cascade Pacific Council 492           15110 SW Ruby Ct                                        Beaverton, OR 97007‐8009                                     First Class Mail
Chartered Organization         Friends Of 717 Air Base Squadron                         Transatlantic Council, Bsa 802        Unit 6940 Box 45                                        Apo, AE 09822‐6940                                           First Class Mail
Chartered Organization         Friends Of 757                                           Greater St Louis Area Council 312     3866 S Old Hwy 94                                       Saint Charles, MO 63304‐2828                                 First Class Mail
Chartered Organization         Friends Of 98/Ncdc                                       Lake Erie Council 440                 7914 Madison Ave                                        Cleveland, OH 44102‐4058                                     First Class Mail
Chartered Organization         Friends Of Adams Elem                                    Last Frontier Council 480             3416 SW 37th St                                         Oklahoma City, OK 73119‐3004                                 First Class Mail
Chartered Organization         Friends Of Adams Farm Inc                                Mayflower Council 251                 P.O. Box 725                                            Walpole, MA 02081‐0725                                       First Class Mail
Chartered Organization         Friends Of American Fork Youth                           Utah National Parks 591               51 E Main St                                            American Fork, UT 84003‐2381                                 First Class Mail
Chartered Organization         Friends Of Archie Adams                                  Southern Shores Fsc 783               5215 W Liberty Rd                                       Ann Arbor, MI 48103‐9304                                     First Class Mail
Chartered Organization         Friends Of Arleta Community                              Cascade Pacific Council 492           5203 SE 66th Ave                                        Portland, OR 97206‐5325                                      First Class Mail
Chartered Organization         Friends Of Aveson School                                 Greater Los Angeles Area 033          1919 Pinecrest Dr                                       Altadena, CA 91001‐2116                                      First Class Mail
Chartered Organization         Friends Of Awareness Camp ‐ South                        Quivira Council, Bsa 198              3247 N Oliver St                                        Wichita, KS 67220‐2106                                       First Class Mail
Chartered Organization         Friends Of Awareness Camp East                           Quivira Council, Bsa 198              3247 N Oliver St                                        Wichita, KS 67220‐2106                                       First Class Mail
Chartered Organization         Friends Of Awareness Camp West                           Quivira Council, Bsa 198              3247 N Oliver St                                        Wichita, KS 67220‐2106                                       First Class Mail
Chartered Organization         Friends Of Banneker Elementary Kid Zone                  Heart of America Council 307          2026 N 4th St                                           Kansas City, KS 66101‐1823                                   First Class Mail
Chartered Organization         Friends Of Battleground District                         Monmouth Council, Bsa 347             705 Ginesi Dr                                           Morganville, NJ 07751‐1235                                   First Class Mail
Chartered Organization         Friends Of Beaupre Elementary School                     Three Fires Council 127               954 E Benton St                                         Aurora, IL 60505‐3704                                        First Class Mail
Chartered Organization         Friends Of Belvidere Elementary Linc                     Heart of America Council 307          8310 E 108th St, Apt 6                                  Kansas City, MO 64134‐3089                                   First Class Mail
Chartered Organization         Friends Of Beverly Hills Troop 110                       W.L.A.C.C. 051                        9048 Olin St                                            Los Angeles, CA 90034‐1935                                   First Class Mail
Chartered Organization         Friends Of Bluestem Elementary                           Quivira Council, Bsa 198              501 S Mill Rd                                           Leon, KS 67074‐8214                                          First Class Mail
Chartered Organization         Friends Of Bodine Elem                                   Last Frontier Council 480             5301 S Bryant Ave                                       Oklahoma City, OK 73129‐9311                                 First Class Mail
Chartered Organization         Friends Of Border Star Montessori                        Heart of America Council 307          6321 Wornall Rd                                         Kansas City, MO 64113‐1716                                   First Class Mail
Chartered Organization         Friends Of Britton Elem School                           Last Frontier Council 480             1215 NW 95th St                                         Oklahoma City, OK 73114‐4726                                 First Class Mail
Chartered Organization         Friends Of Broughal Middle School                        Minsi Trails Council 502              114 W Morton St                                         Bethlehem, PA 18015‐1636                                     First Class Mail
Chartered Organization         Friends Of Bsa 10                                        Utah National Parks 591               13447 Alpine Cove Dr                                    Alpine, UT 84004‐1801                                        First Class Mail
Chartered Organization         Friends Of Bsa Pack 5                                    Pine Burr Area Council 304            969 Memorial Blvd                                       Picayune, MS 39466‐4635                                      First Class Mail
Chartered Organization         Friends Of Bsa Troop 351                                 Pine Burr Area Council 304            969 Memorial Blvd                                       Picayune, MS 39466‐4635                                      First Class Mail
Chartered Organization         Friends Of Buchanan Elem                                 Last Frontier Council 480             4126 NW 18th St                                         Oklahoma City, OK 73107‐3624                                 First Class Mail
Chartered Organization         Friends Of Buckskin                                      Heart of Virginia Council 602         14930 Scotchtown Rd                                     Montpelier, VA 23192‐2806                                    First Class Mail
Chartered Organization         Friends Of Burlington Scouting                           The Spirit of Adventure 227           6 Birch St                                              Burlington, MA 01803‐3201                                    First Class Mail
Chartered Organization         Friends Of Butcher Greene Elementary                     Heart of America Council 307          5302 E 140th St                                         Grandview, MO 64030‐3904                                     First Class Mail
Chartered Organization         Friends Of Calvin                                        Last Frontier Council 480             820 Ideal St                                            Seminole, OK 74868‐2100                                      First Class Mail
Chartered Organization         Friends Of Cambeiro                                      Las Vegas Area Council 328            900 N 21st St                                           Las Vegas, NV 89101‐1219                                     First Class Mail
Chartered Organization         Friends Of Cambridge Scouting                            The Spirit of Adventure 227           4 Trowbridge Pl, Apt 1D                                 Cambridge, MA 02138‐4110                                     First Class Mail
Chartered Organization         Friends Of Camp Kern                                     Southern Sierra Council 030           2417 M St                                               Bakersfield, CA 93301‐2341                                   First Class Mail
Chartered Organization         Friends Of Camp Lassen                                   Golden Empire Council 047             21359 Scout Rd                                          Forest Ranch, CA 95942‐9713                                  First Class Mail
Chartered Organization         Friends Of Camp Long Lake                                Potawatomi Area Council 651           804 Bluemound Rd                                        Waukesha, WI 53188‐1698                                      First Class Mail
Chartered Organization         Friends Of Camp Munhacke                                 Southern Shores Fsc 783               20120 Bartell Rd                                        Gregory, MI 48137‐9614                                       First Class Mail
Chartered Organization         Friends Of Camp Preston Hunt                             Caddo Area Council 584                6918 Tennessee Rd                                       Texarkana, AR 71854‐9025                                     First Class Mail
Chartered Organization         Friends Of Camp Three Falls                              Ventura County Council 057            2011 Morning Glory St                                   Simi Valley, CA 93065‐3548                                   First Class Mail
Chartered Organization         Friends Of Camp Wakpominee                               Twin Rivers Council 364               185 Sly Pond Rd                                         Fort Ann, NY 12827‐3303                                      First Class Mail
Chartered Organization         Friends Of Camp Winton                                   Golden Empire Council 047             P.O. Box 13558                                          Sacramento, CA 95853‐3558                                    First Class Mail
Chartered Organization         Friends Of Canton Scouting                               Mayflower Council 251                 10 Meetinghouse Rd                                      Canton, MA 02021‐2338                                        First Class Mail
Chartered Organization         Friends Of Capitol Hill Elementary                       Last Frontier Council 480             3031 NW 64th St                                         Oklahoma City, OK 73116‐3525                                 First Class Mail
Chartered Organization         Friends Of Carlisle Scouting                             The Spirit of Adventure 227           P.O. Box 135                                            Carlisle, MA 01741‐0135                                      First Class Mail
Chartered Organization         Friends Of Celina K‐8 School                             Middle Tennessee Council 560          1324 Mitchell St                                        Celina, TN 38551‐4044                                        First Class Mail
Chartered Organization         Friends Of Centennial School                             Three Fires Council 127               234 E Stearns Rd                                        Bartlett, IL 60103‐6533                                      First Class Mail
Chartered Organization         Friends Of Centennial School                             Longs Peak Council 062                2908 Glen Dale Dr, Apt 2                                Evans, CO 80620‐1043                                         First Class Mail
Chartered Organization         Friends Of Center School                                 Heart of America Council 307          8401 Euclid Ave                                         Kansas City, MO 64132‐2207                                   First Class Mail
Chartered Organization         Friends Of Central Elementary School                     Minsi Trails Council 502              829 W Turner St                                         Allentown, PA 18102‐4066                                     First Class Mail
Chartered Organization         Friends Of Cheston Elementary School                     Minsi Trails Council 502              723 Coal St                                             Easton, PA 18042‐6556                                        First Class Mail
Chartered Organization         Friends Of Chowchilla Scouting                           Sequoia Council 027                   128 Holiday Way                                         Chowchilla, CA 93610‐2019                                    First Class Mail
Chartered Organization         Friends Of Clear Run Elementary School                   Minsi Trails Council 502              780 Memorial Blvd                                       Tobyhanna, PA 18466‐7788                                     First Class Mail
Chartered Organization         Friends Of Clear Run Intermediate School                 Minsi Trails Council 502              800 Route 611                                           Tobyhanna, PA 18466                                          First Class Mail
Chartered Organization         Friends Of Cleveland Elementary School                   Minsi Trails Council 502              424 N 9th St                                            Allentown, PA 18102‐5501                                     First Class Mail
Chartered Organization         Friends Of Clinton Avenue School                         Connecticut Yankee Council Bsa 072    293 Clinton Ave                                         New Haven, CT 06513‐2814                                     First Class Mail
Chartered Organization         Friends Of Clymer Neighborhood Center                    Heart of America Council 307          1301 Vine St                                            Kansas City, MO 64106‐3349                                   First Class Mail
Chartered Organization         Friends Of Colton Community                              Cascade Pacific Council 492           25125 S Mountain View Rd                                Colton, OR 97017‐9620                                        First Class Mail
Chartered Organization         Friends Of Columbus School                               Connecticut Yankee Council Bsa 072    225 Blatchley Ave                                       New Haven, CT 06513‐3710                                     First Class Mail
Chartered Organization         Friends Of Crew 0098                                     South Georgia Council 098             1210 Ponderosa Dr                                       Valdosta, GA 31601‐3422                                      First Class Mail
Chartered Organization         Friends Of Crew 2307                                     Heart of America Council 307          12613 Mcgee St                                          Kansas City, MO 64145‐1755                                   First Class Mail
Chartered Organization         Friends Of Crew 2687                                     Pathway To Adventure 456              2326 N 77th Ave                                         Elmwood Park, IL 60707‐3041                                  First Class Mail
Chartered Organization         Friends Of Crew 29                                       Great Lakes Fsc 272                   42381 Wedgewood Ln                                      Clinton Township, MI 48038‐5414                              First Class Mail
Chartered Organization         Friends Of Crew 4                                        South Florida Council 084             7741 NW 39th St                                         Davie, FL 33024                                              First Class Mail
Chartered Organization         Friends Of Crew 585                                      Oregon Trail Council 697              1300 SE Magnolia Dr                                     Roseburg, OR 97470‐4313                                      First Class Mail
Chartered Organization         Friends Of Crew 586                                      Cascade Pacific Council 492           848 SE Wendy Ln                                         Gresham, OR 97080                                            First Class Mail
Chartered Organization         Friends Of Crew 604                                      Denver Area Council 061               13911 W 74th Ave                                        Arvada, CO 80005‐3006                                        First Class Mail
Chartered Organization         Friends Of Crew 649                                      San Diego Imperial Council 049        801 S Juniper St                                        Escondido, CA 92025‐5147                                     First Class Mail
Chartered Organization         Friends Of Crew 8                                        Connecticut Rivers Council, Bsa 066   91 Woodside Cir                                         Torrington, CT 06790‐2239                                    First Class Mail
Chartered Organization         Friends Of Crew 934                                      Chief Seattle Council 609             2424 162nd Ave Ne                                       Bellevue, WA 98008‐2345                                      First Class Mail
Chartered Organization         Friends Of Crooked Oak Elementary                        Last Frontier Council 480             1901 SE 15th St                                         Oklahoma City, OK 73129‐6058                                 First Class Mail
Chartered Organization         Friends Of Crouse Elementary School                      Great Trail 433                       1000 Diagonal Rd                                        Akron, OH 44320‐3706                                         First Class Mail
Chartered Organization         Friends Of Cub Scout Pack 109                            Three Harbors Council 636             3707 N 94th St                                          Milwaukee, WI 53222‐2613                                     First Class Mail
Chartered Organization         Friends Of Cub Scout Pack 241                            Great Swest Council 412               10208 Jarash Pl NE                                      Albuquerque, NM 87122‐3316                                   First Class Mail
Chartered Organization         Friends Of Cub Scout Pack 475                            Three Harbors Council 636             9025 W Lawrence Ave                                     Milwaukee, WI 53225‐5038                                     First Class Mail
Chartered Organization         Friends Of Curves 413                                    Pee Dee Area Council 552              8240 Forest Lake Dr                                     Conway, SC 29526‐9000                                        First Class Mail
Chartered Organization         Friends Of Custer Volunteer Fire Dept                    Attn: Custer Cub Scouts               40 Mount Rushmore Rd, Apt 3                             Custer, SD 57730‐1844                                        First Class Mail
Chartered Organization         Friends Of Cypress Chauve                                Istrouma Area Council 211             3024 Woodland Ridge Blvd                                Baton Rouge, LA 70816‐2543                                   First Class Mail
Chartered Organization         Friends Of Davey Elementary                              Kent City School                      196 N Prospect St                                       Kent, OH 44240‐2281                                          First Class Mail
Chartered Organization         Friends Of Davis Elementary                              Pathway To Adventure 456              3014 W 39th Pl                                          Chicago, IL 60632‐2402                                       First Class Mail
Chartered Organization         Friends Of Davis Street Magnet School                    Connecticut Yankee Council Bsa 072    35 Davis St                                             New Haven, CT 06515‐1601                                     First Class Mail
Chartered Organization         Friends Of Deer Creek Praire Vale Elem                   Last Frontier Council 480             22522 N Pennsylvania Ave                                Edmond, OK 73025‐9100                                        First Class Mail
Chartered Organization         Friends Of Dodson Branch Elementary                      Middle Tennessee Council 560          1040 Bill Smith Rd                                      Cookeville, TN 38501‐3761                                    First Class Mail
Chartered Organization         Friends Of Don Benito Pack 37                            Greater Los Angeles Area 033          3700 Denair St                                          Pasadena, CA 91107‐1303                                      First Class Mail
Chartered Organization         Friends Of Douglas Elementry Kidzone                     Heart of America Council 307          1310 N 9th St                                           Kansas City, KS 66101‐2014                                   First Class Mail
Chartered Organization         Friends Of Downtown Ithaca Scouting                      Baden‐Powell Council 368              109 E Seneca St                                         Ithaca, NY 14850‐4352                                        First Class Mail
Chartered Organization         Friends Of Dr Green Scouting                             Yucca Council 573                     5812 Kingsfield Ave                                     El Paso, TX 79912‐4816                                       First Class Mail
Chartered Organization         Friends Of Duncan Elementary                             Great Lakes Fsc 272                   14500 26 Mile Rd                                        Shelby Township, MI 48315‐6504                               First Class Mail
Chartered Organization         Friends Of Eagles Summit T Roop                          Great Swest Council 412               11708 Kings Canyon Rd Se                                Albuquerque, NM 87123‐5702                                   First Class Mail
Chartered Organization         Friends Of East Charholt Venturers                       Water and Woods Council 782           4401 Stonehurst Ave                                     Holt, MI 48842‐2030                                          First Class Mail
Chartered Organization         Friends Of East Memorial                                 Longs Peak Council 062                4212 W 31st St                                          Greeley, CO 80634‐8371                                       First Class Mail
Chartered Organization         Friends Of Edgemere Elementary                           Last Frontier Council 480             3200 N Walker Ave                                       Oklahoma City, OK 73118‐7363                                 First Class Mail
Chartered Organization         Friends Of Edwards Elementary                            Last Frontier Council 480             1123 NE Grand Blvd                                      Oklahoma City, OK 73117‐5245                                 First Class Mail
Chartered Organization         Friends Of El Cerrito                                    Kensington Scouting                   7927 Terrace Dr                                         El Cerrito, CA 94530‐3024                                    First Class Mail
Chartered Organization         Friends Of El Cerrito Scouting                           Mt Diablo‐Silverado Council 023       45 Avon Rd                                              Kensington, CA 94707‐1301                                    First Class Mail
Chartered Organization         Friends Of Emerson Elementary Kid Zone                   Heart of America Council 307          1429 S 29th St                                          Kansas City, KS 66106‐2132                                   First Class Mail
Chartered Organization         Friends Of Engineering &                                 Science Univ. Magnet School           804 State St                                            New Haven, CT 06511‐3922                                     First Class Mail
Chartered Organization         Friends Of Esar                                          Pacific Harbors Council, Bsa 612      P.O. Box 11322                                          Tacoma, WA 98411‐0322                                        First Class Mail
Chartered Organization         Friends Of Fairchance Fire Dept                          Westmoreland Fayette 512              31 Pittsburgh St                                        Fairchance, PA 15436‐1018                                    First Class Mail
Chartered Organization         Friends Of Fairfield                                     Quivira Council, Bsa 198              16115 S Langdon Rd                                      Langdon, KS 67583‐9052                                       First Class Mail
Chartered Organization         Friends Of Faith‐ Based Youth                            Inland Nwest Council 611              11220 E 21st Ave                                        Spokane Valley, WA 99206‐5631                                First Class Mail
Chartered Organization         Friends Of Faith Based Youth LLC                         Inland Nwest Council 611              1209 E Garden Ave                                       Coeur D Alene, ID 83814‐4226                                 First Class Mail
Chartered Organization         Friends Of Faxon Montesorri School                       Heart of America Council 307          1320 E 32nd Ter                                         Kansas City, MO 64109‐1922                                   First Class Mail
Chartered Organization         Friends Of Fielder Elementary                            Sam Houston Area Council 576          25123 Southbriar Ln                                     Katy, TX 77494‐5579                                          First Class Mail
Chartered Organization         Friends Of Flics Elementary                              Great Lakes Fsc 272                   6501 W Outer Dr                                         Detroit, MI 48235‐2723                                       First Class Mail
Chartered Organization         Friends Of Floyd Elementary School                       Circle Ten Council 571                122 Country View Ln                                     Garland, TX 75043‐5606                                       First Class Mail
Chartered Organization         Friends Of Foreign Language Academy                      Heart of America Council 307          3450 Warwick Blvd                                       Kansas City, MO 64111‐1264                                   First Class Mail
Chartered Organization         Friends Of Fort Wayne Housing Authority                  Anthony Wayne Area 157                3005 Mccormick Ave                                      Fort Wayne, IN 46803‐3734                                    First Class Mail
Chartered Organization         Friends Of Fox Valley Youth                              Three Fires Council 127               2001 Larkin Ave, Ste 202                                Elgin, IL 60123‐5808                                         First Class Mail
Chartered Organization         Friends Of Francis D Raub Middle School                  Minsi Trails Council 502              102 S Saint Cloud St                                    Allentown, PA 18104‐6726                                     First Class Mail
Chartered Organization         Friends Of Fruitland Scouting                            Ore‐Ida Council 106 ‐ Bsa 106         8156 N Pennsylvania Ave                                 Fruitland, ID 83619‐3537                                     First Class Mail
Chartered Organization         Friends Of Ft Leavenworth Boy Scouts                     Heart of America Council 307          600 Thomas Ave                                          Fort Leavenworth, KS 66027‐1399                              First Class Mail
Chartered Organization         Friends Of Garfield School                               Heart of America Council 307          436 Prospect Ave                                        Kansas City, MO 64124‐1882                                   First Class Mail
Chartered Organization         Friends Of Garfield Singers                              Chief Seattle Council 609             400 23rd Ave                                            Seattle, WA 98122‐6025                                       First Class Mail
Chartered Organization         Friends Of Genesis School                                Heart of America Council 307          3800 E 44th St                                          Kansas City, MO 64130‐2168                                   First Class Mail
Chartered Organization         Friends Of George Washington Carver Sch                  Heart of America Council 307          4600 Elmwood Ave                                        Kansas City, MO 64130‐2247                                   First Class Mail
Chartered Organization         Friends Of Gladstone Academy                             Heart of America Council 307          335 N Elmwood Ave                                       Kansas City, MO 64123‐1233                                   First Class Mail
Chartered Organization         Friends Of Glover Clc                                    Great Trail 433                       935 Hammel St                                           Akron, OH 44306‐1946                                         First Class Mail
Chartered Organization         Friends Of Gold Camp                                     Pikes Peak Council 060                1805 Preserve Dr                                        Colorado Springs, CO 80906‐6902                              First Class Mail
Chartered Organization         Friends Of Good Samaritan Hospital                       Silicon Valley Monterey Bay 055       2425 Samaritan Dr                                       San Jose, CA 95124‐3908                                      First Class Mail
Chartered Organization         Friends Of Grace Management                              Flint River Council 095               325 Country Club Dr                                     Stockbridge, GA 30281‐7350                                   First Class Mail
Chartered Organization         Friends Of Gragson Elementary                            Las Vegas Area Council 328            555 N Honolulu St                                       Las Vegas, NV 89110‐3003                                     First Class Mail
Chartered Organization         Friends Of Grandview                                     Great Lakes Fsc 272                   19814 Louise St                                         Livonia, MI 48152‐1823                                       First Class Mail
Chartered Organization         Friends Of Green Pastures Elem                           Last Frontier Council 480             4300 N Post Rd                                          Spencer, OK 73084‐4216                                       First Class Mail
Chartered Organization         Friends Of Greystone Lower Elem                          Last Frontier Council 480             2525 NW 112th St                                        Oklahoma City, OK 73120‐7109                                 First Class Mail
Chartered Organization         Friends Of Guadalupe Center Ele                          Heart of America Council 307          5123 E Truman Rd                                        Kansas City, MO 64127‐2440                                   First Class Mail
Chartered Organization         Friends Of Hale Cook School                              Heart of America Council 307          7302 Pennsylvania Ave                                   Kansas City, MO 64114‐1321                                   First Class Mail
Chartered Organization         Friends Of Happy Valley Community                        Cascade Pacific Council 492           14433 SE Mia Garden Dr                                  Happy Valley, OR 97086‐3897                                  First Class Mail
Chartered Organization         Friends Of Harmony Science Academy                       South Texas Council 577               4401 San Francisco Ave                                  Laredo, TX 78041‐4663                                        First Class Mail
Chartered Organization         Friends Of Hartman Extended Day                          Heart of America Council 307          8111 Oak St                                             Kansas City, MO 64114‐2528                                   First Class Mail
Chartered Organization         Friends Of Hayes                                         Last Frontier Council 480             6900 S Byers Ave                                        Oklahoma City, OK 73149‐1418                                 First Class Mail
Chartered Organization         Friends Of Hazel Dell                                    Cascade Pacific Council 492           10621 NE 62nd Ct                                        Vancouver, WA 98686‐7043                                     First Class Mail
Chartered Organization         Friends Of Heritage Trails                               Last Frontier Council 480             1801 S Bryant Ave                                       Moore, OK 73160‐6602                                         First Class Mail
Chartered Organization         Friends Of Heronville Elementary                         Last Frontier Council 480             1240 SW 29th St                                         Oklahoma City, OK 73109‐2310                                 First Class Mail
Chartered Organization         Friends Of Hillcrest                                     Last Frontier Council 480             6421 S Miller Blvd                                      Oklahoma City, OK 73159‐1605                                 First Class Mail
Chartered Organization         Friends Of Hillhouse                                     Connecticut Yankee Council Bsa 072    175 Crescent St                                         New Haven, CT 06511‐1624                                     First Class Mail
Chartered Organization         Friends Of Holliday Montessori School                    Heart of America Council 307          7227 Jackson Ave                                        Kansas City, MO 64132‐3955                                   First Class Mail
Chartered Organization         Friends Of Hooksett Scouting                             Daniel Webster Council, Bsa 330       7 Elmer Ave                                             Hooksett, NH 03106‐1120                                      First Class Mail
Chartered Organization         Friends Of Hull Scouting                                 Mayflower Council 251                 P.O. Box 14                                             Hull, MA 02045‐0014                                          First Class Mail
Chartered Organization         Friends Of Ia Cty Conservation Fdn                       Hawkeye Area Council 172              P.O. Box 290                                            Williamsburg, IA 52361‐0290                                  First Class Mail
Chartered Organization         Friends Of Ira Earl Es                                   Las Vegas Area Council 328            2540 E Desert Inn Rd                                    Las Vegas, NV 89121‐3611                                     First Class Mail
Chartered Organization         Friends Of Irving Aviation                               Circle Ten Council 571                312 E Scotland Dr                                       Irving, TX 75062‐8603                                        First Class Mail
Chartered Organization         Friends Of Islington Scouting Inc                        The Spirit of Adventure 227           20 Meadowbrook Rd                                       Westwood, MA 02090‐1728                                      First Class Mail
Chartered Organization         Friends Of Ithaca Sea Scouts                             Baden‐Powell Council 368              P.O. Box 242                                            Etna, NY 13062‐0242                                          First Class Mail
Chartered Organization         Friends Of Ja Rogers School                              Heart of America Council 307          6400 E 23rd St                                          Kansas City, MO 64129‐1103                                   First Class Mail
Chartered Organization         Friends Of Jackson Elem                                  Last Frontier Council 480             2601 S Villa Ave                                        Oklahoma City, OK 73108‐6037                                 First Class Mail
Chartered Organization         Friends Of James School Extended Day                     Heart of America Council 307          5810 Scarritt Ave                                       Kansas City, MO 64123‐1532                                   First Class Mail
Chartered Organization         Friends Of Jane Ryan School                              Connecticut Yankee Council Bsa 072    190 Park Ln                                             Trumbull, CT 06611‐2343                                      First Class Mail
Chartered Organization         Friends Of Jasper Cub Scouts                             Three Rivers Council 578              225 Bulldog Ave                                         Jasper, TX 75951‐4951                                        First Class Mail
Chartered Organization         Friends Of John C Daniels School                         Connecticut Yankee Council Bsa 072    569 Congress Ave                                        New Haven, CT 06519‐1314                                     First Class Mail
Chartered Organization         Friends Of Jon Spencer                                   Utah National Parks 591               4166 N 400 W                                            Lehi, UT 84043‐4996                                          First Class Mail
Chartered Organization         Friends Of Juvenile Drug Court Inc                       Ohio River Valley Council 619         114 S Butler St                                         Saint Clairsville, OH 43950‐1125                             First Class Mail
Chartered Organization         Friends Of Kaala                                         Aloha Council, Bsa 104                130 California Ave                                      Wahiawa, HI 96786‐1554                                       First Class Mail
Chartered Organization         Friends Of Kaiser Elem                                   Last Frontier Council 480             3101 Lyon Blvd                                          Oklahoma City, OK 73112                                      First Class Mail
Chartered Organization         Friends Of Kamaile                                       Aloha Council, Bsa 104                85‐180 Ala Akau St                                      Waianae, HI 96792‐2323                                       First Class Mail
Chartered Organization         Friends Of Kelly Elementary                              Cascade Pacific Council 492           4060 SE Mall St                                         Portland, OR 97202‐3152                                      First Class Mail
Chartered Organization         Friends Of Kennett Youth                                 Chester County Council 539            1000 Westlakes Dr, Ste 150                              Berwyn, PA 19312‐2414                                        First Class Mail
Chartered Organization         Friends Of Kia Kima                                      Chickasaw Council 558                 171 S Hollywood St                                      Memphis, TN 38112‐4802                                       First Class Mail
Chartered Organization         Friends Of Killbuck Lodge                                Laurel Highlands Council 527          P.O. Box 33                                             Oakdale, PA 15071‐0033                                       First Class Mail
Chartered Organization         Friends Of Kirkland Scouting                             Chief Seattle Council 609             11447 NE 92nd St                                        Kirkland, WA 98033‐5729                                      First Class Mail
Chartered Organization         Friends Of Kirtland Historic Sites                       Lake Erie Council 440                 17233 Bittersweet Trl                                   Chagrin Falls, OH 44023‐5777                                 First Class Mail
Chartered Organization         Friends Of L W Beecher School                            Connecticut Yankee Council Bsa 072    100 Jewell St                                           New Haven, CT 06515‐1323                                     First Class Mail
Chartered Organization         Friends Of Lakeshore Elementary                          Cascade Pacific Council 492           910 NE 109th Cir                                        Vancouver, WA 98685‐5505                                     First Class Mail
Chartered Organization         Friends Of Lawton Street Commty                          Center                                1225 Lawton St                                          Akron, OH 44320‐2729                                         First Class Mail
Chartered Organization         Friends Of Lee A Tolbert Academy                         Heart of America Council 307          3400 Paseo Blvd                                         Kansas City, MO 64109‐2429                                   First Class Mail
Chartered Organization         Friends Of Lee Elementary                                Last Frontier Council 480             431 SW 29th St                                          Oklahoma City, OK 73109‐6724                                 First Class Mail
Chartered Organization         Friends Of Leggett Elementary School                     Great Trail 433                       619 Sumner St                                           Akron, OH 44311                                              First Class Mail
Chartered Organization         Friends Of Leihoku Elementary                            Aloha Council, Bsa 104                86‐285 Leihoku St                                       Waianae, HI 96792‐2958                                       First Class Mail
Chartered Organization         Friends Of Linc Johnson Elementary                       Heart of America Council 307          10900 Marsh Ave                                         Kansas City, MO 64134‐3042                                   First Class Mail
Chartered Organization         Friends Of Lincoln Bassett Community                     Connecticut Yankee Council Bsa 072    130 Bassett St                                          New Haven, CT 06511‐1879                                     First Class Mail
Chartered Organization         Friends Of Lincoln Leadership Academy                    Minsi Trails Council 502              1414 E Cedar St                                         Allentown, PA 18109‐2308                                     First Class Mail
Chartered Organization         Friends Of Long S.T.E.A.M. Academy                       Las Vegas Area Council 328            2000 S Walnut Rd                                        Las Vegas, NV 89104‐5007                                     First Class Mail
Chartered Organization         Friends Of Longfellow School                             Heart of America Council 307          2830 Holmes St                                          Kansas City, MO 64109‐1145                                   First Class Mail
Chartered Organization         Friends Of Lovelady Family Trust                         San Diego Imperial Council 049        12301 Zelzah Ave                                        Granada Hills, CA 91344‐2017                                 First Class Mail
Chartered Organization         Friends Of Machias Cub Scouts                            Katahdin Area Council 216             33 Church Ln                                            Marshfield, ME 04654‐5130                                    First Class Mail
Chartered Organization         Friends Of Maili                                         Aloha Council, Bsa 104                87‐129 Kulala Pl                                        Waianae, HI 96792‐3364                                       First Class Mail
Chartered Organization         Friends Of Makaha                                        Aloha Council, Bsa 104                84‐868 Hana St                                          Waianae, HI 96792‐2248                                       First Class Mail
Chartered Organization         Friends Of Margaret Wills Elementary                     Golden Spread Council 562             3500 SW 11th Ave                                        Amarillo, TX 79106‐6401                                      First Class Mail
Chartered Organization         Friends Of Marlborough Community Center                  Heart of America Council 307          8200 Paseo Blvd                                         Kansas City, MO 64131‐2326                                   First Class Mail
Chartered Organization         Friends Of Martin City Elem Linc                         Heart of America Council 307          201 E 133rd St                                          Kansas City, MO 64145‐1408                                   First Class Mail
Chartered Organization         Friends Of Martin Volunteer Fire Dept                    Black Hills Area Council 695 695      P.O. Box 841                                            Martin, SD 57551‐0841                                        First Class Mail
Chartered Organization         Friends Of Mason Clc                                     Great Trail 433                       700 E Exchange St                                       Akron, OH 44306‐1036                                         First Class Mail
Chartered Organization         Friends Of Mata                                          Circle Ten Council 571                7420 La Vista Dr                                        Dallas, TX 75214‐4230                                        First Class Mail
Chartered Organization         Friends Of Maypearl                                      Circle Ten Council 571                P.O. Box 507                                            Maypearl, TX 76064‐0507                                      First Class Mail
Chartered Organization         Friends Of Mckinley                                      Three Harbors Council 636             2435 N 89th St                                          Wauwatosa, WI 53226‐1803                                     First Class Mail
Chartered Organization         Friends Of Mckinley Elementary School                    Minsi Trails Council 502              1124 W Turner St                                        Allentown, PA 18102‐3865                                     First Class Mail
Chartered Organization         Friends Of Medinah School District 11                    Three Fires Council 127               700 E Granville Ave                                     Roselle, IL 60172‐1406                                       First Class Mail
Chartered Organization         Friends Of Melcher Elementary School                     Heart of America Council 307          3958 Chelsea Ave                                        Kansas City, MO 64130‐1620                                   First Class Mail
Chartered Organization         Friends Of Melita Island                                 Montana Council 315                   General Delivery                                        Big Arm, MT 59910                                            First Class Mail
Chartered Organization         Friends Of Melrose                                       San Francisco Bay Area Council 028    357 Hanover Ave                                         Oakland, CA 94606‐1372                                       First Class Mail
Chartered Organization         Friends Of Merrill Park Elementary                       Water and Woods Council 782           1800 Grout St                                           Saginaw, MI 48602‐1034                                       First Class Mail
Chartered Organization         Friends Of Middlebrook School                            Connecticut Yankee Council Bsa 072    6254 Main St                                            Trumbull, CT 06611‐2096                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                   Page 133 of 442
                                                                                 Case 20-10343-LSS                                Doc 8171                                            Filed 01/06/22                                                   Page 149 of 457
                                                                                                                                                                         Exhibit B
                                                                                                                                                                          Service List
                                                                                                                                                                   Served as set forth below

        Description                                                       Name                                                                                         Address                                                                                           Email              Method of Service
Chartered Organization         Friends Of Millridge School                              Lake Erie Council 440                950 Millridge Rd                                                Highland Heights, OH 44143‐3114                                                     First Class Mail
Chartered Organization         Friends Of Millwood School                               Last Frontier Council 480            6710 N Martin Luther King Ave                                   Oklahoma City, OK 73111‐7943                                                        First Class Mail
Chartered Organization         Friends Of Monkton Methodist Church                      Green Mountain 592                   Silver St                                                       Monkton, VT 05469                                                                   First Class Mail
Chartered Organization         Friends Of Montclair Scouting                            San Francisco Bay Area Council 028   P.O. Box 13301                                                  Oakland, CA 94661‐0301                                                              First Class Mail
Chartered Organization         Friends Of Montclaire School                             Pacific Skyline Council 031          1148 Saint Joseph Ave                                           Los Altos, CA 94024‐6755                                                            First Class Mail
Chartered Organization         Friends Of Moon                                          Last Frontier Council 480            1901 NE 13th St                                                 Oklahoma City, OK 73117‐3613                                                        First Class Mail
Chartered Organization         Friends Of Moore Elementary School                       Flint River Council 095              201 Cabin Creek Dr                                              Griffin, GA 30223‐3121                                                              First Class Mail
Chartered Organization         Friends Of Morris                                        Orange County Council 039            9952 Graham St                                                  Cypress, CA 90630‐3815                                                              First Class Mail
Chartered Organization         Friends Of Mosser Elementary School                      Minsi Trails Council 502             129 S Dauphin St                                                Allentown, PA 18109‐2725                                                            First Class Mail
Chartered Organization         Friends Of Mt. Pleasant Schools                          Water and Woods Council 782          1706 Fessenden Ave                                              Mount Pleasant, MI 48858‐2140                                                       First Class Mail
Chartered Organization         Friends Of Mukhanyo                                      Occoneechee 421                      P.O. Box 51385                                                  Durham, NC 27717‐1385                                                               First Class Mail
Chartered Organization         Friends Of Murray County Youth                           Northwest Georgia Council 100        501 S 5th Ave                                                   Chatsworth, GA 30705‐2816                                                           First Class Mail
Chartered Organization         Friends Of New England Base Camp                         The Spirit of Adventure 227          411 Unquity Rd                                                  Milton, MA 02186‐3634                                                               First Class Mail
Chartered Organization         Friends Of Normandy School                               Lake Erie Council 440                26920 Normandy Rd                                               Bay Village, OH 44140‐2324                                                          First Class Mail
Chartered Organization         Friends Of North School                                  Three Fires Council 127              1680 Brickville Rd                                              Sycamore, IL 60178‐1004                                                             First Class Mail
Chartered Organization         Friends Of Northeast Middel School                       Minsi Trails Council 502             1170 Fernwood St                                                Bethlehem, PA 18018‐3016                                                            First Class Mail
Chartered Organization         Friends Of Northern Johnson County Youth                 Heart of America Council 307         8725 Rosehill Rd, Ste 119                                       Lenexa, KS 66215‐4611                                                               First Class Mail
Chartered Organization         Friends Of Nylt                                          Chief Seattle Council 609            10126 127th Ave Ne                                              Kirkland, WA 98033‐5223                                                             First Class Mail
Chartered Organization         Friends Of Olean School                                  Allegheny Highlands Council 382      410 W Sullivan St                                               Olean, NY 14760‐2522                                                                First Class Mail
Chartered Organization         Friends Of Operation Breakthrough                        Heart of America Council 307         3039 Troost Ave                                                 Kansas City, MO 64109‐1540                                                          First Class Mail
Chartered Organization         Friends Of Optima School PTA                             Golden Spread Council 562            Rr 1 Box 188                                                    Optima, OK 73945                                                                    First Class Mail
Chartered Organization         Friends Of Otken                                         Andrew Jackson Council 303           7737 Tom Ln                                                     Summit, MS 39666‐9243                                                               First Class Mail
Chartered Organization         Friends Of Our School                                    Potawatomi Area Council 651          111 South St                                                    Johnson Creek, WI 53038‐9702                                                        First Class Mail
Chartered Organization         Friends Of Pack & Troop 177                              Chief Seattle Council 609            P.O. Box 222                                                    Bothell, WA 98041‐0222                                                              First Class Mail
Chartered Organization         Friends Of Pack 1                                        Aloha Council, Bsa 104               P.O. Box 1919                                                   Honolulu, HI 96805‐1919                                                             First Class Mail
Chartered Organization         Friends Of Pack 102                                      Longs Peak Council 062               5660 Prevailing Dr                                              Cheyenne, WY 82009‐9724                                                             First Class Mail
Chartered Organization         Friends Of Pack 104                                      Mt Diablo‐Silverado Council 023      8311 Buckingham Dr, Apt A                                       El Cerrito, CA 94530‐2529                                                           First Class Mail
Chartered Organization         Friends Of Pack 112                                      c/o David Olinger                    Circle Ten Council 571                                                                             7300 Plano, TX 75024                             First Class Mail
Chartered Organization         Friends Of Pack 12                                       Caddo Area Council 584               4801 Lionel Ave                                                 Texarkana, TX 75503‐0437                                                            First Class Mail
Chartered Organization         Friends Of Pack 144                                      Great Lakes Fsc 272                  8401 Constitution Blvd                                          Sterling Heights, MI 48313‐3900                                                     First Class Mail
Chartered Organization         Friends Of Pack 1532                                     Three Harbors Council 636            3531 W Southland Dr                                             Franklin, WI 53132‐8437                                                             First Class Mail
Chartered Organization         Friends Of Pack 186                                      Longs Peak Council 062               435 N 35th Ave, Lot 387                                         Greeley, CO 80631‐9203                                                              First Class Mail
Chartered Organization         Friends Of Pack 23                                       Pathway To Adventure 456             1525 Alima Ter                                                  La Grange Park, IL 60526‐1332                                                       First Class Mail
Chartered Organization         Friends Of Pack 2525                                     National Capital Area Council 082    5474 Joseph Johnston Ln                                         Centreville, VA 20120‐2619                                                          First Class Mail
Chartered Organization         Friends Of Pack 26                                       Great Swest Council 412              1412 Estancia Ave                                               Grants, NM 87020‐2324                                                               First Class Mail
Chartered Organization         Friends Of Pack 261                                      Catalina Council 011                 326 E Burrows St                                                Tucson, AZ 85704‐5713                                                               First Class Mail
Chartered Organization         Friends Of Pack 28                                       Pathway To Adventure 456             1111 S Grove Ave                                                Oak Park, IL 60304‐1908                                                             First Class Mail
Chartered Organization         Friends Of Pack 31                                       Mount Baker Council, Bsa 606         2806 93rd Pl Se                                                 Everett, WA 98208‐3726                                                              First Class Mail
Chartered Organization         Friends Of Pack 312                                      Three Fires Council 127              153 S Randall Rd                                                Aurora, IL 60506‐4726                                                               First Class Mail
Chartered Organization         Friends Of Pack 318                                      Pikes Peak Council 060               7324 Centennial St                                              Fountain, CO 80817‐1353                                                             First Class Mail
Chartered Organization         Friends Of Pack 321                                      Minsi Trails Council 502             1811 Monocacy St                                                Bethlehem, PA 18018‐1915                                                            First Class Mail
Chartered Organization         Friends Of Pack 329                                      Grand Canyon Council 010             P.O. Box 47481                                                  Phoenix, AZ 85068‐7481                                                              First Class Mail
Chartered Organization         Friends Of Pack 3481                                     Montana Council 315                  P.O. Box 1718                                                   Red Lodge, MT 59068‐1718                                                            First Class Mail
Chartered Organization         Friends Of Pack 358                                      Three Fires Council 127              2001 Heather Dr                                                 Aurora, IL 60506‐1800                                                               First Class Mail
Chartered Organization         Friends Of Pack 39                                       Pathway To Adventure 456             741 N Grove Ave                                                 Oak Park, IL 60302‐1551                                                             First Class Mail
Chartered Organization         Friends Of Pack 4                                        Three Fires Council 127              449 New Indian Trail Ct                                         Aurora, IL 60506‐2206                                                               First Class Mail
Chartered Organization         Friends Of Pack 4                                        Potawatomi Area Council 651          520 S Allen Rd                                                  Waukesha, WI 53186‐4002                                                             First Class Mail
Chartered Organization         Friends Of Pack 4236                                     Montana Council 315                  3180 Quarter Horse Ct                                           Helena, MT 59602‐8004                                                               First Class Mail
Chartered Organization         Friends Of Pack 4243                                     Last Frontier Council 480            P.O. Box 38                                                     Lone Wolf, OK 73655‐0038                                                            First Class Mail
Chartered Organization         Friends Of Pack 501                                      National Capital Area Council 082    3435 Fort Lyon Dr                                               Woodbridge, VA 22192‐1037                                                           First Class Mail
Chartered Organization         Friends Of Pack 5155 & Troop 5155 (Fos)                  Buckeye Council 436                  6088 Alliance Rd Nw                                             Malvern, OH 44644‐9445                                                              First Class Mail
Chartered Organization         Friends Of Pack 52                                       Circle Ten Council 571               9706 Pinehurst Dr                                               Rowlett, TX 75089‐8511                                                              First Class Mail
Chartered Organization         Friends Of Pack 538                                      Three Harbors Council 636            6558 S Dory Dr                                                  Franklin, WI 53132                                                                  First Class Mail
Chartered Organization         Friends Of Pack 54                                       Caddo Area Council 584               163 Mcnully Ln                                                  De Queen, AR 71832‐8402                                                             First Class Mail
Chartered Organization         Friends Of Pack 585, Inc                                 Sam Houston Area Council 576         5905 S Mason Rd                                                 Katy, TX 77450‐5461                                                                 First Class Mail
Chartered Organization         Friends Of Pack 641                                      Cascade Pacific Council 492          19760 NW Metolius Dr                                            Portland, OR 97229‐2866                                                             First Class Mail
Chartered Organization         Friends Of Pack 679                                      Las Vegas Area Council 328           5625 Corbett St                                                 Las Vegas, NV 89130‐1419                                                            First Class Mail
Chartered Organization         Friends Of Pack 683                                      Denver Area Council 061              9174 Madras Ct                                                  Highlands Ranch, CO 80130‐4440                                                      First Class Mail
Chartered Organization         Friends Of Pack 715                                      Las Vegas Area Council 328           850 Scholar St                                                  Henderson, NV 89002‐6588                                                            First Class Mail
Chartered Organization         Friends Of Pack 858                                      Greater St Louis Area Council 312    549 Quarterhorse Trl                                            Saint Peters, MO 63376‐3751                                                         First Class Mail
Chartered Organization         Friends Of Pack 895                                      Circle Ten Council 571               7415 Carta Valley Dr                                            Dallas, TX 75248‐3015                                                               First Class Mail
Chartered Organization         Friends Of Pack 931                                      Las Vegas Area Council 328           1688 Amador Ln                                                  Henderson, NV 89012‐3612                                                            First Class Mail
Chartered Organization         Friends Of Pack And Troop 531                            Heart of America Council 307         8603 E 116th St                                                 Kansas City, MO 64134‐4009                                                          First Class Mail
Chartered Organization         Friends Of Palolo                                        Aloha Council, Bsa 104               2106 10th Ave                                                   Honolulu, HI 96816‐3025                                                             First Class Mail
Chartered Organization         Friends Of Pelham Pack 8                                 Westchester Putnam 388               301 3rd Ave                                                     Pelham, NY 10803‐1148                                                               First Class Mail
Chartered Organization         Friends Of Pierce Elementary                             Last Frontier Council 480            2701 S Tulsa Ave                                                Oklahoma City, OK 73108‐4621                                                        First Class Mail
Chartered Organization         Friends Of Pingree Grove Fire Dept                       Three Fires Council 127              39W160 Plank Rd                                                 Plato Center, IL 60124                                                              First Class Mail
Chartered Organization         Friends Of Pleasant Grove Elem                           Last Frontier Council 480            1927 E Walnut St                                                Shawnee, OK 74801‐8146                                                              First Class Mail
Chartered Organization         Friends Of Pleasant Hill                                 Last Frontier Council 480            4346 NE 36th St                                                 Forest Park, OK 73121‐5400                                                          First Class Mail
Chartered Organization         Friends Of Possibilities                                 Three Harbors Council 636            5301 N Milwaukee River Pkwy                                     Milwaukee, WI 53209‐5141                                                            First Class Mail
Chartered Organization         Friends Of Post 6740                                     Rainbow Council 702                  140 Turtle St                                                   Shorewood, IL 60404‐9486                                                            First Class Mail
Chartered Organization         Friends Of Prairie Queen                                 Last Frontier Council 480            1325 SW 66th St                                                 Oklahoma City, OK 73159‐3126                                                        First Class Mail
Chartered Organization         Friends Of Prairie View Grade School                     Three Fires Council 127              P.O. Box 6702                                                   Elgin, IL 60121‐6702                                                                First Class Mail
Chartered Organization         Friends Of Rainier Valley                                Chief Seattle Council 609            8825 Rainier Ave S                                              Seattle, WA 98118‐4928                                                              First Class Mail
Chartered Organization         Friends Of Reilly Elementary                             Pathway To Adventure 456             3650 W School St                                                Chicago, IL 60618‐5358                                                              First Class Mail
Chartered Organization         Friends Of Reilly School                                 Pathway To Adventure 456             3650 W School St                                                Chicago, IL 60618‐5358                                                              First Class Mail
Chartered Organization         Friends Of Resica Falls                                  Cradle of Liberty Council 525        1200 Resica Falls Rd                                            East Stroudsburg, PA 18302‐9736                                                     First Class Mail
Chartered Organization         Friends Of Rhs Expeditionary Academy                     Great Trail 433                      1400 N Mantua St                                                Kent, OH 44240‐2334                                                                 First Class Mail
Chartered Organization         Friends Of Richmond Elementary                           Cascade Pacific Council 492          125 NE 73rd Ave                                                 Portland, OR 97213‐5643                                                             First Class Mail
Chartered Organization         Friends Of Rickover                                      Pathway To Adventure 456             5900 N Glenwood Ave                                             Chicago, IL 60660‐3312                                                              First Class Mail
Chartered Organization         Friends Of Ritter Elementary School                      Minsi Trails Council 502             790 Plymouth St                                                 Allentown, PA 18109‐2353                                                            First Class Mail
Chartered Organization         Friends Of Riverview Scouting, Inc                       Greater Tampa Bay Area 089           13194 US Hwy 301 S 320                                          Riverview, FL 33578‐7410                                                            First Class Mail
Chartered Organization         Friends Of Roberto Clemente                              Connecticut Yankee Council Bsa 072   360 Columbus Ave                                                New Haven, CT 06519‐1516                                                            First Class Mail
Chartered Organization         Friends Of Robinson Clc                                  Great Trail 433                      1156 4th Ave                                                    Akron, OH 44306‐1655                                                                First Class Mail
Chartered Organization         Friends Of Rockwall Scouting                             Circle Ten Council 571               705 Robin Dr                                                    Rockwall, TX 75087‐4120                                                             First Class Mail
Chartered Organization         Friends Of Rockwood                                      Last Frontier Council 480            3101 SW 24th St                                                 Oklahoma City, OK 73108‐5236                                                        First Class Mail
Chartered Organization         Friends Of Ronnow                                        Las Vegas Area Council 328           1100 Lena St                                                    Las Vegas, NV 89101‐1826                                                            First Class Mail
Chartered Organization         Friends Of Roxborough Scouting, Inc                      Denver Area Council 061              5650 Greenwood Plaza Blvd, Ste 225J                             Greenwood Village, CO 80111‐2309                                                    First Class Mail
Chartered Organization         Friends Of Sallie Curtis                                 Three Rivers Council 578             640 N Circuit Dr                                                Beaumont, TX 77706‐4516                                                             First Class Mail
Chartered Organization         Friends Of Sallie Curtis Pack 122                        Three Rivers Council 578             1145 Ivy Ln                                                     Beaumont, TX 77706‐6155                                                             First Class Mail
Chartered Organization         Friends Of Sandy Troop 668                               Cascade Pacific Council 492          P.O. Box 1823                                                   Sandy, OR 97055‐1823                                                                First Class Mail
Chartered Organization         Friends Of School District 73 1/2                        Pathway To Adventure 456             8000 E Prairie Rd                                               Skokie, IL 60076‐3402                                                               First Class Mail
Chartered Organization         Friends Of Schumacher Clc                                Great Trail 433                      1020 Hartford Ave                                               Akron, OH 44320‐2710                                                                First Class Mail
Chartered Organization         Friends Of Scouting At Beverly School                    Great Lakes Fsc 272                  17870 Locherbie Ave                                             Beverly Hills, MI 48025‐4161                                                        First Class Mail
Chartered Organization         Friends Of Scouting At Longfellow School                 Northern Lights Council 429          20 29th Ave Ne                                                  Fargo, ND 58102‐1711                                                                First Class Mail
Chartered Organization         Friends Of Scouting At Warwick School                    Northern Lights Council 429          210 4th Ave                                                     Warwick, ND 58381‐8118                                                              First Class Mail
Chartered Organization         Friends Of Scouting Burkburnett Inc                      Northwest Texas Council 587          958 Cropper Rd                                                  Burkburnett, TX 76354‐3055                                                          First Class Mail
Chartered Organization         Friends Of Scouting Downeast Inc                         East Carolina Council 426            P.O. Box 94                                                     Smyrna, NC 28579‐0094                                                               First Class Mail
Chartered Organization         Friends Of Scouting In Willow Creek, Inc                 Denver Area Council 061              9540 E Grand Ave                                                Greenwood Village, CO 80111‐1342                                                    First Class Mail
Chartered Organization         Friends Of Scouting Menwith Hill                         Transatlantic Council, Bsa 802       Psc 45 Box 518                                                  Apo, AE 09468‐0006                                                                  First Class Mail
Chartered Organization         Friends Of Scouting Menwith Hill                         Transatlantic Council, Bsa 802       Psc 45 Box 971                                                  Apo, AE 09468‐0010                                                                  First Class Mail
Chartered Organization         Friends Of Scouting Pack 65                              Pathway To Adventure 456             826 Keystone Ave                                                River Forest, IL 60305‐1320                                                         First Class Mail
Chartered Organization         Friends Of Scouting Troop 102                            Cape Fear Council 425                1412 Long Leaf Rd                                               Southport, NC 28461‐7702                                                            First Class Mail
Chartered Organization         Friends Of Scouting, Parents Of                          Grayback District Troop 3            1891 Rossmont Dr                                                Redlands, CA 92373‐7219                                                             First Class Mail
Chartered Organization         Friends Of Scouts 132                                    Katahdin Area Council 216            77 Swan St                                                      Calais, ME 04619‐1422                                                               First Class Mail
Chartered Organization         Friends Of Sea Scout Ship 1830                           Southeast Louisiana Council 214      5022 Loyola Ave                                                 New Orleans, LA 70115‐5627                                                          First Class Mail
Chartered Organization         Friends Of Seminole                                      Last Frontier Council 480            P.O. Box 1244                                                   Seminole, OK 74818‐1244                                                             First Class Mail
Chartered Organization         Friends Of Sheppard Scouts                               Northwest Texas Council 587          149 Hart St                                                     Sheppard Afb, TX 76311‐3430                                                         First Class Mail
Chartered Organization         Friends Of Sheridan Elementary School                    Minsi Trails Council 502             521 N 2nd St                                                    Allentown, PA 18102‐2501                                                            First Class Mail
Chartered Organization         Friends Of Shidler Elem                                  Last Frontier Council 480            1415 S Byers Ave                                                Oklahoma City, OK 73129‐1114                                                        First Class Mail
Chartered Organization         Friends Of Ship 299                                      Three Harbors Council 636            1314 E Potter Ave                                               Milwaukee, WI 53207‐1917                                                            First Class Mail
Chartered Organization         Friends Of Short Avenue                                  W.L.A.C.C. 051                       12814 Maxella Ave                                               Los Angeles, CA 90066‐6107                                                          First Class Mail
Chartered Organization         Friends Of S‐O400/Whitefish Bay U M C                    Three Harbors Council 636            819 E Silver Spring Dr                                          Whitefish Bay, WI 53217‐5233                                                        First Class Mail
Chartered Organization         Friends Of South Coffeyville                             Cherokee Area Council 469 469        Rr 1 Box 39‐3                                                   S Coffeyville, OK 74072                                                             First Class Mail
Chartered Organization         Friends Of Southeast Community Center                    Heart of America Council 307         4201 E 63rd St                                                  Kansas City, MO 64130‐4466                                                          First Class Mail
Chartered Organization         Friends Of Spencer Elementary                            Last Frontier Council 480            8900 NE 50th St                                                 Spencer, OK 73084‐1411                                                              First Class Mail
Chartered Organization         Friends Of Sss 717 Ihc                                   Simon Kenton Council 441             310 Mcarthur Ln                                                 Erlanger, KY 41018‐2156                                                             First Class Mail
Chartered Organization         Friends Of St Clement School                             Pathway To Adventure 456             2524 N Orchard St                                               Chicago, IL 60614‐2536                                                              First Class Mail
Chartered Organization         Friends Of St Elizabeth Pack 150                         Heart of America Council 307         7575 Grand Ave                                                  Kansas City, MO 64114‐1927                                                          First Class Mail
Chartered Organization         Friends Of St Elizabeth Troop 150                        Heart of America Council 307         4 Main St                                                       Parkville, MO 64152                                                                 First Class Mail
Chartered Organization         Friends Of Stand Waitie                                  Last Frontier Council 480            1354 SW 30th St                                                 Oklahoma City, OK 73119                                                             First Class Mail
Chartered Organization         Friends Of Strong School                                 Connecticut Yankee Council Bsa 072   130 Orchard St                                                  New Haven, CT 06519‐5550                                                            First Class Mail
Chartered Organization         Friends Of Success Academy                               Heart of America Council 307         1601 Forest Ave                                                 Kansas City, MO 64108‐4000                                                          First Class Mail
Chartered Organization         Friends Of T. Williams                                   Las Vegas Area Council 328           814 Argenta Ct                                                  Henderson, NV 89011‐3079                                                            First Class Mail
Chartered Organization         Friends Of Tamarancho                                    Marin Council 035                    9132 Marysville Rd                                              Oregon House, CA 95962‐9706                                                         First Class Mail
Chartered Organization         Friends Of Tashua Elementary School                      Connecticut Yankee Council Bsa 072   401 Stonehouse Rd                                               Trumbull, CT 06611‐1651                                                             First Class Mail
Chartered Organization         Friends Of Tella Qualla Boundary                         Atlanta Area Council 092             3053 Brookshire Way                                             Duluth, GA 30096‐3692                                                               First Class Mail
Chartered Organization         Friends Of Telstar Elementary                            Last Frontier Council 480            9521 NE 16th St                                                 Oklahoma City, OK 73130‐1401                                                        First Class Mail
Chartered Organization         Friends Of The Circle                                    Great Swest Council 412              1217 Festival Rd Nw                                             Los Lunas, NM 87031‐8599                                                            First Class Mail
Chartered Organization         Friends Of The Foster School                             Mayflower Council 251                55 Downer Ave                                                   Hingham, MA 02043‐1102                                                              First Class Mail
Chartered Organization         Friends Of The Fraternal Order Of Police                 President Gerald R Ford 781          122 North St                                                    Cheboygan, MI 49721                                                                 First Class Mail
Chartered Organization         Friends Of The Husky Adventurers                         Minsi Trails Council 502             815 N Irving St                                                 Allentown, PA 18109‐1832                                                            First Class Mail
Chartered Organization         Friends Of The Jensen Family                             Utah National Parks 591              2202 E Cassidy Way                                              Eagle Mountain, UT 84005‐4637                                                       First Class Mail
Chartered Organization         Friends Of The Knights Of Columbus                       Northern Lights Council 429          722 6th Ave E                                                   Alexandria, MN 56308‐1935                                                           First Class Mail
Chartered Organization         Friends Of The Mic O Say Dancers                         Heart of America Council 307         8603 E 116th St                                                 Kansas City, MO 64134‐4009                                                          First Class Mail
Chartered Organization         Friends Of The Osage Youth                               Heart of America Council 307         10950 NE 320 Rd                                                 Osceola, MO 64776‐2796                                                              First Class Mail
Chartered Organization         Friends Of The Plymouth River School                     Mayflower Council 251                200 High St                                                     Hingham, MA 02043‐3359                                                              First Class Mail
Chartered Organization         Friends Of The Thunderbird District                      Monmouth Council, Bsa 347            705 Ginesi Dr                                                   Morganville, NJ 07751‐1235                                                          First Class Mail
Chartered Organization         Friends Of Topping Elementary                            Heart of America Council 307         4433 N Topping Ave                                              Kansas City, MO 64117‐1554                                                          First Class Mail
Chartered Organization         Friends Of Trailwoods School                             Heart of America Council 307         6201 E 17th St                                                  Kansas City, MO 64126‐2523                                                          First Class Mail
Chartered Organization         Friends Of Troop 1                                       Aloha Council, Bsa 104               96 Kawananakoa Pl                                               Honolulu, HI 96817‐1708                                                             First Class Mail
Chartered Organization         Friends Of Troop 1212                                    Greater Los Angeles Area 033         6229 Hart Ave                                                   Temple City, CA 91780‐1631                                                          First Class Mail
Chartered Organization         Friends Of Troop 130                                     Transatlantic Council, Bsa 802       La Chataigneraie Campus                                         Founex, 1297                            Switzerland                                 First Class Mail
Chartered Organization         Friends Of Troop 16                                      Three Harbors Council 636            280 S Beaumont Ave                                              Brookfield, WI 53005‐6434                                                           First Class Mail
Chartered Organization         Friends Of Troop 17                                      Prairielands 117                     1 Willowbrook Ct                                                Champaign, IL 61820‐7715                                                            First Class Mail
Chartered Organization         Friends Of Troop 184                                     Miami Valley Council, Bsa 444        585 State Route 571                                             Union City, OH 45390‐9006                                                           First Class Mail
Chartered Organization         Friends Of Troop 19                                      Rainbow Council 702                  24222 W Pheasant Chase Dr                                       Plainfield, IL 60544‐3717                                                           First Class Mail
Chartered Organization         Friends Of Troop 22 Davisville                           Narragansett 546                     79 Mesa Dr                                                      North Kingstown, RI 02852‐1667                                                      First Class Mail
Chartered Organization         Friends Of Troop 283 For Scouting                        Heart of America Council 307         8616 E 80th Ter                                                 Raytown, MO 64138‐1347                                                              First Class Mail
Chartered Organization         Friends Of Troop 298                                     Mt Diablo‐Silverado Council 023      P.O. Box 555                                                    Knightsen, CA 94548‐0555                                                            First Class Mail
Chartered Organization         Friends Of Troop 3063                                    Baden‐Powell Council 368             198 County Rd 10A                                               Norwich, NY 13815‐3626                                                              First Class Mail
Chartered Organization         Friends Of Troop 312                                     Caddo Area Council 584               247 County Rd 3769                                              Queen City, TX 75572‐8012                                                           First Class Mail
Chartered Organization         Friends Of Troop 398                                     Three Harbors Council 636            4867 N Newhall St                                               Whitefish Bay, WI 53217‐6047                                                        First Class Mail
Chartered Organization         Friends Of Troop 501                                     Caddo Area Council 584               247 County Rd 3769                                              Queen City, TX 75572‐8012                                                           First Class Mail
Chartered Organization         Friends Of Troop 501                                     National Capital Area Council 082    3435 Fort Lyon Dr                                               Woodbridge, VA 22192‐1037                                                           First Class Mail
Chartered Organization         Friends Of Troop 531                                     Greater Los Angeles Area 033         1517 Adson Pl                                                   South El Monte, CA 91733‐4502                                                       First Class Mail
Chartered Organization         Friends Of Troop 575                                     Chief Seattle Council 609            505 207th Ave Ne                                                Sammamish, WA 98074‐6916                                                            First Class Mail
Chartered Organization         Friends Of Troop 715                                     Las Vegas Area Council 328           620 Burton St                                                   Henderson, NV 89015‐7505                                                            First Class Mail
Chartered Organization         Friends Of Troop 78/Vfw Post 5203                        Chester County Council 539           P.O. Box 22                                                     Malvern, PA 19355‐0022                                                              First Class Mail
Chartered Organization         Friends Of Troop 7‐Olgh                                  Three Harbors Council 636            7152 N 41st St                                                  Milwaukee, WI 53209‐2235                                                            First Class Mail
Chartered Organization         Friends Of Troop 80                                      Sequoia Council 027                  2552 W Tyler Ave                                                Visalia, CA 93291‐8104                                                              First Class Mail
Chartered Organization         Friends Of Troop 840                                     Gulf Stream Council 085              18740 SE River Ridge Rd                                         Tequesta, FL 33469‐8106                                                             First Class Mail
Chartered Organization         Friends Of Troop 918                                     Golden Empire Council 047            231 Holmfirth Ct                                                Roseville, CA 95661‐4035                                                            First Class Mail
Chartered Organization         Friends Of Troost Community                              Heart of America Council 307         1215 E 59th St                                                  Kansas City, MO 64110‐3237                                                          First Class Mail
Chartered Organization         Friends Of Troup School                                  Connecticut Yankee Council Bsa 072   259 Edgewood Ave                                                New Haven, CT 06511‐4106                                                            First Class Mail
Chartered Organization         Friends Of Truman School                                 Connecticut Yankee Council Bsa 072   114 Truman St                                                   New Haven, CT 06519‐2022                                                            First Class Mail
Chartered Organization         Friends Of Trumbull Board Of Education                   Connecticut Yankee Council Bsa 072   6254 Main St                                                    Trumbull, CT 06611‐2096                                                             First Class Mail
Chartered Organization         Friends Of Union Terrace Elemtary School                 Minsi Trails Council 502             1939 W Union St                                                 Allentown, PA 18104‐6739                                                            First Class Mail
Chartered Organization         Friends Of Unit 2020                                     Catalina Council 011                 8952 E Rainsage St                                              Tucson, AZ 85747‐5331                                                               First Class Mail
Chartered Organization         Friends Of University Academy                            Heart of America Council 307         6801 Holmes Rd                                                  Kansas City, MO 64131‐1382                                                          First Class Mail
Chartered Organization         Friends Of Upward Bound Phcc                             Blue Ridge Mtns Council 599          645 Patriot Ave                                                 Martinsville, VA 24112‐6693                                                         First Class Mail
Chartered Organization         Friends Of Van Buren Elem                                Last Frontier Council 480            2700 SW 40th St                                                 Oklahoma City, OK 73119‐3316                                                        First Class Mail
Chartered Organization         Friends Of Vincent Foundation LLC                        Samoset Council, Bsa 627             200 N Center Ave                                                Merrill, WI 54452‐1264                                                              First Class Mail
Chartered Organization         Friends Of Wade School                                   Great Rivers Council 653             8301 W South Trails Dr                                          Columbia, MO 65202‐8766                                                             First Class Mail
Chartered Organization         Friends Of Waltham Scouting                              The Spirit of Adventure 227          109 Taylor St                                                   Waltham, MA 02453‐8630                                                              First Class Mail
Chartered Organization         Friends Of Warford Linc                                  Heart of America Council 307         11400 Cleveland Ave                                             Kansas City, MO 64137‐2335                                                          First Class Mail
Chartered Organization         Friends Of Warren Central Mcjrotc                        Crossroads of America 160            9500 E 16th St                                                  Indianapolis, IN 46229‐2008                                                         First Class Mail
Chartered Organization         Friends Of Washington Elementary School                  Minsi Trails Council 502             837 N 9th St                                                    Allentown, PA 18102‐1425                                                            First Class Mail
Chartered Organization         Friends Of Webelos Resident Camp                         Lincoln Heritage Council 205         3913 Tunnel Mill Rd                                             Charlestown, IN 47111‐9395                                                          First Class Mail
Chartered Organization         Friends Of Welborn Elementary Kidzone                    Heart of America Council 307         5200 Leavenworth Rd                                             Kansas City, KS 66104‐2133                                                          First Class Mail
Chartered Organization         Friends Of Wendell Phillips School                       Heart of America Council 307         2400 Prospect Ave                                               Kansas City, MO 64127‐3938                                                          First Class Mail
Chartered Organization         Friends Of West Concord                                  Gamehaven 299                        56210 160th Ave                                                 West Concord, MN 55985‐6082                                                         First Class Mail
Chartered Organization         Friends Of Westport Roanoke Comm Ctr                     Heart of America Council 307         3601 Roanoke Rd                                                 Kansas City, MO 64111‐3851                                                          First Class Mail
Chartered Organization         Friends Of Weymouth Landing Assoc                        Mayflower Council 251                55 Commercial St                                                Weymouth, MA 02188‐2604                                                             First Class Mail
Chartered Organization         Friends Of Whitney Lodge                                 Sam Houston Area Council 576         P.O. Box 12296                                                  Spring, TX 77391‐2296                                                               First Class Mail
Chartered Organization         Friends Of Whittier Elementary Kid Zone                  Heart of America Council 307         295 S 10th St                                                   Kansas City, KS 66102‐5550                                                          First Class Mail
Chartered Organization         Friends Of Whittier School                               Heart of America Council 307         1012 Bales Ave                                                  Kansas City, MO 64127‐1529                                                          First Class Mail
Chartered Organization         Friends Of Wilderness Medicine                           Blue Grass Council 204               P.O. Box 4611                                                   Winchester, KY 40392‐4611                                                           First Class Mail
Chartered Organization         Friends Of Willoughby Venturing Group                    Greater St Louis Area Council 312    631 Willoughby Ln                                               Collinsville, IL 62234‐3743                                                         First Class Mail
Chartered Organization         Friends Of Willowbrook                                   Last Frontier Council 480            8105 NE 10th St                                                 Oklahoma City, OK 73110‐7225                                                        First Class Mail
Chartered Organization         Friends Of Youth Leadership And Devt Inc                 Southwest Florida Council 088        P.O. Box 2161                                                   Labelle, FL 33975‐2161                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                          Page 134 of 442
                                                                                    Case 20-10343-LSS                                                    Doc 8171                                      Filed 01/06/22                                                Page 150 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                          Name                                                                                                       Address                                                                                                           Email                Method of Service
Chartered Organization         Friends Pleasant Vly Elem Sch                               Minsi Trails Council 502                                476 Polk Township Rd                                       Kunkletown, PA 18058‐7731                                                                             First Class Mail
Chartered Organization         Friends Pleasant Vly Intermediate Sch                       Minsi Trails Council 502                                2233 Route 115                                             Brodheadsville, PA 18322‐7103                                                                         First Class Mail
Chartered Organization         Friends Portage Path Tech Sch                               Great Trail 433                                         55 S Portage Path                                          Akron, OH 44303‐1035                                                                                  First Class Mail
Chartered Organization         Friends Scouting At Dodd Elem Sch                           Minsi Trails Council 502                                1944 S Church St                                           Allentown, PA 18103‐8690                                                                              First Class Mail
Chartered Organization         Friends Scouting At Holy Infancy Sch                        Minsi Trails Council 502                                127 E 4th St                                               Bethlehem, PA 18015‐1701                                                                              First Class Mail
Chartered Organization         Friends Scouting At Lincoln Elem Sch                        Minsi Trails Council 502                                1260 Gresham St                                            Bethlehem, PA 18017‐6100                                                                              First Class Mail
Chartered Organization         Friends Silver City Elem Kidzone                            Heart of America Council 307                            2515 Lawrence Ave                                          Kansas City, KS 66106‐2951                                                                            First Class Mail
Chartered Organization         Friends Sleepy Hollow Elem Sch                              Three Fires Council 127                                 898 Glen Oak Dr                                            Sleepy Hollow, IL 60118‐2680                                                                          First Class Mail
Chartered Organization         Friends Stonewall Tell Elem Sch                             Atlanta Area Council 092                                3310 Stonewall Tell Rd                                     Atlanta, GA 30349‐1154                                                                                First Class Mail
Chartered Organization         Friends Stony Point N Elem Sch Kid Zone                     Heart of America Council 307                            8200 Elizabeth Ave                                         Kansas City, KS 66112‐2601                                                                            First Class Mail
Chartered Organization         Friends Wern Heights Elem Sch                               Calcasieu Area Council 209                              1100 Elizabeth St                                          Westlake, LA 70669‐4364                                                                               First Class Mail
Chartered Organization         Friends Wheatley Elem Extended Day                          Heart of America Council 307                            2415 Agnes Ave                                             Kansas City, MO 64127‐4129                                                                            First Class Mail
Chartered Organization         Friends William Allen White Elem Schl                       Kid Zone                                                2600 N 43rd Ter                                            Kansas City, KS 66104‐3461                                                                            First Class Mail
Chartered Organization         Friends, Knights Columbus Council 4718                      Northern Lights Council 429                             722 6th Ave E                                              Alexandria, MN 56308‐1935                                                                             First Class Mail
Chartered Organization         Friends, Office, Mayor Chicago Ridge                        Pathway To Adventure 456                                10455 Ridgeland Ave                                        Chicago Ridge, IL 60415‐1513                                                                          First Class Mail
Chartered Organization         Friendship Baptist Church                                   Georgia‐Carolina 093                                    515 Richland Ave E                                         Aiken, SC 29801‐4557                                                                                  First Class Mail
Chartered Organization         Friendship Baptist Church                                   Sam Houston Area Council 576                            25979 Kickapoo Rd                                          Hockley, TX 77447‐6367                                                                                First Class Mail
Chartered Organization         Friendship Baptist Church                                   Heart of Virginia Council 602                           1305 Arlington Rd                                          Hopewell, VA 23860‐6115                                                                               First Class Mail
Chartered Organization         Friendship Baptist Church                                   Middle Tennessee Council 560                            11821 Sparta Hwy                                           Rock Island, TN 38581‐5345                                                                            First Class Mail
Chartered Organization         Friendship Baptist Church                                   Longhorn Council 662                                    4396 Main St                                               The Colony, TX 75056‐2802                                                                             First Class Mail
Chartered Organization         Friendship Baptist Church                                   Orange County Council 039                               17145 Bastanchury Rd                                       Yorba Linda, CA 92886‐1703                                                                            First Class Mail
Voting Party                   Friendship Baptist Church Of Yorba Linda                    17145 Bastanchury Ave                                   Yorba Linda, CA 92886                                                                                                       kjordan@wearefriendship.church       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship Baptist Church Of Yorba Linda Ca                 Attn: Kenneth Jordan Jr                                 17145 Bastanchury Rd                                       Yorba Linda, CA 92886                                            kjordan@wearefriendship.church       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Friendship Church                                           Great Lakes Fsc 272                                     1240 N Beck Rd                                             Canton, WI 44187                                                                                      First Class Mail
Chartered Organization         Friendship Church                                           Great Lakes Fsc 272                                     53245 Van Dyke Rd                                          Shelby, MI 48094                                                                                      First Class Mail
Chartered Organization         Friendship Community Church                                 Atlanta Area Council 092                                4141 Old Fairburn Rd                                       College Park, GA 30349‐1747                                                                           First Class Mail
Voting Party                   Friendship ‐Finley‐ Bridgeton                               c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Friendship Mens Club                                        Greater Alabama Council 001                             16479 Lucas Ferry Rd                                       Athens, AL 35611‐2275                                                                                 First Class Mail
Chartered Organization         Friendship Methodist Church Mens Club                       Suwannee River Area Council 664                         P.O. Box 305                                               Donalsonville, GA 39845‐0305                                                                          First Class Mail
Chartered Organization         Friendship Missionary Baptist Church                        South Georgia Council 098                               411 Cotton Ave                                             Americus, GA 31709‐3013                                                                               First Class Mail
Chartered Organization         Friendship Missionary Baptist Church                        Mecklenburg County Council 415                          3400 Beatties Ford Rd                                      Charlotte, NC 28216‐3740                                                                              First Class Mail
Chartered Organization         Friendship Missionary Baptist Church                        Pee Dee Area Council 552                                1111 Grainger Rd                                           Conway, SC 29527‐4409                                                                                 First Class Mail
Chartered Organization         Friendship Presbyterian Church                              Northeast Georgia Council 101                           8531 Macon Hwy                                             Athens, GA 30606‐5336                                                                                 First Class Mail
Voting Party                   Friendship Umc                                              R. Kelly Harvell                                        2625 Bristol Rd                                            New Harbor, ME 04554                                             PastorHarvell@gmail.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship Umc                                              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship Umc                                              Attn: David Flood                                       16 Horton Way                                              Friendship, ME 04547                                             David.flood@roadrunner.com           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship Umc ‐ Falls Church                               c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship Umc (Newton)                                     Attn: Frances Ballard, Treasurer                        2900 Hwy 16                                                Newton, NC 28658                                                 lbowen@wnccumc.net                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship Umc 5222 Nc 150 Browns Summit                    c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship Umc 947 Friendship Rd, Statesville, Nc 28625     c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship United Methodist Church                          Attn: Drew Venters, Treasurer                           P.O. Box 72                                                Friendship, MD 20758                                             treasurer@friendshipmethodist.org    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship United Methodist Church                          Attn: Marie L Huber                                     16479 Lucas Ferry Rd                                       Athens, AL 35611                                                 steve@friendshipumc.org              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship United Methodist Church                          Attn: Margarett Goodson, Treasurer                      22388 Ford Rd                                              Porter, TX 77365                                                 Revavanhooser@gmail.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship United Methodist Church                          Attn: Frank V. James                                    322 West Academy St                                        Kingstree, SC 29556                                              frankvjames@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship United Methodist Church                          Kay G. Crowe                                            1613 Main St                                               Columbia, SC 29202                                               chancellor@umcsc.org                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship United Methodist Church                          Attn: Treasurer, Friendship Umc                         1025 Springfield Pike                                      Wyoming, OH 45215                                                                                     First Class Mail
Voting Party                   Friendship United Methodist Church Of Rock Hill             Attn: Jim Ransom                                        1200 Neely Store Rd                                        Rock Hill, SC 29730                                              ransom2@comporium.net                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Friendship United Methodist Church Of Rock Hill             Attn: Jim Ransom                                        3108 Shandon Rd                                            Rock Hill, SC 29730                                              ransom2@comporium.net                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Friendship Utd Methodist Church                             Rainbow Council 702                                     305 E Boughton Rd                                          Bolingbrook, IL 60440‐2001                                                                            First Class Mail
Chartered Organization         Friendship Utd Methodist Church                             Old N State Council 070                                 4612 Friend Pat Mill Rd                                    Burlington, NC 27215‐8682                                                                             First Class Mail
Chartered Organization         Friendship Utd Methodist Church                             Dan Beard Council, Bsa 438                              1025 Springfield Pike                                      Cincinnati, OH 45215‐2636                                                                             First Class Mail
Chartered Organization         Friendship Utd Methodist Church                             Suwannee River Area Council 664                         P.O. Box 305                                               Donalsonville, GA 39845‐0305                                                                          First Class Mail
Chartered Organization         Friendship Utd Methodist Church                             National Capital Area Council 082                       3527 Gallows Rd                                            Falls Church, VA 22042‐3527                                                                           First Class Mail
Chartered Organization         Friendship Utd Methodist Church                             Simon Kenton Council 441                                582 Ed Warren Dr                                           Friendship, OH 45630                                                                                  First Class Mail
Chartered Organization         Friendship Utd Methodist Church                             Yocona Area Council 748                                 1689 State Rd 30 W                                         Myrtle, MS 38650‐9529                                                                                 First Class Mail
Chartered Organization         Friendship Utd Methodist Church                             Piedmont Council 420                                    P.O. Box 1373                                              Newton, NC 28658‐1373                                                                                 First Class Mail
Chartered Organization         Friendswood Friends Church                                  Bay Area Council 574                                    502 S Friendswood Dr                                       Friendswood, TX 77546‐4526                                                                            First Class Mail
Voting Party                   Friendswood United Methodist Church                         Attn: Finance Dir                                       110 N Friendswood Dr                                       Friendswood, TX 77546                                            info@friendswoodmethodist.org        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Friendswood Utd Methodist Church                            Bay Area Council 574                                    204 W Edgewood Dr                                          Friendswood, TX 77546                                                                                 First Class Mail
Chartered Organization         Frisco Community Bible Church                               Circle Ten Council 571                                  10055 Warren Pkwy                                          Frisco, TX 75035‐6076                                                                                 First Class Mail
Chartered Organization         Frisco Police Dept                                          Circle Ten Council 571                                  7200 Stonebrook Pkwy                                       Frisco, TX 75034‐5713                                                                                 First Class Mail
Voting Party                   Frist Umc El Monte                                          Attn: Kathleen Chavez                                   11329 Emery St                                             El Monte, CA 91732                                               katysarrow@aol.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         From The Heart Church Ministries Inc                        National Capital Area Council 082                       4929 Allentown Rd                                          Suitland, MD 20746‐3934                                                                               First Class Mail
Voting Party                   Fromberg United Methodist Church                            Attn: Debby Elton                                       P.O. Box 473                                               Fromberg, MT 59029                                                                                    First Class Mail
Chartered Organization         Front Royal Moose Lodge 829                                 Shenandoah Area Council 598                             P.O. Box 95                                                Front Royal, VA 22630‐0002                                                                            First Class Mail
Chartered Organization         Front Royal Presbyterian Church                             Shenandoah Area Council 598                             115 Luray Ave                                              Front Royal, VA 22630‐2517                                                                            First Class Mail
Chartered Organization         Front Royal Utd Methodist Ch‐ Mens Club                     Shenandoah Area Council 598                             1 W Main St                                                Front Royal, VA 22630‐2697                                                                            First Class Mail
Chartered Organization         Front Royal Utd Methodist Ch= Mens Club                     Shenandoah Area Council 598                             1 Main St                                                  Front Royal, VA 22630                                                                                 First Class Mail
Chartered Organization         Front Royal Utd Methodist Church                            Mens Club                                               1 W Main St                                                Front Royal, VA 22630‐2697                                                                            First Class Mail
Voting Party                   Front Street United Methodist Church                        Attn: Pastor                                            P.O. Box 2597                                              Burlington, NC 27216                                             info@frontstreetumc.org              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Frontier Communications                                     P.O. Box 740407                                         Cincinnati, OH 45274‐0407                                                                                                                                        First Class Mail
Chartered Organization         Frontier Youth Group                                        Washington Crossing Council 777                         P.O. Box 322                                               Line Lexington, PA 18932‐0322                                                                         First Class Mail
Chartered Organization         Frost Home And School Club                                  Silicon Valley Monterey Bay 055                         530 Gettysburg Dr                                          San Jose, CA 95123‐3234                                                                               First Class Mail
Voting Party                   Frostburg United Methodist Church                           Ronald Keith Tenaglio                                   10609 Piney Mountain Rd Sw                                 Frostburg, MD 21532‐3341                                         rtenaglio@atlanticbb.net             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Frostburg United Methodist Church                           Attn: Ms. Janice Gayle                                  P.O. Box 420                                               48 W Main St                     Frostburg, MD 21532             office@frostburgumc.comcastbiz.net   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Frostig School                                              Greater Los Angeles Area 033                            971 N Altadena Dr                                          Pasadena, CA 91107‐1870                                                                               First Class Mail
Chartered Organization         Frostwood Elementary School PTA                             Sam Houston Area Council 576                            12214 Memorial Dr                                          Houston, TX 77024‐6207                                                                                First Class Mail
Chartered Organization         Fruchthendler School PTA                                    Catalina Council 011                                    7470 E Cloud Rd                                            Tucson, AZ 85750‐2204                                                                                 First Class Mail
Voting Party                   Fruit, Dill, Goodwin And Scholl                             Attn: Chester B Scholl Jr                               32 Shenango Ave                                            P.O. Box 673                     Sharon, PA 16146                cbs@fdgs‐law.com                     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fruita United Methodist Church                              Attn: Pastor and Treasurer                              405 E Aspen Ave                                            Fruita, CO 81521                                                 brotherrog@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Fruitland Community Church                                  Greater St Louis Area Council 312                       6040 US Hwy 61                                             Jackson, MO 63755‐7178                                                                                First Class Mail
Chartered Organization         Fruitland Park Lions Club                                   Central Florida Council 083                             200 Fountain St                                            Fruitland Park, FL 34731                                                                              First Class Mail
Chartered Organization         Fruitport Lions Club                                        President Gerald R Ford 781                             3119 Lily Ct                                               Muskegon, MI 49444‐7719                                                                               First Class Mail
Chartered Organization         Fruitvale Elementary                                        San Francisco Bay Area Council 028                      3200 Boston Ave                                            Oakland, CA 94602‐2813                                                                                First Class Mail
Chartered Organization         Fruitvale Elementary School Parents                         San Francisco Bay Area Council 028                      3200 Boston Ave                                            Oakland, CA 94602‐2813                                                                                First Class Mail
Chartered Organization         Ft Atkinson American Legion Post 348                        Mid‐America Council 326                                 1311 Court St                                              Fort Calhoun, NE 68023                                                                                First Class Mail
Chartered Organization         Ft Benning Masonic Lodge F&Am                               Chattahoochee Council 091                               P.O. Box 3186                                              Columbus, GA 31903‐0186                                                                               First Class Mail
Chartered Organization         Ft Caroline Utd Methodist Church                            North Florida Council 087                               8510 Fort Caroline Rd                                      Jacksonville, FL 32277‐2974                                                                           First Class Mail
Chartered Organization         Ft Donelson Umc Mens Group                                  Middle Tennessee Council 560                            424 Church St                                              Dover, TN 37058‐3005                                                                                  First Class Mail
Chartered Organization         Ft Gibson Police Dept                                       Indian Nations Council 488                              P.O. Box 218                                               Fort Gibson, OK 74434‐0218                                                                            First Class Mail
Voting Party                   Ft Grove Umc ‐ Stony Creek                                  c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Ft Lauderdale Police Dept                                   South Florida Council 084                               1300 W Broward Blvd                                        Fort Lauderdale, FL 33312‐1643                                                                        First Class Mail
Chartered Organization         Ft Lincoln Elementary Pto                                   Northern Lights Council 429                             2007 8th Ave Se                                            Mandan, ND 58554‐5001                                                                                 First Class Mail
Voting Party                   Ft Madison United Methodist Church                          Attn: Roger Becker                                      3111 Ave K                                                 Ft Madison, IA 52627                                             rjbbecker@mediacombb.net             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Ft Madison United Methodist Church                          Attn: Roger Becker                                      510 9th St                                                 Ft Madison, IA 52627                                             fmfstumc@msn.com                     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Ft Oglethorpe Utd Methodist                                 Cherokee Area Council 556                               1733 Battlefield Pkwy                                      Fort Oglethorpe, GA 30742‐4019                                                                        First Class Mail
Chartered Organization         Ft Recovery American Legion Post 345                        Black Swamp Area Council 449                            2490 State Route 49                                        Fort Recovery, OH 45846                                                                               First Class Mail
Chartered Organization         Ft Vancouver Lions Club                                     Cascade Pacific Council 492                             P.O. Box 701                                               Vancouver, WA 98666‐0701                                                                              First Class Mail
Chartered Organization         Ft Wright Civic Club                                        Dan Beard Council, Bsa 438                              115 Kennedy Rd                                             Covington, KY 41011‐3602                                                                              First Class Mail
Voting Party                   Ft. Caroline Umc                                            c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Ft. Washington Collegiate Church                            Greater New York Councils, Bsa 640                      729 W 181st St                                             New York, NY 10033‐4730                                                                               First Class Mail
Voting Party                   Fuel Vm Llc                                                 Attn: Andrew M Curtis                                   10835 Moors End Cir                                        Fishers, IN 46038                                                acurtis@fuelvm.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Fugua Salvation Army Boys & Girls Club                      Atlanta Area Council 092                                405 Lovejoy St NW                                          Atlanta, GA 30313‐2142                                                                                First Class Mail
Firm                           Fujiwara and Rosenbaum, LLC                                 Joseph Rosenbaum                                        1100 Alakea St, 20th Fl, Ste B                             Honolulu, HI 96813                                               jtr@frlawhi.com                      Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Fuller Rd Fire Dept                                         Twin Rivers Council 364                                 1342 Central Ave                                           Albany, NY 12205‐5229                                                                                 First Class Mail
Chartered Organization         Fullerton Elks Lodge 1993                                   Orange County Council 039                               1400 Elks View Ln                                          Fullerton, CA 92835‐4422                                                                              First Class Mail
Chartered Organization         Fullerton Police Dept                                       Orange County Council 039                               237 W Commonwealth Ave                                     Fullerton, CA 92832‐1810                                                                              First Class Mail
Chartered Organization         Fullerton School                                            Lake Erie Council 440                                   3900 E 75th St                                             Cleveland, OH 44105‐3800                                                                              First Class Mail
Chartered Organization         Fullerton Sunrise Rotary                                    Orange County Council 039                               P.O. Box 5351                                              Fullerton, CA 92838‐0351                                                                              First Class Mail
Chartered Organization         Fullerton Union High Jrotc                                  Orange County Council 039                               201 E Chapman Ave                                          Fullerton, CA 92832‐1925                                                                              First Class Mail
Voting Party                   Fulton (Advance) 3689 Nc Highway 801 S, Advance, Nc 27006   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Fulton Breakfast Optimist Club                              Great Rivers Council 653                                P.O. Box 844                                               Fulton, MO 65251‐0844                                                                                 First Class Mail
Chartered Organization         Fulton County Sheriff Office                                Black Swamp Area Council 449                            129 Court House Plz                                        Wauseon, OH 43567‐1300                                                                                First Class Mail
Chartered Organization         Fulton Elementary Commty                                    Learning Center                                         631 S Yellow Springs St                                    Springfield, OH 45506‐2060                                                                            First Class Mail
Voting Party                   Fulton First Umc                                            Attn: Pastor Nancy J Varden                             200 Carr St                                                Fulton, KY 42041                                                 pastorfultonfirst@gmail.com          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fulton First United Methodist Church                        Attn: Treasurer, Fulton First United Methodist Church   1408 State Route 176                                       Fulton, NY 13069                                                 nilesjc@icloud.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Fulton Presbyterian Church                                  Blackhawk Area 660                                      311 N 9th St                                               Fulton, IL 61252‐1897                                                                                 First Class Mail
Voting Party                   Fulton United Methodist Church                              Attn: Steve R Gregory                                   P.O. Box 907                                               Fulton, MS 38843                                                 steveg@fultoninsurance.net           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fulton United Methodist Church                              Attn: Teresa S Rentschler/ Lay Leader                   9581 N 600 E                                               Twelve Mile, IN 46988                                            rentschlerfam@gmail.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Fulton Utd Methodist Church                                 Yocona Area Council 748                                 P.O. Box 279                                               Fulton, MS 38843‐0279                                                                                 First Class Mail
Chartered Organization         Fulton Utd Methodist Mens Club                              Yocona Area Council 748                                 P.O. Box 279                                               Fulton, MS 38843‐0279                                                                                 First Class Mail
Chartered Organization         Fultondale Elementary School                                Greater Alabama Council 001                             950 Central Ave                                            Fultondale, AL 35068‐1976                                                                             First Class Mail
Voting Party                   Fultondale United Methodist Church                          Attn: Peter Frederick Von Herrmann                      1812 Stouts Rd                                             Fultondale, AL 35086                                             fultondaleumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fultonham Union Church                                      Attn: Carl Rhinehart                                    182 Bouck Island Rd                                        Fultonham, NY 12071                                              jjnap@twc.com                        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fultonham Union Church                                      John Lois Napoli                                        3461 State Rte 30                                          Fultonham, NY 12071                                              jjnap@twc.com                        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Fumc                                                        Circle Ten Council 571                                  800 S 9th St                                               Midlothian, TX 76065‐3658                                                                             First Class Mail
Voting Party                   Fumc ‐ Laurel, Ms                                           Attn: Mark Anderson                                     420 5th Ave                                                Laurel, MS 39440                                                 markanderson@laurelfirstumc.org      Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Fumc ‐ Slocomb                                              Alabama‐Florida Council 003                             P.O. Box 304                                               Slocomb, AL 36375‐0304                                                                                First Class Mail
Chartered Organization         Fumc & Lawndale Baptist                                     Piedmont Council 420                                    313 W Main St                                              Lawndale, NC 28090‐9055                                                                               First Class Mail
Voting Party                   Fumc Berwick                                                Attn: Rev Steven Porter                                 P.O. Box 60                                                Berwick, LA 70342                                                fumcberwick@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fumc Boca Raton                                             c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fumc Brownwood                                              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 erice@bradely.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fumc Burleson                                               c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fumc Burleson                                               590 NE Mcalister Rd                                     Burleson, TX 76028                                                                                                                                               First Class Mail
Voting Party                   Fumc Coleman                                                c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 ercie@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fumc Coleman                                                500 W Liveoak                                           Coleman, TX 76834                                                                                                                                                First Class Mail
Voting Party                   Fumc Coppell                                                Bentley Foster                                          429 2 Hertz Rd                                             Coppell, TX 75019                                                bfoster@fumccoppell.org              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fumc Dayton                                                 Attn: Elissa Wilcox, Administrator Fumc Dayton          P.O. Box 12                                                Dayton, TN 37321                                                 fumcdayton@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fumc Dunnellon                                              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fumc Dunnellon                                              21501 W Hwy 40                                          Dunnellon, FL 34431                                                                                                                                              First Class Mail
Voting Party                   Fumc Graham ‐ Graham                                        c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                 erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Fumc Grenada                                                Attn: Daniel Herring                                    161 S Line St                                              Grenada, MS 38901                                                grenadaumc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 135 of 442
                                                                                   Case 20-10343-LSS                                                     Doc 8171                                          Filed 01/06/22                                                    Page 151 of 457
                                                                                                                                                                                              Exhibit B
                                                                                                                                                                                               Service List
                                                                                                                                                                                        Served as set forth below

        Description                                                         Name                                                                                                            Address                                                                                                             Email                      Method of Service
Voting Party                   Fumc Joshua                                                         c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Fumc Kenosha                                                        Attn: Ruth Walls                                3302 100th St                                                  Pleasant Prairie, WI 53158                                           ruthwalls72@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Fumc La Feria                                                       Attn: Treasurer, Fumc La Feria                  P.O. Box 117                                                   La Feria, TX 78559                                                   fumclaferiaoftx@msn.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Fumc Navasota                                                       Attn: Pastor Jeremy Woodley                     616 Holland St                                                 Navasota, TX 77868                                                   navasotaumc@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Fumc Of Kaufman                                                     Circle Ten Council 571                          208 S Jefferson St                                             Kaufman, TX 75142                                                                                             First Class Mail
Voting Party                   Fumc Pahokee                                                        c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Fumc Pahokee                                                        491 E Main St                                   Pahokee, FL 33476                                                                                                                                                            First Class Mail
Voting Party                   Fumc Randleman 301 S Main, Randleman, Nc, 27317                     c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Fumc Royse City Texas                                               Circle Ten Council 571                          P.O. Box 327                                                   Royse City, TX 75189‐0327                                                                                     First Class Mail
Voting Party                   Fumc Skiatook                                                       Attn: Sarah Thornhill                           2094 S Russell St                                              Skiatook, OK 74070                                                   pastor@fumcskiatook.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Fumc Trenton                                                        Attn: Pastor Wayne Walters                      P.O. Box 215                                                   Trenton, TX 75490                                                    fumctrenton@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Fumc Valdese 217 St Germain Ave, Valdese, Nc 28690                  c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Fumc Winnie‐Stowell                                                 Attn: Robert C Shield & Patti Fitzgerald        P.O. Box 1570                                                  117 Freeman St                    Winnie, TX 77665                   drbobshield@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Fun In The Sun                                                      Longs Peak Council 062                          920 A St                                                       Greeley, CO 80631‐2079                                                                                        First Class Mail
Chartered Organization         Fun In The Sun City Of Greeley                                      Longs Peak Council 062                          1992 Greeley Mall                                              Greeley, CO 80631‐8520                                                                                        First Class Mail
Chartered Organization         Fundacion Unidos Para Servir                                        Puerto Rico Council 661                         P.O. Box 1183                                                  Manati, PR 00674‐1183                                                                                         First Class Mail
Chartered Organization         Funkstown American Legion Post 211                                  Mason Dixon Council 221                         P.O. Box 250                                                   Funkstown, MD 21734‐0250                                                                                      First Class Mail
Chartered Organization         Fuquay Varina Utd Methodist Church                                  Occoneechee 421                                 100 S Judd Pkwy Se                                             Fuquay Varina, NC 27526‐7273                                                                                  First Class Mail
Chartered Organization         Fuquay‐Varina Baptist Church                                        Occoneechee 421                                 301 N Woodrow St                                               Fuquay Varina, NC 27526‐2048                                                                                  First Class Mail
Chartered Organization         Fuquay‐Varina Fire Dept                                             Occoneechee 421                                 401 Old Honeycutt Rd                                           Fuquay Varina, NC 27526‐9307                                                                                  First Class Mail
Chartered Organization         Fuquay‐Varina Police Dept                                           Occoneechee 421                                 114 N Main St                                                  Fuquay Varina, NC 27526‐1934                                                                                  First Class Mail
Voting Party                   Fuquay‐Varina United Methodist Church                               Attn: Owen Barrow                               100 Judd Pkwy                                                  Fuquay‐Varina, NC 27603                                              obarrow@fvumc.org                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Fuquay‐Varina Utd Methodist Church                                  Occoneechee 421                                 100 S Judd Pkwy Se                                             Fuquay Varina, NC 27526‐7273                                                                                  First Class Mail
Chartered Organization         Furnace Woods PTA                                                   Westchester Putnam 388                          239 Watch Hill Rd                                              Cortlandt Manor, NY 10567‐6406                                                                                First Class Mail
Chartered Organization         Future Omro Chamber ‐ Main Street                                   Bay‐Lakes Council 635                           130 W Larrabee St                                              Omro, WI 54963‐1330                                                                                           First Class Mail
Voting Party                   Fyffe Methodist Church                                              Attn: Danny Thrash                              P.O. Box 183                                                   Fyffe, AL 35971                                                      drdan@farmerstel.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   G & G Trust Linda Marie Ploski Trustee                              Attn: Linda Marie Ploski                        114 Clerk Hill Rd                                              Prospect, CT 06712                                                   lploski@rep‐am.com                       Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         G & N Unlimited                                                     Sagamore Council 162                            309 N Mill St                                                  North Manchester, IN 46962‐1830                                                                               First Class Mail
Voting Party                   G Men Environmental Services, Inc                                   P.O. Box 269                                    Ely, MN 55731                                                                                                                       bobbi@gmenes.com                         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   G+M Printwear                                                       Attn: Robert Dill                               549 S Broadway                                                 Gloucester City, NJ 08030                                            rdill@gmprintwear.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   G+M Printwear                                                       Mary Beth Caporelli                             549 S Broadway                                                 Gloucester City, NJ 08030                                            mb@gmprintwear.com                       Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   GA Designs                                                          c/o Anju                                        Attn: Sarah Walker                                             75 John Portman Blvd, Ste 7E329   Atlanta, GA 30303                  gaurav@anjujewelry.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Gables Elementary PTA                                               Simon Kenton Council 441                        1680 Becket Ave                                                Columbus, OH 43235‐7308                                                                                       First Class Mail
Chartered Organization         Gabriel'S House                                                     Last Frontier Council 480                       P.O. Box 883                                                   Duncan, OK 73534‐0883                                                                                         First Class Mail
Voting Party                   Gaddis United Methodist Church                                      Attn: Robert Chamberlain, Admin Council Chair   P.O. Box 566                                                   Comfort, TX 78013                                                    chris@wallendorflawoffice.com            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Gadsden Fire Dept                                                   Greater Alabama Council 001                     322 Walnut St                                                  Gadsden, AL 35901‐5257                                                                                        First Class Mail
Voting Party                   Gadsden First United Methodist Church                               Attn: Rev Samuel Hayes                          115 S 5th St                                                   Gadsden, AL 35901                                                    sam@fumcgadsden.org                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Gadsden Golf Carts Inc                                              Greater Alabama Council 001                     323 Ewing Ave                                                  Gadsden, AL 35901‐2518                                                                                        First Class Mail
Chartered Organization         Gadsden Memorial Vfw Post 4384                                      Yucca Council 573                               P.O. Box 3773                                                  Anthony, NM 88021‐3773                                                                                        First Class Mail
Chartered Organization         Gaenslen                                                            Three Harbors Council 636                       1250 E Burleigh St                                             Milwaukee, WI 53212‐2217                                                                                      First Class Mail
Chartered Organization         Gahanna Community Congregational Church                             Simon Kenton Council 441                        470 Havens Corners Rd                                          Gahanna, OH 43230‐3107                                                                                        First Class Mail
Chartered Organization         Gahanna Community Theatre                                           Simon Kenton Council 441                        622 Fawndale Pl                                                Gahanna, OH 43230‐3260                                                                                        First Class Mail
Voting Party                   Gaines Chapel United Methodist Church                               1803 Hwy 72 W                                   Corinth, MS 38834                                                                                                                   treylambert@bellsouth.net                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Gaines United Methodist Church                                      Attn: Thomas F Atheuton                         117 W Clinton St                                               Gaines, MI 48436                                                     office@gainesumc.org                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Firm                           Gaines, Novick, Ponzini, Cossu & Venditti, LLP                      Ted A. Novick, Esq                              1133 Westchester Avenue, Ste N‐202                             White Plains, NY 10604                                               tnovick@gainesllp.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Gainesville Police Dept                                             North Florida Council 087                       413 NW 8th Ave                                                 Gainesville, FL 32601‐4242                                                                                    First Class Mail
Chartered Organization         Gainesville Police Dept                                             Northeast Georgia Council 101                   118 Jesse Jewell Pkwy Se                                       Gainesville, GA 30501‐3750                                                                                    First Class Mail
Chartered Organization         Gainesville Presbyterian Church                                     National Capital Area Council 082               16127 Lee Hwy                                                  Gainesville, VA 20155‐2007                                                                                    First Class Mail
Voting Party                   Gainesville Umc ‐ Gainesville                                       c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Gainesville Utd Methodist Church                                    National Capital Area Council 082               13710 Milestone Ct                                             Gainesville, VA 20155‐2998                                                                                    First Class Mail
Firm                           Gair Gair Conason Rubinowitz Bloom Hershenhorn Steigman & Mackauf   Peter J. Saghir                                 80 Pine Street, 34th Floor                                     New York, New York 10005                                             psaghir@gairgair.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Gaither High School Njrotc                                          Greater Tampa Bay Area 089                      16200 N Dale Mabry Hwy                                         Tampa, FL 33618‐1337                                                                                          First Class Mail
Chartered Organization         Gaithersburg Presbyterian Church                                    National Capital Area Council 082               610 S Frederick Ave                                            Gaithersburg, MD 20877‐1200                                                                                   First Class Mail
Voting Party                   Gak Stonn Llc                                                       107 Kit Carson Rd, Ste A                        Taos, NM 87571‐5949                                                                                                                                                          First Class Mail
Firm                           Galanda Broadman, PLLC                                              Ryan Dreveskracht                               PO Box 15146                                                   Seattle, WA 98115                                                    ryan@galandabroadman.com                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Galapagos Charter PTO                                               Blackhawk Area 660                              2605 School St                                                 Rockford, IL 61101‐5264                                                                                       First Class Mail
Chartered Organization         Galatia Fire Dept                                                   Greater St Louis Area Council 312               305 W Mill St                                                  Galatia, IL 62935                                                                                             First Class Mail
Chartered Organization         Galax Fire & Rescue                                                 Blue Ridge Mtns Council 599                     P.O. Box 147                                                   Galax, VA 24333‐0147                                                                                          First Class Mail
Chartered Organization         Galax Presbyterian Church                                           Blue Ridge Mtns Council 599                     P.O. Box 2                                                     Galax, VA 24333‐0002                                                                                          First Class Mail
Chartered Organization         Galena B.P.O.E. Lodge 882                                           Blackhawk Area 660                              123 N Main St                                                  Galena, IL 61036‐2221                                                                                         First Class Mail
Chartered Organization         Galena City School District                                         Midnight Sun Council 696                        P.O. Box 299                                                   Galena, AK 99741‐0299                                                                                         First Class Mail
Voting Party                   Galena United Methodist Church                                      Attn: Catiana Mckay                             125 S Bench St                                                 Galena, IL 61036                                                     catiana.mckay@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Galesburg Faith United Methodist Church                             Attn: Sue Mcdonald                              876 E Knox St                                                  Galesburg, IL 61401                                                  faithchurchgalesburg@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Galesburg Police Dept                                               Illowa Council 133                              150 S Broad St                                                 Galesburg, IL 61401‐4508                                                                                      First Class Mail
Chartered Organization         Galesburg Railroad Days                                             Illowa Council 133                              P.O. Box 335                                                   Wataga, IL 61488‐0335                                                                                         First Class Mail
Chartered Organization         Galesville Lions Club                                               Gateway Area 624                                P.O. Box 324                                                   Galesville, WI 54630‐0324                                                                                     First Class Mail
Chartered Organization         Galilee Baptist Church                                              Norwela Council 215                             1500 Pierre Ave                                                Shreveport, LA 71103‐3118                                                                                     First Class Mail
Voting Party                   Galilee Episcopal Church                                            Attn: Henry Conde                               3928 Pacific Ave                                               Virginia Beach, VA 23507                                             Henry.conde@galileechurch.net            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Galilee Lutheran Church                                             Potawatomi Area Council 651                     N24W26430 Crestview Dr                                         Pewaukee, WI 53072                                                                                            First Class Mail
Voting Party                   Galilee Lutheran Church                                             Attn: President                                 4652 Mountain Rd                                               Pasadena, MD 21122                                                   admin@glcpasadena.org                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Galilee Ministries Of East Charlotte‐Episcopal Diocese Of Nc        3601 Central Ave                                Charlotte, NC 2820                                                                                                                  galileeeast@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Galilee Missionary Baptist Church                                   Old Hickory Council 427                         4129 Northampton Dr                                            Winston Salem, NC 27105‐3241                                                                                  First Class Mail
Voting Party                   Galilee Umc                                                         Attn: Thomas A Nichols                          5201 Cr 6                                                      Ogdensburg, NY 13669                                                 tnichols@northnet.org                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Galilee Umc                                                         Attn: Becky Hollis                              4516 County Rte 6                                              Ogdensburg, NY 13669                                                 humblewannabe@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Galilee Umc ‐ Sterling                                              c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Galilee Utd Methodist Church                                        Heart of Virginia Council 602                   747 Hull Neck Rd                                               Heathsville, VA 22473                                                                                         First Class Mail
Chartered Organization         Galilee Utd Methodist Church                                        National Capital Area Council 082               45425 Winding Rd                                               Sterling, VA 20165‐2594                                                                                       First Class Mail
Voting Party                   Gallagher Evelius & Jones Llp                                       Matthew William Oakey                           218 N Charles St, Ste 400                                      Baltimore, MD 21201                                                  moakey@gejlaw.com                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Gallagher Evelius & Jones Llp                                       Matthew William Oakey                           218 Charles St, Ste 400                                        Baltimore MD 21201                                                                                            First Class Mail
Voting Party                   Gallagher Evelius & Jones Llp                                       Matthew William Oakey                           218 N Charles St, Ste 400                                      Baltimore MD 21201                                                                                            First Class Mail
Voting Party                   Gallagher Evelius & Jones Llp                                       Matthew William Oakey                           218 N Charles St, Ste 400                                      Baltimore, MD 21201                                                                                           First Class Mail
Chartered Organization         Gallagher‐Hansen Vfw Post 295                                       Northern Star Council 250                       111 Concord Exchange S                                         South Saint Paul, MN 55075‐2402                                                                               First Class Mail
Chartered Organization         Gallatin Fire Dept                                                  Middle Tennessee Council 560                    119 Chief Billy Crook Blvd                                     Gallatin, TN 37066                                                                                            First Class Mail
Chartered Organization         Gallatin First Church Of The Nazarene                               Middle Tennessee Council 560                    407 N Water Ave                                                Gallatin, TN 37066‐2305                                                                                       First Class Mail
Voting Party                   Gallatin First United Methodist Church                              Attn: John Johnson                              149 W Main St                                                  Gallatin, TN 37066                                                   james.johnson@fumcgallatingallatin.org   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Gallatin High School Njrotc                                         Middle Tennessee Council 560                    700 Dan P Herron Dr                                            Gallatin, TN 37066‐3679                                                                                       First Class Mail
Chartered Organization         Gallatin Lions Club                                                 c/o Andrea Gibson                               102 N Main St                                                  Gallatin, MO 64640‐1152                                                                                       First Class Mail
Chartered Organization         Gallatine Gateway Fire Dept                                         Montana Council 315                             320 Webb St                                                    Bozeman, MT 59718                                                                                             First Class Mail
Chartered Organization         Gallipolis Fire Dept                                                Buckskin 617                                    2018 Chestnut St                                               Gallipolis, OH 45631‐1814                                                                                     First Class Mail
Chartered Organization         Galloway Township Police Dept                                       Jersey Shore Council 341                        300 E Jimmie Leeds Rd                                          Galloway, NJ 08205‐4109                                                                                       First Class Mail
Chartered Organization         Galt Scouting & Youth Services                                      Greater Yosemite Council 059                    28 Almo Ct                                                     Galt, CA 95632‐2310                                                                                           First Class Mail
Chartered Organization         Galt Sunrise Rotary                                                 Greater Yosemite Council 059                    P.O. Box 774                                                   Galt, CA 95632‐0774                                                                                           First Class Mail
Chartered Organization         Galva Rotary                                                        Illowa Council 133                              313 Market St                                                  Galva, IL 61434‐1768                                                                                          First Class Mail
Chartered Organization         Galveston Police Dept                                               Bay Area Council 574                            601 54th St, Ste 200                                           Galveston, TX 77551‐4246                                                                                      First Class Mail
Chartered Organization         Galvez‐Lake Volunteer Fire Dept                                     Istrouma Area Council 211                       16288 Joe Sevario Rd                                           Prairieville, LA 70769‐5936                                                                                   First Class Mail
Chartered Organization         Gamber & Community Fire Co Inc                                      Baltimore Area Council 220                      3838 Niner Rd                                                  Finksburg, MD 21048‐2102                                                                                      First Class Mail
Voting Party                   Gamehaven Cncl 299                                                  1124 11 1/2 St Se                               Rochester, MN 55904‐5027                                                                                                                                                     First Class Mail
Chartered Organization         Gamehaven Council                                                   Gamehaven 299                                   607 E Center St, Apt 516                                       Rochester, MN 55904‐3123                                                                                      First Class Mail
Voting Party                   Gamewell Ruritan Club                                               Attn: Van Griffith                              2944 Spencer St                                                Lenoir, NC 28645                                                     wvangriff@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Gamewell Utd Methodist                                              Piedmont Council 420                            2897 Morganton Blvd Sw                                         Lenoir, NC 28645‐8622                                                                                         First Class Mail
Chartered Organization         Gamma Zeta Boule Foundation                                         Greater Los Angeles Area 033                    P.O. Box 94833                                                 Pasadena, CA 91109‐4833                                                                                       First Class Mail
Chartered Organization         Ganado Rotary Club                                                  South Texas Council 577                         P.O. Box 19                                                    Ganado, TX 77962‐0019                                                                                         First Class Mail
Chartered Organization         Gang Mills Fire Dept                                                Five Rivers Council, Inc 375                    P.O. Box 203                                                   Painted Post, NY 14870‐0203                                                                                   First Class Mail
Chartered Organization         Ganges Township Fire Dept                                           President Gerald R Ford 781                     6957 114th Ave                                                 South Haven, MI 49090‐9528                                                                                    First Class Mail
Voting Party                   Ganges Umc                                                          Attn: Walter Johnson                            1839 62nd St                                                   Fennville, MI 49408                                                  johnson.walterb@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Ganges Umc                                                          Attn: Roy Newman                                P.O. Box 511                                                   2218 68th St                      Fennville, MI 49408                gangumc@frontier.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Ganges/Fennville Utd Methodist Church                               President Gerald R Ford 781                     2218 68th St                                                   Fennville, MI 49408                                                                                           First Class Mail
Voting Party                   Gannett Co Inc                                                      dba Imagn Content Services                      7950 Jones Branch Dr                                           Mclean, VA 22102‐3302                                                                                         First Class Mail
Chartered Organization         Garber Utd Methodist                                                East Carolina Council 426                       4201 Country Club Rd                                           Trent Woods, NC 28562‐7617                                                                                    First Class Mail
Chartered Organization         Garber Utd Methodist Church                                         East Carolina Council 426                       4201 Country Club Rd                                           Trent Woods, NC 28562‐7617                                                                                    First Class Mail
Chartered Organization         Garden City Ch Inc The Foundry Ch                                   Cradle of Liberty Council 525                   25 Cedar Rd                                                    Wallingford, PA 19086‐7231                                                                                    First Class Mail
Chartered Organization         Garden City Elementary Afterschool                                  Crossroads of America 160                       4901 Rockville Rd                                              Indianapolis, IN 46224‐9103                                                                                   First Class Mail
Chartered Organization         Garden City Elementary School                                       Crossroads of America 160                       4901 Rockville Rd                                              Indianapolis, IN 46224‐9103                                                                                   First Class Mail
Chartered Organization         Garden City Police Dept                                             Santa Fe Trail Council 194                      304 N 9th St                                                   Garden City, KS 67846‐5371                                                                                    First Class Mail
Chartered Organization         Garden City Utd Methodist Church                                    Heart of America Council 307                    500 S 5th St                                                   Garden City, MO 64747                                                                                         First Class Mail
Chartered Organization         Garden City Utd Methodist Church                                    Heart of America Council 307                    P.O. Box 80                                                    Garden City, MO 64747‐0080                                                                                    First Class Mail
Chartered Organization         Garden Grove Kiwanis                                                Orange County Council 039                       9840 Larson Ave                                                Garden Grove, CA 92844‐1630                                                                                   First Class Mail
Chartered Organization         Garden Grove Moose Lodge                                            Orange County Council 039                       9901 Bixby Ave                                                 Garden Grove, CA 92841‐3715                                                                                   First Class Mail
Chartered Organization         Garden Grove Police Dept                                            Orange County Council 039                       11301 Acacia Pkwy                                              Garden Grove, CA 92840‐5310                                                                                   First Class Mail
Chartered Organization         Garden Grove Utd Methodist Church                                   Orange County Council 039                       12741 Main St                                                  Garden Grove, CA 92840‐5204                                                                                   First Class Mail
Chartered Organization         Garden Lakes Baptist Church                                         Northwest Georgia Council 100                   220 Redmond Rd Nw                                              Rome, GA 30165                                                                                                First Class Mail
Chartered Organization         Garden Of The Mind                                                  Las Vegas Area Council 328                      2823 Misty Grove Dr                                            Henderson, NV 89074‐7006                                                                                      First Class Mail
Voting Party                   Garden State Council                                                Attn: Patrick Linfors                           693 Rancocas Rd                                                Westampton, NJ 08060                                                 patrick.linfors@scouting.org             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Garden State Council Inc Boy Scouts Of America                      Attn: Patrick Linfors                           693 Rancocas Rd                                                Westampton, NJ 08060                                                 jmatour@dilworthlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Garden State Council Inc Boy Scouts Of America                      c/o Dilworth Paxson LLP                         Attn: James Matour                                             1500 Market St 3500E, Apt 15B     Philadelphia, PA 19102             jmatour@dilworthlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Garden Street United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Garden Street Utd Methodist                                         Mens Fellowship Charles Rice                    1326 N Garden St                                               Bellingham, WA 98225‐4704                                                                                     First Class Mail
Chartered Organization         Garden Villas Community Center                                      Sam Houston Area Council 576                    P.O. Box 266282                                                Houston, TX 77207‐6282                                                                                        First Class Mail
Chartered Organization         Gardena Buddhist Church                                             Greater Los Angeles Area 033                    1517 W 166th St                                                Gardena, CA 90247‐4737                                                                                        First Class Mail
Chartered Organization         Gardena Police Dept                                                 Greater Los Angeles Area 033                    1718 W 162nd St                                                Gardena, CA 90247‐3732                                                                                        First Class Mail
Chartered Organization         Gardendale Church Of The Nazarene                                   Greater Alabama Council 001                     1800 Decatur Hwy                                               Gardendale, AL 35071‐2350                                                                                     First Class Mail
Chartered Organization         Gardendale Mt Vernon Umc                                            Greater Alabama Council 001                     805 Crest Dr                                                   Gardendale, AL 35071‐2769                                                                                     First Class Mail
Voting Party                   Gardens Presbyterian Church                                         Attn: Lynda Hart                                4677 Hood Rd                                                   Palm Beach Gardens, FL 33418                                         lynda@gardenspresbyterian.org            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Gardenville Rec Center                                              Baltimore Area Council 220                      4517 Hazelwood Ave                                             Baltimore, MD 21206‐3302                                                                                      First Class Mail
Chartered Organization         Gardiner Angus Ranch                                                Santa Fe Trail Council 194                      2605 Cr 13                                                     Ashland, KS 67831‐3136                                                                                        First Class Mail
Chartered Organization         Gardner ‐ House Of Peace And Education                              Heart of New England Council 230                29 Pleasant St                                                 Gardner, MA 01440‐2608                                                                                        First Class Mail
Chartered Organization         Gardner American Legion Post 132                                    Northern Lights Council 429                     101 Benefit Ln                                                 Harwood, ND 58042‐4215                                                                                        First Class Mail
Chartered Organization         Gardner Camp                                                        Mississippi Valley Council 141 141              26558 160th St                                                 Hull, IL 62343‐3201                                                                                           First Class Mail
Chartered Organization         Gardner Lake Volunteer Fire Co                                      Connecticut Rivers Council, Bsa 066             429 Old Colchester Rd                                          Salem, CT 06420‐3748                                                                                          First Class Mail
Firm                           Gardner Law Firm                                                    Robert M. Gardner, Jr.                          Post Office Box 310                                            Winder, GA 30680                                                     sk@gardnerlawfirm.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Gardner Lions Club                                                  Rainbow Council 702                             Rt 53                                                          Gardner, IL 60424                                                                                             First Class Mail
Voting Party                   Gardner Memorial United Methodist Church                            Attn: Joy Cameron                               1723 Schaer St                                                 N Little Rock, AR 72114                                              joy@gmumc.comcastbiz.net                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Gardner‐American Legion Post 129                                    Heart of New England Council 230                22 Elm St                                                      Gardner, MA 01440‐2347                                                                                        First Class Mail
Chartered Organization         Gardner‐Annunciation Parish                                         Heart of New England Council 230                135 Nichols St                                                 Gardner, MA 01440‐4011                                                                                        First Class Mail
Chartered Organization         Gardner‐Lds‐Gardner Ward                                            Heart of New England Council 230                634 Pearl St                                                   Gardner, MA 01440‐1749                                                                                        First Class Mail
Chartered Organization         Gardners Community                                                  New Birth of Freedom 544                        35 Hill View Rd                                                Gardners, PA 17324‐9542                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                               Page 136 of 442
                                                                                 Case 20-10343-LSS                                               Doc 8171                                        Filed 01/06/22                                                  Page 152 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                       Name                                                                                                    Address                                                                                                             Email              Method of Service
Chartered Organization         Gardners Utd Methodist Church                            4555 Rosehill Rd                                    Fayetteville, NC 28311‐2015                                                                                                                                       First Class Mail
Voting Party                   Gardnertown United Methodist Church                      George Gries                                        61 Stewart Ave, Unit 211                                    Newburgh, NY 12550                                                 ggries@verizon.net                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Gardnertown United Methodist Church                      Attn: Jessica Lynn Anschutz                         1191 Union Ave                                              Newburgh, NY 12550                                                 gardnertownumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Gardnertown United Methodist Church                      1191 Union Ave                                      Newburgh, NY 12550                                                                                                             gardnertownumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Garfield Academy                                         Buckeye Council 436                                 1379 Garfield Ave Sw                                        Canton, OH 44706‐5200                                                                                 First Class Mail
Chartered Organization         Garfield County 4‐H Council                              Montana Council 315                                 345 E Lone Tree Rd                                          Brusett, MT 59318‐9628                                                                                First Class Mail
Chartered Organization         Garfield County Sheriffs Office                          Denver Area Council 061                             107 8th St                                                  Glenwood Springs, CO 81601‐3303                                                                       First Class Mail
Chartered Organization         Garfield Elementary School PTA                           National Capital Area Council 082                   2435 Alabama Ave Se                                         Washington, DC 20020‐2700                                                                             First Class Mail
Chartered Organization         Garfield Elks Lodge 2267                                 Northern New Jersey Council, Bsa 333                68 Lanza Ave                                                Garfield, NJ 07026‐3536                                                                               First Class Mail
Chartered Organization         Garfield Elks Lodge 2267                                 Northern New Jersey Council, Bsa 333                68 Lanza Ave                                                Garfield, NJ 07026‐3536                                                                               First Class Mail
Chartered Organization         Garfield Memorial Church                                 Lake Erie Council 440                               3650 Lander Rd                                              Pepper Pike, OH 44124‐5731                                                                            First Class Mail
Chartered Organization         Garfield Pta                                             Illowa Council 133                                  902 E 29th St                                               Davenport, IA 52803‐1704                                                                              First Class Mail
Chartered Organization         Garibaldi Lions Club                                     Cascade Pacific Council 492                         P.O. Box 597                                                Garibaldi, OR 97118‐0597                                                                              First Class Mail
Chartered Organization         Garland Elks Lodge 1984                                  Circle Ten Council 571                              3825 Duck Creek Dr                                          Garland, TX 75043‐2965                                                                                First Class Mail
Chartered Organization         Garland Firefighters Assoc                               Circle Ten Council 571                              P.O. Box 462341                                             Garland, TX 75046‐2341                                                                                First Class Mail
Chartered Organization         Garmisch Community Club                                  Transatlantic Council, Bsa 802                      Cmr 409 Box 615                                             Apo, AE 09053                                                                                         First Class Mail
Chartered Organization         Garner Methodist Church                                  Occoneechee 421                                     P.O. Box 2179                                               Garner, NC 27529‐2179                                                                                 First Class Mail
Chartered Organization         Garner Nc American Legion Post 232                       Tuscarora Council 424                               106 Irene Ln                                                Raleigh, NC 27603                                                                                     First Class Mail
Voting Party                   Garner United Methodist Church                           Beth Myers                                          825 W 11th St                                               Garner, IA 50438                                                   bethannmyers@yahoo.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Garner United Methodist Church                           Attn: Gary Thoms, Treasurer, Garner Umc             885 Maben Ave                                               Garner, IA 50438                                                   bethannmyers@yahoo.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Garner United Methodist Church                           Attn: Lawrence Alan Chandler                        201 Methodist Dr                                            Garner, NC 27529                                                                                      First Class Mail
Chartered Organization         Garrett Volunteer Fire Co                                Laurel Highlands Council 527                        303 Jackson St                                              Garrett, PA 15542‐8219                                                                                First Class Mail
Chartered Organization         Garrettsville Utd Methodist Church                       Great Trail 433                                     8223 Park Ave                                               Garrettsville, OH 44231‐1223                                                                          First Class Mail
Chartered Organization         Garris Chapel Utd Methodist Church                       Tuscarora Council 424                               823 Piney Grove Church Rd                                   La Grange, NC 28551‐7715                                                                              First Class Mail
Chartered Organization         Garrison Memorial Ar Presbyterian Church                 Piedmont Council 420                                646 Diane 29 Theater Rd                                     Bessemer City, NC 28016‐7557                                                                          First Class Mail
Chartered Organization         Garrison Mill Elementary School                          Atlanta Area Council 092                            4111 Wesley Chapel Rd                                       Marietta, GA 30062‐1019                                                                               First Class Mail
Voting Party                   Garwoods United Methodist Church                         Attn: Treasurer                                     10524 County Rd 15B                                         Canaseraga, NY 14822                                               hvacwoman59@gmail.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Gary Butler                                              Address Redacted                                                                                                                                                                   Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Gary Dunn                                                502 N Broadway St                                   Stigler, OK 74462                                                                                                                                                 First Class Mail
Voting Party                   Gary E Wendlandt                                         c/o Boy Scouts of America                           Attn: Chase Koontz                                          1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Gary Earl Crum                                           c/o Boy Scouts of America                           Attn: Chase Koontz                                          1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Gary L Moonshower                                        560 Rustic Oaks Rd                                  Combine, TX 75159                                                                                                                                                 First Class Mail
Firm                           Gary Martin Sklar                                        424 S. Beverly Dr                                   Beverly Hills, CA 90212                                                                                                        sklarlaw@ymail.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Gary Memorial United Methodist Church                    Attn: Robert Dean Kenderdine                        P.O. Box 421                                                Ellicott City, MD 21041                                            rdkenderdine@verizon.net           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Gary Memorial United Methodist Church                    Attn: Christopher Pierson                           224 N Main St                                               Wheaton, IL 60187                                                  office@garychurch.org              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Gary Methodist Church                                    Attn: Christopher Pierson                           224 N Main St                                               Wheaton, IL 60187                                                  office@garychurch.org              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Gary/New Duluth Community Club                           Voyageurs Area 286                                  801 101st Ave W                                             Duluth, MN 55808‐2601                                                                                 First Class Mail
Voting Party                   Gary's Umc 13501 ‐ S Prince George                       c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Garys Utd Methodist Church                               Heart of Virginia Council 602                       15301 Sunnybrook Rd                                         Petersburg, VA 23805                                                                                  First Class Mail
Voting Party                   Gashland United Methodist Church                         Attn: Karen Waterland                               7715 N Oak Trafficway                                       Kansas City, MO 64118                                              kkwaterland@gmail.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Gashland Utd Methodist Church                            Heart of America Council 307                        7715 N Oak Trfy                                             Kansas City, MO 64118‐1712                                                                            First Class Mail
Voting Party                   Gasparo, Daniel R                                        Address Redacted                                                                                                                                                                   Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Gasport Chemical Hose Inc Volunteer                      Iroquois Trail Council 376                          8412 Telegraph Rd                                           Gasport, NY 14067‐9246                                                                                First Class Mail
Chartered Organization         Gassaway Utd Methodist Church                            Buckskin 617                                        Elk St                                                      Gassaway, WV 26624                                                                                    First Class Mail
Chartered Organization         Gaston Arts Council                                      Piedmont Council 420                                P.O. Box 242                                                Gastonia, NC 28053‐0242                                                                               First Class Mail
Chartered Organization         Gaston County Emergency Medical Services                 Piedmont Council 420                                P.O. Box 1475                                               Gastonia, NC 28053‐1475                                                                               First Class Mail
Chartered Organization         Gaston County Firefighter Assoc                          Piedmont Council 420                                2912 Forbes Rd                                              Gastonia, NC 28056‐5201                                                                               First Class Mail
Chartered Organization         Gaston County Police Dept                                Piedmont Council 420                                420 W Franklin Blvd                                         Gastonia, NC 28052‐3825                                                                               First Class Mail
Chartered Organization         Gaston County Sheriffs Office                            Piedmont Council 420                                425 N Marietta St                                           Gastonia, NC 28052‐2333                                                                               First Class Mail
Chartered Organization         Gaston Memorial Hospital                                 Piedmont Council 420                                2525 Court Dr                                               Gastonia, NC 28054‐2140                                                                               First Class Mail
Chartered Organization         Gaston Oaks Baptist Church                               Circle Ten Council 571                              8515 Greenville Ave                                         Dallas, TX 75243‐7011                                                                                 First Class Mail
Chartered Organization         Gaston PTO                                               Glaciers Edge Council 620                           1515 W Grand Ave                                            Beloit, WI 53511‐5933                                                                                 First Class Mail
Chartered Organization         Gaston Town Hall                                         Indian Waters Council 553                           131 N Carlisle St                                           Gaston, SC 29053                                                                                      First Class Mail
Chartered Organization         Gastonia Police Dept                                     Piedmont Council 420                                200 E Long Ave                                              Gastonia, NC 28052‐2523                                                                               First Class Mail
Voting Party                   Gate City United Methodist Church                        255 Walnut St                                       Gate City, VA 24251                                                                                                            gatecityumc@yahoo.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Gate Of Heaven Parish                                    Daniel Webster Council, Bsa 330                     163 Main St                                                 Lancaster, NH 03584‐3032                                                                              First Class Mail
Chartered Organization         Gates Chapel Utd Methodist Church                        Northeast Georgia Council 101                       4180 Gates Chapel Rd                                        Ellijay, GA 30540                                                                                     First Class Mail
Chartered Organization         Gates Presbyterian Church                                Seneca Waterways 397                                1049 Wegman Rd                                              Rochester, NY 14624‐1530                                                                              First Class Mail
Voting Party                   Gates Supply                                             363 Ragland Rd                                      Beckley, WV 25801‐9761                                                                                                                                            First Class Mail
Chartered Organization         Gates Volunteer Ambulance Inc                            Seneca Waterways 397                                1001 Elmgrove Rd                                            Rochester, NY 14624‐1362                                                                              First Class Mail
Chartered Organization         Gates‐Chili Fire Dept                                    Seneca Waterways 397                                2355 Chili Ave                                              Rochester, NY 14624‐3319                                                                              First Class Mail
Chartered Organization         Gatesville Lions Club                                    Longhorn Council 662                                115 Willow Ln                                               Gatesville, TX 76528‐3032                                                                             First Class Mail
Chartered Organization         Gatesville Ruritans                                      Tidewater Council 596                               905 Court St                                                Gatesville, NC 27938‐9505                                                                             First Class Mail
Voting Party                   Gateway Area Council                                     Attn: Joseph Carlson                                2600 Quarry Rd                                              La Crosse, WI 54601                                                joe.carlson@scouting.org           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Gateway Baptist Church                                   Sam Houston Area Council 576                        2930 Rayford Rd                                             Spring, TX 77386‐1740                                                                                 First Class Mail
Chartered Organization         Gateway Christian Church                                 Blue Grass Council 204                              801 Winchester Rd                                           Mount Sterling, KY 40353‐8606                                                                         First Class Mail
Chartered Organization         Gateway Church Of God                                    Calcasieu Area Council 209                          1815 Sam Houston Jones Pkwy                                 Lake Charles, LA 70611‐5453                                                                           First Class Mail
Chartered Organization         Gateway Community Church                                 Coastal Georgia Council 099                         1702 Pine Barren Rd                                         Bloomingdale, GA 31302‐9318                                                                           First Class Mail
Chartered Organization         Gateway Community Church                                 National Capital Area Council 082                   24796 Gateway Village Pl                                    Chantilly, VA 20152‐4199                                                                              First Class Mail
Chartered Organization         Gateway Community Church                                 Crossroads of America 160                           7551 Oaklandon Rd                                           Indianapolis, IN 46236‐9797                                                                           First Class Mail
Voting Party                   Gateway Community Church                                 Attn: Treasurer                                     125 E Staat St                                              Fortville, IN 46040                                                enge_mark@att.net                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Gateway Daycare Ctr                                      Mecklenburg County Council 415                      8010 Strawberry Ln                                          Charlotte, NC 28277‐8600                                                                              First Class Mail
Chartered Organization         Gateway Family Ymca, Rahway Branch                       Patriots Path Council 358                           1564 Irving St                                              Rahway, NJ 07065‐4158                                                                                 First Class Mail
Chartered Organization         Gateway Foursquare Church, Agoura Hills                  Ventura County Council 057                          29646 Agoura Rd                                             Agoura Hills, CA 91301‐2570                                                                           First Class Mail
Chartered Organization         Gateway Masonic, Lodge 175                               Cascade Pacific Council 492                         P.O. Box 455                                                Warrenton, OR 97146‐0455                                                                              First Class Mail
Chartered Organization         Gateway Science Academy South                            Greater St Louis Area Council 312                   6651 Gravois Ave                                            Saint Louis, MO 63116‐1125                                                                            First Class Mail
Voting Party                   Gateway United Methodist Church                          1023 Fairfax St                                     Fairmont, WV 26554                                                                                                             pastortimedin@yahoo.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Gateway United Methodist Church                          16020 S Swan Rd                                     Gulfport, MS 39503                                                                                                             mbrolfs58@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Gateway Utd Methodist Church                             Mountaineer Area 615                                301 Diamond St                                              Fairmont, WV 26554‐5208                                                                               First Class Mail
Chartered Organization         Gatlinburg Rotary Foundation, Inc                        Great Smoky Mountain Council 557                    P.O. Box 1144                                               Gatlinburg, TN 37738‐1144                                                                             First Class Mail
Chartered Organization         Gauley Bridge Utd Methodist Church                       Buckskin 617                                        P.O. Box 329                                                Gauley Bridge, WV 25085‐0329                                                                          First Class Mail
Voting Party                   Gaumer, Emanuel, Carpenter & Goldsmith, PC               Richard J Gaumer                                    111 W 2nd St                                                Ottumwa, IA 52501                                                  rjg@ottumwalaw.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Gause United Methodist Church                            Attn: Craig Jentsch, Chair Trustees                 P.O. Box 125                                                Gause, TX 77857                                                    umcgause@gmail.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Gavel Club                                               Water and Woods Council 782                         4737 Hunt St                                                Cass City, MI 48726‐1015                                                                              First Class Mail
Voting Party                   Gayle Susan Holden                                       103 Weymouth Dr                                     Dresden, ME 04342                                                                                                              gayle.holden62@gmail.com           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Gaylor Electric, Inc                                     Crossroads of America 160                           5750 Cast Ck Pkwy N Dr, Ste 400                             Indianapolis, IN 46250‐4337                                                                           First Class Mail
Chartered Organization         Gaylord Kiwanis Club                                     President Gerald R Ford 781                         P.O. Box 87                                                 Gaylord, MI 49734‐0087                                                                                First Class Mail
Chartered Organization         Gaylord Rotary Club                                      President Gerald R Ford 781                         P.O. Box 1242                                               Gaylord, MI 49734‐5242                                                                                First Class Mail
Voting Party                   Gaylordsville United Methodist Church                    Attn: John Esposito                                 687 Kent Rd                                                 Gaylordsville, CT 06755                                            www.gayldsvl.methodist@snet.net    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Gaylordsville United Methodist Church                    Attn: Pastor John Esposito                          P.O. Box 189                                                Gaylordsville, CT 06755                                            gayldsvl.methodist@snet.net        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Gayton Baptist Church                                    Heart of Virginia Council 602                       13501 N Gayton Rd                                           Richmond, VA 23233‐7057                                                                               First Class Mail
Chartered Organization         Gayville American Legion                                 Sioux Council 733                                   405 Brown St                                                Gayville, SD 57031‐2002                                                                               First Class Mail
Chartered Organization         GCPS Community Based Mentoring Program                   Northeast Georgia Council 101                       1229 Northbrook Pkwy, Ste B                                 Suwanee, GA 30024‐4142                                                                                First Class Mail
Chartered Organization         Gearhartville Free Methodist Church                      Bucktail Council 509                                305 Keystone Hl                                             Philipsburg, PA 16866‐8303                                                                            First Class Mail
Chartered Organization         Geary Community Hospital                                 Coronado Area Council 192                           1102 Saint Marys Rd                                         Junction City, KS 66441‐4139                                                                          First Class Mail
Chartered Organization         Geary County Fire Dept                                   Coronado Area Council 192                           236 E 8th St                                                Junction City, KS 66441‐2640                                                                          First Class Mail
Chartered Organization         Geauga Aerie 2261                                        Lake Erie Council 440                               317 Water St                                                Chardon, OH 44024‐1205                                                                                First Class Mail
Chartered Organization         Gecp Inc                                                 Patriots Path Council 358                           52 S Hillside Ave                                           Succasunna, NJ 07876‐1604                                                                             First Class Mail
Chartered Organization         Gee's Clippers                                           Three Harbors Council 636                           2215 N Dr Martin Luther King Dr                             Milwaukee, WI 53212                                                                                   First Class Mail
Voting Party                   Geigertown: St. Paul's United Methodist Church           Attn: Rev Jean Howe                                 1136 Geigertown Rd, P.O. Box 6                              Geigertown, PA 19523                                               jhoweida1@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Geist Christian Church                                   Crossroads of America 160                           12756 Promise Rd                                            Fishers, IN 46038‐9606                                                                                First Class Mail
Voting Party                   Geist Christian Church, Inc                              Attn: Ryan Hazen                                    8550 Mud Creek Rd                                           Indianapolis, IN 46256                                             ryan.hazen@geistchristian.org      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Gen L Wood Post 162 American Legion                      Northern New Jersey Council, Bsa 333                98 Legion Pl                                                Hillsdale, NJ 07642‐1500                                                                              First Class Mail
Chartered Organization         Gen Lewis B Chesty Puller Post 1503                      National Capital Area Council 082                   14631 Minnieville Rd                                        Dale City, VA 22193‐3217                                                                              First Class Mail
Chartered Organization         Gen Valley‐Henrietta Moose Family Ctr                    Seneca Waterways 397                                5375 W Henrietta Rd 15                                      West Henrietta, NY 14586‐9600                                                                         First Class Mail
Chartered Organization         Gene Howe, Pta                                           Golden Spread Council 562                           5108 Pico Blvd                                              Amarillo, TX 79110‐4918                                                                               First Class Mail
Voting Party                   Gene Robert Lockhart                                     1314 Tangle Wood Dr                                 Commerce, TX 75248                                                                                                             GeneLockhart@gmail.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Genegantslet Fire Co, Inc                                Baden‐Powell Council 368                            P.O. Box 151                                                Smithville Flats, NY 13841‐0151                                                                       First Class Mail
Chartered Organization         General Blackjack Pershing Vfw Post 4557                 Great Rivers Council 653                            115 E Wood St                                               Brookfield, MO 64628‐1725                                                                             First Class Mail
Chartered Organization         General Dynamics ‐ Electric Boat                         Narragansett 546                                    165 Dillabur Ave                                            North Kingstown, RI 02852‐7511                                                                        First Class Mail
Chartered Organization         General Electric Co                                      Dan Beard Council, Bsa 438                          1 Neumann Way                                               Cincinnati, OH 45215‐1915                                                                             First Class Mail
Chartered Organization         General Electric Digital Energy                          Atlanta Area Council 092                            2018 Powers Ferry Rd Se                                     Atlanta, GA 30339‐7208                                                                                First Class Mail
Chartered Organization         General Mitchell Pto                                     Three Harbors Council 636                           5950 S Illinois Ave                                         Cudahy, WI 53110‐2921                                                                                 First Class Mail
Voting Party                   General Security, Inc                                    100 Fairchild Ave                                   Plainview, NY 11803‐1710                                                                                                                                          First Class Mail
Chartered Organization         General Stilwell Chapter Ausa                            Silicon Valley Monterey Bay 055                     P.O. Box 5922                                               Monterey, CA 93944‐0922                                                                               First Class Mail
Chartered Organization         Genesee Conservation League, Inc                         Seneca Waterways 397                                1570 Old Penfield Rd                                        Rochester, NY 14625‐2201                                                                              First Class Mail
Chartered Organization         Genesee School Gea                                       Longhouse Council 373                               244 E Genesee St                                            Auburn, NY 13021‐4340                                                                                 First Class Mail
Chartered Organization         Genesee Stem Academy                                     Water and Woods Council 782                         310 W Oakley St                                             Flint, MI 48503‐3915                                                                                  First Class Mail
Chartered Organization         Genesee Stem Academy                                     Water and Woods Council 782                         5240 Calkins Rd                                             Flint, MI 48532‐3403                                                                                  First Class Mail
Chartered Organization         Genesee Twp Fire Station 2                               Water and Woods Council 782                         3128 Alcott Ave                                             Flint, MI 48506‐2146                                                                                  First Class Mail
Voting Party                   Genesee United Methodist Church                          Attn: Pamela Jane Elliott                           P.O. Box 190                                                Genesee, MI 48437                                                  geneseethetford@outlook.com        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Genesee United Methodist Church (07201)                  c/o Bentz Law Firm                                  Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Genesee Valley Fire Dept                                 Seneca Waterways 397                                9 Riverview Dr                                              Rochester, NY 14623‐4840                                                                              First Class Mail
Chartered Organization         Genesee Valley Trappers Inc                              Seneca Waterways 397                                4648 County Rd 37                                           Livonia, NY 14487‐9420                                                                                First Class Mail
Voting Party                   Geneseo Grace United Methodist Church                    Attn: Alice Marshall                                318 N Center St                                             Geneseo, IL 61254                                                  geneseogumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Geneseo Kiwanis Club                                     Illowa Council 133                                  880 Ash Dr                                                  Geneseo, IL 61254‐1269                                                                                First Class Mail
Chartered Organization         Geneseo Rotary Club                                      Iroquois Trail Council 376                          P.O. Box 216                                                Geneseo, NY 14454‐0216                                                                                First Class Mail
Voting Party                   Geneseo United Methodist Church                          Attn: Chair of Trustees                             4520 Geneseo St                                             Geneseo, NY 14454                                                  office@geneseomethodist.org        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Genesis Church                                           Inland Nwest Council 611                            810 S Sullivan Rd                                           Spokane Valley, WA 99037‐8826                                                                         First Class Mail
Chartered Organization         Genesis Health System                                    Illowa Council 133                                  1401 W Central Park Ave                                     Davenport, IA 52804‐1707                                                                              First Class Mail
Chartered Organization         Genesis Presbyterian Church                              Denver Area Council 061                             5707 S Simms St                                             Littleton, CO 80127‐2161                                                                              First Class Mail
Voting Party                   Genesis United Methodist Church                          Attn: Rev Emily Merritt                             850 High House Rd                                           Cary, NC 27519                                                     office@genesis‐umc.org             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Genesis United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Genesis United Methodist Church                          7635 S Hulen                                        Fort Worth, TX 76133                                                                                                                                              First Class Mail
Chartered Organization         Genesis Utd Methodist Church                             Longhorn Council 662                                7635 S Hulen St                                             Fort Worth, TX 76133‐7477                                                                             First Class Mail
Chartered Organization         Geneva Academic Foundation                               Three Fires Council 127                             P.O. Box 44                                                 Geneva, IL 60134‐0044                                                                                 First Class Mail
Chartered Organization         Geneva Community Church Of God                           Central Florida Council 083                         P.O. Box 1164                                               Geneva, FL 32732‐1164                                                                                 First Class Mail
Chartered Organization         Geneva Family School Assoc                               Seneca Waterways 397                                30 West St                                                  Geneva, NY 14456‐2521                                                                                 First Class Mail
Chartered Organization         Geneva Fire Dept                                         Three Fires Council 127                             200 E Side Dr                                               Geneva, IL 60134‐1544                                                                                 First Class Mail
Chartered Organization         Geneva Fire Dept                                         Lake Erie Council 440                               44 N Forest St                                              Geneva, OH 44041‐1371                                                                                 First Class Mail
Voting Party                   Geneva First Umc                                         Attn: Roy E Nevil                                   100 W Line St                                               P.O. Box 121                      Geneva, IN 46740                 GenevaFirstUMC100@gmail.com        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Geneva Heights 10Th Ward                                 Utah National Parks 591                             467 N 100 W                                                 Vineyard, UT 84059‐4829                                                                               First Class Mail
Chartered Organization         Geneva Lions Club                                        Cornhusker Council 324                              1036 N 9th St                                               Geneva, NE 68361‐1001                                                                                 First Class Mail
Chartered Organization         Geneva Living Word Church Of Nazarene                    Central Florida Council 083                         P.O. Box 410                                                Geneva, FL 32732‐0410                                                                                 First Class Mail
Chartered Organization         Geneva Lutheran Church                                   Three Fires Council 127                             301 S 3rd St                                                Geneva, IL 60134‐2725                                                                                 First Class Mail
Chartered Organization         Geneva Presbyterian Church                               North Florida Council 087                           1755 State Rd 13                                            Switzerland, FL 32259‐9253                                                                            First Class Mail
Chartered Organization         Geneva Rotary Club                                       Cornhusker Council 324                              P.O. Box 41                                                 Geneva, NE 68361‐0041                                                                                 First Class Mail
Voting Party                   Geneva United Methodist Church                           Attn: Treasurer, Geneva Umc                         3107 E Vandalia Rd                                          Flat Rock, IN 47234                                                kristen.hanson@inumc.org           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Geneva United Methodist Church                           Attn: Anthony Zefron                                211 Hamilton St                                             Geneva, IL 60134                                                   debbie@genevaumc.org               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Genoa Elementary                                         Buckskin 617                                        21269 Route 152                                             Genoa, WV 25517‐7502                                                                                  First Class Mail
Chartered Organization         Genoa Police Dept                                        Three Fires Council 127                             333 E 1st St                                                Genoa, IL 60135‐1015                                                                                  First Class Mail
Voting Party                   Genoa Trinity UMC                                        Attn: Pastor Greg Miller & Timothy Wayne Devaughn   P.O. Box 177                                                313 S Main St                     Genoa, OH 43430                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 137 of 442
                                                                                  Case 20-10343-LSS                                                          Doc 8171                                       Filed 01/06/22                                                            Page 153 of 457
                                                                                                                                                                                               Exhibit B
                                                                                                                                                                                                Service List
                                                                                                                                                                                         Served as set forth below

        Description                                                        Name                                                                                                              Address                                                                                                                  Email                 Method of Service
Voting Party                   Genoa United Methodist Church                                 Attn: Rev Howard Bruce                                    12501 Palmsprings St                                        Houston, TX 77034                                                            howard.bruce@sbcglobal.net       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Genoa: Faith UMC                                              Attn: Juyeon Jeon                                         325 S Stott St                                              Genoa, IL 60135                                                              pastor@genoafaithumc.org         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gentry Waipio Community Assoc                                 Aloha Council, Bsa 104                                    94‐1036 Waipio Uka St, Ste 104A                             Waipahu, HI 96797                                                                                             First Class Mail
Chartered Organization         Geo Bergam Post 489 Am Legion                                 Northern Lights Council 429                               P.O. Box 61                                                 Underwood, MN 56586‐0061                                                                                      First Class Mail
Chartered Organization         George Beach Post 4 American Legion Co                        Longs Peak Council 062                                    2124 County Rd 54 G                                         Laporte, CO 80535                                                                                             First Class Mail
Chartered Organization         George Bergem Post 489                                        Northern Lights Council 429                               General Delivery                                            Underwood, MN 56586                                                                                           First Class Mail
Chartered Organization         George C Marshall International Ctr                           National Capital Area Council 082                         43100 Ashburn Farm Pkwy                                     Ashburn, VA 20147‐4487                                                                                        First Class Mail
Chartered Organization         George D Keller Memorial Assoc                                Hawk Mountain Council 528                                 P.O. Box 193                                                Schuylkill Haven, PA 17972‐0193                                                                               First Class Mail
Chartered Organization         George E Ingersoll Al Post 658                                Seneca Waterways 397                                      P.O. Box 243                                                Fair Haven, NY 13064‐0243                                                                                     First Class Mail
Voting Party                   George F Francis III                                          c/o Boy Scouts of America                                 Attn: Chase Koontz                                          1325 W Walnut Hill Ln                     Irving, TX 75015                   chase.koontz@scouting.org        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   George Giles & Associates Inc                                 dba Right Management                                      14131 Midway Rd, Ste 1140                                   Addison, TX 75001‐3866                                                                                        First Class Mail
Chartered Organization         George H Elliot Vfw Post 7902                                 Northern Lights Council 429                               P.O. Box 278                                                Osakis, MN 56360‐0278                                                                                         First Class Mail
Chartered Organization         George Jenkins Hs Ajrotc Booster Club                         Greater Tampa Bay Area 089                                6000 Lakeland Highlands Rd                                  Lakeland, FL 33813‐3877                                                                                       First Class Mail
Chartered Organization         George L Oneill Post 62‐American Legion                       Daniel Webster Council, Bsa 330                           16 Park St                                                  Colebrook, NH 03576‐3145                                                                                      First Class Mail
Chartered Organization         George Newton Post 1607 Vfw                                   Connecticut Rivers Council, Bsa 066                       Lakeside Rd                                                 Southbury, CT 06488                                                                                           First Class Mail
Firm                           George R Andrews & Associates                                 George R Andrews                                          33 Broad Street Road                                        Manakin‐Sabot, VA 23103                                                      georgeandrewslaw@comcast.net     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         George R Robinson School Pto                                  Greater St Louis Area Council 312                         803 Couch Ave                                               Saint Louis, MO 63122‐5505                                                                                    First Class Mail
Voting Party                   George S Gerrietts                                            106 Linden Ln                                             Green Valley, IL 61534                                                                                                                   gsgerrietts@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         George W Childs Elementary School                             Cradle of Liberty Council 525                             1541 S 17th St                                              Philadelphia, PA 19146‐4716                                                                                   First Class Mail
Chartered Organization         George Washington Carver 87                                   Crossroads of America 160                                 241 Indianapolis Ave                                        Indianapolis, IN 46208                                                                                        First Class Mail
Chartered Organization         George Washington Carver, School 87 As                        Re: Crossrds of America 160                               2411 Indianapolis Ave                                       Indianapolis, IN 46208                                                                                        First Class Mail
Chartered Organization         George West Police Dept                                       South Texas Council 577                                   404 Nueces St                                               George West, TX 78022‐3789                                                                                    First Class Mail
Voting Party                   George Whitefield Umc                                         Attn: Christine Wright                                    16 Allen St                                                 W Brookfield, MA 01585                                                       pastorchristygwumc@gmail.com     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   George Whitefield United Methodist Church                     Attn: Margaret Hannigan                                   P.O. Box 576                                                West Brookfield, MA 01585                                                    pastorchristygwumc@gmail.com     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Georgetown American Legion                                    Prairielands 117                                          106 E West St                                               Georgetown, IL 61846‐1746                                                                                     First Class Mail
Chartered Organization         Georgetown Baptist Church                                     Attn: Boy Scout Troop                                     207 S Hamilton St                                           Georgetown, KY 40324‐1609                                                                                     First Class Mail
Chartered Organization         Georgetown Christian Church                                   Lincoln Heritage Council 205                              9420 Indiana Sr 64                                          Georgetown, IN 47122                                                                                          First Class Mail
Chartered Organization         Georgetown City Fire Dept                                     Coastal Carolina Council 550                              1405 Prince St                                              Georgetown, SC 29440‐3234                                                                                     First Class Mail
Voting Party                   Georgetown Community United Methodist Church                  Attn: Linda Jamieson                                      2853 Church St, Box 74                                      Georgetown, CA 95634                                                         lynda.jamieson@cnumc.org         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Georgetown First Untied Methodist Church                      Attn: Howard Miles Business Manager                       P.O. Box 1089                                               1280 Lexington Rd                         Georgetown, KY 40324               howard@georgetownfirst.com       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Georgetown Police Dept                                        Capitol Area Council 564                                  3500 D B Wood Rd                                            Georgetown, TX 78628‐7222                                                                                     First Class Mail
Voting Party                   Georgetown United Methodist Church                            Attn: Sherri Swanson                                      2766 Baldwin St                                             Jenison, MI 49428                                                            PastorSherri@gumonline.org       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Georgetown Utd Methodist Church                               Dan Beard Council, Bsa 438                                217 S Main St                                               Georgetown, OH 45121‐1222                                                                                     First Class Mail
Chartered Organization         Georgia Academy For The Blind                                 Central Georgia Council 096                               2895 Vineville Ave                                          Macon, GA 31204‐2831                                                                                          First Class Mail
Chartered Organization         Georgia Engineering Foundation                                Atlanta Area Council 092                                  100 Peachtree St NW, Ste 2150                               Atlanta, GA 30303‐1925                                                                                        First Class Mail
Chartered Organization         Georgia Lions Club                                            Green Mountain 592                                        Rfd                                                         Georgia, VT 05468                                                                                             First Class Mail
Chartered Organization         Geotek, Inc                                                   Las Vegas Area Council 328                                6835 Escondido St, Ste A                                    Las Vegas, NV 89119‐3832                                                                                      First Class Mail
Chartered Organization         Gerald Lions Club                                             Greater St Louis Area Council 312                         109 W Industrial Dr                                         Gerald, MO 63037‐2010                                                                                         First Class Mail
Chartered Organization         Gerald O`Neil American Legion Post 1683                       Twin Rivers Council 364                                   P.O. Box 349                                                Rensselaer, NY 12144‐0349                                                                                     First Class Mail
Voting Party                   German Evangelical Church                                     P.O. Box 695                                              5 W Washington St                                           Oswego, IL 60543                                                             office@goodshepherdoswego.org    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Germania Society                                              Dan Beard Council, Bsa 438                                3529 W Kemper Rd                                            Cincinnati, OH 45251‐4236                                                                                     First Class Mail
Chartered Organization         Germania Volunteer Fire Co                                    Jersey Shore Council 341                                  312 S Cologne Ave                                           Cologne, NJ 08213                                                                                             First Class Mail
Voting Party                   Germanton Ruritan Club                                        3196 US 311 Hwy N                                         Pine Hall, NC 27042                                                                                                                      phruritans@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Germantown American Legion                                    Potawatomi Area Council 651                               N120W15932 Freistadt Rd                                     Germantown, WI 53022                                                                                          First Class Mail
Chartered Organization         Germantown Fire Dept                                          Chickasaw Council 558                                     7766 Farmington Blvd                                        Germantown, TN 38138‐2902                                                                                     First Class Mail
Chartered Organization         Germantown Hills Pto                                          W D Boyce 138                                             110 Fandel Rd                                               Germantown Hills, IL 61548‐9354                                                                               First Class Mail
Chartered Organization         Germantown Kernel Nut Club                                    Greater St Louis Area Council 312                         P.O. Box 348                                                Germantown, IL 62245‐0348                                                                                     First Class Mail
Chartered Organization         Germantown Parents Of Scouts                                  Potawatomi Area Council 651                               W145N10184 Raintree Dr                                      Germantown, WI 53022                                                                                          First Class Mail
Chartered Organization         Germantown Parents Of Scouts                                  Potawatomi Area Council 651                               W162N9991 Mayflower Dr                                      Germantown, WI 53022                                                                                          First Class Mail
Chartered Organization         Germantown Police Dept                                        Potawatomi Area Council 651                               N112W16877 Mequon Rd                                        Germantown, WI 53022                                                                                          First Class Mail
Chartered Organization         Germantown Presbyterian Church                                Chickasaw Council 558                                     2363 S Germantown Rd                                        Germantown, TN 38138‐5963                                                                                     First Class Mail
Chartered Organization         Germantown Prof Police Assn                                   Potawatomi Area Council 651                               N112W16877 Mequon Rd                                        Germantown, WI 53022                                                                                          First Class Mail
Voting Party                   Germantown Ruritan Club                                       3196 US 311 Hwy N                                         Pine Hall, NC 27042                                                                                                                      phruritans@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Germantown United Methodist Church                            Attn: Mark B Miessa                                       7518 Enterprise Ave                                         Germantown, TN 38138                                                         mark@memphistitleco.com          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Germantown Utd Methodist Church                               Miami Valley Council, Bsa 444                             525 Farmersville Pike                                       Germantown, OH 45327‐1036                                                                                     First Class Mail
Chartered Organization         Germantown Utd Methodist Church                               Chickasaw Council 558                                     2331 S Germantown Rd                                        Germantown, TN 38138‐5907                                                                                     First Class Mail
Voting Party                   Germonds Presbyterian Church                                  Attn: Germonds Church, Abbie Huff, Pastor                 39 Germonds Rd                                              New City, NY 10956                                                           abbiehuff@germondschurch.org     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gerolamo, McNulty, Divis & Lewbart                            Attn: Kelly Fox                                           121 S Broad St, Ste 1400                                    Philadelphia, PA 19107                                                       kfox@gmdlfirm.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gerrardstown United Methodist Church                          Attn: Shannon Rutherford                                  P.O. Box 101                                                Gerrardstown, WV 25420                                                       kip@rjpccpa.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gerstein Fisher                                               Greater New York Councils, Bsa 640                        565 5th Ave, Fl 27                                          New York, NY 10017‐2478                                                                                       First Class Mail
Firm                           Gerstman Schwartz LLP                                         Bradley Gerstman                                          1399 Franklin Avenue                                        Garden City, NY 11530                                                        bgerstman@gerstmanschwartz.com   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gess, Mattingly & Atchison, Psc                               Attn: Felisa S Moore                                      201 W Short St, Ste 102                                     Lexington, KY 40507                                                          fmoore@gmalaw.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gesu Catholic School                                          Great Lakes Fsc 272                                       17139 Oak Dr                                                Detroit, MI 48221‐3023                                                                                        First Class Mail
Chartered Organization         Gesu Parish                                                   Lake Erie Council 440                                     2470 Miramar Blvd                                           University Heights, OH 44118‐3820                                                                             First Class Mail
Chartered Organization         Gesu School                                                   Cradle of Liberty Council 525                             1700 W Thompson St                                          Philadelphia, PA 19121‐5023                                                                                   First Class Mail
Voting Party                   Gethsamane Episcopal Church (Proctorsville)                   c/o The Tamposi Law Group, PC                             Attn: Peter N Tamposi                                       159 Main St                               Nashua, NH 03060                   peter@thetamposilawgroup.com     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gethsamane Evangelical Lutheran Church of Keyport, NJ         Attn: Warren Brumel, Esq.                                 P.O. Box 181                                                Keyport, NJ 07735                                                            wbrumel@keyportlaw.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gethsamane Evangelical Lutheran Church of Keyport, NJ         c/o Gethsemane Lutheran Church                            60 Maple Pl                                                 Keyport, NJ 07735                                                                                             First Class Mail
Chartered Organization         Gethsemane Baptist Temple                                     Blue Ridge Council 551                                    6116 Hwy 81 S                                               Starr, SC 29684                                                                                               First Class Mail
Chartered Organization         Gethsemane Episcopal Cathedral                                Northern Lights Council 429                               3600 25th St S                                              Fargo, ND 58104‐6861                                                                                          First Class Mail
Voting Party                   Gethsemane Evangelical Lutheran Church Of Dassel, Minnesota   P.O. Box C                                                Dassel, MN 55325                                                                                                                         smoen@gustafsongluek.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gethsemane Lutheran Church                                    Northern Star Council 250                                 221 Atlantic Ave E                                          Dassel, MN 55325                                                                                              First Class Mail
Chartered Organization         Gethsemane Lutheran Church                                    Anthony Wayne Area 157                                    1505 Bethany Ln                                             Fort Wayne, IN 46825‐4613                                                                                     First Class Mail
Chartered Organization         Gethsemane Lutheran Church                                    Northern Star Council 250                                 2410 Stillwater Rd E                                        Maplewood, MN 55119‐3613                                                                                      First Class Mail
Voting Party                   Gethsemane Lutheran Church                                    c/o Plews Shadley Racher & Braun LLP                      Attn: Josh S Tatum                                          1346 N Delaware St                        Indianapolis, IN 46202             jtatum@psrb.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gethsemane Umc                                                Attn: Jacob Macklin                                       2704 Stein Hwy                                              Seaford, DE 19973                                                            rev.jakemacklin@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gethsemane United Methodist 100 Hwt 150W                      c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200                  Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gethsemane United Methodist Church                            2701 Woodland Ferry Rd                                    Seaford, DE 19973                                                                                                                        rev.jakemacklin@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gethsemane United Methodist Church                            Attn: Treasurer, Calvin Miles                             910 Addison Rd S                                            Capitol Heights, MD 20743                                                    pastorron@gethsemaneumc.org      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gettysburg Battlefield Preservation                           New Birth of Freedom 544                                  P.O. Box 4087                                               Gettysburg, PA 17325‐4087                                                                                     First Class Mail
Chartered Organization         Gettysburg Presbyterian Church                                New Birth of Freedom 544                                  208 Baltimore St                                            Gettysburg, PA 17325‐2314                                                                                     First Class Mail
Voting Party                   Gettysburg Umc (178107)                                       c/o Bentz Law Firm                                        Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200                Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Getwell Church                                                Chickasaw Council 558                                     7875 Getwell Rd                                             Southaven, MS 38672‐6418                                                                                      First Class Mail
Chartered Organization         Getzville Fire Co Inc                                         Greater Niagara Frontier Council 380                      P.O. Box 111                                                Getzville, NY 14068‐0111                                                                                      First Class Mail
Chartered Organization         Geva Theatre Center                                           Seneca Waterways 397                                      75 Woodbury Blvd                                            Rochester, NY 14607‐1717                                                                                      First Class Mail
Voting Party                   Geyer Springs United Methodist Church                         Attn: Martin Nutt                                         5500 Geyer Springs Rd                                       Little Rock, AR 72209                                                        amn0806@sbcglobal.net            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Geyers United Methodist Church (03170)                        c/o Bentz Law Firm                                        Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200                Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gfafb 1St Sergeants Group                                     Attn: Msgt Ronald Brooks                                  Northern Lights Council 429                                 Grand Forks Afb First Sergeants Council   Grand Forks Afb, ND 58205                                           First Class Mail
Chartered Organization         Gfwc Mira Mesa Women'S Club                                   San Diego Imperial Council 049                            P.O. Box 26013                                              San Diego, CA 92196‐0013                                                                                      First Class Mail
Chartered Organization         Gfwc Of Tn Newbern Women'S Club                               West Tennessee Area Council 559                           212 Clearview Dr                                            Newbern, TN 38059‐1402                                                                                        First Class Mail
Voting Party                   Ghana United Methodist                                        Attn: Samuel Acquaah Arhin                                615 Reiss Pl                                                Bronx, NY 10467                                                              samuelarhin22@aol.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Ghana Wesley United Methodist Church                          91 Richmond St                                            Brooklyn, NY 11208                                                                                                                       ghanawesleyumc@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Ghma Law                                                      Attn: David R Hillier                                     P.O. Box 3235                                               Asheville, NC 28802                                                          dhillier@ghma.law                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Giant Steps                                                   Three Fires Council 127                                   2500 Cabot Dr                                               Lisle, IL 60532‐3607                                                                                          First Class Mail
Chartered Organization         Gibault Children'S Services                                   Crossroads of America 160                                 6301 S US Hwy 41                                            Terre Haute, IN 47802‐4771                                                                                    First Class Mail
Voting Party                   Gibbon Faith United Church                                    c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200                  Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gibbs Elementary School Pto                                   Buckeye Council 436                                       1320 Gibbs Ave Ne                                           Canton, OH 44705‐1128                                                                                         First Class Mail
Chartered Organization         Gibbs High School Jrotc                                       Great Smoky Mountain Council 557                          7628 Tazewell Pike                                          Corryton, TN 37721‐2910                                                                                       First Class Mail
Firm                           Gibbs Law Group LLP                                           Karen Barth Menzies                                       505 14th Street, Ste 1110                                   Oakland, CA 94612                                                            kbm@classlawgroup.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gibbs Ruritan Club                                            Attn: Richard Wright                                      7312 Boruff Rd                                              Corryton, TN 37721                                                           mailman007@comcast.net           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gibbs Smith Publisher                                         P.O. Box 667                                              Layton, UT 84041‐0667                                                                                                                                                     First Class Mail
Voting Party                   Gibbs, Kent W                                                 Address Redacted                                                                                                                                                                                   Email Address Redacted           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gibbsboro Utd Methodist Church                                Garden State Council 690                                  30 Clementon Rd W                                           Gibbsboro, NJ 08026‐1106                                                                                      First Class Mail
Chartered Organization         Gibbsville Reformed Church                                    Bay‐Lakes Council 635                                     N3145 State Rd 32                                           Sheboygan Falls, WI 53085                                                                                     First Class Mail
Chartered Organization         Gibraltar Rockwood Rotary Club                                Great Lakes Fsc 272                                       27332 Polk Ave                                              Brownstown Twp, MI 48183‐5905                                                                                 First Class Mail
Voting Party                   Gibsland United Methodist Church                              Attn: Rev Wayne Howington & Treasurer Marsha Andrews      P.O. Box 670                                                Gibsland, LA 71028                                                                                            First Class Mail

Chartered Organization         Gibsland Utd Methodist Church                                 Norwela Council 215                                       P.O. Box 673                                                Gibsland, LA 71028‐0673                                                                                       First Class Mail
Chartered Organization         Gibson City Lions Club                                        Prairielands 117                                          410 Meadow Rue Dr                                           Gibson City, IL 60936‐1914                                                                                    First Class Mail
Voting Party                   Gibson Memorial United Methodist Church Inc                   Attn: Michael Rudder                                      P.O. Box 770                                                Spring Hope, NC 27882                                                        mrudder@getsco.net               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gibsonville Umc 501 Church St, Gibsonville, Nc                c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200                  Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gibsonville Utd Methodist Church                              Old N State Council 070                                   501 Church St                                               Gibsonville, NC 27249‐2107                                                                                    First Class Mail
Chartered Organization         Gideon Pond Elementary                                        Northern Star Council 250                                 613 E 130th St                                              Burnsville, MN 55337‐3672                                                                                     First Class Mail
Chartered Organization         Gifford Youth Achievement Ctr                                 Gulf Stream Council 085                                   4875 43rd Ave                                               Vero Beach, FL 32967‐6327                                                                                     First Class Mail
Chartered Organization         Gifford Youth Activity Ctr                                    Gulf Stream Council 085                                   4875 43rd Ave                                               Vero Beach, FL 32967‐6327                                                                                     First Class Mail
Chartered Organization         Gig Harbor Elks                                               Pacific Harbors Council, Bsa 612                          9701 54th Ave Nw                                            Gig Harbor, WA 98332‐8542                                                                                     First Class Mail
Chartered Organization         Gig Harbor Police Dept                                        Pacific Harbors Council, Bsa 612                          3510 Grandview St                                           Gig Harbor, WA 98335‐1214                                                                                     First Class Mail
Chartered Organization         Gila Valley Rotary Club                                       Grand Canyon Council 010                                  P.O. Box 1484                                               Thatcher, AZ 85552‐1484                                                                                       First Class Mail
Chartered Organization         Gilbert C Grafton American Legion 2                           Northern Lights Council 429                               P.O. Box 2525                                               Fargo, ND 58108‐2525                                                                                          First Class Mail
Chartered Organization         Gilbert Elementary Lead                                       Capitol Area Council 564                                  5412 Gilbert Rd                                             Austin, TX 78724‐6304                                                                                         First Class Mail
Chartered Organization         Gilbert Lutheran Church                                       Mid Iowa Council 177                                      135 School St                                               Gilbert, IA 50105‐1008                                                                                        First Class Mail
Voting Party                   Gilbert Lutheran Church                                       135 School St, Box 270                                    Gilbert, IA 50105                                                                                                                        kchristianj@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gilbert Presbyterian Church                                   Attn: John S Stover                                       235 E Guadalupe Rd                                          Gilbert, AZ 85234                                                            azgpcoffice@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gilbert Presbyterian Church                                   235 E Guadalupe Rd                                        Gilbert, AZ 85234                                                                                                                        azgpcoffice@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gilbert Ruritan Club                                          Attn: David Keisler, Club President                       713 Juniper Springs Rd                                      Gilbert, SC 29054                                                            dlkeisler@comporium.net          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gilbert Utd Methodist Church                                  Grand Canyon Council 010                                  331 S Cooper Rd                                             Gilbert, AZ 85233‐6201                                                                                        First Class Mail
Chartered Organization         Gilbert Ward Lds                                              Indian Waters Council 553                                 2224 Augusta Hwy                                            Lexington, SC 29072‐2261                                                                                      First Class Mail
Voting Party                   Gilboa United Methodist Church                                Attn: Dawn M Richards                                     199 Ny‐990V                                                 Gilboa, NY 12076                                                             dawnmarie.richards@yahoo.com     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gilboa United Methodist Church                                Attn: Carolyn Stryker                                     260 Rte 990V                                                Gilboa, NY 12076                                                             dawnmarie.richards@yahoo.com     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gilchrist Pto                                                 Suwannee River Area Council 664                           1301 Timberlane Rd                                          Tallahassee, FL 32312‐1711                                                                                    First Class Mail
Voting Party                   Gilead Presbyterian Church                                    9 Church St                                               Carmel, NY 10512                                                                                                                         gileadpresbyterian@gmail.com     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gilford Community Church                                      Daniel Webster Council, Bsa 330                           19 Potter Hill Rd                                           Gilford, NH 03249‐6803                                                                                        First Class Mail
Chartered Organization         Gill Elementary Pta                                           Great Lakes Fsc 272                                       21195 Gill Rd                                               Farmington, MI 48335‐5027                                                                                     First Class Mail
Chartered Organization         Gill Engineering Group Inc                                    Puerto Rico Council 661                                   823 Santana                                                 Arecibo, PR 00612‐6815                                                                                        First Class Mail
Firm                           Gill, Ladner & Priest, PLLC                                   W. Bobby Gill, III                                        344 Highway 51, Ste. 200                                    Ridgeland, MS 39157                                                          bobby@glplawfirm.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gillburg Utd Methodist Church                                 Occoneechee 421                                           4815 Nc 39 Hwy S                                            Henderson, NC 27537‐7529                                                                                      First Class Mail
Chartered Organization         Gillen Vinscotski Vet. Of Foreign Wars                        Westchester Putnam 388                                    P.O. Box 623                                                Putnam Valley, NY 10579‐0623                                                                                  First Class Mail
Firm                           Gilleon Law Firm                                              Daniel M. Gilleon, Steve Hoffman                          1320 Columbia St, Ste 200                                   San Diego, CA 92101                                                          shoffmanlaw@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Gillespie First United Methodist Church                       Attn: Pastor of Gillespie First United Methodist Church   P.O. Box 207                                                900 W Broadway                            Gillespie, IL 62033                FUMCofGillespie@yahoo.com        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Gillett Civic Club                                            c/o Clifford Gerbers                                      6728 Klaus Lake Rd                                          Gillett, WI 54124‐9734                                                                                        First Class Mail
Voting Party                   Gillett United Methodist Church                               c/o Deanna Mccormack                                      P.O. Box 88                                                 Gillett, AR 72055                                                            lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                Page 138 of 442
                                                                                    Case 20-10343-LSS                                          Doc 8171                                     Filed 01/06/22                                                      Page 154 of 457
                                                                                                                                                                               Exhibit B
                                                                                                                                                                                Service List
                                                                                                                                                                         Served as set forth below

        Description                                                          Name                                                                                            Address                                                                                                                 Email              Method of Service
Chartered Organization         Gillette 4Th Ward Campbell                                         Greater Wyoming Council 638             1500 Ohara Dr                                            Gillette, WY 82716                                                                                        First Class Mail
Chartered Organization         Gillfiield Baptist Church                                          Heart of Virginia Council 602           209 Perry St                                             Petersburg, VA 23803‐4201                                                                                 First Class Mail
Chartered Organization         Gilliaum Feed And Seed                                             Quapaw Area Council 018                 507 Malcolm Ave                                          Newport, AR 72112‐3403                                                                                    First Class Mail
Chartered Organization         Gilman Lions Club                                                  Chippewa Valley Council 637             P.O. Box 63                                              Gilman, WI 54433‐0063                                                                                     First Class Mail
Chartered Organization         Gilmanton Community Club                                           Gateway Area 624                        P.O. Box 26                                              Gilmanton, WI 54743‐0026                                                                                  First Class Mail
Chartered Organization         Gilmanton Fire Dept                                                Daniel Webster Council, Bsa 330         P.O. Box 547                                             Gilmanton, NH 03237‐0547                                                                                  First Class Mail
Chartered Organization         Gilmanton Firemans Assoc                                           Daniel Webster Council, Bsa 330         1824 Nh Route 140                                        Gilmanton Iron Works, NH 03837‐4826                                                                       First Class Mail
Chartered Organization         Gilmartin Elementary Pto                                           Connecticut Rivers Council, Bsa 066     107 Wyoming Ave                                          Waterbury, CT 06706‐2781                                                                                  First Class Mail
Chartered Organization         Gilmer County Fire And Rescue                                      Northeast Georgia Council 101           325 Howard Simmons Rd                                    Ellijay, GA 30540‐6449                                                                                    First Class Mail
Chartered Organization         Gilmer County Sheriffs Office                                      Northeast Georgia Council 101           106 Brett Dickey Memorial Dr                             Ellijay, GA 30536‐6269                                                                                    First Class Mail
Chartered Organization         Gilroy Police Dept                                                 Silicon Valley Monterey Bay 055         7301 Hanna St                                            Gilroy, CA 95020‐6129                                                                                     First Class Mail
Chartered Organization         Gilson Fire Dept                                                   Illowa Council 133                      1045 Moss St                                             Gilson, IL 61436‐5001                                                                                     First Class Mail
Chartered Organization         Giltz Brown American Legion Post 341                               Black Swamp Area Council 449            First St                                                 Oakwood, OH 45873                                                                                         First Class Mail
Chartered Organization         Gina Gibney Dance Inc                                              Greater New York Councils, Bsa 640      890 Broadway Fl 5                                        New York, NY 10003‐1211                                                                                   First Class Mail
Voting Party                   Ginger Sanders & Kurt Staley                                       1032 Maple Ave                          Downers Grove, IL 60515                                                                                                         dgfumc@dgfumc.org                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ginghamsburg United Methodist Church                               Attn: Office of Finance                 6759 S County Rd 25A                                     Tipp City, OH 45371                                                    info@ginghamsburg.org              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ginter Park Elementary Pta                                         Heart of Virginia Council 602           3817 Chamberlayne Ave                                    Richmond, VA 23227‐4139                                                                                   First Class Mail
Chartered Organization         Giordano, Halleran & Ciesla                                        Monmouth Council, Bsa 347               125 Half Mile Rd                                         Red Bank, NJ 07701‐6749                                                                                   First Class Mail
Chartered Organization         Girard College                                                     Cradle of Liberty Council 525           2101 S College Ave                                       Philadelphia, PA 19121‐4800                                                                               First Class Mail
Chartered Organization         Girard Lions Club                                                  Ozark Trails Council 306                950 W Saint John St                                      Girard, KS 66743‐2049                                                                                     First Class Mail
Voting Party                   Girard Umc                                                         Attn: Stephen E Cox                     663 Jonesville Rd                                        Coldwater, MI 49036                                                    coxdlse@hotmail.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Girard United Methodist Church                                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200              Tampa, FL 33602                  Erice@bradley                      Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Girard Utd Methodist Church                                        Ozark Trails Council 306                614 W Saint John St                                      Girard, KS 66743‐2001                                                                                     First Class Mail
Voting Party                   Girdwood Chapel Umc ‐ 102 Heavenly Valley Dr, Girdwood, Ak 99587   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Girdwood Chapel United Methodist Church ‐ Girdwood                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Girl Scouts Of The United States of America                        c/o Dorsey & Whitney LLP                Attn: Eric Lopez Schnabel                                51 W 52nd St                          New York, NY 10019               schnabel.eric@dorsey.com           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Girl Scouts Of The Usa                                             Attn: Jennifer Rochon                   420 5th Ave                                              New York, NY 10018                                                     jrochon@girlscouts.org             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Girl Scouts Of The Usa                                             c/o Dorsey & Whitney LLP, De            Attn: Alessandra Glorioso                                300 Delaware Ave, Ste 1010            Wilmington, DE 19801             glorioso.alessandra@dorsey.com     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Girl Soccer Club                                                   Mecklenburg County Council 415          8403 Vermilion Dr                                        Charlotte, NC 28215‐9553                                                                                  First Class Mail
Chartered Organization         Girton Manufacturing Inc                                           Columbia‐Montour 504                    160 W Main St                                            Millville, PA 17846‐5004                                                                                  First Class Mail
Chartered Organization         Gisler Pto                                                         Orange County Council 039               18720 Las Flores St                                      Fountain Valley, CA 92708‐7113                                                                            First Class Mail
Voting Party                   Giuseppes Restaurant                                               707 Main St                             Mount Hope, WV 25880‐1318                                                                                                                                          First Class Mail
Chartered Organization         Give And Take Community Services                                   Tecumseh 439                            115 S Main St                                            West Mansfield, OH 43358                                                                                  First Class Mail
Chartered Organization         Glacier Hills Assoc                                                Patriots Path Council 358               100 Dolly Dr                                             Parsippany, NJ 07054‐1746                                                                                 First Class Mail
Chartered Organization         Glacier'S Edge Council                                             Glaciers Edge Council 620               P.O. Box 14135                                           Madison, WI 53708‐0135                                                                                    First Class Mail
Voting Party                   Glacier'S Edge Council 620                                         P.O. Box 14135                          Madison, WI 53708‐0135                                                                                                                                             First Class Mail
Voting Party                   Glacier's Edge Council, Madison, Wi                                Attn: Marvin Smith                      5846 Manufactures Dr                                     Madison, WI 53704                                                      marvin.smith@scouting.org          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Glade Creek Lutheran Church                                        Attn: John William Mccandlish           3359 Webster Rd                                          Blue Ridge, VA 24064                                                   gladecreeklc@gmail.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glade Run Utd Presbyterian                                         Moraine Trails Council 500              1091 Pittsburgh Rd                                       Valencia, PA 16059‐1925                                                                                   First Class Mail
Chartered Organization         Glade Run Utd Presbyterian                                         Moraine Trails Council 500              1091 Pittsburgh Rd                                       Valencia, PA 16059‐1925                                                                                   First Class Mail
Chartered Organization         Glade Valley Group Of Citizens                                     Old Hickory Council 427                 154 Phillips Akers Ln                                    Ennice, NC 28623‐9209                                                                                     First Class Mail
Chartered Organization         Glade Valley Lions Club                                            National Capital Area Council 082       P.O. Box 384                                             Walkersville, MD 21793‐0384                                                                               First Class Mail
Chartered Organization         Glade Valley Lions Club                                            National Capital Area Council 082       36 E Frederick St                                        Walkersville, MD 21793‐8235                                                                               First Class Mail
Chartered Organization         Glades County Sheriff'S Office                                     Gulf Stream Council 085                 1297 E State Rd 78                                       Moore Haven, FL 33471‐8955                                                                                First Class Mail
Chartered Organization         Glades Covenant Community Church                                   Gulf Stream Council 085                 Highway 27 P.O. Box 2173                                 South Bay, FL 33493                                                                                       First Class Mail
Chartered Organization         Glades Covenant Community Church                                   Gulf Stream Council 085                 248 US Hwy 27 S                                          South Bay, FL 33493‐2209                                                                                  First Class Mail
Chartered Organization         Glades Covenent Community Church                                   Gulf Stream Council 085                 248 US Hwy 27 S                                          South Bay, FL 33493‐2209                                                                                  First Class Mail
Chartered Organization         Gladeville Elementary School Pto                                   Middle Tennessee Council 560            8840 Stewarts Ferry Pike                                 Mount Juliet, TN 37122‐7116                                                                               First Class Mail
Chartered Organization         Gladeville Presbyterian Church                                     Sequoyah Council 713                    231 Ridgefield Rd Sw                                     Wise, VA 24293                                                                                            First Class Mail
Voting Party                   Gladeville United Methodist Church                                 Attn: Bradford Hugh Hollman             8770 Stewards Ferry Pike                                 Mt Juliet, TN 37122                                                    office@gladevilleumc.org           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Gladeville United Methodist Church                                 Attn: Treasurer                         P.O. Box 107                                             Gladeville, TN 37071                                                   office@gladevilleumc.org           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Gladeville Utd Methodist Church                                    Middle Tennessee Council 560            8770 Stewarts Ferry Pike                                 Mount Juliet, TN 37122‐7149                                                                               First Class Mail
Chartered Organization         Gladewater Rotary Club                                             East Texas Area Council 585             P.O. Box 983                                             Gladewater, TX 75647‐0983                                                                                 First Class Mail
Chartered Organization         Gladwyne Elem Sch Home & Sch Assoc                                 Cradle of Liberty Council 525           230 Righters Mill Rd                                     Gladwyne, PA 19035‐1533                                                                                   First Class Mail
Chartered Organization         Gladys Polk Elementary School                                      Bay Area Council 574                    600 Audubon Woods Dr                                     Richwood, TX 77531‐3747                                                                                   First Class Mail
Chartered Organization         Glasco Fire Co Inc                                                 Rip Van Winkle Council 405              P.O. Box 157                                             Glasco, NY 12432‐0157                                                                                     First Class Mail
Chartered Organization         Glasgow First Church Of The Nazarene                               Lincoln Heritage Council 205            600 E Main St                                            Glasgow, KY 42141‐2722                                                                                    First Class Mail
Voting Party                   Glasgow First United Methodist Church                              Attn: Jim Robinson                      500 S Green St                                           Glasgow, KY 42141                                                      Jimrobinson@Scrtc.com              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glasgow Lions Club                                                 Great Rivers Council 653                904 County Rd 214                                        Glasgow, MO 65254‐9349                                                                                    First Class Mail
Chartered Organization         Glassboro Memorial Vfw Post 679                                    Garden State Council 690                275 Wilmer St                                            Glassboro, NJ 08028                                                                                       First Class Mail
Chartered Organization         Glassboro Police Dept                                              Garden State Council 690                1 S Main St                                              Glassboro, NJ 08028‐2539                                                                                  First Class Mail
Chartered Organization         Glastonbury Elks 2202                                              Connecticut Rivers Council, Bsa 066     98 Woodland St                                           S Glastonbury, CT 06073‐2715                                                                              First Class Mail
Chartered Organization         Glastonbury Exchange Club                                          Connecticut Rivers Council, Bsa 066     111 Tall Timbers Ln                                      Glastonbury, CT 06033‐3393                                                                                First Class Mail
Chartered Organization         Glastonbury Fire Dept                                              Connecticut Rivers Council, Bsa 066     2825 Main St                                             Glastonbury, CT 06033‐2090                                                                                First Class Mail
Chartered Organization         Gleason Community Club                                             Samoset Council, Bsa 627                General Delivery                                         Gleason, WI 54435                                                                                         First Class Mail
Chartered Organization         Gleason Elementary Pto                                             Sam Houston Area Council 576            9203 Willowbridge Park Blvd                              Houston, TX 77064‐6304                                                                                    First Class Mail
Chartered Organization         Gleason Gazelles Inc                                               West Tennessee Area Council 559         P.O. Box 373                                             Gleason, TN 38229‐0373                                                                                    First Class Mail
Chartered Organization         Glemif Multiservice                                                Puerto Rico Council 661                 Cruce Davila 1835                                        Barceloneta, PR 00617                                                                                     First Class Mail
Chartered Organization         Glen Acres Elem Sch Parent Teacher Org                             Chester County Council 539              1150 Delancey Pl                                         West Chester, PA 19382‐5602                                                                               First Class Mail
Chartered Organization         Glen Allen Baptist Church                                          Heart of Virginia Council 602           3028 Mountain Rd                                         Glen Allen, VA 23060‐2001                                                                                 First Class Mail
Chartered Organization         Glen Allen High School Ptsa                                        Heart of Virginia Council 602           10700 Staples Mill Rd                                    Glen Allen, VA 23060‐2403                                                                                 First Class Mail
Chartered Organization         Glen Allen School Elementary Pta                                   Heart of Virginia Council 602           11101 Mill Rd                                            Glen Allen, VA 23060‐5004                                                                                 First Class Mail
Voting Party                   Glen Alpine Umc                                                    Attn: Randall Elbert Wright             4003 Leaning Pine Rd                                     Kingsport, TN 37660                                                    the.circuit.rider@gmail.com        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Glen Alpine United Methodist Church                                3200 Glen Alpine Rd                     Kingsport, TN 37660                                                                                                             secretary@glenalpineumc.org        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glen Alpine Utd Methodist Church                                   Piedmont Council 420                    P.O. Box 576                                             Glen Alpine, NC 28628‐0576                                                                                First Class Mail
Chartered Organization         Glen Arbor Community Church                                        Three Fires Council 127                 204 Church St                                            West Chicago, IL 60185‐2706                                                                               First Class Mail
Chartered Organization         Glen Arden Elementary School Pto                                   Daniel Boone Council 414                50 Pinehurst Cir                                         Arden, NC 28704‐3030                                                                                      First Class Mail
Chartered Organization         Glen Avon Presbyterian Church                                      Voyageurs Area 286                      2105 Woodland Ave                                        Duluth, MN 55803‐2253                                                                                     First Class Mail
Voting Party                   Glen Burnie United Methodist Church                                Attn: Treasurer, Gbumc                  5 2nd Ave, Se                                            Glen Burnie, MD 21061                                                                                     First Class Mail
Chartered Organization         Glen Burnie Utd Methodist Church                                   Baltimore Area Council 220              5 2nd & Crain Hwy                                        Glen Burnie, MD 21061                                                                                     First Class Mail
Chartered Organization         Glen Carbon Kiwanis                                                Greater St Louis Area Council 312       570 Glen Crossing Rd                                     Glen Carbon, IL 62034‐1519                                                                                First Class Mail
Chartered Organization         Glen Cary Lutheran Church                                          Northern Star Council 250               15531 Central Ave Ne                                     Ham Lake, MN 55304‐5610                                                                                   First Class Mail
Voting Party                   Glen Castle United Methodist Church                                Attn: Ray Swartwout                     23 Beers Rd                                              Binghamton, NY 13901                                                   revwick@gmail.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Glen Castle United Methodist Church                                Attn: David Russell Wickins             371 Castle Creek Rd                                      Binghamton, NY 13901                                                   revwick@gmail.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glen Cove Ems                                                      8 Glen Cove Ave                         Glen Cove, NY 11542‐2807                                                                                                                                           First Class Mail
Chartered Organization         Glen Dale Pta / Umc                                                Ohio River Valley Council 619, 7th St   Glendale, WV 26038                                                                                                                                                 First Class Mail
Voting Party                   Glen Dale United Methodist Church                                  Attn: Tonya L Cross, Treasurer          700 Wheeling Ave                                         Glen Dale, WV 26038                                                    gdumc@comcast.net                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glen Dale Utd Methodist                                            Ohio River Valley Council 619           700 Wheeling Ave                                         Glen Dale, WV 26038‐1648                                                                                  First Class Mail
Chartered Organization         Glen Duncan Team Up Program                                        Nevada Area Council 329                 535 E Plumb Ln                                           Reno, NV 89502‐3503                                                                                       First Class Mail
Chartered Organization         Glen Iris Pta                                                      Greater Alabama Council 001             1115 11th St S                                           Birmingham, AL 35205‐4611                                                                                 First Class Mail
Chartered Organization         Glen Lake Optimist Club                                            Northern Star Council 250               P.O. Box 1091                                            Minnetonka, MN 55345‐0091                                                                                 First Class Mail
Voting Party                   Glen Mar Umc                                                       Attn: Alison Mannino                    4701 New Cut Rd                                          Ellicott City, MD 21043                                                alison.mannino@glenmarumc.org      Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glen Mar Utd Methodist Church                                      Baltimore Area Council 220              4701 New Cut Rd                                          Ellicott City, MD 21043‐6603                                                                              First Class Mail
Voting Party                   Glen Mclaughlin                                                    c/o Boy Scouts of America               Attn: Chase Koontz                                       1325 W Walnut Hill Ln                 Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Glen Moore United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200              Tampa, FL 33602                  Erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glen Oak Learning Center                                           W D Boyce 138                           2100 N Wisconsin Ave                                     Peoria, IL 61603‐2610                                                                                     First Class Mail
Chartered Organization         Glen Park Academy                                                  Pathway To Adventure 456                5002 Madison St                                          Gary, IN 46408‐4655                                                                                       First Class Mail
Chartered Organization         Glen Park Elementary ‐ Gifw                                        Longhorn Council 662                    3601 Pecos St                                            Fort Worth, TX 76119‐4951                                                                                 First Class Mail
Chartered Organization         Glen Ridge Congregational Church                                   Northern New Jersey Council, Bsa 333    195 Ridgewood Ave                                        Glen Ridge, NJ 07028‐1201                                                                                 First Class Mail
Chartered Organization         Glen Rose First Utd Methodist Church                               Longhorn Council 662                    P.O. Box 426                                             Glen Rose, TX 76043‐0426                                                                                  First Class Mail
Chartered Organization         Glen Worden P.T.A.                                                 Twin Rivers Council 364                 30 Worden Rd                                             Scotia, NY 12302‐3409                                                                                     First Class Mail
Chartered Organization         Glenbrook School                                                   Norwela Council 215                     1674 Country Club Cir                                    Minden, LA 71055‐5623                                                                                     First Class Mail
Voting Party                   Glenco Mills Chapel, Umc                                           Attn: Kenneth W Coddington Jr           553 Joslen Blvd                                          Hudson, NY 12534                                                       kedocama4@gmail.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Glenco Mills Chapel, United Methodist Church                       405 Water St                            Hudson, NY 12534                                                                                                                kedocama4@gmail.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Glencoe: North Shore Umc                                           Attn: Scott Sterling Himel              213 Hazel Ave                                            Glencoe, IL 60022                                                      sshimel123@gmail.com               Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glendaal School Parent Teachers Assoc                              Twin Rivers Council 364                 774 Sacandaga Rd                                         Scotia, NY 12302‐6027                                                                                     First Class Mail
Chartered Organization         Glendale Clean And Beautiful                                       Verdugo Hills Council 058               1413 1/2 N Kenneth Rd 24                                 Glendale, CA 91201                                                                                        First Class Mail
Chartered Organization         Glendale First Church Of The Nazarene                              Grand Canyon Council 010                5902 W Cactus Rd                                         Glendale, AZ 85304‐1710                                                                                   First Class Mail
Voting Party                   Glendale First United Methodist Church                             Attn: Ty Koenig                         4447 Collis Ave                                          Los Angeles, CA 90032                                                  tyandpat@msn.com                   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Glendale Heights United Methodist Church                           Attn: Thomas W Werner                   2311 Anthony Dr                                          Durham, NC 27705                                                       twwerner@earthlink.net             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Glendale Heights United Methodist Church                           Attn: Thomas Wesley Werner              908 Leon St                                              Durham, NC 27704                                                       twwerner@earthlink.net             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glendale Heights Utd Methodist Church                              Occoneechee 421                         908 Leon St                                              Durham, NC 27704‐4130                                                                                     First Class Mail
Chartered Organization         Glendale Heights Vfw Post 2377                                     Three Fires Council 127                 142 E Army Trail Rd                                      Glendale Heights, IL 60139‐1647                                                                           First Class Mail
Chartered Organization         Glendale Kiwanis                                                   Verdugo Hills Council 058               3155 Montrose Ave                                        Glendale, CA 91214‐3632                                                                                   First Class Mail
Voting Party                   Glendale Maspeth Umc                                               66‐14 Central Ave                       Glendale, NY 11385                                                                                                              hwilhemina@hotmail.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glendale Nazarene Church                                           Grand Canyon Council 010                5902 W Cactus Rd                                         Glendale, AZ 85304‐1710                                                                                   First Class Mail
Chartered Organization         Glendale Parent Teachers Assoc                                     Greater Niagara Frontier Council 380    101 Glendale Dr                                          Tonawanda, NY 14150‐4613                                                                                  First Class Mail
Chartered Organization         Glendale Police Deparment                                          Grand Canyon Council 010                6835 N 57th Dr                                           Glendale, AZ 85301‐3218                                                                                   First Class Mail
Chartered Organization         Glendale Police Dept                                               Verdugo Hills Council 058               140 N Isabel St                                          Glendale, CA 91206‐4313                                                                                   First Class Mail
Chartered Organization         Glendale Pto                                                       Middle Tennessee Council 560            800 Thompson Ave                                         Nashville, TN 37204‐4239                                                                                  First Class Mail
Voting Party                   Glendale United Methodist Church                                   Attn: David A Jackson, Pastor           151 Glendale St                                          Everett, MA 02149                                                      pastordavidjackson58@gmail.com     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Glendale United Methodist Church                                   Attn: David Allen Jackson               392 Ferry St                                             Everett, MA 02149                                                      pastordavidjackson58@gmail.com     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Glendale United Methodists Church                                  Attn: William Russell Hamblen           900 Glendale Ln                                          Nashville, TN 37204                                                    contact@glendaleumc.org            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glendale Utd Methodist Church                                      The Spirit of Adventure 227             392 Ferry St                                             Everett, MA 02149                                                                                         First Class Mail
Chartered Organization         Glendale Utd Methodist Church                                      Northern Star Council 250               13550 Glendale Rd                                        Savage, MN 55378‐2500                                                                                     First Class Mail
Voting Party                   Glendive United Methodist Church                                   Attn: Kevin Patrick Garman              206 W Towne St                                           Glendive, MT 59330                                                     pastorkevin89@gmail.com            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glendola Fire Co                                                   Monmouth Council, Bsa 347               3404 Belmar Blvd                                         Wall, NJ 07719‐4749                                                                                       First Class Mail
Chartered Organization         Glendora Community Church                                          Greater Los Angeles Area 033            645 N Grand Ave                                          Glendora, CA 91741‐1984                                                                                   First Class Mail
Chartered Organization         Glendora Police Dept                                               Greater Los Angeles Area 033            150 S Glendora Ave                                       Glendora, CA 91741‐3416                                                                                   First Class Mail
Voting Party                   Glendora Umc                                                       Attn: Lisa Marie Scott                  5209 N Oakbank                                           Covina, CA 91722                                                       we44098owl@aol.com                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Glendora United Methodist Church                                   Attn: Rev Dr Hillary Chrisley           201 E Bennett Ave                                        Glendora, CA 91741                                                     pastorhillary@umcglendora.org      Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Gleneagle Sertoma Club                                             Pikes Peak Council 060                  13395 Voyager Pkwy, Ste 130                              Colorado Springs, CO 80921‐7677                                                                           First Class Mail
Chartered Organization         Glenelg Umc                                                        Baltimore Area Council 220              13900 Burntwoods Rd                                      Glenelg, MD 21737‐9721                                                                                    First Class Mail
Voting Party                   Glenelg United Methodist Church                                    Attn: Don Cornwell                      13900 Burntwoods Rd                                      Glenelg, MD 21737                                                      ddeans@glenelgumc.org              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glenelg Utd Methodist Church                                       Baltimore Area Council 220              14001 Burntwoods Rd                                      Glenelg, MD 21737‐9718                                                                                    First Class Mail
Chartered Organization         Glenham School Pto                                                 Hudson Valley Council 374               5 Chase Dr                                               Glenham, NY 12577                                                                                         First Class Mail
Chartered Organization         Glenkirk                                                           Northeast Illinois 129                  711 Indian Spring Ln                                     Buffalo Grove, IL 60089‐1403                                                                              First Class Mail
Chartered Organization         Glenkirk Elementary School                                         National Capital Area Council 082       8584 Sedge Wren Dr                                       Gainesville, VA 20155‐2996                                                                                First Class Mail
Voting Party                   Glenmont United Methodist Church                                   Attn: Joanne Richards                   12901 Georgia Ave                                        Silver Spring, MD 20906                                                akrichards40@verizon.net           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glenmoore Methodist Church                                         Chester County Council 539              P.O. Box 37                                              Glenmoore, PA 19343‐0037                                                                                  First Class Mail
Voting Party                   Glenn A Adams                                                      c/o Boy Scouts of America               Attn: Chase Koontz                                       1325 W Walnut Hill Ln                 Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glenn A Pratt Post 1460                                            Allegheny Highlands Council 382         P.O. Box 274                                             Machias, NY 14101‐0274                                                                                    First Class Mail
Voting Party                   Glenn Dale Umc                                                     Attn: Joyce Romanoff                    8500 Springfield Rd                                      Glenn Dale, MD 20769                                                   glenndaleumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glenn Memorial Umc                                                 Atlanta Area Council 092                1660 N Decatur Rd Ne                                     Atlanta, GA 30307‐1010                                                                                    First Class Mail
Voting Party                   Glenn Memorial Umc                                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Glenn Randall Phillips United Methodist Church                     Attn: Brian Ophaug                      1450 S Harlan St                                         Lakewood, CO 80232                                                     bophaug@comcast.net                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Glenn Utd Methodist Church                                         Atlanta Area Council 092                1660 N Decatur Rd Ne                                     Atlanta, GA 30307‐1010                                                                                    First Class Mail
Chartered Organization         Glennon Heights Elementary Pta                                     Denver Area Council 061                 11025 W Glennon Dr                                       Lakewood, CO 80226‐2516                                                                                   First Class Mail
Voting Party                   Glenns Valley Church                                               Attn: John A. Edwards                   2625 Glenns Valley Ln                                    Indianapolis, IN 46217                                                 gvcbusinessmanager@sbcglobal.net   Email
                                                                                                                                                                                                                                                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                Page 139 of 442
                                                                                   Case 20-10343-LSS                                        Doc 8171                                       Filed 01/06/22                                                      Page 155 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                         Name                                                                                            Address                                                                                                           Email                    Method of Service
Voting Party                   Glennville United Methodist Church                         Attn: Aimee Joyce Ray                       116 S Caswell St                                            Glennville, GA 30427                                                   glnvumc@windstream.net             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Glennville United Methodist Church                         116 S Caswell St                            Glennville, GA 30427                                                                                                               glnvumc@windstream.net             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Glens Falls Elks 81                                        Twin Rivers Council 364                     32 Cronin Rd                                                Queensbury, NY 12804‐1419                                                                                 First Class Mail
Chartered Organization         Glenshaw Valley Presbyterian Church                        Laurel Highlands Council 527                1520 Butler Plank Rd                                        Glenshaw, PA 15116‐2318                                                                                   First Class Mail
Chartered Organization         Glenvale Church Of God                                     New Birth of Freedom 544                    1970 New Valley Rd                                          Marysville, PA 17053‐9421                                                                                 First Class Mail
Chartered Organization         Glenview Community Church                                  Northeast Illinois 129                      1000 Elm St                                                 Glenview, IL 60025‐2806                                                                                   First Class Mail
Chartered Organization         Glenview Rotary                                            Northeast Illinois 129                      P.O. Box 223                                                Glenview, IL 60025‐0223                                                                                   First Class Mail
Chartered Organization         Glenview Sunrise Rotary                                    Northeast Illinois 129                      P.O. Box 382                                                Glenview, IL 60025‐0382                                                                                   First Class Mail
Chartered Organization         Glenview Utd Methodist Church                              Northeast Illinois 129                      727 Harlem Ave                                              Glenview, IL 60025‐4252                                                                                   First Class Mail
Voting Party                   Glenview: Glenview                                         Attn: Eun‐Hye Choi                          727 Harlem Ave                                              Glenview, IL 60025                                                     echoi@glenviewumc.org              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Glenville Volunteer Fire Co                                Greenwich 067                               266 Glenville Rd                                            Greenwich, CT 06831‐4150                                                                                  First Class Mail
Chartered Organization         Glenwood                                                   Boys & Girls Club of Amarillo & Canyon      1923 S Lincoln St                                           Amarillo, TX 79109‐2745                                                                                   First Class Mail
Chartered Organization         Glenwood ‐ Highland Parent Support Group                   Buffalo Trace 156                           901 Sweetser Ave                                            Evansville, IN 47713‐2831                                                                                 First Class Mail
Chartered Organization         Glenwood Landing American Legion P336                      Theodore Roosevelt Council 386              190 Glen Head Rd                                            Glen Head, NY 11545‐1950                                                                                  First Class Mail
Chartered Organization         Glenwood Leadership Academy                                Buffalo Trace 156                           901 Sweetser Ave                                            Evansville, IN 47713‐2831                                                                                 First Class Mail
Chartered Organization         Glenwood Lions Club                                        Baltimore Area Council 220                  2949 Route 97                                               Glenwood, MD 21738                                                                                        First Class Mail
Voting Party                   Glenwood Lutheran Church                                   206 Minnesota Ave E                         Glenwood, MN 56334                                                                                                                 office@glenwoodlutheran.com        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Glenwood Optimist Club                                     Mid‐America Council 326                     301 1st St                                                  Glenwood, IA 51534‐1705                                                                                   First Class Mail
Chartered Organization         Glenwood Ruritan Club                                      Piedmont Council 420                        1742 Old US 221 S                                           Marion, NC 28752                                                                                          First Class Mail
Chartered Organization         Glenwood Ruritan Club                                      Piedmont Council 420                        6283 US 221 S                                               Marion, NC 28752‐7916                                                                                     First Class Mail
Chartered Organization         Glenwood School Community Assoc                            Baden‐Powell Council 368                    377 Jones Rd                                                Vestal, NY 13850                                                                                          First Class Mail
Voting Party                   Glenwood United Methodist Church (60674)                   c/o Bentz Law Firm                          Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Glidden United Methodist Church                            Attn: Chair of Trustees (Alan Thompson)     P.O. Box 449                                                Glidden, IA 51443                                                      lorinda.hoover@iaumc.net           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Glide Rural Fire Protection District                       Oregon Trail Council 697                    P.O. Box 446                                                Glide, OR 97443‐0446                                                                                      First Class Mail
Chartered Organization         Glitterboxx Sutdios Llc                                    Coastal Georgia Council 099                 12 Bushwood Dr                                              Savannah, GA 31407‐3975                                                                                   First Class Mail
Voting Party                   Global Equipment Company Inc                               29833 Network Pl                            Chicago, IL 60673‐1298                                                                                                                                                First Class Mail
Chartered Organization         Gloria Ainsworth Center                                    Arbuckle Area Council 468                   1220 L St Ne                                                Ardmore, OK 73401‐7104                                                                                    First Class Mail
Voting Party                   Gloria Dei                                                 Attn: Sarah Caprani                         107 Robinson St                                             Orlando, FL 32801                                                      scaprani@cfdiocese.org             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Great Alaska Council 610                    8427 Jewel Lake Rd                                          Anchorage, AK 99502‐5246                                                                                  First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Baltimore Area Council 220                  461 College Pkwy                                            Arnold, MD 21012‐1875                                                                                     First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Connecticut Rivers Council, Bsa 066         355 Camp St                                                 Bristol, CT 06010‐5503                                                                                    First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Pathway To Adventure 456                    4501 Main St                                                Downers Grove, IL 60515‐2881                                                                              First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Illowa Council 133                          606 4th Ave                                                 Durant, IA 52747‐7796                                                                                     First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Colonial Virginia Council 595               250 Fox Hill Rd                                             Hampton, VA 23669‐1757                                                                                    First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Bay‐Lakes Council 635                       1000 W Quincy St                                            Hancock, MI 49930‐1402                                                                                    First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Bay Area Council 574                        18220 Upper Bay Rd                                          Houston, TX 77058‐4127                                                                                    First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Cradle of Liberty Council 525               570 Welsh Rd                                                Huntingdon Valley, PA 19006‐6427                                                                          First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Suffolk County Council Inc 404              22 E 18th St                                                Huntington Station, NY 11746‐2939                                                                         First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Heart of America Council 307                5409 NW 72nd St                                             Kansas City, MO 64151‐1404                                                                                First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Dan Beard Council, Bsa 438                  2718 Dixie Hwy                                              Lakeside Park, KY 41017‐4721                                                                              First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Theodore Roosevelt Council 386              600 New Hyde Park Rd                                        New Hyde Park, NY 11040‐3219                                                                              First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Pacific Harbors Council, Bsa 612            1515 Harrison Ave Nw                                        Olympia, WA 98502‐5352                                                                                    First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Gamehaven 299                               1212 12th Ave Nw                                            Rochester, MN 55901‐1721                                                                                  First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Sioux Council 733                           5500 E 57th St                                              Sioux Falls, SD 57108‐8394                                                                                First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Gateway Area 624                            310 W Elizabeth St                                          Tomah, WI 54660‐2712                                                                                      First Class Mail
Chartered Organization         Gloria Dei Lutheran Church                                 Quivira Council, Bsa 198                    1101 N River Blvd                                           Wichita, KS 67203‐3028                                                                                    First Class Mail
Voting Party                   Gloria Dei Lutheran Church                                 Attn: Gail S Rautmann                       3215 Larch Way                                              Lynnwood, WA 98036                                                     office@gloria‐dei‐lutheran.org     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Gloria Dei Lutheran Church                                 Attn: Dana Libby                            402 Crawford St                                             Kelso, WA 98632                                                        libby_75@msn.com                   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Gloria Dei Lutheran Church                                 c/o Plews Shadley Racher & Braun LLP        Attn: Josh S Tatum                                          1346 N Delaware St                  Indianapolis, IN 46202             jtatum@psrb.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Gloria Dei Lutheran Church                                 Attn: Joseph Milano                         1385 Broadway, 12th Fl                                      New York, NY 10018                                                     Jmilano@cbmslaw.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Gloria Dei Lutheran Church                                 Attn: Lindas Jeanne Tubbesing               4700 Augustana Dr                                           Rockford, IL 61107                                                     jksflynn@gmail.com                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Gloria Dei Lutheran Church of Dana Point, California       Attn: Pastor David Mattson                  3501 Stonehill Dr                                           Dana Point, CA 92629                                                   pastordavid@mygloriadei.org        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Gloria Dei Lutheran Church Sioux Falls, Sd                 5500 E 57th St                              Sioux Falls, SD 57108                                                                                                              holly.brunick@gloriadei‐sd.org     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Gloria Dei Luthern Church                                  Dan Beard Council, Bsa 438                  2718 Dixie Hwy                                              Lakeside Park, KY 41017‐4721                                                                              First Class Mail
Voting Party                   Glossbreener Umc ‐ Churchville                             c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Glossbrenner U M Church                                    Pennsylvania Dutch Council 524              713 Church St                                               Mount Joy, PA 17552‐1801                                                                                  First Class Mail
Voting Party                   Glossbrenner United Methodist Church                       713 Church St                               Mount Joy, PA 17552                                                                                                                jackier@gumcmj.net                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Gloucester American Legion Post 75                         Colonial Virginia Council 595               6139 Geo Wash Mem Hwy                                       Gloucester, VA 23061‐3751                                                                                 First Class Mail
Chartered Organization         Gloucester City Police Athletic League                     Garden State Council 690                    51 S Brown St                                               Gloucester City, NJ 08030                                                                                 First Class Mail
Chartered Organization         Gloucester Elks Lodge 892                                  The Spirit of Adventure 227                 101 Atlantic Rd                                             Gloucester, MA 01930‐4331                                                                                 First Class Mail
Voting Party                   Gloucester United Methodist Church                         Attn: William Kesterson                     436 Washington St                                           Gloucester, MA 01930                                                   gloumc@verizon.net                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Glovier Memorial UMC                                       c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Glyndon Lions Club                                         Northern Lights Council 429                 209 Seter Cir                                               Glyndon, MN 56547‐4428                                                                                    First Class Mail
Voting Party                   Glyndon Umc                                                Attn: Dong Eun Lee                          4713 Butler Rd                                              P.O. Box 84                         Glyndon, MD 21071                  pastorleegumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Glyndon Umc                                                P.O. Box 84                                 Glyndon, MD 21071                                                                                                                  pastorleegumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Glynn County Fire Rescue                                   Coastal Georgia Council 099                 121 Public Safety Blvd                                      Brunswick, GA 31525‐8906                                                                                  First Class Mail
Chartered Organization         Glynn County Police Dept                                   Coastal Georgia Council 099                 157 Public Safety Blvd                                      Brunswick, GA 31525‐8906                                                                                  First Class Mail
Chartered Organization         G‐Men Of Walker County                                     Black Warrior Council 006                   2800 6th Ave S                                              Jasper, AL 35501‐6215                                                                                     First Class Mail
Chartered Organization         Gmr Assoc, Inc                                             Seneca Waterways 397                        271 Marsh Rd, Ste 2                                         Pittsford, NY 14534‐1655                                                                                  First Class Mail
Chartered Organization         Gms ‐ Parent Teacher Organization                          Three Harbors Council 636                   6800 Schoolway                                              Greendale, WI 53129‐1819                                                                                  First Class Mail
Voting Party                   Gnadenhutten United Methodist Church                       Attn: Ryan Cockrill                         121 W Main St                                               Gnadenhutten, OH 44629                                                 gumc4815@sbcglobal.net             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Gnadenhutten United Methodist Church                       Attn: Robin L Troyer                        220 N Walnut St                                             Gnadenhutten, OH 44629                                                 gumc4815@sbcglobal.net             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Gnadenhutten Utd Methodist Church                          Buckeye Council 436                         P.O. Box 37                                                 Gnadenhutten, OH 44629‐0037                                                                               First Class Mail
Chartered Organization         Gnoss Field Community Assoc                                Marin Council 035                           451 Airport Rd, Ste 5                                       Novato, CA 94945‐1428                                                                                     First Class Mail
Chartered Organization         Go Church                                                  Southwest Florida Council 088               590 Tamiami Trl                                             Port Charlotte, FL 33953‐2109                                                                             First Class Mail
Chartered Organization         Go For Broke Assoc                                         Aloha Council, Bsa 104                      P.O. Box 88234                                              Honolulu, HI 96830‐8234                                                                                   First Class Mail
Chartered Organization         Go2Realty Pros Inc                                         Greater Yosemite Council 059                440 Sullivan Ct                                             Mountain House, CA 95391‐1103                                                                             First Class Mail
Voting Party                   Gobles United Methodist Church                             Attn: Chuck Grimes                          28194 31st St                                               Gobles, MI 49055                                                       crgrimes3@gmail.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Goddard Lions Club                                         Quivira Council, Bsa 198                    9 Argon Dr                                                  Goddard, KS 67052‐9423                                                                                    First Class Mail
Chartered Organization         Goddard Lions Club                                         Quivira Council, Bsa 198                    9 Argon Dr                                                  Goddard, KS 67052‐9423                                                                                    First Class Mail
Voting Party                   Godfrey 1St United Methodist Church                        Attn: Jay D Hanscom                         1100 Airport Rd                                             Godfrey, IL 62035                                                      revjayhanscom@gmail.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Godley Park District                                       Rainbow Council 702                         500 S Kankakee St                                           Godley, IL 60407‐9653                                                                                     First Class Mail
Voting Party                   Godley United Methodist Church, Godley                     c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Godley United Methodist Church, Godley                     624 N Pearson                               Godley, TX 76044                                                                                                                                                      First Class Mail
Chartered Organization         Godley Utd Methodist Church                                Longhorn Council 662                        P.O. Box 267                                                Godley, TX 76044‐0267                                                                                     First Class Mail
Voting Party                   God's Kingdom United Methodist Church                      Attn: Roy Jerue                             701 Ad Mosley St                                            Ferris, TX 75125                                                       royjerue1@yahoo.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Goegleins Inc                                              Anthony Wayne Area 157                      7311 Maysville Rd                                           Fort Wayne, IN 46815‐8115                                                                                 First Class Mail
Voting Party                   Goering & Goering, Llc                                     Attn: Robert Goering                        220 W 3rd St                                                Cincinnati, OH 45202                                                   bob@goering‐law.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Firm                           Goff Law Group LLC                                         Brooke Goff, Esq. and Annette Smith, Esq.   75 Brace Road                                               West Hartford, CT 06107                                                Annette@gofflawgroup.net           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Goffstown Citizens Committee                               Daniel Webster Council, Bsa 330             111 Goffstown Back Rd                                       Goffstown, NH 03045‐2644                                                                                  First Class Mail
Chartered Organization         Goffstown Fire Dept                                        Daniel Webster Council, Bsa 330             18 Church St                                                Goffstown, NH 03045‐1703                                                                                  First Class Mail
Chartered Organization         Goffstown Police Dept                                      Daniel Webster Council, Bsa 330             326 Mast Rd                                                 Goffstown, NH 03045‐2422                                                                                  First Class Mail
Voting Party                   Gogginsville Umc ‐ Rocky Mount                             c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Golconda First United Methodist Church                     Attn: Leah Dugan                            P.O. Box 117                                                Golconda, IL 62938                                                     gfirstumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Golconda Utd Methodist Church                              Lincoln Heritage Council 205                225 E Washington St                                         Golconda, IL 62938                                                                                        First Class Mail
Chartered Organization         Gold Creek Community Church                                Mount Baker Council, Bsa 606                4326 148th St Se                                            Mill Creek, WA 98012‐4705                                                                                 First Class Mail
Chartered Organization         Gold Cross Ems                                             Georgia‐Carolina 093                        4328 Wheeler Rd                                             Martinez, GA 30907‐9740                                                                                   First Class Mail
Chartered Organization         Gold River Discovery Center                                Golden Empire Council 047                   2200 Roaring Camp Dr                                        Gold River, CA 95670‐7677                                                                                 First Class Mail
Chartered Organization         Gold Star Bible Class                                      Norwela Council 215                         903 Broadway St                                             Minden, LA 71055‐3310                                                                                     First Class Mail
Chartered Organization         Gold Team Real Estate                                      California Inland Empire Council 045        90 W Grand Blvd, Ste 101                                    Corona, CA 92882‐2049                                                                                     First Class Mail
Chartered Organization         Gold Trail Grange 452                                      Golden Empire Council 047                   P.O. Box 16                                                 Coloma, CA 95613‐0016                                                                                     First Class Mail
Chartered Organization         Golda Meir Elementary School                               Three Harbors Council 636                   1555 N Dr Martin Luther King Dr                             Milwaukee, WI 53212                                                                                       First Class Mail
Chartered Organization         Golden Acres Baptist Church                                Sam Houston Area Council 576                2812 Pansy St                                               Pasadena, TX 77503‐3932                                                                                   First Class Mail
Voting Party                   Golden Empire                                              Attn: James Rhodes Dreyer                   251 Commerce Cir                                            Sacramento, CA 95815                                                   james.rhodes‐dreyer@scouting.org   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Golden Fields Owners Associatin Inc                        Three Harbors Council 636                   P.O. Box 483                                                Oak Creek, WI 53154‐0483                                                                                  First Class Mail
Chartered Organization         Golden Gate Kiwanis                                        Southwest Florida Council 088               P.O. Box 990252                                             Naples, FL 34116‐6062                                                                                     First Class Mail
Voting Party                   Golden Hill United Methodist Church                        Attn: Antoinette R Kaine                    166 Holmes St                                               Stratford, CT 06615                                                    AttorneyKaine@gmail.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Golden Hill United Methodist Church                        Attn: Rev Rhonda R Taylor, Pastor           210 Elm St                                                  Bridgeport, CT 06604                                                   AttorneyKaine@gmail.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Golden K Kiwanis Club Of Carmel Indiana                    Crossroads of America 160                   7 Lincoln Ct                                                Carmel, IN 46032‐2257                                                                                     First Class Mail
Chartered Organization         Golden Lions Club                                          Mississippi Valley Council 141 141          307 Quincy St                                               Golden, IL 62339                                                                                          First Class Mail
Chartered Organization         Golden Lodge 1123 ‐ Utd Steelworkers                       Buckeye Council 436                         1234 Harrison Ave Sw                                        Canton, OH 44706‐1520                                                                                     First Class Mail
Voting Party                   Golden Meadow United Methodist Church                      Attn: Rev Chris Thomas                      18803 E Main                                                Galliano, LA 70354                                                     chrislbthomas@gmail.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Golden Memorial Umc                                        c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                    ERICE@BRADLEY.COM                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Golden Motors Inc                                          Southeast Louisiana Council 214             15101 Hwy 3235                                              Cut Off, LA 70345‐3667                                                                                    First Class Mail
Chartered Organization         Golden Nugget Nautical Society                             Golden Empire Council 047                   3254 Marrissey Ln                                           Sacramento, CA 95834‐2579                                                                                 First Class Mail
Chartered Organization         Golden Oak Montessori Charter School                       San Francisco Bay Area Council 028          2652 Vergil Ct                                              Castro Valley, CA 94546‐6402                                                                              First Class Mail
Chartered Organization         Golden Optimist Club                                       Denver Area Council 061                     16281 W 16th Pl                                             Golden, CO 80401                                                                                          First Class Mail
Voting Party                   Golden Spread Cncl 562                                     401 Tascosa Rd                              Amarillo, TX 79124‐1619                                                                                                                                               First Class Mail
Voting Party                   Golden Spread Council                                      Attn: Brian W Tobler                        401 Tascosa Rd                                              Amarillo, TX 79124                                                     brian.tobler@scouting.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Golden Spread Council, Inc                                 Attn: Brian Tobler                          Number 562 of the Bsa                                       401 Tasosa Rd                       Amarillo, TX 79124                 brian.tobler@scouting.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Golden Spread Council, Inc 562 Of The Bsa                  Attn: John Massouh                          701 S Taylor, Ste 500                                       Amarillo, TX 79101                                                     john.massouh@sprouselaw.com        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Golden United Methodist Church                             Attn: Paula Wooldridge                      4028 Neely Rd                                               Memphis, TN 38109                                                      golden2@bellsouth.net              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Golden Valley Luthern Church                               Northern Star Council 250                   5501 Glenwood Ave                                           Golden Valley, MN 55422‐5070                                                                              First Class Mail
Chartered Organization         Goldendale Church Of Nazarene                              Cascade Pacific Council 492                 P.O. Box 1500                                               Goldendale, WA 98620‐1500                                                                                 First Class Mail
Chartered Organization         Goldens Bridge Fire Dept                                   Westchester Putnam 388                      254 Waccabuc Rd                                             Goldens Bridge, NY 10526‐1218                                                                             First Class Mail
Chartered Organization         Goldsboro Fire Dept                                        Tuscarora Council 424                       204 S Center St                                             Goldsboro, NC 27530‐4805                                                                                  First Class Mail
Chartered Organization         Goldsboro Police Dept                                      Tuscarora Council 424                       P.O. Box A                                                  Goldsboro, NC 27533‐9701                                                                                  First Class Mail
Chartered Organization         Goldsmith Elementary School                                Lincoln Heritage Council 205                3520 Goldsmith Ln                                           Louisville, KY 40220‐2314                                                                                 First Class Mail
Voting Party                   Goldston United Methodist Church                           Attn: Patricia Dowdy, Treasurer             P.O. Box 99                                                 Goldston, NC 27252                                                     lnelson@nccumc.org                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Goldston Utd Methodist Church                              Occoneechee 421                             185 Hillcrest Ave                                           Goldston, NC 27252                                                                                        First Class Mail
Chartered Organization         Goldstream Lions                                           Midnight Sun Council 696                    2968 Goldstream Rd                                          Fairbanks, AK 99709                                                                                       First Class Mail
Chartered Organization         Goleta Noontime Rotary                                     Los Padres Council 053                      P.O. Box 164                                                Goleta, CA 93116‐0164                                                                                     First Class Mail
Chartered Organization         Golfview Elementary School                                 Central Florida Council 083                 1530 S Fiske Blvd                                           Rockledge, FL 32955‐2515                                                                                  First Class Mail
Chartered Organization         Goliad Lions Club                                          South Texas Council 577                     P.O. Box 793                                                Goliad, TX 77963‐0793                                                                                     First Class Mail
Chartered Organization         Golightly Education Center                                 Great Lakes Fsc 272                         5536 Saint Antoine St                                       Detroit, MI 48202‐3831                                                                                    First Class Mail
Chartered Organization         Gombert Concerned Citizens Group                           Three Fires Council 127                     2707 Ridge Rd                                               Aurora, IL 60504‐6033                                                                                     First Class Mail
Chartered Organization         Gomer Congregational Church                                Black Swamp Area Council 449                7370 Gomer Rd                                               Gomer, OH 45809‐9702                                                                                      First Class Mail
Chartered Organization         Gomez Heritage Elementary School Pta                       Mid‐America Council 326                     5101 S 17th St 6                                            Omaha, NE 68107‐3047                                                                                      First Class Mail
Firm                           Gomez Trial Attorneys                                      Allison C Worden and Max E Halpern          655 W Broadway, Ste 1700                                    San Diego, CA 92101                                                    aworden@thegomezfirm.com           Email
                                                                                                                                                                                                                                                                         mhalpern@thegomezfirm.com          First Class Mail
Chartered Organization         Gonzales Lions Club                                        Istrouma Area Council 211                   P.O. Box 852                                                Gonzales, LA 70707‐0852                                                                                   First Class Mail
Chartered Organization         Gonzales Police Dept                                       Silicon Valley Monterey Bay 055             109 4th St                                                  Gonzales, CA 93926                                                                                        First Class Mail
Chartered Organization         Gonzales Youth Center                                      Capitol Area Council 564                    Po Box 13                                                   Gonzales, TX 78629‐0013                                                                                   First Class Mail
Chartered Organization         Gonzalez Elementary School Pta                             Rio Grande Council 775                      201 E Martin Ave                                            Mcallen, TX 78504‐2059                                                                                    First Class Mail
Chartered Organization         Gonzalez Methodist Mens Club                               Gulf Coast Council 773                      P.O. Box 38                                                 Gonzalez, FL 32560‐0038                                                                                   First Class Mail
Chartered Organization         Gonzalez Utd Methodist Church                              Gulf Coast Council 773                      P.O. Box 38                                                 Gonzalez, FL 32560‐0038                                                                                   First Class Mail
Voting Party                   Good Faith Carr United Methodist Church                    Attn: Jane Carnes                           3703 Ryburn Rd                                              Pine Bluff, AR 71603                                                   lraines@fridayfirm.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Good Fellowship Ambulance                                  Chester County Council 539                  600 Montgomery Ave                                          West Chester, PA 19380‐4429                                                                               First Class Mail
Chartered Organization         Good Hope Baptist Church                                   Pine Burr Area Council 304                  331 Purvis Oloh Rd                                          Purvis, MS 39475‐4272                                                                                     First Class Mail
Chartered Organization         Good Hope Country Day School                               National Capital Area Council 082           6199 Concordia                                              Kingshill, VI 00850‐9889                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 140 of 442
                                                                                Case 20-10343-LSS                                                          Doc 8171                                   Filed 01/06/22                                                     Page 156 of 457
                                                                                                                                                                                         Exhibit B
                                                                                                                                                                                          Service List
                                                                                                                                                                                   Served as set forth below

        Description                                                      Name                                                                                                          Address                                                                                                              Email                           Method of Service
Chartered Organization         Good Hope Lutheran Church                                     Black Swamp Area Council 449                            P.O. Box 379                                            Arlington, OH 45814‐0379                                                                                            First Class Mail
Chartered Organization         Good Hope Missionary Baptist Church                           Georgia‐Carolina 093                                    710 E Cedar St                                          Augusta, GA 30901‐1702                                                                                              First Class Mail
Chartered Organization         Good News Ministries Inc                                      South Georgia Council 098                               P.O. Box 1457                                           Americus, GA 31709‐1457                                                                                             First Class Mail
Chartered Organization         Good News Presbyterian Church                                 North Florida Council 087                               1357 Wildwood Dr                                        Saint Augustine, FL 32086‐9117                                                                                      First Class Mail
Voting Party                   Good News United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good News United Methodist Church                             1610 E New Hope                                         Leander, TX 78641                                                                                                                                                           First Class Mail
Voting Party                   Good News United Methodist Church, Inc                        c/o Stichter Riedel Blain & Postler, PA                 Attn: Daniel R Fogarty                                  110 E Madison St, Ste 200            Tampa, FL 33602                  dfogarty.ecf@srbp.com                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good News United Methodist Church, Inc                        4747 Hwy 98 W                                           Santa Rosa Beach, FL 32459                                                                                                                                                  First Class Mail
Chartered Organization         Good News Utd Methodist Church                                Capitol Area Council 564                                1610 E New Hope Dr                                      Cedar Park, TX 78641‐5105                                                                                           First Class Mail
Chartered Organization         Good News Utd Methodist Church                                Gulf Coast Council 773                                  4747 US Hwy 98 W                                        Santa Rosa Beach, FL 32459‐3562                                                                                     First Class Mail
Chartered Organization         Good Samaritan Episcopal Church                               Chief Seattle Council 609                               1757 244th Ave Ne                                       Sammamish, WA 98074‐3323                                                                                            First Class Mail
Chartered Organization         Good Samaritan Episcopal Church                               San Diego Imperial Council 049                          4321 Eastgate Mall                                      San Diego, CA 92121‐2102                                                                                            First Class Mail
Voting Party                   Good Samaritan Episcopal Church                               848 Baker Rd                                            Virginia Beach, VA 23455                                                                                                      goodsamaritan@episcopalchurch.hrcoxmail.com   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Samaritan Episcopal Church                               Attn: Carol Buckalew                                    5457 Club Head Rd                                       Virginia Beach, VA 23455                                                                                            First Class Mail
Chartered Organization         Good Samaritan Lutheran Church                                Las Vegas Area Council 328                              8425 W Windmill Ln                                      Las Vegas, NV 89113‐4445                                                                                            First Class Mail
Chartered Organization         Good Samaritan Society Vetrans Assoc.                         Central Florida Council 083                             4115 Southgate Dr                                       Kissimmee, FL 34746‐6414                                                                                            First Class Mail
Voting Party                   Good Samaritan Umc                                            c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Samaritan United Methodist Church                        Attn: Thomas P O'Elke                                   19624 Homestead Rd                                      Cupertino, CA 95014                                                   toelke@gmail.com                              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Samaritan United Methodist Church                        Attn: Thomas Oelke, Gsumc Trustee President             2829 Mauricia Ave                                       Santa Clara, CA 95051                                                 toelke@gmail.com                              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Good Samaritan Utd Methodist Church                           Silicon Valley Monterey Bay 055                         19624 Homestead Rd                                      Cupertino, CA 95014‐0607                                                                                            First Class Mail
Chartered Organization         Good Samaritan Utd Methodist Church                           Northern Star Council 250                               5730 Grove St                                           Edina, MN 55436‐2200                                                                                                First Class Mail
Chartered Organization         Good Samaritan Utd Methodist Church                           Suwannee River Area Council 664                         3720 Capital Cir Se                                     Tallahassee, FL 32311‐0800                                                                                          First Class Mail
Chartered Organization         Good Shepard Parish                                           Daniel Webster Council, Bsa 330                         151 Emery St                                            Berlin, NH 03570‐2055                                                                                               First Class Mail
Voting Party                   Good Shepatd Parish                                           Attn: Andre L Kydala                                    54 Old Hwy 22                                           Clinton, NJ 08809                                                                                                   First Class Mail
Voting Party                   Good Shepherd (Clinton)                                       c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                   159 Main St                          Nashua, NH 03060                 peter@thetamposilawgroup.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Good Shepherd Baptist Church                                  Heart of Virginia Council 602                           1127 N 28th St                                          Richmond, VA 23223‐6624                                                                                             First Class Mail
Chartered Organization         Good Shepherd Catholic Church                                 National Capital Area Council 082                       8710 Mount Vernon Hwy                                   Alexandria, VA 22309‐2238                                                                                           First Class Mail
Chartered Organization         Good Shepherd Catholic Church                                 Denver Area Council 061                                 2626 E 7th Ave Pkwy                                     Denver, CO 80206‐3809                                                                                               First Class Mail
Chartered Organization         Good Shepherd Catholic Church                                 Golden Empire Council 047                               9539 Racquet Ct                                         Elk Grove, CA 95758‐4349                                                                                            First Class Mail
Chartered Organization         Good Shepherd Catholic Church                                 Buffalo Trace 156                                       2301 N Stockwell Rd                                     Evansville, IN 47715‐1849                                                                                           First Class Mail
Chartered Organization         Good Shepherd Catholic Church                                 Greater Alabama Council 001                             13550 Chaney Thompson Rd Se                             Huntsville, AL 35803‐2326                                                                                           First Class Mail
Chartered Organization         Good Shepherd Catholic Church                                 Pacific Skyline Council 031                             901 Oceana Blvd                                         Pacifica, CA 94044‐2341                                                                                             First Class Mail
Chartered Organization         Good Shepherd Catholic Church                                 Heart of America Council 307                            12800 W 75th St                                         Shawnee, KS 66216‐3179                                                                                              First Class Mail
Chartered Organization         Good Shepherd Catholic Church                                 Suwannee River Area Council 664                         4665 Thomasville Rd                                     Tallahassee, FL 32309‐2512                                                                                          First Class Mail
Chartered Organization         Good Shepherd Catholic Community                              Longhorn Council 662                                    1000 Tinker Rd                                          Colleyville, TX 76034‐6104                                                                                          First Class Mail
Chartered Organization         Good Shepherd Catholic Parish                                 Sequoia Council 027                                     506 N Garden St                                         Visalia, CA 93291‐5067                                                                                              First Class Mail
Chartered Organization         Good Shepherd Catholic School                                 San Diego Imperial Council 049                          8180 Gold Coast Dr                                      San Diego, CA 92126‐3421                                                                                            First Class Mail
Chartered Organization         Good Shepherd Church                                          San Diego Imperial Council 049                          3990 Bonita Rd                                          Bonita, CA 91902‐1260                                                                                               First Class Mail
Chartered Organization         Good Shepherd Church                                          Gamehaven 299                                           559 20th St Sw                                          Rochester, MN 55902‐2299                                                                                            First Class Mail
Voting Party                   Good Shepherd Church (Chesapeake City)                        c/o the Episcopal Diocese of Eon                        Attn: Patrick Collins                                   314 N St                             Easton, MD 21601                 Patrick@DioceseofEaston.org                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Church (Chesapeake City)                        c/o The Law Office of Andrea Ross                       Attn: Andrea Ross, Esq                                  129 N West St, Ste 1                 Easton, MD 21601                 Andie@AndieRossLaw.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Good Shepherd Church Elca                                     President Gerald R Ford 781                             3990 112th Ave                                          Holland, MI 49424‐8608                                                                                              First Class Mail
Voting Party                   Good Shepherd Community (05255)                               c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Good Shepherd Community Of Christ                             Heart of America Council 307                            4341 Blue Ridge Blvd                                    Kansas City, MO 64133‐2026                                                                                          First Class Mail
Voting Party                   Good Shepherd Community Umc (182304)                          c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Good Shepherd Community Utd Methodist                         New Birth of Freedom 544                                2135 Ritner Hwy                                         Carlisle, PA 17015‐9305                                                                                             First Class Mail
Chartered Organization         Good Shepherd Episcopal Church                                Calcasieu Area Council 209                              715 Kirkman St                                          Lake Charles, LA 70601‐4350                                                                                         First Class Mail
Voting Party                   Good Shepherd Episcopal Church                                Attn: Rev William T Richter                             2929 Woodland Hills Dr                                  Kingwood, TX 77339                                                    wtr@goodshepherdkingwood.org                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Episcopal Church                                Attn: Amanda Deviney                                    1207 W Winding Way Dr                                   Friendswood, TX 77546                                                 office@gshepherd.net                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Episcopal Church                                Attn: Robert Kealamokihana Hino                         2140 Main St                                            Wailuku, HI 96793                                                     office@goodshepherdmain.org                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Episcopal Church                                c/o Squire Patton Boggs (Us) LLP                        Attn: Mark A Salzberg                                   2550 M St NW                         Washington, DC 20037             office@goodshepherdmain.org                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Episcopal Church                                Attn: David Wacaster                                    818 University Blvd W                                   Silver Spring, MD 20901                                               assistant@gsecmd.org                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Episcopal Church In Belmont, California         Attn: The Rev Michael Barham                            1300 5th Ave                                            Belmont, CA 94002                                                     allyallbeloved@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Evangelical Lutheran Church                     4141 Mormon Coulee Rd                                   La Crosse, WI 54601                                                                                                           office@gslacrosse.org                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Evangelical Lutheran Church Of Claremont, Ca    Attn: Allen Easley                                      1700 N Towne Ave                                        Claremont, CA 91711                                                   allen.easley@gmail.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Good Shepherd Gladstone                                       Heart of America Council 307                            2800 NE 64th St                                         Gladstone, MO 64119‐1573                                                                                            First Class Mail
Chartered Organization         Good Shepherd Lutheran                                        Great Lakes Fsc 272                                     814 N Campbell Rd                                       Royal Oak, MI 48067‐2125                                                                                            First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Sioux Council 733                                       1429 N Dakota St                                        Aberdeen, SD 57401‐2169                                                                                             First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Greater Wyoming Council 638                             51 Primrose St                                          Casper, WY 82604‐4061                                                                                               First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Chester County Council 539                              107 S 17th Ave                                          Coatesville, PA 19320‐2546                                                                                          First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Minsi Trails Council 502                                2115 Washington Blvd                                    Easton, PA 18042‐3803                                                                                               First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Great Swest Council 412                                 5 Entrada Del Norte                                     Edgewood, NM 87015                                                                                                  First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Sequoia Council 027                                     5140 N Fruit Ave                                        Fresno, CA 93711‐3022                                                                                               First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Bay‐Lakes Council 635                                   2736 Glendale Ave                                       Green Bay, WI 54313‐6932                                                                                            First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Greater Tampa Bay Area 089                              439 E Norvell Bryant Hwy                                Hernando, FL 34442‐4779                                                                                             First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Northern Star Council 250                               7600 Cahill Ave                                         Inver Grove Heights, MN 55076‐3003                                                                                  First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Orange County Council 039                               4800 Irvine Center Dr                                   Irvine, CA 92604‐3300                                                                                               First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Glaciers Edge Council 620                               700 N Wright Rd                                         Janesville, WI 53546‐1866                                                                                           First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Garden State Council 690                                120 White Horse Pike                                    Lindenwold, NJ 08021‐4161                                                                                           First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Cornhusker Council 324                                  P.O. Box 90                                             Milford, NE 68405‐0090                                                                                              First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Three Fires Council 127                                 1310 Shepherd Dr                                        Naperville, IL 60565‐4188                                                                                           First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Southwest Florida Council 088                           4770 Orange Grove Blvd                                  North Fort Myers, FL 33903‐4556                                                                                     First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Minsi Trails Council 502                                Old Carriage Rd                                         Northampton, PA 18067                                                                                               First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Marin Council 035                                       1180 Lynwood Dr                                         Novato, CA 94947‐4846                                                                                               First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Hudson Valley Council 374                               112 N Main St                                           Pearl River, NY 10965‐1848                                                                                          First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Bay‐Lakes Council 635                                   331 Pine St                                             Peshtigo, WI 54157‐1330                                                                                             First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Laurel Highlands Council 527                            418 Maxwell Dr                                          Pittsburgh, PA 15236‐2040                                                                                           First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Laurel Highlands Council 527                            1700 Bower Hill Rd                                      Pittsburgh, PA 15243‐1504                                                                                           First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Theodore Roosevelt Council 386                          99 Central Park Rd                                      Plainview, NY 11803‐2011                                                                                            First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Samoset Council, Bsa 627                                2000 Roosevelt Dr                                       Plover, WI 54467‐2918                                                                                               First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Occoneechee 421                                         7000 Creedmoor Rd                                       Raleigh, NC 27613‐3652                                                                                              First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Great Salt Lake Council 590                             8575 S 700 E                                            Sandy, UT 84070‐6308                                                                                                First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Washington Crossing Council 777                         877 St Rd                                               Southampton, PA 18966‐4711                                                                                          First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Greater Tampa Bay Area 089                              501 S Dale Mabry Hwy                                    Tampa, FL 33609‐3905                                                                                                First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Longhorn Council 662                                    4809 S Colony Blvd                                      The Colony, TX 75056‐2233                                                                                           First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Cascade Pacific Council 492                             16001 NE 34th St                                        Vancouver, WA 98682‐8473                                                                                            First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Glaciers Edge Council 620                               7291 County Rd Pd                                       Verona, WI 53593‐9546                                                                                               First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Gateway Area 624                                        504 S Main St                                           Viroqua, WI 54665‐2003                                                                                              First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Great Alaska Council 610                                501 E Bogard Rd                                         Wasilla, AK 99654‐7109                                                                                              First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Twin Valley Council Bsa 283                             291 1st St Sw                                           Wells, MN 56097‐1116                                                                                                First Class Mail
Chartered Organization         Good Shepherd Lutheran Church                                 Mayflower Council 251                                   183 W Main St                                           Westborough, MA 01581‐3406                                                                                          First Class Mail
Voting Party                   Good Shepherd Lutheran Church                                 Attn: Ralph Richard Ball, Jr                            532 Country Day Rd                                      Goldsboro, NC 27530                                                   rballjr2696@att.net                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Lutheran Church                                 Attn: Rev. Dawit (David) Bokre                          166 W Harder Rd                                         Hayward, CA 94544                                                     pastord@gslchayward.org                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Lutheran Church                                 Attn: Linda Ridella                                     95 Kings Hwy                                            P.O. Box 218                         Warwick, NY 10990                gslc@warwick.net                              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Lutheran Church                                 Attn: Business Manager                                  1950 S Baldwin Rd                                       Lake Orion, MI 48360                                                  dmatheny@gsls.org                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Good Shepherd Lutheran Church ‐ Aberdeen                      Sioux Council 733                                       1429 N Dakota St                                        Aberdeen, SD 57401‐2169                                                                                             First Class Mail
Chartered Organization         Good Shepherd Lutheran Church ‐ Bismarck                      Northern Lights Council 429                             106 Osage Ave                                           Bismarck, ND 58501‐2600                                                                                             First Class Mail
Chartered Organization         Good Shepherd Lutheran Church ‐ Elca                          Miami Valley Council, Bsa 444                           901 E Stroop Rd                                         Kettering, OH 45429‐4633                                                                                            First Class Mail
Chartered Organization         Good Shepherd Lutheran Church Tulsa                           Indian Nations Council 488                              8730 E Skelly Dr                                        Tulsa, OK 74129‐3422                                                                                                First Class Mail
Chartered Organization         Good Shepherd Luthern Church                                  Atlanta Area Council 092                                1208 Rose Creek Dr                                      Woodstock, GA 30189‐6714                                                                                            First Class Mail
Chartered Organization         Good Shepherd Methodist Church                                National Capital Area Council 082                       305 Smallwood Dr                                        Waldorf, MD 20602‐2879                                                                                              First Class Mail
Chartered Organization         Good Shepherd Parish                                          Daniel Webster Council, Bsa 330                         151 Emery St                                            Berlin, NH 03570‐2055                                                                                               First Class Mail
Chartered Organization         Good Shepherd Parish                                          Laurel Highlands Council 527                            1024 Maple Ave                                          Braddock, PA 15104‐1612                                                                                             First Class Mail
Chartered Organization         Good Shepherd Parish                                          Dan Beard Council, Bsa 438                              8815 E Kemper Rd                                        Cincinnati, OH 45249‐2718                                                                                           First Class Mail
Chartered Organization         Good Shepherd Parish                                          Pine Tree Council 218                                   291 Main St                                             Saco, ME 04072                                                                                                      First Class Mail
Chartered Organization         Good Shepherd Parish                                          Pine Tree Council 218                                   297 Main St                                             Saco, ME 04072                                                                                                      First Class Mail
Chartered Organization         Good Shepherd Parish                                          Water and Woods Council 782                             4470 N Washington St                                    Ubly, MI 48475‐9792                                                                                                 First Class Mail
Voting Party                   Good Shepherd Parish In Hemet, Ca                             Attn: Kirby Smith                                       2083 Sunset Cliffs Blvd                                 San Diego, CA 92107                                                   KSmith@edsd.org                               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Parish In Hemet, Ca                             c/o Sullivan Hill Rez & Engel                           Attn: James P Hill, Esq                                 600 B St, Ste 1700                   San Diego, CA 92101              Hill@SullivanHill.com                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Parish In Hemet, Ca                             c/o Sullivan Hill Rez & Engel                           Attn: James P. Hill, Esq                                600 B St, Ste 1700                   San Diego, CA 92101              hill@sullivanhill.com                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Presbyterian Church                             Attn: Clerk of Session                                  1400 Killian Hill Rd Sw                                 Lilburn, GA 30044                                                     Revweekley@goodshepherdpc.org                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Good Shepherd Roman Catholic Church                           New Birth of Freedom 544                                3435 Trindle Rd                                         Camp Hill, PA 17011‐4437                                                                                            First Class Mail
Chartered Organization         Good Shepherd Roman Catholic Church                           Iroquois Trail Council 376                              5442 Tonawanda Creek Rd                                 North Tonawanda, NY 14120‐9540                                                                                      First Class Mail
Voting Party                   Good Shepherd Roman Catholic Church, Indianapolis, Inc.       Attn: John S Mercer                                     1400 N Meridian St                                      Indianapolis, IN 46202                                                jsmercer@indylegal.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Good Shepherd School                                          Northern Star Council 250                               145 Jersey Ave S                                        Golden Valley, MN 55426‐1527                                                                                        First Class Mail
Voting Party                   Good Shepherd Tyrone (1650)                                   c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Good Shepherd Umc                                             National Capital Area Council 082                       305 Smallwood Dr                                        Waldorf, MD 20602‐2879                                                                                              First Class Mail
Voting Party                   Good Shepherd Umc                                             c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Umc                                             Attn: Debora Miteff, Mgr Staff & Admin. Good Shepherd   4700 Vance Ave                                          Fort Wayne, IN 46815                                                  damiteff@fwgoodshepherd.org                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Umc ‐ Dale City                                 c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Umc Baltimore                                   Attn: Pamela Seibert                                    3800 Roland Ave                                         Baltimore, MD 21211                                                   HampdenPastor@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd Umc Bartlett                                    751 W Army Trial Rd                                     Bartlett, IL 60103                                                                                                            goodshepherdbartlett@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Good Shepherd Umc N Oak                                       Heart of America Council 307                            9555 N Oak Trfy                                         Kansas City, MO 64155‐2256                                                                                          First Class Mail
Voting Party                   Good Shepherd United Methodist Church                         Attn: Rev. Matthew Neely‐Sr. Pastor                     20155 Cypresswood Dr                                    Cypress, TX 77433                                                     mneely@goochurch.us                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd United Methodist Church                         Attn: Bill Alexander, Treasurer                         6050 Summer Ave                                         Memphis, TN 38134                                                     gsumchurch@att.net                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd United Methodist Church                         Attn: Dan Sansbury                                      305 E Smallwood Dr                                      Waldorf, MD 20602                                                     gsadmin@gsumc.com                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd United Methodist Church                         Attn: Deanna Bruso                                      800 Lake Dr                                             Oconomowoc, WI 53066                                                  goodshepherdumc1@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd United Methodist Church                         Attn: Judith Smith Reid                                 471 Main St                                             Haverhill, MA 01830                                                   goodshepherdhaverhill@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd United Methodist Church                         Attn: Lindsay Langdon                                   1201 Leta Dr                                            Colorado Springs, CO 80911                                            finance@gsumc‐cs.org                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd United Methodist Church                         Attn: Timothy Wayne Escue                               84 Cherry Corner Rd                                     Murray, KY 42071                                                      escueu@currently.com                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd United Methodist Church                         Attn: Mrs Gail Poole                                    863 Taylors Store Rd                                    Murray, KY 42071                                                      escueu@currently.com                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd United Methodist Church                         Attn: David L Taylor                                    525 New Shackle Island Rd                               Hendersonville, TN 37075                                              dtaylor@thegsumc.org                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd United Methodist Church (86097)                 c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd United Methodist Church Of Indianapolis, Inc.   Attn: Bill Nelson                                       2015 S Arlington Ave                                    Indianapolis, IN 46203                                                office@gsumcindy.org                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Good Shepherd United Methodist Church, Westminster            Attn: Tracy Nguyen                                      8152 Mcfadden Ave                                       Westminster, CA 92683                                                 lynnguyencat@gmail.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Good Shepherd Utd Church Of Christ                            Hawk Mountain Council 528                               35 W Philadelphia Ave                                   Boyertown, PA 19512‐1427                                                                                            First Class Mail
Chartered Organization         Good Shepherd Utd Church Of Christ                            Hawk Mountain Council 528                               170 Tuckerton Rd                                        Reading, PA 19605‐1136                                                                                              First Class Mail
Chartered Organization         Good Shepherd Utd Church Of Christ                            Catalina Council 011                                    17750 S La Canada Dr                                    Sahuarita, AZ 85629‐9122                                                                                            First Class Mail
Chartered Organization         Good Shepherd Utd Methodist                                   Circle Ten Council 571                                  750 W Lucas Rd                                          Lucas, TX 75002‐7242                                                                                                First Class Mail
Chartered Organization         Good Shepherd Utd Methodist Ch Murray                         Lincoln Heritage Council 205                            1101 Fairlane Dr                                        Murray, KY 42071‐3083                                                                                               First Class Mail
Chartered Organization         Good Shepherd Utd Methodist Church                            Mecklenburg County Council 415                          13110 Moss Rd                                           Charlotte, NC 28273‐6625                                                                                            First Class Mail
Chartered Organization         Good Shepherd Utd Methodist Church                            Anthony Wayne Area 157                                  4700 Vance Ave                                          Fort Wayne, IN 46815‐6753                                                                                           First Class Mail
Chartered Organization         Good Shepherd Utd Methodist Church                            Crossroads of America 160                               2015 S Arlington Ave                                    Indianapolis, IN 46203‐5006                                                                                         First Class Mail
Chartered Organization         Good Shepherd Utd Methodist Church                            French Creek Council 532                                P.O. Box 198                                            Leeper, PA 16233‐0198                                                                                               First Class Mail
Chartered Organization         Good Shepherd Utd Methodist Church                            Jersey Shore Council 341                                207 Northfield Ave                                      Northfield, NJ 08225‐1949                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                          Page 141 of 442
                                                                               Case 20-10343-LSS                                              Doc 8171                                    Filed 01/06/22                                                  Page 157 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                     Name                                                                                               Address                                                                                                            Email               Method of Service
Chartered Organization         Good Shepherd Utd Methodist Church                     Potawatomi Area Council 651                       209 W Wisconsin Ave                                      Oconomowoc, WI 53066                                                                                  First Class Mail
Chartered Organization         Good Shepherd Utd Methodist Church                     Denver Area Council 061                           3960 E 128th Ave                                         Thornton, CO 80241‐2822                                                                               First Class Mail
Chartered Organization         Good Turn Northwest, Inc                               Cascade Pacific Council 492                       11627 SW 31st Ct                                         Portland, OR 97219‐9224                                                                               First Class Mail
Chartered Organization         Goodell Web Design & Marketing                         Great Alaska Council 610                          2521 E Mountain Village Dr                               Wasilla, AK 99654‐7373                                                                                First Class Mail
Chartered Organization         Gooding 1St Ward ‐ Wendell Stake                       Snake River Council 111                           1228 Main St                                             Gooding, ID 83330‐1835                                                                                First Class Mail
Chartered Organization         Gooding 2Nd Ward ‐ Wendell Stake                       Snake River Council 111                           1228 Main St                                             Gooding, ID 83330‐1835                                                                                First Class Mail
Chartered Organization         Gooding 3Rd Ward ‐ Wendell Stake                       Snake River Council 111                           317 Main St                                              Gooding, ID 83330‐1302                                                                                First Class Mail
Chartered Organization         Gooding Lions Club                                     Snake River Council 111                           422 Idaho St                                             Gooding, ID 83330‐1259                                                                                First Class Mail
Voting Party                   Gooding United Methodist Church ‐ Gooding              c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                 erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Goodison Scout Committee                               Great Lakes Fsc 272                               1104 Eagle Nest Dr                                       Rochester, MI 48306‐1214                                                                              First Class Mail
Chartered Organization         Goodland Academy                                       Circle Ten Council 571                            1216 N 4200 Rd                                           Hugo, OK 74743‐8510                                                                                   First Class Mail
Chartered Organization         Goodpasture Christian Elementary School                Middle Tennessee Council 560                      619 W Due West Ave                                       Madison, TN 37115‐4401                                                                                First Class Mail
Voting Party                   Goodrich Memorial Umc                                  Attn: Desi Sharp Brumit                           P.O. Box 523                                             Norman, OK 73070                                                   pastor.desisharp@gmail.com         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Goodrich Memorial United Methodist Church              Attn: Treasurer, Goodrich Memorial Umc            P.O. Box 523                                             Norman, OK 73070                                                   office@goodrichmemorial.org        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Goodrich Memorial Utd Methodist Churc                  Last Frontier Council 480                         200 W Hayes St                                           Norman, OK 73069‐7740                                                                                 First Class Mail
Chartered Organization         Goodrich Mud Inc                                       Utah National Parks 591                           3211 E Hwy 40                                            Vernal, UT 84078‐5108                                                                                 First Class Mail
Chartered Organization         Goodrich School Gso                                    Three Fires Council 127                           3450 Hobson Rd                                           Woodridge, IL 60517‐5411                                                                              First Class Mail
Voting Party                   Goodrich United Methodist Church                       Attn: Joel Leslie Walther                         8071 S State Rd                                          Goodrich, MI 48438                                                 pastor@goodrichumc.org             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Goodwill Fire Co No. 2                                 Monmouth Council, Bsa 347                         311 Washington Ave                                       Spring Lake, NJ 07762‐2379                                                                            First Class Mail
Chartered Organization         Goodwin Animal Hospital                                Tukabatchee Area Council 005                      4701 Atlanta Hwy                                         Montgomery, AL 36109‐3211                                                                             First Class Mail
Voting Party                   Goodwins Mills United Methodist Church                 Attn: Rev Ed Bove                                 55 Church St                                             Lyman, ME 04002                                                    gmumc@myfairpoint.net              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Goodwyn, Mills And Cawood, Inc                         Tukabatchee Area Council 005                      2660 Eastchase Ln                                        Montgomery, AL 36117‐7025                                                                             First Class Mail
Chartered Organization         Goodyear Boating & Yachting Assoc                      Great Trail 433                                   3565 S Main St                                           Coventry Township, OH 44319‐3030                                                                      First Class Mail
Chartered Organization         Goodyear Heights Presbyterian Church                   Great Trail 433                                   1430 Goodyear Blvd                                       Akron, OH 44305‐4168                                                                                  First Class Mail
Chartered Organization         Goodyear Police Dept                                   Grand Canyon Council 010                          175 N 145th Ave                                          Goodyear, AZ 85338‐2901                                                                               First Class Mail
Chartered Organization         Goose Creek Cisd Police Dept                           Sam Houston Area Council 576                      6001 E Wallisville Rd                                    Baytown, TX 77521‐6533                                                                                First Class Mail
Chartered Organization         Goose Creek Police Dept                                Coastal Carolina Council 550                      519 N Goose Creek Blvd                                   Goose Creek, SC 29445‐2962                                                                            First Class Mail
Chartered Organization         Goose Creek Rural Fire Dept                            Coastal Carolina Council 550                      907 Red Bank Rd                                          Goose Creek, SC 29445‐4579                                                                            First Class Mail
Voting Party                   Goose Creek United Methodist Church                    Attn: Debra Dowdle                                142 Redbank Rd                                           Goose Creek, SC 29445                                              revdowdle@comcast.net              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Goose Creek United Methodist Church                    Attn: Rev Debra Dowdle                            P.O. Box 96                                              Goose Creek, SC 29445                                              revdowdle@comcast.net              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Goose Pond Scout Reservation                           Northeastern Pennsylvania Council 501             72 Montage Mountain Rd                                   Moosic, PA 18507‐1753                                                                                 First Class Mail
Chartered Organization         Gordo Utd Methodist Church                             Black Warrior Council 006                         P.O. Box 343                                             Gordo, AL 35466‐0343                                                                                  First Class Mail
Firm                           Gordon & Partners                                      Jennifer Lipinski, Esq                            4114 Northlake Blvd.                                     Palm Beach Gardens, FL 33410                                       jlipinski@fortheinjured.com        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Gordon Ditto                                           Address Redacted                                                                                                                                                                                                 First Class Mail
Voting Party                   Gordon First United Methodist Church                   211 S Main St                                     Gordon, TX 76453                                                                                                                                               First Class Mail
Voting Party                   Gordon First United Methodist Church, Gordon           c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                 erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Gordon Food Service Inc                                P.O. Box 88029                                    Chicago, IL 60680‐1029                                                                                                                                         First Class Mail
Voting Party                   Gordon Memorial Umc, Inc                               Attn: Ben Herlong                                 502 5th St                                               P.O. Box 115                       Winnsboro, SC 29180             gmumc@truvista.net                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Gordon Memorial United Methodist Church, Inc.          Attn: Gregg Douglas                               4688 Syrup Mill Rd                                       Ridgeway, SC 29130                                                 gmumc@truvista.net                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Gordon St Christian Church                             East Carolina Council 426                         118 E Gordon St                                          Kinston, NC 28501‐4906                                                                                First Class Mail
Voting Party                   Gordons Chapel United Methodist Church ‐ Hull          c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                 erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Gordons Chapel Utd Methodist Church                    Northeast Georgia Council 101                     6625 Nowhere Rd                                          Hull, GA 30646‐2514                                                                                   First Class Mail
Chartered Organization         Gordonsville Baptist Church                            Stonewall Jackson Council 763                     P.O. Box 926                                             Gordonsville, VA 22942‐0926                                                                           First Class Mail
Chartered Organization         Gordonsville Utd Methodist Church                      Middle Tennessee Council 560                      P.O. Box 267                                             Gordonsville, TN 38563‐0267                                                                           First Class Mail
Chartered Organization         Gordonsville Utd Methodist Church                      Middle Tennessee Council 560                      118 Main St E                                            Gordonsville, TN 38563‐2025                                                                           First Class Mail
Chartered Organization         Gordonsville Utd Methodist Church                      Stonewall Jackson Council 763                     407 N Main St                                            Gordonsville, VA 22942                                                                                First Class Mail
Voting Party                   Gordonville United Methodist Church                    Attn: Lori Anger (Trustee Chair)                  P.O. Box 2327                                            Midland, MI 48641                                                  gordonvilleumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Goreville Utd Methodist Church                         Greater St Louis Area Council 312                 P.O. Box 288                                             Goreville, IL 62939‐0288                                                                              First Class Mail
Chartered Organization         Gorham Emergency Medical Service                       Daniel Webster Council, Bsa 330                   347 Main St                                              Gorham, NH 03581‐1117                                                                                 First Class Mail
Chartered Organization         Gorham Scout Ranch                                     Great Swest Council 412                           P.O. Box 459                                             Chimayo, NM 87522‐0459                                                                                First Class Mail
Firm                           Gorovsky Law, LLC                                      Nicole E. Gorovsky                                222 S. Meramec Ave                                       Clayton, MO 63105                                                  nicole@gorovskylaw.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Goshen Baptist Church                                  Cape Fear Council 425                             4124 Mt Misery Rd Ne                                     Leland, NC 28451‐9054                                                                                 First Class Mail
Chartered Organization         Goshen Fire Dept Inc                                   Connecticut Rivers Council, Bsa 066               Goshen Rd                                                Waterford, CT 06385                                                                                   First Class Mail
Voting Party                   Goshen First United Methodist Church                   Attn: Linda Ponce                                 214 S 5th St                                             Goshen, IN 46528                                                   info@goshenfirstumc.org            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Goshen Lions Club                                      Dan Beard Council, Bsa 438                        P.O. Box 225                                             Goshen, OH 45122‐0225                                                                                 First Class Mail
Chartered Organization         Goshen Pto                                             Dan Beard Council, Bsa 438                        6713 Bray Rd                                             Goshen, OH 45122‐8606                                                                                 First Class Mail
Chartered Organization         Goshen Rotary Club                                     Hudson Valley Council 374                         P.O. Box 563                                             Goshen, NY 10924‐0563                                                                                 First Class Mail
Chartered Organization         Goshen Rotary Club                                     Hudson Valley Council 374                         P.O. Box 910                                             Goshen, NY 10924‐0910                                                                                 First Class Mail
Voting Party                   Goshen United Methodist Church                         Attn: Rev Michael H Barry Jr                      115 Main St                                              Goshen, NY 10924                                                   michael.barry@nyac‐umc.com         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Goshen United Methodist Church                         115 Main St                                       Goshen, NY 10924                                                                                                                                               First Class Mail
Chartered Organization         Gothenburg Lions Club                                  Overland Trails 322                               1620 Ave D                                               Gothenburg, NE 69138‐1360                                                                             First Class Mail
Chartered Organization         Gothenburg Lions Club                                  Overland Trails 322                               1724 Ave J                                               Gothenburg, NE 69138‐1542                                                                             First Class Mail
Chartered Organization         Gouverneur Lodge 217                                   Longhouse Council 373                             Trinity Ave                                              Gouverneur, NY 13642                                                                                  First Class Mail
Voting Party                   Government Street United Methodist Church              Attn: Bert Park                                   1902 Springfield Ave                                     Mobile, AL 36607                                                   bertandvickipark@sbcglobal.net     Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Government Street United Methodist Church              Attn: Bert Park, Pastor                           901 Government St                                        Mobile, AL 36607                                                   admin@govstumc.org                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Governor Bent Parent Teacher Assoc                     Great Swest Council 412                           5700 Hendrix Rd Ne                                       Albuquerque, NM 87110‐1257                                                                            First Class Mail
Chartered Organization         Governors Ranch Elementary Pta                         Denver Area Council 061                           5354 S Field St                                          Littleton, CO 80123‐7800                                                                              First Class Mail
Chartered Organization         Gower Elementary School Pto                            Middle Tennessee Council 560                      650 Old Hickory Blvd                                     Nashville, TN 37209‐5126                                                                              First Class Mail
Chartered Organization         Gower West School Pto                                  Pathway To Adventure 456                          7700 Clarendon Hills Rd                                  Willowbrook, IL 60527‐2426                                                                            First Class Mail
Voting Party                   Gowrie United Methodist Church                         Attn: Deb Tvrdik                                  1306 Market St                                           P.O. Box 479                       Gowrie, IA 50543                gowrieumc@wccta.net                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Gra ‐ Ram Friends Of Scouting                          Three Harbors Council 636                         3951 S 58th St                                           Milwaukee, WI 53220‐2640                                                                              First Class Mail
Voting Party                   Grace (Greensboro) 438 W Friendly Ave                  c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                 erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Grace A Utd Methodist Congregation                     Greater Alabama Council 001                       5125 Sicard Hollow Rd                                    Vestavia Hills, AL 35242‐5623                                                                         First Class Mail
Chartered Organization         Grace Abbott Elementary School Pto                     Mid‐America Council 326                           1313 N 156th St                                          Omaha, NE 68118‐2371                                                                                  First Class Mail
Voting Party                   Grace And St. Peter's Episcopal Church                 Attn: Susan D. Stanley                            2927 Dixwell Ave                                         Hamden, CT 06518                                                                                      First Class Mail
Chartered Organization         Grace Anglican Church                                  North Florida Council 087                         5804 US Hwy 17                                           Fleming Island, FL 32003‐8032                                                                         First Class Mail
Voting Party                   Grace At Ft Clark United Methodist Church              c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                 erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Avenue United Methodist Church                   Attn: Laura Echols‐Richter                        3521 Main St                                             Frisco, TX 75034                                                   cindy@graceavenue.org              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Grace Avenue Utd Methodist                             Circle Ten Council 571                            3521 Main St                                             Frisco, TX 75034‐4420                                                                                 First Class Mail
Chartered Organization         Grace Baptist Church                                   Daniel Boone Council 414                          10 W Holden Rd                                           Brevard, NC 28712‐5527                                                                                First Class Mail
Chartered Organization         Grace Baptist Church                                   Pennsylvania Dutch Council 524                    1899 Marietta Ave                                        Lancaster, PA 17603‐2321                                                                              First Class Mail
Chartered Organization         Grace Baptist Church                                   Westchester Putnam 388                            52 S 6th Ave                                             Mount Vernon, NY 10550‐3005                                                                           First Class Mail
Chartered Organization         Grace Baptist Church Of Gemantown                      Cradle of Liberty Council 525                     25 W Johnson St                                          Philadelphia, PA 19144‐1909                                                                           First Class Mail
Chartered Organization         Grace Baptist Church Of Germantown                     Cradle of Liberty Council 525                     25 W Johnson St                                          Philadelphia, PA 19144‐1909                                                                           First Class Mail
Chartered Organization         Grace Baptist Temple                                   East Texas Area Council 585                       119 Peavine Rd                                           Kilgore, TX 75662‐1050                                                                                First Class Mail
Chartered Organization         Grace Bible Church                                     Great Rivers Council 653                          601 Blue Ridge Rd                                        Columbia, MO 65202‐3732                                                                               First Class Mail
Chartered Organization         Grace Bible Church                                     Mississippi Valley Council 141 141                2880 N Il 9                                              Dallas City, IL 62330                                                                                 First Class Mail
Chartered Organization         Grace Bible Church                                     Circle Ten Council 571                            11306 Inwood Rd                                          Dallas, TX 75229‐3019                                                                                 First Class Mail
Chartered Organization         Grace Bible Fellowship                                 Redwood Empire Council 041                        642 Ellen Lynn St                                        Redwood Valley, CA 95470‐9680                                                                         First Class Mail
Voting Party                   Grace Bible Fellowship Of Redwood Valley               642 Ellen Lynn                                    Redwood Valley, CA 95470                                                                                                    vern@gracebibleredwoodvalley.org   Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace‐ Cape Coral‐ Ft Myers Shores Campus              c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                 erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Grace Chapel Church Of Christ                          Northeast Georgia Council 101                     6755 Majors Rd                                           Cumming, GA 30040‐5702                                                                                First Class Mail
Chartered Organization         Grace Chapel Mens Club                                 Greater St Louis Area Council 312                 10015 Lance Dr                                           Saint Louis, MO 63137‐1564                                                                            First Class Mail
Chartered Organization         Grace Christian Center                                 Simon Kenton Council 441                          202 Evan St                                              Oak Hill, OH 45656‐1087                                                                               First Class Mail
Chartered Organization         Grace Christian School                                 Louisiana Purchase Council 213                    4900 Jackson St                                          Alexandria, LA 71303‐2509                                                                             First Class Mail
Chartered Organization         Grace Christian School                                 Orange County Council 039                         4545 Myra Ave                                            Cypress, CA 90630‐4261                                                                                First Class Mail
Chartered Organization         Grace Church                                           Quapaw Area Council 018                           12900 Cantrell Rd                                        Little Rock, AR 72223‐1700                                                                            First Class Mail
Chartered Organization         Grace Church                                           Blue Ridge Mtns Council 599                       2731 Edgewood St Sw                                      Roanoke, VA 24015‐2627                                                                                First Class Mail
Voting Party                   Grace Church                                           Attn: Fr Brian Kurt Wilbert                       315 Wayne St                                             Sandusky, OH 44870                                                 office@Gracesandusky.org           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Church                                           Attn: Fr Brian Wright                             315 Wayne St                                             Sandusky, OH 44870                                                 office@gracesandusky.org           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Church                                           155‐15 Jamaica Ave                                Jamaica, NY 11432                                                                                                           historicgrace@verizon.net          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Church                                           34 3rd St                                         Waterford, NY 12188                                                                                                         gracechurch@albany.twcbc.com       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Church                                           Attn: Brain R Davey                               374 Hillside Ave                                         Williston Park, NY 11596                                           bdavey@mmlaw.us.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Church (Church Creek)                            c/o The Law Office of Andrea Ross                 Attn: Andrea Ross, Esq                                   129 N West St, Ste 1               Easton, MD 21601                Patrick@DioceseofEaston.org        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Church (Concord)                                 c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                    159 Main St                        Nashua, NH 03060                peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Church (Manchester)                              c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                    159 Main St                        Nashua, NH 03060                peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Church (Oxford)                                  c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                    159 Main St                        Nashua, NH 03060                peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Church And St Stephen's                          601 N Tejon St                                    Colorado Springs, CO 80903                                                                                                  bankruptcy@messner.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Grace Church And The Incarnation                       Cradle of Liberty Council 525                     2645 E Venango St                                        Philadelphia, PA 19134‐5529                                                                           First Class Mail
Voting Party                   Grace Church Brooklyn Heights                          254 Hicks St                                      Brooklyn, NY 11201                                                                                                          parishoffice@gracebrooklyn.org     Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Grace Church Episcopal                                 Last Frontier Council 480                         720 S Yukon Pkwy                                         Yukon, OK 73099‐4585                                                                                  First Class Mail
Voting Party                   Grace Church In Haddonfield                            Attn: Tom Westerfield ‐ Treasurer, Grace Church   19 Kings Hwy East                                        Haddonfield, NJ 08033                                              wbuenzle@msn.com                   Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Grace Church In The Mountains                          Daniel Boone Council 414                          394 N Haywood St                                         Waynesville, NC 28786‐5718                                                                            First Class Mail
Chartered Organization         Grace Church Inc                                       Calcasieu Area Council 209                        1021 W 1st St                                            Deridder, LA 70634‐3703                                                                               First Class Mail
Voting Party                   Grace Church Massapequa                                23 Cedar Shore Dr                                 Massapequa, NY 11758                                                                                                        jscaracappa@hotmail.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Grace Church Ministries                                Greater St Louis Area Council 312                 2100 State St                                            Chester, IL 62233‐1100                                                                                First Class Mail
Chartered Organization         Grace Church Nwa                                       Westark Area Council 016                          2828 N Crossover Rd                                      Fayetteville, AR 72703‐4374                                                                           First Class Mail
Chartered Organization         Grace Church Of Evergreen                              Silicon Valley Monterey Bay 055                   2650 Aborn Rd                                            San Jose, CA 95121‐1203                                                                               First Class Mail
Chartered Organization         Grace Church Of San Luis Obispo                        Los Padres Council 053                            1350 Osos St                                             San Luis Obispo, CA 93401‐4034                                                                        First Class Mail
Voting Party                   Grace Church Of San Luis Obispo, California            Attn: Debbie Johnston                             P.O. Box 33                                              San Luis Obispo, CA 93406                                          debbie@gracecentralcoast.org       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Grace Church Of The Nazarene                           Middle Tennessee Council 560                      2620 Pennington Bend Rd                                  Nashville, TN 37214‐1108                                                                              First Class Mail
Voting Party                   Grace Church Of West Feliciana                         11621 Ferdinand St                                Saint Francisville, LA 70775                                                                                                administrator@gracechurchwfp.org   Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Church Perrysburg                                Attn: Jodi Newman                                 601 E Boundary St                                        Perrysburg, OH 43551                                               office@gracechurchperrysburg.com   Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Grace Church Taipei                                    Far E Council 803                                 1F 161 Mingde Rd                                         Taipei City, Beitu District 112    Taiwan                                                             First Class Mail
Voting Party                   Grace Church, (Taylor Island)                          c/o The Law Office of Andrea Ross                 Attn: Andrea Ross, Esq                                   129 N West St, Ste 1               Easton, MD 21601                Andie@AndieRossLaw.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Church, Lyons                                    Attn: Richard Cyril Witt                          7 Phelps St                                              Lyons, NY 14489                                                                                       First Class Mail
Voting Party                   Grace Church, Merchantville                            Attn: Louis Cavaliere                             7 E Maple Ave                                            Merchantville, NJ 08109                                            gracemerchantville@gmail.com       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Church, Taylor Island                            c/o the Episcopal Diocese of Eon                  Attn: Patrick Collins                                    314 N St                           Easton, MD 21601                Patrick@DioceseofEaston.org        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Grace Church, Willoughby                               Attn: Rev Rose Anne Lonsway                       36200 Ridge Rd                                           Willoughby, OH 44094                                               office@gracewilloughby.org         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Grace Coastal Church Pca                               Coastal Carolina Council 550                      15 Williams Dr                                           Okatie, SC 29909‐4301                                                                                 First Class Mail
Chartered Organization         Grace Comm Utd Methodist Ch Congreg                    Norwela Council 215                               9400 Ellerbe Rd                                          Shreveport, LA 71106‐7404                                                                             First Class Mail
Chartered Organization         Grace Community                                        Quapaw Area Council 018                           30 W 2nd St                                              Ward, AR 72176                                                                                        First Class Mail
Voting Party                   Grace Community A United Methodist Congregation        Attn: Jack Phillips                               9400 Ellerbe Rd                                          Shreveport, LA 71106                                               jack@gracehappens.org              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Grace Community Baptist Church                         Heart of Virginia Council 602                     2400 Pump Rd                                             Henrico, VA 23233‐2508                                                                                First Class Mail
Voting Party                   Grace Community Christian Church                       Attn: Treasurer                                   2770 Montgomery Rd                                       Aurora, IL 60504                                                   cbwr@aol.com                       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Grace Community Church                                 Three Rivers Council 578                          22044 Burrell Wingate Rd                                 Beaumont, TX 77705‐7347                                                                               First Class Mail
Chartered Organization         Grace Community Church                                 Stonewall Jackson Council 763                     5146 Dickerson Rd                                        Charlottesville, VA 22911‐6111                                                                        First Class Mail
Chartered Organization         Grace Community Church                                 Miami Valley Council, Bsa 444                     P.O. Box 24112                                           Huber Heights, OH 45424‐0112                                                                          First Class Mail
Chartered Organization         Grace Community Church                                 Hawk Mountain Council 528                         15 W Ridge St                                            Lansford, PA 18232‐1307                                                                               First Class Mail
Chartered Organization         Grace Community Church                                 Silicon Valley Monterey Bay 055                   750 Paradise Rd                                          Prunedale, CA 93907‐9133                                                                              First Class Mail
Chartered Organization         Grace Community Church                                 Coastal Georgia Council 099                       1094 Goshen Rd                                           Rincon, GA 31326‐5633                                                                                 First Class Mail
Chartered Organization         Grace Community Church                                 Westmoreland Fayette 512                          343 S Pennsylvania Ave                                   Uniontown, PA 15401‐4901                                                                              First Class Mail
Voting Party                   Grace Community Church In Overbrook, Inc               Attn: Franklin A Rhodes                           P.O. Box 424                                             310 E 8th St                       Overbrook, KS 66524             office@gccinoverbrook.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 142 of 442
                                                                                  Case 20-10343-LSS                                                   Doc 8171                                 Filed 01/06/22                                                      Page 158 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                        Name                                                                                                 Address                                                                                                              Email                       Method of Service
Voting Party                   Grace Community Church In Overbrook, Inc.                      P.O. Box 424                                      Overbrook, KS 66524                                                                                                          office@gccinoverbrook.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Grace Community Church Of Clermont Inc                         Central Florida Council 083                       14244 Johns Lake Rd                                   Clermont, FL 34711‐9015                                                                                         First Class Mail
Voting Party                   Grace Community‐ Lithia                                        c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Grace Community Presbyterian Church                            Laurel Highlands Council 527                      2751 Grant St                                         Lower Burrell, PA 15068‐2559                                                                                    First Class Mail
Voting Party                   Grace Community United Methodist Church                        Attn: Michael Hargraves                           P.O. Box 375                                          Buffalo, MO 65622                                                      gracecommumc@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Grace Community Utd Methodist Church                           Greater Tampa Bay Area 089                        5708 Lithia Pinecrest Rd                              Lithia, FL 33547‐3834                                                                                           First Class Mail
Chartered Organization         Grace Congregational Church                                    Green Mountain 592                                8 Court St                                            Rutland, VT 05701‐4024                                                                                          First Class Mail
Chartered Organization         Grace Cottage Hospital                                         Green Mountain 592                                185 Grafton Rd                                        Townshend, VT 05353‐8820                                                                                        First Class Mail
Chartered Organization         Grace Covenant Church                                          Stonewall Jackson Council 763                     3337 Emmaus Rd                                        Rockingham, VA 22801‐2685                                                                                       First Class Mail
Chartered Organization         Grace Covenant Community Church                                Susquehanna Council 533                           99 Cafe Ln                                            Middleburg, PA 17842‐1219                                                                                       First Class Mail
Chartered Organization         Grace Covenant Presbyterian Church                             Daniel Boone Council 414                          789 Merrimon Ave                                      Asheville, NC 28804‐2447                                                                                        First Class Mail
Chartered Organization         Grace Covenant Presbyterian Church                             Central Florida Council 083                       1655 Peel Ave                                         Orlando, FL 32806‐3332                                                                                          First Class Mail
Chartered Organization         Grace Covenant Presbyterian Church                             Heart of America Council 307                      11100 College Blvd                                    Shawnee Mission, KS 66210‐2796                                                                                  First Class Mail
Voting Party                   Grace Covenant Presbyterian Church of Asheville                Attn: Rev Dr Marcia Mount Shoop                   789 Merrimon Ave                                      Asheville, NC 28804                                                                                             First Class Mail
Voting Party                   Grace Covenant Presbyterian Church of Asheville, NC            c/o Grace Covenant Presbyterian Church            Attn: Lance P Martin, Esq                             P.O. Box 2020                       Asheville, NC 28801                lpm@wardandsmith.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Covenant Presbyterian Church of Asheville, NC            Attn: Rev Dr Marcia Mount Shoop                   789 Merrimon Ave                                      Asheville, NC 28804                                                                                             First Class Mail
Chartered Organization         Grace Crossing Church Of Christ                                Sam Houston Area Council 576                      105 Fm 1488 Rd                                        Conroe, TX 77384‐3927                                                                                           First Class Mail
Chartered Organization         Grace Eng Ev Lutheran Church                                   Baltimore Area Council 220                        8601 Valleyfield Rd                                   Lutherville, MD 21093‐3929                                                                                      First Class Mail
Chartered Organization         Grace Episcopal Cathedral                                      Jayhawk Area Council 197                          701 SW 8th Ave                                        Topeka, KS 66603‐3219                                                                                           First Class Mail
Chartered Organization         Grace Episcopal Church                                         Bay Area Council 574                              202 W Lang St                                         Alvin, TX 77511                                                                                                 First Class Mail
Chartered Organization         Grace Episcopal Church                                         Shenandoah Area Council 598                       115 N Church St                                       Berryville, VA 22611‐1288                                                                                       First Class Mail
Chartered Organization         Grace Episcopal Church                                         Baltimore Area Council 220                        6725 Montgomery Rd                                    Elkridge, MD 21075‐5723                                                                                         First Class Mail
Chartered Organization         Grace Episcopal Church                                         Northeast Georgia Council 101                     422 Brenau Ave                                        Gainesville, GA 30501‐3612                                                                                      First Class Mail
Chartered Organization         Grace Episcopal Church                                         Great Rivers Council 653                          217 Adams St                                          Jefferson City, MO 65101‐3203                                                                                   First Class Mail
Chartered Organization         Grace Episcopal Church                                         Stonewall Jackson Council 763                     123 W Washington St                                   Lexington, VA 24450‐2122                                                                                        First Class Mail
Chartered Organization         Grace Episcopal Church                                         Theodore Roosevelt Council 386                    23 Cedar Shore Dr                                     Massapequa, NY 11758‐7318                                                                                       First Class Mail
Chartered Organization         Grace Episcopal Church                                         Garden State Council 690                          7 E Maple Ave                                         Merchantville, NJ 08109‐5005                                                                                    First Class Mail
Chartered Organization         Grace Episcopal Church                                         Indian Nations Council 488                        218 N 6th St                                          Muskogee, OK 74401‐6209                                                                                         First Class Mail
Chartered Organization         Grace Episcopal Church                                         Hudson Valley Council 374                         130 1st Ave                                           Nyack, NY 10960‐2633                                                                                            First Class Mail
Chartered Organization         Grace Episcopal Church                                         Connecticut Rivers Council, Bsa 066               336 Main St                                           Old Saybrook, CT 06475‐2350                                                                                     First Class Mail
Chartered Organization         Grace Episcopal Church                                         Istrouma Area Council 211                         P.O. Box 28                                           Saint Francisville, LA 70775‐0028                                                                               First Class Mail
Chartered Organization         Grace Episcopal Church                                         Bay‐Lakes Council 635                             1011 N 7th St                                         Sheboygan, WI 53081‐4019                                                                                        First Class Mail
Chartered Organization         Grace Episcopal Church                                         Lake Erie Council 440                             36200 Ridge Rd                                        Willoughby, OH 44094‐4161                                                                                       First Class Mail
Voting Party                   Grace Episcopal Church                                         303 S King St                                     Morganton, NC 28655                                                                                                          rwillcox@willcoxlawfirm.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         c/o Pfeifer Morgan & Stesiak                      Attn: Ryan G Milligan                                 53600 N Ironwood Rd                 South Bend, IN 46635               Rmilligan@pilawyers.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Carol Evans                                 250 Cedar Ave                                         Ravenna, OH 44266                                                      revcarol@graceravenna.org                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Rev Carol Evans                             250 Cedar Ave                                         Ravenna, OH 44266                                                      revcarol@graceravenna.org                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Sharon Watts                                5740 Green Valley Rd                                  P.O. Box 17                         New Market, MD 21774               rectorgracechurch@comcast.net            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         P.O. Box 123                                      Yorktown, VA 23690                                                                                                           Rector@gracechurchyorktown.org           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Steven Clark Wilson                         820 Howard St                                         Carthage, MO 64836                                                     rector@gracecarthage1869.org             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: The Rev Charles Frederick Burhans III       4110 S Ridgewood Ave                                  Port Orange, FL 32127                                                  parish@egracepo.org                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         303 S King St                                     Morganton, NC 28655                                                                                                          office@gracemorganton.org                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Joann A Cromwell                            124 Maple Hill Ave                                    Newington, CT 06111                                                    office@gracechurchnew.org                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         133 School St                                     New Bedford, MA 02740                                                                                                        office@gracechurchnb.org                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Barbara Jean Hanson                         104 N Washington St                                   N Attleboro, MA 02760                                                  office@gracechurchna.org                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Matthew Eye Corso                           827 Church St                                         Honesdale, PA 18431                                                    mcorso@peg2020.com                       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         9 Browns Ave                                      Scottsville, NY 14546                                                                                                        GRACESCOTTSVILLE@GMAIL.COM               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Karen E Klein                               159 E St                                              Kearneysville, WV 25430                                                GraceEpiscopalMiddleway@gmail.com        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Janet L Dibble                              9 E Main St                                           Mohawk, NY 13407                                                       graceepiscopalchurch@gmail.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Priest In Charge                            P.O. Box 1732                                         Muncie, IN 47308                                                       gracechurchparish@gmail.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         1400 E Brambleton Ave                             Norfolk, VA 23504                                                                                                            gracechurchnofolk@gmail.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         311 Broad St                                      Windsor, CT 06095                                                                                                            gracechurch@gracewindsor.org             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Elizabeth Stephenson Mcwhorter              1545 Franklin Ave                                     Astoria, OR 97103                                                      graceastoria4691@gmail.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Hickman Alexandre                           573 Roanoke Ave                                       Riverhead, NY 11901                                                    gecriverhead@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: David Powell                                2345 Grand Blvd                                       Kansas City, MO 64108                                                  david.powell@lathropgpm.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         c/o Episcopal Diocese of Northwestern Pa          Attn: Sean Rowe                                       145 W 6th St                        Erie, PA 16501                     cdougan@dionwpa.org                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         c/o Rogers Towers, Pa                             Attn: Betsy C Cox, Esq                                1301 Riverplace Blvd, Ste 1500      Jacksonville, FL 32207             bcox@rtlaw.com                           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Suzanne Gail Smith                          112 W Lang St                                         Alvin, TX 77511                                                        admin@gracechurchalvin.org               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Aaron Smith                                 245 Kingsley Ave                                      Orange Park, FL 32073                                                  aaron@graceop.net                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church                                         Attn: Janeth L Dibble                             3 N Washington St                                     Mohawk, NY 13407                                                                                                First Class Mail
Chartered Organization         Grace Episcopal Church ‐ Galveston                             Bay Area Council 574                              1115 36th St                                          Galveston, TX 77550‐4113                                                                                        First Class Mail
Voting Party                   Grace Episcopal Church ‐ Middletown                            12 Depot St                                       Middletown, NY 10940                                                                                                         ktorge@mcgivneyandkluger.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church ‐ Middletown                            12 Depot St                                       Middletown, NY 10940                                                                                                         jbar1021@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church ‐ White Plains                          Attn: Rev Chip Graves                             33 Church St                                          White Plains, NY 10601                                                 therevchipgraves@gmail.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church ‐ White Plains                          c/o Mcgivney, Kluger, Clark & Intoccia            Attn: Kevin D Torge                                   33 Church St                        White Plains, NY 10601             therevchipgraves@gmail.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church (Amherst)                               c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                 159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church (Mt. Vernon)                            c/o The Law Office of Andrea Ross                 Attn: Andrea Ross, Esq                                129 N West St, Ste 1                Easton, MD 21601                   Patrick@DioceseofEaston.org              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church (Providence)                            c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                 159 Main St                         Nashua, NH 03060                   peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church Baldwinsville, Ny                       P.O. Box 3520                                     Syracuse, NY 13220                                                                                                           office@graceepiscopalbaldwinsville.org   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church Galveston                               Attn: Jeff Kilgore Attorney                       164 Bora Bora Dr                                      Galveston, TX 77554                                                    texasmediator97@gmail.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church In Martinez, California                 Attn: The Rev Dr Deborah White                    130 Muir Station Rd                                   Martinez, CA 94553                                                     RevDeb@gracechurchmtz.org                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church Jefferson City, Mo                      Attn: Treasurer & Thomas C Nield                  217 Adams St                                          Jefferson City, MO 65101                                               gracescouting@gracechurchjc.org          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church Of Chattanooga                          Attn: Phaen Stone                                 20 Belvoir Ave                                        Chattanooga, TN 37411                                                  phaen@epbfi.com                          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church Of Chattanooga                          Attn: George R Arrants, Esq                       814 Episcopal School Way                              Knoxville, TN 37932                                                    phaen@epbfi.com                          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church Of Chicago                              Attn: Rev Amity Carrubba                          637 S Dearborn St                                     Chicago, IL 60605                                                      amity@gracechicago.org                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Grace Episcopal Church Of Glendora                             Greater Los Angeles Area 033                      555 E Mountain View Ave                               Glendora, CA 91741‐2764                                                                                         First Class Mail
Voting Party                   Grace Episcopal Church Of Lockport Ny                          c/o Episcopal Diocese of Wny the Right Reverand   1064 Brighton Rd                                      Tonawanda, NY 14150                                                    seanrowe@episcopalwny.org                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church Of Nyack                                Attn: Robert S Lewis                              53 Burd St                                            Nyack, NY 10960                                                        robert.lewlaw1@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church Of Nyack                                Attn: Robert S Lewis, Esq                         53 Burd St                                            Nyack, NY 10960                                                        robert.lewlaw1@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church Of Nyack                                130 1st Ave                                       Nyack, NY 10960                                                                                                              pwoodcock@gracechurchnyack.org           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Grace Episcopal Church Of Tampa Inc%                           Greater Tampa Bay Area 089                        15102 Amberly Dr                                      Tampa, FL 33647‐1618                                                                                            First Class Mail
Voting Party                   Grace Episcopal Church Old Saybrook                            Attn: The Rev Charles Hamill                      336 Main St                                           Old Saybrook, CT 06475                                                 gracechurchrector@gmail.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Grace Episcopal Church Paducah                                 Lincoln Heritage Council 205                      820 Broadway St                                       Paducah, KY 42001‐6808                                                                                          First Class Mail
Voting Party                   Grace Episcopal Church, Anniston, Al                           Attn: Rev Rob Morpeth, Diocese of Alabama         521 N 20th St                                         Birmingham, AL 35203                                                   rmorpeth@dioala.org                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church, Anniston, Al                           Attn: The Rev Wally Lalonde                       P.O. Box 1791                                         Anniston, AL 36202‐1791                                                fatherwally@graceanniston.org            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church, Cullman, Al                            Attn: Rev Rob Morpeth                             521 N 20th St                                         Birmingham, AL 35203                                                   rmorpeth@dioala.org                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church, Cullman, Al                            Attn: Mallie Hale                                 305 Arnold St Ne                                      Cullman, AL 35055                                                      msearcy211@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church, Elmira, New York                       P.O. Box 3520                                     Syracuse, NY 13220                                                                                                           office@graceelmira.org                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church, Freeport, Il                           Attn: Brian Prall                                 10 S Cherry Ave                                       Freeport, IL 61032                                                     fr.brianprall@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church, Freeport, Il                           Attn: Rev Brian Prall, Rector                     10 S Cherry Ave                                       Freeport, IL 61032                                                     fr.brianprall@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church, Inc                                    Attn: Laura Smith                                 10010 Aurora Pl                                       Fort Wayne, IN 46804                                                   RMilligan@pilawyers.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church, Ishpeming                              301 N 1st St                                      Ishpeming, MI 49849                                                                                                                                                   First Class Mail
Voting Party                   Grace Episcopal Church, Lexington,Va                           Attn: Rev E Tucker Bowerfind                      123 W Washington St                                   Lexington, VA 24450                                                    frtuck@graceepiscopallexington.org       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church, Menominee                              922 10th Ave                                      Menominee, MI 49858                                                                                                                                                   First Class Mail
Voting Party                   Grace Episcopal Church, Ocala, Fl                              Grace Episcopal Church                            510 SE Broadway St                                    Ocala, FL 34471                                                        jonathan@graceocala.org                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church, Sheboygan, Wi                          Attn: Episcopal Dsiocese of Fond Du Lac           1051 N Lynndale Dr 1B                                 Appleton, WI 54914                                                     gordon@stillingslaw.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church, Utica, New York                        P.O. Box 3520                                     Syracuse, NY 13220                                                                                                           marthalberry@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church, White Plains                           c/o Mcgivney, Kluger, Clark & Intoccia            Attn: Kevin D Torge                                   80 Brd St, 23rd Fl                  New York, NY 10004                 ktorge@mcgivneyandkluger.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church, Windsor, Connecticut As Successor To   Grace Episcopal Church                            311 Broad St                                          Windsor, CT 096095                                                     gracechurch@gracewindsor.org             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church‐Whitestone                              Attn: Karen Flynt Sherrill                        14‐15 Clintonville St                                 Whitestone, NY 11357                                                   gracechurchwhitestone@gmail.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Episcopal Church‐Whitestone                              Karen Flynt Sherrill                              14‐15 Clintonville St                                 Whitestone, NY 11357                                                   gracechurchwhitestone@gmail.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Grace Ev Lutheran Church                                       Blackhawk Area 660                                1300 Kishwaukee Valley Rd                             Woodstock, IL 60098‐2103                                                                                        First Class Mail
Chartered Organization         Grace Evangelical Congregational Church                        French Creek Council 532                          2561 Grace Church Rd                                  Knox, PA 16232‐6317                                                                                             First Class Mail
Chartered Organization         Grace Evangelical Luth Ch/Mens Breakfast                       Anthony Wayne Area 157                            204 N Main St                                         Columbia City, IN 46725‐2136                                                                                    First Class Mail
Chartered Organization         Grace Evangelical Lutheran                                     Ohio River Valley Council 619                     2105 Sunset Blvd                                      Steubenville, OH 43952‐2443                                                                                     First Class Mail
Chartered Organization         Grace Evangelical Lutheran Church                              Central N Carolina Council 416                    58 Chestnut Dr Sw                                     Concord, NC 28025‐5244                                                                                          First Class Mail
Chartered Organization         Grace Evangelical Lutheran Church                              Green Bay                                         321 S Madison St                                      Green Bay, WI 54301‐4505                                                                                        First Class Mail
Chartered Organization         Grace Evangelical Lutheran Church                              Overland Trails 322                               105 E 17th St                                         Lexington, NE 68850‐1348                                                                                        First Class Mail
Chartered Organization         Grace Evangelical Lutheran Church                              The Spirit of Adventure 227                       543 Greendale Ave                                     Needham, MA 02492‐4007                                                                                          First Class Mail
Chartered Organization         Grace Evangelical Lutheran Church                              Bay‐Lakes Council 635                             P.O. Box 117                                          Pembine, WI 54156‐0117                                                                                          First Class Mail
Chartered Organization         Grace Evangelical Lutheran Church                              Simon Kenton Council 441                          8950 Refugee Rd                                       Pickerington, OH 43147‐8939                                                                                     First Class Mail
Chartered Organization         Grace Evangelical Lutheran Church                              Pathway To Adventure 456                          7300 Div St                                           River Forest, IL 60305‐1224                                                                                     First Class Mail
Chartered Organization         Grace Evangelical Lutheran Church                              Hawk Mountain Council 528                         30 Liberty St                                         Shillington, PA 19607‐1802                                                                                      First Class Mail
Chartered Organization         Grace Evangelical Lutheran Church                              Tecumseh 439                                      1801 Saint Paris Pike                                 Springfield, OH 45504‐1203                                                                                      First Class Mail
Chartered Organization         Grace Evangelical Lutheran Church                              Simon Kenton Council 441                          100 E Schrock Rd                                      Westerville, OH 43081‐3447                                                                                      First Class Mail
Voting Party                   Grace Evangelical Lutheran Church                              203 S Washington St                               Castalia, OH 44824                                                                                                           pastorkms@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Evangelical Lutheran Church                              Attn: Colleen Cox                                 30 Liberty St                                         Shillington, PA 19607                                                  pastor@graceshillington.org              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Evangelical Lutheran Church                              Attn: Debbra Suzanne Dunlap                       8950 Refugee Rd Nw                                    Pickerington, OH 43147                                                 office@gracecolumbus.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Evangelical Lutheran Church                              Attn: Masano Bradley                              Attn: Karen H Hook                                    1100 Berkshire Blvd, Ste 201        Wyomissing, PA 19610               kcook@masanobradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Grace Evangelical Lutheran Church                              Attn: Kevin Clementson                            21 Carroll St                                         Westminster, MD 21157                                                  Kclementson@gracelc.org                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 143 of 442
                                                                                  Case 20-10343-LSS                                           Doc 8171                                  Filed 01/06/22                                                    Page 159 of 457
                                                                                                                                                                           Exhibit B
                                                                                                                                                                            Service List
                                                                                                                                                                     Served as set forth below

        Description                                                        Name                                                                                          Address                                                                                                              Email                Method of Service
Voting Party                   Grace Evangelical Lutheran Church                                33 S 11th St                            Reading, PA 1960                                                                                                            gwphilips@ydasp.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Evangelical Lutheran Church                                1300 Kishwaukee Vly Rd                  Woodstock, IL 60098                                                                                                         Grace@GraceWoodstock.org            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Evangelical Lutheran Church                                1055 Randolph Rd                        Middletown, CT 06457                                                                                                        grace.evan.lutheran@snet.net        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Evangelical Lutheran Church                                300 Roseberry St                        Phillipsburg, NJ 08865                                                                                                      davidgu9095@yahoo.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Evangelical Lutheran Church                                Attn: Charles Stringham                 539 N Acacia Ave                                       Rialto, CA 92376                                                     cbstringham@hotmail.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Evangelical Lutheran Church                                Attn: David Eric Gulick                 71 Buckeley Hill Dr                                    Phillipsburg, NJ 08865                                                                                   First Class Mail
Voting Party                   Grace Evangelical Lutheran Church Columbia City Indiana, Inc     c/o Plews Shadley Racher & Braun LLP    Attn: Josh S Tatum                                     1346 N Delaware St                Indianapolis, IN 46202             jtatum@psrb.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Evangelical Lutheran Church Of San Mateo                   Attn: George Melke                      2825 Alameda De Las Pulgas                             San Mateo, CA 94403                                                  melke.georgeb@gmail.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Evangelical Lutheran Church, North Bellmore                Attn: Pastor James Krauser              1294 Bellmore Ave                                      North Bellmore, NY 11710                                             gelcnb@aol.com                      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace Evangelical Luthern Church                                 Hudson Valley Council 374               25 Waterstone Rd                                       Greenwood Lake, NY 10925                                                                                 First Class Mail
Chartered Organization         Grace Fellowship A Congreg, Umc                                  Mid Iowa Council 177                    635 Pennsylvania Ave                                   Ottumwa, IA 52501‐2116                                                                                   First Class Mail
Voting Party                   Grace Fellowship A Congregation of the United Methodist Church   635 E Pennsylvania Ave                  P.O. Box 953                                           Ottumwa, IA 52501                                                    pastor@graceottumwa.org             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Fellowship A Congregation of the United Methodist Church   Attn: Eldon Hunsicker                   215 W 4th St                                           Ottumwa, IA 52501                                                    eldon@noelins.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace Fellowship Baptist Church                                  Alamo Area Council 583                  7804 Eckhert Rd                                        San Antonio, TX 78240‐3010                                                                               First Class Mail
Chartered Organization         Grace Fellowship Church                                          Longhorn Council 662                    2964 Tx 114                                            Paradise, TX 76073                                                                                       First Class Mail
Chartered Organization         Grace Fellowship Church                                          Westark Area Council 016                1007 N Nashville Ave                                   Russellville, AR 72802‐4343                                                                              First Class Mail
Chartered Organization         Grace Fellowship Church                                          Northeast Georgia Council 101           1440 Dogwood Rd                                        Snellville, GA 30078‐6738                                                                                First Class Mail
Chartered Organization         Grace Fellowship Church Of Amador                                Golden Empire Council 047               8040 S State Hwy 49                                    Jackson, CA 95642‐9476                                                                                   First Class Mail
Voting Party                   Grace Fellowship Of Lago Vista                                   Attn: Mark Markham                      19615 Boggy Ford Rd                                    Lago Vista, TX 78645                                                 pastorgracelago@gmail.com           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace First Lutheran Church Of Bend                              Crater Lake Council 491                 P.O. Box 47                                            Bend, OR 97709                                                                                           First Class Mail
Chartered Organization         Grace First Presbyterian Church                                  Long Beach Area Council 032             3955 N Studebaker Rd                                   Long Beach, CA 90808‐2452                                                                                First Class Mail
Voting Party                   Grace First Presbyterian Church                                  Attn: Edward Moss                       606 Mockingbird Ln                                     Weatherford, TX 76086                                                edmoss@utexas.edu                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace Harbor Lighthouse                                          Calcasieu Area Council 209              6118 River Rd                                          Lake Charles, LA 70615‐3505                                                                              First Class Mail
Chartered Organization         Grace Hills Baptist Church                                       Blue Ridge Mtns Council 599             P.O. Box 807                                           Appomattox, VA 24522‐0807                                                                                First Class Mail
Chartered Organization         Grace Hills Baptist Church                                       Blue Ridge Mtns Council 599             4320 Pumping Station Rd                                Appomattox, VA 24522‐3593                                                                                First Class Mail
Chartered Organization         Grace In The Desert Episcopal                                    Las Vegas Area Council 328              2004 Spring Gate Ln                                    Las Vegas, NV 89134‐6246                                                                                 First Class Mail
Chartered Organization         Grace Life Community Church                                      National Capital Area Council 082       9560 Linton Hall Rd                                    Bristow, VA 20136‐1218                                                                                   First Class Mail
Voting Party                   Grace Linn Memorial Umc                                          Attn: Pastor Daniel Ames                P.O. Box 663                                           Hartland, ME 04943                                                   pastordfames59@gmail.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace Lutheran Brotherhood ‐ Sisseton                            Sioux Council 733                       8 6th Ave E                                            Sisseton, SD 57262‐2102                                                                                  First Class Mail
Chartered Organization         Grace Lutheran Church                                            Texas Trails Council 561                1202 S Pioneer Dr                                      Abilene, TX 79605‐3747                                                                                   First Class Mail
Chartered Organization         Grace Lutheran Church                                            Northern Star Council 250               13655 Round Lake Blvd Nw                               Andover, MN 55304‐3659                                                                                   First Class Mail
Chartered Organization         Grace Lutheran Church                                            Greater New York Councils, Bsa 640      3120 21st Ave                                          Astoria, NY 11105‐2022                                                                                   First Class Mail
Chartered Organization         Grace Lutheran Church                                            Circle Ten Council 571                  1200 E Hebron Pkwy                                     Carrollton, TX 75010‐1312                                                                                First Class Mail
Chartered Organization         Grace Lutheran Church                                            Lake Erie Council 440                   203 S Washington St                                    Castalia, OH 44824‐9262                                                                                  First Class Mail
Chartered Organization         Grace Lutheran Church                                            W.L.A.C.C. 051                          4427 Overland Ave                                      Culver City, CA 90230‐4118                                                                               First Class Mail
Chartered Organization         Grace Lutheran Church                                            Northern Star Council 250               P.O. Box 549                                           Dawson, MN 56232‐0549                                                                                    First Class Mail
Chartered Organization         Grace Lutheran Church                                            Chief Seattle Council 609               22975 24th Ave S                                       Des Moines, WA 98198‐7109                                                                                First Class Mail
Chartered Organization         Grace Lutheran Church                                            Buckeye Council 436                     216 N Wooster Ave                                      Dover, OH 44622‐2948                                                                                     First Class Mail
Chartered Organization         Grace Lutheran Church                                            Chippewa Valley Council 637             200 W Grand Ave                                        Eau Claire, WI 54703                                                                                     First Class Mail
Chartered Organization         Grace Lutheran Church                                            Lasalle Council 165                     831 W Marion St                                        Elkhart, IN 46516‐2640                                                                                   First Class Mail
Chartered Organization         Grace Lutheran Church                                            Twin Valley Council Bsa 283             300 S Grant St                                         Fairmont, MN 56031‐4108                                                                                  First Class Mail
Chartered Organization         Grace Lutheran Church                                            Mountaineer Area 615                    300 Gaston Ave                                         Fairmont, WV 26554‐2741                                                                                  First Class Mail
Chartered Organization         Grace Lutheran Church                                            Three Fires Council 127                 493 Forest Ave                                         Glen Ellyn, IL 60137‐4104                                                                                First Class Mail
Chartered Organization         Grace Lutheran Church                                            Hudson Valley Council 374               25 Waterstone Rd                                       Greenwood Lake, NY 10925                                                                                 First Class Mail
Chartered Organization         Grace Lutheran Church                                            Voyageurs Area 286                      5454 Miller Trunk Hwy                                  Hermantown, MN 55811‐1235                                                                                First Class Mail
Chartered Organization         Grace Lutheran Church                                            Las Vegas Area Council 328              2101 Harrison St                                       Kingman, AZ 86401‐4730                                                                                   First Class Mail
Chartered Organization         Grace Lutheran Church                                            Sagamore Council 162                    102 Buckingham Dr                                      Lafayette, IN 47909‐3428                                                                                 First Class Mail
Chartered Organization         Grace Lutheran Church                                            South Plains Council 694                1002 N 11th St                                         Lamesa, TX 79331‐3638                                                                                    First Class Mail
Chartered Organization         Grace Lutheran Church                                            Northeast Illinois 129                  501 Valley Park Dr                                     Libertyville, IL 60048‐3416                                                                              First Class Mail
Chartered Organization         Grace Lutheran Church                                            Cornhusker Council 324                  2225 Washington St                                     Lincoln, NE 68502‐2859                                                                                   First Class Mail
Chartered Organization         Grace Lutheran Church                                            Samoset Council, Bsa 627                11284 US Hwy 10                                        Marshfield, WI 54449‐9785                                                                                First Class Mail
Chartered Organization         Grace Lutheran Church                                            Blackhawk Area 660                      1025 15th Ave                                          Monroe, WI 53566‐1761                                                                                    First Class Mail
Chartered Organization         Grace Lutheran Church                                            Illowa Council 133                      2107 Cedar St                                          Muscatine, IA 52761‐2607                                                                                 First Class Mail
Chartered Organization         Grace Lutheran Church                                            Minsi Trails Council 502                5907 Sullivan Trl                                      Nazareth, PA 18064‐9275                                                                                  First Class Mail
Chartered Organization         Grace Lutheran Church                                            Bay‐Lakes Council 635                   501 S Main St                                          Oconto Falls, WI 54154‐1334                                                                              First Class Mail
Chartered Organization         Grace Lutheran Church                                            Minsi Trails Council 502                300 Roseberry St                                       Phillipsburg, NJ 08865‐1634                                                                              First Class Mail
Chartered Organization         Grace Lutheran Church                                            Cradle of Liberty Council 525           660 N Charlotte St                                     Pottstown, PA 19464‐4605                                                                                 First Class Mail
Chartered Organization         Grace Lutheran Church                                            Southern Sierra Council 030             502 N Norma St                                         Ridgecrest, CA 93555‐3502                                                                                First Class Mail
Chartered Organization         Grace Lutheran Church                                            Palmetto Council 549                    426 Oakland Ave                                        Rock Hill, SC 29730‐3530                                                                                 First Class Mail
Chartered Organization         Grace Lutheran Church                                            Cradle of Liberty Council 525           575 Main St                                            Royersford, PA 19468                                                                                     First Class Mail
Chartered Organization         Grace Lutheran Church                                            Central Florida Council 083             1123 Louisiana Ave                                     Saint Cloud, FL 34769‐3573                                                                               First Class Mail
Chartered Organization         Grace Lutheran Church                                            Hawk Mountain Council 528               31 Liberty St                                          Shillington, PA 19607‐1801                                                                               First Class Mail
Chartered Organization         Grace Lutheran Church                                            Buffalo Trail Council 567               5500 College Ave                                       Snyder, TX 79549‐6142                                                                                    First Class Mail
Chartered Organization         Grace Lutheran Church                                            Three Fires Council 127                 780 S Bartlett Rd                                      Streamwood, IL 60107‐1312                                                                                First Class Mail
Chartered Organization         Grace Lutheran Church                                            Old N State Council 070                 115 Unity St                                           Thomasville, NC 27360‐2513                                                                               First Class Mail
Chartered Organization         Grace Lutheran Church                                            Winnebago Council, Bsa 173              208 1st St Sw                                          Tripoli, IA 50676‐7755                                                                                   First Class Mail
Chartered Organization         Grace Lutheran Church                                            Theodore Roosevelt Council 386          311 Uniondale Ave                                      Uniondale, NY 11553‐1609                                                                                 First Class Mail
Chartered Organization         Grace Lutheran Church                                            Ore‐Ida Council 106 ‐ Bsa 106           602 Yakima St S                                        Vale, OR 97918‐1483                                                                                      First Class Mail
Chartered Organization         Grace Lutheran Church                                            Sioux Council 733                       202 2nd St Se                                          Watertown, SD 57201‐4308                                                                                 First Class Mail
Chartered Organization         Grace Lutheran Church                                            Baltimore Area Council 220              21 Carroll St                                          Westminster, MD 21157‐4829                                                                               First Class Mail
Chartered Organization         Grace Lutheran Church                                            Cradle of Liberty Council 525           801 E Willow Grove Ave                                 Wyndmoor, PA 19038‐7907                                                                                  First Class Mail
Chartered Organization         Grace Lutheran Church                                            Westchester Putnam 388                  3830 Gomer St                                          Yorktown Heights, NY 10598‐1721                                                                          First Class Mail
Voting Party                   Grace Lutheran Church                                            Attn: Mark Winkler Esq.                 684 Route 208                                          Franklin Lakes, NJ 07417                                             winkler82ndjag@yahoo.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church                                            Attn: Mark Winkler, Esq                 684 Route 208                                          Franklin Lakes, NJ 07417                                             winkler82ndjag@yahoo.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church                                            Attn: Amy Eskridge                      708 Bluff Dr                                           Round Rock, TX 78681                                                 president@graceline.org             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church                                            Attn: Larry Lange                       321 S Madison St                                       Green Bay, WI 54301                                                  pastorlarry@gracegb.org             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church                                            Attn: Tara Magoon                       2033 Graves Rd                                         Hockessin, DE 19707                                                  pastor.tara@comcast.net             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church                                            925 5th Ave                             River Edge, NJ 07661                                                                                                        macdarev3@aol.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church                                            Attn: Joseph F Albrechta                705 W State St                                         Fremont, OH 43420                                                    kwitte@lawyer‐ac.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church                                            705 W State St                          Fremont, OH 43420                                                                                                           kwitte@lawyer‐ac.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church                                            Attn: Joseph Milano                     1385 Broadway, 12th Fl                                 New York, NY 10018                                                   JMilano@cbmslaw.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church                                            Attn: Rebecca Smith                     5010 Six Forks Rd                                      Raleigh, NC 27609                                                    glc@gracelutheranraleigh.org        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church                                            13030 Madison Ave                       Lakewood, OH 44107                                                                                                          geoffp55@gmail.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church                                            Attn: Margaret Roebke                   630 N Monroe St                                        Monroe, MI 48162                                                     church@gracelutheranmonroe.org      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church                                            Attn: Jenny Reyes                       111 S Conyer St                                        Visalia, CA 93277                                                    business@gracevisalia.org           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church                                            716 8th St                              Dawson, MN 56232                                                                                                            bankruptcycourt@kluverlaw.com       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace Lutheran Church ‐ Ada                                      Northern Lights Council 429             110 3rd Ave E                                          Ada, MN 56510‐1323                                                                                       First Class Mail
Chartered Organization         Grace Lutheran Church ‐ Troop 315                                Central N Carolina Council 416          3020 Grace Church Rd                                   Salisbury, NC 28147‐8615                                                                                 First Class Mail
Chartered Organization         Grace Lutheran Church Allegheny                                  Laurel Highlands Council 527            3196 Sebolt Rd                                         South Park, PA 15129‐9557                                                                                First Class Mail
Chartered Organization         Grace Lutheran Church And School                                 National Capital Area Council 082       1200 Charles St                                        La Plata, MD 20646‐5965                                                                                  First Class Mail
Voting Party                   Grace Lutheran Church Denison                                    2411 Woodlake Rd                        Denison, TX 75021                                                                                                           kwendorf2795@gmail.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace Lutheran Church Of Apple Valley                            Northern Star Council 250               7800 150th St W                                        Apple Valley, MN 55124‐7182                                                                              First Class Mail
Voting Party                   Grace Lutheran Church Of Carrollton Texas                        Attn: Gregory Scott Streder             1200 E Hebron Pkwy                                     Carrollton, TX 75010                                                 vicepresident@gracelutherantx.org   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church Of Fairmont, Minnesota                     Attn: Jennifer Promen Nielsen           300 S Grant St                                         Fairmont, MN 56031                                                   office@gracelutheranchurch.org      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace Lutheran Church Of Miami Springs                           South Florida Council 084               254 Curtiss Pkwy                                       Miami Springs, FL 33166‐5223                                                                             First Class Mail
Voting Party                   Grace Lutheran Church Of Queens                                  Attn: Pastor Dien Ashley Taylor         102‐03 Springfield Blvd                                Queens Village, NY 11429                                             pastor@redeemerlutheranbronx.org    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace Lutheran Church Sunday School                              Central N Carolina Council 416          3020 Grace Church Rd                                   Salisbury, NC 28147‐8615                                                                                 First Class Mail
Voting Party                   Grace Lutheran Church, Inc                                       Attn: President                         1200 Charles St                                        La Plata, MD 20646                                                   wjevansjr@gmail.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Lutheran Church, Inc                                       Attn: William Evans                     7027 Oak Glen Dr                                       Hughesville, MD 20637                                                wjevansjr@gmail.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace Lutheran Church, Lcms                                      Ventura County Council 057              6190 Telephone Rd                                      Ventura, CA 93003‐5334                                                                                   First Class Mail
Voting Party                   Grace Lutheran Church, Lcms, Grass Valley                        Attn: Roger J Poff                      1949 Ridge Rd                                          Grass Valley, CA 95945                                               roger.poff@icloud.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Memorial Umc ‐ Sedley                                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace Methodist Church                                           Louisiana Purchase Council 213          3401 N Trenton St                                      Ruston, LA 71270‐6918                                                                                    First Class Mail
Chartered Organization         Grace Methodist Church                                           Theodore Roosevelt Council 386          21 S Franklin Ave                                      Valley Stream, NY 11580‐5620                                                                             First Class Mail
Voting Party                   Grace Methodist Church Of Greer                                  Attn: Leonard Olson                     605 Ashley Commons Ct                                  Greer, SC 29651                                                      cheriole@gmail.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Methodist Church Of Greer                                  Attn: Leonard Olson                     627 Taylor Rd                                          Greer, SC 29651                                                      cheriole@gmail.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace Ministries                                                 Daniel Webster Council, Bsa 330         263 Route 125                                          Brentwood, NH 03833‐6026                                                                                 First Class Mail
Chartered Organization         Grace New Hope                                                   Northeast Georgia Council 101           1766 New Hope Rd                                       Lawrenceville, GA 30045‐6569                                                                             First Class Mail
Chartered Organization         Grace Place                                                      Middle Tennessee Council 560            4316 Central Pike                                      Hermitage, TN 37076‐3161                                                                                 First Class Mail
Chartered Organization         Grace Presbyterian Ch S Brunswick                                Monmouth Council, Bsa 347               57 Sand Hills Rd                                       Kendall Park, NJ 08824‐1336                                                                              First Class Mail
Chartered Organization         Grace Presbyterian Church                                        Yucca Council 573                       8001 Magnetic St                                       El Paso, TX 79904‐3132                                                                                   First Class Mail
Chartered Organization         Grace Presbyterian Church                                        Palmetto Council 549                    P.O. Box 3454                                          Fort Mill, SC 29708                                                                                      First Class Mail
Chartered Organization         Grace Presbyterian Church                                        Anthony Wayne Area 157                  1811 Fairhill Rd                                       Fort Wayne, IN 46808‐3090                                                                                First Class Mail
Chartered Organization         Grace Presbyterian Church                                        Sam Houston Area Council 576            10221 Ella Lee Ln                                      Houston, TX 77042‐2939                                                                                   First Class Mail
Chartered Organization         Grace Presbyterian Church                                        Cradle of Liberty Council 525           444 Old York Rd                                        Jenkintown, PA 19046                                                                                     First Class Mail
Chartered Organization         Grace Presbyterian Church                                        Gulf Stream Council 085                 1844 Hypoluxo Rd                                       Lantana, FL 33462‐4036                                                                                   First Class Mail
Chartered Organization         Grace Presbyterian Church                                        Denver Area Council 061                 9720 US Hwy 85 N                                       Littleton, CO 80125‐9730                                                                                 First Class Mail
Chartered Organization         Grace Presbyterian Church                                        Circle Ten Council 571                  4300 W Park Blvd                                       Plano, TX 75093‐3710                                                                                     First Class Mail
Chartered Organization         Grace Presbyterian Church                                        Capitol Area Council 564                1705 Gattis School Rd                                  Round Rock, TX 78664‐9706                                                                                First Class Mail
Chartered Organization         Grace Presbyterian Church                                        Mt Diablo‐Silverado Council 023         2100 Tice Valley Blvd                                  Walnut Creek, CA 94595‐2506                                                                              First Class Mail
Voting Party                   Grace Presbyterian Church                                        Attn: Tracey Ann Groupe                 6025 NE Prescott St                                    Portland, OR 97218                                                   tracey.groupe@gmail.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Presbyterian Church                                        6025 NE Prescott St                     Portland, OR 97218                                                                                                          tracey.groupe@gmail.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace Presbyterian Church Of Arlington                           Longhorn Council 662                    5500 Mansfield Rd                                      Arlington, TX 76017‐4413                                                                                 First Class Mail
Voting Party                   Grace Presbyterian Church Of Lantana Inc                         Attn: Marisa Leach                      1844 Hypoluxo Rd                                       Lantana, FL 33462                                                    gracechurchpres@bellsouth.net       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace St Lukes Episcopal Church                                  Chickasaw Council 558                   1720 Peabody Ave                                       Memphis, TN 38104‐6124                                                                                   First Class Mail
Voting Party                   Grace St Luke'S Episcopal Church                                 Attn: Simon Wadsworth                   1720 Peabody Ave                                       Memphis, TN 38104                                                    srcw@icloud.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Grace Tabernacle Baptist Church                                  Lake Erie Council 440                   5020 Mayfield Rd                                       Lyndhurst, OH 44124‐2605                                                                                 First Class Mail
Chartered Organization         Grace Temple Ministries                                          Longhorn Council 662                    P.O. Box 992                                           Temple, TX 76503‐0992                                                                                    First Class Mail
Chartered Organization         Grace Ucc                                                        Pennsylvania Dutch Council 524          22 Church St                                           Richland, PA 17087‐9722                                                                                  First Class Mail
Voting Party                   Grace Umc                                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc ‐ Conway                                               Attn: Lori Zelle                        1075 Hogan Ln                                          Conway, AR 72034                                                     lori.zelle@graceconway.org          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc ‐ Manassas                                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc ‐ Newport News                                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc ‐ Roanoke                                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc ‐ Venice                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc (Middletown) ‐ Middleton                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc (Middletown) ‐ Parksley                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc 458 Ponce De Leon Ave Ne Atlanta, Ga                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc And Weekday School, Inc                                Attn: Richard A Broomall                1601 Sam Rittenburg Blvd                               Charleston, SC 29407                                                 rabroomall@umcsc.org                Email
                                                                                                                                                                                                                                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                            Page 144 of 442
                                                                                  Case 20-10343-LSS                                                  Doc 8171                                  Filed 01/06/22                                             Page 160 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                        Name                                                                                                 Address                                                                                                     Email                  Method of Service
Voting Party                   Grace Umc Billings, Mt                                         Attn: Jim Nell                                   1935 Ave B                                             Billings, MT 59106                                            Hello@graceumcbillings.org          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc Formally Known As Grace Methodist Church             Attn: Barry Burdick                              24 George St                                           Westerly, RI 02891                                                                                First Class Mail
Voting Party                   Grace Umc Lemoyne (182177)                                     c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200   Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc Middletown                                           Attn: W Clay Knick                               P.O. Box 61                                            Middletown, VA 22645                                          GraceUMC2@comcast.net               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc Of Brooklyn                                          33 7th Ave                                       Brooklyn, NY 11217                                                                                                   gumc11217@gmail.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc Of Johnson County, Ks                                11485 Ridgeview Rd                               Olathe, KS 66061                                                                                                                                         First Class Mail
Voting Party                   Grace Umc Of Lancaster County                                  Attn: Jack Hammond                               P.O. Box 418                                           Lancaster, SC 29721                                           jehamm@comporium.net                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc Of Ridgebury & Slate Hill                            690 Ridgebury Rd                                 Slate Hill, NY 10973                                                                                                 brendapenaluna@gmail.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace Umc Ravena                                               16 Hillcrest Dr                                  Ravena, NY 12143                                                                                                     mikemattick@yahoo.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist                                         Attn: Troy A Gobeli                              20759 Spruce Ave                                       Mason City, IA 50401                                          tagobeli@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist                                         200 14th St Nw                                   Mason City, IA 50401                                                                                                 tagobeli@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist (32106200)                              c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200   Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Treasurer                                  41 State Hwy 37C                                       Massena, NY 13662                                             yellowhat42@gmail.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Rev. Rett Haselden                         2 Haven Ridge Ct                                       Columbia, SC 29212                                            wehaseldenIV@umcsc.org              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Rett Haselden                              410 Harbison Blvd                                      Columbia, SC 29212                                            wehaseldenIV@umcsc.org              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Thomas Byars Wilkes, III                   639 Georgia Ave                                        N Augusta, SC 29841                                           twilkes@gotgraceumc.org             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Rev. Thomas Byars Wilkes, III              817 Merriwether Dr                                     North Augusta, SC 29841                                       twilkes@gotgraceumc.org             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  121 Pleasant St                                  Southington, CT 06489                                                                                                treasurer@graceumcsouthington.org   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: James Westlake                             49655 Jefferson Ave                                    New Baltimore, MI 48047                                       thomasmv0411@gmail.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Grace Um Church                                  1001 Harvard Blvd                                      Dayton, OH 45406                                              secretary@graceumc.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Sean Dunham                                2400 E US Hwy 50                                       Lees Summit, MO 64063                                         sean.dunham@reillyinsurance.com     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Rev Hyung‐Kyu Yi                           36 Central St                                          St Johnsbury, VT 05819                                        pastorkyu@charter.net               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Eric Schmidt                               521 Caruthers Ave                                      Cape Girardeau, MO 63701                                      pastor@capegrace.org                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: William Woods                              516 Shinnick St                                        Zanesville, OH 43701                                          office@graceumc516.org              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Treasurer Grace Umc                        422 Walnut St                                          Coshocton, OH 43812                                           office@gracetogether.org            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Carol Fry                                  4267 S Two Mile Rd                                     Bay City, MI 48706                                            office@baycitygracechurch.org       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Michael Mattick                            14 Edna Ave                                            Ravena, NY 12143                                              mikemattick@yahoo.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Cathy Blackwood                            1801 S Dixieland Rd                                    Rogers, AR 72758                                              lraines@fridayfirm.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Treasurer                                  1900 Boston                                            Okemos, MI 48910                                              lgraceumc@gmail.com                 Email
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Voting Party                   Grace United Methodist Church                                  Attn: Kenneth S Shumake                          2333 Dallas Point Rd                                   Lakesite, TN 37379                                            Ksshumake@gmail.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  9823 Hixson Pike                                 Soddy Daisy, TN 37379                                                                                                ksshumake@gmail.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Heerak Kim                                 14706 Smith Hill Rd Sw                                 Frostburg, MD 21532                                           kheerak@gmail.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Glenda Morton                              19915 Church St Sw                                     Midland, MD 21532                                             kheerak@gmail.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Jonathan Paul Munson                       24 Kramers Pond Rd                                     Putnam Valley, NY 10579                                       jpmunson@icloud.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: James Arnold                               715 6th St Ne                                          Oelwein, IA 50662                                             jm.arnold@mchsi.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: James M Potter                             400 W Morgan                                           Jacksonville, IL 62650                                        jaxgraceumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Jeff Schweider                             515 S Wellwood Ave                                     Lindenhurst, NY 11757                                         gumc.lindy@gmail.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Brian Stone                                21 S Franklin Ave                                      Valley Stream, NY 11580                                       gracevsny@aol.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Gene Clifton                               6412 Waters Ave                                        Savannah, GA 31406                                            graceunitedme891@bellsouth.net      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Treasurer, Grace Umc                       374 Broadway                                           Lynn, MA 01904                                                graceumcoflynn@gmail.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Frank D Kukal                              600 S Jefferson Ave                                    Springfield, MO 65806                                         graceumcoffice@sbcglobal.net        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Emily Bryan                                712 W Church St                                        Hagerstown, MD 21740                                          graceumchagerstown@gmail.com        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: R. Bruce Appell                            110 W Bel Air Ave                                      Aberdeen, MD 21001                                            GraceMethodistChurch@yahoo.com      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Peter Kuhner                               191 Bridge St                                          Corning, NY 14830                                             gracemethodist@stny.rr.com          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  1718 Avalon Ave                                  Joliet, IL 60435                                                                                                     Gracejoliet@comcast.net             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Pastor                                     P.O. Box 2056                                          468 Broadway                 Newburgh, NY 12550               gracechurch1@twcmetrobiz.com        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Jeffrey L Hooker                           P.O. Box 2556                                          Newburgh, NY 12550                                            gracechurch1@twcmetrobiz.com        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  9 1st St Ne                                      Oelwein, IA 50662                                                                                                    gracechurch@msn.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Treasurer, Grace United Methodist Church   1756 S 10th St                                         Missoula, MT 59806                                            Grace1umc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Treasurer                                  2800 Canyon Creek Dr                                   Sherman, TX 75092                                             gerri@gracesherman.org              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200     Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Sean Delmore                               130 Maple St                                           Essex Junction, VT 05452                                      ejgumc@myfairpoint.net              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Doris Crowder                              401 Oscawana Lake Rd                                   Putnam Valley, NY 10579                                       dorisecrowder@aol.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Tal Madison                                401 Grace St                                           Wilmighton, NC 28401                                          debbie@gracedowntown.net            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  5407 N Charles St                                Baltimore, MD 21210                                                                                                  dane@graceunitedmethodist.org       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Joyce Fligor Treasurer                     220 N Tower Rd                                         Carbondale, IL 62901                                          carbondalegraceinfo@gmail.com       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Jessica Ellis, CFO                         475 Riverside Dr, Ste 1922                             New York, NY 10115                                            bshillady@umicitysociety.org        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Robert L Jovick                            P.O. 1245                                              Livingston, MT 59047                                          bj@montanalegalbusiness.com         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Bruce Hosley                               P.O. Box 456                                           Nassau, NY 12123                                              bhosley@nycap.rr.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Kari Shaw, Treasurer                       1200 Main St                                           Hamilton, OH 45013                                                                                First Class Mail
Voting Party                   Grace United Methodist Church                                  Attn: Treasurer                                  2905 N Mt Juliet Rd                                    Mt Juliet, TN 37122                                                                               First Class Mail
Voting Party                   Grace United Methodist Church                                  2 Neosho St                                      Emporia, KS 66801                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church                                  244 E Center Ave                                 Lake Bluff, IL 60044                                                                                                                                     First Class Mail
Voting Party                   Grace United Methodist Church                                  2627 SW Western Ave                              Topeka, KS 66611                                                                                                                                         First Class Mail
Voting Party                   Grace United Methodist Church ‐ Copperas Cove                  c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200     Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church ‐ Lake Mary                      c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200     Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church ‐ Spencer                        Attn: Gary Small                                 311 W 2nd Ave                                          Spencer, IA 51301                                             gsmall@smunet.net                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church ‐ Wilmington                     c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200     Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church ‐ Wyckoff                        c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200     Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church (03500)                          c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200   Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church (178222)                         c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200   Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church (184655)                         c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200   Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church (187784)                         c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200   Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church (85721)                          c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200   Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church (9372)                           c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200   Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church (97901)                          c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200   Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church 1206 Greenwood                   c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200     Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church 501 Race St Cambridge, Md 2161   c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200     Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church And Weekday School, Inc.         Attn: Charles Heller                             831 Longbranch Dr                                      Charleston, SC 29414                                          rabroomall@umcsc.org                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church Burlington, Iowa                 Attn: Jeff Jennison                              400 N Main St                                          Burlington, IA 52601                                          jeff@rikleypaint.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church Glenwood, Ia                     112 N Walnut St                                  Glenwood, IA 51534                                                                                                   monica.graceumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church Houghton Mi                      Attn: Pastor Eric Falker                         201 Isle Royale St                                     Houghton, MI 49931                                            churchoffice@houghtongraceumc.org   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church Inc                              Attn: Laura Bowman                               1300 E Adams Dr                                        Franklin, IN 46131                                            LauraBowman@franklingrace.org       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church Of Cape Coral Inc                c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200     Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church Of Johnson County, Ks            c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200     Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church Of Lafayette, Indiana            Attn: Pastor                                     615 N 22nd St                                          Lafayette, IN 47904                                           office@lafgraceumc.org              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church Of Lancaster County              Attn: Jack Hammond                               P.O. Box 715                                           Lancaster, SC 29721                                           jehamm@comporium.net                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church Of Logan Square                  c/o Chicago Grace Logan Square                   3325 W Wrightwood                                      Chicago, IL 60647                                             grace@gracelogansquare.org          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church Of Pickens, Inc.                 Attn: Haakon Wise                                309 E Cedar Rock St                                    Pickens, SC 29671                                             graceumcpickens@gmail.com           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church Of South Bend, Indiana           3012 S Twyskenham Dr                             South Bend, IN 46614                                                                                                 finance@gracemethodist.org          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church St. Albans                       Attn: Sharon Devonish                            200‐08 Murdock Ave                                     St Albans, NY 11412                                           gumcqfinance@gmail.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church Tiffin Iowa                      Attn: Josanna Birtcher‐Walker                    560 Kansas Ave 5                                       North Liberty, IA 52317                                       graceumc@southslope.net             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church, Bradford, Vt                    Attn: Tim Marcy, Chair of Trustees               P.O. Box 726                                           Bradford, VT 05033                                            BradfordUMCPastor@gmail.com         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church, Copperas Cove                   101 W Ave F                                      Copperas Cove, TX 76522                                                                                                                                  First Class Mail
Voting Party                   Grace United Methodist Church, Des Moines, Iowa                Attn: Pastor Nate Nims                           3700 Cottage Grove Ave                                 Des Moines, IA 50311                                          charlenehjort@gracedesmoines.org    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church, Inc.                            Attn: Trustees                                   119 N Frederick Ave                                    Gaithersburg, MD 20877                                        don@hadleylaw.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church, St Louis                        Attn: Theodore Dearing                           211 S Central, Ste 200                                 Clayton, MO 63105                                             Tdd@dearingandhartzog.com           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church, St Louis                        Attn: Treasurer                                  6199 Waterman Ave                                      St Louis, MO 63122                                            Tdd@dearingandhartzog.com           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Grace United Methodist Church, Story City                      Attn: Jonathan Cooney                            624 Elm Ave                                            P.O. Box 67                  Story City, IA 50248             jonathan.cooney07@gmail.com         Email
                                                                                                                                                                                                                                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 145 of 442
                                                                                 Case 20-10343-LSS                                   Doc 8171                                         Filed 01/06/22                                                    Page 161 of 457
                                                                                                                                                                         Exhibit B
                                                                                                                                                                          Service List
                                                                                                                                                                   Served as set forth below

        Description                                                       Name                                                                                         Address                                                                                                             Email              Method of Service
Voting Party                   Grace United Methodist Church, Union, Sc                 Attn: Rev David D. Bauknight            201 S Church St                                              Union, SC 29379                                                      ddbauknight@umcsc.org            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Grace United Methodist Church‐Britton                    Attn: Judy Kay Bailey                   9250 E Monroe                                                Britton, MI 49229                                                    graceumc@yahoo.com               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Grace United Methodist Inc                               Attn: Larry J Grable                    2 Fatherland Rd                                              Natchez, MS 39120                                                    Grablel@cableone.net             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Grace United Methodist Ministry (86884)                  c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Grace United Protestant Church                           Park Forest: Grace United Protestant    266 Somonauk St                                              Park Forest, IL 60466                                                oladipoamos@yahoo.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Grace Utd Church Of Christ                               Greater St Louis Area Council 312       4025 Wilmington Ave                                          Saint Louis, MO 63116‐2928                                                                            First Class Mail
Chartered Organization         Grace Utd Church Of Christ                               Greater St Louis Area Council 312       8326 Mexico Rd                                               Saint Peters, MO 63376‐1110                                                                           First Class Mail
Chartered Organization         Grace Utd Church Of Christ                               Uniontown                               13275 Cleveland Ave Nw                                       Uniontown, OH 44685‐8073                                                                              First Class Mail
Chartered Organization         Grace Utd Methodist                                      Chattahoochee Council 091               915 E Glenn Ave                                              Auburn, AL 36830‐5709                                                                                 First Class Mail
Chartered Organization         Grace Utd Methodist                                      Juniata Valley Council 497              7990 Garlock Rd                                              Mapleton Depot, PA 17052‐9504                                                                         First Class Mail
Chartered Organization         Grace Utd Methodist                                      Muskingum Valley Council, Bsa 467       516 Shinnick St                                              Zanesville, OH 43701‐3615                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Yucca Council 573                       1206 Greenwood Ln                                            Alamogordo, NM 88310‐5740                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Last Frontier Council 480               620 S Park Ln                                                Altus, OK 73521‐5724                                                                                  First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Water and Woods Council 782             4267 2 Mile Rd                                               Bay City, MI 48706‐2332                                                                               First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Tecumseh 439                            P.O. Box 66                                                  Blanchester, OH 45107‐0066                                                                            First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Mississippi Valley Council 141 141      1100 Angular St                                              Burlington, IA 52601‐3903                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Northern Star Council 250               15309 Maple Island Rd                                        Burnsville, MN 55306‐5522                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Southwest Florida Council 088           13 SE 21st Pl                                                Cape Coral, FL 33990‐1437                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Greater St Louis Area Council 312       521 Caruthers St                                             Cape Girardeau, MO 63701‐5229                                                                         First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Longhorn Council 662                    101 W Ave F                                                  Copperas Cove, TX 76522‐2125                                                                          First Class Mail
Chartered Organization         Grace Utd Methodist Church                               South Texas Council 577                 14521 Northwest Blvd                                         Corpus Christi, TX 78410‐5501                                                                         First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Miami Valley Council, Bsa 444           1001 Harvard Blvd                                            Dayton, OH 45406‐5042                                                                                 First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Des Moines                              3700 Cottage Grove Ave                                       Des Moines, IA 50311‐3625                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Patriots Path Council 358               98 N Sussex St                                               Dover, NJ 07801‐3427                                                                                  First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Jayhawk Area Council 197                2 Neosho St                                                  Emporia, KS 66801‐4154                                                                                First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Southwest Florida Council 088           14036 Matanzas Dr                                            Fort Myers, FL 33905‐2236                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Church                               North Florida Council 087               9325 W Newberry Rd                                           Gainesville, FL 32606‐5547                                                                            First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Mid‐America Council 326                 112 N Walnut St                                              Glenwood, IA 51534‐1424                                                                               First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Blue Ridge Council 551                  627 Taylor Rd                                                Greer, SC 29651‐1028                                                                                  First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Overland Trails 322                     1832 W 9th St                                                Hastings, NE 68901‐3610                                                                               First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Bay‐Lakes Council 635                   201 Isle Royale St                                           Houghton, MI 49931‐1806                                                                               First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Sam Houston Area Council 576            1245 Heights Blvd                                            Houston, TX 77008‐6917                                                                                First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Greater Alabama Council 001             2113 Old Monrovia Rd Nw                                      Huntsville, AL 35806‐1553                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Sagamore Council 162                    615 N 22nd St                                                Lafayette, IN 47904‐2620                                                                              First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Central Florida Council 083             499 N Country Club Rd                                        Lake Mary, FL 32746‐4230                                                                              First Class Mail
Chartered Organization         Grace Utd Methodist Church                               New Birth of Freedom 544                309 Herman Ave                                               Lemoyne, PA 17043‐1940                                                                                First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Montana Council 315                     305 S 9th St                                                 Livingston, MT 59047‐2907                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Church                               National Capital Area Council 082       9750 Wellington Rd                                           Manassas, VA 20110‐6086                                                                               First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Central Florida Council 083             65 Needle Blvd                                               Merritt Island, FL 32953‐3319                                                                         First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Del Mar Va 081                          P.O. Box 566                                                 Millsboro, DE 19966‐0566                                                                              First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Middle Tennessee Council 560            2905 N Mount Juliet Rd                                       Mount Juliet, TN 37122‐3041                                                                           First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Three Fires Council 127                 300 E Gartner Rd                                             Naperville, IL 60540‐7424                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Greater St Louis Area Council 312       250 N Mill St                                                Nashville, IL 62263‐1741                                                                              First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Twin Rivers Council 364                 42 Church St                                                 Nassau, NY 12123                                                                                      First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Colonial Virginia Council 595           1209 Country Club Rd                                         Newport News, VA 23606‐2838                                                                           First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Georgia‐Carolina 093                    639 Georgia Ave                                              North Augusta, SC 29841‐3703                                                                          First Class Mail
Chartered Organization         Grace Utd Methodist Church                               North Canton                            1720 Schneider St Nw                                         North Canton, OH 44720‐3947                                                                           First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Winnebago Council, Bsa 173              9 1st St Ne                                                  Oelwein, IA 50662‐1701                                                                                First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Last Frontier Council 480               1501 NW 24th St                                              Oklahoma City, OK 73106‐3635                                                                          First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Del Mar Va 081                          P.O. Box 156                                                 Parksley, VA 23421‐0156                                                                               First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Minsi Trails Council 502                404 E Mountain Ave                                           Pen Argyl, PA 18072‐1233                                                                              First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Erie Shores Council 460                 601 E Boundary St                                            Perrysburg, OH 43551‐2230                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Miami Valley Council, Bsa 444           P.O. Box 11                                                  Pitsburg, OH 45358‐0011                                                                               First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Bucktail Council 509                    61 Hillcrest Dr                                              Punxsutawney, PA 15767‐2605                                                                           First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Westchester Putnam 388                  337 Peekskill Hollow Rd                                      Putnam Valley, NY 10579‐2701                                                                          First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Old N State Council 070                 313 Church St                                                Roxboro, NC 27573‐5620                                                                                First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Louisiana Purchase Council 213          3401 N Trenton St                                            Ruston, LA 71270‐6918                                                                                 First Class Mail
Chartered Organization         Grace Utd Methodist Church                               North Florida Council 087               8 Carrera St                                                 Saint Augustine, FL 32084‐3622                                                                        First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Greater St Louis Area Council 312       116 E Schwartz St                                            Salem, IL 62881‐2905                                                                                  First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Mid‐America Council 326                 1735 Morningside Ave                                         Sioux City, IA 51106‐1738                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Lasalle Council 165                     3012 S Twyckenham Dr                                         South Bend, IN 46614‐2118                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Mid‐America Council 326                 311 2nd Ave W                                                Spencer, IA 51301‐4127                                                                                First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Juniata Valley Council 497              P.O. Box 344                                                 Three Springs, PA 17264‐0344                                                                          First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Hawkeye Area Council 172                P.O. Box 256                                                 Tiffin, IA 52340‐0256                                                                                 First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Monmouth Council, Bsa 347               115 Saint James Ave                                          Union Beach, NJ 07735‐2804                                                                            First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Palmetto Council 549                    201 S Church St                                              Union, SC 29379‐2304                                                                                  First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Southwest Florida Council 088           400 Field Ave E                                              Venice, FL 34285‐4035                                                                                 First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Chief Cornplanter Council, Bsa 538      501 Pennsylvania Ave E                                       Warren, PA 16365‐2744                                                                                 First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Simon Kenton Council 441                104 S High St                                                Waverly, OH 45690‐1357                                                                                First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Blue Ridge Council 551                  17 Austin St                                                 Williamston, SC 29697‐1001                                                                            First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Quivira Council, Bsa 198                320 College St                                               Winfield, KS 67156‐2414                                                                               First Class Mail
Chartered Organization         Grace Utd Methodist Church                               New Birth of Freedom 544                404 Hellam St                                                Wrightsville, PA 17368‐1138                                                                           First Class Mail
Chartered Organization         Grace Utd Methodist Church                               Northern New Jersey Council, Bsa 333    555 Russell Ave                                              Wyckoff, NJ 07481‐1718                                                                                First Class Mail
Chartered Organization         Grace Utd Methodist Church ‐ Ff                          Northern Lights Council 429             1100 Friberg Ave                                             Fergus Falls, MN 56537‐1549                                                                           First Class Mail
Chartered Organization         Grace Utd Methodist Church ‐ Moorhead                    Northern Lights Council 429             1120 17th St S                                               Moorhead, MN 56560‐5752                                                                               First Class Mail
Chartered Organization         Grace Utd Methodist Church Conway                        Quapaw Area Council 018                 1075 Hogan Ln                                                Conway, AR 72034‐9126                                                                                 First Class Mail
Chartered Organization         Grace Utd Methodist Church Of Cpe Gir                    Greater St Louis Area Council 312       521 Caruthers St                                             Cape Girardeau, MO 63701‐5229                                                                         First Class Mail
Chartered Organization         Grace Utd Methodist Church Of Olathe                     Heart of America Council 307            11485 S Ridgeview Rd                                         Olathe, KS 66061‐6459                                                                                 First Class Mail
Chartered Organization         Grace Utd Methodist Men Club                             Winnebago Council, Bsa 173              200 14th St Nw                                               Mason City, IA 50401‐1108                                                                             First Class Mail
Chartered Organization         Grace Utd Methodist Mens Club                            Blue Ridge Council 551                  Grace United                                                 Methodist Church                  Pickens, SC 29671                                                   First Class Mail
Chartered Organization         Grace Utd Methodist Mens Group                           Montana Council 315                     1756 S 10th St W                                             Missoula, MT 59801‐3420                                                                               First Class Mail
Chartered Organization         Grace Utd Protestant Church                              Pathway To Adventure 456                266 Somonauk St                                              Park Forest, IL 60466‐2241                                                                            First Class Mail
Voting Party                   Grace Vision Umc                                         Attn: Treasurer                         80 Mt Auburn St                                              Watertown, MA 02472                                                  office@gracevisionumc.org        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Grace Vision Umc                                         Attn: Chung Ho Lee                      5 Piety Corner Rd                                            Waltham, MA 02451                                                    chungholee80@gmail.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Grace/Cavel Umc                                          313 Church St                           Roxboro, NC 27573                                                                                                                                                  First Class Mail
Chartered Organization         Gracemed                                                 Quivira Council, Bsa 198                1122 N Topeka St                                             Wichita, KS 67214‐2810                                                                                First Class Mail
Voting Party                   Grace‐Merritt Island                                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Gracemor Elementary School Pta                           Heart of America Council 307            5125 N Sycamore Dr                                           Kansas City, MO 64119‐4207                                                                            First Class Mail
Chartered Organization         Gracepoint At Mount Olive                                Greater Alabama Council 001             2451 Mount Olive Rd                                          Mount Olive, AL 35117‐3921                                                                            First Class Mail
Chartered Organization         Gracepoint Church                                        Greater Yosemite Council 059            801 S Lower Sacramento Rd                                    Lodi, CA 95242‐3636                                                                                   First Class Mail
Chartered Organization         Gracepoint Church Of The Nazarene                        Heart of America Council 307            5425 Martindale Rd                                           Shawnee, KS 66218‐9681                                                                                First Class Mail
Voting Party                   Grace‐St. Luke's Episcopal Church                        Attn: The Rev Canon Sharon Alexander    692 Poplar Ave                                               Memphis, TN 38105                                                    salexander@episwtn.org           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Graceway Presbyterian Church                             San Francisco Bay Area Council 028      1183 Quarry Ln                                               Pleasanton, CA 94566‐4757                                                                             First Class Mail
Voting Party                   Graceway Umc Inc                                         Attn: Roy A Harlow                      P.O. Box 772                                                 Martin, KY 41649                                                     rharlow@gearheart.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Gracewood United Methodist Church ‐ Augusta              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Gracewood Utd Methodist Church                           Georgia‐Carolina 093                    2117 Tobacco Rd                                              Augusta, GA 30906‐8832                                                                                First Class Mail
Chartered Organization         Graceworks Church Inc                                    Istrouma Area Council 211               16131 Hwy 44                                                 Prairieville, LA 70769‐5535                                                                           First Class Mail
Chartered Organization         Grad Cincinnati                                          Dan Beard Council, Bsa 438              2651 Burnet Ave                                              Cincinnati, OH 45219‐2551                                                                             First Class Mail
Chartered Organization         Gradd‐Nvbaa                                              Las Vegas Area Council 328              404 S Boulder Hwy, Unit 90124                                Henderson, NV 89009‐5505                                                                              First Class Mail
Chartered Organization         Grady Gearbox Gangstaz Robotics                          Atlanta Area Council 092                931 Monroe Dr NE, Ste A102‐101                               Atlanta, GA 30308‐1793                                                                                First Class Mail
Chartered Organization         Grady Rasco Middle School                                Bay Area Council 574                    92 Lake Rd                                                   Lake Jackson, TX 77566‐3232                                                                           First Class Mail
Chartered Organization         Graf Engineering                                         Denver Area Council 061                 1205 S Platte River Dr, Unit 200                             Denver, CO 80223‐3100                                                                                 First Class Mail
Chartered Organization         Grafton ‐ Congregational Church                          Heart of New England Council 230        30 Grafton Cmn                                               Grafton, MA 01519‐1534                                                                                First Class Mail
Chartered Organization         Grafton ‐ St Marys Catholic Church                       Heart of New England Council 230        17 Waterville St                                             North Grafton, MA 01536‐1822                                                                          First Class Mail
Chartered Organization         Grafton Vfw Post 3341                                    Lake Erie Council 440                   781 Huron St                                                 Grafton, OH 44044                                                                                     First Class Mail
Chartered Organization         Grafton Villiage Firemen Assoc                           Lake Erie Council 440                   1013 Chestnut St                                             Grafton, OH 44044‐1406                                                                                First Class Mail
Chartered Organization         Graham Community Church                                  Water and Woods Council 782             7320 W Beard Rd                                              Perry, MI 48872‐8183                                                                                  First Class Mail
Chartered Organization         Graham County Sheriff'S Office                           Daniel Boone Council 414                P.O. Box 622                                                 Robbinsville, NC 28771‐0622                                                                           First Class Mail
Chartered Organization         Graham Lions Club                                        c/o Richard Vogel                       37133 Eagle Rd                                               Graham, MO 64455‐7134                                                                                 First Class Mail
Chartered Organization         Graham Police Dept                                       Old N State Council 070                 216 S Maple St                                               Graham, NC 27253‐2925                                                                                 First Class Mail
Chartered Organization         Graham Pta                                               Pacific Harbors Council, Bsa 612        10026 204th St E                                             Graham, WA 98338‐9216                                                                                 First Class Mail
Voting Party                   Graham Road United Methodist Church                      c/o Vine Umc                            Attn: Trustee Chair                                          2501 Gallows Rd                   Dunn Loring, VA 22027              jec7576@gmail.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Graham W. Syfert, Esq., P.A.                             Graham W. Syfert, Esq.                  4004 Gilmore St                                              Jacksonville, FL 32205                                               graham@syfert.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Grahamsville United Methodist Church                     Attn: Seung Jin Hong                    350 Main St                                                  P.O. Box 86                       Grahamsville, NY 12740             grahamsvilleumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Grainfield Community Devt Commitee                       Coronado Area Council 192               P.O. Box 25                                                  Grainfield, KS 67737‐0025                                                                             First Class Mail
Voting Party                   Grainger                                                 Dept 802392720                          Kansas City, MO 64141                                                                                                                                              First Class Mail
Chartered Organization         Gra‐Mar Middle School‐Pto                                Middle Tennessee Council 560            575 Joyce Ln                                                 Nashville, TN 37216‐1003                                                                              First Class Mail
Chartered Organization         Gramling Utd Methodist Church                            Palmetto Council 549                    P.O. Box 58                                                  Gramling, SC 29348‐0058                                                                               First Class Mail
Voting Party                   Granberry Memorial Umc ‐ Covington                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Granbury First United Methodist Church                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Granbury First Utd Methodist Church                      Longhorn Council 662                    P.O. Box 70                                                  Granbury, TX 76048‐0070                                                                               First Class Mail
Chartered Organization         Granby Church Of God                                     Ozark Trails Council 306                P.O. Box 243                                                 Granby, MO 64844‐0243                                                                                 First Class Mail
Chartered Organization         Granby Elementary                                        Simon Kenton Council 441                2106 Stowbridge Rd                                           Dublin, OH 43016‐9231                                                                                 First Class Mail
Chartered Organization         Granby First Church Of God                               Ozark Trails Council 306                234 Cobb Hill Rd                                             Granby, MO 64844                                                                                      First Class Mail
Voting Party                   Grand Avenue United Methodist Church                     Attn: Chris Headley                     841 Quapaw Ave                                               Hot Springs, AR 71901                                                grand.avenue@sbcglobal.net       Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Grand Avenue Urgent Care                                 Longs Peak Council 062                  3236 E Grand Ave, Ste D                                      Laramie, WY 82070‐5100                                                                                First Class Mail
Chartered Organization         Grand Avenue Utd Methodist Ch Stuttgart                  Quapaw Area Council 018                 803 S Grand Ave                                              Stuttgart, AR 72160‐4835                                                                              First Class Mail
Chartered Organization         Grand Blanc Huntman Club                                 Water and Woods Council 782             P.O. Box 828                                                 Grand Blanc, MI 48480‐0828                                                                            First Class Mail
Chartered Organization         Grand Blanc Masonic Lodge 571                            Water and Woods Council 782             522 E Grand Blanc Rd                                         Grand Blanc, MI 48439‐1329                                                                            First Class Mail
Voting Party                   Grand Blanc United Methodist Church                      Attn: Treasurer                         515 Bush Ave                                                 Grand Blanc, MI 48439                                                                                 First Class Mail
Chartered Organization         Grand Boulevard Fire Co                                  Twin Rivers Council 364                 1079 Balltown Rd                                             Niskayuna, NY 12309‐5929                                                                              First Class Mail
Chartered Organization         Grand Chute Lions Club                                   Bay‐Lakes Council 635                   1221 W Woodstone Dr                                          Appleton, WI 54914‐7208                                                                               First Class Mail
Chartered Organization         Grand Coulee Dam Rotary Club                             Grand Columbia Council 614              P.O. Box 367                                                 Grand Coulee, WA 99133‐0367                                                                           First Class Mail
Voting Party                   Grand Ely Lodge                                          Attn: Kim Skiba                         1914 S 7th St                                                Brainerd, MN 56401                                                   kim@mhgmn.com                    Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Grand Forks 2Nd Ward, Fargo Nd Stake                     Northern Lights Council 429             2814 Cherry St                                               Grand Forks, ND 58201‐7456                                                                            First Class Mail
Chartered Organization         Grand Forks Police Dept                                  Northern Lights Council 429             122 S 5th St                                                 Grand Forks, ND 58201‐4647                                                                            First Class Mail
Voting Party                   Grand Forks Zion United Methodist Church                 1001 24th Ave S                         Grand Forks, ND 58201                                                                                                             office@zion‐umc.org              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Grand Gorge United Methodist Church                      Attn: Dawn Richards                     P.O. Box 45                                                  Grand Gorge, NY 12434                                                dawnmarie.richareds@yahoo.com    Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Grand Grove Of Druids Of Santa Rosa                      Redwood Empire Council 041              1011 College Ave                                             Santa Rosa, CA 95404‐4112                                                                             First Class Mail
Voting Party                   Grand Isle United Methodist Church                       Attn: Treasurer Jacqueline Hughes       28 Simms Point Rd                                            Grand Isle, VT 05458                                                 gchico@gmavt.net                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Grand Isle Vfw                                           Green Mountain 592                      General Delivery                                             Grand Isle, VT 05458                                                                                  First Class Mail
Chartered Organization         Grand Lake Sailing Club                                  Cherokee Area Council 469 469           P.O. Box 31700                                               Grove, OK 74345                                                                                       First Class Mail
Voting Party                   Grand Lake United Methodist Church                       Attn: Robyn Sheets                      119 E Fulton St                                              Celina, OH 45822                                                     office@grandlakechurch.org       Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Grand Ledge Lions Club                                   Water and Woods Council 782             P.O. Box 6                                                   Grand Ledge, MI 48837‐0006                                                                            First Class Mail
Chartered Organization         Grand Ledge Masonic Lodge                                Water and Woods Council 782             200 W River St                                               Grand Ledge, MI 48837‐1578                                                                            First Class Mail
Chartered Organization         Grand Lodge Masons Sside Boys & Girls                    Northern Star Council 250               11501 Masonic Home Dr                                        Minneapolis, MN 55437‐3661                                                                            First Class Mail
Chartered Organization         Grand Lodge Of Masons                                    Northern Star Council 250               11501 Masonic Home Dr                                        Minneapolis, MN 55437‐3661                                                                            First Class Mail
Chartered Organization         Grand Nation                                             Cherokee Area Council 469 469           P.O. Box 572                                                 Vinita, OK 74301‐0572                                                                                 First Class Mail
Chartered Organization         Grand Peak Academy                                       Pikes Peak Council 060                  4769 Spotted Horse Dr                                        Colorado Springs, CO 80923‐5195                                                                       First Class Mail
Chartered Organization         Grand Point Church                                       New Birth of Freedom 544                2230 Grand Point Rd                                          Chambersburg, PA 17202‐7804                                                                           First Class Mail
Chartered Organization         Grand Prairie Police Dept                                Circle Ten Council 571                  1525 Arkansas Ln                                             Grand Prairie, TX 75052‐7401                                                                          First Class Mail
Chartered Organization         Grand Prairie Pto                                        Rainbow Council 702                     3100 Caton Farm Rd                                           Plainfield, IL 60544                                                                                  First Class Mail
Chartered Organization         Grand Rapids Baptist Church                              President Gerald R Ford 781             4525 Stauffer Ave Se                                         Grand Rapids, MI 49508‐5348                                                                           First Class Mail
Chartered Organization         Grand Rapids Police Dept                                 President Gerald R Ford 781             1 Monroe Center St Nw                                        Grand Rapids, MI 49503‐2948                                                                           First Class Mail
Chartered Organization         Grand Rapids Uni Preparatory Assoc                       President Gerald R Ford 781             P.O. Box 3127                                                Grand Rapids, MI 49501‐3127                                                                           First Class Mail
Chartered Organization         Grand Rapids Utd Methodist Church                        Voyageurs Area 286                      1701 SE 5th Ave                                              Grand Rapids, MN 55744‐4275                                                                           First Class Mail
Chartered Organization         Grand River Conservation Club                            Water and Woods Council 782             7345 Lyons Rd                                                Portland, MI 48875                                                                                    First Class Mail
Chartered Organization         Grand River Home Design                                  Pony Express Council 311                25869 Lilac Ave                                              Gallatin, MO 64640‐8235                                                                               First Class Mail
Chartered Organization         Grand Terrace Lions Club                                 California Inland Empire Council 045    22130 Barton Rd                                              Grand Terrace, CA 92313                                                                               First Class Mail
Chartered Organization         Grand Teton Campers                                      Grand Teton Council 107                 3910 S Yellowstone Hwy                                       Idaho Falls, ID 83402‐4342                                                                            First Class Mail
Chartered Organization         Grand Traverse Metro Fire Dept                           President Gerald R Ford 781             897 Parsons Rd                                               Traverse City, MI 49686‐3650                                                                          First Class Mail
Chartered Organization         Grand Valley Fire Protection District                    Denver Area Council 061                 124 Stone Quarry Rd                                          Parachute, CO 81635‐9566                                                                              First Class Mail
Voting Party                   Grand Valley United Methodist Church                     Attn: Penelope E Olson                  P.O. Box 125                                                 Parachute, CO 81635                                                  grandvalleyumc@qwestoffice.net   Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Grand View United Methodist Church                       Attn: Administrative Board              3342 John Wesley Dr                                          Dubuque, IA 52002                                                    gv.acctspay@gmail.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Grand View University                                    Mid Iowa Council 177                    1200 Grandview Ave                                           Des Moines, IA 50316‐1529                                                                             First Class Mail
Voting Party                   Grandview                                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                          Page 146 of 442
                                                                                 Case 20-10343-LSS                                                     Doc 8171                                             Filed 01/06/22                                                   Page 162 of 457
                                                                                                                                                                                               Exhibit B
                                                                                                                                                                                                Service List
                                                                                                                                                                                         Served as set forth below

        Description                                                       Name                                                                                                               Address                                                                                                             Email              Method of Service
Chartered Organization         Grandview Elementary Pto                                 Greater St Louis Area Council 312                        11470 Hwy C                                                       Hillsboro, MO 63050‐4000                                                                              First Class Mail
Chartered Organization         Grandview Elementary School                              Westmoreland Fayette 512                                 188 Recreation Rd                                                 Derry, PA 15627‐2705                                                                                  First Class Mail
Chartered Organization         Grandview Lutheran Church                                Mid Iowa Council 177                                     1300 Hull Ave                                                     Des Moines, IA 50316‐1456                                                                             First Class Mail
Chartered Organization         Grandview Umc                                            Pennsylvania Dutch Council 524                           888 Pleasure Rd                                                   Lancaster, PA 17601‐4440                                                                              First Class Mail
Chartered Organization         Grandview Utd Methodist Church                           P.O. Box 288                                             Grandview, MO 64030                                                                                                                                                     First Class Mail
Chartered Organization         Grandville Jenison Rotary Club                           President Gerald R Ford 781                              P.O. Box 281                                                      Grandville, MI 49468‐0281                                                                             First Class Mail
Voting Party                   Grandville United Methodist Church                       Attn: Ryan Wieland                                       3140 Wilson Ave Sw                                                Grandville, MI 49418                                                pastor@grandvilleumc.com          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Grandy Lions                                             Central Minnesota 296                                    P.O. Box 30                                                       Grandy, MN 55029‐0030                                                                                 First Class Mail
Chartered Organization         Grandy Lions Club                                        Northern Star Council 250                                2749 County Rd 6 Ne                                               Grandy, MN 55029                                                                                      First Class Mail
Voting Party                   Grange Hall United Methodist Church                      Attn: Gail Scheffers                                     2670 Timbers Edge Trace                                           Kingsport, TN 37660                                                 gailscheffers@gmail.com           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Granger Business Assoc Inc                               Lasalle Council 165                                      51663 Deer Trail Dr                                               Granger, IN 46530‐7383                                                                                First Class Mail
Voting Party                   Granger United Methodist Church                          Attn: Bruce C. Hartley                                   1235 Granger Rd                                                   Medina, OH 44256                                                    Pastor@grangerumc.org             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Grangeville Elks Lodge 1825                              Inland Nwest Council 611                                 111 S Meadow St                                                   Grangeville, ID 83530‐1902                                                                            First Class Mail
Chartered Organization         Granite City Optimist Club                               Greater St Louis Area Council 312                        P.O. Box 951                                                      Granite City, IL 62040‐0951                                                                           First Class Mail
Chartered Organization         Granite Falls Fire Dept                                  Piedmont Council 420                                     119 N Main St                                                     Granite Falls, NC 28630‐1326                                                                          First Class Mail
Voting Party                   Granite Gear                                             2312 10th St                                             Two Harbors, MN 55616‐5047                                                                                                                                              First Class Mail
Voting Party                   Granite Telecommunications Llc                           Attn: Brian Murray                                       100 Newport Ave Ext                                               Quincy, MA 02171                                                    bankruptcy@granitenet.com         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Graniterock                                              Silicon Valley Monterey Bay 055                          P.O. Box 50001                                                    Watsonville, CA 95077‐5001                                                                            First Class Mail
Voting Party                   Grant & Grant                                            Attn: Clark Grant                                        1464 27th Ave                                                     Columbus, NE 68602‐0455                                             clark@grantattorney.com           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Grant Community Center                                   Central Florida Council 083                              Po Box 44                                                         Grant, FL 32949‐0044                                                                                  First Class Mail
Chartered Organization         Grant Creek Kiwanis                                      Montana Council 315                                      P.O. Box 16643                                                    Missoula, MT 59808‐6643                                                                               First Class Mail
Chartered Organization         Grant Lions Club                                         Overland Trails 322                                      5 Pkwy Ave                                                        Grant, NE 69140‐3205                                                                                  First Class Mail
Voting Party                   Grant Memorial United Methodist Church                   Attn: David C Adams                                      P.O. Box 992                                                      Presque Isle, ME 04769                                              dave@dascoinc.net                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Grant Memorial Utd Methodist Church                      Katahdin Area Council 216                                79 Fleetwood St                                                   Presque Isle, ME 04769‐3030                                                                           First Class Mail
Chartered Organization         Grant School Parent Teacher Organization                 Illowa Council 133                                       705 Barry Ave                                                     Muscatine, IA 52761‐3537                                                                              First Class Mail
Chartered Organization         Grant Scouting Organization                              Greater Alabama Council 001                              453 Olinger Rd                                                    Scottsboro, AL 35769‐9728                                                                             First Class Mail
Voting Party                   Grant United Methodist Church                            Attn: Richard Roberts                                    P.O. Box 70                                                       Grant, NE 69140                                                     grantumc@gpcom.net                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Grant Wesleyen Church                                    President Gerald R Ford 781                              688 W 112th St                                                    Grant, MI 49327‐9606                                                                                  First Class Mail
Chartered Organization         Grant Wood Parents Youth Ord Inc                         Hawkeye Area Council 172                                 P.O. Box 2107                                                     Cedar Rapids, IA 52406‐2107                                                                           First Class Mail
Chartered Organization         Grantham Fire Dept                                       Daniel Webster Council, Bsa 330                          P.O. Box 80                                                       Grantham, NH 03753‐0080                                                                               First Class Mail
Voting Party                   Grantham United Methodist Church                         Attn: Treasurer                                          418 Rte 10 S                                                      P.O. Box 152                     Grantham, NH 03753                 grantham@myfairpint.nwt           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Granton Rotary Club                                      Chippewa Valley Council 637                              P.O. Box 62                                                       Granton, WI 54436‐0062                                                                                First Class Mail
Voting Party                   Grant's Chapel United Methodist Church                   Attn: Ronald Breeden                                     P.O. Box 687                                                      Dandridge, TN 37725                                                 breedebrdb@gmail.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Grant'S Supermarket                                      1808 Jefferson St                                        Bluefield, WV 24701‐4066                                                                                                                                                First Class Mail
Chartered Organization         Grantsville Volunteer Fire Dept Auxially                 Laurel Highlands Council 527                             P.O. Box 248                                                      Grantsville, MD 21536‐0248                                                                            First Class Mail
Voting Party                   Grantville United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Grantville United Methodist Church                       3724 S St                                                Grantville, KS 66429                                                                                                                                                    First Class Mail
Chartered Organization         Granville American Legion Post 180                       W D Boyce 138                                            209 N Mccoy St                                                    Granville, IL 61326                                                                                   First Class Mail
Chartered Organization         Granville American Legion Post 323                       Twin Rivers Council 364                                  10 Bolumbus St                                                    Granville, NY 12832                                                                                   First Class Mail
Chartered Organization         Granville County Sherifts Office                         Occoneechee 421                                          143 Williamsboro St                                               Oxford, NC 27565‐3328                                                                                 First Class Mail
Chartered Organization         Granville Masonic Lodge 1093                             W D Boyce 138                                            307 S Mccoy St                                                    Granville, IL 61326                                                                                   First Class Mail
Chartered Organization         Granville Rotary Club                                    c/o Danielle Park                                        53 Mettowee St                                                    Granville, NY 12832‐4827                                                                              First Class Mail
Voting Party                   Granville Umc (176996)                                   c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Granville Utd Methodist Church                           Juniata Valley Council 497                               1346 N River Rd                                                   Granville, PA 17029                                                                                   First Class Mail
Chartered Organization         Grapevine Church Of Christ                               Longhorn Council 662                                     525 N Park Blvd                                                   Grapevine, TX 76051‐3032                                                                              First Class Mail
Chartered Organization         Grass Lick Batptist Church                               Buckskin 617                                             Pleasant Valley Rd                                                Kenna, WV 25248                                                                                       First Class Mail
Chartered Organization         Grass Valley Elks Lodge 538                              Golden Empire Council 047                                109 S School St                                                   Grass Valley, CA 95945‐6425                                                                           First Class Mail
Chartered Organization         Grass Valley Host Lions Club                             Golden Empire Council 047                                P.O. Box 2388                                                     Grass Valley, CA 95945‐2388                                                                           First Class Mail
Chartered Organization         Grassi & Co                                              Greater New York Councils, Bsa 640                       488 Madison Ave                                                   New York, NY 10022‐5702                                                                               First Class Mail
Voting Party                   Grassland Community Church                               Attn: Pastor                                             17839 Bear Creek Rd                                               Catlettsburg, KY 41129                                              grasslandchurch@windstream.net    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Grassy Creek ‐ State Road                                c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Grassy Creek Elementary School                           Crossroads of America 160                                10330 Prospect St                                                 Indianapolis, IN 46239‐9692                                                                           First Class Mail
Chartered Organization         Grassy Creek Utd Methodist Church                        Old Hickory Council 427                                  291 Klondike Rd                                                   State Rd, NC 28676‐9291                                                                               First Class Mail
Chartered Organization         Gravenstein Lions Club                                   Redwood Empire Council 041                               P.O. Box 572                                                      Sebastopol, CA 95473‐0572                                                                             First Class Mail
Chartered Organization         Graves Elementary                                        Northeast Georgia Council 101                            1700 Graves Rd                                                    Norcross, GA 30093‐1019                                                                               First Class Mail
Chartered Organization         Graves Memorial Presbyterian Church                      Tuscarora Council 424                                    201 Fayetteville St                                               Clinton, NC 28328‐3917                                                                                First Class Mail
Voting Party                   Gravette United Methodist Church                         Attn: John Deaton                                        P.O. Box 37                                                       Gravette, AR 72736                                                  janicedeaton5353@gmail.com        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Grawn Utd Methodist Church                               President Gerald R Ford 781                              1260 S West Silver Lake Rd                                        Traverse City, MI 49685‐8532                                                                          First Class Mail
Voting Party                   Gray Memorial Umc                                        c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Gray Memorial Umc                                        2201 Old Bainbridge Rd                                   Tallahassee, FL 32303                                                                                                                                                   First Class Mail
Voting Party                   Gray Memorial United Methodist Church                    Attn: Timothy D Wilcox                                   8 Prospect St                                                     Caribou, ME 04736                                                   thirdtimothy98@gmail.com          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Gray Memorial United Methodist Church                    Attn: Roberta Pelletier, Treasurer                       P.O. Box 69                                                       Caribou, ME 04736                                                   thirdtimothy98@gmail.com          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Gray Ruritan Club                                        Sequoyah Council 713                                     P.O. Box 8625                                                     Gray, TN 37615‐0625                                                                                   First Class Mail
Chartered Organization         Gray Summit Lions Club                                   Greater St Louis Area Council 312                        P.O. Box 97                                                       Gray Summit, MO 63039‐0097                                                                            First Class Mail
Chartered Organization         Gray Summit Lions Club                                   Greater St Louis Area Council 312                        P.O. Box 103                                                      Gray Summit, MO 63039‐0103                                                                            First Class Mail
Voting Party                   Gray United Methodist Church                             Attn: Terina Sink                                        117 S Jefferson St                                                Gray, GA 31032                                                      officegrayumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Gray Utd Methodist Church                                Central Georgia Council 096                              P.O. Box 416                                                      Gray, GA 31032‐0416                                                                                   First Class Mail
Voting Party                   Grays Chapel United Methodist Church                     c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Grays Chapel Utd Methodist Church                        Old N State Council 070                                  5056 Nc Hwy 22 N                                                  Franklinville, NC 27248‐8267                                                                          First Class Mail
Voting Party                   Grays Umc (181036)                                       c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Grays Utd Methodist Church                               Juniata Valley Council 497                               5687 W Buffalo Run Rd                                             Port Matilda, PA 16870‐7607                                                                           First Class Mail
Chartered Organization         Grayson County High School                               Lincoln Heritage Council 205                             340 School House Rd                                               Leitchfield, KY 42754‐9071                                                                            First Class Mail
Chartered Organization         Grayson County Middle School                             Lincoln Heritage Council 205                             726 John Hill Taylor Dr                                           Leitchfield, KY 42754‐3500                                                                            First Class Mail
Chartered Organization         Grayson Elementary Pta                                   Great Lakes Fsc 272                                      3800 W Walton Blvd                                                Waterford, MI 48329‐4269                                                                              First Class Mail
Chartered Organization         Grayson Masonic Lodge 549                                Northeast Georgia Council 101                            1203 Willow Trce                                                  Grayson, GA 30017‐1195                                                                                First Class Mail
Voting Party                   Grayson United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Grayson United Methodist Church                          555 Grayson Pkwy                                         Grayson, GA 30017                                                                                                                                                       First Class Mail
Voting Party                   Graystone Presbyterian Church                            Attn: Karen Hawkins                                      139 Woodlawn Pike                                                 Knoxville, TN 37920                                                 glogue@wmbac.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Graysville Umc ‐ Ringgold                                c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Graysville Utd Methodist Church                          Cherokee Area Council 556                                P.O. Box 39                                                       Ringgold, GA 30736‐0039                                                                               First Class Mail
Chartered Organization         Greasewood Ward ‐ Lds Tucson West Stake                  Catalina Council 011                                     2002 N Greasewood Rd                                              Tucson, AZ 85745                                                                                      First Class Mail
Chartered Organization         Great Alaska Council                                     Great Alaska Council 610                                 3117 Patterson St                                                 Anchorage, AK 99504‐4041                                                                              First Class Mail
Voting Party                   Great Bend: Woolworth Memorial Umc                       Attn: Warren G Fargo                                     10726 Limburg Forks Rd                                            Carthage, NY 13619                                                  ddenn_13@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Great Bridge Baptist Church                              Tidewater Council 596                                    640 Battlefield Blvd S                                            Chesapeake, VA 23322‐5453                                                                             First Class Mail
Chartered Organization         Great Bridge Presbyterian Church                         Tidewater Council 596                                    333 Cedar Rd                                                      Chesapeake, VA 23322‐5513                                                                             First Class Mail
Voting Party                   Great Bridge Umc ‐ Chesapeake                            c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Great Bridge Utd Methodist Church                        Tidewater Council 596                                    201 Stadium Dr                                                    Chesapeake, VA 23322‐4135                                                                             First Class Mail
Chartered Organization         Great Circle                                             Ozark Trails Council 306                                 1212 W Lombard St                                                 Springfield, MO 65806‐2720                                                                            First Class Mail
Chartered Organization         Great Falls Kiwanis Club                                 Montana Council 315                                      P.O. Box 1208                                                     Great Falls, MT 59403‐1208                                                                            First Class Mail
Voting Party                   Great Falls Umc ‐ Great Falls                            c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Great Hearts Northern Oaks                               Alamo Area Council 583                                   17223 Jones Maltsberger Rd                                        San Antonio, TX 78247‐2817                                                                            First Class Mail
Voting Party                   Great Hill United Methodist Church                       Attn: James Leach ‐ Great Hill United Methodist Church   225 Great Hill Rd                                                 Seymour, CT 06483                                                   jim.j.leach@lmco.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Great Island Presbyterian Church                         Susquehanna Council 533                                  12 W Water St                                                     Lock Haven, PA 17745‐1231                                                                             First Class Mail
Chartered Organization         Great Lakes Water Sports Institute                       Greater Niagara Frontier Council 380                     3621 Stony Point Rd                                               Grand Island, NY 14072‐1124                                                                           First Class Mail
Chartered Organization         Great Life Ranch Llc                                     Sam Houston Area Council 576                             2531 S Cherry St                                                  Tomball, TX 77375‐6835                                                                                First Class Mail
Voting Party                   Great Neck Korean Umc ‐ Kumc Of Ny                       Attn: Rev Min S Yang                                     715 Northern Blvd                                                 Great Neck, NY 11021                                                paulchoi10@gmail.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Great Neck Korean Umc, Kumc Of Ny                        Attn: Paul S Choi                                        145 Palisade Ave                                                  Cresskill, NJ 07626                                                 paulchoi10@gmail.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Great Northern Insurance Company                         c/o Duane Morris LLP                                     Attn: Wendy M Simkulak                                            30 S 17th St                     Philadelphia, PA 19103             WMSimkulak@duanemorris.com        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Great Northern Insurance Company                         c/o Duane Morris LLP                                     Attn: Wendy M. Simkulak                                           30 S 17th St                     Philadelphia, PA 19103             WMSimkulak@duanemorris.com        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Great Northwest Crossing Scouting Assoc                  Alamo Area Council 583                                   7051 Shadow Run                                                   San Antonio, TX 78250‐1700                                                                            First Class Mail
Chartered Organization         Great Nw Crossing Scouting Assoc                         Alamo Area Council 583                                   7051 Shadow Run                                                   San Antonio, TX 78250‐1700                                                                            First Class Mail
Chartered Organization         Great River Fire Dept                                    Suffolk County Council Inc 404                           River Rd                                                          Great River, NY 11739                                                                                 First Class Mail
Chartered Organization         Great River Health System                                Mississippi Valley Council 141 141                       1221 S Gear Ave                                                   West Burlington, IA 52655‐1679                                                                        First Class Mail
Chartered Organization         Great River Rotary                                       Central Minnesota 296                                    1248 7th Ave N                                                    Sauk Rapids, MN 56379‐2339                                                                            First Class Mail
Chartered Organization         Great Rivers Oa Chapter                                  Northern Star Council 250                                255 Western Ave N                                                 Saint Paul, MN 55102‐4421                                                                             First Class Mail
Chartered Organization         Great Salt Lake Council/Deseret Peak                     Great Salt Lake Council 590                              446 E 1310 N                                                      Tooele, UT 84074‐9174                                                                                 First Class Mail
Voting Party                   Great Southwest Cncl No 412                              5841 Office Blvd Ne                                      Albuquerque, NM 87109‐5820                                                                                                                                              First Class Mail
Voting Party                   Great Spirit United Methodist Church ‐ Portland          c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Great Trial Council                                      Attn: Patrick M Scherer                                  4500 Hudson Dr                                                    Stow, OH 44224                                                      patrick.scherer@scouting.org      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Great Valley Fire Dept                                   Allegheny Highlands Council 382                          Depot St                                                          Great Valley, NY 14741                                                                                First Class Mail
Chartered Organization         Great Valley Volunteer Fire Co                           Allegheny Highlands Council 382                          6042 Depot St                                                     Great Valley, NY 14741                                                                                First Class Mail
Voting Party                   Great Wolf Lodge Of Grapevine                            Attn: Dinesh Parbhoo                                     Director of Finance                                               100 Great Wolf Dr                Grapevine, TX 76051                dparbhoo@greatwolf.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Greater Alabama Council                                  Attn: John T Dabbs III                                   516 Liberty Pkwy                                                  Birmingham, AL 35242                                                jt.dabbs@scouting.org             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Greater Alabama Council, Boys Scouts of America          Attn: J T Dabbs III                                      516 Liberty Pkwy                                                  Birmington, AL 35242                                                jt.dabbs@scouting.org             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Greater Alabama Council, Boys Scouts of America          Attn: Jt Dabbs III                                       516 Liberty Pwy                                                   Birmingham, AL 35242                                                JT.Dabbs@scouting.org             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Greater Alabama Council, Boys Scouts of America          c/o Maynard Cooper & Gale Pc                             Attn: Jayna Lamar                                                 1901 6th Ave N, Ste 1700         Birmingham, AL 35203               jlamar@maynardcooper.com          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Greater Alabama Council, Boys Scouts of America          c/o Maynard Cooper & Gale PC                             Attn: Jayna P Lamar                                               1901 6th Ave N, Ste 1700         Birmingham, AL 35203               jlamar@maynardcooper.com          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Greater Alabama Council, Bsa                             c/o Maynard Cooper & Gale Pc                             Attn: Ashe P Puri                                                 1925 Century Park E, Ste 1700    Los Angeles, CA 90067              apuri@maynardcooper.com           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Greater Albuquerque Housing Partnership                  Great Swest Council 412                                  320 Gold Ave SW, Ste 918                                          Albuquerque, NM 87102‐3266                                                                            First Class Mail
Chartered Organization         Greater Allen Chapel Ame Church                          Central Florida Council 083                              2416 Lipscomb St                                                  Melbourne, FL 32901‐5579                                                                              First Class Mail
Chartered Organization         Greater Anderson Rotary Club 1                           Blue Ridge Council 551                                   3010 S Main St Ext                                                Anderson, SC 29624‐4208                                                                               First Class Mail
Chartered Organization         Greater Atlanta Christian School                         Northeast Georgia Council 101                            P.O. Box 4277                                                     Norcross, GA 30091                                                                                    First Class Mail
Chartered Organization         Greater Bellevue Baptist Church                          Central Georgia Council 096                              4041 Mumford Rd                                                   Macon, GA 31204‐3233                                                                                  First Class Mail
Voting Party                   Greater Buffalo Run Valley Umc (180590)                  c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Greater Buffalo Run Valley Umc (180590)                  c/o Bentz Law Firm                                       Attn: Leonard Spagnolo & Sean Bollman                             680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Greater Centennial Amezion Church                        Westchester Putnam 388                                   114 W 4th St                                                      Mount Vernon, NY 10550‐4062                                                                           First Class Mail
Chartered Organization         Greater Clearfield Chamber Of Commerce                   Bucktail Council 509                                     125 E Market St                                                   Clearfield, PA 16830‐2405                                                                             First Class Mail
Chartered Organization         Greater Damascus Ch Christ Holiness Usa                  Andrew Jackson Council 303                               131 E Whitworth St                                                Hazlehurst, MS 39083‐2819                                                                             First Class Mail
Chartered Organization         Greater Ebenezer Baptist Church                          Sam Houston Area Council 576                             6600 Saint Augustine St                                           Houston, TX 77021‐4038                                                                                First Class Mail
Chartered Organization         Greater Enrichment Program Ashley Park                   Mecklenburg County Council 415                           2401 Belfast Dr                                                   Charlotte, NC 28208‐3804                                                                              First Class Mail
Chartered Organization         Greater Enrichment Program Hidden Valley                 Mecklenburg County Council 415                           2035 Patton Ave                                                   Charlotte, NC 28216‐5023                                                                              First Class Mail
Chartered Organization         Greater Fairview Baptist Church                          Andrew Jackson Council 303                               2545 Newport St                                                   Jackson, MS 39213‐5443                                                                                First Class Mail
Chartered Organization         Greater Friendship Missionary Baptist Ch                 Central Georgia Council 096                              1220 Rev Jl Mills Sr Way                                          Macon, GA 31201‐2219                                                                                  First Class Mail
Chartered Organization         Greater Grant Memorial Ame Church                        North Florida Council 087                                5533 Gilchrist Rd                                                 Jacksonville, FL 32219‐2607                                                                           First Class Mail
Chartered Organization         Greater Harvest Church                                   Sam Houston Area Council 576, Bsa                        Cockrell Scout Ctr                                                2225 N Loop W                    Houston, TX 77008                                                    First Class Mail
Chartered Organization         Greater Hope Ministries, Inc                             North Florida Council 087                                1702 N Davis St                                                   Jacksonville, FL 32209‐6519                                                                           First Class Mail
Chartered Organization         Greater Horsham Chamber Of Commerce                      Cradle of Liberty Council 525                            P.O. Box 1926                                                     Horsham, PA 19044‐6926                                                                                First Class Mail
Chartered Organization         Greater Imani Church                                     Chickasaw Council 558                                    3824 Austin Peay Hwy                                              Memphis, TN 38128‐3722                                                                                First Class Mail
Chartered Organization         Greater King David Baptist Church                        Istrouma Area Council 211                                222 Blount Rd                                                     Baton Rouge, LA 70807‐2745                                                                            First Class Mail
Chartered Organization         Greater Latrobe Jr High School                           Westmoreland Fayette 512                                 130 High School Rd                                                Latrobe, PA 15650‐9084                                                                                First Class Mail
Chartered Organization         Greater Latrobe Junior High School                       Westmoreland Fayette 512                                 131 Arnold Palmer Dr                                              Latrobe, PA 15650                                                                                     First Class Mail
Chartered Organization         Greater Life Inc                                         Northern New Jersey Council, Bsa 333                     272 Chancellor Ave                                                Newark, NJ 07112‐1409                                                                                 First Class Mail
Chartered Organization         Greater Life Inc                                         Northern New Jersey Council, Bsa 333                     272 Chancellor Ave                                                Newark, NJ 07112‐1409                                                                                 First Class Mail
Voting Party                   Greater Los Angeles Area Cncl 33                         2333 Scout Way                                           Los Angeles, CA 90026‐4995                                                                                                                                              First Class Mail
Voting Party                   Greater Los Angeles Area Council, Bsa                    Attn: Jeffrey Sulzbach                                   2333 Scout Way                                                    Los Angeles, CA 90026                                               jeff.sulzbach@scouting.org        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Greater Mattoon Area Advancement (Gmaa)                  Bay‐Lakes Council 635                                    310 Slate Ave                                                     Mattoon, WI 54450‐7717                                                                                First Class Mail
Chartered Organization         Greater Mount Carmel Baptist Church                      Istrouma Area Council 211                                1414 Sora St                                                      Baton Rouge, LA 70807‐4625                                                                            First Class Mail
Chartered Organization         Greater Mount Sinai Baptist Church                       Mecklenburg County Council 415                           1243 West Blvd                                                    Charlotte, NC 28208‐7041                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                Page 147 of 442
                                                                                  Case 20-10343-LSS                                                    Doc 8171                                         Filed 01/06/22                                                    Page 163 of 457
                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                            Service List
                                                                                                                                                                                     Served as set forth below

        Description                                                         Name                                                                                                         Address                                                                                                              Email              Method of Service
Chartered Organization         Greater Mount Zion Baptist Church                              Blue Ridge Mtns Council 599                        1810 Grayson Ave Nw                                           Roanoke, VA 24017‐3628                                                                                 First Class Mail
Chartered Organization         Greater Mt Nebo Ame Church                                     National Capital Area Council 082                  1001 Mitchellville Rd                                         Bowie, MD 20716                                                                                        First Class Mail
Chartered Organization         Greater New Hope Church Ministries                             Del Mar Va 081                                     4514 Preston Rd                                               Preston, MD 21655‐2443                                                                                 First Class Mail
Chartered Organization         Greater New York Councils                                      Greater New York Councils, Bsa 640                 475 Riverside Dr, Ste 600                                     New York, NY 10115‐0072                                                                                First Class Mail
Chartered Organization         Greater Newcastle Chamber Of Commerce                          Chief Seattle Council 609                          6947 Coal Creek Pkwy SE, Unit 150                             Newcastle, WA 98059‐3136                                                                               First Class Mail
Voting Party                   Greater Niagara Frontier Council, Inc. Boy Scouts Of America   Attn: Gary A Decker                                2860 Genesee St                                               Buffalo, NY 14225                                                    gary.decker@scouting.org          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Greater Niagara Frontier Council, Inc. Boy Scouts Of America   Attn: Camille W Hill                               1 Lincoln Ctr                                                 Syracuse, NY 13202                                                   arivera@bsk.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greater Patchogue Foundation                                   Suffolk County Council Inc 404                     15 N Ocean Ave                                                Patchogue, NY 11772‐2001                                                                               First Class Mail
Chartered Organization         Greater Peotone Clergy Assoc                                   Rainbow Council 702                                311 W Corning Ave                                             Peotone, IL 60468‐8933                                                                                 First Class Mail
Chartered Organization         Greater Providence Ymca ‐ Pleasant View                        Narragansett 546                                   640 Broad St                                                  Providence, RI 02907‐1463                                                                              First Class Mail
Chartered Organization         Greater Refuge Temple Church                                   Andrew Jackson Council 303                         375 Morgan Rd                                                 Canton, MS 39046‐9756                                                                                  First Class Mail
Chartered Organization         Greater Rochester International Airport                        Seneca Waterways 397                               1200 Brooks Ave                                               Rochester, NY 14624‐3126                                                                               First Class Mail
Chartered Organization         Greater Round Lake Fire Prot Distr                             Northeast Illinois 129                             409 W Nippersink Ave                                          Round Lake, IL 60073‐3223                                                                              First Class Mail
Chartered Organization         Greater Santa Clarita Optimists                                W.L.A.C.C. 051                                     30535 Hasley Canyon Rd                                        Castaic, CA 91384‐3231                                                                                 First Class Mail
Chartered Organization         Greater Santa Clarita Optimists Club                           W.L.A.C.C. 051                                     30535 Hasley Canyon Rd                                        Castaic, CA 91384‐3231                                                                                 First Class Mail
Voting Party                   Greater St Louis Area Council, Bsa                             Attn: Ronald S Green                               4568 W Pine Blvd                                              St. Louis, MO 63108                                                                                    First Class Mail
Chartered Organization         Greater St Luke Baptist Church                                 Indian Waters Council 553                          5228 Farrow Rd                                                Columbia, SC 29203‐6729                                                                                First Class Mail
Chartered Organization         Greater St Matthews Baptist Church                             Chickasaw Council 558                              406 Summerwood Ave                                            Memphis, TN 38109‐6744                                                                                 First Class Mail
Voting Party                   Greater Tampa Bay Area Council Bsa                             Attn: Mark D Rose                                  13228 N Central Ave                                           Tampa, FL 33612                                                      jim.rees@scouting.org             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greater Union Baptist Church                                   Gulf Coast Council 773                             1300 N Guillemard St                                          Pensacola, FL 32501‐2651                                                                               First Class Mail
Chartered Organization         Greater Ward Chapel Ame                                        Chattahoochee Council 091                          1330 Talbotton Rd                                             Columbus, GA 31901‐1334                                                                                First Class Mail
Chartered Organization         Greater Williamsburg Chamber                                   & Tourism Alliance                                 421 N Boundary St                                             Williamsburg, VA 23185‐3614                                                                            First Class Mail
Chartered Organization         Greater Woodland Kalama Kiwanis                                Cascade Pacific Council 492                        1350 Lewis River Rd                                           Woodland, WA 98674‐9692                                                                                First Class Mail
Voting Party                   Greater Yosemite Council Inc                                   Attn: Robert L French                              1308 W Robinhood Dr, Ste 14                                   Stockton, CA 95207                                                   rfrenchwts@aol.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greece Baptist Church                                          Seneca Waterways 397                               1230 Long Pond Rd                                             Rochester, NY 14626‐1133                                                                               First Class Mail
Chartered Organization         Greece Police Dept                                             Seneca Waterways 397                               400 Island Cottage Rd                                         Rochester, NY 14612‐2306                                                                               First Class Mail
Voting Party                   Greece United Methodist Church                                 Attn: Trustees                                     1924 Maiden Ln                                                Rochester, NY 14626                                                  greeceumc@outlook.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greece Volunteer Ambulance Service                             Seneca Waterways 397                               867 Long Pond Rd                                              Rochester, NY 14612‐3048                                                                               First Class Mail
Voting Party                   Greek Archdiocese Of America                                   c/o Barry Mctiernan & Moore LLC                    Attn: Suzanne M Halbardier                                    101 Greenwich St, 14th Fl          New York, NY 10006                shalbardier@bmmfirm.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Greek Archdiocese Of America                                   Attn: Suzanne Halbardier                           Barry Mctiernan & Moore LLC                                   101 Greenwich St, 14th Fl          New York, NY 10006                shalbardier@bmmfirm.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greek Orthodox Ch, Holy Resurrection                           Theodore Roosevelt Council 386                     1400 Cedar Swamp Rd                                           Glen Head, NY 11545‐2124                                                                               First Class Mail
Voting Party                   Greek Orthodox Church Of The Resurrection                      20104 Center St                                    Castro Valley, CA 94546                                                                                                            office@cvresurrection.org         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Firm                           Green & Gillespie                                              Joshua Gillispie                                   1 Riverfront Pl, Ste. 605                                     North Little Rock, AR 72114                                          josh@greenandgillispie.com        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Firm                           Green & Gillispie and Law Offices of Paul Mones                Paul Mones, Esq                                    13101 Washington Blvd., Ste 240                               Los Angeles, CA 90066                                                josh@greenandgillispie.com        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Green Acres Baptist Church                                     1607 Troup Hwy                                     Tyler, TX 75701                                                                                                                    brettc@mail.gabc.org              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Green Bay Metro Fire Dept                                      Bay‐Lakes Council 635                              501 S Washington St                                           Green Bay, WI 54301‐4218                                                                               First Class Mail
Voting Party                   Green Bluff United Methodist Church (Greenbluff)               c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Green Bluff United Methodist Church 9908 E Greenbluff Rd       c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Green Brook School Pto                                         Patriots Path Council 358                          132 Jefferson Ave                                             Green Brook, NJ 08812‐2608                                                                             First Class Mail
Chartered Organization         Green Forest Baptist Church                                    Atlanta Area Council 092                           3250 Rainbow Dr                                               Decatur, GA 30034‐1713                                                                                 First Class Mail
Voting Party                   Green Forest United Methodist Church                           c/o Ivy Rohde                                      P.O. Box 770                                                  Green Forest, AR 72638                                               lraines@fridayfirm.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Green Forest Utd Methodist Church                              Westark Area Council 016                           100 S Springfield Ave                                         Green Forest, AR 72638                                                                                 First Class Mail
Chartered Organization         Green Gables Elementary Pta                                    Denver Area Council 061                            8701 W Woodard Dr                                             Lakewood, CO 80227‐2367                                                                                First Class Mail
Chartered Organization         Green Hill Presbyterian Church                                 Alabama‐Florida Council 003                        735 E Lee St                                                  Enterprise, AL 36330‐2010                                                                              First Class Mail
Chartered Organization         Green Inspiration Academy                                      Lake Erie Council 440                              4265 Northfield Rd                                            Highland Hills, OH 44128‐2811                                                                          First Class Mail
Chartered Organization         Green Meadow Elementary Pto                                    Southern Shores Fsc 783                            6171 E Mn Ave                                                 Kalamazoo, MI 49048‐8632                                                                               First Class Mail
Chartered Organization         Green Meadow School Pto                                        Twin Rivers Council 364                            234 Schuurman Rd                                              Castleton, NY 12033‐3221                                                                               First Class Mail
Chartered Organization         Green Mountain Masonic Center                                  Green Mountain 592                                 115 Merchants Row                                             Williston, VT 05495‐4475                                                                               First Class Mail
Voting Party                   Green Mountain Presbyterian Church, Lakewood, Co               Attn: Treasurer                                    12900 W Alameda Pkwy                                          Lakewood, CO 80228                                                   office@gmpc.net                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Green Mountain United Methodist Church                         Attn: Kent Bates                                   12755 W Cedar Dr                                              Lakewood, CO 80228                                                   gmumc@gmumc.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Green Pastures Mb Church                                       Andrew Jackson Council 303                         2239 N Flag Chapel Rd                                         Jackson, MS 39209‐2210                                                                                 First Class Mail
Chartered Organization         Green River Outreach For Wilderness Fndn                       Trapper Trails 589                                 P.O. Box 259                                                  Boulder, WY 82923‐0259                                                                                 First Class Mail
Chartered Organization         Green Road Synagogue                                           Lake Erie Council 440                              2437 S Green Rd                                               Beachwood, OH 44122‐1586                                                                               First Class Mail
Chartered Organization         Green Run Homes Assoc                                          Tidewater Council 596                              1248 Green Garden Cir                                         Virginia Beach, VA 23453‐2860                                                                          First Class Mail
Chartered Organization         Green Spring Presbyterian Church                               Sequoyah Council 713                               22007 Green Spring Rd                                         Abingdon, VA 24211                                                                                     First Class Mail
Voting Party                   Green Street United Methodist Church                           Attn: Church Administrator                         13 Green St                                                   Augusta, ME 04330                                                    greenstreetumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Green Township Pto                                             Hoosier Trails Council 145 145                     6275 Maple Grove Rd                                           Martinsville, IN 46151‐9038                                                                            First Class Mail
Chartered Organization         Green Trails Parent Teacher Organization                       Greater St Louis Area Council 312                  170 Portico Dr                                                Chesterfield, MO 63017‐2206                                                                            First Class Mail
Voting Party                   Green Valley Umc                                               P.O. Box 130                                       Green Valley, IL 61534                                                                                                             gsgerrietts@gmail.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Green Valley Utd Methodist Church                              Great Trail 433                                    620 E Turkeyfoot Lake Rd                                      Akron, OH 44319‐4110                                                                                   First Class Mail
Chartered Organization         Greenawalds Utd Church Of Christ                               Minsi Trails Council 502                           2325 Albright Ave                                             Allentown, PA 18104‐1005                                                                               First Class Mail
Chartered Organization         Greenback First Presbyterian                                   Great Smoky Mountain Council 557                   P.O. Box 170                                                  Greenback, TN 37742‐0170                                                                               First Class Mail
Voting Party                   Greenbarlabs, Llc                                              1802 N Howard Ave                                  Tampa, FL 33602                                                                                                                                                      First Class Mail
Chartered Organization         Greenbelt Community Church                                     National Capital Area Council 082                  1 Hillside Rd                                                 Greenbelt, MD 20770‐1708                                                                               First Class Mail
Chartered Organization         Greenbrae Property Assoc                                       Marin Council 035                                  P.O. Box 383                                                  Kentfield, CA 94914‐0383                                                                               First Class Mail
Chartered Organization         Greenbriar Civic Assoc                                         c/o Emerson Cale                                   P.O. Box 239                                                  Chantilly, VA 20153                                                                                    First Class Mail
Chartered Organization         Greenbriar Civic Assoc                                         National Capital Area Council 082                  P.O. Box 220239                                               Fairfax, VA 20153‐0239                                                                                 First Class Mail
Chartered Organization         Greenbriar East Elementary School Pta                          National Capital Area Council 082                  13006 Point Pleasant Dr                                       Fairfax, VA 22033‐3519                                                                                 First Class Mail
Chartered Organization         Greenbriar Elementary School ‐ Gfwar                           Longhorn Council 662                               1605 Grady Lee St                                             Fort Worth, TX 76134‐1115                                                                              First Class Mail
Chartered Organization         Greenbrier Elem Pto                                            Georgia‐Carolina 093                               5116 Riverwood Pkwy                                           Evans, GA 30809‐6628                                                                                   First Class Mail
Voting Party                   Greenbrier First United Methodist Church                       Attn: Kevin Lyon                                   2 Tyler St                                                    Greenbrier, AR 72058                                                 LyonK@aol.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Greenbrier First United Methodist Church                       c/o Friday, Eldredge & Clark LLP                   Attn: Lindsey Emerson Raines                                  400 W Capitol Ave, Ste 2000        Little Rock, AR 72201             lraines@fridayfirm.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Greenbrier United Methodist Church                             Attn: Barbara Davies, Church Council Chairperson   204 W Main St                                                 Greenbrier, TN 37073                                                 GreenbrierUMC@gmail.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greenbrook Homeowners Assoc                                    Orange County Council 039                          18222 Santa Joanana                                           Fountain Valley, CA 92708‐5642                                                                         First Class Mail
Chartered Organization         Greenbrook Homes Assoc Inc                                     Mt Diablo‐Silverado Council 023                    300 Greenbrook Dr                                             Danville, CA 94526‐5217                                                                                First Class Mail
Voting Party                   Greenburgh Central School District                             Attn: Superintendent of Schools                    475 W Hartsdale Ave                                           Hartsdale, NY 10530                                                                                    First Class Mail
Voting Party                   Greenburgh Junior High School                                  c/o Jaspan Schlesinger LLP                         Attn: Sophia A Perna‐Plank                                    300 Garden City Plz, 5th Fl        Garden City, NY 11530             spernaplank@jaspanllp.com         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Greenburgh Junior High School                                  Attn: Superintendent of Schools                    475 Hartsdale Ave                                             Hartsdale, NY 10530                                                                                    First Class Mail
Chartered Organization         Greenbush Fire Dept                                            Northern Lights Council 429                        244 4th St N                                                  Greenbush, MN 56726                                                                                    First Class Mail
Chartered Organization         Greenbush Volunteer Fire Dept                                  Northern Lights Council 429                        P.O. Box 195                                                  Greenbush, MN 56726‐0195                                                                               First Class Mail
Chartered Organization         Greendale Friends Of Scouting                                  Three Harbors Council 636                          7716 Overlook Dr                                              Greendale, WI 53129‐2141                                                                               First Class Mail
Chartered Organization         Greendale Park & Recreation                                    Three Harbors Council 636                          6800 Schoolway                                                Greendale, WI 53129‐1819                                                                               First Class Mail
Chartered Organization         Greene County Jrotc                                            Black Warrior Council 006                          14221 US Hwy 11                                               Eutaw, AL 35462                                                                                        First Class Mail
Chartered Organization         Greene County Para                                             Black Warrior Council 006                          P.O. Box 106                                                  Eutaw, AL 35462‐0106                                                                                   First Class Mail
Chartered Organization         Greene County Sheriffs Office                                  Ozark Trails Council 306                           1010 N Boonville Ave                                          Springfield, MO 65802‐3804                                                                             First Class Mail
Chartered Organization         Greene County Sheriffs Office                                  Tecumseh 439                                       120 E Main St                                                 Xenia, OH 45385‐3204                                                                                   First Class Mail
Voting Party                   Greene Memorial Umc ‐ Roanoke                                  c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Greene Street Umc                                              415 W Greene St                                    Piqua, OH 45356                                                                                                                    sherry@greenestreetumc.org        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greeneview Elementary Pto                                      Tecumseh 439                                       53 N Limestone St                                             Jamestown, OH 45335‐1550                                                                               First Class Mail
Chartered Organization         Greeneville Moose Lodge 692                                    Sequoyah Council 713                               728 Kiser Blvd                                                Greeneville, TN 37745‐1553                                                                             First Class Mail
Chartered Organization         Greenfield Chamber Of Commerce                                 Mid‐America Council 326                            P.O. Box 61                                                   Greenfield, IA 50849‐0061                                                                              First Class Mail
Chartered Organization         Greenfield Chamber Of Commerce                                 Mid‐America Council 326                            P.O. Box 61                                                   Greenfield, IA 50849‐0061                                                                              First Class Mail
Chartered Organization         Greenfield Ctr Vol Fire Co No 1                                Twin Rivers Council 364                            P.O. Box 57                                                   Greenfield Center, NY 12833‐0057                                                                       First Class Mail
Chartered Organization         Greenfield Elementary School Pto                               North Florida Council 087                          6343 Knights Ln N                                             Jacksonville, FL 32216‐5604                                                                            First Class Mail
Chartered Organization         Greenfield Fire Dept                                           Daniel Webster Council, Bsa 330                    Forest Rd                                                     Greenfield, NH 03047                                                                                   First Class Mail
Chartered Organization         Greenfield Firefighters Union                                  Three Harbors Council 636                          7325 W Forest Home Ave                                        Milwaukee, WI 53220‐3356                                                                               First Class Mail
Chartered Organization         Greenfield First Utd Methodist Church                          Simon Kenton Council 441                           405 South St                                                  Greenfield, OH 45123‐1431                                                                              First Class Mail
Chartered Organization         Greenfield Hill Congregational Church                          Connecticut Yankee Council Bsa 072                 1045 Old Academy Rd                                           Fairfield, CT 06824‐2051                                                                               First Class Mail
Chartered Organization         Greenfield Home School Assoc                                   Twin Rivers Council 364                            3180 Route 9N                                                 Greenfield Center, NY 12833‐1711                                                                       First Class Mail
Chartered Organization         Greenfield Park Lutheran Church                                Three Harbors Council 636                          1236 S 115th St                                               West Allis, WI 53214‐2238                                                                              First Class Mail
Chartered Organization         Greenfield Police Dept                                         Silicon Valley Monterey Bay 055                    P.O. Box 306                                                  Greenfield, CA 93927‐0306                                                                              First Class Mail
Chartered Organization         Greenfield Rotary Club                                         Silicon Valley Monterey Bay 055                    150 El Camino Real                                            Greenfield, CA 93927‐5634                                                                              First Class Mail
Voting Party                   Greenfield United Methodist Church                             Attn: Treasurer                                    P.O. Box 92                                                   Greenfield, IA 50849                                                 office@greenfieldumc.org          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greenfield Utd Methodist Church                                Greater St Louis Area Council 312                  P.O. Box 282                                                  Greenfield, IL 62044‐0282                                                                              First Class Mail
Chartered Organization         Greenford Ruritan Club                                         Great Trail 433                                    P.O. Box 43                                                   Greenford, OH 44422‐0043                                                                               First Class Mail
Chartered Organization         Greenhill Utd Methodist Church                                 Lincoln Heritage Council 205                       4802 Old Greenhill Rd                                         Bowling Green, KY 42103‐9731                                                                           First Class Mail
Chartered Organization         Greenland Community Congreg Church                             Daniel Webster Council, Bsa 330                    P.O. Box 128                                                  Greenland, NH 03840‐0128                                                                               First Class Mail
Voting Party                   Greenland Hills United Methodist Church                        Attn: Treasurer                                    5835 Penrose Ave                                              Dallas, TX 75206                                                     info@greenlandhills.org           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Greenland United Methodist Church                              Attn: Jongsun Lim                                  25 Dearborn Rd                                                Greenland, NH 03840                                                  limsog@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greenland Utd Methodist Church                                 Daniel Webster Council, Bsa 330                    87 Great Bay Rd                                               Greenland, NH 03840                                                                                    First Class Mail
Chartered Organization         Greenlawn Beach & Swim Club                                    Suffolk County Council Inc 404                     P.O. Box 127                                                  Greenlawn, NY 11740‐0127                                                                               First Class Mail
Chartered Organization         Greenleaf Lodge 117                                            Pine Tree Council 218                              142 Maple St                                                  Cornish, ME 04020                                                                                      First Class Mail
Chartered Organization         Greenmount Community Fire Co                                   New Birth of Freedom 544                           3095 Emmitsburg Rd                                            Gettysburg, PA 17325‐7138                                                                              First Class Mail
Voting Party                   Greenmount United Methodist Church                             Attn: Charles Clayton Caster                       3780 N Carroll Ln                                             Hampstead, MD 21074                                                  ccaster0@verizon.net              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Greenmount United Methodist Church                             Attn: William Deltuva                              2001 Hanover Pike                                             Hampstead, MD 21074                                                  admin@nccpumc.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greensboro Fire Dept                                           Old N State Council 070                            1514 N Church St                                              Greensboro, NC 27405‐5624                                                                              First Class Mail
Voting Party                   Greensboro First United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greensboro First Utd Methodist Church                          Northeast Georgia Council 101                      202 W Broad St                                                Greensboro, GA 30642‐1128                                                                              First Class Mail
Chartered Organization         Greensboro Housing Authority                                   Old N State Council 070                            450 N Church St                                               Greensboro, NC 27401‐2001                                                                              First Class Mail
Chartered Organization         Greensboro Lions                                               Black Warrior Council 006                          607 Cargile Dr                                                Greensboro, AL 36744‐2103                                                                              First Class Mail
Chartered Organization         Greensboro Police Dept                                         Old N State Council 070                            300 W Washington St                                           Greensboro, NC 27401‐2624                                                                              First Class Mail
Chartered Organization         Greensburg Community Kiwanis Club                              Hoosier Trails Council 145 145                     2503 N County Rd 400 E                                        Greensburg, IN 47240‐8561                                                                              First Class Mail
Chartered Organization         Greensburg Salem High School                                   Westmoreland Fayette 512                           65 Mennel Dr                                                  Greensburg, PA 15601‐1344                                                                              First Class Mail
Chartered Organization         Greensburg Salem Middle School                                 Westmoreland Fayette 512                           301 N Main St                                                 Greensburg, PA 15601‐1810                                                                              First Class Mail
Voting Party                   Greensburg United Methodist Church                             Attn: Margo Holmes                                 2161 Greensburg Rd                                            North Canton, OH 44720                                               office@greensburgumc.net          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Greensburg United Methodist Church                             Attn: Tony Reese                                   301 N Broadway                                                Greensburg, IN 47240                                                 chris@greensburgumc.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greensburg Utd Methodist Church                                Great Trail 433                                    2161 Greensburg Rd                                            Green, OH 44232                                                                                        First Class Mail
Chartered Organization         Greensburg Utd Methodist Church                                Hoosier Trails Council 145 145                     301 N Broadway St                                             Greensburg, IN 47240‐1726                                                                              First Class Mail
Chartered Organization         Greenspoint Baptist Church                                     Sam Houston Area Council 576                       11703 Walters Rd                                              Houston, TX 77067‐2623                                                                                 First Class Mail
Firm                           Greenstein & Milbauer, LLP                                     Seth Milbauer                                      1825 Park Avenue, 9th Fl                                      NewYork, NY 10035                                                    smilbauer@nyclawfirm.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Greenstone United Methodist Church (101148)                    c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greenstone Utd Methodist Church                                Pathway To Adventure 456                           11211 S Saint Lawrence Ave                                    Chicago, IL 60628‐4647                                                                                 First Class Mail
Chartered Organization         Greenstone Utd Methodist Church                                Laurel Highlands Council 527                       939 California Ave                                            Pittsburgh, PA 15202‐2709                                                                              First Class Mail
Chartered Organization         Greensview School Pto                                          Simon Kenton Council 441                           4301 Greensview Dr                                            Upper Arlington, OH 43220‐3970                                                                         First Class Mail
Chartered Organization         Greentown Utd Methodist Church                                 Buckeye Council 436                                3088 State St Nw                                              Uniontown, OH 44685                                                                                    First Class Mail
Chartered Organization         Greentree Elementary Pta                                       Sam Houston Area Council 576                       3502 Brook Shadow Dr                                          Kingwood, TX 77345‐1190                                                                                First Class Mail
Voting Party                   Greenup First United Methodist Church                          Attn: Lewis D Nicholls                             1205 Main St                                                  Greenup, KY 41144                                                    lewandbarb@gmail.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greenup Volunteer Fire Dept.                                   Greater St Louis Area Council 312                  P.O. Box 486                                                  Greenup, IL 62428‐0486                                                                                 First Class Mail
Voting Party                   Greenview Um Church                                            Attn: Marva Marie Smearman                         560 Blue Prince Rd                                            Bluefield, WV 24701                                                                                    First Class Mail
Voting Party                   Greenview United Methodist Church                              Attn: Kirk Story                                   254 Nutwood St                                                Bluefiel, WV 24701                                                   kirkstory@frontier.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Greenview United Methodist Church                              600 Blue Prince Rd                                 Bluefield, WV 24701                                                                                                                                                  First Class Mail
Chartered Organization         Greenview Utd Methodist Church                                 Buckskin 617                                       P.O. Box 6130                                                 Bluefield, WV 24701                                                                                    First Class Mail
Chartered Organization         Greenville Baptist Church                                      Narragansett 546                                   582 Putnam Pike                                               Greenville, RI 02828‐1420                                                                              First Class Mail
Chartered Organization         Greenville City Fire Dept                                      Blue Ridge Council 551                             206 S Main St                                                 Greenville, SC 29601‐2832                                                                              First Class Mail
Chartered Organization         Greenville Community Reformed Church                           Westchester Putnam 388                             270 Ardsley Rd                                                Scarsdale, NY 10583‐2625                                                                               First Class Mail
Chartered Organization         Greenville County Ems                                          Blue Ridge Council 551                             301 University Rdg, Ste 1100                                  Greenville, SC 29601‐3683                                                                              First Class Mail
Chartered Organization         Greenville County Sheriff'S Office                             Blue Ridge Council 551                             4 Mcgee St                                                    Greenville, SC 29601‐2256                                                                              First Class Mail
Chartered Organization         Greenville Fire Rescue                                         Circle Ten Council 571                             2603 Templeton St                                             Greenville, TX 75401‐5252                                                                              First Class Mail
Chartered Organization         Greenville First Presbyterian Church                           Greater St Louis Area Council 312                  501 N Idler Ln                                                Greenville, IL 62246‐2311                                                                              First Class Mail
Voting Party                   Greenville First United Methodist Church                       Attn: Pastor Curtis Flake                          310 S 2nd St                                                  Greenville, IL 62246                                                 gfumcsecretary@gmail.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Greenville Housing Authority ‐ Moyewood                        East Carolina Council 426                          1710 W 3rd St                                                 Greenville, NC 27834‐1669                                                                              First Class Mail
Chartered Organization         Greenville Memorial Ame Zion                                   Mecklenburg County Council 415                     P.O. Box 560549                                               Charlotte, NC 28256‐0549                                                                               First Class Mail
Chartered Organization         Greenville Moose Lodge 329                                     Miami Valley Council, Bsa 444                      1200 Sweitzer St                                              Greenville, OH 45331‐1026                                                                              First Class Mail
Chartered Organization         Greenville Oaks Church Of Christ                               Circle Ten Council 571                             703 S Greenville Ave                                          Allen, TX 75002‐3313                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                            Page 148 of 442
                                                                                   Case 20-10343-LSS                                      Doc 8171                                Filed 01/06/22                                                        Page 164 of 457
                                                                                                                                                                     Exhibit B
                                                                                                                                                                      Service List
                                                                                                                                                               Served as set forth below

        Description                                                         Name                                                                                   Address                                                                                                                  Email              Method of Service
Voting Party                   Greenville Peoples United Methodist Church                 Attn: Treasurer                           P.O. Box 91                                          Greenville Junction, ME 04442                                                                              First Class Mail
Chartered Organization         Greenville Police Dept                                     Circle Ten Council 571                    P.O. Box 1049                                        Greenville, TX 75403‐1049                                                                                  First Class Mail
Chartered Organization         Greenville Tech Brashier Campus                            Blue Ridge Council 551                    P.O. Box 5616                                        Greenville, SC 29606‐5616                                                                                  First Class Mail
Voting Party                   Greenville Umc ‐ Greenville                                c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                   100 N Tampa St, Ste 2200              Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Greenville United Methodist Church                         Attn: Robert Jennings                     5892 Clarksville Pike                                Joelton, TN 37080                                                        rjennings@jenningsclouse.com      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Greenville United Methodist Church                         Attn: Barry Robinson                      144 N Main St                                        Greenville, KY 42345                                                     preacherbarryrobinson@gmail.com   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Greenville Utd Methodist Church                            Chattahoochee Council 091                 P.O. Box 85                                          Greenville, GA 30222‐0085                                                                                  First Class Mail
Chartered Organization         Greenway School Pto                                        Cascade Pacific Council 492               9150 SW Downing Dr                                   Beaverton, OR 97008‐8282                                                                                   First Class Mail
Chartered Organization         Greenwich Board Of Education                               Greenwich 067                             290 Greenwich Ave                                    Greenwich, CT 06830‐6508                                                                                   First Class Mail
Chartered Organization         Greenwich Emergency Medical Services                       Greenwich 067                             1111 E Putnam Ave                                    Riverside, CT 06878‐1335                                                                                   First Class Mail
Chartered Organization         Greenwich Lions Club                                       Twin Rivers Council 364                   P.O. Box 172                                         Greenwich, NY 12834‐0172                                                                                   First Class Mail
Chartered Organization         Greenwich Police Dept/Silver Shield Assc                   Greenwich 067                             11 Bruce Pl                                          Greenwich, CT 06830‐6535                                                                                   First Class Mail
Chartered Organization         Greenwich Utd Methodist Church                             Lake Erie Council 440                     18 E Main St                                         Greenwich, OH 44837‐1142                                                                                   First Class Mail
Chartered Organization         Greenwich Volunteer Fire Dept                              Twin Rivers Council 364                   6 Academy St                                         Greenwich, NY 12834‐1002                                                                                   First Class Mail
Chartered Organization         Greenwood Baptist Church                                   Tukabatchee Area Council 005              1510 Washington Ave                                  Tuskegee Institute, AL 36088‐1820                                                                          First Class Mail
Chartered Organization         Greenwood Charter School                                   Trapper Trails 589                        840 N Hwy 89                                         Harrisville, UT 84404‐3544                                                                                 First Class Mail
Chartered Organization         Greenwood Christian Church                                 Cornhusker Council 324                    P.O. Box 25                                          Greenwood, NE 68366‐0025                                                                                   First Class Mail
Chartered Organization         Greenwood City Elementary Pta                              Greater Alabama Council 001               5012 Roselyn Rd                                      Bessemer, AL 35022‐6353                                                                                    First Class Mail
Chartered Organization         Greenwood Family Ymca                                      Blue Ridge Council 551                    410 Anderson Dr                                      Laurens, SC 29360‐1755                                                                                     First Class Mail
Chartered Organization         Greenwood Fire Dept                                        Crossroads of America 160                 155 E Main St                                        Greenwood, IN 46143‐1356                                                                                   First Class Mail
Voting Party                   Greenwood First United Methodist Church                    Attn: Bill C Cook, Jr                     P.O. Box 1870                                        Greenwood, MS 38935                                                      bcookms@gmail.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Greenwood Masonic Lodge 131                                Westark Area Council 016                  P.O. Box 1086                                        Greenwood, AR 72936‐1086                                                                                   First Class Mail
Voting Party                   Greenwood Memorial United Methodist Church                 Attn: Imani‐Sheila Newsome‐Camara         378A Washington St                                   Dorchester, MA 02124                                                     office@gmumch.comcastbiz.net      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Greenwood Middle School                                    Crossroads of America 160                 523 Madison Ave                                      Indianapolis, IN 46225                                                                                     First Class Mail
Chartered Organization         Greenwood Mill Elementary School                           Shenandoah Area Council 598               8989 Winchester Grade Rd                             Winchester, VA 22601                                                                                       First Class Mail
Chartered Organization         Greenwood Missionary Baptist Church                        Tukabatchee Area Council 005              1510 Washington Ave                                  Tuskegee Institute, AL 36088‐1820                                                                          First Class Mail
Chartered Organization         Greenwood Park Advisory Board                              Erie Shores Council 460                   6150 Jackman Rd                                      Toledo, OH 43613‐1736                                                                                      First Class Mail
Chartered Organization         Greenwood Presbyterian Church                              Crossroads of America 160                 102 W Main St                                        Greenwood, IN 46142‐3126                                                                                   First Class Mail
Voting Party                   Greenwood Um Church                                        Attn: Lucas Allen Wiggin                  645 Sam Doak St                                      Greeneville, TN 37745                                                    wigginlucas@yahoo.com             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Greenwood Um Church                                        Attn: Teresa Babb (Treasurer; Gumc)       35 Jay Brooks St                                     Greeneville, TN 37745                                                    atthecross333@gmail.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Greenwood Umc ‐ Winchester                                 c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                   100 N Tampa St, Ste 2200              Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Greenwood United Methodist Church                          Attn: Secretary/Treasurer And/Or Pastor   7909 Fm 307                                          Midland, TX 79706                                                        rmedearis@lubbocklawfirm.com      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Greenwood United Methodist Church                          Attn: Misty Martin                        P.O. Box 548                                         Greenwood, AR 72936                                                      lraines@fridayfirm.com            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Greenwood United Methodist Church                          Attn: Pastor, Greenwood Umc               P.O. Box 2657                                        Winchester, VA 22604                                                     keikofoster@vaumc.org             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Greenwood United Methodist Church (1190)                   c/o Bentz Law Firm                        Attn: Leonard Spagnolo                               680 Washington Rd, Ste 200            Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Greenwood United Methodist Church (1190)                   c/o Bentz Law Firm                        Attn: Sean Bollman                                   680 Washington Rd, Ste 200            Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Greenwood United Methodist Church (86177)                  c/o Bentz Law Firm                        Attn: Leonard Spagnolo                               680 Washington Rd, Ste 200            Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Greenwood United Methodist Church, Inc.                    Attn: Pastor In Suk Peebles               525 N Madison Ave                                    Greenwood, IN 46142                                                      dspeeples@henthornlaw.com         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Greenwood Utd Methodist Church                             Heart of Virginia Council 602             10040 Greenwood Rd                                   Glen Allen, VA 23060‐4558                                                                                  First Class Mail
Chartered Organization         Greenwood Vol Fire & Rescue Co, Inc                        Shenandoah Area Council 598               P.O. Box 3023                                        Winchester, VA 22604‐2223                                                                                  First Class Mail
Chartered Organization         Greenwood Volunteer Fire Dept                              Five Rivers Council, Inc 375              P.O. Box 977                                         Greenwood, NY 14839‐0977                                                                                   First Class Mail
Voting Party                   Greer Chapel United Methodist Church                       925 Flowood Dr                            Flowood, MS 39232                                                                                                             zwatley@bellsouth.net             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Greer Fire Dept                                            Blue Ridge Council 551                    103 W Poinsett St                                    Greer, SC 29650‐1940                                                                                       First Class Mail
Chartered Organization         Greg Glover Group Llc                                      National Capital Area Council 082         7012 Summerfield Dr                                  Frederick, MD 21702‐2952                                                                                   First Class Mail
Chartered Organization         Greg Hughes Realty & Auction Co                            Greater Alabama Council 001               1114 Knight St Se                                    Decatur, AL 35601‐6534                                                                                     First Class Mail
Chartered Organization         Gregg Klice Community Ctr                                  Heart of America Council 307              1600 E 17th Ter                                      Kansas City, MO 64108‐1654                                                                                 First Class Mail
Voting Party                   Greggton United Methodist Church                           Attn: Pastor Ricky Ricks                  1101 Pine Tree Rd                                    Longview, TX 75604                                                       rickyr@greggton.org               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Gregory D Irvin                                            Address Redacted                                                                                                                                                                                          First Class Mail
Chartered Organization         Gregory Elementary Pto                                     Blackhawk Area 660                        4820 Carol Ct                                        Rockford, IL 61108‐4175                                                                                    First Class Mail
Chartered Organization         Gregory Elementary School Pto                              Washington Crossing Council 777           500 Rutherford Ave                                   Trenton, NJ 08618‐4430                                                                                     First Class Mail
Firm                           Gregory J Cannata & Associates, LLP                        Robert Cannata                            60 E 42nd St, Ste 932                                New York, NY 10165                                                       rcannata@cannatalaw.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Gregory L Patrick                                          123 E Park St                             Taylorville, IL 62568                                                                                                         gregpatrick05@gmail.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Gregory Memorial Presbyterian Church                       Heart of Virginia Council 602             P.O. Box 182                                         Prince George, VA 23875‐0182                                                                               First Class Mail
Chartered Organization         Gregory Portland High School                               South Texas Council 577                   4601 Wildcat Dr                                      Portland, TX 78374‐2827                                                                                    First Class Mail
Chartered Organization         Greif Bros Corp                                            Silicon Valley Monterey Bay 055           235 San Pedro Ave                                    Morgan Hill, CA 95037‐5236                                                                                 First Class Mail
Chartered Organization         Grenada First Utd Methodist Church                         Chickasaw Council 558                     161 S Line St                                        Grenada, MS 38901‐2518                                                                                     First Class Mail
Voting Party                   Grenwich Council Bsa                                       Attn: Kevin P Oshea                       63 Mason St                                          Greenwich, CT 06030                                                      Kevin.oshea@scouting.org          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Gresham First                                              c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                   100 N Tampa St, Ste 2200              Tampa, FL 33602                    Erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Gresham Friends                                            Cascade Pacific Council 492               1127 NE 27th St                                      Gresham, OR 97030‐3031                                                                                     First Class Mail
Chartered Organization         Gresham Utd Methodist Church                               Cascade Pacific Council 492               620 NW 8th St                                        Gresham, OR 97030‐6935                                                                                     First Class Mail
Chartered Organization         Greta Oppe Elementary Pta                                  Bay Area Council 574                      2915 81st St                                         Galveston, TX 77554‐9268                                                                                   First Class Mail
Chartered Organization         Gretna Lions Club                                          Mid‐America Council 326                   P.O. Box 104                                         Gretna, NE 68028‐0104                                                                                      First Class Mail
Chartered Organization         Gretna Optimist Club                                       Mid‐America Council 326                   11717 S 216th St                                     Gretna, NE 68028‐4729                                                                                      First Class Mail
Voting Party                   Gretna United Methodist Church                             Attn: Robert Kimbro                       1309 Whitney Ave                                     Gretna, LA 70056                                                         robert.kimbro@outlook.com         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Gridsmart Technologies, Inc                                Great Smoky Mountain Council 557          10545 Hardin Valley Rd                               Knoxville, TN 37932‐1502                                                                                   First Class Mail
Chartered Organization         Griffin Fire Rescue                                        Flint River Council 095                   1420 Ellis Rd                                        Griffin, GA 30223‐1730                                                                                     First Class Mail
Voting Party                   Griffin Memorial Umc                                       Attn: Mary Beth Chipman                   P.O. Box 343                                         Paragould, AR 72450                                                      griffinumcbusiness@gmail.com      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Griffin Memorial Utd Methodist Church                      Quapaw Area Council 018                   524 E Court St                                       Paragould, AR 72450‐4520                                                                                   First Class Mail
Chartered Organization         Griffin Road Church Of Christ                              South Florida Council 084                 14550 Griffin Rd                                     Southwest Ranches, FL 33330‐2125                                                                           First Class Mail
Chartered Organization         Griffin‐ Spalding Law Enforcement                          Flint River Council 095                   401 Justice Blvd                                     Griffin, GA 30224‐8803                                                                                     First Class Mail
Chartered Organization         Griffiss Institute                                         Leatherstocking 400                       725 Daedalian Dr                                     Rome, NY 13441‐4908                                                                                        First Class Mail
Voting Party                   Griffith Evangelical Lutheran Church, Inc.                 c/o Plews Shadley Racher & Braun LLP      Attn: Joshua S Tatum                                 1346 N Delaware St                    Indianapolis, IN 46202             jtatum@psrb.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Griffith First Utd Methodist Church                        Pathway To Adventure 456                  400 W 44th Pl                                        Griffith, IN 46319‐1575                                                                                    First Class Mail
Voting Party                   Griffith Fumc                                              Attn: Sheila Johnson                      2201 Azalea Dr                                       Highland, IN 46322                                                       sheila@fumcgriffith.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Griffith Highland Police Dept                              Pathway To Adventure 456                  115 N Broad St                                       Griffith, IN 46319‐2218                                                                                    First Class Mail
Chartered Organization         Griffith Lutheran Church                                   Pathway To Adventure 456                  1000 N Broad St                                      Griffith, IN 46319‐1530                                                                                    First Class Mail
Chartered Organization         Griggs Enterprise, Inc                                     Norwela Council 215                       330 Marshall St, Ste 711                             Shreveport, LA 71101‐3016                                                                                  First Class Mail
Chartered Organization         Griggstown Reformed Church                                 Patriots Path Council 358                 1065 Canal Rd                                        Princeton, NJ 08540‐8434                                                                                   First Class Mail
Chartered Organization         Griggsville Christian Church                               Mississippi Valley Council 141 141        P.O. Box 52                                          Griggsville, IL 62340‐0052                                                                                 First Class Mail
Chartered Organization         Grimes American Legion                                     Mid Iowa Council 177                      P.O. Box 663                                         Grimes, IA 50111‐0663                                                                                      First Class Mail
Chartered Organization         Grimes Elementary School                                   Mississippi Valley Council 141 141        800 South St                                         Burlington, IA 52601‐5900                                                                                  First Class Mail
Voting Party                   Grimes United Methodist Church                             Attn: Megan Grove                         801 W 1st St                                         Grimes, IA 50111                                                         epple924@gmail.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Grimes‐Kohl Vfw 1031                                       Tecumseh 439                              1237 E Main St                                       Springfield, OH 45503‐4424                                                                                 First Class Mail
Chartered Organization         Grinnell Lions Club                                        Mid Iowa Council 177                      909 Main St                                          Grinnell, IA 50112‐2049                                                                                    First Class Mail
Voting Party                   Grinnell United Methodist Church                           916 5th Ave                               Grinnell, IA 50112                                                                                                            adminassist@grinnellumc.org       Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Grissitt Swamp Mine                                        Cape Fear Council 425                     10211 Swamp Fox Hwy E                                Tabor City, NC 28463‐9117                                                                                  First Class Mail
Chartered Organization         Grissom Air Museum                                         Sagamore Council 162                      1000 W Hoosier Blvd                                  Peru, IN 46970‐3723                                                                                        First Class Mail
Chartered Organization         Grissom Elementary Pta                                     Indian Nations Council 488                6646 S 73rd East Ave                                 Tulsa, OK 74133‐1829                                                                                       First Class Mail
Chartered Organization         Grissom Elementary School Pto                              Crossroads of America 160                 3201 S Macedonia Ave                                 Muncie, IN 47302‐5943                                                                                      First Class Mail
Chartered Organization         Griswold Scout Reservation                                 Daniel Webster Council, Bsa 330           7 Daniel Webster Way                                 Gilmanton Iron Works, NH 03837‐4111                                                                        First Class Mail
Voting Party                   Griswold United Methodist Church                           Attn: Nancy Freeman                       100 Cass St                                          Griswold, IA 51535                                                       giaumc@netins.net                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Groce Utd Methodist Church                                 Daniel Boone Council 414                  954 Tunnel Rd                                        Asheville, NC 28805‐2027                                                                                   First Class Mail
Chartered Organization         Groesbeck Utd Methodist Church                             Dan Beard Council, Bsa 438                8871 Colerain Ave                                    Cincinnati, OH 45251‐2919                                                                                  First Class Mail
Chartered Organization         Groesbeck Volunteer Fire Dept                              Longhorn Council 662                      409 Whitt St                                         Groesbeck, TX 76642                                                                                        First Class Mail
Chartered Organization         Grosse Ile Rotary Club                                     Great Lakes Fsc 272                       P.O. Box 125                                         Grosse Ile, MI 48138‐0125                                                                                  First Class Mail
Chartered Organization         Grosse Ile Rotary Club                                     c/o William Krauss                        23541 Parke Ln                                       Grosse Ile, MI 48138‐1526                                                                                  First Class Mail
Chartered Organization         Grosse Pointe Crisis Club                                  Great Lakes Fsc 272                       P.O. Box 36243                                       Grosse Pointe Farms, MI 48236‐0243                                                                         First Class Mail
Chartered Organization         Grosse Pointe Memorial Presbyterian                        Great Lakes Fsc 272                       16 Lake Shore Rd                                     Grosse Pointe Farms, MI 48236‐3725                                                                         First Class Mail
Chartered Organization         Grosse Pointe Pto Council ‐ Defer                          Great Lakes Fsc 272                       2037 Hollywood Ave                                   Grosse Pointe Woods, MI 48236‐1375                                                                         First Class Mail
Chartered Organization         Grosse Pointe Pto Council ‐ Ferry                          Great Lakes Fsc 272                       389 Saint Clair St                                   Grosse Pointe, MI 48230‐1501                                                                               First Class Mail
Chartered Organization         Grosse Pointe Pto Council ‐ Kerby                          Great Lakes Fsc 272                       461 Calvin Ave                                       Grosse Pointe Farms, MI 48236‐3236                                                                         First Class Mail
Chartered Organization         Grosse Pointe Pto Council ‐ Maire                          Great Lakes Fsc 272                       389 Saint Clair St                                   Grosse Pointe, MI 48230‐1501                                                                               First Class Mail
Chartered Organization         Grosse Pointe Pto Council ‐ Mason School                   Great Lakes Fsc 272                       389 Saint Clair St                                   Grosse Pointe, MI 48230‐1501                                                                               First Class Mail
Chartered Organization         Grosse Pointe Pto Council ‐ Monteith                       Great Lakes Fsc 272                       1275 Cook Rd                                         Grosse Pointe Woods, MI 48236‐2511                                                                         First Class Mail
Chartered Organization         Grosse Pointe Pto Council ‐ Poupard                        Great Lakes Fsc 272                       389 Saint Clair St                                   Grosse Pointe, MI 48230‐1501                                                                               First Class Mail
Chartered Organization         Grosse Pointe Pto Council ‐ Trombly                        Great Lakes Fsc 272                       820 Beaconsfield Ave                                 Grosse Pointe Park, MI 48230‐1771                                                                          First Class Mail
Chartered Organization         Grosse Pointe Pto Council Trombly                          Great Lakes Fsc 272                       888 Harcourt Rd                                      Grosse Pointe Park, MI 48230‐1834                                                                          First Class Mail
Voting Party                   Grosse Pointe United Methodist Church                      Attn: Edward B Baubie                     211 Moross Rd                                        Grosse Pointe Farms, MI 48236                                            technology@gpumc.org              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Groton Fire Dept                                           Baden‐Powell Council 368                  108 E Cortland St                                    Groton, NY 13073‐1108                                                                                      First Class Mail
Chartered Organization         Groton Lodge Bpoe 2163                                     Connecticut Rivers Council, Bsa 066       700 Shennecossett Rd                                 Groton, CT 06340‐6043                                                                                      First Class Mail
Voting Party                   Groton United Methodist Church                             Attn: Lonald Gellhaus                     120 S Lincoln St Box 73                              Aberdeen, SD 57402                                                       lon@gellhauslaw.com               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Groton United Methodist Church                             Attn: Jean Denson                         1426 Scott Hwy                                       Groton, VT 05046                                                         gkneed@aol.com                    Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Groton Volunteer Fire Dept                                 Green Mountain 592                        302 Scott Hwy                                        Groton, VT 05046                                                                                           First Class Mail
Chartered Organization         Groton‐Fire Service Local 4879                             Heart of New England Council 230          P.O. Box 314                                         Groton, MA 01450‐0314                                                                                      First Class Mail
Chartered Organization         Groton‐Firefighters Assoc                                  Heart of New England Council 230          128 North St                                         Groton, MA 01450‐1422                                                                                      First Class Mail
Chartered Organization         Groton‐Group Of Citizens                                   Heart of New England Council 230          Main St                                              Groton, MA 01450                                                                                           First Class Mail
Chartered Organization         Groton‐Police Assoc Inc                                    Heart of New England Council 230          99 Pleasant St                                       Groton, MA 01450‐1205                                                                                      First Class Mail
Voting Party                   Grottoes Umc ‐ Grottoes                                    c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                   100 N Tampa St, Ste 2200              Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Grottoes United Methodist Church                           Attn: Brian Posey                         P.O. Box 5                                           Grottoes, VA 24441                                                       brianposey@vaumc.org              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Group Of American Citizens Of Troop 310                    c/o M. Scarano/ Ft. Ham Post Chapel       219 Grimes Rd                                        Brooklyn, NY 11252‐9518                                                                                    First Class Mail
Chartered Organization         Group Of Citizen                                           Northeast Georgia Council 101             P.O. Box 399                                         Jefferson, GA 30549‐0399                                                                                   First Class Mail
Chartered Organization         Group Of Citizens                                          Northeast Georgia Council 101             2915 Ridge Spring Ct                                 Alpharetta, GA 30004‐0735                                                                                  First Class Mail
Chartered Organization         Group Of Citizens                                          Cradle of Liberty Council 525             206 Williamsburg Rd                                  Ardmore, PA 19003‐3104                                                                                     First Class Mail
Chartered Organization         Group Of Citizens                                          c/o Charlie Kemp                          10 Winsor Dr                                         Barrington, RI 02806‐2414                                                                                  First Class Mail
Chartered Organization         Group Of Citizens                                          Narragansett 546                          143 Middle Hwy                                       Barrington, RI 02806‐2417                                                                                  First Class Mail
Chartered Organization         Group Of Citizens                                          Narragansett 546                          10 Starbrook Dr                                      Barrington, RI 02806‐3718                                                                                  First Class Mail
Chartered Organization         Group Of Citizens                                          Northern New Jersey Council, Bsa 333      25 Brighton Ave                                      Belleville, NJ 07109‐1274                                                                                  First Class Mail
Chartered Organization         Group Of Citizens                                          Minsi Trails Council 502                  207 Race St                                          Belvidere, NJ 07823                                                                                        First Class Mail
Chartered Organization         Group Of Citizens                                          Prairielands 117                          2809 Berniece Ct                                     Champaign, IL 61822‐7255                                                                                   First Class Mail
Chartered Organization         Group Of Citizens                                          Connecticut Rivers Council, Bsa 066       P.O. Box 47                                          Cromwell, CT 06416‐0047                                                                                    First Class Mail
Chartered Organization         Group Of Citizens                                          Northeast Georgia Council 101             7045 Pinecone Way                                    Cumming, GA 30028‐8132                                                                                     First Class Mail
Chartered Organization         Group Of Citizens                                          Northeast Georgia Council 101             2075 Lanier Heights Dr                               Cumming, GA 30041‐9126                                                                                     First Class Mail
Chartered Organization         Group Of Citizens                                          Northeast Georgia Council 101             1611 Woodbow King                                    Dacula, GA 30019                                                                                           First Class Mail
Chartered Organization         Group Of Citizens                                          Bucktail Council 509                      730 Patterson Ave                                    Dubois, PA 15801‐1436                                                                                      First Class Mail
Chartered Organization         Group Of Citizens                                          Cape Cod and Islands Cncl 224             416 Hatchville Rd                                    East Falmouth, MA 02536‐4018                                                                               First Class Mail
Chartered Organization         Group Of Citizens                                          Northeastern Pennsylvania Council 501     53 Lincoln St                                        Exeter, PA 18643‐2637                                                                                      First Class Mail
Chartered Organization         Group Of Citizens                                          Anthony Wayne Area 157                    11520 Saint Francis Way                              Fort Wayne, IN 46816‐9774                                                                                  First Class Mail
Chartered Organization         Group Of Citizens                                          Northeast Georgia Council 101             4688 Manor Dr                                        Gainesville, GA 30506‐7520                                                                                 First Class Mail
Chartered Organization         Group Of Citizens                                          Hawk Mountain Council 528                 88 Black Creek Rd                                    Gordon, PA 17936                                                                                           First Class Mail
Chartered Organization         Group Of Citizens                                          Aloha Council, Bsa 104                    2532 Nohona St                                       Hilo, HI 96720‐5625                                                                                        First Class Mail
Chartered Organization         Group Of Citizens                                          Suffolk County Council Inc 404            11 Longwood Dr                                       Huntington Station, NY 11746‐4715                                                                          First Class Mail
Chartered Organization         Group Of Citizens                                          Northeast Georgia Council 101             P.O. Box 399                                         Jefferson, GA 30549‐0399                                                                                   First Class Mail
Chartered Organization         Group Of Citizens                                          Northern New Jersey Council, Bsa 333      459 Devon St                                         Kearny, NJ 07032‐2725                                                                                      First Class Mail
Chartered Organization         Group Of Citizens                                          Northeast Georgia Council 101             998 Cole Dr Sw                                       Lilburn, GA 30047‐5422                                                                                     First Class Mail
Chartered Organization         Group Of Citizens                                          Quapaw Area Council 018                   24245 Amanda Dr                                      Mabelvale, AR 72103‐9650                                                                                   First Class Mail
Chartered Organization         Group Of Citizens                                          Northern New Jersey Council, Bsa 333      724 Valley St                                        Maplewood, NJ 07040‐2611                                                                                   First Class Mail
Chartered Organization         Group Of Citizens                                          New Birth of Freedom 544                  304A Hillcrest Dr                                    New Cumberland, PA 17070                                                                                   First Class Mail
Chartered Organization         Group Of Citizens                                          Buckskin 617                              800 Dundee Dr                                        Radford, VA 24141‐2815                                                                                     First Class Mail
Chartered Organization         Group Of Citizens                                          Westchester Putnam 388                    65 Rock Ridge Dr                                     Rye Brook, NY 10573‐1215                                                                                   First Class Mail
Chartered Organization         Group Of Citizens                                          South Texas Council 577                   P.O. Box 83                                          Seadrift, TX 77983‐0083                                                                                    First Class Mail
Chartered Organization         Group Of Citizens                                          South Texas Council 577                   P.O. Box 323                                         Seadrift, TX 77983‐0323                                                                                    First Class Mail
Chartered Organization         Group Of Citizens                                          Chief Seattle Council 609                 8108 Roosevelt Way Ne                                Seattle, WA 98115‐4228                                                                                     First Class Mail
Chartered Organization         Group Of Citizens                                          Mayflower Council 251                     9 Saw Mill Pond Rd                                   Sharon, MA 02067‐1260                                                                                      First Class Mail
Chartered Organization         Group Of Citizens                                          Juniata Valley Council 497                1530 Westerly Pkwy                                   State College, PA 16801‐2848                                                                               First Class Mail
Chartered Organization         Group Of Citizens                                          Texas Outdoor Camping                     5152 S Colony Blvd                                   The Colony, TX 75056‐2303                                                                                  First Class Mail
Chartered Organization         Group Of Citizens                                          Northeast Georgia Council 101             6816 Hampshire Dr                                    Tucker, GA 30084‐1305                                                                                      First Class Mail
Chartered Organization         Group Of Citizens                                          Chester County Council 539                1038 Radnor Rd                                       Wayne, PA 19087‐2205                                                                                       First Class Mail
Chartered Organization         Group Of Citizens ‐ Fort Totten                            Northern Lights Council 429               P.O. Box 292                                         Fort Totten, ND 58335‐0292                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                      Page 149 of 442
                                                                                   Case 20-10343-LSS                                    Doc 8171                                     Filed 01/06/22                                                    Page 165 of 457
                                                                                                                                                                        Exhibit B
                                                                                                                                                                         Service List
                                                                                                                                                                  Served as set forth below

        Description                                                         Name                                                                                      Address                                                                                                             Email              Method of Service
Chartered Organization         Group Of Citizens 108                                      Cradle of Liberty Council 525           2037 Adams Rd                                             East Greenville, PA 18041‐2330                                                                        First Class Mail
Chartered Organization         Group Of Citizens 258                                      Northern New Jersey Council, Bsa 333    258 Sherman Ave                                           Jersey City, NJ 07307‐4756                                                                            First Class Mail
Chartered Organization         Group Of Citizens C/O Potoak                               Northern New Jersey Council, Bsa 333    85 N 12th St                                              Prospect Park, NJ 07508‐1937                                                                          First Class Mail
Chartered Organization         Group Of Citizens Community Scouting                       Northern New Jersey Council, Bsa 333    258 Sherman Ave                                           Jersey City, NJ 07307‐4756                                                                            First Class Mail
Chartered Organization         Group Of Citizens For Scouting                             Mount Baker Council, Bsa 606            6720 139th Pl Sw                                          Edmonds, WA 98026‐3223                                                                                First Class Mail
Chartered Organization         Group Of Citizens Of Cool Springs                          Old Hickory Council 427                 244 Shady Pine Ln                                         Ronda, NC 28670‐8223                                                                                  First Class Mail
Chartered Organization         Group Of Citizens Of Hammock Point                         Gulf Stream Council 085                 22377 SW 65th Ave                                         Boca Raton, FL 33428‐6010                                                                             First Class Mail
Chartered Organization         Group Of Citizens Of Milledgeville                         Central Georgia Council 096             4335 Confederate Way                                      Macon, GA 31217‐4719                                                                                  First Class Mail
Chartered Organization         Group Of Citizens Of New Dorp                              Greater New York Councils, Bsa 640      19 4th St                                                 Staten Island, NY 10306‐2231                                                                          First Class Mail
Chartered Organization         Group Of Citizens Of New Dorp In                           Greater New York Councils, Bsa 640      19 4th St                                                 Staten Island, NY 10306‐2231                                                                          First Class Mail
Chartered Organization         Group Of Citizens Of Sa                                    Orange County Council 039               104 N Grant Pl                                            Orange, CA 92868‐1400                                                                                 First Class Mail
Chartered Organization         Group Of Citizens Of Schwenksville                         Cradle of Liberty Council 525           207 Big Rd                                                Zieglerville, PA 19492                                                                                First Class Mail
Chartered Organization         Group Of Citizens Of South Lake Tahoe                      Nevada Area Council 329                 P.O. Box 8379                                             South Lake Tahoe, CA 96158‐1379                                                                       First Class Mail
Chartered Organization         Group Of Citizens Pack 321                                 Northern New Jersey Council, Bsa 333    35 Inwood Rd                                              Essex Fells, NJ 07021‐1005                                                                            First Class Mail
Chartered Organization         Group Of Citizens Pueblo West                              Rocky Mountain Council 063              1442 N Will Rogers Dr                                     Pueblo West, CO 81007‐6570                                                                            First Class Mail
Chartered Organization         Group Of Citizens University Park                          Circle Ten Council 571                  2829 Lovers Ln                                            Dallas, TX 75225‐7906                                                                                 First Class Mail
Chartered Organization         Group Of Citizens, Endy Community                          Central N Carolina Council 416          33694 Lona Rd                                             Albemarle, NC 28001‐9090                                                                              First Class Mail
Chartered Organization         Group Of Citizens, Fogelsville, Pa, Inc                    Minsi Trails Council 502                1718 Mulberry Rd                                          Fogelsville, PA 18051                                                                                 First Class Mail
Chartered Organization         Group Of Citizens‐Blossom Valley                           Silicon Valley Monterey Bay 055         362 Spode Way                                             San Jose, CA 95123‐5125                                                                               First Class Mail
Chartered Organization         Group Of Concerned Citizens                                Middle Tennessee Council 560            271 Short St                                              Clarksville, TN 37042‐1324                                                                            First Class Mail
Chartered Organization         Group Of Concerned Citizens                                Suffolk County Council Inc 404          412 4th Ave                                               East Northport, NY 11731‐2807                                                                         First Class Mail
Chartered Organization         Group Of Concerned Citizens                                Sequoia Council 027                     P.O. Box 712                                              Fowler, CA 93625‐0712                                                                                 First Class Mail
Chartered Organization         Group Of Concerned Citizens                                Sequoia Council 027                     7305 S Peach Ave                                          Fowler, CA 93625‐9622                                                                                 First Class Mail
Chartered Organization         Group Of Concerned Citizens                                Blue Grass Council 204                  516 Dorton Crk                                            Jenkins, KY 41537‐8202                                                                                First Class Mail
Chartered Organization         Group Of Concerned Citizens                                Cherokee Area Council 556               8814 Dayflower Dr                                         Ooltewah, TN 37363‐6931                                                                               First Class Mail
Chartered Organization         Group Of Concerned Citizens                                Middle Tennessee Council 560            3542 Hwy 149                                              Palmyra, TN 37142‐2007                                                                                First Class Mail
Chartered Organization         Group Of Concerned Citizens                                Blue Grass Council 204                  1500 Lancaster Rd                                         Richmond, KY 40475‐8753                                                                               First Class Mail
Chartered Organization         Group Of Concerned Citizens                                North Florida Council 087               765 Flowers St                                            St Augustine, FL 32092‐2458                                                                           First Class Mail
Chartered Organization         Group Of Concerned Citizens In Waycross                    Coastal Georgia Council 099             93 Timber Ln                                              Waycross, GA 31503‐3424                                                                               First Class Mail
Chartered Organization         Group Of Concerned Citizens Of Brighton                    West Tennessee Area Council 559         35 Wylie Dr                                               Brighton, TN 38011‐4074                                                                               First Class Mail
Chartered Organization         Group Of Concerned Citizens Of Troop 98                    Grand Canyon Council 010                18252 W Port Royale Ln                                    Surprise, AZ 85388‐7578                                                                               First Class Mail
Chartered Organization         Group Of Concerned Parents                                 Ozark Trails Council 306                11746 N Farm Rd 153                                       Brighton, MO 65617‐9421                                                                               First Class Mail
Chartered Organization         Group Of Dads In N.E. Seattle                              Chief Seattle Council 609               7346 21st Ave Ne                                          Seattle, WA 98115‐5716                                                                                First Class Mail
Chartered Organization         Group Of Hillsborough Citizens                             Pacific Skyline Council 031             250 Darrell Rd                                            Hillsborough, CA 94010‐7110                                                                           First Class Mail
Chartered Organization         Group Of Inspired Parents                                  Chief Seattle Council 609               4530 46th Ave Ne                                          Seattle, WA 98105‐3812                                                                                First Class Mail
Chartered Organization         Group Of Interested Citizens                               Northern New Jersey Council, Bsa 333    39 Woodland Ave                                           Glen Ridge, NJ 07028‐1230                                                                             First Class Mail
Chartered Organization         Group Of Interested Parents                                Long Beach Area Council 032             3200 Monogram Ave                                         Long Beach, CA 90808‐4146                                                                             First Class Mail
Chartered Organization         Group Of Interested Parents                                Chief Seattle Council 609               4343 53rd Ave Ne                                          Seattle, WA 98105‐4938                                                                                First Class Mail
Voting Party                   Group Of Nine                                              c/o Drummond Law, Pllc                  Attn: Garry Gaskins                                       1500 S Utica Ave, Ste 400          Tulsa, OK 74104                   garry.gaskins@drumlaw.com        Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Group Of Norris School District Scouters                   Southern Sierra Council 030             8604 Sand Fox Ct                                          Bakersfield, CA 93312‐4018                                                                            First Class Mail
Chartered Organization         Group Of Parents                                           Narragansett 546                        400 Nayatt Rd                                             Barrington, RI 02806‐4328                                                                             First Class Mail
Chartered Organization         Group Of Parents ‐ Niagara                                 Bay‐Lakes Council 635                   W7269 Kinziger Rd                                         Niagara, WI 54151                                                                                     First Class Mail
Chartered Organization         Group Of Southwest Scouters                                Southern Sierra Council 030             3504 Actis Rd                                             Bakersfield, CA 93309‐9304                                                                            First Class Mail
Chartered Organization         Groupe Scout Francophone De La Baie                        Pacific Skyline Council 031             1374 Morton Ave                                           Los Altos, CA 94024‐6825                                                                              First Class Mail
Voting Party                   Groupe Sharegate Inc                                       1751 Rue Richardson, Ste 5400           Montreal, Qc H3K 1G6                                      Canada                                                                                                First Class Mail
Chartered Organization         Groups Of Citizens                                         Northeast Georgia Council 101           1290 Knob Creek Dr                                        Athens, GA 30606‐7036                                                                                 First Class Mail
Voting Party                   Grove Avenue United Methodist Church (98027)               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Grove City Police                                          Simon Kenton Council 441                3360 Park St                                              Grove City, OH 43123‐2632                                                                             First Class Mail
Voting Party                   Grove City United Methodist Church                         Attn: Thomas Danklefsen                 2650 Columbus St                                          Grove City, OH 523                                                   tomd@gcumc.org                   Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Grove City Utd Methodist Church                            Simon Kenton Council 441                2684 Columbus St                                          Grove City, OH 43123‐2807                                                                             First Class Mail
Chartered Organization         Grove Manor‐Lake Wales Housing Authority                   Greater Tampa Bay Area 089              P.O. Box                                                  Lake Wales, FL 33859                                                                                  First Class Mail
Voting Party                   Grove Park Baptist Churuch                                 Attn: Reverend Marc Sanders             108 Trail One                                             Burlington, NC 27215                                                 office@groveparkchurch.com       Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Grove Presbyterian Church                                  Baltimore Area Council 220              50 E Bel Air Ave                                          Aberdeen, MD 21001‐3759                                                                               First Class Mail
Chartered Organization         Grove Presbyterian Church                                  Columbia‐Montour 504                    330 Bloom St                                              Danville, PA 17821                                                                                    First Class Mail
Chartered Organization         Grove Rotary Club                                          Cherokee Area Council 469 469           P.O. Box 452286                                           Grove, OK 74345‐2286                                                                                  First Class Mail
Voting Party                   Grove Street Christian Church                              Attn: Robert W Schnell                  85 Grove St                                               Tonawanda, NY 14150                                                  sch1514ep@aol.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Grove Street United Methodist Church                       Attn: Rev Larry A Hakes                 11 N Grove St                                             Petersburg, WV 26847                                                 grovestreetumc@gmail.com         Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Grove Street Utd Methodist Church                          Laurel Highlands Council 527            11 N Grove St                                             Petersburg, WV 26847‐1703                                                                             First Class Mail
Voting Party                   Grove United Methodist Church                              1020 Tyler Ave                          Radford, VA 24141                                                                                                              radfordgroveUMC@gmail.com        Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Grove United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Grove United Methodist Church                              Attn: Barry Anderson                    P.O. Box 892                                              Radford, VA 24143                                                    cbarry8@verizon.net              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Grove Utd Methodist Church                                 Blue Ridge Mtns Council 599             1020 Tyler Ave                                            Radford, VA 24141‐3820                                                                                First Class Mail
Chartered Organization         Grove Utd Methodist Mens Group                             Chester County Council 539              490 W Boot Rd                                             West Chester, PA 19380‐1112                                                                           First Class Mail
Chartered Organization         Groveland Congregational Church Ucc                        The Spirit of Adventure 227             4 King St                                                 Groveland, MA 01834‐1231                                                                              First Class Mail
Chartered Organization         Groveland Police Dept                                      Central Florida Council 083             408 W Orange St                                           Groveland, FL 34736‐2414                                                                              First Class Mail
Voting Party                   Groveport United Methodist Church                          Attn: Jonathan Mann                     4851 Vantage Way                                          Groveport, OH 43125                                                  jrthemann@gmail.com              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Groveport United Methodist Church                          Attn: Vicki Babbert                     512 Main St                                               Groveport, OH 43125                                                  babbertve@aol.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Groveport Utd Methodist Church                             Simon Kenton Council 441                512 Main St                                               Groveport, OH 43125‐1415                                                                              First Class Mail
Chartered Organization         Groveport‐Madison Lions Club                               Simon Kenton Council 441                5157 Bixford Ave                                          Canal Winchester, OH 43110‐8606                                                                       First Class Mail
Voting Party                   Groveton United Methodist Church                           Attn: Rev Patricia V Williams           46 Church St                                              Groveton, NH 03582                                                   sugarmakerswife1981@gmail.com    Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Grovetown Dept Of Public Safety                            Georgia‐Carolina 093                    306 E Robinson Ave                                        Grovetown, GA 30813‐2137                                                                              First Class Mail
Chartered Organization         Grovetown High School                                      Georgia‐Carolina 093                    2010 Warrior Way                                          Grovetown, GA 30813‐8132                                                                              First Class Mail
Voting Party                   Grovetown United Methodist Church ‐ Grovetown              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Grovetown Utd Methodist Church                             Georgia‐Carolina 093                    P.O. Box 30                                               Grovetown, GA 30813‐0030                                                                              First Class Mail
Voting Party                   Groveville Umc ‐ Trenton                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Groveville Utd Methodist Church                            Washington Crossing Council 777         447 Church St                                             Trenton, NJ 08620‐2803                                                                                First Class Mail
Chartered Organization         Growing Faith Church                                       Middle Tennessee Council 560            247 Foster St                                             Nashville, TN 37207‐5907                                                                              First Class Mail
Chartered Organization         Growing Up Green Charter School                            Greater New York Councils, Bsa 640      3929 28th St                                              Long Island City, NY 11101                                                                            First Class Mail
Chartered Organization         Grp Citizens Mary G Montgomery Jrotc                       Mobile Area Council‐Bsa 004             4275 Snow Rd N                                            Semmes, AL 36575‐5215                                                                                 First Class Mail
Chartered Organization         Gruber Excavating Inc                                      Montana Council 315                     32 Bitterroot Ln                                          Clancy, MT 59634‐9633                                                                                 First Class Mail
Firm                           Gruel Mills Nims & Pylman, PLLC                            William M. Azkoul (P40071)              99 Monroe Avenue, NW, Ste 800                             Grand Rapids, MI 49503                                               wmazkoul@gmnp.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Gruene United Methodist Church                             Attn: Michael Lawson                    2629 E Common St                                          New Braunfels, TX 78130                                              michael.lawson@grueneumc.org     Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Gruhl Educational Consultants Llc                          Voyageurs Area 286                      79001 Church Corner Rd                                    Washburn, WI 54891‐4901                                                                               First Class Mail
Chartered Organization         Grundy County Sheriff'S Dept                               Rainbow Council 702                     111 E Illinois Ave                                        Morris, IL 60450‐2214                                                                                 First Class Mail
Chartered Organization         Grundy School Pto                                          W D Boyce 138                           1100 S 4th Ave                                            Morton, IL 61550‐2859                                                                                 First Class Mail
Chartered Organization         Gruver Utd Methodist Church                                Golden Spread Council 562               P.O. Box 877                                              Gruver, TX 79040                                                                                      First Class Mail
Chartered Organization         Gt Scouting 400                                            Las Vegas Area Council 328              580 Dusty Pines Pl                                        Henderson, NV 89052‐2882                                                                              First Class Mail
Chartered Organization         Gtc ‐Friends Of Youth Utd                                  Grand Teton Council 107                 3910 S Yellowstone Hwy                                    Idaho Falls, ID 83402‐4342                                                                            First Class Mail
Chartered Organization         Guadalupe Ctr                                              South Plains Council 694                123 N Ave N                                               Lubbock, TX 79401‐1130                                                                                First Class Mail
Chartered Organization         Guadalupe Home & School Club                               Silicon Valley Monterey Bay 055         6044 Vera Cruz Dr                                         San Jose, CA 95120‐4863                                                                               First Class Mail
Chartered Organization         Guadalupe Police Dept                                      Los Padres Council 053                  4490 10th St                                              Guadalupe, CA 93434‐1420                                                                              First Class Mail
Voting Party                   Guam United Methodist Church                               Attn: Ana Koli Hungalu                  P.O. Box 20279                                            Barrigada, GU 96921                                                  guamumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Guantanamo Bay Chief Petty Officer Assoc                   Attn: Eileen D'Andrea                   Psc 1005 Box 37                                           Fpo, AE 09593‐0001                                                                                    First Class Mail
Chartered Organization         Guardian Angels Parents                                    Great Lakes Fsc 272                     521 E 14 Mile Rd                                          Clawson, MI 48017‐2175                                                                                First Class Mail
Chartered Organization         Guardian Angels Roman Catholic Church                      Dan Beard Council, Bsa 438              6531 Beechmont Ave                                        Cincinnati, OH 45230‐2003                                                                             First Class Mail
Chartered Organization         Guardian Owls Pto                                          Greater St Louis Area Council 312       6208 Hwy 61‐67                                            Imperial, MO 63052                                                                                    First Class Mail
Chartered Organization         Guardian Watch, Inc                                        South Florida Council 084               P.O. Box 4612                                             Miami Lakes, FL 33014‐0612                                                                            First Class Mail
Chartered Organization         Gudgell Park Community Of Christ Church                    Heart of America Council 307            500 E Gudgell Ave                                         Independence, MO 64055‐1705                                                                           First Class Mail
Chartered Organization         Guffey Community Organization                              Greater St Louis Area Council 312       400 13th St                                               Fenton, MO 63026‐5562                                                                                 First Class Mail
Chartered Organization         Guilderland Bpoe Elks 2480                                 Twin Rivers Council 364                 3867 Carman Rd                                            Schenectady, NY 12303‐5627                                                                            First Class Mail
Chartered Organization         Guilderland Police Dept                                    Twin Rivers Council 364                 Guilderland                                               Town Hall                          Guilderland, NY 12084                                              First Class Mail
Voting Party                   Guilford College United Methodist Church                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Guilford College Utd Methodist Church                      Old N State Council 070                 1205 Fleming Rd                                           Greensboro, NC 27410‐2716                                                                             First Class Mail
Voting Party                   Guilford Community Church, Ucc                             Attn: Fred Martin Breunig               38 Church Dr                                              Guilford, VT 05301                                                   guilfordchurch@gmail.com         Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Guilford County Sheriff Dept                               Old N State Council 070                 400 W Washington St                                       Greensboro, NC 27401‐2349                                                                             First Class Mail
Chartered Organization         Guilford Lakes School Pto                                  Connecticut Yankee Council Bsa 072      40 Maupas Rd                                              Guilford, CT 06437‐1615                                                                               First Class Mail
Voting Party                   Guilford United Methodist Church                           Attn: Suzanne Fortier                   P.O. Box 274                                              47 Pleasant Ave                    Sangerville, ME 04479             suziefort@gmail.com              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Gulf Beach Baptist Church                                  Gulf Coast Council 773                  10620 Hutchison Blvd                                      Panama City Beach, FL 32407‐3705                                                                      First Class Mail
Chartered Organization         Gulf Breeze Presbyterian Church                            Gulf Coast Council 773                  P.O. Box 130                                              Gulf Breeze, FL 32562‐0130                                                                            First Class Mail
Voting Party                   Gulf Breeze United Methodist Church, Inc.                  c/o Beggs & Lane, Rllp                  Attn: Ralph A Peterson                                    501 Commendencia St                Pensacola, FL 32502               rap@beggslane.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Gulf Breeze Utd Methodist Church                           Gulf Coast Council 773                  75 Fairpoint Dr                                           Gulf Breeze, FL 32561‐4303                                                                            First Class Mail
Chartered Organization         Gulf Breeze Utd Methodist Church                           Gulf Coast Council 773                  4115 Soundside Dr                                         Gulf Breeze, FL 32563‐9134                                                                            First Class Mail
Chartered Organization         Gulf Coast Council Of Laraza, Inc                          Dr Garza Gonzalez Charter School        4129 Greenwood Dr                                         Corpus Christi, TX 78416‐1841                                                                         First Class Mail
Chartered Organization         Gulf Coast Foursquare Church                               Bay Area Council 574                    6205 Delany Rd                                            Hitchcock, TX 77563‐1722                                                                              First Class Mail
Voting Party                   Gulf Cove United Methodist Church ‐ Port Charlotte         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Gulf Cove Utd Methodist Church                             Southwest Florida Council 088           1100 S Mccall Rd                                          Port Charlotte, FL 33981‐2538                                                                         First Class Mail
Chartered Organization         Gulf Power Co                                              Attn: Gary Sammons                      1 Energy Pl                                               Pensacola, FL 32520‐0001                                                                              First Class Mail
Chartered Organization         Gulf Shores Police Dept                                    Mobile Area Council‐Bsa 004             P.O. Box 896                                              Gulf Shores, AL 36547‐0896                                                                            First Class Mail
Voting Party                   Gulf Stream Council                                        Attn: Terrence A Hamilton               8335 N Military Trl                                       Palm Beach Gardens, FL 33410                                         TerrEnce.Hamilton@scouting.org   Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Gulfport Police Dept                                       Greater Tampa Bay Area 089              2401 53rd St S                                            Gulfport, FL 33707‐5161                                                                               First Class Mail
Chartered Organization         Gulfport Police Dept                                       Pine Burr Area Council 304              P.O. Box S                                                Gulfport, MS 39502‐0560                                                                               First Class Mail
Chartered Organization         Gulfport Police Dept Explorers                             Pine Burr Area Council 304              2220 15th St                                              Gulfport, MS 39501‐2025                                                                               First Class Mail
Chartered Organization         Gulfport Youth Sailing Inc                                 Greater Tampa Bay Area 089              4600 Tifton Dr S                                          Gulfport, FL 33711‐3649                                                                               First Class Mail
Voting Party                   Gull Lake United Methodist Church                          Attn: John Bowden                       8640 Gull Rd                                              Richland, MI 49083                                                   jbowden212@aol.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Gum Springs Missionary Baptist Church                      E Texas Area Council 585                7776 Tx‐42                                                Henderson, TX 75654                                                                                   First Class Mail
Chartered Organization         Gunnison City                                              Utah National Parks 591                 P.O. Box 790                                              Gunnison, UT 84634‐0790                                                                               First Class Mail
Voting Party                   Gunold Usa                                                 980 Cobb Pl Blvd NW, Ste 130            Kennesaw, GA 30144‐4804                                                                                                                                         First Class Mail
Chartered Organization         Gunpowder Vfw 10067                                        Baltimore Area Council 220              6309 Ebenezer Rd                                          Baltimore, MD 21220‐1517                                                                              First Class Mail
Chartered Organization         Gunter Volunteer Fire & Rescue                             Circle Ten Council 571                  P.O. Box 115                                              Gunter, TX 75058‐0115                                                                                 First Class Mail
Voting Party                   Guntersville First United Methodist Church                 Attn: Michael J Rucks                   539 Gunter Ave                                            Guntersville, AL 35976                                               mike.rucks@gfumc.net             Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Guntersville Lions Club                                    Greater Alabama Council 001             P.O. Box 632                                              Guntersville, AL 35976‐0632                                                                           First Class Mail
Voting Party                   Gurdon First United Methodist                              c/o Friday, Eldredge & Clark LLP        Attn: Lindsey Emerson Raines                              400 W Capitol Ave, Ste 2000        Little Rock, AR 72201             lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Gurdon First United Methodist                              Attn: Cindy Duke                        201 E Walnut                                              Gurdon, AR 71743                                                     dukecindy@yahoo.com              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Gurdon Utd Methodist Church                                Quapaw Area Council 018                 201 E Walnut St                                           Gurdon, AR 71743‐1255                                                                                 First Class Mail
Chartered Organization         Gurnee Community Church                                    Northeast Illinois 129                  4555 Old Grand Ave                                        Gurnee, IL 60031‐2621                                                                                 First Class Mail
Chartered Organization         Gurnee Police Deptment                                     Northeast Illinois 129                  100 N Oplaine Rd                                          Gurnee, IL 60031‐2630                                                                                 First Class Mail
Chartered Organization         Gurtler Bros Vfw Post 420                                  Twin Rivers Council 364                 190 Excelsior Ave                                         Saratoga Springs, NY 12866‐8532                                                                       First Class Mail
Chartered Organization         Guru Nanak Khalsa School                                   Silicon Valley Monterey Bay 055         3636 Murillo Ave                                          San Jose, CA 95148‐4341                                                                               First Class Mail
Chartered Organization         Gus Garcia Young Mens Leadership Academy                   Capitol Area Council 564                7414 Johnny Morris Rd                                     Austin, TX 78724‐2902                                                                                 First Class Mail
Chartered Organization         Gustave F Kerndt Vfw Post 5981                             Northeast Iowa Council 178              680 Center St                                             Lansing, IA 52151‐9780                                                                                First Class Mail
Voting Party                   Gustavus Adolphus Lutheran Church                          Attn: John Steven Hierlinger            1669 Arcade St                                            Saint Paul, MN 55016                                                 johnh@gachurch.org               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Gustavus Fed & Kinsman Prsbyt Churchs                      Great Trail 433                         7774 State Route 88                                       Kinsman, OH 44428‐9528                                                                                First Class Mail
Voting Party                   Gustine United Methodist Church ‐ Gustine                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Gustine United Methodist Church, Gustine                   100 W Main St                           Gustine, TX 76455                                                                                                                                               First Class Mail
Voting Party                   Guthrie Center First United Methodist Church               Attn: Linda Jordan, Trustee Chair       405 W Prairie St                                          Guthrie Center, IA 50115                                             guthriecenter‐umc@iaumc.net      Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Guthrie First Utd Methodist Church                         Last Frontier Council 480               P.O. Box 249                                              Guthrie, OK 73044‐0249                                                                                First Class Mail
Chartered Organization         Guy E Shelley Jr Post 974,Al                               New Birth of Freedom 544                352 Marsh Run Rd                                          New Cumberland, PA 17070‐3115                                                                         First Class Mail
Chartered Organization         Guyasuta Stem                                              Laurel Highlands Council 527            300 23rd St Ext                                           Sharpsburg, PA 15215‐2822                                                                             First Class Mail
Voting Party                   Guyton United Methodist Church                             P.O. Box 85                             Guyton, GA 31312                                                                                                               matt@guytonumc.org               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Gwinn United Methodist Church                              Attn: Mark Breit                        P.O. Box 354                                              251 W Jasper St                    Gwinn, MI 49841                   gwinnumc@aol.com                 Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Gwinnett Bar Assoc                                         Northeast Georgia Council 101           P.O. Box 1682                                             Lawrenceville, GA 30046‐1682                                                                          First Class Mail
Chartered Organization         Gwinnett Braves                                            Northeast Georgia Council 101           2500 Buford Dr                                            Lawrenceville, GA 30043‐2104                                                                          First Class Mail
Chartered Organization         Gwinnett Church Of Christ                                  Northeast Georgia Council 101           1736 Sever Rd                                             Lawrenceville, GA 30043‐4111                                                                          First Class Mail
Chartered Organization         Gwinnett Citizen                                           Northeast Georgia Council 101           107 W Crogan St                                           Lawrenceville, GA 30046‐4941                                                                          First Class Mail
Chartered Organization         Gwinnett Co Sheriffs Dept                                  Northeast Georgia Council 101           2900 Hwy 316                                              Lawrenceville, GA 30043‐4588                                                                          First Class Mail
Chartered Organization         Gwinnett County Div Of Police                              Northeast Georgia Council 101           P.O. Box 602                                              Lawrenceville, GA 30046‐0602                                                                          First Class Mail
Chartered Organization         Gwinnett County Fire And Emergency Svcs                    Northeast Georgia Council 101           408 Hurricane Shoals Rd Ne                                Lawrenceville, GA 30046‐4406                                                                          First Class Mail
Chartered Organization         Gwinnett County School Police                              Northeast Georgia Council 101           1229 Northbrook Pkwy, Ste A                               Suwanee, GA 30024‐4142                                                                                First Class Mail
Chartered Organization         Gwinnett Hospital System                                   Northeast Georgia Council 101           1000 Medical Center Blvd                                  Lawrenceville, GA 30046‐7694                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                         Page 150 of 442
                                                                                 Case 20-10343-LSS                                    Doc 8171                                             Filed 01/06/22                                                   Page 166 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                       Name                                                                                              Address                                                                                                          Email                Method of Service
Voting Party                   Gwynn Oak United Methodist Church                        5020 Gwynn Oak Ave                      Baltimore, MD 21207                                                                                                                   Valeriedpetty@gmail.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Gwynns Falls Elementary                                  Baltimore Area Council 220              2700 Gwynns Falls Pkwy                                            Baltimore, MD 21216‐1959                                                                             First Class Mail
Chartered Organization         H & S Assn                                               Immaculate Conception Catholic Church   4030 Jackson St Ne                                                Columbia Heights, MN 55421‐2929                                                                      First Class Mail
Chartered Organization         H Barbara Booker School                                  7901 Halle Ave                          Cleveland, OH 44102                                                                                                                                                    First Class Mail
Chartered Organization         H M Carroll Elementary                                   Sam Houston Area Council 576            10210 C E King Pkwy                                               Houston, TX 77044‐5680                                                                               First Class Mail
Chartered Organization         H N S St Theresas Rc Ch                                  New Birth of Freedom 544                1300 Bridge St                                                    New Cumberland, PA 17070‐1115                                                                        First Class Mail
Chartered Organization         H T Lyons                                                Minsi Trails Council 502                7165 Ambassador Dr                                                Allentown, PA 18106‐9255                                                                             First Class Mail
Chartered Organization         Habersham County Sheriff'S Office                        Northeast Georgia Council 101           1000 Detention Dr                                                 Clarkesville, GA 30523‐6767                                                                          First Class Mail
Firm                           Hach Rose Schirripa & Cheverie, LLP                      Hillary Nappi, Esq.                     112 Madison Avenue, 10th Floor                                    New York, NY 10016                                                  hnappi@hrsclaw.com               Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hacienda Elementary School                               San Francisco Bay Area Council 028      3800 Stoneridge Dr                                                Pleasanton, CA 94588‐8323                                                                            First Class Mail
Chartered Organization         Haddam Citizens For Scouting                             Connecticut Rivers Council, Bsa 066     P.O. Box 313                                                      Haddam, CT 06438‐0313                                                                                First Class Mail
Chartered Organization         Haddon Fire Co 1                                         Garden State Council 690                15 N Haddon Ave                                                   Haddonfield, NJ 08033‐2456                                                                           First Class Mail
Chartered Organization         Haddon Heights Fire Dept                                 Garden State Council 690                608 Station Ave                                                   Haddon Heights, NJ 08035‐1907                                                                        First Class Mail
Voting Party                   Haddonfield Umc                                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Haddonfield Utd Methodist Church                         Garden State Council 690                29 Warwick Rd                                                     Haddonfield, NJ 08033‐3704                                                                           First Class Mail
Chartered Organization         Hadley Park                                              Middle Tennessee Council 560            1037 28th Ave N                                                   Nashville, TN 37208‐2809                                                                             First Class Mail
Chartered Organization         Hagan & Stone Wholesale                                  Lincoln Heritage Council 205            P.O. Box 158                                                      Tompkinsville, KY 42167‐0158                                                                         First Class Mail
Chartered Organization         Hageman Parent Orgranization                             Greater St Louis Area Council 312       6401 Hagemann Rd                                                  Saint Louis, MO 63128‐4502                                                                           First Class Mail
Chartered Organization         Hager Elementary School                                  Buckskin 617                            1600 Blackburn Ave                                                Ashland, KY 41101‐4580                                                                               First Class Mail
Chartered Organization         Hagerman Fire Dept                                       Suffolk County Council Inc 404          510 Oakdale Ave                                                   East Patchogue, NY 11772‐5592                                                                        First Class Mail
Chartered Organization         Hagerman Ward ‐ Wendell Stake                            Snake River Council 111                 P.O. Box 73                                                       Hagerman, ID 83332‐0073                                                                              First Class Mail
Chartered Organization         Haggerty School Advisory Council                         The Spirit of Adventure 227             110 Cushing St                                                    Cambridge, MA 02138‐4533                                                                             First Class Mail
Chartered Organization         Hague Fish & Game Club Inc                               Twin Rivers Council 364                 488 W Hague Rd                                                    Hague, NY 12836‐2513                                                                                 First Class Mail
Chartered Organization         Hahira Utd Methodist Church                              South Georgia Council 098               208 N Church St                                                   Hahira, GA 31632‐1104                                                                                First Class Mail
Chartered Organization         Hahira Utd Methodist Church Mens Grp                     South Georgia Council 098               P.O. Box 491                                                      Hahira, GA 31632‐0491                                                                                First Class Mail
Voting Party                   Hahn Walz, Pc                                            Attn: Marianne Tucker                   509 W Washington St                                               S Bend, IN 46614                                                    twalz@hahnwalz.com               Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hailey 1St Ward ‐ Carey Stake                            Snake River Council 111                 417 Ash St                                                        Hailey, ID 83333                                                                                     First Class Mail
Chartered Organization         Hailey 2Nd Ward ‐ Carey Stake                            Snake River Council 111                 P.O. Box 399                                                      Hailey, ID 83333‐0301                                                                                First Class Mail
Chartered Organization         Haines City High School Jrrotc                           Greater Tampa Bay Area 089              2800 Hornet Dr                                                    Haines City, FL 33844‐6003                                                                           First Class Mail
Chartered Organization         Haines City Police Dept                                  Greater Tampa Bay Area 089              35400 Hwy 27                                                      Haines City, FL 33844‐3727                                                                           First Class Mail
Chartered Organization         Haines Falls Volunteer Fire Co                           Rip Van Winkle Council 405              P.O. Box 168                                                      Haines Falls, NY 12436‐0168                                                                          First Class Mail
Chartered Organization         Hainesport Fire Co                                       Garden State Council 690                P.O. Box 245                                                      Hainesport, NJ 08036‐0245                                                                            First Class Mail
Firm                           Hair Shunnarah Trial Attorneys                           Kyle C Usner Esq.                       4621 W Napoleon Ave, Suite 204                                    Metairie, LA 70001                                                  usner@hairshunnarah.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           Hair Shunnarah Trial Attorneys                           Kyle C Usner Esq.                       3540 S. I‐10 Service Rd. W, Suite 300                             Metairie, LA 70001                                                  usner@hairshunnarah.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Haisley School Parents                                   Southern Shores Fsc 783                 825 Duncan St                                                     Ann Arbor, MI 48103‐3567                                                                             First Class Mail
Voting Party                   Haitian United Methodist Church                          Attn: Onick Bouquet                     229 New York Ave Smithtown                                        Smithtown, NY 11787                                                 onick.bouquet@nyac‐Umc.com       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Haitian United Methodist Church                          Attn: Onick Bouquet                     888 Broadway                                                      Brentwood, NY 11717                                                 obouquet0256@yahoo.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hal Ehrhardt                                             1748 Terrace Dr                         Vestal, NY 13850                                                                                                                      ehrhardt@stny.rr.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hal Hopkins Wwii Memorial Inc                            Great Alaska Council 610                5929 Camden Cir                                                   Anchorage, AK 99504‐3815                                                                             First Class Mail
Firm                           Hale and Associates                                      Lance M. Hale                           1917 Franklin Rd, Ste 101                                         Roanoke, VA 24014                                                                                    First Class Mail
Chartered Organization         Hale Junior High                                         Indian Nations Council 488              2177 S 67th E Ave                                                 Tulsa, OK 74129‐2007                                                                                 First Class Mail
Chartered Organization         Hales Chapel Baptist Church                              Alabama‐Florida Council 003             7548 S US Hwy 29                                                  Troy, AL 36081                                                                                       First Class Mail
Chartered Organization         Hales Corners Elementary School P T O                    Three Harbors Council 636               11320 W Janesville Rd                                             Hales Corners, WI 53130‐2465                                                                         First Class Mail
Voting Party                   Halethorpe‐Relay United Methodist Church                 Attn:Chris Dembeck                      4513 Ridge Ave                                                    Halethorpe, MD 21227                                                hrumc1@outlook.com               Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Halethorpe‐Relay Utd Methodist Men                       Baltimore Area Council 220              4513 Ridge Ave                                                    Halethorpe, MD 21227‐4440                                                                            First Class Mail
Chartered Organization         Haleyville First Utd Methodist Church                    Black Warrior Council 006               2203 9th Ave                                                      Haleyville, AL 35565‐1405                                                                            First Class Mail
Chartered Organization         Half Moon Bay Yacht Club                                 Pacific Skyline Council 031             P.O. Box 52                                                       El Granada, CA 94018‐0052                                                                            First Class Mail
Chartered Organization         Halfmoon/ Waterford Fire Co                              Twin Rivers Council 364                 315 Middletown Rd                                                 Waterford, NY 12188‐1226                                                                             First Class Mail
Chartered Organization         Halfway Mini‐Storage Llc                                 Lincoln Heritage Council 205            506 N 9th St                                                      Scottsville, KY 42164‐1625                                                                           First Class Mail
Chartered Organization         Halifax Congregational Church                            Mayflower Council 251                   781 Plymouth St                                                   Halifax, MA 02338                                                                                    First Class Mail
Chartered Organization         Halifax Fire Dept                                        New Birth of Freedom 544                22 S River Rd                                                     Halifax, PA 17032‐8604                                                                               First Class Mail
Chartered Organization         Halifax Lions Club                                       Mayflower Council 251                   P.O. Box 427                                                      Halifax, MA 02338‐0427                                                                               First Class Mail
Voting Party                   Halifax United Methodist Church                          Attn: Pastor Brendan Hock               105 Wind Hill Dr                                                  Halifax, PA 17032                                                   behjd@comcast.net                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Halifax United Methodist Church (03190)                  c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Halifax Utd Methodist Church                             New Birth of Freedom 544                104 Wind Hill Dr                                                  Halifax, PA 17032                                                                                    First Class Mail
Chartered Organization         Halifax Utd Methodist Church                             Blue Ridge Mtns Council 599             133 Mountain Rd                                                   Halifax, VA 24558                                                                                    First Class Mail
Chartered Organization         Halifax Utd Methodist Church                             Blue Ridge Mtns Council 599             P.O. Box 357                                                      Halifax, VA 24558‐0357                                                                               First Class Mail
Firm                           Hall & Mongale, LLC                                      Brad D. Hall                            320 Gold Ave SW #1218                                             Albuquerque, NM 87102                                               Brad@Hallmonagle.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           Hall & Mongale, LLC                                      Levi A. Monagle                         320 Gold Ave SW #1218                                             Albuquerque, NM 87102                                               levi@hallmonagle.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hall Bryan Vfw Post 10132                                Gulf Stream Council 085                 P.O. Box 665                                                      Hobe Sound, FL 33475‐0665                                                                            First Class Mail
Chartered Organization         Hall County Fire Services                                Northeast Georgia Council 101           P.O. Box 907730                                                   Gainesville, GA 30501‐0900                                                                           First Class Mail
Chartered Organization         Hall Foundation Of America                               Connecticut Rivers Council, Bsa 066     Jared Sparks Rd                                                   Willington, CT 06279                                                                                 First Class Mail
Firm                           Hall Law, P.A.                                           Mara Brust                              1010 W St Germain St., #320                                       St. Cloud, MN 56301                                                 mara@hallinjurylaw.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hall Timberland                                          Choctaw Area Council 302                P.O. Box 3727                                                     Meridian, MS 39303‐3727                                                                              First Class Mail
Chartered Organization         Hall Timberlands                                         Choctaw Area Council 302                P.O. Box 3727                                                     Meridian, MS 39303‐3727                                                                              First Class Mail
Voting Party                   Hall Voyer Foundation                                    500 N 6th St                            Honey Grove, TX 75446                                                                                                                 Rhondajgrubbs@gmail.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           Haller Law Firm, PC                                      David K. Haller                         604 Savannah Highway                                              Charleston, SC 29407                                                dhaller@hallerlawfirm.com        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Halliburton Charitable Foundation                        Sam Houston Area Council 576            3000 N Sam Houston Pkwy E                                         Houston, TX 77032‐3219                                                                               First Class Mail
Chartered Organization         Hallmark                                                 Heart of America Council 307            25th & Mcgee Trfwy                                                Kansas City, MO 64141                                                                                First Class Mail
Chartered Organization         Halls First Utd Methodist Church                         West Tennessee Area Council 559         110 Gate 6 Rd                                                     Halls, TN 38040‐7759                                                                                 First Class Mail
Voting Party                   Halls Umc ‐ Elliston                                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hallsville Ptsa                                          Great Rivers Council 653                411 Hwy 124 E                                                     Hallsville, MO 65255‐9855                                                                            First Class Mail
Chartered Organization         Hallsville Utd Methodist Church                          Great Rivers Council 653                11700 N Route B                                                   Hallsville, MO 65255‐9743                                                                            First Class Mail
Voting Party                   Halsey United Methodist Church                           Attn: Treasurer, Halsey Umc             10006 Halsey Rd                                                   Grand Blanc, MI 48439                                               smhumc01@gmail.com               Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Halstad Fire Dept                                        Northern Lights Council 429             P.O. Box 176                                                      Halstad, MN 56548‐0176                                                                               First Class Mail
Voting Party                   Halstead First United Methodist Church                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Halstead Lions Club                                      Quivira Council, Bsa 198                318 West St                                                       Halstead, KS 67056‐2025                                                                              First Class Mail
Chartered Organization         Haltom City Police Dept                                  Longhorn Council 662                    5110 Broadway Ave                                                 Haltom City, TX 76117‐3726                                                                           First Class Mail
Chartered Organization         Halverson Community                                      Twin Valley Council Bsa 283             707 E 10th St                                                     Albert Lea, MN 56007‐3254                                                                            First Class Mail
Chartered Organization         Ham Lake Lions Club                                      Northern Star Council 250               15710 Xylite St Ne                                                Ham Lake, MN 55304‐5718                                                                              First Class Mail
Chartered Organization         Ham Lake Sportsmans Club                                 Northern Star Council 250               2441 Constance Blvd Ne                                            Ham Lake, MN 55304‐5039                                                                              First Class Mail
Chartered Organization         Ham Lane Branch                                          Greater Yosemite Council 059            731 N Ham Ln                                                      Lodi, CA 95242‐2313                                                                                  First Class Mail
Chartered Organization         Hamakua Lions Club                                       Aloha Council, Bsa 104                  P.O. Box 1682                                                     Honokaa, HI 96727‐1682                                                                               First Class Mail
Chartered Organization         Hamakua Lions Club                                       Aloha Council, Bsa 104                  P.O. Box 181                                                      Paauilo, HI 96776‐0181                                                                               First Class Mail
Chartered Organization         Hambden Fire Dept                                        Lake Erie Council 440                   9867 Old State Rd                                                 Chardon, OH 44024‐9530                                                                               First Class Mail
Voting Party                   Hamblen Park Presbyterian Church                         Attn: Heather Graham Notske             4102 S Crestline St                                               Spokane, WA 99203                                                   heathern@hamblenpres.org         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hamblen Park Presbyterian Church                         Attn: Heather Graham Notske             4102 S Crestline St                                               Spokane, WA 99203                                                                                    First Class Mail
Chartered Organization         Hamburg Fire Dept                                        Patriots Path Council 358               18 Wallkill Ave                                                   Hamburg, NJ 07419                                                                                    First Class Mail
Chartered Organization         Hamburg Firefighters Assoc                               Southern Shores Fsc 783                 P.O. Box 149                                                      Lakeland, MI 48143‐0149                                                                              First Class Mail
Voting Party                   Hamburg First United Methodist                           c/o Friday, Eldredge & Clark, LLP       Attn: Lindsey Emerson Raines                                      400 W Capitol Ave, Ste 2000       Little Rock, AR 72201             lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hamburg First United Methodist                           Attn: Mary Ellen Pounds                 202 S Main St                                                     Hamburg, AR 71646                                                   hamburgumc@yahoo.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hamburg First United Methodist Church                    Attn: Lucas Stephen Richard Fillmore    P.O. Box 225                                                      Hamburg, IA 51640                                                   hamburg1stumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hamburg First United Methodsit Church                    Attn: Administrative Board Chair        1200 Park St                                                      Hamburg, IA 51640                                                   hamburg1stumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hamburg Township Police Dept                             Southern Shores Fsc 783                 P.O. Box 157                                                      Hamburg, MI 48139‐0157                                                                               First Class Mail
Voting Party                   Hamburg United Methodist Church                          Attn: David Nicol                       116 Union St                                                      Hamburg, NY 14075                                                   pastor.david.nicol@gmail.com     Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hamburg United Methodist Church                          c/o Walling Law                         Attn: Mark R Walling                                              6101 S Park Ave                   Hamburg, NY 14075                 mwalling@wallinglaw.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hamden Plains United Methodist Church                    Attn: Martin Hartog                     277 Magee Dr                                                      Hamden, CT 06514                                                    hartogm1950@gmail.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hamden Plains United Methodst Church                     Attn: Martin Dirk Hartos                15 Church St                                                      Hamden, CT 06514                                                    secretary.hpume@gmail.com        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hamel Lions                                              Northern Star Council 250               P.O. Box 301                                                      Hamel, MN 55340‐0301                                                                                 First Class Mail
Chartered Organization         Hamill Metals                                            Indian Nations Council 488              2976 W 410 Rd                                                     Adair, OK 74330‐2839                                                                                 First Class Mail
Chartered Organization         Hamilton County Sheriffs Office                          Dan Beard Council, Bsa 438              1000 Sycamore St, Ste 110                                         Cincinnati, OH 45202‐1336                                                                            First Class Mail
Chartered Organization         Hamilton E Holmes Elementary                             Atlanta Area Council 092                2301 Connally Dr                                                  Atlanta, GA 30344‐1009                                                                               First Class Mail
Chartered Organization         Hamilton Elementary Comm Edcuation Cntr                  Greater St Louis Area Council 312       5819 Westminster Pl                                               Saint Louis, MO 63112‐1612                                                                           First Class Mail
Chartered Organization         Hamilton Elementary Pto                                  Sam Houston Area Council 576            12050 Kluge Rd                                                    Cypress, TX 77429                                                                                    First Class Mail
Chartered Organization         Hamilton Elementary School                               Central Florida Council 083             1501 E 8th St                                                     Sanford, FL 32771‐2268                                                                               First Class Mail
Chartered Organization         Hamilton Emints Academy                                  Greater St Louis Area Council 312       5819 Westminster Pl                                               Saint Louis, MO 63112‐1612                                                                           First Class Mail
Chartered Organization         Hamilton Fish & Game Club                                Anthony Wayne Area 157                  110 E Railroad                                                    Hamilton, IN 46742                                                                                   First Class Mail
Chartered Organization         Hamilton Lions Club                                      President Gerald R Ford 781             4620 132nd Ave                                                    Hamilton, MI 49419‐8700                                                                              First Class Mail
Chartered Organization         Hamilton Lodge 120 F & Am                                Leatherstocking 400                     P.O. Box 85                                                       Hamilton, NY 13346‐0085                                                                              First Class Mail
Voting Party                   Hamilton Mill Presbyterian Church                        5152 Braselton Hwy                      Hoschton, GA 30548                                                                                                                    cindibadger@hamiltonmillpc.com   Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hamilton Mill Umc                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hamilton Mill Utd Methodist Church                       Northeast Georgia Council 101           P.O. Box 309                                                      Dacula, GA 30019‐0006                                                                                First Class Mail
Chartered Organization         Hamilton Mill Utd Methodist Church                       Northeast Georgia Council 101           1450 Pine Rd                                                      Dacula, GA 30019‐1455                                                                                First Class Mail
Chartered Organization         Hamilton Optimist Youth Ranch                            Dan Beard Council, Bsa 438              567 Beissinger Rd                                                 Hamilton, OH 45013‐9741                                                                              First Class Mail
Voting Party                   Hamilton Park United Methodist Church                    Attn: Rev Sheron Patterson              11881 Schroeder Rd                                                Dallas, TX 75243                                                    s.patterson@theparkumc.org       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hamilton Ruritan Club                                    New Birth of Freedom 544                1608 Richard Ave                                                  Chambersburg, PA 17201‐8322                                                                          First Class Mail
Voting Party                   Hamilton Rurtian Club 0543                               Attn: Richard Mazzucchelli              38739 Mt Gilead Rd                                                Leesburg, VA 20175                                                  rjmazzucchelli@aol.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hamilton Stem Academy                                    Simon Kenton Council 441                2047 Hamilton Ave                                                 Columbus, OH 43211‐2115                                                                              First Class Mail
Voting Party                   Hamilton United Methodist Church                         3105 Hamilton Church Rd                 Antioch, TN 37013                                                                                                                     office@hamilton‐umc.org          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hamilton United Methodist Church                         Attn: Jeremy L Stman Attorney           P.O. Box 1111                                                     1021 1st St Sw                    Hamilton, AL 35570                jeremy@jstreetman.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hamilton United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hamilton United Methodist Church                         P.O. Box 1625                           Hamilton, AL 35570                                                                                                                    church.office@hamiltonumc.us     Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hamilton Utd Methodist Church                            Monmouth Council, Bsa 347               858 Old Corlies Ave                                               Neptune, NJ 07753‐3439                                                                               First Class Mail
Chartered Organization         Hamilton Va Ruritan Club 543                             c/o Graham Overman                      12 Burke Cir                                                      Hamilton, VA 20158‐9544                                                                              First Class Mail
Chartered Organization         Hamler Volunteer Fire Dept                               Black Swamp Area Council 449            General Delivery                                                  Hamler, OH 43524                                                                                     First Class Mail
Voting Party                   Hamlet United Methodist Church                           Attn: Denise Dowd                       1695 S 350 E.                                                     Knox, IN 46534                                                      downdenise1@gmail.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hamline Chapel United Methodist Church                   Attn: Treasurer Hamline Chapel          102 W High St                                                     Lawrenceburg, IN 47025                                              ryan.goode@inumc.org             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hamline Chapel Utd Methodist Church                      Hoosier Trails Council 145 145          High and Vine St                                                  Lawrenceburg, IN 47025                                                                               First Class Mail
Chartered Organization         Hammer And Chisel Inc                                    Mayflower Council 251                   32 Meeting House Path                                             Ashland, MA 01721‐2347                                                                               First Class Mail
Voting Party                   Hammon Umc                                               Attn: Matthew J Creach                  20154 Hwy 33                                                      Hammon, OK 73650                                                    hammonumc@outlook.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hammon Umc Of Hammon, Ok                                 P.O. Box 190                            Hammon, OK 73650                                                                                                                      hammonumc@outlook.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hammond Yacht Club                                       Pathway To Adventure 456                731 Casino Center Dr                                              Hammond, IN 46320‐1003                                                                               First Class Mail
Chartered Organization         Hammondsport American Legion                             Five Rivers Council, Inc 375            Rr 54                                                             Hammondsport, NY 14840                                                                               First Class Mail
Voting Party                   Hampden Highlands United Methodist Church                Attn: Spencer Shaw                      44 Kennebec Rd                                                    Hampden, ME 04444                                                   pastor@hampdenhighlands.org      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hampden Kiwanis Club                                     Katahdin Area Council 216               P.O. Box 498                                                      Hampden, ME 04444‐0498                                                                               First Class Mail
Chartered Organization         Hampden Kiwanis Club                                     Katahdin Area Council 216               462 Main Rd S                                                     Hampden, ME 04444‐1104                                                                               First Class Mail
Chartered Organization         Hampshire Lions Club                                     Three Fires Council 127                 281 South Ave                                                     Hampshire, IL 60140‐9416                                                                             First Class Mail
Chartered Organization         Hampshire Lions Club & American Legion                   Three Fires Council 127                 P.O. Box 74                                                       Hampshire, IL 60140‐0074                                                                             First Class Mail
Chartered Organization         Hampstead Civic Club                                     Daniel Webster Council, Bsa 330         P.O. Box 411                                                      Hampstead, NH 03841‐0411                                                                             First Class Mail
Chartered Organization         Hampstead Elementary School Pto                          Baltimore Area Council 220              3737 Shiloh Rd                                                    Hampstead, MD 21074‐1634                                                                             First Class Mail
Chartered Organization         Hampstead Hill Academy                                   Baltimore Area Council 220              500 S Linwood Ave                                                 Baltimore, MD 21224‐3856                                                                             First Class Mail
Chartered Organization         Hampstead Post 167 The Al, Inc                           Cape Fear Council 425                   P.O. Box 337                                                      Hampstead, NC 28443‐0337                                                                             First Class Mail
Voting Party                   Hampstead United Methodist Church                        Attn: Betsy Williams                    15395 US Hwy 17N                                                  Hampstead, NC 28443                                                 financialsec@hampsteadumc.org    Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hampstead Utd Methodist Church                           Cape Fear Council 425                   Highway 17                                                        Hampstead, NC 28443                                                                                  First Class Mail
Chartered Organization         Hampstead Utd Methodist Church                           Cape Fear Council 425                   15395 US Hwy 17                                                   Hampstead, NC 28443‐3313                                                                             First Class Mail
Chartered Organization         Hampton Bays Fire District                               Suffolk County Council Inc 404          69 W Montauk Hwy                                                  Hampton Bays, NY 11946‐4001                                                                          First Class Mail
Voting Party                   Hampton Bays Umc                                         Attn: Ken Bohler                        158 W Montauk Hwy                                                 Hampton Bays, NY 11946                                              hbumc1@gmail.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 151 of 442
                                                                              Case 20-10343-LSS                                      Doc 8171                                       Filed 01/06/22                                                     Page 167 of 457
                                                                                                                                                                       Exhibit B
                                                                                                                                                                        Service List
                                                                                                                                                                 Served as set forth below

        Description                                                   Name                                                                                           Address                                                                                                               Email              Method of Service
Chartered Organization         Hampton Bays Utd Methodist Church                     Suffolk County Council Inc 404            158 W Montauk Hwy                                           Hampton Bays, NY 11946‐2310                                                                             First Class Mail
Chartered Organization         Hampton Congregational Church                         Connecticut Rivers Council, Bsa 066       263 Main St                                                 Hampton, CT 06247                                                                                       First Class Mail
Chartered Organization         Hampton County Fire Rescue                            Coastal Carolina Council 550              703 2nd St W                                                Hampton, SC 29924‐3325                                                                                  First Class Mail
Chartered Organization         Hampton Falls Volunteer Fire Dept                     Daniel Webster Council, Bsa 330           3 Drinkwater Rd                                             Hampton Falls, NH 03844‐2116                                                                            First Class Mail
Chartered Organization         Hampton Lakes Fire Co 1                               Garden State Council 690                  P.O. Box 2057                                               Vincentown, NJ 08088‐2057                                                                               First Class Mail
Voting Party                   Hampton Memorial United Methodist Church              Attn: Earl K Hampton                      8242 Mudville Rd                                            Atoka, TN 38004                                                       kennonhampton@aol.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hampton Oaks Hoa                                      National Capital Area Council 082         80 Northampton Blvd                                         Stafford, VA 22554‐8800                                                                                 First Class Mail
Chartered Organization         Hampton Police Div                                    Colonial Virginia Council 595             40 Lincoln St                                               Hampton, VA 23669‐3522                                                                                  First Class Mail
Chartered Organization         Hampton Township Fire Dept                            c/o P.O. Box 149, Route 206               Patriots Path Council 358                                   Newton, NJ 07860                                                                                        First Class Mail
Voting Party                   Hampton United Methodist Church                       Attn: Pat Palmer                          114 3rd Ave Ne                                              Hampton, IA 50441                                                     yankeez@mchsi.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hampton United Methodist Church                       Attn: Steven Notis                        27 Merrill St                                               Newburyport, MA 01950                                                 revnotis@yahoo.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hampton United Methodist Church                       Attn: Gary Sneed                          P.O. Box 477                                                Hampton, AR 71744                                                     lraines@fridayfirm.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hampton United Methodist Church                       c/o Cady & Rosenberg, Plc                 Attn: Ga Cady III                                           P.O. Box 456                      Hampton, IA 50441                   gacady@hobsoncadylaw.com          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hampton United Methodist Church                       10 W Main St                              Hampton, GA 30028                                                                                                                 erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hampton United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                     ereice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hampton Utd Methodist Church                          Flint River Council 095                   10 W Main St                                                Hampton, GA 30228‐2187                                                                                  First Class Mail
Voting Party                   Hamptons United Methodist Church                      Attn: Rev Joanne S Utley                  160 Main St                                                 Southampton, NY 11968                                                 office@hamptonsumc.org            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hanahan Police Dept                                   Coastal Carolina Council 550              1255 Yeamans Hall Rd                                        Hanahan, SC 29410‐2744                                                                                  First Class Mail
Chartered Organization         Hanawalt School Pta                                   Mid Iowa Council 177                      225 56th St                                                 Des Moines, IA 50312‐2151                                                                               First Class Mail
Chartered Organization         Hanceville Police Dept                                Greater Alabama Council 001               203 Bangor Ave Se                                           Hanceville, AL 35077‐5645                                                                               First Class Mail
Chartered Organization         Hancock Alumni Community Assoc                        Greater St Louis Area Council 312         9101 S Broadway                                             Saint Louis, MO 63125‐1516                                                                              First Class Mail
Chartered Organization         Hancock Co Fire Assoc                                 Black Swamp Area Council 449              P.O. Box 921                                                Findlay, OH 45839‐0921                                                                                  First Class Mail
Chartered Organization         Hancock Co Sheriff Dept                               Crossroads of America 160                 123 E Main St                                               Greenfield, IN 46140‐2347                                                                               First Class Mail
Chartered Organization         Hancock Lions Club                                    Bay‐Lakes Council 635, Bsa                P.O. Box 267                                                Appleton, WI 54912‐0267                                                                                 First Class Mail
Chartered Organization         Hancock Lions Club                                    Northern Lights Council 429               P.O. Box 144                                                Hancock, MN 56244‐0144                                                                                  First Class Mail
Chartered Organization         Hancock Regional Hospital                             Crossroads of America 160                 801 N State St                                              Greenfield, IN 46140‐1270                                                                               First Class Mail
Chartered Organization         Hancock Regional Hospital                             Food Service Div                          801 N State St                                              Greenfield, IN 46140‐1270                                                                               First Class Mail
Chartered Organization         Hancock Rotary Club                                   Mason Dixon Council 221                   4310 Wern Pike                                              Hancock, MD 21750                                                                                       First Class Mail
Chartered Organization         Hancock Rotary Club                                   Mason Dixon Council 221                   189 E Main St                                               Hancock, MD 21750‐1507                                                                                  First Class Mail
Chartered Organization         Hancock Rotary Club                                   Leatherstocking 400                       P.O. Box 535                                                Hancock, NY 13783‐0535                                                                                  First Class Mail
Chartered Organization         Hancock Utd Church Of Christ                          The Spirit of Adventure 227               1912 Massachusetts Ave                                      Lexington, MA 02421‐4806                                                                                First Class Mail
Chartered Organization         Hancock Volunteer Fire Dept                           Leatherstocking 400                       P.O. Box 883                                                Hancock, NY 13783‐0883                                                                                  First Class Mail
Voting Party                   Hand Arendall Harrison Sale                           Attn: I Ripon Britton, Jr                 1801 5th Ave N, Ste 400                                     Birmingham, AL 35203                                                  rbritton@handfirm.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hand Done T‐Shirts, Inc                               15 E Sheridan St                          Ely, MN 55731                                                                                                                     deb@handdonetshirts.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hand‐Done‐T‐Shirts                                    15 E Sheridan St                          Ely, MN 55731‐1213                                                                                                                                                  First Class Mail
Chartered Organization         Handson Texarkana                                     Caddo Area Council 584                    1915 Olive St                                               Texarkana, TX 75501‐3813                                                                                First Class Mail
Chartered Organization         Hanford Fire Dept                                     Sequoia Council 027                       350 W Grangeville Blvd                                      Hanford, CA 93230‐2855                                                                                  First Class Mail
Chartered Organization         Hanmer School P T O                                   Connecticut Rivers Council, Bsa 066       Francis St                                                  Wethersfield, CT 06109                                                                                  First Class Mail
Firm                           HANNA VANDER PLOEG, LLC                               David J. Vander Ploeg                     20 N. Clark St. Ste. 3100                                   Chicago, IL 60602                                                     dvp@hanvanlaw.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hanna City Methodist Church                           W D Boyce 138                             1007 N Eden Rd                                              Hanna City, IL 61536                                                                                    First Class Mail
Chartered Organization         Hanna Gibbons Elementary School                       Lake Erie Council 440                     1401 Larchmont Rd                                           Cleveland, OH 44110‐2813                                                                                First Class Mail
Chartered Organization         Hanna Lodge 61                                        Sagamore Council 162                      141 S Wabash St                                             Wabash, IN 46992‐3134                                                                                   First Class Mail
Chartered Organization         Hanna Woods School Pto                                Greater St Louis Area Council 312         720 Hanna Rd                                                Manchester, MO 63021‐6746                                                                               First Class Mail
Voting Party                   Hannah Chang (Neo Builders Inc)                       Attn: Hannah Chang                        11112 S Tryon St, G                                         Charlotte, NC 28273                                                   hannahchang0928@gmail.com         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hannibal Al Post Prior Stock 1552                     Longhouse Council 373                     226 Rochester St                                            Hannibal, NY 13074‐3144                                                                                 First Class Mail
Chartered Organization         Hannibal Fire Co                                      Longhouse Council 373                     155 Oseso St                                                Hanibal, NY 10374                                                                                       First Class Mail
Voting Party                   Hannibal Umc                                          Attn: Treasurer and Pastor                P.O. Box 89                                                 Hannibal, NY 13074                                                    skipnsueakr@gmail.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hanover American Legion Post 764                      Simon Kenton Council 441                  1989 W High St                                              Newark, OH 43055‐8127                                                                                   First Class Mail
Chartered Organization         Hanover Lions Club                                    Daniel Webster Council, Bsa 330           P.O. Box 871                                                Hanover, NH 03755‐0871                                                                                  First Class Mail
Chartered Organization         Hanover Middle School                                 Mayflower Council 251                     45 Whiting St                                               Hanover, MA 02339‐1313                                                                                  First Class Mail
Chartered Organization         Hanover Park Lions Club                               Pathway To Adventure 456                  1551 Maplewood Ave                                          Hanover Park, IL 60133‐3920                                                                             First Class Mail
Chartered Organization         Hanover Presbyterian Church                           Hoosier Trails Council 145 145            P.O. Box 276                                                Hanover, IN 47243‐0276                                                                                  First Class Mail
Chartered Organization         Hanover Township Fire Dept                            Southern Shores Fsc 783                   129 W Allen St                                              Hanover, MI 49241                                                                                       First Class Mail
Chartered Organization         Hanover Township Fire District                        Northeastern Pennsylvania Council 501     299 1st St                                                  Hanover Township, PA 18706‐1304                                                                         First Class Mail
Chartered Organization         Hanoverton Christian Church                           Buckeye Council 436                       10251 Plymouth St                                           Hanoverton, OH 44423                                                                                    First Class Mail
Chartered Organization         Hanrahan Elementary                                   Greater St Louis Area Council 312         8430 Lucas and Hunt Rd                                      Saint Louis, MO 63136‐1408                                                                              First Class Mail
Chartered Organization         Hans Christian Anderson Elementary                    Central Florida Council 083               3011 S Fiske Blvd                                           Rockledge, FL 32955‐4301                                                                                First Class Mail
Chartered Organization         Hansen Dam Riding School                              Verdugo Hills Council 058                 11127 Orcas Ave                                             Sylmar, CA 91342‐6723                                                                                   First Class Mail
Chartered Organization         Hansen Motor Co                                       Trapper Trails 589                        1175 S Commerce Way                                         Brigham City, UT 84302‐3124                                                                             First Class Mail
Chartered Organization         Hansen Ward ‐ Kimberly Stake                          Snake River Council 111                   23709 Hwy 30                                                Murtaugh, ID 83344                                                                                      First Class Mail
Chartered Organization         Hanson Cole American Legion Post 391                  Laurel Highlands Council 527              P.O. Box 517                                                Fredericktown, PA 15333‐0517                                                                            First Class Mail
Chartered Organization         Hanson Congregational Church                          Mayflower Council 251                     639 High St                                                 Hanson, MA 02341‐1681                                                                                   First Class Mail
Voting Party                   Hanson Place Central United Methodist Church          Attn: Pastor Leslie Kearse                P.O. Box 170115                                             Brooklyn, NY 11217                                                    hansonplacecentralumc@gmail.com   Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hanson United Methodist Church                        Attn: Tami Coleman                        P.O. Box 55                                                 Hanson, KY 42413                                                      hansonmethodist@gmail.com         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Happy First United Methodist Church                   Attn: Secretary/Treasurer And/Or Pastor   P.O. Box 56                                                 Happy, TX 79042                                                       rmedearis@lubbocklawfirm.com      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Happy Valley Parent Teacher Assoc                     Cascade Pacific Council 492               13865 SE King Rd                                            Happy Valley, OR 97086‐6044                                                                             First Class Mail
Chartered Organization         Harare International School                           Transatlantic Council, Bsa 802            66 Pendennis Rd                                             Harare                            Zimbabwe                                                              First Class Mail
Chartered Organization         Harbins Elementary Pta                                Northeast Georgia Council 101             3550 New Hope Rd                                            Dacula, GA 30019‐1903                                                                                   First Class Mail
Chartered Organization         Harbison Canyon Lions Club                            San Diego Imperial Council 049            326 Harbison Canyon Rd                                      El Cajon, CA 92019‐1523                                                                                 First Class Mail
Chartered Organization         Harbor Bay Realty                                     Alameda Council Bsa 022                   885 Island Dr, Ste 200                                      Alameda, CA 94502‐6743                                                                                  First Class Mail
Chartered Organization         Harbor Beach Lions Club                               Water and Woods Council 782               221 Stoneybrook Dr                                          Harbor Beach, MI 48441‐9341                                                                             First Class Mail
Chartered Organization         Harbor Church Of Block Island                         Narragansett 546                          P.O. Box D2                                                 Block Island, RI 02807‐1816                                                                             First Class Mail
Chartered Organization         Harbor City Elementary School                         Central Florida Council 083               1377 Sarno Rd                                               Melbourne, FL 32935‐5205                                                                                First Class Mail
Chartered Organization         Harbor Day School                                     Orange County Council 039                 3443 Pacific View Dr                                        Corona Del Mar, CA 92625‐1111                                                                           First Class Mail
Chartered Organization         Harbor Fuel Oil Corp                                  Cape Cod and Islands Cncl 224             10 Airport Rd                                               Nantucket, MA 02554‐7012                                                                                First Class Mail
Chartered Organization         Harbor Island Yacht Club                              Middle Tennessee Council 560              200 Harbor Dr                                               Old Hickory, TN 37138‐1119                                                                              First Class Mail
Chartered Organization         Harbor Springs Kiwanis Club                           President Gerald R Ford 781               7515 S Lake Shore Dr                                        Harbor Springs, MI 49740‐9789                                                                           First Class Mail
Voting Party                   Harbor Springs United Methodist Church                Attn: Susan Hitts                         343 E Main St                                               Harbor Springs, MI 49740                                              harborspringsumn@gmail.com        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Harbor United Methodist                               Attn: Judy Ward                           55 First Parish Rd                                          Scituate, MA 02066                                                                                      First Class Mail
Chartered Organization         Harborside Academy                                    Three Harbors Council 636                 913 57th St                                                 Kenosha, WI 53140‐4023                                                                                  First Class Mail
Chartered Organization         Harborview Presbyterian Church                        Coastal Carolina Council 550              900 Harbor View Rd                                          Charleston, SC 29412‐4911                                                                               First Class Mail
Chartered Organization         Harder Odonnel Post 734 The Al                        Iroquois Trail Council 376                83 Market St                                                Attica, NY 14011‐1023                                                                                   First Class Mail
Chartered Organization         Hardin Valley Church Of Christ                        Great Smoky Mountain Council 557          11515 Hardin Valley Rd                                      Knoxville, TN 37932‐2316                                                                                First Class Mail
Voting Party                   Harding                                               Attn: Richard Michael Fassig              2259 E US Rt 52                                             Serena, IL 60549                                                      rmfassig@outlook.com              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Harding Academy                                       Middle Tennessee Council 560              170 Windsor Dr                                              Nashville, TN 37205‐3719                                                                                First Class Mail
Chartered Organization         Harding High School                                   Grand Lodge of Masons                     11501 Masonic Home Dr, Ste 104                              Minneapolis, MN 55437‐3604                                                                              First Class Mail
Voting Party                   Harding United Methodist Church                       Attn: Richard Michael Fossil              4009 E 1553                                                 Earlville, IL 60518                                                   Rmfassil@octlccr.com              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hardinsburg United Methodist Church                   Attn: Ruth Ann Skillman                   P.O. Box 3                                                  Hardinsburg, KY 40143                                                 brogreg@gmail.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hardy Elementary Pto                                  Cherokee Area Council 556                 2100 Glass St                                               Chattanooga, TN 37406‐2480                                                                              First Class Mail
Voting Party                   Hardy Memorial United Methodist Church                Attn: Paul Miller/ Head of Finance        6203 N Kings Hwy                                            Texarkana, TX 75503                                                   pevans@hardyumc.org               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hardy Memorial Utd Methodist Church                   Caddo Area Council 584                    2903 N King Hwy                                             Texarkana, TX 75503                                                                                     First Class Mail
Chartered Organization         Harford County Sheriff'S Dept                         Baltimore Area Council 220                45 S Main St                                                Bel Air, MD 21014‐3702                                                                                  First Class Mail
Chartered Organization         Hargrave Military Academy                             Blue Ridge Mtns Council 599               200 Military Dr                                             Chatham, VA 24531‐4658                                                                                  First Class Mail
Voting Party                   Harlan First United Methodist Church                  Attn: Anne Bieker                         1202 9th St, Box 28                                         Harlan, IA 51537                                                                                        First Class Mail
Voting Party                   Harlandale United Methodist Church                    6025 S Flores                             San Antonio, TX 78214                                                                                                             pastorlarry181@gmail.com          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Harlean Berry Beal Elementary ‐ Gifw                  Longhorn Council 662                      5615 Forest Hill Dr                                         Forest Hill, TX 76119‐6706                                                                              First Class Mail
Chartered Organization         Harlem Boys And Girls Club Ps 133                     Greater New York Councils, Bsa 640        521 W 145th St                                              New York, NY 10031‐5101                                                                                 First Class Mail
Chartered Organization         Harlem Boys And Girls Club Ps92                       Greater New York Councils, Bsa 640        521 W 145th St                                              New York, NY 10031‐5101                                                                                 First Class Mail
Chartered Organization         Harlem High School                                    Georgia‐Carolina Council, Bsa Nc 093      4132 Madeline Dr                                            Augusta, GA 30909                                                                                       First Class Mail
Chartered Organization         Harlem Hospital                                       Greater New York Councils, Bsa 640        506 Malcolm X Blvd                                          New York, NY 10037‐1802                                                                                 First Class Mail
Chartered Organization         Harlem Park Recreation Ctr                            Baltimore Area Council 220                700 N Calhoun St                                            Baltimore, MD 21217‐2402                                                                                First Class Mail
Chartered Organization         Harlem Reformed Church                                President Gerald R Ford 781               6854 144th Ave                                              Holland, MI 49424‐9443                                                                                  First Class Mail
Chartered Organization         Harlem Utd Methodist Church                           Blackhawk Area 660                        8401 N Alpine Rd                                            Machesney Park, IL 61115‐2670                                                                           First Class Mail
Chartered Organization         Harleysville Lions Club                               Cradle of Liberty Council 525             P.O. Box 222                                                Harleysville, PA 19438‐0222                                                                             First Class Mail
Chartered Organization         Harleysville Lions Club                               Cradle of Liberty Council 525             107 Kulp Rd                                                 Harleysville, PA 19438‐1801                                                                             First Class Mail
Chartered Organization         Harleysville Lions Club                               Cradle of Liberty Council 525             43 Highview Dr                                              Telford, PA 18969‐1423                                                                                  First Class Mail
Chartered Organization         Harlingen Border Patrol                               Rio Grande Council 775                    3902 S Expressway 77                                        Harlingen, TX 78552‐7842                                                                                First Class Mail
Chartered Organization         Harlingen Housing Authority                           Rio Grande Council 775                    3221 N 25th St                                              Harlingen, TX 78550‐2800                                                                                First Class Mail
Chartered Organization         Harlingen Police Dept                                 Rio Grande Council 775                    1018 Fair Park Blvd                                         Harlingen, TX 78550‐2474                                                                                First Class Mail
Chartered Organization         Harlingen South Ptsa                                  Rio Grande Council 775                    1701 Dixieland Rd                                           Harlingen, TX 78552‐3321                                                                                First Class Mail
Chartered Organization         Harlowton Kiwanis                                     Montana Council 315                       P.O. Box 705                                                Harlowton, MT 59036‐0705                                                                                First Class Mail
Chartered Organization         Harmon Street Baptist Church                          Piedmont Council 420                      398 Harmon St                                               Forest City, NC 28043‐4055                                                                              First Class Mail
Voting Party                   Harmony                                               c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Harmony ‐ Toluca Lake Campus Of Hollywood Umc         Attn: Melissa Perrigo                     6817 Franklin Ave                                           Los Angeles, CA 90028                                                 melissa@hollywoodumc.org          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Harmony Christian Church                              Last Frontier Council 480                 7100 S Choctaw Rd                                           Choctaw, OK 73020‐5029                                                                                  First Class Mail
Chartered Organization         Harmony Creek Church                                  Miami Valley Council, Bsa 444             5280 Bigger Rd                                              Kettering, OH 45440‐2658                                                                                First Class Mail
Chartered Organization         Harmony Elementary School                             Northeast Georgia Council 101             3946 S Bogan Rd                                             Buford, GA 30519‐4312                                                                                   First Class Mail
Chartered Organization         Harmony Elementary School Pta                         Heart of America Council 307              14140 Grant St                                              Overland Park, KS 66221‐2148                                                                            First Class Mail
Chartered Organization         Harmony Freewill Baptist Church                       Arbuckle Area Council 468                 224 SE County Rd                                            Ada, OK 74820‐7205                                                                                      First Class Mail
Voting Party                   Harmony Grove ‐ Liburn                                c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Harmony Grove Methodist Church                        Northeast Georgia Council 101             Friendship Class                                            Harmony Grove Rd                  Lilburn, GA 30245                                                     First Class Mail
Chartered Organization         Harmony Grove Utd Methodist Church                    Northeast Georgia Council 101             Harmony Grove Ch. Rd                                        Friendship Class                  Lilburn, GA 30047                                                     First Class Mail
Chartered Organization         Harmony Grove Utd Methodist Church                    Northeast Georgia Council 101             50 Harmony Grove Rd                                         Lilburn, GA 30047‐6166                                                                                  First Class Mail
Voting Party                   Harmony Grove, Liburn                                 50 Harmony Rd                             Liburn, GA 30047                                                                                                                                                    First Class Mail
Chartered Organization         Harmony Historical Society                            Allegheny Highlands Council 382           P.O. Box 127                                                Ashville, NY 14710‐0127                                                                                 First Class Mail
Chartered Organization         Harmony Presbyterian Church                           Longs Peak Council 062                    400 Boardwalk Dr                                            Fort Collins, CO 80525‐3212                                                                             First Class Mail
Chartered Organization         Harmony School Of Excellence                          Alamo Area Council 583                    2015 SW Loop 410                                            San Antonio, TX 78227‐2534                                                                              First Class Mail
Chartered Organization         Harmony School Parent Teachers                        Monmouth Council, Bsa 347                 Harmony School Pto                                          Murphy Rd                         Port Monmouth, NJ 07758                                               First Class Mail
Chartered Organization         Harmony Science Academy                               Circle Ten Council 571                    8080 President George Bush Tpke                             Dallas, TX 75252‐6864                                                                                   First Class Mail
Chartered Organization         Harmony Sd 175 Pto                                    Greater St Louis Area Council 312         7401 Westchester Dr                                         Belleville, IL 62223‐2635                                                                               First Class Mail
Voting Party                   Harmony Umc                                           Attn: Mike Eyler, Treasurer               P.O. Box 1510                                               Falling Waters, WV 25419                                              office@harmonyumcwv.org           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Harmony Umc ‐ Hamilton                                c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Harmony United Methodist Church                       Attn: Treasurer                           P.O. Box 105                                                Harmony, IN 47853                                                     harmonyumc.in@gmail.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Harmony United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Harmony Utd Methodist Church                          Shenandoah Area Council 598               P.O. Box 1510                                               Falling Waters, WV 25419‐1510                                                                           First Class Mail
Chartered Organization         Harmony Utd Methodist Church                          National Capital Area Council 082         380 E Colonial Hwy                                          Hamilton, VA 20158‐9016                                                                                 First Class Mail
Chartered Organization         Harmony Utd Methodist Church                          Buckskin 617                              3800 Riverside Dr                                           Huntington, WV 25705‐1743                                                                               First Class Mail
Chartered Organization         Harms School                                          Great Lakes Fsc 272                       5716 Michigan Ave                                           Detroit, MI 48210‐3039                                                                                  First Class Mail
Chartered Organization         Harned Fowler Post 6471                               Green Mountain 592                        280 Depot St                                                Manchester Center, VT 05255                                                                             First Class Mail
Chartered Organization         Harney Point Vfw Post 8463                            Southwest Florida Council 088             4709 SE 11th Pl                                             Cape Coral, FL 33904‐9172                                                                               First Class Mail
Firm                           Harnick and Harnick P.C.                              Robert Harnick                            305 Broadway                                                New York, NY 10007                                                    RHARNICK@aol.com                  Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Harold B Davis Baptist Church                         Cradle of Liberty Council 525             4500 N 10th St                                              Philadelphia, PA 19140‐1315                                                                             First Class Mail
Voting Party                   Harold Douglas Upton                                  397 W Hill Rd                             Lenox, NY 12125                                                                                                                                                     First Class Mail
Firm                           Harold J. Gerr                                        John Bensulock                            47 Raritan Ave                                              Highland Park, NJ 08904                                               jbensulock@haroldgerrlaw.com      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Harold Johns American Legion Post 62                  Gulf Stream Council 085                   2000 SE Fischer St                                          Stuart, FL 34997‐4972                                                                                   First Class Mail
Voting Party                   Harold Watson                                         4150 Academy Dr, Apt 615                  Opelika, AL 36801                                                                                                                 hwatsontx@aol.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Harper Chapel Methodist Men                           Great Rivers Council 653                  5567 Osage Beach Pkwy                                       Osage Beach, MO 65065‐3027                                                                              First Class Mail
Voting Party                   Harper Chapel United Methodist Church                 Attn: Jim Day, Pastor                     5567 Osage Beach Pkwy                                       Osage Beach, MO 65065                                                 office@harperchapel.org           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Harper Evangelical Free Church                        Chief Seattle Council 609                 10384 SE Sedgwick Rd                                        Port Orchard, WA 98366‐8978                                                                             First Class Mail
Firm                           Harper Evans Wade and Netemeyer                       Ron Netemeyer and Jill Harper             401 Locust Street, Ste 401                                  Columbia, MO 65201                                                    jharper@lawmissouri.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Harper Pto                                            Capitol Area Council 564                  P.O. Box 68                                                 Harper, TX 78631‐0068                                                                                   First Class Mail
Chartered Organization         Harper S Choice Community Assoc                       Baltimore Area Council 220                5440 Old Tucker Row                                         Columbia, MD 21044‐1944                                                                                 First Class Mail
Chartered Organization         Harper Volunteer Fire Dept                            Capitol Area Council 564                  P.O. Box 306                                                Harper, TX 78631‐0306                                                                                   First Class Mail
Chartered Organization         Harpers Ferry Middle School                           Shenandoah Area Council 598               1710 W Washington St                                        Harpers Ferry, WV 25425‐6325                                                                            First Class Mail
Voting Party                   Harpersfield Umc                                      Attn: Barbara Cole                        P.O. Box 222                                                363 Colonel Harper Dr             Harpersfield, NY 13786              kkogborn@stny.rr.com              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Harpeth Presybterian Church                           Middle Tennessee Council 560              3077 Hillsboro Rd                                           Brentwood, TN 37027‐4863                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                        Page 152 of 442
                                                                                Case 20-10343-LSS                                            Doc 8171                                            Filed 01/06/22                                                     Page 168 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                      Name                                                                                                     Address                                                                                                                                   Email                     Method of Service
Voting Party                   Harrah United Methodist Church                                2224 Harrison Ave                         Harrah, OK 73045                                                                                                                                                PastorHUMC@coxinet.net              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harrell Budd Elementary Pta                                   Circle Ten Council 571                    2121 S Marsalis Ave                                              Dallas, TX 75216‐2311                                                                                                              First Class Mail
Chartered Organization         Harrell Budd Elementaryschool                                 Circle Ten Council 571                    2121 S Marsalis Ave                                              Dallas, TX 75216‐2311                                                                                                              First Class Mail
Chartered Organization         Harrell Budd Pta                                              Circle Ten Council 571                    2121 S Marsalis Ave                                              Dallas, TX 75216‐2311                                                                                                              First Class Mail
Chartered Organization         Harriman Fire And Rescue                                      Great Smoky Mountain Council 557          501 Walden Ave                                                   Harriman, TN 37748‐2538                                                                                                            First Class Mail
Voting Party                   Harriman United Methodist Church                              13 Church St                              Harriman, NY 10926                                                                                                                                              paige.wendy@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harrington Elementary Pto                                     Southern Shores Fsc 783                   100 S Clark St                                                   Albion, MI 49224‐1915                                                                                                              First Class Mail
Voting Party                   Harrington, Thomas                                            Address Redacted                                                                                                                                                                                          Email Address Redacted              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harris & Co                                                   Water and Woods Council 782               6815 Main St                                                     Cass City, MI 48726‐9693                                                                                                           First Class Mail
Voting Party                   Harris Butler                                                 c/o Boy Scouts of America                 Attn: Chase Koontz                                               1325 W Walnut Hill Ln               Irving, TX 75015                                           chase.koontz@scouting.org           Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Harris Chapel Umc ‐ Oakland Park                              c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200            Tampa, FL 33602                                            erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Harris Chapel Umc, Oakland Park                               3251 NW 26th St                           Oakland Park, FL 33311                                                                                                                                                                              First Class Mail
Chartered Organization         Harris County Emergency Corps                                 Sam Houston Area Council 576              2800 Aldine Bender Rd                                            Houston, TX 77032‐3502                                                                                                             First Class Mail
Voting Party                   Harris Hill United Methodist Church                           Attn: Mary Sage‐Trustee                   9936 Whitwick Terrace                                            Clarence, NY 14031                                                                             mary.sage17@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harris Hill Volunteer Fire Co                                 Greater Niagara Frontier Council 380      8630 Main St                                                     Williamsville, NY 14221‐7502                                                                                                       First Class Mail
Chartered Organization         Harris J R El                                                 Sam Houston Area Council 576              801 Broadway St                                                  Houston, TX 77012‐2124                                                                                                             First Class Mail
Firm                           Harris Lowry Manton                                           Steve Lowry                               410 E Broughton St                                               Savannah, GA 31401                                                                             jdorminy@hlmlawfirm.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harris R P El                                                 Sam Houston Area Council 576              1262 Mae Dr                                                      Houston, TX 77015‐5515                                                                                                             First Class Mail
Chartered Organization         Harris Township Lions Club                                    Juniata Valley Council 497                P.O. Box 438                                                     Boalsburg, PA 16827‐0438                                                                                                           First Class Mail
Chartered Organization         Harris Training Center                                        Piedmont Council 420                      2560 Brookford Blvd                                              Hickory, NC 28602‐9159                                                                                                             First Class Mail
Voting Party                   Harris United Methodist Church                                Attn: Kathy P Hudson                      501 Oakwood Dr                                                   Greenwood, SC 29649                                                                            kphudson@umcsc.org                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Harris United Methodist Church                                Attn: Dr K Dale Smoak                     611 Bucklevel Rd                                                 Greenwood, SC 29649                                                                            dsipphone12@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harris Utd Methodist Church                                   Blue Ridge Council 551                    P.O. Box 8058                                                    Greenwood, SC 29649                                                                                                                First Class Mail
Chartered Organization         Harrisburg Fraternal Order Of Police                          Greater St Louis Area Council 312         P.O. Box 152                                                     Harrisburg, IL 62946‐0152                                                                                                          First Class Mail
Chartered Organization         Harrisburg Kiwanis Youth Foundation                           New Birth of Freedom 544                  435 Independence Ave, Ste C                                      Mechanicsburg, PA 17055‐5465                                                                                                       First Class Mail
Chartered Organization         Harrisburg Presbyterian Church                                Central N Carolina Council 416            P.O. Box 310                                                     Harrisburg, NC 28075‐0310                                                                                                          First Class Mail
Chartered Organization         Harrisburg Presbyterian Church                                Central N Carolina Council 416            4815 Nc Hwy 49 S                                                 Harrisburg, NC 28075‐8480                                                                                                          First Class Mail
Voting Party                   Harrisburg United Methodist Church                            Attn: Angelia Taylor                      1160 High St                                                     Harrisburg, OH 43126                                                                           taylor_angie@att.net                Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Harrisburg United Methodist Church                            Attn: Jacqulyn Miller                     P.O. Box 201                                                     Harrisburg, OH 43126                                                                           churchharrisburg@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Harrisburg United Methodist Church 4560 Hwy 49 S Harrisburg   c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200            Tampa, FL 33602                                            erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harrisburg Utd Methodist Church                               Central N Carolina Council 416            P.O. Box 222                                                     Harrisburg, NC 28075‐0222                                                                                                          First Class Mail
Chartered Organization         Harrisburg Utd Methodist Church                               Central N Carolina Council 416            4560 Nc Hwy 49 S                                                 Harrisburg, NC 28075‐7504                                                                                                          First Class Mail
Chartered Organization         Harrisburg Utd Methodist Church                               Sioux Council 733                         204 Grand Ave                                                    Harrisburg, SD 57032                                                                                                               First Class Mail
Chartered Organization         Harrison Bell Post American Legion 122                        Last Frontier Council 480                 P.O. Box 675                                                     Wewoka, OK 74884‐0675                                                                                                              First Class Mail
Chartered Organization         Harrison County Sherriffs Dept                                Pine Burr Area Council 304                10451 Larkin Smith Dr                                            Gulfport, MS 39503‐4615                                                                                                            First Class Mail
Chartered Organization         Harrison Emergency Medical Services                           Westchester Putnam 388                    2 Pleasant Ridge Rd                                              Harrison, NY 10528‐1016                                                                                                            First Class Mail
Chartered Organization         Harrison Hill Elem Pfo After Sch                              Crossroads of America 160                 7510 E 53rd St                                                   Indianapolis, IN 46226‐1916                                                                                                        First Class Mail
Chartered Organization         Harrison Kiwanis Youth Foundation                             New Birth of Freedom 544                  1227 Berryhill St                                                Harrisburg, PA 17104‐1706                                                                                                          First Class Mail
Chartered Organization         Harrison Lee American Legion Post 283                         Iroquois Trail Council 376                P.O. Box 214                                                     Livonia, NY 14487‐0214                                                                                                             First Class Mail
Chartered Organization         Harrison Moose Lodge 2235                                     Water and Woods Council 782               5185 N Clare Ave                                                 Harrison, MI 48625‐7828                                                                                                            First Class Mail
Chartered Organization         Harrison Parkway Pto                                          Crossroads of America 160                 14135 Harrison Pkwy                                              Fishers, IN 46038‐5222                                                                                                             First Class Mail
Chartered Organization         Harrison Pto                                                  Anthony Wayne Area 157                    1300 Husky Trl                                                   Warsaw, IN 46582‐1924                                                                                                              First Class Mail
Chartered Organization         Harrison School Pta                                           Mid‐America Council 326                   5404 Hamilton St                                                 Omaha, NE 68132                                                                                                                    First Class Mail
Chartered Organization         Harrison Sportsman Club                                       Water and Woods Council 782               3704 N Harrison Ave                                              Harrison, MI 48625                                                                                                                 First Class Mail
Voting Party                   Harrison United Methodist Church                              Attn: Steve D Barham                      7950 Trout Lily Dr                                               Ooltewah, TN 37363                                                                             steve.d.barham@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harrison Utd Methodist Church                                 Cherokee Area Council 556                 5621 Hwy 58                                                      Harrison, TN 37341‐9520                                                                                                            First Class Mail
Chartered Organization         Harrison Utd Methodist Church                                 Mecklenburg County Council 415            15008 Lancaster Hwy                                              Pineville, NC 28134‐8129                                                                                                           First Class Mail
Chartered Organization         Harrison Volunteer Fire Dept                                  Westchester Putnam 388                    206 Harrison Ave                                                 Harrison, NY 10528‐4321                                                                                                            First Class Mail
Voting Party                   Harrison W. Oehler II                                         c/o Ward & Oehler Ltd                     1801 Greenview Dr SW, Ste 102                                    Rochester, MN 55902                                                                            william.oehler@wardoehler.com       Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Harrison W. Oehler II                                         4770 Aston Gardens Way, Ste 205           Naples, FL 34109                                                                                                                                                                                    First Class Mail
Chartered Organization         Harrison Ward ‐ Twin Falls West Stake                         Snake River Council 111                   667 Harrison St                                                  Twin Falls, ID 83301‐3905                                                                                                          First Class Mail
Chartered Organization         Harrisonburg 2Nd Ward Ch Jesus Christ                         Of Latter‐Day Saints                      210 South Ave                                                    Harrisonburg, VA 22801                                                                                                             First Class Mail
Chartered Organization         Harrisonburg Baptist Church                                   Stonewall Jackson Council 763             501 S Main St                                                    Harrisonburg, VA 22801‐5818                                                                                                        First Class Mail
Chartered Organization         Harrisonburg Baptist Church                                   Stonewall Jackson Council 763             P.O. Box 281                                                     Harrisonburg, VA 22803‐0281                                                                                                        First Class Mail
Chartered Organization         Harrisonburg Police Dept                                      Stonewall Jackson Council 763             101 N Main St                                                    Harrisonburg, VA 22802‐3838                                                                                                        First Class Mail
Chartered Organization         Harrisonville Police Dept                                     Heart of America Council 307              208 E Pearl St                                                   Harrisonville, MO 64701‐1848                                                                                                       First Class Mail
Voting Party                   Harrisonville United Methodist Church                         Attn: Kevin Shelton                       2600 E Mechanic                                                  Harrisonville, MO 64701                                                                        harrisonvilleumc.pastor@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harrisville Congregal Christian Ch                            Crossroads of America 160                 4900 E South St                                                  Union City, IN 47390‐8882                                                                                                          First Class Mail
Voting Party                   Harrisville United Methodist Church                           Attn: Christy Walters                     P.O. Box 185                                                     Harrisville, NY 13648                                                                          harrisvilleumc@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harrisville Utd Methodist Church                              Moraine Trails Council 500                P.O. Box 424                                                     Harrisville, PA 16038‐0424                                                                                                         First Class Mail
Chartered Organization         Harrod Fire Dept                                              Black Swamp Area Council 449              123 S Walnut St                                                  Harrod, OH 45850                                                                                                                   First Class Mail
Voting Party                   Harrogate, Arthur, Mountain View Umc                          Attn: Judy Keller                         P.O. Box 167                                                     Harrogate, TN 37752                                                                            harrogateumc@att.net                Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harry D Zeigler Post 6319                                     Mason Dixon Council 221                   408 S Washington St                                              Greencastle, PA 17225‐1338                                                                                                         First Class Mail
Chartered Organization         Harry E Anderson Vfw Post 9545                                Rainbow Council 702                       323 Old Hickory Rd                                               New Lenox, IL 60451‐1646                                                                                                           First Class Mail
Chartered Organization         Harry E. Anderson Vfw Post 9545                               Rainbow Council 702                       323 Old Hickory Rd                                               New Lenox, IL 60451‐1646                                                                                                           First Class Mail
Voting Party                   Harry E. Sheldon Calvary Camp, Inc.                           Attn: Timothy N Green, Exec Dir           4411 Lake Rd                                                     Conneaut, OH 44030                                                                             sld@sgkpc.com                       Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Harry E. Sheldon Calvary Camp, Inc.                           Attn: Timothy N Green, Exec Dir           4411 Lake Rd                                                     Conneaut, OH 44030                                                                                                                 First Class Mail
Voting Party                   Harry Gardner                                                 P.O. Box 175                              Constable, NY 12926                                                                                                                                             hgardner@twcny.rr.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harry Kizirian Elementary School Pta                          Narragansett 546                          60 Camden Ave                                                    Providence, RI 02908‐3655                                                                                                          First Class Mail
Chartered Organization         Harry L Cooper Vfw Post 160                                   Baltimore Area Council 220                2597 Dorsey Rd                                                   Glen Burnie, MD 21061‐3268                                                                                                         First Class Mail
Chartered Organization         Harry S Truman Lodge 1727                                     Far E Council 803                         169‐3 Noyang‐Ri, Paengseong‐Eup                                  Pyeongtaek, Gyeonggi‐Do             Republic Of Korea                                                                              First Class Mail
Chartered Organization         Harry S Truman Parent Teacher Assoc                           Cascade Pacific Council 492               4505 NE 42nd Ave                                                 Vancouver, WA 98661‐2810                                                                                                           First Class Mail
Chartered Organization         Harry Spence School Ptu                                       Gateway Area 624                          2150 Bennett St                                                  La Crosse, WI 54601‐6673                                                                                                           First Class Mail
Chartered Organization         Harry Whiting Brown House                                     Dan Beard Council, Bsa 438                34 Village Sq                                                    Glendale, OH 45246‐4515                                                                                                            First Class Mail
Firm                           Hart McLaughlin & Eldridge, LLC                               Blake Stubbs                              22 W. Washington St., Ste 1600                                   Chicago, IL 60602                                                                              bstubbs@hmelegal.com                Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Hart Vfw                                                      President Gerald R Ford 781               802 S State St                                                   Hart, MI 49420‐1250                                                                                                                First Class Mail
Chartered Organization         Harter Elementary Pto                                         Buckeye Council 436                       317 Raff Rd Nw                                                   Canton, OH 44708‐5636                                                                                                              First Class Mail
Voting Party                   Harter Secrest & Emery, LLP                                   Attn: Nicholas S Gatto                    50 Fountain Plz, 10th Fl                                         Buffalo, NY 14202                                                                              ngatto@hselaw.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Hartford Accident And Indemnity Company                       c/o Shipman & Goodwin                     Attn: Joshua D Weinberg                                          1875 K St Nw, Ste 600               Washington, DC 20006                                       jweinberg@goodwin.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Hartford Civic Club                                           Alabama‐Florida Council 003               P.O. Box 353                                                     Hartford, AL 36344‐0353                                                                                                            First Class Mail
Chartered Organization         Hartford Council Of Churches                                  Twin Rivers Council 364                   P.O. Box 114                                                     Hartford, NY 12838‐0114                                                                                                            First Class Mail
Voting Party                   Hartford Financial Svcs Group, Inc                            Attn: Sean Paul Johnston                  One Hartford Plz                                                 Hartford, CT 06155                                                                             sean.johnston@thehartford.com       Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Hartford Fire Dept                                            Connecticut Rivers Council, Bsa 066       253 High St                                                      Hartford, CT 06103‐1041                                                                                                            First Class Mail
Voting Party                   Hartford Fire Insurance Co                                    Attn: Hank Hoffman                        As Assignee of Hartford Specialty Co                             1 Hartford Plz                      Bankruptcy, Unit Ho2‐R, Home Office   Hartford, CT 06155                                       First Class Mail
Voting Party                   Hartford Fire Insurance Co                                    Aao: Hartford Specialty Co                The Hartford                                                     P.O. Box 660916                     Dallas, TX 75266                                                                               First Class Mail
Voting Party                   Hartford Korean United Methodist Church                       Attn: Oon Don Choi                        711 New Britain Ave                                              Hartford, CT 06106                                                                             fumc1@hotmail.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Hartford Korean United Methodist Church                       711 New Britain Ave                       Hartford, CT 06106                                                                                                                                              fumc1@hotmail.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Hartford Memorial Baptist Church                              Great Lakes Fsc 272                       18700 James Couzens Fwy                                          Detroit, MI 48235‐2573                                                                                                             First Class Mail
Chartered Organization         Hartford Optimist Club                                        Great Trail 433                           7034 State Route 609                                             Burghill, OH 44404‐9732                                                                                                            First Class Mail
Chartered Organization         Hartford Parks And Recreation Dept                            Bay‐Lakes Council 635                     125 N Rural St                                                   Hartford, WI 53027‐1407                                                                                                            First Class Mail
Chartered Organization         Hartford Police Dept                                          Bay‐Lakes Council 635                     110 N Johnson St                                                 Hartford, WI 53027‐1423                                                                                                            First Class Mail
Voting Party                   Hartford United Methodist Church                              Attn: Seth Labounty                       P.O. Box 159                                                     102 2nd St                          Hartford, SD 57033                                         humcsd@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Hartford United Methodist Church                              Attn: Treasurer Robin Heminger            425 E Main                                                       Hartford, MI 49057                                                                             hartfordmethodist.robin@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Hartland Fire Fighters Assoc                                  c/o Hartland Fire Hall                    3205 Hartland Rd                                                 Hartland, MI 48353‐1825                                                                                                            First Class Mail
Voting Party                   Hartland Umc                                                  Attn: Pastor Shelley Andrews              8017 Ridge Rd                                                    Gasport, NY 14067                                                                              titus08@verizon.net                 Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Hartland United Methodist Church                              Attn: Pastor Charles Williams             10300 Maple Rd                                                   Hartland, MI 48353                                                                             racer156@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Hartland Volunteer Fire Auxiliary                             Green Mountain 592                        341 US Rt 12                                                     Hartland, VT 05048                                                                                                                 First Class Mail
Chartered Organization         Hartley Elementary School Clc ‐ Lincoln                       Cornhusker Council 324                    730 N 33rd St                                                    Lincoln, NE 68503‐3221                                                                                                             First Class Mail
Chartered Organization         Hartley Lions Club                                            Mid‐America Council 326                   51 S 1st Ave W                                                   Hartley, IA 51346‐1369                                                                                                             First Class Mail
Chartered Organization         Hartley M Robey Post 151American Legion                       Voyageurs Area 286                        330 Minnesota St                                                 Sandstone, MN 55072‐5110                                                                                                           First Class Mail
Voting Party                   Hartly United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200            Tampa, FL 33602                                            erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Hartman Elementary Clc                                        Mid‐America Council 326                   5530 N 66th St                                                   Omaha, NE 68104‐1550                                                                                                               First Class Mail
Chartered Organization         Hartman Park                                                  Middle Tennessee Council 560              2801 Tucker Rd                                                   Nashville, TN 37218‐2320                                                                                                           First Class Mail
Chartered Organization         Hartman Park Community Center                                 Middle Tennessee Council 560              2801 Tucker Rd                                                   Nashville, TN 37218‐2320                                                                                                           First Class Mail
Chartered Organization         Hartsfield Parent‐Teacher Assoc                               Sam Houston Area Council 576              5001 Perry St                                                    Houston, TX 77021‐3515                                                                                                             First Class Mail
Voting Party                   Hartstown Presbyterian Church                                 Attn: Billie‐Jo Hyde ‐ Clerk of Session   4341 Westford Rd                                                 Jamestown, PA 16134                                                                            hyde2002@windstream.net             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Hartstown Presbyterian Church                                 Attn: Billie‐Jo Kiskadden Hyde            P.O. Box 77                                                      7235 US Hwy 322                     Hartstown, PA 16131                                        hyde2002@windstream.net             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Hartsville United Methodist Church                            Attn: Abe Zimmermam                       224 River St                                                     Hartsville, TN 37074                                                                           abe.zimmerman@tnumc.org             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Hartwell Rotary Club                                          Northeast Georgia Council 101             P.O. Box 362                                                     Hartwell, GA 30643‐0362                                                                                                            First Class Mail
Chartered Organization         Hartwell Utd Methodist Church                                 Dan Beard Council, Bsa 438                140 Pkwy Ave                                                     Cincinnati, OH 45216‐1425                                                                                                          First Class Mail
Chartered Organization         Hartwood Presbyterian Church                                  National Capital Area Council 082         50 Hartwood Church Rd                                            Fredericksburg, VA 22406‐4938                                                                                                      First Class Mail
Chartered Organization         Harundale Presbyterian Church                                 Baltimore Area Council 220                1020 Eway                                                        Glen Burnie, MD 21060                                                                                                              First Class Mail
Voting Party                   Harundale Presbyterian Church                                 Attn: Karen Fluhr                         1020 Eastway                                                     Glen Burnie, MD 21060                                                                          office@harundalepc.org              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Harundale Presbyterian Church                                 Attn: Carol Ruth Clifford                 409 Ocracoke Way                                                 Glen Burnie, MD 21060                                                                          crc705@verizon.net                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Harvard Business Review                                       P.O. Box 62180                            Tampa, FL 33663‐1803                                                                                                                                                                                First Class Mail
Chartered Organization         Harvard‐Boy Scouts Inc                                        Heart of New England Council 230          P.O. Box 346                                                     Harvard, MA 01451‐0346                                                                                                             First Class Mail
Chartered Organization         Harvard‐Firefighters Assoc                                    Heart of New England Council 230          13 Ayer Rd                                                       Harvard, MA 01451‐1464                                                                                                             First Class Mail
Chartered Organization         Harvard‐Sportsmens Club                                       Heart of New England Council 230          250 Littleton County Rd                                          Harvard, MA 01451‐1444                                                                                                             First Class Mail
Chartered Organization         Harvest Baptist Church                                        Indian Nations Council 488                24733 S Hwy 66                                                   Claremore, OK 74019‐2480                                                                                                           First Class Mail
Chartered Organization         Harvest Church Of The Nazarene                                Quapaw Area Council 018                   194 Old Military Rd                                              Conway, AR 72034‐9621                                                                                                              First Class Mail
Voting Party                   Harvest Community Church Of Madera, A Ca Coproration          Attn: Lois Leonard                        2001 National Ave                                                Madera, CA 93637                                                                               office@hccmadera.net                Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harvest Fellowship Church, Inc                                North Florida Council 087                 5444 US 129 S                                                    Jasper, FL 32052                                                                                                                   First Class Mail
Chartered Organization         Harvest Field Community Church                                Attn: Rev. Terry Cary                     7710 121st Ave E                                                 Parrish, FL 34219‐8536                                                                                                             First Class Mail
Chartered Organization         Harvest Foods                                                 Inland Nwest Council 611                  14515 E Trent Ave                                                Spokane Valley, WA 99216‐1359                                                                                                      First Class Mail
Chartered Organization         Harvest Foods 4                                               Inland Nwest Council 611                  14515 E Trent Ave                                                Spokane Valley, WA 99216‐1359                                                                                                      First Class Mail
Chartered Organization         Harvest Lane Alliance Church                                  Erie Shores Council 460                   5132 Harvest Ln                                                  Toledo, OH 43623‐2221                                                                                                              First Class Mail
Chartered Organization         Harvest Ridge Elementary Pto                                  Greater St Louis Area Council 312         1220 Harvest Ridge Dr                                            Saint Charles, MO 63303‐5972                                                                                                       First Class Mail
Chartered Organization         Harvest Ridge School Pto                                      Greater St Louis Area Council 312         1220 Harvest Ridge Dr                                            Saint Charles, MO 63303‐5972                                                                                                       First Class Mail
Voting Party                   Harvest UMC (14305 Covenant Way, Bradenton, FL)               c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200            Tampa, FL 33602                                            erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harvest Utd Methodist Church                                  Longhorn Council 662                      6036 Locke Ave                                                   Fort Worth, TX 76116‐4633                                                                                                          First Class Mail
Chartered Organization         Harvest Utd Methodist Church                                  Southwest Florida Council 088             14305 Covenant Way                                               Lakewood Ranch, FL 34202‐8981                                                                                                      First Class Mail
Chartered Organization         Harvest Utd Methodist Church                                  Sam Houston Area Council 576              9029 Sienna Ranch Rd                                             Missouri City, TX 77459‐6955                                                                                                       First Class Mail
Voting Party                   Harvester                                                     c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200            Tampa, FL 33602                                            erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harvester Christian Church                                    Greater St Louis Area Council 312         2950 Kings Xing                                                  Saint Peters, MO 63303‐6393                                                                                                        First Class Mail
Chartered Organization         Harvester Utd Methodist                                       Greater Tampa Bay Area 089                2432 Collier Pkwy                                                Land O Lakes, FL 34639‐5216                                                                                                        First Class Mail
Voting Party                   Harvey Browne Memorial Presbyterian Church Inc                311 Browns Ln                             Louisville, KY 40207                                                                                                                                            hughestaaj@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Harvey C Noone American Legion Post 954                       Seneca Waterways 397                      6444 Buffalo Rd                                                  Churchville, NY 14428‐9754                                                                                                         First Class Mail
Chartered Organization         Harvey Drive Church Of Christ                                 Rio Grande Council 775                    508 W Harvey St                                                  Mcallen, TX 78501‐2080                                                                                                             First Class Mail
Chartered Organization         Harvey Kiwanis Club                                           c/o Mark Knudtson                         2954 25th St Ne                                                  Harvey, ND 58341‐9301                                                                                                              First Class Mail
Chartered Organization         Harvey Oaks Home Owner'S Assoc                                Mid‐America Council 326                   14906 Brookside Cir                                              Omaha, NE 68144‐2024                                                                                                               First Class Mail
Chartered Organization         Harvey Oaks School Homeowners Assoc                           Mid‐America Council 326                   14866 Harvey Oaks Ave                                            Omaha, NE 68144‐2060                                                                                                               First Class Mail
Chartered Organization         Harvey Ruel Post 1164                                         Rainbow Council 702                       4216 E 5000N Rd                                                  Bourbonnais, IL 60914‐4160                                                                                                         First Class Mail
Chartered Organization         Harveyville Utd Methodist Church                              Jayhawk Area Council 197                  371 Wabaunsee                                                    Harveyville, KS 66431‐9266                                                                                                         First Class Mail
Chartered Organization         Harwich Fire Assoc                                            Cape Cod and Islands Cncl 224             175 Sisson Rd                                                    Harwich, MA 02645‐2616                                                                                                             First Class Mail
Chartered Organization         Harwich Police Assoc                                          Cape Cod and Islands Cncl 224             Sisson Rd                                                        Harwich, MA 02645                                                                                                                  First Class Mail
Chartered Organization         Harwood American Legion                                       Northern Lights Council 429               P.O. Box 37                                                      Harwood, ND 58042‐0037                                                                                                             First Class Mail
Chartered Organization         Haskell School Parent Teachers Org                            Blackhawk Area 660                        515 Maple St                                                     Rockford, IL 61103‐6711                                                                                                            First Class Mail
Chartered Organization         Hasler‐Kamp Post 215 American Legion                          Hudson Valley Council 374                 P.O. Box 515                                                     Pawling, NY 12564‐0515                                                                                                             First Class Mail
Chartered Organization         Haslett Commty                                                Church, United Church of Christ           Water and Woods Council 782                                      1427 Haslett Rd                     Haslett, MI 48840                                                                              First Class Mail
Chartered Organization         Haslett Community Church                                      Water and Woods Council 782               1427 Haslett Rd                                                  Haslett, MI 48840‐8415                                                                                                             First Class Mail
Chartered Organization         Hassler Elementary School Pto                                 Sam Houston Area Council 576              9325 Lochlea Ridge Dr                                            Spring, TX 77379‐3647                                                                                                              First Class Mail
Chartered Organization         Hastings Fire Dept                                            Westchester Putnam 388                    50 Main St                                                       Hastings On Hudson, NY 10706‐1602                                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 153 of 442
                                                                                 Case 20-10343-LSS                                                        Doc 8171                                      Filed 01/06/22                                                     Page 169 of 457
                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                            Service List
                                                                                                                                                                                     Served as set forth below

        Description                                                       Name                                                                                                           Address                                                                                                              Email               Method of Service
Voting Party                   Hastings First United Methodist Church 614 N Hastings Ave   c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hastings Group Of Concerned Citizens                        North Florida Council 087                                4750 Florida 206                                           Elkton, FL 32033                                                                                        First Class Mail
Chartered Organization         Hastings Lions Club                                         Northern Star Council 250                                2224 Westview Dr                                           Hastings, MN 55033‐3203                                                                                 First Class Mail
Chartered Organization         Hastings Ward Lds Church                                    Overland Trails 322                                      1725 Crane Ave                                             Hastings, NE 68901                                                                                      First Class Mail
Chartered Organization         Hat Trick Theatre Productions Inc                           Greater Tampa Bay Area 089                               17540 Willow Pond Dr                                       Lutz, FL 33549‐5602                                                                                     First Class Mail
Chartered Organization         Hatboro Baptist Church                                      Cradle of Liberty Council 525                            32 N York Rd                                               Hatboro, PA 19040‐3201                                                                                  First Class Mail
Chartered Organization         Hatboro Community Methodist Church                          Cradle of Liberty Council 525                            730 Preston Ln                                             Hatboro, PA 19040‐2322                                                                                  First Class Mail
Chartered Organization         Hatboro Rotary Club                                         Cradle of Liberty Council 525                            P.O. Box 435                                               Hatboro, PA 19040‐0435                                                                                  First Class Mail
Chartered Organization         Hatfield Police Assoc                                       Western Massachusetts Council 234                        59 Main St                                                 Hatfield, MA 01038‐9702                                                                                 First Class Mail
Chartered Organization         Hatfield Post 933 The American Legion                       Cradle of Liberty Council 525                            P.O. Box 125                                               Hatfield, PA 19440                                                                                      First Class Mail
Chartered Organization         Hathaway Fire Dept                                          Calcasieu Area Council 209                               5396 Pine Island Hwy                                       Jennings, LA 70546‐8853                                                                                 First Class Mail
Chartered Organization         Hattie Larlham Foundation                                   Great Trail 433                                          9772 Diagonal Rd                                           Mantua, OH 44255‐9128                                                                                   First Class Mail
Chartered Organization         Hattiesburg High Jrotc                                      Pine Burr Area Council 304                               301 Hutchinson Ave                                         Hattiesburg, MS 39401‐4134                                                                              First Class Mail
Chartered Organization         Haude Elementary School Pto                                 Sam Houston Area Council 576                             3311 Louetta Rd                                            Spring, TX 77388                                                                                        First Class Mail
Voting Party                   Haught Chapel Church                                        Attn: Marilesa Yost                                      26 Log Cabin Ln                                            Bridgeport, WV 26330                                                  marileasayost@outlook.com         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Haught Chapel Utd Methodist Men                             Mountaineer Area 615                                     P.O. Box 403                                               Fairview, WV 26570‐0403                                                                                 First Class Mail
Chartered Organization         Hauppauge Fire Dept                                         Suffolk County Council Inc 404                           855 Wheeler Rd                                             Hauppauge, NY 11788‐2925                                                                                First Class Mail
Voting Party                   Hauppauge United Methodist Church                           Attn: Lillian M. Hertel                                  473 Town Line Rd                                           Hauppauge, NY 11788                                                   firstumcci@optimum.net            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Haus Of Hammers And Thrones                                 Long Beach Area Council 032                              4248 3/4 Maxson Rd                                         El Monte, CA 91732‐2046                                                                                 First Class Mail
Chartered Organization         Havana Commty                                               Developement Corp                                        264 Carver Ave                                             Havana, FL 32333‐6319                                                                                   First Class Mail
Chartered Organization         Havana'S 1St Utd Methodist Ch Mens Club                     W D Boyce 138                                            101 S Broadway St                                          Havana, IL 62644‐1466                                                                                   First Class Mail
Voting Party                   Haven Heights United Methodist Church (Pitt)                c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Haven Lutheran Church                                       Mason Dixon Council 221                                  1035 Haven Rd                                              Hagerstown, MD 21742‐3101                                                                               First Class Mail
Voting Party                   Haven Umc                                                   Attn: Juhee Lee                                          200 Taunton Ave                                            East Providence, RI 02914                                             havenumchurch@yahoo.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Havenwood Presbyterian Church                               Attn: Charles Massanopoli‐Hpc                            100 E Ridgley Rd                                           Lutherville, MD 21093                                                 chmass5@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Havre De Grace Police Dept                                  Baltimore Area Council 220                               715 Pennington Ave                                         Havre De Grace, MD 21078‐3004                                                                           First Class Mail
Voting Party                   Havre De Grace United Methodist Church                      Attn: Trustees, Havre De Grace United Methodist Church   101 S Union Ave                                            Havre De Grace, MD 21078                                              hdgumc@verizon.net                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hawaii Kai Lions Club                                       Aloha Council, Bsa 104                                   P.O. Box 25163                                             Honolulu, HI 96825‐0163                                                                                 First Class Mail
Chartered Organization         Hawaii Kai Lions Club                                       c/o Mr. William Modglin, Jr                              6217 Milolii Pl, Apt 101                                   Honolulu, HI 96825‐1926                                                                                 First Class Mail
Chartered Organization         Hawaii Youth Maritime Programs, Inc                         Guam                                                     1774 Puu Kaa St                                            Kapaa, HI 96746‐2330                                                                                    First Class Mail
Chartered Organization         Hawaii Youth Maritime Programs, Inc                         Aloha Council, Bsa 104                                   1774 Puu Kaa St                                            Kapaa, HI 96746‐2330                                                                                    First Class Mail
Chartered Organization         Hawaiian Airlines Inc                                       Aloha Council, Bsa 104                                   3375 Koapaka St                                            Honolulu, HI 96819‐1800                                                                                 First Class Mail
Voting Party                   Hawesville United Methodist Church                          Attn: Treasurer, Saundra Snyder                          P.O. Box 365                                               Hawesville, KY 42348                                                  peterhumc@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hawfields Presbyterian Church                               Old N State Council 070                                  2115 S Nc Hwy 119                                          Mebane, NC 27302‐9761                                                                                   First Class Mail
Voting Party                   Hawfields Presbyterian Church, Inc.                         Attn: John Matthew Lawrence                              2115 S NC Hwy 119                                          Mebane, NC 27302                                                      david@hawfieldschurch.org         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hawk Mountain Cncl No 528                                   5027 Pottsville Pike                                     Reading, PA 19605‐9516                                                                                                                                             First Class Mail
Chartered Organization         Hawk Mountain Council Bsa                                   Hawk Mountain Council 528                                5027 Pottsville Pike                                       Reading, PA 19605‐9516                                                                                  First Class Mail
Chartered Organization         Hawker Utd Church Of Christ                                 Tecumseh 439                                             1617 N Longview St                                         Beavercreek, OH 45432‐2132                                                                              First Class Mail
Voting Party                   Hawkeye Area Council                                        Attn: Sarah Dawson                                       660 32nd Ave Sw                                            Cedar Rapids, IA 52404                                                sarah.dawson@scouting.org         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hawkins First United Methodist Church                       Attn: Rev Brian T Wharton                                P.O. Box 450                                               Hawkins, TX 75765                                                     hawkinsfumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           Hawkins Law, P.C.                                           John F. Hawkins                                          Post Office Box 24627                                      Jackson, MS 39225‐4627                                                teresa@hgattorneys.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hawkins Methodist Church                                    Andrew Jackson Council 303                               317 Goodrum Rd                                             Vicksburg, MS 39180‐9720                                                                                First Class Mail
Chartered Organization         Hawkins United Methodist Church                             Andrew Jackson Council 303                               855 Riverside Dr                                           Jackson, MS 39202                                                                                       First Class Mail
Voting Party                   Hawkins United Methodist Church Inc                         Hawkins United Methodist Inc                             1001‐B Adams St                                            Vicksburg, MS 39183                                                   eugeneperrierlaw@gmail.com        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hawks Rise Elementary School Pto                            Suwannee River Area Council 664                          205 Meadow Ridge Dr                                        Tallahassee, FL 32312‐1565                                                                              First Class Mail
Chartered Organization         Hawley Area Fire Dept                                       Northern Lights Council 429                              P.O. Box 254                                               Hawley, MN 56549‐0254                                                                                   First Class Mail
Chartered Organization         Hawley Area Fire Dept                                       Northern Lights Council 429                              P.O. Box 981                                               Hawley, MN 56549‐0981                                                                                   First Class Mail
Chartered Organization         Hawley Memorial Presbyterian Church                         Mason Dixon Council 221                                  P.O. Box 582                                               Blue Ridge Summit, PA 17214‐0582                                                                        First Class Mail
Voting Party                   Hawleyton United Methodist Church                           Attn: Norman Burt Cline                                  985 Park Ave                                               Binghamton, NY 13903                                                  normancline7@gmail.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hawleyton United Methodist Church                           Attn: Treasurer                                          901 Hawleyton Rd                                           Binghamton, NY 13903                                                  hawleytoncharge@gmail.com         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Haworth Fire Co                                             Northern New Jersey Council, Bsa 333                     75 Hardenburgh Ave                                         Haworth, NJ 07641                                                                                       First Class Mail
Chartered Organization         Hawthorn Pto                                                Greater St Louis Area Council 312                        50 Spencer Trail Ct                                        Saint Peters, MO 63376‐6021                                                                             First Class Mail
Chartered Organization         Hawthorne Parent Teacher Assoc                              Three Fires Council 127                                  145 W Arthur St                                            Elmhurst, IL 60126‐3320                                                                                 First Class Mail
Chartered Organization         Hawthorne Police Dept                                       Greater Los Angeles Area 033                             12501 Hawthorne Blvd                                       Hawthorne, CA 90250‐4404                                                                                First Class Mail
Chartered Organization         Hawthorne Post 112‐American Legion                          Westchester Putnam 388                                   P.O. Box 147                                               Hawthorne, NY 10532‐0147                                                                                First Class Mail
Chartered Organization         Hawthorne Pta                                               Great Rivers Council 653                                 1250 W Curtis St                                           Mexico, MO 65265‐1855                                                                                   First Class Mail
Chartered Organization         Hawthorne School Pto                                        Potawatomi Area Council 651                              1111 Maitland Dr                                           Waukesha, WI 53188‐2361                                                                                 First Class Mail
Voting Party                   Hawthorne United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hawthorne United Methodist Church ‐ Pearl River             c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Haxtun American Legion Post 137                             Longs Peak Council 062                                   129 N Colorado Ave                                         Haxtun, CO 80731                                                                                        First Class Mail
Voting Party                   Haxtun United Methodist Church                              Attn: Jerilyn K Soens                                    106 S Washington                                           Haxtun, CO 80731                                                      pastorjeri.soens@gmail.com        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hay Street United Methodist Church                          Attn: Church Administrator                               Hay St United Methodist Church                             320 Hay St                         Fayetteville, NC 28301             office@haystreetchurch.org        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hayden Catholic High School                                 Jayhawk Area Council 197                                 401 SW Gage Blvd                                           Topeka, KS 66606‐2023                                                                                   First Class Mail
Chartered Organization         Hayden Lake Eagles Foe 4080                                 Inland Nwest Council 611                                 P.O. Box 1319                                              Hayden, ID 83835‐1319                                                                                   First Class Mail
Chartered Organization         Hayden Lions Club                                           Greater Alabama Council 001                              P.O. Box 241                                               Hayden, AL 35079‐0241                                                                                   First Class Mail
Voting Party                   Hayden United Methodist Church                              Attn: James Doak                                         4184 Graves Gap Rd                                         Hayden, AL 35079                                                      jamesdoak@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hayden Utd Methodist Church                                 Greater Alabama Council 001                              277 3rd St                                                 Hayden, AL 35079                                                                                        First Class Mail
Chartered Organization         Hayes Barton Baptist Church                                 Occoneechee 421                                          1800 Glenwood Ave                                          Raleigh, NC 27608‐2324                                                                                  First Class Mail
Chartered Organization         Hayes Catholic School Home School Assc                      Illowa Council 133                                       2407 Cedar St                                              Muscatine, IA 52761‐2608                                                                                First Class Mail
Chartered Organization         Hayes Elementary School Pta                                 Great Lakes Fsc 272                                      30600 Louise St                                            Westland, MI 48185‐2471                                                                                 First Class Mail
Chartered Organization         Hayes Memorial Utd Methodist Church                         Erie Shores Council 460                                  1441 Fangboner Rd                                          Fremont, OH 43420‐1173                                                                                  First Class Mail
Voting Party                   Hayesville First United Methodist 989 Hwy 64 Business       c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hayesville Men ‐ Boys Club Inc                              c/o Byron Meadows                                        4758 Lisa St Ne                                            Salem, OR 97305‐2340                                                                                    First Class Mail
Chartered Organization         Hayfield Citizens Assoc                                     c/o Susan King                                           7621 Hayfield Rd                                           Alexandria, VA 22315‐4034                                                                               First Class Mail
Chartered Organization         Hayfield Citizens Assoc Inc                                 National Capital Area Council 082                        7821 Welch Ct                                              Alexandria, VA 22315‐4048                                                                               First Class Mail
Chartered Organization         Haygood Memorial Utd Methodist Church                       Atlanta Area Council 092                                 1015 E Rock Springs Rd Ne                                  Atlanta, GA 30306‐3047                                                                                  First Class Mail
Voting Party                   Haygood Umc ‐ Va Beach                                      c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Haygood Utd Methodist Church                                Tidewater Council 596                                    4713 Haygood Rd                                            Virginia Beach, VA 23455‐5317                                                                           First Class Mail
Chartered Organization         Haymarket Masonic Lodge No 313                              National Capital Area Council 082                        6713 Jefferson St                                          Haymarket, VA 20169                                                                                     First Class Mail
Voting Party                   Haymount United Methodist Church                            c/o Hutchens Law Firm LLP                                4317 Ramsey St, P.O. Box 2505                              Fayetteville, NC 28302                                                bkymail@hutchenslawfirm.com       Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Haymount Utd Methodist Church                               Occoneechee 421                                          1700 Fort Bragg Rd                                         Fayetteville, NC 28303‐6800                                                                             First Class Mail
Voting Party                   Hays 1st United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hays County Constable Pct 1                                 Capitol Area Council 564                                 712 Stagecoach Trl                                         San Marcos, TX 78666                                                                                    First Class Mail
Chartered Organization         Hays County Sheriffs Office                                 Capitol Area Council 564                                 1307 Uhland Rd                                             San Marcos, TX 78666‐8217                                                                               First Class Mail
Voting Party                   Hays E Earl                                                 Address Redacted                                                                                                                                                                          Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hays Lions Club                                             Coronado Area Council 192                                1320 Douglas Dr                                            Hays, KS 67601‐2612                                                                                     First Class Mail
Chartered Organization         Hays Lions Club & 1St Utd Meth Church                       Coronado Area Council 192                                1320 Douglas Dr                                            Hays, KS 67601‐2612                                                                                     First Class Mail
Chartered Organization         Haysi Volunteer Fire Dept                                   Sequoyah Council 713                                     P.O. Box 610                                               Haysi, VA 24256‐0610                                                                                    First Class Mail
Voting Party                   Haysville United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Haysville Utd Methodist Church                              Quivira Council, Bsa 198                                 601 E Grand Ave                                            Haysville, KS 67060‐1325                                                                                First Class Mail
Chartered Organization         Hayward Lions Club                                          Chippewa Valley Council 637                              13754W Sjostrom Cir                                        Hayward, WI 54843                                                                                       First Class Mail
Chartered Organization         Hayward Police Dept                                         San Francisco Bay Area Council 028                       300 W Winton Ave                                           Hayward, CA 94544‐1137                                                                                  First Class Mail
Chartered Organization         Hayward Vets Al Post 870                                    San Francisco Bay Area Council 028                       27081 Fielding Dr                                          Hayward, CA 94542‐2446                                                                                  First Class Mail
Voting Party                   Hazardville United Methodist Church                         Attn: Susan Braun                                        330 Hazard Ave                                             Enfield, CT 06082                                                     hazardvilleumc@sbcglobal.net      Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hazel Avenue Pta                                            Northern New Jersey Council, Bsa 333                     45 Hazel Ave                                               West Orange, NJ 07052‐4524                                                                              First Class Mail
Chartered Organization         Hazel Dell Elementary School Pto                            Crossroads of America 160                                3025 Westfield Rd                                          Noblesville, IN 46062‐8905                                                                              First Class Mail
Voting Party                   Hazel Green United Methodist Church                         Attn: Charles Worley                                     P.O. Box 10                                                Hazel Green, AL 35750                                                 office@hazelgreen.org             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hazel Hurst United Methodist Church (88416)                 c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hazel Park Recreation Dept                                  Great Lakes Fsc 272                                      620 W Woodward Heights Blvd                                Hazel Park, MI 48030‐1391                                                                               First Class Mail
Chartered Organization         Hazeldale School Ptc                                        Cascade Pacific Council 492                              20080 SW Farmington Rd                                     Aloha, OR 97007‐5425                                                                                    First Class Mail
Chartered Organization         Hazelton Heights Fire Co 4                                  Northern New Jersey Council, Bsa 333                     P.O. Box 723                                               Ridgefield Park, NJ 07660‐0723                                                                          First Class Mail
Chartered Organization         Hazelton Ward ‐ Paul Stake                                  Snake River Council 111                                  531 Middleton Ave                                          Hazelton, ID 83335                                                                                      First Class Mail
Chartered Organization         Hazelwood Christian Church                                  Crossroads of America 160                                9947 S County Rd 0                                         Clayton, IN 46118‐9206                                                                                  First Class Mail
Chartered Organization         Hazelwood East Middle School                                Greater St Louis Area Council 312                        11300 Dunn Rd                                              Saint Louis, MO 63138‐1047                                                                              First Class Mail
Chartered Organization         Hazelwood Police Dept                                       Greater St Louis Area Council 312                        415 Elm Grove Ln                                           Hazelwood, MO 63042‐1917                                                                                First Class Mail
Chartered Organization         Hazen Lions Club                                            c/o Doug Rothe                                           508 4th Ave Nw                                             Hazen, ND 58545‐4119                                                                                    First Class Mail
Voting Party                   Hazen United Methodist Church (85504)                       c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hazlehurst Group Of Concerned Citizens                      Coastal Georgia Council 099                              189 E Jarman St                                            Hazlehurst, GA 31539‐6131                                                                               First Class Mail
Voting Party                   Hazlehurst United Methodist Church                          Hazelehurst United Methodist Church                      P.O. Box 725                                               Hazlehurst, MS 39083                                                  hazlehurstunited@bellsouth.net    Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hazlet Fire Co No 1                                         Monmouth Council, Bsa 347                                Holmdel Rd                                                 Hazlet, NJ 07730                                                                                        First Class Mail
Chartered Organization         Hazlet First Aid & Rescue Squad                             Monmouth Council, Bsa 347                                19 Maple Dr                                                Hazlet, NJ 07730                                                                                        First Class Mail
Voting Party                   Hazleton United Methodist Church                            Attn: Charles P Briner, Admin Council Chair              114 S Main                                                 Hazleton, IN 47640                                                    charles.briner1870@gmail.com      Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hb Police And Fire Depts                                    Orange County Council 039                                18381 Gothard St                                           Huntington Beach, CA 92648‐1226                                                                         First Class Mail
Chartered Organization         Hcso Explorer Program Post 41                               Sam Houston Area Council 576                             6831 Cypresswood Dr                                        Spring, TX 77379‐7700                                                                                   First Class Mail
Chartered Organization         Hcso Explorer Program Post 42                               Sam Houston Area Council 576                             7900 Will Clayton Pkwy                                     Humble, TX 77338‐5863                                                                                   First Class Mail
Chartered Organization         Hcso Explorer Program Post 43                               Sam Houston Area Council 576                             14350 Wallisville Rd                                       Houston, TX 77049‐4145                                                                                  First Class Mail
Chartered Organization         Hcso Explorer Program Post 44                               Sam Houston Area Council 576                             16715 Clay Rd                                              Houston, TX 77084‐4294                                                                                  First Class Mail
Chartered Organization         Hd Student Healthcare Internship Pipline                    California Inland Empire Council 045                     12555 Navajo Rd                                            Apple Valley, CA 92308‐7256                                                                             First Class Mail
Chartered Organization         Hdr, Inc                                                    Mid‐America Council 326                                  1917 S 67th St                                             Omaha, NE 68106‐2973                                                                                    First Class Mail
Chartered Organization         Headland Utd Methodist Church                               Alabama‐Florida Council 003                              103 W King St                                              Headland, AL 36345‐1733                                                                                 First Class Mail
Chartered Organization         Headquarters 224 Sust. Brigade                              W.L.A.C.C. 051                                           2200 Redondo Ave                                           Long Beach, CA 90822‐1006                                                                               First Class Mail
Chartered Organization         Healdsburg Fire Dept                                        Redwood Empire Council 041                               601 Healdsburg Ave                                         Healdsburg, CA 95448‐3608                                                                               First Class Mail
Chartered Organization         Healthcare Explorers Parent Assoc                           Great Salt Lake Council 590                              620 W 400 N                                                Salt Lake City, UT 84116‐3413                                                                           First Class Mail
Chartered Organization         Healthpark Medical Center                                   Southwest Florida Council 088                            9981 S Healthpark Dr                                       Fort Myers, FL 33908‐3618                                                                               First Class Mail
Chartered Organization         Heards Ferry Pta                                            Atlanta Area Council 092                                 6151 Powers Ferry Rd                                       Sandy Springs, GA 30339‐2924                                                                            First Class Mail
Chartered Organization         Heart Home School                                           Sam Houston Area Council 576                             18422 Dale Forest Ct                                       Humble, TX 77346‐4429                                                                                   First Class Mail
Chartered Organization         Heart Longmont Utd Methodist Ch                             Longs Peak Council 062                                   350 11th Ave                                               Longmont, CO 80501‐4322                                                                                 First Class Mail
Voting Party                   Heart O' Texas Council D/B/A Longhorn Council               Attn: Wendy Shaw                                         850 Cannon Dr                                              Hurst, TX 76054                                                       wendy.shaw@scouting.org           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Heart O' Texas Council D/B/A Longhorn Council               c/o Kelly Hart & Hallman LLP                             Attn: Katherine T Hopkins                                  201 Main St, Ste 2500              Fort Worth, TX 76102               katherine.hopkins@kellyhart.com   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Heart O' Texas Council D/B/A Longhorn Council               Attn: Katherine T Hopkins                                Kelly Hart & Hallman LLP                                   201 Main St, Ste 2500              Ft Worth, TX 76102                 katherine.hopkins@kellyhart.com   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Heart O Texas Council Dba Longhorn Council                  Attn: Wendy Shaw                                         850 Cannon Dr                                              Hurst, TX 76054                                                       wendy.shaw@scouting.org           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Heart Of America Trail To Eagle                             Heart of America Council 307                             617 NE 81st Ter                                            Kansas City, MO 64118‐1317                                                                              First Class Mail
Chartered Organization         Heart Of God Fellowship                                     Heart of America Council 307                             3720 N Buckner Tarsney Rd                                  Buckner, MO 64016‐9113                                                                                  First Class Mail
Chartered Organization         Heart Of God Ministries                                     Buckskin 617                                             1703 S Kanawha St                                          Beckley, WV 25801                                                                                       First Class Mail
Voting Party                   Heart Of New England Council                                Attn: Nicholas Thornton                                  1980 Lunenburg Rd                                          Lancaster, MA 01523                                                   nick.thornton@scouting.org        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Heart Of Virginia Council 602                               Attn: George Mcgovern                                    4015 Fitzhugh Ave                                          Richmond, VA 23230                                                    georgem.mcgovern@scouting.org     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Heartland Elementary                                        Lincoln Heritage Council 205                             2300 Nelson Dr                                             Elizabethtown, KY 42701‐5945                                                                            First Class Mail
Chartered Organization         Heartland Elementary Pto                                    Heart of America Council 307                             12775 Goodman St                                           Shawnee Mission, KS 66213‐2786                                                                          First Class Mail
Chartered Organization         Heartland Girls Ranch                                       Northern Lights Council 429                              185 Hwy 9 Ne                                               Benson, MN 56215‐1160                                                                                   First Class Mail
Chartered Organization         Heartland Presbyterian Church                               Mid Iowa Council 177                                     14300 Hickman Rd                                           Clive, IA 50325‐7774                                                                                    First Class Mail
Chartered Organization         Heartland Presbyterian Ctr                                  Heart of America Council 307                             16965 NW Hwy 45                                            Parkville, MO 64152‐5144                                                                                First Class Mail
Chartered Organization         Hearts Academy                                              Atlanta Area Council 092                                 4010 Fambrough Dr                                          Powder Springs, GA 30127‐3839                                                                           First Class Mail
Voting Party                   Heartsong United Methodist Church                           Attn: Elesha Whatley                                     800 N Houston Levee Rd                                     Cordova, TN 38018                                                     bookkeeper@heartsongchurch.net;   Email
                                                                                                                                                                                                                                                                                     ceaves@heartsongchurch.net        First Class Mail
Voting Party                   Heartwood Church                                            Attn: Steve Zimmer                                       6477 10th St N                                             Oakdale, MN 55128                                                     pault@heartwood.church            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Heat Optimist Club                                          Catalina Council 011                                     7961 S Depot Ct                                            Tucson, AZ 85747‐5162                                                                                   First Class Mail
Voting Party                   Heath Umc                                                   Attn: Pat Ricket                                         1149 Hebron Rd                                             Heath, OH 43056                                                       sebritton@windstream.net          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Heath Utd Methodist Church                                  Simon Kenton Council 441                                 1149 Hebron Rd                                             Heath, OH 43056‐1125                                                                                    First Class Mail
Chartered Organization         Heatherwood Baptist Church                                  Flint River Council 095                                  721 Shenandoah Blvd                                        Newnan, GA 30265‐3181                                                                                   First Class Mail
Voting Party                   Heathsville Umc ‐ Heathsville                               c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                            Page 154 of 442
                                                                                 Case 20-10343-LSS                                              Doc 8171                                    Filed 01/06/22                                                 Page 170 of 457
                                                                                                                                                                               Exhibit B
                                                                                                                                                                                Service List
                                                                                                                                                                         Served as set forth below

        Description                                                       Name                                                                                               Address                                                                                                           Email              Method of Service
Voting Party                   Heathsville United Methodist Church                      Attn: Jane Locke                                  P.O. Box 88                                              Heathsville, VA 22473                                             JWL@Kaballero.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Heathsville Utd Methodist Church                         Heart of Virginia Council 602                     P.O. Box 86                                              Heathsville, VA 22473‐0086                                                                          First Class Mail
Chartered Organization         Heavenly Host Lutheran Church                            Middle Tennessee Council 560                      777 S Willow Ave                                         Cookeville, TN 38501‐3806                                                                           First Class Mail
Chartered Organization         Heavenly Host Lutheran Church & School                   Middle Tennessee Council 560                      777 S Willow Ave                                         Cookeville, TN 38501‐3806                                                                           First Class Mail
Chartered Organization         Hebbronville Border Patrol                               South Texas Council 577                           34 E State Hwy 359                                       Hebbronville, TX 78361‐4429                                                                         First Class Mail
Chartered Organization         Hebrew Institute Of White Plains                         Westchester Putnam 388                            40 Prescott Ave                                          White Plains, NY 10605‐3106                                                                         First Class Mail
Chartered Organization         Hebron Baptist Church                                    Alabama‐Florida Council 003                       3347 County Rd 308                                       Troy, AL 36079‐6109                                                                                 First Class Mail
Chartered Organization         Hebron Christian Academy                                 Northeast Georgia Council 101                     570 Dacula Rd                                            Dacula, GA 30019‐2126                                                                               First Class Mail
Chartered Organization         Hebron Lions Club                                        Lasalle Council 165                               79 Maple Ct                                              Hebron, IN 46341‐9169                                                                               First Class Mail
Chartered Organization         Hebron Lions Club                                        Dan Beard Council, Bsa 438                        P.O. Box 242                                             Hebron, KY 41048‐0242                                                                               First Class Mail
Voting Party                   Hebron United Methodist (187 124)                        c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200      Pittsburgh, PA 15228              lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hebron United Methodist (187 124)                        c/o Bentz Law Firm, Pc                            Attn: Sean Bollman                                                                                                         lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hebron United Methodist Church                           Attn: Charlette J Hoffmann                        9811 S Main St                                           Hebron, IL 60034                                                  charh‐pastor@att.net              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hebron United Methodist Church                           P.O. Box 323                                      Hebron, IL 60034                                                                                                           charh‐pastor@att.net              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hebron United Methodist Church                           Attn: Treasurer, Hebron United Methodist Church   2325 Mebane Oaks Rd                                      Mebane, NC 27302                                                                                    First Class Mail
Chartered Organization         Hebron Utd Methodist                                     Old N State Council 070                           2325 Mebane Oaks Rd                                      Mebane, NC 27302‐8616                                                                               First Class Mail
Chartered Organization         Hebron Utd Methodist Church                              Piedmont Council 420                              1929 W Hwy 27                                            Vale, NC 28168                                                                                      First Class Mail
Voting Party                   Hector A Tico Perez                                      c/o Boy Scouts of America                         Attn: Chase Koontz                                       1325 W Walnut Hill Ln           Irving, TX 75015                  chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hector Lions Club                                        Northern Star Council 250                         P.O. Box 433                                             Hector, MN 55342‐0433                                                                               First Class Mail
Voting Party                   Hedding United Methodist Church                          Attn: Renaldo Azotec                              40 Washington St                                         Barre, VT 05641                                                   revrenny@gmail.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hedding Utd Methodist Men                                Green Mountain 592                                40 Washington St                                         Barre, VT 05641‐4241                                                                                First Class Mail
Voting Party                   Hedeen, Hughes, & Wetering                               Attn: Drake T Hagen                               1206 Oxford St                                           P.O. Box 09                     Worthington, MN 56187             drake@wgtnlaw.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hedges Chapel Cccu                                       Simon Kenton Council 441                          15495 Winchester Rd                                      Ashville, OH 43103‐9585                                                                             First Class Mail
Chartered Organization         Hedgesville Utd Methodist Church                         Shenandoah Area Council 598                       201 S Mary St                                            Hedgesville, WV 25427‐7459                                                                          First Class Mail
Chartered Organization         Hedrick'S Grove Utd Church Of Christ                     Old N State Council 070                           3840 Allred Rd                                           Lexington, NC 27292‐7037                                                                            First Class Mail
Firm                           Hedtke Law Office                                        John F. Hedtke                                    1217 E 1st Street                                        Duluth, MN 66805                                                  john@hedtkelaw.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         He'E Nalu, Llc                                           Aloha Council, Bsa 104                            59‐520 Aukauka Pl                                        Haleiwa, HI 96712‐9519                                                                              First Class Mail
Voting Party                   Heflin First United Methodist Church                     Attn: Lexi Bennett                                P.O. Box 205                                             Heflin, AL 36264                                                  lexi@heflinfirstumc.org           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hegwood Ronald K                                         Address Redacted                                                                                                                                                                                               First Class Mail
Chartered Organization         Heidelberg Lions Club                                    Pennsylvania Dutch Council 524                    501 W Main St                                            Schaefferstown, PA 17088                                                                            First Class Mail
Voting Party                   Heidelberg United Methodist Church                       Attn: Owen Toler                                  4010 S Heidelberg Rd Sw                                  Corydon, IN 47112                                                 owendale.t@gmail.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Heidelberg Utd Church Of Christ                          Cradle of Liberty Council 525                     1101 Cowpath Rd                                          Hatfield, PA 19440‐2616                                                                             First Class Mail
Chartered Organization         Heidelberg Utd Church Of Christ                          Cradle of Liberty Council 525                     251 Perkiomen Ave                                        Schwenksville, PA 19473‐1137                                                                        First Class Mail
Chartered Organization         Heights Business Optimist Club                           Montana Council 315                               1825 Sagebrush Rd                                        Billings, MT 59105‐4701                                                                             First Class Mail
Chartered Organization         Heights Charter School                                   Southwest Florida Council 088                     15570 Hagie Dr                                           Fort Myers, FL 33908‐2890                                                                           First Class Mail
Chartered Organization         Heights Christian Ch (Disciples Christ)                  Sam Houston Area Council 576                      1703 Heights Blvd                                        Houston, TX 77008‐4023                                                                              First Class Mail
Chartered Organization         Heights Elementary School                                Bay Area Council 574                              300 N Logan St                                           Texas City, TX 77590‐7066                                                                           First Class Mail
Chartered Organization         Heights Jewish Center                                    Lake Erie Council 440                             14270 Cedar Rd                                           Cleveland, OH 44121‐3207                                                                            First Class Mail
Chartered Organization         Heights Presbyterian Church                              Sam Houston Area Council 576                      240 W 18th St                                            Houston, TX 77008‐4006                                                                              First Class Mail
Chartered Organization         Heiland American Legion Post 446                         Miami Valley Council, Bsa 444                     North Co Rd 25‐A                                         Anna, OH 45302                                                                                      First Class Mail
Chartered Organization         Heilmann Recreation Center                               Great Lakes Fsc 272                               19601 Crusade St                                         Detroit, MI 48205‐2069                                                                              First Class Mail
Chartered Organization         Heim Middle School Pta                                   Greater Niagara Frontier Council 380              175 Heim Rd                                              Williamsville, NY 14221‐1353                                                                        First Class Mail
Chartered Organization         Heim Rd Elementary School Pta                            Greater Niagara Frontier Council 380              155 Heim Rd                                              Williamsville, NY 14221‐1353                                                                        First Class Mail
Chartered Organization         Heinline‐Hanks                                           Ozark Trails Council 306                          P.O. Box 172                                             Fair Grove, MO 65648‐0172                                                                           First Class Mail
Voting Party                   Heiskell United Methodist Church                         Attn: Eric Gould                                  9420 Heiskell Rd                                         Heiskell, TN 37754                                                eric@heiskellchurch.org           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Helen Arnold Community Center                            Great Trail 433                                   450 Vernon Odom Blvd                                     Akron, OH 44307‐2108                                                                                First Class Mail
Chartered Organization         Helena Civitan Club                                      Montana Council 315                               1006 Saddle Dr                                           Helena, MT 59601‐5645                                                                               First Class Mail
Chartered Organization         Helena Fire Dept                                         Greater Alabama Council 001                       P.O. Box 262                                             Helena, AL 35080‐0262                                                                               First Class Mail
Chartered Organization         Helena Police Dept                                       Greater Alabama Council 001                       P.O. Box 262                                             Helena, AL 35080‐0262                                                                               First Class Mail
Voting Party                   Helena Umc                                               Attn: Treasurer                                   290 Helena Moriah Rd                                     Timberlake, NC 27583                                              helenaumcnc@gmail.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Helena United Methodist Church                           Attn: Sheila Thomas ‐ Business Manager            2035 Hwy 58                                              Helena, AL 35080                                                  sthomas@helenaumc.org             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Helena Utd Methodist Church                              Old N State Council 070                           290 Helena Moriah Rd                                     Timberlake, NC 27583‐9572                                                                           First Class Mail
Chartered Organization         Helendale‐Silver Lakes Lions Club                        California Inland Empire Council 045              P.O. Box 678                                             Helendale, CA 92342‐0678                                                                            First Class Mail
Chartered Organization         Helfrich Park‐Glenwood‐Plaza Park                        Parent Support Group Special Needs                2603 W Maryland St                                       Evansville, IN 47712‐6713                                                                           First Class Mail
Chartered Organization         Hellenic Orthodox Community Of Astoria                   Greater New York Councils, Bsa 640                3011 30th Dr                                             Astoria, NY 11102‐1854                                                                              First Class Mail
Chartered Organization         Hellenic Orthodox Community Of Denver                    Denver Area Council 061                           4610 E Alameda Ave                                       Denver, CO 80246‐1301                                                                               First Class Mail
Chartered Organization         Hellriegel'S Foto 1                                      Chief Seattle Council 609                         P.O. Box 8149                                            Covington, WA 98042‐0049                                                                            First Class Mail
Voting Party                   Helotes Hills United Methodist Church                    Attn: James E Sweet, Jr                           13222 Bandera Rd                                         Helotes, TX 78023                                                 rhonda@hhumc.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Helotes Lds Ward‐West Stake                              Alamo Area Council 583                            13153 Iron Horse Way                                     Helotes, TX 78023‐3535                                                                              First Class Mail
Chartered Organization         Helotes Lions Club                                       Alamo Area Council 583                            14690 Bandera Rd                                         Helotes, TX 78023                                                                                   First Class Mail
Chartered Organization         Helping Hand Home For Children                           Capitol Area Council 564                          3804 Ave B                                               Austin, TX 78751‐4906                                                                               First Class Mail
Chartered Organization         Helping Here ‐ Helping There                             Aloha Council, Bsa 104                            55‐568 Naniloa Loop, Apt 7C                              Laie, HI 96762‐1263                                                                                 First Class Mail
Chartered Organization         Hemenway Utd Methodist Church                            Northeast Illinois 129                            933 Chicago Ave                                          Evanston, IL 60202‐1818                                                                             First Class Mail
Chartered Organization         Hemet Police Dept                                        California Inland Empire Council 045              450 E Latham Ave                                         Hemet, CA 92543‐4224                                                                                First Class Mail
Voting Party                   Hemet United Methodist Church                            Attn: Valerie Weise                               530 S Buena Vista                                        Hemet, CA 92543                                                   pastorval@hemetumc.org            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hemlock Grange Hall                                      Connecticut Rivers Council, Bsa 066               Sage Hollow Rd                                           Portland, CT 06480                                                                                  First Class Mail
Chartered Organization         Hemlock Grove Christian Church                           Buckskin 617                                      General Delivery                                         Pomeroy, OH 45769                                                                                   First Class Mail
Voting Party                   Hemlock Grove United Methodist Church (78918)            c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200      Pittsburgh, PA 15228              lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hemlock Grove Utd Methodist Church                       Northeastern Pennsylvania Council 501             491 Roemerville Rd                                       Greentown, PA 18426‐4831                                                                            First Class Mail
Chartered Organization         Hemlock Lions Club                                       Water and Woods Council 782                       3730 Trimm Rd                                            Saginaw, MI 48609‐9769                                                                              First Class Mail
Chartered Organization         Hempfield Fire Co                                        Pennsylvania Dutch Council 524                    19 W Main St                                             Salunga, PA 17538‐1126                                                                              First Class Mail
Chartered Organization         Hemphill Elementary Pta                                  Capitol Area Council 564                          3995 E Fm 150                                            Kyle, TX 78640‐6207                                                                                 First Class Mail
Chartered Organization         Hemphill School Pta                                      Greater Alabama Council 001                       1240 Cotton Ave Sw                                       Birmingham, AL 35211‐1954                                                                           First Class Mail
Voting Party                   Hempstead United Methodist Church                        Attn: Pastor John Montgomery                      705 Main St                                              Hempstead, TX 77445                                               johnlmontgomery4@yahoo.com        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hempstead United Methodist Church                        Attn: St Clair Samuel                             40 Washington St                                         Hempstead, NY 11550                                               hempsteadumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Henderson                                                Las Vegas Area Council 328                        Green Valley Elks Lodge 2802                             Henderson, NV 89009                                                                                 First Class Mail
Chartered Organization         Henderson Center Kiwanis                                 Crater Lake Council 491                           Po Box 615                                               Eureka, CA 95502‐0615                                                                               First Class Mail
Chartered Organization         Henderson Civitan Club                                   West Tennessee Area Council 559                   Henderson                                                Henderson, TN 38340                                                                                 First Class Mail
Chartered Organization         Henderson Community Church                               Denver Area Council 061                           12001 Oakland St                                         Commerce City, CO 80640‐9630                                                                        First Class Mail
Chartered Organization         Henderson Elementary School Pto                          Greater St Louis Area Council 312                 2663 Hackmann Rd                                         Saint Charles, MO 63303                                                                             First Class Mail
Chartered Organization         Henderson Fire Dept                                      Las Vegas Area Council 328                        405 Parkson Rd                                           Henderson, NV 89011                                                                                 First Class Mail
Chartered Organization         Henderson Funeral Home                                   Texas Trails Council 561                          P.O. Box 609                                             Santa Anna, TX 76878‐0609                                                                           First Class Mail
Chartered Organization         Henderson International School                           Las Vegas Area Council 328                        1165 Sandy Ridge Ave                                     Henderson, NV 89052‐4956                                                                            First Class Mail
Chartered Organization         Henderson Parent Teacher Organization                    Great Lakes Fsc 272                               16101 W Chicago St                                       Detroit, MI 48228‐2101                                                                              First Class Mail
Chartered Organization         Henderson Police Dept                                    Las Vegas Area Council 328                        223 Lead St                                              Henderson, NV 89015‐7328                                                                            First Class Mail
Chartered Organization         Henderson Presbyterian Church                            Las Vegas Area Council 328                        P.O. Box 91346                                           Henderson, NV 89009‐1346                                                                            First Class Mail
Chartered Organization         Henderson Unit Boys And Girls Club                       Ozark Trails Council 306                          835 W Calhoun St                                         Springfield, MO 65802‐1709                                                                          First Class Mail
Chartered Organization         Hendersonville 1St Utd Methodist Ch                      Middle Tennessee Council 560                      217 E Main St                                            Hendersonville, TN 37075‐2543                                                                       First Class Mail
Chartered Organization         Hendersonville Church Of Christ                          Middle Tennessee Council 560                      107 Rockland Rd                                          Hendersonville, TN 37075‐3459                                                                       First Class Mail
Chartered Organization         Hendersonville Hs Mjrotc                                 Middle Tennessee Council 560                      123 Cherokee Rd                                          Hendersonville, TN 37075‐3701                                                                       First Class Mail
Chartered Organization         Hendersonville Kiwanis Club                              Daniel Boone Council 414                          P.O. Box 2138                                            Hendersonville, NC 28793‐2138                                                                       First Class Mail
Chartered Organization         Hendersonville Lions Club                                Daniel Boone Council 414                          P.O. Box 2093                                            Hendersonville, NC 28793‐2093                                                                       First Class Mail
Chartered Organization         Hendersonville Police Dept                               Middle Tennessee Council 560                      3 Exec Park Dr                                           Hendersonville, TN 37075‐3451                                                                       First Class Mail
Chartered Organization         Hendersonville Presbyterian Church                       Daniel Boone Council 414                          699 N Grove St                                           Hendersonville, NC 28792‐3728                                                                       First Class Mail
Firm                           Hendren Redwine & Malone, PLLC                           J. Michael Malone                                 4600 Marriott Dr.                                        Raleigh, NC 27612                                                 mmalone@hendrenmalone.com         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hendricks Regional Health                                Crossroads of America 160                         1000 E Main St                                           Danville, IN 46122‐1948                                                                             First Class Mail
Chartered Organization         Hendron Lone Oak Parent Teacher Org                      Lincoln Heritage Council 205                      2501 Marshall Ave                                        Paducah, KY 42003‐5571                                                                              First Class Mail
Chartered Organization         Hendry County Sheriff'S Dept.                            Southwest Florida Council 088                     101 S Bridge St                                          Labelle, FL 33935‐4686                                                                              First Class Mail
Chartered Organization         Hendy Avenue School Pto                                  Five Rivers Council, Inc 375                      110 Hendy Ave                                            Elmira, NY 14905‐1905                                                                               First Class Mail
Chartered Organization         Henleyfield Vfd                                          Pine Burr Area Council 304                        5585 Hwy 43 N                                            Carriere, MS 39426‐5105                                                                             First Class Mail
Chartered Organization         Hennepin County Sheriffs Office                          Northern Star Council 250                         350 S 5th St, Ste 6                                      Minneapolis, MN 55415‐1322                                                                          First Class Mail
Chartered Organization         Henniker Fire And Rescue                                 Daniel Webster Council, Bsa 330                   216 Maple St                                             Henniker, NH 03242‐6212                                                                             First Class Mail
Chartered Organization         Henning Erickson Vfw Po/Trinity Luth Ch                  Northern Star Council 250                         1218 N 6th St                                            Montevideo, MN 56265‐1124                                                                           First Class Mail
Voting Party                   Henning Memorial United Church                           Attn: Pastor Juliet Spence                        404 S Huntington                                         Sulphur, LA 70663                                                 ispencer@hmumc.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Henning Memorial Utd Methodist Church                    Calcasieu Area Council 209                        401 Ruth St                                              Sulphur, LA 70663                                                                                   First Class Mail
Chartered Organization         Henning Rod And Gun                                      Northern Lights Council 429                       49888 220th St                                           Henning, MN 56551‐9403                                                                              First Class Mail
Voting Party                   Henningson & Snoxell, Ltd                                Attn: Virginia Ruthann Cronin                     6900 Wedgwood Rd, Ste 200                                Maple Grove, MN 55311                                             vcronin@hennsnoxlaw.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Henrico Co Dept Of Parks And Recreation                  Heart of Virginia Council 602                     P.O. Box 27032                                           Richmond, VA 23273‐7032                                                                             First Class Mail
Chartered Organization         Henrico County Div Of Fire                               Heart of Virginia Council 602                     P.O. Box 90775                                           Richmond, VA 23273‐0775                                                                             First Class Mail
Chartered Organization         Henrico County Police Div                                Heart of Virginia Council 602                     P.O. Box 90775                                           Henrico, VA 23273‐0775                                                                              First Class Mail
Chartered Organization         Henrietta Christian Fellowship                           Seneca Waterways 397                              1085 Middle Rd                                           Rush, NY 14543‐9604                                                                                 First Class Mail
Chartered Organization         Henrietta Fire Co 1                                      Seneca Waterways 397                              3129 E Henrietta Rd                                      Henrietta, NY 14467‐9792                                                                            First Class Mail
Chartered Organization         Henrietta Payne Unit                                     Huntington Boy & Girl Club                        732 14th St W                                            Huntington, WV 25704‐2305                                                                           First Class Mail
Chartered Organization         Henry B Pratt Jr Al Post 15                              Katahdin Area Council 216                         P.O. Box 5                                               Caribou, ME 04736‐0005                                                                              First Class Mail
Voting Party                   Henry Buchanan, Pa                                       Attn: Laura Beth Faragasso                        P.O. Box 14079                                           Tallahassee, FL 32317                                             lbfaragasso@henryblaw.com         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Henry C Gullett                                          Address Redacted                                                                                                                                                                                               First Class Mail
Chartered Organization         Henry County Fire Dept                                   Flint River Council 095                           110 S Zack Hinton Pkwy                                   Mcdonough, GA 30253‐3353                                                                            First Class Mail
Chartered Organization         Henry County Police Dept                                 Flint River Council 095                           110 Henry Pkwy                                           Mcdonough, GA 30253‐6696                                                                            First Class Mail
Chartered Organization         Henry County Sheriff Dept                                Black Swamp Area Council 449                      123 E Washington St                                      Napoleon, OH 43545‐1645                                                                             First Class Mail
Chartered Organization         Henry County Sheriff Office                              Flint River Council 095                           120 Henry Pkwy                                           Mcdonough, GA 30253‐6696                                                                            First Class Mail
Chartered Organization         Henry County Sportsmens Club                             Black Swamp Area Council 449                      5835 County Rd U4                                        Liberty Center, OH 43532                                                                            First Class Mail
Chartered Organization         Henry David Thorean School                               Three Harbors Council 636                         7878 N 60th St                                           Milwaukee, WI 53223‐4109                                                                            First Class Mail
Chartered Organization         Henry Elementary Pto                                     Blue Ridge Mtns Council 599                       200 Henry School Rd                                      Henry, VA 24102‐3359                                                                                First Class Mail
Chartered Organization         Henry G Fix Post 23                                      Sioux Council 733                                 504 N Main Ave                                           Garretson, SD 57030                                                                                 First Class Mail
Chartered Organization         Henry Johnson Charter School                             Twin Rivers Council 364                           30 Watervliet Ave                                        Albany, NY 12206‐1935                                                                               First Class Mail
Chartered Organization         Henry L Robb Post No. 1135                               Pacific Harbors Council, Bsa 612                  407 7th St                                               Hoquiam, WA 98550‐3615                                                                              First Class Mail
Chartered Organization         Henry Lord School Pto                                    Narragansett 546                                  151 Amity St                                             Fall River, MA 02721‐2201                                                                           First Class Mail
Chartered Organization         Henry S. West Laboratory School                          South Florida Council 084                         5300 Carillo St                                          Coral Gables, FL 33146‐2058                                                                         First Class Mail
Chartered Organization         Henry School Pta                                         Greater St Louis Area Council 312                 700 Henry Ave                                            Ballwin, MO 63011‐2737                                                                              First Class Mail
Chartered Organization         Henry T Jones Community Center                           North Florida Council 087                         3856 Grant Rd                                            Jacksonville, FL 32207‐6627                                                                         First Class Mail
Chartered Organization         Henry W Moore School Pto                                 Daniel Webster Council, Bsa 330                   12 Deerfield Rd                                          Candia, NH 03034‐2701                                                                               First Class Mail
Chartered Organization         Henry Zarrow International School Pta                    Indian Nations Council 488                        3613 S Hudson Ave                                        Tulsa, OK 74135‐5602                                                                                First Class Mail
Voting Party                   Henryville United Methodist Church, Inc.                 Attn: Senior Pastor, Dennis W Alstott             113 S Ferguson                                           P.O. Box 178                    Henryville, IN 47126              Dalstott@msn.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Henryville Utd Methodist Church                          Lincoln Heritage Council 205                      113 S Ferguson St                                        Henryville, IN 47126                                                                                First Class Mail
Chartered Organization         Henryville Utd Methodist Church                          Middle Tennessee Council 560                      981 Turnpike Rd                                          Summertown, TN 38483‐7239                                                                           First Class Mail
Chartered Organization         Henson Chapel Umc                                        Old Hickory Council 427                           120 Henson Hollar Rd                                     Vilas, NC 28692‐9119                                                                                First Class Mail
Voting Party                   Henson Chapel Umc                                        c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200        Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Henthorn, Harris, Weliever & Petrie, Pc                  Attn: David Shepherd Peebles                      122 E Main St                                            Crawfordsville, IN 47933                                          dspeeples@henthornlaw.com         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hephzibah Umc                                            Georgia‐Carolina 093                              4431 Brothersville Rd                                    Hephzibah, GA 30815‐4856                                                                            First Class Mail
Voting Party                   Hephzibah Umc                                            c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200        Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Hephzibah United Methodist Church ‐ Hephzibah            c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200        Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Hephzibah Utd Methodist Church                           Georgia‐Carolina 093                              4431 Brothersville Rd                                    Hephzibah, GA 30815‐4856                                                                            First Class Mail
Chartered Organization         Herbert H. Lehman High School                            Greater New York Councils, Bsa 640                3000 E Tremont Ave                                       Bronx, NY 10461‐5704                                                                                First Class Mail
Chartered Organization         Herbertsville Fire Co                                    Jersey Shore Council 341                          601 Herbertsville Rd                                     Brick, NJ 08724‐5107                                                                                First Class Mail
Chartered Organization         Hercules Lions Club                                      Mt Diablo‐Silverado Council 023                   P.O. Box 5422                                            Hercules, CA 94547‐5422                                                                             First Class Mail
Chartered Organization         Hercules Police Dept                                     Mt Diablo‐Silverado Council 023                   111 Civic Dr                                             Hercules, CA 94547‐1771                                                                             First Class Mail
Chartered Organization         Here 4 Youth ‐ Lutheran Social Services                  Sioux Council 733                                 1721 W 51st St                                           Sioux Falls, SD 57105‐6615                                                                          First Class Mail
Chartered Organization         Hereford First Utd Methodist Church                      Golden Spread Council 562                         501 Main St                                              Hereford, TX 79045‐5248                                                                             First Class Mail
Chartered Organization         Hereford Police Dept                                     Golden Spread Council 562                         212 Lee Ave                                              Hereford, TX 79045‐5340                                                                             First Class Mail
Chartered Organization         Hereford Ward ‐ Lds Sierra Vista Stake                   Catalina Council 011                              5255 S Laguna Ave                                        Sierra Vista, AZ 85650‐9765                                                                         First Class Mail
Chartered Organization         Heritage Academy Elementary                              Atlanta Area Council 092                          3500 Villa Cir Se                                        Atlanta, GA 30354‐2848                                                                              First Class Mail
Chartered Organization         Heritage Baptist Church                                  Heart of Virginia Council 602                     700 Milnwood Rd                                          Farmville, VA 23901‐2534                                                                            First Class Mail
Chartered Organization         Heritage Baptist Church                                  Central N Carolina Council 416                    1301 S Long Dr                                           Rockingham, NC 28379‐4862                                                                           First Class Mail
Chartered Organization         Heritage Baptist Church                                  Caddo Area Council 584                            5801 N Kings Hwy                                         Texarkana, TX 75503‐5068                                                                            First Class Mail
Chartered Organization         Heritage Baptist Church                                  Occoneechee 421                                   230 Capcom Ave                                           Wake Forest, NC 27587‐6510                                                                          First Class Mail
Chartered Organization         Heritage Bible Church                                    Blue Ridge Council 551                            2005 Old Spartanburg Rd                                  Greer, SC 29650‐2762                                                                                First Class Mail
Chartered Organization         Heritage Charter Academy                                 Southwest Florida Council 088                     2119 Santa Barbara Blvd                                  Cape Coral, FL 33991‐4335                                                                           First Class Mail
Chartered Organization         Heritage Christian Academy                               Circle Ten Council 571                            1408 S Goliad St                                         Rockwall, TX 75087‐4602                                                                             First Class Mail
Chartered Organization         Heritage Christian Church                                Flint River Council 095                           2130 Redwine Rd                                          Fayetteville, GA 30215‐5620                                                                         First Class Mail
Chartered Organization         Heritage Christian Church                                Simon Kenton Council 441                          7413 Maxtown Rd                                          Westerville, OH 43082‐9040                                                                          First Class Mail
Chartered Organization         Heritage Christian Fellowship                            Narragansett 546                                  358 Warwick Neck Ave                                     Warwick, RI 02889‐6058                                                                              First Class Mail
Chartered Organization         Heritage Christian Schools                               Potawatomi Area Council 651                       3500 S Glen Park Rd                                      New Berlin, WI 53151‐5222                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                Page 155 of 442
                                                                                 Case 20-10343-LSS                                              Doc 8171                                      Filed 01/06/22                                                      Page 171 of 457
                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                  Service List
                                                                                                                                                                           Served as set forth below

        Description                                                       Name                                                                                                 Address                                                                                                                Email                Method of Service
Voting Party                   Heritage Church                                               Attn: Roger Goins                            1604 E Pointer Trl                                         Van Buren, AR 72956                                                    rgoins@heritage.church              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Heritage Church Of Christ                                     Longhorn Council 662                         4201 Heritage Trace Pkwy                                   Fort Worth, TX 76244‐6026                                                                                  First Class Mail
Chartered Organization         Heritage Elem Parent Teacher Org                              Lincoln Heritage Council 205                 6535 Waddy Rd                                              Waddy, KY 40076‐6101                                                                                       First Class Mail
Chartered Organization         Heritage Elementary School Pta                                Del Mar Va 081                               2815 Highlands Ln                                          Wilmington, DE 19808‐3629                                                                                  First Class Mail
Chartered Organization         Heritage Fellowship Church                                    National Capital Area Council 082            2501 Fox Mill Rd                                           Reston, VA 20191‐2552                                                                                      First Class Mail
Chartered Organization         Heritage High School Pto                                      Middle Tennessee Council 560                 220 West Dr                                                White House, TN 37188‐9261                                                                                 First Class Mail
Chartered Organization         Heritage Middle School                                        Lake Erie Council 440                        14410 Terrace Rd                                           Cleveland, OH 44112‐3928                                                                                   First Class Mail
Chartered Organization         Heritage Parent Teacher Organization                          Heart of America Council 307                 1700 E Pawnee Dr                                           Olathe, KS 66062‐3200                                                                                      First Class Mail
Chartered Organization         Heritage Park                                                 Northern Star Council 250                    1000 Olson Memorial Hwy                                    Minneapolis, MN 55411‐4132                                                                                 First Class Mail
Chartered Organization         Heritage Presbyterian Church                                  Atlanta Area Council 092                     5323 Bells Ferry Rd                                        Acworth, GA 30102‐2523                                                                                     First Class Mail
Chartered Organization         Heritage Presbyterian Church                                  National Capital Area Council 082            8503 Fort Hunt Rd                                          Alexandria, VA 22308‐2519                                                                                  First Class Mail
Chartered Organization         Heritage Presbyterian Church                                  Lake Erie Council 440                        P.O. Box 834                                               Amherst, OH 44001‐0834                                                                                     First Class Mail
Chartered Organization         Heritage Presbyterian Church                                  Cornhusker Council 324                       880 S 35th St                                              Lincoln, NE 68510‐3415                                                                                     First Class Mail
Chartered Organization         Heritage Presbyterian Church                                  Dan Beard Council, Bsa 438                   6546 S Mason Montgomery Rd                                 Mason, OH 45040‐9565                                                                                       First Class Mail
Chartered Organization         Heritage Presbyterian Church                                  Great Trail 433                              1951 Mathews Rd                                            Youngstown, OH 44514‐1461                                                                                  First Class Mail
Voting Party                   Heritage Presbyterian Church                                  Attn: Richard Maurice Avner                  5830 W Greenbriar Dr                                       Glendale, AZ 85308                                                     Rmavner@q.com                       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Heritage Presbyterian Church                                  5830 W Greenbriar Dr                         Glendale, AZ 85308                                                                                                                Rmavner@q.com                       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Heritage Presbyterian Church                                  Attn: Jay Weyers                             880 S 35th St                                              Lincoln, NE 68510                                                      assistant@heritagepres.org          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Heritage Presbyterian Church                                  880 S 35th St                                Lincoln, NE 68510                                                                                                                                                     First Class Mail
Voting Party                   Heritage United Methodist Church                              312 Harrison St                              Monroe, MI 48161                                                                                                                  monroefumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Heritage United Methodist Church                              Attn: Richard Tidd, Trustees Chair           7077 S Simms St                                            Littleton, CO 80127                                                    kirsten.barlow@heritageumc.church   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Heritage United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Heritage United Methodist Church                              Attn: Amy Beth Coleman                       582 Leesville Rd                                           Lynchburg, VA 24502                                                    amybethcoleman@vaumc.org            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Heritage United Methodist Church                              Attn: Amy Beth Coleman                       582 Leesville Rd                                           Lynchburg, VA 24503                                                    amybethcoleman@vaumc.org            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Heritage United Methodist Church                              Attn: Christopher Robert Symes               5300 E Kenosha St                                          Broken Arrow, OK 74014                                                                                     First Class Mail
Voting Party                   Heritage United Methodist Church (98164)                      c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Heritage United Methodist Church At Countryside, Inc          c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Heritage Utd Methodist Chruch                                 Pine Burr Area Council 304                   3 Baracuda Dr                                              Hattiesburg, MS 39402‐9524                                                                                 First Class Mail
Chartered Organization         Heritage Utd Methodist Church                                 Greater Tampa Bay Area 089                   2680 Landmark Dr                                           Clearwater, FL 33761‐3912                                                                                  First Class Mail
Chartered Organization         Heritage Utd Methodist Church                                 Pine Burr Area Council 304                   4322 Popps Ferry Rd                                        Diberville, MS 39540‐2349                                                                                  First Class Mail
Chartered Organization         Heritage Utd Methodist Church                                 Westmoreland Fayette 512                     107 S Market St                                            Ligonier, PA 15658‐1214                                                                                    First Class Mail
Chartered Organization         Heritage Utd Methodist Church                                 Heart of America Council 307                 12850 Quivira Rd                                           Overland Park, KS 66213‐3822                                                                               First Class Mail
Chartered Organization         Heritage Utd Methodist Church                                 Westark Area Council 016                     1604 E Pointer Trl                                         Van Buren, AR 72956‐2326                                                                                   First Class Mail
Chartered Organization         Heritage Utd Methodist Church Mens Cl                         Pine Burr Area Council 304                   P.O. Box 15728                                             Hattiesburg, MS 39404‐5728                                                                                 First Class Mail
Chartered Organization         Herman Jones Vfw Post 8676                                    Last Frontier Council 480                    P.O. Box 4                                                 Hollis, OK 73550‐0004                                                                                      First Class Mail
Chartered Organization         Herman Kent Post 777                                          Allegheny Highlands Council 382              26 Jackson Ave We                                          Celoron, NY 14720                                                                                          First Class Mail
Chartered Organization         Herman Kent Post 777                                          Allegheny Highlands Council 382              26 Jackson Ave We                                          Jamestown, NY 14701                                                                                        First Class Mail
Firm                           Herman Law                                                    Andrew Silvershein                           1800 N Military Trail, Ste 160                             Boca Raton, FL 33431                                                   bsa@hermanlaw.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Firm                           Herman Law                                                    Jeffrey M. Herman                            1800 N Military Trail, Ste 160                             Boca Raton, FL 33431                                                   BSA@hermanlaw.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Firm                           Herman Law                                                    Jeffrey M. Herman                            1801 N Military Trail, Ste 160                             Boca Raton, FL 33431                                                                                       First Class Mail
Chartered Organization         Herman Volounteer Fire Co                                     Moraine Trails Council 500                   P.O. Box 87                                                Herman, PA 16039‐0087                                                                                      First Class Mail
Voting Party                   Herminie United Methodist Church (189555)                     c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Herminie Utd Methodist Church                                 Westmoreland Fayette 512                     3365 Pike St                                               Herminie, PA 15637‐1461                                                                                    First Class Mail
Chartered Organization         Hermitage Hills Baptist Church                                Middle Tennessee Council 560                 3475 Lebanon Pike                                          Hermitage, TN 37076‐2083                                                                                   First Class Mail
Chartered Organization         Hermitage Presbyterian Church                                 Middle Tennessee Council 560                 421 Highland View Dr                                       Hermitage, TN 37076‐1413                                                                                   First Class Mail
Voting Party                   Hermitage Umc                                                 Attn: Joseph Parker                          205 Belinda Dr                                             Hermitage, TN 37076                                                    JOEY@HUMC.ORG                       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hermon Volunteer Fire Dept                                    Longhouse Council 373                        P.O. Box 177                                               Hermon, NY 13652‐0177                                                                                      First Class Mail
Chartered Organization         Hermosa School Pto                                            Conquistador Council Bsa 413                 601 W Hermosa Dr                                           Artesia, NM 88210‐2772                                                                                     First Class Mail
Chartered Organization         Hernandez Middle School                                       Capitol Area Council 564                     1901 Sunrise Rd                                            Round Rock, TX 78664‐2349                                                                                  First Class Mail
Voting Party                   Hernando Baptist Church                                       Attn: Ronald Leonard                         11 E Center St                                             Hernando, MS 38632                                                     ron@hernandobaptist.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hernando County Sheriffs Office                               Greater Tampa Bay Area 089                   18900 Cortez Blvd                                          Brooksville, FL 34601‐3027                                                                                 First Class Mail
Chartered Organization         Hernando Optimist Club                                        Chickasaw Council 558                        P.O. Box 532                                               Hernando, MS 38632‐0532                                                                                    First Class Mail
Chartered Organization         Hernando Rotary Club                                          Chickasaw Council 558                        1645 Oak Crest Rd                                          Hernando, MS 38632‐6699                                                                                    First Class Mail
Voting Party                   Hernando United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Herndon UMC 701 Bennett St, Herndon, VA 20170                 c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Herndon Utd Methodist Church                                  National Capital Area Council 082            701 Bennett St                                             Herndon, VA 20170‐3105                                                                                     First Class Mail
Chartered Organization         Hernwood Elementary School                                    Baltimore Area Council 220                   9919 Marriottsville Rd                                     Randallstown, MD 21133‐1503                                                                                First Class Mail
Chartered Organization         Hero Complex & Entertainment Corp                             Quivira Council, Bsa 198                     2120 N Woodlawn St, Ste 314                                Wichita, KS 67208‐1889                                                                                     First Class Mail
Chartered Organization         Herrin First Baptist Church                                   Greater St Louis Area Council 312            1500 S 13th St                                             Herrin, IL 62948‐4158                                                                                      First Class Mail
Chartered Organization         Herrington Bethel Utd Methodist Ch                            Buckeye Council 436                          4009 Arbor Rd Ne                                           Mechanicstown, OH 44651‐9073                                                                               First Class Mail
Voting Party                   Herrmann, Jeffrie A                                           Address Redacted                                                                                                                                                               Email Address Redacted              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hershey School P T A                                          Sagamore Council 162                         7521 E 300 N                                               Lafayette, IN 47905‐8476                                                                                   First Class Mail
Chartered Organization         Hertford Utd Methodist Church                                 Tidewater Council 596                        200 Dobbs St                                               Hertford, NC 27944‐1125                                                                                    First Class Mail
Chartered Organization         Herzog Elementary School                                      Greater St Louis Area Council 312            5831 Pamplin Ave                                           Saint Louis, MO 63147‐1017                                                                                 First Class Mail
Chartered Organization         Heshbon Park Utd Methodist Church                             Susquehanna Council 533                      2898 Heshbon Rd                                            Williamsport, PA 17701‐1077                                                                                First Class Mail
Voting Party                   Hesperia United Methodist Church                              Attn: Erich Schmitt                          P.O. Box 401218                                            Hesperia, CA 92340                                                     schmittek1@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hess Academy                                                  Atlanta Area Council 092                     611 Medlock Rd                                             Decatur, GA 30033‐5510                                                                                     First Class Mail
Chartered Organization         Hess Pumice Products, Inc                                     Grand Teton Council 107                      100 Hess Dr                                                Malad City, ID 83252‐6665                                                                                  First Class Mail
Chartered Organization         Hessel Fire Fighters Assoc                                    Redwood Empire Council 041                   4500 Hessel Rd                                             Sebastopol, CA 95472‐6267                                                                                  First Class Mail
Voting Party                   Hesston United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hesston United Methodist Church                               7901 W 21st St N                             Wichita, KS 67205                                                                                                                                                     First Class Mail
Chartered Organization         Hesston Utd Methodist Church                                  Quivira Council, Bsa 198                     600 N Ridge Rd                                             Hesston, KS 67062                                                                                          First Class Mail
Chartered Organization         Hesston Utd Methodist Church                                  Quivira Council, Bsa 198                     P.O. Box 9                                                 Hesston, KS 67062‐0009                                                                                     First Class Mail
Chartered Organization         Hetrick Aviation, Inc                                         Jayhawk Area Council 197                     3600 NE Sardou Ave                                         Topeka, KS 66616‐1678                                                                                      First Class Mail
Chartered Organization         Hettinger American Legion Post 115                            Northern Lights Council 429                  P.O. Box 704                                               Hettinger, ND 58639‐0704                                                                                   First Class Mail
Chartered Organization         Heuvelton Volunteer Fire Dept                                 Longhouse Council 373                        95 State St                                                Heuvelton, NY 13654‐4601                                                                                   First Class Mail
Voting Party                   Hewitt First United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hewitt First United Methodist Church                          600 S 1st St                                 Hewit, TX 76643                                                                                                                                                       First Class Mail
Chartered Organization         Hewitt First Utd Methodist Church                             Longhorn Council 662                         P.O. Box 398                                               Hewitt, TX 76643‐0398                                                                                      First Class Mail
Chartered Organization         Hewitt Presbyterian Church                                    Laurel Highlands Council 527                 1206 Crucible Rd                                           Rices Landing, PA 15357‐2133                                                                               First Class Mail
Chartered Organization         Heyburn ‐ Paul Stake                                          Snake River Council 111                      300 S 500 W                                                Heyburn, ID 83336                                                                                          First Class Mail
Chartered Organization         Heyburn 1St Ward ‐ Rupert West Stake                          Snake River Council 111                      530 Villa Dr                                               Heyburn, ID 83336                                                                                          First Class Mail
Chartered Organization         Heyburn 2Nd Ward ‐ Rupert West Stake                          Snake River Council 111                      530 Villa Dr                                               Heyburn, ID 83336                                                                                          First Class Mail
Chartered Organization         Heyer Elementary Pto                                          Potawatomi Area Council 651                  1209 Heyer Dr                                              Waukesha, WI 53186‐6807                                                                                    First Class Mail
Chartered Organization         Hi Point Chrch Of Christ                                      Tecumseh 439                                 1815 State Route 540                                       Bellefontaine, OH 43311‐9508                                                                               First Class Mail
Chartered Organization         Hialeah Gardens Middle School                                 South Florida Council 084                    11700 Hialeah Gardens Blvd                                 Hialeah Gardens, FL 33018‐4279                                                                             First Class Mail
Chartered Organization         Hialeah Gardens Optimist Club                                 South Florida Council 084                    2055 SW 97th Ave                                           Miami, FL 33165‐8016                                                                                       First Class Mail
Chartered Organization         Hialeah High School Afjrotc                                   South Florida Council 084                    251 E 47th St                                              Hialeah, FL 33013‐1843                                                                                     First Class Mail
Chartered Organization         Hialeah Miami Lakes Senior High School                        South Florida Council 084                    7977 W 12th Ave                                            Hialeah, FL 33014‐3534                                                                                     First Class Mail
Chartered Organization         Hianloland Fire Co                                            Narragansett 546                             270 Victory Hwy                                            West Greenwich, RI 02817‐2155                                                                              First Class Mail
Chartered Organization         Hiawassee Elementary School Pta                               Central Florida Council 083                  6800 Hennepin Blvd                                         Orlando, FL 32818‐5357                                                                                     First Class Mail
Chartered Organization         Hiawassee Utd Methodist Church                                Northeast Georgia Council 101                P.O. Box 609                                               Hiawassee, GA 30546‐0609                                                                                   First Class Mail
Voting Party                   Hiawasseee Umc 1139 Us Hwy 76 W Hiawassee, Ga 30546           c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hiawatha Elementary School Pto                                Water and Woods Council 782                  1900 Jolly Rd                                              Okemos, MI 48864‐4088                                                                                      First Class Mail
Chartered Organization         Hiawatha Firefighters Assoc                                   Hawkeye Area Council 172                     101 Emmons St                                              Hiawatha, IA 52233‐1610                                                                                    First Class Mail
Chartered Organization         Hiawatha Kiwanis Club                                         c/o Jeremy Stover                            1705 Oregon St                                             Hiawatha, KS 66434‐8902                                                                                    First Class Mail
Chartered Organization         Hiawatha Pto                                                  Hawkeye Area Council 172                     603 Emmons St                                              Hiawatha, IA 52233‐1723                                                                                    First Class Mail
Chartered Organization         Hibben Methodist Church                                       Coastal Carolina Council 550                 690 Coleman Blvd                                           Mount Pleasant, SC 29464‐4018                                                                              First Class Mail
Voting Party                   Hibben United Methodist Church, Inc.                          c/o Hibben Umc                               Attn: Ronald Chinnes                                       690 Coleman Blvd                  Mount Pleasant, SC 29464             rchinnes@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hibernia United Methodist Church                              Attn: Pastor Shauna Ridge                    220 Hibernia Rd                                            Coatesville, PA 19320                                                  pastorshaunahumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hickman Civitan Club Inc                                      Middle Tennessee Council 560                 P.O. Box 257                                               Centerville, TN 37033‐0257                                                                                 First Class Mail
Voting Party                   Hickman Presbyterian Church                                   Attn: David Dudley                           300 E 3rd St                                               Hickman, NE 68372                                                      hickmanchurch@windstream.net        Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hickory Baptist Church                                        Tuscarora Council 424                        11341 N US 421 Hwy                                         Clinton, NC 28328‐0353                                                                                     First Class Mail
Chartered Organization         Hickory Creek Elementary School ‐ Pto                         North Florida Council 087                    235 Hickory Creek Trl                                      Jacksonville, FL 32259‐8368                                                                                First Class Mail
Voting Party                   Hickory Flat United Methodist Church ‐ Canton                 c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hickory Flat United Methodist Church, Canton                  4056 E Cherokee Dr                           Canton, GA 30115                                                                                                                                                      First Class Mail
Chartered Organization         Hickory Flat Utd Methodist Church                             Atlanta Area Council 092                     4056 E Cherokee Dr                                         Canton, GA 30115‐9212                                                                                      First Class Mail
Voting Party                   Hickory Grove (Greensboro) 5959 Hickory Grove Rd Greensboro   c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hickory Grove Baptist Church                                  Tuscarora Council 424                        11341 N US 421 Hwy                                         Clinton, NC 28328‐0353                                                                                     First Class Mail
Chartered Organization         Hickory Grove Church Of The Brethren                          Anthony Wayne Area 157                       9169 W State Rd 26                                         Dunkirk, IN 47336‐9084                                                                                     First Class Mail
Chartered Organization         Hickory Grove Pto                                             W D Boyce 138                                2514 W Hickory Grove Rd                                    Dunlap, IL 61525‐9802                                                                                      First Class Mail
Voting Party                   Hickory Grove Umc 9983 Nc Hwy 700 Pelham, Nc 27311            c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hickory Grove Utd Methodist Church                            Mecklenburg County Council 415               6401 Hickory Grove Rd                                      Charlotte, NC 28215‐4252                                                                                   First Class Mail
Chartered Organization         Hickory Grove Utd Methodist Church                            Old N State Council 070                      5959 Hickory Grove Rd                                      Greensboro, NC 27409‐9282                                                                                  First Class Mail
Chartered Organization         Hickory Hills Elementary Pta                                  Atlanta Area Council 092                     500 Redwood Dr Sw                                          Marietta, GA 30064‐3615                                                                                    First Class Mail
Chartered Organization         Hickory Police Dept                                           Piedmont Council 420                         347 2nd Ave Sw                                             Hickory, NC 28602‐2844                                                                                     First Class Mail
Chartered Organization         Hickory Ridge Community Assoc                                 Baltimore Area Council 220                   6175 Sunny Spg                                             Columbia, MD 21044‐5623                                                                                    First Class Mail
Chartered Organization         Hickory Ruritan Club                                          Tidewater Council 596                        2752 Battlefield Blvd S                                    Chesapeake, VA 23322‐2301                                                                                  First Class Mail
Chartered Organization         Hickory St Presbyterian Church                                Northeastern Pennsylvania Council 501        427 Hickory St                                             Scranton, PA 18505‐1113                                                                                    First Class Mail
Voting Party                   Hickory Street Presbyterian Church                            c/o Kreder Brooks Hailstone LLP              Attn: David K Brown                                        220 Penn Ave, Ste 200             Scranton, PA 18503                   dbrown@kbh‐law.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hickory Street Presbyterian Church                            Attn: Brian Klatt President Board of Ttees   435 Hickory St                                             Scranton, PA 18505                                                     brianklatt916@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hickory Umc ‐ Chesapeake                                      c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hickory United Methodist Church (86703)                       c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hickory Utd Methodist Church                                  Tidewater Council 596                        2708 Battlefield Blvd S                                    Chesapeake, VA 23322‐2301                                                                                  First Class Mail
Chartered Organization         Hickory Utd Methodist Church                                  French Creek Council 532                     240 N Hermitage Rd                                         Hermitage, PA 16148‐3319                                                                                   First Class Mail
Chartered Organization         Hickory Utd Presbyterian Church                               Laurel Highlands Council 527                 P.O. Box 97                                                Hickory, PA 15340‐0097                                                                                     First Class Mail
Voting Party                   Hicks Memorial United Methodist Church (01410)                c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hicks Memorial Utd Methodist Church                           Laurel Highlands Council 527                 1211 3rd Ave                                               Duncansville, PA 16635‐1350                                                                                First Class Mail
Chartered Organization         Hicksville Foe 2556                                           Black Swamp Area Council 449                 213 E Edgerton St                                          Hicksville, OH 43526‐1406                                                                                  First Class Mail
Voting Party                   Hicksville Trinity UMC                                        Attn: Tisha Harvey                           137 E High Stt                                             Hicksville, OH 43526                                                   trinityhicksville@frontier.com      Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hicksville United Methodist Church                            Attn: Richard Hamann                         130 Old Country Rd                                         Hicksville, NY 11801                                                   rotor606hd@aol.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hico Umc                                                      c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hico Umc                                                      400 W 1st St                                 Hico, TX 76457                                                                                                                                                        First Class Mail
Chartered Organization         Hidalgo Customs Post 2305                                     Rio Grande Council 775                       9901 S Cage Blvd                                           Pharr, TX 78577‐8650                                                                                       First Class Mail
Chartered Organization         Hidden Hollow Pta                                             Sam Houston Area Council 576                 4104 Appalachian Trl                                       Kingwood, TX 77345‐1099                                                                                    First Class Mail
Chartered Organization         Hidden Oaks Elementary School‐Pta                             Gulf Stream Council 085                      7685 S Military Trl                                        Lake Worth, FL 33463‐8142                                                                                  First Class Mail
Chartered Organization         Hidden Oaks Middle School Builders Club                       Gulf Stream Council 085                      2801 SW Martin Hwy                                         Palm City, FL 34990‐3127                                                                                   First Class Mail
Chartered Organization         Hidden Valley School Organization                             Redwood Empire Council 041                   3435 Bonita Vista Ln                                       Santa Rosa, CA 95404‐1823                                                                                  First Class Mail
Chartered Organization         Hidden Valley Ward ‐ Lds Tucson Stake                         Catalina Council 011                         6150 E Fairmount St                                        Tucson, AZ 85712                                                                                           First Class Mail
Chartered Organization         Hidden Village (Bellevue B&Gc)                                Chief Seattle Council 609                    14508 SE 24th St                                           Bellevue, WA 98007‐6221                                                                                    First Class Mail
Chartered Organization         Hidenwood Presbyterian Church                                 Colonial Virginia Council 595                414 Hiden Blvd                                             Newport News, VA 23606‐2851                                                                                First Class Mail
Voting Party                   Higganum United Methodist Church                              Attn: Finance Committee Chair                248 Saybrook Rd                                            Higganum, CT 06441                                                     rekj32@hotmail.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Higgins Memorial Umc 101 N Main St, Burnsville, Nc 287        c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Higgins Memorial Utd Methodist                                Daniel Boone Council 414                     P.O. Box 85                                                Burnsville, NC 28714‐0085                                                                                  First Class Mail
Chartered Organization         High Achievers Aim High                                       Dan Beard Council, Bsa 438                   7942 Glenorchard Dr                                        Cincinnati, OH 45237‐1004                                                                                  First Class Mail
Chartered Organization         High Adventure Scout Parents Tinley                           Pathway To Adventure 456                     17532 Duvan Dr                                             Tinley Park, IL 60477‐3631                                                                                 First Class Mail
Chartered Organization         High Bridge Utd Methodist Church                              Washington Crossing Council 777              38 Church St                                               High Bridge, NJ 08829‐1509                                                                                 First Class Mail
Chartered Organization         High Desert Respiratory                                       W.L.A.C.C. 051                               42247 12th St W Hills                                      Lancaster, CA 93534                                                                                        First Class Mail
Chartered Organization         High Desert Training                                          Grand Canyon Council 010                     30012 N Cave Creek Rd, Ste 103                             Cave Creek, AZ 85331‐5833                                                                                  First Class Mail
Chartered Organization         High Plains Lions Club                                        Coronado Area Council 192                    2247 Hwy K25                                               Colby, KS 67701‐9117                                                                                       First Class Mail
Chartered Organization         High Point Academy                                            Longhorn Council 662                         1256 N Jim Wright Fwy                                      White Settlement, TX 76108‐1048                                                                            First Class Mail
Chartered Organization         High Point Baptist Church                                     Transatlantic Council, Bsa 802               Cmr 411 Box 3072                                           Apo, AE 09112‐0031                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                  Page 156 of 442
                                                                                   Case 20-10343-LSS                                                Doc 8171                                 Filed 01/06/22                                                   Page 172 of 457
                                                                                                                                                                                Exhibit B
                                                                                                                                                                                 Service List
                                                                                                                                                                          Served as set forth below

        Description                                                         Name                                                                                              Address                                                                                                           Email              Method of Service
Chartered Organization         High Point Church Of Orlando                                   Central Florida Council 083                     476 Ocoee Commerce Pkwy                               Ocoee, FL 34761‐4217                                                                                First Class Mail
Chartered Organization         High Point Fire Dept                                           Old N State Council 070                         434 S Elm St                                          High Point, NC 27260‐6619                                                                           First Class Mail
Voting Party                   High Point First 512 North Main                                c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         High Point Police Dept                                         Old N State Council 070                         1009 Leonard Ave                                      High Point, NC 27260‐5321                                                                           First Class Mail
Chartered Organization         High Pointe Baptist Church                                     Circle Ten Council 571                          101 High Pointe Ln                                    Cedar Hill, TX 75104‐5107                                                                           First Class Mail
Chartered Organization         High Ridge Elementary Ptg                                      Greater St Louis Area Council 312               2901 High Ridge Blvd                                  High Ridge, MO 63049‐2212                                                                           First Class Mail
Chartered Organization         High Ridge Elks                                                Greater St Louis Area Council 312               1990 Old Hillsboro Rd                                 High Ridge, MO 63049                                                                                First Class Mail
Chartered Organization         High Ridge Memorial Post 6516 Vfw                              Greater St Louis Area Council 312               2220 B Old Gravois                                    High Ridge, MO 63049                                                                                First Class Mail
Chartered Organization         High Springs Police Dept                                       North Florida Council 087                       23720 NW 187th Ave                                    High Springs, FL 32643‐0043                                                                         First Class Mail
Voting Party                   High St United Methodist Church                                Attn: Sarah Moon                                243 W High St                                         Fostoria, OH 44830                                                  hsumc@sbcglobal.net             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   High Street Umc ‐ Courtland                                    c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   High Street Umc (Williamsport)                                 c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   High Street United Methodist Church                            Attn: Melissa Morris                            219 S High St                                         Muncie, IN 47305                                                    mmorris@munciehighstreet.com    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         High Street Utd Methodist Church                               Colonial Virginia Council 595                   P.O. Box 218                                          Franklin, VA 23851‐0218                                                                             First Class Mail
Chartered Organization         Highcrest School P T O                                         Connecticut Rivers Council, Bsa 066             95 Highcrest Rd                                       Wethersfield, CT 06109‐4030                                                                         First Class Mail
Chartered Organization         Highcroft Ridge Pso                                            Greater St Louis Area Council 312               15380 Highcroft Dr                                    Chesterfield, MO 63017‐5435                                                                         First Class Mail
Chartered Organization         Highcroft Ridge Pso                                            Greater St Louis Area Council 312               15380 Highcroft Dr                                    Chesterfield, MO 63017‐5435                                                                         First Class Mail
Chartered Organization         Higher Achievement Homewood                                    Laurel Highlands Council 527                    211 N Whitfield St                                    Pittsburgh, PA 15206‐3039                                                                           First Class Mail
Chartered Organization         Higher Achievement West End ‐ Langley                          Laurel Highlands Council 527                    211 N Whitfield St                                    Pittsburgh, PA 15206‐3039                                                                           First Class Mail
Chartered Organization         Higher Ground Academy                                          Northern Star Council 250                       1381 Marshall Ave                                     Saint Paul, MN 55104‐6315                                                                           First Class Mail
Chartered Organization         Higher Grounds ‐ Brookfield                                    San Francisco Bay Area Council 028              401 Jones Ave                                         Oakland, CA 94603‐1123                                                                              First Class Mail
Chartered Organization         Higher Grounds ‐ Madison Park Academy                          San Francisco Bay Area Council 028              470 El Paseo Dr                                       Oakland, CA 94603‐3565                                                                              First Class Mail
Chartered Organization         Higher Grounds ‐ Parker Elementary                             San Francisco Bay Area Council 028              7929 Ney Ave                                          Oakland, CA 94605‐3311                                                                              First Class Mail
Chartered Organization         Higherground‐Rise/New Highland                                 San Francisco Bay Area Council 028              7929 Ney Ave                                          Oakland, CA 94605‐3311                                                                              First Class Mail
Voting Party                   Highgate United Methodist Church                               Attn: Bonnie Hovermann                          275 Manley Rd                                         Milton, VT 05468                                                    Hovermann4@comcast.net          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highgrove United Methodist Church                              938 Center St                                   Riverside, CA 92507                                                                                                       krayers@sbcglobal.net           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland Ave Fellowship                                        c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland Ave United Methodist Church                           Attn: Kathleen M. Decker Szakas                 35 Highland Ave                                       Gardiner, ME 04345                                                  vickirecord@gmail.com           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland Avenue United Methodist Church                        204 Highland Ave                                Fairmont, WV 26554                                                                                                        jladams11@outlook.com           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland Baptist Christian School                              607 Victory Dr                                  New Iberia, LA 70563                                                                                                                                      First Class Mail
Chartered Organization         Highland Baptist Church                                        Lincoln Heritage Council 205                    511 Mount Eden Rd                                     Shelbyville, KY 40065‐8871                                                                          First Class Mail
Voting Party                   Highland Baptist Church                                        Attn: Julius W Grubbs Jr                        607 Victory Dr                                        New Iberia, LA 70563                                                jwgrubbs@hmg‐law.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland Baptist Church Of Meridian, Inc.                      Attn: James R Mozingo                           P.O. Box 4587                                         Jackson, MS 39296                                                   jmozingo@mozingolaw.com         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland Baptist Church Shelbyville, Inc                       511 Mt Eden Rd                                  Shelbyville, KY 40065                                                                                                     office@hbcshelbyville.com       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Highland Catholic School                                       Northern Star Council 250                       2017 Bohland Ave                                      Saint Paul, MN 55116‐1911                                                                           First Class Mail
Chartered Organization         Highland Cemetery                                              Dan Beard Council, Bsa 438                      2167 Dixie Hwy                                        Ft Mitchell, KY 41017‐2904                                                                          First Class Mail
Chartered Organization         Highland Christian Church                                      Blue Grass Council 204                          265 Versailles Rd                                     Frankfort, KY 40601‐3209                                                                            First Class Mail
Chartered Organization         Highland Christian Church                                      Pony Express Council 311                        P.O. Box 127                                          Highland, KS 66035‐0127                                                                             First Class Mail
Voting Party                   Highland Church                                                Attn: Will Morgan                               P.O. Box 15517                                        Hattiesburg, MS 39404                                               admin@highlandchurch.net        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland Church                                                c/o Jackson, Tullos & Rogers, Pllc              Attn: Will Morgan                                     P.O. Box 15517                    Hattiesburg, MS 39404             admin@highland church.net       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Highland Church Of Christ                                      Texas Trails Council 561                        425 Highland Ave                                      Abilene, TX 79605‐2014                                                                              First Class Mail
Chartered Organization         Highland Community Church                                      Chief Seattle Council 609                       3031 NE 10th St                                       Renton, WA 98056‐3131                                                                               First Class Mail
Chartered Organization         Highland Engine & Hose Co                                      Hudson Valley Council 374                       P.O. Box 600                                          Florida, NY 10921‐0600                                                                              First Class Mail
Chartered Organization         Highland Friendship Club                                       Northern Star Council 250                       P.O. Box 16437                                        Saint Paul, MN 55116‐0437                                                                           First Class Mail
Chartered Organization         Highland Gardens Elementary School                             Tukabatchee Area Council 005                    2801 Willena Ave                                      Montgomery, AL 36107‐1055                                                                           First Class Mail
Chartered Organization         Highland Hill Southeast Vfw 837                                Alamo Area Council 583                          4436 Valleyfield St                                   San Antonio, TX 78222‐3719                                                                          First Class Mail
Chartered Organization         Highland Hose Volunteer Fire Co                                Greater Niagara Frontier Council 380            George Nalbo Dr                                       Derby, NY 14047                                                                                     First Class Mail
Chartered Organization         Highland Hospital Dept Family Med                              Seneca Waterways 397                            777 Clinton Ave S                                     Rochester, NY 14620‐1448                                                                            First Class Mail
Chartered Organization         Highland House                                                 Crater Lake Council 491                         2201 NW Highland Ave                                  Grants Pass, OR 97526‐3365                                                                          First Class Mail
Chartered Organization         Highland Hts Fire Dept                                         Lake Erie Council 440                           5827 Highland Rd                                      Highland Hts, OH 44143‐2017                                                                         First Class Mail
Chartered Organization         Highland Lake Congregational Church                            Pine Tree Council 218                           1303 Bridgton Rd                                      Westbrook, ME 04092‐2527                                                                            First Class Mail
Chartered Organization         Highland Lake Congregational Church                            Pine Tree Council 218                           25 Anderson Rd                                        Windham, ME 04062‐4008                                                                              First Class Mail
Chartered Organization         Highland Lakes Umc                                             Capitol Area Council 564                        8303 Farm Rd 1431                                     Buchanan Dam, TX 78609                                                                              First Class Mail
Voting Party                   Highland Lutheran Church                                       38809 NE 41st Ave                               La Center, WA 98629                                                                                                       erikniemi@gmail.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Highland Middle School                                         Crossroads of America 160                       1600 Hillcrest Ave                                    Anderson, IN 46011‐1004                                                                             First Class Mail
Voting Party                   Highland Mills United Methodist Church                         Attn: Bob Pollsen, Finance Chair                654 State Route 32                                    Highland Mills, NY 10930                                            hmumc@optonline.net             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Highland Oaks Improvement Assoc                                San Francisco Bay Area Council 028              4530 Sandalwood Dr                                    Pleasanton, CA 94588‐4350                                                                           First Class Mail
Chartered Organization         Highland Park Baptist Church                                   Capitol Area Council 564                        5206 Balcones Dr                                      Austin, TX 78731‐5415                                                                               First Class Mail
Chartered Organization         Highland Park Conservative Temple                              Patriots Path Council 358                       201 S 3rd Ave                                         Highland Park, NJ 08904‐2513                                                                        First Class Mail
Chartered Organization         Highland Park High School                                      Jayhawk Area Council 197                        2424 SE California Ave                                Topeka, KS 66605‐1760                                                                               First Class Mail
Chartered Organization         Highland Park Presbyterian Church                              Circle Ten Council 571                          3821 University Blvd                                  Dallas, TX 75205‐1710                                                                               First Class Mail
Chartered Organization         Highland Park Presbyterian Church                              Northeast Illinois 129                          330 Laurel Ave                                        Highland Park, IL 60035‐2620                                                                        First Class Mail
Chartered Organization         Highland Park Umc                                              Circle Ten Council 571                          3300 Mockingbird Ln                                   Dallas, TX 75205‐2327                                                                               First Class Mail
Voting Party                   Highland Park United Methodist Church                          Attn: Brenda S Hargett                          3300 Mockingbird Ln                                   Dallas, TX 75205                                                    hargettb@hpumc.org              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland Park United Methodist Church, Inc                     Attn: W James Hoffmeyer                         1300 Second Loop Rd                                   Florence, SC 29505                                                  jim@hoffmeyerlaw.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland Park United Methodist Church, Inc.                    Attn: W James Hoffmeyer                         427 Katherines Ct                                     Florence, SC 29505                                                  jim@hoffmeyerlaw.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Highland Park Utd Methodist Church                             Circle Ten Council 571                          Mockingbird Lane                                      Dallas, TX 75205                                                                                    First Class Mail
Chartered Organization         Highland Park Utd Methodist Church                             Pee Dee Area Council 552                        1300 2nd Loop Rd                                      Florence, SC 29505‐2838                                                                             First Class Mail
Chartered Organization         Highland Park Utd Methodist Church                             Cimarron Council 474                            524 N Stallard St                                     Stillwater, OK 74075‐8219                                                                           First Class Mail
Chartered Organization         Highland Park Utd Methodist Church                             Jayhawk Area Council 197                        2914 SE Michigan Ave                                  Topeka, KS 66605‐2648                                                                               First Class Mail
Chartered Organization         Highland Presbyterian Church                                   Pennsylvania Dutch Council 524                  500 E Roseville Rd                                    Lancaster, PA 17601‐6412                                                                            First Class Mail
Chartered Organization         Highland Presbyterian Church                                   Moraine Trails Council 500                      708 Highland Ave                                      New Castle, PA 16101‐2387                                                                           First Class Mail
Chartered Organization         Highland Presbyterian Church                                   Moraine Trails Council 500                      310 Franklin St                                       Slippery Rock, PA 16057‐1105                                                                        First Class Mail
Voting Party                   Highland Presbyterian Church                                   Attn: Esther Kirkpatrick Preston                2380 Cloverdale Ave                                   Winston‐Salem, NC 27103                                             rharris@highlandpres.org        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland Presbyterian Church, Winston‐Salem, North Carolina    c/o Highland Presbyterian Church                2380 Cloverdale Ave                                   Winston‐Salem, NC 27103                                             rharris@highlandpres.org        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland Presbyterian Church, Winston‐Salem, North Carolina    2380 Cloverdale Ave                             Winston‐Salem, NC 27103                                                                                                   esnles@aol.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland Umc ‐ Colonial Heights                                c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland United Methodist                                      Attn: Treasurer                                 1140 Cherokee Rd                                      Lousiville, KY 40204                                                humcl@live.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland United Methodist Church                               Attn: Pamela Haskell                            680 W Livingston Rd                                   Highland, MI 48356                                                  phaskell@humc.us                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland United Methodist Church                               Attn: Jennifer Heindl                           406 N Fort Thomas Ave                                 Fort Thomas, KY 41075                                               office@highlandmethodist.com    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highland United Methodist Church                               Attn: James M Duke III                          1901 Ridge Rd                                         Raleigh, NC 27607                                                   jim@highlandumc.org             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Highland Utd Methodist Church                                  Heart of Virginia Council 602                   125 E Westover Ave                                    Colonial Heights, VA 23834‐3135                                                                     First Class Mail
Voting Party                   Highland Valley United Methodist Church                        Attn: Kimberly Trice                            15524 Chenal Pkwy                                     Little Rock, AR 72211                                               office@hvumc.org                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Highland Veteran Scouter Assoc                                 Pathway To Adventure 456                        3815 Clough Ave                                       Highland, IN 46322‐2230                                                                             First Class Mail
Chartered Organization         Highland Village Lions Foundation Inc                          Longhorn Council 662                            924 Swood Dr                                          Highland Village, TX 75077                                                                          First Class Mail
Chartered Organization         Highland Vly Utd Methodist Little Rock                         Quapaw Area Council 018                         15524 Chenal Pkwy                                     Little Rock, AR 72211‐2018                                                                          First Class Mail
Chartered Organization         Highlands Community Church                                     Chief Seattle Council 609                       3031 NE 10th St                                       Renton, WA 98056‐3131                                                                               First Class Mail
Chartered Organization         Highlands County Sheriff'S Office                              Greater Tampa Bay Area 089                      400 S Eucalyptus St                                   Sebring, FL 33870‐3700                                                                              First Class Mail
Chartered Organization         Highlands Fire Fighter Union                                   Grand Canyon Council 010                        4468 Canyon Loop                                      Flagstaff, AZ 86005‐3727                                                                            First Class Mail
Chartered Organization         Highlands Home & School Assoc                                  Three Fires Council 127                         525 S Brainard St                                     Naperville, IL 60540‐6659                                                                           First Class Mail
Chartered Organization         Highlands Police Dept                                          Monmouth Council, Bsa 347                       171 Bay Ave                                           Highlands, NJ 07732‐1672                                                                            First Class Mail
Voting Party                   Highlands Presbyterian Church                                  Attn: Rev David Baer                            270 Franklin Tpke                                     Allendale, NJ 07401                                                 david@highlandschurch.net       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Highlands Rotary Club                                          Daniel Boone Council 414                        P.O. Box 1741                                         Highlands, NC 28741‐1741                                                                            First Class Mail
Voting Party                   Highlands Umc                                                  c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highlands United Methodist Church                              3131 Osceola St                                 Denver, CO 80212                                                                                                          finance@highlandsumc.com        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highlands United Methodist Church 3825 Clubhouse Rd Lakeland   c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highlawns Umc Rivesville Wv                                    Attn: David W Stilgenbauer                      P.O. Box 205                                          Lost Creek, WV 26358                                                revdaves@yahoo.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Highlawns Umc Scouting Committee                               Mountaineer Area 615                            P.O. Box                                              Paw Paw Ave                       Baxter, WV 26560                                                  First Class Mail
Chartered Organization         Highlawns Utd Methodist Church                                 Mountaineer Area 615                            P.O. Box 66                                           Baxter, WV 26560‐0066                                                                               First Class Mail
Chartered Organization         Highline Kiwanis South                                         Chief Seattle Council 609                       P.O. Box 66091                                        Burien, WA 98166‐0091                                                                               First Class Mail
Chartered Organization         Highline Utd Methodist Church                                  Chief Seattle Council 609                       13015 1st Ave S                                       Burien, WA 98168‐2620                                                                               First Class Mail
Chartered Organization         Highmeadow Pta                                                 Great Lakes Fsc 272                             30175 Highmeadow Rd                                   Farmington Hills, MI 48334‐3015                                                                     First Class Mail
Chartered Organization         Highpoint Baptist Church                                       Mobile Area Council‐Bsa 004                     2421 Lott Rd                                          Eight Mile, AL 36613‐2341                                                                           First Class Mail
Chartered Organization         Highspire Utd Methodist Church                                 New Birth of Freedom 544                        170 2nd St                                            Highspire, PA 17034‐1104                                                                            First Class Mail
Chartered Organization         Hightower Elementary School Pta                                Atlanta Area Council 092                        4236 Tilly Mill Rd                                    Doraville, GA 30360‐3112                                                                            First Class Mail
Voting Party                   Highview Baptist Church, Inc                                   c/o Kaplan Johnson Abate & Bird LLP             Attn: Tyler R Yeager                                  710 W Main St, 4th Fl             Louisville, KY 40202              tyeager@kaplanjohnsonlaw.com    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Highview Baptist Church, Inc                                   7711 Fegenbush Ln                               Louisville, KY 40228                                                                                                                                      First Class Mail
Chartered Organization         Highview Fire Dept                                             Lincoln Heritage Council 205                    7308 Fegenbush Ln                                     Louisville, KY 40228‐1510                                                                           First Class Mail
Chartered Organization         Highwater Congregational Church                                Simon Kenton Council 441                        1213 Dutch Ln Nw                                      Newark, OH 43055‐9596                                                                               First Class Mail
Chartered Organization         Highway Nazarene Church                                        Ozark Trails Council 306                        Rr 2 Box 774                                          Ava, MO 65608                                                                                       First Class Mail
Voting Party                   Highwood Community Umc                                         Attn: Peggy Zeeb                                P.O. Box 74                                           Highwood, MT 59450                                                  mtldybkr@gmail.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Hi‐Ho Class Ctrville Utd Methodist                             Crossroads of America 160                       112 S Morton Ave                                      Centerville, IN 47330‐1231                                                                          First Class Mail
Firm                           Hiliard Martinez Gonzales LLP                                  Amanda Alegria                                  719 South Shoreline Blvd                              Corpus Christi, TX 78401                                            BSDA@hmglawfirm.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Hill Central Music Academy Pto                                 Connecticut Yankee Council Bsa 072              140 Dewitt St                                         New Haven, CT 06519‐2133                                                                            First Class Mail
Chartered Organization         Hill City Lions Club                                           Black Hills Area Council 695 695                198 Rainbow Ridge Ct                                  Hill City, SD 57745‐6621                                                                            First Class Mail
Chartered Organization         Hill Country Bible Church ‐ Leander                            Capitol Area Council 564                        11880 Old 2243 W, Ste 600                             Leander, TX 78641                                                                                   First Class Mail
Chartered Organization         Hill Country Bible Church Northwest                            Capitol Area Council 564                        12124 Ranch Rd 620 N                                  Austin, TX 78750‐1079                                                                               First Class Mail
Chartered Organization         Hill Elementary School Pto                                     Great Lakes Fsc 272                             4600 Forsyth Dr                                       Troy, MI 48085‐3775                                                                                 First Class Mail
Firm                           Hill Law Firm                                                  Justin Hill                                     445 Recoleta Rd.                                      San Antonio, TX 78216                                               justin@jahlawfirm.com           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Hill Memorial United Methodist Church (60297)                  c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Hill Top Hose Co 5                                             Housatonic Council, Bsa 069                     80 Pulaski Hwy                                        Ansonia, CT 06401‐2805                                                                              First Class Mail
Chartered Organization         Hill Warner American Legion Post 414                           Allegheny Highlands Council 382                 P.O. Box 273                                          Angelica, NY 14709‐0273                                                                             First Class Mail
Chartered Organization         Hillard Elementary                                             Atlanta Area Council 092                        3353 Mount Olive Rd                                   East Point, GA 30344‐5613                                                                           First Class Mail
Firm                           Hillard Martinez Gonzales LLP                                  Hilliard Martinez Gonzales Robert C. Hilliard   719 S. Shoreline Blvd                                 Corpus Christi, TX 78401                                            HMGservice@hmglawfirm.com       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Firm                           Hillard Martinez Gonzales LLP                                  MARTINEZ GONZALES & ROBERT HILLARD              719 S. Shoreline Blvd.                                Corpus Christi, TX 78401                                            HMGservice@hmglawfirm.com       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Firm                           Hillard Martinez Gonzales LLP                                  Robert C Hilliard                               719 South Shoreline Blvd.                             Corpus Christi, Texas 78401                                         hmgservice@hmglawfirm.com       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Hillcat Law Enforcement Cadet Post 612                         Daniel Webster Council, Bsa 330                 762 Deering Center Rd                                 Deering, NH 03244‐6509                                                                              First Class Mail
Chartered Organization         Hillcrest Baptist Church                                       Sam Houston Area Council 576                    4220 Boonville Rd                                     Bryan, TX 77802‐3674                                                                                First Class Mail
Chartered Organization         Hillcrest Baptist Church                                       Caddo Area Council 584                          5501 W 7th St                                         Texarkana, TX 75501‐5935                                                                            First Class Mail
Voting Party                   Hillcrest Baptist Church                                       c/o Kaplan Johnson Abate & Bird LLP             Attn: Tyler R. Yeager                                 710 W Main St, 4th Fl             Louisville, KY 40202              tyeager@kaplanjohnsonlaw.com    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Hillcrest Baptist Church                                       684 Devils Hollow Rd                            Frankfort, KY 40601                                                                                                                                       First Class Mail
Chartered Organization         Hillcrest Christian Church                                     Hoosier Trails Council 145 145                  1130 Hillcrest Rd                                     Bedford, IN 47421‐3020                                                                              First Class Mail
Chartered Organization         Hillcrest Christian Church                                     Heart of America Council 307                    11411 Quivira Rd                                      Overland Park, KS 66210‐1345                                                                        First Class Mail
Chartered Organization         Hillcrest Church Of The Nazarene                               Cascade Pacific Council 492                     14410 NW 21st Ave                                     Vancouver, WA 98685‐1299                                                                            First Class Mail
Chartered Organization         Hillcrest Elementary Lead                                      Capitol Area Council 564                        6910 E William Cannon Dr                              Austin, TX 78744‐8312                                                                               First Class Mail
Chartered Organization         Hillcrest Home And School                                      Cradle of Liberty Council 525                   Bond & Agnew Aves                                     Drexel Hill, PA 19026                                                                               First Class Mail
Chartered Organization         Hillcrest Intermediate School                                  Westmoreland Fayette 512                        11091 Mockingbird Dr                                  North Huntingdon, PA 15642‐2430                                                                     First Class Mail
Chartered Organization         Hillcrest Presbyterian Church                                  Ozark Trails Council 306                        818 E Norton Rd                                       Springfield, MO 65803‐3646                                                                          First Class Mail
Chartered Organization         Hillcrest Pta                                                  Trapper Trails 589                              960 N 1400 E                                          Logan, UT 84321‐3644                                                                                First Class Mail
Voting Party                   Hillcrest Umc ‐ Fredericksburg                                 c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Hillcrest United Methodist Church                              Attn: Richard L Murphree                        5112 Raywood Ln                                       Nashville, TN 37211                                                 richardmurphree@att.net         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Hillcrest United Methodist Church, Elkhart, In                 Attn: Ryan Wireman                              4206 E Bristol St                                     Elkhart, IN 46514                                                   ryanwireman74@gmail.com         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Hillcrest Utd Methodist Church                                 Lasalle Council 165                             4206 E Bristol St                                     Elkhart, IN 46514‐6942                                                                              First Class Mail
Chartered Organization         Hillcrest Volunteer Fire Co                                    Greater Niagara Frontier Council 380            7125 Ellicott Rd                                      Orchard Park, NY 14127‐3410                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                 Page 157 of 442
                                                                                Case 20-10343-LSS                                                 Doc 8171                                      Filed 01/06/22                                                  Page 173 of 457
                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                    Service List
                                                                                                                                                                             Served as set forth below

        Description                                                        Name                                                                                                  Address                                                                                                            Email                     Method of Service
Voting Party                   Hillcrest‐Bellefonte United Methodist Church ‐ Wilmington       c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hilldale United Methodist Church                                Attn: Nelson Boehms                           P.O. Box 3874                                             Clarksville, TN 37043                                              office@hilldaleumc.org                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hiller Elementary Stem Society                                  Great Lakes Fsc 272                           400 E La Salle Ave                                        Madison Heights, MI 48071‐2162                                                                              First Class Mail
Chartered Organization         Hilliard Church Of Christ                                       Simon Kenton Council 441                      4300 Avery Rd                                             Hilliard, OH 43026‐1081                                                                                     First Class Mail
Chartered Organization         Hilliard Police Dept                                            Simon Kenton Council 441                      5171 Northwest Pkwy                                       Hilliard, OH 43026‐3108                                                                                     First Class Mail
Voting Party                   Hilliard United Methodist Church                                Attn: April Blaine                            5445 Scioto Darby Rd                                      Hilliard, OH 43026                                                 ablaine@hilliardumc.org                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hilliard Utd Presbyterian Church                                Simon Kenton Council 441                      P.O. Box 63                                               Hilliard, OH 43026‐0063                                                                                     First Class Mail
Chartered Organization         Hilliard Utd Presbyterian Church                                Simon Kenton Council 441                      P.O. Box 63                                               Hilliard, OH 43026‐0063                                                                                     First Class Mail
Chartered Organization         Hill'N Dale Club                                                Great Trail 433                               3605 Poe Rd                                               Medina, OH 44256‐9790                                                                                       First Class Mail
Chartered Organization         Hillrise Elementary School Pta                                  Mid‐America Council 326                       20110 Hopper St                                           Elkhorn, NE 68022‐2338                                                                                      First Class Mail
Voting Party                   Hills Chapel Umc 988 Nc Business Hwy 16                         c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hills Town And Country Club                                     Hawkeye Area Council 172                      442 Brady St                                              Hills, IA 52235‐7725                                                                                        First Class Mail
Voting Party                   Hillsboro                                                       c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  Erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hillsboro Animal Hospital Inc                                   Middle Tennessee Council 560                  2207 Bandywood Dr                                         Nashville, TN 37215‐2704                                                                                    First Class Mail
Chartered Organization         Hillsboro Chamber Of Commerce                                   Greater St Louis Area Council 312             P.O. Box 225                                              Hillsboro, MO 63050‐0225                                                                                    First Class Mail
Chartered Organization         Hillsboro Civic Club                                            Greater St Louis Area Council 312             10349 Business 21                                         Hillsboro, MO 63050‐5803                                                                                    First Class Mail
Chartered Organization         Hillsboro First Congregational Ucc                              Cascade Pacific Council 492                   494 E Main St                                             Hillsboro, OR 97123‐4135                                                                                    First Class Mail
Voting Party                   Hillsboro First United Methodist Church                         Attn: William List Myers                      305 Winchester Hwy                                        P.O. Box 65                       Hillsboro, TN 37342              HillsboroUMC@blomand.net                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hillsboro First Utd Methodist                                   Simon Kenton Council 441                      133 E Walnut St                                           Hillsboro, OH 45133‐1429                                                                                    First Class Mail
Chartered Organization         Hillsboro Kiwanis Club                                          Northern Lights Council 429                   302 4th St Se                                             Hillsboro, ND 58045‐4908                                                                                    First Class Mail
Chartered Organization         Hillsboro Lions Club                                            Quivira Council, Bsa 198                      601 S Main St                                             Hillsboro, KS 67063‐1527                                                                                    First Class Mail
Chartered Organization         Hillsboro Lions Club                                            Simon Kenton Council 441                      P.O. Box 711                                              Hillsboro, OH 45133‐0711                                                                                    First Class Mail
Chartered Organization         Hillsboro Optimists Club                                        Longhorn Council 662                          915A Corsicana Hwy                                        Hillsboro, TX 76645                                                                                         First Class Mail
Chartered Organization         Hillsboro Police Dept Explorer Post                             Longhorn Council 662                          303 N Waco St                                             Hillsboro, TX 76645‐2139                                                                                    First Class Mail
Chartered Organization         Hillsboro Rotary Club                                           Greater St Louis Area Council 312             4810 State Rd B                                           Hillsboro, MO 63050‐4730                                                                                    First Class Mail
Chartered Organization         Hillsboro Ruritan Club                                          National Capital Area Council 082             Rt 9                                                      Hillsboro, VA 20134                                                                                         First Class Mail
Voting Party                   Hillsboro United Methodist Church                               Attn: Pastor Paul O'Neil                      P.O. Box 692                                              Hillsboro, NH 03244                                                pastor@hillsboroumcnh.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hillsboro Utd Methodist Chrch                                   Cascade Pacific Council 492                   168 NE 8th Ave                                            Hillsboro, OR 97124‐3205                                                                                    First Class Mail
Chartered Organization         Hillsboro Utd Methodist Church                                  Middle Tennessee Council 560                  P.O. Box 65                                               Hillsboro, TN 37342‐0065                                                                                    First Class Mail
Chartered Organization         Hillsborough County Sheriffs Office                             Greater Tampa Bay Area 089                    2008 E 8th Ave                                            Tampa, FL 33605‐3906                                                                                        First Class Mail
Chartered Organization         Hillsborough Elem School Home And School                        Patriots Path Council 358                     435 US Hwy 206                                            Hillsborough, NJ 08844‐1527                                                                                 First Class Mail
Chartered Organization         Hillsborough Fire Dept 2                                        Patriots Path Council 358, Route 206          Hillsborough, NJ 08844                                                                                                                                                First Class Mail
Chartered Organization         Hillsborough River Preservation, Inc                            Greater Tampa Bay Area 089                    204 Craft Rd                                              Brandon, FL 33511‐7547                                                                                      First Class Mail
Voting Party                   Hillsborough Umc                                                c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hillsborough Umc                                                9008 Harney Rd                                Tampa, FL 33637                                                                                                              erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hillsborough Umc                                                9008 Harney Rd                                Tampa, FL 33637                                                                                                                                                       First Class Mail
Voting Party                   Hillsborough Umc, 9118 Harney Rd, Tampa, Fl                     c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hillsborough United Methodist Church                            Attn: Trustee Chair & Cameron Quinn Merrill   130 W Tryon St                                            Hillsborough, NC 27278                                             office@hillsboroughumc.org               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hillsborough Utd Methodist Church                               Greater Tampa Bay Area 089                    9008 Harney Rd                                            Tampa, FL 33637‐6717                                                                                        First Class Mail
Chartered Organization         Hillsdale Elementary                                            Ore‐Ida Council 106 ‐ Bsa 106                 5225 S Stockenham Way                                     Meridian, ID 83642‐5159                                                                                     First Class Mail
Chartered Organization         Hillsdale Kiwanis                                               Southern Shores Fsc 783                       1791 Steamburg Rd                                         Hillsdale, MI 49242‐2087                                                                                    First Class Mail
Chartered Organization         Hillsdale Methodist Church                                      Northern New Jersey Council, Bsa 333          349 Hillsdale Ave                                         Hillsdale, NJ 07642‐2732                                                                                    First Class Mail
Chartered Organization         Hillsdale School Pto                                            Chester County Council 539                    725 W Market St                                           West Chester, PA 19382‐1951                                                                                 First Class Mail
Voting Party                   Hillsdale United Methodist Church                               Attn: Rev Sun Hee Kim                         303 W 36th Ave                                            San Mateo, CA 94402                                                office.hillsdaleumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hillsdale United Methodist Church 5018 Us Hwy 158 Advance, Nc   c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hillsdale Utd Brethren In Christ Ch                             Black Swamp Area Council 449                  701 Holly St                                              Saint Marys, OH 45885‐1500                                                                                  First Class Mail
Chartered Organization         Hillsdale Utd Methodist                                         Northern New Jersey Council, Bsa 333          349 Hillsdale Ave                                         Hillsdale, NJ 07642‐2732                                                                                    First Class Mail
Chartered Organization         Hillsdale Utd Methodist Church                                  Old N State Council 070                       5018 US Hwy 158                                           Advance, NC 27006‐6968                                                                                      First Class Mail
Chartered Organization         Hillsdale Utd Methodist Church                                  Northern New Jersey Council, Bsa 333          339 Hillsdale Ave                                         Hillsdale, NJ 07642‐2211                                                                                    First Class Mail
Chartered Organization         Hillsdale Utd Methodist Church                                  Pacific Skyline Council 031                   303 36th Ave                                              San Mateo, CA 94403‐4203                                                                                    First Class Mail
Chartered Organization         Hillside Children'S Center                                      Seneca Waterways 397                          1183 Monroe Ave                                           Rochester, NY 14620‐1662                                                                                    First Class Mail
Chartered Organization         Hillside Childrens Center School                                Seneca Waterways 397                          2075 Scottsville Rd                                       Rochester, NY 14623‐2021                                                                                    First Class Mail
Chartered Organization         Hillside Children'S Center School                               Seneca Waterways 397                          1183 Monroe Ave                                           Rochester, NY 14620‐1662                                                                                    First Class Mail
Chartered Organization         Hillside Christian Church                                       Quivira Council, Bsa 198                      8330 E Douglas Ave                                        Wichita, KS 67206‐2345                                                                                      First Class Mail
Chartered Organization         Hillside Community Center                                       Pikes Peak Council 060                        925 S Institute St                                        Colorado Springs, CO 80903‐4634                                                                             First Class Mail
Chartered Organization         Hillside Community Church                                       Potawatomi Area Council 651                   S93W30580 County Rd Nn                                    Mukwonago, WI 53149                                                                                         First Class Mail
Chartered Organization         Hillside Covenant Church                                        Mt Diablo‐Silverado Council 023               2060 Magnolia Way                                         Walnut Creek, CA 94595‐1630                                                                                 First Class Mail
Chartered Organization         Hillside Elementary Pto                                         Chester County Council 539                    797 Old State Rd                                          Berwyn, PA 19312‐1440                                                                                       First Class Mail
Chartered Organization         Hillside Fellowship                                             Cascade Pacific Council 492                   501 Nandina St                                            Sweet Home, OR 97386‐1370                                                                                   First Class Mail
Chartered Organization         Hillside Islamic Center                                         Theodore Roosevelt Council 386                300 Hillside Ave                                          New Hyde Park, NY 11040‐2525                                                                                First Class Mail
Voting Party                   Hillside Methodist Church                                       c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hillside United Methodist Church                                Attn: Rev Charlie Yun                         2801 Hillside Ave                                         New Hyde Park, NY 11596                                            read2cor517@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hillside United Methodist Church                                Attn: Christopher Alan Blackledge             6100 Folks Rd                                             Horton, MI 49246                                                   hillsideunited1@frontiernet.net          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hillside United Methodist Church                                Attn: Gil Pyo Lee                             82 Center St                                              Goffstown, NH 03045                                                gilpyo.lee@Gmail.com                     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hillside United Methodist Church                                Attn: Gil Pyo Lee                             82 Center St                                              Goffstown, NH 03229                                                gilpyo.lee@Gmail.com                     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hillside United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hillside United Methodist Church (97821)                        c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hillside United Methodist Church 801 Ridge Creek Ln             c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hillside Utd Methodist Church                                   Westmoreland Fayette 512                      P.O. Box 85                                               Derry, PA 15627‐0085                                                                                        First Class Mail
Chartered Organization         Hillside Utd Methodist Church                                   Buffalo Trace 156                             828 W Archer Rd                                           Princeton, IN 47670‐8548                                                                                    First Class Mail
Chartered Organization         Hillside Utd Methodist Church                                   Atlanta Area Council 092                      4474 Towne Lake Pkwy                                      Woodstock, GA 30189‐8133                                                                                    First Class Mail
Chartered Organization         Hillside Utd Methodist Women                                    Voyageurs Area 286                            1801 Piedmont Ave                                         Duluth, MN 55811‐3219                                                                                       First Class Mail
Chartered Organization         Hillsong Church                                                 Occoneechee 421                               201 Culbreth Rd                                           Chapel Hill, NC 27516‐8302                                                                                  First Class Mail
Chartered Organization         Hillspring Church                                               Blue Mountain Council 604                     1153 Gage Blvd                                            Richland, WA 99352‐9509                                                                                     First Class Mail
Chartered Organization         Hilltop Elementary School Pta                                   Mount Baker Council, Bsa 606                  20425 Damson Rd                                           Lynnwood, WA 98036‐7220                                                                                     First Class Mail
Chartered Organization         Hilltop Lutheran Community Ctr                                  Del Mar Va 081                                1018 W 6th St                                             Wilmington, DE 19805‐3210                                                                                   First Class Mail
Chartered Organization         Hilltop Pto                                                     Blackhawk Area 660                            2615 W Lincoln Rd                                         Mchenry, IL 60051‐3639                                                                                      First Class Mail
Voting Party                   Hilltop United Methodist Church                                 Attn: Michael John Kovach                     985 E 10600 S                                             Sandy, UT 84094                                                    office@hilltopumchurch.org               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hilltop Utd Methodist Church                                    Sioux Council 733                             1312 S Bahnson Ave                                        Sioux Falls, SD 57103‐3442                                                                                  First Class Mail
Chartered Organization         Hilltop Ymca                                                    Simon Kenton Council 441                      2879 Valleyview Dr                                        Columbus, OH 43204‐2010                                                                                     First Class Mail
Chartered Organization         Hilltown Township Civic Assoc                                   Washington Crossing Council 777               P.O. Box 118                                              Hilltown, PA 18927‐0118                                                                                     First Class Mail
Chartered Organization         Hillview Elementary School                                      Greater Alabama Council 001                   1520 Cherry Ave                                           Birmingham, AL 35214‐4006                                                                                   First Class Mail
Chartered Organization         Hillview Parents Club                                           Erie Shores Council 460                       5425 Whiteford Rd                                         Sylvania, OH 43560                                                                                          First Class Mail
Voting Party                   Hillview United Methodist Church ‐ Boise                        c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hillview Utd Methodist Church                                   Ore‐Ida Council 106 ‐ Bsa 106                 8525 W Ustick Rd                                          Boise, ID 83704‐5676                                                                                        First Class Mail
Chartered Organization         Hillyard Kiwanis                                                Inland Nwest Council 611                      P.O. Box 6644                                             Spokane, WA 99217‐0911                                                                                      First Class Mail
Chartered Organization         Hillyard Post 1474 Vfw                                          Inland Nwest Council 611                      2902 E Diamond Ave                                        Spokane, WA 99217‐6117                                                                                      First Class Mail
Chartered Organization         Hillyard Vfw Post 1474                                          Inland Nwest Council 611                      2902 E Diamond Ave                                        Spokane, WA 99217‐6117                                                                                      First Class Mail
Chartered Organization         Hilo Meisho Young Buddhist Assoc                                Aloha Council, Bsa 104                        97 Olona St                                               Hilo, HI 96720‐8013                                                                                         First Class Mail
Chartered Organization         Hilo Meishoin Young Buddhist Assoc                              Aloha Council, Bsa 104                        97 Olona St                                               Hilo, HI 96720‐8013                                                                                         First Class Mail
Voting Party                   Hilo United Methodist Church                                    Attn: Trustee Chair                           374 Waianuenue Ave                                        Hilo, HI 96720                                                     hiloumc@hotmail.com                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hilton Fire Dept                                                Seneca Waterways 397                          120 Old Hojack Ln                                         Hilton, NY 14468‐1100                                                                                       First Class Mail
Chartered Organization         Hilton Rec Ctr                                                  Baltimore Area Council 220                    2950 Phelps Ln                                            Baltimore, MD 21229‐3732                                                                                    First Class Mail
Chartered Organization         Himmels Church                                                  Susquehanna Council 533                       107 Covered Bridge Rd                                     Dornsife, PA 17823‐7034                                                                                     First Class Mail
Voting Party                   Hinckley First United Methodist Church                          Attn: Ricky Eldon Finch                       801 N Sycamore                                            Hinkley, IL 60520                                                  jang003023@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hinckley Lions                                                  Voyageurs Area 286                            P.O. Box 1                                                Hinckley, MN 55037‐0001                                                                                     First Class Mail
Chartered Organization         Hingham Troop 1 Committee Inc                                   Mayflower Council 251                         P.O. Box 651                                              Hingham, MA 02043‐0651                                                                                      First Class Mail
Chartered Organization         Hinkle Creek Pto                                                Crossroads of America 160                     595 S Harbour Dr                                          Noblesville, IN 46062‐9527                                                                                  First Class Mail
Chartered Organization         Hinsdale Fire Assoc                                             Daniel Webster Council, Bsa 330               P.O. Box 13                                               Hinsdale, NH 03451‐0013                                                                                     First Class Mail
Chartered Organization         Hinsdale Lions Club                                             Western Massachusetts Council 234             P.O. Box 235                                              Hinsdale, MA 01235‐0235                                                                                     First Class Mail
Chartered Organization         Hinsdale Lions Club                                             Daniel Webster Council, Bsa 330               Hinsdale Nh                                               Hinsdale, NH 03451                                                                                          First Class Mail
Voting Party                   Hinsdale United Methodist Church                                945 S Garfield Ave                            Hinsdale, IL 60521                                                                                                           youngmee.park@hinsdaleumc.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hinsdale United Methodist Church                                Attn: Joann Bishop                            3828 Penn Rd                                              Hinsdale, NY 14743                                                 bis7j@yahoo.com                          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hinsdale Utd Methodist Church                                   Pathway To Adventure 456                      55th and Grafield                                         Hinsdale, IL 60521                                                                                          First Class Mail
Chartered Organization         Hinsdale Utd Methodist Church                                   Pathway To Adventure 456                      945 S Garfield St                                         Hinsdale, IL 60521‐4526                                                                                     First Class Mail
Voting Party                   Hinshaw Umc 4501 West Gate City Blvd, Greensboro, Nc            c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hinton Avenue United Methodist Church                           Attn: Rev. Robert Lewis, Hinton Ave Umc       750 Hinton Ave                                            Charlottesville, VA 22902                                          robertlewis@vaumc.org                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hinton First Utd Methodist Church                               Buckskin 617                                  312 Ballengee St                                          Hinton, WV 25951‐2321                                                                                       First Class Mail
Voting Party                   Hintz Targeted Marketing, Llc                                   dba American Backcountry                      P.O. Box 1566                                             Asheville, NC 28802‐1566                                                                                    First Class Mail
Chartered Organization         Hiram First Utd Methodist Church                                Atlanta Area Council 092                      324 Hiram Douglasville Hwy                                Hiram, GA 30141                                                                                             First Class Mail
Chartered Organization         Hiram Police Dept                                               Atlanta Area Council 092                      217 Main St                                               Hiram, GA 30141‐3288                                                                                        First Class Mail
Firm                           Hird Law Firm                                                   Kenneth L Hird                                908 E Rochester St                                        Broken Arrow, OK 74011                                             khird@hirdlaw.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hirsch Academy                                                  Grand Canyon Council 010                      6536 E Osborn Rd                                          Scottsdale, AZ 85251                                                                                        First Class Mail
Chartered Organization         Hispanic Apostolate                                             Southeast Louisiana Council 214               2525 Maine Ave                                            Metairie, LA 70003‐5446                                                                                     First Class Mail
Chartered Organization         Hispanic Brotherhood Inc                                        Theodore Roosevelt Council 386                59 Clinton Ave                                            Rockville Centre, NY 11570‐4042                                                                             First Class Mail
Voting Party                   Hiss United Methodist Church                                    Attn: Hiss Umc, Mark Filing, Treasurer        8700 Harford Rd                                           Parkville, MD 21234                                                finance@hisschurch.org                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hiss Utd Methodist Church                                       Baltimore Area Council 220                    8700 Harford Rd                                           Baltimore, MD 21234‐4608                                                                                    First Class Mail
Chartered Organization         Historic First Baptist Church                                   West Tennessee Area Council 559               433 Dr Ml King Jr Dr                                      Jackson, TN 38301‐6922                                                                                      First Class Mail
Chartered Organization         Historic Long Branc                                             Shenandoah Area Council 598                   416 Valley Mill Rd                                        Winchester, VA 22602‐6238                                                                                   First Class Mail
Chartered Organization         Historic Montgomery Business Assoc                              Sam Houston Area Council 576                  P.O. Box 189                                              Montgomery, TX 77356‐0189                                                                                   First Class Mail
Chartered Organization         Historical Assoc Of South Jefferson                             Longhouse Council 373                         29 E Church St                                            Adams, NY 13605‐1129                                                                                        First Class Mail
Chartered Organization         Historical Society Community Support                            Pine Tree Council 218                         P.O. Box 27                                               Windsor, ME 04363‐0027                                                                                      First Class Mail
Chartered Organization         Historical Society Of Palm Desert                               California Inland Empire Council 045          P.O. Box 77                                               Palm Desert, CA 92261‐0077                                                                                  First Class Mail
Chartered Organization         Hitchcock Elementary Pto                                        Mid‐America Council 326                       5809 S 104th St                                           Omaha, NE 68127‐3022                                                                                        First Class Mail
Voting Party                   Hitchcock Presbyterian Church                                   Attn: David Frederick Kroenlein               6 Greenacres Ave                                          Scarsdale, NY 10583                                                chiefadministrator@hitchcockpresby.org   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hitchcock Presbyterian Church                                   6 Greenacres Ave                              Scarsdale, NY 10583                                                                                                          chiefadministrator@hitchcockpresby.org   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hitchcock Volunteer Fire Dept                                   Bay Area Council 574                          7005 2nd St                                               Hitchcock, TX 77563                                                                                         First Class Mail
Firm                           Hite and Stone                                                  Heather Hite Stone                            100 East Pickens Street                                   Abbeville, SC 29620                                                heather@hiteandstone.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hite Elementary School                                          Lincoln Heritage Council 205                  12408 Old Shelbyville Rd                                  Louisville, KY 40243‐1506                                                                                   First Class Mail
Chartered Organization         Hiteon Parent Teacher Assoc                                     Cascade Pacific Council 492                   13800 SW Brockman St                                      Beaverton, OR 97008‐7269                                                                                    First Class Mail
Voting Party                   Hites Chapel Umc ‐ Middletown                                   c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hites Chapel United Methodist Church                            Attn: Mary J Lock                             165 Campbell Ln                                           Stephens City, VA 22655                                            marylock@vaumc.org                       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hites Chapel United Methodist Church                            Attn: Tanya Heller, Trustee                   103 Carters Ln                                            Winchester, VA 22602                                               casey1332b@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hites Chapel United Methodist Church                            Attn: Casey Bennett, Treasurer                468 Guard Hill Rd                                         Middletown, VA 22645                                               casey1332b@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hixson United Methodist Church                                  5301 Old Hixson Pike                          Hixson, TN 37343                                                                                                             info@hixsonumc.org                       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hme Pta                                                         Circle Ten Council 571                        8939 Whitewing Ln                                         Dallas, TX 75238‐3861                                                                                       First Class Mail
Chartered Organization         Hmong Mutual Assistance Assoc                                   1920 W Clairemont Ave                         Eau Claire, WI 54701                                                                                                                                                  First Class Mail
Chartered Organization         Hoague Batchelder Al Post 103                                   Daniel Webster Council, Bsa 330               P.O. Box 331                                              Deerfield, NH 03037‐0331                                                                                    First Class Mail
Voting Party                   Hobart First United Methodist                                   Attn: Leah Stefanelli                         654 E 4th St                                              Hobart, IN 46342                                                   Leah.peksenak@inumc.org                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hobart United Methodist Church                                  Attn: Rev Kwang‐Il Kim                        P.O. Box 205                                              Hobart, NY 13788                                                   rev.kwangil.123kim@gmail.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hobbs Anderson Post 91                                          Ozark Trails Council 306                      717 E Broadway St                                         Monett, MO 65708‐2108                                                                                       First Class Mail
Chartered Organization         Hobbs Police Dept                                               Conquistador Council Bsa 413                  300 N Turner St                                           Hobbs, NM 88240‐8302                                                                                        First Class Mail
Voting Party                   Hockessin United Methodist Church ‐ Hockessin                   c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hodgdon United Methodist Church                                 Attn: Seungri Han                             28 School St                                              Houlton, ME 04730                                                  visionmaker.victor@gmail.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hodgdon United Methodist Church                                 Attn: Treasurer, Hodgdon Umc                  552 Walker Rd                                             Hodgdon, ME 04730                                                                                           First Class Mail
Voting Party                   Hodgenville United Methodist Church, Inc.                       Attn: Bruce Hiner, Pastor                     825 Tonieville Rd, P.O. Box 6                             Hodgenville, KY 42748                                              humcpastor@scrtc.com                     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hodges Presbyterian Church                                      North Florida Council 087                     4140 Hodges Blvd                                          Jacksonville, FL 32224‐2203                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                    Page 158 of 442
                                                                                   Case 20-10343-LSS                                                Doc 8171                                            Filed 01/06/22                                                           Page 174 of 457
                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                            Service List
                                                                                                                                                                                     Served as set forth below

        Description                                                         Name                                                                                                         Address                                                                                                                      Email                Method of Service
Voting Party                   Hodges, Doughty & Carson, Pllc                                 Attn: Jason L Rogers                            P.O. Box 869                                                     Knoxville, TN 37901                                                         jrogers@hdclaw.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hoffman Estates Chamber Comm & Industry                        Pathway To Adventure 456                        2200 W Higgins Rd, Ste 201                                       Hoffman Estates, IL 60169‐2400                                                                                   First Class Mail
Chartered Organization         Hoffman Estates Police                                         Pathway To Adventure 456                        411 W Higgins Rd                                                 Hoffman Estates, IL 60169‐3506                                                                                   First Class Mail
Chartered Organization         Hoffman Trails Elementary Pto                                  Simon Kenton Council 441                        4301 Hoffman Farms Dr                                            Hilliard, OH 43026‐7329                                                                                          First Class Mail
Chartered Organization         Hoffman Utd Methodist                                          Miami Valley Council, Bsa 444                   201 S Main St                                                    West Milton, OH 45383‐1511                                                                                       First Class Mail
Chartered Organization         Hogg Middle School Ace                                         East Texas Area Council 585                     920 S Broadway Ave                                               Tyler, TX 75701‐1610                                                                                             First Class Mail
Voting Party                   Hokes Bluff First United Methodist Church                      Attn: Edward Gooch                              3001 Alford Bend Rd                                              Hokes Bluff, AL 35903                                                       eddie.gooch@umcna.org                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holbrook Chamber Of Commerce                                   Suffolk County Council Inc 404                  206 Ave B                                                        Lake Ronkonkoma, NY 11779‐1914                                                                                   First Class Mail
Voting Party                   Holbrook United Methodist Church                               Attn: Denise Hinckley                           60 Plymouth St                                                   Holbrook, MA 02343                                                          holbrookumc60@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holbrook United Methodist Church                               Attn: Helen Wilson                              P.O. Box 442                                                     Livingston, MT 59047                                                        helen@hswlegal.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holcomb Dunbar                                                 Attn: Thomas J Suszek, Esq                      P.O. Drawer 707                                                  Oxford, MS 38655                                                            tomsuz@holcombdunbar.com             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holden ‐ Fire Dept                                             Heart of New England Council 230                1370 Main St                                                     Holden, MA 01520‐1029                                                                                            First Class Mail
Chartered Organization         Holden ‐ First Baptist Church                                  Heart of New England Council 230                1216 Main St                                                     Holden, MA 01520‐1018                                                                                            First Class Mail
Chartered Organization         Holden ‐ First Congregational Church                           Heart of New England Council 230                1180 Main St                                                     Holden, MA 01520‐1016                                                                                            First Class Mail
Chartered Organization         Holden ‐ Immanuel Lutheran Church                              Heart of New England Council 230                346 Shrewsbury St                                                Holden, MA 01520‐2117                                                                                            First Class Mail
Chartered Organization         Holden Congregational Church                                   Katahdin Area Council 216                       Church Rd                                                        Holden, ME 04429                                                                                                 First Class Mail
Chartered Organization         Holden Congregational Church                                   Katahdin Area Council 216                       66 Church Rd                                                     Holden, ME 04429‐7152                                                                                            First Class Mail
Chartered Organization         Holden School Assoc                                            Great Trail 433                                 132 W School St                                                  Kent, OH 44240‐3763                                                                                              First Class Mail
Chartered Organization         Holgate Lions Club                                             Black Swamp Area Council 449                    216 S Wilhelm St                                                 Holgate, OH 43527‐9564                                                                                           First Class Mail
Voting Party                   Holiday Credit Office                                          Holiday Companies                               P.O. Box 860456                                                  Minneapolis, MN 55486‐0456                                                                                       First Class Mail
Voting Party                   Holiday Park United Methodist Church (98585)                   c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200               Pittsburgh, PA 15228                                                    First Class Mail
Chartered Organization         Holiday Park Utd Methodist Church                              Laurel Highlands Council 527                    81 Sandune Dr                                                    Pittsburgh, PA 15239‐2713                                                                                        First Class Mail
Voting Party                   Holiday Stationstores LLC                                      Attn: Credit Dept                               4567 American Blvd W                                             Bloomington, MN 55437                                                       nancy.calhoon@holidaycompanies.com   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holladay Utd Methodist Church                                  West Tennessee Area Council 559                 173 Stokes Rd                                                    Holladay, TN 38341                                                                                               First Class Mail
Chartered Organization         Holland Elementary School Pto                                  Great Lakes Fsc 272                             10201 Holland Rd                                                 Taylor, MI 48180‐3050                                                                                            First Class Mail
Chartered Organization         Holland Hall School                                            Indian Nations Council 488                      5666 E 81st St                                                   Tulsa, OK 74137‐2001                                                                                             First Class Mail
Chartered Organization         Holland Mutual Insurance Co                                    Bay‐Lakes Council 635                           265 S Main St                                                    Cedar Grove, WI 53013‐1311                                                                                       First Class Mail
Chartered Organization         Holland Teachers Assoc                                         Greater Niagara Frontier Council 380            103 Canada St                                                    Holland, NY 14080‐9806                                                                                           First Class Mail
Chartered Organization         Holland Utd Methodist Church                                   Occoneechee 421                                 9433 Ten Ten Rd                                                  Raleigh, NC 27603‐8423                                                                                           First Class Mail
Voting Party                   Hollandale United Methodist Church                             Attn: Ira K Hairston, Treasurer                 P.O. Box 381                                                     Hollandale, MS 38748                                                        irahairston@att.net                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holland's United Methodist Church                              9433 Tenten Rd                                  Raleigh, NC 27603                                                                                                                            admin@hollandsumc.org                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holland'S United Methodist Church                              Attn: Ronald Burnette                           1200 Mt Pleasant Rd                                              Willow Springs, NC 27592                                                                                         First Class Mail
Voting Party                   Holliday First United Methodist Church                         Attn: Rev Paul E Meyenberg                      2 Delia Ct                                                       Wichita Falls, TX 76302                                                     Pastorpaulm@msn.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Firm                           Hollingshead & Dudley                                          Nicholas Dudley                                 1114 W Main Street                                               Blue Springs, MO 64015                                                      ndudley@hdtriallawyers               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hollis Congregational Church                                   Daniel Webster Council, Bsa 330                 Monument Square                                                  Hollis, NH 03049                                                                                                 First Class Mail
Chartered Organization         Hollis Fire Dept                                               Daniel Webster Council, Bsa 330                 P.O. Box 38                                                      Hollis, NH 03049‐0038                                                                                            First Class Mail
Voting Party                   Hollis First United Methodist Church                           Attn: Lynda Burns‐ Treasurer                    224 N 2Nd                                                        Hollis, OK 73550                                                            holfumc@pldi.net                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hollis Innovation Academy                                      Atlanta Area Council 092                        225 Griffin St Nw                                                Atlanta, GA 30314‐3917                                                                                           First Class Mail
Chartered Organization         Hollis Parks & Recreation Comm                                 Pine Tree Council 218                           Municipal Bldg                                                   Hollis Center, ME 04042                                                                                          First Class Mail
Chartered Organization         Hollis Parks And Recreation                                    Pine Tree Council 218                           35 Town Farm Rd                                                  Hollis Center, ME 04042‐3538                                                                                     First Class Mail
Chartered Organization         Hollister City Fire Dept                                       Silicon Valley Monterey Bay 055                 110 5th St                                                       Hollister, CA 95023‐3926                                                                                         First Class Mail
Chartered Organization         Hollister Elks Lodge 1436                                      Silicon Valley Monterey Bay 055                 P.O. Box 421                                                     Hollister, CA 95024‐0421                                                                                         First Class Mail
Chartered Organization         Hollister Police Dept                                          Silicon Valley Monterey Bay 055                 395 Apollo Way                                                   Hollister, CA 95023‐2508                                                                                         First Class Mail
Chartered Organization         Hollister Ward ‐ Filer Stake                                   Snake River Council 111                         Rt 1                                                             Twin Falls, ID 83301                                                                                             First Class Mail
Chartered Organization         Holliston Lions Club                                           Mayflower Council 251                           P.O. Box 6112                                                    Holliston, MA 01746‐6112                                                                                         First Class Mail
Chartered Organization         Holloman Officers Spouses Club                                 Yucca Council 573                               P.O. Box 580                                                     Holloman Air Force Base, NM 88330‐0580                                                                           First Class Mail
Chartered Organization         Holly Academy                                                  Great Lakes Fsc 272                             820 Academy Rd                                                   Holly, MI 48442‐1546                                                                                             First Class Mail
Chartered Organization         Holly Grove Ruritan Club                                       Stonewall Jackson Council 763                   P.O. Box 102                                                     Bumpass, VA 23024‐0102                                                                                           First Class Mail
Voting Party                   Holly Grove Umc                                                Attn: Dellert E Dougherty                       801 Holly Grove Rd                                               Anacoco, LA 71403                                                           billied@hughes.net                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holly Grove United Methodist Church                            Attn: Shelia Laughlin                           1629 Jett Rd                                                     Hornbeck, LA 71439                                                          shelialaughlin53@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holly Hill Elementary ‐ Ai                                     Indian Waters Council 553                       396 Saint Paul St                                                Orangeburg, SC 29115‐5465                                                                                        First Class Mail
Chartered Organization         Holly Hill Police Explorers                                    Central Florida Council 083                     1065 Ridgewood Ave                                               Holly Hill, FL 32117‐2807                                                                                        First Class Mail
Chartered Organization         Holly Hills Christian Church                                   Old N State Council 070                         245 Lakecrest Rd                                                 Eden, NC 27288‐7560                                                                                              First Class Mail
Chartered Organization         Holly Hills Christian Church                                   Old N State Council 070                         255 Lakecrest Rd                                                 Eden, NC 27288‐7560                                                                                              First Class Mail
Voting Party                   Holly Oak Calvary United Methodist Church ‐ Wilmington         c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                 Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holly Pond Umc                                                 Attn: Lisa Holmes                               1175 Co Rd 793                                                   Cullman, AL 35055                                                           holmesm48@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holly Pond United Methodist Church                             Attn: Lisa L Holmes                             37861 Al Hwy 91                                                  Holly Pond, AL 35083                                                                                             First Class Mail
Chartered Organization         Holly Spring Baptist Church                                    Occoneechee 421                                 304 Raleigh St                                                   Holly Springs, NC 27540                                                                                          First Class Mail
Chartered Organization         Holly Spring Utd Methodist Church                              Occoneechee 421                                 108 Avent Ferry Rd                                               Holly Springs, NC 27540‐8918                                                                                     First Class Mail
Chartered Organization         Holly Springs Baptist                                          Atlanta Area Council 092                        2614 Holly Springs Rd                                            Rockmart, GA 30153‐8047                                                                                          First Class Mail
Chartered Organization         Holly Springs Baptist Church                                   Daniel Boone Council 414                        366 Holly Springs Church Rd                                      Franklin, NC 28734‐1734                                                                                          First Class Mail
Chartered Organization         Holly Springs Fire Rescue District                             Palmetto Council 549                            3301 Hwy 357                                                     Inman, SC 29349‐7817                                                                                             First Class Mail
Chartered Organization         Holly Springs Police Dept                                      Yocona Area Council 748                         538 J M Ash Dr                                                   Holly Springs, MS 38635‐3238                                                                                     First Class Mail
Chartered Organization         Holly Springs Police Dept                                      Occoneechee 421                                 P.O. Box 8                                                       Holly Springs, NC 27540‐0008                                                                                     First Class Mail
Voting Party                   Holly Springs United Methodist Church                          Attn: James Littleton                           108 Avant Ferry Rd                                               Holly Springs, NC 27540                                                     church@hsumc.net                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holly Springs Utd Methodist Church                             Occoneechee 421                                 108 Avent Ferry Rd                                               Holly Springs, NC 27540‐8918                                                                                     First Class Mail
Voting Party                   Holly United Methodist Church                                  P.O. Box 527                                    Holly, CO 81047                                                                                                                              sheila@prowersag.com                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holly Vietzke                                                  385 Raleigh Tavern Ln                           N Andover, MA 01845                                                                                                                          mhollyv@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hollydale Utd Methodist Church                                 Atlanta Area Council 092                        2364 Powder Springs Rd Sw                                        Marietta, GA 30064‐4485                                                                                          First Class Mail
Chartered Organization         Hollymead Parent Teacher Organization                          Stonewall Jackson Council 763                   2775 Powell Creek Dr                                             Charlottesville, VA 22911‐7539                                                                                   First Class Mail
Chartered Organization         Hollywood Boosters Business Assoc                              Cascade Pacific Council 492                     1515 NE 41st Ave                                                 Portland, OR 97232‐1807                                                                                          First Class Mail
Voting Party                   Hollywood Hills                                                c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                 Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hollywood Hills                                                400 N 35th Ave                                  Hollywood, FL 33021                                                                                                                                                               First Class Mail
Chartered Organization         Hollywood Police Dept                                          South Florida Council 084                       3250 Hollywood Blvd                                              Hollywood, FL 33021‐6907                                                                                         First Class Mail
Chartered Organization         Hollywood Presbyterian Church                                  East Carolina Council 426                       5103 Nc Hwy 43 S                                                 Greenville, NC 27858‐8358                                                                                        First Class Mail
Chartered Organization         Hollywood Rotary Club                                          South Florida Council 084                       2349 Taylor St                                                   Hollywood, FL 33020‐4421                                                                                         First Class Mail
Voting Party                   Hollywood United Methodist Church                              Attn: Director of Operations, Melissa Perrigo   6817 Franklin Ave                                                Los Angeles, CA 90028                                                       melissa@hollywoodumc.org             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holman United Methodist Church                                 3320 W Adams Blvd                               Los Angeles, CA 90018                                                                                                                        holman@holmanumc.com                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holman United Methodist Church                                 Attn: Anslyene A Loyd                           880 W 1st St, Ste 708                                            Los Angeles, CA 90012                                                       anslyene@sbcglobal.net               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holman'S Quality Plumbing                                      Sam Houston Area Council 576                    2702 E Villa Maria Rd                                            Bryan, TX 77802‐2031                                                                                             First Class Mail
Chartered Organization         Holmdel Fire & Rescue Co 2                                     Monmouth Council, Bsa 347                       111 Centerville Rd                                               Holmdel, NJ 07733                                                                                                First Class Mail
Chartered Organization         Holmdel Fire And Rescue Co 2                                   Monmouth Council, Bsa 347                       11 Centerville Rd                                                Holmdel, NJ 07733‐1173                                                                                           First Class Mail
Chartered Organization         Holmdel First Aid Squad, Inc                                   Monmouth Council, Bsa 347                       P.O. Box 171                                                     Holmdel, NJ 07733‐0171                                                                                           First Class Mail
Chartered Organization         Holmdel High School Ptso                                       Monmouth Council, Bsa 347                       36 Crawfords Corner Rd                                           Holmdel, NJ 07733‐1908                                                                                           First Class Mail
Chartered Organization         Holmdel Twp Police                                             Monmouth Council, Bsa 347                       P.O. Box 410                                                     Holmdel, NJ 07733‐0410                                                                                           First Class Mail
Chartered Organization         Holmes County Sheriffs Reserve                                 Buckeye Council 436                             P.O. Box 5000                                                    Holmesville, OH 44633‐5000                                                                                       First Class Mail
Chartered Organization         Holmes Presbyterian Church                                     Cradle of Liberty Council 525                   P.O. Box 117                                                     Holmes, PA 19043‐0117                                                                                            First Class Mail
Voting Party                   Holmes United Methodist Church                                 Attn: Treasurer                                 41 Holmes Rd                                                     P.O. Box 146                             Holmes, NY 12531                   HUMC250@outlook.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holmes, Ronald W                                               Address Redacted                                                                                                                                                                             Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holmsley Elementary Pto                                        Sam Houston Area Council 576                    7315 Hudson Oaks Dr                                              Houston, TX 77095‐1149                                                                                           First Class Mail
Chartered Organization         Holopaw Home Owners Inc                                        Central Florida Council 083                     2010 Apollo Ave                                                  Saint Cloud, FL 34773                                                                                            First Class Mail
Chartered Organization         Holsey Memorial Cme                                            Central Georgia Council 096                     464 Ghettis St                                                   Sparta, GA 31087‐2307                                                                                            First Class Mail
Chartered Organization         Holstein Kiwanis                                               Mid‐America Council 326                         General Delivery                                                 Holstein, IA 51025                                                                                               First Class Mail
Voting Party                   Holston Annual Conference Of The United Methodist Church, In   Attn: Stephen C Walling                         217 S Rankin Rd                                                  Alcoa, TN 37701                                                             rickcherry@holston.org               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holston View United Methodist Church                           174 Church St                                   Weber City, VA 24290                                                                                                                         holstonviewumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holston View Utd Methodist Church                              Sequoyah Council 713                            P.O. Box 2278                                                    Weber City, VA 24290                                                                                             First Class Mail
Chartered Organization         Holt Community House                                           Crossroads of America 160                       7102 Allisonville Rd                                             Indianapolis, IN 46250‐2403                                                                                      First Class Mail
Voting Party                   Holt United Methodist Church                                   Christine L Commet                              2321 N Aurelius Rd                                               P.O. Box 168                             Holt, MI 48842                     holtumc@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holt United Methodist Church                                   P.O. Box 168                                    Holt, MI 48842                                                                                                                               holtumc@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holts Summit Lions Club                                        Great Rivers Council 653                        12018 County Rd 4031                                             Holts Summit, MO 65043‐1581                                                                                      First Class Mail
Chartered Organization         Holtsville Fire Dept                                           Suffolk County Council Inc 404                  1025 Waverly Ave                                                 Holtsville, NY 11742‐1101                                                                                        First Class Mail
Chartered Organization         Holtville Fire Explorer                                        San Diego Imperial Council 049                  549 Fern Ave                                                     Holtville, CA 92250‐1205                                                                                         First Class Mail
Voting Party                   Holtz, Mark                                                    Address Redacted                                                                                                                                                                             Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holy Angels Catholic Church                                    Three Fires Council 127                         180 S Russell Ave                                                Aurora, IL 60506‐4957                                                                                            First Class Mail
Chartered Organization         Holy Angels Catholic Church                                    Texas Swest Council 741                         2202 Rutgers St                                                  San Angelo, TX 76904‐5243                                                                                        First Class Mail
Chartered Organization         Holy Angels Catholic Church                                    Bay‐Lakes Council 635                           138 N 8th Ave                                                    West Bend, WI 53095‐3201                                                                                         First Class Mail
Voting Party                   Holy Angels Catholic Church, Indianapolis, Inc.                Attn: John S Mercer                             1400 N Meridian St                                               Indianapolis, IN 46202                                                      jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holy Angels Catholic School                                    Crossroads of America 160                       2802 Martin Luther King Jr St                                    Indianapolis, IN 46208                                                                                           First Class Mail
Voting Party                   Holy Angels Catholic School Inc                                c/o Gallagher Evelius & Jones LLP               Attn: Matthew W Oakey                                            218 N Charles St, Ste 400                Baltimore, MD 21201                moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holy Angels Church                                             Greater Los Angeles Area 033                    370 Campus Dr                                                    Arcadia, CA 91007‐6917                                                                                           First Class Mail
Voting Party                   Holy Angels Church                                             c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                       Los Angeles, CA 90010              legla@la‐archdiocese.org             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holy Angels Regional School                                    Suffolk County Council Inc 404                  Division St                                                      Patchogue, NY 11772                                                                                              First Class Mail
Chartered Organization         Holy Angels School Pta                                         Greater Los Angeles Area 033                    360 Campus Dr                                                    Arcadia, CA 91007‐6917                                                                                           First Class Mail
Voting Party                   Holy Angels School Pta                                         c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                       Los Angeles, CA 90010              legla@la‐archdiocese.org             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holy Apostles Catholic Church                                  Pikes Peak Council 060                          4925 N Carefree Cir                                              Colorado Springs, CO 80917‐2605                                                                                  First Class Mail
Chartered Organization         Holy Apostles Catholic Church                                  Ore‐Ida Council 106 ‐ Bsa 106                   6300 N Meridian Rd                                               Meridian, ID 83646‐4723                                                                                          First Class Mail
Voting Party                   Holy Apostles Katy                                             Attn: Alex Large                                1225 W Grand Pkwy S                                              Katy, TX 77494                                                                                                   First Class Mail
Chartered Organization         Holy Apostles Parish                                           Laurel Highlands Council 527                    3198 Schieck St                                                  Pittsburgh, PA 15227‐4152                                                                                        First Class Mail
Chartered Organization         Holy Apostles‐School                                           Potawatomi Area Council 651                     3875 S 159th St                                                  New Berlin, WI 53151‐5060                                                                                        First Class Mail
Chartered Organization         Holy Assumption Parish                                         Three Harbors Council 636                       1525 S 71st St                                                   West Allis, WI 53214‐4830                                                                                        First Class Mail
Chartered Organization         Holy Child Academy                                             Cradle of Liberty Council 525                   475 Shadeland Ave                                                Drexel Hill, PA 19026‐1438                                                                                       First Class Mail
Chartered Organization         Holy Child Jesus Roman Catholic Church                         Greater New York Councils, Bsa 640              11111 86th Ave                                                   Richmond Hill, NY 11418‐1613                                                                                     First Class Mail
Chartered Organization         Holy Child R C Church                                          Greater New York Councils, Bsa 640              4747 Amboy Rd                                                    Staten Island, NY 10312‐4153                                                                                     First Class Mail
Chartered Organization         Holy Childhood Catholic Church                                 Northern Star Council 250                       1435 Midway Pkwy                                                 Saint Paul, MN 55108‐2419                                                                                        First Class Mail
Chartered Organization         Holy Childhood Of Jesus Catholic Church                        Greater St Louis Area Council 312               104 N Independence St                                            Mascoutah, IL 62258‐2102                                                                                         First Class Mail
Chartered Organization         Holy Comforter Episcopal Church                                Bay Area Council 574                            227 S Chenango St                                                Angleton, TX 77515‐6001                                                                                          First Class Mail
Chartered Organization         Holy Comforter Episcopal Church                                Sam Houston Area Council 576                    2322 Spring Cypress Rd                                           Spring, TX 77388‐4717                                                                                            First Class Mail
Chartered Organization         Holy Comforter Episcopal Church                                Suwannee River Area Council 664                 2015 Fleischmann Rd                                              Tallahassee, FL 32308‐0561                                                                                       First Class Mail
Voting Party                   Holy Comforter Episcopal Church                                1700 W 10th Ave                                 Broomfield, CO 80020                                                                                                                         rector@holycomforterchurch.net       Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holy Comforter Episcopal Church                                2129 Fm 2920, Ste 190‐165                       Spring, TX 77388                                                                                                                             jimmy@holycomforterspring.org        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holy Comforter Episcopal Church                                Jerry Smith                                     2015 Fleischmann Rd                                              Tallahassee, FL 32308                                                       fatherjerry@HC‐EC.org                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holy Comforter Episcopal Church                                c/o Rogers Towers, Pa                           Attn: Betsy C Cox, Esq                                           1301 Riverplace Blvd, Ste 1500           Jacksonville, FL 32207             bcox@rtlaw.com                       Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holy Comforter Lutheran Church Elca                            Sam Houston Area Council 576                    1901 Woodland Hills Dr                                           Kingwood, TX 77339‐1401                                                                                          First Class Mail
Voting Party                   Holy Communion Episcopal Church Of Lake Geneva                 Attn: Rev. Kevin Huddleston                     320 Broad St                                                     Lake Geneva, WI 53147                                                       huddleston@diomil.org                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holy Communion Lutheran Church                                 Attn: Sara E Lilja                              442 S Route 73                                                   Berlin, NJ 08009                                                            officemgr@hclchurch.org              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holy Covenant Methodist Church                                 Circle Ten Council 571                          1901 E Peters Colony Rd                                          Carrollton, TX 75007‐3548                                                                                        First Class Mail
Voting Party                   Holy Covenant Umc                                              Attn: Pastor Fred Willis                        22111 Morton Ranch Rd                                            Katy, TX 77449                                                              office@hckaty.org                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Holy Covenant United Methodist Church                          Attn: Cheryl Murphy & Christine Perry           1901 E Peters Colony                                             Carrollton, TX 75007                                                        cmurphy@hcumc.org                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Holy Covenant Utd Methodist Church                             Sam Houston Area Council 576                    22111 Morton Ranch Rd                                            Katy, TX 77449‐7819                                                                                              First Class Mail
Chartered Organization         Holy Cross ‐ Family & School Together                          Bay‐Lakes Council 635                           3002 Bay Settlement Rd                                           Green Bay, WI 54311‐7302                                                                                         First Class Mail
Chartered Organization         Holy Cross Academy                                             National Capital Area Council 082               250 Stafford Lakes Pkwy                                          Fredericksburg, VA 22406‐7234                                                                                    First Class Mail
Chartered Organization         Holy Cross Catholic Church                                     Atlanta Area Council 092                        3175 Hathaway Ct                                                 Atlanta, GA 30341‐4640                                                                                           First Class Mail
Chartered Organization         Holy Cross Catholic Church                                     Three Fires Council 127                         2300 Main St                                                     Batavia, IL 60510‐7625                                                                                           First Class Mail
Chartered Organization         Holy Cross Catholic Church                                     Prairielands 117                                409 W Clark St                                                   Champaign, IL 61820                                                                                              First Class Mail
Chartered Organization         Holy Cross Catholic Church                                     Aloha Council, Bsa 104                          P.O. Box 487                                                     Kalaheo, HI 96741‐0487                                                                                           First Class Mail
Chartered Organization         Holy Cross Catholic Church                                     Aloha Council, Bsa 104                          P.O. Box 1263                                                    Kalaheo, HI 96741‐1263                                                                                           First Class Mail
Chartered Organization         Holy Cross Catholic Church                                     Old Hickory Council 427                         616 S Cherry St                                                  Kernersville, NC 27284‐2718                                                                                      First Class Mail
Chartered Organization         Holy Cross Catholic Church                                     Evangeline Area 212                             505 Broadmoor Blvd                                               Lafayette, LA 70503                                                                                              First Class Mail
Chartered Organization         Holy Cross Catholic Church                                     Ventura County Council 057                      13955 Peach Hill Rd                                              Moorpark, CA 93021‐2363                                                                                          First Class Mail
Chartered Organization         Holy Cross Catholic Church                                     Mid‐America Council 326                         4803 William St                                                  Omaha, NE 68106‐2535                                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                            Page 159 of 442
                                                                                    Case 20-10343-LSS                                                                                   Doc 8171                                            Filed 01/06/22                                                    Page 175 of 457
                                                                                                                                                                                                                               Exhibit B
                                                                                                                                                                                                                                Service List
                                                                                                                                                                                                                         Served as set forth below

        Description                                                          Name                                                                                                                                            Address                                                                                                                          Email               Method of Service
Chartered Organization         Holy Cross Catholic Church                                                                   Cascade Pacific Council 492                           5227 N Bowdoin St                                                Portland, OR 97203‐4303                                                                                             First Class Mail
Chartered Organization         Holy Cross Catholic Church                                                                   Northern Lights Council 429                           2711 7th St E                                                    West Fargo, ND 58078‐4382                                                                                           First Class Mail
Voting Party                   Holy Cross Catholic Church                                                                   c/o Archdiocese of Los Angeles                        Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010                         legla@la‐archdiocese.org            Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Catholic Church Austin Tx                                                         c/o Bsa Coordinator                                   Attn: Chancellor                                                 6225 E US 290 Hwy Svrd Eb         Austin, TX 78723                              ron‐walker@austindiocese.org        Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Catholic Church, Austin, Tx                                                       Attn: Rev Basil Aguzie                                1610 E 11th St                                                   Austin, TX 78702                                                                                                    First Class Mail
Voting Party                   Holy Cross Catholic Church, St. Croix, Inc.                                                  Attn: John S Mercer                                   1400 N Meridian St                                               Indianapolis, IN 46202                                                          jsmercer@indylegal.com              Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Holy Cross Church                                                                            Hudson Valley Council 374                             626 County Route 22                                              Middletown, NY 10940‐8446                                                                                           First Class Mail
Chartered Organization         Holy Cross Church                                                                            Monmouth Council, Bsa 347                             30 Ward Ave                                                      Rumson, NJ 07760‐1914                                                                                               First Class Mail
Voting Party                   Holy Cross Church (Weare)                                                                    c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                            159 Main St                       Nashua, NH 03060                              peter@thetamposilawgroup.com        Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Church Of Winter Haven, Inc.                                                      201 Kipling Ln                                        Winter Haven, FL 33884                                                                                                                           HolyCrossEpiscopalWHFL@gmail.com    Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Church, Inc                                                                       410 S Magnolia Ave                                    Sanford, FL 32711                                                                                                                                sanfordholycross@aol.com            Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Holy Cross Episcopal Church                                                                  Blue Ridge Council 551                                205 E College St                                                 Simpsonville, SC 29681‐2616                                                                                         First Class Mail
Chartered Organization         Holy Cross Episcopal Church                                                                  Old Hickory Council 427                               P.O. Box 645                                                     Valle Crucis, NC 28691‐0645                                                                                         First Class Mail
Chartered Organization         Holy Cross Episcopal Church                                                                  Daniel Webster Council, Bsa 330                       118 Center Rd                                                    Weare, NH 03281‐4605                                                                                                First Class Mail
Chartered Organization         Holy Cross Episcopal Church                                                                  Greater Tampa Bay Area 089                            201 Kipling Ln                                                   Winter Haven, FL 33884‐2316                                                                                         First Class Mail
Voting Party                   Holy Cross Episcopal Church                                                                  Attn: Randy Bay                                       P.O. Box 187                                                     Simpsonville, SC 29681                                                          treasurer@holycrossep.org           Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Episcopal Church                                                                  Attn: Scott A Thompson                                5653 W Riverpark Dr                                              Sugar Land, TX 77479                                                            sathompson@holycrosschurch.com      Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Episcopal Church                                                                  Attn: Michael P Flanagan                              205 E College St                                                 Simpsonville, SC 29681                                                          rector@holycrossep.org              Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Episcopal Church                                                                  Attn: the Rev Rob Dixon                               7979 N 9th Ave                                                   Pensacola, FL 32514                                                             rdixon@holycrosspensacola.org       Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Episcopal Church (Middleton)                                                      c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                            159 Main St                       Nashua, NH 03060                              peter@thetamposilawgroup.com        Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Episcopal Church (Millington)                                                     c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                           129 N West St, Ste 1              Easton, MD 21601                              Patrick@DioceseofEaston.org         Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Episcopal Church In Valle Crucis North Carolina                                   c/o The Episcopal Diocese of Western North Carolina   900B Centre Park Dr                                              Asheville, NC 28805                                                             greg@h2lawgroup.com                 Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Episcopal Church In Valle Crucis North Carolina                                   c/o Hilderbrand Hitchock, PA                          Attn: Gregory Hilderbrand                                        301 College St, Ste 110           Asheville, NC 28801                           greg@h2lawgroup.com                 Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Episcopal Church In Valle Crucis North Carolina                                   c/o GHMA Law                                          Attn: David R Hillier                                            P.O. Box 3235                     Asheville, NC 28802                           dhillier@ghma.law                   Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Episcopal Church Of Hayward/Castro Valley, Calif                                  Attn: Mark Spaulding                                  19179 Center St                                                  Castro Valley, CA 94546                                                         mark@holycrosscv.org                Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Holy Cross Evangelical Lutheran Church                                                       Minsi Trails Council 502                              2700 Jacksonville Rd                                             Bethlehem, PA 18017‐3621                                                                                            First Class Mail
Chartered Organization         Holy Cross Evangelical Lutheran Church                                                       Mid‐America Council 326                               4117 Terrace Dr                                                  Omaha, NE 68134‐3755                                                                                                First Class Mail
Chartered Organization         Holy Cross Greek Orthodox Church                                                             Greater New York Councils, Bsa 640                    8401 Ridge Blvd                                                  Brooklyn, NY 11209‐4327                                                                                             First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Greater Niagara Frontier Council 380                  8900 Sheridan Dr                                                 Clarence, NY 14031‐1420                                                                                             First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Tuscarora Council 424                                 2920 Nc Hwy 42 W                                                 Clayton, NC 27520‐9229                                                                                              First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Pikes Peak Council 060                                4125 Constitution Ave                                            Colorado Springs, CO 80909‐1662                                                                                     First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Greater St Louis Area Council 312                     13014 Olive Blvd                                                 Creve Coeur, MO 63141‐6152                                                                                          First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Orange County Council 039                             4321 Cerritos Ave                                                Cypress, CA 90630‐4216                                                                                              First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Circle Ten Council 571                                11425 Marsh Ln                                                   Dallas, TX 75229‐2637                                                                                               First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Greater St Louis Area Council 312                     3778 N Water St                                                  Decatur, IL 62526‐1979                                                                                              First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   National Capital Area Council 082                     1090 Sterling Rd                                                 Herndon, VA 20170‐3805                                                                                              First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Central Florida Council 083                           780 N Sun Dr                                                     Lake Mary, FL 32746‐2507                                                                                            First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Last Frontier Council 480                             2105 NW 38th St                                                  Lawton, OK 73505‐1809                                                                                               First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Northeast Illinois 129                                1151 N Saint Marys Rd                                            Libertyville, IL 60048‐1641                                                                                         First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   San Francisco Bay Area Council 028                    1020 Mocho St                                                    Livermore, CA 94550‐4102                                                                                            First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Old N State Council 070                               1913 US Hwy 601 S                                                Mocksville, NC 27028‐6903                                                                                           First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Northern Star Council 250                             6355 10th St N                                                   Oakdale, MN 55128‐6137                                                                                              First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Sioux Council 733                                     1300 S Sertoma Ave                                               Sioux Falls, SD 57106‐5812                                                                                          First Class Mail
Chartered Organization         Holy Cross Lutheran Church                                                                   Denver Area Council 061                               4500 Wadsworth Blvd                                              Wheat Ridge, CO 80033‐3304                                                                                          First Class Mail
Voting Party                   Holy Cross Lutheran Church                                                                   c/o Law Offices of Steven B Lever                     200 Pine Ave, Ste 620                                            Long Beach, CA 90802                                                            sblever@leverlaw.com                Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Lutheran Church                                                                   c/o Law Offices of Steven B. Lever                    200 Pine Ave, Ste 620                                            Long Beach, CA 90802                                                            sblever@leverlaw.com                Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Lutheran Church                                                                   Attn: Stanley Koster                                  600 N Greenwich Rd                                               Wichita, KS 67206                                                               office@holycrosslutheran.net        Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Lutheran Church                                                                   Attn: Rev Sharolyn Browning                           4622 S Lamar Blvd                                                Austin, TX 78745                                                                office@holycrossatx.org             Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Lutheran Church                                                                   4321 Cerritos Ave                                     Cypress, CA 90630                                                                                                                                kkritzer@bethanylutheran.org        Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Lutheran Church                                                                   Attn: Christopher Smith                               2204 Farnswood Cir                                               Austin, TX 78704                                                                cdsmith77@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Lutheran Church And School Of North Miami, Inc.                                   Attn: Sherry Mackey                                   650 NE 135th St                                                  N Miami, FL 33161                                                               dsmackey@holycross‐nm.orgt          Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Lutheran Church Concord, Ca                                                       Attn:Treasurer Holy Cross Lutheran Church             1092 Alberta Way                                                 Concord, CA 94521                                                               Office@holycrossconcord.org         Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Holy Cross Lutheran Church Of Bismarck                                                       Northern Lights Council 429                           7111 Williamson Way                                              Bismarck, ND 58503‐6288                                                                                             First Class Mail
Voting Party                   Holy Cross Lutheran Church Of Lake Mary Inc                                                  Attn: Dennis Mcgavock                                 780 N Sun Dr                                                     Lake Mary, FL 32746                                                             dennis@hclm.org                     Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Lutheran Church Of Los Gatos                                                      Attn: Andrew Meyer                                    15885 Los Gatos Almaden Rd                                       Los Gatos, CA 95032                                                             admin@holycrosslosgatos.com         Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Cross Lutheran Church Of Warren                                                         Attn: Alan Eisinger                                   30003 Ryan Rd                                                    Warren, MI 48092                                                                pastor@holycrosswarren.com          Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Holy Cross Lutheran School                                                                   Greater St Louis Area Council 312                     304 S Seminary St                                                Collinsville, IL 62234                                                                                              First Class Mail
Chartered Organization         Holy Cross Orthodox Church                                                                   Buffalo Trail Council 567                             1616 W Golf Course Rd                                            Midland, TX 79701‐4026                                                                                              First Class Mail
Chartered Organization         Holy Cross Parents For Scouting                                                              Heart of America Council 307                          540 Holmes St                                                    Kansas City, MO 64106‐3501                                                                                          First Class Mail
Chartered Organization         Holy Cross Parish                                                                            National Capital Area Council 082                     4900 Strathmore Ave                                              Garrett Park, MD 20896‐1548                                                                                         First Class Mail
Chartered Organization         Holy Cross Parish                                                                            Bay‐Lakes Council 635                                 309 Desnoyer St                                                  Kaukauna, WI 54130‐2103                                                                                             First Class Mail
Chartered Organization         Holy Cross Parish                                                                            Hudson Valley Council 374                             626 County Route 22                                              Middletown, NY 10940‐8446                                                                                           First Class Mail
Chartered Organization         Holy Cross Parish                                                                            Mayflower Council 251                                 225 Purchase St                                                  South Easton, MA 02375‐1605                                                                                         First Class Mail
Chartered Organization         Holy Cross Parish Catholic Church                                                            Garden State Council 690                              46 Central Ave                                                   Bridgeton, NJ 08302‐2305                                                                                            First Class Mail
Chartered Organization         Holy Cross R C Church                                                                        Seneca Waterways 397                                  4492 Lake Ave                                                    Rochester, NY 14612‐4540                                                                                            First Class Mail
Chartered Organization         Holy Cross Rc Church                                                                         Suffolk County Council Inc 404                        95 Nichols Rd                                                    Nesconset, NY 11767‐2073                                                                                            First Class Mail
Chartered Organization         Holy Disciples Catholic Church                                                               Pacific Harbors Council, Bsa 612                      10425 187th St E                                                 Puyallup, WA 98374‐9578                                                                                             First Class Mail
Chartered Organization         Holy Eucharist Roman Catholic Church                                                         Garden State Council 690                              344 Kresson Rd                                                   Cherry Hill, NJ 08034‐3357                                                                                          First Class Mail
Chartered Organization         Holy Faith Catholic Church                                                                   North Florida Council 087                             747 NW 43rd St                                                   Gainesville, FL 32607‐6118                                                                                          First Class Mail
Voting Party                   Holy Faith Episcopal Dunnellon Florida                                                       Attn: Paul Hamilton                                   19924 W Blue Cove Dr                                             Dunnellon, FL 34432                                                             holyfaithepiscopal@att.net          Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Faith Episcopal Dunnellon, Fl                                                           c/o Foxwood Farms                                     Attn: Paul Hamilton                                              1844 NW 47th Ter                  P.O. Box 333                Ocala, FL 34482   mrmountain176@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Holy Family & St John The Evangelist                                                         Westmoreland Fayette 512                              1204 Ligonier St                                                 Latrobe, PA 15650‐1920                                                                                              First Class Mail
Chartered Organization         Holy Family Cathedral School                                                                 Orange County Council 039                             530 S Glassell St                                                Orange, CA 92866‐3017                                                                                               First Class Mail
Chartered Organization         Holy Family Catholic Academy                                                                 Aloha Council, Bsa 104                                830 Main St                                                      Honolulu, HI 96818‐4413                                                                                             First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Middle Tennessee Council 560                          9100 Crockett Rd                                                 Brentwood, TN 37027‐8450                                                                                            First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Tidewater Council 596                                 1453 N Rd St                                                     Elizabeth City, NC 27909‐3241                                                                                       First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Verdugo Hills Council 058                             209 E Lomita Ave                                                 Glendale, CA 91205‐1618                                                                                             First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Northern Lights Council 429                           1018 18th Ave S                                                  Grand Forks, ND 58201‐6828                                                                                          First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Pathway To Adventure 456                              2515 Palatine Rd                                                 Inverness, IL 60067‐4567                                                                                            First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Buffalo Trace 156                                     950 Church Ave                                                   Jasper, IN 47546‐3715                                                                                               First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Las Vegas Area Council 328                            4490 Mountain Vista St                                           Las Vegas, NV 89121‐6550                                                                                            First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Abraham Lincoln Council 144                           410 S State St                                                   Litchfield, IL 62056‐2231                                                                                           First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Southeast Louisiana Council 214                       155 Holy Family Ln                                               Luling, LA 70070‐6103                                                                                               First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Atlanta Area Council 092                              3401 Lower Roswell Rd                                            Marietta, GA 30068‐3973                                                                                             First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Sam Houston Area Council 576                          1510 5th St                                                      Missouri City, TX 77489‐1205                                                                                        First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Lincoln Heritage Council 205                          129 W Daisy Ln                                                   New Albany, IN 47150‐4536                                                                                           First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Great Lakes Fsc 272                                   24505 Meadowbrook Rd                                             Novi, MI 48375‐2845                                                                                                 First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Central Florida Council 083                           5125 S Apopka Vineland Rd                                        Orlando, FL 32819‐3801                                                                                              First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Lake Erie Council 440                                 7367 York Rd                                                     Parma, OH 44130‐5162                                                                                                First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Blackhawk Area 660                                    4401 Highcrest Rd                                                Rockford, IL 61107‐1401                                                                                             First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Greater Tampa Bay Area 089                            200 78th Ave Ne                                                  Saint Petersburg, FL 33702‐4416                                                                                     First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Great Trail 433                                       3450 Sycamore Dr                                                 Stow, OH 44224‐3937                                                                                                 First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Three Harbors Council 636                             4810 N Marlborough Dr                                            Whitefish Bay, WI 53217‐5959                                                                                        First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Old Hickory Council 427                               4820 Kinnamon Rd                                                 Winston Salem, NC 27103‐9734                                                                                        First Class Mail
Chartered Organization         Holy Family Catholic Church                                                                  Samoset Council, Bsa 627                              8950 County J                                                    Woodruff, WI 54568‐9637                                                                                             First Class Mail
Voting Party                   Holy Family Catholic Church                                                                  c/o Archdiocese of Los Angeles                        Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010                         legla@la‐archdiocese.org            Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Family Catholic Church                                                                  Attn: Margaret Graf                                   3424 Wilshire Blvd                                               Los Angeles, CA 90010                                                           legal@la‐archdiocese.org            Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Family Catholic Church                                                                  c/o Archdiocese of Los Angeles                        Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010                         legal@la‐archdiocese.org            Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Family Catholic Church, New Albany, Inc                                                 Attn: John S Mercer                                   1400 N Meridian St                                               Indianapolis, IN 46202                                                          jsmercer@indylegal.com              Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Holy Family Catholic Commty                                                                  St. Josephs                                           206 Fremont St                                                   Wayland, NY 14572‐1206                                                                                              First Class Mail
Chartered Organization         Holy Family Catholic Community                                                               Pathway To Adventure 456                              2515 Palatine Rd                                                 Inverness, IL 60067‐4567                                                                                            First Class Mail
Chartered Organization         Holy Family Catholic Community                                                               National Capital Area Council 082                     7321 Burkittsville Rd                                            Middletown, MD 21769‐6902                                                                                           First Class Mail
Voting Party                   Holy Family Catholic Community Of Middletown, Roman Catholic Congregation Inc                c/o Gallagher Evelius & Jones LLP                     Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201                           moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Holy Family Catholic School                                                                  Capitol Area Council 564                              9400 Neenah Ave                                                  Austin, TX 78717‐5346                                                                                               First Class Mail
Chartered Organization         Holy Family Catholic School                                                                  Denver Area Council 061                               786 26 1/2 Rd                                                    Grand Junction, CO 81506‐8350                                                                                       First Class Mail
Chartered Organization         Holy Family Catholic School                                                                  North Florida Council 087                             9800 Baymeadows Rd 3                                             Jacksonville, FL 32256‐7962                                                                                         First Class Mail
Chartered Organization         Holy Family Catholic School                                                                  Istrouma Area Council 211                             335 N Jefferson Ave                                              Port Allen, LA 70767‐2725                                                                                           First Class Mail
Voting Party                   Holy Family Catholic School                                                                  Attn: Rev Joan Wagner                                 6225 E US 290 Hwy Svrd Eb                                        Austin, TX 78723                                                                ron‐walker@austindiocese.org        Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Family Catholic School                                                                  Attn: Rev Joan Wagner                                 9400 Neenah Ave                                                  Austin, TX 78717                                                                                                    First Class Mail
Chartered Organization         Holy Family Church                                                                           Mayflower Council 251                                 601 Tremont St                                                   Duxbury, MA 02332‐4451                                                                                              First Class Mail
Chartered Organization         Holy Family Church                                                                           Greater St Louis Area Council 312                     2606 Washington Ave                                              Granite City, IL 62040‐4810                                                                                         First Class Mail
Chartered Organization         Holy Family Church                                                                           Minsi Trails Council 502                              23 Forest Dr                                                     Nazareth, PA 18064‐1300                                                                                             First Class Mail
Chartered Organization         Holy Family Church                                                                           Silicon Valley Monterey Bay 055                       4848 Pearl Ave                                                   San Jose, CA 95136‐2701                                                                                             First Class Mail
Chartered Organization         Holy Family Church                                                                           Ohio River Valley Council 619                         2608 Hollywood Blvd                                              Steubenville, OH 43952‐1143                                                                                         First Class Mail
Chartered Organization         Holy Family Church                                                                           Grand Columbia Council 614                            5315 Tieton Dr                                                   Yakima, WA 98908‐3456                                                                                               First Class Mail
Chartered Organization         Holy Family Church And School                                                                South Texas Council 577                               2509 Nogales St                                                  Corpus Christi, TX 78416‐1613                                                                                       First Class Mail
Voting Party                   Holy Family Davidsonville Roman Catholic Congregation Inc                                    Attn: Matthew W Oakey                                 218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                             moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Holy Family Episcopal Church                                                                 Crossroads of America 160                             11445 Fishers Point Blvd                                         Fishers, IN 46038‐2997                                                                                              First Class Mail
Chartered Organization         Holy Family Episcopal Church                                                                 Great Swest Council 412                               10A Bisbee Ct                                                    Turqouise Trail Buisness Park     Santa Fe, NM 87508                                                                First Class Mail
Voting Party                   Holy Family Episcopal Church                                                                 Attn: Emerald Thomas                                  1010 N Hiawassee Rd                                              Orlando, FL 32818                                                               ethomas18@att.net                   Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Family Episcopal Church Of Fishers, Inc.                                                c/o Plews Shadley Racher & Braun LLP                  Attn: Todd G Relue                                               1346 N Delaware St                Indianapolis, IN 46202                        trelue@psrb.com                     Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Family Episcopal Church, Successor In Interest To Church Of St John In The Wilderness   233 Fairmount Ave                                     Laurel Springs, NJ 08021                                                                                                                         holyfamilyepiscopal2018@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Holy Family Of Nazareth Catholic Church                                                      Circle Ten Council 571                                2330 Cheyenne St                                                 Irving, TX 75062‐7202                                                                                               First Class Mail
Chartered Organization         Holy Family Parish                                                                           The Spirit of Adventure 227                           9 Sparhawk St                                                    Amesbury, MA 01913‐3315                                                                                             First Class Mail
Chartered Organization         Holy Family Parish                                                                           Bay‐Lakes Council 635                                 271 4th St Way                                                   Fond Du Lac, WI 54937‐7508                                                                                          First Class Mail
Chartered Organization         Holy Family Parish                                                                           Mississippi Valley Council 141 141                    415 11th St                                                      Fort Madison, IA 52627‐2706                                                                                         First Class Mail
Chartered Organization         Holy Family Parish                                                                           Daniel Webster Council, Bsa 330                       5 Church St                                                      Gorham, NH 03581‐1601                                                                                               First Class Mail
Chartered Organization         Holy Family Parish                                                                           Chief Seattle Council 609                             7300 120th Ave Ne                                                Kirkland, WA 98033‐8121                                                                                             First Class Mail
Chartered Organization         Holy Family Parish                                                                           Mid‐America Council 326                               103 E 3rd St                                                     Lindsay, NE 68644                                                                                                   First Class Mail
Chartered Organization         Holy Family Parish                                                                           Leatherstocking 400                                   763 E Main St                                                    Little Falls, NY 13365‐1654                                                                                         First Class Mail
Chartered Organization         Holy Family Parish                                                                           Sioux Council 733                                     222 N Kimball St                                                 Mitchell, SD 57301‐3452                                                                                             First Class Mail
Chartered Organization         Holy Family Parish                                                                           Garden State Council 690                              226 Hurffville Rd                                                Sewell, NJ 08080‐9417                                                                                               First Class Mail
Voting Party                   Holy Family Parish                                                                           c/o Cullen and Dykman LLP                             Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd        Garden City, NY 11530                         MRoseman@cullenllp.com              Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Family Parish                                                                           Attn: Andre L Kydala                                  54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                                   First Class Mail
Chartered Organization         Holy Family Parish‐Catholic                                                                  Trapper Trails 589                                    1100 E 5550 S                                                    South Ogden, UT 84403                                                                                               First Class Mail
Chartered Organization         Holy Family Rc Church                                                                        Greater Niagara Frontier Council 380                  1885 S Park Ave                                                  Buffalo, NY 14220‐1536                                                                                              First Class Mail
Chartered Organization         Holy Family Rc Church                                                                        Westchester Putnam 388                                83 Clove Rd                                                      New Rochelle, NY 10801‐1604                                                                                         First Class Mail
Chartered Organization         Holy Family Rc Parish                                                                        Iroquois Trail Council 376                            106 S Main St                                                    Albion, NY 14411‐1402                                                                                               First Class Mail
Chartered Organization         Holy Family Roman Catholic Church                                                            Narragansett 546                                      370 Middleboro Ave                                               East Taunton, MA 02718‐1016                                                                                         First Class Mail
Chartered Organization         Holy Family Roman Catholic Church                                                            Greater New York Councils, Bsa 640                    17520 74th Ave                                                   Fresh Meadows, NY 11366‐1529                                                                                        First Class Mail
Chartered Organization         Holy Family Roman Catholic Church                                                            Theodore Roosevelt Council 386                        5 Fordham Ave                                                    Hicksville, NY 11801‐5611                                                                                           First Class Mail
Chartered Organization         Holy Family Roman Catholic Church                                                            Baltimore Area Council 220                            9531 Liberty Rd                                                  Randallstown, MD 21133‐2703                                                                                         First Class Mail
Voting Party                   Holy Family Roman Catholic Church Society Of The City Of Buffalo                             c/o Woods Oviatt Gilman LLP                           Attn: Timothy P Lyster, Esq                                      1900 Bausch & Lomb Pl             Rochester, NY 14604                           tlyster@woodsoviatt.com             Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Family Roman Catholic Church, Luling, Louisiana                                         Attn: Susan A Zeringue, General Counsel               7887 Walmsley Ave                                                New Orleans, LA 70125                                                           szeringue@arch‐no.org               Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Family Roman Catholic Church, Luling, Louisiana                                         Attn: Susan Zeringue                                  7887 Walmsley Ave                                                New Orleans, LA 70125                                                           szeringue@arch‐no.org               Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Holy Family Roman Catholic Congregation Inc                                                  c/o Gallagher Evelius & Jones LLP                     Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201                           moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Holy Family School                                                                           Central Minnesota 296                                 160 2nd St S                                                     Albany, MN 56307‐9516                                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                                Page 160 of 442
                                                                                 Case 20-10343-LSS                                                           Doc 8171                                             Filed 01/06/22                                                    Page 176 of 457
                                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                                      Service List
                                                                                                                                                                                               Served as set forth below

        Description                                                        Name                                                                                                                    Address                                                                                                               Email                  Method of Service
Chartered Organization         Holy Family School                                            Pathway To Adventure 456                                   3415 W Arthington St                                             Chicago, IL 60624‐4104                                                                                      First Class Mail
Chartered Organization         Holy Family School                                            Water and Woods Council 782                                215 Orchard St                                                   Grand Blanc, MI 48439‐1374                                                                                  First Class Mail
Chartered Organization         Holy Family School                                            Greater St Louis Area Council 312                          2606 Washington Ave                                              Granite City, IL 62040‐4810                                                                                 First Class Mail
Chartered Organization         Holy Family School                                            Bay‐Lakes Council 635                                      1204 S Fisk St                                                   Green Bay, WI 54304‐2220                                                                                    First Class Mail
Chartered Organization         Holy Family School System                                     Hawkeye Area Council 172                                   3700 1st Ave Nw                                                  Cedar Rapids, IA 52405‐4570                                                                                 First Class Mail
Voting Party                   Holy Family, Davidsonville, Roman Catholic Congregation Inc   c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201                moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Ghost Catholic Church                                    Northeast Iowa Council 178                                 2215 Windsor Ave                                                 Dubuque, IA 52001‐0623                                                                                      First Class Mail
Voting Party                   Holy Ghost Lutheran Church And School                         Attn: Exec Dir                                             3589 Heiss Rd                                                    Monroe, MI 48161                                                     michael.maloziec@holyghostmonroe.org   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Ghost Parish                                             Mayflower Council 251                                      518 Washington St                                                Whitman, MA 02382‐1911                                                                                      First Class Mail
Chartered Organization         Holy Ground Church Theological Seminary                       San Francisco Bay Area Council 028                         388 9th St, Ste 183                                              Oakland, CA 94607‐4292                                                                                      First Class Mail
Chartered Organization         Holy Guardian Angel Rc Ch                                     Hawk Mountain Council 528                                  3125 Kutztown Rd                                                 Reading, PA 19605‐2659                                                                                      First Class Mail
Chartered Organization         Holy Guardian Angels Rc Ch                                    Hawk Mountain Council 528                                  3121 Kutztown Rd                                                 Reading, PA 19605‐2659                                                                                      First Class Mail
Chartered Organization         Holy Infant Catholic Church                                   Greater St Louis Area Council 312                          627 Dennison Dr                                                  Ballwin, MO 63021‐4870                                                                                      First Class Mail
Chartered Organization         Holy Infant Of Prague Catholic Church                         Greater Alabama Council 001                                8090 Gadsden Hwy                                                 Trussville, AL 35173‐1656                                                                                   First Class Mail
Chartered Organization         Holy Innocents Catholic Church                                Chief Seattle Council 609                                  P.O. Box 850                                                     Duvall, WA 98019‐0850                                                                                       First Class Mail
Chartered Organization         Holy Innocents Church                                         Cradle of Liberty Council 525                              1337 E Hunting Park Ave                                          Philadelphia, PA 19124‐4938                                                                                 First Class Mail
Voting Party                   Holy Innocents Church                                         Attn: Msgr Joseph Lamorte                                  1011 1st Ave                                                     New York, NY 10022                                                   Msgr.Joseph.LaMorte@archny.com         Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Holy Innocents Church                                         c/o Mcgivney Kluger Clark & Intoccia, Pc                   Attn: Kenneth Ross                                               80 Broad St, 23rd Fl              New York, NY 10004                 kross@mcgivneyandkluger.com            Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Innocents Episcopal Church                               Atlanta Area Council 092                                   805 Mount Vernon Hwy                                             Atlanta, GA 30327‐4338                                                                                      First Class Mail
Chartered Organization         Holy Innocents Episcopal Church                               Greater Tampa Bay Area 089                                 604 N Valrico Rd                                                 Valrico, FL 33594‐6874                                                                                      First Class Mail
Voting Party                   Holy Innocents Episcopal Church                               131 E Ridge St                                             Marquette, MI 49855                                                                                                                   timothyquinnell@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Holy Innocents' Episcopal Church, Inc                         William Seldon Murray                                      805 Mt Vernon Hwy Nw                                             Atlanta, GA 30327                                                    bmurray@holyinnocents.org              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Holy Innocents' Episcopal Church, Inc.                        Attn: David M. Calhoun, Esq                                3343 Peachtree Rd Ne, Ste 1600                                   Atlanta, GA 30326                                                    bmurray@holyinnocents.org              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Innocents Knights Columbus                               Council 3581                                               3581 Jeffries Rd                                                 Levittown, NY 11756‐2861                                                                                    First Class Mail
Voting Party                   Holy Korean Martyrs Roman Catholic Congregation Inc           c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201                moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Love Lutheran Church                                     Denver Area Council 061                                    4210 S Chambers Rd                                               Aurora, CO 80014‐4130                                                                                       First Class Mail
Chartered Organization         Holy Martyrs Of Vietnam Catholic Church                       National Capital Area Council 082                          915 S Wakefield St                                               Arlington, VA 22204‐3003                                                                                    First Class Mail
Chartered Organization         Holy Mother Of Consolation                                    Glaciers Edge Council 620                                  651 N Main St                                                    Oregon, WI 53575‐1111                                                                                       First Class Mail
Chartered Organization         Holy Mount Episcopal Church                                   Conquistador Council Bsa 413                               121 Mescalero Trl                                                Ruidoso, NM 88345‐6090                                                                                      First Class Mail
Chartered Organization         Holy Name Catholic Church                                     Lincoln Heritage Council 205                               511 2nd St                                                       Henderson, KY 42420‐3222                                                                                    First Class Mail
Chartered Organization         Holy Name Catholic Church                                     Great Alaska Council 610                                   433 Jackson St                                                   Ketchikan, AK 99901‐5715                                                                                    First Class Mail
Chartered Organization         Holy Name Catholic Church Of Watertown                        Sioux Council 733                                          1009 Skyline Dr                                                  Watertown, SD 57201‐1343                                                                                    First Class Mail
Chartered Organization         Holy Name Central School                                      Bay‐Lakes Council 635                                      409 S 22nd St                                                    Escanaba, MI 49829‐2242                                                                                     First Class Mail
Chartered Organization         Holy Name Church                                              The Spirit of Adventure 227                                1689 Centre St                                                   West Roxbury, MA 02132‐1242                                                                                 First Class Mail
Chartered Organization         Holy Name Of Jesus                                            California Inland Empire Council 045                       115 W Olive Ave                                                  Redlands, CA 92373‐5245                                                                                     First Class Mail
Chartered Organization         Holy Name Of Jesus                                            Northern Star Council 250                                  155 County Rd 24                                                 Wayzata, MN 55391‐9614                                                                                      First Class Mail
Voting Party                   Holy Name Of Jesus                                            c/o Cullen and Dykman LLP                                  Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd        Garden City, NY 11530              MRoseman@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Name Of Jesus Catholic Church                            New Birth of Freedom 544                                   6150 Allentown Blvd                                              Harrisburg, PA 17112‐2603                                                                                   First Class Mail
Chartered Organization         Holy Name Of Jesus Catholic Church                            Central Florida Council 083                                3050 N Hwy A1A                                                   Indialantic, FL 32903‐2132                                                                                  First Class Mail
Chartered Organization         Holy Name Of Jesus Catholic Church                            Gulf Coast Council 773                                     1200 Valparaiso Blvd                                             Niceville, FL 32578‐2946                                                                                    First Class Mail
Voting Party                   Holy Name Of Jesus Catholic Church Indianapolis, Inc.         Attn: John S Mercer                                        1400 N Meridian St                                               Indianapolis, IN 46202                                               jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Name Of Jesus Church                                     Westchester Putnam 388                                     75 Lispenard Ave                                                 New Rochelle, NY 10801‐4450                                                                                 First Class Mail
Chartered Organization         Holy Name Of Jesus Roman Catholic Church                      Greater New York Councils, Bsa 640                         245 Prospect Park W                                              Brooklyn, NY 11215‐5807                                                                                     First Class Mail
Chartered Organization         Holy Name Of Jesus School Parents Club                        Southeast Louisiana Council 214                            6325 Cromwell Pl                                                 New Orleans, LA 70118‐6260                                                                                  First Class Mail
Voting Party                   Holy Name Of Mary                                             c/o Cullen and Dykman LLP                                  Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd        Garden City, NY 11530              MRoseman@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Name Of Mary Catholic Church                             Greater Los Angeles Area 033                               724 E Bonita Ave                                                 San Dimas, CA 91773‐2769                                                                                    First Class Mail
Voting Party                   Holy Name Of Mary Catholic Church                             c/o Archdiocese of Los Angeles                             Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010              legal@la‐archdiocese.org               Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Name Of Mary Roman Catholic Church                       Westchester Putnam 388                                     110 Grand St                                                     Croton On Hudson, NY 10520‐2305                                                                             First Class Mail
Chartered Organization         Holy Name School                                              San Francisco Bay Area Council 028                         1560 40th Ave                                                    San Francisco, CA 94122‐3030                                                                                First Class Mail
Chartered Organization         Holy Name Scty Immaculate Conception Ch                       Great Rivers Council 653                                   1206 E Mccarty St                                                Jefferson City, MO 65101‐4829                                                                               First Class Mail
Chartered Organization         Holy Name Society                                             Rocky Mountain Council 063                                 608 S Maple St                                                   Trinidad, CO 81082‐3349                                                                                     First Class Mail
Chartered Organization         Holy Name Society                                             Longhouse Council 373                                      320 W Lynde St                                                   Watertown, NY 13601‐1918                                                                                    First Class Mail
Chartered Organization         Holy Name Society Assumption Of                               The Blessed Virgin Mary Rcc                                2 N 8th St                                                       Lebanon, PA 17046‐5008                                                                                      First Class Mail
Chartered Organization         Holy Name Society Of Lady Of Visitation                       Northern New Jersey Council, Bsa 333                       234 N Farview Ave                                                Paramus, NJ 07652‐3244                                                                                      First Class Mail
Chartered Organization         Holy Name Society Of Our Lady                                 Northern New Jersey Council, Bsa 333                       234 N Farview Ave                                                Paramus, NJ 07652‐3244                                                                                      First Class Mail
Chartered Organization         Holy Name Society Of St Peter'S                               Great Rivers Council 653                                   216 Broadway                                                     Jefferson City, MO 65101‐1508                                                                               First Class Mail
Chartered Organization         Holy Name Society Of St Richards                              The Spirit of Adventure 227                                88 Forest St                                                     Danvers, MA 01923‐1806                                                                                      First Class Mail
Chartered Organization         Holy Name Society Of St Thomas Apostle                        Roman Catholic Church                                      60 Byrd Ave                                                      Bloomfield, NJ 07003‐4433                                                                                   First Class Mail
Chartered Organization         Holy Name Society Of Visitation Roman                         Jersey Shore Council 341                                   730 Lynnwood Ave                                                 Brick, NJ 08723‐5302                                                                                        First Class Mail
Chartered Organization         Holy Name Society St Francis Catholic Ch                      Mississippi Valley Council 141 141                         1721 College Ave                                                 Quincy, IL 62301‐2640                                                                                       First Class Mail
Chartered Organization         Holy Name Society St Joseph Cupertino                         Silicon Valley Monterey Bay 055                            10110 N De Anza Blvd                                             Cupertino, CA 95014‐2211                                                                                    First Class Mail
Chartered Organization         Holy Name Society St Philip The Apostle                       Northern New Jersey Council, Bsa 333                       488 Saddle River Rd                                              Saddle Brook, NJ 07663‐4658                                                                                 First Class Mail
Chartered Organization         Holy Name Society, Holy Name Parish                           Garden State Council 690                                   P.O. Box 1099                                                    Delran, NJ 08075‐0899                                                                                       First Class Mail
Chartered Organization         Holy Name Society‐Holy Name Church                            Samoset Council, Bsa 627                                   1104 S 9th Ave                                                   Wausau, WI 54401‐5910                                                                                       First Class Mail
Chartered Organization         Holy Name Society‐St John The Baptist                         Minsi Trails Council 502                                   3024 S Ruch St                                                   Whitehall, PA 18052‐2832                                                                                    First Class Mail
Chartered Organization         Holy Name Society‐St Josephs Catholic Ch                      New Birth of Freedom 544                                   5055 Grandview Rd                                                Hanover, PA 17331‐7826                                                                                      First Class Mail
Chartered Organization         Holy Redeemer Cath. Church Of Marshall                        Sioux Council 733                                          503 W Lyon St                                                    Marshall, MN 56258‐1311                                                                                     First Class Mail
Chartered Organization         Holy Redeemer Catholic Church                                 National Capital Area Council 082                          4902 Berwyn Rd                                                   College Park, MD 20740‐2111                                                                                 First Class Mail
Chartered Organization         Holy Redeemer Catholic Church                                 Buffalo Trace 156                                          918 W Mill Rd                                                    Evansville, IN 47710‐3932                                                                                   First Class Mail
Chartered Organization         Holy Redeemer Catholic Church                                 Sioux Council 733                                          503 W Lyon St                                                    Marshall, MN 56258‐1311                                                                                     First Class Mail
Chartered Organization         Holy Redeemer Catholic Church                                 Verdugo Hills Council 058                                  2411 Montrose Ave                                                Montrose, CA 91020‐1419                                                                                     First Class Mail
Chartered Organization         Holy Redeemer Catholic Church                                 Oregon Trail Council 697                                   2250 16th St                                                     North Bend, OR 97459‐1682                                                                                   First Class Mail
Voting Party                   Holy Redeemer Catholic Church                                 c/o Archdiocese of Los Angeles                             Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010              legal@la‐archdiocese.org               Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Redeemer Catholic Parish                                 Longhorn Council 662                                       16250 Old Weatherford Rd                                         Aledo, TX 76008‐2936                                                                                        First Class Mail
Chartered Organization         Holy Redeemer Catholic School                                 Atlanta Area Council 092                                   3380 Old Alabama Rd                                              Johns Creek, GA 30022‐5053                                                                                  First Class Mail
Chartered Organization         Holy Redeemer Christian Academy                               Three Harbors Council 636                                  3500 W Mother Daniels Way                                        Milwaukee, WI 53209‐5311                                                                                    First Class Mail
Chartered Organization         Holy Redeemer Church                                          Greater St Louis Area Council 312                          17 Joy Ave                                                       Saint Louis, MO 63119‐2501                                                                                  First Class Mail
Chartered Organization         Holy Redeemer Lutheran Church                                 Long Beach Area Council 032                                14515 Blaine Ave                                                 Bellflower, CA 90706‐3116                                                                                   First Class Mail
Voting Party                   Holy Redeemer Lutheran Church Inc. Of Bellflower, Ca 90706    14515 Blaine Ave                                           Bellflower, CA 90706                                                                                                                  woien@sbcglobal.net                    Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Redeemer Parish                                          National Capital Area Council 082                          9715 Saul Rd                                                     Kensington, MD 20895                                                                                        First Class Mail
Chartered Organization         Holy Redeemer Parish                                          The Spirit of Adventure 227                                42 Green St                                                      Merrimac, MA 01860                                                                                          First Class Mail
Chartered Organization         Holy Redeemer Parish                                          Cascade Pacific Council 492                                25 N Rosa Parks Way                                              Portland, OR 97217‐2028                                                                                     First Class Mail
Chartered Organization         Holy Rosary Catholic Church                                   Mt Diablo‐Silverado Council 023                            1313 A St                                                        Antioch, CA 94509‐2328                                                                                      First Class Mail
Chartered Organization         Holy Rosary Catholic Church                                   South Florida Council 084                                  9500 SW 184th St                                                 Cutler Bay, FL 33157‐7019                                                                                   First Class Mail
Chartered Organization         Holy Rosary Catholic Church                                   Buffalo Trace 156                                          1301 S Green River Rd                                            Evansville, IN 47715‐5617                                                                                   First Class Mail
Chartered Organization         Holy Rosary Catholic Church                                   Sam Houston Area Council 576                               3617 Milam St                                                    Houston, TX 77002‐9535                                                                                      First Class Mail
Chartered Organization         Holy Rosary Catholic Church                                   Chickasaw Council 558                                      4851 Park Ave                                                    Memphis, TN 38117‐5662                                                                                      First Class Mail
Chartered Organization         Holy Rosary Catholic Church                                   Middle Tennessee Council 560                               190 Graylynn Dr                                                  Nashville, TN 37214‐2706                                                                                    First Class Mail
Chartered Organization         Holy Rosary Catholic Church                                   Istrouma Area Council 211                                  44450 Hwy 429                                                    Saint Amant, LA 70774‐4510                                                                                  First Class Mail
Chartered Organization         Holy Rosary Catholic Church                                   Alamo Area Council 583                                     159 Camino Santa Maria St                                        San Antonio, TX 78228‐4901                                                                                  First Class Mail
Chartered Organization         Holy Rosary Catholic Church                                   Chief Seattle Council 609                                  4142 42nd Ave Sw                                                 Seattle, WA 98116‐4202                                                                                      First Class Mail
Chartered Organization         Holy Rosary Catholic Mens Club                                Housatonic Council, Bsa 069                                Father Salemi Dr                                                 Ansonia, CT 06401                                                                                           First Class Mail
Chartered Organization         Holy Rosary Church                                            Greater St Louis Area Council 312                          724 E Booneslick Rd                                              Truesdale, MO 63380‐2218                                                                                    First Class Mail
Voting Party                   Holy Rosary Church                                            Attn: Monsignor Joseph Lamorte                             1011 1st Ave                                                     New York, NY 10022                                                   kross@mcgivneyandkluger.com            Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Rosary Homeschool Group                                  Cascade Pacific Council 492                                P.O. Box 482                                                     Beaverton, OR 97075‐0482                                                                                    First Class Mail
Chartered Organization         Holy Rosary Ladies Guild                                      Housatonic Council, Bsa 069                                10 Father Salemi Dr                                              Ansonia, CT 06401‐3227                                                                                      First Class Mail
Chartered Organization         Holy Rosary Parish                                            Cascade Pacific Council 492                                375 NE Clackamas St                                              Portland, OR 97232‐1103                                                                                     First Class Mail
Chartered Organization         Holy Rosary Parish‐Catholic Church                            Sam Houston Area Council 576                               1416 George St                                                   Rosenberg, TX 77471‐3144                                                                                    First Class Mail
Chartered Organization         Holy Rosary R C Church                                        French Creek Council 532                                   2701 East Ave                                                    Erie, PA 16504‐2917                                                                                         First Class Mail
Chartered Organization         Holy Rosary Roman Catholic Church                             Del Mar Va 081                                             3200 Philadelphia Pike                                           Claymont, DE 19703‐3103                                                                                     First Class Mail
Chartered Organization         Holy Rosary Roman Catholic Church                             Westchester Putnam 388                                     170 Bradhurst Ave                                                Hawthorne, NY 10532‐1608                                                                                    First Class Mail
Chartered Organization         Holy Rosary Roman Catholic Church                             Daniel Webster Council, Bsa 330                            189 N Main St                                                    Rochester, NH 03867‐1265                                                                                    First Class Mail
Voting Party                   Holy Rosary Roman Catholic Congregation Inc                   c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201                moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Rosary School                                            Great Rivers Council 653                                   620 S Main St                                                    Monroe City, MO 63456‐1934                                                                                  First Class Mail
Chartered Organization         Holy Rosary St Richard Catholic Church                        South Florida Council 084                                  7500 SW 152nd St                                                 Palmetto Bay, FL 33157‐2434                                                                                 First Class Mail
Voting Party                   Holy Sacrament Episcopal Church, Pembroke Pines, Florida      Attn: Patricia Rowe‐King, M.D.                             2801 N University Dr                                             Pembroke Pines, FL 33204                                             office@holysacrament.org               Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Holy Savior Academy South Plainfield                          Attn: Andre L Kydala                                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                           First Class Mail
Voting Party                   Holy Savior Lutheran Church                                   Attn: Sheryl Schroeder, Treasurer                          4710 N 10th St                                                   Lincoln, NE 68521                                                    treasurer@holysavior.org               Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Savior Menard High School                                Louisiana Purchase Council 213                             4603 Coliseum Blvd                                               Alexandria, LA 71303‐3518                                                                                   First Class Mail
Chartered Organization         Holy Savior Parish                                            Pine Tree Council 218                                      7 Brown St                                                       Mexico, ME 04257‐1501                                                                                       First Class Mail
Chartered Organization         Holy Savior Pncc Church                                       Connecticut Rivers Council, Bsa 066                        118 Prospect St                                                  Naugatuck, CT 06770‐3056                                                                                    First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   National Capital Area Council 082                          5121 Woodland Way                                                Annandale, VA 22003‐4165                                                                                    First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Lincoln Heritage Council 205                               4754 Smallhouse Rd                                               Bowling Green, KY 42104‐7587                                                                                First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Pathway To Adventure 456                                   7667 E 109th Ave                                                 Crown Point, IN 46307‐9182                                                                                  First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Piedmont Council 420                                       537 N Nc 16 Business Hwy                                         Denver, NC 28037‐8245                                                                                       First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Circle Ten Council 571                                     1111 W Danieldale Rd                                             Duncanville, TX 75137‐3719                                                                                  First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Northern Lights Council 429                                1420 7th St N                                                    Fargo, ND 58102‐2606                                                                                        First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   San Francisco Bay Area Council 028                         37588 Fremont Blvd                                               Fremont, CA 94536‐3707                                                                                      First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Sequoia Council 027                                        355 E Champlain Dr                                               Fresno, CA 93730‐1273                                                                                       First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Yucca Council 573                                          14132 Mcmahon Ave                                                Horizon City, TX 79928‐6937                                                                                 First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Greater Alabama Council 001                                625 Airport Rd Sw                                                Huntsville, AL 35802‐1310                                                                                   First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Greater Tampa Bay Area 089                                 644 S 9th St                                                     Lake Wales, FL 33853‐4908                                                                                   First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Heart of America Council 307                               1800 SW State Route 150                                          Lees Summit, MO 64082‐3400                                                                                  First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   South Plains Council 694                                   9821 Frankford Ave                                               Lubbock, TX 79424‐6279                                                                                      First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Rio Grande Council 775                                     2201 Martin Ave                                                  Mcallen, TX 78504‐3833                                                                                      First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Heart of America Council 307                               11300 W 103rd St                                                 Overland Park, KS 66214‐2720                                                                                First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Gulf Coast Council 773                                     10650 Gulf Beach Hwy                                             Pensacola, FL 32507‐9118                                                                                    First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Alamo Area Council 583                                     758 W Ramsey Rd                                                  San Antonio, TX 78216‐3717                                                                                  First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Alamo Area Council 583                                     758 W Ramsey Rd                                                  San Antonio, TX 78216‐3717                                                                                  First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Redwood Empire Council 041                                 1244 Saint Francis Rd                                            Santa Rosa, CA 95409‐4319                                                                                   First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Black Warrior Council 006                                  733 James I Harrison Jr Pkwy E                                   Tuscaloosa, AL 35405‐3209                                                                                   First Class Mail
Chartered Organization         Holy Spirit Catholic Church                                   Pine Burr Area Council 304                                 6705 Jim Ramsay Rd                                               Vancleave, MS 39565‐7206                                                                                    First Class Mail
Voting Party                   Holy Spirit Catholic Church, Indianapolis, Inc.               Attn: John S Mercer                                        1400 N Meridian St                                               Indianapolis, IN 46202                                               jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Spirit Catholic Church‐Sioux Falls                       Sioux Council 733                                          3601 E Dudley Ln                                                 Sioux Falls, SD 57103‐5827                                                                                  First Class Mail
Chartered Organization         Holy Spirit Catholic Community                                Three Fires Council 127                                    2003 Hassert Blvd                                                Naperville, IL 60564‐5039                                                                                   First Class Mail
Chartered Organization         Holy Spirit Catholic School                                   Montana Council 315                                        2820 Central Ave                                                 Great Falls, MT 59401‐3412                                                                                  First Class Mail
Chartered Organization         Holy Spirit Catholic School                                   Greater St Louis Area Council 312                          3120 Parkwood Ln                                                 Maryland Heights, MO 63043‐1333                                                                             First Class Mail
Chartered Organization         Holy Spirit Church                                            Connecticut Yankee Council Bsa 072                         403 Scofieldtown Rd                                              Stamford, CT 06903‐4009                                                                                     First Class Mail
Chartered Organization         Holy Spirit Church                                            Black Warrior Council 006                                  711 James I Harrison Jr Pkwy E                                   Tuscaloosa, AL 35405‐3209                                                                                   First Class Mail
Voting Party                   Holy Spirit Church                                            c/o Westerman Ball Ederer Miller Zucker & Sharfstein LLP   Attn: Jw/Wch                                                     1201 Rxr Plz                      Uniondale, NY 11556                wheuer@westermanllp.com                Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Spirit Episcopal Church                                  Las Vegas Area Council 328                                 580 Hancock Rd                                                   Bullhead City, AZ 86442‐4902                                                                                First Class Mail
Chartered Organization         Holy Spirit Episcopal Church                                  Great Alaska Council 610                                   P.O. Box 773223                                                  Eagle River, AK 99577‐3223                                                                                  First Class Mail
Chartered Organization         Holy Spirit Evangelical Lutheran Church                       Hawk Mountain Council 528                                  4th & Windsor Sts                                                Reading, PA 19601                                                                                           First Class Mail
Chartered Organization         Holy Spirit Lutheran Church                                   Chief Seattle Council 609                                  10021 NE 124th St                                                Kirkland, WA 98034‐6725                                                                                     First Class Mail
Chartered Organization         Holy Spirit Lutheran Church                                   Pennsylvania Dutch Council 524                             3131 Columbia Ave                                                Lancaster, PA 17603‐4012                                                                                    First Class Mail
Voting Party                   Holy Spirit Lutheran Church                                   Attn: Donna Lackwood                                       421 Windsor St                                                   Reading, PA 19601                                                    HolySpiritRDG@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Holy Spirit Lutheran Church                                   Attn: Amanda Lauren Sobotka                                1027 Hickory Ln                                                  Reading, PA 19606                                                    amanda.kosmerl@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Holy Spirit Lutheran Church Of Kirkland, Wa                   Attn: Marjorie Buchanan                                    10021 NE 124th St                                                Kirkland, WA 98034                                                   PARISHADMIN@HSLCKIRKLAND.ORG           Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Spirit Mens Club                                         National Capital Area Council 082                          5121 Woodland Way                                                Annandale, VA 22003‐4165                                                                                    First Class Mail
Chartered Organization         Holy Spirit Parish                                            Narragansett 546                                           1030 Dexter St                                                   Central Falls, RI 02863‐1717                                                                                First Class Mail
Chartered Organization         Holy Spirit Parish                                            Orange County Council 039                                  10280 Slater Ave                                                 Fountain Valley, CA 92708‐4707                                                                              First Class Mail
Chartered Organization         Holy Spirit Parish                                            Bay‐Lakes Council 635                                      620 E Kimberly Ave                                               Kimberly, WI 54136‐1513                                                                                     First Class Mail
Chartered Organization         Holy Spirit Parish                                            Greater St Louis Area Council 312                          3120 Parkwood Ln                                                 Maryland Heights, MO 63043‐1333                                                                             First Class Mail
Chartered Organization         Holy Spirit Parish                                            Water and Woods Council 782                                1035 N River Rd                                                  Saginaw, MI 48609‐6833                                                                                      First Class Mail
Chartered Organization         Holy Spirit Parish Montgomery                                 Tukabatchee Area Council 005                               8570 Vaughn Rd                                                   Montgomery, AL 36117‐8853                                                                                   First Class Mail
Voting Party                   Holy Spirit Parish, Grand Rapids                              c/o Warner Norcross & Judd LLP                             Attn: Elisabeth M Von Eitzen                                     150 Ottawa Ave NW, Ste 1500       Grand Rapids, MI 49503             evoneitzen@wnj.com                     Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Spirit Parrish                                           Trapper Trails 589                                         116 Broadway St                                                  Rock Springs, WY 82901‐6151                                                                                 First Class Mail
Chartered Organization         Holy Spirit School                                            Silicon Valley Monterey Bay 055                            1198 Redmond Ave                                                 San Jose, CA 95120‐2770                                                                                     First Class Mail
Voting Party                   Holy Trinity                                                  c/o Woods Oviatt Gilman LLP                                Attn: Timothy P Lyster, Esq                                      1900 Bausch & Lomb Pl             Rochester, NY 14604                tlyster@woodsoviatt.com                Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Holy Trinity (141485)                                         c/o Bentz Law Firm                                         Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Trinity Anglican Church                                  Mayflower Council 251                                      16 Gibbon St                                                     Marlborough, MA 01752‐2035                                                                                  First Class Mail
Chartered Organization         Holy Trinity By The Lake Episc Ch                             Circle Ten Council 571                                     1524 Smirl Dr                                                    Heath, TX 75032‐7638                                                                                        First Class Mail
Voting Party                   Holy Trinity By The Sea, Daytona Beach                        Attn: Sarah Caprani                                        1017 E Robinson St                                               Orlando, FL 32801                                                    scaprani@cfdiocese.org                 Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Holy Trinity Catholic Church                                  Cornhusker Council 324                                     P.O. Box 39                                                      Brainard, NE 68626‐0039                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                      Page 161 of 442
                                                                                      Case 20-10343-LSS                                            Doc 8171                                            Filed 01/06/22                                                    Page 177 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                            Name                                                                                                     Address                                                                                                                               Email                    Method of Service
Chartered Organization         Holy Trinity Catholic Church                                  Pikes Peak Council 060                          3122 Poinsetta Dr                                                Colorado Springs, CO 80907‐5724                                                                                               First Class Mail
Chartered Organization         Holy Trinity Catholic Church                                  Mid Iowa Council 177                            2922 Beaver Ave                                                  Des Moines, IA 50310‐4040                                                                                                     First Class Mail
Chartered Organization         Holy Trinity Catholic Church                                  Greater St Louis Area Council 312               505 Fountains Pkwy                                               Fairview Heights, IL 62208‐2072                                                                                               First Class Mail
Chartered Organization         Holy Trinity Catholic Church                                  National Capital Area Council 082               8213 Linton Hall Rd                                              Gainesville, VA 20155‐2997                                                                                                    First Class Mail
Chartered Organization         Holy Trinity Catholic Church                                  Heart of America Council 307                    13600 W 92nd St                                                  Lenexa, KS 66215‐3312                                                                                                         First Class Mail
Chartered Organization         Holy Trinity Catholic Church                                  Flint River Council 095                         101 Walt Banks Rd                                                Peachtree City, GA 30269‐4058                                                                                                 First Class Mail
Chartered Organization         Holy Trinity Catholic Church                                  Greater St Louis Area Council 312               3500 Saint Luke Ln                                               Saint Ann, MO 63074‐2908                                                                                                      First Class Mail
Chartered Organization         Holy Trinity Catholic Church                                  Alamo Area Council 583                          20523 Huebner Rd                                                 San Antonio, TX 78258‐3915                                                                                                    First Class Mail
Chartered Organization         Holy Trinity Catholic Church                                  Simon Kenton Council 441                        2215 Galena Pike                                                 West Portsmouth, OH 45663‐6210                                                                                                First Class Mail
Voting Party                   Holy Trinity Catholic Church Corn Hill Tx                     c/o Bsa Coordinator                             Attn: Chancellor                                                 6225 E US 290 Hwy Svrd Eb         Austin, TX 78723                                  ron‐walker@austindiocese.org              Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Catholic Church, Comstock Park                   c/o Warner Norcross & Judd LLP                  Attn: Elisabeth M Von Eitzen                                     150 Ottawa Ave NW, Ste 1500       Grand Rapids, MI 49503                            evoneitzen@wnj.com                        Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Catholic Church, Corn Hill                       Attn: Rev Stephen Nesrsta                       8626 Fm 1105                                                     Jarrell, TX 76537                                                                                                             First Class Mail
Voting Party                   Holy Trinity Catholic Church, Edinburgh, Inc.                 Attn: John S Mercer                             1400 N Meridian St                                               Indianapolis, IN 46202                                                              jsmercer@indylegal.com                    Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Holy Trinity Catholic School                                  Lake Erie Council 440                           2610 Nagel Rd                                                    Avon, OH 44011‐2046                                                                                                           First Class Mail
Chartered Organization         Holy Trinity Catholic School                                  Longhorn Council 662                            3750 William D Tate Ave                                          Grapevine, TX 76051‐7106                                                                                                      First Class Mail
Chartered Organization         Holy Trinity Church                                           Northern New Jersey Council, Bsa 333            34 Maple Ave                                                     Hackensack, NJ 07601‐4502                                                                                                     First Class Mail
Chartered Organization         Holy Trinity Church                                           Blue Grass Council 204                          2536 S US Hwy 421                                                Harlan, KY 40831‐1736                                                                                                         First Class Mail
Chartered Organization         Holy Trinity Church                                           Aloha Council, Bsa 104                          5919 Kalanianaole Hwy                                            Honolulu, HI 96821‐2384                                                                                                       First Class Mail
Chartered Organization         Holy Trinity Church                                           Pine Tree Council 218                           67 Frost Hill Ave                                                Lisbon Falls, ME 04252‐1126                                                                                                   First Class Mail
Chartered Organization         Holy Trinity Church                                           Iroquois Trail Council 376                      211 Eagle St                                                     Medina, NY 14103‐1209                                                                                                         First Class Mail
Chartered Organization         Holy Trinity Church                                           Greater New York Councils, Bsa 640              213 W 82nd St                                                    New York, NY 10024‐5401                                                                                                       First Class Mail
Chartered Organization         Holy Trinity Church ‐ Hillsdale                               Northern New Jersey Council, Bsa 333            326 Hillsdale Ave                                                Hillsdale, NJ 07642‐2209                                                                                                      First Class Mail
Voting Party                   Holy Trinity Church (Southbridge)                             c/o The Tamposi Law Group, PC                   Attn: Peter N Tamposi                                            159 Main St                       Nashua, NH 03060                                  peter@thetamposilawgroup.com              Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Church Inwood                                    Attn: Kelli Emerson                             20 Cumming St                                                    New York, NY 10034                                                                  wardens@holytrinityinwood.org             Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Holy Trinity Episcopal Church                                 National Capital Area Council 082               13106 Annapolis Rd                                               Bowie, MD 20720‐3829                                                                                                          First Class Mail
Chartered Organization         Holy Trinity Episcopal Church                                 Circle Ten Council 571                          3217 Guthrie Rd                                                  Garland, TX 75043‐6121                                                                                                        First Class Mail
Chartered Organization         Holy Trinity Episcopal Church                                 Suffolk County Council Inc 404                  P.O. Box 502                                                     Greenport, NY 11944‐0502                                                                                                      First Class Mail
Chartered Organization         Holy Trinity Episcopal Church                                 Central Florida Council 083                     50 W Strawbridge Ave                                             Melbourne, FL 32901‐4438                                                                                                      First Class Mail
Chartered Organization         Holy Trinity Episcopal Church                                 Central Florida Council 083                     1830 S Babcock St                                                Melbourne, FL 32901‐4443                                                                                                      First Class Mail
Voting Party                   Holy Trinity Episcopal Church                                 Attn: Winfred B Vergara                         130 Jerusalem Ave                                                Hicksville, NY 11801                                                                wvergara@episcopalchurch.org              Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church                                 Attn: Mark Chambers                             2425 Nall St                                                     Port Neches, TX 77651                                                               revmark@htec‐pn.org                       Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church                                 Attn: Mark Sienkiewicz                          11 N Monroe Ave                                                  Wenonah, NJ 08090                                                                   rector@holytrinitywenonah.org             Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church                                 Attn: Vivian Shelby                             4613 Hwy 3                                                       Dickinson, TX 77539                                                                 Priest@ht‐d.org                           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church                                 Attn: J Fletcher Montgomery                     100 NE 1st St                                                    Gainesville, FL 32601                                                               office@holytrinitygnv.org                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church                                 Attn: Christine Kinard                          1131 Mace Ave                                                    Essex, MD 21221                                                                     htoffcesecretary@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church                                 Attn: Carollyn Petersen                         383 Hazard Ave                                                   Enfield, CT 06082                                                                   holy.trinty1@sbcglobal.net                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church                                 P.O. Box 197                                    Bartow, FL 33831                                                                                                                                     becky.toalster@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church                                 c/o Rogers Towers, Pa                           Attn: Betsy C Cox, Esq                                           1301 Riverplace Blvd, Ste 1500    Jacksonville, FL 32207                            bcox@rtlaw.com                            Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church                                 221 W B St                                      Iron Mountain, MI 49801                                                                                                                                                                        First Class Mail
Voting Party                   Holy Trinity Episcopal Church (Greensboro)                    c/o the Episcopal Diocese of Eon                Attn: Patrick A Collins                                          314 N St                          Easton, MD 21601                                  Patrick@DioceseofEaston.org               Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church (Greensboro)                    c/o The Law Office of Andrea Ross               Attn: Andrea Ross, Esq                                           129 N West St, Ste 1              Easton, MD 21601                                  Andie@AndieRossLaw.com                    Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church (Swanton)                       c/o The Tamposi Law Group, PC                   Attn: Peter N Tamposi                                            159 Main St                       Nashua, NH 03060                                  peter@thetamposilawgroup.com              Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church (Tiverton)                      c/o The Tamposi Law Group, PC                   Attn: Peter N Tamposi                                            159 Main St                       Nashua, NH 03060                                  peter@thetamposilawgroup.com              Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church Of Melbourne                    Attn: Pamela Easterday                          1830 S Babcock St                                                Melbourne, FL 32901                                                                 revpam@holytrinitymelbourne.org           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church Of Memphis Tennessee            Attn: Rev Canon Sharon Alexander                692 Poplar Ave                                                   Memphis, TN 38105                                                                   salexander@episwtn.org                    Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church Of Memphis Tennessee            Attn: Jeane Chapman                             3745 Kimball Ave                                                 Memphis, TN 38111                                                                   jeanepc@aol.com                           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church, Auburn, Al                     Attn: Rev Rob Morpeth, Diocese of Alabama       521 N 20th St                                                    Birmingham, AL 35203                                                                rmorpeth@dioala.org                       Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church, Auburn, Al                     Attn: Dara Miller                               100 Church Dr                                                    Auburn, AL 36830‐5903                                                               dara@holytrinitychurch.info               Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church, Greensboro, Nc                 Attn: D Umphlett                                607 N Greene St                                                  Greensboro, NC 27401                                                                gregoryfarrand@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church, Valley Stream                  87 7th St                                       Valley Stream, NY 11581                                                                                                                              priestholytrinityvs@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Episcopal Church‐Pawling Ny                      Attn: Wardens, Holy Trinity Episcopal Church    22 Coulter Ave                                                   Pawling, NY 12564                                                                   htcoffice@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Holy Trinity Evangelical Lutheran Church                      Laurel Highlands Council 527                    525 Main St                                                      Berlin, PA 15530‐1343                                                                                                         First Class Mail
Chartered Organization         Holy Trinity Evangelical Lutheran Church                      Simon Kenton Council 441                        2001 Northwest Blvd                                              Columbus, OH 43212‐1102                                                                                                       First Class Mail
Voting Party                   Holy Trinity Evangelical Lutheran Church                      Attn: President, Holy Trinity Lutheran Church   P.O. Box 36                                                      Middle Island, NY 11953                                                             office@htlcny.org                         Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Evangelical Lutheran Church                      c/o Young, Morphis, Bach & Taylor LLP           Attn: Jimmy Summerlin, Jr                                        P.O. Drawer 2428                  Hickory, NC 28603                                 jimmys@hickorylaw.com                     Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Evangelical Lutheran Church                      847 6th St Nw                                   Hickory, NC 28601                                                                                                                                    jimmys@hickorylaw.com                     Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Holy Trinity Greek Orthodox Cathedral                         Greater New York Councils, Bsa 640              337 E 74th St                                                    New York, NY 10021‐3792                                                                                                       First Class Mail
Chartered Organization         Holy Trinity Greek Orthodox Church                            Westchester Putnam 388                          10 Mill Rd                                                       New Rochelle, NY 10804‐2119                                                                                                   First Class Mail
Voting Party                   Holy Trinity Helmetta Parish                                  Attn: Andre L Kydala                            54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                                             First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Mid Iowa Council 177                            517 SW Des Moines St                                             Ankeny, IA 50023‐2805                                                                                                         First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Greater New York Councils, Bsa 640              4118 Ave R                                                       Brooklyn, NY 11234‐4333                                                                                                       First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Buckeye Council 436                             2551 55th St Ne                                                  Canton, OH 44721‐3459                                                                                                         First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Moraine Trails Council 500                      2217 Chicora Rd                                                  Chicora, PA 16025‐3127                                                                                                        First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Mobile Area Council‐Bsa 004                     8271 Whispering Pines Rd                                         Daphne, AL 36526‐6444                                                                                                         First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Hudson Valley Council 374                       103 Delaware Crest Dr                                            Dingmans Ferry, PA 18328‐9561                                                                                                 First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Northeast Iowa Council 178                      1755 Delhi St                                                    Dubuque, IA 52001‐5934                                                                                                        First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  New Birth of Freedom 544                        212 Cocoa Ave                                                    Hershey, PA 17033‐1426                                                                                                        First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Piedmont Council 420                            547 6th St Nw                                                    Hickory, NC 28601‐3503                                                                                                        First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Westmoreland Fayette 512                        502 Main St                                                      Irwin, PA 15642‐3405                                                                                                          First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Westmoreland Fayette 512                        211 Gaskill Ave                                                  Jeannette, PA 15644‐3348                                                                                                      First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  National Capital Area Council 082               605 W Market St                                                  Leesburg, VA 20176‐2506                                                                                                       First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Great Lakes Fsc 272                             39020 5 Mile Rd                                                  Livonia, MI 48154‐1338                                                                                                        First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Garden State Council 690                        26 S Forklanding Rd                                              Maple Shade, NJ 08052‐2746                                                                                                    First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Atlanta Area Council 092                        2922 Sandy Plains Rd                                             Marietta, GA 30066‐4651                                                                                                       First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Glaciers Edge Council 620                       605 Madison St                                                   Marshall, WI 53559‐9273                                                                                                       First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Cradle of Liberty Council 525                   196 Woodbine Ave                                                 Narberth, PA 19072‐1920                                                                                                       First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Mayflower Council 251                           143 Lincoln St                                                   North Easton, MA 02356‐1709                                                                                                   First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Minsi Trails Council 502                        5th & Lafayette Ave                                              Palmerton, PA 18071                                                                                                           First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Southwest Florida Council 088                   2565 Tamiami Trl                                                 Port Charlotte, FL 33952‐6401                                                                                                 First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Greater Tampa Bay Area 089                      3712 W El Prado Blvd                                             Tampa, FL 33629‐8722                                                                                                          First Class Mail
Chartered Organization         Holy Trinity Lutheran Church                                  Ventura County Council 057                      1 W Avenida De Los Arboles                                       Thousand Oaks, CA 91360‐2939                                                                                                  First Class Mail
Voting Party                   Holy Trinity Lutheran Church                                  Attn: Timothy T Parker                          1000 2nd Ave, Fl 30                                              Seattle, WA 98104                                                                   ttp@pattersonbuchanan.com                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Lutheran Church                                  169 Woodbine Ave                                Narberth, PA 19072                                                                                                                                   pastordan.holytrinitynarberth@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Lutheran Church                                  Attn: Lori Beth Wicks                           3022 Woodlawn Ave                                                Falls Church, VA 22042                                                              office@holytrinityfallschurch.org         Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Lutheran Church                                  3022 Woodlawn Ave                               Falls Church, VA 22042                                                                                                                               office@holytrinityfallschurch.org         Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Lutheran Church                                  Attn: Office Manager                            650 240th St Ne                                                  North Liberty, IA 52317                                                             kimberly58upnorth@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Lutheran Church                                  Attn: Kimberly A Behr                           920 Grouse Ct                                                    N Liberty, IA 52317                                                                 kimberly58upnorth@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Lutheran Church                                  c/o Capell Barnett Matalon & Schoenfeld LLP     Attn: Joseph Milano                                              1385 Broadway, 12th Fl            New York, NY 10018                                Jmilano@cbmslaw.com                       Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Lutheran Church                                  c/o Dinsmore & Shohl LLP                        Attn: Janet Smith Holbrook                                       611 3rd Ave                       Huntington, WV 25701                              janet.holbrook@dinsmore.com               Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Lutheran Church                                  1012 C St                                       Ephrata, WA 98823                                                                                                                                    htlc@nwi.net                              Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Lutheran Church                                  Attn: Brenda Martin                             1 Trinity Pl                                                     Greenville, PA 16125                                                                holytrinitygreenville@verizon.net         Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Lutheran Church                                  Attn: Carter N Williamson                       1500 Jfk Blvd, Ste 1700                                          Philadelphia, PA 19102                                                              cwilliamson@hornwilliamson.com            Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Lutheran Church                                  1 Trinity Pl                                    Greenville, PA 16125                                                                                                                                                                           First Class Mail
Voting Party                   Holy Trinity Lutheran Church Emily Hartner                    Attn: Emily K Hartner                           1900 The Plaza                                                   Charlotte, NC 28205                                                                 pastoremilyhartner@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Lutheran Church Muncie Indiana Inc.              c/o Plews Shadley Racher & Braun LLP            Attn: Josh Tatum                                                 1346 N Delaware St                Indianapolis, IN 46202                                                                      First Class Mail
Voting Party                   Holy Trinity Luthern Church                                   c/o Gibbel Kraybill & Hess                      Attn: Jeffrey J Worley                                           2933 Lititz Pike                  P.O. Box 5349               Lancaster, PA 17606   jworley@gkh.com                           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Holy Trinity Memorial Lutheran Church                         Minsi Trails Council 502                        604 4th St                                                       Catasauqua, PA 18032‐2438                                                                                                     First Class Mail
Chartered Organization         Holy Trinity Montessori School                                Middle Tennessee Council 560                    525 Sneed Rd                                                     Nashville, TN 37221‐4334                                                                                                      First Class Mail
Voting Party                   Holy Trinity Parent Assoc                                     c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010                             legal@la‐archdiocese.org                  Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Holy Trinity Parents Assoc                                    Greater Los Angeles Area 033                    1226 W Santa Cruz St                                             San Pedro, CA 90732‐2916                                                                                                      First Class Mail
Chartered Organization         Holy Trinity Parish                                           Twin Rivers Council 364                         122 Vliet Blvd                                                   Cohoes, NY 12047‐1842                                                                                                         First Class Mail
Chartered Organization         Holy Trinity Parish                                           Black Swamp Area Council 449                    120 E Main St                                                    Coldwater, OH 45828‐1718                                                                                                      First Class Mail
Chartered Organization         Holy Trinity Parish                                           Golden Empire Council 047                       3111 Tierra De Dios Dr                                           El Dorado Hills, CA 95762‐8008                                                                                                First Class Mail
Chartered Organization         Holy Trinity Parish                                           Twin Rivers Council 364                         P.O. Box 930                                                     Johnstown, NY 12095‐0930                                                                                                      First Class Mail
Chartered Organization         Holy Trinity Parish                                           Lincoln Heritage Council 205                    501 Cherrywood Rd                                                Louisville, KY 40207‐2103                                                                                                     First Class Mail
Chartered Organization         Holy Trinity Parish                                           Daniel Webster Council, Bsa 330                 11 School St                                                     Plymouth, NH 03264‐1507                                                                                                       First Class Mail
Chartered Organization         Holy Trinity Parish                                           Greater Los Angeles Area 033                    209 N Hanford Ave                                                San Pedro, CA 90732‐2904                                                                                                      First Class Mail
Chartered Organization         Holy Trinity Parish                                           Narragansett 546                                1409 Park Ave                                                    Woonsocket, RI 02895‐6513                                                                                                     First Class Mail
Voting Party                   Holy Trinity Parish                                           515 E Ponce De Leon Ave                         Decatur, GA 30030                                                                                                                                    tallant@htparish.com                      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Parish                                           Attn: Margaret Graf                             3424 Wilshire Blvd                                               Los Angeles, CA 90010                                                               legal@la‐archdiocese.org                  Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Parish                                           c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010                             legal@la‐archdiocese.org                  Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Holy Trinity Parish Bridgewater                               Attn: Andre L Kydala                            54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                                             First Class Mail
Chartered Organization         Holy Trinity Presbyterian Church                              Alamo Area Council 583                          16245 Nacogdoches Rd                                             San Antonio, TX 78247‐1004                                                                                                    First Class Mail
Chartered Organization         Holy Trinity R C Church                                       Northern New Jersey Council, Bsa 333            34 Maple Ave                                                     Hackensack, NJ 07601‐4502                                                                                                     First Class Mail
Chartered Organization         Holy Trinity Roman Catholic Church                            Laurel Highlands Council 527                    5718 Steubenville Pike                                           Mc Kees Rocks, PA 15136‐1311                                                                                                  First Class Mail
Chartered Organization         Holy Trinity Roman Catholic Church                            Greater New York Councils, Bsa 640              213 W 82nd St                                                    New York, NY 10024‐5401                                                                                                       First Class Mail
Chartered Organization         Holy Trinity Roman Catholic Church                            Patriots Path Council 358                       315 1st St                                                       Westfield, NJ 07090‐3317                                                                                                      First Class Mail
Chartered Organization         Holy Trinity School Parents Club                              Cascade Pacific Council 492                     13755 SW Walker Rd                                               Beaverton, OR 97005‐1017                                                                                                      First Class Mail
Voting Party                   Holy Trinity Umc                                              Attn: Matthew Wissell                           16 Sylvan St                                                     Danvers, MA 01923                                                                   mjwissell@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Holy Trinity Utd Methodist Church                             Sam Houston Area Council 576                    13207 Orleans St                                                 Houston, TX 77015‐3603                                                                                                        First Class Mail
Chartered Organization         Holy Trinty Episc Ch Diocese Kentucky                         Lincoln Heritage Council 205                    319 Oaklawn Rd                                                   Brandenburg, KY 40108‐1033                                                                                                    First Class Mail
Chartered Organization         Holyoke Lions Club                                            Longs Peak Council 062                          125 N Campbell Ave                                               Holyoke, CO 80734‐1003                                                                                                        First Class Mail
Firm                           Holzberg Legal                                                Glenn Holzberg                                  7685 SW 104 St                                                   Miami, FL 33156                                                                     glenn@holzberglegal.com                   Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Home & School Org Of George Washington                        Northern New Jersey Council, Bsa 333            39 Fardale Ave                                                   Mahwah, NJ 07430‐2844                                                                                                         First Class Mail
Chartered Organization         Home And School Assoc                                         Cradle of Liberty Council 525                   1901 S 23rd St                                                   Philadelphia, PA 19145‐2703                                                                                                   First Class Mail
Chartered Organization         Home Depot                                                    Orange County Council 039                       27401 La Paz Rd                                                  Laguna Niguel, CA 92677‐3739                                                                                                  First Class Mail
Voting Party                   Home Depot Credit Services                                    Dept 32‐2500188028                              Louisville, KY 40290                                                                                                                                                                           First Class Mail
Chartered Organization         Home Of Christ Church In Cupertino                            Silicon Valley Monterey Bay 055                 10340 Bubb Rd                                                    Cupertino, CA 95014‐4165                                                                                                      First Class Mail
Chartered Organization         Home Of Hope Inc                                              Cherokee Area Council 469 469                   P.O. Box 903                                                     Vinita, OK 74301‐0903                                                                                                         First Class Mail
Chartered Organization         Home School 94                                                Mecklenburg County Council 415                  1500 Suther Rd                                                   Charlotte, NC 28213‐0552                                                                                                      First Class Mail
Chartered Organization         Home School Scouting Assoc                                    Baltimore Area Council 220                      8237 Green Ice Dr                                                Pasadena, MD 21122‐3869                                                                                                       First Class Mail
Chartered Organization         Home Schoolers In Scouting Unit 447 Inc                       Mecklenburg County Council 415                  7700 Wallace Rd                                                  Charlotte, NC 28212‐6479                                                                                                      First Class Mail
Chartered Organization         Homeboy Industries                                            Greater Los Angeles Area 033                    130 Bruno St                                                     Los Angeles, CA 90012‐1815                                                                                                    First Class Mail
Chartered Organization         Homegate Realty                                               Silicon Valley Monterey Bay 055                 2236 Bentley Ridge Dr                                            San Jose, CA 95138‐2423                                                                                                       First Class Mail
Chartered Organization         Homeland Security Investigation                               Greater New York Councils, Bsa 640              601 W 26th St, Rm 700                                            New York, NY 10001‐1144                                                                                                       First Class Mail
Chartered Organization         Homeland Security Investigations                              South Florida Council 084                       11226 NW 20th St                                                 Miami, FL 33172‐1824                                                                                                          First Class Mail
Chartered Organization         Homenetmen Burbank Sipan Chapter                              Verdugo Hills Council 058                       75 E Santa Anita Ave                                             Burbank, CA 91502‐1924                                                                                                        First Class Mail
Chartered Organization         Homenetmen Crescenta Vly Shant Ch                             Verdugo Hills Council 058                       2951 Honolulu Ave                                                La Crescenta, CA 91214‐3900                                                                                                   First Class Mail
Chartered Organization         Homenetmen Fresno Sassoon Chapter                             Sequoia Council 027                             2348 Ventura St                                                  Fresno, CA 93721‐3003                                                                                                         First Class Mail
Chartered Organization         Homenetmen Glendale Ararat Chapter                            Verdugo Hills Council 058                       3347 N San Fernando Rd                                           Los Angeles, CA 90065‐1416                                                                                                    First Class Mail
Chartered Organization         Homenetmen Inland Empire Araz Chapter                         Verdugo Hills Council 058                       757 E Arrow Hwy, Ste K                                           Glendora, CA 91740‐6503                                                                                                       First Class Mail
Chartered Organization         Homenetmen Los Angeles                                        Verdugo Hills Council 058                       1203 N Vermont Ave                                               Los Angeles, CA 90029‐1703                                                                                                    First Class Mail
Chartered Organization         Homenetmen Los Angeles Chapter                                Verdugo Hills Council 058                       1559 N Kenmore Ave                                               Los Angeles, CA 90027‐5205                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 162 of 442
                                                                                 Case 20-10343-LSS                                        Doc 8171                                   Filed 01/06/22                                                     Page 178 of 457
                                                                                                                                                                        Exhibit B
                                                                                                                                                                         Service List
                                                                                                                                                                  Served as set forth below

        Description                                                     Name                                                                                          Address                                                                                                              Email              Method of Service
Chartered Organization         Homenetmen Los Angeles Chapter                                Verdugo Hills Council 058               1203 N Vermont Ave                                     Los Angeles, CA 90029‐1703                                                                             First Class Mail
Chartered Organization         Homenetmen Of Detroit                                         Great Lakes Fsc 272                     19310 Ford Rd                                          Dearborn, MI 48128‐2403                                                                                First Class Mail
Chartered Organization         Homenetmen Of Providence                                      Narragansett 546                        402 Broadway                                           Providence, RI 02909‐1653                                                                              First Class Mail
Chartered Organization         Homenetmen Pasadena Azadamard Chapter                         Verdugo Hills Council 058               2324 Colorado Blvd                                     Los Angeles, CA 90041‐1145                                                                             First Class Mail
Chartered Organization         Homenetmen San Fernando Valley Massis                         Verdugo Hills Council 058               P.O. Box 17266                                         Encino, CA 91416‐7266                                                                                  First Class Mail
Chartered Organization         Homenetmen San Fernando Vly Massis Ch                         Verdugo Hills Council 058               P.O. Box 17266                                         Encino, CA 91416‐7266                                                                                  First Class Mail
Chartered Organization         Homenetmen San Francisco Chapter                              Pacific Skyline Council 031             699 Serramonte Blvd                                    Daly City, CA 94015‐4132                                                                               First Class Mail
Chartered Organization         Homenetmen Scouts                                             The Spirit of Adventure 227             47 Nichols Ave                                         Watertown, MA 02472‐4126                                                                               First Class Mail
Chartered Organization         Homenetmen Sevan                                              San Diego Imperial Council 049          11319 Monticook Ct                                     San Diego, CA 92127‐3101                                                                               First Class Mail
Chartered Organization         Homenetmen Walnut Creek Gars                                  Mt Diablo‐Silverado Council 023         P.O. Box 4519                                          Walnut Creek, CA 94596‐0519                                                                            First Class Mail
Chartered Organization         Homer Brink Pta                                               Baden‐Powell Council 368                3618 Briar Ln                                          Endwell, NY 13760‐2404                                                                                 First Class Mail
Chartered Organization         Homer Churches Cooperating                                    c/o Homer United Methodist Church       301 S Main St                                          Homer, IL 61849‐1317                                                                                   First Class Mail
Voting Party                   Homer City United Methodist Church (97843)                    c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Homer City Utd Methodist Church                               Laurel Highlands Council 527            2 S Main St                                            Homer City, PA 15748                                                                                   First Class Mail
Chartered Organization         Homer Drive Elementary School                                 Three Rivers Council 578                8950 Homer Dr                                          Beaumont, TX 77708‐1437                                                                                First Class Mail
Voting Party                   Homer First United Methodist Church                           Attn: Rev Dr Sung Jun Park (Pastor)     16 Cayuga St                                           Homer, NY 13077                                                       homer1stumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Homer Lions Club                                              Southern Shores Fsc 783                 10220 Vanwert Rd                                       Homer, MI 49245‐9757                                                                                   First Class Mail
Chartered Organization         Homer Masonic Lodge 199                                       Prairielands 117                        P.O. Box 113                                           Homer, IL 61849‐0113                                                                                   First Class Mail
Voting Party                   Homer Ruritan Club                                            c/o Black River Ruritan Club            Attn: Joyce Smith                                      9201 River Corners Rd              Homerville, OH 44235               jsmith729@neo.rr.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Homer School                                                  Arbuckle Area Council 468               Rt 7                                                   Ada, OK 74820                                                                                          First Class Mail
Voting Party                   Homer Umc                                                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Homer United Methodist Church                                 Attn: Cathleen Brewer‐Kelley            507 S Homer Rd                                         Midland, MI 48640                                                     homeroffice507@gmail.com         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Homer United Methodist Church ‐ Homer                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Homer United Methodist Church (Homer)                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Homer Utd Methodist Church                                    Great Alaska Council 610                770 E End Rd                                           Homer, AK 99603‐7627                                                                                   First Class Mail
Chartered Organization         Homer Utd Methodist Church                                    Northeast Georgia Council 101           P.O. Box 37                                            Homer, GA 30547‐0037                                                                                   First Class Mail
Chartered Organization         Homerville Ruritan                                            Great Trail 433                         12427 Greenwich Rd                                     Homerville, OH 44235‐9722                                                                              First Class Mail
Voting Party                   Homerville United Methodist Church                            Attn: Jeff Helms                        P.O. Box 537                                           Homerville, GA 31634                                                  jeffhelms@helmslaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Homerville Utd Methodist Church                               South Georgia Council 098               202 S Church St                                        Homerville, GA 31634                                                                                   First Class Mail
Chartered Organization         Homeschool Concerned Citizens                                 Cherokee Area Council 556               91 Mountain Meadows Rd                                 Lookout Mountain, GA 30750‐4616                                                                        First Class Mail
Chartered Organization         Homeschool Support Group                                      Utah National Parks 591                 1558 N 110 W                                           Orem, UT 84057‐2682                                                                                    First Class Mail
Chartered Organization         Homeschoolers Of Kent And Covington                           Chief Seattle Council 609               12027 SE 250th Pl                                      Kent, WA 98030‐6572                                                                                    First Class Mail
Chartered Organization         Homeschooling Families Of Pack 5575                           Pacific Harbors Council, Bsa 612        101 E 40th St                                          Tacoma, WA 98404‐1404                                                                                  First Class Mail
Chartered Organization         Homeschooling Friends                                         Great Swest Council 412                 8604 Silk Tassel Rd Nw                                 Albuquerque, NM 87120‐4321                                                                             First Class Mail
Voting Party                   Homestead Avenue United Methodist Church(187911)              c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Homestead Community Church                                    Northern Star Council 250               19535 Ewing St                                         Farmington, MN 55024‐8664                                                                              First Class Mail
Chartered Organization         Homestead In The Willow Hoa                                   Denver Area Council 061                 5896 E Geddes Ave                                      Centennial, CO 80112‐1552                                                                              First Class Mail
Chartered Organization         Homestead In The Willows                                      Denver Area Council 061                 5896 E Geddes Ave                                      Centennial, CO 80112‐1552                                                                              First Class Mail
Chartered Organization         Homestead Park Methodist Church                               Laurel Highlands Council 527            4231 Shady Ave                                         Munhall, PA 15120‐3471                                                                                 First Class Mail
Voting Party                   Homestead Park United Methodist Church                        c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Homestead Park United Methodist Church (103240)               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Homestead Police Dept Explorers                               South Florida Council 084               45 NW 1st Ave                                          Homestead, FL 33030‐5910                                                                               First Class Mail
Chartered Organization         Homestead Senior High School                                  South Florida Council 084               2351 SE 12th Ave                                       Homestead, FL 33034‐3511                                                                               First Class Mail
Voting Party                   Homestead United Methodist Church                             Attn: Treasurer, Humc                   295 Hwy 68                                             Crossville, TN 38555                                                  HUMC.Treasurer2020@gmail.com     Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Homestead Welfare Assoc                                       Hawkeye Area Council 172                4215 V St                                              Homestead, IA 52236                                                                                    First Class Mail
Chartered Organization         Homewood Flossmoor Lions Club                                 Pathway To Adventure 456                17648 Wern Ave                                         Homewood, IL 60430                                                                                     First Class Mail
Voting Party                   Homewood St Andrew United Methodist                           Attn: Carolyn Funk                      18850 Riegel Rd                                        Homewood, IL 60430                                                    bdukes03@gmail.com               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hominy Baptist Church                                         Daniel Boone Council 414                135 Candler School Rd                                  Candler, NC 28715‐8309                                                                                 First Class Mail
Chartered Organization         Hominy Drug And Gift                                          Cimarron Council 474                    104 W Main St                                          Hominy, OK 74035‐1032                                                                                  First Class Mail
Chartered Organization         Homosassa Scout Hut Inc                                       Greater Tampa Bay Area 089              4159 S Olbek Pt                                        Homosassa, FL 34446‐1629                                                                               First Class Mail
Chartered Organization         Hompa Hongwanji Buddhist Temple                               Greater Los Angeles Area 033            815 E 1st St                                           Los Angeles, CA 90012‐4304                                                                             First Class Mail
Chartered Organization         Homtec Residential Inspections Llc                            Erie Shores Council 460                 3435 N Holland Sylvania Rd                             Toledo, OH 43615‐1411                                                                                  First Class Mail
Chartered Organization         Honali Outfitters And Guide Service                           Lasalle Council 165                     13777 County Rd 8                                      Middlebury, IN 46540‐8783                                                                              First Class Mail
Chartered Organization         Honea Path Scouting Alumni Assoc                              Blue Ridge Council 551                  P.O. Box 691                                           Honea Path, SC 29654‐0691                                                                              First Class Mail
Chartered Organization         Honeoye Falls‐Mendon Rotary Club                              Seneca Waterways 397                    P.O. Box 415                                           Honeoye Falls, NY 14472‐0415                                                                           First Class Mail
Chartered Organization         Honesdale Police Dept                                         Northeastern Pennsylvania Council 501   962 Main St                                            Honesdale, PA 18431‐1904                                                                               First Class Mail
Chartered Organization         Honey Brook Lions Club                                        Chester County Council 539              17 Mount Pleasant Rd                                   Honey Brook, PA 19344‐9299                                                                             First Class Mail
Voting Party                   Honey Creek United Methodist Church                           Attn: Christi Sprinkle                  7222 Travis Rd                                         Greenwood, IN 46143                                                   kpitcher@pitcherthompson.com     Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Honey Elementary Pta                                          South Plains Council 694                3615 86th St                                           Lubbock, TX 79423‐2643                                                                                 First Class Mail
Chartered Organization         Honey Island Elementary School Pta                            Southeast Louisiana Council 214         500 S Military Rd                                      Slidell, LA 70461‐2616                                                                                 First Class Mail
Chartered Organization         Honeyford Memorial Post 110 Al                                Rip Van Winkle Council 405              87 Greene St                                           Catskill, NY 12414‐1526                                                                                First Class Mail
Chartered Organization         Hong Kong International School                                Far E Council 803                       S Bay Close                                            Repulse Bay, Hong Kong             China                                                               First Class Mail
Chartered Organization         Hong Kong International School                                Far E Council 803                       1 Red Hill Rd                                          Tai Tam, Hong Kong                 China                                                               First Class Mail
Chartered Organization         Honolulu Elks Lodge No 616 Bpoe                               Aloha Council, Bsa 104                  2933 Kalakaua Ave                                      Honolulu, HI 96815‐4643                                                                                First Class Mail
Chartered Organization         Honolulu Fire Dept                                            Aloha Council, Bsa 104                  636 South St                                           Honolulu, HI 96813‐5007                                                                                First Class Mail
Chartered Organization         Honolulu Navy League                                          Aloha Council, Bsa 104                  P.O. Box 31032                                         Honolulu, HI 96820‐1032                                                                                First Class Mail
Chartered Organization         Honolulu Police Dept                                          Aloha Council, Bsa 104                  801 S Beretania St                                     Honolulu, HI 96813‐2501                                                                                First Class Mail
Chartered Organization         Honolulu Post 1‐American Legion                               Aloha Council, Bsa 104                  612 Mccully St                                         Honolulu, HI 96826‐3935                                                                                First Class Mail
Chartered Organization         Honor Guard Vfw Post 2280                                     Mid‐America Council 326                 2108 Franklin St                                       Bellevue, NE 68005‐5058                                                                                First Class Mail
Chartered Organization         Honor Lions Club                                              President Gerald R Ford 781             11510 Main St                                          Honor, MI 49640                                                                                        First Class Mail
Chartered Organization         Honpa Hongwanji Hawaii Betsuin                                Aloha Council, Bsa 104                  1727 Pali Hwy                                          Honolulu, HI 96813‐1612                                                                                First Class Mail
Chartered Organization         Honpa Hongwanji Hilo Betsuin                                  Aloha Council, Bsa 104                  398 Kilauea Ave                                        Hilo, HI 96720‐3038                                                                                    First Class Mail
Chartered Organization         Hood County Sheriff'S Office                                  Longhorn Council 662                    400 Deputy Larry Miller Dr                             Granbury, TX 76048‐1876                                                                                First Class Mail
Chartered Organization         Hood River Lions Club                                         Cascade Pacific Council 492             4127 Summitview Dr                                     Hood River, OR 97031‐7753                                                                              First Class Mail
Chartered Organization         Hood Scout Reservation Bsa                                    Andrew Jackson Council 303              8065 Old Port Gibson Rd                                Hazlehurst, MS 39083‐9005                                                                              First Class Mail
Chartered Organization         Hood Utd Methodist Church                                     Ozark Trails Council 306                139 N Walnut Ave                                       Republic, MO 65738‐1452                                                                                First Class Mail
Chartered Organization         Hoodland Fire District 74                                     Cascade Pacific Council 492             69634 E Hwy 26                                         Welches, OR 97067‐9600                                                                                 First Class Mail
Chartered Organization         Hooker Friends Of Scouting                                    Golden Spread Council 562               P.O. Box 941                                           Hooker, OK 73945‐0941                                                                                  First Class Mail
Voting Party                   Hooker Umc                                                    P.O. Box 66                             Hooker, OK 73945                                                                                                             drmingus@att.net                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hooker Umc                                                    Attn: David Ray Mingus                  P.O. Box 1096                                          Hooker, OK 73945                                                      drmingus@att.net                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hooksett Kiwanis Foundation                                   Daniel Webster Council, Bsa 330         3 Morningside Dr                                       Hooksett, NH 03106‐2430                                                                                First Class Mail
Chartered Organization         Hooksett Lions Club                                           Daniel Webster Council, Bsa 330         1465 Hooksett Rd, Unit 387                             Hooksett, NH 03106‐1878                                                                                First Class Mail
Chartered Organization         Hoopers Island Utd Methodist Church                           Del Mar Va 081                          P.O. Box 10                                            Fishing Creek, MD 21634‐0010                                                                           First Class Mail
Chartered Organization         Hoopeston Police Dept                                         Prairielands 117                        301 W Main St                                          Hoopeston, IL 60942‐1180                                                                               First Class Mail
Chartered Organization         Hoosac School                                                 Twin Rivers Council 364                 P.O. Box 9                                             Hoosick Falls, NY 12090‐0009                                                                           First Class Mail
Chartered Organization         Hoose School Pto                                              W D Boyce 138                           600 Grandview Dr                                       Normal, IL 61761‐4058                                                                                  First Class Mail
Voting Party                   Hoosier Memorial United Methodist Church ‐ Atlanta            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hoosier Road Elementary School Pto                            Crossroads of America 160               11300 E 121st St                                       Fishers, IN 46037‐8246                                                                                 First Class Mail
Chartered Organization         Hoosier Utd Methodist Church                                  Atlanta Area Council 092                2545 Benjamin E Mays Dr Sw                             Atlanta, GA 30311‐2450                                                                                 First Class Mail
Chartered Organization         Hoover Community Council                                      Northeast Iowa Council 178              3259 Saint Anne Dr                                     Dubuque, IA 52001‐3970                                                                                 First Class Mail
Chartered Organization         Hoover Fire Dept                                              Greater Alabama Council 001             2020 Valleydale Rd                                     Hoover, AL 35244‐2024                                                                                  First Class Mail
Voting Party                   Hoover First United Methodist Church                          Attn: Paul Gourley Treasurer            1934 Patton Chapel Rd                                  Hoover, AL 35226                                                      lhoag@advancelocal.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hoover Jr, C Michael                                          Address Redacted                                                                                                                                                     Email Address Redacted           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hoover Parent Teacher Organization                            Cherokee Area Council 469 469           512 S Madison Blvd                                     Bartlesville, OK 74006‐2827                                                                            First Class Mail
Chartered Organization         Hoover Parents Organization                                   Crater Lake Council 491                 2323 Siskiyou Blvd                                     Medford, OR 97504‐8166                                                                                 First Class Mail
Chartered Organization         Hoover Police Dept                                            Greater Alabama Council 001             100 Municipal Ln                                       Vestavia Hills, AL 35216‐5500                                                                          First Class Mail
Chartered Organization         Hooverson Heights Vfd                                         Ohio River Valley Council 619           P.O. Box 305                                           Follansbee, WV 26037‐0305                                                                              First Class Mail
Chartered Organization         Hopatcong Ambulance Squad                                     Patriots Path Council 358               P.O. Box 334                                           Hopatcong, NJ 07843‐0334                                                                               First Class Mail
Chartered Organization         Hopatcong Police Dept                                         Patriots Path Council 358               111 River Styx Rd                                      Hopatcong, NJ 07843‐1535                                                                               First Class Mail
Voting Party                   Hope (East Flat Rock) 2443 Spartanburg Hwy, E Flat Rock, Nc   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hope 21St Donald                                              Greater Alabama Council 001             1231 2nd Ave S                                         Birmingham, AL 35233‐1305                                                                              First Class Mail
Chartered Organization         Hope 21St Glen Oaks                                           Greater Alabama Council 001             1231 2nd Ave S                                         Birmingham, AL 35233‐1305                                                                              First Class Mail
Chartered Organization         Hope 21St Robinson                                            Greater Alabama Council 001             1231 2nd Ave S                                         Birmingham, AL 35233‐1305                                                                              First Class Mail
Chartered Organization         Hope Academy                                                  Baltimore Area Council 220              1808 Edison Hwy                                        Baltimore, MD 21213‐1526                                                                               First Class Mail
Chartered Organization         Hope Academy                                                  Great Lakes Fsc 272                     12121 Broadstreet Ave                                  Detroit, MI 48204‐1550                                                                                 First Class Mail
Chartered Organization         Hope Academy Northwest                                        Lake Erie Council 440                   1441 W 116th St                                        Cleveland, OH 44102‐2301                                                                               First Class Mail
Chartered Organization         Hope Arise Utd Methodist Church                               Alamo Area Council 583                  20770 US Hwy 281 N 108134                              San Antonio, TX 78258‐7655                                                                             First Class Mail
Chartered Organization         Hope Baptist Church Of Laurel                                 Baltimore Area Council 220              8801 Stephens Rd                                       Laurel, MD 20723‐1459                                                                                  First Class Mail
Chartered Organization         Hope Center Covenant Church                                   Mt Diablo‐Silverado Council 023         2275 Morello Ave                                       Pleasant Hill, CA 94523‐1850                                                                           First Class Mail
Chartered Organization         Hope Commty                                                   United Methodist Church of Pasadena     2838 Lily St                                           Pasadena, TX 77503‐3814                                                                                First Class Mail
Chartered Organization         Hope Community Academy                                        Northern Star Council 250               720 Payne Ave                                          Saint Paul, MN 55130‐4127                                                                              First Class Mail
Chartered Organization         Hope Community Charter School                                 Garden State Council 690                836 S 4th St                                           Camden, NJ 08103‐2047                                                                                  First Class Mail
Chartered Organization         Hope Community Church                                         Pathway To Adventure 456                5900 W Iowa St                                         Chicago, IL 60651‐2527                                                                                 First Class Mail
Chartered Organization         Hope Community Church ‐ Lincoln                               Cornhusker Council 324                  4700 S Folsom St                                       Lincoln, NE 68523‐9331                                                                                 First Class Mail
Voting Party                   Hope Community United Methodist Church Of Pasadena            Attn: Jack Allen Womack                 2838 Lily St                                           Pasadena, TX 77503                                                    pastor@hopecommunityumc.org      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hope Covenant Church                                          Grand Canyon Council 010                1770 S Dobson Rd                                       Chandler, AZ 85286‐6700                                                                                First Class Mail
Voting Party                   Hope Episcopal Church                                         1613 W 43rd St                          Houston, TX 77018                                                                                                            hechouston.office@gmail.com      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hope Episcopal Church, Melbourne, Fl                          Attn: Rev Cynthia Brust                 190 Interlachen Rd                                     Melbourne, FL 32940                                                   cynthiabrust@gmail.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hope Eternal Umc (178665)                                     c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hope Evangelical Lutheran Church                              Greater Tampa Bay Area 089              9425 N Citrus Springs Blvd                             Citrus Springs, FL 34434‐4030                                                                          First Class Mail
Chartered Organization         Hope Evangelical Lutheran Church                              Anthony Wayne Area 157                  2001 S 500 E                                           Columbia City, IN 46725‐8628                                                                           First Class Mail
Voting Party                   Hope Evangelical Lutheran Church Of Coesse Indiana            c/o Plews Shadley Racher & Braun LLP    Attn: Josh S Tatum                                     1346 N Delaware St                 Indianapolis, IN 46202             jtatum@psrb.com                  Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hope Fellowship Christian Reform Church                       Denver Area Council 061                 2400 S Ash St                                          Denver, CO 80222‐6007                                                                                  First Class Mail
Chartered Organization         Hope Fellowship Evangelical                                   Presbyterian Ch                         2000 Twin Cedars                                       Chickamauga, GA 30707                                                                                  First Class Mail
Chartered Organization         Hope Fellowship Of Hillsboro                                  Cascade Pacific Council 492             5215 SE Golden Rd                                      Hillsboro, OR 97123‐7840                                                                               First Class Mail
Voting Party                   Hope First United Methodist                                   Attn: Kari Rohrbaugh                    P.O. Box 400                                           Hope, AR 71802                                                        fumchope@yahoo.com               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hope For Tomorrow                                             Crossroads of America 160               6845 Madison Ave                                       Indianapolis, IN 46227‐5056                                                                            First Class Mail
Chartered Organization         Hope Haven Area Devt Ctr Corp.                                Mississippi Valley Council 141 141      838 N 7th St                                           Burlington, IA 52601                                                                                   First Class Mail
Chartered Organization         Hope Hose Co No 1 Inc                                         Westchester Putnam 388                  50 Main St                                             Tarrytown, NY 10591‐3623                                                                               First Class Mail
Chartered Organization         Hope House Inc                                                Heart of America Council 307            P.O. Box 520409                                        Independence, MO 64052‐0409                                                                            First Class Mail
Chartered Organization         Hope House Of Lees Summit Inc                                 Heart of America Council 307            P.O. Box 520409                                        Independence, MO 64052‐0409                                                                            First Class Mail
Chartered Organization         Hope In Christ Fellowship                                     Middle Tennessee Council 560            315 E Peter Ave                                        Monterey, TN 38574‐1047                                                                                First Class Mail
Voting Party                   Hope In The Valley Umc (176622)                               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hope Institute For Children And Families                      Abraham Lincoln Council 144             15 E Hazel Dell Ln                                     Springfield, IL 62712‐4210                                                                             First Class Mail
Chartered Organization         Hope Jackson Fire Co                                          Narragansett 546                        117 Main St                                            Hope, RI 02831‐1840                                                                                    First Class Mail
Chartered Organization         Hope Lutheran Church                                          Montana Council 315                     2152 W Graf St                                         Bozeman, MT 59718‐9259                                                                                 First Class Mail
Chartered Organization         Hope Lutheran Church                                          Circle Ten Council 571                  917 Straus Rd                                          Cedar Hill, TX 75104‐5317                                                                              First Class Mail
Chartered Organization         Hope Lutheran Church                                          Minsi Trails Council 502                P.O. Box 765                                           Cherryville, PA 18035‐0765                                                                             First Class Mail
Chartered Organization         Hope Lutheran Church                                          Voyageurs Area 286                      401 Hwy 73                                             Floodwood, MN 55736‐8452                                                                               First Class Mail
Chartered Organization         Hope Lutheran Church                                          Laurel Highlands Council 527            35 Ridge Ave                                           Homer City, PA 15748‐1521                                                                              First Class Mail
Chartered Organization         Hope Lutheran Church                                          Northeast Illinois 129                  1660 Checker Rd                                        Long Grove, IL 60047‐5289                                                                              First Class Mail
Chartered Organization         Hope Lutheran Church                                          California Inland Empire Council 045    45900 Portola Ave                                      Palm Desert, CA 92260‐4838                                                                             First Class Mail
Chartered Organization         Hope Lutheran Church                                          Greater Tampa Bay Area 089              1801 62nd Ave N                                        Saint Petersburg, FL 33702‐7119                                                                        First Class Mail
Chartered Organization         Hope Lutheran Church                                          Alamo Area Council 583                  5714 Callaghan Rd                                      San Antonio, TX 78228‐1101                                                                             First Class Mail
Chartered Organization         Hope Lutheran Church                                          Silicon Valley Monterey Bay 055         2383 Pacific Dr                                        Santa Clara, CA 95051‐1415                                                                             First Class Mail
Chartered Organization         Hope Lutheran Church                                          Suffolk County Council Inc 404          46 Dare Rd                                             Selden, NY 11784‐2004                                                                                  First Class Mail
Chartered Organization         Hope Lutheran Church                                          Lake Erie Council 440                   4792 Oster Rd                                          Sheffield Village, OH 44054‐1446                                                                       First Class Mail
Chartered Organization         Hope Lutheran Church                                          Sioux Council 733                       1700 S Cliff Ave                                       Sioux Falls, SD 57105‐2129                                                                             First Class Mail
Chartered Organization         Hope Lutheran Church                                          Inland Nwest Council 611                17909 E Broadway Ave                                   Spokane Valley, WA 99016‐9513                                                                          First Class Mail
Chartered Organization         Hope Lutheran Church                                          North Florida Council 087               10495 SE Sunset Harbor Rd                              Summerfield, FL 34491‐7620                                                                             First Class Mail
Voting Party                   Hope Lutheran Church                                          2226 Eddy Ln                            Eau Claire, WI 54703                                                                                                         pr.maryerickson@gmail.com        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hope Lutheran Church                                          Attn: Treasurer, Trudy Mertz            4131 Lehigh Dr                                         Cherryville, PA 18035                                                 office@hopecherryville.org       Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hope Lutheran Church And School                               Heart of America Council 307            6308 Quivira Rd                                        Shawnee Mission, KS 66216‐2744                                                                         First Class Mail
Voting Party                   Hope Lutheran Church In The Villages, Inc                     Attn: Kent Hamdorf                      250 Avenida Los Angelos                                The Villages, FL 32162                                                info@hope2all.org                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Hope Lutheran Church Of Cranberry Twp                         Moraine Trails Council 500              8070 Rowan Rd                                          Cranberry Twp, PA 16066‐3614                                                                           First Class Mail
Voting Party                   Hope Lutheran Church Of Veradale Washington                   c/o Feltman Ewing, Ps                   Attn: David E Eash                                     421 W Riverside Ave, Ste 1600      Spokane, WA 99201                  davide@feltmanewing.com          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Hope Lutheran Church Of Veradale Washington                   17909 E Broadway                        Spokane Valley, WA 99016                                                                                                                                      First Class Mail
Voting Party                   Hope Lutheran Church Sioux Falls, Sd                          1700 S Cliff Ave                        Sioux Falls, SD 57105                                                                                                        lsorensen@hopesiouxfalls.org     Email
                                                                                                                                                                                                                                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                         Page 163 of 442
                                                                                  Case 20-10343-LSS                                                        Doc 8171                                       Filed 01/06/22                                                    Page 179 of 457
                                                                                                                                                                                             Exhibit B
                                                                                                                                                                                              Service List
                                                                                                                                                                                       Served as set forth below

        Description                                                        Name                                                                                                            Address                                                                                                        Email                      Method of Service
Voting Party                   Hope Matchan Law                                               Attn: Hope Elizabeth Matchan                            403 W 22nd St                                              Sioux Falls, SD 57105                                                hope@hopematchanlaw.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Hope Mills Umc Men                                             Occoneechee 421                                         4955 Legion Rd                                             Hope Mills, NC 28348‐1987                                                                                First Class Mail
Voting Party                   Hope Mills United Methodist Church                             Attn: Rev Ellen Mccubbin                                4955 Legion Rd                                             Hope Mills, NC 28348                                                 secretary@hopemillsumc.org          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Hope Moravian Church                                           Hoosier Trails Council 145 145                          202 Main St                                                Hope, IN 47246‐1525                                                                                      First Class Mail
Chartered Organization         Hope Of Glory Fellowship                                       Rio Grande Council 775                                  4330 Pecan Blvd                                            Mcallen, TX 78501‐3621                                                                                   First Class Mail
Chartered Organization         Hope Presbyterian Church                                       Capitol Area Council 564                                11512 Olson Dr                                             Austin, TX 78750‐2606                                                                                    First Class Mail
Chartered Organization         Hope Presbyterian Church                                       Chickasaw Council 558                                   8500 Walnut Grove Rd                                       Cordova, TN 38018‐7392                                                                                   First Class Mail
Chartered Organization         Hope Presbyterian Church                                       Crossroads of America 160                               1331 Section St                                            Plainfield, IN 46168‐1746                                                                                First Class Mail
Chartered Organization         Hope Presbyterian Church                                       Three Fires Council 127                                 1771 S Wiesbrook Rd                                        Wheaton, IL 60189‐7883                                                                                   First Class Mail
Chartered Organization         Hope Presbyterian Church                                       Old Hickory Council 427                                 2050 N Peace Haven Rd                                      Winston Salem, NC 27106‐4851                                                                             First Class Mail
Chartered Organization         Hope Presbyterian Church                                       Greater Tampa Bay Area 089                              2110 Cypress Gardens Blvd                                  Winter Haven, FL 33884‐1556                                                                              First Class Mail
Voting Party                   Hope Presbyterian Church                                       617 Hope Chapel Rd                                      Lakewood, NJ 08701                                                                                                              tammidbeyer@gmail.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Hope Reformed                                                  Southern Shores Fsc 783                                 1365 Monroe Blvd                                           South Haven, MI 49090‐1619                                                                               First Class Mail
Chartered Organization         Hope Ridge Church                                              Lake Erie Council 440                                   9870 Johnnycake Ridge Rd                                   Mentor, OH 44060‐6730                                                                                    First Class Mail
Voting Party                   Hope Ridge United Methodist Church                             Attn: Pastor Beth Wilterdink                            9870 Johnnycake Ridge Rd                                   Mentor, OH 44060                                                     pastorbeth@hoperidge.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Hope Street Academy                                            Jayhawk Area Council 197                                1900 SW Hope St                                            Topeka, KS 66604‐3984                                                                                    First Class Mail
Voting Party                   Hope Umc                                                       Attn: George Henry Button                               31 Main St                                                 P.O. Box 933                       Belchertown, MA 01007             btownhopeumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope Umc ‐ Port Trevorton (4601)                               c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope Umc Of Torrance                                           Attn: Sunyoung Park                                     3711 W 230 St, Apt 204                                     Torrance, CA 90505                                                   sparknspirit@hotmail.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope United Methodist                                          Attn: Richard Baumann                                   244 Wicks Ln                                               Billings, MT 59105                                                   rbaumann112050@gmail.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope United Methodist Church                                   Attn: Board of Trustees' President & Susan E Cipperly   566 Brunswick Rd                                           Troy, NY 12180                                                       suecipperly@gmail.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope United Methodist Church                                   Attn: Rev Brian Kent                                    16550 Bernardo Heights Wy                                  San Diego, CA 92128                                                  revbriankent@gmail.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope United Methodist Church                                   Attn: Rev Linda J Cheek                                 5101 S Dayton St                                           Greenwood Village, CO 80111                                          rev.lin@hcpc‐umc.org                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope United Methodist Church                                   Attn: Joyce Salasek                                     2203 S 3rd Ave                                             Marshalltown, IA 50158                                               humctreasurer50158@gmail.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope United Methodist Church                                   Attn: Accountant                                        26275 Northwestern Hwy                                     Southfield, MI 48076                                                 hopemail@hopeumc.org                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope United Methodist Church                                   Attn: Pastor Edward H Cottrell                          432 Washington St                                          Hope, IN 47246                                                       hopeindyunitedmethodist@gmail.com   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope United Methodist Church                                   Attn: Angela Denise Mcmurdo                             525 Hunter Ln                                              Lone Jack, MO 64070                                                  hope4lonejackumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope United Methodist Church                                   c/o Allen Law Group                                     Attn: George K. Pitchford                                  3011 W Grand Blvd, Ste 2500        Detroit, MI 48202                 gpitchford@alglawpc.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope United Methodist Church (Az)                              c/o Clarke Law Firm, Plc                                Attn: Marilee Miller Clarke                                8141 E Indian Bend Rd, Ste 105     Scottsdale, AZ 85250              marilee@clarkelawaz.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope United Methodist Church Of Eau Claire Inc                 Attn: Mike Larabee                                      4525 Brittany Court                                        Eau Claire, WI 54701                                                 mike.larabee@sbcglobal.net          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope United Methodist Church Of Edwardsburg                    Attn: Treasurer, Hope United Methodist Church           69941 Elkhart Rd                                           Edwardsburg, MI 49112                                                dawn.weingart@hope‐umc.us           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hope United Methodist Church Of Pocahontas County, Iowa        Attn: Carol Hallman                                     18 2nd Ave, Ne                                             Pocahontas, IA 50574                                                 carolhallman@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Hope Utd Church Of Christ                                      Minsi Trails Council 502                                2nd & Cherry Sts                                           Wind Gap, PA 18091                                                                                       First Class Mail
Chartered Organization         Hope Utd Methodist Church                                      Montana Council 315                                     1911 US Hwy 87 E                                           Billings, MT 59101‐6651                                                                                  First Class Mail
Chartered Organization         Hope Utd Methodist Church                                      Las Vegas Area Council 328                              1325 Ramar Rd                                              Bullhead City, AZ 86442‐7149                                                                             First Class Mail
Chartered Organization         Hope Utd Methodist Church                                      Tecumseh 439                                            5980 Wilmington Pike                                       Dayton, OH 45459‐7005                                                                                    First Class Mail
Chartered Organization         Hope Utd Methodist Church                                      Daniel Boone Council 414                                P.O. Box 477                                               East Flat Rock, NC 28726‐0477                                                                            First Class Mail
Chartered Organization         Hope Utd Methodist Church                                      Chippewa Valley Council 637                             2233 Golf Rd                                               Eau Claire, WI 54701‐8048                                                                                First Class Mail
Chartered Organization         Hope Utd Methodist Church                                      Dan Beard Council, Bsa 438                              3642 Shaker Rd                                             Franklin, OH 45005‐4967                                                                                  First Class Mail
Chartered Organization         Hope Utd Methodist Church                                      San Diego Imperial Council 049                          16550 Bernardo Heights Pkwy                                San Diego, CA 92128‐3223                                                                                 First Class Mail
Chartered Organization         Hope Utd Methodist Church                                      c/o Pack 58 ‐ John Stabler                              219 E 1st St                                               Wellston, OH 45692‐1501                                                                                  First Class Mail
Chartered Organization         Hope Utd Methodist Church                                      Simon Kenton Council 441                                219 E 1st St                                               Wellston, OH 45692‐1501                                                                                  First Class Mail
Chartered Organization         Hope Utd Methodist Church                                      Erie Shores Council 460                                 10610 Waterville St                                        Whitehouse, OH 43571‐9749                                                                                First Class Mail
Chartered Organization         Hope Utd Presbyterian Church                                   New Birth of Freedom 544                                931 Red Hill Rd                                            Dauphin, PA 17018‐9744                                                                                   First Class Mail
Chartered Organization         Hope Village Foundation                                        Sam Houston Area Council 576                            15403 Hope Village Rd                                      Friendswood, TX 77546‐2410                                                                               First Class Mail
Chartered Organization         Hopeful Lutheran Church                                        Dan Beard Council, Bsa 438                              6430 Hopeful Church Rd                                     Florence, KY 41042‐7934                                                                                  First Class Mail
Chartered Organization         Hopeful Lutheran Church                                        Dan Beard Council, Bsa 438                              6431 Hopeful Church Rd                                     Florence, KY 41042‐7935                                                                                  First Class Mail
Voting Party                   Hopegateway                                                    Attn: Sara Ewing‐Merrill                                509 Forest Ave                                             Portland, ME 04101                                                   hello@hopegateway.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Hopelawn Engine Co 1                                           Patriots Path Council 358                               127 Loretta St                                             Hopelawn, NJ 08861‐2267                                                                                  First Class Mail
Voting Party                   Hoper Lutheran Church                                          Attn: Pastor Keith Marshall                             1316 Garfield St                                           Enumclaw, WA 98022                                                   pastorkeithmarshall@gmail.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Hopeville School                                               Connecticut Rivers Council, Bsa 066                     2 Cypress St                                               Waterbury, CT 06706‐2101                                                                                 First Class Mail
Voting Party                   Hopewell                                                       c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Hopewell Baptist Church                                        Palmetto Council 549                                    511 Old Chester Rd                                         Blacksburg, SC 29702‐9441                                                                                First Class Mail
Chartered Organization         Hopewell Baptist Church                                        Atlanta Area Council 092                                182 Hunter St                                              Norcross, GA 30071‐1825                                                                                  First Class Mail
Chartered Organization         Hopewell Bureau Of Police                                      Heart of Virginia Council 602                           300 N Main St                                              Hopewell, VA 23860‐2721                                                                                  First Class Mail
Chartered Organization         Hopewell Elementary School Pta                                 Illowa Council 133                                      3900 Hopewell Ave                                          Bettendorf, IA 52722‐5904                                                                                First Class Mail
Chartered Organization         Hopewell N E Missionary Baptist Ch                             Northeast Georgia Council 101                           2685 Camp Mitchell Rd                                      Grayson, GA 30017‐1317                                                                                   First Class Mail
Chartered Organization         Hopewell Presbyterian Church                                   Washington Crossing Council 777                         80 W Broad St                                              Hopewell, NJ 08525‐1921                                                                                  First Class Mail
Chartered Organization         Hopewell Presbyterian Church                                   Mecklenburg County Council 415                          10500 Beatties Ford Rd                                     Huntersville, NC 28078‐9245                                                                              First Class Mail
Chartered Organization         Hopewell Presbyterian Church                                   Lincoln Heritage Council 205                            13721 New Hopewell Rd                                      Louisville, KY 40299‐5029                                                                                First Class Mail
Voting Party                   Hopewell Presbyterian Church, Hopewell New Jersey              Attn: Ian Burrow, Clerk of Session                      80 West Broad St                                           Hopewell, NJ 08525                                                   burrowintohistory@gmail.com         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hopewell Presbyterian Church, Hopewell, New Jersey             Attn: Ian Burrow, Clerk of Session                      80 West Broad St                                           Hopewell, NJ 08525                                                   burrowintohistory@gmail.com         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Hopewell Reformed Church                                       Hudson Valley Council 374                               143 Beekman Rd                                             Hopewell Junction, NY 12533‐6161                                                                         First Class Mail
Chartered Organization         Hopewell Sherrifs Office                                       Heart of Virginia Council 602                           100 E Broadway                                             Hopewell, VA 23860‐2715                                                                                  First Class Mail
Chartered Organization         Hopewell Twp Recreation Committee                              Laurel Highlands Council 527                            1700 Clark Blvd                                            Aliquippa, PA 15001‐4205                                                                                 First Class Mail
Voting Party                   Hopewell Umc                                                   Attn: Lynne Humphries‐Russ                              3600 Level Village Rd                                      Havre De Grace, MD 21784                                             pastorlynnehr@gmail.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hopewell Umc                                                   Attn: Sue Williams                                      106 Susquehanna Ct                                         Havre De Grace, MD 21784                                             beaswilliams@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hopewell Umc ‐ Chesterfield                                    c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hopewell Umc Peachland 1715 Hopewell Church Rd, Peachlan, Nc   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hopewell United Methodist Church ‐ Gainesville                 c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hopewell United Methodist Church ‐ Port Deposit                c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hopewell United Methodist Church ‐ Tyrone                      c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hopewell United Methodist Church Inc                           Attn: Judy White                                        P.O. Box 81256                                             Simpsonville, SC 29680                                               hopewellumcoffice@gmail.com         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hopewell United Methodist Church Of Lancaster, Sc              Attn: Emerson Crouch                                    1920 New Cut Church Rd                                     Lancaster, SC 29720                                                  hopewell@comporium.net              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hopewell United Methodist Church Of Lancaster, Sc              Attn: Candice Y Sloan                                   3734 Heyward Hough Rd                                      Lancaster, SC 29720                                                  hopewell@comporium.net              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Hopewell Utd Methodist Church                                  Heart of Virginia Council 602                           6200 Courthouse Rd                                         Chesterfield, VA 23832‐7442                                                                              First Class Mail
Chartered Organization         Hopewell Utd Methodist Church                                  Chester County Council 539                              852 Hopewell Rd                                            Downingtown, PA 19335‐1215                                                                               First Class Mail
Chartered Organization         Hopewell Utd Methodist Church                                  Palmetto Council 549                                    3734 Heyward Hough Rd                                      Lancaster, SC 29720‐6901                                                                                 First Class Mail
Chartered Organization         Hopewell Utd Methodist Church                                  Chester County Council 539                              1811 Hopewell Rd                                           Port Deposit, MD 21904‐1487                                                                              First Class Mail
Chartered Organization         Hopewell Utd Methodist Church                                  Flint River Council 095                                 P.O. Box 70                                                Tyrone, GA 30290‐0070                                                                                    First Class Mail
Chartered Organization         Hopewell Valley Lions Club                                     Washington Crossing Council 777                         241 Washington Crossing Pe Rd                              Titusville, NJ 08560‐1509                                                                                First Class Mail
Chartered Organization         Hopewell Valley Ymca                                           Washington Crossing Council 777                         P.O. Box 999                                               Pennington, NJ 08534‐0999                                                                                First Class Mail
Chartered Organization         Hopkins Elementary Pto                                         Indian Waters Council 553                               6120 Cabin Creek Rd                                        Hopkins, SC 29061‐9730                                                                                   First Class Mail
Chartered Organization         Hopkins Elementary Stem Program                                Northeast Georgia Council 101                           1315 Dickens Rd Nw                                         Lilburn, GA 30047‐3519                                                                                   First Class Mail
Chartered Organization         Hopkins Lions Club                                             President Gerald R Ford 781                             127 N Water St                                             Hopkins, MI 49328‐5116                                                                                   First Class Mail
Voting Party                   Hopkins United Methodist Church                                Attn: Kelsey Burns French                               P.O. Box 356                                               Hopkins, MI 49328                                                    pastorkelseyfrench@gmail.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hopkins United Methodist Church                                Attn: Treasurer                                         P.O. Box 356                                               Hopkins, MI 49328                                                    pastorkelseyfrench@gmail.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hopkins United Methodist Church                                Attn: Treasurer                                         P.O. Box 256                                               Hopkins, MI 49328                                                                                        First Class Mail
Chartered Organization         Hopkins Utd Methodist Church                                   President Gerald R Ford 781                             322 N Maple St                                             Hopkins, MI 49328‐9558                                                                                   First Class Mail
Chartered Organization         Hopkinton Fire Dept                                            Daniel Webster Council, Bsa 330                         9 Pine St                                                  Contoocook, NH 03229‐3165                                                                                First Class Mail
Chartered Organization         Hopkinton Lions Club                                           Daniel Webster Council, Bsa 330                         P.O. Box 185                                               Contoocook, NH 03229‐0185                                                                                First Class Mail
Chartered Organization         Hopkinton Lions Club                                           Northeast Iowa Council 178                              Gen Delivery                                               Hopkinton, IA 52237                                                                                      First Class Mail
Chartered Organization         Hopkinton Lions Club                                           Northeast Iowa Council 178                              Hopkinton, IA 52237                                                                                                                                                 First Class Mail
Chartered Organization         Hopkinton Scout Leaders Assoc                                  Mayflower Council 251                                   P.O. Box 375                                               Hopkinton, MA 01748‐0375                                                                                 First Class Mail
Chartered Organization         Hopp Industries                                                Pacific Harbors Council, Bsa 612                        4702 N Cheyenne St                                         Tacoma, WA 98407‐5109                                                                                    First Class Mail
Chartered Organization         Hoquiam Police Dept                                            Pacific Harbors Council, Bsa 612                        215 10th St                                                Hoquiam, WA 98550‐2526                                                                                   First Class Mail
Chartered Organization         Horace Lutheran Church                                         Northern Lights Council 429                             650 1st St E                                               Horace, ND 58047‐4502                                                                                    First Class Mail
Chartered Organization         Horace Mann School Pta                                         Northern Star Council 250                               2001 Eleanor Ave                                           Saint Paul, MN 55116‐1353                                                                                First Class Mail
Chartered Organization         Horicon Masonic Lodge 244                                      Blackhawk Area 660                                      500 Lincoln Hwy                                            Rochelle, IL 61068‐1645                                                                                  First Class Mail
Chartered Organization         Horizion Education Center After School                         Lake Erie Council 440                                   11005 Parkhurst Dr                                         Cleveland, OH 44111‐3601                                                                                 First Class Mail
Chartered Organization         Horizon Christian Academy                                      Anthony Wayne Area 157                                  3301 E Coliseum Blvd                                       Fort Wayne, IN 46805‐1591                                                                                First Class Mail
Voting Party                   Horizon Church                                                 c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Horizon Community Church                                       Grand Canyon Council 010                                14120 N 79th Ave                                           Peoria, AZ 85381‐4600                                                                                    First Class Mail
Chartered Organization         Horizon Community Learning Ctr                                 Grand Canyon Council 010                                16233 S 48th St                                            Phoenix, AZ 85048‐0801                                                                                   First Class Mail
Chartered Organization         Horizon Education Center ‐ Gala                                Lake Erie Council 440                                   13442 Lorain Ave                                           Cleveland, OH 44111‐3432                                                                                 First Class Mail
Chartered Organization         Horizon Education Centers After School                         Lake Erie Council 440                                   11005 Parkhurst Dr                                         Cleveland, OH 44111‐3601                                                                                 First Class Mail
Chartered Organization         Horizon Elementary Pto                                         Lasalle Council 165                                     10060 Brummitt Rd                                          Granger, IN 46530‐7264                                                                                   First Class Mail
Chartered Organization         Horizon Organizaton Of Parents And Staff                       Water and Woods Council 782                             5776 Holt Rd                                               Holt, MI 48842‐9696                                                                                      First Class Mail
Chartered Organization         Horizon Roofing Inc                                            Central Minnesota 296                                   2010 County Rd 137                                         Waite Park, MN 56387‐2091                                                                                First Class Mail
Chartered Organization         Horizon Science Academy Cincinnati                             Dan Beard Council, Bsa 438                              1055 Laidlaw Ave                                           Cincinnati, OH 45237‐5005                                                                                First Class Mail
Chartered Organization         Horizon Unitarian Universalist                                 Circle Ten Council 571                                  1641 W Hebron Pkwy                                         Carrollton, TX 75010‐6334                                                                                First Class Mail
Voting Party                   Hormel Foods Sales Llc                                         1 Hormel Pl                                             Austin, MN 55912‐3673                                                                                                                                               First Class Mail
Chartered Organization         Horne Elementary Pto                                           Sam Houston Area Council 576                            14950 W Little York Rd                                     Houston, TX 77084‐1523                                                                                   First Class Mail
Voting Party                   Horne Memorial United Methodist Church                         Attn: Christopher Michael Brooks                        P.O. Box 475                                               Clayton, NC 27528                                                    chris@horneumc.net                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Horne Memorial Utd Methodist Church                            Tuscarora Council 424                                   121 E 2nd St                                               Clayton, NC 27520‐2476                                                                                   First Class Mail
Chartered Organization         Hornsby Dunlap Elementary Lead                                 Capitol Area Council 564                                13901 Fm 969                                               Austin, TX 78724‐6345                                                                                    First Class Mail
Firm                           Horowitz Law Firm                                              Adam D. Horowitz & Jessica Arbour                       110 E. Broward Blvd., Ste 1850                             Ft. Lauderdale, FL 33301                                             adam@adamhorowitzlaw.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Horry County Fire Rescue Dept                                  Pee Dee Area Council 552                                2560 Main St                                               Conway, SC 29526‐3756                                                                                    First Class Mail
Voting Party                   Horse Cave United Methodist Church                             Attn: Diane Froedge                                     474 New St                                                 Horse Cave, KY 42749                                                 dfroedge@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Horseshoe Drive United Methodist Church                        Attn: Annette Luneau                                    1600 Horseshoe Dr                                          Alexandria, LA 71301                                                 horseshoedriveumc@gmail.com         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Horseshoe Grange 965                                           Mount Baker Council, Bsa 606                            16428 Broadway Ave                                         Snohomish, WA 98296                                                                                      First Class Mail
Chartered Organization         Horsethief Canyon Ranch Homeowners Assoc                       California Inland Empire Council 045                    13289 Mountain Rd                                          Corona, CA 92883‐6226                                                                                    First Class Mail
Chartered Organization         Horsham Township Police Dept                                   Cradle of Liberty Council 525                           1025 Horsham Rd                                            Horsham, PA 19044‐1326                                                                                   First Class Mail
Chartered Organization         Horton Congregational Church                                   Southern Shores Fsc 783                                 P.O. Box 50                                                Horton, MI 49246‐0050                                                                                    First Class Mail
Chartered Organization         Horton Remodeling                                              Coastal Georgia Council 099                             719 W Victory Dr                                           Savannah, GA 31405‐1727                                                                                  First Class Mail
Chartered Organization         Hosanna Lutheran Church                                        Northern Star Council 250                               9600 163rd St W                                            Lakeville, MN 55044‐4646                                                                                 First Class Mail
Chartered Organization         Hosanna Lutheran Church                                        Denver Area Council 061                                 10304 W Belleview Ave                                      Littleton, CO 80127‐1732                                                                                 First Class Mail
Chartered Organization         Hosanna Lutheran Church                                        Istrouma Area Council 211                               2480 Hwy 190                                               Mandeville, LA 70448‐3240                                                                                First Class Mail
Chartered Organization         Hosanna Lutheran Church                                        Gamehaven 299                                           2815 57th St Nw                                            Rochester, MN 55901‐0110                                                                                 First Class Mail
Chartered Organization         Hosanna Lutheran Church                                        Three Fires Council 127                                 36W925 Red Gate Rd                                         St Charles, IL 60175                                                                                     First Class Mail
Voting Party                   Hoschton United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Hot Springs First United Methodist Church                      Attn: Cyndee Metcalf                                    1100 Central Ave                                           Hot Springs, AR 71901                                                cmetcalf@fumchs.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Hot Springs Lions Club                                         Daniel Boone Council 414                                P.O. Box 609                                               Hot Springs, NC 28743‐0609                                                                               First Class Mail
Chartered Organization         Hough Pontus Vfw Post 3071                                     President Gerald R Ford 781                             P.O. Box 501                                               Lakeview, MI 48850‐0501                                                                                  First Class Mail
Chartered Organization         Houghs Neck Congregational Church                              The Spirit of Adventure 227                             310 Manet Ave                                              Quincy, MA 02169‐3012                                                                                    First Class Mail
Voting Party                   Houghton Bradford Whitted Pc, Llo                              Attn: D C Bradford III                                  6457 Frances St, Ste 100                                   Omaha, NE 68106                                                      wbradford@houghtonbradford.com      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Houghton Lake Area Historical Society                          President Gerald R Ford 781                             P.O. Box 14                                                Roscommon, MI 48653‐0014                                                                                 First Class Mail
Voting Party                   Houghton Lake United Methodist Church                          Attn: Rev George R Spencer                              7059 W Houghton Lake Dr                                    Houghton Lake, MI 48629                                              hlumc.office@gmail.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Houghton Wesleyan Church                                       Attn: Wesley Oden                                       9712 Rte 19 P.O. Box 127                                   Houghton, NY 14744                                                   wesoden@hwchurch.org                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Houlton United Methodist Church                                Seungri Han                                             28 School St                                               Houlton, ME 04730                                                    visionmaker.victor@gmail.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Houlton United Methodist Church                                Attn: Treasurer, Houlton Umc                            57 Military St                                             Houlton, ME 04730                                                                                        First Class Mail
Voting Party                   Houma First United Methodist Church                            Attn: Phyliss Martin, Financial Mgr                     6109 Hwy 311                                               Houma, LA 70360                                                      phyliss@houmamethodist.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                              Page 164 of 442
                                                                                Case 20-10343-LSS                                            Doc 8171                                               Filed 01/06/22                                                    Page 180 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                      Name                                                                                                        Address                                                                                                            Email              Method of Service
Chartered Organization         Hour Glass Communications Inc                                  San Francisco Bay Area Council 028        831 Mitten Rd, Ste 209                                             Burlingame, CA 94010‐1330                                                                            First Class Mail
Voting Party                   Housatonic Council, Bsa                                        Attn: Gary M Parker                       111 New Haven Ave                                                  Derby, CT 06418                                                      gparker4100@att.net             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         House & House Pc                                               Alamo Area Council 583                    8526 N New Braunfels Ave                                           San Antonio, TX 78217‐6304                                                                           First Class Mail
Chartered Organization         House Of Hope Lutheran Church                                  Northern Star Council 250                 4800 Boone Ave N                                                   New Hope, MN 55428‐4427                                                                              First Class Mail
Chartered Organization         House Of Prayer Lutheran Church                                Three Harbors Council 636                 3900 W Ryan Rd                                                     Franklin, WI 53132‐9525                                                                              First Class Mail
Chartered Organization         House Of Prayer Lutheran Church                                Sam Houston Area Council 576              14045 Space Center Blvd                                            Houston, TX 77062‐2366                                                                               First Class Mail
Chartered Organization         House Of Prayer Lutheran Church                                Northern Star Council 250                 6039 40th St N                                                     Oakdale, MN 55128‐2901                                                                               First Class Mail
Chartered Organization         House Of Prayer Lutheran Church                                Alamo Area Council 583                    10226 Ironside Dr                                                  San Antonio, TX 78230‐3253                                                                           First Class Mail
Chartered Organization         House Springs Elementary Pto                                   Greater St Louis Area Council 312         4380 Gravois Rd                                                    House Springs, MO 63051‐2304                                                                         First Class Mail
Voting Party                   Houserville United Methodist Church (183651)                   c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                             680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Housing Authority City Of Laurens                              Blue Ridge Council 551                    218 Spring St                                                      Laurens, SC 29360‐1813                                                                               First Class Mail
Chartered Organization         Housing Authority Of Asheville                                 Daniel Boone Council 414                  16 Stewart St                                                      Asheville, NC 28806‐4268                                                                             First Class Mail
Chartered Organization         Housing Devt                                                   Jersey Shore Council 341                  818K N Maryland Ave                                                Atlantic City, NJ 08401                                                                              First Class Mail
Chartered Organization         Houston Ace Program                                            Capitol Area Council 564                  5409 Ponciana Dr                                                   Austin, TX 78744‐2838                                                                                First Class Mail
Chartered Organization         Houston American Legion Post 423                               Gateway Area 624                          121 S Grant St                                                     Houston, MN 55943‐8443                                                                               First Class Mail
Chartered Organization         Houston County Fire Emergency Management                       Central Georgia Council 096               200 Carl Vinson Pkwy                                               Warner Robins, GA 31088‐5821                                                                         First Class Mail
Chartered Organization         Houston Cy‐Fair Lions Club                                     Sam Houston Area Council 576              P.O. Box 40264                                                     Houston, TX 77240‐0264                                                                               First Class Mail
Chartered Organization         Houston Endeavor Class Of Dillon Chapel                        Buckskin 617                              Dillon U M Chapel                                                  Rt 1 Box 478                        Huntington, WV 25701                                             First Class Mail
Chartered Organization         Houston Forensic Science Ctr                                   Sam Houston Area Council 576              13011 Fannin, Ste 170                                              Houston, TX 77002                                                                                    First Class Mail
Chartered Organization         Houston Gulf Coast Chapter Sci                                 Sam Houston Area Council 576              16818 Bonnie Sean Dr                                               Spring, TX 77379‐4306                                                                                First Class Mail
Chartered Organization         Houston Internatioal 7Th Day Adventist                         Sam Houston Area Council 576              14520 Briar Forest Dr                                              Houston, TX 77077‐2694                                                                               First Class Mail
Chartered Organization         Houston Police Dept                                            High School For Law & Justice             1200 Travis St, Ste 2100                                           Houston, TX 77002‐6001                                                                               First Class Mail
Chartered Organization         Houston Police Dept ‐ Central                                  Sam Houston Area Council 576              61 Riesner St                                                      Houston, TX 77002‐1538                                                                               First Class Mail
Chartered Organization         Houston Police Dept ‐ Eastside                                 Sam Houston Area Council 576              7525 Sherman St                                                    Houston, TX 77012‐1403                                                                               First Class Mail
Chartered Organization         Houston Police Dept ‐ Midwest                                  Sam Houston Area Council 576              7277 Regency Sq Blvd                                               Houston, TX 77036‐3109                                                                               First Class Mail
Chartered Organization         Houston Police Dept ‐ Northeast                                Sam Houston Area Council 576              8301 Ley Rd                                                        Houston, TX 77028‐2731                                                                               First Class Mail
Chartered Organization         Houston Police Dept ‐ South Central                            Sam Houston Area Council 576              2202 St Emanuel St                                                 Houston, TX 77003‐5955                                                                               First Class Mail
Chartered Organization         Houston Police Dept ‐ South Gessner                            Sam Houston Area Council 576              8605 Westplace Dr                                                  Houston, TX 77071‐2270                                                                               First Class Mail
Chartered Organization         Houston Police Dept ‐ Southeast                                Sam Houston Area Council 576              8300 Mykawa Rd                                                     Houston, TX 77048‐1300                                                                               First Class Mail
Chartered Organization         Houston Police Dept ‐ Southwest                                Sam Houston Area Council 576              13097 Nitida St                                                    Houston, TX 77045                                                                                    First Class Mail
Chartered Organization         Houston Police Dept ‐ Training Academy                         Sam Houston Area Council 576              17000 Aldine Westfield Rd                                          Houston, TX 77073‐5102                                                                               First Class Mail
Chartered Organization         Houston Police Dept ‐ West Side                                Sam Houston Area Council 576              3203 S Dairy Ashford Rd                                            Houston, TX 77082‐2320                                                                               First Class Mail
Chartered Organization         Houston Police Dept Hobby Airport                              Sam Houston Area Council 576              1200 Travis St                                                     Houston, TX 77002‐6001                                                                               First Class Mail
Chartered Organization         Houston Police Dpartment                                       Sam Houston Area Council 576              1200 Travis St                                                     Houston, TX 77002‐6001                                                                               First Class Mail
Chartered Organization         Houtzdale Lions Club                                           c/o William Ellis                         203 Dorthea St                                                     Houtzdale, PA 16651‐1751                                                                             First Class Mail
Chartered Organization         Howard Afterschool Program                                     Overland Trails 322                       502 W 9th St                                                       Grand Island, NE 68801‐4237                                                                          First Class Mail
Chartered Organization         Howard Area Lions Club                                         Juniata Valley Council 497                P.O. Box 589                                                       Howard, PA 16841‐0589                                                                                First Class Mail
Voting Party                   Howard Bulloch                                                 c/o Boy Scouts of America                 Attn: Chase Koontz                                                 1325 W Walnut Hill Ln               Irving, TX 75015                 chase.koontz@scouting.org       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Howard C Johnson Pto                                           Jersey Shore Council 341                  1021 Larsen Rd                                                     Jackson, NJ 08527‐1315                                                                               First Class Mail
Chartered Organization         Howard County Hospital                                         Winnebago Council, Bsa 173                235 8th Ave W                                                      Cresco, IA 52136‐1062                                                                                First Class Mail
Chartered Organization         Howard County Police Dept                                      Baltimore Area Council 220                3410 Court House Dr                                                Ellicott City, MD 21043‐4546                                                                         First Class Mail
Chartered Organization         Howard County Sheriff                                          Sagamore Council 162                      1800 W Markland Ave                                                Kokomo, IN 46901‐6126                                                                                First Class Mail
Chartered Organization         Howard Lodge 69 Afam                                           Katahdin Area Council 216                 13 Commercial St                                                   Winterport, ME 04496                                                                                 First Class Mail
Chartered Organization         Howard Memorial Presbyterian Church                            East Carolina Council 426                 303 E Saint James St                                               Tarboro, NC 27886‐5121                                                                               First Class Mail
Chartered Organization         Howard Middle School Jlc                                       Central Georgia Council 096               6600 Forsyth Rd                                                    Macon, GA 31210‐7231                                                                                 First Class Mail
Voting Party                   Howard United Methodist Church                                 Attn: Marianne Higley                     220 Cherry St                                                      Findlay, OH 45840                                                    howard_church@sbcglabel.net     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Howard United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                 100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Howard United Methodist Church (181060)                        c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                             680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Howards Grove Rod & Gun Club                                   Bay‐Lakes Council 635                     P.O. Box 804                                                       Howards Grove, WI 53083                                                                              First Class Mail
Chartered Organization         Howbert School Pta                                             Pikes Peak Council 060                    1023 N 31st St                                                     Colorado Springs, CO 80904‐1525                                                                      First Class Mail
Chartered Organization         Howe Fire Dept                                                 Anthony Wayne Area 157                    175 W State Rd 120                                                 Howe, IN 46746‐9370                                                                                  First Class Mail
Voting Party                   Howe Memorial United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                 100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Howe Memorial United Methodist Church                          252 S Summit St                           Cresent City, FL 32112                                                                                                                                                  First Class Mail
Chartered Organization         Howe Memorial Utd Methodist Church                             North Florida Council 087                 252 S Summit St                                                    Crescent City, FL 32112‐2744                                                                         First Class Mail
Chartered Organization         Howell E Jackson Inn Of Court                                  West Tennessee Area Council 559           312 E Lafayette St                                                 Jackson, TN 38301‐6220                                                                               First Class Mail
Chartered Organization         Howell Elks B P O E 2515                                       Monmouth Council, Bsa 347                 84 Ramtown Greenville Rd                                           Howell, NJ 07731‐2790                                                                                First Class Mail
Chartered Organization         Howell Elks Club                                               Southern Shores Fsc 783                   P.O. Box 258                                                       Howell, MI 48844‐0258                                                                                First Class Mail
Voting Party                   Howell First United Church                                     c/o United Methodist Men                  Attn: Scott K Otis                                                 1230 Bower                          Howell, MI 48843                 jrhodes@howellfumc.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Howell Law Firm                                                Attn: Melissa D Peeler                    P.O. Box 100                                                       Moultrie, GA 31776                                                   melissa.peeler@southgalaw.com   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Howell Masonic Lodge 38, F&Am                                  Southern Shores Fsc 783                   401 W Grand River Ave                                              Howell, MI 48843‐2147                                                                                First Class Mail
Chartered Organization         Howell Rotary                                                  Southern Shores Fsc 783                   411 N Highlander Way                                               Howell, MI 48843‐1021                                                                                First Class Mail
Chartered Organization         Howell Township Fire Co 1                                      Monmouth Council, Bsa 347                 P.O. Box 125                                                       Adelphia, NJ 07710‐0125                                                                              First Class Mail
Chartered Organization         Howell Township Police Dept                                    Monmouth Council, Bsa 347                 P.O. Box 580                                                       Howell, NJ 07731‐0580                                                                                First Class Mail
Chartered Organization         Howland Community Church                                       Great Trail 433                           198 Niles Cortland Rd Se                                           Warren, OH 44484‐2425                                                                                First Class Mail
Voting Party                   Howland United Methodist Church                                Attn: Spencer Everett Shaw                46 Kennebec Rd                                                     Hampden, ME 04444                                                    pastor.spencer.shaw@gmail.com   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Howland United Methodist Church                                Attn: Pastor Matthew Darrin               430 Howland Willson Rd Ne                                          Warren, OH 44484                                                     humchurch@howlandumc.com        Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Howland Utd Methodist Church                                   Great Trail 433                           730 Howland Wilson Rd Ne                                           Warren, OH 44484‐2127                                                                                First Class Mail
Chartered Organization         Hoxie Recreation                                               Coronado Area Council 192                 P.O. Box 184                                                       Hoxie, KS 67740‐0184                                                                                 First Class Mail
Chartered Organization         Hoxie Rotary Club                                              Coronado Area Council 192                 P.O. Box 137                                                       Hoxie, KS 67740‐0137                                                                                 First Class Mail
Chartered Organization         Hoxie Rotary Club                                              c/o Ken Eland                             6185 E Rd 15 S                                                     Hoxie, KS 67740‐4271                                                                                 First Class Mail
Voting Party                   Hoxie United Methodist Church                                  Attn: Sandra Lovelady                     P.O. Box 116                                                       Hoxie, AR 72433                                                      hoxieumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hoyt Smith Recreation Center                                   Atlanta Area Council 092                  3444 N Fulton Ave                                                  Hapeville, GA 30354‐1465                                                                             First Class Mail
Chartered Organization         Hser Ner Moo Center                                            Great Salt Lake Council 590               2530 S 500 E                                                       Salt Lake City, UT 84106‐1316                                                                        First Class Mail
Chartered Organization         Hshs St. Joseph'S Hospital                                     Chippewa Valley Council 637               2661 County Hwy I                                                  Chippewa Falls, WI 54729‐5407                                                                        First Class Mail
Chartered Organization         Hsi Baltimore Middle School                                    Baltimore Area Council 220                40 S Gay St                                                        Baltimore, MD 21202‐4022                                                                             First Class Mail
Chartered Organization         Huachuca Ward ‐ Lds Sierra Vista Stake                         Catalina Council 011                      1000 Taylor Dr                                                     Sierra Vista, AZ 85635‐1080                                                                          First Class Mail
Voting Party                   Hubbard Fumc                                                   c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                 100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hubbard Fumc                                                   208 NW 2nd St                             Hubbard, TX 76648                                                                                                                                                       First Class Mail
Chartered Organization         Hubbard Heights Elementary ‐ Gifw                              Longhorn Council 662                      1333 W Spurgeon St                                                 Fort Worth, TX 76115‐2355                                                                            First Class Mail
Chartered Organization         Hubbard Masonic Lodge 220                                      Muskingum Valley Council, Bsa 467         Main St                                                            Adamsville, OH 43802                                                                                 First Class Mail
Chartered Organization         Hubbardston‐Lions Club                                         Heart of New England Council 230          58 Bemis Rd                                                        Hubbardston, MA 01452                                                                                First Class Mail
Chartered Organization         Hubbardston‐Ron Burton Training Village                        Heart of New England Council 230          P.O. Box 2                                                         Hubbardston, MA 01452‐0002                                                                           First Class Mail
Chartered Organization         Hubenak Elementary Pta                                         Sam Houston Area Council 576              11344 Rancho Bella Pkwy                                            Richmond, TX 77406‐4500                                                                              First Class Mail
Chartered Organization         Huber Heights Police Explorer Post                             Miami Valley Council, Bsa 444             6121 Taylorsville Rd                                               Huber Heights, OH 45424‐2951                                                                         First Class Mail
Chartered Organization         Hubert L Jones Post 87                                         Denver Area Council 061                   1427 Elmira St                                                     Aurora, CO 80010‐3216                                                                                First Class Mail
Chartered Organization         Hubert Middle School                                           Coastal Georgia Council 099               768 Grant St                                                       Savannah, GA 31401‐6113                                                                              First Class Mail
Chartered Organization         Hudson American Legion Post 180                                Southern Shores Fsc 783                   P.O. Box 63                                                        Hudson, MI 49247‐0063                                                                                First Class Mail
Chartered Organization         Hudson Community Church                                        Winnebago Council, Bsa 173                226 Eldora Rd                                                      Hudson, IA 50643‐9707                                                                                First Class Mail
Chartered Organization         Hudson Elementary Pto                                          Greater St Louis Area Council 312         9825 Hudson Ave                                                    Saint Louis, MO 63119‐1015                                                                           First Class Mail
Voting Party                   Hudson Falls United Methodist Church                           Attn: Rev Kim Reed                        227 Main St                                                        Hudson Falls, NY 12839                                               office@hudsonfallsumc.org       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hudson Fire Dept                                               Daniel Webster Council, Bsa 330           39 Ferry St                                                        Hudson, NH 03051‐4215                                                                                First Class Mail
Chartered Organization         Hudson Fire Dept                                               Northern Star Council 250                 222 Walnut St                                                      Hudson, WI 54016‐1790                                                                                First Class Mail
Voting Party                   Hudson First United Methodist Church                           Attn: Treasurer                           420 W Main St                                                      Hudson, MI 49247                                                     pastorcjabbott@frontier.com     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hudson Highlands Umc                                           Attn: Barbara Stone                       14 Harbor Pointe Dr                                                Haverstraw, NY 10927                                                 barbara.stone52@gmail.com       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hudson Lions Club                                              W D Boyce 138                             P.O. Box 406                                                       Hudson, IL 61748‐0406                                                                                First Class Mail
Chartered Organization         Hudson Lions Club                                              Daniel Webster Council, Bsa 330           Lions Ave                                                          Hudson, NH 03051                                                                                     First Class Mail
Voting Party                   Hudson Memorial Presbyterian Church                            4921 Six Forks Rd                         Raleigh, NC 27609                                                                                                                       dburch@rl‐law.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hudson Police Dept                                             Northern Star Council 250                 101 Vine St                                                        Hudson, WI 54016‐1990                                                                                First Class Mail
Chartered Organization         Hudson River Maritime Museum                                   Rip Van Winkle Council 405                50 Rondout Lndg                                                    Kingston, NY 12401‐6092                                                                              First Class Mail
Chartered Organization         Hudson Rod, Gun & Archery Club                                 Northern Star Council 250                 285 Krattley Ln                                                    Hudson, WI 54016                                                                                     First Class Mail
Voting Party                   Hudson United Methodist Church                                 301 S Washington St                       Hudson, IA 50643                                                                                                                        hudumc@msn.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hudson United Methodist Church                                 Attn: Treasurer                           P.O. Box 146                                                       301 Washington Sr                   Hudson, IA 50643                 dwt9497@aol.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hudson United Methodist Church 383 Main St Hudson, Nc 28638    c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                 100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hudson Utd Methodist Church                                    Piedmont Council 420                      383 Main St                                                        Hudson, NC 28638‐2122                                                                                First Class Mail
Chartered Organization         Hudson Utd Methodist Church                                    Great Trail 433                           2670 Hudson Aurora Rd                                              Hudson, OH 44236‐2326                                                                                First Class Mail
Chartered Organization         Hudson Utd Methodist Men                                       Northern Star Council 250                 1401 Laurel Ave                                                    Hudson, WI 54016‐2072                                                                                First Class Mail
Voting Party                   Hudson Valley Cncl No 374                                      6 Jeanne Dr                               Newburgh, NY 12550‐1701                                                                                                                                                 First Class Mail
Voting Party                   Hudson Valley Council, B.S.A                                   Attn: David G Horton                      6 Jeanne Dr                                                        Newburgh, NY 12550                                                   david.horton@scouting.org       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hudson Valley Trust                                            Westchester Putnam 388                    P.O. Box 563                                                       Patterson, NY 12563‐0563                                                                             First Class Mail
Chartered Organization         Hueytown 1St Utd Methodist                                     Greater Alabama Council 001               110 Sunset Dr                                                      Hueytown, AL 35023‐2147                                                                              First Class Mail
Chartered Organization         Huffman Elementary                                             Greater St Louis Area Council 312         1700 Jerome Ln                                                     Cahokia, IL 62206‐2329                                                                               First Class Mail
Chartered Organization         Huffman Memorial Utd Methodist Church                          Pony Express Council 311                  2802 Renick St                                                     Saint Joseph, MO 64507‐1854                                                                          First Class Mail
Voting Party                   Huffman United Methodist Church                                Attn: Frank G Jett                        711 Gene Reed Rd                                                   Birmingham, AL 35235                                                 frankjett@hotmail.com           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hugh Gilbert Strickland Post 138                               Greater Tampa Bay Area 089                5535 W Prescott St                                                 Tampa, FL 33616‐1333                                                                                 First Class Mail
Chartered Organization         Hugh Lynch Post 0737 American Legion                           Iroquois Trail Council 376                550 Main St                                                        Arcade, NY 14009‐1036                                                                                First Class Mail
Chartered Organization         Hughes Memorial Presbyterian Church                            Baltimore Area Council 220                3008 Sparrows Point Rd                                             Baltimore, MD 21219‐1329                                                                             First Class Mail
Voting Party                   Hughes United Methodist Church                                 Attn: Treasurer                           10700 Georgia Ave                                                  Wheaton, MD 20902                                                    dwightkf@comcast.net            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hughson United Methodist Church                                Attn: Janell Harris                       P.O. Box 129                                                       Hughson, CA 95326                                                    office@hughsonumc.com           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hughsonville Fire Dept                                         Hudson Valley Council 374                 88 Old Hopewell Rd                                                 Wappingers Falls, NY 12590                                                                           First Class Mail
Chartered Organization         Hugo Elementary Pto                                            Circle Ten Council 571                    1100 David Roebuck Lane                                            Hugo, OK 74743                                                                                       First Class Mail
Chartered Organization         Hugo Lions Club                                                Pikes Peak Council 060                    P.O. Box 711                                                       Hugo, CO 80821‐0711                                                                                  First Class Mail
Voting Party                   Hugoton United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                 100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Huguenot Memorial Church                                       901 Pelhamdale Ave                        Pelham, NY 10803                                                                                                                        business@huguenotchurch.org     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Huguenot Road Baptist Church                                   Heart of Virginia Council 602             10525 W Huguenot Rd                                                North Chesterfield, VA 23235‐2601                                                                    First Class Mail
Chartered Organization         Hulburt Field Top 3                                            Gulf Coast Council 773                    233 Hartson St Bldg 90061                                          Hurlburt Field, FL 32544‐5207                                                                        First Class Mail
Chartered Organization         Hull Valley Scout Reservation                                  Trapper Trails 589                        1200 E 5400 S                                                      Ogden, UT 84403‐4527                                                                                 First Class Mail
Chartered Organization         Human Service Center Of Southern Metro E                       Greater St Louis Area Council 312         10257 State Route 3                                                Red Bud, IL 62278‐4418                                                                               First Class Mail
Chartered Organization         Humanex Academy                                                Denver Area Council 061                   2700 S Zuni St                                                     Englewood, CO 80110‐1226                                                                             First Class Mail
Chartered Organization         Humanity Helpers                                               Circle Ten Council 571                    12189 Windy Ln                                                     Forney, TX 75126‐7644                                                                                First Class Mail
Chartered Organization         Humble Lions Club                                              Sam Houston Area Council 576              P.O. Box 621                                                       Humble, TX 77347‐0621                                                                                First Class Mail
Chartered Organization         Humboldt Bay Harbor District                                   Crater Lake Council 491                   601 Startare Dr                                                    Eureka, CA 95501‐0765                                                                                First Class Mail
Chartered Organization         Humboldt Noon Kiwanis Club                                     Mid‐America Council 326                   P.O. Box 6                                                         Humboldt, IA 50548‐0006                                                                              First Class Mail
Chartered Organization         Humboldt Park El School ‐ Friends Of                           Three Harbors Council 636                 3230 S Adams Ave                                                   Milwaukee, WI 53207‐2706                                                                             First Class Mail
Chartered Organization         Humboldt Rotary                                                Cornhusker Council 324                    65122 715 Rd                                                       Falls City, NE 68355‐1496                                                                            First Class Mail
Chartered Organization         Hummelstown Utd Church Of Christ                               New Birth of Freedom 544                  104 E Main St                                                      Hummelstown, PA 17036‐1617                                                                           First Class Mail
Chartered Organization         Humphreys Memorial Methodist Church                            Buckskin 617                              7799 Coal River Rd                                                 Tornado, WV 25202                                                                                    First Class Mail
Voting Party                   Humphreys Memorial United Methodist Church                     Attn: Treasurer, Humphreys Memorial Umc   P.O. Box 174                                                       Tornado, WV 25202                                                    cridgway@wvumc.org              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Humphreys Memorial Utd Methodist                               Buckskin 617                              2829 Kanawha Blvd E                                                Charleston, WV 25311‐1727                                                                            First Class Mail
Chartered Organization         Humphreys Memorial Utd Methodist                               Buckskin 617                              107 Coal River Rd                                                  Tornado, WV 25202                                                                                    First Class Mail
Chartered Organization         Humphreys Memorial Utd Methodist Ch                            Buckskin 617                              8340 Sissonville Dr                                                Sissonville, WV 25320‐9606                                                                           First Class Mail
Chartered Organization         Hung Vuong Institute                                           Silicon Valley Monterey Bay 055           4483 Park Sommers Way                                              San Jose, CA 95136‐2536                                                                              First Class Mail
Chartered Organization         Hungarian Scouts Of Washington                                 National Capital Area Council 082         4620 N Park Ave, Apt 1205E                                         Chevy Chase, MD 20815‐7503                                                                           First Class Mail
Chartered Organization         Hungarin Scouts Of Washington                                  National Capital Area Council 082         4620 N Park Ave                                                    Chevy Chase, MD 20815‐4549                                                                           First Class Mail
Voting Party                   Hunlock Creek United Methodist Church (179807)                 c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                             680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hunsberger Parent Teacher Organization                         Nevada Area Council 329                   2505 Crossbow Ct                                                   Reno, NV 89511‐5301                                                                                  First Class Mail
Chartered Organization         Hunt ‐ Kennedy American Legion Post 639                        Laurel Highlands Council 527              P.O. Box M                                                         Claysville, PA 15323‐0512                                                                            First Class Mail
Voting Party                   Hunt United Methodist Church                                   Attn: Shonna Fitzgerald, Treasurer        P.O. Box 137                                                       Hunt, TX 78024                                                       office2@huntumc.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hunter Army Airfield                                           Coastal Georgia Council 099               685 Horace Emmet Wilson Blvd Bldg 1201                             Savannah, GA 31409‐5022                                                                              First Class Mail
Voting Party                   Hunter Lee                                                     Address Redacted                                                                                                                                                                                                  First Class Mail
Voting Party                   Hunter United Methodist Church                                 Attn: Tiffany Simmons Cooper              3301 Romine Rd                                                     Little Rock, AR 72204                                                hunter.umc@arumc.org            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Hunter United Methodist Church                                 3315 Hunter Rd                            Caledonia, IL 61001                                                                                                                     haypastortom@yahoo.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Hunterdale Ruritan Club                                        Colonial Virginia Council 595             P.O. Box 826                                                       Franklin, VA 23851‐0826                                                                              First Class Mail
Chartered Organization         Huntersville Post 321 American Legion                          Mecklenburg County Council 415            107 N Main St                                                      Huntersville, NC 28078‐4229                                                                          First Class Mail
Chartered Organization         Huntersville Presbyterian Church                               Mecklenburg County Council 415            P.O. Box 313                                                       Huntersville, NC 28070‐0313                                                                          First Class Mail
Chartered Organization         Huntersville Soccer Academy                                    Mecklenburg County Council 415            15631 Lakepoint Forest Dr                                          Charlotte, NC 28278‐7633                                                                             First Class Mail
Chartered Organization         Huntersville Soccer Club                                       Mecklenburg County Council 415            12461 Stumptown Rd                                                 Huntersville, NC 28078‐3736                                                                          First Class Mail
Voting Party                   Huntersville United Methodist Church 14005 Stumptown Rd, Hun   c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                 100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Huntersville Utd Methodist Church                              Mecklenburg County Council 415            14005 Stumptown Rd                                                 Huntersville, NC 28078‐9028                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 165 of 442
                                                                                 Case 20-10343-LSS                                                        Doc 8171                                      Filed 01/06/22                                                  Page 181 of 457
                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                            Service List
                                                                                                                                                                                     Served as set forth below

        Description                                                       Name                                                                                                           Address                                                                                                              Email              Method of Service
Voting Party                   Huntertown United Methodist Church                            Attn: Cheryl Degler                                     16021 Lima Rd                                             Huntertown, IN 46748                                               cheryl@lifehousefw.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Hunting Creek Baptist Church                                  Blue Ridge Mtns Council 599                             4055 Hunting Creek Rd                                     Nathalie, VA 24577                                                                                     First Class Mail
Chartered Organization         Huntingdon Animal Clinic                                      West Tennessee Area Council 559                         280 Veterans Dr N                                         Huntingdon, TN 38344‐6204                                                                              First Class Mail
Chartered Organization         Huntington Beach Host Lions Club 2607                         Orange County Council 039                               7070‐F Warner Ave                                         Huntington Beach, CA 92647                                                                             First Class Mail
Chartered Organization         Huntington Beach Masonic Lodge 380                            Orange County Council 039                               601 Palm Ave                                              Huntington Beach, CA 92648‐4656                                                                        First Class Mail
Chartered Organization         Huntington Christian School                                   Orange County Council 039                               9700 Levee Dr                                             Huntington Beach, CA 92646‐6534                                                                        First Class Mail
Voting Party                   Huntington Cold Spring Harbor Umc                             Attn: Barbara Whitlow                                   180 W Neck Rd                                             Huntington, NY 11743                                               umchcsh@optonline.net               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Huntington Congregational Church                              Housatonic Council, Bsa 069                             19 Church St                                              Huntington, CT 06484‐5802                                                                              First Class Mail
Voting Party                   Huntington Congregational Church United                       Attn: Reverend Lucille L. Fritz                         19 Church St                                              Shelton, CT 06484                                                  hcc@snet.net                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Huntington Court Umc ‐ Roanoke                                c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Huntington Court Utd Methodist Church                         Blue Ridge Mtns Council 599                             3333 Williamson Rd Nw                                     Roanoke, VA 24012‐4048                                                                                 First Class Mail
Voting Party                   Huntington First United Methodist Church                      Attn: Charles Hanshaw Trustee                           1124 5th Ave                                              Huntington, WV 25701                                               finance@firstunitedmethodist.com    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Huntington Park Police Dept                                   Greater Los Angeles Area 033                            6542 Miles Ave                                            Huntington Park, CA 90255‐4318                                                                         First Class Mail
Chartered Organization         Huntington Township Fire Dept                                 Simon Kenton Council 441                                6038 Blain Hwy                                            Chillicothe, OH 45601‐9044                                                                             First Class Mail
Voting Party                   Huntington United Methodist Church                            338 Walnut Tree Hill Rd                                 Shelton, CT 06484                                                                                                            office@huntingtonumc.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Huntington United Methodist Church                            Attn: Financial Secretary Huntington United Methodist   P.O. Box 890                                              Huntington, TX 75980                                               huntingtonumc@windstream.net        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Huntington Woods Mens Club                                    Great Lakes Fsc 272                                     10514 Borgman Ave                                         Huntington Woods, MI 48070‐1147                                                                        First Class Mail
Voting Party                   Huntingtown United Methodist Church                           4020 Hunting Church Creek Rd                            Huntingtown, MD 20639                                                                                                        rcsteuart@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Huntingtown Utd Methodist Church                              National Capital Area Council 082                       4020 Hunting Creek Rd                                     Huntingtown, MD 20639‐9114                                                                             First Class Mail
Chartered Organization         Huntingtown Utd Methodist Church                              National Capital Area Council 082                       4020 Hunting Creek Rd                                     Huntingtown, MD 20639‐9114                                                                             First Class Mail
Chartered Organization         Huntley Police Dept                                           Blackhawk Area 660                                      10911 Main St                                             Huntley, IL 60142‐7394                                                                                 First Class Mail
Chartered Organization         Huntly Memorial Baptist Church                                Lasalle Council 165                                     1139 Huntly Rd                                            Niles, MI 49120‐3992                                                                                   First Class Mail
Voting Party                   Hunt's Memorial United Methodist Church                       Attn: Linda Keatts                                      1912 Old Court Rd                                         Towson, MD 21204                                                   linda@huntsumc.org                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Huntsville First United Methodist                             Attn: Sr Pastor Glenn Conner                            120 Greene St                                             Huntsville, AL 35801                                               glenn@huntsvillefirst.org           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Huntsville Hospital                                           Attn: Burr Ingram                                       101 Sivley Rd Sw                                          Huntsville, AL 35801‐4421                                                                              First Class Mail
Chartered Organization         Huntsville Kiwanis Club                                       Sam Houston Area Council 576                            P.O. Box 623                                              Huntsville, TX 77342‐0623                                                                              First Class Mail
Voting Party                   Huntsville United Methodist Church                            c/o Pam Villines                                        P.O. Box 1257                                             Huntsville, AR 72740                                               huntsville@arumc.org                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Hunyadi Matyas Scout Troop 19                                 Pathway To Adventure 456                                800 E Palatine Rd                                         Palatine, IL 60074‐5550                                                                                First Class Mail
Chartered Organization         Hurd‐Welch American Legion Post 90                            Daniel Webster Council, Bsa 330                         P.O. Box 448                                              Raymond, NH 03077‐0448                                                                                 First Class Mail
Chartered Organization         Hurlburt Field Top 3                                          Gulf Coast Council 773                                  Usaf Eos/ Det 1 (Top 3 Rep)                               Hurlburt Field, FL 32544                                                                               First Class Mail
Chartered Organization         Hurley Lions Club                                             Rip Van Winkle Council 405                              P.O. Box 261                                              Hurley, NY 12443‐0261                                                                                  First Class Mail
Firm                           Hurley McKenna & Mertz, PC                                    Attn: Christopher T Hurley & Evan M Smola               33 N. Dearborn St. Ste 1430                               Chicago, IL 60602                                                  esmola@hurley‐law.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Firm                           Hurley McKenna & Mertz, PC                                    Attn: Christopher T Hurley & Evan M Smola               33 N. Dearborn St. Ste 1430                               Chicago, IL 60603                                                  esmola@hurley‐law.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Hurleyville Umc                                               Attn: Jorge Lopez                                       445 Broadway                                              Monticello, NY 12701                                               jorge.lopez@nyac‐umc.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Hurleyville United Methodist Church                           Attn: Treasurer                                         P.O. Box 64                                               Hurleyville, NY 12747                                              marasa1@aol.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Huron Chapter 27 Royal Arch Masons                            Water and Woods Council 782                             327 6th St                                                Port Huron, MI 48060                                                                                   First Class Mail
Chartered Organization         Huron County Sheriff Dept                                     Water and Woods Council 782                             120 S Heisterman St                                       Bad Axe, MI 48413‐1311                                                                                 First Class Mail
Chartered Organization         Huron Crew Grand Lodge Of Masons                              Northern Star Council 250                               11501 Masonic Home Dr                                     Bloomington, MN 55437‐3661                                                                             First Class Mail
Chartered Organization         Huron Park Parents Club                                       Great Lakes Fsc 272                                     18530 Marquette St                                        Roseville, MI 48066‐3550                                                                               First Class Mail
Chartered Organization         Huron Township Rotary Club                                    Great Lakes Fsc 272                                     P.O. Box 289                                              New Boston, MI 48164‐0289                                                                              First Class Mail
Chartered Organization         Hurricane Baptist Church                                      Lincoln Heritage Council 205                            4177 Hurricane Rd                                         Cadiz, KY 42211‐8901                                                                                   First Class Mail
Chartered Organization         Hurst Christian Church                                        Longhorn Council 662                                    745 Brown Trl                                             Hurst, TX 76053‐5766                                                                                   First Class Mail
Chartered Organization         Hurst Collins Post 281 American Legion                        Crossroads of America 160                               501 S Main St                                             Cloverdale, IN 46120‐8650                                                                              First Class Mail
Chartered Organization         Hurstbourne Christian Church                                  Lincoln Heritage Council 205                            601 Nottingham Pkwy                                       Louisville, KY 40222‐5077                                                                              First Class Mail
Chartered Organization         Hussey Gay Bell & Deyoung                                     Coastal Georgia Council 099                             329 Commercial Dr                                         Savannah, GA 31406‐3630                                                                                First Class Mail
Chartered Organization         Hussey Seating Co                                             Pine Tree Council 218                                   38 Dyer St Ext                                            North Berwick, ME 03906‐6763                                                                           First Class Mail
Chartered Organization         Hustisford Lions Club                                         Bay‐Lakes Council 635                                   249 S Hustis St                                           Hustisford, WI 53034‐9792                                                                              First Class Mail
Chartered Organization         Hutchens Elementary Pta                                       Mobile Area Council‐Bsa 004                             10005 W Lake Rd                                           Mobile, AL 36695‐8242                                                                                  First Class Mail
Chartered Organization         Hutchinson Elementary School Wiu                              Westmoreland Fayette 512                                810 Welty St                                              Greensburg, PA 15601‐4116                                                                              First Class Mail
Chartered Organization         Hutchinson Howe Parent Teacher Org                            Great Lakes Fsc 272                                     2600 Garland St                                           Detroit, MI 48214‐4037                                                                                 First Class Mail
Chartered Organization         Hutchinson Lions Club                                         Northern Star Council 250                               171 Elk Dr Se                                             Hutchinson, MN 55350‐3293                                                                              First Class Mail
Voting Party                   Hutto                                                         c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Hutto Fire Rescue                                             Capitol Area Council 564                                501 Exchange Blvd                                         Hutto, TX 78634‐5720                                                                                   First Class Mail
Chartered Organization         Hutto Lutheran Church                                         Capitol Area Council 564                                P.O. Box 279                                              Hutto, TX 78634‐0279                                                                                   First Class Mail
Chartered Organization         Hutto Police Law Enforcement                                  Capitol Area Council 564                                401 W Front St                                            Hutto, TX 78634‐4203                                                                                   First Class Mail
Chartered Organization         Hutto Utd Methodist Church                                    Capitol Area Council 564                                350 Ed Schmidt Blvd                                       Hutto, TX 78634                                                                                        First Class Mail
Chartered Organization         Hutton Elementary                                             Inland Nwest Council 611                                908 E 24th Ave                                            Spokane, WA 99203‐3376                                                                                 First Class Mail
Chartered Organization         Hy Noon Kiwanis Club                                          Mid‐America Council 326                                 P.O. Box 1005                                             Storm Lake, IA 50588‐1005                                                                              First Class Mail
Chartered Organization         Hyalite School                                                Montana Council 315                                     3600 W Babcock St                                         Bozeman, MT 59718‐2801                                                                                 First Class Mail
Voting Party                   Hyatt Regency Dallas                                          Attn: Mikhail Thomas                                    300 Reunion Blvd                                          Dallas, TX 75207                                                   mikhail.thomas@hyatt.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Hyattstown United Methodist Church                            Attn: Treasurer                                         10503 Brenda Ave                                          Ijamsville, MD 21754                                               revdwhodsdon@verizon.net            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Hyattstown United Methodist Church                            Attn: Rev David William Hodsdon                         26121 Frederick Rd                                        Hyattstown, MD 20871                                               revdwhodsdon@verizon.net            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Hyde Park Baptist Church, A Texas Nonprofit Corporation       Attn: Walter W Cardwell Iv                              100 Congress Ave, Ste 1300                                Austin, TX 78701                                                   wcardwell@abaustin.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Hyde Park Baptist School Inc                                  Capitol Area Council 564                                3901 Speedway                                             Austin, TX 78751‐4625                                                                                  First Class Mail
Voting Party                   Hyde Park Baptist School, Inc A Texas Nonprofit Corporation   Attn: Walter Wilcox Cardwell Iv                         100 Congress Ave, Ste 1300                                Austin, TX 78701                                                   wcardwell@abaustin.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Hyde Park Christian Church                                    Capitol Area Council 564                                610 E 45th St                                             Austin, TX 78751‐3203                                                                                  First Class Mail
Chartered Organization         Hyde Park Commty                                              United Methodist Church                                 1345 Grace Ave                                            Cincinnati, OH 45208‐2427                                                                              First Class Mail
Voting Party                   Hyde Park Community United Methodist Church                   Attn: Rev. Douglas Johns                                1345 Grace Ave                                            Cincinnati, OH 45208                                               djohns@hpcumc.org                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Hyde Park United Methodist ‐ Tampa                            c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Hyde Park Utd Methodist Church                                Hudson Valley Council 374                               1 Church St                                               Hyde Park, NY 12538‐1601                                                                               First Class Mail
Chartered Organization         Hyde Park Utd Methodist Church                                Greater Tampa Bay Area 089                              500 W Platt St                                            Tampa, FL 33606‐2246                                                                                   First Class Mail
Voting Party                   Hyde Wesleyan Church                                          Attn: Stevan Sheets                                     1215 Riverview Rd                                         Clearfield, PA 16830                                               pastorstevan@gmail.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Hydetown Baptist Church                                       French Creek Council 532                                12749 Main St                                             Hydetown, PA 16328‐2807                                                                                First Class Mail
Voting Party                   Hydrapak Llc                                                  6605 San Leandro St                                     Oakland, CA 94621‐3317                                                                                                                                           First Class Mail
Chartered Organization         Hyes Pto                                                      Connecticut Yankee Council Bsa 072                      415 Church St                                             Wallingford, CT 06492‐2209                                                                             First Class Mail
Voting Party                   Hyg Financial Services Inc                                    P.O. Box 14545                                          Des Moines, IA 50306‐3545                                                                                                                                        First Class Mail
Voting Party                   Hyg Financial Services, Inc                                   Attn: Kimberly Park                                     1010 Thomas Edison Blvd SW                                Cedar Rapids, IA 52404                                             Kimberly.M.Park@wellsfargo.com      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Hyg Financial Services, Inc                                   P.O. Box 14545                                          Des Moines, IA 50306                                                                                                                                             First Class Mail
Chartered Organization         Hygiene Utd Methodist Church                                  Longs Peak Council 062                                  P.O. Box 76                                               Hygiene, CO 80533‐0076                                                                                 First Class Mail
Chartered Organization         Hylc Buhach                                                   Greater Yosemite Council 059                            1314 H St                                                 Modesto, CA 95354‐2428                                                                                 First Class Mail
Chartered Organization         Hylc Delhi                                                    Greater Yosemite Council 059                            1314 H St                                                 Modesto, CA 95354‐2428                                                                                 First Class Mail
Chartered Organization         Hylc Gregori                                                  Greater Yosemite Council 059                            1314 H St                                                 Modesto, CA 95354‐2428                                                                                 First Class Mail
Chartered Organization         Hylc Hughson                                                  Greater Yosemite Council 059                            2625 Coffee Rd, Ste F                                     Modesto, CA 95355‐2050                                                                                 First Class Mail
Chartered Organization         Hylc Johansen                                                 Greater Yosemite Council 059                            1314 H St                                                 Modesto, CA 95354‐2428                                                                                 First Class Mail
Chartered Organization         Hylc Lathrop                                                  Greater Yosemite Council 059                            1314 H St                                                 Modesto, CA 95354‐2428                                                                                 First Class Mail
Chartered Organization         Hylc Manteca                                                  Greater Yosemite Council 059                            1314 H St                                                 Modesto, CA 95354‐2428                                                                                 First Class Mail
Chartered Organization         Hylc Orestimba                                                Greater Yosemite Council 059                            1314 H St                                                 Modesto, CA 95354‐2428                                                                                 First Class Mail
Chartered Organization         Hylc Pitman                                                   Greater Yosemite Council 059                            134 H St                                                  Modesto, CA 95351                                                                                      First Class Mail
Chartered Organization         Hylc Riverbank                                                Greater Yosemite Council 059                            1314 H St                                                 Modesto, CA 95354‐2428                                                                                 First Class Mail
Chartered Organization         Hylc Ross                                                     Greater Yosemite Council 059                            1314 H St                                                 Modesto, CA 95354‐2428                                                                                 First Class Mail
Chartered Organization         Hylc Sierra                                                   Greater Yosemite Council 059                            1314 H St                                                 Modesto, CA 95354‐2428                                                                                 First Class Mail
Chartered Organization         Hylc Turlock                                                  Greater Yosemite Council 059                            4720 Alyssa Ave                                           Salida, CA 95368‐9105                                                                                  First Class Mail
Chartered Organization         Hylc Vanguard                                                 Greater Yosemite Council 059                            1314 H St                                                 Modesto, CA 95354‐2428                                                                                 First Class Mail
Chartered Organization         Hyndman Londonderry Lions Club                                Laurel Highlands Council 527                            3636 Hyndman Rd                                           Hyndman, PA 15545‐8039                                                                                 First Class Mail
Chartered Organization         Hyndman‐Londonderry Lions Club                                Laurel Highlands Council 527                            P.O. Box 136                                              Hyndman, PA 15545‐0136                                                                                 First Class Mail
Voting Party                   Hyung‐Kyu Yi                                                  36 Central St                                           St Johnsbury, VT 05819                                                                                                                                           First Class Mail
Chartered Organization         I J Lietemeyer Vfw Post 1982                                  Evangeline Area 212                                     P.O. Box 10623                                            New Iberia, LA 70562‐0623                                                                              First Class Mail
Chartered Organization         I Need It Now Trophies                                        East Carolina Council 426                               1108 Gum Branch Rd                                        Jacksonville, NC 28540‐5743                                                                            First Class Mail
Chartered Organization         I.O.O.B                                                       Allegheny Highlands Council 382                         16 Park Sq                                                Franklinville, NY 14737‐1124                                                                           First Class Mail
Chartered Organization         I.O.O.F                                                       W D Boyce 138                                           103 N Main St                                             Le Roy, IL 61752‐1432                                                                                  First Class Mail
Chartered Organization         I.O.R.M. Tarratine Tribe 13                                   Katahdin Area Council 216                               135 Main St                                               Belfast, ME 04915                                                                                      First Class Mail
Chartered Organization         Ia Impresos Alejandro                                         Puerto Rico Council 661                                 425 Santana                                               Arecibo, PR 00612‐6702                                                                                 First Class Mail
Chartered Organization         Iam Rock River Lodge 2053                                     Bay‐Lakes Council 635                                   W3032 State Rd 33                                         Iron Ridge, WI 53035                                                                                   First Class Mail
Chartered Organization         Iasis Christian Ctr                                           Quivira Council, Bsa 198                                1914 E 11th St N                                          Wichita, KS 67214‐2630                                                                                 First Class Mail
Chartered Organization         Ibc Engineering                                               Seneca Waterways 397                                    3445 Winton Pl, Ste 219                                   Rochester, NY 14623‐2950                                                                               First Class Mail
Chartered Organization         Iberia Utd Methodist Church                                   Buckeye Council 436                                     P.O. Box 148                                              Iberia, OH 43325‐0148                                                                                  First Class Mail
Chartered Organization         Ibew Local No. 5                                              Laurel Highlands Council 527                            5 Hot Metal St                                            Pittsburgh, PA 15203‐2350                                                                              First Class Mail
Voting Party                   Ibm Corp                                                      c/o Pnc Bank                                            Attn: P.O. Box Ibm No 643600                              500 1st Ave                       Pittsburgh, PA 15219                                                 First Class Mail
Voting Party                   IBM Corporation                                               Attn: Rodrigo Alonso Rodriquez Gonzalez                 2200 Camino A El Castillo                                 El Salto, Ja 45680                Mexico                           alonsorg@mx1.ibm.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ibps‐Hsi Lai Scouts                                           Greater Los Angeles Area 033                            3456 Glenmark Dr                                          Hacienda Heights, CA 91745‐6445                                                                        First Class Mail
Chartered Organization         Ibraham Elementary                                            Old Hickory Council 427                                 5036 Old Walkertown Rd                                    Winston Salem, NC 27105‐2042                                                                           First Class Mail
Chartered Organization         Icdc Bella Vista Cana                                         Puerto Rico Council 661                                 P.O. Box 4104                                             Bayamon, PR 00958‐1104                                                                                 First Class Mail
Chartered Organization         Ice Dreams Ice Cream And Coffee Shop                          Chattahoochee Council 091                               808 Hwy 165                                               Fort Mitchell, AL 36856‐4424                                                                           First Class Mail
Chartered Organization         Icebreaker Mackinaw Museum                                    President Gerald R Ford 781                             P.O. Box 39                                               Mackinaw City, MI 49701‐0039                                                                           First Class Mail
Chartered Organization         Ice‐Hsi                                                       Puerto Rico Council 661                                 800 Ave Ponce De Leon                                     San Juan, PR 00908‐8001                                                                                First Class Mail
Chartered Organization         Ico‐Pto                                                       Greater St Louis Area Council 312                       6208 US Hwy 61 67                                         Imperial, MO 63052‐2311                                                                                First Class Mail
Chartered Organization         Ida A Weller School Pto                                       Miami Valley Council, Bsa 444                           9600 Sheehan Rd                                           Centerville, OH 45458‐4110                                                                             First Class Mail
Chartered Organization         Ida B. Well Elementary School                                 Middle Tennessee Council 560                            244 Foster St                                             Nashville, TN 37207‐5908                                                                               First Class Mail
Chartered Organization         Ida Civic Club & American Legion                              Southern Shores Fsc 783                                 P.O. Box 27                                               Ida, MI 48140‐0027                                                                                     First Class Mail
Chartered Organization         Ida Freeman Elementary School                                 Last Frontier Council 480                               501 W Hurd St                                             Edmond, OK 73003‐5314                                                                                  First Class Mail
Chartered Organization         Idaho Falls Fire Dept 1565                                    Grand Teton Council 107                                 P.O. Box 50220                                            Idaho Falls, ID 83405‐0220                                                                             First Class Mail
Firm                           Idaho Legal Justice and Babin Law LLC                         Sam Bishop/Steven C. Babin, Esq.                        7253 W. Franlin Rd                                        Boise, ID 83709                                                    sam@idaholegaljustice.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Idaho Springs Elks Lodge 607                                  Denver Area Council 061                                 P.O. Box 607                                              Idaho Springs, CO 80452‐0607                                                                           First Class Mail
Chartered Organization         Idea Ewing Halsell                                            Alamo Area Council 583                                  2523 W Ansley Blvd                                        San Antonio, TX 78224‐2036                                                                             First Class Mail
Chartered Organization         Idea Logistics                                                South Texas Council 577                                 4204 Trade Center Blvd                                    Laredo, TX 78045‐7939                                                                                  First Class Mail
Chartered Organization         Idea Public Charter School                                    National Capital Area Council 082                       1027 45th St Ne                                           Washington, DC 20019‐3802                                                                              First Class Mail
Chartered Organization         Idea Walzem Academy                                           Alamo Area Council 583                                  6445 Walzem Rd                                            San Antonio, TX 78239‐3531                                                                             First Class Mail
Voting Party                   Identisys                                                     c/o Fair Harbor Capital LLC                             Attn: Victor Knox                                         P.O. Box 237037                   New York, NY 10023               vknox@fairharborcapital.com         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Idlewild Elementary Pta                                       Pacific Harbors Council, Bsa 612                        8417 101st St Ct Sw                                       Lakewood, WA 98498‐3876                                                                                First Class Mail
Voting Party                   Idlewild Presbyterian Church                                  Attn: Josh B Lawhead                                    130 N Court Ave                                           Memphis, TN 38103                                                  jlawhead@bpjlaw.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Idlewylde United Methodist Church                             Attn: Rodger Henning                                    1000 Regester Ave                                         Idlewylde, MD 21239                                                pastornickbufano@gmail.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Ieonia United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ighl                                                          Suffolk County Council Inc 404                          221 N Sunrise Service Rd                                  Manorville, NY 11949‐9604                                                                              First Class Mail
Chartered Organization         Igl Carismatica Liberados Por Cristo                          Puerto Rico Council 661                                 Hc 2 Box 7892                                             Camuy, PR 00627‐8930                                                                                   First Class Mail
Chartered Organization         Iglesia Bautista De Carolina                                  Puerto Rico Council 661                                 203 Calle Ignacio Arzuaga W 7                             Carolina, PR 00985‐6238                                                                                First Class Mail
Chartered Organization         Iglesia Bautista De Palmer                                    Puerto Rico Council 661                                 P.O. Box 168                                              Palmer, PR 00721‐0168                                                                                  First Class Mail
Chartered Organization         Iglesia Catolica La Monserrate                                Puerto Rico Council 661                                 Apartado 435                                              Moca, PR 00676                                                                                         First Class Mail
Chartered Organization         Iglesia Ciudad Para Las Naciones                              Puerto Rico Council 661                                 Hc04 Box 9484                                             Quebradillas, PR 00678                                                                                 First Class Mail
Chartered Organization         Iglesia Cristiana De Aguadilla Inc                            Puerto Rico Council 661                                 Hc 4 Box 47171                                            Aguadilla, PR 00603‐9702                                                                               First Class Mail
Chartered Organization         Iglesia Cristiana Vision Vida                                 South Texas Council 577                                 1301 Espejo Molina Rd                                     Rio Bravo, TX 78046                                                                                    First Class Mail
Chartered Organization         Iglesia De Dios Mission Board                                 Puerto Rico Council 661                                 Rr 2 Box 6115                                             Manati, PR 00674‐9604                                                                                  First Class Mail
Chartered Organization         Iglesia De Jesuscristo De Los Santos                          Rainbow Council 702                                     655 Springfield Ave                                       Joliet, IL 60435‐5446                                                                                  First Class Mail
Chartered Organization         Iglesia Del Dios Vivo Cristo Viene                            Rio Grande Council 775                                  P.O. Box 1747                                             Weslaco, TX 78599‐1747                                                                                 First Class Mail
Voting Party                   Iglesia Evangelica Metodista Unida De Coop City               Attn: Helen J Ashe / Treasurer                          2350 Palmer Ave                                           Bronx, NY 10475                                                    coopcityevangelicalumc@gmail.com    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Iglesia Jesucristo Santos Ultimos Dias                        Puerto Rico Council 661                                 123 Calle Ronda                                           San Juan, PR 00926‐2352                                                                                First Class Mail
Chartered Organization         Iglesia Luterana Misionera                                    Puerto Rico Council 661                                 P.O. Box 9024118                                          San Juan, PR 00902‐4118                                                                                First Class Mail
Chartered Organization         Iglesia Mas Que Vencedores                                    Alamo Area Council 583                                  824 Sams Dr                                               San Antonio, TX 78221‐3631                                                                             First Class Mail
Voting Party                   Iglesia Metodista La Trinidad                                 Attn: Alfredo Ramirez                                   1915 Flores Ave                                           Laredo, TX 78040                                                   archb88@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Iglesia Metodista La Trinidad                                 P.O. Box 1477                                           2015 Mcclelland Ave                                       Laredo, TX 78042                                                   archb88@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Iglesia Pentecostal El Sendero De La Luz                      Attn: Rev Migdalia Gutierrez                            1404 Putnam Ave 3L                                        Brooklyn, NY 11237                                                 instdalia@aol.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Iglesia Puerta Del Cielo                                      East Texas Area Council 585                             1900 Bellwood Rd                                          Tyler, TX 75701‐1252                                                                                   First Class Mail
Voting Party                   Iglesia San Andres (Yonkers Ny)                               Attn: Priest In Charge & Rev Richard Suerito            22 Post St                                                Yonkers, NY 10705                                                  sanandrsyonkers@gmail.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Iglesia San Miguel                                            Longhorn Council 662                                    3605 Fairfax Ave                                          Fort Worth, TX 76119‐4945                                                                              First Class Mail
Chartered Organization         Ignite Achievement Academy As                                 Crossroads of America 160                               1002 W 25th St                                            Indianapolis, IN 46208‐5330                                                                            First Class Mail
Chartered Organization         Ignite Church                                                 Sam Houston Area Council 576                            900 Nichols Ave                                           Bay City, TX 77414‐3625                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                            Page 166 of 442
                                                                                    Case 20-10343-LSS                                                               Doc 8171                                            Filed 01/06/22                                                     Page 182 of 457
                                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                                            Service List
                                                                                                                                                                                                     Served as set forth below

        Description                                                          Name                                                                                                                        Address                                                                                                                Email              Method of Service
Chartered Organization         Ihm Catholic Church                                                                Great Swest Council 412                     3700 Canyon Rd                                                   Los Alamos, NM 87544‐2213                                                                                First Class Mail
Chartered Organization         Iida Ny Rochester City Center                                                      Seneca Waterways 397                        205 Saint Paul St                                                Rochester, NY 14604‐1187                                                                                 First Class Mail
Voting Party                   Iidon Inc                                                                          P.O. Box 973091                             Dallas, TX 75397‐3091                                                                                                                                                     First Class Mail
Chartered Organization         Ilead Spring Meadows                                                               Erie Shores Council 460                     1615 Timber Wolf Dr                                              Holland, OH 43528‐8304                                                                                   First Class Mail
Chartered Organization         Illinois Aviation Academy                                                          Three Fires Council 127                     32W751 Tower Rd                                                  West Chicago, IL 60185                                                                                   First Class Mail
Chartered Organization         Illinois Center Rehab And Education                                                Pathway To Adventure 456                    1950 W Roosevelt Rd                                              Chicago, IL 60608‐1245                                                                                   First Class Mail
Chartered Organization         Illinois Dept Transportation, Distr 6                                              Abraham Lincoln Council 144                 126 E Ash St                                                     Springfield, IL 62704‐4766                                                                               First Class Mail
Voting Party                   Illinois Great Rivers Conference Of The Umc                                        Attn: Mattheis Scott Lorior                 201 Chestnut St                                                  P.O. Box 164                       Leroy, IL 61752                    mlorimor@leroyumc.org              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Illinois Sch For The Visually                                                      Impaired Parents Org                        658 E State St                                                   Jacksonville, IL 62650‐2130                                                                              First Class Mail
Chartered Organization         Illinois State Police                                                              Greater St Louis Area Council 312           1100 Eastport Plaza Dr                                           Collinsville, IL 62234‐6102                                                                              First Class Mail
Voting Party                   Illinois Union Insurance Company                                                   c/o Duane Morris LLP                        Attn: Wendy M Simkulak                                           30 S 17th St                       Philadelphia, PA 19103             WMSimkulak@duanemorris.com         Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Illinois Union Insurance Company                                                   c/o Duane Morris LLP                        Attn: Wendy M. Simkulak                                          30 S 17th St                       Philadelphia, PA 19103             WMSimkulak@duanemorris.com         Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Illinois Valley Fire District                                                      Crater Lake Council 491                     681 Caves Hwy                                                    Cave Junction, OR 97523‐9820                                                                             First Class Mail
Chartered Organization         Illinois Vly Chamber Commerce (Ivac)                                               W D Boyce 138                               1320 Peoria St                                                   Peru, IL 61354‐2262                                                                                      First Class Mail
Voting Party                   Illowa Council 133                                                                 Attn: Jeffrey A Doty                        4412 N Brady St                                                  Davenport, IA 52806                                                   tolt@l‐wlaw.com                    Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Ilm Academy                                                                        San Francisco Bay Area Council 028          42412 Albrae St                                                  Fremont, CA 94538‐3395                                                                                   First Class Mail
Chartered Organization         Imaam Inc                                                                          National Capital Area Council 082           9100 Georgia Ave                                                 Silver Spring, MD 20910‐2248                                                                             First Class Mail
Chartered Organization         Imaculate Conception Church                                                        Baden‐Powell Council 368                    1180 State Hwy 206                                               Greene, NY 13778‐2113                                                                                    First Class Mail
Voting Party                   Imagenet Consulting Llc                                                            913 N Broadway Ave                          Oklahoma City, OK 73102‐5810                                                                                                                                              First Class Mail
Chartered Organization         Imagine Columbus Primary Academy Pto                                               Simon Kenton Council 441                    4656 Heaton Rd                                                   Columbus, OH 43229‐6612                                                                                  First Class Mail
Chartered Organization         Imagine Hill Avenue Environmental School                                           Erie Shores Council 460                     6145 Hill Ave                                                    Toledo, OH 43615‐5600                                                                                    First Class Mail
Chartered Organization         Imagine Me Leadership Charter School Sr                                            Greater New York Councils, Bsa 640          818 Schenck Ave                                                  Brooklyn, NY 11207‐7904                                                                                  First Class Mail
Chartered Organization         Imagine School At Land O Lakes                                                     Greater Tampa Bay Area 089                  2940 Sunlake Blvd                                                Land O Lakes, FL 34638‐0001                                                                              First Class Mail
Chartered Organization         Imagine Schools At Rosefield                                                       Grand Canyon Council 010                    12050 N Bullard Ave                                              Surprise, AZ 85379‐6325                                                                                  First Class Mail
Voting Party                   Imaging Spectrum Inc                                                               1101 Summit Ave                             Plano, TX 75074‐8507                                                                                                                                                      First Class Mail
Chartered Organization         Imani Family Center                                                                Dan Beard Council, Bsa 438                  45 Mulberry St                                                   Cincinnati, OH 45202‐8922                                                                                First Class Mail
Chartered Organization         Imani Family Center                                                                Dan Beard Council, Bsa 438                  3716 Woodford Rd                                                 Cincinnati, OH 45213‐2270                                                                                First Class Mail
Chartered Organization         Imani Utd Church Of Christ                                                         Lake Erie Council 440                       1505 E 260th St                                                  Euclid, OH 44132‐3109                                                                                    First Class Mail
Chartered Organization         Imitators Of God Ministries                                                        Suwannee River Area Council 664             4750 Capital Cir Se                                              Tallahassee, FL 32311‐7837                                                                               First Class Mail
Chartered Organization         Imler Area Volunteer Fire Hall                                                     Laurel Highlands Council 527                996 Mowerys Mills Rd                                             Imler, PA 16655                                                                                          First Class Mail
Voting Party                   Immaculata Hs                                                                      Attn: Andre L Kydala                        54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         Immaculate & Lady Lourdes Mens Club                                                Owensboro                                   2516 Christie Pl                                                 Owensboro, KY 42301‐4925                                                                                 First Class Mail
Chartered Organization         Immaculate Conception                                                              Mid‐America Council 326                     1212 Morningside Ave                                             Sioux City, IA 51106‐1707                                                                                First Class Mail
Voting Party                   Immaculate Conception                                                              Attn: Andre L Kydala                        54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         Immaculate Conception Bvm Church                                                   Cradle of Liberty Council 525               602 West Ave                                                     Jenkintown, PA 19046‐2708                                                                                First Class Mail
Chartered Organization         Immaculate Conception Cathdral Sch                                                 Calcasieu Area Council 209                  1536 Ryan St                                                     Lake Charles, LA 70601‐5921                                                                              First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Winnebago Council, Bsa 173                  106 Chapel Ln                                                    Charles City, IA 50616‐2810                                                                              First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Middle Tennessee Council 560                709 Franklin St                                                  Clarksville, TN 37040‐3347                                                                               First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Simon Kenton Council 441                    414 E North Broadway St                                          Columbus, OH 43214‐4114                                                                                  First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Greater St Louis Area Council 312           7701 Hwy N                                                       Dardenne Prairie, MO 63368‐6728                                                                          First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Istrouma Area Council 211                   P.O. Box 1609                                                    Denham Springs, LA 70727‐1609                                                                            First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Longhorn Council 662                        2255 N Bonnie St                                                 Denton, TX 76207                                                                                         First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Occoneechee 421                             901 W Chapel Hill St, Ste A                                      Durham, NC 27701‐3077                                                                                    First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Three Fires Council 127                     134 W Arthur St                                                  Elmhurst, IL 60126‐3325                                                                                  First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Coastal Carolina Council 550                510 Saint James Ave                                              Goose Creek, SC 29445‐2793                                                                               First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Three Rivers Council 578                    6248 Washington St                                               Groves, TX 77619‐5351                                                                                    First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Southeast Louisiana Council 214             4401 7th St                                                      Marrero, LA 70072‐2007                                                                                   First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Anthony Wayne Area 157                      506 E Walnut St                                                  Portland, IN 47371‐1524                                                                                  First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Bay‐Lakes Council 635                       2722 Henry St                                                    Sheboygan, WI 53081‐6720                                                                                 First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Ozark Trails Council 306                    3555 S Fremont Ave                                               Springfield, MO 65804‐4237                                                                               First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Silicon Valley Monterey Bay 055             7290 Airline Hwy                                                 Tres Pinos, CA 93924                                                                                     First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Greater St Louis Area Council 312           100 N Washington Ave                                             Union, MO 63084‐1671                                                                                     First Class Mail
Chartered Organization         Immaculate Conception Catholic Church                                              Narragansett 546                            P.O. Box 556                                                     Westerly, RI 02891‐0556                                                                                  First Class Mail
Voting Party                   Immaculate Conception Catholic Church, Millhousen, Inc.                            Attn: John S Mercer                         1400 N Meridian St                                               Indianapolis, IN 46202                                                jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Immaculate Conception Catholic H & S                                               Northern Star Council 250                   4030 Jackson St Ne                                               Columbia Heights, MN 55421‐2929                                                                          First Class Mail
Chartered Organization         Immaculate Conception Catholic Parish                                              Grand Canyon Council 010                    700 N Bill Gray Rd                                               Cottonwood, AZ 86326‐5518                                                                                First Class Mail
Chartered Organization         Immaculate Conception Ch Kc Council 3537                                           Middle Tennessee Council 560                709 Franklin St                                                  Clarksville, TN 37040‐3347                                                                               First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Miami Valley Council, Bsa 444               116 N Mill St                                                    Botkins, OH 45306‐8027                                                                                   First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Black Swamp Area Council 449                229 W Anthony St                                                 Celina, OH 45822‐1608                                                                                    First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Mountaineer Area 615                        126 E Pike St                                                    Clarksburg, WV 26301‐2155                                                                                First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Del Mar Va 081                              455 Bow St                                                       Elkton, MD 21921‐5476                                                                                    First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Mount Baker Council, Bsa 606                2619 Cedar St                                                    Everett, WA 98201‐3137                                                                                   First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Westark Area Council 016                    22 N 13th St                                                     Fort Smith, AR 72901‐2744                                                                                First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Great Lakes Fsc 272                         9792 Dixie Hwy                                                   Ira, MI 48023                                                                                            First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Aloha Council, Bsa 104                      P.O. Box 3209                                                    Lihue, HI 96766‐6209                                                                                     First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Attn: Brendan Conboy                        17 Washington Ct                                                 Marlborough, MA 01752‐2201                                                                               First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Greater Los Angeles Area 033                726 S Shamrock Ave                                               Monrovia, CA 91016‐3653                                                                                  First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Daniel Webster Council, Bsa 330             216 E Dunstable Rd                                               Nashua, NH 03062‐2344                                                                                    First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Greater New York Councils, Bsa 640          414 E 14th St                                                    New York, NY 10009‐3443                                                                                  First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Mayflower Council 251                       193 Main St                                                      North Easton, MA 02356‐1408                                                                              First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Black Swamp Area Council 449                P.O. Box 296                                                     Ottoville, OH 45876‐0296                                                                                 First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Hudson Valley Council 374                   26 John St                                                       Stony Point, NY 10980‐1912                                                                               First Class Mail
Chartered Organization         Immaculate Conception Church                                                       Westchester Putnam 388                      53 Winter Hill Rd                                                Tuckahoe, NY 10707‐4311                                                                                  First Class Mail
Voting Party                   Immaculate Conception Church                                                       c/o Archdiocese of Los Angeles              Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                 Los Angeles, CA 90010              legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Immaculate Conception Church Nlr                                                   Quapaw Area Council 018                     7000 John F Kennedy Blvd                                         North Little Rock, AR 72116‐5315                                                                         First Class Mail
Chartered Organization         Immaculate Conception Dardenne                                                     Greater St Louis Area Council 312           7701 Hwy N                                                       Dardenne Prairie, MO 63368‐6728                                                                          First Class Mail
Chartered Organization         Immaculate Conception H N S                                                        Three Harbors Council 636                   1023 E Russell Ave                                               Milwaukee, WI 53207‐1820                                                                                 First Class Mail
Chartered Organization         Immaculate Conception Home & School Assn                                           Great Rivers Council 653                    1206 E Mccarty St                                                Jefferson City, MO 65101‐4829                                                                            First Class Mail
Chartered Organization         Immaculate Conception Parish                                                       Chippewa Valley Council 637                 1712 Highland Ave                                                Eau Claire, WI 54701‐4341                                                                                First Class Mail
Chartered Organization         Immaculate Conception Parish                                                       Greater St Louis Area Council 312           208 S Hope St                                                    Jackson, MO 63755‐2130                                                                                   First Class Mail
Chartered Organization         Immaculate Conception Parish ‐ Arnold                                              Greater St Louis Area Council 312           2300 Church Rd                                                   Arnold, MO 63010‐2110                                                                                    First Class Mail
Chartered Organization         Immaculate Conception Parish And School                                            The Spirit of Adventure 227                 1 Washington St                                                  Newburyport, MA 01950‐2509                                                                               First Class Mail
Chartered Organization         Immaculate Conception Rc Ch                                                        Washington Crossing Council 777             316 Old Allerton Rd                                              Annandale, NJ 08801‐3215                                                                                 First Class Mail
Chartered Organization         Immaculate Conception Rc Ch                                                        Holy Name Society                           520 Oakwood Ave                                                  East Aurora, NY 14052‐2304                                                                               First Class Mail
Chartered Organization         Immaculate Conception Rc Ch                                                        Baltimore Area Council 220                  200 Ware Ave                                                     Towson, MD 21204‐4000                                                                                    First Class Mail
Chartered Organization         Immaculate Conception Rc Ch                                                        Laurel Highlands Council 527                119 W Chestnut St                                                Washington, PA 15301‐4422                                                                                First Class Mail
Chartered Organization         Immaculate Conception Rc Ch                                                        Northeastern Pennsylvania Council 501       605 Luzerne Ave                                                  West Pittston, PA 18643‐1632                                                                             First Class Mail
Voting Party                   Immaculate Conception Rom. Cath. Church Society Of Buffalo                         c/o Woods Oviatt Gilman LLP                 Attn: Timothy P Lyster, Esq                                      1900 Bausch & Lomb Pl              Rochester, NY 14604                tlyster@woodsoviatt.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Immaculate Conception Roman Cath Church                                            Pathway To Adventure 456                    7211 W Talcott Ave                                               Chicago, IL 60631‐3080                                                                                   First Class Mail
Chartered Organization         Immaculate Conception Roman Catholic                                               Twin Rivers Council 364                     400 Saratoga Rd                                                  Scotia, NY 12302‐5223                                                                                    First Class Mail
Chartered Organization         Immaculate Conception Roman Catholic                                               Northern New Jersey Council, Bsa 333        1219 Paterson Plank Rd                                           Secaucus, NJ 07094‐3220                                                                                  First Class Mail
Chartered Organization         Immaculate Conception Roman Catholic Ch                                            Longhouse Council 373                       400 Salt Springs St                                              Fayetteville, NY 13066‐2271                                                                              First Class Mail
Voting Party                   Immaculate Conception Roman Catholic Church                                        c/o Archdiocese of New Orleans              Attn: Susan Zeringue                                             7887 Walmsley Ave                  New Orleans, LA 70125              szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Immaculate Conception Roman Catholic Church Marrero La                             c/o Archdiocese of New Orleans              Attn: Susan Zeringue                                             7887 Walmsley Ave                  New Orleans, LA 70125              szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Immaculate Conception Roman Catholic Church Society Of Buffa                       c/o Woods Oviatt Gilman LLP                 Attn: Timothy P Lyster, Esq                                      1900 Bausch & Lomb Pl              Rochester, NY 14604                tlyster@woodsoviatt.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Immaculate Conception School                                                       Westark Area Council 016                    223 S 14th St                                                    Fort Smith, AR 72901‐3806                                                                                First Class Mail
Voting Party                   Immaculate Conception School                                                       Attn: Andre L Kydala                        54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Voting Party                   Immaculate Conception School Somerville Nj                                         Attn: Andre L Kydala                        54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Voting Party                   Immaculate Conception School Spotswood                                             Attn: Andre L Kydala                        54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Voting Party                   Immaculate Conception Somerville                                                   Attn: Andre L Kydala                        54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Voting Party                   Immaculate Conception Spotswood                                                    Attn: Andre L Kydala                        54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         Immaculate Heart Mary Rc Ch                                                        Great Trail 433                             1905 Portage Trl                                                 Cuyahoga Falls, OH 44223‐1742                                                                            First Class Mail
Chartered Organization         Immaculate Heart Mary Rc Ch                                                        Northern New Jersey Council, Bsa 333        P.O. Box 1385                                                    Wayne, NJ 07474‐1385                                                                                     First Class Mail
Chartered Organization         Immaculate Heart Of Mary                                                           Sam Houston Area Council 576                7539 Ave K                                                       Houston, TX 77012‐1033                                                                                   First Class Mail
Chartered Organization         Immaculate Heart Of Mary                                                           Evangeline Area 212                         800 12th St                                                      Lafayette, LA 70501‐6118                                                                                 First Class Mail
Chartered Organization         Immaculate Heart Of Mary                                                           Greater St Louis Area Council 312           4070 Blow St                                                     Saint Louis, MO 63116‐2775                                                                               First Class Mail
Chartered Organization         Immaculate Heart Of Mary Catholic Church                                           New Birth of Freedom 544                    6084 W Canal Rd                                                  Abbottstown, PA 17301‐8983                                                                               First Class Mail
Chartered Organization         Immaculate Heart Of Mary Catholic Church                                           Atlanta Area Council 092                    2855 Briarcliff Rd Ne                                            Atlanta, GA 30329‐2586                                                                                   First Class Mail
Chartered Organization         Immaculate Heart Of Mary Catholic Church                                           Dan Beard Council, Bsa 438                  7820 Beechmont Ave                                               Cincinnati, OH 45255‐4208                                                                                First Class Mail
Chartered Organization         Immaculate Heart Of Mary Catholic Church                                           Old N State Council 070                     4145 Johnson St                                                  High Point, NC 27265‐9367                                                                                First Class Mail
Chartered Organization         Immaculate Heart Of Mary Catholic Church                                           Denver Area Council 061                     11385 Grant Dr                                                   Northglenn, CO 80233‐3041                                                                                First Class Mail
Chartered Organization         Immaculate Heart Of Mary Catholic Church                                           San Diego Imperial Council 049              537 E St                                                         Ramona, CA 92065‐2443                                                                                    First Class Mail
Chartered Organization         Immaculate Heart Of Mary Catholic Church                                           Orange County Council 039                   1100 S Center St                                                 Santa Ana, CA 92704‐3215                                                                                 First Class Mail
Chartered Organization         Immaculate Heart Of Mary Catholic Church                                           Westchester Putnam 388                      8 Carman Rd                                                      Scarsdale, NY 10583‐5933                                                                                 First Class Mail
Voting Party                   Immaculate Heart Of Mary Catholic Church, Indianapolis, Inc.                       Attn: John S Mercer                         1400 N Meridian St                                               Indianapolis, IN 46202                                                jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Immaculate Heart Of Mary Church                                                    Dan Beard Council, Bsa 438                  5876 Veterans Way                                                Burlington, KY 41005‐8824                                                                                First Class Mail
Chartered Organization         Immaculate Heart Of Mary Church                                                    Western Massachusetts Council 234           256 State St                                                     Granby, MA 01033‐9417                                                                                    First Class Mail
Chartered Organization         Immaculate Heart Of Mary Church                                                    President Gerald R Ford 781                 1935 Plymouth Se                                                 Grand Rapids, MI 49506                                                                                   First Class Mail
Chartered Organization         Immaculate Heart Of Mary Church                                                    Evangeline Area 212                         818 12th St                                                      Lafayette, LA 70501‐6118                                                                                 First Class Mail
Chartered Organization         Immaculate Heart Of Mary Church                                                    Northern New Jersey Council, Bsa 333        580 Ratzer Rd                                                    Wayne, NJ 07470‐4108                                                                                     First Class Mail
Chartered Organization         Immaculate Heart Of Mary Church                                                    Del Mar Va 081                              4701 Weldin Rd                                                   Wilmington, DE 19803‐4827                                                                                First Class Mail
Chartered Organization         Immaculate Heart Of Mary Men'S Club                                                Greater St Louis Area Council 312           4070 Blow St                                                     Saint Louis, MO 63116‐2775                                                                               First Class Mail
Chartered Organization         Immaculate Heart Of Mary Parish                                                    Dan Beard Council, Bsa 438                  5876 Veterans Way                                                Burlington, KY 41005‐8824                                                                                First Class Mail
Chartered Organization         Immaculate Heart Of Mary Parish                                                    Daniel Webster Council, Bsa 330             180 Loudon Rd                                                    Concord, NH 03301‐6028                                                                                   First Class Mail
Chartered Organization         Immaculate Heart Of Mary Parish                                                    Coronado Area Council 192                   513 E 19th St                                                    Hays, KS 67601                                                                                           First Class Mail
Voting Party                   Immaculate Heart Of Mary Parish, Grand Rapids                                      c/o Warner Norcross & Judd LLP              Attn: Elisabeth M Von Eitzen                                     150 Ottawa Ave NW, Ste 1500        Grand Rapids, MI 49503             evoneitzen@wnj.com                 Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Immaculate Heart Of Mary Rc Church                                                 Greater New York Councils, Bsa 640          2805 Fort Hamilton Pkwy                                          Brooklyn, NY 11218‐1705                                                                                  First Class Mail
Chartered Organization         Immaculate Heart Of Mary Rcc                                                       Crossroads of America 160                   5692 Central Ave                                                 Indianapolis, IN 46220‐3012                                                                              First Class Mail
Chartered Organization         Immaculate Heart Of Mary Roman Cath Chur                                           Cradle of Liberty Council 525               814 E Cathedral Rd                                               Philadelphia, PA 19128‐2116                                                                              First Class Mail
Chartered Organization         Immaculate Heart Of Mary Roman Catholic                                            Baltimore Area Council 220                  8501 Loch Raven Blvd                                             Baltimore, MD 21286‐2318                                                                                 First Class Mail
Voting Party                   Immaculate Heart Of Mary, Baynesville, Roman Catholic Congregation, Incorporated   c/o Gallagher Evelius & Jones LLP           Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Immaculate Heart Of Mary, Baynesville,Roman Catholic Congregation Inc              c/o Gallagher Evelius & Jones LLP           Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Immanuael Utd Church Of Christ                                                     Greater St Louis Area Council 312           P.O. Box 187                                                     Wright City, MO 63390‐0187                                                                               First Class Mail
Voting Party                   Immanual Lutheran Church                                                           P.O. Box 888                                Bluefield, WV 24701                                                                                                                    immanuallc@frontier.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Immanual Lutheran Church                                                           Attn: John Ertz                             P.O. Box 888                                                     Bluefield, WV 24701                                                   immanuallc@frontier.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Immanuel Evangelical Lutheran Church                                               707 W Fort St                               Boise, ID 83702                                                                                                                        parishadmin@ilcboise.org           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Immanuel Baptist Church                                                            Tuscarora Council 424                       P.O. Box 52                                                      Clinton, NC 28329‐0052                                                                                   First Class Mail
Chartered Organization         Immanuel Baptist Church                                                            Blue Grass Council 204                      1075 Collins Ln                                                  Frankfort, KY 40601‐4309                                                                                 First Class Mail
Chartered Organization         Immanuel Baptist Church                                                            Middle Tennessee Council 560                214 Castle Heights Ave                                           Lebanon, TN 37087‐3419                                                                                   First Class Mail
Chartered Organization         Immanuel Baptist Church                                                            Blue Grass Council 204                      3100 Tates Creek Rd                                              Lexington, KY 40502‐2955                                                                                 First Class Mail
Chartered Organization         Immanuel Baptist Church                                                            Leatherstocking 400                         9501 Won Rd                                                      New Hartford, NY 13413                                                                                   First Class Mail
Voting Party                   Immanuel Baptist Church                                                            c/o Sturgill Turner Barker & Moloney Pllc   Attn: Kevin Henry                                                333 W Vine St, Ste 1500            Lexington, KY 40507                khenry@sturgillturner.com          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Immanuel Baptist Church                                                            3100 Tates Creek Rd                         Lexington, KY 40502                                                                                                                                                       First Class Mail
Voting Party                   Immanuel Church (Bellows Falls)                                                    c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                            159 Main St                        Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Immanuel Church Highlands                                                          Attn: Laura Thomas Hay, Esq                 2400 W Seventeenth St                                            Wilmington, DE 19806                                                  lathay614@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Immanuel Episcopal Church                                                          Heart of Virginia Council 602               3263 Old Church Rd                                               Mechanicsville, VA 23111‐6224                                                                            First Class Mail
Chartered Organization         Immanuel Episcopal Church                                                          Baltimore Area Council 220                  1509 Glencoe Rd                                                  Sparks, MD 21152‐9348                                                                                    First Class Mail
Voting Party                   Immanuel Episcopal Church                                                          Attn: Rev Megan Stewart‐Sicking             1509 Glencoe Rd                                                  Glencoe, MD 21152                                                     immanuelrector@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Immanuel Evangelical Lutheran Church                                               Baltimore Area Council 220                  3184 Church St                                                   Manchester, MD 21102‐2001                                                                                First Class Mail
Voting Party                   Immanuel Evangelical Lutheran Church Manchester Md                                 3184 Church St                              P.O. Box 739                                                     Manchester, MD 21102                                                  info@ielcmd.org                    Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Immanuel Evangelical Lutheran Church Of Elk Point                                  c/o Slattery Law Office                     Attn: John Slattery                                              616 E Saint Andrews Cir            N Sioux City, SD 57049             jpslatt@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Immanuel Evangelical Lutheran Church Of Elk Point South Dakota                     607 W Main St                               Elk Point, SD 57025                                                                                                                    jpslatt@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Immanuel First Spanish United Methodist Church                                     Attn: Milagros Solorzano                    424 Dean St                                                      Brooklyn, NY 11217                                                                                       First Class Mail
Chartered Organization         Immanuel Lutheran                                                                  Bay‐Lakes Council 635                       600 S Lincoln Rd                                                 Escanaba, MI 49829‐1215                                                                                  First Class Mail
Chartered Organization         Immanuel Lutheran                                                                  Snake River Council 111                     2055 Filer Ave E                                                 Twin Falls, ID 83301‐4307                                                                                First Class Mail
Chartered Organization         Immanuel Lutheran Church                                                           Alameda Council Bsa 022                     1910 Santa Clara Ave                                             Alameda, CA 94501‐2634                                                                                   First Class Mail
Chartered Organization         Immanuel Lutheran Church                                                           South Texas Council 577                     1400 N Texas Blvd                                                Alice, TX 78332‐3718                                                                                     First Class Mail
Chartered Organization         Immanuel Lutheran Church                                                           Western Massachusetts Council 234           867 N Pleasant St                                                Amherst, MA 01002‐1384                                                                                   First Class Mail
Chartered Organization         Immanuel Lutheran Church                                                           Three Fires Council 127                     950 Hart Rd                                                      Batavia, IL 60510‐9346                                                                                   First Class Mail
Chartered Organization         Immanuel Lutheran Church                                                           Water and Woods Council 782                 247 N Lincoln St                                                 Bay City, MI 48708‐6648                                                                                  First Class Mail
Chartered Organization         Immanuel Lutheran Church                                                           Greater Tampa Bay Area 089                  2913 John Moore Rd                                               Brandon, FL 33511‐7139                                                                                   First Class Mail
Chartered Organization         Immanuel Lutheran Church                                                           Connecticut Rivers Council, Bsa 066         154 Meadow St                                                    Bristol, CT 06010‐5730                                                                                   First Class Mail
Chartered Organization         Immanuel Lutheran Church                                                           Blackhawk Area 660                          300 S Pathway Ct                                                 Crystal Lake, IL 60014‐6178                                                                              First Class Mail
Chartered Organization         Immanuel Lutheran Church                                                           Northern Star Council 250                   16515 Luther Way                                                 Eden Prairie, MN 55346‐4335                                                                              First Class Mail
Chartered Organization         Immanuel Lutheran Church                                                           Sioux Council 733                           607 W Main St                                                    Elk Point, SD 57025‐2295                                                                                 First Class Mail
Chartered Organization         Immanuel Lutheran Church                                                           Winnebago Council, Bsa 173                  246 S Clark St                                                   Forest City, IA 50436‐1811                                                                               First Class Mail
Chartered Organization         Immanuel Lutheran Church                                                           Ozark Trails Council 306                    2616 Connecticut Ave                                             Joplin, MO 64804‐3027                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                            Page 167 of 442
                                                                                     Case 20-10343-LSS                                    Doc 8171                                      Filed 01/06/22                                                   Page 183 of 457
                                                                                                                                                                           Exhibit B
                                                                                                                                                                            Service List
                                                                                                                                                                     Served as set forth below

        Description                                                           Name                                                                                       Address                                                                                                            Email                    Method of Service
Chartered Organization         Immanuel Lutheran Church                                     Longhorn Council 662                    3801 Cunningham Rd                                         Killeen, TX 76542‐3020                                                                                     First Class Mail
Chartered Organization         Immanuel Lutheran Church                                     Santa Fe Trail Council 194              P.O. Box 46                                                Lakin, KS 67860‐0046                                                                                       First Class Mail
Chartered Organization         Immanuel Lutheran Church                                     Chickasaw Council 558                   6325 Raleigh Lagrange Rd                                   Memphis, TN 38134‐6907                                                                                     First Class Mail
Chartered Organization         Immanuel Lutheran Church                                     W D Boyce 138                           Minonk                                                     Minonk, IL 61760                                                                                           First Class Mail
Chartered Organization         Immanuel Lutheran Church                                     Mid‐America Council 326                 2725 N 60th Ave                                            Omaha, NE 68104‐4013                                                                                       First Class Mail
Chartered Organization         Immanuel Lutheran Church                                     Housatonic Council, Bsa 069             25 Great Hill Rd                                           Oxford, CT 06478‐1909                                                                                      First Class Mail
Chartered Organization         Immanuel Lutheran Church                                     Gulf Stream Council 085                 2655 SW Immanuel Dr                                        Palm City, FL 34990‐2738                                                                                   First Class Mail
Chartered Organization         Immanuel Lutheran Church                                     Capitol Area Council 564                500 Immanuel Rd                                            Pflugerville, TX 78660‐8343                                                                                First Class Mail
Chartered Organization         Immanuel Lutheran Church                                     Greater St Louis Area Council 312       115 S 6th St                                               Saint Charles, MO 63301‐2712                                                                               First Class Mail
Chartered Organization         Immanuel Lutheran Church                                     Lasalle Council 165                     1700 Monticello Park Dr                                    Valparaiso, IN 46383‐3847                                                                                  First Class Mail
Chartered Organization         Immanuel Lutheran Church                                     Baltimore Area Council 220              3184 Chruch St                                             Westminster, MD 21102                                                                                      First Class Mail
Voting Party                   Immanuel Lutheran Church                                     2055 Filer Ave E                        Twin Falls, ID 83301                                                                                                           wmummw@gmail.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Immanuel Lutheran Church                                     Attn: Hans Moll                         303 N Clay                                                 Macomb, IL 61455                                                    secretary@immanuelmacomb.com           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Immanuel Lutheran Church                                     Attn: Pastor Adrienne Strehlow          8310 MacArthur Blvd                                        Vancouver, WA 98664                                                 pastoradrienne@immauelvancouver.org    Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Immanuel Lutheran Church                                     Attn: Gail Peck                         2018 Richmond Ave                                          Staten Island, NY 10314                                             glpeck3@verizon.net                    Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Immanuel Lutheran Church                                     104 Snelling Ave S                      Saint Paul, MN 55105                                                                                                           dhesse@ilcsp.org                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Immanuel Lutheran Church                                     Attn: William M Braman                  218 W 2nd St                                               Seymour, IN 47274                                                   Braman.William@outlook.com             Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Immanuel Lutheran Church                                     Attn: Gwen Kruger                       1209 N Scheuber Rd                                         Centralia, WA 98531                                                 admin@ilccentralia.org                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Immanuel Lutheran Church & School                            Greater St Louis Area Council 312       632 E Hwy N                                                Wentzville, MO 63385‐5907                                                                                  First Class Mail
Chartered Organization         Immanuel Lutheran Church And School                          Attn: Boy Scout Troop 176               5455 Alessandro Blvd                                       Riverside, CA 92506‐3537                                                                                   First Class Mail
Voting Party                   Immanuel Lutheran Church And School                          Attn: Brian Betts                       111 11th St N                                              Wisconsin Rapids, WI 54494                                          bbetts@immanuelrapids.com              Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Immanuel Lutheran Church And School Bay City Mi              Attn: Larry Reiman Trustee              300 N Sheridan                                             Bay City, MI 48708                                                  ILC@immanuelbaycity.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Immanuel Lutheran Church And School Of Riverside             5455 Alessandro Blvd                    Riverside, CA 92506                                                                                                            Jamila.leggett@immanuelriverside.com   Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Immanuel Lutheran Church Elca                                Glaciers Edge Council 620               700 N Bloomfield Rd                                        Lake Geneva, WI 53147‐4761                                                                                 First Class Mail
Chartered Organization         Immanuel Lutheran Church Of Saratoga                         Silicon Valley Monterey Bay 055         14103 Saratoga Ave                                         Saratoga, CA 95070‐5437                                                                                    First Class Mail
Chartered Organization         Immanuel Presbyterian Church                                 Great Swest Council 412                 114 Carlisle Blvd Se                                       Albuquerque, NM 87106‐1428                                                                                 First Class Mail
Chartered Organization         Immanuel Presbyterian Church                                 Pathway To Adventure 456                140 W US Hwy 30                                            Schererville, IN 46375‐1852                                                                                First Class Mail
Voting Party                   Immanuel Presbyterian Church                                 Attn: John C. Tittle                    9252 E 22nd St                                             Tucson, AZ 85710                                                    kate@immanuelpc.org                    Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Immanuel Trinity Lutheran Church                             Bay‐Lakes Council 635                   20 Wisconsin American Dr                                   Fond Du Lac, WI 54937‐6741                                                                                 First Class Mail
Chartered Organization         Immanuel Ucc Of Hamel                                        Greater St Louis Area Council 312       5838 Staunton Rd                                           Edwardsville, IL 62025‐6322                                                                                First Class Mail
Chartered Organization         Immanuel Union Church                                        Greater New York Councils, Bsa 640      693 Jewett Ave                                             Staten Island, NY 10314‐2807                                                                               First Class Mail
Voting Party                   Immanuel United Methodist Church                             Attn: Rev John Keating                  303 Kasson Rd                                              Camillus, NY 13031                                                  pastorjackk@gmail.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Immanuel United Methodist Church                             Attn: Kellen D Roggenbuck               201 E Racine St                                            Jefferson, WI 53549                                                 iumc.office@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Immanuel United Methodist Church                             Attn: Dr. Kelly Mcclendon               2551 Dixie Hwy                                             Lakeside Park, KY 41017                                             drkellymac@immanuelumc.org             Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Immanuel United Methodist Church ‐ Townsend                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Immanuel United Methodist Church (184611)                    c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Immanuel Utd Church Of Christ                                Three Fires Council 127                 415 W North Ave                                            Bartlett, IL 60103‐4014                                                                                    First Class Mail
Chartered Organization         Immanuel Utd Church Of Christ                                Greater St Louis Area Council 312       126 Church St                                              Ferguson, MO 63135                                                                                         First Class Mail
Chartered Organization         Immanuel Utd Church Of Christ                                Buffalo Trace 156                       5812 Ford Rd N                                             Mount Vernon, IN 47620‐7307                                                                                First Class Mail
Chartered Organization         Immanuel Utd Church Of Christ                                Sam Houston Area Council 576            P.O. Box 505                                               Needville, TX 77461‐0505                                                                                   First Class Mail
Chartered Organization         Immanuel Utd Church Of Christ                                Bay‐Lakes Council 635                   118 Oak St                                                 Neenah, WI 54956‐3034                                                                                      First Class Mail
Chartered Organization         Immanuel Utd Church Of Christ                                Sam Houston Area Council 576            26501 Border St                                            Spring, TX 77373‐8301                                                                                      First Class Mail
Chartered Organization         Immanuel Utd Church Of Christ                                Greater St Louis Area Council 312       141 W Service Rd N                                         Wright City, MO 63390‐3349                                                                                 First Class Mail
Chartered Organization         Immanuel Utd Methodist                                       Glaciers Edge Council 620               201 E Racine St                                            Jefferson, WI 53549‐1639                                                                                   First Class Mail
Chartered Organization         Immanuel Utd Methodist Church                                Del Mar Va 081                          209 Main St                                                Townsend, DE 19734‐7701                                                                                    First Class Mail
Voting Party                   Immnauel Lutheran Church & School                            Attn: Larry Reiman, Trustee             300 N Sheridan                                             Bay City, MI 48708                                                  ILC@immanuelbaycity.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Impact Nw                                                    Cascade Pacific Council 492             7211 SE 62nd Ave                                           Portland, OR 97206‐7564                                                                                    First Class Mail
Voting Party                   Imperial Beach Neighborhood Ctr                              Attn: John Edwin Griffin‐Atil           455 Palm Ave                                               Imperial Beach, CA 91932                                            IBneighborctr@yahoo.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Imperial Beach United Methodist Church                       Attn: John Edwin Griffin‐Atil           455 Palm Ave                                               Imperial Beach, CA 91932                                            IBneighborctr@yahoo.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Imperial County Sheriffs Office                              San Diego Imperial Council 049          328 Applestille Rd                                         El Centro, CA 92243‐9661                                                                                   First Class Mail
Voting Party                   Imperial First United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Imperial First United Methodist Church                       420 Holland St                          Imperial, NE 69033                                                                                                                                                    First Class Mail
Chartered Organization         Imperial Police Dept                                         San Diego Imperial Council 049          424 S Imperial Ave                                         Imperial, CA 92251‐1637                                                                                    First Class Mail
Voting Party                   In The Swim                                                  P.O. Box 505428                         Saint Louis, MO 63150‐5428                                                                                                                                            First Class Mail
Chartered Organization         Incarnate Word Catholic Church                               Greater St Louis Area Council 312       13416 Olive Blvd                                           Chesterfield, MO 63017‐3111                                                                                First Class Mail
Chartered Organization         Incarnation Catholic Church                                  Miami Valley Council, Bsa 444           55 Williamsburg Ln                                         Centerville, OH 45459‐4218                                                                                 First Class Mail
Chartered Organization         Incarnation Catholic Church                                  Southwest Florida Council 088           2929 Bee Ridge Rd                                          Sarasota, FL 34239‐7118                                                                                    First Class Mail
Voting Party                   Incarnation Lutheran Church                                  4880 Hodgson Rd                         Shoreview, MN 55126                                                                                                            dgriffith@incarnationmn.org            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Incarnation Utd Church Of Christ                             New Birth of Freedom 544                P.O. Box 68                                                Newport, PA 17074‐0068                                                                                     First Class Mail
Chartered Organization         Incident Management Solutions                                Central Florida Council 083             P.O. Box 391                                               Minneola, FL 34755‐0391                                                                                    First Class Mail
Chartered Organization         Incredible Horizons                                          Central Florida Council 083             674 N Wickham Rd                                           Melbourne, FL 32935‐8771                                                                                   First Class Mail
Voting Party                   Indeed Inc                                                   Mail Code 5160                          P.O. Box 660367                                            Dallas, TX 75266‐0367                                                                                      First Class Mail
Voting Party                   Indemnity Insurance Company Of North America                 c/o Duane Morris LLP                    Attn: Wendy M Simkulak                                     30 S 17th St                     Philadelphia, PA 19103             WMSimkulak@duanemorris.com             Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Indemnity Insurance Company Of North America                 c/o Duane Morris LLP                    Attn: Wendy M. Simkulak                                    30 S 17th St                     Philadelphia, PA 19103             WMSimkulak@duanemorris.com             Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Independence Boulevard Christian Church                      Attn: Ronald Lewis                      606 Gladstone Blvd                                         Kansas City, MO 64124                                               ibcckc@gmail.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Independence Fire Co                                         Hudson Valley Council 374               819 State Route 208                                        Monroe, NY 10950‐1910                                                                                      First Class Mail
Chartered Organization         Independence Lodge 10, F & Am                                Green Mountain 592                      656 Route 73                                               Orwell, VT 05760‐9625                                                                                      First Class Mail
Chartered Organization         Independence Police Dept                                     Dan Beard Council, Bsa 438              5409 Madison Pike                                          Independence, KY 41051‐8656                                                                                First Class Mail
Chartered Organization         Independence School Inc                                      Del Mar Va 081                          1300 Paper Mill Rd                                         Newark, DE 19711‐3408                                                                                      First Class Mail
Voting Party                   Independence Umc ‐ Emporia Va                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Independence Utd Methodist Church                            Lake Erie Council 440                   6615 Brecksville Rd                                        Independence, OH 44131‐4831                                                                                First Class Mail
Chartered Organization         Independence Ward                                            Cradle of Liberty Council 525           568 N 23rd St                                              Philadelphia, PA 19130‐3132                                                                                First Class Mail
Chartered Organization         Independent Order Of Odd Fellows                             New Birth of Freedom 544                P.O. Box 212                                               New Bloomfield, PA 17068‐0212                                                                              First Class Mail
Chartered Organization         Independent Order Of Odd Fellows N Pt4                       Baltimore Area Council 220              9401 N Point Rd                                            Fort Howard, MD 21052‐1115                                                                                 First Class Mail
Chartered Organization         Independent Order Of Odd Fellows‐Calif                       Mt Diablo‐Silverado Council 023         803 Main St                                                Suisun, CA 94533                                                                                           First Class Mail
Chartered Organization         Independent Order Of Oddfellows                              Greater St Louis Area Council 312       111 Lindemann Ave                                          Dupo, IL 62239‐1250                                                                                        First Class Mail
Chartered Organization         Independent Presbyterian Church                              Greater Alabama Council 001             3100 Highland Ave S                                        Birmingham, AL 35205‐1408                                                                                  First Class Mail
Chartered Organization         Independent Presbyterian Church                              Chickasaw Council 558                   4738 Walnut Grove Rd                                       Memphis, TN 38117‐2524                                                                                     First Class Mail
Chartered Organization         India Assoc Of San Antonio                                   Alamo Area Council 583                  P.O. Box 5586                                              San Antonio, TX 78201‐0586                                                                                 First Class Mail
Voting Party                   India Hook United Methodist Church                           Attn: Nate Sherman                      3300 Mt. Gallant Rd                                        Rock Hill, SC 29732                                                 indiahookumc@comporium.net             Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Indian Creek Community Church                                Heart of America Council 307            12480 S Blackbob Rd                                        Olathe, KS 66062‐5617                                                                                      First Class Mail
Chartered Organization         Indian Creek Elementary Pta                                  Atlanta Area Council 092                724 N Indian Creek Dr                                      Clarkston, GA 30021‐2346                                                                                   First Class Mail
Chartered Organization         Indian Creek Elementary School                               Crossroads of America 160               10833 E 56th St                                            Indianapolis, IN 46235‐8848                                                                                First Class Mail
Chartered Organization         Indian Creek Primitive Baptist                               Greater Alabama Council 001             380 Indian Creek Rd Nw                                     Huntsville, AL 35806‐4061                                                                                  First Class Mail
Chartered Organization         Indian Creek Primitive Baptist Church                        Greater Alabama Council 001             380 Indian Creek Rd Nw                                     Huntsville, AL 35806‐4061                                                                                  First Class Mail
Voting Party                   Indian Falls Umc                                             Attn: Karen Mccaffery                   7908 Alleghany Rd                                          Corfu, NY 14036                                                     indianfallsumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Indian Falls United Methodist Church                         Attn: Douglas Hendershot Jr             7129 Orchard Park Rd                                       Oakfield, NY 14125                                                  subwaydoug@hotmail.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Indian Falls Utd Methodist Mens Group                        Iroquois Trail Council 376              7908 Alleghany Rd                                          Corfu, NY 14036‐9724                                                                                       First Class Mail
Chartered Organization         Indian Head Baptist Church                                   National Capital Area Council 082       27 Raymond Ave                                             Indian Head, MD 20640‐1710                                                                                 First Class Mail
Voting Party                   Indian Head United Methodist Church                          Attn: Carol Oakes                       19 Mattingly Ave                                           Indian Head, MD 20640                                               Sarahlundmiller@aol.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Indian Hill Pto                                              Dan Beard Council, Bsa 438              6100 Drake Rd                                              Cincinnati, OH 45243‐3335                                                                                  First Class Mail
Chartered Organization         Indian Hill Rangers Boy Scout Camp Inc                       Dan Beard Council, Bsa 438              7851 Shawnee Run Rd                                        Cincinnati, OH 45243‐3121                                                                                  First Class Mail
Chartered Organization         Indian Hills Cc Mens Soccer                                  Mid Iowa Council 177                    525 Grandview Ave                                          Ottumwa, IA 52501‐1359                                                                                     First Class Mail
Chartered Organization         Indian Hills Friends Of Scouting                             Mississippi Valley Council 141 141      501 Harrison St                                            Quincy, IL 62301                                                                                           First Class Mail
Chartered Organization         Indian Lake Community Church                                 Tecumseh 439                            P.O. Box 457                                               Russells Point, OH 43348‐0457                                                                              First Class Mail
Chartered Organization         Indian Lakes Assoc                                           Tidewater Council 596                   5202 Halifax Dr                                            Virginia Beach, VA 23464‐6172                                                                              First Class Mail
Chartered Organization         Indian Mills Volunteer Fire Co                               Garden State Council 690                48 Willow Grove Rd                                         Shamong, NJ 08088‐8214                                                                                     First Class Mail
Voting Party                   Indian Nations Council Bsa Inc 488                           Attn: William W Haines                  4295 S Garnett Rd                                          Tulsa, OK 74146                                                     bhaines@bsamail.org                    Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Indian Riffle Pto                                            Miami Valley Council, Bsa 444           3090 Glengarry Dr                                          Kettering, OH 45420‐1227                                                                                   First Class Mail
Chartered Organization         Indian River County Sheriffs Office                          Gulf Stream Council 085                 4055 41st Ave                                              Vero Beach, FL 32960‐1802                                                                                  First Class Mail
Chartered Organization         Indian River Lions Club                                      President Gerald R Ford 781             4439 M 68 Hwy                                              Indian River, MI 49749‐9355                                                                                First Class Mail
Chartered Organization         Indian River Presbyterian Church                             Gulf Stream Council 085                 2499 Virginia Ave                                          Fort Pierce, FL 34982‐5667                                                                                 First Class Mail
Chartered Organization         Indian Run Elementary Pto                                    Simon Kenton Council 441                80 W Bridge St                                             Dublin, OH 43017‐1145                                                                                      First Class Mail
Voting Party                   Indian Run United Methodist Church                           Attn: Jeff Allen                        6305 Brand Rd                                              Dublin, OH 43016                                                    jallen@indianrun.org                   Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Indian Trail School Club                                     Rainbow Council 702                     20912 S Frankfort Square Rd                                Frankfort, IL 60423‐8123                                                                                   First Class Mail
Voting Party                   Indian Village Inc                                           2209 W Hwy 66                           Gallup, NM 87301‐6809                                                                                                          indianvillageinc@gmail.com             Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Indiana Department Of Revenue                                Attn: Stephanie Williams                100 N Senate Ave, N‐240 Ms 108                             Indianapolis, IN 46204                                              callen@dor.in.gov                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Indiana Institute Of Technology Inc                          Anthony Wayne Area 157                  1600 E Washington Blvd                                     Fort Wayne, IN 46803‐1228                                                                                  First Class Mail
Chartered Organization         Indiana Sal Post 10                                          Sagamore Council 162                    1700 S Pennsylvania St                                     Marion, IN 46953‐2505                                                                                      First Class Mail
Voting Party                   Indiana Umc, Ordained Elder                                  Attn: Glenn James Knepp                 P.O. Box 455                                               Lapel, IN 46051                                                     glenn.knepp@inumc.org                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Indianapolis Fire Dept                                       Crossroads of America 160               555 N New Jersey St                                        Indianapolis, IN 46204‐1516                                                                                First Class Mail
Chartered Organization         Indianapolis Metro Police Explorers                          Crossroads of America 160               901 N Post Rd                                              Indianapolis, IN 46219‐5545                                                                                First Class Mail
Chartered Organization         Indianapolis Metropolitan Police Dept                        Crossroads of America 160               50 N Alabama St                                            Indianapolis, IN 46204‐5305                                                                                First Class Mail
Chartered Organization         Indianapolis Power & Light                                   Crossroads of America 160               11 Monument Cir                                            Indianapolis, IN 46204                                                                                     First Class Mail
Chartered Organization         Indianapolis Zoo                                             Crossroads of America 160               1200 W Washington St                                       Indianapolis, IN 46222‐4552                                                                                First Class Mail
Chartered Organization         Indianola Rotary Club                                        Chickasaw Council 558                   General Delivery                                           Indianola, MS 38749                                                                                        First Class Mail
Chartered Organization         Indiantown Lions Club 98911                                  Gulf Stream Council 085                 14563 SW Rake Dr                                           Indiantown, FL 34956‐3616                                                                                  First Class Mail
Chartered Organization         Indianwaters Council‐Camp Barstow                            Indian Waters Council 553               117 Camp Barstow Dr                                        Batesburg, SC 29006‐8005                                                                                   First Class Mail
Chartered Organization         Indio Elks Lodge 1643                                        California Inland Empire Council 045    P.O. Box Eeee                                              Indio, CA 92202                                                                                            First Class Mail
Chartered Organization         Indoor Shooting Range                                        Golden Empire Council 047               13235 Grass Valley Ave, Ste B                              Grass Valley, CA 95945‐9556                                                                                First Class Mail
Chartered Organization         Industrial Dielectrics Inc                                   Crossroads of America 160               407 S 7th St                                               Noblesville, IN 46060‐2708                                                                                 First Class Mail
Voting Party                   Industrial Safety Llc                                        431 Post Rd E, Ste 1                    Westport, CT 06880‐4403                                                                                                                                               First Class Mail
Chartered Organization         Industry Residential Center                                  Seneca Waterways 397                    375 Rush Scottsville Rd                                    Rush, NY 14543‐9504                                                                                        First Class Mail
Voting Party                   Industry United Methodist Church                             Attn: Treasurer                         1912 S Mock Ave                                            Muncie, IN 47302                                                    industryumc@att.net                    Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Industry United Methodist Church                             Barbara Jean Moore                      2816 S Monroe St                                           Muncie, IN 47032‐5221                                                                                      First Class Mail
Chartered Organization         Industry Volunteer Fire Dept                                 Sam Houston Area Council 576            P.O. Box 146                                               Industry, TX 78944‐0146                                                                                    First Class Mail
Chartered Organization         Inevitable Clothing Llc                                      Las Vegas Area Council 328              8321 Fawn Heather Ct                                       Las Vegas, NV 89149‐4518                                                                                   First Class Mail
Voting Party                   Inez First Baptist Church, Inc                               c/o Kaplan Johnson Abate & Bird LLP     Attn: Tyler R Yeager                                       710 W Main St, 4th Fl            Louisville, KY 40202               tyeager@kaplanjohnsonlaw.com           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Inez First Baptist Church, Inc                               P.O. Box 302                            Inez, KY 41224                                                                                                                                                        First Class Mail
Chartered Organization         Infant Jesus Catholic Church                                 Three Rivers Council 578                243 S Lhs Dr                                               Lumberton, TX 77657‐8604                                                                                   First Class Mail
Chartered Organization         Infant Of Prague Roman Catholic Church                       Greater Niagara Frontier Council 380    921 Cleveland Dr                                           Buffalo, NY 14225‐1217                                                                                     First Class Mail
Chartered Organization         Infinite Arms Inc                                            Las Vegas Area Council 328              101 W Brooks Ave                                           North Las Vegas, NV 89030‐3906                                                                             First Class Mail
Voting Party                   Infinity Management Inc                                      P.O. Box 2410                           Flemington, NJ 08822‐2410                                                                                                                                             First Class Mail
Chartered Organization         Infinity Youth Group                                         Northern Star Council 250               475 Minnehaha Ave E                                        Saint Paul, MN 55130‐4204                                                                                  First Class Mail
Voting Party                   Infor (Us) Inc                                               13560 Morris Rd, Ste 4100               Alpharetta, GA 30004‐8995                                                                                                                                             First Class Mail
Voting Party                   Infosys Limited                                              Sambit Mohanty                          2400 N Glennville Dr, Ste C150                             Richardson, TX 75082                                                sambit_mohanty03@infosys.com           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Infosys Limited                                              Attn: Sambit Mohanty                    2400 N Glenville Dr, Ste C150                              Richardson, TX 75082                                                sambit_mohanty03@infosys.com           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Ingalls Park United Methodist Church, Joliet                 Attn: Leona N Tichenor                  105 Davison                                                Joliet, IL 60433                                                    ingallsparkumc@sbcglobal.net           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Ingham County Sheriff'S Explorer Post                        Water and Woods Council 782             630 N Cedar St                                             Mason, MI 48854‐1017                                                                                       First Class Mail
Chartered Organization         Inglenook Pta                                                Greater Alabama Council 001             4120 Inglenook St                                          Birmingham, AL 35217‐3806                                                                                  First Class Mail
Voting Party                   Ingleside Umc                                                36325 N Maple Ave                       Ingleside, IL 60041                                                                                                            kim@homesbykim.com                     Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Ingleside United Methodist Church                            Attn: Gail Danforth / Rita Hardy        2572 Church St                                             Ingleside, TX 78362                                                 pastoriumc@cableone.net                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Ingleside United Methodist Church                            Attn: Treasurer                         4264 Capital Heights Ave                                   Baton Rouge, LA 70806                                               inglesideumcla@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Ingleside Utd Methodist Church                               South Texas Council 577                 P.O. Box 688                                               Ingleside, TX 78362‐0688                                                                                   First Class Mail
Chartered Organization         Inglewood Police Dept                                        Greater Los Angeles Area 033            1 W Manchester Blvd                                        Inglewood, CA 90301‐1764                                                                                   First Class Mail
Chartered Organization         Inglewood Presbyterian Church                                Chief Seattle Council 609               7718 NE 141st St                                           Kirkland, WA 98034‐5321                                                                                    First Class Mail
Voting Party                   Ingomar United Methodist Church (96187)                      c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Ingomar Utd Methodist Church                                 Laurel Highlands Council 527            1501 W Ingomar Rd                                          Pittsburgh, PA 15237‐1664                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                            Page 168 of 442
                                                                                Case 20-10343-LSS                                          Doc 8171                                        Filed 01/06/22                                                       Page 184 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                      Name                                                                                               Address                                                                                                                                 Email               Method of Service
Chartered Organization         Ingram Commty                                                  Emergency Ambulance Service, Inc        40 W Prospect Ave                                           Pittsburgh, PA 15205‐2241                                                                                                  First Class Mail
Chartered Organization         Ingram Utd Presbyterian Church                                 Laurel Highlands Council 527            30 W Prospect Ave                                           Pittsburgh, PA 15205‐2243                                                                                                  First Class Mail
Chartered Organization         Inland Grange                                                  Inland Nwest Council 611                35616 N Milan Elk Rd                                        Chattaroy, WA 99003‐8876                                                                                                   First Class Mail
Chartered Organization         Inland Grange 780                                              Inland Nwest Council 611                37417 N Conklin Rd                                          Elk, WA 99009                                                                                                              First Class Mail
Chartered Organization         Inland Northwest Camp Easton                                   Inland Nwest Council 611                411 W Boy Scout Way                                         Spokane, WA 99201‐2243                                                                                                     First Class Mail
Chartered Organization         Inland Northwest High Adventure                                Inland Nwest Council 611                411 W Boy Scout Way                                         Spokane, WA 99201‐2243                                                                                                     First Class Mail
Chartered Organization         Inland Northwest Wildlife Council                              Inland Nwest Council 611                6116 N Market St                                            Spokane, WA 99208‐2445                                                                                                     First Class Mail
Voting Party                   Inman Park United Methodist Church ‐ Atlanta                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200             Tampa, FL 33602                                       erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Inman Park Utd Methodist Church                                Atlanta Area Council 092                1015 Edgewood Ave Ne                                        Atlanta, GA 30307‐2543                                                                                                     First Class Mail
Chartered Organization         Inman Utd Methodist Church                                     Flint River Council 095                 153 Hills Bridge Rd                                         Fayetteville, GA 30215‐5527                                                                                                First Class Mail
Chartered Organization         Inman‐Riverdale Foundation                                     Palmetto Council 549                    P.O. Box 207                                                Inman, SC 29349‐0207                                                                                                       First Class Mail
Chartered Organization         Innovative Systems Llc                                         Orange County Council 039               23382 Mill Creek Dr, Ste 125                                Laguna Hills, CA 92653‐1697                                                                                                First Class Mail
Chartered Organization         Inpendence Elementary Pto                                      Greater St Louis Area Council 312       4800 Meadows Pkwy                                           Weldon Spring, MO 63304‐2227                                                                                               First Class Mail
Chartered Organization         Insanitek Research And Devleopment                             Crossroads of America 160               P.O. Box 80142                                              Indianapolis, IN 46280‐0142                                                                                                First Class Mail
Chartered Organization         Inside Out Church                                              Prairielands 117                        P.O. Box 474                                                Savoy, IL 61874‐0474                                                                                                       First Class Mail
Voting Party                   Insight Direct Usa Inc                                         Attn: Michael L Walker                  6820 S Harl Ave                                             Tempe, AZ 85283                                                                            barbara.ross@insight.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Insight Investments Llc                                        611 Anton Blvd, Ste 700                 Costa Mesa, CA 92626‐7050                                                                                                                                                              First Class Mail
Chartered Organization         Inskip Baptist Church                                          Great Smoky Mountain Council 557        4810 Rowan Rd                                               Knoxville, TN 37912‐3636                                                                                                   First Class Mail
Chartered Organization         Inspired Vision Academy                                        Circle Ten Council 571                  8225 Bruton Rd                                              Dallas, TX 75217‐1903                                                                                                      First Class Mail
Chartered Organization         Inspired Vision Church                                         Circle Ten Council 571                  9424 Military Pkwy                                          Dallas, TX 75227‐4713                                                                                                      First Class Mail
Chartered Organization         Inspired Vision Secondary                                      Circle Ten Council 571                  8225 Bruton Rd                                              Dallas, TX 75217‐1903                                                                                                      First Class Mail
Chartered Organization         Institute Of Exploration                                       Longs Peak Council 062                  2057 Blue Yonder Way                                        Fort Collins, CO 80525‐2007                                                                                                First Class Mail
Chartered Organization         Institutional 1St Baptist Ch Sunday Sch                        South Georgia Council 098               1410 N Slappey Blvd                                         Albany, GA 31701‐1419                                                                                                      First Class Mail
Chartered Organization         Institutional First Baptist Veterans Clu                       South Georgia Council 098               1410 N Slappey Blvd                                         Albany, GA 31701‐1419                                                                                                      First Class Mail
Chartered Organization         Instituto Desarrollo Del Nino                                  Puerto Rico Council 661                 1050 Calle Demetrio O Daly                                  San Juan, PR 00924‐3400                                                                                                    First Class Mail
Chartered Organization         Instituto Ponceno De Sindrome Down                             Puerto Rico Council 661                 24 Calle Bertoly                                            Ponce, PR 00730‐3059                                                                                                       First Class Mail
Voting Party                   Insurance Company Of North America                             c/o Duane Morris LLP                    Attn: Wendy M Simkulak                                      30 S 17th St                         Philadelphia, PA 19103                                WMSimkulak@duanemorris.com      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Insurance Company Of North America                             c/o Duane Morris LLP                    Attn: Wendy M. Simkulak                                     30 S 17th St                         Philadelphia, PA 19103                                WMSimkulak@duanemorris.com      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Integrate Martial Arts Institute                               Puerto Rico Council 661                 PMB 221                                                     P.O. Box 144100                      Arecibo, PR 00614‐4100                                                                First Class Mail
Chartered Organization         Integrated Operations Services                                 Great Lakes Fsc 272                     22511 Telegraph Rd, Ste 206                                 Southfield, MI 48033‐4108                                                                                                  First Class Mail
Chartered Organization         Inter City Sugar Creek Optimist                                Heart of America Council 307            11600 E US Hwy 24                                           Sugar Creek, MO 64054‐1522                                                                                                 First Class Mail
Chartered Organization         Interamerican University Of Pr                                 School of Aeronautics                   500 Dr John Will Harris Rd                                  Bayamon, PR 00957                                                                                                          First Class Mail
Voting Party                   Intercontinental Hotels Group                                  3 Ravinia Dr, Ste 100                   Atlanta, GA 30346‐2121                                                                                                                                                                 First Class Mail
Chartered Organization         Intercultural Montessori Language School                       Pathway To Adventure 456                114 S Racine Ave                                            Chicago, IL 60607‐2895                                                                                                     First Class Mail
Chartered Organization         Intergenerational Dialogue Network                             Atlanta Area Council 092                1442 Richland Rd Sw                                         Atlanta, GA 30310‐3246                                                                                                     First Class Mail
Chartered Organization         Interlachen Lions Club                                         North Florida Council 087               200 Prospect Ave                                            Interlachen, FL 32148                                                                                                      First Class Mail
Chartered Organization         Interlaken Volunteer Fire Dept. Inc                            Seneca Waterways 397                    P.O. Box 274                                                Interlaken, NY 14847‐0274                                                                                                  First Class Mail
Chartered Organization         Interlude Hoffman Estates Community                            Pathway To Adventure 456                700 N Salem Dr, Apt 120                                     Hoffman Estates, IL 60169‐2807                                                                                             First Class Mail
Chartered Organization         Internantional Order Of Odd Fellows                            Hudson Valley Council 374               2628 South Ave                                              Wappingers Falls, NY 12590‐2752                                                                                            First Class Mail
Chartered Organization         International Academy Of Saginaw                               Water and Woods Council 782             1944 Iowa Ave                                               Saginaw, MI 48601‐5213                                                                                                     First Class Mail
Chartered Organization         International Academy Of Smyrna                                Atlanta Area Council 092                2144 S Cobb Dr Se                                           Smyrna, GA 30080‐1348                                                                                                      First Class Mail
Chartered Organization         International Asso Of Firefighters 3                           Rocky Mountain Council 063              116 N Main St                                               Pueblo, CO 81003‐3233                                                                                                      First Class Mail
Chartered Organization         International Assoc Lions                                      Midnight Sun Council 696                P.O. Box 49                                                 Tok, AK 99780‐0049                                                                                                         First Class Mail
Chartered Organization         International Assoc Of Fire Fighters                           Yucca Council 573                       Iaff Local 2362                                             Las Cruces, NM 88006                                                                                                       First Class Mail
Chartered Organization         International Assoc Of Firefighters 3                          Rocky Mountain Council 063              116 N Main St                                               Pueblo, CO 81003‐3233                                                                                                      First Class Mail
Chartered Organization         International Assoc Of Machinists                              Tidewater Council 596                   104 Simeon Ct                                               Elizabeth City, NC 27909‐7024                                                                                              First Class Mail
Voting Party                   International Association Of Lions Clubs Columbus Tx Branch    Attn: William A Kahn                    P.O. Box 532                                                Columbus, TX 78934                                                                         william.kahn@yahoo.com          Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         International Bible Baptist Church, Inc                        South Florida Council 084               17701 NW 57th Ave                                           Miami Gardens, FL 33055‐3530                                                                                               First Class Mail
Chartered Organization         International Bibleway Cogic                                   Dan Beard Council, Bsa 438              3231 Woodburn Ave                                           Cincinnati, OH 45207‐1713                                                                                                  First Class Mail
Chartered Organization         International Buddhist Progress Society                        Greater New York Councils, Bsa 640      15437 Barclay Ave                                           Flushing, NY 11355‐1109                                                                                                    First Class Mail
Chartered Organization         International Buddhist Progress Society                        Circle Ten Council 571                  1111 International Pkwy                                     Richardson, TX 75081‐2319                                                                                                  First Class Mail
Chartered Organization         International Christian School                                 Far E Council 803                       1 On Muk Lane, Shek Mun                                     Hong Kong, NT 852                    China                                                                                 First Class Mail
Voting Party                   International Church Of The Foursquare Gospel                  Attn: Steven Barserian                  4649 E Shields Ave                                          Fresno, CA 93726                                                                           STEVEB@VCCFRESNO.ORG            Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   International Church Of The Foursquare Gospel                  Attn: Joshua Best                       1910 W Sunset Blvd, Ste 200                                 Los Angeles, CA 90026                                                                      jbest@foursquare.org            Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         International Commty                                           Empowerment Project (Icep)              730 Carroll St                                              Akron, OH 44304‐1934                                                                                                       First Class Mail
Chartered Organization         International Community School                                 Transatlantic Council, Bsa 802          Ics P.O. Box 70282                                          Addis Ababa                          Ethiopia                                                                              First Class Mail
Voting Party                   International Delivery Solutions                               P.O. Box 420                            Oak Creek, WI 53154‐0420                                                                                                                                                               First Class Mail
Voting Party                   International Delivery Solutions, LLC                          7340 S Howell Ave, Ste 5                Oak Creek, WI 53154                                                                                                                                    mberry@idstrac.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         International House Of Prayer Cec                              Heart of America Council 307            3535 E Red Bridge Rd                                        Kansas City, MO 64137‐2135                                                                                                 First Class Mail
Chartered Organization         International Learning Group School                            Transatlantic Council, Bsa 802          Veternik 1                                                  Prishtina, 10000                     Montenegro (Serbia‐Montenegro)                                                        First Class Mail
Chartered Organization         International Lions Club                                       Heart of America Council 307            General Delivery                                            Gardner, KS 66030                                                                                                          First Class Mail
Chartered Organization         International Lutheran Church                                  Far E Council 803                       148 Hannam Daero                                            Yongsan‐Gu, Seoul                    Republic Of Korea                                                                     First Class Mail
Chartered Organization         International Market World                                     Greater Tampa Bay Area 089              1052 US Hwy 92 W                                            Auburndale, FL 33823‐9597                                                                                                  First Class Mail
Chartered Organization         International Preparatory Academy                              Prairielands 117                        1605 W Kirby Ave                                            Champaign, IL 61821‐5510                                                                                                   First Class Mail
Chartered Organization         International School                                           Far E Council 803                       Jalan Melawati 3                                            Taman Melawati                       Malaysia                                                                              First Class Mail
Chartered Organization         International School Kuala Lumpur                              Far E Council 803                       P.O. Box 12645                                              Kuala Lumpur, 50784                  Malaysia                                                                              First Class Mail
Chartered Organization         International School Manila                                    Far E Council 803                       University Pkwy Fort                                        Bonifacio Global City,               Philippines                                                                           First Class Mail
Chartered Organization         International School Manila                                    Far E Council 803                       University Pkwy                                             Fort Bonifacio Global City           Apo, AP 96515                                                                         First Class Mail
Chartered Organization         International School Of Aberdeen                               Transatlantic Council, Bsa 802          Pitfodels House                                             North Deeside Rd Cults               Aberdeen,                        United Kingdom                                       First Class Mail
Chartered Organization         International School Of Amsterdam                              Transatlantic Council, Bsa 802          Sportlaan 45                                                Tb Amstelveen, Noord‐Holland 1185    Netherlands                                                                           First Class Mail
Chartered Organization         International School Of Bangkok                                Far E Council 803                       39/7 Soi Nichada Thani                                      Samakee Rd, Pakkret                  Nonthaburi, 11120                Thailand                                             First Class Mail
Chartered Organization         International School Of Bangkok                                Far E Council 803                       39/7 Soi Nichada Thani                                      Soi Samakee                          Thailand                                                                              First Class Mail
Chartered Organization         International School Of Basel Region Ag                        Transatlantic Council, Bsa 802          Fleischbach Str. 2 Postfach 678                             Reinach Bl2, 4153                    Switzerland                                                                           First Class Mail
Chartered Organization         International School Of Beijing‐Shunyi                         Far E Council 803                       No. 10 An Hua St                                            Shunyi District                      China                                                                                 First Class Mail
Chartered Organization         International School Of Berne                                  Transatlantic Council, Bsa 802          Mattenstrasse 3                                             Gumligen, 3073                       Switzerland                                                                           First Class Mail
Chartered Organization         International School Of Kenya                                  Transatlantic Council, Bsa 802          P.O. Box 14103                                              Nairobi, 00800                       Kenya                                                                                 First Class Mail
Chartered Organization         International School Of Kenya                                  c/o US Embassy Kenya                    Transatlantic Council, Bsa 802                              P.O. Box 606                         Village Market, Nairobi 00621    Kenya                                                First Class Mail
Chartered Organization         International School Of Munich                                 Transatlantic Council, Bsa 802          Schloss Buchhof                                             Starnber, D‐82319                    Germany                                                                               First Class Mail
Chartered Organization         International School Of Munich                                 Transatlantic Council, Bsa 802          Schloss Buchoff                                             Starnberg, 82319                     Germany                                                                               First Class Mail
Chartered Organization         International School Of Phnom Penh                             Far E Council 803                       Hun Neang Blvd                                              P.O. Box 138                         Phnom Penh, Kampuchea            Cambodia                                             First Class Mail
Chartered Organization         International School Of Prague                                 Transatlantic Council, Bsa 802          Nebusicka 700                                               Prague                               Czech Republic                                                                        First Class Mail
Chartered Organization         International Schools Group‐ Jubail Pto                        Transatlantic Council, Bsa 802          P.O. Box 10059                                              Isg Jubail                           Saudi Arabia                                                                          First Class Mail
Chartered Organization         Inti Acadmey Of Manchester Ltd                                 Daniel Webster Council, Bsa 330         72 Concord St                                               Manchester, NH 03101‐1806                                                                                                  First Class Mail
Chartered Organization         Intimidad Con Dios                                             Sam Houston Area Council 576            3131 F M 2920 Rd                                            Spring, TX 77388                                                                                                           First Class Mail
Chartered Organization         Intl Council For The Envt Inc                                  Garden State Council 690                3111 Route 38, Ste 11                                       Mount Laurel, NJ 08054‐9762                                                                                                First Class Mail
Chartered Organization         Intl Order Alehambra Sancho Caravan 261                        Great Lakes Fsc 272                     41358 Trevor Ct                                             Sterling Hts, MI 48313‐3212                                                                                                First Class Mail
Chartered Organization         Intl Protestant Ch Zurich                                      Transatlantic Council, Bsa 802          Zeltweg 20                                                  Zurich, 8032                         Switzerland                                                                           First Class Mail
Chartered Organization         Intl School Of Beijing Isb                                     Far E Council 803                       10 An Hua St,                                               Shunyi District                      China                                                                                 First Class Mail
Chartered Organization         Intown Community Church                                        Atlanta Area Council 092                2059 Lavista Rd Ne                                          Atlanta, GA 30329‐3927                                                                                                     First Class Mail
Voting Party                   Intown Community Church, Inc.                                  Attn: Treasurer                         2059 Lavista Rd                                             Atlanta, GA 30329                                                                                                          First Class Mail
Chartered Organization         Inver Grove Heights Fire Dept                                  Northern Star Council 250               7015 Clayton Ave                                            Inver Grove Heights, MN 55076‐2535                                                                                         First Class Mail
Chartered Organization         Inver Grove Hgts Police Dept                                   Northern Star Council 250               8150 Barbara Ave                                            Inver Grove Heights, MN 55077‐3410                                                                                         First Class Mail
Voting Party                   Inverness, First United Methodist Church 1140 Turner Camp Rd   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200             Tampa, FL 33602                                       erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Involved Parents Of East Manatee                               Southwest Florida Council 088           12570 Cara Cara Loop                                        Bradenton, FL 34212‐2947                                                                                                   First Class Mail
Voting Party                   Inyokern Community United Methodist Church                     Attn: Donnetta Reid                     P.O. Box 936                                                Inyokern, CA 93527                                                                         reid@iwvisp.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   'Iolani School                                                 Attn: Reid Gushiken                     563 Kamoku St                                               Honolulu, HI 96826                                                                         rgushiken@iolani.org            Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Iona Prep Lower School                                         Westchester Putnam 388                  173 Stratton Rd                                             New Rochelle, NY 10804‐1415                                                                                                First Class Mail
Chartered Organization         Iona Prep School                                               Westchester Putnam 388                  255 Wilmot Rd                                               New Rochelle, NY 10804‐1225                                                                                                First Class Mail
Chartered Organization         Ione Business Community Assoc                                  Golden Empire Council 047               P.O. Box 637                                                Ione, CA 95640‐0637                                                                                                        First Class Mail
Chartered Organization         Ioof Fort Lupton 100                                           Longs Peak Council 062                  701 3rd St                                                  Fort Lupton, CO 80621                                                                                                      First Class Mail
Chartered Organization         Ioof Lodge 50 Montezuma                                        Cascade Pacific Council 492             P.O. Box 278                                                Hillsboro, OR 97123‐0278                                                                                                   First Class Mail
Chartered Organization         Ioof Odd Fellows Ben Hur Lodge 870                             Commty                                  Church of Richmond                                          Blackhawk Area 660                   5700 Hill Rd                     Richmond, IL 60071                                   First Class Mail
Chartered Organization         Iosepa Electric                                                Aloha Council, Bsa 104                  55‐483 Iosepa St                                            Laie, HI 96762‐1107                                                                                                        First Class Mail
Chartered Organization         Iota‐Egan Lions Club                                           Evangeline Area 212                     1623 Connie Rd                                              Iota, LA 70543‐4614                                                                                                        First Class Mail
Chartered Organization         Ip Sarge Bell Memorial Vfw Post 3377                           Capitol Area Council 564                P.O. Box 808                                                Manchaca, TX 78652‐0808                                                                                                    First Class Mail
Firm                           IPG Law Group                                                  Izehiese I. Egharevba Esq               133 W. Main Street                                          Norristown, PA 19401                                                                       Partners@IPGLawGroup.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ips 109 Jonathan Jennings Elementary                           Crossroads of America 160               3725 N Kiel Ave                                             Indianapolis, IN 46224‐1228                                                                                                First Class Mail
Chartered Organization         Ips 114 Sn                                                     Crossroads of America 160               2251 Sloan Ave                                              Indianapolis, IN 46203‐4849                                                                                                First Class Mail
Chartered Organization         Ips 102 Francis Bellamy Elem School                            Crossroads of America 160               9501 E 36th Pl                                              Indianapolis, IN 46235‐2101                                                                                                First Class Mail
Chartered Organization         Ips 105 After School                                           Crossroads of America 160               8620 Montery Rd                                             Indianapolis, IN 46226‐5470                                                                                                First Class Mail
Chartered Organization         Ips 105 Charles Fairbanks School                               Crossroads of America 160               8620 Montery Rd                                             Indianapolis, IN 46226‐5470                                                                                                First Class Mail
Chartered Organization         Ips 106 Robert Lee Frost School                                Crossroads of America 160               5301 Roxbury Rd                                             Indianapolis, IN 46226‐1547                                                                                                First Class Mail
Chartered Organization         Ips 107 After School                                           Crossroads of America 160               3307 Ashway Dr                                              Indianapolis, IN 46224‐2120                                                                                                First Class Mail
Chartered Organization         Ips 114 Paul I Miller School                                   Crossroads of America 160               2251 Sloan Ave                                              Indianapolis, IN 46203‐4849                                                                                                First Class Mail
Chartered Organization         Ips 14 Washington Irving School                                Crossroads of America 160               1250 E Market St                                            Indianapolis, IN 46202‐3831                                                                                                First Class Mail
Chartered Organization         Ips 15 Thomas Gregg Es After School                            Crossroads of America 160               2302 E Michigan St                                          Indianapolis, IN 46201‐3112                                                                                                First Class Mail
Chartered Organization         Ips 19 After School                                            Crossroads of America 160               2020 Dawson St                                              Indianapolis, IN 46203‐4117                                                                                                First Class Mail
Chartered Organization         Ips 39 After School                                            Crossroads of America 160               1173 Spann Ave                                              Indianapolis, IN 46203                                                                                                     First Class Mail
Chartered Organization         Ips 43 After School                                            Crossroads of America 160               150 W 40th St                                               Indianapolis, IN 46208‐3956                                                                                                First Class Mail
Chartered Organization         Ips 43 James Whitcomb Riley Schol                              Crossroads of America 160               150 W 40th St                                               Indianapolis, IN 46208‐3956                                                                                                First Class Mail
Chartered Organization         Ips 46 Daniel Webster Elem                                     Crossroads of America 160               1450 S Reisner St                                           Indianapolis, IN 46221‐1637                                                                                                First Class Mail
Chartered Organization         Ips 48 Russell Elementary School                               Crossroads of America 160               3445 Central Ave                                            Indianapolis, IN 46205‐3705                                                                                                First Class Mail
Chartered Organization         Ips 49 William Penn Elem After Sch                             Crossroads of America 160               1720 W Wilkins St                                           Indianapolis, IN 46221‐1175                                                                                                First Class Mail
Chartered Organization         Ips 49 William Penn Elementary School                          Crossroads of America 160               1720 W Wilkins St                                           Indianapolis, IN 46221‐1175                                                                                                First Class Mail
Chartered Organization         Ips 51 James Russekll Lowell (Lfl)                             Crossroads of America 160               3426 Roosevelt Ave                                          Indianapolis, IN 46218‐3762                                                                                                First Class Mail
Chartered Organization         Ips 54 After School                                            Crossroads of America 160               3150 E 10th St                                              Indianapolis, IN 46201‐2404                                                                                                First Class Mail
Chartered Organization         Ips 58 After School                                            Crossroads of America 160               321 N Linwood Ave                                           Indianapolis, IN 46201‐3641                                                                                                First Class Mail
Chartered Organization         Ips 58 Ralph Waldo Emerson Elem School                         Crossroads of America 160               321 N Linwood Ave                                           Indianapolis, IN 46201‐3641                                                                                                First Class Mail
Chartered Organization         Ips 61 Farrington Es After School                              Crossroads of America 160               4326 Patricia St                                            Indianapolis, IN 46222‐1543                                                                                                First Class Mail
Chartered Organization         Ips 63 Wendell Phillips After School                           Crossroads of America 160               1163 N Belmont Ave                                          Indianapolis, IN 46222‐3144                                                                                                First Class Mail
Chartered Organization         Ips 74 After School                                            Crossroads of America 160               1601 E 10th St                                              Indianapolis, IN 46201‐1901                                                                                                First Class Mail
Chartered Organization         Ips 79 After School                                            Crossroads of America 160               5002 W 34th St                                              Indianapolis, IN 46224‐1519                                                                                                First Class Mail
Chartered Organization         Ips 91 Rousseau Mcclellan                                      Crossroads of America 160               5111 Evanston Ave                                           Indianapolis, IN 46205‐1366                                                                                                First Class Mail
Chartered Organization         Ips 91 Rousseau Mcclelland                                     Crossroads of America 160               5111 Evanston Ave                                           Indianapolis, IN 46205‐1366                                                                                                First Class Mail
Chartered Organization         Ips 93 After School                                            Crossroads of America 160               7151 E 35th St                                              Indianapolis, IN 46226‐5745                                                                                                First Class Mail
Chartered Organization         Ips Educators                                                  Great Trail 433                         400 W Market St                                             Akron, OH 44303‐2011                                                                                                       First Class Mail
Voting Party                   IRC Burnsville Crossing LLC                                    c/o Pine Tree Commercial Realty LLC     Attn: William Pridmore                                      814 Commerce Dr, Ste 300             Oak Brook, IL 60523                                   wpridmore@pinetree.com          Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   IRC Burnsville Crossing LLC                                    c/o Connolly Gallagher LLP              Attn: Kelly M Conlan, Esq                                   1201 N Market St, 20th Fl            Wilmington, DE 19801                                  kconlan@connollygallagher.com   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Iredell County Sherrif'S Office                                Piedmont Council 420                    P.O. Box 287                                                Statesville, NC 28687‐0287                                                                                                 First Class Mail
Chartered Organization         Iredell Memorial Hospital                                      Piedmont Council 420                    557 Brookdale Dr                                            Statesville, NC 28677‐4107                                                                                                 First Class Mail
Chartered Organization         Irion County Lions Club                                        Texas Swest Council 741                 2702 County Rd 202                                          Mertzon, TX 76941‐6004                                                                                                     First Class Mail
Chartered Organization         Irmo Ward Lds                                                  Indian Waters Council 553               201 Lyndhurst Rd                                            Columbia, SC 29212‐3109                                                                                                    First Class Mail
Chartered Organization         Irmo Ward Lds                                                  Indian Waters Council 553               7449 Broad River Rd                                         Irmo, SC 29063‐9667                                                                                                        First Class Mail
Chartered Organization         Iron Gate Industries, Llc                                      Alamo Area Council 583                  6803 Lendell St                                             San Antonio, TX 78249‐1503                                                                                                 First Class Mail
Voting Party                   Iron Mountain                                                  P.O. Box 915026                         Dallas, TX 75391‐5026                                                                                                                                                                  First Class Mail
Voting Party                   Iron Mountain Inc                                              P.O. Box 915004                         Dallas, TX 75391‐5004                                                                                                                                                                  First Class Mail
Chartered Organization         Irondale Methodist Church                                      Ohio River Valley Council 619           Morgan St                                                   Irondale, OH 43932                                                                                                         First Class Mail
Chartered Organization         Irondale Utd Methodist Church                                  Greater Alabama Council 001             400 Deering St                                              Irondale, AL 35210‐2044                                                                                                    First Class Mail
Chartered Organization         Irondequoit Rotary Club                                        Seneca Waterways 397                    125 Eman Est                                                Rochester, NY 14622                                                                                                        First Class Mail
Chartered Organization         Irondequoit Utd Church Of Christ                               Seneca Waterways 397                    644 Titus Ave                                               Rochester, NY 14617‐3939                                                                                                   First Class Mail
Voting Party                   Ironville Umc                                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200             Tampa, FL 33602                                       erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ironville Utd Methodist Church                                 Pennsylvania Dutch Council 524          4020 Holly Dr                                               Columbia, PA 17512‐8922                                                                                                    First Class Mail
Chartered Organization         Ironwood Ward ‐ Lds Marana Stake                               Catalina Council 011                    3500 W Sumter Dr                                            Tucson, AZ 85742‐8680                                                                                                      First Class Mail
Chartered Organization         Iroquois Community School Pto                                  Pathway To Adventure 456                1836 E Touhy Ave                                            Des Plaines, IL 60018‐3629                                                                                                 First Class Mail
Chartered Organization         Iroquois Point Elementary Ptsa                                 Aloha Council, Bsa 104                  5553 Cormorant Ave                                          Ewa Beach, HI 96706‐3102                                                                                                   First Class Mail
Voting Party                   Iroquois Trail Council Inc.                                    Attn: James C Mcmullen                  102 S Main St                                               Oakfield, NY 14125                                                                         jim.mcmullen@scouting.org       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Irvine Co                                                      Orange County Council 039               111 Innovation Dr                                           Irvine, CA 92617‐3040                                                                                                      First Class Mail
Chartered Organization         Irvine Inline                                                  Orange County Council 039               3150 Barranca Pkwy                                          Irvine, CA 92606‐5202                                                                                                      First Class Mail
Chartered Organization         Irvine Police Dept                                             Orange County Council 039               1 Civic Center Plz                                          Irvine, CA 92606‐5207                                                                                                      First Class Mail
Chartered Organization         Irvine Presbyterian Church                                     Chief Cornplanter Council, Bsa 538      P.O. Box 124                                                Irvine, PA 16329‐0124                                                                                                      First Class Mail
Voting Party                   Irvine Presbyterian Church                                     Attn: Barbara Mourer                    28500 Rt 6                                                  Box 300                              Youngsville, PA 16371                                 dmourer@verizon.net             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Irvine Presbyterian Church                                     885 National Forge Rd                   Box 124                                                     Irvine, PA 16329                                                                           dmourer@verizon.net             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Irvine Utd Congregation Church                                 Orange County Council 039               4915 Alton Pkwy                                             Irvine, CA 92604‐8606                                                                                                      First Class Mail
Chartered Organization         Irvine Utd Methodist Church                                    Blue Grass Council 204                  243 Main St                                                 Irvine, KY 40336‐1061                                                                                                      First Class Mail
Chartered Organization         Irvine‐Ravenna Kiwanis Club                                    Blue Grass Council 204                  207 5th St                                                  Ravenna, KY 40472‐1313                                                                                                     First Class Mail
Chartered Organization         Irving Grange 377                                              Oregon Trail Council 697                P.O. Box 40537                                              Eugene, OR 97404                                                                                                           First Class Mail
Chartered Organization         Irving High School Usmc Jrotc                                  Circle Ten Council 571                  900 N O Connor Rd                                           Irving, TX 75061‐4513                                                                                                      First Class Mail
Chartered Organization         Irving North Christian Church                                  Circle Ten Council 571                  2901 N Macarthur Blvd                                       Irving, TX 75062‐4448                                                                                                      First Class Mail
Chartered Organization         Irving Park Lutheran Church                                    Pathway To Adventure 456                3938 W Belle Plaine Ave                                     Chicago, IL 60618‐1921                                                                                                     First Class Mail
Chartered Organization         Irving Park Parents Assoc                                      Old N State Council 070                 1401 Roanoke Dr                                             Greensboro, NC 27408‐6211                                                                                                  First Class Mail
Voting Party                   Irving Park Umc 1510 W Cone Blvd Greensboro Nc 27408           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200             Tampa, FL 33602                                       erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 169 of 442
                                                                                   Case 20-10343-LSS                                                            Doc 8171                                         Filed 01/06/22                                                         Page 185 of 457
                                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                                     Service List
                                                                                                                                                                                              Served as set forth below

        Description                                                         Name                                                                                                                  Address                                                                                                                                 Email              Method of Service
Voting Party                   Irving Park United Methodist Church                            c/o Chicago Irving Park                                     Attn: Hope Mary Chernich                                      P.O. Box 411174                     Chicago, IL 60641                                      pastorchernich@gmail.com       Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Irving Park Utd Methodist Church                               Old N State Council 070                                     1510 W Cone Blvd                                              Greensboro, NC 27408‐4318                                                                                                 First Class Mail
Chartered Organization         Irving Police Dept                                             Circle Ten Council 571                                      305 N O Connor Rd                                             Irving, TX 75061‐7523                                                                                                     First Class Mail
Chartered Organization         Irving School Pta                                              Northeast Iowa Council 178                                  2520 Pennsylvania Ave                                         Dubuque, IA 52001‐3036                                                                                                    First Class Mail
Chartered Organization         Irving School Pto                                              Housatonic Council, Bsa 069                                 9 Garden Pl                                                   Derby, CT 06418‐1416                                                                                                      First Class Mail
Chartered Organization         Irving School Pto                                              Oregon Trail Council 697                                    3200 Hyacinth St                                              Eugene, OR 97404‐1527                                                                                                     First Class Mail
Chartered Organization         Irving School Pto                                              Mid Iowa Council 177                                        500 W Clinton Ave                                             Indianola, IA 50125‐1960                                                                                                  First Class Mail
Chartered Organization         Irvington Community School                                     Crossroads of America 160                                   6705 Julian Ave                                               Indianapolis, IN 46219‐6642                                                                                               First Class Mail
Chartered Organization         Irvington Presbyterian Church                                  Westchester Putnam 388                                      25 N Broadway                                                 Irvington, NY 10533‐1802                                                                                                  First Class Mail
Voting Party                   Irvington Presbyterian Church                                  25 N Broadway                                               Irvington, NY 10533                                                                                                                                      bradsbreen@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Irvington Public Safety                                        Northern New Jersey Council, Bsa 333                        1 Civic Savare                                                Irvington, NJ 07111                                                                                                       First Class Mail
Voting Party                   Irvington United Methodist Church                              Attn: Rev Denise Robinson                                   30N Audubon Rd                                                Indianapolis, IN 46219                                                                     denise.robinson@inumc.org      Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Irvington Utd Methodist Church                                 Crossroads of America 160                                   30 N Audubon Rd                                               Indianapolis, IN 46219‐5819                                                                                               First Class Mail
Chartered Organization         Isaac Campbell Sr Community Center                             Central Florida Council 083                                 475 N Williams Ave                                            Titusville, FL 32796‐2551                                                                                                 First Class Mail
Chartered Organization         Isaac Fox School Pto                                           Pathway To Adventure 456                                    395 W Cuba Rd                                                 Lake Zurich, IL 60047‐3332                                                                                                First Class Mail
Chartered Organization         Isaac Walten League Of America                                 National Capital Area Council 082                           26430 Mullinix Mill Rd                                        Mount Airy, MD 21771‐4346                                                                                                 First Class Mail
Chartered Organization         Isaacs, Rollin Lee Pto Harris                                  Sam Houston Area Council 576                                3830 Pickfair St                                              Houston, TX 77026‐3968                                                                                                    First Class Mail
Chartered Organization         Isanti County Law Enforcement                                  Northern Star Council 250                                   2440 Main St S                                                Cambridge, MN 55008‐2336                                                                                                  First Class Mail
Chartered Organization         Isanti Lions Club                                              Northern Star Council 250                                   P.O. Box 1                                                    Isanti, MN 55040‐0001                                                                                                     First Class Mail
Chartered Organization         Isbister Pto                                                   Great Lakes Fsc 272                                         9300 N Canton Center Rd                                       Plymouth, MI 48170‐3968                                                                                                   First Class Mail
Chartered Organization         Iselin Fire District 9                                         Patriots Path Council 358                                   1222 Green St                                                 Iselin, NJ 08830‐2014                                                                                                     First Class Mail
Chartered Organization         Isg Jubail Parent Teacher Organization                         Transatlantic Council, Bsa 802                              P.O. Box 10059                                                Jubail Industrial City, 31961       Saudi Arabia                                                                          First Class Mail
Chartered Organization         Islamic Center Of East Brunswick                               Monmouth Council, Bsa 347                                   402 New Brunswick Ave                                         East Brunswick, NJ 08816‐5401                                                                                             First Class Mail
Chartered Organization         Islamic Center Of Long Island                                  Theodore Roosevelt Council 386                              835 Brush Hollow Rd                                           Westbury, NY 11590‐2439                                                                                                   First Class Mail
Chartered Organization         Islamic Center Of Morris County                                Patriots Path Council 358                                   1 Mannino Dr                                                  Rockaway, NJ 07866‐3422                                                                                                   First Class Mail
Chartered Organization         Islamic Center Of Naperville                                   Three Fires Council 127                                     2844 W Ogden Ave                                              Naperville, IL 60540‐0969                                                                                                 First Class Mail
Chartered Organization         Islamic Center Of Orlando                                      Central Florida Council 083                                 11543 Ruby Lake Rd                                            Orlando, FL 32836‐6159                                                                                                    First Class Mail
Chartered Organization         Islamic Center Of Tri‐Cities                                   Blue Mountain Council 604                                   2900 Bombing Range Rd                                         West Richland, WA 99353‐8400                                                                                              First Class Mail
Chartered Organization         Islamic Community Ctr Of Potomac                               National Capital Area Council 082                           10601 River Rd                                                Potomac, MD 20854‐4119                                                                                                    First Class Mail
Chartered Organization         Islamic Ctr Nern Virginia Trust                                National Capital Area Council 082                           4420 Shirley Gate Rd                                          Fairfax, VA 22030‐5518                                                                                                    First Class Mail
Chartered Organization         Islamic Ctr Of Olympia                                         Pacific Harbors Council, Bsa 612                            4324 20th Ln Ne                                               Olympia, WA 98516‐3729                                                                                                    First Class Mail
Chartered Organization         Islamic Education Center                                       Sam Houston Area Council 576                                2313 S Voss Rd                                                Houston, TX 77057‐3807                                                                                                    First Class Mail
Chartered Organization         Islamic Soc Of Gsl/Bud Bailey (Refugee)                        Great Salt Lake Council 590                                 P.O. Box 12772                                                Salt Lake City, UT 84101                                                                                                  First Class Mail
Chartered Organization         Islamic Society Boston Cultural Ctr                            The Spirit of Adventure 227                                 100 Malcolm X Blvd                                            Roxbury, MA 02120‐3121                                                                                                    First Class Mail
Chartered Organization         Islamic Society Of Baltimore                                   Baltimore Area Council 220                                  6631 Johnnycake Rd                                            Windsor Mill, MD 21244‐2401                                                                                               First Class Mail
Chartered Organization         Islamic Society Of Central Jersey Iscj                         Monmouth Council, Bsa 347                                   P.O. Box 628                                                  Monmouth Junction, NJ 08852‐0628                                                                                          First Class Mail
Chartered Organization         Islamic Society Of Central Virginia                            Stonewall Jackson Council 763                               708 Pine St                                                   Charlottesville, VA 22903‐3855                                                                                            First Class Mail
Chartered Organization         Islamic Society Of Greater Lowell                              The Spirit of Adventure 227                                 5 Courthouse Ln                                               Chelmsford, MA 01824‐1705                                                                                                 First Class Mail
Chartered Organization         Islamic Society Of Greater Salt Lake                           Great Salt Lake Council 590                                 P.O. Box 58844                                                Salt Lake City, UT 84158‐0844                                                                                             First Class Mail
Chartered Organization         Islamic Society Of New Tampa                                   Greater Tampa Bay Area 089                                  15830 Morris Bridge Rd                                        Thonotosassa, FL 33592‐2245                                                                                               First Class Mail
Chartered Organization         Islamorada Fire Rescue                                         South Florida Council 084                                   81850 Overseas Hwy                                            Islamorada, FL 33036‐3606                                                                                                 First Class Mail
Chartered Organization         Island Bay Yacht Club Sailing Foundation                       Abraham Lincoln Council 144                                 76 Yacht Club Rd                                              Springfield, IL 62712‐9525                                                                                                First Class Mail
Chartered Organization         Island Heights Volunteer Fire Co 1                             Jersey Shore Council 341                                    P.O. Box 316                                                  Island Heights, NJ 08732‐0316                                                                                             First Class Mail
Chartered Organization         Island Pacific Academy                                         Aloha Council, Bsa 104                                      909 Haumea St                                                 Kapolei, HI 96707‐2044                                                                                                    First Class Mail
Chartered Organization         Island Palm Communities                                        Aloha Council, Bsa 104                                      182 Kauhini Rd                                                Honolulu, HI 96818‐6347                                                                                                   First Class Mail
Chartered Organization         Island Palm Communities Schofield                              Aloha Council, Bsa 104                                      435 Ulrich Way                                                Schofield Barracks, HI 96786                                                                                              First Class Mail
Chartered Organization         Island Park Fire Dept                                          Theodore Roosevelt Council 386                              19 Brighton Rd                                                Island Park, NY 11558‐2108                                                                                                First Class Mail
Voting Party                   Island Park United Methodist Church                            Attn: Joseph Maggio                                         364 Long Beach Rd                                             Island Park, NY 11558                                                                                                     First Class Mail
Chartered Organization         Island Presbyterian Church                                     South Texas Council 577                                     14030 Fortuna Bay Dr                                          Corpus Christi, TX 78418‐6326                                                                                             First Class Mail
Voting Party                   Island School                                                  Attn: Katherine Ann Conway                                  3‐1875 Kaumualii Hwy                                          Lihue, HI 96766                                                                            kate@ischool.org               Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Island Trees Elementary Pta                                    Theodore Roosevelt Council 386                              100 Robin Pl                                                  Levittown, NY 11756‐5028                                                                                                  First Class Mail
Chartered Organization         Island Utd Methodist Church                                    Lincoln Heritage Council 205                                380 W Main St                                                 Island, KY 42350‐2171                                                                                                     First Class Mail
Chartered Organization         Island Village Montessori School                               Southwest Florida Council 088                               2001 Pinebrook Rd                                             Venice, FL 34292‐1560                                                                                                     First Class Mail
Chartered Organization         Island X‐7 Seabee Veterans Of America                          Ventura County Council 057                                  1442 Park Ave                                                 Port Hueneme, CA 93041‐2436                                                                                               First Class Mail
Chartered Organization         Island Yacht Club                                              Alameda Council Bsa 022                                     1815 Clement Ave                                              Alameda, CA 94501‐1376                                                                                                    First Class Mail
Voting Party                   Isle Lamotte United Methodist Church                           Attn: Treasurer, Sarah Peacock                              1685 Main St                                                  Isle Lamotte, VT 05463                                                                     spstamps@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Isle Lamotte United Methodist Church                           Garland Martin                                              P.O. Box 107                                                  N Hero, VT 05474                                                                           gchico@gmavt.net               Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Isle Of Faith Umc 1821 San Pablo Rd S Jacksonville, Fl 32224   c/o Bradley Arant Boult Cummings, LLP                       Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                                        erice@bradley.com              Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Isle Of Faith Utd Methodist Church                             North Florida Council 087                                   1821 San Pablo Rd S                                           Jacksonville, FL 32224‐1031                                                                                               First Class Mail
Voting Party                   Isle Of Hope United Methodist Church                           Attn: Mike Miller                                           412 Parkersburg Rd                                            Savannah, GA 31406                                                                         mmiller@iohumc.com             Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Isle Vfw Post                                                  Central Minnesota 296                                       P.O. Box 177                                                  Isle, MN 56342‐0177                                                                                                       First Class Mail
Chartered Organization         Isle Vfw Post 2762                                             Central Minnesota 296                                       P.O. Box 177                                                  Isle, MN 56342‐0177                                                                                                       First Class Mail
Voting Party                   Isleta United Methodist Church                                 Attn: William Owens                                         413 Main St, 2nd Fl                                           Coshocton, OH 43812                                                                        bill@owensmanning.com          Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Ismaili Jamatkhana                                             Three Fires Council 127                                     1847 La Salle Ave                                             Naperville, IL 60563‐9300                                                                                                 First Class Mail
Chartered Organization         Israel Baptist Church                                          National Capital Area Council 082                           1251 Saratoga Ave Ne                                          Washington, DC 20018‐1025                                                                                                 First Class Mail
Chartered Organization         Issaquah Highlands Council                                     Chief Seattle Council 609                                   2550 NE Park Dr                                               Issaquah, WA 98029‐2624                                                                                                   First Class Mail
Chartered Organization         Italian American Civic Org Berwyn                              Pathway To Adventure 456                                    6710 16th St                                                  Berwyn, IL 60402‐1325                                                                                                     First Class Mail
Chartered Organization         Italian Cultural Ctr, Inc                                      Baltimore Area Council 220                                  315 Homeland Southway                                         Baltimore, MD 21212‐4113                                                                                                  First Class Mail
Chartered Organization         Itasca Lions Club                                              Three Fires Council 127                                     P.O. Box 14                                                   Itasca, IL 60143‐0014                                                                                                     First Class Mail
Chartered Organization         Ithaca Sunrise Rotary                                          Baden‐Powell Council 368                                    P.O. Box 6565                                                 Ithaca, NY 14851‐6565                                                                                                     First Class Mail
Voting Party                   Ithaca United Methodist Church                                 Attn: Rev Gary Simmons                                      327 E Center St                                               Ithaca, MI 48847                                                                           pastorgarysimmons@gmail.cm     Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Itn International Inc                                          9696 S 500 W                                                Sandy, UT 84070‐2559                                                                                                                                                                    First Class Mail
Chartered Organization         It'S A Small World Elementary Pta                              South Florida Council 084                                   4617 NW 22nd Ave                                              Miami, FL 33142‐4012                                                                                                      First Class Mail
Voting Party                   Itw Food Equipment Group Llc                                   Hobart Service                                              P.O. Box 2517                                                 Carol Stream, IL 60132‐2517                                                                                               First Class Mail
Chartered Organization         Iu Health Ball Memorial Hospital                               Crossroads of America 160                                   2401 W University Ave                                         Muncie, IN 47303‐3428                                                                                                     First Class Mail
Chartered Organization         Iuka Rotary Club                                               Yocona Area Council 748                                     408 W Quitman St                                              Iuka, MS 38852‐1945                                                                                                       First Class Mail
Chartered Organization         Iupat District Counsil 15                                      Las Vegas Area Council 328                                  1701 Whitney Mesa Dr                                          Henderson, NV 89014‐2058                                                                                                  First Class Mail
Chartered Organization         Iva Fire Dept                                                  Blue Ridge Council 551                                      P.O. Box 84                                                   Iva, SC 29655‐0084                                                                                                        First Class Mail
Chartered Organization         Ivanhoe Neighborhood Council                                   Heart of America Council 307                                3700 Woodland Ave                                             Kansas City, MO 64109‐2761                                                                                                First Class Mail
Chartered Organization         Iveland Elementary Pto                                         Greater St Louis Area Council 312                           1836 Dyer Ave                                                 Saint Louis, MO 63114‐2404                                                                                                First Class Mail
Chartered Organization         Ivey Lane Rec Site                                             Central Florida Council 083                                 291 Silverton St                                              Orlando, FL 32811‐1745                                                                                                    First Class Mail
Voting Party                   Ivey Memorial Umc                                              c/o Bradley Arant Boult Cummings, LLP                       Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                                        erice@bradley.com              Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Ivey Memorial Utd Methodist Church                             Heart of Virginia Council 602                               17120 Jefferson Davis Hwy                                     South Chesterfield, VA 23834‐5333                                                                                         First Class Mail
Voting Party                   Ivey, Mcclellan, Gatton & Siegmund, LLP                        Attn: Dirk W Siegmund                                       100 S Elm St, Ste 500                                         Greensboro, NC 27401                                                                       dws@iveymcclellan.com          Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Ivey, Mcclellan, Gatton & Siegmund, LLP                        Dirk W Siegmund                                             100 S Elm St, Ste 500                                         Greensboro, NC 27401                                                                       dws@iveymcclellan.com          Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Ivy Academy                                                    Cherokee Area Council 556                                   8443 Dayton Pike                                              Soddy Daisy, TN 37379                                                                                                     First Class Mail
Chartered Organization         Ivy Drive School P T A                                         Connecticut Rivers Council, Bsa 066                         160 Ivy Dr                                                    Bristol, CT 06010‐3303                                                                                                    First Class Mail
Chartered Organization         Izaak Walton League                                            Hawkeye Area Council 172                                    5401 42nd St Ne                                               Cedar Rapids, IA 52411                                                                                                    First Class Mail
Chartered Organization         Izaak Walton League                                            Orange County Council 039                                   1280 N Harbor Blvd                                            Fullerton, CA 92832                                                                                                       First Class Mail
Chartered Organization         Izaak Walton League                                            Sagamore Council 162                                        1046 N State Rd 17                                            Logansport, IN 46947‐8764                                                                                                 First Class Mail
Chartered Organization         Izaak Walton League                                            Gamehaven 299                                               1546 58th St Sw                                               Owatonna, MN 55060                                                                                                        First Class Mail
Chartered Organization         Izaak Walton League ‐ Ames                                     Mid Iowa Council 177                                        P.O. Box 148                                                  Ames, IA 50010‐0148                                                                                                       First Class Mail
Chartered Organization         Izaak Walton League America Alexandria                         National Capital Area Council 082                           2729 Garrisonville Rd                                         Stafford, VA 22556‐3412                                                                                                   First Class Mail
Chartered Organization         Izaak Walton League America Eugene Ch                          Oregon Trail Council 697                                    P.O. Box 2247                                                 Eugene, OR 97402‐0078                                                                                                     First Class Mail
Chartered Organization         Izaak Walton League Arlington                                  Fairfax Chapter                                             P.O. Box 366                                                  Centreville, VA 20122‐0366                                                                                                First Class Mail
Chartered Organization         Izaak Walton League Arlington                                  Fairfax Chapter                                             National Capital Area Council 082                             P.O. Box 366                        Arlington Fairfax Chapter      Centreville, VA 20122                                  First Class Mail
Chartered Organization         Izaak Walton League Bcc                                        National Capital Area Council 082                           Izaak Walton League Way                                       Poolesville, MD 20837                                                                                                     First Class Mail
Chartered Organization         Izaak Walton League Berkeley Co Chapter                        Shenandoah Area Council 598                                 P.O. Box 1212                                                 Martinsburg, WV 25402‐1212                                                                                                First Class Mail
Chartered Organization         Izaak Walton League Of America                                 Dan Beard Council, Bsa 438                                  450 Beissinger Rd                                             Hamilton, OH 45013‐9738                                                                                                   First Class Mail
Chartered Organization         Izaak Walton League Of America                                 Anthony Wayne Area 157                                      17100 Griffin Rd                                              Huntertown, IN 46748‐9728                                                                                                 First Class Mail
Chartered Organization         Izaak Walton League Rockville Chapter                          National Capital Area Council 082                           18301 Waring Station Rd                                       Germantown, MD 20874‐2514                                                                                                 First Class Mail
Chartered Organization         Izaak Walton League/ Roc                                       National Capital Area Council 082                           18301 Waring Station Rd                                       Germantown, MD 20874‐2514                                                                                                 First Class Mail
Chartered Organization         J & C Crazy 8 Creations                                        Greater Tampa Bay Area 089                                  9058 Mccormick St                                             Spring Hill, FL 34608‐5541                                                                                                First Class Mail
Chartered Organization         J & L Heating                                                  Columbia‐Montour 504                                        442 Hollow Rd                                                 Bloomsburg, PA 17815‐6518                                                                                                 First Class Mail
Chartered Organization         J Angel Ministries Inc                                         Circle Ten Council 571                                      2408 Gilford St                                               Dallas, TX 75235‐3609                                                                                                     First Class Mail
Chartered Organization         J B Nelson Grade School Pto                                    Three Fires Council 127                                     304 William Wood Ln                                           Batavia, IL 60510                                                                                                         First Class Mail
Voting Party                   J Carey Keane                                                  Address Redacted                                                                                                                                                                                                     Email Address Redacted         Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         J Colin English Elementary School                              Southwest Florida Council 088                               120 Pine Island Rd                                            North Fort Myers, FL 33903‐3740                                                                                           First Class Mail
Firm                           J David Farris Law                                             John Fresh                                                  110 N 5th                                                     Atchison, KS 66002                                                                         john@ffwlegal.com              Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         J E Hobbs Pto                                                  Tukabatchee Area Council 005                                P.O. Box 578                                                  Camden, AL 36726‐0578                                                                                                     First Class Mail
Chartered Organization         J Erik Jonsson Community School ‐ Pta                          Circle Ten Council 571                                      106 E 10th St                                                 Dallas, TX 75203‐2236                                                                                                     First Class Mail
Chartered Organization         J F Hurley Family Ymca                                         Central N Carolina Council 416                              828 Jake Alexander Blvd W                                     Salisbury, NC 28147‐1220                                                                                                  First Class Mail
Chartered Organization         J F Swartsel Lodge 251 F&Am                                    Greater Tampa Bay Area 089                                  P.O. Box 1475                                                 Lutz, FL 33548‐1475                                                                                                       First Class Mail
Chartered Organization         J Franklin Bell Post 81                                        Theodore Roosevelt Council 386                              91 Sherman Ave                                                Woodmere, NY 11598‐1715                                                                                                   First Class Mail
Chartered Organization         J H Brooks Parent Teacher Club                                 Laurel Highlands Council 527                                1720 Hassam Rd                                                Moon Twp, PA 15108‐3251                                                                                                   First Class Mail
Chartered Organization         J Iverson Riddle Devtal Center                                 Piedmont Council 420                                        300 Enola Rd                                                  Morganton, NC 28655‐4608                                                                                                  First Class Mail
Chartered Organization         J J Maguire ‐ American Legion Post 28                          Daniel Webster Council, Bsa 330                             43 Church St                                                  Pembroke, NH 03275‐1529                                                                                                   First Class Mail
Chartered Organization         J L Long Middle School                                         Circle Ten Council 571                                      6116 Reiger Ave                                               Dallas, TX 75214‐4599                                                                                                     First Class Mail
Chartered Organization         J L Power Lodge                                                Pine Burr Area Council 304                                  35 Parkertown Rd                                              Mc Henry, MS 39561‐6042                                                                                                   First Class Mail
Voting Party                   J Michael Mowrer                                               203 College                                                 Kennett, MO 63857                                                                                                                                        mike@dmclawfirm.com            Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         J S Morton Elempto/Faithful Shepherd Pc                        Mid‐America Council 326                                     2530 S 165th Ave                                              Omaha, NE 68130‐1659                                                                                                      First Class Mail
Chartered Organization         J Tiger Martial Arts                                           National Capital Area Council 082                           10038 Southpoint Pkwy                                         Fredericksburg, VA 22407‐2705                                                                                             First Class Mail
Chartered Organization         J W Alvey Elementary School                                    National Capital Area Council 082                           5300 Waverly Farm Dr                                          Haymarket, VA 20169‐3179                                                                                                  First Class Mail
Chartered Organization         J W Cate Recreation Ctr                                        Greater Tampa Bay Area 089                                  5801 22nd Ave N                                               St Petersburg, FL 33710‐4203                                                                                              First Class Mail
Chartered Organization         J. Fred Corriher Ymca                                          Central N Carolina Council 416                              950 Kimball Rd                                                China Grove, NC 28023‐9594                                                                                                First Class Mail
Firm                           J. William Savage P.C.                                         620 SW Fifth Ave., Suite 1125                               Portland, OR 97204                                                                                                                                       jwsavage@earthlink.net         Email
                                                                                                                                                                                                                                                                                                                   jwlegalassist@earthlink.net    First Class Mail
Chartered Organization         J.E. Dubois Hose Co                                            Bucktail Council 509                                        301 1st St                                                    Du Bois, PA 15801‐3009                                                                                                    First Class Mail
Chartered Organization         J.E. Fisher American Legion Post 376                           Muskingum Valley Council, Bsa 467                           P.O. Box 135                                                  Junction City, OH 43748‐0135                                                                                              First Class Mail
Chartered Organization         J.J. White Memorial Presbyterian Church                        Andrew Jackson Council 303                                  110 3rd St                                                    Mccomb, MS 39648‐4141                                                                                                     First Class Mail
Chartered Organization         Ja Machuca Assoc Inc                                           Puerto Rico Council 661                                     285 PMB 1575                                                  Ponce, PR 00717                                                                                                           First Class Mail
Chartered Organization         Ja Swope Co                                                    Heart of America Council 307                                9311 W 81st Ter                                               Overland Park, KS 66204‐3211                                                                                              First Class Mail
Firm                           Jachimowicz Law Group                                          Joel Waelty (CA Bar# 226728) * Albie Jachimowicz (CA Bar#   1530 The Alameda, Suite 115                                   San Jose, CA 95126                                                                         joel@jachlawgroup.com          Email
                                                                                              104549)                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Jack Alwin Mcmahon                                             P.O. Box 97                                                 Lovelady, TX 75851                                                                                                                                       revjam31@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Jack B Friedman Attorney At Law                                Theodore Roosevelt Council 386                              393 Old Country Rd                                            Carle Pl, NY 11514‐2131                                                                                                   First Class Mail
Chartered Organization         Jack County Sheriff'S Office                                   Longhorn Council 662                                        1432 Fm 3344                                                  Jacksboro, TX 76458‐3126                                                                                                  First Class Mail
Voting Party                   Jack Furst                                                     c/o Boy Scouts of America                                   Attn: Chase Koontz                                            1325 W Walnut Hill Ln               Irving, TX 75015                                       jack@oakstreaminvestors.com    Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Jack Otto                                                      c/o Boy Scouts of America                                   Attn: Chase Koontz                                            1325 W Walnut Hill Ln               Irving, TX 75015                                       chase.koontz@scouting.org      Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Jack Price                                                     2800 Gull Rd                                                Kalamazoo, MI 49048                                                                                                                                      ka8aob@hotmail.com             Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Jackie Joyner Kersee Youth Foundation                          Greater St Louis Area Council 312                           101 Jackie Joyner Kersee Cir                                  East Saint Louis, IL 62204‐1742                                                                                           First Class Mail
Voting Party                   Jacksboro United Methodist Church                              P.O. Box 83                                                 Jacksboro, TN 37757                                                                                                                                      pastorkeithhampson@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Jackson Academy                                                Andrew Jackson Council 303                                  4908 Ridgewood Rd                                             Jackson, MS 39211‐5422                                                                                                    First Class Mail
Chartered Organization         Jackson Career Technology School                               West Tennessee Area Council 559                             668 Lexington Ave                                             Jackson, TN 38301‐5001                                                                                                    First Class Mail
Chartered Organization         Jackson Center                                                 Central Florida Council 083                                 1002 Carter St                                                Orlando, FL 32805‐3107                                                                                                    First Class Mail
Chartered Organization         Jackson Co Boys And Girls Club                                 Northeast Georgia Council 101                               412 Gordon St                                                 Jefferson, GA 30549‐6810                                                                                                  First Class Mail
Chartered Organization         Jackson Co Sheriff'S Office                                    Northeast Georgia Council 101                               555 General Jackson Dr                                        Jefferson, GA 30549‐2931                                                                                                  First Class Mail
Chartered Organization         Jackson Community Church                                       Daniel Webster Council, Bsa 330                             127 Main St                                                   Jackson, NH 03846                                                                                                         First Class Mail
Chartered Organization         Jackson County Lions Club                                      Longs Peak Council 062                                      P.O. Box                                                      Walden, CO 80480                                                                                                          First Class Mail
Chartered Organization         Jackson County Sheriff'S Office                                Southern Shores Fsc 783                                     212 W Wesley St                                               Jackson, MI 49201‐2229                                                                                                    First Class Mail
Chartered Organization         Jackson Elem School Pta                                        Last Frontier Council 480                                   520 Wylie Rd                                                  Norman, OK 73069‐5348                                                                                                     First Class Mail
Chartered Organization         Jackson Elementary P T O                                       Mid Iowa Council 177                                        3825 Indianola Ave                                            Des Moines, IA 50320‐1462                                                                                                 First Class Mail
Chartered Organization         Jackson Elementary Pta                                         Hawkeye Area Council 172                                    1300 38th St Nw                                               Cedar Rapids, IA 52405‐1938                                                                                               First Class Mail
Chartered Organization         Jackson Elementary Pta                                         Greater Tampa Bay Area 089                                  502 E Gilchrist St                                            Plant City, FL 33563‐3516                                                                                                 First Class Mail
Chartered Organization         Jackson Elks Lodge 2652                                        Greater St Louis Area Council 312                           542 W Independence St                                         Jackson, MO 63755‐1200                                                                                                    First Class Mail
Chartered Organization         Jackson Exchange Club                                          Southern Shores Fsc 783                                     1970 Kibby Rd                                                 Jackson, MI 49203‐3831                                                                                                    First Class Mail
Chartered Organization         Jackson Fire Dept Assoc                                        Bay‐Lakes Council 635                                       W204N16722 Jackson Dr                                         Jackson, WI 53037                                                                                                         First Class Mail
Chartered Organization         Jackson Hall Memorial Assoc                                    Chief Seattle Council 609                                   P.O. Box 1489                                                 Silverdale, WA 98383‐1489                                                                                                 First Class Mail
Chartered Organization         Jackson Heights School Parent Teachers                         Twin Rivers Council 364                                     Jackson Ave                                                   Glens Falls, NY 12801                                                                                                     First Class Mail
Chartered Organization         Jackson Lions Club                                             Golden Empire Council 047                                   3805 Buena Vista Rd                                           Ione, CA 95640‐9498                                                                                                       First Class Mail
Chartered Organization         Jackson Mills Volunteer Fire Co                                Jersey Shore Council 341                                    465B N County Line Rd                                         Jackson, NJ 08527                                                                                                         First Class Mail
Chartered Organization         Jackson Park Church Of The Brethren                            Sequoyah Council 713                                        100 Oak Grove Ave                                             Jonesborough, TN 37659‐1028                                                                                               First Class Mail
Chartered Organization         Jackson Park Pto                                               Greater St Louis Area Council 312                           7400 Balson Ave                                               University City, MO 63130‐2910                                                                                            First Class Mail
Chartered Organization         Jackson Park Yacht Club                                        Pathway To Adventure 456                                    6400 S Promontory Dr                                          Chicago, IL 60649‐1046                                                                                                    First Class Mail
Chartered Organization         Jackson Police Dept                                            West Tennessee Area Council 559                             234 Institute St                                              Jackson, TN 38301‐6828                                                                                                    First Class Mail
Chartered Organization         Jackson Township Elementary School Pto                         Crossroads of America 160                                   1860 E County Rd 600 N                                        Brazil, IN 47834‐8245                                                                                                     First Class Mail
Chartered Organization         Jackson Township Police Dept                                   Buckeye Council 436                                         7383 Fulton Dr Nw                                             Massillon, OH 44646‐9393                                                                                                  First Class Mail
Chartered Organization         Jackson Township Pto                                           Lasalle Council 165                                         811 N 400 E                                                   Valparaiso, IN 46383‐9748                                                                                                 First Class Mail
Chartered Organization         Jackson Township Station 55                                    Jersey Shore Council 341                                    113 N New Prospect Rd                                         Jackson, NJ 08527‐1359                                                                                                    First Class Mail
Chartered Organization         Jackson Twp Police Dept                                        Jersey Shore Council 341                                    102 Jackson Dr                                                Jackson, NJ 08527‐3400                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                     Page 170 of 442
                                                                                  Case 20-10343-LSS                                                                     Doc 8171                                             Filed 01/06/22                                                   Page 186 of 457
                                                                                                                                                                                                                Exhibit B
                                                                                                                                                                                                                 Service List
                                                                                                                                                                                                          Served as set forth below

        Description                                                        Name                                                                                                                               Address                                                                                                              Email              Method of Service
Chartered Organization         Jackson Twp Vol Fire Dept Of Luzerne Co                                   Northeastern Pennsylvania Council 501                    1160 Chase Rd                                                     Jackson Township, PA 18708‐9504                                                                        First Class Mail
Voting Party                   Jackson United Methodist Church                                           Attn: Lamar Chris Curry                                  P.O. Box 250                                                      Jacken, LA 70748                                                    lcurry12@mac.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Jackson Utd Methodist Church                                              Flint River Council 095                                  409 E 3rd St                                                      Jackson, GA 30233‐2067                                                                                 First Class Mail
Chartered Organization         Jackson Utd Methodist Church                                              Istrouma Area Council 211                                P.O. Box 250                                                      Jackson, LA 70748‐0250                                                                                 First Class Mail
Chartered Organization         Jackson Utd Methodist Church                                              East Carolina Council 426                                P.O. Box 767                                                      Jackson, NC 27845‐0767                                                                                 First Class Mail
Chartered Organization         Jackson Woods Presbyterian Church                                         South Texas Council 577                                  10500 Stonewall Blvd                                              Corpus Christi, TX 78410‐2426                                                                          First Class Mail
Chartered Organization         Jacksonville Applegate Rotary                                             Crater Lake Council 491                                  P.O. Box 1504                                                     Jacksonville, OR 97530‐1504                                                                            First Class Mail
Chartered Organization         Jacksonville Fire/Rescue                                                  North Florida Council 087                                2219 Burpee Dr                                                    Jacksonville, FL 32210‐3728                                                                            First Class Mail
Chartered Organization         Jacksonville Golf And Country Club                                        North Florida Council 087                                3985 Hunt Club Rd                                                 Jacksonville, FL 32224‐8416                                                                            First Class Mail
Chartered Organization         Jacksonville Jewish Center                                                North Florida Council 087                                3662 Crown Point Rd                                               Jacksonville, FL 32257‐5955                                                                            First Class Mail
Chartered Organization         Jacksonville Museum Of Military History                                   Quapaw Area Council 018                                  100 Veterans Cir                                                  Jacksonville, AR 72076‐4344                                                                            First Class Mail
Chartered Organization         Jacksonville Rotary Club                                                  East Texas Area Council 585                              P.O. Box 707                                                      Jacksonville, TX 75766‐0707                                                                            First Class Mail
Chartered Organization         Jacksonville Sheriff'S Office                                             North Florida Council 087                                501 E Bay St                                                      Jacksonville, FL 32202‐2927                                                                            First Class Mail
Voting Party                   Jacksonville United Methodist Church                                      Attn: Robert Mercer                                      17 Charles St                                                     Machias, ME 04654                                                   rmercer501@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Jacksonville United Methodist Church                                      Attn: Robert Mercer                                      P.O. Box 59                                                       E Machias, ME 04630                                                 rmercer501@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Jackwise Catholic Communities                                             Longhorn Council 662                                     1305 Deer Park Rd                                                 Decatur, TX 76234‐4410                                                                                 First Class Mail
Chartered Organization         Jacob Elementary                                                          Lincoln Heritage Council 205                             3701 E Wheatmore Dr                                               Louisville, KY 40215‐6600                                                                              First Class Mail
Firm                           JACOB LAW GROUP, LLC                                                      FREDERICK A. JACOB, ESQ                                  600 W. MAIN ST., P.O. BOX 429                                     MILLVILLE, NJ 08332                                                 fredj@sjtrialfirm.com              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Jacob Wismer Elementary Pto                                               Cascade Pacific Council 492                              5477 NW Skycrest Pkwy                                             Portland, OR 97229‐2306                                                                                First Class Mail
Firm                           Jacobs & Crumplar, P.A.                                                   Raeam Wama, Esq.                                         750 Shipyard Dr., Ste. 200                                        Wilmington, DE 19801                                                raeann@jcdelaw.com                 Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Jacobs Chapel United Methodist Church                                     Attn: Cassandra Y Porter                                 5907 Lake Placid                                                  San Antonio, TX 78222                                               cassandrayp@aol.com                Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Jacobs Chapter United Methodist Church                                    Cassandra Yvonne Porter                                  406 S Polaris St                                                  San Antonio, TX 78203                                               cassandrayp@aol.com                Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Jacob'S Well Church                                                       Chippewa Valley Council 637                              P.O. Box 449                                                      Eau Claire, WI 54702‐0449                                                                              First Class Mail
Voting Party                   Jacobs, Jean                                                              Address Redacted                                                                                                                                                                               Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Jacobstown Fire Co Ems                                                    Garden State Council 690                                 86 Chesterfield Jacobstown Rd                                     Wrightstown, NJ 08562‐1917                                                                             First Class Mail
Chartered Organization         Jagemann Stamping Co                                                      Bay‐Lakes Council 635                                    5757 W Custer St                                                  Manitowoc, WI 54220‐9790                                                                               First Class Mail
Voting Party                   Jaggard First Umc (1261)                                                  c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Jaggard First Umc (176132)                                                c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Jaguar Battalion‐Sern Uni Rotc                                            Istrouma Area Council 211                                P.O. Box 9334                                                     Baton Rouge, LA 70813‐0001                                                                             First Class Mail
Chartered Organization         Jakarta International School                                              Far E Council 803                                        Jl Terogong Raya 33                                               Jakarta, 12430                     Indonesia                                                           First Class Mail
Chartered Organization         Jakes Branch County Park                                                  Jersey Shore Council 341                                 1100 Double Trouble Rd                                            Beachwood, NJ 08722‐2448                                                                               First Class Mail
Chartered Organization         Jamaica Hospital Medical Center                                           Greater New York Councils, Bsa 640                       8900 Van Wyck Expy                                                Richmond Hill, NY 11418‐2832                                                                           First Class Mail
Chartered Organization         James A Garfield School                                                   Lake Erie Council 440                                    3800 W 140th St                                                   Cleveland, OH 44111‐4972                                                                               First Class Mail
Voting Party                   James A Marr                                                              3201 NW 63rd St                                          Oklahoma City, OK 73116                                                                                                               Jim@jamesmarrcpa.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   James A. Ryffel                                                           c/o Boy Scouts of America                                Attn: Chase Koontz                                                1325 W Walnut Hill Ln              Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         James B Edmonson Pto                                                      Great Lakes Fsc 272                                      621 E Katherine Ave                                               Madison Heights, MI 48071‐2837                                                                         First Class Mail
Chartered Organization         James B Edwards Elementary School Pta                                     Coastal Carolina Council 550                             855 Von Kolnitz Rd                                                Mt Pleasant, SC 29464‐3238                                                                             First Class Mail
Voting Party                   James Bello                                                               Address Redacted                                                                                                                                                                                                                  First Class Mail
Voting Party                   James C Rogers Jr                                                         101 W Eldorado Pkwy                                      Little Elm, TX 75068                                                                                                                  pastor@buttonchurch.org            Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         James City Fire/Ems Dept                                                  Colonial Virginia Council 595                            5077 John Tyler Hwy                                               Williamsburg, VA 23185‐2501                                                                            First Class Mail
Voting Party                   James Coldwell                                                            Address Redacted                                                                                                                                                                                                                  First Class Mail
Chartered Organization         James Culter American Legion Post 39                                      Coronado Area Council 192                                317 N Spruce St                                                   Abilene, KS 67410‐2641                                                                                 First Class Mail
Chartered Organization         James D Price School                                                      Grand Canyon Council 010                                 1010 Barranca Rd                                                  Yuma, AZ 85365                                                                                         First Class Mail
Voting Party                   James D Rogers                                                            c/o Boy Scouts of America                                Attn: Chase Koontz                                                1325 W Walnut Hill Ln              Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         James E Allen Elementary School                                           Suffolk County Council Inc 404                           762 Deer Park Rd                                                  Dix Hills, NY 11746‐6221                                                                               First Class Mail
Chartered Organization         James E Allen Learning Center Melville                                    Septa                                                    35 Carman Rd                                                      Dix Hills, NY 11746‐5651                                                                               First Class Mail
Chartered Organization         James Edward Gray Al Post 100                                             Pony Express Council 311                                 P.O. Box 371                                                      Maryville, MO 64468‐0371                                                                               First Class Mail
Firm                           James F Misiano PC                                                        James F. Misiano                                         130 3rd Ave                                                       Brentwood, NY 11717                                                 jmisiano@misianolaw.com            Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         James F Pearson American Legion Post 410                                  Alamo Area Council 583                                   P.O. Box 888                                                      Lakehills, TX 78063‐0888                                                                               First Class Mail
Chartered Organization         James F Smith American Legion Post 15                                     Indian Nations Council 488                               401 W Broadway St                                                 Muskogee, OK 74401‐6617                                                                                First Class Mail
Chartered Organization         James F Smith American Legion Post 15                                     Indian Nations Council 488                               P.O. Box 705                                                      Muskogee, OK 74402‐0705                                                                                First Class Mail
Firm                           James F. Humphreys & Associates, L.C                                      James A. McKowen                                         112 Capitol Street, Second Floor                                  Charleston, WV 25301                                                jmckowen@jfhumphreys.com           Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   James Florack                                                             50 Central Park W, Apt 3A                                New York, NY 10023                                                                                                                                                       First Class Mail
Chartered Organization         James G Blaine Elementary School                                          Cradle of Liberty Council 525                            3001 W Berks St                                                   Philadelphia, PA 19121‐1801                                                                            First Class Mail
Chartered Organization         James Garfield 31 After School                                            Crossroads of America 160                                307 Lincoln St                                                    Indianapolis, IN 46225‐1819                                                                            First Class Mail
Chartered Organization         James H Spire Post 787 American Legion                                    Longhouse Council 373                                    Cicero Legion Hall                                                Cicero, NY 13039                                                                                       First Class Mail
Chartered Organization         James H Teel Post 105‐American Legion                                     Cherokee Area Council 469 469                            501 Washington Blvd                                               Bartlesville, OK 74006                                                                                 First Class Mail
Firm                           James Harris Law, PLLC                                                    James Harris, Esq                                        1001 Fourth Avenue, 3200                                          Seattle, WA 98154                                                   jimharris@recallsuit.com           Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Firm                           James Harris Law, PLLC                                                    James Harris, Esq                                        4616 25th Avenue NE, # 772                                        Seattle, WA 98105                                                                                      First Class Mail
Chartered Organization         James J Brown Vfw Post 8385                                               Coastal Georgia Council 099                              150 Camden Woods Pkwy E                                           Kingsland, GA 31548‐6544                                                                               First Class Mail
Chartered Organization         James J Rice Amvets Post 28                                               The Spirit of Adventure 227                              33 Romsey St                                                      Dorchester, MA 02125‐1312                                                                              First Class Mail
Chartered Organization         James Jackson Elementary                                                  Atlanta Area Council 092                                 7711 Mount Zion Blvd                                              Jonesboro, GA 30236‐2440                                                                               First Class Mail
Chartered Organization         James K Polk School Pta                                                   National Capital Area Council 082                        5000 Polk Ave                                                     Alexandria, VA 22304‐1908                                                                              First Class Mail
Chartered Organization         James L Melvin Post 379                                                   The Spirit of Adventure 227                              P.O. Box 278                                                      West Boxford, MA 01885‐0278                                                                            First Class Mail
Chartered Organization         James L Steen Jr Al Post 836                                              French Creek Council 532                                 P.O. Box 63                                                       Cochranton, PA 16314‐0063                                                                              First Class Mail
Voting Party                   James Lee Green                                                           12927 Cherry Way                                         Thornton, CO 80241                                                                                                                    nsgreen102@msn.com                 Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         James Madison School Pta                                                  Northern Lights Council 429                              1040 29th St N                                                    Fargo, ND 58102‐3157                                                                                   First Class Mail
Chartered Organization         James Mc Henry Recreation Ctr                                             Baltimore Area Council 220                               911 Hollins St                                                    Baltimore, MD 21223‐2536                                                                               First Class Mail
Chartered Organization         James Mchenry Elementary                                                  Baltimore Area Council 220                               31 S Schroeder St                                                 Baltimore, MD 21223‐2559                                                                               First Class Mail
Voting Party                   James P Foster                                                            57 French Creek Dr                                       Rochester, NY 14618                                                                                                                   jpfoster.foster@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   James R Anderson Law Office                                               James R Anderson                                         600 Mamaroneck Ave, Ste 400                                       Harrison, NY 10528                                                  janderson10528@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         James Riley School Pto                                                    Pathway To Adventure 456                                 1209 E Burr Oak Dr                                                Arlington Heights, IL 60004‐1660                                                                       First Class Mail
Chartered Organization         James River Assoc                                                         Heart of Virginia Council 602                            211 Rocketts Way, Ste 200                                         Richmond, VA 23231‐3069                                                                                First Class Mail
Voting Party                   James Ross                                                                c/o Andrews & Thornton                                   4701 Von Karman Ave, Ste 300                                      Newport Beach, CA 92660                                             BSA@AndrewsThornton.com            Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         James Rumsey Technical Institute                                          Shenandoah Area Council 598                              3274 Hedgesville Rd                                               Martinsburg, WV 25403‐0259                                                                             First Class Mail
Chartered Organization         James Russell Ips 51 After School                                         Crossroads of America 160                                3426 Roosevelt Ave                                                Indianapolis, IN 46218‐3762                                                                            First Class Mail
Voting Party                   James S. Turley                                                           c/o Boy Scouts of America                                Attn: Chase Koontz                                                1325 W Walnut Hill Ln              Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   James S. Wilson                                                           c/o Boy Scouts of America                                Attn: Chase Koontz                                                1325 W Walnut Hill Ln              Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   James Shillington                                                         Address Redacted                                                                                                                                                                               Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         James Stoner Vfw Post 6233                                                French Creek Council 532                                 3747 New Castle Rd                                                West Middlesex, PA 16159‐2831                                                                          First Class Mail
Chartered Organization         James T Alton Middle School                                               Lincoln Heritage Council 205                             100 Country Club Rd                                               Vine Grove, KY 40175‐1169                                                                              First Class Mail
Chartered Organization         James T Anderson Boys And Girls Club                                      Atlanta Area Council 092                                 529 Manget St Se                                                  Marietta, GA 30060‐2729                                                                                First Class Mail
Voting Party                   James T Nuckolls Jr                                                       Address Redacted                                                                                                                                                                                                                  First Class Mail
Chartered Organization         James Templeton Pso                                                       Cascade Pacific Council 492                              9500 SW Murdock St                                                Portland, OR 97224‐5707                                                                                First Class Mail
Chartered Organization         James V Kavanaugh Columbian Club                                          Suffolk County Council Inc 404                           P.O. Box 591                                                      Mastic, NY 11950‐0591                                                                                  First Class Mail
Firm                           James Vernon & Weeks, P.A.                                                Craig K. Vernon; Brady L. Espeland; R. Charles Beckett   1626 Lincoln Way                                                  Coeur d'Alene, ID 83814                                             cvernon@jvwlaw.net                 Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         James W Lilley Jr Home & School Assoc                                     Garden State Council 690                                 1275 Williamstown Erial Rd                                        Sicklerville, NJ 08081                                                                                 First Class Mail
Chartered Organization         Jamesburg Presbyterian Church                                             Monmouth Council, Bsa 347                                177 Gatzmer Ave                                                   Jamesburg, NJ 08831‐1356                                                                               First Class Mail
Chartered Organization         Jamestown Branch, Fargo Nd Stake                                          Northern Lights Council 429                              237 2nd St Se                                                     Jamestown, ND 58401                                                                                    First Class Mail
Voting Party                   Jamestown First United Methodist Church                                   Attn: Barry Bradshaw                                     200 N Main St                                                     Jamestown, KY 42629                                                 bbradshaw@duo‐county.com           Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Jamestown Friends Church                                                  Tecumseh 439                                             48 E Washington St                                                Jamestown, OH 45335‐1652                                                                               First Class Mail
Chartered Organization         Jamestown Knights Of Columbus 1883                                        Northern Lights Council 429                              519 1st Ave S                                                     Jamestown, ND 58401‐4252                                                                               First Class Mail
Chartered Organization         Jamestown Presbyterian Church                                             Old N State Council 070                                  1804 Guilford College Rd                                          Jamestown, NC 27282‐9307                                                                               First Class Mail
Chartered Organization         Jamestown Presbyterian Church                                             French Creek Council 532                                 411 Liberty St                                                    Jamestown, PA 16134‐9189                                                                               First Class Mail
Chartered Organization         Jamestown Presbyterian Church                                             Colonial Virginia Council 595                            3287 Ironbound Rd                                                 Williamsburg, VA 23188‐2429                                                                            First Class Mail
Voting Party                   Jamestown Presbyterian Church                                             c/o Treasurer                                            411 Liberty St                                                    Jamestown, PA 16134                                                 jpc411@windstream.net              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Jamestown Presbyterian Church                                             Attn: Janeen Mihoci                                      8288 Linesville Rd                                                Hartstown, PA 16131                                                 jnj900@windstream.net              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Jamestown Rotary Club                                                     Narragansett 546                                         P.O. Box 652                                                      Jamestown, RI 02835‐0652                                                                               First Class Mail
Voting Party                   Jamestown United Methodist Church                                         Attn: Mark Steven King, II                               42 S High St                                                      Jamestown, IN 46147                                                 steve.king@inumc.org               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Jamestown United Methodist Church                                         Attn: Pastor                                             P.O. Box 173                                                      Jamestown, IN 46147                                                 steve.king@inumc.org               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Jamestown United Methodist Church                                         Attn: Sharon Shinn                                       59218 County Rd 3                                                 Elkhart, IN 46517                                                   jamestownumc@comcast.net           Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Jamestown United Methodist Church, Inc.                                   c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Jamestown Utd Methodist Church                                            Old N State Council 070                                  P.O. Box 339                                                      Jamestown, NC 27282‐0339                                                                               First Class Mail
Chartered Organization         Jamestown Volunteer Firemens Assoc                                        French Creek Council 532                                 208 Depot St                                                      Jamestown, PA 16134                                                                                    First Class Mail
Voting Party                   Jamesville Community Church                                               Robert D Shallish, Jr                                    4375 Olympus Heights                                              Syracuse, NY 13215                                                  rshallish@aol.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Jamesville Community Church                                               Attn: Treasurer, Jamesville Community Church             P.O. Box 277                                                      6300 E Seneca Turnpike             Jamesville, NY 13078             rshallish@aol.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Jamieson Memorial Umc                                                     c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Jamieson Memorial Utd Methodist Ch                                        Heart of Virginia Council 602                            219 5th St                                                        Clarksville, VA 23927‐9276                                                                             First Class Mail
Chartered Organization         Jamul Community Church                                                    San Diego Imperial Council 049                           14866 Lyons Valley Rd                                             Jamul, CA 91935‐3406                                                                                   First Class Mail
Chartered Organization         Jana Elementary Pta                                                       Greater St Louis Area Council 312                        405 Jana Dr                                                       Florissant, MO 63031‐1611                                                                              First Class Mail
Chartered Organization         Jane Adams Pto                                                            Great Lakes Fsc 272                                      14025 Berwyn                                                      Redford, MI 48239‐2904                                                                                 First Class Mail
Chartered Organization         Jane Boyd/Cedar Valley Achievement Acad                                   Hawkeye Area Council 172                                 3000 J St Sw                                                      Cedar Rapids, IA 52404‐4562                                                                            First Class Mail
Chartered Organization         Jane Boyd/Johnson Achievement Academy                                     Hawkeye Area Council 172                                 355 18th St Se                                                    Cedar Rapids, IA 52403‐2236                                                                            First Class Mail
Chartered Organization         Jane Hambric School                                                       Yucca Council 573                                        3524 Breckenridge Dr                                              El Paso, TX 79936‐1004                                                                                 First Class Mail
Voting Party                   Janes United Methodist Church                                             Attn: Orleane Brooks                                     660 Monroe St                                                     Brooklyn, NY 11221                                                  janesumc@netzero.net               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Janesville Firefighters Local 580 /                                       Glaciers Edge Council 620                                303 Milton Ave                                                    Janesville, WI 53545‐3151                                                                              First Class Mail
Chartered Organization         Janesville Lions Club                                                     Winnebago Council, Bsa 173                               P.O. Box 238                                                      Janesville, IA 50647‐0238                                                                              First Class Mail
Chartered Organization         Janesville Police Dept                                                    Glaciers Edge Council 620                                100 N Jackson St                                                  Janesville, WI 53548‐2949                                                                              First Class Mail
Voting Party                   Janesville United Methodist Church                                        424 Sycamore St                                          Janesville, IA 50647                                                                                                                  janesvilleumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Janesvilles Fire Volunteer Assoc                                          Nevada Area Council 329                                  P.O. Box 40                                                       Janesville, CA 96114‐0040                                                                              First Class Mail
Voting Party                   Janet Hunt                                                                324 N 3rd St                                             Dekalb, IL 60115                                                                                                                      office@firstdekalb.org             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Firm                           Janet, Janet & Suggs, LLC                                                 Andrew S. Janet                                          4 Reservoir Circle, Ste 200                                       Baltimore, MD 21208                                                 gjowers@jjsjustice.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Firm                           Janet, Janet & Suggs, LLC                                                 Richard M. Serbin                                        1522 N. 6th Avenue                                                Altoona, PA 16601                                                   rms@serbinlaw.net                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Janice Bryant Howroyd                                                     c/o Boy Scouts of America                                Attn: Chase Koontz                                                1325 W Walnut Hill Ln              Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Janice S Bloom                                                            Address Redacted                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Janowski Elementary                                                       Sam Houston Area Council 576                             7500 Bauman Rd                                                    Houston, TX 77022‐6125                                                                                 First Class Mail
Chartered Organization         Japan Mobility Kk                                                         Far E Council 803                                        Hf Fushimi Bldg 1‐18‐24 Nishiki                                   Nagoya,                            Japan                                                               First Class Mail
Voting Party                   Japanese American United Church                                           Attn: Rika Marubashi                                     255 7th Ave                                                       New York, NY 10001                                                  infojauc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Firm                           Jaroslawicz & Jaros                                                       David Jaroslawicz                                        225 Broadway                                                      New York, NY 10007                                                  ajaros@lawjaros.com                Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Jarrettown Elementary School Pta                                          Cradle of Liberty Council 525                            1520 Limekiln Pike                                                Dresher, PA 19025‐1112                                                                                 First Class Mail
Voting Party                   Jarrettsville United Methodist Church                                     Attn: Ed Honabach                                        P.O. Box 95                                                       Jarrettsville, MD 21084                                             EHONABACH@VERIZON.NET              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Jarrettsville Utd Methodist Church                                        Baltimore Area Council 220                               1733 Jarrettsville Rd                                             Jarrettsville, MD 21084‐1523                                                                           First Class Mail
Voting Party                   Jarvis Memorial Umc                                                       Attn: Wendy Blum                                         510 S Washington St                                               Greenville, NC 27858                                                jarvisumc.finance@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Jarvis Memorial Utd Methodist Church                                      East Carolina Council 426                                510 S Washington St                                               Greenville, NC 27858‐2301                                                                              First Class Mail
Chartered Organization         Jarvis Utd Methodist Church                                               East Carolina Council 426                                510 S Washington St                                               Greenville, NC 27858‐2301                                                                              First Class Mail
Firm                           Jason J. Joy & Associates, PLLC                                           Jason J. Joy, Laura Baughman, Ben C. Martin              909 Texas Street, Ste 1801                                        Houston, TX 77002                                                   Chad@IchorConsulting.com           Email
                                                                                                                                                                                                                                                                                                        Jason@JasonJoyLaw.com              First Class Mail
Firm                           Jason J. Joy & Associate and J. Chad Edwards, Esq. dba Ichor Consulting   J Chad Edwards                                           3626 N Hall St (Two Oak Lawn) Ste 610                             Dallas, TX 75219                                                    Chad@lchorConsulting.com           Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Jason Lee Harris                                                          301 Bamboo Rd                                            Laplace, LA 70068                                                                                                                     fumcoffice@hotmail.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Jason Mark Stein                                                          973 Nevada Ave                                           San Jose, CA 95125                                                                                                                    jmstein@comcast.net                Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Jason Moore                                                               Address Redacted                                                                                                                                                                                                                  First Class Mail
Voting Party                   Jason Stein                                                               Address Redacted                                                                                                                                                                               Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                 Page 171 of 442
                                                                                 Case 20-10343-LSS                                        Doc 8171                                             Filed 01/06/22                                                    Page 187 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                       Name                                                                                                  Address                                                                                                              Email               Method of Service
Voting Party                   Jason White                                                  Address Redacted                                                                                                                                                               Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jasonville American Legion Post 172                          Hoosier Trails Council 145 145          231 W Main St                                                     Jasonville, IN 47438‐1408                                                                               First Class Mail
Voting Party                   Jaspan Schlesinger, LLP                                      Attn: Sophia A Perna‐Plank              300 Garden City Plz 5th Fl                                        Garden City, NY 11530                                                spernaplank@jaspanllp.com          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jasper County Sheriff Office                                 Ozark Trails Council 306                405 E 5th St                                                      Carthage, MO 64836‐1542                                                                                 First Class Mail
Chartered Organization         Jasper High School Jrotc                                     Black Warrior Council 006               1501 Viking Dr                                                    Jasper, AL 35501‐4942                                                                                   First Class Mail
Chartered Organization         Jasper Lions Club                                            Three Rivers Council 578                P.O. Box 932                                                      Jasper, TX 75951‐0010                                                                                   First Class Mail
Chartered Organization         Jasper Police Dept                                           Black Warrior Council 006               1610 Alabama Ave                                                  Jasper, AL 35501‐4720                                                                                   First Class Mail
Voting Party                   Jasper United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jasper Utd Methodist Church                                  Atlanta Area Council 092                85 W Church St                                                    Jasper, GA 30143‐1610                                                                                   First Class Mail
Firm                           Javaherian & Ruszecki                                        Mark Ruszecki                           1900 Avenue of the Stars, #310                                    Los Angeles, CA 90067                                                mark@jarulaw.com                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Javerbaum Wurgaft Hicks Kahn Wikstrom & Sinins, P.C.         Michael A. Galpern, Esq                 1000 Haddonfield‐Berlin Roadm Ste 203                             Voorhees, NJ 08043                                                   mgalpern@lawjw.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Javerbaum Wurgaft Hicks Kahn Wikstrom & Sinins, P.C.         Rubin M. Sinins                         505 Morris Ave., Ste 200                                          Springfield, NJ 07081                                                rsinins@lawjw.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Javier O De La Garzay Dds Pa                                 Rio Grande Council 775                  461 N Westgate Dr                                                 Weslaco, TX 78596‐2705                                                                                  First Class Mail
Chartered Organization         Jay County Scout Facilities Inc                              Anthony Wayne Area 157                  4512 Waste Management Dr                                          Portland, IN 47371                                                                                      First Class Mail
Voting Party                   Jay E Bunting                                                P.O. Box 486                            Davis, WV 26260                                                                                                                                                           First Class Mail
Chartered Organization         Jb Stephens Elementary School                                Crossroads of America 160               1331 N Blue Rd                                                    Greenfield, IN 46140‐8903                                                                               First Class Mail
Voting Party                   Jbp Printing Associates                                      Attn: William Faas                      106 Cabell St, P.O. Box 606                                       Crewe, VA 23930                                                      jbpprinting@gmail.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jbsa Lackland Top‐3 Assoc                                    Alamo Area Council 583                  102 Hall Blvd, Ste 230                                            San Antonio, TX 78243‐7046                                                                              First Class Mail
Chartered Organization         Jc Penny Realty                                              Central Florida Council 083             8701 W Ibm Hwy, Ste 200                                           Kissimmee, FL 34747‐8223                                                                                First Class Mail
Chartered Organization         Jcc Chicago                                                  Northeast Illinois 129                  300 Revere Dr                                                     Northbrook, IL 60062‐1589                                                                               First Class Mail
Chartered Organization         Jcm Corp                                                     Chief Seattle Council 609               24323 Bothell Everett Hwy                                         Bothell, WA 98021‐9345                                                                                  First Class Mail
Chartered Organization         Jdfpg Recreation Committee                                   Far E Council 803                       Psc 276 Box 138                                                   Apo, AP 96548‐0002                                                                                      First Class Mail
Voting Party                   Jds Industries                                               P.O. Box 84806                          Sioux Falls, SD 57118‐4806                                                                                                                                                First Class Mail
Chartered Organization         Je Dunn Construction Co                                      Heart of America Council 307            1001 Locust St                                                    Kansas City, MO 64106‐1904                                                                              First Class Mail
Voting Party                   Jeanette Prenger                                             c/o Boy Scouts of America               Attn: Chase Koontz                                                1325 W Walnut Hill Ln             Irving, TX 75015                   chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jeanne Arnold                                                c/o Boy Scouts of America               Attn: Chase Koontz                                                1325 W Walnut Hill Ln             Irving, TX 75015                   8tu1dor5@gmail.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jeanne'S Tax Service                                         Longhorn Council 662                    P.O. Box 39                                                       Bremond, TX 76629‐0039                                                                                  First Class Mail
Chartered Organization         Jeannette Myhre 21St Century                                 Northern Lights Council 429             919 S 12th St                                                     Bismarck, ND 58504‐5977                                                                                 First Class Mail
Voting Party                   Jeddo Umc                                                    Attn: Dale A Logghe, Ad Board Chair     P.O. Box 7                                                        Jeddo, MI 48032                                                      dlogghe@tir.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jeds Hardware                                                Sam Houston Area Council 576            5415 Aldine Mail Rte                                              Houston, TX 77039‐4921                                                                                  First Class Mail
Firm                           Jeff Anderson & Associates P.A                               Michael Finnegan                        366 Jackson St., Ste. 100                                         St. Paul, MN 55101                                                   mike@andersonadvocates.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Jeff Anderson & Associates P.A                               Michael Finnegan                        366 Jackson Street, Ste 100                                       St. Paul, MN 55101                                                   mike@andersonadvocates.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Jeff Anderson & Associates P.A                               Patrick Stoneking                       366 Jackson St., Ste. 100                                         St. Paul, MN 55101                                                   pstoneking@andersonadvocates.com   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jeff Maki                                                    Troop 0001‐Berlin Board of Trade        51 Village Ct                                                     Berlin, MA 01503                                                                                        First Class Mail
Chartered Organization         Jeffco Boys Girls Club                                       Denver Area Council 061                 1275 S Teller St                                                  Lakewood, CO 80232‐5405                                                                                 First Class Mail
Chartered Organization         Jefferson ‐ Saint Marys Church                               Heart of New England Council 230        114 Princeton St                                                  Jefferson, MA 01522                                                                                     First Class Mail
Chartered Organization         Jefferson Academy                                            Denver Area Council 061                 9955 Yarrow St                                                    Broomfield, CO 80021‐4048                                                                               First Class Mail
Chartered Organization         Jefferson Afterschool Program                                Overland Trails 322                     2808 O Flannagan St                                               Grand Island, NE 68803‐1331                                                                             First Class Mail
Chartered Organization         Jefferson Christian Church                                   Daniel Webster Council, Bsa 330         Presidential Hwy                                                  Jefferson, NH 03583                                                                                     First Class Mail
Chartered Organization         Jefferson City Breakfast Lions Club                          Great Rivers Council 653                10616 W Lohman Rd                                                 Lohman, MO 65053‐9306                                                                                   First Class Mail
Chartered Organization         Jefferson City Police Dept                                   Great Rivers Council 653                401 Monroe St                                                     Jefferson City, MO 65101‐3120                                                                           First Class Mail
Chartered Organization         Jefferson County Sheriffs Dept                               Denver Area Council 061                 200 Jefferson County Pkwy                                         Golden, CO 80401‐6008                                                                                   First Class Mail
Chartered Organization         Jefferson Elementary School Pto                              Twin Rivers Council 364                 100 Princetown Rd                                                 Schenectady, NY 12306‐1506                                                                              First Class Mail
Chartered Organization         Jefferson Fire And Rescue                                    Pine Tree Council 218                   204 Waldoboro Rd                                                  Jefferson, ME 04348                                                                                     First Class Mail
Chartered Organization         Jefferson Fire Co 2                                          Patriots Path Council 358               P.O. Box 5                                                        Lake Hopatcong, NJ 07849‐0005                                                                           First Class Mail
Chartered Organization         Jefferson First Baptist Church                               Northeast Georgia Council 101           246 Washington St                                                 Jefferson, GA 30549‐6661                                                                                First Class Mail
Voting Party                   Jefferson First United Methodist Church                      Attn: Brenda Lucas                      P.O. Box 457                                                      305 W Henderson St                Jefferson, TX 75657                fumc305jef@aol.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jefferson High School                                        Longs Peak Council 062                  1315 4th Ave                                                      Greeley, CO 80631‐4101                                                                                  First Class Mail
Chartered Organization         Jefferson Jr High School                                     Longs Peak Council 062                  1315 4th Ave                                                      Greeley, CO 80631‐4101                                                                                  First Class Mail
Chartered Organization         Jefferson Pta (St Clair)                                     Greater St Louis Area Council 312       1400 N Charles St                                                 Belleville, IL 62221‐4858                                                                               First Class Mail
Chartered Organization         Jefferson Pto                                                Sioux Council 733                       1701 N Maple                                                      Watertown, SD 57201‐6806                                                                                First Class Mail
Chartered Organization         Jefferson Railway & Wetlands Fndn                            East Texas Area Council 585             P.O. Box 1033                                                     Jefferson, TX 75657‐6033                                                                                First Class Mail
Chartered Organization         Jefferson Ruritan Club                                       National Capital Area Council 082       P.O. Box 415                                                      Jefferson, MD 21755‐0415                                                                                First Class Mail
Voting Party                   Jefferson Ruritan Club                                       Attn: Jay M House                       4144 Remsburg Rd                                                  Jefferson, MD 21755                                                  bballforus@comcast.net             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jefferson Rvii Pto                                           Greater St Louis Area Council 312       1250 Dooling Hollow Rd                                            Festus, MO 63028‐4276                                                                                   First Class Mail
Chartered Organization         Jefferson School Community Club Of Huron                     Sioux Council 733                       855 Utah Ave Se                                                   Huron, SD 57350‐2856                                                                                    First Class Mail
Chartered Organization         Jefferson School Parent Teachers                             Twin Rivers Council 364                 Organization                                                      Princetown Rd                     Schenectady, NY 12306                                                 First Class Mail
Chartered Organization         Jefferson School Pta                                         Mid Iowa Council 177                    2425 Watrous Ave                                                  Des Moines, IA 50321‐2146                                                                               First Class Mail
Chartered Organization         Jefferson School Pta                                         Suffolk County Council Inc 404          253 Oakwood Rd                                                    Huntington, NY 11743‐5100                                                                               First Class Mail
Chartered Organization         Jefferson School Ptg                                         Inland Nwest Council 611                3612 S Grand Blvd                                                 Spokane, WA 99203‐2625                                                                                  First Class Mail
Chartered Organization         Jefferson School Pto                                         W D Boyce 138                           220 E Jefferson St                                                Morton, IL 61550‐2003                                                                                   First Class Mail
Chartered Organization         Jefferson School Pto                                         Patriots Path Council 358               1200 Blvd                                                         Westfield, NJ 07090‐2726                                                                                First Class Mail
Chartered Organization         Jefferson School Pto Summit                                  Patriots Path Council 358               110 Ashwood Ave                                                   Summit, NJ 07901‐3822                                                                                   First Class Mail
Chartered Organization         Jefferson Schools                                            Southern Shores Fsc 783                 5102 N Stony Creek Rd R                                           Monroe, MI 48162‐9158                                                                                   First Class Mail
Chartered Organization         Jefferson Scouters                                           Cascade Pacific Council 492             3191 NE Rachel Ct                                                 Albany, OR 97321‐3200                                                                                   First Class Mail
Chartered Organization         Jefferson State Community College                            Greater Alabama Council 001             4600 Valleydale Rd                                                Birmingham, AL 35242‐4607                                                                               First Class Mail
Chartered Organization         Jefferson Township Lions Club                                Northeastern Pennsylvania Council 501   Lions Rd                                                          Jefferson Township, PA 18436                                                                            First Class Mail
Voting Party                   Jefferson United Methodist Church                            P.O. Box 88                             Jefferson, NY 12093                                                                                                                    ruralchap@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jefferson United Methodist Church                            Attn: Lauri Allen                       125 E Jefferson St                                                Jefferson, OH 44047                                                  lauri1682@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jefferson United Methodist Church                            Attn: Craig A Overman                   5644 Roseberry Rdg                                                Lafayette, IN 47905                                                  coverman@mintel.net                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jefferson United Methodist Church (103342)                   c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jefferson Utd Methodist Church                               Istrouma Area Council 211               10328 Jefferson Hwy                                               Baton Rouge, LA 70809‐2729                                                                              First Class Mail
Chartered Organization         Jefferson Utd Methodist Church                               Laurel Highlands Council 527            310 Gill Hall Rd                                                  Jefferson Hills, PA 15025‐3226                                                                          First Class Mail
Voting Party                   Jeffersontown Baptist Church, Inc                            c/o Kaplan Johnson Abate & Bird LLP     Attn: Tyler R Yeager                                              710 W Main St, 4th Fl             Louisville, KY 40202               tyeager@kaplanjohnsonlaw.com       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jeffersontown Baptist Church, Inc                            10011 Taylorsville Rd                   Jeffersontown, KY 40299                                                                                                                                                   First Class Mail
Chartered Organization         Jeffersontown Devil Dogs                                     Lincoln Heritage Council 205            9600 Old Six Mile Ln                                              Louisville, KY 40299‐3255                                                                               First Class Mail
Chartered Organization         Jeffersontown Elementary School                              Lincoln Heritage Council 205            3610 Cedarwood Way                                                Louisville, KY 40299‐3301                                                                               First Class Mail
Voting Party                   Jeffersontown United Methodist Church                        Attn: Treasurer                         10219 Taylorsvillre Rd                                            Louisville, KY 40299                                                 churchoffice@jtownumc.org          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jeffersonville Church Of Christ                              Simon Kenton Council 441                83 N Main St                                                      Jeffersonville, OH 43128‐9521                                                                           First Class Mail
Chartered Organization         Jeffersonville Lions Club                                    Hudson Valley Council 374               P.O. Box 82X                                                      Jeffersonville, NY 12748                                                                                First Class Mail
Chartered Organization         Jeffersonville Lions Club                                    Simon Kenton Council 441                1 Railroad St                                                     Jeffersonville, OH 43128‐1025                                                                           First Class Mail
Voting Party                   Jefferstown United Methodist Church                          Attn: George Barton Magill              4113 Sunny Crossing Dr                                            Louisville, KY 40299                                                 gbmagill@twc.com                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jeffery A Paver                                              c/o Hahn Walz, Pc                       Attn: Marianne Tucker                                             509 W Washington St               S Bend, IN 46637                   mtucker@hahnwalz.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jeffery A Paver                                              Address Redacted                                                                                                                                                               Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jeffery M Mayne                                              201 Deer Valley Cove                    Florence, MS 39073                                                                                                                                                        First Class Mail
Chartered Organization         Jeffery Pto                                                  Three Harbors Council 636               5419 88th St                                                      Kenosha, WI 53158‐3217                                                                                  First Class Mail
Voting Party                   Jeffrey A Hway                                               c/o Chilly Dogs Sled Dog Kennel         1557 Esterberg Rd                                                 Ely, MN 55731                                                        chillydogs05@gmail.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Jeffrey G Granillo Esq                                       605 Chestnut St Ste 1700                Chattanooga, TN 37450                                                                                                                  jgranillo@chamblisslaw.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jeffrey Hunt                                                 Address Redacted                                                                                                                                                               Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jeffrey Scott                                                Address Redacted                                                                                                                                                                                                  First Class Mail
Voting Party                   Jeffrey W Karpen                                             84 Fairway Dr                           Middletown, NY 10940‐2666                                                                                                              karpenjw@gmail.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jehovah Baptist Church                                       Pee Dee Area Council 552                803 S Harvin St                                                   Sumter, SC 29150                                                                                        First Class Mail
Chartered Organization         Jellico Elementary Pto                                       Great Smoky Mountain Council 557        551 Sunset Trl                                                    Jellico, TN 37762‐2348                                                                                  First Class Mail
Chartered Organization         Jenison Christian Church                                     President Gerald R Ford 781             7003 28th Ave                                                     Hudsonville, MI 49426‐8814                                                                              First Class Mail
Voting Party                   Jenks First United Methodist Church                          Attn: Rev Gloria Denton                 P.O. Box 380                                                      Jenks, OK 74037                                                      fumcjenkspastor@gmail.com          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jenks Utd Methodist Church                                   Indian Nations Council 488              409 E Main St                                                     Jenks, OK 74037                                                                                         First Class Mail
Voting Party                   Jennifer Dahlberg                                            55730 Free Gold Dr                      Yuca Valley, CA 92284                                                                                                                                                     First Class Mail
Voting Party                   Jennifer Hancock                                             c/o Boy Scouts of America               Attn: Chase Koontz                                                1325 W Walnut Hill Ln             Irving, TX 75015                   chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jennifer K Oneil                                             1407 Long Ln Rd                         Lenhartsville, PA 19534                                                                                                                jmac0817@gmail.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jennifer Suau                                                6136 N St Marys Rd                      Peoria, IL 61614                                                                                                                       masuau@comcast.net                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jennings Chapel United Methodist Church                      Attn: Treasurer                         2601 Jennings Chapel Rd                                           Woodbine, MD 21797                                                   poplarcharge@verizon.net           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jennings Fire Dept                                           Calcasieu Area Council 209              110 N Broadway St                                                 Jennings, LA 70546‐5804                                                                                 First Class Mail
Chartered Organization         Jennings High School Jrotc                                   Greater St Louis Area Council 312       8850 Cozens Ave                                                   Jennings, MO 63136‐3920                                                                                 First Class Mail
Chartered Organization         Jennings Junior High                                         Greater St Louis Area Council 312       8831 Cozens Ave                                                   Saint Louis, MO 63136‐3919                                                                              First Class Mail
Voting Party                   Jennings United Methodist Church                             Attn: Walter L Parker Jr                702 Cary Ave                                                      P.O. Box 712                      Jennings, LA 70546                 w.l.parker.jr@gmail.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jennings Utd Methodist Church                                Calcasieu Area Council 209              P.O. Box 712                                                      Jennings, LA 70546‐0712                                                                                 First Class Mail
Chartered Organization         Jennings Willet American Legion Post                         Twin Rivers Council 364                 P.O. Box 418                                                      Germantown, NY 12526‐0418                                                                               First Class Mail
Chartered Organization         Jennys Creek Family Campground                               Northeast Georgia Council 101           4542 Hwy 129 N                                                    Cleveland, GA 30528‐2312                                                                                First Class Mail
Chartered Organization         Jens H Jensen Post 243                                       Voyageurs Area 286                      General Delivery                                                  Co Rd 142                         Askov, MN 55704                                                       First Class Mail
Voting Party                   Jerald Walton Hyche                                          P.O. Box 559                            Conroe, TX 77305‐0559                                                                                                                                                     First Class Mail
Chartered Organization         Jeremiah Curtin School                                       Three Harbors Council 636               3450 S 32nd St                                                    Milwaukee, WI 53215‐4204                                                                                First Class Mail
Voting Party                   Jeremy Hans Gruber                                           c/o Eisenberg Rothweiler                Attn: Josh Schwartz                                               1634 Spruce St                    Philadelphia, PA 19103             josh@erlegal.com                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jeremy Hans Robert Gruber                                    Address Redacted                                                                                                                                                                                                  First Class Mail
Voting Party                   Jericho United Methodist Church                              Attn: Dennis Willmott                   11 Outlook Ln                                                     Jericho, VT 05465                                                    dennislindawillmott@gmail.com      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jerome 10Th Ward ‐ Jerome Stake                              Snake River Council 111                 825 E Ave B                                                       Jerome, ID 83338‐2813                                                                                   First Class Mail
Chartered Organization         Jerome 1St Ward ‐ Jerome Stake                               Snake River Council 111                 825 E Ave B                                                       Jerome, ID 83338‐2813                                                                                   First Class Mail
Chartered Organization         Jerome 2Nd Ward ‐ Jerome Stake                               Snake River Council 111                 50 E 100 S                                                        Jerome, ID 83338                                                                                        First Class Mail
Chartered Organization         Jerome 3Rd Ward ‐ Jerome Stake                               Snake River Council 111                 825 E Ave B                                                       Jerome, ID 83338‐2813                                                                                   First Class Mail
Chartered Organization         Jerome 4Th Ward ‐ Jerome Stake                               Snake River Council 111                 26 N 100 E                                                        Jerome, ID 83338                                                                                        First Class Mail
Chartered Organization         Jerome 5Th Ward ‐ Jerome Stake                               Snake River Council 111                 520 N Lincoln Ave                                                 Jerome, ID 83338‐1800                                                                                   First Class Mail
Chartered Organization         Jerome 6Th Ward ‐ Jerome Stake                               Snake River Council 111                 907 2nd Ave E                                                     Jerome, ID 83338‐2453                                                                                   First Class Mail
Chartered Organization         Jerome 7Th Ward ‐ Jerome Stake                               Snake River Council 111                 50 E 100 S                                                        Jerome, ID 83338                                                                                        First Class Mail
Voting Party                   Jerome United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jerome Utd Methodist Church                                  Simon Kenton Council 441                10531 Jerome Rd                                                   Plain City, OH 43064‐8924                                                                               First Class Mail
Chartered Organization         Jerome Utd Methodist Mens Group                              Snake River Council 111                 211 S Buchanan St                                                 Jerome, ID 83338‐2719                                                                                   First Class Mail
Chartered Organization         Jeromesville Utd Methodist Church                            Buckeye Council 436                     40 North St                                                       Jeromesville, OH 44840‐9783                                                                             First Class Mail
Chartered Organization         Jerry Thomas Elementary School Pto                           Gulf Stream Council 085                 800 Maplewood Dr                                                  Jupiter, FL 33458‐5543                                                                                  First Class Mail
Chartered Organization         Jerry W Dobbins 15                                           Katahdin Area Council 216               P.O. Box 396                                                      Stockton Springs, ME 04981‐0396                                                                         First Class Mail
Chartered Organization         Jerry Zucker Mid Sch Science Pto                             Coastal Carolina Council 550            6401 Dorchester Rd                                                North Charleston, SC 29418‐5101                                                                         First Class Mail
Chartered Organization         Jerry Zucker Middle                                          Coastal Carolina Council 550            6401 Dorchester Rd                                                North Charleston, SC 29418‐5101                                                                         First Class Mail
Voting Party                   Jersey Shore Cncl 341                                        1518 Ridgeway Rd                        Toms River, NJ 08755‐4072                                                                                                                                                 First Class Mail
Voting Party                   Jersey Shore Council                                         Attn: Jeffrey H Goldsmith               1518 Ridgeway Rd                                                  Toms River, NJ 08755                                                 jgoldsmithbsa@gmail.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jersey Shore Trinity (8240)                                  c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jersey Shore University Medical Center                       Monmouth Council, Bsa 347               Po Box 397                                                        Neptune, NJ 07754‐0397                                                                                  First Class Mail
Chartered Organization         Jersey Surf Drum & Bugle Corps                               Garden State Council 690                32 Mill St, Ste 201                                               Mount Holly, NJ 08060‐1804                                                                              First Class Mail
Chartered Organization         Jerseyville First Baptist Church(Pb)                         Greater St Louis Area Council 312       200 W Pearl St                                                    Jerseyville, IL 62052‐1661                                                                              First Class Mail
Voting Party                   Jerseyville United Methodist Church                          Attn: Robert Reynolds Taylor            1200 S Liberty                                                    Jerseyville, IL 62052                                                revbob@gtec.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jerusalem Community Assoc                                    Transatlantic Council, Bsa 802          Unit 6350                                                         Dpo, AE 09847‐9997                                                                                      First Class Mail
Chartered Organization         Jerusalem Cumberland Presbyterian Church                     Middle Tennessee Council 560            7192 Mona Rd                                                      Murfreesboro, TN 37129‐7431                                                                             First Class Mail
Chartered Organization         Jerusalem Evangelical Lutheran Church                        Of Eastern Salisbury Township           1707 Church Rd                                                    Allentown, PA 18103‐8347                                                                                First Class Mail
Voting Party                   Jerusalem Evangelical Lutheran Church                        Attn: David L Yemm                      Of Eastern Salisbury                                              1707 Church St                    Allentown, PA 18103                pyemm2@aol.com                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Jerusalem Evangelical Lutheran Church Of Eastern Salisbury   Attn: Rebecca Price                     515 Hamilton St, Ste 515                                          Allentown, PA 18101                                                  rprice@norris‐law.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Jerusalem Lutheran Church                                    Hawk Mountain Council 528               252 Dock St                                                       Schuylkill Haven, PA 17972‐1210                                                                         First Class Mail
Chartered Organization         Jerusalem Parent Group                                       Erie Shores Council 460                 535 S Yondota Rd                                                  Curtice, OH 43412‐9487                                                                                  First Class Mail
Chartered Organization         Jerusalem Utd Church Of Christ                               Minsi Trails Council 502                545 Church Rd                                                     Palmerton, PA 18071‐3643                                                                                First Class Mail
Chartered Organization         Jesse Lee Memorial Umc                                       Connecticut Yankee Council Bsa 072      207 Main St                                                       Ridgefield, CT 06877‐4932                                                                               First Class Mail
Voting Party                   Jesse Lee Memorial United Methodist Church                   207 Main St                             Ridgefield, CT 06877                                                                                                                   ginny@jesseleechurch.com           Email
                                                                                                                                                                                                                                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 172 of 442
                                                                                  Case 20-10343-LSS                                    Doc 8171                                    Filed 01/06/22                                                    Page 188 of 457
                                                                                                                                                                      Exhibit B
                                                                                                                                                                       Service List
                                                                                                                                                                Served as set forth below

        Description                                                       Name                                                                                      Address                                                                                                            Email                    Method of Service
Voting Party                   Jesse Lee Umc, Easton, Ct                                 Attn: Michelle Sideleau                 11 Wood Dr                                               Eon, CT 06612                                                        michelle.sideleau.wendt@gmaiul.com    Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Jesse Lee United Methodist Church Easton Ct               Attn: Michelle Sideleau                 25 Flat Rock Rd                                          Easton, CT 06612                                                     michelle.sideleau.wendt@gmail.com     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Jesse Lee Utd Methodist Church                            Connecticut Yankee Council Bsa 072      25 Flat Rock Rd                                          Easton, CT 06612‐1703                                                                                      First Class Mail
Chartered Organization         Jessie Hay Memorial Assoc                                 Connecticut Rivers Council, Bsa 066     108 Mountain Hill Rd                                     North Grosvenordale, CT 06255‐1605                                                                         First Class Mail
Chartered Organization         Jessie Rouse Concerned Citizens                           Water and Woods Council 782             435 Randolph St                                          Saginaw, MI 48601‐3755                                                                                     First Class Mail
Chartered Organization         Jessup Elementary School Pto                              Longs Peak Council 062                  6113 Evers Blvd                                          Cheyenne, WY 82009‐3257                                                                                    First Class Mail
Chartered Organization         Jessup Hose Co No 1                                       Northeastern Pennsylvania Council 501   P.O. Box 1                                               Jessup, PA 18434‐0001                                                                                      First Class Mail
Voting Party                   Jesup First Umc                                           Attn: Jesup Fumc Pastor                 205 E Cherry St                                          Jesup, GA 31546                                                      pastor@jesupfumc.org                  Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Jesus Our Risen Savior Catholic Church                    Palmetto Council 549                    2575 Reidville Rd                                        Spartanburg, SC 29301‐3551                                                                                 First Class Mail
Voting Party                   Jesus People U.S.A. Covenant Church                       Attn: Phillip J. Zisook                 300 S Wacker Dr, Ste 1500                                Chicago, IL 60606                                                    phil.zisook@sfbbg.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Jesus People Usa Evangelical Covenant                     Pathway To Adventure 456                920 W Wilson Ave                                         Chicago, IL 60640‐6447                                                                                     First Class Mail
Chartered Organization         Jesus The Good Shepherd Church                            Louisiana Purchase Council 213          2510 Emerson St                                          Monroe, LA 71201‐2625                                                                                      First Class Mail
Chartered Organization         Jet Fx Llc                                                Grand Canyon Council 010                1921 E Ironwood Dr                                       Chandler, AZ 85225‐1622                                                                                    First Class Mail
Chartered Organization         Jet Propulsion Laboratory ‐ Caltech                       Greater Los Angeles Area 033            4800 Oak Grove Dr                                        Pasadena, CA 91109‐8001                                                                                    First Class Mail
Voting Party                   Jet United Methodist Church                               Attn: Treasurer                         P.O. Box 218                                             Jet, OK 73749                                                                                              First Class Mail
Chartered Organization         Jetmore‐Hanston Lions Club                                Santa Fe Trail Council 194              901 Carousel Ave                                         Jetmore, KS 67854‐5590                                                                                     First Class Mail
Chartered Organization         Jewish Commty                                             Center of Greater Albuquerque           5520 Wyoming Blvd Ne                                     Albuquerque, NM 87109‐3238                                                                                 First Class Mail
Chartered Organization         Jewish Community Center Greater Buffalo                   Greater Niagara Frontier Council 380    2640 N Forest Rd                                         Getzville, NY 14068‐1573                                                                                   First Class Mail
Chartered Organization         Jewish Community Ctr                                      Las Vegas Area Council 328              8689 W Sahara Ave, Ste 180                               Las Vegas, NV 89117‐5881                                                                                   First Class Mail
Chartered Organization         Jewish Community Ctr                                      Baltimore Area Council 220              3300 Old Court Rd                                        Pikesville, MD 21208‐3316                                                                                  First Class Mail
Chartered Organization         Jewish Community Ctr‐Baltimore                            Baltimore Area Council 220              3506 Gwynnbrook Ave                                      Owings Mills, MD 21117‐1409                                                                                First Class Mail
Chartered Organization         Jewish War Veterans Post 142                              c/o Kurt Zimbler                        16 Bouton St E, Apt 18                                   Stamford, CT 06907‐1677                                                                                    First Class Mail
Chartered Organization         Jewish War Veterans Post 609/395                          Monmouth Council, Bsa 347               61C Rhus Plz                                             Monroe Twp, NJ 08831                                                                                       First Class Mail
Chartered Organization         Jewish War Veterans Scottsdale Post 210                   Grand Canyon Council 010                2390 E Camelback Rd, Ste 130                             Phoenix, AZ 85016‐3449                                                                                     First Class Mail
Chartered Organization         Jfamtek‐Oba Ram Kitchen Supplies                          Trapper Trails 589                      3237 N 1000 W                                            Pleasant View, UT 84414‐2154                                                                               First Class Mail
Chartered Organization         Jfk Elementary School Pto                                 Northern Star Council 250               21240 Holyoke Ave                                        Lakeville, MN 55044‐7300                                                                                   First Class Mail
Chartered Organization         Jhwes Enviromental Studies Program                        Greater Tampa Bay Area 089              306 Florida Ave                                          Lake Wales, FL 33853‐3121                                                                                  First Class Mail
Chartered Organization         Jia Hao Co                                                Far E Council 803                       No 51 Aidisheng Rd                                       Baoshan Township,                    Taiwan                                                                First Class Mail
Voting Party                   Jill Bergman                                              Address Redacted                                                                                                                                                                                            First Class Mail
Chartered Organization         Jim Davis Automotive                                      Silicon Valley Monterey Bay 055         3972 El Camino Real                                      Palo Alto, CA 94306‐3318                                                                                   First Class Mail
Voting Party                   Jim Falls United Methodist                                Attn: Carla Ingalls                     11582 161st St                                           Chippewa Falls, WI 54729                                             cjingalls@charter.net                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Jim Falls Utd Methodist Church                            Chippewa Valley Council 637             13883 County Hwy S S                                     Jim Falls, WI 54748‐1619                                                                                   First Class Mail
Firm                           Jim Harris Law PLLC                                       James Harris, Esq                       4616 25th Avenue NE, #772                                Seattle, WA 98105                                                                                          First Class Mail
Chartered Organization         Jim Hill High School                                      Andrew Jackson Council 303              2185 Coach Fred Harris St                                Jackson, MS 39204                                                                                          First Class Mail
Chartered Organization         Jim M Gale ‐ Vfw Post 7480                                Inland Nwest Council 611                P.O. Box 162                                             Davenport, WA 99122‐0162                                                                                   First Class Mail
Voting Party                   Jim Neubaum                                               Address Redacted                                                                                                                                                                                            First Class Mail
Chartered Organization         Jim Raysik Chrysler Gmc Inc                               Heart of America Council 307            210 S 2nd St                                             Clinton, MO 64735‐2104                                                                                     First Class Mail
Chartered Organization         Jim Walter Energy                                         Black Warrior Council 006               16243 Hwy 216                                            Brookwood, AL 35444‐3058                                                                                   First Class Mail
Chartered Organization         Jimmys Contractor Services Inc                            Inland Nwest Council 611                16903 E Daybreak Ln                                      Spokane Valley, WA 99016‐8765                                                                              First Class Mail
Chartered Organization         Jj Catena Pto                                             Monmouth Council, Bsa 347               275 Burlington Rd                                        Freehold, NJ 07728‐8196                                                                                    First Class Mail
Chartered Organization         Jk Hileman Elementry                                      Caddo Area Council 584                  P.O. Box 128                                             Queen City, TX 75572‐0128                                                                                  First Class Mail
Chartered Organization         Jk Marketing Llc                                          Trapper Trails 589                      32 Buckhorn Way                                          Preston, ID 83263‐5727                                                                                     First Class Mail
Chartered Organization         Jmrw Llc Wqmd Vintage Radio 107.7                         Blackhawk Area 660                      P.O. Box 55                                              Erie, IL 61250‐0055                                                                                        First Class Mail
Chartered Organization         Jnj Sheet Metal Inc                                       Aloha Council, Bsa 104                  45‐558 Kamehameha Hwy C                                  Kaneohe, HI 96744‐1970                                                                                     First Class Mail
Voting Party                   Joann G Blocker                                           P.O. Box 492                            Pilot Point, TX 76258                                                                                                         office@pilotpointfumc.org             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Jodeco Road Utd Methodist Church                          c/o Jrumc                               1500 Jodeco Rd                                           Stockbridge, GA 30281‐5104                                                                                 First Class Mail
Voting Party                   Joe Crafton                                               c/o Boy Scouts of America               Attn: Chase Koontz                                       1325 W Walnut Hill Ln                Irving, TX 75015                chase.koontz@scouting.org             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Joe E Moreno Pto                                          Sam Houston Area Council 576            620 E Canino Rd                                          Houston, TX 77037‐4619                                                                                     First Class Mail
Chartered Organization         Joe Foss American Legion Post 97                          Grand Canyon Council 010                270 E Hunt Hwy, Ste 16‐114                               San Tan Valley, AZ 85143‐6006                                                                              First Class Mail
Voting Party                   Joe Walkoviak                                             c/o Boy Scouts of America               Attn: Chase Koontz                                       1325 W Walnut Hill Ln                Irving, TX 75015                chase.koontz@scouting.org             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Joe'S Marine & Repair Inc                                 25 W Chapman St                         Ely, MN 55731‐1231                                                                                                                                                  First Class Mail
Firm                           John & Johns                                              Kent W. Johns                           2640 Calder Street                                       Beaumont, TX 77762                                                   kjohnslawfirm@hotmail.com             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John A Coyle                                              Address Redacted                                                                                                                                                      Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John A Coyle                                              1404 Sierra Springs Dr, Apt 620         Bedford, TX 76021                                                                                                                                                   First Class Mail
Chartered Organization         John A Doc Maecher Post 144 The Al                        South Florida Council 084               P.O. Box 174158                                          Hialeah, FL 33017‐4158                                                                                     First Class Mail
Chartered Organization         John A Oremus Community Center                            Pathway To Adventure 456                7902 S Oketo Ave                                         Bridgeview, IL 60455‐1517                                                                                  First Class Mail
Voting Party                   John Akard Jr, Attorney, Cpa                              11111 Mccracken, Ste A                  Cypress, TX 77429                                                                                                             Johnakard+smec@gmail.com              Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John Allen Tomsick                                        5244 Hwy 49 N                           Mariposa, CA 95338                                                                                                            jbtoms@sti.net                        Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John Andrews                                              Address Redacted                                                                                                                                                      Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John B Chace Engine Co Number Four                        Cape Cod and Islands Cncl 224           P.O. Box 374                                             Nantucket, MA 02554‐0374                                                                                   First Class Mail
Chartered Organization         John B Lyman American Legion Post 904                     Longhouse Council 373                   9 Rock St                                                Alexandria Bay, NY 13607‐1409                                                                              First Class Mail
Chartered Organization         John Barry Elementary School                              Cradle of Liberty Council 525           5900 Race St                                             Philadelphia, PA 19139‐2304                                                                                First Class Mail
Chartered Organization         John Bridges American Legion Post 15                      Northern Lights Council 429             P.O. Box 355                                             Detroit Lakes, MN 56502‐0355                                                                               First Class Mail
Voting Party                   John Brooks Whitley                                       33 Alder St                             Milford, NH 03055                                                                                                             pastor@milfordumc.org                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John C Blazier Elementary Ace                             Capitol Area Council 564                8601 Vertex Blvd                                         Austin, TX 78744‐8202                                                                                      First Class Mail
Voting Party                   John C Cushman III                                        c/o Boy Scouts of America               Attn: Chase Koontz                                       1325 W Walnut Hill Ln                Irving, TX 75015                chase.koontz@scouting.org             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John C Fitzpatrick                                        Address Redacted                                                                                                                                                      Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John C Snow Dds                                           Heart of America Council 307            17700 E Susquehanna Rdg                                  Independence, MO 64056‐1851                                                                                First Class Mail
Chartered Organization         John Calvin Presbyterian                                  Greater St Louis Area Council 312       12567 Natural Bridge Rd                                  Bridgeton, MO 63044‐2024                                                                                   First Class Mail
Chartered Organization         John Carpenter Concerned Citizens                         Circle Ten Council 571                  2407 W 12th St                                           Dallas, TX 75211‐2768                                                                                      First Class Mail
Voting Party                   John Charles Parsons                                      9279 Carpenter Rd                       Eden, NY 14057                                                                                                                john.parsons.family@verizon.net       Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John D Hardy School Pto                                   Mayflower Council 251                   293 Won Rd                                               Wellesley, MA 02482                                                                                        First Class Mail
Chartered Organization         John D Rita Recreational Ctr                              Pathway To Adventure 456                2805 141st St                                            Blue Island, IL 60406‐3381                                                                                 First Class Mail
Voting Party                   John Daniel Kjerulf                                       18558 64th Ave NE                       Kenmore, WA 98028                                                                                                             jdkjerulf@gmail.com                   Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John Deere Davenport Works                                Illowa Council 133                      Hwy 61 & Mt Joy Rd                                       Davenport, IA 52808                                                                                        First Class Mail
Chartered Organization         John Deere Dubuque Works                                  Northeast Iowa Council 178              18600 S John Deere Rd                                    Dubuque, IA 52001‐9746                                                                                     First Class Mail
Voting Party                   John DL Young                                             Flushing CUMC                           22020 94th Dr                                            Queens Village, NY 11428                                             fcumcqv@gmail.com                     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John E Riley School Ptso                                  Patriots Path Council 358               Morris Ave                                               South Plainfield, NJ 07080                                                                                 First Class Mail
Chartered Organization         John F Kennedy High School                                Denver Area Council 061                 2855 S Lamar St                                          Denver, CO 80227‐3809                                                                                      First Class Mail
Chartered Organization         John F Kennedy Jrotc                                      Denver Area Council 061                 2855 S Lamar St                                          Denver, CO 80227‐3809                                                                                      First Class Mail
Chartered Organization         John F Kennedy School                                     Pacific Skyline Council 031             111 Lake Merced Blvd                                     Daly City, CA 94015‐1048                                                                                   First Class Mail
Chartered Organization         John F Kennedy School Psa                                 Northeast Iowa Council 178              2135 Woodland Dr                                         Dubuque, IA 52002‐3826                                                                                     First Class Mail
Chartered Organization         John F Kennedy School Ptso                                Patriots Path Council 358               2900 Norwood Ave                                         South Plainfield, NJ 07080‐5044                                                                            First Class Mail
Voting Party                   John F Mcintosh                                           Address Redacted                                                                                                                                                                                            First Class Mail
Chartered Organization         John F Pattie Elementary School                           National Capital Area Council 082       16125 Dumfries Rd                                        Dumfries, VA 22025‐1401                                                                                    First Class Mail
Chartered Organization         John F. Kennedy Elementary School                         Lincoln Heritage Council 205            3800 Gibson Ln                                           Louisville, KY 40211‐2354                                                                                  First Class Mail
Firm                           John F. Klopfenstein, Esq.                                John F. Klopfenstein                    9 West Gabilan St., Ste 6                                Salinas, CA 93901                                                    john.klopfenstein@yahoo.com           Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John Ferguson Senior High School                          South Florida Council 084               15900 SW 56th St                                         Miami, FL 33185‐3880                                                                                       First Class Mail
Voting Party                   John Finch                                                c/o Boy Scouts of America               Attn: Chase Koontz                                       1325 W Walnut Hill Ln                Irving, TX 75015                chase.koontz@scouting.org             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John Fiske Our Student                                    Heart of America Council 307            625 S Valley St                                          Kansas City, KS 66105‐1558                                                                                 First Class Mail
Chartered Organization         John Fiske Support Our Student                            Heart of America Council 307            625 S Valley St                                          Kansas City, KS 66105‐1558                                                                                 First Class Mail
Chartered Organization         John Foster Dulles Elementary School‐Pta                  Dan Beard Council, Bsa 438              6481 Bridgetown Rd                                       Cincinnati, OH 45248‐2934                                                                                  First Class Mail
Voting Party                   John G Harding                                            3501 E Lloyd Expy                       Evansville, IN 47715                                                                                                          john.harding@scoutng.org              Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John Gottschalk                                           c/o Boy Scouts of America               Attn: Chase Koontz                                       1325 W Walnut Hill Ln                Irving, TX 75015                chase.koontz@scouting.org             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John Green                                                Address Redacted                                                                                                                                                      Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John Green Elementary School Pfc                          San Francisco Bay Area Council 028      3400 Antone Way                                          Dublin, CA 94568                                                                                           First Class Mail
Voting Party                   John H. Mosby                                             Address Redacted                                                                                                                                                      Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John Hardin High School                                   Lincoln Heritage Council 205            384 W A Jenkins Rd                                       Elizabethtown, KY 42701‐8496                                                                               First Class Mail
Voting Party                   John Horany                                               4311 Old Lawn Ave, Ste 530              Dallas, TX 75219                                                                                                              jhorany@horany.com                    Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John Hughes Inc‐ Knights Of Columbus                      Greater New York Councils, Bsa 640      1305 86th St                                             Brooklyn, NY 11228‐3313                                                                                    First Class Mail
Chartered Organization         John Hugo Kaiser Post 1461                                Blackhawk Area 660                      1310 W Lincoln Ave                                       Belvidere, IL 61008‐3444                                                                                   First Class Mail
Chartered Organization         John Humiston Post 11 American Legion                     Daniel Webster Council, Bsa 330         P.O. Box 44                                              Jaffrey, NH 03452‐0044                                                                                     First Class Mail
Chartered Organization         John Ireland Elementary                                   Circle Ten Council 571                  1515 N Jim Miller Rd                                     Dallas, TX 75217‐1319                                                                                      First Class Mail
Chartered Organization         John Jay Leones Mt Prospect                               Pathway To Adventure 456                2002 W Algonquin Rd, Apt 4A                              Mount Prospect, IL 60056‐4642                                                                              First Class Mail
Chartered Organization         John Kennedy Home School Assoc                            Iroquois Trail Council 376              166 Vine St                                              Batavia, NY 14020‐1643                                                                                     First Class Mail
Voting Party                   John Kinnick Demaree                                      5808 Amarillo Ave                       La Mesa, CA 91942                                                                                                                                                   First Class Mail
Chartered Organization         John Knox Presbyterian Church                             San Francisco Bay Area Council 028      7421 Amarillo Rd                                         Dublin, CA 94568‐2221                                                                                      First Class Mail
Chartered Organization         John Knox Presbyterian Church                             San Francisco Bay Area Council 028      7421 Amarillo Rd                                         Dublin, CA 94568‐2221                                                                                      First Class Mail
Chartered Organization         John Knox Presbyterian Church                             Blue Ridge Council 551                  35 Shannon Dr                                            Greenville, SC 29615‐1509                                                                                  First Class Mail
Chartered Organization         John Knox Presbyterian Church                             Sam Houston Area Council 576            2525 Gessner Rd                                          Houston, TX 77080‐3800                                                                                     First Class Mail
Chartered Organization         John Knox Presbyterian Church                             Atlanta Area Council 092                505 Powers Ferry Rd Se                                   Marietta, GA 30067‐7341                                                                                    First Class Mail
Chartered Organization         John Knox Presbyterian Church                             Chief Seattle Council 609               109 SW Normandy Rd                                       Normandy Park, WA 98166‐3901                                                                               First Class Mail
Chartered Organization         John Knox Presbyterian Church                             Buckeye Council 436                     5155 Eastlake St Nw                                      North Canton, OH 44720‐7203                                                                                First Class Mail
Chartered Organization         John Knox Presbyterian Church                             Lake Erie Council 440                   25200 Lorain Rd                                          North Olmsted, OH 44070‐2057                                                                               First Class Mail
Chartered Organization         John Knox Presbyterian Church                             Seneca Waterways 397                    3233 W Ridge Rd                                          Rochester, NY 14626‐3204                                                                                   First Class Mail
Chartered Organization         John Knox Presbyterian Church                             Indian Nations Council 488              2929 E 31st St                                           Tulsa, OK 74105‐2401                                                                                       First Class Mail
Voting Party                   John Knox Presbyterian Church, Pcusa                      Attn: Mary Jo Emmett                    3870 Rivercrest Dr N                                     Keizer, OR 97303                                                     mj.emmett@comcast.net                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John Knox Presbyterian Church, Pcusa, Keizer, Or          Attn: Mary Jo Emmett                    P.O. Box 20968                                           Keizer, OR 97307                                                     office.johnknoxpreskeizer@gmail.com   Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John L Leflore Jrotc Group Of Citizens                    Mobile Area Council‐Bsa 004             700 Donald St                                            Mobile, AL 36617‐3438                                                                                      First Class Mail
Chartered Organization         John Lewis Elementary Pto                                 Atlanta Area Council 092                2630 Skyland Dr Ne                                       Brookhaven, GA 30319‐3640                                                                                  First Class Mail
Chartered Organization         John Lipple Vfw Post 4315                                 Laurel Highlands Council 527            158 W Main St                                            Ashville, PA 16613‐7904                                                                                    First Class Mail
Chartered Organization         John M Patterson Elementary School                        Cradle of Liberty Council 525           7000 Buist Ave                                           Philadelphia, PA 19142‐1727                                                                                First Class Mail
Firm                           John M. Cummings                                          Anderson & Cummings LLP                 4200 W. Vickery Blvd                                     Fort Worth, TX 76107                                                 john@anderson‐cummings.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John M. Perry Post 1044 American Legion                   Hudson Valley Council 374               P.O. Box 311                                             Sparkill, NY 10976‐0311                                                                                    First Class Mail
Voting Party                   John M. Primrose                                          Address Redacted                                                                                                                                                      Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         John Moffet School Home And School                        Cradle of Liberty Council 525           127 W Oxford St                                          Philadelphia, PA 19122‐3909                                                                                First Class Mail
Voting Party                   John Monkman                                              Address Redacted                                                                                                                                                                                            First Class Mail
Chartered Organization         John Murphy Inc                                           Central Florida Council 083             19602 E Umatilla Blvd                                    Umatilla, FL 32784‐8380                                                                                    First Class Mail
Chartered Organization         John Nelson School Pto                                    Blackhawk Area 660                      623 15th St                                              Rockford, IL 61104‐3317                                                                                    First Class Mail
Chartered Organization         John Olson American Legion Post 18                        Rainbow Council 702                     15052 Archer Ave                                         Lockport, IL 60441‐2258                                                                                    First Class Mail
Chartered Organization         John P Byrd Masonic Lodge 629                             Andrew Jackson Council 303              2718 Old Brandon Rd                                      Jackson, MS 39208‐4701                                                                                     First Class Mail
Chartered Organization         John P Parker Pto                                         Dan Beard Council, Bsa 438              5051 Anderson Pl                                         Cincinnati, OH 45227‐1601                                                                                  First Class Mail
Chartered Organization         John Page Middle School                                   Great Lakes Fsc 272                     29615 Tawas St                                           Madison Heights, MI 48071‐5425                                                                             First Class Mail
Chartered Organization         John Paul Ii Academy                                      Lincoln Heritage Council 205            3525 Goldsmith Ln                                        Louisville, KY 40220‐2313                                                                                  First Class Mail
Chartered Organization         John Paul Ii Center For Special Learning                  Hawk Mountain Council 528               1092 Welsh Rd                                            Shillington, PA 19607‐9363                                                                                 First Class Mail
Chartered Organization         John Paul Ii High School                                  Circle Ten Council 571                  900 Coit Rd                                              Plano, TX 75075‐5811                                                                                       First Class Mail
Chartered Organization         John Paul Jones Elementary Pta                            Indian Nations Council 488              1515 S 71st East Ave                                     Tulsa, OK 74112‐7446                                                                                       First Class Mail
Voting Party                   John Paul Regional Catholic School Inc                    c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                    218 N Charles St, Ste 400            Baltimore, MD 21201             moakey@gejlaw.com                     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John R. Donnell, Jr.                                      c/o Boy Scouts of America               Attn: Chase Koontz                                       1325 W Walnut Hill Ln                Irving, TX 75015                chase.koontz@scouting.org             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John Richard Sauvage                                      116 Mt View Subdivision Rd              Peterstown, WV 24596                                                                                                          jsauvage72@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John Roman Dba John Roman Audio Prod                      Address Redacted                                                                                                                                                                                            First Class Mail
Chartered Organization         John Runyon School ‐ Pta                                  Circle Ten Council 571                  10750 Cradlerock Dr                                      Dallas, TX 75217‐3254                                                                                      First Class Mail
Chartered Organization         John Sevier Baptist Church                                Great Smoky Mountain Council 557        1401 Paramount Rd                                        Knoxville, TN 37924‐2325                                                                                   First Class Mail
Chartered Organization         John Stewart Utd Methodist Church                         Buckeye Council 436                     P.O. Box 333                                             Upper Sandusky, OH 43351‐0333                                                                              First Class Mail
Voting Party                   John Street United Methodist Church                       Attn: Reverend Michelle M Wiley         98 John St                                               Camden, ME 04843                                                     johnstreetumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John Street United Methodist Church                       Attn: James Hohenstein                  44 John St                                               New York, NY 10038                                                   johnstreetchurch@gmail.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John Street United Methodist Church                       Stefanie Bennett                        44 John St                                               New York, NY 10038                                                   johnstreetchurch@gmail.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John Summers                                              Address Redacted                                                                                                                                                                                            First Class Mail
Chartered Organization         John T Mather Memorial Hospital                           Suffolk County Council Inc 404          75 N Country Rd                                          Port Jefferson, NY 11777‐2119                                                                              First Class Mail
Chartered Organization         John W Simonds Pto                                        Great Lakes Fsc 272                     30000 Rose St                                            Madison Heights, MI 48071‐2616                                                                             First Class Mail
Chartered Organization         John Webster Rhoads Al Post 33                            Ore‐Ida Council 106 ‐ Bsa 106           P.O. Box 757                                             Payette, ID 83661‐0757                                                                                     First Class Mail
Chartered Organization         John Weldon Elementary Pto                                Greater St Louis Area Council 312       7370 Weldon Spring Rd                                    Dardenne Prairie, MO 63368‐8702                                                                            First Class Mail
Voting Party                   John Wesley                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200             Tampa, FL 33602                 erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   John Wesley                                               1689 Old St Augustine Rd                Tallahassee, FL 32301                                                                                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                       Page 173 of 442
                                                                                  Case 20-10343-LSS                                                    Doc 8171                                             Filed 01/06/22                                                Page 189 of 457
                                                                                                                                                                                               Exhibit B
                                                                                                                                                                                                Service List
                                                                                                                                                                                         Served as set forth below

        Description                                                        Name                                                                                                              Address                                                                                                           Email              Method of Service
Chartered Organization         John Wesley American Legion Post 232                                Jersey Shore Council 341                      P.O. Box 364                                                      Barnegat, NJ 08005‐0364                                                                             First Class Mail
Voting Party                   John Wesley Umc                                                     Attn: Deb Markel & Douglas Bruce Hoffman      129 N Potomac St                                                  Hagerstown, MD 21740                                             jwumcmd@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   John Wesley Umc                                                     Attn: Bernadette Baskerville                  3202 W North Ave                                                  Baltimore, MD 21216                                              bless5227@msn.com                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   John Wesley Umc, Brooklyn                                           260 Quincy St                                 Brooklyn, NY 11216                                                                                                                 johnwesley1776@gmail.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   John Wesley United Methodist Church                                 Attn: Todd Cooper                             5830 Bermuda Dunes                                                Houston, TX 77069                                                tcooper@jwumc.org                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   John Wesley United Methodist Church                                 Attn: Rebecca Mincieli                        270 Gifford St                                                    Falmouth, MA 02540                                               pastorrebecca@comcast.net          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   John Wesley United Methodist Church                                 Attn: Tommie Alexander                        8300 NE Zac Lentz Pkwy                                            Victoria, TX 77904                                               catalex4647@sbcglobal.net          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   John Wesley United Methodist Church Boy Scouts                      c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         John Wesley Utd Methodist Church                                    Dan Beard Council, Bsa 438                    1927 W Kemper Rd                                                  Cincinnati, OH 45240‐1421                                                                           First Class Mail
Chartered Organization         John Wesley Utd Methodist Church                                    Sam Houston Area Council 576                  5830 Bermuda Dunes Dr                                             Houston, TX 77069‐1806                                                                              First Class Mail
Chartered Organization         John Wister Interac                                                 Cradle of Liberty Council 525                 67 E Bringhurst St                                                Philadelphia, PA 19144‐2338                                                                         First Class Mail
Chartered Organization         John Young Elementary Pta                                           Central Florida Council 083                   12550 Marsfield Ave                                               Orlando, FL 32837‐8531                                                                              First Class Mail
Voting Party                   John Zabik                                                          Address Redacted                                                                                                                                                                 Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         John‐F.‐Kennedy School                                              Transatlantic Council, Bsa 802                Teltower Damm 87‐93                                               Berlin, 14167                   Germany                                                             First Class Mail
Voting Party                   Johnny Faulkner                                                     Address Redacted                                                                                                                                                                 Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Johns Creek Christian Church                                        Atlanta Area Council 092                      10800 Bell Rd                                                     Johns Creek, GA 30097‐1906                                                                          First Class Mail
Chartered Organization         Johns Creek Presbyterian Church (Usa)                               Atlanta Area Council 092                      10950 Bell Rd                                                     Johns Creek, GA 30097‐2006                                                                          First Class Mail
Voting Party                   Johns Creek United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Johns Creek United Methodist Church                                 11180 Medlock Bridge Rd                       Johns Creek, GA 30097                                                                                                                                                 First Class Mail
Chartered Organization         Johns Creek Utd Methodist Church                                    Atlanta Area Council 092                      11180 Medlock Bridge Rd                                           Johns Creek, GA 30097‐2590                                                                          First Class Mail
Chartered Organization         Johns Elementary School ‐ Gifw                                      Longhorn Council 662                          1900 Sherry St                                                    Arlington, TX 76010‐4806                                                                            First Class Mail
Chartered Organization         Johnsburg Community Club                                            Blackhawk Area 660                            2315 Church St                                                    Johnsburg, IL 60051‐5911                                                                            First Class Mail
Chartered Organization         Johnson City Boys And Girls Club                                    Sequoyah Council 713                          2210 W Market St                                                  Johnson City, TN 37604‐6041                                                                         First Class Mail
Chartered Organization         Johnson Community Library                                           Cornhusker Council 324                        Main St                                                           Johnson, NE 68378                                                                                   First Class Mail
Voting Party                   Johnson Controls Security Solutions Llc                             Attn: Cesar Garcia                            10405 Crosspoint Blvd                                             Indianapolis, IN 46256                                           bankruptcy@tyco.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Johnson County Ema                                                  Sequoyah Council 713                          P.O. Box 544                                                      Mountain City, TN 37683‐0544                                                                        First Class Mail
Chartered Organization         Johnson County Sheriffs Dept                                        Crossroads of America 160                     P.O. Box 366                                                      Franklin, IN 46131‐0366                                                                             First Class Mail
Chartered Organization         Johnson Elementary Assoc                                            Great Lakes Fsc 272                           515 General Motors Rd                                             Milford, MI 48381‐2217                                                                              First Class Mail
Chartered Organization         Johnson Fire Dept. Auxiliary                                        Green Mountain 592                            321 Foote Brook Rd                                                Johnson, VT 05656‐9661                                                                              First Class Mail
Voting Party                   Johnson Memorial United Methodist Church                            Attn: Glen Noble                              P.O. Box 305                                                      Dolores, CO 81323                                                we7c@arrl.net                      Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Johnson Memorial United Methodist Church                            Attn: Pastor Terry Deane                      513 10th St                                                       Huntington, WV 25701                                             terrystmls@hotmail.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Johnson Memorial United Methodist Church                            Attn: Leon K Oxley, Treasurer                 81 Copper Glen Dr                                                 Huntington, WV 25701                                             lkoxley@frazierandoxley.com        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Johnson Memorial Utd Methodist Church                               Buckskin 617                                  513 10th St                                                       Huntington, WV 25701‐2216                                                                           First Class Mail
Chartered Organization         Johnson Parent Organization                                         Longs Peak Council 062                        1332 Woodview Pl                                                  Fort Collins, CO 80526‐3047                                                                         First Class Mail
Chartered Organization         Johnson Public Library                                              Cornhusker Council 324                        P.O. Box 132                                                      Johnson, NE 68378‐0132                                                                              First Class Mail
Chartered Organization         Johnson School Pto                                                  The Spirit of Adventure 227                   292 Castle Rd                                                     Nahant, MA 01908                                                                                    First Class Mail
Voting Party                   Johnson United Methodist Church                                     Attn: James Alsop                             403 Raintree St                                                   New Harmony, IN 47631                                            johnsonumc@outlook.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Johnson United Methodist Church                                     James L Alsop                                 4003 Raintree St                                                  New Harmony, IN 47631                                                                               First Class Mail
Chartered Organization         Johnson Utd Methodist Church                                        Great Trail 433                               3409 Johnson Rd                                                   Norton, OH 44203‐6201                                                                               First Class Mail
Voting Party                   Johnsonburg United Methodist Church (85526)                         c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200      Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Johnsontown Road Elementary                                         Lincoln Heritage Council 205                  7201 Johnsontown Rd                                               Louisville, KY 40272‐3660                                                                           First Class Mail
Chartered Organization         Johnsonville Community Center                                       Occoneechee 421                               20130 Nc 24                                                       Cameron, NC 28326                                                                                   First Class Mail
Voting Party                   Johnsonville Ruritan Club                                           Attn: Rodger L Nicely                         934 Roberts Rd                                                    Sanford, NC 27332                                                rnicely@windstream.net             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Johnsonville United Methodist Church Inc                            Attn: John B Crouch Jr                        240 S Georgetown Hwy                                              Johnsonville, SC 29555                                           johnbcrouch@gmail.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Johnsonville Volunteer Fire Co                                      Twin Rivers Council 364                       5 River Rd                                                        Johnsonville, NY 12094‐3820                                                                         First Class Mail
Chartered Organization         Johnston Police Dept                                                Narragansett 546                              1651 Atwood Ave                                                   Johnston, RI 02919‐3213                                                                             First Class Mail
Chartered Organization         Johnston Pto                                                        Pathway To Adventure 456                      3114 Condit St                                                    Highland, IN 46322‐1703                                                                             First Class Mail
Chartered Organization         Johnston River Of Life                                              Mid Iowa Council 177                          4525 Beaver Ave                                                   Des Moines, IA 50310‐3744                                                                           First Class Mail
Voting Party                   Johnston River Of Life United Methodist Church                      Attn: Treasurer, Johnston River of Life Umc   P.O. Box 363                                                      Johnston, IA 50131                                               cari.gregg85@gmail.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Johnston Ymca                                                       Mecklenburg County Council 415                3025 N Davidson St                                                Charlotte, NC 28205‐1041                                                                            First Class Mail
Chartered Organization         Johnstown Fire Dept Assoc Inc                                       Simon Kenton Council 441                      96 E Pratt St                                                     Johnstown, OH 43031‐1241                                                                            First Class Mail
Chartered Organization         Johnstown Vol Township Firefighter Assoc                            President Gerald R Ford 781                   13641 S M 37 Hwy                                                  Battle Creek, MI 49017‐7823                                                                         First Class Mail
Chartered Organization         Johnsville School Pto                                               Northern Star Council 250                     991 125th Ave Ne                                                  Blaine, MN 55434‐3141                                                                               First Class Mail
Chartered Organization         Joint Board Fire Commisssioners Brick                               Jersey Shore Council 341                      601 Herbertsville Rd                                              Brick, NJ 08724‐5107                                                                                First Class Mail
Chartered Organization         Joint Residents Council Roanoke Vly                                 Blue Ridge Mtns Council 599                   2624 Salem Tpke Nw                                                Roanoke, VA 24017‐5334                                                                              First Class Mail
Chartered Organization         Joliet Diocese Scouting Committee                                   Rainbow Council 702                           1655 Weber Rd                                                     Crest Hill, IL 60403                                                                                First Class Mail
Chartered Organization         Joliet Police Dept                                                  Rainbow Council 702                           150 W Washington St                                               Joliet, IL 60432‐4139                                                                               First Class Mail
Chartered Organization         Joliet Ward Lds Church                                              Rainbow Council 702                           655 Springfield Ave                                               Joliet, IL 60435‐5446                                                                               First Class Mail
Voting Party                   Jolliff Umc                                                         c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Jon A Richey                                                        200 Church St                                 Neenah, WI 54957                                                                                                                   jarichey66@gmail.com               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Jonathan Crable Gordon                                              8208 Deerbrook Cir                            Sarasota, FL 34238‐4382                                                                                                            jongordonlaw@aol.com               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Jonathan Daniels Chapel (Hanover)                                   c/o The Tamposi Law Group, PC                 Attn: Peter N Tamposi                                             159 Main St                     Nashua, NH 03060                 peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Jonathan Reed Elementary School                                     Connecticut Rivers Council, Bsa 066           33 Griggs St                                                      Waterbury, CT 06704‐3109                                                                            First Class Mail
Chartered Organization         Jon‐Don                                                             Denver Area Council 061                       420 Bryant St                                                     Denver, CO 80204‐4808                                                                               First Class Mail
Voting Party                   Jones Chapel Umc                                                    c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Jones Chapel United Methodist Church 5601 Hwy 29 N Danielsville     c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Jones City Masonic Lodge 537                                        Last Frontier Council 480                     P.O. Box 308                                                      Jones, OK 73049‐0308                                                                                First Class Mail
Chartered Organization         Jones Heating And Air Conditioning                                  Black Warrior Council 006                     P.O. Box 129                                                      Brookwood, AL 35444‐0129                                                                            First Class Mail
Voting Party                   Jones Memorial United Methodist Church                              4131 Ringgold Rd                              Chattanooga, TN 37412                                                                                                              jmumcpastor@epbfi.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Jones United Methodist Church                                       Attn: Kelly Poland                            106 West Cherokee St                                              Jones, OK 73049                                                  levijeffries@hotmail.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Jones Valley School Pta                                             Greater Alabama Council 001                   4908 Garth Rd Se                                                  Huntsville, AL 35802‐1134                                                                           First Class Mail
Chartered Organization         Jonesboro Elementary Pta                                            Greater Alabama Council 001                   125 Owen Ave                                                      Bessemer, AL 35020‐7620                                                                             First Class Mail
Voting Party                   Jonesboro First United Methodist Church                             142 S Main St                                 Jonesboro, GA 30236                                                                                                                                                   First Class Mail
Voting Party                   Jonesboro First United Methodist Church ‐ Jonesboro                 c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Jonesboro United Methodist Church                                   Attn: Pastor Andrea Reese Woodhouse           407 W Main St                                                     Sanford, NC 27332                                                JonesboroUMC1@gmail.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Jonesboro University Rotary Club                                    Quapaw Area Council 018                       P.O. Box 851                                                      Jonesboro, AR 72403‐0851                                                                            First Class Mail
Chartered Organization         Jonesboro University Rotary Club 2125                               Quapaw Area Council 018                       P.O. Box 851                                                      Jonesboro, AR 72403‐0851                                                                            First Class Mail
Chartered Organization         Jonesboro Utd Methodist                                             Atlanta Area Council 092                      142 S Main St                                                     Jonesboro, GA 30236‐3566                                                                            First Class Mail
Chartered Organization         Jonesboro Utd Methodist Church                                      Louisiana Purchase Council 213                P.O. Box 156                                                      Jonesboro, LA 71251‐0156                                                                            First Class Mail
Voting Party                   Jonesboro‐Hodge United Methodist Church                             Attn: Pastor Paul Stearns                     P.O. Box 156                                                      402 4th St                      Jonesboro, LA 71251              stearnsbing79@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Jonesborough United Methodist Church                                Attn: Pastor Karen Lane                       211 W Main St                                                     Jonesborough, TN 37659                                           kmlane2006@gmail.com               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Jones‐Urenda Llc                                                    Rocky Mountain Council 063                    503 N Main St, Ste 514                                            Pueblo, CO 81003‐3141                                                                               First Class Mail
Chartered Organization         Jonesville Fire District                                            Twin Rivers Council 364                       953 Main St                                                       Clifton Park, NY 12065‐1011                                                                         First Class Mail
Voting Party                   Jonesville First United Methodist Church                            Attn: R.E. Woodward Jr                        P.O. Box 280                                                      Jonesville, VA 24263                                             ewoodward19502@gmail.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Jonesville First Utd Methodist Church                               Sequoyah Council 713                          100 Church St                                                     Jonesville, VA 24263                                                                                First Class Mail
Chartered Organization         Jonesville Lions Club                                               Southern Shores Fsc 783                       5264 Bunn Rd                                                      Jonesville, MI 49250‐9584                                                                           First Class Mail
Voting Party                   Jonesville United Methodist Church                                  Attn: William J Volk                          963 Main St                                                       Clifton Park, NY 12065                                           songbyrd@nycap.rr.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Jonesville United Methodist Church                                  963 Main St                                   Clifton Park, NY 12065                                                                                                             songbyrd@nycap.rr.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Jonesville United Methodist Church                                  Clifton Park, NY 12065                                                                                                                                                           songbyrd@nycap.rr.com              Email
Voting Party                   Jonesville United Methodist Church                                  P.O. Box 635                                  Jonesville, LA 7134‐                                                                                                               preacherdude318@yahoo.com          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Joplin Police Dept                                                  Ozark Trails Council 306                      303 E 3rd St                                                      Joplin, MO 64801‐2274                                                                               First Class Mail
Chartered Organization         Joppa Lodge 315 F&Am Of Michigan                                    Water and Woods Council 782                   P.O. Box 2075                                                     Bay City, MI 48707‐2075                                                                             First Class Mail
Chartered Organization         Jordan Area Lions Club                                              Northern Star Council 250                     17115 Beeline Ave                                                 Jordan, MN 55352‐8332                                                                               First Class Mail
Chartered Organization         Jordan Chapel Utd Methodist Church                                  Buckskin 617                                  P.O. Box 479                                                      Canvas, WV 26662‐0479                                                                               First Class Mail
Chartered Organization         Jordan Community Council                                            Longhouse Council 373                         39 Lock Tenders Dr                                                Jordan, NY 13080‐4200                                                                               First Class Mail
Voting Party                   Jordan Community Council                                            Attn: Bradford Hamer                          P.O. Box 582                                                      Jordan, NY 13080                                                 bradfordhamer@gmail.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Jordan Elementary Pto                                               Greater St Louis Area Council 312             400 S Elm St                                                      Centralia, IL 62801‐3910                                                                            First Class Mail
Chartered Organization         Jordan Evangelical Lutheran Church                                  Minsi Trails Council 502                      5103 Snowdrift Rd                                                 Orefield, PA 18069‐9513                                                                             First Class Mail
Voting Party                   Jordan Memorial                                                     c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Jordan Memorial Methodist Church                                    Old N State Council 070                       P.O. Box 848                                                      Ramseur, NC 27316‐0848                                                                              First Class Mail
Voting Party                   Jordan United Methodist Church                                      Attn: Bradford Hamer, Lay Leader              63 Elbridge St                                                    Jordan, NY 13080                                                 JordanUMC1@gmail.com               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Jordan Utd Church Of Christ                                         Minsi Trails Council 502                      1837 Church Rd                                                    Allentown, PA 18104‐1603                                                                            First Class Mail
Voting Party                   Jose F. Nino                                                        c/o Boy Scouts of America                     Attn: Chase Koontz                                                1325 W Walnut Hill Ln           Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Jose May Pto                                                        Circle Ten Council 571                        9818 Brockbank Dr                                                 Dallas, TX 75220‐2943                                                                               First Class Mail
Chartered Organization         Jose Rojas Cortes School                                            Puerto Rico Council 661                       Calle Juan D Rivera Santiago                                      Orocovis, PR 00720                                                                                  First Class Mail
Chartered Organization         Joseph A Citta Elementary School                                    Jersey Shore Council 341                      2050 Route 9                                                      Toms River, NJ 08755‐1214                                                                           First Class Mail
Chartered Organization         Joseph A. Citta Scout Reservation                                   Jersey Shore Council 341                      229 Brookville Rd                                                 Barnegat, NJ 08005‐1240                                                                             First Class Mail
Voting Party                   Joseph B Bethea Umc, Inc                                            Attn: Angela Mcwhorter                        350 W Perry Rd                                                    Myrtle Beach, SC 29579                                           amcwhorter@sccoast.net             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Joseph B Bethea United Methodist Church, Inc                        Attn: Angela Mcwhorter                        P.O. Box 50067                                                    Myrtle Beach, SC 29579                                           amcwhorter@sccoast.net             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Joseph Brett Harvey                                                 c/o Boy Scouts of America                     Attn: Chase Koontz                                                1325 W Walnut Hill Ln           Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Joseph C Herbert Post No 222                                        Mason Dixon Council 221                       12335 Big Spring Rd                                               Clear Spring, MD 21722                                                                              First Class Mail
Voting Party                   Joseph Csatari                                                      Address Redacted                                                                                                                                                                                                    First Class Mail
Firm                           Joseph D'Ambrosio Attorney at Law                                   Joseph D'Ambrosio                             4206 Dolphin Rd.                                                  Louisville, KY 40220                                             Joe.dambrosio@louisville.edu       Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Joseph Howard Sherman                                               Address Redacted                                                                                                                                                                                                    First Class Mail
Chartered Organization         Joseph I Weller American Legion Post 39                             Northern Lights Council 429                   201 Main St N                                                     Velva, ND 58790                                                                                     First Class Mail
Voting Party                   Joseph J Dimauro Jr                                                 Address Redacted                                                                                                                                                                 Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Joseph J Rosen Memorial, Inc                                        Greater New York Councils, Bsa 640            1945 N Railroad Ave                                               Staten Island, NY 10306‐2013                                                                        First Class Mail
Firm                           Joseph Joy & Associates, APLC                                       J Chad Edwards                                3626 N Hall St (Two Oak Lawn) Ste 610                             Dallas, TX 75219                                                 buzzyjoy@josephjoy.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           Joseph Joy & Associates, APLC                                       Joseph R. Joy lll                             PO Box 4929                                                       Lafayette, LA 70502                                              buzzyjoy@josephjoy.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           Joseph Joy & Associates, APLC and Jason J. Joy & Associates, APLC   J Chad Edwards                                3626 N Hall St (Two Oak Lawn) Ste 610                             Dallas, TX 75219                                                 Chad@IchorConsulting.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Joseph M Firth Youth Center                                         Minsi Trails Council 502                      108 Anderson St                                                   Phillipsburg, NJ 08865‐3234                                                                         First Class Mail
Chartered Organization         Joseph Mudd Elementary Ptc                                          Greater St Louis Area Council 312             610 Prince Ruppert Dr                                             O Fallon, MO 63366‐1802                                                                             First Class Mail
Voting Party                   Joseph P Landy                                                      c/o Boy Scouts of America                     Attn: Chase Koontz                                                1325 W Walnut Hill Ln           Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Joseph S Coco                                                       Address Redacted                                                                                                                                                                 Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Joseph Siegel, As Bishop Of The Catholic Diocese Of Evansville      Attn: Nick J Cirignano                        20 NW 1st St, 9th Fl                                              Evansville, IN 47708                                             ncirignano@zsws.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Josephine County Sheriff Search & Rescue                            Crater Lake Council 491                       250 Tech Way                                                      Grants Pass, OR 97526‐8530                                                                          First Class Mail
Chartered Organization         Josephine County Sportsman Assoc                                    Crater Lake Council 491                       7407 Highland Ave                                                 Grants Pass, OR 97526‐8400                                                                          First Class Mail
Chartered Organization         Joshua Bulter P.T.O.                                                Southeast Louisiana Council 214               300 4th St                                                        Bridge City, LA 70094‐3320                                                                          First Class Mail
Chartered Organization         Joshua Christian Academy                                            North Florida Council 087                     924 Saint Clair St                                                Jacksonville, FL 32254‐3148                                                                         First Class Mail
Chartered Organization         Joshua Generation Child Care                                        Erie Shores Council 460                       3252 Franklin Ave                                                 Toledo, OH 43608‐1780                                                                               First Class Mail
Voting Party                   Joshua James Squirell                                               Address Redacted                                                                                                                                                                 Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Joshua Simpson                                                      Address Redacted                                                                                                                                                                 Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Joshua Simpson                                                      c/o Connally Law Offices LLC                  218 S Clay St                                                     Louisville, KY 40202                                                                                First Class Mail
Voting Party                   Journey @ Christ Church United Methodist                            Attn: Sprc Chairperson                        225 W Bigelow Ave                                                 Findlay, OH 45840                                                jshadle@att.net                    Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Journey Christian Church                                            Southeast Louisiana Council 214               3828 Leila Pl                                                     Jefferson, LA 70121‐1632                                                                            First Class Mail
Chartered Organization         Journey Christian Church                                            Lincoln Heritage Council 205                  416 S Buckman St                                                  Shepherdsville, KY 40165‐8042                                                                       First Class Mail
Chartered Organization         Journey Christian Church                                            Mid‐America Council 326                       1110 E 7th St                                                     Wayne, NE 68787‐1575                                                                                First Class Mail
Chartered Organization         Journey Church                                                      Golden Empire Council 047                     450 Blue Ravine Rd                                                Folsom, CA 95630‐3402                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                Page 174 of 442
                                                                                   Case 20-10343-LSS                                       Doc 8171                                      Filed 01/06/22                                                       Page 190 of 457
                                                                                                                                                                            Exhibit B
                                                                                                                                                                             Service List
                                                                                                                                                                      Served as set forth below

        Description                                                         Name                                                                                          Address                                                                                                             Email               Method of Service
Voting Party                   Journey Church Of Folsom                                   Attn: Catherine Godwin, Clerk of Session   450 Blue Ravine Rd                                         Folsom, CA 95630                                                        clerk@JourneyChurchHome.org    Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Journey Church Of Jupiter                                  Gulf Stream Council 085                    12600 Indiantown Rd                                        Jupiter, FL 33478‐4678                                                                                 First Class Mail
Chartered Organization         Journey Church Of Lake Norman                              Mecklenburg County Council 415             15711 Brookway Dr                                          Huntersville, NC 28078‐3472                                                                            First Class Mail
Chartered Organization         Journey Of Faith                                           Capitol Area Council 564                   P.O. Box 1343                                              Round Rock, TX 78680‐1343                                                                              First Class Mail
Voting Party                   Journey Of Faith Umc                                       Attn: Arlene Weaver                        2900 Smallwood Dr                                          Waldorf, MD 20603                                                       finance@thejofc.org            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Journey Of Faith Valley Vista United Methodist Church      Attn: Rev F Latham‐Durrant                 1200 El Paso Blvd                                          Denver, CO 80221                                                        jofumc2@aol.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Journey To Eagle Inc                                       Gulf Stream Council 085                    22377 SW 65th Ave                                          Boca Raton, FL 33428‐6010                                                                              First Class Mail
Voting Party                   Journey United Methodist Church (Nv)                       c/o Clarke Law Firm, Plc                   Attn: Marilee Miller Clarke                                8141 E Indian Bend Rd, Ste 105     Scottsdale, AZ 85250                 marilee@clarkelawaz.com        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Joven Noble El Centro De Las Americas                      Cornhusker Council 324                     210 O St                                                   Lincoln, NE 68508‐2322                                                                                 First Class Mail
Chartered Organization         Joy Lutheran Church                                        Central Florida Council 083                3174 Jupiter Blvd Se                                       Palm Bay, FL 32909‐4103                                                                                First Class Mail
Chartered Organization         Joy Lutheran Church                                        Denver Area Council 061                    7051 Parker Hills Ct                                       Parker, CO 80138‐7922                                                                                  First Class Mail
Voting Party                   Joy Lutheran Church                                        10111 E Eagle River Loop                   Eagle River, AK 99577                                                                                                              joylutheran@gmail.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Joy Park Recreation                                        Great Trail 433                            825 Fuller St                                              Akron, OH 44306‐2513                                                                                   First Class Mail
Chartered Organization         Joyful Harvest                                             Blackhawk Area 660                         5050 Wilmot Rd                                             Johnsburg, IL 60051‐7977                                                                               First Class Mail
Voting Party                   Joyner Gray Yale Ruritan Club                              Attn: David Everett                        21428 Peters Bridge Rd                                     Yale, VA 23897                                                          wdunn@colonialfarmcredit.com   Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   JP Enterprises Dallas                                      Attn: John P. O'Neill                      2828 Trade Center Dr, Ste 100                              Carrollton, TX 75007                                                    yfenos@jpent.com               Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Jp Morgan Chase                                            Greater New York Councils, Bsa 640         237 Park Ave                                               New York, NY 10017‐3140                                                                                First Class Mail
Voting Party                   JPMorgan Chase Bank, NA                                    Norton Rose Fulbright US LLP               Attn: Kristian W. Gluck                                    2200 Ross Avenue, Suite 3600       Dallas, Texas 75201‐7932                                            First Class Mail
Chartered Organization         Jrm Mentoring                                              Erie Shores Council 460                    3251 Glendale Ave                                          Toledo, OH 43614‐2423                                                                                  First Class Mail
Chartered Organization         Jrotc Encampment                                           Denver Area Council 061                    3240 N Humboldt St                                         Denver, CO 80205‐3934                                                                                  First Class Mail
Chartered Organization         Jrotc Encampment ‐ South                                   Denver Area Council 061                    3240 N Humboldt St                                         Denver, CO 80205‐3934                                                                                  First Class Mail
Voting Party                   Js (Minor) and Mother, Angela Shumway                      c/o Tucker & Miller LLLP                   Attn: Daniel PJ Miller                                     1440 E Missouri Ave, Ste C150      Phoenix, AZ 85014                    dmiller@tucker‐miller.com      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         J'S Place                                                  W D Boyce 138                              219 Logan St                                               Emden, IL 62635                                                                                        First Class Mail
Chartered Organization         Juan J. Jimenez, Pa                                        South Florida Council 084                  10899 N Snapper Creek Dr                                   Miami, FL 33173‐2018                                                                                   First Class Mail
Chartered Organization         Juanita Butler Community Center                            Blue Ridge Council 551                     2 Burns St                                                 Greenville, SC 29605‐3917                                                                              First Class Mail
Chartered Organization         Jubilee ‐ Brownsville                                      Rio Grande Council 775                     4955 Pablo Kisel Blvd                                      Brownsville, TX 78526‐4484                                                                             First Class Mail
Chartered Organization         Jubilee ‐ Harlingen                                        Rio Grande Council 775                     123 S Palm Ct                                              Harlingen, TX 78552‐3631                                                                               First Class Mail
Chartered Organization         Jubilee Academic Center                                    South Texas Council 577                    1727 Senator Carlos Truan Blvd                             Kingsville, TX 78363‐6672                                                                              First Class Mail
Chartered Organization         Jubilee Brownsville                                        Rio Grande Council 775                     4955 Pablo Kisel Blvd                                      Brownsville, TX 78526‐4484                                                                             First Class Mail
Chartered Organization         Jubilee Center                                             Sequoyah Council 713                       197 Jockey St                                              Sneedville, TN 37869‐3834                                                                              First Class Mail
Chartered Organization         Jubilee Family Devt Center                                 Blue Ridge Mtns Council 599                1512 Florida Ave                                           Lynchburg, VA 24501‐4112                                                                               First Class Mail
Chartered Organization         Jubilee Fellowship Church                                  Denver Area Council 061                    9830 Lone Tree Pkwy                                        Lone Tree, CO 80124‐8926                                                                               First Class Mail
Chartered Organization         Jubilee Livingway                                          Rio Grande Council 775                     350 Ruben Torres Sr Blvd                                   Brownsville, TX 78520‐8148                                                                             First Class Mail
Chartered Organization         Jubilee Park                                               Circle Ten Council 571                     907 Bank St                                                Dallas, TX 75223‐2819                                                                                  First Class Mail
Chartered Organization         Judith Gap American Legion Post 70                         Montana Council 315                        210 Main St                                                Judith Gap, MT 59453                                                                                   First Class Mail
Voting Party                   Judith V Condo                                             34 Tamarack Ln                             E Greenbush, NY 12061                                                                                                              jcondo604@gmail.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Judson Baptist Church                                      Buckskin 617                               320 E 8th St                                               Belle, WV 25015‐1706                                                                                   First Class Mail
Chartered Organization         Judson Baptist Church                                      Istrouma Area Council 211                  32470 Walker Rd N                                          Walker, LA 70785‐4503                                                                                  First Class Mail
Chartered Organization         Judson Baptist Church                                      Buckskin 617                               72 Addington Pl                                            Winfield, WV 25213‐9399                                                                                First Class Mail
Chartered Organization         Judson Memorial Baptist Church                             Water and Woods Council 782                530 Vernon Ave                                             Lansing, MI 48910‐4633                                                                                 First Class Mail
Chartered Organization         Judson Ymca Community Ctr                                  Blue Ridge Council 551                     2 8th St                                                   Greenville, SC 29611‐5495                                                                              First Class Mail
Chartered Organization         Judy Ho Insurance                                          Silicon Valley Monterey Bay 055            1379 Glacier Dr                                            Milpitas, CA 95035‐6505                                                                                First Class Mail
Voting Party                   Judy R. Mcreynolds                                         c/o Boy Scouts of America                  Attn: Chase Koontz                                         1325 W Walnut Hill Ln              Irving, TX 75015                                                    First Class Mail
Voting Party                   Judy Yunker                                                2702 S Lake Dr                             Prestonsburg, KY 41653                                                                                                             revjudyy@gmail.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Judy Yunker                                                c/o Episcopal Diocese Of Lexington, KY     P.O. Box 610                                               Lexington, KY 40588‐0610                                                                               First Class Mail
Voting Party                   Julia E Sanders                                            Address Redacted                                                                                                                                                              Email Address Redacted         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Julia Ward Howe School                                     Cradle of Liberty Council 525              5800 N 13th St                                             Philadelphia, PA 19141‐4121                                                                            First Class Mail
Voting Party                   Julie A Seton                                              Address Redacted                                                                                                                                                              Email Address Redacted         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Junction City Fire Dept                                    Blue Grass Council 204                     794 W Shelby St                                            Junction City, KY 40440‐9593                                                                           First Class Mail
Voting Party                   Junction City United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                      erice@bradley.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Junction Lions Club                                        Texas Swest Council 741                    315 N Mountainview Rd                                      Junction, TX 76849‐6528                                                                                First Class Mail
Firm                           Junell & Associates, PLLC                                  Deborah Levy, Esq.                         3737 Buffalo Speedway # 1850                               Houston, TX 77098                                                       bsa@junell‐law.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           Junell & Associates, PLLC                                  Deborah Levy                               3737 Buffalo Speedway # 1850                               Houston, TX 77098                                                                                      First Class Mail
Voting Party                   Juniata United Methodist Church (176405)                   c/o Bentz Law Firm                         Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200         Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Juniata Utd Methodist Church                               Laurel Highlands Council 527               808 N 4th St                                               Altoona, PA 16601‐5710                                                                                 First Class Mail
Chartered Organization         Junior Explorers Foundation Inc                            Pathway To Adventure 456                   6000 Garlands Ln                                           Barrington, IL 60010‐6029                                                                              First Class Mail
Chartered Organization         Junior League Of Morristown                                Patriots Path Council 358                  P.O. Box 270                                               Morristown, NJ 07963‐0270                                                                              First Class Mail
Chartered Organization         Junior Police Academy                                      Chippewa Valley Council 637                721 Oxford Ave, Ste 1400                                   Eau Claire, WI 54703‐6387                                                                              First Class Mail
Chartered Organization         Jupiter Elementary After School                            Central Florida Council 083                950 Tupelo Rd Sw                                           Palm Bay, FL 32908‐7554                                                                                First Class Mail
Chartered Organization         Jupiter Elementary School Pto                              Gulf Stream Council 085                    200 S Loxahatchee Dr                                       Jupiter, FL 33458‐7446                                                                                 First Class Mail
Chartered Organization         Jupiter Elementary School Pto                              Central Florida Council 083                950 Tupelo Rd Sw                                           Palm Bay, FL 32908‐7554                                                                                First Class Mail
Chartered Organization         Jupiter Elks Lodge 2469                                    Gulf Stream Council 085                    10070 Indiantown Rd                                        Jupiter, FL 33478‐4788                                                                                 First Class Mail
Chartered Organization         Jupiter First Church                                       Gulf Stream Council 085                    1475 Indian Creek Pkwy                                     Jupiter, FL 33458‐8202                                                                                 First Class Mail
Chartered Organization         Jupiter Light Lodge                                        Gulf Stream Council 085                    600 S Loxahatchee Dr                                       Jupiter, FL 33458‐5781                                                                                 First Class Mail
Chartered Organization         Jupiter Police Dept                                        Gulf Stream Council 085                    210 Military Trl                                           Jupiter, FL 33458‐5786                                                                                 First Class Mail
Chartered Organization         Jupiter Summer After School Program                        Central Florida Council 083                895 Knecht Rd Ne                                           Palm Bay, FL 32905‐4642                                                                                First Class Mail
Chartered Organization         Jurupa Valley Citizens Of Scouting                         California Inland Empire Council 045       8225 40th St                                               Riverside, CA 92509‐2919                                                                               First Class Mail
Chartered Organization         Justice Christian Church                                   Buckskin 617                               210 2nd Ave                                                West Logan, WV 25601‐3253                                                                              First Class Mail
Chartered Organization         Justice Resource Institute                                 Cape Cod and Islands Cncl 224              221 Willow St                                              Yarmouth Port, MA 02675‐1770                                                                           First Class Mail
Voting Party                   Justice Umc                                                Attn: Marie Browning                       P.O. Box 628                                               Gilbert, WV 25621                                                       amsbrowning@gmail.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Justin Sorensen Agency                                     Crossroads of America 160                  320 E Mcgalliard Rd                                        Muncie, IN 47303‐2000                                                                                  First Class Mail
Chartered Organization         Justin Utd Methodist Church                                Longhorn Council 662                       205 N Jackson Ave                                          Justin, TX 76247‐9583                                                                                  First Class Mail
Chartered Organization         Juvenile Correction Center ‐ Jcc                           Grand Teton Council 107                    2220 E 600 N                                               Saint Anthony, ID 83445‐5310                                                                           First Class Mail
Chartered Organization         Juxtaposition Inc                                          Simon Kenton Council 441                   6256 Andrews Dr E                                          Westerville, OH 43082‐9316                                                                             First Class Mail
Chartered Organization         K Halo Technologies                                        Stonewall Jackson Council 763              8 Doris Dr                                                 Ruckersville, VA 22968‐3684                                                                            First Class Mail
Chartered Organization         K I Sawyer Heritage Air Museum                             Bay‐Lakes Council 635                      500 S 3rd St                                               Marquette, MI 49855‐4702                                                                               First Class Mail
Chartered Organization         K Miller Construction Co Inc                               Three Fires Council 127                    626 S Hawthorne Ave                                        Elmhurst, IL 60126‐4243                                                                                First Class Mail
Chartered Organization         K‐64/Cvcc Foundation                                       Piedmont Council 420                       1980 Startown Rd                                           Catawba, NC 28603                                                                                      First Class Mail
Chartered Organization         Kaa Pto                                                    National Capital Area Council 082          2949 Education Dr                                          Herndon, VA 20171‐3233                                                                                 First Class Mail
Voting Party                   Kaaterskill United Methodist Church                        Attn: Nancy D Allen, Treasurer             P.O. Box 225                                               Tannersville, NY 12485                                                  46er2355@gmail.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Kaaterskill United Methodist Church                        Nancy D Allen                              P.O. Box 225                                               5942 Main St                       Tannersville, NY 12485               46er2355@gmail.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Kahalu'U United Methodist Church                           Attn: Mosese Taufalele Jr                  47‐237 Waihee Rd                                           Kaneohe, HI 96744                                                       kahaluuumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Kahaluu Utd Methodist Church                               Aloha Council, Bsa 104                     47‐253 Waihee Rd                                           Kaneohe, HI 96744‐4948                                                                                 First Class Mail
Chartered Organization         Kahikuonalani Church Ucc                                   Aloha Council, Bsa 104                     1090 Waimano Home Rd                                       Pearl City, HI 96782‐2615                                                                              First Class Mail
Chartered Organization         Kahului Union Church                                       Aloha Council, Bsa 104                     101 W Kamehameha Ave                                       Kahului, HI 96732‐2200                                                                                 First Class Mail
Chartered Organization         Kairos Public School                                       Golden Empire Council 047                  129 Elm St                                                 Vacaville, CA 95688‐6925                                                                               First Class Mail
Chartered Organization         Kairos Public Schools                                      Golden Empire Council 047                  129 Elm St                                                 Vacaville, CA 95688‐6925                                                                               First Class Mail
Chartered Organization         Kaiser Permanente                                          W.L.A.C.C. 051                             615 W Ave L                                                Lancaster, CA 93534‐7211                                                                               First Class Mail
Chartered Organization         Kaiser Permanente                                          W.L.A.C.C. 051                             13652 Cantara St                                           Panorama City, CA 91402‐5423                                                                           First Class Mail
Chartered Organization         Kal Haven Trail Lions Club                                 Southern Shores Fsc 783                    P.O. Box 418                                               Bloomingdale, MI 49026‐0418                                                                            First Class Mail
Chartered Organization         Kalama Baptist Church                                      Cascade Pacific Council 492                P.O. Box 1395                                              Kalama, WA 98625‐1200                                                                                  First Class Mail
Chartered Organization         Kalama Lions Club                                          Cascade Pacific Council 492                204 Vivian Rd                                              Kalama, WA 98625‐9661                                                                                  First Class Mail
Chartered Organization         Kalamazoo 1St Congregal Ch Ucc                             Southern Shores Fsc 783                    345 W Michigan Ave                                         Kalamazoo, MI 49007‐3736                                                                               First Class Mail
Chartered Organization         Kalamazoo Boys Of Promise                                  Southern Shores Fsc 783                    1707 Marywood St                                           Kalamazoo, MI 49006‐1627                                                                               First Class Mail
Chartered Organization         Kalamazoo County Sheriff Office                            Southern Shores Fsc 783                    1500 Lamont Ave                                            Kalamazoo, MI 49048‐4156                                                                               First Class Mail
Chartered Organization         Kalamazoo Dept Of Public Safety                            Southern Shores Fsc 783                    150 E Crosstown Pkwy                                       Kalamazoo, MI 49001‐2849                                                                               First Class Mail
Chartered Organization         Kalamazoo Dept Of Public Safety                            Southern Shores Fsc 783                    150 E Crosstown Pkwy, Ste A                                Kalamazoo, MI 49001‐2879                                                                               First Class Mail
Chartered Organization         Kalamazoo Jaycees                                          Southern Shores Fsc 783                    P.O. Box 266                                               Portage, MI 49081‐0266                                                                                 First Class Mail
Chartered Organization         Kalamazoo Naacp                                            Southern Shores Fsc 783                    636 S Rose St                                              Kalamazoo, MI 49007‐5242                                                                               First Class Mail
Chartered Organization         Kal‐Haven Trail Lions Club                                 Southern Shores Fsc 783                    39986 W Red Arrow Hwy                                      Paw Paw, MI 49079‐9315                                                                                 First Class Mail
Chartered Organization         Kalida Fish And Game Club                                  Black Swamp Area Council 449               P.O. Box 544                                               Kalida, OH 45853‐0544                                                                                  First Class Mail
Chartered Organization         Kalihi Business Assoc                                      Kaewai Kalihi Waena                        P.O. Box 17729                                             Honolulu, HI 96817‐0729                                                                                First Class Mail
Chartered Organization         Kalihi Business Assoc ‐ Fern                               Aloha Council, Bsa 104                     P.O. Box 17729                                             Honolulu, HI 96817‐0729                                                                                First Class Mail
Chartered Organization         Kalkaska Utd Methodist Church                              President Gerald R Ford 781                2525 Beebe Rd                                              Kalkaska, MI 49646‐8008                                                                                First Class Mail
Firm                           Kallial Law LLC                                            Matthew J. Kallial                         P.O. Box 50271                                             Clayton, MO 63105                                                       kalliallaw@gmail.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Kamehameha Schools Elementary                              Aloha Council, Bsa 104                     1887 Makuakane St                                          Honolulu, HI 96817‐1800                                                                                First Class Mail
Voting Party                   Kamm & Mcconnell Llc                                       P.O. Box 1148                              Raton, NM 87740‐1148                                                                                                                                              First Class Mail
Chartered Organization         Kamp Hawaii                                                Aloha Council, Bsa 104                     P.O. Box 701022                                            Kapolei, HI 96709‐1022                                                                                 First Class Mail
Chartered Organization         Kanapaha Presbyterian Church, Inc                          North Florida Council 087                  6221 SW 75th Ter                                           Gainesville, FL 32608‐5611                                                                             First Class Mail
Voting Party                   Kane First United Methodist Church (88325)                 c/o Bentz Law Firm                         Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200         Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Kane First Utd Methodist Church                            Allegheny Highlands Council 382            112 Greeves St                                             Kane, PA 16735‐5606                                                                                    First Class Mail
Voting Party                   Kane Perry, Plc                                            Attn: Kevin Lee Perry                      1616 Caroline St                                           Fredericksburg, VA 22401                                                klp@kaneperry.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Kane School Pto                                            Mayflower Council 251                      520 Farm Rd                                                Marlborough, MA 01752‐2760                                                                             First Class Mail
Chartered Organization         Kankakee Fire Dept                                         Rainbow Council 702                        385 E Oak St                                               Kankakee, IL 60901‐3924                                                                                First Class Mail
Chartered Organization         Kannapolis Fire Dept                                       Central N Carolina Council 416             401 Laureate Way                                           Kannapolis, NC 28081‐0005                                                                              First Class Mail
Chartered Organization         Kannapolis Middle School                                   Central N Carolina Council 416             1445 Oakwood Ave                                           Kannapolis, NC 28081‐9452                                                                              First Class Mail
Chartered Organization         Kannapolis Police Dept                                     Central N Carolina Council 416             314 S Main St                                              Kannapolis, NC 28081‐3226                                                                              First Class Mail
Chartered Organization         Kannapolis Ymca                                            Central N Carolina Council 416             101 Ymca Dr                                                Kannapolis, NC 28081                                                                                   First Class Mail
Chartered Organization         Kansas Ave Properties                                      Denver Area Council 061                    P.O. Box 62                                                Jennings, KS 67643‐0062                                                                                First Class Mail
Chartered Organization         Kansas City Northland Ares                                 Heart of America Council 307               1909 E 28th Ave                                            North Kansas City, MO 64116‐3203                                                                       First Class Mail
Chartered Organization         Kansas City Sail And Power Squadron                        Heart of America Council 307               7126 Parallel Pkwy                                         Kansas City, KS 66112‐2223                                                                             First Class Mail
Chartered Organization         Kansas Lions Club                                          Greater St Louis Area Council 312          P.O. Box 361                                               Kansas, IL 61933‐0361                                                                                  First Class Mail
Chartered Organization         Kansas Sunflower Chapter Afe9A                             Coronado Area Council 192                  350 Grant Ave                                              Junction City, KS 66441‐4216                                                                           First Class Mail
Voting Party                   Kansas United Methodist Church                             Attn: Brian Harmon                         5336 N 50th St                                             Kansas, IL 61933                                                        harmobc@gmail.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Kansas United Methodist Church                             Robert Charles Tomshock                    P.O. Box 447                                               Kansas, IL 61933                                                                                       First Class Mail
Voting Party                   Kantar Media Srds                                          3333 Warrenville Rd, Ste 500               Lisle, IL 60532‐1484                                                                                                                                              First Class Mail
Chartered Organization         Kapaa Utd Church Of Christ                                 Aloha Council, Bsa 104                     P.O. Box 218                                               Kapaa, HI 96746‐0218                                                                                   First Class Mail
Voting Party                   Kaplan Johnson Abate & Bird, LLP                           Tyler R Yeager                             710 W Main St, 4th Fl                                      Louisville, KY 40202                                                    tyeager@kaplanjohnsonlaw.com   Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Kaposia Employment Services Gv                             Northern Star Council 250                  223 Little Canada Rd E 100                                 Little Canada, MN 55117‐1325                                                                           First Class Mail
Chartered Organization         Kappa Alpha Psi                                            Blue Ridge Council 551                     34 Crossvine Way                                           Simpsonville, SC 29680‐6848                                                                            First Class Mail
Chartered Organization         Kappa Alpha Psi College Park Alumni Ch                     Atlanta Area Council 092                   P.O. Box 490423                                            College Park, GA 30349‐0028                                                                            First Class Mail
Chartered Organization         Kappa Alpha Psi Fraternity Kmac                            Southeast Louisiana Council 214            2022 Saint Bernard Ave                                     New Orleans, LA 70116‐1319                                                                             First Class Mail
Chartered Organization         Kappa League Of Mobile Alumni                              Mobile Area Council‐Bsa 004                P.O. Box 81445                                             Mobile, AL 36689‐1445                                                                                  First Class Mail
Chartered Organization         Kappa Rho Omega Psi Fraternity Inc                         Tuscarora Council 424                      500 Beaman St                                              Clinton, NC 28328‐2602                                                                                 First Class Mail
Voting Party                   Karen Cooley Izen                                          5526 Mcknight St                           Houston, TX 77035                                                                                                                  jizen@comcast.net              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Karen Culp                                                 Address Redacted                                                                                                                                                              Email Address Redacted         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Karen Culp                                                 c/o Christ Lutheran Church & School        760 Victoria St                                            Costa Mesa, CA 92627                                                                                   First Class Mail
Voting Party                   Karen Dewolf Ricard                                        21 Anthony Court                           Enfield, NH 03748                                                                                                                  kdricard87@comcast.net         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           Karen M. Thomas, Attorney at Law                           Karen M. Thomas                            364 Ben Albert Road                                        Cottontown, TN 37048                                                    agingwell25@hotmail.com        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Karnes City Rotary Club                                    Alamo Area Council 583                     2193 Hwy 80                                                Karnes City, TX 78118‐6226                                                                             First Class Mail
Chartered Organization         Kaskaskia Vfw Post 3553                                    Greater St Louis Area Council 312          939 State St                                               Chester, IL 62233‐1643                                                                                 First Class Mail
Voting Party                   Kass Shuler, Pa                                            Attn: Nicole Mariani Noel                  1505 N Florida Ave                                         Tampa, FL 33602                                                         nmnoel@kasslaw.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Kass Shuler, Pa                                            Nicole Mariani Noel                        1505 N Florida Ave                                         Tampa, FL 33602                                                         nmnoel@kasslaw.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Katahdin Area Cncl 216                                     P.O. Box 1869                              Bangor, ME 04402‐1869                                                                                                                                             First Class Mail
Chartered Organization         Katahdin Staff Assoc                                       Katahdin Area Council 216                  P.O. Box 1869                                              Bangor, ME 04402‐1869                                                                                  First Class Mail
Chartered Organization         Kate Collins Middle School                                 Stonewall Jackson Council 763              1625 Ivy St                                                Waynesboro, VA 22980‐2505                                                                              First Class Mail
Chartered Organization         Kate Waller Barrett Elementary Pto                         National Capital Area Council 082          150 Duffey Dr                                              Stafford, VA 22556‐8034                                                                                First Class Mail
Voting Party                   Katherine Gerard                                           Of Belgrade Lakes, United Methodist        P.O. Box 133                                               67 Main St                         Belgrade Lakes, ME 04918             unionchurchmaine@gmail.com     Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Kathryn Bradley                                            120 Briarcliff Rd                          Durham, NC 27707                                                                                                                   kbradley@law.duke.edu          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Katonah Rotary Club                                        Westchester Putnam 388                     59 Meadow Ln                                               Katonah, NY 10536‐1413                                                                                 First Class Mail
Voting Party                   Katonah United Methodist Church                            Attn: Leeann Coffin                        44 Edgemont Rd                                             Katonah, NY 10536                                                       kumc‐secy@optonline.net        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Katonah United Methodist Church                            Attn: Lee Ann Coffin                       5 Bedford Rd                                               Katonah, NY 10536                                                       kumc‐secy@optonline.net        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Katy Area Christian Home Sch Assoc                         (Kach)                                     P.O. Box 6506                                              Katy, TX 77491‐6506                                                                                    First Class Mail
Voting Party                   Katy First United Methodist Church                         Attn: Richard White                        5601 5th St                                                Katy, TX 77493                                                          rwhite@katyfirst.org           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Katy Veterans Of Foreign Wars Post 9182                    Sam Houston Area Council 576               6206 George Bush Dr                                        Katy, TX 77493‐1806                                                                                    First Class Mail
Chartered Organization         Kauffman Ruritan                                           Mason Dixon Council 221                    7289 Ruritan Dr                                            Chambersburg, PA 17202‐9243                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                             Page 175 of 442
                                                                                   Case 20-10343-LSS                                            Doc 8171                                                  Filed 01/06/22                                                 Page 191 of 457
                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                         Name                                                                                                         Address                                                                                                             Email               Method of Service
Chartered Organization         Kauffman Ruritan Club                                      Mason Dixon Council 221                         7289 Ruritan Dr                                                        Chambersburg, PA 17202‐9243                                                                          First Class Mail
Chartered Organization         Kavanaugh Life Enrichment Center                           Lincoln Heritage Council 205                    7505 Kavanaugh Rd                                                      Crestwood, KY 40014‐9446                                                                             First Class Mail
Voting Party                   Kavanaugh Umc                                              Attn: Stephen H Helsel                          2287 E Beach                                                           Greenville, TX 75402                                              tdor1949@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kavanaugh Umc                                              2516 Park St                                    Greenville, TX 75401                                                                                                                                                        First Class Mail
Voting Party                   Kavanaugh United Methodist Church Of Greenville, Tx        Attn: Treasurer, Kavanaugh Umc                  2516 Park St                                                           Greenville, TX 75401                                              PastorJohnKay@gmail.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kavanaugh Utd Methodist Church                             Circle Ten Council 571                          2516 Park St                                                           Greenville, TX 75401‐5219                                                                            First Class Mail
Chartered Organization         Kaw Prairie Community Church                               Heart of America Council 307                    9421 Meadow View Dr                                                    Shawnee, KS 66227‐7274                                                                               First Class Mail
Chartered Organization         Kawanis Club @ Jimmie Tyler Brashear                       Circle Ten Council 571                          2956 S Hampton Rd                                                      Dallas, TX 75224                                                                                     First Class Mail
Chartered Organization         Kawanis Club Of Oak Cliff @ Thornton                       Circle Ten Council 571                          2407 W 12th St                                                         Dallas, TX 75211‐2768                                                                                First Class Mail
Chartered Organization         Kaysville Rotary Club                                      Trapper Trails 589                              549 Hods Hollow Dr                                                     Kaysville, UT 84037‐1556                                                                             First Class Mail
Chartered Organization         Kc Club Inc                                                Juniata Valley Council 497                      850 Stratford Dr                                                       State College, PA 16801‐4332                                                                         First Class Mail
Chartered Organization         Kc De Saules Council 2597                                  Rio Grande Council 775                          251 E 41B St                                                           Rio Grande City, TX 78582                                                                            First Class Mail
Chartered Organization         Kc Event Center                                            Sam Houston Area Council 576                    Po Box 1805                                                            Conroe, TX 77305‐1805                                                                                First Class Mail
Voting Party                   Kc Law                                                     Attn: Kevin Chrisanthopoulos                    30 Court St, Ste 1                                                     Westfield, MA 01085                                               kevin@kctrialattorney.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kck Huggers Inc Special Olympics                           Heart of America Council 307                    5033 State Ave                                                         Kansas City, KS 66102‐3491                                                                           First Class Mail
Chartered Organization         Kck Wyco Public Safety Explorers                           Heart of America Council 307                    700 Minnesota Ave                                                      Kansas City, KS 66101‐2704                                                                           First Class Mail
Chartered Organization         Kearney Community Learning Ctr                             Overland Trails 322                             310 W 24th St                                                          Kearney, NE 68845‐5331                                                                               First Class Mail
Chartered Organization         Kearney Park Vol. Fire Dept                                Andrew Jackson Council 303                      443 Livingston Vernon Rd                                               Flora, MS 39071                                                                                      First Class Mail
Chartered Organization         Kearney Utd Methodist Church                               Heart of America Council 307                    1000 E State Route 92                                                  Kearney, MO 64060‐8832                                                                               First Class Mail
Chartered Organization         Kearns‐Saint Ann Catholic School Clc                       Great Salt Lake Council 590                     439 E 2100 S                                                           South Salt Lake, UT 84115                                                                            First Class Mail
Chartered Organization         Kearny County Bank                                         Santa Fe Trail Council 194                      P.O. Box 67                                                            Lakin, KS 67860‐0067                                                                                 First Class Mail
Chartered Organization         Kearny Mesa Moose Lodge 1852                               San Diego Imperial Council 049                  3636 Ruffin Rd                                                         San Diego, CA 92123‐1810                                                                             First Class Mail
Voting Party                   Kearsarge Community Presbyterian Church                    82 King Hill Rd                                 New London, NH 03257                                                                                                                     jnwalters2@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kearsarge Lodge 23                                         Daniel Webster Council, Bsa 330                 513 Park Ave                                                           Contoocook, NH 03229                                                                                 First Class Mail
Chartered Organization         Kearsley Upper Elementary Pto                              Water and Woods Council 782                     3333 Shillelagh Dr                                                     Flint, MI 48506‐2246                                                                                 First Class Mail
Chartered Organization         Keating Rural Fire Protection District                     Blue Mountain Council 604                       26488 Keating Grange Ln                                                Baker City, OR 97814‐6173                                                                            First Class Mail
Voting Party                   Keating Summit United Methodist Church (180715)            c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                                 680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kechi United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kechi Utd Methodist Church                                 Quivira Council, Bsa 198                        4533 E 61st St N                                                       Kechi, KS 67067‐9032                                                                                 First Class Mail
Voting Party                   Kee Street United Methodist Church                         Attn: Barbara Parsons                           311 Kee St                                                             Princeton, WV 2740                                                barbaraparsons@hotmail.com         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Keeler Park                                                Seneca Waterways 397                            501 Seneca Manor Dr                                                    Rochester, NY 14621‐1652                                                                             First Class Mail
Chartered Organization         Keene Isd Police Dept                                      Longhorn Council 662                            P.O. Box 656                                                           Keene, TX 76059‐0656                                                                                 First Class Mail
Chartered Organization         Keenes Crossing Elementary Sac                             Central Florida Council 083                     5240 Keenes Pheasant Dr                                                Windermere, FL 34786‐3220                                                                            First Class Mail
Chartered Organization         Keeping Our Legacy Alive Commty                            Devt Corportaion                                1333 S Carrollton Ave                                                  New Orleans, LA 70118‐2003                                                                           First Class Mail
Chartered Organization         Keeping Our Legacy Alive Commty                            Devt Corp                                       6401 Elysian Fields Ave                                                New Orleans, LA 70122‐5660                                                                           First Class Mail
Chartered Organization         Kehilath Israel Synagogue                                  Heart of America Council 307                    10501 Conser St                                                        Shawnee Mission, KS 66212‐2643                                                                       First Class Mail
Chartered Organization         Kehoe‐France School And Camp                               Southeast Louisiana Council 214                 720 Elise Ave                                                          Metairie, LA 70003‐3837                                                                              First Class Mail
Chartered Organization         Kehrs Mill Ptg                                             Greater St Louis Area Council 312               P.O. Box 31006                                                         Des Peres, MO 63131‐0006                                                                             First Class Mail
Voting Party                   Keith A Clark                                              c/o Boy Scouts of America                       Attn: Chase Koontz                                                     1325 W Walnut Hill Ln            Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Keith Allen Pitsch                                         19109 145th Ave                                 Jim Falls, WI 54748                                                                                                                      jfsturgeon17@hotmail.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Keith Elementary Pto                                       Sam Houston Area Council 576                    20550 Fairfield Green Blvd                                             Cypress, TX 77433‐6122                                                                               First Class Mail
Voting Party                   Keith Memorial United Methodist Church                     c/o Keith Memorial United Methodist Church      Attn: Austin Fesmire Chairman of Board of Trustees                     P.O. Box 1                       Athens, TN 37371                 afesmire@athenstn.gov              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Keith Middle School                                        Tukabatchee Area Council 005                    1166 County Rd 115                                                     Orrville, AL 36767‐2634                                                                              First Class Mail
Voting Party                   Keizer Christian Church                                    6945 Wheatland Rd N                             Keizer, OR 97303                                                                                                                         1963kcc@comcast.net                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Keizer Clear Lake United Methodist Church                  c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Keizer Clear Lake Utd Methodist                            Cascade Pacific Council 492                     7920 Wheatland Rd N                                                    Keizer, OR 97303‐3463                                                                                First Class Mail
Chartered Organization         Keizer Lions Club                                          Cascade Pacific Council 492                     P.O. Box 20006                                                         Keizer, OR 97307‐0006                                                                                First Class Mail
Voting Party                   Kelaher, Van Dyke & Moriarty                               Attn: Peter Jon Van Dyke                        680 Hooper Ave, Bldg C, Ste 302                                        Toms River, NJ 08753                                              pvandyke@kvdmlaw.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kellenberg Memorial High School                            Theodore Roosevelt Council 386                  1400 Glenn Curtiss Blvd                                                Uniondale, NY 11553‐3703                                                                             First Class Mail
Chartered Organization         Keller Gsa Group Of Citizens                               Longhorn Council 662                            11708 Wild Pear Ln                                                     Fort Worth, TX 76244‐8815                                                                            First Class Mail
Chartered Organization         Keller Lions Club                                          Longhorn Council 662                            P.O. Box 59                                                            Keller, TX 76244‐0059                                                                                First Class Mail
Chartered Organization         Keller Police Dept                                         Longhorn Council 662                            330 Rufe Snow Dr                                                       Keller, TX 76248‐2102                                                                                First Class Mail
Voting Party                   Keller United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Keller United Methodist Church                             1025 Johnson Rd                                 Keller, TX 76248                                                                                                                                                            First Class Mail
Chartered Organization         Keller Utd Methodist Church                                Longhorn Council 662                            1025 Johnson Rd                                                        Keller, TX 76248‐4145                                                                                First Class Mail
Voting Party                   Kelley & Clements, LLP                                     Attn: Charles N Kelley, Jr                      P.O. Box 2758                                                          Gainesville, GA 30503                                             ckelley@kelleyclements.com         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kelley Chapel Utd Methodist Church                         Atlanta Area Council 092                        3411 Kelley Chapel Rd                                                  Decatur, GA 30034‐6223                                                                               First Class Mail
Chartered Organization         Kellison School Pta                                        Greater St Louis Area Council 312               1626 Hawkins Rd                                                        Fenton, MO 63026‐2600                                                                                First Class Mail
Voting Party                   Kelly Chapel 3412 Kelly Chapel Rd Decatur                  c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kelly Generator & Equipment Of Pa & Wv                     Attn: Diane Wooten/Accts Receivable             1955 Dale Ln                                                           Owings, MD 20736                                                  ap@kge.com                         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kellyville United Methodist Church, Inc                    Attn: Trustees                                  P.O. Box 945                                                           Kellyville, OK 74039                                              kellyvilleumc@tds.net              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kellyville United Methodist, Inc                           Attn: Stanley E Storer                          12827 S 209th W Ave                                                    Sapulpa, OK 74066                                                 kellyvilleumc@tds.net              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kelsey Wiley Vfw Post 2292                                 President Gerald R Ford 781                     2242 E Howard City Rd                                                  Edmore, MI 48829                                                                                     First Class Mail
Chartered Organization         Kelsey Wiley Vfw Post 2292                                 President Gerald R Ford 781                     2292 E Howard City Edmore Rd                                           Edmore, MI 48829                                                                                     First Class Mail
Chartered Organization         Kelseyville Presbyterian Church                            Mt Diablo‐Silverado Council 023                 P.O. Box 414                                                           Kelseyville, CA 95451‐0414                                                                           First Class Mail
Chartered Organization         Kelso Christian Assembly                                   Cascade Pacific Council 492                     403 Academy St                                                         Kelso, WA 98626‐4102                                                                                 First Class Mail
Chartered Organization         Kelso Elem ‐ Knights Of Columbus                           Sam Houston Area Council 576                    5800 Southmund St                                                      Houston, TX 77033‐1832                                                                               First Class Mail
Voting Party                   Kelso United Methodist Presbyterian Church                 c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Keltec Systems, Inc                                        Capitol Area Council 564                        346 Hoffman Rd                                                         Bastrop, TX 78602‐2627                                                                               First Class Mail
Voting Party                   Kem L Coulter                                              2102 Enchanted Lake Dr                          League City, TX 77573                                                                                                                    klcoulter@msn.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kemble Memorial Umc                                        c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kemblesville Umc                                           c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kemblesville Umc                                           1772 New London Rd                              Landenberg, PA 19350                                                                                                                                                        First Class Mail
Chartered Organization         Kemblesville Utd Methodist Church                          Chester County Council 539                      P.O. Box 189                                                           Kemblesville, PA 19347‐0189                                                                          First Class Mail
Chartered Organization         Kemp Mill Synagogue                                        National Capital Area Council 082               11910 Kemp Mill Rd                                                     Silver Spring, MD 20902‐1514                                                                         First Class Mail
Chartered Organization         Kemp Utd Methodist Church                                  Circle Ten Council 571                          304 E 9th St                                                           Kemp, TX 75143‐7701                                                                                  First Class Mail
Chartered Organization         Kemper Academy                                             Choctaw Area Council 302                        149 Walnut Ave                                                         De Kalb, MS 39328‐6089                                                                               First Class Mail
Voting Party                   Kempner United Methodist Church                            Attn: Treasurer, Kumc                           P.O. Box 549                                                           Kempner, TX 76539                                                 susan.hunter969@gmail.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kempner United Methodist Church                            Susan K Hunter                                  P.O. Drawer 549                                                        Kempner, TX 76539                                                 susan.hunter969@gmail.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kempner Volunteer Fire Dept                                Texas Trails Council 561                        P.O. Box 136                                                           Kempner, TX 76539‐0136                                                                               First Class Mail
Chartered Organization         Kempsville Presbyterian Church                             Tidewater Council 596                           805 Kempsville Rd                                                      Virginia Beach, VA 23464‐2708                                                                        First Class Mail
Voting Party                   Kempsville Ruritan Club                                    Attn: Franklin E Kleen                          P.O. Box 62166                                                         Virginia Beach, VA 23466                                          frank.kleen@verizon.net            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kempton School Concerned Citizens                          Water and Woods Council 782                     3040 Davenport Ave                                                     Saginaw, MI 48602‐3651                                                                               First Class Mail
Chartered Organization         Ken F Kennedy Financial                                    Trapper Trails 589                              1233 N Highland Blvd                                                   Brigham City, UT 84302‐4294                                                                          First Class Mail
Chartered Organization         Kenai Rotary Club                                          Great Alaska Council 610                        10800 Kenai Spur Hwy                                                   Kenai, AK 99611‐7849                                                                                 First Class Mail
Chartered Organization         Kenansville Lions Club                                     Tuscarora Council 424                           P.O. Box 275                                                           Kenansville, NC 28349‐0275                                                                           First Class Mail
Chartered Organization         Kenansville Lions Club                                     Tuscarora Council 424                           P.O. Box 1062                                                          Kenansville, NC 28349‐1062                                                                           First Class Mail
Chartered Organization         Kendale Elementary School Pta                              South Florida Council 084                       10693 SW 93rd St                                                       Miami, FL 33176‐2609                                                                                 First Class Mail
Chartered Organization         Kendall Park First Aid Rescue Squad                        Monmouth Council, Bsa 347                       P.O. Box 5097                                                          Kendall Park, NJ 08824‐5097                                                                          First Class Mail
Voting Party                   Kendall United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kendall Utd Methodist Church                               Iroquois Trail Council 376                      1814 Kendall Rd                                                        Kendall, NY 14476‐9634                                                                               First Class Mail
Chartered Organization         Kendall Utd Methodist Church                               South Florida Council 084                       10400 SW 77th Ave                                                      Pinecrest, FL 33156                                                                                  First Class Mail
Chartered Organization         Kendallville Rotary Club & Bpoe 1194                       Anthony Wayne Area 157                          P.O. Box 5091                                                          Kendallville, IN 46755‐5091                                                                          First Class Mail
Voting Party                   Kendrew Umc                                                Attn: Rev Tom Nichols                           5201 Cr 6                                                              Ogdensburg, NY 13669                                              tnichols@northnet.org              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kendrew Umc                                                Attn: Bonnie St Denny                           101 Congress St                                                        Rensselaer Falls, NY 13680                                        cstdenny@twcny.rr.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kendrick Miller                                            Address Redacted                                                                                                                                                                         Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Keneseth Beth Israel                                       Heart of Virginia Council 602                   6300 Patterson Ave                                                     Richmond, VA 23226‐3014                                                                              First Class Mail
Chartered Organization         Kenly Kiwanis Club                                         Tuscarora Council 424                           1328 Bagley Rd                                                         Kenly, NC 27542‐9577                                                                                 First Class Mail
Chartered Organization         Kenmont Montessori School                                  Rio Grande Council 775                          2734 N Coria St                                                        Brownsville, TX 78520‐8841                                                                           First Class Mail
Chartered Organization         Kenmont School                                             Rio Grande Council 775                          2734 N Coria St                                                        Brownsville, TX 78520‐8841                                                                           First Class Mail
Chartered Organization         Kenmoor Middle School                                      National Capital Area Council 082               2500 Kenmoor Dr                                                        Hyattsville, MD 20785‐2709                                                                           First Class Mail
Chartered Organization         Kenmore Presbyterian Church                                Greater Niagara Frontier Council 380            2771 Delaware Ave                                                      Kenmore, NY 14217‐2741                                                                               First Class Mail
Chartered Organization         Kennard Cja Pto                                            Greater St Louis Area Council 312               5031 Potomac St                                                        Saint Louis, MO 63139‐1316                                                                           First Class Mail
Voting Party                   Kennedy 1st UMC                                            Attn: Mary Jane Griffith & Jennifer J Delahoy   P.O. Box 115                                                           Kennedy, NY 14747                                                 kennedy1stumc@windstream.net       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kennedy Hall American Legion Post 106                      Central N Carolina Council 416                  6250 Nc Hwy 801                                                        Salisbury, NC 28147‐8484                                                                             First Class Mail
Chartered Organization         Kennedy Jr High Parent Group                               Silicon Valley Monterey Bay 055                 821 Bubb Rd                                                            Cupertino, CA 95014‐4938                                                                             First Class Mail
Chartered Organization         Kennedy Middle School                                      Mecklenburg County Council 415                  4000 Gallant Ln                                                        Charlotte, NC 28273‐3208                                                                             First Class Mail
Chartered Organization         Kennedy‐Hall American Legion Post 106                      Central N Carolina Council 416                  6250 Nc Hwy 801                                                        Salisbury, NC 28147‐8484                                                                             First Class Mail
Chartered Organization         Kenner Lions Club                                          Southeast Louisiana Council 214                 2001 18th St                                                           Kenner, LA 70062‐6277                                                                                First Class Mail
Chartered Organization         Kenner Lions Club                                          Southeast Louisiana Council 214                 P.O. Box 768                                                           Kenner, LA 70063‐0768                                                                                First Class Mail
Chartered Organization         Kennerly School Pto                                        Greater St Louis Area Council 312               10025 Kennerly Rd                                                      Saint Louis, MO 63128‐2105                                                                           First Class Mail
Chartered Organization         Kennesaw Police Dept                                       Atlanta Area Council 092                        2539 J O Stephenson Ave Nw                                             Kennesaw, GA 30144‐2780                                                                              First Class Mail
Voting Party                   Kennesaw United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kennesaw United Methodist Church                           1801 Ben King Rd                                Kennesaw, GA 30144                                                                                                                                                          First Class Mail
Chartered Organization         Kennesaw Utd Methodist Church                              Atlanta Area Council 092                        1801 Ben King Rd Nw                                                    Kennesaw, GA 30144‐2917                                                                              First Class Mail
Chartered Organization         Kenneth Clement Boys' Leadership Academy                   Lake Erie Council 440                           14311 Woodworth Rd                                                     Cleveland, OH 44112‐1926                                                                             First Class Mail
Voting Party                   Kenneth Eckberg                                            Address Redacted                                                                                                                                                                                                            First Class Mail
Firm                           Kenneth J. Ready & Associates                              Kenneth J. Ready                                1565 Franklin Avenue                                                   Mineola, NY 11501                                                 kenneth.ready@readylawfirmny.com   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kenneth James Keating                                      Address Redacted                                                                                                                                                                         Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kenneth L Hermanson Pto                                    Rainbow Council 702                             101 Wesglen Pkwy                                                       Romeoville, IL 60446‐5269                                                                            First Class Mail
Chartered Organization         Kennewick Fire Dept                                        Blue Mountain Council 604                       600 S Auburn St                                                        Kennewick, WA 99336‐5625                                                                             First Class Mail
Voting Party                   Kennewick First United Methodist Church                    c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kennydale Umc ‐ Renton                                     c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Keno Fire Dept                                             Crater Lake Council 491                         P.O. Box 10                                                            Keno, OR 97627‐0010                                                                                  First Class Mail
Chartered Organization         Keno Fire District                                         Crater Lake Council 491                         14800 Puckett Rd                                                       Klamath Falls, OR 97601‐5248                                                                         First Class Mail
Chartered Organization         Kenockee Twp Fire Dept                                     Water and Woods Council 782                     8815 Main St                                                           Avoca, MI 48006‐7707                                                                                 First Class Mail
Chartered Organization         Kenosha Moose Lodge 286                                    Three Harbors Council 636                       3003 30th Ave                                                          Kenosha, WI 53144‐1624                                                                               First Class Mail
Chartered Organization         Kenosha Police Explorer Post 509                           Three Harbors Council 636                       1000 55th St                                                           Kenosha, WI 53140‐3707                                                                               First Class Mail
Voting Party                   Kenova United Methodist Church                             Attn: James Richards & James Ola Richards       503 15th St                                                            Kenova, WV 25530                                                  jorrlr@outlook.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kensington Elementary Pto                                  Central N Carolina Council 416                  8701 Kensington Dr                                                     Waxhaw, NC 28173‐8893                                                                                First Class Mail
Chartered Organization         Kensington Police Dept                                     Mt Diablo‐Silverado Council 023                 217 Kensington Ave                                                     Kensington, CA 94707                                                                                 First Class Mail
Voting Party                   Kensington United Methodist Church                         Attn: David Mantz                               31 Glenbrook Rd                                                        Berlin, CT 06037                                                                                     First Class Mail
Chartered Organization         Kensington Vol Fireman'S Assoc Inc                         Connecticut Rivers Council, Bsa 066             880 Farmington Ave                                                     Kensington, CT 06037‐2217                                                                            First Class Mail
Chartered Organization         Kensington Volunteer Fire Dept                             National Capital Area Council 082               P.O. Box 222                                                           Kensington, MD 20895‐0222                                                                            First Class Mail
Chartered Organization         Kensington Volunteer Fire Dept                             National Capital Area Council 082               10620 Connecticut Ave                                                  Kensington, MD 20895‐2501                                                                            First Class Mail
Chartered Organization         Kensington Volunteer Fire Dept Inc                         National Capital Area Council 082               10620 Connecticut Ave                                                  Kensington, MD 20895‐2501                                                                            First Class Mail
Voting Party                   Kent City Chapel Hill United Methodist Church              Attn: Lawrence French                           14591 Fruit Ridge Ave                                                  Kent City, MI 49330                                               pastorlarryfrench@gmail.com        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kent E Caraway                                             Address Redacted                                                                                                                                                                         Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kent Island Elks Lodge 2576                                Del Mar Va 081                                  2525 Romancoke Rd                                                      Stevensville, MD 21666‐2911                                                                          First Class Mail
Chartered Organization         Kent Island Methodist Church                               Del Mar Va 081                                  2739 Cox Neck Rd                                                       Chester, MD 21619‐2251                                                                               First Class Mail
Voting Party                   Kent Island United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Kent State University                                      College of Nursing                              P.O. Box 5190                                                          Kent, OH 44242‐0001                                                                                  First Class Mail
Chartered Organization         Kent Utd Methodist Church                                  Chief Seattle Council 609                       11010 SE 248th St                                                      Kent, WA 98030‐4925                                                                                  First Class Mail
Chartered Organization         Kent Volunteer Fire Dept Inc                               Connecticut Rivers Council, Bsa 066             41 Kent Green Blvd                                                     Kent, CT 06757‐1544                                                                                  First Class Mail
Chartered Organization         Kentlands Community Foundation                             National Capital Area Council 082               267 Kentlands Blvd PMB 200                                             Gaithersburg, MD 20878‐5446                                                                          First Class Mail
Voting Party                   Kenton First United Methodist Church                       Attn: Gaylon Childs                             14 Pat Porter Rd                                                       Kenton, TN 38233                                                  gchilds@gcssd.org                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kentucky Baptist Convention                                c/o Kaplan Johnson Abate & Bird LLP             Attn: Tyler R Yeager                                                   710 W Main St, 4th Fl            Louisville, KY 40202             tyeager@kaplanjohnsonlaw.com       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Kentucky Baptist Convention                                13420 Epoint Centre Dr                          Louisville, KY 40223                                                                                                                                                        First Class Mail
Chartered Organization         Kentucky Central Canteen Corp                              Lincoln Heritage Council 205                    3001 W Hwy 146                                                         La Grange, KY 40031‐9123                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                              Page 176 of 442
                                                                                 Case 20-10343-LSS                                         Doc 8171                                       Filed 01/06/22                                                              Page 192 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                       Name                                                                                             Address                                                                                                                       Email                  Method of Service
Chartered Organization         Kentucky Pilots Assoc                                    Lincoln Heritage Council 205                  1924 Boston Rd                                             Bardstown, KY 40004‐9627                                                                                            First Class Mail
Chartered Organization         Kentucky School For The Blind                            Lincoln Heritage Council 205                  1867 Frankfort Ave                                         Louisville, KY 40206‐3148                                                                                           First Class Mail
Chartered Organization         Kentwood Jaycees                                         President Gerald R Ford 781                   2325 Collingwood Ave Sw                                    Wyoming, MI 49519‐1641                                                                                              First Class Mail
Chartered Organization         Kenwood Elementary Pto                                   Hawkeye Area Council 172                      3700 E Ave Ne                                              Cedar Rapids, IA 52402‐3623                                                                                         First Class Mail
Voting Party                   Kenwood Park United Methodist Church                     175 34th St Ne                                Cedar Rapids, IA 52402                                                                                                                    office@kenwoodparkumc.org            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Kenwood Park United Methodist Church                     Gerald Keith Bair                             1646 Greens Way Ct Ne                                      Cedar Rapids, IA 52402                                                         grandpabair@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kenwood School P T O                                     Erie Shores Council 460                       710 Kenwood Ave                                            Bowling Green, OH 43402‐3705                                                                                        First Class Mail
Chartered Organization         Kenwood School Ptk                                       President Gerald R Ford 781                   1700 Chestnut St                                           Cadillac, MI 49601‐1663                                                                                             First Class Mail
Voting Party                   Kenwood Umc                                              c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kenwood Utd Methodist Church                             Heart of Virginia Council 602                 11208 Elmont Rd                                            Ashland, VA 23005‐7704                                                                                              First Class Mail
Chartered Organization         Kenwood Utd Presbyterian Church                          Baltimore Area Council 220                    4601 Fullerton Ave                                         Baltimore, MD 21236‐4623                                                                                            First Class Mail
Chartered Organization         Keokuk High School                                       Mississippi Valley Council 141 141            2285 Middle Rd                                             Keokuk, IA 52632‐2834                                                                                               First Class Mail
Chartered Organization         Keokuk Middle School                                     Mississippi Valley Council 141 141            2002 Orleans Ave                                           Keokuk, IA 52632‐2947                                                                                               First Class Mail
Voting Party                   Keosauqua United Methodist Church                        Attn: Roberta Stephenson                      20360 Rte.J40                                              Keosauqua, IA 52565                                                            rrsteph@netins.net                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Keosauqua United Methodist Church                        406 Cass St                                   Keosauqua, IA 52565                                                                                                                                                            First Class Mail
Chartered Organization         Keowee Elementary Pta                                    Blue Ridge Council 551                        7051 Keowee School Rd                                      Seneca, SC 29672‐0523                                                                                               First Class Mail
Chartered Organization         Keowee Fire Dept                                         Blue Ridge Council 551                        7031 Keowee School Rd                                      Seneca, SC 29672                                                                                                    First Class Mail
Chartered Organization         Kepha Resources                                          Sam Houston Area Council 576                  2201 Plantation                                            Richmond, TX 77406                                                                                                  First Class Mail
Chartered Organization         Kepler Neighborhood School                               Sequoia Council 027                           1462 Broadway St                                           Fresno, CA 93721                                                                                                    First Class Mail
Chartered Organization         Kerhonkson Fire Co                                       Rip Van Winkle Council 405                    333 Main St                                                Kerhonkson, NY 12446‐3675                                                                                           First Class Mail
Chartered Organization         Kerman Police Dept                                       Sequoia Council 027                           850 S Madera Ave                                           Kerman, CA 93630‐1741                                                                                               First Class Mail
Chartered Organization         Kern County Fire                                         Southern Sierra Council 030                   5642 Victor St                                             Bakersfield, CA 93308‐4056                                                                                          First Class Mail
Chartered Organization         Kern County Sheriff'S Dept                               Southern Sierra Council 030                   P.O. Box 2208                                              Bakersfield, CA 93303‐2208                                                                                          First Class Mail
Chartered Organization         Kern Memorial Utd Methodist Men                          Great Smoky Mountain Council 557              451 E Tennessee Ave                                        Oak Ridge, TN 37830‐5579                                                                                            First Class Mail
Chartered Organization         Kernersville Fire Rescue Dept                            Old Hickory Council 427                       316 W Bodenhamer St                                        Kernersville, NC 27284‐2527                                                                                         First Class Mail
Chartered Organization         Kernersville Moravian Church                             Old Hickory Council 427                       504 S Main St                                              Kernersville, NC 27284‐2740                                                                                         First Class Mail
Voting Party                   Kernstown Umc                                            c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kern‐Thompson Post 77                                    Northern Lights Council 429                   P.O. Box 585                                               Pembina, ND 58271‐0585                                                                                              First Class Mail
Chartered Organization         Kerr Elementary School Pta                               Laurel Highlands Council 527                  341 Kittanning Pike                                        Pittsburgh, PA 15215‐1117                                                                                           First Class Mail
Voting Party                   Kerr Memorial                                            c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Kerrville First United Methodist Church                  Attn: David E Payne                           321 Thompson Dr                                            Kerrville, TX 78028                                                            david.payne@kfumc.org                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kershaw County Sheriffs Office                           Indian Waters Council 553                     821 Ridgeway Rd                                            Lugoff, SC 29078‐9203                                                                                               First Class Mail
Voting Party                   Kessler Park United Methodist Church                     Attn: Eric Folkerth                           1215 Turner Ave                                            Dallas, TX 75208                                                               eric@kpumc.org                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Kessler, DiGiovanni & Jesuele, LLC                       Vincent Jesuele                               152 Central Ave, Ste 200                                   Clark, NJ 07066                                                                                                     First Class Mail
Chartered Organization         Ketchikan Church Of The Nazarene                         Great Alaska Council 610                      2652 Tongass Ave                                           Ketchikan, AK 99901‐5855                                                                                            First Class Mail
Firm                           Ketterer, Browne & Anderson, LLC                         Derek Braslow, Esq                            336 S. Main Street, Ste 2A‐C                               Bel Air, MD 21014                                                              kbaboyscoutclaims@KBAattorneys.com   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kettle Moraine Ward                                      Milwaukee Wi South Stake                      115 N Wales Rd                                             Wales, WI 53183                                                                                                     First Class Mail
Voting Party                   Kevin Howard Orr                                         1266 Chatham Ridge Rd                         Werville, OH 43081                                                                                                                                                             First Class Mail
Voting Party                   Kevin J Mulqueen                                         41 Silo Ln                                    Middletown, NY 10940                                                                                                                      kmchfc@aol.com                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kew Gardens Hills Civic Assoc                            Greater New York Councils, Bsa 640            14414 72nd Dr                                              Flushing, NY 11367‐2404                                                                                             First Class Mail
Voting Party                   Kewanee First United Methodist Church                    Attn: John Sayers, Treasurer                  108 E Central Blvd                                         Kewanee, IL 61443                                                              firstumc@kewaneeumc.com              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kewanee Lds Church                                       Illowa Council 133                            300 E South St                                             Kewanee, IL 61443                                                                                                   First Class Mail
Chartered Organization         Key Foundation                                           The Spirit of Adventure 227                   216 Main St                                                North Chelmsford, MA 01863‐2106                                                                                     First Class Mail
Chartered Organization         Key Peninsula Lions Club                                 Pacific Harbors Council, Bsa 612              4990 SW Daisy St                                           Port Orchard, WA 98367‐9211                                                                                         First Class Mail
Voting Party                   Key West Chemical & Paper Sply                           909 Simonton St                               Key West, FL 33040‐7447                                                                                                                                                        First Class Mail
Chartered Organization         Key West Police Dept Explorers                           South Florida Council 084                     1604 N Roosevelt Blvd                                      Key West, FL 33040‐7254                                                                                             First Class Mail
Chartered Organization         Keyport Police Dept                                      Monmouth Council, Bsa 347                     70 W Front St                                              Keyport, NJ 07735‐1241                                                                                              First Class Mail
Voting Party                   Keys Energy Services                                     P.O. Box 279038                               Miramar, FL 33027‐9038                                                                                                                                                         First Class Mail
Voting Party                   Keys Kayak LLC                                           Attn: Robert Rankin                           10499 Overseas Hwy                                         Marathon, FL 33050                                                             bob@keskayackllc.com                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Keyser Moose Lodge 662                                   Laurel Highlands Council 527                  P.O. Box 966                                               Keyser, WV 26726‐0966                                                                                               First Class Mail
Chartered Organization         Keyser Rotary Club                                       Laurel Highlands Council 527                  606 Carskadon Rd                                           Keyser, WV 26726‐2807                                                                                               First Class Mail
Chartered Organization         Keyser School Pto                                        Erie Shores Council 460                       3900 Hill Ave                                              Toledo, OH 43607‐2635                                                                                               First Class Mail
Chartered Organization         Keysor School Pto                                        Greater St Louis Area Council 312             725 N Geyer Rd                                             Kirkwood, MO 63122‐2701                                                                                             First Class Mail
Voting Party                   Keystone College                                         Attn: Stu Renda                               1 College Green                                            La Plume, PA 18440                                                             stu.renda@keystone.edu               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Keystone Consistory 85 Asr Nj Inc                        c/o Mccs Exec Branch                          Far E Council 803                                          Fpo, AP 96377                                                                                                       First Class Mail
Chartered Organization         Keystone Fire Dept                                       Indian Nations Council 488                    25505 W 41st St S                                          Sand Springs, OK 74063‐5984                                                                                         First Class Mail
Chartered Organization         Keystone Mission                                         Northeastern Pennsylvania Council 501         290 Parkview Cir                                           Wilkes Barre, PA 18702‐6770                                                                                         First Class Mail
Chartered Organization         Keystone Montessori School                               Pathway To Adventure 456                      7415 North Ave                                             River Forest, IL 60305‐1131                                                                                         First Class Mail
Voting Party                   Keystone Umc ‐ Keystone Heights                          c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Keystone Umc ‐ Odessa                                    c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Keystone Utd Methodist Church                            North Florida Council 087                     P.O. Box 744                                               Keystone Heights, FL 32656‐0744                                                                                     First Class Mail
Chartered Organization         Keystone Utd Methodist Church                            Greater Tampa Bay Area 089                    16301 Race Track Rd                                        Odessa, FL 33556‐3026                                                                                               First Class Mail
Chartered Organization         Keystone Valley Fire Dept                                Chester County Council 539                    329 W 1st Ave                                              Parkesburg, PA 19365‐1201                                                                                           First Class Mail
Voting Party                   Keysville Umc                                            c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Khadijah Tilgner                                         Address Redacted                                                                                                                                                                                                             First Class Mail
Chartered Organization         Khiva South Plains Shrine Club                           South Plains Council 694                      7412 83rd St                                               Lubbock, TX 79424‐4906                                                                                              First Class Mail
Chartered Organization         Ki Sawyer Heritage Air Museum                            Bay‐Lakes Council 635                         500 S 3rd St                                               Marquette, MI 49855‐4702                                                                                            First Class Mail
Chartered Organization         Kiantone Independent Fire Dept                           Allegheny Highlands Council 382               2318 Stillwate‐ Frewsburg Rd                               Jamestown, NY 14701                                                                                                 First Class Mail
Voting Party                   Kibler United Methodist Church                           Attn: Jessica Blasingame                      19 E Kibler Hwy                                            Alma, AR 72921                                                                 kiblerumc@arumc.org                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kid U ‐ Solaris                                          Circle Ten Council 571                        10062 Royal Ln                                             Dallas, TX 75238‐1100                                                                                               First Class Mail
Voting Party                   Kidder Memorial United Methodist Church                  Attn: Patricia Fincher Treasurer              385 S Main St                                              James Town, NY 14701                                                           kidderumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kidron International Missions                            San Francisco Bay Area Council 028            119 Watkins Station Cir, Apt B                             Gaithersburg, MD 20879‐3305                                                                                         First Class Mail
Chartered Organization         Kids 4 Kids                                              South Florida Council 084                     P.O. Box 165802                                            Miami, FL 33116‐5802                                                                                                First Class Mail
Chartered Organization         Kids Can Wakonda Elementary                              Mid‐America Council 326                       4845 Curtis Ave                                            Omaha, NE 68104‐1300                                                                                                First Class Mail
Chartered Organization         Kids Care Elementany School                              Simon Kenton Council 441                      3360 Kohr Blvd                                             Columbus, OH 43224‐3051                                                                                             First Class Mail
Chartered Organization         Kids Drone Aviation                                      Atlanta Area Council 092                      P.O. Box 5945                                              Douglasville, GA 30154‐0016                                                                                         First Class Mail
Chartered Organization         Kid'S Kottage                                            Nevada Area Council 329                       2075 Longley Ln                                            Reno, NV 89502‐7117                                                                                                 First Class Mail
Chartered Organization         Kids U ‐ Alista                                          Circle Ten Council 571                        10062 Royal Ln                                             Dallas, TX 75238‐1100                                                                                               First Class Mail
Chartered Organization         Kids U Carrolton Oaks                                    Circle Ten Council 571                        8515 Greenville Ave                                        Dallas, TX 75243‐7011                                                                                               First Class Mail
Chartered Organization         Kids U Fair Oaks                                         Circle Ten Council 571                        8515 Greenville Ave                                        Dallas, TX 75243‐7011                                                                                               First Class Mail
Chartered Organization         Kids U Park                                              Circle Ten Council 571                        8515 Greenville Ave                                        Dallas, TX 75243‐7011                                                                                               First Class Mail
Chartered Organization         Kids U The Grove                                         Circle Ten Council 571                        8515 Greenville Ave                                        Dallas, TX 75243‐7011                                                                                               First Class Mail
Chartered Organization         Kids U Vineyards                                         Circle Ten Council 571                        8515 Greenville Ave                                        Dallas, TX 75243‐7011                                                                                               First Class Mail
Chartered Organization         Kidstop                                                  Sioux Council 733                             401 S Spring Ave                                           Sioux Falls, SD 57104‐4306                                                                                          First Class Mail
Chartered Organization         Kidventure Gladstone                                     Narragansett 546                              50 Gladstone St                                            Cranston, RI 02920‐7415                                                                                             First Class Mail
Chartered Organization         Kidz Roc                                                 Del Mar Va 081                                306 Nice Pl                                                Salisbury, MD 21804‐3263                                                                                            First Class Mail
Chartered Organization         Kidz Spirit Childrens Hospital                           Los Angeles                                   4650 W Sunset Blvd                                         Los Angeles, CA 90027‐6062                                                                                          First Class Mail
Chartered Organization         Kiewit Building Group Inc                                Mid‐America Council 326                       1926 S 67th St, Ste 200                                    Omaha, NE 68106‐2985                                                                                                First Class Mail
Chartered Organization         Kiker Elementary School P.T.A.                           Capitol Area Council 564                      5913 La Crosse Ave                                         Austin, TX 78739‐1747                                                                                               First Class Mail
Chartered Organization         Kilaya Draknga Ling                                      San Diego Imperial Council 049                10176 Zapata Ave                                           San Diego, CA 92126‐1124                                                                                            First Class Mail
Voting Party                   Kilbourne United Methodist Church                        Attn: David Veppert                           5591 State, Rte 521                                        Delaware, OH 43015                                                             dvep22@aol.com                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kilbourne Utd Methodist Church                           Simon Kenton Council 441                      5591 US Rte 521                                            Kilbourne, OH 43032                                                                                                 First Class Mail
Chartered Organization         Kilduff‐Wirtanen American Legion 74                      Daniel Webster Council, Bsa 330               P.O. Box 671                                               Brookline, NH 03033                                                                                                 First Class Mail
Chartered Organization         Kilgo Utd Methodist Church                               Mecklenburg County Council 415                2101 Belvedere Ave                                         Charlotte, NC 28205‐3607                                                                                            First Class Mail
Chartered Organization         Kilgore Rotary Club                                      East Texas Area Council 585                   P.O. Box 419                                               Kilgore, TX 75663                                                                                                   First Class Mail
Chartered Organization         Killbuck Utd Methodist Church                            Buckeye Council 436                           410 N Main St                                              Killbuck, OH 44637                                                                                                  First Class Mail
Chartered Organization         Killdeer Lions Club                                      Northern Lights Council 429                   P.O. Box 143                                               Killdeer, ND 58640‐0143                                                                                             First Class Mail
Voting Party                   Killearn United Methodist Church ‐ Tallahassee           c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Killearn Utd Methodist Church                            Suwannee River Area Council 664               2800 Shamrock St S                                         Tallahassee, FL 32309‐3249                                                                                          First Class Mail
Voting Party                   Killen United Methodist Church                           Attn: Bryan Mcintyre                          P.O. Box 249                                               201 JC Mauldin Hwy                          Killen, AL 35645                   killenumc@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Killen Utd Methodist Church                              Greater Alabama Council 001                   201 J C Mauldin Hwy                                        Killen, AL 35645‐9146                                                                                               First Class Mail
Chartered Organization         Kilmarnock Baptist Church                                Heart of Virginia Council 602                 P.O. Box 99                                                Kilmarnock, VA 22482‐0099                                                                                           First Class Mail
Chartered Organization         Kilmer Elementary Pto                                    Pikes Peak Council 060                        4285 Walker Rd                                             Colorado Springs, CO 80908‐1332                                                                                     First Class Mail
Voting Party                   Kilohana United Methodist Church                         Attn: M Tyler Pottenger                       5829 Mahi Mahi St                                          Honolulu, HI 96821                                                             tyler@tylerpottenger.com             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Kimball Ave United Methodist Church                      Attn: Aaron Schaver                           1207 Kimball Ave                                           Waterloo, IA 50702                                                             kaumc@mediacombb.net                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Kimball Memorial Evangelical Lutheran Church             101 Vance St                                  Kannapolis, NC 28081                                                                                                                      churchoffice@kimballchurch.org       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kimball Rod & Gun                                        Northern Star Council 250                     9837 Willow Creek Rd                                       Kimball, MN 55353                                                                                                   First Class Mail
Chartered Organization         Kimball Rotc                                             Circle Ten Council 571                        3606 S Westmoreland Rd                                     Dallas, TX 75233‐3016                                                                                               First Class Mail
Chartered Organization         Kimberling City Utd Methodist Church                     Ozark Trails Council 306                      57 Kimberling City Center Ln                               Kimberling City, MO 65686                                                                                           First Class Mail
Chartered Organization         Kimberly 1St Ward ‐ Kimberly Stake                       Snake River Council 111                       3850 N 3500 E                                              Kimberly, ID 83341                                                                                                  First Class Mail
Chartered Organization         Kimberly 2Nd Ward ‐ Kimberly Stake                       Snake River Council 111                       222 Birch St S                                             Kimberly, ID 83341                                                                                                  First Class Mail
Chartered Organization         Kimberly 7 Ward ‐ Kimberly Stake                         Snake River Council 111                       3339 Oregon Trail Ln                                       Kimberly, ID 83341                                                                                                  First Class Mail
Chartered Organization         Kimberly Elementary                                      Atlanta Area Council 092                      1090 Windsor St Sw                                         Atlanta, GA 30310‐3680                                                                                              First Class Mail
Chartered Organization         Kimberly Stake ‐ Kimberly 3Rd Ward                       Snake River Council 111                       3850 N 3500 E                                              Kimberly, ID 83341                                                                                                  First Class Mail
Chartered Organization         Kimberly Stake ‐ Kimberly 6Th Ward                       Snake River Council 111                       3497 E 3838 N                                              Kimberly, ID 83341‐5116                                                                                             First Class Mail
Chartered Organization         Kimberly Stake‐Kimberly 4Th Ward                         Snake River Council 111                       4032 N 3400 E                                              Kimberly, ID 83341‐5063                                                                                             First Class Mail
Chartered Organization         Kimberly Stake‐Kimberly 5Th Ward                         Snake River Council 111                       222 Birch St S                                             Kimberly, ID 83341                                                                                                  First Class Mail
Chartered Organization         Kimberly Stake‐Twin Falls 19Th Ward                      Snake River Council 111                       723 Hankins Rd                                             Twin Falls, ID 83301                                                                                                First Class Mail
Chartered Organization         Kimisis Tis Theotokou Greek Orth Church                  Monmouth Council, Bsa 347                     P.O. Box 367                                               Holmdel, NJ 07733‐0367                                                                                              First Class Mail
Chartered Organization         Kinderhook Sportsman`S Club                              Twin Rivers Council 364                       P.O. Box 494                                               Kinderhook, NY 12106‐0494                                                                                           First Class Mail
Chartered Organization         Kinderhook Sportsman'S Club Inc                          Twin Rivers Council 364                       P.O. Box 494                                               Kinderhook, NY 12106‐0494                                                                                           First Class Mail
Chartered Organization         Kindezi Old Fourth Ward                                  Atlanta Area Council 092                      386 Pine St Ne                                             Atlanta, GA 30308‐2532                                                                                              First Class Mail
Chartered Organization         Kindle Compassion                                        Alamo Area Council 583                        18119 Prestonshire                                         San Antonio, TX 78258‐4473                                                                                          First Class Mail
Chartered Organization         Kindred Wildlife Club                                    Northern Lights Council 429                   P.O. Box 33                                                Kindred, ND 58051‐0033                                                                                              First Class Mail
Chartered Organization         King @ Kcmsa                                             Heart of America Council 307                  4848 Woodland Ave                                          Kansas City, MO 64110‐2138                                                                                          First Class Mail
Chartered Organization         King American Legion Post 290, Inc                       Old Hickory Council 427                       P.O. Box 432                                               King, NC 27021‐0432                                                                                                 First Class Mail
Chartered Organization         King And Queen Sheriffs Office                           Heart of Virginia Council 602                 242 Allens Cir                                             King and Queen Court House, VA 23085‐2007                                                                           First Class Mail
Chartered Organization         King City Community Foundation                           Cascade Pacific Council 492                   15685 SW 116th Ave PMB 191                                 King City, OR 97224‐2651                                                                                            First Class Mail
Chartered Organization         King County Explorer Search And Rescue                   Chief Seattle Council 609                     P.O. Box 1266                                              North Bend, WA 98045‐1266                                                                                           First Class Mail
Chartered Organization         King County Sheriff'S Office‐Burien                      Chief Seattle Council 609                     516 3rd Ave                                                Seattle, WA 98104‐2385                                                                                              First Class Mail
Chartered Organization         King Elementary School Pto                               Blackhawk Area 660                            1306 S Court St                                            Rockford, IL 61102‐3239                                                                                             First Class Mail
Chartered Organization         King Elementary/Collective For Youth                     Mid‐America Council 326                       3706 Maple St                                              Omaha, NE 68111‐3125                                                                                                First Class Mail
Chartered Organization         King George Family Ymca                                  National Capital Area Council 082             10545 Kings Hwy                                            King George, VA 22485‐3431                                                                                          First Class Mail
Chartered Organization         King George Ruritan Club                                 National Capital Area Council 082             P.O. Box 2                                                 King George, VA 22485‐0002                                                                                          First Class Mail
Chartered Organization         King Harbor Yacht Club                                   Greater Los Angeles Area 033                  280 Yacht Club Way                                         Redondo Beach, CA 90277‐2049                                                                                        First Class Mail
Chartered Organization         King Hill Christian Church                               Pony Express Council 311                      5828 King Hill Ave                                         Saint Joseph, MO 64504‐1511                                                                                         First Class Mail
Chartered Organization         King Hiram Lodge 784 F & Am                              Baden‐Powell Council 368                      186 Main St                                                Newfield, NY 14867                                                                                                  First Class Mail
Chartered Organization         King Lions Club                                          Old Hickory Council 427                       P.O. Box 941                                               King, NC 27021‐0941                                                                                                 First Class Mail
Voting Party                   King Memorial United Methodist Church ‐ Whitney          c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200                    Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   King Memorial United Methodist Church, Whitney           502 N Colorado St                             Whitney, TX 76692                                                                                                                                                              First Class Mail
Chartered Organization         King Memorial Utd Methodist Church                       Longhorn Council 662                          502 S Colorado St                                          Whitney, TX 76692‐2821                                                                                              First Class Mail
Chartered Organization         King Murphy Elementary School Pta                        Denver Area Council 061                       425 Cir K Dr                                               Evergreen, CO 80439                                                                                                 First Class Mail
Chartered Organization         King Of Glory Church                                     Crossroads of America 160                     2201 E 106th St                                            Carmel, IN 46032‐4011                                                                                               First Class Mail
Chartered Organization         King Of Glory Lutheran Church                            Denver Area Council 061                       10001 W 58th Ave                                           Arvada, CO 80002‐2015                                                                                               First Class Mail
Chartered Organization         King Of Glory Lutheran Church                            Montana Council 315                           4125 Grand Ave                                             Billings, MT 59106‐1729                                                                                             First Class Mail
Chartered Organization         King Of Glory Lutheran Church                            Three Harbors Council 636                     4330 S 84th St                                             Milwaukee, WI 53228‐2802                                                                                            First Class Mail
Chartered Organization         King Of Glory Lutheran Church                            Grand Canyon Council 010                      2085 E Sern Ave                                            Tempe, AZ 85282                                                                                                     First Class Mail
Voting Party                   King Of Glory Lutheran Church                            Attn: Paul Finley                             2085 East Southern                                         Tempe, AZ 85282                                                                pastorpaul@kogaz.org                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   King Of Glory Lutheran Church                            Attn: Leah Lind                               10280 Slater Ave                                           Fountain Valley, CA 92708                                                      pastor@kogchurch.org                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   King Of Glory Lutheran Church                            Attn: Dir of Operations & Peter E Aiello Jr   4897 Longhill Rd                                           Williamsburg, VA 23188                                                         operations@kogva.org                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   King Of Glory Lutheran Church Of Carmel Indiana          c/o Plews Shadley Racher & Braun LLP          Attn: Josh S Tatum                                         1346 N Delaware St                          Indianapolis, IN 46202             jtatum@psrb.com                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         King Of Kings Church                                     Hudson Valley Council 374                     543 Union Ave                                              New Windsor, NY 12553‐6140                                                                                          First Class Mail
Chartered Organization         King Of Kings Evangelical Luth Church                    Great Lakes Fsc 272                           1715 S Lapeer Rd                                           Lake Orion, MI 48360‐1444                                                                                           First Class Mail
Chartered Organization         King Of Kings Lutheran Church                            Heart of America Council 307                  1701 NE 96th St                                            Kansas City, MO 64155‐2167                                                                                          First Class Mail
Chartered Organization         King Of Kings Lutheran Church                            Longhouse Council 373                         8278 Oswego Rd                                             Liverpool, NY 13090‐1524                                                                                            First Class Mail
Chartered Organization         King Of Peace Episcopal Church                           Coastal Georgia Council 099                   6230 Laurel Island Pkwy                                    Kingsland, GA 31548‐6056                                                                                            First Class Mail
Voting Party                   King Of Peace Episcopal Church                           c/o Law Offices of Skip Jennings, PC          Attn: Richard C E Jennings                                 115 W Oglethorpe Ave                        Savannah, GA 31401                 skipjenningspc@comcast.net           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   King Of Peace Episcopal Church                           6230 Laurel Island Pkwy                       Kingsland, GA 31548                                                                                                                                                            First Class Mail
Chartered Organization         King Pta After School Program                            Prairielands 117                              1108 Fairview Ave                                          Urbana, IL 61801‐1508                                                                                               First Class Mail
Chartered Organization         King St Utd Ch Christ, Congregal                         Connecticut Yankee Council Bsa 072            201 S King St                                              Danbury, CT 06811‐3542                                                                                              First Class Mail
Chartered Organization         King William County Fire And Ems                         Heart of Virginia Council 602                 180 Horse Landing Rd, Ste 4                                King William, VA 23086‐2743                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 177 of 442
                                                                                 Case 20-10343-LSS                                                     Doc 8171                                      Filed 01/06/22                                                     Page 193 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                         Service List
                                                                                                                                                                                  Served as set forth below

        Description                                                       Name                                                                                                        Address                                                                                                              Email               Method of Service
Chartered Organization         King/Robinson School Friends Of Scouting                              Connecticut Yankee Council Bsa 072           150 Fournier St                                           New Haven, CT 06511‐1763                                                                                First Class Mail
Chartered Organization         Kingdom Academy                                                       Anthony Wayne Area 157                       225 Ferguson Park Ct                                      Bluffton, IN 46714‐9389                                                                                 First Class Mail
Chartered Organization         Kingdom Authority Mininstry                                           Blackhawk Area 660                           518 N Court St                                            Rockford, IL 61103‐6808                                                                                 First Class Mail
Chartered Organization         Kingdom Life Church ‐ Reo                                             Water and Woods Council 782                  4303 S Mlk Blvd                                           Lansing, MI 48910‐5201                                                                                  First Class Mail
Chartered Organization         Kingdom Of God Ministries                                             Dan Beard Council, Bsa 438                   636 Prospect Pl                                           Cincinnati, OH 45229‐2916                                                                               First Class Mail
Voting Party                   Kingfield United Methodist Church                                     Attn: Yvonne Woodcock                        P.O. Box 342                                              Kingfield, ME 04947                                                   tdoodles@tdstelme.net             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kingfield United Methodist Church                                     Attn: Rev Eleanor Collinsworth               9 Tracy Cove Cir                                          Rome, ME 04963                                                        egcollinsworth@gmail.com          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kingfisher Lions Club                                                 Cimarron Council 474                         18835 E 780 Rd                                            Kingfisher, OK 73750‐7039                                                                               First Class Mail
Chartered Organization         Kingman Elks Lodge 468                                                Las Vegas Area Council 328                   900 Gates Ave                                             Kingman, AZ 86401‐4072                                                                                  First Class Mail
Chartered Organization         Kingman Fire Dept                                                     Las Vegas Area Council 328                   412 N Oak St                                              Kingman, AZ 86401                                                                                       First Class Mail
Chartered Organization         Kingman Police Dept                                                   Las Vegas Area Council 328                   2730 E Andy Devine Ave                                    Kingman, AZ 86401‐4806                                                                                  First Class Mail
Chartered Organization         Kingman Rebekah Lodge 12                                              Las Vegas Area Council 328                   2740 N Melody St                                          Kingman, AZ 86401‐4346                                                                                  First Class Mail
Voting Party                   Kingman United Methodist Church                                       c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kingman Utd Methodist Church                                          Quivira Council, Bsa 198                     133 E D Ave                                               Kingman, KS 67068‐1512                                                                                  First Class Mail
Chartered Organization         Kings Avenue Baptist Church Inc                                       Greater Tampa Bay Area 089                   2602 S Kings Ave                                          Brandon, FL 33511‐7099                                                                                  First Class Mail
Chartered Organization         Kings Co Sheriff Explorers                                            Sequoia Council 027                          1444 W Lacey Blvd                                         Hanford, CA 93230‐5905                                                                                  First Class Mail
Chartered Organization         Kings County District Attorney                                        Greater New York Councils, Bsa 640           350 Jay St                                                Brooklyn, NY 11201‐2904                                                                                 First Class Mail
Chartered Organization         Kings County District Attorneys Office                                Greater New York Councils, Bsa 640           350 Jay St                                                Brooklyn, NY 11201‐2904                                                                                 First Class Mail
Chartered Organization         Kings Daughters Health                                                Hoosier Trails Council 145 145               P.O. Box 447                                              Madison, IN 47250‐0447                                                                                  First Class Mail
Chartered Organization         Kings Grant Presbyterian Church                                       Tidewater Council 596                        745 Little Neck Rd                                        Virginia Beach, VA 23452‐5813                                                                           First Class Mail
Voting Party                   Kings Highway Umc                                                     Attn: Melvin Boone                           1387 E 37th St                                            Brooklyn, NY 11210                                                    khumchurch@gmail.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kings Mountain Police Dept                                            Piedmont Council 420                         P.O. Box 7                                                Kings Mountain, NC 28086‐0007                                                                           First Class Mail
Chartered Organization         Kings Parents Of Troop 106                                            Chief Seattle Council 609                    550 Hemlock Way                                           Edmonds, WA 98020‐4024                                                                                  First Class Mail
Chartered Organization         Kings Park West Civic Assoc                                           National Capital Area Council 082            P.O. Box 7114                                             Fairfax Station, VA 22039‐7114                                                                          First Class Mail
Chartered Organization         Kings Road School Pta                                                 Patriots Path Council 358                    215 Kings Rd                                              Madison, NJ 07940‐2231                                                                                  First Class Mail
Voting Party                   King's Way United Methodist Church                                    Attn: Rick Bilyeu                            2401 S Lone Pine                                          Springfield, MO 65804                                                 Stewardship@kwumc.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kingsborough Pta                                                      Twin Rivers Council 364                      24 W 11th Ave                                             Gloversville, NY 12078‐1300                                                                             First Class Mail
Chartered Organization         Kingsburg Fire Dept                                                   Sequoia Council 027                          P.O. Box 2                                                Kingsburg, CA 93631‐0002                                                                                First Class Mail
Chartered Organization         Kingsburg Police Dept                                                 Sequoia Council 027                          1300 California St                                        Kingsburg, CA 93631‐2222                                                                                First Class Mail
Chartered Organization         Kingshighway Utd Methodist Men                                        Greater St Louis Area Council 312            900 Bellerive Blvd                                        Saint Louis, MO 63111‐2131                                                                              First Class Mail
Voting Party                   Kingsland First Umc Administrator, Kingsland First Umc                120 E William Ave                            Kingsland, GA 31548                                                                                                             office@kingslandfirstumc.org      Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kingsland First Utd Methodist Church                                  Coastal Georgia Council 099                  120 E William Ave                                         Kingsland, GA 31548‐5032                                                                                First Class Mail
Chartered Organization         Kingsley Elementary Pto                                               Winnebago Council, Bsa 173                   201 Sunset Rd                                             Waterloo, IA 50701‐3923                                                                                 First Class Mail
Chartered Organization         Kingsley Home & School Assoc                                          Three Fires Council 127                      2403 Kingsley Dr                                          Naperville, IL 60565‐3212                                                                               First Class Mail
Voting Party                   Kingsley United Methodist Church                                      Attn: Lawrence G. Ketron, Trustee            2828 Bloomingdale Pike                                    Kingsport, TN 37660                                                   lgketron@earthlink.net            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kingsley United Methodist Church (89284)                              c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kingsley Utd Methodist Church                                         Sequoyah Council 713                         2828 Bloomingdale Rd                                      Kingsport, TN 37660‐1965                                                                                First Class Mail
Chartered Organization         Kingsport Police Dept                                                 Sequoyah Council 713                         200 Shelby St                                             Kingsport, TN 37660‐4256                                                                                First Class Mail
Chartered Organization         Kingston Congregational Church                                        Narragansett 546                             2610 Kingstown Rd                                         Kingston, RI 02881‐1619                                                                                 First Class Mail
Chartered Organization         Kingston Elementary Pto                                               Tukabatchee Area Council 005                 2224 Selma Ave                                            Selma, AL 36703‐2047                                                                                    First Class Mail
Chartered Organization         Kingston Episcopal Church                                             Colonial Virginia Council 595                370 Main St                                               Mathews, VA 23109                                                                                       First Class Mail
Voting Party                   Kingston Episcopal Parish                                             370 Main St                                  P.O. Box 471                                              Mathews, VA 23109                                                     kingstonparish@verizon.net        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kingston K14 Sports Boosters                                          Greater St Louis Area Council 312            10047 Diamond Rd                                          Cadet, MO 63630‐9581                                                                                    First Class Mail
Chartered Organization         Kingston Lions Club                                                   Mayflower Council 251                        P.O. Box 138                                              Kingston, MA 02364‐0138                                                                                 First Class Mail
Chartered Organization         Kingston Lions Club                                                   Great Smoky Mountain Council 557             P.O. Box 325                                              Kingston, TN 37763‐0325                                                                                 First Class Mail
Chartered Organization         Kingston Memorial Vfw Post 1088                                       Daniel Webster Council, Bsa 330              93 Route 125                                              Kingston, NH 03848‐3536                                                                                 First Class Mail
Chartered Organization         Kingston Nk Rotary Club                                               Chief Seattle Council 609                    26159 Dulay Rd Ne                                         Kingston, WA 98346‐5500                                                                                 First Class Mail
Voting Party                   Kingston Presbyterian Church                                          4565 Rt 27                                   Kingston, NJ 08528                                                                                                              kingstonpresnj@gmail.com          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kingston Presbyterian Church                                          4565 Rte 27, P.O. Box 148                    Kingston, NJ 08528                                                                                                              kingstonpresnj@gmail.com          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kingston Presbyterian Church                                          Attn: Florrence Perren‐Diaz                  4565 Rt 27, P.O. Box 148                                  Kingston, NJ 08528                                                                                      First Class Mail
Voting Party                   Kingston United Methodist Church                                      Attn: Toni Hignight                          P.O. Box 99                                               Kingston, OK 73439                                                    kingstonumc1@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kingston United Methodist Church                                      Attn: John Sams                              P.O. Box 335                                              Kingston, OH 45644                                                    jsjs45644@gmail.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kingston Utd Methodist Church                                         Three Fires Council 127                      115 W 1st St                                              Kingston, IL 60145‐7916                                                                                 First Class Mail
Chartered Organization         Kingston Veterans & Sportsman Club                                    Westmoreland Fayette 512                     138 Kingston Club Rd                                      Latrobe, PA 15650‐3460                                                                                  First Class Mail
Chartered Organization         Kingston‐Pinehurst Parents                                            Inland Nwest Council 611                     P.O. Box 238                                              Kingston, ID 83839‐0238                                                                                 First Class Mail
Voting Party                   Kingstree United Methodist Church                                     Attn: Katherine Haselden Crimm               510 N Longstreet St                                       Kingstree, SC 29556                                                   kumc@ftc‐i.net                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kingstree United Methodist Church                                     Attn: Al Langmo                              929 Manning Hwy                                           Greeleyville, SC 29056                                                kumc@ftc‐i.net                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kingsville Baptist Church                                             Heart of America Council 307                 P.O. Box 115                                              Kingsville, MO 64061‐0115                                                                               First Class Mail
Chartered Organization         Kingsville Border Patrol Post 252                                     South Texas Council 577                      2422 E Carlos Truan Blvd                                  Kingsville, TX 78363‐8953                                                                               First Class Mail
Chartered Organization         Kingsville Elks Lodge 1926                                            South Texas Council 577                      1404 S 6th St                                             Kingsville, TX 78363‐6254                                                                               First Class Mail
Chartered Organization         Kingsville Presbyterian Church                                        Lake Erie Council 440                        P.O. Box 41                                               Kingsville, OH 44048‐0041                                                                               First Class Mail
Chartered Organization         Kingsway Baptist Church                                               Central N Carolina Council 416               7550 Ruben Linker Rd Nw                                   Concord, NC 28027‐2603                                                                                  First Class Mail
Chartered Organization         Kingsway Christian Church                                             Mid‐America Council 326                      1106 S 139th St                                           Omaha, NE 68144‐1138                                                                                    First Class Mail
Chartered Organization         Kingsway Regional Police                                              Garden State Council 690                     159 Democrat Rd                                           Mickleton, NJ 08056‐1274                                                                                First Class Mail
Voting Party                   Kingswood                                                             c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kingswood United Methodist Church                                     c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kingswood United Methodist Church ‐ Dunwoody                          c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kingswood United Methodist Church ‐ Newark                            c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kingswood United Methodist Church 2600 N. Main St. Clovis, Nm 88101   c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kingswood United Methodist Church, Dunwoody                           4896 N Peachtree Rd                          Dunwoody, GA 30338                                                                                                                                                First Class Mail
Chartered Organization         Kingswood Utd Methodist Ch Methodist Men                              Old Hickory Council 427                      6840 University Pkwy                                      Rural Hall, NC 27045‐9619                                                                               First Class Mail
Chartered Organization         Kingswood Utd Methodist Church                                        Atlanta Area Council 092                     4896 N Peachtree Rd                                       Dunwoody, GA 30338‐5321                                                                                 First Class Mail
Chartered Organization         Kingswood Utd Methodist Church                                        Del Mar Va 081                               300 Marrows Rd                                            Newark, DE 19713‐1509                                                                                   First Class Mail
Chartered Organization         Kingswood Utd Methodist Men'S Club                                    Pathway To Adventure 456                     401 W Dundee Rd                                           Buffalo Grove, IL 60089‐3441                                                                            First Class Mail
Chartered Organization         Kingswood Utd Methodist Men'S Club                                    Conquistador Council Bsa 413                 2600 N Main St                                            Clovis, NM 88101‐3582                                                                                   First Class Mail
Chartered Organization         King‐Westwood Pto                                                     Southern Shores Fsc 783                      1100 Bretton Dr                                           Kalamazoo, MI 49006                                                                                     First Class Mail
Voting Party                   Kingwood United Methodist Church                                      Attn: James Burton Palmer                    1799 Woodland Hills Dr                                    Kingwood, TX 77339                                                    Burt.Palmer@kingwoodumc.org       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kingwood United Methodist Church                                      Attn: Sr Pastor Dr Burt Palmer               P.O. Box 6989                                             Kingwood, TX 77325                                                    burt.palmer@kingwoodumc.org       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kingwood Utd Methodist Church                                         Sam Houston Area Council 576                 1799 Woodland Hills Dr                                    Kingwood, TX 77339‐1402                                                                                 First Class Mail
Chartered Organization         Kinkaid School                                                        Sam Houston Area Council 576                 201 Kinkaid School Dr                                     Houston, TX 77024‐7504                                                                                  First Class Mail
Chartered Organization         Kinsley Rotary Club                                                   Quivira Council, Bsa 198                     701 E 7th St                                              Kinsley, KS 67547‐1315                                                                                  First Class Mail
Voting Party                   Kinsmen Lutheran Church                                               Attn: Pastor Beth Warpmaeker                 12100 Champion Forest Dr                                  Houston, TX 77066                                                     bwarpmaeker@kinsmenlutheran.org   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kinton Grange 562                                                     Cascade Pacific Council 492                  19015 SW Scholls Ferry Rd                                 Beaverton, OR 97007                                                                                     First Class Mail
Chartered Organization         Kinyon Elementary School                                              Great Lakes Fsc 272                          10455 Monroe Blvd                                         Taylor, MI 48180‐3630                                                                                   First Class Mail
Chartered Organization         Kinzua Ltd                                                            Chief Cornplanter Council, Bsa 538           P.O. Box 395                                              Clarendon, PA 16313‐0395                                                                                First Class Mail
Chartered Organization         Kip Motor Co                                                          Circle Ten Council 571                       2127 Crown Rd                                             Dallas, TX 75229‐2005                                                                                   First Class Mail
Chartered Organization         Kipling Utd Methodist Church                                          Occoneechee 421                              194 Jackson Rd                                            Fuquay Varina, NC 27526‐6141                                                                            First Class Mail
Chartered Organization         Kipp Academy                                                          San Francisco Bay Area Council 028           1700 Market St                                            Oakland, CA 94607‐3330                                                                                  First Class Mail
Voting Party                   Kipp And Christian Pc                                                 10 E Exchange Pl, Ste 400                    Salt Lake City, UT 84111‐2759                                                                                                                                     First Class Mail
Chartered Organization         Kipp College Prep                                                     Sam Houston Area Council 576                 8805 Ferndale                                             Houston, TX 77017‐6515                                                                                  First Class Mail
Chartered Organization         Kipp Columbus                                                         Simon Kenton Council 441                     2750 Agler Rd                                             Columbus, OH 43224‐4616                                                                                 First Class Mail
Chartered Organization         Kipp East Community Primary                                           Southeast Louisiana Council 214              6519 Virgilian St                                         New Orleans, LA 70126‐2646                                                                              First Class Mail
Chartered Organization         Kipp Jacksonville Elementary                                          North Florida Council 087                    2525 W 1st St                                             Jacksonville, FL 32254‐2085                                                                             First Class Mail
Chartered Organization         Kipp Reach Prep School                                                Last Frontier Council 480                    1901 NE 13th St                                           Oklahoma City, OK 73117‐3613                                                                            First Class Mail
Chartered Organization         Kipp South Charter                                                    Last Frontier Council 480                    401 SW 44th St                                            Oklahoma City, OK 73109‐6926                                                                            First Class Mail
Chartered Organization         Kipp Strive Primary                                                   Atlanta Area Council 092                     1448 Lucile Ave Sw                                        Atlanta, GA 30310‐1217                                                                                  First Class Mail
Chartered Organization         Kipp Ways Academy                                                     Atlanta Area Council 092                     80 Joseph E Lowery Blvd Nw                                Atlanta, GA 30314‐3421                                                                                  First Class Mail
Chartered Organization         Kirbyville Utd Methodist Church                                       Three Rivers Council 578                     105 W Main St                                             Kirbyville, TX 75956‐2031                                                                               First Class Mail
Chartered Organization         Kirk Elementary Pto                                                   Sam Houston Area Council 576                 12421 Tanner Rd                                           Houston, TX 77041‐6505                                                                                  First Class Mail
Chartered Organization         Kirk In The Hills Presbyterian Church                                 Great Lakes Fsc 272                          1340 W Long Lake Rd                                       Bloomfield Hills, MI 48302‐1335                                                                         First Class Mail
Chartered Organization         Kirk Of Kildaire Presbyterian Church                                  Occoneechee 421                              200 High Meadow Dr                                        Cary, NC 27511‐5414                                                                                     First Class Mail
Voting Party                   Kirk Of Kildaire, Presbyterian                                        Attn: James B Angell                         P.O. Box 12347                                            Raleigh, NC 27605                                                     jangell@hsfh.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kirk Of Kildaire, Presbyterian                                        200 High Meadow Dr                           Cary, NC 27511                                                                                                                  barneyhale@bellsouth.net          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kirk Of The Hills Presbyterian Church                                 Greater St Louis Area Council 312            12928 Ladue Rd                                            Saint Louis, MO 63141‐8020                                                                              First Class Mail
Chartered Organization         Kirkersville Utd Methodist Church                                     Simon Kenton Council 441                     180 E Main St                                             Kirkersville, OH 43033‐7516                                                                             First Class Mail
Chartered Organization         Kirkland Police Explorers                                             Chief Seattle Council 609                    11750 NE 118th St                                         Kirkland, WA 98034‐7114                                                                                 First Class Mail
Chartered Organization         Kirkman Vfd/Irwin Vfd/Manning Vfw                                     Mid‐America Council 326                      General Delivery                                          Kirkman, IA 51447                                                                                       First Class Mail
Chartered Organization         Kirkpatrick Community Center                                          Middle Tennessee Council 560                 1000 Sevier St                                            Nashville, TN 37206‐3053                                                                                First Class Mail
Chartered Organization         Kirkpatrick Elementary ‐ Gfwra                                        Longhorn Council 662                         3229 Lincoln Ave                                          Fort Worth, TX 76106‐5616                                                                               First Class Mail
Voting Party                   Kirkpatrick Memorial Presbyterian Church                              Attn: Donald C Reilly                        P.O. Box 560                                              Ringoes, NJ 08551                                                     reillylc@comcast.net              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Kirkpatrick Presbyterian Memorial Church                              Attn: Donald Clifford Reilly                 30 Hart Ln                                                Ringoes, NJ 08551                                                     reillylc@comcast.net              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kirkridge Presbyterian Church                                         Water and Woods Council 782                  8070 S Saginaw St                                         Grand Blanc, MI 48439‐1876                                                                              First Class Mail
Chartered Organization         Kirksville Area Technical Center                                      Great Rivers Council 653                     1103 Cottage Grove Ave                                    Kirksville, MO 63501‐3977                                                                               First Class Mail
Chartered Organization         Kirkville Volunteer Fire Co                                           Longhouse Council 373                        6225 N Kirkville Rd                                       Kirkville, NY 13082                                                                                     First Class Mail
Chartered Organization         Kirkville Volunteer Fire Co                                           Longhouse Council 373                        Kirkville Rd N                                            Kirkville, NY 13082                                                                                     First Class Mail
Chartered Organization         Kirkwood High Sch                                                     Pioneer Parents' Organization                801 W Essex Ave                                           Saint Louis, MO 63122‐3608                                                                              First Class Mail
Chartered Organization         Kirkwood High School                                                  Greater St Louis Area Council 312            801 W Essex Ave                                           Saint Louis, MO 63122‐3608                                                                              First Class Mail
Chartered Organization         Kirkwood Police Dept                                                  Greater St Louis Area Council 312            131 W Madison Ave                                         Saint Louis, MO 63122‐4212                                                                              First Class Mail
Chartered Organization         Kirkwood Presbyterian Church                                          Southwest Florida Council 088                6101 Cortez Rd W                                          Bradenton, FL 34210‐2711                                                                                First Class Mail
Chartered Organization         Kirkwood Presbyterian Church                                          North Florida Council 087                    8701 Argyle Forest Blvd                                   Jacksonville, FL 32244‐7435                                                                             First Class Mail
Chartered Organization         Kirkwood Presbyterian Church                                          Atlanta Area Council 092                     618 Acworth Due W Rd Nw                                   Kennesaw, GA 30152‐4004                                                                                 First Class Mail
Chartered Organization         Kirkwood Presbyterian Church                                          National Capital Area Council 082            8336 Carrleigh Pkwy                                       Springfield, VA 22152‐1603                                                                              First Class Mail
Chartered Organization         Kirkwood Presbyterian Church                                          Colonial Virginia Council 595                1209 Hampton Hwy                                          Yorktown, VA 23693‐4203                                                                                 First Class Mail
Chartered Organization         Kirkwood Umc                                                          Circle Ten Council 571                       2232 W Irving Blvd                                        Irving, TX 75061                                                                                        First Class Mail
Voting Party                   Kirkwood United Methodist Church                                      Attn: Pastor David Mustain                   303 S Broad St                                            Knoxville, IL 61448                                                   mustain7@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kirkwood Utd Methodist Church                                         Circle Ten Council 571                       2232 W 5th St                                             Irving, TX 75060‐3658                                                                                   First Class Mail
Chartered Organization         Kirkwood Utd Methodist Church                                         Illowa Council 133                           235 S Kellogg St                                          Kirkwood, IL 61447‐5109                                                                                 First Class Mail
Voting Party                   Kirkwoodunited Methodist Church                                       Attn: David Edward Mustain                   235 S Kellog St                                           Knoxville, IL 61447                                                                                     First Class Mail
Chartered Organization         Kirtland Cgoc                                                         Great Swest Council 412                      3550 Aberdeen Ave Se                                      Kirtland Afb, NM 87117‐0001                                                                             First Class Mail
Chartered Organization         Kirtland Scouting Families                                            Great Swest Council 412                      11A Rd 6763                                               Fruitland, NM 87416                                                                                     First Class Mail
Chartered Organization         Kirton McConkie                                                       Attn: Jason W. Beutler and Wade L. Woodard   2600 W. Executive Pkwy                                    Suite 400                            Lehi, UT 84043                                                     First Class Mail
Chartered Organization         Kishwaukee School Pto                                                 Blackhawk Area 660                           526 Catlin St                                             Rockford, IL 61104‐4628                                                                                 First Class Mail
Chartered Organization         Kiski Upper Elementary                                                Westmoreland Fayette 512                     4350 Pa‐66                                                Apollo, PA 15613                                                                                        First Class Mail
Chartered Organization         Kisling Nco Academy                                                   Transatlantic Council, Bsa 802               Unit 3015                                                 Apo, AE 09021‐3015                                                                                      First Class Mail
Chartered Organization         Kissimmee Police Explorers                                            Central Florida Council 083                  8 N Stewart Ave                                           Kissimmee, FL 34741‐5463                                                                                First Class Mail
Voting Party                   Kit Carson Electric Cooperative Inc                                   P.O. Box 578                                 Taos, NM 87571‐0578                                                                                                                                               First Class Mail
Chartered Organization         Kitchell Memorial Presbyterian Church                                 Patriots Path Council 358                    469 Ridgedale Ave                                         East Hanover, NJ 07936‐3022                                                                             First Class Mail
Chartered Organization         Kitsap County Sheriffs                                                Chief Seattle Council 609                    614 Div St                                                Port Orchard, WA 98366‐4614                                                                             First Class Mail
Chartered Organization         Kittery Lions Club                                                    Pine Tree Council 218                        P.O. Box 104                                              Kittery, ME 03904‐0104                                                                                  First Class Mail
Voting Party                   Kitty Hawk United Methodist Church                                    Attn: Amy C Berge                            803 West Kitty Hawk Rd                                    Kitty Hawk, NC 27949                                                  amy@kittyhawkumc.net              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Kitty Hawk Utd Methodist Church                                       Tidewater Council 596                        803 W Kitty Hawk Rd                                       Kitty Hawk, NC 27949‐4237                                                                               First Class Mail
Chartered Organization         Kiva Pto                                                              Grand Canyon Council 010                     6911 E Mcdonald Dr                                        Paradise Valley, AZ 85253‐5342                                                                          First Class Mail
Chartered Organization         Kiwanas Club Of Logan                                                 Mid‐America Council 326                      2945 Reading Trl                                          Logan, IA 51546‐5059                                                                                    First Class Mail
Chartered Organization         Kiwanas Club Of Logan                                                 Mid‐America Council 326                      2649 Monroe Ave                                           Logan, IA 51546‐6008                                                                                    First Class Mail
Chartered Organization         Kiwanas Club Of North Manchester                                      Sagamore Council 162                         1212 N Wayne St                                           North Manchester, IN 46962‐1002                                                                         First Class Mail
Chartered Organization         Kiwanis                                                               Sioux Council 733                            P.O. Box 464                                              Clear Lake, SD 57226‐0464                                                                               First Class Mail
Chartered Organization         Kiwanis                                                               Indian Nations Council 488                   111 Rodeo Dr E                                            Fort Gibson, OK 74434‐7713                                                                              First Class Mail
Chartered Organization         Kiwanis                                                               Inland Nwest Council 611                     Sandpoint                                                 Sandpoint, ID 83864                                                                                     First Class Mail
Chartered Organization         Kiwanis ‐ Ames Town & Country                                         Mid Iowa Council 177                         1039 Vermont Ct                                           Ames, IA 50014‐3097                                                                                     First Class Mail
Chartered Organization         Kiwanis ‐ Glasgow                                                     Montana Council 315                          P.O. Box 174                                              Glasgow, MT 59230‐0174                                                                                  First Class Mail
Chartered Organization         Kiwanis ‐ Nevada                                                      Mid Iowa Council 177                         P.O. Box 4                                                Nevada, IA 50201‐0004                                                                                   First Class Mail
Chartered Organization         Kiwanis ‐ Pella                                                       Mid Iowa Council 177                         101 Pike Ct                                               Pella, IA 50219‐7517                                                                                    First Class Mail
Chartered Organization         Kiwanis ‐ Sigourney                                                   Mid Iowa Council 177                         709 S Main St                                             Sigourney, IA 52591‐1431                                                                                First Class Mail
Chartered Organization         Kiwanis & Sons Of American Legion                                     Buffalo Trace 156                            General Delivery                                          Holland, IN 47541                                                                                       First Class Mail
Chartered Organization         Kiwanis Amr. Legion Post 49                                           Eagle Nest                                   655 N Olive St                                            Monticello, FL 32344‐1523                                                                               First Class Mail
Chartered Organization         Kiwanis Club                                                          Pony Express Council 311                     P.O. Box 71                                               Burlington Junction, MO 64428‐0071                                                                      First Class Mail
Chartered Organization         Kiwanis Club                                                          Chippewa Valley Council 637                  General Delivery                                          Cumberland, WI 54829                                                                                    First Class Mail
Chartered Organization         Kiwanis Club                                                          c/o Dean Hastings                            2586 County Rd 500 N                                      El Paso, IL 61738‐1802                                                                                  First Class Mail
Chartered Organization         Kiwanis Club                                                          Cape Fear Council 425                        P.O. Box 606                                              Elizabethtown, NC 28337‐0606                                                                            First Class Mail
Chartered Organization         Kiwanis Club                                                          Mid‐America Council 326                      703 Broadway St                                           Emmetsburg, IA 50536‐2419                                                                               First Class Mail
Chartered Organization         Kiwanis Club                                                          W D Boyce 138                                902 E Richardson St                                       Farmer City, IL 61842‐1152                                                                              First Class Mail
Chartered Organization         Kiwanis Club                                                          Santa Fe Trail Council 194                   2105 Rd 7                                                 Hugoton, KS 67951‐5233                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 178 of 442
                                                                                 Case 20-10343-LSS                                     Doc 8171                                   Filed 01/06/22                               Page 194 of 457
                                                                                                                                                                     Exhibit B
                                                                                                                                                                      Service List
                                                                                                                                                               Served as set forth below

        Description                                                       Name                                                                                     Address                                                                                         Email              Method of Service
Chartered Organization         Kiwanis Club                                             Suffolk County Council Inc 404            101 Montauk Hwy                                        Lindenhurst, NY 11757‐5950                                                        First Class Mail
Chartered Organization         Kiwanis Club                                             Santa Fe Trail Council 194                P.O. Box 5                                             Meade, KS 67864‐0005                                                              First Class Mail
Chartered Organization         Kiwanis Club                                             Cape Fear Council 425                     Pembroke, NC 28372                                                                                                                       First Class Mail
Chartered Organization         Kiwanis Club                                             Pony Express Council 311                  P.O. Box 468                                           Oregon, MO 64473‐0468                                                             First Class Mail
Chartered Organization         Kiwanis Club                                             Winnebago Council, Bsa 173                109 Woodland Ave                                       Riceville, IA 50466‐7722                                                          First Class Mail
Chartered Organization         Kiwanis Club                                             Blackhawk Area 660                        P.O. Box 262                                           Rochelle, IL 61068‐0262                                                           First Class Mail
Chartered Organization         Kiwanis Club                                             Sagamore Council 162                      202 S Franklin St                                      Winamac, IN 46996‐1411                                                            First Class Mail
Chartered Organization         Kiwanis Club ‐ Appleton‐Fox Cities                       Bay‐Lakes Council 635                     P.O. Box 62                                            Appleton, WI 54912‐0062                                                           First Class Mail
Chartered Organization         Kiwanis Club ‐ Chilton                                   Bay‐Lakes Council 635                     115 S Columbia St                                      Chilton, WI 53014‐1417                                                            First Class Mail
Chartered Organization         Kiwanis Club ‐ Kewaskum                                  Bay‐Lakes Council 635                     706 Memorial Dr                                        Kewaskum, WI 53040‐9319                                                           First Class Mail
Chartered Organization         Kiwanis Club ‐ New Holstein                              c/o Elroy Mauer                           1813 Washington St                                     New Holstein, WI 53061‐1224                                                       First Class Mail
Chartered Organization         Kiwanis Club ‐ Port Washington                           Bay‐Lakes Council 635                     1546 Parknoll Ln                                       Port Washington, WI 53074‐1124                                                    First Class Mail
Chartered Organization         Kiwanis Club ‐ T S Morris Elementary                     Tukabatchee Area Council 005              801 Hill St                                            Montgomery, AL 36108‐2713                                                         First Class Mail
Chartered Organization         Kiwanis Club ‐ Valley City                               Northern Lights Council 429               637 6th Ave Ne                                         Valley City, ND 58072‐2352                                                        First Class Mail
Chartered Organization         Kiwanis Club ‐ Waupun                                    c/o William Jannusch                      900 Pleasant Ave                                       Waupun, WI 53963‐1619                                                             First Class Mail
Chartered Organization         Kiwanis Club / 1St Methodist Church                      Chattahoochee Council 091                 P.O. Box 491                                           Manchester, GA 31816‐0491                                                         First Class Mail
Chartered Organization         Kiwanis Club / American Legion Post 0124                 c/o Elroy Mauer                           1813 Washington St                                     New Holstein, WI 53061‐1224                                                       First Class Mail
Chartered Organization         Kiwanis Club / V F W Post 6707 ‐ Kiel                    Bay‐Lakes Council 635                     P.O. Box 141                                           Kiel, WI 53042‐0141                                                               First Class Mail
Chartered Organization         Kiwanis Club @ Botello                                   Circle Ten Council 571                    2407 W 12th St                                         Dallas, TX 75211‐2768                                                             First Class Mail
Chartered Organization         Kiwanis Club @ Maria Moreno Elem Sch                     Circle Ten Council 571                    2115 S Hampton Rd                                      Dallas, TX 75224‐1075                                                             First Class Mail
Chartered Organization         Kiwanis Club @ Nova Academy                              Circle Ten Council 571                    P.O. Box 0310                                          Dallas, TX 75217                                                                  First Class Mail
Chartered Organization         Kiwanis Club @ Roger Q Mills                             Circle Ten Council 571                    2407 W 12th St                                         Dallas, TX 75211‐2768                                                             First Class Mail
Chartered Organization         Kiwanis Club @ T G Terry Elem Sch                        Circle Ten Council 571                    6661 Greenspan Ave                                     Dallas, TX 75232‐3605                                                             First Class Mail
Chartered Organization         Kiwanis Club @ W.W. Bushman                              Circle Ten Council 571                    2407 W 12th St                                         Dallas, TX 75211‐2768                                                             First Class Mail
Chartered Organization         Kiwanis Club @Umphrey Lee                                Circle Ten Council 571                    2407 W 12th St                                         Dallas, TX 75211‐2768                                                             First Class Mail
Chartered Organization         Kiwanis Club Anderson Elementary                         Circle Ten Council 571                    183 Pleasant Dr                                        Dallas, TX 75217‐6505                                                             First Class Mail
Chartered Organization         Kiwanis Club Borger                                      Golden Spread Council 562                 P.O. Box 1141                                          Borger, TX 79008‐1141                                                             First Class Mail
Chartered Organization         Kiwanis Club Clatskanie                                  Cascade Pacific Council 492               P.O. Box 1095                                          Clatskanie, OR 97016‐1095                                                         First Class Mail
Chartered Organization         Kiwanis Club Colorado City                               Buffalo Trail Council 567                 1220 Vine St                                           Colorado City, TX 79512‐4917                                                      First Class Mail
Chartered Organization         Kiwanis Club Columbia Gorge                              Cascade Pacific Council 492               P.O. Box 152                                           Troutdale, OR 97060‐0152                                                          First Class Mail
Chartered Organization         Kiwanis Club Fairfield Plantation                        Atlanta Area Council 092                  Montecello Dr                                          Villa Rica, GA 30180                                                              First Class Mail
Chartered Organization         Kiwanis Club Fort Vancouver                              Cascade Pacific Council 492               P.O. Box 822065                                        Vancouver, WA 98682‐0047                                                          First Class Mail
Chartered Organization         Kiwanis Club Inc                                         Buffalo Trace 156                         P.O. Box 68                                            Dale, IN 47523‐0068                                                               First Class Mail
Chartered Organization         Kiwanis Club Jackson                                     Twin Valley Council Bsa 283               800 Sherman St                                         Jackson, MN 56143‐1474                                                            First Class Mail
Chartered Organization         Kiwanis Club Lacanadalacrescenta‐Am Fndn                 Verdugo Hills Council 058                 P.O. Box 1255                                          La Canada Flintridge, CA 91012‐5255                                               First Class Mail
Chartered Organization         Kiwanis Club Marion                                      Quivira Council, Bsa 198                  403 E Main St                                          Marion, KS 66861‐1519                                                             First Class Mail
Chartered Organization         Kiwanis Club Molalla                                     Cascade Pacific Council 492               P.O. Box 652                                           Molalla, OR 97038‐0652                                                            First Class Mail
Chartered Organization         Kiwanis Club Nport & E Nport                             Suffolk County Council Inc 404            24 Woodbine Ave                                        Northport, NY 11768‐2878                                                          First Class Mail
Chartered Organization         Kiwanis Club Oak Cliff                                   At Founders Academy                       2407 W 12th St                                         Dallas, TX 75211‐2768                                                             First Class Mail
Chartered Organization         Kiwanis Club Oak Cliff @ Thomas Tolber                   Circle Ten Council 571                    4000 Blue Ridge Blvd                                   Dallas, TX 75233‐2438                                                             First Class Mail
Chartered Organization         Kiwanis Club Oakcliff @Kahan Elementary                  Circle Ten Council 571                    610 N Franklin St                                      Dallas, TX 75211‐2221                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Abilene                                  Texas Trails Council 561                  2334 Jackson St                                        Abilene, TX 79602                                                                 First Class Mail
Chartered Organization         Kiwanis Club Of Addison                                  Three Fires Council 127                   222 N Jf Kennedy Dr                                    Addison, IL 60101‐6602                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Addison                                  Southern Shores Fsc 783                   17335 Manitou Beach Rd                                 Addison, MI 49220                                                                 First Class Mail
Chartered Organization         Kiwanis Club Of Alpine                                   San Diego Imperial Council 049            P.O. Box 306                                           Alpine, CA 91903‐0306                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Anderson                                 Blue Ridge Council 551                    105 S Fant St                                          Anderson, SC 29624‐1603                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Ann Arbor                                Southern Shores Fsc 783                   200 S 1st St                                           Ann Arbor, MI 48104‐1306                                                          First Class Mail
Voting Party                   Kiwanis Club Of Ann Arbor                                Attn: Admin Assistant Margaret Schwartz   100 N Staebler Rd                                      Ann Arbor, MI 48103                             kadminasst@icloud.com             Email
                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Arcata                                   Crater Lake Council 491                   P.O. Box 232                                           Arcata, CA 95518‐0232                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Ardmore                                  Arbuckle Area Council 468                 P.O. Box 653                                           Ardmore, OK 73402‐0653                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Arlington                                Longhorn Council 662                      P.O. Box 441                                           Arlington, TX 76004‐0441                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Arlington                                Mount Baker Council, Bsa 606              P.O. Box 356                                           Arlington, WA 98223‐0356                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Arnold                                   Greater St Louis Area Council 312         331 Jeffco Blvd                                        Arnold, MO 63010                                                                  First Class Mail
Chartered Organization         Kiwanis Club Of Arnold                                   Greater St Louis Area Council 312         754 Jeffco Blvd                                        Arnold, MO 63010                                                                  First Class Mail
Chartered Organization         Kiwanis Club Of Atascadero                               Los Padres Council 053                    7548 Pismo Ave                                         Atascadero, CA 93422                                                              First Class Mail
Chartered Organization         Kiwanis Club Of Auburn                                   Chattahoochee Council 091                 P.O. Box 1982                                          Auburn, AL 36831‐1982                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Auburn                                   Golden Empire Council 047                 P.O. Box 434                                           Auburn, CA 95604‐0434                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Auburn                                   Chief Seattle Council 609                 P.O. Box 1249                                          Auburn, WA 98071‐1249                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Aurora                                   Three Fires Council 127                   P.O. Box 1551                                          Aurora, IL 60507‐1551                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Batesville                               Quapaw Area Council 018                   P.O. Box 2522                                          Batesville, AR 72503‐2522                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Baton Rouge Inc                          Istrouma Area Council 211                 P.O. Box 1062                                          Baton Rouge, LA 70821‐1062                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Bay‐Osos                                 Los Padres Council 053                    1201 12th St                                           Los Osos, CA 93402‐1316                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Benicia                                  Mt Diablo‐Silverado Council 023           P.O. Box 722                                           Benicia, CA 94510‐0722                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Birmingham                               Great Lakes Fsc 272                       572 S Adams Rd                                         Birmingham, MI 48009‐6755                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Blairsville                              Northeast Georgia Council 101             P.O. Box 1732                                          Blairsville, GA 30514‐1732                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Blue Water                               Water and Woods Council 782               P.O. Box 610402                                        Port Huron, MI 48061‐0402                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Bonita Foundation                        San Diego Imperial Council 049            306 Greenwood Pl                                       Bonita, CA 91902‐2419                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Boonville                                Great Rivers Council 653                  401 Highland Dr                                        Boonville, MO 65233‐1964                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Boonville                                Leatherstocking 400                       P.O. Box 3                                             Boonville, NY 13309‐0003                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Bradenton                                Southwest Florida Council 088             P.O. Box 1250                                          Bradenton, FL 34206‐1250                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Bridgewater                              Mayflower Council 251                     P.O. Box 663                                           Bridgewater, MA 02324‐0663                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Brighton                                 Southern Shores Fsc 783                   P.O. Box 414                                           Brighton, MI 48116‐0414                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Brownwood                                Texas Trails Council 561                  P.O. Box 322                                           Brownwood, TX 76804‐0322                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Burbank                                  Verdugo Hills Council 058                 2106 Hilton Dr                                         Burbank, CA 91504‐1941                                                            First Class Mail
Chartered Organization         Kiwanis Club Of California                               Great Rivers Council 653                  1156 Hampton Ln                                        California, MO 65018‐9128                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Camarillo                                Ventura County Council 057                P.O. Box 533                                           Camarillo, CA 93011‐0533                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Cambridge                                Muskingum Valley Council, Bsa 467         P.O. Box 953                                           Cambridge, OH 43725‐0953                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Canton                                   Great Rivers Council 653                  812 White St                                           Canton, MO 63435‐1051                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Carlsbad                                 San Diego Imperial Council 049            P.O. Box 711                                           Oceanside, CA 92049‐0711                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Carmel Valley                            Silicon Valley Monterey Bay 055           P.O. Box 485                                           Carmel Valley, CA 93924‐0485                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Carmel, In                               Crossroads of America 160                 1402 W Main St                                         Carmel, IN 46032‐1442                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Carmichael Foundation                    Golden Empire Council 047                 P.O. Box 680                                           Carmichael, CA 95609‐0680                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Carson Valley                            Nevada Area Council 329                   P.O. Box 892                                           Gardnerville, NV 89410‐0892                                                       First Class Mail
Chartered Organization         Kiwanis Club Of Castro Valley                            San Francisco Bay Area Council 028        P.O. Box 2961                                          Castro Valley, CA 94546‐0961                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Centralia                                Great Rivers Council 653                  5149 Audrain Rd 245                                    Centralia, MO 65240‐6057                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Charlevoix                               President Gerald R Ford 781               P.O. Box 275                                           Charlevoix, MI 49720‐0275                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Chatham                                  Abraham Lincoln Council 144               P.O. Box 168                                           Chatham, IL 62629‐0168                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Chatsworth                               W.L.A.C.C. 051                            P.O. Box 3475                                          Chatsworth, CA 91313‐3475                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Cherokee Village                         Quapaw Area Council 018                   226 E Lakeshore Dr                                     Cherokee Village, AR 72529‐5447                                                   First Class Mail
Chartered Organization         Kiwanis Club Of Chewelah                                 Inland Nwest Council 611                  P.O. Box 285                                           Chewelah, WA 99109‐0285                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Chino Hills                              California Inland Empire Council 045      14071 Peyton Dr, Unit 2236                             Chino Hills, CA 91709‐7199                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Chula Vista                              San Diego Imperial Council 049            355 3rd Ave, Ste 101                                   Chula Vista, CA 91910‐3961                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Cle Elum                                 Grand Columbia Council 614                P.O. Box 933                                           Cle Elum, WA 98922‐0933                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Clovis                                   Sequoia Council 027                       P.O. Box 705                                           Clovis, CA 93613‐0705                                                             First Class Mail
Chartered Organization         Kiwanis Club Of College Station                          Sam Houston Area Council 576              P.O. Box A                                             College Station, TX 77841‐5001                                                    First Class Mail
Chartered Organization         Kiwanis Club Of Colonial Plymouth                        c/o Sutherland and Yoe                    1095 S Main St                                         Plymouth, MI 48170‐2022                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Columbia                                 Greater St Louis Area Council 312         P.O. Box 923                                           Columbia, IL 62236‐0923                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Columbia Inc                             Middle Tennessee Council 560              418 W 7th St                                           Columbia, TN 38401‐3135                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Columbus, Ga, Inc                        Chattahoochee Council 091                 2329 S Lumpkin Rd                                      Columbus, GA 31903‐3667                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Colville                                 Inland Nwest Council 611                  P.O. Box 55                                            Colville, WA 99114‐0055                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Cooley Ranch                             California Inland Empire Council 045      P.O. Box 345                                           Colton, CA 92324‐0345                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Copiague                                 Suffolk County Council Inc 404            P.O. Box 537                                           Copiague, NY 11726‐0537                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Corona Del Mar                           Orange County Council 039                 1931 W Coast Hwy                                       Newport Beach, CA 92663‐5030                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Covington                                Atlanta Area Council 092                  P.O. Box 126                                           Covington, GA 30015‐0126                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Cumming                                  Northeast Georgia Council 101             2045 Habersham Trce                                    Cumming, GA 30041‐8001                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Cy‐Fair, Houston                         Sam Houston Area Council 576              16213 Congo Ln                                         Jersey Village, TX 77040‐2011                                                     First Class Mail
Chartered Organization         Kiwanis Club Of Delmar                                   Twin Rivers Council 364                   P.O. Box 121                                           Delmar, NY 12054‐0121                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Des Plaines                              Pathway To Adventure 456                  P.O. Box 153                                           Des Plaines, IL 60016‐0003                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Detroit Lakes                            Northern Lights Council 429               P.O. Box 398                                           Detroit Lakes, MN 56502‐0398                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Dewitt Inc                               Longhouse Council 373                     P.O. Box 23                                            Syracuse, NY 13214‐0023                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Dover‐ Foxcroft                          Katahdin Area Council 216                 P.O. Box 615                                           Dover Foxcroft, ME 04426‐0615                                                     First Class Mail
Chartered Organization         Kiwanis Club Of East Hollywood/Los Feliz                 Greater Los Angeles Area 033              523 N Larchmont Blvd                                   Los Angeles, CA 90004‐1305                                                        First Class Mail
Chartered Organization         Kiwanis Club Of East Norwich                             Theodore Roosevelt Council 386            P.O. Box 330                                           Oyster Bay, NY 11771‐0330                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Eatonton                                 Central Georgia Council 096               205 N Madison Ave                                      Eatonton, GA 31024‐1005                                                           First Class Mail
Chartered Organization         Kiwanis Club Of El Paso                                  W D Boyce 138                             El Paso                                                El Paso, IL 61738                                                                 First Class Mail
Chartered Organization         Kiwanis Club Of El Paso ‐ Coronado                       Yucca Council 573                         P.O. Box 12695                                         El Paso, TX 79913‐0695                                                            First Class Mail
Chartered Organization         Kiwanis Club Of El Segundo                               Greater Los Angeles Area 033              P.O. Box 392                                           El Segundo, CA 90245‐0392                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Ellicott City                            Baltimore Area Council 220                3907 Clovelly Rd                                       Ellicott City, MD 21042‐5303                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Elma                                     Greater Niagara Frontier Council 380      P.O. Box 132                                           Elma, NY 14059‐0132                                                               First Class Mail
Voting Party                   Kiwanis Club Of Elma New York                            Attn: George Blair Jr                     2170 Woodard Rd                                        Elma, NY 14059                                  gblairjr@roadrunner.com           Email
                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Elmore                                   c/o John Bock                             19080 W Orchard Dr                                     Elmore, OH 43416‐9504                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Exeter                                   Sequoia Council 027                       P.O. Box 151                                           Exeter, CA 93221‐0151                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Fairbanks                                Midnight Sun Council 696                  P.O. Box 70864                                         Fairbanks, AK 99707‐0864                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Ferndale                                 Mount Baker Council, Bsa 606              P.O. Box 245                                           Ferndale, WA 98248‐0245                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Fircrest Wa                              Pacific Harbors Council, Bsa 612          4417 64th Ave W                                        University Pl, WA 98466‐5629                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Fontana                                  California Inland Empire Council 045      P.O. Box 1027                                          Fontana, CA 92334‐1027                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Forest Park                              Pathway To Adventure 456                  P.O. Box 514                                           Forest Park, IL 60130‐0514                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Forrest City                             Quapaw Area Council 018                   P.O. Box 706                                           Forrest City, AR 72336‐0706                                                       First Class Mail
Chartered Organization         Kiwanis Club Of Fort Walton Beach Fl                     Gulf Coast Council 773                    P.O. Box 2198                                          Fort Walton Beach, FL 32549‐2198                                                  First Class Mail
Chartered Organization         Kiwanis Club Of Franklin Park                            Wood Dale and Bensenville                 3005 Atlantic St                                       Franklin Park, IL 60131‐2605                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Frederick                                National Capital Area Council 082         P.O. Box 404                                           Frederick, MD 21705‐0404                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Ft Walton Bch                            Gulf Coast Council 773                    P.O. Box 2198                                          Fort Walton Beach, FL 32549‐2198                                                  First Class Mail
Chartered Organization         Kiwanis Club Of Fullerton                                Orange County Council 039                 P.O. Box 222                                           Fullerton, CA 92836‐0222                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Fulton                                   Great Rivers Council 653                  P.O. Box 374                                           Fulton, MO 65251‐0374                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Gaylord                                  President Gerald R Ford 781               P.O. Box 87                                            Gaylord, MI 49734‐0087                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Glendale                                 Verdugo Hills Council 058                 608 N Central Ave                                      Glendale, CA 91203                                                                First Class Mail
Chartered Organization         Kiwanis Club Of Golden Gate Naples                       Southwest Florida Council 088             4701 Golden Gate Pkwy                                  Naples, FL 34116‐6901                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Grantville & Allied Grdn                 San Diego Imperial Council 049            P.O. Box 601211                                        San Diego, CA 92160‐1211                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Granville                                Simon Kenton Council 441                  P.O. Box 133                                           Granville, OH 43023‐0133                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Greater Davis                            Golden Empire Council 047                 P.O. Box 2122                                          Davis, CA 95617‐2122                                                              First Class Mail
Chartered Organization         Kiwanis Club Of Greater Garden Grove                     Orange County Council 039                 12565 Springdale St                                    Garden Grove, CA 92845‐2841                                                       First Class Mail
Chartered Organization         Kiwanis Club Of Greater Modesto                          c/o Bill Gordin                           1615 H St                                              Modesto, CA 95354‐2534                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Greater Pismo Beach                      Los Padres Council 053                    P.O. Box 44                                            Pismo Beach, CA 93448‐0044                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Greater Whittier                         Greater Los Angeles Area 033              7606 Wellsford Ave                                     Whittier, CA 90606‐2453                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Greece Ny                                Seneca Waterways 397                      152 N Park Dr                                          Rochester, NY 14612‐3924                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Griffin                                  Flint River Council 095                   218 Meriwether St                                      Griffin, GA 30224‐3011                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Hamburg                                  Mid‐America Council 326                   1020 Main St                                           Hamburg, IA 51640‐1232                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Hamburg                                  Southern Shores Fsc 783                   Hamburg Mi                                             Hamburg, MI 48139                                                                 First Class Mail
Chartered Organization         Kiwanis Club Of Hanson Foundation Inc                    Mayflower Council 251                     509 W Washington St                                    Hanson, MA 02341‐1067                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Hartford                                 Connecticut Rivers Council, Bsa 066       199 Branford St                                        Hartford, CT 06112‐1406                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Hartsdale                                Westchester Putnam 388                    216 Tallwood Dr                                        Hartsdale, NY 10530‐1704                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Hartselle                                Greater Alabama Council 001               P.O. Box 52                                            Hartselle, AL 35640‐0052                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Hartwell                                 Northeast Georgia Council 101             P.O. Box 158                                           Hartwell, GA 30643‐0158                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Hayward‐Castro Valley                    San Francisco Bay Area Council 028        P.O. Box 2961                                          Castro Valley, CA 94546‐0961                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Healdsburg                               Redwood Empire Council 041                437 1st St                                             Healdsburg, CA 95448‐3938                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Helena                                   Greater Alabama Council 001               P.O. Box 443                                           Helena, AL 35080‐0443                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Hendersonville                           Daniel Boone Council 414                  P.O. Box 2138                                          Hendersonville, NC 28793‐2138                                                     First Class Mail
Chartered Organization         Kiwanis Club Of Henritta                                 Northwest Texas Council 587               2107 E Crafton St                                      Henrietta, TX 76365‐2516                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Highline Burien                          Chief Seattle Council 609                 16030 Sylvester Rd Sw                                  Burien, WA 98166‐3016                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Hillsdale                                Southern Shores Fsc 783                   1791 Steamburg Rd                                      Hillsdale, MI 49242‐2087                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Hixson                                   Cherokee Area Council 556                 P.O. Box 36                                            Hixson, TN 37343‐0036                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Holland                                  Greater Niagara Frontier Council 380      P.O. Box 297                                           Holland, NY 14080‐0297                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Hollister                                Silicon Valley Monterey Bay 055           P.O. Box 492                                           Hollister, CA 95024‐0492                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Holt                                     Water and Woods Council 782               P.O. Box 708                                           Holt, MI 48842‐0708                                                               First Class Mail
Chartered Organization         Kiwanis Club Of Huntingburg                              Buffalo Trace 156                         P.O. Box 108                                           Huntingburg, IN 47542‐0108                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Huntsville                               Sam Houston Area Council 576              P.O. Box 361                                           Huntsville, TX 77342‐0361                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Iron Mountain/Kingsford                  Bay‐Lakes Council 635                     200 W Ludington St                                     Iron Mountain, MI 49801‐2856                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Irondequoit                              Seneca Waterways 397                      745 Titus Ave                                          Rochester, NY 14617‐3959                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Irvine                                   Orange County Council 039                 5299 Alton Pkwy                                        Irvine, CA 92604‐8604                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Issaquah                                 Chief Seattle Council 609                 P.O. Box 1111                                          Issaquah, WA 98027‐0042                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Jackson                                  Jersey Shore Council 341                  P.O. Box 505                                           Jackson, NJ 08527‐0505                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Jefferson                                Mid Iowa Council 177                      115 E Lincoln Way, Ste 200                             Jefferson, IA 50129‐2149                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Kennett                                  Greater St Louis Area Council 312         908 Rose Ave                                           Kennett, MO 63857‐2136                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Keyport Inc                              Monmouth Council, Bsa 347                 P.O. Box 778                                           Keyport, NJ 07735‐0778                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Kirkland                                 Chief Seattle Council 609                 90 Central Way                                         Kirkland, WA 98033‐6115                                                           First Class Mail
Chartered Organization         Kiwanis Club Of La Habra                                 Orange County Council 039                 409 W La Habra Blvd                                    La Habra, CA 90631‐5407                                                           First Class Mail
Chartered Organization         Kiwanis Club Of La Palma                                 Orange County Council 039                 5031 Sausalito Cir                                     La Palma, CA 90623‐2222                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Lake Forest Foundation                   Orange County Council 039                 22651 Lake Forest Dr                                   Lake Forest, CA 92630‐1749                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Lake Norman                              Mecklenburg County Council 415            P.O. Box 2543                                          Cornelius, NC 28031‐2543                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Lake Stevens                             Mount Baker Council, Bsa 606              P.O. Box 530                                           Lake Stevens, WA 98258‐0530                                                       First Class Mail
Chartered Organization         Kiwanis Club Of Lakeside                                 Denver Area Council 061                   6711 Lupine Cir                                        Arvada, CO 80007‐7018                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Latham Inc                               Twin Rivers Council 364                   3 Christine Ct                                         Latham, NY 12110‐3734                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Leroy                                    W D Boyce 138                             313 Marsh Hawk Dr                                      Le Roy, IL 61752‐8500                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Liberty Lake                             Inland Nwest Council 611                  P.O. Box 384                                           Liberty Lake, WA 99019‐0384                                                       First Class Mail
Chartered Organization         Kiwanis Club Of Lima                                     Black Swamp Area Council 449              P.O. Box 544                                           Lima, OH 45802‐0544                                                               First Class Mail
Chartered Organization         Kiwanis Club Of Lincoln                                  Cornhusker Council 324                    2836 Porter Ridge Rd                                   Lincoln, NE 68516‐5845                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Lincoln City                             Oregon Trail Council 697                  P.O. Box 333                                           Lincoln City, OR 97367‐0333                                                       First Class Mail
Chartered Organization         Kiwanis Club Of Logan                                    Buckskin 617                              P.O. Box 333                                           Mount Gay, WV 25637‐0333                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Los Alamos                               Great Swest Council 412                   2403 Club Rd                                           Los Alamos, NM 87544‐1501                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                      Page 179 of 442
                                                                                 Case 20-10343-LSS                                     Doc 8171                                      Filed 01/06/22                                                Page 195 of 457
                                                                                                                                                                        Exhibit B
                                                                                                                                                                         Service List
                                                                                                                                                                  Served as set forth below

        Description                                                       Name                                                                                        Address                                                                                                        Email               Method of Service
Chartered Organization         Kiwanis Club Of Lyons                                    Quivira Council, Bsa 198                  515 S Douglas Ave                                         Lyons, KS 67554‐3201                                                                              First Class Mail
Chartered Organization         Kiwanis Club Of Malibu                                   W.L.A.C.C. 051                            28903 Wight Rd                                            Malibu, CA 90265‐4001                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Manassas Battlefield                     National Capital Area Council 082         P.O. Box 376                                              Manassas, VA 20108‐0376                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Manitowoc                                Bay‐Lakes Council 635                     P.O. Box 832                                              Manitowoc, WI 54221‐0832                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Manson                                   Grand Columbia Council 614                No Mail                                                   Chelan ‐ Manson, WA 98831                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Maquoketa                                Illowa Council 133                        206 Austin Ave                                            Maquoketa, IA 52060‐2802                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Marsalie                                 Circle Ten Council 571                    2407 W 12th St                                            Dallas, TX 75211‐2768                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Marysville                               Mount Baker Council, Bsa 606              6907 75th Dr Ne                                           Marysville, WA 98270‐6532                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Massapequa                               Theodore Roosevelt Council 386            P.O. Box 195                                              Massapequa, NY 11758‐0195                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Meade Kansas                             Santa Fe Trail Council 194                P.O. Box 1043                                             Meade, KS 67864‐1043                                                                              First Class Mail
Chartered Organization         Kiwanis Club Of Menlo Park                               Pacific Skyline Council 031               P.O. Box 311                                              Menlo Park, CA 94026‐0311                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Monroe                                   Northeast Georgia Council 101             P.O. Box 683                                              Monroe, GA 30655‐0683                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Monroe                                   Blackhawk Area 660                        N3698 State Rd 59                                         Monroe, WI 53566                                                                                  First Class Mail
Chartered Organization         Kiwanis Club Of Monroe                                   Blackhawk Area 660                        P.O. Box 456                                              Monroe, WI 53566‐0456                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Monte Vista                              Rocky Mountain Council 063                200 Franklin St                                           Monte Vista, CO 81144‐1313                                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Monterey                                 Silicon Valley Monterey Bay 055           18619 Mcclellan Cir                                       East Garrison, CA 93933‐4971                                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Moraga Valley                            Mt Diablo‐Silverado Council 023           P.O. Box 503                                              Moraga, CA 94556‐0503                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Morgan Hill                              Silicon Valley Monterey Bay 055           P.O. Box 753                                              Morgan Hill, CA 95038‐0753                                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Morristown                               Great Smoky Mountain Council 557          P.O. Box 1002                                             Morristown, TN 37816‐1002                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Mound City                               Pony Express Council 311                  P.O. Box 116                                              Mound City, MO 64470‐0116                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Mountain Grove                           Ozark Trails Council 306                  General Delivery                                          Mountain Grove, MO 65711                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Naples On The Gulf                       Southwest Florida Council 088             3871 1st Ave Sw                                           Naples, FL 34117‐3013                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of New Holland                              Pennsylvania Dutch Council 524            New Holland, PA 17557                                                                                                                                       First Class Mail
Chartered Organization         Kiwanis Club Of Newington                                Connecticut Rivers Council, Bsa 066       P.O. Box 310214                                           Newington, CT 06131‐0214                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Newnan                                   Flint River Council 095                   103 Garden Hills Dr                                       Newnan, GA 30263‐5690                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Newport                                  Great Smoky Mountain Council 557          P.O. Box 815                                              Newport, TN 37822‐0815                                                                            First Class Mail
Chartered Organization         Kiwanis Club Of North Lake Tahoe                         Nevada Area Council 329                   P.O. Box 5718                                             Tahoe City, CA 96145‐5718                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of North Olmsted                            Lake Erie Council 440                     31143 Lily Ln                                             North Olmsted, OH 44070‐6308                                                                      First Class Mail
Chartered Organization         Kiwanis Club Of North Shore Milwaukee In                 Three Harbors Council 636                 3916 N Oakland Ave, Unit 318                              Shorewood, WI 53211‐2272                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Northfield                               Western Massachusetts Council 234         P.O. Box 943                                              Northfield, MA 01360‐0943                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Nova Academy Cedar Hill                  Circle Ten Council 571                    2407 W 12th St                                            Dallas, TX 75211‐2768                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Oak Cliff                                Circle Ten Council 571                    2407 W 12th St                                            Dallas, TX 75211‐2768                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Oak Cliff @ Jn Bryan                     Circle Ten Council 571                    2407 W 12th St                                            Dallas, TX 75211‐2768                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Oak Cliff @ Jn Ervin                     Circle Ten Council 571                    3722 Black Oak Dr                                         Dallas, TX 75241‐3307                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Oak Cliff @ Pease                        Circle Ten Council 571                    2407 W 12th St                                            Dallas, TX 75211‐2768                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Oak Cliff @ Twain Elem                   Circle Ten Council 571                    2407 W 12th St                                            Dallas, TX 75211‐2768                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Oak Cliff @Rl Thornton                   Circle Ten Council 571                    2407 W 12th St                                            Dallas, TX 75211‐2768                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Oak Cliff @Steven Park                   Circle Ten Council 571                    2407 W 12th St                                            Dallas, TX 75211‐2768                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Oak Cliff@Oliverelem                     Circle Ten Council 571                    2407 W 12th St                                            Dallas, TX 75211‐2768                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Oak Ridge                                Great Smoky Mountain Council 557          P.O. Box 7000                                             Oak Ridge, TN 37831‐3300                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Oakwood                                  Northeast Georgia Council 101             P.O. Box 1502                                             Oakwood, GA 30566‐0026                                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Okeene                                   Cimarron Council 474                      116 W E St                                                Okeene, OK 73763                                                                                  First Class Mail
Chartered Organization         Kiwanis Club Of Old Town Clovis                          Sequoia Council 027                       1486 Tollhouse Rd, Ste 103                                Clovis, CA 93611‐0518                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Olmsted Falls                            Lake Erie Council 440                     8534 Brentwood Dr                                         Olmsted Twp, OH 44138‐1854                                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Oviedo/Winter Springs                    Central Florida Council 083               P.O. Box 196983                                           Winter Springs, FL 32719‐6983                                                                     First Class Mail
Voting Party                   Kiwanis Club Of Owosso                                   Attn: Jack Wing, Board Member             5351 W Mason Rd                                           Owosso, MI 48867                                                 carjack7065@yahoo.com            Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Kiwanis Club Of Owosso Inc                               Water and Woods Council 782               P.O. Box 363                                              Owosso, MI 48867‐0363                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Oxnard                                   Ventura County Council 057                2572 Bolker Dr                                            Port Hueneme, CA 93041‐1755                                                                       First Class Mail
Chartered Organization         Kiwanis Club Of Pacific Grove                            Silicon Valley Monterey Bay 055           P.O. Box 351                                              Pacific Grove, CA 93950‐0351                                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Palm Beach Gardens                       Gulf Stream Council 085                   1224 US Hwy 1, Ste G                                      North Palm Beach, FL 33408‐3539                                                                   First Class Mail
Chartered Organization         Kiwanis Club Of Pasco                                    Blue Mountain Council 604                 P.O. Box 556                                              Pasco, WA 99301‐1207                                                                              First Class Mail
Chartered Organization         Kiwanis Club Of Paso Robles                              Los Padres Council 053                    P.O. Box 1615                                             Paso Robles, CA 93447‐1615                                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Peachtree City                           Flint River Council 095                   P.O. Box 2043                                             Peachtree City, GA 30269‐0043                                                                     First Class Mail
Chartered Organization         Kiwanis Club Of Petersburg                               Abraham Lincoln Council 144               999 Petersburg                                            Petersburg, IL 62675                                                                              First Class Mail
Chartered Organization         Kiwanis Club Of Plainview                                South Plains Council 694                  P.O. Box 684                                              Plainview, TX 79073‐0684                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Plano Tx Usa                             Circle Ten Council 571                    P.O. Box 261505                                           Plano, TX 75026‐1505                                                                              First Class Mail
Chartered Organization         Kiwanis Club Of Pleasant Grove                           Circle Ten Council 571                    P.O. Box 170310                                           Dallas, TX 75217‐0310                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Pleasant Grove                           Circle Ten Council 571                    1515 S Buckner Blvd, Ste 183                              Dallas, TX 75217‐1776                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Pleasant Grove                           Circle Ten Council 571                    8301 Bruton Rd                                            Dallas, TX 75217‐1905                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Pleasant Grove                           Circle Ten Council 571                    8401 Bruton Rd                                            Dallas, TX 75217‐1907                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Pleasant Grove                           Circle Ten Council 571                    8501 Bruton Rd                                            Dallas, TX 75217‐1909                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Pleasant Grove                           Circle Ten Council 571                    1324 Pleasant Dr                                          Dallas, TX 75217‐2139                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Pleasant Grove                           Circle Ten Council 571                    2449 Trenton Dr                                           Mesquite, TX 75150‐6008                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Pleasant Grove‐Macon                     Circle Ten Council 571                    650 Holcomb Rd                                            Dallas, TX 75217‐4408                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Prairie Du Chien                         c/o Dave Parks                            214 W Blackhawk Ave                                       Prairie Du Chien, WI 53821‐1425                                                                   First Class Mail
Chartered Organization         Kiwanis Club Of Providence Point                         Issaquah                                  Chief Seattle Council 609                                 4135A Providence Point Dr Se      Issaquah, WA 98029                                              First Class Mail
Chartered Organization         Kiwanis Club Of Rancho Murieta                           Golden Empire Council 047                 P.O. Box 855                                              Sloughhouse, CA 95683‐0855                                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Rancho Murietta                          Golden Empire Council 047                 P.O. Box 855                                              Sloughhouse, CA 95683‐0855                                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Reading                                  Dan Beard Council, Bsa 438                813 E Columbia Ave                                        Cincinnati, OH 45215‐3929                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Redondo Beach                            Greater Los Angeles Area 033              318 Ave I 82                                              Redondo Beach, CA 90277‐5601                                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Redwood City                             Pacific Skyline Council 031               P.O. Box 624                                              Redwood City, CA 94064‐0624                                                                       First Class Mail
Chartered Organization         Kiwanis Club Of Republic                                 Grand Columbia Council 614                154 Yenter Rd                                             Republic, WA 99166‐8790                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Riceville                                Winnebago Council, Bsa 173                3145 390th St                                             Riceville, IA 50466‐8010                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Riverside Uptown                         California Inland Empire Council 045      P.O. Box 20394                                            Riverside, CA 92516‐0394                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Riverview                                Great Lakes Fsc 272                       15841 Kristin Ln                                          Riverview, MI 48193‐8128                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Rock Island                              Illowa Council 133                        P.O. Box 3434                                             Rock Island, IL 61204‐3434                                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Rocklin                                  Golden Empire Council 047                 P.O. Box 76                                               Rocklin, CA 95677‐0076                                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Rockville                                National Capital Area Council 082         P.O. Box 1401                                             Rockville, MD 20849‐1401                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Rockwall                                 Circle Ten Council 571                    P.O. Box 903                                              Rockwall, TX 75087‐0903                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Roseville                                Golden Empire Council 047                 P.O. Box 662                                              Roseville, CA 95678‐0662                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Royal Oak                                Great Lakes Fsc 272                       P.O. Box 427                                              Royal Oak, MI 48068‐0427                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Sac City                                 Mid‐America Council 326                   1015 W Main St                                            Sac City, IA 50583‐1629                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Saline                                   Southern Shores Fsc 783                   3702 Hedgerow Dr                                          Saline, MI 48176‐9598                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Salyersville                             Blue Grass Council 204                    General Delivery                                          Salyersville, KY 41465                                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Sammamish                                Chief Seattle Council 609                 704 228th Ave NE, Ste 772                                 Sammamish, WA 98074‐7222                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of San Carlos                               Pacific Skyline Council 031               P.O. Box 1103                                             San Carlos, CA 94070‐1103                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of San Clemente                             Orange County Council 039                 P.O. Box 32                                               San Clemente, CA 92674‐0032                                                                       First Class Mail
Chartered Organization         Kiwanis Club Of San Marcos                               San Diego Imperial Council 049            P.O. Box 493                                              San Marcos, CA 92079‐0493                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of San Mateo                                Pacific Skyline Council 031               P.O. Box 2028                                             San Mateo, CA 94401‐0970                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of San Ramon Valley                         Mt Diablo‐Silverado Council 023           P.O. Box 223                                              Danville, CA 94526‐0223                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Santa Clarita                            W.L.A.C.C. 051                            27959 Palmetto Ridge Dr                                   Valencia, CA 91354‐1316                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Santa Rosa                               Redwood Empire Council 041                P.O. Box 1204                                             Santa Rosa, CA 95402‐1204                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Scott City                               Greater St Louis Area Council 312         210 Forest Dr                                             Scott City, MO 63780‐1434                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Sevierville                              Great Smoky Mountain Council 557          P.O. Box 5896                                             Sevierville, TN 37864‐5896                                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Sikeston &                               1st United Methodist Church of Sikeston   P.O. Box 234                                              Sikeston, MO 63801‐0234                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Sikeston &                               1st United Methodist Church of Sikeston   P.O. Box 234                                              Sikeston, MO 63801‐0234                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Solvay Geddes & Camillus                 Longhouse Council 373                     119 Meadow Rd                                             Syracuse, NY 13219‐1419                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Solvay‐Geddes‐Camillus                   Longhouse Council 373                     408 Clover Rd                                             Syracuse, NY 13219‐1424                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Southington                              Connecticut Yankee Council Bsa 072        P.O. Box 372                                              Southington, CT 06489‐0372                                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Spring Hill                              Middle Tennessee Council 560              P.O. Box 1822                                             Spring Hill, TN 37174‐1822                                                                        First Class Mail
Chartered Organization         Kiwanis Club Of Springville Utah                         Utah National Parks 591                   1277 N 150 E                                              Springville, UT 84663‐1176                                                                        First Class Mail
Chartered Organization         Kiwanis Club Of St Louis Park                            Northern Star Council 250                 7930 Golden Valley Rd, Ste 15                             Golden Valley, MN 55427‐4491                                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Stephenville                             Texas Trails Council 561                  P.O. Box 281                                              Stephenville, TX 76401‐0004                                                                       First Class Mail
Chartered Organization         Kiwanis Club Of Sunrise Vista                            San Diego Imperial Council 049            P.O. Box 142                                              Vista, CA 92085‐0142                                                                              First Class Mail
Chartered Organization         Kiwanis Club Of Surf City (Santa Cruz)                   Silicon Valley Monterey Bay 055           P.O. Box 1223                                             Santa Cruz, CA 95061‐1223                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Swainsboro                               Georgia‐Carolina 093                      428 Fairground Rd                                         Swainsboro, GA 30401‐3804                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Swartz Creek                             Water and Woods Council 782               8077 Miller Rd                                            Swartz Creek, MI 48473‐1381                                                                       First Class Mail
Chartered Organization         Kiwanis Club Of Temecula Valley                          California Inland Empire Council 045      P.O. Box 447                                              Temecula, CA 92593‐0447                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Tempe                                    Grand Canyon Council 010                  P.O. Box 27366                                            Tempe, AZ 85285‐7366                                                                              First Class Mail
Chartered Organization         Kiwanis Club Of Temple City                              Greater Los Angeles Area 033              P.O. Box 173                                              Temple City, CA 91780‐0173                                                                        First Class Mail
Chartered Organization         Kiwanis Club Of The Bay Area                             Oregon Trail Council 697                  P.O. Box 866                                              North Bend, OR 97459‐0071                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of The Haddons                              c/o Popiolek Funeral Home                 400 Clements Bridge Rd                                    Barrington, NJ 08007‐1810                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of The Ranchos                              Sequoia Council 027                       37479 Ave 12                                              Madera, CA 93636‐8726                                                                             First Class Mail
Chartered Organization         Kiwanis Club Of Thevalleys                               Silicon Valley Monterey Bay 055           P.O. Box 66257                                            Scotts Valley, CA 95067‐6257                                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Three Village                            Suffolk County Council Inc 404            P.O. Box 553                                              East Setauket, NY 11733‐0553                                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Tierrasanta                              San Diego Imperial Council 049            P.O. Box 420094                                           San Diego, CA 92142‐0094                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Torrey Pines                             San Diego Imperial Council 049            8677 Villa La Jolla Dr                                    La Jolla, CA 92037‐2354                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Twentynine Palms                         California Inland Empire Council 045      P.O. Box 2288                                             Twentynine Palms, CA 92277‐1008                                                                   First Class Mail
Chartered Organization         Kiwanis Club Of Upper Allen Inc                          New Birth of Freedom 544                  2198 Hastings Dr                                          Mechanicsburg, PA 17055‐9315                                                                      First Class Mail
Chartered Organization         Kiwanis Club Of Victoria Texas                           South Texas Council 577                   106 Nottingham Dr                                         Victoria, TX 77904‐1710                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Washington                               Georgia‐Carolina 093                      1041 Lexington Rd                                         Washington, GA 30673‐3311                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of Watonga                                  Cimarron Council 474                      P.O. Box 717                                              Watonga, OK 73772‐0717                                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Wauwatosa                                Three Harbors Council 636                 2047 N 85th St                                            Wauwatosa, WI 53226‐2845                                                                          First Class Mail
Chartered Organization         Kiwanis Club Of Webster                                  Seneca Waterways 397                      P.O. Box 632                                              Webster, NY 14580‐0632                                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Webster                                  Sioux Council 733                         P.O. Box 15                                               Webster, SD 57274‐0015                                                                            First Class Mail
Voting Party                   Kiwanis Club Of Webster, Ny                              Attn: Roger Awe                           375 Webster Rd                                            Webster, NY 14580                                                roger.awe@rochesteroptical.com   Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Kiwanis Club Of Wellington                               Lake Erie Council 440                     127 Park Pl                                               Wellington, OH 44090‐1339                                                                         First Class Mail
Chartered Organization         Kiwanis Club Of West Seattle                             Chief Seattle Council 609                 P.O. Box 16309                                            Seattle, WA 98116‐0309                                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Westlake                                 Utah National Parks 591                   2462 S Maverick Rd                                        Saratoga Springs, UT 84045‐6405                                                                   First Class Mail
Chartered Organization         Kiwanis Club Of Westport                                 Hoosier Trails Council 145 145            P.O. Box 428                                              Westport, IN 47283‐0428                                                                           First Class Mail
Chartered Organization         Kiwanis Club Of Wheaton                                  Three Fires Council 127                   P.O. Box 33                                               Wheaton, IL 60187‐0033                                                                            First Class Mail
Chartered Organization         Kiwanis Club Of Williamsburg                             Colonial Virginia Council 595             310 S England St                                          Williamsburg, VA 23185‐4266                                                                       First Class Mail
Chartered Organization         Kiwanis Club Of Williamston                              Water and Woods Council 782               2281 White Pine Dr                                        Williamston, MI 48895‐9199                                                                        First Class Mail
Voting Party                   Kiwanis Club Of Woodburn                                 P.O. Box 1046                             Woddburn, OR 97071                                                                                                         mwilkwood@yahoo.com              Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Kiwanis Club Of Youngstown‐Williamson                    Great Trail 433                           17 N Champion St                                          Youngstown, OH 44503‐1602                                                                         First Class Mail
Chartered Organization         Kiwanis Club Omak                                        Grand Columbia Council 614                P.O. Box 1300                                             Omak, WA 98841‐1300                                                                               First Class Mail
Chartered Organization         Kiwanis Club Pleasant Grove Titche Sch                   Circle Ten Council 571                    8914 Fairhaven Ln                                         Dallas, TX 75227                                                                                  First Class Mail
Chartered Organization         Kiwanis Club Pueblo De San Jose                          Silicon Valley Monterey Bay 055           2118 Walsh Ave                                            Santa Clara, CA 95050‐2525                                                                        First Class Mail
Chartered Organization         Kiwanis Club Riviera Beach Florida                       Gulf Stream Council 085                   619 Northlake Blvd                                        North Palm Beach, FL 33408‐5308                                                                   First Class Mail
Chartered Organization         Kiwanis Club Rockwood                                    Cascade Pacific Council 492               P.O. Box 20518                                            Portland, OR 97294‐0518                                                                           First Class Mail
Chartered Organization         Kiwanis Club Ross Island Early Risers                    Cascade Pacific Council 492               5433 NE Skidmore St                                       Portland, OR 97218‐2172                                                                           First Class Mail
Chartered Organization         Kiwanis Club Sandy                                       Cascade Pacific Council 492               P.O. Box 1446                                             Sandy, OR 97055‐1446                                                                              First Class Mail
Chartered Organization         Kiwanis Club Scappoose                                   Cascade Pacific Council 492               P.O. Box 482                                              Scappoose, OR 97056‐0482                                                                          First Class Mail
Chartered Organization         Kiwanis Club South Lyon                                  Great Lakes Fsc 272                       P.O. Box 235                                              South Lyon, MI 48178‐0235                                                                         First Class Mail
Chartered Organization         Kiwanis Club Southwest Hills                             Cascade Pacific Council 492               7442 S Corbett Ave                                        Portland, OR 97219‐2908                                                                           First Class Mail
Chartered Organization         Kiwanis Club‐ Tatunm                                     Circle Ten Council 571                    8501 Bruton Rd                                            Dallas, TX 75217‐1909                                                                             First Class Mail
Chartered Organization         Kiwanis Club Tonasket                                    Grand Columbia Council 614                P.O. Box 632                                              Tonasket, WA 98855‐0632                                                                           First Class Mail
Chartered Organization         Kiwanis Club Willamina Sheridan                          Grande Ronde                              P.O. Box 1144                                             Willamina, OR 97396‐1144                                                                          First Class Mail
Chartered Organization         Kiwanis Club Woodburn                                    Cascade Pacific Council 492               1475 Mount Hood Ave                                       Woodburn, OR 97071‐9066                                                                           First Class Mail
Chartered Organization         Kiwanis Club/Elks Club Of Susanville                     Nevada Area Council 329                   400 Main St                                               Susanville, CA 96130‐3809                                                                         First Class Mail
Chartered Organization         Kiwanis Club@ William Brown Miller Sch                   Circle Ten Council 571                    3111 Bonnie View Rd                                       Dallas, TX 75216‐3446                                                                             First Class Mail
Chartered Organization         Kiwanis Club@Young                                       Circle Ten Council 571                    4601 Veterans Dr                                          Dallas, TX 75216‐7101                                                                             First Class Mail
Chartered Organization         Kiwanis Club‐Darboy                                      Bay‐Lakes Council 635                     N178 County Rd N                                          Appleton, WI 54915                                                                                First Class Mail
Chartered Organization         Kiwanis Club‐Marion                                      Quivira Council, Bsa 198                  223 Tanglewood St                                         Marion, KS 66861‐1143                                                                             First Class Mail
Chartered Organization         Kiwanis Clubs@Henry Gonzales School                      Circle Ten Council 571                    8201 Bruton Rd                                            Dallas, TX 75217                                                                                  First Class Mail
Chartered Organization         Kiwanis International                                    Tuscarora Council 424                     P.O. Box 201                                              Kenly, NC 27542‐0201                                                                              First Class Mail
Chartered Organization         Kiwanis International Wellesley Inc                      Mayflower Council 251                     P.O. Box 812201                                           Wellesley, MA 02482‐0015                                                                          First Class Mail
Voting Party                   Kiwanis International, Inc.                              Attn: David Kress                         3636 Woodview Trce                                        Indianapolis, IN 46268                                           dkress@kiwanis.org               Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Kiwanis Mankato                                          Twin Valley Council Bsa 283               P.O. Box 733                                              Mankato, MN 56002‐0733                                                                            First Class Mail
Chartered Organization         Kiwanis Of East Orange County                            Central Florida Council 083               12819 Waterhaven Cir                                      Orlando, FL 32828‐8637                                                                            First Class Mail
Chartered Organization         Kiwanis Of Fairview Heights                              Greater St Louis Area Council 312         P.O. Box 3064                                             Fairview Heights, IL 62208‐3064                                                                   First Class Mail
Chartered Organization         Kiwanis Of Granville                                     Simon Kenton Council 441                  P.O. Box 133                                              Granville, OH 43023‐0133                                                                          First Class Mail
Chartered Organization         Kiwanis Of Hays                                          Coronado Area Council 192                 1304 Schwaller Ave                                        Hays, KS 67601‐2242                                                                               First Class Mail
Chartered Organization         Kiwanis Of Saddle Brook                                  Northern New Jersey Council, Bsa 333      114 Colonial Ave                                          Saddle Brook, NJ 07663‐5105                                                                       First Class Mail
Chartered Organization         Kiwanis Of San Luis Obispo                               Los Padres Council 053                    P.O. Box 371                                              San Luis Obispo, CA 93406‐0371                                                                    First Class Mail
Chartered Organization         Kiwanis Of Slayton                                       Sioux Council 733                         40 Park Dr                                                Slayton, MN 56172‐1050                                                                            First Class Mail
Chartered Organization         Kiwanis Of South Bend                                    Pacific Harbors Council, Bsa 612          P.O. Box 425                                              South Bend, WA 98586‐0425                                                                         First Class Mail
Chartered Organization         Kiwanis Of Sylvester                                     South Georgia Council 098                 P.O. Box 846                                              Sylvester, GA 31791‐0846                                                                          First Class Mail
Chartered Organization         Kiwanis Of West Seattle                                  Chief Seattle Council 609                 P.O. Box 16128                                            Seattle, WA 98116‐0128                                                                            First Class Mail
Chartered Organization         Kiwanis Of Windom                                        Twin Valley Council Bsa 283               812 4th Ave                                               Windom, MN 56101‐1657                                                                             First Class Mail
Chartered Organization         Kiwanis‐Grafton                                          Northern Lights Council 429               402 Hill Ave                                              Grafton, ND 58237‐1002                                                                            First Class Mail
Chartered Organization         Kiwans'S Club Of Pleasant Grove                          Circle Ten Council 571                    8501 Bruton Rd                                            Dallas, TX 75217‐1909                                                                             First Class Mail
Chartered Organization         Klamath Cnty Ch Oregon Hunters Assoc                     Crater Lake Council 491                   P.O. Box 8161                                             Klamath Falls, OR 97602‐1161                                                                      First Class Mail
Chartered Organization         Klamath Falls City Police Dept                           Crater Lake Council 491                   2501 Shasta Way                                           Klamath Falls, OR 97601‐4355                                                                      First Class Mail
Chartered Organization         Klamath Falls Lions Club                                 Crater Lake Council 491                   P.O. Box 305                                              Klamath Falls, OR 97601‐0013                                                                      First Class Mail
Chartered Organization         Klamath River Fire Co                                    Crater Lake Council 491                   30330 Walker Rd                                           Klamath River, CA 96050‐9033                                                                      First Class Mail
Chartered Organization         Klecknersville Rangers Fire Co                           Minsi Trails Council 502                  2718 Mountain View Dr                                     Bath, PA 18014‐9328                                                                               First Class Mail
Chartered Organization         Klein Phoenix Scouting Lions Club                        Sam Houston Area Council 576              P.O. Box 12081                                            Klein, TX 77391‐2081                                                                              First Class Mail
Firm                           Klein Solomon Mills, PLLC                                Michael J. Mills                          1322 4th Avenue N                                         Nashville, TN 37208                                              michael.mills@kleinpllc.com      Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Klein Texas Historical Foundation                        Sam Houston Area Council 576              7200 Spring Cypress Rd                                    Klein, TX 77379‐3215                                                                              First Class Mail
Voting Party                   Klein United Methodist Church                            Attn: Carrie Deleon                       5920 Fm 2920                                              Spring, TX 77388                                                 carrie@kleinumc.org              Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Klein Volunteer Fire Dept                                Sam Houston Area Council 576              16810 Squyres Rd                                          Spring, TX 77379‐7489                                                                             First Class Mail
Chartered Organization         Klem Road North Elementary School Ptsa                   Seneca Waterways 397                      1015 Klem Rd                                              Webster, NY 14580‐8618                                                                            First Class Mail
Chartered Organization         Klem Road South Elementary School Ptsa                   Seneca Waterways 397                      1025 Klem Rd                                              Webster, NY 14580‐8618                                                                            First Class Mail
Voting Party                   Kline Memorial Umc                                       Attn: Treasurer                           28996 Enterprise Iles Rd                                  Logan, OH 43138                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                         Page 180 of 442
                                                                                 Case 20-10343-LSS                                                     Doc 8171                                      Filed 01/06/22                                                        Page 196 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                         Service List
                                                                                                                                                                                  Served as set forth below

        Description                                                       Name                                                                                                        Address                                                                                                              Email                Method of Service
Voting Party                   Klinesgrove (180271)                                             c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200              Pittsburgh, PA 15228             lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Klondike School Pto                                              Sagamore Council 162                             Klondike School Pto                                        3311 Klondike Rd                                                                                         First Class Mail
Voting Party                   Kluver Law Office & Mediation Ctr, Pllc                          Attn: Douglas D Kluver                           408 N 1st St                                               P.O. Box 486                            Montevideo, MN 56265             bankruptcycourt@kluverlaw.com   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kmc Firefighter Assoc                                            Transatlantic Council, Bsa 802                   Unit 3180 Box 300                                          Apo, AE 09094‐3180                                                                                       First Class Mail
Chartered Organization         Kment Parent Club                                                Great Lakes Fsc 272                              20033 Washington St                                        Roseville, MI 48066‐2295                                                                                 First Class Mail
Chartered Organization         Kms Designs                                                      Great Salt Lake Council 590                      446 E 1310 N                                               Tooele, UT 84074‐9174                                                                                    First Class Mail
Firm                           Knafo Law Offices, LLC                                           Jerry R. Knafo, Esq                              1409 Hausman Rd                                            Allentown, PA 18104                                                      jknafo@knafo.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knapp Elementary Pto                                             Chippewa Valley Council 637                      110 South St                                               Knapp, WI 54749‐9502                                                                                     First Class Mail
Chartered Organization         Knapp Elementary/Clipper Club                                    Three Harbors Council 636                        2701 17th St                                               Racine, WI 53405‐3523                                                                                    First Class Mail
Chartered Organization         Knickrehm Elementary School/Pta                                  Overland Trails 322                              2013 N Oak St                                              Grand Island, NE 68801‐2463                                                                              First Class Mail
Voting Party                   Knight Of Columbus Council 4264                                  Attn: Anthony Hlavac                             2211 E Lakeview Dr                                         Johnson City, TN 37601                                                   wc130j@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knight Of Columbus Council 5254                                  Silicon Valley Monterey Bay 055                  1911 Saint Lawrence Dr                                     Santa Clara, CA 95051                                                                                    First Class Mail
Voting Party                   Knightdale United Methodist Church                               Attn: Susan Crowder                              7071 Forestville Rd                                        Knightdale, NC 27545                                                     kumc1@bellouth.net              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knights Columbus 1762 St Pats Ch                                 Northern Star Council 250                        1500 Vine St                                               Hudson, WI 54016‐1882                                                                                    First Class Mail
Chartered Organization         Knights Columbus Fr Thomas Lane                                  Council 3645                                     314 S 4th St                                               Renton, WA 98057‐2434                                                                                    First Class Mail
Chartered Organization         Knights Columbus Ponderosa Charities Inc                         Nevada Area Council 329                          7581 Avila Dr                                              Sparks, NV 89436‐7593                                                                                    First Class Mail
Chartered Organization         Knights Columbus Sacred Heart                                    Council 2804                                     21801 Johnson Dr                                           Shawnee, KS 66218‐8102                                                                                   First Class Mail
Chartered Organization         Knights Columbus St Andrews Catholic Ch                          Grand Columbia Council 614                       401 S Willow St                                            Ellensburg, WA 98926‐3564                                                                                First Class Mail
Chartered Organization         Knights Columbus St Joseph On Rio Grande                         Great Swest Council 412                          5901 Saint Josephs Ave Nw                                  Albuquerque, NM 87120‐3767                                                                               First Class Mail
Chartered Organization         Knights Columbus St Marys Council 13664                          California Inland Empire Council 045             16550 Jurupa Ave                                           Fontana, CA 92337‐7542                                                                                   First Class Mail
Chartered Organization         Knights Columbus Sullivan Council 2700                           Narragansett 546                                 20 Claremont St                                            Central Falls, RI 02863‐2503                                                                             First Class Mail
Chartered Organization         Knights Of Colombus Council 13227                                Aloha Council, Bsa 104                           P.O. Box 359                                               Kailua Kona, HI 96745‐0359                                                                               First Class Mail
Chartered Organization         Knights Of Columbus                                              Samoset Council, Bsa 627                         P.O. Box 535                                               Antigo, WI 54409‐0535                                                                                    First Class Mail
Chartered Organization         Knights Of Columbus                                              Suffolk County Council Inc 404                   Christ the King Council 11163                              Commack, NY 11725                                                                                        First Class Mail
Chartered Organization         Knights Of Columbus                                              Golden Empire Council 047                        814 Solano St                                              Corning, CA 96021‐3232                                                                                   First Class Mail
Chartered Organization         Knights Of Columbus                                              Greater St Louis Area Council 312                7057 Old 66                                                Cuba, MO 65453‐9333                                                                                      First Class Mail
Chartered Organization         Knights Of Columbus                                              Dan Beard Council, Bsa 438                       10490 N State St                                           Harrison, OH 45030‐9501                                                                                  First Class Mail
Chartered Organization         Knights Of Columbus                                              Crossroads of America 160                        1040 N Post Rd                                             Indianapolis, IN 46219‐4222                                                                              First Class Mail
Chartered Organization         Knights Of Columbus                                              c/o Tom Ecay                                     1028 Greenfield Dr                                         Johnson City, TN 37604‐2950                                                                              First Class Mail
Chartered Organization         Knights Of Columbus                                              Mayflower Council 251                            91 South St                                                Kingston, MA 02364                                                                                       First Class Mail
Chartered Organization         Knights Of Columbus                                              Northern Star Council 250                        2008 Sunnyview Ln                                          Northfield, MN 55057‐4597                                                                                First Class Mail
Chartered Organization         Knights Of Columbus                                              Los Padres Council 053                           P.O. Box 669                                               Paso Robles, CA 93447‐0669                                                                               First Class Mail
Chartered Organization         Knights Of Columbus                                              Gateway Area 624                                 P.O. Box 55                                                Prairie Du Chien, WI 53821‐0055                                                                          First Class Mail
Chartered Organization         Knights Of Columbus                                              Suffolk County Council Inc 404                   Holy Mother Mary Council 3958                              Smithtown, NY 11787                                                                                      First Class Mail
Chartered Organization         Knights Of Columbus                                              Northern New Jersey Council, Bsa 333             67 Hathaway St                                             Wallington, NJ 07057‐1008                                                                                First Class Mail
Chartered Organization         Knights Of Columbus                                              W D Boyce 138                                    120 Walnut St                                              Washington, IL 61571‐2646                                                                                First Class Mail
Chartered Organization         Knights Of Columbus                                              Calcasieu Area Council 209                       301 W Nichols St                                           Welsh, LA 70591‐4721                                                                                     First Class Mail
Chartered Organization         Knights Of Columbus                                              Northern Star Council 250                        P.O. Box 1616                                              Willmar, MN 56201‐1616                                                                                   First Class Mail
Voting Party                   Knights Of Columbus                                              c/o Saxe Doernberger & Vita, Pc                  Attn: Edwin L Doernberger                                  35 Nutmeg Dr, Ste 140                   Trumbull, CT 06611               eld@sdvlaw.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Knights Of Columbus                                              Attn: Brian Gedicks                              1 Columbus Plz                                             New Haven, CT 06510                                                      Edoernberger@sdvlaw.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Knights Of Columbus                                              c/o Saxe Doernberger & Vita, Pc                  Attn: Edwin Doernberger                                    35 Nutmeg Dr, Ste 140                   Trumbull, CT 06611               EDoernberger@sdvlaw.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Knights Of Columbus                                              Attn: Brian Gedicks, Associate General Counsel   1 Columbus Plz                                             New Haven, CT 06510                                                      Brian.Gedicks@KofC.org          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knights Of Columbus 4182                                         Del Mar Va 081                                   P.O. Box 165                                               Dover, DE 19903‐0165                                                                                     First Class Mail
Chartered Organization         Knights Of Columbus 9689                                         Northeast Illinois 129                           P.O. Box 88                                                Grayslake, IL 60030‐0088                                                                                 First Class Mail
Chartered Organization         Knights Of Columbus ‐ North Canton 3777                          Buckeye Council 436                              241 S Main St                                              North Canton, OH 44720‐3023                                                                              First Class Mail
Chartered Organization         Knights Of Columbus ‐ St Christopher                             Greater Los Angeles Area 033                     629 S Glendora Ave                                         West Covina, CA 91790‐3705                                                                               First Class Mail
Chartered Organization         Knights Of Columbus ‐ Westphalia                                 Great Rivers Council 653                         P.O. Box 132                                               Westphalia, MO 65085‐0132                                                                                First Class Mail
Chartered Organization         Knights Of Columbus (St Vincent Depaul)                          Muskingum Valley Council, Bsa 467                303 E High St                                              Mount Vernon, OH 43050‐3419                                                                              First Class Mail
Voting Party                   Knights Of Columbus 10836, St John Neuman                        Attn: Richard Sanchez Grand Knight               5455 Bee Caves Rd                                          Austin, TX 78746                                                                                         First Class Mail
Voting Party                   Knights Of Columbus 10836‐St John Neuman                         Attn: Chancellor                                 6225 E US 290 Hwy Svrd Eb                                  Austin, TX 78723                                                         ron‐walker@austindiocese.org    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knights Of Columbus 11807                                        South Plains Council 694                         1120 52nd St                                               Lubbock, TX 79412‐3108                                                                                   First Class Mail
Chartered Organization         Knights Of Columbus 13945                                        Far E Council 803                                Psc 556 Box 713                                            Apo, AP 96386‐0008                                                                                       First Class Mail
Chartered Organization         Knights Of Columbus 1397                                         Inland Nwest Council 611                         618 E 1st St                                               St Marys Church                                                                                          First Class Mail
Chartered Organization         Knights Of Columbus 1623                                         Greater St Louis Area Council 312                1623 Jeffco Blvd                                           Arnold, MO 63010‐2737                                                                                    First Class Mail
Chartered Organization         Knights Of Columbus 2204                                         Theodore Roosevelt Council 386                   Morton St & Garity                                         Farmingdale, NY 11735                                                                                    First Class Mail
Chartered Organization         Knights Of Columbus 2273                                         Greater St Louis Area Council 312                2291 Post Rd                                               O Fallon, MO 63368‐6713                                                                                  First Class Mail
Chartered Organization         Knights Of Columbus 2987                                         Quivira Council, Bsa 198                         115 N 12th St                                              Conway Springs, KS 67031‐8250                                                                            First Class Mail
Chartered Organization         Knights Of Columbus 3253                                         South Texas Council 577                          601 Sunnydale Dr                                           Port Lavaca, TX 77979‐2348                                                                               First Class Mail
Chartered Organization         Knights Of Columbus 3914                                         Abraham Lincoln Council 144                      355 S 4th St                                               Riverton, IL 62561                                                                                       First Class Mail
Chartered Organization         Knights Of Columbus 4026                                         Last Frontier Council 480                        8805 NE 10th St                                            Midwest City, OK 73110‐7103                                                                              First Class Mail
Chartered Organization         Knights Of Columbus 4179                                         Abraham Lincoln Council 144                      Rr 1 Box 172A                                              Chatham, IL 62629                                                                                        First Class Mail
Chartered Organization         Knights Of Columbus 4753                                         Narragansett 546                                 28 Fish Rd                                                 Tiverton, RI 02878‐3606                                                                                  First Class Mail
Chartered Organization         Knights Of Columbus 4964                                         Golden Empire Council 047                        7817 Old Auburn Rd                                         Citrus Heights, CA 95610‐3025                                                                            First Class Mail
Chartered Organization         Knights Of Columbus 6018 ‐ Arnold                                Greater St Louis Area Council 312                1623 Jeffco Blvd                                           Arnold, MO 63010‐2737                                                                                    First Class Mail
Chartered Organization         Knights Of Columbus 6273                                         Hoosier Trails Council 145 145                   1709 E Harrison St                                         Martinsville, IN 46151‐1844                                                                              First Class Mail
Chartered Organization         Knights Of Columbus 6415                                         Greater St Louis Area Council 312                1270 Church Rd                                             O Fallon, MO 63366‐5104                                                                                  First Class Mail
Chartered Organization         Knights Of Columbus 6447                                         Bay‐Lakes Council 635                            264 Silver Creek Rd                                        Marquette, MI 49855‐9338                                                                                 First Class Mail
Chartered Organization         Knights Of Columbus 6722                                         Heart of America Council 307                     201 S Vine St                                              Holden, MO 64040‐1149                                                                                    First Class Mail
Chartered Organization         Knights Of Columbus 676                                          Chief Seattle Council 609                        722 E Union St                                             Seattle, WA 98122‐3724                                                                                   First Class Mail
Chartered Organization         Knights Of Columbus 7487                                         President Gerald R Ford 781                      P.O. Box 453                                               Jenison, MI 49429‐0453                                                                                   First Class Mail
Chartered Organization         Knights Of Columbus 752                                          Lake Erie Council 440                            816 Monroe St                                              Bellevue, OH 44811‐9757                                                                                  First Class Mail
Chartered Organization         Knights Of Columbus 7589                                         North Florida Council 087                        P.O. Box 833                                               Lake City, FL 32056‐0833                                                                                 First Class Mail
Chartered Organization         Knights Of Columbus 7863                                         Mount Baker Council, Bsa 606                     P.O. Box 201                                               Marysville, WA 98270‐0201                                                                                First Class Mail
Chartered Organization         Knights Of Columbus 8295                                         Blue Ridge Council 551                           103 Shady Ln                                               Anderson, SC 29625‐5737                                                                                  First Class Mail
Chartered Organization         Knights Of Columbus 988 Murphysboro                              Greater St Louis Area Council 312                606 Plum St                                                Murphysboro, IL 62966‐2680                                                                               First Class Mail
Chartered Organization         Knights Of Columbus 996                                          Westark Area Council 016                         P.O. Box 180367                                            Fort Smith, AR 72918‐0367                                                                                First Class Mail
Voting Party                   Knights Of Columbus 9997‐ St. Thomas More                        c/o Bsa Coordinator                              Attn: Chancellor                                           6225 E US 290 Hwy Svrd Eb               Austin, TX 78723                 ron‐walker@austindiocese.org    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Knights Of Columbus 9997, St Thomas More                         Attn: Kevin A Brinkman                           10205 N Fm 620                                             Austin, TX 78726                                                                                         First Class Mail
Chartered Organization         Knights Of Columbus Aptos Council 9580                           Silicon Valley Monterey Bay 055                  P.O. Box 2322                                              Aptos, CA 95001‐2322                                                                                     First Class Mail
Chartered Organization         Knights Of Columbus Bellevue                                     Northeast Iowa Council 178                       100 S 2nd St                                               Bellevue, IA 52031‐1318                                                                                  First Class Mail
Chartered Organization         Knights Of Columbus Co 2737                                      Mobile Area Council‐Bsa 004                      901 Ryan Ave                                               Daphne, AL 36526‐4040                                                                                    First Class Mail
Voting Party                   Knights Of Columbus Columbia Council 7559                        Grand Knight Columbia Council 7559               P.O. Box 573                                               Columbia, MD 21045                                                       attard@rocketmail.com           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knights Of Columbus Council                                      Northern New Jersey Council, Bsa 333             27 Pompton Ave                                             Pompton Lakes, NJ 07442                                                                                  First Class Mail
Chartered Organization         Knights Of Columbus Council 1599                                 Pathway To Adventure 456                         670 Schultz St                                             Lemont, IL 60439‐4076                                                                                    First Class Mail
Chartered Organization         Knights Of Columbus Council 1078                                 The Spirit of Adventure 227                      10 Brook St                                                Andover, MA 01810‐3712                                                                                   First Class Mail
Chartered Organization         Knights Of Columbus Council 1128                                 Longs Peak Council 062                           265 Spruce St                                              Chadron, NE 69337                                                                                        First Class Mail
Chartered Organization         Knights Of Columbus Council 11421                                Gulf Stream Council 085                          10300 Yamato Rd                                            Boca Raton, FL 33498‐6106                                                                                First Class Mail
Chartered Organization         Knights Of Columbus Council 11732                                Indian Nations Council 488                       1007 N 19th St                                             Collinsville, OK 74021‐2700                                                                              First Class Mail
Chartered Organization         Knights Of Columbus Council 12295                                Southern Shores Fsc 783                          2201 S Old US Hwy 23                                       Brighton, MI 48114‐7609                                                                                  First Class Mail
Chartered Organization         Knights Of Columbus Council 12620                                Monmouth Council, Bsa 347                        240 Broad St                                               Eatontown, NJ 07724‐1601                                                                                 First Class Mail
Chartered Organization         Knights Of Columbus Council 12765                                Mobile Area Council‐Bsa 004                      23028 Palmer St                                            Robertsdale, AL 36576                                                                                    First Class Mail
Chartered Organization         Knights Of Columbus Council 1337                                 Louisiana Purchase Council 213                   1205 Oliver Rd                                             Monroe, LA 71201‐5015                                                                                    First Class Mail
Chartered Organization         Knights Of Columbus Council 1345                                 Northern New Jersey Council, Bsa 333             61 Armour Pl                                               Dumont, NJ 07628‐3361                                                                                    First Class Mail
Chartered Organization         Knights Of Columbus Council 1400                                 Laurel Highlands Council 527                     450 Lincoln Ave                                            Pittsburgh, PA 15202‐3631                                                                                First Class Mail
Chartered Organization         Knights Of Columbus Council 1576                                 Greater St Louis Area Council 312                700 Clearview Dr                                           Union, MO 63084‐2048                                                                                     First Class Mail
Chartered Organization         Knights Of Columbus Council 1610                                 Dan Beard Council, Bsa 438                       201 Clark St                                               Middletown, OH 45042‐2038                                                                                First Class Mail
Chartered Organization         Knights Of Columbus Council 1610                                 Dan Beard Council, Bsa 438                       201 Clark St                                               Middletown, OH 45042‐2038                                                                                First Class Mail
Chartered Organization         Knights Of Columbus Council 1883                                 Northern Lights Council 429                      519 1st Ave S                                              Jamestown, ND 58401‐4252                                                                                 First Class Mail
Chartered Organization         Knights Of Columbus Council 1911                                 Three Fires Council 127                          537 S York St                                              Elmhurst, IL 60126‐3951                                                                                  First Class Mail
Chartered Organization         Knights Of Columbus Council 246                                  Twin Rivers Council 364                          50 Pine Rd                                                 Saratoga Springs, NY 12866‐5940                                                                          First Class Mail
Chartered Organization         Knights Of Columbus Council 2601                                 Three Fires Council 127                          P.O. Box 525                                               Wheaton, IL 60187‐0525                                                                                   First Class Mail
Chartered Organization         Knights Of Columbus Council 2740                                 Water and Woods Council 782                      1021 Woodside Ave                                          Essexville, MI 48732‐1234                                                                                First Class Mail
Chartered Organization         Knights Of Columbus Council 3052                                 Long Beach Area Council 032                      9847 Artesia Blvd                                          Bellflower, CA 90706‐6711                                                                                First Class Mail
Chartered Organization         Knights Of Columbus Council 3118                                 Northern Lights Council 429                      P.O. Box 51                                                Fergus Falls, MN 56538                                                                                   First Class Mail
Chartered Organization         Knights Of Columbus Council 3389                                 South Texas Council 577                          320 General Cavazos Blvd                                   Kingsville, TX 78363‐7245                                                                                First Class Mail
Chartered Organization         Knights Of Columbus Council 3472                                 Verdugo Hills Council 058                        134 S Glenoaks Blvd                                        Burbank, CA 91502‐1314                                                                                   First Class Mail
Chartered Organization         Knights Of Columbus Council 3652                                 c/o St Marys Church                              1010 Windsor Ln                                            Key West, FL 33040‐3270                                                                                  First Class Mail
Chartered Organization         Knights Of Columbus Council 389                                  President Gerald R Ford 781                      1120 4 Mile Rd Ne                                          Grand Rapids, MI 49525‐2653                                                                              First Class Mail
Voting Party                   Knights Of Columbus Council 3991                                 Attn: Justin Thompson                            109 Huntington Pl                                          Tullahoma, TN 37388                                                                                      First Class Mail
Voting Party                   Knights Of Columbus Council 3991                                 c/o Frank Jackson Council 3991                   304 W Grizzard St                                          Tullahoma, TN 37388                                                                                      First Class Mail
Chartered Organization         Knights Of Columbus Council 4064                                 Great Lakes Fsc 272                              531 Common St                                              Walled Lake, MI 48390‐3417                                                                               First Class Mail
Chartered Organization         Knights Of Columbus Council 4498                                 Lake Erie Council 440                            32400 Vine St                                              Willowick, OH 44095‐3342                                                                                 First Class Mail
Voting Party                   Knights Of Columbus Council 462                                  Attn: Brian Gedicks                              1 Columbus Plz                                             New Haven, CT 06510                                                      Brian.Gedicks@KofC.org          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knights Of Columbus Council 488                                  Mayflower Council 251                            P.O. Box 36                                                Bridgewater, MA 02324‐0036                                                                               First Class Mail
Chartered Organization         Knights Of Columbus Council 4901                                 Golden Empire Council 047                        350 Stinson Ave                                            Vacaville, CA 95688‐2619                                                                                 First Class Mail
Chartered Organization         Knights Of Columbus Council 5216                                 San Diego Imperial Council 049                   672 B Ave                                                  Sacred Heart Catholic Church                                                                             First Class Mail
Chartered Organization         Knights Of Columbus Council 5277                                 Silicon Valley Monterey Bay 055                  1911 Saint Lawrence Dr                                     Santa Clara, CA 95051                                                                                    First Class Mail
Chartered Organization         Knights Of Columbus Council 5427                                 Northern New Jersey Council, Bsa 333             79 Pascack Rd                                              Township of Washington, NJ 07676‐5126                                                                    First Class Mail
Chartered Organization         Knights Of Columbus Council 5667                                 Central Florida Council 083                      3450 Kilmarnoch Ln                                         Titusville, FL 32780‐9655                                                                                First Class Mail
Chartered Organization         Knights Of Columbus Council 570                                  Garden State Council 690                         45 Crosswicks St                                           Bordentown, NJ 08505‐1767                                                                                First Class Mail
Chartered Organization         Knights Of Columbus Council 5967                                 Capitol Area Council 564                         P.O. Box 9482                                              Austin, TX 78766‐9482                                                                                    First Class Mail
Chartered Organization         Knights Of Columbus Council 6197                                 Golden Empire Council 047                        309 Montrose Dr                                            Folsom, CA 95630‐2719                                                                                    First Class Mail
Chartered Organization         Knights Of Columbus Council 6415                                 Greater St Louis Area Council 312                1270 Church Rd                                             Saint Paul, MO 63366‐5104                                                                                First Class Mail
Voting Party                   Knights Of Columbus Council 6453 & Georgetown Columbus Club      Attn: Peter Simmang                              2891 Cedar Hollow Rd                                       Georgetown, TX 78628                                                     peter@simmang.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knights Of Columbus Council 6742                                 Water and Woods Council 782                      11824 S Saginaw St                                         Grand Blanc, MI 48439‐1322                                                                               First Class Mail
Chartered Organization         Knights Of Columbus Council 8075                                 Laurel Highlands Council 527                     137 Chief Logan Dr                                         Tyrone, PA 16686‐7551                                                                                    First Class Mail
Chartered Organization         Knights Of Columbus Council 8306                                 Alamo Area Council 583                           13715 Riggs Rd                                             Helotes, TX 78023‐3917                                                                                   First Class Mail
Chartered Organization         Knights Of Columbus Council 8747                                 Silicon Valley Monterey Bay 055                  750 Sequoia Dr                                             Milpitas, CA 95035‐6658                                                                                  First Class Mail
Voting Party                   Knights Of Columbus Council 9368 ‐ St Williams Catholic Church   Attn: Greg Castro                                6225 E US 290 Hwy Svrd Eb                                  Austin, TX 78723                                                         ron‐walker@austindiocese.rg     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knights Of Columbus Council 9836                                 Greater Yosemite Council 059                     950 S Lincoln Way                                          Galt, CA 95632‐8301                                                                                      First Class Mail
Chartered Organization         Knights Of Columbus Council No 11459                             Northern New Jersey Council, Bsa 333             800 Bergen Ave                                             Jersey City, NJ 07306‐4507                                                                               First Class Mail
Voting Party                   Knights Of Columbus Council No, 7449                             Attn: Edward Cabrera                             P.O. Box 38152                                             Germantown, TN 38138                                                     edcabrera8722@gmail.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knights Of Columbus Ellensburg 1401                              Grand Columbia Council 614                       401 S Willow St                                            Ellensburg, WA 98926‐3564                                                                                First Class Mail
Chartered Organization         Knights Of Columbus Ephrata                                      Grand Columbia Council 614                       5352 Painted Hills Rd                                      Ephrata, WA 98823‐9622                                                                                   First Class Mail
Chartered Organization         Knights Of Columbus Jfk Council 2952                             Istrouma Area Council 211                        P.O. Box 2952                                              Hammond, LA 70404‐2952                                                                                   First Class Mail
Chartered Organization         Knights Of Columbus Kent Council 8150                            Chief Seattle Council 609                        310 3rd Ave S                                              Kent, WA 98032‐5863                                                                                      First Class Mail
Chartered Organization         Knights Of Columbus Marion Council 3801                          Northern New Jersey Council, Bsa 333             P.O. Box 180                                               Pompton Lakes, NJ 07442‐0180                                                                             First Class Mail
Voting Party                   Knights Of Columbus Monrovia Council 1242                        Attn: Mark Harvis                                851 Encino Way                                             Monrovia, CA 91016                                                       maharv@sbcglobal.net            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knights Of Columbus Of Bloomsdale                                Greater St Louis Area Council 312                175 Jersey Ln                                              Bloomsdale, MO 63627‐9101                                                                                First Class Mail
Chartered Organization         Knights Of Columbus Of Cuba                                      Greater St Louis Area Council 312                7057 Old 66                                                Cuba, MO 65453‐9333                                                                                      First Class Mail
Chartered Organization         Knights Of Columbus Of Leopold 5898                              Greater St Louis Area Council 312                P.O. Box 1130                                              Leopold, MO 63760                                                                                        First Class Mail
Chartered Organization         Knights Of Columbus Perpetual Help 4603                          Simon Kenton Council 441                         3730 Broadway                                              Grove City, OH 43123‐2235                                                                                First Class Mail
Chartered Organization         Knights Of Columbus St Killians 2204                             Theodore Roosevelt Council 386                   124 Plitt Ave                                              Farmingdale, NY 11735‐5107                                                                               First Class Mail
Chartered Organization         Knights Of Columbus Warrenton                                    Greater St Louis Area Council 312                700 South St                                               Truesdale, MO 63380‐2249                                                                                 First Class Mail
Voting Party                   Knights Of Columbus, Council 544                                 Attn: Cathedral of the Incarnation               2100 W End Ave                                             Nashville, TN 37203                                                      christopher.e.crane@gmail.com   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Knights Of Columbus, Council 544                                 Attn: Cathedral of the Incarnation               2100 West End Ave                                          Nashville, TN 37203                                                      christopher.e.crane@gmail.com   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Knights Of Columbus, Father Baker Council #2243                  c/o Brian Gedicks, Associate General Counsel     1 Columbus Plz                                             New Haven, CT 06510                                                      Brian.Gedicks@KofC.org          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Knights Of Columbus, Father Baker Council 2243                   Attn: Brian Gedicks, Associate General Counsel   1 Columbus Plz                                             New Haven, CT 06510                                                      Brian.Gedicks@KofC.org          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knights Of Columbus,Co1261                                       Oregon Trail Council 697                         3959 Sheridan Ave                                          North Bend, OR 97459‐2834                                                                                First Class Mail
Chartered Organization         Knights Of Pythias Gaston Lodge 104                              Cascade Pacific Council 492                      P.O. Box 397                                               Gaston, OR 97119‐0397                                                                                    First Class Mail
Chartered Organization         Knights Of Pythias Glencoe Lodge 22                              Cascade Pacific Council 492                      31520 NW Commercial St                                     North Plains, OR 97133‐7101                                                                              First Class Mail
Chartered Organization         Knights Of Pythias Lodge 9                                       Catalina Council 011                             2435 E 17th St                                             Tucson, AZ 85719‐7006                                                                                    First Class Mail
Chartered Organization         Knights Of St John                                               Black Swamp Area Council 449                     St Rochus Commandery                                       Maria Stein, OH 45860                                                                                    First Class Mail
Chartered Organization         Knights Of St John                                               Miami Valley Council, Bsa 444                    122 S Wayne St                                             Piqua, OH 45356                                                                                          First Class Mail
Chartered Organization         Knightsof Columbus /Vfw Post 2814                                Los Padres Council 053                           9555 Morro Rd                                              Atascadero, CA 93422‐4924                                                                                First Class Mail
Chartered Organization         Knightstown Kids Inc                                             Crossroads of America 160                        P.O. Box 3                                                 Knightstown, IN 46148‐0003                                                                               First Class Mail
Chartered Organization         Knightstown Kids Inc                                             Crossroads of America 160                        4405 S State Rd 109                                        Wilkinson, IN 46186‐9503                                                                                 First Class Mail
Voting Party                   Knightstown United Methodist Church                              Attn: Treasurer                                  27 S Jefferson St                                          Knightstown, IN 46148                                                    office@knightstownumc.org       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Knightstown United Methodist Church                              Joel Aaron Troxell                               27 S Jefferson St                                          Knightstown, IN 46148                                                    office@knightstownumc.org       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Knightsville United Methodist Church                             Attn: Randall Patrick                            1505 Central Ave                                           Summerville, SC 29483                                                    rbpatrick106@hotmail.com        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knightsville Utd Methodist Women                                 Coastal Carolina Council 550                     1505 Central Ave                                           Summerville, SC 29483‐5529                                                                               First Class Mail
Chartered Organization         Knob Hill Towing                                                 Pikes Peak Council 060                           3250 Drennan Industrial Loop N                             Colorado Springs, CO 80910‐1074                                                                          First Class Mail
Voting Party                   Knob Noster United Methodist Church                              Attn: Jerry Pfister                              106 E Wimer St                                             Knob Noster, MO 65336                                                    jerryfiretrain@gmail.com        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Knobsville United Methodist Church (177810)                      c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200              Pittsburgh, PA 15228             lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knollwood Baptist Church                                         Old Hickory Council 427                          330 Knollwood St                                           Winston Salem, NC 27104‐4132                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 181 of 442
                                                                                Case 20-10343-LSS                                                                 Doc 8171                                             Filed 01/06/22                                                       Page 197 of 457
                                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                                           Service List
                                                                                                                                                                                                    Served as set forth below

        Description                                                     Name                                                                                                                            Address                                                                                                              Email              Method of Service
Voting Party                   Knollwood Heights United Methodist Church                                            Attn: Sharla Mccaskell                  320 E College Ave                                                 Rapid City, SD 57701                                                    knollwoodpastor@gmail.com      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knotting Hill Inn & Events                                                           Middle Tennessee Council 560            149 Gunter Hollow Rd                                              Fayetteville, TN 37334‐6126                                                                            First Class Mail
Chartered Organization         Knotts Memorial Utd Methodist Church                                                 Buckskin 617                            P.O. Box 617                                                      Grantsville, WV 26147‐0617                                                                             First Class Mail
Voting Party                   Knowlton Umc                                                                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200               Tampa, FL 33602                  erice@bradley.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knox County Arc                                                                      Buffalo Trace 156                       2900 E Arc Ave                                                    Vincennes, IN 47591‐6888                                                                               First Class Mail
Chartered Organization         Knox Middle School                                                                   Central N Carolina Council 416          1625 W Park Rd                                                    Salisbury, NC 28144‐2465                                                                               First Class Mail
Chartered Organization         Knox Presbyterian Church                                                             Three Fires Council 127                 1105 Catalpa Ln                                                   Naperville, IL 60540‐7905                                                                              First Class Mail
Chartered Organization         Knox Presbyterian Church                                                             Heart of America Council 307            9595 W 95th St                                                    Overland Park, KS 66212‐5063                                                                           First Class Mail
Voting Party                   Knox Presbyterian Church, Cincinnati, Ohio                                           Attn: Henry N Thoman                    7 Denison Ln                                                      Terrace Park, OH 45174                                                  Henry.thoman@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Knox United Methodist Church, Knox In                                                Attn: Rev Sheri Locascio                201 S Shield St                                                   Knox, IN 46534                                                          sheri.locascio@inumc.org       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knox Utd Methodist Church                                                            Lasalle Council 165                     302 S Shield St                                                   Knox, IN 46534‐2504                                                                                    First Class Mail
Chartered Organization         Knoxville East Lions Club                                                            Great Smoky Mountain Council 557        4200 Asheville Hwy                                                Knoxville, TN 37914‐3507                                                                               First Class Mail
Voting Party                   Knoxville First United Methodist Church                                              Attn: Deb Greiner                       313 E Montgomery St                                               Knoxville, IA 50138                                                     dgreiner@kfumc.com             Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knoxville Lds Church                                                                 Mid Iowa Council 177                    1600 W Jackson St                                                 Knoxville, IA 50138                                                                                    First Class Mail
Chartered Organization         Knoxville Police Dept                                                                Great Smoky Mountain Council 557        800 Howard Baker Ave                                              Knoxville, TN 37915                                                                                    First Class Mail
Chartered Organization         Knoxville Utd Methodist Men                                                          Illowa Council 133                      303 S Broad St                                                    Knoxville, IL 61448‐1342                                                                               First Class Mail
Voting Party                   Knoxville Yoked Church (149481)                                                      c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200             Pittsburgh, PA 15228             lspagnolo@bentzlaw.com         Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Knoxville Yoked Churches Mens Fellowship                                             Five Rivers Council, Inc 375            110 Alba St                                                       Knoxville, PA 16928                                                                                    First Class Mail
Chartered Organization         Knute Rockne Memorial Kiwanis                                                        Lasalle Council 165                     51733 Chestnut Rd                                                 Granger, IN 46530‐7563                                                                                 First Class Mail
Chartered Organization         Ko‐Am Gifted Education Inc                                                           Greater Los Angeles Area 033            4322 Wilshire Blvd, Ste 302                                       Los Angeles, CA 90010‐3794                                                                             First Class Mail
Voting Party                   Kochenderfer Umc                                                                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200               Tampa, FL 33602                  erice@bradley.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Kochenderfer Umc                                                                     1105 Kochenderfer Rd                    Lebanon, PA 17046                                                                                                                                                        First Class Mail
Chartered Organization         Kochenderfer Utd Methodist Church                                                    Pennsylvania Dutch Council 524          1105 Kochenderfer Rd                                              Lebanon, PA 17046‐1931                                                                                 First Class Mail
Voting Party                   Kodak Umc                                                                            2923 Bryan Rd                           Kodak, TN 37764                                                                                                                           melissa@kodakchurch.com        Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kodak Utd Methodist Church                                                           Great Smoky Mountain Council 557        2923 Bryan Rd                                                     Kodak, TN 37764‐1515                                                                                   First Class Mail
Chartered Organization         Kodiak Chief Petty Officers Assoc                                                    Great Alaska Council 610                P.O. Box 190410                                                   Kodiak, AK 99619                                                                                       First Class Mail
Chartered Organization         Kog Mainstay Academy                                                                 Flint River Council 095                 218 Meriwether St                                                 Griffin, GA 30224‐3011                                                                                 First Class Mail
Chartered Organization         Kohfeldt Elementary                                                                  Bay Area Council 574                    1401 9th Ave N                                                    Texas City, TX 77590‐5447                                                                              First Class Mail
Voting Party                   Kohl, Dennis J                                                                       Address Redacted                                                                                                                                                                  Email Address Redacted         Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kohler Police Athletic League                                                        Bay‐Lakes Council 635                   651 School St                                                     Kohler, WI 53044‐1429                                                                                  First Class Mail
Chartered Organization         Kohl‐Jeck Vfw Post 2866                                                              Greater St Louis Area Council 312       66 Vfw Ln                                                         Saint Charles, MO 63303‐5168                                                                           First Class Mail
Chartered Organization         Kohrville Elementary P F O                                                           Sam Houston Area Council 576            11600 Woodland Shore Dr                                           Tomball, TX 77375‐8098                                                                                 First Class Mail
Chartered Organization         Koka Contractors Llc                                                                 Longhorn Council 662                    160 Timber Ridge Dr                                               Euless, TX 76039                                                                                       First Class Mail
Chartered Organization         Kokomo Early Riser Rotary Club                                                       Sagamore Council 162                    P.O. Box 6118                                                     Kokomo, IN 46904‐6118                                                                                  First Class Mail
Voting Party                   Kokomo Grace United Methodist Church Inc                                             Attn: Lawerence R. Murrell              3118 Enclave Ct                                                   Kokomo, IN 46902                                                        l.murrell1516@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Koller Trial Law                                                                     Laurie Koller                           3701‐A S Harvard #396                                             Tulsa, OK 74135                                                         laurie@kollertriallaw.com      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Koller Trial Law PLLC and Crew Janci LLP                                             A. Laurie Koller and Peter B. Janci     3701‐A S. Harvard, #396                                           Tulsa, OK 74135‐2282                                                    laurie@kollertriallaw.com      Email
                                                                                                                                                                                                                                                                                                      peter@crewjanci.com            First Class Mail
Chartered Organization         Kona Church Of Christ                                                                Aloha Council, Bsa 104                  74‐4907 Palani Rd                                                 Kailua Kona, HI 96740                                                                                  First Class Mail
Chartered Organization         Kona Hongwanji Mission                                                               Aloha Council, Bsa 104                  P.O. Box 769                                                      Kealakekua, HI 96750‐0769                                                                              First Class Mail
Voting Party                   Konica Minolta Business Solutions                                                    21146 Network Pl                        Chicago, IL 60673‐1211                                                                                                                                                   First Class Mail
Chartered Organization         Konko Church Of San Francisco                                                        San Francisco Bay Area Council 028      1909 Bush St                                                      San Francisco, CA 94115‐3204                                                                           First Class Mail
Chartered Organization         Konnoak Hills Moravian Church                                                        Old Hickory Council 427                 3401 Konnoak Dr                                                   Winston Salem, NC 27127‐5025                                                                           First Class Mail
Chartered Organization         Konocti Bay Sailing Club                                                             Mt Diablo‐Silverado Council 023         9749 Crestview Dr                                                 Clearlake, CA 95422‐9772                                                                               First Class Mail
Chartered Organization         Kootaga Indian Dancers                                                               Buckskin 617                            1349 Saint Marys Ave                                              Parkersburg, WV 26101‐3940                                                                             First Class Mail
Chartered Organization         Korean American Scouting Assoc                                                       Greater Los Angeles Area 033            4177 Div St                                                       Los Angeles, CA 90065‐4205                                                                             First Class Mail
Chartered Organization         Korematsu Discovery Academy                                                          San Francisco Bay Area Council 028      10315 E St                                                        Oakland, CA 94603‐3133                                                                                 First Class Mail
Chartered Organization         Korner Market                                                                        Sequoyah Council 713                    6515 Mcdonald Rd                                                  Mohawk, TN 37810‐5155                                                                                  First Class Mail
Voting Party                   Kortright Rural Fire District                                                        P.O. Box 756                            Bloomville, NY 13739                                                                                                                                                     First Class Mail
Chartered Organization         Koshare Indian Museum Inc                                                            Rocky Mountain Council 063              P.O. Box 580                                                      La Junta, CO 81050‐0580                                                                                First Class Mail
Chartered Organization         Kossuth Utd Methodist Church                                                         Yocona Area Council 748                 189 County Rd 533                                                 Corinth, MS 38834‐8118                                                                                 First Class Mail
Chartered Organization         Kossuth Utd Methodist Church                                                         Yocona Area Council 748                 8 Co Rd 604                                                       Kossuth, MS 38834                                                                                      First Class Mail
Chartered Organization         Kountze Church Of Christ                                                             Three Rivers Council 578                P.O. Box 998                                                      Kountze, TX 77625‐0998                                                                                 First Class Mail
Chartered Organization         Kovack Mechanical Inc                                                                Northeast Georgia Council 101           1421 Wayne Poultry Rd                                             Pendergrass, GA 30567‐3919                                                                             First Class Mail
Chartered Organization         Koyasan Buddhist Temple                                                              Greater Los Angeles Area 033            342 E 1st St                                                      Los Angeles, CA 90012‐3902                                                                             First Class Mail
Chartered Organization         Kpmg LLP                                                                             Greater New York Councils, Bsa 640      345 Park Ave                                                      New York, NY 10154‐0004                                                                                First Class Mail
Chartered Organization         Kpmg, LLP                                                                            Mid‐America Council 326                 1212 N 96th St, Ste 300                                           Omaha, NE 68114‐2280                                                                                   First Class Mail
Chartered Organization         Krahn Elementary Pto                                                                 Sam Houston Area Council 576            9502 Eday Dr                                                      Spring, TX 77379‐4350                                                                                  First Class Mail
Firm                           Kralovec, Jambois & Schwartz                                                         Jeffrey Li                              60 W. Randolph St., 4th Floor                                     Chicago, IL 60601                                                       jli@kjs‐law.com                Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Kralovec, Jambois & Schwartz                                                         Jennifer K. Scifo                       60 W. Randolph St., 4th Floor                                     Chicago, IL 60601                                                       jscifo@kjs‐law.com             Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kramer Lane Pta American Legion                                                      Theodore Roosevelt Council 386          1 Kramer Ln                                                       Plainview, NY 11803‐6013                                                                               First Class Mail
Chartered Organization         Kraus Hartig Vfw Post 6587                                                           Northern Star Council 250               8100 Pleasant View Dr Ne                                          Spring Lake Park, MN 55432‐2212                                                                        First Class Mail
Firm                           Krause & Kinsman Law Firm                                                            Adam Krause                             4717 Grand Ave, Suite #300                                        Kansas City, MO 64112                                                   adam@krauseandkinsman.com      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Krause & Kinsman Law Firm                                                            Adam Krause                             4718 Grand Ave, Suite #300                                        Kansas City, MO 64113                                                   adam@krauseandkinsman.com      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Krauss Garage Co                                                                     Lake Erie Council 440                   1482 E 363rd St                                                   Eastlake, OH 44095‐4136                                                                                First Class Mail
Chartered Organization         Kreinhop Elementary Pta                                                              Sam Houston Area Council 576            20820 Ella Blvd                                                   Spring, TX 77388‐3872                                                                                  First Class Mail
Chartered Organization         Krietenstein Summer Camp                                                             Crossroads of America 160               6445 E County Rd 575 N                                            Center Point, IN 47840‐8110                                                                            First Class Mail
Chartered Organization         Kriewald Road Elementary Pta                                                         Alamo Area Council 583                  10355 Kriewald Rd                                                 San Antonio, TX 78245‐2824                                                                             First Class Mail
Voting Party                   Kristine Miller                                                                      Address Redacted                                                                                                                                                                                                 First Class Mail
Chartered Organization         Kristmastown Kiwanis                                                                 Pacific Harbors Council, Bsa 612        P.O. Box 777                                                      Shelton, WA 98584‐0777                                                                                 First Class Mail
Chartered Organization         Kronenwetter Lions Club                                                              Samoset Council, Bsa 627                1903 Vanderwaal St                                                Kronenwetter, WI 54455‐9051                                                                            First Class Mail
Voting Party                   Krtn Am‐Fm                                                                           Address Redacted                                                                                                                                                                                                 First Class Mail
Chartered Organization         Krum First Utd Methodist Church                                                      Longhorn Council 662                    1001 E Mccart St                                                  Krum, TX 76249‐5635                                                                                    First Class Mail
Chartered Organization         Kruse Elementary School Pto                                                          Longs Peak Council 062                  4400 Mcmurry Ave                                                  Fort Collins, CO 80525‐3431                                                                            First Class Mail
Firm                           Kryder Law Group, LLC                                                                Justin Hare and Ryan McGovern           134 N. LaSalle St., Ste. 1515                                     Chicago, IL 60602                                                       info@kryderlaw.com             Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Ksh & Assoc                                                                          Great Lakes Fsc 272                     244 Scottsdale Dr                                                 Troy, MI 48084‐1719                                                                                    First Class Mail
Voting Party                   Ksquare Solutions Inc                                                                433 Las Colinas Blvd E, Ste 850         Irving, TX 75039‐6234                                                                                                                                                    First Class Mail
Chartered Organization         Ktec Ptsc                                                                            Three Harbors Council 636               6811 18th Ave                                                     Kenosha, WI 53143‐4932                                                                                 First Class Mail
Voting Party                   Kuehne + Nagel Inc                                                                   c/o Coface North America Insurance Co   Attn: Amy Schmidt                                                 650 College Rd E, Ste 2005             Princeton, NJ 08540              amy.schmidt@coface.com         Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kuehnle Elementary School Pto                                                        Sam Houston Area Council 576            5510 Winding Ridge Dr                                             Spring, TX 77379‐8841                                                                                  First Class Mail
Chartered Organization         Kuemper Catholic Schools                                                             Mid‐America Council 326                 116 S East St                                                     Carroll, IA 51401‐3014                                                                                 First Class Mail
Voting Party                   Kulp United Methodist Church (00179498)                                              c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200             Pittsburgh, PA 15228             lspagnolo@bentzlaw.com         Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Kulp United Methodist Church (00179498)                                              c/o Bentz Law Firm                      Attn: Leonard Spagnolo & Sean Bollman                             680 Washington Rd, Ste 200             Pittsburgh, PA 15228             lspagnolo@bentzlaw.com         Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kuna Utd Methodist Church                                                            Ore‐Ida Council 106 ‐ Bsa 106           P.O. Box 17                                                       4th & Franklin Ave                                                                                     First Class Mail
Chartered Organization         Kuna Utd Methodist Church                                                            Ore‐Ida Council 106 ‐ Bsa 106           P.O. Box 116                                                      Kuna, ID 83634‐0116                                                                                    First Class Mail
Chartered Organization         Kunkletown Volunteer Fire Co                                                         Minsi Trails Council 502                Rr 3                                                              Kunkletown, PA 18058                                                                                   First Class Mail
Chartered Organization         Kutz Elementary Home & School Assoc                                                  Washington Crossing Council 777         1950 Turk Rd 3                                                    Doylestown, PA 18901‐2841                                                                              First Class Mail
Chartered Organization         Kuyahoora Valley Rotary Club                                                         Leatherstocking 400                     8218 State Route 28                                               Newport, NY 13416‐3406                                                                                 First Class Mail
Chartered Organization         Kvc Vfw 2230                                                                         Patriots Path Council 358               33 S 21st St                                                      Kenilworth, NJ 07033‐1625                                                                              First Class Mail
Chartered Organization         Kvc Wheatland                                                                        Coronado Area Council 192               205 E 7th St                                                      Hays, KS 67601‐4907                                                                                    First Class Mail
Chartered Organization         Kwahadi Heritage Inc                                                                 Golden Spread Council 562               9151 E Interstate 40                                              Amarillo, TX 79118‐6924                                                                                First Class Mail
Voting Party                   KY Annual Conf. Of U.M.C. As Successor In Interest Of Kavanaugh Camp & Retreat Ctr   Attn: David Garvin                      7400 Floydsburg Rd                                                Louisville, KY 40014                                                    courtney@kellnergreen.com      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Kyds‐Keep Youth Doing Something Inc                                                  W.L.A.C.C. 051                          7026 Sophia Ave                                                   Van Nuys, CA 91406‐3910                                                                                First Class Mail
Chartered Organization         Kyffin Elementary Pta                                                                Denver Area Council 061                 205 Flora Way                                                     Golden, CO 80401‐5241                                                                                  First Class Mail
Chartered Organization         Kyiv Boy Scout Org                                                                   Transatlantic Council, Bsa 802          Department of State                                               Kiev,                                  Ukraine                                                         First Class Mail
Chartered Organization         Kyiv International School                                                            Transatlantic Council, Bsa 802          3A Svyatoshynsky Provulok                                         Kyiv, 03115                            Ukraine                                                         First Class Mail
Chartered Organization         Kyrene De Las Brisas Ptso                                                            Grand Canyon Council 010                777 N Desert Breeze Blvd E                                        Chandler, AZ 85226‐6218                                                                                First Class Mail
Chartered Organization         Kyrene De Los Lagos Pta                                                              Grand Canyon Council 010                17001 S 34th Way                                                  Phoenix, AZ 85048‐7806                                                                                 First Class Mail
Chartered Organization         Kyrene Monte Vista Pto                                                               Grand Canyon Council 010                15221 S Ray Rd                                                    Phoenix, AZ 85048‐8999                                                                                 First Class Mail
Chartered Organization         L C Community Ctr                                                                    Narragansett 546                        P.O. Box 926                                                      Little Compton, RI 02837‐0926                                                                          First Class Mail
Chartered Organization         L D S Church Etowah Valley Ward                                                      Northwest Georgia Council 100           870 Peeples Valley Rd Ne                                          Cartersville, GA 30121                                                                                 First Class Mail
Chartered Organization         L D S Milwaukee Ward Wi North Stake                                                  Three Harbors Council 636               755 Woelfel Rd                                                    Brookfield, WI 53045‐5619                                                                              First Class Mail
Chartered Organization         L D S Oak Creek Ward Milw Wi South Stake                                             Three Harbors Council 636               9600 W Grange Ave                                                 Hales Corners, WI 53130‐1640                                                                           First Class Mail
Chartered Organization         L D S Parkway Ward Milwaukee Wi Stake                                                Three Harbors Council 636               9900 W Calumet Rd                                                 Milwaukee, WI 53224                                                                                    First Class Mail
Chartered Organization         L D S, Tanglewood Ward                                                               Old Hickory Council 427                 4260 Clinard Rd                                                   Clemmons, NC 27012‐8485                                                                                First Class Mail
Chartered Organization         L F Henderson Intermediate School                                                    Caddo Area Council 584                  410 Burke St                                                      Ashdown, AR 71822‐2908                                                                                 First Class Mail
Chartered Organization         L G Stone Design, Inc                                                                Sam Houston Area Council 576            6218 Keyko St                                                     Houston, TX 77041‐5310                                                                                 First Class Mail
Chartered Organization         L O Donald Elementary School                                                         Circle Ten Council 571                  1218 Phinney Ave                                                  Dallas, TX 75211‐6235                                                                                  First Class Mail
Chartered Organization         L P Cowart ‐ Pta                                                                     Circle Ten Council 571                  1515 S Ravinia Dr                                                 Dallas, TX 75211‐5742                                                                                  First Class Mail
Chartered Organization         L P Miles Elementary                                                                 Atlanta Area Council 092                4215 Bakers Ferry Rd Sw                                           Atlanta, GA 30331‐4401                                                                                 First Class Mail
Voting Party                   L.B. Eckelkamp, Jr.                                                                  c/o Boy Scouts of America               Attn: Chase Koontz                                                1325 W Walnut Hill Ln                  Irving, TX 75015                 chase.koontz@scouting.org      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   L.O. Dawson Memorial Baptist Church                                                  Attn: Stephen B Porterfield             2311 Highland Ave S                                               Birmnigham, AL 35205                                                    sporterfield@sirote.com        Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         L2W Taxidermy & Custom Service Co                                                    Alamo Area Council 583                  2704 Kline Cir                                                    Schertz, TX 78154‐2762                                                                                 First Class Mail
Chartered Organization         La Amistad                                                                           Atlanta Area Council 092                3434 Roswell Rd Nw                                                Atlanta, GA 30305‐1202                                                                                 First Class Mail
Chartered Organization         La Canada Congregational Church                                                      Greater Los Angeles Area 033            1200 Foothill Blvd                                                La Canada Flintridge, CA 91011‐2215                                                                    First Class Mail
Chartered Organization         La Canada Congregational Church Pack 515                                             Greater Los Angeles Area 033            1200 Foothill Blvd                                                La Canada Flintridge, CA 91011‐2215                                                                    First Class Mail
Chartered Organization         La Canada Presbyterian Church                                                        Greater Los Angeles Area 033            626 Foothill Blvd                                                 La Canada Flintridge, CA 91011‐3401                                                                    First Class Mail
Chartered Organization         La Canada Ward ‐ Lds Tucson North Stake                                              Catalina Council 011                    55 W Arrowsmith Dr                                                Oro Valley, AZ 85755                                                                                   First Class Mail
Chartered Organization         La Casa De Cristo Lutheran Church                                                    Grand Canyon Council 010                6300 E Bell Rd                                                    Scottsdale, AZ 85254‐6433                                                                              First Class Mail
Chartered Organization         La Casa De Esperanza Inc                                                             Potawatomi Area Council 651             410 Arcadian Ave                                                  Waukesha, WI 53186‐5005                                                                                First Class Mail
Chartered Organization         La Casa Del Buen Pastor                                                              South Florida Council 084               1981 W Oakland Park Blvd                                          Oakland Park, FL 33311‐1519                                                                            First Class Mail
Chartered Organization         La Causa Charter School                                                              Three Harbors Council 636               1643 S 2nd St                                                     Milwaukee, WI 53204‐2905                                                                               First Class Mail
Chartered Organization         La Cholla Ward ‐ Lds Tucson North Stake                                              Catalina Council 011                    939 W Chapala Dr                                                  Tucson, AZ 85704‐4516                                                                                  First Class Mail
Chartered Organization         La County Fire Dep ‐ Battalion 19                                                    Greater Los Angeles Area 033            3325 W Temple Ave                                                 Pomona, CA 91768‐3256                                                                                  First Class Mail
Chartered Organization         La County Fire Dep ‐ Battalion 22                                                    Greater Los Angeles Area 033            19190 Golden Valley Rd                                            Santa Clarita, CA 91387‐1438                                                                           First Class Mail
Chartered Organization         La County Fire Dep ‐ Battalion 5                                                     Greater Los Angeles Area 033            29575 Canwood St                                                  Agoura Hills, CA 91301‐1558                                                                            First Class Mail
Chartered Organization         La County Fire Dep Battalion 12                                                      Greater Los Angeles Area 033            140 S 2nd Ave                                                     City of Industry, CA 91746‐2447                                                                        First Class Mail
Chartered Organization         La County Fire Dep‐ Battalion 14                                                     Greater Los Angeles Area 033            27413 Indian Peak Rd                                              Rolling Hills Estates, CA 90274‐3555                                                                   First Class Mail
Chartered Organization         La County Fire Dep Battalion 21                                                      Greater Los Angeles Area 033            12110 Adoree St                                                   Norwalk, CA 90650‐3002                                                                                 First Class Mail
Chartered Organization         La County Fire Dept Battalion 7                                                      Greater Los Angeles Area 033            755 E Victoria St                                                 Carson, CA 90746‐1534                                                                                  First Class Mail
Chartered Organization         La County Fire Dept Station                                                          Battalion 6                             25870 Hemingway Ave                                               Stevenson Ranch, CA 91381‐2319                                                                         First Class Mail
Chartered Organization         La Crosse Police Dept                                                                Gateway Area 624                        400 La Crosse St                                                  La Crosse, WI 54601‐3374                                                                               First Class Mail
Chartered Organization         La Fayette First Utd Methodist Church                                                Cherokee Area Council 556               301 S Main St                                                     La Fayette, GA 30728‐3506                                                                              First Class Mail
Chartered Organization         La Francis Hardiman Elementary School                                                Suffolk County Council Inc 404          792 Mount Ave                                                     Wyandanch, NY 11798‐4430                                                                               First Class Mail
Chartered Organization         La Grande Optimist Club Inc                                                          Blue Mountain Council 604               P.O. Box 3091                                                     La Grande, OR 97850‐7091                                                                               First Class Mail
Voting Party                   La Grande Umc                                                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200               Tampa, FL 33602                  erice@bradley.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         La Grange Fire Dept Auxiliary                                                        Great Rivers Council 653                216 S Main St                                                     La Grange, MO 63448                                                                                    First Class Mail
Chartered Organization         La Grange First Utd Methodist Men                                                    Capitol Area Council 564                P.O. Box 89                                                       La Grange, TX 78945‐0089                                                                               First Class Mail
Chartered Organization         La Grange Presbyterian Church                                                        Lincoln Heritage Council 205            P.O. Box 191                                                      La Grange, KY 40031‐0191                                                                               First Class Mail
Chartered Organization         La Grange Rotary Club                                                                Capitol Area Council 564                P.O. Box 718                                                      La Grange, TX 78945‐0718                                                                               First Class Mail
Voting Party                   La Habra Hills Presbyterian Church                                                   931 N Idaho St                          La Habra, CA 90631                                                                                                                        mdmemasmemories@gmail.com      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         La Habra Host Lions                                                                  Orange County Council 039               P.O. Box 248                                                      La Habra, CA 90633‐0248                                                                                First Class Mail
Chartered Organization         La Habra Police Dept                                                                 Orange County Council 039               150 N Euclid St                                                   La Habra, CA 90631‐4615                                                                                First Class Mail
Chartered Organization         La Habra Presbyterian Church                                                         Orange County Council 039               951 N Idaho St                                                    La Habra, CA 90631‐2604                                                                                First Class Mail
Voting Party                   La Habra United Methodist Church                                                     Attn: Linda Deniz‐ Treasurer            631 N Euclid Ave                                                  La Habra, CA 90631                                                      Treasurer@lahabraumc.org       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         La Harpe Lions Club                                                                  Mississippi Valley Council 141 141      P.O. Box 185                                                      La Harpe, IL 61450‐0185                                                                                First Class Mail
Chartered Organization         La Jolla Methodist Church                                                            San Diego Imperial Council 049          6063 La Jolla Blvd                                                La Jolla, CA 92037‐6726                                                                                First Class Mail
Chartered Organization         La Jolla Presbyterian Church/Kiwanis                                                 San Diego Imperial Council 049          7715 Draper Ave                                                   La Jolla, CA 92037‐4301                                                                                First Class Mail
Voting Party                   La Jolla United Methodish Church                                                     Attn: Janet Lind                        6063 La Jolla Blvd                                                La Jolla, CA 92037                                                      info@lajollaumc.org            Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         La Joya Isd Police Dept                                                              Rio Grande Council 775                  7209 Ann Richards Rd                                              Palmview, TX 78572‐2177                                                                                First Class Mail
Chartered Organization         La Mesa Firefighters Assoc                                                           San Diego Imperial Council 049          8054 Allison Ave                                                  La Mesa, CA 91942‐6531                                                                                 First Class Mail
Chartered Organization         La Palma Police Dept                                                                 Orange County Council 039               7792 Walker St                                                    La Palma, CA 90623‐1719                                                                                First Class Mail
Chartered Organization         La Paz Children Outreach Commty                                                      Church                                  5500 Faith Dr                                                     Rockledge, FL 32955                                                                                    First Class Mail
Chartered Organization         La Pia Farm                                                                          Puerto Rico Council 661                 P.O. Box 253                                                      Jayuya, PR 00664‐0253                                                                                  First Class Mail
Chartered Organization         La Pia Farm Inc                                                                      Puerto Rico Council 661                 P.O. Box 255                                                      Jayuya, PR 00664‐0255                                                                                  First Class Mail
Chartered Organization         La Pine Lions Club                                                                   Crater Lake Council 491                 P.O. Box 3241                                                     La Pine, OR 97739‐3241                                                                                 First Class Mail
Voting Party                   La Plata United Methodist Church                                                     3 Port Tobacco Rd                       La Plata, MD 20646                                                                                                                        laplataumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         La Plata Utd Methodist Church                                                        3 Port Tobacco Rd                       La Plata, MD 70646                                                                                                                                                       First Class Mail
Chartered Organization         La Plaza Hispanic Ctr                                                                Crossroads of America 160               8902 E 38th St                                                    Indianapolis, IN 46226‐6073                                                                            First Class Mail
Chartered Organization         La Porte Community Church                                                            Sam Houston Area Council 576            202 S 1st St                                                      La Porte, TX 77571‐5109                                                                                First Class Mail
Voting Party                   La Puente First United Methodist Church                                              Attn: Pastor Amalia Ruiz                15701 Hill St                                                     La Puente, CA 91744                                                     lapuentefirstumc@gmail.com     Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   La Puente First United Methodist Church                                              Attn: Sandra Kay Harris                 15701 Hill St                                                     La Puente, CA 91744                                                     lapuentefirstumc@gmail.com     Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                           Page 182 of 442
                                                                                   Case 20-10343-LSS                                      Doc 8171                                          Filed 01/06/22                                                      Page 198 of 457
                                                                                                                                                                               Exhibit B
                                                                                                                                                                                Service List
                                                                                                                                                                         Served as set forth below

        Description                                                         Name                                                                                             Address                                                                                                               Email              Method of Service
Chartered Organization         La Quinta Explorers                                        California Inland Empire Council 045       44555 Adams St                                                La Quinta, CA 92253‐5939                                                                                First Class Mail
Voting Party                   La Sagrada Familia De Jesus (Kennedyville)                 c/o The Law Office of Andrea Ross          Attn: Andrea Ross, Esq                                        129 N West St, Ste 1               Easton, MD 21601                    Patrick@DioceseofEaston.org      Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         La Salida Del Sol Lions                                    Catalina Council 011                       P.O. Box 1442                                                 Sierra Vista, AZ 85636‐1442                                                                             First Class Mail
Chartered Organization         La Sed Latin Americans, Social & Eco Dev                   Great Lakes Fsc 272                        4138 W Vernor Hwy                                             Detroit, MI 48209‐2145                                                                                  First Class Mail
Chartered Organization         La Tijera School                                           Greater Los Angeles Area 033               1415 N La Tijera Blvd                                         Inglewood, CA 90302‐1548                                                                                First Class Mail
Voting Party                   La Vergne First Umc                                        Attn: Dr John Daniels                      248 Old Waldron Rd                                            La Vergne, TN 37986                                                    lavergnefirstumc@comcast.net     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         La Vergne Free Will Baptist Church                         Middle Tennessee Council 560               185 Mason Cir                                                 La Vergne, TN 37086‐2350                                                                                First Class Mail
Chartered Organization         La Verne Police Dept                                       Greater Los Angeles Area 033               2061 3rd St                                                   La Verne, CA 91750‐4404                                                                                 First Class Mail
Voting Party                   La Verne United Methodist Church                           Attn: Janice E Stearns                     3205 D St                                                     La Verne, CA 91750                                                     laverneumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   La Vernia United Methodist Church                          Attn: Wesley Odell Craig                   210 Bluebonnet Rd                                             La Vernia, TX 78121                                                    wesocraig@gmail.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   La Vernia United Methodist Church                          Attn: Kim Santos                           P.O. Box 1120                                                 La Vernia, TX 78121                                                    laverniaumc@hotmail.com          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         La Vernia Utd Methodist Church                             Alamo Area Council 583                     P.O. Box 155                                                  La Vernia, TX 78121‐0155                                                                                First Class Mail
Chartered Organization         Lab Cardona Lamela Inc                                     Puerto Rico Council 661                    P.O. Box 487                                                  Isabela, PR 00662‐0487                                                                                  First Class Mail
Chartered Organization         Labrae Scout Alumni Assoc Inc                              Great Trail 433                            2235 N Leavitt Rd Nw                                          Warren, OH 44485‐1124                                                                                   First Class Mail
Chartered Organization         Lac Courte Oreilles Tribal Police                          Chippewa Valley Council 637                13394 W Trepania Rd                                           Hayward, WI 54843‐2186                                                                                  First Class Mail
Chartered Organization         Lac Hong Group                                             Silicon Valley Monterey Bay 055            2018 Skyline Dr                                               Milpitas, CA 95035‐6661                                                                                 First Class Mail
Chartered Organization         Lac Viet Community Devt Corp                               Orange County Council 039                  2715 W Madison Cir                                            Anaheim, CA 92801‐8900                                                                                  First Class Mail
Chartered Organization         Lac Viet Culture Center                                    San Diego Imperial Council 049             6819 Deep Valley Rd                                           San Diego, CA 92120‐1603                                                                                First Class Mail
Chartered Organization         Lacey Police Dept                                          Pacific Harbors Council, Bsa 612           420 College St Se                                             Lacey, WA 98503‐1238                                                                                    First Class Mail
Chartered Organization         Lacey Professional Firefighter'S                           Local 2903                                 P.O. Box 5013                                                 Lacey, WA 98509‐5013                                                                                    First Class Mail
Voting Party                   Lacey St. Andrew's United Methodist Church                 c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lacey Twp Police Pba Local 238                             Jersey Shore Council 341                   P.O. Box 238                                                  Forked River, NJ 08731‐0238                                                                             First Class Mail
Chartered Organization         Lachmund‐Cramer Post 7694 Vfw                              Glaciers Edge Council 620                  P.O. Box 24                                                   Prairie Du Sac, WI 53578‐0024                                                                           First Class Mail
Chartered Organization         Lackland Vfw Post 9174                                     Alamo Area Council 583                     2400 Pinn Rd                                                  San Antonio, TX 78227                                                                                   First Class Mail
Chartered Organization         Lacofd Fire Station 166                                    Greater Los Angeles Area 033               3615 Santa Anita Ave                                          El Monte, CA 91731‐2428                                                                                 First Class Mail
Chartered Organization         Lacon Rotary Club                                          W D Boyce 138                              P.O. Box 244                                                  Lacon, IL 61540‐0244                                                                                    First Class Mail
Chartered Organization         Lacon Rotary Club                                          W D Boyce 138                              217 S Prairie St                                              Lacon, IL 61540‐1423                                                                                    First Class Mail
Chartered Organization         Ladd Moose                                                 W D Boyce 138                              1528 E Cleveland St                                           Ladd, IL 61329                                                                                          First Class Mail
Chartered Organization         Ladera Ranch Education Foundation Inc                      Orange County Council 039                  27762 Antonio Pkwy, Ste L1‐306                                Ladera Ranch, CA 92694‐1140                                                                             First Class Mail
Chartered Organization         Ladoga Christian Church                                    Crossroads of America 160                  P.O. Box 26                                                   Ladoga, IN 47954‐0026                                                                                   First Class Mail
Chartered Organization         Ladonia Baptist Church                                     Chattahoochee Council 091                  3789 US Hwy 80 W                                              Phenix City, AL 36870‐6466                                                                              First Class Mail
Chartered Organization         Ladue Middle School Parents Org                            Greater St Louis Area Council 312          9701 Conway Rd                                                Saint Louis, MO 63124‐1646                                                                              First Class Mail
Voting Party                   Lady Lake Umc                                              c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Ladysmith Jaycees                                          Chippewa Valley Council 637                P.O. Box 191                                                  Ladysmith, WI 54848‐0191                                                                                First Class Mail
Chartered Organization         Ladysmith Lions Club                                       Chippewa Valley Council 637                1102 Lake Ave W                                               Ladysmith, WI 54848‐1062                                                                                First Class Mail
Chartered Organization         Ladysmith Ruritan Club                                     National Capital Area Council 082          19366 Chilesburg Rd                                           Beaverdam, VA 23015‐2057                                                                                First Class Mail
Chartered Organization         Ladysmith Village Hoa                                      National Capital Area Council 082          17276 Camellia Dr                                             Ruther Glen, VA 22546‐4805                                                                              First Class Mail
Chartered Organization         Lafayette American Legion Post 300                         Twin Valley Council Bsa 283                P.O. Box 102                                                  Lafayette, MN 56054‐0102                                                                                First Class Mail
Voting Party                   Lafayette Avenue Presbyterian Church                       Attn: Micah Nutter Dowling                 875 Elmwood Ave                                               Buffalo, NY 14209                                                      micahnutterdowling@gmail.com     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lafayette Christian Church                                 Mt Diablo‐Silverado Council 023            584 Glenside Dr                                               Lafayette, CA 94549‐5318                                                                                First Class Mail
Chartered Organization         Lafayette Church Of Christ                                 Middle Tennessee Council 560               212 Church St                                                 Lafayette, TN 37083‐1628                                                                                First Class Mail
Chartered Organization         Lafayette Dads Club                                        Mt Diablo‐Silverado Council 023            1224 Monticello Rd                                            Lafayette, CA 94549‐3026                                                                                First Class Mail
Chartered Organization         Lafayette Elementary School Parents                        San Francisco Bay Area Council 028         1700 Market St                                                Oakland, CA 94607‐3330                                                                                  First Class Mail
Chartered Organization         Lafayette Fire Dept                                        Evangeline Area 212                        300 N Dugas Rd                                                Lafayette, LA 70507‐3014                                                                                First Class Mail
Chartered Organization         Lafayette Fire Dept                                        Patriots Path Council 358                  P.O. Box 164                                                  Lafayette, NJ 07848‐0164                                                                                First Class Mail
Voting Party                   Lafayette First Umc                                        Attn: Joel Harris, Treasurer               2139 N Dixie Hwy                                              Lima, OH 45801                                                         jpharris5353@gmail.com           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Lafayette First United Methodist Church                    Attn: Joel Patrick Harris                  204 W Main St                                                 P.O. Box 7247                      Lafayette, OH 45854                 jpharris5353@gmail.com           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lafayette High School Jrotc                                Pony Express Council 311                   412 E Highland Ave                                            Saint Joseph, MO 64505‐2550                                                                             First Class Mail
Chartered Organization         Lafayette Lodge 44 F & Am Masonic Lodge                    Northeast Georgia Council 101              100 Ramey Dr                                                  Cumming, GA 30040                                                                                       First Class Mail
Chartered Organization         Lafayette Meadows Ptc                                      Anthony Wayne Area 157                     11420 Ernst Rd                                                Roanoke, IN 46783‐9660                                                                                  First Class Mail
Voting Party                   Lafayette Park United Methodist Church                     Attn: Richard R Eaton                      2300 Lafayette                                                St Louis, MO 63104                                                                                      First Class Mail
Chartered Organization         Lafayette Police Dept                                      Evangeline Area 212                        900 E University Ave                                          Lafayette, LA 70503‐2127                                                                                First Class Mail
Chartered Organization         Lafayette Presbyterian Church                              Suwannee River Area Council 664            4220 Mahan Dr                                                 Tallahassee, FL 32308‐5723                                                                              First Class Mail
Chartered Organization         Lafayette Renaissance Charter Academy                      Evangeline Area 212                        205 Vienne Ln                                                 Lafayette, LA 70507‐3251                                                                                First Class Mail
Chartered Organization         Lafayette Rotary Club                                      Middle Tennessee Council 560               1370 Akersville Rd                                            Lafayette, TN 37083‐4344                                                                                First Class Mail
Chartered Organization         Lafayette Street Utd Methodist Church                      Piedmont Council 420                       1509 Olde Farm Rd                                             Shelby, NC 28150                                                                                        First Class Mail
Chartered Organization         Lafayette Township Fire Dept                               Great Trail 433                            P.O. Box 15                                                   Chippewa Lake, OH 44215‐0015                                                                            First Class Mail
Chartered Organization         Lafayette Troop 204 Dad'S Club, Inc                        Mt Diablo‐Silverado Council 023            1224 Monticello Rd                                            Lafayette, CA 94549‐3026                                                                                First Class Mail
Chartered Organization         Lafayette Upper Elementary Pto                             National Capital Area Council 082          3 Learning Ln                                                 Fredericksburg, VA 22401‐3951                                                                           First Class Mail
Chartered Organization         Lafayette Utd Methodist Church                             Black Swamp Area Council 449               P.O. Box 7247                                                 Lafayette, OH 45854‐0247                                                                                First Class Mail
Chartered Organization         Lafayette Volunteer Fire Co                                Longhouse Council 373                      P.O. Box 260                                                  La Fayette, NY 13084‐0260                                                                               First Class Mail
Voting Party                   Lafayette‐Orinda Presbyterian Church                       Attn: Jaime R Polson                       49 Knox Dr                                                    Lafayette, CA 94549                                                    jaime@lopc.org                   Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Lafayette‐Orinda Presbyterian Church                       Attn: Jaime R. Polson                      49 Knox Dr                                                    Lafayette, CA 94549                                                    info@lopc.org                    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Firm                           Laffey, Bucci and Kent, LLP                                Brian Dooley Kent, Esquire                 1100 Ludlow Street, Ste 300                                   Philadelphia, PA 19107                                                 bkent@lbk‐law.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Firm                           Laffey, Bucci and Kent, LLP                                Stewart Ryan                               1435 Walnut Street                                            Philadelphia, PA 19102                                                 sryan@laffeyboccikent.com        Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lafollette C L C                                           Three Harbors Council 636                  3239 N 9th St                                                 Milwaukee, WI 53206‐3251                                                                                First Class Mail
Voting Party                   Lafontaine United Methodist Church                         Attn: Susan M Shambaugh                    2 W Kendall St, P.O. Box 57                                   Lafontaine, IN 46940                                                   susan.shambaugh@inumc.org        Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lafourche Parish Sheriff'S Office                          Southeast Louisiana Council 214            P.O. Box 5608                                                 Thibodaux, LA 70302‐5608                                                                                First Class Mail
Chartered Organization         Lagoon 42 Llc                                              Tidewater Council 596                      1100 Wishart Point Rd                                         Virginia Beach, VA 23455‐5536                                                                           First Class Mail
Chartered Organization         Lagos Parent Group                                         Transatlantic Council, Bsa 802             5 Sand Close V 1                                              Nigeria                                                                                                 First Class Mail
Voting Party                   Lagrange First United Methodist Church ‐ Lagrange, In      Attn: Treasurer                            209 W Spring St                                               Lagrange, IN 46761                                                     alk10@lagrangeumc.com            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lagrange Lions Club                                        Lake Erie Council 440                      240 Glendale St                                               Lagrange, OH 44050‐9675                                                                                 First Class Mail
Chartered Organization         Lagrange Police                                            Chattahoochee Council 091                  100 E Haralson St                                             Lagrange, GA 30240                                                                                      First Class Mail
Chartered Organization         Lagrange Police Dept                                       Lincoln Heritage Council 205               121 W Main St                                                 La Grange, KY 40031‐1115                                                                                First Class Mail
Chartered Organization         Lagrange Rotary Club                                       East Carolina Council 426                  P.O. Box 57                                                   La Grange, NC 28551‐0057                                                                                First Class Mail
Chartered Organization         Lagrange Rotary Club                                       East Carolina Council 426                  151 Brandy Ave                                                La Grange, NC 28551‐9500                                                                                First Class Mail
Chartered Organization         Lagrange Rotary Club                                       Anthony Wayne Area 157                     207 W Michigan St                                             Lagrange, IN 46761‐1819                                                                                 First Class Mail
Chartered Organization         Lagrave Avenue Christian Reformed Church                   President Gerald R Ford 781                107 La Grave Ave Se                                           Grand Rapids, MI 49503‐4207                                                                             First Class Mail
Chartered Organization         Laguna Beach Police Dept                                   Orange County Council 039                  505 Forest Ave                                                Laguna Beach, CA 92651‐2332                                                                             First Class Mail
Voting Party                   Laguna Country United Methodist Church                     Partick Joseph Heaock                      24442 Moulton Pkwy                                            Laguna Woods, CA 92637                                                 patsdocs@comline.com             Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Laguna Country United Methodist Church                     Attn: Patrick Heacock                      951‐A Avenida Carmel                                          Laguna Woods, CA 92637                                                 patsdocs@comline.com             Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Laguna Country Utd Methodist Church                        Orange County Council 039                  24442 Moulton Pkwy                                            Laguna Hills, CA 92637‐3362                                                                             First Class Mail
Chartered Organization         Laguna Niguel Presbyterian Church                          Orange County Council 039                  30071 Ivy Glenn Dr                                            Laguna Niguel, CA 92677‐5025                                                                            First Class Mail
Voting Party                   Laguna Niguel Presbyterian Church                          Attn: Rev. James Szeyller                  Laguna Niguel Presbyterian Church                             30071 Ivy Glenn Dr                 Laguna Niguel, CA 92677             pastorjim@lnpc.org               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Laguna Niguel Rotary Foundation Inc                        Orange County Council 039                  23862 Windmill Ln                                             Laguna Niguel, CA 92677‐1713                                                                            First Class Mail
Chartered Organization         Laguna Presbyterian Church                                 Orange County Council 039                  415 Forest Ave                                                Laguna Beach, CA 92651‐2330                                                                             First Class Mail
Chartered Organization         Laguna Sunrise Rotary Club                                 Golden Empire Council 047                  4705 Selway Ct                                                Elk Grove, CA 95758‐4020                                                                                First Class Mail
Chartered Organization         Lahaska Utd Methodist Church                               Washington Crossing Council 777            2491 St Rd                                                    Lahaska, PA 18931                                                                                       First Class Mail
Chartered Organization         Laingsburg Lions Club                                      Water and Woods Council 782                P.O. Box 32                                                   Laingsburg, MI 48848‐0032                                                                               First Class Mail
Chartered Organization         Laire                                                      Patriots Path Council 358                  29 Wenonah Ave                                                Rockaway, NJ 07866‐1403                                                                                 First Class Mail
Chartered Organization         Lake Almanor Elks Lodge 2626                               Nevada Area Council 329                    P.O. Box 1329                                                 Chester, CA 96020‐1329                                                                                  First Class Mail
Voting Party                   Lake Ann United Methodist Church                           Attn: Pastor Josh Manning                  6583 1st St                                                   Lake Ann, MI 49650                                                     church@lakeannumc.com            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lake Arbor Optimist Club                                   Denver Area Council 061                    9833 W 83rd Ave                                               Arvada, CO 80005‐2131                                                                                   First Class Mail
Chartered Organization         Lake Ariel Lions Club                                      Northeastern Pennsylvania Council 501      P.O. Box 358                                                  Lake Ariel, PA 18436‐0358                                                                               First Class Mail
Chartered Organization         Lake Arrowhead Camp Staff                                  Greater Los Angeles Area 033               29485 Hook Creeck Rd                                          Cedar Glen, CA 99231                                                                                    First Class Mail
Chartered Organization         Lake Arrowhead Community Presbyterian                      California Inland Empire Council 045       P.O. Box 340                                                  Lake Arrowhead, CA 92352‐0340                                                                           First Class Mail
Chartered Organization         Lake Auburn Watershed Neighborhood Assn                    Pine Tree Council 218                      185 N Auburn Rd                                               Auburn, ME 04210‐8786                                                                                   First Class Mail
Chartered Organization         Lake Braddock Community                                    National Capital Area Council 082          9528 Ashbourn Dr                                              Burke, VA 22015‐1701                                                                                    First Class Mail
Chartered Organization         Lake Braddock Community Assoc                              National Capital Area Council 082          9408 Odyssey Ct                                               Burke, VA 22015‐1910                                                                                    First Class Mail
Chartered Organization         Lake Burien Presbyterian Church                            Chief Seattle Council 609                  15003 14th Ave Sw                                             Burien, WA 98166‐1746                                                                                   First Class Mail
Chartered Organization         Lake Cable Recreation Assoc                                Buckeye Council 436                        5725 Fulton Dr Nw                                             Canton, OH 44718‐1732                                                                                   First Class Mail
Chartered Organization         Lake Carmel Volunteer Fire Dept                            Westchester Putnam 388                     Rt 52                                                         Lake Carmel, NY 10512                                                                                   First Class Mail
Chartered Organization         Lake Carolina Elementary Pto                               Indian Waters Council 553                  1151 Kelly Mill Rd                                            Blythewood, SC 29016‐8726                                                                               First Class Mail
Chartered Organization         Lake Castle North School                                   Southeast Louisiana Council 214            363 Thompson Rd                                               Slidell, LA 70460                                                                                       First Class Mail
Chartered Organization         Lake Charles Charter Academy Ptc                           Calcasieu Area Council 209                 2750 Power Centre Pkwy                                        Lake Charles, LA 70607‐7538                                                                             First Class Mail
Voting Party                   Lake Chelan United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lake Christian Church                                      Stonewall Jackson Council 763              733 S Boston Rd                                               Palmyra, VA 22963‐6221                                                                                  First Class Mail
Chartered Organization         Lake Cities Utd Methodist Church                           Longhorn Council 662                       300 E Hundley Dr                                              Lake Dallas, TX 75065‐2630                                                                              First Class Mail
Chartered Organization         Lake City Fire Co                                          French Creek Council 532                   2232 Rice Ave                                                 Lake City, PA 16423‐1555                                                                                First Class Mail
Chartered Organization         Lake City Lions Club                                       Anthony Wayne Area 157                     2507 E 225 S                                                  Warsaw, IN 46580‐8101                                                                                   First Class Mail
Chartered Organization         Lake Conroe Forest Owners Assoc                            Sam Houston Area Council 576               610 Navajo St                                                 Montgomery, TX 77316‐4828                                                                               First Class Mail
Chartered Organization         Lake Country Academy                                       Bay‐Lakes Council 635                      4101 Technology Pkwy                                          Sheboygan, WI 53083‐6001                                                                                First Class Mail
Chartered Organization         Lake Country Fire Rescure                                  Potawatomi Area Council 651                115 Main St                                                   Delafield, WI 53018‐1319                                                                                First Class Mail
Chartered Organization         Lake Country Lions Club                                    Potawatomi Area Council 651                P.O. Box 1014                                                 Oconomowoc, WI 53066‐6014                                                                               First Class Mail
Voting Party                   Lake Country Power                                         8535 Park Ridge Dr                         Mountain Iron, MN 55768‐2059                                                                                                                                          First Class Mail
Chartered Organization         Lake Country Pto                                           Potawatomi Area Council 651                1800 Vettelson Rd                                             Hartland, WI 53029‐8890                                                                                 First Class Mail
Chartered Organization         Lake County Sheriff Office                                 Northeast Illinois 129                     25 S Martin Luther King Jr Ave                                Waukegan, IL 60085‐5518                                                                                 First Class Mail
Chartered Organization         Lake County Sheriffs Office                                President Gerald R Ford 781                1153 Michigan Ave                                             Baldwin, MI 49304‐7969                                                                                  First Class Mail
Chartered Organization         Lake County Sheriffs Office                                Mt Diablo‐Silverado Council 023            P.O. Box 489                                                  Lakeport, CA 95453‐0489                                                                                 First Class Mail
Chartered Organization         Lake County Sheriffs Office                                Central Florida Council 083                360 W Ruby St                                                 Tavares, FL 32778‐3826                                                                                  First Class Mail
Chartered Organization         Lake County States Attorneys Office                        Northeast Illinois 129                     18 N County St                                                Waukegan, IL 60085‐4304                                                                                 First Class Mail
Chartered Organization         Lake Cumberland Regional Hospital                          Blue Grass Council 204                     305 Langdon St                                                Somerset, KY 42503‐2750                                                                                 First Class Mail
Chartered Organization         Lake Egypt Fire Protection District                        Greater St Louis Area Council 312          12228 Lake of Egypt Rd                                        Marion, IL 62959‐9065                                                                                   First Class Mail
Chartered Organization         Lake Elmo Jaycees                                          Northern Star Council 250                  P.O. Box 198                                                  Lake Elmo, MN 55042‐0198                                                                                First Class Mail
Chartered Organization         Lake Elmo Lions Club                                       Northern Star Council 250                  P.O. Box 50                                                   Lake Elmo, MN 55042‐0050                                                                                First Class Mail
Chartered Organization         Lake Erie Beach Vol Fire Co Inc                            Greater Niagara Frontier Council 380       9483 Lake Shore Rd                                            Angola, NY 14006‐9216                                                                                   First Class Mail
Chartered Organization         Lake Erie Regiment                                         French Creek Council 532                   909 E 35th St                                                 Erie, PA 16504‐1827                                                                                     First Class Mail
Voting Party                   Lake Fenton United Methodist                               Attn: Isabel Rook                          2581 N Long Lake                                              Fenton, MI 48480                                                       kathleenholt@charter.net         Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lake Fenton Utd Methodist Church                           Water and Woods Council 782                2581 N Long Lake Rd                                           Fenton, MI 48430‐8841                                                                                   First Class Mail
Chartered Organization         Lake Forest Charter School                                 Southeast Louisiana Council 214            P.O. Box 15095                                                New Orleans, LA 70175‐5095                                                                              First Class Mail
Chartered Organization         Lake Forest Community Assoc                                Orange County Council 039                  22921 Ridge Route Dr                                          Lake Forest, CA 92630‐3629                                                                              First Class Mail
Chartered Organization         Lake Forest Parent Teacher Council                         Golden Empire Council 047                  2240 Sailsbury Dr                                             El Dorado Hills, CA 95762‐6984                                                                          First Class Mail
Chartered Organization         Lake Forest Park Elementary School                         Chartered By Lake Forest Prk Rotary Club   P.O. Box 55983                                                Seattle, WA 98155‐0983                                                                                  First Class Mail
Chartered Organization         Lake Forest Park Presbyterian Church                       Chief Seattle Council 609                  17440 Brookside Blvd Ne                                       Lake Forest Park, WA 98155‐5528                                                                         First Class Mail
Chartered Organization         Lake Geneva Lions Club                                     Glaciers Edge Council 620                  735 Henry St                                                  Lake Geneva, WI 53147‐1201                                                                              First Class Mail
Chartered Organization         Lake George Parent Teacher Student Org                     Twin Rivers Council 364                    69 Sun Valley Dr                                              Lake George, NY 12845‐3900                                                                              First Class Mail
Voting Party                   Lake Gibson Umc ‐ Lakeland                                 c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lake Gibson Utd Methodist Church                           Greater Tampa Bay Area 089                 424 W Daughtery Rd                                            Lakeland, FL 33809‐3315                                                                                 First Class Mail
Chartered Organization         Lake Grove Presbyterian Church                             Cascade Pacific Council 492                4040 Sunset Dr                                                Lake Oswego, OR 97035‐4318                                                                              First Class Mail
Voting Party                   Lake Harbor United Methodist Church                        Attn: Pastor & Mary Letta‐Bement Ivanov    4861 Henry St                                                 Norton Shores, MI 49441                                                Office@LakeHarborUMC.org         Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lake Havasu City Police Dept                               Las Vegas Area Council 328                 2360 Mcculloch Blvd N                                         Lake Havasu City, AZ 86403‐5947                                                                         First Class Mail
Chartered Organization         Lake Havasu Divers Assoc                                   Las Vegas Area Council 328                 2959 Kiowa Blvd N                                             Lake Havasu City, AZ 86404‐1613                                                                         First Class Mail
Chartered Organization         Lake Hazel Elementary                                      Ore‐Ida Council 106 ‐ Bsa 106              11711 W Lake Hazel Rd                                         Boise, ID 83709‐6224                                                                                    First Class Mail
Chartered Organization         Lake Hazel School Pto                                      Ore‐Ida Council 106 ‐ Bsa 106              11625 W La Grange St                                          Boise, ID 83709‐5100                                                                                    First Class Mail
Chartered Organization         Lake Hefner Boat Owners Assoc                              Last Frontier Council 480                  P.O. Box 42131                                                Oklahoma City, OK 73123‐3131                                                                            First Class Mail
Chartered Organization         Lake Helen American Legion Post 127                        Central Florida Council 083                109 Cassadaga Rd                                              Lake Helen, FL 32744‐3244                                                                               First Class Mail
Chartered Organization         Lake Highland Prepatory School                             Central Florida Council 083                901 Highland Ave                                              Orlando, FL 32803‐3233                                                                                  First Class Mail
Chartered Organization         Lake Highlands Presbyterian Church                         Circle Ten Council 571                     10502 Markison Rd                                             Dallas, TX 75238‐1652                                                                                   First Class Mail
Voting Party                   Lake Highlands United Methodist Church                     Attn: Jill Jackson‐Sears                   9015 Plano Rd                                                 P.O. Box 551389                    Dallas, TX 75355                    mpotts@lhumc.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lake Hill Preparatory School                               Circle Ten Council 571                     2702 Hillside Dr                                              Dallas, TX 75214                                                                                        First Class Mail
Chartered Organization         Lake Hills Park Assoc                                      Capitol Area Council 564                   3106 Edgewater Dr                                             Austin, TX 78733                                                                                        First Class Mail
Chartered Organization         Lake Hills Presbyterian Church                             Great Smoky Mountain Council 557           3805 Maloney Rd                                               Knoxville, TN 37920‐2823                                                                                First Class Mail
Chartered Organization         Lake Hopatcong Elks Lodge 2109                             Patriots Path Council 358                  201 Howard Blvd                                               Mount Arlington, NJ 07856‐1306                                                                          First Class Mail
Chartered Organization         Lake Houston Sailing Assoc                                 Sam Houston Area Council 576               18703 Cleeve Close                                            Humble, TX 77346‐2640                                                                                   First Class Mail
Chartered Organization         Lake In The Hills Al Post 1231                             Blackhawk Area 660                         1101 W Algonquin Rd                                           Lake In the Hills, IL 60156‐3558                                                                        First Class Mail
Chartered Organization         Lake In The Hills Police Dept                              Blackhawk Area 660                         1115 Crystal Lake Rd                                          Lake In the Hills, IL 60156‐3315                                                                        First Class Mail
Chartered Organization         Lake Jackson Police Dept                                   Bay Area Council 574                       5 Oak Dr, Ste A                                               Lake Jackson, TX 77566‐5207                                                                             First Class Mail
Voting Party                   Lake Jackson United Methodist Church ‐Tallahassee          c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lake Jackson Vol Fire Dept                                 National Capital Area Council 082          11310 Coles Dr                                                Manassas, VA 20112‐2728                                                                                 First Class Mail
Chartered Organization         Lake Life Church                                           President Gerald R Ford 781                P.O. Box 161                                                  Alanson, MI 49706‐0161                                                                                  First Class Mail
Voting Party                   Lake Lindsey                                               c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Lake Logan Conference Ctr And Camp Henry, Inc              The Episcopal Diocese of Wern Nc           900B Centre Park Dr                                           Asheville, NC 28805                                                    greg@h2lawgroup.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                Page 183 of 442
                                                                               Case 20-10343-LSS                                              Doc 8171                                 Filed 01/06/22                                                  Page 199 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                    Name                                                                                             Address                                                                                                            Email              Method of Service
Voting Party                   Lake Logan Conference Ctr And Camp Henry, Inc                  c/o Hilderbran Hitchcock, PA              Attn: Gregory Hilderbran                              301 College St, Ste 110           Asheville, NC 28801              dhillier@ghma.law                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lake Logan Conference Ctr And Camp Henry, Inc                  Attn: David R Hillier                     P.O. Box 3235                                         Asheville, NC 28802                                                dhillier@ghma.law                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lake Lotawana Utd Methodist Church                             Heart of America Council 307              28901 E Colbern Rd                                    Lake Lotawana, MO 64086‐9725                                                                         First Class Mail
Chartered Organization         Lake Lure Fire Dept                                            Piedmont Council 420                      6221 Memorial Hwy                                     Lake Lure, NC 28746                                                                                  First Class Mail
Voting Party                   Lake Magdalene United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lake Magdalene Utd Methodist Church                            Greater Tampa Bay Area 089                2902 W Fletcher Ave                                   Tampa, FL 33618‐3261                                                                                 First Class Mail
Chartered Organization         Lake Marion Elementary Pto                                     Northern Star Council 250                 19875 Dodd Blvd                                       Lakeville, MN 55044‐8335                                                                             First Class Mail
Chartered Organization         Lake Meade Property Owners Assoc                               New Birth of Freedom 544                  4 Forrest Dr                                          East Berlin, PA 17316‐9358                                                                           First Class Mail
Voting Party                   Lake Mills United Methodist Church                             Attn: Edwin Vargas                        P.O. Box 216                                          Lake Mills, WI 53551                                               pastor@lakemillsumc.org           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lake Montessori Private School                                 Central Florida Council 083               415 Lee St                                            Leesburg, FL 34748‐5030                                                                              First Class Mail
Chartered Organization         Lake Murray Presbyterian Church                                Indian Waters Council 553                 2721 Dutch Fork Rd                                    Chapin, SC 29036‐8565                                                                                First Class Mail
Chartered Organization         Lake Murray Ward Lds                                           Indian Waters Council 553                 511 Carriage Lake Dr                                  Lexington, SC 29072‐7505                                                                             First Class Mail
Chartered Organization         Lake Nona Ymca                                                 Attn: Pack 15                             9055 Northlake Pkwy                                   Orlando, FL 32827‐5706                                                                               First Class Mail
Chartered Organization         Lake Norman Regional Medical Center                            Piedmont Council 420                      171 Fairview Rd                                       Mooresville, NC 28117‐9500                                                                           First Class Mail
Chartered Organization         Lake Of The Ozarks Scout Reservation                           Great Rivers Council 653                  525 Camp Hohn Dr                                      Gravois Mills, MO 65037‐7842                                                                         First Class Mail
Chartered Organization         Lake Of The Woods Church                                       Stonewall Jackson Council 763             1 Church Ln                                           Locust Grove, VA 22508‐5742                                                                          First Class Mail
Voting Party                   Lake Oswego United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lake Overholser Nazarene Chruch                                Last Frontier Council 480                 3900 Overholser Dr                                    Oklahoma City, OK 73008                                                                              First Class Mail
Chartered Organization         Lake Ozark Christian Church                                    Great Rivers Council 653                  1560 Bagnell Dam Blvd                                 Lake Ozark, MO 65049                                                                                 First Class Mail
Voting Party                   Lake Panasoffkee United Methodist                              c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lake Park Utd Methodist Men                                    South Georgia Council 098                 P.O. Box 130                                          Lake Park, GA 31636‐0130                                                                             First Class Mail
Chartered Organization         Lake Park Utd Methodist Men                                    South Georgia Council 098                 4532 Carum Cir                                        Lake Park, GA 31636‐2820                                                                             First Class Mail
Chartered Organization         Lake Parsippany Vol Fire Co Inc                                Patriots Path Council 358                 100 Centerton Dr                                      Parsippany, NJ 07054‐3523                                                                            First Class Mail
Chartered Organization         Lake Placid Lions Club                                         Twin Rivers Council 364                   P.O. Box 296                                          Lake Placid, NY 12946‐0296                                                                           First Class Mail
Chartered Organization         Lake Pontchartrain Elementary Boys Pto                         Southeast Louisiana Council 214           3328 Hwy 51                                           Laplace, LA 70068                                                                                    First Class Mail
Chartered Organization         Lake Pontchartrain Elementary Girls Pto                        Southeast Louisiana Council 214           3378 Hwy 51                                           Laplace, LA 70068                                                                                    First Class Mail
Chartered Organization         Lake Providence Baptist Church                                 Middle Tennessee Council 560              5891 Nolensville Pike                                 Nashville, TN 37211‐6542                                                                             First Class Mail
Chartered Organization         Lake Ray Roberts Rotary Club                                   Longhorn Council 662                      P.O. Box 331                                          Pilot Point, TX 76258‐0331                                                                           First Class Mail
Chartered Organization         Lake Region Bible Church                                       Northeast Illinois 129                    205 W Washington St                                   Round Lake, IL 60073‐2901                                                                            First Class Mail
Chartered Organization         Lake Region Memorial Vfw Post 8858                             Hudson Valley Council 374                 2 Chatham Rd                                          Monroe, NY 10950‐2512                                                                                First Class Mail
Chartered Organization         Lake Ridge Baptist Church                                      National Capital Area Council 082         12450 Clipper Dr                                      Woodbridge, VA 22192‐2323                                                                            First Class Mail
Chartered Organization         Lake Ridge Elementary School Pto Inc                           National Capital Area Council 082         11970 Hedges Run Dr                                   Woodbridge, VA 22192‐1026                                                                            First Class Mail
Voting Party                   Lake Shore Family Fellowship ‐ Jacksonville                    c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lake Shore Family Fellowship, Jacksonville                     2246 Blanding Blvd                        Jacksonville, FL 32210                                                                                                                                     First Class Mail
Voting Party                   Lake Shore Umc                                                 Attn: Robert Welch                        33119 Electric Blvd                                   Avon Lake, OH 44012                                                office@lakeshore‐umc.org          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lake Shore Utd Methodist Church                                Lake Erie Council 440                     33119 Electric Blvd                                   Avon Lake, OH 44012‐1336                                                                             First Class Mail
Chartered Organization         Lake Square Presbyterian Church                                Central Florida Council 083               10200 Morningside Dr                                  Leesburg, FL 34788‐3685                                                                              First Class Mail
Chartered Organization         Lake Stevens Lions Club                                        Mount Baker Council, Bsa 606              P.O. Box 589                                          Lake Stevens, WA 98258‐0589                                                                          First Class Mail
Chartered Organization         Lake Stevens Memorial Post 181                                 Mount Baker Council, Bsa 606              P.O. Box 475                                          Lake Stevens, WA 98258‐0475                                                                          First Class Mail
Chartered Organization         Lake Stevens Police Dept                                       Mount Baker Council, Bsa 606              2211 Grade Rd                                         Lake Stevens, WA 98258‐8122                                                                          First Class Mail
Chartered Organization         Lake Street School P T O                                       Connecticut Rivers Council, Bsa 066       201 Lake St                                           Vernon, CT 06066‐6245                                                                                First Class Mail
Voting Party                   Lake Street United Methodist Church                            Attn: Greg Wallace                        1213 Melody Ln                                        Eau Claire, WI 54703                                               pastor@lakestreetumc.org          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lake Street United Methodist Church                            Attn: Gerald Morris                       337 Lake St, Ste A                                    Eau Claire, WI 54703                                               pastor@lakestreetumc.org          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lake Street United Methodist Church (189395)                   c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lake Street Utd Methodist Church                               Chippewa Valley Council 637               337 Lake St                                           Eau Claire, WI 54703‐3989                                                                            First Class Mail
Voting Party                   Lake Sunapee United Methodist Church                           Attn: Treasurer                           9 Lower Main St                                       P.O. Box 335                      Sunapee, NH 03782                sunapeeumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lake Tahoe Community Presbyterian Church                       Nevada Area Council 329                   P.O. Box 7795                                         South Lake Tahoe, CA 96158‐0795                                                                      First Class Mail
Chartered Organization         Lake Tansi Exchange Club                                       Great Smoky Mountain Council 557          P.O. Box 58                                           Crossville, TN 38557‐0058                                                                            First Class Mail
Chartered Organization         Lake Tapps Christian Church                                    Pacific Harbors Council, Bsa 612          P.O. Box 7315                                         Bonney Lake, WA 98391‐0941                                                                           First Class Mail
Voting Party                   Lake Travis United Methodist Church                            Attn: Paula Bryant                        1502 Ranch Rd 620 N                                   Austin, TX 78738                                                   paula.bryant@ltumc.org            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lake Travis Utd Methodist Church                               Capitol Area Council 564                  1502 Ranch Rd 620 N                                   Lakeway, TX 78734‐2606                                                                               First Class Mail
Voting Party                   Lake Villa United Methodist Church                             Attn: Robert Churchill                    P.O. Box 505                                          Grayslake, IL 60030                                                rwchurchill@msn.com               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lake Villa Utd Methodist Church                                Northeast Illinois 129                    110 Mckinley Ave                                      Lake Villa, IL 60046‐9003                                                                            First Class Mail
Chartered Organization         Lake Village Elementary Pto                                    Sagamore Council 162                      3281 W 950 N                                          Lake Village, IN 46349‐9482                                                                          First Class Mail
Voting Party                   Lake Waccamaw Umc                                              506 Lakeshore Dr                          Lake Waccamaw, NC 28450                                                                                                  tben77@embarqmail.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lake Wappapello United Methodist Church                        Attn: Craig Hamilton                      1472 County Rd 535                                    Poplar Bluff, MO 63901                                             pchamilton23@gmail.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lake Wappapello United Methodist Church                        Phillip Craig Hamilton                    P.O. Box 236                                          Wappapello, MO 63966                                               pchamilton23@gmail.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lake Washington Christian Church                               Chief Seattle Council 609                 343 15th Ave                                          Kirkland, WA 98033‐5508                                                                              First Class Mail
Voting Party                   Lake Washington United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lake Washington Utd Methodist Church                           Chief Seattle Council 609                 7525 132nd Ave Ne                                     Kirkland, WA 98033‐8243                                                                              First Class Mail
Voting Party                   Lake Winola United Methodist Church (080034)                   c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lake Wissota Lions Club                                        Chippewa Valley Council 637               P.O. Box 761                                          Chippewa Falls, WI 54729‐0761                                                                        First Class Mail
Chartered Organization         Lake Wissota Yacht Club                                        Chippewa Valley Council 637               P.O. Box 631                                          Chippewa Falls, WI 54729‐0631                                                                        First Class Mail
Chartered Organization         Lake Wood Middle School                                        Coronado Area Council 192                 1135 E Lakewood Cir                                   Salina, KS 67401‐3439                                                                                First Class Mail
Chartered Organization         Lake Yosemite Sailing Assoc                                    Greater Yosemite Council 059              P.O. Box 3994                                         Merced, CA 95344‐1994                                                                                First Class Mail
Chartered Organization         Lake Zurich Fire Dept                                          Pathway To Adventure 456                  321 S Buesching Rd                                    Lake Zurich, IL 60047‐2535                                                                           First Class Mail
Chartered Organization         Lakecross Veterinary Hospital                                  Mecklenburg County Council 415            106 Parr Dr                                           Huntersville, NC 28078‐5936                                                                          First Class Mail
Voting Party                   Lakehills United Methodist Church                              Attn: Kristina S Fett ‐ Treasurer         P.O. Box 565                                          Lakehills, TX 78063                                                medinalake@msn.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lakehoma Church Of Christ                                      Last Frontier Council 480                 2124 W State Hwy 152                                  Mustang, OK 73064‐1326                                                                               First Class Mail
Chartered Organization         Lakeland Emergency Squad Inc                                   Patriots Path Council 358                 221 Route 206 N                                       Andover, NJ 07821                                                                                    First Class Mail
Chartered Organization         Lakeland Fire Dept Benevolent Assoc                            Suffolk County Council Inc 404            929 Johnson Ave                                       Ronkonkoma, NY 11779‐6066                                                                            First Class Mail
Chartered Organization         Lakeland High School Jrotc                                     Greater Tampa Bay Area 089                450 Martin L King Jr Ave                              Lakeland, FL 33815‐1522                                                                              First Class Mail
Chartered Organization         Lakeland Police Explorers                                      Greater Tampa Bay Area 089                219 N Massachusetts Ave                               Lakeland, FL 33801‐4972                                                                              First Class Mail
Chartered Organization         Lakeland Reformed Church                                       Southern Shores Fsc 783                   10442 Sprinkle Rd                                     Vicksburg, MI 49097‐8457                                                                             First Class Mail
Chartered Organization         Lakemoor Police Deptment                                       Northeast Illinois 129                    27901 W Concrete Dr                                   Ingleside, IL 60041‐8835                                                                             First Class Mail
Chartered Organization         Lakeport Lions Club                                            Mt Diablo‐Silverado Council 023           P.O. Box 57                                           Lakeport, CA 95453‐0057                                                                              First Class Mail
Voting Party                   Lakeridge United Methodist Church                              Attn: Secretary/Treasurer And/Or Pastor   4701 82nd St                                          Lubbock, TX 79424                                                  rmedearis@lubbocklawfirm.com      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lakes Of The Meadows Homeowners Assoc                          South Florida Council 084                 4450 SW 152nd Ave                                     Miami, FL 33185‐4229                                                                                 First Class Mail
Chartered Organization         Lakeshore Presbyterian Church                                  North Florida Council 087                 2270 Blanding Blvd                                    Jacksonville, FL 32210‐4168                                                                          First Class Mail
Chartered Organization         Lakeshore School Pto                                           Bay‐Lakes Council 635                     706 N Prairie Rd                                      Fond Du Lac, WI 54935‐2705                                                                           First Class Mail
Voting Party                   Lakeshore United Methodist Church                              411 Reed Ave                              Manitowoc, WI 54220                                                                                                      lakeshoreumc@lakshoreume.com      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lakeside United Methodist Church                               c/o Connee Luttrell                       P.O. Box 192                                          Lake Village, AR 71653                                             lraines@fridayfirm.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lakeside Academy                                               Cherokee Area Council 556                 4850 Jersey Pike                                      Chattanooga, TN 37416‐2318                                                                           First Class Mail
Chartered Organization         Lakeside Church                                                Golden Empire Council 047                 745 Oak Ave Pkwy                                      Folsom, CA 95630‐6802                                                                                First Class Mail
Chartered Organization         Lakeside Church                                                Northeast Georgia Council 101             5800 Lake Oconee Pkwy                                 Greensboro, GA 30642‐3796                                                                            First Class Mail
Chartered Organization         Lakeside Church                                                French Creek Council 532                  3203 N Hermitage Rd                                   Transfer, PA 16154‐2415                                                                              First Class Mail
Chartered Organization         Lakeside Church At Lake Oconee                                 Northeast Georgia Council 101             5800 Lake Oconee Pkwy                                 Greensboro, GA 30642‐3796                                                                            First Class Mail
Chartered Organization         Lakeside Community Chapel                                      Montana Council 315                       714 4th Ave E                                         Kalispell, MT 59901‐5346                                                                             First Class Mail
Voting Party                   Lakeside Community Chapel                                      Attn: Mike Rasmussen                      P.O. Box 162                                          Lakeside, MT 59922                                                 mikerita69@gmail.com              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lakeside Community Chapel Umc                                  Montana Council 315                       7233 Hwy 90 S                                         Lakeside, MT 59922                                                                                   First Class Mail
Voting Party                   Lakeside Community Presbyterian Church Inc                     Attn: Gary Macdonald                      9908 Channel Rd                                       Lakeside, CA 92040                                                 office@lakesidepc.org             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lakeside Elementary Parents For Scouting                       President Gerald R Ford 781               2325 Hall St Se                                       Grand Rapids, MI 49506‐4045                                                                          First Class Mail
Voting Party                   Lakeside Fellowship Umc                                        c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lakeside Houston United Methodist Church Pastor Andrew Payne   Lakeside United Methodist Church          14303 W Lake Houston Pkwy                             Houston, TX 77044                                                  andrew@thelakesideumc.org         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lakeside Optimist Club                                         San Diego Imperial Council 049            P.O. Box 476                                          Lakeside, CA 92040‐0476                                                                              First Class Mail
Chartered Organization         Lakeside Presbyterian Church                                   Andrew Jackson Council 303                P.O. Box 5007                                         Brandon, MS 39047‐5007                                                                               First Class Mail
Chartered Organization         Lakeside Presbyterian Church                                   Andrew Jackson Council 303                2070 Spillway Rd                                      Brandon, MS 39047‐6057                                                                               First Class Mail
Chartered Organization         Lakeside Presbyterian Church                                   Voyageurs Area 286                        4432 Mcculloch St                                     Duluth, MN 55804                                                                                     First Class Mail
Chartered Organization         Lakeside Presbyterian Church                                   Voyageurs Area 286                        4430 Mcculloch St                                     Duluth, MN 55804‐1936                                                                                First Class Mail
Chartered Organization         Lakeside Presbyterian Church                                   Dan Beard Council, Bsa 438                2690 Dixie Hwy                                        Lakeside Park, KY 41017‐2544                                                                         First Class Mail
Chartered Organization         Lakeside Presbyterian Church                                   Heart of Virginia Council 602             7343 Hermitage Rd                                     Richmond, VA 23228‐4342                                                                              First Class Mail
Chartered Organization         Lakeside Pto                                                   Circle Ten Council 571                    1100 Village Pkwy                                     Coppell, TX 75019‐6304                                                                               First Class Mail
Chartered Organization         Lakeside School Pto                                            Bay‐Lakes Council 635                     4991 S US Hwy 45                                      Oshkosh, WI 54902‐7461                                                                               First Class Mail
Voting Party                   Lakeside Umc                                                   c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lakeside United Methodist Church                               Attn: Randy Mcguire                       2925 NW 66                                            Oklahoma City, OK 73116                                            lumcpastor@lakesideumcokc.com     Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lakeside United Methodist Church                               Attn: Linda E Schultz                     1500 S Olive St                                       Pine Bluff, AR 71601                                               LakesidePB@arumc.org              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lakeside United Methodist Church ‐ Lake Worth                  c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lakeside United Methodist Church (85388)                       c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lakeside United Methodist Church (85388)                       c/o Bentz Law Firm                        Attn: Sean Bollman                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lakeside Utd Methodist Church                                  Coastal Georgia Council 099               5572 New Jesup Hwy                                    Brunswick, GA 31523‐1120                                                                             First Class Mail
Chartered Organization         Lakeside Utd Methodist Church                                  Bucktail Council 509                      420 1st St                                            Dubois, PA 15801‐3012                                                                                First Class Mail
Chartered Organization         Lakeside Utd Methodist Church                                  Sam Houston Area Council 576              P.O. Box 1028                                         Humble, TX 77347‐1028                                                                                First Class Mail
Chartered Organization         Lakeside Utd Methodist Church Men                              Gulf Stream Council 085                   1901 12th Ave S                                       Lake Worth Beach, FL 33461‐5714                                                                      First Class Mail
Chartered Organization         Lakeside Ward ‐ Lds Rincon Stake                               Catalina Council 011                      700 N Bonanza Ave                                     Tucson, AZ 85748‐1902                                                                                First Class Mail
Voting Party                   Lakeview Baptist Church                                        Attn: James Wilkerson                     1600 E Glenn Ave                                      Auburn, AL 36830                                                   jwilkerson@lakeviewbaptist.org    Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lakeview Community Assoc, Inc                                  Greater Niagara Frontier Council 380      1890 N Creek Rd                                       Lake View, NY 14085‐9507                                                                             First Class Mail
Chartered Organization         Lakeview Community Church                                      Seneca Waterways 397                      30 Long Pond Rd                                       Rochester, NY 14612‐1107                                                                             First Class Mail
Chartered Organization         Lakeview Community Parents Assoc                               Utah National Parks 591                   2599 W 370 N                                          Provo, UT 84601‐5103                                                                                 First Class Mail
Chartered Organization         Lakeview Design Center PTO                                     Middle Tennessee Council 560              455 Rural Hill Rd                                     Nashville, TN 37217‐4024                                                                             First Class Mail
Chartered Organization         Lakeview Hospital                                              Northern Star Council 250                 927 Churchill St W                                    Stillwater, MN 55082‐6605                                                                            First Class Mail
Chartered Organization         Lakeview Lions Club                                            President Gerald R Ford 781               1380 90th Ave                                         Lakeview, MI 48850‐9658                                                                              First Class Mail
Chartered Organization         Lakeview Medical Center                                        Chippewa Valley Council 637               1700 W Stout St                                       Rice Lake, WI 54868‐5000                                                                             First Class Mail
Chartered Organization         Lakeview Parent Teacher Org                                    Golden Empire Council 047                 3371 Brittany Way                                     El Dorado Hills, CA 95762‐3996                                                                       First Class Mail
Chartered Organization         Lakeview Parents Org                                           Utah National Parks 591                   1839 S 400 W                                          Orem, UT 84058‐7572                                                                                  First Class Mail
Chartered Organization         Lakeview Presbyterian Church                                   Southeast Louisiana Council 214           5914 Canal Blvd                                       New Orleans, LA 70124‐2954                                                                           First Class Mail
Chartered Organization         Lakeview Pst Assoc                                             Three Harbors Council 636                 9449 88th Ave                                         Pleasant Prairie, WI 53158‐2216                                                                      First Class Mail
Chartered Organization         Lakeview School Pto                                            Hoosier Trails Council 145 145            9090 S Strain Ridge Rd                                Bloomington, IN 47401‐8413                                                                           First Class Mail
Voting Party                   Lakeview UMC ‐ Waco                                            c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lakeview Umc, Waco                                             701 Ave C                                 Waco, TX 76705                                                                                                                                             First Class Mail
Voting Party                   Lakeview United Methodist                                      c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lakeview Utd Church Of Christ                                  Dan Beard Council, Bsa 438                8639 Columbia Rd                                      Maineville, OH 45039‐9502                                                                            First Class Mail
Chartered Organization         Lakeview/Urbandale Kiwanis Club                                Southern Shores Fsc 783                   113 Sunnyside Dr                                      Battle Creek, MI 49015‐3141                                                                          First Class Mail
Chartered Organization         Lakeville Lions Club                                           Lasalle Council 165                       P.O. Box 506                                          Lakeville, IN 46536‐0506                                                                             First Class Mail
Chartered Organization         Lakeville Lions Club                                           Northern Star Council 250                 P.O. Box 428                                          Lakeville, MN 55044‐0428                                                                             First Class Mail
Chartered Organization         Lakeville Rotary Club                                          Northern Star Council 250                 16575 Kenosha Ave                                     Lakeville, MN 55044‐9247                                                                             First Class Mail
Voting Party                   Lakeville United Methodist Church                              Attn: Susan Vreeland                      319 Main St                                           P.O. Box 614                      Lakeville, CT 06039              sgvreeland@comcast.net            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lakewood American Legion Post 178                              Denver Area Council 061                   1655 Simms St                                         Lakewood, CO 80215‐2611                                                                              First Class Mail
Chartered Organization         Lakewood Area Lions Club                                       President Gerald R Ford 781               14324 Nash Hwy                                        Lake Odessa, MI 48849‐9715                                                                           First Class Mail
Chartered Organization         Lakewood Baptist Church                                        Narragansett 546                          259 Atlantic Ave                                      Warwick, RI 02888                                                                                    First Class Mail
Chartered Organization         Lakewood Catholic Academy                                      Lake Erie Council 440                     14808 Lake Ave                                        Lakewood, OH 44107‐1352                                                                              First Class Mail
Chartered Organization         Lakewood Elementary Pta                                        Voyageurs Area 286                        5207 N Tischer Rd                                     Duluth, MN 55804‐3010                                                                                First Class Mail
Chartered Organization         Lakewood Elementary Pta                                        Great Lakes Fsc 272                       1500 Bogie Lake Rd                                    White Lake, MI 48383‐2726                                                                            First Class Mail
Chartered Organization         Lakewood Elementary Pto                                        Heart of America Council 307              14600 Lamar Ave                                       Overland Park, KS 66223‐2423                                                                         First Class Mail
Chartered Organization         Lakewood Elks Lodge 1570                                       Orange County Council 039                 12507 Carson St                                       Hawaiian Gardens, CA 90716‐1607                                                                      First Class Mail
Voting Party                   Lakewood First United Methodist Church                         Attn: Betty Mcclendon                     4300 Bellflower Blvd                                  Lakewood, CA 90713                                                 Betty@Bettymcclendon.com          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lakewood High School                                           Denver Area Council 061                   9700 W 8th Ave                                        Lakewood, CO 80215‐5807                                                                              First Class Mail
Chartered Organization         Lakewood Memorial Post 1286                                    Allegheny Highlands Council 382           174 Chautauqua Ave                                    Lakewood, NY 14750‐1725                                                                              First Class Mail
Chartered Organization         Lakewood Parent Teacher Club‐West Ottawa                       President Gerald R Ford 781               2134 W Lakewood Blvd                                  Holland, MI 49424‐1327                                                                               First Class Mail
Chartered Organization         Lakewood Police Dept                                           Denver Area Council 061                   445 S Allison Pkwy                                    Lakewood, CO 80226‐3133                                                                              First Class Mail
Chartered Organization         Lakewood Police Dept                                           Pacific Harbors Council, Bsa 612          9401 Lakewood Dr Sw                                   Lakewood, WA 98499‐3900                                                                              First Class Mail
Chartered Organization         Lakewood Presbyterian Church                                   Lake Erie Council 440                     14502 Detroit Ave                                     Lakewood, OH 44107‐4317                                                                              First Class Mail
Chartered Organization         Lakewood School Pta                                            Circle Ten Council 571                    3000 Hillbrook St                                     Dallas, TX 75214‐3412                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 184 of 442
                                                                                  Case 20-10343-LSS                                               Doc 8171                                             Filed 01/06/22                                                   Page 200 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                        Name                                                                                                         Address                                                                                                             Email              Method of Service
Voting Party                   Lakewood St Petersburg                                    c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lakewood United Methodist ‐ Jacksonville                  c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lakewood United Methodist Church                          Attn: Pastor Shuler Sitsch                         11330 Lovetta Rd                                                  Houston, TX 77070                                                   Shuler.sitsch@lakewoodumc.org     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lakewood United Methodist Church                          Attn: Eva Cherry & Patrick Littlefield             2443 Abrams Rd                                                    Dallas, TX 75214                                                    office@mylakewoodchurch.org       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lakewood United Methodist Church                          Attn: Pastor Michael Childs                        164 Shadyside Ave                                                 Lakewood, NY 14750                                                  lakewoodunitedmc@gmail.com        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lakewood United Methodist Church                          James E Coston Jr                                  145 Springside Path                                               Harvest, AL 35749                                                   jecoston@att.net                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lakewood United Methodist Church                          Attn: Rev Kim Teehan                               P.O. Box 3918                                                     Huntsville, AL 35810                                                jecoston@att.net                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lakewood United Methodist Church                          Attn: Sally Weisbarth                              157000 Detroit Ave                                                Lakewood, OH 44107                                                  financemanager@lkwdumc.org        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lakewood United Methodist Church                          Attn: Lumc Board of Trustees                       1390 Brentwood St                                                 Lakewood, CO 80214                                                  ben@lumc.net                      Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lakewood United Methodist Church (89307)                  c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lakewood Utd Methodist Church                             French Creek Council 532                           3856 W 10th St                                                    Erie, PA 16505‐3255                                                                                   First Class Mail
Chartered Organization         Lakewood Utd Methodist Church                             Lake Erie Council 440                              15700 Detroit Ave                                                 Lakewood, OH 44107‐3710                                                                               First Class Mail
Chartered Organization         Lakewood Utd Methodist Church                             Quapaw Area Council 018                            1922 Topf Rd                                                      North Little Rock, AR 72116‐7421                                                                      First Class Mail
Chartered Organization         Lakewood Utd Methodist Men                                Sam Houston Area Council 576                       11330 Louetta Rd                                                  Houston, TX 77070‐1358                                                                                First Class Mail
Chartered Organization         Lakewood Village Community Church                         Long Beach Area Council 032                        4515 Sunfield Ave                                                 Long Beach, CA 90808‐1041                                                                             First Class Mail
Chartered Organization         Lalumier Elementary School                                Greater St Louis Area Council 312                  1700 Jerome Ln                                                    Cahokia, IL 62206‐2329                                                                                First Class Mail
Voting Party                   Lamar Advertising Company                                 Attn: Criste Carnegie                              P.O. Box 66338                                                    Baton Rouge, LA 70896                                               lamar.credit@lamar.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lamar Christian Church                                    Rocky Mountain Council 063                         811 S Main St                                                     Lamar, CO 81052‐3430                                                                                  First Class Mail
Chartered Organization         Lamar Police Dept                                         Rocky Mountain Council 063                         505 S Main St                                                     Lamar, CO 81052‐3274                                                                                  First Class Mail
Voting Party                   Lamar United Methodist Church                             Attn: Warren Jeffords                              P.O. Box 103                                                      Lamar, SC 29069                                                     warrenj@jeffordsinsurance.com     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lamar United Methodist Church                             900 Poplar                                         Lamar, MO 64759                                                                                                                       cthieman30@hotmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lamar United Methodist Church (181127)                    c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lamar United Methodist Church (181127)                    c/o Bentz Law Firm                                 Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lamar University Police Dept                              Three Rivers Council 578                           211 Redbird Ln                                                    Beaumont, TX 77705‐9801                                                                               First Class Mail
Chartered Organization         Lamar Ward Lds Church                                     Santa Fe Trail Council 194                         1700 S 14th St                                                    Lamar, CO 81052‐4057                                                                                  First Class Mail
Chartered Organization         Lamb Investments, Lp                                      Chief Seattle Council 609                          231 River Run Rd                                                  Sequim, WA 98382‐8266                                                                                 First Class Mail
Chartered Organization         Lamb Of God Church                                        Southwest Florida Council 088                      P.O. Box 867                                                      Estero, FL 33929‐0867                                                                                 First Class Mail
Chartered Organization         Lamb Of God Lutheran Church                               Longhorn Council 662                               1401 Cross Timbers Rd                                             Flower Mound, TX 75028‐1276                                                                           First Class Mail
Chartered Organization         Lamb Of God Lutheran Church                               Attn: Lamb of Good Church & School Troop 340       6220 N Jones Blvd                                                 Las Vegas, NV 89130‐7292                                                                              First Class Mail
Voting Party                   Lambertville United Methodist Church                      Attn: Treasurer Lambertville Umc                   8169 Douglas Rd                                                   Lambertville, MI 48144                                              office@lambertvilleumc.org        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lambertville Utd Methodist Church                         Southern Shores Fsc 783                            P.O. Box 232                                                      Lambertville, MI 48144‐0232                                                                           First Class Mail
Chartered Organization         Lambs Fellowship Lake Elsinore                            California Inland Empire Council 045               21901 Railroad Canyon Rd                                          Lake Elsinore, CA 92532‐2707                                                                          First Class Mail
Chartered Organization         Lambuth Family Center                                     Denver Area Council 061                            2741 Federal Blvd                                                 Denver, CO 80211‐4115                                                                                 First Class Mail
Voting Party                   Lambuth Memorial United Methodist Church                  Attn: Treasurer, Lambuth Memorial Umc              1042 Hartsville Pike                                              Gallatin, TN 37066                                                  People.lambuthumc@gmail.com       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lamesa First United Methodist Church                      c/o Field Manning Stone Hawthorne & Aycock Pc      Attn: Robert Aycock                                               2112 Indiana Ave                   Lubbock, TX 79410                rmedearis@lubbocklawfirm.com      Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lamesa First United Methodist Church                      Attn: Secretary/Treasurer And/Or Pastor            312 N Austin Ave                                                  Lamesa, TX 79331                                                                                      First Class Mail
Voting Party                   Laminex                                                   P.O. Box 49457                                     Greenwood, SC 29649                                                                                                                   nichlowu@idshop.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lamkin Elementary Pto                                     Sam Houston Area Council 576                       11521 Telge Rd                                                    Cypress, TX 77429‐3386                                                                                First Class Mail
Chartered Organization         Lamorinda Adult Respite Ctr                               Mt Diablo‐Silverado Council 023                    433 Moraga Way                                                    Orinda, CA 94563‐4007                                                                                 First Class Mail
Firm                           Lamothe Law Firm LLC                                      Kristi Schubert                                    400 Poydras St, Ste. 1760                                         New Orleans, LA 70130                                               kschubert@lamothefirm.com         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lamoure Lions Club                                        Northern Lights Council 429                        403 S Main St                                                     Lamoure, ND 58458‐7411                                                                                First Class Mail
Voting Party                   Lampeter Umc                                              11001 Village Rd                                   Lampeter, PA 17602                                                                                                                                                      First Class Mail
Voting Party                   Lampeter Umc 11001 Village Rd Lampeter, Pa                c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lampeter Utd Methodist Church                             Pennsylvania Dutch Council 524                     Book & Village Rds                                                Lampeter, PA 17537                                                                                    First Class Mail
Chartered Organization         Lampstand Church                                          Greater St Louis Area Council 312                  655 S Airport Rd                                                  Decatur, IL 62521‐8717                                                                                First Class Mail
Chartered Organization         Lanark Lions Club                                         Blackhawk Area 660                                 101 S Broad St                                                    Lanark, IL 61046‐1203                                                                                 First Class Mail
Voting Party                   Lanark Umc                                                405 E Locust                                       Lanark, IL 61046                                                                                                                      pastormnolan@gmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lancaster & Numberland Cnty Sheriffs                      Heart of Virginia Council 602                      8293 Mary Ball Rd                                                 Lancaster, VA 22503‐2517                                                                              First Class Mail
Chartered Organization         Lancaster Christ Lutheran Church                          Blackhawk Area 660                                 250 S Grant St                                                    Lancaster, WI 53813‐1725                                                                              First Class Mail
Chartered Organization         Lancaster Congregational Ucc                              Blackhawk Area 660                                 225 S Madison St                                                  Lancaster, WI 53813‐1777                                                                              First Class Mail
Chartered Organization         Lancaster Elementary School Pta                           Central Florida Council 083                        6700 Sheryl Ann Dr                                                Orlando, FL 32809‐6543                                                                                First Class Mail
Chartered Organization         Lancaster Elks Lodge 1478                                 Greater Niagara Frontier Council 380               33 Legion Pkwy                                                    Lancaster, NY 14086‐2553                                                                              First Class Mail
Chartered Organization         Lancaster Fire Dept                                       Daniel Webster Council, Bsa 330                    25 Main St                                                        Lancaster, NH 03584‐3005                                                                              First Class Mail
Chartered Organization         Lancaster Fire Dept                                       Greater Niagara Frontier Council 380               5423 Broadway St                                                  Lancaster, NY 14086‐2148                                                                              First Class Mail
Chartered Organization         Lancaster Lions Club                                      Circle Ten Council 571                             422 S Centre Ave                                                  Lancaster, TX 75146‐3829                                                                              First Class Mail
Chartered Organization         Lancaster Lions Club‐ Pleasant Run                        Circle Ten Council 571                             713 Colgate Dr                                                    Lancaster, TX 75134‐2505                                                                              First Class Mail
Chartered Organization         Lancaster Lions Club Rolling Hills                        Circle Ten Council 571                             713 Colgate Dr                                                    Lancaster, TX 75134‐2505                                                                              First Class Mail
Chartered Organization         Lancaster Presbyterian Church                             Greater Niagara Frontier Council 380               5461 Broadway St                                                  Lancaster, NY 14086‐2127                                                                              First Class Mail
Chartered Organization         Lancaster Township Friends Of Scouting                    Moraine Trails Council 500                         318 Fanker Rd                                                     Harmony, PA 16037‐9222                                                                                First Class Mail
Voting Party                   Lancaster United Methodist Church                         Attn: Dayna J Rodriguez                            918 W Ave J                                                       Lancaster, CA 93536                                                 treasurer@lancasterunited.org     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lancaster United Methodist Church                         Attn: Joshua Wiggs                                 200 Stanford St                                                   Lancaster, KY 40444                                                 cward144@gmail.com                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lancaster Volunteer Ambulance Corps Inc                   Greater Niagara Frontier Council 380               40 Embry Pl                                                       Lancaster, NY 14086‐1703                                                                              First Class Mail
Chartered Organization         Lancaster Ward Lds Buffalo Stake                          Greater Niagara Frontier Council 380               127 William Kidder Rd                                             Lancaster, NY 14086‐9636                                                                              First Class Mail
Chartered Organization         Lancaster‐Fire Fighters Assoc                             Heart of New England Council 230                   1055 Main St                                                      Lancaster, MA 01523‐2571                                                                              First Class Mail
Chartered Organization         Lancaster‐Nashua Valley Council                           Heart of New England Council 230                   1980 Lunenburg Rd                                                 Lancaster, MA 01523‐2735                                                                              First Class Mail
Chartered Organization         Lancaster‐Volunteer Fire Auxiliaries                      Heart of New England Council 230                   1055 Main St                                                      Lancaster, MA 01523‐2571                                                                              First Class Mail
Chartered Organization         Lanco Aviation                                            Westark Area Council 016                           P.O. Box 550                                                      Farmington, AR 72730‐0550                                                                             First Class Mail
Voting Party                   Lander United Methodist Church (88427)                    c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lander Utd Methodist Church                               Chief Cornplanter Council, Bsa 538                 5582 Pa 957                                                       Russell, PA 16345                                                                                     First Class Mail
Chartered Organization         Landis Arboretum                                          Leatherstocking 400                                P.O. Box 186                                                      Esperance, NY 12066‐0186                                                                              First Class Mail
Chartered Organization         Landisburg Lions Club                                     c/o Deke & Cathy Gilbert                           2560 Shermans Valley Rd                                           Elliottsburg, PA 17024‐9000                                                                           First Class Mail
Chartered Organization         Landmark Church Of God                                    Piedmont Council 420                               2200 E Broad St                                                   Statesville, NC 28625‐4316                                                                            First Class Mail
Chartered Organization         Landpro Equipment                                         Seneca Waterways 397                               P.O. Box 265                                                      Hall, NY 14463‐0265                                                                                   First Class Mail
Chartered Organization         Landrum Utd Methodist Church                              Palmetto Council 549                               227 N Howard Ave                                                  Landrum, SC 29356‐1508                                                                                First Class Mail
Chartered Organization         Lane Chapel Cme                                           Norwela Council 215                                1007 Norma Ave                                                    Shreveport, LA 71103‐2651                                                                             First Class Mail
Chartered Organization         Lane Elementary                                           West Tennessee Area Council 559                    310 N Pkwy                                                        Jackson, TN 38305‐2712                                                                                First Class Mail
Voting Party                   Lane Memorial Umc                                         c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lane Memorial Utd Methodist Church                        Blue Ridge Mtns Council 599                        1201 Bedford Ave                                                  Altavista, VA 24517‐1205                                                                              First Class Mail
Chartered Organization         Lane Search And Rescue                                    Attn: John Miller                                  125 E 8th Ave                                                     Eugene, OR 97401‐2926                                                                                 First Class Mail
Voting Party                   Lanes Chapel United Methodist Church                      Attn: Rev D Jeff Gage                              8720 Old Jacksonville Hwy                                         Tyler, TX 75703                                                     jeff@laneschapel.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lanesville United Methodist Church                        Attn: Larry Cox/ Treasurer                         2575 St Johns Church Rd                                           Lanesville, IN 47136                                                lcox111960@gmail.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Langdon Elementary School Pta                             National Capital Area Council 082                  1900 Evarts St Ne                                                 Washington, DC 20018‐1304                                                                             First Class Mail
Chartered Organization         Langford Pta                                              Capitol Area Council 564                           2206 Blue Meadow Dr                                               Austin, TX 78744‐5016                                                                                 First Class Mail
Voting Party                   Langhorne Umc                                             c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Langhorne Utd Methodist Church                            Washington Crossing Council 777                    301 E Maple Ave                                                   Langhorne, PA 19047‐1667                                                                              First Class Mail
Chartered Organization         Langley Bible Church                                      Georgia‐Carolina 093                               P.O. Box 326                                                      Langley, SC 29834‐0326                                                                                First Class Mail
Chartered Organization         Langley C&Ma Church                                       Mount Baker Council, Bsa 606                       P.O. Box 322                                                      Langley, WA 98260‐0322                                                                                First Class Mail
Chartered Organization         Langley Christian Church                                  Colonial Virginia Council 595                      175 Fox Hill Rd                                                   Hampton, VA 23669‐2368                                                                                First Class Mail
Chartered Organization         Langley Elementary School                                 Laurel Highlands Council 527                       2940 Sheraden Blvd                                                Pittsburgh, PA 15204‐1785                                                                             First Class Mail
Chartered Organization         Langley Park Mccormick Elementary School                  National Capital Area Council 082                  8201 15th Ave                                                     Hyattsville, MD 20783‐2429                                                                            First Class Mail
Voting Party                   Langley United Methodist Church Of Aiken County           Attn: Rev J Robert Huggins                         106 Carriage Ct                                                   Greenwood, SC 29646                                                                                   First Class Mail
Voting Party                   Langley United Methodist Church Of Aiken County           Attn: Dana Evans                                   P. O. Box 161                                                     Langley, SC 29834                                                                                     First Class Mail
Chartered Organization         Langston Hughes Pto                                       Heart of America Council 307                       1101 George William Way                                           Lawrence, KS 66049‐5809                                                                               First Class Mail
Chartered Organization         Langtree Charter Academy                                  Piedmont Council 420                               154 Foundation Ct                                                 Mooresville, NC 28117‐9606                                                                            First Class Mail
Voting Party                   Language Resource Ctr Inc                                 4801 E Independence Blvd, Ste 303                  Charlotte, NC 28212‐5410                                                                                                                                                First Class Mail
Voting Party                   Lanham United Methodist Church                            Attn: Barbara B Hutchinson                         5512 Whitfield Chapel Rd                                          Lanham, MD 20706                                                    lumc@lumcmd.org                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lanier County Lions Club                                  South Georgia Council 098                          P.O. Box 187                                                      Lakeland, GA 31635‐0187                                                                               First Class Mail
Chartered Organization         Lanier High School                                        Andrew Jackson Council 303                         833 Maple St                                                      Jackson, MS 39203‐3844                                                                                First Class Mail
Chartered Organization         Lanier Hills Church                                       Northeast Georgia Council 101                      3129 Duckett Mill Rd                                              Gainesville, GA 30506‐4127                                                                            First Class Mail
Firm                           Lanier Law Group, PA                                      Attn: Robert Jenkins                               4915 Piedmont Pkwy, Ste 104                                       Jamestown, NC 27282                                                 rjenkins@lanierlawgroup.com       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lanier Safety Llc                                         Northeast Georgia Council 101                      4366 Sugar Leaf Dr                                                Oakwood, GA 30566‐2132                                                                                First Class Mail
Voting Party                   Lanier United Methodist 1979 Buford Hwy Cumming, Ga 30    c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lanier Utd Methodist Church                               Northeast Georgia Council 101                      1979 Hwy 20                                                       Cumming, GA 30041                                                                                     First Class Mail
Chartered Organization         Lanier Utd Methodist Church                               Northeast Georgia Council 101                      1979 Buford Hwy                                                   Cumming, GA 30041‐8203                                                                                First Class Mail
Chartered Organization         Lanier Utd Methodist Church                               Northeast Georgia Council 101                      1979 Buford Hwy                                                   Cumming, GA 30041‐8203                                                                                First Class Mail
Chartered Organization         Lanigan School Pta                                        Great Lakes Fsc 272                                23800 Tuck Rd                                                     Farmington Hills, MI 48336‐2769                                                                       First Class Mail
Chartered Organization         Lannon‐Falls Lions Club                                   Potawatomi Area Council 651                        P.O. Box 473                                                      Lannon, WI 53046‐0473                                                                                 First Class Mail
Chartered Organization         Lannoye Elementary School Pto                             Bay‐Lakes Council 635                              2007 County Rd U                                                  Green Bay, WI 54313‐4412                                                                              First Class Mail
Chartered Organization         Lansdale Lions Club                                       Cradle of Liberty Council 525                      P.O. Box 304                                                      Lansdale, PA 19446‐0304                                                                               First Class Mail
Voting Party                   Lansdowne United Methodist Church (Lumc)                  Attn: Brian Bailey                                 114 Laverne Ave                                                   Balitmore, MD 21227                                                 office@lansdowneumc.org           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         L'Anse Area Parent Committee                              Bay‐Lakes Council 635                              302 Young St                                                      Baraga, MI 49908‐9661                                                                                 First Class Mail
Voting Party                   L'Anse United Methodist Church                            Attn: Sally Klassen‐L'Anse Umc                     304 N Main                                                        L'Anse, MI 49946                                                    natereed1977@gmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   L'Anse United Methodist Church                            Nathan Thomas Reed                                 304 N Main                                                        L'Anse, MI 49946                                                    natereed1977@gmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lansing Elementary School                                 Denver Area Council 061                            551 Lansing St                                                    Aurora, CO 80010‐4614                                                                                 First Class Mail
Voting Party                   Lansing First United Methodist Church                     Attn: Treasurer                                    3827 Delta River Dr                                               Lansing, MI 48906                                                   office@lansingfirst.org           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lansing First United Methodist Church                     18420 Burnham Ave                                  Lansing, IL 60438                                                                                                                     3fishandaloaf@sbcglobal.net       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lansing Housing Commission                                Water and Woods Council 782                        310 Seymour Ave                                                   Lansing, MI 48933‐1136                                                                                First Class Mail
Chartered Organization         Lansing Lions Club                                        Baden‐Powell Council 368                           P.O. Box 82                                                       Lansing, NY 14882‐0082                                                                                First Class Mail
Chartered Organization         Lansing Police Dept                                       Pathway To Adventure 456                           2710 E 170th St                                                   Lansing, IL 60438‐1110                                                                                First Class Mail
Chartered Organization         Lansing Police Explorer Post                              Water and Woods Council 782                        120 W Michigan Ave                                                Lansing, MI 48933‐1603                                                                                First Class Mail
Voting Party                   Lansing United Methodist Church                           Attn: Alison Schmied                               32 Brickyard Rd                                                   Lansing, NY 14882                                                   pastor@lansingunited.org          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lantana Cares                                             Longhorn Council 662                               10185 Lantana Trl                                                 Lantana, TX 76226‐6485                                                                                First Class Mail
Chartered Organization         Lantana Community Fellowship                              Longhorn Council 662                               2200 E Jeter Rd                                                   Bartonville, TX 76226‐8439                                                                            First Class Mail
Chartered Organization         Lantana Police Dept                                       Gulf Stream Council 085                            500 Greynolds Cir                                                 Lantana, FL 33462‐4544                                                                                First Class Mail
Voting Party                   Laona Emmanuel United Methodist Church                    Attn: Dan Lawrence & Michael Steven Spell          9636 Wilson Rd                                                    Fredonia, NY 14063                                                  bereconciled520@yahoo.com         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Laos Outreach Ctr                                         Heart of Virginia Council 602                      333 E Poythress St                                                Hopewell, VA 23860‐7811                                                                               First Class Mail
Chartered Organization         Lapeer Law Enforcement                                    Water and Woods Council 782                        3231 John Conley Dr                                               Lapeer, MI 48446‐2987                                                                                 First Class Mail
Chartered Organization         Lapeer Teamwork                                           Water and Woods Council 782                        P.O. Box 720                                                      Lapeer, MI 48446‐0720                                                                                 First Class Mail
Voting Party                   Laplace First United Methodist Church                     Attn: Jason Harris                                 3010 Bamboo Rd                                                    Laplace, LA 70068                                                   fumcoffice@hotmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Laplata Police Dept                                       National Capital Area Council 082                  101 La Grange Ave                                                 La Plata, MD 20646‐9503                                                                               First Class Mail
Chartered Organization         Laporte Community Church                                  Sam Houston Area Council 576                       202 S 1st St                                                      La Porte, TX 77571‐5109                                                                               First Class Mail
Chartered Organization         Laporte Police Dept                                       Sam Houston Area Council 576                       3001 N 23rd St                                                    La Porte, TX 77571‐3185                                                                               First Class Mail
Chartered Organization         Laporte Presbyterian Church                               Longs Peak Council 062                             P.O. Box 387                                                      Laporte, CO 80535‐0387                                                                                First Class Mail
Voting Party                   Lapp, Libra, Stoebner, & Pusch, Chartered                 Andrew James Stoebner                              120 S 6th St, Ste 2500                                            Minneapolis, MN 55402                                               astoebner@lapplibra.com           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Laradon Hall                                              Denver Area Council 061                            5100 Lincoln St                                                   Denver, CO 80216‐2056                                                                                 First Class Mail
Voting Party                   Laramie First United Methodist Church                     Attn: Administrative Assistant & Heather Thieken   1215 E Gibbon St                                                  Laramie, WY 82072                                                   office@laramieumc.org             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Larchmont Umc                                             c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Larchmont Utd Methodist Church                            Tidewater Council 596                              1101 Jamestown Cres                                               Norfolk, VA 23508‐1275                                                                                First Class Mail
Chartered Organization         Laredo Church Of The Crossroads                           South Texas Council 577                            1301 International Blvd                                           Laredo, TX 78045‐1949                                                                                 First Class Mail
Chartered Organization         Laredo Police Dept Explorers                              South Texas Council 577                            4712 Maher Ave                                                    Laredo, TX 78041‐3856                                                                                 First Class Mail
Chartered Organization         Largo Community Church                                    National Capital Area Council 082                  1701 Enterprise Rd                                                Mitchellville, MD 20721‐2213                                                                          First Class Mail
Chartered Organization         Largo Elks Lodge 2159 Bpoe                                Greater Tampa Bay Area 089                         810 16th Ave Se                                                   Largo, FL 33771‐4441                                                                                  First Class Mail
Chartered Organization         Larimer County Sheriff'S Dept                             Longs Peak Council 062                             P.O. Box 1190                                                     Fort Collins, CO 80522‐1190                                                                           First Class Mail
Voting Party                   Larimore United Methodist Church                          Attn: Pastor Raenelle Sorensen                     P.O. Box 537                                                      Larimore, ND 58251                                                  theyoke@centurylink.net           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Larimore United Methodist Church                          Raenelle Mae Sorensen                              203 W 3rd St                                                      P.O. Box 537                       Larimore, ND 58251                                                 First Class Mail
Voting Party                   Larned First Umc                                          c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 185 of 442
                                                                                  Case 20-10343-LSS                                                Doc 8171                                               Filed 01/06/22                                                     Page 201 of 457
                                                                                                                                                                                             Exhibit B
                                                                                                                                                                                              Service List
                                                                                                                                                                                       Served as set forth below

        Description                                                        Name                                                                                                            Address                                                                                                            Email                 Method of Service
Voting Party                   Larry M Gibson                                                        c/o Boy Scouts of America               Attn: Chase Koontz                                                  1325 W Walnut Hill Ln               Irving, TX 75015                  chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Larry Nicholas Dotin                                                  912 Cr 1270                             Detroit, TX 75439                                                                                                                         ranch.lb@gmail.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Larry W Johnson                                                       P.O. Box 502                            Iowa Falls, IA 50126                                                                                                                      wjlaw@qwestoffice.net             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Larry'S Inspection Sevices Llc                                        Trapper Trails 589                      5112 S 3550 W                                                       Roy, UT 84067‐9442                                                                                      First Class Mail
Chartered Organization         Larue County High School                                              Lincoln Heritage Council 205            925 S Lincoln Blvd                                                  Hodgenville, KY 42748‐1701                                                                              First Class Mail
Chartered Organization         Larue County Middle School                                            Lincoln Heritage Council 205            911 S Lincoln Blvd                                                  Hodgenville, KY 42748‐1701                                                                              First Class Mail
Chartered Organization         Las Aspiras Academy                                                   Del Mar Va 081                          326 Ruthar Dr                                                       Newark, DE 19711‐8017                                                                                   First Class Mail
Chartered Organization         Las Cruces Catholic Schools                                           Yucca Council 573                       1327 N Miranda St                                                   Las Cruces, NM 88005‐2055                                                                               First Class Mail
Chartered Organization         Las Sendas Parent‐Teacher Org                                         Grand Canyon Council 010                3120 N Red Mtn                                                      Mesa, AZ 85207‐1068                                                                                     First Class Mail
Chartered Organization         Las Vegas Elk 1468                                                    Las Vegas Area Council 328              4100 W Charleston Blvd                                              Las Vegas, NV 89102‐1623                                                                                First Class Mail
Chartered Organization         Las Vegas Fire Dept Post 740                                          Las Vegas Area Council 328              500 N Casino Center Blvd                                            Las Vegas, NV 89101‐2944                                                                                First Class Mail
Chartered Organization         Las Vegas Metropolitan Police Dept                                    Las Vegas Area Council 328              400 S Martin L King Blvd                                            Las Vegas, NV 89106‐4372                                                                                First Class Mail
Chartered Organization         Las Vegas Metropolitan Police Dept Csi                                Attn: Explorers                         400 S Martin L King Blvd                                            Las Vegas, NV 89106‐4372                                                                                First Class Mail
Chartered Organization         Las Vegas Woods & Waters Club                                         Las Vegas Area Council 328              P.O. Box 29081                                                      Las Vegas, NV 89126‐3081                                                                                First Class Mail
Chartered Organization         Las Virgenes Scouting Alumni Assoc                                    W.L.A.C.C. 051                          29055 Lakeshore Dr                                                  Agoura, CA 91301‐2800                                                                                   First Class Mail
Voting Party                   Lasa, Monroig & Veve, LLP                                             Attn: David A Dopsovic                  1250 Connecticut Ave Nw, Ste 700                                    Washington, DC 20036                                                  ddopsovic@lmvlaw.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Lasalle Catholic School                                               Northeast Iowa Council 178              835 Church St                                                       Holy Cross, IA 52053‐9795                                                                               First Class Mail
Voting Party                   Lasalle Council Bsa 165                                               Attn: John M Cary                       1340 S Bend Ave                                                     South Bend, IN 46628                                                  john.cary@scouting.org            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Lasalle Township Fire Dept                                            Southern Shores Fsc 783                 P.O. Box 46                                                         La Salle, MI 48145‐0046                                                                                 First Class Mail
Chartered Organization         Lasalle Veterans Memorial                                             W D Boyce 138                           Of Foreign Wars Post 4668                                           La Salle, IL 61301                                                                                      First Class Mail
Chartered Organization         Lasan Foundation                                                      Sam Houston Area Council 576            14562 Cypress North Houston Rd                                      Cypress, TX 77429‐3315                                                                                  First Class Mail
Voting Party                   Lascassas United Methodist Church                                     Attn: James T Smythe                    P.O. Box 51                                                         Lascassas, TN 37085                                                   jim@jsmytheleasing.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Lasd ‐ Santa Clarita                                                  Greater Los Angeles Area 033            23740 Magic Mountain Pkwy                                           Santa Clarita, CA 91355‐2102                                                                            First Class Mail
Chartered Organization         Lasd Lakewood Station                                                 Greater Los Angeles Area 033            5130 Clark Ave                                                      Lakewood, CA 90712‐2605                                                                                 First Class Mail
Chartered Organization         Laser Surgical Solutions Rgv                                          Rio Grande Council 775                  904 N Jackson Rd                                                    Mcallen, TX 78501                                                                                       First Class Mail
Chartered Organization         Laser Works Of East Tn Llc                                            Sequoyah Council 713                    7896 Blue Springs Pkwy                                              Mosheim, TN 37818‐3730                                                                                  First Class Mail
Chartered Organization         Lashmeet Church Of God                                                Buckskin 617                            P.O. Box 339                                                        Lashmeet, WV 24733‐0339                                                                                 First Class Mail
Voting Party                   Last Frontier Council                                                 Attn: William H Hoch                    324 N Robinson Ave, Ste 100                                         Oklahoma City, OK 73102                                               will.hoch@crowedunlevy.com        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         LATHAM & WATKINS LLP                                                  Adam J. Goldberg, Robert J. Malionek    Madeleine C. Parish, Benjamin A. Dozier                             1271 Avenue of the Americas         New York, NY 10020‐1401                                             First Class Mail
Chartered Organization         LATHAM & WATKINS LLP                                                  Jeffrey E. Bjork                        Deniz A. Irgi                                                       355 South Grand Avenue, Suite 100   Los Angeles, CA 90071‐1560                                          First Class Mail
Chartered Organization         Latham Colonie Knights Of Columbus 3394                               Twin Rivers Council 364                 328 Troy Schenectady Rd                                             Latham, NY 12110‐3330                                                                                   First Class Mail
Chartered Organization         Latham Community Baptist Church                                       Twin Rivers Council 364                 109 Forts Ferry Rd                                                  Latham, NY 12110‐1826                                                                                   First Class Mail
Chartered Organization         Latham Utd Methodist Church                                           Greater Alabama Council 001             P.O. Box 4267                                                       Huntsville, AL 35815‐4267                                                                               First Class Mail
Chartered Organization         Lathers School Pta                                                    Great Lakes Fsc 272                     28351 Marquette St                                                  Garden City, MI 48135‐3045                                                                              First Class Mail
Chartered Organization         Lathrop Jrotc                                                         Midnight Sun Council 696                901 Airport Way                                                     Fairbanks, AK 99701‐6064                                                                                First Class Mail
Chartered Organization         Lathrop Rotary Club                                                   Greater Yosemite Council 059            1401 Somerston Pkwy                                                 Lathrop, CA 95330                                                                                       First Class Mail
Chartered Organization         Lathrop School Pto                                                    Blackhawk Area 660                      2603 Clover Ave                                                     Rockford, IL 61102‐3471                                                                                 First Class Mail
Chartered Organization         Latin American Chamber Commerce Utah                                  Utah National Parks 591                 385 W Center St Ovo                                                 Provo, UT 84601                                                                                         First Class Mail
Chartered Organization         Latin American Community Center                                       Long Beach Area Council 032             1906 E Anaheim St                                                   Long Beach, CA 90813‐3908                                                                               First Class Mail
Chartered Organization         Latin American Community Center                                       Del Mar Va 081                          403 N Van Buren St                                                  Wilmington, DE 19805‐3243                                                                               First Class Mail
Chartered Organization         Latin American Community Center Lewes                                 Del Mar Va 081                          403 N Van Buren St                                                  Wilmington, DE 19805‐3243                                                                               First Class Mail
Chartered Organization         Latin Grammar School                                                  Atlanta Area Council 092                2626 Hogan Rd                                                       East Point, GA 30344‐3827                                                                               First Class Mail
Chartered Organization         Latrobe Elementary School                                             Westmoreland Fayette 512                20 Cedar St                                                         Latrobe, PA 15650‐2964                                                                                  First Class Mail
Voting Party                   Latrobe United Methodist Church (98120)                               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Latta Rotary Club                                                     Pee Dee Area Council 552                408 N Marion St                                                     Latta, SC 29565                                                                                         First Class Mail
Chartered Organization         Latter Day Saints                                                     Winnebago Council, Bsa 173              3006 Pleasant Dr                                                    Cedar Falls, IA 50613                                                                                   First Class Mail
Chartered Organization         Latter Day Saints                                                     Tuscarora Council 424                   1000 11th St                                                        Goldsboro, NC 27534‐1618                                                                                First Class Mail
Chartered Organization         Latter Day Saints Church                                              Piedmont Council 420                    426Jane Sowers Rd                                                   Statesville, NC 28625                                                                                   First Class Mail
Chartered Organization         Latter Day Saints Church First Ward                                   French Creek Council 532                1101 S Hill Rd                                                      Erie, PA 16509‐4829                                                                                     First Class Mail
Chartered Organization         Latter Day Saints Conover Ward                                        Piedmont Council 420                    3931 Deer Run Dr Ne                                                 Conover, NC 28613‐9486                                                                                  First Class Mail
Chartered Organization         Latter Day Saints Of Mooresville                                      Piedmont Council 420                    148 Lazy Ln                                                         Mooresville, NC 28117                                                                                   First Class Mail
Chartered Organization         Latter Day Saints, Westlake Ward                                      Calcasieu Area Council 209              Orange Texas Stake                                                  Lake Charles, LA 70601                                                                                  First Class Mail
Chartered Organization         Latter Day Saints‐Kutztown Ward                                       Hawk Mountain Council 528               190 Kohler Rd                                                       Kutztown, PA 19530                                                                                      First Class Mail
Chartered Organization         Latter‐Day‐Saints                                                     Evangeline Area 212                     116 W Bluebird St                                                   Lafayette, LA 70508‐6904                                                                                First Class Mail
Chartered Organization         Latvian Assoc Of Cleveland                                            Lake Erie Council 440                   1385 Andrews Ave                                                    Lakewood, OH 44107‐2405                                                                                 First Class Mail
Chartered Organization         Latvian Evangelical Lutheran Ch Of N Y                                Greater New York Councils, Bsa 640      4 Riga Ln                                                           Melville, NY 11747‐3406                                                                                 First Class Mail
Chartered Organization         Latvian Evangelical Lutheran Church                                   Greater New York Councils, Bsa 640      4 Riga Ln                                                           Melville, NY 11747‐3406                                                                                 First Class Mail
Voting Party                   Lauckport United Methodist Church (Parkersburg, Wv)                   Attn: Raymond Maleke                    705 Williams Ave                                                    Williamstown, WV 26187                                                ray_maleke@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Lauckport Utd Methodist Church                                        Buckskin 617                            908 Camden Ave                                                      Parkersburg, WV 26101‐5529                                                                              First Class Mail
Chartered Organization         Lauderdale Lakes Moose Lodge 2267                                     South Florida Council 084               6191 Rock Island Rd                                                 Tamarac, FL 33319‐2530                                                                                  First Class Mail
Chartered Organization         Laughlin Memorial Chapel                                              Ohio River Valley Council 619           129 1/2 18th St                                                     Wheeling, WV 26003‐3700                                                                                 First Class Mail
Voting Party                   Laughlin, Jeffrey Colin                                               Address Redacted                                                                                                                                                                                                    First Class Mail
Chartered Organization         Laura C Saunders Pta                                                  South Florida Council 084               505 SW 8th St                                                       Homestead, FL 33030‐7163                                                                                First Class Mail
Voting Party                   Laura Conrad                                                          c/o Fort Hill Presbyterian              101 Edgewood Ave                                                    Clemson, SC 29631                                                     laura.conrad@forthillchurch.org   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Laura Dodge Elementary School Pta                                     Mid‐America Council 326                 3520 Maplewood Blvd                                                 Omaha, NE 68134‐4562                                                                                    First Class Mail
Chartered Organization         Laura Ingalls Wilder Elementary                                       Mid Iowa Council 177                    2303 W Euclid Ave                                                   Indianola, IA 50125‐2024                                                                                First Class Mail
Chartered Organization         Laurel City Police Dept                                               National Capital Area Council 082       811 5th St                                                          Laurel, MD 20707‐5103                                                                                   First Class Mail
Voting Party                   Laurel Grove Umc (182634)                                             c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Laurel Heights Umc                                                    Attn: Amy Caldwell                      227 West Woodlawn Ave                                               San Antonio, TX 78212                                                 acaldwell@mylhumc.org             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Laurel Hill Elementary School Pta                                     National Capital Area Council 082       8390 Laurel Crest Dr                                                Lorton, VA 22079‐5691                                                                                   First Class Mail
Voting Party                   Laurel Hill Umc                                                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Laurel Hill Utd Methodist Church                                      Heart of Virginia Council 602           1919 New Market Rd                                                  Richmond, VA 23231‐6840                                                                                 First Class Mail
Chartered Organization         Laurel Housing Authority                                              Pine Burr Area Council 304              50 Brown Cir                                                        Laurel, MS 39440‐5512                                                                                   First Class Mail
Chartered Organization         Laurel Housing Authority Beacon Homes                                 Pine Burr Area Council 304              911 Home St                                                         Laurel, MS 39440‐4472                                                                                   First Class Mail
Chartered Organization         Laurel Lions                                                          Moraine Trails Council 500              2595 Eastbrook Volant Rd                                            New Castle, PA 16105‐6327                                                                               First Class Mail
Chartered Organization         Laurel Lions Club                                                     Mid‐America Council 326                 57197 877 Rd                                                        Laurel, NE 68745‐1941                                                                                   First Class Mail
Chartered Organization         Laurel Music Camp Inc                                                 Connecticut Rivers Council, Bsa 066     169 Camp Workcoeman Rd                                              New Hartford, CT 06057‐4242                                                                             First Class Mail
Chartered Organization         Laurel Oak Christian Church                                           Old N State Council 070                 1001 Old Plank Rd                                                   High Point, NC 27265‐9247                                                                               First Class Mail
Voting Party                   Laurel Run Umc (Beech Creek)                                          c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Laurel Trinity Lutheran Church                                        Laurel Highlands Council 527            P.O. Box 185                                                        Jennerstown, PA 15547‐0185                                                                              First Class Mail
Voting Party                   Laurel United Methodist Church                                        Attn: Treasurer/Secretary Laurel Umc    P.O. Box 1055                                                       Laurel, MT 59044                                                      Umclaurel@gmail.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Laurel United Methodist Church                                        631 S Grand Ave W                       Springfield, IL 62704                                                                                                                     prouse@laurelumchurch.org         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Laurel Utd Methodist Church                                           Montana Council 315                     307 W 4th St                                                        Laurel, MT 59044‐2731                                                                                   First Class Mail
Chartered Organization         Laurel Woods Assoc LLP                                                Northeastern Pennsylvania Council 501   3009 Azalea Way                                                     Scranton, PA 18505‐9203                                                                                 First Class Mail
Chartered Organization         Laureldale Volunteer Fire Co                                          Jersey Shore Council 341                2657 Route 50                                                       Mays Landing, NJ 08330‐3782                                                                             First Class Mail
Chartered Organization         Laurel‐London Optimist Club                                           Blue Grass Council 204                  P.O. Box 906                                                        London, KY 40743‐0906                                                                                   First Class Mail
Chartered Organization         Laurelton Utd Presbyterian Church                                     Seneca Waterways 397                    335 Helendale Rd                                                    Rochester, NY 14609‐4404                                                                                First Class Mail
Chartered Organization         Laurelville Volunteer Fire Dept                                       Simon Kenton Council 441                18751 Main St                                                       Laurelville, OH 43135‐7518                                                                              First Class Mail
Voting Party                   Lauren Anne Busky                                                     4106 Chardel Rd, Unit 3D                Nottingham, MD 21236                                                                                                                      labusky@comcast.net               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Laurens American Legion Post 1688                                     Leatherstocking 400                     Main St                                                             Laurens, NY 13796                                                                                       First Class Mail
Chartered Organization         Laurinburg Fire Dept Volunteer                                        Cape Fear Council 425                   501 N Main St                                                       Laurinburg, NC 28352‐3129                                                                               First Class Mail
Chartered Organization         Laurinburg Presbyterian Church                                        Cape Fear Council 425                   600 W Church St                                                     Laurinburg, NC 28352‐3547                                                                               First Class Mail
Voting Party                   Lavale United Methodist Church                                        Attn: Treasurer, Lavale Umc             565 National Hwy                                                    Lavale, MD 21502                                                      churchoffice@umclavale.org        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Lavalette United Methodist Church                                     Attn: Greg Adkins (Treasurer)           P.O. Box 478/ 4623 Rt 152                                           Lavalette, WV 25535                                                   rdstonestreet@gmail.com           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Lavalette Utd Methodist Church                                        Buckskin 617                            P.O. Box 478                                                        Lavalette, WV 25535‐0478                                                                                First Class Mail
Chartered Organization         Lavarnway Boys & Girls Club                                           Three Harbors Council 636               2739 N 15th St                                                      Milwaukee, WI 53206‐2121                                                                                First Class Mail
Chartered Organization         Laveen Community Council                                              Grand Canyon Council 010                P.O. Box 488                                                        Laveen, AZ 85339‐0488                                                                                   First Class Mail
Chartered Organization         Lavergne First Utd Methodist Church                                   Middle Tennessee Council 560            248 Old Waldron Rd                                                  La Vergne, TN 37086‐4402                                                                                First Class Mail
Chartered Organization         Laveta Bauer Parent Teachers                                          Miami Valley Council, Bsa 444           701 N Springboro Pikeboro Pike                                      Dayton, OH 45449                                                                                        First Class Mail
Voting Party                   Laveta United Methodist Church                                        Attn: Pastor, Laveta Umc                P.O. Box 217                                                        Laveta, CO 81055                                                      lvumchurch@gmail.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Laveta United Methodist Church                                        Attn: Janine A Rose                     P.O. Box 895                                                        Laveta, CO 81055                                                      lvumchurch@gmail.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Lavon Police Dept                                                     Circle Ten Council 571                  P.O. Box 340                                                        Lavon, TX 75166‐0340                                                                                    First Class Mail
Voting Party                   Lavonia First                                                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Lavonia First                                                         25 Baker St                             Lavonia, GA 30553                                                                                                                                                           First Class Mail
Chartered Organization         Lavonia First Utd Methodist Church                                    Northeast Georgia Council 101           25 Baker St                                                         Lavonia, GA 30553‐1857                                                                                  First Class Mail
Chartered Organization         Lavonia Utd Methodist Church                                          Northeast Georgia Council 101           25 Baker St                                                         Lavonia, GA 30553‐1857                                                                                  First Class Mail
Chartered Organization         Law Elementary Pto                                                    Sam Houston Area Council 576            12401 S Coast Dr                                                    Houston, TX 77047‐2736                                                                                  First Class Mail
Chartered Organization         Law Enforcement Assoc ‐ Cedarburg                                     c/o Joe Kell                            Bay‐Lakes Council 635                                               W75N444 Wauwatosa Rd                Cedarburg, WI 53012                                                 First Class Mail
Chartered Organization         Law Enforcement Explorer Post                                         Colonial Virginia Council 595           10188 Warwick Blvd                                                  Newport News, VA 23601‐4239                                                                             First Class Mail
Chartered Organization         Law Enforcement Explorer Post 227                                     Westark Area Council 016                235 E Henri De Tonti Blvd                                           Springdale, AR 72762                                                                                    First Class Mail
Chartered Organization         Law Enforcement Senior High                                           South Florida Council 084               3300 NW 27th Ave                                                    Miami, FL 33142‐5881                                                                                    First Class Mail
Firm                           Law of Benjamin A. Pepper, PPLC                                       Benjamin Andrew Pepper                  1414 F Street                                                       Bellingham, WA 98225                                                  ben@bpepperlaw.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Firm                           Law Office Douglas P. Mayer                                           Douglas P. Mayer                        114 Old Country Road, Ste 248                                       Mineola, NY 11501                                                     email@douglasmayer.com            Email
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Firm                           Law Office of Alara T. Chilton                                        Alara T. Chilton                        9116 Northcote Road                                                 Santee, CA 92071                                                      alarachilton@gmail.com            Email
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Firm                           Law Office of Carmen L. Durso                                         Carmen L. Durso                         175 Federal St., Ste. 1425                                          Boston, MA 02110                                                      carmen@dursolaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Law Office Of Daniel K Usiak, Pc                                      Attn: Daniel K Usiak Jr                 18 E Willamette Ave                                                 Colorado Springs, CO 80903                                            daniel@usiaklaw.com               Email
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Firm                           Law Office of David W. Smith                                          David W. Smith                          5020 Clark Road #Y12                                                Sarasota, Florida 34233                                                                                 First Class Mail
Firm                           Law Office of Elliott Kanter                                          Elliot Kanter                           2445 5th Ave. Ste. 350                                              San Diego, CA 92101                                                   ekanter@enkanter.com              Email
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Firm                           Law Office of Elliott Katsnelson                                      Elliott Katsnelson                      1711 Kings Highway                                                  Brooklyn, NY 11229                                                    talkwithlawyer@aol.com            Email
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Firm                           Law Office of Frank Bogulski                                          Frank Bogulski, Esq.                    286 Delaware Ave., Ste. B                                           Buffalo, NY 14202                                                     Fbogulski@yahoo.com               Email
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Firm                           Law Office of Gregory J. Stacker, LLC and Gass, Weber, Mullins, LLC   1220 N. 6th Street, Suite 3             Wausau, WI 54403                                                                                                                                                            First Class Mail
Voting Party                   Law Office Of Jennifer M Campbell                                     Attn: Jennifer M Campbell               5 Ward St                                                           Frenchtown, NJ 08825                                                  jmc@jcampbellesq.com              Email
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Firm                           Law Office of John F. Wolcott                                         John F. Wolcott                         3318 Del Mar Ave Ste 202                                            Rosemead, CA 91770                                                    wolcottlaw@aol.com                Email
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Voting Party                   Law Office Of John R Green                                            John Ray Green                          1106 W Maple                                                        Duncan, OK 73533                                                      johnrgreen@sbcglobal.net          Email
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Firm                           Law Office of Joseph A. Bluemel, III, P.S                             Joseph A. Blumel, III                   4407 N Division St. Ste 900                                         Spokane, WA 99207                                                     joseph@blumellaw.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Firm                           Law Office of Joseph H. Skerry, III                                   Joseph H. Skerry, III                   304 Cambridge Road Ste 520                                          Woburn, MA 01801                                                      jayskerry@gmail.com               Email
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Firm                           Law Office of Joshua Twombley, LLC                                    Joshua Twombley                         515 W Sycamore                                                      Kokomo, IN 46901                                                      jt@kokomobankruptcylaw.com        Email
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Firm                           Law Office of Kirk C. Davis                                           Kirk C. Davis                           1218 3rd Ave., Ste 1000                                             Seattle, WA 98101                                                     kirk@kirkdavislaw.com             Email
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Firm                           Law Office of L. Paul Mankin                                          L. Paul Mankin, Esq.                    4655 Cass Street, Ste 410                                           San Diego, CA 92109                                                   pmankin@paulmankin.com            Email
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Voting Party                   Law Office Of Leah K Wintemute                                        Attn: Leah K Wintemute                  13 Woodbrook Rd                                                     Hampton, NJ 08827                                                     reedev1@comcast.net               Email
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Voting Party                   Law Office Of Lesley A Hoenig                                         Lesley A Hoenig                         108 S University Ave, Ste 3                                         Mt Pleasant, MI 48858                                                 lesley@hoeniglaw.com              Email
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Firm                           Law Office of Marco Simons                                            Marco Simons                            631 Ritchie Ave                                                     Silver Spring, MD 20910                                               marco.b.simons@gmail.com          Email
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Firm                           Law Office of Matthew Borgquist                                       Matthew Borgquist                       620 S. Melrose Dr. Ste 101                                          Vista, CA 92081                                                       matthew@borgquistlaw.com          Email
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Voting Party                   Law Office Of Melody D Genson                                         Melody D Genson                         2750 Ringling Blvd, Ste 3                                           Sarasota, FL 34237                                                    melodygenson@verizon.net          Email
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Firm                           Law Office of Michael G. Dowd and Sweeney Reich & Bolz LLP            Michael G. Dowd and Gerald J. Sweeney   1981 Marcus Ave., Ste 200                                           Lake Success, NY 11042                                                gkosmakos@srblawfirm.com          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Firm                           Law Office of Patrick Sorsby LLC                                      Patrick Sorsby                          1568 Central Ave First FL                                           Albany, NY 12205                                                      sorsbylaw@gmail.com               Email
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Firm                           Law Office of Paul L Kranz                                            Paul L. Kranz                           639 San Gabriel Ave                                                 Albany, CA 94706                                                      kranzlaw@sbcglobal.net            Email
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Voting Party                   Law Office Of Paul Ramage                                             Attn: Joseph Paul Rumage Jr             P.O. Box 1174                                                       Denham Springs, LA 70727                                              rumagelawoffice@cs.com            Email
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Firm                           Law Office of Robert E Burrows                                        Robert Burrows                          225 W. Washington St., Ste 1130                                     Chicago, IL 60606                                                     roberteburrows@msn.com            Email
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Voting Party                   Law Office Of Robert Rimmer                                           Attn: Robert T Rimmer                   191 Main St                                                         Old Saybrook, CT 06475                                                roberttrimmer@aol.com             Email
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Firm                           Law Office of Ryan J. Villa                                           Ryan J. Villa                           2501 Rio Grande Blvd. NE Ste A                                      Albuquerque, NM 87104                                                 ryan@rjvlawfirm.com               Email
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In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                              Page 186 of 442
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                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                  Service List
                                                                                                                                                                           Served as set forth below

        Description                                                           Name                                                                                             Address                                                                                                     Email                Method of Service
Firm                           Law Office of Stephanie Morris, LLC                          Stephanie Morries                       142 W Market St, 2nd Fl                                          West Chester, PA 19382                                          smorrislaw@outlook.com          Email
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Firm                           Law Office of Steven A Denny, PC                             Steven A. Denny                         1101 Lake Street, Ste 202‐B                                      Oak Park, IL 60301                                              sdenny@dennylaw.com             Email
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Firm                           Law Office of Tammy Carter                                   Tammy Carter                            4703 E. Camp Lowell, Ste. 253                                    Tucson, AZ 85712                                                tammy@trcarterlaw.com           Email
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Firm                           Law Office of William F Mulroney                             William F Mulroney                      400 Redland Coast Ste 110                                        Owings Hills, MD 21117                                          wmulroney@mulroneylawfirm.com   Email
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Firm                           Law Officed of Donald G Norris                               Donald G Norris                         3055 Wilshire Blvd. Ste 980                                      Los Angeles, CA 90010                                           boyscoutsclaims@gmail.com       Email
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Firm                           Law Offices of Anthony M. DeMarco                            Anthony M. DeMarco                      650 Sierra Madre Villa Ave                                       Pasadena, CA 91107                                              tania@demarcolawfirm.com        Email
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Firm                           Law Offices of Betti & Associates                            Michelle M. Betti, Esq.                 30 Wall Street, 8th Floor                                        New York, NY 10005                                              mbettilaw@gmail.com             Email
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Firm                           Law Offices of Brian Yosowitz                                Brian Yosowitz                          320 N. Sierra Bonita Ave                                         Los Angeles, CA 90036                                           yosolaw@gmail.com               Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Law Offices of Chad A. Bowers                                Chad Bowers                             3210 W. Charleston Blvd                                          Las Vegas, NV 89102                                             bowers@lawyer.com               Email
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Voting Party                   Law Offices Of Cohen & Thomas                                Attn: Ian Cole, Esq                     315 Main St                                                      Derby, CT 06418                                                 iancole@cohen‐thomas.com        Email
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Firm                           LAW OFFICES OF DAVID A. JASKOWIAK                            DAVID A. JASKOWIAK, WAYNE ELY           815 GREENWOOD AVENUE, Ste 14                                     JENKINTOWN, PA 19046                                            DAVIDJAS@DAVIDJASLAW.COM        Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Law Offices of David E. Massey                               David E. Massey, Esquire                1523 Saramont Road                                               Columbia, SC 29205                                              david.e.massey4@gmail.com       Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Law Offices of Donald G. Norris                              Donald G Norris                         3055 Wilshire Blvd. Ste. 980                                     Los Angeles, CA 90010                                           boyscoutsclaims@gmail.com       Email
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Firm                           Law Offices of G Oliver Koppell & Associates                 G Oliver Koppell                        99 Park Ave, Ste 1100                                            New York, NY 10016                                              okoppell@koppellaw.com          Email
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Firm                           Law Offices of James B. Chanin                               James B. Chanin                         3050 Shattuck Avenue                                             Berkeley, CA 94705                                              jbcofc@aol.com                  Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Law Offices of Jay Doyle, PC                                 James D. Doyle, lll                     1306 Guadalupe St                                                Austin, TX 78701                                                jay@jaydoylelaw.com             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Law Offices of Joe Phillips                                  Patrick J. Phillips                     8000 Maryland Ave. Ste 1500                                      St. Louis, MO 63105                                             joephillipslaw@hotmail.com      Email
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Firm                           Law Offices of Joseph M. Kar, PC                             Joseph Kar, Esq                         15250 Ventura Blvd., Ste. 1220                                   Sherman Oaks, CA 91403                                          jkar@civillegal.com             Email
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Voting Party                   Law Offices Of Marcie L Foster                               Marcie L Foster                         5635 Weiss Lake Blvd                                             Leesburg, AL 35983                                              marcie@fosterlawoffice.org      Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Law Offices of Michael E. St. George                         Michael St. George                      P.O. Box 10537                                                   Tempe, AZ 85284                                                 stgeorge@stgeorgelaw.com        Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Law Offices of Mitchell Garabedian                           Mitchell Garabedian, Esq                100 State Street, 6th Floor                                      Boston, MA 02109                                                mgarabedian@garabedianlaw.com   Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Law Offices of Peter J. McNamara                             Peter J. McNamara                       1520 Locust St. Ste 804 8th Fl South                             Philadelphia, PA 19102                                          peter@pjm‐law.com               Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Law Offices of Pizana & Niedzwiedz PLLC                      Rafael Pizana III                       2139 NW Military, Ste 200                                        San Antonio, TX 78213                                           rafael.pizana@rp3law.com        Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Law Offices of Ricardo A. Vazquez                            Ricardo Vazquez                         2040 Westlake Ave N. # 402                                       Seattle, WA 98109                                               vazquezlaw@gmail.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Law Offices of Richard A Greifinger                          Richard A Greifinger                    80 Main St., Suite 455                                           West Orange, NJ 07052                                           richard@greifinger.com          Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Law Offices of Samuel P Moeller, PLLC                        Samuel P Moeller                        1419 N. 3rd St. Ste. 100                                         Phoenix, AZ 85004                                               sam@spmoellerlaw.com            Email
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Voting Party                   Law Offices Of Skip Jennings, Pc                             Richard C E Jennings                    115 W Oglethorpe Ave                                             Savannah, GA 31401                                              skipjenningspc@comcast.net      Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Law Offices Of Steven B Lever                                Steven B Lever                          200 Pine Ave, Ste 620                                            Long Beach, CA 90802                                            sblever@leverlaw.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Law Offices of Todd Collins                                  Todd Collins and Marc Tull              724 E Kiowa Ave Ste 7‐P.O. box 456                               Elizabeth, CO 80107                                             tcollins@tcollinslaw.com        Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Lawhorn Staff Assoc                                          Flint River Council 095                 1361 Zebulon Rd                                                  Griffin, GA 30224‐5100                                                                          First Class Mail
Chartered Organization         Lawndale Baptist & 1St Utd Methodist                         Piedmont Council 420                    P.O. Box 548                                                     Lawndale, NC 28090‐0548                                                                         First Class Mail
Chartered Organization         Lawrence Avenue Utd Methodist Church                         Water and Woods Council 782             210 E Lawrence Ave                                               Charlotte, MI 48813‐1521                                                                        First Class Mail
Voting Party                   Lawrence Brown                                               Address Redacted                                                                                                                                                         Email Address Redacted          Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Lawrence Canal Fulton Fire Dept                              Buckeye Council 436                     5828 Manchester Ave Nw                                           North Lawrence, OH 44666‐9751                                                                   First Class Mail
Voting Party                   Lawrence Chapel United Methodist Church                      Attn: Rev. Mollie Bame Reddic           2101 Six Mile Hwy                                                Central, SC 29630                                               pastor@lawrencechapel.church    Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Lawrence County Service Club                                 Andrew Jackson Council 303              P.O. Box 906                                                     Monticello, MS 39654‐0906                                                                       First Class Mail
Chartered Organization         Lawrence Crawford Assoc                                      Greater St Louis Area Council 312       2222 Lexington Ave                                               Lawrenceville, IL 62439‐2068                                                                    First Class Mail
Chartered Organization         Lawrence Crawford Assoc                                      Greater St Louis Area Council 312       905 W Mulberry St                                                Robinson, IL 62454‐1646                                                                         First Class Mail
Chartered Organization         Lawrence Douglas Cnty Housing Auth                           Heart of America Council 307            1600 Haskell Ave, Apt 187                                        Lawrence, KS 66044‐4368                                                                         First Class Mail
Chartered Organization         Lawrence Douglas County Fire Medical                         Heart of America Council 307            1911 Stewart Ave                                                 Lawrence, KS 66046‐2501                                                                         First Class Mail
Voting Party                   Lawrence Frank Potts                                         2602 Riata Dr                           Sherman, TX 75092                                                                                                                larrypotts111@gmail.com         Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Lawrence Free Methodist Church                               Heart of America Council 307            3001 Lawrence Ave                                                Lawrence, KS 66047‐3023                                                                         First Class Mail
Voting Party                   Lawrence Memorial Umc                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602              erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Lawrence Police Dept                                         Crossroads of America 160               4455 Mccoy St, Ste 1                                             Lawrence, IN 46226‐2983                                                                         First Class Mail
Voting Party                   Lawrence Road Presbyterian Church                            Attn: Rev. Marianne Rhebergen           1039 Lawrence Rd                                                 Lawrenceville, NJ 08648                                         rheberg@verizon.net             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Lawrence School District                                     Theodore Roosevelt Council 386          1 Donahue Ave                                                    Inwood, NY 11096‐1215                                                                           First Class Mail
Chartered Organization         Lawrence Stephenson American Legion 133                      Northern Lights Council 429             23 E 2 Av                                                        Turtle Lake, ND 58575                                                                           First Class Mail
Voting Party                   Lawrence United Methodist Church                             Attn: Chair of Trustees                 5200 N Shadeland Ave                                             Indianapolis, IN 46226                                          info@lawrenceumc.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Lawrence Utd Methodist Church                                Southern Shores Fsc 783                 122 S Exchange St                                                Lawrence, MI 49064‐9407                                                                         First Class Mail
Voting Party                   Lawrence W. Kellner                                          c/o Boy Scouts of America               Attn: Chase Koontz                                               1325 W Walnut Hill Ln              Irving, TX 75015             chase.koontz@scouting.org       Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Lawrence Weekly And Friends                                  Las Vegas Area Council 328              1929 Rose Coral Ave                                              Las Vegas, NV 89106‐1807                                                                        First Class Mail
Chartered Organization         Lawrenceburg First Umc                                       Middle Tennessee Council 560            212 Waterloo St                                                  Lawrenceburg, TN 38464‐3627                                                                     First Class Mail
Voting Party                   Lawrenceburg United Methodist Church                         Attn: Errol Archerson                   565 Carlton Dr                                                   Lawrenceburg, KY 40342                                          earcherson@gmail.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Lawrenceburg United Methodist Church                         Attn: Bob Alexander                     406 Vail Dr                                                      Lawrenceburg, KY 40342                                          bobalex1052@msn.com             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Lawrencefield Parish Church                                  Attn: Nancy L Woodworth‐Hill            P.O. Box 4063                                                    Wheeling, WV 26003                                                                              First Class Mail
Chartered Organization         Lawrenceville 1St Utd Methodist                              Northeast Georgia Council 101           395 W Crogan St                                                  Lawrenceville, GA 30046‐6921                                                                    First Class Mail
Chartered Organization         Lawrenceville Church Of God                                  Northeast Georgia Council 101           329 Grayson Hwy                                                  Lawrenceville, GA 30046‐7176                                                                    First Class Mail
Chartered Organization         Lawrenceville Community Church                               Tecumseh 439                            3880 Lawrenceville Dr                                            Springfield, OH 45504‐4460                                                                      First Class Mail
Chartered Organization         Lawrenceville Elementary Stem Club                           Northeast Georgia Council 101           122 Gwinnett Dr                                                  Lawrenceville, GA 30046‐5626                                                                    First Class Mail
Chartered Organization         Lawrenceville Lions Club                                     Northeast Georgia Council 101           1125 Lewis Ridge Cir                                             Lawrenceville, GA 30045‐7800                                                                    First Class Mail
Chartered Organization         Lawrenceville Police Dept                                    Northeast Georgia Council 101           P.O. Box 2220                                                    Lawrenceville, GA 30046                                                                         First Class Mail
Chartered Organization         Lawrenceville Presbyterian Church                            Northeast Georgia Council 101           800 Lawrenceville Hwy                                            Lawrenceville, GA 30046‐4704                                                                    First Class Mail
Voting Party                   Lawrenceville Road Umc ‐ Tucker                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602              erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Lawrenceville Road Utd Methodist Ch                          Atlanta Area Council 092                3142 Lawrenceville Hwy                                           Tucker, GA 30084‐7127                                                                           First Class Mail
Voting Party                   Lawrenceville Umc                                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602              erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Lawrenceville Utd Methodist Men                              Colonial Virginia Council 595           P.O. Box 2                                                       Lawrenceville, VA 23868‐0002                                                                    First Class Mail
Chartered Organization         Lawson‐Cox Vfw Post 7679                                     Garden State Council 690                8 New York Ave                                                   Mantua, NJ 08051‐1158                                                                           First Class Mail
Chartered Organization         Lawton Byrum Vfw Post 972                                    Crossroads of America 160               1111 Veteran Sq                                                  Terre Haute, IN 47807‐2760                                                                      First Class Mail
Chartered Organization         Lawton Lions Club                                            Southern Shores Fsc 783                 76719 County Rd 652                                              Lawton, MI 49065‐9664                                                                           First Class Mail
Voting Party                   Lawton St Paul's United Methodist Church                     Attn: Treasurer St Paul's UMC           P.O. Box 456                                                     Lawton, MI 49065                                                st.paulsoffice2018@gmail.com    Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Lawyersville Reformed Church                                 Leatherstocking 400                     P.O. Box                                                         Lawyersville, NY 12113                                                                          First Class Mail
Chartered Organization         Laytonsville Lions Club                                      National Capital Area Council 082       P.O. Box 5111                                                    Laytonsville, MD 20882‐0111                                                                     First Class Mail
Chartered Organization         Lazarus Utd Church Of Christ                                 Baltimore Area Council 220              5101 S Church St                                                 Lineboro, MD 21102‐3132                                                                         First Class Mail
Voting Party                   Lazy K Farms                                                 Attn: Alan Kiene                        5572 Pierce St                                                   St Charles, IA 50204                                            anitaolsonlaw@gmail.com         Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Ld Hung Vuong Foundation                                     Orange County Council 039               7777 Westminster Blvd                                            Westminster, CA 92683‐4025                                                                      First Class Mail
Chartered Organization         Lds                                                          Pine Burr Area Council 304              14928 Big Ridge Rd                                               Biloxi, MS 35931                                                                                First Class Mail
Chartered Organization         Lds                                                          Pine Burr Area Council 304              133 Morrison Ave                                                 Biloxi, MS 39530‐3622                                                                           First Class Mail
Chartered Organization         Lds                                                          Andrew Jackson Council 303              175 Burnham Rd S                                                 Brandon, MS 39042                                                                               First Class Mail
Chartered Organization         Lds                                                          Indian Waters Council 553               34 Chestnut Ferry Rd                                             Camden, SC 29020‐2074                                                                           First Class Mail
Chartered Organization         Lds                                                          Andrew Jackson Council 303              1301 Pinehaven Rd                                                Clinton, MS 39056                                                                               First Class Mail
Chartered Organization         Lds                                                          De Soto Area Council 013                28th & Calion Rd                                                 El Dorado, AR 71730                                                                             First Class Mail
Chartered Organization         Lds                                                          East Texas Area Council 585             1943 County Rd 121                                               Gary, TX 75643‐4301                                                                             First Class Mail
Chartered Organization         Lds                                                          Old N State Council 070                 1830 Chestnut Dr                                                 High Point, NC 27262‐4568                                                                       First Class Mail
Chartered Organization         Lds                                                          Central N Carolina Council 416          1601 Cooper Ave                                                  Kannapolis, NC 28081                                                                            First Class Mail
Chartered Organization         Lds                                                          East Texas Area Council 585             P.O. Box G                                                       Lufkin, TX 75902‐6701                                                                           First Class Mail
Chartered Organization         Lds                                                          Indian Waters Council 553               2 Glenn St Ext                                                   Newberry, SC 29108                                                                              First Class Mail
Chartered Organization         Lds                                                          Indian Waters Council 553               2 Glenn St                                                       Newberry, SC 29108‐9630                                                                         First Class Mail
Chartered Organization         Lds                                                          Overland Trails 322                     4100 W A Lakeview Bl                                             North Platte, NE 69101                                                                          First Class Mail
Chartered Organization         Lds                                                          Overland Trails 322                     1003 W 10th St                                                   North Platte, NE 69101‐2825                                                                     First Class Mail
Chartered Organization         Lds                                                          Black Warrior Council 006               5510 10th Ct E                                                   Northport, AL 35473‐7634                                                                        First Class Mail
Chartered Organization         Lds                                                          Pine Burr Area Council 304              1302 Martin St                                                   Pascagoula, MS 39581‐2337                                                                       First Class Mail
Chartered Organization         Lds                                                          Central N Carolina Council 416          1255 Julian Rd                                                   Salisbury, NC 28146‐2320                                                                        First Class Mail
Chartered Organization         Lds ‐ 1St Ward‐Harlingen Stake                               Rio Grande Council 775                  2320 Haine Dr                                                    Harlingen, TX 78550‐8598                                                                        First Class Mail
Chartered Organization         Lds ‐ Adams Park Ward/Layton East Stake                      Trapper Trails 589                      1015 N Emerald Dr                                                Layton, UT 84040                                                                                First Class Mail
Chartered Organization         Lds ‐ Adams Ward/South Ogden Stake                           Trapper Trails 589                      3270 Orchard Ave                                                 South Ogden, UT 84403                                                                           First Class Mail
Chartered Organization         Lds ‐ Adamswood Ward/Valley View Stake                       Trapper Trails 589                      1589 E Gentile St                                                Layton, UT 84040                                                                                First Class Mail
Chartered Organization         Lds ‐ Alief Ward ‐ Richmond‐Stake                            Sam Houston Area Council 576            602 Eldridge Rd                                                  Sugar Land, TX 77478‐2804                                                                       First Class Mail
Chartered Organization         Lds ‐ Allen 1St Ward/ Allen Stake                            Circle Ten Council 571                  1324 W Exchange Pkwy                                             Allen, TX 75013‐7025                                                                            First Class Mail
Chartered Organization         Lds ‐ Allen 2Nd Ward/Allen Stake                             Circle Ten Council 571                  1404 E Main St                                                   Allen, TX 75002‐4477                                                                            First Class Mail
Chartered Organization         Lds ‐ Allen 3Rd Ward/ Allen Stake                            Circle Ten Council 571                  1404 E Main St                                                   Allen, TX 75002‐4477                                                                            First Class Mail
Chartered Organization         Lds ‐ Allen 3Rd Ward/Allen Stake                             Circle Ten Council 571                  1404 E Main St                                                   Allen, TX 75002‐4477                                                                            First Class Mail
Chartered Organization         Lds ‐ Allen 4Th Ward/Allen Stake                             Circle Ten Council 571                  1324 W Exchange Pkwy                                             Allen, TX 75013‐7025                                                                            First Class Mail
Chartered Organization         Lds ‐ Allen 5Th Ward/Allen Stake                             Circle Ten Council 571                  1404 E Main St                                                   Allen, TX 75002‐4477                                                                            First Class Mail
Chartered Organization         Lds ‐ Allen 6Th Ward/Allen Stake                             Circle Ten Council 571                  1324 W Exchange Pkwy                                             Allen, TX 75013‐7025                                                                            First Class Mail
Chartered Organization         Lds ‐ Allen 7Th Ward/Allen Stake                             Circle Ten Council 571                  651 Stacy Rd                                                     Fairview, TX 75069‐8716                                                                         First Class Mail
Chartered Organization         Lds ‐ Alluvial ‐ Fresno Stake                                Sequoia Council 027                     1149 E Alluvial Ave                                              Fresno, CA 93720‐2605                                                                           First Class Mail
Chartered Organization         Lds ‐ Almy Ward/Evanston Stake                               Trapper Trails 589                      251 Elm St                                                       Evanston, WY 82930‐2650                                                                         First Class Mail
Chartered Organization         Lds ‐ Alvin ‐ Friendswood                                    Bay Area Council 574                    2700 Lehi Ln                                                     Alvin, TX 77511‐3967                                                                            First Class Mail
Chartered Organization         Lds ‐ Amalga Ward/Benson Stake                               Trapper Trails 589                      6521 N 2400 W                                                    Amalga, UT 84335                                                                                First Class Mail
Chartered Organization         Lds ‐ Angel Park Ward/Kaysville Stake                        Trapper Trails 589                      205 S Angel St                                                   Kaysville, UT 84037                                                                             First Class Mail
Chartered Organization         Lds ‐ Angleton ‐ Bay City                                    Bay Area Council 574                    3101 N Valderas St                                               Angleton, TX 77515                                                                              First Class Mail
Chartered Organization         Lds ‐ Apex ‐ Apex Ward                                       Occoneechee 421                         6011 Mccrimmon Pkwy                                              Morrisville, NC 27560‐8127                                                                      First Class Mail
Chartered Organization         Lds ‐ Apex ‐ Beaver Creek Ward                               Occoneechee 421                         590 Bryan Dr                                                     Apex, NC 27502                                                                                  First Class Mail
Chartered Organization         Lds ‐ Apex ‐ Cary 1St Ward                                   Occoneechee 421                         590 Bryan Dr                                                     Apex, NC 27502                                                                                  First Class Mail
Chartered Organization         Lds ‐ Apex ‐ Cary 1St Ward                                   Occoneechee 421                         590 Bryan Dr                                                     Apex, NC 27502                                                                                  First Class Mail
Chartered Organization         Lds ‐ Apex ‐ Cary 2Nd Ward                                   Occoneechee 421                         1811 Seabrook Ave                                                Cary, NC 27511‐5650                                                                             First Class Mail
Chartered Organization         Lds ‐ Apex ‐ Green Level Ward                                Occoneechee 421                         6011 Mccrimmon Pkwy                                              Morrisville, NC 27560‐8127                                                                      First Class Mail
Chartered Organization         Lds ‐ Apex ‐ Morrisville Ward                                Occoneechee 421                         6011 Mccrimmon Pkwy                                              Morrisville, NC 27560‐8127                                                                      First Class Mail
Chartered Organization         Lds ‐ Apex ‐ Pittsboro Ward                                  Occoneechee 421                         287 East St, Ste 412                                             Pittsboro, NC 27312‐8637                                                                        First Class Mail
Chartered Organization         Lds ‐ Arlington Heights Ward I                               Pathway To Adventure 456                2035 N Windsor Dr                                                Arlington Heights, IL 60004‐3343                                                                First Class Mail
Chartered Organization         Lds ‐ Arlington Heights Ward I                               Pathway To Adventure 456                2035 N Windsor Dr                                                Arlington Hts, IL 60004‐3343                                                                    First Class Mail
Chartered Organization         Lds ‐ Arlington Heights Ward Ii                              Pathway To Adventure 456                2035 N Windsor Dr                                                Arlington Hts, IL 60004‐3343                                                                    First Class Mail
Chartered Organization         Lds ‐ Arlington Ward                                         North Florida Council 087               7665 Fort Caroline Rd                                            Jacksonville, FL 32277‐2214                                                                     First Class Mail
Chartered Organization         Lds ‐ Aspen Cove Ward/Valley View Stake                      Trapper Trails 589                      789 E Wasatch Dr                                                 Layton, UT 84041                                                                                First Class Mail
Chartered Organization         Lds ‐ Atascocita Ward ‐ Kingwood Stake                       Sam Houston Area Council 576            19618 Atasca Oaks Dr                                             Humble, TX 77346‐2005                                                                           First Class Mail
Chartered Organization         Lds ‐ Auberry ‐ Fresno North Stake                           Sequoia Council 027                     29711 Auberry Rd                                                 Prather, CA 93651                                                                               First Class Mail
Chartered Organization         Lds ‐ Auburn Ward                                            Chattahoochee Council 091               510 Groce St                                                     Opelika, AL 36801‐3409                                                                          First Class Mail
Chartered Organization         Lds ‐ Back Creek Ward ‐ Roanoke Stake                        Blue Ridge Mtns Council 599             5836 Cotton Hill Rd                                              Roanoke, VA 24018‐5200                                                                          First Class Mail
Chartered Organization         Lds ‐ Baer Creek Ward/Haight Creek Stake                     Trapper Trails 589                      1282 W 1875 N                                                    Farmington, UT 84025                                                                            First Class Mail
Chartered Organization         Lds ‐ Banbury Ward/Syracuse Stake                            Trapper Trails 589                      3267 W 700 S                                                     Syracuse, UT 84075                                                                              First Class Mail
Chartered Organization         Lds ‐ Bangor                                                 Katahdin Area Council 216               P.O. Box 1123                                                    Bangor, ME 04402‐1123                                                                           First Class Mail
Chartered Organization         Lds ‐ Bartram Trails Branch                                  North Florida Council 087               4128 Running Bear Ln                                             Saint Johns, FL 32259‐4294                                                                      First Class Mail
Chartered Organization         Lds ‐ Baybrook ‐ Friendswood                                 Bay Area Council 574                    505 Deseret Dr                                                   Friendswood, TX 77546‐4865                                                                      First Class Mail
Chartered Organization         Lds ‐ Bear Creek 1St Ward ‐ Katy Stake                       Sam Houston Area Council 576            16203 Longenbaugh Dr                                             Houston, TX 77095‐1715                                                                          First Class Mail
Chartered Organization         Lds ‐ Beaver Ward/Fielding Stake                             Trapper Trails 589                      16025 N Beaver Dam Rd                                            Collinston, UT 84306‐9729                                                                       First Class Mail
Chartered Organization         Lds ‐ Bedford Ward ‐ Bloomington Stake                       Hoosier Trails Council 145 145          1010 22nd St                                                     Bedford, IN 47421‐4822                                                                          First Class Mail
Chartered Organization         Lds ‐ Belleview Ward                                         North Florida Council 087               12975 SE 55th Ave Rd                                             Belleview, FL 34420‐5921                                                                        First Class Mail
Chartered Organization         Lds ‐ Belmont 1St Ward/Fielding Stake                        Trapper Trails 589                      16925 N 5200 W                                                   Garland, UT 84312‐9587                                                                          First Class Mail
Chartered Organization         Lds ‐ Belmont 2Nd Ward/Fielding Stake                        Trapper Trails 589                      16925 N 5200 W                                                   Riverside, UT 84334                                                                             First Class Mail
Chartered Organization         Lds ‐ Bennington Ward/Montpelier Stake                       Trapper Trails 589                      24 E Center                                                      Bennington, ID 83254                                                                            First Class Mail
Chartered Organization         Lds ‐ Benson 1St Ward/Benson Stake                           Trapper Trails 589                      3432 N 3000 W                                                    Benson, UT 84335                                                                                First Class Mail
Chartered Organization         Lds ‐ Benson 2Nd Ward/Benson Stake                           Trapper Trails 589                      2496 N 3200 W                                                    Benson, UT 84335‐9741                                                                           First Class Mail
Chartered Organization         Lds ‐ Benton Ward                                            Quapaw Area Council 018                 13901 Quail Run Dr                                               Little Rock, AR 72210‐6915                                                                      First Class Mail
Chartered Organization         Lds ‐ Bentwood Ward/North Logan Stake                        Trapper Trails 589                      1650 E 2600 N                                                    North Logan, UT 84341‐1669                                                                      First Class Mail
Chartered Organization         Lds ‐ Bern Ward/Paris Stake                                  Trapper Trails 589                      661 Main St                                                      Bern, ID 83220‐5216                                                                             First Class Mail
Chartered Organization         Lds ‐ Big Piney Ward/Kemmerer Stake                          Trapper Trails 589                      2266 Piney Dr                                                    Big Piney, WY 83113                                                                             First Class Mail
Chartered Organization         Lds ‐ Blacksburg Ward ‐ Pembroke Stake                       Blue Ridge Mtns Council 599             301 Craig Dr                                                     Blacksburg, VA 24060‐1830                                                                       First Class Mail
Chartered Organization         Lds ‐ Bloomington Ward/Paris Stake                           Trapper Trails 589                      109 S Main St                                                    Paris, ID 83261                                                                                 First Class Mail
Chartered Organization         Lds ‐ Bonham Ward/Sherman Stake                              Circle Ten Council 571                  1540 N State Hwy 78                                              Bonham, TX 75418                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                  Page 187 of 442
                                                                               Case 20-10343-LSS                                Doc 8171                                        Filed 01/06/22                                   Page 203 of 457
                                                                                                                                                                   Exhibit B
                                                                                                                                                                    Service List
                                                                                                                                                             Served as set forth below

        Description                                                     Name                                                                                     Address                                                                           Email              Method of Service
Chartered Organization         Lds ‐ Bothwell Ward/Tremonton West Stake               Trapper Trails 589                   10350 W 11600 N                                             Tremonton, UT 84337‐9520                                            First Class Mail
Chartered Organization         Lds ‐ Branford Ward                                    North Florida Council 087            106 US Hwy 27 Se                                            Branford, FL 32008‐2868                                             First Class Mail
Chartered Organization         Lds ‐ Bridgeland Ward ‐ Cypress Stake                  Sam Houston Area Council 576         21521 Fairfield Pl Dr                                       Cypress, TX 77433‐3192                                              First Class Mail
Chartered Organization         Lds ‐ Bridgerland Park 2Nd Ward                        Trapper Trails 589                   280 W 1200 N                                                Logan, UT 84341‐6836                                                First Class Mail
Chartered Organization         Lds ‐ Bridgeway Ward/Syracuse West Stake               Trapper Trails 589                   1600 S 4500 W                                               Syracuse, UT 84075                                                  First Class Mail
Chartered Organization         Lds ‐ Buffalo Point/Syracuse West Stake                Trapper Trails 589                   1600 S 4500 W                                               Syracuse, UT 84075                                                  First Class Mail
Chartered Organization         Lds ‐ Burkburnett Ward                                 Northwest Texas Council 587          1010 Arthur St                                              Burkburnett, TX 76354‐3114                                          First Class Mail
Chartered Organization         Lds ‐ Burlington Ward ‐ Nauvoo Stake                   Mississippi Valley Council 141 141   2727 Cliff Rd                                               Burlington, IA 52601‐2406                                           First Class Mail
Chartered Organization         Lds ‐ Burton Ward/Deseret Mill Stake                   Trapper Trails 589                   270 W Burton Ln                                             Kaysville, UT 84037                                                 First Class Mail
Chartered Organization         Lds ‐ Camelot Ward/Layton West Stake                   Trapper Trails 589                   1715 W 1600 N                                               Layton, UT 84041                                                    First Class Mail
Chartered Organization         Lds ‐ Cannon Creek Ward                                North Florida Council 087            1293 SW Bascom Norris Dr                                    Lake City, FL 32025‐1377                                            First Class Mail
Chartered Organization         Lds ‐ Canoga Park Stake‐West Hills Ward                W.L.A.C.C. 051                       7045 Farralone Ave                                          Canoga Park, CA 91303‐1824                                          First Class Mail
Chartered Organization         Lds ‐ Canyon Creek/Morgan West                         Trapper Trails 589                   2700 S Morgan Valley Dr                                     Morgan, UT 84050‐9846                                               First Class Mail
Chartered Organization         Lds ‐ Canyon Crest Ward/Weber Stake                    Trapper Trails 589                   6350 Combe Rd                                               Ogden, UT 84403                                                     First Class Mail
Chartered Organization         Lds ‐ Canyon Hollows Ward/Ogden Stake                  Trapper Trails 589                   1550 Rushton St                                             Ogden, UT 84401‐0927                                                First Class Mail
Chartered Organization         Lds ‐ Canyon Lakes Ward ‐ Spanish Stake                Sam Houston Area Council 576         16203 Longenbaugh Dr                                        Houston, TX 77095‐1715                                              First Class Mail
Chartered Organization         Lds ‐ Canyon Woods Ward/Crestwood Stake                Trapper Trails 589                   1085 N 50 E                                                 Kaysville, UT 84037                                                 First Class Mail
Chartered Organization         Lds ‐ Carl Junction Ward ‐ Joplin Stake                Ozark Trails Council 306             112 Briarbrook Dr                                           Carl Junction, MO 64834‐9582                                        First Class Mail
Chartered Organization         Lds ‐ Casa Linda Ward/Dallas East Stake                Circle Ten Council 571               10701 E Lake Highlands Dr                                   Dallas, TX 75218‐1159                                               First Class Mail
Chartered Organization         Lds ‐ Cedar Bench Ward/South Weber Stake               Trapper Trails 589                   1814 E 7775 S                                               South Weber, UT 84405                                               First Class Mail
Chartered Organization         Lds ‐ Cedar Bluff Ward/South Weber Stake               Trapper Trails 589                   1814 E 7775 S                                               South Weber, UT 84405                                               First Class Mail
Chartered Organization         Lds ‐ Cedar Crest Ward/Roy North Stake                 Trapper Trails 589                   3845 S 2000 W                                               Roy, UT 84067                                                       First Class Mail
Chartered Organization         Lds ‐ Cedarwood ‐ Fresno East Stake                    Sequoia Council 027                  45 N Fowler Ave                                             Clovis, CA 93611‐0668                                               First Class Mail
Chartered Organization         Lds ‐ Cedarwood ‐ Fresno East Stake                    Sequoia Council 027                  45 N Fowler Ave                                             Clovis, CA 93611‐0668                                               First Class Mail
Chartered Organization         Lds ‐ Celina 1St Ward/Sherman Tx Stake                 Circle Ten Council 571               970 Coit Rd                                                 Prosper, TX 75078                                                   First Class Mail
Chartered Organization         Lds ‐ Celina 2Nd Ward/Sherman Tx Stake                 Circle Ten Council 571               737 E Melissa Rd                                            Melissa, TX 75454‐1733                                              First Class Mail
Chartered Organization         Lds ‐ Center Ward/Legacy Park Stake                    Trapper Trails 589                   2228 S 1660 W                                               Syracuse, UT 84075                                                  First Class Mail
Chartered Organization         Lds ‐ Centerville Ward‐Dayton, Oh                      Miami Valley Council, Bsa 444        901 E Whipp Rd                                              Centerville, OH 45459‐2209                                          First Class Mail
Chartered Organization         Lds ‐ Central Ward/Box Elder Stake                     Trapper Trails 589                   215 S 200 W                                                 Brigham City, UT 84302‐2511                                         First Class Mail
Chartered Organization         Lds ‐ Central Ward/Layton Stake                        Trapper Trails 589                   60 W Gordon Ave                                             Layton, UT 84041‐2569                                               First Class Mail
Chartered Organization         Lds ‐ Champions Ward ‐ Tomball Stake                   Sam Houston Area Council 576         9525 Spring Cypress Rd                                      Spring, TX 77379‐3020                                               First Class Mail
Chartered Organization         Lds ‐ Chateau Park Ward/Roy Stake                      Trapper Trails 589                   5930 S 2200 W                                               Roy, UT 84067                                                       First Class Mail
Chartered Organization         Lds ‐ Cheat River Ward                                 Mountaineer Area 615                 161 Meadow View Ln                                          Morgantown, WV 26508                                                First Class Mail
Chartered Organization         Lds ‐ Chelemes Ward/Clearfield Stake                   Trapper Trails 589                   1245 S 1175 E                                               Clearfield, UT 84015                                                First Class Mail
Chartered Organization         Lds ‐ Cherry Creek Ward/Richmond Stake                 Trapper Trails 589                   135 W Main St                                               Richmond, UT 84333‐1420                                             First Class Mail
Chartered Organization         Lds ‐ Cherry Lane Ward/Layton East Stake               Trapper Trails 589                   1015 N Emerald Dr                                           Layton, UT 84040                                                    First Class Mail
Chartered Organization         Lds ‐ Chiefland                                        North Florida Council 087            215 NE 8th St                                               Chiefland, FL 32626‐1051                                            First Class Mail
Chartered Organization         Lds ‐ Church ‐ Brownsville 1                           Rio Grande Council 775               114 E Price Rd                                              Brownsville, TX 78521‐3528                                          First Class Mail
Chartered Organization         Lds ‐ Church ‐ Brownsville 2                           Rio Grande Council 775               114 E Price Rd                                              Brownsville, TX 78521‐3528                                          First Class Mail
Chartered Organization         Lds ‐ Cinco West Ward ‐ Katy Stake                     Sam Houston Area Council 576         1603 Norwalk                                                Katy, TX 77450                                                      First Class Mail
Chartered Organization         Lds ‐ City Creek Ward/Richmond Stake                   Trapper Trails 589                   150 S 100 E                                                 Richmond, UT 84333‐1611                                             First Class Mail
Chartered Organization         Lds ‐ Clarkston 1St Ward/Benson Stake                  Trapper Trails 589                   25 E 100 S                                                  Clarkston, UT 84305                                                 First Class Mail
Chartered Organization         Lds ‐ Clarkston 2Nd Ward/Benson Stake                  Trapper Trails 589                   25 E 100 S                                                  Clarkston, UT 84305                                                 First Class Mail
Chartered Organization         Lds ‐ Clear Creek Ward ‐ Bloomington                   Hoosier Trails Council 145 145       4235 W 3rd St                                               Bloomington, IN 47404‐4880                                          First Class Mail
Chartered Organization         Lds ‐ Clearfield 6Th Ward/Sunset Stake                 Trapper Trails 589                   220 W 975 N                                                 Sunset, UT 84015                                                    First Class Mail
Chartered Organization         Lds ‐ Clearfield 7Th Ward/Sunset Stake                 Trapper Trails 589                   350 Vine St                                                 Clearfield, UT 84015                                                First Class Mail
Chartered Organization         Lds ‐ Clearwater Ward ‐ St Pete Stake                  Greater Tampa Bay Area 089           3303 Belcher Rd                                             Dunedin, FL 34698‐9406                                              First Class Mail
Chartered Organization         Lds ‐ Cliffside/Mt Logan Stake                         Trapper Trails 589                   1380 E 25th N                                               Logan, UT 84341                                                     First Class Mail
Chartered Organization         Lds ‐ Clinton 10Th Ward/Clinton Stake                  Trapper Trails 589                   702 W 1300 N                                                Clinton, UT 84015                                                   First Class Mail
Chartered Organization         Lds ‐ Clinton 12Th Ward/Clinton Stake                  Trapper Trails 589                   1708 W 800 N                                                Clinton, UT 84015                                                   First Class Mail
Chartered Organization         Lds ‐ Clinton 13Th Ward/Clinton Stake                  Trapper Trails 589                   1708 W 800 N                                                Clinton, UT 84015                                                   First Class Mail
Chartered Organization         Lds ‐ Clinton 14Th Ward/Sunset Stake                   Trapper Trails 589                   338 W 1800 N                                                Sunset, UT 84015                                                    First Class Mail
Chartered Organization         Lds ‐ Clinton 16Th Ward/Clinton Stake                  Trapper Trails 589                   1288 W 1300 N                                               Clinton, UT 84015                                                   First Class Mail
Chartered Organization         Lds ‐ Clinton 19Th Ward/Clinton Stake                  Trapper Trails 589                   702 W 1300 N                                                Clinton, UT 84015                                                   First Class Mail
Chartered Organization         Lds ‐ Clinton 1St Ward/Clinton Stake                   Trapper Trails 589                   1288 W 1300 N                                               Clinton, UT 84015                                                   First Class Mail
Chartered Organization         Lds ‐ Clinton 20Th Ward/Clinton Stake                  Trapper Trails 589                   1288 W 1300 N                                               Clinton, UT 84015                                                   First Class Mail
Chartered Organization         Lds ‐ Clinton 27Th Ward/Clinton Stake                  Trapper Trails 589                   1708 W 800 N                                                Clinton, UT 84015                                                   First Class Mail
Chartered Organization         Lds ‐ Clinton 8Th Ward/Clinton Stake                   Trapper Trails 589                   702 W 1300 N                                                Clinton, UT 84015                                                   First Class Mail
Chartered Organization         Lds ‐ Clinton Stake                                    Andrew Jackson Council 303           1301 Pinehaven                                              Clinton, MS 39056                                                   First Class Mail
Chartered Organization         Lds ‐ Clovis ‐ Fresno East Stake                       Sequoia Council 027                  45 N Fowler Ave                                             Clovis, CA 93611‐0668                                               First Class Mail
Chartered Organization         Lds ‐ Coalinga ‐ Hanford Stake                         Sequoia Council 027                  P.O. Box 95                                                 Coalinga, CA 93210‐0095                                             First Class Mail
Chartered Organization         Lds ‐ College Ward/Mendon Stake                        Trapper Trails 589                   2394 W 2200 S                                               Mendon, UT 84325                                                    First Class Mail
Chartered Organization         Lds ‐ Columbia I Ward Columbia Stake                   Baltimore Area Council 220           6020 10 Oaks Rd                                             Clarksville, MD 21029‐1163                                          First Class Mail
Chartered Organization         Lds ‐ Columbus 4Th Ward ‐ Indianapolis                 Hoosier Trails Council 145 145       4850 W Goeller Blvd                                         Columbus, IN 47201‐5689                                             First Class Mail
Chartered Organization         Lds ‐ Conroe 1St Ward ‐ Spring Stake                   Sam Houston Area Council 576         2495 Ed Kharbat Dr                                          Conroe, TX 77301‐2371                                               First Class Mail
Chartered Organization         Lds ‐ Conroe 2Nd Ward ‐ Spring Stake                   Sam Houston Area Council 576         1516 Wilson Rd                                              Conroe, TX 77304‐2124                                               First Class Mail
Chartered Organization         Lds ‐ Coppell 1St Ward/Carrollton Stake                Circle Ten Council 571               615 S Macarthur Blvd                                        Coppell, TX 75019‐3707                                              First Class Mail
Chartered Organization         Lds ‐ Coppell 2Nd Ward/Carrollton Stake                Circle Ten Council 571               615 S Macarthur Blvd                                        Coppell, TX 75019‐3707                                              First Class Mail
Chartered Organization         Lds ‐ Coppell 3Rd Ward/Carrollton Stake                Circle Ten Council 571               615 S Macarthur Blvd                                        Coppell, TX 75019‐3707                                              First Class Mail
Chartered Organization         Lds ‐ Corcoran ‐ Hanford Stake                         Sequoia Council 027                  1450 North Ave                                              Corcoran, CA 93212‐1739                                             First Class Mail
Chartered Organization         Lds ‐ Cornish Ward/Benson Stake                        Trapper Trails 589                   1200 N 400 W                                                Benson, UT 84308                                                    First Class Mail
Chartered Organization         Lds ‐ Corsicana Ward/Dallas Stake                      Circle Ten Council 571               3800 Enhouse Rd                                             Corsicana, TX 75110                                                 First Class Mail
Chartered Organization         Lds ‐ Country Lane Ward/Roy West Stake                 Trapper Trails 589                   2915 W 4425 S                                               Roy, UT 84067                                                       First Class Mail
Chartered Organization         Lds ‐ Country Oaks Ward/Kays Creek Stake               Trapper Trails 589                   2680 E Cherry Ln                                            Layton, UT 84040                                                    First Class Mail
Chartered Organization         Lds ‐ Country View Ward/Kanesville Stake               Trapper Trails 589                   4775 S 4875 W                                               West Haven, UT 84401                                                First Class Mail
Chartered Organization         Lds ‐ Cove Ward/Richmond Stake                         Trapper Trails 589                   12832 N 1200 E                                              Cove, UT 84320‐2111                                                 First Class Mail
Chartered Organization         Lds ‐ Creek Ward ‐ The Woodlands Stake                 Sam Houston Area Council 576         10303 Branch Crossing Dr                                    The Woodlands, TX 77382                                             First Class Mail
Chartered Organization         Lds ‐ Creekside Ward/Holmes Creek Stake                Trapper Trails 589                   625 So 750 E                                                Layton, UT 84041                                                    First Class Mail
Chartered Organization         Lds ‐ Crescent City Branch                             North Florida Council 087            2376 S US Hwy 17                                            Crescent City, FL 32112‐3932                                        First Class Mail
Chartered Organization         Lds ‐ Crestwood Ward/Crestwood Stake                   Trapper Trails 589                   1039 Crestwood Rd                                           Kaysville, UT 84037                                                 First Class Mail
Chartered Organization         Lds ‐ Crighton Ward ‐ Spring Stake                     Sam Houston Area Council 576         154 Stonehedge Pl                                           Montgomery, TX 77316‐2924                                           First Class Mail
Chartered Organization         Lds ‐ Cross Creek Ward ‐ Katy Stake                    Sam Houston Area Council 576         1603 Norwalk Dr                                             Katy, TX 77450                                                      First Class Mail
Chartered Organization         Lds ‐ Cub River Ward/Franklin Stake                    Trapper Trails 589                   5307 E Cub River Rd                                         Preston, ID 83263                                                   First Class Mail
Chartered Organization         Lds ‐ Curlew Ward/Garland Stake                        Trapper Trails 589                   75 N 100 E                                                  Snowville, UT 84336                                                 First Class Mail
Chartered Organization         Lds ‐ Cypress Lakes Ward ‐ Cypress Stake               Sam Houston Area Council 576         21521 Fairfield Pl Dr                                       Cypress, TX 77433‐3192                                              First Class Mail
Chartered Organization         Lds ‐ Cypress Ward ‐ Cypress Stake                     Sam Houston Area Council 576         10555 Mills Rd                                              Houston, TX 77070‐4601                                              First Class Mail
Chartered Organization         Lds ‐ Dakota ‐ Fresno East Stake                       Sequoia Council 027                  1880 Gettysburg Ave                                         Clovis, CA 93611‐5219                                               First Class Mail
Chartered Organization         Lds ‐ Dallas 1St Ward/Dallas East Stake                Circle Ten Council 571               4166 Hawthorne Ave                                          Dallas, TX 75219‐2231                                               First Class Mail
Chartered Organization         Lds ‐ Dallas 4Th Ward/Richardson Stake                 Circle Ten Council 571               14740 Meandering Way                                        Dallas, TX 75254‐8019                                               First Class Mail
Chartered Organization         Lds ‐ Dallas 6Th Ward/ Irving Stake                    Circle Ten Council 571               1553 S Story Rd                                             Irving, TX 75060‐5006                                               First Class Mail
Chartered Organization         Lds ‐ Dallas 9Th Ward/Dallas East Stake                Circle Ten Council 571               6408 Norway Rd                                              Dallas, TX 75230‐5147                                               First Class Mail
Chartered Organization         Lds ‐ Danville Ward ‐ Greensboro Stake                 Blue Ridge Mtns Council 599          3058 N Main St                                              Danville, VA 24540‐1741                                             First Class Mail
Chartered Organization         Lds ‐ Daphne Ward ‐ Mobile Stake                       Mobile Area Council‐Bsa 004          7322 Lake Blvd                                              Spanish Fort, AL 36527‐7011                                         First Class Mail
Chartered Organization         Lds ‐ Dayton Ward/Preston South Stake                  Trapper Trails 589                   825 N Westside Hwy                                          Dayton, ID 83232‐5140                                               First Class Mail
Chartered Organization         Lds ‐ Deseret Ward/Deseret Mill Stake                  Trapper Trails 589                   925 Deseret Dr                                              Kaysville, UT 84037                                                 First Class Mail
Chartered Organization         Lds ‐ Desoto Ward/Dallas Stake                         Circle Ten Council 571               1019 Big Stone Gap                                          Dallas, TX 75201                                                    First Class Mail
Chartered Organization         Lds ‐ Desoto Ward/Dallas Stake                         Circle Ten Council 571               1019 Big Stone Gap Rd                                       Duncanville, TX 75137‐2123                                          First Class Mail
Chartered Organization         Lds ‐ Deweyville Ward/Tremonton Stake                  Trapper Trails 589                   10750 N Hwy 69                                              Deweyville, UT 84309‐9731                                           First Class Mail
Chartered Organization         Lds ‐ Dingle Ward/Montpelier South Stake               Trapper Trails 589                   4197 Dingle Rd                                              Dingle, ID 83233‐7712                                               First Class Mail
Chartered Organization         Lds ‐ Dixie Ward/Valley View Stake                     Trapper Trails 589                   789 E Wasatch Dr                                            Layton, UT 84041                                                    First Class Mail
Chartered Organization         Lds ‐ Doha 1St Ward Qatar                              Transatlantic Council, Bsa 802       P.O. Box 209145                                             Doha,                             Qatar                             First Class Mail
Chartered Organization         Lds ‐ Dry Canyon Ward/Mount Logan Stake                Trapper Trails 589                   1350 Eastridge Cir                                          Logan, UT 84321‐6728                                                First Class Mail
Chartered Organization         Lds ‐ Dry Creek ‐ Fresno North Stake                   Sequoia Council 027                  342 W Nees Ave                                              Clovis, CA 93611                                                    First Class Mail
Chartered Organization         Lds ‐ Dunn Avenue Ward                                 North Florida Council 087            1679 Dunn Ave                                               Jacksonville, FL 32218‐4735                                         First Class Mail
Chartered Organization         Lds ‐ Durant Ward / Sherman Stake                      Circle Ten Council 571               101 S 2nd Ave                                               Durant, OK 74701‐5003                                               First Class Mail
Chartered Organization         Lds ‐ Durant Ward/ Sherman Stake                       Circle Ten Council 571               101 S 2nd Ave                                               Durant, OK 74701‐5003                                               First Class Mail
Chartered Organization         Lds ‐ Durham ‐ Chapel Hill Ward                        Occoneechee 421                      1050 Martin Luther King Jr Blvd                             Chapel Hill, NC 27514‐2400                                          First Class Mail
Chartered Organization         Lds ‐ Durham ‐ Durham 2Nd Ward                         Occoneechee 421                      3902 Berini Dr                                              Durham, NC 27705‐1836                                               First Class Mail
Chartered Organization         Lds ‐ Durham ‐ Durham 4Th Ward                         Occoneechee 421                      3902 Berini Dr                                              Durham, NC 27705‐1836                                               First Class Mail
Chartered Organization         Lds ‐ Durham ‐ Mebane Ward                             Occoneechee 421                      3902 Berini Dr                                              Durham, NC 27705‐1836                                               First Class Mail
Chartered Organization         Lds ‐ Durham ‐ Mebane Ward                             Occoneechee 421                      150 Ashbury Blvd                                            Mebane, NC 27302‐8948                                               First Class Mail
Chartered Organization         Lds ‐ Eagle Lake Branch/Roy South Stake                Trapper Trails 589                   5725 S 3750 W                                               Roy, UT 84067                                                       First Class Mail
Chartered Organization         Lds ‐ East Garland Ward/Fielding Stake                 Trapper Trails 589                   4375 W 15600 N                                              Fielding, UT 84312                                                  First Class Mail
Chartered Organization         Lds ‐ Eastridge Ward/Mount Logan Stake                 Trapper Trails 589                   1350 Eastridge Cir                                          Logan, UT 84321‐6728                                                First Class Mail
Chartered Organization         Lds ‐ Eastwood Ward/Weber Stake                        Trapper Trails 589                   5855 Skyline Dr                                             Ogden, UT 84403                                                     First Class Mail
Chartered Organization         Lds ‐ Eau Claire Ward, Oakdale Stake                   Chippewa Valley Council 637          3335 Stein Blvd                                             Eau Claire, WI 54701‐7025                                           First Class Mail
Chartered Organization         Lds ‐ Eccles Park Ward/Ogden East Stake                Trapper Trails 589                   1029 26th St                                                Ogden, UT 84401                                                     First Class Mail
Chartered Organization         Lds ‐ Echo ‐ Fresno Stake                              Sequoia Council 027                  1375 E Salem Ave                                            Fresno, CA 93720‐2238                                               First Class Mail
Chartered Organization         Lds ‐ Eden 1St Ward/Huntsville Stake                   Trapper Trails 589                   6500 E 1900 N                                               Eden, UT 84310‐9843                                                 First Class Mail
Chartered Organization         Lds ‐ Eden 2Nd Ward/Huntsville Stake                   Trapper Trails 589                   2900 N Hwy 162                                              Eden, UT 84310‐9500                                                 First Class Mail
Chartered Organization         Lds ‐ Edinburg 2Nd Ward                                Rio Grande Council 775               401 S Jackson Rd                                            Edinburg, TX 78539‐3999                                             First Class Mail
Chartered Organization         Lds ‐ Edinburg I                                       Rio Grande Council 775               200 W La Vista Ave                                          Mcallen, TX 78501‐2131                                              First Class Mail
Chartered Organization         Lds ‐ Elk Ridge/North Logan Stake                      Trapper Trails 589                   1190 E 2500 N                                               Logan, UT 84341                                                     First Class Mail
Chartered Organization         Lds ‐ Ellsworth                                        Katahdin Area Council 216            33 Elm St                                                   Ellsworth, ME 04605‐2007                                            First Class Mail
Chartered Organization         Lds ‐ Emerald Ward/Layton East Stake                   Trapper Trails 589                   1325 E Cherry Ln                                            Layton, UT 84040                                                    First Class Mail
Chartered Organization         Lds ‐ Enterprise Ward/Morgan West Stake                Trapper Trails 589                   2755 W Old Hwy Rd                                           Morgan, UT 84050‐9352                                               First Class Mail
Chartered Organization         Lds ‐ Eufaula                                          Alabama‐Florida Council 003          Hwy 131                                                     Eufaula, AL 36027                                                   First Class Mail
Chartered Organization         Lds ‐ Evanston 2Nd Ward/Evanston Stake                 Trapper Trails 589                   251 Elm St                                                  Evanston, WY 82930‐2650                                             First Class Mail
Chartered Organization         Lds ‐ Evanston 3Rd Ward/Evanston Stake                 Trapper Trails 589                   1224 Morse Lee St                                           Evanston, WY 82930‐3365                                             First Class Mail
Chartered Organization         Lds ‐ Evanston 5Th Ward/Evanston Stake                 Trapper Trails 589                   251 Elm St                                                  Evanston, WY 82930‐2650                                             First Class Mail
Chartered Organization         Lds ‐ Evanston 6Th Ward/Evanston Stake                 Trapper Trails 589                   1224 Morse Lee St                                           Evanston, WY 82930‐3365                                             First Class Mail
Chartered Organization         Lds ‐ Evergreen Park/Rock Cliff Stake                  Trapper Trails 589                   300 Grammercy Ave                                           Ogden, UT 84404                                                     First Class Mail
Chartered Organization         Lds ‐ Exeter ‐ Visalia Stake                           Sequoia Council 027                  601 N B St                                                  Exeter, CA 93221‐1209                                               First Class Mail
Chartered Organization         Lds ‐ Fair Grove Ward/Kanesville Stake                 Trapper Trails 589                   4555 W 4000 S                                               West Haven, UT 84401                                                First Class Mail
Chartered Organization         Lds ‐ Fairfield Ward ‐ Cypress Stake                   Sam Houston Area Council 576         21521 Fairfield Pl Dr                                       Cypress, TX 77433‐3192                                              First Class Mail
Chartered Organization         Lds ‐ Fairfield Ward/Crestwood Stake                   Trapper Trails 589                   1085 N 50 E                                                 Kaysville, UT 84037                                                 First Class Mail
Chartered Organization         Lds ‐ Fairfield Ward/Layton Hills Stake                Trapper Trails 589                   3290 N 1050 E                                               Layton, UT 84040                                                    First Class Mail
Chartered Organization         Lds ‐ Fairmont Ward                                    Mountaineer Area 615, Route 73 N     Fairmont, WV 26554                                                                                                              First Class Mail
Chartered Organization         Lds ‐ Fairview 1St /Preston South Stake                Trapper Trails 589                   165 W 4800 S                                                Preston, ID 83263                                                   First Class Mail
Chartered Organization         Lds ‐ Fairview 1St/Tremonton West Stake                Trapper Trails 589                   345 S 1000 W                                                Tremonton, UT 84337                                                 First Class Mail
Chartered Organization         Lds ‐ Fairview 2Nd/Preston South Stake                 Trapper Trails 589                   165 W 4800 S                                                Preston, ID 83263                                                   First Class Mail
Chartered Organization         Lds ‐ Fairview Ward/Allen Stake                        Circle Ten Council 571               651 Stacy Rd                                                Fairview, TX 75069‐8716                                             First Class Mail
Chartered Organization         Lds ‐ Falcon Ranch Ward ‐ Katy Stake                   Sam Houston Area Council 576         1603 Norwalk Dr                                             Katy, TX 77494                                                      First Class Mail
Chartered Organization         Lds ‐ Fall Creek Ward ‐ Summerwood Stake               Sam Houston Area Council 576         14350 E Sam Houston Pkwy N                                  Houston, TX 77044                                                   First Class Mail
Chartered Organization         Lds ‐ Farmersville Ward/Allen Stake                    Circle Ten Council 571               513 Sycamore St                                             Farmersville, TX 75442‐1008                                         First Class Mail
Chartered Organization         Lds ‐ Farr West 4Th Ward/Farr West Stake               Trapper Trails 589                   2132 W 2700 N                                               Farr West, UT 84404                                                 First Class Mail
Chartered Organization         Lds ‐ Farr West 5Th Ward/Farr West Stake               Trapper Trails 589                   2565 W 3300 N                                               Farr West, UT 84404                                                 First Class Mail
Chartered Organization         Lds ‐ Farr West 6Th Ward/Farr West Stake               Trapper Trails 589                   2132 W 2700 N                                               Farr West, UT 84404                                                 First Class Mail
Chartered Organization         Lds ‐ Farr West 9Th Ward/Farr West Stake               Trapper Trails 589                   2565 W 3300 N                                               Farr West, UT 84404                                                 First Class Mail
Chartered Organization         Lds ‐ Fayetteville ‐ Gillis Hill Ward                  Occoneechee 421                      9701 Cliffdale Rd                                           Fayetteville, NC 28306                                              First Class Mail
Chartered Organization         Lds ‐ Fayetteville ‐ Hope Mills Ward                   Occoneechee 421                      5810 Rockfish Rd                                            Hope Mills, NC 28348‐1877                                           First Class Mail
Chartered Organization         Lds ‐ Fayetteville West ‐ 3Rd Ward                     Occoneechee 421                      6420 Morganton Rd                                           Fayetteville, NC 28314                                              First Class Mail
Chartered Organization         Lds ‐ Fayetteville West ‐ Cameron Ward                 Occoneechee 421                      9800 US Hwy 1‐5‐501                                         Pinehurst, NC 28327                                                 First Class Mail
Chartered Organization         Lds ‐ Fayetteville West ‐ Pinehurst Ward               Occoneechee 421                      9800 Hwy 15‐501                                             Pinehurst, NC 28374                                                 First Class Mail
Chartered Organization         Lds ‐ Fayetteville West ‐ Pinehurst Ward               Occoneechee 421                      9800 US Hwy 15 501                                          Pinehurst, NC 28374                                                 First Class Mail
Chartered Organization         Lds ‐ Fayetteville West ‐ Sanford Ward                 Occoneechee 421                      3204 Keller Andrews Rd                                      Sanford, NC 27330                                                   First Class Mail
Chartered Organization         Lds ‐ Faytteville Raeford Spanish Ward                 Occoneechee 421                      9701 Cliffdale Rd                                           Fayetteville, NC 28304                                              First Class Mail
Chartered Organization         Lds ‐ Fernandina Beach Ward                            North Florida Council 087            2800 S 14th St                                              Fernandina Beach, FL 32034‐8416                                     First Class Mail
Chartered Organization         Lds ‐ Fielding Ward/Fielding Stake                     Trapper Trails 589                   4375 W 15600 N                                              Fielding, UT 84311                                                  First Class Mail
Chartered Organization         Lds ‐ Fig Garden ‐ Fresno West Stake                   Sequoia Council 027                  3775 W Sierra Ave                                           Fresno, CA 93711                                                    First Class Mail
Chartered Organization         Lds ‐ Flat Rock Ward                                   Chattahoochee Council 091            4400 Reese Rd                                               Columbus, GA 31907‐7005                                             First Class Mail
Chartered Organization         Lds ‐ Fleming Island 1St Ward                          North Florida Council 087            780 Water Oak Ln                                            Fleming Island, FL 32003‐4565                                       First Class Mail
Chartered Organization         Lds ‐ Fleming Island 2Nd Ward                          North Florida Council 087            780 Water Oak Ln                                            Fleming Island, FL 32003‐4565                                       First Class Mail
Chartered Organization         Lds ‐ Flint Meadows Ward/Kaysville Stake               Trapper Trails 589                   615 N Flint St                                              Kaysville, UT 84037                                                 First Class Mail
Chartered Organization         Lds ‐ Floyd Ward ‐ Pembroke Stake                      Blue Ridge Mtns Council 599          2028 Coles Knob Rd Ne                                       Check, VA 24072‐3172                                                First Class Mail
Chartered Organization         Lds ‐ Foothill 1St Ward/Logan East Stake               Trapper Trails 589                   1450 E 1500 N                                               Logan, UT 84341‐6746                                                First Class Mail
Chartered Organization         Lds ‐ Foothill 2Nd Ward/Logan East Stake               Trapper Trails 589                   1464 E 1425 N                                               Logan, UT 84341‐2884                                                First Class Mail
Chartered Organization         Lds ‐ Foothill Trails/Rock Cliff Stake                 Trapper Trails 589                   1000 Suncrest Dr                                            Ogden, UT 84404                                                     First Class Mail
Chartered Organization         Lds ‐ Foothill Ward/Rock Springs Stake                 Trapper Trails 589                   3315 White Mountain Blvd                                    Rock Springs, WY 82901                                              First Class Mail
Chartered Organization         Lds ‐ Foothills Ward/Ogden Stake                       Trapper Trails 589                   1475 Cahoon St                                              Ogden, UT 84401                                                     First Class Mail
Chartered Organization         Lds ‐ Forney Ward/Heath Stake                          Circle Ten Council 571               8200 Fm 741                                                 Forney, TX 75126‐7863                                               First Class Mail
Chartered Organization         Lds ‐ Fort Bridger Ward/Lyman Stake                    Trapper Trails 589                   3815 N Hwy 414                                              Lyman, WY 82937                                                     First Class Mail
Chartered Organization         Lds ‐ Fort Caroline Ward                               North Florida Council 087            6565 Fort Caroline Rd                                       Jacksonville, FL 32277‐2078                                         First Class Mail
Chartered Organization         Lds ‐ Fort Lane Ward/Layton Stake                      Trapper Trails 589                   1402 N Fort Ln                                              Layton, UT 84041                                                    First Class Mail
Chartered Organization         Lds ‐ Founders Park Ward/Syracuse Stake                Trapper Trails 589                   1350 S 1800 W                                               Syracuse, UT 84075                                                  First Class Mail
Chartered Organization         Lds ‐ Fox Creek Ward/Layton Stake                      Trapper Trails 589                   202 W 1675 N                                                Layton, UT 84041                                                    First Class Mail
Chartered Organization         Lds ‐ Fox Hollow Ward/Clearfield Stake                 Trapper Trails 589                   2150 S 800 E                                                Clearfield, UT 84015                                                First Class Mail
Chartered Organization         Lds ‐ Fox Hollow Ward/Morgan North Stake               Trapper Trails 589                   4150 W Old Hwy Rd                                           Mountain Green, UT 84050‐9806                                       First Class Mail
Chartered Organization         Lds ‐ Fox Pointe Ward/Haight Creek Stake               Trapper Trails 589                   1520 Fox Pointe Dr                                          Kaysville, UT 84037‐5400                                            First Class Mail
Chartered Organization         Lds ‐ Fox Ridge Ward/River Heights Stake               Trapper Trails 589                   155 N 100 E                                                 Providence, UT 84332‐9610                                           First Class Mail
Chartered Organization         Lds ‐ Foxglen Park Ward/Kanesville Stake               Trapper Trails 589                   3939 W 4000 S                                               West Haven, UT 84401                                                First Class Mail
Chartered Organization         Lds ‐ Foxglen Ward/Roy Midland Stake                   Trapper Trails 589                   3649 W 4800 S                                               Roy, UT 84067                                                       First Class Mail
Chartered Organization         Lds ‐ Franklin 1St Ward/Franklin Stake                 Trapper Trails 589                   106 E Main St                                               Franklin, ID 83237                                                  First Class Mail
Chartered Organization         Lds ‐ Franklin 2Nd Ward/Franklin Stake                 Trapper Trails 589                   106 E Main St                                               Franklin, ID 83237                                                  First Class Mail
Chartered Organization         Lds ‐ Franklin 3Rd Ward/Franklin Stake                 Trapper Trails 589                   106 E Main St                                               Franklin, ID 83237                                                  First Class Mail
Chartered Organization         Lds ‐ Franklinton Ward                                 Occoneechee 421                      35 James Joyce Ct                                           Youngsville, NC 27596‐8016                                          First Class Mail
Chartered Organization         Lds ‐ Freedom Ward/Pioneer Trail Stake                 Trapper Trails 589                   5689 S 4650 W                                               Hooper, UT 84315‐5001                                               First Class Mail
Chartered Organization         Lds ‐ Fremont Peak Ward                                Trapper Trails 589                   134 Woods Wardell Rd                                        Pinedale, WY 82941‐6758                                             First Class Mail
Chartered Organization         Lds ‐ Fremont Ward/Pioneer Trail Stake                 Trapper Trails 589                   4979 S 5100 W                                               Hooper, UT 84315                                                    First Class Mail
Chartered Organization         Lds ‐ Fremont Ward/Syracuse West Stake                 Trapper Trails 589                   2887 W 2700 S                                               Syracuse, UT 84075                                                  First Class Mail
Chartered Organization         Lds ‐ Fresno 5Th ‐ Fresno Stake                        Sequoia Council 027                  5685 N Cedar Ave                                            Fresno, CA 93710‐6603                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                    Page 188 of 442
                                                                                 Case 20-10343-LSS                            Doc 8171                                  Filed 01/06/22                          Page 204 of 457
                                                                                                                                                           Exhibit B
                                                                                                                                                            Service List
                                                                                                                                                     Served as set forth below

        Description                                                       Name                                                                           Address                                                                  Email              Method of Service
Chartered Organization         Lds ‐ Fresno East Stake ‐ Kings Canyon                   Sequoia Council 027              6641 E Butler Ave                                     Fresno, CA 93727                                           First Class Mail
Chartered Organization         Lds ‐ Friendswood 1 ‐ Friendswood                        Bay Area Council 574             505 Deseret Dr                                        Friendswood, TX 77546‐4865                                 First Class Mail
Chartered Organization         Lds ‐ Friendswood 2 ‐ Friendswood                        Bay Area Council 574             505 Deseret Dr                                        Friendswood, TX 77546‐4865                                 First Class Mail
Chartered Organization         Lds ‐ Frisco 10Th Ward/Frisco Stake                      Circle Ten Council 571           11000 Eldorado Pkwy                                   Frisco, TX 75035‐5900                                      First Class Mail
Chartered Organization         Lds ‐ Frisco 1St Ward/Frisco Stake                       Circle Ten Council 571           5095 Coit Rd                                          Frisco, TX 75035‐4950                                      First Class Mail
Chartered Organization         Lds ‐ Frisco 3Rd Ward/Frisco Stake                       Circle Ten Council 571           10400 Legacy Dr                                       Frisco, TX 75033‐1334                                      First Class Mail
Chartered Organization         Lds ‐ Frisco 4Th Ward/Frisco Stake                       Circle Ten Council 571           12390 Nandina Ln                                      Frisco, TX 75035‐0192                                      First Class Mail
Chartered Organization         Lds ‐ Frisco 4Th Ward/Frisco Stake                       Circle Ten Council 571           11000 Eldorado Pkwy                                   Frisco, TX 75035‐5900                                      First Class Mail
Chartered Organization         Lds ‐ Frisco 5Th Ward/Frisco Stake                       Circle Ten Council 571           5095 Coit Rd                                          Frisco, TX 75035‐4950                                      First Class Mail
Chartered Organization         Lds ‐ Frisco 6Th Ward/Frisco Stake                       Circle Ten Council 571           10400 Legacy Dr                                       Frisco, TX 75033‐1334                                      First Class Mail
Chartered Organization         Lds ‐ Frisco 7Th Ward/Frisco Stake                       Circle Ten Council 571           5095 Coit Rd                                          Frisco, TX 75035‐4950                                      First Class Mail
Chartered Organization         Lds ‐ Frisco 8Th Ward/Frisco Stake                       Circle Ten Council 571           11000 Eldorado Pkwy                                   Frisco, TX 75035‐5900                                      First Class Mail
Chartered Organization         Lds ‐ Frisco 9Th Ward/Frisco Stake                       Circle Ten Council 571           10400 Legacy Dr                                       Frisco, TX 75033‐1334                                      First Class Mail
Chartered Organization         Lds ‐ Gainesville 1St Ward                               North Florida Council 087        3745 NW 16th Blvd                                     Gainesville, FL 32605‐3606                                 First Class Mail
Chartered Organization         Lds ‐ Gainesville 2Nd Ward                               North Florida Council 087        10600 SW 24th Ave                                     Gainesville, FL 32607‐4618                                 First Class Mail
Chartered Organization         Lds ‐ Gainesville 5Th Ward                               North Florida Council 087        3745 NW 16th Blvd                                     Gainesville, FL 32605‐3606                                 First Class Mail
Chartered Organization         Lds ‐ Galveston ‐ Friendswood                            Bay Area Council 574             3114 77th St                                          Galveston, TX 77551                                        First Class Mail
Chartered Organization         Lds ‐ Garden City 1St Ward/Paris Stake                   Trapper Trails 589               65 S Bear Lake Blvd                                   Garden City, UT 84028                                      First Class Mail
Chartered Organization         Lds ‐ Garden City 2Nd Ward/Paris                         Trapper Trails 589               65 S Bear Lake Blvd                                   Garden City, UT 84028                                      First Class Mail
Chartered Organization         Lds ‐ Garland 1St Ward/Dallas East Stake                 Circle Ten Council 571           10701 E Lake Highlands Dr                             Dallas, TX 75218‐1159                                      First Class Mail
Chartered Organization         Lds ‐ Garland 1St Ward/Garland Stake                     Trapper Trails 589               140 W Factory St                                      Garland, UT 84312‐9713                                     First Class Mail
Chartered Organization         Lds ‐ Garland 2Nd Ward/Garland Stake                     Trapper Trails 589               140 W Factory St                                      Garland, UT 84312‐9713                                     First Class Mail
Chartered Organization         Lds ‐ Garland 3Rd Ward/Garland Stake                     Trapper Trails 589               175 S Main St                                         Garland, UT 84312‐9357                                     First Class Mail
Chartered Organization         Lds ‐ Garland 3Rd Ward/Richardson Stake                  Circle Ten Council 571           900 S Bowser Rd                                       Richardson, TX 75081‐5217                                  First Class Mail
Chartered Organization         Lds ‐ Garland 3Rd/ Ward/Richardson Stake                 Circle Ten Council 571           900 S Bowser Rd                                       Richardson, TX 75081‐5217                                  First Class Mail
Chartered Organization         Lds ‐ Garland 4Th Ward/Garland Stake                     Trapper Trails 589               175 S Main St                                         Garland, UT 84312‐9357                                     First Class Mail
Chartered Organization         Lds ‐ Garland 4Th Ward/Richardson Stake                  Circle Ten Council 571           2701 N Garland Ave                                    Garland, TX 75040‐3259                                     First Class Mail
Chartered Organization         Lds ‐ Garland 5Th Ward/Garland Stake                     Trapper Trails 589               175 S Main St                                         Garland, UT 84312‐9357                                     First Class Mail
Chartered Organization         Lds ‐ Garland 5Th Ward/Richardson Stake                  Circle Ten Council 571           900 S Bowser Rd                                       Richardson, TX 75081‐5217                                  First Class Mail
Chartered Organization         Lds ‐ Geneva Ward ‐ Naperville Stake                     Three Fires Council 127          0S234 S Mathewson Ln                                  Geneva, IL 60134                                           First Class Mail
Chartered Organization         Lds ‐ Geneva Ward/Montpelier South Stake                 Trapper Trails 589               40422 US Hwy 89                                       Geneva, ID 83238‐5018                                      First Class Mail
Chartered Organization         Lds ‐ Gettysburg ‐ Fresno North Stake                    Sequoia Council 027              524 W Gettysburg Ave                                  Clovis, CA 93612‐4214                                      First Class Mail
Chartered Organization         Lds ‐ Gettysburg ‐ Fresno North Stake                    Sequoia Council 027              P.O. Box 626                                          Clovis, CA 93613‐0626                                      First Class Mail
Chartered Organization         Lds ‐ Grand Lakes Ward ‐ Katy Stake                      Sam Houston Area Council 576     9950 S Mason Rd                                       Richmond, TX 77406‐5881                                    First Class Mail
Chartered Organization         Lds ‐ Grand Rapids Branch‐Duluth Stake                   Voyageurs Area 286               2300 La Prairie Ave                                   Grand Rapids, MN 55744                                     First Class Mail
Chartered Organization         Lds ‐ Grandview/Morgan West                              Trapper Trails 589               355 N 700 E                                           Morgan, UT 84050‐9370                                      First Class Mail
Chartered Organization         Lds ‐ Greatwood Ward                                     Sam Houston Area Council 576     1354 Summer Terrace Dr                                Sugar Land, TX 77479‐6905                                  First Class Mail
Chartered Organization         Lds ‐ Green Leaf Ward/Layton West Stake                  Trapper Trails 589               2160 W Gordon Ave                                     Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Green Meadows Ward/Logan Stake                     Trapper Trails 589               680 S 1250 W                                          Logan, UT 84321‐6040                                       First Class Mail
Chartered Organization         Lds ‐ Greenbriar Ward/Layton South Stake                 Trapper Trails 589               505 S 1000 W                                          Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Greenfield Ward/Cache Stake                        Trapper Trails 589               250 W 1200 N                                          Logan, UT 84341                                            First Class Mail
Chartered Organization         Lds ‐ Greenville Ward                                    East Carolina Council 426        307 Martinsborough Rd                                 Greenville, NC 27858‐6208                                  First Class Mail
Chartered Organization         Lds ‐ Greenville Ward/Heath Stake                        Circle Ten Council 571           5309 Utah St                                          Greenville, TX 75402‐6229                                  First Class Mail
Chartered Organization         Lds ‐ Greenville Ward/North Logan Stake                  Trapper Trails 589               2450 N 400 E                                          North Logan, UT 84341‐1794                                 First Class Mail
Chartered Organization         Lds ‐ Greyhawk Ward/Northridge Stake                     Trapper Trails 589               2375 E 3225 N                                         Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Hampton Ford Ward/Fielding Stake                   Trapper Trails 589               16025 N Beaver Dam Rd                                 Collinston, UT 84306‐9729                                  First Class Mail
Chartered Organization         Lds ‐ Hanford 1St ‐ Hanford Stake                        Sequoia Council 027              1130 N 11th Ave                                       Hanford, CA 93230‐3608                                     First Class Mail
Chartered Organization         Lds ‐ Hanford 2Nd ‐ Hanford Stake                        Sequoia Council 027              1130 N 11th Ave                                       Hanford, CA 93230‐3608                                     First Class Mail
Chartered Organization         Lds ‐ Hanford 2Nd ‐ Hanford Stake                        Sequoia Council 027              2400 N 11th Ave                                       Hanford, CA 93230‐7060                                     First Class Mail
Chartered Organization         Lds ‐ Hargis Hill Ward/Willard Stake                     Trapper Trails 589               80 W 100 N                                            Willard, UT 84340                                          First Class Mail
Chartered Organization         Lds ‐ Harmony Ward ‐ Spring Stake                        Sam Houston Area Council 576     28449 Rose Vervain Dr                                 Spring, TX 77386‐3939                                      First Class Mail
Chartered Organization         Lds ‐ Havenwood Ward/Kaysville Stake                     Trapper Trails 589               615 N Flint St                                        Kaysville, UT 84037                                        First Class Mail
Chartered Organization         Lds ‐ Heath Ward/Heath Stake                             Circle Ten Council 571           6819 S Fm 549                                         Rockwall, TX 75032‐6049                                    First Class Mail
Chartered Organization         Lds ‐ Hendricks Avenue Ward                              North Florida Council 087        4087 Hendricks Ave                                    Jacksonville, FL 32207‐6321                                First Class Mail
Chartered Organization         Lds ‐ Henrys Point Ward/Logan Stake                      Trapper Trails 589               680 S 1250 W                                          Logan, UT 84321‐6040                                       First Class Mail
Chartered Organization         Lds ‐ Heritage Ward/Creekside Stake                      Trapper Trails 589               725 S 200 E                                           Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Heritage Ward/Syracuse Stake                       Trapper Trails 589               1469 W 700 S                                          Syracuse, UT 84075                                         First Class Mail
Chartered Organization         Lds ‐ Hermann Park Ward ‐ Houston Stake                  Sam Houston Area Council 576     5531 Beechnut St                                      Houston, TX 77096‐1001                                     First Class Mail
Chartered Organization         Lds ‐ Hess Farms Ward/Haight Creek Stake                 Trapper Trails 589               1650 S 500 E                                          Kaysville, UT 84037                                        First Class Mail
Chartered Organization         Lds ‐ Hidalgo Ii                                         Rio Grande Council 775           3107 N Bryan Rd                                       Mission, TX 78574                                          First Class Mail
Chartered Organization         Lds ‐ High Springs Branch                                North Florida Council 087        5710 NE 38th Ln                                       High Springs, FL 32643‐5501                                First Class Mail
Chartered Organization         Lds ‐ Highland Ward ‐ Bloomington                        Hoosier Trails Council 145 145   4235 W 3rd St                                         Bloomington, IN 47404‐4880                                 First Class Mail
Chartered Organization         Lds ‐ Highland Ward/Ogden East Stake                     Trapper Trails 589               1314 27th St                                          Ogden, UT 84403                                            First Class Mail
Chartered Organization         Lds ‐ Highland/Rock Cliff Stake                          Trapper Trails 589               300 Gramercy Ave                                      Ogden, UT 84404                                            First Class Mail
Chartered Organization         Lds ‐ Highlands Ward/Haight Creek Stake                  Trapper Trails 589               1520 Fox Pointe Dr                                    Kaysville, UT 84037‐5400                                   First Class Mail
Chartered Organization         Lds ‐ Highlands Ward/Morgan North Stake                  Trapper Trails 589               5378 W Old Hwy Rd                                     Mountain Green, UT 84050‐9800                              First Class Mail
Chartered Organization         Lds ‐ Highlands Ward/Weber Stake                         Trapper Trails 589               5855 Skyline Dr                                       South Ogden, UT 84403                                      First Class Mail
Chartered Organization         Lds ‐ Hill Farms Ward/Kaysville Stake                    Trapper Trails 589               1505 Whispering Meadow Ln                             Kaysville, UT 84037                                        First Class Mail
Chartered Organization         Lds ‐ Hilliard Branch                                    North Florida Council 087        2387 State Rd 2                                       Hilliard, FL 32046‐5849                                    First Class Mail
Chartered Organization         Lds ‐ Hilliard Ward/Evanston South Stake                 Trapper Trails 589               14864 State Hwy 150 S                                 Evanston, WY 82930                                         First Class Mail
Chartered Organization         Lds ‐ Hobbs Creek Ward/Northridge Stake                  Trapper Trails 589               2505 N Church St                                      Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Homestead Ward/Hooper Stake                        Trapper Trails 589               5375 S 5900 W                                         Hooper, UT 84315‐9563                                      First Class Mail
Chartered Organization         Lds ‐ Hooper 1St Ward/Hooper Stake                       Trapper Trails 589               5601 S 6100 W                                         Hooper, UT 84315‐9765                                      First Class Mail
Chartered Organization         Lds ‐ Hooper 2Nd Ward/Hooper Stake                       Trapper Trails 589               5000 S 5900 W                                         Hooper, UT 84315‐9602                                      First Class Mail
Chartered Organization         Lds ‐ Hooper 3Rd Ward / Hooper Stake                     Trapper Trails 589               5601 S 6100 W                                         Hooper, UT 84315‐9765                                      First Class Mail
Chartered Organization         Lds ‐ Hooper 4Th Ward/Hooper Stake                       Trapper Trails 589               4675 W 5500 S                                         Hooper, UT 84315‐9202                                      First Class Mail
Chartered Organization         Lds ‐ Hot Springs Ward                                   Quapaw Area Council 018          2767 Malvern Ave                                      Hot Springs, AR 71901                                      First Class Mail
Chartered Organization         Lds ‐ Houston 1St Ward ‐ Houston Stake                   Sam Houston Area Council 576     1101 Bering Dr                                        Houston, TX 77057‐2301                                     First Class Mail
Chartered Organization         Lds ‐ Houston 2Nd Ward ‐ Houston Stake                   Sam Houston Area Council 576     5531 Beechnut St                                      Houston, TX 77096‐1001                                     First Class Mail
Chartered Organization         Lds ‐ Houston 5Th Ward ‐ Houston West                    Sam Houston Area Council 576     65 Melbourne St                                       Houston, TX 77022                                          First Class Mail
Chartered Organization         Lds ‐ Howell Ward/Garland Stake                          Trapper Trails 589               16035 N 17400 W                                       Howell, UT 84316                                           First Class Mail
Chartered Organization         Lds ‐ Hudson Ward ‐ St Pete Stake                        Greater Tampa Bay Area 089       10606 Hilltop Dr                                      New Port Richey, FL 34654‐2510                             First Class Mail
Chartered Organization         Lds ‐ Hugo Branch/Gilmer Tx Stake                        Circle Ten Council 571           2400 E Jackson St                                     Hugo, OK 74743‐4202                                        First Class Mail
Chartered Organization         Lds ‐ Humble Ward ‐ Kingwood Stake                       Sam Houston Area Council 576     19618 Atasca Oaks Dr                                  Humble, TX 77346‐2005                                      First Class Mail
Chartered Organization         Lds ‐ Hyde Park 1St Ward/Hyde Park Stake                 Trapper Trails 589               480 N 100 W                                           Hyde Park, UT 84318‐4046                                   First Class Mail
Chartered Organization         Lds ‐ Hyde Park 2Nd Ward/Hyde Park Stake                 Trapper Trails 589               485 E 250 S                                           Hyde Park, UT 84318‐3537                                   First Class Mail
Chartered Organization         Lds ‐ Hyde Park 3Rd Ward/Hyde Park Stake                 Trapper Trails 589               42 W 200 S                                            Hyde Park, UT 84318                                        First Class Mail
Chartered Organization         Lds ‐ Hyde Park 4Th Ward                                 Trapper Trails 589               535 E 200 S                                           Hyde Park, UT 84318‐3518                                   First Class Mail
Chartered Organization         Lds ‐ Hyde Park 5Th Ward/Hyde Park Stake                 Trapper Trails 589               65 E Center St                                        Hyde Park, UT 84318‐3237                                   First Class Mail
Chartered Organization         Lds ‐ Hyde Park 6Th Ward/Hyde Park Stake                 Trapper Trails 589               535 E 200 S                                           Hyde Park, UT 84318‐3518                                   First Class Mail
Chartered Organization         Lds ‐ Hyde Park 7Th Ward/Hyde Park Stake                 Trapper Trails 589               65 E Center St                                        Hyde Park, UT 84318‐3237                                   First Class Mail
Chartered Organization         Lds ‐ Hyde Park 8Th Ward/Hyde Park Stake                 Trapper Trails 589               480 N 100 W                                           Hyde Park, UT 84318‐4046                                   First Class Mail
Chartered Organization         Lds ‐ Hyde Park 9Th Ward/Hyde Park Stake                 Trapper Trails 589               65 E Center St                                        Hyde Park, UT 84318‐3237                                   First Class Mail
Chartered Organization         Lds ‐ Hyrum 10Th Ward/Hyrum North Stake                  Trapper Trails 589               125 N 400 W                                           Hyrum, UT 84319‐1245                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 11Th Ward/Hyrum Stake                        Trapper Trails 589               600 S 200 E                                           Hyrum, UT 84319‐1660                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 12Th Ward/Hyrum North Stake                  Trapper Trails 589               176 S 1300 E                                          Hyrum, UT 84319‐2003                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 13Th Ward/Hyrum North Stake                  Trapper Trails 589               95 N 675 W                                            Hyrum, UT 84319‐1003                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 14Th Ward/Hyrum North Stake                  Trapper Trails 589               176 S 1300 E                                          Hyrum, UT 84319‐2003                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 15Th Ward/Hyrum Stake                        Trapper Trails 589               455 E 100 S                                           Hyrum, UT 84319‐1414                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 16Th Ward/Hyrum North Stake                  Trapper Trails 589               176 S 1300 E                                          Hyrum, UT 84319‐2003                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 1St Ward/Hyrum North Stake                   Trapper Trails 589               95 N 675 W                                            Hyrum, UT 84319‐1003                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 2Nd Ward/Hyrum Stake                         Trapper Trails 589               455 E 100 S                                           Hyrum, UT 84319‐1414                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 3Rd Ward/Hyrum North Stake                   Trapper Trails 589               95 N 675 W                                            Hyrum, UT 84319‐1003                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 4Th Ward/Hyrum North Stake                   Trapper Trails 589               245 Apple Dr                                          Hyrum, UT 84319‐1164                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 5Th Ward/Hyrum North Stake                   Trapper Trails 589               245 Apple Dr                                          Hyrum, UT 84319‐1164                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 6Th Ward/Hyrum Stake                         Trapper Trails 589               455 E 100 S                                           Hyrum, UT 84319‐1414                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 7Th Ward/Hyrum North Stake                   Trapper Trails 589               245 Apple Dr                                          Hyrum, UT 84319‐1164                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 8Th Ward/Hyrum Stake                         Trapper Trails 589               600 S 200 E                                           Hyrum, UT 84319‐1660                                       First Class Mail
Chartered Organization         Lds ‐ Hyrum 9Th Ward/Hyrum Stake                         Trapper Trails 589               9060 S 200 W                                          Paradise, UT 84328‐7784                                    First Class Mail
Chartered Organization         Lds ‐ Imperial Falls Ward ‐ Spring Stake                 Sam Houston Area Council 576     3591 Discovery Creek Blvd                             Spring, TX 77386                                           First Class Mail
Chartered Organization         Lds ‐ Imperial Oaks Ward ‐ Spring Stake                  Sam Houston Area Council 576     25623 Richards Rd                                     Spring, TX 77386‐2641                                      First Class Mail
Chartered Organization         Lds ‐ Inman Ward                                         Palmetto Council 549             5365 Rainbow Lake Rd                                  Campobello, SC 29322‐9786                                  First Class Mail
Chartered Organization         Lds ‐ Inverness Ward ‐ Tomball Stake                     Sam Houston Area Council 576     19920 Champion Forrest Dr                             Spring, TX 77379                                           First Class Mail
Chartered Organization         Lds ‐ Inverness Ward/Syracuse West Stake                 Trapper Trails 589               3426 Augusta Dr                                       Syracuse, UT 84075                                         First Class Mail
Chartered Organization         Lds ‐ Irving 1St Ward/ Irving Stake                      Circle Ten Council 571           1553 S Story Rd                                       Irving, TX 75060‐5006                                      First Class Mail
Chartered Organization         Lds ‐ Irving 1St Ward/ Irving Stake                      Circle Ten Council 571           1553 S Story Rd                                       Irving, TX 75060‐5006                                      First Class Mail
Chartered Organization         Lds ‐ Irving 2Nd Ward/Irving Stake                       Circle Ten Council 571           2945 S Sunbeck Cir                                    Farmers Branch, TX 75234‐7417                              First Class Mail
Chartered Organization         Lds ‐ Irving Stake/ Shady Grove                          Circle Ten Council 571           1553 S Story Rd                                       Irving, TX 75060‐5006                                      First Class Mail
Chartered Organization         Lds ‐ Jackson Ward/Ogden East Stake                      Trapper Trails 589               1029 26th St                                          Ogden, UT 84401                                            First Class Mail
Chartered Organization         Lds ‐ Jacksonville Beach Ward                            North Florida Council 087        440 Penman Rd                                         Neptune Beach, FL 32266‐3818                               First Class Mail
Chartered Organization         Lds ‐ Jarrettown 1St Ward                                Cradle of Liberty Council 525    1501 Limekiln Pike                                    Dresher, PA 19025‐1006                                     First Class Mail
Chartered Organization         Lds ‐ Jefferson 1St Ward/Riverdale Stake                 Trapper Trails 589               2720 Jefferson Ave                                    Ogden, UT 84403                                            First Class Mail
Chartered Organization         Lds ‐ Jefferson 2Nd Ward/Ogden Stake                     Trapper Trails 589               1314 27th St                                          Ogden, UT 84401                                            First Class Mail
Chartered Organization         Lds ‐ Julington Creek Ward                               North Florida Council 087        5490 County Rd 210 W                                  Saint Johns, FL 32259‐8828                                 First Class Mail
Chartered Organization         Lds ‐ Kanesville Ward/West Haven Stake                   Trapper Trails 589               3300 S 4700 W                                         West Haven, UT 84401                                       First Class Mail
Chartered Organization         Lds ‐ Katy 1St Ward ‐ Katy Stake                         Sam Houston Area Council 576     1928 Drexel Dr                                        Katy, TX 77493‐1715                                        First Class Mail
Chartered Organization         Lds ‐ Katy 2Nd Ward ‐ Katy Stake                         Sam Houston Area Council 576     3634 Brinton Trails Ln                                Katy, TX 77494‐7561                                        First Class Mail
Chartered Organization         Lds ‐ Katy Mills Ward ‐ Katy Stake                       Sam Houston Area Council 576     1042 Wern Meadows Dr                                  Katy, TX 77450                                             First Class Mail
Chartered Organization         Lds ‐ Kaufman Ward/Dallas East Stake                     Circle Ten Council 571           8200 Fm 741                                           Forney, TX 75126‐7863                                      First Class Mail
Chartered Organization         Lds ‐ Kays Creek Ward/Kays Creek Stake                   Trapper Trails 589               2435 E 1500 N                                         Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Kays Ward/Desert Mill Stake                        Trapper Trails 589               270 W Burton Ln                                       Kaysville, UT 84037                                        First Class Mail
Chartered Organization         Lds ‐ Kaysville 3Rd Ward/Crestwood Stake                 Trapper Trails 589               855 E Mutton Hollow Rd                                Kaysville, UT 84037                                        First Class Mail
Chartered Organization         Lds ‐ Kemmerer 1St Ward/Kemmerer Stake                   Trapper Trails 589               1584 3rd W Ave                                        Diamondville, WY 83116                                     First Class Mail
Chartered Organization         Lds ‐ Kemmerer 2Nd Ward/Kemmerer Stake                   Trapper Trails 589               Kemmerer Stake                                        Kemmerer, WY 83101                                         First Class Mail
Chartered Organization         Lds ‐ Kemmerer 3Rd Ward/Kemmerer Stake                   Trapper Trails 589               1584 3rd W Ave                                        Diamondville, WY 83116                                     First Class Mail
Chartered Organization         Lds ‐ Kerman ‐ Fresno West Stake                         Sequoia Council 027              15500 W Kearney Blvd                                  Kerman, CA 93630                                           First Class Mail
Chartered Organization         Lds ‐ Kerman ‐ Fresno West Stake                         Sequoia Council 027              15500 W Kearney Blvd                                  Kerman, CA 93630                                           First Class Mail
Chartered Organization         Lds ‐ Kessler Park Ward/Dallas Stake                     Circle Ten Council 571           1415 S Vernon Ave                                     Dallas, TX 75224‐1332                                      First Class Mail
Chartered Organization         Lds ‐ Kimball Ward/Holmes Creek Stake                    Trapper Trails 589               125 Chapel St                                         Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Kings Canyon ‐ Fresno East Stake                   Sequoia Council 027              6641 E Butler Ave                                     Fresno, CA 93727                                           First Class Mail
Chartered Organization         Lds ‐ Kingston Ward/Ogden East Stake                     Trapper Trails 589               1425 Kingston Dr                                      Ogden, UT 84403                                            First Class Mail
Chartered Organization         Lds ‐ Kingwood 1St Ward ‐ Kingwood Stake                 Sam Houston Area Council 576     4021 Deerbrook Dr                                     Kingwood, TX 77339‐1904                                    First Class Mail
Chartered Organization         Lds ‐ Kingwood 2Nd Ward ‐ Kingwood Stake                 Sam Houston Area Council 576     4021 Deerbrook Dr                                     Kingwood, TX 77339‐1904                                    First Class Mail
Chartered Organization         Lds ‐ Kingwood 3Rd Ward ‐ Kingwood Stake                 Sam Houston Area Council 576     4021 Deerbrook Dr                                     Kingwood, TX 77339‐1904                                    First Class Mail
Chartered Organization         Lds ‐ Klein Ward ‐ Klein Stake                           Sam Houston Area Council 576     8425 Hidden Trail Ln                                  Spring, TX 77379‐8725                                      First Class Mail
Chartered Organization         Lds ‐ Kleinwood Ward ‐ Klein Stake                       Sam Houston Area Council 576     16535 Kleinwood Dr                                    Spring, TX 77379                                           First Class Mail
Chartered Organization         Lds ‐ La Barge Ward/Kemmerer Stake                       Trapper Trails 589               304 State Hwy 235                                     La Barge, WY 83123                                         First Class Mail
Chartered Organization         Lds ‐ Lake Butler Ward                                   North Florida Council 087        14970 W State Rd 238                                  Lake Butler, FL 32054                                      First Class Mail
Chartered Organization         Lds ‐ Lake Jackson ‐ Bay City                            Bay Area Council 574             502 Sern Oaks Dr                                      Lake Jackson, TX 77566                                     First Class Mail
Chartered Organization         Lds ‐ Lake Jackson ‐ Bay City 2                          Bay Area Council 574             502 Sern Oaks Dr                                      Lake Jackson, TX 77566                                     First Class Mail
Chartered Organization         Lds ‐ Lake View Ward/Brigham South Stake                 Trapper Trails 589               865 S 300 W                                           Brigham City, UT 84302‐3374                                First Class Mail
Chartered Organization         Lds ‐ Lake View Ward/Roy Central Stake                   Trapper Trails 589               4900 S 2000 W                                         Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Lakeland Ward/Layton Hills Stake                   Trapper Trails 589               2400 University Park Blvd                             Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Lakeshore Ward ‐ Summerwood Stake                  Sam Houston Area Council 576     12521 Will Clayton Pkwy                               Humble, TX 77346‐3007                                      First Class Mail
Chartered Organization         Lds ‐ Lakeshore Ward/Syracuse West Stake                 Trapper Trails 589               1600 S 4500 W                                         Syracuse, UT 84075                                         First Class Mail
Chartered Organization         Lds ‐ Laketown Ward/Paris Stake                          Trapper Trails 589               115 S 100 E                                           Laketown, UT 84038‐7706                                    First Class Mail
Chartered Organization         Lds ‐ Lakeview Ward/Hooper Stake                         Trapper Trails 589               5253 S 6150 W                                         Hooper, UT 84315‐6702                                      First Class Mail
Chartered Organization         Lds ‐ Lakeview Ward/Northridge Stake                     Trapper Trails 589               2505 N Church St                                      Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Lakewood Ward ‐ Cypress Stake                      Sam Houston Area Council 576     12310 New Hampton Dr                                  Tomball, TX 77377‐8462                                     First Class Mail
Chartered Organization         Lds ‐ Lakewood Ward/Dallas East Stake                    Circle Ten Council 571           5454 Amesbury Dr                                      Dallas, TX 75206‐3482                                      First Class Mail
Chartered Organization         Lds ‐ Lakewood Ward/Dallas East Stake                    Circle Ten Council 571           6250 Mccommas Blvd                                    Dallas, TX 75214‐3000                                      First Class Mail
Chartered Organization         Lds ‐ Layton 17Th Ward/Layton Stake                      Trapper Trails 589               1290 Church St                                        Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Layton 18Th Ward/Creekside Stake                   Trapper Trails 589               1480 W Phillips St                                    Kaysville, UT 84037                                        First Class Mail
Chartered Organization         Lds ‐ Layton 28Th Ward/Northridge Stake                  Trapper Trails 589               2505 N Church St                                      Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Layton 31St Ward/Creekside Stake                   Trapper Trails 589               1480 Phillips St                                      Kaysville, UT 84037                                        First Class Mail
Chartered Organization         Lds ‐ Layton 38Th Ward/Creekside Stake                   Trapper Trails 589               725 S 200 E                                           Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Layton 3Rd Ward/Layton Stake                       Trapper Trails 589               1402 N Fort Ln                                        Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Layton 4Th Ward/Creekside Stake                    Trapper Trails 589               1480 Phillips St                                      Kaysville, UT 84037                                        First Class Mail
Chartered Organization         Lds ‐ Layton 6Th Ward/Layton Stake                       Trapper Trails 589               1402 N Fort Ln                                        Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Layton 7Th Ward/Creekside Stake                    Trapper Trails 589               725 S 200 E                                           Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Layton Park Ward/Valley View Stake                 Trapper Trails 589               789 E Wasatch Dr                                      Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ League City ‐ Friendswood                          Bay Area Council 574             4511 Brookstone Ln                                    League City, TX 77573‐3590                                 First Class Mail
Chartered Organization         Lds ‐ Legacy Park Ward/Legacy Park Stake                 Trapper Trails 589               2024 S 1475 W                                         Syracuse, UT 84075                                         First Class Mail
Chartered Organization         Lds ‐ Legends Ward ‐ Spring Stake                        Sam Houston Area Council 576     25623 Richards Rd                                     Spring, TX 77386‐2641                                      First Class Mail
Chartered Organization         Lds ‐ Lemoore ‐ Hanford Stake                            Sequoia Council 027              800 E Hanford Armona Rd                               Lemoore, CA 93245‐2153                                     First Class Mail
Chartered Organization         Lds ‐ Lewiston 1St Ward/Richmond Stake                   Trapper Trails 589               836 Preston Ave                                       Lewiston, ID 83501                                         First Class Mail
Chartered Organization         Lds ‐ Lewiston 2Nd Ward/Richmond Stake                   Trapper Trails 589               3810 16th St                                          Lewiston, ID 83501‐5813                                    First Class Mail
Chartered Organization         Lds ‐ Lewiston 3Rd Ward/Richmond Stake                   Trapper Trails 589               16 S Main St                                          Lewiston, UT 84320‐2056                                    First Class Mail
Chartered Organization         Lds ‐ Lewiston 4Th Ward/Richmond Stake                   Trapper Trails 589               16 S Main St                                          Lewiston, UT 84320‐2056                                    First Class Mail
Chartered Organization         Lds ‐ Liberty 1St Ward/Huntsville Stake                  Trapper Trails 589               4279 N 3300 E                                         Liberty, UT 84310‐9706                                     First Class Mail
Chartered Organization         Lds ‐ Liberty 2Nd Ward/Huntsville Stake                  Trapper Trails 589               4279 N 3300 E                                         Liberty, UT 84310‐9706                                     First Class Mail
Chartered Organization         Lds ‐ Liberty Park Ward/Ogden Stake                      Trapper Trails 589               1050 E 21st St                                        Ogden, UT 84401                                            First Class Mail
Chartered Organization         Lds ‐ Liberty Ward/Paris Stake                           Trapper Trails 589               29 Church Rd                                          Liberty, ID 83254                                          First Class Mail
Chartered Organization         Lds ‐ Lincoln Ward/Layton Hills Stake                    Trapper Trails 589               590 W 2000 N                                          Layton, UT 84041‐1627                                      First Class Mail
Chartered Organization         Lds ‐ Lindsay ‐ Porterville Stake                        Sequoia Council 027              516 Mountain View Dr                                  Lindsay, CA 93247‐1648                                     First Class Mail
Chartered Organization         Lds ‐ Linrose Ward/Preston South Stake                   Trapper Trails 589               825 N Westside Hwy                                    Dayton, ID 83232‐5140                                      First Class Mail
Chartered Organization         Lds ‐ Linton Ward ‐ Bloomington                          Hoosier Trails Council 145 145   1475 W Lone Tree Rd                                   Linton, IN 47441                                           First Class Mail
Chartered Organization         Lds ‐ Live Oak Ward                                      North Florida Council 087        5659 185th Rd                                         Live Oak, FL 32060‐1348                                    First Class Mail
Chartered Organization         Lds ‐ Logan 12Th Ward/Logan Stake                        Trapper Trails 589               910 Three Point Ave                                   Logan, UT 84321                                            First Class Mail
Chartered Organization         Lds ‐ Logan 15Th Ward/Cache West Stake                   Trapper Trails 589               125 W 600 N                                           Logan, UT 84321‐3239                                       First Class Mail
Chartered Organization         Lds ‐ Logan 16Th Ward/Cache West Stake                   Trapper Trails 589               125 W 600 N                                           Logan, UT 84321‐3239                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                            Page 189 of 442
                                                                               Case 20-10343-LSS                                Doc 8171                                     Filed 01/06/22                          Page 205 of 457
                                                                                                                                                                Exhibit B
                                                                                                                                                                 Service List
                                                                                                                                                          Served as set forth below

        Description                                                     Name                                                                                  Address                                                                  Email              Method of Service
Chartered Organization         Lds ‐ Logan 17Th Ward/Cache West Stake                 Trapper Trails 589                   440 W 550 N                                              Logan, UT 84321‐3736                                       First Class Mail
Chartered Organization         Lds ‐ Logan 1St Ward/Cache West                        Trapper Trails 589                   89 S 200 W                                               Logan, UT 84321‐4518                                       First Class Mail
Chartered Organization         Lds ‐ Logan 2Nd Ward/Cache West Stake                  Trapper Trails 589                   89 S 200 W                                               Logan, UT 84321‐4518                                       First Class Mail
Chartered Organization         Lds ‐ Logan 3Rd Ward/Cache West                        Trapper Trails 589                   250 N 400 W                                              Logan, UT 84321‐3703                                       First Class Mail
Chartered Organization         Lds ‐ Logan 4Th Ward/Cache Stake                       Trapper Trails 589                   294 N 100 E                                              Logan, UT 84321‐4002                                       First Class Mail
Chartered Organization         Lds ‐ Logan 5Th Ward/Logan Central Stake               Trapper Trails 589                   502 E 300 N                                              Logan, UT 84321‐4208                                       First Class Mail
Chartered Organization         Lds ‐ Logan 9Th Ward/Cache Stake                       Trapper Trails 589                   125 E 500 N                                              Logan, UT 84321‐4030                                       First Class Mail
Chartered Organization         Lds ‐ Logan River 4Th Ward/Logan Stake                 Trapper Trails 589                   993 W 100 S                                              Logan, UT 84321                                            First Class Mail
Chartered Organization         Lds ‐ Logan River 5Th Ward/Logan Stake                 Trapper Trails 589                   502 E 300 N                                              Logan, UT 84321‐4208                                       First Class Mail
Chartered Organization         Lds ‐ Longwood Ward ‐ Cypress Stake                    Sam Houston Area Council 576         12310 New Hampton Dr                                     Tomball, TX 77377‐8462                                     First Class Mail
Chartered Organization         Lds ‐ Lyman 1St Ward/Lyman Stake                       Trapper Trails 589                   127 N Main St                                            Lyman, WY 82937                                            First Class Mail
Chartered Organization         Lds ‐ Lyman 2Nd Ward/Lyman Stake                       Trapper Trails 589                   127 N Main St                                            Lyman, WY 82937                                            First Class Mail
Chartered Organization         Lds ‐ Lyman 3Rd Ward/Lyman Stake                       Trapper Trails 589                   127 N Main St                                            Lyman, WY 82937                                            First Class Mail
Chartered Organization         Lds ‐ Lyman 4Th Ward/Lyman Stake                       Trapper Trails 589                   3815 N Hwy 414                                           Lyman, WY 82937                                            First Class Mail
Chartered Organization         Lds ‐ Macclenny Ward                                   North Florida Council 087            904 S 5th St                                             Macclenny, FL 32063                                        First Class Mail
Chartered Organization         Lds ‐ Madera 1St ‐ Fresno West Stake                   Sequoia Council 027                  2112 Sunset Ave                                          Madera, CA 93637                                           First Class Mail
Chartered Organization         Lds ‐ Madera 2Nd ‐ Fresno West Stake                   Sequoia Council 027                  2112 Sunset                                              Madera, CA 93637                                           First Class Mail
Chartered Organization         Lds ‐ Madera 2Nd ‐ Fresno West Stake                   Sequoia Council 027                  2112 Sunset                                              Madera, CA 93637                                           First Class Mail
Chartered Organization         Lds ‐ Magnolia 1St Ward ‐ Klein Stake                  Sam Houston Area Council 576         25822 Bridle Fls                                         Magnolia, TX 77355‐5893                                    First Class Mail
Chartered Organization         Lds ‐ Malans Peak Ward/Ogden Stake                     Trapper Trails 589                   1643 26th St                                             Ogden, UT 84401                                            First Class Mail
Chartered Organization         Lds ‐ Mandarin 1St Ward                                North Florida Council 087            11951 Old Saint Augustine Rd                             Jacksonville, FL 32258‐2125                                First Class Mail
Chartered Organization         Lds ‐ Mandarin 2Nd Ward                                North Florida Council 087            11951 Old Saint Augustine Rd                             Jacksonville, FL 32258‐2125                                First Class Mail
Chartered Organization         Lds ‐ Manila Ward/Green River Stake                    Trapper Trails 589, 1st N 1st W      Manila, UT 84046                                                                                                    First Class Mail
Chartered Organization         Lds ‐ Mantua 1St Ward/Box Elder Stake                  Trapper Trails 589                   237 Willard Peak Rd                                      Mantua, UT 84324                                           First Class Mail
Chartered Organization         Lds ‐ Mantua 2Nd Ward/Box Elder Stake                  Trapper Trails 589                   237 Willard Peak Rd                                      Mantua, UT 84324                                           First Class Mail
Chartered Organization         Lds ‐ Maple Way Ward/Holmes Creek Stake                Trapper Trails 589                   380 S Fairfield Rd                                       Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Mapleton Ward/Franklin Stake                     Trapper Trails 589                   5307 E Cub River Rd                                      Preston, ID 83263                                          First Class Mail
Chartered Organization         Lds ‐ Maplewood Ward/Legacy Park Stake                 Trapper Trails 589                   2024 S 1475 W                                            Syracuse, UT 84075                                         First Class Mail
Chartered Organization         Lds ‐ Marianna                                         Alabama‐Florida Council 003          3141 College St                                          Marianna, FL 32446‐1666                                    First Class Mail
Chartered Organization         Lds ‐ Marion Ward ‐ Kingsport Stake                    Blue Ridge Mtns Council 599          156 Water Mill Rd                                        Marion, VA 24354‐4533                                      First Class Mail
Chartered Organization         Lds ‐ Martinsville Ward ‐ Roanoke Stake                Blue Ridge Mtns Council 599          25 Riverside Dr                                          Bassett, VA 24055                                          First Class Mail
Chartered Organization         Lds ‐ Mcallen I                                        Rio Grande Council 775               1700 Ulex Ave                                            Mcallen, TX 78504‐3648                                     First Class Mail
Chartered Organization         Lds ‐ Mckinley ‐ Fresno East Stake                     Sequoia Council 027                  6641 E Butler Ave                                        Fresno, CA 93727                                           First Class Mail
Chartered Organization         Lds ‐ Mckinney 1St Ward/Mckinney Stake                 Circle Ten Council 571               1020 N Lake Forest Dr                                    Mc Kinney, TX 75071‐1020                                   First Class Mail
Chartered Organization         Lds ‐ Mckinney 2Nd Ward/Mckinney Stake                 Circle Ten Council 571               2801 W Eldorado Pkwy                                     Mc Kinney, TX 75070                                        First Class Mail
Chartered Organization         Lds ‐ Mckinney 3Rd Ward/Mckinney Stake                 Circle Ten Council 571               2801 El Dorado Pkwy                                      Mckinney, TX 75070                                         First Class Mail
Chartered Organization         Lds ‐ Mckinney 3Rd Ward/Mckinney Stake                 Circle Ten Council 571               2801 Eldorado Pkwy                                       Mckinney, TX 75070                                         First Class Mail
Chartered Organization         Lds ‐ Mckinney 4Th Ward/Mckinney Stake                 Circle Ten Council 571               1020 N Lake Forest Dr                                    Mckinney, TX 75071‐1020                                    First Class Mail
Chartered Organization         Lds ‐ Mckinney 5Th Ward/Mckinney Stake                 Circle Ten Council 571               1020 N Lake Forest Dr                                    Mckinney, TX 75071‐1020                                    First Class Mail
Chartered Organization         Lds ‐ Mckinney 7Th Ward / Mckinney Stake               Circle Ten Council 571               2801 W Eldorado Pkwy                                     Mckinney, TX 75070                                         First Class Mail
Chartered Organization         Lds ‐ Mckinney 8Th Ward/Mckinney Stake                 Circle Ten Council 571               2910 Hardin Blvd                                         Mckinney, TX 75071                                         First Class Mail
Chartered Organization         Lds ‐ Meadow Lane Ward/Providence Stake                Trapper Trails 589                   485 W 200 S                                              Providence, UT 84332                                       First Class Mail
Chartered Organization         Lds ‐ Meadow View Ward/North Logan Stake               Trapper Trails 589                   2540 N 400 E                                             Logan, UT 84341                                            First Class Mail
Chartered Organization         Lds ‐ Meadowbrook Ward/Logan Stake                     Trapper Trails 589                   1078 S 900 W                                             Logan, UT 84321‐6773                                       First Class Mail
Chartered Organization         Lds ‐ Meadowbrook Ward/Mound Fort Stake                Trapper Trails 589                   373 15th St                                              Ogden, UT 84404‐5717                                       First Class Mail
Chartered Organization         Lds ‐ Meadows 1St Ward/Cache Stake                     Trapper Trails 589                   1585 N 400 W                                             Logan, UT 84341                                            First Class Mail
Chartered Organization         Lds ‐ Meadows Ward/Weber Stake                         Trapper Trails 589                   5855 Skyline Dr                                          Ogden, UT 84403                                            First Class Mail
Chartered Organization         Lds ‐ Melissa 1St Ward/Sherman Stake                   Circle Ten Council 571               737 E Melissa Rd                                         Melissa, TX 75454‐1733                                     First Class Mail
Chartered Organization         Lds ‐ Melissa 2Nd Ward/Sherman Stake                   Circle Ten Council 571               737 E Melissa Rd                                         Melissa, TX 75454‐1733                                     First Class Mail
Chartered Organization         Lds ‐ Memorial Ward ‐ Richmond Stake                   Sam Houston Area Council 576         14694 Perthshire Rd, Apt F                               Houston, TX 77079‐7656                                     First Class Mail
Chartered Organization         Lds ‐ Mendon 1St Ward/Mendon Stake                     Trapper Trails 589                   547 N 220 E                                              Mendon, UT 84325‐9707                                      First Class Mail
Chartered Organization         Lds ‐ Mendon 3Rd Ward/Mendon Stake                     Trapper Trails 589                   460 S 100 E                                              Mendon, UT 84325                                           First Class Mail
Chartered Organization         Lds ‐ Mendon 4Th Ward/Mendon Stake                     Trapper Trails 589                   P.O. Box 333                                             Mendon, UT 84325‐0333                                      First Class Mail
Chartered Organization         Lds ‐ Mercedes Ward Lds Church                         Rio Grande Council 775               210 Southgate Blvd                                       Weslaco, TX 78596‐7002                                     First Class Mail
Chartered Organization         Lds ‐ Mesquite Ward/Dallas East Stake                  Circle Ten Council 571               2801 Skyline Dr                                          Mesquite, TX 75149‐1877                                    First Class Mail
Chartered Organization         Lds ‐ Miamisburg Ward‐Dayton,Oh                        Miami Valley Council, Bsa 444        901 E Whipp Rd                                           Dayton, OH 45459‐2209                                      First Class Mail
Chartered Organization         Lds ‐ Middle Fork Ward/Huntsville Stake                Trapper Trails 589                   6500 E 1900 N                                            Eden, UT 84310‐9843                                        First Class Mail
Chartered Organization         Lds ‐ Middleburg Ward                                  North Florida Council 087            4342 County Rd 218                                       Middleburg, FL 32068‐4850                                  First Class Mail
Chartered Organization         Lds ‐ Midland 2Nd Ward/Roy Midland Stake               Trapper Trails 589                   3776 W 5375 S                                            Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Midland Farms Ward/Roy North Stake               Trapper Trails 589                   3845 S 2000 W                                            Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Mill Creek Ward/Mound Fort Stake                 Trapper Trails 589                   250 N 1500 W                                             Ogden, UT 84404                                            First Class Mail
Chartered Organization         Lds ‐ Millcreek Youth Ctr                              Trapper Trails 589                   790 W 12th St                                            Ogden, UT 84404‐5406                                       First Class Mail
Chartered Organization         Lds ‐ Mills Branch Ward                                Sam Houston Area Council 576         4021 Deerbrook Dr                                        Kingwood, TX 77339‐1904                                    First Class Mail
Chartered Organization         Lds ‐ Milton Ward/Morgan West Stake                    Trapper Trails 589                   1255 N Morgan Valley Dr                                  Morgan, UT 84050‐9874                                      First Class Mail
Chartered Organization         Lds ‐ Milwaukee Stake ‐ Elkhorn Ward                   Glaciers Edge Council 620            W3799 State Rd 50                                        Lake Geneva, WI 53147                                      First Class Mail
Chartered Organization         Lds ‐ Mission 1St Ward                                 Rio Grande Council 775               5601 N 29th St                                           Mcallen, TX 78504                                          First Class Mail
Chartered Organization         Lds ‐ Mission Ii                                       Rio Grande Council 775               3107 N Bryan Rd                                          Mission, TX 78574                                          First Class Mail
Chartered Organization         Lds ‐ Mobile Ward ‐ Mobile Stake                       Mobile Area Council‐Bsa 004          5520 Zeigler Blvd                                        Mobile, AL 36608‐4338                                      First Class Mail
Chartered Organization         Lds ‐ Montgomery Ward ‐ Spring Stake                   Sam Houston Area Council 576         1516 Wilson Rd                                           Conroe, TX 77304‐2124                                      First Class Mail
Chartered Organization         Lds ‐ Morgan 10Th Ward/Morgan Stake                    Trapper Trails 589                   10 W Young St                                            Morgan, UT 84050‐9000                                      First Class Mail
Chartered Organization         Lds ‐ Morgan 11Th Ward/Morgan Stake                    Trapper Trails 589                   355 N 700 E                                              Morgan, UT 84050‐9370                                      First Class Mail
Chartered Organization         Lds ‐ Morgan 12Th Ward/Morgan Stake                    Trapper Trails 589                   10 W Young St                                            Morgan, UT 84050‐9000                                      First Class Mail
Chartered Organization         Lds ‐ Morgan 1St Ward/Morgan Stake                     Trapper Trails 589                   355 N 700 E                                              Morgan, UT 84050‐9370                                      First Class Mail
Chartered Organization         Lds ‐ Morgan 2Nd Ward/Morgan Stake                     Trapper Trails 589                   240 S Field St                                           Morgan, UT 84050                                           First Class Mail
Chartered Organization         Lds ‐ Morgan 3Rd Ward/Morgan Stake                     Trapper Trails 589                   10 W Young St                                            Morgan, UT 84050‐9000                                      First Class Mail
Chartered Organization         Lds ‐ Morgan 5Th Ward/Morgan Stake                     Trapper Trails 589                   2700 S Morgan Valley Dr                                  Morgan, UT 84050‐9846                                      First Class Mail
Chartered Organization         Lds ‐ Morgan 7Th Ward/Morgan Stake                     Trapper Trails 589                   240 S Field St                                           Morgan, UT 84050                                           First Class Mail
Chartered Organization         Lds ‐ Morgan 9Th Ward/Morgan Stake                     Trapper Trails 589                   240 S Field St                                           Morgan, UT 84050                                           First Class Mail
Chartered Organization         Lds ‐ Mound Fort Ward/Mound Fort Stake                 Trapper Trails 589                   952 Childs Ave                                           Ogden, UT 84404                                            First Class Mail
Chartered Organization         Lds ‐ Mount Ogden Ward/Ogden East Stake                Trapper Trails 589                   1314 27th St                                             Ogden, UT 84403                                            First Class Mail
Chartered Organization         Lds ‐ Mountain Creek Ward/Dallas Stake                 Circle Ten Council 571               1910 Big Stone Gap                                       Duncanville, TX 75137                                      First Class Mail
Chartered Organization         Lds ‐ Mountain Creek Ward/Dallas Stake                 Circle Ten Council 571               1019 Big Stone Gap Rd                                    Duncanville, TX 75137‐2123                                 First Class Mail
Chartered Organization         Lds ‐ Mountain View 1St Ward/Lyman Stake               Trapper Trails 589                   116 W 4th St                                             Mountain View, WY 82939                                    First Class Mail
Chartered Organization         Lds ‐ Mountain View 2Nd Ward/Lyman Stake               Trapper Trails 589                   116 W 4th St                                             Mountain View, WY 82939                                    First Class Mail
Chartered Organization         Lds ‐ Mountain View 3Rd Ward/Lyman Stake               Trapper Trails 589                   3815 N Hwy 414                                           Lyman, WY 82937                                            First Class Mail
Chartered Organization         Lds ‐ Mountain Ward/Coldwater Stake                    Trapper Trails 589                   787 E 1700 N                                             North Ogden, UT 84414                                      First Class Mail
Chartered Organization         Lds ‐ Ms / Brandermill Ward                            Heart of Virginia Council 602        4601 N Bailey Bridge Rd                                  Midlothian, VA 23112                                       First Class Mail
Chartered Organization         Lds ‐ Ms / Cloverhill Ward                             Heart of Virginia Council 602        4601 N Bailey Bridge Rd                                  Midlothian, VA 23112                                       First Class Mail
Chartered Organization         Lds ‐ Mt Pleasant Ward/Gilmer Stake                    Circle Ten Council 571               2801 W Ferguson Rd                                       Mount Pleasant, TX 75455                                   First Class Mail
Chartered Organization         Lds ‐ Mt View ‐ Fresno North Stake                     Sequoia Council 027                  220 N Peach Ave                                          Clovis, CA 93612‐0217                                      First Class Mail
Chartered Organization         Lds ‐ Municipal Park Ward/Roy Stake                    Trapper Trails 589                   5930 S 2200 W                                            Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Nauvoo 3Rd Ward ‐ Nauvoo Stake                   Mississippi Valley Council 141 141   380 N Durphy St                                          Nauvoo, IL 62354                                           First Class Mail
Chartered Organization         Lds ‐ Nauvoo Stake ‐ Keokuk Branch                     Mississippi Valley Council 141 141   3238 Brookshire Dr                                       Keokuk, IA 52632‐2140                                      First Class Mail
Chartered Organization         Lds ‐ Nauvoo Ward ‐ Nauvoo Stake                       Mississippi Valley Council 141 141   P.O. Box 66                                              Nauvoo, IL 62354‐0066                                      First Class Mail
Chartered Organization         Lds ‐ Nauvoo Ward ‐ Nauvoo Stake                       Mississippi Valley Council 141 141   P.O. Box 454                                             Nauvoo, IL 62354‐0454                                      First Class Mail
Chartered Organization         Lds ‐ Newport                                          Katahdin Area Council 216            59 Libby Hill Rd                                         Newport, ME 04953                                          First Class Mail
Chartered Organization         Lds ‐ Newton 1St Ward/Benson Stake                     Trapper Trails 589                   76 S 100 W                                               Newton, UT 84327                                           First Class Mail
Chartered Organization         Lds ‐ Newton 2Nd Ward/Benson Stake                     Trapper Trails 589                   76 S 100 W                                               Newton, UT 84327                                           First Class Mail
Chartered Organization         Lds ‐ Nibley 10Th Ward/Nibley Stake                    Trapper Trails 589                   2825 S 1000 W                                            Nibley, UT 84321‐8245                                      First Class Mail
Chartered Organization         Lds ‐ Nibley 11Th Ward/Nibley Stake                    Trapper Trails 589                   130 W 2600 S                                             Nibley, UT 84321                                           First Class Mail
Chartered Organization         Lds ‐ Nibley 12Th Ward/Nibley Stake                    Trapper Trails 589                   3107 S 450 W                                             Nibley, UT 84321                                           First Class Mail
Chartered Organization         Lds ‐ Nibley 1St Ward/Nibley Stake                     Trapper Trails 589                   3701 S 450 W                                             Nibley, UT 84321‐5819                                      First Class Mail
Chartered Organization         Lds ‐ Nibley 2Nd Ward/Nibley Stake                     Trapper Trails 589                   130 W 2600 S                                             Nibley, UT 84321                                           First Class Mail
Chartered Organization         Lds ‐ Nibley 3Rd Ward/Nibley Stake                     Trapper Trails 589                   3701 S 450 W                                             Nibley, UT 84321‐5819                                      First Class Mail
Chartered Organization         Lds ‐ Nibley 4Th Ward/Niblely Stake                    Trapper Trails 589                   360 W 3200 S                                             Nibley, UT 84321‐6579                                      First Class Mail
Chartered Organization         Lds ‐ Nibley 5Th Ward/Nibley Stake                     Trapper Trails 589                   3701 S 450 W                                             Nibley, UT 84321‐5819                                      First Class Mail
Chartered Organization         Lds ‐ Nibley 6Th Ward/Nibley Stake                     Trapper Trails 589                   360 W 3200 S                                             Nibley, UT 84321‐6579                                      First Class Mail
Chartered Organization         Lds ‐ Nibley 7Th Ward/Nibley Stake                     Trapper Trails 589                   450 W 3701 S                                             Nibley, UT 84321                                           First Class Mail
Chartered Organization         Lds ‐ Nibley 8Th Ward/Nibley Stake                     Trapper Trails 589                   2825 S 1000 W                                            Nibley, UT 84321‐8245                                      First Class Mail
Chartered Organization         Lds ‐ Nibley 9Th Ward/Nibley Stake                     Trapper Trails 589                   2600 S 130 W                                             Logan, UT 84321                                            First Class Mail
Chartered Organization         Lds ‐ Normandy Ward                                    North Florida Council 087            5100 Firestone Rd                                        Jacksonville, FL 32210‐6722                                First Class Mail
Chartered Organization         Lds ‐ North Fork Ward/Huntsville Stake                 Trapper Trails 589                   4279 N 3300 E                                            Liberty, UT 84310‐9706                                     First Class Mail
Chartered Organization         Lds ‐ North Mankato                                    Twin Valley Council Bsa 283          1851 Marie Ln                                            North Mankato, MN 56003                                    First Class Mail
Chartered Organization         Lds ‐ North Park Ward/Layton Stake                     Trapper Trails 589                   202 W 1675 N                                             Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ North Park Ward/North Logan Stake                Trapper Trails 589                   North Logan Stake                                        North Logan, UT 84341                                      First Class Mail
Chartered Organization         Lds ‐ North Park Ward/Roy North Stake                  Trapper Trails 589                   2175 W 4250 S                                            Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Northwood Ward/Central Stake                     Trapper Trails 589                   125 E 500 N                                              Logan, UT 84321‐4030                                       First Class Mail
Chartered Organization         Lds ‐ Oak Brook Ward/Logan Stake                       Trapper Trails 589                   645 Trail Cir                                            Logan, UT 84321                                            First Class Mail
Chartered Organization         Lds ‐ Oak Cliff 1St Ward/Dallas Stake                  Circle Ten Council 571               1415 S Vernon Ave                                        Dallas, TX 75224‐1332                                      First Class Mail
Chartered Organization         Lds ‐ Oak Forest Ward/Layton North Stake               Trapper Trails 589                   2250 E 2200 N                                            Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Oak Hollow Ward/Haight Creek Stake               Trapper Trails 589                   1520 Fox Pointe Dr                                       Kaysville, UT 84037‐5400                                   First Class Mail
Chartered Organization         Lds ‐ Oak Lane Ward/Kays Creek Stake                   Trapper Trails 589                   2680 E Cherry Ln                                         Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Oak Ridge Ward ‐ Spring Stake                    Sam Houston Area Council 576         25623 Richards Rd                                        Spring, TX 77386‐2641                                      First Class Mail
Chartered Organization         Lds ‐ Oak Ridge Ward/Layton North Stake                Trapper Trails 589                   2250 E 2200 N                                            Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Oak Woods Ward/Crestwood Stake                   Trapper Trails 589                   Crestwood Stake                                          Kaysville, UT 84037                                        First Class Mail
Chartered Organization         Lds ‐ Oakhills Ward/Valley View Stake                  Trapper Trails 589                   1410 E Gentile St                                        Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Oakhurst Ward ‐ Kingwood Stake                   Sam Houston Area Council 576         4021 Deerbrook Dr                                        Kingwood, TX 77339‐1904                                    First Class Mail
Chartered Organization         Lds ‐ Oakleaf Ward                                     North Florida Council 087            461 Blanding Blvd                                        Orange Park, FL 32073‐5002                                 First Class Mail
Chartered Organization         Lds ‐ Ocala 1St Ward                                   North Florida Council 087            1831 SE 18th Ave                                         Ocala, FL 34471‐8313                                       First Class Mail
Chartered Organization         Lds ‐ Ocala 2Nd Ward                                   North Florida Council 087            1832 SE 18th Ave                                         Ocala, FL 34471                                            First Class Mail
Chartered Organization         Lds ‐ Ogden 49Th Ward                                  Trapper Trails 589                   4210 S 300 W                                             Riverdale, UT 84405                                        First Class Mail
Chartered Organization         Lds ‐ Ogden 4Th Ward/Ogden Stake                       Trapper Trails 589                   2115 Jefferson Ave                                       Ogden, UT 84401                                            First Class Mail
Chartered Organization         Lds ‐ Ogden River Ward/Mound Fort Stake                Trapper Trails 589                   373 15th St                                              Ogden, UT 84404‐5717                                       First Class Mail
Chartered Organization         Lds ‐ Old Farm Ward/Kaysville Stake                    Trapper Trails 589                   235 N Bonneville Lane                                    Kaysville, UT 84037                                        First Class Mail
Chartered Organization         Lds ‐ Old Mill Ward/Deseret Mill Stake                 Trapper Trails 589                   925 Deseret Dr                                           Kaysville, UT 84037                                        First Class Mail
Chartered Organization         Lds ‐ Old Post Ward/Weber Heights Stake                Trapper Trails 589                   5191 Old Post Rd                                         Ogden, UT 84403                                            First Class Mail
Chartered Organization         Lds ‐ Orange Park 1St Ward                             North Florida Council 087            461 Blanding Blvd                                        Orange Park, FL 32073‐5002                                 First Class Mail
Chartered Organization         Lds ‐ Orangeburg Ward                                  Indian Waters Council 553            2740 Broughton St                                        Orangeburg, SC 29115‐4100                                  First Class Mail
Chartered Organization         Lds ‐ Orchard View ‐ Fresno North Stake                Sequoia Council 027                  Peach Nees                                               Clovis, CA 93611                                           First Class Mail
Chartered Organization         Lds ‐ Overland Ward/Rock Springs Stake                 Trapper Trails 589                   3315 White Mountain Blvd                                 Rock Springs, WY 82901                                     First Class Mail
Chartered Organization         Lds ‐ Painted Post                                     Five Rivers Council, Inc 375         9666 Chatfield Pl                                        Painted Post, NY 14870                                     First Class Mail
Chartered Organization         Lds ‐ Palatka 1St Ward                                 North Florida Council 087            1414 Husson Ave                                          Palatka, FL 32177‐5464                                     First Class Mail
Chartered Organization         Lds ‐ Palatka 2Nd Ward                                 North Florida Council 087            1414 Husson Ave                                          Palatka, FL 32177‐5464                                     First Class Mail
Chartered Organization         Lds ‐ Palm Harbor Ward ‐ St Pete Stake                 Greater Tampa Bay Area 089           3303 Belcher Rd                                          Palm Harbor, FL 34683                                      First Class Mail
Chartered Organization         Lds ‐ Paradise 1St Ward/Hyrum Stake                    Trapper Trails 589                   155 E 9400 S                                             Paradise, UT 84328‐9600                                    First Class Mail
Chartered Organization         Lds ‐ Paradise 2Nd Ward/Hyrum Stake                    Trapper Trails 589                   P.O. Box 427                                             Paradise, UT 84328‐0427                                    First Class Mail
Chartered Organization         Lds ‐ Paradise 3Rd Ward/Hyrum Stake                    Trapper Trails 589                   9060 S 200 W                                             Paradise, UT 84328‐7784                                    First Class Mail
Chartered Organization         Lds ‐ Paradise 4Th Ward/Hyrum Stake                    Trapper Trails 589                   155 E 9400 S                                             Paradise, UT 84328‐9600                                    First Class Mail
Chartered Organization         Lds ‐ Paradise Acres/Rock Cliff Stake                  Trapper Trails 589                   236 Porter Ave                                           Ogden, UT 84404                                            First Class Mail
Chartered Organization         Lds ‐ Paris Ward/Gilmer Stake                          Circle Ten Council 571               3060 Pine Mill Rd                                        Paris, TX 75460‐4935                                       First Class Mail
Chartered Organization         Lds ‐ Park Avenue Ward/Logan Stake                     Trapper Trails 589                   940 Three Point Ave                                      Logan, UT 84321‐5029                                       First Class Mail
Chartered Organization         Lds ‐ Park Valley Ward/Garland Stake                   Trapper Trails 589                   54080 W 17600 N                                          Park Valley, UT 84329                                      First Class Mail
Chartered Organization         Lds ‐ Park Ward/Creekside Stake                        Trapper Trails 589                   275 Park St                                              Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Park Ward/Hooper Stake                           Trapper Trails 589                   6138 W 5700 S                                            Hooper, UT 84315‐9731                                      First Class Mail
Chartered Organization         Lds ‐ Park West Ward/Layton West Stake                 Trapper Trails 589                   1715 W 1600 N                                            Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Parkway Ward ‐ Tomball Stake                     Sam Houston Area Council 576         9203 Barnsford Ln                                        Tomball, TX 77375‐2219                                     First Class Mail
Chartered Organization         Lds ‐ Peacefield Ward/Valley View Stake                Trapper Trails 589                   1589 E Gentile St                                        Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Peachwood ‐ Fresno North Stake                   Sequoia Council 027                  478 W Birch Ave                                          Clovis, CA 93611‐6724                                      First Class Mail
Chartered Organization         Lds ‐ Pearland ‐ Friendswood                           Bay Area Council 574                 3311 Sfork Dr                                            Pearland, TX 77584                                         First Class Mail
Chartered Organization         Lds ‐ Perry 1St Ward/Perry Stake                       Trapper Trails 589                   1290 W 2950 S                                            Perry, UT 84302                                            First Class Mail
Chartered Organization         Lds ‐ Perry 2Nd Ward/Perry Stake                       Trapper Trails 589                   2415 Park Dr                                             Perry, UT 84302                                            First Class Mail
Chartered Organization         Lds ‐ Perry 3Rd Ward/Willard Stake                     Trapper Trails 589                   1290 W 2950 S                                            Perry, UT 84302                                            First Class Mail
Chartered Organization         Lds ‐ Perry 4Th Ward/Perry Stake                       Trapper Trails 589                   685 2250 S                                               Perry, UT 84302‐4181                                       First Class Mail
Chartered Organization         Lds ‐ Perry 5Th Ward/Perry Stake                       Trapper Trails 589                   2415 Park Dr                                             Perry, UT 84302                                            First Class Mail
Chartered Organization         Lds ‐ Perry 6Th Ward/Perry Stake                       Trapper Trails 589                   1290 W 2950 S                                            Perry, UT 84302                                            First Class Mail
Chartered Organization         Lds ‐ Perry 7Th Ward/Perry Stake                       Trapper Trails 589                   2415 Park Dr                                             Perry, UT 84302                                            First Class Mail
Chartered Organization         Lds ‐ Perry 8Th Ward/Perry Stake                       Trapper Trails 589                   685 2250 S                                               Perry, UT 84302‐4181                                       First Class Mail
Chartered Organization         Lds ‐ Perry 9Th Ward/Perry Stake                       Trapper Trails 589                   118 Chateau Dr                                           Perry, UT 84302‐6734                                       First Class Mail
Chartered Organization         Lds ‐ Petersboro Ward/Mendon Stake                     Trapper Trails 589                   20 N 100 W                                               Mendon, UT 84325‐9761                                      First Class Mail
Chartered Organization         Lds ‐ Peterson Ward/Morgan West Stake                  Trapper Trails 589                   2755 W Old Hwy Rd                                        Morgan, UT 84050‐9352                                      First Class Mail
Chartered Organization         Lds ‐ Pheasant Run Ward/Roy West Stake                 Trapper Trails 589                   5080 S 3100 W                                            Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Phenix City Ward                                 Attn: Chris Zeh                      20 Elm Ct                                                Smiths Station, AL 36877‐4867                              First Class Mail
Chartered Organization         Lds ‐ Pine Mountain                                    Chattahoochee Council 091            550 S St                                                 Pine Mountain Valley, GA 31823                             First Class Mail
Chartered Organization         Lds ‐ Pioneer Park ‐ Fresno North Stake                Sequoia Council 027                  524 W Gettysburg Ave                                     Clovis, CA 93612‐4214                                      First Class Mail
Chartered Organization         Lds ‐ Pioneer Ward/ Irving Stake                       Circle Ten Council 571               1553 S Story Rd                                          Irving, TX 75060‐5006                                      First Class Mail
Chartered Organization         Lds ‐ Pioneer Ward/Mound Fort Stake                    Trapper Trails 589                   250 N 1500 W                                             Ogden, UT 84404                                            First Class Mail
Chartered Organization         Lds ‐ Pioneer Ward/South Weber Stake                   Trapper Trails 589                   6660 S 1775 E                                            Ogden, UT 84405                                            First Class Mail
Chartered Organization         Lds ‐ Plano 10Th Ward/Plano Stake                      Circle Ten Council 571               3401 Los Rios Blvd                                       Plano, TX 75074‐3518                                       First Class Mail
Chartered Organization         Lds ‐ Plano 1St Ward/Plano Stake                       Circle Ten Council 571               2700 Roundrock Trl                                       Plano, TX 75075                                            First Class Mail
Chartered Organization         Lds ‐ Plano 2Nd Ward/Plano Stake                       Circle Ten Council 571               2700 Roundrock Trl                                       Plano, TX 75075                                            First Class Mail
Chartered Organization         Lds ‐ Plano 4Th Ward/Plano Stake                       Circle Ten Council 571               2401 Legacy Dr                                           Plano, TX 75023‐2160                                       First Class Mail
Chartered Organization         Lds ‐ Plano 5Th Ward/Plano Stake                       Circle Ten Council 571               3401 Los Rios Blvd                                       Plano, TX 75074‐3518                                       First Class Mail
Chartered Organization         Lds ‐ Plano 6Th Ward/Plano Stake                       c/o Bishop Curt Shill                1700 Craig Dr                                            Plano, TX 75023‐1815                                       First Class Mail
Chartered Organization         Lds ‐ Plano 7Th Ward/Plano Stake                       Circle Ten Council 571               3401 Los Rios Blvd                                       Plano, TX 75074‐3518                                       First Class Mail
Chartered Organization         Lds ‐ Plano 8Th Ward/Plano Stake                       Circle Ten Council 571               2444 Deer Horn Dr                                        Plano, TX 75025‐4712                                       First Class Mail
Chartered Organization         Lds ‐ Plano 9Th Ward/Plano Stake                       Circle Ten Council 571               6454 W Plano Pkwy                                        Plano, TX 75093                                            First Class Mail
Chartered Organization         Lds ‐ Pleasant View 10Th Ward                          Trapper Trails 589                   3602 N 500 W                                             Pleasant View, UT 84414                                    First Class Mail
Chartered Organization         Lds ‐ Portage Ward/Fielding Stake                      Trapper Trails 589                   8765 Wild Rose Ln                                        Portage, UT 84331‐8924                                     First Class Mail
Chartered Organization         Lds ‐ Porterville/Morgan West                          Trapper Trails 589                   2700 S Morgan Valley Dr                                  Morgan, UT 84050‐9846                                      First Class Mail
Chartered Organization         Lds ‐ Powell Valley Ward                               Sequoyah Council 713                 Middle School Rd                                         Big Stone Gap, VA 24219                                    First Class Mail
Chartered Organization         Lds ‐ Preston 1St Ward/Franklin Stake                  Trapper Trails 589                   213 S 2nd E                                              Preston, ID 83263                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                 Page 190 of 442
                                                                               Case 20-10343-LSS                                Doc 8171                                   Filed 01/06/22                          Page 206 of 457
                                                                                                                                                              Exhibit B
                                                                                                                                                               Service List
                                                                                                                                                        Served as set forth below

        Description                                                     Name                                                                                Address                                                                  Email              Method of Service
Chartered Organization         Lds ‐ Preston 5Th Ward/Franklin Stake                  Trapper Trails 589                   213 S 2nd E                                            Preston, ID 83263                                          First Class Mail
Chartered Organization         Lds ‐ Preston 8Th Ward/Franklin Stake                  Trapper Trails 589                   213 S 2nd E                                            Preston, ID 83263                                          First Class Mail
Chartered Organization         Lds ‐ Price Creek Ward                                 North Florida Council 087            909 SE Country Club Rd                                 Lake City, FL 32025‐3301                                   First Class Mail
Chartered Organization         Lds ‐ Quincy Ward 1 ‐ Nauvoo Stake                     Mississippi Valley Council 141 141   210 Cardinal Ter                                       Quincy, IL 62305‐0918                                      First Class Mail
Chartered Organization         Lds ‐ Quitman Ward                                     East Texas Area Council 585          1128 E Goode St                                        Quitman, TX 75783                                          First Class Mail
Chartered Organization         Lds ‐ Radford Ward ‐ Pembroke Stake                    Blue Ridge Mtns Council 599          900 Pendleton St                                       Radford, VA 24141‐2825                                     First Class Mail
Chartered Organization         Lds ‐ Raleigh ‐ Falls Lake Ward                        Occoneechee 421                      1524 Jenkins Rd                                        Wake Forest, NC 27587‐9065                                 First Class Mail
Chartered Organization         Lds ‐ Raleigh ‐ Henderson Ward                         Occoneechee 421                      1615 Graham Ave                                        Henderson, NC 27536‐2913                                   First Class Mail
Chartered Organization         Lds ‐ Raleigh ‐ Raleigh 1St Ward                       Occoneechee 421                      5060 Six Forks Rd                                      Raleigh, NC 27609‐4428                                     First Class Mail
Chartered Organization         Lds ‐ Raleigh ‐ Raleigh 1St Ward                       Occoneechee 421                      5060 Six Forks Rd                                      Raleigh, NC 27609‐4428                                     First Class Mail
Chartered Organization         Lds ‐ Raleigh ‐ Raleigh 2Nd Ward                       Occoneechee 421                      5060 Six Forks Rd                                      Raleigh, NC 27609‐4428                                     First Class Mail
Chartered Organization         Lds ‐ Raleigh ‐ Raleigh 4Th Ward                       Occoneechee 421                      7312 Forestville Rd                                    Knightdale, NC 27545‐8813                                  First Class Mail
Chartered Organization         Lds ‐ Raleigh ‐ Wake Forest 2Nd Ward                   Occoneechee 421                      1524 Jenkins Rd                                        Wake Forest, NC 27587‐9065                                 First Class Mail
Chartered Organization         Lds ‐ Raleigh ‐ Wake Forest Ward                       Occoneechee 421                      1524 Jenkins Rd                                        Wake Forest, NC 27587‐9065                                 First Class Mail
Chartered Organization         Lds ‐ Raleigh South ‐ Fuquay Varina Ward               Occoneechee 421                      6528 Johnson Pond Rd                                   Fuquay Varina, NC 27526‐9035                               First Class Mail
Chartered Organization         Lds ‐ Raleigh South ‐ Garner Ward                      Occoneechee 421                      1433 Aversboro Rd                                      Garner, NC 27529‐4546                                      First Class Mail
Chartered Organization         Lds ‐ Raleigh South ‐ Harris Lake Ward                 Occoneechee 421                      6528 Johnson Pond Rd                                   Fuquay Varina, NC 27526‐9035                               First Class Mail
Chartered Organization         Lds ‐ Raleigh South ‐ Holly Springs Ward               Occoneechee 421                      574 Bryan Dr                                           Apex, NC 27502‐4127                                        First Class Mail
Chartered Organization         Lds ‐ Raleigh South ‐ Knightdale Ward                  Occoneechee 421                      7312 Forestville Rd                                    Knightdale, NC 27545‐8813                                  First Class Mail
Chartered Organization         Lds ‐ Raleigh South ‐ Knightdale Ward                  Occoneechee 421                      7312 Forestville Rd                                    Knightdale, NC 27545‐8813                                  First Class Mail
Chartered Organization         Lds ‐ Raleigh South ‐ Lake Wheeler                     Occoneechee 421                      1433 Aversboro Rd                                      Garner, NC 27529‐4546                                      First Class Mail
Chartered Organization         Lds ‐ Raleigh South ‐ Sunset Lake Ward                 Occoneechee 421                      1411 New Moon Ct                                       Fuquay Varina, NC 27526‐5385                               First Class Mail
Chartered Organization         Lds ‐ Raleigh South ‐ Swift Creek Ward                 Occoneechee 421                      6528 Johnson Pond Rd                                   Fuquay Varina, NC 27526‐9035                               First Class Mail
Chartered Organization         Lds ‐ Raleigh South ‐ Zebulon Ward                     Occoneechee 421                      1300 Jones St Ne                                       Zebulon, NC 27597                                          First Class Mail
Chartered Organization         Lds ‐ Raleigh South ‐ Zebulon Ward                     Occoneechee 421                      1300 Jones St                                          Zebulon, NC 27597                                          First Class Mail
Chartered Organization         Lds ‐ Randolph 1St Ward/Kemmerer Stake                 Trapper Trails 589                   15 S Main St                                           Randolph, UT 84064‐7782                                    First Class Mail
Chartered Organization         Lds ‐ Randolph 2Nd Ward/Kemmerer Stake                 Trapper Trails 589                   15 S Main St                                           Randolph, UT 84064‐7782                                    First Class Mail
Chartered Organization         Lds ‐ Redbank ‐ Fresno East Stake                      Sequoia Council 027                  1880 Gettysburg Ave                                    Clovis, CA 93611‐5219                                      First Class Mail
Chartered Organization         Lds ‐ Richmond 1St Ward ‐ Richmond Stake               Sam Houston Area Council 576         9950 S Mason Rd                                        Richmond, TX 77406‐5881                                    First Class Mail
Chartered Organization         Lds ‐ Richmond 1St Ward/Richmond Stake                 Trapper Trails 589                   135 W Main St                                          Richmond, UT 84333‐1420                                    First Class Mail
Chartered Organization         Lds ‐ Richmond 2Nd Ward ‐ Richmond Stake               Sam Houston Area Council 576         9950 S Mason Rd                                        Richmond, TX 77406‐5881                                    First Class Mail
Chartered Organization         Lds ‐ Richmond 2Nd Ward/Richmond Stake                 Trapper Trails 589                   150 S 100 E                                            Richmond, UT 84333‐1611                                    First Class Mail
Chartered Organization         Lds ‐ Richmond 3Rd Ward/Richmond Stake                 Trapper Trails 589                   135 W Main St                                          Richmond, UT 84333‐1420                                    First Class Mail
Chartered Organization         Lds ‐ Richmond 4Th Ward/Richmond Stake                 Trapper Trails 589                   150 S 100 E                                            Richmond, UT 84333‐1611                                    First Class Mail
Chartered Organization         Lds ‐ Ridge Crest Ward/Northridge Stake                Trapper Trails 589                   2375 E 3225 N                                          Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ River Parkway Ward/Ogden Stake                   Trapper Trails 589                   1050 21st St                                           Ogden, UT 84401                                            First Class Mail
Chartered Organization         Lds ‐ Rivercrest Ward                                  Chattahoochee Council 091            3007 Howard Ave                                        Columbus, GA 31904‐8355                                    First Class Mail
Chartered Organization         Lds ‐ Riverdale 1St Ward/Riverdale Stake               Trapper Trails 589                   1056 W 4400 S                                          Riverdale, UT 84405                                        First Class Mail
Chartered Organization         Lds ‐ Riverdale 2Nd Ward/Riverdale Stake               Trapper Trails 589                   5500 S 1175 W                                          Riverdale, UT 84405                                        First Class Mail
Chartered Organization         Lds ‐ Riverdale 4Th Ward/Riverdale Stake               Trapper Trails 589                   5500 S 1175 W                                          Riverdale, UT 84405                                        First Class Mail
Chartered Organization         Lds ‐ Riverdale 5Th Ward/Riverdale Stake               Trapper Trails 589                   4000 Parker Dr                                         Riverdale, UT 84405                                        First Class Mail
Chartered Organization         Lds ‐ Riverdale 6Th Ward/Riverdale Stake               Trapper Trails 589                   4000 Parker Dr                                         Riverdale, UT 84405                                        First Class Mail
Chartered Organization         Lds ‐ Riverdale 7Th Ward/Riverdale Stake               Trapper Trails 589                   1056 W 4400 S                                          Riverdale, UT 84405                                        First Class Mail
Chartered Organization         Lds ‐ Riverdale 8Th Ward/Riverdale Stake               Trapper Trails 589                   4000 Parker Dr                                         Riverdale, UT 84405                                        First Class Mail
Chartered Organization         Lds ‐ Riverside ‐ Fresno West Stake                    Sequoia Council 027                  5025 W Ashlan Ave                                      Fresno, CA 93722                                           First Class Mail
Chartered Organization         Lds ‐ Riverside Ward/Mt Logan Stake                    Trapper Trails 589                   325 Lauralin Dr                                        Logan, UT 84321                                            First Class Mail
Chartered Organization         Lds ‐ Riverside Ward/Plain City Stake                  Trapper Trails 589                   4575 W 2125 N                                          Plain City, UT 84404                                       First Class Mail
Chartered Organization         Lds ‐ Riverview ‐ Fresno Stake                         Sequoia Council 027                  5685 N Cedar Ave                                       Fresno, CA 93710‐6603                                      First Class Mail
Chartered Organization         Lds ‐ Riverview Ward/Tremonton Stake                   c/o Shawn Lish                       482 N 1600 E                                           Tremonton, UT 84337‐6748                                   First Class Mail
Chartered Organization         Lds ‐ Roanoke Ward 1 ‐ Roanoke Stake                   Blue Ridge Mtns Council 599          6311 Wayburn Dr                                        Salem, VA 24153‐4116                                       First Class Mail
Chartered Organization         Lds ‐ Robins Park Ward/Layton Stake                    Trapper Trails 589                   60 W Gordon Ave                                        Layton, UT 84041‐2569                                      First Class Mail
Chartered Organization         Lds ‐ Rockwall Ward/Heath Stake                        Circle Ten Council 571               6819 S Fm 549                                          Rockwall, TX 75032‐6049                                    First Class Mail
Chartered Organization         Lds ‐ Rocky Mount Ward ‐ Roanoke Stake                 Blue Ridge Mtns Council 599          755 Gills Creek Ln                                     Hardy, VA 24101‐5031                                       First Class Mail
Chartered Organization         Lds ‐ Rose Wood Ward/West Haven Stake                  Trapper Trails 589                   3628 S 2700 W                                          West Haven, UT 84401‐8426                                  First Class Mail
Chartered Organization         Lds ‐ Rosehill Ward/Morgan North Stake                 Trapper Trails 589                   4150 W Old Hwy Rd                                      Mountain Green, UT 84050‐9806                              First Class Mail
Chartered Organization         Lds ‐ Rosenberg Ward ‐ Richmond Stake                  Sam Houston Area Council 576         139 Pecan Park Dr                                      Rosenberg, TX 77471                                        First Class Mail
Chartered Organization         Lds ‐ Rosewood Ward/Holmes Creek Stake                 Trapper Trails 589                   125 Chapel St                                          Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Rowlett 1St Ward/Heath Stake                     Circle Ten Council 571               8201 Garner Rd                                         Rowlett, TX 75088‐7344                                     First Class Mail
Chartered Organization         Lds ‐ Rowlett 2Nd Ward/Heath Stake                     Circle Ten Council 571               8201 Garner Rd                                         Rowlett, TX 75088‐7344                                     First Class Mail
Chartered Organization         Lds ‐ Rowlett 3Rd Ward/Heath Stake                     Circle Ten Council 571               8201 Garner Rd                                         Rowlett, TX 75088‐7344                                     First Class Mail
Chartered Organization         Lds ‐ Roy 10Th Ward/Roy South Stake                    Trapper Trails 589                   5900 S 3100 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 11Th Ward/Roy North Stake                    Trapper Trails 589                   4250 S 2175 W                                          Roy, UT 84067‐2046                                         First Class Mail
Chartered Organization         Lds ‐ Roy 12Th Ward/Roy Central Stake                  Trapper Trails 589                   4524 S 2525 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 13Th Ward/Roy Stake                          Trapper Trails 589                   5127 S 2400 W                                          Roy, UT 84067‐2215                                         First Class Mail
Chartered Organization         Lds ‐ Roy 14Th Ward/Roy West Stake                     Trapper Trails 589                   5850 S 2575 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 15Th Ward/Roy South Stake                    Trapper Trails 589                   5900 S 3100 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 16Th Ward/Roy Central Stake                  Trapper Trails 589                   5850 S 2575 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 17Th Ward/Roy South Stake                    Trapper Trails 589                   5725 S 3750 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 18Th Ward/Roy South Stake                    Trapper Trails 589                   5725 S 3750 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 1St Ward/Roy West Stake                      Trapper Trails 589                   5850 S 2575 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 26Th Ward/Roy Midland Stake                  Trapper Trails 589                   3649 W 4800 S                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 27Th Ward/Roy Midland Stake                  Trapper Trails 589                   5375 So 3776 W                                         Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 28Th Ward/Roy Midland Stake                  Trapper Trails 589                   3345 W 5200 S                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 2Nd Ward/Roy Stake                           Trapper Trails 589                   5127 S 2400 W                                          Roy, UT 84067‐2215                                         First Class Mail
Chartered Organization         Lds ‐ Roy 30Th Ward/Roy South Stake                    Trapper Trails 589                   5900 S 3100 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 31St Ward/Roy Midland Stake                  Trapper Trails 589                   3345 W 5200 S                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 4Th Ward/Roy Stake                           Trapper Trails 589                   5301 S 2100 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 5Th Ward/Roy Stake                           Trapper Trails 589                   5301 S 2100 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 7Th Ward/Roy Central Stake                   Trapper Trails 589                   3900 S 2000 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Roy 9Th Ward/Roy North Stake                     Trapper Trails 589                   4250 S 2175 W                                          Roy, UT 84067‐2046                                         First Class Mail
Chartered Organization         Lds ‐ Royse City Ward/Heath Stake                      Circle Ten Council 571               6819 S Fm 549                                          Heath, TX 75032‐6049                                       First Class Mail
Chartered Organization         Lds ‐ Rushton Heights Ward/Ogden Stake                 Trapper Trails 589                   1550 Rushton St                                        Ogden, UT 84401‐0927                                       First Class Mail
Chartered Organization         Lds ‐ Sachse Ward/Richardson Stake                     Circle Ten Council 571               2701 N Garland Ave                                     Garland, TX 75040‐3259                                     First Class Mail
Chartered Organization         Lds ‐ Salem Ward ‐ Roanoke Stake                       Blue Ridge Mtns Council 599          6311 Wayburn Dr                                        Salem, VA 24153‐4116                                       First Class Mail
Chartered Organization         Lds ‐ San Benito Branch                                Rio Grande Council 775               225 E Sam Houston Blvd                                 San Benito, TX 78586                                       First Class Mail
Chartered Organization         Lds ‐ San Jose Branch                                  North Florida Council 087            4087 Hendricks Ave                                     Jacksonville, FL 32207‐6321                                First Class Mail
Chartered Organization         Lds ‐ Sand Ridge Ward/Roy Central Stake                Trapper Trails 589                   4900 S 2000 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ Sanger ‐ Fresno East Stake                       Sequoia Council 027                  810 Bethel Ave                                         Sanger, CA 93657                                           First Class Mail
Chartered Organization         Lds ‐ Schaumburg Ward Ii                               Pathway To Adventure 456             1320 W Schaumburg Rd                                   Schaumburg, IL 60194                                       First Class Mail
Chartered Organization         Lds ‐ Schoharie Valley Ward Albany Stake               Leatherstocking 400                  141 Church St                                          Central Bridge, NY 12035                                   First Class Mail
Chartered Organization         Lds ‐ Sealy 1St Branch ‐ Katy Stake                    Sam Houston Area Council 576         600 West St                                            Sealy, TX 77474‐3206                                       First Class Mail
Chartered Organization         Lds ‐ Selma ‐ Hanford Stake                            Sequoia Council 027                  2370 Burnham St                                        Selma, CA 93662‐2136                                       First Class Mail
Chartered Organization         Lds ‐ Seminole Ward ‐ St Pete Stake                    Greater Tampa Bay Area 089           9000 106th Ave                                         Largo, FL 33777‐1147                                       First Class Mail
Chartered Organization         Lds ‐ Seminole Ward ‐ St Pete Stake                    Greater Tampa Bay Area 089           9000 106th Ave                                         Largo, FL 33777‐1147                                       First Class Mail
Chartered Organization         Lds ‐ Seven Lakes Ward ‐ Katy Stake                    Sam Houston Area Council 576         9907 Terrance Springs Ln                               Katy, TX 77494‐8536                                        First Class Mail
Chartered Organization         Lds ‐ Shadow Creek ‐ Houston South Stake               Sam Houston Area Council 576         2606 Westerlake Dr                                     Pearland, TX 77584‐7216                                    First Class Mail
Chartered Organization         Lds ‐ Shadow Mountain Ward/Weber Stake                 Trapper Trails 589                   5191 Old Post Rd                                       Ogden, UT 84403                                            First Class Mail
Chartered Organization         Lds ‐ Shadow Valley Ward/Weber Stake                   Trapper Trails 589                   5191 Old Post Rd                                       Ogden, UT 84403                                            First Class Mail
Chartered Organization         Lds ‐ Shannondoah Ward/Hooper Stake                    Trapper Trails 589                   5000 S 5900 W                                          Hooper, UT 84315‐9602                                      First Class Mail
Chartered Organization         Lds ‐ Sharyland Ward                                   Rio Grande Council 775               816 Travis St, Apt D37                                 Mission, TX 78572‐6486                                     First Class Mail
Chartered Organization         Lds ‐ Shepherd ‐ Fresno North Stake                    Sequoia Council 027                  9318 N Sunnyside Ave                                   Clovis, CA 93619‐9110                                      First Class Mail
Chartered Organization         Lds ‐ Sherman 1St Ward/Sherman Stake                   Circle Ten Council 571               1900 W Lamberth Rd                                     Sherman, TX 75092‐2315                                     First Class Mail
Chartered Organization         Lds ‐ Sherman 2Nd Ward/Sherman Stake                   Circle Ten Council 571               1900 W Lamberth Rd                                     Sherman, TX 75092‐2315                                     First Class Mail
Chartered Organization         Lds ‐ Shoreline Ridge/Rock Cliff Stake                 Trapper Trails 589                   300 Iowa                                               Ogden, UT 84404                                            First Class Mail
Chartered Organization         Lds ‐ Sierra ‐ Fresno West Stake                       Sequoia Council 027                  3375 W Sierra Ave                                      Fresno, CA 93711‐0952                                      First Class Mail
Chartered Organization         Lds ‐ Sierra ‐ Fresno West Stake                       Sequoia Council 027                  6559 N Vernal Ave                                      Fresno, CA 93722‐3539                                      First Class Mail
Chartered Organization         Lds ‐ Sierra Vista ‐ Fresno East Stake                 Sequoia Council 027                  1880 Gettysburg Ave                                    Clovis, CA 93611‐5219                                      First Class Mail
Chartered Organization         Lds ‐ Silver Lake Ward/Morgan West Stake               Trapper Trails 589                   2755 W Old Hwy Rd                                      Morgan, UT 84050‐9352                                      First Class Mail
Chartered Organization         Lds ‐ Silver Pines Ward ‐ Cypress Stake                Sam Houston Area Council 576         10555 Mills Rd                                         Houston, TX 77070‐4601                                     First Class Mail
Chartered Organization         Lds ‐ Silverlake ‐ Friendswood                         Bay Area Council 574                 3311 Sfork Dr                                          Pearland, TX 77584                                         First Class Mail
Chartered Organization         Lds ‐ Silverlake Houston South Stake                   Sam Houston Area Council 576         8333 Scanlan Trce                                      Missouri City, TX 77459‐7129                               First Class Mail
Chartered Organization         Lds ‐ Skyline Ward/Dallas East Stake                   Circle Ten Council 571               2801 Skyline Dr                                        Mesquite, TX 75149‐1877                                    First Class Mail
Chartered Organization         Lds ‐ Smithfield 13Th Ward/Smithfield                  Trapper Trails 589                   600 E 120 S                                            Smithfield, UT 84335‐1203                                  First Class Mail
Chartered Organization         Lds ‐ Smithfield 17Th Ward/Smithfield                  Trapper Trails 589                   345 E 300 S                                            Smithfield, UT 84335‐1301                                  First Class Mail
Chartered Organization         Lds ‐ Smithfield 1St Ward/Smithfield                   Trapper Trails 589                   79 E 200 S                                             Smithfield, UT 84335‐1940                                  First Class Mail
Chartered Organization         Lds ‐ Smithfield 20Th Ward/Smithfield                  Trapper Trails 589                   600 E 120 S                                            Smithfield, UT 84335‐1203                                  First Class Mail
Chartered Organization         Lds ‐ Smithfield 21St Ward/Smithfield                  Trapper Trails 589                   345 E 300 S                                            Smithfield, UT 84335‐1301                                  First Class Mail
Chartered Organization         Lds ‐ Smithfield 6Th/Smithfield South                  Trapper Trails 589                   600 E 120 S                                            Smithfield, UT 84335‐1203                                  First Class Mail
Chartered Organization         Lds ‐ Smithfield 7Th Ward/Smithfield                   Trapper Trails 589                   79 E 200 S                                             Smithfield, UT 84335‐1940                                  First Class Mail
Chartered Organization         Lds ‐ Snow Canyon Ward/Kays Creek Stake                Trapper Trails 589                   2455 Valley View Dr                                    Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Snow Creek Ward/Layton East Stake                Trapper Trails 589                   845 N 1150 E                                           Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ South Fork Ward/Huntsville Stake                 Trapper Trails 589                   277 S 7400 E                                           Huntsville, UT 84317‐9722                                  First Class Mail
Chartered Organization         Lds ‐ South Shore ‐League City                         Bay Area Council 574                 4655 S Shore Blvd                                      League City, TX 77573‐5815                                 First Class Mail
Chartered Organization         Lds ‐ Spencer Ward/Kaysville South Stake               Trapper Trails 589                   500 S Main St                                          Kaysville, UT 84037                                        First Class Mail
Chartered Organization         Lds ‐ Spring Branch Ward ‐ Cypress Stake               Sam Houston Area Council 576         4703 Shadowdale Dr                                     Houston, TX 77041‐7899                                     First Class Mail
Chartered Organization         Lds ‐ Spring Canyon Ward/Weber Stake                   Trapper Trails 589                   6350 Combe Rd                                          Ogden, UT 84403                                            First Class Mail
Chartered Organization         Lds ‐ Spring Creek Ward/Mendon Stake                   Trapper Trails 589                   2394 W 2200 S                                          Wellsville, UT 84339‐9657                                  First Class Mail
Chartered Organization         Lds ‐ Spring Trails Ward ‐ Spring Stake                Sam Houston Area Council 576         28322 Lauren Cove Ln                                   Spring, TX 77386‐1849                                      First Class Mail
Chartered Organization         Lds ‐ Spring Ward ‐ Spring Stake                       Sam Houston Area Council 576         3591 Discovery Creek Blvd                              Spring, TX 77386                                           First Class Mail
Chartered Organization         Lds ‐ Springbrook Ward/Roy West Stake                  Trapper Trails 589                   5080 S 3100 W                                          Roy, UT 84067                                              First Class Mail
Chartered Organization         Lds ‐ St Augustine                                     North Florida Council 087            500 Deltona Blvd                                       Saint Augustine, FL 32086‐7377                             First Class Mail
Chartered Organization         Lds ‐ St Augustine Shores                              North Florida Council 087            500 Deltona Blvd                                       Saint Augustine, FL 32086‐7377                             First Class Mail
Chartered Organization         Lds ‐ St Charles Ward ‐ Naperville Stake               Three Fires Council 127              0N429 Old Kirk Rd                                      West Chicago, IL 60185                                     First Class Mail
Chartered Organization         Lds ‐ St Charles Ward/Paris Stake                      Trapper Trails 589                   75 N Main St                                           St Charles, ID 83272                                       First Class Mail
Chartered Organization         Lds ‐ St Johns River Ward                              North Florida Council 087            5490 County Rd 210 W                                   St Augustine, FL 32092                                     First Class Mail
Chartered Organization         Lds ‐ St John'S Ward                                   North Florida Council 087            5490 County Rd 210 W                                   Saint Augustine, FL 32092                                  First Class Mail
Chartered Organization         Lds ‐ St Joseph Second Ward                            Pony Express Council 311             7 N Carriage Dr                                        Saint Joseph, MO 64506‐1230                                First Class Mail
Chartered Organization         Lds ‐ Starke Ward                                      North Florida Council 087            20439 NW State Rd 16                                   Starke, FL 32091‐5140                                      First Class Mail
Chartered Organization         Lds ‐ Stewart Park Ward/Mt Logan Stake                 Trapper Trails 589                   565 E 100 S                                            Logan, UT 84321                                            First Class Mail
Chartered Organization         Lds ‐ Stoddard Ward/Morgan West Stake                  Trapper Trails 589                   1255 N Morgan Valley Dr                                Morgan, UT 84050‐9874                                      First Class Mail
Chartered Organization         Lds ‐ Stone Creek Ward/West Haven Stake                Trapper Trails 589                   3628 S 2700 W                                          West Haven, UT 84401‐8426                                  First Class Mail
Chartered Organization         Lds ‐ Summerfield Ward/Layton Stake                    Trapper Trails 589                   60 W Gordon Ave                                        Layton, UT 84041‐2569                                      First Class Mail
Chartered Organization         Lds ‐ Summerhaze Ward/Holmes Creek Stake               Trapper Trails 589                   380 S Fairfield Rd                                     Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Summerwood Ward ‐ Summerwood Stake               Sam Houston Area Council 576         14350 E Sam Houston Pkwy N                             Houston, TX 77044                                          First Class Mail
Chartered Organization         Lds ‐ Summerwood Ward/Valley View Stake                Trapper Trails 589                   1410 E Gentile St                                      Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Sun Hills Ward/Layton Hills Stake                Trapper Trails 589                   3290 N 1050 E                                          Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Sunset 1St Ward/Sunset Stake                     Trapper Trails 589                   2431 N 250 W                                           Sunset, UT 84015                                           First Class Mail
Chartered Organization         Lds ‐ Sunset 2Nd Ward/Sunset Stake                     Trapper Trails 589                   220 W 975 N                                            Sunset, UT 84015                                           First Class Mail
Chartered Organization         Lds ‐ Sunset 3Rd Ward/Sunset Stake                     Trapper Trails 589                   338 W 1800 N                                           Sunset, UT 84015                                           First Class Mail
Chartered Organization         Lds ‐ Sunset 4Th Ward/Sunset Stake                     Trapper Trails 589                   220 W 975 N                                            Sunset, UT 84015                                           First Class Mail
Chartered Organization         Lds ‐ Sunset 5Th Ward/Sunset Stake                     Trapper Trails 589                   2431 N 250 W                                           Sunset, UT 84015                                           First Class Mail
Chartered Organization         Lds ‐ Sunset Ward/Kaysville West Stake                 Trapper Trails 589                   925 Deseret Dr                                         Kaysville, UT 84037                                        First Class Mail
Chartered Organization         Lds ‐ Suntrails Ward/Layton West Stake                 Trapper Trails 589                   2160 W Gordon Ave                                      Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Swan Lakes Ward/Layton South Stake               Trapper Trails 589                   2120 W Gentile St                                      Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Syracuse 10Th Ward/Syracuse Stake                Trapper Trails 589                   1469 W 700 S                                           Syracuse, UT 84015                                         First Class Mail
Chartered Organization         Lds ‐ Syracuse 4Th Ward/Syracuse Stake                 Trapper Trails 589                   1625 S 1100 W                                          Syracuse, UT 84075                                         First Class Mail
Chartered Organization         Lds ‐ Syracuse 5Th Ward/Syracuse Stake                 Trapper Trails 589                   1525 W 1175 S                                          Syracuse, UT 84075                                         First Class Mail
Chartered Organization         Lds ‐ Syracuse 7Th Ward/Syracuse Stake                 Trapper Trails 589                   1625 S 1100 W                                          Syracuse, UT 84075                                         First Class Mail
Chartered Organization         Lds ‐ Syracuse 9Th Ward/Syracuse Stake                 Trapper Trails 589                   1525 W 1175 S                                          Syracuse, UT 84075                                         First Class Mail
Chartered Organization         Lds ‐ Taylor 1St Ward/Ogden West Stake                 Trapper Trails 589                   2550 S 3271 W                                          Ogden, UT 84401                                            First Class Mail
Chartered Organization         Lds ‐ Taylor 2Nd Ward/Ogden West Stake                 Trapper Trails 589                   2200 S 4300 W                                          Ogden, UT 84401‐9080                                       First Class Mail
Chartered Organization         Lds ‐ Taylor 3Rd Ward/Ogden West Stake                 Trapper Trails 589                   2200 S 4300 W                                          Ogden, UT 84401‐9080                                       First Class Mail
Chartered Organization         Lds ‐ Taylor 4Th Ward/Ogden West Stake                 Trapper Trails 589                   2200 S 4300 W                                          Ogden, UT 84401‐9080                                       First Class Mail
Chartered Organization         Lds ‐ Taylor Canyon Ward/Ogden Stake                   Trapper Trails 589                   1643 26th St                                           Ogden, UT 84401                                            First Class Mail
Chartered Organization         Lds ‐ Texarkana, Tx                                    Caddo Area Council 584               3701 Moores Ln                                         Texarkana, TX 75503‐2244                                   First Class Mail
Chartered Organization         Lds ‐ The Church Of Jesus Christ Of Lds                National Capital Area Council 082    P.O. Box 9000                                          Brownsville, TX 78520‐0900                                 First Class Mail
Chartered Organization         Lds ‐ The Colony 1St Ward/Frisco Stake                 Circle Ten Council 571               6800 Anderson Dr                                       The Colony, TX 75056‐3515                                  First Class Mail
Chartered Organization         Lds ‐ Theodore Ward ‐ Mobile Stake                     Mobile Area Council‐Bsa 004          5520 Zeigler Blvd                                      Mobile, AL 36608‐4338                                      First Class Mail
Chartered Organization         Lds ‐ Three Mile Creek/Willard                         Trapper Trails 589                   8230 S Hwy 89                                          Willard, UT 84340‐9306                                     First Class Mail
Chartered Organization         Lds ‐ Timuquana Ward                                   North Florida Council 087            5100 Firestone Rd                                      Jacksonville, FL 32210‐6722                                First Class Mail
Chartered Organization         Lds ‐ Tomball Ward ‐ Cypress Stake                     Sam Houston Area Council 576         12310 New Hampton Dr                                   Tomball, TX 77377‐8462                                     First Class Mail
Chartered Organization         Lds ‐ Trailside Ward/Syracuse West Stake               Trapper Trails 589                   2800 W 2700 S                                          Syracuse, UT 84075                                         First Class Mail
Chartered Organization         Lds ‐ Tremonton 1St Ward/Tremonton Stake               Trapper Trails 589                   166 N Tremonton St                                     Tremonton, UT 84337                                        First Class Mail
Chartered Organization         Lds ‐ Tremonton 4Th Ward/Tremonton Stake               Trapper Trails 589                   660 N 300 E                                            Tremonton, UT 84337‐1112                                   First Class Mail
Chartered Organization         Lds ‐ Tremonton 6Th Ward/Tremonton Stake               Trapper Trails 589                   660 N 300 E                                            Tremonton, UT 84337‐1112                                   First Class Mail
Chartered Organization         Lds ‐ Trenton Ward/Benson Stake                        Trapper Trails 589                   1200 N 400 W                                           Trenton, UT 84338‐9643                                     First Class Mail
Chartered Organization         Lds ‐ Tri Oaks Ward/Northridge Stake                   Trapper Trails 589                   2375 E 3225 N                                          Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Tulare 1St ‐ Porterville Stake                   Sequoia Council 027                  451 E Merritt Ave                                      Tulare, CA 93274‐2027                                      First Class Mail
Chartered Organization         Lds ‐ Turnberry Ward/Syracuse West Stake               Trapper Trails 589                   3426 Augusta Dr                                        Syracuse, UT 84075                                         First Class Mail
Chartered Organization         Lds ‐ University Ward ‐ Bloomington                    Hoosier Trails Council 145 145       2411 E 2nd St                                          Bloomington, IN 47401‐5313                                 First Class Mail
Chartered Organization         Lds ‐ Urie Ward/Lyman Stake                            Trapper Trails 589                   3815 N Hwy 414                                         Lyman, WY 82937                                            First Class Mail
Chartered Organization         Lds ‐ Vae View Ward/Layton West Stake                  Trapper Trails 589                   1715 W 1600 N                                          Layton, UT 84041                                           First Class Mail
Chartered Organization         Lds ‐ Valley View Ward/Kays Creek Stake                Trapper Trails 589                   2455 Valley View Dr                                    Layton, UT 84040                                           First Class Mail
Chartered Organization         Lds ‐ Van Ness ‐ Fresno Stake                          Sequoia Council 027                  5341 N Maroa Ave                                       Fresno, CA 93704                                           First Class Mail
Chartered Organization         Lds ‐ Van Ness ‐ Fresno Stake                          Sequoia Council 027                  5685 N Cedar Ave                                       Fresno, CA 93710‐6603                                      First Class Mail
Chartered Organization         Lds ‐ Ventura ‐ Fresno East Stake                      Sequoia Council 027                  6641 E Butler Ave                                      Fresno, CA 93727                                           First Class Mail
Chartered Organization         Lds ‐ Ventura‐Fresno East Stake                        Sequoia Council 027                  6641 E Butler Ave                                      Fresno, CA 93727                                           First Class Mail
Chartered Organization         Lds ‐ Vinton Ward ‐ Roanoke Stake                      Blue Ridge Mtns Council 599          2268 Hardy Rd                                          Vinton, VA 24179                                           First Class Mail
Chartered Organization         Lds ‐ Visalia 1St ‐ Visalia Stake                      Sequoia Council 027                  650 N Lovers Ln                                        Visalia, CA 93292‐4024                                     First Class Mail
Chartered Organization         Lds ‐ Visalia 2Nd ‐ Visalia Stake                      Sequoia Council 027                  650 N Lovers Ln                                        Visalia, CA 93292‐4024                                     First Class Mail
Chartered Organization         Lds ‐ Visalia 3Rd ‐ Visalia Stake                      Sequoia Council 027                  4000 W Caldwell Ave                                    Visalia, CA 93277                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                               Page 191 of 442
                                                                               Case 20-10343-LSS                             Doc 8171                                    Filed 01/06/22                           Page 207 of 457
                                                                                                                                                            Exhibit B
                                                                                                                                                             Service List
                                                                                                                                                      Served as set forth below

        Description                                                     Name                                                                              Address                                                                   Email              Method of Service
Chartered Organization         Lds ‐ Visalia 3Rd ‐ Visalia Stake                      Sequoia Council 027               650 N Lovers Ln                                         Visalia, CA 93292‐4024                                      First Class Mail
Chartered Organization         Lds ‐ Visalia 4Th ‐ Visalia Stake                      Sequoia Council 027               2940 W Tyler Ave                                        Visalia, CA 93291‐6567                                      First Class Mail
Chartered Organization         Lds ‐ Visalia 5Th Ward ‐ Visalia Stake                 Sequoia Council 027               650 N Lovers Ln                                         Visalia, CA 93292‐4024                                      First Class Mail
Chartered Organization         Lds ‐ Visalia 6Th ‐ Visalia Stake                      Sequoia Council 027               4000 W Caldwell Ave                                     Visalia, CA 93277                                           First Class Mail
Chartered Organization         Lds ‐ Visalia 8Th ‐ Visalia Ward                       Sequoia Council 027               650 N Lovers Ln                                         Visalia, CA 93292‐4024                                      First Class Mail
Chartered Organization         Lds ‐ Waller 2Nd Ward ‐ Cypress Stake                  Sam Houston Area Council 576      24514 Lazy Kay Ln                                       Hockley, TX 77447‐7883                                      First Class Mail
Chartered Organization         Lds ‐ Waller Ward ‐ Cypress Stake                      Sam Houston Area Council 576      P.O. Box 1546                                           Waller, TX 77484‐1546                                       First Class Mail
Chartered Organization         Lds ‐ Ward 1                                           East Texas Area Council 585       1130 Jaguar Rd                                          Big Sandy, TX 75755‐3550                                    First Class Mail
Chartered Organization         Lds ‐ Ward 2                                           East Texas Area Council 585       P.O. Box 1227                                           Gilmer, TX 75644‐1227                                       First Class Mail
Chartered Organization         Lds ‐ Ward 2 ‐ Rockford Stake                          Blackhawk Area 660                324 University Dr                                       Rockford, IL 61107‐5315                                     First Class Mail
Chartered Organization         Lds ‐ Ward 3                                           East Texas Area Council 585       1314 Greenway St                                        Gilmer, TX 75644‐3014                                       First Class Mail
Chartered Organization         Lds ‐ Warren Ward/Weber North Stake                    Trapper Trails 589                856 N 5900 W                                            Ogden, UT 84404                                             First Class Mail
Chartered Organization         Lds ‐ Wasatch Ward/Weber Stake                         Trapper Trails 589                6350 Combe Rd                                           Ogden, UT 84403                                             First Class Mail
Chartered Organization         Lds ‐ Washington Terrace 10Th Ward                     Trapper Trails 589                125 E 5350 S                                            Ogden, UT 84405                                             First Class Mail
Chartered Organization         Lds ‐ Washington Terrace 12Th Ward                     Trapper Trails 589                125 E 5350 S                                            Ogden, UT 84405                                             First Class Mail
Chartered Organization         Lds ‐ Washington Terrace 13Th Ward                     Trapper Trails 589                4855 S 300 W                                            Washington Terrace, UT 84405                                First Class Mail
Chartered Organization         Lds ‐ Washington Terrace 1St Spanish                   Trapper Trails 589                4210 S 300 W                                            Riverdale, UT 84405                                         First Class Mail
Chartered Organization         Lds ‐ Washington Terrace 2Nd                           Trapper Trails 589                4210 S 300 W                                            Riverdale, UT 84405                                         First Class Mail
Chartered Organization         Lds ‐ Washington Terrace 3Rd Ward                      Trapper Trails 589                4855 S 300 W                                            Washington Terrace, UT 84405                                First Class Mail
Chartered Organization         Lds ‐ Washington Terrace 4Th Ward                      Trapper Trails 589                4760 S 200 E                                            Washington Terrace, UT 84405                                First Class Mail
Chartered Organization         Lds ‐ Washington Terrace 5Th Ward                      Trapper Trails 589                350 W 5100 S                                            Washington Terrace, UT 84405                                First Class Mail
Chartered Organization         Lds ‐ Washington Terrace 6Th Ward                      Trapper Trails 589                4760 S 200 E                                            Washington Terrace, UT 84405                                First Class Mail
Chartered Organization         Lds ‐ Washington Terrace 7Th Ward                      Trapper Trails 589                4855 S 300 W                                            Washington Terrace, UT 84405                                First Class Mail
Chartered Organization         Lds ‐ Washington Terrace 8Th Ward                      Trapper Trails 589                350 W 5100 S                                            Ogden, UT 84405                                             First Class Mail
Chartered Organization         Lds ‐ Washington Terrace 9Th Ward                      Trapper Trails 589                125 E 5350 S                                            Washington Terrace, UT 84405                                First Class Mail
Chartered Organization         Lds ‐ Waxahachie 1St Ward/Dallas Stake                 Circle Ten Council 571            2418 Brown St                                           Waxahachie, TX 75165‐5101                                   First Class Mail
Chartered Organization         Lds ‐ Waxahachie 2Nd Ward/Dallas Stake                 Circle Ten Council 571            2418 Brown St                                           Waxahachie, TX 75165‐5101                                   First Class Mail
Chartered Organization         Lds ‐ Waynesboro Ward                                  Georgia‐Carolina 093              284 Ga Hwy 56 N                                         Waynesboro, GA 30830‐4511                                   First Class Mail
Chartered Organization         Lds ‐ Wellington Ward/Kaysville Stake                  Trapper Trails 589                190 N Country Ln                                        Fruit Heights, UT 84037‐2270                                First Class Mail
Chartered Organization         Lds ‐ Wellsville 2Nd /Wellsville Stake                 Trapper Trails 589                30 S Center St                                          Wellsville, UT 84339‐9501                                   First Class Mail
Chartered Organization         Lds ‐ West Haven Ward/West Haven Stake                 Trapper Trails 589                3628 S 2700 W                                           West Haven, UT 84401‐8426                                   First Class Mail
Chartered Organization         Lds ‐ West Point 1St Ward/Lakeside Stake               Trapper Trails 589                4383 W 300 N                                            West Point, UT 84015                                        First Class Mail
Chartered Organization         Lds ‐ West Point 3Rd Ward/Lakeside Stake               Trapper Trails 589                3290 W 800 N                                            West Point, UT 84015                                        First Class Mail
Chartered Organization         Lds ‐ West Point 5Th Ward/Lakeside Stake               Trapper Trails 589                3488 W 300 N                                            West Point, UT 84015                                        First Class Mail
Chartered Organization         Lds ‐ West Point 6Th Ward/Lakeside Stake               Trapper Trails 589                3290 W 800 N                                            West Point, UT 84015                                        First Class Mail
Chartered Organization         Lds ‐ West Point 9Th Ward/Lakeside Stake               Trapper Trails 589                855 N 4000 W                                            West Point, UT 84015                                        First Class Mail
Chartered Organization         Lds ‐ West Warren Ward/Weber North Stake               Trapper Trails 589                856 N 5900 W                                            Ogden, UT 84404                                             First Class Mail
Chartered Organization         Lds ‐ Westlake Ward ‐ Katy Stake                       Sam Houston Area Council 576      16198 Cairnway Dr                                       Houston, TX 77084‐3542                                      First Class Mail
Chartered Organization         Lds ‐ Westlake Ward/Roy West Stake                     Trapper Trails 589                2915 W 4425 S                                           Roy, UT 84067                                               First Class Mail
Chartered Organization         Lds ‐ Wheatridge Ward/Roy West Stake                   Trapper Trails 589                5080 S 3100 W                                           Roy, UT 84067                                               First Class Mail
Chartered Organization         Lds ‐ White Oak Ward ‐ Cypress Stake                   Sam Houston Area Council 576      10055 West Rd                                           Houston, TX 77064‐6300                                      First Class Mail
Chartered Organization         Lds ‐ White Rail Ward/West Haven Stake                 Trapper Trails 589                3330 S 4700 W                                           West Haven, UT 84401                                        First Class Mail
Chartered Organization         Lds ‐ White Springs Branch                             North Florida Council 087         909 SE Country Club Rd                                  Lake City, FL 32025‐3301                                    First Class Mail
Chartered Organization         Lds ‐ Whitehouse Ward                                  North Florida Council 087         798 Chaffee Rd N                                        Jacksonville, FL 32220‐1768                                 First Class Mail
Chartered Organization         Lds ‐ Whitney Ward/Franklin Stake                      Trapper Trails 589                1444 S 1600 E                                           Preston, ID 83263                                           First Class Mail
Chartered Organization         Lds ‐ Wichita Falls I Ward                             Northwest Texas Council 587       4325 York St                                            Wichita Falls, TX 76309‐4016                                First Class Mail
Chartered Organization         Lds ‐ Wildercrest Ward/North Logan Stake               Trapper Trails 589                2750 N 800 E                                            North Logan, UT 84341‐1506                                  First Class Mail
Chartered Organization         Lds ‐ Wildwood Ward/Pioneer Trail Stake                Trapper Trails 589                4675 W 5500 S                                           Hooper, UT 84315‐9202                                       First Class Mail
Chartered Organization         Lds ‐ Willard 1St Ward/Willard Stake                   Trapper Trails 589                80 N 100 W                                              Willard, UT 84340‐9754                                      First Class Mail
Chartered Organization         Lds ‐ Willard 2Nd Ward/Willard Stake                   Trapper Trails 589                7615 S 665 W                                            Willard, UT 84340‐6718                                      First Class Mail
Chartered Organization         Lds ‐ Willard 3Rd Ward/Willard Stake                   Trapper Trails 589                7364 S 625 W                                            Willard, UT 84340‐9512                                      First Class Mail
Chartered Organization         Lds ‐ Willard 4Th Ward/Willard Stake                   Trapper Trails 589                80 N 100 W                                              Willard, UT 84340‐9754                                      First Class Mail
Chartered Organization         Lds ‐ Willard 5Th Ward/Willard Stake                   Trapper Trails 589                990 W 7900 S                                            Willard, UT 84340‐6748                                      First Class Mail
Chartered Organization         Lds ‐ Willard 6Th Ward/Willard Stake                   Trapper Trails 589                7615 S 665 W                                            Willard, UT 84340‐6718                                      First Class Mail
Chartered Organization         Lds ‐ Willow Brook Ward/Kaysville Stake                Trapper Trails 589                1505 Whispering Meadow Ln                               Kaysville, UT 84037                                         First Class Mail
Chartered Organization         Lds ‐ Wilson 1St Ward/Ogden West Stake                 Trapper Trails 589                2333 S 2700 W                                           West Haven, UT 84401                                        First Class Mail
Chartered Organization         Lds ‐ Wilson 2Nd Ward/Ogden West Stake                 Trapper Trails 589                2333 S 2700 W                                           West Haven, UT 84401                                        First Class Mail
Chartered Organization         Lds ‐ Wilson 3Rd Ward/Ogden West Stake                 Trapper Trails 589                2333 S 2700 W                                           Ogden, UT 84401                                             First Class Mail
Chartered Organization         Lds ‐ Wilson 4Th Ward/Ogden West Stake                 Trapper Trails 589                2550 S 3271 W                                           Ogden, UT 84401                                             First Class Mail
Chartered Organization         Lds ‐ Wilson 5Th Ward/Ogden West Stake                 Trapper Trails 589                2550 S 3721 W                                           West Haven, UT 84401                                        First Class Mail
Chartered Organization         Lds ‐ Wimbledon Ward ‐ Klein Stake                     Sam Houston Area Council 576      16535 Kleinwood Dr                                      Spring, TX 77379                                            First Class Mail
Chartered Organization         Lds ‐ Winder Ward ‐ Athens Stake                       Northeast Georgia Council 101     36 Sims Rd                                              Winder, GA 30680‐3566                                       First Class Mail
Chartered Organization         Lds ‐ Winder Ward/Preston North Stake                  Trapper Trails 589                4400 N 1600 W                                           Preston, ID 83263                                           First Class Mail
Chartered Organization         Lds ‐ Windridge Ward/Haight Creek Stake                Trapper Trails 589                1282 W 1875 N                                           Farmington, UT 84025                                        First Class Mail
Chartered Organization         Lds ‐ Windrose Ward ‐ Klein Stake                      Sam Houston Area Council 576      16535 Kleinwood Dr                                      Spring, TX 77379                                            First Class Mail
Chartered Organization         Lds ‐ Winters Run Ward                                 Baltimore Area Council 220        2810 Emmorton Rd                                        Abingdon, MD 21009‐1625                                     First Class Mail
Chartered Organization         Lds ‐ Wolfcreek Ward/Huntsville Stake                  Trapper Trails 589                2900 N Hwy 162                                          Eden, UT 84310‐9500                                         First Class Mail
Chartered Organization         Lds ‐ Woodruff Ward/Kemmerer Stake                     Trapper Trails 589                180 S Main                                              Woodruff, UT 84086                                          First Class Mail
Chartered Organization         Lds ‐ Woodruff Ward/Logan Stake                        Trapper Trails 589                940 Three Point Ave                                     Logan, UT 84321‐5029                                        First Class Mail
Chartered Organization         Lds ‐ Woodward Park ‐ Fresno Stake                     Sequoia Council 027               1199 E Alluvial Ave                                     Fresno, CA 93720                                            First Class Mail
Chartered Organization         Lds ‐ Woodward Park ‐ Fresno Stake                     Sequoia Council 027               1149 E Alluvial Ave                                     Fresno, CA 93720‐2605                                       First Class Mail
Chartered Organization         Lds ‐ Wylie 1St Ward/Richardson Stake                  Circle Ten Council 571            400 Sanden Blvd                                         Wylie, TX 75098‐4930                                        First Class Mail
Chartered Organization         Lds ‐ Wylie 2Nd Ward/Richardson Stake                  Circle Ten Council 571            400 Sanden Blvd                                         Wylie, TX 75098‐4930                                        First Class Mail
Chartered Organization         Lds ‐ Wylie 3Rd Ward/Richardson Stake                  Circle Ten Council 571            400 Sanden Blvd                                         Wylie, TX 75098‐4930                                        First Class Mail
Chartered Organization         Lds ‐ Wylie 4Th Ward/Richardson Stake                  Circle Ten Council 571            400 Sanden Blvd                                         Wylie, TX 75098‐4930                                        First Class Mail
Chartered Organization         Lds ‐ Yorkshire Ward/Cache Stake                       Trapper Trails 589                Cache Stake                                             Logan, UT 84321                                             First Class Mail
Chartered Organization         Lds ‐ Yosemite Ward ‐ Fresno West Stake                Sequoia Council 027               49967 Rd 427                                            Oakhurst, CA 93644                                          First Class Mail
Chartered Organization         Lds ‐ Young Ward/Mendon Stake                          Trapper Trails 589                2394 W 2200 S                                           Wellsville, UT 84339‐9657                                   First Class Mail
Chartered Organization         Lds ‐ Zions Crossing Ward/Syracuse Stake               Trapper Trails 589                1525 W 1175 S                                           Syracuse, UT 84075                                          First Class Mail
Chartered Organization         Lds 10Th Ward E Lb Stake                               Long Beach Area Council 032       1140 Ximeno Ave                                         Long Beach, CA 90804‐4307                                   First Class Mail
Chartered Organization         Lds 10Th Ward Modesto Stake                            Greater Yosemite Council 059      2618 Fine Ave                                           Modesto, CA 95355                                           First Class Mail
Chartered Organization         Lds 10Th Ward/Moses Lake Stake                         Grand Columbia Council 614        1515 S Div St                                           Moses Lake, WA 98837‐2455                                   First Class Mail
Chartered Organization         Lds 11Th Ward/Moses Lake Stake                         Grand Columbia Council 614        1849 Nelson Rd Ne                                       Moses Lake, WA 98837                                        First Class Mail
Chartered Organization         Lds 11Th Ward/S L Central Stk                          Great Salt Lake Council 590       1164 E South Temple                                     Salt Lake City, UT 84102‐1606                               First Class Mail
Chartered Organization         Lds 11Th Ward‐East Stake                               Pikes Peak Council 060            4955 Meadowland Blvd                                    Colorado Springs, CO 80918‐2611                             First Class Mail
Chartered Organization         Lds 12Th Branch Modesto Stake                          Greater Yosemite Council 059      731 El Vista Ave                                        Modesto, CA 95354‐1844                                      First Class Mail
Chartered Organization         Lds 12Th Ward El Paso Chamizal Stk                     Yucca Council 573                 1212 Sumac Dr                                           El Paso, TX 79925‐7746                                      First Class Mail
Chartered Organization         Lds 13Th Ward Lb Stake                                 Long Beach Area Council 032       3114 E South St                                         Lakewood, CA 90805‐3743                                     First Class Mail
Chartered Organization         Lds 15Th Ward Lb Stake                                 Long Beach Area Council 032       6979 Orange Ave                                         Long Beach, CA 90805                                        First Class Mail
Chartered Organization         Lds 15Th Ward‐East Stake                               Pikes Peak Council 060            4955 Meadowland Blvd                                    Colorado Springs, CO 80918‐2611                             First Class Mail
Chartered Organization         Lds 16Th Ward Lb Stake                                 Long Beach Area Council 032       3701 Elm Ave                                            Long Beach, CA 90807‐3401                                   First Class Mail
Chartered Organization         Lds 16Th Ward‐Fountain Stake                           Pikes Peak Council 060            1310 Aeroplaza Dr                                       Colorado Springs, CO 80916‐2215                             First Class Mail
Chartered Organization         Lds 18Th Ward‐Fountain Stake                           Pikes Peak Council 060            1310 Aeroplaza Dr                                       Colorado Springs, CO 80916‐2215                             First Class Mail
Chartered Organization         Lds 1St Landing Ward                                   Virginia Beach Stake              4784 Princess Anne Rd                                   Virginia Beach, VA 23462                                    First Class Mail
Chartered Organization         Lds 1St Navarre Ward                                   Gulf Coast Council 773            1751 Sea Lark Ln                                        Navarre, FL 32566‐7407                                      First Class Mail
Chartered Organization         Lds 1St Navarre Ward Pack 103                          Gulf Coast Council 773            1751 Sea Lark Ln                                        Navarre, FL 32566‐7407                                      First Class Mail
Chartered Organization         Lds 1St Ward ‐ Arlington Stake                         Longhorn Council 662              1500 California Ln                                      Arlington, TX 76015‐1454                                    First Class Mail
Chartered Organization         Lds 1St Ward ‐ Denton Stake                            Longhorn Council 662              1801 Malone St                                          Denton, TX 76201‐1776                                       First Class Mail
Chartered Organization         Lds 1St Ward ‐ Ely Stake                               Nevada Area Council 329           900 Ave E                                               Ely, NV 89301                                               First Class Mail
Chartered Organization         Lds 1St Ward ‐ Fairbanks Stake                         Midnight Sun Council 696          P.O. Box 81682                                          Fairbanks, AK 99708‐1682                                    First Class Mail
Chartered Organization         Lds 1St Ward ‐ Killeen Stake                           Longhorn Council 662              1410 S 2nd St                                           Killeen, TX 76541‐7902                                      First Class Mail
Chartered Organization         Lds 1St Ward ‐ Midland Stake                           Water and Woods Council 782       1700 W Sugnet Rd                                        Midland, MI 48640‐2650                                      First Class Mail
Chartered Organization         Lds 1St Ward ‐ Waco Stake                              Longhorn Council 662              7201 Viking Dr                                          Waco, TX 76710‐1081                                         First Class Mail
Chartered Organization         Lds 1St Ward ‐ Winnemucca Stake                        Nevada Area Council 329           P.O. Box 207                                            Winnemucca, NV 89446‐0207                                   First Class Mail
Chartered Organization         Lds 1St Ward Auburn Stake                              Golden Empire Council 047         287 Poet Smith Dr                                       Auburn, CA 95603‐5747                                       First Class Mail
Chartered Organization         Lds 1St Ward Bloomfield Stake                          Great Swest Council 412           902 W Blanco Blvd                                       Bloomfield, NM 87413‐5029                                   First Class Mail
Chartered Organization         Lds 1St Ward Deland                                    Central Florida Council 083       734 Taylor Rd W                                         Deland, FL 32720‐8459                                       First Class Mail
Chartered Organization         Lds 1St Ward El Paso Chamizal Stk                      Yucca Council 573                 3625 Douglas Ave                                        El Paso, TX 79903‐2717                                      First Class Mail
Chartered Organization         Lds 1St Ward Fallon North Stake                        Nevada Area Council 329           450 N Taylor St                                         Fallon, NV 89406‐5711                                       First Class Mail
Chartered Organization         Lds 1St Ward Farmington Stake                          Great Swest Council 412           1310 E 25th St                                          Farmington, NM 87401‐9009                                   First Class Mail
Chartered Organization         Lds 1St Ward Gallup Stake                              Great Swest Council 412           601 Susan Ave                                           Gallup, NM 87301‐5663                                       First Class Mail
Chartered Organization         Lds 1St Ward Indep Stake                               Heart of America Council 307      705 W Walnut St                                         Independence, MO 64050‐3643                                 First Class Mail
Chartered Organization         Lds 1St Ward Kirtland Stake                            Great Swest Council 412           P.O. Box 7                                              Kirtland, NM 87417‐0007                                     First Class Mail
Chartered Organization         Lds 1St Ward Lb Stake                                  Long Beach Area Council 032       3701 Elm Ave                                            Long Beach, CA 90807‐3401                                   First Class Mail
Chartered Organization         Lds 1St Ward Liberty Stake                             Heart of America Council 307      1130 N Clayview Dr                                      Liberty, MO 64068‐3405                                      First Class Mail
Chartered Organization         Lds 1St Ward Modesto North Stake                       Greater Yosemite Council 059      4300 Dale Rd                                            Modesto, CA 95356‐9767                                      First Class Mail
Chartered Organization         Lds 1St Ward Olathe Stake                              Heart of America Council 307      15915 W 143rd St                                        Olathe, KS 66062‐2055                                       First Class Mail
Chartered Organization         Lds 1St Ward Turlock Stake                             Greater Yosemite Council 059      4300 Geer Rd                                            Turlock, CA 95382                                           First Class Mail
Chartered Organization         Lds 1St Ward, E Bakersfield Stake                      Southern Sierra Council 030       5600 Panorama Dr                                        Bakersfield, CA 93306‐2473                                  First Class Mail
Chartered Organization         Lds 1St Ward, Fort Wayne Stake                         Anthony Wayne Area 157            5401 Saint Joe Rd                                       Fort Wayne, IN 46835‐3325                                   First Class Mail
Chartered Organization         Lds 1St Ward, Odessa, Tx Stake                         Buffalo Trail Council 567         5401 John Ben Shepard Pkwy                              Odessa, TX 79764                                            First Class Mail
Chartered Organization         Lds 1St Ward, Tallahassee, Fl Stake                    Suwannee River Area Council 664   312 Stadium Dr                                          Tallahassee, FL 32304‐3450                                  First Class Mail
Chartered Organization         Lds 1St Ward/Ephrata Stake                             Grand Columbia Council 614        1301 E Div Ave                                          Ephrata, WA 98823‐1957                                      First Class Mail
Chartered Organization         Lds 1St Ward/Moses Lake Stake                          Grand Columbia Council 614        912 Camas Pl                                            Moses Lake, WA 98837‐8644                                   First Class Mail
Chartered Organization         Lds 1St Ward/Othello Stake                             Grand Columbia Council 614        611 S 7th Ave                                           Othello, WA 99344                                           First Class Mail
Chartered Organization         Lds 1St, 2Nd Wards Gallup Stake                        Great Swest Council 412           601 Susan Ave                                           Gallup, NM 87301‐5663                                       First Class Mail
Chartered Organization         Lds 21St Ward/S L Emigration Stk                       Great Salt Lake Council 590       589 E 18Th Ave                                          Salt Lake City, UT 84103                                    First Class Mail
Chartered Organization         Lds 29Th Ward/S L Riverside Stake                      Great Salt Lake Council 590       1148 W 500 N                                            Salt Lake City, UT 84116                                    First Class Mail
Chartered Organization         Lds 2Nd Ward ‐ Arlington Stake                         Longhorn Council 662              6300 Crawford Ln W                                      Forest Hill, TX 76119‐7367                                  First Class Mail
Chartered Organization         Lds 2Nd Ward ‐ Denton Stake                            Longhorn Council 662              4501 Teasley Ln                                         Denton, TX 76210                                            First Class Mail
Chartered Organization         Lds 2Nd Ward ‐ Ely Stake                               Nevada Area Council 329           900 Ave E                                               Ely, NV 89301                                               First Class Mail
Chartered Organization         Lds 2Nd Ward ‐ Fairbanks Stake                         Midnight Sun Council 696          3347 Patton St                                          Fairbanks, AK 99701‐7842                                    First Class Mail
Chartered Organization         Lds 2Nd Ward ‐ Killeen Stake                           Longhorn Council 662              1410 S 2nd St                                           Killeen, TX 76541‐7902                                      First Class Mail
Chartered Organization         Lds 2Nd Ward ‐ Midland Stake                           Water and Woods Council 782       1700 W Sugnet Rd                                        Midland, MI 48640‐2650                                      First Class Mail
Chartered Organization         Lds 2Nd Ward ‐ Waco Stake                              Longhorn Council 662              300 Ritchie Rd                                          Hewitt, TX 76643‐4300                                       First Class Mail
Chartered Organization         Lds 2Nd Ward ‐ Winnemucca Stake                        Nevada Area Council 329           8655 Herschell Rd                                       Winnemucca, NV 89445‐5309                                   First Class Mail
Chartered Organization         Lds 2Nd Ward Bloomingdale Spanish Branch               Three Fires Council 127           270 Knollwood Dr                                        Bloomingdale, IL 60108‐2208                                 First Class Mail
Chartered Organization         Lds 2Nd Ward Cerritos Stake                            Long Beach Area Council 032       16115 Studebaker Rd                                     Cerritos, CA 90703‐1541                                     First Class Mail
Chartered Organization         Lds 2Nd Ward Charleston Stake                          Coastal Carolina Council 550      8720 Antler Dr                                          Charleston, SC 29406                                        First Class Mail
Chartered Organization         Lds 2Nd Ward Cincinnati Stake                          Dan Beard Council, Bsa 438        144 Buttermilk Pike                                     Lakeside Park, KY 41017                                     First Class Mail
Chartered Organization         Lds 2Nd Ward Davenport Stake                           Illowa Council 133                4929 Wisconsin Ave                                      Davenport, IA 52806                                         First Class Mail
Chartered Organization         Lds 2Nd Ward Deland                                    Central Florida Council 083       621 W Indiana Ave, Apt 7                                Deland, FL 32720‐4089                                       First Class Mail
Chartered Organization         Lds 2Nd Ward Fallon North Stake                        Nevada Area Council 329           450 N Taylor St                                         Fallon, NV 89406‐5711                                       First Class Mail
Chartered Organization         Lds 2Nd Ward Gallup Stake                              Great Swest Council 412           601 Susan Ave                                           Gallup, NM 87301‐5663                                       First Class Mail
Chartered Organization         Lds 2Nd Ward Harlingen Stake                           Rio Grande Council 775            Rr 8 Box 721                                            Harlingen, TX 78552                                         First Class Mail
Chartered Organization         Lds 2Nd Ward Kirtland Stake                            Great Swest Council 412           P.O. Box 811                                            Kirtland, NM 87417‐0811                                     First Class Mail
Chartered Organization         Lds 2Nd Ward Modesto Stake                             Greater Yosemite Council 059      1105 E Orangeburg Ave                                   Modesto, CA 95350                                           First Class Mail
Chartered Organization         Lds 2Nd Ward Olathe Stake                              Heart of America Council 307      15915 W 143rd St                                        Olathe, KS 66062‐2055                                       First Class Mail
Chartered Organization         Lds 2Nd Ward Turlock Stake                             Greater Yosemite Council 059      4300 Geer Rd                                            Turlock, CA 95382                                           First Class Mail
Chartered Organization         Lds 2Nd Ward, Bakersfield Stake                        Southern Sierra Council 030       316 A St                                                Bakersfield, CA 93304‐1968                                  First Class Mail
Chartered Organization         Lds 2Nd Ward, Fort Wayne Stake                         Anthony Wayne Area 157            5401 Saint Joe Rd                                       Fort Wayne, IN 46835‐3325                                   First Class Mail
Chartered Organization         Lds 2Nd Ward, Odessa, Tx Stake                         Buffalo Trail Council 567         5401 John Ben Shepperd Pkwy                             Odessa, TX 79762                                            First Class Mail
Chartered Organization         Lds 2Nd Ward, Tallahassee, Fl Stake                    Suwannee River Area Council 664   3717 Thomasville Rd                                     Tallahassee, FL 32309‐2913                                  First Class Mail
Chartered Organization         Lds 2Nd Ward/Ephrata Stake                             Grand Columbia Council 614        1301 E Div Ave                                          Ephrata, WA 98823‐1957                                      First Class Mail
Chartered Organization         Lds 2Nd Ward/Moses Lake Stake                          Grand Columbia Council 614        925 N Grape Dr                                          Moses Lake, WA 98837‐1476                                   First Class Mail
Chartered Organization         Lds 2Nd Ward/Othello Stake                             Grand Columbia Council 614        12th & Rainer Rd                                        Othello, WA 99344                                           First Class Mail
Chartered Organization         Lds 2Nd, Ward Farmington Stake                         Great Swest Council 412           400 W Comanche St                                       Farmington, NM 87401‐5803                                   First Class Mail
Chartered Organization         Lds 33Rd Ward/S L Central Stk                          Great Salt Lake Council 590       453 S 1100 E                                            Salt Lake City, UT 84102                                    First Class Mail
Chartered Organization         Lds 3Rd Branch                                         South Texas Council 577           1520 E Hillside Rd                                      Laredo, TX 78041‐3373                                       First Class Mail
Chartered Organization         Lds 3Rd Ward ‐ Arlington Stake                         Longhorn Council 662              3809 Curt Dr                                            Arlington, TX 76016‐3106                                    First Class Mail
Chartered Organization         Lds 3Rd Ward ‐ Denton Stake                            Longhorn Council 662              1801 Malone St                                          Denton, TX 76201‐1776                                       First Class Mail
Chartered Organization         Lds 3Rd Ward ‐ Ely Stake                               Nevada Area Council 329           900 Ave E                                               Ely, NV 89301                                               First Class Mail
Chartered Organization         Lds 3Rd Ward ‐ Fairbanks Stake                         Midnight Sun Council 696          490 Kelsey Park Rd                                      Fairbanks, AK 99712‐2456                                    First Class Mail
Chartered Organization         Lds 3Rd Ward ‐ Fort Worth Stake                        Longhorn Council 662              5001 Altamesa Blvd                                      Fort Worth, TX 76133‐6001                                   First Class Mail
Chartered Organization         Lds 3Rd Ward ‐ Killeen Stake                           Longhorn Council 662              1410 S 2nd St                                           Killeen, TX 76541‐7902                                      First Class Mail
Chartered Organization         Lds 3Rd Ward ‐ West Stake                              Alamo Area Council 583            7100 Wilder St                                          San Antonio, TX 78250                                       First Class Mail
Chartered Organization         Lds 3Rd Ward ‐ Winnemucca Stake                        Nevada Area Council 329           111 W Mcarthur Ave                                      Winnemucca, NV 89445‐3873                                   First Class Mail
Chartered Organization         Lds 3Rd Ward Fallon South Stake                        Nevada Area Council 329           750 W Richards St                                       Fallon, NV 89406‐3252                                       First Class Mail
Chartered Organization         Lds 3Rd Ward Farmington Stake                          Great Swest Council 412           2901 Knudsen Ave                                        Farmington, NM 87401‐9031                                   First Class Mail
Chartered Organization         Lds 3Rd Ward Indep Stake                               Heart of America Council 307      5609 Norfleet Rd                                        Kansas City, MO 64133‐3671                                  First Class Mail
Chartered Organization         Lds 3Rd Ward Kirtland Stake                            Great Swest Council 412           P.O. Box 215                                            Kirtland, NM 87417‐0215                                     First Class Mail
Chartered Organization         Lds 3Rd Ward Modesto Stake                             Greater Yosemite Council 059      731 El Vista Ave                                        Modesto, CA 95354‐1844                                      First Class Mail
Chartered Organization         Lds 3Rd Ward Olathe Stake                              Heart of America Council 307      15915 W 143rd St                                        Olathe, KS 66062‐2055                                       First Class Mail
Chartered Organization         Lds 3Rd Ward, Tallahassee, Fl Stake                    Suwannee River Area Council 664   3717 Thomasville Rd                                     Tallahassee, FL 32309‐2913                                  First Class Mail
Chartered Organization         Lds 3Rd Ward/Ephrata Stake                             Grand Columbia Council 614        1301 E Div Ave                                          Ephrata, WA 98823‐1957                                      First Class Mail
Chartered Organization         Lds 3Rd Ward/Moses Lake Stake                          Grand Columbia Council 614        1036 W Rose Ave                                         Moses Lake, WA 98837‐2061                                   First Class Mail
Chartered Organization         Lds 3Rd Ward/Othello Stake                             Grand Columbia Council 614        1050 E Elm St                                           Othello, WA 99344‐1639                                      First Class Mail
Chartered Organization         Lds 3Rd Ward‐Fountain Stake                            Pikes Peak Council 060            1705 N Murray Blvd                                      Colorado Springs, CO 80915‐1332                             First Class Mail
Chartered Organization         Lds 4Th Branch ‐ Laredo                                South Texas Council 577           4120 Los Presidentes Ave                                Laredo, TX 78046‐6180                                       First Class Mail
Chartered Organization         Lds 4Th Ward ‐ Arlington Stake                         Longhorn Council 662              1500 California Ln                                      Arlington, TX 76015‐1454                                    First Class Mail
Chartered Organization         Lds 4Th Ward ‐ Denton Stake                            Longhorn Council 662              3000 Old North Rd                                       Denton, TX 76209‐6250                                       First Class Mail
Chartered Organization         Lds 4Th Ward El Paso Chamizal Stk                      Yucca Council 573                 1212 Sumac Dr                                           El Paso, TX 79925‐7746                                      First Class Mail
Chartered Organization         Lds 4Th Ward Fallon South Stake                        Nevada Area Council 329           5741 Rivers Edge Dr                                     Fallon, NV 89406‐9200                                       First Class Mail
Chartered Organization         Lds 4Th Ward Farmington Stake                          Great Swest Council 412           5001 Samantha Ln                                        Farmington, NM 87402‐3090                                   First Class Mail
Chartered Organization         Lds 4Th Ward Indep Stake                               Heart of America Council 307      5609 Norfleet Rd                                        Kansas City, MO 64133‐3671                                  First Class Mail
Chartered Organization         Lds 4Th Ward Lb Stake                                  Long Beach Area Council 032       3701 Elm Ave                                            Long Beach, CA 90807‐3401                                   First Class Mail
Chartered Organization         Lds 4Th Ward Odessa, Texas Stake                       Buffalo Trail Council 567         5401 John Ben Sheppard Pkwy                             Odessa, TX 79762                                            First Class Mail
Chartered Organization         Lds 4Th Ward Sacramento North Stake                    Golden Empire Council 047         750 Rio Tierra Ave                                      Sacramento, CA 95833                                        First Class Mail
Chartered Organization         Lds 4Th Ward, Tallahassee, Fl Stake                    Suwannee River Area Council 664   312 Stadium Dr                                          Tallahassee, FL 32304‐3450                                  First Class Mail
Chartered Organization         Lds 4Th Ward/Moses Lake Stake                          Grand Columbia Council 614        1515 S Div St                                           Moses Lake, WA 98837‐2455                                   First Class Mail
Chartered Organization         Lds 5Th Branch Merced Stake                            Greater Yosemite Council 059      1080 W Yosemite Ave                                     Merced, CA 95348                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                             Page 192 of 442
                                                                                 Case 20-10343-LSS                                     Doc 8171                                   Filed 01/06/22                            Page 208 of 457
                                                                                                                                                                     Exhibit B
                                                                                                                                                                      Service List
                                                                                                                                                               Served as set forth below

        Description                                                       Name                                                                                     Address                                                                    Email              Method of Service
Chartered Organization         Lds 5Th Ward ‐ Arlington Stake                           Longhorn Council 662                      3809 Curt Dr                                           Arlington, TX 76016‐3106                                     First Class Mail
Chartered Organization         Lds 5Th Ward ‐ Fairbanks Stake                           Midnight Sun Council 696                  452 Droz Dr                                            Fairbanks, AK 99701‐3285                                     First Class Mail
Chartered Organization         Lds 5Th Ward ‐ Fort Worth Stake                          Longhorn Council 662                      100 Paint Pony Trl N                                   Fort Worth, TX 76108‐4223                                    First Class Mail
Chartered Organization         Lds 5Th Ward Fallon North Stake                          Nevada Area Council 329                   450 N Taylor St                                        Fallon, NV 89406‐5711                                        First Class Mail
Chartered Organization         Lds 5Th Ward Farmington Stake                            Great Swest Council 412                   4400 College Blvd                                      Farmington, NM 87402‐4607                                    First Class Mail
Chartered Organization         Lds 5Th Ward Kirtland Stake                              Great Swest Council 412                   P.O. Box 322                                           Fruitland, NM 87416‐0322                                     First Class Mail
Chartered Organization         Lds 5Th Ward, Bakersfield Stake                          Southern Sierra Council 030               316 A St                                               Bakersfield, CA 93304‐1968                                   First Class Mail
Chartered Organization         Lds 5Th Ward/Moses Lake Stake                            Grand Columbia Council 614                5454 Viking Rd Ne                                      Moses Lake, WA 98837‐3748                                    First Class Mail
Chartered Organization         Lds 5Th Ward‐Fountain Stake                              Pikes Peak Council 060                    1310 Aeroplaza Dr                                      Colorado Springs, CO 80916‐2215                              First Class Mail
Chartered Organization         Lds 6Th Ward ‐ Arlington Stake                           Longhorn Council 662                      3809 Curt Dr                                           Arlington, TX 76016‐3106                                     First Class Mail
Chartered Organization         Lds 6Th Ward ‐ Fairbanks Stake                           Midnight Sun Council 696                  2155 Dragonfly Ct                                      Fairbanks, AK 99709‐6347                                     First Class Mail
Chartered Organization         Lds 6Th Ward ‐ Fort Worth Stake                          Longhorn Council 662                      5001 Altamesa Blvd                                     Fort Worth, TX 76133‐6001                                    First Class Mail
Chartered Organization         Lds 6Th Ward Fallon South Stake                          Nevada Area Council 329                   125 W Tolas Pl                                         Fallon, NV 89406‐5866                                        First Class Mail
Chartered Organization         Lds 6Th Ward Farmington Stake                            Great Swest Council 412                   4400 College Blvd                                      Farmington, NM 87402‐4607                                    First Class Mail
Chartered Organization         Lds 6Th Ward, Tallahassee, Fl Stake                      Suwannee River Area Council 664           3717 Thomasville Rd                                    Tallahassee, FL 32309‐2913                                   First Class Mail
Chartered Organization         Lds 6Th Ward/Moses Lake Stake                            Grand Columbia Council 614                77 Judy Rd                                             Moses Lake, WA 98837‐8554                                    First Class Mail
Chartered Organization         Lds 7Th Ward ‐ Fort Worth Stake                          Longhorn Council 662                      2520 8th Ave                                           Fort Worth, TX 76110‐2537                                    First Class Mail
Chartered Organization         Lds 7Th Ward Cincinnati East Stake                       Dan Beard Council, Bsa 438                8579 Sunmont Dr                                        Cincinnati, OH 45255‐4778                                    First Class Mail
Chartered Organization         Lds 7Th Ward Farmington Stake                            Great Swest Council 412                   514 N Orchard Ave                                      Farmington, NM 87401‐6233                                    First Class Mail
Chartered Organization         Lds 7Th Ward Lb Stake                                    Long Beach Area Council 032               6979 Orange Ave                                        Long Beach, CA 90805                                         First Class Mail
Chartered Organization         Lds 7Th Ward Modesto North Stake                         Greater Yosemite Council 059              800 Sylvan Ave                                         Modesto, CA 95350                                            First Class Mail
Chartered Organization         Lds 7Th Ward/Moses Lake Stake                            Grand Columbia Council 614                458 Trout Ave                                          Moses Lake, WA 98837‐5305                                    First Class Mail
Chartered Organization         Lds 8Th Ward ‐ Arlington Stake                           Longhorn Council 662                      3703 Meadowcreek Ct                                    Arlington, TX 76001‐6568                                     First Class Mail
Chartered Organization         Lds 8Th Ward ‐ Fort Worth Stake                          Longhorn Council 662                      2520 8th Ave                                           Fort Worth, TX 76110‐2537                                    First Class Mail
Chartered Organization         Lds 8Th Ward Farmington Stake                            Great Swest Council 412                   4400 College Blvd                                      Farmington, NM 87402‐4607                                    First Class Mail
Chartered Organization         Lds 8Th Ward Modesto Stake                               Greater Yosemite Council 059              2618 Fine Rd                                           Modesto, CA 95355                                            First Class Mail
Chartered Organization         Lds 8Th Ward Modesto Stake                               Greater Yosemite Council 059              2618 Fine Rd                                           Modesto, CA 95355                                            First Class Mail
Chartered Organization         Lds 8Th Ward/Moses Lake Stake                            Grand Columbia Council 614                4796 Brent Rd Ne                                       Moses Lake, WA 98837‐8540                                    First Class Mail
Chartered Organization         Lds 8Th Ward‐Fountain Stake                              Pikes Peak Council 060                    325 Putnam Dr                                          Colorado Springs, CO 80911‐3574                              First Class Mail
Chartered Organization         Lds 8Th Wd El Paso Stake                                 Yucca Council 573                         2322 N Lee Trevino Dr                                  El Paso, TX 79936‐3427                                       First Class Mail
Chartered Organization         Lds 9Th Ward ‐ West Stake                                Alamo Area Council 583                    7420 Huebner Rd                                        San Antonio, TX 78240                                        First Class Mail
Chartered Organization         Lds 9Th Ward Spanish Branch                              Moses Lake Stake                          1515 S Div St                                          Moses Lake, WA 98837‐2455                                    First Class Mail
Chartered Organization         Lds Abingdon Ward                                        Sequoyah Council 713                      13 Heritage Dr                                         Bristol, VA 24201‐1959                                       First Class Mail
Chartered Organization         Lds Acacia Park Ward                                     Henderson Black Mountain Stake            913 Twilight Peak Ave                                  Henderson, NV 89012‐5102                                     First Class Mail
Chartered Organization         Lds Acacia Park Ward ‐ Fullerton Stake                   Orange County Council 039                 801 N Raymond Ave                                      Fullerton, CA 92831‐3315                                     First Class Mail
Chartered Organization         Lds Acacia Ward ‐ Mesa Az South Stk                      Grand Canyon Council 010                  2334 E Pueblo Ave                                      Mesa, AZ 85204                                               First Class Mail
Chartered Organization         Lds Academy Heights Ward Abq North Stake                 Great Swest Council 412                   1100 Montano Rd Nw                                     Albuquerque, NM 87122                                        First Class Mail
Chartered Organization         Lds Academy Park 1St Ward                                Kearns Ut E Stake                         4605 Westpoint Dr                                      Salt Lake City, UT 84120‐5917                                First Class Mail
Chartered Organization         Lds Academy Ward‐Colorado Springs Stake                  Pikes Peak Council 060                    5375 Centennial Blvd                                   Colorado Springs, CO 80919‐3161                              First Class Mail
Chartered Organization         Lds Accokeek Ward                                        Stafford Virginia Stake                   1399 Courthouse Rd                                     Stafford, VA 22554‐7234                                      First Class Mail
Chartered Organization         Lds Acoma Ward Lake Havasu City Stake                    Las Vegas Area Council 328                504 Acoma Blvd N                                       Lake Havasu City, AZ 86403‐4838                              First Class Mail
Chartered Organization         Lds Acworth Ward / Cartersville Stake                    Atlanta Area Council 092                  5055 Holt Rd Nw                                        Acworth, GA 30101‐2017                                       First Class Mail
Chartered Organization         Lds Adams Hill Ward ‐ Sa Stake                           Alamo Area Council 583                    9626 Adams Hl                                          San Antonio, TX 78245                                        First Class Mail
Chartered Organization         Lds Adelanto Ward ‐ Victorville Stake                    California Inland Empire Council 045      15330 Jeraldo Dr                                       Victorville, CA 92394‐5579                                   First Class Mail
Chartered Organization         Lds Adobe Villa Ward ‐ Mesa Az                           Red Mountain Stake                        5350 E Mclellan Rd                                     Mesa, AZ 85205‐3410                                          First Class Mail
Chartered Organization         Lds Adora Trails Ward ‐ Qc Az                            Chandler Heights Stake                    7361 S Constellation Way                               Gilbert, AZ 85298                                            First Class Mail
Chartered Organization         Lds Adrian Ward ‐ Ann Arbor Stake                        Southern Shores Fsc 783                   140 Sand Creek Hwy                                     Adrian, MI 49221‐9032                                        First Class Mail
Chartered Organization         Lds Af Hillcrest Fifth Ward                              Utah National Parks 591                   680 N 350 W                                            American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds Af Hillcrest First Ward                              Utah National Parks 591                   949 N 540 W                                            American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds Af Hillcrest Fourth Ward                             Utah National Parks 591                   680 N 350 W                                            American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds Af Hillcrest Second Ward                             Utah National Parks 591                   242 W 1400 N                                           American Fork, UT 84003‐3731                                 First Class Mail
Chartered Organization         Lds Af Hillcrest Sixth Ward                              Utah National Parks 591                   1202 N 250 W                                           American Fork, UT 84003‐2787                                 First Class Mail
Chartered Organization         Lds Af Hillcrest Third Ward                              Utah National Parks 591                   1120 N 150 W                                           American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds Afono Branch‐Pago Samoa Stake                        Aloha Council, Bsa 104                    P.O. Box 3346                                          Pago Pago, AS 96799‐3346                                     First Class Mail
Chartered Organization         Lds Afton Stake ‐ Afton 1St Ward                         Grand Teton Council 107                   P.O. Box 762                                           Afton, WY 83110‐0762                                         First Class Mail
Chartered Organization         Lds Afton Stake ‐ Afton 2Nd Ward                         Grand Teton Council 107                   P.O. Box 1385                                          Afton, WY 83110‐1385                                         First Class Mail
Chartered Organization         Lds Afton Stake ‐ Afton 3Rd Ward                         Grand Teton Council 107                   165 E 5th Ave                                          Afton, WY 83110                                              First Class Mail
Chartered Organization         Lds Afton Stake ‐ Afton 4Th Ward                         Grand Teton Council 107                   P.O. Box 1703                                          Afton, WY 83110‐1703                                         First Class Mail
Chartered Organization         Lds Afton Stake ‐ Cottonwood Ward                        Grand Teton Council 107                   505 Lancaster Ln                                       Afton, WY 83110‐9767                                         First Class Mail
Chartered Organization         Lds Afton Stake ‐ Fairview Ward                          Grand Teton Council 107                   3166 Wy State Hwy 241                                  Fairview, WY 83119                                           First Class Mail
Chartered Organization         Lds Afton Stake ‐ Osmond Ward                            Grand Teton Council 107                   2949 State Hwy 241                                     Afton, WY 83110‐9763                                         First Class Mail
Chartered Organization         Lds Afton Stake ‐ Salt River Ward                        Grand Teton Council 107                   104 Johnny Miller Dr                                   Afton, WY 83110                                              First Class Mail
Chartered Organization         Lds Afton Stake ‐ Smoot Ward                             Grand Teton Council 107                   3166 Wy State Hwy 241                                  Smoot, WY 83126                                              First Class Mail
Chartered Organization         Lds Agoura 1St Ward Newbury Park Stake                   Ventura County Council 057                6100 Doubletree Rd                                     Oak Park, CA 91377‐3901                                      First Class Mail
Chartered Organization         Lds Agoura 2Nd Ward Newbury Park Stake                   Ventura County Council 057                6100 Doubletree Rd                                     Agoura Hills, CA 91377‐3901                                  First Class Mail
Chartered Organization         Lds Agua Fria Spanish Branch‐Peoria Az                   Stake                                     10877 N 77Th Ave                                       Peoria, AZ 85345                                             First Class Mail
Chartered Organization         Lds Agua Fria Ward ‐ Phoenix Az Stk                      Grand Canyon Council 010                  8706 W Campbell Ave                                    Phoenix, AZ 85037                                            First Class Mail
Chartered Organization         Lds Aguila Ward ‐ Phoenix Az                             South Mountain Stake                      4125 W Baseline Rd                                     Laveen, AZ 85339                                             First Class Mail
Chartered Organization         Lds Ahtanum Creek Ward/Yakima Stake                      Grand Columbia Council 614                9203 Bell Ave                                          Yakima, WA 98908‐6803                                        First Class Mail
Chartered Organization         Lds Ahwatukee 2Nd Ward ‐ Tempe Az West Stk               Grand Canyon Council 010                  4525 E Knox Rd                                         Phoenix, AZ 85044                                            First Class Mail
Chartered Organization         Lds Ahwatukee Groves Ward ‐ Tempe Az                     West Stake                                1050 W Grove Pkwy                                      Tempe, AZ 85283                                              First Class Mail
Chartered Organization         Lds Aiea Ward ‐ Honolulu West Stake                      Aloha Council, Bsa 104                    99‐641 Pohue St                                        Aiea, HI 96701                                               First Class Mail
Chartered Organization         Lds Aiken Ward Augusta Georgia Stake                     Georgia‐Carolina 093                      514 E Pine Log Rd                                      Aiken, SC 29803                                              First Class Mail
Chartered Organization         Lds Ainaola Ward ‐ Hilo Stake                            Aloha Council, Bsa 104                    1373 Kilauea Ave                                       Hilo, HI 96720‐4207                                          First Class Mail
Chartered Organization         Lds Airport Heights Ward                                 Anchorage N Stake                         2501 Maplewood St                                      Anchorage, AK 99508‐4056                                     First Class Mail
Chartered Organization         Lds Ajo Ward ‐ Maricopa Az Stk                           Grand Canyon Council 010                  91 W 4Th Ave                                           Ajo, AZ 85321‐2162                                           First Class Mail
Chartered Organization         Lds Akron Ward ‐ Akron Stake                             Great Trail 433                           735 N Revere Rd                                        Akron, OH 44333‐2914                                         First Class Mail
Chartered Organization         Lds Alabaster Ward Bessemer Stake                        Greater Alabama Council 001               210 Lacey Ave                                          Alabaster, AL 35114                                          First Class Mail
Chartered Organization         Lds Alameda Stake ‐ Alameda 1St Ward                     Grand Teton Council 107                   954 E Walnut St                                        Pocatello, ID 83201                                          First Class Mail
Chartered Organization         Lds Alameda Stake ‐ Alameda 2Nd Ward                     Grand Teton Council 107                   954 E Walnut St                                        Pocatello, ID 83201                                          First Class Mail
Chartered Organization         Lds Alameda Stake ‐ Alameda 3Rd Ward                     Grand Teton Council 107                   954 E Walnut St                                        Pocatello, ID 83201                                          First Class Mail
Chartered Organization         Lds Alameda Stake ‐ Alameda 4Th Ward                     Grand Teton Council 107                   1440 Lakeview Dr                                       Pocatello, ID 83201                                          First Class Mail
Chartered Organization         Lds Alameda Stake ‐ Alameda 5Th Ward                     Grand Teton Council 107                   1440 Lakeview Dr                                       Pocatello, ID 83201                                          First Class Mail
Chartered Organization         Lds Alameda Stake ‐ Alameda 6Th Ward                     Grand Teton Council 107                   930 E Alameda Rd                                       Pocatello, ID 83201                                          First Class Mail
Chartered Organization         Lds Alameda Stake ‐ Alameda 7Th Ward                     Grand Teton Council 107                   930 E Alameda Rd                                       Pocatello, ID 83201                                          First Class Mail
Chartered Organization         Lds Alameda Stake ‐ Alameda 8Th Ward                     Grand Teton Council 107                   930 E Alameda Rd                                       Pocatello, ID 83201                                          First Class Mail
Chartered Organization         Lds Alameda Ward ‐ San Leandro Stake                     Alameda Council Bsa 022                   1201 Grand St                                          Alameda, CA 94501‐4072                                       First Class Mail
Chartered Organization         Lds Alameda Ward ‐ Tempe Az Stk                          Grand Canyon Council 010                  1221 W Howe St                                         Tempe, AZ 85281‐5347                                         First Class Mail
Chartered Organization         Lds Alameda Ward Aurora Stake                            Denver Area Council 061                   11100 E Alameda Ave                                    Aurora, CO 80012‐1021                                        First Class Mail
Chartered Organization         Lds Alamo Ranch Ward ‐ Sa Stake                          Alamo Area Council 583                    3644 Talley Rd                                         San Antonio, TX 78253                                        First Class Mail
Chartered Organization         Lds Alamo Ward                                           Utah National Parks 591, 1st E and Main   Alamo, NV 89001                                                                                                     First Class Mail
Chartered Organization         Lds Alamo Ward ‐ Danville Stake                          Mt Diablo‐Silverado Council 023           2949 Stone Valley Rd                                   Alamo, CA 94507                                              First Class Mail
Chartered Organization         Lds Alamosa 2Nd Ward, Alamosa Stake                      Rocky Mountain Council 063                2111 Thomas Ave                                        Alamosa, CO 81101‐2220                                       First Class Mail
Chartered Organization         Lds Alamosa 3Rd Ward, Alamosa Stake                      Rocky Mountain Council 063                2625 County Rd 8 S                                     Alamosa, CO 81101‐8103                                       First Class Mail
Chartered Organization         Lds Alamosa 4Th Ward, Alamosa Stake                      Rocky Mountain Council 063                7131 Rd 3 S                                            Alamosa, CO 81101                                            First Class Mail
Chartered Organization         Lds Albany Ward                                          South Georgia Council 098                 2700 Westgate Dr                                       Albany, GA 31707‐2270                                        First Class Mail
Chartered Organization         Lds Albany Ward                                          South Georgia Council 098                 2700 Westgate Dr                                       Albany, GA 31707‐2270                                        First Class Mail
Chartered Organization         Lds Albany Ward ‐ Denham Springs Stake                   Istrouma Area Council 211                 2503 Old Baton Rouge Hwy                               Hammond, LA 70403‐3531                                       First Class Mail
Chartered Organization         Lds Albemarle Br                                         Chesapeake Virginia Stake                 130 Standard Bred Way                                  Hertford, NC 27944‐7920                                      First Class Mail
Chartered Organization         Lds Albertson Ward                                       Tuscarora Council 424                     3554 N Nc 111 903 Hwy                                  Albertson, NC 28508                                          First Class Mail
Chartered Organization         Lds Albertson Ward                                       Tuscarora Council 424                     Nc 903 Hwy                                             Albertson, NC 28508                                          First Class Mail
Chartered Organization         Lds Albion Ward/Sandy Ut East Stk                        Great Salt Lake Council 590               1880 E 9800 S                                          Sandy, UT 84092                                              First Class Mail
Chartered Organization         Lds Alder Ward ‐ Fontana Stake                           California Inland Empire Council 045      7526 Alder Ave                                         Fontana, CA 92336‐2304                                       First Class Mail
Chartered Organization         Lds Alderwood Ward Lynnwood Stake                        Mount Baker Council, Bsa 606              16124 35th Ave Se                                      Mill Creek, WA 98012‐6199                                    First Class Mail
Chartered Organization         Lds Alexander Ward Meadows Stake                         Las Vegas Area Council 328                7940 Hickam Ave                                        Las Vegas, NV 89129‐5437                                     First Class Mail
Chartered Organization         Lds Alexandria Ward Mt Vernon Stake                      National Capital Area Council 082         2810 King St                                           Alexandria, VA 22302‐4011                                    First Class Mail
Chartered Organization         Lds Algonkian Ward Ashburn Stake                         National Capital Area Council 082         Circle Dr At Maple Dr                                  Sterling, VA 20164                                           First Class Mail
Chartered Organization         Lds Algonkian Ward Oakton Stake                          National Capital Area Council 082         22066 Cir Dr                                           Sterling, VA 20164                                           First Class Mail
Chartered Organization         Lds Alhambra Ward 201 Pasadena Stake                     Greater Los Angeles Area 033              770 Sierra Madre Villa Ave                             Pasadena, CA 91107‐2042                                      First Class Mail
Chartered Organization         Lds Aliamanu Ward ‐ Honolulu West Stake                  Aloha Council, Bsa 104                    99‐641 Pohue St                                        Aiea, HI 96701                                               First Class Mail
Chartered Organization         Lds Aliante Ward Highland Hills Stake                    Las Vegas Area Council 328                6101 Golden Harmony St                                 North Las Vegas, NV 89031‐2083                               First Class Mail
Chartered Organization         Lds Alice                                                South Texas Council 577                   1550 Morningside Dr                                    Alice, TX 78332                                              First Class Mail
Chartered Organization         Lds Alicia Park Ward ‐ Mission Viejo Stake               Orange County Council 039                 23850 Los Alisos Blvd                                  Mission Viejo, CA 92691                                      First Class Mail
Chartered Organization         Lds Aliso Creek Ward                                     Santa Margarita Stake                     24755 Trabuco Rd                                       Lake Forest, CA 92630‐2110                                   First Class Mail
Chartered Organization         Lds Aliso Viejo Ward ‐ Laguna Niguel Stake               Orange County Council 039                 22851 Aliso Creek                                      Aliso Viejo, CA 92656                                        First Class Mail
Chartered Organization         Lds Alkali Creek Ward, Billings E Stake                  Montana Council 315                       1640 Broadmoor Dr                                      Billings, MT 59105‐3412                                      First Class Mail
Chartered Organization         Lds Allen Ranch Ward ‐ Gilbert Az                        Greenfield Stake                          471 E Vermont Dr                                       Gilbert, AZ 85295‐5938                                       First Class Mail
Chartered Organization         Lds Allens Camp Ward ‐ Winslow Az Stk                    Grand Canyon Council 010                  P.O. Box 513                                           Joseph City, AZ 86032‐0513                                   First Class Mail
Chartered Organization         Lds Alma Branch ‐ Midland Stake                          Water and Woods Council 782               927 E North St                                         Ithaca, MI 48847                                             First Class Mail
Chartered Organization         Lds Alma Branch ‐ Santa Cruz Stake                       Silicon Valley Monterey Bay 055           23187 Summit Rd                                        Los Gatos, CA 95033‐9319                                     First Class Mail
Chartered Organization         Lds Alma Ward ‐ Mesa Az Alma Stk                         Grand Canyon Council 010                  2300 W Javelina Ave                                    Mesa, AZ 85202                                               First Class Mail
Chartered Organization         Lds Alma Ward, Fort Smith Stake                          Westark Area Council 016                  200 Canterbury Dr                                      Alma, AR 72921‐4707                                          First Class Mail
Chartered Organization         Lds Almaden Ward ‐ San Jose South Stake                  Silicon Valley Monterey Bay 055           6625 Camden Ave                                        San Jose, CA 95120‐1914                                      First Class Mail
Chartered Organization         Lds Aloha First Ward Bvtn West Stake                     Cascade Pacific Council 492               17140 SW Bany Rd                                       Beaverton, OR 97007‐5718                                     First Class Mail
Chartered Organization         Lds Aloha Second Ward Bvtn West Stake                    Cascade Pacific Council 492               17140 SW Bany Rd                                       Beaverton, OR 97007‐5718                                     First Class Mail
Chartered Organization         Lds Alpine Cove Ward                                     Utah National Parks 591                   1681 E Box Elder Cir                                   Alpine, UT 84004‐1812                                        First Class Mail
Chartered Organization         Lds Alpine Eighth Ward                                   Utah National Parks 591                   904 N Main St                                          Alpine, UT 84004                                             First Class Mail
Chartered Organization         Lds Alpine Eleventh Ward                                 Utah National Parks 591                   98 E Canyon Crest Rd                                   Alpine, UT 84004                                             First Class Mail
Chartered Organization         Lds Alpine Fifth Ward                                    Utah National Parks 591                   98 E Canyon Crest Rd                                   Alpine, UT 84004                                             First Class Mail
Chartered Organization         Lds Alpine First Ward                                    Utah National Parks 591                   890 N Heritage Dr                                      Alpine, UT 84004                                             First Class Mail
Chartered Organization         Lds Alpine Fourth Ward                                   Utah National Parks 591                   910 S High Bench Rd                                    Alpine, UT 84004                                             First Class Mail
Chartered Organization         Lds Alpine Heights Ward                                  Ridgefield Wa Stake                       14805 NE 259th St                                      Battle Ground, WA 98604                                      First Class Mail
Chartered Organization         Lds Alpine Ninth Ward                                    Utah National Parks 591                   1117 E Alpine Dr                                       Alpine, UT 84004‐1720                                        First Class Mail
Chartered Organization         Lds Alpine Second Ward                                   Utah National Parks 591                   1125 N Alpine Blvd                                     Alpine, UT 84004                                             First Class Mail
Chartered Organization         Lds Alpine Seventh Ward                                  Utah National Parks 591                   1125 N Alpine Blvd                                     Alpine, UT 84004                                             First Class Mail
Chartered Organization         Lds Alpine Sixth Ward                                    Utah National Parks 591                   901 E Village Way                                      Alpine, UT 84004                                             First Class Mail
Chartered Organization         Lds Alpine Tenth Ward                                    Utah National Parks 591                   370 S Long Dr                                          Alpine, UT 84004                                             First Class Mail
Chartered Organization         Lds Alpine Third Ward                                    Utah National Parks 591                   398 N Matterhorn Dr                                    Alpine, UT 84004‐1809                                        First Class Mail
Chartered Organization         Lds Alpine Twelfth Ward                                  Utah National Parks 591                   314 S 800 E                                            Alpine, UT 84004‐1722                                        First Class Mail
Chartered Organization         Lds Alpine View Ward                                     Herriman Ut S Stake                       14550 Juniper Crest Rd                                 Herriman, UT 84096                                           First Class Mail
Chartered Organization         Lds Alta Heights Ward                                    Sandy Ut Canyon View Stake                1500 E 8600 S                                          Sandy, UT 84093                                              First Class Mail
Chartered Organization         Lds Alta Loma 1St Ward ‐ Upland Stake                    California Inland Empire Council 045      6525 Sapphire St                                       Alta Loma, CA 91701‐3100                                     First Class Mail
Chartered Organization         Lds Alta Mesa Ward ‐ Mesa Az Alta Mesa Stk               Grand Canyon Council 010                  5205 E Elmwood Cir                                     Mesa, AZ 85205‐5425                                          First Class Mail
Chartered Organization         Lds Alta Murrieta Ward ‐ Murrieta Stake                  California Inland Empire Council 045      38980 Sky Canyon Dr                                    Murrieta, CA 92563                                           First Class Mail
Chartered Organization         Lds Alta Sierra Ward Auburn Stake                        Golden Empire Council 047                 1255 Bell Rd                                           Auburn, CA 95603                                             First Class Mail
Chartered Organization         Lds Alta View Ward                                       Sandy Ut Alta View Stake                  1950 E Viscounti Dr                                    Sandy, UT 84093                                              First Class Mail
Chartered Organization         Lds Alta Vista Ward Red Rock Stake                       Las Vegas Area Council 328                10550 W Alta                                           Las Vegas, NV 89144                                          First Class Mail
Chartered Organization         Lds Altamont First Ward                                  Utah National Parks 591                   P.O. Box 254                                           Altamont, UT 84001‐0254                                      First Class Mail
Chartered Organization         Lds Altamont Second Ward                                 Utah National Parks 591                   Hc 65 Box 125                                          Bluebell, UT 84007                                           First Class Mail
Chartered Organization         Lds Altisima Ward ‐ Santa Margarita Stake                Orange County Council 039                 29441 Altisima                                         Rancho Santa Margarita, CA 92688                             First Class Mail
Chartered Organization         Lds Alton Ward                                           Utah National Parks 591                   P.O. Box 100022                                        Alton, UT 84710‐0022                                         First Class Mail
Chartered Organization         Lds Alton Ward Ofallon Stake                             Greater St Louis Area Council 312         34030 Craig Lake Rd                                    Brighton, IL 62012‐1725                                      First Class Mail
Chartered Organization         Lds Altus Ward Lawton Stake                              Last Frontier Council 480                 309 Val Verde St                                       Altus, OK 73521‐1123                                         First Class Mail
Chartered Organization         Lds Alum Rock Ward ‐ San Jose Stake                      Silicon Valley Monterey Bay 055           3060 Patt Ave                                          San Jose, CA 95133‐2000                                      First Class Mail
Chartered Organization         Lds Amador Ward Anthem Hills Stake                       Las Vegas Area Council 328                1500 Amador Ln                                         Henderson, NV 89012                                          First Class Mail
Chartered Organization         Lds Amber Hills Ward                                     Desert Foothill Stake                     9011 Hillpointe Rd                                     Las Vegas, NV 89134‐6097                                     First Class Mail
Chartered Organization         Lds Amberwood Ward ‐ Mesa Az Alma Stk                    Grand Canyon Council 010                  1704 W Summit Pl                                       Chandler, AZ 85224‐1251                                      First Class Mail
Chartered Organization         Lds American Falls Stake                                 Aberdeen 1st Ward                         149 W Central Ave                                      Aberdeen, ID 83210                                           First Class Mail
Chartered Organization         Lds American Falls Stake                                 Aberdeen 2nd Ward                         111 Church Pl                                          American Falls, ID 83211‐1155                                First Class Mail
Chartered Organization         Lds American Falls Stake ‐ 1St Ward                      Grand Teton Council 107                   111 Church Pl                                          American Falls, ID 83211‐1155                                First Class Mail
Chartered Organization         Lds American Falls Stake ‐ 2Nd Ward                      Grand Teton Council 107                   111 Church Pl                                          American Falls, ID 83211‐1155                                First Class Mail
Chartered Organization         Lds American Falls Stake ‐ 3Rd Ward                      Grand Teton Council 107                   650 Pocatello Ave                                      American Falls, ID 83211‐1366                                First Class Mail
Chartered Organization         Lds American Falls Stake ‐ 4Th Ward                      Grand Teton Council 107                   650 Pocatello Ave                                      American Falls, ID 83211‐1366                                First Class Mail
Chartered Organization         Lds American Falls Stake ‐ Lakeview Ward                 Grand Teton Council 107                   2120 Hwy 39                                            Aberdeen, ID 83210                                           First Class Mail
Chartered Organization         Lds American Falls Stake ‐ Rockland Ward                 Grand Teton Council 107                   P.O. Box 303                                           Rockland, ID 83271‐0303                                      First Class Mail
Chartered Organization         Lds American Fork Eighteenth Ward                        Utah National Parks 591                   381 S 300 E                                            American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds American Fork Eighth Ward                            Utah National Parks 591                   98 W 500 N                                             American Fork, UT 84003‐1654                                 First Class Mail
Chartered Organization         Lds American Fork Eleventh Ward                          Utah National Parks 591                   240 S Center St                                        American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds American Fork Fifteenth Ward                         Utah National Parks 591                   358 E 600 N                                            American Fork, UT 84003‐1830                                 First Class Mail
Chartered Organization         Lds American Fork Fifth Ward                             Utah National Parks 591                   381 S 300 E                                            American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds American Fork First Ward                             Utah National Parks 591                   467 S 380 E                                            American Fork, UT 84003‐2543                                 First Class Mail
Chartered Organization         Lds American Fork Forty First Ward                       Utah National Parks 591                   240 S Center St                                        American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds American Fork Fourteenth Ward                        Utah National Parks 591                   400 N 1100 E                                           American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds American Fork Fourth Ward                            Utah National Parks 591                   455 E 300 N                                            American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds American Fork Nineteenth Ward                        Utah National Parks 591                   284 E 900 N                                            American Fork, UT 84003‐3205                                 First Class Mail
Chartered Organization         Lds American Fork Ninth Ward                             Utah National Parks 591                   673 E 300 N                                            American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds American Fork Second Ward (Tongan)                   Utah National Parks 591                   5287 W 10700 N                                         Highland, UT 84003‐8893                                      First Class Mail
Chartered Organization         Lds American Fork Seventeenth Ward                       Utah National Parks 591                   240 S Center St                                        American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds American Fork Seventh Ward                           Utah National Parks 591                   378 N 400 W                                            American Fork, UT 84003‐1422                                 First Class Mail
Chartered Organization         Lds American Fork Sixteenth Ward                         Utah National Parks 591                   465 Hindley Dr                                         American Fork, UT 84003‐1441                                 First Class Mail
Chartered Organization         Lds American Fork Sixth Ward                             Utah National Parks 591                   320 N 100 E                                            American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds American Fork Tenth Ward                             Utah National Parks 591                   507 W 700 N.                                           American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds American Fork Third Ward                             Utah National Parks 591                   590 N 350 W                                            American Fork, UT 84003‐1118                                 First Class Mail
Chartered Organization         Lds American Fork Thirteenth Ward                        Utah National Parks 591                   975 N 60 E                                             American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds American Fork Thirtieth Ward                         Utah National Parks 591                   261 N 900 E                                            American Fork, UT 84003‐2080                                 First Class Mail
Chartered Organization         Lds American Fork Thirty Eighth Ward                     Utah National Parks 591                   196 S 980 E                                            American Fork, UT 84003‐2391                                 First Class Mail
Chartered Organization         Lds American Fork Thirty Fifth Ward                      (Spanish)                                 647 S 150 West Cir                                     American Fork, UT 84003‐5235                                 First Class Mail
Chartered Organization         Lds American Fork Thirty First Ward                      Utah National Parks 591                   1305 N 100 E                                           American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds American Fork Thirty Second Ward                     Utah National Parks 591                   270 N 900 E                                            American Fork, UT 84003                                      First Class Mail
Chartered Organization         Lds American Fork Thirty Seventh Ward                    Utah National Parks 591                   1275 E 650 N                                           American Fork, UT 84003‐1315                                 First Class Mail
Chartered Organization         Lds American Fork Thirty Third Ward                      Utah National Parks 591                   945 N 370 E                                            American Fork, UT 84003‐1346                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                      Page 193 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                     Filed 01/06/22                                                    Page 209 of 457
                                                                                                                                                                    Exhibit B
                                                                                                                                                                     Service List
                                                                                                                                                              Served as set forth below

        Description                                                       Name                                                                                    Address                                                                                                Email              Method of Service
Chartered Organization         Lds American Fork Twelfth Ward                           Utah National Parks 591                581 N 580 E                                              American Fork, UT 84003‐1920                                                             First Class Mail
Chartered Organization         Lds American Fork Twentieth Ward                         Utah National Parks 591                825 E 500 N                                              American Fork, UT 84003                                                                  First Class Mail
Chartered Organization         Lds American Fork Twenty Eighth Ward                     Utah National Parks 591                384 E 500 S                                              American Fork, UT 84003‐2573                                                             First Class Mail
Chartered Organization         Lds American Fork Twenty Fifth Ward                      Utah National Parks 591                320 N 100 E                                              American Fork, UT 84003                                                                  First Class Mail
Chartered Organization         Lds American Fork Twenty First Ward                      Utah National Parks 591                196 N 860 E                                              American Fork, UT 84003‐2930                                                             First Class Mail
Chartered Organization         Lds American Fork Twenty Fourth Ward                     Utah National Parks 591                975 N 60 E                                               American Fork, UT 84003                                                                  First Class Mail
Chartered Organization         Lds American Fork Twenty Ninth Ward                      Utah National Parks 591                673 E 300 N                                              American Fork, UT 84003                                                                  First Class Mail
Chartered Organization         Lds American Fork Twenty Second Ward                     Utah National Parks 591                762 N 650 E                                              American Fork, UT 84003‐1341                                                             First Class Mail
Chartered Organization         Lds American Fork Twenty Seventh Ward                    Utah National Parks 591                165 N 350 W                                              American Fork, UT 84003                                                                  First Class Mail
Chartered Organization         Lds American Fork Twenty Sixth Ward                      Utah National Parks 591                975 N 60 E                                               American Fork, UT 84003                                                                  First Class Mail
Chartered Organization         Lds American Fork Twenty Third Ward                      Utah National Parks 591                680 N 350 W                                              American Fork, UT 84003                                                                  First Class Mail
Chartered Organization         Lds Amity Ward ‐ Eagar Az Stk                            Grand Canyon Council 010               P.O. Box 1620                                            Eagar, AZ 85925‐1620                                                                     First Class Mail
Chartered Organization         Lds Amity Ward Mcminnville Stake                         Cascade Pacific Council 492            7176 SE Eola Hills Rd                                    Amity, OR 97101‐2610                                                                     First Class Mail
Chartered Organization         Lds Ammon East Stake                                     Quail Ridge 2nd Ward                   6131 Pheasant Dr                                         Ammon, ID 83401‐6060                                                                     First Class Mail
Chartered Organization         Lds Ammon East Stake                                     Thunder Ridge 1st Ward                 4459 John Adams Pkwy                                     Ammon, ID 83406‐4783                                                                     First Class Mail
Chartered Organization         Lds Ammon East Stake                                     Thunder Ridge 2nd Ward                 915 N Crimson Dr                                         Idaho Falls, ID 83401                                                                    First Class Mail
Chartered Organization         Lds Ammon East Stake                                     Quail Ridge 1st Ward                   6283 E Sharptail Rd                                      Idaho Falls, ID 83401‐5977                                                               First Class Mail
Chartered Organization         Lds Ammon East Stake ‐ Cottages Ward                     Grand Teton Council 107                2200 Stafford Dr                                         Ammon, ID 83401‐6043                                                                     First Class Mail
Chartered Organization         Lds Ammon East Stake ‐ Cottonwood Ward                   Grand Teton Council 107                5112 Lindee Ln                                           Ammon, ID 83401‐8002                                                                     First Class Mail
Chartered Organization         Lds Ammon East Stake ‐ Stone Arbor Ward                  Grand Teton Council 107                4459 John Adams Pkwy                                     Ammon, ID 83406‐4783                                                                     First Class Mail
Chartered Organization         Lds Ammon Foothill Stake                                 Ammon 28th Ward                        5456 Cotton Tree Ln                                      Ammon, ID 83406‐5127                                                                     First Class Mail
Chartered Organization         Lds Ammon Foothill Stake                                 Ammon 27th Ward                        5884 S Ammon Rd                                          Idaho Falls, ID 83406‐8134                                                               First Class Mail
Chartered Organization         Lds Ammon Foothills Stake                                Ammon 30th Ward                        3934 E 49th St S                                         Ammon, ID 83406                                                                          First Class Mail
Chartered Organization         Lds Ammon Foothills Stake                                Ammon 31st Ward                        4375 E Sunnyside                                         Ammon, ID 83406                                                                          First Class Mail
Chartered Organization         Lds Ammon Foothills Stake                                Ammon 24th Ward                        3934 E 49 S                                              Idaho Falls, ID 83406                                                                    First Class Mail
Chartered Organization         Lds Ammon Foothills Stake                                Ammon 733 Ward                         7118 S Ledgerock Dr                                      Idaho Falls, ID 83406                                                                    First Class Mail
Chartered Organization         Lds Ammon Foothills Stake                                Ammon 7th Ward                         5282 S Tappan Falls Dr                                   Idaho Falls, ID 83406‐8334                                                               First Class Mail
Chartered Organization         Lds Ammon Foothills Stk ‐Ammon 33Rd Wd                   Grand Teton Council 107                7118 S Ledgerock Dr                                      Ammon, ID 83406                                                                          First Class Mail
Chartered Organization         Lds Ammon North Stake ‐ Ammon 11Th Ward                  Grand Teton Council 107                645 Tennis Court Dr                                      Ammon, ID 83406‐4563                                                                     First Class Mail
Chartered Organization         Lds Ammon North Stake ‐ Ammon 14Th Ward                  Grand Teton Council 107                4363 E 17th St                                           Ammon, ID 83406‐6887                                                                     First Class Mail
Chartered Organization         Lds Ammon North Stake ‐ Ammon 16Th Ward                  Grand Teton Council 107                4363 E 17th St                                           Ammon, ID 83406‐6887                                                                     First Class Mail
Chartered Organization         Lds Ammon North Stake ‐ Ammon 18Th Ward                  Grand Teton Council 107                4363 E 17th St                                           Ammon, ID 83406‐6887                                                                     First Class Mail
Chartered Organization         Lds Ammon North Stake ‐ Ammon 23Rd Ward                  Grand Teton Council 107                4030 John Adams Pkwy                                     Ammon, ID 83406                                                                          First Class Mail
Chartered Organization         Lds Ammon North Stake ‐ Ammon 2Nd Ward                   Grand Teton Council 107                1100 Tie Breaker Dr                                      Ammon, ID 83406‐4582                                                                     First Class Mail
Chartered Organization         Lds Ammon North Stake ‐ Ammon 9Th Ward                   Grand Teton Council 107                4030 John Adams Pkwy                                     Ammon, ID 83406                                                                          First Class Mail
Chartered Organization         Lds Ammon North Stk ‐ Ammon 21St Ward                    Grand Teton Council 107                4030 John Adams Pkwy                                     Ammon, ID 83406                                                                          First Class Mail
Chartered Organization         Lds Ammon Stake ‐ Ammon 10Th Ward                        Grand Teton Council 107                4375 E Sunnyside Rd                                      Idaho Falls, ID 83406                                                                    First Class Mail
Chartered Organization         Lds Ammon Stake ‐ Ammon 1St Ward                         Grand Teton Council 107                3000 Central Ave                                         Ammon, ID 83406‐7757                                                                     First Class Mail
Chartered Organization         Lds Ammon Stake ‐ Ammon 25Th Ward                        Grand Teton Council 107                2205 N Ammon Rd                                          Ammon, ID 83401                                                                          First Class Mail
Chartered Organization         Lds Ammon Stake ‐ Ammon 3Rd Ward                         Grand Teton Council 107                2051 Avocet Dr                                           Ammon, ID 83406                                                                          First Class Mail
Chartered Organization         Lds Ammon Stake ‐ Ammon 4Th Ward                         Grand Teton Council 107                4375 E Sunnyside                                         Idaho Falls, ID 83406                                                                    First Class Mail
Chartered Organization         Lds Ammon Stake ‐ Ammon 5Th Ward                         Grand Teton Council 107                3480 San Carlos St                                       Ammon, ID 83406‐6735                                                                     First Class Mail
Chartered Organization         Lds Ammon Stake ‐ Ammon 6Th Ward                         Grand Teton Council 107                3100 Carolyn Ln                                          Ammon, ID 83406‐7661                                                                     First Class Mail
Chartered Organization         Lds Ammon Stake ‐ Ammon 8Th Ward                         Grand Teton Council 107                2055 S Ammon Rd                                          Ammon, ID 83406                                                                          First Class Mail
Chartered Organization         Lds Ammon West Stake ‐ Brookview Ward                    Grand Teton Council 107                1925 E 49th S                                            Idaho Falls, ID 83404                                                                    First Class Mail
Chartered Organization         Lds Ammon West Stake ‐ Parley Ward                       Grand Teton Council 107                2055 Coronado St                                         Idaho Falls, ID 83404                                                                    First Class Mail
Chartered Organization         Lds Ammon West Stake ‐ Stanfield Ward                    Grand Teton Council 107                1925 E 4900 S                                            Idaho Falls, ID 83404                                                                    First Class Mail
Chartered Organization         Lds Ammon West Stake ‐ Stonehaven Ward                   Grand Teton Council 107                2055 Coronado St                                         Idaho Falls, ID 83402                                                                    First Class Mail
Chartered Organization         Lds Ammon West Stake ‐ Summerwood Ward                   Grand Teton Council 107                1925 E 49th S                                            Idaho Falls, ID 83404                                                                    First Class Mail
Chartered Organization         Lds Ammon West Stake ‐ Woodruff 1St Ward                 Grand Teton Council 107                1660 12th St                                             Idaho Falls, ID 83404                                                                    First Class Mail
Chartered Organization         Lds Ammon West Stake ‐ Woodruff 2Nd Ward                 Grand Teton Council 107                1660 12th St                                             Idaho Falls, ID 83404                                                                    First Class Mail
Chartered Organization         Lds Ammon West Stake ‐ Woodruff 3Rd Ward                 Grand Teton Council 107                2055 Coronado                                            Idaho Falls, ID 83404                                                                    First Class Mail
Chartered Organization         Lds Anaconda Ward, Butte Stake                           Montana Council 315                    1300 W Park Ave                                          Anaconda, MT 59711‐1826                                                                  First Class Mail
Chartered Organization         Lds Anacortes Ward Oak Harbor Stake                      Mount Baker Council, Bsa 606           3720 H Ave                                               Anacortes, WA 98221                                                                      First Class Mail
Chartered Organization         Lds Anadarko Branch Lawton Stake                         Last Frontier Council 480              902 E Central Blvd                                       Anadarko, OK 73005‐4404                                                                  First Class Mail
Chartered Organization         Lds Anaheim 10Th Ward ‐ Anaheim East Stake               Orange County Council 039              441 S Fairmont Blvd                                      Anaheim, CA 92808                                                                        First Class Mail
Chartered Organization         Lds Anaheim 1St Ward ‐ Anaheim Stake                     Orange County Council 039              440 N Loara St                                           Anaheim, CA 92801‐5525                                                                   First Class Mail
Chartered Organization         Lds Anaheim 2Nd Ward ‐ Anaheim Stake                     Orange County Council 039              535 S Rio Vista St                                       Anaheim, CA 92806‐4421                                                                   First Class Mail
Chartered Organization         Lds Anaheim 6Th Ward ‐ Anaheim East Stake                Orange County Council 039              5275 E Nohl Ranch Rd                                     Anaheim, CA 92807‐3625                                                                   First Class Mail
Chartered Organization         Lds Anaheim 8Th Ward ‐ Anaheim Stake                     Orange County Council 039              12742 Lampson Ave                                        Garden Grove, CA 92840‐5937                                                              First Class Mail
Chartered Organization         Lds Anatolia Ward Cordova Stake                          Golden Empire Council 047              9821 Old Plrville Rd                                     Sacramento, CA 95827                                                                     First Class Mail
Chartered Organization         Lds Anderson Greenville                                  Blue Ridge Council 551                 150 Hart Rd                                              Anderson, SC 29621‐7528                                                                  First Class Mail
Chartered Organization         Lds Anderson Mill Ward, Austin Stake                     Capitol Area Council 564               11401 Antler Ln                                          Austin, TX 78726‐1206                                                                    First Class Mail
Chartered Organization         Lds Anderson Ward                                        Blue Ridge Council 551                 209 Mar Mac Rd                                           Anderson, SC 29626‐5267                                                                  First Class Mail
Chartered Organization         Lds Anderson Ward ‐ Rogers Stake                         Ozark Trails Council 306               147 Mustang Rd                                           Anderson, MO 64831                                                                       First Class Mail
Chartered Organization         Lds Andover Ward ‐ Derby Stake                           Quivira Council, Bsa 198               7011 E 13Th St N                                         Wichita, KS 67206‐1219                                                                   First Class Mail
Chartered Organization         Lds Andrews Branch, Odessa, Tx Stake                     Buffalo Trail Council 567              560 NE 2000                                              Andrews, TX 79714‐9157                                                                   First Class Mail
Chartered Organization         Lds Angel Crossing Ward                                  Layton South Stake                     628 S Angel St                                           Layton, UT 84041                                                                         First Class Mail
Chartered Organization         Lds Angola Ward Fort Wayne Stake                         Anthony Wayne Area 157                 P.O. Box 280                                             Ashley, IN 46705‐0280                                                                    First Class Mail
Chartered Organization         Lds Ann Arbor Ward 1‐ Ann Arbor Stake                    Southern Shores Fsc 783                1385 Green Rd                                            Ann Arbor, MI 48105‐2805                                                                 First Class Mail
Chartered Organization         Lds Ann Arbor Ward 2 ‐ Ann Arbor Stake                   Southern Shores Fsc 783                525 Woodland Dr                                          Saline, MI 48176‐1779                                                                    First Class Mail
Chartered Organization         Lds Annabella First Ward                                 Utah National Parks 591                P.O. Box 52                                              Annabella, UT 84711‐0052                                                                 First Class Mail
Chartered Organization         Lds Annabella Second Ward                                Utah National Parks 591                89 N 100 E                                               Annabella, UT 84711‐7765                                                                 First Class Mail
Chartered Organization         Lds Annandale Ward Annandale Stake                       National Capital Area Council 082      3408 Arnold Ln                                           Falls Church, VA 22042‐3506                                                              First Class Mail
Chartered Organization         Lds Annandale Ward Annandale Stake                       National Capital Area Council 082      5344 Ravensworth Rd                                      Springfield, VA 22151‐2519                                                               First Class Mail
Chartered Organization         Lds Annapolis Ward                                       Baltimore Area Council 220             1785 Ritchie Hwy                                         Annapolis, MD 21409                                                                      First Class Mail
Chartered Organization         Lds Anniston Ward, Birmingham Stake                      Lds                                    1217 Lenlock Ln                                          Anniston, AL 36206‐1339                                                                  First Class Mail
Chartered Organization         Lds Anoka Stake ‐ Anoka Ward                             Northern Star Council 250              2742 Yellowstone Blvd                                    Anoka, MN 55303‐1501                                                                     First Class Mail
Chartered Organization         Lds Anoka Stake ‐ Buffalo Ward                           Northern Star Council 250              9336 Ehler Ave Se                                        Delano, MN 55328‐4587                                                                    First Class Mail
Chartered Organization         Lds Anoka Stake ‐ Elk River Ward                         Northern Star Council 250              9474 Naber Ave Ne                                        Otsego, MN 55330                                                                         First Class Mail
Chartered Organization         Lds Anoka Stake ‐ Elm Creek Ward                         Northern Star Council 250              4700 Edinbrook Ter                                       Brooklyn Park, MN 55443‐4028                                                             First Class Mail
Chartered Organization         Lds Anoka Stake ‐ Maple Grove Ward                       Northern Star Council 250              4700 Edinbrook Ter                                       Brooklyn Park, MN 55443‐4028                                                             First Class Mail
Chartered Organization         Lds Anoka Stake ‐ Medicine Lake Ward                     Northern Star Council 250              2801 Douglas Dr N                                        Crystal, MN 55422‐2403                                                                   First Class Mail
Chartered Organization         Lds Anoka Stake ‐ Shingle Creek Ward                     Northern Star Council 250              4700 Edinbrook Ter                                       Brooklyn Park, MN 55443‐4028                                                             First Class Mail
Chartered Organization         Lds Anoka Stake ‐ Weaver Lake Ward                       Northern Star Council 250              2801 Douglas Dr N                                        Crystal, MN 55422‐2403                                                                   First Class Mail
Chartered Organization         Lds Antelope 2Nd Ward Antelope Stake                     Golden Empire Council 047              3621 Elverta Rd                                          Antelope, CA 95843                                                                       First Class Mail
Chartered Organization         Lds Antelope 4Th Ward Antelope Stake                     Golden Empire Council 047              3621 Elverta Rd                                          Antelope, CA 95843                                                                       First Class Mail
Chartered Organization         Lds Antelope Hills Ward                                  Layton Hills Stake                     590 W Antelope Dr                                        Layton, UT 84041‐1627                                                                    First Class Mail
Chartered Organization         Lds Antelope Ward Anderson Stake                         Golden Empire Council 047              545 Berrendos Ave                                        Red Bluff, CA 96080‐2202                                                                 First Class Mail
Chartered Organization         Lds Anthem Ward ‐ Phoenix Az                             Desert Hills Stake                     2503 W Anthem Way                                        Anthem, AZ 85086                                                                         First Class Mail
Chartered Organization         Lds Anthem Ward ‐ Stv Az Stk                             Grand Canyon Council 010               6913 W Pleasant Oak Ct                                   Florence, AZ 85132‐6941                                                                  First Class Mail
Chartered Organization         Lds Anthem Ward Anthem Hills Stake                       Las Vegas Area Council 328             875 Rich Perez Jr. Dr                                    Henderson, NV 89052                                                                      First Class Mail
Chartered Organization         Lds Anthem Ward/Fort Herriman Stake                      Great Salt Lake Council 590            5658 Yukon Park Ln                                       Herriman, UT 84065                                                                       First Class Mail
Chartered Organization         Lds Antietam Ward, Martinsburg Stake                     Mason Dixon Council 221                1253 Mount Aetna Rd                                      Hagerstown, MD 21742                                                                     First Class Mail
Chartered Organization         Lds Antimony Ward                                        Utah National Parks 591                121 S Blood Ln                                           Antimony, UT 84712‐6004                                                                  First Class Mail
Chartered Organization         Lds Antioch 1St Ward ‐ Antioch Stake                     Mt Diablo‐Silverado Council 023        3015 Rio Grande Dr                                       Antioch, CA 94509‐4548                                                                   First Class Mail
Chartered Organization         Lds Antioch 2Nd Ward ‐ Antioch Stake                     Mt Diablo‐Silverado Council 023        3015 Rio Grande Dr                                       Antioch, CA 94509‐4548                                                                   First Class Mail
Chartered Organization         Lds Anza Branch‐Hemet Stake                              California Inland Empire Council 045   39075 Contreras Rd                                       Anza, CA 92539                                                                           First Class Mail
Chartered Organization         Lds Apache Park Ward ‐ Glendale Az                       North Stake                            Attn: Bishop Craig Ashcroft                              Grand Canyon Council 010           20516 N 80Th Ln            Peoria, Az 85382           First Class Mail
Chartered Organization         Lds Apopka Leesburg                                      Central Florida Council 083            610 Martin St                                            Apopka, FL 32712‐3538                                                                    First Class Mail
Chartered Organization         Lds Apple Farms Ward/S L Granger Stk                     Great Salt Lake Council 590            3751 S 2200 W                                            West Valley City, UT 84119‐3834                                                          First Class Mail
Chartered Organization         Lds Apple Valley Ward                                    Utah National Parks 591                1427 N Mount Zion Dr                                     Apple Valley, UT 84737‐4868                                                              First Class Mail
Chartered Organization         Lds Appleby Ward ‐ Chandler Az South Stk                 Grand Canyon Council 010               3770 S Cooper Rd                                         Chandler, AZ 85249                                                                       First Class Mail
Chartered Organization         Lds Appleton 1St Ward                                    Bay‐Lakes Council 635                  425 W Park Ridge Ave                                     Appleton, WI 54911‐1124                                                                  First Class Mail
Chartered Organization         Lds Appleton 2Nd Ward                                    Bay‐Lakes Council 635                  425 W Park Ridge Ave                                     Appleton, WI 54911‐1124                                                                  First Class Mail
Chartered Organization         Lds Aptos Ward ‐ Santa Cruz Stake                        Silicon Valley Monterey Bay 055        255 Holm Rd                                              Watsonville, CA 95076‐2447                                                               First Class Mail
Chartered Organization         Lds Aqua Fria Ward ‐ Prescott Valley Az                  Stake                                  9684 E Catalina Dr                                       Prescott Valley, AZ 86314‐7603                                                           First Class Mail
Chartered Organization         Lds Aquia Ward Stafford Virginia Stake                   National Capital Area Council 082      1399 Courthouse Rd                                       Stafford, VA 22554‐7234                                                                  First Class Mail
Chartered Organization         Lds Arbor Branch (Sp)                                    Sl Liberty Stake                       1515 S 200 E                                             Salt Lake City, UT 84101                                                                 First Class Mail
Chartered Organization         Lds Arbor View Ward Elkhorn Spgs Stake                   Las Vegas Area Council 328             8093 Marin Pointe Ave                                    Las Vegas, NV 89131‐4680                                                                 First Class Mail
Chartered Organization         Lds Arbors Park Ward ‐ Gilbert Az                        San Tan Stake                          4170 S Ranch House Pkwy                                  Gilbert, AZ 85297                                                                        First Class Mail
Chartered Organization         Lds Arcadia Branch Sarasota Stake                        Southwest Florida Council 088          1111 E Gibson St                                         Arcadia, FL 34266                                                                        First Class Mail
Chartered Organization         Lds Arcadia Ward ‐ Scottsdale Az                         Camelback Stake                        2202 N 74Th St                                           Scottsdale, AZ 85257‐1539                                                                First Class Mail
Chartered Organization         Lds Arcadia Ward 115 Arcadia Stake                       Greater Los Angeles Area 033           614 W Foothill Blvd                                      Arcadia, CA 91006‐2030                                                                   First Class Mail
Chartered Organization         Lds Arctic Valley Ward ‐ Chugach Stake                   Great Alaska Council 610               9128 W Parkview Terrace Loop                             Eagle River, AK 99577‐8815                                                               First Class Mail
Chartered Organization         Lds Arimo Stake ‐ Arimo Ward                             Grand Teton Council 107                286 Henderson Av                                         Arimo, ID 83214                                                                          First Class Mail
Chartered Organization         Lds Arimo Stake ‐ Downey 1St Ward                        Grand Teton Council 107                525 E 100 N                                              Downey, ID 83234                                                                         First Class Mail
Chartered Organization         Lds Arimo Stake ‐ Downey 2Nd Ward                        Grand Teton Council 107                525 E 1st N                                              Downey, ID 83234                                                                         First Class Mail
Chartered Organization         Lds Arimo Stake ‐ Garden Creek Ward                      Grand Teton Council 107                286 Henderson Av                                         Arimo, ID 83214                                                                          First Class Mail
Chartered Organization         Lds Arimo Stake ‐ Lava Ward                              Grand Teton Council 107                437 W Spring St                                          Lava Hot Springs, ID 83246                                                               First Class Mail
Chartered Organization         Lds Arimo Stake ‐ Swanlake Ward                          Grand Teton Council 107                P.O. Box 47                                              Swanlake, ID 83281‐0047                                                                  First Class Mail
Chartered Organization         Lds Arimo Stake ‐ Virginia Ward                          Grand Teton Council 107                Rt 1                                                     Virginia, ID 83284                                                                       First Class Mail
Chartered Organization         Lds Arizona City Ward ‐ Casa Grande Az Stk               Grand Canyon Council 010               1555 N Colorado St                                       Casa Grande, AZ 85122‐2931                                                               First Class Mail
Chartered Organization         Lds Arkansas City Ward ‐ Derby Stake                     Quivira Council, Bsa 198               6582 322Nd Rd                                            Arkansas City, KS 67005‐6348                                                             First Class Mail
Chartered Organization         Lds Arlington 1St Ward ‐ Riverside Stake                 California Inland Empire Council 045   4375 Jackson St                                          Riverside, CA 92503‐3322                                                                 First Class Mail
Chartered Organization         Lds Arlington 2Nd Ward Mclean Stake                      National Capital Area Council 082      1600 N Inglewood St                                      Arlington, VA 22205‐2739                                                                 First Class Mail
Chartered Organization         Lds Arlington 2Nd Ward Mclean Stake                      National Capital Area Council 082      1600 N Inglewood St                                      Arlington, VA 22205‐2739                                                                 First Class Mail
Chartered Organization         Lds Arlington Heights Ward                               Riverside Stake                        4375 Jackson St                                          Riverside, CA 92503‐3322                                                                 First Class Mail
Chartered Organization         Lds Arlington Heights Ward Iii                           Pathway To Adventure 456               2035 N Windsor Dr                                        Arlington Heights, IL 60004‐3343                                                         First Class Mail
Chartered Organization         Lds Arlington Ward ‐ Memphis North Stake                 Chickasaw Council 558                  12096 Arlington Trl                                      Arlington, TN 38002‐8344                                                                 First Class Mail
Chartered Organization         Lds Arlington Ward Arlington Stake                       Mount Baker Council, Bsa 606           17414 79th Dr Ne                                         Arlington, WA 98223‐9826                                                                 First Class Mail
Chartered Organization         Lds Arlington Ward Cambridge Stake                       Mayflower Council 251                  15 Ledgewood Pl                                          Belmont, MA 02478‐2141                                                                   First Class Mail
Chartered Organization         Lds Arrowhead Ranch Ward ‐ Phoenix Az                    Tbird Park Stake                       5701 W Union Hills Dr                                    Glendale, AZ 85308                                                                       First Class Mail
Chartered Organization         Lds Arrowhead Ward ‐ Hesperia Stake                      California Inland Empire Council 045   9533 Hickory Ave                                         Hesperia, CA 92345                                                                       First Class Mail
Chartered Organization         Lds Arrowhead Ward Eldorado Stake                        Las Vegas Area Council 328             801 Arrowhead Trl                                        Henderson, NV 89002‐8427                                                                 First Class Mail
Chartered Organization         Lds Arroyo Grande Ward                                   Santa Maria Stake                      751 S Traffic Way                                        Arroyo Grande, CA 93420‐3432                                                             First Class Mail
Chartered Organization         Lds Arroyo Grande Ward Carnegie Stake                    Las Vegas Area Council 328             2497 Cozy Hill Cir                                       Henderson, NV 89052‐2674                                                                 First Class Mail
Chartered Organization         Lds Arroyo Vista Ward                                    Ventura County Council 057             3645 N Moorpark Rd                                       Thousand Oaks, CA 91360‐2604                                                             First Class Mail
Chartered Organization         Lds Artesia Branch ‐ Roswell Nm Stake                    Conquistador Council Bsa 413           2519 W Hermosa Dr                                        Artesia, NM 88210‐3108                                                                   First Class Mail
Chartered Organization         Lds Arvada 1St Ward, Arvada Stake                        Denver Area Council 061                12995 W 72nd Ave                                         Arvada, CO 80005‐3111                                                                    First Class Mail
Chartered Organization         Lds Arvada 2Nd Ward, Arvada Stake                        Denver Area Council 061                6490 Quail St                                            Arvada, CO 80004‐2602                                                                    First Class Mail
Chartered Organization         Lds Arvada 3Rd Ward, Arvada Stake                        Denver Area Council 061                6490 Quail St                                            Arvada, CO 80004‐2602                                                                    First Class Mail
Chartered Organization         Lds Arvada 4Th Ward, Arvada Stake                        Denver Area Council 061                12995 W 72nd Ave                                         Arvada, CO 80005‐3111                                                                    First Class Mail
Chartered Organization         Lds Arvada 5Th Ward, Arvada Stake                        Denver Area Council 061                7080 Independence St                                     Arvada, CO 80004‐1649                                                                    First Class Mail
Chartered Organization         Lds Arvada 6Th Ward, Arvada Stake                        Denver Area Council 061                7080 Independence St                                     Arvada, CO 80004‐1649                                                                    First Class Mail
Chartered Organization         Lds Ascutney Ward Concord Stake                          Daniel Webster Council, Bsa 330        111 Red Water Brook Rd                                   Claremont, NH 03743‐4262                                                                 First Class Mail
Chartered Organization         Lds Ash Flat                                             Quapaw Area Council 018                1292 Sunrise Rd                                          Salem, AR 72576‐9395                                                                     First Class Mail
Chartered Organization         Lds Ash Point Ward                                       Utah National Parks 591                2977 E Saddle Rock Rd                                    Eagle Mountain, UT 84005                                                                 First Class Mail
Chartered Organization         Lds Ashburn Stake Brambleton Ward                        National Capital Area Council 082      21015 Claiborne Pkwy                                     Ashburn, VA 20147‐4030                                                                   First Class Mail
Chartered Organization         Lds Ashburn Stake Catoctin Ward                          National Capital Area Council 082      15 N Reid St                                             Hamilton, VA 20158                                                                       First Class Mail
Chartered Organization         Lds Ashburn Ward Ashburn Stake                           National Capital Area Council 082      21065 Claiborne Pkwy                                     Ashburn, VA 20147                                                                        First Class Mail
Chartered Organization         Lds Ashbury Ward‐Meridian Linder Stk                     Ore‐Ida Council 106 ‐ Bsa 106          6650 N Meridian Rd                                       Meridian, ID 83646                                                                       First Class Mail
Chartered Organization         Lds Ashcreek Ward ‐ Qc Az North Stk                      Grand Canyon Council 010               22692 E Munoz St                                         Queen Creek, AZ 85142‐9082                                                               First Class Mail
Chartered Organization         Lds Ashdown Forest Ward                                  Utah National Parks 591                2153 N Cliffrose Dr                                      Cedar City, UT 84721‐9710                                                                First Class Mail
Chartered Organization         Lds Asheboro Ward, High Point, Nc Stake                  Old N State Council 070                1109 Mcdowell Rd                                         Asheboro, NC 27205‐7225                                                                  First Class Mail
Chartered Organization         Lds Asheville Ward                                       Asheville, North Carolina Stake        Daniel Boone Council 414                                 Asheville Ward                     3401 Sweeten Creek Rd      Arden, NC 28704            First Class Mail
Chartered Organization         Lds Ashland Ranch Ward ‐ Gilbert Az                      Greenfield Stake                       1155 E Ray Rd                                            Gilbert, AZ 85295                                                                        First Class Mail
Chartered Organization         Lds Ashland Ward ‐ Medford Stake                         Crater Lake Council 491                111 Clay St                                              Ashland, OR 97520                                                                        First Class Mail
Chartered Organization         Lds Ashland Ward Huntington Wv Stake                     Simon Kenton Council 441               1001 Kenwood Dr                                          Russell, KY 41169‐1527                                                                   First Class Mail
Chartered Organization         Lds Ashley Creek Ward                                    Utah National Parks 591                4080 S 2500 E                                            Vernal, UT 84078                                                                         First Class Mail
Chartered Organization         Lds Ashley First Ward                                    Utah National Parks 591                3040 N Vernal Ave                                        Vernal, UT 84078                                                                         First Class Mail
Chartered Organization         Lds Ashley Heights Ward ‐ Gilbert Az                     Higley Stake                           1865 S Higley Rd                                         Gilbert, AZ 85295                                                                        First Class Mail
Chartered Organization         Lds Ashley Park Ward                                     Sandy Ut Granite S Stake               10312 S Ashley Park Dr                                   Sandy, UT 84092                                                                          First Class Mail
Chartered Organization         Lds Ashley Second Ward                                   Utah National Parks 591                3040 N Vernal Ave                                        Vernal, UT 84078                                                                         First Class Mail
Chartered Organization         Lds Ashley Third Ward                                    Utah National Parks 591                235 E 600 S                                              Vernal, UT 84078‐3263                                                                    First Class Mail
Chartered Organization         Lds Ashtabula Ward Youngstown Stake                      Lake Erie Council 440                  571 7 Hills Rd                                           Ashtabula, OH 44004‐9697                                                                 First Class Mail
Chartered Organization         Lds Ashton Park Ward Sac East Stake                      Golden Empire Council 047              2745 Eern Ave                                            Sacramento, CA 95821                                                                     First Class Mail
Chartered Organization         Lds Ashton Stake ‐ Ashton 1St Ward                       Grand Teton Council 107                3528 E 1100 N                                            Ashton, ID 83420‐5709                                                                    First Class Mail
Chartered Organization         Lds Ashton Stake ‐ Ashton 2Nd Ward                       Grand Teton Council 107                P.O. Box 344                                             Ashton, ID 83420‐0344                                                                    First Class Mail
Chartered Organization         Lds Ashton Stake ‐ Ashton 3Rd Ward                       Grand Teton Council 107                3793 E 1300 N                                            Ashton, ID 83420‐5027                                                                    First Class Mail
Chartered Organization         Lds Ashton Stake ‐ Ashton 4Th Ward                       Grand Teton Council 107                3715 Hwy 32                                              Ashton, ID 83420‐5723                                                                    First Class Mail
Chartered Organization         Lds Ashton Stake ‐ Chester Ward                          Grand Teton Council 107                P.O. Box 206                                             Chester, ID 83421‐0206                                                                   First Class Mail
Chartered Organization         Lds Ashton Stake ‐ Island Park Ward                      Grand Teton Council 107                P.O. Box 211                                             Island Park, ID 83429‐0211                                                               First Class Mail
Chartered Organization         Lds Ashton Stake ‐ West Yellowstone Ward                 Grand Teton Council 107                P.O. Box 907                                             West Yellowstone, MT 59758‐0907                                                          First Class Mail
Chartered Organization         Lds Aspen Branch/Rifle Stake                             Denver Area Council 061                P.O. Box 295                                             Aspen, CO 81612‐0295                                                                     First Class Mail
Chartered Organization         Lds Aspen Eighth Ward                                    Utah National Parks 591                1485 N 800 W                                             Orem, UT 84057                                                                           First Class Mail
Chartered Organization         Lds Aspen Eleventh Ward                                  Utah National Parks 591                965 W 2000 N                                             Orem, UT 84057                                                                           First Class Mail
Chartered Organization         Lds Aspen Fifth Ward                                     Utah National Parks 591                965 W 2000 N                                             Orem, UT 84057                                                                           First Class Mail
Chartered Organization         Lds Aspen First Ward                                     Utah National Parks 591                965 W 2000 N                                             Orem, UT 84057                                                                           First Class Mail
Chartered Organization         Lds Aspen Heights Ward                                   Utah National Parks 591                1911 E 1850 S                                            Spanish Fork, UT 84660                                                                   First Class Mail
Chartered Organization         Lds Aspen Hills Ward                                     Sandy Ut Granite S Stake               9855 S 2300 E                                            Sandy, UT 84092                                                                          First Class Mail
Chartered Organization         Lds Aspen Hills Ward                                     Utah National Parks 591                1631 N Sage Ln                                           Saratoga Springs, UT 84045‐6612                                                          First Class Mail
Chartered Organization         Lds Aspen Meadows Second Ward                            Utah National Parks 591                1167 S 1700 E                                            Spanish Fork, UT 84660‐9023                                                              First Class Mail
Chartered Organization         Lds Aspen Meadows Third Ward                             Utah National Parks 591                1150 E 1240 S                                            Spanish Fork, UT 84660                                                                   First Class Mail
Chartered Organization         Lds Aspen Meadows Ward                                   North Logan Utah Stake                 2540 N 400 E                                             North Logan, UT 84341                                                                    First Class Mail
Chartered Organization         Lds Aspen Meadows Ward                                   Utah National Parks 591                1731 S 1140 E                                            Spanish Fork, UT 84660                                                                   First Class Mail
Chartered Organization         Lds Aspen Ninth Ward                                     Utah National Parks 591                944 W 1720 N                                             Orem, UT 84057‐8624                                                                      First Class Mail
Chartered Organization         Lds Aspen Park Ward, Riverton Stake                      Greater Wyoming Council 638            4th and Elizabeth St                                     Riverton, WY 82501                                                                       First Class Mail
Chartered Organization         Lds Aspen Second Ward                                    Utah National Parks 591                1485 N 800 W                                             Orem, UT 84057                                                                           First Class Mail
Chartered Organization         Lds Aspen Seventh Ward (Spanish)                         Utah National Parks 591                1782 N 980 W                                             Orem, UT 84057‐8622                                                                      First Class Mail
Chartered Organization         Lds Aspen Sixth Ward                                     Utah National Parks 591                1546 N 1100 W                                            Orem, UT 84057                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                     Page 194 of 442
                                                                                Case 20-10343-LSS                                  Doc 8171                                   Filed 01/06/22                                                       Page 210 of 457
                                                                                                                                                                 Exhibit B
                                                                                                                                                                  Service List
                                                                                                                                                           Served as set forth below

        Description                                                      Name                                                                                  Address                                                                                               Email              Method of Service
Chartered Organization         Lds Aspen Tenth Ward                                    Utah National Parks 591                1546 N 1100 W                                          Orem, UT 84057                                                                          First Class Mail
Chartered Organization         Lds Aspen Third Ward                                    Utah National Parks 591                1546 N 1100 W                                          Orem, UT 84057                                                                          First Class Mail
Chartered Organization         Lds Aspen Ward ‐ Mesa Az Kimball East Stk               Grand Canyon Council 010               4241 E Edgewood Ave                                    Mesa, AZ 85206‐2645                                                                     First Class Mail
Chartered Organization         Lds Aspen Ward ‐ White Mountain Az Stk                  Grand Canyon Council 010               P.O. Box 3188                                          Pinetop, AZ 85935‐3188                                                                  First Class Mail
Chartered Organization         Lds Astoria Ward Rainier Stake                          Cascade Pacific Council 492            37804 Eagle Ln                                         Astoria, OR 97103‐8500                                                                  First Class Mail
Chartered Organization         Lds Atascadero 1St Ward                                 San Luis Obispo Stake                  2600 Ramona Rd                                         Atascadero, CA 93422‐2414                                                               First Class Mail
Chartered Organization         Lds Atascadero 2Nd Ward                                 San Luis Obispo Stake                  2600 Ramona Rd                                         Atascadero, CA 93422‐2414                                                               First Class Mail
Chartered Organization         Lds Athens 1St Ward ‐ Athens Stake                      Northeast Georgia Council 101          706 Whitehead Rd                                       Athens, GA 30606‐1653                                                                   First Class Mail
Chartered Organization         Lds Athens 2Nd Ward ‐ Athens Stake                      Northeast Georgia Council 101          1080 Julian Dr                                         Watkinsville, GA 30677                                                                  First Class Mail
Chartered Organization         Lds Athens Chattanooga                                  Great Smoky Mountain Council 557       508 Cedar Springs Rd                                   Athens, TN 37303‐4520                                                                   First Class Mail
Chartered Organization         Lds Athens First Ward ‐ Athens Stake                    Northeast Georgia Council 101          1080 Julian Dr                                         Watkinsville, GA 30677                                                                  First Class Mail
Chartered Organization         Lds Athens Ward                                         East Texas Area Council 585            23000 County Rd 145                                    Bullard, TX 75757                                                                       First Class Mail
Chartered Organization         Lds Athens Ward, Madison Stake                          Greater Alabama Council 001            27135 New Bethel Rd                                    Elkmont, AL 35620‐4747                                                                  First Class Mail
Chartered Organization         Lds Atherton Ward E Lb Stake                            2500 N Bristol S                       Santa Ana, CA 92706                                                                                                                            First Class Mail
Chartered Organization         Lds Atwater 1St Ward Merced Stake                       Greater Yosemite Council 059           5554 N Winton Way                                      Atwater, CA 95301                                                                       First Class Mail
Chartered Organization         Lds Aua 1St Ward ‐ Pago Samoa Stake                     Aloha Council, Bsa 104                 Aua                                                    American Samoa                          Pago Pago, AS 96799                             First Class Mail
Chartered Organization         Lds Aua 2Nd Ward ‐ Pago Samoa Stake                     Aloha Council, Bsa 104                 P.O. Box 1419                                          Pago Pago, AS 96799‐1419                                                                First Class Mail
Chartered Organization         Lds Aua 3Rd Branch‐Pago Samoa Stake                     Aloha Council, Bsa 104                 P.O. Box 5884                                          Pago Pago, AS 96799‐5884                                                                First Class Mail
Chartered Organization         Lds Aubrey Ward                                         Frisco Tx Shawnee Trl Stake            8801 Martop Rd                                         Aubrey, TX 76227‐4114                                                                   First Class Mail
Chartered Organization         Lds Auburn 2Nd Ward Auburn Stake                        Golden Empire Council 047              1255 Bell Rd                                           Auburn, CA 95603                                                                        First Class Mail
Chartered Organization         Lds Auburn 3Rd Ward Auburn Stake                        Golden Empire Council 047              287 Poet Smith Dr                                      Auburn, CA 95603‐5747                                                                   First Class Mail
Chartered Organization         Lds Auburn Hills Ward ‐ Wichita Stake                   Quivira Council, Bsa 198               401 N Westlink Ave                                     Wichita, KS 67212‐3747                                                                  First Class Mail
Chartered Organization         Lds Auburn Hills Ward, Parker Stake                     Denver Area Council 061                11755 Tara Ln                                          Parker, CO 80134‐3023                                                                   First Class Mail
Chartered Organization         Lds Auburn Ward Auburn Stake                            Chief Seattle Council 609              625 M St Ne                                            Auburn, WA 98002‐4507                                                                   First Class Mail
Chartered Organization         Lds Auburndale Ward ‐ Corona Stake                      California Inland Empire Council 045   3600 Norconian Dr                                      Norco, CA 92860                                                                         First Class Mail
Chartered Organization         Lds Augusta Ranch 1St Ward ‐ Mesa Az                    Eastmark Stake                         2339 S Crismon Rd                                      Mesa, AZ 85209‐2615                                                                     First Class Mail
Chartered Organization         Lds Augusta Ranch 2Nd Ward ‐ Mesa Az                    Eastmark Stake                         9438 E Natal Ave                                       Mesa, AZ 85209‐2228                                                                     First Class Mail
Chartered Organization         Lds Augusta Ward                                        Georgia‐Carolina 093                   2108 Eastland Dr                                       Augusta, GA 30904‐5415                                                                  First Class Mail
Chartered Organization         Lds Auke Bay Ward ‐ Juneau Stake                        Great Alaska Council 610               10585 Glacier Hwy                                      Juneau, AK 99801‐8564                                                                   First Class Mail
Chartered Organization         Lds Aunuu Branch‐Pago Samoa Stake                       Aloha Council, Bsa 104                 P.O. Box 1930                                          Pago Pago, AS 96799‐1930                                                                First Class Mail
Chartered Organization         Lds Aurora First Ward                                   Utah National Parks 591                40 W 100 N                                             Aurora, UT 84620‐7615                                                                   First Class Mail
Chartered Organization         Lds Aurora Highlands Ward                               Aurora S Stake                         3103 S Flanders St                                     Aurora, CO 80013                                                                        First Class Mail
Chartered Organization         Lds Aurora Second Ward                                  Utah National Parks 591                P.O. Box 1                                             Aurora, UT 84620‐0001                                                                   First Class Mail
Chartered Organization         Lds Aurora Vista Ward                                   Herriman Ut S Stake                    14583 Juniper Crest Rd                                 Herriman, UT 84096                                                                      First Class Mail
Chartered Organization         Lds Aurora Ward ‐ Cinncinati/Lawrenceburg               Hoosier Trails Council 145 145         6168 Martha Dr N                                       Aurora, IN 47001‐9521                                                                   First Class Mail
Chartered Organization         Lds Aurora Ward ‐ Monett Stake                          Ozark Trails Council 306               12357 Lawrence 1212                                    Mount Vernon, MO 65712‐8106                                                             First Class Mail
Chartered Organization         Lds Austin First Ward, Oak Hills Stake                  Capitol Area Council 564               2111 Parker Ln                                         Austin, TX 78741‐3807                                                                   First Class Mail
Chartered Organization         Lds Auto Ward ‐ Pago Samoa Stake                        Aloha Council, Bsa 104                 P.O. Box 5016                                          Pago Pago, AS 96799‐5016                                                                First Class Mail
Chartered Organization         Lds Autumn Fair Ward‐Mer W Stk                          Ore‐Ida Council 106 ‐ Bsa 106          2331 N Ayrshire Pl                                     Meridian, ID 83646‐8800                                                                 First Class Mail
Chartered Organization         Lds Autumn Hills Ward/Herriman Ut Stk                   Great Salt Lake Council 590            5562 W 13680 S                                         Riverton, UT 84096                                                                      First Class Mail
Chartered Organization         Lds Autumn Ridge Ward                                   Utah National Parks 591                4588 N Eagle Mountain Blvd                             Eagle Mountain, UT 84005                                                                First Class Mail
Chartered Organization         Lds Auwaiolimu Ward ‐ Honolulu Stake                    Aloha Council, Bsa 104                 1931 Lusitana St                                       Honolulu, HI 96813                                                                      First Class Mail
Chartered Organization         Lds Ava Ward ‐ West Plains Stake                        Ozark Trails Council 306               P.O. Box 867                                           Ava, MO 65608‐0867                                                                      First Class Mail
Chartered Organization         Lds Avalon Ward ‐ Mesa Az                               Citrus Heights Stake                   2222 N Val Vista Dr Unit 1                             Mesa, AZ 85213‐1735                                                                     First Class Mail
Chartered Organization         Lds Avendale Ward ‐ Mission Viejo Stake                 Orange County Council 039              26176 Antonio Pkwy                                     Rancho Santa Margarita, CA 92688‐6502                                                   First Class Mail
Chartered Organization         Lds Aviary Park Ward Shadow Mtn Stake                   Las Vegas Area Council 328             3807 Ocelot Ct                                         North Las Vegas, NV 89084‐2330                                                          First Class Mail
Chartered Organization         Lds Avondale Ward ‐ Alliance Stake                      Longhorn Council 662                   500 E Bonds Ranch Rd                                   Fort Worth, TX 76131‐2506                                                               First Class Mail
Chartered Organization         Lds Avondale Ward ‐ Phoenix Az                          W Maricopa Stake                       10930 W Garden Lakes Pkwy                              Avondale, AZ 85392                                                                      First Class Mail
Chartered Organization         Lds Axtell Ward                                         Utah National Parks 591                P.O. Box 21093                                         Axtell, UT 84621‐0093                                                                   First Class Mail
Chartered Organization         Lds Azle Ward ‐ Weatherford Stake                       Longhorn Council 662                   1010 Timberoaks Dr                                     Azle, TX 76020‐2588                                                                     First Class Mail
Chartered Organization         Lds Aztec 1St Ward Bloomfield Stake                     Great Swest Council 412                P.O. Box 682                                           Aztec, NM 87410‐0682                                                                    First Class Mail
Chartered Organization         Lds Aztec 2Nd Ward Bloomfield Stake                     Great Swest Council 412                505 N Oliver Dr                                        Aztec, NM 87410‐1554                                                                    First Class Mail
Chartered Organization         Lds Badger Mountain Ward ‐ Kennewick Stake              Blue Mountain Council 604              895 Gage Blvd                                          Richland, WA 99352‐9501                                                                 First Class Mail
Chartered Organization         Lds Bagdad Ward ‐ Prescott Az Stk                       Grand Canyon Council 010               2 Community Dr                                         Bagdad, AZ 86321                                                                        First Class Mail
Chartered Organization         Lds Baggs Branch Wy/Craig Stake                         Denver Area Council 061                431 North St                                           Baggs, WY 82321‐5014                                                                    First Class Mail
Chartered Organization         Lds Bainbridge Island Ward                              Silverdale Stake                       8677 Madison Ave N                                     Bainbridge Island, WA 98110‐3973                                                        First Class Mail
Chartered Organization         Lds Bainbridge Ward, Dothan, Al Stake                   Suwannee River Area Council 664        1516 S Longleaf Dr                                     Bainbridge, GA 39819                                                                    First Class Mail
Chartered Organization         Lds Baker City 1St Ward ‐ La Grande Stake               Blue Mountain Council 604              2625 Hughes Ln                                         Baker City, OR 97814                                                                    First Class Mail
Chartered Organization         Lds Baker City 2Nd Ward ‐ La Grande Stake               Blue Mountain Council 604              1235 8Th St                                            Baker City, OR 97814‐4108                                                               First Class Mail
Chartered Organization         Lds Baker Valley Ward ‐ La Grande Stake                 Blue Mountain Council 604              2625 Hughes Ln                                         Baker City, OR 97814                                                                    First Class Mail
Chartered Organization         Lds Baker Ward ‐ Denham Springs Stake                   Istrouma Area Council 211              4901 Harding St                                        Baker, LA 70714‐3929                                                                    First Class Mail
Chartered Organization         Lds Balcones Heights‐North Stake                        Alamo Area Council 583                 2103 St Cloud Rd                                       San Antonio, TX 78228‐3147                                                              First Class Mail
Chartered Organization         Lds Baldwin Park Ward‐Settlers Park Stk                 Ore‐Ida Council 106 ‐ Bsa 106          3831 N Bryce Canyon Pl                                 Meridian, ID 83646‐4974                                                                 First Class Mail
Chartered Organization         Lds Ballard Creek/Logan South Stake                     Trapper Trails 589                     344 W 700 S                                            Logan, UT 84321                                                                         First Class Mail
Chartered Organization         Lds Ballard North Ward                                  Utah National Parks 591                5895 E 350 N                                           Ballard, UT 84066‐4572                                                                  First Class Mail
Chartered Organization         Lds Ballard Ward                                        Utah National Parks 591                2561 E Hwy 40                                          Roosevelt, UT 84066                                                                     First Class Mail
Chartered Organization         Lds Banbury Ward‐Mer N Stk                              Ore‐Ida Council 106 ‐ Bsa 106          6375 N Royal Park Ave                                  Boise, ID 83713                                                                         First Class Mail
Chartered Organization         Lds Bandelier Ward Abq West Stake                       Great Swest Council 412                4500 Seven Bar Loop Rd Nw                              Albuquerque, NM 87114‐5646                                                              First Class Mail
Chartered Organization         Lds Bangor                                              Katahdin Area Council 216              639 Grandview Ave                                      Bangor, ME 04401‐3257                                                                   First Class Mail
Chartered Organization         Lds Bangor/Brewer                                       Katahdin Area Council 216              639 Grandview Ave                                      Bangor, ME 04401‐3257                                                                   First Class Mail
Chartered Organization         Lds Bangor/Brewer                                       Katahdin Area Council 216              639 Grandview Ave                                      Bangor, ME 04401‐3257                                                                   First Class Mail
Chartered Organization         Lds Banning Ward ‐ Yucaipa Stake                        California Inland Empire Council 045   6140 W Wilson St                                       Banning, CA 92220‐3033                                                                  First Class Mail
Chartered Organization         Lds Baraboo Branch                                      Glaciers Edge Council 620              813 Iroquois Cir                                       Baraboo, WI 53913‐1248                                                                  First Class Mail
Chartered Organization         Lds Barber Acres Ward                                   Syracuse South Stake                   3024 S 1200 W                                          Syracuse, UT 84075                                                                      First Class Mail
Chartered Organization         Lds Barber Valley Ward‐Boise E Stk                      Ore‐Ida Council 106 ‐ Bsa 106          2290 E Warm Springs Ave                                Boise, ID 83712‐8429                                                                    First Class Mail
Chartered Organization         Lds Barnes Park Ward                                    Deseret Mill Stake                     200 N 1275 W Flint St                                  Kaysville, UT 84037                                                                     First Class Mail
Chartered Organization         Lds Barr Lake Ward, Brighton Stake                      Denver Area Council 061                1205 S 27th Ave                                        Brighton, CO 80601‐2601                                                                 First Class Mail
Chartered Organization         Lds Barrigada Ward                                      Aloha Council, Bsa 104                 620 W Rte 8                                            Barrigada, GU 96913‐1733                                                                First Class Mail
Chartered Organization         Lds Barstow 1St Ward ‐ Victorville Stake                California Inland Empire Council 045   2571 Barstow Rd                                        Barstow, CA 92311‐6650                                                                  First Class Mail
Chartered Organization         Lds Bartlesville                                        Cherokee Area Council 469 469          1501 Swan Dr                                           Bartlesville, OK 74006‐5130                                                             First Class Mail
Chartered Organization         Lds Bartlesville 1St Ward                               Cherokee Area Council 469 469          1501 Swan Dr                                           Bartlesville, OK 74006‐5130                                                             First Class Mail
Chartered Organization         Lds Bartlesville 2Nd Ward                               Cherokee Area Council 469 469          1501 Swan Dr                                           Bartlesville, OK 74006‐5130                                                             First Class Mail
Chartered Organization         Lds Bartlesville 3Rd Ward                               Cherokee Area Council 469 469          5723 Woodland Rd                                       Bartlesville, OK 74006‐7840                                                             First Class Mail
Chartered Organization         Lds Bartlett 2Nd Ward ‐ Memphis N Stake                 Chickasaw Council 558                  4195 Kirby Whitten Pkwy                                Bartlett, TN 38135‐9245                                                                 First Class Mail
Chartered Organization         Lds Bartlett Ward ‐ Memphis North Stake                 Chickasaw Council 558                  4195 Kirby Whitten Pkwy                                Bartlett, TN 38135‐9245                                                                 First Class Mail
Chartered Organization         Lds Barton Creek Ward                                   Bountiful Ut Central Stake             640 S 750 E                                            Bountiful, UT 84010                                                                     First Class Mail
Chartered Organization         Lds Barton Creek Ward, Oak Hills Stake                  Capitol Area Council 564               12001 Bee Caves Rd                                     Austin, TX 78738‐6310                                                                   First Class Mail
Chartered Organization         Lds Baseline Ward ‐ Fontana Stake                       California Inland Empire Council 045   7526 Alder Ave                                         Fontana, CA 92336‐2304                                                                  First Class Mail
Chartered Organization         Lds Basin City 2Nd Ward ‐ Pasco N Stake                 Blue Mountain Council 604              160 Bailie Blvd                                        Mesa, WA 99343                                                                          First Class Mail
Chartered Organization         Lds Basin City Ward ‐ Pasco North Stake                 Blue Mountain Council 604              160 Bailie Blvd                                        Mesa, WA 99343                                                                          First Class Mail
Chartered Organization         Lds Bass Lake Ward El Dorado Stake                      Golden Empire Council 047              3431 Hacienda Rd                                       Cameron Park, CA 95682                                                                  First Class Mail
Chartered Organization         Lds Bastrop Ward, Kyle Stake                            Capitol Area Council 564               1635 Tahitian Dr                                       Bastrop, TX 78602                                                                       First Class Mail
Chartered Organization         Lds Batesville Ward ‐ Cincinnati                        Hoosier Trails Council 145 145         1358 Tekulve Rd                                        Batesville, IN 47006‐9187                                                               First Class Mail
Chartered Organization         Lds Batesville Ward/Erda Utah Stake                     Great Salt Lake Council 590            57 Porter Way                                          Stansbury Park, UT 84074                                                                First Class Mail
Chartered Organization         Lds Baton Rouge 2 Ward ‐ Baton Rouge Stake              Istrouma Area Council 211              10335 Highland Rd                                      Baton Rouge, LA 70810‐6402                                                              First Class Mail
Chartered Organization         Lds Baton Rouge 3 Ward ‐ Baton Rouge Stake              Istrouma Area Council 211              10335 Highland Rd                                      Baton Rouge, LA 70810‐6402                                                              First Class Mail
Chartered Organization         Lds Battle Creek Eighth Ward                            Utah National Parks 591                1250 E 200 S                                           Pleasant Grove, UT 84062                                                                First Class Mail
Chartered Organization         Lds Battle Creek Fifth Ward                             Utah National Parks 591                825 Loader Dr                                          Pleasant Grove, UT 84062                                                                First Class Mail
Chartered Organization         Lds Battle Creek First Ward                             Utah National Parks 591                1250 E 200 S                                           Pleasant Grove, UT 84062                                                                First Class Mail
Chartered Organization         Lds Battle Creek Fourth Ward                            Utah National Parks 591                1107 E 200 S                                           Pleasant Grove, UT 84062                                                                First Class Mail
Chartered Organization         Lds Battle Creek Ninth Ward                             Utah National Parks 591                825 Loader Dr                                          Pleasant Grove, UT 84062                                                                First Class Mail
Chartered Organization         Lds Battle Creek Second Ward                            Utah National Parks 591                1250 E 200 S.                                          Pleasant Grove, UT 84062                                                                First Class Mail
Chartered Organization         Lds Battle Creek Seventh Ward                           Utah National Parks 591                1106 E 200 S                                           Pleasant Grove, UT 84062                                                                First Class Mail
Chartered Organization         Lds Battle Creek Sixth Ward                             Utah National Parks 591                825 Loader Dr                                          Pleasant Grove, UT 84062                                                                First Class Mail
Chartered Organization         Lds Battle Creek Tenth Ward                             Utah National Parks 591                1222 Nathaniel Dr                                      Pleasant Grove, UT 84062‐3215                                                           First Class Mail
Chartered Organization         Lds Battle Creek Third Ward                             Utah National Parks 591                1222 Nathaniel Dr                                      Pleasant Grove, UT 84062‐3215                                                           First Class Mail
Chartered Organization         Lds Battle Creek Ward                                   Kalamazoo Mi Stake                     1312 Capital Ave Sw                                    Battle Creek, MI 49015‐3604                                                             First Class Mail
Chartered Organization         Lds Battle Creek Ward 1‐ Kalamazoo Stake                Southern Shores Fsc 783                1312 Capital Ave Sw                                    Battle Creek, MI 49015‐3604                                                             First Class Mail
Chartered Organization         Lds Battle Creek Ward Salem Stake                       Cascade Pacific Council 492            4550 Lone Oak Rd Se                                    Salem, OR 97302‐4841                                                                    First Class Mail
Chartered Organization         Lds Battle Ground 1St Ward                              Ridgefield Stake                       11101 NE 119th St                                      Vancouver, WA 98662                                                                     First Class Mail
Chartered Organization         Lds Battle Ground Second Ward                           Ridgefield Stake                       11101 NE 119th St                                      Vancouver, WA 98662                                                                     First Class Mail
Chartered Organization         Lds Baumnolder Military Branch                          Transatlantic Council, Bsa 802         Fritz‐Wunderlich Stra 16                               Kusel, 66879                            Germany                                         First Class Mail
Chartered Organization         Lds Bayfield Ward Durango Stake                         Great Swest Council 412                1690 US Hwy 160 B                                      Bayfield, CO 81122                                                                      First Class Mail
Chartered Organization         Lds Bayshore Ward/Stansbury Park Ut Stk                 Great Salt Lake Council 590            252 Amsterdam Dr                                       Stansbury Park, UT 84074‐7410                                                           First Class Mail
Chartered Organization         Lds Bayside Ward ‐ Fremont Stake                        San Francisco Bay Area Council 028     36400 Haley St                                         Newark, CA 94560‐2361                                                                   First Class Mail
Chartered Organization         Lds Bayside Ward Church Of Jesus Christ                 Suitland Stake                         50 Clyde Jones Rd                                      Sunderland, MD 20689                                                                    First Class Mail
Chartered Organization         Lds Baytown 1St Ward                                    Houston East Stake                     1010 Birdsong Dr                                       Baytown, TX 77521                                                                       First Class Mail
Chartered Organization         Lds Baywood Ward ‐ Mesa Az Clearview Stk                Grand Canyon Council 010               1007 S 72Nd St                                         Mesa, AZ 85208‐2703                                                                     First Class Mail
Chartered Organization         Lds Beach Lake Ward ‐ Chugach Stake                     Great Alaska Council 610               10012 Chandalar St                                     Eagle River, AK 99577‐7217                                                              First Class Mail
Chartered Organization         Lds Beach Ward ‐ Huntington Beach N Stake               Orange County Council 039              6531 Mcfadden Ave                                      Huntington Beach, CA 92647‐2900                                                         First Class Mail
Chartered Organization         Lds Beachside Ward                                      Huntington Beach Stake                 8702 Atlanta Ave                                       Huntington Beach, CA 92646                                                              First Class Mail
Chartered Organization         Lds Beacon Hill Ward                                    Utah National Parks 591                2324 W Meadow St                                       Cedar City, UT 84720‐2263                                                               First Class Mail
Chartered Organization         Lds Beacon Hill Ward ‐ Grants Pass Stake                Crater Lake Council 491                747 NE Savage St                                       Grants Pass, OR 97526‐1339                                                              First Class Mail
Chartered Organization         Lds Beacon Light Ward‐Star Stk                          Ore‐Ida Council 106 ‐ Bsa 106          9424 W Hills Gate Dr                                   Star, ID 83669‐5316                                                                     First Class Mail
Chartered Organization         Lds Bear Canyon Ward Abq Stake                          Great Swest Council 412                11750 San Victorio Ave Ne                              Albuquerque, NM 87111‐5954                                                              First Class Mail
Chartered Organization         Lds Bear Creek 2Nd Ward                                 Houston West (Sp) Stake                16198 Cairnway Dr                                      Houston, TX 77084‐3542                                                                  First Class Mail
Chartered Organization         Lds Bear Creek Branch/Dallas Stake                      Circle Ten Council 571                 1019 Big Stone Gap Rd                                  Duncanville, TX 75137‐2123                                                              First Class Mail
Chartered Organization         Lds Bear Creek Stake                                    Morton Ranch Ward                      16198 Cairnway Dr                                      Houston, TX 77084‐3542                                                                  First Class Mail
Chartered Organization         Lds Bear Creek Ward ‐ Columbia Stake                    Great Rivers Council 653               907 Old 63 N                                           Columbia, MO 65201                                                                      First Class Mail
Chartered Organization         Lds Bear Creek Ward ‐ Medford Stake                     Crater Lake Council 491                3194 Carriage Dr                                       Medford, OR 97501‐4381                                                                  First Class Mail
Chartered Organization         Lds Bear Creek Ward Front Range Stake                   Denver Area Council 061                6465 W Jewell Ave                                      Lakewood, CO 80232‐7117                                                                 First Class Mail
Chartered Organization         Lds Bear Creek Ward Redmond Stake                       Chief Seattle Council 609              10115 172nd Ave Ne                                     Redmond, WA 98052                                                                       First Class Mail
Chartered Organization         Lds Bear Mountain Ward ‐ Chugach Stake                  Great Alaska Council 610               10012 Chandalar St                                     Eagle River, AK 99577‐7217                                                              First Class Mail
Chartered Organization         Lds Bear River 1St Ward                                 Brigahm City North Stake               5870 N 4700 W                                          Bear River City, UT 84301                                                               First Class Mail
Chartered Organization         Lds Bear River 2Nd Ward                                 Brigham North Stake                    5870 N 4700 W                                          Bear River City, UT 84301                                                               First Class Mail
Chartered Organization         Lds Bear River 3Rd Ward                                 Brigham City North Stake               5870 N 4700 W                                          Bear River City, UT 84301                                                               First Class Mail
Chartered Organization         Lds Bear Valley Ward ‐ Hesperia Stake                   California Inland Empire Council 045   10862 Maple Ave                                        Hesperia, CA 92345‐2284                                                                 First Class Mail
Chartered Organization         Lds Bear Vly Ward, E Bakersfield Stake                  Southern Sierra Council 030            600 Anita Dr                                           Tehachapi, CA 93561‐1536                                                                First Class Mail
Chartered Organization         Lds Beaufort Ward Savannah Georgia Stake                Coastal Carolina Council 550           6816 Elderberry Dr                                     Beaufort, SC 29906‐9039                                                                 First Class Mail
Chartered Organization         Lds Beaufort Ward Savannah Stake                        Coastal Carolina Council 550           6816 Elderberry Dr                                     Beaufort, SC 29906‐9039                                                                 First Class Mail
Chartered Organization         Lds Beaumont Ward ‐ Beaumont Stake                      Three Rivers Council 578               7785 Weaver Dr                                         Beaumont, TX 77706‐5349                                                                 First Class Mail
Chartered Organization         Lds Beaumont Ward ‐ North Lexington Stake               Blue Grass Council 204                 2459 Sir Barton Way                                    Lexington, KY 40509‐2267                                                                First Class Mail
Chartered Organization         Lds Beaumont Ward ‐ Reno Stake                          Nevada Area Council 329                2027 Thornbury Ct                                      Reno, NV 89523‐3224                                                                     First Class Mail
Chartered Organization         Lds Beaumont Ward ‐ Yucaipa Stake                       California Inland Empire Council 045   6124 W Wilson St                                       Banning, CA 92220‐3033                                                                  First Class Mail
Chartered Organization         Lds Beaver Creek Ward Hillsboro Stake                   Cascade Pacific Council 492            5570 SW Golden Rd                                      Hillsboro, OR 97123                                                                     First Class Mail
Chartered Organization         Lds Beaver Dam Branch Madison Wi Stake                  Bay‐Lakes Council 635                  705 W Burnett St                                       Beaver Dam, WI 53916‐1657                                                               First Class Mail
Chartered Organization         Lds Beaver Fifth Ward                                   Utah National Parks 591                P.O. Box 1620                                          Beaver, UT 84713‐1620                                                                   First Class Mail
Chartered Organization         Lds Beaver First Ward                                   Utah National Parks 591                P.O. Box H                                             Beaver, UT 84713‐1350                                                                   First Class Mail
Chartered Organization         Lds Beaver Fourth Ward                                  Utah National Parks 591                P.O. Box 1408                                          Beaver, UT 84713‐1408                                                                   First Class Mail
Chartered Organization         Lds Beaver Lake Ward Bellevue Stake                     Chief Seattle Council 609              25744 SE 32nd Pl                                       Sammamish, WA 98075‐9168                                                                First Class Mail
Chartered Organization         Lds Beaver Second Ward                                  Utah National Parks 591                P.O. Box 790                                           Beaver, UT 84713‐0790                                                                   First Class Mail
Chartered Organization         Lds Beaver Sixth Ward                                   Utah National Parks 591                2512 E Hwy 153                                         Beaver, UT 84713                                                                        First Class Mail
Chartered Organization         Lds Beaver Third Ward                                   Utah National Parks 591                P.O. Box 868                                           Beaver, UT 84713‐0868                                                                   First Class Mail
Chartered Organization         Lds Beavercreek Ward                                    Dayton Ohio East Stake (Does)          3072 Shakertown Rd                                     Beavercreek, OH 45434                                                                   First Class Mail
Chartered Organization         Lds Beaverton Ward Beaverton Stake                      Cascade Pacific Council 492            8640 SW Turquoise Loop                                 Beaverton, OR 97007‐7170                                                                First Class Mail
Chartered Organization         Lds Bedford Ward ‐ Hurst Stake                          Longhorn Council 662                   850 Cannon Dr                                          Hurst, TX 76054‐3191                                                                    First Class Mail
Chartered Organization         Lds Bedford Ward Concord Nh Stake                       Daniel Webster Council, Bsa 330        34 Juniper Dr                                          Bedford, NH 03110‐6308                                                                  First Class Mail
Chartered Organization         Lds Bee Cave Ward, Oak Hill Stake                       Capitol Area Council 564               12001 Fm 2244 Rd                                       Bee Cave, TX 78738‐6310                                                                 First Class Mail
Chartered Organization         Lds Bel Air Ward‐Boise W Stk                            Ore‐Ida Council 106 ‐ Bsa 106          3555 S Cole Rd                                         Boise, ID 83709                                                                         First Class Mail
Chartered Organization         Lds Bel Aire Ward ‐ Derby Stake                         Quivira Council, Bsa 198               7011 E 13Th St N                                       Wichita, KS 67206‐1219                                                                  First Class Mail
Chartered Organization         Lds Belen Ward Los Lunas Stake                          Great Swest Council 412                2199 Hwy 304                                           Belen, NM 87002‐7030                                                                    First Class Mail
Chartered Organization         Lds Belgrade 1St Ward, Bozeman Stake                    Montana Council 315                    297 Bridger View Dr                                    Belgrade, MT 59714‐3808                                                                 First Class Mail
Chartered Organization         Lds Belgrade 2Nd Ward, Bozeman Stake                    Montana Council 315                    297 Bridger View Dr                                    Belgrade, MT 59714‐3808                                                                 First Class Mail
Chartered Organization         Lds Bell Canyon Ward                                    Sandy Ut Granite View Stake            9800 S 3100 E                                          Sandy, UT 84092                                                                         First Class Mail
Chartered Organization         Lds Bella Via Ward ‐ Mesa Az Eastmark Stk               Grand Canyon Council 010               3440 S Signal Butte Rd                                 Mesa, AZ 85212‐4213                                                                     First Class Mail
Chartered Organization         Lds Bella Vista Ward ‐ Gilbert Az                       Higley Stake                           1865 S Higley Rd                                       Gilbert, AZ 85295                                                                       First Class Mail
Chartered Organization         Lds Bella Vista Ward ‐ Stv Az Stk                       Grand Canyon Council 010               1350 E Bella Vista                                     San Tan Valley, AZ 85143                                                                First Class Mail
Chartered Organization         Lds Bella Vista Ward Mclean Stake                       National Capital Area Council 082      1325 Scotts Run Rd                                     Mclean, VA 22102                                                                        First Class Mail
Chartered Organization         Lds Bella Vista Ward Rogers Stake                       Westark Area Council 016               1 Lambeth Dr                                           Bella Vista, AR 72714                                                                   First Class Mail
Chartered Organization         Lds Bellair Ward ‐ Glendale Az North Stk                Grand Canyon Council 010               4901 W Union Hills Dr                                  Glendale, AZ 85308‐1486                                                                 First Class Mail
Chartered Organization         Lds Bellano Creek Ward‐Settlers Park Stk                Ore‐Ida Council 106 ‐ Bsa 106          2515 W Ustick Rd                                       Meridian, ID 83646                                                                      First Class Mail
Chartered Organization         Lds Belle Isle Br                                       Bloomfield Hills Stake                 200 Conner St                                          Detroit, MI 48215                                                                       First Class Mail
Chartered Organization         Lds Bellefontaine Ward                                  Dayton Ohio East Stake (Does)          1603 Township Rd 183                                   Bellefontaine, OH 43311‐9561                                                            First Class Mail
Chartered Organization         Lds Belleville                                          Greater St Louis Area Council 312      100 S Jefferson St                                     Mascoutah, IL 62258‐2419                                                                First Class Mail
Chartered Organization         Lds Bellevue 1St Ward                                   Council Bluff Stake                    2210 Harlan Dr                                         Bellevue, NE 68005                                                                      First Class Mail
Chartered Organization         Lds Bellevue 2Nd Ward Papillion Stake                   Mid‐America Council 326                2210 Harlan Dr                                         Bellevue, NE 68005                                                                      First Class Mail
Chartered Organization         Lds Bellevue Lake Hills Ward                            Bellevue Stake                         14536 Main St                                          Bellevue, WA 98007‐5162                                                                 First Class Mail
Chartered Organization         Lds Bellevue Overlake Ward                              Bellevue Stake                         16035 Nup Way                                          Bellevue, WA 98008                                                                      First Class Mail
Chartered Organization         Lds Bellevue Ward Bellevue Stake                        Chief Seattle Council 609              3210675 NE 20th St                                     Bellevue, WA 98004                                                                      First Class Mail
Chartered Organization         Lds Bellflower Ward Cerritos Stake                      Long Beach Area Council 032            16115 Studebaker Rd                                    Cerritos, CA 90703‐1541                                                                 First Class Mail
Chartered Organization         Lds Bellingham Bay Ward Bellingham Stake                Mount Baker Council, Bsa 606           5800 Nwest Rd                                          Bellingham, WA 98248                                                                    First Class Mail
Chartered Organization         Lds Bellview Ward                                       Sandy Utah Central Stake               1050 Galena Dr                                         Sandy, UT 84094                                                                         First Class Mail
Chartered Organization         Lds Belmont Ridge Ward Ashburn Stake                    National Capital Area Council 082      21015 Claiborne Pkwy                                   Ashburn, VA 20147‐4030                                                                  First Class Mail
Chartered Organization         Lds Belmont Ward Cambridge Stake                        Mayflower Council 251                  123 Winter St                                          Belmont, MA 02478‐1116                                                                  First Class Mail
Chartered Organization         Lds Beloit Ward ‐ Rockford Stake                        Glaciers Edge Council 620              2535 Austin Pl                                         Beloit, WI 53511‐2326                                                                   First Class Mail
Chartered Organization         Lds Belton Ward ‐ Waco Stake                            Longhorn Council 662                   3909 Ermine Trail                                      Temple, TX 76504                                                                        First Class Mail
Chartered Organization         Lds Belvedere 2Nd Ward 194 East La Stake                Greater Los Angeles Area 033           2316 Hillview Ave                                      Monterey Park, CA 91754‐6818                                                            First Class Mail
Chartered Organization         Lds Belview Ward                                        Murray Ut Little Cottonwood Stake      6300 S 300 E                                           Murray, UT 84107‐7347                                                                   First Class Mail
Chartered Organization         Lds Ben Lomond 10Th Ward                                Ben Lomond Stake                       3350 N 1050 E                                          North Ogden, UT 84414                                                                   First Class Mail
Chartered Organization         Lds Ben Lomond 11Th Ward                                Ben Lomond Stake                       3610 N 650 E                                           North Ogden, UT 84414                                                                   First Class Mail
Chartered Organization         Lds Ben Lomond 12Th Ward                                Ben Lomond Stake                       3610 N 650 E                                           North Ogden, UT 84414                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                  Page 195 of 442
                                                                               Case 20-10343-LSS                                   Doc 8171                                     Filed 01/06/22                                                Page 211 of 457
                                                                                                                                                                   Exhibit B
                                                                                                                                                                    Service List
                                                                                                                                                             Served as set forth below

        Description                                                     Name                                                                                     Address                                                                                        Email              Method of Service
Chartered Organization         Lds Ben Lomond 1St Ward                                Ben Lomond Stake                       575 E 3100 N                                              North Ogden, UT 84414                                                            First Class Mail
Chartered Organization         Lds Ben Lomond 4Th Ward                                Ben Lomond Stake                       3350 N 1050 E                                             North Ogden, UT 84414                                                            First Class Mail
Chartered Organization         Lds Ben Lomond 5Th Ward                                Ben Lomond Stake                       3350 N 1050 E                                             North Ogden, UT 84414                                                            First Class Mail
Chartered Organization         Lds Ben Lomond 9Th Ward                                Ben Lomond Stake                       575 E 3100 N                                              North Ogden, UT 84414                                                            First Class Mail
Chartered Organization         Lds Benicia Ward ‐ Napa Stake                          Mt Diablo‐Silverado Council 023        2254 Havenhill Dr                                         Benicia, CA 94510‐2120                                                           First Class Mail
Chartered Organization         Lds Benjamin First Ward                                Utah National Parks 591                7094 S 3400 W                                             Spanish Fork, UT 84660‐4113                                                      First Class Mail
Chartered Organization         Lds Benjamin Second Ward                               Utah National Parks 591                3238 W 7300 S                                             Spanish Fork, UT 84660                                                           First Class Mail
Chartered Organization         Lds Bennett Valley Ward                                Redwood Empire Council 041             1780 Yulupa Ave                                           Santa Rosa, CA 95405‐7721                                                        First Class Mail
Chartered Organization         Lds Bennetts Creek Ward                                Chesapeake Stake                       Colonial Virginia Council 595                             Bennetts Pasture Rd               Suffolk, Va 23435                              First Class Mail
Chartered Organization         Lds Bennington Ward Omaha Stake                        Mid‐America Council 326                17606 Spaulding St                                        Omaha, NE 68116‐3110                                                             First Class Mail
Chartered Organization         Lds Bennion 12Th Ward/Bennion Ut Stk                   Great Salt Lake Council 590            6550 S 2700 W                                             West Jordan, UT 84084                                                            First Class Mail
Chartered Organization         Lds Bennion 14Th Ward/Bennion Ut Stk                   Great Salt Lake Council 590            6550 S 2700 W                                             Taylorsville, UT 84129                                                           First Class Mail
Chartered Organization         Lds Bennion 19Th Ward/Bennion Ut Stk                   Great Salt Lake Council 590            6250 S 2200 W                                             Taylorsville, UT 84129‐6365                                                      First Class Mail
Chartered Organization         Lds Bennion 1St Ward                                   Bennion Ut W Stake                     5468 S Appian Way                                         Taylorsville, UT 84129‐2307                                                      First Class Mail
Chartered Organization         Lds Bennion 2Nd Ward/Bennion Ut Stk                    Great Salt Lake Council 590            5927 S Jordan Canal Rd                                    Taylorsville, UT 84129‐1449                                                      First Class Mail
Chartered Organization         Lds Bennion 4Th Ward/Bennion Ut Stk                    Great Salt Lake Council 590            6250 S 2200 W                                             Taylorsville, UT 84129‐6365                                                      First Class Mail
Chartered Organization         Lds Bennion 5Th Ward/Bennion Utah Stake                Great Salt Lake Council 590            6100 So. Kamas Dr                                         Taylorsville, UT 84129                                                           First Class Mail
Chartered Organization         Lds Bennion Heights 6Th Ward                           Bennion Utah Stake                     5775 S 2700 W                                             Salt Lake City, UT 84118                                                         First Class Mail
Chartered Organization         Lds Bennion Heights Ward                               Bennion Ut W Stake                     3555 W 5620 S                                             Taylorsville, UT 84129                                                           First Class Mail
Chartered Organization         Lds Bennion Ward/Bennion Ut East Stk                   Great Salt Lake Council 590            5980 S 1300 W                                             Taylorsville, UT 84123                                                           First Class Mail
Chartered Organization         Lds Benson Hill Ward Renton Stake                      Chief Seattle Council 609              19714 106th Ave Se                                        Renton, WA 98055‐7315                                                            First Class Mail
Chartered Organization         Lds Benson Mill Ward                                   Stansbury Park Ut Stake                417 Benson Rd                                             Stansbury Park, UT 84074‐9050                                                    First Class Mail
Chartered Organization         Lds Benton City 1St Ward                               W Richland Stake                       P.O. Box 614                                              Benton City, WA 99320‐0614                                                       First Class Mail
Chartered Organization         Lds Bentonville 1St Ward                               Bentonville Stake                      1101 Mccollum Dr                                          Bentonville, AR 72712‐9115                                                       First Class Mail
Chartered Organization         Lds Bentonville Ward 1 Rogers Stake                    Westark Area Council 016               1101 Mccollum Dr                                          Bentonville, AR 72712‐9115                                                       First Class Mail
Chartered Organization         Lds Bentonville Ward 2 Rogers Stake                    Westark Area Council 016               1101 Mccollum Dr                                          Bentonville, AR 72712‐9115                                                       First Class Mail
Chartered Organization         Lds Berkeley Ward ‐ Oakland Stake                      Mt Diablo‐Silverado Council 023        1501 Walnut St                                            Berkeley, CA 94709‐1512                                                          First Class Mail
Chartered Organization         Lds Berkshire Ward S Bakersfield Stake                 Southern Sierra Council 030            2801 S Real Rd                                            Bakersfield, CA 93309‐6040                                                       First Class Mail
Chartered Organization         Lds Bermuda Dunes Ward ‐ Palm Desert Stake             California Inland Empire Council 045   72960 Parkview Dr                                         Palm Desert, CA 92260‐9357                                                       First Class Mail
Chartered Organization         Lds Bermuda Ward Warm Springs Stake                    Las Vegas Area Council 328             9270 S Maryland Pkwy                                      Las Vegas, NV 89123‐3147                                                         First Class Mail
Chartered Organization         Lds Bernal Ward ‐ Morgan Hill Stake                    Silicon Valley Monterey Bay 055        150 Bernal Rd                                             San Jose, CA 95119‐1304                                                          First Class Mail
Chartered Organization         Lds Bernalillo Ward Abq North Stake                    Great Swest Council 412                P.O. Box 1279                                             Bernalillo, NM 87004‐1279                                                        First Class Mail
Chartered Organization         Lds Bernina Ward/Bennion Ut West Stk                   Great Salt Lake Council 590            3045 W Bernina Dr                                         Taylorsville, UT 84129                                                           First Class Mail
Chartered Organization         Lds Berryessa Ward ‐ San Jose Stake                    Silicon Valley Monterey Bay 055        3110 Cropley Ave                                          San Jose, CA 95132‐3546                                                          First Class Mail
Chartered Organization         Lds Berryville Ward                                    Winchester, Va Stake                   399 Apple Pie Ridge Rd                                    Winchester, VA 22603                                                             First Class Mail
Chartered Organization         Lds Bessemer Ward                                      Bessemer Alabama Stake                 831 Briarwood Dr                                          Bessemer, AL 35022                                                               First Class Mail
Chartered Organization         Lds Bethany Home Ward ‐ Phoenix Az                     North Stake                            313 W Berridge Ln                                         Phoenix, AZ 85013‐1546                                                           First Class Mail
Chartered Organization         Lds Bethany Ward Cedar Mill Stake                      Cascade Pacific Council 492            955 NW 173rd Ave                                          Beaverton, OR 97006‐4008                                                         First Class Mail
Chartered Organization         Lds Bethel Branch‐Chugach Stake                        Great Alaska Council 610               P.O. Box 1757                                             Bethel, AK 99559‐1757                                                            First Class Mail
Chartered Organization         Lds Bethesda Ward Washington Dc Stake                  National Capital Area Council 082      11700 Falls Rd                                            Potomac, MD 20854‐2823                                                           First Class Mail
Chartered Organization         Lds Bethlehem Ward Pa Reading Stake                    Minsi Trails Council 502               1881 Van Buren Dr                                         Whitehall, PA 18052‐4167                                                         First Class Mail
Chartered Organization         Lds Beverly Park Ward Lynnwood Stake                   Mount Baker Council, Bsa 606           11001 Harbour Pointe Blvd                                 Mukilteo, WA 98275                                                               First Class Mail
Chartered Organization         Lds Beverly Ward ‐ Mesa Az Maricopa Stk                Grand Canyon Council 010               1054 W 2Nd Pl                                             Mesa, AZ 85201‐6307                                                              First Class Mail
Chartered Organization         Lds Bible Park Ward ‐ Denver Stake                     Denver Area Council 061                2710 S Monaco Pkwy                                        Denver, CO 80222‐7119                                                            First Class Mail
Chartered Organization         Lds Bible Park Ward, Denver Stake                      Denver Area Council 061                2710 S Monaco Pkwy                                        Denver, CO 80222‐7119                                                            First Class Mail
Chartered Organization         Lds Big Bear Ward ‐ Apple Valley Stake                 California Inland Empire Council 045   P.O. Box 2038                                             Big Bear City, CA 92314‐2038                                                     First Class Mail
Chartered Organization         Lds Big Canyon Ward                                    Stansbury Park Ut Stake                1366 Canyon Rd                                            Lake Point, UT 84074                                                             First Class Mail
Chartered Organization         Lds Big Lake Ward ‐ Wasilla Stake                      Great Alaska Council 610               821 E Dellwood St                                         Wasilla, AK 99654‐6443                                                           First Class Mail
Chartered Organization         Lds Big Spring Ward                                    Buffalo Trail Council 567              P.O. Box 3825                                             Big Spring, TX 79721‐3825                                                        First Class Mail
Chartered Organization         Lds Big Timber Bozeman Stake                           Montana Council 315                    1110 E 2nd Ave                                            Big Timber, MT 59011                                                             First Class Mail
Chartered Organization         Lds Big Timber, Bozeman Stake                          Montana Council 315                    P.O. Box 346                                              Big Timber, MT 59011‐0346                                                        First Class Mail
Chartered Organization         Lds Bigfork Ward, Kalispell Stake                      Montana Council 315                    East Shore 121                                            Crestview Dr                      Big Fork, MT 59911                             First Class Mail
Chartered Organization         Lds Billerica Ward Nashua Stake                        The Spirit of Adventure 227            70 Concord Rd                                             Billerica, MA 01821‐2504                                                         First Class Mail
Chartered Organization         Lds Biltmore Ward ‐ Phoenix Az East Stk                Grand Canyon Council 010               1835 E Missouri Ave                                       Phoenix, AZ 85016‐3021                                                           First Class Mail
Chartered Organization         Lds Binghamton Ward Owego Stake                        Baden‐Powell Council 368               305 Murray Hill Rd                                        Vestal, NY 13850‐3617                                                            First Class Mail
Chartered Organization         Lds Birch Hills Ward ‐ Placentia Stake                 Orange County Council 039              151 S Poplar Ave                                          Brea, CA 92821‐5057                                                              First Class Mail
Chartered Organization         Lds Birdseye Ward                                      Utah National Parks 591                8000E 36500N                                              Indianola, UT 84629                                                              First Class Mail
Chartered Organization         Lds Birmingam Ward Birmingham Stake                    Greater Alabama Council 001            1337 Springville Rd                                       Birmingham, AL 35215‐6517                                                        First Class Mail
Chartered Organization         Lds Birmingham Vestavia Hills Ward                     Greater Alabama Council 001            2768 Altadena Rd                                          Vestavia, AL 35243‐4507                                                          First Class Mail
Chartered Organization         Lds Bitner Ranch Ward/Park City Ut Stk                 Great Salt Lake Council 590            3010 Saddleback Rd                                        Park City, UT 84098                                                              First Class Mail
Chartered Organization         Lds Bitteroot Ward‐Boise Central Stk                   Ore‐Ida Council 106 ‐ Bsa 106          1111 S Cole Rd                                            Boise, ID 83709‐1869                                                             First Class Mail
Chartered Organization         Lds Black Canyon Ward ‐ Glendale Az Stk                Grand Canyon Council 010               8602 N 31St Ave                                           Phoenix, AZ 85051‐3924                                                           First Class Mail
Chartered Organization         Lds Black Canyon Ward ‐ Silver Creek Az                Stake                                  P.O. Box 424                                              Heber, AZ 85928‐0424                                                             First Class Mail
Chartered Organization         Lds Black Canyon Ward Eldorado Stake                   Las Vegas Area Council 328             916 5th St                                                Boulder City, NV 89005‐3706                                                      First Class Mail
Chartered Organization         Lds Black Canyon Ward/Montrose Stake                   Denver Area Council 061                1521 S Hillcrest Dr                                       Montrose, CO 81401‐4462                                                          First Class Mail
Chartered Organization         Lds Black Forest Ward‐High Plains Stake                Pikes Peak Council 060                 6950 Shoup Rd                                             Colorado Springs, CO 80908                                                       First Class Mail
Chartered Organization         Lds Black Hills Ward                                   Black Hills Area Council 695 695       2822 Canyon Lake Dr                                       Rapid City, SD 57702‐8112                                                        First Class Mail
Chartered Organization         Lds Black Hills Ward ‐ Cottonwood Az Stk               Grand Canyon Council 010               1377 E Hombre Dr                                          Cottonwood, AZ 86326‐4825                                                        First Class Mail
Chartered Organization         Lds Black Mtn Ward                                     Hend Nv Black Mtn Stake                400 S Water St                                            Henderson, NV 89015‐5301                                                         First Class Mail
Chartered Organization         Lds Blackfoot East Stake                               Blkft 11th Ward                        520 N Shilling Ave                                        Blackfoot, ID 83221‐2337                                                         First Class Mail
Chartered Organization         Lds Blackfoot East Stake                               Blkft 2nd Ward                         660 Teton Rd                                              Blackfoot, ID 83221‐3474                                                         First Class Mail
Chartered Organization         Lds Blackfoot East Stake                               Blkft 6th Ward                         660 Teton Rd                                              Blackfoot, ID 83221‐3474                                                         First Class Mail
Chartered Organization         Lds Blackfoot East Stake                               Blkft 12th Ward                        1289 Mount Putnam Dr                                      Blackfoot, ID 83221‐3547                                                         First Class Mail
Chartered Organization         Lds Blackfoot East Stake                               Blkft 9th Ward                         1289 Mount Putnam Dr                                      Blackfoot, ID 83221‐3547                                                         First Class Mail
Chartered Organization         Lds Blackfoot East Stk ‐ Blkft 15Th Ward               Grand Teton Council 107                1650 Highland Dr                                          Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot S Stake ‐Pioneer Br                      Grand Teton Council 107                845 Grant St                                              Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot South Stake                              Blkft 10th Ward                        900 Riverton Rd                                           Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot South Stake                              Blkft 14th Ward                        900 Riverton Rd                                           Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot South Stake                              Blkft 3rd Ward                         845 Grant St                                              Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot South Stake                              Groveland 1st Ward                     155 N 380 W                                               Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot South Stake                              Groveland 2nd Ward                     155 N 380 W                                               Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot South Stake                              Riverton Ward                          701 W 300 S                                               Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot Stake ‐ Blkft 13Th Ward                  Grand Teton Council 107                1650 Highland Dr                                          Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot Stake ‐ Blkft 1St Ward                   Grand Teton Council 107                187 N Ash St                                              Blackfoot, ID 83221‐2202                                                         First Class Mail
Chartered Organization         Lds Blackfoot Stake ‐ Blkft 7Th Ward                   Grand Teton Council 107                1650 Highland Dr                                          Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot Stake ‐ Rose 1St Ward                    Grand Teton Council 107                403 N 150 W                                               Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot Stake ‐ Rose 2Nd Ward                    Grand Teton Council 107                403 N 150 W                                               Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot Stake ‐ Rose 3Rd Ward                    Grand Teton Council 107                403 N 150 W                                               Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot Stake ‐ Wapello 1St Ward                 Grand Teton Council 107                303 N 200 E                                               Blackfoot, ID 83221‐5961                                                         First Class Mail
Chartered Organization         Lds Blackfoot Stake ‐ Wapello 2Nd Ward                 Grand Teton Council 107                337 N 200 E                                               Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot West Stake                               Moreland 2nd Ward                      101 N 900 W                                               Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot West Stake                               Thomas 1st Ward                        101 N 900 W                                               Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot West Stake                               Thomas 2nd Ward                        101 N 900 W                                               Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot West Stake                               Thomas 3rd Ward                        1059 W 100 S                                              Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blackfoot West Stake                               Thomas 6th Ward                        930 W Hwy 39                                              Blackfoot, ID 83221‐5306                                                         First Class Mail
Chartered Organization         Lds Blackfoot West Stake                               Thomas 4th Ward                        122 S 800 W                                               Blackfoot, ID 83221‐6132                                                         First Class Mail
Chartered Organization         Lds Blackfoot West Stake                               Pingree 2nd Ward                       1533 W Hwy 39                                             Pingree, ID 83262                                                                First Class Mail
Chartered Organization         Lds Blackfoot West Stake                               Pingree 1st Ward                       402 S 1100 W                                              Pingree, ID 83262‐1314                                                           First Class Mail
Chartered Organization         Lds Blaine Ward Bellingham Stake                       Mount Baker Council, Bsa 606           9355 Sunrise Rd                                           Blaine, WA 98230‐9476                                                            First Class Mail
Chartered Organization         Lds Blair Branch Omaha Stake                           Mid‐America Council 326                2703 Sunrise Dr                                           Blair, NE 68008‐4009                                                             First Class Mail
Chartered Organization         Lds Blanchard Ward Norman Stake                        Last Frontier Council 480              117 W Blanchard Dr                                        Blanchard, OK 73010                                                              First Class Mail
Chartered Organization         Lds Blanding Eighth Ward                               Utah National Parks 591                200 S Main St                                             Blanding, UT 84511                                                               First Class Mail
Chartered Organization         Lds Blanding Fifth Ward                                Utah National Parks 591                255 E 200 N                                               Blanding, UT 84511                                                               First Class Mail
Chartered Organization         Lds Blanding First Ward                                Utah National Parks 591                200 N Main St                                             Blanding, UT 84511‐3600                                                          First Class Mail
Chartered Organization         Lds Blanding Second Ward                               Utah National Parks 591                100 W 800 N                                               Blanding, UT 84511                                                               First Class Mail
Chartered Organization         Lds Blanding Seventh Ward                              Utah National Parks 591                255 E 200 N                                               Blanding, UT 84511                                                               First Class Mail
Chartered Organization         Lds Blanding Sixth Ward                                Utah National Parks 591                94 N 100 W                                                Blanding, UT 84511‐3610                                                          First Class Mail
Chartered Organization         Lds Blanding Third Ward                                Utah National Parks 591                100 W 800 N                                               Blanding, UT 84511                                                               First Class Mail
Chartered Organization         Lds Blkft Northwest Stake                              Moreland 1st Ward                      740 W 175 N                                               Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blkft Northwest Stake                              Moreland 3rd Ward                      95 N 740 W                                                Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blkft Northwest Stake                              Moreland 4th Ward                      740 W 175 N                                               Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blkft Northwest Stake                              Moreland 5th Ward                      175 N 740 W                                               Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blkft Northwest Stake                              Moreland 6th Ward                      75 N 740 W                                                Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blkft Northwest Stake                              Riverside 1st Ward                     7 N 700 W                                                 Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blkft Northwest Stake                              Riverside 2nd Ward                     7 N 700 W                                                 Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blkft Northwest Stake                              Riverside 3rd Ward                     7 N 700 W                                                 Blackfoot, ID 83221                                                              First Class Mail
Chartered Organization         Lds Blodgett Canyon Ward                               Stevensville Stake                     401 S 8th St                                              Hamilton, MT 59840‐2637                                                          First Class Mail
Chartered Organization         Lds Bloomfield Hills Ward                              Bloomfield Hills Stake                 37425 Woodward Ave                                        Bloomfield Hills, MI 48304‐5002                                                  First Class Mail
Chartered Organization         Lds Bloomingdale Ward ‐ Schaumburg Stake               Three Fires Council 127                270 Knollwood Dr                                          Bloomingdale, IL 60108‐2208                                                      First Class Mail
Chartered Organization         Lds Bloomington Eighth Ward                            Utah National Parks 591                3381 Mulberry Dr                                          St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Bloomington Fifth Ward                             Utah National Parks 591                200 W Brigham Rd                                          St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Bloomington First Ward                             Utah National Parks 591                321 Damascus Dr                                           St George, UT 84790‐7419                                                         First Class Mail
Chartered Organization         Lds Bloomington Fourth Ward                            Utah National Parks 591                3381 Mulberry Dr                                          St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Bloomington Hills Eighth Ward                      Utah National Parks 591                1222 E Brigham Rd                                         St George, UT 84790‐6534                                                         First Class Mail
Chartered Organization         Lds Bloomington Hills Fifth Ward                       Utah National Parks 591                1130 E Brigham Rd                                         St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Bloomington Hills First Ward                       Utah National Parks 591                1130 E Brigham Rd                                         St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Bloomington Hills Fourth Ward                      Utah National Parks 591                750 E Fort Pierce Dr N                                    St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Bloomington Hills Second Ward                      Utah National Parks 591                750 E Fort Pierce Dr N                                    St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Bloomington Hills Sixth Ward                       Utah National Parks 591                442 Calla Cir                                             St George, UT 84790‐8310                                                         First Class Mail
Chartered Organization         Lds Bloomington Hills Tenth Ward                       Utah National Parks 591                1222 E Brigham Rd                                         St George, UT 84790‐6534                                                         First Class Mail
Chartered Organization         Lds Bloomington Hills Third Ward                       Utah National Parks 591                1222 E Brigham Rd                                         St George, UT 84790‐6534                                                         First Class Mail
Chartered Organization         Lds Bloomington Second Ward                            Utah National Parks 591                200 W Brigham Rd                                          St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Bloomington Seventh Ward                           Utah National Parks 591                3519 Manzanita Rd                                         St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Bloomington Sixth Ward                             Utah National Parks 591                3381 Mulberry Dr                                          St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Bloomington Third Ward                             Utah National Parks 591                3519 Manzanita Rd                                         Saint George, UT 84790                                                           First Class Mail
Chartered Organization         Lds Blossom Valley Ward                                San Jose South Stake                   5700 Comanche Dr                                          San Jose, CA 95123‐3227                                                          First Class Mail
Chartered Organization         Lds Blue Creek Ward, Billings Stake                    Montana Council 315                    3595 Monad Rd                                             Billings, MT 59102‐6081                                                          First Class Mail
Chartered Organization         Lds Blue Grass Ward ‐ Lexington Stake                  Blue Grass Council 204                 1789 Tates Creek Rd                                       Lexington, KY 40502‐2763                                                         First Class Mail
Chartered Organization         Lds Blue Hills Ward                                    Utah National Parks 591                35 W 200 N                                                Ferron, UT 84523‐4518                                                            First Class Mail
Chartered Organization         Lds Blue Lagoon Ward                                   South Florida Council 084              5291 Nw 1St St                                            Miami, FL 33126‐5023                                                             First Class Mail
Chartered Organization         Lds Blue Lake Ward Gresham Stake                       Cascade Pacific Council 492            P.O. Box 471                                              Gresham, OR 97030‐0092                                                           First Class Mail
Chartered Organization         Lds Blue Meadows Ward‐Boise Amity Stk                  Ore‐Ida Council 106 ‐ Bsa 106          5795 S Five Mile Rd                                       Boise, ID 83709                                                                  First Class Mail
Chartered Organization         Lds Blue Mills Ward Warrensburg Stake                  Heart of America Council 307           705 W Walnut St                                           Independence, MO 64050‐3643                                                      First Class Mail
Chartered Organization         Lds Blue Springs 1St Ward Kcmo Stake                   Heart of America Council 307           1416 SW 19th St                                           Blue Springs, MO 64015                                                           First Class Mail
Chartered Organization         Lds Blue Springs 2Nd Ward Indep Stake                  Heart of America Council 307           1416 SW 19th St                                           Blue Springs, MO 64015                                                           First Class Mail
Chartered Organization         Lds Blue Water Ward‐Grand Blanc Stake                  Water and Woods Council 782            1990 N River Rd                                           Saint Clair, MI 48079                                                            First Class Mail
Chartered Organization         Lds Bluebell Ward                                      Utah National Parks 591                P.O. Box 649                                              Bluebell, UT 84007‐0049                                                          First Class Mail
Chartered Organization         Lds Bluff Branch                                       Utah National Parks 591                1372 N Blue Mountain Rd                                   Blanding, UT 84511‐2201                                                          First Class Mail
Chartered Organization         Lds Bluff Ridge Ward                                   Syracuse South Stake                   535 W 2700 S                                              Syracuse, UT 84075                                                               First Class Mail
Chartered Organization         Lds Bluffdale 10Th Ward                                Bluffdale Ut S Stake                   14662 S 3200 W                                            Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Bluffdale 11Th Ward/Bluffdale Ut Stk               Great Salt Lake Council 590            14200 S Redwood Rd                                        Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Bluffdale 12Th Ward                                Bluffdale Utah Stake                   14400 S Redwood Rd                                        Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Bluffdale 13Th Ward                                Bluffdale Ut S Stake                   15429 S Iron Horse Blvd                                   Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Bluffdale 14Th Ward                                Bluffdale Ut S Stake                   1600 W 15000 S                                            Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Bluffdale 15Th Ward                                Bluffdale Ut S Stake                   14600 S 3200 W                                            Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Bluffdale 1St Ward                                 Bluffdale Ut S Stake                   15429 S Iron Horse Blvd                                   Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Bluffdale 2Nd Ward/Bluffdale Ut Stk                Great Salt Lake Council 590            13911 S 1950 W                                            Bluffdale, UT 84065‐5338                                                         First Class Mail
Chartered Organization         Lds Bluffdale 3Rd Ward/Bluffdale Ut Stk                Great Salt Lake Council 590            2742 W 14400 S                                            Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Bluffdale 4Th Ward/Bluffdale Ut Stk                Great Salt Lake Council 590            14400 S Redwood Rd                                        Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Bluffdale 5Th Ward                                 Bluffdale Ut S Stake                   15000 S Mountainside Dr                                   Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Bluffdale 6Th Ward/Bluffdale Ut Stk                Great Salt Lake Council 590            2742 W 14400 S                                            Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Bluffdale 7Th Ward/Bluffdale Ut Stk                Great Salt Lake Council 590            2742 W 14400 S                                            Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Bluffdale 8Th Ward                                 Bluffdale Ut S Stake                   2742 W 14400 S                                            Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Bluffdale 9Th Ward                                 Bluffdale Ut S Stake                   14650 S 3200 W                                            Bluffdale, UT 84065                                                              First Class Mail
Chartered Organization         Lds Blythe Ward Lake Havasu City Stake                 California Inland Empire Council 045   700 N Broadway                                            Blythe, CA 92225‐1271                                                            First Class Mail
Chartered Organization         Lds Blythewood Ward                                    Indian Waters Council 553              1391 Centerville Rd                                       Ridgeway, SC 29130                                                               First Class Mail
Chartered Organization         Lds Bntfl East Stake 11 Yr Old Scouts                  Bntfl Ut East Stake                    650 E 2150 S                                              Bountiful, UT 84010                                                              First Class Mail
Chartered Organization         Lds Bntfl Shadows Ward                                 Bntfl Ut Stone Creek Stake             1476 N 300 W                                              Bountiful, UT 84010                                                              First Class Mail
Chartered Organization         Lds Boardman Ward ‐ Hermiston Stake                    Blue Mountain Council 604              68749 Wilson Ln                                           Boardman, OR 97818‐9603                                                          First Class Mail
Chartered Organization         Lds Boca Raton Ward Pompano Bch Stake                  Gulf Stream Council 085                1530 W Camino Real                                        Boca Raton, FL 33486‐8455                                                        First Class Mail
Chartered Organization         Lds Boeckman Creek Ward                                Lake Oswego Stake                      11063 SW Matzen Dr                                        Wilsonville, OR 97070‐8573                                                       First Class Mail
Chartered Organization         Lds Boerne Ward ‐ La Cantera Stake                     Alamo Area Council 583                 130 N Someday Dr                                          Boerne, TX 78006‐7006                                                            First Class Mail
Chartered Organization         Lds Boiling Spgs Ward                                  Greenville, SC E Stake                 3691 Clark Rd                                             Boiling Springs, SC 29316                                                        First Class Mail
Chartered Organization         Lds Boise 13Th Ward‐Boise Stk                          Ore‐Ida Council 106 ‐ Bsa 106          3229 N Bogus Basin Rd                                     Boise, ID 83702                                                                  First Class Mail
Chartered Organization         Lds Boise 1St Ward‐Boise E Stk                         Ore‐Ida Council 106 ‐ Bsa 106          2290 E Warm Springs Ave                                   Boise, ID 83712‐8429                                                             First Class Mail
Chartered Organization         Lds Boise 6Th Ward‐Boise E Stk                         Ore‐Ida Council 106 ‐ Bsa 106          1925 S Broadway Ave                                       Boise, ID 83706‐4201                                                             First Class Mail
Chartered Organization         Lds Boise Hillside Ward‐Boise Stk                      Ore‐Ida Council 106 ‐ Bsa 106          3701 N Woody Dr                                           Boise, ID 83703‐4642                                                             First Class Mail
Chartered Organization         Lds Bolingbrook Ward ‐ Joliet Stake                    Three Fires Council 127                7201 Woodridge Dr                                         Woodridge, IL 60517‐2238                                                         First Class Mail
Chartered Organization         Lds Bolivar Ward ‐ Springfield Stake                   Ozark Trails Council 306               1575 Mt Gilead Rd                                         Bolivar, MO 65613                                                                First Class Mail
Chartered Organization         Lds Bonanza Ward Las Vegas Stake                       Las Vegas Area Council 328             4500 W Bonanza Rd                                         Las Vegas, NV 89107‐2135                                                         First Class Mail
Chartered Organization         Lds Bonds Ranch Ward ‐ Alliance Stake                  Longhorn Council 662                   500 W Bonds Ranch Rd                                      Fort Worth, TX 76131                                                             First Class Mail
Chartered Organization         Lds Bonita Springs Ward Fort Myers Stake               Southwest Florida Council 088          20601 Three Oaks Pkwy                                     Estero, FL 33928‐3083                                                            First Class Mail
Chartered Organization         Lds Bonners Ferry Ward ‐ Sandpoint Stake               Inland Nwest Council 611               1512 Alderson Ln                                          Bonners Ferry, ID 83805                                                          First Class Mail
Chartered Organization         Lds Bonneville 1St Ward                                S L Bonneville Stake                   1535 Bonneview Dr                                         Salt Lake City, UT 84105                                                         First Class Mail
Chartered Organization         Lds Bonneville 2Nd Ward                                S L Bonneville Stake                   1535 Bonneview Dr                                         Salt Lake City, UT 84105                                                         First Class Mail
Chartered Organization         Lds Bonneville Eighth Branch (Hospital)                Utah National Parks 591                1300 E Center St                                          Provo, UT 84606‐3554                                                             First Class Mail
Chartered Organization         Lds Bonneville Eleventh Ward                           Utah National Parks 591                833 E 1090 S                                              Provo, UT 84606‐5603                                                             First Class Mail
Chartered Organization         Lds Bonneville Fifth Ward                              Utah National Parks 591                951 E 200 N                                               Provo, UT 84606‐3542                                                             First Class Mail
Chartered Organization         Lds Bonneville First Ward                              Utah National Parks 591                85 S 900 E                                                Provo, UT 84606‐5143                                                             First Class Mail
Chartered Organization         Lds Bonneville Fourth Ward                             Utah National Parks 591                1289 E 300 S                                              Provo, UT 84606‐5154                                                             First Class Mail
Chartered Organization         Lds Bonneville Second Ward                             Utah National Parks 591                1289 E 300 S                                              Provo, UT 84606‐5154                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                    Page 196 of 442
                                                                                  Case 20-10343-LSS                                  Doc 8171                                   Filed 01/06/22                                                       Page 212 of 457
                                                                                                                                                                   Exhibit B
                                                                                                                                                                    Service List
                                                                                                                                                             Served as set forth below

        Description                                                        Name                                                                                  Address                                                                                                         Email              Method of Service
Chartered Organization         Lds Bonneville Seventh Ward (Spanish)                     Utah National Parks 591                1086 S 950 E, Apt 215                                  Provo, UT 84606‐7137                                                                              First Class Mail
Chartered Organization         Lds Bonneville Sixth Ward                                 Utah National Parks 591                123 S 600 E                                            Provo, UT 84606‐4757                                                                              First Class Mail
Chartered Organization         Lds Bonneville Tenth Ward                                 Utah National Parks 591                1498 E 800 S                                           Provo, UT 84606                                                                                   First Class Mail
Chartered Organization         Lds Bonneville Third Ward                                 Utah National Parks 591                557 E 400 S                                            Provo, UT 84606‐4733                                                                              First Class Mail
Chartered Organization         Lds Bonneville Thirteenth                                 Utah National Parks 591                1498 E 800 S                                           Provo, UT 84606                                                                                   First Class Mail
Chartered Organization         Lds Bonneville Twelfth                                    Utah National Parks 591                715 S Utah Ave                                         Provo, UT 84606                                                                                   First Class Mail
Chartered Organization         Lds Bookcliff Ward/Gj West Stake                          Denver Area Council 061                2542 G Rd                                              Grand Junction, CO 81505‐9522                                                                     First Class Mail
Chartered Organization         Lds Borger Ward Amarillo Tx Stake                         Golden Spread Council 562              1314 Roosevelt St                                      Borger, TX 79007                                                                                  First Class Mail
Chartered Organization         Lds Boston 1St Ward Boston Stake                          Mayflower Council 251                  79 Mount Hope St                                       Roslindale, MA 02131‐3829                                                                         First Class Mail
Chartered Organization         Lds Bothell Ward Bothell Stake                            Chief Seattle Council 609              19215 88th Ave Ne                                      Bothell, WA 98011‐2128                                                                            First Class Mail
Chartered Organization         Lds Boulder Creek Ward ‐ Mesa Az                          Boulder Creek Stake                    3025 S Hawes Rd                                        Mesa, AZ 85212‐1594                                                                               First Class Mail
Chartered Organization         Lds Boulder Mountain Ward ‐ Mesa Az                       Flat Iron Stake                        10036 E Brown Rd                                       Mesa, AZ 85207                                                                                    First Class Mail
Chartered Organization         Lds Boulder Springs Ward Kingman Stake                    Las Vegas Area Council 328             610 Eern Ave                                           Kingman, AZ 86401                                                                                 First Class Mail
Chartered Organization         Lds Boulder Ward                                          Utah National Parks 591                P.O. Box 1324                                          Boulder, UT 84716‐1324                                                                            First Class Mail
Chartered Organization         Lds Bountiful 10Th Ward                                   Bntfl Ut N Stake                       1145 N 200 E                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 11Th Ward                                   Bntfl Ut East Stake                    115 E Wicker Ln                                        Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 12Th Ward                                   Bntfl Ut Stone Creek Stake             1476 N 300 W                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 13Th Ward                                   Bntfl Ut N Stake                       1365 N 650 E                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 14Th Ward                                   Bntfl Ut S Stake                       1500 S 600 E                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 15Th Ward                                   Bntfl Ut S Stake                       1250 S Main St                                         Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 16Th Ward                                   Bntfl Ut Heights Stake                 720 E 550 N                                            Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 17Th Ward                                   Bntfl Ut East Stake                    600 E 2150 S                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 18Th Ward                                   Bntfl Ut Heights Stake                 165 S 1000 E                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 19Th Ward                                   Bntfl Ut N Stake                       1500 N 400 E                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 1St Ward/Bountiful Ut Stk                   Great Salt Lake Council 590            55 N Main St                                           Bountiful, UT 84010‐6197                                                                          First Class Mail
Chartered Organization         Lds Bountiful 20Th Ward                                   Bntfl Ut S Stake                       102 E 1400 S                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 21St Ward                                   Bntfl Ut East Stake                    115 E Wicker Ln                                        Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 22Nd Ward                                   Bntfl Ut Stone Creek Stake             990 N Chaple Dr                                        Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 23Rd Ward                                   Bntfl Ut East Stake                    650 E 2150 S                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 24Th Ward                                   Bntfl Ut Heights Stake                 720 E 550 N                                            Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 25Th Ward                                   Bntfl Ut S Stake                       1500 S 600 E                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 26Th Ward/Bountiful Ut Stk                  Great Salt Lake Council 590            200 N 200 W                                            Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 27Th Ward                                   Bntfl Ut N Stake                       1145 N 200 E                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 28Th Ward                                   Bntfl Ut East Stake                    2029 Penman Ln                                         Bountiful, UT 84010‐5519                                                                          First Class Mail
Chartered Organization         Lds Bountiful 2Nd Ward                                    Bntfl Ut Central Stake                 650 S 200 E                                            Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 30Th Ward                                   Bntfl Ut East Stake                    2016 S 700 E                                           Bountiful, UT 84010‐4206                                                                          First Class Mail
Chartered Organization         Lds Bountiful 31St Ward/Bountiful Ut Stk                  Great Salt Lake Council 590            585 E Center St                                        Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 33Rd Ward/Bountiful Ut Stk                  Great Salt Lake Council 590            55 N Main St                                           Bountiful, UT 84010‐6197                                                                          First Class Mail
Chartered Organization         Lds Bountiful 34Th Ward                                   Bntfl Ut Heights Stake                 540 N 1200 E                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 36Th Ward                                   Bntfl Ut S Stake                       102 E 1400 S                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 37Th Ward                                   Bntfl Ut N Stake                       1500 N 400 E                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 39Th Ward                                   Bntfl Ut S Stake                       1500 S 600 E                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 3Rd Ward/Bountiful Ut Stk                   Great Salt Lake Council 590            55 N Main St                                           Bountiful, UT 84010‐6197                                                                          First Class Mail
Chartered Organization         Lds Bountiful 41St Ward                                   Bntfl Ut Heights Stake                 33 S Moss Hill Dr                                      Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 43Rd Ward                                   Bntfl Ut Stone Creek Stake             912 N 275 W                                            Bountiful, UT 84010‐6886                                                                          First Class Mail
Chartered Organization         Lds Bountiful 45Th Ward                                   Bntfl Ut East Stake                    115 E Wicker Ln                                        Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 4Th Ward                                    Bntfl Ut S Stake                       102 E 1400 S                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 50Th Ward                                   Bntfl Ut Heights Stake                 33 S Moss Hill Dr                                      Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 53Rd Ward                                   Bntfl Ut N Stake                       1350 N 650 E                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 54Th Ward                                   Bntfl Ut Heights Stake                 540 N 1200 E                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 58Th Ward/Bountiful Ut Stk                  Great Salt Lake Council 590            200 N 200 W                                            Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 5Th Ward                                    Bntfl Ut Stone Creek Stake             1000 N 100 W                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 6Th Ward (Tongan)                           Sl Ut Stake (Tongan)                   1335 W 1500 S                                          Woods Cross, UT 84087                                                                             First Class Mail
Chartered Organization         Lds Bountiful 7Th Ward                                    Bntfl Ut S Stake                       1250 S Main St                                         Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful 9Th Ward/Bountiful Ut Stk                   Great Salt Lake Council 590            585 E Center St                                        Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful Hills Ward                                  Bntfl Ut Central Stake                 1190 Bountiful Hills Dr                                Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bountiful Ut Val Verda Stake                          Great Salt Lake Council 590            2651 S 500 W                                           Bountiful, UT 84010                                                                               First Class Mail
Chartered Organization         Lds Bourdon Ranch Ward ‐ Silver Creek Az                  Stake                                  P.O. Box 824                                           Taylor, AZ 85939‐0824                                                                             First Class Mail
Chartered Organization         Lds Bowie Ward Suitland Stake                             National Capital Area Council 082      16621 Sylvan Dr                                        Bowie, MD 20715‐4360                                                                              First Class Mail
Chartered Organization         Lds Bowles Grove Ward, Littleton Stake                    Denver Area Council 061                910 W Ridge Rd                                         Littleton, CO 80120                                                                               First Class Mail
Chartered Organization         Lds Bowman Ward                                           Hawkeye Area Council 172               4150 Blue Jay Dr Ne                                    Cedar Rapids, IA 52402‐4798                                                                       First Class Mail
Chartered Organization         Lds Bozeman 1St Ward, Bozeman Stake                       Montana Council 315                    2915 Colter Ave                                        Bozeman, MT 59715‐6142                                                                            First Class Mail
Chartered Organization         Lds Bozeman 2Nd Ward, Bozeman Stake                       Montana Council 315                    2915 Colter Ave                                        Bozeman, MT 59715‐6142                                                                            First Class Mail
Chartered Organization         Lds Bozeman 3Rd Ward, Bozeman Stake                       Montana Council 315                    2915 Colter Ave                                        Bozeman, MT 59715‐6142                                                                            First Class Mail
Chartered Organization         Lds Braddock Heights Ward                                 Frederick Stake                        199 North Pl                                           Frederick, MD 21701‐6277                                                                          First Class Mail
Chartered Organization         Lds Bradenton Ward Sarasota Stake                         Southwest Florida Council 088          3400 Cortez Rd W                                       Bradenton, FL 34210‐3101                                                                          First Class Mail
Chartered Organization         Lds Bradshaw Ward ‐ Prescott Az Stk                       Grand Canyon Council 010               124 S Arizona Ave                                      Prescott, AZ 86303‐4402                                                                           First Class Mail
Chartered Organization         Lds Brainerd Ward                                         Central Minnesota 296                  101 Buffalo Hills Ln W                                 Brainerd, MN 56401‐5509                                                                           First Class Mail
Chartered Organization         Lds Brambleton Ward Ashburn Stake                         National Capital Area Council 082      22425 Belle Terra Dr                                   Ashburn, VA 20148‐7160                                                                            First Class Mail
Chartered Organization         Lds Branch Shekou                                         Far E Council 803                      66 Jing Shan Villas                                    Shekou,                             China                                                         First Class Mail
Chartered Organization         Lds Brandenburg Ward                                      Lincoln Heritage Council 205           1423 Old Ekron Rd                                      Brandenburg, KY 40108                                                                             First Class Mail
Chartered Organization         Lds Brandenburg Ward                                      Lincoln Heritage Council 205           1423 Old Ekron Rd                                      Brandenburg, KY 40108                                                                             First Class Mail
Chartered Organization         Lds Branham Ward ‐ South San Jose Stake                   Silicon Valley Monterey Bay 055        6625 Camden Ave                                        San Jose, CA 95120‐1914                                                                           First Class Mail
Chartered Organization         Lds Branson W Ward ‐ Spgfield S Stake                     Ozark Trails Council 306               9113 W Hwy 76                                          Branson West, MO 65737                                                                            First Class Mail
Chartered Organization         Lds Branson Ward 1‐Spgfield S Stake                       Ozark Trails Council 306               224 Church Rd                                          Branson, MO 65616                                                                                 First Class Mail
Chartered Organization         Lds Branson Ward 2‐Spgfield S Stake                       Ozark Trails Council 306               224 Church Rd                                          Branson, MO 65616                                                                                 First Class Mail
Chartered Organization         Lds Braun Heights Ward ‐ West Stake                       Alamo Area Council 583                 7100 Wilder St                                         San Antonio, TX 78250                                                                             First Class Mail
Chartered Organization         Lds Brayton Ward ‐ Anchorage Stake                        Great Alaska Council 610               13120 Sues Way                                         Anchorage, AK 99516‐2640                                                                          First Class Mail
Chartered Organization         Lds Brea Hills Ward ‐ Placentia Stake                     Orange County Council 039              151 S Poplar Ave                                       Brea, CA 92821‐5057                                                                               First Class Mail
Chartered Organization         Lds Bremerton Ward Bremerton Stake                        Chief Seattle Council 609              2225 Perry Ave                                         Bremerton, WA 98310‐5135                                                                          First Class Mail
Chartered Organization         Lds Brenham Ward                                          College Station Stake                  1400 Niebuhr St                                        Brenham, TX 77833‐5032                                                                            First Class Mail
Chartered Organization         Lds Brenner Pass Ward ‐ Qc Az South Stk                   Grand Canyon Council 010               32584 N Gary Rd                                        Queen Creek, AZ 85142                                                                             First Class Mail
Chartered Organization         Lds Brentwood 1St Ward ‐ Antioch Stake                    Mt Diablo‐Silverado Council 023        1101 Mcclarren Rd                                      Brentwood, CA 94513‐1414                                                                          First Class Mail
Chartered Organization         Lds Brentwood 2Nd Ward ‐ Antioch Stake                    Mt Diablo‐Silverado Council 023        1875 Highland Way                                      Brentwood, CA 94513‐5832                                                                          First Class Mail
Chartered Organization         Lds Brentwood 3Rd Ward ‐ Antioch Stake                    Mt Diablo‐Silverado Council 023        1101 Mcclarren Rd                                      Brentwood, CA 94513‐1414                                                                          First Class Mail
Chartered Organization         Lds Brentwood Ward ‐ Victorville Stake                    California Inland Empire Council 045   P.O. Box 888                                           Helendale, CA 92342‐0888                                                                          First Class Mail
Chartered Organization         Lds Briargate Ward‐East Stake                             Pikes Peak Council 060                 3620 Windjammer Dr                                     Colorado Springs, CO 80920‐4435                                                                   First Class Mail
Chartered Organization         Lds Briarwood Ward/Centerville Ut Stk                     Great Salt Lake Council 590            950 N Main St                                          Centerville, UT 84014                                                                             First Class Mail
Chartered Organization         Lds Briarwood Ward/S L Granger Stake                      Great Salt Lake Council 590            3751 S 2200 W                                          Salt Lake City, UT 84119‐3834                                                                     First Class Mail
Chartered Organization         Lds Brickyard Ward/S L Grant Stk                          Great Salt Lake Council 590            1111 E Charlton Ave                                    Salt Lake City, UT 84106                                                                          First Class Mail
Chartered Organization         Lds Bridgecreek Ward                                      Layton South Stake                     628 S Angel St                                         Layton, UT 84041                                                                                  First Class Mail
Chartered Organization         Lds Bridgeland Ward                                       Utah National Parks 591                Hc 64 Box 155‐2                                        Duchesne, UT 84021                                                                                First Class Mail
Chartered Organization         Lds Bridgeport Ward New Haven Stake                       Connecticut Yankee Council Bsa 072     30 Bonnie View Dr                                      Trumbull, CT 06611‐4773                                                                           First Class Mail
Chartered Organization         Lds ‐Bridger Pass /Laramie Stake                          Longs Peak Council 062                 1121 High St                                           Rawlins, WY 82301‐4638                                                                            First Class Mail
Chartered Organization         Lds Bridgerland Park 1St Ward                             Cache Stake                            825 N 200 W                                            Logan, UT 84321                                                                                   First Class Mail
Chartered Organization         Lds Bridgerland Park 3Rd Ward                             Cache Stake                            280 W 1200 N                                           Logan, UT 84341‐6836                                                                              First Class Mail
Chartered Organization         Lds Bridgeside Ward                                       Taylorsville Ut Stake                  1023 W Meadow Hollow Cv                                Taylorsville, UT 84123‐6732                                                                       First Class Mail
Chartered Organization         Lds Bridgeton Br Cherry Hill Nj Stake                     Garden State Council 690               75 N Laurel St                                         Bridgeton, NJ 08302‐1917                                                                          First Class Mail
Chartered Organization         Lds Bridgetower Ward                                      Lds Mcmillan Ward, Settlers Park Stk   2515 W Ustick Rd                                       Meridian, ID 83646                                                                                First Class Mail
Chartered Organization         Lds Bridle Gate Ward                                      Utah National Parks 591                3047 E 2890 South Cir                                  Saint George, UT 84790‐1222                                                                       First Class Mail
Chartered Organization         Lds Bridlegate Ward ‐ Gilbert Az                          Highland E Stake                       3627 E Indigo Bay Ct                                   Gilbert, AZ 85234‐0026                                                                            First Class Mail
Chartered Organization         Lds Bridlewood Ward                                       Bountiful Ut Orchard Stake             65 Monarch Dr                                          Bountiful, UT 84010‐8062                                                                          First Class Mail
Chartered Organization         Lds Brigham City 10Th Ward                                Brigham City South Stake               Trapper Trails 589                                     528 S 300 W                         Brigham City S               Brigham City, UT 84302           First Class Mail
Chartered Organization         Lds Brigham City 11Th Ward                                Trapper Trails 589                     Box Elder Stake                                        Brigham City, UT 84302                                                                            First Class Mail
Chartered Organization         Lds Brigham City 12Th Ward                                Brigham City Stake                     Trapper Trails 589                                     139 E 300 N                         Brigham City Utah Stake      Brigham City, UT 84302           First Class Mail
Chartered Organization         Lds Brigham City 13Th Ward                                Brigham City Stake                     25 N 300 E                                             Brigham City, UT 84302‐2213                                                                       First Class Mail
Chartered Organization         Lds Brigham City 14Th Ward                                Brigham City Stake                     650 Anderson Dr                                        Brigham City, UT 84302‐1623                                                                       First Class Mail
Chartered Organization         Lds Brigham City 15Th Ward                                Brigham West Stake                     203 N 200 W                                            Brigham City, UT 84302‐2027                                                                       First Class Mail
Chartered Organization         Lds Brigham City 16Th Ward                                Brigham City South Stake               145 W 500 S                                            Brigham City, UT 84302                                                                            First Class Mail
Chartered Organization         Lds Brigham City 17Th Ward                                Brigham City Stake                     139 E 300 N                                            Brigham City, UT 84302‐1829                                                                       First Class Mail
Chartered Organization         Lds Brigham City 18Th Ward                                Brigham City West Stake                895 N 625 W                                            Brigham City, UT 84302                                                                            First Class Mail
Chartered Organization         Lds Brigham City 19Th Ward                                Brigham City South Stake               105 Fishburn Dr                                        Brigham City, UT 84302‐3347                                                                       First Class Mail
Chartered Organization         Lds Brigham City 1St Ward                                 Trapper Trails 589                     Box Elder Stake                                        Brigham City, UT 84302                                                                            First Class Mail
Chartered Organization         Lds Brigham City 20Th Ward                                Brigham City Stake                     650 Anderson Dr                                        Brigham City, UT 84302‐1623                                                                       First Class Mail
Chartered Organization         Lds Brigham City 21St Ward                                Brigham South Stake                    865 S 300 W                                            Brigham City, UT 84302‐3374                                                                       First Class Mail
Chartered Organization         Lds Brigham City 22Nd Ward                                Brigham City West Stake                895 N 625 W                                            Brigham City, UT 84302                                                                            First Class Mail
Chartered Organization         Lds Brigham City 23Rd Ward                                Brigham City N Stake                   811 N 500 E                                            Brigham City, UT 84302‐1354                                                                       First Class Mail
Chartered Organization         Lds Brigham City 24Th Ward                                Brigham City Stake                     650 Anderson Dr                                        Brigham City, UT 84302‐1623                                                                       First Class Mail
Chartered Organization         Lds Brigham City 25Th Ward                                Brigham City South Stake               865 S 300 W                                            Brigham City, UT 84302‐3374                                                                       First Class Mail
Chartered Organization         Lds Brigham City 26 Ward                                  Brigham City South Stake               865 S 300 W                                            Brigham City, UT 84302‐3374                                                                       First Class Mail
Chartered Organization         Lds Brigham City 2Nd Ward                                 Trapper Trails 589                     Box Elder Stake                                        Brigham City, UT 84302                                                                            First Class Mail
Chartered Organization         Lds Brigham City 3Rd Ward                                 Brigham City West Stake                203 N 200 W                                            Brigham City, UT 84302‐2027                                                                       First Class Mail
Chartered Organization         Lds Brigham City 4Th Ward                                 Brigham City Stake                     25 N 300 E                                             Brigham City, UT 84302‐2213                                                                       First Class Mail
Chartered Organization         Lds Brigham City 5Th Ward                                 Trapper Trails 589                     Box Elder Stake                                        Brigham City, UT 84302                                                                            First Class Mail
Chartered Organization         Lds Brigham City 6Th Ward                                 Brigham City South Stake               105 Fishburn Dr                                        Brigham City, UT 84302‐3347                                                                       First Class Mail
Chartered Organization         Lds Brigham City 7Th Ward                                 Brigham City West Stake                Trapper Trails 589                                     531 N 100 W                         Brigham W Stake              Brigham City, UT 84302           First Class Mail
Chartered Organization         Lds Brigham City 8Th Ward                                 Brigham City Stake                     139 E 300 N                                            Brigham City, UT 84302‐1829                                                                       First Class Mail
Chartered Organization         Lds Brigham City 9Th Ward                                 Trapper Trails 589                     Box Elder Stake                                        Brigham City, UT 84302                                                                            First Class Mail
Chartered Organization         Lds Brigham City River Ward                               Brigham City West Stake                531 N 100 W                                            Brigham City, UT 84302‐1847                                                                       First Class Mail
Chartered Organization         Lds Brigham City Ward ‐ Winslow Az Stk                    Grand Canyon Council 010               221 W Hillview St                                      Winslow, AZ 86047‐2621                                                                            First Class Mail
Chartered Organization         Lds Brigham Willows                                       Brigham West Stake                     895 N 625 W                                            Brigham City, UT 84302                                                                            First Class Mail
Chartered Organization         Lds Brighton 1St Ward/S L Brighton Stk                    Great Salt Lake Council 590            2925 E Bengal Blvd                                     Salt Lake City, UT 84121‐5302                                                                     First Class Mail
Chartered Organization         Lds Brighton 2Nd Ward/S L Brighton Stk                    Great Salt Lake Council 590            2925 E Bengal Blvd                                     Cottonwood Heights, UT 84121‐5302                                                                 First Class Mail
Chartered Organization         Lds Brighton 3Rd Ward/S L Brighton Stk                    Great Salt Lake Council 590            2301 E Bengal Blvd                                     Salt Lake City, UT 84121                                                                          First Class Mail
Chartered Organization         Lds Brighton 4Th Ward                                     Salt Lake Brighton Stake               2895 E Creek Rd                                        Cottonwood Heights, UT 84121                                                                      First Class Mail
Chartered Organization         Lds Brighton 5Th Ward/S L Brighton Stk                    Great Salt Lake Council 590            2301 E Bengal Blvd                                     Salt Lake City, UT 84121                                                                          First Class Mail
Chartered Organization         Lds Brighton 6Th Ward/S L Brighton Stk                    Great Salt Lake Council 590            2925 E Bengal Blvd                                     Cottonwood Heights, UT 84121‐5302                                                                 First Class Mail
Chartered Organization         Lds Brighton 7Th Ward/S L Brighton Stk                    Great Salt Lake Council 590            2895 E Creek Rd                                        Sandy, UT 84093                                                                                   First Class Mail
Chartered Organization         Lds Brighton Point Ward/S L Butler Stk                    Great Salt Lake Council 590            3455 E Bengal Blvd                                     Salt Lake City, UT 84121                                                                          First Class Mail
Chartered Organization         Lds Brighton Ward ‐ Ann Arbor Stake                       Southern Shores Fsc 783                1041 W Grand River Ave                                 Howell, MI 48843‐1464                                                                             First Class Mail
Chartered Organization         Lds Brighton Ward ‐ Gilbert Az                            Highland E Stake                       3572 E Guadalupe Rd                                    Gilbert, AZ 85234                                                                                 First Class Mail
Chartered Organization         Lds Brighton Ward Cordova Stake                           Golden Empire Council 047              9009 Trujillo Way                                      Sacramento, CA 95826‐4138                                                                         First Class Mail
Chartered Organization         Lds Brighton Ward, Brighton Stake                         Denver Area Council 061                1454 Myrtle St                                         Brighton, CO 80601‐1922                                                                           First Class Mail
Chartered Organization         Lds Brimhall Ward ‐ Mesa Az Clearview Stk                 Grand Canyon Council 010               1249 S 48Th St                                         Mesa, AZ 85206‐2770                                                                               First Class Mail
Chartered Organization         Lds Brimhall Ward, Bakersfield Stake                      Southern Sierra Council 030            601 Deseret Way                                        Bakersfield, CA 93309‐1232                                                                        First Class Mail
Chartered Organization         Lds Bristol Heights Ward‐Mer N Stk                        Ore‐Ida Council 106 ‐ Bsa 106          6375 N Royal Park                                      Boise, ID 83713                                                                                   First Class Mail
Chartered Organization         Lds Bristol Ward                                          Sequoyah Council 713                   13 Heritage Dr                                         Bristol, VA 24201‐1959                                                                            First Class Mail
Chartered Organization         Lds Bristol Ward ‐ Santa Ana So Stake                     Orange County Council 039              2500 N Bristol St                                      Santa Ana, CA 92706‐1409                                                                          First Class Mail
Chartered Organization         Lds Bristol Ward, Panama City, Fl Stake                   Suwannee River Area Council 664        10587 Nw Azalea St                                     Bristol, FL 32321‐3313                                                                            First Class Mail
Chartered Organization         Lds Bristow Ward Woodbridge Stake                         National Capital Area Council 082      5750 Websters Way                                      Manassas, VA 20112‐3490                                                                           First Class Mail
Chartered Organization         Lds Broadlands Ward, Westminster Stake                    Denver Area Council 061                1250 Main St                                           Broomfield, CO 80020‐2932                                                                         First Class Mail
Chartered Organization         Lds Broadmoor Ward‐Colorado Spgs Stake                    Pikes Peak Council 060                 150 Pine Ave                                           Colorado Springs, CO 80906‐3333                                                                   First Class Mail
Chartered Organization         Lds Broadway 1St Ward                                     Houston East Stake                     3000 Broadway St                                       Houston, TX 77017‐2313                                                                            First Class Mail
Chartered Organization         Lds Broadway 2Nd Ward                                     Houston East Stake                     3000 Broadway St                                       Houston, TX 77017‐2313                                                                            First Class Mail
Chartered Organization         Lds Broadway Ward                                         Tooele Ut Valley View Stake            310 E 1000 N                                           Tooele, UT 84074‐9694                                                                             First Class Mail
Chartered Organization         Lds Brookfield Ward‐Milwaukee N Stake                     Potawatomi Area Council 651            755 Woelfel Rd                                         Brookfield, WI 53045‐5619                                                                         First Class Mail
Chartered Organization         Lds Brookhaven Ward                                       Utah National Parks 591                4202 Cloverpatch Way                                   Eagle Mountain, UT 84005‐5050                                                                     First Class Mail
Chartered Organization         Lds Brookhaven Ward                                       Kaysville East Stake                   190 N Country Ln                                       Fruit Heights, UT 84037‐2270                                                                      First Class Mail
Chartered Organization         Lds Brookhaven Ward/S L Hunter East Stk                   Great Salt Lake Council 590            4980 W 3285 S                                          West Valley City, UT 84120                                                                        First Class Mail
Chartered Organization         Lds Brookhollow Ward ‐ Tulsa Ok Stake                     Indian Nations Council 488             12110 E 7Th St                                         Tulsa, OK 74128‐3605                                                                              First Class Mail
Chartered Organization         Lds Brookhollow Ward‐Boise W Stk                          Ore‐Ida Council 106 ‐ Bsa 106          10700 W Bridgetower Dr                                 Boise, ID 83709‐0237                                                                              First Class Mail
Chartered Organization         Lds Brookhurst Ward                                       Centerville Ut N Stake                 1100 N 400 W                                           Centerville, UT 84014                                                                             First Class Mail
Chartered Organization         Lds Brookings Ward Coos Bay Stake                         Oregon Trail Council 697               P.O. Box 7196                                          Brookings, OR 97415‐0334                                                                          First Class Mail
Chartered Organization         Lds Brooklyn 2Nd Branch/ Brooklyn Stake                   Greater New York Councils, Bsa 640     110 Pennsylvania Ave                                   Brooklyn, NY 11207‐2427                                                                           First Class Mail
Chartered Organization         Lds Brooklyn 3Rd Ward/ Brooklyn Stake                     Greater New York Councils, Bsa 640     490A 7th Ave                                           Brooklyn, NY 11215                                                                                First Class Mail
Chartered Organization         Lds Brooks Farm Ward ‐ Chandler Az                        South Stake                            3617 E Kaibab Pl                                       Chandler, AZ 85249‐5483                                                                           First Class Mail
Chartered Organization         Lds Brookshire Ward/Bennion Ut East Stk                   Great Salt Lake Council 590            6596 S River Edge Ln                                   Murray, UT 84123‐6902                                                                             First Class Mail
Chartered Organization         Lds Brookshire Ward/S L Grant Stk                         Great Salt Lake Council 590            3487 S 1300 E                                          Salt Lake City, UT 84106‐2951                                                                     First Class Mail
Chartered Organization         Lds Brookside First Ward                                  Utah National Parks 591                952 W 1580 S                                           Payson, UT 84651                                                                                  First Class Mail
Chartered Organization         Lds Brookside Second (Payson)                             Utah National Parks 591                952 W 1580 S                                           Payson, UT 84651                                                                                  First Class Mail
Chartered Organization         Lds Brookside Ward Stockton Stake                         Greater Yosemite Council 059           6415 Brook Hollow Cir                                  Stockton, CA 95219‐2439                                                                           First Class Mail
Chartered Organization         Lds Brookvale Ward ‐ Hayward Stake                        San Francisco Bay Area Council 028     3551 Decoto Rd                                         Fremont, CA 94555‐3109                                                                            First Class Mail
Chartered Organization         Lds Brookwood Ward                                        Utah National Parks 591                7623 N Jimmy Ln                                        Eagle Mountain, UT 84005‐6526                                                                     First Class Mail
Chartered Organization         Lds Brookwood Ward Hillsboro Stake                        Cascade Pacific Council 492            2220 NE Jackson School Rd                              Hillsboro, OR 97124‐1658                                                                          First Class Mail
Chartered Organization         Lds Brookwood Ward/Rvrtn Ut North Stk                     Great Salt Lake Council 590            1900 W 11970 S                                         Riverton, UT 84065                                                                                First Class Mail
Chartered Organization         Lds Brownlee Shreveport Stake                             Norwela Council 215                    310 Wellington Dr                                      Bossier City, LA 71111                                                                            First Class Mail
Chartered Organization         Lds Brownlee Shreveport Stake                             Norwela Council 215                    310 Wellington Dr                                      Bossier City, LA 71111                                                                            First Class Mail
Chartered Organization         Lds Brownstown Ward ‐ Westland Stake                      Great Lakes Fsc 272                    18701 Grange Rd                                        Riverview, MI 48193                                                                               First Class Mail
Chartered Organization         Lds Brownsville Branch Lebanon Stake                      Cascade Pacific Council 492            1111 N Main St                                         Brownsville, OR 97327‐2201                                                                        First Class Mail
Chartered Organization         Lds Brownsville Ward Silverdale Stake                     Chief Seattle Council 609              14910 Central Valley Rd Nw                             Silverdale, WA 98383                                                                              First Class Mail
Chartered Organization         Lds Brunswick 1St & 2Nd Ward                              Kingsland Ga Stake                     3631 Community Rd                                      Brunswick, GA 31520‐2846                                                                          First Class Mail
Chartered Organization         Lds Brunswick Ward Frederick Stake                        National Capital Area Council 082      199 North Pl                                           Frederick, MD 21701‐6277                                                                          First Class Mail
Chartered Organization         Lds Brush Hills Ward Monmouth Stake                       Cascade Pacific Council 492            4420 Brush College Rd Nw                               Salem, OR 97304‐9501                                                                              First Class Mail
Chartered Organization         Lds Brush Prairie Ward Vancouver N Stake                  Cascade Pacific Council 492            11101 NE 119th St                                      Vancouver, WA 98662                                                                               First Class Mail
Chartered Organization         Lds Brushy Creek Ward                                     Round Rock, Tx Stake                   6002 Ronchamps Dr                                      Round Rock, TX 78681‐5330                                                                         First Class Mail
Chartered Organization         Lds Bryan 1St Ward                                        College Station Stake                  2800 Barak Ln                                          Bryan, TX 77802                                                                                   First Class Mail
Chartered Organization         Lds Bsa Ward                                              Stake Sycamores 7Th Ward               Wj Ut Sycamores Stake                                  Great Salt Lake Council 590         7580 W 7980 S                West Jordan, Ut 84084            First Class Mail
Chartered Organization         Lds Bttrfld Cyn 8Th Ward                                  Herriman Ut Bttrfld Cyn Stake          6719 W Valynn Dr                                       Herriman, UT 84096                                                                                First Class Mail
Chartered Organization         Lds Buckeye 1St Ward ‐ Buckeye Az Stk                     Grand Canyon Council 010               25800 W Southern Ave                                   Buckeye, AZ 85326                                                                                 First Class Mail
Chartered Organization         Lds Buckeye 2Nd Ward ‐ Buckeye Az Stk                     Grand Canyon Council 010               25800 W Southern Ave                                   Buckeye, AZ 85326                                                                                 First Class Mail
Chartered Organization         Lds Buckley 1St Ward Enumclaw Stake                       Chief Seattle Council 609              9226 225th Ave E                                       Buckley, WA 98321‐8513                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                    Page 197 of 442
                                                                                   Case 20-10343-LSS                                  Doc 8171                                    Filed 01/06/22                                                        Page 213 of 457
                                                                                                                                                                     Exhibit B
                                                                                                                                                                      Service List
                                                                                                                                                               Served as set forth below

        Description                                                         Name                                                                                   Address                                                                                                Email              Method of Service
Chartered Organization         Lds Buckley 2Nd Ward Enumclaw Stake                        Chief Seattle Council 609              1316 Ryan Rd                                            Buckley, WA 98321                                                                        First Class Mail
Chartered Organization         Lds Buckskin Canyon Ward ‐ Silver Creek Az                 Stake                                  P.O. Box 58                                             Heber, AZ 85928‐0058                                                                     First Class Mail
Chartered Organization         Lds Buda Ward, Kyle Stake                                  Capitol Area Council 564               3751 Trail Ridge Pass                                   San Marcos, TX 78666                                                                     First Class Mail
Chartered Organization         Lds Buena Park 3Rd Ward ‐ Santa Ana So Stk                 Orange County Council 039              2137 W Fir Ave                                          Anaheim, CA 92801‐3436                                                                   First Class Mail
Chartered Organization         Lds Buena Park Ward ‐ Cypress Stake                        Orange County Council 039              7600 Crescent Ave                                       Buena Park, CA 90620‐3946                                                                First Class Mail
Chartered Organization         Lds Buena Ventura Branch                                   Riverdale Stake                        2115 Jefferson Ave                                      Ogden, UT 84401                                                                          First Class Mail
Chartered Organization         Lds Buena Vista Branch                                     North Logan Stake                      2750 N 800 E                                            Logan, UT 84341‐1506                                                                     First Class Mail
Chartered Organization         Lds Buena Vista Branch (Spanish)                           Sl Pioneer Stake                       Great Salt Lake Council 590                             Emery St 500 S                      Salt Lake City, Ut 84104                             First Class Mail
Chartered Organization         Lds Buena Vista Ward                                       W.L.A.C.C. 051                         8525 Glenoaks Blvd                                      Sun Valley, CA 91352‐3524                                                                First Class Mail
Chartered Organization         Lds Buffalo Grove 1St Ward                                 Buffalo Grove Stake                    3075 N Buffalo Grove Rd                                 Buffalo Grove, IL 60089‐6317                                                             First Class Mail
Chartered Organization         Lds Buffalo Grove 2Nd Ward                                 Buffalo Grove Stake                    3075 N Buffalo Grove Rd                                 Buffalo Grove, IL 60089‐6317                                                             First Class Mail
Chartered Organization         Lds Buffalo Ridge Ward                                     Legacy Park Stake                      2500 S Bluff Rd                                         Syracuse, UT 84075                                                                       First Class Mail
Chartered Organization         Lds Buffalo Ridge Ward ‐ Phoenix Az                        Deer Valley Stake                      2939 W Rose Garden Ln                                   Phoenix, AZ 85027‐3153                                                                   First Class Mail
Chartered Organization         Lds Buffalo Run Ward, Brighton Stake                       Denver Area Council 061                1205 S 27th Ave                                         Brighton, CO 80601‐2601                                                                  First Class Mail
Chartered Organization         Lds Buffalo Ward Springfield Stake                         Ozark Trails Council 306               1551 E Mt Gilead Rd                                     Bolivar, MO 65613                                                                        First Class Mail
Chartered Organization         Lds Buffalo Ward, Gillette Stake                           Greater Wyoming Council 638            470 W Munkres St                                        Buffalo, WY 82834                                                                        First Class Mail
Chartered Organization         Lds Buffalo Ward, Gillette Stake                           Greater Wyoming Council 638            504 W Fetterman St, Unit 2                              Buffalo, WY 82834‐1861                                                                   First Class Mail
Chartered Organization         Lds Bull Mountain Ward Tualatin Stake                      Cascade Pacific Council 492            11944 SW Aspen Ridge Dr                                 Tigard, OR 97224‐2562                                                                    First Class Mail
Chartered Organization         Lds Bullard Ward                                           East Texas Area Council 585            23000 Cr 145                                            Bullard, TX 75757                                                                        First Class Mail
Chartered Organization         Lds Bulverde Ward‐Hill Country Stake                       Alamo Area Council 583                 26108 Phillips Pl                                       San Antonio, TX 78260‐2417                                                               First Class Mail
Chartered Organization         Lds Bumby Orlando South                                    Central Florida Council 083            4020 S Bumby Ave                                        Orlando, FL 32806‐7209                                                                   First Class Mail
Chartered Organization         Lds Buna Ward ‐ Beaumont Stake                             Three Rivers Council 578               P.O. Box 1090                                           Buna, TX 77612‐1090                                                                      First Class Mail
Chartered Organization         Lds Bunkerville 1St Ward Mesquite Stake                    Utah National Parks 591                P.O. Box 7210                                           Bunkerville, NV 89007‐0210                                                               First Class Mail
Chartered Organization         Lds Bunkerville 2Nd Ward Mesquite Stake                    Utah National Parks 591                P.O. Box 7225                                           Bunkerville, NV 89007‐0225                                                               First Class Mail
Chartered Organization         Lds Bunnell Deland                                         Central Florida Council 083            5404 County Rd 304                                      Bunnell, FL 32110‐5808                                                                   First Class Mail
Chartered Organization         Lds Burbank 1St Ward                                       Verdugo Hills Council 058              136 N Sunset Canyon Dr                                  Burbank, CA 91501‐1101                                                                   First Class Mail
Chartered Organization         Lds Burbank 2Nd Ward‐No Hollywood Stake                    Verdugo Hills Council 058              136 N Sunset Canyon Dr                                  Burbank, CA 91501‐1101                                                                   First Class Mail
Chartered Organization         Lds Burbank 3Rd Ward                                       Verdugo Hills Council 058              136 N Sunset Canyon Dr                                  Burbank, CA 91501‐1101                                                                   First Class Mail
Chartered Organization         Lds Burch Creek 1St Ward                                   Burch Creek Stake                      5161 S 1300 E                                           Ogden, UT 84403                                                                          First Class Mail
Chartered Organization         Lds Burch Creek 2Nd Ward                                   Burch Creek Stake                      5161 S 1300 E                                           Ogden, UT 84403                                                                          First Class Mail
Chartered Organization         Lds Burch Creek 3Rd Ward                                   Burch Creek Stake                      5161 S 1300 E                                           South Ogden, UT 84403                                                                    First Class Mail
Chartered Organization         Lds Burch Creek 4Th Ward                                   Burch Creek Stake                      4955 Adams Ave                                          South Ogden, UT 84403                                                                    First Class Mail
Chartered Organization         Lds Burch Creek 5Th Ward                                   Burch Creek Stake                      4955 Adams Ave                                          Ogden, UT 84403                                                                          First Class Mail
Chartered Organization         Lds Burch Creek 6Th Ward                                   Burch Creek Stake                      3680 Eccles Ave                                         Ogden, UT 84403                                                                          First Class Mail
Chartered Organization         Lds Burch Creek 7Th Ward                                   Burch Creek Stake                      3680 Eccles Ave                                         Ogden, UT 84403                                                                          First Class Mail
Chartered Organization         Lds Burien Ward Seattle Stake                              Chief Seattle Council 609              14022 Ambaum Blvd Sw                                    Burien, WA 98166‐1254                                                                    First Class Mail
Chartered Organization         Lds Burke Lane Ward                                        Farmington Ut W Stake                  2230 S 350 E                                            Farmington, UT 84025                                                                     First Class Mail
Chartered Organization         Lds Burke Ward Annandale Stake                             National Capital Area Council 082      6942 Sydenstricker Rd                                   Springfield, VA 22152‐2739                                                               First Class Mail
Chartered Organization         Lds Burleson Ward ‐ Burleson Stake                         Longhorn Council 662                   390 Fm 731                                              Burleson, TX 76082                                                                       First Class Mail
Chartered Organization         Lds Burleson Ward ‐ Fort Worth Stake                       Longhorn Council 662                   5001 Altamesa Blvd                                      Fort Worth, TX 76133‐6001                                                                First Class Mail
Chartered Organization         Lds Burlington 1St Ward, Cody Stake                        Greater Wyoming Council 638            P.O. Box 153                                            Burlington, WY 82411‐0153                                                                First Class Mail
Chartered Organization         Lds Burlington 2Nd Ward, Cody Stake                        Greater Wyoming Council 638            P.O. Box 151                                            Burlington, WY 82411‐0151                                                                First Class Mail
Chartered Organization         Lds Burlington Branch                                      Santa Fe Trail Council 194             1200 N 15Th Ave                                         Burlington, CO 80807                                                                     First Class Mail
Chartered Organization         Lds Burlington Branch‐Topeka Stake                         Jayhawk Area Council 197               518 Jason St                                            Burlington, KS 66839                                                                     First Class Mail
Chartered Organization         Lds Burlington Ward                                        Montpelier Vermont Stake               400 Swift St                                            South Burlington, VT 05403‐7415                                                          First Class Mail
Chartered Organization         Lds Burns Ward‐Bend Stk                                    Ore‐Ida Council 106 ‐ Bsa 106          P.O. Box 673                                            Hines, OR 97738‐0673                                                                     First Class Mail
Chartered Organization         Lds Burnt Hickory Ward                                     Atlanta Area Council 092               4680 Hadaway Rd Nw                                      Kennesaw, GA 30152‐5418                                                                  First Class Mail
Chartered Organization         Lds Butler 10Th Ward/S L Butler West Stk                   Great Salt Lake Council 590            6600 S Greenfield Way                                   Salt Lake City, UT 84121                                                                 First Class Mail
Chartered Organization         Lds Butler 11Th Ward/S L Butler West Stk                   Great Salt Lake Council 590            1845 E 7200 S                                           Salt Lake City, UT 84121‐4860                                                            First Class Mail
Chartered Organization         Lds Butler 18Th Ward/S L Butler West Stk                   Great Salt Lake Council 590            6634 S Greenfield Way                                   Salt Lake City, UT 84121                                                                 First Class Mail
Chartered Organization         Lds Butler 20Th Ward/S L Butler West Stk                   Great Salt Lake Council 590            1355 E 7200 S                                           Cottonwood Heights, UT 84121‐4757                                                        First Class Mail
Chartered Organization         Lds Butler 27Th Ward/S L Butler West Stk                   Great Salt Lake Council 590            1845 E 7200 S                                           Salt Lake City, UT 84121‐4860                                                            First Class Mail
Chartered Organization         Lds Butler 33Rd Ward/S L Butler West Stk                   Great Salt Lake Council 590            1845 E 7200 S                                           Salt Lake City, UT 84121‐4860                                                            First Class Mail
Chartered Organization         Lds Butler 4Th Ward/S L Butler West Stk                    Great Salt Lake Council 590            6600 S Greenfield Way                                   Cottonwood Heights, UT 84121                                                             First Class Mail
Chartered Organization         Lds Butler 7Th Ward/S L Butler West Stk                    Great Salt Lake Council 590            1355 E 7200 S                                           Salt Lake City, UT 84121‐4757                                                            First Class Mail
Chartered Organization         Lds Butler Creek Ward                                      Gresham Oregon Stake                   3600 SE 182nd Ave                                       Gresham, OR 97030                                                                        First Class Mail
Chartered Organization         Lds Butler Hill Ward/S L Butler Stk                        Great Salt Lake Council 590            2695 E 7000 S                                           Salt Lake City, UT 84121                                                                 First Class Mail
Chartered Organization         Lds Butler Ward ‐ Pittsburgh Pa North                      Moraine Trails Council 500             365 Sawmill Run Rd                                      Butler, PA 16001‐8679                                                                    First Class Mail
Chartered Organization         Lds Butte 1St Ward, Butte Stake                            Montana Council 315                    3701 Augusta Ave                                        Butte, MT 59701‐4305                                                                     First Class Mail
Chartered Organization         Lds Butte 2Nd Ward, Butte Stake                            Montana Council 315                    3000 Four Mile Rd                                       Butte, MT 59701‐7101                                                                     First Class Mail
Chartered Organization         Lds Butte Ward ‐ Hermiston Stake                           Blue Mountain Council 604              850 Sw 11Th St                                          Hermiston, OR 97838                                                                      First Class Mail
Chartered Organization         Lds Butte Ward‐Emmett Stk                                  Ore‐Ida Council 106 ‐ Bsa 106          908 W Central Rd                                        Emmett, ID 83617                                                                         First Class Mail
Chartered Organization         Lds Buttercup Ward/Sandy Ut East Stk                       Great Salt Lake Council 590            1600 Buttercup Dr                                       Sandy, UT 84092                                                                          First Class Mail
Chartered Organization         Lds Butterfield Canyon 10Th Ward                           Hrrmn Ut Bttrfid Cyn Stake             13768 S 6400 W                                          Herriman, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Butterfield Canyon 12Th Ward                           Herriman Ut Butterfield Cyn Stake      6719 W Valynn Dr                                        Herriman, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Butterfield Cyn 11Th Ward                              Herriman Ut Butterfield Cyn Stake      6719 W Valynn Dr                                        Herriman, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Butterfield Cyn 1St Ward                               Hrrmn Ut Btrfld Cyn Stake              6719 W Valynn Dr                                        Herriman, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Butterfield Cyn 2Nd Ward                               Hrrmn Ut Bttrfld Cyn Stake             14398 S 6400 W                                          Herriman, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Butterfield Cyn 3Rd Ward                               Hrrmn Ut Bttrfld Cyn Stake             6547 W Cora B Ln                                        Herriman, UT 84096‐6738                                                                  First Class Mail
Chartered Organization         Lds Butterfield Cyn 4Th Ward                               Hrrmn Ut Bttrfld Cyn Stake             6986 Mccuiston Ave                                      Herriman, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Butterfield Cyn 5Th Ward                               Hrrmn Ut Bttrfld Cyn Stake             6986 W Mccuiston Ave                                    Herriman, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Butterfield Cyn 6Th Ward                               Hrrmn Ut Bttrfld Cyn Stake             13768 S 6400 W                                          Herriman, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Butterfield Cyn 7Th Ward                               Hrrmn Ut Bttrfld Cyn Stake             6986 Mccuiston Ave                                      Herriman, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Butterfield Stage Ward                                 Temecula Stake                         32374 Pauba Rd                                          Temecula, CA 92592                                                                       First Class Mail
Chartered Organization         Lds Butterfield Ward ‐ Maricopa Az Stk                     Grand Canyon Council 010               20565 Dr Horton Dr                                      Maricopa, AZ 85138                                                                       First Class Mail
Chartered Organization         Lds Byrd Spring Ward, Huntsville Stake                     Greater Alabama Council 001            2110 Byrd Spring Rd Sw                                  Huntsville, AL 35802‐2146                                                                First Class Mail
Chartered Organization         Lds Byron Ward, Lovell Stake                               Greater Wyoming Council 638            220 Main                                                Byron, WY 82412                                                                          First Class Mail
Chartered Organization         Lds Cabezon Ward Alb Rr Stake                              Great Swest Council 412                2807 Cabezon Blvd Se                                    Rio Rancho, NM 87124‐1747                                                                First Class Mail
Chartered Organization         Lds Cactus Lane Ward ‐ Surprise Az                         West Stake                             15880 W Cactus Rd                                       Surprise, AZ 85379                                                                       First Class Mail
Chartered Organization         Lds Cactus View Ward ‐ Phoenix Az                          Deer Valley Stake                      220 W Grovers Ave                                       Phoenix, AZ 85023                                                                        First Class Mail
Chartered Organization         Lds Cactus Ward South Stake                                Las Vegas Area Council 328             7979 Mountains Edge Pkwy                                Las Vegas, NV 89178                                                                      First Class Mail
Chartered Organization         Lds Cahill Ward                                            Utah National Parks 591                463 W Cimarron Ave                                      Saratoga Springs, UT 84045‐6535                                                          First Class Mail
Chartered Organization         Lds Caldwell 10Th Ward‐Caldwell Stk                        Ore‐Ida Council 106 ‐ Bsa 106          3015 S Kimball Ave                                      Caldwell, ID 83605                                                                       First Class Mail
Chartered Organization         Lds Caldwell 11Th Ward‐Caldwell Stk                        Ore‐Ida Council 106 ‐ Bsa 106          15782 Farmway Rd                                        Caldwell, ID 83607                                                                       First Class Mail
Chartered Organization         Lds Caldwell 12Th Ward ‐ Caldwell E Stk                    Ore‐Ida Council 106 ‐ Bsa 106          16972 Gardner Ave                                       Caldwell, ID 83607‐5121                                                                  First Class Mail
Chartered Organization         Lds Caldwell 14Th Ward ‐ Caldwell E Stk                    Ore‐Ida Council 106 ‐ Bsa 106          11981 Sandpiper Ct                                      Caldwell, ID 83605‐8132                                                                  First Class Mail
Chartered Organization         Lds Caldwell 15Th Ward‐Caldwell E Stk                      Ore‐Ida Council 106 ‐ Bsa 106          19772 Adirondack Way                                    Caldwell, ID 83605‐8077                                                                  First Class Mail
Chartered Organization         Lds Caldwell 16Th Ward‐ Caldwell Stake                     Ore‐Ida Council 106 ‐ Bsa 106          3015 S Kimball Ave                                      Caldwell, ID 83605                                                                       First Class Mail
Chartered Organization         Lds Caldwell 1St Ward‐Caldwell Stk                         Ore‐Ida Council 106 ‐ Bsa 106          Caldwell, ID 83605                                                                                                                               First Class Mail
Chartered Organization         Lds Caldwell 2Nd Ward‐Caldwell E Stk                       Ore‐Ida Council 106 ‐ Bsa 106          4509 S Montana Ave                                      Caldwell, ID 83607                                                                       First Class Mail
Chartered Organization         Lds Caldwell 3Rd Ward‐Caldwell E Stk                       Ore‐Ida Council 106 ‐ Bsa 106          4509 S Montana Ave                                      Caldwell, ID 83607                                                                       First Class Mail
Chartered Organization         Lds Caldwell 4Th Ward‐Caldwell Stk                         Ore‐Ida Council 106 ‐ Bsa 106          3015 S Kimball Ave                                      Caldwell, ID 83605                                                                       First Class Mail
Chartered Organization         Lds Caldwell 5Th Ward‐Caldwell E Stk                       Ore‐Ida Council 106 ‐ Bsa 106          18486 Middleton Rd                                      Nampa, ID 83687‐8030                                                                     First Class Mail
Chartered Organization         Lds Caldwell 6Th Ward‐Caldwell Stk                         Ore‐Ida Council 106 ‐ Bsa 106          3015 S Kimball                                          Caldwell, ID 83605                                                                       First Class Mail
Chartered Organization         Lds Caldwell 8Th Ward‐Caldwell E Stk                       Ore‐Ida Council 106 ‐ Bsa 106          1510 N Plateau Ave                                      Caldwell, ID 83605‐2227                                                                  First Class Mail
Chartered Organization         Lds Caldwell 9Th Ward‐Caldwell E Stk                       Ore‐Ida Council 106 ‐ Bsa 106          4509 S Montana Ave                                      Caldwell, ID 83607                                                                       First Class Mail
Chartered Organization         Lds Caldwell Ward Caldwell Stake                           Northern New Jersey Council, Bsa 333   209 Mountain Ave                                        North Caldwell, NJ 07006                                                                 First Class Mail
Chartered Organization         Lds Calhan Ward‐High Plains Stake                          Pikes Peak Council 060                 895 Monument St                                         Calhan, CO 80808‐8663                                                                    First Class Mail
Chartered Organization         Lds Calico Ridge Ward                                      Hend Lake Mead Stake                   152 Rolling Cove Ave                                    Henderson, NV 89011‐0882                                                                 First Class Mail
Chartered Organization         Lds Caliente Ward                                          Utah National Parks 591                P.O. Box 756                                            Caliente, NV 89008‐0756                                                                  First Class Mail
Chartered Organization         Lds California Oaks Ward ‐ Murrieta Stake                  California Inland Empire Council 045   24820 Las Brisas Rd                                     Murrieta, CA 92562‐4066                                                                  First Class Mail
Chartered Organization         Lds Callao Ward                                            Utah National Parks 591                Hc 61 Box 430                                           Trout Creek                         Wendover, UT 84083                                   First Class Mail
Chartered Organization         Lds Calvert City Branch                                    Lincoln Heritage Council 205           10540 US Hwy 62                                         Calvert City, KY 42029‐9023                                                              First Class Mail
Chartered Organization         Lds Calvert Ward Suitland Stake                            National Capital Area Council 082      50 Clyde Jones Rd                                       Sunderland, MD 20754                                                                     First Class Mail
Chartered Organization         Lds Camano Island Ward Mt Vernon Stake                     Mount Baker Council, Bsa 606           1345 Ell Rd                                             Camano Island, WA 98282                                                                  First Class Mail
Chartered Organization         Lds Cambria Ward ‐ Stv Az North Stk                        Grand Canyon Council 010               22424 S Meridian Rd                                     Queen Creek, AZ 85142                                                                    First Class Mail
Chartered Organization         Lds Cambrian Park Ward                                     South San Jose Stake                   1655 Noreen Dr                                          San Jose, CA 95124‐3830                                                                  First Class Mail
Chartered Organization         Lds Cambridge Ward                                         Utah National Parks 591                275 S 1400 E                                            Spanish Fork, UT 84660                                                                   First Class Mail
Chartered Organization         Lds Cambridge Ward Cambridge Stake                         Mayflower Council 251                  65 Binney St                                            Cambridge, MA 02142‐1510                                                                 First Class Mail
Chartered Organization         Lds Cambridge Ward‐Weiser Stk                              Ore‐Ida Council 106 ‐ Bsa 106          Rt 1                                                    Cambridge, ID 83610                                                                      First Class Mail
Chartered Organization         Lds Camden Ward ‐ Dover De Stake                           Del Mar Va 081                         237 W Lebanon Rd                                        Dover, DE 19901                                                                          First Class Mail
Chartered Organization         Lds Camelot Park Ward/W J Ut East Stk                      Great Salt Lake Council 590            7255 S 2200 W                                           West Jordan, UT 84084‐5591                                                               First Class Mail
Chartered Organization         Lds Camelview Ward ‐ Scottsdale Az                         Camelback Stake                        3940 N 44Th Pl                                          Phoenix, AZ 85018                                                                        First Class Mail
Chartered Organization         Lds Cameo Park Ward                                        Sandy Ut Alta View Stake               8945 S 1700 E                                           Sandy, UT 84093‐3715                                                                     First Class Mail
Chartered Organization         Lds Cameron Park Ward El Dorado Stake                      Golden Empire Council 047              3431 Hacienda                                           Cameron Park, CA 95682                                                                   First Class Mail
Chartered Organization         Lds Cameron Ranch Ward ‐ Gilbert Az                        Highland E Stake                       3580 E Houston Ave                                      Gilbert, AZ 85234                                                                        First Class Mail
Chartered Organization         Lds Camino Ward El Dorado Stake                            Golden Empire Council 047              3182 Cedar Ravine Rd                                    Placerville, CA 95667‐6541                                                               First Class Mail
Chartered Organization         Lds Camp Hill Ward, Harrisburg Stake                       New Birth of Freedom 544               216 Skyline Dr                                          Mechanicsburg, PA 17050                                                                  First Class Mail
Chartered Organization         Lds Campbell Ward ‐ Saratoga Stake                         Silicon Valley Monterey Bay 055        19100 Allendale Ave                                     Saratoga, CA 95070‐5163                                                                  First Class Mail
Chartered Organization         Lds Campbellsville Branch                                  Lincoln Heritage Council 205           801 Meader St                                           Campbellsville, KY 42718                                                                 First Class Mail
Chartered Organization         Lds Campo Verde Ward ‐ Gilbert Az                          Williams Field Stake                   3307 S Greenfield Rd                                    Gilbert, AZ 85297                                                                        First Class Mail
Chartered Organization         Lds Campobello Ward ‐ Phoenix Az                           Deer Valley Stake                      15016 N 39Th Ave                                        Phoenix, AZ 85053                                                                        First Class Mail
Chartered Organization         Lds Campus Canyon Ward                                     Ventura County Council 057             15351 E Benwood Dr                                      Moorpark, CA 93021                                                                       First Class Mail
Chartered Organization         Lds Canal Winchester                                       Simon Kenton Council 441               6500 Fox Hill Dr                                        Canal Winchester, OH 43110                                                               First Class Mail
Chartered Organization         Lds Canandaigua Ward Palmyra Stake                         Seneca Waterways 397                   365 Parrish St                                          Canandaigua, NY 14424                                                                    First Class Mail
Chartered Organization         Lds Canby First Ward Oregon City Stake                     Cascade Pacific Council 492            1285 S Elm St                                           Canby, OR 97013‐3937                                                                     First Class Mail
Chartered Organization         Lds Canby Second Ward Oregon City Stake                    Cascade Pacific Council 492            1285 S Elm St                                           Canby, OR 97013‐3937                                                                     First Class Mail
Chartered Organization         Lds Canby Third Ward Oregon City Stake                     Cascade Pacific Council 492            15344 S Henrici Rd                                      Oregon City, OR 97045                                                                    First Class Mail
Chartered Organization         Lds Candy Mtn Ward ‐ W Richland Stake                      Blue Mountain Council 604              3701 Watkins Way                                        West Richland, WA 99353                                                                  First Class Mail
Chartered Organization         Lds Cannon 1St Ward/S L Cannon Stk                         Great Salt Lake Council 590            934 W Fremont Ave                                       Salt Lake City, UT 84104                                                                 First Class Mail
Chartered Organization         Lds Cannon 2Nd Ward (Tongan)                               Sl Ut Stake (Tongan)                   1172 S Glendale Dr                                      Salt Lake City, UT 84104                                                                 First Class Mail
Chartered Organization         Lds Cannon 3Rd Ward/S L Cannon Stk                         Great Salt Lake Council 590            1301 S 1200 W                                           Salt Lake City, UT 84104                                                                 First Class Mail
Chartered Organization         Lds Cannon 5Th Ward/S L Cannon Stk                         Great Salt Lake Council 590            1250 W 1400 S                                           Salt Lake City, UT 84104                                                                 First Class Mail
Chartered Organization         Lds Cannon 7Th Ward/S L Cannon Stk                         Great Salt Lake Council 590            934 W Fremont Ave                                       Salt Lake City, UT 84104                                                                 First Class Mail
Chartered Organization         Lds Cannon 9Th Ward/S L Cannon Stk                         Great Salt Lake Council 590            1250 W 1400 S                                           Salt Lake City, UT 84104                                                                 First Class Mail
Chartered Organization         Lds Cannonville Ward                                       Utah National Parks 591                125 S Kodachrome Dr                                     Cannonville, UT 84718                                                                    First Class Mail
Chartered Organization         Lds Canoe Creek Hunters Creek                              Central Florida Council 083            2821 Old Canoe Creek Rd                                 Saint Cloud, FL 34772                                                                    First Class Mail
Chartered Organization         Lds ‐Canoga Park Stake                                     Woodland Hills Ward                    4501 Deseret Dr                                         Woodland Hills, CA 91364‐3716                                                            First Class Mail
Chartered Organization         Lds ‐Canoga Park Stake‐ Chatsworth Ward                    W.L.A.C.C. 051                         10123 Oakdale Ave                                       Chatsworth, CA 91311‐3532                                                                First Class Mail
Chartered Organization         Lds ‐Canoga Park Stake‐ Reseda Ward                        W.L.A.C.C. 051                         18425 Ingomar St                                        Reseda, CA 91335                                                                         First Class Mail
Chartered Organization         Lds ‐Canoga Park Stake‐ Tarzana Ward                       W.L.A.C.C. 051                         5520 Topeka Dr                                          Tarzana, CA 91356‐3223                                                                   First Class Mail
Chartered Organization         Lds ‐Canoga Park Stake‐ West Hills Ward                    W.L.A.C.C. 051                         7045 Farralone Ave                                      Canoga Park, CA 91303‐1824                                                               First Class Mail
Chartered Organization         Lds Canoga Park Stake‐Chatsworth Ward                      W L A C C 051                          10123 Oakdale Ave                                       Chatsworth, CA 91311‐3532                                                                First Class Mail
Chartered Organization         Lds Canon City 1St Ward                                    Colorado Springs Stake                 1435 Elm Ave                                            Canon City, CO 81212‐4469                                                                First Class Mail
Chartered Organization         Lds Canon City 2Nd Ward                                    Colorado Springs Stake                 1435 Elm Ave                                            Canon City, CO 81212‐4469                                                                First Class Mail
Chartered Organization         Lds Canterberry Ward, Parker South Stake                   Denver Area Council 061                20850 E Main St                                         Parker, CO 80138                                                                         First Class Mail
Chartered Organization         Lds Canterbury Park Ward                                   Syracuse Bluff Stake                   1285 S 2500 W                                           Syracuse, UT 84075                                                                       First Class Mail
Chartered Organization         Lds Canterbury Ward Concord Nh Stake                       Daniel Webster Council, Bsa 330        90 Clinton St                                           Concord, NH 03301‐2287                                                                   First Class Mail
Chartered Organization         Lds Canton Ward ‐ Westland Stake                           Great Lakes Fsc 272                    7575 N Hix Rd                                           Westland, MI 48185‐1954                                                                  First Class Mail
Chartered Organization         Lds Canyon Creek Ward                                      Tooele Ut Valley View Stake            332 E 1000 N                                            Tooele, UT 84074                                                                         First Class Mail
Chartered Organization         Lds Canyon Creek Ward ‐ Reno Stake                         Nevada Area Council 329                5130 Idlebury Way                                       Reno, NV 89523‐1837                                                                      First Class Mail
Chartered Organization         Lds Canyon Creek Ward/S L Butler Stk                       Great Salt Lake Council 590            6769 S Walker Mill Dr                                   Cottonwood Heights, UT 84121‐3585                                                        First Class Mail
Chartered Organization         Lds Canyon Crest Ward                                      Utah National Parks 591                285 N Matterhorn Dr                                     Alpine, UT 84004                                                                         First Class Mail
Chartered Organization         Lds Canyon Crest Ward ‐ Riverside Stake                    California Inland Empire Council 045   181 W Blaine St                                         Riverside, CA 92507‐4066                                                                 First Class Mail
Chartered Organization         Lds Canyon Crest Ward Sp Fork                              Utah National Parks 591                2981 E 1660 S                                           Spanish Fork, UT 84660                                                                   First Class Mail
Chartered Organization         Lds Canyon Estates Ward                                    Bntfl Ut N Canyon Stake                965 Oakwood Dr                                          Bountiful, UT 84010                                                                      First Class Mail
Chartered Organization         Lds Canyon Gate Ward Las Vegas Stake                       Las Vegas Area Council 328             1801 S Monte Cristo Way                                 Las Vegas, NV 89117‐2047                                                                 First Class Mail
Chartered Organization         Lds Canyon Heights Ward Abq East Stake                     Great Swest Council 412                14332 Nambe Ave Ne                                      Albuquerque, NM 87123‐1923                                                               First Class Mail
Chartered Organization         Lds Canyon Hills First Ward                                Utah National Parks 591                693 W Mountain View Rd                                  Lehi, UT 84043‐4567                                                                      First Class Mail
Chartered Organization         Lds Canyon Hills Second Ward                               Utah National Parks 591                816 W Valley View Way                                   Lehi, UT 84043‐2668                                                                      First Class Mail
Chartered Organization         Lds Canyon Hills Ward                                      Lake Elsinore Stake                    34350 Almond                                            Lake Elsinore, CA 92530                                                                  First Class Mail
Chartered Organization         Lds Canyon Lake Br‐Hill Country Stake                      Alamo Area Council 583                 41301 Fm 3159                                           Canyon Lake, TX 78133                                                                    First Class Mail
Chartered Organization         Lds Canyon Lake Ward                                       Black Hills Area Council 695 695       2822 Canyon Lake Dr                                     Rapid City, SD 57702‐8112                                                                First Class Mail
Chartered Organization         Lds Canyon Park Ward                                       Bntfl Ut Central Stake                 Great Salt Lake Council 590                             Bountiful Hills Dr                  Bountiful, UT 84010                                  First Class Mail
Chartered Organization         Lds Canyon Park Ward Bothell Stake                         Chief Seattle Council 609              19215 88th Ave Ne                                       Bothell, WA 98011‐2128                                                                   First Class Mail
Chartered Organization         Lds Canyon Pointe Ward                                     Utah National Parks 591                2162 E Canyon Rd                                        Spanish Fork, UT 84660                                                                   First Class Mail
Chartered Organization         Lds Canyon Ridge Ward                                      Utah National Parks 591                75 E Center St                                          Cedar City, UT 84720                                                                     First Class Mail
Chartered Organization         Lds Canyon Ridge Ward                                      Mount Logan Stake                      1380 E 25th N                                           Logan, UT 84341                                                                          First Class Mail
Chartered Organization         Lds Canyon Ridge Ward                                      North Logan Stake                      1650 E 2600 N                                           North Logan, UT 84341‐1669                                                               First Class Mail
Chartered Organization         Lds Canyon Ridge Ward                                      Utah National Parks 591                2162 E Canyon Rd                                        Spanish Fork, UT 84660                                                                   First Class Mail
Chartered Organization         Lds Canyon Ridge Ward, Castle Rock Stake                   Denver Area Council 061                701 Oakwood Dr                                          Castle Rock, CO 80104‐1663                                                               First Class Mail
Chartered Organization         Lds Canyon Ridge Ward/S L Butler Stk                       Great Salt Lake Council 590            2695 E 7000 S                                           Salt Lake City, UT 84121                                                                 First Class Mail
Chartered Organization         Lds Canyon Rim 1St Ward                                    S L Canyon Rim Stake                   3100 E 3000 S                                           Salt Lake City, UT 84109                                                                 First Class Mail
Chartered Organization         Lds Canyon Rim 2Nd Ward                                    S L Canyon Rim Stake                   3100 E 3000 S                                           Salt Lake City, UT 84109                                                                 First Class Mail
Chartered Organization         Lds Canyon Rim 3Rd Ward                                    S L Canyon Rim Stake                   3051 S 2900 E                                           Salt Lake City, UT 84109‐2108                                                            First Class Mail
Chartered Organization         Lds Canyon Rim 4Th Ward                                    S L Canyon Rim Stake                   3051 S 2900 E                                           Salt Lake City, UT 84109‐2108                                                            First Class Mail
Chartered Organization         Lds Canyon Rim Ward/Sandy Ut Central Stk                   Great Salt Lake Council 590            1050 Galena Dr                                          Sandy, UT 84094                                                                          First Class Mail
Chartered Organization         Lds Canyon Rock Ward ‐ Stv Az Stk                          Grand Canyon Council 010               1521 E Bella Vista Rd                                   San Tan Valley, AZ 85143                                                                 First Class Mail
Chartered Organization         Lds Canyon Springs‐Hill Country Stake                      Alamo Area Council 583                 203 Gate Rd                                             Boerne, TX 78006                                                                         First Class Mail
Chartered Organization         Lds Canyon Springs‐Hill Country Stake                      Alamo Area Council 583                 31355 Stahl Ln                                          Bulverde, TX 78163‐3284                                                                  First Class Mail
Chartered Organization         Lds Canyon Trails Ward ‐ Surprise Az                       West Stake                             425 N Estrella Pkwy                                     Goodyear, AZ 85338                                                                       First Class Mail
Chartered Organization         Lds Canyon View Ward                                       Centerville Ut Canyon View Stake       210 E 1825 N                                            Centerville, UT 84014                                                                    First Class Mail
Chartered Organization         Lds Canyon View Ward                                       Frmngtn Ut N Stake                     900 Compton Rd                                          Farmington, UT 84025                                                                     First Class Mail
Chartered Organization         Lds Canyon View Ward                                       Sandy Ut Canyon View Stake             9119 S 1300 E                                           Sandy, UT 84094‐5532                                                                     First Class Mail
Chartered Organization         Lds Canyon View Ward/Gj West Stake                         Denver Area Council 061                2542 G Rd                                               Grand Junction, CO 81505‐9522                                                            First Class Mail
Chartered Organization         Lds Canyon Ward Amarillo Tx Stake                          Golden Spread Council 562              850 Weathey Ln                                          Canyon, TX 79015                                                                         First Class Mail
Chartered Organization         Lds Canyonview Eighth Ward                                 Utah National Parks 591                575 E 800 N                                             Orem, UT 84097                                                                           First Class Mail
Chartered Organization         Lds Canyonview Fifth Ward                                  Utah National Parks 591                1090 N 400 E                                            Orem, UT 84097                                                                           First Class Mail
Chartered Organization         Lds Canyonview First Ward                                  Utah National Parks 591                575 E 800 N                                             Orem, UT 84097                                                                           First Class Mail
Chartered Organization         Lds Canyonview Fourth Ward                                 Utah National Parks 591                1200 N 800 E                                            Orem, UT 84097                                                                           First Class Mail
Chartered Organization         Lds Canyonview Ninth Ward                                  Utah National Parks 591                1485 E 920 N                                            Orem, UT 84097‐4328                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                      Page 198 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                              Filed 01/06/22                                 Page 214 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                       Name                                                                                             Address                                                                         Email              Method of Service
Chartered Organization         Lds Canyonview Second Ward                               Utah National Parks 591                556 E 1200 N                                                      Orem, UT 84097‐2765                                               First Class Mail
Chartered Organization         Lds Canyonview Seventh Ward                              Utah National Parks 591                575 E 800 N                                                       Orem, UT 84097                                                    First Class Mail
Chartered Organization         Lds Canyonview Tenth Ward                                Utah National Parks 591                762 E 1200 N                                                      Orem, UT 84097                                                    First Class Mail
Chartered Organization         Lds Canyonview Third Ward                                Utah National Parks 591                762 E 1200 N                                                      Orem, UT 84057                                                    First Class Mail
Chartered Organization         Lds Canyonview Ward                                      Utah National Parks 591                4720 W 10470 N                                                    Highland, UT 84003                                                First Class Mail
Chartered Organization         Lds Cape Cod Branch Hingham Stake                        Mayflower Council 251                  1220 County Rd                                                    Cataumet, MA 02534                                                First Class Mail
Chartered Organization         Lds Cape Coral Ward Fort Myers Stake                     Southwest Florida Council 088          1928 Chiquita Blvd S                                              Cape Coral, FL 33991‐3236                                         First Class Mail
Chartered Organization         Lds Cape Girardeau Ward                                  Cape Girardeau Stake                   1048 W Cape Rock Dr                                               Cape Girardeau, MO 63701‐2707                                     First Class Mail
Chartered Organization         Lds Cape Girardeau Ward                                  Cape Girardeau Stake                   1048 W Cape Rock Dr                                               Cape Girardeau, MO 63701‐2707                                     First Class Mail
Chartered Organization         Lds Capistrano Ward ‐ San Clemente Stake                 Orange County Council 039              27291 Alicia Pkwy                                                 Laguna Niguel, CA 92677                                           First Class Mail
Chartered Organization         Lds Capital Ward                                         Cornhusker Council 324                 640 N 56th St                                                     Lincoln, NE 68504‐3415                                            First Class Mail
Chartered Organization         Lds Capitol Hill Ward, Denver Stake                      Denver Area Council 061                838 N Grant St                                                    Denver, CO 80203‐2937                                             First Class Mail
Chartered Organization         Lds Capitol Hill Ward/Salt Lake Stake                    Great Salt Lake Council 590            413 West Capitol St                                               Salt Lake City, UT 84103                                          First Class Mail
Chartered Organization         Lds Capitol Ward                                         Tukabatchee Area Council 005           770 S Court St                                                    Montgomery, AL 36104‐4904                                         First Class Mail
Chartered Organization         Lds Capitol Ward Suitland Stake                          National Capital Area Council 082      5300 Auth Rd                                                      Camp Springs, MD 20746‐4323                                       First Class Mail
Chartered Organization         Lds Capitol Ward Suitland Stake                          National Capital Area Council 082      5300 Auth Rd                                                      Suitland, MD 20746‐4323                                           First Class Mail
Chartered Organization         Lds Capitola Ward ‐ Santa Cruz Stake                     Silicon Valley Monterey Bay 055        220 Elk St                                                        Santa Cruz, CA 95065‐1309                                         First Class Mail
Chartered Organization         Lds Capshaw Ward                                         Greater Alabama Council 001            388 Jasmine Dr                                                    Madison, AL 35757‐4600                                            First Class Mail
Chartered Organization         Lds Captain's Island Ward                                Stansbury Park Ut So Stake             5899 Bayshore Dr                                                  Stansbury Park, UT 84074‐9000                                     First Class Mail
Chartered Organization         Lds Carbondale Ward                                      Cape Girardeau Mo Stake                7168 Old Hwy 13                                                   Carbondale, IL 62901‐5444                                         First Class Mail
Chartered Organization         Lds Carbonville Ward                                     Utah National Parks 591                Rt 1 Box 84A                                                      Helper, UT 84526                                                  First Class Mail
Chartered Organization         Lds Carkeek Park Ward Shoreline Stake                    Chief Seattle Council 609              102 N 132nd St                                                    Seattle, WA 98133                                                 First Class Mail
Chartered Organization         Lds Carl Ward Desert Foothill Stake                      Las Vegas Area Council 328             5800 Carl Ave                                                     Las Vegas, NV 89108‐2442                                          First Class Mail
Chartered Organization         Lds Carlin Ward ‐ Elko West Stake                        Nevada Area Council 329                220 Bush St                                                       Carlin, NV 89822                                                  First Class Mail
Chartered Organization         Lds Carlisle Ward Chambersburg Stake                     New Birth of Freedom 544               216 Skyline Dr                                                    Mechanicsburg, PA 17050                                           First Class Mail
Chartered Organization         Lds Carlsbad ‐ Carlsbad 1St Ward                         San Diego Imperial Council 049         1975 Chestnut Ave                                                 Carlsbad, CA 92008‐2714                                           First Class Mail
Chartered Organization         Lds Carlsbad ‐ Carlsbad 3Rd Ward                         San Diego Imperial Council 049         1975 Chestnut Ave                                                 Carlsbad, CA 92008‐2714                                           First Class Mail
Chartered Organization         Lds Carlsbad ‐ Carlsbad 4Th Ward                         San Diego Imperial Council 049         1981 Chestnut Ave                                                 Carlsbad, CA 92008                                                First Class Mail
Chartered Organization         Lds Carlsbad ‐ Oceanside 1St Ward                        San Diego Imperial Council 049         2080 California St                                                Oceanside, CA 92054‐5673                                          First Class Mail
Chartered Organization         Lds Carlsbad ‐ Oceanside 3Rd Ward                        San Diego Imperial Council 049         3990 Mesa Dr                                                      Oceanside, CA 92056‐2655                                          First Class Mail
Chartered Organization         Lds Carlsbad ‐ Oceanside 4Th Ward (Nr)                   San Diego Imperial Council 049         2080 California St                                                Oceanside, CA 92054‐5673                                          First Class Mail
Chartered Organization         Lds Carlsbad ‐ Oceanside 5Th Ward (Sp)                   San Diego Imperial Council 049         3990 Mesa Dr                                                      Oceanside, CA 92056‐2655                                          First Class Mail
Chartered Organization         Lds Carlsbad ‐ Rancho Del Oro Ward                       San Diego Imperial Council 049         3990 Mesa Dr                                                      Oceanside, CA 92056‐2655                                          First Class Mail
Chartered Organization         Lds Carmichael Stake                                     Golden Empire Council 047              4125 San Juan Ave                                                 Fair Oaks, CA 95628‐6717                                          First Class Mail
Chartered Organization         Lds Carnation Ward Redmond Stake                         Chief Seattle Council 609              32751 NE 45th St                                                  Carnation, WA 98014                                               First Class Mail
Chartered Organization         Lds Carnegie Ward Carniege Stake                         Las Vegas Area Council 328             2497 Cozy Hill Cir                                                Henderson, NV 89052‐2674                                          First Class Mail
Chartered Organization         Lds Carpinteria Ward                                     Santa Barbara Stake                    1501 Linden Ave                                                   Carpinteria, CA 93013                                             First Class Mail
Chartered Organization         Lds Carr Fork Ward/Tooele Ut East Stk                    Great Salt Lake Council 590            2032 Churchwood Dr                                                Tooele, UT 84074                                                  First Class Mail
Chartered Organization         Lds Carrollton 1St Ward                                  Carrollton Stake                       4000 Nazarene Dr                                                  Carrollton, TX 75010‐6491                                         First Class Mail
Chartered Organization         Lds Carrollton 2Nd Ward                                  Carrollton Stake                       6545 W Plano Pkwy                                                 Plano, TX 75093                                                   First Class Mail
Chartered Organization         Lds Carrollton 3Rd Ward                                  Carrollton Stake                       4000 Nazarene Dr                                                  Carrollton, TX 75010‐6491                                         First Class Mail
Chartered Organization         Lds Carrollton 4Th Ward                                  Carrollton Stake                       6545 W Plano Pkwy                                                 Plano, TX 75093                                                   First Class Mail
Chartered Organization         Lds Carrollton 4Th Ward/Carrollton Stake                 Circle Ten Council 571                 6545 W Plano Pkwy                                                 Plano, TX 75093                                                   First Class Mail
Chartered Organization         Lds Carrollton Ward Silver Spring Stake                  National Capital Area Council 082      11525 Prospect Hill Rd                                            Glenn Dale, MD 20769                                              First Class Mail
Chartered Organization         Lds Carrollton Ward Silver Spring Stake                  National Capital Area Council 082      11525 Prospect Hill Rd                                            Glenn Dale, MD 20769                                              First Class Mail
Chartered Organization         Lds Carson River Ward                                    Carson City Stake                      411 N Saliman Rd                                                  Carson City, NV 89701‐4449                                        First Class Mail
Chartered Organization         Lds Carson Ward 1153 Torrance Stake                      Greater Los Angeles Area 033           22721 Main St                                                     Carson, CA 90745‐4516                                             First Class Mail
Chartered Organization         Lds Cartersville / Butler Creek                          Atlanta Area Council 092               5055 Holt Rd Nw                                                   Acworth, GA 30101‐2017                                            First Class Mail
Chartered Organization         Lds Cartersville Stake / Picketts Mill                   Atlanta Area Council 092               4680 Hadaway Rd Nw                                                Kennesaw, GA 30152‐5418                                           First Class Mail
Chartered Organization         Lds Cartersville Stake / Stilesboro                      Atlanta Area Council 092               4680 Hadaway Rd Nw                                                Kennesaw, GA 30152‐5418                                           First Class Mail
Chartered Organization         Lds Carthage Ward ‐ Monett Stake                         Ozark Trails Council 306               1338 E Fairview Ave                                               Carthage, MO 64836‐3124                                           First Class Mail
Chartered Organization         Lds Casa Grande 1St Ward ‐ Casa Grande Az                Stake                                  787 E Kortsen Rd                                                  Casa Grande, AZ 85122‐1620                                        First Class Mail
Chartered Organization         Lds Casa Grande 2Nd Ward ‐ Casa Grande Az                Stake                                  1555 N Colorado St                                                Casa Grande, AZ 85122‐2931                                        First Class Mail
Chartered Organization         Lds Casa Grande 3Rd Ward ‐ Casa Grande Az                Stake                                  787 E Kortsen Rd                                                  Casa Grande, AZ 85122‐1620                                        First Class Mail
Chartered Organization         Lds Casa Grande 5Th Ward ‐ Casa Grande Az                Stake                                  2841 N Trekell Rd                                                 Casa Grande, AZ 85122                                             First Class Mail
Chartered Organization         Lds Cascade Branch, Great Falls Stake                    Montana Council 315                    11 Grassland Ln                                                   Cascade, MT 59421‐8026                                            First Class Mail
Chartered Organization         Lds Cascade Branch‐Emmett Stk                            Ore‐Ida Council 106 ‐ Bsa 106          35 Joshua Dr                                                      Cascade, ID 83611‐6013                                            First Class Mail
Chartered Organization         Lds Cascade Crest Ward ‐ Bend Stake                      Crater Lake Council 491                2555 NW Shevlin Park Rd                                           Bend, OR 97703                                                    First Class Mail
Chartered Organization         Lds Cascade Fifth Ward                                   Utah National Parks 591                1050 E 200 N                                                      Orem, UT 84097                                                    First Class Mail
Chartered Organization         Lds Cascade First Ward                                   Utah National Parks 591                481 E Center St                                                   Orem, UT 84097                                                    First Class Mail
Chartered Organization         Lds Cascade Fourth Ward                                  Utah National Parks 591                200 N 1050 E                                                      Orem, UT 84097                                                    First Class Mail
Chartered Organization         Lds Cascade Park Ward Vancouver Stake                    Cascade Pacific Council 492            13600 SE Mcgillivray Blvd                                         Vancouver, WA 98683                                               First Class Mail
Chartered Organization         Lds Cascade Second Ward                                  Utah National Parks 591                14 N 920 E                                                        Orem, UT 84097‐4988                                               First Class Mail
Chartered Organization         Lds Cascade Seventh Ward                                 Utah National Parks 591                400 N 400 E                                                       Orem, UT 84097                                                    First Class Mail
Chartered Organization         Lds Cascade Sixth Ward                                   Utah National Parks 591                430 E 400 N                                                       Orem, UT 84097                                                    First Class Mail
Chartered Organization         Lds Cascade Third Ward                                   Utah National Parks 591                200 N 907 E                                                       Orem, UT 84097                                                    First Class Mail
Chartered Organization         Lds Cascade Ward ‐ Kennewick East Stake                  Blue Mountain Council 604              5201 S Dayton Pl                                                  Kennewick, WA 99337‐5240                                          First Class Mail
Chartered Organization         Lds Caserta Ward                                         Transatlantic Council, Bsa 802         Corse Triste 182                                                  Caserta, 81100                  Italy                             First Class Mail
Chartered Organization         Lds Casper 1St Ward, Casper Stake                        Greater Wyoming Council 638            3931 W 45th St                                                    Casper, WY 82604‐4570                                             First Class Mail
Chartered Organization         Lds Casper 2Nd Ward, Casper Stake                        Greater Wyoming Council 638            7th & Missouri                                                    Casper, WY 82609                                                  First Class Mail
Chartered Organization         Lds Casper 3Rd Ward, Casper Stake                        Greater Wyoming Council 638            2627 E 7th St                                                     Casper, WY 82609‐2534                                             First Class Mail
Chartered Organization         Lds Casper 4Th Ward, Casper Stake                        Greater Wyoming Council 638            3931 W 45th St                                                    Casper, WY 82604‐4570                                             First Class Mail
Chartered Organization         Lds Casper 5Th Ward, Casper Stake                        Greater Wyoming Council 638            3931 W 45th St                                                    Casper, WY 82604‐4570                                             First Class Mail
Chartered Organization         Lds Casper 6Th Ward, Casper Stake                        Greater Wyoming Council 638            7th & Missouri                                                    Casper, WY 82609                                                  First Class Mail
Chartered Organization         Lds Casper 7Th Ward, Casper Stake                        Greater Wyoming Council 638            3931 W 45th St                                                    Casper, WY 82604‐4570                                             First Class Mail
Chartered Organization         Lds Casper 8Th Ward, Casper Stake                        Greater Wyoming Council 638            1922 S Poplar St                                                  Casper, WY 82601‐4511                                             First Class Mail
Chartered Organization         Lds Casper 9Th Ward Casper Stake                         Greater Wyoming Council 638            1922 S Poplar St                                                  Casper, WY 82601‐4511                                             First Class Mail
Chartered Organization         Lds Casper 9Th Ward, Casper Stake                        Greater Wyoming Council 638            1922 S Poplar St                                                  Casper, WY 82601‐4511                                             First Class Mail
Chartered Organization         Lds Cassia Branch‐Boise Central Stk                      Ore‐Ida Council 106 ‐ Bsa 106          3200 Cassia St                                                    Boise, ID 83705                                                   First Class Mail
Chartered Organization         Lds Cassia Branch‐Boise Central Stk                      Ore‐Ida Council 106 ‐ Bsa 106          3200 W Cassia St                                                  Boise, ID 83705                                                   First Class Mail
Chartered Organization         Lds Cassvilleward‐Monett Stake                           Ozark Trails Council 306               9671 Fr 2230                                                      Cassville, MO 65625                                               First Class Mail
Chartered Organization         Lds Castle Dale First Ward                               Utah National Parks 591                35 E Main Castle Dale                                             Castle Dale, UT 84513                                             First Class Mail
Chartered Organization         Lds Castle Dale Second Ward                              Utah National Parks 591                35 E Main Castle Dale                                             Castle Dale, UT 84513                                             First Class Mail
Chartered Organization         Lds Castle Dale Third Ward                               Utah National Parks 591                P.O. Box 69                                                       Castle Dale, UT 84513‐0069                                        First Class Mail
Chartered Organization         Lds Castle Hills Ward ‐ North Stake                      Alamo Area Council 583                 2103 St Cloud Rd                                                  San Antonio, TX 78228‐3147                                        First Class Mail
Chartered Organization         Lds Castle Park Ward‐Boise Stk                           Ore‐Ida Council 106 ‐ Bsa 106          5900 W Castle Dr                                                  Boise, ID 83703‐3215                                              First Class Mail
Chartered Organization         Lds Castle Pines Ward, Castle Rock Stake                 Denver Area Council 061                7471 Timberline Rd                                                Lone Tree, CO 80124                                               First Class Mail
Chartered Organization         Lds Castle Ridge Ward Green Valley Stake                 Las Vegas Area Council 328             246 Collindale St                                                 Henderson, NV 89074‐8824                                          First Class Mail
Chartered Organization         Lds Castle Rock Ward                                     Utah National Parks 591                7746 N Sparrowhawk Way                                            Eagle Mountain, UT 84005‐5506                                     First Class Mail
Chartered Organization         Lds Castle Rock Ward Longview Stake                      Cascade Pacific Council 492            2884 Pacific Ave N                                                Kelso, WA 98626                                                   First Class Mail
Chartered Organization         Lds Castle Rock Ward, Castle Rock Stake                  Denver Area Council 061                701 Oakwood Dr                                                    Castle Rock, CO 80104‐1663                                        First Class Mail
Chartered Organization         Lds Castle Valley Branch                                 Utah National Parks 591                2640 Desert Rd                                                    Moab, UT 84532‐3402                                               First Class Mail
Chartered Organization         Lds Castlegate 1St Ward ‐ Qc Az                          Ocotillo Stake                         3555 E Sandwick Dr                                                San Tan Valley, AZ 85140‐5056                                     First Class Mail
Chartered Organization         Lds Castlegate 2Nd Ward ‐ Qc Az                          Ocotillo Stake                         4148 E Brae Voe Way                                               San Tan Valley, AZ 85140‐3157                                     First Class Mail
Chartered Organization         Lds Castlegate 3Rd Ward ‐ Qc Az                          Ocotillo Stake                         2717 E Ocotillo Rd                                                San Tan Valley, AZ 85140                                          First Class Mail
Chartered Organization         Lds Castlerock Ward/ Wenatchee Stake                     Grand Columbia Council 614             1621 Maiden Ln                                                    Wenatchee, WA 98801‐1027                                          First Class Mail
Chartered Organization         Lds Castlerock Ward/Wenatchee Stake                      Grand Columbia Council 614             1621 Maiden Ln                                                    Wenatchee, WA 98801‐1027                                          First Class Mail
Chartered Organization         Lds Castlewood Canyon Ward                               Parker S Stake                         7160 Bayou Gulch Rd                                               Parker, CO 80134‐5591                                             First Class Mail
Chartered Organization         Lds Castlewood Ward                                      Riverton Ut Western Sprgs Stake        12691 S 3600 W                                                    Riverton, UT 84065                                                First Class Mail
Chartered Organization         Lds Castro Valley Ward ‐ San Leandro Stake               San Francisco Bay Area Council 028     3900 Seven Hills Rd                                               Castro Valley, CA 94546‐2150                                      First Class Mail
Chartered Organization         Lds Castro Vly 3Rd Ward ‐ Oakland E Stake                San Francisco Bay Area Council 028     3900 Seven Hills Rd                                               Castro Valley, CA 94546‐2150                                      First Class Mail
Chartered Organization         Lds Catalina Ward ‐ Gilbert Az                           Greenfield Stake                       1520 S Catalina                                                   Gilbert, AZ 85233                                                 First Class Mail
Chartered Organization         Lds Cavalero Ward Marysville Stake                       Mount Baker Council, Bsa 606           3 81st Ave Ne                                                     Lake Stevens, WA 98258‐3138                                       First Class Mail
Chartered Organization         Lds Cave Creek Ward ‐ Scottsdale Az                      North Stake                            38008 N Basin Rd                                                  Cave Creek, AZ 85331                                              First Class Mail
Chartered Organization         Lds Cedar Breaks Ward                                    Bennion Ut E Stake                     5452 S 2200 W                                                     Taylorsville, UT 84129‐1734                                       First Class Mail
Chartered Organization         Lds Cedar City Eighth Ward                               Utah National Parks 591                212 W 200 S                                                       Cedar City, UT 84720                                              First Class Mail
Chartered Organization         Lds Cedar City Eleventh Ward                             Utah National Parks 591                370 N 4050 W                                                      Cedar City, UT 84720                                              First Class Mail
Chartered Organization         Lds Cedar City Fifteenth Ward                            Utah National Parks 591                500 W 400 N                                                       Cedar City, UT 84721                                              First Class Mail
Chartered Organization         Lds Cedar City Fourteenth Ward                           Utah National Parks 591                500 W 400 N                                                       Cedar City, UT 84721                                              First Class Mail
Chartered Organization         Lds Cedar City Fourth Ward                               Utah National Parks 591                500 W 400 N                                                       Cedar City, UT 84721                                              First Class Mail
Chartered Organization         Lds Cedar City Ninth Ward                                Utah National Parks 591                256 S 900 W                                                       Cedar City, UT 84720                                              First Class Mail
Chartered Organization         Lds Cedar City Second Ward                               Utah National Parks 591                331 S 300 W                                                       Cedar City, UT 84720‐3214                                         First Class Mail
Chartered Organization         Lds Cedar City Seventeenth Ward                          Utah National Parks 591                256 S 900 W                                                       Cedar City, UT 84720                                              First Class Mail
Chartered Organization         Lds Cedar City Sixteenth Ward                            Utah National Parks 591                1925 W 320 S                                                      Cedar City, UT 84720‐2887                                         First Class Mail
Chartered Organization         Lds Cedar City Thirteenth Ward                           Utah National Parks 591                725 S 1100 W                                                      Cedar City, UT 84720                                              First Class Mail
Chartered Organization         Lds Cedar City Twentieth Ward                            Utah National Parks 591                725 S 1100 W                                                      Cedar City, UT 84720                                              First Class Mail
Chartered Organization         Lds Cedar Creek Ward                                     Utah National Parks 591                P.O. Box 163                                                      Spring City, UT 84662‐0163                                        First Class Mail
Chartered Organization         Lds Cedar Creek Ward Lenexa Stake                        Heart of America Council 307           21515 W 101st St                                                  Lenexa, KS 66220                                                  First Class Mail
Chartered Organization         Lds Cedar Creek Ward Tualatin Stake                      Cascade Pacific Council 492            17234 SW Meinecke Rd                                              Sherwood, OR 97140                                                First Class Mail
Chartered Organization         Lds Cedar Crest Ward                                     Utah National Parks 591                7858 N Silver Ranch Rd                                            Eagle Mountain, UT 84005‐5854                                     First Class Mail
Chartered Organization         Lds Cedar Crest Ward Abq East Stake                      Great Swest Council 412                1401 Mountain Valley Rd                                           Sandia Park, NM 87047‐9490                                        First Class Mail
Chartered Organization         Lds Cedar Crest Ward Marysville Stake                    Mount Baker Council, Bsa 606           7229 78th Dr Ne                                                   Marysville, WA 98270‐6563                                         First Class Mail
Chartered Organization         Lds Cedar First Ward                                     Utah National Parks 591                79 E Center St                                                    Cedar City, UT 84720                                              First Class Mail
Chartered Organization         Lds Cedar Fort Ward                                      Utah National Parks 591                P.O. Box 263                                                      Cedar Valley, UT 84013‐0263                                       First Class Mail
Chartered Organization         Lds Cedar Hills Eighteenth Ward                          Utah National Parks 591                3862 W Sage Vista Ln                                              Cedar Hills, UT 84062‐8571                                        First Class Mail
Chartered Organization         Lds Cedar Hills Eighth Ward Timp                         Utah National Parks 591                4580 W Cedar Hills Dr                                             Cedar Hills, UT 84062                                             First Class Mail
Chartered Organization         Lds Cedar Hills Eleventh Ward Timp                       Utah National Parks 591                10455 N Ironwood                                                  Cedar Hills, UT 84062                                             First Class Mail
Chartered Organization         Lds Cedar Hills Fifteenth Ward                           Utah National Parks 591                10351 N Bayhill Dr                                                Cedar Hills, UT 84062                                             First Class Mail
Chartered Organization         Lds Cedar Hills Fifth Ward Timp                          Utah National Parks 591                4425 Cedar Hills Dr                                               Cedar Hills, UT 84062                                             First Class Mail
Chartered Organization         Lds Cedar Hills First Ward Timp                          Utah National Parks 591                4355 W Cedar Hills Dr                                             Cedar Hills, UT 84062                                             First Class Mail
Chartered Organization         Lds Cedar Hills Fourteenth Ward                          Utah National Parks 591                10455 N Ironwood Dr                                               Cedar Hills, UT 84062                                             First Class Mail
Chartered Organization         Lds Cedar Hills Fourth Ward Timp                         Utah National Parks 591                4355 W Cedar Hills Dr                                             Cedar Hills, UT 84062                                             First Class Mail
Chartered Organization         Lds Cedar Hills Ninth Ward Timp                          Utah National Parks 591                4635 W Fieldcrest Rd                                              Cedar Hills, UT 84062‐7710                                        First Class Mail
Chartered Organization         Lds Cedar Hills Second Ward Timp                         Utah National Parks 591                4355 W Cedar Hills Dr                                             Cedar Hills, UT 84062                                             First Class Mail
Chartered Organization         Lds Cedar Hills Seventeenth Ward                         Utah National Parks 591                4141 W Mesquite Way                                               Cedar Hills, UT 84062‐8066                                        First Class Mail
Chartered Organization         Lds Cedar Hills Seventh Ward Timp                        Utah National Parks 591                9737 Chesterfield Dr                                              Cedar Hills, UT 84062‐8602                                        First Class Mail
Chartered Organization         Lds Cedar Hills Sixteenth Ward Timp                      Utah National Parks 591                10351 N Bayhill Dr                                                Cedar Hills, UT 84062                                             First Class Mail
Chartered Organization         Lds Cedar Hills Sixth Ward Timp                          Utah National Parks 591                4559W9820N                                                        Cedar Hills, UT 84062                                             First Class Mail
Chartered Organization         Lds Cedar Hills Tenth Ward Timp                          Utah National Parks 591                4697 W Harvey Blvd                                                Cedar Hills, UT 84062‐8611                                        First Class Mail
Chartered Organization         Lds Cedar Hills Third Ward Timp                          Utah National Parks 591                3950 W Cedar Hills Dr                                             Cedar Hills, UT 84062                                             First Class Mail
Chartered Organization         Lds Cedar Hills Thirteenth Ward                          Utah National Parks 591                3950 W Cedar Hills Dr                                             Cedar Hills, UT 84062                                             First Class Mail
Chartered Organization         Lds Cedar Hills Twelfth Ward Timp                        Utah National Parks 591                10352 N Bayhill Dr                                                Cedar Hills, UT 84062‐8694                                        First Class Mail
Chartered Organization         Lds Cedar Hills Ward Cedar City                          Utah National Parks 591                95 N 2125 W                                                       Cedar City, UT 84720‐8263                                         First Class Mail
Chartered Organization         Lds Cedar Hollow Eighth Ward                             Utah National Parks 591                1545 N Fitzgerald Ln                                              Lehi, UT 84043‐5094                                               First Class Mail
Chartered Organization         Lds Cedar Hollow Seventh Ward (Lehi)                     Utah National Parks 591                127 E 3200 N                                                      Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Cedar Lake Ward Morristown                           Patriots Path Council 358              283 James St                                                      Morristown, NJ 07960‐6372                                         First Class Mail
Chartered Organization         Lds Cedar Meadows Ward                                   Utah National Parks 591                370 N 4050 W                                                      Cedar City, UT 84720                                              First Class Mail
Chartered Organization         Lds Cedar Park Stake                                     Carriage Hills Ward                    2101 Bagdad Rd                                                    Cedar Park, TX 78613‐6411                                         First Class Mail
Chartered Organization         Lds Cedar Park Ward, Cedar Park Stake                    Capitol Area Council 564               1004 W Park St                                                    Cedar Park, TX 78613‐2802                                         First Class Mail
Chartered Organization         Lds Cedar Pass First Ward                                Utah National Parks 591                2282 E Valley Dr                                                  Eagle Mountain, UT 84005‐4136                                     First Class Mail
Chartered Organization         Lds Cedar Pass Second Ward                               Utah National Parks 591                9475 N Mustang Way                                                Eagle Mountain, UT 84005                                          First Class Mail
Chartered Organization         Lds Cedar Point Ward/Herriman Ut Stk                     Great Salt Lake Council 590            5562 W 13680 S                                                    Riverton, UT 84096                                                First Class Mail
Chartered Organization         Lds Cedar Ridge Ward ‐ Tulsa Ok Stake                    Indian Nations Council 488             1701 N Hickory Ave                                                Broken Arrow, OK 74012‐1711                                       First Class Mail
Chartered Organization         Lds Cedar River Ward                                     Hawkeye Area Council 172               4150 Blue Jay Dr Ne                                               Cedar Rapids, IA 52402‐4798                                       First Class Mail
Chartered Organization         Lds Cedar River Ward Maple Valley Stake                  Chief Seattle Council 609              19909 SE Wax Rd                                                   Maple Valley, WA 98038                                            First Class Mail
Chartered Organization         Lds Cedar Spgs Ward                                      Elkhorn Spgs Stake                     7500 Tule Springs Rd                                              Las Vegas, NV 89131‐8174                                          First Class Mail
Chartered Organization         Lds Cedar Trails Ward                                    Utah National Parks 591                1934 E Cedar Trails Way                                           Eagle Mountain, UT 84005                                          First Class Mail
Chartered Organization         Lds Cedar Valley Ward (Spanish)                          Utah National Parks 591                2092 E Cassidy Way                                                Eagle Mountain, UT 84005‐4630                                     First Class Mail
Chartered Organization         Lds Cedaredge Ward/Montrose Stake                        Denver Area Council 061                910 NW Ash Ave                                                    Cedaredge, CO 81413‐4300                                          First Class Mail
Chartered Organization         Lds Cedarview Ward                                       Utah National Parks 591                1925 W 320 S                                                      Cedar City, UT 84720‐2887                                         First Class Mail
Chartered Organization         Lds Centennial 1St Ward ‐ Centennial Az                  Stake                                  P.O. Box 947                                                      Taylor, AZ 85939‐0947                                             First Class Mail
Chartered Organization         Lds Centennial 2Nd Ward ‐ Centennial Az                  Stake                                  175 E 9Th St S                                                    Snowflake, AZ 85937                                               First Class Mail
Chartered Organization         Lds Centennial 3Rd Ward ‐ Centennial Az                  Stake                                  Grand Canyon Council 010, 9Th S 2Nd W                             Snowflake, Az 85937                                               First Class Mail
Chartered Organization         Lds Centennial 4Th Ward ‐ Centennial Az                  Stake                                  79 E Austin Dr                                                    Snowflake, AZ 85937‐5628                                          First Class Mail
Chartered Organization         Lds Centennial 5Th Ward ‐ Centennial Az                  Stake                                  309 W Willow Ln                                                   Taylor, AZ 85939                                                  First Class Mail
Chartered Organization         Lds Centennial 6Th Ward ‐ Centennial Az                  Stake                                  P.O. Box 1010                                                     Taylor, AZ 85939‐1010                                             First Class Mail
Chartered Organization         Lds Centennial 8Th Ward ‐ Centennial Az                  Stake                                  P.O. Box 889                                                      Taylor, AZ 85939‐0889                                             First Class Mail
Chartered Organization         Lds Centennial Park Ward                                 Legacy Park Stake                      2024 S 1475 W                                                     Syracuse, UT 84075                                                First Class Mail
Chartered Organization         Lds Centennial Park Ward ‐ Redmond Stake                 Crater Lake Council 491                450 SW Rimrock Way                                                Redmond, OR 97756‐1936                                            First Class Mail
Chartered Organization         Lds Centennial Park Ward Kingman Stake                   Las Vegas Area Council 328             3180 Rutherford Dr                                                Kingman, AZ 86401                                                 First Class Mail
Chartered Organization         Lds Centennial Park Ward/S L Hunter Stk                  Great Salt Lake Council 590            3372 S Merry Ln                                                   Salt Lake City, UT 84120                                          First Class Mail
Chartered Organization         Lds Centennial Pointe Skye Canyon Stake                  Las Vegas Area Council 328             8755 Iron Mountain                                                Las Vegas, NV 89143                                               First Class Mail
Chartered Organization         Lds Centennial Ward ‐ Burleson Stake                     Longhorn Council 662                   390 Fm 731                                                        Burleson, TX 76028                                                First Class Mail
Chartered Organization         Lds Centennial Ward ‐ Mesa Az North Stk                  Grand Canyon Council 010               422 E University Dr                                               Mesa, AZ 85203                                                    First Class Mail
Chartered Organization         Lds Centennial Ward ‐ Ontario Stake                      California Inland Empire Council 045   3450 Creekside Dr                                                 Ontario, CA 91761                                                 First Class Mail
Chartered Organization         Lds Centennial Ward ‐ Peoria Az Stk                      Grand Canyon Council 010               15780 N 78Th Dr                                                   Peoria, AZ 85382‐3856                                             First Class Mail
Chartered Organization         Lds Centennial Ward ‐ Qc Az                              Chandler Heights Stake                 26023 S Lemon Ave                                                 Queen Creek, AZ 85142                                             First Class Mail
Chartered Organization         Lds Centennial Ward Meadows Stake                        Las Vegas Area Council 328             5750 N Cimmaron Rd                                                Las Vegas, NV 89149                                               First Class Mail
Chartered Organization         Lds Centennial Ward, Littleton Stake                     Denver Area Council 061                1939 E Easter Ave                                                 Littleton, CO 80122‐1311                                          First Class Mail
Chartered Organization         Lds Centennial Ward‐Mer N Stk                            Ore‐Ida Council 106 ‐ Bsa 106          5555 N Locust Grove                                               Meridian, ID 83642                                                First Class Mail
Chartered Organization         Lds Center 3Rd Ward/S L Riverside Stake                  Great Salt Lake Council 590            1955 W 400 N                                                      Salt Lake City, UT 84116                                          First Class Mail
Chartered Organization         Lds Center Branch, Alamosa Stake                         Rocky Mountain Council 063             48920 W Hwy 112                                                   Center, CO 81125                                                  First Class Mail
Chartered Organization         Lds Center Creek Ward                                    Utah National Parks 591                2359 S Mill Rd                                                    Heber City, UT 84032                                              First Class Mail
Chartered Organization         Lds Centerfield First Ward                               Utah National Parks 591                Po Box 220194                                                     Centerfield, UT 84622‐0194                                        First Class Mail
Chartered Organization         Lds Centerfield Second Ward                              Utah National Parks 591                Po Box 220481                                                     Centerfield, UT 84622                                             First Class Mail
Chartered Organization         Lds Centerton Ward Rogers Stake                          Westark Area Council 016               950 Seba Rd                                                       Centerton, AR 72719‐7302                                          First Class Mail
Chartered Organization         Lds Centerville 11Th Ward                                Centerville Ut S Stake                 270 N 300 E                                                       Centerville, UT 84014                                             First Class Mail
Chartered Organization         Lds Centerville 19Th Ward                                Centerville Ut S Stake                 900 S 400 E                                                       Centerville, UT 84014                                             First Class Mail
Chartered Organization         Lds Centerville 1St Ward                                 Centerville Ut S Stake                 160 S 300 E                                                       Centerville, UT 84014                                             First Class Mail
Chartered Organization         Lds Centerville 20Th Ward                                Centerville Ut Canyon View Stake       210 E 1825 N                                                      Centerville, UT 84014                                             First Class Mail
Chartered Organization         Lds Centerville 2Nd Ward                                 Centerville Ut Canyon View Stake       111 Carrington Ln                                                 Centerville, UT 84014‐1278                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 199 of 442
                                                                               Case 20-10343-LSS                                  Doc 8171                                  Filed 01/06/22                                                     Page 215 of 457
                                                                                                                                                               Exhibit B
                                                                                                                                                                Service List
                                                                                                                                                         Served as set forth below

        Description                                                     Name                                                                                 Address                                                                                             Email              Method of Service
Chartered Organization         Lds Centerville 3Rd Ward                               Centerville Ut S Stake                 900 S 400 E                                           Centerville, UT 84014                                                                 First Class Mail
Chartered Organization         Lds Centerville 5Th Ward                               Centerville Ut S Stake                 270 N 300 E                                           Centerville, UT 84014                                                                 First Class Mail
Chartered Organization         Lds Centerville 6Th Ward                               Centerville Ut S Stake                 900 S 400 E                                           Centerville, UT 84014                                                                 First Class Mail
Chartered Organization         Lds Centerville 7Th Ward                               Centerville Ut S Stake                 270 N 300 E                                           Centerville, UT 84014                                                                 First Class Mail
Chartered Organization         Lds Centerville 8Th Ward                               Centerville Ut Canyon View Stake       2110 N Main St                                        Centerville, UT 84014                                                                 First Class Mail
Chartered Organization         Lds Centerville 9Th Ward                               Centerville Ut Canyon View Stake       1475 N 50 E                                           Centerville, UT 84014                                                                 First Class Mail
Chartered Organization         Lds Centerville Canyon Ward                            Centerville Ut S Stake                 160 S 300 E                                           Centerville, UT 84014                                                                 First Class Mail
Chartered Organization         Lds Centerville Ward ‐ Conyers Stake                   Northeast Georgia Council 101          3930 Mink Livsey Rd                                   Snellville, GA 30039                                                                  First Class Mail
Chartered Organization         Lds Centerville Ward ‐ Fremont Stake                   San Francisco Bay Area Council 028     38134 Temple Way                                      Fremont, CA 94536‐3950                                                                First Class Mail
Chartered Organization         Lds Centinela Second Ward                              Greater Los Angeles Area 033           4850 W 115th St                                       Hawthorne, CA 90250                                                                   First Class Mail
Chartered Organization         Lds Central 2Nd Ward ‐ Pima Stake                      Grand Canyon Council 010               P.O. Box 1029                                         Thatcher, AZ 85552‐1029                                                               First Class Mail
Chartered Organization         Lds Central Davis Special Needs                        Holmes Creek Stake                     380 S Fairfield Rd                                    Layton, UT 84041                                                                      First Class Mail
Chartered Organization         Lds Central Park Ward                                  Westark Area Council 016               2001 SW Wildwood Ave                                  Bentonville, AR 72713‐7649                                                            First Class Mail
Chartered Organization         Lds Central Park Ward                                  South Salt Lake Stake                  304 E 2700 S                                          Salt Lake City, UT 84115                                                              First Class Mail
Chartered Organization         Lds Central Park Ward ‐ Fremont Stake                  San Francisco Bay Area Council 028     810 Walnut Ave                                        Fremont, CA 94536                                                                     First Class Mail
Chartered Organization         Lds Central Park/Logan South Stake                     Trapper Trails 589                     195 S 100 E                                           Logan, UT 84321‐5333                                                                  First Class Mail
Chartered Organization         Lds Central Point 2Nd Ward                             Central Point Stake                    2305 Taylor Rd                                        Central Point, OR 97502‐1768                                                          First Class Mail
Chartered Organization         Lds Central Point Ward                                 Central Point Stake                    1642 Beall Ln                                         Central Point, OR 97502‐1505                                                          First Class Mail
Chartered Organization         Lds Central Valley Second Ward                         Utah National Parks 591                796 E 1150 S                                          Elsinore, UT 84724‐5073                                                               First Class Mail
Chartered Organization         Lds Central Ward                                       Utah National Parks 591                176 E Center St                                       Veyo, UT 84782                                                                        First Class Mail
Chartered Organization         Lds Central Ward ‐ Phoenix Az East Stk                 Grand Canyon Council 010               47 E Ashland Ave                                      Phoenix, AZ 85004‐1321                                                                First Class Mail
Chartered Organization         Lds Central Ward ‐ Pima Stake                          Grand Canyon Council 010               P.O. Box 198                                          Central, AZ 85531‐0198                                                                First Class Mail
Chartered Organization         Lds Central Ward (Monroe)                              Utah National Parks 591                363 S Main St                                         Central Valley, UT 84754‐3318                                                         First Class Mail
Chartered Organization         Lds Central Ward, Billings Stake                       Montana Council 315                    2929 Belvedere Dr                                     Billings, MT 59102‐3716                                                               First Class Mail
Chartered Organization         Lds Central Ward‐Emmett Stk                            Ore‐Ida Council 106 ‐ Bsa 106          980 W Central Rd                                      Emmett, ID 83617                                                                      First Class Mail
Chartered Organization         Lds Centralia                                          Greater St Louis Area Council 312      2241 E Calumet St                                     Centralia, IL 62801‐6518                                                              First Class Mail
Chartered Organization         Lds Centralia Stake‐Centralia                          Pacific Harbors Council, Bsa 612       2801 Mt Vista Rd                                      Centralia, WA 98531‐2227                                                              First Class Mail
Chartered Organization         Lds Centralia Stake‐Chehalis                           Pacific Harbors Council, Bsa 612       2195 Jackson Hwy                                      Chehalis, WA 98532‐4409                                                               First Class Mail
Chartered Organization         Lds Centralia Stake‐Cowlitz                            Pacific Harbors Council, Bsa 612       102‐30 Crumb Rd                                       Morton, WA 98356                                                                      First Class Mail
Chartered Organization         Lds Centralia Stake‐Mountain View                      Pacific Harbors Council, Bsa 612       168 Ridgecrest Dr                                     Toledo, WA 98591‐9656                                                                 First Class Mail
Chartered Organization         Lds Centralia Stake‐Pleasant Valley                    Pacific Harbors Council, Bsa 612       2195 Jackson Hwy                                      Chehalis, WA 98532‐4409                                                               First Class Mail
Chartered Organization         Lds Centralia Stake‐Scatter Creek                      Pacific Harbors Council, Bsa 612       18501 Paulson Rd                                      Rochester, WA 98579                                                                   First Class Mail
Chartered Organization         Lds Centreville 1 Ward Centreville Stake               National Capital Area Council 082      14911 Willard Rd                                      Chantilly, VA 20151‐3727                                                              First Class Mail
Chartered Organization         Lds Centreville 2 Ward Centreville Stake               National Capital Area Council 082      14150 Upperridge Dr                                   Centreville, VA 20121‐5340                                                            First Class Mail
Chartered Organization         Lds Century Farm Ward‐Mer S Stk                        Ore‐Ida Council 106 ‐ Bsa 106          12830 W Mardia St                                     Boise, ID 83709‐5772                                                                  First Class Mail
Chartered Organization         Lds Century Gardens Ward ‐ Mesa Az                     Clearview Stake                        633 S Higley Rd                                       Mesa, AZ 85206                                                                        First Class Mail
Chartered Organization         Lds Ceres 1St Ward Turlock Stake                       Greater Yosemite Council 059           1730 Gene Rd                                          Ceres, CA 95307‐1821                                                                  First Class Mail
Chartered Organization         Lds Cerritos 1St Ward Cerritos Stake                   Long Beach Area Council 032            17909 Bloomfield Ave                                  Cerritos, CA 90703‐8516                                                               First Class Mail
Chartered Organization         Lds Ch Bison Ridge Ward Windsor Stake                  Longs Peak Council 062                 500 Hillspire Dr                                      Windsor, CO 80550‐5034                                                                First Class Mail
Chartered Organization         Lds Ch Broomfield 1St Ward Boulder Stake               Longs Peak Council 062                 1250 Main St                                          Broomfield, CO 80020‐2932                                                             First Class Mail
Chartered Organization         Lds Ch Broomfield 3Rd Ward Boulder Stake               Longs Peak Council 062                 1250 Main St                                          Broomfield, CO 80020‐2932                                                             First Class Mail
Chartered Organization         Lds Ch Buchanan Ward Powder Spgs Stake                 Atlanta Area Council 092               36 Five Points Rd                                     Buchanan, GA 30113                                                                    First Class Mail
Chartered Organization         Lds Ch Buffalo Ridge Ward Cheyenne Stake               Longs Peak Council 062                 7721 Badger Rd                                        Cheyenne, WY 82009‐1417                                                               First Class Mail
Chartered Organization         Lds Ch Capitol Hill Ward Cheyenne Stake                Longs Peak Council 062                 300 Hobbs Ave                                         Cheyenne, WY 82009‐4700                                                               First Class Mail
Chartered Organization         Lds Ch Carlson Farm Ward Windsor Stake                 Longs Peak Council 062                 3234 Bruner Blvd                                      Johnstown, CO 80534                                                                   First Class Mail
Chartered Organization         Lds Ch Carlson Farm Ward Windsor Stake                 Longs Peak Council 062                 3435 Brunner Blvd                                     Johnstown, CO 80534                                                                   First Class Mail
Chartered Organization         Lds Ch Carrollton Ward Powder Spgs                     Atlanta Area Council 092               601 Stewart St                                        Carrollton, GA 30117‐2348                                                             First Class Mail
Chartered Organization         Lds Ch Chadron Br Rapid City Stake                     Black Hills Area Council 695 695       P.O. Box 949                                          Chadron, NE 69337‐0949                                                                First Class Mail
Chartered Organization         Lds Ch Cibolo Ward‐Cibolo Vly Stake                    Alamo Area Council 583                 13201 Forum Rd                                        Universal City, TX 78148‐2812                                                         First Class Mail
Chartered Organization         Lds Ch College Park Ward                               Silver Spg Stake                       3790 E West Hwy                                       Hyattsville, MD 20782‐2004                                                            First Class Mail
Chartered Organization         Lds Ch Conway 2Nd Ward                                 N Little Rock Stake                    2045 Dave Ward Dr                                     Conway, AR 72034‐7720                                                                 First Class Mail
Chartered Organization         Lds Ch Corner Stone Ward Cheyenne Stake                Longs Peak Council 062                 309 Wern Hills Blvd                                   Cheyenne, WY 82009                                                                    First Class Mail
Chartered Organization         Lds Ch Deep Creek Ward Chesapeake Stake                4507 N Bailey Bridge Rd                Midlothian, VA 23112                                                                                                                        First Class Mail
Chartered Organization         Lds Ch ‐Deer Lake Ward‐ Colville Stake                 Inland Nwest Council 611               P.O. Box 957                                          Deer Park, WA 99006‐0957                                                              First Class Mail
Chartered Organization         Lds Ch Fort Morgan Ward Greeley Stake                  Longs Peak Council 062                 336 Cherry St                                         Fort Morgan, CO 80701‐3838                                                            First Class Mail
Chartered Organization         Lds Ch Goose Creek Ward Ashburn Stake                  National Capital Area Council 082      801 Balls Bluff Rd Ne                                 Leesburg, VA 20176‐4801                                                               First Class Mail
Chartered Organization         Lds Ch Harmony Park Ward Loveland Stake                Longs Peak Council 062                 6521 Carmichael St                                    Fort Collins, CO 80528‐7195                                                           First Class Mail
Chartered Organization         Lds Ch Highland Lake Ward Longmont Stake               Longs Peak Council 062                 1721 Red Cloud Rd                                     Longmont, CO 80504‐2083                                                               First Class Mail
Chartered Organization         Lds Ch Jesus Christ LDS                                Fort Stockton                          Buffalo Trail Council 567                             1802 N Marshall St                Fort Stockton, TX 79735                             First Class Mail
Chartered Organization         Lds Ch Jesus Christ Lds                                Mount Vernon Stake                     2810 King St                                          Alexandria, VA 22302‐4011                                                             First Class Mail
Chartered Organization         Lds Ch Jesus Christ Lds                                Mount Vernon Stake                     2810 King St                                          Alexandria, VA 22302‐4011                                                             First Class Mail
Chartered Organization         Lds Ch Jesus Christ Portsmouth Ward                    Simon Kenton Council 441               1205 Bierly Rd                                        Portsmouth, OH 45662                                                                  First Class Mail
Chartered Organization         Lds Ch Kaiserslautern Svcmen Ward                      Transatlantic Council, Bsa 802         Hoernchenstrasse 27                                   Kindsbach                         APO, AE 09012                                       First Class Mail
Chartered Organization         Lds Ch Ketcher Farm Ward Loveland Stake                Longs Peak Council 062                 6521 Carmichael St                                    Fort Collins, CO 80528‐7195                                                           First Class Mail
Chartered Organization         Lds Ch Ketcher Farms Ward Loveland Stake               Longs Peak Council 062                 1445 W 28th St                                        Loveland, CO 80538                                                                    First Class Mail
Chartered Organization         Lds Ch Lakeland 2Nd Ward‐ Hayden Stake                 Inland Nwest Council 611               201 Meyer Rd                                          Rathdrum, ID 83858                                                                    First Class Mail
Chartered Organization         Lds Ch Left Hand Creek Ward                            Longmont Stake                         2200 11th Ave                                         Longmont, CO 80501‐3106                                                               First Class Mail
Chartered Organization         Lds Ch Linden Park Ward Loveland Stake                 Longs Peak Council 062                 6521 Carmichael St                                    Fort Collins, CO 80528‐7195                                                           First Class Mail
Chartered Organization         Lds Ch Little Rock Ward                                Little Rock Stake                      13901 Quail Run Dr                                    Little Rock, AR 72210‐6915                                                            First Class Mail
Chartered Organization         Lds Ch Longs Peak Ward Longmont Stake                  Longs Peak Council 062                 200 2nd Ave                                           Lyons, CO 80540                                                                       First Class Mail
Chartered Organization         Lds Ch Manor Ridge Ward Loveland Stake                 Longs Peak Council 062                 6521 Carmichael St                                    Fort Collins, CO 80528‐7195                                                           First Class Mail
Chartered Organization         Lds Ch Marietta E Stake                                Sandy Plains Ward                      3147 Trickum Rd Ne                                    Marietta, GA 30066‐4666                                                               First Class Mail
Chartered Organization         Lds Ch Monterey Heights Ward                           Cheyenne Stake                         7721 Badger Rd                                        Cheyenne, WY 82009‐1417                                                               First Class Mail
Chartered Organization         Lds Ch Mtn View Ward Longmont Stake                    Longs Peak Council 062                 2200 11th Ave                                         Longmont, CO 80501‐3106                                                               First Class Mail
Chartered Organization         Lds Ch Nelson Farm Ward                                Fort Collins Stake                     600 E Swallow Rd                                      Fort Collins, CO 80525‐2223                                                           First Class Mail
Chartered Organization         Lds Ch Overland Trail Ward Laramie Stake               Longs Peak Council 062                 3311 Hayford Ave                                      Laramie, WY 82072‐5088                                                                First Class Mail
Chartered Organization         Lds Ch Parkwood Ward Ft Collins Stake                  Longs Peak Council 062                 600 E Swallow Rd                                      Fort Collins, CO 80525‐2223                                                           First Class Mail
Chartered Organization         Lds Ch Pinnacle Mtn Ward                               Little Rock Stake                      600 S Rodney Parham Rd                                Little Rock, AR 72205‐4717                                                            First Class Mail
Chartered Organization         Lds Ch‐ Plant City Ward‐Brandon Stake                  Greater Tampa Bay Area 089             1805 N Park Rd                                        Plant City, FL 33563‐2034                                                             First Class Mail
Chartered Organization         Lds Ch‐ Post Falls 5Th Ward‐ Cda Stake                 Inland Nwest Council 611               1670 N Mcguire Rd                                     Post Falls, ID 83854                                                                  First Class Mail
Chartered Organization         Lds Ch Prairie Ridge Ward                              Fort Collins Stake                     1320 W Harmony Rd                                     Fort Collins, CO 80526                                                                First Class Mail
Chartered Organization         Lds Ch Prairie View Br Cheyenne Stake                  Longs Peak Council 062                 7712 John Dr                                          Cheyenne, WY 82009‐1903                                                               First Class Mail
Chartered Organization         Lds Ch Rinn Vly Ward Longmont Stake                    Longs Peak Council 062                 9029 Grand Mesa Ave                                   Frederick, CO 80504‐5817                                                              First Class Mail
Chartered Organization         Lds Ch River'S Edge Ward Loveland Stake                Longs Peak Council 062                 3800 Mountain Lion Dr                                 Loveland, CO 80537                                                                    First Class Mail
Chartered Organization         Lds Ch Saddleback Ward Longmont Stake                  Longs Peak Council 062                 9029 Grand Mesa Ave                                   Frederick, CO 80504‐5817                                                              First Class Mail
Chartered Organization         Lds Ch Scottsbluff Ward Cheyenne Stake                 Longs Peak Council 062                 501 Winter Creek Dr                                   Scottsbluff, NE 69361‐1456                                                            First Class Mail
Chartered Organization         Lds Ch‐ Sebring Ward‐Vero Beach Stake                  Greater Tampa Bay Area 089             2418 Cleveland Rd                                     Sebring, FL 33870‐1565                                                                First Class Mail
Chartered Organization         Lds Ch Sherman Hills Ward Laramie Stake                Longs Peak Council 062                 3311 Hayford Ave                                      Laramie, WY 82072‐5088                                                                First Class Mail
Chartered Organization         Lds Ch Snowy Range Ward Laramie Stake                  Longs Peak Council 062                 1065 N 15Th                                           Laramie, WY 82070                                                                     First Class Mail
Chartered Organization         Lds Ch Snowy Range Ward Laramie Stake                  Longs Peak Council 062                 1065 N 15th St                                        Laramie, WY 82072                                                                     First Class Mail
Chartered Organization         Lds Ch Spg Creek Ward Laramie Stake                    Longs Peak Council 062                 1065 N 15th St                                        Laramie, WY 82072                                                                     First Class Mail
Chartered Organization         Lds Ch Terry Lake Ward                                 Fort Collins Stake                     1400 Lynnwood Dr                                      Fort Collins, CO 80521‐4482                                                           First Class Mail
Chartered Organization         Lds Ch Timberline Ward                                 Fort Collins Stake                     600 E Swallow Rd                                      Fort Collins, CO 80525‐2223                                                           First Class Mail
Chartered Organization         Lds Ch Timnath Ward Fort Collins Stake                 Longs Peak Council 062                 600 E Swallow Rd                                      Fort Collins, CO 80525‐2223                                                           First Class Mail
Chartered Organization         Lds Ch Torrington Ward Cheyenne Stake                  Longs Peak Council 062                 1101 E 22nd St                                        Torrington, WY 82240                                                                  First Class Mail
Chartered Organization         Lds Ch‐ Vly View Ward                                  Spokane Valley Stake                   23515 E Boone Ave                                     Liberty Lake, WA 99019                                                                First Class Mail
Chartered Organization         Lds Ch Wellington Ward                                 Fort Collins Stake                     1400 Lynnwood Dr                                      Fort Collins, CO 80521‐4482                                                           First Class Mail
Chartered Organization         Lds Ch Wern Hills Ward Cheyenne Stake                  Longs Peak Council 062                 922 W Dale Blvd                                       Cheyenne, WY 82009‐5906                                                               First Class Mail
Chartered Organization         Lds Chaffey Ward ‐ Rancho Cucamonga Stake              California Inland Empire Council 045   5474 Have Ave                                         Rancho Cucamonga, CA 91730                                                            First Class Mail
Chartered Organization         Lds Chalco Hills Ward Papillion Stake                  Mid‐America Council 326                6820 S 164th Ave                                      Omaha, NE 68136                                                                       First Class Mail
Chartered Organization         Lds Chambersburg 1St Ward                              Chambersburg Stake                     50 Ragged Edge Rd                                     Chambersburg, PA 17202‐4449                                                           First Class Mail
Chartered Organization         Lds Chambersburg 1St Ward                              Chambersburg Stake                     50 Ragged Edge Rd                                     Chambersburg, PA 17202‐4449                                                           First Class Mail
Chartered Organization         Lds Chambersburg Second Ward                           Chambersburg Stake                     50 Ragged Edge Rd                                     Chambersburg, PA 17202‐4449                                                           First Class Mail
Chartered Organization         Lds Chambersburg Second Ward                           Chambersburg Stake                     50 Ragged Edge Rd                                     Chambersburg, PA 17202‐4449                                                           First Class Mail
Chartered Organization         Lds Chamisa Ward Rio Rancho Stake                      Great Swest Council 412                310 Loma Colorado Blvd Ne                             Rio Rancho, NM 87124                                                                  First Class Mail
Chartered Organization         Lds Champaign Ward Champaign Stake                     Prairielands 117                       604 W Windsor Rd                                      Champaign, IL 61820‐7622                                                              First Class Mail
Chartered Organization         Lds Champion Park Ward‐Mer Stk                         Ore‐Ida Council 106 ‐ Bsa 106          3451 N Locust Grove                                   Meridian, ID 83646                                                                    First Class Mail
Chartered Organization         Lds Chancellor Ward Fredericksburg Stake               National Capital Area Council 082      1710 Bragg Rd                                         Fredericksburg, VA 22407‐4924                                                         First Class Mail
Chartered Organization         Lds Chandler Heights Ward ‐ Qc Az                      Chandler Heights Stake                 26023 S Lemon Rd                                      Queen Creek, AZ 85142                                                                 First Class Mail
Chartered Organization         Lds Channel Islands Ward Camarillo Stake               Ventura County Council 057             1190 Gary Dr                                          Oxnard, CA 93033                                                                      First Class Mail
Chartered Organization         Lds Chantilly Ward Oakton Stake                        National Capital Area Council 082      3310 Hill Haven Ct                                    Herndon, VA 20171‐4013                                                                First Class Mail
Chartered Organization         Lds Chaparral Ward ‐ Gilbert Az                        Gateway Stake                          2958 S Recker Rd                                      Gilbert, AZ 85295                                                                     First Class Mail
Chartered Organization         Lds Chaparral Ward ‐ Scottsdale Az                     North Stake                            6840 E Gold Dust Ave                                  Paradise Valley, AZ 85253‐1410                                                        First Class Mail
Chartered Organization         Lds Chaparral Ward ‐ Temecula Stake                    California Inland Empire Council 045   29657 N General Kearny Rd                             Temecula, CA 92591‐5555                                                               First Class Mail
Chartered Organization         Lds Chapel Creek Ward ‐ Fort Worth Stake               Longhorn Council 662                   100 Paint Pony Trl N                                  Fort Worth, TX 76108‐4223                                                             First Class Mail
Chartered Organization         Lds Chapel Heights Ward Sunrise Stake                  Las Vegas Area Council 328             1825 N Hollywood Blvd                                 Las Vegas, NV 89156‐7155                                                              First Class Mail
Chartered Organization         Lds Chapel Hill Ward Lenexa Stake                      Heart of America Council 307           8616 Haskell Ave                                      Kansas City, KS 66109                                                                 First Class Mail
Chartered Organization         Lds Chapel Hills Ward                                  Layton Hills Stake                     1290 Church St                                        Layton, UT 84041                                                                      First Class Mail
Chartered Organization         Lds Chapel Hills Ward‐East Stake                       Pikes Peak Council 060                 8710 Lexington Dr                                     Colorado Springs, CO 80920‐4309                                                       First Class Mail
Chartered Organization         Lds Chapel Park Ward                                   Holmes Creek Stake                     125 Chapel St                                         Layton, UT 84041                                                                      First Class Mail
Chartered Organization         Lds Chapman Hill Ward Monmouth Stake                   Cascade Pacific Council 492            1850 Brush College Rd Nw                              Salem, OR 97304‐1412                                                                  First Class Mail
Chartered Organization         Lds Ch‐Apollo Beach Ward‐Brandon Stake                 Greater Tampa Bay Area 089             5208 12th St Ne                                       Apollo Beach, FL 33572                                                                First Class Mail
Chartered Organization         Lds Chappel Valley Second Ward                         Utah National Parks 591                902 S Chappel Valley Loop                             Lehi, UT 84043‐3918                                                                   First Class Mail
Chartered Organization         Lds Chappel Valley Third Ward                          Utah National Parks 591                1174 S 1700 W                                         Lehi, UT 84043                                                                        First Class Mail
Chartered Organization         Lds Chappel Valley Ward                                Utah National Parks 591                757 W 300 S                                           Lehi, UT 84043‐2518                                                                   First Class Mail
Chartered Organization         Lds Chardon Branch Kirtland Stake                      Lake Erie Council 440                  12455 Merritt Rd                                      Chardon, OH 44024                                                                     First Class Mail
Chartered Organization         Lds Charing Cross Ward                                 Rvrtn Ut S Stake                       2361 W 13400 S                                        Riverton, UT 84065                                                                    First Class Mail
Chartered Organization         Lds Charleston Boulevard Ward                          Central Stake                          4201 Stewart Ave                                      Las Vegas, NV 89110‐3230                                                              First Class Mail
Chartered Organization         Lds Charleston Park Ward                               Blue Diamond Stake                     Star Rt Box 5490                                      Pahrump, NV 89041                                                                     First Class Mail
Chartered Organization         Lds Charleston Second Ward                             Buckskin 617                           Lds Chapel                                            Charleston, WV 25302                                                                  First Class Mail
Chartered Organization         Lds Charleston Ward                                    Utah National Parks 591                3423 S 3500 W                                         Heber City, UT 84032                                                                  First Class Mail
Chartered Organization         Lds Charleston Ward Las Vegas Stake                    Las Vegas Area Council 328             3400 W Charleston Blvd                                Las Vegas, NV 89102‐1833                                                              First Class Mail
Chartered Organization         Lds Charlestown Branch                                 Lincoln Heritage Council 205           8209 County Rd 403                                    Charlestown, IN 47111‐8745                                                            First Class Mail
Chartered Organization         Lds Charter Point Ward‐Boise Amity Stk                 Ore‐Ida Council 106 ‐ Bsa 106          10443 W Trestlewood St                                Boise, ID 83709‐6761                                                                  First Class Mail
Chartered Organization         Lds Chas 1St Ward Charleston Stake                     Coastal Carolina Council 550           1519 Sam Rittenberg Blvd                              Charleston, SC 29407‐4130                                                             First Class Mail
Chartered Organization         Lds Chas 1St Ward Charleston Stake                     Coastal Carolina Council 550           1319 Sam Rittenberg Blvd                              Charleston, SC 29407‐5000                                                             First Class Mail
Chartered Organization         Lds Chase Lane Ward/Cntrvll Ut North Stk               Great Salt Lake Council 590            1100 N 400 W                                          Centerville, UT 84014                                                                 First Class Mail
Chartered Organization         Lds Chatfield Ward, Columbine Stake                    Denver Area Council 061                6705 S Webster St                                     Littleton, CO 80128‐4411                                                              First Class Mail
Chartered Organization         Lds Ch‐Bella Vista Ward‐Spokane E Stake                Inland Nwest Council 611               13608 E 40th Ave                                      Spokane Valley, WA 99206                                                              First Class Mail
Chartered Organization         Lds Ch‐Brentwood Ward‐N Spokane Stake                  Inland Nwest Council 611               411 W Regina Ave                                      Spokane, WA 99218                                                                     First Class Mail
Chartered Organization         Lds Ch‐Broadneck Ward                                  Annapolis Maryland Stake               1875 Ritchie Hwy                                      Annapolis, MD 21409‐6229                                                              First Class Mail
Chartered Organization         Lds Ch‐Carrollwood 2Nd Ward‐Tampa Stake                Greater Tampa Bay Area 089             10703 Stallgate Dr                                    Tampa, FL 33624‐4810                                                                  First Class Mail
Chartered Organization         Lds Ch‐Cedar Falls Ward‐Cedar Rapids, Ia               Winnebago Council, Bsa 173             3006 Pleasant Dr                                      Cedar Falls, IA 50613                                                                 First Class Mail
Chartered Organization         Lds Ch‐Cheney 1St Ward‐Spokane W Stake                 Inland Nwest Council 611               2536 N 6th St                                         Cheney, WA 99004                                                                      First Class Mail
Chartered Organization         Lds Ch‐Cheney 2Nd Ward‐Spokane W Stake                 Inland Nwest Council 611               2536 N 6th St                                         Cheney, WA 99004                                                                      First Class Mail
Chartered Organization         Lds Ch‐Citrus Ridge Ward‐Lakeland Stake                Greater Tampa Bay Area 089             1001 Dunson Rd                                        Davenport, FL 33896                                                                   First Class Mail
Chartered Organization         Lds Ch‐Colville 1St Ward‐Colville Stake                Inland Nwest Council 611               E. 260 Juniper                                        Colville, WA 99114                                                                    First Class Mail
Chartered Organization         Lds Ch‐Cookeville Stake                                Cookeville 1st Ward                    981 S Walnut Ave                                      Cookeville, TN 38501                                                                  First Class Mail
Chartered Organization         Lds Ch‐Cookeville Stake‐Sparta Br                      Middle Tennessee Council 560           325 W Turn Table Rd                                   Sparta, TN 38583                                                                      First Class Mail
Chartered Organization         Lds Ch‐E Vly Ward‐Spokane Vly Stake                    Inland Nwest Council 611               5010 N Darin Rd                                       Otis Orchards, WA 99027‐9616                                                          First Class Mail
Chartered Organization         Lds Chelan Ward/Wenatchee Stake                        Grand Columbia Council 614             1139 Dry Lake Rd                                      Manson, WA 98831‐9724                                                                 First Class Mail
Chartered Organization         Lds Chelsea Ward ‐ Ann Arbor Stake                     Southern Shores Fsc 783                1330 N Freer Rd                                       Chelsea, MI 48118‐1108                                                                First Class Mail
Chartered Organization         Lds Chelsie Park 1St Ward                              Layton West Stake                      2800 W Gordon Ave                                     Layton, UT 84041                                                                      First Class Mail
Chartered Organization         Lds Chelsie Park 2Nd Ward                              Layton West Stake                      2150 S 800 E                                          Clearfield, UT 84015                                                                  First Class Mail
Chartered Organization         Lds Chelsie Park 3Rd Ward                              Layton West Stake                      2800 W Gordon Ave                                     Layton, UT 84041                                                                      First Class Mail
Chartered Organization         Lds Cherokee Ward                                      Asheville, Nc Stake                    P.O. Box 2396                                         Cherokee, NC 28719‐2396                                                               First Class Mail
Chartered Organization         Lds Cherry Creek Ward Redmond Stake                    Chief Seattle Council 609              32751 NE 45th St                                      Carnation, WA 98014                                                                   First Class Mail
Chartered Organization         Lds Cherry Creek Ward, Denver Stake                    Denver Area Council 061                4701 S Chambers Rd                                    Aurora, CO 80015‐1777                                                                 First Class Mail
Chartered Organization         Lds Cherry Glen Ward ‐ San Jose Stake                  Silicon Valley Monterey Bay 055        1336 Cherry Ave                                       San Jose, CA 95125‐3721                                                               First Class Mail
Chartered Organization         Lds Cherry Grove Ward Cincinnati E Stake               Dan Beard Council, Bsa 438             8579 Sunmont Dr                                       Cincinnati, OH 45255‐4778                                                             First Class Mail
Chartered Organization         Lds Cherry Hill 1St Ward                               Cherry Hill Nj Stake                   260 Evesham Rd                                        Cherry Hill, NJ 08003‐3706                                                            First Class Mail
Chartered Organization         Lds Cherry Hill 2Nd Ward                               Cherry Hill Nj Stake                   252 Evesham Rd                                        Cherry Hill, NJ 08003                                                                 First Class Mail
Chartered Organization         Lds Cherry Hill Eighth Ward                            Utah National Parks 591                1650 S 200 E                                          Orem, UT 84058                                                                        First Class Mail
Chartered Organization         Lds Cherry Hill Fifth Ward                             Utah National Parks 591                1874 S 250 E                                          Orem, UT 84058‐7823                                                                   First Class Mail
Chartered Organization         Lds Cherry Hill First Ward                             Utah National Parks 591                466 E 1800 S                                          Orem, UT 84058‐7919                                                                   First Class Mail
Chartered Organization         Lds Cherry Hill Fourth Ward                            Utah National Parks 591                408 E 1800 S                                          Orem, UT 84058‐7919                                                                   First Class Mail
Chartered Organization         Lds Cherry Hill Ninth Ward                             Utah National Parks 591                125 E 2000 S                                          Orem, UT 84058                                                                        First Class Mail
Chartered Organization         Lds Cherry Hill Second Ward                            Utah National Parks 591                1700 S 400 E                                          Orem, UT 84058                                                                        First Class Mail
Chartered Organization         Lds Cherry Hill Seventh Ward                           Utah National Parks 591                81 Park Ln N                                          Orem, UT 84058‐7803                                                                   First Class Mail
Chartered Organization         Lds Cherry Hill Sixth Ward                             Utah National Parks 591                1650 S 200 E                                          Orem, UT 84058                                                                        First Class Mail
Chartered Organization         Lds Cherry Hill Third Ward                             Utah National Parks 591                1650 S 200 E                                          Orem, UT 84058                                                                        First Class Mail
Chartered Organization         Lds Cherry Hills Ward Abq Stake                        Great Swest Council 412                5709 Haines Ave Ne                                    Albuquerque, NM 87110‐5203                                                            First Class Mail
Chartered Organization         Lds Cherry Lane Ward‐Mer W Stk                         Ore‐Ida Council 106 ‐ Bsa 106          1757 N Tessa Ave                                      Meridian, ID 83646‐6471                                                               First Class Mail
Chartered Organization         Lds Cherry Park Ward Portland Stake                    Cascade Pacific Council 492            9901 SE Caruthers St                                  Portland, OR 97216‐2629                                                               First Class Mail
Chartered Organization         Lds Cherry Ridge Ward                                  Utah National Parks 591                1100 S 250 W                                          Salem, UT 84653                                                                       First Class Mail
Chartered Organization         Lds Cherry Village Ward                                Syracuse Bluff Stake                   2339 W 1900 S                                         Syracuse, UT 84075                                                                    First Class Mail
Chartered Organization         Lds Cherryhill Stake                                   Utah National Parks 591                1700 S 400 E                                          Orem, UT 84058                                                                        First Class Mail
Chartered Organization         Lds Chester Vly Ward ‐ Anchorage N Stake               Great Alaska Council 610               2240 Baxter Rd                                        Anchorage, AK 99504‐3281                                                              First Class Mail
Chartered Organization         Lds Chester Ward Manteca Stake                         Greater Yosemite Council 059           1981 Chester Dr                                       Tracy, CA 95376‐2345                                                                  First Class Mail
Chartered Organization         Lds Chesterfield Ward ‐ Spgfield S Stake               Ozark Trails Council 306               4450 S Farm Rd 141                                    Springfield, MO 65810‐1400                                                            First Class Mail
Chartered Organization         Lds Chevy Chase Ward Washington Dc Stake               National Capital Area Council 082      5460 Wern Ave                                         Chevy Chase, MD 20815                                                                 First Class Mail
Chartered Organization         Lds Chevy Chase Ward/S L So Ctnwd Stake                Great Salt Lake Council 590            1154 E Castlecreek Cir                                Salt Lake City, UT 84117‐7283                                                         First Class Mail
Chartered Organization         Lds Cheyenne Meadows Ward                              Colorado Springs Stake                 150 Pine Ave                                          Colorado Springs, CO 80906‐3333                                                       First Class Mail
Chartered Organization         Lds Cheyenne Ridge Ward Lone Mtn Stake                 Las Vegas Area Council 328             8801 W Alexander                                      Las Vegas, NV 89129                                                                   First Class Mail
Chartered Organization         Lds Cheyenne Ward Meadows Stake                        Las Vegas Area Council 328             3200 Mustang St                                       Las Vegas, NV 89108‐4908                                                              First Class Mail
Chartered Organization         Lds Ch‐Five Mile Prairie‐Spokane N Stake               Inland Nwest Council 611               2112 W Francis                                        Spokane, WA 99208                                                                     First Class Mail
Chartered Organization         Lds Ch‐Franklin Stake‐Fairview Br                      Middle Tennessee Council 560           1100 Gray Fox Ln                                      Franklin, TN 37069                                                                    First Class Mail
Chartered Organization         Lds Ch‐Franklin Stake‐Franklin 2Nd Ward                Middle Tennessee Council 560           1100 Gray Fox Ln                                      Franklin, TN 37069                                                                    First Class Mail
Chartered Organization         Lds Ch‐Franklin Stake‐Franklin 3Rd Ward                Middle Tennessee Council 560           1100 Gray Fox Ln                                      Franklin, TN 37069                                                                    First Class Mail
Chartered Organization         Lds Ch‐Franklin Stake‐Lawrenceburg Ward                Middle Tennessee Council 560           201 Springer Rd                                       Lawrenceburg, TN 38464                                                                First Class Mail
Chartered Organization         Lds Ch‐Franklin Stake‐Spg Hill Ward                    Middle Tennessee Council 560           1608 Hampshire Pike                                   Columbia, TN 38401‐5676                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                Page 200 of 442
                                                                                 Case 20-10343-LSS                                     Doc 8171                                     Filed 01/06/22                                                    Page 216 of 457
                                                                                                                                                                       Exhibit B
                                                                                                                                                                        Service List
                                                                                                                                                                 Served as set forth below

        Description                                                       Name                                                                                       Address                                                                                                      Email              Method of Service
Chartered Organization         Lds Ch‐Greenacres Ward‐Spokane Vly Stake                 Inland Nwest Council 611                  21022 E Wellesley Ave                                    Otis Orchards, WA 99027‐9617                                                                   First Class Mail
Chartered Organization         Lds Ch‐Hopkinsville Stake                                Clarksville 1st Ward                      801 Lafayette Rd                                         Clarksville, TN 37042‐3864                                                                     First Class Mail
Chartered Organization         Lds Ch‐Horizon Hills Ward‐ E Stake                       Inland Nwest Council 611                  13608 E 40th Ave                                         Spokane Valley, WA 99206                                                                       First Class Mail
Chartered Organization         Lds Chickasha Ward Norman Stake                          Last Frontier Council 480                 1111 Ferguson Rd                                         Chickasha, OK 73018‐6759                                                                       First Class Mail
Chartered Organization         Lds Chico 1St Ward Chico Stake                           Golden Empire Council 047                 735 W East Ave                                           Chico, CA 95926‐2086                                                                           First Class Mail
Chartered Organization         Lds Chico 2Nd Ward Chico Stake                           Golden Empire Council 047                 1450 E Lassen Ave                                        Chico, CA 95973‐7827                                                                           First Class Mail
Chartered Organization         Lds Chico 3Rd Ward Chico Stake                           Golden Empire Council 047                 2430 Mariposa Ave                                        Chico, CA 95926‐7330                                                                           First Class Mail
Chartered Organization         Lds Chico 4Th Ward Chico Stake                           Golden Empire Council 047                 2430 Mariposa Ave                                        Chico, CA 95926‐7330                                                                           First Class Mail
Chartered Organization         Lds Chico 5Th Ward Chico Stake                           Golden Empire Council 047                 735 W East Ave                                           Chico, CA 95926‐2086                                                                           First Class Mail
Chartered Organization         Lds Childress Branch Amarillo Tx Stake                   Golden Spread Council 562                 1304 7th St Nw                                           Childress, TX 79201‐2626                                                                       First Class Mail
Chartered Organization         Lds Chillicothe                                          Simon Kenton Council 441                  1918 N Bridge St                                         Chillicothe, OH 45601‐4111                                                                     First Class Mail
Chartered Organization         Lds Chilton Park Ward                                    Utah National Parks 591                   7944 N Smith Ranch Rd                                    Eagle Mountain, UT 84005                                                                       First Class Mail
Chartered Organization         Lds Chimney Rock Ward                                    Utah National Parks 591                   7793 N Windhover Rd                                      Eagle Mountain, UT 84005‐4345                                                                  First Class Mail
Chartered Organization         Lds Chino Heritage Ward ‐ Chino Stake                    California Inland Empire Council 045      3332 Eucalyptus St                                       Chino, CA 91710                                                                                First Class Mail
Chartered Organization         Lds Ch‐Lake Hamilton Ward                                Winter Haven Stake                        2309 S 9th St                                            Haines City, FL 33844                                                                          First Class Mail
Chartered Organization         Lds Ch‐Lake Wales Ward‐Lakeland Stake                    Greater Tampa Bay Area 089                1024 Burns Ave                                           Lake Wales, FL 33853‐3406                                                                      First Class Mail
Chartered Organization         Lds Ch‐Liberty Lake Ward                                 Spokane Valley Stake                      23515 E Boone Ave                                        Liberty Lake, WA 99019                                                                         First Class Mail
Chartered Organization         Lds Ch‐Lincoln Heights Ward                              Spokane Stake                             2721 E 63rd Ave                                          Spokane, WA 99223‐5046                                                                         First Class Mail
Chartered Organization         Lds Ch‐Madison Stake‐Goodlettsville Ward                 Middle Tennessee Council 560              107 Twin Hills Dr                                        Madison, TN 37115‐2242                                                                         First Class Mail
Chartered Organization         Lds Ch‐Madison Stake‐Hendersonville Ward                 Middle Tennessee Council 560              1360 E Main St                                           Gallatin, TN 37066                                                                             First Class Mail
Chartered Organization         Lds Ch‐Madison Stake‐White House Ward                    Middle Tennessee Council 560              107 Twin Hills Dr                                        Madison, TN 37115‐2242                                                                         First Class Mail
Chartered Organization         Lds Ch‐Mcminnville Stake                                 Burgess Falls Ward                        981 S Walnut Ave                                         Cookeville, TN 38501                                                                           First Class Mail
Chartered Organization         Lds Ch‐Mcminnville Stake                                 Fayetteville Ward                         Middle Tennessee Council 560                             Johnney D Johnson                  11 Cloverdale Cir          Fayetteville, TN 37334           First Class Mail
Chartered Organization         Lds Ch‐Mcminnville Stake                                 Mcminnville 1st Ward                      183 Underwood Rd                                         Mc Minnville, TN 37110‐1431                                                                    First Class Mail
Chartered Organization         Lds Ch‐Mcminnville Stake‐Tullahoma Ward                  Middle Tennessee Council 560              112 Old Shelbyville Hwy                                  Tullahoma, TN 37388‐4701                                                                       First Class Mail
Chartered Organization         Lds Ch‐Moran Prairie Ward‐Spokane Stake                  Inland Nwest Council 611                  2721 E 63rd Ave                                          Spokane, WA 99223‐5046                                                                         First Class Mail
Chartered Organization         Lds Ch‐Morgan Acres Ward Mt Spokane Stk                  Inland Nwest Council 611                  808 E Sitka Ave                                          Spokane, WA 99208‐5529                                                                         First Class Mail
Chartered Organization         Lds Ch‐Murfreesboro Stake                                Mount Juliet 1st Ward                     719 Lance Way                                            Mount Juliet, TN 37122‐7505                                                                    First Class Mail
Chartered Organization         Lds Ch‐Murfreesboro Stake                                Murfreesboro Ward                         901 E Clark Blvd                                         Murfreesboro, TN 37130                                                                         First Class Mail
Chartered Organization         Lds Ch‐Murfreesboro Stake                                Stones River 1st Ward                     902 E Clark Blvd                                         Murfreesboro, TN 37130‐2338                                                                    First Class Mail
Chartered Organization         Lds Ch‐Murfreesboro Stake                                Shelbyville Ward                          2508 Hwy 231 N                                           Shelbyville, TN 37160                                                                          First Class Mail
Chartered Organization         Lds Ch‐Murfreesboro Stake                                Gregory Mill Ward                         316 Mayfield Dr                                          Smyrna, TN 37167‐3002                                                                          First Class Mail
Chartered Organization         Lds Ch‐Murfreesboro Stake‐Buena Vista Br                 Middle Tennessee Council 560              1004 Woodridge Pl                                        Mount Juliet, TN 37122                                                                         First Class Mail
Chartered Organization         Lds Ch‐Murfreesboro Stake‐W Fork Ward                    Middle Tennessee Council 560              316 Mayfield Dr                                          Smyrna, TN 37167‐3002                                                                          First Class Mail
Chartered Organization         Lds Ch‐Nashville Stake‐Cumberland Ward                   Middle Tennessee Council 560              1240 Mcgavock Pike                                       Nashville, TN 37216‐3118                                                                       First Class Mail
Chartered Organization         Lds Ch‐Nashville Stake‐Old Hickory Ward                  Middle Tennessee Council 560              1646 Sunset Rd                                           Nolensville, TN 37135                                                                          First Class Mail
Chartered Organization         Lds Ch‐Nashville Stake‐Providence Ward                   Middle Tennessee Council 560              1646 Sunset Rd                                           Nolensville, TN 37135                                                                          First Class Mail
Chartered Organization         Lds Ch‐Nashville Stake‐Smith Spgs Ward                   Middle Tennessee Council 560              364 Haywood Ln                                           Nashville, TN 37211‐5452                                                                       First Class Mail
Chartered Organization         Lds Ch‐Newman Lake Ward                                  Spokane Vly Stake                         1670 N Mcguire Rd                                        Post Falls, ID 83854                                                                           First Class Mail
Chartered Organization         Lds Ch‐Nine Mile Falls Ward‐N Stake                      Inland Nwest Council 611                  5001 W Shawnee Ave                                       Spokane, WA 99208                                                                              First Class Mail
Chartered Organization         Lds Choctaw Ward Nlr Stake                               Quapaw Area Council 018                   55 Reed Rd                                               Greenbrier, AR 72058‐9502                                                                      First Class Mail
Chartered Organization         Lds Choctaw Ward Okc South Stake                         Last Frontier Council 480                 100 N Indian Meridian                                    Choctaw, OK 73020                                                                              First Class Mail
Chartered Organization         Lds Choctaw Ward Okc South Stake                         Last Frontier Council 480                 Reno & Indian Meridian                                   Choctaw, OK 73020                                                                              First Class Mail
Chartered Organization         Lds Chowchilla Ward Merced Stake                         Greater Yosemite Council 059              277 Howell                                               Chowchilla, CA 93610                                                                           First Class Mail
Chartered Organization         Lds Ch‐Painted Hills Ward‐ E Stake                       Inland Nwest Council 611                  13608 E 40th Ave                                         Spokane Valley, WA 99206                                                                       First Class Mail
Chartered Organization         Lds Ch‐Paradise Ridge Ward‐Moscow Stake                  Inland Nwest Council 611                  1375 Lundquist Ln                                        Moscow, ID 83843‐8003                                                                          First Class Mail
Chartered Organization         Lds Ch‐Ridgecrest Ward‐Spokane Vly Stake                 Inland NW Council 611                                                                                                                                                                             First Class Mail
Chartered Organization         Lds Christiansburg Ward                                  Pembroke Stake                            3338 Ironto Rd                                           Elliston, VA 24087‐3618                                                                        First Class Mail
Chartered Organization         Lds Christy Lane Ward Central Stake                      Las Vegas Area Council 328                1001 N Christy Ln                                        Las Vegas, NV 89110‐2531                                                                       First Class Mail
Chartered Organization         Lds Ch‐River Ridge Ward‐N Spokane Stake                  Inland Nwest Council 611                  5001 W Shawnee Ave                                       Spokane, WA 99208                                                                              First Class Mail
Chartered Organization         Lds Ch‐Rolling Hills Ward‐Moscow Stake                   Inland Nwest Council 611                  1040 S Mountain View Rd                                  Moscow, ID 83843                                                                               First Class Mail
Chartered Organization         Lds Ch‐Shadle Park Ward‐Spokane N Stake                  Inland Nwest Council 611                  2112 W Francis                                           Spokane, WA 99208                                                                              First Class Mail
Chartered Organization         Lds Ch‐Silver Lake Ward‐Spokane W Stake                  Inland Nwest Council 611                  10405 W Melville Rd                                      Cheney, WA 99004                                                                               First Class Mail
Chartered Organization         Lds Ch‐Sullivan Ward‐Spokane Vly Stake                   Inland Nwest Council 611                  5322 N Evergreen Rd                                      Spokane Valley, WA 99216‐1432                                                                  First Class Mail
Chartered Organization         Lds Ch‐Temple Terrace Ward‐Brandon Stake                 Greater Tampa Bay Area 089                13510 N 42nd St                                          Tampa, FL 33613‐4870                                                                           First Class Mail
Chartered Organization         Lds Chubbuck Stake ‐ Chubbuck 10Th Ward                  Grand Teton Council 107                   4773 Independence Ave                                    Chubbuck, ID 83202‐3020                                                                        First Class Mail
Chartered Organization         Lds Chubbuck Stake ‐ Chubbuck 11Th Ward                  Grand Teton Council 107                   4773 Independence Ave                                    Chubbuck, ID 83202‐3020                                                                        First Class Mail
Chartered Organization         Lds Chubbuck Stake ‐ Chubbuck 1St Ward                   Grand Teton Council 107                   4775 Hawthorne Rd                                        Chubbuck, ID 83202                                                                             First Class Mail
Chartered Organization         Lds Chubbuck Stake ‐ Chubbuck 2Nd Ward                   Grand Teton Council 107                   4775 Hawthorne Rd                                        Chubbuck, ID 83202                                                                             First Class Mail
Chartered Organization         Lds Chubbuck Stake ‐ Chubbuck 3Rd Ward                   Grand Teton Council 107                   4773 Independence Ave                                    Chubbuck, ID 83202‐3020                                                                        First Class Mail
Chartered Organization         Lds Chubbuck Stake ‐ Chubbuck 4Th Ward                   Grand Teton Council 107                   450 James Ave                                            Chubbuck, ID 83202                                                                             First Class Mail
Chartered Organization         Lds Chubbuck Stake ‐ Chubbuck 5Th Ward                   Grand Teton Council 107                   13979 W Siphon Rd                                        Chubbuck, ID 83202                                                                             First Class Mail
Chartered Organization         Lds Chubbuck Stake ‐ Chubbuck 6Th Ward                   Grand Teton Council 107                   13979 W Siphon Rd                                        Chubbuck, ID 83202                                                                             First Class Mail
Chartered Organization         Lds Chubbuck Stake ‐ Chubbuck 7Th Ward                   Grand Teton Council 107                   13979 W Siphon Rd                                        Chubbuck, ID 83202                                                                             First Class Mail
Chartered Organization         Lds Chubbuck Stake ‐ Chubbuck 9Th Ward                   Grand Teton Council 107                   13979 W Siphon Rd                                        Chubbuck, ID 83202                                                                             First Class Mail
Chartered Organization         Lds Chubbuck Stk‐Chubbuck 8Th Wd                         Grand Teton Council 107                   450 James Ave                                            Chubbuck, ID 83202                                                                             First Class Mail
Chartered Organization         Lds Chugach Foothills Ward ‐ Chugach Stake               Great Alaska Council 610                  8000 E 36Th Ave                                          Anchorage, AK 99504‐4105                                                                       First Class Mail
Chartered Organization         Lds Chula Vista ‐ Chula Vista 1St Ward                   San Diego Imperial Council 049            790 Rancho Del Rey Pkwy                                  Chula Vista, CA 91910‐8072                                                                     First Class Mail
Chartered Organization         Lds Chula Vista ‐ Chula Vista 2Nd Ward                   San Diego Imperial Council 049            790 Rancho Del Rey Pkwy                                  Chula Vista, CA 91910‐8072                                                                     First Class Mail
Chartered Organization         Lds Chula Vista ‐ Chula Vista 3Rd Ward                   San Diego Imperial Council 049            1590 E H St                                              Chula Vista, CA 91913‐2009                                                                     First Class Mail
Chartered Organization         Lds Chula Vista ‐ Harbor Ward                            San Diego Imperial Council 049            1590 E H St                                              Chula Vista, CA 91913‐2009                                                                     First Class Mail
Chartered Organization         Lds Chula Vista ‐ Imperial Beach Ward                    San Diego Imperial Council 049            1515 Elder Ave                                           San Diego, CA 92154                                                                            First Class Mail
Chartered Organization         Lds Chula Vista ‐ Loma Verde Ward                        San Diego Imperial Council 049            790 Rancho Del Rey Pkwy                                  Chula Vista, CA 91910‐8072                                                                     First Class Mail
Chartered Organization         Lds Chula Vista ‐ Otay Lakes Ward                        San Diego Imperial Council 049            1590 E H St                                              Chula Vista, CA 91913‐2009                                                                     First Class Mail
Chartered Organization         Lds Church                                               Chewelah Ward‐Colville Stake              2028 Steinmetz Rd                                        Chewelah, WA 99109                                                                             First Class Mail
Chartered Organization         Lds Church                                               Santa Fe Trail Council 194                2510 6th Ave                                             Dodge City, KS 67801‐2439                                                                      First Class Mail
Chartered Organization         Lds Church                                               Mid Iowa Council 177                      2565 Palm Blvd                                           Fairfield, IA 52556‐8820                                                                       First Class Mail
Chartered Organization         Lds Church                                               Grangeville Ward‐ Lewiston Stake          403 N Blvd                                               Grangeville, ID 83530                                                                          First Class Mail
Chartered Organization         Lds Church                                               Northern New Jersey Council, Bsa 333      30 Youngs Rd                                             Mahwah, NJ 07430                                                                               First Class Mail
Chartered Organization         Lds Church                                               Northern New Jersey Council, Bsa 333      30 Youngs Rd                                             Mahwah, NJ 07430                                                                               First Class Mail
Chartered Organization         Lds Church                                               Tukabatchee Area Council 005              3460 Carter Hill Rd                                      Montgomery, AL 36111‐1808                                                                      First Class Mail
Chartered Organization         Lds Church                                               Sunnyside Ward‐ Sandpoint Stake           602 Schweitzer Cutoff Rd                                 Sandpoint, ID 83864                                                                            First Class Mail
Chartered Organization         Lds Church                                               Moraine Trails Council 500                817 S Pike Rd                                            Sarver, PA 16055                                                                               First Class Mail
Chartered Organization         Lds Church                                               East Carolina Council 426                 1207 Forest Dr                                           Trent Woods, NC 28562‐4519                                                                     First Class Mail
Chartered Organization         Lds Church                                               Muskingum Valley Council, Bsa 467         200 Baker Trl                                            Vincent, OH 45784‐9069                                                                         First Class Mail
Chartered Organization         Lds Church                                               Tukabatchee Area Council 005              1405 Chapel Rd                                           Wetumpka, AL 36092                                                                             First Class Mail
Chartered Organization         Lds Church ‐ Ames 1St Ward                               Mid Iowa Council 177                      2524 Hoover Ave                                          Ames, IA 50010‐4454                                                                            First Class Mail
Chartered Organization         Lds Church ‐ Ames 2Nd Ward                               Mid Iowa Council 177                      644 Garnet Dr                                            Ames, IA 50010‐8417                                                                            First Class Mail
Chartered Organization         Lds Church ‐ Ankeny Ward                                 Mid Iowa Council 177                      721 E 1st St                                             Ankeny, IA 50021                                                                               First Class Mail
Chartered Organization         Lds Church ‐ Beaver Creek Ward                           Mid Iowa Council 177                      3301 Ashworth Rd                                         West Des Moines, IA 50265‐3137                                                                 First Class Mail
Chartered Organization         Lds Church ‐ Boone                                       Mid Iowa Council 177                      1505 2nd St                                              Boone, IA 50036‐4306                                                                           First Class Mail
Chartered Organization         Lds Church ‐ Boone Ward Ames Stake                       Mid Iowa Council 177                      P.O. Box 221                                             Ogden, IA 50212‐0221                                                                           First Class Mail
Chartered Organization         Lds Church ‐ Des Moines Ward                             Mid Iowa Council 177                      2101 Evergreen Ave                                       Des Moines, IA 50320‐1426                                                                      First Class Mail
Chartered Organization         Lds Church ‐ Dobson Branch                               Old Hickory Council 427                   307 Brookwood Dr                                         Elkin, NC 28621‐3107                                                                           First Class Mail
Chartered Organization         Lds Church ‐ Dodge City Ward                             Santa Fe Trail Council 194                2508 6th Ave                                             Dodge City, KS 67801                                                                           First Class Mail
Chartered Organization         Lds Church ‐ Easter Lake Ward                            Mid Iowa Council 177                      2101 Evergreen Ave                                       Des Moines, IA 50320‐1426                                                                      First Class Mail
Chartered Organization         Lds Church ‐ Indianola Branch                            Mid Iowa Council 177                      807 N 15th St                                            Indianola, IA 50125‐1572                                                                       First Class Mail
Chartered Organization         Lds Church ‐ Kettering Ward                              Miami Valley Council, Bsa 444             287 Wayside Dr                                           Beavercreek, OH 45440‐3377                                                                     First Class Mail
Chartered Organization         Lds Church ‐ Osceola Ward                                Mid Iowa Council 177                      2519 Hwy 34                                              Osceola, IA 50213                                                                              First Class Mail
Chartered Organization         Lds Church ‐ Perry Branch                                Mid Iowa Council 177                      2008 8th St                                              Perry, IA 50220                                                                                First Class Mail
Chartered Organization         Lds Church ‐ Ramstein Military Ward                      Transatlantic Council, Bsa 802            Lauter Str 1                                             Kaiserslautern, 67657              Germany                                                     First Class Mail
Chartered Organization         Lds Church ‐ Scott City Ward                             Santa Fe Trail Council 194                2510 E Hwy 96                                            Scott City, KS 67871‐4156                                                                      First Class Mail
Chartered Organization         Lds Church ‐ Walnut Hills Ward                           Mid Iowa Council 177                      400 Pleasant View Dr                                     Waukee, IA 50263                                                                               First Class Mail
Chartered Organization         Lds Church ‐ Waukee Ward                                 Mid Iowa Council 177                      400 Pleasant View Dr                                     Waukee, IA 50263                                                                               First Class Mail
Chartered Organization         Lds Church ‐ West Des Moines                             Mid Iowa Council 177                      3301 Ashworth Rd                                         West Des Moines, IA 50265‐3137                                                                 First Class Mail
Chartered Organization         Lds Church 2Nd Ward                                      W D Boyce 138                             1700 Hovey Ave                                           Normal, IL 61761‐4314                                                                          First Class Mail
Chartered Organization         Lds Church Allatoona Ward                                Atlanta Area Council 092                  2205 Bascomb Carmel Rd                                   Woodstock, GA 30189‐2401                                                                       First Class Mail
Chartered Organization         Lds Church Ashcroft Ward Greeley Stake                   Longs Peak Council 062                    2116 23rd St                                             Greeley, CO 80631                                                                              First Class Mail
Chartered Organization         Lds Church Atlanta Brockett Ward                         Atlanta Area Council 092                  1947 Brockett Rd                                         Tucker, GA 30084‐6428                                                                          First Class Mail
Chartered Organization         Lds Church Atlanta Stake Atlanta Ward                    Atlanta Area Council 092                  1469 Lee St Sw                                           Atlanta, GA 30310‐4048                                                                         First Class Mail
Chartered Organization         Lds Church Austin Ward                                   Twin Valley Council Bsa 283               404 31st St Nw                                           Austin, MN 55912‐9323                                                                          First Class Mail
Chartered Organization         Lds Church Beebe Branch Searcy Stake                     Quapaw Area Council 018                   190 Hwy 321                                              Beebe, AR 72012‐9726                                                                           First Class Mail
Chartered Organization         Lds Church Berthoud Ward Loveland Stake                  Longs Peak Council 062                    550 Spartan Ave                                          Berthoud, CO 80513                                                                             First Class Mail
Chartered Organization         Lds Church Bitburg Ward                                  Transatlantic Council, Bsa 802            Thilmanystrasse 8                                        Bitburg,                           Germany                                                     First Class Mail
Chartered Organization         Lds Church Bloomington 1St Ward                          W D Boyce 138                             1628 Hovey Ave                                           Normal, IL 61761                                                                               First Class Mail
Chartered Organization         Lds Church Bloomington Ward                              W D Boyce 138                             1700 Hovey Ave                                           Normal, IL 61761‐4314                                                                          First Class Mail
Chartered Organization         Lds Church‐ Bonners Ferry 1St Ward                       Sandpoint Stake                           1860 Highland Flats Rd                                   Naples, ID 83847‐5228                                                                          First Class Mail
Chartered Organization         Lds Church Bonners Ferry Ward                            Sandpoint Stake                           1512 Alderson Lane                                       Bonners Ferry Idaho, ID 83805                                                                  First Class Mail
Chartered Organization         Lds Church Booneville Ward                               Yocona Area Council 748                   404 W George E Allen Dr                                  Booneville, MS 38829‐1100                                                                      First Class Mail
Chartered Organization         Lds Church Boulder Ward Boulder Stake                    Longs Peak Council 062                    4655 Table Mesa Dr                                       Boulder, CO 80305                                                                              First Class Mail
Chartered Organization         Lds Church Boulder Ward Boulder Stake                    Longs Peak Council 062                    625 E Wiggins St                                         Superior, CO 80027‐8009                                                                        First Class Mail
Chartered Organization         Lds Church Boyd Lake Ward Loveland Stake                 Longs Peak Council 062                    3800 Mountain Lion Dr                                    Loveland, CO 80537                                                                             First Class Mail
Chartered Organization         Lds Church Brainerd                                      Cherokee Area Council 556                 3067 Ooltewah Ringgold Rd                                Ooltewah, TN 37363                                                                             First Class Mail
Chartered Organization         Lds Church Cabot Ward Nlr Stake                          Quapaw Area Council 018                   6110 T P White Rd                                        Jacksonville, AR 72076                                                                         First Class Mail
Chartered Organization         Lds Church Cda 1St Ward ‐ Cda Stake                      Inland Nwest Council 611                  2801 N 4th St                                            Coeur D Alene, ID 83815‐3706                                                                   First Class Mail
Chartered Organization         Lds Church Cda 2Nd Ward ‐ Cda Stake                      Inland Nwest Council 611                  2801 N 4th St                                            Coeur D Alene, ID 83815‐3706                                                                   First Class Mail
Chartered Organization         Lds Church Cda 3Rd Ward ‐ Cda Stake                      Inland Nwest Council 611                  2801 N 4th St                                            Coeur D Alene, ID 83815‐3706                                                                   First Class Mail
Chartered Organization         Lds Church Centennial Ward Greeley Stake                 Longs Peak Council 062                    501 49th Ave                                             Greeley, CO 80634‐1212                                                                         First Class Mail
Chartered Organization         Lds Church Chattanooga Branch                            Cherokee Area Council 556                 407 E 5th St                                             Chattanooga, TN 37403‐1843                                                                     First Class Mail
Chartered Organization         Lds Church Chattanooga Valley                            Cherokee Area Council 556                 4226 N Hwy 341                                           Flintstone, GA 30725‐6203                                                                      First Class Mail
Chartered Organization         Lds Church Cherry Creek Ward                             Denver Area Council 061                   4701 S Chambers Rd                                       Aurora, CO 80015‐1777                                                                          First Class Mail
Chartered Organization         Lds Church Clark Fork Branch                             Sandpoint Stake                           603 N Stevens St                                         Clark Fork, ID 83811                                                                           First Class Mail
Chartered Organization         Lds Church Clarkston 1St Ward                            Lewiston Stake                            1123 16th Ave                                            Clarkston, WA 99403‐2810                                                                       First Class Mail
Chartered Organization         Lds Church Clarkston 2Nd Ward                            Lewiston Stake                            1123 16th Ave                                            Clarkston, WA 99403‐2810                                                                       First Class Mail
Chartered Organization         Lds Church Cleveland                                     Cherokee Area Council 556                 4200 Pryor Rd Ne                                         Cleveland, TN 37312‐4976                                                                       First Class Mail
Chartered Organization         Lds Church Coal Creek Ward Boulder Stake                 Longs Peak Council 062                    701 W S Boulder Rd                                       Louisville, CO 80027‐2420                                                                      First Class Mail
Chartered Organization         Lds Church Conway 1St Ward Nlr Stake                     Quapaw Area Council 018                   2405 Dave Ward Dr                                        Conway, AR 72034‐8692                                                                          First Class Mail
Chartered Organization         Lds Church Dalton Gardens Ward                           Hayden Stake                              2293 W Hanley                                            Coeur D Alene, ID 83815                                                                        First Class Mail
Chartered Organization         Lds Church‐ Davenport Branch‐West Stake                  Inland Nwest Council 611, 8th & Lincoln   Davenport, WA 99122                                                                                                                                     First Class Mail
Chartered Organization         Lds Church Dayton                                        Cherokee Area Council 556                 3372 Rhea County Hwy                                     Dayton, TN 37321‐5807                                                                          First Class Mail
Chartered Organization         Lds Church Deer Lake Ward                                Colville Stake                            P.O. Box 957                                             Deer Park, WA 99006‐0957                                                                       First Class Mail
Chartered Organization         Lds Church Eastridge Ward Cheyenne Stake                 Longs Peak Council 062                    3312 E Lincolnway                                        Cheyenne, WY 82001‐6126                                                                        First Class Mail
Chartered Organization         Lds Church Eaton Ward Greeley Stake                      Longs Peak Council 062                    501 49th Ave                                             Greeley, CO 80634‐1212                                                                         First Class Mail
Chartered Organization         Lds Church Eaton Ward Windsor Stake                      Longs Peak Council 062                    5516 W 2nd St Rd                                         Greeley, CO 80634‐4200                                                                         First Class Mail
Chartered Organization         Lds Church Elkhorn Creek Ward                            Blue Grass Council 204                    215 Wellington Way                                       Georgetown, KY 40324‐2655                                                                      First Class Mail
Chartered Organization         Lds Church Etowah Valley Ward                            Northwest Georgia Council 100             20 Shagbark Dr Sw                                        Cartersville, GA 30120‐8607                                                                    First Class Mail
Chartered Organization         Lds Church Freehold Ward                                 Monmouth Council, Bsa 347                 136 Wemrock Rd                                           Freehold, NJ 07728                                                                             First Class Mail
Chartered Organization         Lds Church Frontier Ward Cheyenne Stake                  Longs Peak Council 062                    3312 E Lincolnway                                        Cheyenne, WY 82001‐6126                                                                        First Class Mail
Chartered Organization         Lds Church Georgetown Ward                               Blue Grass Council 204                    215 Wellington Way                                       Georgetown, KY 40324‐2655                                                                      First Class Mail
Chartered Organization         Lds Church Glenmere Ward Greeley Stake                   Longs Peak Council 062                    2116 23rd Ave                                            Greeley, CO 80634‐6631                                                                         First Class Mail
Chartered Organization         Lds Church Government Springs Ward                       Cimarron Council 474                      419 N Eisenhower St                                      Enid, OK 73703‐3814                                                                            First Class Mail
Chartered Organization         Lds Church Grovetown Ward                                Georgia‐Carolina 093                      470 N Louisville St                                      Harlem, GA 30814                                                                               First Class Mail
Chartered Organization         Lds Church Harmony Ward Ft Collins Stake                 Longs Peak Council 062                    1320 W Harmony Rd                                        Ft Collins, CO 80526                                                                           First Class Mail
Chartered Organization         Lds Church Harrison Bay                                  Cherokee Area Council 556                 3067 Ooltewah Ringgold Rd                                Ooltewah, TN 37363                                                                             First Class Mail
Chartered Organization         Lds Church Havelock Ward                                 East Carolina Council 426                 125 Mccotter Blvd                                        Havelock, NC 28532‐1631                                                                        First Class Mail
Chartered Organization         Lds Church Hayden 1St Ward                               Hayden Stake                              Inland Nwest Council 611                                 Maple & Honeysuckle                Hayden Lake, ID 83835                                       First Class Mail
Chartered Organization         Lds Church Hayden 2Nd Ward                               Hayden Stake                              870 E Loch Maree Dr                                      Hayden Lake, ID 83835‐8297                                                                     First Class Mail
Chartered Organization         Lds Church Hayden 3Rd Ward                               Hayden Stake                              2293 W Hanley Ave                                        Coeur D Alene, ID 83815                                                                        First Class Mail
Chartered Organization         Lds Church Hayden 4Th Ward                               Hayden Stake                              2293 W Hanley Ave                                        Coeur D Alene, ID 83815                                                                        First Class Mail
Chartered Organization         Lds Church Hilliard Ward                                 Simon Kenton Council 441                  1001 Doherty Rd                                          Galloway, OH 43119‐8712                                                                        First Class Mail
Chartered Organization         Lds Church Hixson                                        Cherokee Area Council 556                 3010 Hamill Rd                                           Hixson, TN 37343‐3322                                                                          First Class Mail
Chartered Organization         Lds Church‐ Indiana Spanish Branch                       Spokane West Stake                        732 W Indiana Ave                                        Spokane, WA 99205‐4626                                                                         First Class Mail
Chartered Organization         Lds Church‐ Ione Metaline Falls Branch                   Colville Stake                            P.O. Box 701                                             Ione, WA 99139‐0701                                                                            First Class Mail
Chartered Organization         Lds Church Johnstown Ward Windsor Stake                  Longs Peak Council 062                    3435 Brunner Blvd                                        Johnstown, CO 80534                                                                            First Class Mail
Chartered Organization         Lds Church Kellogg Ward ‐ Hayden Stake                   Inland Nwest Council 611                  902 S Div St                                             Pinehurst, ID 83850                                                                            First Class Mail
Chartered Organization         Lds Church Kent Island Ward                              Baltimore Area Council 220                110 Goodhand Creek Rd                                    Chester, MD 21619‐2894                                                                         First Class Mail
Chartered Organization         Lds Church Lafayette Ward Boulder Stake                  Longs Peak Council 062                    701 E S Boulder Rd                                       Louisville, CO 80027                                                                           First Class Mail
Chartered Organization         Lds Church Lakeland 1St Ward                             Hayden Stake                              15151 N Meyer Rd                                         Rathdrum, ID 83858                                                                             First Class Mail
Chartered Organization         Lds Church Lewis Center Ward                             Simon Kenton Council 441                  450 N Liberty St                                         Powell, OH 43065‐8063                                                                          First Class Mail
Chartered Organization         Lds Church Longs Peak Ward Longmont                      Longs Peak Council 062                    200 2nd Ave                                              Lyons, CO 80540                                                                                First Class Mail
Chartered Organization         Lds Church Louisville Ward Boulder Stake                 Longs Peak Council 062                    701 W S Boulder Rd                                       Louisville, CO 80027‐2420                                                                      First Class Mail
Chartered Organization         Lds Church Madison 3Rd Ward                              Greater Alabama Council 001               1297 Slaughter Rd                                        Madison, AL 35758                                                                              First Class Mail
Chartered Organization         Lds Church Manito Ward‐ Spokane Stake                    Inland Nwest Council 611                  1620 E 29th Ave                                          Spokane, WA 99203‐3915                                                                         First Class Mail
Chartered Organization         Lds Church Mexico Beach Branch                           Gulf Coast Council 773                    318 Robin Ln                                             Mexico Beach, FL 32456                                                                         First Class Mail
Chartered Organization         Lds Church Milliken Ward Windsor Stake                   Longs Peak Council 062                    3435 Brunner Blvd                                        Johnstown, CO 80534                                                                            First Class Mail
Chartered Organization         Lds Church Morgantown                                    Mountaineer Area 615                      161 Meadow View Ln                                       Morgantown, WV 26508                                                                           First Class Mail
Chartered Organization         Lds Church Morrilton Branch                              Quapaw Area Council 018                   Highway 9 S                                              Morrilton, AR 72110                                                                            First Class Mail
Chartered Organization         Lds Church New Albany 1St Ward                           Simon Kenton Council 441                  5835 Central College Rd                                  New Albany, OH 43054                                                                           First Class Mail
Chartered Organization         Lds Church New Albany 2Nd Ward                           Simon Kenton Council 441                  5835 Central College Rd                                  New Albany, OH 43054                                                                           First Class Mail
Chartered Organization         Lds Church Newport Ward                                  Sandpoint Stake                           10552 Deer Valley Rd                                     Newport, WA 99156‐8783                                                                         First Class Mail
Chartered Organization         Lds Church‐ Newport Ward                                 Inland Nwest Council 611                  P.O. Box 581                                             Newport, WA 99156‐0581                                                                         First Class Mail
Chartered Organization         Lds Church Nlr Ward Nlr Stake                            Quapaw Area Council 018                   905 Kierre Dr                                            North Little Rock, AR 72116‐3709                                                               First Class Mail
Chartered Organization         Lds Church Normal Ward                                   W D Boyce 138                             1628 Hovey Ave                                           Normal, IL 61761                                                                               First Class Mail
Chartered Organization         Lds Church Northpoint Ward‐North Stake                   Inland Nwest Council 611                  401 W Regina                                             Spokane, WA 99208                                                                              First Class Mail
Chartered Organization         Lds Church Of Jesus Christ                               Illowa Council 133                        1125 Wwood Dr                                            De Witt, IA 52742                                                                              First Class Mail
Chartered Organization         Lds Church Of Jesus Christ                               Simon Kenton Council 441                  15 Rock Creek Dr                                         Delaware, OH 43015‐4208                                                                        First Class Mail
Chartered Organization         Lds Church Of Jesus Christ Lewis Center                  Simon Kenton Council 441                  450 N Liberty St                                         Powell, OH 43065‐8063                                                                          First Class Mail
Chartered Organization         Lds Church Of Jesus Christ Marysville                    Simon Kenton Council 441                  740 W 3rd St                                             Marysville, OH 43040‐1006                                                                      First Class Mail
Chartered Organization         Lds Church Of Jesus Christ Marysville                    Simon Kenton Council 441                  535 Wilderness Rd                                        Marysville, OH 43040‐5569                                                                      First Class Mail
Chartered Organization         Lds Church Of Jesus Christ Piedmont Ward                 Fredricksburg Stake                       420 Willow Lawn Dr                                       Culpeper, VA 22701‐4005                                                                        First Class Mail
Chartered Organization         Lds Church Of Lds                                        Montana Council 315                       2929 Belvedere Dr                                        Billings, MT 59102‐3716                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                        Page 201 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                       Filed 01/06/22                                                   Page 217 of 457
                                                                                                                                                                      Exhibit B
                                                                                                                                                                       Service List
                                                                                                                                                                Served as set forth below

        Description                                                       Name                                                                                      Address                                                                                                       Email              Method of Service
Chartered Organization         Lds Church Of Tupelo                                     Yocona Area Council 748                1085 S Thomas St                                           Tupelo, MS 38801                                                                                First Class Mail
Chartered Organization         Lds Church Of Tupelo                                     Yocona Area Council 748                840 So Thomas St                                           Tupelo, MS 38801                                                                                First Class Mail
Chartered Organization         Lds Church Old Town Ward Mt Vernon Stake                 National Capital Area Council 082      6219 Villa St                                              Alexandria, VA 22310‐1725                                                                       First Class Mail
Chartered Organization         Lds Church‐ Palouse Ward‐ Spokane Stake                  Inland Nwest Council 611               2721 E 63rd Ave                                            Spokane, WA 99223‐5046                                                                          First Class Mail
Chartered Organization         Lds Church Patuxent Ward Suitland                        National Capital Area Council 082      22747 Old Rolling Rd                                       California, MD 20619                                                                            First Class Mail
Chartered Organization         Lds Church Peak View Ward Longmont Stake                 Longs Peak Council 062                 9029 Grand Mesa Ave                                        Longmont, CO 80504‐5817                                                                         First Class Mail
Chartered Organization         Lds Church Peak View Ward Windsor Stake                  Longs Peak Council 062                 301 49th Ave                                               Greeley, CO 80634‐4319                                                                          First Class Mail
Chartered Organization         Lds Church Petoskey Branch                               President Gerald R Ford 781            707 Alcan Dr                                               Petoskey, MI 49770                                                                              First Class Mail
Chartered Organization         Lds Church Picayune Ward                                 Pine Burr Area Council 304             1720 Read Rd                                               Picayune, MS 39466‐2704                                                                         First Class Mail
Chartered Organization         Lds Church Plummer Branch ‐ Cda Stake                    Inland Nwest Council 611               P.O. Box 555                                               Tekoa, WA 99033‐0555                                                                            First Class Mail
Chartered Organization         Lds Church Post Falls 1St Ward                           Cda Stake                              1670 N Mcguire Rd                                          Post Falls, ID 83854                                                                            First Class Mail
Chartered Organization         Lds Church Post Falls 2Nd Ward                           Cda Stake                              1824 E 16th Ave                                            Post Falls, ID 83854‐9061                                                                       First Class Mail
Chartered Organization         Lds Church Post Falls 3Rd Ward                           Cda Stake                              1670 N Mcguire Rd                                          Post Falls, ID 83854                                                                            First Class Mail
Chartered Organization         Lds Church Post Falls 4Th Ward                           Cda Stake                              1824 E 16th Ave                                            Post Falls, ID 83854‐9061                                                                       First Class Mail
Chartered Organization         Lds Church Priest River Ward                             Sandpoint Stake                        Inland Nwest Council 611                                   W Albeni Rd (Hwy 2)              Priest River, ID 83856                                         First Class Mail
Chartered Organization         Lds Church Purvis Ward                                   Pine Burr Area Council 304             2502 Old Hwy 24                                            Hattiesburg, MS 39402‐8311                                                                      First Class Mail
Chartered Organization         Lds Church Ridge View Ward Laramie Stake                 Longs Peak Council 062                 1651 Nottage Ct                                            Laramie, WY 82072‐5085                                                                          First Class Mail
Chartered Organization         Lds Church Ridgeview Ward Laramie Stake                  Longs Peak Council 062                 3311 Hayford Ave                                           Laramie, WY 82072‐5088                                                                          First Class Mail
Chartered Organization         Lds Church Ridgeway Ward                                 Indian Waters Council 553              1391 Centerville Rd                                        Ridgeway, SC 29130                                                                              First Class Mail
Chartered Organization         Lds Church Ridgeway Ward                                 Indian Waters Council 553              1391 Centerville Rd                                        Ridgeway, SC 29130                                                                              First Class Mail
Chartered Organization         Lds Church Roswell Ward                                  Atlanta Area Council 092               500 Norcross St                                            Roswell, GA 30075‐3861                                                                          First Class Mail
Chartered Organization         Lds Church San Benito                                    Rio Grande Council 775                 919 Ballenger St                                           San Benito, TX 78586‐2723                                                                       First Class Mail
Chartered Organization         Lds Church Sandpoint Ward                                Sandpoint Stake                        602 Schweitzer Cutoff Rd                                   Sandpoint, ID 83864                                                                             First Class Mail
Chartered Organization         Lds Church Sauk Rapids                                   Central Minnesota 296                  852 1st St N                                               Sauk Rapids, MN 56379                                                                           First Class Mail
Chartered Organization         Lds Church Searcy Ward Nlr Stake                         Quapaw Area Council 018                2212 E Country Club Rd                                     Searcy, AR 72143‐7004                                                                           First Class Mail
Chartered Organization         Lds Church Severance Ward Windsor Stake                  Longs Peak Council 062                 504 49th Ave                                               Greeley, CO 80634‐1211                                                                          First Class Mail
Chartered Organization         Lds Church Severance Ward Windsor Stake                  Longs Peak Council 062                 500 Hillspire Dr                                           Windsor, CO 80550‐5034                                                                          First Class Mail
Chartered Organization         Lds Church Sidney Ward Cheyenne Stake                    Longs Peak Council 062                 486 Toledo St                                              Sidney, NE 69162                                                                                First Class Mail
Chartered Organization         Lds Church Signal Mountain                               Cherokee Area Council 556              1160 Ridgeway Ave                                          Signal Mountain, TN 37377‐3125                                                                  First Class Mail
Chartered Organization         Lds Church South Pittsburg                               Cherokee Area Council 556              2700 Main St                                               Jasper, TN 37347‐5440                                                                           First Class Mail
Chartered Organization         Lds Church Southshore Ward                               Denver Area Council 061                25137 E Davies Dr                                          Aurora, CO 80016‐6093                                                                           First Class Mail
Chartered Organization         Lds Church Sterling Ward Greeley Stake                   Longs Peak Council 062                 517 N 7th Ave                                              Sterling, CO 80751                                                                              First Class Mail
Chartered Organization         Lds Church Stuttgart                                     Transatlantic Council, Bsa 802         Deidesheimer Strasse 39                                    Stuttgart‐Weilimdorf, 70499      Germany                                                        First Class Mail
Chartered Organization         Lds Church Summerville 3Rd Ward                          Coastal Carolina Council 550           511 E N St                                                 Summerville, SC 29483                                                                           First Class Mail
Chartered Organization         Lds Church Sunnyside Ward                                Sandpoint Stake                        602 Sweitzer Cutoff Rd                                     Sandpoint, ID 83864                                                                             First Class Mail
Chartered Organization         Lds Church Sunrise Ward Cheyenne Stake                   Longs Peak Council 062                 3312 E Lincolnway                                          Cheyenne, WY 82001‐6126                                                                         First Class Mail
Chartered Organization         Lds Church Sweetgrass Creek Ward                         Montana Council 315                    4221 Rimrock Rd                                            Billings, MT 59106‐1420                                                                         First Class Mail
Chartered Organization         Lds Church Timberlake Ward                               Hayden Stake                           P.O. Box 560                                               Rathdrum, ID 83858‐0560                                                                         First Class Mail
Chartered Organization         Lds Church Ulysses Ward                                  Santa Fe Trail Council 194             201 E Maize Ave                                            Ulysses, KS 67880                                                                               First Class Mail
Chartered Organization         Lds Church Ulysses Ward                                  Santa Fe Trail Council 194             201 W Maize                                                Ulysses, KS 67880                                                                               First Class Mail
Chartered Organization         Lds Church Union Ward Longmont Stake                     Longs Peak Council 062                 1721 Red Cloud Rd                                          Longmont, CO 80504‐2083                                                                         First Class Mail
Chartered Organization         Lds Church‐ Upriver Ward‐ Mt Spokane Stk                 Inland Nwest Council 611               808 E Sitka Ave                                            Spokane, WA 99208‐5529                                                                          First Class Mail
Chartered Organization         Lds Church Ute Creek Ward Longmont Stake                 Longs Peak Council 062                 1721 Red Cloud Rd                                          Longmont, CO 80504‐2083                                                                         First Class Mail
Chartered Organization         Lds Church Wamego Branch                                 Coronado Area Council 192              4483 Vineyard Rd                                           Wamego, KS 66547                                                                                First Class Mail
Chartered Organization         Lds Church Warwick Ward                                  Narragansett 546                       1000 Narragansett Pkwy                                     Warwick, RI 02888‐4713                                                                          First Class Mail
Chartered Organization         Lds Church West Lake Ward Loveland Stake                 Longs Peak Council 062                 1445 W 28th St                                             Loveland, CO 80538                                                                              First Class Mail
Chartered Organization         Lds Church‐ West Terrace‐ West Stake                     Inland Nwest Council 611               10405 W Melville Rd                                        Cheney, WA 99004                                                                                First Class Mail
Chartered Organization         Lds Church Westmond Ward                                 Sandpoint Stake                        300 Missouri Ridge Rd                                      Sagle, ID 83860‐5083                                                                            First Class Mail
Chartered Organization         Lds Church Wexford Ward                                  Laurel Highlands Council 527           2210 Reis Run Rd                                           Pittsburgh, PA 15237                                                                            First Class Mail
Chartered Organization         Lds Church Wheatland Ward Cheyenne Stake                 Longs Peak Council 062                 523 Ferguson Rd                                            Wheatland, WY 82201‐9008                                                                        First Class Mail
Chartered Organization         Lds Church Windsor Ward Windsor Stake                    Longs Peak Council 062                 6521 Carmichael St                                         Fort Collins, CO 80528‐7195                                                                     First Class Mail
Chartered Organization         Lds Church Woodmere Ward Loveland Stake                  Longs Peak Council 062                 1445 W 28th St                                             Loveland, CO 80538                                                                              First Class Mail
Chartered Organization         Lds Church Worthington Branch                            Sioux Council 733                      1118 W Lake Ave                                            Worthington, MN 56187‐3004                                                                      First Class Mail
Chartered Organization         Lds Church, Beijing Branch                               Far E Council 803, 410 Golden Tower    Beijing,                                                   China                                                                                           First Class Mail
Chartered Organization         Lds Church‐1St Ward‐Spokane Stake                        Inland Nwest Council 611               1620 E 29th Ave                                            Spokane, WA 99203‐3915                                                                          First Class Mail
Chartered Organization         Lds Church‐2Nd Ward‐Colville Stake                       Inland Nwest Council 611               539A Orin Rice Rd                                          Christy Johnson                  Colville, WA 99114                                             First Class Mail
Chartered Organization         Lds Church‐2Nd Ward‐Colville Stake                       c/o Joel Carnline                      579 Orin Rice Rd                                           Colville, WA 99114‐5000                                                                         First Class Mail
Chartered Organization         Lds Church‐6Th Ward‐Spokane Stake                        Inland Nwest Council 611               4444 N E St 43Rd                                           Spokane, WA 99205                                                                               First Class Mail
Chartered Organization         Lds Church‐Adams Ward‐Spokane East Stake                 Inland Nwest Council 611               14111 E 16Th                                               Spokane, WA 99216                                                                               First Class Mail
Chartered Organization         Lds Church‐Autumn Crest Ward‐Sp E Stake                  Inland Nwest Council 611               16th and Evergreen                                         Spokane, WA 99216                                                                               First Class Mail
Chartered Organization         Lds Church‐Beacon Hill Ward‐Mt Spkn Stk                  Inland Nwest Council 611               5302 E Greenbluff Rd                                       Colbert, WA 99005‐9672                                                                          First Class Mail
Chartered Organization         Lds Church‐Belvidere Ward                                Blackhawk Area 660                     324 University Dr                                          Rockford, IL 61107‐5315                                                                         First Class Mail
Chartered Organization         Lds Church‐Bemidji Ward‐Fargo Nd Stake                   Voyageurs Area 286                     3033 Birchmont Dr Ne                                       Bemidji, MN 56601                                                                               First Class Mail
Chartered Organization         Lds Church‐Brandon Ward‐Brandon Stake                    Greater Tampa Bay Area 089             1412 John Moore Rd                                         Brandon, FL 33511‐6306                                                                          First Class Mail
Chartered Organization         Lds Church‐Brooksville Ward‐Tampa Stake                  Greater Tampa Bay Area 089             21043 Yontz Rd                                             Brooksville, FL 34601‐1677                                                                      First Class Mail
Chartered Organization         Lds Church‐Chester Creek Ward‐East Stake                 Inland Nwest Council 611               13608 E 40th Ave                                           Spokane Valley, WA 99206                                                                        First Class Mail
Chartered Organization         Lds Church‐Clayton Ward‐Colville Stake                   Inland Nwest Council 611               34221 N Newport Hwy                                        Chattaroy, WA 99003‐5127                                                                        First Class Mail
Chartered Organization         Lds Church‐Colbert Ward‐North Stake                      Inland Nwest Council 611               401 W Regina Dr                                            Spokane, WA 99218                                                                               First Class Mail
Chartered Organization         Lds Church‐Crockett Ward                                 Middle Tennessee Council 560           1646 Sunset Rd                                             Brentwood, TN 37027‐3502                                                                        First Class Mail
Chartered Organization         Lds Church‐Dade City Ward‐Tampa Stake                    Greater Tampa Bay Area 089             9016 Fort King Rd                                          Dade City, FL 33525                                                                             First Class Mail
Chartered Organization         Lds Church‐Deer Park Ward‐Colville Stake                 Inland Nwest Council 611               34221 N Newport Hwy                                        Chattaroy, WA 99003‐5127                                                                        First Class Mail
Chartered Organization         Lds Church‐Dishman Hills‐East Stake                      Inland Nwest Council 611               40th and Bowdish                                           Spokane, WA 99206                                                                               First Class Mail
Chartered Organization         Lds Church‐Duluth Ward‐Duluth Stake                      Voyageurs Area 286                     521 Upham Rd                                               Duluth, MN 55811‐5534                                                                           First Class Mail
Chartered Organization         Lds Church‐Foothills Ward‐Mt Spkn Stk                    Inland Nwest Council 611               5113 N Mcdonald Rd                                         Spokane Valley, WA 99216‐3037                                                                   First Class Mail
Chartered Organization         Lds Church‐Franklin Stake                                Thompsons Station 2nd Ward             Middle Tennessee Council 560                               2998 Commonwealth Dr             Thompsons Station First Ward   Spring Hill, TN 37174           First Class Mail
Chartered Organization         Lds Church‐Franklin Stake                                Thompsons Station 1st Ward             2251 Dewey Dr                                              Spring Hill, TN 37174‐7162                                                                      First Class Mail
Chartered Organization         Lds Church‐Franklin Stake‐Dickson Ward                   Middle Tennessee Council 560           100 Brown Dr                                               Dickson, TN 37055                                                                               First Class Mail
Chartered Organization         Lds Church‐Franklin Stake‐Linden Ward                    Middle Tennessee Council 560           4746 Hwy 128                                               Linden, TN 37096‐4503                                                                           First Class Mail
Chartered Organization         Lds Church‐Gibsonia Ward‐Lakeland Stake                  Greater Tampa Bay Area 089             1839 Gibsonia Galloway Rd                                  Lakeland, FL 33810‐3211                                                                         First Class Mail
Chartered Organization         Lds Church‐Glenrose Ward‐Spo Stake                       Inland Nwest Council 611               4444 E 43rd Ave                                            Spokane, WA 99223                                                                               First Class Mail
Chartered Organization         Lds Church‐Greenbluff Ward‐Mt Spkn Stk                   Inland Nwest Council 611               5302 E Greenbluff Rd                                       Colbert, WA 99005‐9672                                                                          First Class Mail
Chartered Organization         Lds Church‐Highlands Ward‐Lakeland Stake                 Greater Tampa Bay Area 089             5850 Lakeland Highlands Rd                                 Lakeland, FL 33813‐3811                                                                         First Class Mail
Chartered Organization         Lds Church‐Hopkinsville Stake‐Sango Ward                 Middle Tennessee Council 560           3242 Hwy 41A S                                             Clarksville, TN 37043‐6217                                                                      First Class Mail
Chartered Organization         Lds Church‐Lecanto Ward‐Leesburg Stake                   Greater Tampa Bay Area 089             1670 N Bowman Ter                                          Hernando, FL 34442‐8319                                                                         First Class Mail
Chartered Organization         Lds Church‐Lithia Ward‐Brandon Stake                     Greater Tampa Bay Area 089             4806 Bell Shoals Rd                                        Valrico, FL 33596‐7105                                                                          First Class Mail
Chartered Organization         Lds Church‐Madison Stake‐Gallatin Ward                   Middle Tennessee Council 560           1360 E Main St                                             Gallatin, TN 37066                                                                              First Class Mail
Chartered Organization         Lds Church‐Manito Ward‐Spokane Stake                     Inland Nwest Council 611               1620 E 29th Ave                                            Spokane, WA 99203‐3915                                                                          First Class Mail
Chartered Organization         Lds Church‐Miamisburg Ward                               Miami Valley Council, Bsa 444          2516 Hilton Dr                                             Kettering, OH 45409‐1820                                                                        First Class Mail
Chartered Organization         Lds Church‐Mica Peak Ward Valley Stake                   Inland Nwest Council 611               1428 S Garry Rd                                            Liberty Lake, WA 99019‐9705                                                                     First Class Mail
Chartered Organization         Lds Church‐Mora Branch‐St Paul Stake                     Voyageurs Area 286                     1501 9th St Sw                                             Pine City, MN 55063                                                                             First Class Mail
Chartered Organization         Lds Church‐Murfreesboro Stake‐Salem Ward                 Middle Tennessee Council 560           1355 Middlebury Ct                                         Murfreesboro, TN 37128‐2768                                                                     First Class Mail
Chartered Organization         Lds Church‐Nashville Stake‐Bellevue Ward                 Middle Tennessee Council 560           4304 Hillsboro Pike                                        Nashville, TN 37215‐3306                                                                        First Class Mail
Chartered Organization         Lds Church‐Nashville Stake‐Crockett Ward                 Middle Tennessee Council 560           1646 Sunset Rd                                             Brentwood, TN 37027‐3502                                                                        First Class Mail
Chartered Organization         Lds Church‐Nashville Stake‐Sunset Ward                   Middle Tennessee Council 560           1646 Sunset Rd                                             Nolensville, TN 37135                                                                           First Class Mail
Chartered Organization         Lds Church‐Northpoint Ward‐North Stake                   Inland Nwest Council 611               401 W Regina                                               Spokane, WA 99208                                                                               First Class Mail
Chartered Organization         Lds Church‐Opportunity Ward‐East Stake                   Inland Nwest Council 611               4014 S Bowdish Rd                                          Spokane, WA 99206                                                                               First Class Mail
Chartered Organization         Lds Church‐Providence Ward‐Brandon Stake                 Greater Tampa Bay Area 089             1412 John Moore Rd                                         Brandon, FL 33511‐6306                                                                          First Class Mail
Chartered Organization         Lds Church‐Quail Run Ward‐Moscow Stake                   Inland Nwest Council 611               1016 S Mountainview Rd                                     Moscow, ID 83843                                                                                First Class Mail
Chartered Organization         Lds Church‐Raccoon River Ward                            Mid Iowa Council 177                   400 Pleasant View Dr                                       Waukee, IA 50263                                                                                First Class Mail
Chartered Organization         Lds Church‐Riverside Ward‐Colville Stake                 Inland Nwest Council 611               1452 Phay Rd                                               Elk, WA 99009‐8669                                                                              First Class Mail
Chartered Organization         Lds Church‐Riverview Ward‐Brandon Stake                  Greater Tampa Bay Area 089             4806 Bell Shoals Rd                                        Valrico, FL 33596‐7105                                                                          First Class Mail
Chartered Organization         Lds Church‐Saint Maries Ward‐Cda Stake                   Inland Nwest Council 611               201 S 23rd St                                              St Maries, ID 83861                                                                             First Class Mail
Chartered Organization         Lds Church‐Saltese Ward‐Valley Stake                     Inland Nwest Council 611               21022 E Wellesley Ave                                      Otis Orchards, WA 99027‐9617                                                                    First Class Mail
Chartered Organization         Lds Church‐Shiloh Hills Ward‐Mt Spkn Stk                 Inland Nwest Council 611               808 E Sitka Ave                                            Spokane, WA 99208‐5529                                                                          First Class Mail
Chartered Organization         Lds Church‐Sunset Ward‐West Stake                        Inland Nwest Council 611               10405 W Melville Rd                                        Cheney, WA 99004                                                                                First Class Mail
Chartered Organization         Lds Church‐Tampa 1St Ward‐Tampa Stake                    Greater Tampa Bay Area 089             4601 S Macdill Ave                                         Tampa, FL 33611‐2848                                                                            First Class Mail
Chartered Organization         Lds Church‐Tampa 2Nd Ward‐Tampa Stake                    Greater Tampa Bay Area 089             7851 Lutz Lake Fern Rd                                     Odessa, FL 33556‐4110                                                                           First Class Mail
Chartered Organization         Lds Church‐Tampa 4Th Ward‐Tampa Stake                    Greater Tampa Bay Area 089             8020 Gunn Hwy                                              Tampa, FL 33626‐1603                                                                            First Class Mail
Chartered Organization         Lds Church‐Upriver Ward Mt Spokane Stk                   Inland Nwest Council 611               808 E Sitka Ave                                            Spokane, WA 99208‐5529                                                                          First Class Mail
Chartered Organization         Lds Church‐Valrico Ward‐Brandon Stake                    Greater Tampa Bay Area 089             4806 Bell Shoals Rd                                        Valrico, FL 33596‐7105                                                                          First Class Mail
Chartered Organization         Lds Church‐West Terrace‐West Stake                       Inland Nwest Council 611               10405 W Melville Rd                                        Cheney, WA 99004                                                                                First Class Mail
Chartered Organization         Lds Church‐West Valley Ward‐Mt Spkn Stk                  Inland Nwest Council 611               5322 N Evergreen Rd                                        Spokane Valley, WA 99216‐1432                                                                   First Class Mail
Chartered Organization         Lds Church‐Wiesbaden Servicemen Ward                     Transatlantic Council, Bsa 802         Wiesbaden Military Ward Lds                                APO, AE 09096                                                                                   First Class Mail
Chartered Organization         Lds Ch‐Winter Haven Ward‐Lakeland Stake                  Greater Tampa Bay Area 089             1958 9th St Se                                             Winter Haven, FL 33880‐4732                                                                     First Class Mail
Chartered Organization         Lds Cibola Ward ‐ Yuma Az Stk                            Grand Canyon Council 010               4300 W 16Th St                                             Yuma, AZ 85364‐4086                                                                             First Class Mail
Chartered Organization         Lds Cibola Ward Abq North Stake                          Great Swest Council 412                4500 Seven Bar Loop Rd Nw                                  Albuquerque, NM 87114‐5646                                                                      First Class Mail
Chartered Organization         Lds Cibolo Hills Ward ‐ Hill Country Ward                Alamo Area Council 583                 25479 Bulverde Rd                                          San Antonio, TX 78261                                                                           First Class Mail
Chartered Organization         Lds Cielito Ward ‐ Phoenix Az Stk                        Grand Canyon Council 010               3802 N 59Th Ave                                            Phoenix, AZ 85033‐4102                                                                          First Class Mail
Chartered Organization         Lds Cimarron Creek Ward Meadows Stake                    Las Vegas Area Council 328             8213 Woodland Prairie Ave                                  Las Vegas, NV 89129‐8206                                                                        First Class Mail
Chartered Organization         Lds Cimarron Ward Desert Foothill Stake                  Las Vegas Area Council 328             7401 Smoke Ranch Rd                                        Las Vegas, NV 89128‐0294                                                                        First Class Mail
Chartered Organization         Lds Cimarron Ward/Montrose Stake                         Denver Area Council 061                1521 S Hillcrest Dr                                        Montrose, CO 81401‐4462                                                                         First Class Mail
Chartered Organization         Lds Circle City Ward ‐ Corona Stake                      California Inland Empire Council 045   1123 S Lincoln Ave                                         Corona, CA 92882‐3963                                                                           First Class Mail
Chartered Organization         Lds Circle Cross Ward ‐ Qc Az Stk                        Grand Canyon Council 010               1150 W Combs Rd                                            San Tan Valley, AZ 85140‐9110                                                                   First Class Mail
Chartered Organization         Lds Circleville First Ward                               Utah National Parks 591                250 W 470 S                                                Circleville, UT 84723                                                                           First Class Mail
Chartered Organization         Lds Circleville Second Ward                              Utah National Parks 591                P.O. Box 47                                                Circleville, UT 84723‐0047                                                                      First Class Mail
Chartered Organization         Lds Citrus Cove Ward ‐ Qc Az Stk                         Grand Canyon Council 010               21915 E Cloud Rd                                           Queen Creek, AZ 85142                                                                           First Class Mail
Chartered Organization         Lds Citrus Heights 4Th Antelope Stake                    Golden Empire Council 047              3621 Elverta Rd                                            Antelope, CA 95843                                                                              First Class Mail
Chartered Organization         Lds Citrus Heights Stake                                 Golden Empire Council 047              7009 Van Maren Ln                                          Citrus Heights, CA 95621‐3533                                                                   First Class Mail
Chartered Organization         Lds Citrus Hills Ward ‐ Corona Stake                     California Inland Empire Council 045   1290 W Ontario Ave                                         Corona, CA 92882‐5706                                                                           First Class Mail
Chartered Organization         Lds City Creek Ward ‐ Redlands Stake                     California Inland Empire Council 045   7000 Central Ave                                           Highland, CA 92346‐3013                                                                         First Class Mail
Chartered Organization         Lds Civic Ctr Ward N Las Vegas Stake                     Las Vegas Area Council 328             2401 E Tonopah Ave                                         North Las Vegas, NV 89030‐8731                                                                  First Class Mail
Chartered Organization         Lds Clackamas Ward Milwaukie Stake                       Cascade Pacific Council 492            13520 SE Ruscliff Rd                                       Portland, OR 97222‐2144                                                                         First Class Mail
Chartered Organization         Lds Claremore Ward ‐ Bartlesville Ok Stake               Indian Nations Council 488             1701 N Chambers Ter                                        Claremore, OK 74017‐2632                                                                        First Class Mail
Chartered Organization         Lds Clark Lake Ward Kent Stake                           Chief Seattle Council 609              24419 94th Ave S                                           Kent, WA 98030                                                                                  First Class Mail
Chartered Organization         Lds Clark Ward/Grantsville Ut Stk                        Great Salt Lake Council 590            81 Church St                                               Grantsville, UT 84029‐9346                                                                      First Class Mail
Chartered Organization         Lds Clarke Farms Ward, Parker Stake                      Denver Area Council 061                11755 Tara Ln                                              Parker, CO 80134‐3023                                                                           First Class Mail
Chartered Organization         Lds Clarkston Ward ‐ Grand Blanc Stake                   Great Lakes Fsc 272                    6566 Cranberry Lake Rd                                     Clarkston, MI 48348‐4521                                                                        First Class Mail
Chartered Organization         Lds Clarksville Ward Fort Smith Stake                    Westark Area Council 016               776 Cravens Ln                                             New Blaine, AR 72851‐9188                                                                       First Class Mail
Chartered Organization         Lds Clay Springs Ward ‐ Silver Creek Az                  Stake                                  Hwy 260                                                    Clay Springs, AZ 85923                                                                          First Class Mail
Chartered Organization         Lds Clayton Valley 1St Ward ‐ Walnut Creek               Mt Diablo‐Silverado Council 023        1590 Denkinger Rd                                          Concord, CA 94521‐1834                                                                          First Class Mail
Chartered Organization         Lds Clayton Valley 2Nd Ward ‐ Walnut Creek               Mt Diablo‐Silverado Council 023        1360 Alberta Way                                           Concord, CA 94521‐3705                                                                          First Class Mail
Chartered Organization         Lds Clayton Ward                                         Tuscarora Council 424                  303 Canterbury Rd                                          Smithfield, NC 27577‐4820                                                                       First Class Mail
Chartered Organization         Lds Clear Creek Ward Carson City Stake                   Nevada Area Council 329                1421 Kingsley Ln                                           Carson City, NV 89701‐6581                                                                      First Class Mail
Chartered Organization         Lds Clear Creek Ward, Golden Stake                       Denver Area Council 061                West 32nd Ave & Mcintyre                                   Golden, CO 80401                                                                                First Class Mail
Chartered Organization         Lds Clear Lake 1St Ward                                  League City Stake                      1802 Gunwale Rd                                            Houston, TX 77062                                                                               First Class Mail
Chartered Organization         Lds Clear Lake 2Nd Ward                                  League City Stake                      1802 Gunwale Rd                                            Houston, TX 77062                                                                               First Class Mail
Chartered Organization         Lds Clear Lake Ward Keizer Stake                         Cascade Pacific Council 492            1375 Lockhaven Dr Ne                                       Keizer, OR 97303‐3646                                                                           First Class Mail
Chartered Organization         Lds Clearfield 10Th Ward                                 Clearfield North Stake                 350 Vine St                                                Clearfield, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearfield 11Th Ward                                 Clearfield Stake                       1245 S 1175 E                                              Clearfield, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearfield 12Th Ward                                 Clearfield North Stake                 151 N 1000 W                                               Clearfield, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearfield 14Th Ward                                 Clearfield South Stake                 2186 S 125 E                                               Clearfield, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearfield 16Th Ward                                 Clearfield South Stake                 1895 S Main St                                             Clearfield, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearfield 18Th Ward                                 Clearfield North Stake                 151 N 1000 W                                               Clearfield, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearfield 1St Ward                                  Clearfield Stake                       935 S State St                                             Clearfield, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearfield 20Th Ward                                 Clearfield South Stake                 2186 S 125 W                                               Clearfield, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearfield 22Nd Ward                                 Clearfield North Stake                 1469 W 700 S                                               Syracuse, UT 84075                                                                              First Class Mail
Chartered Organization         Lds Clearfield 23Rd Ward                                 Clearfield North Stake                 4383 W 300 N                                               West Point, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearfield 2Nd Ward                                  Clearfield Stake                       1245 S 1175 E                                              Clearfield, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearfield 3Rd Ward                                  Clearfield North Stake                 350 Vine St                                                Clearfield, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearfield 4Th Ward                                  Clearfield Stake                       838 E 600 S                                                Clearfield, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearfield 5Th Ward                                  Clearfield Stake                       935 S State St                                             Clearfield, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearfield 8Th Ward                                  Clearfield North Stake                 338 W 1800 N                                               Sunset, UT 84015                                                                                First Class Mail
Chartered Organization         Lds Clearfield 9Th Ward                                  Clearfield Stake                       838 E 600 S                                                Clearfield, UT 84015                                                                            First Class Mail
Chartered Organization         Lds Clearview Ward Snohomish Stake                       Mount Baker Council, Bsa 606           8522 131st Ave Se                                          Snohomish, WA 98290                                                                             First Class Mail
Chartered Organization         Lds Cleburne Ward ‐ Weatherford Stake                    Longhorn Council 662                   303 S Nolan River Rd                                       Cleburne, TX 76033                                                                              First Class Mail
Chartered Organization         Lds Clement Park Ward, Columbine Stake                   Denver Area Council 061                6705 S Webster St                                          Littleton, CO 80128‐4411                                                                        First Class Mail
Chartered Organization         Lds Clermont Leesburg                                    Central Florida Council 083            14600 Green Valley Blvd                                    Clermont, FL 34711                                                                              First Class Mail
Chartered Organization         Lds Cleveland First Ward                                 Utah National Parks 591                P.O. Box 427                                               Cleveland, UT 84518‐0427                                                                        First Class Mail
Chartered Organization         Lds Cleveland Second Ward                                Utah National Parks 591                355 W 100 N                                                Cleveland, UT 84518                                                                             First Class Mail
Chartered Organization         Lds Cleveland Ward                                       Lake Erie Council 440                  Lds Church, Cleveland 1st Ward                             Rockside Rd                      Seven Hills, OH 44134                                          First Class Mail
Chartered Organization         Lds Cleveland Ward ‐ Kingwood Stake                      Three Rivers Council 578               1100 Southline St                                          Cleveland, TX 77327‐4647                                                                        First Class Mail
Chartered Organization         Lds Clifton 1St Ward                                     Preston North Stake                    170 W 1st N                                                Clifton, ID 83228                                                                               First Class Mail
Chartered Organization         Lds Clifton 2Nd Ward                                     Preston North Stake                    170 W 1st N                                                Clifton, ID 83228                                                                               First Class Mail
Chartered Organization         Lds Clifton Ward                                         National Capital Area Council 082      14150 Upperridge Dr                                        Centreville, VA 20121‐5340                                                                      First Class Mail
Chartered Organization         Lds Clifton Ward                                         National Capital Area Council 082      11417 Meath Dr                                             Fairfax, VA 22030‐5422                                                                          First Class Mail
Chartered Organization         Lds Clifton Ward ‐ Duncan Stake                          Grand Canyon Council 010               112 Riverside Dr                                           Clifton, AZ 85533                                                                               First Class Mail
Chartered Organization         Lds Cline Falls Ward ‐ Redmond Stake                     Crater Lake Council 491                430 SW Rimrock Way                                         Redmond, OR 97756                                                                               First Class Mail
Chartered Organization         Lds Clinton 11Th Ward                                    Clinton North Stake                    1448 W 1800 N                                              Clinton, UT 84015‐8944                                                                          First Class Mail
Chartered Organization         Lds Clinton 15Th Ward                                    Clinton West Stake                     2841 W 1300 N                                              Clinton, UT 84015                                                                               First Class Mail
Chartered Organization         Lds Clinton 17Th Ward                                    Clinton West Stake                     1828 N 3000 W                                              Clinton, UT 84015                                                                               First Class Mail
Chartered Organization         Lds Clinton 18Th Ward                                    Clinton North Stake                    2206 W 2300 N                                              Clinton, UT 84015                                                                               First Class Mail
Chartered Organization         Lds Clinton 21St Ward                                    Clinton West Stake                     1828 N 3000 W                                              Clinton, UT 84015                                                                               First Class Mail
Chartered Organization         Lds Clinton 22Nd Ward                                    Clinton West Stake                     2141 W 1800 N                                              Clinton, UT 84015                                                                               First Class Mail
Chartered Organization         Lds Clinton 23Rd Ward                                    Clinton North Stake                    2206 W 2300 N                                              Clinton, UT 84015                                                                               First Class Mail
Chartered Organization         Lds Clinton 25Th Ward                                    Clinton West Stake                     2841 W 1300 N                                              Clinton, UT 84015                                                                               First Class Mail
Chartered Organization         Lds Clinton 26Th Ward                                    Clinton West Stake                     1828 N 3000 W                                              Clinton, UT 84015                                                                               First Class Mail
Chartered Organization         Lds Clinton 29Th Ward                                    Clinton West Stake                     2841 W 1300 N                                              Clinton, UT 84015                                                                               First Class Mail
Chartered Organization         Lds Clinton 2Nd Ward                                     Clinton West Stake                     2141 W 1800 N                                              Clinton, UT 84015                                                                               First Class Mail
Chartered Organization         Lds Clinton 30Th/Clinton West Stake                      Trapper Trails 589                     2622 N 2910 W                                              Roy, UT 84057                                                                                   First Class Mail
Chartered Organization         Lds Clinton 3Rd Ward                                     Clinton North Stake                    2223 N 1000 W                                              Clinton, UT 84015                                                                               First Class Mail
Chartered Organization         Lds Clinton 4Th Ward                                     Clinton North Stake                    2223 N 1000 W                                              Clinton, UT 84015                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                       Page 202 of 442
                                                                                 Case 20-10343-LSS                                Doc 8171                                       Filed 01/06/22                                                  Page 218 of 457
                                                                                                                                                                    Exhibit B
                                                                                                                                                                     Service List
                                                                                                                                                              Served as set forth below

        Description                                                       Name                                                                                    Address                                                                                          Email              Method of Service
Chartered Organization         Lds Clinton 5Th Ward                                     Clinton North Stake                 2206 W 2300 N                                           Clinton, UT 84015                                                                      First Class Mail
Chartered Organization         Lds Clinton 6Th Ward                                     Clinton North Stake                 2223 N 1000 W                                           Clinton, UT 84015                                                                      First Class Mail
Chartered Organization         Lds Clinton 7Th Ward                                     Clinton North Stake                 1448 W 1800 N                                           Clinton, UT 84015‐8944                                                                 First Class Mail
Chartered Organization         Lds Clinton 9Th Ward                                     Clinton West Stake                  2141 W 1800 N                                           Clinton, UT 84015                                                                      First Class Mail
Chartered Organization         Lds Clinton Branch, Missoula Stake                       Montana Council 315                 12590 US Hwy 10 E                                       Clinton, MT 59825‐9792                                                                 First Class Mail
Chartered Organization         Lds Clinton Ward Iowa Stake                              Illowa Council 133                  1825 16th St Nw                                         Clinton, IA 52732                                                                      First Class Mail
Chartered Organization         Lds Clinton Ward Morristown Nj Stake                     Washington Crossing Council 777     7 Red School House Rd                                   Lebanon, NJ 08833                                                                      First Class Mail
Chartered Organization         Lds Clinton Ward Okc Stake                               Last Frontier Council 480           430 S 28th St                                           Clinton, OK 73601                                                                      First Class Mail
Chartered Organization         Lds Clinton Ward Warrensburg Stake                       Heart of America Council 307        297 NW 40th Rd                                          Clinton, MO 64735‐9000                                                                 First Class Mail
Chartered Organization         Lds Cloud Creek Ward ‐ Qc Az Stk                         Grand Canyon Council 010            21915 E Cloud Rd                                        Queen Creek, AZ 85142                                                                  First Class Mail
Chartered Organization         Lds Clover Crest Ward                                    Murray Ut N Stake                   5200 S 700 W                                            Salt Lake City, UT 84123                                                               First Class Mail
Chartered Organization         Lds Cloverdale Ward                                      Redwood Empire Council 041          1101 S Cloverdale Blvd                                  Cloverdale, CA 95425‐4413                                                              First Class Mail
Chartered Organization         Lds Cloverdale Ward‐Mer E Stk                            Ore‐Ida Council 106 ‐ Bsa 106       11918 W Ustick Rd                                       Boise, ID 83713                                                                        First Class Mail
Chartered Organization         Lds Clovis 2Nd Ward                                      Lubbock Tx Stake North              2800 Lore St                                            Clovis, NM 88101‐3215                                                                  First Class Mail
Chartered Organization         Lds Clovis Ward ‐ Lubbock Tx Stake North                 Conquistador Council Bsa 413        2800 Lore St                                            Clovis, NM 88101‐3215                                                                  First Class Mail
Chartered Organization         Lds Cntry Xing 2Nd Ward                                  S J Ut Cntry Xing Stake             10755 S 3200 W                                          South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Cntry Xing 4Th Ward                                  S J Ut Cntry Xing Stake             3364 W 11400 S                                          South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Cntry Xing 8Th Ward                                  S J Ut Cntry Xing Stake             3364 W 11400 S                                          South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Cntry Xing Ward/Erda Utah Stake                      Great Salt Lake Council 590         5327 N Cambridge Way                                    Stansbury Park, UT 84074‐8219                                                          First Class Mail
Chartered Organization         Lds Coal Creek Second Ward                               Utah National Parks 591             290 W 1045 N                                            Cedar City, UT 84720                                                                   First Class Mail
Chartered Organization         Lds Coal Creek Spanish Branch                            Utah National Parks 591             638 E Canyon Center Dr                                  Cedar City, UT 84721                                                                   First Class Mail
Chartered Organization         Lds Coal Creek Third Ward                                Utah National Parks 591             438 W 1150 N                                            Cedar City, UT 84721‐9373                                                              First Class Mail
Chartered Organization         Lds Coal Creek Ward, Aurora Stake                        Denver Area Council 061             950 Laredo St                                           Aurora, CO 80011‐7441                                                                  First Class Mail
Chartered Organization         Lds Coal Mine Ward, Columbine Stake                      Denver Area Council 061             10209 W Coal Mine Ave                                   Littleton, CO 80127‐5573                                                               First Class Mail
Chartered Organization         Lds Coal Mountain Ward‐ Sugar Hill Stake                 Northeast Georgia Council 101       4833 Suwanee Dam Rd                                     Suwanee, GA 30024                                                                      First Class Mail
Chartered Organization         Lds Coalville 1St Ward/Coalville Ut Stk                  Great Salt Lake Council 590         40 N Main St                                            Coalville, UT 84017‐9809                                                               First Class Mail
Chartered Organization         Lds Coalville 2Nd Ward/Coalville Ut Stk                  Great Salt Lake Council 590         40 N Main St                                            Coalville, UT 84017‐9809                                                               First Class Mail
Chartered Organization         Lds Cobble Creek 11Th Ward                               Wj Ut Cobble Creek Stake            8150 S Grizzly Way                                      West Jordan, UT 84081‐2907                                                             First Class Mail
Chartered Organization         Lds Cobble Creek 1St Ward                                Wj Ut Cobble Creek Stake            8176 S 5140 W                                           West Jordan, UT 84081‐2705                                                             First Class Mail
Chartered Organization         Lds Cobble Creek 2Nd Ward                                Wj Ut Cobble Creek Stake            8150 S Grizzly Way                                      West Jordan, UT 84081‐2907                                                             First Class Mail
Chartered Organization         Lds Cobble Creek 3Rd Ward                                Wj Ut Cobble Creek Stake            5156 W Clay Hollow Ave                                  West Jordan, UT 84081‐7801                                                             First Class Mail
Chartered Organization         Lds Cobble Creek 4Th Ward                                Wj Ut Cobble Creek Stake            8176 S 5140 W                                           West Jordan, UT 84081‐2705                                                             First Class Mail
Chartered Organization         Lds Cobble Creek 5Th (Sp) Ward                           Wj Ut Cobble Creek Stake            5156 W Clay Hollow Ave                                  West Jordan, UT 84081‐7801                                                             First Class Mail
Chartered Organization         Lds Cobble Creek 6Th Ward                                Wj Ut Cobble Creek Stake            8150 S Grizzly Way                                      West Jordan, UT 84081‐2907                                                             First Class Mail
Chartered Organization         Lds Cobble Creek Ward                                    Utah National Parks 591             2015 N Wedgewood Ln                                     Cedar City, UT 84721‐9731                                                              First Class Mail
Chartered Organization         Lds Cobblestone 1St Ward                                 Providence Stake                    420 W 100 N                                             Providence, UT 84332‐6706                                                              First Class Mail
Chartered Organization         Lds Cobblestone 2Nd Ward                                 Providence Stake                    420 W 100 N                                             Providence, UT 84332‐6706                                                              First Class Mail
Chartered Organization         Lds Cobblestone Ward                                     Utah National Parks 591             1954 Fieldstone Ln                                      Heber City, UT 84032‐3928                                                              First Class Mail
Chartered Organization         Lds Cobblestone Ward                                     Utah National Parks 591             350 W Granite Dr                                        Washington, UT 84780‐8330                                                              First Class Mail
Chartered Organization         Lds Cochran Ward                                         Central Georgia Council 096         130 Ann St                                              Cochran, GA 31014‐7136                                                                 First Class Mail
Chartered Organization         Lds Cocoa Cocoa                                          Central Florida Council 083         3000 South St                                           Titusville, FL 32780‐3007                                                              First Class Mail
Chartered Organization         Lds Coconut Creek Ward                                   South Florida Council 084           3201 Lyons Rd                                           Coconut Creek, FL 33063‐1832                                                           First Class Mail
Chartered Organization         Lds Cody 1St Ward, Cody Stake                            Greater Wyoming Council 638         295 Rd 2Ab                                              Cody, WY 82414‐8408                                                                    First Class Mail
Chartered Organization         Lds Cody 2Nd Ward, Cody Stake                            Greater Wyoming Council 638         1407 Heart Mountain St                                  Cody, WY 82414                                                                         First Class Mail
Chartered Organization         Lds Cody 3Rd Ward, Cody Stake                            Greater Wyoming Council 638         1407 Heart Mountain St                                  Cody, WY 82414                                                                         First Class Mail
Chartered Organization         Lds Cody 4Th Ward, Cody Stake                            Greater Wyoming Council 638         1719 Wyoming Ave                                        Cody, WY 82414‐3319                                                                    First Class Mail
Chartered Organization         Lds Coker Springs Ward, Augusta, Ga                      Georgia‐Carolina 093                358 E Pine Log Rd                                       Aiken, SC 29803‐6156                                                                   First Class Mail
Chartered Organization         Lds Cokeville 1St Ward                                   Montpelier South Stake              725 E Main                                              Cokeville, WY 83114                                                                    First Class Mail
Chartered Organization         Lds Cokeville 2Nd Ward                                   Montpelier South Stake              725 E Main                                              Cokeville, WY 83114                                                                    First Class Mail
Chartered Organization         Lds Cold Springs Ward ‐ Reno North Stake                 Nevada Area Council 329             8080 Lemmon Dr                                          Reno, NV 89506‐9095                                                                    First Class Mail
Chartered Organization         Lds Coldwater Ward ‐ Phoenix Az                          W Maricopa Stake                    8702 W Campbell Ave                                     Phoenix, AZ 85037‐1402                                                                 First Class Mail
Chartered Organization         Lds Colehaven Ward‐Boise Central Stk                     Ore‐Ida Council 106 ‐ Bsa 106       1111 S Cole Rd                                          Boise, ID 83709‐1869                                                                   First Class Mail
Chartered Organization         Lds Colfax Ward Auburn Stake                             Golden Empire Council 047           1875 S Auburn St                                        Colfax, CA 95713                                                                       First Class Mail
Chartered Organization         Lds Colfax Ward/Moscow Stake                             Inland Nwest Council 611            2652 Almota Rd                                          Colfax, WA 99111                                                                       First Class Mail
Chartered Organization         Lds Colima Ward L701                                     Greater Los Angeles Area 033        15265 Mulberry Dr                                       Whittier, CA 90604‐1531                                                                First Class Mail
Chartered Organization         Lds College Heights Ward                                 E Bakersfield Stake                 1903 Bernard St                                         Bakersfield, CA 93305                                                                  First Class Mail
Chartered Organization         Lds College Hill Ward ‐ Derby Stake                      Quivira Council, Bsa 198            7011 E 13Th St N                                        Wichita, KS 67206‐1219                                                                 First Class Mail
Chartered Organization         Lds College Park Ward                                    The Woodlands Stake                 2495 Ed Kharbat Dr                                      Conroe, TX 77301‐2371                                                                  First Class Mail
Chartered Organization         Lds College Park Ward Silver Sprng Stake                 National Capital Area Council 082   3790 E West Hwy                                         Hyattsville, MD 20782‐2004                                                             First Class Mail
Chartered Organization         Lds College Place Ward ‐ Walla Walla Stake               Blue Mountain Council 604           1821 S 2Nd Ave                                          Walla Walla, WA 99362‐4506                                                             First Class Mail
Chartered Organization         Lds College Station 1St Ward                             College Station Stake               2815 Welsh Ave                                          College Station, TX 77845                                                              First Class Mail
Chartered Organization         Lds Colleyville 1St Ward                                 Colleyville Stake                   500 Mcdonwell School Rd                                 Colleyville, TX 76034                                                                  First Class Mail
Chartered Organization         Lds Collierville 1St Ward ‐ Memphis Stake                Chickasaw Council 558               580 S Collierville Arlington Rd                         Collierville, TN 38017                                                                 First Class Mail
Chartered Organization         Lds Collierville 2Nd Ward ‐ Memphis Stake                Chickasaw Council 558               580 Collierville Arlington Rd                           Collierville, TN 38017                                                                 First Class Mail
Chartered Organization         Lds Collins Hill Ward ‐ Lilburn Stake                    Northeast Georgia Council 101       3355 Sugarloaf Pkwy                                     Lawrenceville, GA 30044‐5483                                                           First Class Mail
Chartered Organization         Lds Collister Ward‐Boise Stk                             Ore‐Ida Council 106 ‐ Bsa 106                                                          2680 Hill Rd                           Boise, ID 83703                                      First Class Mail
Chartered Organization         Lds Colly Creek Ward ‐ Topeka Stake                      Jayhawk Area Council 197            3615 Sw Jewell Ave                                      Topeka, KS 66611                                                                       First Class Mail
Chartered Organization         Lds Colonial Hills Ward/S L Hillside Stk                 Great Salt Lake Council 590         1200 E 5400 S                                           Ogden, UT 84403‐4527                                                                   First Class Mail
Chartered Organization         Lds Colonial Park Ward/W J Ut East Stk                   Great Salt Lake Council 590         6975 S 2200 W                                           West Jordan, UT 84084‐2110                                                             First Class Mail
Chartered Organization         Lds Colonial Springs Ward                                Pleasant View South Stake           2360 N 600 W                                            Harrisville, UT 84414                                                                  First Class Mail
Chartered Organization         Lds Colony Pointe Ward                                   Utah National Parks 591             1915 W 1260 N                                           Lehi, UT 84043‐7402                                                                    First Class Mail
Chartered Organization         Lds Colony Ward ‐ Palmer Stake                           Great Alaska Council 610            1 Colony Way                                            Palmer, AK 99654                                                                       First Class Mail
Chartered Organization         Lds Colony West Ward                                     Sl Hunter South Stake               4322 S 5400 W                                           Salt Lake City, UT 84120                                                               First Class Mail
Chartered Organization         Lds Colstrip Ward, Billings East Stake                   Montana Council 315                 P.O. Box 55                                             Colstrip, MT 59323‐0055                                                                First Class Mail
Chartered Organization         Lds Columbia 2 Ward Columbia Stake                       Baltimore Area Council 220          4100 Saint Johns Ln                                     Ellicott City, MD 21042‐5347                                                           First Class Mail
Chartered Organization         Lds Columbia 2 Ward Columbia Stake                       Baltimore Area Council 220          4100 St Johns Ln                                        Ellicott City, MD 21042‐5347                                                           First Class Mail
Chartered Organization         Lds Columbia Basin Ward ‐ Pasco N Stake                  Blue Mountain Council 604           7750 Eltopia Rd                                         Pasco, WA 99301                                                                        First Class Mail
Chartered Organization         Lds Columbia Clarksville Br                              Columbia Stake                      6020 10 Oaks Rd                                         Clarksville, MD 21029‐1163                                                             First Class Mail
Chartered Organization         Lds Columbia Falls 1St Wd                                Kalispell Stake                     Montana Council 315                                     Talbot Rd                         Columbia Falls, MT 59912                             First Class Mail
Chartered Organization         Lds Columbia Heights Ward                                Kaysville South Stake               9 W 550 So                                              Kaysville, UT 84037                                                                    First Class Mail
Chartered Organization         Lds Columbia Heights Ward                                Vancouver Stake                     10509 SE 5th St                                         Vancouver, WA 98664‐4617                                                               First Class Mail
Chartered Organization         Lds Columbia Hills Ward/Wenatchee Stake                  Grand Columbia Council 614          667 10th St Ne                                          East Wenatchee, WA 98802‐4509                                                          First Class Mail
Chartered Organization         Lds Columbia I Ward Columbia Stake                       Baltimore Area Council 220          6020 10 Oaks Rd                                         Clarksville, MD 21029‐1163                                                             First Class Mail
Chartered Organization         Lds Columbia Village Ward‐Boise E Stk                    Ore‐Ida Council 106 ‐ Bsa 106       3800 E Grand Forest Dr                                  Boise, ID 83716                                                                        First Class Mail
Chartered Organization         Lds Columbia Ward                                        Indian Waters Council 553           4440 Fort Jackson Blvd                                  Columbia, SC 29209‐1006                                                                First Class Mail
Chartered Organization         Lds Columbia Ward ‐ Columbia Stake                       Great Rivers Council 653            904 Old 63 S                                            Columbia, MO 65201‐6037                                                                First Class Mail
Chartered Organization         Lds Columbia Ward ‐ Richland Stake                       Blue Mountain Council 604           1321 Jadwin Ave                                         Richland, WA 99354                                                                     First Class Mail
Chartered Organization         Lds Columbia Ward Gresham Stake                          Cascade Pacific Council 492         1515 SW Cherry Park Rd                                  Troutdale, OR 97060                                                                    First Class Mail
Chartered Organization         Lds Columbiana Ward, Bessemer Stake                      Greater Alabama Council 001         190 Egg and Butter Rd                                   Columbiana, AL 35051                                                                   First Class Mail
Chartered Organization         Lds Columbine Ward, Columbine Stake                      Denver Area Council 061             6705 S Webster St                                       Littleton, CO 80128‐4411                                                               First Class Mail
Chartered Organization         Lds Columbus 1St Ward ‐ Indianapolis                     Hoosier Trails Council 145 145      4850 W Goeller Blvd                                     Columbus, IN 47201‐5689                                                                First Class Mail
Chartered Organization         Lds Columbus Branch (Karen)                              South Salt Lake Stake               2280 S 300 E                                            Salt Lake City, UT 84115                                                               First Class Mail
Chartered Organization         Lds Columbus Branch Lincoln Stake                        Mid‐America Council 326             3165 21st Ave                                           Columbus, NE 68601‐8150                                                                First Class Mail
Chartered Organization         Lds Columbus Park Ward‐Boise E Stk                       Ore‐Ida Council 106 ‐ Bsa 106       3020 W Cherry Ln                                        Boise, ID 83705‐4009                                                                   First Class Mail
Chartered Organization         Lds Columbus‐2Nd Ward‐Indianapolis                       Hoosier Trails Council 145 145      3330 30th St                                            Columbus, IN 47203‐2623                                                                First Class Mail
Chartered Organization         Lds Colusa Branch Yuba City Stake                        Golden Empire Council 047           P.O. Box 1322                                           Colusa, CA 95932‐1322                                                                  First Class Mail
Chartered Organization         Lds Colville 1St Ward ‐ Colville Stake                   Inland NW Council 611               260 E Juniper Ave                                       Colville, WA 99114                                                                     First Class Mail
Chartered Organization         Lds Commerce Ward ‐ Athens Stake                         Northeast Georgia Council 101       4859 Mt Olive Rd                                        Commerce, GA 30529‐1087                                                                First Class Mail
Chartered Organization         Lds Compton 1St Ward Lb Stake                            Long Beach Area Council 032         6979 Orange Ave                                         Long Beach, CA 90805                                                                   First Class Mail
Chartered Organization         Lds Compton Bench Ward                                   Frmngtn Ut N Stake                  900 Compton Rd                                          Farmington, UT 84025                                                                   First Class Mail
Chartered Organization         Lds Comstock Ward ‐ Carson City Stake                    Nevada Area Council 329             217 Grosh Ave, Unit A                                   Dayton, NV 89403‐6323                                                                  First Class Mail
Chartered Organization         Lds Concho Branch‐St Johns Az Stk                        Grand Canyon Council 010            34 Cinder Dr                                            Concho, AZ 85924                                                                       First Class Mail
Chartered Organization         Lds Concord 1St Ward ‐ Concord Stake                     Mt Diablo‐Silverado Council 023     3700 Concord Blvd                                       Concord, CA 94519‐1808                                                                 First Class Mail
Chartered Organization         Lds Concord 2Nd Ward ‐ Walnut Creek Stake                Mt Diablo‐Silverado Council 023     1590 Denkinger Rd                                       Concord, CA 94521‐1834                                                                 First Class Mail
Chartered Organization         Lds Concord Ward Concord Nh Stake                        Daniel Webster Council, Bsa 330     91 Clinton St                                           Concord, NH 03301                                                                      First Class Mail
Chartered Organization         Lds Concord Ward Concord Stake                           Daniel Webster Council, Bsa 330     90 Clinton St                                           Concord, NH 03301‐2287                                                                 First Class Mail
Chartered Organization         Lds Concordia Branch Warrensburg Stake                   Heart of America Council 307        102 N Bismark St                                        Concordia, MO 64020                                                                    First Class Mail
Chartered Organization         Lds Conejo Canyon Ward                                   Newbury Park Stake                  35 S Wendy Dr                                           Newbury Park, CA 91320‐4353                                                            First Class Mail
Chartered Organization         Lds Conejo Creek Ward                                    Ventura County Council 057          1600 Erbes Rd                                           Thousand Oaks, CA 91362‐1927                                                           First Class Mail
Chartered Organization         Lds Congaree Ward                                        Indian Waters Council 553           1330 Whippoorwill Dr                                    West Columbia, SC 29169‐4754                                                           First Class Mail
Chartered Organization         Lds Connell Ward ‐ Pasco North Stake                     Blue Mountain Council 604           P.O. Box 310                                            Connell, WA 99326‐0310                                                                 First Class Mail
Chartered Organization         Lds Constellation Ward ‐ Gilbert Az                      Highland W Stake                    495 S Greenfield Rd                                     Gilbert, AZ 85296                                                                      First Class Mail
Chartered Organization         Lds Constitution Ward/S L Granger Stk                    Great Salt Lake Council 590         2850 W 3835 S                                           Salt Lake City, UT 84119                                                               First Class Mail
Chartered Organization         Lds Converse Ward ‐ Cibolo Valley Stake                  Alamo Area Council 583              8801 Midcrown Dr                                        Windcrest, TX 78239‐2004                                                               First Class Mail
Chartered Organization         Lds Conway Orlando South                                 Central Florida Council 083         4020 S Bumby Ave                                        Orlando, FL 32806‐7209                                                                 First Class Mail
Chartered Organization         Lds Conyers Ward/Conyers Stake                           Atlanta Area Council 092            1275 Flat Shoals Rd Se                                  Conyers, GA 30013                                                                      First Class Mail
Chartered Organization         Lds Cook Park Ward Tualatin Stake                        Cascade Pacific Council 492         15555 SW 98th Ave                                       Tigard, OR 97224                                                                       First Class Mail
Chartered Organization         Lds Cooley Station Ward ‐ Gilbert Az                     Higley Stake                        1010 S Recker Rd                                        Gilbert, AZ 85234                                                                      First Class Mail
Chartered Organization         Lds Cooley Station Ward ‐ Gilbert Az                     Gateway Stake                       2958 S Recker Rd                                        Gilbert, AZ 85295                                                                      First Class Mail
Chartered Organization         Lds Cooley Ward ‐ Gilbert Az Stapley Stk                 Grand Canyon Council 010            1100 N Cooper Rd                                        Gilbert, AZ 85233                                                                      First Class Mail
Chartered Organization         Lds Coolidge 1St Ward ‐ Casa Grande Az Stk               Grand Canyon Council 010            580 N 9Th St                                            Coolidge, AZ 85128                                                                     First Class Mail
Chartered Organization         Lds Coolidge 2Nd Ward ‐ Casa Grande Az Stk               Grand Canyon Council 010            580 N 9Th St                                            Coolidge, AZ 85128                                                                     First Class Mail
Chartered Organization         Lds Cooper 1St Ward ‐ Chandler Az Stk                    Grand Canyon Council 010            650 S Cooper Rd                                         Chandler, AZ 85225                                                                     First Class Mail
Chartered Organization         Lds Cooper 2Nd Ward ‐ Chandler Az Stk                    Grand Canyon Council 010            650 S Cooper Rd                                         Chandler, AZ 85225                                                                     First Class Mail
Chartered Organization         Lds Cooper Hollow Ward Monmouth Stake                    Cascade Pacific Council 492         1401 SW 13th St                                         Dallas, OR 97338‐2387                                                                  First Class Mail
Chartered Organization         Lds Cooper Mtn Ward Bvtn West Stake                      Cascade Pacific Council 492         17140 SW Bany Rd                                        Beaverton, OR 97007‐5718                                                               First Class Mail
Chartered Organization         Lds Cooper Ward ‐ Gilbert Az Stapley Stk                 Grand Canyon Council 010            1150 W Elliot Rd                                        Gilbert, AZ 85233                                                                      First Class Mail
Chartered Organization         Lds Cooper Ward ‐ Mesa Az South Stk                      Grand Canyon Council 010            1315 N 24Th St                                          Mesa, AZ 85213‐4606                                                                    First Class Mail
Chartered Organization         Lds Coos Bay Ward Coos Bay Stake                         Oregon Trail Council 697            3355 Virginia Ave                                       North Bend, OR 97459‐1711                                                              First Class Mail
Chartered Organization         Lds Copper Basin Ward ‐ Prescott Az Stk                  Grand Canyon Council 010            1745 Royal Oak Cir                                      Prescott, AZ 86305‐7000                                                                First Class Mail
Chartered Organization         Lds Copper Basin Ward ‐ Stv Az Stk                       Grand Canyon Council 010            4400 E Sierrita Rd                                      San Tan Valley, AZ 85143‐3268                                                          First Class Mail
Chartered Organization         Lds Copper Canyon Ward ‐ Surprise Az Stk                 Grand Canyon Council 010            14326 W Christy Dr                                      Surprise, AZ 85379‐4317                                                                First Class Mail
Chartered Organization         Lds Copper City 2Nd Ward                                 Kearns Ut W Stake                   6175 W Borax Ave                                        Kearns, UT 84118                                                                       First Class Mail
Chartered Organization         Lds Copper Cloud Ward‐Lds                                Mcmillan Ward Settlers Park Stk     2549 W Astonte Dr                                       Meridian, ID 83646‐5847                                                                First Class Mail
Chartered Organization         Lds Copper Creek 1St Ward                                Riverton Ut Harvest Park Stake      12280 S 5600 W                                          Herriman, UT 84095                                                                     First Class Mail
Chartered Organization         Lds Copper Creek 2Nd Ward                                Riverton Ut Harvest Park Stake      12280 S 5600 W                                          Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Copper Creek 3Rd Ward                                Fort Herriman Ut Stake              12280 S 5600 W                                          Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Copper Crest Ward ‐ Mesa Az                          Alta Mesa Stake                     5350 E Mclellan Rd                                      Mesa, AZ 85205‐3410                                                                    First Class Mail
Chartered Organization         Lds Copper Crest Ward Shadow Mtn Stake                   Las Vegas Area Council 328          6105 Ridgecarn Ave                                      Las Vegas, NV 89130‐1372                                                               First Class Mail
Chartered Organization         Lds Copper Hills 12Th Ward                               W J Ut Copper Hills Stake           9227 S Wild Clover Ln                                   West Jordan, UT 84081                                                                  First Class Mail
Chartered Organization         Lds Copper Hills 14Th Ward                               W J Ut Copper Hills Stake           9227 S Wild Clover Ln                                   West Jordan, UT 84081                                                                  First Class Mail
Chartered Organization         Lds Copper Hills 17Th Ward                               W J Ut Copper Hills Stake           5349 W 9000 S                                           West Jordan, UT 84088                                                                  First Class Mail
Chartered Organization         Lds Copper Hills 1St Ward                                W J Ut Copper Hills Stake           5176 W Parr Dr                                          West Jordan, UT 84081                                                                  First Class Mail
Chartered Organization         Lds Copper Hills 2Nd Ward                                W J Ut Copper Hills Stake           5176 W Parr Dr                                          West Jordan, UT 84081                                                                  First Class Mail
Chartered Organization         Lds Copper Hills 4Th Ward                                W J Ut Copper Hills Stake           5176 W Parr Dr                                          West Jordan, UT 84081                                                                  First Class Mail
Chartered Organization         Lds Copper Hills 6Th Ward                                W J Ut Copper Hills Stake           5349 W 9000 S                                           West Jordan, UT 84081                                                                  First Class Mail
Chartered Organization         Lds Copper Hills 7Th Ward                                W J Ut Copper Hills Stake           9227 S Wild Clover Ln                                   West Jordan, UT 84081                                                                  First Class Mail
Chartered Organization         Lds Copper Hills 8Th Ward                                W J Ut Copper Hills Stake           5349 W 9000 S                                           West Jordan, UT 84088                                                                  First Class Mail
Chartered Organization         Lds Copper Oaks Ward                                     Herriman Ut Mtn View Stake          14068 S 5600 W                                          Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Copper Ranch Ward ‐ Gilbert Az                       Higley Stake                        1010 S Recker Rd                                        Gilbert, AZ 85296                                                                      First Class Mail
Chartered Organization         Lds Copperas Cove 1St Ward                               Killeen Stake                       1502 Virginia Ave                                       Copperas Cove, TX 76522‐3187                                                           First Class Mail
Chartered Organization         Lds Copperas Cove 2Nd Ward                               Killeen Stake                       1502 Virginia Ave                                       Copperas Cove, TX 76522‐3187                                                           First Class Mail
Chartered Organization         Lds Copperbend Ward                                      Utah National Parks 591             4994 E Broken Arrow Ln                                  Eagle Mountain, UT 84005‐7202                                                          First Class Mail
Chartered Organization         Lds Copperfield Ward                                     Bear Creek Stake                    16203 Longenbaugh Dr                                    Houston, TX 77095‐1715                                                                 First Class Mail
Chartered Organization         Lds Coppergate Ward/W J Ut East Stk                      Great Salt Lake Council 590         1899 W 7600 S                                           West Jordan, UT 84084‐4153                                                             First Class Mail
Chartered Organization         Lds Copperhill 10Th Ward                                 S L Hunter Copperhill Stake         6710 W 4145 S                                           Salt Lake City, UT 84128‐7401                                                          First Class Mail
Chartered Organization         Lds Copperhill 3Rd Ward                                  S L Hunter W Stake                  6755 W 3800 S                                           Salt Lake City, UT 84128                                                               First Class Mail
Chartered Organization         Lds Copperhill 4Th Ward                                  S L Hunter Copperhill Stake         6710 W 4145 S                                           West Valley City, UT 84128‐7401                                                        First Class Mail
Chartered Organization         Lds Copperhill 5Th Ward                                  S L Hunter Copperhill Stake         4333 S 6400 W                                           West Valley City, UT 84128                                                             First Class Mail
Chartered Organization         Lds Copperhill 7Th Ward                                  S L Hunter Copperhill Stake         4195 S 6000 W                                           Salt Lake City, UT 84128‐6508                                                          First Class Mail
Chartered Organization         Lds Copperhill 8Th Ward                                  S L Hunter Copperhill Stake         4195 S 6000 W                                           West Valley City, UT 84128‐6508                                                        First Class Mail
Chartered Organization         Lds Copperhill 9Th Ward                                  S L Hunter Copperhill Stake         6710 W 4145 S                                           Salt Lake City, UT 84128‐7401                                                          First Class Mail
Chartered Organization         Lds Copperleaf Ward, Arapahoe Stake                      Denver Area Council 061             21750 E Dorado Ave                                      Aurora, CO 80015‐3576                                                                  First Class Mail
Chartered Organization         Lds Copperton Ward                                       W J Ut Sycamores Stake              8633 W Hillcrest St                                     Bingham Canyon, UT 84006‐5601                                                          First Class Mail
Chartered Organization         Lds Copperview 1St Ward                                  Rvrtn Ut Copperview Stake           12154 S 3600 W                                          Riverton, UT 84065                                                                     First Class Mail
Chartered Organization         Lds Copperview 2Nd Ward                                  Rvrtn Ut Copperview Stake           12210 S 2700 W                                          Riverton, UT 84065                                                                     First Class Mail
Chartered Organization         Lds Copperview 3Rd Ward                                  Rvrtn Ut Copperview Stake           12210 S 2700 W                                          Riverton, UT 84065                                                                     First Class Mail
Chartered Organization         Lds Copperview 4Th Ward                                  Rvrtn Ut Copperview Stake           12232 S 3200 W                                          Riverton, UT 84065                                                                     First Class Mail
Chartered Organization         Lds Copperview 5Th Ward                                  Rvrtn Ut Copperview Stake           12154 S 3600 W                                          Riverton, UT 84065                                                                     First Class Mail
Chartered Organization         Lds Copperview 6Th Ward                                  Rvrtn Ut Copperview Stake           12154 S 3600 W                                          Riverton, UT 84065                                                                     First Class Mail
Chartered Organization         Lds Copperview 7Th Ward                                  Riverton Ut Copperview Stake        12154 S 3600 W                                          Riverton, UT 84065                                                                     First Class Mail
Chartered Organization         Lds Copperview 8Th Ward                                  Rvrtn Ut Copperview Stake           12154 S 3600 W                                          Riverton, UT 84065                                                                     First Class Mail
Chartered Organization         Lds Copperview 9Th Ward                                  Riverton Ut Copperview Stake        12154 S 3600 W                                          Riverton, UT 84065                                                                     First Class Mail
Chartered Organization         Lds Copperwood Ward ‐ Glendale Az Stk                    Grand Canyon Council 010            8840 N 61St Ave                                         Glendale, AZ 85302‐4521                                                                First Class Mail
Chartered Organization         Lds Coquille Ward Coos Bay Stake                         Oregon Trail Council 697            2405 Shelley Rd                                         Coquille, OR 97423‐2066                                                                First Class Mail
Chartered Organization         Lds Coral Canyon First Ward (Washington)                 Utah National Parks 591             1950 N Coral Canyon Blvd                                Washington, UT 84780                                                                   First Class Mail
Chartered Organization         Lds Coral Canyon Fourth Ward                             Utah National Parks 591             952 N Mountainside Ave                                  Washington, UT 84780‐2635                                                              First Class Mail
Chartered Organization         Lds Coral Canyon Second Ward                             Utah National Parks 591             1125 N Spring Valley Dr                                 Washington, UT 84780‐2391                                                              First Class Mail
Chartered Organization         Lds Coral Canyon Third Ward                              Utah National Parks 591             1950 N Coral Canyon Blvd                                Washington, UT 84780                                                                   First Class Mail
Chartered Organization         Lds Coral Reef Ward                                      South Florida Council 084           10000 Sw 107Th Ave                                      Miami, FL 33176‐2784                                                                   First Class Mail
Chartered Organization         Lds Coral Springs Ward                                   South Florida Council 084           10148 Nw 31St St                                        Coral Springs, FL 33065‐3913                                                           First Class Mail
Chartered Organization         Lds Corbin Ward                                          Blue Grass Council 204              Rt 8 Box 187                                            Corbin, KY 40701                                                                       First Class Mail
Chartered Organization         Lds Cordata Park Ward                                    Huntington Beach Stake              17500 Bushard St                                        Fountain Valley, CA 92708                                                              First Class Mail
Chartered Organization         Lds Cordelia 1St Ward ‐ Fairfield Stake                  Mt Diablo‐Silverado Council 023     101 Oakwood Dr                                          Fairfield, CA 94534                                                                    First Class Mail
Chartered Organization         Lds Cordelia Ward ‐ Fairfield Stake                      Mt Diablo‐Silverado Council 023     101 Oakwood Dr                                          Fairfield, CA 94534                                                                    First Class Mail
Chartered Organization         Lds Cordera Ward‐North Stake                             Pikes Peak Council 060              8610 Scarborough Dr                                     Colorado Springs, CO 80920‐7566                                                        First Class Mail
Chartered Organization         Lds Cordova Branch‐Soldotna Stake                        Great Alaska Council 610            P.O. Box 1414                                           Cordova, AK 99574‐1414                                                                 First Class Mail
Chartered Organization         Lds Corinne 1St Ward                                     Brigham City West Stake             2335 N 400 W                                            Corinne, UT 84307                                                                      First Class Mail
Chartered Organization         Lds Corinne 2Nd Ward                                     Brigham City West Stake             2335 N 4000 W                                           Corinne, UT 84307                                                                      First Class Mail
Chartered Organization         Lds Cornelia Ward ‐ Athens Stake                         Northeast Georgia Council 101       Hwy 197                                                 Mount Airy, GA 30563                                                                   First Class Mail
Chartered Organization         Lds Cornell Ward Hillsboro Stake                         Cascade Pacific Council 492         1177 NE Birchaire Ln                                    Hillsboro, OR 97124‐2634                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                     Page 203 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                        Filed 01/06/22                                                     Page 219 of 457
                                                                                                                                                                       Exhibit B
                                                                                                                                                                        Service List
                                                                                                                                                                 Served as set forth below

        Description                                                       Name                                                                                       Address                                                                                             Email              Method of Service
Chartered Organization         Lds Corner Canyon 1St Ward                               Draper Ut Corner Cyn Stake             13006 S Boulter St (1485                                    Draper, UT 84020                                                                      First Class Mail
Chartered Organization         Lds Corner Canyon 2Nd Ward                               Draper Ut Corner Cyn Stake             13366 S 1300 E                                              Draper, UT 84020                                                                      First Class Mail
Chartered Organization         Lds Corner Canyon 3Rd Ward                               Draper Ut Corner Cnyn Stake            13350 S 1750 E                                              Draper, UT 84020                                                                      First Class Mail
Chartered Organization         Lds Corner Canyon 4Th Ward                               Draper Ut Corner Cyn Stake             13366 S 1300 E                                              Draper, UT 84020                                                                      First Class Mail
Chartered Organization         Lds Corner Canyon 5Th Ward                               Draper Ut Corner Cyn Stake             13006 S Boulter St                                          Draper, UT 84020                                                                      First Class Mail
Chartered Organization         Lds Corner Canyon 6Th Ward                               Draper Ut Corner Cyn Stake             13350 S Aintree Ave                                         Draper, UT 84020                                                                      First Class Mail
Chartered Organization         Lds Corner Canyon 7Th Ward                               Draper Ut Corner Cyn Stake             994 E Deerwalk Rd                                           Draper, UT 84020‐3103                                                                 First Class Mail
Chartered Organization         Lds Corner Canyon 8Th Ward                               Draper Ut Corner Cnyn Stake            13350 S 1750 E                                              Draper, UT 84020                                                                      First Class Mail
Chartered Organization         Lds Corner Canyon 9Th Ward                               Draper Ut Corner Cyn Stake             16006 So Boulter St                                         Draper, UT 84020                                                                      First Class Mail
Chartered Organization         Lds Cornerstone Park Ward                                Littleton Stake                        999 E Tufts Ave                                             Cherry Hills, CO 80113‐5907                                                           First Class Mail
Chartered Organization         Lds Cornerstone Ward ‐ Gilbert Az                        Highland E Stake                       3580 E Houston Ave                                          Gilbert, AZ 85234                                                                     First Class Mail
Chartered Organization         Lds Cornerstone Ward ‐ Mesa Az North Stk                 Grand Canyon Council 010               422 E University Dr                                         Mesa, AZ 85203                                                                        First Class Mail
Chartered Organization         Lds Corning Ward Anderson Stake                          Golden Empire Council 047              111 N Marguerite Ave                                        Corning, CA 96021                                                                     First Class Mail
Chartered Organization         Lds Corona 1St Ward ‐ Tempe Az South Stk                 Grand Canyon Council 010               1111 E Knox Rd                                              Tempe, AZ 85284‐3206                                                                  First Class Mail
Chartered Organization         Lds Corona 2Nd Ward ‐ Tempe Az South Stk                 Grand Canyon Council 010               1111 E Knox Rd                                              Tempe, AZ 85284‐3206                                                                  First Class Mail
Chartered Organization         Lds Corona Ward ‐ Corona Stake                           California Inland Empire Council 045   1290 W Ontario Ave                                          Corona, CA 92882‐5706                                                                 First Class Mail
Chartered Organization         Lds Coronado 1St Ward ‐ Gilbert Az                       San Tan Stake                          4170 S Ranch House Pkwy                                     Gilbert, AZ 85297                                                                     First Class Mail
Chartered Organization         Lds Coronado 2Nd Ward ‐ Gilbert Az                       San Tan Stake                          3663 E Ironhorse Rd                                         Gilbert, AZ 85297                                                                     First Class Mail
Chartered Organization         Lds Coronado 3Rd Ward ‐ Gilbert Az                       San Tan Stake                          3453 E Clark Ct                                             Gilbert, AZ 85297‐8256                                                                First Class Mail
Chartered Organization         Lds Coronado Ward ‐ Scottsdale Az                        Camelback Stake                        2202 N 74Th St                                              Scottsdale, AZ 85257‐1539                                                             First Class Mail
Chartered Organization         Lds Coronado Ward Blue Diamond Stake                     Las Vegas Area Council 328             7885 W Robindale Rd                                         Las Vegas, NV 89113‐4054                                                              First Class Mail
Chartered Organization         Lds Corte Sierra Ward ‐ Goodyear Az Stk                  Grand Canyon Council 010               13277 W Thomas Rd                                           Goodyear, AZ 85395‐2270                                                               First Class Mail
Chartered Organization         Lds Cortessa Ward ‐ Surprise Az West Stk                 Grand Canyon Council 010               15880 W Cactus Rd                                           Surprise, AZ 85379                                                                    First Class Mail
Chartered Organization         Lds Cortez 1St Ward Durango Stake                        Great Swest Council 412                644 N Harrison St                                           Cortez, CO 81321‐2878                                                                 First Class Mail
Chartered Organization         Lds Cortez 2Nd Ward Durango Stake                        Great Swest Council 412                1800 E Empire St                                            Cortez, CO 81321‐2532                                                                 First Class Mail
Chartered Organization         Lds Cortez 3Rd Ward Durango Stake                        Great Swest Council 412                26525 Rd M                                                  Dolores, CO 81323                                                                     First Class Mail
Chartered Organization         Lds Cortez 4Th Ward Durango Stake                        Great Swest Council 412                25590 Rd N.6 Loop                                           Cortez, CO 81321‐9460                                                                 First Class Mail
Chartered Organization         Lds Cortina 1St Ward ‐ Qc Az West Stk                    Grand Canyon Council 010               19730 E Ocotillo Rd                                         Queen Creek, AZ 85142                                                                 First Class Mail
Chartered Organization         Lds Cortina 2Nd Ward ‐ Qc Az West Stk                    Grand Canyon Council 010               19413 S Sossaman Rd                                         Queen Creek, AZ 85142                                                                 First Class Mail
Chartered Organization         Lds Cortina 3Rd Ward ‐ Qc Az West Stk                    Grand Canyon Council 010               19413 S Sossaman Rd                                         Queen Creek, AZ 85142                                                                 First Class Mail
Chartered Organization         Lds Cortina 4Th Ward ‐ Qc Az West Stk                    Grand Canyon Council 010               19267 S Sossaman Rd                                         Queen Creek, AZ 85142                                                                 First Class Mail
Chartered Organization         Lds Cortina 5Th Ward ‐ Qc Az West Stk                    Grand Canyon Council 010               18550 E Riggs Rd                                            Queen Creek, AZ 85142                                                                 First Class Mail
Chartered Organization         Lds Corvallis 1St Ward Corvallis Stake                   Oregon Trail Council 697               4141 NW Harrison Blvd                                       Corvallis, OR 97330                                                                   First Class Mail
Chartered Organization         Lds Corvallis 2Nd Ward Corvallis Stake                   Oregon Trail Council 697               4141 NW Harrison Blvd                                       Corvallis, OR 97330                                                                   First Class Mail
Chartered Organization         Lds Corvallis 3Rd Ward Corvallis Stake                   Oregon Trail Council 697               1205 NW Walnut Blvd                                         Corvallis, OR 97330‐3638                                                              First Class Mail
Chartered Organization         Lds Corvallis 4Th Ward Corvallis Stake                   Oregon Trail Council 697               1205 NW Walnut Blvd                                         Corvallis, OR 97330‐3638                                                              First Class Mail
Chartered Organization         Lds Corvallis Ward, Stevensville Stake                   Montana Council 315                    957 Eside Hwy                                               Corvallis, MT 59828                                                                   First Class Mail
Chartered Organization         Lds Corydon First Branch                                 Lincoln Heritage Council 205           215 W Chestnut St                                           Corydon, IN 47112‐1111                                                                First Class Mail
Chartered Organization         Lds Costa Mesa 1st Ward                                  Newport Beach Stake                    2775 Placentia Ave                                          Costa Mesa, CA 92626‐4717                                                             First Class Mail
Chartered Organization         Lds Cottage Grove Ward Eugene Stk                        Oregon Trail Council 697               531 S 10th St                                               Cottage Grove, OR 97424‐2525                                                          First Class Mail
Chartered Organization         Lds Cottage Lake Ward Bothell Stake                      Chief Seattle Council 609              18860 NE Woodinville Duvall Rd                              Woodinville, WA 98077                                                                 First Class Mail
Chartered Organization         Lds Cottage Park Ward Sac East Stake                     Golden Empire Council 047              2730 Hurley Way                                             Sacramento, CA 95864                                                                  First Class Mail
Chartered Organization         Lds Cotton Acres Ward                                    Utah National Parks 591                2335 E 40 N                                                 St George, UT 84790‐5436                                                              First Class Mail
Chartered Organization         Lds Cotton Creek Ward Westminister Stake                 Denver Area Council 061                1951 Elmwood Ln                                             Westminster, CO 80221‐4275                                                            First Class Mail
Chartered Organization         Lds Cotton Manor Ward                                    Utah National Parks 591                2417 E 350 N                                                Saint George, UT 84790‐2548                                                           First Class Mail
Chartered Organization         Lds Cottonwood 10Th Ward                                 Sl Big Ctnwd Stake                     4930 S Westmoor Rd                                          Salt Lake City, UT 84117‐5906                                                         First Class Mail
Chartered Organization         Lds Cottonwood 11Th Ward                                 S L Cottonwood Stake                   1830 E 6400 S                                               Salt Lake City, UT 84121                                                              First Class Mail
Chartered Organization         Lds Cottonwood 12Th Ward                                 S L Big Ctnwd Stake                    1750 E Spring Ln                                            Holladay, UT 84117                                                                    First Class Mail
Chartered Organization         Lds Cottonwood 13Th Ward                                 S L Cottonwood Stake                   1830 E 6400 S                                               Salt Lake City, UT 84121                                                              First Class Mail
Chartered Organization         Lds Cottonwood 14Th Ward                                 S L Big Ctnwd Stake                    2080 E Donelson Ln                                          Salt Lake City, UT 84117                                                              First Class Mail
Chartered Organization         Lds Cottonwood 16Th Ward                                 S L Big Cttnwd Stake                   1750 E Spring Ln                                            Salt Lake City, UT 84117                                                              First Class Mail
Chartered Organization         Lds Cottonwood 1St Ward                                  S L Cottonwood Stake                   5913 S Highland Dr                                          Salt Lake City, UT 84121                                                              First Class Mail
Chartered Organization         Lds Cottonwood 2Nd Ward                                  S L Big Cottnwood Stake                2080 E Donelson Ln                                          Salt Lake City, UT 84117                                                              First Class Mail
Chartered Organization         Lds Cottonwood 3Rd Ward                                  Sl Cottonwood Stake                    6301 S 2300 E                                               Salt Lake City, UT 84121                                                              First Class Mail
Chartered Organization         Lds Cottonwood 4Th Ward                                  S L Big Cttnwd Stake                   5565 S Neighbor Ln                                          Salt Lake City, UT 84117                                                              First Class Mail
Chartered Organization         Lds Cottonwood 5Th Ward                                  S L Cottonwood Stake                   6301 S 2300 E                                               Holladay, UT 84121                                                                    First Class Mail
Chartered Organization         Lds Cottonwood 8Th Ward                                  Sl Cottonwood Stake                    6301 S 2300 E                                               Salt Lake City, UT 84121                                                              First Class Mail
Chartered Organization         Lds Cottonwood Canyon Ward/Yakima Stake                  Grand Columbia Council 614             1414 S 72nd Ave                                             Yakima, WA 98908‐1967                                                                 First Class Mail
Chartered Organization         Lds Cottonwood Creek Ward                                Farr West Poplar Stake                 1800 W 1800 N                                               Farr West, UT 84404                                                                   First Class Mail
Chartered Organization         Lds Cottonwood Creek Ward                                S L So Cottonwood Stake                1250 E 4800 S                                               Salt Lake City, UT 84117                                                              First Class Mail
Chartered Organization         Lds Cottonwood Heights Ward                              Albuquerque West Stake                 6000 Kachina St Nw                                          Albuquerque, NM 87120                                                                 First Class Mail
Chartered Organization         Lds Cottonwood Hgts 1St Ward                             Sl Ctnwd Hgts Stake                    7075 S 2245 E                                               Salt Lake City, UT 84121                                                              First Class Mail
Chartered Organization         Lds Cottonwood Hgts 2Nd Ward                             Sl Ctnwd Hgts Stake                    6890 S Whitmore Way                                         Salt Lake City, UT 84121                                                              First Class Mail
Chartered Organization         Lds Cottonwood Hgts 3Rd Ward                             Sl Ctnwd Hgts Stake                    6890 S Whitmore Way                                         Salt Lake City, UT 84121                                                              First Class Mail
Chartered Organization         Lds Cottonwood Hgts 4Th Ward                             Sl Ctnwd Hgts Stake                    2522 E 6710 S                                               Salt Lake City, UT 84121                                                              First Class Mail
Chartered Organization         Lds Cottonwood Hgts 5Th Ward                             Sl Ctnwd Hgts Stake                    7075 S 2245 E                                               Salt Lake City, UT 84121                                                              First Class Mail
Chartered Organization         Lds Cottonwood Hgts 7Th Ward                             Sl Ctnwd Hgts Stake                    2522 E 6710 S                                               Salt Lake City, UT 84121                                                              First Class Mail
Chartered Organization         Lds Cottonwood Park Ward‐Mer Stk                         Ore‐Ida Council 106 ‐ Bsa 106          12989 W Paint Dr                                            Boise, ID 83713‐1947                                                                  First Class Mail
Chartered Organization         Lds Cottonwood Spgs Ward ‐ Kennewick Stake               Blue Mountain Council 604              10376 Ridgeline Dr                                          Kennewick, WA 99338‐2334                                                              First Class Mail
Chartered Organization         Lds Cottonwood Ward                                      Utah National Parks 591                3600 N Minersville R                                        Enoch, UT 84720                                                                       First Class Mail
Chartered Organization         Lds Cottonwood Ward                                      Utah National Parks 591                2811 E 3580 S                                               Saint George, UT 84790‐7285                                                           First Class Mail
Chartered Organization         Lds Cottonwood Ward ‐ Palmer Stake                       Great Alaska Council 610               1905 N Battery Cir                                          Palmer, AK 99645‐9319                                                                 First Class Mail
Chartered Organization         Lds Cottonwood Ward ‐ Richland Stake                     Blue Mountain Council 604              4500 Paradise St                                            West Richland, WA 99353                                                               First Class Mail
Chartered Organization         Lds Cottonwood Ward Papillion Stake                      Mid‐America Council 326                12009 S 84th St                                             Papillion, NE 68046                                                                   First Class Mail
Chartered Organization         Lds Cougar Mtn Ward Bellevue S Stake                     Chief Seattle Council 609              4915 165th Pl Se                                            Bellevue, WA 98006‐5803                                                               First Class Mail
Chartered Organization         Lds Coulee Dam Ward/Ephrata Stake                        Grand Columbia Council 614             4635 Geostar Dr                                             Grand Coulee, WA 99133                                                                First Class Mail
Chartered Organization         Lds Council Bluffs Ward                                  Council Bluff Stake                    2226 Ave I                                                  Council Bluffs, IA 51501‐0948                                                         First Class Mail
Chartered Organization         Lds Council Creek Ward                                   Forest Grove Stake                     2700 Leon Dr                                                Forest Grove, OR 97116‐1364                                                           First Class Mail
Chartered Organization         Lds Council Ward‐Weiser Stk                              Ore‐Ida Council 106 ‐ Bsa 106          205 N Railroad St                                           Council, ID 83612‐5059                                                                First Class Mail
Chartered Organization         Lds Country Brook Ward Lake Mead Stake                   Las Vegas Area Council 328             1002 Burkholder Blvd                                        Henderson, NV 89015‐3509                                                              First Class Mail
Chartered Organization         Lds Country Club Ward ‐ Phoenix Az                       East Stake                             1316 E Cheery Lynn Rd                                       Phoenix, AZ 85014                                                                     First Class Mail
Chartered Organization         Lds Country Creek Ward                                   Holmes Creek Stake                     625 S 750 W                                                 Layton, UT 84041                                                                      First Class Mail
Chartered Organization         Lds Country Crossing 12Th Ward                           Sj Ut Country Crossing Stake           3760 W Rushton View Dr                                      South Jordan, UT 84095                                                                First Class Mail
Chartered Organization         Lds Country Crossing 3Rd Ward                            Sj Ut Country Crossing Stake           11173 S Copper Point Way                                    South Jordan, UT 84095                                                                First Class Mail
Chartered Organization         Lds Country Crossing 6Th Ward                            Sj Ut Country Crossing Stake           11173 S Copper Point Way                                    South Jordan, UT 84095                                                                First Class Mail
Chartered Organization         Lds Country Crossing 7Th Ward                            Sj Ut Country Crossing Stake           11173 S Copper Point Way                                    South Jordan, UT 84095                                                                First Class Mail
Chartered Organization         Lds Country Crossing Ward                                Syracuse Bluff Stake                   1285 S 2500 W                                               Syracuse, UT 84075                                                                    First Class Mail
Chartered Organization         Lds Country Gables Ward ‐ Phoenix Az                     North Stake                            15006 N 39Th Ave                                            Phoenix, AZ 85053                                                                     First Class Mail
Chartered Organization         Lds Country Hills Ward                                   Weber Heights Stake                    1401 Country Hills Dr                                       Ogden, UT 84403                                                                       First Class Mail
Chartered Organization         Lds Country Hollow Ward                                  Layton East Stake                      1015 N Emerald Dr                                           Layton, UT 84040                                                                      First Class Mail
Chartered Organization         Lds Country Lane Ward                                    Kaysville South Stake                  9 W 550 S                                                   Kaysville, UT 84037                                                                   First Class Mail
Chartered Organization         Lds Country Meadows Ward                                 West Haven Stake                       3330 S 4700 W                                               West Haven, UT 84401                                                                  First Class Mail
Chartered Organization         Lds Country Mill Ward                                    Deseret Mill Stake                     270 W Burton Ln                                             Kaysville, UT 84037                                                                   First Class Mail
Chartered Organization         Lds Country Park 1St Ward                                S J Ut Country Park Stake              11250 S 2700 W                                              South Jordan, UT 84095‐8432                                                           First Class Mail
Chartered Organization         Lds Country Park 2Nd Ward                                S J Ut Country Park Stake              2447 W 11400 S                                              South Jordan, UT 84095                                                                First Class Mail
Chartered Organization         Lds Country Park 3Rd Ward                                S J Ut Country Park Stake              1988 W 11400 S                                              South Jordan, UT 84095                                                                First Class Mail
Chartered Organization         Lds Country Park 4Th Ward                                S J Ut Country Park Stake              11250 S 2700 W                                              South Jordan, UT 84095‐8432                                                           First Class Mail
Chartered Organization         Lds Country Park 5Th Ward                                S J Ut Country Park Stake              1988 W 11400 S                                              South Jordan, UT 84095                                                                First Class Mail
Chartered Organization         Lds Country Park 6Th Ward                                S J Ut Country Park Stake              11251 S 2700 W                                              South Jordan, UT 84095                                                                First Class Mail
Chartered Organization         Lds Country Park 7Th Ward                                S J Ut Country Park Stake              2447 W 11400 S                                              South Jordan, UT 84095                                                                First Class Mail
Chartered Organization         Lds Country Park 8Th Ward                                S J Ut Country Park Stake              1988 W 11400 S                                              South Jordan, UT 84095                                                                First Class Mail
Chartered Organization         Lds Country Park 9Th Ward                                Sj Utah Country Park Stake             2447 W 11400 S                                              South Jordan, UT 84095                                                                First Class Mail
Chartered Organization         Lds Country Shadows Ward ‐ Qc Az                         Chandler Heights Stake                 7201 S 164Th St                                             Queen Creek, AZ 85298                                                                 First Class Mail
Chartered Organization         Lds Country View Ward                                    Holmes Creek Stake                     625 S 750 E                                                 Layton, UT 84041                                                                      First Class Mail
Chartered Organization         Lds Country Walk Ward                                    South Florida Council 084              29600 Sw 167Th Ave                                          Homestead, FL 33030‐3421                                                              First Class Mail
Chartered Organization         Lds Cove First Ward                                      Utah National Parks 591                805 N 1930 W                                                Roosevelt, UT 84066‐9562                                                              First Class Mail
Chartered Organization         Lds Cove Second Ward                                     Utah National Parks 591                97 Park Ridge Dr 515‐16                                     Roosevelt, UT 84066‐2668                                                              First Class Mail
Chartered Organization         Lds Cove Ward                                            Utah National Parks 591                80 N Sunnyside Dr                                           Cedar City, UT 84720‐2269                                                             First Class Mail
Chartered Organization         Lds Covenant Hills Ward                                  Mission Viejo Stake                    27976 Marguerite Pkwy                                       Mission Viejo, CA 92692‐3609                                                          First Class Mail
Chartered Organization         Lds Coventry Park Ward                                   Clearfield South Stake                 752 N 3700 W                                                Layton, UT 84041                                                                      First Class Mail
Chartered Organization         Lds Covington Ward / Conyers Stake                       Atlanta Area Council 092               10235 Eagle Dr                                              Covington, GA 30014                                                                   First Class Mail
Chartered Organization         Lds Cowley 1St Ward Lovell Stake                         Greater Wyoming Council 638            P.O. Box 655                                                Cowley, WY 82420‐0655                                                                 First Class Mail
Chartered Organization         Lds Cowley 2Nd Ward, Lovell Stake                        Greater Wyoming Council 638            P.O. Box 655                                                Cowley, WY 82420‐0655                                                                 First Class Mail
Chartered Organization         Lds Craig 1St Ward/Craig Stake                           Denver Area Council 061                1295 W 9th St                                               Craig, CO 81625‐3269                                                                  First Class Mail
Chartered Organization         Lds Craig 2Nd Ward/Craig Stake                           Denver Area Council 061                1120 Lecuyer Dr                                             Craig, CO 81625‐1437                                                                  First Class Mail
Chartered Organization         Lds Craig Branch‐Juneau Stake                            Great Alaska Council 610               P.O. Box 498                                                Craig, AK 99921‐0498                                                                  First Class Mail
Chartered Organization         Lds Cranberry Farms Second Ward                          Utah National Parks 591                2390 W 2200 N                                               Lehi, UT 84043‐5764                                                                   First Class Mail
Chartered Organization         Lds Cranberry Farms Ward                                 Utah National Parks 591                2150 Pointe Meadow Loop                                     Lehi, UT 84043                                                                        First Class Mail
Chartered Organization         Lds Cranberry Twp Ward ‐ Pittsburgh Pa N                 Moraine Trails Council 500             2771 Rochester Rd                                           Cranberry Twp, PA 16066‐7233                                                          First Class Mail
Chartered Organization         Lds Crawfordville Ward                                   Tallahassee, Fl Stake                  Suwannee River Area Council 664                             4A Guinevere Ln                   Crawfordville, FL 32327                             First Class Mail
Chartered Organization         Lds Creek Lane Ward                                      Farmington Ut N Stake                  77 S Orchard Dr                                             Fruit Heights, UT 84037                                                               First Class Mail
Chartered Organization         Lds Creekside Ward                                       Utah National Parks 591                244 Sunset Dr                                               Alpine, UT 84004‐1506                                                                 First Class Mail
Chartered Organization         Lds Creekside Ward                                       Kaysville Central Stake                555 N 100 E                                                 Kaysville, UT 84037                                                                   First Class Mail
Chartered Organization         Lds Creekside Ward                                       Hacienda Heights Stake 741             20801 Marcon Dr                                             Walnut, CA 91789‐2016                                                                 First Class Mail
Chartered Organization         Lds Creekside Ward ‐ Ontario Stake                       California Inland Empire Council 045   3450 Creekside                                              Ontario, CA 91761                                                                     First Class Mail
Chartered Organization         Lds Creekside Ward ‐ Qc Az Central Stk                   Grand Canyon Council 010               21915 E Cloud Rd                                            Queen Creek, AZ 85142                                                                 First Class Mail
Chartered Organization         Lds Creekside Ward ‐ Qc Az Ocotillo Stk                  Grand Canyon Council 010               40160 N Bexhill Way                                         San Tan Valley, AZ 85140‐5078                                                         First Class Mail
Chartered Organization         Lds Creekside Ward Salem Stake                           Cascade Pacific Council 492            3645 Cloverdale Dr Se                                       Turner, OR 97392‐9577                                                                 First Class Mail
Chartered Organization         Lds Creekview Ward                                       Kaysville South Stake                  900 S Main St                                               Kaysville, UT 84037                                                                   First Class Mail
Chartered Organization         Lds Crescent 10Th Ward                                   Sandy Ut Crescent Stake                10945 S 1700 E                                              Sandy, UT 84092                                                                       First Class Mail
Chartered Organization         Lds Crescent 11Th Ward                                   Draper Ut Crescent View Stake          89 E 11000 S                                                Sandy, UT 84070                                                                       First Class Mail
Chartered Organization         Lds Crescent 12Th Ward                                   Draper Ut Crescent View Stake          525 Foothill Blvd                                           Salt Lake City, UT 84113‐1102                                                         First Class Mail
Chartered Organization         Lds Crescent 14Th Ward                                   Sandy Ut Crescent S Stake              10375 S Leilani Dr                                          Sandy, UT 84070                                                                       First Class Mail
Chartered Organization         Lds Crescent 16Th Ward                                   Sandy Ut Crescent S Stake              251 E 10600 S                                               Sandy, UT 84070‐4204                                                                  First Class Mail
Chartered Organization         Lds Crescent 18Th Ward                                   Sandy Ut Crescent Stake                2195 Pepperwood Dr                                          Sandy, UT 84092                                                                       First Class Mail
Chartered Organization         Lds Crescent 19Th Ward                                   Sandy Ut Crescent N Stake              1050 E 10600 S                                              Sandy, UT 84094                                                                       First Class Mail
Chartered Organization         Lds Crescent 21St Ward                                   Sandy Ut Lone Peak Stake               11570 Wasatch Blvd                                          Sandy, UT 84092                                                                       First Class Mail
Chartered Organization         Lds Crescent 22Nd Ward                                   Draper Ut Crescent View Stake          552 E 11400 S.                                              Sandy, UT 84020                                                                       First Class Mail
Chartered Organization         Lds Crescent 23Rd Ward                                   Sandy Ut Crescent S Stake              10375 S Leilani Dr                                          Sandy, UT 84070                                                                       First Class Mail
Chartered Organization         Lds Crescent 24Th Ward                                   Sandy Ut Crescent S Stake              251 E 10600 S                                               Sandy, UT 84070‐4204                                                                  First Class Mail
Chartered Organization         Lds Crescent 25Th Ward                                   Draper Ut Crescent View Stake          11626 S 300 E                                               Draper, UT 84020                                                                      First Class Mail
Chartered Organization         Lds Crescent 28Th Ward                                   Draper Ut Crescent View Stake          11626 S 300 E                                               Draper, UT 84020                                                                      First Class Mail
Chartered Organization         Lds Crescent 29Th Ward                                   Sandy Ut Crescent N Stake              1050 E 10600 S                                              Sandy, UT 84094                                                                       First Class Mail
Chartered Organization         Lds Crescent 30Th Ward                                   Draper Ut Crescent View Stake          89 E 11000 S                                                Sandy, UT 84070                                                                       First Class Mail
Chartered Organization         Lds Crescent 3Rd Ward                                    Sandy Ut Crescent N Stake              949 E 10600 S                                               Sandy, UT 84094‐4402                                                                  First Class Mail
Chartered Organization         Lds Crescent 5Th Ward                                    Sandy Ut Crescent N Stake              1050 E 10600 S                                              Sandy, UT 84094                                                                       First Class Mail
Chartered Organization         Lds Crescent 6Th Ward                                    Draper Ut Crescent View Stake          11626 S 300 E                                               Draper, UT 84020                                                                      First Class Mail
Chartered Organization         Lds Crescent 7Th Ward                                    Sandy Ut Crescent N Stake              949 E 10600 S                                               Sandy, UT 84094‐4402                                                                  First Class Mail
Chartered Organization         Lds Crescent 8Th Ward                                    Sandy Ut Lone Peak Stake               2080 E Pinecrest Ln                                         Sandy, UT 84092                                                                       First Class Mail
Chartered Organization         Lds Crescent 9Th Ward                                    Sandy Ut Crescent S Stake              10375 S Leilani Dr                                          Sandy, UT 84070                                                                       First Class Mail
Chartered Organization         Lds Crescent City 1St Ward                               Eureka Stake                           1031 A St                                                   Crescent City, CA 95531‐3512                                                          First Class Mail
Chartered Organization         Lds Crescent City 2Nd Ward                               Eureka Stake                           P.O. Box 489                                                Crescent City, CA 95531‐0489                                                          First Class Mail
Chartered Organization         Lds Crescent Park 1St Ward                               Sandy Ut Crescent Prk Stake            11350 S 1000 E                                              Sandy, UT 84094                                                                       First Class Mail
Chartered Organization         Lds Crescent Park 2Nd Ward                               Sndy Ut Crscnt Prk Stake               10885 S Pampas Dr                                           Sandy, UT 84094                                                                       First Class Mail
Chartered Organization         Lds Crescent Park 3Rd Ward                               Sandy Ut Crescent Prk Stake            11350 S 1300 E                                              Sandy, UT 84094                                                                       First Class Mail
Chartered Organization         Lds Crescent Park 4Th Ward                               Sandy Ut Crescent Prk Stake            10885 S Pampas Dr                                           Sandy, UT 84094                                                                       First Class Mail
Chartered Organization         Lds Crescent Park 5Th Ward                               Sandy Ut Crescent Prk Stake            11350 S 1300 E                                              Sandy, UT 84094                                                                       First Class Mail
Chartered Organization         Lds Crescent Ridge 2Nd Ward                              Sandy Ut Crscnt Rdg Stake              10975 S Prescott Dr                                         Sandy, UT 84092‐5010                                                                  First Class Mail
Chartered Organization         Lds Crescent Ridge 3Rd Ward                              Sandy Ut Crescent Ridge Stake          10975 S Prescott Dr                                         Sandy, UT 84092‐5010                                                                  First Class Mail
Chartered Organization         Lds Crescent Ridge 4Th Ward                              Sandy Ut Crscnt Rdg Stake              1265 E 11000 S                                              Sandy, UT 84094                                                                       First Class Mail
Chartered Organization         Lds Crescent Ridge 5Th Ward                              Sandy Ut Crscnt Rdg Stake              11164 S Londonderry Dr                                      Sandy, UT 84092                                                                       First Class Mail
Chartered Organization         Lds Crescent Ridge 6Th Ward                              Sandy Ut Crscnt Rdg Stake              11164 S Londonderry Dr                                      Sandy, UT 84092                                                                       First Class Mail
Chartered Organization         Lds Crescent Ridge 7Th Ward                              Sandy Ut Crscnt Rdg Stake              1265 E 11000 S                                              Sandy, UT 84094                                                                       First Class Mail
Chartered Organization         Lds Crescent View Ward                                   Sandy Ut Crescent Stake                10945 S 1700 E                                              Sandy, UT 84092                                                                       First Class Mail
Chartered Organization         Lds Crescent Ward ‐ Cypress Stake                        Orange County Council 039              4000 Orange Ave                                             Anaheim, CA 92804                                                                     First Class Mail
Chartered Organization         Lds Crescent Ward ‐ Mesa Az Skyline Stk                  Grand Canyon Council 010               618 S Signal Butte Rd                                       Mesa, AZ 85207                                                                        First Class Mail
Chartered Organization         Lds Crestline Ward ‐ San Bernardino Stake                California Inland Empire Council 045   P.O. Box 346                                                Crestline, CA 92325‐0346                                                              First Class Mail
Chartered Organization         Lds Crestmoor Ward, Aurora South Stake                   Denver Area Council 061                740 Hudson St                                               Denver, CO 80220‐5224                                                                 First Class Mail
Chartered Organization         Lds Crestview 2Nd Ward                                   Gulf Coast Council 773                 2 Del Cerro Camino                                          Crestview, FL 32539‐5202                                                              First Class Mail
Chartered Organization         Lds Crestview First Ward                                 Gulf Coast Council 773                 3 Del Cerro Camino                                          Crestview, FL 32539‐5200                                                              First Class Mail
Chartered Organization         Lds Crestview Ward ‐ Richland Stake                      Blue Mountain Council 604              1720 Thayer Dr                                              Richland, WA 99354‐2854                                                               First Class Mail
Chartered Organization         Lds Crestview Ward/Sl Monument Pk Stk                    Great Salt Lake Council 590            2795 Crestview Dr                                           Salt Lake City, UT 84108                                                              First Class Mail
Chartered Organization         Lds Crestwood 1St Ward                                   Lincoln Heritage Council 205           7116 W Hwy 22                                               Crestwood, KY 40014‐9069                                                              First Class Mail
Chartered Organization         Lds Crestwood 2Nd Ward                                   Lincoln Heritage Council 205           6401 Wwind Way                                              Crestwood, KY 40014                                                                   First Class Mail
Chartered Organization         Lds Crestwood Ward Kent Stake                            Chief Seattle Council 609              26106 2164th Ave Se                                         Covington, WA 98042                                                                   First Class Mail
Chartered Organization         Lds Creswell Ward Eugene Stake                           Oregon Trail Council 697               531 S 10th St                                               Cottage Grove, OR 97424‐2525                                                          First Class Mail
Chartered Organization         Lds Crimson Cliffs Ward                                  Utah National Parks 591                2573 E 2300 South Cir                                       St George, UT 84790‐6224                                                              First Class Mail
Chartered Organization         Lds Crismon Ward ‐ Peralta Trail Az Stk                  Grand Canyon Council 010               1720 S Ironwood Dr                                          Apache Jct, AZ 85207                                                                  First Class Mail
Chartered Organization         Lds Crismon Ward ‐ Qc Az North Stk                       Grand Canyon Council 010               22035 E Ocotillo Rd                                         Queen Creek, AZ 85142                                                                 First Class Mail
Chartered Organization         Lds Cristianitos Ward ‐ San Clemente Stake               Orange County Council 039              310 Avenida Vista Montana                                   San Clemente, CA 92672                                                                First Class Mail
Chartered Organization         Lds Crittenden Ward Lexington Stake                      Dan Beard Council, Bsa 438             12288 Percival Rd                                           Walton, KY 41094‐8779                                                                 First Class Mail
Chartered Organization         Lds Crooked River Ward Far West Stake                    Heart of America Council 307           27800 NE 192nd St                                           Lawson, MO 64062‐8942                                                                 First Class Mail
Chartered Organization         Lds Crosby Park Ward‐Meridian Linder Stk                 Ore‐Ida Council 106 ‐ Bsa 106          997 W Cagney Dr                                             Meridian, ID 83646‐4789                                                               First Class Mail
Chartered Organization         Lds Cross Hollow Ward (Cedar City)                       Utah National Parks 591                2610 W Cody Dr                                              Cedar City, UT 84720                                                                  First Class Mail
Chartered Organization         Lds Crossman Peak Ward                                   Lake Havasu City Stake                 510 Acoma Blvd N                                            Lake Havasu City, AZ 86403‐4838                                                       First Class Mail
Chartered Organization         Lds Crosspoint Ward ‐ Mesa Az                            Mountain View Stake                    745 N Val Vista                                             Mesa, AZ 85205                                                                        First Class Mail
Chartered Organization         Lds Crosspointe Ward/Bennion Ut East Stk                 Great Salt Lake Council 590            1327 W 5550 S                                               Salt Lake City, UT 84123                                                              First Class Mail
Chartered Organization         Lds Crossroads First Ward                                Utah National Parks 591                1603 N August Dr                                            Saratoga Springs, UT 84045‐5171                                                       First Class Mail
Chartered Organization         Lds Crossroads Park Ward ‐ Gilbert Az                    Greenfield Stake                       2316 E San Tan Dr                                           Gilbert, AZ 85296‐3910                                                                First Class Mail
Chartered Organization         Lds Crossroads Second Ward                               Utah National Parks 591                46 W Apache Rd                                              Saratoga Springs, UT 84045‐5801                                                       First Class Mail
Chartered Organization         Lds Crossroads Sq Branch (Nepali)                        So Sl Stake                            2700 S 300 E                                                Salt Lake City, UT 84115                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                        Page 204 of 442
                                                                                   Case 20-10343-LSS                                  Doc 8171                                    Filed 01/06/22                                Page 220 of 457
                                                                                                                                                                     Exhibit B
                                                                                                                                                                      Service List
                                                                                                                                                               Served as set forth below

        Description                                                         Name                                                                                   Address                                                                        Email              Method of Service
Chartered Organization         Lds Crossroads Ward                                        Frisco Tx Shawnee Trl Stake            8801 Martop Rd                                          Aubrey, TX 76227‐4114                                            First Class Mail
Chartered Organization         Lds Crosswinds First Ward                                  Utah National Parks 591                870 E Canyon Rd                                         Spanish Fork, UT 84660                                           First Class Mail
Chartered Organization         Lds Crosswinds Second Ward                                 Utah National Parks 591                1229 S 1100 E                                           Spanish Fork, UT 84660‐5918                                      First Class Mail
Chartered Organization         Lds Crosswinds Third Ward                                  Utah National Parks 591                1661 S 1400 E                                           Spanish Fork, UT 84660                                           First Class Mail
Chartered Organization         Lds Crown Point Ward Gresham Stake                         Cascade Pacific Council 492            1515 SW Cherry Park Rd                                  Troutdale, OR 97060                                              First Class Mail
Chartered Organization         Lds Crown Rose Ward                                        Herriman Ut Mtn View Stake             5424 W Rosecrest Rd                                     Herriman, UT 84096                                               First Class Mail
Chartered Organization         Lds Crows Landing Ward Turlock Stake                       Greater Yosemite Council 059           18601 Crows Landing Rd                                  Crows Landing, CA 95313                                          First Class Mail
Chartered Organization         Lds Crows Landing Ward Turlock Stake                       Greater Yosemite Council 059           18601 Crows Landing Rd                                  Crows Landing, CA 95313                                          First Class Mail
Chartered Organization         Lds Crystal City Ward ‐ S St Louis Stake                   Greater St Louis Area Council 312      1000 Mcnutt School Rd                                   Herculaneum, MO 63048                                            First Class Mail
Chartered Organization         Lds Crystal Gardens Ward                                   Phoenix Az, W Maricopa Stake           10930 W Garden Lakes Pkwy                               Avondale, AZ 85323                                               First Class Mail
Chartered Organization         Lds Crystal Heights 1St Ward                               Salt Lake Highland Stake               1970 E Stratford Ave                                    Salt Lake City, UT 84106                                         First Class Mail
Chartered Organization         Lds Crystal Heights 2Nd Ward                               Salt Lake Highland Stake               1970 E Stratford Ave                                    Salt Lake City, UT 84106                                         First Class Mail
Chartered Organization         Lds Crystal Lake 1, Buffalo Grove                          Blackhawk Area 660                     5209 Walkup Rd                                          Crystal Lake, IL 60012                                           First Class Mail
Chartered Organization         Lds Crystal Lake 1, Buffalo Grove Stake                    Blackhawk Area 660                     480 N Walkup Rd                                         Crystal Lake, IL 60012                                           First Class Mail
Chartered Organization         Lds Crystal Lake 2, Buffalo Grove Stake                    Blackhawk Area 660                     480 N Walkup Rd                                         Crystal Lake, IL 60012                                           First Class Mail
Chartered Organization         Lds Crystal Lake 2, Buffalo Grove Stake                    Blackhawk Area 660                     480 N Walkup Rd                                         Crystal Lake, IL 60012                                           First Class Mail
Chartered Organization         Lds Crystal Shores Ward ‐ Gilbert Az                       Val Vista Stake                        1005 N Voyager Dr                                       Gilbert, AZ 85234                                                First Class Mail
Chartered Organization         Lds Crystal Spgs 1St Ward                                  San Mateo Stake                        795 Sneath Ln                                           San Bruno, CA 94066                                              First Class Mail
Chartered Organization         Lds Crystal Spgs 2Nd Ward                                  San Mateo Stake                        1000 Shell Blvd                                         Foster City, CA 94404‐2902                                       First Class Mail
Chartered Organization         Lds Crystal Vly Ward, Castle Rock Stake                    Denver Area Council 061                950 Plum Creek Blvd                                     Castle Rock, CO 80104‐2739                                       First Class Mail
Chartered Organization         Lds Cs / Belmont Ward                                      Heart Of Virginia Council 602          3541 Cogbill Rd                                         North Chesterfield, VA 23234‐4830                                First Class Mail
Chartered Organization         Lds Cs / Hopewell Ward                                     Heart Of Virginia Council 602          4181 Prince George Dr                                   Prince George, VA 23875                                          First Class Mail
Chartered Organization         Lds Cs / Meadowbrook Ward                                  Heart Of Virginia Council 602          3541 Cogbill Rd                                         North Chesterfield, VA 23234‐4830                                First Class Mail
Chartered Organization         Lds Cs / Swift Creek Ward                                  Heart Of Virginia Council 602          3541 Cogbill Rd                                         North Chesterfield, VA 23234‐4830                                First Class Mail
Chartered Organization         Lds Cs/Chesterfield Ward                                   Heart Of Virginia Council 602          3541 Cogbill Rd                                         North Chesterfield, VA 23234‐4830                                First Class Mail
Chartered Organization         Lds Cucamonga Ward                                         Rancho Cucamonga Stake                 6829 Etiwanda Ave                                       Rancho Cucamonga, CA 91739‐9713                                  First Class Mail
Chartered Organization         Lds Cuesta Park Ward, Los Altos Stake                      Pacific Skyline Council 031            1300 Grant Rd                                           Los Altos, CA 94024                                              First Class Mail
Chartered Organization         Lds Culebra Creek Ward ‐ West Stake                        Alamo Area Council 583                 13153 Iron Horse Way                                    Helotes, TX 78023‐3535                                           First Class Mail
Chartered Organization         Lds Cullman Ward, Huntsville Stake                         Greater Alabama Council 001            910 Saint Joseph Dr Nw                                  Cullman, AL 35055                                                First Class Mail
Chartered Organization         Lds Cullumber Ward ‐ Gilbert Az Stk                        Grand Canyon Council 010               220 E Cullumber Ave                                     Gilbert, AZ 85234                                                First Class Mail
Chartered Organization         Lds Culpeper Ward Fredericksburg Stake                     National Capital Area Council 082      420 Willow Lawn Dr                                      Culpeper, VA 22701‐4005                                          First Class Mail
Chartered Organization         Lds Cumberland Gap Cumberland                              Great Smoky Mountain Council 557       2063 Hwy 63                                             Arthur, TN 37707                                                 First Class Mail
Chartered Organization         Lds Currituck Branch Chesapeake Va Stake                   Tidewater Council 596                  113 Golden Jubilee St                                   Jarvisburg, NC 27947‐9530                                        First Class Mail
Chartered Organization         Lds Cypress Creek Ward                                     Houston North Stake                    16331 Hafer Rd                                          Houston, TX 77090                                                First Class Mail
Chartered Organization         Lds Cypress Creek Ward                                     South Florida Council 084              249 Commercial Blvd                                     Lauderdale By The Sea, FL 33308‐4442                             First Class Mail
Chartered Organization         Lds Cypress Creek Ward, Cedar Park Stake                   Capitol Area Council 564               1004 W Park St                                          Cedar Park, TX 78613‐2802                                        First Class Mail
Chartered Organization         Lds Cypress Ward ‐ Cypress Stake                           Orange County Council 039              5151 Orange Ave                                         Cypress, CA 90630‐2920                                           First Class Mail
Chartered Organization         Lds Cypress Ward Fort Myers Stake                          Southwest Florida Council 088          695 102nd Ave N                                         Naples, FL 34108‐3212                                            First Class Mail
Chartered Organization         Lds Cypress Ward Fort Myers Stake                          Southwest Florida Council 088          4602 Oak Leaf Dr                                        Naples, FL 34119‐8580                                            First Class Mail
Chartered Organization         Lds Dacula Second Ward ‐ Lilburn Stake                     Northeast Georgia Council 101          3355 Sugarloaf Pkwy                                     Lawrenceville, GA 30044‐5483                                     First Class Mail
Chartered Organization         Lds Dacula Ward ‐ Lilburn Stake                            Northeast Georgia Council 101          3323 New Hope Rd                                        Dacula, GA 30019                                                 First Class Mail
Chartered Organization         Lds Dahlonega Ward ‐ Sugar Hill Stake                      Northeast Georgia Council 101          P.O. Box 228                                            Dawsonville, GA 30534‐0005                                       First Class Mail
Chartered Organization         Lds Dahlonega Ward ‐ Sugar Hill Stake                      Northeast Georgia Council 101          P.O. Box 228                                            Dawsonville, GA 30534‐0005                                       First Class Mail
Chartered Organization         Lds Dai Ichi Ward (Japanese)                               S L Granite Stake                      2005 S 900 E                                            Salt Lake City, UT 84105                                         First Class Mail
Chartered Organization         Lds Dairy Creek Ward Forest Grove Stake                    Cascade Pacific Council 492            3661 Brooke St                                          Forest Grove, OR 97116‐3050                                      First Class Mail
Chartered Organization         Lds Daisy Mountain Ward ‐ Phoenix Az                       Desert Hills Stake                     109 E Galvin St                                         Desert Hills, AZ 85086‐8415                                      First Class Mail
Chartered Organization         Lds Dakota Ridge Ward, Columbine Stake                     Denver Area Council 061                12654 W Belleview Ave                                   Littleton, CO 80127                                              First Class Mail
Chartered Organization         Lds Dale City Ward Woodbridge Stake                        National Capital Area Council 082      5750 Websters Way                                       Manassas, VA 20112‐3490                                          First Class Mail
Chartered Organization         Lds Daleville                                              Alabama‐Florida Council 003            110 Shellfield Rd                                       Enterprise, AL 36330‐1320                                        First Class Mail
Chartered Organization         Lds Dalhart Ward Amarillo Tx Stake                         Golden Spread Council 562              1300 E 16th St                                          Dalhart, TX 79022‐5106                                           First Class Mail
Chartered Organization         Lds Dalton Ward                                            Northwest Georgia Council 100          2002 Kingsridge Dr                                      Dalton, GA 30720‐5043                                            First Class Mail
Chartered Organization         Lds Damascus Ward Frederick Stake                          National Capital Area Council 082      9600 Main St                                            Mount Airy, MD 21771                                             First Class Mail
Chartered Organization         Lds Damascus Ward Mt Hood Oregon Stake                     Cascade Pacific Council 492            12300 SE 312th Ave                                      Boring, OR 97009                                                 First Class Mail
Chartered Organization         Lds Dammeron Valley Ward                                   Utah National Parks 591                696 N High Ground Dr                                    Dammeron Valley, UT 84783‐5216                                   First Class Mail
Chartered Organization         Lds Damonte Ranch Ward ‐ Mt Rose Stake                     Nevada Area Council 329                2665 Brentina Ct                                        Reno, NV 89521‐8016                                              First Class Mail
Chartered Organization         Lds Dana Hills Ward ‐ Laguna Niguel Stake                  Orange County Council 039              28291 Alicia Pkwy                                       Laguna Niguel, CA 92677                                          First Class Mail
Chartered Organization         Lds Dana Ranch Ward ‐ Mesa Az Kimball Stk                  Grand Canyon Council 010               1266 S 32Nd St                                          Mesa, AZ 85204                                                   First Class Mail
Chartered Organization         Lds Dana Ward ‐ Mesa Az South Stk                          Grand Canyon Council 010               2334 E Pueblo Ave                                       Mesa, AZ 85204                                                   First Class Mail
Chartered Organization         Lds Danbury Ward Yorktown Stake                            Connecticut Yankee Council Bsa 072     16 Saw Mill Rd                                          Newtown, CT 06470‐1440                                           First Class Mail
Chartered Organization         Lds Daniel First Ward                                      Utah National Parks 591                1661 E 980 S.                                           Heber City, UT 84032                                             First Class Mail
Chartered Organization         Lds Daniel Second Ward                                     Utah National Parks 591                2981 S Daniels Rd                                       Heber City, UT 84032‐4061                                        First Class Mail
Chartered Organization         Lds Daniel Third Ward                                      Utah National Parks 591                2071 S 500 E                                            Heber City, UT 84032‐4436                                        First Class Mail
Chartered Organization         Lds Daniels Canyon Ward                                    Utah National Parks 591                3150 S Mill Rd                                          Heber City, UT 84032‐3519                                        First Class Mail
Chartered Organization         Lds Daniels Park Ward                                      Highlands Ranch Stake                  4195 E Wildcat Reserve Pkwy                             Highlands Ranch, CO 80126‐6800                                   First Class Mail
Chartered Organization         Lds Danville 1St Ward ‐ Danville Stake                     Mt Diablo‐Silverado Council 023        655 Old Orchard Dr                                      Danville, CA 94526‐4331                                          First Class Mail
Chartered Organization         Lds Danville 2Nd Ward ‐ Danville Stake                     Mt Diablo‐Silverado Council 023        655 Old Orchard Dr                                      Danville, CA 94526‐4331                                          First Class Mail
Chartered Organization         Lds Danville Ward Champaign Stake                          Prairielands 117                       1949 N Bowman Ave Rd                                    Danville, IL 61832                                               First Class Mail
Chartered Organization         Lds Darby Ward, Stevensville Stake                         Attn: Loyd Rennaker                    2238 Old Darby Rd                                       Hamilton, MT 59840‐9786                                          First Class Mail
Chartered Organization         Lds Dardenne Creek Ward ‐ N Cnty Stake                     Greater St Louis Area Council 312      66 Oak Valley Dr                                        St Peters, MO 63376                                              First Class Mail
Chartered Organization         Lds Darien Ward Yorktown Stake                             Connecticut Yankee Council Bsa 072     682 South Ave                                           New Canaan, CT 06840‐6324                                        First Class Mail
Chartered Organization         Lds Davis 1St Ward Woodland Stake                          Golden Empire Council 047              615 Elmwood Dr                                          Davis, CA 95616                                                  First Class Mail
Chartered Organization         Lds Davis Creek 1St Ward                                   Frmngtn Ut S Stake                     292 Lucky Star Way                                      Farmington, UT 84025‐2022                                        First Class Mail
Chartered Organization         Lds Davis Creek 2Nd Ward                                   Frmngtn Ut S Stake                     78 W 1100 S                                             Farmington, UT 84025‐2126                                        First Class Mail
Chartered Organization         Lds Davis Creek 3Rd Ward                                   Frmngtn Ut S Stake                     825 S 50 E                                              Farmington, UT 84025                                             First Class Mail
Chartered Organization         Lds Davis First Ward                                       Utah National Parks 591                3990 S 1500 E                                           Vernal, UT 84078                                                 First Class Mail
Chartered Organization         Lds Davis Fourth Ward                                      Utah National Parks 591                3820 S 500 E                                            Vernal, UT 84078‐8898                                            First Class Mail
Chartered Organization         Lds Davis Second Ward                                      Utah National Parks 591                4080 S 2500 E                                           Vernal, UT 84078                                                 First Class Mail
Chartered Organization         Lds Davis Third Ward                                       Utah National Parks 591                4080 S 2500 E                                           Vernal, UT 84078                                                 First Class Mail
Chartered Organization         Lds Dawson Hollow Ward                                     Kays Creek Stake                       2435 E 1500 N                                           Layton, UT 84040                                                 First Class Mail
Chartered Organization         Lds Daybreak 2Nd Ward                                      Sj Ut Founders Park Stake              4137 W Foxview Dr                                       South Jordan, UT 84009                                           First Class Mail
Chartered Organization         Lds Daybreak 7Th Ward                                      Sj Ut Founders Park Stake              4137 W Foxview Dr                                       South Jordan, UT 84009                                           First Class Mail
Chartered Organization         Lds Dayton Stake                                           Miami Valley Council, Bsa 444          901 E Whipp Rd                                          Centerville, OH 45459‐2209                                       First Class Mail
Chartered Organization         Lds Dayton Ward ‐ Carson City Stake                        Nevada Area Council 329                703 Mahogany Dr                                         Dayton, NV 89403‐6304                                            First Class Mail
Chartered Organization         Lds Dayton Ward ‐ Walla Walla Stake                        Blue Mountain Council 604              1114 S 3Rd St                                           Dayton, WA 99328‐1608                                            First Class Mail
Chartered Organization         Lds Dayton Ward Mcminnville Stake                          Cascade Pacific Council 492            700 Ash St                                              Dayton, OR 97114‐9717                                            First Class Mail
Chartered Organization         Lds Daytona Beach Deland                                   Central Florida Council 083            1125 6th St                                             Daytona Beach, FL 32117‐4142                                     First Class Mail
Chartered Organization         Lds De Anza Ward ‐ Jurupa Stake                            California Inland Empire Council 045   5840 Mitchell Ave                                       Riverside, CA 92505‐1233                                         First Class Mail
Chartered Organization         Lds Dearborn Ward ‐ Westland Stake                         Great Lakes Fsc 272                    20201 Rotunda Dr                                        Dearborn, MI 48124‐3959                                          First Class Mail
Chartered Organization         Lds Decatur 1St Ward Springfield Stake                     Greater St Louis Area Council 312      3955 Lourdes Dr                                         Decatur, IL 62526‐1754                                           First Class Mail
Chartered Organization         Lds Decatur Ward ‐ Denton Stake                            Longhorn Council 662                   202 E Thompson St                                       Decatur, TX 76234                                                First Class Mail
Chartered Organization         Lds Decatur Ward, Fort Wayne Stake                         Anthony Wayne Area 157                 88 W Cardinal Pass                                      Decatur, IN 46733                                                First Class Mail
Chartered Organization         Lds Decatur Ward, Madison Stake                            Greater Alabama Council 001            2712 Dorchester Dr Se                                   Decatur, AL 35601‐6713                                           First Class Mail
Chartered Organization         Lds Dededo Ward                                            Aloha Council, Bsa 104                 N. Marine Dr Rt 1, Lot 7111                             Yigo, GU 96929                                                   First Class Mail
Chartered Organization         Lds Deer Creek Ward                                        Utah National Parks 591                1102 S Center St                                        Midway, UT 84049                                                 First Class Mail
Chartered Organization         Lds Deer Lodge Ward, Butte Stake                           Montana Council 315                    825 Tumbleweed Ln                                       Deer Lodge, MT 59722‐2301                                        First Class Mail
Chartered Organization         Lds Deer Meadow Ward                                       Utah National Parks 591                3008 S Fox Pointe Dr                                    Saratoga Springs, UT 84045‐6005                                  First Class Mail
Chartered Organization         Lds Deer Mountain Ward                                     Bluffdale Ut Stake                     2742 W 14400 S                                          Bluffdale, UT 84065                                              First Class Mail
Chartered Organization         Lds Deer Spgs Ward Shadow Mtn Stake                        Las Vegas Area Council 328             6489 Yellow Bells Ct                                    Las Vegas, NV 89131‐2910                                         First Class Mail
Chartered Organization         Lds Deer Valley Ward ‐ Phoenix Az                          Deer Valley Stake                      2939 W Rose Garden Ln                                   Phoenix, AZ 85027‐3153                                           First Class Mail
Chartered Organization         Lds Deerfield Ward                                         Utah National Parks 591                319 Matisse Ln                                          Alpine, UT 84004‐1757                                            First Class Mail
Chartered Organization         Lds Deerfield Ward ‐ North Stake                           Alamo Area Council 583                 645 Knights Cross Dr                                    San Antonio, TX 78258                                            First Class Mail
Chartered Organization         Lds Deerfield Ward/Sl Hunter South Stake                   Great Salt Lake Council 590            4322 S 5400 W                                           Salt Lake City, UT 84120                                         First Class Mail
Chartered Organization         Lds Defuniak Springs Ward                                  Gulf Coast Council 773                 1072 Mcdaniel Rd                                        Westville, FL 32464‐2405                                         First Class Mail
Chartered Organization         Lds Defuniak Ward                                          Gulf Coast Council 773                 1072 Mcdaniel Rd                                        Westville, FL 32464‐2405                                         First Class Mail
Chartered Organization         Lds Dekalb Ward ‐ Rockford, Il Stake                       Three Fires Council 127                675 Fox Ave                                             Sycamore, IL 60178‐2045                                          First Class Mail
Chartered Organization         Lds Del Mar ‐ Cardiff Ward                                 San Diego Imperial Council 049         1444 Lake Dr                                            Cardiff, CA 92007‐1002                                           First Class Mail
Chartered Organization         Lds Del Mar ‐ Del Mar Ward                                 San Diego Imperial Council 049         12701 Torrey Bluff Dr                                   San Diego, CA 92130‐4304                                         First Class Mail
Chartered Organization         Lds Del Mar ‐ Encinitas Ward                               San Diego Imperial Council 049         1444 Lake Dr                                            Cardiff, CA 92007‐1002                                           First Class Mail
Chartered Organization         Lds Del Mar ‐ La Costa Ward                                San Diego Imperial Council 049         3450 Camino De Los Coches                               Carlsbad, CA 92009‐8927                                          First Class Mail
Chartered Organization         Lds Del Mar ‐ Olivenhain Ward                              San Diego Imperial Council 049         2416 Calle San Clemente                                 Encinitas, CA 92024‐6606                                         First Class Mail
Chartered Organization         Lds Del Mar ‐ Rancho Carrillo Ward                         San Diego Imperial Council 049         3450 Camino De Los Coches                               Carlsbad, CA 92009‐8927                                          First Class Mail
Chartered Organization         Lds Del Mar ‐ Rancho Carrillo Ward                         San Diego Imperial Council 049         3450 Camino De Los Coches                               Carlsbad, CA 92009‐8927                                          First Class Mail
Chartered Organization         Lds Del Mar ‐Carmel Valley Ward                            San Diego Imperial Council 049         12701 Torrey Bluff Dr                                   San Diego, CA 92130‐4304                                         First Class Mail
Chartered Organization         Lds Del Mar Stake Carmel Valley Ward                       San Diego Imperial Council 049         127 Torrey Bluff Dr                                     San Diego, CA 92130                                              First Class Mail
Chartered Organization         Lds Del Rey Park Ward (Gilroy)                             Morgan Hill Stake                      7999 Miller Ave                                         Gilroy, CA 95020‐4957                                            First Class Mail
Chartered Organization         Lds Del Rey Ward ‐ Corona Stake                            California Inland Empire Council 045   1123 S Lincoln Ave                                      Corona, CA 92882‐3963                                            First Class Mail
Chartered Organization         Lds Del Rio 1St Ward ‐ Chandler Az                         West Stake                             1260 W Del Rio St                                       Chandler, AZ 85224‐3512                                          First Class Mail
Chartered Organization         Lds Del Rio 2Nd Ward ‐ Chandler Az                         West Stake                             1260 W Del Rio St                                       Chandler, AZ 85224‐3512                                          First Class Mail
Chartered Organization         Lds Del Rio Spgs Ward                                      Prescott Valley Az Stake               P.O. Box 574                                            Chino Valley, AZ 86323‐0574                                      First Class Mail
Chartered Organization         Lds Del Rio‐1St Branch                                     Texas SW Council 741                   210 Fox Dr                                              Del Rio, TX 78840‐2312                                           First Class Mail
Chartered Organization         Lds Delano Ward, Bakersfield Stake                         Southern Sierra Council 030            2117 9th Ave                                            Delano, CA 93215‐3122                                            First Class Mail
Chartered Organization         Lds Delaware Ward Columbus Ohio Stake                      Simon Kenton Council 441               15 Rock Creek Dr                                        Delaware, OH 43015‐4208                                          First Class Mail
Chartered Organization         Lds Delta Fifth Ward                                       Utah National Parks 591                220 N 150 E                                             Delta, UT 84624‐9447                                             First Class Mail
Chartered Organization         Lds Delta First Ward                                       Utah National Parks 591                473 W 300 N                                             Delta, UT 84624‐8416                                             First Class Mail
Chartered Organization         Lds Delta Fourth Ward                                      Utah National Parks 591                P.O. Box 624                                            Delta, UT 84624‐0624                                             First Class Mail
Chartered Organization         Lds Delta Junction‐Fairbanks Stake                         Midnight Sun Council 696               P.O. Box 1457                                           Delta Junction, AK 99737‐1457                                    First Class Mail
Chartered Organization         Lds Delta Seventh Ward                                     Attn: Quinn Christensen                260 Cottonwood Dr                                       Delta, UT 84624‐8906                                             First Class Mail
Chartered Organization         Lds Delta Sixth Ward                                       Utah National Parks 591                365 E 100 S                                             Delta, UT 84624‐9016                                             First Class Mail
Chartered Organization         Lds Delta Third Ward                                       Utah National Parks 591                171 W 200 N                                             Delta, UT 84624‐8471                                             First Class Mail
Chartered Organization         Lds Delta Ward/Montrose Stake                              Denver Area Council 061                1778 Roubideau St                                       Delta, CO 81416‐8814                                             First Class Mail
Chartered Organization         Lds Deltona Deland                                         Central Florida Council 083            3439 Goldenhills St                                     Deltona, FL 32738‐7151                                           First Class Mail
Chartered Organization         Lds Demeyer Park Ward‐Mer N Stk                            Ore‐Ida Council 106 ‐ Bsa 106          6032 N Five Mile Rd                                     Boise, ID 83713                                                  First Class Mail
Chartered Organization         Lds Deming 1St Ward Silver City Stake                      Yucca Council 573                      1000 W Florida St                                       Deming, NM 88030‐4931                                            First Class Mail
Chartered Organization         Lds Deming 2Nd Ward Sillver City Stake                     Yucca Council 573                      1000 W Florida St                                       Deming, NM 88030‐4931                                            First Class Mail
Chartered Organization         Lds Denali Branch‐Fairbanks Stake                          Midnight Sun Council 696               P.O. Box 213                                            Healy, AK 99743‐0213                                             First Class Mail
Chartered Organization         Lds Denham Spgs 1St Ward                                   Denham Springs Stake                   25367 Riverton Dr                                       Denham Springs, LA 70726‐6280                                    First Class Mail
Chartered Organization         Lds Denham Spgs 2Nd Ward                                   Denham Springs Stake                   25367 Riverton Dr                                       Denham Springs, LA 70726‐6280                                    First Class Mail
Chartered Organization         Lds Denton 5Th Ward ‐ Denton Stake                         Longhorn Council 662                   4501 Teasley Ln                                         Denton, TX 76210                                                 First Class Mail
Chartered Organization         Lds Denton 6Th Ward ‐ Denton Stake                         Longhorn Council 662                   3000 Old North Rd                                       Denton, TX 76209‐6250                                            First Class Mail
Chartered Organization         Lds Denver 3Rd Ward, Aurora Stake                          Denver Area Council 061                11100 E Alameda Ave                                     Aurora, CO 80012‐1021                                            First Class Mail
Chartered Organization         Lds Denver 4Th Ward, Aurora South Stake                    Denver Area Council 061                11100 E Alameda Ave                                     Aurora, CO 80012‐1021                                            First Class Mail
Chartered Organization         Lds Derry Ward Exeter Nh Stake                             Daniel Webster Council, Bsa 330        50 Adams Pond Rd                                        Derry, NH 03038                                                  First Class Mail
Chartered Organization         Lds Derwood Ward Seneca Stake                              National Capital Area Council 082      17700 Old Baltimore Rd                                  Olney, MD 20832‐1652                                             First Class Mail
Chartered Organization         Lds Deschutes Ward ‐ Kennewick Stake                       Blue Mountain Council 604              8120 W 4th Ave                                          Kennewick, WA 99336                                              First Class Mail
Chartered Organization         Lds Deseret Oasis Ward                                     Utah National Parks 591                3940 W 4500 S                                           Delta, UT 84624‐2506                                             First Class Mail
Chartered Organization         Lds Deseret Peak Ward/Grantsvilleut Stk                    Great Salt Lake Council 590            550 E Durfee St                                         Grantsville, UT 84029‐9781                                       First Class Mail
Chartered Organization         Lds Deseret Ward Carmichael Stake                          Golden Empire Council 047              8267 Deseret Ave                                        Fair Oaks, CA 95628‐2826                                         First Class Mail
Chartered Organization         Lds Desert Bloom Br Warm Spgs Stake                        Las Vegas Area Council 328             9271 Eaton Creek Ct                                     Las Vegas, NV 89123‐3714                                         First Class Mail
Chartered Organization         Lds Desert Breeze Ward Lakes Stake                         Las Vegas Area Council 328             9580 Peace Way                                          Las Vegas, NV 89147‐8427                                         First Class Mail
Chartered Organization         Lds Desert Hills Ward                                      Utah National Parks 591                Desert Hills Dr                                         St George, UT 84790                                              First Class Mail
Chartered Organization         Lds Desert Hills Ward ‐ Scottsdale Az                      North Stake                            6840 E Gold Dust Ave                                    Scottsdale, AZ 85253‐1410                                        First Class Mail
Chartered Organization         Lds Desert Hills Ward ‐ Stv Az Stk                         Grand Canyon Council 010               29419 N Desert Willow Blvd                              San Tan Valley, AZ 85143                                         First Class Mail
Chartered Organization         Lds Desert Hills Ward ‐ W Richland Stake                   Blue Mountain Council 604              4500 Paradise St                                        West Richland, WA 99353                                          First Class Mail
Chartered Organization         Lds Desert Hills Ward Blue Diamond Stake                   Las Vegas Area Council 328             9945 Cimmaron Blvd                                      Las Vegas, NV 89178                                              First Class Mail
Chartered Organization         Lds Desert Hills Ward Las Cruces Stake                     Yucca Council 573                      4229 Avrig Ct                                           Las Cruces, NM 88011                                             First Class Mail
Chartered Organization         Lds Desert Inn Ward East Stake                             Las Vegas Area Council 328             6558 Strawberry Cream Ct                                Las Vegas, NV 89142‐0980                                         First Class Mail
Chartered Organization         Lds Desert Knolls Ward ‐ Apple Vly Stake                   California Inland Empire Council 045   15500 Tuscola Rd                                        Apple Valley, CA 92307                                           First Class Mail
Chartered Organization         Lds Desert Mountain Ward ‐ Scottsdale Az                   North Stake                            9565 E Larkspur Dr                                      Scottsdale, AZ 85260                                             First Class Mail
Chartered Organization         Lds Desert Mtn Ward ‐ Qc Az North Stk                      Grand Canyon Council 010               22424 S Meridian Rd                                     Queen Creek, AZ 85142                                            First Class Mail
Chartered Organization         Lds Desert Oasis Ward ‐ Surprise Az                        North Stake                            23391 N 166Th Dr                                        Surprise, AZ 85387                                               First Class Mail
Chartered Organization         Lds Desert Palms Ward ‐ Glendale Az Stk                    Grand Canyon Council 010               8602 N 31St Ave                                         Phoenix, AZ 85051‐3924                                           First Class Mail
Chartered Organization         Lds Desert Ridge Ward ‐ Mesa Az                            Desert Ridge Stake                     2647 S Signal Butte Rd                                  Mesa, AZ 85209‐2100                                              First Class Mail
Chartered Organization         Lds Desert Ridge Ward ‐ Paradise Valley Az                 Stake                                  4242 E Waltann Ln                                       Phoenix, AZ 85032‐4116                                           First Class Mail
Chartered Organization         Lds Desert Rose Ward Black Mtn Stake                       Las Vegas Area Council 328             101 E Delamar Dr                                        Henderson, NV 89015‐7928                                         First Class Mail
Chartered Organization         Lds Desert Sage Ward                                       Herriman Ut S Stake                    14550 Juniper Crest Rd                                  Herriman, UT 84096                                               First Class Mail
Chartered Organization         Lds Desert Valley Ward ‐ Mesa Az                           Desert Ridge Stake                     11121 E Ray Rd                                          Mesa, AZ 85212                                                   First Class Mail
Chartered Organization         Lds Desert Valley Ward Carnegie Stake                      Las Vegas Area Council 328             815 Happy Sparrow Ave                                   Henderson, NV 89052‐3942                                         First Class Mail
Chartered Organization         Lds Desert View Ward                                       Rock Springs Stake                     2055 Edgar St                                           Rock Springs, WY 82901‐6683                                      First Class Mail
Chartered Organization         Lds Desert View Ward South Stake                           Las Vegas Area Council 328             4340 W Warm Springs Rd                                  Las Vegas, NV 89118‐5134                                         First Class Mail
Chartered Organization         Lds Desert Vista Ward ‐ Mesa Az                            Clearview Stake                        633 S Higley Rd                                         Mesa, AZ 85206                                                   First Class Mail
Chartered Organization         Lds Desert Ward‐Boise Amity Stk                            Ore‐Ida Council 106 ‐ Bsa 106          5751 S Five Mile Rd                                     Boise, ID 83709                                                  First Class Mail
Chartered Organization         Lds Desert Wells Ward ‐ Qc Az Central Stk                  Grand Canyon Council 010               19416 E Silver Creek Ln                                 Queen Creek, AZ 85142‐9065                                       First Class Mail
Chartered Organization         Lds Deserts Edge Ward                                      Utah National Parks 591                1805 Rustic Dr                                          St George, UT 84790                                              First Class Mail
Chartered Organization         Lds Detroit River Branch                                   Westland Stake                         2600 14th St                                            Detroit, MI 48216‐1143                                           First Class Mail
Chartered Organization         Lds Deuel Creek Ward/Centerville Ut Stk                    Great Salt Lake Council 590            555 N 400 W Trlr 3                                      Centerville, UT 84014‐1322                                       First Class Mail
Chartered Organization         Lds Devonshire Ward‐Boise Amity Stk                        Ore‐Ida Council 106 ‐ Bsa 106          5645 S Maple Grove Rd                                   Boise, ID 83709                                                  First Class Mail
Chartered Organization         Lds Dewey Ward ‐ Prescott Valley Az Stk                    Grand Canyon Council 010               7885 E Long Look Dr                                     Prescott Valley, AZ 86314‐5505                                   First Class Mail
Chartered Organization         Lds Diamond Bar Ward ‐ Chino Stake                         California Inland Empire Council 045   1101 S Diamond Bar Blvd                                 Diamond Bar, CA 91765‐2204                                       First Class Mail
Chartered Organization         Lds Diamond Springs Ward                                   Utah National Parks 591                7519 N Sandpiper Rd                                     Eagle Mountain, UT 84005‐6193                                    First Class Mail
Chartered Organization         Lds Diamond Springs Ward El Dorado Stake                   Golden Empire Council 047              3275 Cedar Ravine Rd                                    Placerville, CA 95667‐6555                                       First Class Mail
Chartered Organization         Lds Diamond Valley First Ward                              Utah National Parks 591                8028 N Diamond Valley Dr                                Saint George, UT 84770‐6018                                      First Class Mail
Chartered Organization         Lds Diamond Valley Second Ward                             Utah National Parks 591                1784 N Diamond Valley                                   St George, UT 84770                                              First Class Mail
Chartered Organization         Lds Diamond Valley Ward ‐ Hemet Stake                      California Inland Empire Council 045   425 N Kirby St                                          Hemet, CA 92545‐3633                                             First Class Mail
Chartered Organization         Lds Dillon 1St Ward, Butte Stake                           Montana Council 315                    93 Mt Hwy 91 S                                          Dillon, MT 59725‐7388                                            First Class Mail
Chartered Organization         Lds Dillon 2Nd Ward, Butte Stake                           Montana Council 315                    93 Mt Hwy 91 S                                          Dillon, MT 59725‐7388                                            First Class Mail
Chartered Organization         Lds Dimond Ward ‐ Anchorage North Stake                    Great Alaska Council 610               700 W 46Th Ave                                          Anchorage, AK 99503                                              First Class Mail
Chartered Organization         Lds Dimple Dell Prk Wrd                                    Sndy Ut Grnte Vw Stake                 9800 S 3100 E                                           Sandy, UT 84092                                                  First Class Mail
Chartered Organization         Lds Dimple Dell Ward                                       Sandy Ut Crescent Stake                10945 S 1700 E                                          Sandy, UT 84092                                                  First Class Mail
Chartered Organization         Lds Discovery Park Ward                                    Highland Hills Stake                   5975 Clayton St                                         North Las Vegas, NV 89031                                        First Class Mail
Chartered Organization         Lds Discovery Park Ward Seattle N Stake                    Chief Seattle Council 609              2415 31st Ave W                                         Seattle, WA 98199‐3333                                           First Class Mail
Chartered Organization         Lds Dixon Ward Woodland Stake                              Golden Empire Council 047              305 N Lincoln St                                        Dixon, CA 95620‐3222                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                      Page 205 of 442
                                                                               Case 20-10343-LSS                                  Doc 8171                                      Filed 01/06/22                          Page 221 of 457
                                                                                                                                                                   Exhibit B
                                                                                                                                                                    Service List
                                                                                                                                                             Served as set forth below

        Description                                                     Name                                                                                     Address                                                                  Email              Method of Service
Chartered Organization         Lds Dobson Ward ‐ Mesa Az Alma Stk                     Grand Canyon Council 010               2657 S Stewart                                            Mesa, AZ 85202‐7562                                        First Class Mail
Chartered Organization         Lds Don Ave Ward Stockton Stake                        Greater Yosemite Council 059           3441 Oak Grove Cir                                        Stockton, CA 95209‐4879                                    First Class Mail
Chartered Organization         Lds Dona Ana Ward Las Cruces Stk                       Yucca Council 573                      3210 Venus St                                             Las Cruces, NM 88012‐7714                                  First Class Mail
Chartered Organization         Lds Doney Park Ward ‐ Flagstaff Az                     East Stake                             2401 E Linda Vista Dr                                     Flagstaff, AZ 86004                                        First Class Mail
Chartered Organization         Lds Doniphan Ward Liberty Stake                        Heart of America Council 307           1130 N Clayview Dr                                        Liberty, MO 64068‐3405                                     First Class Mail
Chartered Organization         Lds Dos Vientos Ward Newbury Park Stake                Ventura County Council 057             35 S Wendy Dr                                             Newbury Park, CA 91320‐4353                                First Class Mail
Chartered Organization         Lds Dothan Ward 1                                      Alabama‐Florida Council 003            Wanda Ct & Ross Clark Cir                                 Dothan, AL 36301                                           First Class Mail
Chartered Organization         Lds Dothan Ward 2                                      Alabama‐Florida Council 003            Ross Clark Cir W                                          Dothan, AL 36301                                           First Class Mail
Chartered Organization         Lds Douglas 1St Ward Tifton Stake                      South Georgia Council 098              200 Chester Ave N                                         Douglas, GA 31533‐3518                                     First Class Mail
Chartered Organization         Lds Douglas 2Nd Ward Douglas Stake                     South Georgia Council 098              200 Chester Ave N                                         Douglas, GA 31533‐3518                                     First Class Mail
Chartered Organization         Lds Douglas Ward, Casper Stake                         Greater Wyoming Council 638            1930 Cheyenne St                                          Douglas, WY 82633                                          First Class Mail
Chartered Organization         Lds Douglasville Ward Powder Spgs Stake                Atlanta Area Council 092               3027 Chapel Hill Rd                                       Douglasville, GA 30135‐1762                                First Class Mail
Chartered Organization         Lds Dove Canyon Ward                                   Highland Hills Stake                   3910 W Fisher Ave                                         North Las Vegas, NV 89031‐2009                             First Class Mail
Chartered Organization         Lds Dove Valley Ward, Parker Stake                     Denver Area Council 061                15787 E Hasely                                            Parker, CO 80134                                           First Class Mail
Chartered Organization         Lds Dover Ward‐Dover Delaware Stake                    Del Mar Va 081                         76 W Fairfield Dr                                         Dover, DE 19901‐5729                                       First Class Mail
Chartered Organization         Lds Downey 1St Ward                                    Greater Los Angeles Area 033           406 Huntington Park Stake                                 Downey, CA 90241                                           First Class Mail
Chartered Organization         Lds Downey 2Nd Ward                                    Greater Los Angeles Area 033           0050 Huntington Park Stake                                Downey, CA 90242                                           First Class Mail
Chartered Organization         Lds Downey Stake                                       Greater Los Angeles Area 033           12425 Orizaba Ave                                         Downey, CA 90242‐3707                                      First Class Mail
Chartered Organization         Lds Downingtown Ward                                   Valley Forge Pennsylvania Stake        56 Blakely Rd                                             Downingtown, PA 19335‐1442                                 First Class Mail
Chartered Organization         Lds Doylestown Philadelphia Stake                      Washington Crossing Council 777        Chapman & Ferry Rds                                       Doylestown, PA 18901                                       First Class Mail
Chartered Organization         Lds Draper 10Th Ward                                   Sandy Ut Hddn Vlly Stake               12870 S 1300 E                                            Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Draper 11Th Ward                                   Sandy Ut Hddn Vlly Stake               12870 S 1272 E                                            Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Draper 12Th Ward/Draper Ut Stk                     Great Salt Lake Council 590            12353 S 600 E                                             Draper, UT 84020‐7850                                      First Class Mail
Chartered Organization         Lds Draper 15Th Ward/Draper Ut Stk                     Great Salt Lake Council 590            13112 S 700 E                                             Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Draper 16Th Ward/Draper Ut Stk                     Great Salt Lake Council 590            13112 S 700 E                                             Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Draper 17Th Ward                                   Sandy Ut Hddn Vlly Stake               1617 E 12700 S                                            Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Draper 1St Ward/Draper Ut Stk                      Great Salt Lake Council 590            12353 S 600 E                                             Draper, UT 84020‐7850                                      First Class Mail
Chartered Organization         Lds Draper 2Nd Ward                                    Sandy Ut Hddn Vlly Stake               1617 E 12700 S                                            Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Draper 3Rd Ward/Draper Ut Stk                      Great Salt Lake Council 590            13085 S 300 E                                             Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Draper 4Th Ward/Draper Ut Stk                      Great Salt Lake Council 590            13085 S 300 E                                             Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Draper 5Th Ward                                    Sandy Ut Hidden Valley Stake           1617 E 12700 S                                            Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Draper 6Th Ward                                    Sandy Ut Hddn Vlly Stake               12870 S 1300 E                                            Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Draper 7Th Ward/Draper Ut Stk                      Great Salt Lake Council 590            12353 S 600 E                                             Draper, UT 84020‐7850                                      First Class Mail
Chartered Organization         Lds Dreaming Summit Ward ‐ Goodyear Az Stk             Grand Canyon Council 010               301 W Wigwam Blvd                                         Litchfield Park, AZ 85340                                  First Class Mail
Chartered Organization         Lds Driggs Stake ‐ Driggs 1St Ward                     Grand Teton Council 107                221 N 1st St                                              Driggs, ID 83422                                           First Class Mail
Chartered Organization         Lds Driggs Stake ‐ Driggs 2Nd Ward                     Grand Teton Council 107                P.O. Box 408                                              Driggs, ID 83422‐0408                                      First Class Mail
Chartered Organization         Lds Driggs Stake ‐ Driggs 3Rd Ward                     Grand Teton Council 107                221 N 1st St                                              Driggs, ID 83422                                           First Class Mail
Chartered Organization         Lds Driggs Stake ‐ Jackson 1St Ward                    Grand Teton Council 107                P.O. Box 1948                                             Jackson, WY 83001‐1948                                     First Class Mail
Chartered Organization         Lds Driggs Stake ‐ Jackson 2Nd Ward                    Grand Teton Council 107                4261 Chickadee Cir                                        Jackson, WY 83001‐8973                                     First Class Mail
Chartered Organization         Lds Driggs Stake ‐ Tetonia 1St Ward                    Grand Teton Council 107                P.O. Box 187                                              Tetonia, ID 83452‐0187                                     First Class Mail
Chartered Organization         Lds Driggs Stake ‐ Tetonia 2Nd Ward                    Grand Teton Council 107                221 N Main                                                Tetonia, ID 83452                                          First Class Mail
Chartered Organization         Lds Driggs Stake ‐ Victor 1St Ward                     Grand Teton Council 107                87 E Center St                                            Victor, ID 83455                                           First Class Mail
Chartered Organization         Lds Driggs Stake ‐ Victor 2Nd Ward                     Grand Teton Council 107                87 E Center St                                            Victor, ID 83455                                           First Class Mail
Chartered Organization         Lds Driggs Stake ‐ Victor 3Rd Ward                     Grand Teton Council 107                10090 S 2000 W                                            Victor, ID 83455‐5262                                      First Class Mail
Chartered Organization         Lds Dripping Springs Ward Oak Hill Stake               Capitol Area Council 564               5201 Convict Hill Rd                                      Austin, TX 78749                                           First Class Mail
Chartered Organization         Lds Droubay Ward                                       Tooele Ut Valley View Stake            691 E Cedarview St                                        Tooele, UT 84074                                           First Class Mail
Chartered Organization         Lds Drummond Branch, Missoula Stake                    c/o Chris Dahl                         P.O. Box 384                                              Drummond, MT 59832‐0384                                    First Class Mail
Chartered Organization         Lds Dry Creek First Ward (Springville)                 Utah National Parks 591                1381 S 1100 W                                             Springville, UT 84663‐5523                                 First Class Mail
Chartered Organization         Lds Dry Creek Second Ward                              Utah National Parks 591                355 E Center St                                           Springville, UT 84663                                      First Class Mail
Chartered Organization         Lds Dry Creek Ward                                     Bountiful Ut Heights Stake             720 E 550 N                                               Bountiful, UT 84010                                        First Class Mail
Chartered Organization         Lds Dry Creek Ward                                     Utah National Parks 591                657 S 500 W                                               Lehi, UT 84043                                             First Class Mail
Chartered Organization         Lds Dry Creek Ward                                     San Jose South Stake                   1336 Cherry Ave                                           San Jose, CA 95125‐3721                                    First Class Mail
Chartered Organization         Lds Duarte Ward L180                                   Greater Los Angeles Area 033           1452 Royal Oaks Dr                                        Duarte, CA 91010‐1776                                      First Class Mail
Chartered Organization         Lds Dublin 2Nd Ward                                    Simon Kenton Council 441               8236 Millhouse Ln                                         Dublin, OH 43016‐8286                                      First Class Mail
Chartered Organization         Lds Dublin Ward                                        Central Georgia Council 096            1605 Green St                                             Dublin, GA 31021‐3411                                      First Class Mail
Chartered Organization         Lds Dublin Ward                                        Simon Kenton Council 441               7135 Coffman Rd                                           Dublin, OH 43017‐1067                                      First Class Mail
Chartered Organization         Lds Dublin Ward ‐ Pleasanton Stake                     San Francisco Bay Area Council 028     8203 Village Pkwy                                         Dublin, CA 94568                                           First Class Mail
Chartered Organization         Lds Dubuque Ward ‐ Davenport Stake                     Northeast Iowa Council 178             685 Fremont Ave                                           Dubuque, IA 52003                                          First Class Mail
Chartered Organization         Lds Duchesne First Ward                                Utah National Parks 591                P.O. Box 214                                              Duchesne, UT 84021‐0214                                    First Class Mail
Chartered Organization         Lds Duchesne Fourth Ward                               Utah National Parks 591                666 N 500 E                                               Duchesne, UT 84021                                         First Class Mail
Chartered Organization         Lds Duchesne Second Ward                               Utah National Parks 591                901 N 500 E                                               Duchesne, UT 84021                                         First Class Mail
Chartered Organization         Lds Duchesne Third Ward                                Utah National Parks 591                P.O. Box 328                                              Duchesne, UT 84021‐0328                                    First Class Mail
Chartered Organization         Lds Dugway Ward/Tooele Ut South Stk                    Great Salt Lake Council 590            St Hwy 199                                                Dugway, UT 84022                                           First Class Mail
Chartered Organization         Lds Duluth Stake ‐ North Branch Ward                   Northern Star Council 250              38222 Grand Ave                                           North Branch, MN 55056                                     First Class Mail
Chartered Organization         Lds Dumas Branch Amarillo Tx Stake                     Golden Spread Council 562              1007 NE 4th St                                            Dumas, TX 79029‐3005                                       First Class Mail
Chartered Organization         Lds Duncan Ward ‐ Duncan Stake                         Grand Canyon Council 010               105 Fairgrounds Rd                                        Duncan, AZ 85534‐8234                                      First Class Mail
Chartered Organization         Lds Duncan Ward Lawton Stake                           Last Frontier Council 480              4210 W Beech Ave                                          Duncan, OK 73533                                           First Class Mail
Chartered Organization         Lds Duneville Ward Spring Mountain Stake               Las Vegas Area Council 328             6601 W Twain Ave                                          Las Vegas, NV 89103‐1038                                   First Class Mail
Chartered Organization         Lds Dungeness Ward Port Angeles Stake                  Chief Seattle Council 609              815 W Washington St                                       Sequim, WA 98382                                           First Class Mail
Chartered Organization         Lds Duportail Ward ‐ Richland Stake                    Blue Mountain Council 604              214 Wright Ave                                            Richland, WA 99352‐3935                                    First Class Mail
Chartered Organization         Lds Durango 1St Ward Durango Stake                     Great Swest Council 412                14 Hilltop Cir                                            Durango, CO 81301                                          First Class Mail
Chartered Organization         Lds Durango 2Nd Ward Durango Stake                     Great Swest Council 412                1 Hilltop Dr                                              Durango, CO 81301                                          First Class Mail
Chartered Organization         Lds Durango Heights Ward South Stake                   Las Vegas Area Council 328             9038 Greek Palace Ave                                     Las Vegas, NV 89178‐7574                                   First Class Mail
Chartered Organization         Lds Durango Ward ‐ Gilbert Az                          Highland E Stake                       3850 E Houston Ave                                        Gilbert, AZ 85234                                          First Class Mail
Chartered Organization         Lds Durango Ward Lone Mountain Stake                   Las Vegas Area Council 328             8801 W Alexander Rd                                       Las Vegas, NV 89129                                        First Class Mail
Chartered Organization         Lds Dutch Canyon Ward                                  Utah National Parks 591                165 N Center St                                           Midway, UT 84049                                           First Class Mail
Chartered Organization         Lds Dutch Flat Ward                                    Utah National Parks 591                555 S 400 W                                               Ferron, UT 84523‐4513                                      First Class Mail
Chartered Organization         Lds Dutch Fork Ward                                    Indian Waters Council 553              7449 Broad River Rd                                       Irmo, SC 29063‐9667                                        First Class Mail
Chartered Organization         Lds Dutch John Ward                                    Utah National Parks 591                P.O. Box 201                                              Dutch John, UT 84023‐0201                                  First Class Mail
Chartered Organization         Lds Dutchman Pass Ward                                 Mccullough Hills Stake                 1130 Spottswoode St                                       Henderson, NV 89002‐3387                                   First Class Mail
Chartered Organization         Lds Duthie Hill Ward Bellevue Stake                    Chief Seattle Council 609              26529 SE Duthie Hill Rd                                   Issaquah, WA 98029                                         First Class Mail
Chartered Organization         Lds Dyker Heights 1St Ward                             Brooklyn Stake                         2544 86th St                                              Brooklyn, NY 11214                                         First Class Mail
Chartered Organization         Lds Dyker Heights 1St Ward                             Brooklyn Stake                         2050 83rd St                                              Brooklyn, NY 11214‐2402                                    First Class Mail
Chartered Organization         Lds E Pasadena Ward 388 Pasadena Stake                 Greater Los Angeles Area 033           770 Sierra Madre Villa Ave                                Pasadena, CA 91107‐2042                                    First Class Mail
Chartered Organization         Lds Eagar 1St Ward ‐ Eagar Az Stk                      Grand Canyon Council 010               P.O. Box 517                                              Eagar, AZ 85925‐0517                                       First Class Mail
Chartered Organization         Lds Eagar 2Nd Ward ‐ Eagar Az Stk                      Grand Canyon Council 010               P.O. Box 367                                              Eagar, AZ 85925‐0367                                       First Class Mail
Chartered Organization         Lds Eagar 3Rd Ward ‐ Eagar Az Stk                      Grand Canyon Council 010               150 N Aldrice Burk D                                      Springerville, AZ 85938                                    First Class Mail
Chartered Organization         Lds Eagar 4Th Ward ‐ Eagar Az Stk                      Grand Canyon Council 010               135 N Main St                                             Eagar, AZ 85925                                            First Class Mail
Chartered Organization         Lds Eagle 1St Ward‐Eagle Stk                           Ore‐Ida Council 106 ‐ Bsa 106          700 W State St                                            Eagle, ID 83616                                            First Class Mail
Chartered Organization         Lds Eagle 2Nd Ward‐Eagle Stk                           Ore‐Ida Council 106 ‐ Bsa 106          837 N Grey Pebble Way                                     Eagle, ID 83616‐4178                                       First Class Mail
Chartered Organization         Lds Eagle 3Rd Ward‐Eagle Stk                           Ore‐Ida Council 106 ‐ Bsa 106          217 E Rockingham Dr                                       Eagle, ID 83616‐6915                                       First Class Mail
Chartered Organization         Lds Eagle 4Th Ward‐Eagle Stk                           Ore‐Ida Council 106 ‐ Bsa 106          2411 N Biscayne Pl                                        Eagle, ID 83616‐5442                                       First Class Mail
Chartered Organization         Lds Eagle 5Th Ward‐Eagle Stk                           Ore‐Ida Council 106 ‐ Bsa 106          700 W State St                                            Eagle, ID 83616                                            First Class Mail
Chartered Organization         Lds Eagle 6Th Ward‐Eagle Stk                           Ore‐Ida Council 106 ‐ Bsa 106          68 S Payette Pl                                           Eagle, ID 83616‐4864                                       First Class Mail
Chartered Organization         Lds Eagle 7Th Ward‐Eagle Stk                           Ore‐Ida Council 106 ‐ Bsa 106          2634 E Gladstone Ct                                       Eagle, ID 83616‐6643                                       First Class Mail
Chartered Organization         Lds Eagle 8Th Ward‐Eagle Stk                           Ore‐Ida Council 106 ‐ Bsa 106          414 Park Rd                                               Eagle, ID 83616                                            First Class Mail
Chartered Organization         Lds Eagle Canyon Ward                                  Sparks West Stake                      935 Mercedes Dr                                           Sparks, NV 89441‐8845                                      First Class Mail
Chartered Organization         Lds Eagle Canyon Ward Skye Canyon Stake                Las Vegas Area Council 328             10070 Azure Dr                                            Las Vegas, NV 89149‐1382                                   First Class Mail
Chartered Organization         Lds Eagle Cliff Ward/Sandy Ut East Stk                 Great Salt Lake Council 590            1600 E Buttercup Rd                                       Sandy, UT 84092                                            First Class Mail
Chartered Organization         Lds Eagle Crest Second Ward (Alpine)                   Utah National Parks 591                2169 E Eagle Crest Dr                                     Draper, UT 84020‐5710                                      First Class Mail
Chartered Organization         Lds Eagle Crest Third Ward (Alpine)                    Utah National Parks 591                14919 S Eagle Crest Dr                                    Draper, UT 84020‐5722                                      First Class Mail
Chartered Organization         Lds Eagle Crest Ward                                   Utah National Parks 591                4557 N Spring Meadow Way                                  Eagle Mountain, UT 84005‐5744                              First Class Mail
Chartered Organization         Lds Eagle Crest Ward Draper                            Utah National Parks 591                14919 S Eagle Crest Dr                                    Draper, UT 84020‐5722                                      First Class Mail
Chartered Organization         Lds Eagle Estates Ward                                 Syracuse West Stake                    2887 W 2700 S                                             Syracuse, UT 84075                                         First Class Mail
Chartered Organization         Lds Eagle Mountain 14Th Ward                           Utah National Parks 591                4105 E Smith Ranch Rd                                     Eagle Mountain, UT 84005                                   First Class Mail
Chartered Organization         Lds Eagle Mountain Eleventh Ward                       Utah National Parks 591                1330 E Ira Hodges Scenic Pkwy                             Eagle Mountain, UT 84005                                   First Class Mail
Chartered Organization         Lds Eagle Mountain Second Ward                         Utah National Parks 591                2065 E Spring St                                          Eagle Mountain, UT 84005‐4275                              First Class Mail
Chartered Organization         Lds Eagle Mountain Seventh Ward                        Utah National Parks 591                2053 E Blossom St                                         Eagle Mountain, UT 84005‐4647                              First Class Mail
Chartered Organization         Lds Eagle Mountain Sixth Ward                          Utah National Parks 591                4126 N White Pine Rd                                      Eagle Mountain, UT 84005‐4266                              First Class Mail
Chartered Organization         Lds Eagle Mountain Third Ward                          Utah National Parks 591                4277 N Majors St                                          Eagle Mountain, UT 84005‐4355                              First Class Mail
Chartered Organization         Lds Eagle Mountain Thirteenth Ward                     Utah National Parks 591                4105 E Smith Ranch Rd                                     Eagle Mountain, UT 84005                                   First Class Mail
Chartered Organization         Lds Eagle Park Second Ward                             Utah National Parks 591                4586 N Eagle Mountain Blvd                                Eagle Mountain, UT 84005                                   First Class Mail
Chartered Organization         Lds Eagle Park Ward                                    Utah National Parks 591                4588 N Eagle Mountain Blvd                                Eagle Mountain, UT 84005                                   First Class Mail
Chartered Organization         Lds Eagle Park Ward, Los Altos Stake                   Pacific Skyline Council 031            190 Jordan Ave                                            Los Altos, CA 94022‐1261                                   First Class Mail
Chartered Organization         Lds Eagle Pass‐1St Ward                                Texas SW Council 741                   2355 Maria Del Refugio Dr                                 Eagle Pass, TX 78852‐3853                                  First Class Mail
Chartered Organization         Lds Eagle Point Ward                                   Central Point Stake                    110 W Linn Rd                                             Eagle Point, OR 97524                                      First Class Mail
Chartered Organization         Lds Eagle River Vly Ward ‐ Chugach Stake               Great Alaska Council 610               19701 Driftwood Bay Dr                                    Eagle River, AK 99577‐8821                                 First Class Mail
Chartered Organization         Lds Eagle Run Ward Omaha Stake                         Mid‐America Council 326                16626 Leavenworth St                                      Omaha, NE 68118‐2724                                       First Class Mail
Chartered Organization         Lds Eagle Springs Ward                                 Summerwood Stake                       12521 Will Clayton Pkwy                                   Humble, TX 77346‐3007                                      First Class Mail
Chartered Organization         Lds Eagle Valley Ward/Rifle Stake                      Denver Area Council 061                P.O. Box 1163                                             Gypsum, CO 81637‐1163                                      First Class Mail
Chartered Organization         Lds Eaglecrest First Ward (Lehi)                       Utah National Parks 591                513 W 2600 N                                              Lehi, UT 84043‐9765                                        First Class Mail
Chartered Organization         Lds Eaglecrest Fourth Ward                             Utah National Parks 591                636 W 2600 N                                              Lehi, UT 84043‐3461                                        First Class Mail
Chartered Organization         Lds Eaglecrest Second Ward (Lehi)                      Utah National Parks 591                1920 N 500 W                                              Lehi, UT 84043                                             First Class Mail
Chartered Organization         Lds Eaglecrest Third Ward (Lehi)                       Utah National Parks 591                700 W 2600 N                                              Lehi, UT 84043                                             First Class Mail
Chartered Organization         Lds Eagleridge Ward/N S L Parkway Stk                  Great Salt Lake Council 590            351 Lofty Ln                                              North Salt Lake, UT 84054                                  First Class Mail
Chartered Organization         Lds Eagles Gate Second Ward                            Utah National Parks 591                8439 N Wern Gailes Dr                                     Eagle Mountain, UT 84005                                   First Class Mail
Chartered Organization         Lds Eagles Gate Ward                                   Utah National Parks 591                3793 E Rose Hearty Ln                                     Eagle Mountain, UT 84005                                   First Class Mail
Chartered Organization         Lds Eagles Landing Ward                                Utah National Parks 591                1095 Saint James Ln                                       St George, UT 84790                                        First Class Mail
Chartered Organization         Lds Eaglewood Ward                                     North Salt Lake Ut Stake               200 S Eagle Ridge Dr                                      North Salt Lake, UT 84054                                  First Class Mail
Chartered Organization         Lds East Bay First Ward                                Utah National Parks 591                424 W 1200 S                                              Provo, UT 84601‐5924                                       First Class Mail
Chartered Organization         Lds East Bay Second Ward (Spanish)                     Utah National Parks 591                748 S 500 W                                               Provo, UT 84601‐5704                                       First Class Mail
Chartered Organization         Lds East Bench Ward                                    Utah National Parks 591                155 E 400 S                                               Cedar City, UT 84720                                       First Class Mail
Chartered Organization         Lds East Bench Ward (Sf)                               Utah National Parks 591                298 N 1360 E                                              Spanish Fork, UT 84660‐5512                                First Class Mail
Chartered Organization         Lds East Broadway 3Rd Ward                             Houston Stake                          3000 Broadway St                                          Houston, TX 77017‐2313                                     First Class Mail
Chartered Organization         Lds East Brunswick Ward                                East Brunswick Nj Stake                303 Dunhams Corner Rd                                     East Brunswick, NJ 08816‐2623                              First Class Mail
Chartered Organization         Lds East Carbon Ward                                   Utah National Parks 591                P.O. Box 617                                              East Carbon, UT 84520‐0617                                 First Class Mail
Chartered Organization         Lds East Meadows Ward                                  Utah National Parks 591                1552 E 750 S                                              Spanish Fork, UT 84660                                     First Class Mail
Chartered Organization         Lds East Mill Creek 11Th Ward                          Sl E Millcreek N Stake                 2702 E Evergreen Ave                                      Salt Lake City, UT 84109‐3126                              First Class Mail
Chartered Organization         Lds East Mill Creek 12Th Ward                          Sl E Millcreek N Stake                 3103 E Craig Dr                                           Salt Lake City, UT 84109‐3761                              First Class Mail
Chartered Organization         Lds East Mill Creek 15Th Ward                          Sl E Millcreek Stake                   3750 S Hillside Ln                                        Salt Lake City, UT 84109                                   First Class Mail
Chartered Organization         Lds East Mill Creek 16Th Ward                          Sl E Millcreek N Stake                 3408 Celeste Way                                          Salt Lake City, UT 84109                                   First Class Mail
Chartered Organization         Lds East Mill Creek 1St Ward                           Sl E Millcreek N Stake                 2702 E Evergreen Ave                                      Salt Lake City, UT 84109‐3126                              First Class Mail
Chartered Organization         Lds East Mill Creek 2Nd Ward                           Sl Eastmill Creek Stake                3750 S Hillside Ln                                        Salt Lake City, UT 84109                                   First Class Mail
Chartered Organization         Lds East Mill Creek 4Th Ward                           Sl Eastmill Creek Stake                3103 E Craig Dr                                           Salt Lake City, UT 84109‐3761                              First Class Mail
Chartered Organization         Lds East Mill Creek 6Th Ward                           Sl E Millcreek Stake                   3103 E Craig Dr                                           Salt Lake City, UT 84109‐3761                              First Class Mail
Chartered Organization         Lds East Mill Creek 7Th Ward                           Sl E Millcreek N Stake                 3408 S Celeste Way                                        Salt Lake City, UT 84109                                   First Class Mail
Chartered Organization         Lds East Mill Creek 9Th Ward                           Sl E Millcreek Stake                   3750 S Hillside Ln                                        Salt Lake City, UT 84109                                   First Class Mail
Chartered Organization         Lds East Ridge Ward                                    Utah National Parks 591                912 S 1740 E                                              St George, UT 84790                                        First Class Mail
Chartered Organization         Lds East Valley Ward‐Emmett Stk                        Ore‐Ida Council 106 ‐ Bsa 106          1101 E 2nd St                                             Emmett, ID 83617                                           First Class Mail
Chartered Organization         Lds Eastbluff‐Newport Beach Stake                      Orange County Council 039              2300 Bonita Canyon Dr                                     Newport Beach, CA 92660‐9118                               First Class Mail
Chartered Organization         Lds Eastdell Ward                                      Sandy Ut Granite S Stake               9855 S 2300 E                                             Sandy, UT 84092                                            First Class Mail
Chartered Organization         Lds Eastern Ave Ward Sac East Stake                    Golden Empire Council 047              2745 Eern Ave                                             Sacramento, CA 95821                                       First Class Mail
Chartered Organization         Lds Eastern Shore Ward                                 Virginia Beach Stake                   26133 Onley Rd                                            Onley, VA 23418                                            First Class Mail
Chartered Organization         Lds Eastgate Ward                                      Hooper Pioneer Trail Stake             4979 S 5100 W                                             Hooper, UT 84315                                           First Class Mail
Chartered Organization         Lds Eastgate Ward Cincinnati East Stake                Dan Beard Council, Bsa 438             2632 Royalwoods Ct                                        Cincinnati, OH 45244‐3655                                  First Class Mail
Chartered Organization         Lds Eastgate Ward Cincinnati East Stake                Dan Beard Council, Bsa 438             700 Clough Pike                                           Cincinnati, OH 45245‐1713                                  First Class Mail
Chartered Organization         Lds Eastlake 1St Ward                                  Sj Ut Eastlake Stake                   11038 Braidwood Dr                                        South Jordan, UT 84095                                     First Class Mail
Chartered Organization         Lds Eastlake 2Nd Ward                                  Sj Ut Eastlake Stake                   11038 Braidwood Dr                                        South Jordan, UT 84095                                     First Class Mail
Chartered Organization         Lds Eastlake 3Rd Ward                                  Sj Ut Eastlake Stake                   11038 Braidwood Dr                                        South Jordan, UT 84009                                     First Class Mail
Chartered Organization         Lds Eastlake 4Th Ward                                  Sj Ut Eastlake Stake                   4517 W Mille Lacs Dr                                      South Jordan, UT 84009                                     First Class Mail
Chartered Organization         Lds Eastlake 5Th Ward                                  Sj Ut Eastlake Stake                   4484 Willoughby Dr                                        South Jordan, UT 84095                                     First Class Mail
Chartered Organization         Lds Eastlake 6Th Ward                                  Sj Ut Eastlake Stake                   4517 W Mille Lacs Dr                                      South Jordan, UT 84009                                     First Class Mail
Chartered Organization         Lds Eastlake 7Th Ward                                  Sj Ut Eastlake Stake                   4517 W Mille Lacs Dr                                      South Jordan, UT 84009                                     First Class Mail
Chartered Organization         Lds Eastlake 8Th Ward                                  Sj Ut Eastlake Stake                   4517 W Mille Lacs Dr                                      South Jordan, UT 84009                                     First Class Mail
Chartered Organization         Lds Eastland Branch ( Monticello)                      Utah National Parks 591                Hc 63 Box 82                                              Monticello, UT 84535                                       First Class Mail
Chartered Organization         Lds Eastland Ward                                      Tooele Ut Valley View Stake            1419 N 380 E                                              Tooele, UT 84074‐9186                                      First Class Mail
Chartered Organization         Lds Eastmont Ward 262/404 Pasadena Stake               Greater Los Angeles Area 033           7505 Garvalia Ave                                         Rosemead, CA 91770‐2971                                    First Class Mail
Chartered Organization         Lds Eastmont Ward Everett Stake                        Mount Baker Council, Bsa 606           4014 112th St Se                                          Everett, WA 98208‐7769                                     First Class Mail
Chartered Organization         Lds Eastmont Ward/ Wenatchee Stake                     Grand Columbia Council 614             471 N Iowa Ave                                            East Wenatchee, WA 98802‐4944                              First Class Mail
Chartered Organization         Lds Easton Ward Pa Reading Stake                       Minsi Trails Council 502               138 Rose Inn Ave                                          Nazareth, PA 18064                                         First Class Mail
Chartered Organization         Lds Eastridge 1St Ward                                 Draper Ut Eastridge Stake              552 E 11400 S                                             Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Eastridge 2Nd Ward                                 Draper Ut Eastridge Stake              1187 E 12300 S                                            Sandy, UT 84070                                            First Class Mail
Chartered Organization         Lds Eastridge 3Rd Ward                                 Draper Ut Eastridge Stake              1187 E 12300 S                                            Sandy, UT 84094                                            First Class Mail
Chartered Organization         Lds Eastridge 4Th Ward                                 Draper Ut Eastridge Stake              11777 S Willow Wood Dr                                    Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Eastridge 5Th Ward                                 Draper Ut Eastridge Stake              11777 S Willow Wood Dr                                    Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Eastridge 6Th Ward                                 Draper Ut Eastridge Stake              11777 S Willow Wood Dr                                    Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Eastridge 7Th Ward                                 Draper Ut Eastridge Stake              1020 E Sunburn Ln                                         Sandy, UT 84094                                            First Class Mail
Chartered Organization         Lds Eastridge 8Th Ward                                 Draper Ut Eastridge Stake              1020 E Sunburn Ln                                         Sandy, UT 84094                                            First Class Mail
Chartered Organization         Lds Eastridge 9Th (Sp) Br                              Draper Ut Eastridge Stake              12270 S 1190 E                                            Draper, UT 84020                                           First Class Mail
Chartered Organization         Lds Eastridge Ward ‐ Mesa Az                           Boulder Creek Stake                    2265 S Hawes Rd                                           Mesa, AZ 85209‐6741                                        First Class Mail
Chartered Organization         Lds Eastridge Ward Abq Stake                           Great Swest Council 412                11750 San Victorio Ave Ne                                 Albuquerque, NM 87111‐5954                                 First Class Mail
Chartered Organization         Lds Eastridge Ward/S L So Cttnwd Stk                   Great Salt Lake Council 590            5235 S Wesley Rd                                          Salt Lake City, UT 84117                                   First Class Mail
Chartered Organization         Lds Eastridge Ward/Tooele Ut East Stk                  Great Salt Lake Council 590            752 N 520 E                                               Tooele, UT 84074‐8500                                      First Class Mail
Chartered Organization         Lds Eastvale Ward ‐ Jurupa Stake                       California Inland Empire Council 045   5950 Serendipity Rd                                       Riverside, CA 92509‐4775                                   First Class Mail
Chartered Organization         Lds Eaton Ward ‐ Dayton,Oh                             Miami Valley Council, Bsa 444          3707 S Clayton Rd                                         Farmersville, OH 45325                                     First Class Mail
Chartered Organization         Lds Eatontown Second Ward                              Monmouth Council, Bsa 347              14 Reynolds Dr                                            Eatontown, NJ 07724‐2324                                   First Class Mail
Chartered Organization         Lds Echo Canyon Ward, Billings Stake                   Montana Council 315                    5859 Ironwood Dr                                          Billings, MT 59106‐9548                                    First Class Mail
Chartered Organization         Lds Echo Hills Ward ‐ Hemet Stake                      California Inland Empire Council 045   27020 Meridian St                                         Hemet, CA 92544                                            First Class Mail
Chartered Organization         Lds Eden Ward ‐ East Stake                             Alamo Area Council 583                 15200 Judson Rd                                           San Antonio, TX 78247‐1356                                 First Class Mail
Chartered Organization         Lds Edgehill Ward                                      Providence South Stake                 361 Edgehill Dr                                           Providence, UT 84332‐9426                                  First Class Mail
Chartered Organization         Lds Edgehill Ward/S L Hillside Stk                     Great Salt Lake Council 590            1750 S 1500 E                                             Salt Lake City, UT 84105                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                    Page 206 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                     Filed 01/06/22                           Page 222 of 457
                                                                                                                                                                    Exhibit B
                                                                                                                                                                     Service List
                                                                                                                                                              Served as set forth below

        Description                                                       Name                                                                                    Address                                                                   Email              Method of Service
Chartered Organization         Lds Edgemont Eighth Ward                                 Utah National Parks 591                3152 Piute Dr                                            Provo, UT 84604‐4810                                        First Class Mail
Chartered Organization         Lds Edgemont Eleventh Ward                               Utah National Parks 591                3050 Mojave Ln                                           Provo, UT 84604‐4827                                        First Class Mail
Chartered Organization         Lds Edgemont Fifth Ward                                  Utah National Parks 591                350 E 2950 N                                             Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Edgemont First Ward                                  Utah National Parks 591                303 W 3700 N                                             Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Edgemont Fourteenth Ward                             Utah National Parks 591                4000 Foothill Dr                                         Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Edgemont Fourth Ward                                 Utah National Parks 591                4056 Timpview Dr                                         Provo, UT 84604‐6133                                        First Class Mail
Chartered Organization         Lds Edgemont Ninth Ward                                  Utah National Parks 591                4321 N Canyon Rd                                         Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Edgemont Second Ward                                 Utah National Parks 591                555 E 3230 N                                             Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Edgemont Seventh Ward                                Utah National Parks 591                555 E 3230 N                                             Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Edgemont Sixth Ward                                  Utah National Parks 591                290 E 4000 N                                             Provo, UT 84604‐5030                                        First Class Mail
Chartered Organization         Lds Edgemont Tenth Ward                                  Utah National Parks 591                345 E Foothill Dr                                        Provo, UT 84604‐6132                                        First Class Mail
Chartered Organization         Lds Edgemont Third Ward                                  Utah National Parks 591                2900 N 650 E                                             Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Edgemont Twelfth Ward                                Utah National Parks 591                2860 N 220 E                                             Provo, UT 84604‐3954                                        First Class Mail
Chartered Organization         Lds Edgemont Twenty First Ward                           Utah National Parks 591                488 E 3050 N                                             Provo, UT 84604‐4246                                        First Class Mail
Chartered Organization         Lds Edgemont Ward/Sandy Ut Central Stk                   Great Salt Lake Council 590            9824 S Flint Dr                                          Sandy, UT 84094                                             First Class Mail
Chartered Organization         Lds Edgewood Ward ‐ Mesa Az                              Kimball E Stake                        4640 E Holmes Ave                                        Mesa, AZ 85206‐5500                                         First Class Mail
Chartered Organization         Lds Edgewood Ward Abq East Stake                         Great Swest Council 412                P.O. Box 3279                                            Edgewood, NM 87015‐3279                                     First Class Mail
Chartered Organization         Lds Edgewood Ward Edgemont Stake                         Utah National Parks 591                3466 N 180 E                                             Provo, UT 84604‐4711                                        First Class Mail
Chartered Organization         Lds Edinburgh Ward‐Mer N Stk                             Ore‐Ida Council 106 ‐ Bsa 106          5555 N Locust Grove Rd                                   Meridian, ID 83646                                          First Class Mail
Chartered Organization         Lds Edison Ward ‐ Kennewick East Stake                   Blue Mountain Council 604              515 S Union St                                           Kennewick, WA 99336                                         First Class Mail
Chartered Organization         Lds Edison Ward/S L Pioneer Stk                          Great Salt Lake Council 590            1401 W 700 S                                             Salt Lake City, UT 84104                                    First Class Mail
Chartered Organization         Lds Edmond 1St Ward Okc Stake                            Last Frontier Council 480              1351 E 33rd St                                           Edmond, OK 73013‐6306                                       First Class Mail
Chartered Organization         Lds Edmond 2Nd Ward Okc Stake                            Last Frontier Council 480              1351 E 33rd St                                           Edmond, OK 73013‐6306                                       First Class Mail
Chartered Organization         Lds Edmond 3Rd Ward Stillwater Stake                     Last Frontier Council 480              5326 Ellie Mae Dr                                        Guthrie, OK 73044                                           First Class Mail
Chartered Organization         Lds Edmond 4Th Ward                                      Last Frontier Council 480              1315 E 33rd St                                           Edmond, OK 73013                                            First Class Mail
Chartered Organization         Lds Edmonds Ward Shoreline Stake                         Mount Baker Council, Bsa 606           7950 228th St Sw                                         Edmonds, WA 98026‐8443                                      First Class Mail
Chartered Organization         Lds Edwardsville Ward Ofallon Stake                      Greater St Louis Area Council 312      544 5th St                                               Wood River, IL 62095‐1708                                   First Class Mail
Chartered Organization         Lds Edy Ridge Ward Tualatin Stake                        Cascade Pacific Council 492            17234 SW Meinecke Rd                                     Sherwood, OR 97140                                          First Class Mail
Chartered Organization         Lds Egan Crest Ward Skye Canyon Stake                    Las Vegas Area Council 328             10070 Azure Dr                                           Las Vegas, NV 89149‐1382                                    First Class Mail
Chartered Organization         Lds Eielson Ward ‐ Fairbanks Stake                       Midnight Sun Council 696               331 E 8Th Ave                                            North Pole, AK 99705‐8014                                   First Class Mail
Chartered Organization         Lds El Cajon ‐ Alpine Ward                               San Diego Imperial Council 049         2425 Tavern Rd                                           Alpine, CA 91901                                            First Class Mail
Chartered Organization         Lds El Cajon ‐ Fuerte Ward                               San Diego Imperial Council 049         1270 S Orange Ave                                        El Cajon, CA 92020‐7522                                     First Class Mail
Chartered Organization         Lds El Cajon ‐ Granite Hills Ward                        San Diego Imperial Council 049         1701 Granite Hills Dr                                    El Cajon, CA 92019‐2602                                     First Class Mail
Chartered Organization         Lds El Cajon ‐ Hillsdale Ward                            San Diego Imperial Council 049         1634 Hillsdale Rd                                        El Cajon, CA 92019‐3737                                     First Class Mail
Chartered Organization         Lds El Cajon ‐ Jamul Ward                                San Diego Imperial Council 049         14808 Lyons Valley Rd                                    Jamul, CA 91935‐3406                                        First Class Mail
Chartered Organization         Lds El Camino Real Ward Camarillo Stake                  Ventura County Council 057             3301 W Gonzales Rd                                       Oxnard, CA 93036‐7769                                       First Class Mail
Chartered Organization         Lds El Camino Ward (Spanish)                             Sl Granger Stake                       3894 S David Pl                                          West Valley City, UT 84119‐4409                             First Class Mail
Chartered Organization         Lds El Camino Ward Las Vegas Stake                       Las Vegas Area Council 328             2245 Lindell Rd                                          Las Vegas, NV 89146‐3303                                    First Class Mail
Chartered Organization         Lds El Cariso Branch‐Lake Elsinore Stake                 California Inland Empire Council 045   34350 Almond St                                          Wildomar, CA 92595‐8735                                     First Class Mail
Chartered Organization         Lds El Centro ‐ Imperial Valley 1St Ward                 San Diego Imperial Council 049         1764 Citrus Ln                                           El Centro, CA 92243‐9401                                    First Class Mail
Chartered Organization         Lds El Centro ‐ Imperial Valley 2Nd Wd                   San Diego Imperial Council 049         152 W Mccabe Rd                                          El Centro, CA 92243‐9764                                    First Class Mail
Chartered Organization         Lds El Centro ‐ Imperial Valley 3Rd Ward                 San Diego Imperial Council 049         226 E Sherman St                                         Calexico, CA 92231‐2422                                     First Class Mail
Chartered Organization         Lds El Centro ‐ Imperial Valley 4Th Ward                 San Diego Imperial Council 049         1033 Ridge Park Dr                                       Brawley, CA 92227‐1400                                      First Class Mail
Chartered Organization         Lds El Cerrito Ward ‐ Corona Stake                       California Inland Empire Council 045   1501 Taber St                                            Corona, CA 92881                                            First Class Mail
Chartered Organization         Lds El Dorado Hills Ward Folsom Stake                    Golden Empire Council 047              89 Scholar Way                                           Folsom, CA 95630                                            First Class Mail
Chartered Organization         Lds El Dorado Ward ‐ Derby Stake                         Quivira Council, Bsa 198               120 S Main St                                            El Dorado, KS 67042‐3402                                    First Class Mail
Chartered Organization         Lds El Dorado Ward ‐ Gilbert Az                          Stapley Stake                          1451 W Guadalupe                                         Gilbert, AZ 85233                                           First Class Mail
Chartered Organization         Lds El Dorado Ward ‐ Maricopa Az Stk                     Grand Canyon Council 010               20565 Dr Horton Dr                                       Maricopa, AZ 85138                                          First Class Mail
Chartered Organization         Lds El Dorado Ward (Spanish)                             Sl Hunter Central Stake                3930 S 6000 W                                            West Valley City, UT 84128                                  First Class Mail
Chartered Organization         Lds El Dorado Ward Stockton Stake                        Greater Yosemite Council 059           7505 Oakcreek Dr                                         Stockton, CA 95207‐1438                                     First Class Mail
Chartered Organization         Lds El Mirage Ward ‐ Surprise Az Stk                     Grand Canyon Council 010               15005 N Dysart Rd                                        El Mirage, AZ 85335‐5400                                    First Class Mail
Chartered Organization         Lds El Monte Ward                                        (Spanish) L713‐Arcadia St              3214 Utah Ave                                            El Monte, CA 91731                                          First Class Mail
Chartered Organization         Lds El Oso Ward ‐ Phoenix Az Stk                         Grand Canyon Council 010               8702 W Campbell Ave                                      Phoenix, AZ 85037‐1402                                      First Class Mail
Chartered Organization         Lds El Paseo Ward ‐ Yucca Valley Stake                   California Inland Empire Council 045   73002 El Paseo Dr                                        Twentynine Palms, CA 92277                                  First Class Mail
Chartered Organization         Lds El Paso 11Th Ward El Paso Stake                      Yucca Council 573                      1212 Sumac Dr                                            El Paso, TX 79925‐7746                                      First Class Mail
Chartered Organization         Lds El Paso 5Th Ward Mt Franklin Stake                   Yucca Council 573                      400 Rosemont Dr                                          El Paso, TX 79922‐1756                                      First Class Mail
Chartered Organization         Lds El Paso Mesa Ward Mt Franklin Stk                    Yucca Council 573                      7315 Bishop Flores                                       El Paso, TX 79912                                           First Class Mail
Chartered Organization         Lds El Paso Stake Montwood Ward                          Yucca Council 573                      1212 Sumac Dr                                            El Paso, TX 79925‐7746                                      First Class Mail
Chartered Organization         Lds El Portal Ward                                       South Florida Council 084              8515 Biscayne Blvd                                       Miami, FL 33138‐3509                                        First Class Mail
Chartered Organization         Lds El Rancho Ward ‐ Sparks West Stake                   Nevada Area Council 329                2955 Rock Blvd                                           Sparks, NV 89431‐1859                                       First Class Mail
Chartered Organization         Lds El Rancho Ward North Las Vegas Stake                 Las Vegas Area Council 328             2295 N Walnut Rd                                         Las Vegas, NV 89115‐5345                                    First Class Mail
Chartered Organization         Lds El Segundo Ward Inglewood Stake 772                  Greater Los Angeles Area 033           1215 E Mariposa Ave                                      El Segundo, CA 90245‐3265                                   First Class Mail
Chartered Organization         Lds Elberta Ward                                         Utah National Parks 591                P.O. Box 66                                              Elberta, UT 84626‐0066                                      First Class Mail
Chartered Organization         Lds Eldorado Estates Ward                                Highland Hills Stake                   5623 Willowcreek Rd                                      North Las Vegas, NV 89031‐1418                              First Class Mail
Chartered Organization         Lds Eldorado Highlands Ward                              Highland Hills Stake                   827 Dover Glen Dr                                        North Las Vegas, NV 89031‐1905                              First Class Mail
Chartered Organization         Lds Eldorado Pass Ward                                   Mccullough Hills Stake                 485 Mission Dr                                           Henderson, NV 89002                                         First Class Mail
Chartered Organization         Lds Eldorado Valley Ward Eldorado Stake                  Las Vegas Area Council 328             1550 Buchanan Blvd                                       Boulder City, NV 89005                                      First Class Mail
Chartered Organization         Lds Eldorado Ward Abq East Stake                         Great Swest Council 412                10412 Cielito Lindo Ne                                   Albuquerque, NM 87111‐3836                                  First Class Mail
Chartered Organization         Lds Eldredge Ward/S L Granite Park Stk                   Great Salt Lake Council 590            3219 S 300 E                                             Salt Lake City, UT 84115                                    First Class Mail
Chartered Organization         Lds Elgin First Ward ‐ Schaumburg Stake                  Three Fires Council 127                1250 Parkview Dr                                         Elgin, IL 60123                                             First Class Mail
Chartered Organization         Lds Elgin Third Ward ‐ Schaumburg Stake                  Three Fires Council 127                1250 Parkview Dr                                         Elgin, IL 60123                                             First Class Mail
Chartered Organization         Lds Elgin Ward ‐ La Grande Stake                         Blue Mountain Council 604              755 Baltimore St                                         Elgin, OR 97827                                             First Class Mail
Chartered Organization         Lds Elizabeth City Ward Chesapeake Stake                 Tidewater Council 596                  600 W Ehringhaus St                                      Elizabeth City, NC 27909‐6931                               First Class Mail
Chartered Organization         Lds Elizabeth Ward, Parker South Stake                   Denver Area Council 061                34200 County Rd 17                                       Elizabeth, CO 80107                                         First Class Mail
Chartered Organization         Lds Elizabethtown Ward                                   Lincoln Heritage Council 205           2950 Shepherdsville Rd                                   Elizabethtown, KY 42701                                     First Class Mail
Chartered Organization         Lds Elk Grove Park Ward Elk Grove Stake                  Golden Empire Council 047              8697 Elk Grove Blvd                                      Elk Grove, CA 95624                                         First Class Mail
Chartered Organization         Lds Elk Grove Ward Elk Grove Stake                       Golden Empire Council 047              8697 Elk Grove Blvd                                      Elk Grove, CA 95624                                         First Class Mail
Chartered Organization         Lds Elk Hollow Ward                                      North Salt Lake Ut Stake               4275 Bountiful Blvd                                      Bountiful, UT 84010                                         First Class Mail
Chartered Organization         Lds Elk Ridge Eighth Ward                                Utah National Parks 591                11031 S 1600 W                                           Elk Ridge, UT 84651‐4512                                    First Class Mail
Chartered Organization         Lds Elk Ridge Eleventh Ward                              Utah National Parks 591                256 E Deer Run Loop                                      Elk Ridge, UT 84651‐8004                                    First Class Mail
Chartered Organization         Lds Elk Ridge Fifth Ward                                 Utah National Parks 591                450 N Elk Ridge Dr                                       Elk Ridge, UT 84651‐4637                                    First Class Mail
Chartered Organization         Lds Elk Ridge First Ward                                 Utah National Parks 591                185 Ridge View Dr                                        Elk Ridge, UT 84651                                         First Class Mail
Chartered Organization         Lds Elk Ridge Fourth Ward                                Utah National Parks 591                450 W Park Dr                                            Elk Ridge, UT 84651                                         First Class Mail
Chartered Organization         Lds Elk Ridge Second Ward                                Utah National Parks 591                259 E Alpine Dr                                          Elk Ridge, UT 84651‐5507                                    First Class Mail
Chartered Organization         Lds Elk Ridge Seventh Ward                               Utah National Parks 591                612 N Olympic Ln                                         Elk Ridge, UT 84651‐4560                                    First Class Mail
Chartered Organization         Lds Elk Ridge Sixth Ward                                 Utah National Parks 591                395 W Haleys Lookout                                     Elk Ridge, UT 84651                                         First Class Mail
Chartered Organization         Lds Elk Ridge Tenth Ward                                 Utah National Parks 591                185 Ridge View Dr                                        Elk Ridge, UT 84651                                         First Class Mail
Chartered Organization         Lds Elk Ridge Third Ward                                 Utah National Parks 591                259 E Alpine Dr                                          Elk Ridge, UT 84651‐5507                                    First Class Mail
Chartered Organization         Lds Elk Ridge Twelth Ward                                Utah National Parks 591                789 Arrowhead Trl                                        Payson, UT 84651                                            First Class Mail
Chartered Organization         Lds Elk Ridge Ward Elkhorn Springs Stake                 Las Vegas Area Council 328             9807 Red Deer St                                         Las Vegas, NV 89143‐1155                                    First Class Mail
Chartered Organization         Lds Elk Run Ward Maple Valley Stake                      Chief Seattle Council 609              19107 Se Lake Holm Rd                                    Auburn, WA 98092                                            First Class Mail
Chartered Organization         Lds Elkhart Ward 1‐South Bend Stake                      Lasalle Council 165                    3415 Pleasant Plain Ave                                  Elkhart, IN 46517‐2945                                      First Class Mail
Chartered Organization         Lds Elkhart Ward 2‐South Bend Stake                      Lasalle Council 165                    3415 Pleasant Plain Ave                                  Elkhart, IN 46517‐2945                                      First Class Mail
Chartered Organization         Lds Elkhorn Spgs 1St Ward                                Elkhorn Springs Stake                  7500 Tule Springs Rd                                     Las Vegas, NV 89131‐8174                                    First Class Mail
Chartered Organization         Lds Elkhorn Spgs 2Nd Ward                                Elkhorn Springs Stake                  6868 Sky Pointe Dr Unit 2051                             Las Vegas, NV 89131‐6115                                    First Class Mail
Chartered Organization         Lds Elkhorn Ward Omaha Stake                             Mid‐America Council 326                17606 Spaulding St                                       Omaha, NE 68116‐3110                                        First Class Mail
Chartered Organization         Lds Elko 1St Ward ‐ Elko West Stake                      Nevada Area Council 329                3001 N 5Th St                                            Elko, NV 89801‐4473                                         First Class Mail
Chartered Organization         Lds Elko 2Nd Ward ‐ Elko West Stake                      Nevada Area Council 329                3001 N 5Th St                                            Elko, NV 89801‐4473                                         First Class Mail
Chartered Organization         Lds Elko 3Rd Ward ‐ Elko West Stake                      Nevada Area Council 329                3210 Sagecrest Dr                                        Elko, NV 89801                                              First Class Mail
Chartered Organization         Lds Elko 4Th Ward ‐ Elko West Stake                      Nevada Area Council 329                3210 Sagecrest Dr                                        Elko, NV 89801                                              First Class Mail
Chartered Organization         Lds Elko 5Th Ward ‐ Elko West Stake                      Nevada Area Council 329                3001 N 5Th St                                            Elko, NV 89801‐4473                                         First Class Mail
Chartered Organization         Lds Ellensburg 1St Ward/Selah Stake                      Grand Columbia Council 614             801 E 2Nd Ave                                            Ellensburg, WA 98926‐3413                                   First Class Mail
Chartered Organization         Lds Ellensburg 2Nd Ward/Selah Stake                      Grand Columbia Council 614             P.O. Box 1117                                            Ellensburg, WA 98926‐1900                                   First Class Mail
Chartered Organization         Lds Ellensburg 3Rd Ward/Selah Stake                      Grand Columbia Council 614             808 S Magnolia St                                        Ellensburg, WA 98926‐9218                                   First Class Mail
Chartered Organization         Lds Ellensburg 3Rd Ward/Selah Stake                      Grand Columbia Council 614             808 S Magnolia St                                        Ellensburg, WA 98926‐9218                                   First Class Mail
Chartered Organization         Lds Ellicott City Ward Columbia Stake                    Baltimore Area Council 220             4100 St Johns Ln                                         Ellicott City, MD 21042‐5347                                First Class Mail
Chartered Organization         Lds Ellicott City Ward Columbia Stake                    Baltimore Area Council 220             4100 St Johns Ln                                         Ellicott City, MD 21042‐5347                                First Class Mail
Chartered Organization         Lds Ellijay Branch, Marietta East Stake                  Northeast Georgia Council 101          189 Dogwood Dr                                           Ellijay, GA 30540‐5528                                      First Class Mail
Chartered Organization         Lds Elliot Groves Ward ‐ Gilbert Az                      Superstition Springs Stake             4042 E Marlene Dr                                        Gilbert, AZ 85296‐1007                                      First Class Mail
Chartered Organization         Lds Elliot Lake Ward ‐ Kennewick E Stake                 Blue Mountain Council 604              4445 S Olympia                                           Kennewick, WA 99337                                         First Class Mail
Chartered Organization         Lds Elliot Ward ‐ Gilbert Az Stk                         Grand Canyon Council 010               15818 E Vaughn Ave                                       Gilbert, AZ 85234‐6216                                      First Class Mail
Chartered Organization         Lds Ellison Park Spanish                                 Layton West Stake                      2160 W Gordon Ave                                        Layton, UT 84041                                            First Class Mail
Chartered Organization         Lds Ellsworth Cocoa                                      Central Florida Council 083            5535 Osceola Dr                                          St Cloud, FL 34773‐9324                                     First Class Mail
Chartered Organization         Lds Ellsworth Ward ‐ Mesa Az Clearview Stk               Grand Canyon Council 010               1007 S 72Nd St                                           Mesa, AZ 85208‐2703                                         First Class Mail
Chartered Organization         Lds Elm Creek Ward                                       W J Ut Bingham Creek Stake             8539 S 2200 W                                            West Jordan, UT 84088‐9517                                  First Class Mail
Chartered Organization         Lds Elm Creek Ward ‐ Bartlesville Ok Stake               Indian Nations Council 488             13602 E 89Th St N                                        Owasso, OK 74055‐2096                                       First Class Mail
Chartered Organization         Lds Elm Creek Ward ‐ Bartlesville Ok Stake               Indian Nations Council 488             15909 E 79Th St N                                        Owasso, OK 74055‐7010                                       First Class Mail
Chartered Organization         Lds Elm Tree Ward                                        Westark Area Council 016               950 Seba Rd                                              Centerton, AR 72719‐7302                                    First Class Mail
Chartered Organization         Lds Elma Stake‐Elma 1St                                  Pacific Harbors Council, Bsa 612       General Delivery                                         Elma, WA 98541                                              First Class Mail
Chartered Organization         Lds Elma Stake‐Grays Harbor                              Pacific Harbors Council, Bsa 612       2735 Riverview Dr                                        Aberdeen, WA 98520‐1548                                     First Class Mail
Chartered Organization         Lds Elma Stake‐Raymond                                   Pacific Harbors Council, Bsa 612       245 Jackson Ave                                          Raymond, WA 98577                                           First Class Mail
Chartered Organization         Lds Elma Stake‐Shelton 1St                               Pacific Harbors Council, Bsa 612       1200 Connection St                                       Shelton, WA 98584                                           First Class Mail
Chartered Organization         Lds Elma Stake‐Shelton 2Nd                               Pacific Harbors Council, Bsa 612       916 N 12Th St                                            Shelton, WA 98584‐1825                                      First Class Mail
Chartered Organization         Lds Elmira Ward                                          Five Rivers Council, Inc 375           1060 W Broad St                                          Horseheads, NY 14845                                        First Class Mail
Chartered Organization         Lds Elmo Ward                                            Utah National Parks 591                P.O. Box 465                                             Elmo, UT 84521                                              First Class Mail
Chartered Organization         Lds Elmwood Ward ‐ Mesa Az Central Stk                   Grand Canyon Council 010               947 N Harris Dr                                          Mesa, AZ 85203                                              First Class Mail
Chartered Organization         Lds Elmwood Ward Papillion Stake                         Mid‐America Council 326                11027 Martha St                                          Omaha, NE 68144‐3107                                        First Class Mail
Chartered Organization         Lds Elsinore Ward                                        Utah National Parks 591                75 N Center St                                           Elsinore, UT 84724‐7794                                     First Class Mail
Chartered Organization         Lds Elwood 1St Ward                                      Tremonton South Stake                  4865 W 9600 N                                            Elwood, UT 84337‐6767                                       First Class Mail
Chartered Organization         Lds Elwood 2Nd Ward                                      Tremonton South Stake                  4865 W                                                   Elwood, UT 84337                                            First Class Mail
Chartered Organization         Lds Elwood 3Rd Ward/Tremonton South                      Trapper Trails 589                     4865 W 9600 N                                            Elwood, UT 84337‐6767                                       First Class Mail
Chartered Organization         Lds Emerald Acres Ward ‐ Mesa Az South Stk               Grand Canyon Council 010               1415 E Sern Ave                                          Mesa, AZ 85204                                              First Class Mail
Chartered Organization         Lds Emerald Bay Ward ‐ Gilbert Az                        Val Vista Stake                        1438 N Driftwood Dr                                      Gilbert, AZ 85234                                           First Class Mail
Chartered Organization         Lds Emerald Vly Ward Green Vly Stake                     Las Vegas Area Council 328             1551 Galleria Dr                                         Henderson, NV 89014‐0372                                    First Class Mail
Chartered Organization         Lds Emerson Ward/S L Bonneville Stake                    Great Salt Lake Council 590            808 E Roosevelt Ave                                      Salt Lake City, UT 84105                                    First Class Mail
Chartered Organization         Lds Emigration Canyon Ward                               Sl Monument Pk Stake                   2795 Crestview Dr                                        Salt Lake City, UT 84108                                    First Class Mail
Chartered Organization         Lds Emigration Trail Branch                              Syracuse Bluff Stake                   700 S 2500 W                                             Syracuse, UT 84075                                          First Class Mail
Chartered Organization         Lds Emporia Ward‐ Topeka Stake                           Jayhawk Area Council 197               2313 Graphic Arts Rd                                     Emporia, KS 66801                                           First Class Mail
Chartered Organization         Lds Encanto 1St Ward ‐ Phoenix Az Stk                    Grand Canyon Council 010               4601 W Encanto Blvd                                      Phoenix, AZ 85035‐2214                                      First Class Mail
Chartered Organization         Lds Enchanted Hills Ward Abq North Stake                 Great Swest Council 412                275 E Avenida                                            Bernalillo, NM 87004                                        First Class Mail
Chartered Organization         Lds Encinas Ward ‐ Gilbert Az Stapley Stk                Grand Canyon Council 010               632 W Stanford Ave                                       Gilbert, AZ 85233‐2618                                      First Class Mail
Chartered Organization         Lds Encino Park Ward ‐ Hill Country Stake                Alamo Area Council 583                 25479 Bulverde Rd                                        San Antonio, TX 78261                                       First Class Mail
Chartered Organization         Lds Englewood Branch Spanish Branch                      Selah Stake                            4307 Englewood Ave                                       Yakima, WA 98908‐2624                                       First Class Mail
Chartered Organization         Lds Englewood Branch/Selah Stake                         Grand Columbia Council 614             4307 Englewood Ave                                       Yakima, WA 98908‐2624                                       First Class Mail
Chartered Organization         Lds Enoch 5Th Ward                                       Utah National Parks 591                2233 E Village Green Rd                                  Enoch, UT 84721                                             First Class Mail
Chartered Organization         Lds Enoch First Ward                                     Utah National Parks 591                2233 E Village Green Rd                                  Enoch, UT 84721                                             First Class Mail
Chartered Organization         Lds Enoch Fourth Ward                                    Utah National Parks 591                1390 E Midvalley Rd                                      Enoch, UT 84721                                             First Class Mail
Chartered Organization         Lds Enoch Second Ward                                    Utah National Parks 591                555 E Midvalley Rd                                       Enoch, UT 84721                                             First Class Mail
Chartered Organization         Lds Enoch Sixth Ward                                     Utah National Parks 591                2233 E Village Green Rd                                  Enoch, UT 84721                                             First Class Mail
Chartered Organization         Lds Enoch Third Ward                                     Utah National Parks 591                4781 N 1170 E                                            Enoch, UT 84721‐7433                                        First Class Mail
Chartered Organization         Lds Enrose Ward ‐ Mesa Az Central Stk                    Grand Canyon Council 010               925 N Harris Dr                                          Mesa, AZ 85203‐5722                                         First Class Mail
Chartered Organization         Lds Ensign 1St Ward/S L Ensign Stk                       Great Salt Lake Council 590            135A N State St                                          Salt Lake City, UT 84103                                    First Class Mail
Chartered Organization         Lds Ensign Ward East Stake                               Las Vegas Area Council 328             4040 E Wyoming Ave                                       Las Vegas, NV 89104‐5236                                    First Class Mail
Chartered Organization         Lds Enterprise Fifth Ward                                Utah National Parks 591                620 E Main                                               Enterprise, UT 84725                                        First Class Mail
Chartered Organization         Lds Enterprise First Ward                                Utah National Parks 591                P.O. Box 271                                             Enterprise, UT 84725‐0271                                   First Class Mail
Chartered Organization         Lds Enterprise Fourth Ward                               Utah National Parks 591                P.O. Box 37                                              Enterprise, UT 84725‐0037                                   First Class Mail
Chartered Organization         Lds Enterprise Second Ward                               Utah National Parks 591                P.O. Box 85                                              Enterprise, UT 84725‐0085                                   First Class Mail
Chartered Organization         Lds Enterprise Third Ward                                Utah National Parks 591                P.O. Box 178                                             Enterprise, UT 84725‐0178                                   First Class Mail
Chartered Organization         Lds Enterprise Ward ‐ Dothan Sta                         Alabama‐Florida Council 003            110 Shellfield Rd                                        Enterprise, AL 36330‐1320                                   First Class Mail
Chartered Organization         Lds Enumclaw 1St Ward Enumclaw Stake                     Chief Seattle Council 609              27607 Se 392Nd St                                        Enumclaw, WA 98022‐7741                                     First Class Mail
Chartered Organization         Lds Enumclaw 2Nd Ward Enumclaw Stake                     Chief Seattle Council 609              4515 252Nd Se                                            Enumclaw, WA 98022                                          First Class Mail
Chartered Organization         Lds Enumclaw 3Rd Ward Enumclaw Stake                     Chief Seattle Council 609              45414 252Nd St                                           Enumclaw, WA 98022                                          First Class Mail
Chartered Organization         Lds Eola Hills Ward Monmouth Stake                       Cascade Pacific Council 492            3154 Eola Dr Nw                                          Salem, OR 97304                                             First Class Mail
Chartered Organization         Lds Ephraim Eighth Ward                                  Utah National Parks 591                62 W 200 S                                               Ephraim, UT 84627‐1343                                      First Class Mail
Chartered Organization         Lds Ephraim Fifth Ward                                   Utah National Parks 591                765 S 100 E                                              Ephraim, UT 84627                                           First Class Mail
Chartered Organization         Lds Ephraim First Ward                                   Utah National Parks 591                400 N 200 W                                              Ephraim, UT 84627                                           First Class Mail
Chartered Organization         Lds Ephraim Fourth Ward                                  Utah National Parks 591                751 S 100 E                                              Ephraim, UT 84627                                           First Class Mail
Chartered Organization         Lds Ephraim Ninth Ward                                   Utah National Parks 591                765 S 100 E                                              Ephraim, UT 84627                                           First Class Mail
Chartered Organization         Lds Ephraim Second Ward                                  Utah National Parks 591                450 N 200 W                                              Ephraim, UT 84627                                           First Class Mail
Chartered Organization         Lds Ephraim Seventh Ward                                 Utah National Parks 591                400 E Center                                             Ephraim, UT 84627                                           First Class Mail
Chartered Organization         Lds Ephraim Sixth Ward                                   Utah National Parks 591                765 S 100 E                                              Ephraim, UT 84627                                           First Class Mail
Chartered Organization         Lds Ephraim Third Ward                                   Utah National Parks 591                400 E Center St                                          Ephraim, UT 84627                                           First Class Mail
Chartered Organization         Lds Equestrian Ward                                      Kaysville West Stake                   1449 S Thoroughbred Dr                                   Kaysville, UT 84037                                         First Class Mail
Chartered Organization         Lds Erda Ward/Erda Utah Stake                            Great Salt Lake Council 590            203 E Erda Way                                           Erda, UT 84074                                              First Class Mail
Chartered Organization         Lds Eridge Ward, Highlands Ranch Stake                   Denver Area Council 061                8150 S Colorado Blvd                                     Littleton, CO 80122‐3600                                    First Class Mail
Chartered Organization         Lds Erringer Ward Simi Stake                             Ventura County Council 057             1276 Erringer Rd                                         Simi Valley, CA 93065                                       First Class Mail
Chartered Organization         Lds Escalante First Ward                                 Utah National Parks 591                P.O. Box 135                                             Escalante, UT 84726‐0135                                    First Class Mail
Chartered Organization         Lds Escalante Second Ward                                Utah National Parks 591                P.O. Box 135                                             Escalante, UT 84726‐0135                                    First Class Mail
Chartered Organization         Lds Escalante Ward                                       Utah National Parks 591                445 W 250 S                                              Spanish Fork, UT 84660‐9296                                 First Class Mail
Chartered Organization         Lds Escondido ‐ Bear Valley Ward                         San Diego Imperial Council 049         3250 Bear Valley Pkwy S                                  Escondido, CA 92025                                         First Class Mail
Chartered Organization         Lds Escondido ‐ Discovery Hills Ward                     San Diego Imperial Council 049         2255 Felicita Rd                                         Escondido, CA 92029‐4400                                    First Class Mail
Chartered Organization         Lds Escondido ‐ El Norte Ward                            San Diego Imperial Council 049         1917 E Washington Ave                                    Escondido, CA 92027‐2114                                    First Class Mail
Chartered Organization         Lds Escondido ‐ Escondido Hills Ward                     San Diego Imperial Council 049         1917 E Washington Ave                                    Escondido, CA 92027‐2114                                    First Class Mail
Chartered Organization         Lds Escondido ‐ San Elijo Hills Ward                     San Diego Imperial Council 049         2255 Felicita Rd                                         Escondido, CA 92029‐4400                                    First Class Mail
Chartered Organization         Lds Escondido ‐ Twin Oaks Valley Wd                      San Diego Imperial Council 049         1250 Borden Rd                                           San Marcos, CA 92069                                        First Class Mail
Chartered Organization         Lds Escondido ‐ Valley Center 1St Ward                   San Diego Imperial Council 049         14826 Fruitvale Rd                                       Valley Center, CA 92082                                     First Class Mail
Chartered Organization         Lds Escondido‐Felicita Ward                              San Diego Imperial Council 049         2255 Felicita Rd                                         Escondido, CA 92029‐4400                                    First Class Mail
Chartered Organization         Lds Escondido‐San Pasqual Ward                           San Diego Imperial Council 049         3250 Bear Valley Pkwy S                                  Escondido, CA 92025                                         First Class Mail
Chartered Organization         Lds Escondido‐Santa Fe Hills Ward                        San Diego Imperial Council 049         1250 Borden Rd                                           San Marcos, CA 92069                                        First Class Mail
Chartered Organization         Lds Esplanade Ward ‐ Orange Stake                        Orange County Council 039              13672 Yellowstone Dr                                     Santa Ana, CA 92705‐2658                                    First Class Mail
Chartered Organization         Lds Essex Ward, Montpelier Vermont Stake                 Green Mountain 592                     73 Essex Way                                             Essex Junction, VT 05452‐3384                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                     Page 207 of 442
                                                                                Case 20-10343-LSS                                  Doc 8171                                   Filed 01/06/22                                                    Page 223 of 457
                                                                                                                                                                 Exhibit B
                                                                                                                                                                  Service List
                                                                                                                                                           Served as set forth below

        Description                                                      Name                                                                                  Address                                                                                                  Email              Method of Service
Chartered Organization         Lds Estacada Ward Mt Hood Oregon Stake                  Cascade Pacific Council 492            30498 Se Eagle Creek Rd                                Estacada, OR 97023‐9716                                                                    First Class Mail
Chartered Organization         Lds Estancia Valley Abq East Stake                      Great Swest Council 412                P.O. Box 341                                           Mcintosh, NM 87032‐0341                                                                    First Class Mail
Chartered Organization         Lds Estate Groves Ward ‐ Mesa Az                        Citrus Heights Stake                   4122 E Mclellan Rd Unit 10                             Mesa, AZ 85205‐3108                                                                        First Class Mail
Chartered Organization         Lds Estrella Hills Ward ‐ Buckeye Az Stk                Grand Canyon Council 010               19527 W Ramos Ln                                       Buckeye, AZ 85326‐4669                                                                     First Class Mail
Chartered Organization         Lds Estrella Ward ‐ Phoenix Az                          W Maricopa Stake                       701 N 95Th Ave                                         Tolleson, AZ 85353‐1626                                                                    First Class Mail
Chartered Organization         Lds Etna Ward ‐ Medford Stake                           Crater Lake Council 491                233 N Hwy 3                                            Etna, CA 96027                                                                             First Class Mail
Chartered Organization         Lds Eucalyptus Ward ‐ Chino Stake                       California Inland Empire Council 045   3332 Eucalyptus                                        Chino Hills, CA 91709                                                                      First Class Mail
Chartered Organization         Lds Euclid Ward ‐ Fullerton Stake                       Orange County Council 039              2225 N Euclid St                                       Fullerton, CA 92835‐3330                                                                   First Class Mail
Chartered Organization         Lds Euclid Ward Kirtland Stake                          Lake Erie Council 440                  32895 Cedar Rd                                         Mayfield Heights, OH 44124‐4252                                                            First Class Mail
Chartered Organization         Lds Eufaula Branch‐Tulsa Ok East Stake                  Indian Nations Council 488             600 N 6Th St                                           Eufaula, OK 74432‐1615                                                                     First Class Mail
Chartered Organization         Lds Eugene 1St Ward Eugene Stake                        Oregon Trail Council 697               3500 W 18Th Ave                                        Eugene, OR 97402‐3114                                                                      First Class Mail
Chartered Organization         Lds Eugene 1St Ward Eugene Stake                        Oregon Trail Council 697               3500 W 18Th Ave                                        Eugene, OR 97402‐3114                                                                      First Class Mail
Chartered Organization         Lds Eugene 3Rd Ward Eugene Stake                        Oregon Trail Council 697               3500 W 18Th Ave                                        Eugene, OR 97402‐3114                                                                      First Class Mail
Chartered Organization         Lds Eugene 5Th Ward Eugene Stake                        Oregon Trail Council 697               1155 President St                                      Eugene, OR 97401‐5378                                                                      First Class Mail
Chartered Organization         Lds Euless 1St Ward ‐ Hurst Stake                       Longhorn Council 662                   P.O. Box 54190                                         Hurst, TX 76054‐4190                                                                       First Class Mail
Chartered Organization         Lds Euless 2Nd Ward ‐ Hurst Stake                       Longhorn Council 662                   P.O. Box 54190                                         Hurst, TX 76054‐4190                                                                       First Class Mail
Chartered Organization         Lds Euless 3Rd Ward ‐ Hurst Stake                       Longhorn Council 662                   850 Cannon Dr                                          Hurst, TX 76054‐3191                                                                       First Class Mail
Chartered Organization         Lds Eureka 1St Ward ‐ Eureka Stake                      Crater Lake Council 491                2806 Dolbeer St                                        Eureka, CA 95501‐4763                                                                      First Class Mail
Chartered Organization         Lds Eureka 2Nd Ward ‐ Eureka Stake                      Crater Lake Council 491                2806 Dolbeer St                                        Eureka, CA 95501‐4763                                                                      First Class Mail
Chartered Organization         Lds Eureka Ward                                         Utah National Parks 591                70 E Main St                                           Eureka, UT 84628                                                                           First Class Mail
Chartered Organization         Lds Eureka Ward, Kalispell Stake                        Montana Council 315                    1005 Osloski Rd                                        Eureka, MT 59917                                                                           First Class Mail
Chartered Organization         Lds Eustis Leesburg                                     Central Florida Council 083            3450 Cypress Grove Dr                                  Eustis, FL 32736‐2506                                                                      First Class Mail
Chartered Organization         Lds Evans Farm Ward                                     Utah National Parks 591                2397 W 275 N                                           Lehi, UT 84043‐4308                                                                        First Class Mail
Chartered Organization         Lds Evans Meadows Ward                                  Layton Legacy Stake                    752 N 3700 W                                           Layton, UT 84041                                                                           First Class Mail
Chartered Organization         Lds Evans Ranch                                         Utah National Parks 591                7617 N Evans Ranch Dr                                  Eagle Mountain, UT 84005‐5036                                                              First Class Mail
Chartered Organization         Lds Evans Ranch Ward ‐ Hill Country Stake               Alamo Area Council 583                 31355 Stahl Ln                                         Bulverde, TX 78163‐3284                                                                    First Class Mail
Chartered Organization         Lds Evanston 1St Ward                                   Evanston South Stake                   201 Sage St                                            Evanston, WY 82930‐3645                                                                    First Class Mail
Chartered Organization         Lds Evanston 4Th Ward                                   Evanston South Stake                   Trapper Trails 589                                     201 Sage St                             Evanston S Stake      Evanston, Wy 82930           First Class Mail
Chartered Organization         Lds Evanston 7Th Ward                                   Evanston South Stake                   632 Twin Ridge Ave                                     Evanston, WY 82930‐5110                                                                    First Class Mail
Chartered Organization         Lds Evanston 8Th Ward                                   Evanston South Stake                   632 Twin Ridge Ave                                     Evanston, WY 82930‐5110                                                                    First Class Mail
Chartered Organization         Lds Evansville Evansville In                            Buffalo Trace 156                      8020 Covert Ave                                        Evansville, IN 47715‐6293                                                                  First Class Mail
Chartered Organization         Lds Evergreen Ward ‐ Mesa Az Central Stk                Grand Canyon Council 010               1345 E University Dr                                   Mesa, AZ 85203                                                                             First Class Mail
Chartered Organization         Lds Evergreen Ward ‐ Tempe Az Stk                       Grand Canyon Council 010               2036 W Devonshire Cir                                  Mesa, AZ 85201‐7510                                                                        First Class Mail
Chartered Organization         Lds Evergreen Ward Hillsboro Stake                      Cascade Pacific Council 492            2220 Ne Jackson School Rd                              Hillsboro, OR 97124‐1658                                                                   First Class Mail
Chartered Organization         Lds Evergreen Ward Las Vegas Stake                      Las Vegas Area Council 328             6120 Alta Dr                                           Las Vegas, NV 89107‐3423                                                                   First Class Mail
Chartered Organization         Lds Evergreen Ward Vancouver Stake                      Cascade Pacific Council 492            14219 Ne 49Th St                                       Vancouver, WA 98682                                                                        First Class Mail
Chartered Organization         Lds Evergreen Ward, Layton South Stake                  Trapper Trails 589                     2120 W Gentile St                                      Layton, UT 84041                                                                           First Class Mail
Chartered Organization         Lds Everson Ward Bellingham Stake                       Mount Baker Council, Bsa 606           1820 Kelly Rd                                          Bellingham, WA 98226‐7508                                                                  First Class Mail
Chartered Organization         Lds Everton Ward ‐ Mesa Az Eastmark Stk                 Grand Canyon Council 010               10315 E Starion Ave                                    Mesa, AZ 85212‐8095                                                                        First Class Mail
Chartered Organization         Lds Ewa Beach 1St Ward ‐ Waipahu Stake                  Aloha Council, Bsa 104                 91‐1154 N Rd                                           Ewa Beach, HI 96706                                                                        First Class Mail
Chartered Organization         Lds Ewa Beach 2Nd Ward ‐ Waipahu Stake                  Aloha Council, Bsa 104                 91‐1154 N Rd                                           Ewa Beach, HI 96706                                                                        First Class Mail
Chartered Organization         Lds Exeter Ward Exeter Nh Stake                         Daniel Webster Council, Bsa 330        55 Hampton Falls Rd                                    Exeter, NH 03833‐4700                                                                      First Class Mail
Chartered Organization         Lds Explorer Park Ward ‐ East Stake                     Pikes Peak Council 060                 8170 Candleflower Cir                                  Colorado Springs, CO 80920‐5752                                                            First Class Mail
Chartered Organization         Lds Fagaitua Branch                                     Aloha Council, Bsa 104                 P.O. Box 6223                                          Pago Pago, AS 96799‐6223                                                                   First Class Mail
Chartered Organization         Lds Fair Oaks Park Ward Carmichael Stake                Golden Empire Council 047              8267 Deseret Ave                                       Fair Oaks, CA 95628‐2826                                                                   First Class Mail
Chartered Organization         Lds Fair Oaks Ward ‐ La Cantera Stake                   Alamo Area Council 583                 203 Stonegate Rd                                       Boerne, TX 78006‐1819                                                                      First Class Mail
Chartered Organization         Lds Fair Oaks Ward ‐ Tulsa Ok East Stake                Indian Nations Council 488             1701 N Hickory Ave                                     Broken Arrow, OK 74012‐1711                                                                First Class Mail
Chartered Organization         Lds Fair Oaks Ward Oakton Stake                         National Capital Area Council 082      14931 Willard Rd                                       Chantilly, VA 20151                                                                        First Class Mail
Chartered Organization         Lds Fair Oaks Ward Oakton Stake                         National Capital Area Council 082      2719 Hunter Mill Rd                                    Oakton, VA 22124‐1614                                                                      First Class Mail
Chartered Organization         Lds Fairbanks Stake ‐ Badger Road Ward                  Midnight Sun Council 696               331 E 8Th Ave                                          North Pole, AK 99705‐8014                                                                  First Class Mail
Chartered Organization         Lds Fairborn Ward                                       Dayton Ohio E Stake (Does)             3080 Bell Dr                                           Fairborn, OH 45324‐2157                                                                    First Class Mail
Chartered Organization         Lds Fairfax Ward ‐ East Stake                           Pikes Peak Council 060                 8610 Scarborough Dr                                    Colorado Springs, CO 80920‐7566                                                            First Class Mail
Chartered Organization         Lds Fairfax Ward Annandale Stake                        National Capital Area Council 082      11417 Meath Dr                                         Fairfax, VA 22030‐5422                                                                     First Class Mail
Chartered Organization         Lds Fairfield 1St Ward ‐ Fairfield Stake                Mt Diablo‐Silverado Council 023        806 Travis Blvd                                        Fairfield, CA 94533‐5036                                                                   First Class Mail
Chartered Organization         Lds Fairfield 2Nd Ward                                  Layton East Stake                      845 N 1150 E                                           Layton, UT 84040                                                                           First Class Mail
Chartered Organization         Lds Fairfield 2Nd Ward ‐ Fairfield Stake                Mt Diablo‐Silverado Council 023        2700 Camrose Ave                                       Fairfield, CA 94533‐1226                                                                   First Class Mail
Chartered Organization         Lds Fairfield 3Rd Ward ‐ Fairfield Stake                Mt Diablo‐Silverado Council 023        2700 Camrose Ave                                       Fairfield, CA 94533‐1226                                                                   First Class Mail
Chartered Organization         Lds Fairfield Ward ‐ Mesa Az North Stk                  Grand Canyon Council 010               933 E Brown Rd                                         Mesa, AZ 85203                                                                             First Class Mail
Chartered Organization         Lds Fairfield Ward Cincinnati N Stake                   Dan Beard Council, Bsa 438             4831 Pleasant Ave                                      Fairfield, OH 45014                                                                        First Class Mail
Chartered Organization         Lds Fairfield Ward, Great Falls Stake                   Montana Council 315                    P.O. Box 638                                           Fairfield, MT 59436‐0638                                                                   First Class Mail
Chartered Organization         Lds Fairgrounds Ward Keizer Stake                       Cascade Pacific Council 492            570 Madison St Ne                                      Salem, OR 97301‐1403                                                                       First Class Mail
Chartered Organization         Lds Fairmont Ward                                       Twin Valley Council Bsa 283            425 Johnson St                                         Fairmont, MN 56031‐4538                                                                    First Class Mail
Chartered Organization         Lds Fairmont Ward                                       Mountaineer Area 615, Rte 73 N         Fairmont, WV 26554                                                                                                                                First Class Mail
Chartered Organization         Lds Fairoaks Ward/Sandy Ut West Stk                     Great Salt Lake Council 590            586 E 8400 S                                           Sandy, UT 84070                                                                            First Class Mail
Chartered Organization         Lds Fairport Ward Palmyra Stake                         Seneca Waterways 397                   460 Kreag Rd                                           Pittsford, NY 14534‐3733                                                                   First Class Mail
Chartered Organization         Lds Fairview First Ward                                 Utah National Parks 591                122 S State St                                         Fairview, UT 84629                                                                         First Class Mail
Chartered Organization         Lds Fairview Fourth Ward                                Utah National Parks 591                122 S State St                                         Fairview, UT 84629                                                                         First Class Mail
Chartered Organization         Lds Fairview Heights                                    Greater St Louis Area Council 312      9827 Bunkum Rd                                         Fairview Heights, IL 62208‐1114                                                            First Class Mail
Chartered Organization         Lds Fairview Second Ward                                Utah National Parks 591                131 E 100 N                                            Fairview, UT 84629                                                                         First Class Mail
Chartered Organization         Lds Fairview Third Ward                                 Utah National Parks 591                131 E 100 N                                            Fairview, UT 84629                                                                         First Class Mail
Chartered Organization         Lds Fairview Ward                                       Chambersburg Pennsylvania Stake        11887 Mentzer Gap Rd                                   Waynesboro, PA 17268‐9345                                                                  First Class Mail
Chartered Organization         Lds Fairview Ward                                       Chambersburg Pennsylvania Stake        11887 Mentzer Gap Rd                                   Waynesboro, PA 17268‐9345                                                                  First Class Mail
Chartered Organization         Lds Fairview Ward ‐ Gilbert Az                          Williams Field Stake                   3307 S Greenfield Rd                                   Gilbert, AZ 85297                                                                          First Class Mail
Chartered Organization         Lds Fairview Ward ‐ Mer Stk                             Ore‐Ida Council 106 ‐ Bsa 106          988 E Chateau Dr                                       Meridian, ID 83646‐3458                                                                    First Class Mail
Chartered Organization         Lds Fairview Ward Hend Lake Mead Stake                  Las Vegas Area Council 328             303 S Cholla St                                        Henderson, NV 89015‐6121                                                                   First Class Mail
Chartered Organization         Lds Fairway Groves Ward ‐ Mesa Az                       Alta Mesa Stake                        5350 E Mclellan Rd                                     Mesa, AZ 85205‐3410                                                                        First Class Mail
Chartered Organization         Lds Fairway Village Ward                                Vancouver E Stake                      13600 Se Mcgillivray Blvd                              Vancouver, WA 98683                                                                        First Class Mail
Chartered Organization         Lds Fairway Ward                                        Utah National Parks 591                860 N Fairway Dr                                       Washington, UT 84780                                                                       First Class Mail
Chartered Organization         Lds Fairways Ward                                       Frmngtn Ut Oakridge Stake              1533 N 1075 W                                          Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Fairwood Ward Renton Stake                          Chief Seattle Council 609              19714 106Th Ave Se                                     Renton, WA 98055‐7315                                                                      First Class Mail
Chartered Organization         Lds Falcon Hill Ward                                    Sandy Ut Granite S Stake               2130 E Gyrfalcon Dr                                    Sandy, UT 84092                                                                            First Class Mail
Chartered Organization         Lds Falcon Hill Ward ‐ Mesa Az                          Salt River Stake                       1627 N Rowen Cir                                       Mesa, AZ 85207‐4814                                                                        First Class Mail
Chartered Organization         Lds Falcon Park Ward                                    Highlands Ranch Stake                  8150 S Colorado Blvd                                   Littleton, CO 80122‐3600                                                                   First Class Mail
Chartered Organization         Lds Falcon Park Ward                                    Sandy Ut Canyon View Stake             9119 S 1300 E                                          Sandy, UT 84094‐5532                                                                       First Class Mail
Chartered Organization         Lds Falcon Ridge Ward                                   Layton East Stake                      1325 E Cherry Ln                                       Layton, UT 84040                                                                           First Class Mail
Chartered Organization         Lds Falcon Ward ‐ High Plains Stake                     Pikes Peak Council 060                 13210 Bandanero Dr                                     Falcon, CO 80831‐3801                                                                      First Class Mail
Chartered Organization         Lds Faleniu 1St Ward ‐ Pago Mapusaga Stake              Aloha Council, Bsa 104                 P.O. Box 1419                                          Pago Pago, AS 96799‐1419                                                                   First Class Mail
Chartered Organization         Lds Faleniu 2Nd Ward ‐ Pago Mapusaga Stake              Aloha Council, Bsa 104                 P.O. Box 6577                                          Pago Pago, AS 96799‐6285                                                                   First Class Mail
Chartered Organization         Lds Faleniu 3Rd Ward ‐ Pago Mapusaga Stake              Aloha Council, Bsa 104                 Faleniu Ward                                           Pago Pago, AS 96799                                                                        First Class Mail
Chartered Organization         Lds Fall River Ward Anderson Stake                      Golden Empire Council 047              37201 Ontario Ave                                      Burney, CA 96013‐4172                                                                      First Class Mail
Chartered Organization         Lds Falls Church Ward Mclean Stake                      National Capital Area Council 082      2034 Great Falls St                                    Falls Church, VA 22043                                                                     First Class Mail
Chartered Organization         Lds Farm Hill Ward/S L So Cttnwd Stk                    Great Salt Lake Council 590            5235 S Wesley Rd                                       Salt Lake City, UT 84117                                                                   First Class Mail
Chartered Organization         Lds Farmington 11Th Ward                                Frmngtn Ut S Stake                     695 S 200 E                                            Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington 12Th Ward                                Farmington Ut Stake                    347 S 200 W                                            Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington 13Th Ward                                Farmington Ut Stake                    347 S 200 W                                            Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington 14Th Ward                                Farmington Ut Stake                    347 S 200 W                                            Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington 15Th Ward                                Farmington Ut Stake                    347 S 200 W                                            Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington 16Th Ward                                Farmington Ut Stake                    79 S 1525 W                                            Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington 18Th Ward                                Frmngtn Ut S Stake                     1162 S Sunrise Way                                     Farmington, UT 84025‐2089                                                                  First Class Mail
Chartered Organization         Lds Farmington 19Th Ward                                Frmngtn Ut S Stake                     825 S 50 E                                             Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington 1St Ward                                 Farmington Ut Stake                    272 N Main St                                          Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington 23Rd Ward                                Farmington Ut S Stake                  1395 S 200 E                                           Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington 2Nd Ward                                 Frmngtn Ut S Stake                     434 S 500 E                                            Farmington, UT 84025‐3307                                                                  First Class Mail
Chartered Organization         Lds Farmington 3Rd Ward                                 Farmington Ut Stake                    272 N Main St                                          Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington 4Th Ward                                 Frmngtn Ut S Stake                     2110 N Main St                                         Centerville, UT 84014                                                                      First Class Mail
Chartered Organization         Lds Farmington 5Th Ward                                 Farmington Ut Stake                    272 N Main St                                          Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington 6Th Ward                                 Farmington Ut Stake                    79 S 1525 W                                            Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington 7Th Ward                                 Farmington Ut Stake                    79 S 1525 W                                            Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington 9Th Ward                                 Frmngtn Ut S Stake                     695 S 200 E                                            Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington Hills Ward                               Bloomfields Hill Stake                 33900 W 13 Mile Rd                                     Farmington Hills, MI 48331‐2266                                                            First Class Mail
Chartered Organization         Lds Farmington Pointe Ward                              Farmington Ut W Stake                  905 Foxhunter Dr                                       Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington Ranches 1St Ward                         Farmington Ut W Stake                  14 Bonanza Rd                                          Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington Ranches 2Nd Ward                         Farmington Ut W Stake                  79 S 1525 W                                            Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington Ranches 3Rd Ward                         Farmington Ut W Stake                  14 Bonanza Rd                                          Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington Ranches 4Th Ward                         Farmington Ut W Stake                  97 Ranch Rd                                            Farmington, UT 84025‐2651                                                                  First Class Mail
Chartered Organization         Lds Farmington Ranches 5Th Ward                         Farmington Ut W Stake                  14 Bonanza Rd                                          Farmington, UT 84025                                                                       First Class Mail
Chartered Organization         Lds Farmington Ward ‐ Cape Girardeau Stake              Greater St Louis Area Council 312      709 S Henry St                                         Farmington, MO 63640‐1806                                                                  First Class Mail
Chartered Organization         Lds Farmington Ward Bvtn West Stake                     Cascade Pacific Council 492            5175 Sw 209Th Ave                                      Aloha, OR 97007                                                                            First Class Mail
Chartered Organization         Lds Farr West 1St Ward                                  Farr West Poplar Stake                 1800 W 1800 N                                          Farr West, UT 84404                                                                        First Class Mail
Chartered Organization         Lds Farr West 2Nd Ward                                  Farr West Poplar Stake                 2132 W 2700 N                                          Farr West, UT 84404                                                                        First Class Mail
Chartered Organization         Lds Farr West 3Rd Ward                                  Farr West Poplar Stake                 1745 N 2300 W                                          Farr West, UT 84404                                                                        First Class Mail
Chartered Organization         Lds Farr West 7Th Ward                                  Farr West Poplar Stake                 1745 N 2300 W                                          Farr West, UT 84404                                                                        First Class Mail
Chartered Organization         Lds Farr West 8Th Ward                                  Farr West Poplar Stake                 1800 W 1800 N                                          Farr West, UT 84404                                                                        First Class Mail
Chartered Organization         Lds Farragut Knoxville                                  Great Smoky Mountain Council 557       11837 Grigsby Chapel Rd                                Knoxville, TN 37934                                                                        First Class Mail
Chartered Organization         Lds Farson Branch                                       Trapper Trails 589                     4065 N Us Hwy 191                                      Farson, WY 82932‐5044                                                                      First Class Mail
Chartered Organization         Lds Fayette Ward                                        Utah National Parks 591                99 S 100 E                                             Gunnison, UT 84634                                                                         First Class Mail
Chartered Organization         Lds Fayetteville                                        Fayetteville 1St Ward                  3200 Scotty Hill Rd                                    Fayetteville, NC 28303‐3920                                                                First Class Mail
Chartered Organization         Lds Fayetteville                                        Fayetteville 4Th Ward                  3200 Scotty Hill Rd                                    Fayetteville, NC 28303‐3920                                                                First Class Mail
Chartered Organization         Lds Fayetteville Ward 1 Springdale Stake                Westark Area Council 016               1225 E Zion Rd                                         Fayetteville, AR 72703                                                                     First Class Mail
Chartered Organization         Lds Fayetteville Ward 2 Springdale Stake                Westark Area Council 016               1225 E Zion Rd                                         Fayetteville, AR 72703                                                                     First Class Mail
Chartered Organization         Lds Fayetteville Ward Jonesboro Ga Stake                Flint River Council 095                2021 Redwine Rd                                        Fayetteville, GA 30215                                                                     First Class Mail
Chartered Organization         Lds Fayetteville West                                   Fayetteville 3Rd Ward                  6420 Morganton Rd                                      Fayetteville, NC 28314                                                                     First Class Mail
Chartered Organization         Lds Fayetteville West                                   Fort Bragg Ward                        6420 Morganton Rd                                      Fayetteville, NC 28314                                                                     First Class Mail
Chartered Organization         Lds Fayetteville West                                   Southern Pines Ward                    174 Porlock Way                                        Raeford, NC 28376‐9574                                                                     First Class Mail
Chartered Organization         Lds Fayetteville West                                   Anderson Creek Park Ward               3204 Keller Andrews Rd                                 Sanford, NC 27330                                                                          First Class Mail
Chartered Organization         Lds Feather River Ward Yuba City Stake                  Golden Empire Council 047              520 Clark Ave                                          Yuba City, CA 95991‐4820                                                                   First Class Mail
Chartered Organization         Lds Feathering Sands Ward                               Layton Legacy Stake                    752 N 3700 W                                           Layton, UT 84041                                                                           First Class Mail
Chartered Organization         Lds Federal Way Stake‐Dash Point                        Pacific Harbors Council, Bsa 612       31816 47Th Ave Sw                                      Federal Way, WA 98023‐2055                                                                 First Class Mail
Chartered Organization         Lds Federal Way Stake‐Hylebos                           Pacific Harbors Council, Bsa 612       34815 Weyerhaeuser Way S                               Federal Way, WA 98001‐9578                                                                 First Class Mail
Chartered Organization         Lds Federal Way Stake‐Jovita Creek                      Pacific Harbors Council, Bsa 612       34815 Weyerhaeuser Way S                               Federal Way, WA 98001‐9578                                                                 First Class Mail
Chartered Organization         Lds Federal Way Stake‐Lakota                            Pacific Harbors Council, Bsa 612       841 S 308Th St                                         Federal Way, WA 98003‐4705                                                                 First Class Mail
Chartered Organization         Lds Federal Way Stake‐Redondo                           Pacific Harbors Council, Bsa 612       841 S 308Th St                                         Federal Way, WA 98003‐4705                                                                 First Class Mail
Chartered Organization         Lds Federal Way Stake‐Star Lake                         Pacific Harbors Council, Bsa 612       28616 48Th Ave S                                       Auburn, WA 98001‐1134                                                                      First Class Mail
Chartered Organization         Lds Felida Ward Vancouver West Stake                    Cascade Pacific Council 492            13900 Nw 52Nd Ave                                      Vancouver, WA 98685‐1595                                                                   First Class Mail
Chartered Organization         Lds Fenton Ward ‐ South St Louis Stake                  Greater St Louis Area Council 312      1175 Piedras Pkwy                                      Fenton, MO 63026‐7218                                                                      First Class Mail
Chartered Organization         Lds Fern Prairie Ward Vancouver E Stake                 Cascade Pacific Council 492            18300 Ne 18Th St                                       Vancouver, WA 98684                                                                        First Class Mail
Chartered Organization         Lds Ferndale 1St Ward Bellingham Stake                  Mount Baker Council, Bsa 606           2550 Thornton Rd                                       Ferndale, WA 98248                                                                         First Class Mail
Chartered Organization         Lds Ferndale 3Rd Ward Bellingham Stake                  Mount Baker Council, Bsa 606           7178 Everett Rd                                        Ferndale, WA 98248‐9621                                                                    First Class Mail
Chartered Organization         Lds Fernley 1St Ward Fallon North Stake                 Nevada Area Council 329                175 E Cedar St                                         Fernley, NV 89408‐8508                                                                     First Class Mail
Chartered Organization         Lds Fernley 2Nd Ward Fallon North Stake                 Nevada Area Council 329                155 Hwy 95 Alt                                         Fernley, NV 89408                                                                          First Class Mail
Chartered Organization         Lds Ferris Mountain Ward/Laramie Stake                  Longs Peak Council 062                 1215 Lambda Dr                                         Rawlins, WY 82301‐4450                                                                     First Class Mail
Chartered Organization         Lds Ferron Creek Ward                                   Utah National Parks 591                555 S 400 W                                            Ferron, UT 84523‐4513                                                                      First Class Mail
Chartered Organization         Lds Fiddlers Canyon Ward                                Utah National Parks 591                638 E Canyon Center Dr                                 Cedar City, UT 84721                                                                       First Class Mail
Chartered Organization         Lds Fiddlers Creek Ward                                 Holmes Creek Stake                     380 S Fairfield Rd                                     Layton, UT 84041                                                                           First Class Mail
Chartered Organization         Lds Field Crescent Ward/Herriman Ut Stk                 Great Salt Lake Council 590            5246 W Gossamer Way                                    Riverton, UT 84096                                                                         First Class Mail
Chartered Organization         Lds Fieldstone Ward                                     Utah National Parks 591                2668 E Crimson Ridge Dr                                St George, UT 84790                                                                        First Class Mail
Chartered Organization         Lds Fijian Ward Sacramento Stake                        Golden Empire Council 047              7621 18Th St                                           Sacramento, CA 95832‐1145                                                                  First Class Mail
Chartered Organization         Lds Fillmore First Ward                                 Utah National Parks 591                330 E 500 S                                            Fillmore, UT 84631                                                                         First Class Mail
Chartered Organization         Lds Fillmore Fourth Ward                                Utah National Parks 591                330 E 500 S                                            Fillmore, UT 84631                                                                         First Class Mail
Chartered Organization         Lds Fillmore Second Ward                                Utah National Parks 591                21 S 300 W                                             Fillmore, UT 84631                                                                         First Class Mail
Chartered Organization         Lds Fillmore Third Ward                                 Utah National Parks 591                21 S 300 W                                             Fillmore, UT 84631                                                                         First Class Mail
Chartered Organization         Lds Findlay Ward Toledo Ohio Stake                      Black Swamp Area Council 449           6482 County Rd 18                                      Findlay, OH 45840                                                                          First Class Mail
Chartered Organization         Lds Finn Hill Ward Kirkland Stake                       Chief Seattle Council 609              13709 116Th Pl Ne                                      Kirkland, WA 98034‐2153                                                                    First Class Mail
Chartered Organization         Lds Fire Trail Ward Arlington Stake                     Mount Baker Council, Bsa 606           17222 43Rd Ave Ne                                      Arlington, WA 98223‐7892                                                                   First Class Mail
Chartered Organization         Lds First Ward                                          Glaciers Edge Council 620              4505 Regent St                                         Madison, WI 53705                                                                          First Class Mail
Chartered Organization         Lds First Ward ‐ Toledo Stake                           Erie Shores Council 460                1545 Egate Rd                                          Toledo, OH 43614                                                                           First Class Mail
Chartered Organization         Lds First Ward Cincinnati Stake                         Dan Beard Council, Bsa 438             5505 Bosworth Pl                                       Cincinnati, OH 45212‐1203                                                                  First Class Mail
Chartered Organization         Lds First Ward, Winston‐Salem Stake                     Old Hickory Council 427                2780 Wchester Rd                                       Winston Salem, NC 27103                                                                    First Class Mail
Chartered Organization         Lds First Ward, Winston‐Salem Stake                     Old Hickory Council 427                4780 Westchester Rd                                    Winston Salem, NC 27103‐1223                                                               First Class Mail
Chartered Organization         Lds First Ward/Sl Central Stake                         Great Salt Lake Council 590            760 E 700 S                                            Salt Lake City, UT 84102                                                                   First Class Mail
Chartered Organization         Lds Firth Stake ‐ Basalt Ward                           Grand Teton Council 107                823 N 675 E                                            Basalt, ID 83218                                                                           First Class Mail
Chartered Organization         Lds Firth Stake ‐ Firth Ward                            Grand Teton Council 107                744 N 600 E                                            Firth, ID 83236‐1128                                                                       First Class Mail
Chartered Organization         Lds Firth Stake ‐ Goshen Ward                           Grand Teton Council 107                909 E 1000 N                                           Shelley, ID 83274‐5307                                                                     First Class Mail
Chartered Organization         Lds Firth Stake ‐ Kimball Ward                          Grand Teton Council 107                600 E 744 N                                            Firth, ID 83236                                                                            First Class Mail
Chartered Organization         Lds Firth Stake ‐ Presto Ward                           Grand Teton Council 107                Rr 2 Box 209                                           Shelley, ID 83274                                                                          First Class Mail
Chartered Organization         Lds Firth Stake ‐ Riverview Ward                        Grand Teton Council 107                133 S Main                                             Basalt, ID 83218                                                                           First Class Mail
Chartered Organization         Lds Fishers Landing Ward                                Vancouver E Stake                      13600 Se Mcgillivray Blvd                              Vancouver, WA 98684                                                                        First Class Mail
Chartered Organization         Lds Fishhook Ward ‐ Palmer Stake                        Great Alaska Council 610               P.O. Box 3839                                          Palmer, AK 99645‐3839                                                                      First Class Mail
Chartered Organization         Lds Fishing River Ward Far West Stake                   Heart Of America Council 307           202 W 19Th St                                          Kearney, MO 64060                                                                          First Class Mail
Chartered Organization         Lds Five Oaks Ward Cedar Mill Stake                     Cascade Pacific Council 492            955 Nw 173Rd Ave                                       Beaverton, OR 97006‐4008                                                                   First Class Mail
Chartered Organization         Lds Flagler Ward                                        South Florida Council 084              9900 W Flagler St                                      Miami, FL 33174‐1826                                                                       First Class Mail
Chartered Organization         Lds Flamingo Ward Spring Mountain Stake                 Las Vegas Area Council 328             6601 W Twain Ave                                       Las Vegas, NV 89103‐1038                                                                   First Class Mail
Chartered Organization         Lds Fleming Park Ward Kcmo Stake                        Heart Of America Council 307           1416 Sw 19Th St                                        Blue Springs, MO 64015                                                                     First Class Mail
Chartered Organization         Lds Flint Ward ‐ Grand Blanc Stake                      Water And Woods Council 782            1225 Robert T Longway Blvd                             Flint, MI 48503                                                                            First Class Mail
Chartered Organization         Lds Flintridge Ward ‐ Mission Viejo Stake               Orange County Council 039              26176 Antonio Pkwy                                     Rancho Santa Margarita, CA 92688‐6502                                                      First Class Mail
Chartered Organization         Lds Florence Ward ‐ Stv Az Stk                          Grand Canyon Council 010               85 W Van Harren St                                     Florence, AZ 85132                                                                         First Class Mail
Chartered Organization         Lds Florence Ward Coos Bay Stake                        Oregon Trail Council 697               7 Mariners Ln                                          Florence, OR 97439‐8982                                                                    First Class Mail
Chartered Organization         Lds Florence Ward Tupelo Stake                          Greater Alabama Council 001            1828 Broadway Blvd                                     Florence, AL 35630‐1145                                                                    First Class Mail
Chartered Organization         Lds Florida Branch Silver City Stake                    Yucca Council 573                      1000 W Florida St                                      Deming, NM 88030‐4931                                                                      First Class Mail
Chartered Organization         Lds Florin Ward Elk Grove Stake                         Golden Empire Council 047              8580 Florin Rd                                         Sacramento, CA 95828                                                                       First Class Mail
Chartered Organization         Lds Flowell Ward                                        Utah National Parks 591                3785 W 1200 N                                          Fillmore, UT 84631‐5579                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                  Page 208 of 442
                                                                                   Case 20-10343-LSS                                  Doc 8171                                      Filed 01/06/22                                            Page 224 of 457
                                                                                                                                                                       Exhibit B
                                                                                                                                                                        Service List
                                                                                                                                                                 Served as set forth below

        Description                                                         Name                                                                                     Address                                                                                    Email              Method of Service
Chartered Organization         Lds Flower Mound 1St Ward                                  Lewisville Stake                       3882 Quail Run                                            Flower Mound, TX 75022‐5011                                                  First Class Mail
Chartered Organization         Lds Flower Mound 2Nd Ward                                  Lewisville Stake                       3882 Quail Run                                            Flower Mound, TX 75022‐5011                                                  First Class Mail
Chartered Organization         Lds Flower Mound 3Rd Ward                                  Lewisville Stake                       1100 Stapleton Ln                                         Flower Mound, TX 75028                                                       First Class Mail
Chartered Organization         Lds Flower Mound 5Th Ward                                  Lewisville Stake                       3882 Quail Run                                            Flower Mound, TX 75022‐5011                                                  First Class Mail
Chartered Organization         Lds Flowery Branch Ward                                    Sugar Hill Stake                       4735 Cash Rd                                              Flowery Branch, GA 30542                                                     First Class Mail
Chartered Organization         Lds Folsom 2Nd Ward Folsom Stake                           Golden Empire Council 047              116 Bittercreek Dr                                        Folsom, CA 95630‐2315                                                        First Class Mail
Chartered Organization         Lds Folsom 3Rd Ward Folsom Stake                           Golden Empire Council 047              2100 California Cir                                       Rancho Cordova, CA 95742‐6402                                                First Class Mail
Chartered Organization         Lds Folsom 4Th Ward Folsom Stake                           Golden Empire Council 047              89 Scholar Way                                            Folsom, CA 95630                                                             First Class Mail
Chartered Organization         Lds Folsom 5Th Ward Folsom Stake                           Golden Empire Council 047              1918 Swinton Dr                                           Folsom, CA 95630                                                             First Class Mail
Chartered Organization         Lds Folsom 6Th Ward Folsom Stake                           Golden Empire Council 047              2100 California Cir                                       Rancho Cordova, CA 95742‐6402                                                First Class Mail
Chartered Organization         Lds Fond Du Lac Branch                                     Bay‐Lakes Council 635                  347 N Country Ln                                          Fond Du Lac, WI 54935                                                        First Class Mail
Chartered Organization         Lds Foothill 1St Ward/S L Foothill Stk                     Great Salt Lake Council 590            1930 S 2100 E                                             Salt Lake City, UT 84108                                                     First Class Mail
Chartered Organization         Lds Foothill 2Nd Ward/S L Foothill Stake                   Great Salt Lake Council 590            1930 S 2100 E                                             Salt Lake City, UT 84108                                                     First Class Mail
Chartered Organization         Lds Foothill 3Rd Ward/S L Foothill Stk                     Great Salt Lake Council 590            1930 S 2100 E                                             Salt Lake City, UT 84108                                                     First Class Mail
Chartered Organization         Lds Foothill 6Th Ward/S L Foothill Stk                     Great Salt Lake Council 590            2215 E Roosevelt Ave                                      Salt Lake City, UT 84108                                                     First Class Mail
Chartered Organization         Lds Foothill 7Th Ward/S L Foothill Stk                     Great Salt Lake Council 590            2215 E Roosevelt Ave                                      Salt Lake City, UT 84108                                                     First Class Mail
Chartered Organization         Lds Foothill Park Ward                                     Redwood Empire Council 041             11000 Eastside Rd                                         Healdsburg, CA 95448‐9487                                                    First Class Mail
Chartered Organization         Lds Foothill Ranch Ward                                    Santa Margarita Stake                  29441 Altisima                                            Rancho Santa Margarita, CA 92688                                             First Class Mail
Chartered Organization         Lds Foothill Ward                                          Utah National Parks 591                2178 E Grenada Ln                                         Eagle Mountain, UT 84005‐4883                                                First Class Mail
Chartered Organization         Lds Foothill Ward                                          Utah National Parks 591                4475 Wimbledon Dr                                         Provo, UT 84604‐5394                                                         First Class Mail
Chartered Organization         Lds Foothill Ward ‐ Jurupa Stake                           California Inland Empire Council 045   11150 Collett Ave                                         Riverside, CA 92505                                                          First Class Mail
Chartered Organization         Lds Foothill Ward ‐ Mt Rose Stake                          Nevada Area Council 329                4850 Edmonton Dr                                          Reno, NV 89511                                                               First Class Mail
Chartered Organization         Lds Foothill Ward Sac North Stake                          Golden Empire Council 047              5505 Hackberry Ln                                         Sacramento, CA 95841‐2917                                                    First Class Mail
Chartered Organization         Lds Foothill Ward/North Salt Lake Ut Stk                   Great Salt Lake Council 590            4275 Bountiful Blvd                                       Bountiful, UT 84010                                                          First Class Mail
Chartered Organization         Lds Foothillls Ward ‐ Yuma Az Stk                          Grand Canyon Council 010               8451 E 36Th St                                            Yuma, AZ 85365                                                               First Class Mail
Chartered Organization         Lds Foothills Park Ward Marysville Stake                   Mount Baker Council, Bsa 606           5906 70Th Ave Ne                                          Marysville, WA 98270‐8918                                                    First Class Mail
Chartered Organization         Lds Foothills Ward                                         Utah National Parks 591                1748 E 2410 S                                             St George, UT 84790‐8570                                                     First Class Mail
Chartered Organization         Lds Foothills Ward ‐ Glendale Az North Stk                 Grand Canyon Council 010               5250 W Thunderbird Rd                                     Glendale, AZ 85306                                                           First Class Mail
Chartered Organization         Lds Foothills Ward ‐ Tempe Az West Stk                     Grand Canyon Council 010               2955 E Frye Rd                                            Phoenix, AZ 85048                                                            First Class Mail
Chartered Organization         Lds Foothills Ward (Salem)                                 Utah National Parks 591                1266 E Davis Dr                                           Salem, UT 84653                                                              First Class Mail
Chartered Organization         Lds Foothills Ward Red Rock Stake                          Las Vegas Area Council 328             7800 W Alta Dr                                            Las Vegas, NV 89145                                                          First Class Mail
Chartered Organization         Lds Foothills Ward, Castle Rock Stake                      Denver Area Council 061                3301 Meadows Blvd                                         Castle Rock, CO 80109                                                        First Class Mail
Chartered Organization         Lds Foothills Ward, Golden Stake                           Denver Area Council 061                610 Coors St                                              Lakewood, CO 80401‐4676                                                      First Class Mail
Chartered Organization         Lds Foothills Ward/Herriman Ut Stk                         Great Salt Lake Council 590            5246 W Gossamer Way                                       Riverton, UT 84096                                                           First Class Mail
Chartered Organization         Lds Foremaster Ridge Ward                                  Utah National Parks 591                620 S Five Sisters Dr                                     St George, UT 84790‐4048                                                     First Class Mail
Chartered Organization         Lds Forest Bend Ward                                       Sandy Ut Cottonwood Creek Stake        7784 Highland Dr                                          Salt Lake City, UT 84121                                                     First Class Mail
Chartered Organization         Lds Forest Dale 1St Ward/S L Granite Stk                   Great Salt Lake Council 590            739 E Ashton Ave                                          Salt Lake City, UT 84106                                                     First Class Mail
Chartered Organization         Lds Forest Green Ward                                      Weber Heights Stake                    1401 Country Hills Dr                                     Ogden, UT 84403                                                              First Class Mail
Chartered Organization         Lds Forest Grove 1st Ward                                  Forest Grove Stake                     2700 Leon Dr                                              Forest Grove, OR 97116‐1364                                                  First Class Mail
Chartered Organization         Lds Forest Grove Second Ward                               Forest Grove Stake                     3661 Brooke St                                            Forest Grove, OR 97116‐3050                                                  First Class Mail
Chartered Organization         Lds Forest Hills Ward                                      Brigham City Stake                     25 N 300 E                                                Brigham City, UT 84302‐2213                                                  First Class Mail
Chartered Organization         Lds Forest Hills Ward                                      Valley View Stake                      1589 E Gentile St                                         Layton, UT 84040                                                             First Class Mail
Chartered Organization         Lds Forest Home Ward Vancouver E Stake                     Cascade Pacific Council 492            2356 Nw 17Th Ave                                          Camas, WA 98607‐4103                                                         First Class Mail
Chartered Organization         Lds Forest Park Ward                                       Layton North Stake                     2250 E 2200 N                                             Layton, UT 84040                                                             First Class Mail
Chartered Organization         Lds Forest Ridge Ward                                      Layton North Stake                     1954 E Antelope Dr                                        Layton, UT 84040                                                             First Class Mail
Chartered Organization         Lds Forest Ridge Ward ‐ Tulsa Ok E Stake                   Indian Nations Council 488             1701 N Hickory Ave                                        Broken Arrow, OK 74012‐1711                                                  First Class Mail
Chartered Organization         Lds Foresthill Branch Auburn Stake                         Golden Empire Council 047              20895 Todd Valley Rd                                      Foresthill, CA 95631                                                         First Class Mail
Chartered Organization         Lds Forks Ward Port Angeles Stake                          Chief Seattle Council 609              853 Robin Hood Loop                                       Forks, WA 98331‐9108                                                         First Class Mail
Chartered Organization         Lds Forney Ward                                            Dallas Texas East Stake                8200 Fm 741                                               Forney, TX 75126‐7863                                                        First Class Mail
Chartered Organization         Lds Forster Ranch Ward                                     San Clemente Stake                     470 Camino San Clemente                                   San Clemente, CA 92672‐3706                                                  First Class Mail
Chartered Organization         Lds Fort Belvoir Ward Mount Vernon Stake                   National Capital Area Council 082      2000 George Washington Pkwy                               Alexandria, VA 22308                                                         First Class Mail
Chartered Organization         Lds Fort Benton Br, Great Falls E Stake                    Montana Council 315                    2201 St Charles St                                        Fort Benton, MT 59442                                                        First Class Mail
Chartered Organization         Lds Fort Bragg Ward                                        Redwood Empire Council 041             355 S Lincoln St                                          Fort Bragg, CA 95437‐4415                                                    First Class Mail
Chartered Organization         Lds Fort Chiswell Ward                                     Pembroke Stake                         1136 Fort Chiswell Rd                                     Max Meadows, VA 24360                                                        First Class Mail
Chartered Organization         Lds Fort Dodge Ward Ames Stake                             Mid‐America Council 326                1426 N 32Nd St                                            Fort Dodge, IA 50501                                                         First Class Mail
Chartered Organization         Lds Fort Lauderdale 1St Ward                               South Florida Council 084              851 Nw 112Th Ave                                          Plantation, FL 33325‐1503                                                    First Class Mail
Chartered Organization         Lds Fort Midway Ward                                       Utah National Parks 591                1102 S Center St                                          Midway, UT 84049                                                             First Class Mail
Chartered Organization         Lds Fort Mill Ward\Charlotte South Stake                   Palmetto Council 549                   Reservation Rd                                            Rock Hill, SC 29730                                                          First Class Mail
Chartered Organization         Lds Fort Myers Ward Fort Myers Stake                       Southwest Florida Council 088          3501 Broadway                                             Fort Myers, FL 33901                                                         First Class Mail
Chartered Organization         Lds Fort Smith Ward, Fort Smith Stake                      Westark Area Council 016               8712 Horan Dr                                             Fort Smith, AR 72903‐4360                                                    First Class Mail
Chartered Organization         Lds Fortuna Ward ‐ Eureka Stake                            Crater Lake Council 491                1444 Ross Hill Rd                                         Fortuna, CA 95540                                                            First Class Mail
Chartered Organization         Lds Fortuna Ward/Sl Mt Olympus Stk                         Great Salt Lake Council 590            4407 Fortuna Way                                          Salt Lake City, UT 84124                                                     First Class Mail
Chartered Organization         Lds Fossil Ridge Ward                                      Fort Worth North Stake                 7600 N Beach St                                           Fort Worth, TX 76137                                                         First Class Mail
Chartered Organization         Lds Foster Hills First Ward                                Utah National Parks 591                259 N Mall Dr                                             St George, UT 84790                                                          First Class Mail
Chartered Organization         Lds Founders Park 1St Ward                                 Sj Ut Founders Park Stake              11750 S Kestrel Rise Rd                                   South Jordan, UT 84095                                                       First Class Mail
Chartered Organization         Lds Founders Park 4Th Ward                                 Sj Ut Founders Park Stake              11685 S Kestrel Rise Rd                                   South Jordan, UT 84009                                                       First Class Mail
Chartered Organization         Lds Founders Park 5Th Ward                                 Sj Ut Founders Park Stake              11685 S Kestrel Rise Rd                                   South Jordan, UT 84009                                                       First Class Mail
Chartered Organization         Lds Founders Park 7Th Ward                                 Sj Ut Founders Park Stake              11677 Grandville Ave                                      South Jordan, UT 84009                                                       First Class Mail
Chartered Organization         Lds Founders Park 8Th Ward                                 Sj Ut Founders Park Stake              11677 Grandville Ave                                      South Jordan, UT 84095                                                       First Class Mail
Chartered Organization         Lds Founders Park Ward ‐ Qc Az Central Stk                 Grand Canyon Council 010               21129 E Via Del Oro                                       Queen Creek, AZ 85142‐6969                                                   First Class Mail
Chartered Organization         Lds Founders Ward, Castle Rock Stake                       Denver Area Council 061                950 Plum Creek Blvd                                       Castle Rock, CO 80104‐2739                                                   First Class Mail
Chartered Organization         Lds Fountain Green First Ward                              Utah National Parks 591                P.O. Box 401                                              Fountain Green, UT 84632‐0401                                                First Class Mail
Chartered Organization         Lds Fountain Green Second Ward                             Utah National Parks 591                151 S 200 W                                               Fountain Green, UT 84632                                                     First Class Mail
Chartered Organization         Lds Fountain Green Third Ward                              Utah National Parks 591                P.O. Box 127                                              Fountain Green, UT 84632‐0127                                                First Class Mail
Chartered Organization         Lds Fountain Hills Ward ‐ Scottsdale Az                    North Stake                            15507 E Bainbridge Ave                                    Fountain Hills, AZ 85268                                                     First Class Mail
Chartered Organization         Lds Fountain Valley Ward ‐ Fountain Stake                  Pikes Peak Council 060                 325 Putnam Dr                                             Colorado Springs, CO 80911‐3574                                              First Class Mail
Chartered Organization         Lds Fountaine Claire Ward                                  Wj Ut Bingham Creek Stake              1465 W Bristol Ridge Rd                                   West Jordan, UT 84088                                                        First Class Mail
Chartered Organization         Lds Fountainebleau Ward                                    South Florida Council 084              9900 W Flagler St                                         Miami, FL 33174‐1826                                                         First Class Mail
Chartered Organization         Lds Fountains Ward Green Valley Stake                      Las Vegas Area Council 328             410 N Valle Verde Dr                                      Henderson, NV 89014                                                          First Class Mail
Chartered Organization         Lds Four Corners Ward Salem Stake                          Cascade Pacific Council 492            2530 Boone Rd Se                                          Salem, OR 97306‐9675                                                         First Class Mail
Chartered Organization         Lds Fourth Ward                                            Glaciers Edge Council 620              701 Bear Claw Way                                         Madison, WI 53717                                                            First Class Mail
Chartered Organization         Lds Fox Den Ward                                           Utah National Parks 591                195 S 80 E                                                Midway, UT 84049‐6618                                                        First Class Mail
Chartered Organization         Lds Fox Hill Ward/North Salt Lake Ut Stk                   Great Salt Lake Council 590            200 S Eagle Ridge Dr                                      North Salt Lake, UT 84054                                                    First Class Mail
Chartered Organization         Lds Fox Hills Ward/Kearns Ut South Stk                     Great Salt Lake Council 590            3730 W 6200 S                                             Salt Lake City, UT 84129                                                     First Class Mail
Chartered Organization         Lds Fox Hollow Ward                                        Utah National Parks 591                2858 S Village Court Rd                                   Saratoga Springs, UT 84045‐5454                                              First Class Mail
Chartered Organization         Lds Fox Hollow Ward, Arapahoe Stake                        Denver Area Council 061                21750 E Dorado Ave                                        Aurora, CO 80015‐3576                                                        First Class Mail
Chartered Organization         Lds Fox Pointe Ward                                        Utah National Parks 591                2967 S Fox Pointe Dr                                      Saratoga Springs, UT 84045‐6008                                              First Class Mail
Chartered Organization         Lds Fox Pointe Ward                                        Wj Ut Bingham Creek Stake              1465 W Bristol Ridge Rd                                   West Jordan, UT 84088                                                        First Class Mail
Chartered Organization         Lds Fox Run Ward, Denver North Stake                       Denver Area Council 061                3501 Summit Grove Pkwy                                    Thornton, CO 80241                                                           First Class Mail
Chartered Organization         Lds Foxboro 1St Ward                                       Blackstone Vly Stake                   91 Jordan Rd                                              Franklin, MA 02038‐1255                                                      First Class Mail
Chartered Organization         Lds Foxboro 1St Ward                                       North S L Legacy Stake                 875 W Foxboro Dr                                          North Salt Lake, UT 84054                                                    First Class Mail
Chartered Organization         Lds Foxboro 2Nd Ward                                       North S L Ut Legacy Stake              776 Durham Dr                                             North Salt Lake, UT 84054‐6000                                               First Class Mail
Chartered Organization         Lds Foxboro 3Rd Ward                                       North S L Legacy Stake                 875 W Foxboro Dr                                          North Salt Lake, UT 84054                                                    First Class Mail
Chartered Organization         Lds Foxboro 4Th Ward                                       North Sl Ut Legacy Stake               945 W 1100 N                                              North Salt Lake, UT 84054                                                    First Class Mail
Chartered Organization         Lds Foxboro 5Th Ward                                       North S L Ut Legacy Stake              954 W 1100 N                                              North Salt Lake, UT 84054                                                    First Class Mail
Chartered Organization         Lds Foxboro 6Th Ward                                       North S L Ut Legacy Stake              1847 W 2180 S                                             Woods Cross, UT 84087                                                        First Class Mail
Chartered Organization         Lds Foxboro 7Th Ward                                       Nsl Utah Legacy Stake                  954 W 1100 N                                              North Salt Lake, UT 84054                                                    First Class Mail
Chartered Organization         Lds Foxboro 8Th Ward                                       North Sl Ut Legacy Stake               1450 W 2175 S                                             Woods Cross, UT 84087                                                        First Class Mail
Chartered Organization         Lds Foxboro 9Th Ward                                       North Salt Lake Ut Legacy Stake        1509 W 1500 S                                             Woods Cross, UT 84087                                                        First Class Mail
Chartered Organization         Lds Foxboro Ward Blackstone Valley Stake                   Mayflower Council 251                  91 Jordan Rd                                              Franklin, MA 02038‐1255                                                      First Class Mail
Chartered Organization         Lds Foxcroft Ward ‐ Paducah Ky Stake                       Greater St Louis Area Council 312      17947 Rte 37                                              Johnston City, IL 62951                                                      First Class Mail
Chartered Organization         Lds Foxwood Ward                                           Utah National Parks 591                7288 N Ute Dr                                             Eagle Mountain, UT 84005                                                     First Class Mail
Chartered Organization         Lds Francis 1St Ward/Kamas Ut Stk                          Great Salt Lake Council 590            387 W Last Frontier Ln                                    Francis, UT 84036                                                            First Class Mail
Chartered Organization         Lds Francis 2Nd Ward/Kamas Ut Stk                          Great Salt Lake Council 590            387 W Last Frontier Ln                                    Francis, UT 84036                                                            First Class Mail
Chartered Organization         Lds Francis Peak Ward                                      Deseret Mill Stake                     200 N 1275 W Flint St                                     Kaysville, UT 84037                                                          First Class Mail
Chartered Organization         Lds Francisco Park Ward Paradise Stake                     Las Vegas Area Council 328             3531 Maricopa Way                                         Las Vegas, NV 89169‐3173                                                     First Class Mail
Chartered Organization         Lds Franconia Ward Mt Vernon Stake                         National Capital Area Council 082      6219 Villa St                                             Alexandria, VA 22310‐1725                                                    First Class Mail
Chartered Organization         Lds Franklin 2Nd Br                                        Blackstone Valley Stake                91 Jordan Rd                                              Franklin, MA 02038‐1255                                                      First Class Mail
Chartered Organization         Lds Franklin Second Ward                                   (Native American)                      835 S 500 W                                               Provo, UT 84601                                                              First Class Mail
Chartered Organization         Lds Franklin Ward                                          Utah National Parks 591                776 W 200 S                                               Provo, UT 84601‐4005                                                         First Class Mail
Chartered Organization         Lds Franklin Ward ‐ Boise Central Stk                      Ore‐Ida Council 106 ‐ Bsa 106          11084 W Sandhurst Dr                                      Boise, ID 83709‐0173                                                         First Class Mail
Chartered Organization         Lds Franklin Ward Oakton Stake                             National Capital Area Council 082      3825 Willow Glen Dr                                       Oak Hill, VA 20171                                                           First Class Mail
Chartered Organization         Lds Fraser Ward ‐ Mesa Az North Stk                        Grand Canyon Council 010               48 N Fraser Dr E                                          Mesa, AZ 85203‐8810                                                          First Class Mail
Chartered Organization         Lds Frederick Ward Frederick Stake                         National Capital Area Council 082      1811 Latham Dr                                            Frederick, MD 21701‐9394                                                     First Class Mail
Chartered Organization         Lds Fredericksburg Ward                                    Fredericksburg Stake                   1710 Bragg Rd                                             Fredericksburg, VA 22407‐4924                                                First Class Mail
Chartered Organization         Lds Fredonia First Ward                                    Utah National Parks 591                P.O. Box 460                                              Fredonia, AZ 86022‐0460                                                      First Class Mail
Chartered Organization         Lds Fredonia Second Ward                                   Utah National Parks 591                P.O. Box 1166                                             Fredonia, AZ 86022‐1166                                                      First Class Mail
Chartered Organization         Lds Freedom Fifth Ward                                     Utah National Parks 591                225 E 400 S                                               Provo, UT 84606‐4635                                                         First Class Mail
Chartered Organization         Lds Freedom First Ward                                     Utah National Parks 591                888 S Freedom Blvd                                        Provo, UT 84601‐5810                                                         First Class Mail
Chartered Organization         Lds Freedom Fourth Ward                                    Utah National Parks 591                410 W 700 S                                               Provo, UT 84601‐5815                                                         First Class Mail
Chartered Organization         Lds Freedom Park Ward Central Stake                        Las Vegas Area Council 328             1101 N Pecos                                              Las Vegas, NV 89101                                                          First Class Mail
Chartered Organization         Lds Freedom Second Ward                                    Utah National Parks 591                888 S Freedom Blvd                                        Provo, UT 84601‐5810                                                         First Class Mail
Chartered Organization         Lds Freedom Third Ward (Spanish)                           Utah National Parks 591                424 W 1200 S                                              Provo, UT 84601‐5924                                                         First Class Mail
Chartered Organization         Lds Freemont Springs Ward                                  Utah National Parks 591                7241 N Ute Dr                                             Eagle Mountain, UT 84005                                                     First Class Mail
Chartered Organization         Lds Freeport Branch                                        Clearfield South Stake                 1895 S Main St                                            Clearfield, UT 84015                                                         First Class Mail
Chartered Organization         Lds Freestone Park Ward ‐ Gilbert Az Stk                   Grand Canyon Council 010               1426 E Park Ave                                           Gilbert, AZ 85234‐1000                                                       First Class Mail
Chartered Organization         Lds Fremont Branch                                         President Gerald R Ford 781            5925 W South River Dr                                     Grant, MI 49327‐7700                                                         First Class Mail
Chartered Organization         Lds Fremont Hill Ward ‐ Mesa Az                            Salt River Stake                       6942 E Brown Rd                                           Mesa, AZ 85207                                                               First Class Mail
Chartered Organization         Lds Fremont Ward                                           Utah National Parks 591                24 S 100 W                                                Fremont, UT 84747                                                            First Class Mail
Chartered Organization         Lds Fremont Ward Omaha Stake                               Mid‐America Council 326                1160 N Garden City Rd                                     Fremont, NE 68025‐4510                                                       First Class Mail
Chartered Organization         Lds French Creek Ward, Parker S Stake                      Denver Area Council 061                17910 French Creek Ave                                    Parker, CO 80134                                                             First Class Mail
Chartered Organization         Lds French Valley Ward ‐ Temecula Stake                    California Inland Empire Council 045   32374 Pauba Rd                                            Temecula, CA 92592                                                           First Class Mail
Chartered Organization         Lds Frenchtown Ward, Missoula Stake                        Montana Council 315                    P.O. Box 723                                              Frenchtown, MT 59834‐0723                                                    First Class Mail
Chartered Organization         Lds Frisco 2Nd Wrd                                         Frisco Tx Shawnee Trl Stake            10400 Legacy Dr                                           Frisco, TX 75033‐1334                                                        First Class Mail
Chartered Organization         Lds Frisco Ward/Rifle Stake                                Denver Area Council 061                161 Forest Dr                                             Frisco, CO 80443                                                             First Class Mail
Chartered Organization         Lds Frmgtn Crossing Ward                                   Farmington Ut Oakridge Stake           2230 S 350 E                                              Kaysville, UT 84037‐4067                                                     First Class Mail
Chartered Organization         Lds Front Range Ward, Golden Stake                         Denver Area Council 061                7645 Malamute Dr                                          Evergreen, CO 80439                                                          First Class Mail
Chartered Organization         Lds Front Royal Ward                                       Winchester, Va Stake                   7145 Browntown Rd                                         Front Royal, VA 22630                                                        First Class Mail
Chartered Organization         Lds Frontenac Ward ‐ St Louis Stake                        Greater St Louis Area Council 312      10445 Clayton Rd                                          St Louis, MO 63131‐2909                                                      First Class Mail
Chartered Organization         Lds Frontier Ward ‐ Meridian E Stk                         Ore‐Ida Council 106 ‐ Bsa 106          11918 W Ustick Rd                                         Boise, ID 83713                                                              First Class Mail
Chartered Organization         Lds Fruit Heights 10Th Ward                                Fruit Heights Stake                    901 So Mountain Rd                                        Fruit Heights, UT 84037                                                      First Class Mail
Chartered Organization         Lds Fruit Heights 1St Ward                                 Fruit Heights Stake                    901 S Mountain Rd                                         Fruit Heights, UT 84037                                                      First Class Mail
Chartered Organization         Lds Fruit Heights 2Nd Ward                                 Fruit Heights Stake                    77 S 1325 E                                               Fruit Heights, UT 84037                                                      First Class Mail
Chartered Organization         Lds Fruit Heights 3Rd Ward                                 Fruit Heights Stake                    170 N Mountain Rd                                         Fruit Heights, UT 84037                                                      First Class Mail
Chartered Organization         Lds Fruit Heights 4Th Ward                                 Fruit Heights Stake                    24 S Country Ln                                           Fruit Heights, UT 84037                                                      First Class Mail
Chartered Organization         Lds Fruit Heights 5Th Ward                                 Fruit Heights Stake                    24 S Country Ln                                           Fruit Heights, UT 84037                                                      First Class Mail
Chartered Organization         Lds Fruit Heights 6Th Ward                                 Fruit Heights Stake                    77 So Orchard Dr                                          Fruit Heights, UT 84037                                                      First Class Mail
Chartered Organization         Lds Fruit Heights 7Th Ward                                 Fruit Heights Stake                    24 S Country Ln                                           Fruit Heights, UT 84037                                                      First Class Mail
Chartered Organization         Lds Fruit Heights 8Th Ward                                 Fruit Heights Stake                    170 N Mountain Rd                                         Fruit Heights, UT 84037                                                      First Class Mail
Chartered Organization         Lds Fruit Heights 9Th Ward                                 Fruit Heights Stake                    901 S Mountain Rd                                         Fruit Heights, UT 84037                                                      First Class Mail
Chartered Organization         Lds Fruita 1St Ward                                        Grand Junction West Stake              343 E Ottley Ave                                          Fruita, CO 81521‐2234                                                        First Class Mail
Chartered Organization         Lds Fruita 2Nd Ward                                        Grand Junction West Stake              343 E Ottley Ave                                          Fruita, CO 81521‐2234                                                        First Class Mail
Chartered Organization         Lds Fruita 3Rd Ward                                        Grand Junction West Stake              343 E Ottley Ave                                          Fruita, CO 81521‐2234                                                        First Class Mail
Chartered Organization         Lds Fruita 4Th Ward                                        Grand Junction West Stake              2235 Kingston Rd                                          Grand Junction, CO 81507‐1208                                                First Class Mail
Chartered Organization         Lds Fruitland 1St Ward ‐ Ontario Stk                       Ore‐Ida Council 106 ‐ Bsa 106          320 N Pennsylvania Ave                                    Fruitland, ID 83619                                                          First Class Mail
Chartered Organization         Lds Fruitland 2Nd Ward ‐ Ontario Stk                       Ore‐Ida Council 106 ‐ Bsa 106          320 N Pennsylvania Ave                                    Fruitland, ID 83619                                                          First Class Mail
Chartered Organization         Lds Fruitland 3Rd Ward ‐ Ontario Stk                       Ore‐Ida Council 106 ‐ Bsa 106          320 N Pennsylvania Ave                                    Fruitland, ID 83619                                                          First Class Mail
Chartered Organization         Lds Fruitland 4Th Ward ‐ Ontario Stk                       Ore‐Ida Council 106 ‐ Bsa 106          4973 Eagleview Ct                                         Fruitland, ID 83619‐5001                                                     First Class Mail
Chartered Organization         Lds Fruitland Acres Ward                                   River Heights Stake                    465 N 300 E                                               Providence, UT 84332‐9615                                                    First Class Mail
Chartered Organization         Lds Fruitland Branch                                       Utah National Parks 591                Hc 63 Box 270106                                          Fruitland, UT 84027‐2702                                                     First Class Mail
Chartered Organization         Lds Fruitvale Ward ‐ Hemet Stake                           California Inland Empire Council 045   425 N Kirby St                                            Hemet, CA 92545‐3633                                                         First Class Mail
Chartered Organization         Lds Fruitvale Ward/Grand Junction Stake                    Denver Area Council 061                543 Melody Ln                                             Grand Junction, CO 81501‐7139                                                First Class Mail
Chartered Organization         Lds Ft Bliss Military Ward Chamizal Stk                    Yucca Council 573                      11965 Sgt Mckibben Ct                                     El Paso, TX 79908‐3244                                                       First Class Mail
Chartered Organization         Lds Ft Irwin Ward ‐ Victorville Stake                      California Inland Empire Council 045   12860 Amethyst Rd                                         Victorville, CA 92392                                                        First Class Mail
Chartered Organization         Lds Ft Lauderdale 2Nd Ward                                 South Florida Council 084              1100 Sw 15Th Ave                                          Fort Lauderdale, FL 33312‐7236                                               First Class Mail
Chartered Organization         Lds Ft Lupton Ward, Brighton Stake                         Denver Area Council 061                1454 Myrtle St                                            Brighton, CO 80601‐1922                                                      First Class Mail
Chartered Organization         Lds Ft Meade Ward 78298                                    Baltimore Area Council 220             528 Higgins Dr                                            Odenton, MD 21113‐2041                                                       First Class Mail
Chartered Organization         Lds Ft Thomas Ward ‐ Pima Stake                            Grand Canyon Council 010               13985 W Hwy 70                                            Fort Thomas, AZ 85536                                                        First Class Mail
Chartered Organization         Lds Ft Walton 2Nd Ward                                     Gulf Coast Council 773                 339 Lake Dr Nw                                            Ft Walton Bch, FL 32548‐4175                                                 First Class Mail
Chartered Organization         Lds Ft Walton Bch 2Nd Ward                                 Gulf Coast Council 773                 339 Lake Dr Nw                                            Ft Walton Bch, FL 32548‐4175                                                 First Class Mail
Chartered Organization         Lds Ft Walton First Ward                                   Gulf Coast Council 773                 339 Lake Dr Nw                                            Fort Walton Beach, FL 32548‐4175                                             First Class Mail
Chartered Organization         Lds Ft Walton First Ward                                   Gulf Coast Council 773                 339 Lake Dr Nw                                            Fort Walton Beach, FL 32548‐4175                                             First Class Mail
Chartered Organization         Lds Fulton Ward                                            Lincoln Heritage Council 205           501 Wells Ave                                             Fulton, KY 42041                                                             First Class Mail
Chartered Organization         Lds Fulton Ward ‐ Columbia Stake                           Great Rivers Council 653               1603 Kingswood Dr                                         Fulton, MO 65251                                                             First Class Mail
Chartered Organization         Lds Futenma Branch                                         Far E Council 803                      Camp Foster Marine Base                                   FPO, AP 96379                                                                First Class Mail
Chartered Organization         Lds Futenma Servicemens Branch                             Far E Council 803                      Camp Foster Marine Corps Base                             Okinawa                            Fpo, Ap 96379                             First Class Mail
Chartered Organization         Lds Gaarde Ward Tualatin Stake                             Cascade Pacific Council 492            13788 Sw Fernridge Ter                                    Tigard, OR 97223‐1766                                                        First Class Mail
Chartered Organization         Lds Gaffney Ward\Greenville, Sc E Stake                    Palmetto Council 549                   701 W Buford St                                           Gaffney, SC 29341‐1707                                                       First Class Mail
Chartered Organization         Lds Gahanna Ward Cols South Stake                          Simon Kenton Council 441               2135 Baldwin Rd                                           Reynoldsburg, OH 43068‐3630                                                  First Class Mail
Chartered Organization         Lds Gailey Park Ward                                       Kaysville Central Stake                331 S 50 W                                                Kaysville, UT 84037                                                          First Class Mail
Chartered Organization         Lds Gainesville Ward ‐ Denton Stake                        Longhorn Council 662                   1703 W California St                                      Gainesville, TX 76240                                                        First Class Mail
Chartered Organization         Lds Gainesville Ward ‐ Sugar Hill Stake                    Northeast Georgia Council 101          1234 Riverside Dr                                         Gainesville, GA 30501‐1830                                                   First Class Mail
Chartered Organization         Lds Gainesville Ward ‐ Sugar Hill Stake                    Northeast Georgia Council 101          1234 Riverside Dr                                         Gainesville, GA 30501‐1830                                                   First Class Mail
Chartered Organization         Lds Gainesville Ward Gainesville Stake                     National Capital Area Council 082      14015 Glenkirk Rd                                         Gainesville, VA 20155                                                        First Class Mail
Chartered Organization         Lds Gaithersburg 1St Ward Seneca Stake                     National Capital Area Council 082      20020 Montgomery Village Ave                              Gaithersburg, MD 20886                                                       First Class Mail
Chartered Organization         Lds Gaithersburg 2Nd Ward Seneca Stake                     National Capital Area Council 082      20020 Montgomery Village Ave                              Montgomery Village Ave, MD 20886                                             First Class Mail
Chartered Organization         Lds Galena (Spanish) Branch                                Sandy Ut Central Stake                 9824 S Flint Dr                                           Sandy, UT 84094                                                              First Class Mail
Chartered Organization         Lds Galena Park Ward                                       Summerwood Stake                       14404 Kemrock Dr                                          Houston, TX 77049‐4208                                                       First Class Mail
Chartered Organization         Lds Galena Ward ‐ Mt Rose Stake                            Nevada Area Council 329                4850 Edmonton Dr                                          Reno, NV 89509                                                               First Class Mail
Chartered Organization         Lds Galesburg Ward ‐ Peoria Stake                          Illowa Council 133                     1977 E Fremont St                                         Galesburg, IL 61401‐3156                                                     First Class Mail
Chartered Organization         Lds Galt 2Nd Ward Lodi Stake                               Greater Yosemite Council 059           972 Vintage Oak Ave                                       Galt, CA 95632‐3061                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                        Page 209 of 442
                                                                                Case 20-10343-LSS                               Doc 8171                                      Filed 01/06/22                                              Page 225 of 457
                                                                                                                                                                 Exhibit B
                                                                                                                                                                  Service List
                                                                                                                                                           Served as set forth below

        Description                                                      Name                                                                                  Address                                                                                              Email              Method of Service
Chartered Organization         Lds Galt Ward Lodi Stake                                Greater Yosemite Council 059        972 Vintage Oak Ave                                       Galt, CA 95632‐3061                                                                    First Class Mail
Chartered Organization         Lds Galveston 2Nd Ward ‐ Chandler Az                    West Stake                          1950 W Galveston St                                       Chandler, AZ 85224                                                                     First Class Mail
Chartered Organization         Lds Galveston 3Rd Ward ‐ Chandler Az                    West Stake                          1950 W Galveston                                          Chandler, AZ 85224                                                                     First Class Mail
Chartered Organization         Lds Game Farm Ward Auburn Stake                         Chief Seattle Council 609           1820 F St Se                                              Auburn, WA 98002‐6854                                                                  First Class Mail
Chartered Organization         Lds Garden Cove Ward                                    W J Ut Bingham Creek Stake          1945 W 9000 S                                             West Jordan, UT 84088                                                                  First Class Mail
Chartered Organization         Lds Garden Grove 12Th Br                                Garden Grove Stake                  10332 Bolsa Ave                                           Westminster, CA 92683‐6718                                                             First Class Mail
Chartered Organization         Lds Garden Grove 1St Ward                               Garden Grove Stake                  10332 Bolsa Ave                                           Westminster, CA 92683‐6718                                                             First Class Mail
Chartered Organization         Lds Garden Heights North Ward                           S L Wilford Stake                   2220 E Fisher Ln                                          Salt Lake City, UT 84109                                                               First Class Mail
Chartered Organization         Lds Garden Heights South Ward                           S L Wilford Stake                   2220 E Fisher Ln                                          Salt Lake City, UT 84109                                                               First Class Mail
Chartered Organization         Lds Garden Heights Ward/S L Wilford Stk                 Great Salt Lake Council 590         2220 E Fisher Ln                                          Salt Lake City, UT 84109                                                               First Class Mail
Chartered Organization         Lds Garden Lakes Ward ‐ Phoenix Az                      W Maricopa Stake                    10930 W Garden Lakes Pkwy                                 Avondale, AZ 85392                                                                     First Class Mail
Chartered Organization         Lds Garden Park 1St Ward                                Sj Ut Garden Park Stake             11543 S Keystone Dr                                       South Jordan, UT 84009‐8137                                                            First Class Mail
Chartered Organization         Lds Garden Park 2Nd Ward                                Sj Ut Garden Park Stake             11543 S Keystone Dr                                       South Jordan, UT 84009‐8137                                                            First Class Mail
Chartered Organization         Lds Garden Park 3Rd Ward                                Sj Ut Garden Park Stake             11543 S Keystone Dr                                       South Jordan, UT 84009‐8137                                                            First Class Mail
Chartered Organization         Lds Garden Park 4Th Ward                                Sj Ut Garden Park Stake             11677 Grandville Ave                                      South Jordan, UT 84009                                                                 First Class Mail
Chartered Organization         Lds Garden Park 5Th Ward                                Sj Ut Garden Park Stake             10580 S 5060 W                                            South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Garden Park 6Th Ward                                Sj Ut Garden Park Stake             11685 S Kestrel Rise Rd (4510                             South Jordan, UT 84009                                                                 First Class Mail
Chartered Organization         Lds Garden Park Ward                                    Utah National Parks 591             40 E Midvalley Rd                                         Enoch, UT 84721                                                                        First Class Mail
Chartered Organization         Lds Garden Park Ward/S L Bonneville Stk                 Great Salt Lake Council 590         1150 E Yale Ave                                           Salt Lake City, UT 84105                                                               First Class Mail
Chartered Organization         Lds Garden Ridge Ward ‐ Cibolo Vly Stake                Alamo Area Council 583              15200 Judson Rd                                           San Antonio, TX 78247‐1356                                                             First Class Mail
Chartered Organization         Lds Garden Valley Branch ‐ Emmett Stk                   Ore‐Ida Council 106 ‐ Bsa 106       17 Broken Oar Rd                                          Garden Valley, ID 83622‐8121                                                           First Class Mail
Chartered Organization         Lds Garden Valley Ward Roseburg Stake                   Oregon Trail Council 697            1864 Nw Calkins Ave                                       Roseburg, OR 97471‐1806                                                                First Class Mail
Chartered Organization         Lds Gardena Ward Torrance N Stake 203                   Greater Los Angeles Area 033        2000 Artesia Blvd                                         Torrance, CA 90504‐3002                                                                First Class Mail
Chartered Organization         Lds Gardendale Ward, Birmingham Stake                   Greater Alabama Council 001         1925 Mt Olive Blvd                                        Gardendale, AL 35071                                                                   First Class Mail
Chartered Organization         Lds Gardner Ward Olathe Stake                           Heart Of America Council 307        15915 W 143Rd St                                          Olathe, KS 66062‐2055                                                                  First Class Mail
Chartered Organization         Lds Garfield Ward Carmichael Stake                      Golden Empire Council 047           4125 San Juan Ave                                         Carmichael, CA 95608                                                                   First Class Mail
Chartered Organization         Lds Garrison Creek Ward Renton Stake                    Chief Seattle Council 609           19714 106Th Ave Se                                        Renton, WA 98055‐7315                                                                  First Class Mail
Chartered Organization         Lds Garrisonville Ward                                  Stafford Virginia Stake             163 Eustace Rd                                            Stafford, VA 22554                                                                     First Class Mail
Chartered Organization         Lds Gary Ward ‐ Qc Az Stk                               Grand Canyon Council 010            33794 N Gary Rd                                           San Tan Valley, AZ 85143                                                               First Class Mail
Chartered Organization         Lds Gatesville Branch ‐ Killeen Stake                   Longhorn Council 662                8455 S Fm 183                                             Evant, TX 76525‐6867                                                                   First Class Mail
Chartered Organization         Lds Gateway Gardens Ward ‐ Gilbert Az                   Higley Stake                        1865 S Higley Rd                                          Gilbert, AZ 85295                                                                      First Class Mail
Chartered Organization         Lds Gateway Park Ward ‐ Surprise Az Stk                 Grand Canyon Council 010            15005 N Dysart Rd                                         El Mirage, AZ 85335‐5400                                                               First Class Mail
Chartered Organization         Lds Gateway Ward ‐ Phoenix Az East Stk                  Grand Canyon Council 010            2222 N 40Th St                                            Phoenix, AZ 85008‐3104                                                                 First Class Mail
Chartered Organization         Lds Gateway Ward / Rock Springs Stake                   Trapper Trails 589                  2055 Edgar St                                             Rock Springs, WY 82901‐6683                                                            First Class Mail
Chartered Organization         Lds Gavilan Hills Ward (Gilroy)                         Morgan Hill Stake                   7399 Miller Ave                                           Gilroy, CA 95020                                                                       First Class Mail
Chartered Organization         Lds Gavilan Ward ‐ Phoenix Az                           Desert Hills Stake                  43621 N 43Rd Dr                                           Phoenix, AZ 85087‐5950                                                                 First Class Mail
Chartered Organization         Lds Geneva                                              Alabama‐Florida Council 003         495 Goose Hollow Rd                                       Geneva, AL 36340‐6215                                                                  First Class Mail
Chartered Organization         Lds Geneva Heights Eighth Ward                          Utah National Parks 591             546 N 500 W                                               Orem, UT 84057                                                                         First Class Mail
Chartered Organization         Lds Geneva Heights Fifth Ward                           Utah National Parks 591             546 N 500 W                                               Orem, UT 84057                                                                         First Class Mail
Chartered Organization         Lds Geneva Heights First Ward (Spanish)                 Utah National Parks 591             1089 W 465 N                                              Orem, UT 84057‐3526                                                                    First Class Mail
Chartered Organization         Lds Geneva Heights Fourth Ward                          Utah National Parks 591             512 W 700 N                                               Orem, UT 84057‐3756                                                                    First Class Mail
Chartered Organization         Lds Geneva Heights Second Ward                          Utah National Parks 591             590 N 900 E                                               Orem, UT 84097‐6016                                                                    First Class Mail
Chartered Organization         Lds Geneva Heights Seventh Ward                         Utah National Parks 591             372 Foxmoor Dr                                            Orem, UT 84057‐3875                                                                    First Class Mail
Chartered Organization         Lds Geneva Heights Sixth Ward                           Utah National Parks 591             1119 W 600 N                                              Orem, UT 84057‐3536                                                                    First Class Mail
Chartered Organization         Lds Geneva Heights Third Ward                           Utah National Parks 591             857 W 800 N                                               Orem, UT 84057                                                                         First Class Mail
Chartered Organization         Lds Genola First Ward                                   Utah National Parks 591             22 W Center St                                            Genola, UT 84655‐5603                                                                  First Class Mail
Chartered Organization         Lds Genola Fourth Ward                                  Utah National Parks 591             1090 S Anna Ekins Ln                                      Genola, UT 84655‐6109                                                                  First Class Mail
Chartered Organization         Lds Genola Second Ward                                  Utah National Parks 591             10 W Center                                               Genola, UT 84655                                                                       First Class Mail
Chartered Organization         Lds Genola Third Ward                                   Utah National Parks 591             1037 S 400 W                                              Genola, UT 84655‐6019                                                                  First Class Mail
Chartered Organization         Lds Georgetown 1St Ward                                 Montpelier Stake                    124 Stringtown Rd                                         Georgetown, ID 83239‐7709                                                              First Class Mail
Chartered Organization         Lds Georgetown 2Nd Ward                                 Montpelier Stake                    Trapper Trails 589                                        124 Stringtown Rd                 Montpelier Stake      Georgetown, ID 83239           First Class Mail
Chartered Organization         Lds Georgetown Ward                                     The Spirit Of Adventure 227         9 Jewett St                                               Georgetown, MA 01833                                                                   First Class Mail
Chartered Organization         Lds Georgetown Ward                                     Kearns Ut Central Stake             5823 S 4800 W                                             Salt Lake City, UT 84118                                                               First Class Mail
Chartered Organization         Lds Georgetown Ward El Dorado Stake                     Golden Empire Council 047           P.O. Box 91                                               Pilot Hill, CA 95664‐0091                                                              First Class Mail
Chartered Organization         Lds Georgetown Ward, Round Rock E Stake                 Capitol Area Council 564            218 Serenada Dr                                           Georgetown, TX 78628‐1518                                                              First Class Mail
Chartered Organization         Lds Germania Ward/Murray Ut North Stk                   Great Salt Lake Council 590         500 W Germania Ave                                        Salt Lake City, UT 84123‐4626                                                          First Class Mail
Chartered Organization         Lds Gettysburg Ward,Chambersburg Stake                  New Birth Of Freedom 544            34 Herrs Ridge Rd                                         Gettysburg, PA 17325                                                                   First Class Mail
Chartered Organization         Lds Gettysburg Ward,Chambersburg Stake                  New Birth Of Freedom 544            1170 Kohler Mill Rd                                       New Oxford, PA 17350‐9242                                                              First Class Mail
Chartered Organization         Lds Gig Harbor Stake‐Belfair                            Pacific Harbors Council, Bsa 612    P.O. Box 2362                                             Belfair, WA 98528‐2362                                                                 First Class Mail
Chartered Organization         Lds Gig Harbor Stake‐Crescent Valley                    Pacific Harbors Council, Bsa 612    12002 Peacock Hill Ave Nw                                 Gig Harbor, WA 98332‐8932                                                              First Class Mail
Chartered Organization         Lds Gig Harbor Stake‐Gig Harbor                         Pacific Harbors Council, Bsa 612    5407 64Th Ave Nw                                          Gig Harbor, WA 98335‐6652                                                              First Class Mail
Chartered Organization         Lds Gig Harbor Stake‐Minter Creek                       Pacific Harbors Council, Bsa 612    9905 128Th St Nw                                          Gig Harbor, WA 98329‐7052                                                              First Class Mail
Chartered Organization         Lds Gig Harbor Stake‐Olalla                             Pacific Harbors Council, Bsa 612    P.O. Box 419                                              Port Orchard, WA 98366‐0419                                                            First Class Mail
Chartered Organization         Lds Gig Harbor Stake‐Wollochet                          Pacific Harbors Council, Bsa 612    8002 Dorotich St                                          Gig Harbor, WA 98332‐1808                                                              First Class Mail
Chartered Organization         Lds Gila River Ward ‐ Phoenix Az                        South Mountain Stake                4125 W Baseline Rd                                        Laveen, AZ 85339                                                                       First Class Mail
Chartered Organization         Lds Gila Ward Silver City Stk                           Yucca Council 573                   P.O. Box 163                                              Gila, NM 88038‐0163                                                                    First Class Mail
Chartered Organization         Lds Gilbert 12Th Ward ‐ Gilbert Az                      Val Vista Stake                     1483 N Driftwood Dr                                       Gilbert, AZ 85234                                                                      First Class Mail
Chartered Organization         Lds Gilbert 2Nd Ward ‐ Gilbert Az Stk                   Grand Canyon Council 010            777 W Elliot Rd                                           Gilbert, AZ 85233                                                                      First Class Mail
Chartered Organization         Lds Gilbert 3Rd Ward ‐ Gilbert Az                       Highland W Stake                    1010 S Recker Rd                                          Gilbert, AZ 85296                                                                      First Class Mail
Chartered Organization         Lds Gilbert 4Th Ward ‐ Gilbert Az                       Val Vista Stake                     1150 N Lindsay Rd                                         Gilbert, AZ 85234                                                                      First Class Mail
Chartered Organization         Lds Gilbert 6Th Ward ‐ Gilbert Az                       Highland W Stake                    2700 E Guadalupe Rd                                       Gilbert, AZ 85234                                                                      First Class Mail
Chartered Organization         Lds Gilbert 9Th Ward ‐ Gilbert Az                       Val Vista Stake                     1150 E Guadalupe Rd                                       Gilbert, AZ 85234                                                                      First Class Mail
Chartered Organization         Lds Gilbert Ranch Ward ‐ Gilbert Az                     Greenfield Stake                    2740 S Lindsay Rd                                         Gilbert, AZ 85295                                                                      First Class Mail
Chartered Organization         Lds Gilbert Ward ‐ Gilbert Az Stapley Stk               Grand Canyon Council 010            1150 W Elliot Rd                                          Gilbert, AZ 85233                                                                      First Class Mail
Chartered Organization         Lds Gilcrease Ranch Ward Tule Spgs Stake                Las Vegas Area Council 328          6735 Whispering Sands Dr                                  Las Vegas, NV 89131‐2227                                                               First Class Mail
Chartered Organization         Lds Gillette 1St Ward, Gillette Stake                   Greater Wyoming Council 638         2903 Allen Ave                                            Gillette, WY 82718‐6116                                                                First Class Mail
Chartered Organization         Lds Gillette 2Nd Ward, Gillette Stake                   Greater Wyoming Council 638         2903 Allen Ave                                            Gillette, WY 82718‐6116                                                                First Class Mail
Chartered Organization         Lds Gillette 3Rd Ward, Gillette Stake                   Greater Wyoming Council 638         1500 Ohara Dr                                             Gillette, WY 82716                                                                     First Class Mail
Chartered Organization         Lds Gillette Stk Moorcroft Branch                       Black Hills Area Council 695 695    P.O. Box 122                                              Moorcroft, WY 82721‐0122                                                               First Class Mail
Chartered Organization         Lds Gilmer 4Th Ward                                     East Texas Area Council 585         1122 Pine St                                              Gilmer, TX 75644‐3238                                                                  First Class Mail
Chartered Organization         Lds Ginger Creek Ward ‐ Mer E Stk                       Ore‐Ida Council 106 ‐ Bsa 106       12285 W Ginger Creek Dr                                   Boise, ID 83713‐0004                                                                   First Class Mail
Chartered Organization         Lds Gj 1St Ward                                         Grand Junction West Stake           2542 G Rd                                                 Grand Junction, CO 81505‐9522                                                          First Class Mail
Chartered Organization         Lds Glacial Park Ward                                   Sandy Ut Granite View Stake         2675 E Mt Jordan Rd                                       Sandy, UT 84092                                                                        First Class Mail
Chartered Organization         Lds Glacier Park Ward Maple Valley Stake                Chief Seattle Council 609           22608 Se 279Th St                                         Maple Valley, WA 98038‐8187                                                            First Class Mail
Chartered Organization         Lds Gladstone Ward Milwaukie Stake                      Cascade Pacific Council 492         8331 Cason Rd                                             Gladstone, OR 97027‐1416                                                               First Class Mail
Chartered Organization         Lds Glasgow Ward                                        Lincoln Heritage Council 205        748 W Cherry St                                           Glasgow, KY 42141‐1556                                                                 First Class Mail
Chartered Organization         Lds Glasgow Ward, Glendive Stake                        Montana Council 315                 71 Bonnie St                                              Glasgow, MT 59230‐2110                                                                 First Class Mail
Chartered Organization         Lds Glassford Hill Ward                                 Prescott Vly Az Stake               7885 E Long Look Dr                                       Prescott Valley, AZ 86314‐5505                                                         First Class Mail
Chartered Organization         Lds Gleannloch Farms Ward                               Tomball Stake                       19920 Champion Forest Dr                                  Spring, TX 77379                                                                       First Class Mail
Chartered Organization         Lds Glen Carbon Ward Ofallon Stake                      Greater St Louis Area Council 312   2250 Hwy 157 S                                            Edwardsville, IL 62025                                                                 First Class Mail
Chartered Organization         Lds Glen Creek Ward Monmouth Stake                      Cascade Pacific Council 492         3154 Eola Dr Nw                                           Salem, OR 97304                                                                        First Class Mail
Chartered Organization         Lds Glen Eagle Ward                                     Syracuse West Stake                 3426 Augusta Dr                                           Syracuse, UT 84075                                                                     First Class Mail
Chartered Organization         Lds Glen Hills                                          Quivira Council, Bsa 198            1324 N Briarwood Rd                                       Derby, KS 67037‐4026                                                                   First Class Mail
Chartered Organization         Lds Glen Lakes Ward ‐ Glendale Az Stk                   Grand Canyon Council 010            8840 N 61St Ave                                           Glendale, AZ 85302‐4521                                                                First Class Mail
Chartered Organization         Lds Glen Loch Ward                                      The Woodlands Stake                 27707 Glen Loch Dr                                        The Woodlands, TX 77381‐2989                                                           First Class Mail
Chartered Organization         Lds Glencoe Ward Hillsboro Stake                        Cascade Pacific Council 492         2220 Ne Jackson School Rd                                 Hillsboro, OR 97124‐1658                                                               First Class Mail
Chartered Organization         Lds Glendale 1St Ward                                   Verdugo Hills Council 058           1130 E Wilson Ave                                         Glendale, CA 91206‐4537                                                                First Class Mail
Chartered Organization         Lds Glendale Ward                                       Utah National Parks 591             P.O. Box 95                                               Glendale, UT 84729‐0095                                                                First Class Mail
Chartered Organization         Lds Glendora Ward 360 Glendora Stake                    Greater Los Angeles Area 033        2121 E Rte 66                                             Glendora, CA 91740‐4672                                                                First Class Mail
Chartered Organization         Lds Gleneagle Ward ‐ North Stake                        Pikes Peak Council 060              8710 Lexington Dr                                         Colorado Springs, CO 80920‐4309                                                        First Class Mail
Chartered Organization         Lds Glenmont Ward ‐ Silver Spring Stake                 National Capital Area Council 082   500 Randolph Rd                                           Silver Spring, MD 20904‐3540                                                           First Class Mail
Chartered Organization         Lds Glenmoor 10Th Ward                                  S J Ut Glenmoor Stake               4881 Cindy Ln                                             South Jordan, UT 84009                                                                 First Class Mail
Chartered Organization         Lds Glenmoor 2Nd Ward                                   S J Ut Glenmoor Stake               9455 S 4800 W                                             South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Glenmoor 3Rd Ward                                   S J Ut Glenmoor Stake               9455 S 4800 W                                             South Jordan, UT 84009                                                                 First Class Mail
Chartered Organization         Lds Glenmoor 4Th Ward                                   S J Ut Glenmoor Stake               4881 W Cindy Dr                                           South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Glenmoor 5Th Ward                                   S J Ut Glenmoor Stake               4881 W Cindy Dr                                           South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Glenmoor 6Th Ward                                   S J Ut Glenmoor Stake               4200 W Skye Dr                                            South Jordan, UT 84009                                                                 First Class Mail
Chartered Organization         Lds Glenmoor 7Th Ward                                   S J Ut Glenmoor Stake               4200 W Skye Dr                                            South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Glenmoor 8Th Ward                                   S J Ut Glenmoor Stake               4200 W Skye Dr                                            South Jordan, UT 84009                                                                 First Class Mail
Chartered Organization         Lds Glenns Ferry Ward ‐ Mtn Home Stk                    Ore‐Ida Council 106 ‐ Bsa 106       P.O. Box 636                                              Glenns Ferry, ID 83623‐0636                                                            First Class Mail
Chartered Organization         Lds Glenridge Ward/Atlanta Stake                        Atlanta Area Council 092            6449 Glenridge Dr                                         Atlanta, GA 30328‐3408                                                                 First Class Mail
Chartered Organization         Lds Glenrock Ward, Casper Stake                         Greater Wyoming Council 638         573 Lookout Dr                                            Glenrock, WY 82637                                                                     First Class Mail
Chartered Organization         Lds Glenview Ward ‐ Mesa Az Kimball Stk                 Grand Canyon Council 010            920 N Lindsay Rd                                          Mesa, AZ 85204                                                                         First Class Mail
Chartered Organization         Lds Glenville Ward, Albany Stake                        Twin Rivers Council 364             52 Blue Barns Rd                                          Rexford, NY 12148                                                                      First Class Mail
Chartered Organization         Lds Glenwood Springs Ward/Rifle Stake                   Denver Area Council 061             409 29Th St                                               Glenwood Springs, CO 81601‐4474                                                        First Class Mail
Chartered Organization         Lds Glenwood Ward                                       Utah National Parks 591             225 E Center St                                           Glenwood, UT 84730‐7739                                                                First Class Mail
Chartered Organization         Lds Glenwood Ward Council Bluff Stake                   Mid‐America Council 326             21919 Elderberry Rd                                       Glenwood, IA 51534‐1006                                                                First Class Mail
Chartered Organization         Lds Glines Eighth Ward                                  Utah National Parks 591             2249 S 1500 W                                             Vernal, UT 84078‐4649                                                                  First Class Mail
Chartered Organization         Lds Glines Fifth Ward                                   Utah National Parks 591             2874 W 1800 S                                             Vernal, UT 84078‐8721                                                                  First Class Mail
Chartered Organization         Lds Glines First Ward                                   Utah National Parks 591             1510 W Hwy 40                                             Vernal, UT 84078                                                                       First Class Mail
Chartered Organization         Lds Glines Fourth Ward                                  Utah National Parks 591             3061 W 500 S                                              Vernal, UT 84078‐8944                                                                  First Class Mail
Chartered Organization         Lds Glines Ninth Ward                                   Utah National Parks 591             2813 S 400 W                                              Vernal, UT 84078‐4846                                                                  First Class Mail
Chartered Organization         Lds Glines Second Ward                                  Utah National Parks 591             1510 W Hwy 40                                             Vernal, UT 84078                                                                       First Class Mail
Chartered Organization         Lds Glines Seventh Ward                                 Utah National Parks 591             1270 W 1500 S                                             Vernal, UT 84078                                                                       First Class Mail
Chartered Organization         Lds Glines Sixth Ward                                   Utah National Parks 591             2643 W 1000 S                                             Vernal, UT 84078‐8906                                                                  First Class Mail
Chartered Organization         Lds Glines Third Ward                                   Utah National Parks 591             475 W 100 S                                               Vernal, UT 84078‐2545                                                                  First Class Mail
Chartered Organization         Lds Globe 1St Ward ‐ Globe Az Stk                       Grand Canyon Council 010            1701 Ensign St                                            Globe, AZ 85502                                                                        First Class Mail
Chartered Organization         Lds Globe 2Nd Ward ‐ Globe Az Stk                       Grand Canyon Council 010            1701 N Us Hwy 60                                          Globe, AZ 85501                                                                        First Class Mail
Chartered Organization         Lds Goddard Ward ‐ Boise N Stk                          Ore‐Ida Council 106 ‐ Bsa 106       8265 W Valley View Dr                                     Boise, ID 83704‐4470                                                                   First Class Mail
Chartered Organization         Lds Goethe Park Ward Cordova Stake                      Golden Empire Council 047           2400 Cordova Ln                                           Rancho Cordova, CA 95670‐3963                                                          First Class Mail
Chartered Organization         Lds Gold Canyon Ward ‐ Peralta Trail Az                 Stake                               2520 E Old West Hwy                                       Apache Junction, AZ 85119‐7804                                                         First Class Mail
Chartered Organization         Lds Gold Hill Ward ‐ Central Point Stake                Crater Lake Council 491             5050 Del Mar Dr                                           Central Point, OR 97502‐1606                                                           First Class Mail
Chartered Organization         Lds Goldcrest Ward Highland Hills Stake                 Las Vegas Area Council 328          3209 Wexford Hill Ct                                      North Las Vegas, NV 89031‐2250                                                         First Class Mail
Chartered Organization         Lds Golden Hills Ward                                   Southern Sierra Council 030         600 Anita Dr                                              Tehachapi, CA 93561‐1536                                                               First Class Mail
Chartered Organization         Lds Golden Meadows 1St Ward                             Rvrtn Ut S Stake                    2700 W 13400 S                                            Riverton, UT 84065                                                                     First Class Mail
Chartered Organization         Lds Golden Meadows 2Nd Ward                             Rvrtn Ut S Stake                    3113 W 13400 S                                            Riverton, UT 84065                                                                     First Class Mail
Chartered Organization         Lds Golden Valley Branch Kingman Stake                  Las Vegas Area Council 328          7582 W Zuni Dr                                            Golden Valley, AZ 86413‐8401                                                           First Class Mail
Chartered Organization         Lds Goldendale Ward The Dalles Stake                    Cascade Pacific Council 492         500 Sampson St                                            Centerville, WA 98613‐3000                                                             First Class Mail
Chartered Organization         Lds Goldenrod Orlando                                   Central Florida Council 083         350 W Artesia St                                          Oviedo, FL 32765                                                                       First Class Mail
Chartered Organization         Lds Goldfield Ward ‐ Peralta Trail Az Stk               Grand Canyon Council 010            2520 E Old West Hwy                                       Apache Junction, AZ 85119‐7804                                                         First Class Mail
Chartered Organization         Lds Goleta Vly Ward, Santa Barbara Stake                Los Padres Council 053              478 Cambridge Dr                                          Goleta, CA 93117‐2142                                                                  First Class Mail
Chartered Organization         Lds Gonzales Ward ‐ Baton Rouge Stake                   Istrouma Area Council 211           502 E Hwy 30                                              Gonzales, LA 70737‐4712                                                                First Class Mail
Chartered Organization         Lds Gonzales Ward 2‐Baton Rouge Stake                   Istrouma Area Council 211           502 E Hwy 30                                              Gonzales, LA 70737‐4712                                                                First Class Mail
Chartered Organization         Lds Goodyear Ward ‐ Goodyear Az Stk                     Grand Canyon Council 010            13277 W Thomas Rd                                         Goodyear, AZ 85395‐2270                                                                First Class Mail
Chartered Organization         Lds Goose Creek Ward Charleston Stake                   Coastal Carolina Council 550        8720 Antler Dr                                            North Charleston, SC 29406                                                             First Class Mail
Chartered Organization         Lds Gordon Creek Ward                                   Utah National Parks 591             175 N 1280 W                                              Price, UT 84501                                                                        First Class Mail
Chartered Organization         Lds Gordon Lane Ward                                    Stansbury Park Ut South Stake       390 Village Blvd                                          Stansbury Park, UT 84074‐8140                                                          First Class Mail
Chartered Organization         Lds Gore Ward ‐ Fort Smith Ar Stake                     Indian Nations Council 488          P.O. Box 92                                               Warner, OK 74469‐0092                                                                  First Class Mail
Chartered Organization         Lds Goshen Second Ward                                  Utah National Parks 591             75 S Center St                                            Goshen, UT 84633                                                                       First Class Mail
Chartered Organization         Lds Goshen Ward                                         Utah National Parks 591             P.O. Box 53                                               Goshen, UT 84633‐0053                                                                  First Class Mail
Chartered Organization         Lds Grace Stake ‐ Bancroft Ward                         Grand Teton Council 107             404 S Main                                                Bancroft, ID 83217                                                                     First Class Mail
Chartered Organization         Lds Grace Stake ‐ Chesterfield Ward                     Grand Teton Council 107             2789 Baker Rd                                             Bancroft, ID 83217‐5003                                                                First Class Mail
Chartered Organization         Lds Grace Stake ‐ Grace 1St Ward                        Grand Teton Council 107             311 S Main St                                             Grace, ID 83241                                                                        First Class Mail
Chartered Organization         Lds Grace Stake ‐ Grace 2Nd Ward                        Grand Teton Council 107             311 S Main St                                             Grace, ID 83241                                                                        First Class Mail
Chartered Organization         Lds Grace Stake ‐ Grace 3Rd Ward                        Grand Teton Council 107             404 N Main St                                             Grace, ID 83241‐5261                                                                   First Class Mail
Chartered Organization         Lds Grace Stake ‐ Thatcher Ward                         Grand Teton Council 107             13509 N Maple Grove Rd                                    Thatcher, ID 83283‐5837                                                                First Class Mail
Chartered Organization         Lds Grace Stake ‐ Williams Ward                         Grand Teton Council 107             2120 Niter Bench Rd                                       Grace, ID 83241                                                                        First Class Mail
Chartered Organization         Lds Graham Stake‐Eatonville                             Pacific Harbors Council, Bsa 612    900 Erin Ln W                                             Eatonville, WA 98328‐8001                                                              First Class Mail
Chartered Organization         Lds Graham Stake‐Elk Plain                              Pacific Harbors Council, Bsa 612    6901 224Th St E                                           Spanaway, WA 98387                                                                     First Class Mail
Chartered Organization         Lds Graham Stake‐Graham                                 Pacific Harbors Council, Bsa 612    13612 224Th St E                                          Graham, WA 98338‐7656                                                                  First Class Mail
Chartered Organization         Lds Graham Stake‐Rainier                                Pacific Harbors Council, Bsa 612    900 Erin Ln W                                             Eatonville, WA 98328‐8001                                                              First Class Mail
Chartered Organization         Lds Graham Stake‐So Spanaway                            Pacific Harbors Council, Bsa 612    16820 16Th Ave E                                          Spanaway, WA 98387‐7611                                                                First Class Mail
Chartered Organization         Lds Graham Stake‐Sunrise                                Pacific Harbors Council, Bsa 612    13530 174Th St Ct E                                       Puyallup, WA 98374‐6803                                                                First Class Mail
Chartered Organization         Lds Graham Ward ‐ Weatherford Stake                     Longhorn Council 662                2251 Bethel Rd                                            Weatherford, TX 76087                                                                  First Class Mail
Chartered Organization         Lds Granada Hills Stake                                 Mission Hills Ward                  11315 White Oak Ave                                       Granada Hills, CA 91344‐3312                                                           First Class Mail
Chartered Organization         Lds ‐Granada Hills Stake                                Granada Hills Ward                  11315 White Oak Ave                                       Granada Hills, CA 91344‐3312                                                           First Class Mail
Chartered Organization         Lds ‐Granada Hills Stake                                Sherman Oaks Ward                   14001 Burbank Blvd                                        Van Nuys, CA 91401‐5029                                                                First Class Mail
Chartered Organization         Lds ‐Granada Hills Stake                                Van Nuys 1st Ward                   14001 Burbank Blvd                                        Van Nuys, CA 91401‐5029                                                                First Class Mail
Chartered Organization         Lds ‐Granada Hills Stake‐ Encino Ward                   W.L.A.C.C. 051                      5338 White Oak Ave                                        Encino, CA 91316‐2459                                                                  First Class Mail
Chartered Organization         Lds ‐Granada Hills Stake‐ Nridge Ward                   W.L.A.C.C. 051                      17101 Plummer St                                          Northridge, CA 91325                                                                   First Class Mail
Chartered Organization         Lds Granada Ward Whittier Stake 871                     Greater Los Angeles Area 033        15100 Cordova Rd                                          La Mirada, CA 90638‐2324                                                               First Class Mail
Chartered Organization         Lds Granbury Ward ‐ Weatherford Stake                   Longhorn Council 662                3000 Ridgecrest Dr                                        Granbury, TX 76048‐2829                                                                First Class Mail
Chartered Organization         Lds Granby Ward ‐ Monett Stake                          Ozark Trails Council 306            22897 E Hwy 86                                            Granby, MO 64844‐7368                                                                  First Class Mail
Chartered Organization         Lds Granby Ward/Craig Stake                             Denver Area Council 061             P.O. Box 1131                                             Granby, CO 80446‐1131                                                                  First Class Mail
Chartered Organization         Lds Grand Blanc Ward ‐ Grand Blanc Stake                Water And Woods Council 782         4285 Mccandlish Rd                                        Grand Blanc, MI 48439‐1806                                                             First Class Mail
Chartered Organization         Lds Grand Canyon Ward Lone Mtn Stake                    Las Vegas Area Council 328          3208 Bishop Pine St                                       Las Vegas, NV 89129‐8128                                                               First Class Mail
Chartered Organization         Lds Grand Mesa Ward/Grand Junction Stake                Denver Area Council 061             3076 E 1/2 Rd                                             Grand Junction, CO 81504‐4331                                                          First Class Mail
Chartered Organization         Lds Grand Prairie 1St Ward                              Dallas Stake                        2010 S Carrier Pkwy                                       Grand Prairie, TX 75051‐3755                                                           First Class Mail
Chartered Organization         Lds Grand Prairie 2Nd Ward                              Irving Stake                        2010 S Carrier Pkwy                                       Grand Prairie, TX 75051‐3755                                                           First Class Mail
Chartered Organization         Lds Grand Rapids Ward                                   Grand Rapids Stake                  2780 Leonard St Ne                                        Grand Rapids, MI 49525‐5825                                                            First Class Mail
Chartered Organization         Lds Grand Teton Ward Skye Canyon Stake                  Las Vegas Area Council 328          9830 Elkhorn Rd                                           Las Vegas, NV 89149‐1914                                                               First Class Mail
Chartered Organization         Lds Grand Valley Ward                                   Grand Rapids Stake                  2780 Leonard St Ne                                        Grand Rapids, MI 49525‐5825                                                            First Class Mail
Chartered Organization         Lds Grand Valley Ward/Rifle Stake                       Denver Area Council 061             300 Sipprelle Dr                                          Battlement Mesa, CO 81635‐8200                                                         First Class Mail
Chartered Organization         Lds Grand View Ward ‐ Mtn Home Stk                      Ore‐Ida Council 106 ‐ Bsa 106       30767 Mormon Blvd                                         Bruneau, ID 83604‐5051                                                                 First Class Mail
Chartered Organization         Lds Grandeur Peak Ward                                  Sl Mt Olympus Stake                 3610 S 3510 E                                             Salt Lake City, UT 84109                                                               First Class Mail
Chartered Organization         Lds Grandridge Ward ‐ Kennewick Stake                   Blue Mountain Council 604           724 N Pittsburg St                                        Kennewick, WA 99336‐1072                                                               First Class Mail
Chartered Organization         Lds Grandview 1St Ward ‐ Mesa Az                        Central Stake                       1455 N Harris Dr                                          Mesa, AZ 85203‐3828                                                                    First Class Mail
Chartered Organization         Lds Grandview 1St Ward/S L Wilford Stk                  Great Salt Lake Council 590         2930 S 2000 E                                             Salt Lake City, UT 84109                                                               First Class Mail
Chartered Organization         Lds Grandview 2Nd Ward ‐ Mesa Az                        Central Stake                       925 N Harris Dr                                           Mesa, AZ 85203‐5722                                                                    First Class Mail
Chartered Organization         Lds Grandview 2Nd Ward/Sl Wilford Stake                 Great Salt Lake Council 590         2930 S 2000 E St                                          Salt Lake City, UT 84106                                                               First Class Mail
Chartered Organization         Lds Grandview 3Rd Ward/S L Wilford Stk                  Great Salt Lake Council 590         2930 S 2000 E                                             Salt Lake City, UT 84109                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                  Page 210 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                    Filed 01/06/22                           Page 226 of 457
                                                                                                                                                                   Exhibit B
                                                                                                                                                                    Service List
                                                                                                                                                             Served as set forth below

        Description                                                       Name                                                                                   Address                                                                   Email              Method of Service
Chartered Organization         Lds Grandview Eighth Ward                                Utah National Parks 591                960 W 2150 N                                            Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Grandview Eleventh Ward                              Utah National Parks 591                950 W 2150 N                                            Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Grandview Fifth Ward                                 Utah National Parks 591                1555 N 1350 W                                           Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Grandview First Ward                                 Utah National Parks 591                1555 N 1350 W                                           Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Grandview Fourth Ward                                Utah National Parks 591                1265 Camelot Dr                                         Provo, UT 84601‐1454                                        First Class Mail
Chartered Organization         Lds Grandview Ninth Ward                                 Utah National Parks 591                1555 N 1350 W                                           Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Grandview Second Ward                                Utah National Parks 591                1060 N 1081 W                                           Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Grandview Seventh Ward                               Utah National Parks 591                1120 N 850 W                                            Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Grandview Sixth Ward                                 Utah National Parks 591                1538 N 1980 W                                           Provo, UT 84604‐2231                                        First Class Mail
Chartered Organization         Lds Grandview Tenth Ward                                 Utah National Parks 591                1850 W 1600 N                                           Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Grandview Third Ward                                 Utah National Parks 591                905 W 2300 N                                            Provo, UT 84604‐1209                                        First Class Mail
Chartered Organization         Lds Grandview Twenty First Ward                          Utah National Parks 591                1850 W 1600 N                                           Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Grandview Ward                                       Herriman Ut Mtn View Stake             5017 W Grand View Peak Dr                               Riverton, UT 84096                                          First Class Mail
Chartered Organization         Lds Grandview Ward, Parker Stake                         Denver Area Council 061                7405 S Addison Ct                                       Aurora, CO 80016                                            First Class Mail
Chartered Organization         Lds Granger 11Th Ward (Samoan)                           Sl Grngr N Stake                       3450 W 3100 S                                           Salt Lake City, UT 84119                                    First Class Mail
Chartered Organization         Lds Granger 15Th Ward                                    S L Granger N Stake                    2835 S 2855 W                                           Salt Lake City, UT 84119                                    First Class Mail
Chartered Organization         Lds Granger 25Th Ward                                    S L Granger E Stake                    2102 W 3100 S                                           Salt Lake City, UT 84119                                    First Class Mail
Chartered Organization         Lds Granger 5Th Ward (Spanish)                           Sl Granger E Stake                     2101 W 3100 S                                           West Valley City, UT 84119                                  First Class Mail
Chartered Organization         Lds Granger 8Th Ward (Tongan)                            Sl Ut Stake (Tongan)                   3325 S 4440 W                                           West Valley, UT 84120                                       First Class Mail
Chartered Organization         Lds Granger W 5Th Br (Marshallese)                       Sl Granger W Stake                     3385 S Eastcrest Rd Apt 121                             West Valley City, UT 84120‐1905                             First Class Mail
Chartered Organization         Lds Granger Ward/S L Granger Stake                       Great Salt Lake Council 590            2850 W 3835 S                                           West Valley, UT 84119                                       First Class Mail
Chartered Organization         Lds Granger West 3Rd Ward                                S L Granger W Stake                    2957 S Laree St                                         Salt Lake City, UT 84120‐1670                               First Class Mail
Chartered Organization         Lds Granger West 4Th Ward                                S L Granger W Stake                    3305 S Scottsdale Dr                                    West Valley City, UT 84120                                  First Class Mail
Chartered Organization         Lds Granger West 7Th Ward                                S L Granger W Stake                    4460 W Cortney Dr                                       West Valley City, UT 84120                                  First Class Mail
Chartered Organization         Lds Granger West 9Th Ward                                S L Granger W Stake                    4460 W Cortney Dr                                       West Valley City, UT 84120                                  First Class Mail
Chartered Organization         Lds Grangeville Ward/Lewiston Stake                      Inland NW Council 611                  403 N Blvd                                              Grangeville, ID 83530                                       First Class Mail
Chartered Organization         Lds Granite Bay 1St Ward Rocklin Stake                   Golden Empire Council 047              7800 Santa Juanita Ave                                  Folsom, CA 95630                                            First Class Mail
Chartered Organization         Lds Granite Bay 2Nd Ward Rocklin Stake                   Golden Empire Council 047              6460 Cavitt Stallman Rd                                 Granite Bay, CA 95746                                       First Class Mail
Chartered Organization         Lds Granite Creek Ward                                   Prescott Vly Az Stake                  1880 E Rd 1 S                                           Chino Valley, AZ 86323‐7443                                 First Class Mail
Chartered Organization         Lds Granite Dells Ward ‐ Prescott Az Stk                 Grand Canyon Council 010               1101 Sandretto Dr                                       Prescott, AZ 86301                                          First Class Mail
Chartered Organization         Lds Granite Falls Ward Arlington Stake                   Mount Baker Council, Bsa 606           18218 100Th St Ne                                       Granite Falls, WA 98252‐8644                                First Class Mail
Chartered Organization         Lds Granite Hills Ward ‐ Apple Vly Stake                 California Inland Empire Council 045   12242 Navajo Rd                                         Apple Valley, CA 92308‐7249                                 First Class Mail
Chartered Organization         Lds Granite Mountain Ward ‐ Stv Az Stake                 Grand Canyon Council 010               1521 E Bella Vista Rd                                   Queen Creek, AZ 85242                                       First Class Mail
Chartered Organization         Lds Granite Reef Ward ‐ Mesa Az                          Red Mountain Stake                     6025 E Princess Dr                                      Mesa, AZ 85205‐4552                                         First Class Mail
Chartered Organization         Lds Granite Reef Ward ‐ Paradise Valley Az               Stake                                  3010 E Thunderbird Rd                                   Phoenix, AZ 85032‐5610                                      First Class Mail
Chartered Organization         Lds Granite Ridge Ward                                   Sandy Ut Granite View Stake            9575 S 3100 E                                           Sandy, UT 84092                                             First Class Mail
Chartered Organization         Lds Granite View Ward                                    Sandy Ut Granite View Stake            2675 E Mt Jordan Rd                                     Sandy, UT 84092                                             First Class Mail
Chartered Organization         Lds Granite Ward                                         Sandy Ut Granite View Stake            9575 S 3100 E                                           Sandy, UT 84092                                             First Class Mail
Chartered Organization         Lds Granite Ward (Spanish)                               S L Granite Park Stake                 3219 S 300 E                                            Salt Lake City, UT 84115                                    First Class Mail
Chartered Organization         Lds Granite Ward/Sandy Ut Granite Stk                    Great Salt Lake Council 590            9245 S Quail Run Dr                                     Sandy, UT 84093‐2752                                        First Class Mail
Chartered Organization         Lds Grantsville 10Th Ward                                Grantsville Ut Stake                   81 Church St                                            Grantsville, UT 84029‐9346                                  First Class Mail
Chartered Organization         Lds Grantsville 11Th Ward                                Grantsville Ut Stake                   410 Shelley Ln                                          Grantsville, UT 84029‐9699                                  First Class Mail
Chartered Organization         Lds Grantsville 12Th Ward                                Grantsville Ut W Stake                 428 S Hale St                                           Grantsville, UT 84029                                       First Class Mail
Chartered Organization         Lds Grantsville 13Th Ward                                Grantsville Ut Stake                   44 E Box Elder Dr                                       Grantsville, UT 84029‐8300                                  First Class Mail
Chartered Organization         Lds Grantsville 14Th Ward                                Grantsville Ut Stake                   357 Willow St                                           Grantsville, UT 84029‐9483                                  First Class Mail
Chartered Organization         Lds Grantsville 15Th Ward                                Grantsville Ut Stake                   862 Silver Spur Rd                                      Grantsville, UT 84029‐9499                                  First Class Mail
Chartered Organization         Lds Grantsville 1St Ward                                 Grntsvlle Ut W Stake                   344 N Wrathall Cir                                      Grantsville, UT 84029‐9374                                  First Class Mail
Chartered Organization         Lds Grantsville 3Rd Ward                                 Grntsvlle Ut W Stake                   428 S Hale St                                           Grantsville, UT 84029                                       First Class Mail
Chartered Organization         Lds Grantsville 4Th Ward                                 Grntsvlle Ut W Stake                   428 S Hale St                                           Grantsville, UT 84029                                       First Class Mail
Chartered Organization         Lds Grantsville 5Th Ward                                 Grntsvlle Ut W Stake                   P.O. Box 65                                             Grantsville, UT 84029‐0065                                  First Class Mail
Chartered Organization         Lds Grantsville 6Th Ward                                 Grantsville Ut Stake                   81 Church St                                            Grantsville, UT 84029‐9346                                  First Class Mail
Chartered Organization         Lds Grantsville 7Th Ward                                 Grntsvlle Ut W Stake                   415 W Apple St                                          Grantsville, UT 84029                                       First Class Mail
Chartered Organization         Lds Grantsville 8Th Ward                                 Grantsville Ut Stake                   550 E Durfee St                                         Grantsville, UT 84029‐9781                                  First Class Mail
Chartered Organization         Lds Grantsville 9Th Ward                                 Grntsvlle Ut W Stake                   415 W Apple St                                          Grantsville, UT 84029                                       First Class Mail
Chartered Organization         Lds Grapevine Ward ‐ Colleyville Stake                   Longhorn Council 662                   1143 Butterfield Dr                                     Grapevine, TX 76051‐3381                                    First Class Mail
Chartered Organization         Lds Grass Vly Ward Vancouver E Stake                     Cascade Pacific Council 492            3017 Nw 18Th Ave                                        Camas, WA 98607                                             First Class Mail
Chartered Organization         Lds Grasslands First Ward                                Utah National Parks 591                706 W 375 N                                             Springville, UT 84663‐5737                                  First Class Mail
Chartered Organization         Lds Grasslands Second Ward                               Utah National Parks 591                945 W Center St                                         Springville, UT 84663                                       First Class Mail
Chartered Organization         Lds Grasslands Third Ward                                Utah National Parks 591                1133 W 250 N                                            Springville, UT 84663‐5572                                  First Class Mail
Chartered Organization         Lds Grayson Ward ‐ Lilburn Stake                         Northeast Georgia Council 101          2600 Cammie Wages Rd                                    Dacula, GA 30019                                            First Class Mail
Chartered Organization         Lds Great Bend Ward ‐ Salina Stake                       Quivira Council, Bsa 198               5851 Eisenhower Ave                                     Great Bend, KS 67530‐3139                                   First Class Mail
Chartered Organization         Lds Great Bridge Ward                                    Chesapeake Stake                       412 Peaceful Rd                                         Chesapeake, VA 23322‐2247                                   First Class Mail
Chartered Organization         Lds Great Falls 1St Wd                                   Great Falls E Stake                    1015 15Th Ave S                                         Great Falls, MT 59405‐4547                                  First Class Mail
Chartered Organization         Lds Great Falls Ward Mclean Stake                        National Capital Area Council 082      1325 Scotts Run Rd                                      Mclean, VA 22102                                            First Class Mail
Chartered Organization         Lds Great Oaks Ward Round Rock Stake                     Capitol Area Council 564               8140 Racine Trl                                         Austin, TX 78717‐4916                                       First Class Mail
Chartered Organization         Lds Great Sky Ward ‐ Boise Stk                           Ore‐Ida Council 106 ‐ Bsa 106          80686 N Halter Way                                      Boise, ID 83714                                             First Class Mail
Chartered Organization         Lds Green Bay 1St Ward                                   Green Bay Wi Stake                     651 Pinehurst Ave                                       Green Bay, WI 54302‐4257                                    First Class Mail
Chartered Organization         Lds Green Bay 2Nd Ward                                   Green Bay Wi Stake                     651 Pinehurst Ave                                       Green Bay, WI 54302‐4257                                    First Class Mail
Chartered Organization         Lds Green Canyon Ward                                    North Logan Stake                      2750 N 800 E                                            North Logan, UT 84341‐1506                                  First Class Mail
Chartered Organization         Lds Green Mtn 2Nd Ward, Lakewood Stake                   Denver Area Council 061                13206 W Green Mtn Dr                                    Lakewood, CO 80228‐3515                                     First Class Mail
Chartered Organization         Lds Green Mtn Ward, Front Range Stake                    Denver Area Council 061                13206 W Green Mtn Dr                                    Lakewood, CO 80228‐3515                                     First Class Mail
Chartered Organization         Lds Green Park Ward (Lehi)                               Utah National Parks 591                1929 W 1500 N                                           Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Green River 1St Ward                                 Green River Stake                      1000 W 4Th North St                                     Green River, WY 82935‐4044                                  First Class Mail
Chartered Organization         Lds Green River 3Rd Ward                                 Green River Stake                      1000 W 4Th North St                                     Green River, WY 82935‐4044                                  First Class Mail
Chartered Organization         Lds Green River 4Th Ward                                 Green River Stake                      120 Shoshone Ave                                        Green River, WY 82935‐5319                                  First Class Mail
Chartered Organization         Lds Green River 5Th Ward                                 Green River Stake                      1255 W Teton                                            Green River, WY 82935                                       First Class Mail
Chartered Organization         Lds Green River 6Th Ward                                 Green River Stake                      120 Shoshone Ave                                        Green River, WY 82935‐5319                                  First Class Mail
Chartered Organization         Lds Green River 7Th Ward                                 Green River Stake                      1255 W Teton                                            Green River, WY 82935                                       First Class Mail
Chartered Organization         Lds Green River First Ward                               Utah National Parks 591                101 N Clark St                                          Green River, UT 84525                                       First Class Mail
Chartered Organization         Lds Green River Ward Auburn Stake                        Chief Seattle Council 609              625 M St Ne                                             Auburn, WA 98002‐4507                                       First Class Mail
Chartered Organization         Lds Green Tree Ward ‐ Hesperia Stake                     California Inland Empire Council 045   13920 Victoria Dr                                       Victorville, CA 92395‐5608                                  First Class Mail
Chartered Organization         Lds Green Valley Fifth Ward                              Utah National Parks 591                124 N Valley View Dr                                    St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Green Valley First Ward                              Utah National Parks 591                511 S Valley View Dr                                    St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Green Valley Fourth Ward                             Utah National Parks 591                26 N Stone Mountain Dr                                  St George, UT 84770‐8010                                    First Class Mail
Chartered Organization         Lds Green Valley Ninth Ward                              Utah National Parks 591                1940 Everest Dr                                         St George, UT 84770‐6978                                    First Class Mail
Chartered Organization         Lds Green Valley Second Ward                             Utah National Parks 591                511 S Valley View Dr                                    St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Green Valley Seventh Ward                            Utah National Parks 591                511 S Valley View Dr                                    St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Green Valley Sixth Ward                              Utah National Parks 591                124 N Valley View Dr                                    St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Green Valley Third Ward                              Utah National Parks 591                450 S Indian Hills                                      St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Green Valley Ward ‐ Mer Victory Stk                  Ore‐Ida Council 106 ‐ Bsa 106          1695 E Amity Rd                                         Meridian, ID 83642                                          First Class Mail
Chartered Organization         Lds Green Valley Ward El Dorado Stake                    Golden Empire Council 047              3431 Hacienda Dr                                        Cameron Park, CA 95628                                      First Class Mail
Chartered Organization         Lds Green Valley Ward Green Valley Stake                 Las Vegas Area Council 328             410 N Valle Verde Dr                                    Henderson, NV 89014                                         First Class Mail
Chartered Organization         Lds Greenbriar Ward Paradise Stake                       Las Vegas Area Council 328             1725 Palora Ave                                         Las Vegas, NV 89169‐2591                                    First Class Mail
Chartered Organization         Lds Greeneville Branch                                   Sequoyah Council 713                   1109 Sun Valley Dr                                      Greeneville, TN 37745‐6337                                  First Class Mail
Chartered Organization         Lds Greenfield 1St Ward ‐ Chandler Az                    East Stake                             21320 S Greenfield Rd                                   Gilbert, AZ 85298‐9309                                      First Class Mail
Chartered Organization         Lds Greenfield 2Nd Ward ‐ Chandler Az                    East Stake                             4346 S Val Vista Dr                                     Gilbert, AZ 85297                                           First Class Mail
Chartered Organization         Lds Greenfield 3Rd Ward ‐ Chandler Az                    East Stake                             21320 S Greenfield Rd                                   Gilbert, AZ 85298‐9309                                      First Class Mail
Chartered Organization         Lds Greenfield 4Th Ward ‐ Chandler Az                    East Stake                             2051 E Coconino Ct                                      Gilbert, AZ 85298‐6130                                      First Class Mail
Chartered Organization         Lds Greenfield Acres Ward ‐ Qc Az                        Chandler Heights Stake                 7361 S Constellation Way                                Gilbert, AZ 85298                                           First Class Mail
Chartered Organization         Lds Greenfield Park Ward ‐ Mesa Az                       Kimball E Stake                        1249 S 48Th St                                          Mesa, AZ 85206‐2770                                         First Class Mail
Chartered Organization         Lds Greenfield Ward ‐ Mesa Az                            Alta Mesa Stake                        1550 N Val Vista Dr                                     Mesa, AZ 85213‐3216                                         First Class Mail
Chartered Organization         Lds Greenfield Ward ‐ Monterey Stake                     Silicon Valley Monterey Bay 055        1145 Oak Ave                                            Greenfield, CA 93927                                        First Class Mail
Chartered Organization         Lds Greenfield Ward/Cntrvll Ut North Stk                 Great Salt Lake Council 590            1298 N 400 W                                            Centerville, UT 84014                                       First Class Mail
Chartered Organization         Lds Greenhill Ward ‐ Mer Stk                             Ore‐Ida Council 106 ‐ Bsa 106          Locust Grove and Franklin                               Meridian, ID 83642                                          First Class Mail
Chartered Organization         Lds Greenridge Ward                                      Utah National Parks 591                711 S 600 E                                             Payson, UT 84651‐2955                                       First Class Mail
Chartered Organization         Lds Greens Lake Ward                                     Utah National Parks 591                1458 S 700 W                                            Cedar City, UT 84720‐4381                                   First Class Mail
Chartered Organization         Lds Greensburg Ward                                      North Pittsburgh Stake                 152 Twin Run Rd                                         Greensburg, PA 15601‐6994                                   First Class Mail
Chartered Organization         Lds Greensburg Ward/Pittsburgh Stake                     Westmoreland Fayette 512               Twin Run Rd                                             Greensburg, PA 15601                                        First Class Mail
Chartered Organization         Lds Greenville                                           Lincoln Heritage Council 205           1350 State Rte 2533                                     Greenville, KY 42345                                        First Class Mail
Chartered Organization         Lds Greenville ‐ Grand Rapids Stake                      President Gerald R Ford 781            10700 W Carson City Rd                                  Greenville, MI 48838                                        First Class Mail
Chartered Organization         Lds Greenville Ward                                      Blue Ridge Council 551                 400 Farrs Bridge Rd                                     Greenville, SC 29617                                        First Class Mail
Chartered Organization         Lds Greenville Ward                                      Utah National Parks 591                Hc 74 Box 5102                                          Greenville, UT 84731‐5116                                   First Class Mail
Chartered Organization         Lds Greenville‐2                                         Blue Ridge Council 551                 1301 Boiling Springs Rd                                 Greer, SC 29650                                             First Class Mail
Chartered Organization         Lds Greenville‐5Th Ward                                  Blue Ridge Council 551                 1301 Boiling Springs Rd                                 Greer, SC 29650                                             First Class Mail
Chartered Organization         Lds Greenway Ward ‐ Paradise Valley Az Stk               Grand Canyon Council 010               4242 E Waltann Ln                                       Phoenix, AZ 85032‐4116                                      First Class Mail
Chartered Organization         Lds Greenwich Ward, Albany Stake                         Twin Rivers Council 364                111 Academy St                                          Greenwich, NY 12834                                         First Class Mail
Chartered Organization         Lds Greenwood Village Ward, Denver Stake                 Denver Area Council 061                6061 S Havana St                                        Englewood, CO 80111                                         First Class Mail
Chartered Organization         Lds Greenwood Ward, Fort Smith Stake                     Westark Area Council 016               2977 E State Hwy 10                                     Booneville, AR 72927‐6920                                   First Class Mail
Chartered Organization         Lds Gregson Ward/S L Grant Stk                           Great Salt Lake Council 590            3153 S 900 E                                            Salt Lake City, UT 84106                                    First Class Mail
Chartered Organization         Lds Gresham Ward ‐ Wausau Stake                          Samoset Council, Bsa 627               1230 Schabow St                                         Gresham, WI 54128                                           First Class Mail
Chartered Organization         Lds Gretna Branch Papillion Stake                        Mid‐America Council 326                6820 S 164Th Ave                                        Omaha, NE 68136                                             First Class Mail
Chartered Organization         Lds Gridley 1St Ward Gridley Stake                       Golden Empire Council 047              P.O. Box 1219                                           Biggs, CA 95917‐1219                                        First Class Mail
Chartered Organization         Lds Gridley 3Rd Ward Gridley Stake                       Golden Empire Council 047              400 Spruce St                                           Gridley, CA 95948‐2262                                      First Class Mail
Chartered Organization         Lds Griffin Ward Fayetteville Ga Stake                   Flint River Council 095                605 Maddox Rd                                           Griffin, GA 30224‐5267                                      First Class Mail
Chartered Organization         Lds Griffith Park Ward Beaverton Stake                   Cascade Pacific Council 492            4195 Sw 99Th Ave                                        Beaverton, OR 97005‐3325                                    First Class Mail
Chartered Organization         Lds Grove 1St Ward ‐ Chandler Az South Stk               Grand Canyon Council 010               3770 S Cooper Rd                                        Chandler, AZ 85249                                          First Class Mail
Chartered Organization         Lds Grove 2Nd Ward ‐ Chandler Az South Stk               Grand Canyon Council 010               3770 S Cooper Rd                                        Chandler, AZ 85249                                          First Class Mail
Chartered Organization         Lds Grove 3Rd Ward ‐ Chandler Az South Stk               Grand Canyon Council 010               6345 S Lindsay Rd                                       Chandler, AZ 85249                                          First Class Mail
Chartered Organization         Lds Grove Creek Eighth Ward                              Utah National Parks 591                1176 N 730 E                                            Pleasant Grove, UT 84062‐1989                               First Class Mail
Chartered Organization         Lds Grove Creek Fifth Ward                               Utah National Parks 591                475 N 700 E                                             Pleasant Grove, UT 84062‐2449                               First Class Mail
Chartered Organization         Lds Grove Creek First Ward                               Utah National Parks 591                1176 N 730 E                                            Pleasant Grove, UT 84062‐1989                               First Class Mail
Chartered Organization         Lds Grove Creek Fourth Ward                              Utah National Parks 591                942 N 500 E                                             Pleasant Grove, UT 84062‐1814                               First Class Mail
Chartered Organization         Lds Grove Creek Second Ward                              Utah National Parks 591                475 N 700 E                                             Pleasant Grove, UT 84062‐2449                               First Class Mail
Chartered Organization         Lds Grove Creek Seventh Ward                             Utah National Parks 591                942 N 500 E                                             Pleasant Grove, UT 84062‐1814                               First Class Mail
Chartered Organization         Lds Grove Creek Sixth Ward                               Utah National Parks 591                977 E 1000 N                                            Pleasant Grove, UT 84062‐2044                               First Class Mail
Chartered Organization         Lds Grove Creek Tenth Ward                               Utah National Parks 591                475 N 700 E                                             Pleasant Grove, UT 84062‐2449                               First Class Mail
Chartered Organization         Lds Grove Eighth Ward                                    Utah National Parks 591                289 S 1000 W Apt 302                                    Pleasant Grove, UT 84062‐5149                               First Class Mail
Chartered Organization         Lds Grove First Ward                                     Utah National Parks 591                1373 W 110 N                                            Pleasant Grove, UT 84062‐3549                               First Class Mail
Chartered Organization         Lds Grove First Ward                                     Utah National Parks 591                1377 W 110 N                                            Pleasant Grove, UT 84062‐3549                               First Class Mail
Chartered Organization         Lds Grove Fourth Ward                                    Utah National Parks 591                1225 W Dallin Dr Apt Q104                               Pleasant Grove, UT 84062‐2911                               First Class Mail
Chartered Organization         Lds Grove Ninth Ward                                     Utah National Parks 591                38 S 1630 W                                             Pleasant Grove, UT 84062‐3097                               First Class Mail
Chartered Organization         Lds Grove Park Cumberland                                Great Smoky Mountain Council 557       6024 Grove Dr                                           Knoxville, TN 37918                                         First Class Mail
Chartered Organization         Lds Grove Park Fifth Ward                                Utah National Parks 591                67 E Zen Rd                                             Vineyard, UT 84059‐5695                                     First Class Mail
Chartered Organization         Lds Grove Park First Ward                                Utah National Parks 591                342 W Serenity Ct                                       Vineyard, UT 84059‐5579                                     First Class Mail
Chartered Organization         Lds Grove Park Fourth Ward                               Utah National Parks 591                318 W Serenity Ct                                       Vineyard, UT 84059‐5579                                     First Class Mail
Chartered Organization         Lds Grove Park Second Ward                               Utah National Parks 591                90 N 600 W                                              Orem, UT 84058                                              First Class Mail
Chartered Organization         Lds Grove Park Third Ward                                Utah National Parks 591                454 E Rue De Paris                                      Vineyard, UT 84059‐5697                                     First Class Mail
Chartered Organization         Lds Grove Second Ward                                    Utah National Parks 591                684 S 2150 W Apt 101                                    Pleasant Grove, UT 84062‐3596                               First Class Mail
Chartered Organization         Lds Grove Sixth Ward                                     Utah National Parks 591                1136 W 50 N                                             Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Grove Tenth Ward                                     Utah National Parks 591                1526 W 140 N                                            Pleasant Grove, UT 84062‐3079                               First Class Mail
Chartered Organization         Lds Grove Third Ward                                     Utah National Parks 591                656 S 910 W Unit 25                                     Pleasant Grove, UT 84062‐2397                               First Class Mail
Chartered Organization         Lds Grove Ward                                           Utah National Parks 591                455 E 200 S                                             Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Grover Hill Ward ‐ St Johns Az Stk                   Grand Canyon Council 010               2000 W Cleveland St                                     St Johns, AZ 85936‐4537                                     First Class Mail
Chartered Organization         Lds Groves Ward ‐ Mesa Az                                Mountain View Stake                    1550 N Val Vista Dr                                     Mesa, AZ 85213‐3216                                         First Class Mail
Chartered Organization         Lds Gulf Breeze Ward                                     Gulf Coast Council 773                 1751 Sea Lark Ln                                        Navarre, FL 32566‐7407                                      First Class Mail
Chartered Organization         Lds Gunlock Ward                                         Utah National Parks 591                Hc 69 Box 79                                            Gunlock, UT 84733                                           First Class Mail
Chartered Organization         Lds Gunnison Bend                                        Utah National Parks 591                1199 S 1950 W                                           Delta, UT 84624‐7970                                        First Class Mail
Chartered Organization         Lds Gunnison Branch/Montrose Stake                       Denver Area Council 061                810 N 11Th St                                           Gunnison, CO 81230‐2807                                     First Class Mail
Chartered Organization         Lds Gunnison Fifth Ward                                  Utah National Parks 591                210 S Main                                              Centerfield, UT 84622                                       First Class Mail
Chartered Organization         Lds Gunnison First Ward                                  Utah National Parks 591                80 W Center St                                          Gunnison, UT 84634                                          First Class Mail
Chartered Organization         Lds Gunnison Second Ward                                 Utah National Parks 591                P.O. Box 545                                            Gunnison, UT 84634‐0545                                     First Class Mail
Chartered Organization         Lds Gunnison Third Ward                                  Utah National Parks 591                80 W Center St                                          Gunnison, UT 84634                                          First Class Mail
Chartered Organization         Lds Guntersville Ward                                    Greater Alabama Council 001            4961 Spring Creek Dr                                    Guntersville, AL 35976‐2813                                 First Class Mail
Chartered Organization         Lds Gurnee 1St Ward, Buffalo Grove Stake                 Northeast Illinois 129                 411 N Oplaine Rd                                        Gurnee, IL 60031‐2638                                       First Class Mail
Chartered Organization         Lds Gushikawa Servicemens Branch                         Far E Council 803                      Psc 80 Box 20494                                        Apo, AP 96367‐0089                                          First Class Mail
Chartered Organization         Lds Guthrie Ward Stillwater Stake                        Last Frontier Council 480              5326 Ellie Mae Dr                                       Guthrie, OK 73044                                           First Class Mail
Chartered Organization         Lds Hacienda Heights 1St Ward                            Hacienda Heights Stake 718             16750 Colima Rd                                         Hacienda Heights, CA 91745‐5640                             First Class Mail
Chartered Organization         Lds Hacienda Heights 2Nd Ward                            Hacienda Heights Stake 719             1415 Turnbull Canyon Rd                                 Hacienda Heights, CA 91745‐2601                             First Class Mail
Chartered Organization         Lds Hacienda Heights Ward                                Spring Mountain Stake                  6325 W Hacienda Ave                                     Las Vegas, NV 89113                                         First Class Mail
Chartered Organization         Lds Hacienda Ward Paradise Stake                         Las Vegas Area Council 328             2275 E Tropicana Ave                                    Las Vegas, NV 89119‐6575                                    First Class Mail
Chartered Organization         Lds Hagerstown Ward Martinsburg Stake                    Mason Dixon Council 221                1253 Mt Aetna Rd                                        Hagerstown, MD 21742                                        First Class Mail
Chartered Organization         Lds Haight Bench Ward                                    Haight Creek Stake                     1650 S 500 E                                            Kaysville, UT 84037                                         First Class Mail
Chartered Organization         Lds Haines Ward Abq Stake                                Great Swest Council 412                5709 Haines Ave Ne                                      Albuquerque, NM 87110‐5203                                  First Class Mail
Chartered Organization         Lds Halawa Ward ‐ Honolulu West Stake                    Aloha Council, Bsa 104                 99‐641 Pohue St                                         Aiea, HI 96701                                              First Class Mail
Chartered Organization         Lds Half Moon Bay Ward, San Mateo Stake                  Pacific Skyline Council 031            475 California Ave                                      Moss Beach, CA 94038                                        First Class Mail
Chartered Organization         Lds Hallmark Ward ‐ San Bernardino Stake                 California Inland Empire Council 045   1475 Northpark Blvd                                     San Bernardino, CA 92407‐5035                               First Class Mail
Chartered Organization         Lds Hamilton Fort Ward                                   Utah National Parks 591                1650 W Center St                                        Cedar City, UT 84720                                        First Class Mail
Chartered Organization         Lds Hamilton Mill Ward ‐ Sugar Hill Stake                Northeast Georgia Council 101          4735 Cash Rd                                            Flowery Branch, GA 30542                                    First Class Mail
Chartered Organization         Lds Hamilton Ridge Ward/Herriman Ut Stk                  Great Salt Lake Council 590            5562 W 13680 S                                          Herriman, UT 84096                                          First Class Mail
Chartered Organization         Lds Hamilton Ward Ashburn Stake                          National Capital Area Council 082      15 N Reid St                                            Hamilton, VA 20158                                          First Class Mail
Chartered Organization         Lds Hamilton Ward Cincinnati North Stake                 Dan Beard Council, Bsa 438             4831 Pleasant Ave                                       Fairfield, OH 45014                                         First Class Mail
Chartered Organization         Lds Hamilton Ward, Stevensville Stake                    Montana Council 315                    801 Pine St                                             Hamilton, MT 59840                                          First Class Mail
Chartered Organization         Lds Hammond Ward ‐ Denham Springs Stake                  Istrouma Area Council 211              701 Rue St Michael                                      Hammond, LA 70403‐5347                                      First Class Mail
Chartered Organization         Lds Hammond Ward Bloomfield Stake                        Great Swest Council 412                902 W Blanco Blvd                                       Bloomfield, NM 87413‐5029                                   First Class Mail
Chartered Organization         Lds Hampden Hill Ward, Aurora S Stake                    Denver Area Council 061                5175 S Picadilly St                                     Aurora, CO 80015‐3313                                       First Class Mail
Chartered Organization         Lds Hampstead Ward/Wilmington Nc Stake                   Cape Fear Council 425                  102 Deerfield Dr                                        Hampstead, NC 28443‐2134                                    First Class Mail
Chartered Organization         Lds Hampton Ward ‐ Boise Central Stk                     Ore‐Ida Council 106 ‐ Bsa 106          2323 N Maple Grove Rd                                   Boise, ID 83704‐6939                                        First Class Mail
Chartered Organization         Lds Hampton Ward ‐ Mesa Az Clearview Stk                 Grand Canyon Council 010               1007 S 72Nd St                                          Mesa, AZ 85208‐2703                                         First Class Mail
Chartered Organization         Lds Hana Branch, Kahului Hi Stake                        Aloha Council, Bsa 104                 P.O. Box 383                                            Hana, HI 96713‐0383                                         First Class Mail
Chartered Organization         Lds Hancock Ward, Martinsburg Stake                      Mason Dixon Council 221                200 Douglas Ave                                         Hancock, MD 21750‐1008                                      First Class Mail
Chartered Organization         Lds Hanksville Ward                                      Utah National Parks 591                P.O. Box 128                                            Hanksville, UT 84734‐0128                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                    Page 211 of 442
                                                                                Case 20-10343-LSS                                 Doc 8171                                    Filed 01/06/22                                                  Page 227 of 457
                                                                                                                                                                 Exhibit B
                                                                                                                                                                  Service List
                                                                                                                                                           Served as set forth below

        Description                                                      Name                                                                                  Address                                                                                                Email              Method of Service
Chartered Organization         Lds Hannibal Ward ‐ Nauvoo Stake                        Attn: Pres Fred Cruse                 9 Stillwell Pl                                          Hannibal, MO 63401‐3462                                                                  First Class Mail
Chartered Organization         Lds Hanover Ward Concord Stake                          Daniel Webster Council, Bsa 330       667 Dartmouth College Hwy                               Lebanon, NH 03766                                                                        First Class Mail
Chartered Organization         Lds Hanover Ward, Chambersburg Stake                    New Birth Of Freedom 544              1170 Kohler Mill Rd                                     New Oxford, PA 17350‐9242                                                                First Class Mail
Chartered Organization         Lds Hansen Meadows Ward                                 Syracuse Bluff Stake                  Trapper Trails 589                                      2500 S Bluff Rd                   Syracuse Bluff Stake      Syracuse, Ut 84075           First Class Mail
Chartered Organization         Lds Harber Ward Springdale Stake                        Westark Area Council 016              6738 Lynchs Prairie Cove                                Springdale, AR 72762                                                                     First Class Mail
Chartered Organization         Lds Harbor 4Th Ward 370 (Samoan)                        Greater Los Angeles Area 033          22721 Main St                                           Carson, CA 90745‐4516                                                                    First Class Mail
Chartered Organization         Lds Harbor Bay Ward                                     Utah National Parks 591               92 E Turnbuckle Rd                                      Saratoga Springs, UT 84045‐6536                                                          First Class Mail
Chartered Organization         Lds Harbor First Ward                                   Utah National Parks 591               600 S 100 W                                             American Fork, UT 84003                                                                  First Class Mail
Chartered Organization         Lds Harbor Second Ward                                  Utah National Parks 591               600 S 100 W                                             American Fork, UT 84003                                                                  First Class Mail
Chartered Organization         Lds Harbor Third Ward                                   Utah National Parks 591               600 S 100 W                                             American Fork, UT 84003                                                                  First Class Mail
Chartered Organization         Lds Harbour Pointe Ward Lynnwood Stake                  Mount Baker Council, Bsa 606          11001 Harbour Pointe Blvd                               Mukilteo, WA 98275                                                                       First Class Mail
Chartered Organization         Lds Hardin Valley Knoxvillle                            Great Smoky Mountain Council 557      11837 Grigsby Chapel Rd                                 Knoxville, TN 37934                                                                      First Class Mail
Chartered Organization         Lds Harlem 1St Ward/New York Stake                      Greater New York Councils, Bsa 640    360 Malcolm X Blvd                                      New York, NY 10027‐3132                                                                  First Class Mail
Chartered Organization         Lds Harlem 2Nd Ward/New York Stake                      Greater New York Councils, Bsa 640    360‐368 Lenox Ave, 3rd Fl                               New York, NY 10027                                                                       First Class Mail
Chartered Organization         Lds Harlem Ward                                         Georgia‐Carolina 093                  470 N Louisville St                                     Harlem, GA 30814                                                                         First Class Mail
Chartered Organization         Lds Harman Ward/S L Granger South Stk                   Great Salt Lake Council 590           4634 W Harman Dr                                        West Valley City, UT 84120                                                               First Class Mail
Chartered Organization         Lds Harmony Bluff Ward                                  Syracuse South Stake                  3065 S Bluff Rd                                         Syracuse, UT 84075                                                                       First Class Mail
Chartered Organization         Lds Harmony Hills Ward N Las Vegas Stake                Las Vegas Area Council 328            1416 Patrick Thomas Ct                                  North Las Vegas, NV 89086‐1611                                                           First Class Mail
Chartered Organization         Lds Harmony Park Ward                                   S L Granite Park Stake                3805 S Main St                                          Salt Lake City, UT 84115                                                                 First Class Mail
Chartered Organization         Lds Harmony Park Ward ‐ Mesa Az                         Kimball Stake                         1266 S 32Nd St                                          Mesa, AZ 85204                                                                           First Class Mail
Chartered Organization         Lds Harmony Place Ward                                  Layton Legacy Stake                   752 N 3700 W                                            Layton, UT 84041                                                                         First Class Mail
Chartered Organization         Lds Harmony Ward ‐ Mesa Az Stk                          Grand Canyon Council 010              1415 E Sern Ave                                         Mesa, AZ 85204                                                                           First Class Mail
Chartered Organization         Lds Harmony Ward Vancouver East Stake                   Cascade Pacific Council 492           18300 Ne 18Th St                                        Vancouver, WA 98684                                                                      First Class Mail
Chartered Organization         Lds Harper Park Ward                                    Huntington Beach Stake                19191 17Th St                                           Huntington Beach, CA 92648                                                               First Class Mail
Chartered Organization         Lds Harper Ward                                         Brigham City North Stake              620 N 300 E                                             Brigham City, UT 84302‐1362                                                              First Class Mail
Chartered Organization         Lds Harpers Ferry Ward                                  Winchester,Va Stake                   343 Carriage Dr                                         Harpers Ferry, WV 25425‐9600                                                             First Class Mail
Chartered Organization         Lds Harrington Ward ‐ Dover De Stake                    Del Mar Va 081                        110 E Lucky Estates Dr                                  Harrington, DE 19952‐2493                                                                First Class Mail
Chartered Organization         Lds Harris 1St Ward ‐ Mesa Az Central Stk               Grand Canyon Council 010              1455 N Harris Dr                                        Mesa, AZ 85203‐3828                                                                      First Class Mail
Chartered Organization         Lds Harris 2Nd Ward ‐ Mesa Az Central Stk               Grand Canyon Council 010              1445 N Harris Dr                                        Mesa, AZ 85203                                                                           First Class Mail
Chartered Organization         Lds Harris Park Ward ‐ Mesa Az Lehi Stk                 Grand Canyon Council 010              2220 N Harris Dr                                        Mesa, AZ 85203                                                                           First Class Mail
Chartered Organization         Lds Harrisburg Ward Harrisburg Stake                    New Birth Of Freedom 544              4788 Union Deposit Rd                                   Harrisburg, PA 17111‐3729                                                                First Class Mail
Chartered Organization         Lds Harrison Park Ward ‐ Derby Stake                    Quivira Council, Bsa 198              2300 N Buckner St                                       Derby, KS 67037‐3844                                                                     First Class Mail
Chartered Organization         Lds Harrison Ward                                       Spgfield, Mo S Stake                  P.O. Box 171                                            Lead Hill, AR 72644‐0171                                                                 First Class Mail
Chartered Organization         Lds Harrisonville Ward Kcmo Stake                       Heart Of America Council 307          451 Sw State Rte 150                                    Lees Summit, MO 64082                                                                    First Class Mail
Chartered Organization         Lds Harrisville 10Th Ward                               Harrisville Stake                     1560 N 200 W                                            Harrisville, UT 84404                                                                    First Class Mail
Chartered Organization         Lds Harrisville 1St Ward                                Harrisville Stake                     435 W Harrisville Rd                                    Harrisville, UT 84404                                                                    First Class Mail
Chartered Organization         Lds Harrisville 2Nd Ward                                Harrisville Stake                     435 W Harrisville Rd                                    Harrisville, UT 84404                                                                    First Class Mail
Chartered Organization         Lds Harrisville 3Rd Ward                                Harrisville Stake                     1560 N 200 W                                            Harrisville, UT 84404                                                                    First Class Mail
Chartered Organization         Lds Harrisville 4Th Ward                                Pleasant View South Stake             480 W 2000 N                                            Harrisville, UT 84414                                                                    First Class Mail
Chartered Organization         Lds Harrisville 5Th Ward                                Pleasant View South Stake             2360 N 600 W                                            Harrisville, UT 84414                                                                    First Class Mail
Chartered Organization         Lds Harrisville 6Th Ward                                Harrisville Stake                     113 Childs Ave                                          Harrisville, UT 84404‐3921                                                               First Class Mail
Chartered Organization         Lds Harrisville 7Th Ward                                Harrisville Stake                     1560 N 200 W                                            Harrisville, UT 84404                                                                    First Class Mail
Chartered Organization         Lds Harrisville 8Th Ward                                Harrisville Stake                     113 Childs Ave                                          Ogden, UT 84404‐3921                                                                     First Class Mail
Chartered Organization         Lds Harrisville 9Th Ward                                Harrisville Stake                     435 W Harrisville Rd                                    Harrisville, UT 84404                                                                    First Class Mail
Chartered Organization         Lds Hart ‐ Grand Rapids Stake                           President Gerald R Ford 781           2852 N 72Nd Ave                                         Hart, MI 49420‐7904                                                                      First Class Mail
Chartered Organization         Lds Hart Grand Rapids Stake                             President Gerald R Ford 781           2852 N 72Nd Ave                                         Hart, MI 49420‐7904                                                                      First Class Mail
Chartered Organization         Lds Hartford Stake Avon Ward                            Connecticut Rivers Council, Bsa 066   27 Lawton Rd                                            Canton, CT 06019‐2208                                                                    First Class Mail
Chartered Organization         Lds Hartford Stake Bloomfield Ward                      Connecticut Rivers Council, Bsa 066   11 Spice Bush Ln                                        Bloomfield, CT 06002‐1677                                                                First Class Mail
Chartered Organization         Lds Hartford Stake Canton Ward                          Connecticut Rivers Council, Bsa 066   47 Bart Dr                                              Collinsville, CT 06019‐3045                                                              First Class Mail
Chartered Organization         Lds Hartford Stake Ellington Ward                       Connecticut Rivers Council, Bsa 066   2 Maple St                                              Ellington, CT 06029‐3327                                                                 First Class Mail
Chartered Organization         Lds Hartford Stake Glastonbury Ward                     Connecticut Rivers Council, Bsa 066   60 Carriage Dr                                          South Windsor, CT 06074‐2104                                                             First Class Mail
Chartered Organization         Lds Hartford Stake Glastonbury Ward                     Connecticut Rivers Council, Bsa 066   83 Murray Rd                                            South Windsor, CT 06074‐2322                                                             First Class Mail
Chartered Organization         Lds Hartford Stake Goshen Ward                          Connecticut Rivers Council, Bsa 066   Rr 63                                                   Goshen, CT 06756                                                                         First Class Mail
Chartered Organization         Lds Hartford Stake Hartford Ward                        Connecticut Rivers Council, Bsa 066   1000 Mountain Rd                                        Bloomfield, CT 06002‐2269                                                                First Class Mail
Chartered Organization         Lds Hartford Stake Manchester Ward                      Connecticut Rivers Council, Bsa 066   30 Woodside St                                          Manchester, CT 06040‐6339                                                                First Class Mail
Chartered Organization         Lds Hartley Park Ward Gresham Stake                     Cascade Pacific Council 492           3600 Se 182Nd Ave                                       Gresham, OR 97030                                                                        First Class Mail
Chartered Organization         Lds Hartman Park Ward Redmond Stake                     Chief Seattle Council 609             10115 172Nd Ave Ne                                      Redmond, WA 98052                                                                        First Class Mail
Chartered Organization         Lds Hartwood Ward                                       Stafford Virginia Stake               20 Boscobel Rd                                          Fredericksburg, VA 22405‐1800                                                            First Class Mail
Chartered Organization         Lds Harvard Ward Roseburg Stake                         Oregon Trail Council 697              2001 W Bertha Ave                                       Roseburg, OR 97471‐2724                                                                  First Class Mail
Chartered Organization         Lds Harvest Hills Eighth Ward                           Utah National Parks 591               2101 N Providence Dr                                    Saratoga Springs, UT 84045                                                               First Class Mail
Chartered Organization         Lds Harvest Hills Eleventh Ward                         Utah National Parks 591               491 W Autumn Sky Dr                                     Saratoga Springs, UT 84045‐6513                                                          First Class Mail
Chartered Organization         Lds Harvest Hills Fifth Ward                            Utah National Parks 591               552 W Floribunda Dr                                     Saratoga Springs, UT 84045‐5054                                                          First Class Mail
Chartered Organization         Lds Harvest Hills First Ward                            Utah National Parks 591               270 W Harvest Hills Blvd                                Saratoga Springs, UT 84045                                                               First Class Mail
Chartered Organization         Lds Harvest Hills Fourth Ward                           Utah National Parks 591               1903 N Concord Pl                                       Saratoga Springs, UT 84045‐3890                                                          First Class Mail
Chartered Organization         Lds Harvest Hills Ninth Ward                            Utah National Parks 591               346 W Plum Pl                                           Saratoga Springs, UT 84045‐3799                                                          First Class Mail
Chartered Organization         Lds Harvest Hills Second Ward                           Utah National Parks 591               2256 N Providence Dr                                    Saratoga Springs, UT 84045                                                               First Class Mail
Chartered Organization         Lds Harvest Hills Seventh Ward                          Utah National Parks 591               2256 N Providence Dr                                    Saratoga Springs, UT 84045                                                               First Class Mail
Chartered Organization         Lds Harvest Hills Sixth                                 Utah National Parks 591               2181 N Harvest Moon Dr                                  Saratoga Springs, UT 84045                                                               First Class Mail
Chartered Organization         Lds Harvest Hills Tenth Ward                            Utah National Parks 591               368 W Aspen Hills Blvd                                  Saratoga Springs, UT 84045                                                               First Class Mail
Chartered Organization         Lds Harvest Hills Third Ward                            Utah National Parks 591               1950 N Harvest Moon Dr                                  Saratoga Springs, UT 84045                                                               First Class Mail
Chartered Organization         Lds Harvest Park 1St Ward                               Riverton Ut Harvest Park Stake        12173 S 4000 W                                          Riverton, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Harvest Park 2Nd Ward                               Riverton Ut Harvest Park Stake        4501 W 11800 S                                          Riverton, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Harvest Park 3Rd Ward                               Riverton Ut Harvest Park Stake        4501 W 11800 S                                          Riverton, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Harvest Park 4Th Ward                               Riverton Ut Harvest Park Stake        12135 S 4000 W                                          Riverton, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Harvest Park 5Th Ward                               Riverton Ut Harvest Park Stake        4501 W 11800 S                                          Riverton, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Harvest Park Ward                                   S L Granger S Stake                   3671 S Oldham St                                        West Valley City, UT 84120                                                               First Class Mail
Chartered Organization         Lds Harvest Ridge Ward                                  Utah National Parks 591               1111 Meadow Sage Cir                                    Salem, UT 84653‐5578                                                                     First Class Mail
Chartered Organization         Lds Harvest Valley Ward ‐ Silver Creek Az               Stake                                 300 W Willow Ln                                         Taylor, AZ 85939                                                                         First Class Mail
Chartered Organization         Lds Harvestland Ward                                    Tville Ut N Central Stake             3120 W 4700 S                                           Salt Lake City, UT 84118                                                                 First Class Mail
Chartered Organization         Lds Haslet Ward ‐ Alliance Stake                        Longhorn Council 662                  500 W Bonds Ranch Rd                                    Haslet, TX 76052                                                                         First Class Mail
Chartered Organization         Lds Hastings ‐ Grand Rapids Stake                       President Gerald R Ford 781           571 N Airport Rd                                        Hastings, MI 49058‐9750                                                                  First Class Mail
Chartered Organization         Lds Hastings Farms 2Nd Ward ‐ Qc Az                     Central Stake                         20953 E Misty Ln                                        Queen Creek, AZ 85142‐5058                                                               First Class Mail
Chartered Organization         Lds Hastings Farms Ward ‐ Qc Az                         Central Stake                         21536 E Mewes Rd                                        Queen Creek, AZ 85142‐3111                                                               First Class Mail
Chartered Organization         Lds Hatch Ward                                          Utah National Parks 591               249 S 1 W                                               Hatch, UT 84735                                                                          First Class Mail
Chartered Organization         Lds Hauula 1St Ward ‐ Laie Stake                        Aloha Council, Bsa 104                54‐208 Hauula Homestead Rd                              Hauula, HI 96717                                                                         First Class Mail
Chartered Organization         Lds Hauula 2Nd Ward ‐ Laie Stake                        Aloha Council, Bsa 104                P.O. Box 836                                            Hauula, HI 96717‐0836                                                                    First Class Mail
Chartered Organization         Lds Hauula 3Rd Ward ‐ Laie Stake                        Aloha Council, Bsa 104                Lds Hauula 3rd Ward                                     Laie Stake                        Hauula, HI 96717                                       First Class Mail
Chartered Organization         Lds Hauula 4Th Ward ‐ Laie Stake                        Aloha Council, Bsa 104                54‐208 Hauula Homestead Rd                              Hauula, HI 96717                                                                         First Class Mail
Chartered Organization         Lds Hauula 5Th Ward ‐ Laie Stake                        Aloha Council, Bsa 104                P.O. Box 68                                             Laie, HI 96762‐0068                                                                      First Class Mail
Chartered Organization         Lds Hauula 6Th Ward ‐ Laie Stake                        Aloha Council, Bsa 104                55‐030 Kamehameha Hwy                                   Hauula, HI 96717                                                                         First Class Mail
Chartered Organization         Lds Haven Cove Ward ‐ Mer W Stk                         Ore‐Ida Council 106 ‐ Bsa 106         2176 N Ten Mile Rd                                      Meridian, ID 83642                                                                       First Class Mail
Chartered Organization         Lds Haven Ward Warm Springs Stake                       Las Vegas Area Council 328            7670 S Bruce St                                         Las Vegas, NV 89123‐1523                                                                 First Class Mail
Chartered Organization         Lds Haven Ward/South Salt Lake Stk                      Great Salt Lake Council 590           2280 S 300 E                                            Salt Lake City, UT 84115                                                                 First Class Mail
Chartered Organization         Lds Havre Ward, Great Falls East Stake                  Montana Council 315                   1315 Washington Ave                                     Havre, MT 59501‐5103                                                                     First Class Mail
Chartered Organization         Lds Hawaii Kai Ward                                     Honolulu Hawaii Stake                 219 Lunalilo Home Rd                                    Honolulu, HI 96825‐1806                                                                  First Class Mail
Chartered Organization         Lds Hawes Ward ‐ Mesa Az Boulder Creek Stk              Grand Canyon Council 010              2265 S Hawes Rd                                         Mesa, AZ 85209‐6741                                                                      First Class Mail
Chartered Organization         Lds Hawes Ward ‐ Qc Az West Stk                         Grand Canyon Council 010              19296 E Rosa Rd                                         Queen Creek, AZ 85142‐6076                                                               First Class Mail
Chartered Organization         Lds Hawks Landing First Ward                            Utah National Parks 591               213 Caracara St                                         Saratoga Springs, UT 84045‐6469                                                          First Class Mail
Chartered Organization         Lds Hawks Landing Second Ward                           Utah National Parks 591               2947 Swainson Ave                                       Saratoga Springs, UT 84045                                                               First Class Mail
Chartered Organization         Lds Hawthorn Ward                                       Utah National Parks 591               3149 E Tanoak Dr                                        St George, UT 84790‐1205                                                                 First Class Mail
Chartered Organization         Lds Hawthorne Ward Fallon South Stake                   Nevada Area Council 329               P.O. Box 1296                                           Hawthorne, NV 89415‐1296                                                                 First Class Mail
Chartered Organization         Lds Hawthorne Ward, Billings East Stake                 Montana Council 315                   1000 Wicks Ln                                           Billings, MT 59105                                                                       First Class Mail
Chartered Organization         Lds Haymarket Ward Gainesville Stake                    National Capital Area Council 082     14015 Glenkirk Rd                                       Gainesville, VA 20155                                                                    First Class Mail
Chartered Organization         Lds Haymarket Ward Gainesville Stake                    National Capital Area Council 082     14105 Glenkirk Rd                                       Gainesville, VA 20155                                                                    First Class Mail
Chartered Organization         Lds Hayward 1St Ward ‐ Hayward Stake                    San Francisco Bay Area Council 028    2000 Highland Blvd                                      Hayward, CA 94542‐1114                                                                   First Class Mail
Chartered Organization         Lds Hayward 2Nd Ward ‐ Hayward Stake                    San Francisco Bay Area Council 028    26101 Gading Rd                                         Hayward, CA 94544‐3217                                                                   First Class Mail
Chartered Organization         Lds Hayward Ward ‐ Hayward Stake                        San Francisco Bay Area Council 028    3551 Decoto Rd                                          Fremont, CA 94555‐3109                                                                   First Class Mail
Chartered Organization         Lds Hazeldale Ward Bvtn West Stake                      Cascade Pacific Council 492           5175 Sw 209Th Ave                                       Beaverton, OR 97007                                                                      First Class Mail
Chartered Organization         Lds Hazelewood Ward ‐ North County Stake                Greater St Louis Area Council 312     10445 Clayton Rd                                        St Louis, MO 63131‐2909                                                                  First Class Mail
Chartered Organization         Lds Hazelhurst Ward                                     Bennion Ut W Stake                    3045 Bernina Dr                                         Taylorsville City, UT 84129                                                              First Class Mail
Chartered Organization         Lds Hazelwood 5Th Ward ‐ N Cnty Stake                   Greater St Louis Area Council 312     6386 Howdershell Rd                                     Hazelwood, MO 63042‐1122                                                                 First Class Mail
Chartered Organization         Lds Hazelwood Ward ‐ North County Stake                 Greater St Louis Area Council 312     2245 S Old Hwy 94                                       St Charles, MO 63303‐3718                                                                First Class Mail
Chartered Organization         Lds Hazelwood Ward ‐ North County Stake                 Greater St Louis Area Council 312     66 Oak Valley Dr                                        St Peters, MO 63376                                                                      First Class Mail
Chartered Organization         Lds Heather Glen Ward                                   Layton North Stake                    1954 E Antelope Dr                                      Layton, UT 84040                                                                         First Class Mail
Chartered Organization         Lds Heather Ridge First Ward                            Utah National Parks 591               150 E 1750 N                                            Orem, UT 84057                                                                           First Class Mail
Chartered Organization         Lds Heather Ridge Fourth Ward                           Utah National Parks 591               620 Heather Rd                                          Orem, UT 84097                                                                           First Class Mail
Chartered Organization         Lds Heather Ridge Second Ward                           Utah National Parks 591               450 E 2000 N                                            Orem, UT 84097                                                                           First Class Mail
Chartered Organization         Lds Heather Ridge Seventh Ward                          Utah National Parks 591               600 Heather Rd                                          Orem, UT 84097                                                                           First Class Mail
Chartered Organization         Lds Heather Ridge Sixth Ward                            Utah National Parks 591               1505 N 145 E                                            Orem, UT 84097                                                                           First Class Mail
Chartered Organization         Lds Heather Ridge Third Ward                            Utah National Parks 591               450 E 2000 N                                            Orem, UT 84057                                                                           First Class Mail
Chartered Organization         Lds Heather Ridge Ward, Aurora S Stake                  Denver Area Council 061               740 Hudson St                                           Denver, CO 80220‐5224                                                                    First Class Mail
Chartered Organization         Lds Heatheridge Fifth Ward                              Utah National Parks 591               450 E 2000 N                                            Orem, UT 84097                                                                           First Class Mail
Chartered Organization         Lds Heatherwilde Ward, Austin Stake                     Capitol Area Council 564              700 N Heatherwilde Blvd                                 Pflugerville, TX 78660‐5811                                                              First Class Mail
Chartered Organization         Lds Heber Eighth Ward                                   Utah National Parks 591               600 Sfield Rd                                           Heber City, UT 84032                                                                     First Class Mail
Chartered Organization         Lds Heber Fifteenth Ward                                Utah National Parks 591               573 E 550 S                                             Heber City, UT 84032‐3876                                                                First Class Mail
Chartered Organization         Lds Heber Fifth Ward                                    Utah National Parks 591               150 N 200 W                                             Heber City, UT 84032                                                                     First Class Mail
Chartered Organization         Lds Heber First Ward                                    Utah National Parks 591               325 E 500 N                                             Heber City, UT 84032                                                                     First Class Mail
Chartered Organization         Lds Heber Fourteenth Ward                               Utah National Parks 591               1205 W 650 S                                            Heber City, UT 84032                                                                     First Class Mail
Chartered Organization         Lds Heber Fourth Ward                                   Utah National Parks 591               715 E 600 S                                             Heber City, UT 84032                                                                     First Class Mail
Chartered Organization         Lds Heber Ninth Ward                                    Utah National Parks 591               325 E 500 N                                             Heber City, UT 84032                                                                     First Class Mail
Chartered Organization         Lds Heber Seventh Ward                                  Utah National Parks 591               650 E 250 S                                             Heber City, UT 84032‐2149                                                                First Class Mail
Chartered Organization         Lds Heber Sixth Ward                                    Utah National Parks 591               1365 E Center St                                        Heber City, UT 84032                                                                     First Class Mail
Chartered Organization         Lds Heber Third Ward                                    Utah National Parks 591               240 E 400 S                                             Heber City, UT 84032                                                                     First Class Mail
Chartered Organization         Lds Heber Twelfth Ward                                  Utah National Parks 591               1205 W 650 S.                                           Heber City, UT 84032                                                                     First Class Mail
Chartered Organization         Lds Hebron Ward ‐ Valparaiso Stake                      Lasalle Council 165                   P.O. Box 73                                             Hebron, IN 46341‐0073                                                                    First Class Mail
Chartered Organization         Lds Hebron Ward Cincinnati Stake                        Dan Beard Council, Bsa 438            2965 Hebron Park Dr                                     Hebron, KY 41048                                                                         First Class Mail
Chartered Organization         Lds Hedges Creek Ward Tualatin Stake                    Cascade Pacific Council 492           22284 Sw Grahams Ferry Rd                               Tualatin, OR 97062                                                                       First Class Mail
Chartered Organization         Lds Hedgesville Ward, Martinsburg,Wv                    Shenandoah Area Council 598           93 Langston Blvd                                        Martinsburg, WV 25404‐6561                                                               First Class Mail
Chartered Organization         Lds Hegessy Ward/Sandy Ut Granite Stk                   Great Salt Lake Council 590           2535 E Newcastle Dr                                     Sandy, UT 84093                                                                          First Class Mail
Chartered Organization         Lds Heights Ward/Bntfl Ut Heights Stk                   Great Salt Lake Council 590           33 S Moss Hill Dr                                       Bountiful, UT 84010                                                                      First Class Mail
Chartered Organization         Lds Helena 1St Ward, Helena Stake                       Montana Council 315                   1610 E 6Th Ave                                          Helena, MT 59601‐4666                                                                    First Class Mail
Chartered Organization         Lds Helena 2Nd Ward, Helena Stake                       Montana Council 315                   1260 Otter Rd                                           Helena, MT 59602‐7636                                                                    First Class Mail
Chartered Organization         Lds Helena 3Rd Ward, Helena Stake                       Montana Council 315                   1610 E 6Th Ave                                          Helena, MT 59601‐4666                                                                    First Class Mail
Chartered Organization         Lds Helena 4Th Ward, Helena Stake                       Montana Council 315                   1260 Otter Rd                                           Helena, MT 59602‐7636                                                                    First Class Mail
Chartered Organization         Lds Helena 5Th Ward, Helena Stake                       Montana Council 315                   3655 Meadowlark Dr                                      East Helena, MT 59635‐3116                                                               First Class Mail
Chartered Organization         Lds Helena 6Th Ward                                     Montana Council 315                   1435 Williamsburg Rd                                    Helena, MT 59602‐7381                                                                    First Class Mail
Chartered Organization         Lds Helper Ward                                         Utah National Parks 591               150 Ridgeway St                                         Helper, UT 84526‐1306                                                                    First Class Mail
Chartered Organization         Lds Henderson Ward, Brighton Stake                      Denver Area Council 061               12005 E 119Th Ave                                       Commerce City, CO 80640‐7437                                                             First Class Mail
Chartered Organization         Lds Hendersonville 1St Ward                             Asheville, Nc Stake                   2005 Brevard Rd                                         Hendersonville, NC 28791‐3105                                                            First Class Mail
Chartered Organization         Lds Henefer 1St Ward/Coalville Ut Stk                   Great Salt Lake Council 590           708 N Main St                                           Henefer, UT 84033                                                                        First Class Mail
Chartered Organization         Lds Henefer 2Nd Ward/Coalville Ut Stk                   Great Salt Lake Council 590           708 N Main St                                           Henefer, UT 84033                                                                        First Class Mail
Chartered Organization         Lds Henrieville Ward                                    Utah National Parks 591               P.O. Box 246                                            Henrieville, UT 84736‐0246                                                               First Class Mail
Chartered Organization         Lds Henryetta Ward ‐ Tulsa Ok East Stake                Indian Nations Council 488            1501 N 5Th St                                           Henryetta, OK 74437                                                                      First Class Mail
Chartered Organization         Lds Henry's Fork Stake                                  Hibbard 1St Ward                      2000 N 3000 W                                           Rexburg, ID 83440                                                                        First Class Mail
Chartered Organization         Lds Henry's Fork Stake                                  Hibbard 3Rd Ward                      1729 N 3000 W                                           Rexburg, ID 83440‐3117                                                                   First Class Mail
Chartered Organization         Lds Henry's Fork Stake                                  Henry's Fork Ward                     3914 Spring Creek Dr                                    Rexburg, ID 83440‐3193                                                                   First Class Mail
Chartered Organization         Lds Henry's Fork Stake                                  Hibbard 2Nd Ward                      2437 W 3000 N                                           Rexburg, ID 83440‐3224                                                                   First Class Mail
Chartered Organization         Lds Henry's Fork Stake                                  Teton River Ward                      4711 N 495 W                                            Rexburg, ID 83440‐3243                                                                   First Class Mail
Chartered Organization         Lds Henry's Fork Stake ‐ Plano Ward                     Grand Teton Council 107               5119 W 5000 N                                           Rexburg, ID 83440‐3012                                                                   First Class Mail
Chartered Organization         Lds Henry's Fork Stake ‐ Salem 1St Ward                 Grand Teton Council 107               North Salem Rd                                          Rexburg, ID 83440                                                                        First Class Mail
Chartered Organization         Lds Henry's Fork Stake ‐ Salem 2Nd Ward                 Grand Teton Council 107               3470 N Salem Rd                                         Rexburg, ID 83440‐3284                                                                   First Class Mail
Chartered Organization         Lds Henry's Fork Stake ‐ Salem 3Rd Ward                 Grand Teton Council 107               3470 N Salem Rd                                         Rexburg, ID 83440‐3284                                                                   First Class Mail
Chartered Organization         Lds Heritage 10Th Ward                                  W J Ut Heritage Stake                 7645 S 3200 W                                           West Jordan, UT 84084‐2820                                                               First Class Mail
Chartered Organization         Lds Heritage 11Th (Samoan) Ward                         W J Ut Heritage Stake                 7336 S 3200 W                                           West Jordan, UT 84084‐2816                                                               First Class Mail
Chartered Organization         Lds Heritage 2Nd Ward                                   W J Ut Heritage Stake                 7645 S 3200 W                                           West Jordan, UT 84084‐2820                                                               First Class Mail
Chartered Organization         Lds Heritage 3Rd Ward                                   W J Ut Heritage Stake                 7336 S 3200 W                                           West Jordan, UT 84084‐2816                                                               First Class Mail
Chartered Organization         Lds Heritage 4Th Ward                                   W J Ut Heritage Stake                 7336 S 3200 W                                           West Jordan, UT 84084‐2816                                                               First Class Mail
Chartered Organization         Lds Heritage 5Th Ward                                   W J Ut Heritage Stake                 6772 S 3420 W                                           West Jordan, UT 84084‐5687                                                               First Class Mail
Chartered Organization         Lds Heritage 6Th Ward                                   W J Ut Heritage Stake                 6772 S 3420 W                                           West Jordan, UT 84084‐5687                                                               First Class Mail
Chartered Organization         Lds Heritage Park                                       Utah National Parks 591               290 W 1045 N                                            Cedar City, UT 84721                                                                     First Class Mail
Chartered Organization         Lds Heritage Park Branch                                Utah National Parks 591               260 E 1060 S                                            Ivins, UT 84738                                                                          First Class Mail
Chartered Organization         Lds Heritage Park Ward                                  Highlands Ranch Stake                 4195 E Wildcat Reserve Pkwy                             Highlands Ranch, CO 80126‐6800                                                           First Class Mail
Chartered Organization         Lds Heritage Park Ward                                  Mound Fort Stake                      250 N 1500 W                                            Ogden, UT 84404                                                                          First Class Mail
Chartered Organization         Lds Heritage Park Ward ‐ Mesa Az Stk                    Grand Canyon Council 010              233 E 10Th Ave                                          Mesa, AZ 85210‐8703                                                                      First Class Mail
Chartered Organization         Lds Heritage Park Ward Olathe Stake                     Heart Of America Council 307          15915 W 143Rd St                                        Olathe, KS 66062‐2055                                                                    First Class Mail
Chartered Organization         Lds Heritage Trail Ward, Austin Stake                   Capitol Area Council 564              700 N Heatherwilde Blvd                                 Pflugerville, TX 78660‐5811                                                              First Class Mail
Chartered Organization         Lds Heritage Ward                                       Utah National Parks 591               4561 N Buckboard St                                     Eagle Mountain, UT 84005                                                                 First Class Mail
Chartered Organization         Lds Heritage Ward ‐ Alliance Stake                      Longhorn Council 662                  2001 Willis Ln                                          Keller, TX 76248                                                                         First Class Mail
Chartered Organization         Lds Heritage Ward ‐ Sa Stake                            Alamo Area Council 583                10819 W Military Dr                                     San Antonio, TX 78251‐3904                                                               First Class Mail
Chartered Organization         Lds Heritage Ward (Palmyra)                             Utah National Parks 591               2371 E 1610 S                                           Spanish Fork, UT 84660‐8446                                                              First Class Mail
Chartered Organization         Lds Heritage Ward Hend Lake Mead Stake                  Las Vegas Area Council 328            1234 Racetrack                                          Henderson, NV 89015                                                                      First Class Mail
Chartered Organization         Lds Heritage Ward/Murray West Stake                     Great Salt Lake Council 590           67 W Clay Park Dr                                       Salt Lake City, UT 84107‐7089                                                            First Class Mail
Chartered Organization         Lds Heritage Ward/S L Granger South Stk                 Great Salt Lake Council 590           4634 W Harman Dr                                        West Valley City, UT 84120                                                               First Class Mail
Chartered Organization         Lds Hermiston Ward ‐ Hermiston Stake                    Blue Mountain Council 604             1553 Sw Meadow View Dr                                  Hermiston, OR 97838‐8408                                                                 First Class Mail
Chartered Organization         Lds Hermosa Groves Ward ‐ Mesa Az                       Citrus Heights Stake                  2549 N 32Nd St                                          Mesa, AZ 85213                                                                           First Class Mail
Chartered Organization         Lds Hermosa Vista Ward ‐ Mesa Az                        Hermosa Vista Stake                   2627 N Chestnut Cir                                     Mesa, AZ 85213‐1456                                                                      First Class Mail
Chartered Organization         Lds Herndon Ward Oakton Stake                           National Capital Area Council 082     1625 Winterwood Pl                                      Herndon, VA 20170‐2984                                                                   First Class Mail
Chartered Organization         Lds Herriman 1St Ward                                   Fort Herriman Ut Stake                12791 S 6000 W                                          Herriman, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Herriman 2Nd Ward                                   Fort Herriman Ut Stake                4080 W 12600 S                                          Herriman, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Herriman 4Th Ward                                   Ft Herriman Ut Stake                  12737 S 6000 W                                          Herriman, UT 84096                                                                       First Class Mail
Chartered Organization         Lds Herriman Hills Ward/Herriman Ut Stk                 Great Salt Lake Council 590           5017 W Grand View Peak Dr                               Riverton, UT 84096                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                  Page 212 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                        Filed 01/06/22                                           Page 228 of 457
                                                                                                                                                                       Exhibit B
                                                                                                                                                                        Service List
                                                                                                                                                                 Served as set forth below

        Description                                                       Name                                                                                       Address                                                                                        Email              Method of Service
Chartered Organization         Lds Herriman Rose 1St Ward                               Riverton Ut Western Sprgs Stake        13122 S Herriman Rose Blvd                                  Herriman, UT 84096                                                               First Class Mail
Chartered Organization         Lds Herriman Rose 2Nd Ward                               Riverton Ut W Springs Stake            13122 S Herriman Rose Blvd                                  Herriman, UT 84096                                                               First Class Mail
Chartered Organization         Lds Herriman Rose 3Rd Ward                               Rvrtn Ut Wstrn Springs Stake           13122 S Herriman Rose Blvd                                  Herriman, UT 84096                                                               First Class Mail
Chartered Organization         Lds Herriman Ut S Stake Special Needs                    Great Salt Lake Council 590            14550 S Juniper Crest                                       Herriman, UT 84096                                                               First Class Mail
Chartered Organization         Lds Hershey Ward Harrisburg Stake                        New Birth Of Freedom 544               4788 Union Deposit Rd                                       Harrisburg, PA 17111‐3729                                                        First Class Mail
Chartered Organization         Lds Hewitt Ward ‐ Waco Stake                             Longhorn Council 662                   300 Ritchie Rd                                              Hewitt, TX 76643‐4300                                                            First Class Mail
Chartered Organization         Lds Heytesbury Ward/Sandy Ut East Stk                    Great Salt Lake Council 590            1600 E Buttercup Rd                                         Sandy, UT 84092                                                                  First Class Mail
Chartered Organization         Lds Hialeah Ward                                         South Florida Council 084              4300 W 4Th Ave                                              Hialeah, FL 33012‐3902                                                           First Class Mail
Chartered Organization         Lds Hickories Ward ‐ Mer N Stk                           Ore‐Ida Council 106 ‐ Bsa 106          6032 N Five Mile Rd                                         Boise, ID 83713                                                                  First Class Mail
Chartered Organization         Lds Hickory Flat Ward                                    Atlanta Area Council 092               3459 E Cherokee Dr                                          Canton, GA 30115                                                                 First Class Mail
Chartered Organization         Lds Hickory Flat Ward/Marietta Est Sta                   Atlanta Area Council 092               3459 E Cherokee Dr                                          Canton, GA 30115                                                                 First Class Mail
Chartered Organization         Lds Hickory Hills Ward ‐ Springfield Stake               Ozark Trails Council 306               1357 S Ingram Mill Rd                                       Springfield, MO 65804‐0625                                                       First Class Mail
Chartered Organization         Lds Hickory Hills Ward Lenexa Stake                      Heart Of America Council 307           7100 Hadley St                                              Shawnee Mission, KS 66204‐1742                                                   First Class Mail
Chartered Organization         Lds Hidden Canyon Ward                                   Utah National Parks 591                2858 E Lookout Dr                                           Eagle Mountain, UT 84005‐6056                                                    First Class Mail
Chartered Organization         Lds Hidden Canyon Ward N Las Vegas Stake                 Las Vegas Area Council 328             1991 W Washburn Rd                                          North Las Vegas, NV 89031‐0718                                                   First Class Mail
Chartered Organization         Lds Hidden Creek Ward                                    Sandy Utah W Stake                     8950 S 400 E                                                Sandy, UT 84070‐2466                                                             First Class Mail
Chartered Organization         Lds Hidden Hills Ward                                    Morgan North Stake                     4150 W Old Hwy Rd                                           Mountain Green, UT 84050‐9806                                                    First Class Mail
Chartered Organization         Lds Hidden Hollow Ward                                   Layton North Stake                     1954 E Antelope Dr                                          Layton, UT 84040                                                                 First Class Mail
Chartered Organization         Lds Hidden Lake Ward                                     North Salt Lake Ut Stake               900 Eaglepointe Dr                                          North Salt Lake, UT 84054                                                        First Class Mail
Chartered Organization         Lds Hidden Lake Ward Manteca Stake                       Greater Yosemite Council 059           27150 Wilkinson Way                                         Tracy, CA 95377                                                                  First Class Mail
Chartered Organization         Lds Hidden Lake Ward, Westminster Stake                  Denver Area Council 061                1951 Elmwood Ln                                             Denver, CO 80221‐4275                                                            First Class Mail
Chartered Organization         Lds Hidden Meadows Ward                                  Pleasant View South Stake              480 W 2000 N                                                Pleasant View, UT 84414                                                          First Class Mail
Chartered Organization         Lds Hidden Oaks Ward                                     Sandy Ut Lone Peak Stake               11755 S Highland Dr                                         Sandy, UT 84092                                                                  First Class Mail
Chartered Organization         Lds Hidden Spgs Ward ‐ Moreno Vly Stake                  California Inland Empire Council 045   23300 Old Lake Dr                                           Moreno Valley, CA 92557‐2709                                                     First Class Mail
Chartered Organization         Lds Hidden Springs Ward ‐ Boise Stk                      Ore‐Ida Council 106 ‐ Bsa 106          12720 N Humphreys Way                                       Boise, ID 83714‐9308                                                             First Class Mail
Chartered Organization         Lds Hidden Valley 3Rd Ward                               Sandy Ut Lone Peak Stake               11755 Highland Dr                                           Sandy, UT 84092                                                                  First Class Mail
Chartered Organization         Lds Hidden Valley 4Th Ward                               Sandy Ut Hddn Vlly Stake               1450 E Raddon Dr                                            Sandy, UT 84092                                                                  First Class Mail
Chartered Organization         Lds Hidden Valley Ward                                   Kaysville South Stake                  900 S Main St                                               Kaysville, UT 84037                                                              First Class Mail
Chartered Organization         Lds Hidden Valley Ward                                   Utah National Parks 591                675 E Desert Hills Dr                                       St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Hidden Valley Ward ‐ Maricopa Az Stk                 Grand Canyon Council 010               45235 W Honeycutt Ave                                       Maricopa, AZ 85139                                                               First Class Mail
Chartered Organization         Lds Hidden Village Ward                                  Murray Ut N Stake                      5425 S Allendale Dr                                         Salt Lake City, UT 84123‐5666                                                    First Class Mail
Chartered Organization         Lds High Country Ward ‐ East Stake                       Alamo Area Council 583                 15200 Judson Rd                                             San Antonio, TX 78247‐1356                                                       First Class Mail
Chartered Organization         Lds High Desert Ward ‐ Bend Stake                        Crater Lake Council 491                60800 Tekampe Rd                                            Bend, OR 97702                                                                   First Class Mail
Chartered Organization         Lds High Desert Ward Abq Stake                           Great Swest Council 412                11750 San Victorio Ave Ne                                   Albuquerque, NM 87111‐5954                                                       First Class Mail
Chartered Organization         Lds High Forest Ward ‐ North Stake                       Pikes Peak Council 060                 950 Co‐ 105                                                 Monument, CO 80132                                                               First Class Mail
Chartered Organization         Lds High Range Ward Rr Stake                             Great Swest Council 412                300 Loma Colorado Blvd Ne                                   Rio Rancho, NM 87124‐6522                                                        First Class Mail
Chartered Organization         Lds Highbury Ward/Salt Lake Hunter Stake                 Great Salt Lake Council 590            3372 S Merry Ln                                             West Valley City, UT 84120                                                       First Class Mail
Chartered Organization         Lds Highland 1St Ward                                    S J Ut Highland Stake                  10227 S 4000 W                                              South Jordan, UT 84009                                                           First Class Mail
Chartered Organization         Lds Highland 2Nd Ward                                    S J Ut Highland Stake                  9800 Dunsinane Dr                                           South Jordan, UT 84095                                                           First Class Mail
Chartered Organization         Lds Highland 3Rd Ward                                    S J Ut Highland Stake                  10101 S Autumn Breeze Ln                                    South Jordan, UT 84009‐3439                                                      First Class Mail
Chartered Organization         Lds Highland 4Th Ward                                    S J Ut Highland Stake                  10227 S 4000 W                                              South Jordan, UT 84095                                                           First Class Mail
Chartered Organization         Lds Highland 5Th Ward                                    S J Ut Highland Stake                  10115 S Yorkshire Dr                                        South Jordan, UT 84009                                                           First Class Mail
Chartered Organization         Lds Highland 6Th Ward                                    S J Ut Highland Stake                  10115 S Yorkshire Dr                                        South Jordan, UT 84009                                                           First Class Mail
Chartered Organization         Lds Highland 7Th Ward                                    S J Ut Highland Stake                  10115 S Yorkshire Dr                                        South Jordan, UT 84009                                                           First Class Mail
Chartered Organization         Lds Highland 8Th (Samoan) Ward                           Sj Utah Highland Stake                 9800 Dunsinane Dr                                           South Jordan, UT 84095                                                           First Class Mail
Chartered Organization         Lds Highland 9Th Ward                                    S J Ut Highland Stake                  10227 S 4000 W                                              South Jordan, UT 84095                                                           First Class Mail
Chartered Organization         Lds Highland Eighteenth Ward                             Utah National Parks 591                5213 W 11000 N                                              Highland, UT 84003‐9548                                                          First Class Mail
Chartered Organization         Lds Highland Eighth Ward                                 Utah National Parks 591                10390 Alpine Hwy                                            Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Eleventh Ward                               Utah National Parks 591                4669 W Vista Dr                                             Highland, UT 84003‐9574                                                          First Class Mail
Chartered Organization         Lds Highland Fifteenth Ward                              Utah National Parks 591                5212 W Country Club Dr                                      Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Fifth Ward                                  Utah National Parks 591                5825 W 10400 N                                              Highland, UT 84003‐9570                                                          First Class Mail
Chartered Organization         Lds Highland First Ward                                  Utah National Parks 591                6095 W 9600 N                                               Highland, UT 84003‐9257                                                          First Class Mail
Chartered Organization         Lds Highland Fortieth Ward                               Utah National Parks 591                10472 N 6570 W                                              Highland, UT 84003‐9311                                                          First Class Mail
Chartered Organization         Lds Highland Forty First Ward                            Utah National Parks 591                12111 N Royal Troon Rd                                      Highland, UT 84003‐5521                                                          First Class Mail
Chartered Organization         Lds Highland Fourteenth Ward                             Utah National Parks 591                6050 W Chapel Dr                                            Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Fourth Ward                                 Utah National Parks 591                5848 W 11000 N                                              Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Groves Ward ‐ Gilbert Az                    Superstition Springs Stake             4629 E Guadalupe                                            Gilbert, AZ 85234                                                                First Class Mail
Chartered Organization         Lds Highland Heights Ward                                Cincinnati Stake                       144 Buttermilk Pike                                         Lakeside Park, KY 41017                                                          First Class Mail
Chartered Organization         Lds Highland Hills Ward                                  Mccullough Hills Stake                 801 Arrowhead Trl                                           Henderson, NV 89002‐8427                                                         First Class Mail
Chartered Organization         Lds Highland Hills Ward                                  Utah National Parks 591                1130 E Brigham Rd                                           St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Highland Manor Ward                                  Bakersfield Stake                      2828 Mccray St                                              Bakersfield, CA 93308‐1700                                                       First Class Mail
Chartered Organization         Lds Highland Nineteenth Ward                             Utah National Parks 591                6276 W 10150 N                                              Highland, UT 84003‐3419                                                          First Class Mail
Chartered Organization         Lds Highland Ninth Ward                                  Utah National Parks 591                5335 W 11200 N                                              Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Park Ward ‐ Gilbert Az                      Highland W Stake                       1010 S Recker Rd                                            Gilbert, AZ 85296                                                                First Class Mail
Chartered Organization         Lds Highland Park Ward/S L Highland Stk                  Great Salt Lake Council 590            2535 S Douglas St                                           Salt Lake City, UT 84106                                                         First Class Mail
Chartered Organization         Lds Highland Ranch Ward ‐ Gilbert Az                     Superstition Springs Stake             4629 E Guadalupe Rd                                         Gilbert, AZ 85234                                                                First Class Mail
Chartered Organization         Lds Highland Ridge Ward ‐ Mesa Az                        Eastmark Stake                         11134 E Rutledge Ave                                        Mesa, AZ 85212‐5109                                                              First Class Mail
Chartered Organization         Lds Highland Second Ward                                 Utah National Parks 591                4720 W Chapel                                               Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Seventeenth Ward                            Utah National Parks 591                5335 W 11200 N                                              Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Seventh Ward                                Utah National Parks 591                5212 W Country Club Dr                                      Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Sixteenth Ward                              Utah National Parks 591                10962 N 6400 W                                              Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Sixth Ward                                  Utah National Parks 591                6050 W Chapel Dr                                            Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Stake ‐ 10Th Ward                           Grand Teton Council 107                2925 Michelle St                                            Pocatello, ID 83201‐8031                                                         First Class Mail
Chartered Organization         Lds Highland Stake ‐ 11Th Ward                           Grand Teton Council 107                2000 S Fairway Dr                                           Pocatello, ID 83201‐2357                                                         First Class Mail
Chartered Organization         Lds Highland Stake ‐ 12Th Ward                           Grand Teton Council 107                2140 Satterfield Dr                                         Pocatello, ID 83201‐1800                                                         First Class Mail
Chartered Organization         Lds Highland Stake ‐ 1St Ward                            Grand Teton Council 107                2140 Satterfield Dr                                         Pocatello, ID 83201‐1800                                                         First Class Mail
Chartered Organization         Lds Highland Stake ‐ 2Nd Ward                            Grand Teton Council 107                2925 Michelle St                                            Pocatello, ID 83201‐8031                                                         First Class Mail
Chartered Organization         Lds Highland Stake ‐ 3Rd Ward                            Grand Teton Council 107                2300 Butte St                                               Pocatello, ID 83201‐1802                                                         First Class Mail
Chartered Organization         Lds Highland Stake ‐ 4Th Ward                            Grand Teton Council 107                2300 Butte St                                               Pocatello, ID 83201‐1802                                                         First Class Mail
Chartered Organization         Lds Highland Stake ‐ 5Th Ward                            Grand Teton Council 107                2300 Butte St                                               Pocatello, ID 83201‐1802                                                         First Class Mail
Chartered Organization         Lds Highland Stake ‐ 6Th Ward                            Grand Teton Council 107                2925 Michelle St                                            Pocatello, ID 83201‐8031                                                         First Class Mail
Chartered Organization         Lds Highland Stake ‐ 7Th Ward                            Grand Teton Council 107                2000 S Fairway Dr                                           Pocatello, ID 83201‐2357                                                         First Class Mail
Chartered Organization         Lds Highland Stake ‐ 8Th Ward                            Grand Teton Council 107                2000 S Fairway Dr                                           Pocatello, ID 83201‐2357                                                         First Class Mail
Chartered Organization         Lds Highland Stake ‐ 9Th Ward                            Grand Teton Council 107                2140 Satterfield Dr                                         Pocatello, ID 83201‐1800                                                         First Class Mail
Chartered Organization         Lds Highland Station Ward                                Fort Worth North Stake                 850 Cannon Dr                                               Hurst, TX 76054‐3191                                                             First Class Mail
Chartered Organization         Lds Highland Tenth Ward                                  Utah National Parks 591                11000 N 6400 W                                              Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Third Ward                                  Utah National Parks 591                5335 W 11200 N                                              Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Thirteenth Ward                             Utah National Parks 591                10688 N 5720 W                                              Highland, UT 84003‐9006                                                          First Class Mail
Chartered Organization         Lds Highland Thirtieth Ward                              Utah National Parks 591                6800 W 9600 N                                               Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Thirty Eighth Ward                          Utah National Parks 591                10645 N 5370 W                                              Highland, UT 84003‐9432                                                          First Class Mail
Chartered Organization         Lds Highland Thirty Fifth Ward                           Utah National Parks 591                11837 N Westfield Cove Dr                                   Highland, UT 84003‐8914                                                          First Class Mail
Chartered Organization         Lds Highland Thirty First Ward                           Utah National Parks 591                11190 N Alpine Hwy                                          Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Thirty Fourth Ward                          Utah National Parks 591                11065 N 6000 W                                              Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Thirty Ninth Ward                           Utah National Parks 591                12489 N Wildflower Ln                                       Highland, UT 84003‐8926                                                          First Class Mail
Chartered Organization         Lds Highland Thirty Second Ward                          Utah National Parks 591                6237 W Apollo Way                                           Highland, UT 84003‐3647                                                          First Class Mail
Chartered Organization         Lds Highland Thirty Seventh Ward                         Utah National Parks 591                6749 W 10125 N                                              Highland, UT 84003‐6710                                                          First Class Mail
Chartered Organization         Lds Highland Thirty Sixth Ward                           Utah National Parks 591                11487 N Sunset Hills Dr                                     Highland, UT 84003‐3753                                                          First Class Mail
Chartered Organization         Lds Highland Thirty Third Ward                           Utah National Parks 591                9600 N 6800 W                                               Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Twelfth Ward                                Utah National Parks 591                9671 N 5650 W                                               Highland, UT 84003‐3532                                                          First Class Mail
Chartered Organization         Lds Highland Twentieth Ward                              Utah National Parks 591                6109 Ridge Rd                                               Highland, UT 84003‐3623                                                          First Class Mail
Chartered Organization         Lds Highland Twenty Eighth                               Utah National Parks 591                5853 W 10400 N                                              Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Twenty Fifth Ward                           Utah National Parks 591                10609 N 5400 W                                              Highland, UT 84003‐8902                                                          First Class Mail
Chartered Organization         Lds Highland Twenty First Ward                           Utah National Parks 591                6624 W 9680 N                                               Highland, UT 84003‐9034                                                          First Class Mail
Chartered Organization         Lds Highland Twenty Fourth Ward                          Utah National Parks 591                5222 W Country Club Dr                                      Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Twenty Ninth Ward                           Utah National Parks 591                10400 N 6750 W                                              Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Twenty Second Ward                          Utah National Parks 591                9621 N 6050 W                                               Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Twenty Seventh Ward                         (Alpine)                               6411 W 11800 N                                              Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Twenty Sixth Ward                           Utah National Parks 591                9681 N 6900 W                                               Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland Twenty Third Ward                           Utah National Parks 591                6400 W 11000 N                                              Highland, UT 84003                                                               First Class Mail
Chartered Organization         Lds Highland View Ward                                   S L Canyon Rim Stake                   2980 S 2790 E                                               Salt Lake City, UT 84109‐2018                                                    First Class Mail
Chartered Organization         Lds Highland Village 1St Ward                            Lewisville Stake                       5200 Balmoral Ln                                            Flower Mound, TX 75028‐1667                                                      First Class Mail
Chartered Organization         Lds Highland Ward                                        Sandy Ut Granite S Stake               2126 E Gyrfalcon Dr                                         Sandy, UT 84092                                                                  First Class Mail
Chartered Organization         Lds Highland Ward ‐ Gilbert Az                           Superstition Springs Stake             Grand Canyon Council 010                                    4201 E Harvard Ave                Russ Thornock      Gilbert, Az 85234           First Class Mail
Chartered Organization         Lds Highland Ward ‐ Mesa Az                              Mountain View Stake                    2835 E Des Moines St                                        Mesa, AZ 85213                                                                   First Class Mail
Chartered Organization         Lds Highland Ward ‐ Rancho Cucamonga Stake               California Inland Empire Council 045   6541 Woodruff Pl                                            Rancho Cucamonga, CA 91701‐9214                                                  First Class Mail
Chartered Organization         Lds Highland Ward ‐ Sparks West Stake                    Nevada Area Council 329                4920 Pradera St                                             Sparks, NV 89436‐0674                                                            First Class Mail
Chartered Organization         Lds Highland Ward/Murray Ut Parkway Stk                  Great Salt Lake Council 590            932 W Greenoaks Dr                                          Salt Lake City, UT 84123                                                         First Class Mail
Chartered Organization         Lds Highlands First Ward                                 Utah National Parks 591                3527 E Braxton                                              Eagle Mountain, UT 84005‐4995                                                    First Class Mail
Chartered Organization         Lds Highlands Ranch Ward                                 Highlands Ranch Stake                  9840 Eliza Ct                                               Highlands Ranch, CO 80126‐4720                                                   First Class Mail
Chartered Organization         Lds Highlands Second Ward                                Utah National Parks 591                3734 E Barton Creek Dr                                      Eagle Mountain, UT 84005‐5340                                                    First Class Mail
Chartered Organization         Lds Highlands Third Ward                                 Utah National Parks 591                9086 N Clubhouse Ln                                         Eagle Mountain, UT 84005‐5604                                                    First Class Mail
Chartered Organization         Lds Highlands Ward                                       Redwood Empire Council 041             14970 Lakeview Way                                          Clearlake, CA 95422                                                              First Class Mail
Chartered Organization         Lds Highlands Ward ‐ Columbia Stake                      Great Rivers Council 653               4708 Highlands Pkwy                                         Columbia, MO 65203‐6259                                                          First Class Mail
Chartered Organization         Lds Highlands Ward ‐ San Bernardino Stake                California Inland Empire Council 045   7000 Central Ave                                            Highland, CA 92346‐3013                                                          First Class Mail
Chartered Organization         Lds Highlands Ward ‐ West Richland Stake                 Blue Mountain Council 604              3701 Watkins Way                                            West Richland, WA 99353                                                          First Class Mail
Chartered Organization         Lds Highlands Ward Bellevue Stake                        Chief Seattle Council 609              15205 Se 28Th St                                            Bellevue, WA 98007                                                               First Class Mail
Chartered Organization         Lds Highlands Ward Kennewick East Stake                  Blue Mountain Council 604              515 S Union St                                              Kennewick, WA 99336                                                              First Class Mail
Chartered Organization         Lds Highlands Ward Renton Stake                          Chief Seattle Council 609              816 Field Ave Ne                                            Renton, WA 98059                                                                 First Class Mail
Chartered Organization         Lds Highlandville Ward ‐ Spgfield S Stake                Ozark Trails Council 306               1662 Timber Lake Dr                                         Nixa, MO 65714‐8393                                                              First Class Mail
Chartered Organization         Lds Highline Branch Seattle Stake                        Chief Seattle Council 609              14020 Ambaum Blvd Sw                                        Burien, WA 98166                                                                 First Class Mail
Chartered Organization         Lds Highline Ward                                        Utah National Parks 591                1325 S 100 E                                                Payson, UT 84651‐3018                                                            First Class Mail
Chartered Organization         Lds Highline Ward (Salem)                                Utah National Parks 591                1129 S 250 W                                                Salem, UT 84653                                                                  First Class Mail
Chartered Organization         Lds Highline Ward, Aurora Stake                          Denver Area Council 061                19877 E Green Valley Ranch Blvd                             Denver, CO 80249                                                                 First Class Mail
Chartered Organization         Lds Highpoint Ward, Aurora Stake                         Denver Area Council 061                5071 Netherland St                                          Denver, CO 80249‐8239                                                            First Class Mail
Chartered Organization         Lds Higley Groves Ward ‐ Gilbert Az                      Highland W Stake                       10236 S Greenfield Rd                                       Gilbert, AZ 85234                                                                First Class Mail
Chartered Organization         Lds Higley Manor Ward ‐ Gilbert Az                       Williams Field Stake                   3307 S Greenfield Rd                                        Gilbert, AZ 85297                                                                First Class Mail
Chartered Organization         Lds Higley Ward ‐ Gilbert Az Higley Stk                  Grand Canyon Council 010               960 S Rutherford Ct                                         Gilbert, AZ 85296‐8673                                                           First Class Mail
Chartered Organization         Lds Hiko Ward                                            Utah National Parks 591                P.O. Box 311                                                Alamo, NV 89001‐0311                                                             First Class Mail
Chartered Organization         Lds Hill Country Ward Oak Hills Stake                    Capitol Area Council 564               5201 Convict Hill Rd                                        Austin, TX 78749                                                                 First Class Mail
Chartered Organization         Lds Hill Park Ward Indep Stake                           Heart Of America Council 307           705 W Walnut St                                             Independence, MO 64050‐3643                                                      First Class Mail
Chartered Organization         Lds Hillcrest 1St Ward                                   Logan East Stake                       Trapper Trails 589                                          1450 E 1500 N                     Logan E Stake      Logan, Ut 84341             First Class Mail
Chartered Organization         Lds Hillcrest 1St Ward                                   Sandy Ut Hillcrest Stake               8485 S 1000 E                                               Sandy, UT 84094                                                                  First Class Mail
Chartered Organization         Lds Hillcrest 1St Ward ‐ Antioch Stake                   Mt Diablo‐Silverado Council 023        2350 Jeffrey Wy                                             Brentwood, CA 94513                                                              First Class Mail
Chartered Organization         Lds Hillcrest 2Nd Ward                                   Logan East Stake                       875 N 1500 E                                                Logan, UT 84321                                                                  First Class Mail
Chartered Organization         Lds Hillcrest 2Nd Ward                                   Sandy Ut Hillcrest Stake               8735 S Harvard Park Dr                                      Sandy, UT 84094‐1941                                                             First Class Mail
Chartered Organization         Lds Hillcrest 3Rd Ward                                   Sandy Ut Hillcrest Stake               1165 E 8600 S                                               Sandy, UT 84094‐1229                                                             First Class Mail
Chartered Organization         Lds Hillcrest 4Th Ward                                   Sandy Ut Hillcrest Stake               8735 S Harvard Park Dr                                      Sandy, UT 84094‐1941                                                             First Class Mail
Chartered Organization         Lds Hillcrest 5Th Ward                                   Sandy Ut Hillcrest Stake               915 E Peach Blossom Dr                                      Sandy, UT 84094                                                                  First Class Mail
Chartered Organization         Lds Hillcrest 6Th Ward                                   Sandy Ut Hillcrest Stake               1165 E 8600 S                                               Sandy, UT 84094‐1229                                                             First Class Mail
Chartered Organization         Lds Hillcrest 7Th Ward                                   Sandy Ut Hillcrest Stake               8485 S 1000 E                                               Sandy, UT 84094                                                                  First Class Mail
Chartered Organization         Lds Hillcrest 9Th Ward                                   Sandy Utah Hillcrest Stake             915 E Peach Blossom Dr                                      Sandy, UT 84094                                                                  First Class Mail
Chartered Organization         Lds Hillcrest Second Ward                                Utah National Parks 591                1478 S 680 E                                                Orem, UT 84097‐7724                                                              First Class Mail
Chartered Organization         Lds Hillcrest Ward ‐ Mesa Az                             Hermosa Vista Stake                    2461 E Kael Cir                                             Mesa, AZ 85213‐2361                                                              First Class Mail
Chartered Organization         Lds Hillcrest Ward ‐ Springfield Stake                   Ozark Trails Council 306               1357 S Ingram Mill Rd                                       Springfield, MO 65804‐0625                                                       First Class Mail
Chartered Organization         Lds Hillcrest Ward Cedar City                            Utah National Parks 591                1913 W 650 S                                                Cedar City, UT 84720‐1939                                                        First Class Mail
Chartered Organization         Lds Hillcrest Ward Yuba City Stake                       Golden Empire Council 047              520 Clark Ave                                               Yuba City, CA 95991‐4820                                                         First Class Mail
Chartered Organization         Lds Hillcrest Ward/Murray Ut South Stk                   Great Salt Lake Council 590            495 E 5600 S                                                Salt Lake City, UT 84107                                                         First Class Mail
Chartered Organization         Lds Hillpointe Ward                                      Desert Foothill Stake                  2033 Spring Rose St                                         Las Vegas, NV 89134‐6656                                                         First Class Mail
Chartered Organization         Lds Hillsboro Branch ‐ Waco Stake                        Longhorn Council 662                   1024 Old Bynum Rd                                           Hillsboro, TX 76645                                                              First Class Mail
Chartered Organization         Lds Hillsboro Ward Hillsboro Stake                       Cascade Pacific Council 492            5580 Sw Golden Rd                                           Hillsboro, OR 97213                                                              First Class Mail
Chartered Organization         Lds Hillsdale Park Ward                                  S L Granger E Stake                    3276 S Hillsdale Dr                                         Salt Lake City, UT 84119                                                         First Class Mail
Chartered Organization         Lds Hillsdale Ward                                       South San Jose Stake                   1655 Noreen Dr                                              San Jose, CA 95124‐3830                                                          First Class Mail
Chartered Organization         Lds Hillside Ward                                        Utah National Parks 591                358 International Way                                       Alpine, UT 84004‐1358                                                            First Class Mail
Chartered Organization         Lds Hillside Ward ‐ Mesa Az Lehi Stk                     Grand Canyon Council 010               1430 N Grand                                                Mesa, AZ 85201‐2613                                                              First Class Mail
Chartered Organization         Lds Hillside Ward ‐ Rancho Cucamonga Stake               California Inland Empire Council 045   5474 Haven Ave                                              Alta Loma, CA 91737                                                              First Class Mail
Chartered Organization         Lds Hillside Ward/Murray Ut South Stk                    Great Salt Lake Council 590            495 E 5600 S                                                Salt Lake City, UT 84107                                                         First Class Mail
Chartered Organization         Lds Hilltop 1St Ward ‐ Concord Stake                     Mt Diablo‐Silverado Council 023        4351 Hilltop Dr                                             El Sobrante, CA 94803                                                            First Class Mail
Chartered Organization         Lds Hilltop Ward Billings East Stake                     Montana Council 315                    1640 Broadmoor Dr                                           Billings, MT 59105‐3412                                                          First Class Mail
Chartered Organization         Lds Hillview Ward ‐ Richland Stake                       Blue Mountain Council 604              1131 Saddle Way                                             Richland, WA 99352‐9640                                                          First Class Mail
Chartered Organization         Lds Hiltonhead Ward Savannah Stake                       Coastal Carolina Council 550           2800 Meeting St                                             Hilton Head Island, SC 29926                                                     First Class Mail
Chartered Organization         Lds Hinckley                                             Utah National Parks 591                P.O. Box 6                                                  Hinckley, UT 84635‐0006                                                          First Class Mail
Chartered Organization         Lds Hingham Ward Hingham Stake                           Mayflower Council 251                  379 Gardner St                                              Hingham, MA 02043‐3831                                                           First Class Mail
Chartered Organization         Lds Hiram Ward Kirtland Stake                            Lake Erie Council 440                  6208 Pioneer Trl                                            Hiram, OH 44234                                                                  First Class Mail
Chartered Organization         Lds Hiram Ward Powder Springs Stake                      Atlanta Area Council 092               2595 New Macland Rd                                         Powder Springs, GA 30127‐1757                                                    First Class Mail
Chartered Organization         Lds Hispanic Branch‐San Leandro Stake                    San Francisco Bay Area Council 028     13901 Bancroft Ave                                          San Leandro, CA 94578‐2609                                                       First Class Mail
Chartered Organization         Lds Hmong Branch Gridley Stake                           Golden Empire Council 047              167 Table Mountain Blvd                                     Oroville, CA 95965                                                               First Class Mail
Chartered Organization         Lds Hmong Branch Sacramento Stake                        Golden Empire Council 047              2905 11Th Ave                                               Sacramento, CA 95817‐3509                                                        First Class Mail
Chartered Organization         Lds Hobble Creek Eighth Ward                             Utah National Parks 591                949 S 2500 E                                                Springville, UT 84663                                                            First Class Mail
Chartered Organization         Lds Hobble Creek Eleventh Ward                           Utah National Parks 591                2379 River Bottom Rd                                        Springville, UT 84663                                                            First Class Mail
Chartered Organization         Lds Hobble Creek Fifteenth Ward                          Utah National Parks 591                2448 Deer Creek Way                                         Springville, UT 84663‐3270                                                       First Class Mail
Chartered Organization         Lds Hobble Creek Fifth Ward                              Utah National Parks 591                1440 E 900 S                                                Springville, UT 84663                                                            First Class Mail
Chartered Organization         Lds Hobble Creek First Ward                              Utah National Parks 591                555 S 600 E                                                 Springville, UT 84663                                                            First Class Mail
Chartered Organization         Lds Hobble Creek Fourteenth Ward                         Utah National Parks 591                1827 River Bottom Rd                                        Springville, UT 84663‐3226                                                       First Class Mail
Chartered Organization         Lds Hobble Creek Fourth Ward                             Utah National Parks 591                1440 E 900 S                                                Springville, UT 84663                                                            First Class Mail
Chartered Organization         Lds Hobble Creek Ninth Ward                              Utah National Parks 591                1965 Canyon Rd                                              Springville, UT 84663‐9523                                                       First Class Mail
Chartered Organization         Lds Hobble Creek Second Ward                             Utah National Parks 591                1440 E 900 S                                                Springville, UT 84663                                                            First Class Mail
Chartered Organization         Lds Hobble Creek Seventh Ward                            Utah National Parks 591                1965 Canyon Rd                                              Springville, UT 84663‐9523                                                       First Class Mail
Chartered Organization         Lds Hobble Creek Sixteenth Ward                          Utah National Parks 591                734 S 1800 E                                                Springville, UT 84663‐3917                                                       First Class Mail
Chartered Organization         Lds Hobble Creek Sixth Ward                              Utah National Parks 591                1095 S 1700 E.                                              Springville, UT 84663                                                            First Class Mail
Chartered Organization         Lds Hobble Creek Tenth Ward                              Utah National Parks 591                450 S Canyon Dr                                             Springville, UT 84663                                                            First Class Mail
Chartered Organization         Lds Hobble Creek Third Ward                              Utah National Parks 591                555 S 600 E (Averett Ave)                                   Springville, UT 84663                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                        Page 213 of 442
                                                                                  Case 20-10343-LSS                                   Doc 8171                                   Filed 01/06/22                                             Page 229 of 457
                                                                                                                                                                    Exhibit B
                                                                                                                                                                     Service List
                                                                                                                                                              Served as set forth below

        Description                                                        Name                                                                                   Address                                                                                              Email              Method of Service
Chartered Organization         Lds Hobble Creek Twelfth Ward                             Utah National Parks 591                 1440 E 900 S                                           Springville, UT 84663                                                                  First Class Mail
Chartered Organization         Lds Hobble Creek Ward ‐ Mer N Stk                         Ore‐Ida Council 106 ‐ Bsa 106           13233 W Buttercup Ct                                   Boise, ID 83713‐1309                                                                   First Class Mail
Chartered Organization         Lds Hobbs Ward ‐ Lubbock Tx Stake                         Conquistador Council Bsa 413            3720 N Grimes St                                       Hobbs, NM 88240‐1257                                                                   First Class Mail
Chartered Organization         Lds Hockinson Ward Vancouver North Stake                  Cascade Pacific Council 492             7101 Ne 166Th Ave                                      Vancouver, WA 98682‐5242                                                               First Class Mail
Chartered Organization         Lds Holbrook Farms Ward                                   Utah National Parks 591                 2553 N 3550 W                                          Lehi, UT 84043‐7504                                                                    First Class Mail
Chartered Organization         Lds Holden Ward                                           Utah National Parks 591                 P.O. Box 360111                                        Holden, UT 84636‐0111                                                                  First Class Mail
Chartered Organization         Lds Holladay 10Th Ward/S L Holladay Stk                   Great Salt Lake Council 590             4601 S Chapel Dr                                       Salt Lake City, UT 84117                                                               First Class Mail
Chartered Organization         Lds Holladay 14Th Ward                                    S L Holladay S Stake                    4917 S Viewmont St                                     Salt Lake City, UT 84117‐5578                                                          First Class Mail
Chartered Organization         Lds Holladay 18Th Ward                                    S L Holladay S Stake                    2625 E Milo Way                                        Holladay, UT 84117‐6319                                                                First Class Mail
Chartered Organization         Lds Holladay 1St Ward/S L Holladay Stk                    Great Salt Lake Council 590             2065 E 4675 S                                          Holladay, UT 84117                                                                     First Class Mail
Chartered Organization         Lds Holladay 24Th Ward                                    S L Holladay N Stake                    4395 S Albright Dr                                     Salt Lake City, UT 84124                                                               First Class Mail
Chartered Organization         Lds Holladay 25Th Ward                                    S L Holladay S Stake                    2886 E Naniloa Cir                                     Salt Lake City, UT 84117‐5523                                                          First Class Mail
Chartered Organization         Lds Holladay 26Th Ward/S L Holladay Stk                   Great Salt Lake Council 590             4601 S Chapel Dr                                       Salt Lake City, UT 84117                                                               First Class Mail
Chartered Organization         Lds Holladay 27Th Ward                                    S L Holladay S Stake                    5450 S Holladay Blvd                                   Salt Lake City, UT 84117‐7826                                                          First Class Mail
Chartered Organization         Lds Holladay 28Th Ward                                    S L Holladay S Stake                    2625 E Milo Way                                        Salt Lake City, UT 84117‐6319                                                          First Class Mail
Chartered Organization         Lds Holladay 2Nd Ward/S L Holladay Stk                    Great Salt Lake Council 590             4568 S Holladay Blvd                                   Salt Lake City, UT 84117‐4404                                                          First Class Mail
Chartered Organization         Lds Holladay 3Rd Ward/S L Holladay Stk                    Great Salt Lake Council 590             4568 S Holladay Blvd                                   Salt Lake City, UT 84117‐4404                                                          First Class Mail
Chartered Organization         Lds Holladay 4Th Ward                                     S L Holladay S Stake                    4917 S Viewmont St                                     Salt Lake City, UT 84117‐5578                                                          First Class Mail
Chartered Organization         Lds Holladay 8Th Ward                                     S L Holladay S Stake                    5450 S Holladay Blvd                                   Holladay, UT 84117‐7826                                                                First Class Mail
Chartered Organization         Lds Holladay Stake (Handicapped)                          Sl Holladay Stake                       4568 S Holladay Blvd                                   Salt Lake City, UT 84117‐4404                                                          First Class Mail
Chartered Organization         Lds Holland Ward ‐ Gr Stake                               President Gerald R Ford 781             1340 E 8Th St                                          Holland, MI 49423‐6665                                                                 First Class Mail
Chartered Organization         Lds Hollister 1St Ward                                    Morgan Hill Stake                       1670 Cienega Rd                                        Hollister, CA 95023‐5512                                                               First Class Mail
Chartered Organization         Lds Hollister 2Nd Ward                                    Morgan Hill Stake                       1670 Cienega Rd                                        Hollister, CA 95023‐5512                                                               First Class Mail
Chartered Organization         Lds Hollyhock/Logan South Stake                           Trapper Trails 589                      94 W 600 S                                             Logan, UT 84321‐5254                                                                   First Class Mail
Chartered Organization         Lds Hollywood Hill Ward Bothell Stake                     Chief Seattle Council 609               17245 Ne 144Th St                                      Redmond, WA 98052‐1176                                                                 First Class Mail
Chartered Organization         Lds Hollywood Hills Ward                                  South Florida Council 084               510 N 35Th Ave                                         Hollywood, FL 33021‐6058                                                               First Class Mail
Chartered Organization         Lds Hollywood Ward                                        South Florida Council 084               510 N 35Th Ave                                         Hollywood, FL 33021‐6058                                                               First Class Mail
Chartered Organization         Lds Holmes Creek Ward                                     Kaysville West Stake                    1035 S Angel St                                        Kaysville, UT 84037                                                                    First Class Mail
Chartered Organization         Lds Holmes Creek Ward                                     3005 Pipkin Rd                          Bonifay, FL 32425                                                                                                                             First Class Mail
Chartered Organization         Lds Holt Ward ‐ Lansing Stake                             Water And Woods Council 782             5301 Holt Rd                                           Holt, MI 48842‐8646                                                                    First Class Mail
Chartered Organization         Lds Homedale 1St Ward ‐ Caldwell Stk                      Ore‐Ida Council 106 ‐ Bsa 106           16 E Colorado Ave                                      Homedale, ID 83628‐3407                                                                First Class Mail
Chartered Organization         Lds Homedale 2Nd Ward ‐ Caldwell Stk                      Ore‐Ida Council 106 ‐ Bsa 106           708 W Idaho                                            Homedale, ID 83628                                                                     First Class Mail
Chartered Organization         Lds Homer Ward ‐ Soldotna Stake                           Great Alaska Council 610                P.O. Box 15097                                         Fritz Creek, AK 99603‐6097                                                             First Class Mail
Chartered Organization         Lds Homestead First Ward                                  Utah National Parks 591                 1390 E Midvalley Rd                                    Cedar City, UT 84721                                                                   First Class Mail
Chartered Organization         Lds Homestead Second Ward                                 Utah National Parks 591                 1350 E Midvalley Rd                                    Cedar City, UT 84721                                                                   First Class Mail
Chartered Organization         Lds Homestead Ward                                        South Florida Council 084               29600 Sw 167Th Ave                                     Homestead, FL 33030‐3421                                                               First Class Mail
Chartered Organization         Lds Homestead Ward                                        Utah National Parks 591                 1060 S Center St                                       Midway, UT 84049                                                                       First Class Mail
Chartered Organization         Lds Homestead Ward                                        Syracuse Bluff Stake                    2339 W 1900 S                                          Syracuse, UT 84075                                                                     First Class Mail
Chartered Organization         Lds Homestead Ward Blue Diamond Stake                     Las Vegas Area Council 328              P.O. Box 5143                                          Pahrump, NV 89041‐5143                                                                 First Class Mail
Chartered Organization         Lds Homestead Ward/Murray Ut South Stk                    Great Salt Lake Council 590             5605 S Vine St                                         Salt Lake City, UT 84107                                                               First Class Mail
Chartered Organization         Lds Hondo Branch‐West Stake                               Alamo Area Council 583                  30th St & Ave Q                                        Hondo, TX 78861                                                                        First Class Mail
Chartered Organization         Lds Hondo Pass Ward El Paso Chamizal Stk                  Yucca Council 573                       5510 Hondo Pass Dr                                     El Paso, TX 79924‐7205                                                                 First Class Mail
Chartered Organization         Lds Honey Creek Ward/Bloomington Stake                    Crossroads Of America 160               1845 N 6Th 1/2 St                                      Terre Haute, IN 47804‐2720                                                             First Class Mail
Chartered Organization         Lds Honeysuckle Ward                                      Utah National Parks 591                 126 W Honeysuckle Dr                                   Saratoga Springs, UT 84045‐6634                                                        First Class Mail
Chartered Organization         Lds Honeyville 1St Ward                                   Brigham City North Stake                2620 W 6980 N                                          Honeyville, UT 84314                                                                   First Class Mail
Chartered Organization         Lds Honeyville 2Nd Ward                                   Brigham North Stake                     2620 W 6980 N                                          Honeyville, UT 84314                                                                   First Class Mail
Chartered Organization         Lds Honeyville 3Rd Ward                                   Brigham City North Stake                2620 W 6980 N                                          Honeyville, UT 84314                                                                   First Class Mail
Chartered Organization         Lds Honokaa Ward ‐ Kona Stake                             Aloha Council, Bsa 104                  P.O. Box 804                                           Honokaa, HI 96727‐0804                                                                 First Class Mail
Chartered Organization         Lds Honomu Branch‐Hilo Stake                              Aloha Council, Bsa 104                  28‐3534 Honomu Ln                                      Honomu, HI 96728                                                                       First Class Mail
Chartered Organization         Lds Honouliuli Ward ‐ Waipahu Stake                       Aloha Council, Bsa 104                  91‐1154 N Rd                                           Ewa Beach, HI 96706                                                                    First Class Mail
Chartered Organization         Lds Hood River Ward The Dalles Stake                      Cascade Pacific Council 492             18th and May St                                        Hood River, OR 97031                                                                   First Class Mail
Chartered Organization         Lds Hoolehua Ward, Kahului Hi Stake                       Aloha Council, Bsa 104                  P.O. Box 197                                           Hoolehua, HI 96729‐0197                                                                First Class Mail
Chartered Organization         Lds Hooper Landings Ward                                  Pioneer Trail Stake                     4979 S 5100 W                                          Hooper, UT 84315                                                                       First Class Mail
Chartered Organization         Lds Hoover Ward, Bessemer Stake                           Greater Alabama Council 001             2720 Cahaba Valley Rd                                  Indian Springs, AL 35124                                                               First Class Mail
Chartered Organization         Lds Hopkinsville                                          Lincoln Heritage Council 205            1118 Pin Oak Dr                                        Hopkinsville, KY 42240                                                                 First Class Mail
Chartered Organization         Lds Horizon Ridge Ward Black Mtn Stake                    Las Vegas Area Council 328              1500 Amador Ln                                         Henderson, NV 89012                                                                    First Class Mail
Chartered Organization         Lds Horse Heaven Hills Ward                               Kennewick E Stake                       820 S Buntin St                                        Kennewick, WA 99336‐4827                                                               First Class Mail
Chartered Organization         Lds Hosford Ward, Panama City, Fl Stake                   Suwannee River Area Council 664         Hosford Ward                                           Bristol, FL 32321                                                                      First Class Mail
Chartered Organization         Lds Hot Springs Ward ‐ Carson City Stake                  Nevada Area Council 329                 411 N Saliman Rd                                       Carson City, NV 89701‐4449                                                             First Class Mail
Chartered Organization         Lds Houghton Branch‐Green Bay Stake                       Bay‐Lakes Council 635                   47691 Meadow St                                        Houghton, MI 49931‐1049                                                                First Class Mail
Chartered Organization         Lds Houston 10Th Ward                                     Houston W (Sp) Stake                    2207 Bauer Dr Unit D                                   Houston, TX 77080‐5584                                                                 First Class Mail
Chartered Organization         Lds Houston 3Rd Ward                                      Houston N Stake                         65 Melbourne St                                        Houston, TX 77022                                                                      First Class Mail
Chartered Organization         Lds Houston 6Th Ward                                      Houston N Stake                         16331 Hafer Rd                                         Houston, TX 77090                                                                      First Class Mail
Chartered Organization         Lds Houston 7Th Ward                                      Summerwood Stake                        14404 Kemrock Dr                                       Houston, TX 77049‐4208                                                                 First Class Mail
Chartered Organization         Lds Houston Ward ‐ West Plains Stake                      Ozark Trails Council 306                9351 Hwy M                                             Huggins, MO 65484‐9239                                                                 First Class Mail
Chartered Organization         Lds Howell Ward ‐ Ann Arbor Stake                         Southern Shores Fsc 783                 1041 W Grand River Ave                                 Howell, MI 48843‐1464                                                                  First Class Mail
Chartered Organization         Lds Hoytsville 1St Ward/Coalville Ut Stk                  Great Salt Lake Council 590             30899 Old Lincoln Hwy                                  Coalville, UT 84017                                                                    First Class Mail
Chartered Organization         Lds Hoytsville 2Nd Ward/Coalville Ut Stk                  Great Salt Lake Council 590             1095 S Hoytsville Rd                                   Coalville, UT 84017‐9741                                                               First Class Mail
Chartered Organization         Lds Huber Heights Ward ‐ Dayton,Oh                        Miami Valley Council, Bsa 444           5750 Shull Rd                                          Huber Heights, OH 45424‐1202                                                           First Class Mail
Chartered Organization         Lds Huckleberry Ward                                      Syracuse Bluff Stake                    1285 S 2500 W                                          Syracuse, UT 84075                                                                     First Class Mail
Chartered Organization         Lds Hudson Oaks Ward ‐ Weatherford Stake                  Longhorn Council 662                    2251 Bethel Rd                                         Weatherford, TX 76087                                                                  First Class Mail
Chartered Organization         Lds Huffman Ward ‐ Anchorage Stake                        Great Alaska Council 610                13111 Brayton Dr                                       Anchorage, AK 99516‐2669                                                               First Class Mail
Chartered Organization         Lds Hughson Ward Turlock Stake                            Greater Yosemite Council 059            1930 7Th St                                            Hughson, CA 95326                                                                      First Class Mail
Chartered Organization         Lds Hughson Ward Turlock Stake                            Greater Yosemite Council 059            4300 Geer Rd                                           Turlock, CA 95382                                                                      First Class Mail
Chartered Organization         Lds Humphrey                                              Unit 15711 Box 1009 Far E Council 803   Apo, AP 96271‐5711                                                                                                                            First Class Mail
Chartered Organization         Lds Hunstville 1St Ward                                   College Station Stake                   1803 19Th St                                           Huntsville, TX 77340‐4226                                                              First Class Mail
Chartered Organization         Lds Hunter 10Th Ward/S L Hunter East Stk                  Great Salt Lake Council 590             5000 W Pavant Ave                                      West Valley City, UT 84120‐3651                                                        First Class Mail
Chartered Organization         Lds Hunter 11Th Ward                                      Salt Lake Hunter East Stake             5065 Janette Ave                                       West Valley City, UT 84120                                                             First Class Mail
Chartered Organization         Lds Hunter 12Th Ward/S L Hunter West Stk                  Great Salt Lake Council 590             7035 W Lochness Ave                                    West Valley City, UT 84128‐2321                                                        First Class Mail
Chartered Organization         Lds Hunter 13Th Ward (Tongan)                             Sl Ut Stake (Tongan)                    4440 W 3325 S                                          Salt Lake City, UT 84120                                                               First Class Mail
Chartered Organization         Lds Hunter 14Th Ward/S L Hunter West Stk                  Great Salt Lake Council 590             3450 S 6400 W                                          Salt Lake City, UT 84128                                                               First Class Mail
Chartered Organization         Lds Hunter 16Th Ward/S L Hunter West Stk                  Great Salt Lake Council 590             2811 S 6400 W                                          Salt Lake City, UT 84128                                                               First Class Mail
Chartered Organization         Lds Hunter 17Th Ward                                      S L Hunter Central Stake                3745 S 6400 W                                          West Valley City, UT 84128                                                             First Class Mail
Chartered Organization         Lds Hunter 1St Ward                                       S L Hunter Central Stake                3665 S 6000 W                                          Salt Lake City, UT 84128                                                               First Class Mail
Chartered Organization         Lds Hunter 20Th Ward/S L Hunter West Stk                  Great Salt Lake Council 590             7035 W Lochness Ave                                    West Valley City, UT 84128‐2321                                                        First Class Mail
Chartered Organization         Lds Hunter 23Rd Ward                                      S L Hunter Central Stake                3665 S 6000 W                                          Salt Lake City, UT 84128                                                               First Class Mail
Chartered Organization         Lds Hunter 27Th Ward/S L Hunter East Stk                  Great Salt Lake Council 590             4980 W 3285 S                                          Salt Lake City, UT 84120                                                               First Class Mail
Chartered Organization         Lds Hunter 2Nd Ward/S L Hunter Stk                        Great Salt Lake Council 590             3970 S 5200 W                                          Salt Lake City, UT 84120                                                               First Class Mail
Chartered Organization         Lds Hunter 35Th Ward                                      S L Hunter Central Stake                3745 S 6400 W                                          Salt Lake City, UT 84128                                                               First Class Mail
Chartered Organization         Lds Hunter 36Th Ward                                      S L Hunter Central Stake                3930 S 6000 W                                          West Valley City, UT 84128                                                             First Class Mail
Chartered Organization         Lds Hunter 37Th Ward (Tongan)                             Sl Ut Stake (Tongan)                    4715 S 4300 W                                          Salt Lake City, UT 84118                                                               First Class Mail
Chartered Organization         Lds Hunter 3Rd Ward/S L Hunter Stk                        Great Salt Lake Council 590             3737 S 5600 W                                          Salt Lake City, UT 84120                                                               First Class Mail
Chartered Organization         Lds Hunter 4Th Ward/S L Hunter West Stk                   Great Salt Lake Council 590             7035 W Lochness Ave                                    West Valley City, UT 84128‐2321                                                        First Class Mail
Chartered Organization         Lds Hunter 5Th Ward/S L Hunter East Stk                   Great Salt Lake Council 590             5000 W Janette Ave                                     Salt Lake City, UT 84120                                                               First Class Mail
Chartered Organization         Lds Hunter 6Th Ward                                       S L Hunter Central Stake                3930 S 6000 W                                          Salt Lake City, UT 84128                                                               First Class Mail
Chartered Organization         Lds Hunter 8Th Ward/S L Hunter West Stk                   Great Salt Lake Council 590             2811 S 6400 W                                          West Valley City, UT 84128                                                             First Class Mail
Chartered Organization         Lds Hunter 9Th Ward/S L Hunter West Stk                   Great Salt Lake Council 590             7035 W Lochness Ave                                    Salt Lake City, UT 84128‐2321                                                          First Class Mail
Chartered Organization         Lds Hunter Lake Ward ‐ Reno Stake                         Nevada Area Council 329                 1095 Golconda Dr                                       Reno, NV 89509‐3610                                                                    First Class Mail
Chartered Organization         Lds Hunter Village Ward                                   S L Hunter W Stake                      3450 S 6400 W                                          West Valley City, UT 84128                                                             First Class Mail
Chartered Organization         Lds Hunters Creek Hunters Creek                           Central Florida Council 083             1900 N John Young Pkwy                                 Kissimmee, FL 34741‐3221                                                               First Class Mail
Chartered Organization         Lds Hunters Creek Ward                                    Farmington Ut W Stake                   905 Foxhunter Dr                                       Farmington, UT 84025                                                                   First Class Mail
Chartered Organization         Lds Huntington Beach 2Nd Ward                             Huntington Beach N Stake                5402 Heil Ave                                          Huntington Beach, CA 92649‐3654                                                        First Class Mail
Chartered Organization         Lds Huntington Beach 2Nd Wd                               Huntington Beach N Stake                5402 Heil Ave                                          Huntington Beach, CA 92649‐3654                                                        First Class Mail
Chartered Organization         Lds Huntington Cove Ward                                  Blue Diamond Stake                      9485 S Simarron Rd                                     Las Vegas, NV 89178                                                                    First Class Mail
Chartered Organization         Lds Huntington First Ward                                 Utah National Parks 591                 P.O. Box 459                                           Huntington, UT 84528‐0459                                                              First Class Mail
Chartered Organization         Lds Huntington Second Ward                                Utah National Parks 591                 P.O. Box 1344                                          Huntington, UT 84528‐1344                                                              First Class Mail
Chartered Organization         Lds Huntington Third Ward                                 Utah National Parks 591                 P.O. Box 553                                           Huntington, UT 84528‐0553                                                              First Class Mail
Chartered Organization         Lds Huntington Ward 164 Pasadena Stake                    Greater Los Angeles Area 033            770 Sierra Madre Villa Ave                             Pasadena, CA 91107‐2042                                                                First Class Mail
Chartered Organization         Lds Huntington Ward, Fort Wayne Stake                     Anthony Wayne Area 157                  State Rd 9 & US 24 Sw                                  Huntington, IN 46750                                                                   First Class Mail
Chartered Organization         Lds Huntsville 1St Ward                                   Huntsville Stake                        277 S 7400 E                                           Huntsville, UT 84317‐9722                                                              First Class Mail
Chartered Organization         Lds Huntsville 2Nd Ward                                   Huntsville Stake                        277 S 7400 E                                           Huntsville, UT 84317‐9722                                                              First Class Mail
Chartered Organization         Lds Hurley Ward Sac East Stake                            Golden Empire Council 047               2740 Hurley Way                                        Sacramento, CA 95864‐3756                                                              First Class Mail
Chartered Organization         Lds Hurricane Eighth Ward                                 Utah National Parks 591                 155 E 1050 N                                           Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Eleventh Ward                               Utah National Parks 591                 450 N 2600 W                                           Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Fifteenth Ward                              Utah National Parks 591                 1178 S 700 W                                           Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Fifth Ward                                  Utah National Parks 591                 619 S 80 W                                             Hurricane, UT 84737‐2240                                                               First Class Mail
Chartered Organization         Lds Hurricane First Ward                                  Utah National Parks 591                 272 S 700 W                                            Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Fourteenth Ward                             Utah National Parks 591                 272 S 700 W                                            Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Fourth Ward                                 Utah National Parks 591                 658 W 1500 S                                           Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Nineteenth Ward                             Utah National Parks 591                 280 W 1440 S                                           Hurricane, UT 84737‐2393                                                               First Class Mail
Chartered Organization         Lds Hurricane Ninth Ward                                  Utah National Parks 591                 274 S 100 W                                            Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Second Ward                                 Utah National Parks 591                 155 E 1050 N                                           Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Seventeenth Ward                            Utah National Parks 591                 270 S 700 W                                            Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Seventh Ward                                Utah National Parks 591                 782 N 120 E                                            Hurricane, UT 84737‐1710                                                               First Class Mail
Chartered Organization         Lds Hurricane Sixteenth Ward                              Utah National Parks 591                 677 S 700 W                                            Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Sixth Ward                                  Utah National Parks 591                 677 S 700 W                                            Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Tenth Ward                                  Utah National Parks 591                 1178 S 700 W                                           Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Third Ward                                  Utah National Parks 591                 677 S 700 W                                            Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Thirteenth Ward                             Utah National Parks 591                 320 N 3400 W                                           Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Twelveth Ward                               Utah National Parks 591                 270 S 700 W                                            Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Twentieth Ward                              Utah National Parks 591                 3290 W Bonita                                          Hurricane, UT 84737‐3276                                                               First Class Mail
Chartered Organization         Lds Hurricane Twenty Second                               Utah National Parks 591                 320 N 3400 W                                           Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Twenty‐Fifth Ward                           Utah National Parks 591                 3449 W 250 N                                           Washington, UT 84780                                                                   First Class Mail
Chartered Organization         Lds Hurricane Twentyfirst Ward                            Utah National Parks 591                 320 N 3400 W                                           Hurricane, UT 84737                                                                    First Class Mail
Chartered Organization         Lds Hurricane Twenty‐Fourth Ward                          Utah National Parks 591                 490 W 100 N                                            Hurricane, UT 84737‐2010                                                               First Class Mail
Chartered Organization         Lds Hurricane Twenty‐Third Ward                           Utah National Parks 591                 3834 W 2700 S                                          Hurricane, UT 84737‐7771                                                               First Class Mail
Chartered Organization         Lds Hurst 1St Ward ‐ Hurst Stake                          Longhorn Council 662                    4401 E Loop 820 N                                      North Richland Hills, TX 76180‐7375                                                    First Class Mail
Chartered Organization         Lds Hyde Park 10Th Ward ‐ Hyde Park Stake                 Trapper Trails 589                      42 W 200 S                                             Hyde Park, UT 84318                                                                    First Class Mail
Chartered Organization         Lds Hyde Park 11Th Ward                                   Hyde Park Stake                         480 N 100 W                                            Hyde Park, UT 84318‐4046                                                               First Class Mail
Chartered Organization         Lds Hyland Lake Ward/S L So Ctnwd Stk                     Great Salt Lake Council 590             981 E Revere Cir                                       Salt Lake City, UT 84121                                                               First Class Mail
Chartered Organization         Lds Idaho City Ward ‐ Boise E Stk                         Ore‐Ida Council 106 ‐ Bsa 106           Hwy 21                                                 Idaho City, ID 83631                                                                   First Class Mail
Chartered Organization         Lds Idaho Falls Stake ‐ 14Th Ward                         Grand Teton Council 107                 651 Gladstone St                                       Idaho Falls, ID 83401‐2710                                                             First Class Mail
Chartered Organization         Lds Idaho Falls Stake ‐ 21St Ward                         Grand Teton Council 107                 1155 1St St                                            Idaho Falls, ID 83401‐4109                                                             First Class Mail
Chartered Organization         Lds Idaho Falls Stake ‐ 24Th Ward                         Grand Teton Council 107                 1155 1St St                                            Idaho Falls, ID 83401‐4109                                                             First Class Mail
Chartered Organization         Lds Idaho Falls Stake ‐ 9Th Ward                          Grand Teton Council 107                 395 2Nd St                                             Idaho Falls, ID 83401‐3903                                                             First Class Mail
Chartered Organization         Lds Idaho Falls Stake ‐ If 2Nd Ward                       Grand Teton Council 107                 885 S Blvd                                             Idaho Falls, ID 83401                                                                  First Class Mail
Chartered Organization         Lds Idaho Falls Stake ‐ If 32Nd Ward                      Grand Teton Council 107                 651 Gladstone St                                       Idaho Falls, ID 83401‐2710                                                             First Class Mail
Chartered Organization         Lds Idaho Falls Stake ‐ Parkwood Ward                     Grand Teton Council 107                 395 2Nd St                                             Idaho Falls, ID 83401‐3903                                                             First Class Mail
Chartered Organization         Lds Idaho Falls Stake ‐ Sandcreek Ward                    Grand Teton Council 107                 2096 Meadow St                                         Idaho Falls, ID 83401‐4449                                                             First Class Mail
Chartered Organization         Lds If Central Stake ‐ 26Th Ward                          Grand Teton Council 107                 2025 Jennie Lee Dr                                     Idaho Falls, ID 83404‐7069                                                             First Class Mail
Chartered Organization         Lds If Central Stake ‐ 28Th Ward                          Grand Teton Council 107                 1165 Azalea Dr                                         Idaho Falls, ID 83404                                                                  First Class Mail
Chartered Organization         Lds If Central Stake ‐ 31St Ward                          Grand Teton Council 107                 2380 Richards Ave                                      Idaho Falls, ID 83404‐6343                                                             First Class Mail
Chartered Organization         Lds If Central Stake ‐ Blvd Ward                          Grand Teton Council 107                 1235 Juniper Dr                                        Idaho Falls, ID 83404                                                                  First Class Mail
Chartered Organization         Lds If Central Stake ‐ If 11Th Ward                       Grand Teton Council 107                 1232 Juniper Dr                                        Idaho Falls, ID 83404                                                                  First Class Mail
Chartered Organization         Lds If Central Stake ‐ Rosepark Ward                      Grand Teton Council 107                 1165 Azalea Dr                                         Idaho Falls, ID 83404                                                                  First Class Mail
Chartered Organization         Lds If Eagle Rock Stake                                   Village Park Ward                       1345 Clarence Dr                                       Idaho Falls, ID 83402                                                                  First Class Mail
Chartered Organization         Lds If Eagle Rock Stake ‐ 39Th Ward                       Grand Teton Council 107                 5055 W Canyon Creek Rd                                 Idaho Falls, ID 83402‐5425                                                             First Class Mail
Chartered Organization         Lds If Eagle Rock Stake ‐ Millrun Ward                    Grand Teton Council 107                 1165 Periska Way                                       Idaho Falls, ID 83402‐5131                                                             First Class Mail
Chartered Organization         Lds If Eagle Rock Stake ‐ Old Butte Ward                  Grand Teton Council 107                 3025 Simon St                                          Idaho Falls, ID 83402‐5695                                                             First Class Mail
Chartered Organization         Lds If Eagle Rock Stake ‐ Osgood Ward                     Grand Teton Council 107                 7940 N 35 W                                            Idaho Falls, ID 83402                                                                  First Class Mail
Chartered Organization         Lds If Eagle Rock Stake ‐ Pioneer Ward                    Grand Teton Council 107                 2020 S Charlotte Dr                                    Idaho Falls, ID 83402                                                                  First Class Mail
Chartered Organization         Lds If Eagle Rock Stake ‐ Rosewood Ward                   Grand Teton Council 107                 7940 N 35Th W                                          Idaho Falls, ID 83402                                                                  First Class Mail
Chartered Organization         Lds If Eagle Rock Stake ‐ Sageview Ward                   Grand Teton Council 107                 1345 Clarence Dr                                       Idaho Falls, ID 83402                                                                  First Class Mail
Chartered Organization         Lds If Eagle Rock Stake ‐ Westview Ward                   Grand Teton Council 107                 2020 S Charlotte Dr                                    Idaho Falls, ID 83402                                                                  First Class Mail
Chartered Organization         Lds If East Stake ‐ Caribou Ward                          Grand Teton Council 107                 1860 Kearney St                                        Idaho Falls, ID 83401‐3160                                                             First Class Mail
Chartered Organization         Lds If East Stake ‐ Coltman Ward                          Grand Teton Council 107                 Lewisville Hwy                                         Idaho Falls, ID 83401                                                                  First Class Mail
Chartered Organization         Lds If East Stake ‐ Fairview Ward                         Grand Teton Council 107                 Lewisville Hwy                                         Idaho Falls, ID 83401                                                                  First Class Mail
Chartered Organization         Lds If East Stake ‐ Kearney 2Nd Ward                      Grand Teton Council 107                 1860 Kearney St                                        Idaho Falls, ID 83401‐3160                                                             First Class Mail
Chartered Organization         Lds If East Stake ‐ Kearney Ward                          Grand Teton Council 107                 1860 Kearney St                                        Idaho Falls, ID 83401‐3160                                                             First Class Mail
Chartered Organization         Lds If East Stake ‐ Orvin Ward                            Grand Teton Council 107                 6925 N 15Th E                                          Idaho Falls, ID 83401                                                                  First Class Mail
Chartered Organization         Lds If East Stake ‐ Parri Ward                            Grand Teton Council 107                 6738 N Derek Ln                                        Idaho Falls, ID 83401‐5610                                                             First Class Mail
Chartered Organization         Lds If East Stake ‐ Summit Hills Ward                     Grand Teton Council 107                 6925 N 15Th E                                          Idaho Falls, ID 83401                                                                  First Class Mail
Chartered Organization         Lds If North Stake ‐ 13Th Ward                            Grand Teton Council 107                 955 Memorial Dr                                        Idaho Falls, ID 83402                                                                  First Class Mail
Chartered Organization         Lds If North Stake ‐ 19Th Ward                            Grand Teton Council 107                 3370 N 500 W                                           Idaho Falls, ID 83401                                                                  First Class Mail
Chartered Organization         Lds If North Stake ‐ Highland Park Ward                   Grand Teton Council 107                 955 Memorial Dr                                        Idaho Falls, ID 83402                                                                  First Class Mail
Chartered Organization         Lds If North Stake ‐ Riverside Ward                       Grand Teton Council 107                 955 Memorial Dr                                        Idaho Falls, ID 83402                                                                  First Class Mail
Chartered Organization         Lds If North Stake ‐ Sage Creek Ward                      Grand Teton Council 107                 3370 N 500 W                                           Idaho Falls, ID 83401                                                                  First Class Mail
Chartered Organization         Lds If North Stake ‐ Sage Lake Ward                       Grand Teton Council 107                 134 W 33Rd N                                           Idaho Falls, ID 83401‐1141                                                             First Class Mail
Chartered Organization         Lds If North Stake ‐ Willowbrook Ward                     Grand Teton Council 107                 1200 Dunbar Dr                                         Idaho Falls, ID 83402                                                                  First Class Mail
Chartered Organization         Lds If South Stake                                        If 17Th Spanish Ward                    2051 S Emerson                                         Idaho Falls, ID 83404                                                                  First Class Mail
Chartered Organization         Lds If South Stake                                        Shadow Mountain Ward                    3721 Shadow Mountain Trl                               Idaho Falls, ID 83404‐8244                                                             First Class Mail
Chartered Organization         Lds If South Stake ‐ Cedar Ridge Ward                     Grand Teton Council 107                 3195 So Holmes                                         Idaho Falls, ID 83404                                                                  First Class Mail
Chartered Organization         Lds If South Stake ‐ Home Ranch Ward                      Grand Teton Council 107                 2051 S Emerson                                         Idaho Falls, ID 83404                                                                  First Class Mail
Chartered Organization         Lds If South Stake ‐ Parkview Ward                        Grand Teton Council 107                 2051 S Emerson                                         Idaho Falls, ID 83404                                                                  First Class Mail
Chartered Organization         Lds If South Stake ‐ Shamrock Park Ward                   Grand Teton Council 107                 3195 S Holmes Ave                                      Idaho Falls, ID 83404                                                                  First Class Mail
Chartered Organization         Lds If South Stake ‐ Summerfield Ward                     Grand Teton Council 107                 3721 Shadow Mountain Trl                               Idaho Falls, ID 83404‐8244                                                             First Class Mail
Chartered Organization         Lds If South Stake ‐ Sunnyside 1St Ward                   Grand Teton Council 107                 3721 Shadow Mountain Trl                               Idaho Falls, ID 83404‐8244                                                             First Class Mail
Chartered Organization         Lds If Taylor Mountain Stake                              Sunterra Ward                           260 Castlerock Ln                                      Idaho Falls, ID 83404                                                                  First Class Mail
Chartered Organization         Lds If Taylor Mountain Stake                              Victorian Village Ward                  186 Haven Ln                                           Idaho Falls, ID 83404‐7993                                                             First Class Mail
Chartered Organization         Lds If Taylor Mtn Stake                                   Bristol Heights Ward                    Grand Teton Council 107                                247 Georgetown Ct                     Todd Harris      Idaho Falls, Id 83404           First Class Mail
Chartered Organization         Lds If Taylor Mtn Stake                                   Park Taylor Ward                        791 W 65Th S                                           Idaho Falls, ID 83402                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                     Page 214 of 442
                                                                                   Case 20-10343-LSS                                  Doc 8171                                       Filed 01/06/22                           Page 230 of 457
                                                                                                                                                                        Exhibit B
                                                                                                                                                                         Service List
                                                                                                                                                                  Served as set forth below

        Description                                                         Name                                                                                      Address                                                                   Email              Method of Service
Chartered Organization         Lds If Taylor Mtn Stake                                    South Point Ward                       1291 W 6500 S                                              Idaho Falls, ID 83402                                       First Class Mail
Chartered Organization         Lds If Taylor Mtn Stake                                    Taylorview Ward                        1291 W 65Th S                                              Idaho Falls, ID 83402                                       First Class Mail
Chartered Organization         Lds If Taylor Mtn Stake                                    Castlerock Ward                        260 Castlerock Ln                                          Idaho Falls, ID 83404                                       First Class Mail
Chartered Organization         Lds If Taylor Mtn Stake ‐ Waterford Ward                   Grand Teton Council 107                5255 S 5Th W                                               Idaho Falls, ID 83404                                       First Class Mail
Chartered Organization         Lds If Taylor Mtn Stake ‐ Yorkside Ward                    Grand Teton Council 107                260 Castlerock Ln                                          Idaho Falls, ID 83404                                       First Class Mail
Chartered Organization         Lds If West Stake ‐ Brentwood Ward                         Grand Teton Council 107                2040 Brentwood Dr                                          Idaho Falls, ID 83402‐2924                                  First Class Mail
Chartered Organization         Lds If West Stake ‐ Fox Hollow Ward                        Grand Teton Council 107                2345 W 17Th S                                              Idaho Falls, ID 83402                                       First Class Mail
Chartered Organization         Lds If West Stake ‐ Grandview Ward                         Grand Teton Council 107                1450 Mountain View Ln                                      Idaho Falls, ID 83402‐1814                                  First Class Mail
Chartered Organization         Lds If West Stake ‐ Mountain View Ward                     Grand Teton Council 107                2040 Brentwood Dr                                          Idaho Falls, ID 83402‐2924                                  First Class Mail
Chartered Organization         Lds If West Stake ‐ Skyline Ward                           Grand Teton Council 107                2345 W 17Th S                                              Idaho Falls, ID 83402                                       First Class Mail
Chartered Organization         Lds If West Stake ‐ Taylor Crossing Ward                   Grand Teton Council 107                2040 Brentwood Dr                                          Idaho Falls, ID 83402‐2924                                  First Class Mail
Chartered Organization         Lds If West Stake ‐ Templeview Ward                        Grand Teton Council 107                1450 Mountain View Ln                                      Idaho Falls, ID 83402‐1814                                  First Class Mail
Chartered Organization         Lds If West Stake ‐ Westhill Ward                          Grand Teton Council 107                2040 Brentwood Dr                                          Idaho Falls, ID 83402‐2924                                  First Class Mail
Chartered Organization         Lds Immokalee Ward Fort Myers Stake                        Southwest Florida Council 088          1335 N 15Th St                                             Immokalee, FL 34142‐2816                                    First Class Mail
Chartered Organization         Lds Imperial 1St Ward/S L Highland Stk                     Great Salt Lake Council 590            2738 S Filmore St                                          Salt Lake City, UT 84106                                    First Class Mail
Chartered Organization         Lds Imperial 2Nd Ward/S L Highland Stk                     Great Salt Lake Council 590            2738 S Filmore St                                          Salt Lake City, UT 84106                                    First Class Mail
Chartered Organization         Lds Independence 1St Ward                                  Bluffdale Ut Independence Stake        15040 Mountainside Dr                                      Bluffdale, UT 84065                                         First Class Mail
Chartered Organization         Lds Independence 2Nd Ward                                  Bluffdale Ut Independence Stake        15100 Heritage Crest Way                                   Bluffdale, UT 84064                                         First Class Mail
Chartered Organization         Lds Independence 3Rd Ward                                  Bluffdale Ut Independence Stake        15399 S Noell Nelson Dr                                    Bluffdale, UT 84065                                         First Class Mail
Chartered Organization         Lds Independence 4Th Ward                                  Bluffdale Ut Independence Stake        1011 W Painted Horse Ln                                    Bluffdale, UT 84065‐7552                                    First Class Mail
Chartered Organization         Lds Independence 5Th Ward                                  Bluffdale Ut Independence Stake        15399 Heritage Crest Way                                   Bluffdale, UT 84065                                         First Class Mail
Chartered Organization         Lds Independence 6Th Ward                                  Bluffdale Ut Independence Stake        15399 S Noell Nelson Dr                                    Bluffdale, UT 84065                                         First Class Mail
Chartered Organization         Lds Independence Ward ‐ Bartlesville Stake                 Quivira Council, Bsa 198               507 Mulberry St                                            Independence, KS 67301‐2028                                 First Class Mail
Chartered Organization         Lds Independence Ward ‐ Tulsa Stake                        Quivira Council, Bsa 198               507 Mulberry St                                            Independence, KS 67301‐2028                                 First Class Mail
Chartered Organization         Lds Indian Creek Ward Lenexa Stake                         Heart Of America Council 307           21515 W 101St St                                           Lenexa, KS 66220                                            First Class Mail
Chartered Organization         Lds Indian Hills Ward                                      Utah National Parks 591                530 W Greenslake Dr                                        Cedar City, UT 84720‐4374                                   First Class Mail
Chartered Organization         Lds Indian Hills Ward Ward                                 Sl Monument Pk Stake                   1320 S Wasatch Dr                                          Salt Lake City, UT 84108‐2442                               First Class Mail
Chartered Organization         Lds Indian Lakes Ward ‐ Boise W Stk                        Ore‐Ida Council 106 ‐ Bsa 106          3555 N Cole Rd                                             Boise, ID 83704‐0733                                        First Class Mail
Chartered Organization         Lds Indian Ridge Ward/Sandy Ut East Stk                    Great Salt Lake Council 590            9636 S 1700 E                                              Sandy, UT 84092                                             First Class Mail
Chartered Organization         Lds Indian School Ward Abq East Stake                      Great Swest Council 412                P.O. Box 51751                                             Albuquerque, NM 87181‐1751                                  First Class Mail
Chartered Organization         Lds Indian Spgs Ward ‐ Tulsa Ok E Stake                    Indian Nations Council 488             1701 N Hickory Ave                                         Broken Arrow, OK 74012‐1711                                 First Class Mail
Chartered Organization         Lds Indian Spgs Ward Hill Country Stake                    Alamo Area Council 583                 25606 Wentink Ave                                          San Antonio, TX 78261‐2716                                  First Class Mail
Chartered Organization         Lds Indianola Ward                                         Utah National Parks 591                27165 N 10730 E                                            Fairview, UT 84629‐5538                                     First Class Mail
Chartered Organization         Lds Indigo Ranch Ward ‐ High Plains Stake                  Pikes Peak Council 060                 5485 Hopalong Trl                                          Colorado Springs, CO 80922‐3646                             First Class Mail
Chartered Organization         Lds Indigo Trails Ward ‐ Qc Az Central Stk                 Grand Canyon Council 010               21119 E Duncan St                                          Queen Creek, AZ 85142‐6762                                  First Class Mail
Chartered Organization         Lds Indy N Stk 2Nd Ward                                    Crossroads Of America 160              11220 E 30Th St                                            Indianapolis, IN 46229                                      First Class Mail
Chartered Organization         Lds Indy N Stk Beech Grove                                 Crossroads Of America 160              940 Wallace Ave                                            Indianapolis, IN 46201‐2854                                 First Class Mail
Chartered Organization         Lds Indy N Stk Carmel                                      Crossroads Of America 160              11257 Temple Dr                                            Carmel, IN 46032‐8859                                       First Class Mail
Chartered Organization         Lds Indy N Stk Crossroads                                  Crossroads Of America 160              940 Wallace Ave                                            Indianapolis, IN 46201‐2854                                 First Class Mail
Chartered Organization         Lds Indy N Stk Fishers                                     Crossroads Of America 160              777 Sunblest Blvd                                          Fishers, IN 46038‐1167                                      First Class Mail
Chartered Organization         Lds Indy N Stk Fishers 2Nd Ward                            Crossroads Of America 160              777 Sunblest Blvd                                          Fishers, IN 46038‐1167                                      First Class Mail
Chartered Organization         Lds Indy N Stk Keystone Ward                               Crossroads Of America 160              5200 Sue Dr                                                Carmel, IN 46033‐8670                                       First Class Mail
Chartered Organization         Lds Indy N Stk Noblesville                                 Crossroads Of America 160              777 Sunblest Blvd                                          Fishers, IN 46038‐1167                                      First Class Mail
Chartered Organization         Lds Indy N Stk Westfield                                   Crossroads Of America 160              11565 Temple Dr                                            Carmel, IN 46032‐8859                                       First Class Mail
Chartered Organization         Lds Indy N Stk Zionsville                                  Crossroads Of America 160              10710 Shelborne Rd                                         Carmel, IN 46032                                            First Class Mail
Chartered Organization         Lds Indy Stk 1St Ward                                      Crossroads Of America 160              900 E Stop 11 Rd                                           Indianapolis, IN 46227‐2547                                 First Class Mail
Chartered Organization         Lds Indy Stk Franklin                                      Crossroads Of America 160              201 Eastview Dr                                            Franklin, IN 46131                                          First Class Mail
Chartered Organization         Lds Indy Stk Greenwood                                     Crossroads Of America 160              900 E Stop 11 Rd                                           Indianapolis, IN 46227‐2547                                 First Class Mail
Chartered Organization         Lds Indy Stk Greenwood 2Nd                                 Crossroads Of America 160              201 N Eview Dr                                             Franklin, IN 46131                                          First Class Mail
Chartered Organization         Lds Indy Stk Shelbyville                                   Crossroads Of America 160              114 W Rampart St                                           Shelbyville, IN 46176‐9700                                  First Class Mail
Chartered Organization         Lds Indy W Stk 3Rd Ward                                    Crossroads Of America 160              900 E Stop 11 Rd                                           Indianapolis, IN 46227‐2547                                 First Class Mail
Chartered Organization         Lds Indy W Stk Avon                                        Crossroads Of America 160              2125 Reeves Rd                                             Plainfield, IN 46168                                        First Class Mail
Chartered Organization         Lds Indy W Stk Avon 2Nd Ward                               Crossroads Of America 160              1247 N County Rd 900 E                                     Avon, IN 46123‐5363                                         First Class Mail
Chartered Organization         Lds Indy W Stk Brownsburg                                  Crossroads Of America 160              9710 W 56Th St                                             Indianapolis, IN 46234                                      First Class Mail
Chartered Organization         Lds Indy W Stk Eagle Creek                                 Crossroads Of America 160              10710 Shelborne Rd                                         Carmel, IN 46032                                            First Class Mail
Chartered Organization         Lds Indy W Stk Greencastle                                 Crossroads Of America 160              280 E County Rd 300 S                                      Greencastle, IN 46135                                       First Class Mail
Chartered Organization         Lds Indy W Stk Mooresville                                 Crossroads Of America 160              2125 Reeves Rd                                             Plainfield, IN 46168                                        First Class Mail
Chartered Organization         Lds Indy W Stk Plainfield                                  Crossroads Of America 160              2125 Reeves Rd                                             Plainfield, IN 46168                                        First Class Mail
Chartered Organization         Lds Indy W Stk White River 2Nd                             Crossroads Of America 160              110 N White River Pkwy West Dr                             Indianapolis, IN 46222‐4401                                 First Class Mail
Chartered Organization         Lds Inglemoor Ward Bothell Stake                           Chief Seattle Council 609              16500 124Th Ave Ne                                         Woodinville, WA 98072                                       First Class Mail
Chartered Organization         Lds Inglewood 1St Ward                                     Greater Los Angeles Area 033           285 Inglewood Stake                                        Inglewood, CA 90302                                         First Class Mail
Chartered Organization         Lds Inglewood 2Nd Ward                                     Greater Los Angeles Area 033           483 S Inglewood Ave Ke                                     Inglewood, CA 90301                                         First Class Mail
Chartered Organization         Lds Inglewood Stake                                        Greater Los Angeles Area 033           7517 Arizona Ave                                           Los Angeles, CA 90045‐1326                                  First Class Mail
Chartered Organization         Lds Ingram Mill Ward                                       Springfield Stake                      1357 S Ingram Mill Rd                                      Springfield, MO 65804‐0625                                  First Class Mail
Chartered Organization         Lds Inland Empire Ward ‐ Rialto Stake                      California Inland Empire Council 045   1375 N Willow Ave                                          Rialto, CA 92376‐3382                                       First Class Mail
Chartered Organization         Lds Innovation Park Ward ‐ Mesa Az                         Eastmark Stake                         2339 S Crismon Rd                                          Mesa, AZ 85209‐2615                                         First Class Mail
Chartered Organization         Lds Inspirada Ward Anthem Hills Stake                      Las Vegas Area Council 328             2444 Urrard St                                             Henderson, NV 89044‐1540                                    First Class Mail
Chartered Organization         Lds Inverness Ward                                         Greater Alabama Council 001            1028 Hastings Cir                                          Birmingham, AL 35242‐2465                                   First Class Mail
Chartered Organization         Lds Inwood 1St Ward/New York Stake                         Greater New York Councils, Bsa 640     1815 Riverside Dr                                          New York, NY 10034‐5306                                     First Class Mail
Chartered Organization         Lds Inwood 2Nd Ward/ New York Stake                        Greater New York Councils, Bsa 640     1815 Riverside Dr                                          New York, NY 10034‐5306                                     First Class Mail
Chartered Organization         Lds Inwood First Ward/New York Stake                       Greater New York Councils, Bsa 640     1815 Riverside Dr                                          New York, NY 10034‐5306                                     First Class Mail
Chartered Organization         Lds Ioka Ward                                              Utah National Parks 591                560 S 3000 W                                               Roosevelt, UT 84066‐4982                                    First Class Mail
Chartered Organization         Lds Iola Ward ‐ Olathe Kansas Stake                        Quivira Council, Bsa 198               1420 E Carpenter St                                        Iola, KS 66749‐2608                                         First Class Mail
Chartered Organization         Lds Iona South Stake                                       Country Haven Ward                     5169 Denning Ave                                           Iona, ID 83427                                              First Class Mail
Chartered Organization         Lds Iona South Stake ‐ Iona 10Th Ward                      Grand Teton Council 107                Virlow                                                     Iona, ID 83427                                              First Class Mail
Chartered Organization         Lds Iona South Stake ‐ Iona 12Th Ward                      Grand Teton Council 107                P.O. Box 493                                               Iona, ID 83427‐0493                                         First Class Mail
Chartered Organization         Lds Iona South Stake ‐ Iona 1St Ward                       Grand Teton Council 107                190 E Denning                                              Iona, ID 83427                                              First Class Mail
Chartered Organization         Lds Iona South Stake ‐ Iona 3Rd Ward                       Grand Teton Council 107                5169 Denning Ave                                           Iona, ID 83427                                              First Class Mail
Chartered Organization         Lds Iona South Stake ‐ Iona 6Th Ward                       Grand Teton Council 107                1040 N Crimson Dr                                          Idaho Falls, ID 83401‐3742                                  First Class Mail
Chartered Organization         Lds Iona South Stake ‐ Iona 7Th Ward                       Grand Teton Council 107                915 N Crimson Dr                                           Idaho Falls, ID 83401                                       First Class Mail
Chartered Organization         Lds Iona South Stake ‐ Iona 9Th Ward                       Grand Teton Council 107                2890 N 45Th E                                              Idaho Falls, ID 83401‐1931                                  First Class Mail
Chartered Organization         Lds Iona South Stake ‐ Old Mill Ward                       Grand Teton Council 107                1040 N Crimson Dr                                          Idaho Falls, ID 83401‐3742                                  First Class Mail
Chartered Organization         Lds Iona Stake ‐ Iona 11Th Ward                            Grand Teton Council 107                4707 E Iona Rd                                             Idaho Falls, ID 83401                                       First Class Mail
Chartered Organization         Lds Iona Stake ‐ Iona 2Nd Ward                             Grand Teton Council 107                3560 N Dayton St                                           Iona, ID 83427‐7710                                         First Class Mail
Chartered Organization         Lds Iona Stake ‐ Iona 5Th Ward                             Grand Teton Council 107                General Delivery                                           Iona, ID 83427                                              First Class Mail
Chartered Organization         Lds Iona Stake ‐ Lincoln 4Th Ward                          Grand Teton Council 107                3102 Pinnacle Dr                                           Idaho Falls, ID 83401                                       First Class Mail
Chartered Organization         Lds Iona Stake ‐ Lincoln 5Th Ward                          Grand Teton Council 107                3840 E Vision Dr                                           Idaho Falls, ID 83401‐5193                                  First Class Mail
Chartered Organization         Lds Iona Stake ‐ Lincoln 6Th Ward                          Grand Teton Council 107                3102 Pinnacle Dr                                           Idaho Falls, ID 83401                                       First Class Mail
Chartered Organization         Lds Iona Stake ‐ Lincoln 7Th Ward                          Grand Teton Council 107                4707 E Iona Rd                                             Idaho Falls, ID 83401                                       First Class Mail
Chartered Organization         Lds Iona Stake ‐ Lincoln 8Th Ward                          Grand Teton Council 107                7555 N 55Th E                                              Idaho Falls, ID 83401                                       First Class Mail
Chartered Organization         Lds Iona Stake ‐ Red Rock Ward                             Grand Teton Council 107                7555 N 55Th E                                              Idaho Falls, ID 83401                                       First Class Mail
Chartered Organization         Lds Ione Ward Lodi Stake                                   Golden Empire Council 047              P.O. Box 1565                                              Ione, CA 95640‐1565                                         First Class Mail
Chartered Organization         Lds Iron Mtn Ward Tule Spgs Stake                          Las Vegas Area Council 328             8525 Thom Blvd                                             Las Vegas, NV 89131‐3608                                    First Class Mail
Chartered Organization         Lds Iron Springs Ward                                      Utah National Parks 591                139 N 4275 W                                               Cedar City, UT 84720‐8192                                   First Class Mail
Chartered Organization         Lds Ironwood Crossing 1St Ward ‐ Stv Az                    North Stake                            663 W Trellis Rd                                           San Tan Valley, AZ 85140‐6612                               First Class Mail
Chartered Organization         Lds Ironwood Crossing 2Nd Ward ‐ Stv Az                    North Stake                            41246 N Barnes Pkwy                                        San Tan Valley, AZ 85142                                    First Class Mail
Chartered Organization         Lds Ironwood Crossing 3Rd Ward ‐ Stv Az                    North Stake                            1387 W Alder Rd                                            San Tan Valley, AZ 85140‐7832                               First Class Mail
Chartered Organization         Lds Ironwood Ward ‐ Mesa Az Flat Iron Stk                  Grand Canyon Council 010               10036 E Brown Rd                                           Mesa, AZ 85207                                              First Class Mail
Chartered Organization         Lds Ironwood Ward ‐ Moreno Valley Stake                    California Inland Empire Council 045   24688 Huntley Dr                                           Moreno Valley, CA 92557‐5105                                First Class Mail
Chartered Organization         Lds Ironwood Ward ‐ Stv Az North Stk                       Grand Canyon Council 010               41246 N Barnes Pkwy                                        San Tan Valley, AZ 85142                                    First Class Mail
Chartered Organization         Lds Irvington Ward ‐ Fremont Stake                         San Francisco Bay Area Council 028     42500 Gatewood St                                          Fremont, CA 94538‐4128                                      First Class Mail
Chartered Organization         Lds Island View Ward                                       Clearfield South Stake                 315 E 2200 S                                               Clearfield, UT 84015                                        First Class Mail
Chartered Organization         Lds Islands Ward ‐ Gilbert Az Stapley Stk                  Grand Canyon Council 010               1150 E Elliot Rd                                           Gilbert, AZ 85234                                           First Class Mail
Chartered Organization         Lds Issaquah 1St Ward Bellevue South                       Chief Seattle Council 609              1100 6Th Ave Se                                            Issaquah, WA 98027‐4718                                     First Class Mail
Chartered Organization         Lds Ithaca Ward                                            Baden‐Powell Council 368               114 Burleigh Dr                                            Ithaca, NY 14850‐1742                                       First Class Mail
Chartered Organization         Lds Ivins Eighth Ward                                      Utah National Parks 591                240 E 1060 S                                               Ivins, UT 84738                                             First Class Mail
Chartered Organization         Lds Ivins Fifth Ward                                       Utah National Parks 591                112 E 300 N                                                Ivins, UT 84738‐6139                                        First Class Mail
Chartered Organization         Lds Ivins First Ward                                       Utah National Parks 591                290 E 1060 S                                               Ivins, UT 84738                                             First Class Mail
Chartered Organization         Lds Ivins Fourth Ward                                      Utah National Parks 591                348 E 735 S                                                Ivins, UT 84738                                             First Class Mail
Chartered Organization         Lds Ivins Ninth Ward                                       Utah National Parks 591                250 E 1020 S                                               Ivins, UT 84738‐6266                                        First Class Mail
Chartered Organization         Lds Ivins Second Ward                                      Utah National Parks 591                15 N Main St                                               Ivins, UT 84738                                             First Class Mail
Chartered Organization         Lds Ivins Sixth Ward                                       Utah National Parks 591                114 S 100 E                                                Ivins, UT 84738‐6216                                        First Class Mail
Chartered Organization         Lds Ivins Tenth Ward                                       Utah National Parks 591                137 W 100 N                                                Ivins, UT 84738‐6150                                        First Class Mail
Chartered Organization         Lds Jackson Branch                                         Flint River Council 095                909 E 3Rd St                                               Jackson, GA 30233‐2111                                      First Class Mail
Chartered Organization         Lds Jackson Creek Ward ‐ North Stake                       Pikes Peak Council 060                 950 W Hwy 105                                              Monument, CO 80132                                          First Class Mail
Chartered Organization         Lds Jackson Ward Lodi Stake                                Golden Empire Council 047              12924 Ridge Rd                                             Sutter Creek, CA 95685‐9651                                 First Class Mail
Chartered Organization         Lds Jackson Ward, Lansing Stake                            Southern Shores Fsc 783                4541 Spinnaker Ln                                          Pleasant Lake, MI 49272‐9624                                First Class Mail
Chartered Organization         Lds Jacksonville 2 Ward                                    East Carolina Council 426              300 Brynn Marr Rd                                          Jacksonville, NC 28546‐7023                                 First Class Mail
Chartered Organization         Lds Jacksonville 2280Th Stake                              Abraham Lincoln Council 144            1053 E Vandalia Rd                                         Jacksonville, IL 62650                                      First Class Mail
Chartered Organization         Lds Jacksonville 3 Ward                                    East Carolina Council 426              300 Brynn Marr Rd                                          Jacksonville, NC 28546‐7023                                 First Class Mail
Chartered Organization         Lds Jacksonville Ward                                      Central Point Stake                    1225 Westmont Dr                                           Jacksonville, OR 97530‐9702                                 First Class Mail
Chartered Organization         Lds Jacobs Ranch First                                     Utah National Parks 591                2287 S Maverick Rd                                         Saratoga Springs, UT 84045‐3934                             First Class Mail
Chartered Organization         Lds Jacobs Ranch Second Ward                               Utah National Parks 591                2338 S Wesson Dr                                           Saratoga Springs, UT 84045‐5443                             First Class Mail
Chartered Organization         Lds Jamestown Ward ‐ Newport News Stake                    Colonial Virginia Council 595          2017 Newman Rd                                             Williamsburg, VA 23188                                      First Class Mail
Chartered Organization         Lds Jan Ree Ward Keizer Stake                              Cascade Pacific Council 492            862 45Th Ave Ne                                            Salem, OR 97301‐3022                                        First Class Mail
Chartered Organization         Lds Janesville Ward                                        Glaciers Edge Council 620              3001 N Wright Rd                                           Janesville, WI 53546‐4214                                   First Class Mail
Chartered Organization         Lds Jardines Ward ‐ Santa Ana So Stake                     Orange County Council 039              10212 Stanford Ave                                         Garden Grove, CA 92840                                      First Class Mail
Chartered Organization         Lds Jarrettown 1St Ward                                    Cradle Of Liberty Council 525          1501 Limekiln Pike                                         Dresher, PA 19025‐1006                                      First Class Mail
Chartered Organization         Lds Jasper Evansville In                                   Buffalo Trace 156                      614 Crestwood Dr                                           Jasper, IN 47546‐8456                                       First Class Mail
Chartered Organization         Lds Jefferson City Ward ‐ Columbia Stake                   Great Rivers Council 653               4618 Henwick Ln                                            Jefferson City, MO 65109‐0108                               First Class Mail
Chartered Organization         Lds Jefferson Ward Lebanon Stake                           Cascade Pacific Council 492            681 Jefferson Scio Dr                                      Jefferson, OR 97352‐9423                                    First Class Mail
Chartered Organization         Lds Jefferson Ward/Murray West Stake                       Great Salt Lake Council 590            67 W Clay Park Dr                                          Salt Lake City, UT 84107‐7089                               First Class Mail
Chartered Organization         Lds Jefferson Ward/S L Liberty Stake                       Great Salt Lake Council 590            1883 S West Temple                                         Salt Lake City, UT 84115‐1833                               First Class Mail
Chartered Organization         Lds Jeffersonville Ward                                    Lincoln Heritage Council 205           1534 Slate Run Rd                                          New Albany, IN 47150‐6210                                   First Class Mail
Chartered Organization         Lds Jenks Ward ‐ Tulsa Ok Stake                            Indian Nations Council 488             905 Pioneer Rd                                             Sapulpa, OK 74066                                           First Class Mail
Chartered Organization         Lds Jennings Lane Ward                                     Centerville Ut N Stake                 1298 N 400 W                                               Centerville, UT 84014                                       First Class Mail
Chartered Organization         Lds Jensen Park Ward                                       Syracuse South Stake                   3024 S 1200 W                                              Syracuse, UT 84075                                          First Class Mail
Chartered Organization         Lds Jensen Ward                                            Utah National Parks 591                8775 E 6000 S                                              Jensen, UT 84035‐9716                                       First Class Mail
Chartered Organization         Lds Jeraldo Ward ‐ Victorville Stake                       California Inland Empire Council 045   15330 Jeraldo Dr                                           Victorville, CA 92394‐5579                                  First Class Mail
Chartered Organization         Lds Jeremy Ranch Ward/Park City Ut Stk                     Great Salt Lake Council 590            3010 Saddleback Rd                                         Park City, UT 84098                                         First Class Mail
Chartered Organization         Lds Jersey City                                            Northern New Jersey Council, Bsa 333   140 Sip Ave                                                Jersey City, NJ 07306‐3009                                  First Class Mail
Chartered Organization         Lds Jessie's Brook Ward                                    Utah National Parks 591                859 Mattea Ln                                              Springville, UT 84663‐5519                                  First Class Mail
Chartered Organization         Lds Jewel Lake Ward ‐ Anchorage Stake                      Great Alaska Council 610               3250 Strawberry Rd                                         Anchorage, AK 99502‐3108                                    First Class Mail
Chartered Organization         Lds Job's Peak Ward ‐ Carson City Stake                    Nevada Area Council 329                891 Mahogany Dr                                            Minden, NV 89423                                            First Class Mail
Chartered Organization         Lds Johansen Park Ward                                     Mount Logan Stake                      565 E 100 S                                                Logan, UT 84321                                             First Class Mail
Chartered Organization         Lds John Day Ward ‐ La Grande Stake                        Blue Mountain Council 604              26 John Day Hwy                                            John Day, OR 97845                                          First Class Mail
Chartered Organization         Lds Johns Creek Ward Roswell Stake                         Atlanta Area Council 092               5995 Spalding Dr                                           Norcross, GA 30092‐1946                                     First Class Mail
Chartered Organization         Lds Johnson City Ward                                      Sequoyah Council 713                   211 Mayflower Rd                                           Johnson City, TN 37601                                      First Class Mail
Chartered Organization         Lds Johnson Ranch Ward ‐ Stv Az Stk                        Grand Canyon Council 010               29900 N Maravilla Dr                                       San Tan Valley, AZ 85143‐3831                               First Class Mail
Chartered Organization         Lds Jones Falls Ward                                       Baltimore Area Council 220             1400 Dulaney Valley Rd                                     Lutherville, MD 21093                                       First Class Mail
Chartered Organization         Lds Jonesboro Ward Searcy, Ar Stake                        Quapaw Area Council 018                301 E Highland Dr                                          Jonesboro, AR 72401‐6008                                    First Class Mail
Chartered Organization         Lds Jonesville Branch, Lansing Stake                       Southern Shores Fsc 783                P.O. Box 163                                               Jonesville, MI 49250‐0163                                   First Class Mail
Chartered Organization         Lds Joplin Ward 1‐Joplin Stake                             Ozark Trails Council 306               2101 Indiana Ave                                           Joplin, MO 64804                                            First Class Mail
Chartered Organization         Lds Joplin Ward 2‐Joplin Stake                             Ozark Trails Council 306               2101 Indiana Ave                                           Joplin, MO 64804                                            First Class Mail
Chartered Organization         Lds Jordan 1St Ward/S L Jordan Stk                         Great Salt Lake Council 590            4145 S 3920 W                                              Salt Lake City, UT 84120                                    First Class Mail
Chartered Organization         Lds Jordan 3Rd Ward/S L Jordan Stk                         Great Salt Lake Council 590            4743 S 3730 W                                              Taylorsville, UT 84129‐3425                                 First Class Mail
Chartered Organization         Lds Jordan 4Th Ward/S L Jordan Stk                         Great Salt Lake Council 590            3674 W 4700 S                                              Taylorsville, UT 84129                                      First Class Mail
Chartered Organization         Lds Jordan 6Th Ward/S L Jordan Stk                         Great Salt Lake Council 590            3650 W 4400 S                                              West Valley City, UT 84120‐5533                             First Class Mail
Chartered Organization         Lds Jordan Meadows Ward                                    Utah National Parks 591                1998 W 900 N                                               Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Jordan Meadows Ward                                    S L Granger E Stake                    1510 W 3940 S                                              Salt Lake City, UT 84123                                    First Class Mail
Chartered Organization         Lds Jordan North 1St Ward                                  S L Jordan N Stake                     3900 S 4000 W                                              Salt Lake City, UT 84120‐4038                               First Class Mail
Chartered Organization         Lds Jordan North 2Nd Ward                                  S L Jordan N Stake                     4270 S Falcon St                                           Salt Lake City, UT 84120                                    First Class Mail
Chartered Organization         Lds Jordan North 4Th Ward                                  S L Jordan N Stake                     4270 S Falcon St                                           Salt Lake City, UT 84120                                    First Class Mail
Chartered Organization         Lds Jordan North 5Th Ward                                  S L Jordan N Stake                     3836 W 4100 S                                              Salt Lake City, UT 84120‐5574                               First Class Mail
Chartered Organization         Lds Jordan North 6Th Ward                                  S L Jordan N Stake                     3836 W 4100 S                                              Salt Lake City, UT 84120‐5574                               First Class Mail
Chartered Organization         Lds Jordan North 8Th Ward                                  S L Jordan N Stake                     3900 S 4000 W                                              Salt Lake City, UT 84120‐4038                               First Class Mail
Chartered Organization         Lds Jordan Oaks 1St Ward                                   W J Ut Jordan Oaks Stake               3907 W 8010 S                                              West Jordan, UT 84088‐4337                                  First Class Mail
Chartered Organization         Lds Jordan Oaks 2Nd Ward                                   W J Ut Jordan Oaks Stake               3930 W 7875 S                                              West Jordan, UT 84088                                       First Class Mail
Chartered Organization         Lds Jordan Oaks 3Rd Ward                                   W J Ut Jordan Oaks Stake               8117 S Leslie Dr, Ste 3905W                                West Jordan, UT 84088‐4303                                  First Class Mail
Chartered Organization         Lds Jordan Oaks 4Th Ward                                   W J Ut Jordan Oaks Stake               9353 S Vistawest Dr                                        West Jordan, UT 84088                                       First Class Mail
Chartered Organization         Lds Jordan Oaks 5Th Ward                                   W J Ut Jordan Oaks Stake               9353 S Vistawest Dr                                        West Jordan, UT 84088                                       First Class Mail
Chartered Organization         Lds Jordan Oaks 7Th Ward                                   W J Ut Jordan Oaks Stake               7825 S 4000 W.                                             West Jordan, UT 84088                                       First Class Mail
Chartered Organization         Lds Jordan Parkway Ward                                    S L Granger E Stake                    1510 W 3940 S                                              Salt Lake City, UT 84123                                    First Class Mail
Chartered Organization         Lds Jordan River Ward                                      Utah National Parks 591                1929 W 1500 N                                              Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Jordan View Ward                                       S L Granger N Stake                    1165 W 2320 S                                              Salt Lake City, UT 84119                                    First Class Mail
Chartered Organization         Lds Jordan Willows Eighth Ward                             Utah National Parks 591                746 S Olive Spgs                                           Lehi, UT 84043‐6648                                         First Class Mail
Chartered Organization         Lds Jordan Willows Fifth Ward                              Utah National Parks 591                3156 W Willow Bnd                                          Lehi, UT 84043‐5911                                         First Class Mail
Chartered Organization         Lds Jordan Willows First Ward                              Utah National Parks 591                2161 W Grays Dr                                            Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Jordan Willows Fourth Ward                             Utah National Parks 591                2161 W Grays Dr                                            Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Jordan Willows Ninth Ward                              Utah National Parks 591                517 S Willow Xing                                          Lehi, UT 84043‐6627                                         First Class Mail
Chartered Organization         Lds Jordan Willows Second Ward                             Utah National Parks 591                2161 W Grays Dr                                            Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Jordan Willows Seventh Ward                            Utah National Parks 591                1877 W Grays Pl                                            Lehi, UT 84043‐2769                                         First Class Mail
Chartered Organization         Lds Jordan Willows Sixth Ward                              Utah National Parks 591                496 S River Way                                            Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Jordan Willows Third Ward                              Utah National Parks 591                476 S River Way                                            Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Joseph Ward                                            Utah National Parks 591                765 S Sevier Hwy                                           Joseph, UT 84739‐1145                                       First Class Mail
Chartered Organization         Lds Joshua Ward ‐ Fort Worth Stake                         Longhorn Council 662                   390 Se John Jones Dr                                       Burleson, TX 76028                                          First Class Mail
Chartered Organization         Lds Junction City Ward ‐ Santa Clara Stake                 Oregon Trail Council 697               1145 S 6Th St                                              Harrisburg, OR 97446‐9545                                   First Class Mail
Chartered Organization         Lds Jupiter Hills Ward                                     Syracuse West Stake                    3267 W 700 S                                               Syracuse, UT 84075                                          First Class Mail
Chartered Organization         Lds Jupiter Ward ‐ Stuart Stake                            Gulf Stream Council 085                6400 Roebuck Rd                                            Jupiter, FL 33458‐3324                                      First Class Mail
Chartered Organization         Lds Jurupa 1St Ward ‐ Jurupa Stake                         California Inland Empire Council 045   8660 44Th St                                               Jurupa Valley, CA 92509‐3212                                First Class Mail
Chartered Organization         Lds Justin Ward ‐ Alliance Stake                           Longhorn Council 662                   500 E Bonds Ranch Rd                                       Ft Worth, TX 76131‐2506                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                         Page 215 of 442
                                                                                Case 20-10343-LSS                               Doc 8171                                           Filed 01/06/22                                           Page 231 of 457
                                                                                                                                                                      Exhibit B
                                                                                                                                                                       Service List
                                                                                                                                                                Served as set forth below

        Description                                                      Name                                                                                       Address                                                                                   Email              Method of Service
Chartered Organization         Lds Kadena Servicemens Branch                           Far E Council 803                   Kadena Air Base                                                Okinawa Japan                   APO, AP 96367                               First Class Mail
Chartered Organization         Lds Kahala Ward ‐ Honolulu Stake                        Aloha Council, Bsa 104              4847 Kilauea Ave                                               Honolulu, HI 96816‐5729                                                     First Class Mail
Chartered Organization         Lds Kahaluu Ward ‐ Kaneohe Stake                        Aloha Council, Bsa 104              46‐117 Halaulani St                                            Kaneohe, HI 96744‐4026                                                      First Class Mail
Chartered Organization         Lds Kahuku 1St Ward ‐ Laie North Stake                  Aloha Council, Bsa 104              P.O. Box 905                                                   Kahuku, HI 96731‐0905                                                       First Class Mail
Chartered Organization         Lds Kahuku 2Nd Ward ‐ Laie North Stake                  Aloha Council, Bsa 104              P.O. Box 342                                                   Kahuku, HI 96731‐0342                                                       First Class Mail
Chartered Organization         Lds Kahuku 3Rd Ward ‐ Tongan Laie N Stake               Aloha Council, Bsa 104              56‐345 Kekauoha St                                             Kahuku, HI 96731‐2021                                                       First Class Mail
Chartered Organization         Lds Kahului Ward, Kahului Hi Stake                      Aloha Council, Bsa 104              1300 Mauilani Pkwy                                             Kahului, HI 96732                                                           First Class Mail
Chartered Organization         Lds Kaibab Ward                                         Utah National Parks 591             50 W Center                                                    Moccasin, AZ 86022                                                          First Class Mail
Chartered Organization         Lds Kailua Ward ‐ Kaneohe Stake                         Aloha Council, Bsa 104              1461 Kanapuu Dr                                                Kailua, HI 96734                                                            First Class Mail
Chartered Organization         Lds Kaimuki Ward ‐ Honolulu Stake                       Aloha Council, Bsa 104              4847 Kilauea Ave                                               Honolulu, HI 96816‐5729                                                     First Class Mail
Chartered Organization         Lds Kalaeloa Ward ‐ Makakilo Stake                      Aloha Council, Bsa 104              2074 Lauwiliwili St                                            Kapolei, HI 96707                                                           First Class Mail
Chartered Organization         Lds Kalaheo Ward ‐ Kauai Hawaii Stake                   Aloha Council, Bsa 104              2‐2354 Kaumualii Hwy                                           Kalaheo, HI 96741                                                           First Class Mail
Chartered Organization         Lds Kalama Ward Longview Stake                          Cascade Pacific Council 492         281 Insel Rd                                                   Woodland, WA 98674‐8298                                                     First Class Mail
Chartered Organization         Lds Kalamazoo 1St Ward ‐ Kalamazoo Stake                Southern Shores Fsc 783             1112 N Drake Rd                                                Kalamazoo, MI 49006‐2661                                                    First Class Mail
Chartered Organization         Lds Kalamazoo 2Nd Ward ‐ Kalamazoo Stake                Southern Shores Fsc 783             1112 N Drake Rd                                                Kalamazoo, MI 49006‐2661                                                    First Class Mail
Chartered Organization         Lds Kalifornsky Beach Ward                              Soldotna Stake                      609 N Forest Dr                                                Kenai, AK 99611‐7412                                                        First Class Mail
Chartered Organization         Lds Kalispell 1St Ward, Kalispell Stake                 Montana Council 315                 1380 Whitefish Stage                                           Kalispell, MT 59901‐2748                                                    First Class Mail
Chartered Organization         Lds Kalispell 2Nd Ward, Kalispell Stake                 Montana Council 315                 1380 Whitefish Stage                                           Kalispell, MT 59901‐2748                                                    First Class Mail
Chartered Organization         Lds Kalispell 3Rd Ward, Kalispell Stake                 Montana Council 315                 1380 Whitefish Stage                                           Kalispell, MT 59901‐2748                                                    First Class Mail
Chartered Organization         Lds Kalkaska ‐ Traverse City Ward                       President Gerald R Ford 781         106 S Cherry St                                                Kalkaska, MI 49646‐7936                                                     First Class Mail
Chartered Organization         Lds Kamas 1St Ward/Kamas Ut Stk                         Great Salt Lake Council 590         100 Center St                                                  Kamas, UT 84036                                                             First Class Mail
Chartered Organization         Lds Kamas 2Nd Ward/Kamas Ut Stk                         Great Salt Lake Council 590         100 W Center St                                                Kamas, UT 84036                                                             First Class Mail
Chartered Organization         Lds Kamas 4Th Ward/Kamas Utah Stake                     Great Salt Lake Council 590         387 W Last Frontier Ln                                         Francis, UT 84036                                                           First Class Mail
Chartered Organization         Lds Kamiah 1St Ward/Lewiston Stake                      Inland NW Council 611               Hwy 12                                                         Kamiah, ID 83536                                                            First Class Mail
Chartered Organization         Lds Kamiah 2Nd Ward/Lewiston Stake                      Inland NW Council 611               Hwy 12                                                         Kamiah, ID 83536                                                            First Class Mail
Chartered Organization         Lds Kanab Fifth Ward                                    Utah National Parks 591             151 S Main St                                                  Kanab, UT 84741‐3421                                                        First Class Mail
Chartered Organization         Lds Kanab First Ward                                    Utah National Parks 591             1435 S Mcallister Dr                                           Kanab, UT 84741‐6177                                                        First Class Mail
Chartered Organization         Lds Kanab Fourth Ward                                   Utah National Parks 591             411 Hillcrest Trl                                              Kanab, UT 84741‐3258                                                        First Class Mail
Chartered Organization         Lds Kanab Second Ward                                   Utah National Parks 591             604 S 100 E                                                    Kanab, UT 84741‐3638                                                        First Class Mail
Chartered Organization         Lds Kanab Seventh Ward                                  Utah National Parks 591             1273 S Country Estates Ln                                      Kanab, UT 84741‐3914                                                        First Class Mail
Chartered Organization         Lds Kanab Sixth Ward                                    Utah National Parks 591             1435 S Mcallister Dr                                           Kanab, UT 84741‐6177                                                        First Class Mail
Chartered Organization         Lds Kanab Third Ward                                    Utah National Parks 591             546 N 100 E                                                    Kanab, UT 84741‐3314                                                        First Class Mail
Chartered Organization         Lds Kanarraville Ward                                   Utah National Parks 591             P.O. Box 420074                                                Kanarraville, UT 84742                                                      First Class Mail
Chartered Organization         Lds Kaneohe 1St Ward ‐ Kaneohe Stake                    Aloha Council, Bsa 104              45‐510 Waikalua Pl                                             Kaneohe, HI 96744                                                           First Class Mail
Chartered Organization         Lds Kaneohe 2Nd Ward ‐ Kaneohe Stake                    Aloha Council, Bsa 104              45‐150 Waikalua Rd                                             Kaneohe, HI 96744‐2751                                                      First Class Mail
Chartered Organization         Lds Kaneohe 3Rd Ward ‐ Kaneohe Stake                    Aloha Council, Bsa 104              46‐117 Halaulani St                                            Kaneohe, HI 96744‐4026                                                      First Class Mail
Chartered Organization         Lds Kaneohe 4Th Ward ‐ Kaneohe Stake                    Aloha Council, Bsa 104              46‐117 Halaulani St                                            Kaneohe, HI 96744‐4026                                                      First Class Mail
Chartered Organization         Lds Kanesville Ward Council Bluff Stake                 Mid‐America Council 326             2303 Butler St                                                 Council Bluffs, IA 51503                                                    First Class Mail
Chartered Organization         Lds Kanosh Ward                                         Utah National Parks 591             P.O. Box 159                                                   Kanosh, UT 84637‐0159                                                       First Class Mail
Chartered Organization         Lds Kansas City North Ward Liberty Stake                Heart Of America Council 307        6751 Ne 70Th St                                                Kansas City, MO 64119‐5305                                                  First Class Mail
Chartered Organization         Lds Kapaa 1St Ward ‐ Lihue Stake                        Aloha Council, Bsa 104              P.O. Box 115                                                   Kapaa, HI 96746‐0115                                                        First Class Mail
Chartered Organization         Lds Kapaa 2Nd Ward ‐ Kauai Hawaii Stake                 Aloha Council, Bsa 104              P.O. Box 266                                                   Anahola, HI 96703‐0266                                                      First Class Mail
Chartered Organization         Lds Kapolei Ward ‐ Makakilo Stake                       Aloha Council, Bsa 104              91‐1015 Haulele St                                             Kapolei, HI 96707                                                           First Class Mail
Chartered Organization         Lds Karalee Ward                                        Sandy Ut Granite S Stake            2130 E 10000 S                                                 Sandy, UT 84092                                                             First Class Mail
Chartered Organization         Lds Kaumana Ward ‐ Hilo Stake                           Aloha Council, Bsa 104              522 Ponahawai St                                               Hilo, HI 96720                                                              First Class Mail
Chartered Organization         Lds Kaunakakai Ward, Kahului Hi Stake                   Aloha Council, Bsa 104              P.O. Box 605                                                   Kaunakakai, HI 96748‐0605                                                   First Class Mail
Chartered Organization         Lds Kaw River Ward Lenexa Stake                         Heart Of America Council 307        14509 W 115Th Ter                                              Lenexa, KS 66062‐4932                                                       First Class Mail
Chartered Organization         Lds Kaw Valley Ward ‐ Topeka Stake                      Jayhawk Area Council 197            2401 Sw Kingsrow Rd                                            Topeka, KS 66614‐5615                                                       First Class Mail
Chartered Organization         Lds Kaysville 10Th Ward                                 Crestwood Stake                     805 E Mutton Hollow Rd                                         Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 11Th Ward                                 Kaysville South Stake               500 S Main St                                                  Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 12Th Ward                                 Crestwood Stake                     855 E Mutton Hollow Rd                                         Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 13Th Ward                                 Kaysville East Stake                201 S 600 E                                                    Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 14Th Ward                                 Kaysville South Stake               9 W 550 So                                                     Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 15Th Ward                                 Kaysville Central Stake             555 N 100 E                                                    Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 17Th Ward                                 Kaysville East Stake                201 S 600 E                                                    Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 18Th Ward                                 Crestwood Stake                     855 E Mutton Hollow Rd                                         Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 1St Ward                                  Kaysville Central Stake             198 W Center St                                                Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 20Th Ward                                 Crestwood Stake                     855 E Mutton Hollow Rd                                         Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 22Nd Ward                                 Kaysville East Stake                201 S 600 E                                                    Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 2Nd Ward                                  Kaysville Central Stake             25 S 200 E                                                     Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 4Th Ward                                  Kaysville East Stake                875 E 200 N                                                    Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 5Th Ward                                  Kaysville East Stake                201 S 600 E                                                    Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 7Th Ward                                  Kaysville Central Stake             331 S 50 W                                                     Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 8Th Ward                                  Kaysville Central Stake             25 S 200 E                                                     Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kaysville 9Th Ward                                  Kaysville East Stake                201 S 600 E                                                    Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Kc 1St Ward Kcmo Stake                              Heart Of America Council 307        8144 Holmes Rd                                                 Kansas City, MO 64131‐2145                                                  First Class Mail
Chartered Organization         Lds Kc 3Rd Ward Kcmo Stake                              Heart Of America Council 307        13025 Wornall Rd                                               Kansas City, MO 64145                                                       First Class Mail
Chartered Organization         Lds Keaau Ward ‐ Hilo Stake                             Aloha Council, Bsa 104              16‐105 Orchidland Dr                                           Keaau, HI 96749                                                             First Class Mail
Chartered Organization         Lds Kealakekua Ward ‐ Kona Stake                        Aloha Council, Bsa 104              P.O. Box 1687                                                  Kailua Kona, HI 96745‐1687                                                  First Class Mail
Chartered Organization         Lds Kearney Ward Far West Stake                         Heart Of America Council 307        202 W 19Th St                                                  Kearney, MO 64060                                                           First Class Mail
Chartered Organization         Lds Kearns 10Th Ward/Kearns Ut Stk                      Great Salt Lake Council 590         5025 W 4865 S                                                  Salt Lake City, UT 84118                                                    First Class Mail
Chartered Organization         Lds Kearns 13Th (Tongan) Branch                         Sl Ut S (Tongan) Stake              4660 W 5015 S                                                  Salt Lake City, UT 84118‐6203                                               First Class Mail
Chartered Organization         Lds Kearns 14Th Ward/Kearns Ut East Stk                 Great Salt Lake Council 590         4232 W 5015 S                                                  Salt Lake City, UT 84118                                                    First Class Mail
Chartered Organization         Lds Kearns 16Th Ward/Kearns Ut East Stk                 Great Salt Lake Council 590         4731 S 4300 W                                                  Kearns, UT 84118                                                            First Class Mail
Chartered Organization         Lds Kearns 1St Ward/Kearns Ut South Stk                 Great Salt Lake Council 590         4270 W 5700 S                                                  Salt Lake City, UT 84118                                                    First Class Mail
Chartered Organization         Lds Kearns 21St Ward/Kearns Ut South Stk                Great Salt Lake Council 590         4270 W 5700 S                                                  Salt Lake City, UT 84118                                                    First Class Mail
Chartered Organization         Lds Kearns 2Nd (Sp) Branch/Kearns Ut Stk                Great Salt Lake Council 590         4715 S 4300 W                                                  Kearns, UT 84118                                                            First Class Mail
Chartered Organization         Lds Kearns 34Th Ward/Kearns Ut South Stk                Great Salt Lake Council 590         5905 S 4000 W                                                  Taylorsville, UT 84129                                                      First Class Mail
Chartered Organization         Lds Kearns 3Rd Ward/Kearns Ut East Stk                  Great Salt Lake Council 590         4731 S 4300 W                                                  Kearns, UT 84118                                                            First Class Mail
Chartered Organization         Lds Kearns 4Th Ward/Kearns Ut East Stk                  Great Salt Lake Council 590         4232 W 5015 S                                                  Salt Lake City, UT 84118                                                    First Class Mail
Chartered Organization         Lds Kearns 5Th Ward/Kearns Ut Stk                       Great Salt Lake Council 590         4260 W 5215 S                                                  Salt Lake City, UT 84118                                                    First Class Mail
Chartered Organization         Lds Kearns 6Th Ward/Kearns Ut Stk                       Great Salt Lake Council 590         4260 W 5215 S                                                  Salt Lake City, UT 84118                                                    First Class Mail
Chartered Organization         Lds Kearns 7Th Ward/Kearns Ut South Stk                 Great Salt Lake Council 590         4000 W 5900 S                                                  Salt Lake City, UT 84118                                                    First Class Mail
Chartered Organization         Lds Kearns 8Th Ward/Kearns Ut South Stk                 Great Salt Lake Council 590         3730 W 6200 S                                                  Salt Lake City, UT 84118                                                    First Class Mail
Chartered Organization         Lds Kearns 9Th (Tongan) Ward                            Sl Ut S (Tongan) Stake              4660 W 5015 S                                                  Salt Lake City, UT 84118‐6203                                               First Class Mail
Chartered Organization         Lds Kearny Ward ‐ Globe Az Stk                          Grand Canyon Council 010            200 N Hammond Dr                                               Kearny, AZ 85137‐1213                                                       First Class Mail
Chartered Organization         Lds Keating Ward ‐ Mesa Az Alma Stk                     Grand Canyon Council 010            2244 W Keating Ave                                             Mesa, AZ 85202                                                              First Class Mail
Chartered Organization         Lds Keaukaha Ward ‐ Hilo Stake                          Aloha Council, Bsa 104              1373 Kilauea Ave                                               Hilo, HI 96720‐4207                                                         First Class Mail
Chartered Organization         Lds Keei Ward ‐ Kona Stake                              Aloha Council, Bsa 104              P.O. Box 708                                                   Kealakekua, HI 96750‐0708                                                   First Class Mail
Chartered Organization         Lds Keene Ward Nashua Nh Stake                          Daniel Webster Council, Bsa 330     130 Summit Rd                                                  Keene, NH 03431                                                             First Class Mail
Chartered Organization         Lds Keizer First Ward Keizer Stake                      Cascade Pacific Council 492         1375 Lockhaven Dr Ne                                           Keizer, OR 97303‐3646                                                       First Class Mail
Chartered Organization         Lds Keizer Second Ward Keizer Stake                     Cascade Pacific Council 492         3635 Portland Rd Ne                                            Salem, OR 97301‐0309                                                        First Class Mail
Chartered Organization         Lds Keller 1St Ward ‐ Colleyville Stake                 Longhorn Council 662                2001 Willis Ln                                                 Keller, TX 76248                                                            First Class Mail
Chartered Organization         Lds Keller 2Nd Ward ‐ Colleyville Stake                 Longhorn Council 662                500 W Mcdonwell School Rd                                      Colleyville, TX 76034‐7230                                                  First Class Mail
Chartered Organization         Lds Keller 3Rd Ward ‐ Colleyville Stake                 Longhorn Council 662                1303 Lindsey Dr                                                Keller, TX 76248‐6881                                                       First Class Mail
Chartered Organization         Lds Keller Crossing Ward                                Trapper Trails 589                  935 S State St                                                 Clearfield, UT 84015                                                        First Class Mail
Chartered Organization         Lds Kelly Canyon Ward ‐ Flagstaff Az                    West Stake                          3341 S Moore Cir                                               Flagstaff, AZ 86005‐8501                                                    First Class Mail
Chartered Organization         Lds Kelly Creek Ward Gresham Stake                      Cascade Pacific Council 492         4355 Ne Division St                                            Gresham, OR 97030‐4621                                                      First Class Mail
Chartered Organization         Lds Kelseyville Ward                                    Redwood Empire Council 041          6120 Gold Dust Dr                                              Kelseyville, CA 95451‐9212                                                  First Class Mail
Chartered Organization         Lds Kelso Ward Longview Stake                           Cascade Pacific Council 492         2884 Pacific Ave N                                             Kelso, WA 98626                                                             First Class Mail
Chartered Organization         Lds Kelvin Grove Ward                                   Utah National Parks 591             1076 W 1000 S                                                  Springville, UT 84663‐5670                                                  First Class Mail
Chartered Organization         Lds Kempsville Ward Virginia Beach Stake                Tidewater Council 596               4780 Princess Anne Rd                                          Virginia Beach, VA 23462                                                    First Class Mail
Chartered Organization         Lds Ken Caryl Ward, Columbine Stake                     Denver Area Council 061             10209 W Coal Mine Ave                                          Littleton, CO 80127‐5573                                                    First Class Mail
Chartered Organization         Lds Kenai Ward ‐ Soldotna Stake                         Great Alaska Council 610            609 N Forest Dr                                                Kenai, AK 99611‐7412                                                        First Class Mail
Chartered Organization         Lds Kendallville Ward, Fort Wayne Stake                 Anthony Wayne Area 157              1901 Dowling St                                                Kendallville, IN 46755‐9436                                                 First Class Mail
Chartered Organization         Lds Kendallville Ward, Fwa Stake                        Anthony Wayne Area 157              11220 W 450 N                                                  Cromwell, IN 46732‐9735                                                     First Class Mail
Chartered Organization         Lds Kenmore Ward Bothell Stake                          Chief Seattle Council 609           19215 88Th Ave Ne                                              Bothell, WA 98011‐2128                                                      First Class Mail
Chartered Organization         Lds Kennekuk Ward                                       Utah National Parks 591             8273 N Simpson Springs Rd                                      Eagle Mountain, UT 84005                                                    First Class Mail
Chartered Organization         Lds Keno Ward ‐ Klamath Falls Stake                     Crater Lake Council 491             12411 Overland Dr                                              Klamath Falls, OR 97603‐9508                                                First Class Mail
Chartered Organization         Lds Kensington Ward ‐ Mesa Az                           Mountain View Stake                 2906 E Hale St                                                 Mesa, AZ 85213‐5591                                                         First Class Mail
Chartered Organization         Lds Kensington Ward Washington Dc Stake                 National Capital Area Council 082   10000 Stoneybrook Dr                                           Kensington, MD 20895                                                        First Class Mail
Chartered Organization         Lds Kensington Ward/Frmngtn Ut North Stk                Great Salt Lake Council 590         1885 Summerwood Dr                                             Farmington, UT 84025                                                        First Class Mail
Chartered Organization         Lds Kentlands Ward Washington Dc Stake                  National Capital Area Council 082   16 Kent Gardens Cir                                            Gaithersburg, MD 20878‐5708                                                 First Class Mail
Chartered Organization         Lds Kenwood 1St Ward/S L Wilford Stk                    Great Salt Lake Council 590         1765 E Gregson Ave                                             Salt Lake City, UT 84106                                                    First Class Mail
Chartered Organization         Lds Kenwood 2Nd Ward/S L Wilford Stk                    Great Salt Lake Council 590         3080 S Kenwood St                                              Salt Lake City, UT 84106                                                    First Class Mail
Chartered Organization         Lds Kenworthy Ward ‐ Stv Az North Stk                   Grand Canyon Council 010            42447 N Murphy Ave                                             San Tan Valley, AZ 85140‐8854                                               First Class Mail
Chartered Organization         Lds Keolu Ward ‐ Kaneohe Stake                          Aloha Council, Bsa 104              1461 Kanapuu Dr                                                Kaneohe, HI 96744                                                           First Class Mail
Chartered Organization         Lds Kern Valley Ward East Stake                         Southern Sierra Council 030         4309 Fiddleneck St                                             Lake Isabella, CA 93240‐9247                                                First Class Mail
Chartered Organization         Lds Kern Vly Ward, E Bakersfield Stake                  Southern Sierra Council 030         6400 Park Ave                                                  Lake Isabella, CA 93240                                                     First Class Mail
Chartered Organization         Lds Kerrville Ward ‐ Hill Country Stake                 Alamo Area Council 583              P.O. Box 33001                                                 Kerrville, TX 78029                                                         First Class Mail
Chartered Organization         Lds Kerrville Ward ‐ La Cantera Stake                   Alamo Area Council 583              292 Coronado St                                                Kerrville, TX 78028                                                         First Class Mail
Chartered Organization         Lds Kerrybrook Ward                                     Frmngtn Ut Oakridge Stake           1955 S 350 E                                                   Kaysville, UT 84037                                                         First Class Mail
Chartered Organization         Lds Ketchikan Ward ‐ Juneau Stake                       Great Alaska Council 610            2900 5th Ave                                                   Ketchikan, AK 99901‐5773                                                    First Class Mail
Chartered Organization         Lds Key West                                            South Florida Council 084           3424 Northside Dr                                              Key West, FL 33040‐4254                                                     First Class Mail
Chartered Organization         Lds Keystone Ward ‐ Reno North Stake                    Nevada Area Council 329             2505 Kings Row                                                 Reno, NV 89503‐3221                                                         First Class Mail
Chartered Organization         Lds Kihei Ward, Kahului Hi Stake                        Aloha Council, Bsa 104              169A Auhana Rd                                                 Kihei, HI 96753                                                             First Class Mail
Chartered Organization         Lds Kilauea Ward ‐ Hilo Stake                           Aloha Council, Bsa 104              522 Ponahawai St                                               Hilo, HI 96720                                                              First Class Mail
Chartered Organization         Lds Killian Ward                                        South Florida Council 084           10000 Sw 107Th Ave                                             Miami, FL 33176‐2784                                                        First Class Mail
Chartered Organization         Lds Kimball Branch‐Safford Stake                        Grand Canyon Council 010            610 W 8Th St                                                   Safford, AZ 85546‐2807                                                      First Class Mail
Chartered Organization         Lds Kimball Mill Ward                                   Bntfl Ut Central Stake              650 S 200 E                                                    Bountiful, UT 84010                                                         First Class Mail
Chartered Organization         Lds Kimball Ward ‐ Boise Central Stk                    Ore‐Ida Council 106 ‐ Bsa 106       2323 N Maple Grove Rd                                          Boise, ID 83704‐6939                                                        First Class Mail
Chartered Organization         Lds Kimball Ward/Park City Ut Stk                       Great Salt Lake Council 590         2555 Kilby Rd                                                  Park City, UT 84098‐8214                                                    First Class Mail
Chartered Organization         Lds Kimball Ward/South Salt Lake Stk                    Great Salt Lake Council 590         2280 S 300 E                                                   Salt Lake City, UT 84115                                                    First Class Mail
Chartered Organization         Lds King George Ward                                    Stafford Virginia Stake             11107 Waveland Dr                                              King George, VA 22485‐4083                                                  First Class Mail
Chartered Organization         Lds Kings Deer Ward                                     Pikes Peak Council 060              20415 Hunting Downs Way                                        Monument, CO 80132‐3059                                                     First Class Mail
Chartered Organization         Lds Kings Park Ward ‐ Glendale Az                       North Stake                         5250 W Thunderbird Rd                                          Glendale, AZ 85306                                                          First Class Mail
Chartered Organization         Lds Kingsborough Park Ward ‐ Mesa Az                    South Stake                         1315 N 24Th St                                                 Mesa, AZ 85213‐4606                                                         First Class Mail
Chartered Organization         Lds Kingsbridge 1 Ward                                  Westchester‐Ny Stake                Greater New York Councils, Bsa 640                             115 E Kingsbridge Rd            Bronx, NY 10468                             First Class Mail
Chartered Organization         Lds Kingsbridge 1 Ward                                  Westchester‐Ny Stake                Greater New York Councils, Bsa 640                             211 E Kingsbridge Rd            Bronx, NY 10458                             First Class Mail
Chartered Organization         Lds Kingsbridge Ward ‐ Mer S Stk                        Ore‐Ida Council 106 ‐ Bsa 106       12040 W Amity Rd                                               Boise, ID 83709                                                             First Class Mail
Chartered Organization         Lds Kingsland Ward Kingsland Stake                      Coastal Georgia Council 099         6632 Laurel Island Pkwy                                        Kingsland, GA 31548                                                         First Class Mail
Chartered Organization         Lds Kingsley Park Ward                                  Meridian Linder Stake               941 W Kingsley Dr                                              Meridian, ID 83646‐6465                                                     First Class Mail
Chartered Organization         Lds Kingsport Ward                                      Sequoyah Council 713                100 Canongate Rd                                               Kingsport, TN 37660‐7218                                                    First Class Mail
Chartered Organization         Lds Kingston 1St Ward Silverdale Stake                  Chief Seattle Council 609           2138 Ne Mesford Rd                                             Poulsbo, WA 98370                                                           First Class Mail
Chartered Organization         Lds Kingston Ward                                       Rip Van Winkle Council 405          153 Fording Place Rd                                           Lake Katrine, NY 12449‐5220                                                 First Class Mail
Chartered Organization         Lds Kingstowne Ward Mt Vernon Stake                     National Capital Area Council 082   6219 Villa St                                                  Alexandria, VA 22310‐1725                                                   First Class Mail
Chartered Organization         Lds Kingsville Ward Corpus Christi Stake                South Texas Council 577             2100 E Gen Cavazos                                             Kingsville, TX 78363                                                        First Class Mail
Chartered Organization         Lds Kingswood Park Ward ‐ Surprise Az                   North Stake                         23391 N 166Th Dr                                               Surprise, AZ 85387                                                          First Class Mail
Chartered Organization         Lds Kingswood Ward ‐ Boise N Stk                        Ore‐Ida Council 106 ‐ Bsa 106       4921 N Mitchell St                                             Boise, ID 83704‐2242                                                        First Class Mail
Chartered Organization         Lds Kinston 1St Ward                                    East Carolina Council 426           3010 Carey Rd                                                  Kinston, NC 28504                                                           First Class Mail
Chartered Organization         Lds Kiowa Valley Ward                                   Utah National Parks 591             7241 N Ute Dr                                                  Eagle Mountain, UT 84005                                                    First Class Mail
Chartered Organization         Lds Kirksville First Ward ‐ Nauvoo Stake                Great Rivers Council 653            2000 E Normal Ave                                              Kirksville, MO 63501                                                        First Class Mail
Chartered Organization         Lds Kirksville Second Ward                              Nauvoo Stake                        16839 Stokes Rd                                                Kirksville, MO 63501‐6800                                                   First Class Mail
Chartered Organization         Lds Kirtland Ward Kirtland Stake                        Lake Erie Council 440               8751 Kirtland Rd                                               Kirtland, OH 44094                                                          First Class Mail
Chartered Organization         Lds Kissimmee Hunters Creek                             Central Florida Council 083         2821 Old Canoe Creek Rd                                        St Cloud, FL 34772                                                          First Class Mail
Chartered Organization         Lds Kitsap Lake Ward Bremerton Stake                    Chief Seattle Council 609           3988 Nw Atlantis Ln                                            Bremerton, WA 98312‐4589                                                    First Class Mail
Chartered Organization         Lds Klahanie Ward Bellevue Stake                        Chief Seattle Council 609           15205 Se 28Th St                                               Bellevue, WA 98007                                                          First Class Mail
Chartered Organization         Lds Klamath 1St Ward                                    Klamath Falls Stake                 501 Martin St                                                  Klamath Falls, OR 97601                                                     First Class Mail
Chartered Organization         Lds Klamath 3Rd Ward                                    Klamath Falls Stake                 6630 Alva Ave                                                  Klamath Falls, OR 97603‐5210                                                First Class Mail
Chartered Organization         Lds Klamath 4Th Ward                                    Klamath Falls Stake                 6630 Alva Ave                                                  Klamath Falls, OR 97603‐5210                                                First Class Mail
Chartered Organization         Lds Klamath 5Th Ward                                    Klamath Falls Stake                 501 Martin St                                                  Klamath Falls, OR 97601                                                     First Class Mail
Chartered Organization         Lds Klatt Ward ‐ Anchorage Stake                        Great Alaska Council 610            1730 Adams Cir                                                 Anchorage, AK 99515‐2586                                                    First Class Mail
Chartered Organization         Lds Klein Oak Ward                                      Houston N Stake                     16833 T C Jester Blvd                                          Spring, TX 77379                                                            First Class Mail
Chartered Organization         Lds Kleinman Park Ward ‐ Mesa Az Alma Stk               Grand Canyon Council 010            616 S Extension Rd                                             Mesa, AZ 85210‐2215                                                         First Class Mail
Chartered Organization         Lds Knik Fairview Ward ‐ Wasila Stake                   Great Alaska Council 610            P.O. Box 871567                                                Wasilla, AK 99687‐1567                                                      First Class Mail
Chartered Organization         Lds Knoll Park Ward (Salem)                             Utah National Parks 591             160 S 460 W                                                    Salem, UT 84653                                                             First Class Mail
Chartered Organization         Lds Knolls Ward                                         Utah National Parks 591             2260 E Slate Ridge Dr                                          St George, UT 84790‐6657                                                    First Class Mail
Chartered Organization         Lds Kohala Ward ‐ Kona Stake                            Aloha Council, Bsa 104              P.O. Box 262                                                   Hawi, HI 96719‐0262                                                         First Class Mail
Chartered Organization         Lds Kokomo Ward ‐ Lafayette Stake                       Sagamore Council 162                332 W 300 S                                                    Kokomo, IN 46902‐5123                                                       First Class Mail
Chartered Organization         Lds Kolob Canyon Ward (Cedar City)                      Utah National Parks 591             714 S 3500 E                                                   New Harmony, UT 84757‐5024                                                  First Class Mail
Chartered Organization         Lds Kolob Eighth Ward                                   Utah National Parks 591             840 S 400 E                                                    Springville, UT 84663‐5886                                                  First Class Mail
Chartered Organization         Lds Kolob Eleventh Ward                                 Utah National Parks 591             1627 W 1200 S                                                  Springville, UT 84663                                                       First Class Mail
Chartered Organization         Lds Kolob Fifth Ward                                    Utah National Parks 591             2575 Dalton Dr                                                 Springville, UT 84663                                                       First Class Mail
Chartered Organization         Lds Kolob First Ward                                    Utah National Parks 591             1230 S 500 E                                                   Springville, UT 84663                                                       First Class Mail
Chartered Organization         Lds Kolob Fourth Ward                                   Utah National Parks 591             2557 Dalton Dr                                                 Springville, UT 84663‐9489                                                  First Class Mail
Chartered Organization         Lds Kolob Ninth Ward                                    Utah National Parks 591             1602 W 1200 S                                                  Springville, UT 84663‐5056                                                  First Class Mail
Chartered Organization         Lds Kolob Second Ward                                   Utah National Parks 591             840 S 400 E                                                    Springville, UT 84663‐5886                                                  First Class Mail
Chartered Organization         Lds Kolob Seventh Ward                                  Utah National Parks 591             840 S 400 E                                                    Springville, UT 84663‐5886                                                  First Class Mail
Chartered Organization         Lds Kolob Sixth Ward                                    Utah National Parks 591             1230 S 500 E                                                   Springville, UT 84663                                                       First Class Mail
Chartered Organization         Lds Kolob Tenth Ward                                    Utah National Parks 591             2605 Dalton Dr                                                 Springville, UT 84663‐9506                                                  First Class Mail
Chartered Organization         Lds Kolob Twelfth Ward                                  Utah National Parks 591             1627 W 1200 S                                                  Springville, UT 84663                                                       First Class Mail
Chartered Organization         Lds Kona 1St Ward ‐ Kona Stake                          Aloha Council, Bsa 104              75‐230 Kalani St                                               Kailua Kona, HI 96740‐1833                                                  First Class Mail
Chartered Organization         Lds Kona 2Nd Ward ‐ Kona Stake                          Aloha Council, Bsa 104              73‐4250 Kauwila St A                                           Kailua Kona, HI 96740                                                       First Class Mail
Chartered Organization         Lds Koosharem Ward                                      Utah National Parks 591             P.O. Box 440198                                                Koosharem, UT 84744‐0198                                                    First Class Mail
Chartered Organization         Lds Kotter Canyon Ward                                  Brigham North Stake                 230 W 1500 N                                                   Brigham City, UT 84302‐4002                                                 First Class Mail
Chartered Organization         Lds Kuna 10Th Ward ‐ Kuna E Stk                         Ore‐Ida Council 106 ‐ Bsa 106       315 E Deer Flat Rd                                             Kuna, ID 83634‐1336                                                         First Class Mail
Chartered Organization         Lds Kuna 11Th Ward ‐ Kuna E Stk                         Ore‐Ida Council 106 ‐ Bsa 106       1107 E Fossilstone Ct                                          Kuna, ID 83634‐2133                                                         First Class Mail
Chartered Organization         Lds Kuna 12Th Ward ‐ Kuna E Stk                         Ore‐Ida Council 106 ‐ Bsa 106       313 W Deerflat Rd                                              Kuna, ID 83634                                                              First Class Mail
Chartered Organization         Lds Kuna 13Th Ward ‐ Kuna E Stk                         Ore‐Ida Council 106 ‐ Bsa 106       224 E Avalon                                                   Kuna, ID 83634                                                              First Class Mail
Chartered Organization         Lds Kuna 15Th Ward ‐ Kuna E Stk                         Ore‐Ida Council 106 ‐ Bsa 106       230 W Quaking Aspen Ln                                         Kuna, ID 83634‐5245                                                         First Class Mail
Chartered Organization         Lds Kuna 16Th Ward Kuna Stake                           Ore‐Ida Council 106 ‐ Bsa 106       3305 W Kuna Rd                                                 Kuna, ID 83634                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                       Page 216 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                  Filed 01/06/22                               Page 232 of 457
                                                                                                                                                                 Exhibit B
                                                                                                                                                                  Service List
                                                                                                                                                           Served as set forth below

        Description                                                       Name                                                                                 Address                                                                       Email              Method of Service
Chartered Organization         Lds Kuna 1St Ward ‐ Kuna E Stk                           Ore‐Ida Council 106 ‐ Bsa 106          Rt 3 ‐ Crew                                           Kuna, ID 83634                                                  First Class Mail
Chartered Organization         Lds Kuna 2Nd Ward ‐ Kuna Stk                             Ore‐Ida Council 106 ‐ Bsa 106          3350 W Kuna Rd                                        Kuna, ID 83634                                                  First Class Mail
Chartered Organization         Lds Kuna 3Rd Ward ‐ Kuna E Stk                           Ore‐Ida Council 106 ‐ Bsa 106          Rt 2 Deer Flat Rd                                     Kuna, ID 83634                                                  First Class Mail
Chartered Organization         Lds Kuna 4Th Ward ‐ Kuna Stk                             Ore‐Ida Council 106 ‐ Bsa 106          927 Ruth Ln                                           Nampa, ID 83686‐8835                                            First Class Mail
Chartered Organization         Lds Kuna 5Th Ward ‐ Kuna Stk                             Ore‐Ida Council 106 ‐ Bsa 106          7809 Deer Flat Rd                                     Nampa, ID 83686                                                 First Class Mail
Chartered Organization         Lds Kuna 6Th Ward ‐ Kuna Stk                             Ore‐Ida Council 106 ‐ Bsa 106          224 E Avalon St                                       Kuna, ID 83634                                                  First Class Mail
Chartered Organization         Lds Kuna 7Th Ward ‐ Kuna E Stk                           Ore‐Ida Council 106 ‐ Bsa 106          8625 S Linder Rd                                      Kuna, ID 83642                                                  First Class Mail
Chartered Organization         Lds Kuna 8Th Ward ‐ Kuna Stk                             Ore‐Ida Council 106 ‐ Bsa 106          3305 W Kuna Rd                                        Kuna, ID 83634                                                  First Class Mail
Chartered Organization         Lds Kuna Butte Ward                                      Ore‐Ida Council 106 ‐ Bsa 106          3305 W Kuna Rd                                        Kuna, ID 83634                                                  First Class Mail
Chartered Organization         Lds Kyle Ward, Kyle Stake                                Capitol Area Council 564               3751 Trail Ridge Pass                                 San Marcos, TX 78666                                            First Class Mail
Chartered Organization         Lds La Canada 1St Ward                                   Verdugo Hills Council 058              1830 Foothill Blvd                                    La Canada Flintridge, CA 91011‐2925                             First Class Mail
Chartered Organization         Lds La Canada 1St Ward                                   Verdugo Hills Council 058              1830 Foothill Blvd                                    La Canada, CA 91011‐2925                                        First Class Mail
Chartered Organization         Lds La Canada 2Nd Ward                                   Verdugo Hills Council 058              1830 Foothill Blvd                                    La Canada Flintridge, CA 91011‐2925                             First Class Mail
Chartered Organization         Lds La Canada 2Nd Ward                                   Verdugo Hills Council 058              1830 Foothill Blvd                                    La Canada, CA 91011‐2925                                        First Class Mail
Chartered Organization         Lds La Center Ward Ridgefield Stake                      Cascade Pacific Council 492            21718 Ne 29Th Ave                                     Ridgefield, WA 98642‐8681                                       First Class Mail
Chartered Organization         Lds La Crescenta Ward                                    Verdugo Hills Council 058              4550 Raymond Ave                                      La Crescenta, CA 91214‐2917                                     First Class Mail
Chartered Organization         Lds La Crosse Lst Ward                                   Gateway Area 624                       701 Well St                                           Onalaska, WI 54650‐2649                                         First Class Mail
Chartered Organization         Lds La Cueva Ward Abq North Stake                        Great Swest Council 412                1100 Montano Nw                                       Albuquerque, NM 87107                                           First Class Mail
Chartered Organization         Lds La Donna Mesa Ward                                   Northridge Stake                       2375 E 3225 N                                         Layton, UT 84040                                                First Class Mail
Chartered Organization         Lds La Esperanza Ward L711                               Greater Los Angeles Area 033           7906 Pickering Ave                                    Whittier, CA 90602‐2007                                         First Class Mail
Chartered Organization         Lds La Grande 1St Ward ‐ La Grande Stake                 Blue Mountain Council 604              1802 Gekeler Ln                                       La Grande, OR 97850                                             First Class Mail
Chartered Organization         Lds La Grande 2Nd Ward ‐ La Grande Stake                 Blue Mountain Council 604              1802 Gekeler Ln                                       La Grande, OR 97850                                             First Class Mail
Chartered Organization         Lds La Grande 3Rd Ward ‐ La Grande Stake                 Blue Mountain Council 604              1100 Mc Alister Ln                                    La Grande, OR 97850                                             First Class Mail
Chartered Organization         Lds La Grande 4Th Ward ‐ La Grande Stake                 Blue Mountain Council 604              11206 S Mcalister Rd                                  La Grande, OR 97850                                             First Class Mail
Chartered Organization         Lds La Habra Ward ‐ Fullerton Stake                      Orange County Council 039              2351 E La Habra Blvd                                  La Habra, CA 90631                                              First Class Mail
Chartered Organization         Lds La Jara 1St Ward, Manassa Stake                      Rocky Mountain Council 063             General Delivery                                      La Jara, CO 81140                                               First Class Mail
Chartered Organization         Lds La Jara 2Nd Ward, Alamosa Stake                      Rocky Mountain Council 063             223719 Rd 15                                          La Jara, CO 81140                                               First Class Mail
Chartered Organization         Lds La Joya Ward ‐ Phoenix Az Stk                        Grand Canyon Council 010               7138 W Windsor Ave                                    Phoenix, AZ 85035‐1330                                          First Class Mail
Chartered Organization         Lds La Junta Ward, Pueblo Stake                          Rocky Mountain Council 063             2305 Raton Ave                                        La Junta, CO 81050‐3321                                         First Class Mail
Chartered Organization         Lds La Loma Ward ‐ Goodyear Az Stk                       Grand Canyon Council 010               13277 W Thomas Rd                                     Goodyear, AZ 85395‐2270                                         First Class Mail
Chartered Organization         Lds La Meza Ward ‐ Hesperia Stake                        California Inland Empire Council 045   10862 Maple Ave                                       Hesperia, CA 92345‐2284                                         First Class Mail
Chartered Organization         Lds La Mirada Ward ‐ Meridian Linder Stk                 Ore‐Ida Council 106 ‐ Bsa 106          598 E Pasacana St                                     Meridian, ID 83646‐5802                                         First Class Mail
Chartered Organization         Lds La Mirada Ward Whittier Stake 749                    Greater Los Angeles Area 033           15100 Cordova Rd                                      La Mirada, CA 90638‐2324                                        First Class Mail
Chartered Organization         Lds La Palma Ward ‐ Cypress Stake                        Orange County Council 039              5151 Orange Ave                                       Cypress, CA 90630‐2920                                          First Class Mail
Chartered Organization         Lds La Paz Ward ‐ Victorville Stake                      California Inland Empire Council 045   12860 Amethyst Rd                                     Victorville, CA 92392                                           First Class Mail
Chartered Organization         Lds La Piedra Ward ‐ Menifee Stake                       California Inland Empire Council 045   28150 La Piedra Rd                                    Menifee, CA 92584                                               First Class Mail
Chartered Organization         Lds La Quinta Ward ‐ Palm Desert Stake                   California Inland Empire Council 045   72960 Parkview Dr                                     Palm Desert, CA 92260‐9357                                      First Class Mail
Chartered Organization         Lds La Sal Branch                                        Utah National Parks 591                P.O. Box 278                                          La Sal, UT 84530‐0278                                           First Class Mail
Chartered Organization         Lds La Sierra Heights Ward ‐ Jurupa Stake                California Inland Empire Council 045   5840 Mitchell Ave                                     Riverside, CA 92505‐1233                                        First Class Mail
Chartered Organization         Lds La Sierra Ward Carmichael Stake                      Golden Empire Council 047              4929 Hillridge Way                                    Fair Oaks, CA 95628‐4200                                        First Class Mail
Chartered Organization         Lds La Verkin Fifth Ward                                 Utah National Parks 591                361 W 210 S                                           La Verkin, UT 84745‐5630                                        First Class Mail
Chartered Organization         Lds La Verkin First Ward                                 Utah National Parks 591                481 N Main St                                         La Verkin, UT 84745                                             First Class Mail
Chartered Organization         Lds La Verkin Fourth Ward                                Utah National Parks 591                481 N Main St                                         La Verkin, UT 84745                                             First Class Mail
Chartered Organization         Lds La Verkin Second Ward                                Utah National Parks 591                245 N 80 E                                            La Verkin, UT 84745‐5242                                        First Class Mail
Chartered Organization         Lds La Verkin Seventh Ward                               Utah National Parks 591                252 N 300 W                                           La Verkin, UT 84745‐5218                                        First Class Mail
Chartered Organization         Lds La Verkin Sixth Ward                                 Utah National Parks 591                481 N Main St                                         La Verkin, UT 84745                                             First Class Mail
Chartered Organization         Lds La Verkin Third Ward                                 Utah National Parks 591                41 S 300 W                                            La Verkin, UT 84745                                             First Class Mail
Chartered Organization         Lds La Verne Ward 123 La Verne Stake                     Greater Los Angeles Area 033           2645 Amherst St                                       La Verne, CA 91750‐3006                                         First Class Mail
Chartered Organization         Lds Lacamas Creek Ward Vancouver N Stake                 Cascade Pacific Council 492            18300 Ne 18Th St                                      Vancouver, WA 98684                                             First Class Mail
Chartered Organization         Lds Lacey Stake‐Lacey 1St                                Pacific Harbors Council, Bsa 612       1602 Ruddell Rd Se                                    Lacey, WA 98503                                                 First Class Mail
Chartered Organization         Lds Lacey Stake‐Lacey 2Nd                                Pacific Harbors Council, Bsa 612       1602 Ruddell Rd                                       Lacey, WA 98503                                                 First Class Mail
Chartered Organization         Lds Lacey Stake‐Lacey 3Rd                                Pacific Harbors Council, Bsa 612       1500 Ruddell Rd                                       Lacey, WA 98503                                                 First Class Mail
Chartered Organization         Lds Lacey Stake‐Lacey 4Th                                Pacific Harbors Council, Bsa 612       9341 4Th Ave Ne                                       Lacey, WA 98516‐6612                                            First Class Mail
Chartered Organization         Lds Lacey Stake‐Lacey 5Th                                Pacific Harbors Council, Bsa 612       1602 Ruddell Rd Se                                    Lacey, WA 98513                                                 First Class Mail
Chartered Organization         Lds Lacey Stake‐Lacey Sixth                              Pacific Harbors Council, Bsa 612       1448 Farina Loop Se                                   Olympia, WA 98513‐7750                                          First Class Mail
Chartered Organization         Lds Lacey Stake‐Mckenna                                  Pacific Harbors Council, Bsa 612       10423 Clark Rd Se                                     Yelm, WA 98597                                                  First Class Mail
Chartered Organization         Lds Lacey Stake‐Yelm                                     Pacific Harbors Council, Bsa 612       14023 Clark Rd Se                                     Yelm, WA 98597                                                  First Class Mail
Chartered Organization         Lds Laconia Ward Concord Nh Stake                        Daniel Webster Council, Bsa 330        Old N Main St                                         Laconia, NH 03246                                               First Class Mail
Chartered Organization         Lds Laconia Ward Concord Nh Stake                        Daniel Webster Council, Bsa 330        1250 Old North Main St                                Laconia, NH 03246‐2672                                          First Class Mail
Chartered Organization         Lds Ladera Ward Los Lunas Stake                          Great Swest Council 412                8130 Sage Rd Sw                                       Albuquerque, NM 87121‐7873                                      First Class Mail
Chartered Organization         Lds Lafayette First Ward ‐ Lafayette Stake               Sagamore Council 162                   3224 Jasper St                                        West Lafayette, IN 47906‐1237                                   First Class Mail
Chartered Organization         Lds Lafayette Second Ward                                Lafayette Stake                        3224 Jasper St                                        West Lafayette, IN 47906‐1237                                   First Class Mail
Chartered Organization         Lds Lafayette Stake‐Logansport Ward                      Sagamore Council 162                   4121 High St                                          Logansport, IN 46947‐2278                                       First Class Mail
Chartered Organization         Lds Lafayette Stk Crawfordsville                         Crossroads of America 160              Oak Hill Rd                                           Crawfordsville, IN 47933                                        First Class Mail
Chartered Organization         Lds Lafayette Stk Crawfordsville                         Crossroads Of America 160              1086 N 125 W                                          Crawfordsville, IN 47933‐6142                                   First Class Mail
Chartered Organization         Lds Lafayette Third Ward ‐ Lafayette Stake               Sagamore Council 162                   3430 E 450 S                                          Lafayette, IN 47909‐8182                                        First Class Mail
Chartered Organization         Lds Lafollette Cumberland                                Great Smoky Mountain Council 557       215 Wildwood Cir                                      La Follette, TN 37766                                           First Class Mail
Chartered Organization         Lds Lagrange Ward                                        Lincoln Heritage Council 205           6401 Wwind Way                                        Crestwood, KY 40014                                             First Class Mail
Chartered Organization         Lds Laguna Beach 1St Ward                                Laguna Niguel Stake                    685 Park Ave                                          Laguna Beach, CA 92651                                          First Class Mail
Chartered Organization         Lds Laguna Creek 1St Ward                                Sacramento Stake                       9910 Bruceville Rd                                    Elk Grove, CA 95757‐9507                                        First Class Mail
Chartered Organization         Lds Laguna Creek 2Nd Ward                                Sacramento Stake                       9910 Bruceville Rd                                    Elk Grove, CA 95757‐9507                                        First Class Mail
Chartered Organization         Lds Laguna Creek 3Rd Ward                                Sacramento Stake                       6711 Seasons Dr                                       Elk Grove, CA 95758                                             First Class Mail
Chartered Organization         Lds Laguna Creek 4Th Ward                                Sacramento Stake                       6711 Seasons Dr                                       Elk Grove, CA 95758                                             First Class Mail
Chartered Organization         Lds Laguna Creek 5Th Ward                                Sacramento Stake                       6711 Seasons Dr                                       Elk Grove, CA 95758                                             First Class Mail
Chartered Organization         Lds Laguna Creek 6Th Ward Sac Stake                      Golden Empire Council 047              6711 Seasons Dr                                       Elk Grove, CA 95758                                             First Class Mail
Chartered Organization         Lds Laguna Hills 2Nd Ward                                Laguna Niguel Stake                    22851 Aliso Creek Rd                                  Aliso Viejo, CA 92656                                           First Class Mail
Chartered Organization         Lds Laguna Hills 3Rd Ward                                Laguna Niguel Stake                    22851 Aliso Creek Dr                                  Aliso Viejo, CA 92656                                           First Class Mail
Chartered Organization         Lds Laguna Niguel 1St Ward                               Laguna Niguel Stake                    22851 Aliso Creek Rd                                  Aliso Viejo, CA 92656                                           First Class Mail
Chartered Organization         Lds Laguna Ward                                          Redwood Empire Council 041             1550 Northpoint Pkwy                                  Santa Rosa, CA 95407‐7376                                       First Class Mail
Chartered Organization         Lds Lahaina 1St Ward, Kahului Hi Stake                   Aloha Council, Bsa 104                 85 Ulupono St                                         Lahaina, HI 96761                                               First Class Mail
Chartered Organization         Lds Lahaina 2Nd Ward                                     Aloha Council, Bsa 104                 19 Kaniau Rd                                          Lahaina, HI 96761‐1807                                          First Class Mail
Chartered Organization         Lds Lahaina 2Nd Ward, Kahului Hi Stake                   Aloha Council, Bsa 104                 19 Kaniau Rd                                          Lahaina, HI 96761‐1807                                          First Class Mail
Chartered Organization         Lds Laie 2Nd Ward ‐ Laie Stake                           Aloha Council, Bsa 104                 55‐415 Iosepa St                                      Laie, HI 96762‐1106                                             First Class Mail
Chartered Organization         Lds Laie 3Rd Ward ‐ Laie Stake                           Aloha Council, Bsa 104                 55‐415 Iosepa St                                      Laie, HI 96762‐1106                                             First Class Mail
Chartered Organization         Lds Laie 4Th Ward ‐ Laie North Stake                     Aloha Council, Bsa 104                 55‐669B Wahinepe'E St                                 Laie, HI 96762                                                  First Class Mail
Chartered Organization         Lds Laie 5Th Ward ‐ Laie Stake                           Aloha Council, Bsa 104                 55‐415 Iosepa St                                      Laie, HI 96762‐1106                                             First Class Mail
Chartered Organization         Lds Laie 6Th Ward ‐ Laie North Stake                     Aloha Council, Bsa 104                 55‐630 Naniloa Loop                                   Laie, HI 96762‐1240                                             First Class Mail
Chartered Organization         Lds Laie 7Th Ward ‐ Laie North Stake                     Aloha Council, Bsa 104                 55‐630 Naniloa Loop                                   Laie, HI 96762‐1240                                             First Class Mail
Chartered Organization         Lds Laie 8Th Ward ‐ Laie North Stake                     Aloha Council, Bsa 104                 55‐630 Naniloa Loop                                   Laie, HI 96762‐1240                                             First Class Mail
Chartered Organization         Lds Laie 9Th Ward ‐ Laie North Stake                     Aloha Council, Bsa 104                 55‐110 Lanihuli St                                    Laie, HI 96762‐1230                                             First Class Mail
Chartered Organization         Lds Lake Arrowhead Ward ‐ S B Stake                      California Inland Empire Council 045   P.O. Box 595                                          Lake Arrowhead, CA 92352‐0595                                   First Class Mail
Chartered Organization         Lds Lake Cities 2Nd Ward                                 Lewisville Stake                       102 Red Bluff Ct                                      Hickory Creek, TX 75065‐3628                                    First Class Mail
Chartered Organization         Lds Lake Cities Ward ‐ Denton Stake                      Longhorn Council 662                   4501 Teasley Ln                                       Denton, TX 76210                                                First Class Mail
Chartered Organization         Lds Lake Creek Farms Ward                                Utah National Parks 591                4485 Lake Creek Farms Rd                              Heber City, UT 84032‐4138                                       First Class Mail
Chartered Organization         Lds Lake Creek First Ward                                Utah National Parks 591                3550 Hidden Meadows Ct                                Heber City, UT 84032‐9664                                       First Class Mail
Chartered Organization         Lds Lake Creek Second Ward                               Utah National Parks 591                1200 So 6250 E                                        Heber City, UT 84032                                            First Class Mail
Chartered Organization         Lds Lake Creek Ward The Woodlands Stake                  Sam Houston Area Council 576           10303 Branch Crossing Dr                              The Woodlands, TX 77382                                         First Class Mail
Chartered Organization         Lds Lake Crescent Orlando South                          Central Florida Council 083            13749 Reams Rd                                        Windermere, FL 34786‐6701                                       First Class Mail
Chartered Organization         Lds Lake Elsinore Ward                                   Lake Elsinore Stake                    18220 Dexter St                                       Lake Elsinore, CA 92530                                         First Class Mail
Chartered Organization         Lds Lake Forest Park Ward                                Shoreline Stake                        14901 30Th Ave Ne                                     Shoreline, WA 98155‐7515                                        First Class Mail
Chartered Organization         Lds Lake Forest Ward                                     Santa Margarita Stake                  24755 Trabuco Rd                                      Lake Forest, CA 92630‐2110                                      First Class Mail
Chartered Organization         Lds Lake Forest Ward Lake Oswego Stake                   Cascade Pacific Council 492            14414 Pfeifer Dr                                      Lake Oswego, OR 97035‐2408                                      First Class Mail
Chartered Organization         Lds Lake Fork Ward                                       Utah National Parks 591                Hc 3 Box 510009                                       Mountain Home, UT 84051                                         First Class Mail
Chartered Organization         Lds Lake Herman Ward ‐ Napa Stake                        Mt Diablo‐Silverado Council 023        2254 Havenhill Dr                                     Benicia, CA 94510‐2120                                          First Class Mail
Chartered Organization         Lds Lake Highlands Ward                                  Dallas East Stake                      10701 E Lake Highlands Dr                             Dallas, TX 75218‐1159                                           First Class Mail
Chartered Organization         Lds Lake Highlandsward                                   Dallas East Stake                      10701 E Lake Highlands Dr                             Dallas, TX 75218‐1159                                           First Class Mail
Chartered Organization         Lds Lake Hills Ward, Billings East Stake                 Montana Council 315                    1604 Broadmoor Dr                                     Billings, MT 59105                                              First Class Mail
Chartered Organization         Lds Lake Holm Ward Auburn Stake                          Chief Seattle Council 609              19107 Se Lake Holm Rd                                 Auburn, WA 98092                                                First Class Mail
Chartered Organization         Lds Lake Hood Ward ‐ Anchorage North Stake               Great Alaska Council 610               3340 W 40Th Ave                                       Anchorage, AK 99517‐2759                                        First Class Mail
Chartered Organization         Lds Lake Lucerne Ward Maple Valley Stake                 Chief Seattle Council 609              19909 Se Wax Rd                                       Maple Valley, WA 98038                                          First Class Mail
Chartered Organization         Lds Lake Mary Orlando                                    Central Florida Council 083            2255 Lake Emma Rd                                     Lake Mary, FL 32746‐4963                                        First Class Mail
Chartered Organization         Lds Lake Mary Ward ‐ Flagstaff Az West Stk               Grand Canyon Council 010               4165 Lake Mary Rd                                     Flagstaff, AZ 86005‐8612                                        First Class Mail
Chartered Organization         Lds Lake Meridian Ward Kent Stake                        Chief Seattle Council 609              12817 Se 256Th St                                     Kent, WA 98030‐7921                                             First Class Mail
Chartered Organization         Lds Lake Mills Ward ‐ Milwaukee S Stake                  Glaciers Edge Council 620              600 E Lake Park Pl                                    Lake Mills, WI 53551‐1661                                       First Class Mail
Chartered Organization         Lds Lake Mountain First Ward (Lehi)                      Utah National Parks 591                88 W Harbor Pkwy                                      Saratoga Springs, UT 84045‐5435                                 First Class Mail
Chartered Organization         Lds Lake Mountain Fourth Ward                            Utah National Parks 591                3816 S Starlight Dr                                   Saratoga Springs, UT 84045‐3242                                 First Class Mail
Chartered Organization         Lds Lake Mountain Second Ward (Lehi)                     Utah National Parks 591                136 W Summerhill Dr                                   Saratoga Springs, UT 84045‐6416                                 First Class Mail
Chartered Organization         Lds Lake Mountain Third Ward                             Utah National Parks 591                3927 S Lake Vista Dr                                  Saratoga Springs, UT 84045‐4040                                 First Class Mail
Chartered Organization         Lds Lake Nona Ward                                       Central Florida Council 083            1900 N John Young Pkwy                                Kissimmee, FL 34741‐3221                                        First Class Mail
Chartered Organization         Lds Lake Of The Pines Ward Auburn Stake                  Golden Empire Council 047              1255 Bell Rd                                          Auburn, CA 95603                                                First Class Mail
Chartered Organization         Lds Lake Orion Ward ‐ Grand Blanc Stake                  Great Lakes Fsc 272                    1610 Brewster Rd                                      Rochester Hills, MI 48306‐3005                                  First Class Mail
Chartered Organization         Lds Lake Oswego Ward Lake Oswego Stake                   Cascade Pacific Council 492            14903 Wlake Dr                                        Lake Oswego, OR 97035                                           First Class Mail
Chartered Organization         Lds Lake Pleasant Ward ‐ Peoria Az                       North Stake                            22034 N 83Rd Ave                                      Peoria, AZ 85383‐1707                                           First Class Mail
Chartered Organization         Lds Lake Point Ward                                      Stansbury Park Ut Stake                1366 Canyon Rd                                        Lake Point, UT 84074                                            First Class Mail
Chartered Organization         Lds Lake Reams Orlando South                             Central Florida Council 083            13749 Reams Rd                                        Windermere, FL 34786‐6701                                       First Class Mail
Chartered Organization         Lds Lake Ridge 1 Ward Woodbridge Stake                   National Capital Area Council 082      3718 Old Bridge Rd                                    Woodbridge, VA 22192‐5002                                       First Class Mail
Chartered Organization         Lds Lake Ridge 10Th Ward                                 Magna Ut E Stake                       2700 S 8059 W                                         Magna, UT 84044                                                 First Class Mail
Chartered Organization         Lds Lake Ridge 11Th Ward                                 Magna Ut E Stake                       7825 W Sharon Dr                                      Magna, UT 84044                                                 First Class Mail
Chartered Organization         Lds Lake Ridge 13Th Ward                                 Magna Ut S Stake                       3830 S 8000 W                                         Magna, UT 84044                                                 First Class Mail
Chartered Organization         Lds Lake Ridge 14Th Ward                                 Magna Ut E Stake                       7960 W Dalesend Dr                                    Magna, UT 84044                                                 First Class Mail
Chartered Organization         Lds Lake Ridge 15Th Ward                                 Magna Ut S Stake                       3606 S Wing Pointe Dr                                 Magna, UT 84044                                                 First Class Mail
Chartered Organization         Lds Lake Ridge 17Th Branch (Sp)                          Magna Ut S Stake                       3735 S 7525 W                                         Magna, UT 84044                                                 First Class Mail
Chartered Organization         Lds Lake Ridge 1St Ward                                  Magna Ut E Stake                       7960 W Dalesend Dr                                    Magna, UT 84044                                                 First Class Mail
Chartered Organization         Lds Lake Ridge 2 Ward Woodbridge Stake                   National Capital Area Council 082      3718 Old Bridge Rd                                    Lake Ridge, VA 22192‐5002                                       First Class Mail
Chartered Organization         Lds Lake Ridge 2 Woodbridge Stake                        National Capital Area Council 082      1817 Old Bridge Rd                                    Woodbridge, VA 22192                                            First Class Mail
Chartered Organization         Lds Lake Ridge 2Nd Ward                                  Magna Ut E Stake                       7960 W Dalesend Dr                                    Magna, UT 84044                                                 First Class Mail
Chartered Organization         Lds Lake Ridge 3Rd Ward                                  Magna Ut E Stake                       3151 S Broadway St                                    Magna, UT 84044                                                 First Class Mail
Chartered Organization         Lds Lake Ridge 4Th Ward                                  Magna Ut E Stake                       8059 W 2700 S                                         Magna, UT 84044‐1786                                            First Class Mail
Chartered Organization         Lds Lake Ridge 6Th Ward                                  Magna Ut S Stake                       3606 S Wing Pointe Dr                                 Magna, UT 84044                                                 First Class Mail
Chartered Organization         Lds Lake Ridge 7Th Ward                                  Magna Ut S Stake                       7750 W 3500 S                                         Magna, UT 84044                                                 First Class Mail
Chartered Organization         Lds Lake Ridge 8Th Ward                                  Magna Ut S Stake                       3735 Washington Rd                                    Magna, UT 84044                                                 First Class Mail
Chartered Organization         Lds Lake Ridge 9Th Ward                                  Magna Ut E Stake                       7825 W Sharon Dr                                      Magna, UT 84044                                                 First Class Mail
Chartered Organization         Lds Lake Ridge Ward Vancouver East Stake                 Cascade Pacific Council 492            3735 Nw Jasmine St                                    Camas, WA 98607‐4402                                            First Class Mail
Chartered Organization         Lds Lake Sacajawea Ward Longview Stake                   Cascade Pacific Council 492            1721 30Th Ave                                         Longview, WA 98632‐3404                                         First Class Mail
Chartered Organization         Lds Lake Sawyer Ward Kent Stake                          Chief Seattle Council 609              26106 164Th Ave Se                                    Covington, WA 98042‐8221                                        First Class Mail
Chartered Organization         Lds Lake Shawnee Ward ‐ Topeka Stake                     Jayhawk Area Council 197               3611 Sw Jewell Ave                                    Topeka, KS 66611‐2575                                           First Class Mail
Chartered Organization         Lds Lake Shore First Ward                                Utah National Parks 591                5916 S 3200 W                                         Spanish Fork, UT 84660                                          First Class Mail
Chartered Organization         Lds Lake Shore Second Ward                               Utah National Parks 591                5916 S 3200 W                                         Spanish Fork, UT 84660                                          First Class Mail
Chartered Organization         Lds Lake Shore Third Ward                                Utah National Parks 591                575 E 400 N                                           Spanish Fork, UT 84660‐1601                                     First Class Mail
Chartered Organization         Lds Lake Skinner Ward ‐ Temecula Stake                   California Inland Empire Council 045   32353 Bandelier Rd                                    Winchester, CA 92596‐8774                                       First Class Mail
Chartered Organization         Lds Lake St Louis Ward                                   Lake St Louis Stake                    1401 S Henke Rd                                       Lake St Louis, MO 63367                                         First Class Mail
Chartered Organization         Lds Lake Stevens Ward Marysville Stake                   Mount Baker Council, Bsa 606           10120 Chapel Hill Rd                                  Lake Stevens, WA 98258                                          First Class Mail
Chartered Organization         Lds Lake Travis Ward, Oak Hill Stake                     Capitol Area Council 564               12001 Fm 2244 Rd                                      Bee Cave, TX 78738‐6310                                         First Class Mail
Chartered Organization         Lds Lake Villa 1St Ward                                  Buffalo Grove Stake                    315 Mckinley Ave                                      Lake Villa, IL 60046‐9081                                       First Class Mail
Chartered Organization         Lds Lake Villa 2Nd Ward                                  Buffalo Grove Stake                    315 Mckinley Ave                                      Lake Villa, IL 60046‐9081                                       First Class Mail
Chartered Organization         Lds Lake Whatcom Ward Bellingham Stake                   Mount Baker Council, Bsa 606           2925 James St                                         Bellingham, WA 98225‐2640                                       First Class Mail
Chartered Organization         Lds Lake Wilderness Ward Maple Vly Stake                 Chief Seattle Council 609              27728 217Th Ave Se                                    Maple Valley, WA 98038‐3202                                     First Class Mail
Chartered Organization         Lds Lakeland Ward ‐ Memphis North Stake                  Chickasaw Council 558                  12096 Arlington Trl                                   Arlington, TN 38002‐8344                                        First Class Mail
Chartered Organization         Lds Lakeport Ward                                        Redwood Empire Council 041             600 16Th St                                           Lakeport, CA 95453                                              First Class Mail
Chartered Organization         Lds Lakeridge Eighth Ward                                Utah National Parks 591                838 S 300 W                                           Orem, UT 84058‐6791                                             First Class Mail
Chartered Organization         Lds Lakeridge Fifth Ward                                 Utah National Parks 591                50 E 950 S                                            Orem, UT 84058                                                  First Class Mail
Chartered Organization         Lds Lakeridge First Ward (Spanish)                       Utah National Parks 591                888 S 210 W                                           Orem, UT 84058‐6757                                             First Class Mail
Chartered Organization         Lds Lakeridge Fourth Ward                                Utah National Parks 591                158 E 1100 S                                          Orem, UT 84058                                                  First Class Mail
Chartered Organization         Lds Lakeridge Sixth Ward                                 Utah National Parks 591                80 W 900 S                                            Orem, UT 84058                                                  First Class Mail
Chartered Organization         Lds Lakeridge Third Ward                                 Utah National Parks 591                950 S 50 E                                            Orem, UT 84058                                                  First Class Mail
Chartered Organization         Lds Lakeridge Ward Folsom Stake                          Golden Empire Council 047              1275 Green Valley Rd                                  El Dorado Hills, CA 95762‐9775                                  First Class Mail
Chartered Organization         Lds Lakeridge Ward Lake Oswego Stake                     Cascade Pacific Council 492            1271 Overlook Dr                                      Lake Oswego, OR 97034‐6933                                      First Class Mail
Chartered Organization         Lds Lakes Ward ‐ West Richland Stake                     Blue Mountain Council 604              3701 Watkins Way                                      West Richland, WA 99353                                         First Class Mail
Chartered Organization         Lds Lakes Ward Lakes Stake                               Las Vegas Area Council 328             9825 W Desert Inn Rd                                  Las Vegas, NV 89117‐8401                                        First Class Mail
Chartered Organization         Lds Lakeshore Ward ‐ Tempe Az South Stk                  Grand Canyon Council 010               6001 S Lakeshore Dr                                   Tempe, AZ 85283‐3048                                            First Class Mail
Chartered Organization         Lds Lakeside Branch, Kalispell Stake                     Montana Council 315                    180 Redfield Ln                                       Lakeside, MT 59922                                              First Class Mail
Chartered Organization         Lds Lakeside Eighth Ward                                 Utah National Parks 591                131 S 1600 W                                          Provo, UT 84601                                                 First Class Mail
Chartered Organization         Lds Lakeside First Ward                                  Utah National Parks 591                131 S 1600 W                                          Provo, UT 84601                                                 First Class Mail
Chartered Organization         Lds Lakeside Fourteenth Ward                             Utah National Parks 591                262 N 3000 W                                          Provo, UT 84601‐4022                                            First Class Mail
Chartered Organization         Lds Lakeside Fourth Ward                                 Utah National Parks 591                230 N 2300 W                                          Provo, UT 84601‐2219                                            First Class Mail
Chartered Organization         Lds Lakeside Park Ward Cincinnati Stake                  Dan Beard Council, Bsa 438             144 Buttermilk Pike                                   Lakeside Park, KY 41017                                         First Class Mail
Chartered Organization         Lds Lakeside Second Ward                                 Utah National Parks 591                173 S 3110 W                                          Provo, UT 84601‐3648                                            First Class Mail
Chartered Organization         Lds Lakeside Seventh Ward                                Utah National Parks 591                777 N 2250 W                                          Provo, UT 84601‐1276                                            First Class Mail
Chartered Organization         Lds Lakeside Sixth Ward                                  Utah National Parks 591                2409 W 230 S                                          Provo, UT 84601‐3680                                            First Class Mail
Chartered Organization         Lds Lakeside Tenth Ward                                  Utah National Parks 591                620 N 2225 W                                          Provo, UT 84601                                                 First Class Mail
Chartered Organization         Lds Lakeside Third Ward                                  Utah National Parks 591                114 N 2560 W                                          Provo, UT 84601‐7136                                            First Class Mail
Chartered Organization         Lds Lakeside Ward                                        Utah National Parks 591                181 E Cottage Cv                                      Saratoga Springs, UT 84045‐6679                                 First Class Mail
Chartered Organization         Lds Lakeside Ward ‐ Gilbert Az                           Val Vista Stake                        1005 N Voyager Dr                                     Gilbert, AZ 85234                                               First Class Mail
Chartered Organization         Lds Lakeside Ward ‐ Mt Rose Stake                        Nevada Area Council 329                4751 Neil Rd                                          Reno, NV 89502‐5878                                             First Class Mail
Chartered Organization         Lds Lakeside Ward ‐ White Mountain Az Stk                Grand Canyon Council 010               P.O. Box 2006                                         Lakeside, AZ 85929‐2006                                         First Class Mail
Chartered Organization         Lds Lakeview Eighth Ward                                 Utah National Parks 591                155 W 1600 S                                          Orem, UT 84058                                                  First Class Mail
Chartered Organization         Lds Lakeview Fifth Ward                                  Utah National Parks 591                400 W 1800 S                                          Orem, UT 84058                                                  First Class Mail
Chartered Organization         Lds Lakeview First Ward                                  Utah National Parks 591                2168 S 140 W                                          Orem, UT 84058‐7494                                             First Class Mail
Chartered Organization         Lds Lakeview Second Ward                                 Utah National Parks 591                461 W 1680 S                                          Orem, UT 84058‐7560                                             First Class Mail
Chartered Organization         Lds Lakeview Seventh Ward                                Utah National Parks 591                244 W 1455 S                                          Orem, UT 84058‐7365                                             First Class Mail
Chartered Organization         Lds Lakeview Sixth Ward                                  Utah National Parks 591                2168 S 140 W                                          Orem, UT 84058‐7494                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                  Page 217 of 442
                                                                                   Case 20-10343-LSS                                  Doc 8171                                     Filed 01/06/22                                 Page 233 of 457
                                                                                                                                                                      Exhibit B
                                                                                                                                                                       Service List
                                                                                                                                                                Served as set forth below

        Description                                                         Name                                                                                    Address                                                                         Email              Method of Service
Chartered Organization         Lds Lakeview Third Ward                                    Utah National Parks 591                1445 S 100 W                                             Orem, UT 84058‐7460                                               First Class Mail
Chartered Organization         Lds Lakeview Trails Ward ‐ Gilbert Az                      Highland E Stake                       3580 E Houston                                           Gilbert, AZ 85234                                                 First Class Mail
Chartered Organization         Lds Lakeview Ward                                          Bountiful Ut Central Stake             455 S 1200 E                                             Bountiful, UT 84010                                               First Class Mail
Chartered Organization         Lds Lakeview Ward ‐ Klamath Falls Stake                    Crater Lake Council 491                43 S I St                                                Lakeview, OR 97630‐1641                                           First Class Mail
Chartered Organization         Lds Lakeview Ward Eldorado Stake                           Las Vegas Area Council 328             1550 Buchanan Blvd                                       Boulder City, NV 89005                                            First Class Mail
Chartered Organization         Lds Lakeview Ward Kirkland Stake                           Chief Seattle Council 609              11805 Ne 43Rd Pl                                         Kirkland, WA 98033‐8746                                           First Class Mail
Chartered Organization         Lds Lakeview Ward Omaha Stake                              Mid‐America Council 326                17144 O Cir                                              Omaha, NE 68135‐1421                                              First Class Mail
Chartered Organization         Lds Lakeview Ward/Cntrvll Ut North Stk                     Great Salt Lake Council 590            1461 N Main St                                           Centerville, UT 84014                                             First Class Mail
Chartered Organization         Lds Lakeview Ward/Tooele Ut East Stk                       Great Salt Lake Council 590            2032 Churchwood Dr                                       Tooele, UT 84074                                                  First Class Mail
Chartered Organization         Lds Lakeville Stake ‐ Apple Valley Ward                    Northern Star Council 250              14459 Flax Way                                           Apple Valley, MN 55124‐3335                                       First Class Mail
Chartered Organization         Lds Lakeville Stake ‐ Burnsville Ward                      Northern Star Council 250              18460 Kachina Ct                                         Lakeville, MN 55044                                               First Class Mail
Chartered Organization         Lds Lakeville Stake ‐ Faribault Ward                       Northern Star Council 250              902 17Th St Sw                                           Faribault, MN 55021‐5500                                          First Class Mail
Chartered Organization         Lds Lakeville Stake ‐ Lakeville Ward                       Northern Star Council 250              18460 Kachina Ct                                         Lakeville, MN 55044                                               First Class Mail
Chartered Organization         Lds Lakeville Stake ‐ New Prague Branch                    Northern Star Council 250              202 Kennedy Ave Nw                                       New Prague, MN 56071‐4616                                         First Class Mail
Chartered Organization         Lds Lakeville Stake ‐ Prior Lake Ward                      Northern Star Council 250              9700 Nesbitt Ave S                                       Bloomington, MN 55437‐1912                                        First Class Mail
Chartered Organization         Lds Lakeway Cumberland                                     Great Smoky Mountain Council 557       6301 Hiawatha Rd                                         Morristown, TN 37814‐1460                                         First Class Mail
Chartered Organization         Lds Lakewood 3Rd Ward Cerritos Stake                       Long Beach Area Council 032            17660 Carpintero Ave                                     Bellflower, CA 90706                                              First Class Mail
Chartered Organization         Lds Lakewood 4Th Ward Cerritos Stake                       Long Beach Area Council 032            17660 Carpintero Ave                                     Bellflower, CA 90706                                              First Class Mail
Chartered Organization         Lds Lakewood Ranch Ward Sarasota Stake                     Southwest Florida Council 088          7001 Beneva Rd                                           Sarasota, FL 34238‐2803                                           First Class Mail
Chartered Organization         Lds Lakewood Stake‐American Lake                           Pacific Harbors Council, Bsa 612       5420 104Th St Sw                                         Lakewood, WA 98499                                                First Class Mail
Chartered Organization         Lds Lakewood Stake‐Brookdale                               Pacific Harbors Council, Bsa 612       11212 17Th Ave E                                         Tacoma, WA 98445‐3702                                             First Class Mail
Chartered Organization         Lds Lakewood Stake‐Dupont                                  Pacific Harbors Council, Bsa 612       10018 Farwest Dr Sw                                      Lakewood, WA 98498‐1743                                           First Class Mail
Chartered Organization         Lds Lakewood Stake‐Lakewood                                Pacific Harbors Council, Bsa 612       5220 104Th St Sw                                         Lakewood, WA 98499‐4832                                           First Class Mail
Chartered Organization         Lds Lakewood Stake‐Parkland                                Pacific Harbors Council, Bsa 612       11212 17Th Ave E                                         Tacoma, WA 98445‐3702                                             First Class Mail
Chartered Organization         Lds Lakewood Stake‐Steilacoom                              Pacific Harbors Council, Bsa 612       10018 Farwest Dr Sw                                      Lakewood, WA 98498‐1743                                           First Class Mail
Chartered Organization         Lds Lakewood Ward                                          Attn: Bishop Klopp                     25000 Westwood Rd                                        Westlake, OH 44145‐4853                                           First Class Mail
Chartered Organization         Lds Lakewood Ward ‐ Tempe Az West Stk                      Grand Canyon Council 010               2955 E Frye Rd                                           Phoenix, AZ 85048                                                 First Class Mail
Chartered Organization         Lds Lakewood Ward Arlington Stake                          Mount Baker Council, Bsa 606           17222 43Rd Ave Ne                                        Arlington, WA 98223‐7892                                          First Class Mail
Chartered Organization         Lds Lamar Ward ‐ Monett Stake                              Ozark Trails Council 306               784 Nw 70Th Ln                                           Liberal, MO 64762‐9222                                            First Class Mail
Chartered Organization         Lds Lamoille Vly Ward                                      Montpelier Vermont Stake               Green Mountain 592, Rte 15                               Johnson, Vt 05656                                                 First Class Mail
Chartered Organization         Lds Lanakila Ward ‐ Honolulu West Stake                    Aloha Council, Bsa 104                 622 N Judd St                                            Honolulu, HI 96817‐2214                                           First Class Mail
Chartered Organization         Lds Lancaster                                              Simon Kenton Council 441               1071 Sheridan Dr                                         Lancaster, OH 43130‐1926                                          First Class Mail
Chartered Organization         Lds ‐Lancaster E Stake                                     Tierra Bonita Ward                     44330 N 27th St E                                        Lancaster, CA 93535                                               First Class Mail
Chartered Organization         Lds ‐Lancaster E Stake‐ El Dorado Ward                     W.L.A.C.C. 051                         44330 N 27th St E                                        Lancaster, CA 93535                                               First Class Mail
Chartered Organization         Lds ‐Lancaster E Stake‐ Lake La Ward                       W.L.A.C.C. 051                         41535 170th St E                                         Lancaster, CA 93535                                               First Class Mail
Chartered Organization         Lds ‐Lancaster E Stake‐ Muroc Ward                         W.L.A.C.C. 051                         16509 Hillcrest St                                       North Edwards, CA 93523                                           First Class Mail
Chartered Organization         Lds ‐Lancaster E Stake‐ N Edwards Ward                     W.L.A.C.C. 051                         16509 Frank St                                           North Edwards, CA 93523                                           First Class Mail
Chartered Organization         Lds ‐Lancaster E Stake‐ Rosamond Ward                      W.L.A.C.C. 051                         3490 Susan Ave                                           Mojave, CA 93501‐1137                                             First Class Mail
Chartered Organization         Lds ‐Lancaster Stake‐ Juniper Ward                         W.L.A.C.C. 051                         1701 W Lancaster Blvd                                    Lancaster, CA 93534‐2003                                          First Class Mail
Chartered Organization         Lds ‐Lancaster Stake‐ Lancaster Ward                       W.L.A.C.C. 051, 17th St W &            Lancaster Blvd                                           Lancaster, CA 93534                                               First Class Mail
Chartered Organization         Lds ‐Lancaster Stake‐ Leona Valley Ward                    W.L.A.C.C. 051                         9044 Leona Ave                                           Leona Valley, CA 93551                                            First Class Mail
Chartered Organization         Lds ‐Lancaster Stake‐ Quartz Hill Ward                     W.L.A.C.C. 051                         9044 Leona Ave                                           Leona Valley, CA 93551                                            First Class Mail
Chartered Organization         Lds ‐Lancaster Stake‐ Sierra Ward                          W.L.A.C.C. 051                         3140 W Ave K                                             Lancaster, CA 93536‐5403                                          First Class Mail
Chartered Organization         Lds ‐Lancaster Stake‐ Somerset Ward                        W.L.A.C.C. 051                         3140 W Ave K                                             Lancaster, CA 93536‐5403                                          First Class Mail
Chartered Organization         Lds Lancer Way Ward/S L Granger Stake                      Great Salt Lake Council 590            3963 S Peachwood Dr                                      West Valley City, UT 84119                                        First Class Mail
Chartered Organization         Lds Landing Ward                                           Utah National Parks 591                4449 N Frontier St                                       Eagle Mountain, UT 84005‐4659                                     First Class Mail
Chartered Organization         Lds Lands End Ward/Grand Junction Stake                    Denver Area Council 061                2872 Bear Canyon Ct                                      Grand Junction, CO 81503‐3059                                     First Class Mail
Chartered Organization         Lds Langley Gateway Ward ‐ Qc Az North Stk                 Grand Canyon Council 010               22424 S Meridian Rd                                      Queen Creek, AZ 85142                                             First Class Mail
Chartered Organization         Lds Lansing Ward ‐ Lansing Stake                           Water And Woods Council 782            431 E Saginaw St                                         East Lansing, MI 48823‐2741                                       First Class Mail
Chartered Organization         Lds Lantana Ward ‐ Lewisville Stake                        Longhorn Council 662                   902 Chinn Chapel Rd                                      Lewisville, TX 75077‐8523                                         First Class Mail
Chartered Organization         Lds Lapeer Ward ‐ Grand Blanc Stake                        Water And Woods Council 782            3080 W Oregon Rd                                         Lapeer, MI 48446                                                  First Class Mail
Chartered Organization         Lds Lapeer Ward ‐ Grand Blanc Stake                        Water And Woods Council 782            1380 Haines Rd                                           Lapeer, MI 48446‐8655                                             First Class Mail
Chartered Organization         Lds Lapine Ward ‐ Bend Stake                               Crater Lake Council 491                52680 Day Rd                                             La Pine, OR 97739‐9012                                            First Class Mail
Chartered Organization         Lds Lapoint Ward                                           Utah National Parks 591                P.O. Box 316                                             Lapoint, UT 84039‐0316                                            First Class Mail
Chartered Organization         Lds Laporte Ward ‐ Valparaiso Stake                        Lasalle Council 165                    606 Fremont St                                           La Porte, IN 46350‐2342                                           First Class Mail
Chartered Organization         Lds Lapradera Park Ward ‐ Glendale Az Stk                  Grand Canyon Council 010               8602 N 31St Ave                                          Phoenix, AZ 85051‐3924                                            First Class Mail
Chartered Organization         Lds Laredo 1St Ward                                        South Texas Council 577                1520 E Hillside Rd                                       Laredo, TX 78041‐3373                                             First Class Mail
Chartered Organization         Lds Laredo 3Rd Ward Spanish Branch                         South Texas Council 577                1520 E Hillside Rd                                       Laredo, TX 78041‐3373                                             First Class Mail
Chartered Organization         Lds Laredo 6Th Ward Spanish Branch                         South Texas Council 577                4120 Avenida Los Presidente                              Laredo, TX 78046                                                  First Class Mail
Chartered Organization         Lds Laredo Ranch Ward ‐ Qc Az Ocotillo Stk                 Grand Canyon Council 010               4880 E Austin Ln                                         San Tan Valley, AZ 85140‐4537                                     First Class Mail
Chartered Organization         Lds Larkspur Ward ‐ Scottsdale Az                          North Stake                            9565 E Larkspur Dr                                       Scottsdale, AZ 85260                                              First Class Mail
Chartered Organization         Lds Larkspur/Logan South Stake                             Trapper Trails 589                     195 S 100 E                                              Logan, UT 84321‐5333                                              First Class Mail
Chartered Organization         Lds Las Brisas Ward ‐ Murrieta Stake                       California Inland Empire Council 045   24820 Las Brisas Rd                                      Murrieta, CA 92562‐4066                                           First Class Mail
Chartered Organization         Lds Las Colinas Ward Las Cruces Stk                        Yucca Council 573                      3210 Venus St                                            Las Cruces, NM 88012‐7714                                         First Class Mail
Chartered Organization         Lds Las Flores Ward ‐ Mission Viejo Stake                  Orange County Council 039              26176 Antonio Pkwy                                       Rancho Santa Margarita, CA 92688‐6502                             First Class Mail
Chartered Organization         Lds Las Lomas Ward ‐ North Stake                           Alamo Area Council 583                 645 Knights Cross Dr                                     San Antonio, TX 78258                                             First Class Mail
Chartered Organization         Lds Las Palmas Ward ‐ Sa Stake                             Alamo Area Council 583                 655 Castroville Rd                                       San Antonio, TX 78237‐3132                                        First Class Mail
Chartered Organization         Lds Las Palmas Ward Warm Springs Stake                     Las Vegas Area Council 328             7670 S Bruce St                                          Las Vegas, NV 89123‐1523                                          First Class Mail
Chartered Organization         Lds Las Posas Ward Camarillo Stake                         Ventura County Council 057             4345 Las Posas Rd                                        Camarillo, CA 93010‐2538                                          First Class Mail
Chartered Organization         Lds Las Sendas Ward ‐ Mesa Az                              Salt River Stake                       3941 N Sonoran Hls                                       Mesa, AZ 85207‐1024                                               First Class Mail
Chartered Organization         Lds Las Vegas Meadows Stake LDS Church                     Las Vegas Area Council 328             3200 Mustang St                                          Las Vegas, NV 89108‐4908                                          First Class Mail
Chartered Organization         Lds Lasselle Ward ‐ Moreno Valley Stake                    California Inland Empire Council 045   13281 Lasselle St                                        Moreno Valley, CA 92553‐6866                                      First Class Mail
Chartered Organization         Lds Lathrop Ward Manteca Stake                             Greater Yosemite Council 059           1233 Northgate Dr                                        Manteca, CA 95336‐6225                                            First Class Mail
Chartered Organization         Lds Lauderhill Ward                                        South Florida Council 084              10143 Nw 31St St                                         Coral Springs, FL 33065                                           First Class Mail
Chartered Organization         Lds Laurel Canyon Ward N Las Vegas Stake                   Las Vegas Area Council 328             100 E Hammer Ln                                          North Las Vegas, NV 89115                                         First Class Mail
Chartered Organization         Lds Laurel Hills Ward                                      Mccullough Hills Stake                 168 Cobalt Sky Ave                                       Henderson, NV 89002‐0524                                          First Class Mail
Chartered Organization         Lds Laurel Ward Bellingham Stake                           Mount Baker Council, Bsa 606           395 E Laurel Rd                                          Bellingham, WA 98226‐9773                                         First Class Mail
Chartered Organization         Lds Laurel Ward Silver Spring Md Stake                     National Capital Area Council 082      7200 Contee Rd                                           Laurel, MD 20707‐9465                                             First Class Mail
Chartered Organization         Lds Laurel Ward, Billings Stake                            Montana Council 315                    1238 Beartooth Dr                                        Laurel, MT 59044‐9668                                             First Class Mail
Chartered Organization         Lds Laurelwood Ward Spg Mtn Stake                          Las Vegas Area Council 328             6601 W Twain Ave                                         Las Vegas, NV 89103‐1038                                          First Class Mail
Chartered Organization         Lds Laveen Ward ‐ Phoenix Az                               South Mountain Stake                   4125 W Baseline                                          Laveen, AZ 85339                                                  First Class Mail
Chartered Organization         Lds Laverkin Stake Special Needs Troop                     Utah National Parks 591                260 N Main St                                            La Verkin, UT 84745‐5303                                          First Class Mail
Chartered Organization         Lds Lawndale Ward Torrance N Stake 795                     Greater Los Angeles Area 033           14801 Osage Ave                                          Lawndale, CA 90260‐1735                                           First Class Mail
Chartered Organization         Lds Lawrence 1St Ward Topeka Stake                         Heart Of America Council 307           3655 W 10Th St                                           Lawrence, KS 66049‐3228                                           First Class Mail
Chartered Organization         Lds Lawrence Sta Ward, Los Altos Stake                     Pacific Skyline Council 031            875 Quince Ave                                           Santa Clara, CA 95051‐5292                                        First Class Mail
Chartered Organization         Lds Lawrenceville Ward ‐ Lilburn Stake                     Northeast Georgia Council 101          3355 Sugarloaf Pkwy                                      Lawrenceville, GA 30044‐5483                                      First Class Mail
Chartered Organization         Lds Lawton 1St Ward Lawton Stake                           Last Frontier Council 480              7002 Sw Drakestone Blvd                                  Lawton, OK 73505‐7409                                             First Class Mail
Chartered Organization         Lds Lawton 2Nd Ward Lawton Stake                           Last Frontier Council 480              7002 Sw Drakestone Blvd                                  Lawton, OK 73505‐7409                                             First Class Mail
Chartered Organization         Lds Layton 2Nd Ward                                        Layton Legacy Stake                    275 Park St                                              Layton, UT 84041                                                  First Class Mail
Chartered Organization         Lds Layton 37Th Ward                                       Layton South Stake                     628 S Angel St                                           Layton, UT 84041                                                  First Class Mail
Chartered Organization         Lds Layton Hills Ward                                      Layton Hills Stake                     3290 N 1050 E                                            Layton, UT 84040                                                  First Class Mail
Chartered Organization         Lds Lazona Ward ‐ Mesa Az Central Stk                      Grand Canyon Council 010               1345 E University Dr                                     Mesa, AZ 85203                                                    First Class Mail
Chartered Organization         Lds Lazona Ward ‐ Mesa Az South Stk                        Grand Canyon Council 010               1500 E 6Th Ave                                           Mesa, AZ 85204                                                    First Class Mail
Chartered Organization         Lds Lazy Mountain Ward ‐ Palmer Stake                      Great Alaska Council 610               560 W Bogard Rd                                          Palmer, AK 99645                                                  First Class Mail
Chartered Organization         Lds Leamington Ward                                        Utah National Parks 591                P.O. Box 38063                                           Leamington, UT 84638‐0063                                         First Class Mail
Chartered Organization         Lds Leander Ward, Round Rock Tx Stake                      Capitol Area Council 564               2101 Bagdad Rd                                           Cedar Park, TX 78613‐6411                                         First Class Mail
Chartered Organization         Lds Leavenworth 1St Ward                                   Platte City Stake                      1020 Limit St                                            Leavenworth, KS 66048‐4205                                        First Class Mail
Chartered Organization         Lds Leavenworth 2 Ward Platte City Stake                   Heart Of America Council 307           546 Mcdonald Rd                                          Leavenworth, KS 66048‐4855                                        First Class Mail
Chartered Organization         Lds Leavenworth Ward/ Wenatchee Stake                      Grand Columbia Council 614             P.O. Box 273                                             Leavenworth, WA 98826‐0273                                        First Class Mail
Chartered Organization         Lds Lebanon Branch                                         Lincoln Heritage Council 205           205 Old Springfield Rd                                   Lebanon, KY 40033‐9176                                            First Class Mail
Chartered Organization         Lds Lebanon Ward ‐ St Robert Stake                         Ozark Trails Council 306               240 Hwy Yy                                               Lebanon, MO 65536                                                 First Class Mail
Chartered Organization         Lds Lebanon Ward Concord Stake                             Daniel Webster Council, Bsa 330        No Mail                                                  Grantham, NH 03753                                                First Class Mail
Chartered Organization         Lds Ledgewood 1St Ward Morristown                          Patriots Path Council 358              156 Mountain Rd                                          Ledgewood, NJ 07852                                               First Class Mail
Chartered Organization         Lds Lee Ward/S L Granite Park Stk                          Great Salt Lake Council 590            3805 S Main St                                           Salt Lake City, UT 84115                                          First Class Mail
Chartered Organization         Lds Leeds First Ward                                       Utah National Parks 591                P.O. Box 461072                                          Leeds, UT 84746‐1072                                              First Class Mail
Chartered Organization         Lds Leeds Second Ward                                      Utah National Parks 591                75 N Main St                                             Leeds, UT 84746‐7709                                              First Class Mail
Chartered Organization         Lds Leeds Ward Birmingham Alabama Stake                    Greater Alabama Council 001            8546 Rockhampton St                                      Leeds, AL 35094‐1354                                              First Class Mail
Chartered Organization         Lds Lees Summit 1St Ward Kcmo Stake                        Heart Of America Council 307           850 Se Church Rd                                         Lees Summit, MO 64063                                             First Class Mail
Chartered Organization         Lds Lees Summit 2Nd Ward Kcmo Stake                        Heart Of America Council 307           850 Se Church Rd                                         Lees Summit, MO 64063                                             First Class Mail
Chartered Organization         Lds Lees Summit 3Rd Ward Kcmo Stake                        Heart Of America Council 307           451 Se State Rte 150                                     Lees Summit, MO 64082                                             First Class Mail
Chartered Organization         Lds Leesburg Leesburg                                      Central Florida Council 083            1875 Mt Vernon Rd                                        Leesburg, FL 34748‐7026                                           First Class Mail
Chartered Organization         Lds Leesburg Ward Ashburn Stake                            National Capital Area Council 082      21015 Claiborne Pkwy                                     Ashburn, VA 20147‐4030                                            First Class Mail
Chartered Organization         Lds Leesburg Ward Ashburn Stake                            National Capital Area Council 082      801 Balls Bluff Rd Ne                                    Leesburg, VA 20176‐4801                                           First Class Mail
Chartered Organization         Lds Legacy Creek Ward                                      Fort Herriman Ut Stake                 4080 W 12600 S                                           Riverton, UT 84096                                                First Class Mail
Chartered Organization         Lds Legacy Farms 1St Ward                                  (Saratoga Spgs)                        74 E Legacy Pkwy                                         Saratoga Springs, UT 84045‐4822                                   First Class Mail
Chartered Organization         Lds Legacy Farms First Ward                                Utah National Parks 591                381 E 400 N                                              Spanish Fork, UT 84660                                            First Class Mail
Chartered Organization         Lds Legacy Farms Second Ward                               (Saratoga Spgs)                        519 S Valkyries Ln                                       Saratoga Springs, UT 84045‐4519                                   First Class Mail
Chartered Organization         Lds Legacy Farms Second Ward                               Utah National Parks 591                212 N 2470 E                                             Spanish Fork, UT 84660‐6084                                       First Class Mail
Chartered Organization         Lds Legacy Park Ward                                       Sandy Ut Granite Stake                 2535 E Newcastle Dr                                      Sandy, UT 84093                                                   First Class Mail
Chartered Organization         Lds Legacy Ranch Ward                                      Fort Herriman Ut Stake                 4080 W 12600 S                                           Riverton, UT 84096                                                First Class Mail
Chartered Organization         Lds Legacy Ward                                            Utah National Parks 591                678 E 260 S                                              Heber, UT 84032                                                   First Class Mail
Chartered Organization         Lds Legacy Ward Green Valley Stake                         Las Vegas Area Council 328             2091 Wigwam Pkwy                                         Henderson, NV 89074                                               First Class Mail
Chartered Organization         Lds Legend Ward, Parker South Stake                        Denver Area Council 061                20850 E Main St                                          Parker, CO 80138                                                  First Class Mail
Chartered Organization         Lds Lehi 1St Ward ‐ Mesa Az Lehi Stk                       Grand Canyon Council 010               810 E Lehi Rd                                            Mesa, AZ 85203                                                    First Class Mail
Chartered Organization         Lds Lehi 2Nd Ward ‐ Mesa Az Lehi Stk                       Grand Canyon Council 010               1430 N Grand                                             Mesa, AZ 85201‐2613                                               First Class Mail
Chartered Organization         Lds Lehi Cedar Hollow Fifth Ward                           Utah National Parks 591                1020 E 1900 N                                            Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Cedar Hollow First Ward                           Utah National Parks 591                1606 N 600 E                                             Lehi, UT 84043‐9743                                               First Class Mail
Chartered Organization         Lds Lehi Cedar Hollow Fourth Ward                          Utah National Parks 591                1020 E 1900 N                                            Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Cedar Hollow Second Ward                          Utah National Parks 591                2274 N 1120 E                                            Lehi, UT 84043‐9590                                               First Class Mail
Chartered Organization         Lds Lehi Cedar Hollow Sixth Ward                           Utah National Parks 591                1941 N 1475 E                                            Lehi, UT 84043‐2716                                               First Class Mail
Chartered Organization         Lds Lehi Cedar Hollow Third Ward                           Utah National Parks 591                2200 N 1200 E                                            Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Crossing Ward ‐ Mesa Az                           Hermosa Vista Stake                    2701 E Lehi Rd                                           Mesa, AZ 85213                                                    First Class Mail
Chartered Organization         Lds Lehi Eighteenth Ward                                   Utah National Parks 591                1364 W 1870 N                                            Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Eighth Ward                                       Utah National Parks 591                445 E 2760 N                                             Lehi, UT 84043‐3199                                               First Class Mail
Chartered Organization         Lds Lehi Eleventh Ward                                     Utah National Parks 591                704 N 625 E                                              Lehi, UT 84043‐1374                                               First Class Mail
Chartered Organization         Lds Lehi Fifteenth Ward                                    Utah National Parks 591                416 W 2070 N                                             Lehi, UT 84043‐4731                                               First Class Mail
Chartered Organization         Lds Lehi Fifth Ward                                        Utah National Parks 591                465 E 300 N                                              Lehi, UT 84043‐1922                                               First Class Mail
Chartered Organization         Lds Lehi First Ward                                        Utah National Parks 591                1011 S 400 E                                             Lehi, UT 84043‐5858                                               First Class Mail
Chartered Organization         Lds Lehi Forty Eighth Ward                                 Utah National Parks 591                1339 E 3150 N                                            Lehi, UT 84043‐5445                                               First Class Mail
Chartered Organization         Lds Lehi Forty Fifth Ward                                  Utah National Parks 591                225 E Love Ln                                            Lehi, UT 84043‐9613                                               First Class Mail
Chartered Organization         Lds Lehi Forty First Ward                                  Utah National Parks 591                220 W 200 S                                              Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Forty Fourth Branch                               Utah National Parks 591                414 W 370 S                                              American Fork, UT 84003‐2664                                      First Class Mail
Chartered Organization         Lds Lehi Forty Ninth Ward                                  Utah National Parks 591                3225 N Clay Ct                                           Lehi, UT 84043‐5055                                               First Class Mail
Chartered Organization         Lds Lehi Forty Second Samoan Branch                        Utah National Parks 591                9952 N Oak Rd W                                          Cedar Hills, UT 84062‐8718                                        First Class Mail
Chartered Organization         Lds Lehi Forty Seventh Ward                                Utah National Parks 591                880 N 700 E                                              Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Forty Sixth Ward                                  Utah National Parks 591                851 N 1200 E                                             Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Forty Third Ward                                  Utah National Parks 591                127 E 3200 N                                             Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Fourteenth Ward                                   Utah National Parks 591                851 N 1200 E                                             Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Fourth Ward                                       Utah National Parks 591                845 N 1200 E                                             Lehi, UT 84043‐1433                                               First Class Mail
Chartered Organization         Lds Lehi Nineteenth Ward                                   Utah National Parks 591                230 E Davis Ln                                           Lehi, UT 84043‐9631                                               First Class Mail
Chartered Organization         Lds Lehi Ninth Ward                                        Utah National Parks 591                465 E 300 N                                              Lehi, UT 84043‐1922                                               First Class Mail
Chartered Organization         Lds Lehi Ranches Ward                                      Utah National Parks 591                255 W 700 S                                              Lehi, UT 84043‐3541                                               First Class Mail
Chartered Organization         Lds Lehi Second Ward                                       Utah National Parks 591                300 N 500 E                                              Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Seventeenth Ward                                  Utah National Parks 591                1025 N 1710 E                                            Lehi, UT 84043‐3592                                               First Class Mail
Chartered Organization         Lds Lehi Seventh Ward                                      Utah National Parks 591                1149 N 300 W                                             Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Sixteenth Ward                                    Utah National Parks 591                1214 W Meadow Brook Ln                                   Lehi, UT 84043‐3772                                               First Class Mail
Chartered Organization         Lds Lehi Sixth Ward                                        Utah National Parks 591                271 W 200 S                                              Lehi, UT 84043‐2071                                               First Class Mail
Chartered Organization         Lds Lehi Spring Creek First Ward                           Utah National Parks 591                1652 S 710 E                                             Lehi, UT 84043‐5915                                               First Class Mail
Chartered Organization         Lds Lehi Spring Creek Second Ward                          Utah National Parks 591                1735 S Spring Creek Ranch Rd                             Lehi, UT 84043‐5935                                               First Class Mail
Chartered Organization         Lds Lehi Spring Creek Third Ward                           Utah National Parks 591                1250 S 300 E                                             Lehi, UT 84043‐5781                                               First Class Mail
Chartered Organization         Lds Lehi Sunset First Ward                                 Utah National Parks 591                2343 N 750 W                                             Lehi, UT 84043‐2830                                               First Class Mail
Chartered Organization         Lds Lehi Sunset Second Ward                                Utah National Parks 591                2120 N 650 W                                             Lehi, UT 84043‐2939                                               First Class Mail
Chartered Organization         Lds Lehi Tenth Ward                                        Utah National Parks 591                1125 W 300 N                                             Lehi, UT 84043‐5654                                               First Class Mail
Chartered Organization         Lds Lehi Third Ward                                        Utah National Parks 591                1683 N 500 W                                             Lehi, UT 84043‐1039                                               First Class Mail
Chartered Organization         Lds Lehi Thirteenth Ward                                   Utah National Parks 591                901 S 2300 W                                             Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Thirtieth Ward                                    Utah National Parks 591                263 W 2875 N                                             Lehi, UT 84043‐3869                                               First Class Mail
Chartered Organization         Lds Lehi Thirty Eighth Ward (Spanish)                      Utah National Parks 591                1530 W Pheasant Pointe Dr                                Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Thirty Fifth Ward                                 Utah National Parks 591                700 S 1700 W                                             Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Thirty Fourth Ward                                Utah National Parks 591                1631 E 900 N                                             Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Thirty Ninth Ward                                 Utah National Parks 591                926 W 1425 N                                             Lehi, UT 84043‐2330                                               First Class Mail
Chartered Organization         Lds Lehi Thirty Sixth Ward                                 Utah National Parks 591                1631 E 900 N                                             Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Thirty Third Ward                                 Utah National Parks 591                2940 N 1050 E                                            Lehi, UT 84043‐4085                                               First Class Mail
Chartered Organization         Lds Lehi Twelfth Ward                                      Utah National Parks 591                490 W 900 N                                              Lehi, UT 84043‐1124                                               First Class Mail
Chartered Organization         Lds Lehi Twentieth Ward                                    Utah National Parks 591                150 E 1500 N                                             Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Twenty Eighth Ward                                Utah National Parks 591                2848 N 750 E                                             Lehi, UT 84043‐2892                                               First Class Mail
Chartered Organization         Lds Lehi Twenty Fifth Ward                                 Utah National Parks 591                1216 W 525 S                                             Lehi, UT 84043‐4028                                               First Class Mail
Chartered Organization         Lds Lehi Twenty First Ward                                 Utah National Parks 591                1870 N 1400 W                                            Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Twenty Ninth Ward                                 Utah National Parks 591                1447 N 250 W                                             Lehi, UT 84043‐3231                                               First Class Mail
Chartered Organization         Lds Lehi Twenty Second Ward                                Utah National Parks 591                379 W 2325 N                                             Lehi, UT 84043‐3524                                               First Class Mail
Chartered Organization         Lds Lehi Twenty Sixth Ward                                 Utah National Parks 591                2790 N Center St                                         Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Lehi Twenty Third Ward                                 Utah National Parks 591                3110 N 700 E                                             Lehi, UT 84043‐2932                                               First Class Mail
Chartered Organization         Lds Lehigh Ward Fort Myers Stake                           Southwest Florida Council 088          315 Richmond Ave N                                       Lehigh Acres, FL 33936‐1354                                       First Class Mail
Chartered Organization         Lds Leland Ward                                            Utah National Parks 591                1208 W 900 S                                             Spanish Fork, UT 84660‐9270                                       First Class Mail
Chartered Organization         Lds Leland Ward/Wilmington Nc Stake                        Cape Fear Council 425                  1361 Old Fayetteville Rd Ne                              Leland, NC 28451                                                  First Class Mail
Chartered Organization         Lds Lemmon Valley Ward                                     Reno North Stake                       8080 Lemmon Dr                                           Reno, NV 89506‐9095                                               First Class Mail
Chartered Organization         Lds Lenexa Ward Lenexa Stake                               Heart Of America Council 307           21515 W 101St St                                         Lenexa, KS 66220                                                  First Class Mail
Chartered Organization         Lds Leon Spgs Ward‐ Hill Country Stake                     Alamo Area Council 583                 203 Stonegate Rd                                         Boerne, TX 78006‐1819                                             First Class Mail
Chartered Organization         Lds Leon Valley Ward ‐ West Stake                          Alamo Area Council 583                 7420 Huebner Rd                                          San Antonio, TX 78240                                             First Class Mail
Chartered Organization         Lds Leone 1St Ward ‐ Pago West Stake                       Aloha Council, Bsa 104                 P.O. Box 2123                                            Pago Pago, AS 96799‐2123                                          First Class Mail
Chartered Organization         Lds Leone 2Nd Ward ‐ Pago West Stake                       Aloha Council, Bsa 104                 Leone                                                    Pago Pago, AS 96799                                               First Class Mail
Chartered Organization         Lds Letha Ward ‐ Emmett Stk                                Ore‐Ida Council 106 ‐ Bsa 106          P.O. Box 201                                             Letha, ID 83636‐0201                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                       Page 218 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                    Filed 01/06/22                                                      Page 234 of 457
                                                                                                                                                                   Exhibit B
                                                                                                                                                                    Service List
                                                                                                                                                             Served as set forth below

        Description                                                       Name                                                                                   Address                                                                                              Email              Method of Service
Chartered Organization         Lds Levan First Ward                                     Utah National Parks 591                P.O. Box 111                                            Levan, UT 84639‐0111                                                                   First Class Mail
Chartered Organization         Lds Levan Second Ward                                    Utah National Parks 591                P.O. Box 363                                            Levan, UT 84639‐0363                                                                   First Class Mail
Chartered Organization         Lds Level Creek Ward‐ Sugar Hill Stake                   Northeast Georgia Council 101          4833 Suwanee Dam Rd                                     Suwanee, GA 30024                                                                      First Class Mail
Chartered Organization         Lds Lewisberry Ward, Harrisburg Stake                    New Birth Of Freedom 544               800 Pleasant Dr                                         York Haven, PA 17370                                                                   First Class Mail
Chartered Organization         Lds Lewiston 1St Ward/Lewiston Stake                     Inland NW Council 611                  836 Preston Ave                                         Lewiston, ID 83501                                                                     First Class Mail
Chartered Organization         Lds Lewiston 1St Ward/Lewiston Stake                     Inland NW Council 611                  9th & Preston                                           Lewiston, ID 83501                                                                     First Class Mail
Chartered Organization         Lds Lewiston 2Nd Ward/Lewiston Stake                     Inland NW Council 611                  3810 16Th St                                            Lewiston, ID 83501‐5813                                                                First Class Mail
Chartered Organization         Lds Lewiston 3Rd Ward                                    Inland NW Council 611                  9th & Preston                                           Lewiston, ID 83501                                                                     First Class Mail
Chartered Organization         Lds Lewiston 3Rd Ward/Lewiston Stake                     Inland NW Council 611                  836 Preston Ave                                         Lewiston, ID 83501                                                                     First Class Mail
Chartered Organization         Lds Lewistown Ward, Great Falls E Stake                  Montana Council 315                    920 Casino Creek Dr                                     Lewistown, MT 59457                                                                    First Class Mail
Chartered Organization         Lds Lewisville 1St Ward                                  Lewisville Stake                       1100 Stapleton Ln                                       Flower Mound, TX 75028                                                                 First Class Mail
Chartered Organization         Lds Lewisville 2Nd Ward                                  Carrollton Stake                       615 S Macarthur Blvd                                    Coppell, TX 75019‐3707                                                                 First Class Mail
Chartered Organization         Lds Lewisville Ward                                      Old Hickory Council 427                4260 Clinard Rd                                         Clemmons, NC 27012‐8485                                                                First Class Mail
Chartered Organization         Lds Lexington Park Ward Suitland Stake                   National Capital Area Council 082      22747 Old Rolling Rd                                    California, MD 20619                                                                   First Class Mail
Chartered Organization         Lds Liahona 1St Ward ‐ Mesa Az South Stk                 Grand Canyon Council 010               1500 E 6Th Ave                                          Mesa, AZ 85204                                                                         First Class Mail
Chartered Organization         Lds Liahona 2Nd Ward ‐ Mesa Az                           Maricopa Stake                         611 N Stewart                                           Mesa, AZ 85201‐4638                                                                    First Class Mail
Chartered Organization         Lds Liahona 4Th Ward ‐ Mesa Az North Stk                 Grand Canyon Council 010               1852 N Stapley Dr                                       Mesa, AZ 85203                                                                         First Class Mail
Chartered Organization         Lds Liahona 5Th Ward ‐ Mesa Az Alma Stk                  Grand Canyon Council 010               616 S Extension Rd                                      Mesa, AZ 85210‐2215                                                                    First Class Mail
Chartered Organization         Lds Liahona Ward Sacramento Stake                        Golden Empire Council 047              7401 24Th St                                            Sacramento, CA 95822‐5319                                                              First Class Mail
Chartered Organization         Lds Libby Ward, Sandpoint Id Stake                       Montana Council 315                    659 Airfield Rd                                         Libby, MT 59923‐7807                                                                   First Class Mail
Chartered Organization         Lds Liberty 1St Ward Gridley Stake                       Golden Empire Council 047              131 W Evans Reimer Rd                                   Gridley, CA 95948‐9536                                                                 First Class Mail
Chartered Organization         Lds Liberty 2Nd Ward Indep Stake                         Heart Of America Council 307           1130 N Clayview Dr                                      Liberty, MO 64068‐3405                                                                 First Class Mail
Chartered Organization         Lds Liberty 3Rd Ward (Tongan)                            Sl Ut Stake (Tongan)                   2465 S 800 E                                            Salt Lake City, UT 84106                                                               First Class Mail
Chartered Organization         Lds Liberty Farms Ward                                   Utah National Parks 591                7944 N Smith Ranch Rd                                   Eagle Mountain, UT 84005                                                               First Class Mail
Chartered Organization         Lds Liberty Heights Ward Warm Spgs Stake                 Las Vegas Area Council 328             10970 S Bermuda Rd                                      Las Vegas, NV 89183                                                                    First Class Mail
Chartered Organization         Lds Liberty Hill Ward Round Rock Stake                   Capitol Area Council 564               2101 Bagdad Rd                                          Cedar Park, TX 78613‐6411                                                              First Class Mail
Chartered Organization         Lds Liberty Park Ward ‐ San Clemente Stake               Orange County Council 039              310 Avenida Vista Montana                               San Clemente, CA 92672                                                                 First Class Mail
Chartered Organization         Lds Liberty Ward ‐ Boise E Stk                           Ore‐Ida Council 106 ‐ Bsa 106          877 E Saratoga Dr                                       Boise, ID 83706‐5851                                                                   First Class Mail
Chartered Organization         Lds Liberty Ward ‐ Buckeye Az Stk                        Grand Canyon Council 010               1002 E Eason Ave                                        Buckeye, AZ 85326                                                                      First Class Mail
Chartered Organization         Lds Liberty Ward ‐ Peoria Az North Stk                   Grand Canyon Council 010               9570 W Harmony Ln                                       Peoria, AZ 85382‐8390                                                                  First Class Mail
Chartered Organization         Lds Liberty Ward Cincinnati North Stake                  Dan Beard Council, Bsa 438             7118 Dutchland Pkwy                                     Liberty Township, OH 45044‐9096                                                        First Class Mail
Chartered Organization         Lds Liberty Ward/Murray Utah West Stake                  Great Salt Lake Council 590            67 W Clay Park Dr                                       Salt Lake City, UT 84107‐7089                                                          First Class Mail
Chartered Organization         Lds Liberty Ward/S L Liberty Stk                         Great Salt Lake Council 590            445 E Harvard Ave                                       Salt Lake City, UT 84111                                                               First Class Mail
Chartered Organization         Lds Lighthouse Ward                                      Stansbury Park Ut South Stake          102 Interlochen Ln                                      Stansbury Park, UT 84074                                                               First Class Mail
Chartered Organization         Lds Lihue Ward ‐ Kauai Hawaii Stake                      Aloha Council, Bsa 104                 4598 Ehiku St                                           Lihue, HI 96766‐1058                                                                   First Class Mail
Chartered Organization         Lds Lilburn 2Nd Ward                                     Northeast Georgia Council 101          1150 Cole Dr Sw                                         Lilburn, GA 30047‐5426                                                                 First Class Mail
Chartered Organization         Lds Lilburn Ward                                         Northeast Georgia Council 101          1150 Cole Dr Sw                                         Lilburn, GA 30047‐5426                                                                 First Class Mail
Chartered Organization         Lds Lilburn Ward ‐ Lilburn Stake                         Northeast Georgia Council 101          1150 Cole Dr Sw                                         Lilburn, GA 30047‐5426                                                                 First Class Mail
Chartered Organization         Lds Lima Ward Toledo Ohio Stake                          Black Swamp Area Council 449           1195 Brower Rd                                          Lima, OH 45801‐2303                                                                    First Class Mail
Chartered Organization         Lds Lincoln 1St Ward Lincoln Stake                       Golden Empire Council 047              252 O St                                                Lincoln, CA 95648                                                                      First Class Mail
Chartered Organization         Lds Lincoln 2Nd Ward Lincoln Stake                       Golden Empire Council 047              2831 Theona Way                                         Rocklin, CA 95765                                                                      First Class Mail
Chartered Organization         Lds Lincoln 3Rd Ward Lincoln Stake                       Golden Empire Council 047              408 Kier Ct                                             Lincoln, CA 95648‐2712                                                                 First Class Mail
Chartered Organization         Lds Lincoln 5Th Ward Lincoln Stake                       Golden Empire Council 047              1256 Red Leaf Way                                       Lincoln, CA 95648‐2616                                                                 First Class Mail
Chartered Organization         Lds Lincoln 6Th Ward Lincoln Stake                       Golden Empire Council 047              302 Potenza Pl                                          Lincoln, CA 95648‐7860                                                                 First Class Mail
Chartered Organization         Lds Lincoln 7Th Ward Lincoln Stake                       Golden Empire Council 047              5091 Wheatland Rd                                       Wheatland, CA 95692‐9733                                                               First Class Mail
Chartered Organization         Lds Lincoln City Ward Monmouth Stake                     Cascade Pacific Council 492            3565 Ne West Devils Lake Rd                             Lincoln City, OR 97367                                                                 First Class Mail
Chartered Organization         Lds Lincoln Heights Ward                                 S L Granite Park Stake                 601 E Mansfield Ave                                     Salt Lake City, UT 84106                                                               First Class Mail
Chartered Organization         Lds Lincoln Park Ward Port Angeles Stake                 Chief Seattle Council 609              591 Monroe Rd                                           Port Angeles, WA 98362                                                                 First Class Mail
Chartered Organization         Lds Lincoln Stake ‐ Bridgewater Ward                     Grand Teton Council 107                3378 E Greenwillow Ln                                   Ammon, ID 83401‐4982                                                                   First Class Mail
Chartered Organization         Lds Lincoln Stake ‐ Eastview Ward                        Grand Teton Council 107                2326 Virlow St                                          Idaho Falls, ID 83401‐3323                                                             First Class Mail
Chartered Organization         Lds Lincoln Stake ‐ Lincoln 1St Ward                     Grand Teton Council 107                3700 E Lincoln Rd                                       Idaho Falls, ID 83401                                                                  First Class Mail
Chartered Organization         Lds Lincoln Stake ‐ Lincoln 2Nd Ward                     Grand Teton Council 107                2545 Mesa St                                            Idaho Falls, ID 83401‐2335                                                             First Class Mail
Chartered Organization         Lds Lincoln Stake ‐ Lincoln 3Rd Ward                     Grand Teton Council 107                2545 Mesa St                                            Idaho Falls, ID 83401‐2335                                                             First Class Mail
Chartered Organization         Lds Lincoln Stake ‐ Mesa Branch                          Grand Teton Council 107                854 Mesa Cir                                            Idaho Falls, ID 83401                                                                  First Class Mail
Chartered Organization         Lds Lincoln Stake ‐ Sandcreek 2Nd Ward                   Grand Teton Council 107                2545 Mesa St                                            Idaho Falls, ID 83401‐2335                                                             First Class Mail
Chartered Organization         Lds Lincoln Stake ‐ Sandcreek 3Rd Ward                   Grand Teton Council 107                2545 Mesa St                                            Idaho Falls, ID 83401‐2335                                                             First Class Mail
Chartered Organization         Lds Linda Vista Ward ‐ Flagstaff Az                      East Stake                             2401 E Linda Vista Dr                                   Flagstaff, AZ 86004                                                                    First Class Mail
Chartered Organization         Lds Lindell Ward ‐ South St Louis Stake                  Greater St Louis Area Council 312      4211 Flora Pl                                           St Louis, MO 63110‐3508                                                                First Class Mail
Chartered Organization         Lds Linden Park Ward Loveland Stake                      Longs Peak Council 062                 6521 Carmichael St                                      Fort Collins, CO 80528‐7195                                                            First Class Mail
Chartered Organization         Lds Linden Valley Ward ‐ White Mountain Az               Stake                                  971 Timberland Rd                                       Show Low, AZ 85901                                                                     First Class Mail
Chartered Organization         Lds Linden Ward ‐ Show Low Az Stk                        Grand Canyon Council 010               P.O. Box 3094                                           Show Low, AZ 85902‐3094                                                                First Class Mail
Chartered Organization         Lds Linder Ward ‐ Settlers Park Stk                      Ore‐Ida Council 106 ‐ Bsa 106          1967 N Cairns Way                                       Meridian, ID 83646‐1360                                                                First Class Mail
Chartered Organization         Lds Lindon Eighteenth Ward                               Utah National Parks 591                250 W 600 S                                             Lindon, UT 84042‐1753                                                                  First Class Mail
Chartered Organization         Lds Lindon Eighth Ward                                   Utah National Parks 591                245 W 400 S                                             Lindon, UT 84042‐1760                                                                  First Class Mail
Chartered Organization         Lds Lindon Eleventh Ward                                 Utah National Parks 591                1050 E 100 S                                            Lindon, UT 84042‐2101                                                                  First Class Mail
Chartered Organization         Lds Lindon Fifteenth Ward                                Utah National Parks 591                1050 E 100 S                                            Lindon, UT 84042‐2101                                                                  First Class Mail
Chartered Organization         Lds Lindon Fifth Ward                                    Utah National Parks 591                610 W 100 S                                             Lindon, UT 84042‐1709                                                                  First Class Mail
Chartered Organization         Lds Lindon First Ward                                    Utah National Parks 591                56 E 600 N                                              Lindon, UT 84042                                                                       First Class Mail
Chartered Organization         Lds Lindon Fourteenth Ward                               Utah National Parks 591                320 W 500 N                                             Lindon, UT 84042                                                                       First Class Mail
Chartered Organization         Lds Lindon Fourth Ward                                   Utah National Parks 591                739 E 100 N                                             Lindon, UT 84042‐1579                                                                  First Class Mail
Chartered Organization         Lds Lindon Nineteenth Ward                               Utah National Parks 591                731 E Center St                                         Lindon, UT 84042                                                                       First Class Mail
Chartered Organization         Lds Lindon Ninth Ward                                    Utah National Parks 591                655 E 500 N                                             Lindon, UT 84042‐1547                                                                  First Class Mail
Chartered Organization         Lds Lindon Second Ward                                   Utah National Parks 591                610 W 100 S                                             Lindon, UT 84042‐1709                                                                  First Class Mail
Chartered Organization         Lds Lindon Seventeenth Ward                              Utah National Parks 591                1051 E 200 S                                            Pleasant Grove, UT 84062                                                               First Class Mail
Chartered Organization         Lds Lindon Seventh Ward                                  Utah National Parks 591                731 E Center St                                         Lindon, UT 84042                                                                       First Class Mail
Chartered Organization         Lds Lindon Sixteenth Ward                                Utah National Parks 591                610 W 100 S                                             Lindon, UT 84042‐1709                                                                  First Class Mail
Chartered Organization         Lds Lindon Sixth Ward                                    Utah National Parks 591                115 E 600 N                                             Lindon, UT 84042                                                                       First Class Mail
Chartered Organization         Lds Lindon Tenth Ward                                    Utah National Parks 591                1100 E 200 S                                            Lindon, UT 84042                                                                       First Class Mail
Chartered Organization         Lds Lindon Third Ward                                    Utah National Parks 591                382 E 400 N                                             Lindon, UT 84042‐1410                                                                  First Class Mail
Chartered Organization         Lds Lindon Thirteenth Ward                               Utah National Parks 591                1050 E 100 S                                            Lindon, UT 84042‐2101                                                                  First Class Mail
Chartered Organization         Lds Lindon Twelfth Ward                                  Utah National Parks 591                325 Canal Dr                                            Lindon, UT 84042                                                                       First Class Mail
Chartered Organization         Lds Lindon Twentieth Ward                                Utah National Parks 591                56 E 600 N                                              Lindon, UT 84042                                                                       First Class Mail
Chartered Organization         Lds Lindon Twenty First Ward                             Utah National Parks 591                960 E 180 N                                             Lindon, UT 84042‐2202                                                                  First Class Mail
Chartered Organization         Lds Lindon Twenty Third Ward                             Utah National Parks 591                1613 W 590 N                                            Lindon, UT 84042‐2080                                                                  First Class Mail
Chartered Organization         Lds Lindsay 1St Ward ‐ Chandler Az                       South Stake                            6345 S Lindsay Rd                                       Chandler, AZ 85249                                                                     First Class Mail
Chartered Organization         Lds Lindsay 2Nd Ward ‐ Chandler Az                       East Stake                             Grand Canyon Council 010                                4647E County Down Dr                    Chandler, Az 85249                             First Class Mail
Chartered Organization         Lds Lindsay 3Rd Ward ‐ Chandler Az                       East Stake                             21320 S Greenfield Rd                                   Gilbert, AZ 85298‐9309                                                                 First Class Mail
Chartered Organization         Lds Lindsay Ward ‐ Gilbert Az                            Val Vista Stake                        1150 N Lindsay Rd                                       Gilbert, AZ 85234                                                                      First Class Mail
Chartered Organization         Lds Lindsay Ward ‐ Mesa Az                               Hermosa Vista Stake                    2618 N Lindsay Rd                                       Mesa, AZ 85213‐1506                                                                    First Class Mail
Chartered Organization         Lds Litchfield 2280Th Stake                              Abraham Lincoln Council 144            12368 Roberson Rd                                       Litchfield, IL 62056‐4321                                                              First Class Mail
Chartered Organization         Lds Litchfield Ward ‐ Goodyear Az Stk                    Grand Canyon Council 010               301 W Wigwam Blvd                                       Litchfield Park, AZ 85340                                                              First Class Mail
Chartered Organization         Lds Little Colorado Ward ‐ Holbrook Az Stk               Grand Canyon Council 010               1127 Helen Ave                                          Holbrook, AZ 86025                                                                     First Class Mail
Chartered Organization         Lds Little Colorado Ward ‐ St Johns Az Stk               Grand Canyon Council 010               35 W Cleveland St                                       St Johns, AZ 85936                                                                     First Class Mail
Chartered Organization         Lds Little Cottonwood 14Th Ward                          Sl Little Cottonwood Stake             1160 E Vine St                                          Salt Lake City, UT 84121‐1752                                                          First Class Mail
Chartered Organization         Lds Little Cottonwood 9Th Ward                           Sl Little Cottonwood Stake             1160 E Vine St                                          Salt Lake City, UT 84121‐1752                                                          First Class Mail
Chartered Organization         Lds Little Cttnwd 12Th Ward                              Murray Ut Little Cottonwood Stake      6110 S 520 E                                            Murray, UT 84107‐7443                                                                  First Class Mail
Chartered Organization         Lds Little Elm 1St Ward                                  Frisco Texas Shawnee Trail Stake       8801 Martop Rd                                          Aubrey, TX 76227‐4114                                                                  First Class Mail
Chartered Organization         Lds Little Elm 1St Wrd                                   Frsco Tx Shawnee Trl Stake             6800 Anderson Dr                                        The Colony, TX 75056‐3515                                                              First Class Mail
Chartered Organization         Lds Little Elm 2Nd Wrd                                   Frsco Tx Shawnee Trl Stake             8801 Martop Rd                                          Aubrey, TX 76227‐4114                                                                  First Class Mail
Chartered Organization         Lds Little Elm 3Rd Wrd                                   Frsco Tx Shawnee Tral Stake            8801 Martop Rd                                          Aubrey, TX 76227‐4114                                                                  First Class Mail
Chartered Organization         Lds Little Flock Ward Rogers Stake                       Westark Area Council 016               1211 N Quail Ter                                        Rogers, AR 72756‐1967                                                                  First Class Mail
Chartered Organization         Lds Little Lake Ward ‐ Hemet Stake                       California Inland Empire Council 045   27020 Meridian St                                       Hemet, CA 92544                                                                        First Class Mail
Chartered Organization         Lds Little Miami Ward Cincinnati E Stake                 Dan Beard Council, Bsa 438             8250 Cornell Rd                                         Cincinnati, OH 45249                                                                   First Class Mail
Chartered Organization         Lds Little Mountain Ward/Tooele Ut Stk                   Great Salt Lake Council 590            1100 E Skyline Dr                                       Tooele, UT 84074                                                                       First Class Mail
Chartered Organization         Lds Little River Ward Annadale Stake                     National Capital Area Council 082      3900 Howard St                                          Annandale, VA 22003‐1762                                                               First Class Mail
Chartered Organization         Lds Little Valley Coyote Springs Ward                    Utah National Parks 591                2664 S Franklin Dr                                      St George, UT 84790‐7260                                                               First Class Mail
Chartered Organization         Lds Little Valley Jedora Ward                            Utah National Parks 591                1905 E Rustic Dr                                        St George, UT 84790                                                                    First Class Mail
Chartered Organization         Lds Little Valley Red Butte Ward                         Utah National Parks 591                2503 S 2310 East Cir                                    St George, UT 84790‐7030                                                               First Class Mail
Chartered Organization         Lds Little Valley Second Ward                            Utah National Parks 591                2454 E 3770 S                                           St George, UT 84790‐6216                                                               First Class Mail
Chartered Organization         Lds Little Valley Ward                                   Utah National Parks 591                2454 E 3770 S                                           St George, UT 84790‐6216                                                               First Class Mail
Chartered Organization         Lds Littlefield Ward Mesquite Stake                      Utah National Parks 591                P.O. Box 488                                            Littlefield, AZ 86432‐0488                                                             First Class Mail
Chartered Organization         Lds Littleton Ward, Littleton Stake                      Denver Area Council 061                910 W Ridge Rd                                          Littleton, CO 80120                                                                    First Class Mail
Chartered Organization         Lds Live Oak Canyon Ward                                 Santa Margarita Stake                  30522 Via Con Dios                                      Rancho Santa Margarita, CA 92688‐1530                                                  First Class Mail
Chartered Organization         Lds Live Oak Ward ‐ Cibolo Valley Stake                  Alamo Area Council 583                 13201 Forum Rd                                          Universal City, TX 78148‐2812                                                          First Class Mail
Chartered Organization         Lds Livermore 3Rd Ward ‐ Livermore Stake                 San Francisco Bay Area Council 028     950 Mocho St                                            Livermore, CA 94550                                                                    First Class Mail
Chartered Organization         Lds Livermore Vly View Ward                              Livermore Stake                        945 Waverly Cmn                                         Livermore, CA 94551‐7505                                                               First Class Mail
Chartered Organization         Lds Livingston Ward ‐ Kingwood Stake                     Three Rivers Council 578               2023 N Houston Ave                                      Livingston, TX 77351                                                                   First Class Mail
Chartered Organization         Lds Livingston Ward, Bozeman Stake                       Montana Council 315                    102 W Summit St                                         Livingston, MT 59047                                                                   First Class Mail
Chartered Organization         Lds Livonia Ward ‐ Westland Stake                        Great Lakes Fsc 272                    31450 6 Mile Rd                                         Livonia, MI 48152‐3302                                                                 First Class Mail
Chartered Organization         Lds Loa Ward                                             Utah National Parks 591                50 S 100 W                                              Loa, UT 84747                                                                          First Class Mail
Chartered Organization         Lds Loafer View Ward                                     Utah National Parks 591                306 S 810 E                                             Salem, UT 84653‐4002                                                                   First Class Mail
Chartered Organization         Lds Loch Lomond Ward                                     Utah National Parks 591                1174 S 1700 W                                           Lehi, UT 84043                                                                         First Class Mail
Chartered Organization         Lds Lochsa Falls Ward                                    Meridian Linder Stake                  1450 W Cayuse Creek                                     Meridian, ID 83646                                                                     First Class Mail
Chartered Organization         Lds Lockhart Ward Kyle Stake                             Capitol Area Council 564               1008 State Park Rd                                      Lockhart, TX 78644‐3838                                                                First Class Mail
Chartered Organization         Lds Locust Grove Ward ‐ Mer Victory Stk                  Ore‐Ida Council 106 ‐ Bsa 106          1695 E Amity Rd                                         Meridian, ID 83642                                                                     First Class Mail
Chartered Organization         Lds Lodi 1St Ward Lodi Stake                             Greater Yosemite Council 059           1510 W Century Blvd                                     Lodi, CA 95242‐4551                                                                    First Class Mail
Chartered Organization         Lds Log Cabin Ward Elkhorn Springs Stake                 Las Vegas Area Council 328             10312 All Seasons St                                    Las Vegas, NV 89131‐1536                                                               First Class Mail
Chartered Organization         Lds Logan 10Th Ward                                      Logan Central Stake                    792 N 500 E                                             Logan, UT 84321‐3418                                                                   First Class Mail
Chartered Organization         Lds Logan 19Th Ward                                      Logan Central Stake                    1255 N 600 E                                            Logan, UT 84341                                                                        First Class Mail
Chartered Organization         Lds Logan 29Th Ward                                      Logan Central Stake                    792 N 500 E                                             Logan, UT 84321‐3418                                                                   First Class Mail
Chartered Organization         Lds Logan 43Rd Ward                                      Logan Central Stake                    1255 N 600 E                                            Logan, UT 84341                                                                        First Class Mail
Chartered Organization         Lds Logan Canyon Ward                                    Mount Logan Stake                      565 E 100 S                                             Logan, UT 84321                                                                        First Class Mail
Chartered Organization         Lds Logan River Trails/Logan Stake                       Trapper Trails 589                     645 Trail Cir                                           Logan, UT 84321                                                                        First Class Mail
Chartered Organization         Lds Logan Ward Council Bluffs Stake                      Mid‐America Council 326                2629 260Th St                                           Logan, IA 51546                                                                        First Class Mail
Chartered Organization         Lds Logandale 1St Ward Logandale Stake                   Las Vegas Area Council 328             P.O. Box 393                                            Logandale, NV 89021‐0393                                                               First Class Mail
Chartered Organization         Lds Logandale 2Nd Ward Logandale Stake                   Las Vegas Area Council 328             P.O. Box 843                                            Logandale, NV 89021‐0843                                                               First Class Mail
Chartered Organization         Lds Logandale 3Rd Ward Logandale Stake                   Las Vegas Area Council 328             P.O. Box 329                                            Logandale, NV 89021‐0329                                                               First Class Mail
Chartered Organization         Lds Logandale 4Th Ward Logandale Stake                   Las Vegas Area Council 328             P.O. Box 360                                            Logandale, NV 89021‐0360                                                               First Class Mail
Chartered Organization         Lds Logandale 5Th Ward Logandale Stake                   Las Vegas Area Council 328             P.O. Box 39                                             Logandale, NV 89021‐0039                                                               First Class Mail
Chartered Organization         Lds Logandale 6Th Ward Logandale Stake                   Las Vegas Area Council 328             P.O. Box 379                                            Logandale, NV 89021‐0379                                                               First Class Mail
Chartered Organization         Lds Lolo Ward, Stevensville Stake                        Montana Council 315                    Mormon Creek Rd                                         Lolo, MT 59847                                                                         First Class Mail
Chartered Organization         Lds Loma Rica Ward Yuba City Stake                       Golden Empire Council 047              11646 Hill Rd                                           Marysville, CA 95901‐9473                                                              First Class Mail
Chartered Organization         Lds Lomita Ward 742                                      Greater Los Angeles Area 033           22721 Main St                                           Carson, CA 90745‐4516                                                                  First Class Mail
Chartered Organization         Lds Lompoc 1St Ward, Lompoc Stake                        Los Padres Council 053                 2003 San Antonio Ct                                     Lompoc, CA 93436‐3168                                                                  First Class Mail
Chartered Organization         Lds Lone Hollow Ward                                     Sandy Ut Crescent Stake                2135 E Pepperwood Dr                                    Sandy, UT 84092                                                                        First Class Mail
Chartered Organization         Lds Lone Mountain Ward                                   Carson City Stake                      1331 Mckay Dr                                           Carson City, NV 89703                                                                  First Class Mail
Chartered Organization         Lds Lone Mtn Ward Lone Mtn Stake                         Las Vegas Area Council 328             3300 N Buffalo Dr                                       Las Vegas, NV 89129‐6282                                                               First Class Mail
Chartered Organization         Lds Lone Peak Ward (Alpine)                              Utah National Parks 591                30 N Matterhorn Dr                                      Alpine, UT 84004                                                                       First Class Mail
Chartered Organization         Lds Lone Pine Ward (Sf)                                  Utah National Parks 591                1396 S 2640 E                                           Spanish Fork, UT 84660‐9457                                                            First Class Mail
Chartered Organization         Lds Lone Tree First Ward                                 Utah National Parks 591                2023 E Pine Cone Rd                                     Eagle Mountain, UT 84005‐4941                                                          First Class Mail
Chartered Organization         Lds Lone Tree Second Ward                                Utah National Parks 591                1953 E Lone Tree Pkwy                                   Eagle Mountain, UT 84005                                                               First Class Mail
Chartered Organization         Lds Lone Tree Third Ward                                 Utah National Parks 591                7683 N Bristlecone Rd                                   Eagle Mountain, UT 84005‐6074                                                          First Class Mail
Chartered Organization         Lds Lone Tree Ward, Castle Rock Stake                    Denver Area Council 061                61 W Surrey Dr                                          Castle Rock, CO 80108‐9100                                                             First Class Mail
Chartered Organization         Lds Long Beach Branch Rainier Stake                      Cascade Pacific Council 492            1305 Washington Ave S                                   Long Beach, WA 98631‐4075                                                              First Class Mail
Chartered Organization         Lds Long Mountain Ward Kingman Stake                     Las Vegas Area Council 328             610 Eern                                                Kingman, AZ 86401                                                                      First Class Mail
Chartered Organization         Lds Longview 1St Ward                                    East Texas Area Council 585            1700 Blueridge Pkwy                                     Longview, TX 75605‐2008                                                                First Class Mail
Chartered Organization         Lds Longview 2Nd Ward                                    East Texas Area Council 585            1700 Blueridge Pkwy                                     Longview, TX 75605‐2008                                                                First Class Mail
Chartered Organization         Lds Longwood Orlando                                     Central Florida Council 083            2255 Lake Emma Rd                                       Lake Mary, FL 32746‐4963                                                               First Class Mail
Chartered Organization         Lds Lookout Ridge Ward                                   Herriman Ut S Stake                    14550 S Juniper Crest                                   Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Loomis 1St Ward Lincoln Stake                        Golden Empire Council 047              5742 Sparas St                                          Loomis, CA 95650‐8705                                                                  First Class Mail
Chartered Organization         Lds Loomis 2Nd Ward Lincoln Stake                        Golden Empire Council 047              9215 Miners Xing                                        Loomis, CA 95650‐7734                                                                  First Class Mail
Chartered Organization         Lds Loomis 3Rd Ward Lincoln Stake                        Golden Empire Council 047              3420 Rachel Ct                                          Loomis, CA 95650‐9597                                                                  First Class Mail
Chartered Organization         Lds Lorin Farr 1St Ward                                  Lorin Farr Stake                       480 E 7Th St                                            Ogden, UT 84404                                                                        First Class Mail
Chartered Organization         Lds Lorin Farr 2Nd Ward                                  Lorin Farr Stake                       480 E 7Th St                                            Ogden, UT 84404                                                                        First Class Mail
Chartered Organization         Lds Lorin Farr 3Rd Ward                                  Lorin Farr Stake                       1570 E 1300 S                                           Ogden, UT 84404                                                                        First Class Mail
Chartered Organization         Lds Lorin Farr 4Th Ward                                  Lorin Farr Stake                       770 15Th St                                             Ogden, UT 84404                                                                        First Class Mail
Chartered Organization         Lds Lorin Farr 5Th Ward                                  Lorin Farr Stake                       1570 E 1300 S                                           Ogden, UT 84404                                                                        First Class Mail
Chartered Organization         Lds Lorin Farr 6Th Ward                                  Lorin Farr Stake                       770 15Th St                                             Ogden, UT 84404                                                                        First Class Mail
Chartered Organization         Lds Los Alamitos Ward                                    San Jose South Stake                   5700 Comanche Dr                                        San Jose, CA 95123‐3227                                                                First Class Mail
Chartered Organization         Lds Los Alamitos Ward E Lb Stake                         Long Beach Area Council 032            4142 Cerritos Ave                                       Los Alamitos, CA 90720‐2521                                                            First Class Mail
Chartered Organization         Lds Los Alamos Ward Santa Fe Stake                       Great Swest Council 412                1967 18Th St                                            Los Alamos, NM 87544‐4000                                                              First Class Mail
Chartered Organization         Lds Los Alisos Ward ‐ Mission Viejo Stake                Orange County Council 039              23859 Los Alisos Blvd                                   Mission Viejo, CA 92691                                                                First Class Mail
Chartered Organization         Lds Los Altos Ward ‐ Mesa Az Alma Stk                    Grand Canyon Council 010               2300 W Javelina Ave                                     Mesa, AZ 85202                                                                         First Class Mail
Chartered Organization         Lds Los Altos Ward Abq East Stake                        Great Swest Council 412                12701 Indian School Rd Ne                               Albuquerque, NM 87112‐4720                                                             First Class Mail
Chartered Organization         Lds Los Altos Ward, Los Altos Stake                      Pacific Skyline Council 031            190 Jordan Ave                                          Los Altos, CA 94022‐1261                                                               First Class Mail
Chartered Organization         Lds Los Angeles 3Rd Ward                                 Greater Los Angeles Area 033           194 Los Angeles Stake                                   Los Angeles, CA 90019                                                                  First Class Mail
Chartered Organization         Lds Los Angeles 4Th Ward                                 Greater Los Angeles Area 033           741 S Los Angeles St Ke                                 Los Angeles, CA 90014                                                                  First Class Mail
Chartered Organization         Lds Los Angeles 6Th Ward                                 Greater Los Angeles Area 033           294 Los Angeles Stake                                   Los Angeles, CA 90007                                                                  First Class Mail
Chartered Organization         Lds Los Banos Ward Merced Stake                          Greater Yosemite Council 059           1826 S Center Ave                                       Los Banos, CA 93635                                                                    First Class Mail
Chartered Organization         Lds Los Gatos Ward ‐ Saratoga Stake                      Silicon Valley Monterey Bay 055        15985 Rose Ave                                          Los Gatos, CA 95030‐4218                                                               First Class Mail
Chartered Organization         Lds Los Lunas Ward Los Lunas Stake                       Great Swest Council 412                160 James Ct                                            Los Lunas, NM 87031                                                                    First Class Mail
Chartered Organization         Lds Los Prados Ward Shadow Mtn Stake                     Las Vegas Area Council 328             6051 Dorrell Ln                                         Las Vegas, NV 89131‐3001                                                               First Class Mail
Chartered Organization         Lds Los Robles Ward Newbury Park Stake                   Ventura County Council 057             35 S Wendy Dr                                           Newbury Park, CA 91320‐4353                                                            First Class Mail
Chartered Organization         Lds Los Serranos Ward ‐ Chino Stake                      California Inland Empire Council 045   3354 Eucalyptus Steet                                   Chino Hills, CA 91709                                                                  First Class Mail
Chartered Organization         Lds Loudon Knoxville                                     Great Smoky Mountain Council 557       1005 Mulberry St                                        Loudon, TN 37774                                                                       First Class Mail
Chartered Organization         Lds Loudonville Ward, Albany Stake                       Twin Rivers Council 364                411 Loudon Rd                                           Loudonville, NY 12211‐1722                                                             First Class Mail
Chartered Organization         Lds Louetta Ward                                         Houston (Sp) West Stake                10555 Mills Rd                                          Houston, TX 77070‐4601                                                                 First Class Mail
Chartered Organization         Lds Louisville 1St Ward                                  Lincoln Heritage Council 205           1333 Eern Pkwy                                          Louisville, KY 40204                                                                   First Class Mail
Chartered Organization         Lds Louisville 2Nd Ward                                  Lincoln Heritage Council 205           1000 Hurstbourne Ln                                     Louisville, KY 40233                                                                   First Class Mail
Chartered Organization         Lds Louisville 3Rd Ward                                  Lincoln Heritage Council 205           1000 S Hurstbourne Pkwy                                 Louisville, KY 40222‐5715                                                              First Class Mail
Chartered Organization         Lds Louisville 4Th Ward                                  Lincoln Heritage Council 205           7880 St Andrews Church Rd                               Louisville, KY 40258‐3826                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                    Page 219 of 442
                                                                               Case 20-10343-LSS                                  Doc 8171                                  Filed 01/06/22                                                 Page 235 of 457
                                                                                                                                                               Exhibit B
                                                                                                                                                                Service List
                                                                                                                                                         Served as set forth below

        Description                                                     Name                                                                                 Address                                                                                         Email              Method of Service
Chartered Organization         Lds Louisville 6Th Ward                                Lincoln Heritage Council 205           1000 N Hurstbourne Pkwy                               Louisville, KY 40223‐5042                                                         First Class Mail
Chartered Organization         Lds Love Lake Ward ‐ Silver Creek Az Stk               Grand Canyon Council 010               P.O. Box 948                                          Taylor, AZ 85939‐0948                                                             First Class Mail
Chartered Organization         Lds Lovell 1St Ward, Lovell Stake                      Greater Wyoming Council 638            50 W Main St                                          Lovell, WY 82431                                                                  First Class Mail
Chartered Organization         Lds Lovell 2Nd Ward, Lovell Stake                      Greater Wyoming Council 638            50 W Main St                                          Lovell, WY 82431                                                                  First Class Mail
Chartered Organization         Lds Lovell 3Rd Ward, Lovell Stake                      Greater Wyoming Council 638            50 W Main St                                          Lovell, WY 82431                                                                  First Class Mail
Chartered Organization         Lds Lovell 4Th Ward, Lovell Stake                      Greater Wyoming Council 638            50 W Main St                                          Lovell, WY 82431                                                                  First Class Mail
Chartered Organization         Lds Lovell 5Th Ward, Lovell Stake                      Greater Wyoming Council 638            50 W Main St                                          Lovell, WY 82431                                                                  First Class Mail
Chartered Organization         Lds Lovelock Ward ‐ Winnemucca Stake                   Nevada Area Council 329                885 Kruze Rd                                          Lovelock, NV 89419‐5627                                                           First Class Mail
Chartered Organization         Lds Lowell Ward Nashua Stake                           The Spirit Of Adventure 227            421 Princeton Blvd                                    Lowell, MA 01851‐2325                                                             First Class Mail
Chartered Organization         Lds Ltl Cottonwood 16Th Ward                           S L Ltl Ctnwd Stake                    6350 S Rodeo Ln                                       Salt Lake City, UT 84121                                                          First Class Mail
Chartered Organization         Lds Ltl Cottonwood 18Th Ward                           Mrry Ut Ltl Ctnwd Stake                6410 S 725 E                                          Salt Lake City, UT 84107                                                          First Class Mail
Chartered Organization         Lds Ltl Cottonwood 1St Ward                            Sl Little Cottonwood Stake             6350 S Rodeo Ln                                       Salt Lake City, UT 84121                                                          First Class Mail
Chartered Organization         Lds Ltl Cottonwood 20Th                                S L Ltl Ctnwd Stake                    1160 E Vine St                                        Salt Lake City, UT 84121‐1752                                                     First Class Mail
Chartered Organization         Lds Ltl Cottonwood 5Th Ward                            Sl Little Cottonwood Stake             6350 S Rodeo Ln                                       Murray, UT 84121                                                                  First Class Mail
Chartered Organization         Lds Ltl Cottonwood 6Th                                 Murray Ut Little Cottonwood Stake      6410 S 725 E                                          Salt Lake City, UT 84107                                                          First Class Mail
Chartered Organization         Lds Ltl Cottonwood 8Th                                 Murray Ut Little Cottonwood Stake      6180 Glen Oaks St                                     Salt Lake City, UT 84107                                                          First Class Mail
Chartered Organization         Lds Ltl Cottonwood Ward                                Sandy Ut Granite View Stake            9880 S 3100 E                                         Sandy, UT 84092                                                                   First Class Mail
Chartered Organization         Lds Lucerne Vly Ward ‐ Apple Vly Stake                 California Inland Empire Council 045   P.O. Box 918                                          Lucerne Valley, CA 92356‐0918                                                     First Class Mail
Chartered Organization         Lds Lucero Branch (Spanish)                            Sl Central Stake                       855 E Garfield Ave                                    Salt Lake City, UT 84105                                                          First Class Mail
Chartered Organization         Lds Ludlow Ward                                        Western Massachusetts Council 234      584 West St                                           Ludlow, MA 01056‐1002                                                             First Class Mail
Chartered Organization         Lds Lukachukai Ward Chinle Stake                       Great Swest Council 412                P.O. Box A754                                         Tsaile, AZ 86556‐5036                                                             First Class Mail
Chartered Organization         Lds Luna Ward ‐ Eagar Az Stk                           Grand Canyon Council 010               13 Luna Valley Dr                                     Luna, NM 87824                                                                    First Class Mail
Chartered Organization         Lds Lund Ward ‐ Ely Stake                              Nevada Area Council 329                88 S Main St                                          Lund, NV 89317‐9806                                                               First Class Mail
Chartered Organization         Lds Lundeen Park Ward Marysville Stake                 Mount Baker Council, Bsa 606           7702 44Th St Ne                                       Marysville, WA 98270‐6917                                                         First Class Mail
Chartered Organization         Lds Lundstrom Park 1St Ward                            Logan East Stake                       1260 N 1600 E                                         Logan, UT 84341‐2869                                                              First Class Mail
Chartered Organization         Lds Lundstrom Park 2Nd Ward                            Logan East Stake                       1260 N 1600 E                                         Logan, UT 84341‐2869                                                              First Class Mail
Chartered Organization         Lds Lundstrom Park 3Rd Ward                            Logan East Stake                       1260 N 1600 E                                         Logan, UT 84341‐2869                                                              First Class Mail
Chartered Organization         Lds Lyman Ward                                         Utah National Parks 591                P.O. Box 1471                                         Lyman, UT 84749‐1471                                                              First Class Mail
Chartered Organization         Lds Lyman Ward ‐ St Johns Az Stk                       Grand Canyon Council 010               2000 W Cleveland St                                   St Johns, AZ 85936‐4537                                                           First Class Mail
Chartered Organization         Lds Lyn Rae Ward ‐ Mesa Az Kimball Stk                 Grand Canyon Council 010               1266 S 32Nd St                                        Mesa, AZ 85204                                                                    First Class Mail
Chartered Organization         Lds Lynbrook Ward Tule Springs Stake                   Las Vegas Area Council 328             7912 Morning Gallop Ct                                Las Vegas, NV 89131‐2193                                                          First Class Mail
Chartered Organization         Lds Lynchburg Ward 1                                   Buena Vista Stake                      110 Melinda Dr                                        Lynchburg, VA 24502                                                               First Class Mail
Chartered Organization         Lds Lynchburg Ward 2                                   Buena Vista Stake                      429 Elmwood Ave                                       Lynchburg, VA 24503‐4409                                                          First Class Mail
Chartered Organization         Lds Lynchburg Ward 3                                   Buena Vista Stake                      102 Hitching Post Ln                                  Forest, VA 24551‐1024                                                             First Class Mail
Chartered Organization         Lds Lynden Ward Bellingham Stake                       Mount Baker Council, Bsa 606           503 Everson Rd                                        Everson, WA 98247                                                                 First Class Mail
Chartered Organization         Lds Lynn Haven Ward                                    Gulf Coast Council 773                 3140 State Ave                                        Panama City, FL 32405‐3316                                                        First Class Mail
Chartered Organization         Lds Lynnfield Ward Cambridge Stake                     The Spirit Of Adventure 227            400 Essex St                                          Lynnfield, MA 01940‐1211                                                          First Class Mail
Chartered Organization         Lds Lynwood 2Nd Ward                                   Greater Los Angeles Area 033           429 Huntington Park Stake                             Lynwood, CA 90262                                                                 First Class Mail
Chartered Organization         Lds Lyons Gate Ward ‐ Gilbert Az                       Higley Stake                           1865 S Higley Rd                                      Gilbert, AZ 85295                                                                 First Class Mail
Chartered Organization         Lds Lyons Ward Palmyra Stake                           Seneca Waterways 397                   Sohn Alloway Rd                                       Lyons, NY 14489                                                                   First Class Mail
Chartered Organization         Lds Machias Ward Snohomish Stake                       Mount Baker Council, Bsa 606           2317 119Th Dr Se                                      Lake Stevens, WA 98258‐7390                                                       First Class Mail
Chartered Organization         Lds Mackay Meadows Ward                                Tville Ut N Central Stake              2976 W Winchester Dr                                  Salt Lake City, UT 84119                                                          First Class Mail
Chartered Organization         Lds Macland Ward Powder Springs Stake                  Atlanta Area Council 092               2595 New Macland Rd                                   Powder Springs, GA 30127‐1757                                                     First Class Mail
Chartered Organization         Lds Macomb Ward Nauvoo Illinois Stake                  Illowa Council 133                     2000 W Adams Rd                                       Macomb, IL 61455‐1210                                                             First Class Mail
Chartered Organization         Lds Macon First Ward                                   Central Georgia Council 096            1624 Williamson Rd                                    Macon, GA 31206‐3352                                                              First Class Mail
Chartered Organization         Lds Madeira Canyon Ward                                Anthem Hills Stake                     875 Rich Perez Jr                                     Henderson, NV 89052                                                               First Class Mail
Chartered Organization         Lds Madero Ward ‐ Mesa Az Desert Ridge Stk             Grand Canyon Council 010               2647 S Signal Butte Rd                                Mesa, AZ 85209‐2100                                                               First Class Mail
Chartered Organization         Lds Madison 1St Ward Madison Stake                     Greater Alabama Council 001            1297 Slaughter Rd                                     Madison, AL 35758                                                                 First Class Mail
Chartered Organization         Lds Madison 2Nd Ward, Madison Stake                    Greater Alabama Council 001            1297 Slaughter Rd                                     Madison, AL 35758                                                                 First Class Mail
Chartered Organization         Lds Madison Branch‐Athens Stake                        Northeast Georgia Council 101          1091 Ward Rd                                          Madison, GA 30650‐2007                                                            First Class Mail
Chartered Organization         Lds Madison Second Ward Wisconsin Stake                Glaciers Edge Council 620              5602 Irongate Dr                                      Madison, WI 53716‐2494                                                            First Class Mail
Chartered Organization         Lds Madison Stake                                      Lincoln Heritage Council 205           1310 Cave Mill Rd                                     Bowling Green, KY 42104                                                           First Class Mail
Chartered Organization         Lds Madison Ward                                       Lincoln Heritage Council 205           1113 Michigan Rd                                      Madison, IN 47250‐2926                                                            First Class Mail
Chartered Organization         Lds Madison Ward, Tallahassee, Fl Stake                Suwannee River Area Council 664        195 Ne Gloriosa Ln                                    Lee, FL 32059                                                                     First Class Mail
Chartered Organization         Lds Madisonville                                       Lincoln Heritage Council 205           2355 N Main St                                        Madisonville, KY 42431‐9274                                                       First Class Mail
Chartered Organization         Lds Madisonville Ward                                  Lincoln Heritage Council 205           2355 N Main St                                        Madisonville, KY 42431‐9274                                                       First Class Mail
Chartered Organization         Lds Madras Ward ‐ Redmond Stake                        Crater Lake Council 491                2447 Se Sagebrush Dr                                  Madras, OR 97741‐9424                                                             First Class Mail
Chartered Organization         Lds Maeser Fifth Ward                                  Utah National Parks 591                3328 W 940 N                                          Vernal, UT 84078‐9449                                                             First Class Mail
Chartered Organization         Lds Maeser First Ward                                  Utah National Parks 591                850 W 100 N                                           Vernal, UT 84078‐3802                                                             First Class Mail
Chartered Organization         Lds Maeser Fourth Ward                                 Utah National Parks 591                3462 W 1600 N                                         Vernal, UT 84078‐9420                                                             First Class Mail
Chartered Organization         Lds Maeser Second Ward                                 Utah National Parks 591                2575 N 1500 W                                         Vernal, UT 84078‐9638                                                             First Class Mail
Chartered Organization         Lds Maeser Seventh Ward                                Utah National Parks 591                2755 W 1200 N                                         Vernal, UT 84078‐8243                                                             First Class Mail
Chartered Organization         Lds Maeser Sixth Ward                                  Utah National Parks 591                916 N 3315 W                                          Vernal, UT 84078‐9722                                                             First Class Mail
Chartered Organization         Lds Maeser Third Ward                                  Utah National Parks 591                2575 N 1500 W                                         Vernal, UT 84078‐9638                                                             First Class Mail
Chartered Organization         Lds Magma Ranch Ward ‐ Stv Az Stk                      Grand Canyon Council 010               1521 E Bella Vista Rd                                 Florence, AZ 85143                                                                First Class Mail
Chartered Organization         Lds Magna 2Nd Branch (Tongan)                          Sl Ut Stake (Tongan)                   7574 W Patriot Dr                                     Magna, UT 84044‐2574                                                              First Class Mail
Chartered Organization         Lds Magna Ward/Magna Ut Stk                            Great Salt Lake Council 590            3100 S 8400 W                                         Magna, UT 84044                                                                   First Class Mail
Chartered Organization         Lds Magnolia 2Nd Ward                                  The Woodlands Stake                    10303 Branch Crossing Dr                              The Woodlands, TX 77382                                                           First Class Mail
Chartered Organization         Lds Maguire Canyon/Willard Stake                       Trapper Trails 589                     840 W 8300 S                                          South Willard, UT 84340                                                           First Class Mail
Chartered Organization         Lds Mahogany Ridge/North Logan Stake                   Trapper Trails 589                     2750 N 800 E                                          North Logan, UT 84341‐1506                                                        First Class Mail
Chartered Organization         Lds Mahomet Ward Champaign Stake                       Prairielands 117                       604 W Windsor Rd                                      Champaign, IL 61820‐7622                                                          First Class Mail
Chartered Organization         Lds Maili Kai Ward ‐ Makakilo Stake                    Aloha Council, Bsa 104                 2074 Lauwiliwili St                                   Kapolei, HI 96707                                                                 First Class Mail
Chartered Organization         Lds Maize Second Ward ‐ Wichita Stake                  Quivira Council, Bsa 198               7834 W 29Th St N                                      Wichita, KS 67205‐9404                                                            First Class Mail
Chartered Organization         Lds Maize Ward ‐ Wichita Stake                         Quivira Council, Bsa 198               7834 W 29Th St N                                      Wichita, KS 67205‐9404                                                            First Class Mail
Chartered Organization         Lds Major Meadows Ward                                 Clearfield Stake                       2150 S 800 E                                          Clearfield, UT 84015                                                              First Class Mail
Chartered Organization         Lds Makaha Ward ‐ Makakilo Stake                       Aloha Council, Bsa 104                 85‐574 Plantation Rd                                  Waianae, HI 96792‐2660                                                            First Class Mail
Chartered Organization         Lds Makakilo 1St Ward ‐ Makakilo Stake                 Aloha Council, Bsa 104                 92‐200 Makakilo Dr                                    Kapolei, HI 96707                                                                 First Class Mail
Chartered Organization         Lds Makawao Ward, Kahului Hi Stake                     Aloha Council, Bsa 104                 3356 Kihapai Pl                                       Makawao, HI 96768                                                                 First Class Mail
Chartered Organization         Lds Makeke 1St Ward ‐ Pago Central Stake               Aloha Council, Bsa 104                 P.O. Box 1419                                         Pago Pago, AS 96799‐1419                                                          First Class Mail
Chartered Organization         Lds Makeke 2Nd Ward ‐ Pago Central Stake               Aloha Council, Bsa 104                 P.O. Box 6798                                         Pago Pago, AS 96799‐6289                                                          First Class Mail
Chartered Organization         Lds Makiki Ward ‐ Honolulu Stake                       Aloha Council, Bsa 104                 1560 S Beretania St                                   Honolulu, HI 96826‐1102                                                           First Class Mail
Chartered Organization         Lds Malad Stake ‐ 1St Ward                             Grand Teton Council 107                1250 N 1100 W                                         Malad City, ID 83252‐5376                                                         First Class Mail
Chartered Organization         Lds Malad Stake ‐ 2Nd Ward                             Grand Teton Council 107                20 S 100 W                                            Malad City, ID 83252‐1215                                                         First Class Mail
Chartered Organization         Lds Malad Stake ‐ 3Rd Ward                             Grand Teton Council 107                400 N 200 W                                           Malad City, ID 83252‐1126                                                         First Class Mail
Chartered Organization         Lds Malad Stake ‐ 4Th Ward                             Grand Teton Council 107                160 S 300 E                                           Malad City, ID 83252‐1344                                                         First Class Mail
Chartered Organization         Lds Malad Stake ‐ 5Th Ward                             Grand Teton Council 107                20 S 100 W                                            Malad City, ID 83252‐1215                                                         First Class Mail
Chartered Organization         Lds Malad Stake ‐ 7Th Ward                             Grand Teton Council 107                400 N 200 W                                           Malad City, ID 83252‐1126                                                         First Class Mail
Chartered Organization         Lds Malad Stake ‐ Holbrook Ward                        Grand Teton Council 107                100 N 100 W                                           Malad City, ID 83252                                                              First Class Mail
Chartered Organization         Lds Malad Stake ‐ Malad 6Th Ward                       Grand Teton Council 107                400 N 200 W                                           Malad City, ID 83252‐1126                                                         First Class Mail
Chartered Organization         Lds Malad Stake ‐ Pleasant View Ward                   Grand Teton Council 107                1250 N 1100 W                                         Malad City, ID 83252‐5376                                                         First Class Mail
Chartered Organization         Lds Malad Stake ‐ St John Ward                         Grand Teton Council 107                1250 N 1100 W                                         Malad City, ID 83252‐5376                                                         First Class Mail
Chartered Organization         Lds Malaeimi 1St Ward                                  Pago Malaeimi Stake                    P.O. Box 1419                                         Pago Pago, AS 96799‐1419                                                          First Class Mail
Chartered Organization         Lds Malaeimi 2Nd Ward                                  Pago Malaeimi Stake                    P.O. Box 5073                                         Pago Pago, AS 96799‐5073                                                          First Class Mail
Chartered Organization         Lds Mall Drive Ward                                    Utah National Parks 591                8 S 2060 E                                            St George, UT 84790‐1558                                                          First Class Mail
Chartered Organization         Lds Maltby Ward Snohomish Stake                        Mount Baker Council, Bsa 606           17372 Tester Rd                                       Monroe, WA 98272                                                                  First Class Mail
Chartered Organization         Lds Manassa 1St Ward, Manassa Stake                    Rocky Mountain Council 063             P.O. Box 574                                          Manassa, CO 81141‐0574                                                            First Class Mail
Chartered Organization         Lds Manassa 2Nd Ward, Manassa Stake                    Rocky Mountain Council 063             P.O. Box 792                                          Manassa, CO 81141‐0792                                                            First Class Mail
Chartered Organization         Lds Manassa 3Rd Ward, Manassa Stake                    Rocky Mountain Council 063             P.O. Box 514                                          Manassa, CO 81141‐0514                                                            First Class Mail
Chartered Organization         Lds Manassas 2 Ward Centreville Stake                  National Capital Area Council 082      8001 Barrett Dr                                       Manassas, VA 20109‐3536                                                           First Class Mail
Chartered Organization         Lds Manassas Ward Centreville Stake                    National Capital Area Council 082      14150 Upperridge Dr                                   Centreville, VA 20121‐5340                                                        First Class Mail
Chartered Organization         Lds Manchester 1St Ward                                Concord Nh Stake                       15 Autumn Run                                         Hooksett, NH 03106‐1955                                                           First Class Mail
Chartered Organization         Lds Manchester Ward Bremerton Stake                    Chief Seattle Council 609              1550 Hoover Ave Se                                    Port Orchard, WA 98366                                                            First Class Mail
Chartered Organization         Lds Mancos Ward Durango Stake                          Great Swest Council 412                12180 Rd 40                                           Mancos, CO 81328‐9028                                                             First Class Mail
Chartered Organization         Lds Manette Ward Bremerton Stake                       Chief Seattle Council 609              2225 Perry Ave                                        Bremerton, WA 98310‐5135                                                          First Class Mail
Chartered Organization         Lds Manhattan 1St Ward ‐ Salina Kansas                 Coronado Area Council 192              2812 Marlatt Ave                                      Manhattan, KS 66502                                                               First Class Mail
Chartered Organization         Lds Manhattan 1St Ward/New York Stake                  Greater New York Councils, Bsa 640     125 Columbus Ave                                      New York, NY 10023‐6514                                                           First Class Mail
Chartered Organization         Lds Manhattan 2Nd Ward/New York Stake                  Greater New York Councils, Bsa 640     217 E 87Th St                                         New York, NY 10128‐3200                                                           First Class Mail
Chartered Organization         Lds Manhattan Beach Ward                               Torrance N Stake 873                   501 N Rowell Ave                                      Manhattan Beach, CA 90266‐6047                                                    First Class Mail
Chartered Organization         Lds Manila Eighth Ward                                 Utah National Parks 591                3785 W Boxelder Dr                                    Cedar Hills, UT 84062                                                             First Class Mail
Chartered Organization         Lds Manila Eleventh Ward                               Utah National Parks 591                850 N 900 E                                           American Fork, UT 84003                                                           First Class Mail
Chartered Organization         Lds Manila Fifth Ward (Pg)                             Utah National Parks 591                4262 W Manila Creek Dr                                Cedar Hills, UT 84062‐9631                                                        First Class Mail
Chartered Organization         Lds Manila First Ward                                  Utah National Parks 591                3172 Millcreek Rd                                     Pleasant Grove, UT 84062‐8790                                                     First Class Mail
Chartered Organization         Lds Manila Fourth Ward                                 Utah National Parks 591                1320 W 3540 N                                         Pleasant Grove, UT 84062                                                          First Class Mail
Chartered Organization         Lds Manila Ninth Ward                                  Utah National Parks 591                9093 Silver Lake Dr                                   Cedar Hills, UT 84062‐8788                                                        First Class Mail
Chartered Organization         Lds Manila Second Ward                                 Utah National Parks 591                965 E 1420 N                                          American Fork, UT 84003‐8856                                                      First Class Mail
Chartered Organization         Lds Manila Seventh Ward (Pg)                           Utah National Parks 591                1320 W 3540 N                                         Pleasant Grove, UT 84062                                                          First Class Mail
Chartered Organization         Lds Manila Sixth Ward                                  Utah National Parks 591                1528 W 3400 N                                         Pleasant Grove, UT 84062‐9036                                                     First Class Mail
Chartered Organization         Lds Manila Tenth Ward                                  Utah National Parks 591                3564 Cascade Springs Cv                               Cedar Hills, UT 84062‐8818                                                        First Class Mail
Chartered Organization         Lds Manila Third Ward                                  Utah National Parks 591                3396 N 900 W                                          Pleasant Grove, UT 84062                                                          First Class Mail
Chartered Organization         Lds Manila Twelfth Ward                                Utah National Parks 591                1232 N 1150 E                                         American Fork, UT 84003‐3528                                                      First Class Mail
Chartered Organization         Lds Manitowoc Ward                                     Bay‐Lakes Council 635                  1348 N Union Rd                                       Manitowoc, WI 54220‐9451                                                          First Class Mail
Chartered Organization         Lds Manoa Ward ‐ Honolulu Stake                        Aloha Council, Bsa 104                 1560 S Beretania St                                   Honolulu, HI 96826‐1102                                                           First Class Mail
Chartered Organization         Lds Manse Spgs Ward Blue Diamond Stake                 Las Vegas Area Council 328             3390 Peggy Ave                                        Pahrump, NV 89048‐9438                                                            First Class Mail
Chartered Organization         Lds Mansfield 3Rd Ward                                 Longhorn Council 662                   4111 Water Park Cir                                   Mansfield, TX 76063‐9111                                                          First Class Mail
Chartered Organization         Lds Manti Eighth Ward                                  Utah National Parks 591                185 W 500 S                                           Manti, UT 84642‐1632                                                              First Class Mail
Chartered Organization         Lds Manti Fifth Ward                                   Utah National Parks 591                90 S Main St                                          Manti, UT 84642                                                                   First Class Mail
Chartered Organization         Lds Manti First Ward                                   Utah National Parks 591                90 S Main St                                          Manti, UT 84642                                                                   First Class Mail
Chartered Organization         Lds Manti Fourth Ward                                  Utah National Parks 591                90 S Main St                                          Manti, UT 84642                                                                   First Class Mail
Chartered Organization         Lds Manti Ninth Ward                                   Utah National Parks 591                416 S 200 W                                           Manti, UT 84642‐1615                                                              First Class Mail
Chartered Organization         Lds Manti Second Ward                                  Utah National Parks 591                96 S Main St                                          Manti, UT 84642                                                                   First Class Mail
Chartered Organization         Lds Manti Sixth Ward                                   Utah National Parks 591                344 E 300 S                                           Manti, UT 84642‐1450                                                              First Class Mail
Chartered Organization         Lds Manti Tenth Ward                                   Utah National Parks 591                96 S Main St                                          Manti, UT 84642                                                                   First Class Mail
Chartered Organization         Lds Manti Third Ward                                   Utah National Parks 591                555 E Union                                           Manti, UT 84642                                                                   First Class Mail
Chartered Organization         Lds Many                                               Norwela Council 215                    2084 Natchitoches Hwy                                 Many, LA 71449                                                                    First Class Mail
Chartered Organization         Lds Manzanita Ward ‐ Payson Az Stk                     Grand Canyon Council 010               913 S Ponderosa St                                    Payson, AZ 85541‐5544                                                             First Class Mail
Chartered Organization         Lds Mapasaga Ward (Samoan)/Sl Hunter Stk               Great Salt Lake Council 590            3909 S Village Wood Dr                                Salt Lake City, UT 84120‐4583                                                     First Class Mail
Chartered Organization         Lds Maple Canyon Ward                                  Utah National Parks 591                760 S Woodland Hills Dr                               Woodland Hills, UT 84653‐2028                                                     First Class Mail
Chartered Organization         Lds Maple Dell Ward                                    Utah National Parks 591                711 S 600 E                                           Payson, UT 84651‐2955                                                             First Class Mail
Chartered Organization         Lds Maple Grove Ward ‐ Boise N Stk                     Ore‐Ida Council 106 ‐ Bsa 106          8620 Goddard Rd                                       Boise, ID 83704                                                                   First Class Mail
Chartered Organization         Lds Maple Highlands Ward                               Utah National Parks 591                2188 E 100 S                                          Spanish Fork, UT 84660                                                            First Class Mail
Chartered Organization         Lds Maple Hills Ward                                   Tooele Ut Valley View Stake            691 E Cedarview St                                    Tooele, UT 84074                                                                  First Class Mail
Chartered Organization         Lds Maple Meadows First Ward(Sp Fork)                  Utah National Parks 591                1911 E 1850 S                                         Spanish Fork, UT 84660                                                            First Class Mail
Chartered Organization         Lds Maple Meadows Second Ward (Sp Fork)                Utah National Parks 591                2222 E 1480 S                                         Spanish Fork, UT 84660‐6435                                                       First Class Mail
Chartered Organization         Lds Maple Park Ward                                    Utah National Parks 591                352 S Spanish Fork Pkwy                               Spanish Fork, UT 84660                                                            First Class Mail
Chartered Organization         Lds Maple Ward ‐ Hesperia Stake                        California Inland Empire Council 045   10862 Maple Ave                                       Hesperia, CA 92345‐2284                                                           First Class Mail
Chartered Organization         Lds Maples Ward                                        Utah National Parks 591                952 W 1580 S                                          Payson, UT 84651                                                                  First Class Mail
Chartered Organization         Lds Mapleton Eighteenth Ward                           Utah National Parks 591                1215 N 1000 W                                         Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Eighth Ward                               Utah National Parks 591                1215 N 1000 W                                         Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Eleventh Ward                             Utah National Parks 591                1600 N Main St                                        Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Fifteenth Ward                            Utah National Parks 591                1902 N 800 W                                          Mapleton, UT 84664‐5563                                                           First Class Mail
Chartered Organization         Lds Mapleton Fifth Ward                                Utah National Parks 591                970 N 400 E                                           Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton First Ward                                Utah National Parks 591                31 W Maple                                            Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Fourteenth Ward                           Utah National Parks 591                1316 S Main St                                        Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Fourth Ward                               Utah National Parks 591                1316 S Main St                                        Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Nineteenth Ward                           Utah National Parks 591                31 W Maple St                                         Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Ninth Ward                                Utah National Parks 591                31 W Maple                                            Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Second Ward                               Utah National Parks 591                475 N 1600 W                                          Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Seventeenth Ward                          Utah National Parks 591                1406 W 1600 S                                         Mapleton, UT 84664‐4839                                                           First Class Mail
Chartered Organization         Lds Mapleton Seventh Ward                              Utah National Parks 591                1050 N 300 W                                          Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Sixteenth Ward                            Utah National Parks 591                570 E 1600 S                                          Mapleton, UT 84664‐5205                                                           First Class Mail
Chartered Organization         Lds Mapleton Sixth Ward                                Utah National Parks 591                1600 N Main St                                        Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Tenth                                     Utah National Parks 591                1068 S 1600 W                                         Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Third Ward                                Utah National Parks 591                970 N 400 E                                           Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Thirteenth Ward                           Utah National Parks 591                970 N 400 E                                           Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Twelfth Ward                              Utah National Parks 591                885 N 1140 W                                          Mapleton, UT 84664‐3232                                                           First Class Mail
Chartered Organization         Lds Mapleton Twentieth Ward                            Utah National Parks 591                475 N 1600 W Us Hwy 89                                Mapleton, UT 84664                                                                First Class Mail
Chartered Organization         Lds Mapleton Twenty Fifth Ward                         Utah National Parks 591                618 E Perry Hollow Dr                                 Mapleton, UT 84664‐5576                                                           First Class Mail
Chartered Organization         Lds Mapleton Twenty First Ward                         Utah National Parks 591                598 N 1000 E                                          Mapleton, UT 84664‐3694                                                           First Class Mail
Chartered Organization         Lds Mapleton Twenty Fourth Ward                        Utah National Parks 591                2154 Alaska Ave                                       Provo, UT 84606‐6508                                                              First Class Mail
Chartered Organization         Lds Mapleton Twenty Second Ward                        Utah National Parks 591                1972 W 2230 S                                         Mapleton, UT 84664‐4802                                                           First Class Mail
Chartered Organization         Lds Mapleton Twenty Third Ward                         Utah National Parks 591                1467 N 700 W                                          Mapleton, UT 84664‐3528                                                           First Class Mail
Chartered Organization         Lds Mapleton Ward ‐ Menifee Stake                      California Inland Empire Council 045   29725 Bradley Rd                                      Menifee, CA 92586‐6519                                                            First Class Mail
Chartered Organization         Lds Maplewood Ward ‐ Gilbert Az                        Williams Field Stake                   18305 S Greenfield Rd                                 Gilbert, AZ 85297                                                                 First Class Mail
Chartered Organization         Lds Maplewood Ward Beaverton Stake                     Cascade Pacific Council 492            7796 Sw 66Th Ave                                      Portland, OR 97223                                                                First Class Mail
Chartered Organization         Lds Mapusaga 3Rd Ward                                  Pago Mapusaga Stake                    P.O. Box 1419                                         Pago Pago, AS 96799‐1419                                                          First Class Mail
Chartered Organization         Lds Mapusaga Fou 1St Ward                              Pago Mapusaga Stake                    Aloha Council, Bsa 104                                Mapusaga Stake                   Pago Pago Samoa, As 96799                        First Class Mail
Chartered Organization         Lds Mapusaga Fou 2Nd Ward                              Pago Mapusaga Stake                    P.O. Box 1419                                         Pago Pago, AS 96799‐1419                                                          First Class Mail
Chartered Organization         Lds Mapusaga Fou 4Th Ward                              Aloha Council, Bsa 104                 Puna Valley St                                        Pago Pago, AS 96799                                                               First Class Mail
Chartered Organization         Lds Marbella Ward ‐ Mesa Az                            Boulder Creek Stake                    8553 E Desert Ln                                      Mesa, AZ 85209‐5207                                                               First Class Mail
Chartered Organization         Lds Marble Cliff Ward Columbus                         Simon Kenton Council 441               3880 Gateway Blvd                                     Columbus, OH 43228‐9747                                                           First Class Mail
Chartered Organization         Lds Marble Falls Ward, Oak Hill Stake                  Capitol Area Council 564               920 Via Viejo St                                      Marble Falls, TX 78654‐5316                                                       First Class Mail
Chartered Organization         Lds Marblehead Ward ‐ San Clemente Stake               Orange County Council 039              310 Avenida Vista Montana                             San Clemente, CA 92672                                                            First Class Mail
Chartered Organization         Lds Marcrest 1St Ward                                  S L Hunter Central Stake               6170 W Marcrest Dr                                    West Valley City, UT 84128                                                        First Class Mail
Chartered Organization         Lds Marcrest 2Nd Ward                                  S L Hunter Central Stake               6170 W Marcrest Dr                                    Salt Lake City, UT 84128                                                          First Class Mail
Chartered Organization         Lds Maricopa Branch‐Maricopa Az Stk                    Grand Canyon Council 010               43755 W Rio Grande Dr                                 Maricopa, AZ 85138‐1780                                                           First Class Mail
Chartered Organization         Lds Marina Hills Ward                                  Laguna Niguel Stake                    22851 Aliso Creek Rd                                  Aliso Viejo, CA 92656                                                             First Class Mail
Chartered Organization         Lds Marina Ward ‐ Monterey Stake                       Silicon Valley Monterey Bay 055        1024 Noche Buena St                                   Seaside, CA 93955                                                                 First Class Mail
Chartered Organization         Lds Marina Ward ‐ Sparks West Stake                    Nevada Area Council 329                1774 Mesa Vista Dr                                    Sparks, NV 89434‐3431                                                             First Class Mail
Chartered Organization         Lds Marion Ward ‐ Muncie, In Stake                     Crossroads Of America 160              1465 E Bradford St                                    Marion, IN 46952‐3117                                                             First Class Mail
Chartered Organization         Lds Marlboro Ward Blackstone Vly Stake                 Mayflower Council 251                  260 Hemenway St                                       Marlborough, MA 01752                                                             First Class Mail
Chartered Organization         Lds Marquette Ward ‐ Green Bay Stake                   Bay‐Lakes Council 635                  350 Cherry Creek Rd                                   Marquette, MI 49855                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                Page 220 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                    Filed 01/06/22                                                         Page 236 of 457
                                                                                                                                                                   Exhibit B
                                                                                                                                                                    Service List
                                                                                                                                                             Served as set forth below

        Description                                                       Name                                                                                   Address                                                                                                                       Email              Method of Service
Chartered Organization         Lds Marsh Creek Ward ‐ Antioch Stake                     Mt Diablo‐Silverado Council 023        1875 Highland Way                                       Brentwood, CA 94513‐5832                                                                                        First Class Mail
Chartered Organization         Lds Marshall Branch ‐ Kalamazoo Stake                    Southern Shores Fsc 783                16036 N Old Us 27                                       Marshall, MI 49068                                                                                              First Class Mail
Chartered Organization         Lds Marshall Ward                                        East Texas Area Council 585            4840 Fm 31                                              Marshall, TX 75672‐6717                                                                                         First Class Mail
Chartered Organization         Lds Marshfield Ward ‐ Springfield Stake                  Ozark Trails Council 306               1105 State Hwy Cc                                       Marshfield, MO 65706‐8887                                                                                       First Class Mail
Chartered Organization         Lds Marshfield Ward ‐ Wausau Stake                       Samoset Council, Bsa 627               2207 W 5Th St                                           Marshfield, WI 54449‐3353                                                                                       First Class Mail
Chartered Organization         Lds Marsing 1St Ward ‐ Caldwell Stk                      Ore‐Ida Council 106 ‐ Bsa 106          P.O. Box 370                                            Marsing, ID 83639‐0370                                                                                          First Class Mail
Chartered Organization         Lds Marsing 2Nd Ward ‐ Caldwell Stk                      Ore‐Ida Council 106 ‐ Bsa 106          215 S 3Rd Ave W                                         Marsing, ID 83639                                                                                               First Class Mail
Chartered Organization         Lds Martinez Ward ‐ Concord Stake                        Mt Diablo‐Silverado Council 023        555 Boyd Rd                                             Pleasant Hill, CA 94523                                                                                         First Class Mail
Chartered Organization         Lds Martinez Ward Augusta Georgia Stake                  Georgia‐Carolina 093                   835 N Belair Rd                                         Evans, GA 30809                                                                                                 First Class Mail
Chartered Organization         Lds Martinsburg Ward                                     Martinsburg, Wv Stake                  Shenandoah Area Council 598                             1050 Lovelace Way                       Martinsburg Ward/Martinsburg Wv Stake   Martinsburg, Wv 25401           First Class Mail
Chartered Organization         Lds Martinsburg Ward                                     Martinsburg, Wv Stake                  Shenandoah Area Council 598                             93 Langston Blvd                        Martinsburg Wv Stake                    Martinsburg, Wv 25404           First Class Mail
Chartered Organization         Lds Martinsville Ward ‐ Bloomington                      Hoosier Trails Council 145 145         100 Church St                                           Martinsville, IN 46151‐1325                                                                                     First Class Mail
Chartered Organization         Lds Marysvale Ward                                       Utah National Parks 591                385 Bullion Ave                                         Marysvale, UT 84750                                                                                             First Class Mail
Chartered Organization         Lds Marysville 1St Ward Yuba City Stake                  Golden Empire Council 047              1869 Park Cir                                           Marysville, CA 95901‐7237                                                                                       First Class Mail
Chartered Organization         Lds Maryvale Ward ‐ Phoenix Az Stk                       Grand Canyon Council 010               3208 N 59Th Ave                                         Phoenix, AZ 85033‐5801                                                                                          First Class Mail
Chartered Organization         Lds Maryville Knoxville                                  Great Smoky Mountain Council 557       706 Amerine Rd                                          Maryville, TN 37804‐3520                                                                                        First Class Mail
Chartered Organization         Lds Mason City Ward                                      Winnebago Council, Bsa 173             1309 S Kentucky Ave                                     Mason City, IA 50401‐6117                                                                                       First Class Mail
Chartered Organization         Lds Mason City Ward ‐ Ames, Ia                           Winnebago Council, Bsa 173             1309 S Kentucky Ave                                     Mason City, IA 50401‐6117                                                                                       First Class Mail
Chartered Organization         Lds Mason Creek Ward ‐ Mer Victory Stk                   Ore‐Ida Council 106 ‐ Bsa 106          1695 E Amity Rd                                         Meridian, ID 83642                                                                                              First Class Mail
Chartered Organization         Lds Massaponax Ward Fredericksburg Stake                 National Capital Area Council 082      5600 Smith Station Rd                                   Fredericksburg, VA 22407‐9311                                                                                   First Class Mail
Chartered Organization         Lds Matanuska Ward ‐ Palmer Stake                        Great Alaska Council 610               P.O. Box 2034                                           Palmer, AK 99645‐2034                                                                                           First Class Mail
Chartered Organization         Lds Mather Ward Cordova Stake                            Golden Empire Council 047              9821 Old Placerville Rd                                 Sacramento, CA 95827                                                                                            First Class Mail
Chartered Organization         Lds Mattoon Ward Champaign Stake                         Greater St Louis Area Council 312      7426 W Country Club Rd                                  Mattoon, IL 61938                                                                                               First Class Mail
Chartered Organization         Lds May Creek Ward Renton Stake                          Chief Seattle Council 609              4200 124Th Ave Se                                       Bellevue, WA 98006                                                                                              First Class Mail
Chartered Organization         Lds May Valley Ward Bellevue South Stake                 Chief Seattle Council 609              16028 Se 148Th St                                       Renton, WA 98059‐8815                                                                                           First Class Mail
Chartered Organization         Lds Mayfield Hgts Ward Kirtland Stake                    Lake Erie Council 440                  3395 Lawton Ln                                          Pepper Pike, OH 44124‐5604                                                                                      First Class Mail
Chartered Organization         Lds Mayfield Ward                                        Utah National Parks 591                11 E 100 N                                              Mayfield, UT 84643                                                                                              First Class Mail
Chartered Organization         Lds Mays Pond Ward Lynnwood Stake                        Mount Baker Council, Bsa 606           16124 35Th Ave Se                                       Mill Creek, WA 98012‐6199                                                                                       First Class Mail
Chartered Organization         Lds Mcalester Ward ‐ Tulsa Ok East Stake                 Indian Nations Council 488             405 W Electric Ave                                      Mcalester, OK 74501‐3431                                                                                        First Class Mail
Chartered Organization         Lds Mccall 2Nd Ward ‐ Weiser Stk                         Ore‐Ida Council 106 ‐ Bsa 106          P.O. Box 2201                                           Mccall, ID 83638‐2201                                                                                           First Class Mail
Chartered Organization         Lds Mccall Ward ‐ Weiser Stk                             Ore‐Ida Council 106 ‐ Bsa 106          912 S Samson Trl                                        Mccall, ID 83638‐5138                                                                                           First Class Mail
Chartered Organization         Lds Mccammon Stake ‐ Inkom Ward                          Grand Teton Council 107                973 N Rapid Creek Rd                                    Inkom, ID 83245                                                                                                 First Class Mail
Chartered Organization         Lds Mccammon Stake ‐ Jackson Creek Wd                    Grand Teton Council 107                150 Snow Peak Blvd                                      Inkom, ID 83245                                                                                                 First Class Mail
Chartered Organization         Lds Mccammon Stake ‐ Marsh Creek Ward                    Grand Teton Council 107                804 Logan St                                            Mccammon, ID 83250                                                                                              First Class Mail
Chartered Organization         Lds Mccammon Stake ‐ Mccammon Ward                       Grand Teton Council 107                P.O. Box 51                                             Mccammon, ID 83250‐0051                                                                                         First Class Mail
Chartered Organization         Lds Mccammon Stake ‐ Mountain View Ward                  Grand Teton Council 107                403 W 16Th St                                           Mccammon, ID 83250                                                                                              First Class Mail
Chartered Organization         Lds Mccammon Stake ‐ Rapid Creek Ward                    Grand Teton Council 107                973 N Rapid Creek Rd                                    Inkom, ID 83245                                                                                                 First Class Mail
Chartered Organization         Lds Mccammon Stake ‐ Skyline Ward                        Grand Teton Council 107                P.O. Box 266                                            Inkom, ID 83245‐0266                                                                                            First Class Mail
Chartered Organization         Lds Mccullough Hills Ward                                Mccullough Hills Stake                 567 W Pacific Ave                                       Henderson, NV 89015                                                                                             First Class Mail
Chartered Organization         Lds Mccully Ward ‐ Honolulu Stake                        Aloha Council, Bsa 104                 1560 S Beretania St                                     Honolulu, HI 96826‐1102                                                                                         First Class Mail
Chartered Organization         Lds Mcdowell Mountain Ward ‐ Scottsdale Az               North Stake                            9565 E Larkspur Dr                                      Scottsdale, AZ 85260                                                                                            First Class Mail
Chartered Organization         Lds Mcdowell Ward ‐ Mesa Az                              Citrus Heights Stake                   3344 E Mcdowell Rd                                      Mesa, AZ 85213‐1701                                                                                             First Class Mail
Chartered Organization         Lds Mcfadden Ward                                        Huntington Beach N Stake               6531 Mcfadden Ave                                       Huntington Beach, CA 92647‐2900                                                                                 First Class Mail
Chartered Organization         Lds Mcgill Ward ‐ Ely Stake                              Nevada Area Council 329                10 4Th St                                               Mc Gill, NV 89318                                                                                               First Class Mail
Chartered Organization         Lds Mckay Creek Ward ‐ Walla Walla Stake                 Blue Mountain Council 604              66741 E Birch Creek Rd                                  Pilot Rock, OR 97868‐6720                                                                                       First Class Mail
Chartered Organization         Lds Mckay Lake Ward, Westminster Stake                   Denver Area Council 061                13370 Lowell Blvd                                       Broomfield, CO 80020‐5540                                                                                       First Class Mail
Chartered Organization         Lds Mckinleyville Ward ‐ Eureka Stake                    Crater Lake Council 491                3017 Sandpointe Dr                                      Mckinleyville, CA 95519‐6414                                                                                    First Class Mail
Chartered Organization         Lds Mckinleyville Ward‐ Eureka Stake                     Crater Lake Council 491                1599 Central Ave                                        Mckinleyville, CA 95519‐4304                                                                                    First Class Mail
Chartered Organization         Lds Mclean 1 Ward Mclean Stake                           National Capital Area Council 082      2034 Great Falls St                                     Falls Church, VA 22043                                                                                          First Class Mail
Chartered Organization         Lds Mclean 2 Ward Mclean Stake                           National Capital Area Council 082      1325 Scotts Run Rd                                      Mclean, VA 22102                                                                                                First Class Mail
Chartered Organization         Lds Mclean Stake Tysons Ward                             National Capital Area Council 082      2034 Great Falls St                                     Falls Church, VA 22043                                                                                          First Class Mail
Chartered Organization         Lds Mclean Stake Tysons Ward                             National Capital Area Council 082      2034 Great Falls St                                     Falls Church, VA 22043                                                                                          First Class Mail
Chartered Organization         Lds Mcloughlin Ward Vancouver Stake                      Cascade Pacific Council 492            10509 Se 5Th St                                         Vancouver, WA 98664‐4617                                                                                        First Class Mail
Chartered Organization         Lds Mcmillan Ward ‐ Settlers Park Stk                    Ore‐Ida Council 106 ‐ Bsa 106          Mcmillan & Ustick Rd                                    Meridian, ID 83646                                                                                              First Class Mail
Chartered Organization         Lds Mcminnville 1st Ward                                 Mcminnville Stake                      1645 Nw Baker Creek Rd                                  Mcminnville, OR 97128‐9135                                                                                      First Class Mail
Chartered Organization         Lds Mcminnville Second Ward                              Mcminnville Stake                      1645 Nw Baker Creek Rd                                  Mcminnville, OR 97128‐9135                                                                                      First Class Mail
Chartered Organization         Lds Mcneil Ward Round Rock, Tx Stake                     Capitol Area Council 564               8140 Racine Trl                                         Austin, TX 78717‐4916                                                                                           First Class Mail
Chartered Organization         Lds Mcqueen 1St Ward ‐ Chandler Az Stk                   Grand Canyon Council 010               17817 S Mcqueen Rd                                      Chandler, AZ 85286‐1020                                                                                         First Class Mail
Chartered Organization         Lds Mcqueen 2Nd Ward ‐ Chandler Az Stk                   Grand Canyon Council 010               17817 S Mcqueen Rd                                      Chandler, AZ 85286‐1020                                                                                         First Class Mail
Chartered Organization         Lds Mcqueen Ward ‐ Gilbert Az Stapley Stk                Grand Canyon Council 010               1451 W Guadalupe Rd                                     Gilbert, AZ 85233                                                                                               First Class Mail
Chartered Organization         Lds Mdwbrk 3Rd (Spanish) Brch                            Tville Ut N Stake                      1250 W Atherton Dr                                      Taylorsville, UT 84123                                                                                          First Class Mail
Chartered Organization         Lds Meadow Creek Ward                                    Roy Midland Stake                      3649 W 4800 S                                           Roy, UT 84067                                                                                                   First Class Mail
Chartered Organization         Lds Meadow Creek Ward ‐ Chugach Stake                    Great Alaska Council 610               Meadow Creek Ward                                                                         10012 Eagle River, AK 99577                                                   First Class Mail
Chartered Organization         Lds Meadow Grass Ward ‐ Mer Stk                          Ore‐Ida Council 106 ‐ Bsa 106          3775 E Ustick Rd                                        Meridian, ID 83646                                                                                              First Class Mail
Chartered Organization         Lds Meadow Green Ward                                    Layton Legacy Stake                    752 N 3700 W                                            Layton, UT 84041                                                                                                First Class Mail
Chartered Organization         Lds Meadow Ranch First Ward                              Utah National Parks 591                2814 E Autumn Dr                                        Eagle Mountain, UT 84005‐3196                                                                                   First Class Mail
Chartered Organization         Lds Meadow Ranch Second Ward                             Utah National Parks 591                2274 E Hawk Ln                                          Eagle Mountain, UT 84005‐3135                                                                                   First Class Mail
Chartered Organization         Lds Meadow Ranch Ward                                    Utah National Parks 591                1650 W Center St                                        Cedar City, UT 84720                                                                                            First Class Mail
Chartered Organization         Lds Meadow Rose Ward                                     Herriman Ut Mtn View Stake             4912 W Chilly Peak Dr                                   Riverton, UT 84096‐1755                                                                                         First Class Mail
Chartered Organization         Lds Meadow Run Ward ‐ North Stake                        Pikes Peak Council 060                 6950 Shoup Rd                                           Colorado Springs, CO 80908                                                                                      First Class Mail
Chartered Organization         Lds Meadow Springs Ward Kennewick Stake                  Blue Mountain Council 604              724 N Pittsburg St                                      Kennewick, WA 99336‐1072                                                                                        First Class Mail
Chartered Organization         Lds Meadow Valley Ward ‐ Elko East Stake                 Nevada Area Council 329                1651 College Pkwy                                       Elko, NV 89801‐5034                                                                                             First Class Mail
Chartered Organization         Lds Meadow Valley Ward (Little Valley)                   Utah National Parks 591                2470 E Portofino Cir                                    St George, UT 84790‐7482                                                                                        First Class Mail
Chartered Organization         Lds Meadow View 1St Ward ‐ Gilbert Az                    Gateway Stake                          2958 S Recker                                           Gilbert, AZ 85297                                                                                               First Class Mail
Chartered Organization         Lds Meadow View 2Nd Ward ‐ Gilbert Az                    Gateway Stake                          3544 S Atherton Blvd                                    Gilbert, AZ 85297                                                                                               First Class Mail
Chartered Organization         Lds Meadow View Ward                                     Farmington Ut W Stake                  336 Wrangler Rd                                         Farmington, UT 84025‐2608                                                                                       First Class Mail
Chartered Organization         Lds Meadow View Ward ‐ Temecula Stake                    California Inland Empire Council 045   41861 Deepwood Cir                                      Temecula, CA 92591‐1867                                                                                         First Class Mail
Chartered Organization         Lds Meadow Ward                                          Utah National Parks 591                P.O. Box 130                                            Meadow, UT 84644‐0130                                                                                           First Class Mail
Chartered Organization         Lds Meadow Ward/S L Riverside Stake                      Great Salt Lake Council 590            1955 W 400 N                                            Salt Lake City, UT 84116                                                                                        First Class Mail
Chartered Organization         Lds Meadowbrook 2Nd Ward                                 Tville Ut N Stake                      1250 W Atherton Dr                                      Taylorsville, UT 84123                                                                                          First Class Mail
Chartered Organization         Lds Meadowbrook Ward/Yakima Stake                        Grand Columbia Council 614             1522 S 68Th Ave                                         Yakima, WA 98908‐5600                                                                                           First Class Mail
Chartered Organization         Lds Meadowdale Ward Lynnwood Stake                       Mount Baker Council, Bsa 606           17321 44Th Ave W                                        Lynnwood, WA 98037‐7403                                                                                         First Class Mail
Chartered Organization         Lds Meadowgreen Ward ‐ Mesa Az Kimball Stk               Grand Canyon Council 010               825 S 32Nd St                                           Mesa, AZ 85204                                                                                                  First Class Mail
Chartered Organization         Lds Meadowland Ward/W J Ut East Stk                      Great Salt Lake Council 590            6695 S 2200 W                                           West Jordan, UT 84084‐2201                                                                                      First Class Mail
Chartered Organization         Lds Meadowlark First Ward                                Utah National Parks 591                1150 E 1240 S                                           Spanish Fork, UT 84660                                                                                          First Class Mail
Chartered Organization         Lds Meadowlark Second Ward                               Utah National Parks 591                1661 S 1400 E                                           Spanish Fork, UT 84660                                                                                          First Class Mail
Chartered Organization         Lds Meadowlark Ward/Sandy Ut Granite Stk                 Great Salt Lake Council 590            2180 E Meadow Lark Way                                  Sandy, UT 84093                                                                                                 First Class Mail
Chartered Organization         Lds Meadowood Ward                                       Utah National Parks 591                303 W 3700 N                                            Provo, UT 84604                                                                                                 First Class Mail
Chartered Organization         Lds Meadowood Ward, Aurora South Stake                   Denver Area Council 061                3101 S Flanders St                                      Aurora, CO 80013                                                                                                First Class Mail
Chartered Organization         Lds Meadows 1St Ward                                     Draper Ut Meadows Stake                13085 S 300 E                                           Draper, UT 84020                                                                                                First Class Mail
Chartered Organization         Lds Meadows 2Nd Ward                                     Draper Ut Meadows Stake                13006 S Boulter St                                      Draper, UT 84020                                                                                                First Class Mail
Chartered Organization         Lds Meadows 3Rd Ward                                     Draper Ut Meadows Stake                420 E Stokes Ave                                        Draper, UT 84020                                                                                                First Class Mail
Chartered Organization         Lds Meadows 4Th Ward                                     Draper Ut Meadows Stake                13112 S 700 E                                           Draper, UT 84020                                                                                                First Class Mail
Chartered Organization         Lds Meadows 5Th Ward                                     Draper Ut Meadows Stake                420 E Stokes Ave                                        Draper, UT 84020                                                                                                First Class Mail
Chartered Organization         Lds Meadows 6Th Ward                                     Draper Ut Meadows Stake                420 E 13540 S                                           Draper, UT 84020                                                                                                First Class Mail
Chartered Organization         Lds Meadows 7Th Ward                                     Draper Ut Meadows Stake                573 E 13800 S                                           Draper, UT 84020                                                                                                First Class Mail
Chartered Organization         Lds Meadows Ward                                         Farmington Ut W Stake                  549 S 1524 W                                            Farmington, UT 84025                                                                                            First Class Mail
Chartered Organization         Lds Meadows Ward                                         Kaysville Central Stake                555 N 100 E                                             Kaysville, UT 84037                                                                                             First Class Mail
Chartered Organization         Lds Meadows Ward ‐ Gilbert Az                            Superstition Springs Stake             7145 E Monterey Ave                                     Mesa, AZ 85209                                                                                                  First Class Mail
Chartered Organization         Lds Meadows Ward ‐ Hermiston Stake                       Blue Mountain Council 604              850 Sw 11Th St                                          Hermiston, OR 97838                                                                                             First Class Mail
Chartered Organization         Lds Meadows Ward ‐ St Johns Az Stk                       Grand Canyon Council 010               2000 W Cleveland St                                     St Johns, AZ 85936‐4537                                                                                         First Class Mail
Chartered Organization         Lds Meadows Ward Vancouver North Stake                   Cascade Pacific Council 492            14219 Neast 49Th St                                     Vancouver, WA 98682                                                                                             First Class Mail
Chartered Organization         Lds Meadows Ward, Bakersfield Stake                      Southern Sierra Council 030            2828 Mccray St                                          Bakersfield, CA 93308‐1700                                                                                      First Class Mail
Chartered Organization         Lds Meadows Ward, Castle Rock Stake                      Denver Area Council 061                3301 Meadows Blvd                                       Castle Rock, CO 80109                                                                                           First Class Mail
Chartered Organization         Lds Meadows Ward/Murray Ut South Stk                     Great Salt Lake Council 590            5735 S Fashion Blvd                                     Salt Lake City, UT 84107                                                                                        First Class Mail
Chartered Organization         Lds Meadows Ward/Rvrtn Ut North Stk                      Great Salt Lake Council 590            12391 S Dansie Way                                      Riverton, UT 84065‐4015                                                                                         First Class Mail
Chartered Organization         Lds Medford 1St Ward ‐ Medford Stake                     Crater Lake Council 491                2900 Juanipero Way                                      Medford, OR 97504‐8423                                                                                          First Class Mail
Chartered Organization         Lds Medford 2Nd Ward ‐ Medford Stake                     Crater Lake Council 491                2141 Brookhurst St                                      Medford, OR 97504                                                                                               First Class Mail
Chartered Organization         Lds Medford 3Rd Ward                                     Central Point Stake                    6040 Foothill Rd                                        Central Point, OR 97502‐9418                                                                                    First Class Mail
Chartered Organization         Lds Medford 4Th Ward                                     Central Point Stake                    2475 Griffin Creek Rd                                   Medford, OR 97501‐4217                                                                                          First Class Mail
Chartered Organization         Lds Medford 6Th Ward ‐ Medford Stake                     Crater Lake Council 491                2900 Juanipero Way                                      Medford, OR 97504‐8423                                                                                          First Class Mail
Chartered Organization         Lds Medford 8Th Ward ‐ Medford Stake                     Crater Lake Council 491                2900 Juanipero Way                                      Medford, OR 97504‐8423                                                                                          First Class Mail
Chartered Organization         Lds Medford Ward/Cherry Hill Nj Stake                    Garden State Council 690               609 Tabernacle Rd                                       Medford, NJ 08055‐9717                                                                                          First Class Mail
Chartered Organization         Lds Medina Ward ‐ Akron Stake                            Great Trail 433                        4411 Windfall Rd                                        Medina, OH 44256‐6491                                                                                           First Class Mail
Chartered Organization         Lds Meeker Ward/Craig Stake                              Denver Area Council 061                P.O. Box 1214                                           Meeker, CO 81641‐1214                                                                                           First Class Mail
Chartered Organization         Lds Meeteetse Ward, Cody Stake                           Greater Wyoming Council 638            P.O. Box 207                                            Meeteetse, WY 82433‐0207                                                                                        First Class Mail
Chartered Organization         Lds Meeteetse Ward,Cody Stake                            Greater Wyoming Council 638            P.O. Box 207                                            Meeteetse, WY 82433‐0207                                                                                        First Class Mail
Chartered Organization         Lds Melanie Acres Ward                                   Clearfield South Stake                 2186 S 125 W                                            Clearfield, UT 84015                                                                                            First Class Mail
Chartered Organization         Lds Melba 1St Ward ‐ Kuna Stk                            Ore‐Ida Council 106 ‐ Bsa 106          112 Randolph St                                         Melba, ID 83641                                                                                                 First Class Mail
Chartered Organization         Lds Melba 2Nd Ward ‐ Kuna Stk                            Ore‐Ida Council 106 ‐ Bsa 106          112 Randolph St                                         Melba, ID 83641                                                                                                 First Class Mail
Chartered Organization         Lds Melba 3Rd Ward ‐ Kuna Stk                            Ore‐Ida Council 106 ‐ Bsa 106          112 Randolph St                                         Melba, ID 83641                                                                                                 First Class Mail
Chartered Organization         Lds Melbourne Cocoa                                      Central Florida Council 083            1145 Creel St                                           Melbourne, FL 32935‐5922                                                                                        First Class Mail
Chartered Organization         Lds Melbourne Ward                                       Houston N Stake                        65 Melbourne St                                         Houston, TX 77022                                                                                               First Class Mail
Chartered Organization         Lds Melissa Br‐Colorado Spgs Stake                       Pikes Peak Council 060                 2750 Melissa Dr                                         Colorado Springs, CO 80907‐6454                                                                                 First Class Mail
Chartered Organization         Lds Melody Lane Ward                                     Grand Junction Stake                   543 Melody Ln                                           Grand Junction, CO 81501‐7139                                                                                   First Class Mail
Chartered Organization         Lds Melton Lake Cumberland                               Great Smoky Mountain Council 557       140 Jefferson Cir                                       Oak Ridge, TN 37830‐4817                                                                                        First Class Mail
Chartered Organization         Lds Memorial Hill Ward                                   Utah National Parks 591                129 S 580 E                                             Midway, UT 84049‐6742                                                                                           First Class Mail
Chartered Organization         Lds Memorial Park 1St Ward                               Houston S Stake                        1101 Bering Dr                                          Houston, TX 77057‐2301                                                                                          First Class Mail
Chartered Organization         Lds Memorial Park 2Nd Ward                               Houston S Stake                        1101 Bering Dr                                          Houston, TX 77057‐2301                                                                                          First Class Mail
Chartered Organization         Lds Memorial Park Ward                                   South Ogden Stake                      3755 Porter Ave                                         Ogden, UT 84403                                                                                                 First Class Mail
Chartered Organization         Lds Memorial Springs Ward                                Tomball Stake                          9525 Spring Cypress Rd                                  Spring, TX 77379‐3020                                                                                           First Class Mail
Chartered Organization         Lds Memorial Ward/S L Granger South Stk                  Great Salt Lake Council 590            4207 S Charles Dr                                       West Valley City, UT 84120‐5003                                                                                 First Class Mail
Chartered Organization         Lds Memphis 2Nd Ward ‐ Memphis Stake                     Chickasaw Council 558                  4520 Winchester Rd                                      Memphis, TN 38118‐5151                                                                                          First Class Mail
Chartered Organization         Lds Memphis Tn Stake‐Oxford Ward                         Yocona Area Council 748                3501 S Lamar Blvd                                       Oxford, MS 38655                                                                                                First Class Mail
Chartered Organization         Lds Menan Stake ‐ Annis Ward                             Grand Teton Council 107                690 N 3862 E                                            Rigby, ID 83442‐5053                                                                                            First Class Mail
Chartered Organization         Lds Menan Stake ‐ Grant 1St Ward                         Grand Teton Council 107                3431 E 100 N                                            Rigby, ID 83442‐5605                                                                                            First Class Mail
Chartered Organization         Lds Menan Stake ‐ Grant 2Nd Ward                         Grand Teton Council 107                88 N 3250 E                                             Rigby, ID 83442‐5627                                                                                            First Class Mail
Chartered Organization         Lds Menan Stake ‐ Lewisville 1St Ward                    Grand Teton Council 107                P.O. Box 96                                             Lewisville, ID 83431‐0096                                                                                       First Class Mail
Chartered Organization         Lds Menan Stake ‐ Lewisville 2Nd Ward                    Grand Teton Council 107                445 N 3600 E                                            Lewisville, ID 83431‐5039                                                                                       First Class Mail
Chartered Organization         Lds Menan Stake ‐ Menan 1St Ward                         Grand Teton Council 107                P.O. Box 220                                            Menan, ID 83434‐0220                                                                                            First Class Mail
Chartered Organization         Lds Menan Stake ‐ Menan 2Nd Ward                         Grand Teton Council 107                P.O. Box 190                                            Menan, ID 83434‐0190                                                                                            First Class Mail
Chartered Organization         Lds Menan Stake ‐ Menan 3Rd Ward                         Grand Teton Council 107                1161 E Butte Rd                                         Menan, ID 83434‐5123                                                                                            First Class Mail
Chartered Organization         Lds Mendon 2Nd Ward/Mendon Stake                         Trapper Trails 589                     460 S 100 E                                             Mendon, UT 84325                                                                                                First Class Mail
Chartered Organization         Lds Menifee Lakes‐Menifee Stake                          California Inland Empire Council 045   29725 Bradley Rd                                        Sun City, CA 92586‐6519                                                                                         First Class Mail
Chartered Organization         Lds Menlo Park Ward ‐ Mesa Az                            Hermosa Vista Stake                    2618 N Lindsay Rd                                       Mesa, AZ 85213‐1506                                                                                             First Class Mail
Chartered Organization         Lds Menlo Park Ward, Menlo Park Stake                    Pacific Skyline Council 031            1105 Valparaiso Ave                                     Menlo Park, CA 94025‐4412                                                                                       First Class Mail
Chartered Organization         Lds Merced 1St Ward Merced Stake                         Greater Yosemite Council 059           2976 Mckee Rd                                           Merced, CA 95340                                                                                                First Class Mail
Chartered Organization         Lds Merced 1St Ward Merced Stake                         Greater Yosemite Council 059           2976 Mckee Rd                                           Merced, CA 95340                                                                                                First Class Mail
Chartered Organization         Lds Merced 3Rd Ward Merced Stake                         Greater Yosemite Council 059           1080 E Yosemite Ave                                     Merced, CA 95340                                                                                                First Class Mail
Chartered Organization         Lds Mercey Springs Ward Merced Stake                     Greater Yosemite Council 059           1826 S Center Ave                                       Los Banos, CA 93635                                                                                             First Class Mail
Chartered Organization         Lds Meridian 11Th Ward ‐ Boise Amity Stk                 Ore‐Ida Council 106 ‐ Bsa 106          5645 S Maple Grove Rd                                   Boise, ID 83709                                                                                                 First Class Mail
Chartered Organization         Lds Meridian 12Th Ward ‐ Mer W Stk                       Ore‐Ida Council 106 ‐ Bsa 106          1560 N 10 Mile Rd                                       Meridian, ID 83642                                                                                              First Class Mail
Chartered Organization         Lds Meridian 14Th Ward ‐ Boise Amity Stk                 Ore‐Ida Council 106 ‐ Bsa 106          12040 W Amity Rd                                        Boise, ID 83709                                                                                                 First Class Mail
Chartered Organization         Lds Meridian 16Th Ward ‐ Mer S Stk                       Ore‐Ida Council 106 ‐ Bsa 106          6575 S Eagle Rd                                         Meridian, ID 83642                                                                                              First Class Mail
Chartered Organization         Lds Meridian 19Th Ward ‐ Mer E Stk                       Ore‐Ida Council 106 ‐ Bsa 106          9846 W Secretariat Ct                                   Boise, ID 83704‐1213                                                                                            First Class Mail
Chartered Organization         Lds Meridian 1St Ward ‐ Mer W Stk                        Ore‐Ida Council 106 ‐ Bsa 106          1615 Nw 2Nd St                                          Meridian, ID 83642                                                                                              First Class Mail
Chartered Organization         Lds Meridian 2Nd Ward ‐ Mer Stk                          Ore‐Ida Council 106 ‐ Bsa 106          3451 N Locust Grove Rd                                  Meridian, ID 83646                                                                                              First Class Mail
Chartered Organization         Lds Meridian 3Rd Ward ‐ Mer Stk                          Ore‐Ida Council 106 ‐ Bsa 106          2484 N Hickory Way                                      Meridian, ID 83646‐8075                                                                                         First Class Mail
Chartered Organization         Lds Meridian 4Th Ward ‐ Mer S Stk                        Ore‐Ida Council 106 ‐ Bsa 106          6575 S Eagle Rd                                         Meridian, ID 83642                                                                                              First Class Mail
Chartered Organization         Lds Meridian 5Th Ward ‐ Mer Victory Stk                  Ore‐Ida Council 106 ‐ Bsa 106          2480 W Victory Rd                                       Meridian, ID 83642‐6830                                                                                         First Class Mail
Chartered Organization         Lds Meridian Greens Ward ‐ Mer Victory Stk               Ore‐Ida Council 106 ‐ Bsa 106          1920 S Locust Grove Rd                                  Meridian, ID 83642                                                                                              First Class Mail
Chartered Organization         Lds Meridian Park Ward Tualatin Stake                    Cascade Pacific Council 492            9820 Sw Choctaw St                                      Tualatin, OR 97062‐9044                                                                                         First Class Mail
Chartered Organization         Lds Meridian Pointe Ward ‐ Mesa Az                       Desert Ridge Stake                     2647 S Signal Butte Rd                                  Mesa, AZ 85209‐2100                                                                                             First Class Mail
Chartered Organization         Lds Meridian Ward ‐ High Plains Stake                    Pikes Peak Council 060                 13210 Bandanero Dr                                      Falcon, CO 80831‐3801                                                                                           First Class Mail
Chartered Organization         Lds Meridian Ward ‐ Lansing Stake                        Water And Woods Council 782            5301 Holt Rd                                            Holt, MI 48842‐8646                                                                                             First Class Mail
Chartered Organization         Lds Meridian Ward ‐ Peralta Trail Az Stk                 Grand Canyon Council 010               1720 S Ironwood Dr                                      Apache Junction, AZ 85120                                                                                       First Class Mail
Chartered Organization         Lds Meridian Ward ‐ Qc Az North Stk                      Grand Canyon Council 010               22692 E Munoz St                                        Queen Creek, AZ 85142‐9082                                                                                      First Class Mail
Chartered Organization         Lds Merlin Ward ‐ Grants Pass Stake                      Crater Lake Council 491                339 Jumpoff Joe Creek Rd                                Grants Pass, OR 97526‐9716                                                                                      First Class Mail
Chartered Organization         Lds Merrill Creek Ward ‐ Peralta Trail Az                Stake                                  1720 S Ironwood Dr                                      Apache Junction, AZ 85120                                                                                       First Class Mail
Chartered Organization         Lds Merrilltown Ward, Austin Stake                       Capitol Area Council 564               700 N Heatherwilde Blvd                                 Pflugerville, TX 78660‐5811                                                                                     First Class Mail
Chartered Organization         Lds Merrimack Ward Nashua Stake                          Daniel Webster Council, Bsa 330        110 Concord St                                          Nashua, NH 03064‐1704                                                                                           First Class Mail
Chartered Organization         Lds Mesa 12Th Ward ‐ Mesa Az East Stk                    Grand Canyon Council 010               2152 E Adobe St                                         Mesa, AZ 85213                                                                                                  First Class Mail
Chartered Organization         Lds Mesa 18Th Ward ‐ Mesa Az East Stk                    Grand Canyon Council 010               2228 E Brown Rd                                         Mesa, AZ 85213                                                                                                  First Class Mail
Chartered Organization         Lds Mesa 20Th Ward ‐ Mesa Az                             Maricopa N Stake                       848 N Westwood                                          Mesa, AZ 85201‐3936                                                                                             First Class Mail
Chartered Organization         Lds Mesa 25Th Ward ‐ Mesa Az                             Maricopa N Stake                       848 N Westwood                                          Mesa, AZ 85201‐3936                                                                                             First Class Mail
Chartered Organization         Lds Mesa 30Th Ward ‐ Mesa Az East Stk                    Grand Canyon Council 010               2228 E Brown Rd                                         Mesa, AZ 85213                                                                                                  First Class Mail
Chartered Organization         Lds Mesa 34Th Ward ‐ Mesa Az East Stk                    Grand Canyon Council 010               2152 E Adobe St                                         Mesa, AZ 85213                                                                                                  First Class Mail
Chartered Organization         Lds Mesa 46Th Ward ‐ Mesa Az East Stk                    Grand Canyon Council 010               1911 N 24Th St                                          Mesa, AZ 85213‐2902                                                                                             First Class Mail
Chartered Organization         Lds Mesa 5Th Ward ‐ Mesa Az                              Maricopa N Stake                       1716 N Date                                             Mesa, AZ 85201                                                                                                  First Class Mail
Chartered Organization         Lds Mesa 60Th Ward ‐ Mesa Az East Stk                    Grand Canyon Council 010               2152 E Adobe St                                         Mesa, AZ 85213                                                                                                  First Class Mail
Chartered Organization         Lds Mesa 61St Ward ‐ Mesa Az East Stk                    Grand Canyon Council 010               2228 E Brown Rd                                         Mesa, AZ 85213                                                                                                  First Class Mail
Chartered Organization         Lds Mesa 76Th Ward ‐ Mesa Az East Stk                    Grand Canyon Council 010               1911 N 24Th St                                          Mesa, AZ 85213‐2902                                                                                             First Class Mail
Chartered Organization         Lds Mesa Del Sol Ward ‐ Yuma Az Stk                      Grand Canyon Council 010               8451 E 36Th St                                          Yuma, AZ 85365                                                                                                  First Class Mail
Chartered Organization         Lds Mesa Grande Branch‐Mesa Az                           Maricopa N Stake                       848 N Westwood                                          Mesa, AZ 85201‐3936                                                                                             First Class Mail
Chartered Organization         Lds Mesa Hills Ward (Cc)                                 Utah National Parks 591                1925 W 320 S                                            Cedar City, UT 84720‐2887                                                                                       First Class Mail
Chartered Organization         Lds Mesa Linda Ward ‐ Victorville Stake                  California Inland Empire Council 045   12860 Amethyst Rd                                       Victorville, CA 92392                                                                                           First Class Mail
Chartered Organization         Lds Mesa Oaks Ward, Santa Barbara Stake                  Los Padres Council 053                 212 E Central Ave                                       Lompoc, CA 93436‐2804                                                                                           First Class Mail
Chartered Organization         Lds Mesa Park Ward                                       Sandy Ut Alta View Stake               8909 S 1700 E                                           Sandy, UT 84093                                                                                                 First Class Mail
Chartered Organization         Lds Mesa Ridge Ward ‐ Fountain Stake                     Pikes Peak Council 060                 325 Putnam Dr                                           Colorado Springs, CO 80911‐3574                                                                                 First Class Mail
Chartered Organization         Lds Mesa Vista Ward                                      Los Padres Council 053                 478 Cambridge Dr                                        Goleta, CA 93117‐2142                                                                                           First Class Mail
Chartered Organization         Lds Mesa Vista Ward ‐ Mesa Az Lehi Stk                   Grand Canyon Council 010               1430 N Grand                                            Mesa, AZ 85201‐2613                                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                    Page 221 of 442
                                                                                Case 20-10343-LSS                                  Doc 8171                                          Filed 01/06/22                                                      Page 237 of 457
                                                                                                                                                                        Exhibit B
                                                                                                                                                                         Service List
                                                                                                                                                                  Served as set forth below

        Description                                                      Name                                                                                         Address                                                                                              Email              Method of Service
Chartered Organization         Lds Mesa Ward ‐ Mesa Az Maricopa North Stk              Grand Canyon Council 010               848 N Westwood                                                Mesa, AZ 85201‐3936                                                                    First Class Mail
Chartered Organization         Lds Mesa Ward, Pueblo Stake                             Rocky Mountain Council 063             4720 Surfwood Ln                                              Pueblo, CO 81005‐2667                                                                  First Class Mail
Chartered Organization         Lds Mesepa 1St Ward ‐ Pago Central Stake                Aloha Council, Bsa 104                 P.O. Box 1419                                                 Pago Pago, AS 96799‐1419                                                               First Class Mail
Chartered Organization         Lds Mesepa 3Rd Ward ‐ Pago Central Stake                Aloha Council, Bsa 104                 P.O. Box 4390                                                 Pago Pago, AS 96799‐4390                                                               First Class Mail
Chartered Organization         Lds Mesquite 1St Ward Mesquite Stake                    Utah National Parks 591                P.O. Box 121                                                  Mesquite, NV 89024‐0121                                                                First Class Mail
Chartered Organization         Lds Mesquite 2Nd Ward Mesquite Stake                    Utah National Parks 591                474 Bulldog Dr                                                Mesquite, NV 89027‐3103                                                                First Class Mail
Chartered Organization         Lds Mesquite 3Rd Ward Mesquite Stake                    Utah National Parks 591                386 Hafen Ln                                                  Mesquite, NV 89027‐6276                                                                First Class Mail
Chartered Organization         Lds Mesquite 4Th Ward Mesquite Stake                    Utah National Parks 591                180 Grayce Dr                                                 Mesquite, NV 89027‐4148                                                                First Class Mail
Chartered Organization         Lds Mesquite 5Th Ward Mesquite Stake                    Utah National Parks 591                937 Vista Del Sol Ct                                          Mesquite, NV 89027‐2541                                                                First Class Mail
Chartered Organization         Lds Mesquite 7Th Ward Mesquite Stake                    Utah National Parks 591                100 N Arrowhead Ln                                            Mesquite, NV 89027                                                                     First Class Mail
Chartered Organization         Lds Mesquite Canyon Ward ‐ Mesa Az                      Eastmark Stake                         9710 E Plana Ave                                              Mesa, AZ 85212‐2042                                                                    First Class Mail
Chartered Organization         Lds Mesquite Ward ‐ Gilbert Az Stk                      Grand Canyon Council 010               777 W Elliot Rd                                               Gilbert, AZ 85233                                                                      First Class Mail
Chartered Organization         Lds Mesquite Ward ‐ Mesa Az Alma Stk                    Grand Canyon Council 010               2252 W Mesquite St                                            Chandler, AZ 85224‐1701                                                                First Class Mail
Chartered Organization         Lds Messina Meadows Ward ‐ Mer S Stk                    Ore‐Ida Council 106 ‐ Bsa 106          6575 S Eagle Rd                                               Meridian, ID 83642                                                                     First Class Mail
Chartered Organization         Lds Methuen Ward                                        The Spirit Of Adventure 227            39 Hill St                                                    Methuen, MA 01844                                                                      First Class Mail
Chartered Organization         Lds Mexico Ward ‐ Columbia Stake                        Great Rivers Council 653               635 Ringo St                                                  Mexico, MO 65265‐1279                                                                  First Class Mail
Chartered Organization         Lds Mezona Ward ‐ Mesa Az Maricopa Stk                  Grand Canyon Council 010               1054 W 2Nd Pl                                                 Mesa, AZ 85201‐6307                                                                    First Class Mail
Chartered Organization         Lds Miami Beach 2Nd Ward                                South Florida Council 084              6950 Indian Cir Dr                                            Miami Beach, FL 33141                                                                  First Class Mail
Chartered Organization         Lds Miami Beach Ward                                    South Florida Council 084              6950 Indian Creek Dr                                          Miami Beach, FL 33141‐3113                                                             First Class Mail
Chartered Organization         Lds Miami Lakes Ward                                    South Florida Council 084              8201 Nw 186Th St                                              Hialeah, FL 33015‐2651                                                                 First Class Mail
Chartered Organization         Lds Miami Shores Ward                                   South Florida Council 084              2601 Ne 163Rd St                                              Miami, FL 33160‐4045                                                                   First Class Mail
Chartered Organization         Lds Miami Ward ‐ Globe Az Stk                           Grand Canyon Council 010               4247 E Broadway                                               Claypool, AZ 85532‐9996                                                                First Class Mail
Chartered Organization         Lds Midas Creek 1St Ward                                S J Ut Cntry Xing Stake                11173 Copper Peak Way                                         South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Midas Creek 2Nd Ward                                Sj Ut Midas Creek Stake                2812 W 11800 S                                                South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Midas Creek 3Rd Ward                                Sj Ut Cntry Xing Stake                 3364 W 11400 S                                                South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Midas Creek 4Th Ward                                Sj Ut Cntry Xing Stake                 2812 W 11800 S                                                South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Midas Creek 5Th Ward                                S J Ut Cntry Xing Stake                10775 S 3200 W                                                South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Midas Creek 6Th Ward                                S J Ut Cntry Xing Stake                10860 S 3200 W                                                South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Midas Creek 7Th Ward                                Sj Ut Midas Creek Stake                10860 S 3200 W                                                South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Midbury Br                                          Montpelier Vermont Stake               133 Valley Vw                                                 Middlebury, VT 05753‐1490                                                              First Class Mail
Chartered Organization         Lds Middle Canyon Ward/Tooele Ut Stk                    Great Salt Lake Council 590            777 Skyline Dr                                                Tooele, UT 84074                                                                       First Class Mail
Chartered Organization         Lds Middleton 10Th Ward                                 Middleton Stake                        23644 Old Hwy 30                                              Caldwell, ID 83605                                                                     First Class Mail
Chartered Organization         Lds Middleton 11Th Ward                                 Middleton Stake                        309 W Main St                                                 Middleton, ID 83644                                                                    First Class Mail
Chartered Organization         Lds Middleton 13Th Ward ‐ Middleton Stk                 Ore‐Ida Council 106 ‐ Bsa 106          24032 Wanda Way                                               Middleton, ID 83644‐5244                                                               First Class Mail
Chartered Organization         Lds Middleton 1St Ward ‐ Middleton Stk                  Ore‐Ida Council 106 ‐ Bsa 106          23644 Old Hwy 30                                              Caldwell, ID 83607                                                                     First Class Mail
Chartered Organization         Lds Middleton 2Nd Ward ‐ Middleton Stk                  Ore‐Ida Council 106 ‐ Bsa 106          2250 Lansing Ln                                               Middleton, ID 83644                                                                    First Class Mail
Chartered Organization         Lds Middleton 3Rd Ward ‐ Middleton Stk                  Ore‐Ida Council 106 ‐ Bsa 106          23644 Old Hwy 30                                              Caldwell, ID 83607                                                                     First Class Mail
Chartered Organization         Lds Middleton 4Th Ward ‐ Middleton Stk                  Ore‐Ida Council 106 ‐ Bsa 106          22500 Lansing Ln                                              Middleton, ID 83644                                                                    First Class Mail
Chartered Organization         Lds Middleton 5Th Ward ‐ Middleton Stk                  Ore‐Ida Council 106 ‐ Bsa 106          1749 Willis Rd                                                Middleton, ID 83644‐5422                                                               First Class Mail
Chartered Organization         Lds Middleton 6Th Ward ‐ Middleton Stk                  Ore‐Ida Council 106 ‐ Bsa 106          23644 Old Hwy 30                                              Caldwell, ID 83607                                                                     First Class Mail
Chartered Organization         Lds Middleton 7Th Ward ‐ Middleton Stk                  Ore‐Ida Council 106 ‐ Bsa 106          309 W Main                                                    Middleton, ID 83644                                                                    First Class Mail
Chartered Organization         Lds Middleton 8Th Ward ‐ Middleton Stk                  Ore‐Ida Council 106 ‐ Bsa 106          9708 Golden Willow St                                         Middleton, ID 83644‐5288                                                               First Class Mail
Chartered Organization         Lds Middleton 9Th Ward ‐ Middleton Stk                  Ore‐Ida Council 106 ‐ Bsa 106          615 Valley St                                                 Middleton, ID 83644‐5458                                                               First Class Mail
Chartered Organization         Lds Middleton Ward                                      Utah National Parks 591                1634 E 800 N                                                  St George, UT 84770‐8614                                                               First Class Mail
Chartered Organization         Lds Middletown Ward                                     Redwood Empire Council 041             14970 Lakeview Way                                            Clearlake, CA 95422                                                                    First Class Mail
Chartered Organization         Lds Middletown Ward Dayton Stake                        Miami Valley Council, Bsa 444          4930 Central Ave                                              Middletown, OH 45044‐5425                                                              First Class Mail
Chartered Organization         Lds Midland 5Th Ward                                    Midland, Texas Stake                   4805 Gateway St                                               Midland, TX 79707‐2816                                                                 First Class Mail
Chartered Organization         Lds Midland First Ward Odessa Tx Stake                  Buffalo Trail Council 567              4805 Gateway St                                               Midland, TX 79707‐2816                                                                 First Class Mail
Chartered Organization         Lds Midland Second Ward Midland Tx Stake                Buffalo Trail Council 567              4805 Gateway St                                               Midland, TX 79707‐2816                                                                 First Class Mail
Chartered Organization         Lds Midland Sixth Ward Odessa Tx Stake                  Buffalo Trail Council 567              4805 Gateway St                                               Midland, TX 79707‐2816                                                                 First Class Mail
Chartered Organization         Lds Midland Third Ward Odessa Tx Stake                  Buffalo Trail Council 567              2101 Tarleton St                                              Midland, TX 79707‐6635                                                                 First Class Mail
Chartered Organization         Lds Midlothian Ward / Dallas Stake                      Circle Ten Council 571                 6406 Hill Valley Ct                                           Midlothian, TX 76065‐6960                                                              First Class Mail
Chartered Organization         Lds Midvale 10Th Ward/Midvale Ut Stk                    Great Salt Lake Council 590            8825 S Monroe St                                              Sandy, UT 84070                                                                        First Class Mail
Chartered Organization         Lds Midvale 11Th Ward                                   Midvale Ut N Stake                     97 W 7500 S                                                   Midvale, UT 84047‐2041                                                                 First Class Mail
Chartered Organization         Lds Midvale 12Th (Korean) Branch                        Midvale Ut Stake                       8350 S Jackson St                                             Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Midvale 13Th Ward/Midvale Ut Stk                    Great Salt Lake Council 590            8825 Monroe St                                                Sandy, UT 84070                                                                        First Class Mail
Chartered Organization         Lds Midvale 14Th (Tongan ) Branch                       Sl Ut S (Tongan) Stake                 87 E 7100 S                                                   Midvale, UT 84047‐1528                                                                 First Class Mail
Chartered Organization         Lds Midvale 15Th Branch                                 Midvale Ut N Stake                     97 W 7500 S                                                   Midvale, UT 84047‐2041                                                                 First Class Mail
Chartered Organization         Lds Midvale 1St Ward                                    Midvale Ut N Stake                     308 W 6Th Ave                                                 Midvale, UT 84047‐7382                                                                 First Class Mail
Chartered Organization         Lds Midvale 2Nd Ward                                    Midvale Ut N Stake                     97 W 7500 S                                                   Midvale, UT 84047‐2041                                                                 First Class Mail
Chartered Organization         Lds Midvale 3Rd Ward                                    Midvale Ut N Stake                     7825 S Olympus St                                             Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Midvale 4Th Ward                                    Midvale Ut N Stake                     7825 S Olympus St                                             Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Midvale 5Th Ward/Midvale Ut Stk                     Great Salt Lake Council 590            8171 S Jackson St                                             Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Midvale 6Th Ward/Midvale Ut Stk                     Great Salt Lake Council 590            8171 S Jackson St                                             Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Midvale 7Th Ward/Midvale Ut Stk                     Great Salt Lake Council 590            8350 S Jackson St                                             Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Midvale 8Th Ward/Midvale Ut Stk                     Great Salt Lake Council 590            8350 S Jackson St                                             Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Midvale East 1St Ward                               Midvale Ut E Stake                     240 E 7570 S                                                  Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Midvale East 2Nd Ward                               Midvale Ut E Stake                     7250 S Halelani Dr                                            Midvale, UT 84047‐2220                                                                 First Class Mail
Chartered Organization         Lds Midvale East 4Th Ward                               Midvale Ut E Stake                     87 E 7100 S                                                   Midvale, UT 84047‐1528                                                                 First Class Mail
Chartered Organization         Lds Midvale East 5Th Ward                               Midvale Ut E Stake                     240 E Greenwood Ave                                           Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Midvale East 6Th Ward                               Midvale Ut E Stake                     7250 S Halelani Dr                                            Midvale, UT 84047‐2220                                                                 First Class Mail
Chartered Organization         Lds Midvalley 1St Ward                                  Sandy Ut Midvalley Stake               1050 E Chapel Hill Rd                                         Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Midvalley 2Nd (Samoan) Ward                         Sandy Ut Mdvlly Stake                  1106 E 8055 S                                                 Sandy, UT 84094                                                                        First Class Mail
Chartered Organization         Lds Midvalley 4Th Ward                                  Sandy Ut Midvalley Stake               1106 E 8050 S                                                 Sandy, UT 84094                                                                        First Class Mail
Chartered Organization         Lds Midvalley 5Th Ward                                  Sandy Ut Midvalley Stake               1175 E 7800 S                                                 Sandy, UT 84094                                                                        First Class Mail
Chartered Organization         Lds Midvalley 6Th Ward                                  Sandy Ut Midvalley Stake               1106 E 8050 S                                                 Sandy, UT 84094                                                                        First Class Mail
Chartered Organization         Lds Midvalley 7Th Ward                                  Sandy Ut Midvalley Stake               1175 E 7800 S                                                 Sandy, UT 84094                                                                        First Class Mail
Chartered Organization         Lds Midvalley Second Ward                               Utah National Parks 591                4827 N 2475 W                                                 Cedar City, UT 84721‐5663                                                              First Class Mail
Chartered Organization         Lds Midvalley Ward                                      Utah National Parks 591                70 E Midvalley Rd                                             Enoch, UT 84721                                                                        First Class Mail
Chartered Organization         Lds Midway Ward ‐ Winslow Az Stk                        Grand Canyon Council 010               8181 Wover St                                                 Joseph City, AZ 86032                                                                  First Class Mail
Chartered Organization         Lds Midwest City 1St Ward Okc Stake                     Last Frontier Council 480              110 W Morningside Dr                                          Midwest City, OK 73110‐4567                                                            First Class Mail
Chartered Organization         Lds Mile Square Park Ward                               Huntington Beach Stake                 17500 Bushard St                                              Fountain Valley, CA 92708                                                              First Class Mail
Chartered Organization         Lds Miles City Ward, Glendive Stake                     Montana Council 315                    825 S Moorehead Ave                                           Miles City, MT 59301                                                                   First Class Mail
Chartered Organization         Lds Milford First Ward                                  Utah National Parks 591                748 W 600 S                                                   Milford, UT 84751‐7839                                                                 First Class Mail
Chartered Organization         Lds Milford Ward Cincinnati East Stake                  Dan Beard Council, Bsa 438             8250 Cornell Rd                                               Cincinnati, OH 45249                                                                   First Class Mail
Chartered Organization         Lds Mililani 1St Ward ‐ Mililani Stake                  Aloha Council, Bsa 104                 95‐1039 Meheula Pkwy                                          Mililani, HI 96789                                                                     First Class Mail
Chartered Organization         Lds Mililani 2Nd Ward ‐ Mililani Stake                  Aloha Council, Bsa 104                 95‐1039 Meheula Pkwy                                          Mililani, HI 96789                                                                     First Class Mail
Chartered Organization         Lds Mililani 4Th Ward ‐ Mililani Stake                  Aloha Council, Bsa 104                 95‐1039 Meheula Pkwy                                          Mililani, HI 96789                                                                     First Class Mail
Chartered Organization         Lds Mill Canyon Ward                                    Herriman Ut Mtn View Stake             5424 W Rosecrest Rd                                           Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Mill Creek Ward ‐ Redlands Stake                    California Inland Empire Council 045   350 N Wabash Ave                                              Redlands, CA 92374                                                                     First Class Mail
Chartered Organization         Lds Mill Creek Ward Everett Stake                       Mount Baker Council, Bsa 606           P.O. Box 12021                                                Mill Creek, WA 98082‐0021                                                              First Class Mail
Chartered Organization         Lds Mill Pond Ward                                      Utah National Parks 591                388 S 630 E                                                   Lehi, UT 84043‐2352                                                                    First Class Mail
Chartered Organization         Lds Mill Pond Ward/Stansbury Park Ut Stk                Great Salt Lake Council 590            417 Benson Rd                                                 Stansbury Park, UT 84074‐9050                                                          First Class Mail
Chartered Organization         Lds Mill Shadow Ward                                    Deseret Mill Stake                     200 N 1275 W Flint St                                         Kaysville, UT 84037                                                                    First Class Mail
Chartered Organization         Lds Millard Ward Papillion Stake                        Mid‐America Council 326                6820 S 164Th Ave                                              Omaha, NE 68132                                                                        First Class Mail
Chartered Organization         Lds Millbrook Ward                                      Tukabatchee Area Council 005           2200 Cobbs Ford Rd                                            Prattville, AL 36066                                                                   First Class Mail
Chartered Organization         Lds MiLLCreek 2Nd Ward/S L MiLLCreek Stk                Great Salt Lake Council 590            4220 S Jeannine Dr                                            Salt Lake City, UT 84107                                                               First Class Mail
Chartered Organization         Lds MiLLCreek 5Th Ward/S L MiLLCreek Stk                Great Salt Lake Council 590            3805 S Main St                                                Salt Lake City, UT 84115                                                               First Class Mail
Chartered Organization         Lds MiLLCreek 6Th Ward/S L MiLLCreek Stk                Great Salt Lake Council 590            4558 S 600 E                                                  Salt Lake City, UT 84107                                                               First Class Mail
Chartered Organization         Lds MiLLCreek 8Th Ward/S L MiLLCreek Stk                Great Salt Lake Council 590            4558 S 600 E                                                  Salt Lake City, UT 84107                                                               First Class Mail
Chartered Organization         Lds MiLLCreek 9Th Ward/S L MiLLCreek Stk                Great Salt Lake Council 590            213 E Gordon Ln Apt 21                                        Salt Lake City, UT 84107‐3118                                                          First Class Mail
Chartered Organization         Lds Millcreek Canyon Ward                               Sl Mt Olympus Stake                    3495 S 3610 E                                                 Salt Lake City, UT 84109‐3245                                                          First Class Mail
Chartered Organization         Lds Millcreek Ward ‐ Boise W Stk                        Ore‐Ida Council 106 ‐ Bsa 106          3700 S Maple Grove Rd                                         Boise, ID 83709‐4132                                                                   First Class Mail
Chartered Organization         Lds Milledgeville Ward                                  Central Georgia Council 096            1700 N Jefferson St Ne                                        Milledgeville, GA 31061‐2226                                                           First Class Mail
Chartered Organization         Lds Miller Springs Ward                                 Syracuse West Stake                    2500 S Bluff Rd                                               Syracuse, UT 84075                                                                     First Class Mail
Chartered Organization         Lds Miller Ward ‐ Mesa Az North Stk                     Grand Canyon Council 010               933 E Brown Rd                                                Mesa, AZ 85203                                                                         First Class Mail
Chartered Organization         Lds Milligan Valley Ward ‐ Eagar Az Stk                 Grand Canyon Council 010               135 N Main St                                                 Eagar, AZ 85925                                                                        First Class Mail
Chartered Organization         Lds Millington Ward ‐ Memphis North Stake               Chickasaw Council 558                  9604 Us Hwy 51 N                                              Millington, TN 38053‐4617                                                              First Class Mail
Chartered Organization         Lds Millpond Ward Auburn Stake                          Chief Seattle Council 609              1820 F St Se                                                  Auburn, WA 98002‐6854                                                                  First Class Mail
Chartered Organization         Lds Millsite Ward                                       Utah National Parks 591                P.O. Box 874                                                  Ferron, UT 84523‐0874                                                                  First Class Mail
Chartered Organization         Lds Millstream Ward/S L Grant Stk                       Great Salt Lake Council 590            3400 S 1100 E                                                 Salt Lake City, UT 84106                                                               First Class Mail
Chartered Organization         Lds Millville 1St Ward                                  Providence S Stake                     110 S Main St                                                 Millville, UT 84326‐7723                                                               First Class Mail
Chartered Organization         Lds Millville 2Nd Ward                                  Providence S Stake                     360 E 450 N                                                   Millville, UT 84326                                                                    First Class Mail
Chartered Organization         Lds Millville 3Rd Ward                                  Providence S Stake                     110 N Main St                                                 Millville, UT 84326                                                                    First Class Mail
Chartered Organization         Lds Millville 4Th Ward                                  Providence S Stake                     360 E 450 N                                                   Millville, UT 84326                                                                    First Class Mail
Chartered Organization         Lds Millville 5Th Ward                                  Providence S Stake                     360 E 450 N                                                   Millville, UT 84326                                                                    First Class Mail
Chartered Organization         Lds Milpitas Ward ‐ San Jose Stake                      Silicon Valley Monterey Bay 055        48950 Green Valley Rd                                         Fremont, CA 94539‐8001                                                                 First Class Mail
Chartered Organization         Lds Milton Ward                                         Gulf Coast Council 773                 5737 Berryhill Rd                                             Milton, FL 32570‐8281                                                                  First Class Mail
Chartered Organization         Lds Milton Ward                                         Atlanta Area Council 092               500 Norcross St                                               Roswell, GA 30075‐3861                                                                 First Class Mail
Chartered Organization         Lds Milton‐Freewater Ward                               Walla Walla Stake                      52794 Appleton Rd                                             Milton Freewater, OR 97862‐7352                                                        First Class Mail
Chartered Organization         Lds Milwaukie Ward Milwaukie Stake                      Cascade Pacific Council 492            13520 Se Ruscliff Rd                                          Portland, OR 97222‐2144                                                                First Class Mail
Chartered Organization         Lds Mindi Meadows Ward                                  Rvrtn Ut Central Stake                 Great Salt Lake Council 590                                   2361W 13400 S                      Riverton, Ut 84065                                  First Class Mail
Chartered Organization         Lds Mineral Wells Ward                                  Weatherford Stake                      822 S E 22Nd Ave                                              Mineral Wells, TX 76067                                                                First Class Mail
Chartered Organization         Lds Minersville First Ward                              Utah National Parks 591                130 W Main                                                    Minersville, UT 84752                                                                  First Class Mail
Chartered Organization         Lds Minersville Second Ward                             Utah National Parks 591                P.O. Box 60                                                   Minersville, UT 84752‐0060                                                             First Class Mail
Chartered Organization         Lds Mingo Valley Ward ‐ Tulsa Ok Stake                  Indian Nations Council 488             12110 E 7Th St                                                Tulsa, OK 74128‐3605                                                                   First Class Mail
Chartered Organization         Lds Mingus Foothills Ward                               Prescott Vly Az Stake                  7073 E Pronghorn Ranch Pkwy                                   Prescott Valley, AZ 86315                                                              First Class Mail
Chartered Organization         Lds Mingus Ward ‐ Cottonwood Az Stk                     Grand Canyon Council 010               1377 E Hombre Dr                                              Cottonwood, AZ 86326‐4825                                                              First Class Mail
Chartered Organization         Lds Mink Creek Ward                                     Preston N Stake                        7316 N Capitol Hill Rd                                        Preston, ID 83263                                                                      First Class Mail
Chartered Organization         Lds Minneapolis Stake                                   Eden Prairie Ward                      9700 Nesbitt Ave S                                            Bloomington, MN 55437‐1912                                                             First Class Mail
Chartered Organization         Lds Minneapolis Stake                                   Lake Nokomis Ward                      3921 Nicollet Ave                                             Minneapolis, MN 55409                                                                  First Class Mail
Chartered Organization         Lds Minneapolis Stake ‐ Bloomington Ward                Northern Star Council 250              9700 Nesbitt Ave S                                            Bloomington, MN 55437‐1912                                                             First Class Mail
Chartered Organization         Lds Minneapolis Stake ‐ Chaska Ward                     Northern Star Council 250              1350 Peitz Ave                                                Waconia, MN 55387                                                                      First Class Mail
Chartered Organization         Lds Minneapolis Stake ‐ Hispanic Ward                   Northern Star Council 250              3921 Nicollet Ave                                             Minneapolis, MN 55409                                                                  First Class Mail
Chartered Organization         Lds Minneapolis Stake ‐ Minnetonka Ward                 Northern Star Council 250              330 Vicksburg Ln N                                            Plymouth, MN 55447‐3900                                                                First Class Mail
Chartered Organization         Lds Minneapolis Stake ‐ Plymouth Ward                   Northern Star Council 250              330 Vicksburg Ln N                                            Plymouth, MN 55447‐3900                                                                First Class Mail
Chartered Organization         Lds Minneapolis Stake ‐ Waconia Ward                    Northern Star Council 250              1350 Peitz Ave                                                Waconia, MN 55387                                                                      First Class Mail
Chartered Organization         Lds Minneola Branch Leesburg                            Central Florida Council 083            14600 Green Valley Blvd                                       Clermont, FL 34711                                                                     First Class Mail
Chartered Organization         Lds Mint Valley Ward Longview Stake                     Cascade Pacific Council 492            1721 30Th Ave                                                 Longview, WA 98632‐3404                                                                First Class Mail
Chartered Organization         Lds Miramar Ward                                        South Florida Council 084              8201 Nw 186Th St                                              Hialeah, FL 33015‐2651                                                                 First Class Mail
Chartered Organization         Lds Miramar Ward ‐ Mesa Az                              Citrus Heights Stake                   3345 E Mclellan Rd                                            Mesa, AZ 85213                                                                         First Class Mail
Chartered Organization         Lds Misawa Servicemens Branch                           Far E Council 803                      Psc 76 Box 2974                                               Apo, AP 96319‐0030                                                                     First Class Mail
Chartered Organization         Lds Misawa Servicemen's Branch                          Far E Council 803                      Psc 76 Box 5032                                               Apo, AP 96319‐0051                                                                     First Class Mail
Chartered Organization         Lds Mishawaka Ward ‐ South Bend Stake                   Lasalle Council 165                    930 Park Pl                                                   Mishawaka, IN 46545‐3523                                                               First Class Mail
Chartered Organization         Lds Mission Creek Ward ‐ East Stake                     Alamo Area Council 583                 311 Galway St                                                 San Antonio, TX 78223‐2819                                                             First Class Mail
Chartered Organization         Lds Mission Hills Ward Eldorado Stake                   Las Vegas Area Council 328             801 Arrowhead Trl                                             Henderson, NV 89002‐8427                                                               First Class Mail
Chartered Organization         Lds Mission Lake Ward                                   Santa Margarita Stake                  29441 Altisima                                                Rancho Santa Margarita, CA 92688                                                       First Class Mail
Chartered Organization         Lds Mission Oak Ward Sac East Stake                     Golden Empire Council 047              3430 Mission Ave                                              Carmichael, CA 95608‐3113                                                              First Class Mail
Chartered Organization         Lds Mission Peak Ward ‐ Fremont Stake                   San Francisco Bay Area Council 028     48950 Green Valley Rd                                         Fremont, CA 94539‐8001                                                                 First Class Mail
Chartered Organization         Lds Mission Ridge Ward/Wenatchee Stake                  Grand Columbia Council 614             667 10Th St Ne                                                East Wenatchee, WA 98802‐4509                                                          First Class Mail
Chartered Organization         Lds Mission Viejo 1St Ward                              Mission Viejo Stake                    27976 Marguerite Pkwy                                         Mission Viejo, CA 92692‐3609                                                           First Class Mail
Chartered Organization         Lds Mission Viejo 2Nd Ward                              Mission Viejo Stake                    27976 Marguerite Pkwy                                         Mission Viejo, CA 92692‐3609                                                           First Class Mail
Chartered Organization         Lds Mission Viejo 5Th Ward                              Mission Viejo Stake                    23850 Los Alisos Blvd                                         Mission Viejo, CA 92691                                                                First Class Mail
Chartered Organization         Lds Mission Ward ‐ Riverside Stake                      California Inland Empire Council 045   5900 Grand Ave                                                Riverside, CA 92504‐1328                                                               First Class Mail
Chartered Organization         Lds Mississippi Ward ‐ Memphis Stake                    Chickasaw Council 558                  1255 Goodman Rd E                                             Southaven, MS 38671‐9541                                                               First Class Mail
Chartered Organization         Lds Missoula 1St Wd, Missoula Stake                     Montana Council 315                    3201 Bancroft St                                              Missoula, MT 59801‐8641                                                                First Class Mail
Chartered Organization         Lds Missoula 2Nd Wd, Missoula Stake                     Montana Council 315                    3201 Bancroft St                                              Missoula, MT 59801‐8641                                                                First Class Mail
Chartered Organization         Lds Missoula 3Rd Wd, Missoula Stake                     Montana Council 315                    3026 South Ave W                                              Missoula, MT 59804‐5108                                                                First Class Mail
Chartered Organization         Lds Missoula 4Th Ward, Missoula Stake                   Montana Council 315                    3201 Bancroft St                                              Missoula, MT 59801‐8641                                                                First Class Mail
Chartered Organization         Lds Missouri River Ward                                 Lake St Louis Stake                    Greater St Louis Area Council 312                             Nm ‐ 1401 S Henke Rd               Lake St Louis, Mo 63367                             First Class Mail
Chartered Organization         Lds Misty Meadows Ward                                  Pleasant View South Stake              2360 N 600 W                                                  Harrisville, UT 84414                                                                  First Class Mail
Chartered Organization         Lds Mitchell Ward ‐ Boise N Stk                         Ore‐Ida Council 106 ‐ Bsa 106          4921 N Mitchell St                                            Boise, ID 83704‐2242                                                                   First Class Mail
Chartered Organization         Lds Miw Ward ‐ Pago West Stake                          Aloha Council, Bsa 104                 P.O. Box 1419                                                 Pago Pago, AS 96799‐1419                                                               First Class Mail
Chartered Organization         Lds Moab Fifth Ward                                     Utah National Parks 591                701 Locust Ln                                                 Moab, UT 84532‐2719                                                                    First Class Mail
Chartered Organization         Lds Moab First Ward                                     Utah National Parks 591                1301 Knutson Cor                                              Moab, UT 84532‐3185                                                                    First Class Mail
Chartered Organization         Lds Moab Fourth Ward                                    Utah National Parks 591                701 Locust Ln                                                 Moab, UT 84532‐2719                                                                    First Class Mail
Chartered Organization         Lds Moab Second Ward                                    Utah National Parks 591                475 W 400 N                                                   Moab, UT 84532‐2249                                                                    First Class Mail
Chartered Organization         Lds Moab Third Ward                                     Utah National Parks 591                701 Locust Ln                                                 Moab, UT 84532‐2719                                                                    First Class Mail
Chartered Organization         Lds Moanalua 2Nd Ward ‐ Honolulu W Stake                Aloha Council, Bsa 104                 642 N Vineyard Blvd Apt G                                     Honolulu, HI 96817‐3832                                                                First Class Mail
Chartered Organization         Lds Moanalua Ward ‐ Honolulu West Stake                 Aloha Council, Bsa 104                 1723 Beckley St                                               Honolulu, HI 96819‐3404                                                                First Class Mail
Chartered Organization         Lds Moapa Ward Logandale Stake                          Las Vegas Area Council 328             P.O. Box 243                                                  Moapa, NV 89025‐0243                                                                   First Class Mail
Chartered Organization         Lds Moberly Ward ‐ Columbia Stake                       Great Rivers Council 653               1049 County Rd 2310                                           Moberly, MO 65270                                                                      First Class Mail
Chartered Organization         Lds Modesto Stake                                       Greater Yosemite Council 059           1105 W Orangeburg Ave                                         Modesto, CA 95350‐4043                                                                 First Class Mail
Chartered Organization         Lds Mogollon Rim Ward ‐ Silver Creek Az                 Stake                                  P.O. Box 625                                                  Heber, AZ 85928‐0625                                                                   First Class Mail
Chartered Organization         Lds Mogollon Ward ‐ Payson Az Stk                       Grand Canyon Council 010               170 W Midway St                                               Payson, AZ 85541‐2425                                                                  First Class Mail
Chartered Organization         Lds Mojave Branch‐Victorville Stake                     California Inland Empire Council 045   15330 Jeraldo Dr                                              Victorville, CA 92394‐5579                                                             First Class Mail
Chartered Organization         Lds Mojave Narrows Ward ‐ Apple Vly Stake               California Inland Empire Council 045   15500 Tuscola Rd                                              Apple Valley, CA 92307                                                                 First Class Mail
Chartered Organization         Lds Mojave River Ward ‐ Hesperia Stake                  California Inland Empire Council 045   9533 Hickory Ave                                              Hesperia, CA 92345                                                                     First Class Mail
Chartered Organization         Lds Molalla River Ward Oregon City Stake                Cascade Pacific Council 492            1300 Homestead Pl                                             Molalla, OR 97038‐7398                                                                 First Class Mail
Chartered Organization         Lds Molalla Ward Oregon City Stake                      Cascade Pacific Council 492            974 W Main St                                                 Molalla, OR 97038‐9010                                                                 First Class Mail
Chartered Organization         Lds Mona First Ward                                     Utah National Parks 591                P.O. Box 516                                                  Mona, UT 84645‐0516                                                                    First Class Mail
Chartered Organization         Lds Mona Fourth Ward                                    Utah National Parks 591                P.O. Box 487                                                  Mona, UT 84645‐0487                                                                    First Class Mail
Chartered Organization         Lds Mona Second Ward                                    Utah National Parks 591                P.O. Box 468                                                  Mona, UT 84645‐0468                                                                    First Class Mail
Chartered Organization         Lds Mona Third Ward                                     Utah National Parks 591                100 W 800 S                                                   Mona, UT 84645                                                                         First Class Mail
Chartered Organization         Lds Monad Ward, Billings Stake                          Montana Council 315                    2132 Beloit Dr                                                Billings, MT 59102‐5756                                                                First Class Mail
Chartered Organization         Lds Monahans Br, Ft Stockton Distr                      Buffalo Trail Council 567              601 W Interstate 20                                           Monahans, TX 79756‐7434                                                                First Class Mail
Chartered Organization         Lds Monarch Meadows Ward/Herriman Ut Stk                Great Salt Lake Council 590            5246 W Gossamer Way                                           Riverton, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Monett Ward ‐ Monett Stake                          Ozark Trails Council 306               Hwy 37 And Cir Dr                                             Monett, MO 65708                                                                       First Class Mail
Chartered Organization         Lds Monica Ward, E Bakersfield Stake                    Southern Sierra Council 030            5007 Ventana Canyon Dr                                        Bakersfield, CA 93306‐9401                                                             First Class Mail
Chartered Organization         Lds Monmouth Third Ward Monmouth Stake                  Cascade Pacific Council 492            783 Church St W                                               Monmouth, OR 97361‐9782                                                                First Class Mail
Chartered Organization         Lds Monmouth Ward Monmouth Stake                        Cascade Pacific Council 492            783 Church St W                                               Monmouth, OR 97361‐9782                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                         Page 222 of 442
                                                                                Case 20-10343-LSS                                  Doc 8171                                     Filed 01/06/22                                                       Page 238 of 457
                                                                                                                                                                   Exhibit B
                                                                                                                                                                    Service List
                                                                                                                                                             Served as set forth below

        Description                                                      Name                                                                                    Address                                                                                               Email              Method of Service
Chartered Organization         Lds Monroe Fifth Ward                                   Utah National Parks 591                345 W Lizs Way                                           Monroe, UT 84754‐4600                                                                   First Class Mail
Chartered Organization         Lds Monroe First Ward                                   Utah National Parks 591                49 E 200 N                                               Monroe, UT 84754                                                                        First Class Mail
Chartered Organization         Lds Monroe Fourth Ward                                  Utah National Parks 591                49 E 200 N                                               Monroe, UT 84754                                                                        First Class Mail
Chartered Organization         Lds Monroe Second Ward                                  Utah National Parks 591                999 W 370 S                                              Monroe, UT 84754‐4316                                                                   First Class Mail
Chartered Organization         Lds Monroe Third Ward                                   Utah National Parks 591                140 N Main St                                            Monroe, UT 84754‐4124                                                                   First Class Mail
Chartered Organization         Lds Monroe Ward ‐ Athens Georgia Stake                  Northeast Georgia Council 101          Youth Monroe Rd                                          Loganville, GA 30052                                                                    First Class Mail
Chartered Organization         Lds Monroe Ward ‐ Athens Stake                          Northeast Georgia Council 101          Youth Monroe Rd                                          Loganville, GA 30052                                                                    First Class Mail
Chartered Organization         Lds Monroe Ward Snohomish Stake                         Mount Baker Council, Bsa 606           17372 Tester Rd                                          Monroe, WA 98272                                                                        First Class Mail
Chartered Organization         Lds Monroe Ward, Westland Stake                         Southern Shores Fsc 783                3740 W Dunbar Rd                                         Monroe, MI 48161                                                                        First Class Mail
Chartered Organization         Lds Monrovia Ward L143                                  Greater Los Angeles Area 033           532 W Lemon Ave                                          Monrovia, CA 91016‐2610                                                                 First Class Mail
Chartered Organization         Lds Monta Vista Ward ‐ North Stake                      Alamo Area Council 583                 407 Happy Trl                                            Shavano Park, TX 78231‐1440                                                             First Class Mail
Chartered Organization         Lds Monte Bello Ward Central Stake                      Las Vegas Area Council 328             4201 Stewart Ave                                         Las Vegas, NV 89110‐3230                                                                First Class Mail
Chartered Organization         Lds Monte Cristo Ward Las Vegas Stake                   Las Vegas Area Council 328             1801 S Monte Cristo Way                                  Las Vegas, NV 89117‐2047                                                                First Class Mail
Chartered Organization         Lds Monte Sano Ward, Huntsville Stake                   Greater Alabama Council 001            2110 Byrd Spring Rd Sw                                   Huntsville, AL 35802‐2146                                                               First Class Mail
Chartered Organization         Lds Monte Vista Branch/Logan Stake                      Trapper Trails 589                     380 S 1250 W                                             Logan, UT 84321                                                                         First Class Mail
Chartered Organization         Lds Monte Vista Branch‐Phoenix Az                       North Stake                            325 E Coral Gables Dr                                    Phoenix, AZ 85022‐3605                                                                  First Class Mail
Chartered Organization         Lds Monte Vista Ward, Brighton Stake                    Denver Area Council 061                100 Malley Dr                                            Northglenn, CO 80233‐2011                                                               First Class Mail
Chartered Organization         Lds Montecito Ward ‐ Mesa Az Alta Mesa Stk              Grand Canyon Council 010               4034 E Ellis St                                          Mesa, AZ 85205‐5140                                                                     First Class Mail
Chartered Organization         Lds Montecito Ward Meadows Stake                        Las Vegas Area Council 328             4525 N Rainbow Blvd                                      Las Vegas, NV 89149                                                                     First Class Mail
Chartered Organization         Lds Montelena Ward ‐ Qc Az Central Stk                  Grand Canyon Council 010               20415 E Chandler Hts Rd                                  Queen Creek, AZ 85142                                                                   First Class Mail
Chartered Organization         Lds Monterey 1St Ward ‐ Monterey Stake                  Silicon Valley Monterey Bay 055        1 Forest Knoll Rd                                        Monterey, CA 93940‐5801                                                                 First Class Mail
Chartered Organization         Lds Monterey 2Nd Ward ‐ Monterey Stake                  Silicon Valley Monterey Bay 055        1 Forest Knoll Rd                                        Monterey, CA 93940‐5801                                                                 First Class Mail
Chartered Organization         Lds Monterey Park Ward ‐ Gilbert Az                     Superstition Springs Stake             2939 S Power Rd                                          Mesa, AZ 85212‐9601                                                                     First Class Mail
Chartered Organization         Lds Monterey Ward ‐ Mesa Az                             Boulder Creek Stake                    7145 E Monterey Ave                                      Mesa, AZ 85209                                                                          First Class Mail
Chartered Organization         Lds Montezuma Ward ‐ Cottonwood Az Stk                  Grand Canyon Council 010               360 S 5Th St                                             Camp Verde, AZ 86322                                                                    First Class Mail
Chartered Organization         Lds Montgomery Stake                                    Tukabatchee Area Council 005           2200 Cobbs Ford Rd                                       Prattville, AL 36066                                                                    First Class Mail
Chartered Organization         Lds Montgomery Village Ward Seneca Stake                National Capital Area Council 082      20020 Montgomery Village Ave                             Montgomery Village, MD 20886                                                            First Class Mail
Chartered Organization         Lds Montgomery Ward Cincinnati E Stake                  Dan Beard Council, Bsa 438             8250 Cornell Rd                                          Cincinnati, OH 45249                                                                    First Class Mail
Chartered Organization         Lds Monticello First Ward                               Utah National Parks 591                165 S Main St                                            Monticello, UT 84535                                                                    First Class Mail
Chartered Organization         Lds Monticello Fourth Ward                              Utah National Parks 591                347 N 200 W                                              Monticello, UT 84535                                                                    First Class Mail
Chartered Organization         Lds Monticello Second Ward                              Utah National Parks 591                347 N 200 W                                              Monticello, UT 84535                                                                    First Class Mail
Chartered Organization         Lds Monticello Third Ward                               Utah National Parks 591                165 S Main St                                            Monticello, UT 84535                                                                    First Class Mail
Chartered Organization         Lds Montpelier 1St Ward                                 Montpelier South Stake                 485 S 7Th St                                             Montpelier, ID 83254‐1434                                                               First Class Mail
Chartered Organization         Lds Montpelier 2Nd Ward                                 Montpelier Stake                       585 N 8Th St                                             Montpelier, ID 83254                                                                    First Class Mail
Chartered Organization         Lds Montpelier 3Rd Ward                                 Montpelier Stake                       340 N 6Th St                                             Montpelier, ID 83254‐1251                                                               First Class Mail
Chartered Organization         Lds Montpelier 4Th Ward                                 Montpelier South Stake                 485 S 7Th St                                             Montpelier, ID 83254‐1434                                                               First Class Mail
Chartered Organization         Lds Montpelier 5Th Ward                                 Montpelier Stake                       840 N 6Th St                                             Montpelier, ID 83254                                                                    First Class Mail
Chartered Organization         Lds Montpelier Ward                                     Montpelier Vermont Stake               224 Hersey Rd                                            Berlin, VT 05602                                                                        First Class Mail
Chartered Organization         Lds Monument Park Ward                                  Sl Monument Pk Stake                   1005 S 2000 E                                            Salt Lake City, UT 84108                                                                First Class Mail
Chartered Organization         Lds Monument Ridge Ward ‐ Mesa Az                       Hermosa Vista Stake                    2701 E Lehi Rd                                           Mesa, AZ 85213                                                                          First Class Mail
Chartered Organization         Lds Monument Ward ‐ Mesa Az Lehi Stk                    Grand Canyon Council 010               810 E Lehi Rd                                            Mesa, AZ 85203                                                                          First Class Mail
Chartered Organization         Lds Monument Ward ‐ North Stake                         Pikes Peak Council 060                 950 W Hwy 105                                            Monument, CO 80132                                                                      First Class Mail
Chartered Organization         Lds Monument Ward/Gj West Stake                         Denver Area Council 061                2235 Kingston Rd                                         Grand Junction, CO 81507‐1208                                                           First Class Mail
Chartered Organization         Lds Moon Lake Ward                                      Utah National Parks 591                General Delivery                                         Mountain Home, UT 84051                                                                 First Class Mail
Chartered Organization         Lds Moon Mountain Ward ‐ Phoenix Az                     North Stake                            325 E Coral Gables Dr                                    Phoenix, AZ 85022‐3605                                                                  First Class Mail
Chartered Organization         Lds Moon Ridge Ward ‐ Boise Amity Stk                   Ore‐Ida Council 106 ‐ Bsa 106          5645 S Maple Grove Rd                                    Boise, ID 83709                                                                         First Class Mail
Chartered Organization         Lds Moon Valley Ward ‐ Phoenix Az                       North Stake                            11650 N 35Th Ave                                         Phoenix, AZ 85029‐3270                                                                  First Class Mail
Chartered Organization         Lds Moore 1St Ward Okc South Stake                      Last Frontier Council 480              12915 S Santa Fe Ave                                     Oklahoma City, OK 73170                                                                 First Class Mail
Chartered Organization         Lds Moore Stake ‐ Arco Ward                             Grand Teton Council 107                2255 N 2900 W                                            Arco, ID 83213‐8798                                                                     First Class Mail
Chartered Organization         Lds Moore Stake ‐ Howe Branch                           Grand Teton Council 107                3776 N 1800 W                                            Howe, ID 83244‐8716                                                                     First Class Mail
Chartered Organization         Lds Moore Stake ‐ Leslie Ward                           Grand Teton Council 107                3962 N 3580 W                                            Moore, ID 83255‐8740                                                                    First Class Mail
Chartered Organization         Lds Moore Stake ‐ Lost River Ward                       Grand Teton Council 107                3100 N 3350 W                                            Moore, ID 83255                                                                         First Class Mail
Chartered Organization         Lds Moore Stake ‐ Mackay Ward                           Grand Teton Council 107                531 Spruce St                                            Mackay, ID 83251                                                                        First Class Mail
Chartered Organization         Lds Moorestown Ward/Cherry Hill Nj Stake                Garden State Council 690               209 Demarest Rd                                          Moorestown, NJ 08057‐1303                                                               First Class Mail
Chartered Organization         Lds Moorpark Ward ‐ Saratoga Stake                      Silicon Valley Monterey Bay 055        10270 S Stelling Rd                                      Cupertino, CA 95014‐4226                                                                First Class Mail
Chartered Organization         Lds Moraga Ward ‐ Oakland Stake                         Mt Diablo‐Silverado Council 023        3776 Via Granada                                         Moraga, CA 94556‐1633                                                                   First Class Mail
Chartered Organization         Lds Morehead City Ward                                  East Carolina Council 426              3606 Country Club Rd                                     Morehead City, NC 28557‐3002                                                            First Class Mail
Chartered Organization         Lds Moreland Ward Milwaukie Stake                       Cascade Pacific Council 492            7880 Se Milwaukie Ave                                    Portland, OR 97202‐6119                                                                 First Class Mail
Chartered Organization         Lds Moreno Vly Ward ‐ Moreno Vly Stake                  California Inland Empire Council 045   11790 Perris Blvd                                        Moreno Valley, CA 92557‐6538                                                            First Class Mail
Chartered Organization         Lds Morgan Hill 1St Ward                                Morgan Hill Stake                      1790 E Dunne Ave                                         Morgan Hill, CA 95037‐7028                                                              First Class Mail
Chartered Organization         Lds Morgan Hill 2Nd Ward                                Morgan Hill Stake                      1790 E Dunne Ave                                         Morgan Hill, CA 95037‐7028                                                              First Class Mail
Chartered Organization         Lds Morgan Hill Ward ‐ Temecula Stake                   California Inland Empire Council 045   43940 Pacific Sunset Dr                                  Temecula, CA 92592                                                                      First Class Mail
Chartered Organization         Lds Mormon Station Ward                                 Carson City Stake                      816 Amador Ct                                            Carson City, NV 89705‐7248                                                              First Class Mail
Chartered Organization         Lds Morning Sun Ward ‐ Qc Az South Stk                  Grand Canyon Council 010               33794 Gary Rd                                            San Tan Valley, AZ 85142                                                                First Class Mail
Chartered Organization         Lds Morning Sun Ward Sunrise Stake                      Las Vegas Area Council 328             877 Temple View Dr                                       Las Vegas, NV 89110‐2920                                                                First Class Mail
Chartered Organization         Lds Morning View Ward                                   Stnsbry Park Ut So Stake               5705 Mast Ln                                             Stansbury Park, UT 84074‐7405                                                           First Class Mail
Chartered Organization         Lds Morningside First Ward                              Utah National Parks 591                900 S 700 E                                              St George, UT 84790                                                                     First Class Mail
Chartered Organization         Lds Morningside Fourth Ward                             Utah National Parks 591                930 S Morningside Dr                                     St George, UT 84790                                                                     First Class Mail
Chartered Organization         Lds Morningside Heights Ward                            New York Stake                         125 Columbus Ave                                         New York, NY 10023‐6514                                                                 First Class Mail
Chartered Organization         Lds Morningside Sixth Ward                              Utah National Parks 591                1082 S 620 E                                             St George, UT 84790‐5734                                                                First Class Mail
Chartered Organization         Lds Morningside Ward ‐ Qc Az Ocotillo Stk               Grand Canyon Council 010               2559 E Combs Rd                                          San Tan Valley, AZ 85140                                                                First Class Mail
Chartered Organization         Lds Morningside Ward/Taylorsville Ut Stk                Great Salt Lake Council 590            1555 W Lovely Rd                                         Salt Lake City, UT 84123                                                                First Class Mail
Chartered Organization         Lds Moroni First Ward                                   Utah National Parks 591                P.O. Box 229                                             Moroni, UT 84646‐0229                                                                   First Class Mail
Chartered Organization         Lds Moroni Second Ward                                  Utah National Parks 591                50 N Center St                                           Moroni, UT 84646                                                                        First Class Mail
Chartered Organization         Lds Moroni Third Ward                                   Utah National Parks 591                P.O. Box 625                                             Moroni, UT 84646‐0625                                                                   First Class Mail
Chartered Organization         Lds Morrison Ranch Ward ‐ Gilbert Az                    Highland W Stake                       2865 E Robin Ct                                          Gilbert, AZ 85296‐9424                                                                  First Class Mail
Chartered Organization         Lds Morristown 1St Ward Morristown                      Patriots Path Council 358              283 James St                                             Morristown, NJ 07960‐6372                                                               First Class Mail
Chartered Organization         Lds Morrisville Ward                                    Washington Crossing Council 777        1204 Pine Grove Rd                                       Yardley, PA 19067‐3308                                                                  First Class Mail
Chartered Organization         Lds Morro Bay Ward                                      San Luis Obispo Stake                  3000 Ironwood Ave                                        Morro Bay, CA 93442                                                                     First Class Mail
Chartered Organization         Lds Morton Ward, Peoria Stake                           W D Boyce 138                          2530 N Morton Ave                                        Morton, IL 61550‐1128                                                                   First Class Mail
Chartered Organization         Lds Moss Hill Ward/Bntfl Ut Central Stk                 Great Salt Lake Council 590            455 S 1200 E                                             Bountiful, UT 84010                                                                     First Class Mail
Chartered Organization         Lds Moultrie Ward, Tifton, Ga Stake                     Suwannee River Area Council 664        100 West Blvd                                            Moultrie, GA 31768‐5862                                                                 First Class Mail
Chartered Organization         Lds Mount Airey Ward                                    Utah National Parks 591                4338 E Inverness Ln                                      Eagle Mountain, UT 84005                                                                First Class Mail
Chartered Organization         Lds Mount Airy Ward                                     Old Hickory Council 427                162 Temple Ln                                            Mount Airy, NC 27030                                                                    First Class Mail
Chartered Organization         Lds Mount Jordan 1St Ward                               Sandy Ut Mt Jordan Stake               8950 S 400 E                                             Sandy, UT 84070‐2466                                                                    First Class Mail
Chartered Organization         Lds Mount Jordan 2Nd Ward                               Sandy Ut Mt Jordan Stake               9331 S 300 E                                             Sandy, UT 84070‐2902                                                                    First Class Mail
Chartered Organization         Lds Mount Jordan 3Rd Ward                               Sandy Ut Mt Jordan Stake               8950 S 400 E                                             Sandy, UT 84070‐2466                                                                    First Class Mail
Chartered Organization         Lds Mount Jordan 4Th Ward                               Sandy Ut Mt Jordan Stake               235 E Sego Lily Dr                                       Sandy, UT 84070                                                                         First Class Mail
Chartered Organization         Lds Mount Jordan 5Th Ward                               Sandy Ut Mt Jordan Stake               9331 S 300 E                                             Sandy, UT 84070‐2902                                                                    First Class Mail
Chartered Organization         Lds Mount Jordan 6Th Ward                               Sandy Ut Mt Jordan Stake               9331 S 300 E                                             Sandy, UT 84070‐2902                                                                    First Class Mail
Chartered Organization         Lds Mount Jordan 7Th Ward                               Sandy Ut Mt Jordan Stake               235 E Sego Lily Dr                                       Sandy, UT 84070                                                                         First Class Mail
Chartered Organization         Lds Mount Lewis 1St Ward                                Mount Lewis Stake                      435 N Jackson Ave                                        Ogden, UT 84404                                                                         First Class Mail
Chartered Organization         Lds Mount Lewis 2Nd Ward                                Mount Lewis Stake                      435 N Jackson Ave                                        Ogden, UT 84404                                                                         First Class Mail
Chartered Organization         Lds Mount Lewis 3Rd Ward                                Mount Lewis Stake                      435 N Jackson Ave                                        Ogden, UT 84404                                                                         First Class Mail
Chartered Organization         Lds Mount Lewis 4Th Ward                                Mount Lewis Stake                      550 E 900 N                                              Ogden, UT 84404                                                                         First Class Mail
Chartered Organization         Lds Mount Lewis 5Th Ward                                Mount Lewis Stake                      550 E 900 N                                              Ogden, UT 84404                                                                         First Class Mail
Chartered Organization         Lds Mount Lewis 6Th Ward                                Mount Lewis Stake                      1150 Monroe Blvd                                         Ogden, UT 84404‐6403                                                                    First Class Mail
Chartered Organization         Lds Mount Lewis 7Th Ward                                Mount Lewis Stake                      1150 Monroe Blvd                                         Ogden, UT 84404‐6403                                                                    First Class Mail
Chartered Organization         Lds Mount Lewis 8Th Ward                                Mount Lewis Stake                      1150 Monroe Blvd                                         Ogden, UT 84404‐6403                                                                    First Class Mail
Chartered Organization         Lds Mount Lewis 9Th Ward                                Mount Lewis Stake                      550 E 900 N                                              Ogden, UT 84404                                                                         First Class Mail
Chartered Organization         Lds Mount Mahogany Eighth Ward                          Utah National Parks 591                1185 W 2180 N                                            Pleasant Grove, UT 84062‐4901                                                           First Class Mail
Chartered Organization         Lds Mount Mahogany Fifth                                Utah National Parks 591                1541 N 1300 W                                            Pleasant Grove, UT 84062                                                                First Class Mail
Chartered Organization         Lds Mount Mahogany First                                Utah National Parks 591                946 W 2200 N                                             Pleasant Grove, UT 84062‐9232                                                           First Class Mail
Chartered Organization         Lds Mount Mahogany Fourth                               Utah National Parks 591                1548 N 900 W                                             Pleasant Grove, UT 84062                                                                First Class Mail
Chartered Organization         Lds Mount Mahogany Second                               Utah National Parks 591                1363 N 1070 W                                            Pleasant Grove, UT 84062‐9153                                                           First Class Mail
Chartered Organization         Lds Mount Mahogany Sixth                                Utah National Parks 591                1210 N 1300 W                                            Pleasant Grove, UT 84062‐9600                                                           First Class Mail
Chartered Organization         Lds Mount Mahogany Third                                Utah National Parks 591                1548 N 900 W                                             Pleasant Grove, UT 84062                                                                First Class Mail
Chartered Organization         Lds Mount Nebo Ward                                     Utah National Parks 591                1006 E 200 N                                             Spanish Fork, UT 84660‐1970                                                             First Class Mail
Chartered Organization         Lds Mount Olympus Ward                                  Sl Mt Olympus Stake                    4625 S Lanark Rd                                         Salt Lake City, UT 84124                                                                First Class Mail
Chartered Organization         Lds Mount Rushmore Ward                                 Black Hills Area Council 695 695       2250 Moon Meadows Dr                                     Rapid City, SD 57702                                                                    First Class Mail
Chartered Organization         Lds Mount Si Ward Bellevue South Stake                  Chief Seattle Council 609              527 Sw Mt Si Blvd                                        North Bend, WA 98045                                                                    First Class Mail
Chartered Organization         Lds Mount Sneffels Ward/Montrose Stake                  Denver Area Council 061                21004 Uncompahgre Rd                                     Montrose, CO 81403‐8749                                                                 First Class Mail
Chartered Organization         Lds Mount Vernon Evansville In                          Buffalo Trace 156                      736 Smith Rd                                             Mount Vernon, IN 47620                                                                  First Class Mail
Chartered Organization         Lds Mount Vernon Ward ‐ Columbus Ohio                   Muskingum Valley Council, Bsa 467      1010 Beech St                                            Mount Vernon, OH 43050‐1341                                                             First Class Mail
Chartered Organization         Lds Mountain Gate Ward Portland Stake                   Cascade Pacific Council 492            10300 Se 132Nd Ave                                       Happy Valley, OR 97086‐6162                                                             First Class Mail
Chartered Organization         Lds Mountain Green Ward                                 Morgan North Stake                     5378 W Old Hwy Rd                                        Morgan, UT 84050‐9800                                                                   First Class Mail
Chartered Organization         Lds Mountain House Ward Manteca Stake                   Greater Yosemite Council 059           1981 Chester Dr                                          Tracy, CA 95376‐2345                                                                    First Class Mail
Chartered Organization         Lds Mountain Oaks Ward                                  Sandy Ut Lone Peak Stake               11570 Wasatch Blvd                                       Sandy, UT 84092                                                                         First Class Mail
Chartered Organization         Lds Mountain Park Ward ‐ Tempe Az West Stk              Grand Canyon Council 010               4525 E Knox Rd                                           Phoenix, AZ 85044                                                                       First Class Mail
Chartered Organization         Lds Mountain Point 12Th Ward                            Draper Ut Mtn Point Stake              607 E Rocky Mouth Ln                                     Draper, UT 84026                                                                        First Class Mail
Chartered Organization         Lds Mountain Ranch Ward ‐ Mesa Az                       Desert Ridge Stake                     3440 S Signal Butte Rd                                   Mesa, AZ 85212‐4213                                                                     First Class Mail
Chartered Organization         Lds Mountain Ridge Ward ‐ Mesa Az                       Salt River Stake                       6942 E Brown Rd                                          Mesa, AZ 85207                                                                          First Class Mail
Chartered Organization         Lds Mountain Ridge Ward ‐ Phoenix Az                    Tbird Park Stake                       23121 N 67Th Ave                                         Glendale, AZ 85310‐5728                                                                 First Class Mail
Chartered Organization         Lds Mountain Shadows Ward                               Kaysville Stake                        615 N Flint St                                           Kaysville, UT 84037                                                                     First Class Mail
Chartered Organization         Lds Mountain Shadows Ward                               Scottsdale Az, Camelback Stake         6265 N 82Nd St                                           Scottsdale, AZ 85250‐5608                                                               First Class Mail
Chartered Organization         Lds Mountain Valley Ward ‐ Quincy Stake                 Nevada Area Council 329                708‐985 R and S Rd                                       Standish, CA 96128                                                                      First Class Mail
Chartered Organization         Lds Mountain View 1St Ward                              S L Hillside Stake                     1400 S 1900 E                                            Salt Lake City, UT 84108                                                                First Class Mail
Chartered Organization         Lds Mountain View 1St Ward                              W J Ut Mtn View Stake                  8825 S 3200 W                                            West Jordan, UT 84088‐9661                                                              First Class Mail
Chartered Organization         Lds Mountain View 2Nd Ward                              W J Ut Mtn View Stake                  2901 W 9000 S                                            West Jordan, UT 84088‐8600                                                              First Class Mail
Chartered Organization         Lds Mountain View 3Rd Ward                              S L Hillside Stake                     1889 S 1700 E                                            Salt Lake City, UT 84108                                                                First Class Mail
Chartered Organization         Lds Mountain View 3Rd Ward                              W J Ut Mtn View Stake                  2901 W 9000 S                                            West Jordan, UT 84088‐8600                                                              First Class Mail
Chartered Organization         Lds Mountain View 4Th / Lyman Stake                     Trapper Trails 589                     116 W 4Th St                                             Mountain View, WY 82939                                                                 First Class Mail
Chartered Organization         Lds Mountain View 6Th Ward                              W J Ut Mtn View Stake                  8455 S 2700 W                                            West Jordan, UT 84088                                                                   First Class Mail
Chartered Organization         Lds Mountain View 7Th Branch                            Wj Ut Mountain View Stake              8825 S 3200 W                                            West Jordan, UT 84088‐9661                                                              First Class Mail
Chartered Organization         Lds Mountain View 8Th Ward                              W J Ut Mtn View Stake                  2901 W 9000 S                                            West Jordan, UT 84088‐8600                                                              First Class Mail
Chartered Organization         Lds Mountain View Eighth Ward                           Utah National Parks 591                789 Arrowhead Trl                                        Payson, UT 84651                                                                        First Class Mail
Chartered Organization         Lds Mountain View First Ward                            Utah National Parks 591                1138 E 100 S.                                            Payson, UT 84651                                                                        First Class Mail
Chartered Organization         Lds Mountain View Ninth Ward                            Utah National Parks 591                75 S 600 E                                               Payson, UT 84651‐2358                                                                   First Class Mail
Chartered Organization         Lds Mountain View Second Ward                           Utah National Parks 591                75 S 600 E                                               Payson, UT 84651‐2358                                                                   First Class Mail
Chartered Organization         Lds Mountain View Seventh Ward                          Utah National Parks 591                681 E 500 N                                              Payson, UT 84651‐1941                                                                   First Class Mail
Chartered Organization         Lds Mountain View Ward                                  Brigham City South Stake               105 Fishburn Dr                                          Brigham City, UT 84302‐3347                                                             First Class Mail
Chartered Organization         Lds Mountain View Ward                                  Utah National Parks 591                370 N 4050 W                                             Cedar City, UT 84720                                                                    First Class Mail
Chartered Organization         Lds Mountain View Ward                                  Centerville Ut Stake                   950 N Main St                                            Centerville, UT 84014                                                                   First Class Mail
Chartered Organization         Lds Mountain View Ward                                  South Weber Stake                      7989 S 2250 E                                            South Weber, UT 84405‐9691                                                              First Class Mail
Chartered Organization         Lds Mountain View Ward ‐ Hemet Stake                    California Inland Empire Council 045   1120 De Anza Dr                                          San Jacinto, CA 92582‐2522                                                              First Class Mail
Chartered Organization         Lds Mountain View Ward ‐ Ontario Stake                  California Inland Empire Council 045   701 E Rosewood Ct                                        Ontario, CA 91764‐2413                                                                  First Class Mail
Chartered Organization         Lds Mountain View Ward ‐ Redlands Stake                 California Inland Empire Council 045   640 S Center St                                          Redlands, CA 92373‐5832                                                                 First Class Mail
Chartered Organization         Lds Mountain View Ward (Sp Fork)                        Utah National Parks 591                1557 Mountain View Dr                                    Spanish Fork, UT 84660‐2784                                                             First Class Mail
Chartered Organization         Lds Mountain View Ward Kingman Stake                    Las Vegas Area Council 328             3746 Mountain View Rd                                    Bullhead City, AZ 86442‐8701                                                            First Class Mail
Chartered Organization         Lds Mountain View Ward South                            Utah National Parks 591                1120 W Greens Lake Dr                                    Cedar City, UT 84720                                                                    First Class Mail
Chartered Organization         Lds Mountain View Ward Vancouver Stake                  Cascade Pacific Council 492            220 Ne Hearthwood Blvd                                   Vancouver, WA 98684‐7478                                                                First Class Mail
Chartered Organization         Lds Mountain View Ward, Golden Stake                    Denver Area Council 061                3480 Ames St                                             Wheat Ridge, CO 80212‐7012                                                              First Class Mail
Chartered Organization         Lds Mountain View Ward, Riverton Stake                  Greater Wyoming Council 638            3435 Riverside Dr                                        Riverton, WY 82501‐5522                                                                 First Class Mail
Chartered Organization         Lds Mountain Vista Ward ‐ Mesa Az                       Red Mountain Stake                     6439 E Inglewood St                                      Mesa, AZ 85205‐9504                                                                     First Class Mail
Chartered Organization         Lds Mountain Vista Ward ‐ Mesa Az                       Skyline Stake                          10305 E Southern Ave                                     Mesa, AZ 85208                                                                          First Class Mail
Chartered Organization         Lds Mountain Vista Ward Paradise Stake                  Las Vegas Area Council 328             3901 E Viking Rd                                         Las Vegas, NV 89121‐4806                                                                First Class Mail
Chartered Organization         Lds Mountain Vista Ward Sunrise Stake                   Las Vegas Area Council 328             1825 N Hollywood Blvd                                    Las Vegas, NV 89156‐7155                                                                First Class Mail
Chartered Organization         Lds Mountain Vistas Ward                                Kaysville Stake                        1505 Whispering Meadow Ln                                Kaysville, UT 84037                                                                     First Class Mail
Chartered Organization         Lds Mountains Edge Ward South Stake                     Las Vegas Area Council 328             7979 Mountains Edge Pkwy.                                Las Vegas, NV 89113                                                                     First Class Mail
Chartered Organization         Lds Mountainview Ward ‐ Boise N Stk                     Ore‐Ida Council 106 ‐ Bsa 106          8620 Goddard Rd                                          Boise, ID 83704                                                                         First Class Mail
Chartered Organization         Lds Mountainview Ward ‐ Cottonwood Az Stk               Grand Canyon Council 010               1377 E Hombre Dr                                         Cottonwood, AZ 86326‐4825                                                               First Class Mail
Chartered Organization         Lds Mountainville Fifth Ward                            Utah National Parks 591                653 S Pheasant Ridge Cir                                 Alpine, UT 84004‐2651                                                                   First Class Mail
Chartered Organization         Lds Mountainville First Ward                            Utah National Parks 591                98 E Canyon Crest Rd                                     Alpine, UT 84004                                                                        First Class Mail
Chartered Organization         Lds Mountainville Fourth Ward (Alpine)                  Utah National Parks 591                370 S Long Dr                                            Alpine, UT 84004                                                                        First Class Mail
Chartered Organization         Lds Mountainville Second Ward                           Utah National Parks 591                165 N 100 E                                              Alpine, UT 84004                                                                        First Class Mail
Chartered Organization         Lds Mountainville Third Ward                            Utah National Parks 591                901 E Village Way                                        Alpine, UT 84004                                                                        First Class Mail
Chartered Organization         Lds Mountainville Ward (Sanpete)                        Utah National Parks 591                23940 N 11600 E                                          Fairview, UT 84629‐5678                                                                 First Class Mail
Chartered Organization         Lds Mountian Vista Ward ‐ Qc Az South Stk               Grand Canyon Council 010               3132 W Santa Cruz Ave                                    Queen Creek, AZ 85142‐3022                                                              First Class Mail
Chartered Organization         Lds Mountlake Ward Shoreline Stake                      Mount Baker Council, Bsa 606           22015 48Th Ave W                                         Mountlake Terrace, WA 98043‐3471                                                        First Class Mail
Chartered Organization         Lds Moxee Ward/Selah Stake                              Grand Columbia Council 614             105 S Hillcrest Dr                                       Yakima, WA 98901                                                                        First Class Mail
Chartered Organization         Lds Moyle Park Ward                                     Utah National Parks 591                657 Windsor Ct                                           Alpine, UT 84004‐1934                                                                   First Class Mail
Chartered Organization         Lds Ms / Bon Air Ward                                   Heart Of Virginia Council 602          10660 Duryea Dr                                          Richmond, VA 23235‐2107                                                                 First Class Mail
Chartered Organization         Lds Ms / Burkeville Branch                              Heart Of Virginia Council 602          400 6Th St Nw Plum St                                    Burkeville, VA 23922                                                                    First Class Mail
Chartered Organization         Lds Ms / Cloverhill Ward                                Heart Of Virginia Council 602          4601 N Bailey Bridge Rd                                  Midlothian, VA 23112                                                                    First Class Mail
Chartered Organization         Lds Ms / Manchester Ward                                Heart Of Virginia Council 602          4601 N Bailey Bridge Rd                                  Midlothian, VA 23112                                                                    First Class Mail
Chartered Organization         Lds Ms / Midlothian Ward                                Heart Of Virginia Council 602          10660 Duryea Dr                                          Richmond, VA 23235‐2107                                                                 First Class Mail
Chartered Organization         Lds Ms/Manchester Ward                                  Heart Of Virginia Council 602          12440 Spring Run Rd                                      Chesterfield, VA 23832‐3845                                                             First Class Mail
Chartered Organization         Lds Mt Airy Ward Frederick Stake                        National Capital Area Council 082      7255 Ridge Rd                                            Mount Airy, MD 21771                                                                    First Class Mail
Chartered Organization         Lds Mt Airy Ward Frederick Stake                        National Capital Area Council 082      3811 Boteler Rd                                          Mount Airy, MD 21771‐7313                                                               First Class Mail
Chartered Organization         Lds Mt Bachelor Ward ‐ Bend Stake                       Crater Lake Council 491                2555 Nw Shevlin Park Rd                                  Bend, OR 97701                                                                          First Class Mail
Chartered Organization         Lds Mt Baldy Ward ‐ Chugach Stake                       Great Alaska Council 610               19701 Driftwood Bay Dr                                   Eagle River, AK 99577‐8821                                                              First Class Mail
Chartered Organization         Lds Mt Elden Ward ‐ Flagstaff Az East Stk               Grand Canyon Council 010               2401 E Linda Vista Dr                                    Flagstaff, AZ 86004                                                                     First Class Mail
Chartered Organization         Lds Mt Ensign 1St Ward (Spanish)                        W Bountiful Ut Stake                   1930 N 600 W                                             West Bountiful, UT 84087                                                                First Class Mail
Chartered Organization         Lds Mt Ensign 2Nd Ward (Spanish)                        Sl Rose Park Stake                     Great Salt Lake Council 590                              760N 1200 W                        Salt Lake City, Ut 84116                             First Class Mail
Chartered Organization         Lds Mt Erie Ward Oak Harbor Stake                       Mount Baker Council, Bsa 606           3720 H Ave                                               Anacortes, WA 98221                                                                     First Class Mail
Chartered Organization         Lds Mt Juneau Ward ‐ Juneau Alaska Stake                Great Alaska Council 610               P.O. Box 32599                                           Juneau, AK 99803‐2599                                                                   First Class Mail
Chartered Organization         Lds Mt Loafer Ward Salem                                Utah National Parks 591                839 S 350 W                                              Salem, UT 84653                                                                         First Class Mail
Chartered Organization         Lds Mt Loafer Ward Spanish Fork                         Utah National Parks 591                275 S 1400 E                                             Spanish Fork, UT 84660                                                                  First Class Mail
Chartered Organization         Lds Mt Loafer Ward Woodland Hills                       Utah National Parks 591                305 S Oakridge Cir                                       Woodland Hills, UT 84653‐2002                                                           First Class Mail
Chartered Organization         Lds Mt Norway Ward Vancouver East Stake                 Cascade Pacific Council 492            3920 Q St                                                Washougal, WA 98671                                                                     First Class Mail
Chartered Organization         Lds Mt Pleasant Fifth Ward                              Utah National Parks 591                49 S State St                                            Mt Pleasant, UT 84647                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                    Page 223 of 442
                                                                                   Case 20-10343-LSS                                  Doc 8171                                    Filed 01/06/22                                                     Page 239 of 457
                                                                                                                                                                     Exhibit B
                                                                                                                                                                      Service List
                                                                                                                                                               Served as set forth below

        Description                                                         Name                                                                                   Address                                                                                                     Email              Method of Service
Chartered Organization         Lds Mt Pleasant First Ward                                 Utah National Parks 591                300 W 500 N                                             Mt Pleasant, UT 84647                                                                         First Class Mail
Chartered Organization         Lds Mt Pleasant Fourth Ward                                Utah National Parks 591                49 S State St                                           Mt Pleasant, UT 84647                                                                         First Class Mail
Chartered Organization         Lds Mt Pleasant Second Ward                                Utah National Parks 591                295 S State St                                          Mt Pleasant, UT 84647‐1506                                                                    First Class Mail
Chartered Organization         Lds Mt Pleasant Sixth Ward                                 Utah National Parks 591                461 N 300 W                                             Mt Pleasant, UT 84647                                                                         First Class Mail
Chartered Organization         Lds Mt Pleasant Third Ward                                 Utah National Parks 591                295 S State St                                          Mt Pleasant, UT 84647‐1506                                                                    First Class Mail
Chartered Organization         Lds Mt Pleasant Ward                                       Chesapeake Stake                       412 Scarborough Dr                                      Chesapeake, VA 23322‐4134                                                                     First Class Mail
Chartered Organization         Lds Mt Pleasant Ward ‐ Midland Stake                       Water And Woods Council 782            1404 S Crawford St                                      Mount Pleasant, MI 48858‐4108                                                                 First Class Mail
Chartered Organization         Lds Mt Pleasant Ward Mt Pleasant Stake                     Coastal Carolina Council 550           2115 Us‐17                                              Mount Pleasant, SC 29466                                                                      First Class Mail
Chartered Organization         Lds Mt Pleasant Ward Port Angeles Stake                    Chief Seattle Council 609              591 Monroe Rd                                           Port Angeles, WA 98362                                                                        First Class Mail
Chartered Organization         Lds Mt Rose Ward ‐ Mt Rose Stake                           Nevada Area Council 329                4751 Neil Rd                                            Reno, NV 89502‐5878                                                                           First Class Mail
Chartered Organization         Lds Mt Rubidoux Ward Riverside Stake                       California Inland Empire Council 045   5900 Grand Ave                                          Riverside, CA 92504‐1328                                                                      First Class Mail
Chartered Organization         Lds Mt Taylor Ward Gallup Stake                            Great Swest Council 412                1010 Bondad Ave                                         Grants, NM 87020‐2179                                                                         First Class Mail
Chartered Organization         Lds Mt Vernon 1St Ward Mt Vernon Stake                     Mount Baker Council, Bsa 606           1700 E Hazel St                                         Mount Vernon, WA 98274‐5100                                                                   First Class Mail
Chartered Organization         Lds Mt Vernon 2Nd Ward Mt Vernon Stake                     Mount Baker Council, Bsa 606           1700 E Hazel St                                         Mount Vernon, WA 98274‐5100                                                                   First Class Mail
Chartered Organization         Lds Mt Vernon Ward Mt Vernon Stake                         National Capital Area Council 082      2000 George Washington Pkwy                             Alexandria, VA 22308                                                                          First Class Mail
Chartered Organization         Lds Mt Vernon Ward Mt Vernon Stake                         National Capital Area Council 082      2000 George Washington Pkwy                             Alexandria, VA 22308                                                                          First Class Mail
Chartered Organization         Lds Mt View Ward ‐ Bend Stake                              Crater Lake Council 491                1260 Ne Thompson Dr                                     Bend, OR 97701‐3745                                                                           First Class Mail
Chartered Organization         Lds Mt Zion Branch/Wilmington Nc Stake                     Cape Fear Council 425                  5132 S Nc Hwy 50                                        Wallace, NC 28466‐7471                                                                        First Class Mail
Chartered Organization         Lds Mtn Crest Ward Lone Mtn Stake                          Las Vegas Area Council 328             10070 Azure Dr                                          Las Vegas, NV 89149‐1382                                                                      First Class Mail
Chartered Organization         Lds Mtn Grove Ward ‐ W Plains Stake                        Ozark Trails Council 306               3145 N Hwy 95                                           Mountain Grove, MO 65711                                                                      First Class Mail
Chartered Organization         Lds Mtn Home 1St Ward ‐ Mtn Home Stk                       Ore‐Ida Council 106 ‐ Bsa 106          1030 N 14Th E                                           Mountain Home, ID 83647‐3810                                                                  First Class Mail
Chartered Organization         Lds Mtn Home 2Nd Ward ‐ Mtn Home Stk                       Ore‐Ida Council 106 ‐ Bsa 106          North of Airbase                                        Mountain Home, ID 83647                                                                       First Class Mail
Chartered Organization         Lds Mtn Home 3Rd Ward ‐ Mtn Home Stk                       Ore‐Ida Council 106 ‐ Bsa 106          14422 Airbase Rd                                        Mountain Home, ID 83647                                                                       First Class Mail
Chartered Organization         Lds Mtn Home 4Th Ward ‐ Mtn Home Stk                       Ore‐Ida Council 106 ‐ Bsa 106          1150 N 8Th E                                            Mountain Home, ID 83647‐2039                                                                  First Class Mail
Chartered Organization         Lds Mtn Home 5Th Ward ‐ Mtn Home Stk                       Ore‐Ida Council 106 ‐ Bsa 106          790 S Haskett St                                        Mountain Home, ID 83647‐3378                                                                  First Class Mail
Chartered Organization         Lds Mtn Home 7Th Ward ‐ Mtn Home Stk                       Ore‐Ida Council 106 ‐ Bsa 106          790 S Haskett St                                        Mountain Home, ID 83647‐3378                                                                  First Class Mail
Chartered Organization         Lds Mtn Home Ward                                          Springfield,Mosouth Stake              Westark Area Council 016                                Western Hills Loop                Mountain Home, Ar 72653                                     First Class Mail
Chartered Organization         Lds Mtn Point 10Th Ward                                    Draper Ut Mtn Point Stake              498 E 14088 S                                           Draper, UT 84020                                                                              First Class Mail
Chartered Organization         Lds Mtn Point 1St Ward                                     Draper Ut Mtn Point Stake              498 E Hollow Creek Rd                                   Draper, UT 84020‐8984                                                                         First Class Mail
Chartered Organization         Lds Mtn Point 3Rd Ward                                     Draper Ut Mtn Point Stake              498 E 14085 S                                           Draper, UT 84020                                                                              First Class Mail
Chartered Organization         Lds Mtn Point 4Th Ward                                     Draper Ut Mtn Point Stake              573 E 13800 S                                           Draper, UT 84020                                                                              First Class Mail
Chartered Organization         Lds Mtn Point 6Th Ward                                     Draper Ut Mtn Point Stake              498 E 14088 S                                           Draper, UT 84020                                                                              First Class Mail
Chartered Organization         Lds Mtn Point 8Th Ward                                     Draper Ut Mtn Point Stake              268 E Summer Leaf Dr                                    Draper, UT 84020‐5181                                                                         First Class Mail
Chartered Organization         Lds Mtn Shadow Ward N Las Vegas Stake                      Las Vegas Area Council 328             100 W Hammer Ln                                         North Las Vegas, NV 89031                                                                     First Class Mail
Chartered Organization         Lds Mtn Shadows 2Nd Ward                                   Wj Ut Mtn Shadows Stake                7825 S 2700 W                                           West Jordan, UT 84088                                                                         First Class Mail
Chartered Organization         Lds Mtn Shadows 3Rd Ward                                   W J Ut Mtn Shadows Stake               8136 S Old Bingham Hwy                                  West Jordan, UT 84088                                                                         First Class Mail
Chartered Organization         Lds Mtn Shadows 4Th Ward                                   W J Ut Mtn Shadows Stake               8136 S Old Bingham Hwy                                  West Jordan, UT 84088                                                                         First Class Mail
Chartered Organization         Lds Mtn Shadows 5Th Ward                                   W J Ut Mtn Shadows Stake               7925 S 2700 W                                           West Jordan, UT 84088                                                                         First Class Mail
Chartered Organization         Lds Mtn Shadows 6Th Ward                                   W J Ut Mtn Shadows Stake               8173 S 3200 W                                           West Jordan, UT 84088‐5218                                                                    First Class Mail
Chartered Organization         Lds Mtn Shadows 7Th Ward                                   W J Ut Mtn Shadows Stake               7925 S 2700 W                                           West Jordan, UT 84088                                                                         First Class Mail
Chartered Organization         Lds Mtn Shadows 8Th Ward                                   W J Ut Mtn Shadows Stake               8173 S 3200 W                                           West Jordan, UT 84088‐5218                                                                    First Class Mail
Chartered Organization         Lds Mtn Shadows Ward                                       Colorado Springs Stake                 5375 Centennial Blvd                                    Colorado Springs, CO 80919‐3161                                                               First Class Mail
Chartered Organization         Lds Mtn Shdws 1St Ward (Portu) Ward                        Wj Ut Mtn Shdws Stake                  8173 S 3200 W                                           West Jordan, UT 84088‐5218                                                                    First Class Mail
Chartered Organization         Lds Mtn View 4Th (Spn) Branch                              Wj Utah Mtn View Stake                 8825 S 3200 W                                           West Jordan, UT 84088‐9661                                                                    First Class Mail
Chartered Organization         Lds Mtn View Eleventh Br (Spanish)                         Utah National Parks 591                681 E 500 N                                             Payson, UT 84651‐1941                                                                         First Class Mail
Chartered Organization         Lds Mtn View Ward ‐ Paradise Vly Az                        Stake                                  3601 E Shea Blvd                                        Phoenix, AZ 85028                                                                             First Class Mail
Chartered Organization         Lds Mueller Park 10Th Ward                                 Bntfl Ut Mueller Pk Stake              1800 Mueller Park Rd                                    Bountiful, UT 84010                                                                           First Class Mail
Chartered Organization         Lds Mueller Park 1St Ward                                  Bntfl Ut Mueller Pk Stake              1825 S 800 E                                            Bountiful, UT 84010                                                                           First Class Mail
Chartered Organization         Lds Mueller Park 2Nd Ward                                  Bntfl Ut Mueller Pk Stake              1825 S 800 E                                            Bountiful, UT 84010                                                                           First Class Mail
Chartered Organization         Lds Mueller Park 3Rd Ward                                  Bntfl Ut Mueller Pk Stake              1825 S 800 E                                            Bountiful, UT 84010                                                                           First Class Mail
Chartered Organization         Lds Mueller Park 4Th Ward                                  Bntfl Ut Mueller Pk Stake              1320 E 1975 S                                           Bountiful, UT 84010                                                                           First Class Mail
Chartered Organization         Lds Mueller Park 5Th Ward                                  Bntfl Ut Mueller Pk Stake              1320 E 1975 S                                           Bountiful, UT 84010                                                                           First Class Mail
Chartered Organization         Lds Mueller Park 7Th Ward                                  Bntfl Ut Mueller Pk Stake              1800 Mueller Park Rd                                    Bountiful, UT 84010                                                                           First Class Mail
Chartered Organization         Lds Mueller Park 8Th Ward                                  Bntfl Ut Mueller Pk Stake              1320 E 1975 S                                           Bountiful, UT 84010                                                                           First Class Mail
Chartered Organization         Lds Mueller Park 9Th Ward                                  Bntfl Ut Mueller Pk Stake              1800 Mueller Park Rd                                    Bountiful, UT 84010                                                                           First Class Mail
Chartered Organization         Lds Mukilteo Ward Everett Stake                            Mount Baker Council, Bsa 606           9509 19Th Ave Se                                        Everett, WA 98208‐3804                                                                        First Class Mail
Chartered Organization         Lds Mulberry Ward                                          Utah National Parks 591                2668 E Crimson Ridge Dr                                 St George, UT 84790                                                                           First Class Mail
Chartered Organization         Lds Muncie Stk 1St Ward                                    Crossroads Of America 160              4800 W Robinwood Dr                                     Muncie, IN 47304‐5006                                                                         First Class Mail
Chartered Organization         Lds Muncie Stk 2Nd Ward                                    Crossroads Of America 160              4800 W Robinwood Dr                                     Muncie, IN 47304‐5006                                                                         First Class Mail
Chartered Organization         Lds Muncie Stk Anderson                                    Crossroads Of America 160              200 W 46Th St                                           Anderson, IN 46013‐4504                                                                       First Class Mail
Chartered Organization         Lds Muncie Stk Connersville                                Crossroads Of America 160              2230 N Grand Ave                                        Connersville, IN 47331‐2342                                                                   First Class Mail
Chartered Organization         Lds Muncie Stk Elwood                                      Crossroads Of America 160              6025 W State Rd 28                                      Elwood, IN 46036‐8942                                                                         First Class Mail
Chartered Organization         Lds Muncie Stk New Castle                                  Crossroads Of America 160              3701 Roberta St                                         New Castle, IN 47362‐1560                                                                     First Class Mail
Chartered Organization         Lds Muncie Stk Richmond                                    Crossroads Of America 160              3333 Backmeyer Rd                                       Richmond, IN 47374‐6735                                                                       First Class Mail
Chartered Organization         Lds Murphy Creek Ward                                      Grants Pass Stake                      1969 Williams Hwy                                       Grants Pass, OR 97527‐5693                                                                    First Class Mail
Chartered Organization         Lds Murray 10Th Ward/Murray West Stake                     Great Salt Lake Council 590            5605 S Vine St                                          Murray, UT 84107                                                                              First Class Mail
Chartered Organization         Lds Murray 11Th Ward/Murray West Stake                     Great Salt Lake Council 590            5750 S Nena Way                                         Salt Lake City, UT 84107                                                                      First Class Mail
Chartered Organization         Lds Murray 12Th Ward/Murray Ut Stk                         Great Salt Lake Council 590            363 E Vine St                                           Salt Lake City, UT 84107‐4947                                                                 First Class Mail
Chartered Organization         Lds Murray 13Th Ward/Murray West Stake                     Great Salt Lake Council 590            6300 S 700 W                                            Salt Lake City, UT 84123                                                                      First Class Mail
Chartered Organization         Lds Murray 15Th Ward                                       Murray Ut Parkway Stake                5555 S 700 W                                            Salt Lake City, UT 84123                                                                      First Class Mail
Chartered Organization         Lds Murray 16Th Ward                                       Murray Ut Parkway Stake                619 W 5750 S                                            Salt Lake City, UT 84123                                                                      First Class Mail
Chartered Organization         Lds Murray 1St Ward/Murray Ut Stk                          Great Salt Lake Council 590            363 E Vine St                                           Salt Lake City, UT 84107‐4947                                                                 First Class Mail
Chartered Organization         Lds Murray 22Nd Ward                                       Murray Ut Parkway Stake                619 W 5750 S                                            Murray, UT 84123                                                                              First Class Mail
Chartered Organization         Lds Murray 23Rd Ward/Murray Ut Stk                         Great Salt Lake Council 590            755 E Three Fountains Cir                               Salt Lake City, UT 84107                                                                      First Class Mail
Chartered Organization         Lds Murray 25Th Ward/Murray Ut Stk                         Great Salt Lake Council 590            363 E Vine St                                           Salt Lake City, UT 84107‐4947                                                                 First Class Mail
Chartered Organization         Lds Murray 28Th Ward                                       Murray Ut Parkway Stake                932 W Greenoaks Dr                                      Murray, UT 84123                                                                              First Class Mail
Chartered Organization         Lds Murray 29Th Ward/Murray West Stake                     Great Salt Lake Council 590            6300 S 700 W                                            Salt Lake City, UT 84123                                                                      First Class Mail
Chartered Organization         Lds Murray 2Nd (Spanish) Ward                              Murray Ut Stake                        755 E Three Fountains Cir                               Salt Lake City, UT 84107                                                                      First Class Mail
Chartered Organization         Lds Murray 32Nd Ward                                       Murray Ut Parkway Stake                5555 S 700 W                                            Salt Lake City, UT 84123                                                                      First Class Mail
Chartered Organization         Lds Murray 33Rd Ward                                       Murray Ut Parkway Stake                932 W Greenoaks Dr                                      Salt Lake City, UT 84123                                                                      First Class Mail
Chartered Organization         Lds Murray 3Rd Ward/Murray Ut Stk                          Great Salt Lake Council 590            160 E 4600 S                                            Murray, UT 84107                                                                              First Class Mail
Chartered Organization         Lds Murray Ward                                            Lincoln Heritage Council 205           602 S 16Th St                                           Murray, KY 42071‐2284                                                                         First Class Mail
Chartered Organization         Lds Murrayhill Ward Bvtn West Stake                        Cascade Pacific Council 492            8640 Sw Turquoise Loop                                  Beaverton, OR 97007‐7170                                                                      First Class Mail
Chartered Organization         Lds Murrieta Stake Troop‐Murrieta Stake                    California Inland Empire Council 045   24820 Las Brisas Rd                                     Murrieta, CA 92562‐4066                                                                       First Class Mail
Chartered Organization         Lds Murrieta Ward ‐ Murrieta Stake                         California Inland Empire Council 045   32800 Washington St                                     Murrieta, CA 92562                                                                            First Class Mail
Chartered Organization         Lds Muscatine Ward Iowa City Stake                         Illowa Council 133                     2902 Lucas St                                           Muscatine, IA 52761‐2160                                                                      First Class Mail
Chartered Organization         Lds Muskogee Ward ‐ Tulsa Ok East Stake                    Indian Nations Council 488             3008 E Hancock St                                       Muskogee, OK 74403                                                                            First Class Mail
Chartered Organization         Lds Muskrat Springs Ward                                   Pioneer Trail Stake                    5000 S 5900 W                                           Hooper, UT 84315‐9602                                                                         First Class Mail
Chartered Organization         Lds Mustang 2Nd Ward Okc South Stake                       Last Frontier Council 480              925 W Kentuck                                           Mustang, OK 73064                                                                             First Class Mail
Chartered Organization         Lds Mustang Ward Okc Stake                                 Last Frontier Council 480              925 W Kentuck                                           Mustang, OK 73064                                                                             First Class Mail
Chartered Organization         Lds Myers Way Branch Seattle Stake                         Chief Seattle Council 609              9500 Myers Way S                                        Seattle, WA 98108                                                                             First Class Mail
Chartered Organization         Lds Myton First Ward                                       Utah National Parks 591                447 E Lagoon St                                         Roosevelt, UT 84066‐3019                                                                      First Class Mail
Chartered Organization         Lds Myton Second Ward                                      Utah National Parks 591                P.O. Box 245                                            Myton, UT 84052‐0245                                                                          First Class Mail
Chartered Organization         Lds N Augusta Ward Augusta Georgia Stake                   Georgia‐Carolina 093                   1704 Bunting Dr                                         North Augusta, SC 29841‐3190                                                                  First Class Mail
Chartered Organization         Lds N Br Ward, Morristown Nj Stake                         Patriots Path Council 358              35 Lamington Rd                                         Branchburg, NJ 08876‐3314                                                                     First Class Mail
Chartered Organization         Lds N Hanover Ward E Brunswick Nj Stake                    Garden State Council 690               373 Croshaw Rd                                          Wrightstown, NJ 08562                                                                         First Class Mail
Chartered Organization         Lds N Highlands 2Nd Ward Antelope Stake                    Golden Empire Council 047              6450 Walerga Rd                                         North Highlands, CA 95660                                                                     First Class Mail
Chartered Organization         Lds N Holllywood 1St Ward                                  Verdugo Hills Council 058              11830 Saticoy St                                        North Hollywood, CA 91605‐2848                                                                First Class Mail
Chartered Organization         Lds N Hollywood 1St Ward                                   Verdugo Hills Council 058              11830 Saticoy St                                        North Hollywood, CA 91605‐2848                                                                First Class Mail
Chartered Organization         Lds Naches Ward/Selah Stake                                Grand Columbia Council 614             8321 State Rte 410                                      Naches, WA 98937‐9495                                                                         First Class Mail
Chartered Organization         Lds Nags Head Ward Chesapeake Stake                        Tidewater Council 596                  Windjammer Dr                                           Nags Head, NC 27959                                                                           First Class Mail
Chartered Organization         Lds Nampa 10Th Ward ‐ Nampa S Stk                          Ore‐Ida Council 106 ‐ Bsa 106          502 Sherry Ln                                           Nampa, ID 83686‐8874                                                                          First Class Mail
Chartered Organization         Lds Nampa 11Th Ward ‐ Nampa W Stk                          Ore‐Ida Council 106 ‐ Bsa 106          1500 Smith Ave                                          Nampa, ID 83651                                                                               First Class Mail
Chartered Organization         Lds Nampa 12Th Ward ‐ Nampa W Stk                          Ore‐Ida Council 106 ‐ Bsa 106          1500 Smith Ave                                          Nampa, ID 83651                                                                               First Class Mail
Chartered Organization         Lds Nampa 13Th Ward ‐ Nampa N Stk                          Ore‐Ida Council 106 ‐ Bsa 106          18463 Northside Blvd                                    Nampa, ID 83687                                                                               First Class Mail
Chartered Organization         Lds Nampa 14Th Ward ‐ Nampa W Stk                          Ore‐Ida Council 106 ‐ Bsa 106          339 Winther Blvd                                        Nampa, ID 83651‐2029                                                                          First Class Mail
Chartered Organization         Lds Nampa 15Th Ward ‐ Nampa E Stk                          Ore‐Ida Council 106 ‐ Bsa 106          2212 E Amity Ave                                        Nampa, ID 83686‐7329                                                                          First Class Mail
Chartered Organization         Lds Nampa 16Th Ward ‐ Nampa N Stk                          Ore‐Ida Council 106 ‐ Bsa 106          504 11Th Ave S                                          Nampa, ID 83651‐4243                                                                          First Class Mail
Chartered Organization         Lds Nampa 17Th Ward ‐ Nampa S Stk                          Ore‐Ida Council 106 ‐ Bsa 106          7809 Deer Flat Rd                                       Nampa, ID 83686                                                                               First Class Mail
Chartered Organization         Lds Nampa 18Th Ward ‐ Nampa E Stk                          Ore‐Ida Council 106 ‐ Bsa 106          3904 E Greenhurst Rd                                    Nampa, ID 83686                                                                               First Class Mail
Chartered Organization         Lds Nampa 19Th Ward ‐ Nampa S Stk                          Ore‐Ida Council 106 ‐ Bsa 106          227 Sunrise Rim Rd                                      Nampa, ID 83686‐8325                                                                          First Class Mail
Chartered Organization         Lds Nampa 1St Ward ‐ Nampa N Stk                           Ore‐Ida Council 106 ‐ Bsa 106          18486 Middleton Rd                                      Nampa, ID 83687‐8030                                                                          First Class Mail
Chartered Organization         Lds Nampa 20Th Ward ‐ Nampa E Stk                          Ore‐Ida Council 106 ‐ Bsa 106          3166 S Clearwater Ave                                   Nampa, ID 83686‐5094                                                                          First Class Mail
Chartered Organization         Lds Nampa 22Nd Ward ‐ Nampa S Stk                          Ore‐Ida Council 106 ‐ Bsa 106          927 Ruth Ln                                             Nampa, ID 83686‐8835                                                                          First Class Mail
Chartered Organization         Lds Nampa 23Rd Ward ‐ Nampa N Stk                          Ore‐Ida Council 106 ‐ Bsa 106          6111 Birch Ln                                           Nampa, ID 83687‐4148                                                                          First Class Mail
Chartered Organization         Lds Nampa 24Th Ward ‐ Nampa E Stk                          Ore‐Ida Council 106 ‐ Bsa 106          88 S Happy Valley Rd                                    Nampa, ID 83687                                                                               First Class Mail
Chartered Organization         Lds Nampa 25Th Ward ‐ Nampa S Stk                          Ore‐Ida Council 106 ‐ Bsa 106          2587 S Skyview Dr                                       Nampa, ID 83686‐8761                                                                          First Class Mail
Chartered Organization         Lds Nampa 26Th Ward ‐ Nampa W Stk                          Ore‐Ida Council 106 ‐ Bsa 106          13495 Roosevelt Ave                                     Nampa, ID 83686                                                                               First Class Mail
Chartered Organization         Lds Nampa 27Th Ward ‐ Nampa W Stk                          Ore‐Ida Council 106 ‐ Bsa 106          1500 Smith Ave                                          Nampa, ID 83651                                                                               First Class Mail
Chartered Organization         Lds Nampa 2Nd Ward ‐ Nampa E Stk                           Ore‐Ida Council 106 ‐ Bsa 106          2400 E Amity Ave                                        Nampa, ID 83686                                                                               First Class Mail
Chartered Organization         Lds Nampa 30Th Ward ‐ Nampa E Stk                          Ore‐Ida Council 106 ‐ Bsa 106          3904 E Greenhurst Rd                                    Nampa, ID 83686                                                                               First Class Mail
Chartered Organization         Lds Nampa 33Rd Ward ‐ Nampa N Stk                          Ore‐Ida Council 106 ‐ Bsa 106          6111 Birch Ln                                           Nampa, ID 83687‐4148                                                                          First Class Mail
Chartered Organization         Lds Nampa 34Th Ward ‐ Nampa E Stk                          Ore‐Ida Council 106 ‐ Bsa 106          3904 E Greenhurst Rd                                    Nampa, ID 83686                                                                               First Class Mail
Chartered Organization         Lds Nampa 35Th Ward ‐ Nampa W Stk                          Ore‐Ida Council 106 ‐ Bsa 106          1500 Smith Ave                                          Nampa, ID 83651                                                                               First Class Mail
Chartered Organization         Lds Nampa 36Th Ward ‐ Nampa N Stk                          Ore‐Ida Council 106 ‐ Bsa 106          18486 Middleton Rd                                      Nampa, ID 83687‐8030                                                                          First Class Mail
Chartered Organization         Lds Nampa 37Th Ward ‐ Nampa S Stk                          Ore‐Ida Council 106 ‐ Bsa 106          2226 S Herron Dr                                        Nampa, ID 83686‐5341                                                                          First Class Mail
Chartered Organization         Lds Nampa 38Th Ward ‐ Nampa W Stk                          Ore‐Ida Council 106 ‐ Bsa 106          11455 Lone Star Rd                                      Nampa, ID 83651‐8207                                                                          First Class Mail
Chartered Organization         Lds Nampa 3Rd Ward ‐ Nampa N Stk                           Ore‐Ida Council 106 ‐ Bsa 106          18463 Northside Blvd                                    Nampa, ID 83687                                                                               First Class Mail
Chartered Organization         Lds Nampa 4Th Ward ‐ Nampa W Stk                           Ore‐Ida Council 106 ‐ Bsa 106          121 N Canyon St                                         Nampa, ID 83651                                                                               First Class Mail
Chartered Organization         Lds Nampa 5Th Ward ‐ Nampa S Stk                           Ore‐Ida Council 106 ‐ Bsa 106          7809 Deerflat Rd                                        Nampa, ID 83651                                                                               First Class Mail
Chartered Organization         Lds Nampa 6Th Ward ‐ Nampa W Stk                           Ore‐Ida Council 106 ‐ Bsa 106          1500 Smith Ave                                          Nampa, ID 83651                                                                               First Class Mail
Chartered Organization         Lds Nampa 7Th Ward ‐ Nampa S Stk                           Ore‐Ida Council 106 ‐ Bsa 106          3707 Sunnyridge Rd                                      Nampa, ID 83686                                                                               First Class Mail
Chartered Organization         Lds Nampa 8Th Ward ‐ Nampa W Stk                           Ore‐Ida Council 106 ‐ Bsa 106          11288 Roosevelt Ave                                     Nampa, ID 83686                                                                               First Class Mail
Chartered Organization         Lds Nampa 9Th Ward ‐ Nampa E Stk                           Ore‐Ida Council 106 ‐ Bsa 106          3904 E Greenhurst Rd                                    Nampa, ID 83686                                                                               First Class Mail
Chartered Organization         Lds Nanakuli Ward ‐ Makakilo Stake                         Aloha Council, Bsa 104                 85‐574 Plantation Rd                                    Waianae, HI 96792‐2660                                                                        First Class Mail
Chartered Organization         Lds Napa 1St Ward ‐ Napa Stake                             Mt Diablo‐Silverado Council 023        15 Chapel Hill Dr                                       Napa, CA 94559                                                                                First Class Mail
Chartered Organization         Lds Napa 2Nd Ward ‐ Napa Stake                             Mt Diablo‐Silverado Council 023        2590 Trower Ave                                         Napa, CA 94558                                                                                First Class Mail
Chartered Organization         Lds Naperville 1St Ward ‐ Naperville Stake                 Three Fires Council 127                25W341 Ridgeland Rd                                     Naperville, IL 60563                                                                          First Class Mail
Chartered Organization         Lds Naperville 2Nd Ward                                    Naperville Stake                       Three Fires Council 127                                 1411 95Th St                      Lds Naperville 2Nd Ward      Naperville, Il 60564           First Class Mail
Chartered Organization         Lds Naperville 4Th Ward ‐ Naperville Stake                 Three Fires Council 127                1411 95Th St                                            Naperville, IL 60564‐8911                                                                     First Class Mail
Chartered Organization         Lds Naperville 6Th Ward ‐ Naperville Stake                 Three Fires Council 127                25W341 Ridgeland Rd                                     Naperville, IL 60563                                                                          First Class Mail
Chartered Organization         Lds Naperville Third Ward ‐ Joliet Stake                   Three Fires Council 127                1411 95Th St                                            Naperville, IL 60564‐8911                                                                     First Class Mail
Chartered Organization         Lds Naples First Ward                                      Utah National Parks 591                1966 S 2000 E                                           Vernal, UT 84078‐9126                                                                         First Class Mail
Chartered Organization         Lds Naples Second Ward                                     Utah National Parks 591                2313 S 1500 E                                           Vernal, UT 84078‐8677                                                                         First Class Mail
Chartered Organization         Lds Naples Third Ward                                      Utah National Parks 591                802 Jambee Ct                                           Naples, UT 84078‐9268                                                                         First Class Mail
Chartered Organization         Lds Naples Ward Fort Myers Stake                           Southwest Florida Council 088          695 102Nd Ave N                                         Naples, FL 34108‐3212                                                                         First Class Mail
Chartered Organization         Lds Naples Ward Fort Myers Stake                           Southwest Florida Council 088          2006 Prince Dr                                          Naples, FL 34110‐1033                                                                         First Class Mail
Chartered Organization         Lds Narcoossee Ward                                        Central Florida Council 083            6221 Oak Shore Dr                                       St Cloud, FL 34771‐8686                                                                       First Class Mail
Chartered Organization         Lds Narragansett Ward                                      Narragansett 546                       1240 Boston Neck Rd                                     Narragansett, RI 02882                                                                        First Class Mail
Chartered Organization         Lds Nashua 1St Ward Nashua Nh Stake                        Daniel Webster Council, Bsa 330        110 Concord St                                          Nashua, NH 03064‐1704                                                                         First Class Mail
Chartered Organization         Lds Nashville Ward Albany Stake                            South Georgia Council 098              902 Adel Rd                                             Nashville, GA 31639‐2750                                                                      First Class Mail
Chartered Organization         Lds Natomas 1St Ward Sac North Stake                       Golden Empire Council 047              751 Rio Tierra Ave                                      Sacramento, CA 95833‐1251                                                                     First Class Mail
Chartered Organization         Lds Natomas 3Rd Ward Sac North Stake                       Golden Empire Council 047              751 Rio Tierra Ave                                      Sacramento, CA 95833‐1251                                                                     First Class Mail
Chartered Organization         Lds Nazareth Ward Pa Scranton Stake                        Minsi Trails Council 502               138 Rose Inn Ave                                        Nazareth, PA 18064                                                                            First Class Mail
Chartered Organization         Lds Nebraska City Ward                                     Cornhusker Council 324                 168N 56th Rd                                            Nebraska City, NE 68410                                                                       First Class Mail
Chartered Organization         Lds Needles Ward Lake Havasu City Stake                    Las Vegas Area Council 328             2001 El Monte Dr                                        Needles, CA 92363                                                                             First Class Mail
Chartered Organization         Lds Neely Ward ‐ Gilbert Az Stapley Stk                    Grand Canyon Council 010               1100 N Cooper Rd                                        Gilbert, AZ 85233                                                                             First Class Mail
Chartered Organization         Lds Neenah Ward Appleton Stake                             Bay‐Lakes Council 635                  115 Castle Oak Dr                                       Neenah, WI 54956‐5085                                                                         First Class Mail
Chartered Organization         Lds Neff's Canyon Ward                                     Sl Mt Olympus Stake                    4176 Adonis Dr                                          Salt Lake City, UT 84124                                                                      First Class Mail
Chartered Organization         Lds Nehalem Ward Vancouver North Stake                     Cascade Pacific Council 492            10351 Ne 152Nd Ave                                      Vancouver, WA 98682                                                                           First Class Mail
Chartered Organization         Lds Nellis Manor Ward N Las Vegas Stake                    Las Vegas Area Council 328             4416 Whistling Duck Ave                                 Las Vegas, NV 89115‐1412                                                                      First Class Mail
Chartered Organization         Lds Nelson Peak Ward/Erda Utah Stake                       Great Salt Lake Council 590            323 E Erda Way                                          Erda, UT 84074‐9735                                                                           First Class Mail
Chartered Organization         Lds Neola First Ward                                       Utah National Parks 591                4143 W 6885 N                                           Neola, UT 84053                                                                               First Class Mail
Chartered Organization         Lds Neola Second Ward                                      Utah National Parks 591                P.O. Box 163                                            Neola, UT 84053‐0163                                                                          First Class Mail
Chartered Organization         Lds Neosho Ward ‐ Joplin Stake                             Ozark Trails Council 306               1227 Ridgewood Rd                                       Neosho, MO 64850                                                                              First Class Mail
Chartered Organization         Lds Nephi Eighth Ward                                      Utah National Parks 591                562 S 200 E                                             Nephi, UT 84648‐2112                                                                          First Class Mail
Chartered Organization         Lds Nephi Fifth Ward                                       Utah National Parks 591                345 E 500 N                                             Nephi, UT 84648‐1238                                                                          First Class Mail
Chartered Organization         Lds Nephi First Ward                                       Utah National Parks 591                222 S 100 E                                             Nephi, UT 84648‐1811                                                                          First Class Mail
Chartered Organization         Lds Nephi Fourth Ward                                      Utah National Parks 591                345 E 500 N                                             Nephi, UT 84648‐1238                                                                          First Class Mail
Chartered Organization         Lds Nephi Ninth Ward                                       Utah National Parks 591                1125 N 400 E                                            Nephi, UT 84648‐2202                                                                          First Class Mail
Chartered Organization         Lds Nephi Second Ward                                      Utah National Parks 591                1227 S 250 E                                            Nephi, UT 84648‐5004                                                                          First Class Mail
Chartered Organization         Lds Nephi Seventh Ward                                     Utah National Parks 591                337 S 200 W                                             Nephi, UT 84648‐1741                                                                          First Class Mail
Chartered Organization         Lds Nephi Sixth Ward                                       Utah National Parks 591                351 N 100 W                                             Nephi, UT 84648‐1425                                                                          First Class Mail
Chartered Organization         Lds Nephi Tenth Ward                                       Utah National Parks 591                1125 N 400 E                                            Nephi, UT 84648‐2202                                                                          First Class Mail
Chartered Organization         Lds Nephi Third Ward                                       Utah National Parks 591                1125 N 400 E                                            Nephi, UT 84648‐2202                                                                          First Class Mail
Chartered Organization         Lds Nevada City Ward Auburn Stake                          Golden Empire Council 047              615 Hollow Way                                          Nevada City, CA 95959‐3271                                                                    First Class Mail
Chartered Organization         Lds New Albany Ward                                        Lincoln Heritage Council 205           1524 Slate Run Rd                                       New Albany, IN 47150                                                                          First Class Mail
Chartered Organization         Lds New Bloomfield Ward Harrisburg Stake                   New Birth of Freedom 544               Cold Storage Rd                                         New Bloomfield, PA 17068                                                                      First Class Mail
Chartered Organization         Lds New Boston, Tx                                         Caddo Area Council 584                 810 S Mccoy Blvd                                        New Boston, TX 75570‐4004                                                                     First Class Mail
Chartered Organization         Lds New Braunfels 1St Ward ‐ Kyle Stake                    Alamo Area Council 583                 1390 Hanz Dr                                            New Braunfels, TX 78130‐3446                                                                  First Class Mail
Chartered Organization         Lds New Braunfels 2Nd Ward ‐ Kyle Stake                    Alamo Area Council 583                 230 Hamburg Ave                                         New Braunfels, TX 78132‐5123                                                                  First Class Mail
Chartered Organization         Lds New Canaan Ward Yorktown Stake                         Connecticut Yankee Council Bsa 072     682 South Ave                                           New Canaan, CT 06840‐6324                                                                     First Class Mail
Chartered Organization         Lds New Harmony Ward                                       Utah National Parks 591                12 S Main                                               New Harmony, UT 84757                                                                         First Class Mail
Chartered Organization         Lds New Haven 1 Ward New Haven Stake                       Connecticut Yankee Council Bsa 072     84 Trumbull St                                          New Haven, CT 06511‐3709                                                                      First Class Mail
Chartered Organization         Lds New Haven Stake Southbury Ward                         Connecticut Yankee Council Bsa 072     1021 Roxbury Rd                                         Southbury, CT 06488                                                                           First Class Mail
Chartered Organization         Lds New Haven Stake Waterbury Ward                         Connecticut Yankee Council Bsa 072     100 Williamson Dr                                       Waterbury, CT 06710‐1134                                                                      First Class Mail
Chartered Organization         Lds New Haven Ward ‐ Tulsa Ok Stake                        Indian Nations Council 488             3640 S New Haven Ave                                    Tulsa, OK 74135‐2255                                                                          First Class Mail
Chartered Organization         Lds New Hope Ward, Cedar Park Stake                        Capitol Area Council 564               2101 Bagdad Rd                                          Cedar Park, TX 78613‐6411                                                                     First Class Mail
Chartered Organization         Lds New London Stake Cromwell Ward                         Connecticut Rivers Council, Bsa 066    130 South St                                            Cromwell, CT 06416‐2261                                                                       First Class Mail
Chartered Organization         Lds New London Stake Groton Ward                           Connecticut Rivers Council, Bsa 066    1230 Flanders Rd                                        Mystic, CT 06355‐1006                                                                         First Class Mail
Chartered Organization         Lds New London Stake Madison Ward                          Connecticut Rivers Council, Bsa 066    275 Warpas Rd                                           Madison, CT 06443                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                      Page 224 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                   Filed 01/06/22                           Page 240 of 457
                                                                                                                                                                  Exhibit B
                                                                                                                                                                   Service List
                                                                                                                                                            Served as set forth below

        Description                                                       Name                                                                                  Address                                                                   Email              Method of Service
Chartered Organization         Lds New Plymouth 2Nd Ward ‐ Ontario Stk                  Ore‐Ida Council 106 ‐ Bsa 106          521 S Plymouth Ave                                     New Plymouth, ID 83655                                      First Class Mail
Chartered Organization         Lds New Plymouth Ward ‐ Ontario Stk                      Ore‐Ida Council 106 ‐ Bsa 106          521 S Plymouth Ave                                     New Plymouth, ID 83655                                      First Class Mail
Chartered Organization         Lds New Smyrna Deland                                    Central Florida Council 083            2 Fairgreen Ave                                        New Smyrna Beach, FL 32168‐6113                             First Class Mail
Chartered Organization         Lds Newark 3Rd Ward                                      Del Mar Va 081                         500 W Chestnut Hill Rd                                 Newark, DE 19713‐1158                                       First Class Mail
Chartered Organization         Lds Newark Ward Granville                                Simon Kenton Council 441               6603 Dutch Ln Nw                                       Johnstown, OH 43031‐9177                                    First Class Mail
Chartered Organization         Lds Newberg First Ward Mcminnville Stake                 Cascade Pacific Council 492            1212 N Deborah Rd                                      Newberg, OR 97132‐2005                                      First Class Mail
Chartered Organization         Lds Newberg Second Ward                                  Mcminnville Stake                      1212 N Deborah Rd                                      Newberg, OR 97132‐2005                                      First Class Mail
Chartered Organization         Lds Newburgh Evansville In                               Buffalo Trace 156                      8020 Covert Ave                                        Evansville, IN 47715‐6293                                   First Class Mail
Chartered Organization         Lds Newcastle Ward/Sandy Ut Granite Stk                  Great Salt Lake Council 590            2180 E Meadow Lark Way                                 Sandy, UT 84093                                             First Class Mail
Chartered Organization         Lds Newlin Meadows Ward, Parker Stake                    Denver Area Council 061                11755 Tara Ln                                          Parker, CO 80134‐3023                                       First Class Mail
Chartered Organization         Lds Newmark Ward Liberty Stake                           Heart Of America Council 307           5550 Jackson Ave                                       Kansas City, MO 64130                                       First Class Mail
Chartered Organization         Lds Newnan Ward Fayetteville Stake                       Flint River Council 095                821 Old Atlanta Hwy                                    Newnan, GA 30263                                            First Class Mail
Chartered Organization         Lds Newport Beach 1St Ward                               Newport Beach Stake                    801 Dover Dr                                           Newport Beach, CA 92663‐5929                                First Class Mail
Chartered Organization         Lds Newport Beach 2Nd Ward                               Newport Beach Stake                    801 Dover Dr                                           Newport Beach, CA 92663‐5929                                First Class Mail
Chartered Organization         Lds Newport Hills Ward ‐ Newport Beach Stk               Orange County Council 039              2300 Bonita Canyon Dr                                  Newport Beach, CA 92660‐9118                                First Class Mail
Chartered Organization         Lds Newport News                                         Colonial Virginia Council 595          902 Denbigh Blvd                                       Newport News, VA 23608‐4489                                 First Class Mail
Chartered Organization         Lds Newport News Ward ‐ Newport News Stake               Colonial Virginia Council 595          902 Denbigh Blvd                                       Newport News, VA 23608‐4489                                 First Class Mail
Chartered Organization         Lds Newport Ward                                         Henderson Lake Mead Stake              303 S Cholla St                                        Henderson, NV 89015‐6121                                    First Class Mail
Chartered Organization         Lds Newport Ward                                         Narragansett 546                       177 Miantonomi Ave                                     Middletown, RI 02842‐5477                                   First Class Mail
Chartered Organization         Lds Newport Ward                                         Palmetto Council 549                   1130 Alexander Love Hwy E                              York, SC 29745‐9701                                         First Class Mail
Chartered Organization         Lds Newport Ward ‐ Corvallis Stake                       Oregon Trail Council 697               2229 Ne Crestview Dr                                   Newport, OR 97365‐1805                                      First Class Mail
Chartered Organization         Lds Newport Ward Bellevue South Stake                    Chief Seattle Council 609              4200 124Th Ave Se                                      Bellevue, WA 98006                                          First Class Mail
Chartered Organization         Lds Newton ‐ Conover Ward                                Piedmont Council 420                   1542 Radio Station Rd                                  Newton, NC 28658‐9422                                       First Class Mail
Chartered Organization         Lds Newton Ward ‐ Wichita Stake                          Quivira Council, Bsa 198               1201 Grandview Ave                                     Newton, KS 67114‐1515                                       First Class Mail
Chartered Organization         Lds Newtown 1St Ward ‐ Waipahu Stake                     Aloha Council, Bsa 104                 98‐530 Kaahele St                                      Aiea, HI 96701                                              First Class Mail
Chartered Organization         Lds Newtown 2Nd Ward ‐ Waipahu Stake                     Aloha Council, Bsa 104                 94‐311 Pupuole St Apt 403                              Waipahu, HI 96797‐2346                                      First Class Mail
Chartered Organization         Lds Newtown Ward Virginia Beach Stake                    Tidewater Council 596                  4873 Bonney Rd                                         Virginia Beach, VA 23462‐4483                               First Class Mail
Chartered Organization         Lds Newtown Ward Yorktown Stake                          Connecticut Yankee Council Bsa 072     16 Saw Mill Rd                                         Newtown, CT 06470‐1440                                      First Class Mail
Chartered Organization         Lds Ngate 2Nd Ward ‐ Walnut Creek Stake                  Mt Diablo‐Silverado Council 023        100 N Gate Rd                                          Walnut Creek, CA 94598                                      First Class Mail
Chartered Organization         Lds Nibley Park Ward/S L Granite Stk                     Great Salt Lake Council 590            2450 S 600 E                                           Salt Lake City, UT 84106‐1320                               First Class Mail
Chartered Organization         Lds Niceville Second Ward                                Gulf Coast Council 773                 1100 Palm Blvd S                                       Niceville, FL 32578‐2634                                    First Class Mail
Chartered Organization         Lds Niceville Ward                                       Gulf Coast Council 773                 1100 Palm Blvd S                                       Niceville, FL 32578‐2634                                    First Class Mail
Chartered Organization         Lds Nicholasville Ward                                   Blue Grass Council 204                 405 Bell Lawn                                          Nicholasville, KY 40356                                     First Class Mail
Chartered Organization         Lds Niles Ward ‐ South Bend Stake                        Lasalle Council 165                    1409 Niles Buchanan Rd                                 Niles, MI 49120‐3527                                        First Class Mail
Chartered Organization         Lds Nixa Ward ‐ Springfield South Stake                  Ozark Trails Council 306               1309 N 20Th St                                         Ozark, MO 65721                                             First Class Mail
Chartered Organization         Lds Nns / Kilmarnock Branch                              Heart Of Virginia Council 602          268 Morattico Rd                                       Lancaster, VA 22503‐3025                                    First Class Mail
Chartered Organization         Lds Noble Ward ‐ Mesa Az Skyline Stk                     Grand Canyon Council 010               10305 E Southern Ave                                   Mesa, AZ 85208                                              First Class Mail
Chartered Organization         Lds Noble Ward Norman Stake                              Last Frontier Council 480              4401 E Maguire Rd                                      Noble, OK 73068‐8445                                        First Class Mail
Chartered Organization         Lds Nong Shala Ward Sac North Stake                      Golden Empire Council 047              751 Rio Tierra Ave                                     Sacramento, CA 95833‐1251                                   First Class Mail
Chartered Organization         Lds Nordic Valley Ward                                   Huntsville Stake                       2900 N Hwy 162                                         Eden, UT 84310‐9500                                         First Class Mail
Chartered Organization         Lds Norfolk Ii Ward Virginia Beach Stake                 Tidewater Council 596                  2741 Greendale Ave                                     Norfolk, VA 23518‐4604                                      First Class Mail
Chartered Organization         Lds Norfolk Ward Sioux City Stake                        Mid‐America Council 326                100 El Camino Dr                                       Norfolk, NE 68701‐6704                                      First Class Mail
Chartered Organization         Lds Norfolk Ward Virginia Beach Stake                    Tidewater Council 596                  2741 Greendale Ave                                     Norfolk, VA 23518‐4604                                      First Class Mail
Chartered Organization         Lds Norman 1St Ward Norman Stake                         Last Frontier Council 480              4401 E Maguire Rd                                      Noble, OK 73068‐8445                                        First Class Mail
Chartered Organization         Lds Norman 2Nd Ward Norman Stake                         Last Frontier Council 480              1506 W Imhoff Rd                                       Norman, OK 73072‐7405                                       First Class Mail
Chartered Organization         Lds Norman 4Th Ward Norman Stake                         Last Frontier Council 480              1506 W Imhoff Rd                                       Norman, OK 73072‐7405                                       First Class Mail
Chartered Organization         Lds Normandy Park Ward Seattle Stake                     Chief Seattle Council 609              21254 14Th Ave S                                       Des Moines, WA 98198‐3118                                   First Class Mail
Chartered Organization         Lds North Bend Ward Bellevue South Stake                 Chief Seattle Council 609              527 Sw Mt Si Blvd                                      North Bend, WA 98045                                        First Class Mail
Chartered Organization         Lds North Bend Ward Coos Bay Stake                       Oregon Trail Council 697               3355 Virginia Ave                                      North Bend, OR 97459‐1711                                   First Class Mail
Chartered Organization         Lds North Canyon 2Nd Ward                                Bntfl Ut N Canyon Stake                3350 S 100 E                                           Bountiful, UT 84010                                         First Class Mail
Chartered Organization         Lds North Canyon 4Th Ward                                Bntfl Ut N Canyon Stake                965 Oakwood Dr                                         Bountiful, UT 84010                                         First Class Mail
Chartered Organization         Lds North Canyon 5Th Ward                                Bntfl Ut N Canyon Stake                2505 S Davis Blvd                                      Bountiful, UT 84010                                         First Class Mail
Chartered Organization         Lds North Canyon 6Th Ward                                Bntfl Ut N Canyon Stake                965 Oakwood Dr                                         Bountiful, UT 84010                                         First Class Mail
Chartered Organization         Lds North Canyon 7Th Ward                                Bntfl Ut N Canyon Stake                3350 S 100 E                                           Bountiful, UT 84010                                         First Class Mail
Chartered Organization         Lds North Canyon Ward ‐ Phoenix Az                       Deer Valley Stake                      3527 W Happy Valley Rd                                 Glendale, AZ 85310‐3202                                     First Class Mail
Chartered Organization         Lds North Creek Ward Bothell Stake                       Chief Seattle Council 609              16500 124Th Ave Ne                                     Woodinville, WA 98072                                       First Class Mail
Chartered Organization         Lds North Hills Ward ‐ Fullerton Stake                   Orange County Council 039              2351 E La Habra Blvd                                   La Habra, CA 90631                                          First Class Mail
Chartered Organization         Lds North Lake 4Th Ward                                  Utah National Parks 591                600 S 500 W                                            Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds North Lake First Ward                                Utah National Parks 591                465 W 700 S                                            Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds North Lake Second Ward                               Utah National Parks 591                828 S Center St                                        Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds North Lake Third Ward                                Utah National Parks 591                939 W 1400 S                                           Lehi, UT 84043‐7472                                         First Class Mail
Chartered Organization         Lds North Logan 10Th Ward                                Green Canyon Stake                     1550 E 1900 N                                          North Logan, UT 84341‐2127                                  First Class Mail
Chartered Organization         Lds North Logan 11Th Ward                                Green Canyon Stake                     1550 E 1900 N                                          North Logan, UT 84341‐2127                                  First Class Mail
Chartered Organization         Lds North Logan 13Th Ward                                Green Canyon Stake                     1850 N 400 E                                           North Logan, UT 84341                                       First Class Mail
Chartered Organization         Lds North Logan 16Th Ward                                Green Canyon Stake                     1550 E 1900 N                                          North Logan, UT 84341‐2127                                  First Class Mail
Chartered Organization         Lds North Logan 1St Ward                                 Green Canyon Stake                     1105 E 2100 N                                          North Logan, UT 84341‐1815                                  First Class Mail
Chartered Organization         Lds North Logan 2Nd Ward                                 Green Canyon Stake                     1105 E 2100 N                                          North Logan, UT 84341‐1815                                  First Class Mail
Chartered Organization         Lds North Logan 3Rd Ward                                 Green Canyon Stake                     1850 N 400 E                                           North Logan, UT 84341                                       First Class Mail
Chartered Organization         Lds North Logan 7Th Ward                                 Green Canyon Stake                     1550 E 1900 N                                          North Logan, UT 84341‐2127                                  First Class Mail
Chartered Organization         Lds North Mankato                                        Twin Valley Council Bsa 283            1851 Marie Ln                                          North Mankato, MN 56003                                     First Class Mail
Chartered Organization         Lds North Marion Ward Keizer Stake                       Cascade Pacific Council 492            1000 Country Club Rd                                   Woodburn, OR 97071                                          First Class Mail
Chartered Organization         Lds North Miami Beach Ward                               South Florida Council 084              2601 Ne 163Rd St                                       N Miami Beach, FL 33160‐4045                                First Class Mail
Chartered Organization         Lds North Mountain Ward ‐ Phoenix Az                     North Stake                            8710 N 3Rd Ave                                         Phoenix, AZ 85021‐4506                                      First Class Mail
Chartered Organization         Lds North Muskegon Ward                                  Grand Rapids Stake                     1725 W Giles Rd                                        Muskegon, MI 49445‐1133                                     First Class Mail
Chartered Organization         Lds North Ogden 10Th Ward                                Coldwater Stake                        787 E 1700 N                                           North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 11Th Ward                                North Ogden East Stake                 2340 N Fruitland Dr                                    North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 12Th Ward                                Coldwater Stake                        1791 N 600 E                                           North Ogden, UT 84414‐3053                                  First Class Mail
Chartered Organization         Lds North Ogden 13Th Ward                                North Ogden East Stake                 900 E 2850 N                                           North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 14Th Ward                                North Ogden East Stake                 950 E 2850 N                                           North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 15Th Ward                                Coldwater Stake                        770 E 2100 N                                           North Ogden, UT 84414‐2935                                  First Class Mail
Chartered Organization         Lds North Ogden 16Th Ward                                North Ogden Stake                      205 E Elberta Dr                                       North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 17Th Ward                                North Ogden Stake                      386 E Elberta Dr                                       North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 19Th Ward                                Coldwater Stake                        1791 N 600 E                                           North Ogden, UT 84414‐3053                                  First Class Mail
Chartered Organization         Lds North Ogden 1St Ward                                 North Ogden Stake                      626 E 2600 N                                           North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 20Th Ward                                North Ogden East Stake                 575 E 3100 N                                           North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 21St Ward                                North Ogden Stake                      626 E 2600 N                                           North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 22Nd Ward                                North Ogden East Stake                 950 E 2850 N                                           North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 23Rd Ward                                Coldwater Stake                        787 E 1700 N                                           North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 24Th Ward                                North Ogden East Stake                 1150 E 2600 N                                          North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 2Nd Ward                                 Coldwater Stake                        770 E 2100 N                                           North Ogden, UT 84414‐2935                                  First Class Mail
Chartered Organization         Lds North Ogden 3Rd Ward                                 North Ogden Stake                      386 E Elberta Dr                                       North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 4Th Ward                                 Coldwater Stake                        1791 N 600 E                                           North Ogden, UT 84414‐3053                                  First Class Mail
Chartered Organization         Lds North Ogden 5Th Ward                                 North Ogden Stake                      626 E 2600 N                                           North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 6Th Ward                                 Coldwater Stake                        770 E 2100 N                                           North Ogden, UT 84414‐2935                                  First Class Mail
Chartered Organization         Lds North Ogden 7Th Ward                                 North Ogden Stake                      205 E Elberta Dr                                       North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 8Th Ward                                 North Ogden East Stake                 1150 E 2600 N                                          North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Ogden 9Th Ward                                 North Ogden Stake                      205 E Elberta Dr                                       North Ogden, UT 84414                                       First Class Mail
Chartered Organization         Lds North Olmsted Ward                                   Lake Erie Council 440                  25000 Westwood Rd                                      Westlake, OH 44145‐4853                                     First Class Mail
Chartered Organization         Lds North Park Fourth Ward (Spanish)                     Utah National Parks 591                82 N 800 W                                             Provo, UT 84601‐2527                                        First Class Mail
Chartered Organization         Lds North Park Second Ward                               Utah National Parks 591                1066 W 200 N                                           Provo, UT 84601                                             First Class Mail
Chartered Organization         Lds North Park Third Ward                                Utah National Parks 591                200 N 1066 W                                           Provo, UT 84601                                             First Class Mail
Chartered Organization         Lds North Pole Ward ‐ Fairbanks Stake                    Midnight Sun Council 696               331 E 8Th Ave                                          North Pole, AK 99705‐8014                                   First Class Mail
Chartered Organization         Lds North Shore 1St Ward                                 Sj Ut North Shore Stake                4484 W Willoughby Dr                                   South Jordan, UT 84009                                      First Class Mail
Chartered Organization         Lds North Shore 1St Ward, Wilmette Stake                 Northeast Illinois 129                 2727 Lake Ave                                          Wilmette, IL 60091‐1214                                     First Class Mail
Chartered Organization         Lds North Shore 2Nd Ward                                 Sj Ut North Shore Stake                4842 W Vermillion Dr                                   South Jordan, UT 84009                                      First Class Mail
Chartered Organization         Lds North Shore 3Rd Ward                                 Sj Ut North Shore Stake                4842 W Vermillion Dr                                   South Jordan, UT 84009                                      First Class Mail
Chartered Organization         Lds North Shore 4Th Ward                                 Sj Ut North Shore Stake                4842 W Vermillion Dr                                   South Jordan, UT 84009                                      First Class Mail
Chartered Organization         Lds North Shore 5Th Ward                                 Sj Ut North Shore Stake                5072 W Roaring Rd                                      South Jordan, UT 84009                                      First Class Mail
Chartered Organization         Lds North Shore 6Th Ward                                 Sj Ut North Shore Stake                4842 W Vermillion Dr                                   South Jordan, UT 84009                                      First Class Mail
Chartered Organization         Lds North Shore 7Th Ward                                 Sl Ut N Shore Stake                    5228 W Dock St                                         South Jordan, UT 84009‐6179                                 First Class Mail
Chartered Organization         Lds North Shore 8Th Ward                                 South Jordan Ut North Shore Stake      5443 W Copper Needle Way                               South Jordan, UT 84009‐6154                                 First Class Mail
Chartered Organization         Lds North Shores Ward                                    Bloomfield Hills Stake                 16965 E 12 Mile Rd                                     Roseville, MI 48066‐2478                                    First Class Mail
Chartered Organization         Lds North Umpqua Ward                                    Oregon Trail Council 697               1864 Nw Calkins Ave                                    Roseburg, OR 97471‐1806                                     First Class Mail
Chartered Organization         Lds North Valley Ward ‐ Phoenix Az                       Desert Hills Stake                     44611 N New River Rd                                   New River, AZ 85087‐7924                                    First Class Mail
Chartered Organization         Lds North Valley Ward Abq Stake                          Great Swest Council 412                7609 Calle Comodo Ne                                   Albuquerque, NM 87113‐2365                                  First Class Mail
Chartered Organization         Lds North Vernon Ward ‐ Indianapolis                     Hoosier Trails Council 145 145         430 Hayden Pike                                        North Vernon, IN 47265                                      First Class Mail
Chartered Organization         Lds Northbridge Ward                                     Utah National Parks 591                2479 E 700 N                                           St George, UT 84790‐9066                                    First Class Mail
Chartered Organization         Lds Northern Ky Ward Cincinnati Stake                    Dan Beard Council, Bsa 438             2965 Hebron Park Dr                                    Hebron, KY 41048                                            First Class Mail
Chartered Organization         Lds Northfield Fifth Ward                                Utah National Parks 591                1624 N 390 W                                           Pleasant Grove, UT 84062‐3800                               First Class Mail
Chartered Organization         Lds Northfield First Ward                                Utah National Parks 591                105 W 1800 N                                           Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Northfield Fourth Ward                               Utah National Parks 591                408 W 1300 N                                           Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Northfield Second Ward                               Utah National Parks 591                2195 Canyon Rd                                         Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Northfield Seventh Ward                              Utah National Parks 591                105 W 1800 N                                           Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Northfield Sixth Ward                                Utah National Parks 591                408 W 1300 N                                           Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Northfield Third Ward                                Utah National Parks 591                2195 N 100 E                                           Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Northgate 1St Ward ‐ Walnut Creek Stk                Mt Diablo‐Silverado Council 023        100 N Gate Rd                                          Walnut Creek, CA 94598                                      First Class Mail
Chartered Organization         Lds Northgate Ward ‐ North Stake                         Pikes Peak Council 060                 8910 Lexington Dr                                      Colorado Springs, CO 80920                                  First Class Mail
Chartered Organization         Lds Northland Ward Manteca Stake                         Greater Yosemite Council 059           1730 Pagola Ave                                        Manteca, CA 95337‐8628                                      First Class Mail
Chartered Organization         Lds Northmoor Ward                                       Utah National Parks 591                4338 E Inverness Ln                                    Eagle Mountain, UT 84005                                    First Class Mail
Chartered Organization         Lds Northpoint 1St Ward                                  S L Rose Park N Stake                  1460 Morton Dr                                         Salt Lake City, UT 84116                                    First Class Mail
Chartered Organization         Lds Northpoint 3Rd Ward                                  S L Rose Park N Stake                  1460 Morton Dr                                         Salt Lake City, UT 84116                                    First Class Mail
Chartered Organization         Lds Northridge Fourteenth Ward                           Utah National Parks 591                1875 N 280 W                                           Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Northridge Fourth Ward                               Utah National Parks 591                175 E 1750 N                                           Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Northridge Second Ward                               Utah National Parks 591                1780 N 165 E.                                          Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Northridge Seventh Ward                              Utah National Parks 591                1674 N 200 W                                           Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Northridge Third Ward                                Utah National Parks 591                74 W 1780 N                                            Orem, UT 84057‐2175                                         First Class Mail
Chartered Organization         Lds Northridge Thirteenth Ward                           Utah National Parks 591                1674 N 200 W                                           Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Northridge Twelfth Ward                              Utah National Parks 591                150 E 1750 N                                           Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Northridge Ward                                      Sandy Ut Crescent Stake                11196 S Wasatch Blvd                                   Sandy, UT 84092‐5551                                        First Class Mail
Chartered Organization         Lds Northridge Ward ‐ Mesa Az                            Hermosa Vista Stake                    2701 E Lehi Rd                                         Mesa, AZ 85213                                              First Class Mail
Chartered Organization         Lds Northridge Ward Carmichael Stake                     Golden Empire Council 047              4929 Hillridge Way                                     Fair Oaks, CA 95628‐4200                                    First Class Mail
Chartered Organization         Lds Northridge Ward/Frmngtn Ut North Stk                 Great Salt Lake Council 590            1885 Summerwood Dr                                     Farmington, UT 84025                                        First Class Mail
Chartered Organization         Lds Northview Ward ‐ Boise N Stk                         Ore‐Ida Council 106 ‐ Bsa 106          6711 Nview St                                          Boise, ID 83704                                             First Class Mail
Chartered Organization         Lds Northville Ward ‐ Westland Stake                     Great Lakes Fsc 272                    31450 6 Mile Rd                                        Livonia, MI 48152‐3302                                      First Class Mail
Chartered Organization         Lds Northwood Ward ‐ Irvine Stake                        Orange County Council 039              5353 Bryan Ave                                         Irvine, CA 92620                                            First Class Mail
Chartered Organization         Lds Norwalk Ward Cerritos Stake                          Long Beach Area Council 032            17909 Bloomfield Ave                                   Cerritos, CA 90703‐8516                                     First Class Mail
Chartered Organization         Lds Nottingham Country Ward                              Attn: Katy Stake                       1603 Norwalk                                           Katy, TX 77450                                              First Class Mail
Chartered Organization         Lds Nridge Ward, Highlands Ranch Stake                   Denver Area Council 061                9800 Foothills Canyon Blvd                             Highlands Ranch, CO 80129‐6601                              First Class Mail
Chartered Organization         Lds Nuevo Ward ‐ Moreno Valley Stake                     California Inland Empire Council 045   13281 Lasselle St                                      Moreno Valley, CA 92553‐6866                                First Class Mail
Chartered Organization         Lds Nugget Falls Ward ‐ Juneau Stake                     Great Alaska Council 610               3521 Forest Grove Dr                                   Juneau, AK 99801‐9059                                       First Class Mail
Chartered Organization         Lds Nuuanu Ward ‐ Honolulu West Stake                    Aloha Council, Bsa 104                 3830 Old Pali Rd                                       Honolulu, HI 96817‐1071                                     First Class Mail
Chartered Organization         Lds Nuuuli 1St Ward ‐ Pago Malaeimi Stakel               Aloha Council, Bsa 104                 P.O. Box 1419                                          Pago Pago, AS 96799‐1419                                    First Class Mail
Chartered Organization         Lds Nuuuli 2Nd Ward ‐ Pago Malaeimi Stake                c/o Nuuuli Ward                        Aloha Council, Bsa 104                                 Pago Pago, AS 96799                                         First Class Mail
Chartered Organization         Lds Nyssa 1St Ward ‐ Nyssa Stk                           Ore‐Ida Council 106 ‐ Bsa 106          101 N 5Th St                                           Nyssa, OR 97913‐3927                                        First Class Mail
Chartered Organization         Lds Nyssa 2Nd Ward ‐ Nyssa Stk                           Ore‐Ida Council 106 ‐ Bsa 106          1309 Park Ave                                          Nyssa, OR 97913‐5165                                        First Class Mail
Chartered Organization         Lds O Fallon                                             Greater St Louis Area Council 312      255 Fairwood Hills Rd                                  O Fallon, IL 62269‐3518                                     First Class Mail
Chartered Organization         Lds O Malley Ward ‐ Anchorage Stake                      Great Alaska Council 610               11701 Puma St                                          Anchorage, AK 99507                                         First Class Mail
Chartered Organization         Lds Oak City First Ward                                  Utah National Parks 591                General Delivery                                       Oak City, UT 84649                                          First Class Mail
Chartered Organization         Lds Oak City Second Ward                                 Utah National Parks 591                P.O. Box 326                                           Oak City, UT 84649‐0326                                     First Class Mail
Chartered Organization         Lds Oak Creek Ward ‐ Irvine Stake                        Orange County Council 039              5353 Bryan Ave                                         Irvine, CA 92620                                            First Class Mail
Chartered Organization         Lds Oak Creek Ward ‐ Meridian W Stk                      Ore‐Ida Council 106 ‐ Bsa 106          5080 N Baylor Ln                                       Meridian, ID 83646‐5080                                     First Class Mail
Chartered Organization         Lds Oak Creek Ward Lebanon Stake                         Cascade Pacific Council 492            35670 Ebenger St Sw                                    Albany, OR 97321‐7503                                       First Class Mail
Chartered Organization         Lds Oak Grove 3Rd Ward ‐ Oakland East St                 Mt Diablo‐Silverado Council 023        3700 Concord Blvd                                      Concord, CA 94519‐1808                                      First Class Mail
Chartered Organization         Lds Oak Grove Ward                                       Sandy Ut Lone Peak Stake               11570 Wasatch Blvd                                     Sandy, UT 84092                                             First Class Mail
Chartered Organization         Lds Oak Harbor 1St Ward Oak Harbor Stake                 Mount Baker Council, Bsa 606           201 Ne Oleary St                                       Oak Harbor, WA 98277                                        First Class Mail
Chartered Organization         Lds Oak Harbor 2Nd Ward Oak Harbor Stake                 Mount Baker Council, Bsa 606           201 Ne Oleary St                                       Oak Harbor, WA 98277                                        First Class Mail
Chartered Organization         Lds Oak Harbor Penn Cove Ward                            Oak Harbor Stake                       201 Ne Oleary St                                       Oak Harbor, WA 98277                                        First Class Mail
Chartered Organization         Lds Oak Hill Ward Antelope Stake                         Golden Empire Council 047              3621 Elverta Rd                                        Antelope, CA 95843                                          First Class Mail
Chartered Organization         Lds Oak Hill Ward/Taylorsville Ut Stk                    Great Salt Lake Council 590            895 W 4800 S                                           Salt Lake City, UT 84123                                    First Class Mail
Chartered Organization         Lds Oak Hills Fifth Ward                                 Utah National Parks 591                1900 N 1500 E                                          Provo, UT 84604‐6088                                        First Class Mail
Chartered Organization         Lds Oak Hills First Ward                                 Utah National Parks 591                1038 N 1200 E                                          Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Oak Hills Fourth Ward                                Utah National Parks 591                1786 Driftwood Dr                                      Provo, UT 84604‐2146                                        First Class Mail
Chartered Organization         Lds Oak Hills Ninth Ward                                 Utah National Parks 591                1960 N 1500 E                                          Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Oak Hills Second Ward                                Utah National Parks 591                925 E N Temple Dr                                      Provo, UT 84604                                             First Class Mail
Chartered Organization         Lds Oak Hills Seventh Ward                               Utah National Parks 591                1213 Ash Ave                                           Provo, UT 84604‐3619                                        First Class Mail
Chartered Organization         Lds Oak Hills Sixth Ward                                 Utah National Parks 591                1900 N 1500 E                                          Provo, UT 84604‐6088                                        First Class Mail
Chartered Organization         Lds Oak Hills Ward ‐ Hesperia Stake                      California Inland Empire Council 045   8889 Sheep Creek Rd                                    Phelan, CA 92371                                            First Class Mail
Chartered Organization         Lds Oak Hills Ward Cedar Mill Stake                      Cascade Pacific Council 492            14885 Nw West Union Rd                                 Portland, OR 97229‐2292                                     First Class Mail
Chartered Organization         Lds Oak Hills Ward/Bntfl Ut Central Stk                  Great Salt Lake Council 590            455 S 1200 E                                           Bountiful, UT 84010                                         First Class Mail
Chartered Organization         Lds Oak Hurst Ward Vancouver Stake                       Cascade Pacific Council 492            10509 Se 5Th St                                        Vancouver, WA 98664‐4617                                    First Class Mail
Chartered Organization         Lds Oak Marr Ward Oakton Stake                           National Capital Area Council 082      2719 Hunter Mill Rd                                    Oakton, VA 22124‐1614                                       First Class Mail
Chartered Organization         Lds Oak Point Ward                                       Frisco Tx Shawnee Trail Stake          8801 Martop Rd                                         Crossroads, TX 76227‐4114                                   First Class Mail
Chartered Organization         Lds Oak Valley Ward ‐ Yucaipa Stake                      California Inland Empire Council 045   306 E Ave L                                            Calimesa, CA 92320‐1418                                     First Class Mail
Chartered Organization         Lds Oakbrook Ward Charleston Stake                       Coastal Carolina Council 550           511 E 5Th North St                                     Summerville, SC 29483‐6884                                  First Class Mail
Chartered Organization         Lds Oakcrest Ward                                        Houston W (Sp) Stake                   9525 Spring Cypress Rd                                 Spring, TX 77379‐3020                                       First Class Mail
Chartered Organization         Lds Oakdale 1St Ward Modesto North Stake                 Greater Yosemite Council 059           1111 E A St                                            Oakdale, CA 95361                                           First Class Mail
Chartered Organization         Lds Oakdale 2Nd Ward Modesto North Stake                 Greater Yosemite Council 059           1111 E A St                                            Oakdale, CA 95361                                           First Class Mail
Chartered Organization         Lds Oakdale Stake ‐ Cottage Grove Ward                   Northern Star Council 250              11900 S Manning                                        Cottage Grove, MN 55016                                     First Class Mail
Chartered Organization         Lds Oakdale Stake ‐ Eagan Ward                           Northern Star Council 250              651 Scross Dr E                                        Burnsville, MN 55306                                        First Class Mail
Chartered Organization         Lds Oakdale Stake ‐ Hudson Ward                          Northern Star Council 250              545 Stageline Rd                                       Hudson, WI 54016                                            First Class Mail
Chartered Organization         Lds Oakdale Stake ‐ Oakdale Ward                         Northern Star Council 250              2140 Hadley Ave N                                      Oakdale, MN 55128‐4505                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                   Page 225 of 442
                                                                                Case 20-10343-LSS                                  Doc 8171                                           Filed 01/06/22                                             Page 241 of 457
                                                                                                                                                                         Exhibit B
                                                                                                                                                                          Service List
                                                                                                                                                                   Served as set forth below

        Description                                                      Name                                                                                          Address                                                                                     Email              Method of Service
Chartered Organization         Lds Oakdale Stake ‐ Red Wing Ward                       Northern Star Council 250              580 Hi Park Ave                                                Red Wing, MN 55066‐4042                                                       First Class Mail
Chartered Organization         Lds Oakdale Stake ‐ Woodbury Ward                       Northern Star Council 250              6450 Kirkwood Ave S                                            Cottage Grove, MN 55016‐1500                                                  First Class Mail
Chartered Organization         Lds Oakdale Ward Monmouth Stake                         Cascade Pacific Council 492            17235 Bridgeport Rd                                            Dallas, OR 97338‐9584                                                         First Class Mail
Chartered Organization         Lds Oakland 12Th Ward ‐ Oakland East Stake              San Francisco Bay Area Council 028     4780 Lincoln Ave                                               Oakland, CA 94602‐2535                                                        First Class Mail
Chartered Organization         Lds Oakland 1St Ward ‐ Oakland Stake                    San Francisco Bay Area Council 028     4780 Lincoln Ave                                               Oakland, CA 94602‐2535                                                        First Class Mail
Chartered Organization         Lds Oakland 3Rd Ward ‐ Oakland East Stake               San Francisco Bay Area Council 028     4705 Virginia Ave                                              Oakland, CA 94619‐2600                                                        First Class Mail
Chartered Organization         Lds Oakland 4Th Ward ‐ Oakland East Stake               San Francisco Bay Area Council 028     4705 Virginia Ave                                              Oakland, CA 94619‐2600                                                        First Class Mail
Chartered Organization         Lds Oakland 6Th Ward ‐ Oakland Stake                    Mt Diablo‐Silverado Council 023        4780 Lincoln Ave                                               Oakland, CA 94602‐2535                                                        First Class Mail
Chartered Organization         Lds Oakland 8Th Ward ‐ San Leandro Stake                San Francisco Bay Area Council 028     859 Grant Ave                                                  San Lorenzo, CA 94580‐1401                                                    First Class Mail
Chartered Organization         Lds Oakland 9Th Ward ‐ Oakland Stake                    San Francisco Bay Area Council 028     4780 Lincoln Ave                                               Oakland, CA 94602‐2535                                                        First Class Mail
Chartered Organization         Lds Oakley 1St Ward/Kamas Ut Stk                        Great Salt Lake Council 590            1224 W State Rd 32                                             Oakley, UT 84055                                                              First Class Mail
Chartered Organization         Lds Oakley 2Nd Ward/Kamas Ut Stk                        Great Salt Lake Council 590            3038 N State Rd 32                                             Oakley, UT 84055                                                              First Class Mail
Chartered Organization         Lds Oakley Ward ‐ Antioch Stake                         Mt Diablo‐Silverado Council 023        1432 Laurel Rd                                                 Oakley, CA 94561                                                              First Class Mail
Chartered Organization         Lds Oakridge Branch Springfield Stake                   Oregon Trail Council 697               76959 Lee Dr                                                   Oakridge, OR 97463‐7501                                                       First Class Mail
Chartered Organization         Lds Oakridge Farms Ward                                 Frmngtn Ut Oakridge Stake              1955 S 350 E                                                   Kaysville, UT 84037                                                           First Class Mail
Chartered Organization         Lds Oakridge Ward                                       Frmngtn Ut Oakridge Stake              1173 Tee Time Dr                                               Farmington, UT 84025‐2919                                                     First Class Mail
Chartered Organization         Lds Oakridge Ward Folsom Stake                          Golden Empire Council 047              1275 Green Valley Rd                                           El Dorado Hills, CA 95762‐9775                                                First Class Mail
Chartered Organization         Lds Oakton Ward Oakton Stake                            National Capital Area Council 082      2719 Hunter Mill Rd                                            Oakton, VA 22124‐1614                                                         First Class Mail
Chartered Organization         Lds Oakview Ward                                        Utah National Parks 591                3474 Fairway Ln                                                Spanish Fork, UT 84660‐8400                                                   First Class Mail
Chartered Organization         Lds Oakville Ward ‐ South St Louis Stake                Greater St Louis Area Council 312      4511 Butler Hill Rd                                            St Louis, MO 63128‐3521                                                       First Class Mail
Chartered Organization         Lds Oakwood Ward                                        Utah National Parks 591                3116 E 3150 S                                                  St George, UT 84790‐1224                                                      First Class Mail
Chartered Organization         Lds Oakwood Ward ‐ High Plains Stake                    Pikes Peak Council 060                 5485 Hopalong Trl                                              Colorado Springs, CO 80922‐3646                                               First Class Mail
Chartered Organization         Lds Oakwood Ward ‐ Peoria Az Stk                        Grand Canyon Council 010               7871 W Acoma Dr                                                Peoria, AZ 85381‐4343                                                         First Class Mail
Chartered Organization         Lds Oasis Park Ward Eldorado Stake                      Las Vegas Area Council 328             916 5Th St                                                     Boulder City, NV 89005‐3706                                                   First Class Mail
Chartered Organization         Lds Oasis Verde Ward ‐ Peralta Trail Az                 Stake                                  1720 S Ironwood Dr                                             Apache Junction, AZ 85120                                                     First Class Mail
Chartered Organization         Lds Oatfield Ward Milwaukie Stake                       Cascade Pacific Council 492            8331 Cason Rd                                                  Gladstone, OR 97027‐1416                                                      First Class Mail
Chartered Organization         Lds Obed Ward ‐ Winslow Az Stk                          Grand Canyon Council 010               P.O. Box 430                                                   Joseph City, AZ 86032‐0430                                                    First Class Mail
Chartered Organization         Lds Ocean Springs Ward                                  Pine Burr Area Council 304             14928 Big Ridge Rd                                             Diberville, MS 39532                                                          First Class Mail
Chartered Organization         Lds Oceana Ward Virginia Beach Stake                    Tidewater Council 596                  2397 Newstead Dr                                               Virginia Beach, VA 23454‐5874                                                 First Class Mail
Chartered Organization         Lds Oceanview Ward                                      Huntington Beach N Stake               5402 Heil Ave                                                  Huntington Beach, CA 92649‐3654                                               First Class Mail
Chartered Organization         Lds Oceanview Ward ‐ Anchorage Stake                    Great Alaska Council 610               11701 Puma St                                                  Anchorage, AK 99515                                                           First Class Mail
Chartered Organization         Lds Ochoco Valley Ward ‐ Redmond Stake                  Crater Lake Council 491                1296 Ne Loper Ave                                              Prineville, OR 97754‐1325                                                     First Class Mail
Chartered Organization         Lds Ocoee Pine Hills Orlando South                      Central Florida Council 083            8450 Silver Star Rd                                            Orlando, FL 32818‐8904                                                        First Class Mail
Chartered Organization         Lds Oconee River Branch                                 Northeast Georgia Council 101          706 Whitehead Rd                                               Athens, GA 30606‐1653                                                         First Class Mail
Chartered Organization         Lds Ocotillo Ward ‐ Mesa Az Flat Iron Stk               Grand Canyon Council 010               454 N Crismon Rd                                               Mesa, AZ 85207‐7124                                                           First Class Mail
Chartered Organization         Lds Ocotillo Ward ‐ Qc Az West Stk                      Grand Canyon Council 010               19730 E Ocotillo Rd                                            Queen Creek, AZ 85142                                                         First Class Mail
Chartered Organization         Lds Odenton Ward                                        Ft Meade Annapolis Maryland            528 Higgins Dr                                                 Odenton, MD 21113‐2041                                                        First Class Mail
Chartered Organization         Lds Odessa Ward Warrensburg Stake                       Heart Of America Council 307           300 E Crestview                                                Odessa, MO 64076                                                              First Class Mail
Chartered Organization         Lds Of Ada                                              Arbuckle Area Council 468              2100 Arlington St                                              Ada, OK 74820‐2819                                                            First Class Mail
Chartered Organization         Lds O'Fallon Ward ‐ Lake St Louis Stake                 Greater St Louis Area Council 312      Nm ‐ 1401 S Henke                                              Lake St Louis, MO 63367                                                       First Class Mail
Chartered Organization         Lds Ogden Valley Deaf Branch                            Pleasant Valley Stake                  5640 S 850 E                                                   Ogden, UT 84405                                                               First Class Mail
Chartered Organization         Lds Ojai Ward Ventura Stake                             Ventura County Council 057             411 San Antonio St                                             Ojai, CA 93023‐3217                                                           First Class Mail
Chartered Organization         Lds Okc 1St Ward Okc Stake                              Last Frontier Council 480              5020 Nw 63Rd St                                                Oklahoma City, OK 73132‐7723                                                  First Class Mail
Chartered Organization         Lds Okc 2Nd Ward Okc South Stake                        Last Frontier Council 480              12915 S Santa Fe                                               Oklahoma City, OK 73170                                                       First Class Mail
Chartered Organization         Lds Okc 3Rd Ward Okc Stake                              Last Frontier Council 480              12020 N Mustang Rd                                             Yukon, OK 73099‐8184                                                          First Class Mail
Chartered Organization         Lds Okc 5Th Ward Okc Stake                              Last Frontier Council 480              10020 Mustang Rd                                               Oklahoma City, OK 73132                                                       First Class Mail
Chartered Organization         Lds Okc 7Th Ward Okc Stake                              Last Frontier Council 480              12101 N Mustang Rd                                             Yukon, OK 73099‐8165                                                          First Class Mail
Chartered Organization         Lds Okinawa Servicemens Branch                          Far E Council 803                      7‐11 Matsumoto, Okinawa Shi                                    Apo, AP 96367                                                                 First Class Mail
Chartered Organization         Lds Oklahoma 5Th Ward Okc Stake                         Last Frontier Council 480              12020 N Mustang Rd                                             Yukon, OK 73099‐8184                                                          First Class Mail
Chartered Organization         Lds Old Farm Ward                                       Utah National Parks 591                3600 No Minersville Hwy                                        Cedar City, UT 84721                                                          First Class Mail
Chartered Organization         Lds Old Mill First Ward                                 Utah National Parks 591                2380 Creekside Ct                                              Heber City, UT 84032‐4221                                                     First Class Mail
Chartered Organization         Lds Old Mill Second Ward                                Utah National Parks 591                1661 E 980 S                                                   Heber City, UT 84032                                                          First Class Mail
Chartered Organization         Lds Old Mill Ward Omaha Stake                           Mid‐America Council 326                708 N 154Th Ave                                                Omaha, NE 68154‐3752                                                          First Class Mail
Chartered Organization         Lds Old Mission Ward                                    Sandy Ut Cottonwood Creek Stake        1433 E Old Mission Rd                                          Sandy, UT 84093                                                               First Class Mail
Chartered Organization         Lds Old Settlers Ward                                   Round Rock E Stake                     2400 N Aw Grimes Blvd                                          Round Rock, TX 78665                                                          First Class Mail
Chartered Organization         Lds Olde Oaks Ward                                      Houston N Stake                        16833 T C Jester Blvd                                          Spring, TX 77379                                                              First Class Mail
Chartered Organization         Lds Oleander Ward ‐ Fontana Stake                       California Inland Empire Council 045   10654 Juniper Ave                                              Fontana, CA 92337‐7515                                                        First Class Mail
Chartered Organization         Lds Olive Bluff Ward/West Haven Stake                   Trapper Trails 589                     3330 S 4700 W                                                  West Haven, UT 84401                                                          First Class Mail
Chartered Organization         Lds Olive Knolls Ward, Bakersfield Stake                Southern Sierra Council 030            5500 Fruitvale Ave                                             Bakersfield, CA 93308‐3965                                                    First Class Mail
Chartered Organization         Lds Olive Ward ‐ Mesa Az Stk                            Grand Canyon Council 010               525 E 2Nd Ave                                                  Mesa, AZ 85204                                                                First Class Mail
Chartered Organization         Lds Olmstead 2 Ward                                     Westchester‐Ny Stake                   Greater New York Councils, Bsa 640                             1235 Olmstead Ave                 Bronx, NY 10462                             First Class Mail
Chartered Organization         Lds Olney Ward 2 Branch Seneca Stake                    National Capital Area Council 082      11700 Old Baltimore Rd                                         Olney, MD 20832                                                               First Class Mail
Chartered Organization         Lds Olney Ward Seneca Stake                             National Capital Area Council 082      17700 Old Baltimore Rd                                         Olney, MD 20832‐1652                                                          First Class Mail
Chartered Organization         Lds Olomana Ward ‐ Kaneohe Stake                        Aloha Council, Bsa 104                 41‐972 Oluolu St                                               Waimanalo, HI 96795‐1521                                                      First Class Mail
Chartered Organization         Lds Olympia Stake‐Olympia 1St                           Pacific Harbors Council, Bsa 612       1116 Yew Ave Ne                                                Olympia, WA 98506‐4071                                                        First Class Mail
Chartered Organization         Lds Olympia Stake‐Olympia 2Nd                           Pacific Harbors Council, Bsa 612       600 Overhulse Rd Nw                                            Olympia, WA 98502‐2550                                                        First Class Mail
Chartered Organization         Lds Olympia Stake‐Olympia 3Rd                           Pacific Harbors Council, Bsa 612       3800 Henderson Blvd Se                                         Olympia, WA 98501                                                             First Class Mail
Chartered Organization         Lds Olympia Stake‐Olympia 4Th                           Pacific Harbors Council, Bsa 612       3800 Henderson Blvd Se                                         Olympia, WA 98501                                                             First Class Mail
Chartered Organization         Lds Olympia Stake‐Tumwater                              Pacific Harbors Council, Bsa 612       600 Overhulse Rd Nw                                            Olympia, WA 98502‐2550                                                        First Class Mail
Chartered Organization         Lds Olympia Stake‐Tumwater 2Nd                          Pacific Harbors Council, Bsa 612       6842 Prosik Ln Sw                                              Tumwater, WA 98512‐7914                                                       First Class Mail
Chartered Organization         Lds Olympic Marshallese Br Auburn Stake                 Chief Seattle Council 609              1936 J St Ne                                                   Auburn, WA 98002‐2816                                                         First Class Mail
Chartered Organization         Lds Olympic Park 3Rd Ward (Spanish)                     Kearns Ut Cntrl Stake                  4575 W 5415 S                                                  Salt Lake City, UT 84118                                                      First Class Mail
Chartered Organization         Lds Olympic Park Ward                                   Kearns Ut Central Stake                4575 W 5415 S                                                  Kearns, UT 84118                                                              First Class Mail
Chartered Organization         Lds Olympic Park Ward/Park City Ut Stake                Great Salt Lake Council 590            2420 Country Ln                                                Park City, UT 84060‐3210                                                      First Class Mail
Chartered Organization         Lds Olympic View Ward Lynnwood Stake                    Mount Baker Council, Bsa 606           17321 44Th Ave W                                               Lynnwood, WA 98037‐7403                                                       First Class Mail
Chartered Organization         Lds Olympus 1St Ward/S L Olympus Stk                    Great Salt Lake Council 590            4100 S 2480 E                                                  Holladay, UT 84124                                                            First Class Mail
Chartered Organization         Lds Olympus 2Nd Ward/S L Olympus Stk                    Great Salt Lake Council 590            3070 Nila Way                                                  Salt Lake City, UT 84124                                                      First Class Mail
Chartered Organization         Lds Olympus 3Rd Ward/S L Olympus Stk                    Great Salt Lake Council 590            4100 S 2480 E                                                  Salt Lake City, UT 84124                                                      First Class Mail
Chartered Organization         Lds Olympus 4Th Ward/S L Olympus Stk                    Great Salt Lake Council 590            2675 E 4430 S                                                  Salt Lake City, UT 84124‐6706                                                 First Class Mail
Chartered Organization         Lds Olympus 5Th Ward/S L Olympus Stk                    Great Salt Lake Council 590            3862 E 4275 S                                                  Salt Lake City, UT 84124                                                      First Class Mail
Chartered Organization         Lds Olympus 7Th Ward/S L Olympus Stk                    Great Salt Lake Council 590            2675 E 4430 S                                                  Salt Lake City, UT 84124‐6706                                                 First Class Mail
Chartered Organization         Lds Olympus 8Th Ward/S L Olympus Stk                    Great Salt Lake Council 590            2675 E 4430 S                                                  Salt Lake City, UT 84124‐6706                                                 First Class Mail
Chartered Organization         Lds Olympus Cove Ward                                   Salt Lake Mount Olympus Stake          3862 E Oakview Dr                                              Salt Lake City, UT 84124                                                      First Class Mail
Chartered Organization         Lds Olympus Hills Ward                                  Sl Mt Olympus Stake                    4176 Adonis Dr                                                 Salt Lake City, UT 84124                                                      First Class Mail
Chartered Organization         Lds Onaga Trail Ward ‐ Yucca Valley Stake               California Inland Empire Council 045   P.O. Box 1209                                                  Yucca Valley, CA 92286‐1209                                                   First Class Mail
Chartered Organization         Lds Oneida Branch Appleton Wi Stake                     Bay‐Lakes Council 635                  N6064 County Rd E                                              De Pere, WI 54115                                                             First Class Mail
Chartered Organization         Lds Oneonta Ward Utica Ny Stake                         Leatherstocking 400                    107 Balmoral Dr                                                West Oneonta, NY 13861                                                        First Class Mail
Chartered Organization         Lds Ontario 1St Ward ‐ Ontario Stk                      Ore‐Ida Council 106 ‐ Bsa 106          661 Sw 12Th St                                                 Ontario, OR 97914‐3221                                                        First Class Mail
Chartered Organization         Lds Ontario 2Nd Ward ‐ Ontario Stk                      Ore‐Ida Council 106 ‐ Bsa 106          661 Sw 12Th St                                                 Ontario, OR 97914‐3221                                                        First Class Mail
Chartered Organization         Lds Ontario 3Rd Ward ‐ Ontario Stk                      Ore‐Ida Council 106 ‐ Bsa 106          1705 Nw 4Th Ave                                                Ontario, OR 97914‐1303                                                        First Class Mail
Chartered Organization         Lds Ontario 7Th Ward ‐ Ontario Stake                    California Inland Empire Council 045   522 W Francis St                                               Ontario, CA 91762‐6428                                                        First Class Mail
Chartered Organization         Lds Oquirrh 11Th Ward (Tongan)                          Sl Ut S (Tongan) Stake                 5938 W 6200 S                                                  Kearns, UT 84118                                                              First Class Mail
Chartered Organization         Lds Oquirrh 1St Ward                                    Rvrtn Ut Central Stake                 12830 S 2700 W                                                 Riverton, UT 84065                                                            First Class Mail
Chartered Organization         Lds Oquirrh 1St Ward/W J Ut Oquirrh Stk                 Great Salt Lake Council 590            5208 W Cyclamen Way                                            West Jordan, UT 84081‐3869                                                    First Class Mail
Chartered Organization         Lds Oquirrh 2Nd Ward                                    Rvrtn Ut Central Stake                 12830 S 2700 W                                                 Riverton, UT 84065                                                            First Class Mail
Chartered Organization         Lds Oquirrh 3Rd Ward/W J Ut Oquirrh Stk                 Great Salt Lake Council 590            6673 S Clernates Dr                                            West Jordan, UT 84081                                                         First Class Mail
Chartered Organization         Lds Oquirrh 4Th Ward/W J Ut Oquirrh Stk                 Great Salt Lake Council 590            5208 W Cyclamen Way                                            West Jordan, UT 84081‐3869                                                    First Class Mail
Chartered Organization         Lds Oquirrh 5Th Ward/W J Ut Oquirrh Stk                 Great Salt Lake Council 590            6673 S Clernates Dr                                            West Jordan, UT 84081                                                         First Class Mail
Chartered Organization         Lds Oquirrh 6Th Ward/W J Ut Oquirrh Stk                 Great Salt Lake Council 590            6673 S Clernates Dr                                            West Jordan, UT 84081                                                         First Class Mail
Chartered Organization         Lds Oquirrh 7Th Ward/W J Ut Oquirrh Stk                 Great Salt Lake Council 590            5154 W 7000 S                                                  West Jordan, UT 84081                                                         First Class Mail
Chartered Organization         Lds Oquirrh Point 1St Ward                              W J Ut Oquirrh Point Stake             6253 S 6200 W                                                  West Valley City, UT 84118                                                    First Class Mail
Chartered Organization         Lds Oquirrh Point 2Nd Ward                              W J Ut Oquirrh Point Stake             6270 W 7000 S                                                  West Jordan, UT 84081                                                         First Class Mail
Chartered Organization         Lds Oquirrh Point 3Rd Ward                              W J Ut Oquirrh Point Stake             6567 S Wakefield Way                                           West Valley City, UT 84118                                                    First Class Mail
Chartered Organization         Lds Oquirrh Point 4Th Ward                              W J Ut Oquirrh Point Stake             6270 W 7000 S                                                  West Jordan, UT 84084                                                         First Class Mail
Chartered Organization         Lds Oquirrh Point 5Th (Sp) Ward                         Wj Ut Oquirrh Pt Stake                 6567 S Wakefield Way                                           West Jordan, UT 84084                                                         First Class Mail
Chartered Organization         Lds Oquirrh Point 6Th                                   Wj Utah Oquirrh Point Stake            6270 W 7000 S                                                  West Jordan, UT 84081                                                         First Class Mail
Chartered Organization         Lds Oquirrh Point 7Th Ward                              Wj Ut Oquirrh Point Stake              6567 So Wakefield Way                                          West Jordan, UT 84081                                                         First Class Mail
Chartered Organization         Lds Orange Crest Ward ‐ Riverside Stake                 California Inland Empire Council 045   8901 Burlington Cir                                            Riverside, CA 92508‐2537                                                      First Class Mail
Chartered Organization         Lds Orangeville First Ward                              Utah National Parks 591                285 S 200 E                                                    Orangeville, UT 84537                                                         First Class Mail
Chartered Organization         Lds Orangeville Second Ward                             Utah National Parks 591                45 W 100 S                                                     Orangeville, UT 84537‐7715                                                    First Class Mail
Chartered Organization         Lds Orangeville Third Ward                              Utah National Parks 591                165 W 800 N                                                    Castle Dale, UT 84513‐4301                                                    First Class Mail
Chartered Organization         Lds Orchard 10Th Ward/N S L Parkway Stk                 Great Salt Lake Council 590            3376 S 800 W                                                   Bountiful, UT 84010                                                           First Class Mail
Chartered Organization         Lds Orchard 11Th Ward                                   North Salt Lake Ut Stake               155 Coventry Ln                                                North Salt Lake, UT 84054                                                     First Class Mail
Chartered Organization         Lds Orchard 13Th Ward/N S L Parkway Stk                 Great Salt Lake Council 590            261 E Center St                                                North Salt Lake, UT 84054                                                     First Class Mail
Chartered Organization         Lds Orchard 1St Ward                                    Bntfl Ut Orchard Stake                 3707 S 800 W                                                   Bountiful, UT 84010                                                           First Class Mail
Chartered Organization         Lds Orchard 2Nd Ward                                    Bntfl Ut Orchard Stake                 3707 S 800 W                                                   Bountiful, UT 84010                                                           First Class Mail
Chartered Organization         Lds Orchard 3Rd Ward/N S L Parkway Stk                  Great Salt Lake Council 590            261 E Center St                                                North Salt Lake, UT 84054                                                     First Class Mail
Chartered Organization         Lds Orchard 4Th Ward/N S L Parkway Stk                  Great Salt Lake Council 590            55 E 350 N                                                     North Salt Lake, UT 84054                                                     First Class Mail
Chartered Organization         Lds Orchard 5Th Ward                                    Bntfl Ut Orchard Stake                 3599 S Orchard Dr                                              Bountiful, UT 84010                                                           First Class Mail
Chartered Organization         Lds Orchard 6Th Ward                                    Bntfl Ut Orchard Stake                 3599 S Orchard Dr                                              Bountiful, UT 84010                                                           First Class Mail
Chartered Organization         Lds Orchard 7Th Ward                                    Bntfl Ut Orchard Stake                 3599 S Orchard Dr                                              Bountiful, UT 84010                                                           First Class Mail
Chartered Organization         Lds Orchard 8Th Ward/N S L Parkway Stk                  Great Salt Lake Council 590            55 E 300 N                                                     North Salt Lake, UT 84054‐2427                                                First Class Mail
Chartered Organization         Lds Orchard 9Th Ward                                    North Salt Lake Ut Stake               155 Coventry Ln                                                North Salt Lake, UT 84054                                                     First Class Mail
Chartered Organization         Lds Orchard Fifth Ward                                  Utah National Parks 591                1120 E 600 N                                                   Orem, UT 84097                                                                First Class Mail
Chartered Organization         Lds Orchard First Ward                                  Utah National Parks 591                600 N 810 E                                                    Orem, UT 84097                                                                First Class Mail
Chartered Organization         Lds Orchard Fourth Ward                                 Utah National Parks 591                670 E 800 N                                                    Orem, UT 84097‐4100                                                           First Class Mail
Chartered Organization         Lds Orchard Grove Ward                                  Kays Creek Stake                       2680 E Cherry Ln                                               Layton, UT 84040                                                              First Class Mail
Chartered Organization         Lds Orchard Heights Ward Bremerton Stake                Chief Seattle Council 609              P.O. Box 806                                                   Manchester, WA 98353‐0806                                                     First Class Mail
Chartered Organization         Lds Orchard Hills                                       Utah National Parks 591                949 N 540 W                                                    American Fork, UT 84003                                                       First Class Mail
Chartered Organization         Lds Orchard Hills‐Springfield Stake                     Ozark Trails Council 306               2933 N Farm Rd 101                                             Springfield, MO 65803‐7712                                                    First Class Mail
Chartered Organization         Lds Orchard Mesa Ward                                   Grand Junction Stake                   543 Melody Ln                                                  Grand Junction, CO 81501‐7139                                                 First Class Mail
Chartered Organization         Lds Orchard Park Ward                                   Weber Heights Stake                    3270 Orchard Ave                                               Ogden, UT 84403                                                               First Class Mail
Chartered Organization         Lds Orchard Park Ward ‐ Kennewick Stake                 Blue Mountain Council 604              8120 W 4Th Ave                                                 Kennewick, WA 99336                                                           First Class Mail
Chartered Organization         Lds Orchard Park Ward/S L Butler Stk                    Great Salt Lake Council 590            7035 S Nutree Dr                                               Salt Lake City, UT 84121                                                      First Class Mail
Chartered Organization         Lds Orchard Second Ward                                 Utah National Parks 591                670 E 800 N                                                    Orem, UT 84097‐4100                                                           First Class Mail
Chartered Organization         Lds Orchard Seventh Ward                                Utah National Parks 591                810 E 600 N                                                    Orem, UT 84097                                                                First Class Mail
Chartered Organization         Lds Orchard Sixth Ward                                  Utah National Parks 591                1154 E 720 N                                                   Orem, UT 84097‐4370                                                           First Class Mail
Chartered Organization         Lds Orchard Third Ward                                  Utah National Parks 591                863 E 600 N                                                    Orem, UT 84097‐4268                                                           First Class Mail
Chartered Organization         Lds Orchard Ward ‐ Boise Central Stk                    Ore‐Ida Council 106 ‐ Bsa 106          701 S Curtis Rd                                                Boise, ID 83705‐1808                                                          First Class Mail
Chartered Organization         Lds Orchard Ward, Littleton Stake                       Denver Area Council 061                999 E Tufts Ave                                                Englewood, CO 80113‐5907                                                      First Class Mail
Chartered Organization         Lds Orchard Ward/Frmngtn Ut Oakridge Stk                Great Salt Lake Council 590            1200 E 5400 S                                                  Ogden, UT 84403‐4527                                                          First Class Mail
Chartered Organization         Lds Orchards Ward Vancouver North Stake                 Cascade Pacific Council 492            7101 Ne 166Th Ave                                              Vancouver, WA 98682‐5242                                                      First Class Mail
Chartered Organization         Lds Orchards Ward/Frmngtn Ut North Stk                  Great Salt Lake Council 590            729 W 1275 N                                                   Farmington, UT 84025‐3832                                                     First Class Mail
Chartered Organization         Lds Orderville First Ward                               Utah National Parks 591                P.O. Box 75                                                    Orderville, UT 84758‐0075                                                     First Class Mail
Chartered Organization         Lds Orderville Second Ward                              Utah National Parks 591                2561 S State                                                   Mount Carmel, UT 84755                                                        First Class Mail
Chartered Organization         Lds Oregon City 1st Ward                                Oregon City Stake                      14340 Donovan Rd                                               Oregon City, OR 97045                                                         First Class Mail
Chartered Organization         Lds Oregon City Fourth Ward                             Oregon City Stake                      15344 Henrici Rd                                               Oregon City, OR 97045                                                         First Class Mail
Chartered Organization         Lds Oregon City Second Ward                             Oregon City Stake                      14340 Donovan Rd                                               Oregon City, OR 97045                                                         First Class Mail
Chartered Organization         Lds Oregon City Third Ward                              Oregon City Stake                      15344 Henrici Rd                                               Oregon City, OR 97045                                                         First Class Mail
Chartered Organization         Lds Oregon Trail Ward ‐ Boise E Stk                     Ore‐Ida Council 106 ‐ Bsa 106          2529 E Mendota Dr                                              Boise, ID 83716‐6872                                                          First Class Mail
Chartered Organization         Lds Orem Eighth Ward                                    Utah National Parks 591                400 N 400 E                                                    Orem, UT 84097                                                                First Class Mail
Chartered Organization         Lds Orem Fifth Ward                                     Utah National Parks 591                756 E Center St                                                Orem, UT 84097‐5608                                                           First Class Mail
Chartered Organization         Lds Orem First Ward                                     Utah National Parks 591                80 S 280 E                                                     Orem, UT 84058                                                                First Class Mail
Chartered Organization         Lds Orem Fourth Ward                                    Utah National Parks 591                50 S 800 E                                                     Orem, UT 84097‐5714                                                           First Class Mail
Chartered Organization         Lds Orem Hillcrest Eighth Ward                          Utah National Parks 591                1035 S 800 E                                                   Orem, UT 84097‐7228                                                           First Class Mail
Chartered Organization         Lds Orem Hillcrest First Ward                           Utah National Parks 591                1450 S 800 E                                                   Orem, UT 84097‐7740                                                           First Class Mail
Chartered Organization         Lds Orem Hillcrest Fourth Ward                          Utah National Parks 591                440 E 800 S                                                    Orem, UT 84097                                                                First Class Mail
Chartered Organization         Lds Orem Hillcrest Sixth Ward                           Utah National Parks 591                1035 S 800 E                                                   Orem, UT 84097‐7228                                                           First Class Mail
Chartered Organization         Lds Orem Hillcrest Third Ward                           Utah National Parks 591                1450 S 800 E                                                   Orem, UT 84097‐7740                                                           First Class Mail
Chartered Organization         Lds Orem Ninth Samoan Ward                              Utah National Parks 591                80 S 280 E                                                     Orem, UT 84058                                                                First Class Mail
Chartered Organization         Lds Orem Park Eighth Ward                               Utah National Parks 591                114 S 400 W                                                    Orem, UT 84058                                                                First Class Mail
Chartered Organization         Lds Orem Park Fifth Ward                                Utah National Parks 591                146 W 255 S                                                    Orem, UT 84058‐5470                                                           First Class Mail
Chartered Organization         Lds Orem Park First Ward                                Utah National Parks 591                50 N 750 W                                                     Orem, UT 84057‐4513                                                           First Class Mail
Chartered Organization         Lds Orem Park Fourth Ward                               Utah National Parks 591                1039 W 40 S                                                    Orem, UT 84058‐5265                                                           First Class Mail
Chartered Organization         Lds Orem Park Second Ward                               Utah National Parks 591                114 S 400 W                                                    Orem, UT 84058                                                                First Class Mail
Chartered Organization         Lds Orem Park Seventh Ward                              Utah National Parks 591                114 S 400 W                                                    Orem, UT 84058                                                                First Class Mail
Chartered Organization         Lds Orem Park Sixth Ward                                Utah National Parks 591                195 W 300 S                                                    Orem, UT 84058                                                                First Class Mail
Chartered Organization         Lds Orem Park Tenth Ward                                Utah National Parks 591                50 N 750 W                                                     Orem, UT 84057‐4513                                                           First Class Mail
Chartered Organization         Lds Orem Park Third Ward                                Utah National Parks 591                195 W 300 S                                                    Orem, UT 84058                                                                First Class Mail
Chartered Organization         Lds Orem Second Ward                                    Utah National Parks 591                236 S 400 E                                                    Orem, UT 84097‐5572                                                           First Class Mail
Chartered Organization         Lds Orem Seventh Ward                                   Utah National Parks 591                954 E 200 S                                                    Orem, UT 84097‐5708                                                           First Class Mail
Chartered Organization         Lds Orem Sixth Ward                                     Utah National Parks 591                1082 E 50 S                                                    Orem, UT 84097‐5771                                                           First Class Mail
Chartered Organization         Lds Orem Tenth Ward (Tongan)                            Utah National Parks 591                780 N 700 W                                                    Provo, UT 84601‐1512                                                          First Class Mail
Chartered Organization         Lds Orem Third Ward                                     Utah National Parks 591                255 S 700 E                                                    Orem, UT 84097‐5663                                                           First Class Mail
Chartered Organization         Lds Orem Twelfth Ward                                   Utah National Parks 591                1811 W 850 S                                                   Orem, UT 84059‐4928                                                           First Class Mail
Chartered Organization         Lds Orenco Ward Hillsboro Stake                         Cascade Pacific Council 492            6306 Ne Laurelee St                                            Hillsboro, OR 97124‐6917                                                      First Class Mail
Chartered Organization         Lds Orland Ward Chico Stake                             Golden Empire Council 047              6712 County Rd 20                                              Orland, CA 95963‐9144                                                         First Class Mail
Chartered Organization         Lds Orofino Ward ‐ Lewiston Stake                       Inland NW Council 611                  13610 Freemont Ave                                             Orofino, ID 83544                                                             First Class Mail
Chartered Organization         Lds Orofino Ward/Lewiston Stake                         Inland NW Council 611                  13610 Freemont Ave                                             Orofino, ID 83544                                                             First Class Mail
Chartered Organization         Lds Oroville 1St Ward Gridley Stake                     Golden Empire Council 047              2390 Monte Vista Ave                                           Oroville, CA 95966                                                            First Class Mail
Chartered Organization         Lds Oroville 3Rd Ward Gridley Stake                     Golden Empire Council 047              2390 Monte Vista Ave                                           Oroville, CA 95966                                                            First Class Mail
Chartered Organization         Lds Ortega Ward ‐ Lake Elsinore Stake                   California Inland Empire Council 045   18220 Dexter Ave                                               Lake Elsinore, CA 92530                                                       First Class Mail
Chartered Organization         Lds Orting Ward Enumclaw Stake                          Chief Seattle Council 609              13612 224Th St E                                               Graham, WA 98338‐7656                                                         First Class Mail
Chartered Organization         Lds Osage Beach Ward ‐ St Roberts Stake                 Great Rivers Council 653               1168 State Hwy Kk                                              Osage Beach, MO 65065                                                         First Class Mail
Chartered Organization         Lds Osborn Ward ‐ Phoenix Az East Stk                   Grand Canyon Council 010               3102 N 18Th Ave                                                Phoenix, AZ 85015‐5811                                                        First Class Mail
Chartered Organization         Lds Oscoda Ward ‐ Midland Stake                         Water And Woods Council 782            4685 E Huron Rd                                                Oscoda, MI 48750                                                              First Class Mail
Chartered Organization         Lds Oshkosh Ward Appleton Wi Stake                      Bay‐Lakes Council 635                  2828 Scenic Dr                                                 Oshkosh, WI 54904                                                             First Class Mail
Chartered Organization         Lds Oso Oro Ward ‐ Murrieta Stake                       California Inland Empire Council 045   23800 Washington Ave                                           Murrieta, CA 92562                                                            First Class Mail
Chartered Organization         Lds Oswego Ward ‐ Joliet Stake                          Three Fires Council 127                367 Andover Dr                                                 Oswego, IL 60543‐4012                                                         First Class Mail
Chartered Organization         Lds Ottawa Ward Olathe Stake                            Heart Of America Council 307           1212 S Willow St                                               Ottawa, KS 66067                                                              First Class Mail
Chartered Organization         Lds Otto Ward, Cody Stake                               Greater Wyoming Council 638            775 Higway 30                                                  Basin, WY 82410                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                          Page 226 of 442
                                                                                   Case 20-10343-LSS                                  Doc 8171                                     Filed 01/06/22                              Page 242 of 457
                                                                                                                                                                      Exhibit B
                                                                                                                                                                       Service List
                                                                                                                                                                Served as set forth below

        Description                                                         Name                                                                                    Address                                                                      Email              Method of Service
Chartered Organization         Lds Overlake 1St Ward                                      Tooele Utah W Stake                    220 W 2200 N                                             Tooele, UT 84074                                               First Class Mail
Chartered Organization         Lds Overlake 2Nd Ward                                      Tooele Ut N Stake                      1717 N Berra Blvd                                        Tooele, UT 84074‐9010                                          First Class Mail
Chartered Organization         Lds Overlake 3Rd Ward                                      Tooele Ut N Stake                      1717 N Berra Blvd                                        Tooele, UT 84074‐9010                                          First Class Mail
Chartered Organization         Lds Overlake 4Th Ward                                      Tooele Utah W Stake                    2200 N 220 W                                             Tooele, UT 84074                                               First Class Mail
Chartered Organization         Lds Overlake 5Th Ward                                      Tooele Utah W Stake                    220 W 2200 N                                             Tooele, UT 84074                                               First Class Mail
Chartered Organization         Lds Overlake 6Th Ward                                      Tooele Utah W Stake                    2200 N 220 W                                             Tooele, UT 84074                                               First Class Mail
Chartered Organization         Lds Overland Park 1St Ward Lenexa Stake                    Heart Of America Council 307           7100 Hadley St                                           Overland Park, KS 66204‐1742                                   First Class Mail
Chartered Organization         Lds Overland Park 2Nd Ward Lenexa Stake                    Heart Of America Council 307           7845 Allman Rd                                           Lenexa, KS 66217                                               First Class Mail
Chartered Organization         Lds Overland Ward ‐ Mer Victory Stk                        Ore‐Ida Council 106 ‐ Bsa 106          1950 S Locust Grove Rd                                   Meridian, ID 83642                                             First Class Mail
Chartered Organization         Lds Overton 1St Ward Logandale Stake                       Las Vegas Area Council 328             P.O. Box 690                                             Overton, NV 89040‐0690                                         First Class Mail
Chartered Organization         Lds Overton 2Nd Ward Logandale Stake                       Las Vegas Area Council 328             226 W Thomas                                             Overton, NV 89040                                              First Class Mail
Chartered Organization         Lds Overton 3Rd Ward Logandale Stake                       Las Vegas Area Council 328             P.O. Box 309                                             Overton, NV 89040‐0309                                         First Class Mail
Chartered Organization         Lds Overton 4Th Ward Logandale Stake                       P.O. Box 69                            Logandale, Nv 89021                                                                                                     First Class Mail
Chartered Organization         Lds Oviedo Orlando                                         Central Florida Council 083            350 W Artesia St                                         Oviedo, FL 32765                                               First Class Mail
Chartered Organization         Lds Owasso Ward ‐ Bartlesville Ok Stake                    Indian Nations Council 488             9300 N 129Th East Ave                                    Owasso, OK 74055                                               First Class Mail
Chartered Organization         Lds Owensboro Ward                                         Lincoln Heritage Council 205           3920 E 4Th St                                            Owensboro, KY 42303                                            First Class Mail
Chartered Organization         Lds Owl Creek Branch, Worland State                        Greater Wyoming Council 638            625 S 10Th St                                            Thermopolis, WY 82443‐3235                                     First Class Mail
Chartered Organization         Lds Owosso Ward ‐ Lansing Stake                            Water And Woods Council 782            1588 N Hickory Rd                                        Owosso, MI 48867‐9492                                          First Class Mail
Chartered Organization         Lds Owyhee Ward ‐ Nyssa Stk                                Ore‐Ida Council 106 ‐ Bsa 106          Box 111 Rt 1                                             Nyssa, OR 97913                                                First Class Mail
Chartered Organization         Lds Oxford Ward/S L Granger South Stk                      Great Salt Lake Council 590            3671 S Oldham St                                         West Valley City, UT 84120                                     First Class Mail
Chartered Organization         Lds Ozark Ward ‐ Dothan Alabama Stake                      Alabama‐Florida Council 003            Mixon School Rd                                          Ozark, AL 36360                                                First Class Mail
Chartered Organization         Lds Ozark Ward ‐ Springfield South Stake                   Ozark Trails Council 306               4450 S Farm Rd 141                                       Springfield, MO 65810‐1400                                     First Class Mail
Chartered Organization         Lds Pacana Park Ward ‐ Maricopa Az Stk                     Grand Canyon Council 010               37280 W Bowlin Rd                                        Maricopa, AZ 85138                                             First Class Mail
Chartered Organization         Lds Pace Ward                                              Gulf Coast Council 773                 5737 Berryhill Rd                                        Milton, FL 32570‐8281                                          First Class Mail
Chartered Organization         Lds Pacific Branch Beaverton Stake                         Cascade Pacific Council 492            4195 Sw 99Th Ave                                         Beaverton, OR 97005‐3325                                       First Class Mail
Chartered Organization         Lds Pacific Drive Second Ward                              Utah National Parks 591                507 W 700 N                                              American Fork, UT 84003                                        First Class Mail
Chartered Organization         Lds Pacific Drive Ward                                     Utah National Parks 591                500 N 700 W                                              American Fork, UT 84003                                        First Class Mail
Chartered Organization         Lds Pacific Ridge Ward Omaha Stake                         Mid‐America Council 326                17606 Spaulding St                                       Omaha, NE 68116‐3110                                           First Class Mail
Chartered Organization         Lds Pacific Shores Ward                                    Huntington Beach Stake                 8702 Atlanta Ave                                         Huntington Beach, CA 92646                                     First Class Mail
Chartered Organization         Lds Paducah Ward                                           Lincoln Heritage Council 205           320 Birch St                                             Paducah, KY 42001‐4906                                         First Class Mail
Chartered Organization         Lds Page 1St Ward ‐ Page Az Stk                            Grand Canyon Council 010               1301 N Navajo Dr                                         Page, AZ 86040‐0977                                            First Class Mail
Chartered Organization         Lds Page 2Nd Ward ‐ Page Az Stk                            Grand Canyon Council 010               1301 N Navajo Dr                                         Page, AZ 86040‐0977                                            First Class Mail
Chartered Organization         Lds Page 3Rd Ward ‐ Page Az Stk                            Grand Canyon Council 010               1301 N Navajo Dr                                         Page, AZ 86040‐0977                                            First Class Mail
Chartered Organization         Lds Page Ward                                              Utah National Parks 591                711 S 600 E                                              Payson, UT 84651‐2955                                          First Class Mail
Chartered Organization         Lds Page Ward ‐ Gilbert Az                                 Highland E Stake                       3310 E Campbell Rd                                       Gilbert, AZ 85234‐5261                                         First Class Mail
Chartered Organization         Lds Pago 1St Ward ‐ Pago Samoa Stake                       Aloha Council, Bsa 104                 P.O. Box 1419                                            Pago Pago, AS 96799‐1419                                       First Class Mail
Chartered Organization         Lds Pago 2Nd Ward ‐ Pago Malaeimi Stake                    Aloha Council, Bsa 104                 American Samoa                                           Pago Pago Samoa, AS 96799                                      First Class Mail
Chartered Organization         Lds Pago 3Rd Ward ‐ Pago Malaeimi Stake                    Aloha Council, Bsa 104                 P.O. Box 4946                                            Pago Pago, AS 96799‐4946                                       First Class Mail
Chartered Organization         Lds Pagosa Springs Ward Durango Stake                      Great Swest Council 412                418 S 8Th St                                             Pagosa Springs, CO 81147                                       First Class Mail
Chartered Organization         Lds Pahoa Ward ‐ Hilo Stake                                Aloha Council, Bsa 104                 16‐381 Ainaloa Blvd                                      Pahoa, HI 96778                                                First Class Mail
Chartered Organization         Lds Painted Desert Ward ‐ Holbrook Az Stk                  Grand Canyon Council 010               1127 Helen Ave                                           Holbrook, AZ 86025                                             First Class Mail
Chartered Organization         Lds Painted Desert Ward Meadows Stake                      Las Vegas Area Council 328             5241 N Lisa Ln                                           Las Vegas, NV 89149‐4647                                       First Class Mail
Chartered Organization         Lds Painted Mtn Ward Blue Diamond Stake                    Las Vegas Area Council 328             9485 S Cimarron Rd                                       Las Vegas, NV 89178                                            First Class Mail
Chartered Organization         Lds Pajarito Ward Santa Fe Stake                           Great Swest Council 412                904 Capulin Rd                                           Los Alamos, NM 87544‐2841                                      First Class Mail
Chartered Organization         Lds Palehua Ward ‐ Makakilo Stake                          Aloha Council, Bsa 104                 92‐900 Makakilo Dr                                       Kapolei, HI 96707‐1315                                         First Class Mail
Chartered Organization         Lds Palestine Ward, Tyler Stake                            East Texas Area Council 585            4400 N Loop 256                                          Palestine, TX 75803                                            First Class Mail
Chartered Organization         Lds Palm Bay 2Nd Cocoa                                     Central Florida Council 083            1065 Emerson Dr Ne                                       Palm Bay, FL 32907‐5543                                        First Class Mail
Chartered Organization         Lds Palm Bay Cocoa                                         Central Florida Council 083            1065 Emerson Dr Ne                                       Palm Bay, FL 32907‐5543                                        First Class Mail
Chartered Organization         Lds Palm Beach Ward ‐ Wpb Stake                            Gulf Stream Council 085                1710 Carandis Rd                                         West Palm Beach, FL 33406‐5280                                 First Class Mail
Chartered Organization         Lds Palm Canyon Ward                                       Mccullough Hills Stake                 567 W Pacific Ave                                        Henderson, NV 89015                                            First Class Mail
Chartered Organization         Lds Palm Coast Deland                                      Central Florida Council 083            402 N Palmetto St                                        Bunnell, FL 32110                                              First Class Mail
Chartered Organization         Lds Palm Hills Ward Black Mountain Stake                   Las Vegas Area Council 328             400 S Water St                                           Henderson, NV 89015‐5301                                       First Class Mail
Chartered Organization         Lds Palm Springs Ward                                      South Florida Council 084              8201 Nw 186Th St                                         Hialeah, FL 33015‐2651                                         First Class Mail
Chartered Organization         Lds Palm Springs Ward ‐ Yucca Valley Stake                 California Inland Empire Council 045   1400 N Avenida Caballeros                                Palm Springs, CA 92262‐4704                                    First Class Mail
Chartered Organization         Lds Palm Valley Ward ‐ Goodyear Az Stk                     Grand Canyon Council 010               425 S Estrella Pkwy                                      Goodyear, AZ 85338                                             First Class Mail
Chartered Organization         Lds ‐Palmdale Stake‐ Agua Dulce Ward                       W.L.A.C.C. 051                         35450 Penman Rd                                          Agua Dulce, CA 91390                                           First Class Mail
Chartered Organization         Lds ‐Palmdale Stake‐ Palmdale 1St Ward                     W.L.A.C.C. 051                         405 E Ave R12                                            Palmdale, CA 93550‐6023                                        First Class Mail
Chartered Organization         Lds ‐Palmdale Stake‐ Palmdale 4Th Ward                     W.L.A.C.C. 051                         35266 N 87th St E                                        Littlerock, CA 93543                                           First Class Mail
Chartered Organization         Lds ‐Palmdale Stake‐ Palmdale 5Th Ward                     W.L.A.C.C. 051                         39546 23rd St W                                          Palmdale, CA 93551‐4178                                        First Class Mail
Chartered Organization         Lds Palmer Alaska Stake                                    Great Alaska Council 610               560 W Bogard Ave                                         Palmer, AK 99645                                               First Class Mail
Chartered Organization         Lds Palmer Park Ward ‐ Colorado Spgs Stake                 Pikes Peak Council 060                 2750 Melissa Dr                                          Colorado Springs, CO 80907‐6454                                First Class Mail
Chartered Organization         Lds Palmer Ward ‐ Palmer Alaska Stake                      Great Alaska Council 610               560 W Arctic Ave                                         Palmer, AK 99645                                               First Class Mail
Chartered Organization         Lds Palmhurst Ward Las Vegas Stake                         Las Vegas Area Council 328             221 Lorenzi St                                           Las Vegas, NV 89107‐2494                                       First Class Mail
Chartered Organization         Lds Palmyra Ward                                           Utah National Parks 591                1866 W 5000 S                                            Spanish Fork, UT 84660                                         First Class Mail
Chartered Organization         Lds Palmyra Ward ‐ Orange Stake                            Orange County Council 039              674 S Yorba St                                           Orange, CA 92869‐5042                                          First Class Mail
Chartered Organization         Lds Palmyra Ward Lakes Stake                               Las Vegas Area Council 328             1801 S Monte Cristo Way                                  Las Vegas, NV 89117‐2047                                       First Class Mail
Chartered Organization         Lds Palmyra Ward Palmyra Stake                             Seneca Waterways 397                   2801 Temple Rd                                           Palmyra, NY 14522‐9580                                         First Class Mail
Chartered Organization         Lds Palo Alto 1St Ward, Menlo Park Stake                   Pacific Skyline Council 031            3865 Middlefield Rd                                      Palo Alto, CA 94303‐4718                                       First Class Mail
Chartered Organization         Lds Palo Alto 2Nd Ward, Menlo Park Stake                   Pacific Skyline Council 031            3865 Middlefield Rd                                      Palo Alto, CA 94303‐4718                                       First Class Mail
Chartered Organization         Lds Palo Cedro Ward Anderson Stake                         Golden Empire Council 047              21912 Plaza Dr                                           Palo Cedro, CA 96073‐9664                                      First Class Mail
Chartered Organization         Lds Palo Duro Ward Amarillo Tx Stake                       Golden Spread Council 562              63 Hunsley Rd                                            Canyon, TX 79015‐1741                                          First Class Mail
Chartered Organization         Lds Palo Verde Ward ‐ Buckeye Az Stk                       Grand Canyon Council 010               1002 E Eason Ave                                         Buckeye, AZ 85326                                              First Class Mail
Chartered Organization         Lds Palo Verde Ward ‐ Gilbert Az Stk                       Grand Canyon Council 010               10236 S Greenfield Rd                                    Gilbert, AZ 85234                                              First Class Mail
Chartered Organization         Lds Palo Verde Ward ‐ Scottsdale Az                        North Stake                            6840 E Gold Dust Ave                                     Scottsdale, AZ 85253‐1410                                      First Class Mail
Chartered Organization         Lds Palo Verde Ward Hend Lake Mead Stake                   Las Vegas Area Council 328             401 Palo Verde Dr                                        Henderson, NV 89015                                            First Class Mail
Chartered Organization         Lds Palo Verde Ward Red Rock Stake                         Las Vegas Area Council 328             10550 Alta Rd                                            Las Vegas, NV 89144                                            First Class Mail
Chartered Organization         Lds Paloma Lake Ward Round Rock E Stake                    Capitol Area Council 564               2800 North Dr                                            Taylor, TX 76574‐5036                                          First Class Mail
Chartered Organization         Lds Paloma Valley Ward ‐ Menifee Stake                     California Inland Empire Council 045   28150 La Piedra Rd                                       Menifee, CA 92584                                              First Class Mail
Chartered Organization         Lds Paloma Ward ‐ Show Low Az Stk                          Grand Canyon Council 010               1401 E Deuce Of Clubs                                    Show Low, AZ 85901                                             First Class Mail
Chartered Organization         Lds Palos Verdes Stake                                     Greater Los Angeles Area 033           5845 Crestridge Rd                                       Rancho Palos Verdes, CA 90275‐4955                             First Class Mail
Chartered Organization         Lds Palos Verdes Stake L0047 & L0134                       Greater Los Angeles Area 033           5845 Crestridge Rd                                       Rancho Palos Verdes, CA 90275‐4955                             First Class Mail
Chartered Organization         Lds Palouse River Ward/Moscow Stake                        Inland NW Council 611                  1217 Kamiaken St                                         Moscow, ID 83843‐3856                                          First Class Mail
Chartered Organization         Lds Palouse River Ward/Moscow Stake                        Inland NW Council 611                  1657 S Blaine St                                         Moscow, ID 83843‐8308                                          First Class Mail
Chartered Organization         Lds Palouse Ward ‐ Kennewick East Stake                    Blue Mountain Council 604              3004 S Rainier St                                        Kennewick, WA 99337‐3858                                       First Class Mail
Chartered Organization         Lds Pampa Ward Amarillo Tx Stake                           Golden Spread Council 562              411 E 29Th Ave                                           Pampa, TX 79065‐3057                                           First Class Mail
Chartered Organization         Lds Panaca First Ward                                      Utah National Parks 591                P.O. Box 507                                             Panaca, NV 89042‐0507                                          First Class Mail
Chartered Organization         Lds Panaca Second Ward                                     Utah National Parks 591                P.O. Box 628                                             Panaca, NV 89042‐0628                                          First Class Mail
Chartered Organization         Lds Panguitch First Ward                                   Utah National Parks 591                550 S 100 W                                              Panguitch, UT 84759‐7867                                       First Class Mail
Chartered Organization         Lds Panguitch Second Ward                                  Utah National Parks 591                150 N 400 E                                              Panguitch, UT 84759                                            First Class Mail
Chartered Organization         Lds Panguitch Third Ward                                   Utah National Parks 591                550 S 100 W                                              Panguitch, UT 84759‐7867                                       First Class Mail
Chartered Organization         Lds Panorama Heights Ward                                  Rio Rancho Stake                       300 Loma Colorado Blvd Ne                                Rio Rancho, NM 87124‐6522                                      First Class Mail
Chartered Organization         Lds Panorama Ward                                          Utah National Parks 591                2140 E 620 N                                             St George, UT 84790‐8119                                       First Class Mail
Chartered Organization         Lds Paola Ward Olathe Stake                                Heart Of America Council 307           28750 Hospital Dr                                        Paola, KS 66071                                                First Class Mail
Chartered Organization         Lds Paonia Ward/Montrose Stake                             Denver Area Council 061                P.O. Box 819                                             Paonia, CO 81428‐0819                                          First Class Mail
Chartered Organization         Lds Papago Ward ‐ Mesa Az                                  Maricopa N Stake                       1816 N Extension                                         Scottsdale, AZ 85256                                           First Class Mail
Chartered Organization         Lds Paper Mill Ward/Roswell Stake                          Atlanta Area Council 092               95 Holt Rd Ne                                            Marietta, GA 30068‐3684                                        First Class Mail
Chartered Organization         Lds Papillion Ward Papillion Stake                         Mid‐America Council 326                12009 S 84Th St                                          Papillion, NE 68046                                            First Class Mail
Chartered Organization         Lds Paradise 1St Ward Chico Stake                          Golden Empire Council 047              1045 Buschmann Rd                                        Paradise, CA 95969‐5137                                        First Class Mail
Chartered Organization         Lds Paradise 2Nd Ward Chico Stake                          Golden Empire Council 047              1275 Bille Rd                                            Paradise, CA 95969                                             First Class Mail
Chartered Organization         Lds Paradise 2Nd Ward Chico Stake                          Golden Empire Council 047              1275 Bille Rd                                            Paradise, CA 95969                                             First Class Mail
Chartered Organization         Lds Paradise Hills Ward                                    Mccullough Hills Stake                 485 Mission Dr                                           Henderson, NV 89002                                            First Class Mail
Chartered Organization         Lds Paradise Hills Ward Abq West Stake                     Great Swest Council 412                4500 Ellison Dr Nw                                       Albuquerque, NM 87114                                          First Class Mail
Chartered Organization         Lds Paradise Ridge Ward/Moscow Stake                       Inland NW Council 611                  1657 S Blaine St                                         Moscow, ID 83843‐8308                                          First Class Mail
Chartered Organization         Lds Paradise Spanish Ward ‐ Ontario Stake                  California Inland Empire Council 045   701 E Rosewood Ct                                        Ontario, CA 91764‐2413                                         First Class Mail
Chartered Organization         Lds Paradise Vly Ward                                      Paradise Valley Az Stake               3601 E Shea Blvd                                         Phoenix, AZ 85028                                              First Class Mail
Chartered Organization         Lds Paradise Ward ‐ West Richland Stake                    Blue Mountain Council 604              4500 Paradise St                                         West Richland, WA 99353                                        First Class Mail
Chartered Organization         Lds Paradise Ward Paradise Stake                           Las Vegas Area Council 328             5343 Annie Oakley Dr                                     Las Vegas, NV 89120‐2051                                       First Class Mail
Chartered Organization         Lds Paradise Ward Warm Springs Stake                       Las Vegas Area Council 328             7670 S Bruce St                                          Las Vegas, NV 89123‐1523                                       First Class Mail
Chartered Organization         Lds Paradise Ward/Taylorsville Ut Stk                      Great Salt Lake Council 590            1555 W Lovely Rd                                         Salt Lake City, UT 84123                                       First Class Mail
Chartered Organization         Lds Paragonah Ward                                         Utah National Parks 591                79 N Main St                                             Paragonah, UT 84760‐7752                                       First Class Mail
Chartered Organization         Lds Paramount Ward ‐ Meridian Linder Stk                   Ore‐Ida Council 106 ‐ Bsa 106          5501 N Meridian Rd                                       Meridian, ID 83646                                             First Class Mail
Chartered Organization         Lds Paris Branch Champaign Stake                           Greater St Louis Area Council 312      145 E Steidl Rd                                          Paris, IL 61944                                                First Class Mail
Chartered Organization         Lds Paris Ward ‐ Ky Stake                                  Blue Grass Council 204                 436 Bell St                                              Paris, KY 40361‐1941                                           First Class Mail
Chartered Organization         Lds Park 1St Ward/W J Ut Park Stk                          Great Salt Lake Council 590            4825 W 7000 S                                            West Jordan, UT 84084                                          First Class Mail
Chartered Organization         Lds Park 2Nd Ward/W J Ut Park Stk                          Great Salt Lake Council 590            4825 W 7000 S                                            West Jordan, UT 84081                                          First Class Mail
Chartered Organization         Lds Park 3Rd Ward/W J Ut Park Stk                          Great Salt Lake Council 590            4825 W 7000 S                                            West Jordan, UT 84081                                          First Class Mail
Chartered Organization         Lds Park 4Th Ward/W J Ut Park Stk                          Great Salt Lake Council 590            7411 S 4800 W                                            West Jordan, UT 84081                                          First Class Mail
Chartered Organization         Lds Park 5Th Ward/W J Ut Park Stk                          Great Salt Lake Council 590            7411 S 4800 W                                            West Jordan, UT 84084                                          First Class Mail
Chartered Organization         Lds Park 6Th Ward/W J Ut Park Stk                          Great Salt Lake Council 590            7411 S 4800 W                                            West Jordan, UT 84084                                          First Class Mail
Chartered Organization         Lds Park 7Th Ward                                          W Jordan Ut Park Stake                 7041 S Gold Finch Cir                                    West Jordan, UT 84081‐4166                                     First Class Mail
Chartered Organization         Lds Park 8Th Ward                                          W Jordan Ut Park Stake                 7411 S 4800 W                                            West Jordan, UT 84081                                          First Class Mail
Chartered Organization         Lds Park Branch Ward E Lb Stake                            Long Beach Area Council 032            6500 Athlerton Ave                                       Long Beach, CA 90804                                           First Class Mail
Chartered Organization         Lds Park Center Ward ‐ Boise E Stk                         Ore‐Ida Council 106 ‐ Bsa 106          2938 E Migratory Dr                                      Boise, ID 83706‐6934                                           First Class Mail
Chartered Organization         Lds Park City Ward/Park City Ut Stk                        Great Salt Lake Council 590            2300 Monitor Dr                                          Park City, UT 84060                                            First Class Mail
Chartered Organization         Lds Park Glen 1St Ward                                     Fort Worth North Stake                 P.O. Box 54190                                           Hurst, TX 76054‐4190                                           First Class Mail
Chartered Organization         Lds Park Glen 2Nd Ward                                     Fort Worth North Stake                 850 Cannon Dr                                            Hurst, TX 76054‐3191                                           First Class Mail
Chartered Organization         Lds Park Hill Ward ‐ Derby Stake                           Quivira Council, Bsa 198               1409 S Rock Rd                                           Derby, KS 67037‐3977                                           First Class Mail
Chartered Organization         Lds Park Hill Ward ‐ Hemet Stake                           California Inland Empire Council 045   1151 Park Ave                                            San Jacinto, CA 92583‐5767                                     First Class Mail
Chartered Organization         Lds Park Hills Ward ‐ Kennewick East Stake                 Blue Mountain Council 604              4445 S Olympia                                           Kennewick, WA 99337                                            First Class Mail
Chartered Organization         Lds Park House Ward                                        Herriman Ut Mtn View Stake             14068 S 5600 W                                           Herriman, UT 84096                                             First Class Mail
Chartered Organization         Lds Park Lane Ward ‐ Star Stk                              Ore‐Ida Council 106 ‐ Bsa 106          1133 N Park Ln                                           Eagle, ID 83616                                                First Class Mail
Chartered Organization         Lds Park Meadow Ward/Centerville Ut Stk                    Great Salt Lake Council 590            950 N Main                                               Centerville, UT 84014                                          First Class Mail
Chartered Organization         Lds Park Meadows Ward, Castle Rock Stake                   Denver Area Council 061                7471 Timberline Rd                                       Lone Tree, CO 80124                                            First Class Mail
Chartered Organization         Lds Park Orchard Ward Kent Stake                           Chief Seattle Council 609              24419 94Th Ave S                                         Kent, WA 98030                                                 First Class Mail
Chartered Organization         Lds Park Place Ward ‐ Show Low Az Stk                      Grand Canyon Council 010               3601 W Fairway Ct                                        Show Low, AZ 85901‐3396                                        First Class Mail
Chartered Organization         Lds Park Pointe Ward                                       W J Ut Bingham Creek Stake             8539 S 2200 W                                            West Jordan, UT 84088‐9517                                     First Class Mail
Chartered Organization         Lds Park Ridge (Sp)Br/Kearns Ut West Stk                   Great Salt Lake Council 590            5422 S Sarah Jane Dr                                     Kearns, UT 84118                                               First Class Mail
Chartered Organization         Lds Park View Ward                                         Stansbury Park Ut South Stake          57 E Porter Way                                          Stansbury Park, UT 84074                                       First Class Mail
Chartered Organization         Lds Park Ward                                              Utah National Parks 591                110 S 300 W                                              Payson, UT 84651‐2146                                          First Class Mail
Chartered Organization         Lds Park Ward/Cntrvll Ut North Stk                         Great Salt Lake Council 590            1100 N 400 W                                             Centerville, UT 84014                                          First Class Mail
Chartered Organization         Lds Park Ward/Murray Ut South Stk                          Great Salt Lake Council 590            495 E 5600 S                                             Salt Lake City, UT 84107                                       First Class Mail
Chartered Organization         Lds Park Ward/Sandy Ut Central Stk                         Great Salt Lake Council 590            1050 Galena Dr                                           Sandy, UT 84094                                                First Class Mail
Chartered Organization         Lds Parkcrest Ward ‐ Mesa Az Alta Mesa Stk                 Grand Canyon Council 010               3920 E Brown Rd                                          Mesa, AZ 85205                                                 First Class Mail
Chartered Organization         Lds Parker Ward Lake Havasu Stake                          Las Vegas Area Council 328             301 S Mohave Ave                                         Parker, AZ 85344‐4358                                          First Class Mail
Chartered Organization         Lds Parker Ward, Parker Stake                              Denver Area Council 061                20850 E Main St                                          Parker, CO 80134                                               First Class Mail
Chartered Organization         Lds Parkers Landing Ward                                   Vancouver E Stake                      3907 Q St                                                Washougal, WA 98671                                            First Class Mail
Chartered Organization         Lds Parks Ward ‐ Qc Az East Stk                            Grand Canyon Council 010               1727 E Hesperus Way                                      San Tan Valley, AZ 85140‐5103                                  First Class Mail
Chartered Organization         Lds Parkside Ward                                          Utah National Parks 591                8285 N Porters Crossing Pkwy                             Eagle Mountain, UT 84005                                       First Class Mail
Chartered Organization         Lds Parkside Ward ‐ Mer W Stk                              Ore‐Ida Council 106 ‐ Bsa 106          1560 N Ten Mile Rd                                       Meridian, ID 83642                                             First Class Mail
Chartered Organization         Lds Parkside Ward ‐ Phoenix Az                             Desert Hills Stake                     2503 W Anthem Way                                        Anthem, AZ 85086                                               First Class Mail
Chartered Organization         Lds Parkside Ward Round Rock Stake                         Capitol Area Council 564               3613 Laurel Bay Loop                                     Round Rock, TX 78681‐1121                                      First Class Mail
Chartered Organization         Lds Parkside Ward/Magna Ut Stk                             Great Salt Lake Council 590            3610 S 8400 W                                            Magna, UT 84044‐2215                                           First Class Mail
Chartered Organization         Lds Parkview Ward                                          Sandy Ut Granite S Stake               9855 S 2300 E                                            Sandy, UT 84092                                                First Class Mail
Chartered Organization         Lds Parkview Ward ‐ Palm Desert Stake                      California Inland Empire Council 045   72960 Parkview Dr                                        Palm Desert, CA 92260‐9357                                     First Class Mail
Chartered Organization         Lds Parkview Ward (Tongan)                                 Sl Ut Stake (Tongan)                   1172 S Glendale Dr                                       Salt Lake City, UT 84104                                       First Class Mail
Chartered Organization         Lds Parkview Ward, Arapahoe Stake                          Denver Area Council 061                5175 S Picadilly St                                      Centennial, CO 80015‐3313                                      First Class Mail
Chartered Organization         Lds Parkview Ward/Murray Ut Parkway Stk                    Great Salt Lake Council 590            619 W 5750 S                                             Murray, UT 84123                                               First Class Mail
Chartered Organization         Lds Parkville Ward Platte City Stake                       Heart Of America Council 307           5827 Nw Aspen Ln                                         Parkville, MO 64152‐3371                                       First Class Mail
Chartered Organization         Lds Parkway 1St Ward (Sp)                                  North S L Parkway Stake                261 E Center St                                          North Salt Lake, UT 84054                                      First Class Mail
Chartered Organization         Lds Parkway 1St Ward/S J Ut Parkway Stk                    Great Salt Lake Council 590            9894 S 2700 W                                            South Jordan, UT 84095                                         First Class Mail
Chartered Organization         Lds Parkway 2Nd Ward                                       North S L Ut Legacy Stake              351 Lofty Ln                                             North Salt Lake, UT 84054                                      First Class Mail
Chartered Organization         Lds Parkway 2Nd Ward ‐ St Louis Stake                      Greater St Louis Area Council 312      15081 Clayton Rd                                         Ballwin, MO 63011                                              First Class Mail
Chartered Organization         Lds Parkway 2Nd Ward/S J Ut Parkway Stk                    Great Salt Lake Council 590            3407 W 9625 S                                            South Jordan, UT 84095                                         First Class Mail
Chartered Organization         Lds Parkway 3Rd Ward/S J Ut Parkway Stk                    Great Salt Lake Council 590            10206 S 3200 W                                           South Jordan, UT 84095                                         First Class Mail
Chartered Organization         Lds Parkway 4Th Ward/S J Ut Parkway Stk                    Great Salt Lake Council 590            3407 W 9625 S                                            South Jordan, UT 84095                                         First Class Mail
Chartered Organization         Lds Parkway 5Th Ward/S J Ut Parkway Stk                    Great Salt Lake Council 590            3200 W 10206 S                                           South Jordan, UT 84095                                         First Class Mail
Chartered Organization         Lds Parkway 6Th Ward/S J Ut Parkway Stk                    Great Salt Lake Council 590            3407 W 9625 So                                           South Jordan, UT 84095                                         First Class Mail
Chartered Organization         Lds Parkway 7Th Ward/S J Ut Parkway Stk                    Great Salt Lake Council 590            9894 S 2700 W                                            South Jordan, UT 84095                                         First Class Mail
Chartered Organization         Lds Parkway 8Th Ward/S J Ut Parkway Stk                    Great Salt Lake Council 590            9894 S 2700 W                                            South Jordan, UT 84095                                         First Class Mail
Chartered Organization         Lds Parkway 9Th Ward/S J Ut Parkway Stk                    Great Salt Lake Council 590            3200 W 10206 S                                           South Jordan, UT 84095                                         First Class Mail
Chartered Organization         Lds Parkway Eighth Ward                                    Utah National Parks 591                1461 N Lakeshore Dr                                      Provo, UT 84601‐5822                                           First Class Mail
Chartered Organization         Lds Parkway Fifth Ward                                     Utah National Parks 591                3056 W 820 N                                             Provo, UT 84601‐1724                                           First Class Mail
Chartered Organization         Lds Parkway First Ward                                     Utah National Parks 591                2801 W 620 N                                             Provo, UT 84601‐8227                                           First Class Mail
Chartered Organization         Lds Parkway Fourth Ward                                    Utah National Parks 591                1434 N 2800 W                                            Provo, UT 84601‐5797                                           First Class Mail
Chartered Organization         Lds Parkway Second Ward                                    Utah National Parks 591                2801 W 620 N                                             Provo, UT 84601‐8227                                           First Class Mail
Chartered Organization         Lds Parkway Seventh Ward                                   Utah National Parks 591                2587 W 1390 N                                            Provo, UT 84601‐8273                                           First Class Mail
Chartered Organization         Lds Parkway Sixth Branch (Spanish)                         Utah National Parks 591                1390 N Lakeshore Dr                                      Provo, UT 84601                                                First Class Mail
Chartered Organization         Lds Parkway Third Ward                                     Utah National Parks 591                1249 N 3100 W                                            Provo, UT 84601‐5009                                           First Class Mail
Chartered Organization         Lds Parkway Ward                                           Oregon Trail Council 697               2001 W Bertha Ave                                        Roseburg, OR 97471‐2724                                        First Class Mail
Chartered Organization         Lds Parkway Ward ‐ St Louis Stake                          Greater St Louis Area Council 312      15081 Clayton Rd                                         Chesterfield, MO 63017‐7045                                    First Class Mail
Chartered Organization         Lds Parkway Ward/Rvrtn Ut Summerhill Stk                   Great Salt Lake Council 590            12110 S 1300 W                                           Riverton, UT 84065                                             First Class Mail
Chartered Organization         Lds Parkwood Ward ‐ Mesa Az Skyline Stk                    Grand Canyon Council 010               618 S Signal Butte Rd                                    Mesa, AZ 85207                                                 First Class Mail
Chartered Organization         Lds Parkwood Ward ‐ West Stake                             Alamo Area Council 583                 6240 Utsa Blvd                                           San Antonio, TX 78249‐1620                                     First Class Mail
Chartered Organization         Lds Parkwood Ward/Kearns Ut Central Stk                    Great Salt Lake Council 590            5927 S Park Wood Dr                                      Salt Lake City, UT 84118                                       First Class Mail
Chartered Organization         Lds Parleys 1St Ward/S L Parleys Stk                       Great Salt Lake Council 590            2350 S 2100 E                                            Salt Lake City, UT 84109                                       First Class Mail
Chartered Organization         Lds Parleys 3Rd Ward/S L Parleys Stk                       Great Salt Lake Council 590            2615 E Stringham Ave                                     Salt Lake City, UT 84109                                       First Class Mail
Chartered Organization         Lds Parleys 4Th Ward/S L Parleys Stk                       Great Salt Lake Council 590            1870 Parleys Canyon Blvd                                 Salt Lake City, UT 84106                                       First Class Mail
Chartered Organization         Lds Parleys 5Th Ward/S L Parleys Stk                       Great Salt Lake Council 590            2615 E Stringham Ave                                     Salt Lake City, UT 84109                                       First Class Mail
Chartered Organization         Lds Parleys 6Th Ward/S L Parleys Stk                       Great Salt Lake Council 590            2350 S 2100 E                                            Salt Lake City, UT 84109                                       First Class Mail
Chartered Organization         Lds Parleys Creek Branch (Swahilli)                        Sl E Millcreek N Stake                 1700 S 1100 E                                            Salt Lake City, UT 84105                                       First Class Mail
Chartered Organization         Lds Parma 2Nd Ward ‐ Nyssa Stk                             Ore‐Ida Council 106 ‐ Bsa 106          307 E Andrew Ave                                         Parma, ID 83660                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                       Page 227 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                   Filed 01/06/22                           Page 243 of 457
                                                                                                                                                                  Exhibit B
                                                                                                                                                                   Service List
                                                                                                                                                            Served as set forth below

        Description                                                       Name                                                                                  Address                                                                   Email              Method of Service
Chartered Organization         Lds Parma Ward ‐ Nyssa Stk                               Ore‐Ida Council 106 ‐ Bsa 106          Fourth & Andrew                                        Parma, ID 83660                                             First Class Mail
Chartered Organization         Lds Parowan Fifth Ward                                   Utah National Parks 591                P.O. Box 1819                                          Parowan, UT 84761‐1819                                      First Class Mail
Chartered Organization         Lds Parowan First Ward                                   Utah National Parks 591                P.O. Box 1780                                          Parowan, UT 84761‐1780                                      First Class Mail
Chartered Organization         Lds Parowan Fourth Ward                                  Utah National Parks 591                90 S Main St                                           Parowan, UT 84761                                           First Class Mail
Chartered Organization         Lds Parowan Second Ward                                  Utah National Parks 591                87 W Center St                                         Parowan, UT 84761                                           First Class Mail
Chartered Organization         Lds Parowan Third Ward                                   Utah National Parks 591                90 S Main St                                           Parowan, UT 84761                                           First Class Mail
Chartered Organization         Lds Parrish Canyon Ward                                  Centerville Ut Stake                   610 N 100 E                                            Centerville, UT 84014                                       First Class Mail
Chartered Organization         Lds Parrish Heights Ward                                 Centerville Ut Stake                   610 N 100 E                                            Centerville, UT 84014                                       First Class Mail
Chartered Organization         Lds Parsons Ward ‐ Joplin Stake                          Quivira Council, Bsa 198               3529 Gabriel Ave                                       Parsons, KS 67357‐2128                                      First Class Mail
Chartered Organization         Lds Partridge Ward ‐ Chandler Az East Stk                Grand Canyon Council 010               4316 S Val Vista                                       Gilbert, AZ 85297                                           First Class Mail
Chartered Organization         Lds Pasadena 2Nd Ward                                    Houston E Stake                        4202 Yellowstone Dr                                    Pasadena, TX 77504                                          First Class Mail
Chartered Organization         Lds Pasadena 3Rd Ward                                    Houston E Stake                        4917 Allen Genoa Rd                                    Pasadena, TX 77504‐3802                                     First Class Mail
Chartered Organization         Lds Pasadena Ward 24 Pasadena Stake                      Greater Los Angeles Area 033           770 Sierra Madre Villa Ave                             Pasadena, CA 91107‐2042                                     First Class Mail
Chartered Organization         Lds Pasadena Ward Annapolis Maryland                     Baltimore Area Council 220             409 5Th Ave Se                                         Glen Burnie, MD 21061‐3648                                  First Class Mail
Chartered Organization         Lds Pasco 10Th Ward ‐ Pasco North Stake                  Blue Mountain Council 604              4618 Porto Ln                                          Pasco, WA 99301                                             First Class Mail
Chartered Organization         Lds Pasco 11Th Ward ‐ Pasco North Stake                  Blue Mountain Council 604              4618 Porto Ln                                          Pasco, WA 99301                                             First Class Mail
Chartered Organization         Lds Pasco 1St Ward ‐ Pasco North Stake                   Blue Mountain Council 604              4618 Porto Ln                                          Pasco, WA 99301                                             First Class Mail
Chartered Organization         Lds Pasco 2Nd Ward ‐ Pasco Stake                         Blue Mountain Council 604              2004 Rd 24                                             Pasco, WA 99301                                             First Class Mail
Chartered Organization         Lds Pasco 3Rd Ward ‐ Pasco Stake                         Blue Mountain Council 604              4305 Crescent Rd                                       Pasco, WA 99301‐6521                                        First Class Mail
Chartered Organization         Lds Pasco 4Th Ward ‐ Pasco Stake                         Blue Mountain Council 604              2004 N Rd 24                                           Pasco, WA 99301                                             First Class Mail
Chartered Organization         Lds Pasco 6Th Ward ‐ Pasco Stake                         Blue Mountain Council 604              4305 Crescent Rd                                       Pasco, WA 99301‐6521                                        First Class Mail
Chartered Organization         Lds Pasco 8Th Ward ‐ Pasco Stake                         Blue Mountain Council 604              4305 Crescent Rd Bldg 108                              Pasco, WA 99301‐6521                                        First Class Mail
Chartered Organization         Lds Pasco 9Th Ward ‐ Pasco North Stake                   Blue Mountain Council 604              4618 Porto Ln                                          Pasco, WA 99301                                             First Class Mail
Chartered Organization         Lds Paseo Crossing Ward ‐ Chandler Az                    South Stake                            17817 S Mcqueen Rd                                     Chandler, AZ 85286‐1020                                     First Class Mail
Chartered Organization         Lds Paseo Verde Ward Carnegie Stake                      Las Vegas Area Council 328             2497 Cozy Hill Cir                                     Henderson, NV 89052‐2674                                    First Class Mail
Chartered Organization         Lds Paseos Ward Desert Foothill Stake                    Las Vegas Area Council 328             10550 Alta Dr                                          Las Vegas, NV 89138                                         First Class Mail
Chartered Organization         Lds Paso Robles 1St Ward                                 San Luis Obispo Stake                  1020 Creston Rd                                        Paso Robles, CA 93446‐3028                                  First Class Mail
Chartered Organization         Lds Paso Robles 2Nd Ward                                 San Luis Obispo Stake                  1020 Creston Rd                                        Paso Robles, CA 93446‐3028                                  First Class Mail
Chartered Organization         Lds Passons Ward L497                                    Greater Los Angeles Area 033           6203 Passons Blvd                                      Pico Rivera, CA 90660‐3352                                  First Class Mail
Chartered Organization         Lds Patriot Ridge Ward                                   Herriman Ut S Stake                    4617 W Patriot Ridge Dr                                Herriman, UT 84096                                          First Class Mail
Chartered Organization         Lds Patterson Ward ‐ Mesa Az Skyline Stk                 Grand Canyon Council 010               10721 E Balmoral Ave                                   Mesa, AZ 85208‐8765                                         First Class Mail
Chartered Organization         Lds Pauba Ward ‐ Temecula Stake                          California Inland Empire Council 045   33359 Nicholas Cmn                                     Temecula, CA 92592‐4359                                     First Class Mail
Chartered Organization         Lds Pauls Valley Branch                                  Arbuckle Area Council 468              11000 S Meridan Rd                                     Pauls Valley, OK 73075                                      First Class Mail
Chartered Organization         Lds Pavaiai 1St Ward ‐ Pago West Stake                   Aloha Council, Bsa 104                 American Samoa                                         Pago Pago Samoa, AS 96799                                   First Class Mail
Chartered Organization         Lds Pavaiai 2Nd Ward ‐ Pago West Stake                   Aloha Council, Bsa 104                 P.O. Box 3698                                          Pago Pago, AS 96799‐3698                                    First Class Mail
Chartered Organization         Lds Paw Paw Branch ‐ Kalamazoo Stake                     Southern Shores Fsc 783                52441 County Rd 665                                    Paw Paw, MI 49079                                           First Class Mail
Chartered Organization         Lds Pawhuska                                             Cherokee Area Council 469 469          P.O. Box 932                                           Pawhuska, OK 74056‐0932                                     First Class Mail
Chartered Organization         Lds Payette 1St Ward ‐ Weiser Stk                        Ore‐Ida Council 106 ‐ Bsa 106          501 S Iowa Ave                                         Payette, ID 83661‐3141                                      First Class Mail
Chartered Organization         Lds Payette 2Nd Ward ‐ Weiser Stk                        Ore‐Ida Council 106 ‐ Bsa 106          501 S Iowa Ave                                         Payette, ID 83661‐3141                                      First Class Mail
Chartered Organization         Lds Payette 2Nd Ward ‐ Weiser Stk                        Ore‐Ida Council 106 ‐ Bsa 106          12224 Hwy 95                                           Payette, ID 83661‐5053                                      First Class Mail
Chartered Organization         Lds Payson Eighteenth Ward                               Utah National Parks 591                482 W 1400 S                                           Payson, UT 84651                                            First Class Mail
Chartered Organization         Lds Payson Eighth Ward                                   Utah National Parks 591                780 W 500 S                                            Payson, UT 84651‐2712                                       First Class Mail
Chartered Organization         Lds Payson Eleventh Ward                                 Utah National Parks 591                950 W 400 N                                            Payson, UT 84651                                            First Class Mail
Chartered Organization         Lds Payson Fifteenth Ward                                Utah National Parks 591                779 S 700 W                                            Payson, UT 84651‐2744                                       First Class Mail
Chartered Organization         Lds Payson Fifth Ward                                    Utah National Parks 591                711 S 600 E                                            Payson, UT 84651‐2955                                       First Class Mail
Chartered Organization         Lds Payson First Ward                                    Utah National Parks 591                225 S 400 E                                            Payson, UT 84651‐2527                                       First Class Mail
Chartered Organization         Lds Payson Fourteenth Ward                               Utah National Parks 591                110 S 300 W                                            Payson, UT 84651‐2146                                       First Class Mail
Chartered Organization         Lds Payson Nineteenth Ward                               Utah National Parks 591                482 W 1400 S                                           Payson, UT 84651                                            First Class Mail
Chartered Organization         Lds Payson Ninth Ward                                    Utah National Parks 591                1080 S 930 W                                           Payson, UT 84651‐3128                                       First Class Mail
Chartered Organization         Lds Payson Second Ward                                   Utah National Parks 591                279 S Main St                                          Payson, UT 84651                                            First Class Mail
Chartered Organization         Lds Payson Seventeenth Ward                              Utah National Parks 591                779 S 700 W                                            Payson, UT 84651‐2744                                       First Class Mail
Chartered Organization         Lds Payson Seventh Ward                                  Utah National Parks 591                1128 E 100 S                                           Payson, UT 84651                                            First Class Mail
Chartered Organization         Lds Payson Sixteenth Ward                                Utah National Parks 591                650 S 800 W                                            Payson, UT 84651‐2610                                       First Class Mail
Chartered Organization         Lds Payson Sixth Ward                                    Utah National Parks 591                780 W 500 S                                            Payson, UT 84651‐2712                                       First Class Mail
Chartered Organization         Lds Payson Spring Creek Ward                             Utah National Parks 591                985 S 880 W                                            Payson, UT 84651‐3115                                       First Class Mail
Chartered Organization         Lds Payson Tenth Ward                                    Utah National Parks 591                780 W 500 S                                            Payson, UT 84651‐2712                                       First Class Mail
Chartered Organization         Lds Payson Third Ward                                    Utah National Parks 591                274 N Main St                                          Payson, UT 84651                                            First Class Mail
Chartered Organization         Lds Payson Twentieth Ward                                Utah National Parks 591                1237 S 780 W                                           Payson, UT 84651‐3186                                       First Class Mail
Chartered Organization         Lds Pea Ridge Branch                                     Westark Area Council 016               13809 Degraff Rd                                       Rogers, AR 72756‐8866                                       First Class Mail
Chartered Organization         Lds Peachtree City Ward                                  Fayetteville, Ga Stake                 101 N Peachtree Pkwy                                   Peachtree City, GA 30269‐1732                               First Class Mail
Chartered Organization         Lds Peachtree Corners Ward Roswell Sta                   Atlanta Area Council 092               5995 Spalding Dr                                       Norcross, GA 30092‐1946                                     First Class Mail
Chartered Organization         Lds Peachwood Ward/S L Granger Stake                     Great Salt Lake Council 590            3963 Peachwood Dr                                      West Valley, UT 84119                                       First Class Mail
Chartered Organization         Lds Peak View Ward ‐ Flagstaff Az West Stk               Grand Canyon Council 010               625 E Cherry Ave                                       Flagstaff, AZ 86001‐4732                                    First Class Mail
Chartered Organization         Lds Pear Park Ward/Grand Junction Stake                  Denver Area Council 061                543 Melody Ln                                          Grand Junction, CO 81501‐7139                               First Class Mail
Chartered Organization         Lds Pearl City 2Nd Ward ‐ Waipahu Stake                  Aloha Council, Bsa 104                 1716 Noelani St                                        Pearl City, HI 96782‐2075                                   First Class Mail
Chartered Organization         Lds Pearl Creek Ward Eldorado Stake                      Las Vegas Area Council 328             801 Arrowhead Trl                                      Henderson, NV 89002‐8427                                    First Class Mail
Chartered Organization         Lds Pearl Harbor                                         Hickam Ward‐Honolulu West Stake        99‐641 Pohue St                                        Aiea, HI 96701                                              First Class Mail
Chartered Organization         Lds Pearson Ward Douglas Stake                           South Georgia Council 098              P.O. Box 187                                           Pearson, GA 31642‐0187                                      First Class Mail
Chartered Organization         Lds Peavine Valley Ward ‐ Reno Stake                     Nevada Area Council 329                2050 Robb Dr                                           Reno, NV 89523‐1902                                         First Class Mail
Chartered Organization         Lds Pecan Creek 1St Ward ‐ Qc Az East Stk                Grand Canyon Council 010               2559 E Combs Rd                                        Queen Creek, AZ 85140                                       First Class Mail
Chartered Organization         Lds Pecan Creek 2Nd Ward ‐ Qc Az East Stk                Grand Canyon Council 010               39097 N Zampino St                                     San Tan Valley, AZ 85140‐5735                               First Class Mail
Chartered Organization         Lds Pecan Creek 3Rd Ward ‐ Qc Az East Stk                Grand Canyon Council 010               784 E Harold Dr                                        San Tan Valley, AZ 85140‐5692                               First Class Mail
Chartered Organization         Lds Pecan Grove Ward ‐ Qc Az East Stk                    Grand Canyon Council 010               2559 E Combs Rd                                        San Tan Valley, AZ 85140                                    First Class Mail
Chartered Organization         Lds Pecan Ranch Ward ‐ Qc Az East Stk                    Grand Canyon Council 010               1150 W Combs Rd                                        Queen Creek, AZ 85140‐9110                                  First Class Mail
Chartered Organization         Lds Peccole Ranch Ward Lakes Stake                       Las Vegas Area Council 328             9825 W Desert Inn Rd                                   Las Vegas, NV 89117‐8401                                    First Class Mail
Chartered Organization         Lds Pecos Park Ward ‐ Gilbert Az                         Gateway Stake                          2958 S Recker Rd                                       Gilbert, AZ 85295                                           First Class Mail
Chartered Organization         Lds Pecos River Ward ‐ Roswell Nm Stake                  Conquistador Council Bsa 413           1722 N Mesa St                                         Carlsbad, NM 88220‐8839                                     First Class Mail
Chartered Organization         Lds Pekin Ward, Peoria Stake                             W D Boyce 138                          2104 S 14Th St                                         Pekin, IL 61554                                             First Class Mail
Chartered Organization         Lds Pelican Creek Ward N Las Vegas Stake                 Las Vegas Area Council 328             1991 W Washburn Rd                                     North Las Vegas, NV 89031‐0718                              First Class Mail
Chartered Organization         Lds Pellissippi Knoxville                                Great Smoky Mountain Council 557       11837 Grigsby Chapel Rd                                Knoxville, TN 37934                                         First Class Mail
Chartered Organization         Lds Pembroke Ward                                        Fayetteville NC W Stake                1009 Old Main Rd                                       Pembroke, NC 28372                                          First Class Mail
Chartered Organization         Lds Penasquitos ‐ Mira Mesa 2Nd Ward                     San Diego Imperial Council 049         11023 Pegasus Ave                                      San Diego, CA 92126‐4715                                    First Class Mail
Chartered Organization         Lds Penasquitos ‐ Penasquitos 1St Ward                   San Diego Imperial Council 049         14191 Camino Del Sur                                   San Diego, CA 92129                                         First Class Mail
Chartered Organization         Lds Penasquitos ‐ Penasquitos 2Nd Ward                   San Diego Imperial Council 049         12835 Black Mountain Rd                                San Diego, CA 92129‐3656                                    First Class Mail
Chartered Organization         Lds Penasquitos ‐ Penasquitos 3Rd Ward                   San Diego Imperial Council 049         14191 Camino Del Sur                                   San Diego, CA 92129                                         First Class Mail
Chartered Organization         Lds Penasquitos ‐ Rancho Bernardo Ward                   San Diego Imperial Council 049         15705 Pomerado Rd                                      Poway, CA 92064                                             First Class Mail
Chartered Organization         Lds Penasquitos ‐ Scripps Ranch 1St Ward                 San Diego Imperial Council 049         11023 Pegasus Ave                                      San Diego, CA 92126‐4715                                    First Class Mail
Chartered Organization         Lds Penasquitos ‐ Scripps Ranch 2Nd Ward                 San Diego Imperial Council 049         12835 Black Mountain Rd                                San Diego, CA 92129‐3656                                    First Class Mail
Chartered Organization         Lds Pendleton 1St Ward ‐ Walla Walla Stake               Blue Mountain Council 604              601 Nw 12Th St                                         Pendleton, OR 97801‐1227                                    First Class Mail
Chartered Organization         Lds Pendleton 2Nd Ward ‐ Walla Walla Stake               Blue Mountain Council 604              601 Nw 12Th St                                         Pendleton, OR 97801‐1227                                    First Class Mail
Chartered Organization         Lds Peninsula 1St Tongan Ward                            Sf E Stake                             245 Ludeman Ln                                         Millbrae, CA 94030‐1348                                     First Class Mail
Chartered Organization         Lds Peninsula 2Nd Tongan Ward                            Sf E Stake                             3601 Alameda De Las Pulgas                             San Mateo, CA 94403‐4154                                    First Class Mail
Chartered Organization         Lds Peninsula 3Rd Tongan Ward                            Sf E Stake                             1475 Edgewood Rd                                       Redwood City, CA 94062‐3214                                 First Class Mail
Chartered Organization         Lds Peninsula 5Th Samoan Br, Sf E Stake                  Pacific Skyline Council 031            875 Quince Ave                                         Santa Clara, CA 95051‐5292                                  First Class Mail
Chartered Organization         Lds Peninsula 5Th Tongan Ward                            Sf E Stake                             771 W Fremont Ave                                      Sunnyvale, CA 94087‐2305                                    First Class Mail
Chartered Organization         Lds Penn Valley Ward Auburn Stake                        Golden Empire Council 047              615 Hollow Way                                         Penn Valley, CA 95946                                       First Class Mail
Chartered Organization         Lds Pennypack Ward                                       Cradle Of Liberty Council 525          2072 Red Lion Rd                                       Philadelphia, PA 19115‐1603                                 First Class Mail
Chartered Organization         Lds Peoa Ward/Kamas Ut Stk                               Great Salt Lake Council 590            1224 W State Rd 32                                     Oakley, UT 84055                                            First Class Mail
Chartered Organization         Lds Peoria Ward ‐ Peoria Az Stk                          Grand Canyon Council 010               10877 N 77Th Ave                                       Peoria, AZ 85345                                            First Class Mail
Chartered Organization         Lds Peoria Ward, Aurora Stake                            Denver Area Council 061                11100 E Alameda Ave                                    Aurora, CO 80012‐1021                                       First Class Mail
Chartered Organization         Lds Peralta Ward ‐ Mesa Az Alma Stk                      Grand Canyon Council 010               2252 W Mesquite St                                     Chandler, AZ 85224‐1701                                     First Class Mail
Chartered Organization         Lds Perche Creek Ward                                    Great Rivers Council 653               4908 Silver Cliff Dr                                   Columbia, MO 65203‐9775                                     First Class Mail
Chartered Organization         Lds Perdido Ward                                         Gulf Coast Council 773                 12030 Lillian Hwy                                      Pensacola, FL 32506‐8342                                    First Class Mail
Chartered Organization         Lds Perdido Ward                                         Gulf Coast Council 773                 12030 Lillian Hwy                                      Pensacola, FL 32506‐8342                                    First Class Mail
Chartered Organization         Lds Peregrine Ward ‐ Mer W Stk                           Ore‐Ida Council 106 ‐ Bsa 106          1905 N Black Cat Rd                                    Meridian, ID 83646                                          First Class Mail
Chartered Organization         Lds Perkensville Ward ‐ Prescott Valley Az               Stake                                  P.O. Box 3432                                          Chino Valley, AZ 86323‐2712                                 First Class Mail
Chartered Organization         Lds Perris Ward ‐ Menifee Stake                          California Inland Empire Council 045   225 Mildred St                                         Perris, CA 92571‐2949                                       First Class Mail
Chartered Organization         Lds Perry 10Th Ward/Perry Stake                          Trapper Trails 589                     335 W 2000 S                                           Perry, UT 84302‐4555                                        First Class Mail
Chartered Organization         Lds Perry Park Ward, Castle Rock Stake                   Denver Area Council 061                950 Plum Creek Blvd                                    Castle Rock, CO 80104‐2739                                  First Class Mail
Chartered Organization         Lds Perry Ward                                           Central Georgia Council 096            1799 Houston Lake Rd                                   Perry, GA 31069‐2856                                        First Class Mail
Chartered Organization         Lds Perry Ward Kirtland Stake                            Lake Erie Council 440                  4130 Davids Way                                        Perry, OH 44081‐8655                                        First Class Mail
Chartered Organization         Lds Perrydale Ward Monmouth Stake                        Cascade Pacific Council 492            1401 Sw 13Th St                                        Dallas, OR 97338‐2387                                       First Class Mail
Chartered Organization         Lds Perrysburg Ward ‐ Toledo Stake                       Erie Shores Council 460                11050 Ave Rd                                           Perrysburg, OH 43551‐2821                                   First Class Mail
Chartered Organization         Lds Perryton Branch Amarillo Tx Stake                    Golden Spread Council 562              1302 Michigan St                                       Perryton, TX 79070‐3716                                     First Class Mail
Chartered Organization         Lds Perth Amboy /Scotch Plains Stake                     Patriots Path Council 358              271 Maple St                                           Perth Amboy, NJ 08861‐4303                                  First Class Mail
Chartered Organization         Lds Peruvian Park Ward                                   Sandy Ut Canyon View Stake             1475 E 8600 S                                          Sandy, UT 84093                                             First Class Mail
Chartered Organization         Lds Pesega (Samoan) Ward                                 Kearns Ut E Stake                      4605 Westpoint Dr                                      West Valley, UT 84120‐5917                                  First Class Mail
Chartered Organization         Lds Petaluma 1St Ward                                    Redwood Empire Council 041             745 N Webster St                                       Petaluma, CA 94952‐1734                                     First Class Mail
Chartered Organization         Lds Peterborough Ward Nashua Nh Stake                    Daniel Webster Council, Bsa 330        65 Old Bennington Rd                                   Peterborough, NH 03458                                      First Class Mail
Chartered Organization         Lds Peters Canyon Ward ‐ Orange Stake                    Orange County Council 039              12162 Skyway Dr                                        Santa Ana, CA 92705‐3134                                    First Class Mail
Chartered Organization         Lds Petersburg Branch‐Juneau Stake                       Great Alaska Council 610               P.O. Box 1421                                          Petersburg, AK 99833‐1421                                   First Class Mail
Chartered Organization         Lds Peterson Lane Ward                                   Redwood Empire Council 041             1725 Peterson Ln                                       Santa Rosa, CA 95403‐2304                                   First Class Mail
Chartered Organization         Lds Petrified Forest Ward ‐ Holbrook Az                  Stake                                  1127 Helen Ave                                         Holbrook, AZ 86025                                          First Class Mail
Chartered Organization         Lds Pflugerville Ward                                    Round Rock E Stake                     700 N Heatherwilde Blvd                                Pflugerville, TX 78660‐5811                                 First Class Mail
Chartered Organization         Lds Pg Garden Eleventh Ward (Spanish)                    Utah National Parks 591                745 N 600 W                                            Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Pg Garden Fifth Ward                                 Utah National Parks 591                745 N 600 W                                            Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Pg Garden First Ward                                 Utah National Parks 591                745 N 600 W                                            Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Pg Garden Fourth Ward                                Utah National Parks 591                1028 W 1000 N                                          Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Pg Garden Second Ward                                Utah National Parks 591                905 N 500 E                                            Pleasant Grove, UT 84062‐1813                               First Class Mail
Chartered Organization         Lds Pg Garden Seventh Ward                               Utah National Parks 591                1028 W 1000 N                                          Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Pg Garden Sixth Ward                                 Utah National Parks 591                905 N 500 W                                            Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Pg Garden Third Ward                                 Utah National Parks 591                1100 W 1000 N                                          Pleasant Grove, UT 84062                                    First Class Mail
Chartered Organization         Lds Pheasant Brook Ward                                  Kaysville Stake                        205 S Angel St                                         Kaysville, UT 84037                                         First Class Mail
Chartered Organization         Lds Pheasant Brooke Ward/S L Hunter Stk                  Great Salt Lake Council 590            3737 S 5600 W                                          West Valley City, UT 84120                                  First Class Mail
Chartered Organization         Lds Pheasant Meadow Ward                                 Kanesville Stake                       4775 S 4875 W                                          West Haven, UT 84401                                        First Class Mail
Chartered Organization         Lds Pheasant Place Ward                                  Layton South Stake                     505 S 1000 W                                           Layton, UT 84041                                            First Class Mail
Chartered Organization         Lds Pheasant Point Ward                                  Riverton Ut S Stake                    3113 W 13400 S                                         Riverton, UT 84065                                          First Class Mail
Chartered Organization         Lds Pheasant Pointe 8Th Ward                             Utah National Parks 591                2325 N 700 W                                           Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Pheasant Pointe 8Th Ward                             Utah National Parks 591                2325 N 700 W                                           Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Pheasant Pointe Fifth Ward                           Utah National Parks 591                3501 N 775 W                                           Lehi, UT 84043‐3192                                         First Class Mail
Chartered Organization         Lds Pheasant Pointe First Ward                           Utah National Parks 591                1051 W 3100 N                                          Lehi, UT 84043‐6574                                         First Class Mail
Chartered Organization         Lds Pheasant Pointe Fourth Ward                          Utah National Parks 591                1628 W 3180 N Apt D2                                   Lehi, UT 84043‐5323                                         First Class Mail
Chartered Organization         Lds Pheasant Pointe Second Ward                          Utah National Parks 591                3065 N 1300 W                                          Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Pheasant Pointe Seventh Ward                         Utah National Parks 591                3065 N 1300 W                                          Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Pheasant Pointe Sixth Ward                           Utah National Parks 591                3325 N 700 W                                           Lehi, UT 84043‐2431                                         First Class Mail
Chartered Organization         Lds Pheasant Pointe Third Ward                           Utah National Parks 591                3065 N 1300 W                                          Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Pheasant Valley Ward                                 Utah National Parks 591                1038 W 950 S                                           Springville, UT 84663‐5502                                  First Class Mail
Chartered Organization         Lds Pheasant Ward/Centerville Ut Stk                     Great Salt Lake Council 590            610 N Rowland Way                                      Centerville, UT 84014                                       First Class Mail
Chartered Organization         Lds Phelan Ward ‐ Victorville Stake                      California Inland Empire Council 045   P.O. Box 720936                                        Pinon Hills, CA 92372‐0936                                  First Class Mail
Chartered Organization         Lds Phenix City Ward                                     Attn: Christopher Zeh                  20 Elm Ct                                              Smiths Station, AL 36877‐4867                               First Class Mail
Chartered Organization         Lds Philadelphia 4Th Ward                                Cradle Of Liberty Council 525          3913 Chestnut St                                       Philadelphia, PA 19104‐3110                                 First Class Mail
Chartered Organization         Lds Philomath Ward Corvallis Stake                       Oregon Trail Council 697               150 James St                                           Philomath, OR 97370‐9216                                    First Class Mail
Chartered Organization         Lds Phoenix Park Ward Carmichael Stake                   Golden Empire Council 047              8267 Deseret Ave                                       Fair Oaks, CA 95628‐2826                                    First Class Mail
Chartered Organization         Lds Picacho Ward Las Cruces Stk                          Yucca Council 573                      3210 Venus St                                          Las Cruces, NM 88012‐7714                                   First Class Mail
Chartered Organization         Lds Pickering Ward Whittier Stake 708                    Greater Los Angeles Area 033           7906 Pickering Ave                                     Whittier, CA 90602‐2007                                     First Class Mail
Chartered Organization         Lds Pickerington 2Nd Ward                                Simon Kenton Council 441               345 Flat River St                                      Pickerington, OH 43147‐7925                                 First Class Mail
Chartered Organization         Lds Pickerington Ward Reynoldsburg                       Simon Kenton Council 441               2135 Baldwin Rd                                        Reynoldsburg, OH 43068‐3630                                 First Class Mail
Chartered Organization         Lds Picket Lane Ward                                     Stansbury Park Ut South Stake          240 Interlochen Ln                                     Stansbury Park, UT 84074                                    First Class Mail
Chartered Organization         Lds Picturesque Ward                                     Utah National Parks 591                820 W Valley View                                      St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Piilani Ward                                         Aloha Council, Bsa 104                 15 Kulanihakoi St                                      Kihei, HI 96753‐7309                                        First Class Mail
Chartered Organization         Lds Pilgrim Mill Ward ‐ Sugar Hill Stake                 Northeast Georgia Council 101          3185 Dahlonega Hwy                                     Cumming, GA 30040‐3919                                      First Class Mail
Chartered Organization         Lds Pilgrims Landing First Ward                          Utah National Parks 591                3115 W Davencourt Loop                                 Lehi, UT 84043‐4583                                         First Class Mail
Chartered Organization         Lds Pilgrims Landing Fourth Ward                         Utah National Parks 591                3679 N Bluegrass Blvd                                  Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Pilgrims Landing Second Ward                         Utah National Parks 591                3145 W Mayflower Ave                                   Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Pilgrims Landing Third Ward                          Utah National Parks 591                3145 W Mayflower Ave                                   Lehi, UT 84043                                              First Class Mail
Chartered Organization         Lds Pilot Butte Ward                                     Rock Springs Stake                     2055 Edgar St                                          Rock Springs, WY 82901‐6683                                 First Class Mail
Chartered Organization         Lds Pima 1St Ward ‐ Pima Stake                           Grand Canyon Council 010               P.O. Box 3                                             Pima, AZ 85543‐0003                                         First Class Mail
Chartered Organization         Lds Pima 2Nd Ward ‐ Pima Stake                           Grand Canyon Council 010               6656 W Central Rd                                      Central, AZ 85531                                           First Class Mail
Chartered Organization         Lds Pima 3Rd Ward ‐ Pima Stake                           Grand Canyon Council 010               341 W 450 S                                            Pima, AZ 85543                                              First Class Mail
Chartered Organization         Lds Pima 4Th Ward ‐ Pima Stake                           Grand Canyon Council 010               490 W 200 N                                            Pima, AZ 85543‐9603                                         First Class Mail
Chartered Organization         Lds Pine Creek Ward ‐ North Stake                        Pikes Peak Council 060                 8710 Lexington Dr                                      Colorado Springs, CO 80920‐4309                             First Class Mail
Chartered Organization         Lds Pine Lake Ward Bellevue Stake                        Chief Seattle Council 609              26529 Se Duthie Hill Rd                                Issaquah, WA 98029                                          First Class Mail
Chartered Organization         Lds Pine Meadows Ward ( Sp Fork)                         Utah National Parks 591                1167 S 1700 E                                          Spanish Fork, UT 84660‐9023                                 First Class Mail
Chartered Organization         Lds Pine Trails Ward                                     Summerwood Stake                       14404 Kemrock Dr                                       Houston, TX 77049‐4208                                      First Class Mail
Chartered Organization         Lds Pine Valley Branch‐La Grande Stake                   Blue Mountain Council 604              46568 Cornucopia Hwy                                   Halfway, OR 97834‐8089                                      First Class Mail
Chartered Organization         Lds Pineae Gardens Ward                                  Centerville Utah Stake                 690 N 400 W                                            Centerville, UT 84014                                       First Class Mail
Chartered Organization         Lds Pinecrest Ward                                       Sandy Ut Lone Peak Stake               2080 E Pinecrest Ln                                    Sandy, UT 84092                                             First Class Mail
Chartered Organization         Lds Pinedale Ward ‐ Silver Creek Az Stk                  Grand Canyon Council 010               1220 E Deuce Of Clubs                                  Show Low, AZ 85901‐4912                                     First Class Mail
Chartered Organization         Lds Pinehurst Ward/Sandy Ut East Stk                     Great Salt Lake Council 590            9636 S 1700 E                                          Sandy, UT 84092                                             First Class Mail
Chartered Organization         Lds Pinery Ward, Parker South Stake                      Denver Area Council 061                7160 Bayou Gulch Rd                                    Parker, CO 80134‐5591                                       First Class Mail
Chartered Organization         Lds Pines Ward                                           South Florida Council 084              18550 Johnson St                                       Pembroke Pines, FL 33029‐5702                               First Class Mail
Chartered Organization         Lds Pineview Ward                                        Utah National Parks 591                595 N 2450 E                                           St George, UT 84790                                         First Class Mail
Chartered Organization         Lds Pineview Ward East Stake                             Las Vegas Area Council 328             1707 S Sloan Ln                                        Las Vegas, NV 89142‐1186                                    First Class Mail
Chartered Organization         Lds Piney Creek Ward, Denver Stake                       Denver Area Council 061                4701 S Chambers Rd                                     Aurora, CO 80015‐1777                                       First Class Mail
Chartered Organization         Lds Pinnacle Mtn Ward Little Rock Stake                  Quapaw Area Council 018                600 S Rodney Parham Rd                                 Little Rock, AR 72205‐4717                                  First Class Mail
Chartered Organization         Lds Pinnacle Peak Ward ‐ Peoria Az                       North Stake                            7935 W Emory Ln                                        Peoria, AZ 85383‐1025                                       First Class Mail
Chartered Organization         Lds Pinnacle Peak Ward ‐ Scottsdale Az                   North Stake                            38008 N Basin Rd                                       Cave Creek, AZ 85331                                        First Class Mail
Chartered Organization         Lds Pinnacle Vista Ward ‐ Phoenix Az                     Desert Hills Stake                     3527 W Happy Valley Rd                                 Glendale, AZ 85310‐3202                                     First Class Mail
Chartered Organization         Lds Pinnacle Ward Spring Mountain Stake                  Las Vegas Area Council 328             7973 Coronado Coast St                                 Las Vegas, NV 89139‐6192                                    First Class Mail
Chartered Organization         Lds Pinon Hills Ward ‐ Carson City Stake                 Nevada Area Council 329                1045 Spruce St                                         Minden, NV 89423                                            First Class Mail
Chartered Organization         Lds Pioche Ward                                          Utah National Parks 591                P.O. Box 66                                            Pioche, NV 89043‐0066                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                   Page 228 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                      Filed 01/06/22                                 Page 244 of 457
                                                                                                                                                                     Exhibit B
                                                                                                                                                                      Service List
                                                                                                                                                               Served as set forth below

        Description                                                       Name                                                                                     Address                                                                         Email              Method of Service
Chartered Organization         Lds Pioneer 1St Ward                                     Herriman Ut Pioneer Stake              13400 S 6000 W                                            Herriman, UT 84096                                                First Class Mail
Chartered Organization         Lds Pioneer 2Nd Ward                                     Herriman Ut Pioneer Stake              12682 S Starlite Hill Ln                                  Herriman, UT 84096                                                First Class Mail
Chartered Organization         Lds Pioneer 3Rd Ward                                     Herriman Ut Pioneer Stake              12682 S Starlite Hill Ln                                  Herriman, UT 84096                                                First Class Mail
Chartered Organization         Lds Pioneer 4Th Ward                                     Herriman Ut Pioneer Stake              12682 S Starlite Hill Ln                                  Herriman, UT 84096                                                First Class Mail
Chartered Organization         Lds Pioneer 5Th Ward                                     Herriman Ut Pioneer Stake              13375 S 6000 W                                            Herriman, UT 84096                                                First Class Mail
Chartered Organization         Lds Pioneer 6Th Ward                                     Herriman Ut Pioneer Stake              14172 S Emmeline Dr                                       Herriman, UT 84096‐1917                                           First Class Mail
Chartered Organization         Lds Pioneer 7Th Ward                                     Herriman Ut Pioneer Stake              14172 S Emmeline Dr                                       Herriman, UT 84096‐1917                                           First Class Mail
Chartered Organization         Lds Pioneer 8Th Ward                                     Herriman Ut Pioneer Stake              14172 S Emmeline Dr                                       Herriman, UT 84096‐1917                                           First Class Mail
Chartered Organization         Lds Pioneer 9Th Ward                                     Herriman Ut Pioneer Stake              6449 W Muzzle Loader Dr                                   Herriman, UT 84096‐5756                                           First Class Mail
Chartered Organization         Lds Pioneer Crossing Ward                                Utah National Parks 591                741 S 1430 W                                              Lehi, UT 84043‐5182                                               First Class Mail
Chartered Organization         Lds Pioneer Fifth Ward (Spanish)                         Utah National Parks 591                450 N 1200 W                                              Provo, UT 84601                                                   First Class Mail
Chartered Organization         Lds Pioneer First Ward                                   Utah National Parks 591                1025 W 450 N                                              Provo, UT 84601‐2518                                              First Class Mail
Chartered Organization         Lds Pioneer Fourth Ward                                  Utah National Parks 591                555 N 800 W                                               Provo, UT 84601‐1466                                              First Class Mail
Chartered Organization         Lds Pioneer Hill Ward ‐ Moscow Idaho Stake               Inland NW Council 611                  1055 Ne Orchard Dr                                        Pullman, WA 99163                                                 First Class Mail
Chartered Organization         Lds Pioneer Hill Ward/Moscow Stake                       Inland NW Council 611                  1055 Ne Orchard Dr                                        Pullman, WA 99163                                                 First Class Mail
Chartered Organization         Lds Pioneer Park Ward                                    Kaysville West Stake                   1449 S Thoroughbred Dr                                    Kaysville, UT 84037                                               First Class Mail
Chartered Organization         Lds Pioneer Park Ward                                    Utah National Parks 591                610 W 300 S                                               Provo, UT 84601                                                   First Class Mail
Chartered Organization         Lds Pioneer Park Ward, Billings Stake                    Montana Council 315                    902 N 22Nd St                                             Billings, MT 59101‐0812                                           First Class Mail
Chartered Organization         Lds Pioneer Peak Ward ‐ Palmer Stake                     Great Alaska Council 610               14955 E Peppertree Ln                                     Palmer, AK 99645‐7689                                             First Class Mail
Chartered Organization         Lds Pioneer Second Ward                                  Utah National Parks 591                1150 W 450 N                                              Provo, UT 84601‐2520                                              First Class Mail
Chartered Organization         Lds Pioneer Trail Ward                                   Pioneer Trail Stake                    4217 S 5800 W                                             Hooper, UT 84315‐9376                                             First Class Mail
Chartered Organization         Lds Pioneer Village Ward                                 Utah National Parks 591                1066 W 200 N                                              Provo, UT 84601                                                   First Class Mail
Chartered Organization         Lds Pioneer Ward                                         Blue Grass Council 204                 2459 Sir Barton Way                                       Lexington, KY 40509‐2267                                          First Class Mail
Chartered Organization         Lds Pioneer Ward ‐ Gilbert Az                            Highland W Stake                       2700 E Guadalupe Rd                                       Gilbert, AZ 85234                                                 First Class Mail
Chartered Organization         Lds Pioneer Ward ‐ Mesa Az Stk                           Grand Canyon Council 010               1050 S Hobson                                             Mesa, AZ 85204                                                    First Class Mail
Chartered Organization         Lds Pioneer Ward ‐ Redlands Stake                        California Inland Empire Council 045   1021 E Pioneer Ave                                        Redlands, CA 92374‐1805                                           First Class Mail
Chartered Organization         Lds Pioneer Ward (Tongan)                                Sl Ut Stake (Tongan)                   660 N Redwood Rd                                          Salt Lake City, UT 84116‐2454                                     First Class Mail
Chartered Organization         Lds Pioneer Ward Lebanon Stake                           Cascade Pacific Council 492            1955 S 5Th St                                             Lebanon, OR 97355‐2528                                            First Class Mail
Chartered Organization         Lds Pioneer Ward Meadows Stake                           Las Vegas Area Council 328             3300 N Pioneer Way                                        Las Vegas, NV 89129‐6206                                          First Class Mail
Chartered Organization         Lds Pioneer Ward Ridgefield Wa Stake                     Cascade Pacific Council 492            22709 Ne 7Th Ct                                           Ridgefield, WA 98642‐8233                                         First Class Mail
Chartered Organization         Lds Pioneer Ward/Sandy Ut West Stk                       Great Salt Lake Council 590            8650 S 220 E                                              Sandy, UT 84070                                                   First Class Mail
Chartered Organization         Lds Piqua Ward ‐ Dayton, Oh                              Miami Valley Council, Bsa 444          475 W Loy Rd                                              Piqua, OH 45356‐9217                                              First Class Mail
Chartered Organization         Lds Pittsburg 2Nd Ward ‐ Antioch Stake                   Mt Diablo‐Silverado Council 023        2201 Golf Club Rd                                         Pittsburg, CA 94565                                               First Class Mail
Chartered Organization         Lds Pittsburg 3Rd Ward ‐ Oakland East St                 Mt Diablo‐Silverado Council 023        27 San Carlos Pl                                          Pittsburg, CA 94565‐4847                                          First Class Mail
Chartered Organization         Lds Pittsburg Ward ‐ Joplin Stake                        Ozark Trails Council 306               1507 S Rouse St                                           Pittsburg, KS 66762                                               First Class Mail
Chartered Organization         Lds Pittsfield Ward                                      Western Massachusetts Council 234      470 E New Lenox Rd                                        Pittsfield, MA 01201‐8313                                         First Class Mail
Chartered Organization         Lds Pittsford Ward Palmyra Stake                         Seneca Waterways 397                   460 Kreag Rd                                              Pittsford, NY 14534‐3733                                          First Class Mail
Chartered Organization         Lds Placentia Ward ‐ Placentia Stake                     Orange County Council 039              210 Livingston Ave                                        Placentia, CA 92870‐2547                                          First Class Mail
Chartered Organization         Lds Placerville Ward El Dorado Stake                     Golden Empire Council 047              3275 Cedar Ravine Rd                                      Placerville, CA 95667‐6555                                        First Class Mail
Chartered Organization         Lds Placid Rose Ward                                     Herriman Ut S Stake                    14868 Juniper Crest Rd                                    Herriman, UT 84096                                                First Class Mail
Chartered Organization         Lds Plain City 1St Ward                                  Plain City Stake                       2280 N 3600 W                                             Plain City, UT 84404                                              First Class Mail
Chartered Organization         Lds Plain City 2Nd Ward                                  Farr West Stake                        2132 W 2700 N                                             Farr West, UT 84404                                               First Class Mail
Chartered Organization         Lds Plain City 3Rd Ward                                  Plain City Stake                       4575 W 2125 N                                             Plain City, UT 84404                                              First Class Mail
Chartered Organization         Lds Plain City 4Th Ward                                  Plain City Stake                       2235 N 4350 W                                             Plain City, UT 84404                                              First Class Mail
Chartered Organization         Lds Plain City 5Th Ward                                  Plain City Stake                       4575 W 2125 N                                             Plain City, UT 84404                                              First Class Mail
Chartered Organization         Lds Plain City 6Th Ward                                  Plain City Stake                       2280 N 3600 W                                             Plain City, UT 84404                                              First Class Mail
Chartered Organization         Lds Plain City 7Th Ward                                  Farr West Stake                        2952 N 4200 W                                             Farr West, UT 84404                                               First Class Mail
Chartered Organization         Lds Plain City 8Th Ward                                  Farr West Stake                        2952 N 4200 W                                             Plain City, UT 84404                                              First Class Mail
Chartered Organization         Lds Plain City Meadows Ward                              Plain City Stake                       2280 N 3600 W                                             Plain City, UT 84404                                              First Class Mail
Chartered Organization         Lds Plains Branch, Kalispell Stake                       Montana Council 315                    P.O. Box 868                                              Plains, MT 59859‐0868                                             First Class Mail
Chartered Organization         Lds Plainview Stake, Riverhead Branch                    Suffolk County Council Inc 404         959 Middle Rd                                             Riverhead, NY 11901‐2004                                          First Class Mail
Chartered Organization         Lds Plainview Stake, Terryville Ward                     Suffolk County Council Inc 404         372 Terryville Rd                                         Port Jefferson Station, NY 11776‐2925                             First Class Mail
Chartered Organization         Lds Plantation Ward                                      South Florida Council 084              851 Nw 112Th Ave                                          Plantation, FL 33325‐1503                                         First Class Mail
Chartered Organization         Lds Platte City Ward Platte City Stake                   Heart Of America Council 307           2700 Ensign                                               Platte City, MO 64079                                             First Class Mail
Chartered Organization         Lds Platte River Ward, Golden Stake                      Denver Area Council 061                7645 Malamute Dr                                          Evergreen, CO 80439                                               First Class Mail
Chartered Organization         Lds Platte Woods Ward Liberty Stake                      Heart Of America Council 307           5550 Jackson Ave                                          Kansas City, MO 64130                                             First Class Mail
Chartered Organization         Lds Plattsmouth Ward Council Bluff Stake                 Mid‐America Council 326                2128 Lincoln Ave                                          Plattsmouth, NE 68048‐2644                                        First Class Mail
Chartered Organization         Lds Pleasant 1St Ward ‐ Chandler Az                      West Stake                             1950 W Galveston                                          Chandler, AZ 85224                                                First Class Mail
Chartered Organization         Lds Pleasant 2Nd Ward ‐ Chandler Az                      West Stake                             1352 W Cardinal Way                                       Chandler, AZ 85286‐4366                                           First Class Mail
Chartered Organization         Lds Pleasant 3Rd Ward ‐ Chandler Az                      West Stake                             2981 S Iowa St                                            Chandler, AZ 85286‐3918                                           First Class Mail
Chartered Organization         Lds Pleasant Green 1St Ward/Magna Ut Stk                 Great Salt Lake Council 590            8739 W 3000 S                                             Magna, UT 84044                                                   First Class Mail
Chartered Organization         Lds Pleasant Green 3Rd Ward/Magna Ut Stk                 Great Salt Lake Council 590            8739 W 3000 S                                             Magna, UT 84044                                                   First Class Mail
Chartered Organization         Lds Pleasant Green 4Th Ward/Magna Ut Stk                 Great Salt Lake Council 590            3610 S 8400 W                                             Magna, UT 84044‐2215                                              First Class Mail
Chartered Organization         Lds Pleasant Grove                                       Westark Area Council 016               1101 Mccollum Dr                                          Bentonville, AR 72712‐9115                                        First Class Mail
Chartered Organization         Lds Pleasant Grove First Ward                            Utah National Parks 591                275 E 500 N                                               Pleasant Grove, UT 84062                                          First Class Mail
Chartered Organization         Lds Pleasant Grove Ninth Ward                            Utah National Parks 591                200 S 400 E                                               Pleasant Grove, UT 84062                                          First Class Mail
Chartered Organization         Lds Pleasant Grove Orchard Ward                          Utah National Parks 591                828 S Locust Ave                                          Pleasant Grove, UT 84062                                          First Class Mail
Chartered Organization         Lds Pleasant Grove Second Ward                           Utah National Parks 591                456 E 100 S                                               Pleasant Grove, UT 84062‐2802                                     First Class Mail
Chartered Organization         Lds Pleasant Grove Seventh Ward                          Utah National Parks 591                828 S Locust Ave                                          Pleasant Grove, UT 84062                                          First Class Mail
Chartered Organization         Lds Pleasant Grove Tenth Ward                            (Wasatch Tongan)                       1689 Garden Dr                                            Pleasant Grove, UT 84062‐4069                                     First Class Mail
Chartered Organization         Lds Pleasant Grove Third Ward (Spanish)                  Utah National Parks 591                616 W 130 S                                               Lindon, UT 84042                                                  First Class Mail
Chartered Organization         Lds Pleasant Grove Twelfth Ward                          Utah National Parks 591                828 S Locust Ave                                          Pleasant Grove, UT 84062                                          First Class Mail
Chartered Organization         Lds Pleasant Hill 1St Ward ‐ Oakland Stake               Mt Diablo‐Silverado Council 023        555 Boyd Rd                                               Pleasant Hill, CA 94523                                           First Class Mail
Chartered Organization         Lds Pleasant Hill 2Nd Ward ‐ Concord Stake               Mt Diablo‐Silverado Council 023        555 Boyd Rd                                               Pleasant Hill, CA 94523                                           First Class Mail
Chartered Organization         Lds Pleasant Hill Hunters Creek                          Central Florida Council 083            2016 N John Young Pkwy                                    Kissimmee, FL 34741                                               First Class Mail
Chartered Organization         Lds Pleasant Hills Ward                                  Layton Hills Stake                     2400 University Park Blvd                                 Layton, UT 84041                                                  First Class Mail
Chartered Organization         Lds Pleasant Ridge Cumberland                            Great Smoky Mountain Council 557       6024 Grove Dr                                             Knoxville, TN 37918                                               First Class Mail
Chartered Organization         Lds Pleasant Valley 3Rd Ward                             Pleasant Valley Stake                  5640 S 850 E                                              South Ogden, UT 84405                                             First Class Mail
Chartered Organization         Lds Pleasant Valley 4Th                                  Pleasant Valley Stake                  5640 S 850 E                                              South Ogden, UT 84405                                             First Class Mail
Chartered Organization         Lds Pleasant Valley 5Th Ward                             Pleasant Valley Stake                  5735 Crestwood Dr                                         Ogden, UT 84405‐4868                                              First Class Mail
Chartered Organization         Lds Pleasant Valley 6Th Ward                             Pleasant Valley Stake                  5735 Crestwood Dr                                         Ogden, UT 84405‐4868                                              First Class Mail
Chartered Organization         Lds Pleasant Valley 7Th Ward                             Pleasant Valley Stake                  5735 Crestwood Dr                                         Ogden, UT 84405‐4868                                              First Class Mail
Chartered Organization         Lds Pleasant Valley Ward ‐ Peoria Az                     North Stake                            9543 W Jomax Rd                                           Peoria, AZ 85383                                                  First Class Mail
Chartered Organization         Lds Pleasant Valley Ward Camarillo Stake                 Ventura County Council 057             1201 Paseo Camarillo                                      Camarillo, CA 93010                                               First Class Mail
Chartered Organization         Lds Pleasant Valley Ward El Dorado Stake                 Golden Empire Council 047              4621 Pony Express Trl                                     Camino, CA 95709                                                  First Class Mail
Chartered Organization         Lds Pleasant View 11Th Ward                              Pleasant View South Stake              3602 N 500 W                                              Pleasant View, UT 84414                                           First Class Mail
Chartered Organization         Lds Pleasant View 12Th Ward                              Pleasant View Stake                    900 W Pleasant View Dr                                    Pleasant View, UT 84414                                           First Class Mail
Chartered Organization         Lds Pleasant View 13Th Ward                              Pleasant View Stake                    2975 N 1000 W                                             Pleasant View, UT 84414                                           First Class Mail
Chartered Organization         Lds Pleasant View 14Th Ward                              Pleasant View Stake                    3035 N 1325 W                                             Pleasant View, UT 84414                                           First Class Mail
Chartered Organization         Lds Pleasant View 16Th Ward                              Pleasant View Stake                    2975 N 1000 W                                             Pleasant View, UT 84414                                           First Class Mail
Chartered Organization         Lds Pleasant View 17Th Ward                              Pleasant View Stake                    900 W Pleasant View Dr                                    Pleasant View, UT 84414                                           First Class Mail
Chartered Organization         Lds Pleasant View 18Th Ward                              Pleasant View Stake                    1650 N 400 W                                              Pleasant View, UT 84404                                           First Class Mail
Chartered Organization         Lds Pleasant View 1St Ward                               Pleasant View Stake                    3035 N 1325 W                                             Pleasant View, UT 84414                                           First Class Mail
Chartered Organization         Lds Pleasant View 2Nd Ward                               Pleasant View South Stake              250 W Elberta Dr                                          Pleasant View, UT 84414                                           First Class Mail
Chartered Organization         Lds Pleasant View 3Rd Ward                               Pleasant View Stake                    2975 N 1000 W                                             Pleasant View, UT 84414                                           First Class Mail
Chartered Organization         Lds Pleasant View 4Th Ward                               Pleasant View Stake                    3035 N 1325 W                                             Pleasant View, UT 84414                                           First Class Mail
Chartered Organization         Lds Pleasant View 5Th Ward                               Pleasant View Stake                    900 W Pleasant View Dr                                    Pleasant View, UT 84414                                           First Class Mail
Chartered Organization         Lds Pleasant View 6Th Ward                               Pleasant View Stake                    1650 N 400 W                                              Harrisville, UT 84404                                             First Class Mail
Chartered Organization         Lds Pleasant View 7Th Ward                               Pleasant View Stake                    1650 N 400 W                                              Harrisville, UT 84404                                             First Class Mail
Chartered Organization         Lds Pleasant View 8Th Ward                               Pleasant View South Stake              250 W Elberta Dr                                          Pleasant View, UT 84414                                           First Class Mail
Chartered Organization         Lds Pleasant View 9Th Ward                               Pleasant View South Stake              250 W Elberta Dr                                          Pleasant View, UT 84414                                           First Class Mail
Chartered Organization         Lds Pleasant View Eighth Ward                            Utah National Parks 591                1060 E 2400 N                                             Provo, UT 84604                                                   First Class Mail
Chartered Organization         Lds Pleasant View Fifth Ward                             Utah National Parks 591                1060 E 2384 N                                             Provo, UT 84604                                                   First Class Mail
Chartered Organization         Lds Pleasant View First Ward                             Utah National Parks 591                464 Sumac Ln                                              Provo, UT 84604‐1830                                              First Class Mail
Chartered Organization         Lds Pleasant View Fourth Ward                            Utah National Parks 591                350 E 2950 N                                              Provo, UT 84604                                                   First Class Mail
Chartered Organization         Lds Pleasant View Ninth Ward                             Utah National Parks 591                2445 Timpview Dr                                          Provo, UT 84604                                                   First Class Mail
Chartered Organization         Lds Pleasant View Second Ward                            Utah National Parks 591                650 Stadium Ave                                           Provo, UT 84604                                                   First Class Mail
Chartered Organization         Lds Pleasant View Seventh Ward                           Utah National Parks 591                2276 Rock Canyon Cir                                      Provo, UT 84604‐6087                                              First Class Mail
Chartered Organization         Lds Pleasant View Sixth Ward                             Utah National Parks 591                318 E 2540 N                                              Provo, UT 84604‐6149                                              First Class Mail
Chartered Organization         Lds Pleasant View Tenth Ward                             Utah National Parks 591                2450 N 1060 E                                             Provo, UT 84604                                                   First Class Mail
Chartered Organization         Lds Pleasant View Third Ward                             Utah National Parks 591                650 Stadium Ave                                           Provo, UT 84604                                                   First Class Mail
Chartered Organization         Lds Pleasant View Ward                                   Huntington Beach Stake                 19191 17Th St                                             Huntington Beach, CA 92648                                        First Class Mail
Chartered Organization         Lds Pleasant View Ward                                   Sparks East Stake                      1854 Camelback Dr                                         Sparks, NV 89434‐8813                                             First Class Mail
Chartered Organization         Lds Pleasanton 1St Ward ‐ Pleasanton Stake               San Francisco Bay Area Council 028     6100 Paseo Santa Cruz                                     Pleasanton, CA 94566                                              First Class Mail
Chartered Organization         Lds Pleasanton 2Nd Ward ‐ Pleasanton Stake               San Francisco Bay Area Council 028     3574 Vineyard Ave                                         Pleasanton, CA 94566‐6876                                         First Class Mail
Chartered Organization         Lds Pleasanton 3Rd Ward ‐ Pleasanton Stake               San Francisco Bay Area Council 028     3574 Vineyard Ave                                         Pleasanton, CA 94566‐6876                                         First Class Mail
Chartered Organization         Lds Pleasanton 4Th Ward ‐ Pleasanton Stake               San Francisco Bay Area Council 028     6101 Valley Ave                                           Pleasanton, CA 94566                                              First Class Mail
Chartered Organization         Lds Pleasanton Ward ‐ East Stake                         Alamo Area Council 583                 636 Oakhaven Rd                                           Pleasanton, TX 78064‐3818                                         First Class Mail
Chartered Organization         Lds Plum Creek Ward                                      W J Ut Bingham Creek Stake             1465 W Bristol Ridge Rd                                   West Jordan, UT 84088                                             First Class Mail
Chartered Organization         Lds Plum Creek Ward, Castle Rock Stake                   Denver Area Council 061                3301 Meadows Blvd                                         Castle Rock, CO 80109                                             First Class Mail
Chartered Organization         Lds Plum Creek Ward, Kyle Texas Stake                    Capitol Area Council 564               3751 Trail Ridge Pass                                     San Marcos, TX 78666                                              First Class Mail
Chartered Organization         Lds Plumas Lake Ward Yuba City Stake                     Golden Empire Council 047              1997 N Beale Rd                                           Marysville, CA 95901‐6914                                         First Class Mail
Chartered Organization         Lds Plymouth Ward ‐ South Bend Stake                     Lasalle Council 165                    9645 Deer Trl                                             Plymouth, IN 46563‐8539                                           First Class Mail
Chartered Organization         Lds Plymouth Ward ‐ Westland Stake                       Great Lakes Fsc 272                    7575 N Hix Rd                                             Westland, MI 48185‐1954                                           First Class Mail
Chartered Organization         Lds Plymouth Ward Concord Nh Stake                       Daniel Webster Council, Bsa 330        354 Fairgrounds Rd                                        Plymouth, NH 03264                                                First Class Mail
Chartered Organization         Lds Plymouth Ward Hingham Stake                          Mayflower Council 251                  430 Court St                                              Plymouth, MA 02360‐7351                                           First Class Mail
Chartered Organization         Lds Plymouth Ward/Fielding Stake                         Trapper Trails 589                     20023 N 5100 W                                            Plymouth, UT 84330‐7733                                           First Class Mail
Chartered Organization         Lds Pocatello Central Stake                              Lewis & Clark Ward                     550 W Cedar St                                            Pocatello, ID 83201                                               First Class Mail
Chartered Organization         Lds Pocatello Central Stake                              Riverside Ward                         225 Oakwood Dr                                            Pocatello, ID 83204‐3907                                          First Class Mail
Chartered Organization         Lds Pocatello Central Stake ‐ Cedar Ward                 Grand Teton Council 107                550 W Cedar St                                            Pocatello, ID 83201                                               First Class Mail
Chartered Organization         Lds Pocatello Central Stake ‐ Gwen Ward                  Grand Teton Council 107                1433 Gwen Dr                                              Pocatello, ID 83204                                               First Class Mail
Chartered Organization         Lds Pocatello Central Stk                                Raymond Park Wd                        225 Oakwood Dr                                            Pocatello, ID 83204‐3907                                          First Class Mail
Chartered Organization         Lds Pocatello E Stk ‐Mtn View Ward                       Grand Teton Council 107                4Th & Fredrigill                                          Pocatello, Id 83201                                               First Class Mail
Chartered Organization         Lds Pocatello East Stake                                 Princeton Ward                         42 Princeton Ave                                          Pocatello, ID 83201                                               First Class Mail
Chartered Organization         Lds Pocatello East Stake                                 Sagewood Hills Ward                    42 Princeton Ave                                          Pocatello, ID 83201                                               First Class Mail
Chartered Organization         Lds Pocatello East Stake ‐ Century Ward                  Grand Teton Council 107                4th & Fredregill Rd                                       Pocatello, ID 83204                                               First Class Mail
Chartered Organization         Lds Pocatello East Stake ‐ Fremont Ward                  Grand Teton Council 107                135 S 7Th Ave                                             Pocatello, ID 83201‐5853                                          First Class Mail
Chartered Organization         Lds Pocatello East Stk                                   Caldwell Park Ward                     135 S 7Th Ave                                             Pocatello, ID 83201‐5853                                          First Class Mail
Chartered Organization         Lds Pocatello N Stk ‐Mtn Park Wd                         Grand Teton Council 107                4600 Victory Ave                                          Chubbuck, ID 83202‐5062                                           First Class Mail
Chartered Organization         Lds Pocatello North Stake                                Canterbury Ward                        4890 Whitaker Rd                                          Chubbuck, ID 83202‐1626                                           First Class Mail
Chartered Organization         Lds Pocatello North Stake                                Whitaker 1St Ward                      4890 Whitaker Rd                                          Chubbuck, ID 83202‐1626                                           First Class Mail
Chartered Organization         Lds Pocatello North Stake                                Spanish Branch                         4600 Victory Ave                                          Chubbuck, ID 83202‐5062                                           First Class Mail
Chartered Organization         Lds Pocatello North Stake                                El Rancho Ward                         300 E Chapel Rd                                           Pocatello, ID 83201‐3537                                          First Class Mail
Chartered Organization         Lds Pocatello North Stake                                Meadowbrook Ward                       300 E Chapel Rd                                           Pocatello, ID 83201‐3537                                          First Class Mail
Chartered Organization         Lds Pocatello North Stake ‐ Holman Ward                  Grand Teton Council 107                300 E Chapel Rd                                           Pocatello, ID 83201‐3537                                          First Class Mail
Chartered Organization         Lds Pocatello North Stake ‐ Victory Ward                 Grand Teton Council 107                4600 Victory Ave                                          Chubbuck, ID 83202‐5062                                           First Class Mail
Chartered Organization         Lds Pocatello Stake ‐ Arbon Branch                       Grand Teton Council 107                655 S Grant Ave                                           Pocatello, ID 83204‐4235                                          First Class Mail
Chartered Organization         Lds Pocatello Stake ‐ Cedar Hills Ward                   Grand Teton Council 107                5425 Bannock Hwy                                          Pocatello, ID 83204‐3805                                          First Class Mail
Chartered Organization         Lds Pocatello Stake ‐ Gibson Jack Ward                   Grand Teton Council 107                8200 W Portneuf Rd                                        Pocatello, ID 83204                                               First Class Mail
Chartered Organization         Lds Pocatello Stake ‐ Indian Hills Ward                  Grand Teton Council 107                5425 Bannock Hwy                                          Pocatello, ID 83204‐3805                                          First Class Mail
Chartered Organization         Lds Pocatello Stake ‐ Johnny Creek Ward                  Grand Teton Council 107                655 S Grant Ave                                           Pocatello, ID 83204‐4235                                          First Class Mail
Chartered Organization         Lds Pocatello Stake ‐ Juniper Hills Ward                 Grand Teton Council 107                8200 W Portneuf Rd                                        Pocatello, ID 83204                                               First Class Mail
Chartered Organization         Lds Pocatello Stake ‐ Mink Creek Ward                    Grand Teton Council 107                8200 W Portneuf Rd                                        Pocatello, ID 83204                                               First Class Mail
Chartered Organization         Lds Pocatello Stake ‐ Pocatello 1St Ward                 Grand Teton Council 107                655 S Grant Ave                                           Pocatello, ID 83204‐4235                                          First Class Mail
Chartered Organization         Lds Pocatello West Stake                                 Bannock Creek Ward                     3444 Hawthorne Rd                                         Pocatello, ID 83201‐6014                                          First Class Mail
Chartered Organization         Lds Pocatello West Stake ‐ Poc 18Th Ward                 Grand Teton Council 107                3444 Hawthorne Rd                                         Pocatello, ID 83201‐6014                                          First Class Mail
Chartered Organization         Lds Pocatello West Stake ‐ Poc 26Th Ward                 Grand Teton Council 107                3444 Hawthorne Rd                                         Pocatello, ID 83201‐6014                                          First Class Mail
Chartered Organization         Lds Pocatello West Stake ‐ Poc 29Th Ward                 Grand Teton Council 107                1700 Kinghorn                                             Pocatello, ID 83201                                               First Class Mail
Chartered Organization         Lds Pocatello West Stake ‐ Poc 41St Ward                 Grand Teton Council 107                1700 Kinghorn                                             Pocatello, ID 83201                                               First Class Mail
Chartered Organization         Lds Pocatello West Stake ‐ Poc 52Nd Ward                 Grand Teton Council 107                1700 Kinghorn                                             Pocatello, ID 83201                                               First Class Mail
Chartered Organization         Lds Pocatello West Stake ‐ Poc 9Th Ward                  Grand Teton Council 107                4331 Hawthorne Rd                                         Pocatello, ID 83202‐2741                                          First Class Mail
Chartered Organization         Lds Poinsettia Ward ‐ Mesa Az Stk                        Grand Canyon Council 010               1050 S Hobson                                             Mesa, AZ 85204                                                    First Class Mail
Chartered Organization         Lds Point 22 Ward ‐ Mesa Az                              Eastmark Stake‐Agave                   10725 E Point Twenty Two Blvd                             Mesa, AZ 85209                                                    First Class Mail
Chartered Organization         Lds Pointe Meadows First Ward                            Utah National Parks 591                2150 N Pointe Meadow Dr                                   Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Pointe Meadows Second Ward                           Utah National Parks 591                2150 Pointe Meadow Loop                                   Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Pole Canyon Ward/Erda Utah Stake                     Great Salt Lake Council 590            4306 Elk Ln                                               Erda, UT 84074‐9775                                               First Class Mail
Chartered Organization         Lds Polson Ward, Kalispell Stake                         Montana Council 315                    1104 4Th Ave E                                            Polson, MT 59860‐7025                                             First Class Mail
Chartered Organization         Lds Pondarosa Ward                                       Houston N Stake                        16331 Hafer Rd                                            Houston, TX 77090                                                 First Class Mail
Chartered Organization         Lds Ponderosa Ward ‐ Payson Az Stk                       Grand Canyon Council 010               277 W Round Valley Rd                                     Payson, AZ 85541‐4130                                             First Class Mail
Chartered Organization         Lds Ponderosa Ward, Parker South Stake                   Denver Area Council 061                17910 French Creek Ave                                    Parker, CO 80134                                                  First Class Mail
Chartered Organization         Lds Ponderosa Ward/Erda Utah Stake                       Great Salt Lake Council 590            240 Interlochen Ln                                        Stansbury Park, UT 84074                                          First Class Mail
Chartered Organization         Lds Ponds Park Ward                                      Kaysville South Stake                  162 E Burton Ln                                           Kaysville, UT 84037                                               First Class Mail
Chartered Organization         Lds Poplar 1St Ward                                      Farr West Poplar Stake                 2123 N 2000 W                                             Farr West, UT 84404                                               First Class Mail
Chartered Organization         Lds Poplar 2Nd Ward                                      Farr West Poplar Stake                 1745 N 2300 W                                             Farr West, UT 84404                                               First Class Mail
Chartered Organization         Lds Poplar Bluff Ward                                    Cape Girardeau Stake                   2414 Katy Ln                                              Poplar Bluff, MO 63901‐2304                                       First Class Mail
Chartered Organization         Lds Poplar Bluff Ward ‐ Poplar Bluff Stake               Greater St Louis Area Council 312      2401 Katy Ln                                              Poplar Bluff, MO 63901                                            First Class Mail
Chartered Organization         Lds Poplar Branch, Glendive Stake                        Montana Council 315                    114 Centennial Dr                                         Culbertson, MT 59218‐7731                                         First Class Mail
Chartered Organization         Lds Poplar Grove Ward/S L Pioneer Stk                    Great Salt Lake Council 590            1401 W 700 S                                              Salt Lake City, UT 84104                                          First Class Mail
Chartered Organization         Lds Popo Agie Ward, Riverton Stake                       Greater Wyoming Council 638            653 Cascade St                                            Lander, WY 82520                                                  First Class Mail
Chartered Organization         Lds Port Charlotte Ward Bradenton Stake                  Southwest Florida Council 088          6813 Pitomba St                                           North Port, FL 34286‐7122                                         First Class Mail
Chartered Organization         Lds Port Charlotte Ward Bradenton Stake                  Southwest Florida Council 088          1303 Forrest Nelson Blvd                                  Port Charlotte, FL 33952                                          First Class Mail
Chartered Organization         Lds Port Gardner Ward Everett Stake                      Mount Baker Council, Bsa 606           9509 19Th Ave Se                                          Everett, WA 98208‐3804                                            First Class Mail
Chartered Organization         Lds Port St Lucie Ward                                   Gulf Stream Council 085                1683 Sw Realty St                                         Port St Lucie, FL 34987‐2227                                      First Class Mail
Chartered Organization         Lds Port St Lucie Ward ‐ Stuart Stake                    Gulf Stream Council 085                2401 Sw Matheson Ave                                      Palm City, FL 34990‐2703                                          First Class Mail
Chartered Organization         Lds Port Townsend Ward                                   Port Angeles Stake                     10104 Rhody Dr                                            Chimacum, WA 98325                                                First Class Mail
Chartered Organization         Lds Port Washington Br                                   Milwaukee Wi Stake                     1248 Marina Dr                                            Grafton, WI 53024‐9334                                            First Class Mail
Chartered Organization         Lds Portales Ward                                        Lubbock Tx Stake North                 1930 S Ave G                                              Portales, NM 88130                                                First Class Mail
Chartered Organization         Lds Porter Lane 1St Ward                                 Centerville Ut S Stake                 436 W Porter Ln                                           Centerville, UT 84014                                             First Class Mail
Chartered Organization         Lds Porter Lane 2Nd Ward                                 Centerville Ut S Stake                 436 W Porter Ln                                           Centerville, UT 84014                                             First Class Mail
Chartered Organization         Lds Porter Lane 3Rd Ward                                 Centerville Ut S Stake                 436 W Porter Ln                                           Centerville, UT 84014                                             First Class Mail
Chartered Organization         Lds Porter Park Ward ‐ Mesa Az North Stk                 Grand Canyon Council 010               1852 N Stapley Dr                                         Mesa, AZ 85203                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                      Page 229 of 442
                                                                               Case 20-10343-LSS                                  Doc 8171                                    Filed 01/06/22                                           Page 245 of 457
                                                                                                                                                                 Exhibit B
                                                                                                                                                                  Service List
                                                                                                                                                           Served as set forth below

        Description                                                     Name                                                                                   Address                                                                                        Email              Method of Service
Chartered Organization         Lds Porter Way Ward                                    Stansbury Park Ut Stake                6563 Sky Heights Dr                                     Stansbury Park, UT 84074‐3097                                                    First Class Mail
Chartered Organization         Lds Porters Crossing Ward                              Utah National Parks 591                4032 E Ofallons Way                                     Eagle Mountain, UT 84005‐4621                                                    First Class Mail
Chartered Organization         Lds Porterville 1St                                    Porterville Stake                      1164 N Newcomb St                                       Porterville, CA 93257                                                            First Class Mail
Chartered Organization         Lds Porterville 1St                                    Porterville Stake                      837 E Morton Ave                                        Porterville, CA 93257‐4233                                                       First Class Mail
Chartered Organization         Lds Porterville 2Nd                                    Porterville Stake                      1164 N Newcomb St                                       Porterville, CA 93257                                                            First Class Mail
Chartered Organization         Lds Porterville 2Nd                                    Porterville Stake                      837 E Morton Ave                                        Porterville, CA 93257‐4233                                                       First Class Mail
Chartered Organization         Lds Portland Ward Corpus Christi Stake                 South Texas Council 577                600 Marriot Dr                                          Portland, TX 78374                                                               First Class Mail
Chartered Organization         Lds Portland Ward Portland Oregon Stake                Cascade Pacific Council 492            7115 Se Hazel St                                        Portland, OR 97206‐9453                                                          First Class Mail
Chartered Organization         Lds Portsmouth Ward, Chesapeake Stake                  4507 N Bailey Bridge Rd                Midlothian, VA 23112                                                                                                                     First Class Mail
Chartered Organization         Lds Portsmouth Ward, Exeter Nh Stake                   Daniel Webster Council, Bsa 330        Andrew Jarvis Dr                                        Portsmouth, NH 03801                                                             First Class Mail
Chartered Organization         Lds Potomac Crossing Ashburn Stake                     National Capital Area Council 082      801 Balls Bluff Rd Ne                                   Leesburg, VA 20176‐4801                                                          First Class Mail
Chartered Organization         Lds Potomac Crossing Ashburn Stake                     National Capital Area Council 082      801 Balls Bluff Rd Ne                                   Leesburg, VA 20176‐4801                                                          First Class Mail
Chartered Organization         Lds Potomac River Ward Woodbridge Stake                National Capital Area Council 082      3000 Dale Blvd                                          Woodbridge, VA 22193                                                             First Class Mail
Chartered Organization         Lds Potomac Ward Washington Dc Stake                   c/o Bishop Franklin Richards           10840 Pleasant Hill Dr                                  Potomac, MD 20854‐1511                                                           First Class Mail
Chartered Organization         Lds Poulsbo 1St Ward Silverdale Stake                  Chief Seattle Council 609              2138 Ne Mesford Rd                                      Poulsbo, WA 98370                                                                First Class Mail
Chartered Organization         Lds Poulsbo 2Nd Ward Silverdale Stake                  Chief Seattle Council 609              2138 Ne Mesford Rd                                      Poulsbo, WA 98370                                                                First Class Mail
Chartered Organization         Lds Poway ‐ Del Norte Ward                             San Diego Imperial Council 049         15750 Bernardo Heights Pkwy                             San Diego, CA 92128‐3148                                                         First Class Mail
Chartered Organization         Lds Poway ‐ Del Sur Ward                               San Diego Imperial Council 049         14191 Camino Del Sur                                    San Diego, CA 92129                                                              First Class Mail
Chartered Organization         Lds Poway ‐ Green Valley Ward                          San Diego Imperial Council 049         15705 Pomerado Rd                                       Poway, CA 92064                                                                  First Class Mail
Chartered Organization         Lds Poway ‐ Highland Valley Ward                       San Diego Imperial Council 049         527 9Th St                                              Ramona, CA 92065‐2323                                                            First Class Mail
Chartered Organization         Lds Poway ‐ Ramona Oaks Ward                           San Diego Imperial Council 049         527 9Th St                                              Ramona, CA 92065‐2323                                                            First Class Mail
Chartered Organization         Lds Poway ‐ Ramona Ward                                San Diego Imperial Council 049         527 9Th St                                              Ramona, CA 92065‐2323                                                            First Class Mail
Chartered Organization         Lds Poway ‐ Sabre Springs Ward                         San Diego Imperial Council 049         15705 Pomerado Rd                                       Poway, CA 92064                                                                  First Class Mail
Chartered Organization         Lds Poway ‐ Sabre Springs Ward                         San Diego Imperial Council 049         15705 Pomerado Rd                                       Poway, CA 92064                                                                  First Class Mail
Chartered Organization         Lds Poway ‐ Twin Peaks Ward                            San Diego Imperial Council 049         14211 Twin Peaks Rd                                     Poway, CA 92064‐3141                                                             First Class Mail
Chartered Organization         Lds Poway‐ Lake Poway Ward                             San Diego Imperial Council 049         14211 Twin Peaks Rd                                     Poway, CA 92064‐3141                                                             First Class Mail
Chartered Organization         Lds Poway Stake‐Lake Hodges                            San Diego Imperial Council 049         15750 Bernardo Heights Pkwy                             San Diego, CA 92128‐3148                                                         First Class Mail
Chartered Organization         Lds Poway‐Lake Hodges Ward                             San Diego Imperial Council 049         15705 Pomerado Rd                                       Poway, CA 92064                                                                  First Class Mail
Chartered Organization         Lds Powder Springs Stake / Kennesaw Mtn                Atlanta Area Council 092               2595 New Macland Rd                                     Powder Springs, GA 30127‐1757                                                    First Class Mail
Chartered Organization         Lds Powell 1St Ward, Cody Stake                        Greater Wyoming Council 638            1026 Ave E                                              Powell, WY 82435‐2234                                                            First Class Mail
Chartered Organization         Lds Powell 1St Ward, Cody Stake                        Greater Wyoming Council 638            651 Ave B                                               Powell, WY 82435‐2277                                                            First Class Mail
Chartered Organization         Lds Powell 2Nd Ward, Cody Stake                        Greater Wyoming Council 638            525 W 7Th St                                            Powell, WY 82435‐4510                                                            First Class Mail
Chartered Organization         Lds Powell 3Rd Ward, Cody Stake                        Greater Wyoming Council 638            1026 Ave E                                              Powell, WY 82435‐2234                                                            First Class Mail
Chartered Organization         Lds Powell 4Th Ward, Cody Stake                        Greater Wyoming Council 638            525 W 7Th St                                            Powell, WY 82435‐4510                                                            First Class Mail
Chartered Organization         Lds Powell Butte Ward Gresham Stake                    Cascade Pacific Council 492            3333 Se 182Nd                                           Portland, OR 97236                                                               First Class Mail
Chartered Organization         Lds Powell Vly Ward Mt Hood Oregon Stake               Cascade Pacific Council 492            12300 Se 312Th Ave                                      Boring, OR 97009                                                                 First Class Mail
Chartered Organization         Lds Power Ranch 1St Ward ‐ Gilbert Az                  San Tan Stake                          4170 S Ranch House Pkwy                                 Gilbert, AZ 85297                                                                First Class Mail
Chartered Organization         Lds Power Ranch 2Nd Ward ‐ Gilbert Az                  San Tan Stake                          4170 S Ranch House Pkwy                                 Gilbert, AZ 85297                                                                First Class Mail
Chartered Organization         Lds Power Ranch 3Rd Ward ‐ Gilbert Az                  San Tan Stake                          4741 E Timberline Rd                                    Gilbert, AZ 85297‐9736                                                           First Class Mail
Chartered Organization         Lds Pr William Ward Woodbridge Stake                   National Capital Area Council 082      5750 Websters Way                                       Manassas, VA 20112‐3490                                                          First Class Mail
Chartered Organization         Lds Prado View Ward ‐ Corona Stake                     California Inland Empire Council 045   1290 W Ontario Ave                                      Corona, CA 92882‐5706                                                            First Class Mail
Chartered Organization         Lds Prairie 10Th Ward                                  W J Ut Prairie Stake                   4986 W 7770 S                                           West Jordan, UT 84081‐3626                                                       First Class Mail
Chartered Organization         Lds Prairie 13Th Ward/W J Ut Prairie Stk               Great Salt Lake Council 590            7337 S Grizzley Way                                     West Jordan, UT 84081                                                            First Class Mail
Chartered Organization         Lds Prairie 1St Ward/W J Ut Prairie Stk                Great Salt Lake Council 590            5360 W 7000 S                                           West Jordan, UT 84081                                                            First Class Mail
Chartered Organization         Lds Prairie 4Th Ward/W J Ut Prairie Stk                Great Salt Lake Council 590            6824 S Cyclamen Dr                                      West Jordan, UT 84081‐5701                                                       First Class Mail
Chartered Organization         Lds Prairie 7Th Ward/W J Ut Prairie Stk                Great Salt Lake Council 590            5154 W 7000 S                                           West Jordan, UT 84081                                                            First Class Mail
Chartered Organization         Lds Prairie 8Th Ward/W J Ut Prairie Stk                Great Salt Lake Council 590            7337 S 5150 W                                           West Jordan, UT 84081                                                            First Class Mail
Chartered Organization         Lds Prairie Crossing Ward                              Kanesville Stake                       3939 W 4000 S                                           West Haven, UT 84401                                                             First Class Mail
Chartered Organization         Lds Prairie Grove Ward, Springdale Stake               Westark Area Council 016               801 W Buchanan St                                       Prairie Grove, AR 72753                                                          First Class Mail
Chartered Organization         Lds Pratt Branch‐Wichita Kansas Stake                  Quivira Council, Bsa 198               1108 Stout St                                           Pratt, KS 67124‐1267                                                             First Class Mail
Chartered Organization         Lds Prattville Ward                                    Tukabatchee Area Council 005           2200 Cobbs Ford Rd                                      Prattville, AL 36066                                                             First Class Mail
Chartered Organization         Lds Prescott Heights Ward ‐ Prescott Az                Stake                                  1001 Ruth St                                            Prescott, AZ 86301‐1729                                                          First Class Mail
Chartered Organization         Lds Prestbury Ward ‐ Naperville Stake                  Three Fires Council 127                100 Hankes Rd                                           Sugar Grove, IL 60554‐8102                                                       First Class Mail
Chartered Organization         Lds Preston 10Th Ward                                  Preston N Stake                        155 N 200 W                                             Preston, ID 83263‐1018                                                           First Class Mail
Chartered Organization         Lds Preston 11Th Ward                                  Preston S Stake                        55 E 1St S                                              Preston, ID 83263                                                                First Class Mail
Chartered Organization         Lds Preston 2Nd Ward                                   Preston S Stake                        55 E 1St S                                              Preston, ID 83263                                                                First Class Mail
Chartered Organization         Lds Preston 3Rd Ward                                   Preston N Stake                        109 N Bear River Blfs                                   Preston, ID 83263‐5184                                                           First Class Mail
Chartered Organization         Lds Preston 4Th Ward                                   Preston N Stake                        Trapper Trails 589                                      310 N State St                  Preston N Stake      Preston, Id 83263           First Class Mail
Chartered Organization         Lds Preston 6Th Ward                                   Preston S Stake                        574 W 8Th S                                             Preston, ID 83263‐1459                                                           First Class Mail
Chartered Organization         Lds Preston 9Th Ward                                   Preston N Stake                        310 N State St                                          Preston, ID 83263‐1139                                                           First Class Mail
Chartered Organization         Lds Preston Ward ‐ Mesa Az                             Red Mountain Stake                     3015 N Ravine                                           Mesa, AZ 85215‐0981                                                              First Class Mail
Chartered Organization         Lds Price Eighth Ward                                  Utah National Parks 591                995 E 700 N                                             Price, UT 84501                                                                  First Class Mail
Chartered Organization         Lds Price Eleventh Ward                                Utah National Parks 591                300 W 500 S                                             Price, UT 84501                                                                  First Class Mail
Chartered Organization         Lds Price Fifth Ward                                   Utah National Parks 591                545 E 400 N                                             Price, UT 84501                                                                  First Class Mail
Chartered Organization         Lds Price First Ward                                   Utah National Parks 591                150 S 500 E                                             Price, UT 84501                                                                  First Class Mail
Chartered Organization         Lds Price Fourth Ward                                  Utah National Parks 591                340 N 500 E                                             Price, UT 84501‐2611                                                             First Class Mail
Chartered Organization         Lds Price Hills Ward                                   Utah National Parks 591                675 E Desert Hills Dr                                   St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Price Ninth Ward                                   Utah National Parks 591                1421 E 150 S                                            Price, UT 84501‐3759                                                             First Class Mail
Chartered Organization         Lds Price Second Ward                                  Utah National Parks 591                450 Woodhill Dr                                         Price, UT 84501‐2436                                                             First Class Mail
Chartered Organization         Lds Price Seventh Ward                                 Utah National Parks 591                995 E 700 N                                             Price, UT 84501                                                                  First Class Mail
Chartered Organization         Lds Price Sixth Ward                                   Utah National Parks 591                300 W 500 S                                             Price, UT 84501                                                                  First Class Mail
Chartered Organization         Lds Price Tenth Ward                                   Utah National Parks 591                928 Wadleigh Ln                                         Price, UT 84501‐1843                                                             First Class Mail
Chartered Organization         Lds Price Third Ward                                   Utah National Parks 591                303 W 500 S                                             Price, UT 84501                                                                  First Class Mail
Chartered Organization         Lds Pride Ward ‐ Denham Springs Stake                  Istrouma Area Council 211              16135 Milldale Rd                                       Zachary, LA 70791                                                                First Class Mail
Chartered Organization         Lds Princess Anne Virginia Beach Stake                 Tidewater Council 596                  2397 Newstead Dr                                        Virginia Beach, VA 23454‐5874                                                    First Class Mail
Chartered Organization         Lds Princeton 1St Ward                                 E Brunswick Nj Stake                   901 Canal Pointe Blvd                                   Princeton, NJ 08540                                                              First Class Mail
Chartered Organization         Lds Princeton 2Nd Ward                                 E Brunswick Nj Stake                   901 Canal Pointe Blvd                                   Princeton, NJ 08540                                                              First Class Mail
Chartered Organization         Lds Princeton Ward                                     Central Minnesota 296                  1107 Maplewood Ave Sw                                   Isanti, MN 55040‐6266                                                            First Class Mail
Chartered Organization         Lds Princeton Ward/Sl Monument Pk Stk                  Great Salt Lake Council 590            1005 S 2000 E                                           Salt Lake City, UT 84108                                                         First Class Mail
Chartered Organization         Lds Pringle Ward Salem Stake                           Cascade Pacific Council 492            2530 Boone Rd Se                                        Salem, OR 97306‐9675                                                             First Class Mail
Chartered Organization         Lds Prospect Ward ‐ Redlands Stake                     California Inland Empire Council 045   350 S Wabash Ave                                        Redlands, CA 92374                                                               First Class Mail
Chartered Organization         Lds Prosper 1St Wrd                                    Frisco Tx Shawnee Trl Stake            970 N Coit Rd                                           Prosper, TX 75078                                                                First Class Mail
Chartered Organization         Lds Prosper 2Nd Wrd                                    Frisco Tx Shawnee Trl Stake            970 N Coit Rd                                           Prosper, TX 75078                                                                First Class Mail
Chartered Organization         Lds Prosper 3Rd Ward                                   Frisco Texas Shawnee Trail Stake       970 S Coit Rd                                           Prosper, TX 75078                                                                First Class Mail
Chartered Organization         Lds Prosper 4Th Ward                                   Frisco Texas Shawnee Trail Stake       1313 Palestine Dr                                       Prosper, TX 75078‐5025                                                           First Class Mail
Chartered Organization         Lds Prosser Ward ‐ West Richland Stake                 Blue Mountain Council 604              1835 Highland Dr                                        Prosser, WA 99350‐1565                                                           First Class Mail
Chartered Organization         Lds Providence 10Th Ward                               Providence S Stake                     262 Canyon Rd                                           Providence, UT 84332‐9493                                                        First Class Mail
Chartered Organization         Lds Providence 12Th Ward                               Providence Stake                       180 S 485 W                                             Providence, UT 84332‐5500                                                        First Class Mail
Chartered Organization         Lds Providence 1St Ward                                Providence Stake                       420 W 100 N                                             Providence, UT 84332‐6706                                                        First Class Mail
Chartered Organization         Lds Providence 2Nd Ward                                Providence Stake                       262 Canyon Rd                                           Providence, UT 84332‐9493                                                        First Class Mail
Chartered Organization         Lds Providence 3Rd Ward                                Providence Stake                       355 Canyon Rd                                           Providence, UT 84332‐9108                                                        First Class Mail
Chartered Organization         Lds Providence 4Th Ward                                River Heights Stake                    155 N 100 E                                             Providence, UT 84332‐9610                                                        First Class Mail
Chartered Organization         Lds Providence 5Th Ward                                Providence S Stake                     355 Canyon Rd                                           Providence, UT 84332‐9108                                                        First Class Mail
Chartered Organization         Lds Providence 6Th Ward                                Providence S Stake                     262 Canyon Rd                                           Providence, UT 84332‐9493                                                        First Class Mail
Chartered Organization         Lds Providence 8Th Ward                                River Heights Stake                    155 N 100 E                                             Providence, UT 84332‐9610                                                        First Class Mail
Chartered Organization         Lds Providence 9Th Ward                                Providence Stake                       180 S 485 W                                             Providence, UT 84332‐5500                                                        First Class Mail
Chartered Organization         Lds Providence Point Ward                              Herriman Ut S Stake                    14550 S Juniper Crest                                   Herriman, UT 84096                                                               First Class Mail
Chartered Organization         Lds Providence Ward                                    Mecklenburg County Council 415         5815 Carmel Rd                                          Charlotte, NC 28226‐8105                                                         First Class Mail
Chartered Organization         Lds Providence Ward Skye Canyon Stake                  Las Vegas Area Council 328             10070 Azure Dr                                          Las Vegas, NV 89149‐1382                                                         First Class Mail
Chartered Organization         Lds Provo Canyon Ward                                  Utah National Parks 591                4300 N Canyon Rd                                        Provo, UT 84604                                                                  First Class Mail
Chartered Organization         Lds Provo Eleventh Ward                                Utah National Parks 591                700 W 780 N                                             Provo, UT 84604                                                                  First Class Mail
Chartered Organization         Lds Provo First Ward                                   Utah National Parks 591                195 S 100 E                                             Provo, UT 84606                                                                  First Class Mail
Chartered Organization         Lds Provo Fourth Ward                                  Utah National Parks 591                101 W 800 N                                             Provo, UT 84601                                                                  First Class Mail
Chartered Organization         Lds Provo Grandview Eighteenth Ward                    Utah National Parks 591                1260 W 1150 N                                           Provo, UT 84604                                                                  First Class Mail
Chartered Organization         Lds Provo Grandview Fifteenth Ward                     Utah National Parks 591                1267 Wasatch Dr                                         Provo, UT 84604‐2928                                                             First Class Mail
Chartered Organization         Lds Provo Grandview Fourteenth Ward                    Utah National Parks 591                1122 Grand Ave                                          Provo, UT 84604                                                                  First Class Mail
Chartered Organization         Lds Provo Grandview Seventeenth Ward                   Utah National Parks 591                1122 Grand Ave                                          Provo, UT 84604                                                                  First Class Mail
Chartered Organization         Lds Provo Grandview Sixteenth Ward                     Utah National Parks 591                1260 W 1150 N                                           Provo, UT 84604                                                                  First Class Mail
Chartered Organization         Lds Provo Grandview Thirteenth Ward                    Utah National Parks 591                1260 W 1150 N                                           Provo, UT 84604                                                                  First Class Mail
Chartered Organization         Lds Provo Grandview Twentieth Ward                     (Spanish)                              1422 N 1400 W                                           Provo, UT 84604‐6021                                                             First Class Mail
Chartered Organization         Lds Provo Peak Eighth Ward (Spanish)                   Utah National Parks 591                667 N 600 E                                             Provo, UT 84606                                                                  First Class Mail
Chartered Organization         Lds Provo Peak Fifth Ward                              Utah National Parks 591                965 N Locust Ln                                         Provo, UT 84604                                                                  First Class Mail
Chartered Organization         Lds Provo Peak Fourth Ward                             Utah National Parks 591                667 N 600 E                                             Provo, UT 84606                                                                  First Class Mail
Chartered Organization         Lds Provo Peak Ninth Ward                              Utah National Parks 591                1165 E 700 N                                            Provo, UT 84606‐2031                                                             First Class Mail
Chartered Organization         Lds Provo Peak Second Ward                             Utah National Parks 591                1291 E 820 N                                            Provo, UT 84606‐2037                                                             First Class Mail
Chartered Organization         Lds Provo Peak Seventh Ward                            Utah National Parks 591                358 E 100 N                                             Provo, UT 84606‐3207                                                             First Class Mail
Chartered Organization         Lds Provo Peak Sixth Ward                              Utah National Parks 591                1456 E 300 N                                            Provo, UT 84606                                                                  First Class Mail
Chartered Organization         Lds Provo Peak Tenth Ward                              Utah National Parks 591                1456 E 300 N                                            Provo, UT 84606                                                                  First Class Mail
Chartered Organization         Lds Provo Peak Third Ward                              Utah National Parks 591                172 S 200 E                                             Provo, UT 84606‐4606                                                             First Class Mail
Chartered Organization         Lds Provo Peak Twelfth Ward                            Utah National Parks 591                442 N 1420 E                                            Provo, UT 84606‐5130                                                             First Class Mail
Chartered Organization         Lds Provo River Ward                                   Utah National Parks 591                4775 N 300 W                                            Provo, UT 84604                                                                  First Class Mail
Chartered Organization         Lds Provo Second Ward                                  Utah National Parks 591                610 W 300 S                                             Provo, UT 84601                                                                  First Class Mail
Chartered Organization         Lds Provo Sixth Ward                                   Utah National Parks 591                371 W 200 S                                             Provo, UT 84601‐4336                                                             First Class Mail
Chartered Organization         Lds Provo South Stake 11 Yr Old Troop                  Utah National Parks 591                835 S 500 W                                             Provo, UT 84601                                                                  First Class Mail
Chartered Organization         Lds Provo Sunset Second Ward (Spanish)                 Utah National Parks 591                1097 S 770 W                                            Provo, UT 84601‐6501                                                             First Class Mail
Chartered Organization         Lds Provo Tenth Branch                                 Utah National Parks 591                1625 S Slate Canyon Dr                                  Provo, UT 84606                                                                  First Class Mail
Chartered Organization         Lds Provo Third Ward                                   Utah National Parks 591                371 N 400 W                                             Provo, UT 84601‐2745                                                             First Class Mail
Chartered Organization         Lds Prune Hill Ward Vancouver East Stake               Cascade Pacific Council 492            3017 Nw 18Th Ave                                        Camas, WA 98607                                                                  First Class Mail
Chartered Organization         Lds Prunedale Ward ‐ Monterey Stake                    Silicon Valley Monterey Bay 055        255 E Alvin Dr                                          Salinas, CA 93906‐2405                                                           First Class Mail
Chartered Organization         Lds Pryor Ward ‐ Tulsa Ok East Stake                   Indian Nations Council 488             1212 Ne 3Rd St                                          Pryor, OK 74361                                                                  First Class Mail
Chartered Organization         Lds Pueblo Ward ‐ Mesa Az Skyline Stk                  Grand Canyon Council 010               10305 E Southern Ave                                    Mesa, AZ 85208                                                                   First Class Mail
Chartered Organization         Lds Pueblo Ward Desert Foothill Stake                  Las Vegas Area Council 328             1709 Crystal Creek Cir                                  Las Vegas, NV 89128‐7948                                                         First Class Mail
Chartered Organization         Lds Pueblo Ward Hend Lake Mead Stake                   Las Vegas Area Council 328             304 N Naples St                                         Henderson, NV 89015‐4872                                                         First Class Mail
Chartered Organization         Lds Pueblo Ward, Pueblo Stake                          Rocky Mountain Council 063             4720 Surfwood Ln                                        Pueblo, CO 81005‐2667                                                            First Class Mail
Chartered Organization         Lds Pueblo West 1St Ward, Pueblo Stake                 Rocky Mountain Council 063             144 S Abarr Dr                                          Pueblo West, CO 81007‐5431                                                       First Class Mail
Chartered Organization         Lds Pueblo West 2Nd Ward, Pueblo Stake                 Rocky Mountain Council 063             144 S Abarr Dr                                          Pueblo, CO 81007‐5431                                                            First Class Mail
Chartered Organization         Lds Pueblo West 3Rd Ward, Pueblo Stake                 Rocky Mountain Council 063             1411 Fortino Blvd                                       Pueblo, CO 81008‐2034                                                            First Class Mail
Chartered Organization         Lds Pukalani Ward, Kahului Hi Stake                    Aloha Council, Bsa 104                 3356 Kihapai Pl                                         Makawao, HI 96768                                                                First Class Mail
Chartered Organization         Lds Puyallup S Hill Stake‐Bradley Lake                 Pacific Harbors Council, Bsa 612       12407 Military Rd E                                     Puyallup, WA 98374‐3602                                                          First Class Mail
Chartered Organization         Lds Puyallup S Hill Stake‐Gem Heights                  Pacific Harbors Council, Bsa 612       13420 94Th Ave E                                        Puyallup, WA 98373                                                               First Class Mail
Chartered Organization         Lds Puyallup S Hill Stake‐Pioneer Vly                  Pacific Harbors Council, Bsa 612       8615 176Th St E                                         Puyallup, WA 98373                                                               First Class Mail
Chartered Organization         Lds Puyallup S Hill Stake‐Silver Creek                 Pacific Harbors Council, Bsa 612       8615 176Th St E                                         Puyallup, WA 98375                                                               First Class Mail
Chartered Organization         Lds Puyallup South Hill Stake‐Manorwood                Pacific Harbors Council, Bsa 612       12047 Military Rd E                                     Puyallup, WA 98374                                                               First Class Mail
Chartered Organization         Lds Puyallup South Hill Stake‐South Hill               Pacific Harbors Council, Bsa 612       13420 94Th Ave E                                        Puyallup, WA 98373                                                               First Class Mail
Chartered Organization         Lds Puyallup South Hill Stake‐Woodland                 Pacific Harbors Council, Bsa 612       13420 94Th Ave E                                        Puyallup, WA 98373                                                               First Class Mail
Chartered Organization         Lds Puyallup Stake‐Bonney Lake                         Pacific Harbors Council, Bsa 612       11214 214Th Ave E                                       Bonney Lake, WA 98391                                                            First Class Mail
Chartered Organization         Lds Puyallup Stake‐Clarks Creek                        Pacific Harbors Council, Bsa 612       1015 13Th St Ct Nw                                      Puyallup, WA 98371‐4069                                                          First Class Mail
Chartered Organization         Lds Puyallup Stake‐Lake Tapps                          Pacific Harbors Council, Bsa 612       11214 214Th Ave E                                       Bonney Lake, WA 98390                                                            First Class Mail
Chartered Organization         Lds Puyallup Stake‐North Tapps Ward                    Pacific Harbors Council, Bsa 612       512 Valley Ave E                                        Sumner, WA 98390‐2319                                                            First Class Mail
Chartered Organization         Lds Puyallup Stake‐Puyallup                            Pacific Harbors Council, Bsa 612       512 Valley Ave E                                        Sumner, WA 98390‐2319                                                            First Class Mail
Chartered Organization         Lds Puyallup Stake‐Sumner                              Pacific Harbors Council, Bsa 612       512 Valley Ave E                                        Sumner, WA 98390‐2319                                                            First Class Mail
Chartered Organization         Lds Puyallup Stake‐Surprise Lake                       Pacific Harbors Council, Bsa 612       1013 13Th St Ct Nw                                      Puyallup, WA 98371‐4069                                                          First Class Mail
Chartered Organization         Lds Pyramid Lake Ward                                  Sparks East Stake                      925 Mercedes Dr                                         Sparks, NV 89441                                                                 First Class Mail
Chartered Organization         Lds Quail Creek Ward ‐ Qc Az North Stk                 Grand Canyon Council 010               19685 E Thornton Rd                                     Queen Creek, AZ 85142‐8685                                                       First Class Mail
Chartered Organization         Lds Quail Creek Ward Okc Stake                         Last Frontier Council 480              5020 Nw 63Rd St                                         Oklahoma City, OK 73132‐7723                                                     First Class Mail
Chartered Organization         Lds Quail Crossing Ward                                Frmngtn Utah West Stake                905 Foxhunter Dr                                        Farmington, UT 84025                                                             First Class Mail
Chartered Organization         Lds Quail Flight Ward                                  Farmington Ut N Stake                  850 N Compton Rd                                        Farmington, UT 84025                                                             First Class Mail
Chartered Organization         Lds Quail Hollow Ward                                  Sandy Ut Granite Stake                 9245 S Quail Run Dr                                     Sandy, UT 84093‐2752                                                             First Class Mail
Chartered Organization         Lds Quail Hollow Ward                                  Utah National Parks 591                418 River Cross Rd                                      Spanish Fork, UT 84660‐4613                                                      First Class Mail
Chartered Organization         Lds Quail Ridge Ward                                   Rvrtn Ut Summerhill Stake              12120 S 1300 W                                          Riverton, UT 84065                                                               First Class Mail
Chartered Organization         Lds Quail Ridge Ward                                   Utah National Parks 591                860 N Fairway Dr                                        Washington, UT 84780                                                             First Class Mail
Chartered Organization         Lds Quail Ridge Ward Green Valley Stake                Las Vegas Area Council 328             410 N Valle Verde Dr                                    Henderson, NV 89014                                                              First Class Mail
Chartered Organization         Lds Quail Run Ward/Moscow Stake                        Inland NW Council 611                  2600 W A St                                             Moscow, ID 83843‐4041                                                            First Class Mail
Chartered Organization         Lds Quail Valley Ward                                  Utah National Parks 591                1762 S River Rd                                         St George, UT 84790                                                              First Class Mail
Chartered Organization         Lds Quantico Ward Woodbridge Stake                     National Capital Area Council 082      3000 Dale Blvd                                          Dale City, VA 22193                                                              First Class Mail
Chartered Organization         Lds Quatama Ward Hillsboro Stake                       Cascade Pacific Council 492            848 Sw 206Th Ave                                        Aloha, OR 97003‐1576                                                             First Class Mail
Chartered Organization         Lds Queen Creek Ward ‐ Qc Az Stk                       Grand Canyon Council 010               21915 E Cloud Rd                                        Queen Creek, AZ 85142                                                            First Class Mail
Chartered Organization         Lds Queens Park Ward ‐ Qc Az North Stk                 Grand Canyon Council 010               8757 E Woodland Ave                                     Mesa, AZ 85212‐9336                                                              First Class Mail
Chartered Organization         Lds Queens Stake                                       Greater New York Councils, Bsa 640     8616 60Th Rd                                            Elmhurst, NY 11373‐5524                                                          First Class Mail
Chartered Organization         Lds Quilceda Ward Marysville Stake                     Mount Baker Council, Bsa 606           5212 7Th Ave Ne                                         Tulalip, WA 98271                                                                First Class Mail
Chartered Organization         Lds Quincy 1St Ward/Ephrata Stake                      Grand Columbia Council 614             1101 2Nd Ave Se                                         Quincy, WA 98848‐1744                                                            First Class Mail
Chartered Organization         Lds Quincy Ward ‐ Quincy Stake                         Nevada Area Council 329                P.O. Box 1887                                           Quincy, CA 95971‐1887                                                            First Class Mail
Chartered Organization         Lds Quitman Ward North Little Rock Stake               Quapaw Area Council 018                General Delivery                                        Quitman, AR 72131                                                                First Class Mail
Chartered Organization         Lds Quitman Ward North Little Rock Stake               Quapaw Area Council 018                296 Rogers Rd                                           Romance, AR 72136‐7088                                                           First Class Mail
Chartered Organization         Lds Rabbit Creek Ward ‐ Anchorage Stake                Great Alaska Council 610               13111 Brayton Dr                                        Anchorage, AK 99516‐2669                                                         First Class Mail
Chartered Organization         Lds Radcliff Ward                                      Lincoln Heritage Council 205           878 Shelby Ave                                          Radcliff, KY 40160‐8806                                                          First Class Mail
Chartered Organization         Lds Rainbow Lake Ward ‐ White Mountain Az              Stake                                  1520 Church Ln                                          Lakeside, AZ 85929                                                               First Class Mail
Chartered Organization         Lds Rainbow Vista Ward Red Rock Stake                  Las Vegas Area Council 328             7401 Smoke Ranch Rd                                     Las Vegas, NV 89128‐0294                                                         First Class Mail
Chartered Organization         Lds Rainier Ward Rainier Stake                         Cascade Pacific Council 492            27410 Parkdale Rd                                       Rainier, OR 97048                                                                First Class Mail
Chartered Organization         Lds Ralston‐Lavista Ward Papillion Stake               Mid‐America Council 326                11027 Martha St                                         Omaha, NE 68144‐3107                                                             First Class Mail
Chartered Organization         Lds Ramah 1St Ward Gallup Stake                        Great Swest Council 412                P.O. Box 367                                            Ramah, NM 87321‐0367                                                             First Class Mail
Chartered Organization         Lds Ramona Branch‐Hemet Stake                          California Inland Empire Council 045   198 Caldera Ln                                          Hemet, CA 92545‐9171                                                             First Class Mail
Chartered Organization         Lds Ramsey Park Ward ‐ Eagar Az Stk                    Grand Canyon Council 010               P.O. Box 1873                                           Eagar, AZ 85925‐1873                                                             First Class Mail
Chartered Organization         Lds Ranch Creek Ward                                   Bartlesville Ok Stake                  9300 N 129Th East Ave                                   Owasso, OK 74055                                                                 First Class Mail
Chartered Organization         Lds Ranch Ward ‐ Qc Az North Stk                       Grand Canyon Council 010               22035 E Ocotillo Rd                                     Queen Creek, AZ 85142                                                            First Class Mail
Chartered Organization         Lds Ranchero Ward ‐ Hesperia Stake                     California Inland Empire Council 045   10862 Maple Ave                                         Hesperia, CA 92345‐2284                                                          First Class Mail
Chartered Organization         Lds Ranches Parkway First Ward (Spanish)               Utah National Parks 591                7746 N Sparrowhawk Way                                  Eagle Mountain, UT 84005‐5506                                                    First Class Mail
Chartered Organization         Lds Ranches Parkway Second (Spanish)                   Utah National Parks 591                7250 Porters Crossing Pkwy                              Eagle Mountain, UT 84005                                                         First Class Mail
Chartered Organization         Lds Ranchester Ward, Gillette Stake                    Greater Wyoming Council 638            P.O. Box 994                                            Ranchester, WY 82839‐0994                                                        First Class Mail
Chartered Organization         Lds Rancho CA Ward ‐ Temecula Stake                    California Inland Empire Council 045   32374 Pauba Rd                                          Temecula, CA 92592                                                               First Class Mail
Chartered Organization         Lds Rancho Park Ward ‐ Ontario Stake                   California Inland Empire Council 045   522 W Francis St                                        Ontario, CA 91762‐6428                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                  Page 230 of 442
                                                                               Case 20-10343-LSS                                  Doc 8171                               Filed 01/06/22                           Page 246 of 457
                                                                                                                                                            Exhibit B
                                                                                                                                                             Service List
                                                                                                                                                      Served as set forth below

        Description                                                     Name                                                                              Address                                                                   Email              Method of Service
Chartered Organization         Lds Rancho Reata Ward ‐ Kennewick Stake                Blue Mountain Council 604              10376 Ridgeline Dr                                 Kennewick, WA 99338‐2334                                    First Class Mail
Chartered Organization         Lds Rancho Sereno Ward ‐ Yuma Az Stk                   Grand Canyon Council 010               4300 W 16Th St                                     Yuma, AZ 85364‐4086                                         First Class Mail
Chartered Organization         Lds Rancho Ward ‐ S B Stake                            California Inland Empire Council 045   1244 Pacific Ave                                   San Bernardino, CA 92404                                    First Class Mail
Chartered Organization         Lds Rancho Ward Las Vegas Stake                        Las Vegas Area Council 328             3400 W Charleston Blvd                             Las Vegas, NV 89102‐1833                                    First Class Mail
Chartered Organization         Lds Ranchos Ward ‐ Apple Valley Stake                  California Inland Empire Council 045   12242 Navajo Rd                                    Apple Valley, CA 92308‐7249                                 First Class Mail
Chartered Organization         Lds Randall Park Ward/Yakima Stake                     Grand Columbia Council 614             1109 S 34Th Ave                                    Yakima, WA 98902‐4701                                       First Class Mail
Chartered Organization         Lds Randall Ward ‐ Fontana Stake                       California Inland Empire Council 045   10654 Juniper Ave                                  Fontana, CA 92337‐7515                                      First Class Mail
Chartered Organization         Lds Randlett Branch                                    Utah National Parks 591                Hc 69 Box 173                                      Randlett, UT 84063                                          First Class Mail
Chartered Organization         Lds Randolph Ward ‐ Cibolo Valley Stake                Alamo Area Council 583                 13201 Forum Rd                                     Universal City, TX 78148‐2812                               First Class Mail
Chartered Organization         Lds Rangely 1St Ward/Craig Stake                       Denver Area Council 061                220 River Rd                                       Rangely, CO 81648‐2328                                      First Class Mail
Chartered Organization         Lds Rangely 2Nd Ward/Craig Stake                       Denver Area Council 061                125 Eagle Crest St                                 Rangely, CO 81648‐2116                                      First Class Mail
Chartered Organization         Lds Rapid City Stk Belle Fouche Ward                   Black Hills Area Council 695 695       1106 12Th Ave                                      Belle Fourche, SD 57717‐1913                                First Class Mail
Chartered Organization         Lds Rapid City Ward                                    Black Hills Area Council 695 695       2822 Canyon Lake Dr                                Rapid City, SD 57702‐8112                                   First Class Mail
Chartered Organization         Lds Rapid Valley Ward                                  Black Hills Area Council 695 695       2250 Moon Meadows Dr                               Rapid City, SD 57702                                        First Class Mail
Chartered Organization         Lds Raton Branch Pueblo Co Stake                       Great Swest Council 412                2126 La Mesa Dr                                    Raton, NM 87740                                             First Class Mail
Chartered Organization         Lds Rattlesnake Mtn Ward                               W Richland Stake                       230 Krough Rd                                      Prosser, WA 99350‐9796                                      First Class Mail
Chartered Organization         Lds Ray 1St Ward ‐ Chandler Az Stk                     Grand Canyon Council 010               1155 W Ray Rd                                      Chandler, AZ 85224                                          First Class Mail
Chartered Organization         Lds Ray 2Nd Ward ‐ Chandler Az Stk                     Grand Canyon Council 010               1155 W Ray Rd                                      Chandler, AZ 85224                                          First Class Mail
Chartered Organization         Lds Ray 3Rd Ward ‐ Chandler Az Stk                     Grand Canyon Council 010               1115 W Ray Rd                                      Chandler, AZ 85224                                          First Class Mail
Chartered Organization         Lds Ray Ward ‐ Gilbert Az Greenfield Stk               Grand Canyon Council 010               1520 S Catalina                                    Gilbert, AZ 85234                                           First Class Mail
Chartered Organization         Lds Raymond Ward ‐ Santa Ana So Stake                  Orange County Council 039              801 N Raymond Ave                                  Fullerton, CA 92831‐3315                                    First Class Mail
Chartered Organization         Lds Raytown Ward Independence Stake                    Heart Of America Council 307           5609 Norfleet Rd                                   Kansas City, MO 64133‐3671                                  First Class Mail
Chartered Organization         Lds Reading Ward/Cntrvll Ut North Stk                  Great Salt Lake Council 590            1461 N Main St                                     Centerville, UT 84014                                       First Class Mail
Chartered Organization         Lds Red Bluff Ward Anderson Stake                      Golden Empire Council 047              545 Berrendos Ave                                  Red Bluff, CA 96080‐2202                                    First Class Mail
Chartered Organization         Lds Red Bridge Ward Olathe Stake                       Heart Of America Council 307           9845 Pawnee St                                     Leawood, KS 66206‐2218                                      First Class Mail
Chartered Organization         Lds Red Cliffs Eighth Ward                             Utah National Parks 591                499 E Majestic Dr                                  Ivins, UT 84738‐5062                                        First Class Mail
Chartered Organization         Lds Red Cliffs Fifth Ward                              Utah National Parks 591                1285 N Bluff St                                    St George, UT 84770‐2647                                    First Class Mail
Chartered Organization         Lds Red Cliffs First Ward                              Utah National Parks 591                752 E Mesa Vista Dr                                Ivins, UT 84738‐6017                                        First Class Mail
Chartered Organization         Lds Red Cliffs Fourth Ward                             Utah National Parks 591                1155 N 1400 W                                      St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Red Cliffs Fourth Ward                             Utah National Parks 591                1282 N 1280 W                                      St George, UT 84770‐4953                                    First Class Mail
Chartered Organization         Lds Red Cliffs Ninth Ward                              Utah National Parks 591                1731 W Gunsight Dr                                 St George, UT 84770‐6247                                    First Class Mail
Chartered Organization         Lds Red Cliffs Second Ward                             Utah National Parks 591                625 E Center St                                    Ivins, UT 84738                                             First Class Mail
Chartered Organization         Lds Red Cliffs Ward Gallup Stake                       Great Swest Council 412                P.O. Box 1059                                      Thoreau, NM 87323‐1059                                      First Class Mail
Chartered Organization         Lds Red Hawk Ward ‐ Sparks East Stake                  Nevada Area Council 329                3745 Early Dawn Dr                                 Sparks, NV 89436‐7359                                       First Class Mail
Chartered Organization         Lds Red Hill Ward ‐ Orange Stake                       Orange County Council 039              1800 San Juan St                                   Tustin, CA 92780‐5206                                       First Class Mail
Chartered Organization         Lds Red Leaf Ward, Westminster Stake                   Denver Area Council 061                13370 Lowell Blvd                                  Broomfield, CO 80020‐5540                                   First Class Mail
Chartered Organization         Lds Red Lodge, Billings Stake                          Montana Council 315                    P.O. Box 293                                       Red Lodge, MT 59068‐0293                                    First Class Mail
Chartered Organization         Lds Red Mesa Ward Durango Stake                        Great Swest Council 412                6848 Hwy 140                                       Hesperus, CO 81326                                          First Class Mail
Chartered Organization         Lds Red Mountain Ward ‐ Mesa Az                        Red Mountain Stake                     6655 E Preston St                                  Mesa, AZ 85215                                              First Class Mail
Chartered Organization         Lds Red Pine Ward                                      Utah National Parks 591                989 S 2550 E                                       Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Redd Ward El Paso Mt Franklin Stk                  Yucca Council 573                      7315 Bishop Flores Dr                              El Paso, TX 79912                                           First Class Mail
Chartered Organization         Lds Redding 1St Ward Redding Stake                     Golden Empire Council 047              3950 Sunflower Dr                                  Redding, CA 96001‐6200                                      First Class Mail
Chartered Organization         Lds Redding 2Nd Ward Redding Stake                     Golden Empire Council 047              3410 Churn Creek Rd                                Redding, CA 96002‐2700                                      First Class Mail
Chartered Organization         Lds Redding 4Th Ward Redding Stake                     Golden Empire Council 047              3410 Churn Creek Rd                                Redding, CA 96002‐2700                                      First Class Mail
Chartered Organization         Lds Redding 5Th Ward Redding Stake                     Golden Empire Council 047              3950 Sunflower Dr                                  Redding, CA 96001‐6200                                      First Class Mail
Chartered Organization         Lds Redfield Ward ‐ Gilbert Az                         Superstition Springs Stake             4629 E Guadalupe Rd                                Gilbert, AZ 85234                                           First Class Mail
Chartered Organization         Lds Redhawk Ward ‐ Temecula Stake                      California Inland Empire Council 045   44650 La Paz Rd                                    Temecula, CA 92592‐2543                                     First Class Mail
Chartered Organization         Lds Redhill Ward ‐ Rancho Cucamonga Stake              California Inland Empire Council 045   9075 Baseline Rd                                   Rancho Cucamonga, CA 91730                                  First Class Mail
Chartered Organization         Lds Redlands Ward/Gj West Stake                        Denver Area Council 061                2235 Kingston Rd                                   Grand Junction, CO 81507‐1208                               First Class Mail
Chartered Organization         Lds Redmond First Ward                                 Utah National Parks 591                125 N 300 W                                        Redmond, UT 84652                                           First Class Mail
Chartered Organization         Lds Redmond Second Ward                                Utah National Parks 591                63 S 300 W                                         Redmond, UT 84652‐5584                                      First Class Mail
Chartered Organization         Lds Redondo 1St Ward 964                               Greater Los Angeles Area 033           22605 Kent Ave                                     Torrance, CA 90505‐2343                                     First Class Mail
Chartered Organization         Lds Redondo 2Nd Ward                                   Torrance N Stake 264                   715 Knob Hill Ave                                  Redondo Beach, CA 90277‐4346                                First Class Mail
Chartered Organization         Lds Redondo 3Rd Ward                                   Torrance N Stake 880                   501 N Rowell Ave                                   Manhattan Beach, CA 90266‐6047                              First Class Mail
Chartered Organization         Lds Redwood City 1St Ward                              Menlo Park Stake                       1475 Edgewood Rd                                   Redwood City, CA 94062‐3214                                 First Class Mail
Chartered Organization         Lds Redwood City 2Nd Ward                              Menlo Park Stake                       1105 Valparaiso Ave                                Menlo Park, CA 94025‐4412                                   First Class Mail
Chartered Organization         Lds Redwood Ward ‐ Grants Pass Stake                   Crater Lake Council 491                1969 Williams Hwy                                  Grants Pass, OR 97527‐5693                                  First Class Mail
Chartered Organization         Lds Redwood Ward/Rvrtn Ut Summerhill Stk               Great Salt Lake Council 590            12070 Laurel Chase Dr                              Riverton, UT 84065                                          First Class Mail
Chartered Organization         Lds Reedville Ward Bvtn West Stake                     Cascade Pacific Council 492            5175 Sw 209Th Ave                                  Aloha, OR 97007                                             First Class Mail
Chartered Organization         Lds Regal Country Ward                                 Kanesville Stake                       3939 W 4000 S                                      West Haven, UT 84401                                        First Class Mail
Chartered Organization         Lds Remington Heights Ward ‐ Qc Az                     North Stake                            19857 E Raven Dr                                   Queen Creek, AZ 85142‐4917                                  First Class Mail
Chartered Organization         Lds Republic Ward ‐ Spgfield S Stake                   Ozark Trails Council 306               1405 S Appomattox Ave                              Republic, MO 65738‐7801                                     First Class Mail
Chartered Organization         Lds Rescue Ward El Dorado Stake                        Golden Empire Council 047              3431 Hacienda Dr                                   Cameron Park, CA 95682                                      First Class Mail
Chartered Organization         Lds Resler Ward                                        El Pasotx Mt Franklin Stake            7315 Bishop Flores Dr                              El Paso, TX 79912                                           First Class Mail
Chartered Organization         Lds Reston Ward Oakton Stake                           National Capital Area Council 082      1515 Poplar Grove Dr                               Reston, VA 20194‐1734                                       First Class Mail
Chartered Organization         Lds Reunion Ward, Brighton Stake                       Denver Area Council 061                12005 E 119Th Ave                                  Commerce City, CO 80640‐7437                                First Class Mail
Chartered Organization         Lds Revere Ward Cambridge Stake                        The Spirit Of Adventure 227            455 Washington Ave                                 Revere, MA 02151                                            First Class Mail
Chartered Organization         Lds Rexburg Center Stake                               Rexburg 14Th Ward                      590 Summerwood Dr                                  Rexburg, ID 83440‐1460                                      First Class Mail
Chartered Organization         Lds Rexburg Center Stake                               Evergreen Ward                         700 Park St                                        Rexburg, ID 83440‐1886                                      First Class Mail
Chartered Organization         Lds Rexburg Center Stake                               Willowbrook Ward                       210 S 12Th W                                       Rexburg, ID 83440‐5041                                      First Class Mail
Chartered Organization         Lds Rexburg Center Stake                               Summerfield Ward                       904 Elizabeth St                                   Rexburg, ID 83440‐5069                                      First Class Mail
Chartered Organization         Lds Rexburg Center Stake ‐ Rexburg 11Th                Grand Teton Council 107                General Delivery                                   Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg Center Stake ‐ Rexburg 12Th                Grand Teton Council 107                590 Summerwood Dr                                  Rexburg, ID 83440‐1460                                      First Class Mail
Chartered Organization         Lds Rexburg Center Stake ‐ Rexburg 13Th                Grand Teton Council 107                210 S 12Th W                                       Rexburg, ID 83440‐5041                                      First Class Mail
Chartered Organization         Lds Rexburg Center Stake ‐ Rexburg 5Th                 Grand Teton Council 107                590 Summerwood Dr                                  Rexburg, ID 83440‐1460                                      First Class Mail
Chartered Organization         Lds Rexburg Center Stake ‐ Westmain                    Grand Teton Council 107                700 Park St                                        Rexburg, ID 83440‐1886                                      First Class Mail
Chartered Organization         Lds Rexburg East ‐ Harvest Hills Ward                  Grand Teton Council 107                612 S Hidden Valley                                Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg East ‐ Valley View Ward                    Grand Teton Council 107                1333 Fairview Ave                                  Rexburg, ID 83440‐5078                                      First Class Mail
Chartered Organization         Lds Rexburg East Stake ‐ Cresthaven Ward               Grand Teton Council 107                935 Westwood Dr                                    Rexburg, ID 83440‐3826                                      First Class Mail
Chartered Organization         Lds Rexburg East Stake ‐ Rexburg 10Th                  Grand Teton Council 107                255 Nez Perce Ave                                  Rexburg, ID 83440‐2268                                      First Class Mail
Chartered Organization         Lds Rexburg East Stake ‐ Rexburg 15Th                  Grand Teton Council 107                166 S 1St E                                        Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg East Stake ‐ Rexburg 16Th                  Grand Teton Council 107                612 S Hidden Valley Rd                             Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg East Stake ‐ Rexburg 4Th                   Grand Teton Council 107                166 S 1St E                                        Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg East Stake ‐ Rexburg 6Th                   Grand Teton Council 107                316 E 5Th S                                        Rexburg, ID 83440‐2574                                      First Class Mail
Chartered Organization         Lds Rexburg East Stake ‐ Rolling Hills                 Grand Teton Council 107                387 S 4Th E                                        Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg N Stake ‐20Th Ward ‐Spanish                Grand Teton Council 107                475 E 7Th N                                        Rexburg, ID 83440‐5333                                      First Class Mail
Chartered Organization         Lds Rexburg North Stake                                Mill Hollow 1St                        315 Gary Dr                                        Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg North Stake                                Hibbard 5Th Ward                       2029 N 3000 W                                      Rexburg, ID 83440‐3119                                      First Class Mail
Chartered Organization         Lds Rexburg North Stake                                Stonebridge Ward                       475 E 7Th N                                        Rexburg, ID 83440‐5333                                      First Class Mail
Chartered Organization         Lds Rexburg North Stake ‐ Millhollow 2Nd               Grand Teton Council 107                475 E 7Th N                                        Rexburg, ID 83440‐5333                                      First Class Mail
Chartered Organization         Lds Rexburg North Stake ‐ Rexburg 2Nd                  Grand Teton Council 107                314 E 2Nd N                                        Rexburg, ID 83440‐1605                                      First Class Mail
Chartered Organization         Lds Rexburg North Stake ‐ Rexburg 8Th                  Grand Teton Council 107                314 E 2Nd N                                        Rexburg, ID 83440‐1605                                      First Class Mail
Chartered Organization         Lds Rexburg North Stk ‐ Rexburg 18Th                   Grand Teton Council 107                653 Dell Dr                                        Rexburg, ID 83440‐3585                                      First Class Mail
Chartered Organization         Lds Rexburg North Stk ‐ Rexburg 1St                    Grand Teton Council 107                128 N 3Rd E                                        Rexburg, ID 83440‐1628                                      First Class Mail
Chartered Organization         Lds Rexburg South Stake                                Cedar Point Ward                       2041 W 5200 S                                      Rexburg, ID 83440‐4393                                      First Class Mail
Chartered Organization         Lds Rexburg South Stake ‐ Archer Ward                  Grand Teton Council 107                201 W 8000 S                                       Rexburg, ID 83440‐4524                                      First Class Mail
Chartered Organization         Lds Rexburg South Stake ‐ Lyman 1St Ward               Grand Teton Council 107                1952 W 6000 S                                      Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg South Stake ‐ Lyman 2Nd Ward               Grand Teton Council 107                1952 W 6000 S                                      Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg South Stake ‐ Lyman 3Rd Ward               Grand Teton Council 107                2041 W 5200 S                                      Rexburg, ID 83440‐4393                                      First Class Mail
Chartered Organization         Lds Rexburg South Stake ‐ Sunnydell Ward               Grand Teton Council 107                Rt 3                                               Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg Stake ‐ Burton 1St Ward                    Grand Teton Council 107                3958 W 2000 S                                      Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg Stake ‐ Burton 2Nd Ward                    Grand Teton Council 107                3974 Wagon Trl                                     Rexburg, ID 83440‐4378                                      First Class Mail
Chartered Organization         Lds Rexburg Stake ‐ Burton 3Rd Ward                    Grand Teton Council 107                4268 S 5500 W                                      Rexburg, ID 83440‐4226                                      First Class Mail
Chartered Organization         Lds Rexburg Stake ‐ Burton 4Th Ward                    Grand Teton Council 107                2332 W 2000 S.                                     Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg Stake ‐ Henderson 1St Ward                 Grand Teton Council 107                345 S 3Rd W                                        Rexburg, ID 83440‐2120                                      First Class Mail
Chartered Organization         Lds Rexburg Stake ‐ Henderson 2Nd Ward                 Grand Teton Council 107                845 W 7Th S                                        Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg Stake ‐ Oakbrook Ward                      Grand Teton Council 107                358 Oaktrail Dr                                    Rexburg, ID 83440‐2575                                      First Class Mail
Chartered Organization         Lds Rexburg Stake ‐ Rexburg 17Th Ward                  Grand Teton Council 107                420 W Poleline Rd                                  Rexburg, ID 83440‐5076                                      First Class Mail
Chartered Organization         Lds Rexburg Stake ‐ Rexburg 19Th Ward                  Grand Teton Council 107, 19th Ward     Rexburg, ID 83440                                                                                              First Class Mail
Chartered Organization         Lds Rexburg Stake ‐ Rexburg 3Rd Ward                   Grand Teton Council 107                345 S 3Rd W                                        Rexburg, ID 83440‐2120                                      First Class Mail
Chartered Organization         Lds Rexburg Stake ‐ Rexburg 7Th Ward                   Grand Teton Council 107                2332 W 2000 S                                      Rexburg, ID 83440                                           First Class Mail
Chartered Organization         Lds Rexburg Stake ‐ Rexburg 9Th Ward                   Grand Teton Council 107                345 S 3Rd W                                        Rexburg, ID 83440‐2120                                      First Class Mail
Chartered Organization         Lds Reynoldsburg Ward                                  Simon Kenton Council 441               2135 Baldwin Rd                                    Reynoldsburg, OH 43068‐3630                                 First Class Mail
Chartered Organization         Lds Rhodes Valley Ward/Kamas Ut Stk                    Great Salt Lake Council 590            3038 N State Rd 32                                 Kamas, UT 84036                                             First Class Mail
Chartered Organization         Lds Rialto 1St Ward ‐ Rialto Stake                     California Inland Empire Council 045   2151 W Rialto Ave                                  San Bernardino, CA 92410‐1539                               First Class Mail
Chartered Organization         Lds Rialto 2Nd Ward ‐ Rialto Stake                     California Inland Empire Council 045   1420 W Randall Ave                                 Bloomington, CA 92316‐1423                                  First Class Mail
Chartered Organization         Lds Richards Ward/S L Granite Stake                    Great Salt Lake Council 590            860 E Downington Ave                               Salt Lake City, UT 84105                                    First Class Mail
Chartered Organization         Lds Richardson 2Nd Ward                                Richardson Stake                       2014 Fairmeadow Dr                                 Richardson, TX 75080‐2314                                   First Class Mail
Chartered Organization         Lds Richardson 2Nd Ward                                Richardson Stake                       900 S Bowser Rd                                    Richardson, TX 75081‐5217                                   First Class Mail
Chartered Organization         Lds Richfield Eighth Ward                              Utah National Parks 591                378 E 850 N                                        Richfield, UT 84701‐1951                                    First Class Mail
Chartered Organization         Lds Richfield Eleventh Ward                            Utah National Parks 591                985 S 400 W                                        Richfield, UT 84701                                         First Class Mail
Chartered Organization         Lds Richfield Fifteenth Ward                           Utah National Parks 591                688 S 300 W                                        Richfield, UT 84701‐2714                                    First Class Mail
Chartered Organization         Lds Richfield Fifth Ward                               Utah National Parks 591                800 N 500 W                                        Richfield, UT 84701                                         First Class Mail
Chartered Organization         Lds Richfield First Ward                               Utah National Parks 591                985 S 400 W                                        Richfield, UT 84701                                         First Class Mail
Chartered Organization         Lds Richfield Fourth Ward                              Utah National Parks 591                159 N 400 W                                        Richfield, UT 84701                                         First Class Mail
Chartered Organization         Lds Richfield Ninth Ward                               Utah National Parks 591                159 N 400 W                                        Richfield, UT 84701                                         First Class Mail
Chartered Organization         Lds Richfield Second Ward                              Utah National Parks 591                435 Pahvant Dr                                     Richfield, UT 84701‐1757                                    First Class Mail
Chartered Organization         Lds Richfield Seventh Ward                             Utah National Parks 591                159 N 400 W                                        Richfield, UT 84701                                         First Class Mail
Chartered Organization         Lds Richfield Sixteenth Ward                           Utah National Parks 591                698 E 1340 N                                       Richfield, UT 84701‐1980                                    First Class Mail
Chartered Organization         Lds Richfield Sixth Ward                               Utah National Parks 591                368 E 500 N                                        Richfield, UT 84701‐2230                                    First Class Mail
Chartered Organization         Lds Richfield Tenth Ward                               Utah National Parks 591                735 W 570 S                                        Richfield, UT 84701‐2902                                    First Class Mail
Chartered Organization         Lds Richfield Third Ward                               Utah National Parks 591                985 S 400 W                                        Richfield, UT 84701                                         First Class Mail
Chartered Organization         Lds Richmond 1St Ward ‐ Concord Stake                  Mt Diablo‐Silverado Council 023        330 Carlston St                                    Richmond, CA 94805‐2418                                     First Class Mail
Chartered Organization         Lds Richmond 2Nd Ward ‐ Concord Stake                  Mt Diablo‐Silverado Council 023        4351 Hilltop Dr                                    El Sobrante, CA 94803                                       First Class Mail
Chartered Organization         Lds Richmond Ward ‐ Lexington Stake                    Blue Grass Council 204                 201 S Keeneland Dr                                 Richmond, KY 40475                                          First Class Mail
Chartered Organization         Lds Ricks Creek Ward                                   Centerville Ut N Stake                 1451 N Main St                                     Centerville, UT 84014                                       First Class Mail
Chartered Organization         Lds Ridge Top Ward                                     North Salt Lake Ut Stake               820 Eaglepointe Dr                                 North Salt Lake, UT 84054                                   First Class Mail
Chartered Organization         Lds Ridge View Ward                                    Utah National Parks 591                750 N 1000 W                                       St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Ridge Ward ‐ Mesa Az Lehi Stk                      Grand Canyon Council 010               2220 N Harris Dr                                   Mesa, AZ 85203                                              First Class Mail
Chartered Organization         Lds Ridgecreek Ward                                    Murray Ut S Stake                      5735 S Fashion Blvd                                Murray, UT 84107                                            First Class Mail
Chartered Organization         Lds Ridgecrest 1St Ward, Ridgecrest Stk                Southern Sierra Council 030            1031 N Norma St                                    Ridgecrest, CA 93555‐3109                                   First Class Mail
Chartered Organization         Lds Ridgecrest 2Nd Ward, Ridgecrest Stk                Southern Sierra Council 030            501 N Norma St                                     Ridgecrest, CA 93555‐3501                                   First Class Mail
Chartered Organization         Lds Ridgecrest 3Rd Ward, Ridgecrest Stk                Southern Sierra Council 030            501 N Norma St                                     Ridgecrest, CA 93555‐3501                                   First Class Mail
Chartered Organization         Lds Ridgecrest 4Th Ward                                Ridgecrest Stake                       1031 N Norma St                                    Ridgecrest, CA 93555‐3109                                   First Class Mail
Chartered Organization         Lds Ridgecrest Ward/Bennion Ut West Stk                Great Salt Lake Council 590            3555 W 5620 S                                      Taylorsville, UT 84129                                      First Class Mail
Chartered Organization         Lds Ridgedale Ward/S L Grant Stk                       Great Salt Lake Council 590            3400 S 1100 E                                      Salt Lake City, UT 84106                                    First Class Mail
Chartered Organization         Lds Ridgefield Ward Ridgefield Wa Stake                Cascade Pacific Council 492            21718 Ne 29Th Ave                                  Ridgefield, WA 98642‐8681                                   First Class Mail
Chartered Organization         Lds Ridgeland Acres Ward                               S L Granger N Stake                    3175 S 3450 W                                      West Valley City, UT 84119                                  First Class Mail
Chartered Organization         Lds Ridgeland Ward/S L Granger South Stk               Great Salt Lake Council 590            4251 S 4800 W                                      Salt Lake City, UT 84120                                    First Class Mail
Chartered Organization         Lds Ridgeline Ward ‐ Kennewick Stake                   Blue Mountain Council 604              8120 W 4Th Ave                                     Kennewick, WA 99336                                         First Class Mail
Chartered Organization         Lds Ridgepoint Ward ‐ Derby Stake                      Quivira Council, Bsa 198               2300 N Buckner St                                  Derby, KS 67037‐3844                                        First Class Mail
Chartered Organization         Lds Ridges Ward Lakes Stake                            Las Vegas Area Council 328             9580 Peace Way                                     Las Vegas, NV 89147‐8427                                    First Class Mail
Chartered Organization         Lds Ridgeview Ward ‐ East Stake                        Pikes Peak Council 060                 4839 Harvest Ct                                    Colorado Springs, CO 80917‐1034                             First Class Mail
Chartered Organization         Lds Ridgeview Ward ‐ Kennewick Stake                   Blue Mountain Council 604              8120 W 4Th Ave                                     Kennewick, WA 99336                                         First Class Mail
Chartered Organization         Lds Rifle 1St Ward/Rifle Stake                         Denver Area Council 061                741 E 19Th                                         Rifle, CO 81650‐7805                                        First Class Mail
Chartered Organization         Lds Rifle 2Nd Ward/Rifle Stake                         Denver Area Council 061                5153 County Rd 214                                 New Castle, CO 81647‐9784                                   First Class Mail
Chartered Organization         Lds Rigby East Stake ‐ Labelle 1St Ward                Grand Teton Council 107                4223 E 528 N                                       Rigby, ID 83442‐5223                                        First Class Mail
Chartered Organization         Lds Rigby East Stake ‐ Labelle 2Nd Ward                Grand Teton Council 107                4223 E 528 N                                       Rigby, ID 83442‐5223                                        First Class Mail
Chartered Organization         Lds Rigby East Stake ‐ Labelle 3Rd Ward                Grand Teton Council 107                364 N 4100 E                                       Rigby, ID 83442                                             First Class Mail
Chartered Organization         Lds Rigby East Stake ‐ Labelle 4Th Ward                Grand Teton Council 107                4223 E 528 N Spc B                                 Rigby, ID 83442‐5223                                        First Class Mail
Chartered Organization         Lds Rigby East Stake ‐ Rigby 10Th Ward                 Grand Teton Council 107                3955 E 170 N                                       Rigby, ID 83442‐5771                                        First Class Mail
Chartered Organization         Lds Rigby East Stake ‐ Rigby 16Th Ward                 Grand Teton Council 107                4021 E 300 N                                       Rigby, ID 83442                                             First Class Mail
Chartered Organization         Lds Rigby East Stake ‐ Rigby 18Th Ward                 Grand Teton Council 107                267 N 4100 E                                       Rigby, ID 83442‐5761                                        First Class Mail
Chartered Organization         Lds Rigby East Stake ‐ Rigby 19Th Ward                 Grand Teton Council 107                4021 E 300 N                                       Rigby, ID 83442                                             First Class Mail
Chartered Organization         Lds Rigby East Stake ‐ Rigby 2Nd Ward                  Grand Teton Council 107                394 N 4050 E                                       Rigby, ID 83442‐5573                                        First Class Mail
Chartered Organization         Lds Rigby East Stake ‐ Rigby 3Rd Ward                  Grand Teton Council 107                364 N 4100 E                                       Rigby, ID 83442                                             First Class Mail
Chartered Organization         Lds Rigby East Stake ‐ Rigby 8Th Ward                  Grand Teton Council 107                364 N 4100 E                                       Rigby, ID 83442                                             First Class Mail
Chartered Organization         Lds Rigby South Stake                                  Garfield 3Rd Ward                      3900 E County Line Rd                              Rigby, ID 83442                                             First Class Mail
Chartered Organization         Lds Rigby South Stake                                  Garfield 4Th Ward                      5 N 3900 E                                         Rigby, ID 83442                                             First Class Mail
Chartered Organization         Lds Rigby South Stake                                  Garfield 5Th Ward                      5 N 3900 E                                         Rigby, ID 83442                                             First Class Mail
Chartered Organization         Lds Rigby South Stake                                  Garfield 1St Ward                      71 N 3700 E                                        Rigby, ID 83442‐5643                                        First Class Mail
Chartered Organization         Lds Rigby South Stake                                  Garfield 6Th Ward                      71 N 3700 E                                        Rigby, ID 83442‐5643                                        First Class Mail
Chartered Organization         Lds Rigby South Stake                                  Garfield 2Nd Ward                      106 N 3800 E                                       Rigby, ID 83442‐5648                                        First Class Mail
Chartered Organization         Lds Rigby South Stake ‐ Rigby 11Th Ward                Grand Teton Council 107                106 N 3800 E                                       Rigby, ID 83442‐5648                                        First Class Mail
Chartered Organization         Lds Rigby South Stake ‐ Rigby 1St Ward                 Grand Teton Council 107                3824 E 222 N                                       Rigby, ID 83442‐5462                                        First Class Mail
Chartered Organization         Lds Rigby Stake ‐ Lorenzo Ward                         Grand Teton Council 107                401 W 1St S                                        Rigby, ID 83442‐1321                                        First Class Mail
Chartered Organization         Lds Rigby Stake ‐ Rigby 12Th Ward                      Grand Teton Council 107                476 N 3950 E                                       Rigby, ID 83442‐5145                                        First Class Mail
Chartered Organization         Lds Rigby Stake ‐ Rigby 14Th Ward                      Grand Teton Council 107                602 Sundance                                       Rigby, ID 83442‐4947                                        First Class Mail
Chartered Organization         Lds Rigby Stake ‐ Rigby 15Th Ward                      Grand Teton Council 107                317 N 3823 E                                       Rigby, ID 83442‐5723                                        First Class Mail
Chartered Organization         Lds Rigby Stake ‐ Rigby 4Th Ward                       Grand Teton Council 107                401 W 1St S                                        Rigby, ID 83442‐1321                                        First Class Mail
Chartered Organization         Lds Rigby Stake ‐ Rigby 5Th Ward                       Grand Teton Council 107                195 W 4Th N                                        Rigby, ID 83442‐1212                                        First Class Mail
Chartered Organization         Lds Rigby Stake ‐ Rigby 7Th Ward                       Grand Teton Council 107                436 N 3800 E                                       Rigby, ID 83442‐5136                                        First Class Mail
Chartered Organization         Lds Rigby Stake ‐ Rigby 9Th Ward                       Grand Teton Council 107                258 W 1St N                                        Rigby, ID 83442‐1316                                        First Class Mail
Chartered Organization         Lds Riggs Ward ‐ Qc Az Stk                             Grand Canyon Council 010               21915 E Cloud Rd                                   Queen Creek, AZ 85142                                       First Class Mail
Chartered Organization         Lds Rincon Valley Ward                                 Redwood Empire Council 041             5899 Mountain Hawk Dr                              Santa Rosa, CA 95409‐7321                                   First Class Mail
Chartered Organization         Lds Rio Grand Ward Las Cruces Stk                      Yucca Council 573                      1015 S Telshor Blvd                                Las Cruces, NM 88011                                        First Class Mail
Chartered Organization         Lds Rio Grande Ward                                    Yucca Council 573                      111 Mimosa Ln                                      Las Cruces, NM 88001‐7411                                   First Class Mail
Chartered Organization         Lds Rio Grande Ward Los Lunas Stake                    Great Swest Council 412                8130 Sage Rd Sw                                    Albuquerque, NM 87121‐7873                                  First Class Mail
Chartered Organization         Lds Rio Grande Ward Mt Franklin Stk                    Yucca Council 573                      400 Rosemont Dr                                    El Paso, TX 79922‐1756                                      First Class Mail
Chartered Organization         Lds Rio Grande Ward, Alamosa Stake                     Rocky Mountain Council 063             99 W Prospect Ave                                  Monte Vista, CO 81144                                       First Class Mail
Chartered Organization         Lds Rio Trinidad Ward                                  Dallas East Stake                      2801 Skyline Dr                                    Mesquite, TX 75149‐1877                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                             Page 231 of 442
                                                                                  Case 20-10343-LSS                                 Doc 8171                                     Filed 01/06/22                               Page 247 of 457
                                                                                                                                                                    Exhibit B
                                                                                                                                                                     Service List
                                                                                                                                                              Served as set forth below

        Description                                                        Name                                                                                   Address                                                                       Email              Method of Service
Chartered Organization         Lds Rio Vista Branch‐Fairfield Stake                      Mt Diablo‐Silverado Council 023        P.O. Box 568                                            Rio Vista, CA 94571‐0568                                        First Class Mail
Chartered Organization         Lds Rio Vista Ward Fort Myers Stake                       Southwest Florida Council 088          3105 Broadway                                           Fort Myers, FL 33901‐7260                                       First Class Mail
Chartered Organization         Lds Ripon Ward Manteca Stake                              Greater Yosemite Council 059           6060 Northland Rd                                       Manteca, CA 95336‐8434                                          First Class Mail
Chartered Organization         Lds Ririe Stake ‐ Clark Ward                              Grand Teton Council 107                198 N 4300 E                                            Rigby, ID 83442                                                 First Class Mail
Chartered Organization         Lds Ririe Stake ‐ Palisades Ward                          Grand Teton Council 107                348 Hwy 31                                              Swan Valley, ID 83449                                           First Class Mail
Chartered Organization         Lds Ririe Stake ‐ Perry Ward                              Grand Teton Council 107                285 S 2Nd St W                                          Ririe, ID 83443                                                 First Class Mail
Chartered Organization         Lds Ririe Stake ‐ Ririe 1St Ward                          Grand Teton Council 107                158 N 4663 E                                            Rigby, ID 83442‐5907                                            First Class Mail
Chartered Organization         Lds Ririe Stake ‐ Ririe 2Nd Ward                          Grand Teton Council 107                285 S 2Nd St W                                          Ririe, ID 83443                                                 First Class Mail
Chartered Organization         Lds Ririe Stake ‐ Ririe 3Rd Ward                          Grand Teton Council 107                4615 E 100 N                                            Rigby, ID 83442‐5808                                            First Class Mail
Chartered Organization         Lds Ririe Stake ‐ Rudy Ward                               Grand Teton Council 107                199 N 4300 E                                            Rigby, ID 83442‐5981                                            First Class Mail
Chartered Organization         Lds Ririe Stake ‐ Shelton Ward                            Grand Teton Council 107                14061 N 130 E                                           Ririe, ID 83443‐5007                                            First Class Mail
Chartered Organization         Lds Rising Sun Ward ‐ Wilmington De Stake                 Del Mar Va 081                         196 Quail Dr                                            Lincoln University, PA 19352‐1723                               First Class Mail
Chartered Organization         Lds Rittenhouse Ward ‐ Qc Az North Stk                    Grand Canyon Council 010               22035 E Ocotillo Rd                                     Queen Creek, AZ 85142                                           First Class Mail
Chartered Organization         Lds Ritzville Ward ‐ West Spokane Stake                   Inland NW Council 611                  606 W Weber Rd                                          Ritzville, WA 99169                                             First Class Mail
Chartered Organization         Lds Riva Ridge Ward ‐ Boise Amity Stk                     Ore‐Ida Council 106 ‐ Bsa 106          10240 W Amity Rd                                        Boise, ID 83709                                                 First Class Mail
Chartered Organization         Lds River 10Th Ward/S J Ut River Stk                      Great Salt Lake Council 590            1570 W 11400 S                                          South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River 11Th Ward                                       South Jordan Utah River Stake          1570 W 11400 S                                          South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River 1St Ward/S J Ut River Stk                       Great Salt Lake Council 590            1229 W 10775 S                                          South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River 1St Ward/W J Ut River Stk                       Great Salt Lake Council 590            7150 Callie Dr                                          West Jordan, UT 84084                                           First Class Mail
Chartered Organization         Lds River 2Nd Ward/S J Ut River Stk                       Great Salt Lake Council 590            1540 W S Jordan Pkwy                                    South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River 2Nd Ward/W J Ut River Stk                       Great Salt Lake Council 590            1380 W 6785 S                                           West Jordan, UT 84084                                           First Class Mail
Chartered Organization         Lds River 3Rd Ward/S J Ut River Stk                       Great Salt Lake Council 590            1540 W S Jordan Pkwy                                    South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River 3Rd Ward/W J Ut River Stk                       Great Salt Lake Council 590            7642 S Kings Bridge Dr                                  West Jordan, UT 84084‐4155                                      First Class Mail
Chartered Organization         Lds River 4Th Ward/S J Ut River Stk                       Great Salt Lake Council 590            1239 Country Creek Dr                                   South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River 4Th Ward/W J Ut River Stk                       Great Salt Lake Council 590            1380 W 6785 S                                           West Jordan, UT 84084                                           First Class Mail
Chartered Organization         Lds River 5Th Ward/S J Ut River Stk                       Great Salt Lake Council 590            1570 W 11400 S                                          South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River 5Th Ward/W J Ut River Stk                       Great Salt Lake Council 590            1380 W 6785 S                                           West Jordan, UT 84084                                           First Class Mail
Chartered Organization         Lds River 6Th Ward/S J Ut River Stk                       Great Salt Lake Council 590            1570 W 11400 S                                          South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River 6Th Ward/W J Ut River Stk                       Great Salt Lake Council 590            7400 S 1300 W                                           West Jordan, UT 84084                                           First Class Mail
Chartered Organization         Lds River 7Th Ward/S J Ut River Stk                       Great Salt Lake Council 590            1570 W 11400 S                                          South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River 7Th Ward/W J Ut River Stk                       Great Salt Lake Council 590            7400 S 1300 W                                           West Jordan, UT 84084                                           First Class Mail
Chartered Organization         Lds River 8Th Ward/S J Ut River Stk                       Great Salt Lake Council 590            1239 Country Creek Dr                                   South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River 8Th Ward/W J Ut River Stk                       Great Salt Lake Council 590            7400 S 1300 W                                           West Jordan, UT 84084                                           First Class Mail
Chartered Organization         Lds River 9Th Branch (Sp)                                 Wj Ut East Stake                       7600 S 1899 W                                           West Jordan, UT 84084                                           First Class Mail
Chartered Organization         Lds River 9Th Ward/S J Ut River Stk                       Great Salt Lake Council 590            11473 Chapel View Dr                                    South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River Bend Ward ‐ Reno Stake                          Nevada Area Council 329                1095 Golconda Dr                                        Reno, NV 89509‐3610                                             First Class Mail
Chartered Organization         Lds River Heights 1St Ward                                River Heights Stake                    800 S 600 E                                             River Heights, UT 84321‐5619                                    First Class Mail
Chartered Organization         Lds River Heights 2Nd Ward                                River Heights Stake                    757 River Heights Blvd                                  River Heights, UT 84321‐6903                                    First Class Mail
Chartered Organization         Lds River Heights 3Rd Ward                                River Heights Stake                    465 N 300 E                                             River Heights, UT 84321‐4116                                    First Class Mail
Chartered Organization         Lds River Heights 4Th Ward                                River Heights Stake                    800 S 600 E                                             River Heights, UT 84321‐5619                                    First Class Mail
Chartered Organization         Lds River Heights Ward ‐ Jurupa Stake                     California Inland Empire Council 045   5950 Serendipity Rd                                     Riverside, CA 92509‐4775                                        First Class Mail
Chartered Organization         Lds River Heights Ward ‐ Mer N Stk                        Ore‐Ida Council 106 ‐ Bsa 106          3235 S Westbury Pl                                      Eagle, ID 83616‐6776                                            First Class Mail
Chartered Organization         Lds River Mtn Ward Hend Lake Mead Stake                   Las Vegas Area Council 328             401 Palo Verde Dr                                       Henderson, NV 89015                                             First Class Mail
Chartered Organization         Lds River Oaks 1St Ward                                   W J Ut River Oaks Stake                8825 S 1095 W                                           West Jordan, UT 84088‐9060                                      First Class Mail
Chartered Organization         Lds River Oaks 2Nd Ward                                   W J Ut River Oaks Stake                8825 S 1095 W                                           West Jordan, UT 84088‐9060                                      First Class Mail
Chartered Organization         Lds River Oaks 3Rd Ward                                   W J Ut River Oaks Stake                8825 S 1095 W                                           West Jordan, UT 84088‐9060                                      First Class Mail
Chartered Organization         Lds River Oaks 4Th Ward                                   W J Ut River Oaks Stake                8950 S 1300 W                                           West Jordan, UT 84088                                           First Class Mail
Chartered Organization         Lds River Oaks 5Th Ward                                   W J Ut River Oaks Stake                8950 S 1300 W                                           West Jordan, UT 84088                                           First Class Mail
Chartered Organization         Lds River Oaks 6Th Ward                                   W J Ut River Oaks Stake                8950 S 1300 W                                           West Jordan, UT 84088                                           First Class Mail
Chartered Organization         Lds River Park Ward Cordova Stake                         Golden Empire Council 047              1101 51St St                                            Sacramento, CA 95819‐3818                                       First Class Mail
Chartered Organization         Lds River Ridge 10Th Watrd                                Sj Ut River Ridge Stake                1409 W Shields Ln                                       South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River Ridge 11Th Ward                                 Sj Ut River Ridge Stake                10168 S 1000 W                                          South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River Ridge 1St Ward                                  S J Ut River Ridge Stake               10124 S 1300 W                                          South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River Ridge 2Nd Ward                                  S J Ut River Ridge Stake               10194 S 1050 W                                          South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River Ridge 3Rd Ward                                  S J Ut River Ridge Stake               1244 W Chavez Dr                                        South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River Ridge 4Th Ward                                  S J Ut River Ridge Stake               1244 W Chavez Dr                                        South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River Ridge 5Th Ward                                  S J Ut River Ridge Stake               10168 S 1100 W                                          South Jordan, UT 84095                                          First Class Mail
Chartered Organization         Lds River Ridge 6Th Ward                                  S J Ut River Ridge Stake               10200 S Temple Dr                                       South Jordan, UT 84095‐8814                                     First Class Mail
Chartered Organization         Lds River Ridge 7Th Ward                                  Sj Ut River Ridge Stake                525 Foothill Blvd                                       Salt Lake City, UT 84113‐1102                                   First Class Mail
Chartered Organization         Lds River Ridge 9Th Ward                                  Sj Ut River Ridge Stake                1597 W Palmer Park Ln                                   South Jordan, UT 84095‐2431                                     First Class Mail
Chartered Organization         Lds River Ridge Ward                                      Utah National Parks 591                2434 E Riverside Dr                                     St George, UT 84790                                             First Class Mail
Chartered Organization         Lds River Ridge Ward                                      Utah National Parks 591                912 S 1740 E                                            St George, UT 84790                                             First Class Mail
Chartered Organization         Lds River Road Ward                                       Utah National Parks 591                750 N Center St                                         Midway, UT 84049‐6601                                           First Class Mail
Chartered Organization         Lds River Rose Ward/Herriman Stake                        Great Salt Lake Council 590            13375 S 6000 W                                          Herriman, UT 84096                                              First Class Mail
Chartered Organization         Lds River Trail Ward                                      Utah National Parks 591                452 N 560 W                                             Spanish Fork, UT 84660‐1473                                     First Class Mail
Chartered Organization         Lds River Trails Ward ‐ Hurst Stake                       Longhorn Council 662                   4401 E Loop 820 N                                       North Richland Hills, TX 76180‐7375                             First Class Mail
Chartered Organization         Lds River View 10Th Ward                                  Draper Ut River View Stake             12101 S 700 W                                           Draper, UT 84020                                                First Class Mail
Chartered Organization         Lds River View 1St Ward                                   Draper Ut River View Stake             288 W River Chapel Rd                                   Draper, UT 84020                                                First Class Mail
Chartered Organization         Lds River View 3Rd Ward                                   Draper Ut River View Stake             11400 S 700 W                                           Draper, UT 84020                                                First Class Mail
Chartered Organization         Lds River View 4Th Ward                                   Draper Ut River View Stake             12101 S 700 W                                           Draper, UT 84020                                                First Class Mail
Chartered Organization         Lds River View 5Th Ward                                   Draper Ut River View Stake             12101 S 700 W                                           Draper, UT 84020                                                First Class Mail
Chartered Organization         Lds River View 6Th Ward                                   Draper Ut River View Stake             288 W River Chapel Rd                                   Draper, UT 84020                                                First Class Mail
Chartered Organization         Lds River View 7Th Ward                                   Draper Ut River View Stake             11420 S 700 W                                           Draper, UT 84020                                                First Class Mail
Chartered Organization         Lds River View 8Th Ward                                   Draper Ut River View Stake             287 W River Chapel Rd                                   Draper, UT 84020‐7733                                           First Class Mail
Chartered Organization         Lds River View 9Th Ward                                   Draper Ut River View Stake             11420 S 700 W                                           Draper, UT 84020                                                First Class Mail
Chartered Organization         Lds River View Ward                                       Utah National Parks 591                452 N 560 W                                             Spanish Fork, UT 84660‐1473                                     First Class Mail
Chartered Organization         Lds River View Ward/Taylorsville Ut Stk                   Great Salt Lake Council 590            4800 S Woodhaven Dr                                     Salt Lake City, UT 84123                                        First Class Mail
Chartered Organization         Lds River Walk Ward ‐ Star Stk                            Ore‐Ida Council 106 ‐ Bsa 106          562 S Rivervine Way                                     Eagle, ID 83616‐6958                                            First Class Mail
Chartered Organization         Lds Riverbank Ward Modesto North Stake                    Greater Yosemite Council 059           800 Sylvan Ave                                          Modesto, CA 95350                                               First Class Mail
Chartered Organization         Lds Riverbend Ward                                        Utah National Parks 591                2583 E 350 N                                            St George, UT 84790                                             First Class Mail
Chartered Organization         Lds Riverbend Ward/Sandy Ut West Stk                      Great Salt Lake Council 590            8825 S 150 W                                            Sandy, UT 84070                                                 First Class Mail
Chartered Organization         Lds Riverbend Ward/Taylorsville Ut Stk                    Great Salt Lake Council 590            680 W 4800 S                                            Salt Lake City, UT 84123‐4569                                   First Class Mail
Chartered Organization         Lds Riverdale 1St Ward                                    Preston N Stake                        3562 N 1600 E                                           Preston, ID 83263                                               First Class Mail
Chartered Organization         Lds Riverdale 2Nd Ward                                    Preston N Stake                        3562 N 1800 E                                           Preston, ID 83263                                               First Class Mail
Chartered Organization         Lds Riverdale Ward, Brighton Stake                        Denver Area Council 061                1454 Myrtle St                                          Brighton, CO 80601‐1922                                         First Class Mail
Chartered Organization         Lds Riverglen Ward ‐ Boise Stk                            Ore‐Ida Council 106 ‐ Bsa 106          5900 W Castle Dr                                        Boise, ID 83703‐3215                                            First Class Mail
Chartered Organization         Lds Rivergrove First Ward                                 Utah National Parks 591                729 N 600 W                                             Provo, UT 84601                                                 First Class Mail
Chartered Organization         Lds Rivergrove Second Ward                                Utah National Parks 591                450 N 1220 W                                            Provo, UT 84601                                                 First Class Mail
Chartered Organization         Lds Rivers Edge                                           Montana Council 315                    1401 9Th St Nw                                          Great Falls, MT 59404‐1819                                      First Class Mail
Chartered Organization         Lds Riverside 1St Ward                                    S L Riverside Stake                    1148 W 500 N                                            Salt Lake City, UT 84116                                        First Class Mail
Chartered Organization         Lds Riverside 2Nd                                         Utah National Parks 591                612 W Pony Express Pkwy                                 Saratoga Springs, UT 84045                                      First Class Mail
Chartered Organization         Lds Riverside 2Nd Ward (Tongan)                           Sl Ut Stake (Tongan)                   660 N Redwood Rd                                        Salt Lake City, UT 84116‐2454                                   First Class Mail
Chartered Organization         Lds Riverside Park Ward                                   South Florida Council 084              1100 Sw 15Th Ave                                        Fort Lauderdale, FL 33312‐7236                                  First Class Mail
Chartered Organization         Lds Riverside Ward                                        South Florida Council 084              616 Sw 12Th Ave                                         Miami, FL 33130‐3118                                            First Class Mail
Chartered Organization         Lds Riverside Ward                                        Utah National Parks 591                344 E Seagull Ln                                        Saratoga Springs, UT 84045‐5403                                 First Class Mail
Chartered Organization         Lds Riverside Ward ‐ Grants Pass Stake                    Crater Lake Council 491                1969 Williams Hwy                                       Grants Pass, OR 97527‐5693                                      First Class Mail
Chartered Organization         Lds Riverside Ward ‐ Tulsa Ok Stake                       Indian Nations Council 488             3640 S New Haven Ave                                    Tulsa, OK 74135‐2255                                            First Class Mail
Chartered Organization         Lds Riverside Ward ( Provo)                               Utah National Parks 591                303 W 3700 N                                            Provo, UT 84604                                                 First Class Mail
Chartered Organization         Lds Riverside Ward Columbus Ohio State                    Simon Kenton Council 441               4683 Stonehaven Dr                                      Upper Arlington, OH 43220‐2855                                  First Class Mail
Chartered Organization         Lds Riverside Ward Milwaukie Stake                        Cascade Pacific Council 492            7880 Se Milwaukie Ave                                   Portland, OR 97202‐6119                                         First Class Mail
Chartered Organization         Lds Riverside Ward/Murray Ut North Stk                    Great Salt Lake Council 590            500 W Germania Ave                                      Murray, UT 84123‐4626                                           First Class Mail
Chartered Organization         Lds Riverton 10Th Ward                                    Rvrtn Ut Central Stake                 12830 S 2700 W                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 11Th Ward/Riverton Ut Stk                    Great Salt Lake Council 590            1855 W 13400 S                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 12Th Ward                                    Rvrtn Ut N Stake                       12459 S Dansie Way                                      Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 13Th Ward                                    Rvrtn Ut Central Stake                 12852 S 3200 W                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 14Th Ward/Riverton Ut Stk                    Great Salt Lake Council 590            1454 W 13200 S                                          Riverton, UT 84065‐6131                                         First Class Mail
Chartered Organization         Lds Riverton 15Th Ward                                    Rvrtn Ut Summerhill Stake              12120 S 1300 W                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 16Th Ward                                    Rvrtn Ut Summerhill Stake              1208 W 12400 S                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 17Th Ward                                    Rvrtn Ut Central Stake                 12852 S 3200 W                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 18Th Ward                                    Rvrtn Ut S Stake                       2361 W 13400 S                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 19Th Ward                                    Riverton Ut Western Sprgs Stake        12691 S 3600 W                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 1St Ward/Riverton Ut Stk                     Great Salt Lake Council 590            1454 W 13200 S                                          Riverton, UT 84065‐6131                                         First Class Mail
Chartered Organization         Lds Riverton 20Th Ward/Riverton Ut Stk                    Great Salt Lake Council 590            1855 W 13400 S                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 22Nd (Sp) Branch                             Riverton Ut N Stake                    12345 So 2700 W                                         Riverton, UT 84096                                              First Class Mail
Chartered Organization         Lds Riverton 23Rd Branch (Samoan)                         Riverton Ut Stake                      12998 S 1300 W                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 24Th (Tongan) Brnch                          S L Ut South (Tongan) Stake            4538 W 11800 S                                          South Jordan, UT 84009‐8060                                     First Class Mail
Chartered Organization         Lds Riverton 2Nd Ward                                     Rvrtn Ut Summerhill Stake              1208 W 12400 S                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 3Rd Ward                                     Rvrtn Ut Central Stake                 12852 S 3200 W                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 4Th Ward/Rvrtn Ut North Stk                  Great Salt Lake Council 590            1900 W 11970 S                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 5Th Ward/Riverton Ut Stk                     Great Salt Lake Council 590            1855 W 13400 S                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 6Th Ward/Rvrtn Ut North Stk                  Great Salt Lake Council 590            12345 S 2700 W                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 7Th Ward/Rvrtn Ut North Stk                  Great Salt Lake Council 590            12459 S Dansie Way                                      Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 8Th Ward/Rvrtn Ut North Stk                  Great Salt Lake Council 590            12345 S 2700 W                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton 9Th Ward/Rvrtn Ut South Stk                  Great Salt Lake Council 590            3113 W 13400 S                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton Farms Ward                                   Rvrtn Ut Central Stake                 12852 S 3200 W                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton Park Ward/Riverton Ut Stk                    Great Salt Lake Council 590            12998 S 1300 W                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverton Ranch Ward/Riverton Ut Stk                   Great Salt Lake Council 590            1500 W 13200 S                                          Riverton, UT 84065                                              First Class Mail
Chartered Organization         Lds Riverview Ward ‐ Emmett Stk                           Ore‐Ida Council 106 ‐ Bsa 106          8342 W Idaho Blvd                                       Letha, ID 83636                                                 First Class Mail
Chartered Organization         Lds Riverview Ward ‐ Mesa Az                              Maricopa N Stake                       1718 N Date                                             Mesa, AZ 85201‐2134                                             First Class Mail
Chartered Organization         Lds Riverview Ward ‐ Richland Stake                       Blue Mountain Council 604              1321 Jadwin Ave                                         Richland, WA 99354                                              First Class Mail
Chartered Organization         Lds Riverview Ward ‐ Westland Stake                       Great Lakes Fsc 272                    18701 Grange Rd                                         Riverview, MI 48193                                             First Class Mail
Chartered Organization         Lds Riverview Ward Indep Stake                            Heart Of America Council 307           2530 Brooklyn Ave                                       Kansas City, MO 64127‐3823                                      First Class Mail
Chartered Organization         Lds Riverview Ward Lebanon Stake                          Cascade Pacific Council 492            1955 S 5Th St                                           Lebanon, OR 97355‐2528                                          First Class Mail
Chartered Organization         Lds Riverview Ward/Bennion Ut East Stk                    Great Salt Lake Council 590            1327 W 5550 S                                           Salt Lake City, UT 84123                                        First Class Mail
Chartered Organization         Lds Riverwood Ward                                        Utah National Parks 591                221 W 3540 N                                            Provo, UT 84604‐4469                                            First Class Mail
Chartered Organization         Lds Riverwoods Ward                                       Utah National Parks 591                4775 N 300 W                                            Provo, UT 84604                                                 First Class Mail
Chartered Organization         Lds Riviera Ward/S L Granite Park Stk                     Great Salt Lake Council 590            601 E Mansfield Ave                                     Salt Lake City, UT 84106                                        First Class Mail
Chartered Organization         Lds Roanoke Rapids Ward                                   East Carolina Council 426              901 Park Ave                                            Roanoke Rapids, NC 27870                                        First Class Mail
Chartered Organization         Lds Roanoke Ward ‐ Alliance Stake                         Longhorn Council 662                   2509 Trophy Club Dr                                     Trophy Club, TX 76262                                           First Class Mail
Chartered Organization         Lds Roberts Farms Ward                                    Layton South Stake                     2120 W Gentile St                                       Layton, UT 84041                                                First Class Mail
Chartered Organization         Lds Robinswood Ward Bellevue Stake                        Chief Seattle Council 609              15824 Se 24Th St                                        Bellevue, WA 98008‐5404                                         First Class Mail
Chartered Organization         Lds Rochester 1St Ward Rochester Stake                    Seneca Waterways 397                   275 Whipple Ln                                          Rochester, NY 14622‐2551                                        First Class Mail
Chartered Organization         Lds Rochester 2Nd Ward Rochester Stake                    Seneca Waterways 397                   1250 English Rd                                         Rochester, NY 14616‐2032                                        First Class Mail
Chartered Organization         Lds Rochester 3Rd Ward Rochester Stake                    Seneca Waterways 397                   1400 Westfall Rd                                        Rochester, NY 14618‐2771                                        First Class Mail
Chartered Organization         Lds Rochester 4Th Ward Rochester Stake                    Seneca Waterways 397                   1400 Westfall Rd                                        Rochester, NY 14618‐2771                                        First Class Mail
Chartered Organization         Lds Rochester Ward ‐ Grand Blanc Stake                    Great Lakes Fsc 272                    1610 Brewster Rd                                        Rochester Hills, MI 48306‐3005                                  First Class Mail
Chartered Organization         Lds Rock Canyon Ward                                      Utah National Parks 591                3050 Mojave Ln                                          Provo, UT 84604‐4827                                            First Class Mail
Chartered Organization         Lds Rock Cliff 2Nd Ward                                   Rock Cliff Stake                       1000 Suncrest Dr                                        Ogden, UT 84404                                                 First Class Mail
Chartered Organization         Lds Rock Cliff 5Th Ward                                   Rock Cliff Stake                       300 Iowa Ave                                            Ogden, UT 84404                                                 First Class Mail
Chartered Organization         Lds Rock Cove Ward                                        Utah National Parks 591                1073 S 2230 E                                           Spanish Fork, UT 84660‐9466                                     First Class Mail
Chartered Organization         Lds Rock Creek Ward                                       Utah National Parks 591                3821 E Rose Hearty Ln                                   Eagle Mountain, UT 84005‐5103                                   First Class Mail
Chartered Organization         Lds Rock Creek Ward                                       Syracuse West Stake                    3267 W 700 S                                            Syracuse, UT 84075                                              First Class Mail
Chartered Organization         Lds Rock Creek Ward Cedar Mill Stake                      Cascade Pacific Council 492            19180 Nw W Union Rd                                     Portland, OR 97229                                              First Class Mail
Chartered Organization         Lds Rock Creek Ward Maple Valley Stake                    Chief Seattle Council 609              P.O. Box 117                                            Ravensdale, WA 98051‐0117                                       First Class Mail
Chartered Organization         Lds Rock Hill Ward\Charlotte South Stake                  Palmetto Council 549                   1883 Saluda Rd                                          Rock Hill, SC 29730‐6033                                        First Class Mail
Chartered Organization         Lds Rock Springs Ward                                     Rock Springs Stake                     2055 Edgar St                                           Rock Springs, WY 82901‐6683                                     First Class Mail
Chartered Organization         Lds Rockaway Ward Rr Stake                                Great Swest Council 412                300 Loma Colorado Blvd Ne                               Rio Rancho, NM 87124‐6522                                       First Class Mail
Chartered Organization         Lds Rockbrook Ward Papillion Stake                        Mid‐America Council 326                11027 Martha St                                         Omaha, NE 68144‐3107                                            First Class Mail
Chartered Organization         Lds Rockdale Ward, Round Rock East Stake                  Capitol Area Council 564               218 Serenada Dr                                         Georgetown, TX 78628‐1518                                       First Class Mail
Chartered Organization         Lds Rockhill Ward                                         Stafford Virginia Stake                163 Eustace Rd                                          Stafford, VA 22554                                              First Class Mail
Chartered Organization         Lds Rockledge Cocoa                                       Central Florida Council 083            1801 S Fiske Blvd                                       Rockledge, FL 32955‐3003                                        First Class Mail
Chartered Organization         Lds Rocklin 1St Ward Rocklin Stake                        Golden Empire Council 047              2310 Covered Wagon Ct                                   Rocklin, CA 95765‐5365                                          First Class Mail
Chartered Organization         Lds Rocklin 2Nd Ward Rocklin Stake                        Golden Empire Council 047              5654 Montclair Cir                                      Rocklin, CA 95677‐3379                                          First Class Mail
Chartered Organization         Lds Rocklin 3Rd Ward Rocklin Stake                        Golden Empire Council 047              2307 Spanish Trl                                        Rocklin, CA 95765‐4279                                          First Class Mail
Chartered Organization         Lds Rocklin 4Th Ward Rocklin Stake                        Golden Empire Council 047              2610 Sierra Meadows Dr                                  Rocklin, CA 95677‐2105                                          First Class Mail
Chartered Organization         Lds Rocklin 5Th Ward Rocklin Stake                        Golden Empire Council 047              2831 Theona Way                                         Rocklin, CA 95765                                               First Class Mail
Chartered Organization         Lds Rocklin 6Th Ward Rocklin Stake                        Golden Empire Council 047              2202 Hedrick Ct                                         Rocklin, CA 95765‐6109                                          First Class Mail
Chartered Organization         Lds Rockville Ward Washington Dc Stake                    National Capital Area Council 082      10000 Stoneybrook Dr                                    Kensington, MD 20895                                            First Class Mail
Chartered Organization         Lds Rockwell Village Ward                                 Utah National Parks 591                1953 Lone Tree Pkwy                                     Eagle Mountain, UT 84005                                        First Class Mail
Chartered Organization         Lds Rockwood ‐ Knoxville Stake                            Great Smoky Mountain Council 557       Patton Ln                                               Rockwood, TN 37854                                              First Class Mail
Chartered Organization         Lds Rockwood 1St Ward ‐ St Louis Stake                    Greater St Louis Area Council 312      17132 Manchester Rd                                     Grover, MO 63040                                                First Class Mail
Chartered Organization         Lds Rockwood 2Nd Ward ‐ St Louis Stake                    Greater St Louis Area Council 312      17132 Manchester Rd                                     Grover, MO 63040                                                First Class Mail
Chartered Organization         Lds Rockwood Ward                                         Stansbury Park Utah Stake              417 Benson Rd                                           Stansbury Park, UT 84074‐9050                                   First Class Mail
Chartered Organization         Lds Rocky Butte Ward Gresham Stake                        Cascade Pacific Council 492            3722 Ne Going St                                        Portland, OR 97211‐8155                                         First Class Mail
Chartered Organization         Lds Rocky Mount Ward                                      East Carolina Council 426              3224 Woodlawn Rd                                        Rocky Mount, NC 27804‐3909                                      First Class Mail
Chartered Organization         Lds Rocky Mountain Ward                                   Kanesville Stake                       4555 W 4000 S                                           West Haven, UT 84401                                            First Class Mail
Chartered Organization         Lds Rocky Reach Ward/Wenatchee Stake                      Grand Columbia Council 614             2271 Sunrise Pl                                         East Wenatchee, WA 98802‐8554                                   First Class Mail
Chartered Organization         Lds Roe River Ward                                        Montana Council 315                    4601 3Rd Ave S                                          Great Falls, MT 59405                                           First Class Mail
Chartered Organization         Lds Rogers Stake                                          Westark Area Council 016               2805 N Dixieland Rd                                     Rogers, AR 72756                                                First Class Mail
Chartered Organization         Lds Rogers Ward Rogers Stake                              Westark Area Council 016               2805 N Dixieland Rd                                     Rogers, AR 72756                                                First Class Mail
Chartered Organization         Lds Rohnert Park Ward                                     Redwood Empire Council 041             4576 Harmony Pl                                         Rohnert Park, CA 94928‐1882                                     First Class Mail
Chartered Organization         Lds Rolla Ward ‐ St Robert Stake                          Ozark Trails Council 306               693 Forum Dr                                            Rolla, MO 65401‐4624                                            First Class Mail
Chartered Organization         Lds Rolling Hills Branch                                  Layton Hills Stake                     590 W 2000 N                                            Layton, UT 84041‐1627                                           First Class Mail
Chartered Organization         Lds Rolling Hills Ward                                    Centerville Ut Canyon View Stake       2110 N Main St                                          Centerville, UT 84014                                           First Class Mail
Chartered Organization         Lds Rolling Hills Ward ‐ Wichita Stake                    Quivira Council, Bsa 198               401 N Westlink Ave                                      Wichita, KS 67212‐3747                                          First Class Mail
Chartered Organization         Lds Rolling Hills Ward/Moscow Stake                       Inland NW Council 611                  1016 N Mountain View Rd                                 Moscow, ID 83843                                                First Class Mail
Chartered Organization         Lds Rolling Valley Ward Annandale Stake                   National Capital Area Council 082      9300 Harness Horse Ct                                   Springfield, VA 22153‐1321                                      First Class Mail
Chartered Organization         Lds Rollins Ranch Ward                                    Morgan North Stake                     4270 W Cottonwood Canyon Rd                             Morgan, UT 84050                                                First Class Mail
Chartered Organization         Lds Ronan Ward, Missoula Stake                            Montana Council 315                    Franklin & 4th Ave S E                                  Ronan, MT 59864                                                 First Class Mail
Chartered Organization         Lds Roosevelt Eighth Ward                                 Utah National Parks 591                150 Skyline Dr                                          Roosevelt, UT 84066                                             First Class Mail
Chartered Organization         Lds Roosevelt Eleventh Ward                               Utah National Parks 591                250 N 200 W                                             Roosevelt, UT 84066‐2323                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                     Page 232 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                   Filed 01/06/22                                                      Page 248 of 457
                                                                                                                                                                  Exhibit B
                                                                                                                                                                   Service List
                                                                                                                                                            Served as set forth below

        Description                                                       Name                                                                                  Address                                                                                              Email              Method of Service
Chartered Organization         Lds Roosevelt Fifteenth Branch                           Utah National Parks 591                2605 W 1310 N                                          Roosevelt, UT 84066‐9770                                                               First Class Mail
Chartered Organization         Lds Roosevelt Fifth Ward                                 Utah National Parks 591                447 E Lagoon St                                        Roosevelt, UT 84066‐3019                                                               First Class Mail
Chartered Organization         Lds Roosevelt First Ward                                 Utah National Parks 591                32 S State St                                          Roosevelt, UT 84066‐3070                                                               First Class Mail
Chartered Organization         Lds Roosevelt Fourth Ward                                Utah National Parks 591                32 S State St                                          Roosevelt, UT 84066‐3070                                                               First Class Mail
Chartered Organization         Lds Roosevelt Ninth Ward                                 Utah National Parks 591                150 Sky Line Dr                                        Roosevelt, UT 84066                                                                    First Class Mail
Chartered Organization         Lds Roosevelt Second Ward                                Utah National Parks 591                250 W 200 N 67‐14                                      Roosevelt, UT 84066                                                                    First Class Mail
Chartered Organization         Lds Roosevelt Seventh Ward                               Utah National Parks 591                2000 W 9000 N                                          Neola, UT 84053                                                                        First Class Mail
Chartered Organization         Lds Roosevelt Sixth Ward                                 Utah National Parks 591                447 E Lagoon St                                        Roosevelt, UT 84066‐3019                                                               First Class Mail
Chartered Organization         Lds Roosevelt Tenth Ward                                 Utah National Parks 591                502 N 600 E                                            Roosevelt, UT 84066‐2474                                                               First Class Mail
Chartered Organization         Lds Rootstown Ward ‐ Youngstown Stake                    Great Trail 433                        2776 Hartville Rd                                      Rootstown, OH 44272                                                                    First Class Mail
Chartered Organization         Lds Rose Canyon 10Th Ward                                Herriman Ut Rose Stake                 14398 So 6400 W                                        Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Rose Canyon 11Th Ward                                Herriman Ut Rose Canyon Stake          6869 W Vista Springs Dr                                Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Rose Canyon 1St Ward                                 Herriman Ut Rose Cyn Stake             7079 Rose Canyon Rd                                    Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Rose Canyon 2Nd Ward                                 Herriman Ut Rose Cyn Stake             13768 S 6400 W                                         Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Rose Canyon 3Rd Ward                                 Herriman Ut Rose Canyon Stake          6869 W Vista Springs Dr                                Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Rose Canyon 4Th Ward                                 Herriman Ut Rose Cyn Stake             7079 W Rose Canyon                                     Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Rose Canyon 5Th Ward                                 Herriman Ut Rose Cyn Stake             7079 W Rose Canyon                                     Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Rose Canyon 6Th Ward                                 Herriman Ut Rose Canyon Stake          6869 W Vista Springs Dr                                Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Rose Canyon 7Th Ward                                 Herriman Ut Rose Cyn Stake             5953 W Potterstone Cir                                 Herriman, UT 84096‐8206                                                                First Class Mail
Chartered Organization         Lds Rose Canyon 8Th Ward                                 Herriman Ut Rose Cyn Stake             14398 S 6400 W                                         Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Rose Canyon 9Th Ward                                 Herriman Ut Rose Cyn Stake             6869 W Vista Springs Dr                                Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Rose City Ward Gresham Stake                         Cascade Pacific Council 492            2215 Ne 106Th Ave                                      Portland, OR 97220‐3705                                                                First Class Mail
Chartered Organization         Lds Rose Creek Crossing Ward                             Riverton Ut S Stake                    3113 W 13400 S.                                        Riverton, UT 84065                                                                     First Class Mail
Chartered Organization         Lds Rose Garden Ward ‐ Phoenix Az                        Deer Valley Stake                      2939 W Rose Garden Ln                                  Phoenix, AZ 85027‐3153                                                                 First Class Mail
Chartered Organization         Lds Rose Hill Ward ‐ Boise Central Stk                   Ore‐Ida Council 106 ‐ Bsa 106          3200 Cassia St                                         Boise, ID 83705                                                                        First Class Mail
Chartered Organization         Lds Rose Lane Ward ‐ Phoenix Az Stk                      Grand Canyon Council 010               5038 N 38Th Ave                                        Phoenix, AZ 85019                                                                      First Class Mail
Chartered Organization         Lds Rose Park 2Nd Ward/S L Rose Park Stk                 Great Salt Lake Council 590            760 N 1200 W                                           Salt Lake City, UT 84116‐2261                                                          First Class Mail
Chartered Organization         Lds Rose Park 5Th Ward Tongan                            Salt Lake Utah Tongan Stake            660 N Redwood Rd                                       Salt Lake City, UT 84116‐2454                                                          First Class Mail
Chartered Organization         Lds Rose Park 7Th Ward                                   S L Rose Park N Stake                  1155 N 1200 W                                          Salt Lake City, UT 84116                                                               First Class Mail
Chartered Organization         Lds Rose Park 8Th Ward                                   S L Rose Park N Stake                  1279 N Sonata St                                       Salt Lake City, UT 84116‐3619                                                          First Class Mail
Chartered Organization         Lds Rose Park 9Th Ward/S L Rose Park Stk                 Great Salt Lake Council 590            760 N 1200 W                                           Salt Lake City, UT 84116‐2261                                                          First Class Mail
Chartered Organization         Lds Rose Park Center Ward                                S L Rose Park Stake                    874 N Starcrest Dr                                     Salt Lake City, UT 84116                                                               First Class Mail
Chartered Organization         Lds Rose Point Ward                                      Herriman Ut S Stake                    14858 Juniper Crest Rd                                 Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Rose Springs Ward/Erda Utah Stake                    Great Salt Lake Council 590            134 E Erda Way                                         Tooele, UT 84074                                                                       First Class Mail
Chartered Organization         Lds Rose Summit Ward                                     Herriman Ut Mtn View Stake             5524 W Rose Crest Rd                                   Herriman, UT 84096                                                                     First Class Mail
Chartered Organization         Lds Rose Valley Ward ‐ Peoria Az North Stk               Grand Canyon Council 010               22034 N 83Rd Ave                                       Peoria, AZ 85383‐1707                                                                  First Class Mail
Chartered Organization         Lds Rosecreek Ward ‐ Boise W Stk                         Ore‐Ida Council 106 ‐ Bsa 106          10262 W Raleigh St                                     Boise, ID 83709‐2498                                                                   First Class Mail
Chartered Organization         Lds Rosecrest 1St Ward                                   S L Canyon Rim Stake                   3101 S 2300 E                                          Salt Lake City, UT 84109                                                               First Class Mail
Chartered Organization         Lds Rosecrest 2Nd Ward                                   S L Canyon Rim Stake                   3101 S 2300 E                                          Salt Lake City, UT 84109                                                               First Class Mail
Chartered Organization         Lds Rosedale Ward, Bakersfield Stake                     Southern Sierra Council 030            5500 Fruitvale Ave                                     Bakersfield, CA 93308‐3965                                                             First Class Mail
Chartered Organization         Lds Rosedale Ward/S L Riverside Stake                    Great Salt Lake Council 590            1475 W 500 N Apt 1                                     Salt Lake City, UT 84116‐2550                                                          First Class Mail
Chartered Organization         Lds Roseville 1St Ward Roseville Stake                   Golden Empire Council 047              211 Estates Dr                                         Roseville, CA 95678‐2311                                                               First Class Mail
Chartered Organization         Lds Roseville 2Nd Ward Roseville Stake                   Golden Empire Council 047              8583 Watt Ave                                          Antelope, CA 95843‐9117                                                                First Class Mail
Chartered Organization         Lds Roseville 3Rd Ward Roseville Stake                   Golden Empire Council 047              211 Estates Dr                                         Roseville, CA 95678‐2311                                                               First Class Mail
Chartered Organization         Lds Roseville 4Th Ward Roseville Stake                   Golden Empire Council 047              211 Estates Dr                                         Roseville, CA 95678‐2311                                                               First Class Mail
Chartered Organization         Lds Roseville 5Th Ward Roseville Stake                   Golden Empire Council 047              8583 Watt Ave                                          Elverta, CA 95626                                                                      First Class Mail
Chartered Organization         Lds Roseville 6Th Ward Roseville Stake                   Golden Empire Council 047              1240 Junction Blvd                                     Roseville, CA 95678‐5870                                                               First Class Mail
Chartered Organization         Lds Roseville 7Th Ward Roseville Stake                   Golden Empire Council 047              7180 Marblethorpe Dr                                   Roseville, CA 95747‐5924                                                               First Class Mail
Chartered Organization         Lds Roseville 9Th Ward Roseville Stake                   Golden Empire Council 047              1240 Junction Blvd                                     Roseville, CA 95678‐5870                                                               First Class Mail
Chartered Organization         Lds Roseville Ward                                       Bloomfield Hills Stake                 28053 Edward St                                        Roseville, MI 48066‐2410                                                               First Class Mail
Chartered Organization         Lds Rossmoor Ward Cordova Stake                          Golden Empire Council 047              2400 Cordova Ln                                        Rancho Cordova, CA 95670‐3963                                                          First Class Mail
Chartered Organization         Lds Roswell 1St Ward ‐ Roswell Nm Stake                  Conquistador Council Bsa 413           2201 W Country Club Rd                                 Roswell, NM 88201                                                                      First Class Mail
Chartered Organization         Lds Roswell 1St Ward ‐ Roswell Nm Stake                  Conquistador Council Bsa 413           2201 W Country Club Rd                                 Roswell, NM 88201                                                                      First Class Mail
Chartered Organization         Lds Roswell Ward/Roswell Stake                           Atlanta Area Council 092               500 Norcross St                                        Roswell, GA 30075‐3861                                                                 First Class Mail
Chartered Organization         Lds Rotherwood Ward                                      Sequoyah Council 713                   100 Canongate Rd                                       Kingsport, TN 37660‐7218                                                               First Class Mail
Chartered Organization         Lds Round Rock Ward Round Rock E Stake                   Capitol Area Council 564               2400 N Aw Grimes Blvd                                  Round Rock, TX 78665                                                                   First Class Mail
Chartered Organization         Lds Rowe River Ward, Great Falls E Stake                 Montana Council 315                    4601 3Rd Ave S                                         Great Falls, MT 59405                                                                  First Class Mail
Chartered Organization         Lds Rowland Heights Ward                                 Hacienda Heights Stake 104             2120 Valencia St                                       Rowland Heights, CA 91748‐4037                                                         First Class Mail
Chartered Organization         Lds Roxborough Park Ward                                 Tvlle Ut No Central Stake              2976 W Winchester Dr                                   Salt Lake City, UT 84119                                                               First Class Mail
Chartered Organization         Lds Roxborough Ward                                      Highlands Ranch Stake                  Denver Area Council 061                                9800A Foothills Canyon Blvd       Littleton, Co 80129                                  First Class Mail
Chartered Organization         Lds Roy West Park Ward                                   Roy Central Stake                      4524 S 2525 W                                          Roy, UT 84067                                                                          First Class Mail
Chartered Organization         Lds Royal 1St Ward Othello Stake                         Grand Columbia Council 614             1876 Rd 13 Se                                          Othello, WA 99344‐9163                                                                 First Class Mail
Chartered Organization         Lds Royal 2Nd Ward/Othello Stake                         Grand Columbia Council 614             9891 Rd 12 Sw                                          Royal City, WA 99357‐9618                                                              First Class Mail
Chartered Organization         Lds Royal Ann Branch (Sp)                                Salt Lake Hunter South Stake           4322 S 5400 W                                          West Valley City, UT 84120                                                             First Class Mail
Chartered Organization         Lds Royal Heights Ward                                   Sparks West Stake                      2505 Kings Row                                         Reno, NV 89503‐3221                                                                    First Class Mail
Chartered Organization         Lds Royal Oaks Ward Keizer Stake                         Cascade Pacific Council 492            862 45Th Ave Ne                                        Salem, OR 97301‐3022                                                                   First Class Mail
Chartered Organization         Lds Royal Palm Ward ‐ Phoenix Az North Stk               Grand Canyon Council 010               8710 N 3Rd Ave                                         Phoenix, AZ 85021‐4506                                                                 First Class Mail
Chartered Organization         Lds Rs / Gayton Ward                                     Heart Of Virginia Council 602          2500 Pump Rd                                           Richmond, VA 23233                                                                     First Class Mail
Chartered Organization         Lds Rs / Glen Allen Ward                                 Heart Of Virginia Council 602          5600 Monument Ave                                      Richmond, VA 23226‐1415                                                                First Class Mail
Chartered Organization         Lds Rs / Innsbrook Ward                                  Heart Of Virginia Council 602          2500 Pump Rd                                           Richmond, VA 23233                                                                     First Class Mail
Chartered Organization         Lds Rs / Mechanicsville Ward                             Heart Of Virginia Council 602          P.O. Box 274                                           Mechanicsville, VA 23111‐0274                                                          First Class Mail
Chartered Organization         Lds Rs / Mechanicsville Ward                             Heart Of Virginia Council 602          8005 Atlee Rd                                          Mechanicsville, VA 23111‐5935                                                          First Class Mail
Chartered Organization         Lds Rs / Scotchtown Ward                                 Heart Of Virginia Council 602          14573 Scotchtown Rd                                    Montpelier, VA 23192                                                                   First Class Mail
Chartered Organization         Lds Rs / Tappahannock Branch                             Heart Of Virginia Council 602          995 Winston Rd                                         Tappahannock, VA 22560                                                                 First Class Mail
Chartered Organization         Lds Rs/Tappahannock                                      Heart Of Virginia Council 602          995 Winston Rd                                         Tappahannock, VA 22560                                                                 First Class Mail
Chartered Organization         Lds Ruby Valley Branch ‐ Elko East Stake                 Nevada Area Council 329                9228 Ruby Valley Rd                                    Ruby Valley, NV 89833                                                                  First Class Mail
Chartered Organization         Lds Running Creek Ward, Parker S Stake                   Denver Area Council 061                34200 County Rd 17                                     Elizabeth, CO 80107                                                                    First Class Mail
Chartered Organization         Lds Running Springs Branch‐S B Stake                     California Inland Empire Council 045   P.O. Box 845                                           Running Springs, CA 92382‐0845                                                         First Class Mail
Chartered Organization         Lds Rural Ward ‐ Tempe Az West Stk                       Grand Canyon Council 010               1050 W Grove Pkwy                                      Tempe, AZ 85283                                                                        First Class Mail
Chartered Organization         Lds Rush Valley Ward                                     Utah National Parks 591                7944 N Smith Ranch Rd                                  Eagle Mountain, UT 84005                                                               First Class Mail
Chartered Organization         Lds Rush Valley Ward/Tooele Ut South Stk                 Great Salt Lake Council 590            985 N Church St                                        Rush Valley, UT 84069‐9739                                                             First Class Mail
Chartered Organization         Lds Rushton View 1St Ward                                Sj Ut Rushton View Stake               3760 Rushton Veiw Dr                                   South Jordan, UT 84095                                                                 First Class Mail
Chartered Organization         Lds Rushton View 2Nd Ward                                Sj Ut Rushton View Stake               10436 S Shady Plum Way                                 South Jordan, UT 84009‐3916                                                            First Class Mail
Chartered Organization         Lds Rushton View 3Rd Ward                                S J Ut Rushton View Stake              4021 W Shinnerock Dr                                   South Jordan, UT 84009                                                                 First Class Mail
Chartered Organization         Lds Rushton View 4Th Ward                                Sj Ut Rushton View Stake               4021 W Shinnerock Dr                                   South Jordan, UT 84009                                                                 First Class Mail
Chartered Organization         Lds Rushton View 5Th Ward (Sp)                           Sj Ut Rushton View Stake               4137 W Foxview Dr                                      South Jordan, UT 84009                                                                 First Class Mail
Chartered Organization         Lds Rushton View 6Th Ward                                Sj Ut Rushton View Stake               4021 W Shinnerock Dr                                   South Jordan, UT 84009                                                                 First Class Mail
Chartered Organization         Lds Rushton View 7Th Ward                                Sj Ut Rshtn Vw Stake                   10634 S Poppy Meadow Ln                                South Jordan, UT 84009‐3136                                                            First Class Mail
Chartered Organization         Lds Russellville Ward                                    N Little Rock Stake                    200 S Cumberland Ave                                   Russellville, AR 72801‐4663                                                            First Class Mail
Chartered Organization         Lds Russian Jack Ward ‐ Anchorage N Stake                Great Alaska Council 610               2240 Baxter Rd                                         Anchorage, AK 99504‐3281                                                               First Class Mail
Chartered Organization         Lds Rutland Br, Montpelier Vermont Stake                 Green Mountain 592                     106 Clarendon Ave                                      West Rutland, VT 05777‐9466                                                            First Class Mail
Chartered Organization         Lds Rye Ward, Pueblo Stake                               Rocky Mountain Council 063             2131 Coolidge Ave                                      Rye, CO 81069‐5013                                                                     First Class Mail
Chartered Organization         Lds S L Valley 1St Ward (Sign Lang)                      S L Central Stake                      6153 W Davis View Ln                                   West Valley City, UT 84128‐7124                                                        First Class Mail
Chartered Organization         Lds S L Valley 2Nd (Deaf) Ward                           Bennion Ut Stake                       6250 S 2200 W                                          Taylorsville, UT 84129‐6365                                                            First Class Mail
Chartered Organization         Lds S Pasadena Ward 516 Pasadena Stake                   Greater Los Angeles Area 033           770 Sierra Madre Villa Ave                             Pasadena, CA 91107‐2042                                                                First Class Mail
Chartered Organization         Lds S Royalton Ward                                      Montpelier Vermont Stake               Green Mountain 592                                     Lds Lane                          South Royalton, Vt 05068                             First Class Mail
Chartered Organization         Lds S San Francisco Ward                                 San Francisco Stake                    730 Sharp Park Rd                                      Pacifica, CA 94044‐2463                                                                First Class Mail
Chartered Organization         Lds S Vly Ranch Ward                                     Hend Black Mtn Stake                   1551 Galleria Dr                                       Henderson, NV 89014‐0372                                                               First Class Mail
Chartered Organization         Lds S Whidbey Ward Oak Harbor Stake                      Mount Baker Council, Bsa 606           5425 Maxwelton Rd                                      Langley, WA 98260                                                                      First Class Mail
Chartered Organization         Lds Sable Ward, Aurora Stake                             Denver Area Council 061                950 Laredo St                                          Aurora, CO 80011‐7441                                                                  First Class Mail
Chartered Organization         Lds Sacramento 2Nd Ward Sacramento Stake                 Golden Empire Council 047              6925 Havenhurst Dr                                     Sacramento, CA 95831                                                                   First Class Mail
Chartered Organization         Lds Sacramento 4Th Ward Sacamento Stake                  Golden Empire Council 047              7621 18Th St                                           Sacramento, CA 95832‐1145                                                              First Class Mail
Chartered Organization         Lds Sacramento 7Th Branch                                Golden Empire Council 047              7401 24Th St                                           Sacramento, CA 95822‐5319                                                              First Class Mail
Chartered Organization         Lds Sacramento Cordova Stake                             Golden Empire Council 047              3001 Wissemann Dr                                      Sacramento, CA 95826‐3649                                                              First Class Mail
Chartered Organization         Lds Sacramento Mtns Ward                                 Las Cruces Stake                       1800 23Rd St                                           Alamogordo, NM 88310‐4606                                                              First Class Mail
Chartered Organization         Lds Saddle Ranch Ward                                    Highlands Ranch Stake                  9800 Foothills Canyon Blvd                             Highlands Ranch, CO 80129‐6601                                                         First Class Mail
Chartered Organization         Lds Saddle Ridge Ward                                    Utah National Parks 591                1738 S Bridle Path Loop                                Lehi, UT 84043‐5011                                                                    First Class Mail
Chartered Organization         Lds Saddlebrook Ward                                     Utah National Parks 591                2002 S Clydesdale Cir                                  Saratoga Springs, UT 84045‐3136                                                        First Class Mail
Chartered Organization         Lds Safford 1St Ward ‐ Safford Stake                     Grand Canyon Council 010               2249 S Stevens Ave                                     Solomon, AZ 85551                                                                      First Class Mail
Chartered Organization         Lds Safford 2Nd Ward ‐ Safford Stake                     Grand Canyon Council 010               303 W 20Th St                                          Safford, AZ 85546                                                                      First Class Mail
Chartered Organization         Lds Safford 3Rd Ward ‐ Safford Stake                     Grand Canyon Council 010               501 W Catalina Dr                                      Safford, AZ 85546‐3037                                                                 First Class Mail
Chartered Organization         Lds Safford 4Th Ward ‐ Safford Stake                     Grand Canyon Council 010               501 W Catalina Dr                                      Safford, AZ 85546‐3037                                                                 First Class Mail
Chartered Organization         Lds Safford 5Th Ward ‐ Safford Stake                     Grand Canyon Council 010               501 W Catalina Dr                                      Safford, AZ 85546‐3037                                                                 First Class Mail
Chartered Organization         Lds Safford 6Th Ward ‐ Safford Stake                     Grand Canyon Council 010               303 W 20Th St                                          Safford, AZ 85546                                                                      First Class Mail
Chartered Organization         Lds Safford 7Th Ward ‐ Safford Stake                     Grand Canyon Council 010               3722 S Us Hwy 191                                      Safford, AZ 85546                                                                      First Class Mail
Chartered Organization         Lds Safford 8Th Ward ‐ Safford Stake                     Grand Canyon Council 010               3722 S Us Hwy 191                                      Safford, AZ 85546                                                                      First Class Mail
Chartered Organization         Lds Safford 9Th Ward ‐ Safford Stake                     Grand Canyon Council 010               3722 S Hwy 191                                         Safford, AZ 85546                                                                      First Class Mail
Chartered Organization         Lds Sage Creek Ward                                      Utah National Parks 591                2261E 700 N                                            St George, UT 84790                                                                    First Class Mail
Chartered Organization         Lds Sage Hills Ward                                      Utah National Parks 591                2947 Swainson Ave                                      Saratoga Springs, UT 84045                                                             First Class Mail
Chartered Organization         Lds Sage Hills Ward/Wenatchee Stake                      Grand Columbia Council 614             1601 Maiden Ln Apt A204                                Wenatchee, WA 98801‐8331                                                               First Class Mail
Chartered Organization         Lds Sage Hollow Ward                                     Utah National Parks 591                2079 E 2450 S                                          St George, UT 84790                                                                    First Class Mail
Chartered Organization         Lds Sage Valley Ward                                     Utah National Parks 591                8774 N Cedar Fort Cir                                  Eagle Mountain, UT 84005‐4178                                                          First Class Mail
Chartered Organization         Lds Sage Ward Los Lunas Stake                            Great Swest Council 412                8130 Sage Rd Sw                                        Albuquerque, NM 87121‐7873                                                             First Class Mail
Chartered Organization         Lds Sage Ward/Bluffdale Utah Stake                       Great Salt Lake Council 590            14296 S Black Wulff Dr                                 Bluffdale, UT 84065‐3806                                                               First Class Mail
Chartered Organization         Lds Sagecrest Ward/Sandy Ut Central Stk                  Great Salt Lake Council 590            1280 E Turquoise Way                                   Sandy, UT 84094                                                                        First Class Mail
Chartered Organization         Lds Saginaw Ward                                         Fort Worth North Stake                 850 Cannon Dr                                          Hurst, TX 76054‐3191                                                                   First Class Mail
Chartered Organization         Lds Saginaw Ward ‐ Midland Stake                         Water And Woods Council 782            1415 N Center Rd                                       Saginaw, MI 48638‐5513                                                                 First Class Mail
Chartered Organization         Lds Sahuaro Ranch Ward ‐ Peoria Az Stk                   Grand Canyon Council 010               10877 N 77Th Ave                                       Peoria, AZ 85345                                                                       First Class Mail
Chartered Organization         Lds Salem Branch‐St Robert Stake                         Ozark Trails Council 306               1701 W Franklin St                                     Salem, MO 65560                                                                        First Class Mail
Chartered Organization         Lds Salem Eighth Ward                                    Utah National Parks 591                470 E Salem Canal Rd                                   Salem, UT 84653                                                                        First Class Mail
Chartered Organization         Lds Salem Fifth Ward                                     Utah National Parks 591                695 S 300 W                                            Salem, UT 84653‐9319                                                                   First Class Mail
Chartered Organization         Lds Salem Fifth Ward Salem Stake                         Cascade Pacific Council 492            4550 Lone Oak Rd Se                                    Salem, OR 97302‐4841                                                                   First Class Mail
Chartered Organization         Lds Salem First Ward                                     Utah National Parks 591                60 S Main St                                           Salem, UT 84653                                                                        First Class Mail
Chartered Organization         Lds Salem First Ward Keizer Stake                        Cascade Pacific Council 492            570 Madison St Ne                                      Salem, OR 97301‐1403                                                                   First Class Mail
Chartered Organization         Lds Salem Fourth Ward                                    Utah National Parks 591                75 W Oak Ln                                            Salem, UT 84653‐9498                                                                   First Class Mail
Chartered Organization         Lds Salem Fourth Ward Salem Stake                        Cascade Pacific Council 492            4550 Lone Oak Rd Se                                    Salem, OR 97302‐4841                                                                   First Class Mail
Chartered Organization         Lds Salem Ninth Ward                                     Utah National Parks 591                60 S Main St                                           Salem, UT 84653                                                                        First Class Mail
Chartered Organization         Lds Salem Second Ward                                    Utah National Parks 591                60 S Main St                                           Salem, UT 84653                                                                        First Class Mail
Chartered Organization         Lds Salem Second Ward Salem Stake                        Cascade Pacific Council 492            4550 Lone Oak Rd Se                                    Salem, OR 97302‐4841                                                                   First Class Mail
Chartered Organization         Lds Salem Seventh Ward                                   Utah National Parks 591                25 W Apple Blossom Way                                 Salem, UT 84653                                                                        First Class Mail
Chartered Organization         Lds Salem Sixth Ward                                     Utah National Parks 591                P.O. Box 1185                                          Salem, UT 84653‐1185                                                                   First Class Mail
Chartered Organization         Lds Salem Tenth Ward                                     Utah National Parks 591                695 S 300 W                                            Salem, UT 84653‐9319                                                                   First Class Mail
Chartered Organization         Lds Salem Third Ward                                     Utah National Parks 591                695 S 300 W                                            Salem, UT 84653‐9319                                                                   First Class Mail
Chartered Organization         Lds Salem Twelfth Ward                                   Utah National Parks 591                160 S 460 W                                            Salem, UT 84653                                                                        First Class Mail
Chartered Organization         Lds Salem Ward ‐ St Johns Az Stk                         Grand Canyon Council 010               35 W Cleveland St                                      St Johns, AZ 85936                                                                     First Class Mail
Chartered Organization         Lds Salina Creek Ward                                    Utah National Parks 591                87 S 100 E                                             Salina, UT 84654‐1302                                                                  First Class Mail
Chartered Organization         Lds Salina First Ward                                    Utah National Parks 591                100 W 400 N                                            Salina, UT 84654                                                                       First Class Mail
Chartered Organization         Lds Salina Fourth Ward                                   Utah National Parks 591                18 W 400 N                                             Salina, UT 84654                                                                       First Class Mail
Chartered Organization         Lds Salinas First Ward ‐ Monterey Stake                  Silicon Valley Monterey Bay 055        255 E Alvin Dr                                         Salinas, CA 93906‐2405                                                                 First Class Mail
Chartered Organization         Lds Salinas Second Ward ‐ Monterey Stake                 Silicon Valley Monterey Bay 055        255 E Alvin Dr                                         Salinas, CA 93906‐2405                                                                 First Class Mail
Chartered Organization         Lds Saline Ward ‐ Ann Arbor Stake                        Southern Shores Fsc 783                525 Woodland Dr                                        Saline, MI 48176‐1779                                                                  First Class Mail
Chartered Organization         Lds Salisbury Ward ‐ Dover De Stake                      Del Mar Va 081                         106 Greenlawn Ln                                       Salisbury, MD 21804‐4614                                                               First Class Mail
Chartered Organization         Lds Sallisaw Ward ‐ Fort Smith Ar Stake                  Indian Nations Council 488             805 S Cedar St                                         Sallisaw, OK 74955‐5614                                                                First Class Mail
Chartered Organization         Lds Salmon Creek Ward Ridgefield Stake                   Cascade Pacific Council 492            21718 Ne 29Th Ave                                      Ridgefield, WA 98642‐8681                                                              First Class Mail
Chartered Organization         Lds Salmon Stake ‐ Challis Ward                          Grand Teton Council 107                400 S Daisy St                                         Salmon, ID 83467‐4740                                                                  First Class Mail
Chartered Organization         Lds Salmon Stake ‐ Lemhi Ward                            Grand Teton Council 107                General Delivery                                       Salmon, ID 83467                                                                       First Class Mail
Chartered Organization         Lds Salmon Stake ‐ Pahsimeroi Ward                       Grand Teton Council 107                14 Patterson Rd                                        May, ID 83253‐2005                                                                     First Class Mail
Chartered Organization         Lds Salmon Stake ‐ River Ward                            Grand Teton Council 107                P.O. Box 225                                           Salmon, ID 83467‐0225                                                                  First Class Mail
Chartered Organization         Lds Salmon Stake ‐ Salmon Ward                           Grand Teton Council 107                19 Denali Ln                                           Salmon, ID 83467‐5006                                                                  First Class Mail
Chartered Organization         Lds Salt Lake 1St Stake                                  Sl Married Student Stake               470 S Mario Cappechi Way                               Salt Lake City, UT 84112                                                               First Class Mail
Chartered Organization         Lds Salt Lake Bonneville Stake                           Sl Bonneville Stake                    1535 Bonneview Dr                                      Salt Lake City, UT 84105                                                               First Class Mail
Chartered Organization         Lds Salt Lake Stake/Salt Lake Stake                      Great Salt Lake Council 590            142 W 200 N                                            Salt Lake City, UT 84103                                                               First Class Mail
Chartered Organization         Lds Salt Lake Valley 2Nd Deaf Ward                       Bennion Utah Stake                     6250 S 2200 W                                          Taylorsville, UT 84129‐6365                                                            First Class Mail
Chartered Organization         Lds Salt Lake Wilford Stake                              Salt Lake Wilford Stake                1765 E 3080 S                                          Salt Lake City, UT 84106                                                               First Class Mail
Chartered Organization         Lds Salt River Ward ‐ Mesa Az                            Alta Mesa Stake                        3345 E Mclellan Rd                                     Mesa, AZ 85213                                                                         First Class Mail
Chartered Organization         Lds Sammamish 1St Ward Redmond Stake                     Chief Seattle Council 609              922 216Th Ave Ne                                       Sammamish, WA 98074                                                                    First Class Mail
Chartered Organization         Lds Sammamish 2Nd Ward Redmond Stake                     Chief Seattle Council 609              21831 Ne 18Th Way                                      Sammamish, WA 98074‐4107                                                               First Class Mail
Chartered Organization         Lds San Andreas Ward Lodi Stake                          Greater Yosemite Council 059           221 Church Hill St                                     San Andreas, CA 95249                                                                  First Class Mail
Chartered Organization         Lds San Angelo 1St Ward ‐ Abilene Stake                  Texas SW Council 741                   4475 Swest Blvd                                        San Angelo, TX 76904                                                                   First Class Mail
Chartered Organization         Lds San Angelo 2Nd Ward ‐ Abilene Stake                  Texas SW Council 741                   4601 Oak Knoll St                                      Abilene, TX 79606‐3451                                                                 First Class Mail
Chartered Organization         Lds San Antonio 10Th Ward ‐ Sa Stake                     Alamo Area Council 583                 655 Castroville Rd                                     San Antonio, TX 78237‐3132                                                             First Class Mail
Chartered Organization         Lds San Antonio 1St Ward ‐ East Stake                    Alamo Area Council 583                 311 Galway St                                          San Antonio, TX 78223‐2819                                                             First Class Mail
Chartered Organization         Lds San Antonio 6Th Ward ‐ Sa Stake                      Alamo Area Council 583                 3644 Talley Rd                                         San Antonio, TX 78253                                                                  First Class Mail
Chartered Organization         Lds San Antonio Ward ‐ Chino Stake                       California Inland Empire Council 045   6726 Chino Ave                                         Chino, CA 91710‐4604                                                                   First Class Mail
Chartered Organization         Lds San Clemente Ward ‐ San Clemente Stake               Orange County Council 039              470 Camino San Clemente                                San Clemente, CA 92672‐3706                                                            First Class Mail
Chartered Organization         Lds San Destin Ward Highland Hills Stake                 Las Vegas Area Council 328             2217 Mistle Thrush Dr                                  North Las Vegas, NV 89084‐2223                                                         First Class Mail
Chartered Organization         Lds San Diego                                            Logan Heights 20Th (Sp) Ward           5299 Trojan Ave                                        San Diego, CA 92115‐5213                                                               First Class Mail
Chartered Organization         Lds San Diego ‐ La Mesa 8Th Ward                         San Diego Imperial Council 049         4195 Camino Del Rio S                                  San Diego, CA 92108‐4103                                                               First Class Mail
Chartered Organization         Lds San Diego ‐ Sweetwater 1St Ward                      San Diego Imperial Council 049         7044 Lemonwood Ln                                      Lemon Grove, CA 91945‐2127                                                             First Class Mail
Chartered Organization         Lds San Diego ‐ Sweetwater 1St Ward                      San Diego Imperial Council 049         8472 Blossom Ln                                        Lemon Grove, CA 91945‐4229                                                             First Class Mail
Chartered Organization         Lds San Diego‐ Downtown 1St Ward                         San Diego Imperial Council 049         4195 Camino Del Rio S                                  San Diego, CA 92108‐4103                                                               First Class Mail
Chartered Organization         Lds San Diego E Stake Tierrasanta Ward                   San Diego Imperial Council 049         10985 Camino Playa Carmel                              San Diego, CA 92124                                                                    First Class Mail
Chartered Organization         Lds San Diego East ‐ Del Cerro Ward                      San Diego Imperial Council 049         6767 51St St                                           San Diego, CA 92120‐1262                                                               First Class Mail
Chartered Organization         Lds San Diego East ‐ La Mesa 1St Ward                    San Diego Imperial Council 049         5555 Aztec Dr                                          La Mesa, CA 91942‐2109                                                                 First Class Mail
Chartered Organization         Lds San Diego East ‐ La Mesa 2Nd Ward                    San Diego Imperial Council 049         8466 Abilene Ter                                       La Mesa, CA 91942‐2720                                                                 First Class Mail
Chartered Organization         Lds San Diego‐ Mid City 20Th (Sp) Ward                   San Diego Imperial Council 049         5299 Trojan Ave                                        San Diego, CA 92115‐5213                                                               First Class Mail
Chartered Organization         Lds San Diego North                                      University City 1St Ward               2880 Governor Dr                                       San Diego, CA 92122‐2120                                                               First Class Mail
Chartered Organization         Lds San Diego North                                      University City 2Nd Ward               2880 Governor Dr                                       San Diego, CA 92122‐2120                                                               First Class Mail
Chartered Organization         Lds San Diego North ‐ 12Th Ward                          San Diego Imperial Council 049         4741 Mt Abernathy Ave                                  San Diego, CA 92117‐3340                                                               First Class Mail
Chartered Organization         Lds San Diego North‐ 7Th Ward                            San Diego Imperial Council 049         5151 Fanuel St                                         San Diego, CA 92109‐1935                                                               First Class Mail
Chartered Organization         Lds San Diego North‐Linda Vista 1St Ward                 San Diego Imperial Council 049         4741 Mt Abernathy Ave                                  San Diego, CA 92117‐3340                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                   Page 233 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                    Filed 01/06/22                                 Page 249 of 457
                                                                                                                                                                   Exhibit B
                                                                                                                                                                    Service List
                                                                                                                                                             Served as set forth below

        Description                                                       Name                                                                                   Address                                                                         Email              Method of Service
Chartered Organization         Lds San Diego‐ Pt Loma 6Th Ward                          San Diego Imperial Council 049         3705 Tennyson St                                        San Diego, CA 92107‐2409                                          First Class Mail
Chartered Organization         Lds San Diego Stake ‐ Bonita 3Rd Ward                    San Diego Imperial Council 049         3737 Valley Vista Rd                                    Bonita, CA 91902                                                  First Class Mail
Chartered Organization         Lds ‐San Fernando Stake                                  N Hollywood 4th Ward                   2219 N Naomi St                                         Burbank, CA 91504‐3227                                            First Class Mail
Chartered Organization         Lds ‐San Fernando Stake                                  Burbank 5th Ward                       8525 Glenoaks Blvd                                      Sun Valley, CA 91352‐3524                                         First Class Mail
Chartered Organization         Lds ‐San Fernando Stake                                  San Fernando 2nd Ward                  13680 Sayre St                                          Sylmar, CA 91342‐3125                                             First Class Mail
Chartered Organization         Lds ‐San Fernando Stake                                  Van Nuys 5th Ward                      7458 Mclennan Ave                                       Van Nuys, CA 91406‐2716                                           First Class Mail
Chartered Organization         Lds ‐San Fernando Stake                                  Van Nuys 5th Ward                      7519 Gloria Ave                                         Van Nuys, CA 91406‐3046                                           First Class Mail
Chartered Organization         Lds ‐San Fernando Stake‐ Arleta Ward                     W.L.A.C.C. 051                         15555 Saticoy St                                        Van Nuys, CA 91406‐3349                                           First Class Mail
Chartered Organization         Lds ‐San Fernando Stake‐ El Camino Real                  W.L.A.C.C. 051                         7045 Farralone Ave                                      Canoga Park, CA 91303‐1824                                        First Class Mail
Chartered Organization         Lds ‐San Fernando Stake‐ Reseda 4Th Ward                 W.L.A.C.C. 051                         17840 Willard St                                        Reseda, CA 91335‐1557                                             First Class Mail
Chartered Organization         Lds San Francisco 2Nd Fijian Br                          Sf E Stake                             245 Ludeman Ln                                          Millbrae, CA 94030‐1348                                           First Class Mail
Chartered Organization         Lds San Francisco 3Rd Tongan Ward                        Sf E Stake                             245 Ludeman Ln                                          Millbrae, CA 94030‐1348                                           First Class Mail
Chartered Organization         Lds San Francisco 4Th Tongan Ward                        Sf E Stake                             975 Sneath Ln                                           San Bruno, CA 94066‐2403                                          First Class Mail
Chartered Organization         Lds San Jacinto Branch                                   Kingwood Stake                         19618 Atasca Oaks Dr                                    Humble, TX 77346‐2005                                             First Class Mail
Chartered Organization         Lds San Jacinto Ward ‐ Hemet Stake                       California Inland Empire Council 045   425 N Kirby St                                          Hemet, CA 92545‐3633                                              First Class Mail
Chartered Organization         Lds San Jose 1St Ward                                    San Francisco East Stake               20125 Bollinger Rd                                      Cupertino, CA 95014‐4532                                          First Class Mail
Chartered Organization         Lds San Juan Ward ‐ San Clemente Stake                   Orange County Council 039              470 Camino San Clemente                                 San Clemente, CA 92672‐3706                                       First Class Mail
Chartered Organization         Lds San Juan Ward ‐ Santa Ana So Stake                   Orange County Council 039              1800 San Juan St                                        Tustin, CA 92780‐5206                                             First Class Mail
Chartered Organization         Lds San Juan Ward Carmichael Stake                       Golden Empire Council 047              4707 Oakbough Way                                       Carmichael, CA 95608‐1154                                         First Class Mail
Chartered Organization         Lds San Leandro 1St Ward                                 San Leandro Stake                      13901 Bancroft Ave                                      San Leandro, CA 94578‐2609                                        First Class Mail
Chartered Organization         Lds San Lorenzo Valley Ward                              Santa Cruz Stake                       9434 Central Ave                                        Ben Lomond, CA 95005                                              First Class Mail
Chartered Organization         Lds San Lorenzo Ward ‐ San Leandro Stake                 San Francisco Bay Area Council 028     859 Grant Ave                                           San Lorenzo, CA 94580‐1401                                        First Class Mail
Chartered Organization         Lds San Marcos Ward (Spanish)                            S L Granger N Stake                    2835 S 2855 W                                           Salt Lake City, UT 84119                                          First Class Mail
Chartered Organization         Lds San Marcos Ward, Kyle Stake                          Capitol Area Council 564               1905 Lancaster St                                       San Marcos, TX 78666‐2255                                         First Class Mail
Chartered Organization         Lds San Miguel Ward Shadow Mtn Stake                     Las Vegas Area Council 328             5645 W Alexander Rd                                     Las Vegas, NV 89130‐2801                                          First Class Mail
Chartered Organization         Lds San Pedro Ward ‐ North Stake                         Alamo Area Council 583                 17151 Jones Maltsberger Rd                              San Antonio, TX 78247                                             First Class Mail
Chartered Organization         Lds San Ramon 1St Ward ‐ Danville Stake                  Mt Diablo‐Silverado Council 023        5025 Crow Canyon Rd                                     San Ramon, CA 94582‐5547                                          First Class Mail
Chartered Organization         Lds San Ramon 2Nd Ward ‐ Danville Stake                  Mt Diablo‐Silverado Council 023        5025 Crow Canyon Rd                                     San Ramon, CA 94582‐5547                                          First Class Mail
Chartered Organization         Lds San Sevaine Ward                                     Rancho Cucamonga Stake                 6829 Etiwanda Ave                                       Rancho Cucamonga, CA 91739‐9713                                   First Class Mail
Chartered Organization         Lds San Tan 1St Ward ‐ Gilbert Az                        Gateway Stake                          3544 S Atherton Blvd                                    Gilbert, AZ 85297                                                 First Class Mail
Chartered Organization         Lds San Tan 2Nd Ward ‐ Gilbert Az                        Gateway Stake                          3544 S Atherton Blvd                                    Gilbert, AZ 85297                                                 First Class Mail
Chartered Organization         Lds San Tan Branch‐Chandler Az South Stk                 Grand Canyon Council 010               2100 Stotonic Rd                                        Sacaton, AZ 85147                                                 First Class Mail
Chartered Organization         Lds San Tan Heights Ward ‐ Qc Az South Stk               Grand Canyon Council 010               32584 N Gary Rd                                         Queen Creek, AZ 85142                                             First Class Mail
Chartered Organization         Lds San Tan Park Ward ‐ Qc Az                            Chandler Heights Stake                 18550 E Riggs Rd                                        Queen Creek, AZ 85142                                             First Class Mail
Chartered Organization         Lds Sand Creek Ward ‐ Fountain Stake                     Pikes Peak Council 060                 1705 N Murray Blvd                                      Colorado Springs, CO 80915‐1332                                   First Class Mail
Chartered Organization         Lds Sand Lake Ward ‐ Anchorage Stake                     Great Alaska Council 610               3250 Strawberry Rd                                      Anchorage, AK 99502‐3108                                          First Class Mail
Chartered Organization         Lds Sand Springs Ward                                    Layton Legacy Stake                    3161 W 150 N                                            Layton, UT 84041‐8808                                             First Class Mail
Chartered Organization         Lds Sandhill Ward East Stake                             Las Vegas Area Council 328             4068 E Baltimore Ave                                    Las Vegas, NV 89104‐5240                                          First Class Mail
Chartered Organization         Lds Sandia Ward Abq Stake                                Great Swest Council 412                P.O. Box 51751                                          Albuquerque, NM 87181‐1751                                        First Class Mail
Chartered Organization         Lds Sandridge Ward                                       Syracuse South Stake                   2679 S 1000 W                                           Syracuse, UT 84075                                                First Class Mail
Chartered Organization         Lds Sandstone Ward ‐ Hermiston Stake                     Blue Mountain Council 604              1259 Ne Gladys Dr                                       Hermiston, OR 97838‐2659                                          First Class Mail
Chartered Organization         Lds Sandy 19Th Ward/Sandy Ut West Stk                    Great Salt Lake Council 590            8680 S 220 E                                            Sandy, UT 84070                                                   First Class Mail
Chartered Organization         Lds Sandy 1St Ward/Sandy Ut West Stk                     Great Salt Lake Council 590            8680 S 220 E                                            Sandy, UT 84070                                                   First Class Mail
Chartered Organization         Lds Sandy 2Nd Ward/Sandy Ut West Stk                     Great Salt Lake Council 590            586 E 8400 S                                            Sandy, UT 84070                                                   First Class Mail
Chartered Organization         Lds Sandy 4Th (Tngn) Ward                                Sl Ut S (Tongan) Stake                 1280 E Turquoise Way                                    Sandy, UT 84094                                                   First Class Mail
Chartered Organization         Lds Sandy Creek Ward ‐ S St Louis Stake                  Greater St Louis Area Council 312      10851 Business 21                                       Hillsboro, MO 63050                                               First Class Mail
Chartered Organization         Lds Sandy Plains Ward/Marietta E Stake                   Atlanta Area Council 092               3147 Trickum Rd Ne                                      Marietta, GA 30066‐4666                                           First Class Mail
Chartered Organization         Lds Sandy River Ward                                     Mt Hood Oregon Stake                   16317 Se Bluff Rd                                       Sandy, OR 97055‐6529                                              First Class Mail
Chartered Organization         Lds Sandy Ut Cttnwd Crk Stk                              Sandy Ut Cttnwd Crk Stake              1535 E Creek Rd                                         Sandy, UT 84093                                                   First Class Mail
Chartered Organization         Lds Sandy Valley Branch South Stake                      Las Vegas Area Council 328             2700 Jade Ave                                           Sandy Valley, NV 89019                                            First Class Mail
Chartered Organization         Lds Sanford 1St Ward, Manassa Stake                      Rocky Mountain Council 063             P.O. Box 328                                            Sanford, CO 81151‐0328                                            First Class Mail
Chartered Organization         Lds Sanford 2Nd Ward, Manassa Stake                      Rocky Mountain Council 063             20806 County Rd W.5                                     Sanford, CO 81151‐9535                                            First Class Mail
Chartered Organization         Lds Sanford Orlando                                      Central Florida Council 083            2315 S Park Ave                                         Sanford, FL 32771‐4353                                            First Class Mail
Chartered Organization         Lds Sanpitch Ward                                        Utah National Parks 591                80 S 200 W                                              Moroni, UT 84646‐7704                                             First Class Mail
Chartered Organization         Lds Santa Ana Ward ‐ Santa Ana So Stake                  Orange County Council 039              3401 S Greenville St                                    Santa Ana, CA 92704‐7091                                          First Class Mail
Chartered Organization         Lds Santa Barbara Ward                                   Santa Barbara Stake                    2107 Santa Barbara St                                   Santa Barbara, CA 93105‐3543                                      First Class Mail
Chartered Organization         Lds Santa Clara 1St Ward                                 Santa Clara Stake                      3132 River Rd                                           Eugene, OR 97404‐1774                                             First Class Mail
Chartered Organization         Lds Santa Clara 2Nd Ward                                 Santa Clara Stake                      550 N Danebo Ave                                        Eugene, OR 97402‐2264                                             First Class Mail
Chartered Organization         Lds Santa Clara 3Rd Ward                                 Santa Clara Stake                      550 N Danebo Ave                                        Eugene, OR 97402‐2264                                             First Class Mail
Chartered Organization         Lds Santa Clara 4Th Ward                                 Santa Clara Stake                      550 N Danebo Ave                                        Eugene, OR 97402‐2264                                             First Class Mail
Chartered Organization         Lds Santa Clara 6Th Ward                                 Santa Clara Stake                      3132 River Rd                                           Eugene, OR 97404‐1774                                             First Class Mail
Chartered Organization         Lds Santa Clara Eighth Ward                              Utah National Parks 591                3680 Pioneer Pkwy                                       Santa Clara, UT 84765‐5493                                        First Class Mail
Chartered Organization         Lds Santa Clara Eleventh Ward                            Utah National Parks 591                3765 Windmill Dr                                        Santa Clara, UT 84765‐5371                                        First Class Mail
Chartered Organization         Lds Santa Clara Fifteenth Ward                           Utah National Parks 591                3680 Pioneer Pkwy                                       Santa Clara, UT 84765‐5493                                        First Class Mail
Chartered Organization         Lds Santa Clara Fifth Ward                               Utah National Parks 591                3040 Santa Clara Dr                                     Santa Clara, UT 84765‐5305                                        First Class Mail
Chartered Organization         Lds Santa Clara First Ward                               Utah National Parks 591                3043 Santa Clara Dr                                     Santa Clara, UT 84765                                             First Class Mail
Chartered Organization         Lds Santa Clara Fourteenth Ward                          Utah National Parks 591                630 Riesling Ave                                        Santa Clara, UT 84765‐5612                                        First Class Mail
Chartered Organization         Lds Santa Clara Fourth Ward                              Utah National Parks 591                1706 Desert Dawn Dr                                     Santa Clara, UT 84765                                             First Class Mail
Chartered Organization         Lds Santa Clara Second Ward                              Utah National Parks 591                1750 Desert Dawn Dr                                     Santa Clara, UT 84765                                             First Class Mail
Chartered Organization         Lds Santa Clara Seventeenth Ward                         Utah National Parks 591                3089 Somerset Ln                                        Santa Clara, UT 84765‐5404                                        First Class Mail
Chartered Organization         Lds Santa Clara Seventh Ward                             Utah National Parks 591                1706 Desert Dawn Dr                                     Santa Clara, UT 84765                                             First Class Mail
Chartered Organization         Lds Santa Clara Sixteenth Ward                           Utah National Parks 591                3881 Mitchell Dr                                        Santa Clara, UT 84765‐5645                                        First Class Mail
Chartered Organization         Lds Santa Clara Sixth Ward                               Utah National Parks 591                1705 Desert Dawn Dr                                     Santa Clara, UT 84765                                             First Class Mail
Chartered Organization         Lds Santa Clara Stake                                    Oregon Trail Council 697               1860 Cedar Brook Dr                                     Eugene, OR 97402‐1000                                             First Class Mail
Chartered Organization         Lds Santa Clara Tenth Ward                               Utah National Parks 591                630 Riesling Ave                                        Santa Clara, UT 84765‐5612                                        First Class Mail
Chartered Organization         Lds Santa Clara Third Ward                               Utah National Parks 591                3040 Santa Clara Dr                                     Santa Clara, UT 84765‐5305                                        First Class Mail
Chartered Organization         Lds Santa Clara Twelfth Ward                             Utah National Parks 591                630 Riesling Ave                                        Santa Clara, UT 84765‐5612                                        First Class Mail
Chartered Organization         Lds Santa Clara Ward Camarillo Stake                     Ventura County Council 057             3301 W Gonzales Rd                                      Oxnard, CA 93036‐7769                                             First Class Mail
Chartered Organization         Lds Santa Clara Ward, Los Altos Stake                    Pacific Skyline Council 031            875 Quince Ave                                          Santa Clara, CA 95051‐5292                                        First Class Mail
Chartered Organization         Lds ‐Santa Clarita Stake                                 Mint Canyon Ward                       27050 Sand Canyon Rd                                    Canyon Country, CA 91387‐3931                                     First Class Mail
Chartered Organization         Lds ‐Santa Clarita Stake                                 Canyon Country 2nd Ward                19513 Drycliff St                                       Santa Clarita, CA 91351‐2031                                      First Class Mail
Chartered Organization         Lds ‐Santa Clarita Stake                                 Saugus 2nd Ward                        27405 Bouquet Canyon Rd                                 Saugus, CA 91350‐3709                                             First Class Mail
Chartered Organization         Lds ‐Santa Clarita Stake                                 Saugus 3rd Ward                        27405 Bouquet Canyon Rd                                 Saugus, CA 91350‐3709                                             First Class Mail
Chartered Organization         Lds ‐Santa Clarita Stake‐ Solemint Ward                  W.L.A.C.C. 051                         27050 Sand Canyon Rd                                    Canyon Country, CA 91387‐3931                                     First Class Mail
Chartered Organization         Lds Santa Cruz Ward ‐ Maricopa Az Stk                    Grand Canyon Council 010               37280 W Bowlin Rd                                       Maricopa, AZ 85138                                                First Class Mail
Chartered Organization         Lds Santa Cruz Ward ‐ Santa Cruz Stake                   Silicon Valley Monterey Bay 055        220 Elk St                                              Santa Cruz, CA 95065‐1309                                         First Class Mail
Chartered Organization         Lds Santa Fe Branch Independence Stake                   Heart Of America Council 307           5609 Norfleet Rd                                        Kansas City, MO 64133‐3671                                        First Class Mail
Chartered Organization         Lds Santa Fe Ward ‐ Peoria Az Stk                        Grand Canyon Council 010               12931 N 83Rd Ave                                        Peoria, AZ 85381                                                  First Class Mail
Chartered Organization         Lds Santa Fe Ward Santa Fe Stake                         Great Swest Council 412                410 Rodeo Rd                                            Santa Fe, NM 87505‐6308                                           First Class Mail
Chartered Organization         Lds Santa Gertrudes Ward Whittier Stake                  Greater Los Angeles Area 033           15265 Mulberry Dr                                       Whittier, CA 90604‐1531                                           First Class Mail
Chartered Organization         Lds Santa Margarita Ward                                 Santa Margarita Stake                  30522 Via Con Dios                                      Rancho Santa Margarita, CA 92688‐1530                             First Class Mail
Chartered Organization         Lds Santa Maria 1St Ward                                 Santa Maria Stake                      908 Sierra Madre Ave                                    Santa Maria, CA 93454                                             First Class Mail
Chartered Organization         Lds Santa Maria 2Nd Ward                                 Santa Maria Stake                      1219 Oak Knoll Rd                                       Santa Maria, CA 93455‐4303                                        First Class Mail
Chartered Organization         Lds Santa Maria 3Rd Ward                                 Santa Maria Stake                      1219 Oak Knoll Rd                                       Santa Maria, CA 93455‐4303                                        First Class Mail
Chartered Organization         Lds Santa Monica Stake                                   W L A C C 051                          3400 Sawtelle Blvd                                      Los Angeles, CA 90066‐2109                                        First Class Mail
Chartered Organization         Lds Santa Monica Stake                                   Pacific Palisades Ward                 575 Los Liones Dr                                       Pacific Palisades, CA 90272‐3012                                  First Class Mail
Chartered Organization         Lds Santa Monica Stake                                   Santa Monica 1St Ward                  3400 Sawtelle Blvd                                      Santa Monica, CA 90401                                            First Class Mail
Chartered Organization         Lds Santa Paula Ward Ventura Stake                       Ventura County Council 057             604 Ojai Rd                                             Santa Paula, CA 93060                                             First Class Mail
Chartered Organization         Lds Santa Rita Ward ‐ Mesa Az                            Desert Ridge Stake                     2647 S Signal Butte Rd                                  Mesa, AZ 85209‐2100                                               First Class Mail
Chartered Organization         Lds Santa Rosa Ward ‐ Palm Desert Stake                  California Inland Empire Council 045   40840 Washington St                                     Bermuda Dunes, CA 92203‐9588                                      First Class Mail
Chartered Organization         Lds Santa Rosa Ward Camarillo Stake                      Ventura County Council 057             4345 Las Posas Rd                                       Camarillo, CA 93010‐2538                                          First Class Mail
Chartered Organization         Lds Santa Susana 1St Ward Simi Vly Stake                 Ventura County Council 057             5028 Cochran St                                         Simi Valley, CA 93063‐3063                                        First Class Mail
Chartered Organization         Lds Santa Susana 2Nd Ward Simi Stake                     Ventura County Council 057             5028 Cochran St                                         Simi Valley, CA 93063‐3063                                        First Class Mail
Chartered Organization         Lds Santa Susana 3Rd Ward Simi Stake                     Ventura County Council 057             3979 Township Ave                                       Simi Valley, CA 93063‐1067                                        First Class Mail
Chartered Organization         Lds Santa Susana 5Th Ward Simi Stake                     Ventura County Council 057             5028 Cochran St                                         Simi Valley, CA 93063‐3063                                        First Class Mail
Chartered Organization         Lds Santaquin Eighteenth Ward                            Utah National Parks 591                179 W 730 N                                             Santaquin, UT 84655‐8280                                          First Class Mail
Chartered Organization         Lds Santaquin Eighth Ward                                Utah National Parks 591                250 S 580 E                                             Santaquin, UT 84655                                               First Class Mail
Chartered Organization         Lds Santaquin Eleventh Branch (Spanish)                  Utah National Parks 591                345 W 100 N                                             Santaquin, UT 84655                                               First Class Mail
Chartered Organization         Lds Santaquin Fifteenth Ward                             Utah National Parks 591                45 S 500 W                                              Santaquin, UT 84655                                               First Class Mail
Chartered Organization         Lds Santaquin Fifth Ward                                 Utah National Parks 591                555 N 200 E                                             Santaquin, UT 84655                                               First Class Mail
Chartered Organization         Lds Santaquin First Ward                                 Utah National Parks 591                545 N 200 E                                             Santaquin, UT 84655                                               First Class Mail
Chartered Organization         Lds Santaquin Fourteenth Ward                            Utah National Parks 591                13168 S 6570 W                                          Santaquin, UT 84655‐6046                                          First Class Mail
Chartered Organization         Lds Santaquin Fourth Ward                                Utah National Parks 591                545 N 200 E                                             Santaquin, UT 84655                                               First Class Mail
Chartered Organization         Lds Santaquin Ninteenth Ward                             Utah National Parks 591                364 W 650 N                                             Santaquin, UT 84655‐5109                                          First Class Mail
Chartered Organization         Lds Santaquin Ninth Ward                                 Utah National Parks 591                545 N 200 E                                             Santaquin, UT 84655                                               First Class Mail
Chartered Organization         Lds Santaquin Second Ward                                Utah National Parks 591                260 S 580 E                                             Santaquin, UT 84655                                               First Class Mail
Chartered Organization         Lds Santaquin Sixteenth Ward                             Utah National Parks 591                250 S 580 E                                             Santaquin, UT 84655                                               First Class Mail
Chartered Organization         Lds Santaquin Sixth Ward                                 Utah National Parks 591                545 N 200 E                                             Santaquin, UT 84655                                               First Class Mail
Chartered Organization         Lds Santaquin Tenth Ward                                 Utah National Parks 591                223 N 910 E                                             Santaquin, UT 84655‐5530                                          First Class Mail
Chartered Organization         Lds Santaquin Third Ward                                 Utah National Parks 591                45 S 500 W                                              Santaquin, UT 84655                                               First Class Mail
Chartered Organization         Lds Santaquin Thirteenth Ward                            Utah National Parks 591                90 S 200 E                                              Santaquin, UT 84655‐5567                                          First Class Mail
Chartered Organization         Lds Santaquin Twelfth Ward                               Utah National Parks 591                200 E 100 S                                             Santaquin, UT 84655                                               First Class Mail
Chartered Organization         Lds Santaquin Twenty Second                              Utah National Parks 591                250 S 580 E                                             Santaquin, UT 84655                                               First Class Mail
Chartered Organization         Lds Sante Fe Ward ‐ Hesperia Stake                       California Inland Empire Council 045   9533 Maple Ave                                          Hesperia, CA 92345                                                First Class Mail
Chartered Organization         Lds Santee ‐ Bostonia Ward                               San Diego Imperial Council 049         1330 El Rey Ave                                         El Cajon, CA 92021‐3441                                           First Class Mail
Chartered Organization         Lds Santee ‐ El Norte Ward                               San Diego Imperial Council 049         10954 Valle Vista Rd                                    Lakeside, CA 92040‐1730                                           First Class Mail
Chartered Organization         Lds Santee ‐ El Rey Ward                                 San Diego Imperial Council 049         9334 W Heaney Cir                                       Santee, CA 92071‐2452                                             First Class Mail
Chartered Organization         Lds Santee ‐ Grossmont Ward                              San Diego Imperial Council 049         7007 Renkrib Ave                                        San Diego, CA 92119‐1311                                          First Class Mail
Chartered Organization         Lds Santee ‐ Lakeside 1St Ward                           San Diego Imperial Council 049         13817 Deanly Way                                        Lakeside, CA 92040‐4849                                           First Class Mail
Chartered Organization         Lds Santee ‐ West Hills Ward                             San Diego Imperial Council 049         9209 Galston Dr                                         Santee, CA 92071‐2110                                             First Class Mail
Chartered Organization         Lds Santiago Creek Ward ‐ Orange Stake                   Orange County Council 039              674 S Yorba St                                          Orange, CA 92869‐5042                                             First Class Mail
Chartered Organization         Lds Sapulpa Ward ‐ Tulsa Ok Stake                        Indian Nations Council 488             950 Pioneer Rd                                          Sapulpa, OK 74066                                                 First Class Mail
Chartered Organization         Lds Sarasota Ward Srq Stake                              Southwest Florida Council 088          7001 Beneva Rd                                          Sarasota, FL 34238‐2803                                           First Class Mail
Chartered Organization         Lds Saratoga Hills Fifth Ward                            Utah National Parks 591                1466 S Allison Way                                      Saratoga Springs, UT 84045‐3823                                   First Class Mail
Chartered Organization         Lds Saratoga Hills First Ward                            Utah National Parks 591                1178 Ponside Dr                                         Saratoga Springs, UT 84045                                        First Class Mail
Chartered Organization         Lds Saratoga Hills Fourth Ward                           Utah National Parks 591                722 W Primrose Path                                     Saratoga Springs, UT 84045‐5108                                   First Class Mail
Chartered Organization         Lds Saratoga Hills Second Ward                           Utah National Parks 591                1187 Pondside Rd                                        Saratoga Springs, UT 84045                                        First Class Mail
Chartered Organization         Lds Saratoga Hills Seventh Ward                          Utah National Parks 591                1479 S Garden View Ct                                   Saratoga Springs, UT 84045‐4980                                   First Class Mail
Chartered Organization         Lds Saratoga Hills Sixth Ward                            Utah National Parks 591                1691 S Landrock Dr                                      Saratoga Springs, UT 84045‐6553                                   First Class Mail
Chartered Organization         Lds Saratoga Hills Third Ward                            Utah National Parks 591                304 W Farmside Dr                                       Saratoga Springs, UT 84045‐4850                                   First Class Mail
Chartered Organization         Lds Saratoga Spgs Sixth Ward (Spanish)                   Utah National Parks 591                1284 N Commerce Dr Apt G101                             Saratoga Springs, UT 84045‐4736                                   First Class Mail
Chartered Organization         Lds Saratoga Springs 12Th Branch                         Utah National Parks 591                4194 N Bay Cir                                          Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Saratoga Springs Eighth Ward                         Utah National Parks 591                2161 W Grays Dr                                         Lehi, UT 84043                                                    First Class Mail
Chartered Organization         Lds Saratoga Springs Fifth Ward                          Utah National Parks 591                1702 S Range Rd                                         Saratoga Springs, UT 84045‐3947                                   First Class Mail
Chartered Organization         Lds Saratoga Springs First Ward                          Utah National Parks 591                776 S Saratoga Dr                                       Saratoga Springs, UT 84045‐8108                                   First Class Mail
Chartered Organization         Lds Saratoga Springs Fourth Ward                         Utah National Parks 591                49 E Centennial Blvd                                    Saratoga Springs, UT 84045                                        First Class Mail
Chartered Organization         Lds Saratoga Springs Second Ward                         Utah National Parks 591                865 S Beck Ct                                           Saratoga Springs, UT 84045‐8113                                   First Class Mail
Chartered Organization         Lds Saratoga Springs Seventh Ward                        Utah National Parks 591                650 W 400 N                                             Saratoga Springs, UT 84045                                        First Class Mail
Chartered Organization         Lds Saratoga Springs Tenth Ward                          Utah National Parks 591                650 W 400 N                                             Saratoga Springs, UT 84045                                        First Class Mail
Chartered Organization         Lds Saratoga Springs Third Ward                          Utah National Parks 591                1022 S Waterside Dr                                     Saratoga Springs, UT 84045‐8152                                   First Class Mail
Chartered Organization         Lds Saratoga Ward ‐ Alliance Stake                       Longhorn Council 662                   2509 Trophy Club Dr                                     Trophy Club, TX 76262                                             First Class Mail
Chartered Organization         Lds Saratoga Ward ‐ Saratoga Stake                       Silicon Valley Monterey Bay 055        19100 Allendale Ave                                     Saratoga, CA 95070‐5163                                           First Class Mail
Chartered Organization         Lds Saratoga Ward, Albany Stake                          Twin Rivers Council 364                1 Glenmore Ave                                          Saratoga Springs, NY 12866‐6025                                   First Class Mail
Chartered Organization         Lds Sarival Ward ‐ Goodyear Az Stk                       Grand Canyon Council 010               425 S Estrella Pkwy                                     Goodyear, AZ 85338                                                First Class Mail
Chartered Organization         Lds Satellite Hills Ward                                 Sparks East Stake                      5195 Orinda Dr                                          Sparks, NV 89436‐3615                                             First Class Mail
Chartered Organization         Lds Sauniatu (Samoan) Ward                               Taylorsville Ut Central Stake          4950 S 1950 W                                           Taylorsville, UT 84118                                            First Class Mail
Chartered Organization         Lds Savage Mill Ward Columbia Stake                      Baltimore Area Council 220             6020 10 Oaks Rd                                         Clarksville, MD 21029‐1163                                        First Class Mail
Chartered Organization         Lds Savannah Ward ‐ Surprise Az West Stk                 Grand Canyon Council 010               19270 W Indian School Rd                                Litchfield Park, AZ 85340                                         First Class Mail
Chartered Organization         Lds Savory Ponds Ward, Westminster Stake                 Denver Area Council 061                13370 Lowell Blvd                                       Broomfield, CO 80020‐5540                                         First Class Mail
Chartered Organization         Lds Sawtooth Creek Ward                                  Settlers Park Stake                    2023 W Bellagio Dr                                      Meridian, ID 83646‐4758                                           First Class Mail
Chartered Organization         Lds Scappoose Ward Rainier Stake                         Cascade Pacific Council 492            2755 Sykes Rd                                           St Helens, OR 97051‐2710                                          First Class Mail
Chartered Organization         Lds Scenic Ward Kent Stake                               Chief Seattle Council 609              12817 Se 256Th St                                       Kent, WA 98030‐7921                                               First Class Mail
Chartered Organization         Lds Schertz Ward ‐ East Stake                            Alamo Area Council 583                 1142 Fm 1103                                            Cibolo, TX 78108‐3738                                             First Class Mail
Chartered Organization         Lds Schoens Ward ‐ Silver Creek Az Stk                   Grand Canyon Council 010               300 W Willow Ln                                         Taylor, AZ 85939                                                  First Class Mail
Chartered Organization         Lds Scioto Ward Columbus                                 Simon Kenton Council 441               2400 Red Rock Blvd                                      Grove City, OH 43123‐1134                                         First Class Mail
Chartered Organization         Lds Scipio Ward                                          Utah National Parks 591                Gen Del                                                 Scipio, UT 84656                                                  First Class Mail
Chartered Organization         Lds Scituate Ward                                        Narragansett 546                       551 Central Pike                                        Scituate, RI 02857‐1509                                           First Class Mail
Chartered Organization         Lds Scotch Plains 1St Ward Scotch Plains                 Patriots Path Council 358              1781 Raritan Rd                                         Scotch Plains, NJ 07076‐2927                                      First Class Mail
Chartered Organization         Lds Scouters Assoc                                       Mount Baker Council, Bsa 606           7500 50Th Pl Ne                                         Marysville, WA 98270‐8513                                         First Class Mail
Chartered Organization         Lds Scouters Mtn Ward Portland Stake                     Cascade Pacific Council 492            10300 Se 132Nd Ave                                      Happy Valley, OR 97086‐6162                                       First Class Mail
Chartered Organization         Lds Seabeck Ward Bremerton Stake                         Chief Seattle Council 609              11070 Old Frontier Rd Nw                                Silverdale, WA 98383‐8887                                         First Class Mail
Chartered Organization         Lds Seabrook‐League City                                 Bay Area Council 574                   4655 S Shore Blvd                                       League City, TX 77573‐5815                                        First Class Mail
Chartered Organization         Lds Seaford Ward ‐ Dover De Stake                        Del Mar Va 081                         800 Fleetwood Dr                                        Seaford, DE 19973‐1216                                            First Class Mail
Chartered Organization         Lds Seapoint Ward ‐ Huntington Beach Stake               Orange County Council 039              19191 17Th St                                           Huntington Beach, CA 92648                                        First Class Mail
Chartered Organization         Lds Seaside Ward ‐ Monterey Stake                        Silicon Valley Monterey Bay 055        1024 Noche Buena St                                     Seaside, CA 93955                                                 First Class Mail
Chartered Organization         Lds Seaside Ward Rainier Stake                           Cascade Pacific Council 492            91160 Hwy 101                                           Warrenton, OR 97146‐7337                                          First Class Mail
Chartered Organization         Lds Seattle Hill Ward Everett Stake                      Mount Baker Council, Bsa 606           11915 29Th Ave Se                                       Everett, WA 98208‐6022                                            First Class Mail
Chartered Organization         Lds Sebastopol Ward                                      Redwood Empire Council 041             8100 Valentine Ave                                      Sebastopol, CA 95472‐3218                                         First Class Mail
Chartered Organization         Lds Second Ward                                          Sl Liberty Stake Lds Chruch            655 E 900 S                                             Salt Lake City, UT 84105‐1128                                     First Class Mail
Chartered Organization         Lds Sedalia Ward ‐ Warrensburg Stake                     Great Rivers Council 653               1201 W Broadway Blvd                                    Sedalia, MO 65301‐5340                                            First Class Mail
Chartered Organization         Lds Sedona Ward ‐ Cottonwood Az Stk                      Grand Canyon Council 010               160 Mormon Hill Rd                                      Sedona, AZ 86336                                                  First Class Mail
Chartered Organization         Lds Sego Lily Ward                                       Utah National Parks 591                985 N 400 E                                             Lehi, UT 84043‐1214                                               First Class Mail
Chartered Organization         Lds Sego Lily Ward                                       Sandy Ut Granite S Stake               10312 S Ashley Park Dr                                  Sandy, UT 84092                                                   First Class Mail
Chartered Organization         Lds Sego Lily Ward/Sandy Ut Central Stk                  Great Salt Lake Council 590            9824 S Flint Dr                                         Sandy, UT 84094                                                   First Class Mail
Chartered Organization         Lds Seguin Ward ‐ Kyle Stake                             Alamo Area Council 583                 1111 E College St                                       Seguin, TX 78155‐3960                                             First Class Mail
Chartered Organization         Lds Selah 1St Ward/Selah Stake                           Grand Columbia Council 614             970 Tibbling Rd                                         Selah, WA 98942‐9258                                              First Class Mail
Chartered Organization         Lds Selah 2Nd Ward/Selah Stake                           Grand Columbia Council 614             980 Lancaster Rd                                        Selah, WA 98942‐9499                                              First Class Mail
Chartered Organization         Lds Selah‐Cle Elum Ward Selah Stake                      Grand Columbia Council 614             P.O. Box 1090                                           Cle Elum, WA 98922‐2090                                           First Class Mail
Chartered Organization         Lds Seminole                                             Last Frontier Council 480              35226 Ew 1235                                           Seminole, OK 74868‐5878                                           First Class Mail
Chartered Organization         Lds Semoran Orlando                                      Central Florida Council 083            45 E Par St                                             Orlando, FL 32804‐3928                                            First Class Mail
Chartered Organization         Lds Senatobia Ward ‐ Memphis Stake                       Chickasaw Council 558                  Hwy 4 W                                                 Senatobia, MS 38668                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                    Page 234 of 442
                                                                                   Case 20-10343-LSS                                  Doc 8171                                  Filed 01/06/22                       Page 250 of 457
                                                                                                                                                                   Exhibit B
                                                                                                                                                                    Service List
                                                                                                                                                             Served as set forth below

        Description                                                         Name                                                                                 Address                                                               Email              Method of Service
Chartered Organization         Lds Seneca Ward                                            Blue Ridge Council 551                 5003 Wells Hwy                                    Seneca, SC 29678‐4608                                       First Class Mail
Chartered Organization         Lds Seneca Ward                                            Blue Ridge Council 551                 5003 Wells Hwy                                    Seneca, SC 29678‐4608                                       First Class Mail
Chartered Organization         Lds Seneca Ward Seneca Stake                               National Capital Area Council 082      18900 Kingsview Rd                                Germantown, MD 20874‐1413                                   First Class Mail
Chartered Organization         Lds Seoul English Branch                                   Far E Council 803                      160 Dangsang‐Dong 2Ga                             Apo, AP 96205                                               First Class Mail
Chartered Organization         Lds Sequim Bay Ward Port Angeles Stake                     Chief Seattle Council 609              815 W Washington St                               Sequim, WA 98382                                            First Class Mail
Chartered Organization         Lds Serenada Ward Round Rock East Stake                    Capitol Area Council 564               218 Serenada Dr                                   Georgetown, TX 78628‐1518                                   First Class Mail
Chartered Organization         Lds Serene Ward Warm Springs Stake                         Las Vegas Area Council 328             10970 S Bermuda Rd                                Henderson, NV 89052‐8666                                    First Class Mail
Chartered Organization         Lds Serenity Hills Ward                                    Utah National Parks 591                1762 S River Rd                                   St George, UT 84790                                         First Class Mail
Chartered Organization         Lds Sern Hills Ward Blue Diamond Stake                     Las Vegas Area Council 328             7885 W Robindale Rd                               Las Vegas, NV 89113‐4054                                    First Class Mail
Chartered Organization         Lds Sern Hills‐Spgfield S Stake                            Ozark Trails Council 306               4450 S Farm Rd 141                                Springfield, MO 65810‐1400                                  First Class Mail
Chartered Organization         Lds Serramonte Ward, San Mateo Stake                       Pacific Skyline Council 031            1399 Brunswick St                                 Daly City, CA 94014‐1871                                    First Class Mail
Chartered Organization         Lds Settlers Bay Ward ‐ Wasilla Stake                      Great Alaska Council 610               108685 W Horizon Dr                               Wasilla, AK 99687                                           First Class Mail
Chartered Organization         Lds Settlers Bridge Ward ‐ Mer Stk                         Ore‐Ida Council 106 ‐ Bsa 106          3775 E Ustick Rd                                  Meridian, ID 83646                                          First Class Mail
Chartered Organization         Lds Settlers Meadow Ward ‐ Gilbert Az                      Greenfield Stake                       302 S Catalina St                                 Gilbert, AZ 85233‐6402                                      First Class Mail
Chartered Organization         Lds Seven Hills Ward Anthem Hills Stake                    Las Vegas Area Council 328             10970 S Bermuda Rd                                Henderson, NV 89052‐8666                                    First Class Mail
Chartered Organization         Lds Seven Hills Ward, Aurora South Stake                   Denver Area Council 061                3101 S Flanders St                                Aurora, CO 80013                                            First Class Mail
Chartered Organization         Lds Sevierville Knoxville                                  Great Smoky Mountain Council 557       401 Hardin Ln                                     Sevierville, TN 37862                                       First Class Mail
Chartered Organization         Lds Seville Groves Ward ‐ Qc Az                            Chandler Heights Stake                 3444 E Vallejo Ct                                 Gilbert, AZ 85298‐8980                                      First Class Mail
Chartered Organization         Lds Seville Park Ward ‐ Qc Az                              Chandler Heights Stake                 18550 E Riggs Rd                                  Queen Creek, AZ 85142                                       First Class Mail
Chartered Organization         Lds Seville Ward ‐ Qc Az                                   Chandler Heights Stake                 7201 S 164Th St                                   Queen Creek, AZ 85298                                       First Class Mail
Chartered Organization         Lds Sewell Ward Cherry Hill Nj Stake                       Garden State Council 690               259 Lambs Rd                                      Sewell, NJ 08080                                            First Class Mail
Chartered Organization         Lds Sf 5Th Samoan Ward                                     San Francisco Stake                    730 Sharp Park Rd                                 Pacifica, CA 94044‐2463                                     First Class Mail
Chartered Organization         Lds Shadow Canyon Ward Carnegie Stake                      Las Vegas Area Council 328             2091 Wigwam Pkwy                                  Henderson, NV 89074                                         First Class Mail
Chartered Organization         Lds Shadow Hills Ward ‐ Palm Desert Stake                  California Inland Empire Council 045   40840 Washington St                               Bermuda Dunes, CA 92203‐9588                                First Class Mail
Chartered Organization         Lds Shadow Lake Ward Maple Valley Stake                    Chief Seattle Council 609              Se 240th St                                       Maple Valley, WA 98038                                      First Class Mail
Chartered Organization         Lds Shadow Mtn Ward                                        Paradise Valley Az Stake               3010 E Thunderbird Rd                             Phoenix, AZ 85032‐5610                                      First Class Mail
Chartered Organization         Lds Shadow Ranch Ward                                      Sparks East Stake                      7625 Shadow Ln                                    Sparks, NV 89434                                            First Class Mail
Chartered Organization         Lds Shadow Ridge Ward                                      Weber Heights Stake                    1401 Country Hills Dr                             Ogden, UT 84403                                             First Class Mail
Chartered Organization         Lds Shadow Ridge Ward Tule Springs Stake                   Las Vegas Area Council 328             5140 Georgetown Cove Ct                           Las Vegas, NV 89131‐5253                                    First Class Mail
Chartered Organization         Lds Shadow Run Ward                                        Herriman Ut Mountain View Stake        14068 S 5600 W                                    Herriman, UT 84096                                          First Class Mail
Chartered Organization         Lds Shadowbrook Ward                                       Kaysville South Stake                  162 E Burton                                      Kaysville, UT 84037                                         First Class Mail
Chartered Organization         Lds Shafer View Ward ‐ Mer S Stk                           Ore‐Ida Council 106 ‐ Bsa 106          1695 E Amity Rd                                   Meridian, ID 83642                                          First Class Mail
Chartered Organization         Lds Shallotte Ward/Wilmington Nc Stake                     Cape Fear Council 425                  4669 Mintz St                                     Shallotte, NC 28470                                         First Class Mail
Chartered Organization         Lds Shallowford Ward/Marietta East Stake                   Atlanta Area Council 092               2605 Chadwick Rd                                  Marietta, GA 30066‐2139                                     First Class Mail
Chartered Organization         Lds Shamrock Farms Ward ‐ Qc Az                            Chandler Heights Stake                 6014 S Mack Ave                                   Gilbert, AZ 85298‐8710                                      First Class Mail
Chartered Organization         Lds Shamrock Ward ‐ Mer E Stk                              Ore‐Ida Council 106 ‐ Bsa 106          Shamrock & Mcmillian                              Boise, ID 83713                                             First Class Mail
Chartered Organization         Lds Sharon East Stake Eleven Year Olds                     Utah National Parks 591                865 E 2390 N                                      Provo, UT 84604‐4085                                        First Class Mail
Chartered Organization         Lds Sharon Eighth Ward                                     Utah National Parks 591                630 S 700 E                                       Orem, UT 84097‐4418                                         First Class Mail
Chartered Organization         Lds Sharon Fifth Ward                                      Utah National Parks 591                545 S 800 E                                       Orem, UT 84097‐6515                                         First Class Mail
Chartered Organization         Lds Sharon First Ward                                      Utah National Parks 591                770 S 590 E                                       Orem, UT 84097‐6503                                         First Class Mail
Chartered Organization         Lds Sharon Fourth Ward                                     Utah National Parks 591                583 S 700 E                                       Orem, UT 84097‐4417                                         First Class Mail
Chartered Organization         Lds Sharon Park Eighth Ward                                Utah National Parks 591                600 N 150 E                                       Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Sharon Park Fifth Ward                                 Utah National Parks 591                238 E 550 N                                       Orem, UT 84057‐4036                                         First Class Mail
Chartered Organization         Lds Sharon Park First Ward                                 Utah National Parks 591                270 N 150 E                                       Orem, UT 84057‐4734                                         First Class Mail
Chartered Organization         Lds Sharon Park Fourth Ward                                Utah National Parks 591                300 N 100 E                                       Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Sharon Park Second Ward                                Utah National Parks 591                346 N 360 E                                       Orem, UT 84057‐4879                                         First Class Mail
Chartered Organization         Lds Sharon Park Seventh Ward                               Utah National Parks 591                39 W 700 N                                        Orem, UT 84057‐3831                                         First Class Mail
Chartered Organization         Lds Sharon Park Sixth Ward                                 Utah National Parks 591                150 E 600 N                                       Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Sharon Park Third Ward                                 Utah National Parks 591                225 E 200 N                                       Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Sharon Park Thirteenth Ward                            (Spanish)                              85 E 700 N                                        Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Sharon Second Ward                                     Utah National Parks 591                446 E 400 S                                       Orem, UT 84097‐6406                                         First Class Mail
Chartered Organization         Lds Sharon Sixth Ward                                      Utah National Parks 591                545 S 800 E                                       Orem, UT 84097‐6515                                         First Class Mail
Chartered Organization         Lds Sharon Springs Ward                                    Sugar Hill Stake                       510 Brannon Rd                                    Cumming, GA 30041‐6436                                      First Class Mail
Chartered Organization         Lds Sharon Third Ward                                      Utah National Parks 591                361 S 400 E                                       Orem, UT 84097‐5573                                         First Class Mail
Chartered Organization         Lds Sharpsburg Ward Fayetteville Stake                     Flint River Council 095                157 Bob Smith Rd                                  Sharpsburg, GA 30277‐2341                                   First Class Mail
Chartered Organization         Lds Shasta Lake Ward Redding Stake                         Golden Empire Council 047              P.O. Box 839                                      Shasta Lake, CA 96019‐0839                                  First Class Mail
Chartered Organization         Lds Shaw Butte Ward ‐ Phoenix Az North Stk                 Grand Canyon Council 010               325 E Coral Gables Dr                             Phoenix, AZ 85022‐3605                                      First Class Mail
Chartered Organization         Lds Shawano Branch Green Bay Wi Stake                      Bay‐Lakes Council 635                  910 E Zingler Ave                                 Shawano, WI 54166‐3546                                      First Class Mail
Chartered Organization         Lds Shawnee Ward Stillwater Stake                          Last Frontier Council 480              1501 E Independence St                            Shawnee, OK 74804‐4241                                      First Class Mail
Chartered Organization         Lds Sheboygan Ward Appleton Wi Stake                       c/o Carlos Uceda                       620 S 8Th St Apt 215                              Sheboygan, WI 53081‐4450                                    First Class Mail
Chartered Organization         Lds Shelby Branch, Great Falls Stake                       Montana Council 315                    916 Wwood Ave                                     Shelby, MT 59474                                            First Class Mail
Chartered Organization         Lds Shelby Ward, Great Falls Stake                         Montana Council 315                    915 Westwood Ave                                  Shelby, MT 59474‐1532                                       First Class Mail
Chartered Organization         Lds Shelbyville Ward                                       Lincoln Heritage Council 205           1113 Mt Eden Rd                                   Shelbyville, KY 40065‐7818                                  First Class Mail
Chartered Organization         Lds Shelbyville Ward                                       Lincoln Heritage Council 205           3117 Hebron Rd                                    Shelbyville, KY 40065‐9813                                  First Class Mail
Chartered Organization         Lds Sheldon Ward Elk Grove Stake                           Golden Empire Council 047              8925 Vintage Park Dr                              Sacramento, CA 95829‐1612                                   First Class Mail
Chartered Organization         Lds Shelley South Stake                                    Shelley 7Th Ward                       675 S Milton Ave                                  Shelley, ID 83274                                           First Class Mail
Chartered Organization         Lds Shelley South Stake                                    Shelley 3Rd Ward                       513 S Park Ave                                    Shelley, ID 83274‐1433                                      First Class Mail
Chartered Organization         Lds Shelley South Stake                                    Shelley 5Th Ward                       513 S Park Ave                                    Shelley, ID 83274‐1433                                      First Class Mail
Chartered Organization         Lds Shelley South Stake                                    Mountainview Ward                      1089 N 1200 E                                     Shelley, ID 83274‐5326                                      First Class Mail
Chartered Organization         Lds Shelley South Stake ‐ Foundry Ward                     Grand Teton Council 107                675 S Milton Ave                                  Shelley, ID 83274                                           First Class Mail
Chartered Organization         Lds Shelley South Stake ‐ Jameston Ward                    Grand Teton Council 107                1250 N 1100 E                                     Shelley, ID 83274‐5112                                      First Class Mail
Chartered Organization         Lds Shelley South Stake ‐ Sandcreek Ward                   Grand Teton Council 107                1101 E 1250 N                                     Shelley, ID 83274‐5131                                      First Class Mail
Chartered Organization         Lds Shelley South Stake ‐ Taylor Ward                      Grand Teton Council 107                1398 N 1100 E                                     Shelley, ID 83274‐5113                                      First Class Mail
Chartered Organization         Lds Shelley Stake ‐ Shelley 10Th Ward                      Grand Teton Council 107                1555 N 700 E                                      Shelley, ID 83274‐5006                                      First Class Mail
Chartered Organization         Lds Shelley Stake ‐ Shelley 12Th Ward                      Grand Teton Council 107                325 E Locust                                      Shelley, ID 83274                                           First Class Mail
Chartered Organization         Lds Shelley Stake ‐ Shelley 1St Ward                       Grand Teton Council 107                184 N Park Ave                                    Shelley, ID 83274‐1180                                      First Class Mail
Chartered Organization         Lds Shelley Stake ‐ Shelley 2Nd Ward                       Grand Teton Council 107                325 E Locust St                                   Shelley, ID 83274                                           First Class Mail
Chartered Organization         Lds Shelley Stake ‐ Shelley 4Th Ward                       Grand Teton Council 107                184 N Park Ave                                    Shelley, ID 83274‐1180                                      First Class Mail
Chartered Organization         Lds Shelley Stake ‐ Shelley 6Th Ward                       Grand Teton Council 107                325 E Locust St                                   Shelley, ID 83274                                           First Class Mail
Chartered Organization         Lds Shelley Stake ‐ Shelley 8Th Ward                       Grand Teton Council 107                184 N Park Ave                                    Shelley, ID 83274‐1180                                      First Class Mail
Chartered Organization         Lds Shelley Stake ‐ Woodville 1St Ward                     Grand Teton Council 107                1555 N 700 E                                      Shelley, ID 83274‐5006                                      First Class Mail
Chartered Organization         Lds Shelley Stake ‐ Woodville 2Nd Ward                     Grand Teton Council 107                7440 S 4500 W                                     Idaho Falls, ID 83402                                       First Class Mail
Chartered Organization         Lds Shenandoah Vly Ward                                    Winchester, Va Stake                   230 Justes Dr                                     Winchester, VA 22602                                        First Class Mail
Chartered Organization         Lds Shenandoah Ward Council Bluff Stake                    Mid‐America Council 326                507 E Pioneer Ave                                 Shenandoah, IA 51601‐2613                                   First Class Mail
Chartered Organization         Lds Shenandoah Ward Council Bluffs Stake                   Mid‐America Council 326                507 E Pioneer Ave                                 Shenandoah, IA 51601‐2613                                   First Class Mail
Chartered Organization         Lds Shepard Creek Ward                                     Frmngtn Ut Oakridge Stake              1533 N 1075 W                                     Farmington, UT 84025                                        First Class Mail
Chartered Organization         Lds Shepard Park Ward                                      Frmngtn Ut N Stake                     729 Shepard Ct                                    Farmington, UT 84025‐3832                                   First Class Mail
Chartered Organization         Lds Shepard View Ward                                      Frmngtn Ut N Stake                     729 W 1275 N                                      Farmington, UT 84025‐3832                                   First Class Mail
Chartered Organization         Lds Shepard Ward/Frmngtn Ut Oakridge Stk                   Great Salt Lake Council 590            1955 S 350 E                                      Kaysville, UT 84037                                         First Class Mail
Chartered Organization         Lds Shepherd Ward, Billings East Stake                     Montana Council 315                    1000 Wicks Ln                                     Billings, MT 59105                                          First Class Mail
Chartered Organization         Lds Shepherdsville Branch                                  Lincoln Heritage Council 205           115 Bradford Pl                                   Mount Washington, KY 40047‐8114                             First Class Mail
Chartered Organization         Lds Sherbrook Ward ‐ Mer S Stk                             Ore‐Ida Council 106 ‐ Bsa 106          1920 S Locust Grove Rd                            Meridian, ID 83642                                          First Class Mail
Chartered Organization         Lds Sheridan 1St Ward, Gillette Stake                      Greater Wyoming Council 638            2051 Colonial Dr                                  Sheridan, WY 82801‐6007                                     First Class Mail
Chartered Organization         Lds Sheridan 2Nd Ward, Gillette Stake                      Greater Wyoming Council 638            2051 Colonial Dr                                  Sheridan, WY 82801‐6007                                     First Class Mail
Chartered Organization         Lds Sheridan Ward, Butte Stake                             Montana Council 315                    4413 Hwy 41 N.                                    Sheridan, MT 59749                                          First Class Mail
Chartered Organization         Lds Sheridan Ward, Butte Stake                             Montana Council 315                    4413 Mt Hwy 41 N                                  Twin Bridges, MT 59754‐9612                                 First Class Mail
Chartered Organization         Lds Sherwood Hills Ward                                    Utah National Parks 591                4724 Brentwood Cir                                Provo, UT 84604‐5360                                        First Class Mail
Chartered Organization         Lds Sherwood Park Ward ‐ Mesa Az Stk                       Grand Canyon Council 010               940 E Sern Ave                                    Mesa, AZ 85204                                              First Class Mail
Chartered Organization         Lds Sherwood Ward ‐ Topeka Stake                           Jayhawk Area Council 197               2401 Sw Kingsrow Rd                               Topeka, KS 66614‐5615                                       First Class Mail
Chartered Organization         Lds Sherwood Ward Tualatin Stake                           Cascade Pacific Council 492            22284 Sw Grahams Ferry Rd                         Tualatin, OR 97062                                          First Class Mail
Chartered Organization         Lds Shiloh                                                 Greater St Louis Area Council 312      255 Fairwood Hills Rd                             O Fallon, IL 62269‐3518                                     First Class Mail
Chartered Organization         Lds Shiloh Ward, Billings Stake                            Montana Council 315                    4636 Woodhaven Way                                Billings, MT 59106                                          First Class Mail
Chartered Organization         Lds Shiprock Ward Kirtland Stake                           Great Swest Council 412                P.O. Box 3419                                     Shiprock, NM 87420‐3419                                     First Class Mail
Chartered Organization         Lds Shirlington Ward Mt Vernon Stake                       National Capital Area Council 082      4712 30Th St S                                    Arlington, VA 22206‐1502                                    First Class Mail
Chartered Organization         Lds Shoal Creek Vly Ward Liberty Stake                     Heart Of America Council 307           6751 Ne 70Th St                                   Kansas City, MO 64119‐5305                                  First Class Mail
Chartered Organization         Lds Shoal Creek Ward Liberty Stake                         Heart Of America Council 307           5600 Jackson Ave                                  Kansas City, MO 64130                                       First Class Mail
Chartered Organization         Lds Shoal Creek Ward, Austin Stake                         Capitol Area Council 564               1000 Rutherford Ln                                Austin, TX 78753‐6707                                       First Class Mail
Chartered Organization         Lds Shoreline Ward ‐ Richland Stake                        Blue Mountain Council 604              1321 Jadwin Ave                                   Richland, WA 99354                                          First Class Mail
Chartered Organization         Lds Shoultes Ward Arlington Stake                          Mount Baker Council, Bsa 606           9215 51St Ave Ne                                  Marysville, WA 98270‐2333                                   First Class Mail
Chartered Organization         Lds Show Low Creek Ward ‐ White Mtn Az                     Stake                                  300 S 11Th St                                     Show Low, AZ 85901‐6010                                     First Class Mail
Chartered Organization         Lds Show Low Ward ‐ Show Low Az Stk                        Grand Canyon Council 010               300 S 11Th St                                     Show Low, AZ 85901‐6010                                     First Class Mail
Chartered Organization         Lds Shrewsbury Ward, Lancaster Stake                       New Birth Of Freedom 544               2100 Hollywood Dr                                 York, PA 17403‐4847                                         First Class Mail
Chartered Organization         Lds Sidney Ward ‐ Dayton,Oh                                Miami Valley Council, Bsa 444          475 W Loy Rd                                      Piqua, OH 45356‐9217                                        First Class Mail
Chartered Organization         Lds Sidney Ward, Glendive Stake                            Montana Council 315                    1215 5Th St Sw                                    Sidney, MT 59270‐3634                                       First Class Mail
Chartered Organization         Lds Sienna Hills Ward                                      Utah National Parks 591                1762 S River Rd                                   St George, UT 84790                                         First Class Mail
Chartered Organization         Lds Sienna Plantation Ward                                 Houston S Stake                        8333 Scanlan Trce                                 Missouri City, TX 77459‐7129                                First Class Mail
Chartered Organization         Lds Sienna Vista Ward ‐ Reno North Stake                   Nevada Area Council 329                2505 Kings Row                                    Reno, NV 89503‐3221                                         First Class Mail
Chartered Organization         Lds Sierra Madre Ward ‐ Gilbert Az                         Highland W Stake                       2676 E Palo Verde St                              Gilbert, AZ 85296‐9415                                      First Class Mail
Chartered Organization         Lds Sierra Montana Ward ‐ Surprise Az                      North Stake                            14878 N Verde Vista Dr                            Surprise, AZ 85388‐7846                                     First Class Mail
Chartered Organization         Lds Sierra Pines Ward ‐ Show Low Az Stk                    Grand Canyon Council 010               480 W Deuce Of Clubs                              Show Low, AZ 85901‐5803                                     First Class Mail
Chartered Organization         Lds Sierra Ranch Ward N Las Vegas Stake                    Las Vegas Area Council 328             50 E Azure Ave                                    North Las Vegas, NV 89031                                   First Class Mail
Chartered Organization         Lds Sierra Verde Ward ‐ Phoenix Az                         Tbird Park Stake                       21722 N 61St Dr                                   Glendale, AZ 85308‐9348                                     First Class Mail
Chartered Organization         Lds Sierra Vista Ward ‐ Qc Az South Stk                    Grand Canyon Council 010               32584 N Gary Rd                                   San Tan Valley, AZ 85142                                    First Class Mail
Chartered Organization         Lds Sierra Vista Ward Blue Diamond Stake                   Las Vegas Area Council 328             7885 W Robindale Rd                               Las Vegas, NV 89113‐4054                                    First Class Mail
Chartered Organization         Lds Sierra Ward ‐ Fontana Stake                            California Inland Empire Council 045   17535 Randall Ave                                 Fontana, CA 92335‐5948                                      First Class Mail
Chartered Organization         Lds Signal Butte Ward ‐ Mesa Az                            Flat Iron Stake                        10036 E Brown Rd                                  Mesa, AZ 85207                                              First Class Mail
Chartered Organization         Lds Signal Butte Ward ‐ Mesa Az                            Eastmark Stake                         11143 E Sorpresa Ave                              Mesa, AZ 85212‐5173                                         First Class Mail
Chartered Organization         Lds Sigurd Ward                                            Utah National Parks 591                                                           570026 Sigurd, UT 84657                                            First Class Mail
Chartered Organization         Lds Sikeston Ward                                          Cape Girardeau Mo Stake                827 Euclid Ave                                    Sikeston, MO 63801                                          First Class Mail
Chartered Organization         Lds Silkwood Ward                                          Utah National Parks 591                2843 E Crimson Ridge Dr                           St George, UT 84790‐4208                                    First Class Mail
Chartered Organization         Lds Siloam Springs Ward Springdale Stake                   Westark Area Council 016               2503 S Elm St                                     Siloam Springs, AR 72761                                    First Class Mail
Chartered Organization         Lds Silsbee Ward ‐ Beaumont Stake                          Three Rivers Council 578               7653 Clearview Ln                                 Lumberton, TX 77657‐7901                                    First Class Mail
Chartered Organization         Lds Silsbee Ward ‐ Beaumont Stake                          Three Rivers Council 578               205 Turtle Creek Dr                               Silsbee, TX 77656‐6640                                      First Class Mail
Chartered Organization         Lds Silva Valley Ward Folsom Stake                         Golden Empire Council 047              1275 Green Valley Rd                              El Dorado Hills, CA 95762‐9775                              First Class Mail
Chartered Organization         Lds Silver City 1St Ward Silver City Stk                   Yucca Council 573                      3755 N Swan St                                    Silver City, NM 88061‐6047                                  First Class Mail
Chartered Organization         Lds Silver City 2Nd Ward Silver City Stk                   Yucca Council 573                      3755 N Swan St                                    Silver City, NM 88061‐6047                                  First Class Mail
Chartered Organization         Lds Silver City 3Rd Ward Silver City Stk                   Yucca Council 573                      4313 N Swan St                                    Silver City, NM 88061‐4712                                  First Class Mail
Chartered Organization         Lds Silver City 3Rd Ward Sliver City Stk                   Yucca Council 573                      3755 N Swan St                                    Silver City, NM 88061‐6047                                  First Class Mail
Chartered Organization         Lds Silver Creek Ward                                      Utah National Parks 591                4506 Pony Express Pkwy                            Eagle Mountain, UT 84005                                    First Class Mail
Chartered Organization         Lds Silver Creek Ward ‐ Gilbert Az Stk                     Grand Canyon Council 010               220 E Cullumber Ave                               Gilbert, AZ 85234                                           First Class Mail
Chartered Organization         Lds Silver Creek Ward ‐ San Jose Stake                     Silicon Valley Monterey Bay 055        4977 San Felipe Rd                                San Jose, CA 95135‐1219                                     First Class Mail
Chartered Organization         Lds Silver Creek Ward/Park City Ut Stk                     Great Salt Lake Council 590            510 E Silver Summit Pkwy                          Park City, UT 84098                                         First Class Mail
Chartered Organization         Lds Silver Lake Ward                                       Utah National Parks 591                4506 E Pony Express Pkwy                          Eagle Mountain, UT 84005                                    First Class Mail
Chartered Organization         Lds Silver Lake Ward                                       Syracuse South Stake                   3065 S Bluff Rd                                   Syracuse, UT 84075                                          First Class Mail
Chartered Organization         Lds Silver Lake Ward ‐ Reno North Stake                    Nevada Area Council 329                8080 Lemmon Dr                                    Reno, NV 89506‐9095                                         First Class Mail
Chartered Organization         Lds Silver Mesa Ward                                       Sandy Ut Alta View Stake               8945 S 1700 E                                     Sandy, UT 84093‐3715                                        First Class Mail
Chartered Organization         Lds Silver Spg Ward Silver Spg Stake                       National Capital Area Council 082      3315 Claridge Ct                                  Silver Spring, MD 20902‐2201                                First Class Mail
Chartered Organization         Lds Silver Spgs Ward Fallon N Stake                        Nevada Area Council 329                5380 Elm St                                       Silver Springs, NV 89429                                    First Class Mail
Chartered Organization         Lds Silver Spgs Ward Green Vly Stake                       Las Vegas Area Council 328             1525 Guilford Dr                                  Henderson, NV 89014‐3997                                    First Class Mail
Chartered Organization         Lds Silver Stone Ward Tule Springs Stake                   Las Vegas Area Council 328             8755 Iron Mountain Rd                             Las Vegas, NV 89143                                         First Class Mail
Chartered Organization         Lds Silverado Ward Warm Springs Stake                      Las Vegas Area Council 328             9011 Galena Crossing St                           Las Vegas, NV 89123‐3224                                    First Class Mail
Chartered Organization         Lds Silvercrest Ward                                       Sandy Ut Canyon View Stake             9119 S 1300 E                                     Sandy, UT 84094‐5532                                        First Class Mail
Chartered Organization         Lds Silverdale 1St Ward Silverdale Stake                   Chief Seattle Council 609              7372 Blackbird Dr Ne                              Bremerton, WA 98311‐9251                                    First Class Mail
Chartered Organization         Lds Silverdale 2Nd Ward Silverdale Stake                   Chief Seattle Council 609              9256 Nels Nelson Rd Nw                            Bremerton, WA 98311‐9097                                    First Class Mail
Chartered Organization         Lds Silverdale 3Rd Ward Silverdale Stake                   Chief Seattle Council 609              11070 Old Frontier Rd Nw                          Silverdale, WA 98383‐8887                                   First Class Mail
Chartered Organization         Lds Silverdale 6Th Ward Silverdale Stake                   c/o Bishop Bryan Tower                 P.O. Box 120                                      Keyport, WA 98345‐0120                                      First Class Mail
Chartered Organization         Lds Silvergate Park Ward ‐ Mesa Az                         South Stake                            2334 E Pueblo Ave                                 Mesa, AZ 85204                                              First Class Mail
Chartered Organization         Lds Silverleaf Ward ‐ Meridian Linder Stk                  Ore‐Ida Council 106 ‐ Bsa 106          2421 W Glade Creek St                             Meridian, ID 83646‐6165                                     First Class Mail
Chartered Organization         Lds Silverstone Ward                                       Utah National Parks 591                1528 N Potomac Ave                                Washington, UT 84780‐2763                                   First Class Mail
Chartered Organization         Lds Silverton Ward Keizer Stake                            Cascade Pacific Council 492            745 W Main St                                     Silverton, OR 97381‐2241                                    First Class Mail
Chartered Organization         Lds Simi 3Rd Ward Simi Stake                               Ventura County Council 057             3979 Township Ave                                 Simi Valley, CA 93063‐1067                                  First Class Mail
Chartered Organization         Lds Simi 4Th Ward Simi Stake                               Ventura County Council 057             480 Sinaloa Rd                                    Simi Valley, CA 93065‐5431                                  First Class Mail
Chartered Organization         Lds Simi 5Th Ward Simi Stake                               Ventura County Council 057             480 Sinaloa Rd                                    Simi Valley, CA 93065‐5431                                  First Class Mail
Chartered Organization         Lds Simpsonville                                           Blue Ridge Council 551                 1301 Boiling Springs Rd                           Greer, SC 29650                                             First Class Mail
Chartered Organization         Lds Simpsonville 1St Ward                                  Blue Ridge Council 551                 1301 Boiling Springs Rd                           Greer, SC 29650                                             First Class Mail
Chartered Organization         Lds Simpsonville‐Second                                    Blue Ridge Council 551                 200 Hayworth Dr                                   Simpsonville, SC 29680                                      First Class Mail
Chartered Organization         Lds Simpsonville‐Second                                    Blue Ridge Council 551                 200 Hayworth Dr                                   Simpsonville, SC 29680                                      First Class Mail
Chartered Organization         Lds Sinclair View Ward Bremerton Stake                     Chief Seattle Council 609              3877 Mullenix Rd Se                               Port Orchard, WA 98366                                      First Class Mail
Chartered Organization         Lds Sinks Canyon Ward, Riverton Stake                      Greater Wyoming Council 638            545 Cliff St                                      Lander, WY 82520‐3235                                       First Class Mail
Chartered Organization         Lds Sioux City 1St Ward Sioux City Stake                   Mid‐America Council 326                1201 W Clifton Ave                                Sioux City, IA 51104‐2318                                   First Class Mail
Chartered Organization         Lds Sioux City 2Nd Ward Sioux City Stake                   Mid‐America Council 326                1201 W Clifton Ave                                Sioux City, IA 51104‐2318                                   First Class Mail
Chartered Organization         Lds Sisters Ward ‐ Redmond Stake                           Crater Lake Council 491                Trinity Way                                       Sisters, OR 97759                                           First Class Mail
Chartered Organization         Lds Skagit River 1St Ward                                  Mt Vernon Stake                        1115 Mcgarigle Rd                                 Sedro Woolley, WA 98284‐9281                                First Class Mail
Chartered Organization         Lds Skagit River 2Nd Ward                                  Mt Vernon Stake                        1122 Mcgarigle Rd                                 Sedro Woolley, WA 98284                                     First Class Mail
Chartered Organization         Lds Skagway Branch‐Juneau Alaska Stake                     Great Alaska Council 610               P.O. Box 605                                      Skagway, AK 99840‐0605                                      First Class Mail
Chartered Organization         Lds Skiatook Br‐Bartlesville Ok Stake                      Indian Nations Council 488             4200 W 6Th St                                     Skiatook, OK 74070                                          First Class Mail
Chartered Organization         Lds Skye Canyon Ward Skye Canyon Stake                     Las Vegas Area Council 328             9830 Elkhorn Rd                                   Las Vegas, NV 89149‐1914                                    First Class Mail
Chartered Organization         Lds Skyline Ward ‐ Mesa Az Skyline Stk                     Grand Canyon Council 010               10356 E El Moro Cir                               Mesa, AZ 85208‐7233                                         First Class Mail
Chartered Organization         Lds Skyline Ward ‐ Qc Az East Stk                          Grand Canyon Council 010               33794 N Gary Rd                                   Queen Creek, AZ 85143                                       First Class Mail
Chartered Organization         Lds Skyline Ward ‐ Reno Stake                              Nevada Area Council 329                1095 Golconda Dr                                  Reno, NV 89509‐3610                                         First Class Mail
Chartered Organization         Lds Skyline Ward Cedar Mill Stake                          Cascade Pacific Council 492            14885 Nw West Union Rd                            Portland, OR 97229‐2292                                     First Class Mail
Chartered Organization         Lds Skyline Ward/Tooele Ut Stk                             Great Salt Lake Council 590            777 E Skyline Dr                                  Tooele, UT 84074                                            First Class Mail
Chartered Organization         Lds Skyview Ward Vancouver West Stake                      Cascade Pacific Council 492            14702 Nw 26Th Ave                                 Vancouver, WA 98685‐1006                                    First Class Mail
Chartered Organization         Lds Sl 6Th Ward (Chinese)                                  Sl Monmnt Park Stake                   470 S Wasatch Dr                                  Salt Lake City, UT 84102                                    First Class Mail
Chartered Organization         Lds Slate Canyon Eighth Ward                               Utah National Parks 591                1625 S Slate Canyon Dr                            Provo, UT 84606                                             First Class Mail
Chartered Organization         Lds Slate Canyon Eleventh Ward                             Utah National Parks 591                1625 S Slate Canyon Dr                            Provo, UT 84606                                             First Class Mail
Chartered Organization         Lds Slate Canyon Fifteenth Ward                            Utah National Parks 591                1357 Cinnamon Ridge Cir                           Provo, UT 84606‐5610                                        First Class Mail
Chartered Organization         Lds Slate Canyon Fourteenth (Spanish)                      Utah National Parks 591                2401 Tennessee Ave                                Provo, UT 84606‐6592                                        First Class Mail
Chartered Organization         Lds Slate Canyon Fourth Ward                               Utah National Parks 591                715 Utah Ave                                      Provo, UT 84606                                             First Class Mail
Chartered Organization         Lds Slate Canyon Sixth Ward                                Utah National Parks 591                1315 E 900 S                                      Provo, UT 84606                                             First Class Mail
Chartered Organization         Lds Slate Canyon Tenth Ward                                Utah National Parks 591                2342 Tennessee Ave                                Provo, UT 84606‐6564                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                    Page 235 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                      Filed 01/06/22                           Page 251 of 457
                                                                                                                                                                     Exhibit B
                                                                                                                                                                      Service List
                                                                                                                                                               Served as set forth below

        Description                                                       Name                                                                                     Address                                                                   Email              Method of Service
Chartered Organization         Lds Slate Canyon Thirteenth Ward                         Utah National Parks 591                1394 Alpine Way                                           Provo, UT 84606‐5392                                        First Class Mail
Chartered Organization         Lds Slick Rock Ward                                      Utah National Parks 591                2450 E Riverside Dr                                       St George, UT 84790                                         First Class Mail
Chartered Organization         Lds Slo 1St Ward San Luis Obispo Stake                   Los Padres Council 053                 651 E Foothill Blvd                                       San Luis Obispo, CA 93405‐1686                              First Class Mail
Chartered Organization         Lds Sloan Canyon Ward Anthem Hills Stake                 Las Vegas Area Council 328             10970 S Bermuda Rd                                        Henderson, NV 89052‐8666                                    First Class Mail
Chartered Organization         Lds Sloughhouse Ward Elk Grove Stake                     Golden Empire Council 047              8925 Vintage Park Dr                                      Sacramento, CA 95829‐1612                                   First Class Mail
Chartered Organization         Lds Smiley Ward ‐ Redlands Stake                         California Inland Empire Council 045   640 S Center St                                           Redlands, CA 92373‐5832                                     First Class Mail
Chartered Organization         Lds Smith County 1St Ward                                East Texas Area Council 585            1617 Shiloh Rd                                            Tyler, TX 75703‐2433                                        First Class Mail
Chartered Organization         Lds Smith County 2Nd Ward                                East Texas Area Council 585            2401 N Broadway Ave                                       Tyler, TX 75702‐2195                                        First Class Mail
Chartered Organization         Lds Smith County Wills Point Ward                        East Texas Area Council 585            22580 State Hwy 64                                        Canton, TX 75103‐6162                                       First Class Mail
Chartered Organization         Lds Smith Lane Ward                                      Kaysville West Stake                   1449 S Thoroughbred Dr                                    Kaysville, UT 84037                                         First Class Mail
Chartered Organization         Lds Smith Rock Ward ‐ Redmond Stake                      Crater Lake Council 491                450 Sw Rimrock Way                                        Redmond, OR 97756‐1936                                      First Class Mail
Chartered Organization         Lds Smithfield 10Th Ward                                 Smithfield South                       365 E 360 S                                               Smithfield, UT 84335                                        First Class Mail
Chartered Organization         Lds Smithfield 11Th Ward                                 Smithfield Stake                       79 E 200 S                                                Smithfield, UT 84335‐1940                                   First Class Mail
Chartered Organization         Lds Smithfield 12Th Ward                                 Smithfield North                       155 W 400 N                                               Smithfield, UT 84335‐1800                                   First Class Mail
Chartered Organization         Lds Smithfield 14Th Ward                                 Smithfield South                       451 S 250 E                                               Smithfield, UT 84335‐1624                                   First Class Mail
Chartered Organization         Lds Smithfield 15Th Ward                                 Smithfield South                       600 S 625 E                                               Smithfield, UT 84335‐1685                                   First Class Mail
Chartered Organization         Lds Smithfield 16Th Ward                                 Smithfield South                       6521 N 2400 W                                             Amalga, UT 84335                                            First Class Mail
Chartered Organization         Lds Smithfield 18Th Ward                                 Smithfield South                       600 S 625 E                                               Smithfield, UT 84335‐1685                                   First Class Mail
Chartered Organization         Lds Smithfield 19Th Ward                                 Smithfield North                       155 W 400 N                                               Smithfield, UT 84335‐1800                                   First Class Mail
Chartered Organization         Lds Smithfield 22Nd Ward                                 Smithfield North                       640 N 200 E                                               Smithfield, UT 84335‐6713                                   First Class Mail
Chartered Organization         Lds Smithfield 23Rd Ward                                 Smithfield South                       451 S 250 E                                               Smithfield, UT 84335‐1624                                   First Class Mail
Chartered Organization         Lds Smithfield 24Th Ward                                 Smithfield South                       451 S 250 E                                               Smithfield, UT 84335‐1624                                   First Class Mail
Chartered Organization         Lds Smithfield 25Th                                      Smithfield North                       660 W 200 N                                               Smithfield, UT 84335                                        First Class Mail
Chartered Organization         Lds Smithfield 26Th/Smithfield North                     Trapper Trails 589                     640 N 200 E                                               Smithfield, UT 84335‐6713                                   First Class Mail
Chartered Organization         Lds Smithfield 27Th Ward/Smithfield                      Trapper Trails 589                     568 E 260 S                                               Smithfield, UT 84335‐1230                                   First Class Mail
Chartered Organization         Lds Smithfield 2Nd Ward                                  Smithfield South                       6521 N 2400 W                                             Amalga, UT 84335                                            First Class Mail
Chartered Organization         Lds Smithfield 3Rd Ward                                  Smithfield North                       640 N 200 E                                               Smithfield, UT 84335‐6713                                   First Class Mail
Chartered Organization         Lds Smithfield 4Th Ward                                  Smithfield North                       660 W 200 N                                               Smithfield, UT 84335                                        First Class Mail
Chartered Organization         Lds Smithfield 5Th Ward                                  Smithfield South                       600 S 625 E                                               Smithfield, UT 84335‐1685                                   First Class Mail
Chartered Organization         Lds Smithfield 8Th Ward                                  Smithfield North                       155 W 400 N                                               Smithfield, UT 84335‐1800                                   First Class Mail
Chartered Organization         Lds ‐Smithfield 9Th Ward                                 Smithfield North                       660 W 200 N                                               Smithfield, UT 84335                                        First Class Mail
Chartered Organization         Lds Smithfield Stake Special Needs                       Trapper Trails 589                     600 E 120 S                                               Smithfield, UT 84335‐1203                                   First Class Mail
Chartered Organization         Lds Smithfield Ward ‐ Chesapeake Stake                   Colonial Virginia Council 595          4759 Bennetts Pasture Rd                                  Suffolk, VA 23435                                           First Class Mail
Chartered Organization         Lds Smithfield Ward ‐ Chesapeake Stake                   Colonial Virginia Council 595          4759 Bennetts Pasture Rd                                  Suffolk, VA 23435                                           First Class Mail
Chartered Organization         Lds Smithson Vly Ward ‐ Hill Country Stake               Alamo Area Council 583                 31355 Stahl Ln                                            Bulverde, TX 78163‐3284                                     First Class Mail
Chartered Organization         Lds Smithton Ridge Ward ‐ Columbia Stake                 Great Rivers Council 653               4708 Highlands Pkwy                                       Columbia, MO 65203‐6259                                     First Class Mail
Chartered Organization         Lds Smithville Lake Branch Liberty Stake                 Heart Of America Council 307           7001 Searcy Creek Pkwy                                    Kansas City, MO 64119‐5336                                  First Class Mail
Chartered Organization         Lds Smoky Hill Ward, Arapahoe Stake                      Denver Area Council 061                5175 S Picadilly St                                       Centennial, CO 80015‐3313                                   First Class Mail
Chartered Organization         Lds Smyrna Ward ‐ Dover De Stake                         Del Mar Va 081                         310 Clark Farm Rd                                         Smyrna, DE 19977‐9433                                       First Class Mail
Chartered Organization         Lds Snake River Ward ‐ Pasco Stake                       Blue Mountain Council 604              245 S Lake Rd                                             Burbank, WA 99323                                           First Class Mail
Chartered Organization         Lds Snellville Ward ‐ Conyers Stake                      Northeast Georgia Council 101          3956 Mink Livsey Rd                                       Snellville, GA 30039                                        First Class Mail
Chartered Organization         Lds Snellville Ward‐ Conyers Stake                       Northeast Georgia Council 101          3956 Mink Livsey Rd                                       Snellville, GA 30039                                        First Class Mail
Chartered Organization         Lds Snohomish Ward Snohomish Stake                       Mount Baker Council, Bsa 606           8522 131St Ave Se                                         Snohomish, WA 98290                                         First Class Mail
Chartered Organization         Lds Snoqualmie Falls Ward                                Bellevue S Stake                       1100 6Th Ave Se                                           Issaquah, WA 98027‐4718                                     First Class Mail
Chartered Organization         Lds Snoqualmie River Ward Redmond Stake                  Chief Seattle Council 609              7115 224Th Ave Ne                                         Redmond, WA 98053                                           First Class Mail
Chartered Organization         Lds Snow Canyon Eleventh Ward                            Utah National Parks 591                1854 N Serenity Dr                                        St George, UT 84770‐4777                                    First Class Mail
Chartered Organization         Lds Snow Canyon Fifth Ward                               Utah National Parks 591                1625 Lava Flow Dr                                         St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Snow Canyon First Ward                               Utah National Parks 591                1184 N Dixie Downs Rd                                     St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Snow Canyon Fourth Ward                              Utah National Parks 591                1184 N Dixie Downs Rd                                     St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Snow Canyon Second Ward                              Utah National Parks 591                1360 N Dixie Downs Rd Unit 56                             St George, UT 84770‐4193                                    First Class Mail
Chartered Organization         Lds Snow Canyon Sixth Ward                               Utah National Parks 591                2027 W 1860 N                                             St George, UT 84770‐4754                                    First Class Mail
Chartered Organization         Lds Snow Canyon Thirteenth Ward                          Utah National Parks 591                1631 W 1510 N                                             St George, UT 84770‐6440                                    First Class Mail
Chartered Organization         Lds Snow Peak Ward Lebanon Stake                         Cascade Pacific Council 492            1955 S 5Th St                                             Lebanon, OR 97355‐2528                                      First Class Mail
Chartered Organization         Lds Snow Springs Ward (Lehi)                             Utah National Parks 591                842 S 1660 W                                              Lehi, UT 84043‐4087                                         First Class Mail
Chartered Organization         Lds Snow Ward, Bakersfield Stake                         Southern Sierra Council 030            5500 Fruitvale Ave                                        Bakersfield, CA 93308‐3965                                  First Class Mail
Chartered Organization         Lds Snowflake 10Th Ward ‐ Snowflake Az Stk               Grand Canyon Council 010               175 S Cedar Dr                                            Snowflake, AZ 85937‐6105                                    First Class Mail
Chartered Organization         Lds Snowflake 11Th Ward ‐ Snowflake Az Stk               Grand Canyon Council 010               48 S Main St                                              Snowflake, AZ 85937                                         First Class Mail
Chartered Organization         Lds Snowflake 1St Ward ‐ Snowflake Az Stk                Grand Canyon Council 010               P.O. Box 1                                                Snowflake, AZ 85937‐0001                                    First Class Mail
Chartered Organization         Lds Snowflake 5Th Ward ‐ Snowflake Az Stk                Grand Canyon Council 010               P.O. Box 1453                                             Snowflake, AZ 85937‐1453                                    First Class Mail
Chartered Organization         Lds Snowflake 6Th Ward ‐ Snowflake Az Stk                Grand Canyon Council 010               48 N Main St                                              Snowflake, AZ 85937‐5197                                    First Class Mail
Chartered Organization         Lds Snowflake 8Th Ward ‐ Snowflake Az Stk                Grand Canyon Council 010               P.O. Box 8                                                Snowflake, AZ 85937‐0008                                    First Class Mail
Chartered Organization         Lds Snowflake 9Th Ward ‐ Snowflake Az Stk                Grand Canyon Council 010               P.O. Box 935                                              Snowflake, AZ 85937‐0935                                    First Class Mail
Chartered Organization         Lds Snyderville Ward/Park City Ut Stk                    Great Salt Lake Council 590            510 E Silver Summit Pkwy                                  Park City, UT 84098                                         First Class Mail
Chartered Organization         Lds So Jordan 12Th Ward (Tongan)                         Sl Ut S (Tongan) Stake                 9587 S Wood Park Ln                                       South Jordan, UT 84009‐1503                                 First Class Mail
Chartered Organization         Lds Socorro Ward El Paso Stake                           Yucca Council 573                      11300 N Loop Dr                                           Socorro, TX 79927                                           First Class Mail
Chartered Organization         Lds Socorro Ward Los Lunas Stake                         Great Swest Council 412                1121 El Camino Real St                                    Socorro, NM 87801‐4749                                      First Class Mail
Chartered Organization         Lds Soda Springs Stake ‐ 1St Ward                        Grand Teton Council 107                361 S 3Rd E                                               Soda Springs, ID 83276‐1607                                 First Class Mail
Chartered Organization         Lds Soda Springs Stake ‐ 2Nd Ward                        Grand Teton Council 107                311 S 3Rd W                                               Soda Springs, ID 83276‐1558                                 First Class Mail
Chartered Organization         Lds Soda Springs Stake ‐ 3Rd Ward                        Grand Teton Council 107                290 S 3Rd W                                               Soda Springs, ID 83276‐1561                                 First Class Mail
Chartered Organization         Lds Soda Springs Stake ‐ 4Th Ward                        Grand Teton Council 107                281 E Hooper Ave                                          Soda Springs, ID 83276                                      First Class Mail
Chartered Organization         Lds Soda Springs Stake ‐ 5Th Ward                        Grand Teton Council 107                361 S 3Rd E                                               Soda Springs, ID 83276‐1607                                 First Class Mail
Chartered Organization         Lds Soldotna Ward ‐ Soldotna Stake                       Great Alaska Council 610               159 W Marydale Ave                                        Soldotna, AK 99669‐7562                                     First Class Mail
Chartered Organization         Lds Solomon Ward ‐ Mesa Az South Stk                     Grand Canyon Council 010               997 E Broadway Rd                                         Mesa, AZ 85204                                              First Class Mail
Chartered Organization         Lds Solomonville Ward ‐ Safford Stake                    Grand Canyon Council 010               2701 S Montierth Pl                                       Safford, AZ 85546‐9499                                      First Class Mail
Chartered Organization         Lds Solon Ward Kirtland Stake                            Lake Erie Council 440                  5825 Liberty Rd                                           Solon, OH 44139‐2536                                        First Class Mail
Chartered Organization         Lds Solvang Ward, Santa Barbara Stake                    Los Padres Council 053                 2627 Janin Way                                            Solvang, CA 93463                                           First Class Mail
Chartered Organization         Lds Somerset Branch                                      Blue Grass Council 204                 117 Waycross St                                           Somerset, KY 42501‐4211                                     First Class Mail
Chartered Organization         Lds Somerset Ward (Sp Fork)                              Utah National Parks 591                2550 E 989 S                                              Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Somerset Ward Bellevue South                         Chief Seattle Council 609              4151 134Th Ave Se                                         Bellevue, WA 98006‐1317                                     First Class Mail
Chartered Organization         Lds Somerset Ward South Stake                            Las Vegas Area Council 328             4105 Abernethy Forest Pl                                  Las Vegas, NV 89141‐4335                                    First Class Mail
Chartered Organization         Lds Somerset Ward/Frmngtn Ut North Stk                   Great Salt Lake Council 590            1885 Summerwood Dr                                        Farmington, UT 84025                                        First Class Mail
Chartered Organization         Lds Somersworth Ward, Exeter Nh Stake                    Daniel Webster Council, Bsa 330        35 Tates Brook Rd                                         Somersworth, NH 03878                                       First Class Mail
Chartered Organization         Lds Sonoma Ranch Ward ‐ West Stake                       Alamo Area Council 583                 13153 Iron Horse Way                                      Helotes, TX 78023‐3535                                      First Class Mail
Chartered Organization         Lds Sonoma Ward                                          Redwood Empire Council 041             16280 La Grama St                                         Sonoma, CA 95476‐3109                                       First Class Mail
Chartered Organization         Lds Sonoran Mountain Ward ‐ Phoenix Az                   Tbird Park Stake                       23121 N 67Th Ave                                          Glendale, AZ 85310‐5728                                     First Class Mail
Chartered Organization         Lds Sonoran Springs Ward ‐ Mesa Az                       Boulder Creek Stake                    3025 S Hawes Rd                                           Mesa, AZ 85212‐1594                                         First Class Mail
Chartered Organization         Lds Sonoran Trails Ward ‐ Scottsdale Az                  North Stake                            38008 N Basin Rd                                          Cave Creek, AZ 85331                                        First Class Mail
Chartered Organization         Lds Sonterra Ward ‐ North Stake                          Alamo Area Council 583                 17151 Jones‐Maltsberger Rd                                San Antonio, TX 78247                                       First Class Mail
Chartered Organization         Lds Sorrento Leesburg                                    Central Florida Council 083            30604 Apawamis Dr                                         Sorrento, FL 32776‐9080                                     First Class Mail
Chartered Organization         Lds Sossaman Estates Ward ‐ Qc Az West Stk               Grand Canyon Council 010               19730 E Ocotillo Rd                                       Queen Creek, AZ 85142                                       First Class Mail
Chartered Organization         Lds Sossaman Ward ‐ Mesa Az                              Boulder Creek Stake                    7145 E Monterey Ave                                       Mesa, AZ 85209                                              First Class Mail
Chartered Organization         Lds South Bench Ward                                     Haight Creek Stake                     1282 W 1875 N                                             Farmington, UT 84025                                        First Class Mail
Chartered Organization         Lds South Bend Ward ‐ South Bend Stake                   Lasalle Council 165                    930 Park Pl                                               Mishawaka, IN 46545‐3523                                    First Class Mail
Chartered Organization         Lds South Bluff Ward                                     Syracuse South Stake                   3024 S 1200 W                                             Syracuse, UT 84075                                          First Class Mail
Chartered Organization         Lds South Cache Spanish Branch                           Hyrum Stake                            600 S 200 E                                               Hyrum, UT 84319‐1660                                        First Class Mail
Chartered Organization         Lds South Charleston 1St Ward                            Buckskin 617                           839 Chestnut St                                           South Charleston, WV 25309‐2035                             First Class Mail
Chartered Organization         Lds South Coast Ward ‐ Newport Beach Stake               Orange County Council 039              3401 S Greenville St                                      Santa Ana, CA 92704‐7091                                    First Class Mail
Chartered Organization         Lds South Coast Ward Hingham Stake                       Mayflower Council 251                  400 Cross Rd                                              North Dartmouth, MA 02747‐2015                              First Class Mail
Chartered Organization         Lds South Cottonwood Ward                                Murray Ut S Stake                      5605 E Vine St                                            Murray, UT 84107                                            First Class Mail
Chartered Organization         Lds South Haven Ward ‐ Kalamazoo Stake                   Southern Shores Fsc 783                05272 73 1/2 St                                           South Haven, MI 49090‐7343                                  First Class Mail
Chartered Organization         Lds South Houston Branch                                 Friendswood Stake                      5008 Calhoun Rd                                           Houston, TX 77004‐6710                                      First Class Mail
Chartered Organization         Lds South Jordan 10Th (Tongan) Ward                      Sl Ut S (Tongan) Stake                 1945 W 9000 S                                             West Jordan, UT 84088                                       First Class Mail
Chartered Organization         Lds South Jordan 1St Ward                                South Jordan Ut Stake                  2450 W S Jordan Pkwy                                      South Jordan, UT 84095                                      First Class Mail
Chartered Organization         Lds South Jordan 2Nd Ward                                South Jordan Ut Stake                  2450 W S Jordan Pkwy                                      South Jordan, UT 84095                                      First Class Mail
Chartered Organization         Lds South Jordan 3Rd Ward                                South Jordan Ut Stake                  9750 S 2200 W                                             South Jordan, UT 84095                                      First Class Mail
Chartered Organization         Lds South Jordan 4Th Ward                                South Jordan Ut Stake                  2550 W 9800 S                                             South Jordan, UT 84095                                      First Class Mail
Chartered Organization         Lds South Jordan 5Th Ward                                South Jordan Ut Stake                  2556 W 9800 S                                             South Jordan, UT 84095                                      First Class Mail
Chartered Organization         Lds South Jordan 6Th Ward                                South Jordan Ut Stake                  2550 W 9800 S                                             South Jordan, UT 84095                                      First Class Mail
Chartered Organization         Lds South Jordan 7Th Ward                                South Jordan Ut Stake                  9750 S 2200 W                                             South Jordan, UT 84095                                      First Class Mail
Chartered Organization         Lds South Jordan 8Th Ward                                South Jordan Ut Stake                  2450 W S Jordan Pkwy                                      South Jordan, UT 84095                                      First Class Mail
Chartered Organization         Lds South Jordan 9Th Ward                                South Jordan Ut Stake                  9750 S 2200 W                                             South Jordan, UT 84095                                      First Class Mail
Chartered Organization         Lds South Lake Tahoe Ward                                Carson City Stake                      P.O. Box 13083                                            South Lake Tahoe, CA 96151‐3083                             First Class Mail
Chartered Organization         Lds South Lake Ward Marysville Stake                     Mount Baker Council, Bsa 606           11232 31St St Se                                          Lake Stevens, WA 98258‐5636                                 First Class Mail
Chartered Organization         Lds South Meadows Ward ‐ Mt Rose Stake                   Nevada Area Council 329                4850 Edmonton Dr                                          Reno, NV 89511                                              First Class Mail
Chartered Organization         Lds South Mountain 1St Ward                              Draper Ut S Mtn Stake                  607 E Rocky Mouth Ln                                      Draper, UT 84020                                            First Class Mail
Chartered Organization         Lds South Mountain 2Nd Ward                              Draper Ut S Mtn Stake                  272 Traverse Pointe Dr                                    Draper, UT 84020                                            First Class Mail
Chartered Organization         Lds South Mountain 3Rd Ward                              Draper Ut S Mtn Stake                  272 E Traverse Point Dr                                   Draper, UT 84020                                            First Class Mail
Chartered Organization         Lds South Mountain 4Th Ward                              Draper Ut S Mtn Stake                  1911 E Gray Fox Dr                                        Draper, UT 84020‐5630                                       First Class Mail
Chartered Organization         Lds South Mountain 5Th Ward                              Draper Ut S Mtn Stake                  607 E 14450 S                                             Draper, UT 84020                                            First Class Mail
Chartered Organization         Lds South Mountain 6Th Ward                              Draper Ut S Mtn Stake                  1911 E Gray Fox Dr                                        Draper, UT 84020‐5630                                       First Class Mail
Chartered Organization         Lds South Mountain 7Th Ward                              Draper Ut S Mtn Stake                  272 E 14700 S                                             Draper, UT 84020                                            First Class Mail
Chartered Organization         Lds South Mountain 8Th Ward                              Draper Ut S Mtn Stake                  1911 E Gray Fox Dr                                        Draper, UT 84020‐5630                                       First Class Mail
Chartered Organization         Lds South Mountain Ward                                  Utah National Parks 591                1299 S Cross Hollow Dr                                    Cedar City, UT 84720‐8284                                   First Class Mail
Chartered Organization         Lds South Mountain Ward                                  Phoenix Az, S Mtn Stake                650 W Sern Ave                                            Phoenix, AZ 85041                                           First Class Mail
Chartered Organization         Lds South Ogden 3Rd Ward                                 South Ogden Stake                      4075 Orchard Ave                                          Ogden, UT 84403                                             First Class Mail
Chartered Organization         Lds South Ogden 4Th Ward                                 South Ogden Stake                      4075 Orchard Ave                                          South Ogden, UT 84403                                       First Class Mail
Chartered Organization         Lds South Ogden 5Th Ward                                 South Ogden Stake                      4380 Orchard Ave                                          South Ogden, UT 84403‐3804                                  First Class Mail
Chartered Organization         Lds South Ogden 6Th Ward                                 South Ogden Stake                      4380 Orchard Ave                                          South Ogden, UT 84403‐3804                                  First Class Mail
Chartered Organization         Lds South Ogden 7Th Ward                                 South Ogden Stake                      720 Nancy Dr                                              South Ogden, UT 84403                                       First Class Mail
Chartered Organization         Lds South Ogden 8Th Ward                                 South Ogden Stake                      720 Nancy Dr                                              South Ogden, UT 84403                                       First Class Mail
Chartered Organization         Lds South Ogden 9Th Ward                                 South Ogden Stake                      3755 Porter Ave                                           South Ogden, UT 84403                                       First Class Mail
Chartered Organization         Lds South Pass Ward                                      Utah National Parks 591                6918 N Mohawk St                                          Eagle Mountain, UT 84005‐6093                               First Class Mail
Chartered Organization         Lds South Pointe Ward Carnegie Stake                     Las Vegas Area Council 328             2901 Wigwam Pkwy                                          Henderson, NV 89074                                         First Class Mail
Chartered Organization         Lds South Valley View Ward                               Utah National Parks 591                25 W Apple Blossom Way                                    Salem, UT 84653                                             First Class Mail
Chartered Organization         Lds South Weber 1St Ward                                 South Weber Stake                      1401 E South Weber Dr                                     South Weber, UT 84405                                       First Class Mail
Chartered Organization         Lds South Weber 2Nd Ward                                 South Weber Stake                      1814 E 7775 S                                             South Weber, UT 84405                                       First Class Mail
Chartered Organization         Lds South Weber 3Rd Ward                                 South Weber Stake                      7989 S 2250 E                                             South Weber, UT 84405‐9691                                  First Class Mail
Chartered Organization         Lds South Weber 4Th Ward                                 South Weber Stake                      2620 E 8200 S                                             South Weber, UT 84405                                       First Class Mail
Chartered Organization         Lds South Weber 5Th Ward                                 South Weber Stake                      2620 E 8200 S                                             South Weber, UT 84405                                       First Class Mail
Chartered Organization         Lds South Weber 6Th Ward                                 South Weber Stake                      2620 E 8200 S                                             South Weber, UT 84405                                       First Class Mail
Chartered Organization         Lds South Weber 7Th Ward                                 South Weber Stake                      1401 E South Weber Dr                                     South Weber, UT 84405                                       First Class Mail
Chartered Organization         Lds South Weber 8Th Ward                                 South Weber Stake                      1401 E South Weber Dr                                     South Weber, UT 84405                                       First Class Mail
Chartered Organization         Lds Southern Estates Ward ‐ Mesa Az                      Kimball Stake                          920 S Lindsay Rd                                          Mesa, AZ 85204                                              First Class Mail
Chartered Organization         Lds Southern Highlands Ward South Stake                  Las Vegas Area Council 328             11216 Crosseto Dr                                         Las Vegas, NV 89141‐3992                                    First Class Mail
Chartered Organization         Lds Southfield Ward                                      Bloomfield Hills Stake                 23190 W 9 Mile Rd                                         Southfield, MI 48033‐6601                                   First Class Mail
Chartered Organization         Lds Southgate Second Ward                                Utah National Parks 591                1068 W Chandler Dr                                        St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Southgate Third Ward                                 Utah National Parks 591                1068 W Chandler Dr                                        St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Southgate Ward                                       Utah National Parks 591                1068 W Chandler Dr                                        St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Southgate Ward ‐ Kennewick East Stake                Blue Mountain Council 604              515 S Union St                                            Kennewick, WA 99336                                         First Class Mail
Chartered Organization         Lds Southgate Ward/South Salt Lake Stk                   Great Salt Lake Council 590            2702 S Main St                                            Salt Lake City, UT 84115                                    First Class Mail
Chartered Organization         Lds Southglenn Ward, Littleton Stake                     Denver Area Council 061                1939 E Easter Ave                                         Littleton, CO 80122‐1311                                    First Class Mail
Chartered Organization         Lds Southington Ward New Haven Stake                     Connecticut Yankee Council Bsa 072     750 Meriden Waterbury Tpke                                Southington, CT 06489                                       First Class Mail
Chartered Organization         Lds Southlake 1St Ward                                   Colleyville Stake                      1143 Butterfield Dr                                       Grapevine, TX 76051‐3381                                    First Class Mail
Chartered Organization         Lds Southlake 2Nd Ward                                   Colleyville Stake                      500 W Mcdonwell School Rd                                 Colleyville, TX 76034‐7230                                  First Class Mail
Chartered Organization         Lds Southlands Ward, Arapahoe Stake                      Denver Area Council 061                7405 S Addison Ct                                         Aurora, CO 80015                                            First Class Mail
Chartered Organization         Lds Southmoor Ward                                       Utah National Parks 591                4388 E Inverness Ln                                       Eagle Mountain, UT 84005‐5137                               First Class Mail
Chartered Organization         Lds Southport Branch/Wilmington Nc Stake                 Cape Fear Council 425                  8264 River Rd                                             Southport, NC 28461‐8911                                    First Class Mail
Chartered Organization         Lds Southridge Ward                                      Denver Area Council 061                4195 E Wildcat Reserve Pkwy                               Highlands Ranch, CO 80126‐6800                              First Class Mail
Chartered Organization         Lds Southslope Ward ‐ Emmett Stk                         Ore‐Ida Council 106 ‐ Bsa 106          1101 E 2Nd St                                             Emmett, ID 83617                                            First Class Mail
Chartered Organization         Lds Southworth Ward Bremerton Stake                      Chief Seattle Council 609              3877 Se Mullenix Rd                                       Port Orchard, WA 98367                                      First Class Mail
Chartered Organization         Lds Spanish Branch                                       East Texas Area Council 585            2401 N Broadway Ave                                       Tyler, TX 75702‐2195                                        First Class Mail
Chartered Organization         Lds Spanish Branch Mcminnville Stake                     Cascade Pacific Council 492            700 Ash St                                                Dayton, OR 97114‐9717                                       First Class Mail
Chartered Organization         Lds Spanish Branch‐Chino Stake                           California Inland Empire Council 045   6726 Chino Ave                                            Chino, CA 91710‐4604                                        First Class Mail
Chartered Organization         Lds Spanish Branch‐Redlands Stake                        California Inland Empire Council 045   1021 E Pioneer Ave                                        Redlands, CA 92374‐1805                                     First Class Mail
Chartered Organization         Lds Spanish Fields First Ward                            Utah National Parks 591                347 S 1230 W                                              Spanish Fork, UT 84660‐5531                                 First Class Mail
Chartered Organization         Lds Spanish Fields Second Ward                           Utah National Parks 591                485 W Center St                                           Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Spanish Fork Canyon Ward                             Utah National Parks 591                3477 E River Bottom Rd                                    Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Spanish Fork Eighth Ward                             Utah National Parks 591                1006 E 200 N                                              Spanish Fork, UT 84660‐1970                                 First Class Mail
Chartered Organization         Lds Spanish Fork Eleventh Ward                           Utah National Parks 591                505 E 900 N                                               Spanish Fork, UT 84660‐5637                                 First Class Mail
Chartered Organization         Lds Spanish Fork Fifth Ward                              Utah National Parks 591                1006 E 200 N                                              Spanish Fork, UT 84660‐1970                                 First Class Mail
Chartered Organization         Lds Spanish Fork First Ward                              Utah National Parks 591                310 E Center St                                           Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Spanish Fork Fourteenth Ward                         Utah National Parks 591                1750 E 750 S                                              Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Spanish Fork Fourth Ward                             Utah National Parks 591                353 E 400 N                                               Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Spanish Fork Nineteenth Ward                         Utah National Parks 591                662 W 520 N                                               Spanish Fork, UT 84660‐1447                                 First Class Mail
Chartered Organization         Lds Spanish Fork Ninth Ward                              Utah National Parks 591                6300 Del Monte Rd                                         Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Spanish Fork Second Ward                             Utah National Parks 591                541 W Center St                                           Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Spanish Fork Seventeenth Ward                        Utah National Parks 591                681 S 1550 E                                              Spanish Fork, UT 84660‐2726                                 First Class Mail
Chartered Organization         Lds Spanish Fork Seventh Ward                            Utah National Parks 591                761 E 400 N                                               Spanish Fork, UT 84660‐5820                                 First Class Mail
Chartered Organization         Lds Spanish Fork Sixteenth Ward                          Utah National Parks 591                505 E 900 N                                               Spanish Fork, UT 84660‐5637                                 First Class Mail
Chartered Organization         Lds Spanish Fork Sixth Ward                              Utah National Parks 591                291 W 700 N                                               Spanish Fork, UT 84660‐1131                                 First Class Mail
Chartered Organization         Lds Spanish Fork Tenth Ward                              Utah National Parks 591                358 N 400 E                                               Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Spanish Fork Third Ward                              Utah National Parks 591                360 N 650 W                                               Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Spanish Fork Twelfth Ward                            Utah National Parks 591                370 Scenic Dr                                             Spanish Fork, UT 84660‐2467                                 First Class Mail
Chartered Organization         Lds Spanish Fork Twenty 1st Br                           Tongan Ward                            1750 W 5000 S                                             Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Spanish Fork Twenty Fourth Branch                    Utah National Parks 591                490 S Main St                                             Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Spanish Fork Twenty Second Ward                      Utah National Parks 591                911 E 300 N                                               Spanish Fork, UT 84660‐1958                                 First Class Mail
Chartered Organization         Lds Spanish Highlands Second Ward                        Utah National Parks 591                281 N 2470 E                                              Spanish Fork, UT 84660‐6084                                 First Class Mail
Chartered Organization         Lds Spanish Highlands Third Ward                         Utah National Parks 591                363 N 2040 E                                              Spanish Fork, UT 84660‐6078                                 First Class Mail
Chartered Organization         Lds Spanish Highlands Ward                               Utah National Parks 591                2188 E 100 S                                              Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Spanish Hills Ward Spg Mtn Stake                     Las Vegas Area Council 328             9580 Peace Way                                            Las Vegas, NV 89147‐8427                                    First Class Mail
Chartered Organization         Lds Spanish Oaks Ward                                    Utah National Parks 591                1671 Stony View Dr                                        Spanish Fork, UT 84660‐9318                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                      Page 236 of 442
                                                                                   Case 20-10343-LSS                                Doc 8171                                    Filed 01/06/22                                                   Page 252 of 457
                                                                                                                                                                   Exhibit B
                                                                                                                                                                    Service List
                                                                                                                                                             Served as set forth below

        Description                                                         Name                                                                                 Address                                                                                                Email              Method of Service
Chartered Organization         Lds Spanish Peak Ward                                      Utah National Parks 591              1750 E 750 S                                            Spanish Fork, UT 84660                                                                   First Class Mail
Chartered Organization         Lds Spanish Ridge Ward                                     Utah National Parks 591              989 S 2550 E                                            Spanish Fork, UT 84660                                                                   First Class Mail
Chartered Organization         Lds Spanish Springs Ward                                   Sparks East Stake                    570 E 4Th Ave                                           Sun Valley, NV 89433‐7814                                                                First Class Mail
Chartered Organization         Lds Spanish Trails Ward (Cedar Breaks)                     Utah National Parks 591              3600 N Minersville Hwy                                  Enoch, UT 84721                                                                          First Class Mail
Chartered Organization         Lds Spanish Trails Ward (Sp F)                             Utah National Parks 591              452 N 560 W                                             Spanish Fork, UT 84660‐1473                                                              First Class Mail
Chartered Organization         Lds Spanish Vista Ward (Sp Fork)                           Utah National Parks 591              1167 S 1700 E                                           Spanish Fork, UT 84660‐9023                                                              First Class Mail
Chartered Organization         Lds Sparkman Ward, Huntsville Stake                        Greater Alabama Council 001          1804 Sparkman Dr Nw                                     Huntsville, AL 35816‐1118                                                                First Class Mail
Chartered Organization         Lds Sparta Sparta Ward Morristown                          Patriots Path Council 358            195 Pinkneyville Rd                                     Sparta, NJ 07871                                                                         First Class Mail
Chartered Organization         Lds Spartanburg 1St Ward                                   Greenville, SC E Stake               121 Hamilton Ave                                        Spartanburg, SC 29302‐4608                                                               First Class Mail
Chartered Organization         Lds Spartanburg 2Nd Ward                                   Greenville, SC E Stake               121 Quail Dr                                            Spartanburg, SC 29302‐3219                                                               First Class Mail
Chartered Organization         Lds Special Needs Cache Valley                             Logan South Stake                    344 W 700 S                                             Logan, UT 84321                                                                          First Class Mail
Chartered Organization         Lds Special Needs Troop                                    Tooele Ut E Stake                    751 N 520 E                                             Tooele, UT 84074                                                                         First Class Mail
Chartered Organization         Lds Spectrum Ward ‐ Gilbert Az                             Williams Field Stake                 1155 E Ray Rd                                           Gilbert, AZ 85295                                                                        First Class Mail
Chartered Organization         Lds Spencer 1St Ward/Magna Ut Stk                          Great Salt Lake Council 590          3084 S 8400 W                                           Magna, UT 84044                                                                          First Class Mail
Chartered Organization         Lds Spencer 3Rd Ward/Magna Ut South Stk                    Great Salt Lake Council 590          8181 W Breeze Dr                                        Magna, UT 84044                                                                          First Class Mail
Chartered Organization         Lds Spencer 4Th Ward/Magna Ut South Stk                    Great Salt Lake Council 590          8181 W Breeze Dr                                        Magna, UT 84044                                                                          First Class Mail
Chartered Organization         Lds Spencer 5Th Ward/Magna Ut South Stk                    Great Salt Lake Council 590          3830 S 8000 W                                           Magna, UT 84044                                                                          First Class Mail
Chartered Organization         Lds Spencer 6Th Ward/Magna Ut South Stk                    Great Salt Lake Council 590          8181 W Breeze Dr                                        Magna, UT 84044                                                                          First Class Mail
Chartered Organization         Lds Spencer Ward Sioux City Stake                          Mid‐America Council 326              1701 11Th Ave W                                         Spencer, IA 51301                                                                        First Class Mail
Chartered Organization         Lds Spg Creek Ninteenth Br (Spanish)                       Utah National Parks 591              55 N Main St                                            Springville, UT 84663                                                                    First Class Mail
Chartered Organization         Lds Spg Gulch Ward                                         Highlands Ranch Stake                Denver Area Council 061                                 9800A Foothills Canyon Blvd       Highlands Ranch, Co 80129                              First Class Mail
Chartered Organization         Lds Spg Vly Lake Ward                                      Apple Valley Stake                   12100 Ridgecrest Rd                                     Victorville, CA 92395‐7796                                                               First Class Mail
Chartered Organization         Lds Spgfield 1St Ward Spgfield Stake                       Oregon Trail Council 697             1155 President St                                       Eugene, OR 97401‐5378                                                                    First Class Mail
Chartered Organization         Lds Spgfield 2Nd Ward Spgfield Stake                       Oregon Trail Council 697             1533 Market St                                          Springfield, OR 97477‐3339                                                               First Class Mail
Chartered Organization         Lds Spgfield 3Rd Ward Spgfield Stake                       Oregon Trail Council 697             525 66Th St                                             Springfield, OR 97478‐7107                                                               First Class Mail
Chartered Organization         Lds Spgfield 4Th Ward Spgfield Stake                       Oregon Trail Council 697             525 66Th St                                             Springfield, OR 97478‐7107                                                               First Class Mail
Chartered Organization         Lds Spgfield 5Th Ward Spgfield Stake                       Oregon Trail Council 697             525 66Th St                                             Springfield, OR 97478‐7107                                                               First Class Mail
Chartered Organization         Lds Spgfield Ward                                          Dayton Ohio East Stake (Does)        4400 Derr Rd                                            Springfield, OH 45503                                                                    First Class Mail
Chartered Organization         Lds Split Mountain Ward                                    Utah National Parks 591              P.O. Box 790206                                         Vernal, UT 84079‐0206                                                                    First Class Mail
Chartered Organization         Lds Spotsylvania Ward                                      Fredericksburg Stake                 5600 Smith Station Rd                                   Fredericksburg, VA 22407‐9311                                                            First Class Mail
Chartered Organization         Lds Spring City First Ward                                 Utah National Parks 591              P.O. Box 306                                            Spring City, UT 84662‐0306                                                               First Class Mail
Chartered Organization         Lds Spring City Second Ward                                Utah National Parks 591              164 S Main St                                           Spring City, UT 84662                                                                    First Class Mail
Chartered Organization         Lds Spring Creek 1St Ward                                  Elko East Stake                      77 Spring Creek Pkwy                                    Spring Creek, NV 89815‐5134                                                              First Class Mail
Chartered Organization         Lds Spring Creek 2Nd Ward                                  Elko East Stake                      234 Boyd Kennedy Rd                                     Spring Creek, NV 89815                                                                   First Class Mail
Chartered Organization         Lds Spring Creek 3Rd Ward                                  Elko East Stake                      77 Spring Creek Pkwy                                    Spring Creek, NV 89815‐5134                                                              First Class Mail
Chartered Organization         Lds Spring Creek 4Th Ward                                  Elko East Stake                      234 Boyd Kennedy Rd                                     Spring Creek, NV 89815                                                                   First Class Mail
Chartered Organization         Lds Spring Creek 5Th Ward                                  Elko East Stake                      234 Boyd Kennedy Rd                                     Spring Creek, NV 89815                                                                   First Class Mail
Chartered Organization         Lds Spring Creek Eighteenth Ward                           Utah National Parks 591              226 E 1075 N                                            Springville, UT 84663‐3135                                                               First Class Mail
Chartered Organization         Lds Spring Creek Eighth Ward                               Utah National Parks 591              189 E 1400 N                                            Springville, UT 84663‐3142                                                               First Class Mail
Chartered Organization         Lds Spring Creek Fifteenth Ward                            Utah National Parks 591              876 N 500 E                                             Springville, UT 84663‐1481                                                               First Class Mail
Chartered Organization         Lds Spring Creek Fifth Ward                                Utah National Parks 591              860 E 200 N                                             Springville, UT 84663                                                                    First Class Mail
Chartered Organization         Lds Spring Creek First Ward                                Utah National Parks 591              860 E 200 N                                             Springville, UT 84663                                                                    First Class Mail
Chartered Organization         Lds Spring Creek Fourteenth Ward                           Utah National Parks 591              672 W 250 N                                             Springville, UT 84663                                                                    First Class Mail
Chartered Organization         Lds Spring Creek Fourth Ward                               Utah National Parks 591              350 E 400 N                                             Springville, UT 84663‐1460                                                               First Class Mail
Chartered Organization         Lds Spring Creek Ninth Ward                                Utah National Parks 591              355 E Center St                                         Springville, UT 84663                                                                    First Class Mail
Chartered Organization         Lds Spring Creek Second Ward                               Utah National Parks 591              350 N 400 E                                             Springville, UT 84664                                                                    First Class Mail
Chartered Organization         Lds Spring Creek Seventeenth                               Utah National Parks 591              760 N 400 E                                             Springville, UT 84663                                                                    First Class Mail
Chartered Organization         Lds Spring Creek Seventh Ward                              Utah National Parks 591              400 N 400 E                                             Springville, UT 84663                                                                    First Class Mail
Chartered Organization         Lds Spring Creek Sixth Ward                                Utah National Parks 591              225 N 1170 E                                            Springville, UT 84663‐1736                                                               First Class Mail
Chartered Organization         Lds Spring Creek Tenth Ward                                Utah National Parks 591              672 N 250 W                                             Springville, UT 84663                                                                    First Class Mail
Chartered Organization         Lds Spring Creek Third Ward                                Utah National Parks 591              55 N Main St                                            Springville, UT 84663                                                                    First Class Mail
Chartered Organization         Lds Spring Creek Thirteenth Ward                           Utah National Parks 591              760 N 400 E                                             Springville, UT 84663                                                                    First Class Mail
Chartered Organization         Lds Spring Creek Twelveth Ward                             Utah National Parks 591              235 E 550 N                                             Springville, UT 84663                                                                    First Class Mail
Chartered Organization         Lds Spring Creek Twentieth Ward                            Utah National Parks 591              1028 W 550 N                                            Springville, UT 84663‐5747                                                               First Class Mail
Chartered Organization         Lds Spring Creek Twenty First                              Utah National Parks 591              821 W 225 S                                             Springville, UT 84663‐5533                                                               First Class Mail
Chartered Organization         Lds Spring Creek Ward                                      Farmington Ut W Stake                905 Fox Hunter Dr                                       Farmington, UT 84025                                                                     First Class Mail
Chartered Organization         Lds Spring Creek Ward                                      Houston N Stake                      25023 Northampton Forest Dr                             Spring, TX 77389‐2918                                                                    First Class Mail
Chartered Organization         Lds Spring Creek Ward/Montrose Stake                       Denver Area Council 061              21004 Uncompahgre Rd                                    Montrose, CO 81403‐8749                                                                  First Class Mail
Chartered Organization         Lds Spring Glen Ward                                       Utah National Parks 591              150 Ridgeway St                                         Helper, UT 84526‐1306                                                                    First Class Mail
Chartered Organization         Lds Spring Haven Ward                                      Utah National Parks 591              200 N Center St                                         Lehi, UT 84043‐1829                                                                      First Class Mail
Chartered Organization         Lds Spring Haven Ward                                      Syracuse South Stake                 3065 S Bluff Rd                                         Syracuse, UT 84075                                                                       First Class Mail
Chartered Organization         Lds Spring Hill Ward                                       North S L Parkway Stake              351 Lofty Ln                                            North Salt Lake, UT 84054                                                                First Class Mail
Chartered Organization         Lds Spring Hill Ward Lebanon Stake                         Cascade Pacific Council 492          2850 Grand Prairie Rd Se                                Albany, OR 97322‐5802                                                                    First Class Mail
Chartered Organization         Lds Spring Hollow First Ward                               Utah National Parks 591              688 W 500 N                                             American Fork, UT 84003                                                                  First Class Mail
Chartered Organization         Lds Spring Hollow Second Ward                              Utah National Parks 591              986 W Sunrise Ln                                        American Fork, UT 84003‐5610                                                             First Class Mail
Chartered Organization         Lds Spring Lake Fifth Ward                                 Utah National Parks 591              448 W 1500 S                                            Payson, UT 84651‐8651                                                                    First Class Mail
Chartered Organization         Lds Spring Lake First Ward                                 Utah National Parks 591              12625 S Spring Lake Rd                                  Payson, UT 84651‐9686                                                                    First Class Mail
Chartered Organization         Lds Spring Lake Fourth Ward                                Utah National Parks 591              1655 S 500 W                                            Payson, UT 84651‐8600                                                                    First Class Mail
Chartered Organization         Lds Spring Lake Third Ward                                 Utah National Parks 591              1404 S 500 W                                            Payson, UT 84651‐4633                                                                    First Class Mail
Chartered Organization         Lds Spring Lake Ward                                       Grand Rapids Stake                   18975 168Th Ave                                         Spring Lake, MI 49456‐9775                                                               First Class Mail
Chartered Organization         Lds Spring Lakes Ward Oakton Stake                         National Capital Area Council 082    1515 Poplar Grove Dr                                    Reston, VA 20194‐1734                                                                    First Class Mail
Chartered Organization         Lds Spring Meadow Ward                                     Utah National Parks 591              136 W Summerhill Dr                                     Saratoga Springs, UT 84045‐6416                                                          First Class Mail
Chartered Organization         Lds Spring Meadows Ward                                    Tooele Ut E Stake                    132 N 570 E                                             Tooele, UT 84074                                                                         First Class Mail
Chartered Organization         Lds Spring Run Ward                                        Utah National Parks 591              3318 E Ox Brg                                           Eagle Mountain, UT 84005‐4848                                                            First Class Mail
Chartered Organization         Lds Spring Trails Ward                                     The Woodlands Stake                  C/O Bishop Regan Howell                                 Sam Houston Area Council 576      3591 Discovery Creek Lane   Spring, Tx 77386           First Class Mail
Chartered Organization         Lds Spring Valley Ward ‐ Cottonwood Az Stk                 Grand Canyon Council 010             17330 E Mule Deer Dr                                    Mayer, AZ 86333‐4218                                                                     First Class Mail
Chartered Organization         Lds Spring Valley Ward Lakes Stake                         Las Vegas Area Council 328           4545 New Forest Dr                                      Las Vegas, NV 89147‐4044                                                                 First Class Mail
Chartered Organization         Lds Springdale Ward                                        Utah National Parks 591              P.O. Box 46                                             Springdale, UT 84767‐0046                                                                First Class Mail
Chartered Organization         Lds Springdale Ward Springdale Stake                       Westark Area Council 016             6738 Lynchs Prairie Cv                                  Springdale, AR 72762                                                                     First Class Mail
Chartered Organization         Lds Springerville Ward ‐ Eagar Az Stk                      Grand Canyon Council 010             150 N Aldrice Burk Dr                                   Springerville, AZ 85938                                                                  First Class Mail
Chartered Organization         Lds Springfield 1St Ward 2280Th Stake                      Abraham Lincoln Council 144          5105 Johanne Ct                                         Springfield, IL 62711‐6265                                                               First Class Mail
Chartered Organization         Lds Springfield 2Nd Ward 2280Th Stake                      Abraham Lincoln Council 144          4225 Buckeye Dr                                         Springfield, IL 62707                                                                    First Class Mail
Chartered Organization         Lds Springfield Ward                                       Western Massachusetts Council 234    376 Maple St                                            Springfield, MA 01105‐1924                                                               First Class Mail
Chartered Organization         Lds Springfield Ward Annandale Stake                       National Capital Area Council 082    6942 Sydenstricker Rd                                   Springfield, VA 22152‐2739                                                               First Class Mail
Chartered Organization         Lds Springs Hollow/ Fielding Stake                         Trapper Trails 589                   4375 W 15600 N                                          Fielding, UT 84311                                                                       First Class Mail
Chartered Organization         Lds Springs Ward                                           Utah National Parks 591              503 N 1275 W                                            St George, UT 84770‐4341                                                                 First Class Mail
Chartered Organization         Lds Springtown Ward                                        Longhorn Council 662                 1010 Timberoaks Dr                                      Azle, TX 76020‐2588                                                                      First Class Mail
Chartered Organization         Lds Springtown Ward ‐ Livermore Stake                      San Francisco Bay Area Council 028   5447 Wildflower Dr                                      Livermore, CA 94551‐6957                                                                 First Class Mail
Chartered Organization         Lds Springview Ward/S L Grant Stk                          Great Salt Lake Council 590          3153 S 900 E                                            Salt Lake City, UT 84106                                                                 First Class Mail
Chartered Organization         Lds Springville Eighth Ward                                Utah National Parks 591              245 S 600 E                                             Springville, UT 84663‐5621                                                               First Class Mail
Chartered Organization         Lds Springville Fifth Ward                                 Utah National Parks 591              245 S 600 E                                             Springville, UT 84663‐5621                                                               First Class Mail
Chartered Organization         Lds Springville First Ward                                 Utah National Parks 591              245 S 600 E                                             Springville, UT 84663‐5621                                                               First Class Mail
Chartered Organization         Lds Springville Fourth Ward                                Utah National Parks 591              966 W Center St                                         Springville, UT 84663                                                                    First Class Mail
Chartered Organization         Lds Springville Ninth                                      c/o Bp Scott Ashcraft                497 W 200 S                                             Springville, UT 84663‐4906                                                               First Class Mail
Chartered Organization         Lds Springville Second Ward                                Utah National Parks 591              1785 E 400 S                                            Springville, UT 84663‐2918                                                               First Class Mail
Chartered Organization         Lds Springville Seventh Ward                               Utah National Parks 591              1785 E 400 S                                            Springville, UT 84663‐2918                                                               First Class Mail
Chartered Organization         Lds Springville Sixth Ward                                 Utah National Parks 591              1785 E 400 S                                            Springville, UT 84663‐2918                                                               First Class Mail
Chartered Organization         Lds Springville Third Ward                                 Utah National Parks 591              355 E Center St                                         Springville, UT 84663                                                                    First Class Mail
Chartered Organization         Lds Springville Ward Cedar Mill Stake                      Cascade Pacific Council 492          19180 Nw West Union Rd                                  Hillsboro, OR 97124‐8644                                                                 First Class Mail
Chartered Organization         Lds Springwood Ward                                        Bountiful Ut Orchard Stake           167 W Monarch Dr                                        Bountiful, UT 84010                                                                      First Class Mail
Chartered Organization         Lds St Albans Br                                           Montpelier Vermont Stake             22 Bushey Dr                                            St Albans, VT 05478                                                                      First Class Mail
Chartered Organization         Lds St Anthony Stake                                       St Anthony 3Rd Ward                  507 W 2Nd N                                             St Anthony, ID 83445‐1311                                                                First Class Mail
Chartered Organization         Lds St Anthony Stake                                       St Anthony 4Th Ward                  507 W 2Nd N                                             St Anthony, ID 83445‐1311                                                                First Class Mail
Chartered Organization         Lds St Anthony Stake                                       St Anthony 2Nd Ward                  330 E 1St N                                             St Anthony, ID 83445‐1602                                                                First Class Mail
Chartered Organization         Lds St Anthony Stake                                       St Anthony 1St Ward                  230 N 7Th E                                             St Anthony, ID 83445‐1643                                                                First Class Mail
Chartered Organization         Lds St Anthony Stake                                       Twin Groves 2Nd Ward                 465 N 2700 E                                            St Anthony, ID 83445‐5816                                                                First Class Mail
Chartered Organization         Lds St Anthony Stake ‐ Egin Bench Ward                     Grand Teton Council 107              1633 E 400 N                                            St Anthony, ID 83445                                                                     First Class Mail
Chartered Organization         Lds St Anthony Stake ‐ Parker 1St Ward                     Grand Teton Council 107              480 N 2000 E                                            St Anthony, ID 83445‐5317                                                                First Class Mail
Chartered Organization         Lds St Anthony Stake ‐ Parker 2Nd Ward                     Grand Teton Council 107              132 N Center St                                         St Anthony, ID 83445                                                                     First Class Mail
Chartered Organization         Lds St Anthony Stake ‐ Twin Groves Ward                    Grand Teton Council 107              247 E 4 N                                               St Anthony, ID 83445                                                                     First Class Mail
Chartered Organization         Lds St Anthony Stake ‐ Wilford 1St Ward                    Grand Teton Council 107              215 N 2400 E                                            St Anthony, ID 83445                                                                     First Class Mail
Chartered Organization         Lds St Anthony Stake ‐ Wilford 2Nd Ward                    Grand Teton Council 107              2353 E 200 N                                            St Anthony, ID 83445‐5702                                                                First Class Mail
Chartered Organization         Lds St Charles Ward ‐ Hazelwood Stake                      Greater St Louis Area Council 312    2245 S Old Hwy 94                                       St Charles, MO 63303‐3718                                                                First Class Mail
Chartered Organization         Lds St Cloud Hunters Creek                                 Central Florida Council 083          2821 Old Canoe Creek Rd                                 St Cloud, FL 34772                                                                       First Class Mail
Chartered Organization         Lds St Cloud Stake ‐ Hutchinson Branch                     Northern Star Council 250            770 School Rd Nw                                        Hutchinson, MN 55350‐1429                                                                First Class Mail
Chartered Organization         Lds St Cloud Stake ‐ Willmar Branch                        Northern Star Council 250            300 26Th Ave Ne                                         Willmar, MN 56201‐2272                                                                   First Class Mail
Chartered Organization         Lds St George Eighth Ward                                  Utah National Parks 591              166 S Main St                                           St George, UT 84770                                                                      First Class Mail
Chartered Organization         Lds St George Fifth Ward                                   Utah National Parks 591              85 S 400 E                                              St George, UT 84770                                                                      First Class Mail
Chartered Organization         Lds St George First Ward                                   Utah National Parks 591              591 W 500 N                                             St George, UT 84770                                                                      First Class Mail
Chartered Organization         Lds St George Fourth Ward                                  Utah National Parks 591              449 S 300 E                                             St George, UT 84770                                                                      First Class Mail
Chartered Organization         Lds St George Ninth Ward                                   Utah National Parks 591              550 E 700 S                                             St George, UT 84770                                                                      First Class Mail
Chartered Organization         Lds St George Second Ward                                  Utah National Parks 591              166 S Main St                                           St George, UT 84770                                                                      First Class Mail
Chartered Organization         Lds St George Seventeenth Ward                             Utah National Parks 591              200 W 500 N                                             St George, UT 84770                                                                      First Class Mail
Chartered Organization         Lds St George Seventh Ward                                 Utah National Parks 591              449 S 300 E                                             St George, UT 84770                                                                      First Class Mail
Chartered Organization         Lds St George Sixteenth Ward                               Utah National Parks 591              550 E 700 S                                             St George, UT 84770                                                                      First Class Mail
Chartered Organization         Lds St George Sixth Ward                                   Utah National Parks 591              85 S 400 E                                              St George, UT 84770                                                                      First Class Mail
Chartered Organization         Lds St George Sunset Ninth Br (Spanish)                    Utah National Parks 591              750 N 1000 W                                            St George, UT 84770                                                                      First Class Mail
Chartered Organization         Lds St George Tenth Ward                                   Utah National Parks 591              591 W 500 N                                             St George, UT 84770                                                                      First Class Mail
Chartered Organization         Lds St George Third Ward                                   Utah National Parks 591              200 W 500 N                                             St George, UT 84770                                                                      First Class Mail
Chartered Organization         Lds St George Twelfth Ward                                 Utah National Parks 591              156 E 500 S                                             St George, UT 84770‐3627                                                                 First Class Mail
Chartered Organization         Lds St George Twenty Eighth Branch                         Utah National Parks 591              2422 S River Rd Unit 3                                  St George, UT 84790‐8675                                                                 First Class Mail
Chartered Organization         Lds St Helena Branch‐Napa Stake                            Mt Diablo‐Silverado Council 023      2222 Spring St                                          St Helena, CA 94574‐2326                                                                 First Class Mail
Chartered Organization         Lds St Helens First Ward Rainier Stake                     Cascade Pacific Council 492          2755 Sykes Rd                                           St Helens, OR 97051‐2710                                                                 First Class Mail
Chartered Organization         Lds St Helens Second Ward Rainier Stake                    Cascade Pacific Council 492          2755 Sykes Rd                                           St Helens, OR 97051‐2710                                                                 First Class Mail
Chartered Organization         Lds St James Ward                                          Utah National Parks 591              1095 St James Ln                                        St George, UT 84790                                                                      First Class Mail
Chartered Organization         Lds St Johns Branch ‐ Lansing Stake                        Water And Woods Council 782          300 E Townsend Rd                                       St Johns, MI 48879‐8276                                                                  First Class Mail
Chartered Organization         Lds St Johns Ward Portland Stake                           Cascade Pacific Council 492          5620 N Bowdoin St                                       Portland, OR 97203‐4208                                                                  First Class Mail
Chartered Organization         Lds St Johns Ward Vancouver West Stake                     Cascade Pacific Council 492          9728 Ne 50Th Ave                                        Vancouver, WA 98665                                                                      First Class Mail
Chartered Organization         Lds St Joseph Ward ‐ Kalamazoo Stake                       Southern Shores Fsc 783              3653 Niles Rd                                           St Joseph, MI 49085‐8751                                                                 First Class Mail
Chartered Organization         Lds St Louis Hills Ward ‐ S St Louis Stake                 Greater St Louis Area Council 312    6740 Loughborough Ave                                   St Louis, MO 63123‐1738                                                                  First Class Mail
Chartered Organization         Lds St Mary's Ward Ward                                    Sl Monument Pk Stake                 1320 S Wasatch Dr                                       Salt Lake City, UT 84108‐2442                                                            First Class Mail
Chartered Organization         Lds St Paul Stake ‐ Blaine Ward                            Northern Star Council 250            100 Silver Lake Rd Nw                                   New Brighton, MN 55112‐3123                                                              First Class Mail
Chartered Organization         Lds St Paul Stake ‐ New Brighton Ward                      Northern Star Council 250            100 Silver Lake Rd Nw                                   New Brighton, MN 55112‐3123                                                              First Class Mail
Chartered Organization         Lds St Paul Stake ‐ North St Paul Ward                     Northern Star Council 250            2335 Edgerton St                                        Little Canada, MN 55117                                                                  First Class Mail
Chartered Organization         Lds St Paul Stake ‐ Shoreview Ward                         Northern Star Council 250            3143 Brookshire Ln                                      New Brighton, MN 55112‐6392                                                              First Class Mail
Chartered Organization         Lds St Paul Stake ‐ West St Paul Ward                      Northern Star Council 250            3645 Bailey Ridge Ct                                    Woodbury, MN 55125‐8461                                                                  First Class Mail
Chartered Organization         Lds St Peters Ward ‐ North County Stake                    Greater St Louis Area Council 312    2245 S Old Hwy 94                                       St Charles, MO 63303‐3718                                                                First Class Mail
Chartered Organization         Lds St Robert Ward 1‐St Robert Stake                       Ozark Trails Council 306             123 Bosa Dr                                             St Robert, MO 65584                                                                      First Class Mail
Chartered Organization         Lds St Robert Ward 2‐St Robert Stake                       Ozark Trails Council 306             123 Bosa Dr                                             St Robert, MO 65584                                                                      First Class Mail
Chartered Organization         Lds St Rose Ward Carnegie Stake                            Las Vegas Area Council 328           2901 Wigwam Pkwy                                        Henderson, NV 89074                                                                      First Class Mail
Chartered Organization         Lds Stafford Br (Spn)                                      Stafford Virginia Stake              1399 Courthouse Rd                                      Stafford, VA 22554‐7234                                                                  First Class Mail
Chartered Organization         Lds Stafford Ward Lake Oswego Stake                        Cascade Pacific Council 492          4990 Sw Saum Way                                        Tualatin, OR 97062‐6721                                                                  First Class Mail
Chartered Organization         Lds Stallion Mountain Ward East Stake                      Las Vegas Area Council 328           2285 Tree Line Dr                                       Las Vegas, NV 89142‐7909                                                                 First Class Mail
Chartered Organization         Lds Stamford 1 Ward Yorktown Stake                         Connecticut Yankee Council Bsa 072   834 Stillwater Rd                                       Stamford, CT 06902                                                                       First Class Mail
Chartered Organization         Lds Stanford Ward ‐ Garden Grove Stake                     Orange County Council 039            10212 Stanford Ave                                      Garden Grove, CA 92840                                                                   First Class Mail
Chartered Organization         Lds Stanley Ward Olathe Stake                              Heart Of America Council 307         13025 Wornall Rd                                        Kansas City, MO 64145                                                                    First Class Mail
Chartered Organization         Lds Stansbury Lake Ward                                    Stansbury Park Ut So Stake           5899 Bayshore Dr                                        Stansbury Park, UT 84074‐9000                                                            First Class Mail
Chartered Organization         Lds Stansbury Village Ward                                 Stansbury Park Ut South Stake        390 Village Blvd                                        Stansbury Park, UT 84074‐8140                                                            First Class Mail
Chartered Organization         Lds Stansbury Ward/Stansbury Park Ut Stk                   Great Salt Lake Council 590          417 Benson Rd                                           Stansbury Park, UT 84074‐9050                                                            First Class Mail
Chartered Organization         Lds Stanwood Ward Mt Vernon Stake                          Mount Baker Council, Bsa 606         745 Ell Rd                                              Camano Island, WA 98282                                                                  First Class Mail
Chartered Organization         Lds Star 2Nd Ward ‐ Star Stk                               Ore‐Ida Council 106 ‐ Bsa 106        9400 W Floating Feather Rd                              Star, ID 83669                                                                           First Class Mail
Chartered Organization         Lds Star 3Rd Ward ‐ Star Stk                               Ore‐Ida Council 106 ‐ Bsa 106        484 S Main St                                           Star, ID 83669                                                                           First Class Mail
Chartered Organization         Lds Star 4Th Ward ‐ Star Stk                               Ore‐Ida Council 106 ‐ Bsa 106        497 N Lyngate Pl                                        Star, ID 83669‐5073                                                                      First Class Mail
Chartered Organization         Lds Star 5Th Ward ‐ Star Stake                             Ore‐Ida Council 106 ‐ Bsa 106        1375 N Star Rd                                          Star, ID 83669‐5250                                                                      First Class Mail
Chartered Organization         Lds Star Heights Ward Rio Rancho Stake                     Great Swest Council 412              2807 Cabezon Blvd Se                                    Rio Rancho, NM 87124‐1747                                                                First Class Mail
Chartered Organization         Lds Star Ward ‐ Star Stk                                   Ore‐Ida Council 106 ‐ Bsa 106        484 S Main St                                           Star, ID 83669                                                                           First Class Mail
Chartered Organization         Lds Starcrest Ward/S L Rose Park Stk                       Great Salt Lake Council 590          874 N Starcrest Dr                                      Salt Lake City, UT 84116                                                                 First Class Mail
Chartered Organization         Lds Stayton Ward Salem Stake                               Cascade Pacific Council 492          1400 Wern Ave                                           Stayton, OR 97383                                                                        First Class Mail
Chartered Organization         Lds Stead Ward ‐ Reno North Stake                          Nevada Area Council 329              8080 Lemmon Dr                                          Reno, NV 89506‐9095                                                                      First Class Mail
Chartered Organization         Lds Steeplechase Ward Tule Springs Stake                   Las Vegas Area Council 328           8305 Fulton Ranch St                                    Las Vegas, NV 89131‐2039                                                                 First Class Mail
Chartered Organization         Lds Stephenville Ward                                      Weatherford Stake                    145 County Rd 260                                       Dublin, TX 76446‐6150                                                                    First Class Mail
Chartered Organization         Lds Sterling Heights Ward                                  Bountiful Ut Orchard Stake           191 W Monarch Dr                                        Bountiful, UT 84010                                                                      First Class Mail
Chartered Organization         Lds Sterling Hts Ward                                      Bloomfield Hills Stake               2784 W Square Lake Rd                                   Troy, MI 48098                                                                           First Class Mail
Chartered Organization         Lds Sterling Park Ward Ashburn Stake                       National Capital Area Council 082    22066 Cir Dr                                            Sterling, VA 20164                                                                       First Class Mail
Chartered Organization         Lds Sterling Park Ward Oakton Stake                        National Capital Area Council 082    22066 Cir Dr                                            Sterling, VA 20164                                                                       First Class Mail
Chartered Organization         Lds Sterling Ridge Ward South Stake                        Las Vegas Area Council 328           9485 S Cimarron                                         Las Vegas, NV 89178                                                                      First Class Mail
Chartered Organization         Lds Sterling Ward                                          Utah National Parks 591              P.O. Box 650066                                         Sterling, UT 84665‐0066                                                                  First Class Mail
Chartered Organization         Lds Sterling Ward ‐ Soldotna Stake                         Great Alaska Council 610             36691 Edgington Rd                                      Soldotna, AK 99669‐8698                                                                  First Class Mail
Chartered Organization         Lds Stetson Hills Ward ‐ High Plains Stake                 Pikes Peak Council 060               5485 Hopalong Trl                                       Colorado Springs, CO 80922‐3646                                                          First Class Mail
Chartered Organization         Lds Stetson Valley Ward ‐ Phoenix Az                       Tbird Park Stake                     5104 W Pinnacle Peak Rd                                 Glendale, AZ 85310‐3835                                                                  First Class Mail
Chartered Organization         Lds Stevens Creek Ward                                     Augusta Georgia Stake                835 N Belair Rd                                         Evans, GA 30809                                                                          First Class Mail
Chartered Organization         Lds Stevens Creek Ward ‐ Saratoga Stake                    Silicon Valley Monterey Bay 055      10270 S Stelling Rd                                     Cupertino, CA 95014‐4226                                                                 First Class Mail
Chartered Organization         Lds Stevens Point Ward ‐ Wausau Stake                      Samoset Council, Bsa 627             5431 Golla Rd                                           Stevens Point, WI 54482‐8604                                                             First Class Mail
Chartered Organization         Lds Stevenson Ward The Dalles Stake                        Cascade Pacific Council 492          P.O. Box 71                                             Stevenson, WA 98648‐0071                                                                 First Class Mail
Chartered Organization         Lds Stevensville 1St Wd                                    Stevensville Stake                   100 Middle Burnt Fork Rd                                Stevensville, MT 59870‐2619                                                              First Class Mail
Chartered Organization         Lds Stevensville 2Nd Wd                                    Stevensville Stake                   100 Middle Burnt Fork Rd                                Stevensville, MT 59870‐2619                                                              First Class Mail
Chartered Organization         Lds Stewart Place Ward Central Stake                       Las Vegas Area Council 328           375 N Hollywood Blvd                                    Las Vegas, NV 89110‐5229                                                                 First Class Mail
Chartered Organization         Lds Stewart Ward ‐ Mesa Az Maricopa Stk                    Grand Canyon Council 010             611 N Stewart                                           Mesa, AZ 85201‐4638                                                                      First Class Mail
Chartered Organization         Lds Still Water Ward                                       Syracuse South Stake                 3824 S 600 W                                            Syracuse, UT 84075‐8927                                                                  First Class Mail
Chartered Organization         Lds Stillaguamish Ward Arlington Stake                     Mount Baker Council, Bsa 606         8415 Arlington Heights Rd                               Arlington, WA 98223                                                                      First Class Mail
Chartered Organization         Lds Stillwater Ward                                        Utah National Parks 591              341 W Shadow Ridge Dr                                   Saratoga Springs, UT 84045‐6664                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                    Page 237 of 442
                                                                                   Case 20-10343-LSS                                  Doc 8171                                Filed 01/06/22                           Page 253 of 457
                                                                                                                                                                 Exhibit B
                                                                                                                                                                  Service List
                                                                                                                                                           Served as set forth below

        Description                                                         Name                                                                               Address                                                                   Email              Method of Service
Chartered Organization         Lds Stockbridge Ward Conyers Ga Stake                      Flint River Council 095                3355 Georgia 155 N                                  Stockbridge, GA 30281                                       First Class Mail
Chartered Organization         Lds Stockdale Ward, Bakersfield Stake                      Southern Sierra Council 030            601 Deseret Way                                     Bakersfield, CA 93309‐1232                                  First Class Mail
Chartered Organization         Lds Stockton 2Nd Ward/Tooele Utah Stake                    Great Salt Lake Council 590            405 N Conner Ave                                    Stockton, UT 84071                                          First Class Mail
Chartered Organization         Lds Stockton Hill Ward Kingman Stake                       Las Vegas Area Council 328             2033 Will Rogers Way                                Kingman, AZ 86409‐0502                                      First Class Mail
Chartered Organization         Lds Stockton Ward ‐ Springfield Stake                      Ozark Trails Council 306               18875 E 1200 Rd                                     Stockton, MO 65785‐7189                                     First Class Mail
Chartered Organization         Lds Stockton Ward/Tooele Ut Stk                            Great Salt Lake Council 590            P.O. Box 236                                        Stockton, UT 84071‐0236                                     First Class Mail
Chartered Organization         Lds Stone Bridge Ward ‐ Mesa Az                            Salt River Stake                       7752 E Mcdowell Rd                                  Mesa, AZ 85207‐1223                                         First Class Mail
Chartered Organization         Lds Stone Creek Ward                                       Bntfl Ut Stone Creek Stake             1476 N 300 W                                        Bountiful, UT 84010                                         First Class Mail
Chartered Organization         Lds Stone Creek Ward                                       Layton South Stake                     505 S 1000 W                                        Layton, UT 84041                                            First Class Mail
Chartered Organization         Lds Stone Creek Ward ‐ Qc Az South Stk                     Grand Canyon Council 010               471 E Mayfield Dr                                   Queen Creek, AZ 85143‐4929                                  First Class Mail
Chartered Organization         Lds Stone Crest Ward ‐ Qc Az Central Stk                   Grand Canyon Council 010               20415 E Chandler Hts Rd                             Queen Creek, AZ 85142                                       First Class Mail
Chartered Organization         Lds Stone Mtn Ward Elkhorn Spgs Stake                      Las Vegas Area Council 328             7500 Tule Springs Rd                                Las Vegas, NV 89131‐8174                                    First Class Mail
Chartered Organization         Lds Stone Oak Ward ‐ North Stake                           Alamo Area Council 583                 945 Knights Cross                                   San Antonio, TX 78258                                       First Class Mail
Chartered Organization         Lds Stone Ridge Ward                                       Rvrtn Ut Summerhill Stake              12070 Laurel Chase Dr                               Riverton, UT 84065                                          First Class Mail
Chartered Organization         Lds Stonebridge Ward                                       Utah National Parks 591                8512 N Stonebridge Ln                               Eagle Mountain, UT 84005‐6230                               First Class Mail
Chartered Organization         Lds Stonebridge Ward                                       Utah National Parks 591                82 N Dixie Dr                                       St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Stonecliff Ward (Boulder Ridge)                        Utah National Parks 591                1762 S River Rd                                     St George, UT 84790                                         First Class Mail
Chartered Organization         Lds Stonegate Ward                                         Denver Area Council 061                15878 Haseley Dr                                    Parker, CO 80134                                            First Class Mail
Chartered Organization         Lds Stonegate Ward Warm Springs Stake                      Las Vegas Area Council 328             7670 S Bruce St                                     Las Vegas, NV 89123‐1523                                    First Class Mail
Chartered Organization         Lds Stonehedge First                                       Utah National Parks 591                3795 S Camden Dr                                    Washington, UT 84780‐4909                                   First Class Mail
Chartered Organization         Lds Stoneridge Ward ‐ Prescott Valley Az                   Stake                                  7885 E Long Look Dr                                 Prescott Valley, AZ 86314‐5505                              First Class Mail
Chartered Organization         Lds Stonewood First Ward                                   Utah National Parks 591                575 W 400 S                                         Orem, UT 84058‐5318                                         First Class Mail
Chartered Organization         Lds Stonewood Fourth                                       Utah National Parks 591                450 S 100 W                                         Orem, UT 84058                                              First Class Mail
Chartered Organization         Lds Stonewood Second Ward                                  Utah National Parks 591                242 W 700 S                                         Orem, UT 84058‐6183                                         First Class Mail
Chartered Organization         Lds Stonewood Third                                        Utah National Parks 591                450 S 100 W                                         Orem, UT 84058                                              First Class Mail
Chartered Organization         Lds Stonewood Ward/Bennion Ut West Stk                     Great Salt Lake Council 590            6030 S Prairie View Dr                              Taylorsville, UT 84129                                      First Class Mail
Chartered Organization         Lds Stony Point Ward                                       Redwood Empire Council 041             1550 Northpoint Pkwy                                Santa Rosa, CA 95407‐7376                                   First Class Mail
Chartered Organization         Lds Stony Point Ward Round Rock E Stake                    Capitol Area Council 564               2400 N A. W Grimes Blvd                             Round Rock, TX 78665                                        First Class Mail
Chartered Organization         Lds Storm Lake Branch Sioux City Stake                     Mid‐America Council 326                712 Hwy 110                                         Storm Lake, IA 50588                                        First Class Mail
Chartered Organization         Lds Strasburg Ward, Aurora Stake                           Denver Area Council 061                P.O. Box 869                                        Strasburg, CO 80136‐0869                                    First Class Mail
Chartered Organization         Lds Stratford East Ward/S L Highland Stk                   Great Salt Lake Council 590            2635 S 1500 E                                       Salt Lake City, UT 84106                                    First Class Mail
Chartered Organization         Lds Stratford Estates Ward ‐ Mesa Az                       Desert Ridge Stake                     2647 S Signal Butte Rd                              Mesa, AZ 85209‐2100                                         First Class Mail
Chartered Organization         Lds Stratford Ward/S L Highland Stk                        Great Salt Lake Council 590            2635 S 1500 E                                       Salt Lake City, UT 84106                                    First Class Mail
Chartered Organization         Lds Stratland Ward ‐ Gilbert Az                            Williams Field Stake                   3307 S Greenfield Rd                                Gilbert, AZ 85297                                           First Class Mail
Chartered Organization         Lds Strongsville Ward                                      Lake Erie Council 440                  501 Rockside Rd                                     Seven Hills, OH 44131‐1728                                  First Class Mail
Chartered Organization         Lds Stuart Ward Stuart Stake                               Gulf Stream Council 085                2401 Sw Matheson Ave                                Palm City, FL 34990‐2703                                    First Class Mail
Chartered Organization         Lds Stuart Ward Stuart Stake                               Gulf Stream Council 085                4426 Sw Long Bay Dr                                 Palm City, FL 34990‐8805                                    First Class Mail
Chartered Organization         Lds Sturgeon Bay Br Green Bay Wi Stake                     Bay‐Lakes Council 635                  821 Fremont St                                      Algoma, WI 54201‐1725                                       First Class Mail
Chartered Organization         Lds Sturgis Ward ‐ Kalamazoo Stake                         Southern Shores Fsc 783                1111 N Galyn St                                     Sturgis, MI 49091‐3313                                      First Class Mail
Chartered Organization         Lds Sturgis Ward, Kalamazoo Mi Stake                       Southern Shores Fsc 783                1111 N Galyn St                                     Sturgis, MI 49091‐3313                                      First Class Mail
Chartered Organization         Lds Sugar City Stake                                       Heritage Park Ward                     6 N Teton Ave                                       Sugar City, ID 83448‐1117                                   First Class Mail
Chartered Organization         Lds Sugar City Stake ‐ Newdale Ward                        Grand Teton Council 107                350 Church St                                       Newdale, ID 83436                                           First Class Mail
Chartered Organization         Lds Sugar City Stake ‐ Ponderosa Ward                      Grand Teton Council 107                8 E Peterson Ln                                     Sugar City, ID 83448‐5045                                   First Class Mail
Chartered Organization         Lds Sugar City Stake ‐ South Fork Ward                     Grand Teton Council 107                1204 N 3000 E                                       Sugar City, ID 83448‐1222                                   First Class Mail
Chartered Organization         Lds Sugar City Stake ‐ Sugar 2Nd Ward                      Grand Teton Council 107                P.O. Box 472                                        Sugar City, ID 83448‐0472                                   First Class Mail
Chartered Organization         Lds Sugar City Stake ‐ Sugar 4Th Ward                      Grand Teton Council 107                6 N Teton Ave                                       Sugar City, ID 83448‐1117                                   First Class Mail
Chartered Organization         Lds Sugar City Stake ‐ Teton 1St Ward                      Grand Teton Council 107                1732 N 5000 E                                       Sugar City, ID 83448‐5068                                   First Class Mail
Chartered Organization         Lds Sugar City Stake ‐ Teton 2Nd Ward                      Grand Teton Council 107                44 W Main St                                        Teton, ID 83451                                             First Class Mail
Chartered Organization         Lds Sugar City Stake ‐ Teton Island Ward                   Grand Teton Council 107                792 S 7Th W                                         Sugar City, ID 83448‐5061                                   First Class Mail
Chartered Organization         Lds Sugar Creek Ward Rogers Stake                          Westark Area Council 016               1101 Mccollum Dr                                    Bentonville, AR 72712‐9115                                  First Class Mail
Chartered Organization         Lds Sugar Hill Stake‐ Laurel Spgs Ward                     Northeast Georgia Council 101          510 Brannon Rd                                      Cumming, GA 30041‐6436                                      First Class Mail
Chartered Organization         Lds Sugar Hill Ward ‐ Sugar Hill Stake                     Northeast Georgia Council 101          4833 Suwanee Dam Rd                                 Suwanee, GA 30024                                           First Class Mail
Chartered Organization         Lds Sugar House Ward/Sl Granite Stake                      Great Salt Lake Council 590            1621 S 1100 E                                       Salt Lake City, UT 84105                                    First Class Mail
Chartered Organization         Lds Sugar Land 1St Ward                                    Houston S Stake                        14555 Lexington Blvd                                Sugar Land, TX 77478                                        First Class Mail
Chartered Organization         Lds Sugar Land 2Nd Ward                                    Houston S Stake                        14555 Lexington Blvd                                Sugar Land, TX 77478                                        First Class Mail
Chartered Organization         Lds Suisun Asian Branch                                    Mt Diablo‐Silverado Council 023        806 Travis Blvd                                     Fairfield, CA 94533‐5036                                    First Class Mail
Chartered Organization         Lds Sullivan Hollow 1St Ward                               Weber Heights Stake                    976 33Rd St                                         Ogden, UT 84403‐5600                                        First Class Mail
Chartered Organization         Lds Sullivan Hollow 2Nd Ward                               Weber Heights Stake                    976 33Rd St                                         Ogden, UT 84403‐5600                                        First Class Mail
Chartered Organization         Lds Sullivan Ward ‐ St Roberts Stake                       Greater St Louis Area Council 312      611 Deer Path                                       Sullivan, MO 63080‐1292                                     First Class Mail
Chartered Organization         Lds Sulphur Springs Branch                                 Gilmer Tx Stake                        1701 Loop 301                                       Sulphur Springs, TX 75482                                   First Class Mail
Chartered Organization         Lds Sulphur Springs Branch                                 Gilmer Tx Stake                        1701 Loop 301                                       Sulphur Springs, TX 75482                                   First Class Mail
Chartered Organization         Lds Sulphur Well Branch                                    Lincoln Heritage Council 205           411 Cedar Top Rd                                    Edmonton, KY 42129                                          First Class Mail
Chartered Organization         Lds Sultan Ward Snohomish Stake                            Mount Baker Council, Bsa 606           14415 369Th Ave Se                                  Startup, WA 98293                                           First Class Mail
Chartered Organization         Lds Summerfield Ward                                       Old N State Council 070                3719 Pinetop Rd                                     Greensboro, NC 27410‐2825                                   First Class Mail
Chartered Organization         Lds Summerfield Ward                                       Riverton Ut S Stake                    2750 W 13400 S                                      Riverton, UT 84065                                          First Class Mail
Chartered Organization         Lds Summerfield Ward ‐ Gilbert Az                          Higley Stake                           2700 E Galveston                                    Gilbert, AZ 85295                                           First Class Mail
Chartered Organization         Lds Summergrove Ward Fayetteville Stake                    Flint River Council 095                821 Old Atlanta Hwy                                 Newnan, GA 30263                                            First Class Mail
Chartered Organization         Lds Summerhill Ward                                        Rvrtn Ut Summerhill Stake              12070 S 1515 W                                      Riverton, UT 84065                                          First Class Mail
Chartered Organization         Lds Summerhill Ward                                        Utah National Parks 591                2471 S Honeysuckle Dr                               Saratoga Springs, UT 84045‐6470                             First Class Mail
Chartered Organization         Lds Summerlake Ward Beaverton Stake                        Cascade Pacific Council 492            11065 Sw N Dakota St                                Tigard, OR 97223‐4122                                       First Class Mail
Chartered Organization         Lds Summerlin Ward Red Rock Stake                          Las Vegas Area Council 328             9011 Hillpointe Rd                                  Las Vegas, NV 89134‐6097                                    First Class Mail
Chartered Organization         Lds Summerset Ward ‐ Boise W Stk                           Ore‐Ida Council 106 ‐ Bsa 106          2650 S Five Mile Rd                                 Boise, ID 83709                                             First Class Mail
Chartered Organization         Lds Summerville Third Ward                                 Coastal Carolina Council 550           511 E 5Th North St                                  Summerville, SC 29483‐6884                                  First Class Mail
Chartered Organization         Lds Summerville Ward Charleston Stake                      Coastal Carolina Council 550           2100 Bacons Bridge Rd                               Summerville, SC 29485                                       First Class Mail
Chartered Organization         Lds Summerville Ward Charleston Stake                      Coastal Carolina Council 550           122 Ashley River Dr                                 Summerville, SC 29485‐9700                                  First Class Mail
Chartered Organization         Lds Summerwind Ward ‐ Mer E Stk                            Ore‐Ida Council 106 ‐ Bsa 106          11443 Mcmillan Rd                                   Boise, ID 83713                                             First Class Mail
Chartered Organization         Lds Summit Ridge First Ward                                Utah National Parks 591                591 Summit Ridge Pkwy                               Santaquin, UT 84655                                         First Class Mail
Chartered Organization         Lds Summit Ridge Second Ward                               Utah National Parks 591                1393 Cedar Pass Dr                                  Santaquin, UT 84655‐5623                                    First Class Mail
Chartered Organization         Lds Summit Ridge Third Ward                                Utah National Parks 591                591 Summit Ridge Pkwy                               Santaquin, UT 84655                                         First Class Mail
Chartered Organization         Lds Summit Ridge Ward                                      Herriman Ut S Stake                    14550 Juniper Crest Rd                              Herriman, UT 84096                                          First Class Mail
Chartered Organization         Lds Summit Ridge Ward ‐ Reno North Stake                   Nevada Area Council 329                2505 Kings Row                                      Reno, NV 89503‐3221                                         First Class Mail
Chartered Organization         Lds Summit Ward                                            Indian Waters Council 553              2350 White Pine Rd                                  Columbia, SC 29223‐3847                                     First Class Mail
Chartered Organization         Lds Summit Ward                                            Utah National Parks 591                4561 N Buckboard St                                 Eagle Mountain, UT 84005                                    First Class Mail
Chartered Organization         Lds Summit Ward                                            Utah National Parks 591                4574 Windsor Dr                                     Provo, UT 84604‐5302                                        First Class Mail
Chartered Organization         Lds Summit Ward                                            Utah National Parks 591                51 E Main St                                        Summit, UT 84772                                            First Class Mail
Chartered Organization         Lds Summit Ward ‐ Fontana Stake                            California Inland Empire Council 045   7526 Alder Ave                                      Fontana, CA 92336‐2304                                      First Class Mail
Chartered Organization         Lds Summit Ward Anthem Hills Stake                         Las Vegas Area Council 328             875 Rich Perez Jr Dr                                Henderson, NV 89052                                         First Class Mail
Chartered Organization         Lds Summitview Ward/Yakima Stake                           Grand Columbia Council 614             705 S 38Th Ave                                      Yakima, WA 98902‐3906                                       First Class Mail
Chartered Organization         Lds Sun City Ward ‐ Menifee Stake                          California Inland Empire Council 045   29725 Bradley Rd                                    Sun City, CA 92586‐6519                                     First Class Mail
Chartered Organization         Lds Sun Prairie Ward                                       Glaciers Edge Council 620              6651 Prairie View Dr                                Sun Prairie, WI 53590                                       First Class Mail
Chartered Organization         Lds Sun Prairie Ward                                       Glaciers Edge Council 620              N6883 Cty Hwy N                                     Sun Prairie, WI 53590                                       First Class Mail
Chartered Organization         Lds Sun Ridge Ward/Kearns Ut West Stk                      Great Salt Lake Council 590            5475 W 5500 S                                       Salt Lake City, UT 84118                                    First Class Mail
Chartered Organization         Lds Sun Rise Ward ‐ Boise W Stk                            Ore‐Ida Council 106 ‐ Bsa 106          3020 W Cherry Ln                                    Boise, ID 83705‐4009                                        First Class Mail
Chartered Organization         Lds Sun River Vly Wd, Great Falls Stake                    Montana Council 315                    845 Us Hwy 89                                       Sun River, MT 59483                                         First Class Mail
Chartered Organization         Lds Sun Valley Ward ‐ Peoria Az Stk                        Grand Canyon Council 010               12951 N 83Rd Ave                                    Peoria, AZ 85345                                            First Class Mail
Chartered Organization         Lds Sun Valley Ward ‐ Sparks West Stake                    Nevada Area Council 329                5875 Sonora Pass Dr                                 Sparks, NV 89436‐1870                                       First Class Mail
Chartered Organization         Lds Sun Valley Ward ‐ Surprise Az                          North Stake                            15049 N 176Th Ln                                    Surprise, AZ 85388‐7853                                     First Class Mail
Chartered Organization         Lds Sun Valley Ward Paradise Stake                         Las Vegas Area Council 328             5100 Sun Valley Dr                                  Las Vegas, NV 89122                                         First Class Mail
Chartered Organization         Lds Sunbow Ward                                            Utah National Parks 591                2015 N Wedgewood Ln                                 Cedar City, UT 84721‐9731                                   First Class Mail
Chartered Organization         Lds Sunburst Ward ‐ Glendale Az North Stk                  Grand Canyon Council 010               5320 W Thunderbird Rd                               Glendale, AZ 85306                                          First Class Mail
Chartered Organization         Lds Suncrest Eighth Ward (Spanish)                         Utah National Parks 591                891 W 130 N                                         Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Suncrest Fifth Ward                                    Utah National Parks 591                140 N 400 W                                         Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Suncrest First Ward                                    Utah National Parks 591                171 N 920 W                                         Orem, UT 84057‐4479                                         First Class Mail
Chartered Organization         Lds Suncrest First Ward (Alpine)                           Utah National Parks 591                1895 E Aspen Leaf Pl                                Draper, UT 84020‐5558                                       First Class Mail
Chartered Organization         Lds Suncrest Ninth Ward                                    Utah National Parks 591                140 N 400 W                                         Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Suncrest Second (Alpine)                               Utah National Parks 591                14977 S Round Tree Ln                               Draper, UT 84020                                            First Class Mail
Chartered Organization         Lds Suncrest Second Ward (Orem)                            Utah National Parks 591                223 W Garden Park                                   Orem, UT 84057‐4678                                         First Class Mail
Chartered Organization         Lds Suncrest Sixth Ward                                    Utah National Parks 591                48 N 970 W                                          Orem, UT 84057‐4554                                         First Class Mail
Chartered Organization         Lds Suncrest Tenth Ward                                    Utah National Parks 591                90 N 600 W                                          Orem, UT 84057                                              First Class Mail
Chartered Organization         Lds Suncrest Third Ward                                    Utah National Parks 591                1601 E Amber Crest Ln                               Draper, UT 84020‐5518                                       First Class Mail
Chartered Organization         Lds Suncrest Third Ward                                    Utah National Parks 591                63 N 850 W                                          Orem, UT 84057‐4544                                         First Class Mail
Chartered Organization         Lds Suncrest Ward/Kearns Ut West Stk                       Great Salt Lake Council 590            5938 W 6200 S                                       Salt Lake City, UT 84118                                    First Class Mail
Chartered Organization         Lds Sundance 2Nd Ward ‐ Buckeye Az Stk                     Grand Canyon Council 010               22487 W Sundance Pkwy                               Buckeye, AZ 85326‐8901                                      First Class Mail
Chartered Organization         Lds Sundance Ward                                          Utah National Parks 591                7781 N Sparrowhawk Way                              Eagle Mountain, UT 84005                                    First Class Mail
Chartered Organization         Lds Sundance Ward ‐ Buckeye Az Stk                         Grand Canyon Council 010               22487 W Sundance Pkwy                               Buckeye, AZ 85326‐8901                                      First Class Mail
Chartered Organization         Lds Sundance Ward ‐ Mer Stk                                Ore‐Ida Council 106 ‐ Bsa 106          431 E Moskee St                                     Meridian, ID 83646‐3189                                     First Class Mail
Chartered Organization         Lds Sunland Ward                                           Verdugo Hills Council 058              7955 Hillrose St                                    Sunland, CA 91040‐2560                                      First Class Mail
Chartered Organization         Lds Sunland Ward                                           Verdugo Hills Council 058              7955 Hillrose St                                    Sunland, CA 91040‐2560                                      First Class Mail
Chartered Organization         Lds Sunny Hills Ward ‐ Fullerton Stake                     Orange County Council 039              2225 N Euclid St                                    Fullerton, CA 92835‐3330                                    First Class Mail
Chartered Organization         Lds Sunny Mesa Ward ‐ Mesa Az                              Kimball E Stake                        4640 E Holmes Ave                                   Mesa, AZ 85206‐5500                                         First Class Mail
Chartered Organization         Lds Sunny Ridge First Ward                                 Utah National Parks 591                1368 E 175 N                                        Spanish Fork, UT 84660‐5685                                 First Class Mail
Chartered Organization         Lds Sunny Ridge Second Ward                                Utah National Parks 591                2200 E 100 S                                        Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Sunny Ridge Third Ward                                 Utah National Parks 591                332 N 1430 E                                        Spanish Fork, UT 84660‐5676                                 First Class Mail
Chartered Organization         Lds Sunnybrook Ward                                        Tville Ut N Central Stake              4310 S 3200 W                                       Salt Lake City, UT 84119                                    First Class Mail
Chartered Organization         Lds Sunnyside Ward/Moscow Stake                            Inland NW Council 611                  2701 Klemgard Rd                                    Pullman, WA 99163‐8614                                      First Class Mail
Chartered Organization         Lds Sunnyside Ward/Yakima Stake                            Grand Columbia Council 614             2020 Scoon Rd                                       Sunnyside, WA 98944‐9156                                    First Class Mail
Chartered Organization         Lds Sunnyvale Ward, Los Altos Stake                        Pacific Skyline Council 031            771 W Fremont Ave                                   Sunnyvale, CA 94087‐2305                                    First Class Mail
Chartered Organization         Lds Sunridge Ward/Sandy Ut Alta View Stk                   Great Salt Lake Council 590            1850 E 8600 S                                       Sandy, UT 84093                                             First Class Mail
Chartered Organization         Lds Sunrise Meadows First Ward (Lehi)                      Utah National Parks 591                947 N Jack Rabbit Run                               Saratoga Springs, UT 84045                                  First Class Mail
Chartered Organization         Lds Sunrise Meadows Second Ward                            Utah National Parks 591                882 N Joshua Dr                                     Saratoga Springs, UT 84045‐5001                             First Class Mail
Chartered Organization         Lds Sunrise Meadows Third Ward                             Utah National Parks 591                642 N Fox Cir                                       Saratoga Springs, UT 84045‐5076                             First Class Mail
Chartered Organization         Lds Sunrise Mountain Ward ‐ Peoria Az                      North Stake                            22034 N 83Rd Ave                                    Peoria, AZ 85383‐1707                                       First Class Mail
Chartered Organization         Lds Sunrise Mountain Ward Sunrise Stake                    Las Vegas Area Council 328             1825 N Hollywood Blvd                               Las Vegas, NV 89156‐7155                                    First Class Mail
Chartered Organization         Lds Sunrise Ridge Ward                                     W Richland Stake                       3701 Watkins Way                                    West Richland, WA 99353                                     First Class Mail
Chartered Organization         Lds Sunrise Terrace Ward                                   N Las Vegas Stake                      2295 N Walnut Rd                                    Las Vegas, NV 89115‐5345                                    First Class Mail
Chartered Organization         Lds Sunset Branch‐Laie North Stake                         Aloha Council, Bsa 104                 56‐589 Puuluana St                                  Kahuku, HI 96731                                            First Class Mail
Chartered Organization         Lds Sunset Eleventh Ward                                   Utah National Parks 591                1464 S 810 W                                        Provo, UT 84601                                             First Class Mail
Chartered Organization         Lds Sunset Fifth Ward                                      Utah National Parks 591                1505 S 620 W                                        Provo, UT 84601‐4800                                        First Class Mail
Chartered Organization         Lds Sunset First Ward (St George)                          Utah National Parks 591                82 N Dixie Dr                                       St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Sunset Haven Ward                                      Utah National Parks 591                663 W 400 N                                         Saratoga Springs, UT 84045‐4709                             First Class Mail
Chartered Organization         Lds Sunset Heights Eighth Ward                             Utah National Parks 591                500 S 600 W                                         Orem, UT 84058                                              First Class Mail
Chartered Organization         Lds Sunset Heights Fifth Ward                              Utah National Parks 591                1105 W 600 S                                        Orem, UT 84058                                              First Class Mail
Chartered Organization         Lds Sunset Heights Fourth Ward                             Utah National Parks 591                451 W 500 S                                         Orem, UT 84058‐4823                                         First Class Mail
Chartered Organization         Lds Sunset Heights Second Ward                             Utah National Parks 591                1260 S 400 W                                        Orem, UT 84058                                              First Class Mail
Chartered Organization         Lds Sunset Heights Seventh Ward                            Utah National Parks 591                1260 S 400 W                                        Orem, UT 84058                                              First Class Mail
Chartered Organization         Lds Sunset Heights Sixth Ward                              Utah National Parks 591                500 S 600 W                                         Orem, UT 84058                                              First Class Mail
Chartered Organization         Lds Sunset Heights Third Ward                              Utah National Parks 591                1105 W 600 S                                        Orem, UT 84058                                              First Class Mail
Chartered Organization         Lds Sunset Hills First Ward                                Utah National Parks 591                552 W 800 N                                         American Fork, UT 84003‐1186                                First Class Mail
Chartered Organization         Lds Sunset Hills Second Ward                               Utah National Parks 591                964 N 500 W                                         American Fork, UT 84003‐5174                                First Class Mail
Chartered Organization         Lds Sunset Hills Third Ward                                Utah National Parks 591                1152 N 420 W                                        American Fork, UT 84003                                     First Class Mail
Chartered Organization         Lds Sunset Hills Ward ‐ Apple Valley Stake                 California Inland Empire Council 045   15500 Tuscola Rd                                    Apple Valley, CA 92307                                      First Class Mail
Chartered Organization         Lds Sunset Hills Ward Cedar Mill Stake                     Cascade Pacific Council 492            14885 Nw West Union Rd                              Portland, OR 97229‐2292                                     First Class Mail
Chartered Organization         Lds Sunset Hollow Ward                                     Utah National Parks 591                2579 N Garden Dr                                    Lehi, UT 84043‐8621                                         First Class Mail
Chartered Organization         Lds Sunset Ninth Ward                                      Utah National Parks 591                352 S 1850 W                                        Provo, UT 84601‐3876                                        First Class Mail
Chartered Organization         Lds Sunset Park Ward                                       Utah National Parks 591                99 N 920 W                                          Spanish Fork, UT 84660                                      First Class Mail
Chartered Organization         Lds Sunset Park Ward, Riverton Stake                       Greater Wyoming Council 638            430 Elizabeth Dr                                    Riverton, WY 82501‐3410                                     First Class Mail
Chartered Organization         Lds Sunset Ridge 10Th Ward                                 W J Ut Sunset Ridge Stake              8137 S Echo View Dr                                 West Jordan, UT 84081                                       First Class Mail
Chartered Organization         Lds Sunset Ridge 1St Ward                                  W J Ut Sunset Ridge Stake              8107 S 6700 W                                       West Jordan, UT 84081                                       First Class Mail
Chartered Organization         Lds Sunset Ridge 2Nd Ward                                  W J Ut Sunset Ridge Stake              8137 S Echo View Dr                                 West Jordan, UT 84081                                       First Class Mail
Chartered Organization         Lds Sunset Ridge 3Rd Ward                                  W J Ut Sunset Ridge Stake              8107 S 6700 W                                       West Jordan, UT 84081                                       First Class Mail
Chartered Organization         Lds Sunset Ridge 4Th Ward                                  Wj Utah Sunset Ridge Stake             8834 S Duck Ridge Way                               West Jordan, UT 84081                                       First Class Mail
Chartered Organization         Lds Sunset Ridge 5Th Ward                                  W J Ut Sunset Ridge Stake              8834 S Duck Ridge Way                               West Jordan, UT 84081                                       First Class Mail
Chartered Organization         Lds Sunset Ridge 6Th Ward                                  W Jordan Ut Stake                      8107 S 6700 W                                       West Jordan, UT 84081                                       First Class Mail
Chartered Organization         Lds Sunset Ridge 7Th Ward                                  Wj Ut Sunset Ridge Stake               8834 S Duck Ridge Way                               West Jordan, UT 84081                                       First Class Mail
Chartered Organization         Lds Sunset Ridge 9Th Ward                                  W J Ut Sunset Ridge Stake              6250 W 8200 S                                       West Jordan, UT 84081                                       First Class Mail
Chartered Organization         Lds Sunset Ridge Ward Blue Diamond Stake                   Las Vegas Area Council 328             7885 W Robindale Rd                                 Las Vegas, NV 89113‐4054                                    First Class Mail
Chartered Organization         Lds Sunset Second Ward (St George)                         Utah National Parks 591                82 N Dixie Dr                                       St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Sunset Tenth Ward                                      Utah National Parks 591                1211 S 560 W                                        Provo, UT 84601‐5538                                        First Class Mail
Chartered Organization         Lds Sunset Tenth Ward (St George)                          Utah National Parks 591                415 N Wridge Dr                                     St George, UT 84770                                         First Class Mail
Chartered Organization         Lds Sunset Third Ward                                      Utah National Parks 591                1158 W 1150 S                                       Provo, UT 84601‐5533                                        First Class Mail
Chartered Organization         Lds Sunset Thirteenth Ward                                 Utah National Parks 591                1090 W 1020 S                                       Provo, UT 84601                                             First Class Mail
Chartered Organization         Lds Sunset Twelfth Ward                                    Utah National Parks 591                1090 W 1020 S                                       Provo, UT 84601                                             First Class Mail
Chartered Organization         Lds Sunset Valley Ward, Oak Hills Stake                    Capitol Area Council 564               5201 Convict Hill Rd                                Austin, TX 78749                                            First Class Mail
Chartered Organization         Lds Sunset Ward                                            South Florida Council 084              15400 Sunset Dr                                     Miami, FL 33193‐1899                                        First Class Mail
Chartered Organization         Lds Sunset Ward ‐ Qc Az Stk                                Grand Canyon Council 010               1150 W Combs Rd                                     Queen Creek, AZ 85140‐9110                                  First Class Mail
Chartered Organization         Lds Sunset Ward ‐ Richland Stake                           Blue Mountain Council 604              1720 Thayer Dr                                      Richland, WA 99354‐2854                                     First Class Mail
Chartered Organization         Lds Sunset Ward ‐ Winslow Az Stk                           Grand Canyon Council 010               1748 Oak Rd                                         Winslow, AZ 86047‐3860                                      First Class Mail
Chartered Organization         Lds Sunset Ward Warm Springs Stake                         Las Vegas Area Council 328             259 Domani Dr                                       Henderson, NV 89074‐1438                                    First Class Mail
Chartered Organization         Lds Sunset Ward, San Francisco Stake                       Pacific Skyline Council 031            1601 22Nd Ave                                       San Francisco, CA 94122‐3339                                First Class Mail
Chartered Organization         Lds Superior Branch, Missoula Stake                        Attn: Bsa Pack 4950                    117 Moats Ln                                        Superior, MT 59872‐9690                                     First Class Mail
Chartered Organization         Lds Superstition Springs Ward ‐ Mesa Az                    Kimball E Stake                        4640 E Holmes Ave                                   Mesa, AZ 85206‐5500                                         First Class Mail
Chartered Organization         Lds Surprise 2Nd Ward ‐ Surprise Az Stk                    Grand Canyon Council 010               14916 N Sarival Ave                                 Surprise, AZ 85388‐2180                                     First Class Mail
Chartered Organization         Lds Surprise Ward ‐ Surprise Az Stk                        Grand Canyon Council 010               14916 N Sarival Ave                                 Surprise, AZ 85388‐2180                                     First Class Mail
Chartered Organization         Lds Susanville 1St Ward ‐ Quincy Stake                     Nevada Area Council 329                905 Richmond Rd                                     Susanville, CA 96130                                        First Class Mail
Chartered Organization         Lds Susanville 2Nd Ward ‐ Quincy Stake                     Nevada Area Council 329                833 Richmond Rd                                     Susanville, CA 96130‐4822                                   First Class Mail
Chartered Organization         Lds Susanville 2Nd Ward Quincy Stake                       Nevada Area Council 329                833 Richmond Rd                                     Susanville, CA 96130‐4822                                   First Class Mail
Chartered Organization         Lds Susquehanna Ward                                       Baltimore Area Council 220             2554 Flora Meadows Dr                               Forest Hill, MD 21050‐1511                                  First Class Mail
Chartered Organization         Lds Susquehanna Ward                                       Baltimore Area Council 220             3826 Level Rd                                       Havre De Grace, MD 21078                                    First Class Mail
Chartered Organization         Lds Sutherland First Ward                                  Utah National Parks 591                2648 N 3100 W                                       Delta, UT 84624‐8220                                        First Class Mail
Chartered Organization         Lds Sutherland Second Ward                                 Utah National Parks 591                212 N 4000 W                                        Delta, UT 84624‐7212                                        First Class Mail
Chartered Organization         Lds Sutherlin Ward Roseburg Stake                          Oregon Trail Council 697               1562 Stearns Ln                                     Oakland, OR 97462‐8712                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                  Page 238 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                      Filed 01/06/22                                                         Page 254 of 457
                                                                                                                                                                     Exhibit B
                                                                                                                                                                      Service List
                                                                                                                                                               Served as set forth below

        Description                                                       Name                                                                                     Address                                                                                                 Email              Method of Service
Chartered Organization         Lds Sutter Buttes Ward Yuba City Stake                   Golden Empire Council 047              1470 Butte House Rd                                       Yuba City, CA 95993‐2702                                                                  First Class Mail
Chartered Organization         Lds Suwanee Ward ‐ Sugar Hill Stake                      Northeast Georgia Council 101          4833 Suwanee Dam Rd                                       Suwanee, GA 30024                                                                         First Class Mail
Chartered Organization         Lds Sweet Home Ward Lebanon Stake                        Cascade Pacific Council 492            1155 22Nd Ave                                             Sweet Home, OR 97386‐2838                                                                 First Class Mail
Chartered Organization         Lds Sweet Ward ‐ Emmett Stk                              Ore‐Ida Council 106 ‐ Bsa 106          11300 Sweet Ola Hwy                                       Sweet, ID 83670‐5071                                                                      First Class Mail
Chartered Organization         Lds Sweetwater ‐ Spring Valley 1St Ward                  San Diego Imperial Council 049         3348 Sweetwater Springs Blvd                              Spring Valley, CA 91977                                                                   First Class Mail
Chartered Organization         Lds Sweetwater‐ Sweetwater 3Rd (Sp) Ward                 San Diego Imperial Council 049         8472 Blossom Ln                                           Lemon Grove, CA 91945‐4229                                                                First Class Mail
Chartered Organization         Lds Sweetwater‐Sweetwater 3Rd (Sp) Ward                  San Diego Imperial Council 049         8472 Blossom Ln                                           Lemon Grove, CA 91945‐4229                                                                First Class Mail
Chartered Organization         Lds Swiss Alpine Ward                                    Utah National Parks 591                165 N Center St                                           Midway, UT 84049                                                                          First Class Mail
Chartered Organization         Lds Switzer Canyon Ward ‐ Flagstaff Az                   East Stake                             625 E Cherry Ave                                          Flagstaff, AZ 86001‐4732                                                                  First Class Mail
Chartered Organization         Lds Sycamore Grove Ward ‐ Livermore Stake                San Francisco Bay Area Council 028     1501 Hillcrest Ave                                        Livermore, CA 94550                                                                       First Class Mail
Chartered Organization         Lds Sycamore Grove Ward ‐ Livermore Stake                San Francisco Bay Area Council 028     1501 Hillcrest Ave                                        Livermore, CA 94550                                                                       First Class Mail
Chartered Organization         Lds Sycamore Ward                                        Utah National Parks 591                2789 E 3630 S                                             St George, UT 84790‐7283                                                                  First Class Mail
Chartered Organization         Lds Sycamore Ward ‐ Rockford, Il Stake                   Three Fires Council 127                675 Fox Ave                                               Sycamore, IL 60178‐2045                                                                   First Class Mail
Chartered Organization         Lds Sycamores 1St Ward                                   Wj Utah Sycamores Stake                Great Salt Lake Council 590                               Haven Maple Dr                          West Jordan, Ut 84081                             First Class Mail
Chartered Organization         Lds Sycamores 2Nd Ward                                   Wj Utah Sycamores Stake                6592 W Haven Maple Dr                                     West Jordan, UT 84081                                                                     First Class Mail
Chartered Organization         Lds Sycamores 3Rd Ward                                   Wj Utah Sycamores Stake                6592 W Haven Maple Dr                                     West Jordan, UT 84081                                                                     First Class Mail
Chartered Organization         Lds Sycamores 4Th Ward                                   Wj Utah Sycamores Stake                7580 W 7980 S                                             West Jordan, UT 84081                                                                     First Class Mail
Chartered Organization         Lds Sycamores 5Th Ward                                   Wj Utah Sycamores Stake                7580 W 7980 S                                             West Jordan, UT 84081                                                                     First Class Mail
Chartered Organization         Lds Sycamores 6Th Ward                                   Wj Utah Sycamores Stakee               6592 W Maple Haven Dr                                     West Jordan, UT 84081                                                                     First Class Mail
Chartered Organization         Lds Sycamores 7Th Ward                                   Wj Ut Sycamores Stake                  7580 W 7980 S                                             West Jordan, UT 84084                                                                     First Class Mail
Chartered Organization         Lds Sycamores 8Th Ward                                   Wj Utah Sycamores Stake                6592 W Haven Maple Dr                                     West Jordan, UT 84081                                                                     First Class Mail
Chartered Organization         Lds Sylmar Ward                                          Verdugo Hills Council 058              13680 Sayre St                                            Sylmar, CA 91342‐3125                                                                     First Class Mail
Chartered Organization         Lds Syracuse 11Th Ward                                   Legacy Park Stake                      2024 S 1475 W                                             Syracuse, UT 84075                                                                        First Class Mail
Chartered Organization         Lds Syracuse 12 Samoan Branch                            Syracuse Stake                         1625 S 1100 W                                             Syracuse, UT 84075                                                                        First Class Mail
Chartered Organization         Lds Syracuse 1St Ward                                    Syracuse Bluff Stake                   700 So 2500 W                                             Syracuse, UT 84075                                                                        First Class Mail
Chartered Organization         Lds Syracuse 2Nd Ward                                    Legacy Park Stake                      2228 S 1660 W                                             Syracuse, UT 84075                                                                        First Class Mail
Chartered Organization         Lds Syracuse 3Rd Ward                                    Legacy Park Stake                      2679 S 1000 W                                             Syracuse, UT 84075                                                                        First Class Mail
Chartered Organization         Lds Syracuse 6Th Ward                                    Syracuse Bluff Stake                   2339 W 1900 S                                             Syracuse, UT 84075                                                                        First Class Mail
Chartered Organization         Lds Syracuse Meadows Ward                                Syracuse Bluff Stake                   2500 W 700 S                                              Syracuse, UT 84075                                                                        First Class Mail
Chartered Organization         Lds Tabiona Ward                                         Utah National Parks 591                P.O. Box 319                                              Tabiona, UT 84072‐0319                                                                    First Class Mail
Chartered Organization         Lds Table Mountain Ward Gridley Stake                    Golden Empire Council 047              167 Table Mountain Blvd                                   Oroville, CA 95965                                                                        First Class Mail
Chartered Organization         Lds Tacoma North Stake‐Allenmore                         Pacific Harbors Council, Bsa 612       2455 S 78Th St                                            Tacoma, WA 98409‐9093                                                                     First Class Mail
Chartered Organization         Lds Tacoma North Stake‐Highland Hills                    Pacific Harbors Council, Bsa 612       1102 S Pearl St                                           Tacoma, WA 98465‐2124                                                                     First Class Mail
Chartered Organization         Lds Tacoma North Stake‐Skyline                           Pacific Harbors Council, Bsa 612       1102 S Pearl St                                           Tacoma, WA 98465‐2124                                                                     First Class Mail
Chartered Organization         Lds Tacoma North Stake‐Soundview                         Pacific Harbors Council, Bsa 612       1102 S Pearl St                                           Tacoma, WA 98465‐2124                                                                     First Class Mail
Chartered Organization         Lds Tacoma South Stake‐Buena Vista                       Pacific Harbors Council, Bsa 612       2455 S 78Th St                                            Tacoma, WA 98409‐9093                                                                     First Class Mail
Chartered Organization         Lds Tacoma South Stake‐Chambers Creek                    Pacific Harbors Council, Bsa 612       2455 S 78Th St                                            Tacoma, WA 98409‐9093                                                                     First Class Mail
Chartered Organization         Lds Tacoma South Stake‐Lincoln                           Pacific Harbors Council, Bsa 612       7520 25Th Ave E                                           Tacoma, WA 98404‐4106                                                                     First Class Mail
Chartered Organization         Lds Tacoma South Stake‐Mountain View                     Pacific Harbors Council, Bsa 612       7520 25Th Ave E                                           Tacoma, WA 98404‐4106                                                                     First Class Mail
Chartered Organization         Lds Tacoma South Stake‐Sunset                            Pacific Harbors Council, Bsa 612       4219 Beckonridge Dr W                                     University Place, WA 98466                                                                First Class Mail
Chartered Organization         Lds Tacoma South Stake‐Wapato Park                       Pacific Harbors Council, Bsa 612       7520 25Th Ave E                                           Tacoma, WA 98404‐4106                                                                     First Class Mail
Chartered Organization         Lds Tafuna 1St Ward ‐ Pago Central Stake                 Aloha Council, Bsa 104                 P.O. Box 1419                                             Pago Pago, AS 96799‐1419                                                                  First Class Mail
Chartered Organization         Lds Tafuna 2Nd Ward ‐ Pago Central Stake                 Aloha Council, Bsa 104                 P.O. Box 1419                                             Pago Pago, AS 96799‐1419                                                                  First Class Mail
Chartered Organization         Lds Tafuna 3Rd Ward ‐ Pago Central Stake                 Aloha Council, Bsa 104                 P.O. Box 998369                                           Pago Pago, AS 96799‐6314                                                                  First Class Mail
Chartered Organization         Lds Tahlequah Ward ‐ Tulsa Ok East Stake                 Indian Nations Council 488             32532 S Skyline Dr                                        Cookson, OK 74427‐2246                                                                    First Class Mail
Chartered Organization         Lds Tahoe North Ward ‐ Reno Stake                        Nevada Area Council 329                P.O. Box 910                                              Truckee, CA 96160‐0910                                                                    First Class Mail
Chartered Organization         Lds Takena Ward Lebanon Stake                            Cascade Pacific Council 492            1615 28Th Ave Se                                          Albany, OR 97322‐5636                                                                     First Class Mail
Chartered Organization         Lds Talaofa Wards Sac North Stake                        Golden Empire Council 047              751 Rio Tierra Ave                                        Sacramento, CA 95833‐1251                                                                 First Class Mail
Chartered Organization         Lds Talisay Ward                                         Aloha Council, Bsa 104                 117 Sabana Ln                                             Yona, GU 96915                                                                            First Class Mail
Chartered Organization         Lds Talladega Ward                                       Greater Alabama Council 001            190 Shocco Springs Rd                                     Talladega, AL 35160                                                                       First Class Mail
Chartered Organization         Lds Talley Ward ‐ San Antonio Stake                      Alamo Area Council 583                 3644 Talley Rd                                            San Antonio, TX 78253                                                                     First Class Mail
Chartered Organization         Lds Tallmadge Ward ‐ Akron Stake                         Great Trail 433                        106 E Howe Rd                                             Tallmadge, OH 44278‐1055                                                                  First Class Mail
Chartered Organization         Lds Tallyns Reach Ward, Arapahoe Stake                   Denver Area Council 061                7405 S Addison Ct                                         Aurora, CO 80016                                                                          First Class Mail
Chartered Organization         Lds Talus Ridge Second Ward                              Utah National Parks 591                641 N Pony Express Pkwy                                   Saratoga Springs, UT 84045                                                                First Class Mail
Chartered Organization         Lds Talus Ridge Ward                                     Utah National Parks 591                543 N Slate Ct                                            Saratoga Springs, UT 84045‐3208                                                           First Class Mail
Chartered Organization         Lds Tamarac Ward                                         South Florida Council 084              10148 Nw 31St St                                          Coral Springs, FL 33065‐3913                                                              First Class Mail
Chartered Organization         Lds Tamarack Branch‐Fairbanks Stake                      Midnight Sun Council 696               P.O. Box 81863                                            Fairbanks, AK 99708‐1863                                                                  First Class Mail
Chartered Organization         Lds Tascosa Ward Amarillo Tx Stake                       Golden Spread Council 562              2101 N Coulter St                                         Amarillo, TX 79124‐1037                                                                   First Class Mail
Chartered Organization         Lds Tassajara Ward ‐ Danville Stake                      Mt Diablo‐Silverado Council 023        655 Old Orchard Dr                                        Danville, CA 94526‐4331                                                                   First Class Mail
Chartered Organization         Lds Tates Creek Ward ‐ Lexington Stake                   Blue Grass Council 204                 1789 Tates Creek Rd                                       Lexington, KY 40502‐2763                                                                  First Class Mail
Chartered Organization         Lds Taylor Monument Ward                                 Kaysville West Stake                   1035 S Angel St                                           Kaysville, UT 84037                                                                       First Class Mail
Chartered Organization         Lds Taylor Park Ward ‐ Mesa Az Kimball Stk               Grand Canyon Council 010               300 S Val Vista Dr Lot 277                                Mesa, AZ 85204‐1933                                                                       First Class Mail
Chartered Organization         Lds Taylor Ranch Ward Abq West Stake                     Great Swest Council 412                6000 Kachina St Nw                                        Albuquerque, NM 87120                                                                     First Class Mail
Chartered Organization         Lds Taylor Ranch Ward Tule Springs Stake                 Las Vegas Area Council 328             6221 Newkirk Ct                                           Las Vegas, NV 89130‐1417                                                                  First Class Mail
Chartered Organization         Lds Taylor Ward Round Rock East Stake                    Capitol Area Council 564               2800 North Dr                                             Taylor, TX 76574‐5036                                                                     First Class Mail
Chartered Organization         Lds Taylors Grove Ward                                   Taylorsville Ut Stake                  4845 Woodhaven Dr                                         Salt Lake City, UT 84123                                                                  First Class Mail
Chartered Organization         Lds Taylorsville 10Th Ward                               Tville Ut Central Stake                4950 S 1950 W                                             Salt Lake City, UT 84118                                                                  First Class Mail
Chartered Organization         Lds Taylorsville 12Th Ward                               Taylorsville Ut S Stake                4437 S Hawarden Dr                                        West Valley City, UT 84119‐5712                                                           First Class Mail
Chartered Organization         Lds Taylorsville 13Th Ward                               Tville Ut N Stake                      1495 W Tamarack Rd                                        Salt Lake City, UT 84123                                                                  First Class Mail
Chartered Organization         Lds Taylorsville 14Th Ward                               Tville Ut N Stake                      1250 W Atherton Dr                                        Salt Lake City, UT 84123                                                                  First Class Mail
Chartered Organization         Lds Taylorsville 16Th Ward                               Tville Ut N Stake                      3495 W 4850 S                                             Taylorsville, UT 84129                                                                    First Class Mail
Chartered Organization         Lds Taylorsville 19Th Ward                               Tville Ut Central Stake                2030 W Chateau Ave                                        Taylorsville, UT 84129                                                                    First Class Mail
Chartered Organization         Lds Taylorsville 1St Ward/Tville Ut Stk                  Great Salt Lake Council 590            4845 Woodhaven Dr                                         Salt Lake City, UT 84123                                                                  First Class Mail
Chartered Organization         Lds Taylorsville 23Rd Ward                               Tville Ut N Stake                      4932 S 3200 W                                             Taylorsville, UT 84129                                                                    First Class Mail
Chartered Organization         Lds Taylorsville 25Th Ward                               Taylorsville Ut S Stake                4505 S 3420 W                                             West Valley City, UT 84119                                                                First Class Mail
Chartered Organization         Lds Taylorsville 26Th Ward                               Tville Ut N Stake                      3495 W 4850 S                                             Taylorsville, UT 84129                                                                    First Class Mail
Chartered Organization         Lds Taylorsville 30Th Ward                               Tville Ut Central Stake                4950 S 1950 W                                             Salt Lake City, UT 84118                                                                  First Class Mail
Chartered Organization         Lds Taylorsville 39Th Ward                               Tville Ut N Stake                      4932 S 3200 W                                             Taylorsville, UT 84129                                                                    First Class Mail
Chartered Organization         Lds Taylorsville 3Rd Ward                                Tville Ut N Stake                      1460 W 4180 S                                             Taylorsville, UT 84123‐1322                                                               First Class Mail
Chartered Organization         Lds Taylorsville 5Th Ward (Tongan)                       Sl Utah So Stake (Tongan)              4660 W 5015 S                                             Salt Lake City, UT 84118‐6203                                                             First Class Mail
Chartered Organization         Lds Taylorsville 6Th (Tongan) Ward                       Sl Ut S (Tongan) Stake                 1955 W Bowling Ave                                        Taylorsville, UT 84129‐5438                                                               First Class Mail
Chartered Organization         Lds Taylorsville 8Th Ward                                Tville Ut N Stake                      1495 W Tamarack Rd                                        Salt Lake City, UT 84123                                                                  First Class Mail
Chartered Organization         Lds Taylorsville 9Th Ward                                Tville Ut Central Stake                2030 W Chateau Ave                                        Taylorsville, UT 84129                                                                    First Class Mail
Chartered Organization         Lds Taylorsville Utah Stake                              Taylorsville Ut Stake                  1555 W Lovely Rd                                          Taylorsville, UT 84123                                                                    First Class Mail
Chartered Organization         Lds Tehachapi Ward, E Bakersfield Stake                  Southern Sierra Council 030            600 Anita Dr                                              Tehachapi, CA 93561‐1536                                                                  First Class Mail
Chartered Organization         Lds Telford Ward                                         Sandy Ut Cottonwood Creek Stake        1834 Creek Rd                                             Sandy, UT 84093                                                                           First Class Mail
Chartered Organization         Lds Temecula Creek Ward ‐ Temecula Stake                 California Inland Empire Council 045   44650 La Paz Rd                                           Temecula, CA 92592‐2543                                                                   First Class Mail
Chartered Organization         Lds Temecula Ward ‐ Temecula Stake                       California Inland Empire Council 045   44650 La Paz Rd                                           Temecula, CA 92592‐2543                                                                   First Class Mail
Chartered Organization         Lds Temescal Valley Ward ‐ Corona Stake                  California Inland Empire Council 045   1510 Taber St                                             Corona, CA 92881‐4104                                                                     First Class Mail
Chartered Organization         Lds Temple 2Nd Ward ‐ Waco Stake                         Longhorn Council 662                   3909 Ermine                                               Temple, TX 76504                                                                          First Class Mail
Chartered Organization         Lds Temple City Ward L176                                Greater Los Angeles Area 033           150 W Duarte Rd                                           Arcadia, CA 91007‐6920                                                                    First Class Mail
Chartered Organization         Lds Temple Meadow Ward ‐ Kennewick Stake                 Blue Mountain Council 604              895 Gage Blvd                                             Richland, WA 99352‐9501                                                                   First Class Mail
Chartered Organization         Lds Temple Peak Ward                                     Trapper Trails 589                     221 E N St                                                Pinedale, WY 82941                                                                        First Class Mail
Chartered Organization         Lds Temple Ward ‐ Waco Stake                             Longhorn Council 662                   3909 Ermine                                               Temple, TX 76504                                                                          First Class Mail
Chartered Organization         Lds Templeton Ward San Luis Obispo Stake                 Los Padres Council 053                 2600 Ramona Rd                                            Atascadero, CA 93422‐2414                                                                 First Class Mail
Chartered Organization         Lds Ten Mile Ward ‐ Mer W Stk                            Ore‐Ida Council 106 ‐ Bsa 106          1985 N Black Cat Rd                                       Meridian, ID 83646‐6253                                                                   First Class Mail
Chartered Organization         Lds Ten Sleep Ward, Worland Stake                        Greater Wyoming Council 638            2758 E Us Hwy 16                                          Ten Sleep, WY 82442‐8865                                                                  First Class Mail
Chartered Organization         Lds Tenth Ward/Sl Central Stake                          Great Salt Lake Council 590            420 S 800 E                                               Salt Lake City, UT 84102                                                                  First Class Mail
Chartered Organization         Lds Terra Vista Ward                                     Rancho Cucamonga Stake                 9075 Baseline Rd                                          Rancho Cucamonga, CA 91730                                                                First Class Mail
Chartered Organization         Lds Terrace Heights Ward/Selah Stake                     Grand Columbia Council 614             105 S Hillcrest Dr                                        Yakima, WA 98901                                                                          First Class Mail
Chartered Organization         Lds Terre View Ward ‐ Moscow Idaho Stake                 Inland NW Council 611                  1055 Ne Orchard Dr                                        Pullman, WA 99163                                                                         First Class Mail
Chartered Organization         Lds Terre View Ward/Moscow Stake                         Inland NW Council 611                  1055 Ne Orchard Dr                                        Pullman, WA 99163                                                                         First Class Mail
Chartered Organization         Lds Terreton Stake ‐ Beaver Creek Ward                   Grand Teton Council 107                P.O. Box 124                                              Dubois, ID 83423‐0124                                                                     First Class Mail
Chartered Organization         Lds Terreton Stake ‐ Hamer Ward                          Grand Teton Council 107                2612 E 2300 N                                             Hamer, ID 83425‐5026                                                                      First Class Mail
Chartered Organization         Lds Terreton Stake ‐ Monteview Ward                      Grand Teton Council 107                2995 N 500 E                                              Monteview, ID 83435‐5011                                                                  First Class Mail
Chartered Organization         Lds Terreton Stake ‐ Roberts 1St Ward                    Grand Teton Council 107                2552 E 400 N                                              Roberts, ID 83444‐5114                                                                    First Class Mail
Chartered Organization         Lds Terreton Stake ‐ Roberts 2Nd Ward                    Grand Teton Council 107                121 N 3Rd                                                 Roberts, ID 83444                                                                         First Class Mail
Chartered Organization         Lds Terreton Stake ‐ Terreton 1St Ward                   Grand Teton Council 107                1639 E 1600 N                                             Terreton, ID 83450                                                                        First Class Mail
Chartered Organization         Lds Terreton Stake ‐ Terreton 2Nd Ward                   Grand Teton Council 107                1248 E 1500 N                                             Terreton, ID 83450‐5136                                                                   First Class Mail
Chartered Organization         Lds Thanksgiving Meadows Second Ward                     Utah National Parks 591                3556 N Bear Hollow Way                                    Lehi, UT 84043‐6656                                                                       First Class Mail
Chartered Organization         Lds Thanksgiving Meadows Ward                            Utah National Parks 591                3778 N Prairie Grass Dr                                   Lehi, UT 84043‐6569                                                                       First Class Mail
Chartered Organization         Lds Thanksgiving Village Ward                            Utah National Parks 591                2598 N Turnberry Ct                                       Lehi, UT 84043‐6527                                                                       First Class Mail
Chartered Organization         Lds Thatcher 1St Ward ‐ Thatcher Stake                   Grand Canyon Council 010               3610 W Church St                                          Thatcher, AZ 85552                                                                        First Class Mail
Chartered Organization         Lds Thatcher 2Nd Ward ‐ Thatcher Stake                   Grand Canyon Council 010               260 N Stadium Ave                                         Thatcher, AZ 85552‐5439                                                                   First Class Mail
Chartered Organization         Lds Thatcher 3Rd Ward ‐ Thatcher Stake                   Grand Canyon Council 010               P.O. Box 1214                                             Thatcher, AZ 85552‐1214                                                                   First Class Mail
Chartered Organization         Lds Thatcher 4Th Ward ‐ Thatcher Stake                   Grand Canyon Council 010               P.O. Box 441                                              Thatcher, AZ 85552‐0441                                                                   First Class Mail
Chartered Organization         Lds Thatcher 5Th Ward ‐ Thatcher Stake                   Grand Canyon Council 010               5291 W Hwy 70                                             Central, AZ 85531                                                                         First Class Mail
Chartered Organization         Lds Thatcher 6Th Ward ‐ Thatcher Stake                   Grand Canyon Council 010               3610 W Church St                                          Thatcher, AZ 85552                                                                        First Class Mail
Chartered Organization         Lds Thatcher 7Th Ward ‐ Thatcher Stake                   Grand Canyon Council 010               1121 S 1St Ave                                            Thatcher, AZ 85552‐5300                                                                   First Class Mail
Chartered Organization         Lds Thatcher 8Th Ward                                    Grand Canyon Council 010               3610 W Church St                                          Thatcher, AZ 85552                                                                        First Class Mail
Chartered Organization         Lds Thatcher 8Th Ward ‐ Thatcher Stake                   Grand Canyon Council 010               3610 W Church St                                          Graham, AZ 85552                                                                          First Class Mail
Chartered Organization         Lds Thatcher Penrose 1St Ward                            Tremonton West Stake                   11475 W 10400 N                                           Thatcher, UT 84337‐9407                                                                   First Class Mail
Chartered Organization         Lds Thatcher Penrose 2Nd Ward                            Tremonton West Stake                   11475 W 10400 N                                           Thatcher, UT 84337‐9407                                                                   First Class Mail
Chartered Organization         Lds Thayer Park Ward ‐ Mesa Az                           Mountain View Stake                    646 N Miramar                                             Mesa, AZ 85213‐7075                                                                       First Class Mail
Chartered Organization         Lds Thayne Stake ‐ Auburn Ward                           Grand Teton Council 107                182 State Hwy 237                                         Grover, WY 83122                                                                          First Class Mail
Chartered Organization         Lds Thayne Stake ‐ Bedford Ward                          Grand Teton Council 107                4447 Thayne Bedford Rd                                    Bedford, WY 83112                                                                         First Class Mail
Chartered Organization         Lds Thayne Stake ‐ Cedar Creek Ward                      Grand Teton Council 107                151 Alta Dr                                               Star Valley Ranch, WY 83127‐9065                                                          First Class Mail
Chartered Organization         Lds Thayne Stake ‐ Etna Ward                             Grand Teton Council 107                107998 N Us Hwy 89                                        Etna, WY 83118                                                                            First Class Mail
Chartered Organization         Lds Thayne Stake ‐ Freedom Ward                          Grand Teton Council 107                102894 Us Hwy 89                                          Freedom, WY 83120‐8807                                                                    First Class Mail
Chartered Organization         Lds Thayne Stake ‐ Grover Ward                           Grand Teton Council 107                229 Rocky Rd Cir                                          Afton, WY 83110‐9786                                                                      First Class Mail
Chartered Organization         Lds Thayne Stake ‐ Meadows Ward                          Grand Teton Council 107                P.O. Box 31                                               Grover, WY 83122‐0031                                                                     First Class Mail
Chartered Organization         Lds Thayne Stake ‐ Thayne 1St Ward                       Grand Teton Council 107                124 Petersen Pkwy                                         Thayne, WY 83127‐9754                                                                     First Class Mail
Chartered Organization         Lds Thayne Stake ‐ Thayne 2Nd Ward                       Grand Teton Council 107                Vanoy Pkwy                                                Thayne, WY 83127                                                                          First Class Mail
Chartered Organization         Lds The Bridges Ward ‐ Gilbert Az                        San Tan Stake                          4170 S Ranch House Pkwy                                   Gilbert, AZ 85297                                                                         First Class Mail
Chartered Organization         Lds The Ch Jesus Christ Ardmore                          Arbuckle Area Council 468              4115 Prairie Valley Rd                                    Ardmore, OK 73401‐9477                                                                    First Class Mail
Chartered Organization         Lds The Ch Jesus Christ LDS                              Abu Dhabi Stake                        P.O. Box 4490                                             Houston, TX 77210‐4490                                                                    First Class Mail
Chartered Organization         Lds The Church Of Jesus Christ ‐ Alpine                  Buffalo Trail Council 567              43108 A Fm 1703 Sunny Glen Rd                             Alpine, TX 79830                                                                          First Class Mail
Chartered Organization         Lds The Church Of Jesus Christ Of LDS                    Transatlantic Council, Bsa 802         Lauterstrasse 1                                           Kaiserslautern, 67657                                                                     First Class Mail
Chartered Organization         Lds The Dalles Second Ward                               The Dalles Stake                       1815 E 15Th St                                            The Dalles, OR 97058‐3309                                                                 First Class Mail
Chartered Organization         Lds The Village Ward                                     Utah National Parks 591                2436 E Crimson Ridge Dr                                   St George, UT 84790                                                                       First Class Mail
Chartered Organization         Lds Thermopolis Ward, Worland Stake                      Greater Wyoming Council 638            625 S 10Th St                                             Thermopolis, WY 82443‐3235                                                                First Class Mail
Chartered Organization         Lds Thetford Ward                                        Transatlantic Council, Bsa 802         Mayflower                                                 United Kingdom                                                                            First Class Mail
Chartered Organization         Lds Third Ward                                           Glaciers Edge Council 620              701 Bear Claw Way                                         Madison, WI 53717                                                                         First Class Mail
Chartered Organization         Lds Thirty Second Ward/S L Pioneer Stk                   Great Salt Lake Council 590            1401 W 700 S                                              Salt Lake City, UT 84104                                                                  First Class Mail
Chartered Organization         Lds Thomas Lake Ward Everett Stake                       Mount Baker Council, Bsa 606           11915 29Th Ave Se                                         Everett, WA 98208‐6022                                                                    First Class Mail
Chartered Organization         Lds Thomasville Ward                                     Tallahassee, Fl Stake                  807 Remington Ave                                         Thomasville, GA 31792‐5210                                                                First Class Mail
Chartered Organization         Lds Thornton Creek Ward Seattle N Stake                  Chief Seattle Council 609              5701 8Th Ave Ne                                           Seattle, WA 98105‐2748                                                                    First Class Mail
Chartered Organization         Lds Thousand Oaks 2Nd Ward                               Thousand Oaks Stake                    3645 N Moorpark Rd                                        Thousand Oaks, CA 91360‐2604                                                              First Class Mail
Chartered Organization         Lds Thousand Oaks Ward                                   Ventura County Council 057             819 Paseo Del Robledo                                     Thousand Oaks, CA 91360‐2509                                                              First Class Mail
Chartered Organization         Lds Three Forks Ward, Bozeman Stake                      Montana Council 315                    601 E Grove St                                            Three Forks, MT 59752                                                                     First Class Mail
Chartered Organization         Lds Three Fountains Ward ‐ Mesa Az                       North Stake                            1852 N Stapley Dr                                         Mesa, AZ 85203                                                                            First Class Mail
Chartered Organization         Lds Three Lakes Ward Lebanon Stake                       Cascade Pacific Council 492            2850 Grand Prairie Rd Se                                  Albany, OR 97322‐5802                                                                     First Class Mail
Chartered Organization         Lds Three Peaks Ward                                     Utah National Parks 591                555 E Midvalley Rd                                        Enoch, UT 84721                                                                           First Class Mail
Chartered Organization         Lds Thunder Mountain Ward ‐ Mesa Az                      Salt River Stake                       7752 E Mcdowell Rd                                        Mesa, AZ 85207‐1223                                                                       First Class Mail
Chartered Organization         Lds Thunderbird Hills Ward                               Phoenix Az, Tbird Park Stake           5104 W Pinnacle Peak Rd                                   Glendale, AZ 85310‐3835                                                                   First Class Mail
Chartered Organization         Lds Thurber Ward                                         Utah National Parks 591                P.O. Box 12                                               Bicknell, UT 84715‐0012                                                                   First Class Mail
Chartered Organization         Lds Tickle Creek Ward                                    Mt Hood Oregon Stake                   16317 Se Bluff Rd                                         Sandy, OR 97055‐6529                                                                      First Class Mail
Chartered Organization         Lds Tiffany Park Ward Renton Stake                       Chief Seattle Council 609              17030 106Th Ave Se                                        Renton, WA 98055‐5431                                                                     First Class Mail
Chartered Organization         Lds Tiffanysprings Ward                                  Platte City Stake                      2700 Ensign Dr                                            Platte City, MO 64079                                                                     First Class Mail
Chartered Organization         Lds Tigard Ward Tualatin Stake                           Cascade Pacific Council 492            11065 Sw N Dakota St                                      Tigard, OR 97223‐4122                                                                     First Class Mail
Chartered Organization         Lds Tiger Mtn Ward Bellevue S Stake                      Chief Seattle Council 609              23978 Se 160Th St                                         Issaquah, WA 98027‐8412                                                                   First Class Mail
Chartered Organization         Lds Tijeras Canyon Ward                                  Santa Margarita Stake                  30522 Via Con Dios                                        Rancho Santa Margarita, CA 92688‐1530                                                     First Class Mail
Chartered Organization         Lds Tikishla Park Ward ‐ Anchorage N Stake               Great Alaska Council 610               2501 Maplewood St                                         Anchorage, AK 99508‐4056                                                                  First Class Mail
Chartered Organization         Lds Tillamook Ward Forest Grove Stake                    Cascade Pacific Council 492            P.O. Box 409                                              Tillamook, OR 97141                                                                       First Class Mail
Chartered Organization         Lds Timber Creek Ward ‐ Alliance Stake                   Longhorn Council 662                   2509 Trophy Club Dr                                       Roanoke, TX 76262                                                                         First Class Mail
Chartered Organization         Lds Timber Creek Ward ‐ Boise Stk                        Ore‐Ida Council 106 ‐ Bsa 106          5808 N Cape Arago Pl                                      Boise, ID 83714‐4049                                                                      First Class Mail
Chartered Organization         Lds Timber Creek Ward ‐ Boise Stk                        Ore‐Ida Council 106 ‐ Bsa 106          9075 W Steve St                                           Boise, ID 83714‐5167                                                                      First Class Mail
Chartered Organization         Lds Timber Ridge Ward ‐ West Stake                       Alamo Area Council 583                 7100 Wilder St                                            San Antonio, TX 78250                                                                     First Class Mail
Chartered Organization         Lds Timp Meadows Ward (Heber)                            Utah National Parks 591                1265 E Center St                                          Heber City, UT 84032                                                                      First Class Mail
Chartered Organization         Lds Timp Park Fifth Ward                                 Utah National Parks 591                990 N 100 W                                               Orem, UT 84057                                                                            First Class Mail
Chartered Organization         Lds Timp Park First Ward                                 Utah National Parks 591                1000 N Main St                                            Orem, UT 84057                                                                            First Class Mail
Chartered Organization         Lds Timp Park Fourth Ward                                Utah National Parks 591                935 N 300 E                                               Orem, UT 84057                                                                            First Class Mail
Chartered Organization         Lds Timp Park Second Ward                                Utah National Parks 591                252 E 1090 N                                              Orem, UT 84057‐3208                                                                       First Class Mail
Chartered Organization         Lds Timp Park Third Ward                                 Utah National Parks 591                1000 N Main St                                            Orem, UT 84057                                                                            First Class Mail
Chartered Organization         Lds Timpanogos Fifth Ward                                Utah National Parks 591                800 N 100 W                                               Pleasant Grove, UT 84062‐1623                                                             First Class Mail
Chartered Organization         Lds Timpanogos First Ward                                Utah National Parks 591                520 N 400 E                                               Pleasant Grove, UT 84062                                                                  First Class Mail
Chartered Organization         Lds Timpanogos Fourth Ward                               Utah National Parks 591                55 N 600 E                                                Pleasant Grove, UT 84062‐2832                                                             First Class Mail
Chartered Organization         Lds Timpanogos Second Ward                               Utah National Parks 591                800 N 100 W                                               Pleasant Grove, UT 84062‐1623                                                             First Class Mail
Chartered Organization         Lds Timpanogos Seventh Ward                              Utah National Parks 591                500 N 300 E                                               Pleasant Grove, UT 84062                                                                  First Class Mail
Chartered Organization         Lds Timpanogos Sixth Ward                                Utah National Parks 591                170 N 850 E                                               Pleasant Grove, UT 84062‐2518                                                             First Class Mail
Chartered Organization         Lds Timpanogos Third Ward                                Utah National Parks 591                315 N 400 E                                               Pleasant Grove, UT 84062‐2409                                                             First Class Mail
Chartered Organization         Lds Timpview Fifth Ward                                  Utah National Parks 591                865 W 1000 N                                              Orem, UT 84057                                                                            First Class Mail
Chartered Organization         Lds Timpview First Ward                                  Utah National Parks 591                1050 N 600 W                                              Orem, UT 84057                                                                            First Class Mail
Chartered Organization         Lds Timpview Fourth Ward                                 Utah National Parks 591                1075 W 1100 N                                             Orem, UT 84057                                                                            First Class Mail
Chartered Organization         Lds Timpview Second Ward                                 Utah National Parks 591                950 W 1200 N                                              Orem, UT 84057                                                                            First Class Mail
Chartered Organization         Lds Timpview Seventh Ward                                Utah National Parks 591                1050 N 600 W                                              Orem, UT 84057                                                                            First Class Mail
Chartered Organization         Lds Timpview Sixth Ward                                  Utah National Parks 591                1240 N 950 W                                              Orem, UT 84057                                                                            First Class Mail
Chartered Organization         Lds Timpview Third Ward                                  Utah National Parks 591                1075 W 1100 N                                             Orem, UT 84057                                                                            First Class Mail
Chartered Organization         Lds Tipton Ward ‐ Warrensburg Stake                      Great Rivers Council 653               30630 Hwy 5                                               Tipton, MO 65081‐3218                                                                     First Class Mail
Chartered Organization         Lds Tithing Hill Ward                                    Rvrtn Ut Summerhill Stake              1208 W 12400 S                                            Riverton, UT 84065                                                                        First Class Mail
Chartered Organization         Lds Tokyo South Stake                                    Far E Council 803                      Minami Azabu 5‐8‐10                                       Minato‐Ku                               Japan                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                      Page 239 of 442
                                                                                  Case 20-10343-LSS                                  Doc 8171                                               Filed 01/06/22                                               Page 255 of 457
                                                                                                                                                                               Exhibit B
                                                                                                                                                                                Service List
                                                                                                                                                                         Served as set forth below

        Description                                                        Name                                                                                              Address                                                                                              Email              Method of Service
Chartered Organization         Lds Tokyo South Stake                                     Far E Council 803                      Minami‐Azabu                                                       Tokyo, Minato‐Ku 106              Japan                                                First Class Mail
Chartered Organization         Lds Toll Canyon Ward/Park City Ut Stk                     Great Salt Lake Council 590            2555 Kilby Rd                                                      Park City, UT 84098‐8214                                                               First Class Mail
Chartered Organization         Lds Tolleson Ward ‐ Phoenix Az                            W Maricopa Stake                       701 N 95Th Ave                                                     Tolleson, AZ 85353‐1626                                                                First Class Mail
Chartered Organization         Lds Tomball 2Nd Ward                                      Klein Texas Stake                      23311 Powder Mill Dr                                               Tomball, TX 77377‐3913                                                                 First Class Mail
Chartered Organization         Lds Tompkinsville Ward                                    Lincoln Heritage Council 205           3000 Radio Station Rd                                              Tompkinsville, KY 42167                                                                First Class Mail
Chartered Organization         Lds Tonopah Ward Fallon South Stake                       Nevada Area Council 329                P.O. Box 1127                                                      Tonopah, NV 89049‐1127                                                                 First Class Mail
Chartered Organization         Lds Tooele 10Th Ward                                      Tooele Ut Valley View Stake            132 N 570 E                                                        Tooele, UT 84074                                                                       First Class Mail
Chartered Organization         Lds Tooele 11Th Ward/Tooele Ut South Stk                  Great Salt Lake Council 590            180 S Coleman St                                                   Tooele, UT 84074‐2047                                                                  First Class Mail
Chartered Organization         Lds Tooele 12Th Branch (Tongan)                           Sl Ut Stake (Tongan)                   196 N Pinehurst Ave                                                Tooele, UT 84074‐2137                                                                  First Class Mail
Chartered Organization         Lds Tooele 13Th Ward/Tooele Ut South Stk                  Great Salt Lake Council 590            1025 Southwest Dr                                                  Tooele, UT 84074‐2683                                                                  First Class Mail
Chartered Organization         Lds Tooele 14Th Ward/Tooele Ut South Stk                  Great Salt Lake Council 590            192 W 200 S                                                        Tooele, UT 84074‐2639                                                                  First Class Mail
Chartered Organization         Lds Tooele 15Th Ward/Tooele Ut South Stk                  Great Salt Lake Council 590            1030 S 900 W                                                       Tooele, UT 84074‐3252                                                                  First Class Mail
Chartered Organization         Lds Tooele 17Th Ward/Tooele Ut East Stk                   Great Salt Lake Council 590            132 N 570 E                                                        Tooele, UT 84074                                                                       First Class Mail
Chartered Organization         Lds Tooele 18Th Ward                                      Tooele Utah W Stake                    1000 W Utah Ave                                                    Tooele, UT 84074                                                                       First Class Mail
Chartered Organization         Lds Tooele 19Th Ward/Tooele Ut South Stk                  Great Salt Lake Council 590            1030 S 900 W                                                       Tooele, UT 84074‐3252                                                                  First Class Mail
Chartered Organization         Lds Tooele 1St Ward/Tooele Ut Stk                         Great Salt Lake Council 590            156 Heritage Hill Dr                                               Tooele, UT 84074‐3081                                                                  First Class Mail
Chartered Organization         Lds Tooele 26Th Ward                                      Tooele Utah W Stake                    1025 W Utah Ave                                                    Tooele, UT 84074‐1885                                                                  First Class Mail
Chartered Organization         Lds Tooele 28Th Ward/Tooele Ut South Stk                  Great Salt Lake Council 590            1025 Southwest Dr                                                  Tooele, UT 84074‐2683                                                                  First Class Mail
Chartered Organization         Lds Tooele 29Th Ward/Tooele Ut North Stk                  Great Salt Lake Council 590            583 N 270 E                                                        Tooele, UT 84074‐1800                                                                  First Class Mail
Chartered Organization         Lds Tooele 2Nd Ward/Tooele Ut North Stk                   Great Salt Lake Council 590            583 N 270 E                                                        Tooele, UT 84074‐1800                                                                  First Class Mail
Chartered Organization         Lds Tooele 3Rd Ward/Tooele Ut North Stk                   Great Salt Lake Council 590            141 W Utah Ave                                                     Tooele, UT 84074‐1537                                                                  First Class Mail
Chartered Organization         Lds Tooele 4Th Ward/Tooele Ut South Stk                   Great Salt Lake Council 590            192 W 200 S                                                        Tooele, UT 84074‐2639                                                                  First Class Mail
Chartered Organization         Lds Tooele 5Th Ward/Tooele Ut North Stk                   Great Salt Lake Council 590            583 N 270 E                                                        Tooele, UT 84074‐1800                                                                  First Class Mail
Chartered Organization         Lds Tooele 6Th Ward/Tooele Ut Stk                         Great Salt Lake Council 590            253 S 200 E                                                        Tooele, UT 84074‐2714                                                                  First Class Mail
Chartered Organization         Lds Tooele 7Th Ward                                       Tooele Utah W Stake                    1025 W Utah Ave                                                    Tooele, UT 84074‐1885                                                                  First Class Mail
Chartered Organization         Lds Tooele 8Th Ward                                       Tooele Ut Valley View Stake            196 N Pinehurst Ave                                                Tooele, UT 84074‐2137                                                                  First Class Mail
Chartered Organization         Lds Toquerville Second Ward                               Utah National Parks 591                P.O. Box 383                                                       Toquerville, UT 84774‐0383                                                             First Class Mail
Chartered Organization         Lds Toquerville Third Ward                                Utah National Parks 591                1563 S Ash Creek Dr                                                Toquerville, UT 84774‐5051                                                             First Class Mail
Chartered Organization         Lds Toquerville Ward                                      Utah National Parks 591                79 N Toquer Blvd                                                   Toquerville, UT 84774                                                                  First Class Mail
Chartered Organization         Lds Torrance 1St Ward 254                                 Greater Los Angeles Area 033           22605 Kent Ave                                                     Torrance, CA 90505‐2343                                                                First Class Mail
Chartered Organization         Lds Torrey Ward                                           Utah National Parks 591                P.O. Box 55                                                        Torrey, UT 84775                                                                       First Class Mail
Chartered Organization         Lds Totem Lake Ward Kirkland Stake                        Chief Seattle Council 609              13320 Ne 132Nd St                                                  Kirkland, WA 98034                                                                     First Class Mail
Chartered Organization         Lds Town Center Ward Red Rock Stake                       Las Vegas Area Council 328             10550 W Alta Dr                                                    Las Vegas, NV 89144                                                                    First Class Mail
Chartered Organization         Lds Town Hall Ward                                        Utah National Parks 591                835 S 500 W                                                        Provo, UT 84601                                                                        First Class Mail
Chartered Organization         Lds Towne Meadows Ward ‐ Gilbert Az                       Superstition Springs Stake             938 N Owl Cir                                                      Gilbert, AZ 85234‐0308                                                                 First Class Mail
Chartered Organization         Lds Townsend Ward, Helena Stake                           Montana Council 315                    916 Broadway St                                                    Townsend, MT 59644‐2432                                                                First Class Mail
Chartered Organization         Lds Tracy Ward Manteca Stake                              Greater Yosemite Council 059           27150 Wilkinson Way                                                Tracy, CA 95376                                                                        First Class Mail
Chartered Organization         Lds Tradewind Ward Amarillo Tx Stake                      Golden Spread Council 562              3715 Langtry Dr                                                    Amarillo, TX 79109‐3925                                                                First Class Mail
Chartered Organization         Lds Trailridge Ward                                       Hawkeye Area Council 172               4300 Trailridge Rd Se                                              Cedar Rapids, IA 52403‐2042                                                            First Class Mail
Chartered Organization         Lds Trailside Ward ‐ Phoenix Az                           South Mountain Stake                   7133 S 68Th Gln                                                    Laveen, AZ 85339‐5072                                                                  First Class Mail
Chartered Organization         Lds Trappers Loop Ward                                    Morgan North Stake                     5378 W Old Hwy Rd                                                  Mountain Green, UT 84050‐9800                                                          First Class Mail
Chartered Organization         Lds Traverse City Ward                                    President Gerald R Ford 781            P.O. Box 6817                                                      Traverse City, MI 49696‐6817                                                           First Class Mail
Chartered Organization         Lds Traverse Mountain Eighth Ward                         Utah National Parks 591                4755 N Sunset Way                                                  Lehi, UT 84043‐5720                                                                    First Class Mail
Chartered Organization         Lds Traverse Mountain Eleventh Ward                       Utah National Parks 591                890 W 3200 N                                                       Lehi, UT 84043                                                                         First Class Mail
Chartered Organization         Lds Traverse Mountain Fifth Ward                          Utah National Parks 591                5052 N Homestead Dr                                                Lehi, UT 84043                                                                         First Class Mail
Chartered Organization         Lds Traverse Mountain First Ward                          Utah National Parks 591                4713 N Pheasant Ridge Trl                                          Lehi, UT 84043‐5313                                                                    First Class Mail
Chartered Organization         Lds Traverse Mountain Fourth Ward                         Utah National Parks 591                2030 W Chapel Ridge Rd                                             Lehi, UT 84043                                                                         First Class Mail
Chartered Organization         Lds Traverse Mountain Ninth Ward                          Utah National Parks 591                4810 N Whisper Wood Dr                                             Lehi, UT 84043‐6576                                                                    First Class Mail
Chartered Organization         Lds Traverse Mountain Second Ward                         Utah National Parks 591                2198 W Foxtrail Dr                                                 Lehi, UT 84043                                                                         First Class Mail
Chartered Organization         Lds Traverse Mountain Seventh Ward                        Utah National Parks 591                5118 N Fox Hollow Way                                              Lehi, UT 84043‐4015                                                                    First Class Mail
Chartered Organization         Lds Traverse Mountain Sixth Ward                          Utah National Parks 591                5140 N Ravencrest Ln                                               Lehi, UT 84043‐7726                                                                    First Class Mail
Chartered Organization         Lds Traverse Mountain Tenth Ward                          Utah National Parks 591                5097 N Eagles View Dr                                              Lehi, UT 84043‐7719                                                                    First Class Mail
Chartered Organization         Lds Traverse Mountain Third Ward                          Utah National Parks 591                2288 W New Harvest Ln                                              Lehi, UT 84043‐4774                                                                    First Class Mail
Chartered Organization         Lds Traverse Mountain Thirteenth Ward                     Utah National Parks 591                4151 N Traverse Mountain Blvd Apt 9206                             Lehi, UT 84043‐2634                                                                    First Class Mail
Chartered Organization         Lds Traverse Mountain Twelfth Ward                        Utah National Parks 591                4179 N Red Maple Ct                                                Lehi, UT 84043‐7739                                                                    First Class Mail
Chartered Organization         Lds Treasure Valley Ward                                  Utah National Parks 591                1762 S River Rd                                                    St George, UT 84790                                                                    First Class Mail
Chartered Organization         Lds Tremonton 10Th Ward                                   Tremonton South Stake                  1150 S Tremont St                                                  Tremonton, UT 84337‐2025                                                               First Class Mail
Chartered Organization         Lds Tremonton 11Th Ward                                   Tremonton Stake                        166 N Tremonton St                                                 Tremonton, UT 84337                                                                    First Class Mail
Chartered Organization         Lds Tremonton 12Th Ward                                   Tremonton South Stake                  1150 S Tremont St                                                  Tremonton, UT 84337‐2025                                                               First Class Mail
Chartered Organization         Lds Tremonton 13Th Ward                                   Tremonton Stake                        Trapper Trails 589                                                 660 N 300 E                       Tremonton Stake        Tremonton, Ut 84337           First Class Mail
Chartered Organization         Lds Tremonton 2Nd Ward                                    Tremonton South Stake                  Trapper Trails 589                                                 300 S Tremont St                  Tremonton S Stake      Tremonton, Ut 84337           First Class Mail
Chartered Organization         Lds Tremonton 3Rd                                         Tremonton West Stake                   9590 N 6800 W                                                      Tremonton, UT 84337‐8651                                                               First Class Mail
Chartered Organization         Lds Tremonton 5Th Ward                                    Tremonton South Stake                  251 S Tremont St                                                   Tremonton, UT 84337‐1821                                                               First Class Mail
Chartered Organization         Lds Tremonton 7Th Ward                                    Tremonton West Stake                   10350 W 1160 N                                                     Bothwell, UT 84337                                                                     First Class Mail
Chartered Organization         Lds Tremonton 8Th Ward                                    Tremonton West Stake                   345 S 1000 W                                                       Tremonton, UT 84337                                                                    First Class Mail
Chartered Organization         Lds Tremonton 9Th Ward                                    Tremonton South Stake                  1150 S Tremont St                                                  Tremonton, UT 84337‐2025                                                               First Class Mail
Chartered Organization         Lds Tres Lagos Ward ‐ Menifee Stake                       California Inland Empire Council 045   225 Mildred St                                                     Perris, CA 92571‐2949                                                                  First Class Mail
Chartered Organization         Lds Tri City Ward ‐ Placentia Stake                       Orange County Council 039              210 Livingston Ave                                                 Placentia, CA 92870‐2547                                                               First Class Mail
Chartered Organization         Lds Tridell Ward                                          Utah National Parks 591                P.O. Box 760062                                                    Tridell, UT 84076‐0062                                                                 First Class Mail
Chartered Organization         Lds Trillium Creek Ward                                   Lake Oswego Stake                      775 Marylhurst Cir                                                 West Linn, OR 97068‐1811                                                               First Class Mail
Chartered Organization         Lds Trophy Club Ward ‐ Alliance Stake                     Longhorn Council 662                   236 Oak Hill Dr                                                    Trophy Club, TX 76262‐5457                                                             First Class Mail
Chartered Organization         Lds Tropic Ward                                           Utah National Parks 591                P.O. Box 13                                                        Tropic, UT 84776‐0013                                                                  First Class Mail
Chartered Organization         Lds Tropical Breeze Ward                                  N Las Vegas Stake                      3221 Villa Pisani Ct                                               North Las Vegas, NV 89031‐7267                                                         First Class Mail
Chartered Organization         Lds Tropicana Ward Paradise Stake                         Las Vegas Area Council 328             2275 E Tropicana Ave                                               Las Vegas, NV 89119‐6575                                                               First Class Mail
Chartered Organization         Lds Troy Branch/Moscow Stake                              Inland NW Council 611                  715 Scott St                                                       Troy, ID 83871                                                                         First Class Mail
Chartered Organization         Lds Troy Ward ‐ Bloomfield Hills Stake                    Great Lakes Fsc 272                    2784 E Square Lake Rd                                              Troy, MI 48085‐3947                                                                    First Class Mail
Chartered Organization         Lds Trumbull 1 Ward New Haven Stake                       Connecticut Yankee Council Bsa 072     36 Bonnie View Dr                                                  Trumbull, CT 06611‐4773                                                                First Class Mail
Chartered Organization         Lds Trumbull 2Nd Ward New Haven Stake                     Connecticut Yankee Council Bsa 072     1450 Barnum Ave                                                    Bridgeport, CT 06610‐3239                                                              First Class Mail
Chartered Organization         Lds Truth Or Consequences Br                              Las Cruces Stake                       200 W 6Th Ave                                                      Truth Or Consequences, NM 87901                                                        First Class Mail
Chartered Organization         Lds Tualatin Valley Ward Hillsboro Stake                  Cascade Pacific Council 492            2220 Ne Jackson School Rd                                          Hillsboro, OR 97124‐1658                                                               First Class Mail
Chartered Organization         Lds Tuba City 2Nd Ward ‐ Tuba City Az Stk                 Grand Canyon Council 010               21 W Moenavi                                                       Tuba City, AZ 86045                                                                    First Class Mail
Chartered Organization         Lds Tudor Ward ‐ Anchorage North Stake                    Great Alaska Council 610               4001 Macinnes St                                                   Anchorage, AK 99508‐5129                                                               First Class Mail
Chartered Organization         Lds Tujunga Ward                                          Verdugo Hills Council 058              7955 Hillrose St                                                   Sunland, CA 91040‐2560                                                                 First Class Mail
Chartered Organization         Lds Tulao 2Nd Ward ‐ Pago Samoa Stake                     Aloha Council, Bsa 104                 P.O. Box 4786                                                      Pago Pago, AS 96799‐4786                                                               First Class Mail
Chartered Organization         Lds Tulao Ward ‐ Pago Samoa Stake                         Aloha Council, Bsa 104                 P.O. Box 910                                                       Pago Pago, AS 96799‐0910                                                               First Class Mail
Chartered Organization         Lds Tully Park Ward ‐ Settlers Park Stk                   Ore‐Ida Council 106 ‐ Bsa 106          2026 Nw 10Th St                                                    Meridian, ID 83646‐1535                                                                First Class Mail
Chartered Organization         Lds Turner Ward Salem Stake                               Cascade Pacific Council 492            3645 Cloverdale Dr Se                                              Turner, OR 97392‐9577                                                                  First Class Mail
Chartered Organization         Lds Tuscany Ward ‐ Mer S Stk                              Ore‐Ida Council 106 ‐ Bsa 106          3542 S Capulet Way                                                 Meridian, ID 83642‐2383                                                                First Class Mail
Chartered Organization         Lds Tuscany Ward, Arapahoe Stake                          Denver Area Council 061                21750 E Dorado Ave                                                 Centennial, CO 80015‐3576                                                              First Class Mail
Chartered Organization         Lds Tuscany Ward/Fort Herriman Ut Stk                     Great Salt Lake Council 590            12809 S Palermo St                                                 Herriman, UT 84096‐4688                                                                First Class Mail
Chartered Organization         Lds Tustin Meadows Ward ‐ Orange Stake                    Orange County Council 039              1800 San Juan St                                                   Tustin, CA 92780‐5206                                                                  First Class Mail
Chartered Organization         Lds Tville Gardens 1St Ward                               Tville Ut Central Stake                4252 Bennion Rd                                                    Taylorsville, UT 84129                                                                 First Class Mail
Chartered Organization         Lds Tville Gardens 2Nd Ward                               Tville Ut Central Stake                4252 Bennion Rd                                                    Salt Lake City, UT 84129                                                               First Class Mail
Chartered Organization         Lds Twelve Oaks 1St Ward ‐ Tempe Az                       South Stake                            1528 E Knox Rd                                                     Tempe, AZ 85284‐3328                                                                   First Class Mail
Chartered Organization         Lds Twelve Oaks 2Nd Ward ‐ Tempe Az                       South Stake                            10 S Twelve Oaks Blvd                                              Chandler, AZ 85226                                                                     First Class Mail
Chartered Organization         Lds Twentieth Ward/Salt Lake Ensign Stk                   Great Salt Lake Council 590            107 G St                                                           Salt Lake City, UT 84103                                                               First Class Mail
Chartered Organization         Lds Twenty Fifth Ward/S L Pioneer Stk                     Great Salt Lake Council 590            1145 W 500 S                                                       Salt Lake City, UT 84104                                                               First Class Mail
Chartered Organization         Lds Twenty Sixth Ward/S L Pioneer Stk                     Great Salt Lake Council 590            1145 W 500 S                                                       Salt Lake City, UT 84104                                                               First Class Mail
Chartered Organization         Lds Twin Bridges 1St Ward                                 Davenport Stake                        4929 Wisconsin Ave                                                 Davenport, IA 52806                                                                    First Class Mail
Chartered Organization         Lds Twin Bridges 2Nd Ward                                 Illowa Council 133                     4800 Kennedy Dr                                                    East Moline, IL 61244‐4244                                                             First Class Mail
Chartered Organization         Lds Twin City Ward ‐ Beaumont Stake                       Three Rivers Council 578               3939 Turtle Creek Dr                                               Port Arthur, TX 77642‐7335                                                             First Class Mail
Chartered Organization         Lds Twin City Ward ‐ Beaumont Stake                       Three Rivers Council 578               3939 Turtle Creek Dr                                               Port Arthur, TX 77642‐7335                                                             First Class Mail
Chartered Organization         Lds Twin Knolls Ward ‐ Mesa Az                            Flat Iron Stake                        6942 E Brown Rd                                                    Mesa, AZ 85207                                                                         First Class Mail
Chartered Organization         Lds Twin Oak Ward/Atlanta Stake                           Atlanta Area Council 092               2083 Wesley Chapel Rd                                              Decatur, GA 30035‐2398                                                                 First Class Mail
Chartered Organization         Lds Two River Ward, Great Falls Stake                     Montana Council 315                    1401 9Th St Nw                                                     Great Falls, MT 59404‐1819                                                             First Class Mail
Chartered Organization         Lds Tyhee Stake ‐ Bringhurst Ward                         Grand Teton Council 107                140 Bringhurst St                                                  Chubbuck, ID 83202                                                                     First Class Mail
Chartered Organization         Lds Tyhee Stake ‐ Fort Hall Ward                          Grand Teton Council 107                Hwy 91                                                             Pocatello, ID 83202                                                                    First Class Mail
Chartered Organization         Lds Tyhee Stake ‐ Paradise Ward                           Grand Teton Council 107                140 Bringhurst St                                                  Chubbuck, ID 83202                                                                     First Class Mail
Chartered Organization         Lds Tyhee Stake ‐ Pocatello 37Th Ward                     Grand Teton Council 107                Us Hwy 91                                                          Pocatello, ID 83202                                                                    First Class Mail
Chartered Organization         Lds Tyhee Stake ‐ Pocatello 44Th Ward                     Grand Teton Council 107                Us Hwy 91                                                          Pocatello, ID 83202                                                                    First Class Mail
Chartered Organization         Lds Tyhee Stake ‐ Pocatello 48Th Ward                     Grand Teton Council 107                12146 W Tyhee Rd                                                   Chubbuck, ID 83202‐5128                                                                First Class Mail
Chartered Organization         Lds Tyhee Stake ‐ Pocatello 7Th Ward                      Grand Teton Council 107                12146 W Tyhee Rd                                                   Chubbuck, ID 83202‐5128                                                                First Class Mail
Chartered Organization         Lds Ucon Stake ‐ Cottonwood Ward                          Grand Teton Council 107                9869 N 26Th E                                                      Idaho Falls, ID 83401‐6434                                                             First Class Mail
Chartered Organization         Lds Ucon Stake ‐ Homestead Ward                           Grand Teton Council 107                2967 E 105 N                                                       Idaho Falls, ID 83401                                                                  First Class Mail
Chartered Organization         Lds Ucon Stake ‐ Milo Ward                                Grand Teton Council 107                12127 N 75Th E                                                     Idaho Falls, ID 83401                                                                  First Class Mail
Chartered Organization         Lds Ucon Stake ‐ Monument Ward                            Grand Teton Council 107                3807 E 109 N                                                       Idaho Falls, ID 83401‐5432                                                             First Class Mail
Chartered Organization         Lds Ucon Stake ‐ Ucon Ward                                Grand Teton Council 107                P.O. Box 413                                                       Ucon, ID 83454‐0413                                                                    First Class Mail
Chartered Organization         Lds Ucon Stake ‐ Yellowstone Ward                         Grand Teton Council 107                2967 E 105 N                                                       Idaho Falls, ID 83401                                                                  First Class Mail
Chartered Organization         Lds Ucon Stake ‐Foothill Ward                             Grand Teton Council 107                12160 N 75Th E                                                     Idaho Falls, ID 83401‐5321                                                             First Class Mail
Chartered Organization         Lds Udall Ward ‐ Mesa Az Stk                              Grand Canyon Council 010               15 W 1St Ave                                                       Mesa, AZ 85210‐1301                                                                    First Class Mail
Chartered Organization         Lds Uinta View Ward                                       Evanston South Stake                   201 Sage St                                                        Evanston, WY 82930‐3645                                                                First Class Mail
Chartered Organization         Lds Uintah 1St Ward                                       Pleasant Valley Stake                  6660 S 1775 E                                                      Uintah, UT 84405                                                                       First Class Mail
Chartered Organization         Lds Uintah 2Nd Ward                                       Pleasant Valley Stake                  6660 S 1775 E                                                      Uintah, UT 84405                                                                       First Class Mail
Chartered Organization         Lds Uintah River Ward                                     Utah National Parks 591                5427 E 3000 N                                                      Ballard, UT 84066‐4583                                                                 First Class Mail
Chartered Organization         Lds Uintah Ward                                           Utah National Parks 591                873 E 2850 S                                                       Vernal, UT 84078‐8683                                                                  First Class Mail
Chartered Organization         Lds Ukiah 1St Ward                                        Redwood Empire Council 041             1337 S Dora St                                                     Ukiah, CA 95482                                                                        First Class Mail
Chartered Organization         Lds Ukiah 2Nd Ward                                        Redwood Empire Council 041             925 Hazel Ave                                                      Ukiah, CA 95482‐7646                                                                   First Class Mail
Chartered Organization         Lds Umatilla Ward ‐ Hermiston Stake                       Blue Mountain Council 604              103 Cowlitz St                                                     Umatilla, OR 97882‐9641                                                                First Class Mail
Chartered Organization         Lds Uncomphagre Ward/Montrose Stake                       Denver Area Council 061                1679 Pioneer Rd                                                    Delta, CO 81416                                                                        First Class Mail
Chartered Organization         Lds Uni Heights Ward ‐ Riverside Stake                    California Inland Empire Council 045   181 W Blaine St                                                    Riverside, CA 92507‐4066                                                               First Class Mail
Chartered Organization         Lds Uni Park Ward ‐ Newport Beach Stake                   Orange County Council 039              2150 Bonita Canyon Dr                                              Newport Beach, CA 92660                                                                First Class Mail
Chartered Organization         Lds Union 1St Ward                                        Sandy Ut Cottonwood Creek Stake        1535 E Creek Rd                                                    Sandy, UT 84093                                                                        First Class Mail
Chartered Organization         Lds Union 2Nd Ward                                        Sandy Ut Cottonwood Creek Stake        1535 E Creek Rd                                                    Sandy, UT 84093                                                                        First Class Mail
Chartered Organization         Lds Union 3Rd Ward                                        Sandy Ut Cottonwood Creek Stake        1535 E Creek Rd                                                    Cottonwood Heights, UT 84093                                                           First Class Mail
Chartered Organization         Lds Union 4Th Ward                                        Sandy Ut Cottonwood Creek Stake        1834 Creek Rd                                                      Sandy, UT 84093                                                                        First Class Mail
Chartered Organization         Lds Union 5Th Ward                                        Sandy Ut Cottonwood Creek Stake        7784 Highland Dr                                                   Salt Lake City, UT 84121                                                               First Class Mail
Chartered Organization         Lds Union 6Th Ward                                        Sandy Ut Cottonwood Creek Stake        1433 E Old Mission Rd                                              Sandy, UT 84093                                                                        First Class Mail
Chartered Organization         Lds Union City Ward ‐ Hayward Stake                       San Francisco Bay Area Council 028     34601 Alvarado Niles Rd                                            Union City, CA 94587‐4598                                                              First Class Mail
Chartered Organization         Lds Union Fort 2Nd Ward                                   Midvale Ut Union Fort Stake            7155 S 540 E                                                       Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Union Fort 3Rd Ward                                   Midvale Ut Union Fort Stake            6710 S 1300 E                                                      Cottonwood Heights, UT 84121                                                           First Class Mail
Chartered Organization         Lds Union Fort 5Th Ward                                   Midvale Ut Union Fort Stake            6770 S 500 E                                                       Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Union Fort 6Th Ward/Union Fort Stake                  Great Salt Lake Council 590            7155 S 549 E                                                       Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Union Fort 7Th Ward                                   Midvale Ut Union Fort Stake            6770 S 500 E                                                       Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Union Hill Ward Redmond Stake                         Chief Seattle Council 609              7115 224Th Ave Ne                                                  Redmond, WA 98053                                                                      First Class Mail
Chartered Organization         Lds Union Park 1St Ward                                   Midvale Ut Union Park Stake            7699 S Chad St                                                     Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Union Park 2Nd Ward                                   Midvale Ut Union Park Stake            700 E 7500 S                                                       Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Union Park 3Rd Ward                                   Midvale Ut Union Park Stake            8060 S 615 E                                                       Sandy, UT 84070‐0522                                                                   First Class Mail
Chartered Organization         Lds Union Park 4Th Ward                                   Midvale Ut Union Park Stake            700 E 7500 S                                                       Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Union Park 5Th Ward                                   Midvale Ut Union Park Stake            7699 S Chad St                                                     Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Union Park 6Th Ward                                   Midvale Ut Union Park Stake            8060 S 615 E                                                       Sandy, UT 84070‐0522                                                                   First Class Mail
Chartered Organization         Lds Union Park 9Th Br (Span)                              Mdvl Ut Union Park Stake               7699 S Chad St                                                     Midvale, UT 84047                                                                      First Class Mail
Chartered Organization         Lds Union Square 1St Ward                                 New York Stake                         144 W 15Th St                                                      New York, NY 10011‐6702                                                                First Class Mail
Chartered Organization         Lds Union Square 1St Ward/New York Stake                  Greater New York Councils, Bsa 640     144 W 15Th St                                                      New York, NY 10011‐6702                                                                First Class Mail
Chartered Organization         Lds Union Ward ‐ Kennewick East Stake                     Blue Mountain Council 604              505 S Union St                                                     Kennewick, WA 99336                                                                    First Class Mail
Chartered Organization         Lds Union Ward ‐ La Grande Stake                          Blue Mountain Council 604              P.O. Box 464                                                       Union, OR 97883‐0464                                                                   First Class Mail
Chartered Organization         Lds Union Ward Manteca Stake                              Greater Yosemite Council 059           1233 Northgate Dr                                                  Manteca, CA 95336‐6225                                                                 First Class Mail
Chartered Organization         Lds Unit 47015                                            Choctaw Area Council 302               5805 N Hills St                                                    Meridian, MS 39307‐2907                                                                First Class Mail
Chartered Organization         Lds Universal City Ward ‐ East Stake                      Alamo Area Council 583                 13201 Forum Rd                                                     Universal City, TX 78148‐2812                                                          First Class Mail
Chartered Organization         Lds University Hills Ward, Denver Stake                   Denver Area Council 061                2710 S Monaco Pkwy                                                 Denver, CO 80222‐7119                                                                  First Class Mail
Chartered Organization         Lds University Park Orlando                               Central Florida Council 083            5449 N Dean Rd                                                     Orlando, FL 32817‐3242                                                                 First Class Mail
Chartered Organization         Lds University Park Ward Sarasota Stake                   Southwest Florida Council 088          7001 Beneva Rd                                                     Sarasota, FL 34238‐2803                                                                First Class Mail
Chartered Organization         Lds University Ward, Pueblo Stake                         Rocky Mountain Council 063             1411 Fortino Blvd                                                  Pueblo, CO 81008‐2034                                                                  First Class Mail
Chartered Organization         Lds University Ward/S L Central Stk                       Great Salt Lake Council 590            160 S University St                                                Salt Lake City, UT 84102                                                               First Class Mail
Chartered Organization         Lds Upland 1St Ward ‐ Upland Stake                        California Inland Empire Council 045   785 N San Antonio Ave                                              Upland, CA 91786‐4537                                                                  First Class Mail
Chartered Organization         Lds Upland 2Nd Ward ‐ Upland Stake                        California Inland Empire Council 045   785 N San Antonio Ave                                              Upland, CA 91786‐4537                                                                  First Class Mail
Chartered Organization         Lds Upland 3Rd Ward ‐ Upland Stake                        California Inland Empire Council 045   1130 W 21St St                                                     Upland, CA 91784‐1225                                                                  First Class Mail
Chartered Organization         Lds Upland 5Th Ward ‐ Upland Stake                        California Inland Empire Council 045   6525 Sapphire St                                                   Alta Loma, CA 91701‐3100                                                               First Class Mail
Chartered Organization         Lds Upton Ward/Coalville Ut Stk                           Great Salt Lake Council 590            2455 E Chalk Creek Rd                                              Coalville, UT 84017‐9305                                                               First Class Mail
Chartered Organization         Lds Urbana Ward Champaign Stake                           Prairielands 117                       604 W Windsor Rd                                                   Champaign, IL 61820‐7622                                                               First Class Mail
Chartered Organization         Lds Urbana Ward Frederick Stake                           National Capital Area Council 082      1811 Latham Dr                                                     Frederick, MD 21701‐9394                                                               First Class Mail
Chartered Organization         Lds Ustick Ward ‐ Mer E Stk                               Ore‐Ida Council 106 ‐ Bsa 106          2840 Wildwood St                                                   Boise, ID 83713‐5069                                                                   First Class Mail
Chartered Organization         Lds Utah Valley Deaf Ward                                 Utah National Parks 591                888 S Freedom Blvd                                                 Provo, UT 84601‐5810                                                                   First Class Mail
Chartered Organization         Lds Utica Ward ‐ Utica Stake                              Leatherstocking 400                    8439 Clark Mills Rd                                                Whitesboro, NY 13492                                                                   First Class Mail
Chartered Organization         Lds Uvalde                                                Texas SW Council 741                   420 Ham Ln                                                         Uvalde, TX 78801‐6268                                                                  First Class Mail
Chartered Organization         Lds Vacaville 1St Ward Vacaville Stake                    Golden Empire Council 047              311 Alamo Dr                                                       Vacaville, CA 95688‐4202                                                               First Class Mail
Chartered Organization         Lds Vacaville 2Nd Ward Vacaville Stake                    Golden Empire Council 047              360 Portsmouth Ave                                                 Vacaville, CA 95687                                                                    First Class Mail
Chartered Organization         Lds Vacaville 3Rd Ward Vacaville Stake                    Golden Empire Council 047              311 Alamo Dr                                                       Vacaville, CA 95688‐4202                                                               First Class Mail
Chartered Organization         Lds Vacaville 4Th Ward Vacaville Stake                    Golden Empire Council 047              480 Wrentham Dr                                                    Vacaville, CA 95688                                                                    First Class Mail
Chartered Organization         Lds Vacaville 5Th Ward Vacaville Stake                    Golden Empire Council 047              470 Wrentham Dr                                                    Vacaville, CA 95688                                                                    First Class Mail
Chartered Organization         Lds Vail Branch/Rifle Stake                               Denver Area Council 061                P.O. Box 883                                                       Vail, CO 81658‐0883                                                                    First Class Mail
Chartered Organization         Lds Vail Ranch Ward ‐ Temecula Stake                      California Inland Empire Council 045   45458 Camino Monzon                                                Temecula, CA 92592‐1301                                                                First Class Mail
Chartered Organization         Lds Vaiola Ward (Samoan)                                  N S L Parkway Stake                    55 E 350 N                                                         North Salt Lake, UT 84054                                                              First Class Mail
Chartered Organization         Lds Val Verda 1St Ward                                    Bntfl Ut Val Verda Stake               2633 S 50 W                                                        Bountiful, UT 84010                                                                    First Class Mail
Chartered Organization         Lds Val Verda 2Nd Ward                                    Bntfl Ut Val Verda Stake               3317 S 800 W                                                       Bountiful, UT 84010                                                                    First Class Mail
Chartered Organization         Lds Val Verda 3Rd Ward                                    Bntfl Ut Val Verda Stake               2651 S 500 W                                                       Bountiful, UT 84010                                                                    First Class Mail
Chartered Organization         Lds Val Verda 4Th Ward                                    Bntfl Ut Val Verda Stake               132 W 2700 S                                                       Bountiful, UT 84010‐6445                                                               First Class Mail
Chartered Organization         Lds Val Verda 5Th Ward                                    Bntfl Ut Val Verda Stake               2633 S 50 W                                                        Bountiful, UT 84010                                                                    First Class Mail
Chartered Organization         Lds Val Verda 6Th Ward                                    Bntfl Ut Val Verda Stake               2651 S 500 W                                                       Bountiful, UT 84010                                                                    First Class Mail
Chartered Organization         Lds Val Verda 8Th Ward                                    Bntfl Ut Val Verda Stake               2651 S 500 W                                                       Bountiful, UT 84010                                                                    First Class Mail
Chartered Organization         Lds Val Verda 9Th Ward                                    Bntfl Ut Val Verda Stake               3317 S 800 W                                                       Bountiful, UT 84010                                                                    First Class Mail
Chartered Organization         Lds Val Vista Ward ‐ Gilbert Az Stk                       Grand Canyon Council 010               230 N Val Vista Dr                                                 Gilbert, AZ 85234                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                Page 240 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                      Filed 01/06/22                           Page 256 of 457
                                                                                                                                                                     Exhibit B
                                                                                                                                                                      Service List
                                                                                                                                                               Served as set forth below

        Description                                                       Name                                                                                     Address                                                                   Email              Method of Service
Chartered Organization         Lds Val Vista Ward ‐ Hemet Stake                         California Inland Empire Council 045   1151 Park Ave                                             San Jacinto, CA 92583‐5767                                  First Class Mail
Chartered Organization         Lds Val Vista Ward ‐ Mesa Az                             Mountain View Stake                    1550 N Val Vista Dr                                       Mesa, AZ 85213‐3216                                         First Class Mail
Chartered Organization         Lds Valdez Branch‐Palmer Stake                           Great Alaska Council 610               P.O. Box 7                                                Valdez, AK 99686‐0007                                       First Class Mail
Chartered Organization         Lds Valdosta Ward Albany Stake                           South Georgia Council 098              2500 Jerry Jones Dr                                       Valdosta, GA 31602‐1250                                     First Class Mail
Chartered Organization         Lds Vale 1St Ward ‐ Nyssa Stk                            Ore‐Ida Council 106 ‐ Bsa 106          135 Yakima St S                                           Vale, OR 97918                                              First Class Mail
Chartered Organization         Lds Vale 2Nd Ward ‐ Nyssa Stk                            Ore‐Ida Council 106 ‐ Bsa 106          135 Yakima St S                                           Vale, OR 97918                                              First Class Mail
Chartered Organization         Lds Valencia Orlando                                     Central Florida Council 083            5449 N Dean Rd                                            Orlando, FL 32817‐3242                                      First Class Mail
Chartered Organization         Lds ‐Valencia Stake                                      Stevenson Ranch Ward                   24443 Mcbean Pkwy                                         Valencia, CA 91355‐1945                                     First Class Mail
Chartered Organization         Lds ‐Valencia Stake‐ Castaic Ward                        W.L.A.C.C. 051                         24443 Mcbean Pkwy                                         Valencia, CA 91355‐1945                                     First Class Mail
Chartered Organization         Lds ‐Valencia Stake‐ Copperhill Ward                     W.L.A.C.C. 051                         27827 Skycrest Cir                                        Valencia, CA 91354‐1409                                     First Class Mail
Chartered Organization         Lds ‐Valencia Stake‐ Newhall 1St Ward                    W.L.A.C.C. 051                         24915 Peachland Ave                                       Newhall, CA 91321‐2515                                      First Class Mail
Chartered Organization         Lds ‐Valencia Stake‐ Newhall 2Nd Ward                    W.L.A.C.C. 051                         24915 Peachland Ave                                       Newhall, CA 91321‐2515                                      First Class Mail
Chartered Organization         Lds ‐Valencia Stake‐ Valencia 1St Ward                   W.L.A.C.C. 051                         24442 Mcbean Pkwy                                         Valencia, CA 91355                                          First Class Mail
Chartered Organization         Lds ‐Valencia Stake‐ Valencia 3Rd Ward                   W.L.A.C.C. 051                         24443 Mcbean Pkwy                                         Valencia, CA 91355‐1945                                     First Class Mail
Chartered Organization         Lds Valencia Ward ‐ Mesa Az                              Citrus Heights Stake                   3344 E Mcdowell Rd                                        Mesa, AZ 85213‐1701                                         First Class Mail
Chartered Organization         Lds Valencia Ward Los Lunas Stake                        Great Swest Council 412                James St & Hwy 85                                         Los Lunas, NM 87031                                         First Class Mail
Chartered Organization         Lds Valle Verde Ward Green Valley Stake                  Las Vegas Area Council 328             1525 Guilford Dr                                          Henderson, NV 89014‐3997                                    First Class Mail
Chartered Organization         Lds Vallejo 1St Ward ‐ Napa Stake                        Mt Diablo‐Silverado Council 023        110 Los Santos Ct                                         Vallejo, CA 94590‐3521                                      First Class Mail
Chartered Organization         Lds Vallejo 2Nd Ward ‐ Napa Stake                        Mt Diablo‐Silverado Council 023        110 Los Santos Ct                                         Vallejo, CA 94590‐3521                                      First Class Mail
Chartered Organization         Lds Valley Center Ward ‐ Wichita Stake                   Quivira Council, Bsa 198               528 W 5Th St                                              Valley Center, KS 67147‐2424                                First Class Mail
Chartered Organization         Lds Valley Crest Ward Skye Canyon Stake                  Las Vegas Area Council 328             9830 Elkhorn Rd                                           Las Vegas, NV 89149‐1914                                    First Class Mail
Chartered Organization         Lds Valley Forge 1St Ward                                Cradle Of Liberty Council 525          2530 Stinson Ln                                           Norristown, PA 19403‐3629                                   First Class Mail
Chartered Organization         Lds Valley Forge 2Nd Ward                                Cradle Of Liberty Council 525          2530 Stinson Ln                                           Norristown, PA 19403‐3629                                   First Class Mail
Chartered Organization         Lds Valley Hills First ( Heber)                          Utah National Parks 591                P.O. Box 104                                              Heber City, UT 84032‐0104                                   First Class Mail
Chartered Organization         Lds Valley Hills Second Ward ( Heber)                    Utah National Parks 591                521 E 500 N                                               Heber City, UT 84032                                        First Class Mail
Chartered Organization         Lds Valley Hi‐Sa Stake                                   Alamo Area Council 583                 9626 Adams Hl                                             San Antonio, TX 78245                                       First Class Mail
Chartered Organization         Lds Valley Park 1St Ward                                 Tville Ut Valley Park Stake            4986 S Valois Dr                                          Taylorsville, UT 84129                                      First Class Mail
Chartered Organization         Lds Valley Park 2Nd Ward                                 Tville Ut Valley Park Stake            5233 S 3200 W                                             Salt Lake City, UT 84129                                    First Class Mail
Chartered Organization         Lds Valley Park 3Rd Ward                                 Tville Ut Valley Park Stake            2603 W 4700 S                                             Taylorsville, UT 84129                                      First Class Mail
Chartered Organization         Lds Valley Park 5Th Ward                                 Tville Ut Valley Park Stake            2603 W 4700 S                                             Taylorsville, UT 84129                                      First Class Mail
Chartered Organization         Lds Valley Park 6Th Ward                                 Tville Ut Valley Park Stake            5233 S 3200 W                                             Taylorsville, UT 84129                                      First Class Mail
Chartered Organization         Lds Valley Ridge Ward                                    Kearns Ut Central Stake                5823 S 4800 W                                             Kearns, UT 84118                                            First Class Mail
Chartered Organization         Lds Valley View 10Th Ward                                S L Valley View Stake                  1747 E Orchard Dr                                         Salt Lake City, UT 84106‐3256                               First Class Mail
Chartered Organization         Lds Valley View 11Th Ward                                S L Holladay N Stake                   1925 E Gunderson Ln                                       Salt Lake City, UT 84124‐2620                               First Class Mail
Chartered Organization         Lds Valley View 12Th Ward                                S L Valley View Stake                  2125 E Evergreen Ave                                      Salt Lake City, UT 84109                                    First Class Mail
Chartered Organization         Lds Valley View 1St Ward                                 S L Valley View Stake                  3820 S 2000 E                                             Salt Lake City, UT 84109                                    First Class Mail
Chartered Organization         Lds Valley View 2Nd Ward                                 S L Holladay N Stake                   4395 S Albright Dr                                        Salt Lake City, UT 84124                                    First Class Mail
Chartered Organization         Lds Valley View 3Rd Ward                                 S L Holladay N Stake                   1925 E Gunderson Ln                                       Salt Lake City, UT 84124‐2620                               First Class Mail
Chartered Organization         Lds Valley View 4Th Ward                                 S L Valley View Stake                  2125 E Evergreen Ave                                      Salt Lake City, UT 84109                                    First Class Mail
Chartered Organization         Lds Valley View 5Th Ward                                 S L Valley View Stake                  2245 E 3900 S                                             Salt Lake City, UT 84124                                    First Class Mail
Chartered Organization         Lds Valley View 6Th Ward                                 S L Valley View Stake                  2245 E 3900 S                                             Salt Lake City, UT 84124                                    First Class Mail
Chartered Organization         Lds Valley View 7Th Ward                                 S L Valley View Stake                  2245 E 3900 S                                             Salt Lake City, UT 84124                                    First Class Mail
Chartered Organization         Lds Valley View 8Th Ward                                 S L Holladay N Stake                   4395 S Albright Dr                                        Holladay, UT 84124                                          First Class Mail
Chartered Organization         Lds Valley View 9Th Ward                                 S L Holladay N Stake                   1925 E Gunderson Ln                                       Salt Lake City, UT 84124‐2620                               First Class Mail
Chartered Organization         Lds Valley View Ward                                     Utah National Parks 591                1985 N Main St                                            Cedar City, UT 84721                                        First Class Mail
Chartered Organization         Lds Valley View Ward                                     Kearns Ut Central Stake                5927 S Park Wood Dr                                       Kearns, UT 84118                                            First Class Mail
Chartered Organization         Lds Valley View Ward                                     S L Hunter S Stake                     5180 W 4700 S                                             Salt Lake City, UT 84120                                    First Class Mail
Chartered Organization         Lds Valley View Ward ‐ Cypress Stake                     Orange County Council 039              4000 Orange Ave                                           Cypress, CA 90630                                           First Class Mail
Chartered Organization         Lds Valley View Ward ‐ Mesa Az                           Citrus Heights Stake                   3344 E Mcdowell Rd                                        Mesa, AZ 85213‐1701                                         First Class Mail
Chartered Organization         Lds Valley View Ward ‐ Moreno Valley Stake               California Inland Empire Council 045   11557 Redlands Blvd                                       Moreno Valley, CA 92555‐6598                                First Class Mail
Chartered Organization         Lds Valley View Ward (Eagle Mountain)                    Utah National Parks 591                9742 N Horizon Dr                                         Eagle Mountain, UT 84005‐6249                               First Class Mail
Chartered Organization         Lds Valley Vista Ward Camarillo Stake                    Ventura County Council 057             1201 Paseo Camarillo                                      Camarillo, CA 93010                                         First Class Mail
Chartered Organization         Lds Valparaiso Ward ‐ Valparaiso Stake                   Lasalle Council 165                    503 Burlington Beach Rd                                   Valparaiso, IN 46383‐1959                                   First Class Mail
Chartered Organization         Lds Valparaiso Ward, Menlo Park Stake                    Pacific Skyline Council 031            1105 Valparaiso Ave                                       Menlo Park, CA 94025‐4412                                   First Class Mail
Chartered Organization         Lds Vancouver 1st Ward Vancouver W Stake                 Cascade Pacific Council 492            4312 Ne 101St St                                          Vancouver, WA 98686‐5840                                    First Class Mail
Chartered Organization         Lds Vancouver North Stake                                Cascade Pacific Council 492            17604 Ne Stoney Meadows Dr                                Vancouver, WA 98682‐5617                                    First Class Mail
Chartered Organization         Lds Vancouver Seventh Ward                               Vancouver W Stake                      2300 Nw 99Th St                                           Vancouver, WA 98665                                         First Class Mail
Chartered Organization         Lds Vancouver Third Ward                                 Vancouver W Stake                      721 Nw 104Th Loop                                         Vancouver, WA 98685‐5242                                    First Class Mail
Chartered Organization         Lds Vashon Island Ward Seattle Stake                     Chief Seattle Council 609              9330 Sw 204Th St                                          Vashon, WA 98070                                            First Class Mail
Chartered Organization         Lds Vegas Valley Ward East Stake                         Las Vegas Area Council 328             4040 E Wyoming Ave                                        Las Vegas, NV 89104‐5236                                    First Class Mail
Chartered Organization         Lds Veneta Ward ‐ Eugene Stake                           Oregon Trail Council 697               88068 Houston Rd                                          Veneta, OR 97487                                            First Class Mail
Chartered Organization         Lds Venice Ward                                          Utah National Parks 591                100 S Main St                                             Venice, UT 84701                                            First Class Mail
Chartered Organization         Lds Venice Ward Bradenton Stake                          Southwest Florida Council 088          3000 E Venice Ave                                         Venice, FL 34292‐2529                                       First Class Mail
Chartered Organization         Lds Ventana Ward West Stake                              Great Swest Council 412                7100 Woodmount Ave Nw                                     Albuquerque, NM 87114‐6188                                  First Class Mail
Chartered Organization         Lds Ventura 1St Ward Ventura Stake                       Ventura County Council 057             3501 Loma Vista Rd                                        Ventura, CA 93003‐3101                                      First Class Mail
Chartered Organization         Lds Verdugo Hills Ward                                   Verdugo Hills Council 058              4550 Raymond Ave                                          La Crescenta, CA 91214‐2917                                 First Class Mail
Chartered Organization         Lds Vernal Eighth Ward                                   Utah National Parks 591                1510 W Hwy 40                                             Vernal, UT 84078                                            First Class Mail
Chartered Organization         Lds Vernal Fifth Ward                                    Utah National Parks 591                1421 N 1500 W                                             Vernal, UT 84078‐8347                                       First Class Mail
Chartered Organization         Lds Vernal First Ward                                    Utah National Parks 591                15 E 100 N                                                Vernal, UT 84078‐2121                                       First Class Mail
Chartered Organization         Lds Vernal Fourth Ward                                   Utah National Parks 591                235 E 600 S                                               Vernal, UT 84078‐3263                                       First Class Mail
Chartered Organization         Lds Vernal Ninth Ward                                    Utah National Parks 591                220 W 250 N                                               Vernal, UT 84078                                            First Class Mail
Chartered Organization         Lds Vernal Seventh Ward                                  Utah National Parks 591                1343 W 50 S                                               Vernal, UT 84078‐2354                                       First Class Mail
Chartered Organization         Lds Vernal Sixth Ward                                    Utah National Parks 591                170 N 1100 W                                              Vernal, UT 84078‐3314                                       First Class Mail
Chartered Organization         Lds Vernal Third Ward                                    Utah National Parks 591                475 W 100 S                                               Vernal, UT 84078‐2545                                       First Class Mail
Chartered Organization         Lds Vernon Ward/Tooele Ut Stk                            Great Salt Lake Council 590            P.O. Box 114                                              Vernon, UT 84080‐0114                                       First Class Mail
Chartered Organization         Lds Vernonia Branch Forest Grove Stake                   Cascade Pacific Council 492            1350 Knott St                                             Vernonia, OR 97064‐9711                                     First Class Mail
Chartered Organization         Lds Vero Beach Ward ‐ Stuart Stake                       Gulf Stream Council 085                3960 12Th St                                              Vero Beach, FL 32960                                        First Class Mail
Chartered Organization         Lds Verona Ward ‐ Meridian Linder Stk                    Ore‐Ida Council 106 ‐ Bsa 106          5764 N Black Sand Ave                                     Meridian, ID 83646‐5637                                     First Class Mail
Chartered Organization         Lds Verrado Ward ‐ Surprise Az West Stk                  Grand Canyon Council 010               19322 W Indian School Rd                                  Litchfield Park, AZ 85340                                   First Class Mail
Chartered Organization         Lds Veterans Park Ward                                   Utah National Parks 591                1125 W 300 N                                              Lehi, UT 84043‐5654                                         First Class Mail
Chartered Organization         Lds Veyo First Ward                                      Utah National Parks 591                176 E Center St                                           Veyo, UT 84782                                              First Class Mail
Chartered Organization         Lds Via Verde Ward ‐ Paradise Valley Az                  Stake                                  3010 E Thunderbird Rd                                     Phoenix, AZ 85032‐5610                                      First Class Mail
Chartered Organization         Lds Vicenza Military Ward                                Transatlantic Council, Bsa 802         Cmr 427 Box 814                                           Apo, AE 09630                                               First Class Mail
Chartered Organization         Lds Vicksburg Ward                                       Andrew Jackson Council 303             6300 Indiana Ave                                          Vicksburg, MS 39180‐5424                                    First Class Mail
Chartered Organization         Lds Victor Falls Ward Enumclaw Stake                     Chief Seattle Council 609              11214 214Th Ave E                                         Bonney Lake, WA 98391                                       First Class Mail
Chartered Organization         Lds Victoria Ward ‐ Bay City Stake                       South Texas Council 577                3408 N Ben Wilson St                                      Victoria, TX 77901‐4497                                     First Class Mail
Chartered Organization         Lds Victoria Ward ‐ Rancho Cucamonga Stake               California Inland Empire Council 045   6829 Etiwanda Ave                                         Rancho Cucamonga, CA 91739‐9713                             First Class Mail
Chartered Organization         Lds Victory View Ward ‐ Boise W Stk                      Ore‐Ida Council 106 ‐ Bsa 106          3700 S Maple Grove Rd                                     Boise, ID 83709‐4132                                        First Class Mail
Chartered Organization         Lds Victory Ward ‐ Mer Victory Stk                       Ore‐Ida Council 106 ‐ Bsa 106          2555 S Stoddard Rd                                        Meridian, ID 83642‐6539                                     First Class Mail
Chartered Organization         Lds Vienna Ward Oakton Stake                             National Capital Area Council 082      2719 Hunter Mill Rd                                       Oakton, VA 22124‐1614                                       First Class Mail
Chartered Organization         Lds Vienna Woods Ward ‐ Mer N Stk                        Ore‐Ida Council 106 ‐ Bsa 106          5555 N Locust Grove Rd                                    Meridian, ID 83646                                          First Class Mail
Chartered Organization         Lds Viera Cocoa                                          Central Florida Council 083            5937 Indigo Crossing Dr                                   Rockledge, FL 32955‐6020                                    First Class Mail
Chartered Organization         Lds View Pointe                                          Utah National Parks 591                11162 N Alpine Hwy                                        Highland, UT 84003                                          First Class Mail
Chartered Organization         Lds View Ridge Ward Everett Stake                        Mount Baker Council, Bsa 606           110 50Th St Sw                                            Everett, WA 98203‐3152                                      First Class Mail
Chartered Organization         Lds Viewpoint Ward ‐ Mesa Az                             Salt River Stake                       5620 E Adobe Rd                                           Mesa, AZ 85205                                              First Class Mail
Chartered Organization         Lds Villa Bonita Ward Paradise Stake                     Las Vegas Area Council 328             3901 E Viking Rd                                          Las Vegas, NV 89121‐4806                                    First Class Mail
Chartered Organization         Lds Villa De Paz Ward ‐ Phoenix Az                       W Maricopa Stake                       10930 W Garden Lakes Pkwy                                 Avondale, AZ 85392                                          First Class Mail
Chartered Organization         Lds Village Stake Okc Ward                               Last Frontier Council 480              5020 Nw 63Rd St                                           Oklahoma City, OK 73132‐7723                                First Class Mail
Chartered Organization         Lds Village Ward ‐ Apple Valley Stake                    California Inland Empire Council 045   12242 Navajo Rd                                           Apple Valley, CA 92308‐7249                                 First Class Mail
Chartered Organization         Lds Vincennes Evansville In                              Buffalo Trace 156                      1984 N Old Hwy 41                                         Vincennes, IN 47591‐8925                                    First Class Mail
Chartered Organization         Lds Vincenz Ward ‐ Gilbert Az                            Williams Field Stake                   2700 E Galveston St                                       Gilbert, AZ 85529                                           First Class Mail
Chartered Organization         Lds Vineland Ward Cherry Hill Nj Stake                   Garden State Council 690               110 Highland Ave                                          Vineland, NJ 08361‐7817                                     First Class Mail
Chartered Organization         Lds Vineyard 9Th Ward                                    Utah National Parks 591                605 S 1810 W                                              Orem, UT 84059‐4969                                         First Class Mail
Chartered Organization         Lds Vineyard Eighth Ward                                 Utah National Parks 591                General Delivery                                          Vineyard, UT 84057                                          First Class Mail
Chartered Organization         Lds Vineyard Fifth Ward                                  Utah National Parks 591                1810 Springwater Dr                                       Orem, UT 84059                                              First Class Mail
Chartered Organization         Lds Vineyard First Ward                                  Utah National Parks 591                323 W Shoreline Ct                                        Vineyard, UT 84059‐5112                                     First Class Mail
Chartered Organization         Lds Vineyard Fourth Ward                                 Utah National Parks 591                1206 S 1680 W                                             Orem, UT 84058‐4938                                         First Class Mail
Chartered Organization         Lds Vineyard Hills Ward ‐ Livermore Stake                San Francisco Bay Area Council 028     950 Mocho St                                              Livermore, CA 94550                                         First Class Mail
Chartered Organization         Lds Vineyard Second Ward                                 Utah National Parks 591                1496 W 650 S                                              Orem, UT 84058‐4107                                         First Class Mail
Chartered Organization         Lds Vineyard Seventh Ward                                Utah National Parks 591                513 S 1920 W                                              Orem, UT 84059‐4005                                         First Class Mail
Chartered Organization         Lds Vineyard Sixth Ward                                  Utah National Parks 591                504 S Lake View Dr                                        Vineyard, UT 84059‐5513                                     First Class Mail
Chartered Organization         Lds Vineyard Tenth Ward                                  Utah National Parks 591                1160 W 400 S                                              Orem, UT 84058                                              First Class Mail
Chartered Organization         Lds Vineyard Third Ward (Spanish)                        Utah National Parks 591                1105 W 600 S                                              Orem, UT 84058                                              First Class Mail
Chartered Organization         Lds Vineyard Ward ‐ Mesa Az Maricopa Stk                 Grand Canyon Council 010               1054 W 2Nd Pl                                             Mesa, AZ 85201‐6307                                         First Class Mail
Chartered Organization         Lds Vineyard Ward ‐ Phoenix Az                           South Mountain Stake                   650 W Sern                                                Phoenix, AZ 85041                                           First Class Mail
Chartered Organization         Lds Vineyard Ward ‐ Stv Az North Stk                     Grand Canyon Council 010               1150 W Combs Rd                                           San Tan Valley, AZ 85140‐9110                               First Class Mail
Chartered Organization         Lds Vineyard Ward Elk Grove Stake                        Golden Empire Council 047              8925 Vintage Park Dr                                      Sacramento, CA 95829‐1612                                   First Class Mail
Chartered Organization         Lds Vint Hill Ward Gainesville Stake                     National Capital Area Council 082      14015 Glenkirk Rd                                         Gainesville, VA 20155                                       First Class Mail
Chartered Organization         Lds Vintage Hills Ward                                   Sparks West Stake                      2955 Rock Blvd                                            Sparks, NV 89431‐1859                                       First Class Mail
Chartered Organization         Lds Vintage Ranch Ward ‐ Gilbert Az                      Greenfield Stake                       2740 S Lindsay Rd                                         Gilbert, AZ 85295                                           First Class Mail
Chartered Organization         Lds Virden Ward ‐ Duncan Stake                           Grand Canyon Council 010               P.O. Box 955                                              Duncan, AZ 85534‐0955                                       First Class Mail
Chartered Organization         Lds Virgin Ward                                          Utah National Parks 591                37 N Mill St                                              Virgin, UT 84779                                            First Class Mail
Chartered Organization         Lds Virginia Ward Lb Stake                               Long Beach Area Council 032            3114 E South St                                           Lakewood, CA 90805‐3743                                     First Class Mail
Chartered Organization         Lds Vista ‐ Fallbrook 1St Ward                           San Diego Imperial Council 049         621 S Stage Coach Ln                                      Fallbrook, CA 92028‐3648                                    First Class Mail
Chartered Organization         Lds Vista ‐ Fallbrook 2Nd Ward                           San Diego Imperial Council 049         621 S Stage Coach Ln                                      Fallbrook, CA 92028‐3648                                    First Class Mail
Chartered Organization         Lds Vista ‐ Fallbrook 5Th Ward                           San Diego Imperial Council 049         451 W Bobier Dr                                           Vista, CA 92083‐1906                                        First Class Mail
Chartered Organization         Lds Vista ‐ Vista 10Th Ward                              San Diego Imperial Council 049         1545 S Melrose Dr                                         Vista, CA 92081                                             First Class Mail
Chartered Organization         Lds Vista ‐ Vista 1St Ward                               San Diego Imperial Council 049         451 W Bobier Dr                                           Vista, CA 92083‐1906                                        First Class Mail
Chartered Organization         Lds Vista ‐ Vista 3Rd Ward                               San Diego Imperial Council 049         1393 Sunset Dr                                            Vista, CA 92081‐6528                                        First Class Mail
Chartered Organization         Lds Vista ‐ Vista 4Th (Sp) Ward                          San Diego Imperial Council 049         1310 Foothill Dr                                          Vista, CA 92084‐4048                                        First Class Mail
Chartered Organization         Lds Vista ‐ Vista 5Th Ward                               San Diego Imperial Council 049         1545 S Melrose Dr                                         Vista, CA 92081                                             First Class Mail
Chartered Organization         Lds Vista ‐ Vista 8Th Ward                               San Diego Imperial Council 049         451 W Bobier Dr                                           Vista, CA 92083‐1906                                        First Class Mail
Chartered Organization         Lds Vista ‐ Vista 9Th Ward                               San Diego Imperial Council 049         451 E Bobier Dr                                           Vista, CA 92084                                             First Class Mail
Chartered Organization         Lds Vista Peaks Ward ‐ Mesa Az                           Red Mountain Stake                     5350 E Mclellan Rd                                        Mesa, AZ 85205‐3410                                         First Class Mail
Chartered Organization         Lds Vista Ridge Ward, Round Rock Stake                   Capitol Area Council 564               10128 Palmbrook Dr                                        Austin, TX 78717‐3995                                       First Class Mail
Chartered Organization         Lds Vista View Ward                                      North Salt Lake Utah Stake             900 Eaglepointe Dr                                        North Salt Lake, UT 84054                                   First Class Mail
Chartered Organization         Lds Vly Ranch Ward ‐ San Antonio W Stake                 Alamo Area Council 583                 13130 Waterlily Way                                       San Antonio, TX 78254‐6296                                  First Class Mail
Chartered Organization         Lds Vly Vista Ward Lone Mtn Stake                        Las Vegas Area Council 328             10070 Azure Dr                                            Las Vegas, NV 89149‐1382                                    First Class Mail
Chartered Organization         Lds Volcano Cliffs Ward Abq West Stake                   Great Swest Council 412                7100 Woodmount Ave Nw                                     Albuquerque, NM 87114‐6188                                  First Class Mail
Chartered Organization         Lds Volta Ward (Samoan)                                  Sl Granger S Stake                     4006 S 3600 W                                             West Valley, UT 84119‐4242                                  First Class Mail
Chartered Organization         Lds Voyager Ward ‐ Gilbert Az                            Val Vista Stake                        1005 N Voyager Dr                                         Gilbert, AZ 85234                                           First Class Mail
Chartered Organization         Lds W Bridgewater 3Rd Ward Hingham Stake                 Mayflower Council 251                  547 Manley St                                             West Bridgewater, MA 02379‐1002                             First Class Mail
Chartered Organization         Lds W Chester Ward Cincinnati N Stake                    Dan Beard Council, Bsa 438             7118 Dutchland Pkwy                                       Liberty Township, OH 45044‐9096                             First Class Mail
Chartered Organization         Lds W Chester Ward, Vly Forge Pa Stake                   Chester County Council 539             1443 Telegraph Rd                                         West Chester, PA 19380‐1620                                 First Class Mail
Chartered Organization         Lds W J 8Th (Tongan) Ward                                Sl Ut S (Tongan) Stake                 8435 S 2700 W                                             West Jordan, UT 84088                                       First Class Mail
Chartered Organization         Lds W Oquendo Ward Spg Mtn Stake                         Las Vegas Area Council 328             7885 W Robindale Rd                                       Las Vegas, NV 89113‐4054                                    First Class Mail
Chartered Organization         Lds Wabash Ward/Bloomington Stake                        Crossroads Of America 160              1845 N 6Th 1/2 St                                         Terre Haute, IN 47804‐2720                                  First Class Mail
Chartered Organization         Lds Waddell Ward ‐ Surprise Az West Stk                  Grand Canyon Council 010               14111 W Wigwam Blvd                                       Litchfield, AZ 85340                                        First Class Mail
Chartered Organization         Lds Wadsworth Ward ‐ Akron Stake                         Great Trail 433                        7176 Harps Mill Dr                                        Wadsworth, OH 44281‐8191                                    First Class Mail
Chartered Organization         Lds Wagon Trail Ward                                     Utah National Parks 591                2015 N Wedgewood Ln                                       Cedar City, UT 84721‐9731                                   First Class Mail
Chartered Organization         Lds Wagon Wheel Ward ‐ White Mountain Az                 Stake                                  2613 Ellsworth Ave                                        Show Low, AZ 85901‐8019                                     First Class Mail
Chartered Organization         Lds Wahiawa 2Nd Ward ‐ Mililani Stake                    Aloha Council, Bsa 104                 44 Leilehua Rd                                            Wahiawa, HI 96786‐2828                                      First Class Mail
Chartered Organization         Lds Wahiawa 3Rd Ward‐ Mililani Stake                     Aloha Council, Bsa 104                 44 Leilehua Rd                                            Wahiawa, HI 96786‐2828                                      First Class Mail
Chartered Organization         Lds Wahluke Ward/Othello Stake                           Grand Columbia Council 614             10490 Rd 24 Sw                                            Mattawa, WA 99349                                           First Class Mail
Chartered Organization         Lds Waialua Ward ‐ Mililani Stake                        Aloha Council, Bsa 104                 66‐847 Kaukonahua Rd                                      Waialua, HI 96791‐9706                                      First Class Mail
Chartered Organization         Lds Waianae Ward ‐ Makakilo Stake                        Aloha Council, Bsa 104                 85‐574 Plantation Rd                                      Waianae, HI 96792‐2660                                      First Class Mail
Chartered Organization         Lds Waiehu Ward, Kahului Hi Stake                        Aloha Council, Bsa 104                 Lono Ave                                                  Kahului, HI 96732                                           First Class Mail
Chartered Organization         Lds Waiehu Ward, Kahului Hi Stake                        Aloha Council, Bsa 104                 125 W Kamehameha Ave                                      Kahului, HI 96732‐2237                                      First Class Mail
Chartered Organization         Lds Waikahe Ward ‐ Hilo Hawaii Stake                     Aloha Council, Bsa 104                 P.O. Box 1837                                             Keaau, HI 96749‐1837                                        First Class Mail
Chartered Organization         Lds Waikoloa Ward ‐ Kona Coast Stake                     Aloha Council, Bsa 104                 P.O. Box 385278                                           Waikoloa, HI 96738‐0278                                     First Class Mail
Chartered Organization         Lds Wailuku Ward, Kahului Hi Stake                       Aloha Council, Bsa 104                 1300 Mauilani Pkwy                                        Kahului, HI 96732                                           First Class Mail
Chartered Organization         Lds Waimanalo Ward ‐ Kaneohe Stake                       Aloha Council, Bsa 104                 41‐972 Oluolu St                                          Waimanalo, HI 96795‐1521                                    First Class Mail
Chartered Organization         Lds Waimea 1St Ward ‐ Kona Stake                         Aloha Council, Bsa 104                 P.O. Box 2988                                             Kamuela, HI 96743‐2988                                      First Class Mail
Chartered Organization         Lds Waimea 2Nd Ward ‐ Kona Stake                         Aloha Council, Bsa 104                 P.O. Box 2781                                             Kamuela, HI 96743‐2781                                      First Class Mail
Chartered Organization         Lds Waipahu 1St Ward ‐ Waipahu Stake                     Aloha Council, Bsa 104                 94‐494 Farrington Hwy Apt 301                             Waipahu, HI 96797‐2637                                      First Class Mail
Chartered Organization         Lds Waipahu 2Nd Ward ‐ Waipahu Stake                     Aloha Council, Bsa 104                 94‐210 Kahualii St                                        Waipahu, HI 96797                                           First Class Mail
Chartered Organization         Lds Waipahu 3Rd Ward ‐ Waipahu Stake                     Aloha Council, Bsa 104                 94‐210 Kahualii St                                        Waipahu, HI 96797                                           First Class Mail
Chartered Organization         Lds Waipiolani Ward ‐ Mililani Stake                     Aloha Council, Bsa 104                 95‐1039 Meheula Pkwy                                      Mililani, HI 96789                                          First Class Mail
Chartered Organization         Lds Wakefield Ward Annandale Stake                       National Capital Area Council 082      4911 Ox Rd                                                Fairfax, VA 22030‐4512                                      First Class Mail
Chartered Organization         Lds Waldport Ward ‐ Corvallis Stake                      Oregon Trail Council 697               190 Sw Newton Dr                                          Waldport, OR 97394‐9153                                     First Class Mail
Chartered Organization         Lds Wales Ward ‐ Milwaukee South Stake                   Potawatomi Area Council 651            115 N Wales Rd                                            Wales, WI 53183                                             First Class Mail
Chartered Organization         Lds Walkersville Ward Frederick Stake                    National Capital Area Council 082      1811 Latham Dr                                            Frederick, MD 21701‐9394                                    First Class Mail
Chartered Organization         Lds Walla Walla 1St Ward                                 Walla Walla Stake                      1821 S 2Nd Ave                                            Walla Walla, WA 99362‐4506                                  First Class Mail
Chartered Organization         Lds Walla Walla 2Nd Ward                                 Walla Walla Stake                      1821 S 2Nd Ave                                            Walla Walla, WA 99362‐4506                                  First Class Mail
Chartered Organization         Lds Walla Walla 3Rd Ward                                 Walla Walla Stake                      1821 S 2Nd Ave                                            Walla Walla, WA 99362‐4506                                  First Class Mail
Chartered Organization         Lds Walled Lake Ward                                     Bloomfield Hills Stake                 33900 W 13 Mile Rd                                        Farmington Hills, MI 48331‐2266                             First Class Mail
Chartered Organization         Lds Wallsburg First Ward                                 Utah National Parks 591                494 W Main Canyon Rd                                      Wallsburg, UT 84082‐9790                                    First Class Mail
Chartered Organization         Lds Wallsburg Second Ward                                Utah National Parks 591                2045 E Main Canyon Rd                                     Wallsburg, UT 84082‐9741                                    First Class Mail
Chartered Organization         Lds Walnut Canyon Ward                                   Ventura County Council 057             15351 E Benwood Dr                                        Moorpark, CA 93021                                          First Class Mail
Chartered Organization         Lds Walnut Canyon Ward ‐ Flagstaff Az                    East Stake                             625 E Cherry Ave                                          Flagstaff, AZ 86001‐4732                                    First Class Mail
Chartered Organization         Lds Walnut Creek 2Nd Ward Oakland St                     Mt Diablo‐Silverado Council 023        2369 Overlook Dr                                          Walnut Creek, CA 94597‐3538                                 First Class Mail
Chartered Organization         Lds Walnut Creek Branch Papillion Stake                  Mid‐America Council 326                2220 Big Sky Dr                                           Papillion, NE 68046‐3287                                    First Class Mail
Chartered Organization         Lds Walnut Creek Ward,Austin Stake                       Capitol Area Council 564               1000 Rutherford Ln                                        Austin, TX 78753‐6707                                       First Class Mail
Chartered Organization         Lds Walnut Grove Ward                                    Syracuse South Stake                   535 W 2700 S                                              Syracuse, UT 84075                                          First Class Mail
Chartered Organization         Lds Walnut Grove Ward ‐ Memphis Stake                    Chickasaw Council 558                  8150 Walnut Grove Rd                                      Cordova, TN 38018‐7269                                      First Class Mail
Chartered Organization         Lds Walnut Grove Ward Vancouver N Stake                  Cascade Pacific Council 492            14219 Ne 49Th St                                          Vancouver, WA 98682                                         First Class Mail
Chartered Organization         Lds Walnut Hills 2Nd Ward                                Kearns Ut W Stake                      5938 W 6200 S                                             Salt Lake City, UT 84118                                    First Class Mail
Chartered Organization         Lds Walnut Park Ward ‐ Chino Stake                       California Inland Empire Council 045   4321 Philadelphia St                                      Chino, CA 91710‐2259                                        First Class Mail
Chartered Organization         Lds Walsenburg Branch, Pueblo Stake                      Rocky Mountain Council 063             P.O. Box 346                                              Walsenburg, CO 81089‐0346                                   First Class Mail
Chartered Organization         Lds Walsh Ranch Ward, Round Rock Stake                   Capitol Area Council 564               3813 Sky Ln                                               Round Rock, TX 78681‐2356                                   First Class Mail
Chartered Organization         Lds Walters Hill Ward                                    Mt Hood Oregon Stake                   12300 Se 312Th Ave                                        Boring, OR 97009                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                      Page 241 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                              Filed 01/06/22                                                    Page 257 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                       Name                                                                                             Address                                                                                                    Email              Method of Service
Chartered Organization         Lds Wandamere Ward/South Salt Lake Stk                   Great Salt Lake Council 590            304 E 2700 S                                                      Salt Lake City, UT 84115                                                                     First Class Mail
Chartered Organization         Lds Wanderwood Ward                                      Sandy Ut Crescent Stake                2135 E Pepperwood Dr                                              Sandy, UT 84092                                                                              First Class Mail
Chartered Organization         Lds Wanship Ward/Coalville Ut Stk                        Great Salt Lake Council 590            31000 Old Lincoln Hwy                                             Wanship, UT 84017‐9615                                                                       First Class Mail
Chartered Organization         Lds Ward                                                 Tuscarora Council 424                  130 Mormon Church Rd                                              Mount Olive, NC 28365                                                                        First Class Mail
Chartered Organization         Lds Ward ‐ Elgin                                         Indian Waters Council 553              34 Chestnut Ferry Rd                                              Camden, SC 29020‐2074                                                                        First Class Mail
Chartered Organization         Lds Ward 044059 Goldsboro, Nc Stake                      Tuscarora Council 424                  Goldsboro I Ward                                                  Goldsboro, NC 27530                                                                          First Class Mail
Chartered Organization         Lds Ward 045497                                          Tuscarora Council 424                  4224 Nc Hwy 111 S                                                 Seven Springs, NC 28578‐8864                                                                 First Class Mail
Chartered Organization         Lds Ward 1‐ Rockford Stake                               Blackhawk Area 660                     620 N Alpine Rd                                                   Rockford, IL 61107‐4908                                                                      First Class Mail
Chartered Organization         Lds Ward 1, Iowa City, Ia Stake                          Hawkeye Area Council 172               570 Dublin Dr                                                     Iowa City, IA 52246                                                                          First Class Mail
Chartered Organization         Lds Ward 1‐Rockford Stake                                Blackhawk Area 660                     620 N Alpine Rd                                                   Rockford, IL 61107‐4908                                                                      First Class Mail
Chartered Organization         Lds Ward 2, Iowa City, Ia Stake                          Hawkeye Area Council 172               570 Dublin Dr                                                     Iowa City, IA 52246                                                                          First Class Mail
Chartered Organization         Lds Ward 4, Iowa City, Ia Stake                          Hawkeye Area Council 172               2730 Bradford Dr                                                  Iowa City, IA 52240‐2550                                                                     First Class Mail
Chartered Organization         Lds Ward Canyon Ward                                     Bntfl Ut Heights Stake                 540 N 1200 E                                                      Bountiful, UT 84010                                                                          First Class Mail
Chartered Organization         Lds Ward Canyon West                                     South Plains Council 694               4509 21St St                                                      Lubbock, TX 79407‐2512                                                                       First Class Mail
Chartered Organization         Lds Warden 1St Ward/Othello Stake                        Grand Columbia Council 614             8151 Rd S Se                                                      Warden, WA 98857‐9786                                                                        First Class Mail
Chartered Organization         Lds Warm Springs Ward                                    Utah National Parks 591                971 N Rolling Hills Rd                                            Washington, UT 84780‐8320                                                                    First Class Mail
Chartered Organization         Lds Warm Springs Ward Warm Springs Stake                 Las Vegas Area Council 328             7670 S Bruce St                                                   Las Vegas, NV 89123‐1523                                                                     First Class Mail
Chartered Organization         Lds Warner Robins 2Nd Ward                               Central Georgia Council 096            200 Draper St                                                     Warner Robins, GA 31088‐4146                                                                 First Class Mail
Chartered Organization         Lds Warner Robins First Ward                             Central Georgia Council 096            200 Draper St                                                     Warner Robins, GA 31088‐4146                                                                 First Class Mail
Chartered Organization         Lds Warren Ward Youngstown Stake                         Great Trail 433                        1321 State Rd Nw                                                  Warren, OH 44481‐9179                                                                        First Class Mail
Chartered Organization         Lds Warrensburg Ward Warrensburg Stake                   Heart Of America Council 307           1515 Dd Hwy                                                       Warrensburg, MO 64093                                                                        First Class Mail
Chartered Organization         Lds Warrenton 1 Ward Gainesville Stake                   National Capital Area Council 082      585 Fauquier Rd                                                   Warrenton, VA 20186                                                                          First Class Mail
Chartered Organization         Lds Warrenton 2 Ward Gainesville Stake                   National Capital Area Council 082      585 Fauquier Rd                                                   Warrenton, VA 20186                                                                          First Class Mail
Chartered Organization         Lds Warrenton Ward ‐ North County Stake                  Greater St Louis Area Council 312      Hwy 47 N                                                          Warrenton, MO 63383                                                                          First Class Mail
Chartered Organization         Lds Warrenton Ward ‐ North County Stake                  Greater St Louis Area Council 312      Hwy 47 N                                                          Warrenton, MO 63383                                                                          First Class Mail
Chartered Organization         Lds Warrenton Ward 1 Gainesville Stake                   National Capital Area Council 082      585 Fauquier Rd                                                   Warrenton, VA 20186                                                                          First Class Mail
Chartered Organization         Lds Warrenton Ward Rainier Stake                         Cascade Pacific Council 492            33061 Douglas Ln                                                  Warrenton, OR 97146‐7279                                                                     First Class Mail
Chartered Organization         Lds Warsaw Ward, South Bend Stake                        Anthony Wayne Area 157                 2907 Hilltop Cir                                                  Winona Lake, IN 46590‐2075                                                                   First Class Mail
Chartered Organization         Lds Wasatch 2Nd Ward                                     Salt Lake Wasatch Stake                2895 E Creek Rd                                                   Cottonwood Heights, UT 84093                                                                 First Class Mail
Chartered Organization         Lds Wasatch 3Rd Ward/S L Wasatch Stk                     Great Salt Lake Council 590            8170 S Shorthills Dr                                              Cottonwood Heights, UT 84121‐5854                                                            First Class Mail
Chartered Organization         Lds Wasatch 4Th Ward/S L Wasatch Stk                     Great Salt Lake Council 590            8170 S Shorthills Dr                                              Salt Lake City, UT 84121‐5854                                                                First Class Mail
Chartered Organization         Lds Wasatch 5Th Ward/S L Wasatch Stk                     Great Salt Lake Council 590            8100 S Top Of The World Dr                                        Salt Lake City, UT 84121‐5923                                                                First Class Mail
Chartered Organization         Lds Wasatch 6Th Ward/S L Wasatch Stk                     Great Salt Lake Council 590            3625 E Doverhill Dr                                               Salt Lake City, UT 84121                                                                     First Class Mail
Chartered Organization         Lds Wasatch Hills Ward                                   Sl Monument Pk Stake                   2255 Wasatch Dr                                                   Salt Lake City, UT 84109                                                                     First Class Mail
Chartered Organization         Lds Wasatch Mountain Ward                                Utah National Parks 591                165 N Center St                                                   Midway, UT 84049                                                                             First Class Mail
Chartered Organization         Lds Wasatch Ward/S L Hillside Stk                        Great Salt Lake Council 590            1750 S 1500 E                                                     Salt Lake City, UT 84105                                                                     First Class Mail
Chartered Organization         Lds Wasco Branch, Bakersfield Stake                      Southern Sierra Council 030            2309 9Th Pl                                                       Wasco, CA 93280                                                                              First Class Mail
Chartered Organization         Lds Washburn Ward Lone Mountain Stake                    Las Vegas Area Council 328             3300 N Buffalo Dr                                                 Las Vegas, NV 89129‐6282                                                                     First Class Mail
Chartered Organization         Lds Washington Ave Ward Sunrise Stake                    Las Vegas Area Council 328             1001 N Christy Ln                                                 Las Vegas, NV 89110‐2531                                                                     First Class Mail
Chartered Organization         Lds Washington Branch, Iowa City,Ia Stk                  Hawkeye Area Council 172               1202 N Iowa Ave                                                   Washington, IA 52353‐2648                                                                    First Class Mail
Chartered Organization         Lds Washington Dc Asl Br Suitland Stake                  National Capital Area Council 082      10329 Tamarack Dr                                                 Vienna, VA 22182                                                                             First Class Mail
Chartered Organization         Lds Washington Eighth Ward                               Utah National Parks 591                754 Cherry Cir                                                    Washington, UT 84780‐2327                                                                    First Class Mail
Chartered Organization         Lds Washington Eleventh Ward                             Utah National Parks 591                516 N Scenic Dr W                                                 Washington, UT 84780‐1790                                                                    First Class Mail
Chartered Organization         Lds Washington Fields Eighth                             Utah National Parks 591                1295 S 3000 E                                                     St George, UT 84790                                                                          First Class Mail
Chartered Organization         Lds Washington Fields Eleventh Ward                      Utah National Parks 591                2720 S Washington Fields Rd                                       Washington, UT 84780                                                                         First Class Mail
Chartered Organization         Lds Washington Fields Fifth Ward                         Utah National Parks 591                1548 S 535 E                                                      Washington, UT 84780‐8183                                                                    First Class Mail
Chartered Organization         Lds Washington Fields First Ward                         Utah National Parks 591                1867 S Washington Fields Rd                                       Washington, UT 84780                                                                         First Class Mail
Chartered Organization         Lds Washington Fields Fourteenth Ward                    Utah National Parks 591                934 E Outlaw Gulch                                                Washington, UT 84780‐2456                                                                    First Class Mail
Chartered Organization         Lds Washington Fields Fourth Ward                        Utah National Parks 591                2759 E 1400 S                                                     St George, UT 84790‐6125                                                                     First Class Mail
Chartered Organization         Lds Washington Fields Ninth Ward                         Utah National Parks 591                628 S 3000 E                                                      St George, UT 84790                                                                          First Class Mail
Chartered Organization         Lds Washington Fields Second Ward                        Utah National Parks 591                1295 S 3000 E.                                                    St George, UT 84790                                                                          First Class Mail
Chartered Organization         Lds Washington Fields Seventh Ward                       Utah National Parks 591                1867 S Washington Fields Rd                                       Washington, UT 84780                                                                         First Class Mail
Chartered Organization         Lds Washington Fields Sixteenth Ward                     Utah National Parks 591                178 E Sky View Ln                                                 Washington, UT 84780‐2748                                                                    First Class Mail
Chartered Organization         Lds Washington Fields Sixth Ward                         Utah National Parks 591                1867 S Washington Fields Rd                                       Washington, UT 84780                                                                         First Class Mail
Chartered Organization         Lds Washington Fields Tenth Ward                         Utah National Parks 591                2375 Coletero Cir                                                 Washington, UT 84780‐8110                                                                    First Class Mail
Chartered Organization         Lds Washington Fields Third Ward                         (We Stake)                             1835 Washington Fields Rd                                         Washington, UT 84780                                                                         First Class Mail
Chartered Organization         Lds Washington Fields Thirteenth Ward                    Utah National Parks 591                61 W 1785 S                                                       Washington, UT 84780‐8267                                                                    First Class Mail
Chartered Organization         Lds Washington Fields Twelfth Ward                       Utah National Parks 591                489 E Stanley Cir                                                 Washington, UT 84780‐2150                                                                    First Class Mail
Chartered Organization         Lds Washington Fifth Ward                                Utah National Parks 591                446 E Mangum Rd                                                   Washington, UT 84780‐1798                                                                    First Class Mail
Chartered Organization         Lds Washington First Ward                                Utah National Parks 591                82 N Main St                                                      Washington, UT 84780                                                                         First Class Mail
Chartered Organization         Lds Washington Fourth Ward                               Utah National Parks 591                82 N Main St                                                      Washington, UT 84780                                                                         First Class Mail
Chartered Organization         Lds Washington Ninth Ward                                Utah National Parks 591                193 E Legends Ln                                                  Washington, UT 84780‐2945                                                                    First Class Mail
Chartered Organization         Lds Washington Seventh Ward                              Utah National Parks 591                245 W 100 S                                                       Washington, UT 84780‐1557                                                                    First Class Mail
Chartered Organization         Lds Washington Third Ward                                Utah National Parks 591                700 E Telegraph St                                                Washington, UT 84780                                                                         First Class Mail
Chartered Organization         Lds Washington Ward ‐ St Louis Stake                     Greater St Louis Area Council 312      110 E 14Th St                                                     Washington, MO 63090‐4528                                                                    First Class Mail
Chartered Organization         Lds Washoe Valley Ward ‐ Mt Rose Stake                   Nevada Area Council 329                440 Mcclellan Dr                                                  Carson City, NV 89704‐9085                                                                   First Class Mail
Chartered Organization         Lds Washougal River Ward                                 Vancouver E Stake                      3907 Q St                                                         Washougal, WA 98671                                                                          First Class Mail
Chartered Organization         Lds Wasilla Alaska Stake                                 Great Alaska Council 610               868 W Moose Park Dr                                               Wasilla, AK 99654‐1002                                                                       First Class Mail
Chartered Organization         Lds Wasilla Ward ‐ Wasilla Stake                         Great Alaska Council 610               P.O. Box 871607                                                   Wasilla, AK 99687‐1607                                                                       First Class Mail
Chartered Organization         Lds Watauga Ward                                         Sequoyah Council 713                   211 Mayflower Rd                                                  Johnson City, TN 37601                                                                       First Class Mail
Chartered Organization         Lds Watauga Ward ‐ Hurst Stake                           Longhorn Council 662                   2001 Willis Ln                                                    Keller, TX 76248                                                                             First Class Mail
Chartered Organization         Lds Waterfall Canyon Ward                                Ogden East Stake                       3254 Polk Ave                                                     Ogden, UT 84403                                                                              First Class Mail
Chartered Organization         Lds Waterfall Ward Shadow Mountain Stake                 Las Vegas Area Council 328             6051 Dorrell Ln                                                   Las Vegas, NV 89131‐3001                                                                     First Class Mail
Chartered Organization         Lds Waterford Lakes Hunters Creek                        Central Florida Council 083            1375 Woodbury Rd                                                  Orlando, FL 32828‐6082                                                                       First Class Mail
Chartered Organization         Lds Waterloo                                             Greater St Louis Area Council 312      900 Park St                                                       Waterloo, IL 62298‐1842                                                                      First Class Mail
Chartered Organization         Lds Waterloo Ward                                        Salt Lake Liberty Stake                1623 S 500 E                                                      Salt Lake City, UT 84105                                                                     First Class Mail
Chartered Organization         Lds Waterloo Ward ‐ Cedar Rapids, Ia                     Winnebago Council, Bsa 173             3006 Pleasant Dr                                                  Cedar Falls, IA 50613                                                                        First Class Mail
Chartered Organization         Lds Waterloo Ward ‐ Cedar Rapids, Ia                     Winnebago Council, Bsa 173             729 Hammond Ave                                                   Waterloo, IA 50702‐2346                                                                      First Class Mail
Chartered Organization         Lds Waterman Ward ‐ S B Stake                            California Inland Empire Council 045   3860 N Waterman Ave                                               San Bernardino, CA 92404‐1739                                                                First Class Mail
Chartered Organization         Lds Waterman Ward Elk Grove Stake                        Golden Empire Council 047              8697 Elk Grove Blvd                                               Elk Grove, CA 95624                                                                          First Class Mail
Chartered Organization         Lds Watertown Ward Utica Ny Stake                        Longhouse Council 373                  20020 County Rte 65                                               Watertown, NY 13601‐4907                                                                     First Class Mail
Chartered Organization         Lds Watsonville Ward ‐ Santa Cruz Stake                  Silicon Valley Monterey Bay 055        255 Holm Rd                                                       Watsonville, CA 95076‐2447                                                                   First Class Mail
Chartered Organization         Lds Waukesha Ward Milwaukee North Stake                  Potawatomi Area Council 651            115 N Wales Rd                                                    Wales, WI 53183                                                                              First Class Mail
Chartered Organization         Lds Wauseon Ward Toledo Ohio Stake                       Black Swamp Area Council 449           858 S Shoop Ave                                                   Wauseon, OH 43567‐1728                                                                       First Class Mail
Chartered Organization         Lds Waycross 1St Ward Kingsland Stake                    Coastal Georgia Council 099            2095 Central Ave                                                  Waycross, GA 31503                                                                           First Class Mail
Chartered Organization         Lds Waycross 2Nd Ward Kingsland Stake                    Coastal Georgia Council 099            2905 Central Ave                                                  Waycross, GA 31503                                                                           First Class Mail
Chartered Organization         Lds Wchester Ward ‐ Anchorage N Stake                    Great Alaska Council 610               3310 W 40Th Ave                                                   Anchorage, AK 99517                                                                          First Class Mail
Chartered Organization         Lds Weatherford Ward ‐ Weatherford Stake                 Longhorn Council 662                   2251 Bethel Rd                                                    Weatherford, TX 76087                                                                        First Class Mail
Chartered Organization         Lds Weaver Lane Ward                                     Layton South Stake                     2120 W Gentile St                                                 Layton, UT 84041                                                                             First Class Mail
Chartered Organization         Lds Webb City Ward ‐ Joplin Stake                        Ozark Trails Council 306               1338 E Fairview Ave                                               Carthage, MO 64836‐3124                                                                      First Class Mail
Chartered Organization         Lds Webb Lane Ward                                       Kaysville West Stake                   1035 S Angel St                                                   Kaysville, UT 84037                                                                          First Class Mail
Chartered Organization         Lds Weber Area S Special Needs Scouts                    Trapper Trails 589                     Burch Creek Stake                                                 Ogden, Ut 84405                                                                              First Class Mail
Chartered Organization         Lds Weber East Special Needs                             Pleasant View South Stake              236 Porter                                                        Ogden, UT 84404                                                                              First Class Mail
Chartered Organization         Lds Weber West Special Needs                             Pioneer Trails Stake                   4979 S 5100 W                                                     Hooper, UT 84315                                                                             First Class Mail
Chartered Organization         Lds Weber West Special Needs                             W Point Stake                          Trapper Trails 589                                                West Point Stake                    West Point, Ut 84015                                     First Class Mail
Chartered Organization         Lds Webster Groves Ward                                  S St Louis Stake                       Greater St Louis Area Council 312                                 4511 Butler Hill Rd                 So Stake                  St Louis, Mo 63128             First Class Mail
Chartered Organization         Lds Webster Groves Ward ‐ S St Louis Stake               Greater St Louis Area Council 312      4511 Butler Hill Rd                                               St Louis, MO 63128‐3521                                                                      First Class Mail
Chartered Organization         Lds Webster Meadows Ward                                 Kaysville Stake                        205 S Angel St                                                    Kaysville, UT 84037                                                                          First Class Mail
Chartered Organization         Lds Wedgewood Ward                                       Clearfield North Stake                 151 N 1000 W                                                      Clearfield, UT 84015                                                                         First Class Mail
Chartered Organization         Lds Weiser 1St Ward ‐ Weiser Stk                         Ore‐Ida Council 106 ‐ Bsa 106          1775 Cove Rd                                                      Weiser, ID 83672‐5345                                                                        First Class Mail
Chartered Organization         Lds Weiser 2Nd Ward ‐ Weiser Stk                         Ore‐Ida Council 106 ‐ Bsa 106          300 E Main St                                                     Weiser, ID 83672‐2542                                                                        First Class Mail
Chartered Organization         Lds Weiser 3Rd Ward ‐ Weiser Stk                         Ore‐Ida Council 106 ‐ Bsa 106          1151 Devils Elbow Rd, 3Rd St & E Main                             Weiser, ID 83672                                                                             First Class Mail
Chartered Organization         Lds Welby 1St Ward/W J Ut Welby Stk                      Great Salt Lake Council 590            9376 S 4000 W                                                     West Jordan, UT 84088                                                                        First Class Mail
Chartered Organization         Lds Welby 3Rd Ward/W J Ut Welby Stk                      Great Salt Lake Council 590            8385 S 4800 W                                                     West Jordan, UT 84088                                                                        First Class Mail
Chartered Organization         Lds Welby 4Th Ward/W J Ut Welby Stk                      Great Salt Lake Council 590            4213 W Cache Creek Cir                                            West Jordan, UT 84088‐6369                                                                   First Class Mail
Chartered Organization         Lds Welby 5Th Ward/W J Ut Welby Stk                      Great Salt Lake Council 590            8841 S 4800 W                                                     West Jordan, UT 84088                                                                        First Class Mail
Chartered Organization         Lds Welby 6Th Ward/W J Ut Welby Stk                      Great Salt Lake Council 590            8841 S 4800 W                                                     West Jordan, UT 84088                                                                        First Class Mail
Chartered Organization         Lds Welby 7Th Ward/W J Ut Welby Stk                      Great Salt Lake Council 590            8385 S 4800 W                                                     West Jordan, UT 84088                                                                        First Class Mail
Chartered Organization         Lds Welby 8Th Ward/W J Ut Welby Stk                      Great Salt Lake Council 590            8385 S 4800 W                                                     West Jordan, UT 84088                                                                        First Class Mail
Chartered Organization         Lds Welby 9Th Ward/W J Ut Welby Stk                      Great Salt Lake Council 590            8841 S 4800 W                                                     West Jordan, UT 84088                                                                        First Class Mail
Chartered Organization         Lds Wellington First Ward                                Utah National Parks 591                50 N 100 E                                                        Wellington, UT 84542                                                                         First Class Mail
Chartered Organization         Lds Wellington Fourth Ward                               Utah National Parks 591                50 N 100 E                                                        Wellington, UT 84542                                                                         First Class Mail
Chartered Organization         Lds Wellington Second Ward                               Utah National Parks 591                935 E Main St                                                     Wellington, UT 84542                                                                         First Class Mail
Chartered Organization         Lds Wellington Third Ward                                Utah National Parks 591                935 E Main                                                        Wellington, UT 84542                                                                         First Class Mail
Chartered Organization         Lds Wellington Ward ‐ Wichita Stake                      Quivira Council, Bsa 198               1003 W 22Nd St                                                    Wellington, KS 67152                                                                         First Class Mail
Chartered Organization         Lds Wellington Ward Stuart Stake                         Gulf Stream Council 085                990 Big Blue Trce                                                 Wellington, FL 33414‐3915                                                                    First Class Mail
Chartered Organization         Lds Wells Park Ward Black Mountain Stake                 Las Vegas Area Council 328             401 Palo Verde Dr                                                 Henderson, NV 89015                                                                          First Class Mail
Chartered Organization         Lds Wells Ward ‐ Elko East Stake                         Nevada Area Council 329                951 Lake Ave                                                      Wells, NV 89835                                                                              First Class Mail
Chartered Organization         Lds Wells Ward/S L Granite Stake                         Great Salt Lake Council 590            607 E Downington Ave                                              Salt Lake City, UT 84105                                                                     First Class Mail
Chartered Organization         Lds Wellsville 10Th Ward                                 Wellsville Stake                       660 S 100 W                                                       Wellsville, UT 84339‐9755                                                                    First Class Mail
Chartered Organization         Lds Wellsville 11Th Ward                                 Wellsville Stake                       Trapper Trails 589                                                3547 W 6100 S                       Wellsville Stake          Wellsville, Ut 84339           First Class Mail
Chartered Organization         Lds Wellsville 1St Ward                                  Wellsville Stake                       30 S Center St                                                    Wellsville, UT 84339‐9501                                                                    First Class Mail
Chartered Organization         Lds Wellsville 3Rd Ward                                  Wellsville Stake                       49 W 200 S                                                        Wellsville, UT 84339‐9707                                                                    First Class Mail
Chartered Organization         Lds Wellsville 4Th Ward                                  Wellsville Stake                       49 W 200 S                                                        Wellsville, UT 84339‐9707                                                                    First Class Mail
Chartered Organization         Lds Wellsville 5Th Ward                                  Wellsville Stake                       660 S 100 W                                                       Wellsville, UT 84339‐9755                                                                    First Class Mail
Chartered Organization         Lds Wellsville 7Th Ward                                  Wellsville Stake                       660 S 100 W                                                       Wellsville, UT 84339‐9755                                                                    First Class Mail
Chartered Organization         Lds Wellsville 8Th Ward                                  Wellsville Stake                       49 W 200 S                                                        Wellsville, UT 84339‐9707                                                                    First Class Mail
Chartered Organization         Lds Wellsville 9Th Ward                                  Wellsville Stake                       30 S Center St                                                    Wellsville, UT 84339‐9501                                                                    First Class Mail
Chartered Organization         Lds Wellton Ward ‐ Yuma Az Stk                           Grand Canyon Council 010               199775 E Country St                                               Wellton, AZ 85365                                                                            First Class Mail
Chartered Organization         Lds Wenatchee River Ward                                 Wenatchee Stake                        2821 Easy St                                                      Wenatchee, WA 98801‐5817                                                                     First Class Mail
Chartered Organization         Lds Wenatchee River Ward/Wenatchee Stake                 Grand Columbia Council 614             2821 Easy St                                                      Wenatchee, WA 98801‐5817                                                                     First Class Mail
Chartered Organization         Lds Wendover Branch/Wendover Ut District                 Great Salt Lake Council 590            P.O. Box 1500                                                     Wendover, UT 84083‐1500                                                                      First Class Mail
Chartered Organization         Lds Wentzville Ward ‐ North County Stake                 Greater St Louis Area Council 312      3619 N Hwy 47                                                     Warrenton, MO 63383                                                                          First Class Mail
Chartered Organization         Lds Wern Hills Ward Cincinnati N Stake                   Dan Beard Council, Bsa 438             3670 Hubble Rd                                                    Cincinnati, OH 45247‐6004                                                                    First Class Mail
Chartered Organization         Lds West Bend Ward Appleton Wi Stake                     Bay‐Lakes Council 635                  120 E Paradise Dr                                                 West Bend, WI 53095                                                                          First Class Mail
Chartered Organization         Lds West Bountful 7Th Ward                               Bntfl Ut Stone Creek Stake             311 N 800 W                                                       West Bountiful, UT 84087                                                                     First Class Mail
Chartered Organization         Lds West Bountiful 10Th Ward                             W Bountiful Ut Stake                   1930 N 600 W                                                      West Bountiful, UT 84087                                                                     First Class Mail
Chartered Organization         Lds West Bountiful 1St Ward                              Bntfl Ut Stone Creek Stake             311 N 800 W                                                       West Bountiful, UT 84087                                                                     First Class Mail
Chartered Organization         Lds West Bountiful 2Nd Ward                              W Bountiful Ut Stake                   840 N 800 W                                                       West Bountiful, UT 84087                                                                     First Class Mail
Chartered Organization         Lds West Bountiful 3Rd Ward                              W Bountiful Ut Stake                   840 N 800 W                                                       West Bountiful, UT 84087                                                                     First Class Mail
Chartered Organization         Lds West Bountiful 4Th Ward                              W Bountiful Ut Stake                   1930 N 600 W                                                      West Bountiful, UT 84087                                                                     First Class Mail
Chartered Organization         Lds West Bountiful 5Th Ward                              W Bountiful Ut Stake                   840 N 800 W                                                       West Bountiful, UT 84087                                                                     First Class Mail
Chartered Organization         Lds West Bountiful 6Th Ward                              W Bountiful Ut Stake                   1750 N 900 W                                                      West Bountiful, UT 84087                                                                     First Class Mail
Chartered Organization         Lds West Bountiful 8Th Ward                              Bntfl Ut Stone Creek Stake             311 N 800 W                                                       West Bountiful, UT 84087                                                                     First Class Mail
Chartered Organization         Lds West Bountiful 9Th Ward                              W Bountiful Ut Stake                   1930 N 600 W                                                      West Bountiful, UT 84087                                                                     First Class Mail
Chartered Organization         Lds West Grove Ward ‐ Cypress Stake                      Orange County Council 039              12160 Valley View St                                              Garden Grove, CA 92845‐1726                                                                  First Class Mail
Chartered Organization         Lds West Hills Knoxville                                 Great Smoky Mountain Council 557       400 Kendall Rd                                                    Knoxville, TN 37919‐6803                                                                     First Class Mail
Chartered Organization         Lds West Hills Ward Beaverton Stake                      Cascade Pacific Council 492            4195 Sw 99Th Ave                                                  Beaverton, OR 97005‐3325                                                                     First Class Mail
Chartered Organization         Lds West Jordan 19Th Ward                                W Jordan Ut Stake                      2666 W 7000 S                                                     West Jordan, UT 84084‐2145                                                                   First Class Mail
Chartered Organization         Lds West Jordan 21St Ward                                W Jordan Ut Stake                      7525 S 2700 W                                                     West Jordan, UT 84084                                                                        First Class Mail
Chartered Organization         Lds West Jordan 27Th Ward                                W Jordan Ut Stake                      2666 W 7000 S                                                     West Jordan, UT 84084‐2145                                                                   First Class Mail
Chartered Organization         Lds West Jordan 28Th Ward                                W Jordan Ut Stake                      2666 W 7000 S                                                     West Jordan, UT 84084‐2145                                                                   First Class Mail
Chartered Organization         Lds West Jordan 57Th Ward                                W Jordan Ut Stake                      7525 S 2700 W                                                     West Jordan, UT 84084                                                                        First Class Mail
Chartered Organization         Lds West Jordan 66Th Ward                                W Jordan Ut Stake                      7525 S 2700 W                                                     West Jordan, UT 84084                                                                        First Class Mail
Chartered Organization         Lds West Jordan Ut Stake                                 W Jordan Ut Stake                      2666 W 7000 S                                                     West Jordan, UT 84084‐2145                                                                   First Class Mail
Chartered Organization         Lds West Lane Ward Stockton Stake                        Greater Yosemite Council 059           21121 E Copperopolis Rd                                           Linden, CA 95236‐9721                                                                        First Class Mail
Chartered Organization         Lds West Layton Ward                                     Layton Legacy Stake                    535 W 2700 S                                                      Syracuse, UT 84075                                                                           First Class Mail
Chartered Organization         Lds West Linn Ward Lake Oswego Stake                     Cascade Pacific Council 492            1395 Rosemont Rd                                                  West Linn, OR 97068‐2939                                                                     First Class Mail
Chartered Organization         Lds West Mountain First Ward                             Utah National Parks 591                10400 S 5795 W                                                    Payson, UT 84651                                                                             First Class Mail
Chartered Organization         Lds West Mountain Fourth Ward                            Utah National Parks 591                5237 W 10400 S                                                    Payson, UT 84651                                                                             First Class Mail
Chartered Organization         Lds West Mountain Second Ward                            Utah National Parks 591                900 W 400 N                                                       Payson, UT 84651                                                                             First Class Mail
Chartered Organization         Lds West Mountain Third Ward                             Utah National Parks 591                902 W 400 N                                                       Payson, UT 84651‐1746                                                                        First Class Mail
Chartered Organization         Lds West Mountain Ward/Magna Ut Stk                      Great Salt Lake Council 590            3610 S 8400 W                                                     Magna, UT 84044‐2215                                                                         First Class Mail
Chartered Organization         Lds West Park Ward                                       Clearfield South Stake                 315 E Chelmes Way (2200 So )                                      Clearfield, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Park Ward, Billings Stake                       Montana Council 315                    2929 Belvedere Dr                                                 Billings, MT 59102‐3716                                                                      First Class Mail
Chartered Organization         Lds West Plains Ward ‐ West Plains Stake                 Ozark Trails Council 306               2800 Christie Dr                                                  West Plains, MO 65775                                                                        First Class Mail
Chartered Organization         Lds West Point 10Th Ward                                 W Point Stake                          2852 W 300 N                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point 11Th Ward                                 W Point Stake                          550 N 2300 W                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point 12Th Ward                                 W Point Stake                          2865 W 800 N                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point 13Th Ward                                 Lakeside Stake                         3290 W 800 N                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point 14Th Ward                                 W Point Stake                          2852 W 300 N                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point 15Th Ward Spanish                         Lakeside Stake                         3488 W 300 N                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point 16Th Ward                                 Lakeside Stake                         4383 W 300 N                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point 17Th Ward                                 Lakeside Stake                         855 N 4000 W                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point 18Th Ward                                 W Point Stake                          2855 W 800 N                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point 19Th Ward                                 Lakeside Stake                         855 N 4000 W                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point 2Nd Ward                                  W Point Stake                          550 N 2300 W                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point 4Th Ward                                  W Point Stake                          2852 W 300 N                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point 7Th Ward                                  W Point Stake                          550 N 2300 W                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point 8Th Ward                                  W Point Stake                          2865 W 800 N                                                      West Point, UT 84015                                                                         First Class Mail
Chartered Organization         Lds West Point Ward/S L Hunter South Stk                 Great Salt Lake Council 590            5180 W 4700 S                                                     Salt Lake City, UT 84118                                                                     First Class Mail
Chartered Organization         Lds West Sac Ward Woodland Stake                         Golden Empire Council 047              2667 Linden Rd                                                    West Sacramento, CA 95691                                                                    First Class Mail
Chartered Organization         Lds West Seattle Ward Seattle Stake                      Chief Seattle Council 609              4001 44Th Ave Sw                                                  Seattle, WA 98116‐3713                                                                       First Class Mail
Chartered Organization         Lds West Valley 9Th Ward (Tongan)                        Sl Ut Stake (Tongan)                   3985 S 3200 W                                                     Salt Lake City, UT 84119                                                                     First Class Mail
Chartered Organization         Lds West Weber 1St Ward                                  Weber North Stake                      4100 W 900 S                                                      Ogden, UT 84404                                                                              First Class Mail
Chartered Organization         Lds West Weber 2Nd Ward                                  Weber North Stake                      4100 W 900 S                                                      Ogden, UT 84404                                                                              First Class Mail
Chartered Organization         Lds West Weber 3Rd Ward                                  Weber North Stake                      4100 W 900 S                                                      Ogden, UT 84404                                                                              First Class Mail
Chartered Organization         Lds West Wing Ward ‐ Peoria Az North Stk                 Grand Canyon Council 010               9543 W Jomax Rd                                                   Peoria, AZ 85383                                                                             First Class Mail
Chartered Organization         Lds West York Ward, Lancaster Stake                      New Birth Of Freedom 544               2100 Hollywood Dr                                                 York, PA 17403‐4847                                                                          First Class Mail
Chartered Organization         Lds Westbrook 1St Ward                                   W J Ut Westbrook Stake                 6500 S Dixie Dr                                                   West Jordan, UT 84084‐1547                                                                   First Class Mail
Chartered Organization         Lds Westbrook 2Nd Ward                                   W J Ut Westbrook Stake                 6500 S Dixie Dr                                                   West Jordan, UT 84084‐1547                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 242 of 442
                                                                                Case 20-10343-LSS                                 Doc 8171                                     Filed 01/06/22                         Page 258 of 457
                                                                                                                                                                  Exhibit B
                                                                                                                                                                   Service List
                                                                                                                                                            Served as set forth below

        Description                                                      Name                                                                                   Address                                                                 Email              Method of Service
Chartered Organization         Lds Westbrook 3Rd Ward                                  W J Ut Westbrook Stake                 6500 S Dixie Dr                                         West Jordan, UT 84084‐1547                                First Class Mail
Chartered Organization         Lds Westbrook 4Th Ward                                  W J Ut Westbrook Stake                 6364 S 3200 W                                           Taylorsville, UT 84129                                    First Class Mail
Chartered Organization         Lds Westbrook 5Th Ward                                  W J Ut Westbrook Stake                 4113 W 6200 S                                           West Jordan, UT 84084                                     First Class Mail
Chartered Organization         Lds Westbrook 6Th Ward                                  W J Ut Westbrook Stake                 6340 S 3200 W                                           West Jordan, UT 84084                                     First Class Mail
Chartered Organization         Lds Westbrook 7Th Ward                                  W J Ut Westbrook Stake                 6364 S 3200 W                                           West Jordan, UT 84084                                     First Class Mail
Chartered Organization         Lds Westbrook 8Th Ward                                  W J Ut Westbrook Stake                 4113 W 6200 S                                           West Jordan, UT 84084                                     First Class Mail
Chartered Organization         Lds Westbrook 9Th Ward                                  W J Ut Westbrook Stake                 4113 W 6200 S                                           West Jordan, UT 84084                                     First Class Mail
Chartered Organization         Lds Westchester 1St Ward                                Greater Los Angeles Area 033           7515 S Sepulveda Blvd                                   Los Angeles, CA 90045‐1626                                First Class Mail
Chartered Organization         Lds Westchester Third Ward                              Greater Los Angeles Area 033           7515 S Sepulveda Blvd                                   Los Angeles, CA 90045‐1626                                First Class Mail
Chartered Organization         Lds Westcliff Ward Las Vegas Stake                      Las Vegas Area Council 328             120 Worthen Cir                                         Las Vegas, NV 89145‐4017                                  First Class Mail
Chartered Organization         Lds Western Hills 1St Ward                              Kearns Ut Western Hills Stake          4993 W 5360 S                                           Kearns, UT 84118‐6857                                     First Class Mail
Chartered Organization         Lds Western Hills 2Nd Ward                              Kearns Ut Western Hills Stake          5380 W 5400 S                                           Salt Lake City, UT 84118                                  First Class Mail
Chartered Organization         Lds Western Hills 3Rd Ward                              Kearns Ut Western Hills Stake          5380 W 5400 S                                           Salt Lake City, UT 84118                                  First Class Mail
Chartered Organization         Lds Western Hills 4Th Ward                              Kearns Ut Western Hills Stake          5107 S 5600 W                                           Kearns, UT 84118                                          First Class Mail
Chartered Organization         Lds Western Hills Ward Rio Rancho Stake                 Great Swest Council 412                1931 Wern Hills Dr Se                                   Rio Rancho, NM 87124                                      First Class Mail
Chartered Organization         Lds Western Skies Ward ‐ Gilbert Az                     Greenfield Stake                       1155 E Ray Rd                                           Gilbert, AZ 85296                                         First Class Mail
Chartered Organization         Lds Westerville Ward                                    Simon Kenton Council 441               307 Huber Village Blvd                                  Westerville, OH 43081‐3463                                First Class Mail
Chartered Organization         Lds Westfield Second Ward                               Utah National Parks 591                1948 W 550 N                                            Lehi, UT 84043‐3994                                       First Class Mail
Chartered Organization         Lds Westfield Third Ward                                Utah National Parks 591                1251 E 900 N                                            Lehi, UT 84043‐9711                                       First Class Mail
Chartered Organization         Lds Westfield Ward                                      Houston N Stake                        16331 Hafer Rd                                          Houston, TX 77090                                         First Class Mail
Chartered Organization         Lds Westfield Ward                                      Utah National Parks 591                254 N Constitution Dr                                   Lehi, UT 84043‐5203                                       First Class Mail
Chartered Organization         Lds Westgate Ward ‐ Phoenix Az Stk                      Grand Canyon Council 010               8702 W Campbell Ave                                     Phoenix, AZ 85037‐1402                                    First Class Mail
Chartered Organization         Lds Westgreen Ward                                      Houston W Stake                        1928 Drexel Dr                                          Katy, TX 77493‐1715                                       First Class Mail
Chartered Organization         Lds Westlake Ward/S L Granger North Stk                 Great Salt Lake Council 590            3175 S 3450 W                                           Salt Lake City, UT 84119                                  First Class Mail
Chartered Organization         Lds Westland 1St Ward                                   W J Ut Westland Stake                  7645 S 3200 W                                           West Jordan, UT 84084‐2820                                First Class Mail
Chartered Organization         Lds Westland 2Nd Ward                                   W J Ut Westland Stake                  7171 S 2700 W                                           West Jordan, UT 84084‐2909                                First Class Mail
Chartered Organization         Lds Westland 3Rd Ward                                   W J Ut Westland Stake                  7265 S 2700 W                                           West Jordan, UT 84084‐2913                                First Class Mail
Chartered Organization         Lds Westland 4Th Ward                                   W J Ut Westland Stake                  7171 S 2700 W                                           West Jordan, UT 84084‐2909                                First Class Mail
Chartered Organization         Lds Westland 5Th (Spanish) Ward                         W J Ut Westland Stake                  7171 S 2700 W                                           West Jordan, UT 84084‐2909                                First Class Mail
Chartered Organization         Lds Westland 6Th Ward                                   W J Ut Westland Stake                  7265 S 2700 W                                           West Jordan, UT 84084‐2913                                First Class Mail
Chartered Organization         Lds Westland 7Th Ward                                   W J Ut Westland Stake                  7115 S 3200 W                                           West Jordan, UT 84084‐2811                                First Class Mail
Chartered Organization         Lds Westland 8Th Ward                                   W J Ut Westland Stake                  7115 S 3200 W                                           West Jordan, UT 84084‐2811                                First Class Mail
Chartered Organization         Lds Westland 9Th Ward                                   W J Ut Westland Stake                  7115 S 3200 W                                           West Jordan, UT 84084‐2811                                First Class Mail
Chartered Organization         Lds Westland Ward Columbus Ohio Stake                   Simon Kenton Council 441               1001 Doherty Rd                                         Galloway, OH 43119‐8712                                   First Class Mail
Chartered Organization         Lds Westland Ward/Tooele Ut South Stk                   Great Salt Lake Council 590            1030 S 900 W                                            Tooele, UT 84074‐3252                                     First Class Mail
Chartered Organization         Lds Westminster Ward, Westminster Stake                 Denver Area Council 061                1951 Elmwood Ln                                         Denver, CO 80221‐4275                                     First Class Mail
Chartered Organization         Lds Weston 1St Ward                                     Preston S Stake                        27 N Center St                                          Weston, ID 83286                                          First Class Mail
Chartered Organization         Lds Weston 2Nd Ward                                     Preston S Stake                        27 N Center St                                          Weston, ID 83286                                          First Class Mail
Chartered Organization         Lds Weston Ward Boston Stake                            Mayflower Council 251                  150 Brown St                                            Weston, MA 02493‐2604                                     First Class Mail
Chartered Organization         Lds Westpark Ward ‐ Buckeye Az Stk                      Grand Canyon Council 010               25800 W Southern Ave                                    Buckeye, AZ 85326                                         First Class Mail
Chartered Organization         Lds Westpark Ward ‐ Irvine Stake                        Orange County Council 039              23 Lake Rd                                              Irvine, CA 92604‐4579                                     First Class Mail
Chartered Organization         Lds Westpoint Ward ‐ Surprise Az Stk                    Grand Canyon Council 010               15005 N Dysart Rd                                       El Mirage, AZ 85335‐5400                                  First Class Mail
Chartered Organization         Lds Westridge 1St Br (Yth Cntr)                         Sandy Ut Granite View Stake            5500 W Bagley Park Rd                                   West Jordan, UT 84081‐5697                                First Class Mail
Chartered Organization         Lds Westridge Ward                                      Utah National Parks 591                415 Wridge Dr                                           St George, UT 84770                                       First Class Mail
Chartered Organization         Lds Westview Ward                                       Utah National Parks 591                2830 W Cody Dr                                          Cedar City, UT 84720                                      First Class Mail
Chartered Organization         Lds Westview Ward Cedar Mill Stake                      Cascade Pacific Council 492            4692 Nw 173Rd Pl                                        Beaverton, OR 97006‐7292                                  First Class Mail
Chartered Organization         Lds Westwood Heights 1St Ward                           Kearns Ut Stake                        3976 W Dimrall Dr                                       Taylorsville, UT 84129                                    First Class Mail
Chartered Organization         Lds Westwood Heights 2Nd Ward                           Kearns Ut Stake                        3976 W Dimrall Dr                                       Taylorsville, UT 84129                                    First Class Mail
Chartered Organization         Lds Westwood Ward                                       Utah National Parks 591                175 N 1280 W                                            Price, UT 84501                                           First Class Mail
Chartered Organization         Lds Westwood Ward ‐ Mesa Az Maricopa Stk                Grand Canyon Council 010               613 N Stewart                                           Mesa, AZ 85201                                            First Class Mail
Chartered Organization         Lds Wheatfield Ward                                     Layton Legacy Stake                    3161 W 150 N                                            Layton, UT 84041‐8808                                     First Class Mail
Chartered Organization         Lds Wheatland Ward Yuba City Stake                      Golden Empire Council 047              5091 Wheatland Rd                                       Wheatland, CA 95692‐9733                                  First Class Mail
Chartered Organization         Lds Wheaton Ward ‐ Naperville Stake                     Three Fires Council 127                25W341 Ridgeland Rd                                     Naperville, IL 60563                                      First Class Mail
Chartered Organization         Lds Wheatstone Ward                                     Houston Bear Creek Stake               10555 West Rd                                           Houston, TX 77064                                         First Class Mail
Chartered Organization         Lds Wheeler Park Ward                                   Utah National Parks 591                2093 S 150 E                                            Heber City, UT 84032‐4412                                 First Class Mail
Chartered Organization         Lds Whisper Wood Ward                                   Syracuse South Stake                   2679 S 1000 W                                           Syracuse, UT 84075                                        First Class Mail
Chartered Organization         Lds Whitaker Ward/Tooele Ut East Stk                    Great Salt Lake Council 590            752 N 520 E                                             Tooele, UT 84074‐8500                                     First Class Mail
Chartered Organization         Lds White City Ward                                     Central Point Stake                    668 W Rolling Hills Dr                                  Eagle Point, OR 97524‐4418                                First Class Mail
Chartered Organization         Lds White Cliffs Ward Kingman Stake                     Las Vegas Area Council 328             610 Eern St                                             Kingman, AZ 86401                                         First Class Mail
Chartered Organization         Lds White Hills Ward                                    Utah National Parks 591                22 E Center St                                          Cedar Valley, UT 84013                                    First Class Mail
Chartered Organization         Lds White Mountain Ward                                 Rock Springs Stake                     3315 White Mountain Blvd                                Rock Springs, WY 82901                                    First Class Mail
Chartered Organization         Lds White Oak Ward                                      Stafford Virginia Stake                20 Boscobel Rd                                          Fredericksburg, VA 22405‐1800                             First Class Mail
Chartered Organization         Lds White Oak Ward Silver Spring Stake                  National Capital Area Council 082      500 Randolph Rd                                         Silver Spring, MD 20904‐3540                              First Class Mail
Chartered Organization         Lds White Pine Ward/Tooele Ut East Stk                  Great Salt Lake Council 590            752 N 520 E                                             Tooele, UT 84074‐8500                                     First Class Mail
Chartered Organization         Lds White Plains 2Nd Ward Suitland Stake                National Capital Area Council 082      4560 Padgett Rd                                         White Plains, MD 20695‐2807                               First Class Mail
Chartered Organization         Lds White River Ward Auburn Stake                       Chief Seattle Council 609              1820 F St Se                                            Auburn, WA 98002‐6854                                     First Class Mail
Chartered Organization         Lds White Rock Ward Santa Fe Stake                      Great Swest Council 412                366 Grand Canyon Dr                                     Los Alamos, NM 87547‐3660                                 First Class Mail
Chartered Organization         Lds White Salmon Ward The Dalles Stake                  Cascade Pacific Council 492            P.O. Box 337                                            White Salmon, WA 98672‐0337                               First Class Mail
Chartered Organization         Lds White Sands Ward Las Cruces Stake                   Yucca Council 573                      1800 23Rd St                                            Alamogordo, NM 88310‐4606                                 First Class Mail
Chartered Organization         Lds White Tanks Mtn Ward ‐ Surprise Az                  West Stake                             15880 W Cactus Rd                                       Surprise, AZ 85379                                        First Class Mail
Chartered Organization         Lds Whitefish Ward, Kalispell Stake                     Montana Council 315                    6330 Us Hwy 93 S                                        Whitefish, MT 59937‐8235                                  First Class Mail
Chartered Organization         Lds Whitehall Ward Pa Reading Stake                     Minsi Trails Council 502               1881 Van Buren Dr                                       Whitehall, PA 18052‐4167                                  First Class Mail
Chartered Organization         Lds Whitehall Ward, Butte Stake                         Montana Council 315                    P.O. Box 1098                                           Whitehall, MT 59759‐1098                                  First Class Mail
Chartered Organization         Lds Whitehouse Ward                                     East Texas Area Council 585            23000 County Rd 145                                     Bullard, TX 75757                                         First Class Mail
Chartered Organization         Lds Whiterocks Branch                                   Utah National Parks 591                4817 E 11500 N                                          Whiterocks, UT 84085                                      First Class Mail
Chartered Organization         Lds Whitestone Ward, Cedar Park Stake                   Capitol Area Council 564               507 Rolling Brook Ln                                    Cedar Park, TX 78613‐4549                                 First Class Mail
Chartered Organization         Lds Whitewater Ward Jonesboro Ga Stake                  Flint River Council 095                2021 Redwine Rd                                         Fayetteville, GA 30215                                    First Class Mail
Chartered Organization         Lds Whitley Ward, Fort Wayne Stake                      Anthony Wayne Area 157                 3085 E Lincolnway                                       Columbia City, IN 46725                                   First Class Mail
Chartered Organization         Lds Whitmer Ward Far West Stake                         Heart Of America Council 307           13109 Hwy O                                             Excelsior Springs, MO 64024                               First Class Mail
Chartered Organization         Lds Whitney Ranch Ward Green Vly Stake                  Las Vegas Area Council 328             410 N Valle Verde Dr                                    Henderson, NV 89014                                       First Class Mail
Chartered Organization         Lds Whittier Ward/S L Liberty Stake                     Great Salt Lake Council 590            1480 S Edison St                                        Salt Lake City, UT 84115‐5421                             First Class Mail
Chartered Organization         Lds Wickenburg Ward ‐ Surprise Az                       North Stake                            1350 W Wickenburg Way                                   Wickenburg, AZ 85390                                      First Class Mail
Chartered Organization         Lds Wilcox Meadows Ward                                 Syracuse Bluff Stake                   700 S 2500 W                                            Syracuse, UT 84075                                        First Class Mail
Chartered Organization         Lds Wild Horse Springs Ward                             Layton Legacy Stake                    3161 W 150 N                                            Layton, UT 84041‐8808                                     First Class Mail
Chartered Organization         Lds Wild Mare Ward                                      Utah National Parks 591                6250 E 1200 S                                           Heber City, UT 84032                                      First Class Mail
Chartered Organization         Lds Wildflower Ward/Sandy Ut East Stk                   Great Salt Lake Council 590            1880 E 9800 S                                           Sandy, UT 84092                                           First Class Mail
Chartered Organization         Lds Wildhorse Horse Ward ‐ West Stake                   Alamo Area Council 583                 10903 Winecup Fld                                       Helotes, TX 78023‐3671                                    First Class Mail
Chartered Organization         Lds Wildomar Ward ‐ Lake Elsinore Stake                 California Inland Empire Council 045   34350 Almond St                                         Wildomar, CA 92595‐8735                                   First Class Mail
Chartered Organization         Lds Wilford 1St Ward/S L Wilford Stk                    Great Salt Lake Council 590            3179 S Highland Dr                                      Salt Lake City, UT 84106                                  First Class Mail
Chartered Organization         Lds Willamette Ward Lake Oswego Stake                   Cascade Pacific Council 492            1395 Rosemont Rd                                        West Linn, OR 97068‐2939                                  First Class Mail
Chartered Organization         Lds Willamina Ward Monmouth Stake                       Cascade Pacific Council 492            900 Nw Willamina Dr                                     Willamina, OR 97396‐2793                                  First Class Mail
Chartered Organization         Lds Willard Ward 1‐Springfield Stake                    Ozark Trails Council 306               P.O. Box 25                                             Willard, MO 65781‐0025                                    First Class Mail
Chartered Organization         Lds Williams Ward ‐ Flagstaff Az West Stk               Grand Canyon Council 010               1111 Stockmens Rd                                       Williams, AZ 86046                                        First Class Mail
Chartered Organization         Lds Williamsburg Ward ‐ Newport News Stake              Colonial Virginia Council 595          2017 Newman Rd                                          Williamsburg, VA 23188                                    First Class Mail
Chartered Organization         Lds Williamson 4Th Ward ‐ Orange Stake                  Three Rivers Council 578               6108 Hazelwood                                          Orange, TX 77632                                          First Class Mail
Chartered Organization         Lds Williamson Valley Ward ‐ Prescott Az                Stake                                  2285 W Twinoaks Dr                                      Prescott, AZ 86305‐7715                                   First Class Mail
Chartered Organization         Lds Williamson Ward Iii‐Orange Stake                    Three Rivers Council 578               285 Lakewood Dr                                         Vidor, TX 77662‐3900                                      First Class Mail
Chartered Organization         Lds Williamson Ward Ii‐Orange Stake                     Three Rivers Council 578               5925 Portie Rd                                          Vidor, TX 77662‐8083                                      First Class Mail
Chartered Organization         Lds Williamson Ward Ii‐Orange Stake                     Three Rivers Council 578               154 Aunt Sadie Rd                                       Vidor, TX 77662‐8090                                      First Class Mail
Chartered Organization         Lds Williamston Ward ‐ Lansing Stake                    Water And Woods Council 782            431 E Saginaw St                                        East Lansing, MI 48823‐2741                               First Class Mail
Chartered Organization         Lds Willow Bend Ward                                    Farmington Ut Oakridge Stake           2230 S 350 E                                            Kaysville, UT 84037‐4067                                  First Class Mail
Chartered Organization         Lds Willow Brook Ward                                   Pleasant View South Stake              480 W 2000 N                                            Harrisville, UT 84414                                     First Class Mail
Chartered Organization         Lds Willow Canyon Ward ‐ Surprise Az                    North Stake                            14878 N Verde Vista Dr                                  Surprise, AZ 85388‐7846                                   First Class Mail
Chartered Organization         Lds Willow Creek 1St Ward                               Sandy Ut Willow Creek Stake            2115 E Sublette Pl                                      Sandy, UT 84093                                           First Class Mail
Chartered Organization         Lds Willow Creek 2Nd Ward                               Sandy Ut Willow Creek Stake            2400 E Alta Canyon Cir                                  Sandy, UT 84093                                           First Class Mail
Chartered Organization         Lds Willow Creek 3Rd Ward                               Sandy Ut Willow Creek Stake            2400 E Alta Canyon Cir                                  Sandy, UT 84093                                           First Class Mail
Chartered Organization         Lds Willow Creek 4Th Ward                               Sandy Ut Willow Creek Stake            2350 E Creek Rd                                         Sandy, UT 84093                                           First Class Mail
Chartered Organization         Lds Willow Creek 6Th Ward                               Sandy Ut Willow Creek Stake            2115 E Sublette Pl                                      Sandy, UT 84093                                           First Class Mail
Chartered Organization         Lds Willow Creek 7Th Ward                               Sandy Ut Willow Creek Stake            2115 E Creek Rd                                         Sandy, UT 84093                                           First Class Mail
Chartered Organization         Lds Willow Creek 9Th Ward                               Sandy Ut Willow Creek Stake            2350 E Creek Rd                                         Sandy, UT 84093                                           First Class Mail
Chartered Organization         Lds Willow Creek Branch‐Hermiston Stake                 Blue Mountain Council 604              Hwy 74                                                  Lexington, OR 97839                                       First Class Mail
Chartered Organization         Lds Willow Creek Ward                                   Utah National Parks 591                1810 W 900 N                                            Lehi, UT 84043‐5421                                       First Class Mail
Chartered Organization         Lds Willow Creek Ward                                   Morgan North Stake                     4270 W Cottonwood Canyon Rd                             Morgan, UT 84050                                          First Class Mail
Chartered Organization         Lds Willow Creek Ward                                   Houston N Stake                        22214 Bridgestone Pine Ct                               Spring, TX 77388‐3535                                     First Class Mail
Chartered Organization         Lds Willow Creek Ward ‐ Prescott Az Stk                 Grand Canyon Council 010               1101 Sandretto Dr                                       Prescott, AZ 86301                                        First Class Mail
Chartered Organization         Lds Willow Creek Ward, Denver Stake                     Denver Area Council 061                6061 S Havana St                                        Englewood, CO 80111                                       First Class Mail
Chartered Organization         Lds Willow Creek Ward/Grantsville Ut Stk                Great Salt Lake Council 590            410 Shelley Ln                                          Grantsville, UT 84029‐9699                                First Class Mail
Chartered Organization         Lds Willow Crest Ward                                   Bennion Ut E Stake                     5980 S 1300 W                                           Salt Lake City, UT 84123                                  First Class Mail
Chartered Organization         Lds Willow Glen Ward ‐ San Jose Stake                   Silicon Valley Monterey Bay 055        1336 Cherry Ave                                         San Jose, CA 95125‐3721                                   First Class Mail
Chartered Organization         Lds Willow Haven Ward                                   Utah National Parks 591                1998 W 900 N                                            Lehi, UT 84043                                            First Class Mail
Chartered Organization         Lds Willow Hills Ward                                   Sandy Ut Granite Stake                 2535 E Newcastle Dr                                     Sandy, UT 84093                                           First Class Mail
Chartered Organization         Lds Willow Park Ward                                    Utah National Parks 591                1680 W 700 S                                            Lehi, UT 84043                                            First Class Mail
Chartered Organization         Lds Willow Park/Logan South Stake                       Trapper Trails 589                     340 W 700 S                                             Logan, UT 84321                                           First Class Mail
Chartered Organization         Lds Willow Pines Ward                                   Kaysville Central Stake                331 S 50 W                                              Kaysville, UT 84037                                       First Class Mail
Chartered Organization         Lds Willow Springs Ward                                 Utah National Parks 591                8273 N Simpson Springs Rd                               Eagle Mountain, UT 84005                                  First Class Mail
Chartered Organization         Lds Willow Valley Ward                                  Cache West Stake                       825 N 200 W                                             Logan, UT 84321                                           First Class Mail
Chartered Organization         Lds Willow Ward ‐ Wasilla Stake                         Great Alaska Council 610               7362 W Parks Hwy 776                                    Willow, AK 99688                                          First Class Mail
Chartered Organization         Lds Willow Wood Ward                                    Utah National Parks 591                1985 N Main St                                          Cedar City, UT 84721                                      First Class Mail
Chartered Organization         Lds Willow Wood Ward                                    Centerville Ut N Stake                 1298 N 400 W                                            Centerville, UT 84014                                     First Class Mail
Chartered Organization         Lds Willowbrook Ward ‐ Kennewick Stake                  Blue Mountain Council 604              10376 Ridgeline Dr                                      Kennewick, WA 99338‐2334                                  First Class Mail
Chartered Organization         Lds Willows Ward                                        Utah National Parks 591                505 E 900 N                                             Spanish Fork, UT 84660‐5637                               First Class Mail
Chartered Organization         Lds Willows Ward ‐ Gilbert Az Gateway Stk               Grand Canyon Council 010               3290 E Tyson St                                         Gilbert, AZ 85295‐3428                                    First Class Mail
Chartered Organization         Lds Willows Ward Chico Stake                            Golden Empire Council 047              810 N Humboldt Ave                                      Willows, CA 95988                                         First Class Mail
Chartered Organization         Lds Willows Ward Kirkland Stake                         Chief Seattle Council 609              7720 126Th Ave Ne                                       Kirkland, WA 98033                                        First Class Mail
Chartered Organization         Lds Willows Ward Lakes Stake                            Las Vegas Area Council 328             9825 W Desert Inn Rd                                    Las Vegas, NV 89117‐8401                                  First Class Mail
Chartered Organization         Lds Wilmington 1St Ward                                 Wilmington Nc Stake                    514 S College Rd                                        Wilmington, NC 28403‐2807                                 First Class Mail
Chartered Organization         Lds Wilmington 2Nd Ward                                 Wilmington De Stake                    143 Dickinson Ln                                        Wilmington, DE 19807‐3139                                 First Class Mail
Chartered Organization         Lds Wilmington 2Nd Ward                                 Wilmington Nc Stake                    514 S College Rd                                        Wilmington, NC 28403‐2807                                 First Class Mail
Chartered Organization         Lds Wilmington Branch                                   Cincinnati Ohio East Stake (Coes)      2415 Wayne Rd                                           Wilmington, OH 45177‐1189                                 First Class Mail
Chartered Organization         Lds Wilmington Ward ‐ Wilmington De Stake               Del Mar Va 081                         143 Dickinson Ln                                        Wilmington, DE 19807‐3139                                 First Class Mail
Chartered Organization         Lds Wilson Ward                                         East Carolina Council 426              3110 Westshire Dr N                                     Wilson, NC 27896‐1717                                     First Class Mail
Chartered Organization         Lds Wilsonville Ward Lake Oswego Stake                  Cascade Pacific Council 492            29350 Sw Town Center Loop E                             Wilsonville, OR 97070‐9400                                First Class Mail
Chartered Organization         Lds Wilton Ward Elk Grove Stake                         Golden Empire Council 047              8925 Vintage Park Dr                                    Sacramento, CA 95829‐1612                                 First Class Mail
Chartered Organization         Lds Winchester Church Of Jesus Christ                   Simon Kenton Council 441               6880 Oakridge Rd                                        Hillsboro, OH 45133‐7652                                  First Class Mail
Chartered Organization         Lds Winchester Hills First                              Utah National Parks 591                5338 N Winchester Dr S                                  St George, UT 84770                                       First Class Mail
Chartered Organization         Lds Winchester Hills Second Ward                        Utah National Parks 591                5300 N Winchester Dr                                    St George, UT 84770                                       First Class Mail
Chartered Organization         Lds Winchester Ward                                     Blue Grass Council 204                 General Delivery                                        Winchester, KY 40391                                      First Class Mail
Chartered Organization         Lds Winchester Ward ‐ Murrieta Stake                    California Inland Empire Council 045   38980 Sky Canyon Dr                                     Murrieta, CA 92563                                        First Class Mail
Chartered Organization         Lds Winchester Ward, Winchester,Va Stake                Shenandoah Area Council 598            399 Apple Pie Ridge Rd                                  Winchester, VA 22603                                      First Class Mail
Chartered Organization         Lds Winchester Ward/Murray West Stake                   Great Salt Lake Council 590            6300 S 700 W                                            Murray, UT 84123                                          First Class Mail
Chartered Organization         Lds Wind River Ward, Riverton Stake                     Greater Wyoming Council 638            85 Sharp Nose Rd                                        Riverton, WY 82501                                        First Class Mail
Chartered Organization         Lds Windcrest Ward ‐ East Stake                         Alamo Area Council 583                 8801 Midcrown Dr                                        Windcrest, TX 78239‐2004                                  First Class Mail
Chartered Organization         Lds Winder 10Th Ward/S L Winder Stk                     Great Salt Lake Council 590            4366 S 1500 E                                           Salt Lake City, UT 84124                                  First Class Mail
Chartered Organization         Lds Winder 11Th Ward/S L Winder West Stk                Great Salt Lake Council 590            951 E 3825 S                                            Salt Lake City, UT 84106‐1968                             First Class Mail
Chartered Organization         Lds Winder 12Th Ward/S L Winder West Stk                Great Salt Lake Council 590            4350 S 1100 E                                           Salt Lake City, UT 84124                                  First Class Mail
Chartered Organization         Lds Winder 18Th Branch (Spanish)                        Sl Winder Stake                        4366 S 1500 E                                           Salt Lake City, UT 84124                                  First Class Mail
Chartered Organization         Lds Winder 2Nd Ward/S L Winder Stk                      Great Salt Lake Council 590            1361 E 4000 S                                           Salt Lake City, UT 84124                                  First Class Mail
Chartered Organization         Lds Winder 3Rd Ward/S L Winder West Stk                 Great Salt Lake Council 590            4551 S 1200 E                                           Salt Lake City, UT 84117                                  First Class Mail
Chartered Organization         Lds Winder 4Th Ward/S L Winder West Stk                 Great Salt Lake Council 590            951 E 3825 S                                            Salt Lake City, UT 84106‐1968                             First Class Mail
Chartered Organization         Lds Winder 5Th Ward/S L Winder Stk                      Great Salt Lake Council 590            1361 E 4000 S                                           Salt Lake City, UT 84124                                  First Class Mail
Chartered Organization         Lds Winder 6Th Ward/S L Winder Stk                      Great Salt Lake Council 590            4366 S 1500 E                                           Salt Lake City, UT 84124                                  First Class Mail
Chartered Organization         Lds Winder 7Th Ward/S L Winder West Stk                 Great Salt Lake Council 590            4350 S 1100 E                                           Salt Lake City, UT 84124                                  First Class Mail
Chartered Organization         Lds Winder 9Th Ward/S L Winder Stk                      Great Salt Lake Council 590            1475 E 4705 S                                           Salt Lake City, UT 84117                                  First Class Mail
Chartered Organization         Lds Winder Ward ‐ Athens Stake                          Northeast Georgia Council 101          36 Sims Rd                                              Winder, GA 30680‐3566                                     First Class Mail
Chartered Organization         Lds Windermere Orlando South                            Central Florida Council 083            3001 S Apopka Vineland Rd                               Orlando, FL 32835                                         First Class Mail
Chartered Organization         Lds Windmill South Stake                                Las Vegas Area Council 328             6325 W Hacienda                                         Las Vegas, NV 89113                                       First Class Mail
Chartered Organization         Lds Windmill Spgs Ward ‐ Livermore Stake                San Francisco Bay Area Council 028     1501 Hillcrest Ave                                      Livermore, CA 94550                                       First Class Mail
Chartered Organization         Lds Windrift Ward ‐ Gilbert Az Stk                      Grand Canyon Council 010               365 N Lindsay Rd                                        Gilbert, AZ 85234‐5856                                    First Class Mail
Chartered Organization         Lds Windrose Park Ward ‐ Peoria Az Stk                  Grand Canyon Council 010               12951 N 83Rd Ave                                        Peoria, AZ 85381                                          First Class Mail
Chartered Organization         Lds Windsor Eighth Ward (Spanish)                       Utah National Parks 591                1375 N 90 E                                             Orem, UT 84057‐6262                                       First Class Mail
Chartered Organization         Lds Windsor Fifth Ward                                  Utah National Parks 591                60 E 1600 N                                             Orem, UT 84057                                            First Class Mail
Chartered Organization         Lds Windsor First Ward                                  Utah National Parks 591                1362 N 430 E                                            Orem, UT 84097‐6235                                       First Class Mail
Chartered Organization         Lds Windsor Fourth Ward                                 Utah National Parks 591                1875 N 280 W                                            Orem, UT 84057                                            First Class Mail
Chartered Organization         Lds Windsor Meadows 1St Ward                            Layton West Stake                      2800 W Gordon Ave                                       Layton, UT 84041                                          First Class Mail
Chartered Organization         Lds Windsor Meadows 2Nd Ward                            Clearfield South Stake                 315 Chelemes Way (2200 S)                               Layton, UT 84041                                          First Class Mail
Chartered Organization         Lds Windsor Second Ward                                 Utah National Parks 591                60 E 1600 N                                             Orem, UT 84057                                            First Class Mail
Chartered Organization         Lds Windsor Seventh Ward                                Utah National Parks 591                1405 N Main St                                          Orem, UT 84057                                            First Class Mail
Chartered Organization         Lds Windsor Sixth Ward                                  Utah National Parks 591                60 E 1600 N                                             Orem, UT 84057                                            First Class Mail
Chartered Organization         Lds Windsor Third Ward                                  Utah National Parks 591                1405 N Main St                                          Orem, UT 84057                                            First Class Mail
Chartered Organization         Lds Windsor Ward ‐ Mesa Az                              Kimball E Stake                        532 S Greenfield Rd                                     Mesa, AZ 85206‐2017                                       First Class Mail
Chartered Organization         Lds Windsor Ward Amarillo Tx Stake                      Golden Spread Council 562              5401 Bell St                                            Amarillo, TX 79109‐6221                                   First Class Mail
Chartered Organization         Lds Wines Park Ward                                     Utah National Parks 591                200 N Center St                                         Lehi, UT 84043‐1829                                       First Class Mail
Chartered Organization         Lds Wingfield Hills Ward                                Sparks East Stake                      5547 Vista Terrace Ln                                   Sparks, NV 89436‐7690                                     First Class Mail
Chartered Organization         Lds Winstead Ward ‐ Boise N Stk                         Ore‐Ida Council 106 ‐ Bsa 106          6711 Nview St                                           Boise, ID 83704                                           First Class Mail
Chartered Organization         Lds Winston Ward Roseburg Stake                         Oregon Trail Council 697               340 Nw Glenhart Ave                                     Winston, OR 97496                                         First Class Mail
Chartered Organization         Lds Winston‐Salem Ward                                  Old Hickory Council 427                4780 Westchester Rd                                     Winston Salem, NC 27103‐1223                              First Class Mail
Chartered Organization         Lds Winter Park Orlando                                 Central Florida Council 083            45 E Par St                                             Orlando, FL 32804‐3928                                    First Class Mail
Chartered Organization         Lds Winter Quarters Ward Omaha Stake                    Mid‐America Council 326                5217 N 54Th St                                          Omaha, NE 68104‐1705                                      First Class Mail
Chartered Organization         Lds Winters Run Ward                                    Baltimore Area Council 220             2810 Emmorton Rd                                        Abingdon, MD 21009‐1625                                   First Class Mail
Chartered Organization         Lds Winters Ward Woodland Stake                         Golden Empire Council 047              435 Anderson Ave                                        Winters, CA 95694‐1609                                    First Class Mail
Chartered Organization         Lds Wintersville Pittsburgh West                        Ohio River Valley Council 619          437 Powells Ln                                          Wintersville, OH 43953                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                   Page 243 of 442
                                                                                 Case 20-10343-LSS                                      Doc 8171                                           Filed 01/06/22                                                    Page 259 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                       Name                                                                                              Address                                                                                                             Email              Method of Service
Chartered Organization         Lds Wisconsin Rapids Ward ‐ Wausau Stake                    Samoset Council, Bsa 627                2640 14Th St S                                                 Wisconsin Rapids, WI 54494‐7962                                                                       First Class Mail
Chartered Organization         Lds Wiseman Ward ‐ Sa Stake                                 Alamo Area Council 583                  10819 W Military Dr                                            San Antonio, TX 78251‐3904                                                                            First Class Mail
Chartered Organization         Lds Wlake Village 1St Ward                                  Newbury Park Stake                      32165 Watergate Rd                                             Westlake Village, CA 91361‐3602                                                                       First Class Mail
Chartered Organization         Lds Wminster Ward                                           Huntington Beach N Stake                14271 Locust St                                                Westminster, CA 92683‐5005                                                                            First Class Mail
Chartered Organization         Lds Wolf Hollow First Ward                                  Utah National Parks 591                 1150 E 1240 S                                                  Spanish Fork, UT 84660                                                                                First Class Mail
Chartered Organization         Lds Wolf Hollow Second Ward                                 Utah National Parks 591                 870 E Canyon Rd                                                Spanish Fork, UT 84660                                                                                First Class Mail
Chartered Organization         Lds Wolfeboro Ward, Concord Nh Stake                        Daniel Webster Council, Bsa 330         5 Storytelling Rock Rd                                         Wolfeboro, NH 03894‐4063                                                                              First Class Mail
Chartered Organization         Lds Wood Canyon Ward ‐ Laguna Niguel Stake                  Orange County Council 039               22851 Aliso Creek Rd                                           Aliso Viejo, CA 92656                                                                                 First Class Mail
Chartered Organization         Lds Woodbriar Ward                                          North Salt Lake Ut Stake                900 Eaglepointe Dr                                             North Salt Lake, UT 84054                                                                             First Class Mail
Chartered Organization         Lds Woodbridge 1St Ward Woodbridge Stake                    National Capital Area Council 082       3000 Dale Blvd                                                 Woodbridge, VA 22193                                                                                  First Class Mail
Chartered Organization         Lds Woodbridge 2Nd Ward Irvine Stake                        Orange County Council 039               23 Lake Rd                                                     Irvine, CA 92604‐4579                                                                                 First Class Mail
Chartered Organization         Lds Woodbridge 2Nd Ward Woodbridge Stake                    National Capital Area Council 082       3718 Old Bridge Rd                                             Woodbridge, VA 22192‐5002                                                                             First Class Mail
Chartered Organization         Lds Woodbridge Stake Potomac River Ward                     National Capital Area Council 082       3000 Dale Blvd                                                 Woodbridge, VA 22193                                                                                  First Class Mail
Chartered Organization         Lds Woodbridge Ward ‐ Irvine Stake                          Orange County Council 039               23 Lake Rd                                                     Irvine, CA 92604‐4579                                                                                 First Class Mail
Chartered Organization         Lds Woodbridge Ward New Haven Stake                         Connecticut Yankee Council Bsa 072      990 Racebrook Rd                                               Woodbridge, CT 06525                                                                                  First Class Mail
Chartered Organization         Lds Woodburn Ward Keizer Stake                              Cascade Pacific Council 492             1000 Country Club Rd                                           Woodburn, OR 97071                                                                                    First Class Mail
Chartered Organization         Lds Woodcrest Ward ‐ Riverside Stake                        California Inland Empire Council 045    16930 Via Los Caballeros                                       Riverside, CA 92504‐6187                                                                              First Class Mail
Chartered Organization         Lds Woodglen Park Ward ‐ Mesa Az Alma Stk                   Grand Canyon Council 010                2520 N Hartford St                                             Chandler, AZ 85225                                                                                    First Class Mail
Chartered Organization         Lds Woodhaven Ward                                          Utah National Parks 591                 7907 N Red River Dr                                            Eagle Mountain, UT 84005‐7206                                                                         First Class Mail
Chartered Organization         Lds Woodhaven Ward Tualatin Stake                           Cascade Pacific Council 492             17234 Sw Meinecke Rd                                           Sherwood, OR 97140                                                                                    First Class Mail
Chartered Organization         Lds Woodington Ward                                         East Carolina Council 426               6655 Hwy 258 S                                                 Deep Run, NC 28525                                                                                    First Class Mail
Chartered Organization         Lds Woodinville Ward Bothell Stake                          Chief Seattle Council 609               16500 124Th Ave Ne                                             Woodinville, WA 98072                                                                                 First Class Mail
Chartered Organization         Lds Woodlake Ward ‐ Cibolo Valley Stake                     Alamo Area Council 583                  8801 Midcrown Dr                                               Windcrest, TX 78239‐2004                                                                              First Class Mail
Chartered Organization         Lds Woodland 1St Ward Woodland Stake                        Golden Empire Council 047               805 Pioneer                                                    Woodland, CA 95776                                                                                    First Class Mail
Chartered Organization         Lds Woodland 2Nd Ward Woodland Stake                        Golden Empire Council 047               1405 Cottonwood St                                             Woodland, CA 95695‐5133                                                                               First Class Mail
Chartered Organization         Lds Woodland Hills Ward                                     Bntfl Ut Central Stake                  640 S 750 E                                                    Bountiful, UT 84010                                                                                   First Class Mail
Chartered Organization         Lds Woodland Hills Ward (Salem)                             Utah National Parks 591                 1185 S Loafer Dr                                               Woodland Hills, UT 84653‐2085                                                                         First Class Mail
Chartered Organization         Lds Woodland Park Ward                                      Layton Hills Stake                      2400 University Park Blvd                                      Layton, UT 84041                                                                                      First Class Mail
Chartered Organization         Lds Woodland Park Ward                                      Colorado Springs Stake                  758 Apache Trl                                                 Woodland Park, CO 80863‐7425                                                                          First Class Mail
Chartered Organization         Lds Woodland Park Ward, Los Altos Stake                     Pacific Skyline Council 031             1300 Grant Rd                                                  Los Altos, CA 94024                                                                                   First Class Mail
Chartered Organization         Lds Woodland Springs 2Nd Ward                               Alliance Stake                          2509 Trophy Club Dr                                            Trophy Club, TX 76262                                                                                 First Class Mail
Chartered Organization         Lds Woodland Ward Longview Stake                            Cascade Pacific Council 492             281 Insel Rd                                                   Woodland, WA 98674‐8298                                                                               First Class Mail
Chartered Organization         Lds Woodland Ward/Kamas Ut Stk                              Great Salt Lake Council 590             2620 E State Rd 35                                             Kamas, UT 84036‐9660                                                                                  First Class Mail
Chartered Organization         Lds Woodlands 1St Ward                                      The Woodlands Stake                     P.O. Box 130051                                                The Woodlands, TX 77393‐0051                                                                          First Class Mail
Chartered Organization         Lds Woodlands 2Nd Ward                                      The Woodlands Stake                     10303 Branch Crossing Dr                                       The Woodlands, TX 77382                                                                               First Class Mail
Chartered Organization         Lds Woodlands 3Rd Ward                                      Houston W Stake                         27707 Glen Loch Dr                                             The Woodlands, TX 77381‐2989                                                                          First Class Mail
Chartered Organization         Lds Woodlands Ward ‐ Flagstaff Az West Stk                  Grand Canyon Council 010                4165 Lake Mary Rd                                              Flagstaff, AZ 86005‐8612                                                                              First Class Mail
Chartered Organization         Lds Woodledge Ward/S L Hunter South Stk                     Great Salt Lake Council 590             4444 S 5080 W                                                  Salt Lake City, UT 84120‐5723                                                                         First Class Mail
Chartered Organization         Lds Woodmen Hills Ward ‐ High Plains Stake                  Pikes Peak Council 060                  13210 Bandanero Dr                                             Peyton, CO 80831‐3801                                                                                 First Class Mail
Chartered Organization         Lds Woodmont Ward Albuquerque West Stake                    Great Swest Council 412                 7100 Woodmount Ave Nw                                          Albuquerque, NM 87114‐6188                                                                            First Class Mail
Chartered Organization         Lds Woodridge 1St Ward ‐ Naperville Stake                   Three Fires Council 127                 7201 Woodridge Dr                                              Woodridge, IL 60517‐2238                                                                              First Class Mail
Chartered Organization         Lds Woodruff Ward ‐ Holbrook Az Stk                         Grand Canyon Council 010                P.O. Box 85                                                    Woodruff, AZ 85942‐0085                                                                               First Class Mail
Chartered Organization         Lds Woodruff Ward E Lb Stake                                Long Beach Area Council 032             3824 Woodruff Ave                                              Long Beach, CA 90808‐2125                                                                             First Class Mail
Chartered Organization         Lds Woods Creek Ward Snohomish Stake                        Mount Baker Council, Bsa 606            17372 Tester Rd                                                Monroe, WA 98272                                                                                      First Class Mail
Chartered Organization         Lds Woods Cross 10Th Ward                                   Woods Cross Ut Stake                    1335 W 1500 S                                                  Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woods Cross 11Th Ward                                   Woods Cross Ut Stake                    1335 W 1500 S                                                  Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woods Cross 12Th Ward                                   W X Ut North Stake                      1509 W 1500 S                                                  Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woods Cross 13Th Ward                                   W X Ut North Stake                      1509 W 1500 S                                                  Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woods Cross 14Th Ward                                   North S L Ut Legacy Stake               1847 W 2150 S                                                  Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woods Cross 15Th Ward                                   Woods Cross Utah Stake                  2175 S 1500 W                                                  Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woods Cross 17Th Ward                                   Nsl Ut Legacy Stake                     1847 W 2150 S                                                  Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woods Cross 18Th Ward                                   North Sl Ut Legacy Stake                2304 S 2125 W                                                  Woods Cross, UT 84087‐2063                                                                            First Class Mail
Chartered Organization         Lds Woods Cross 1St Ward                                    Woods Cross Ut Stake                    2064 S 800 W                                                   Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woods Cross 2Nd Ward                                    W X Ut North Stake                      790 W 1500 S                                                   Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woods Cross 3Rd Ward                                    W X Ut North Stake                      1450 S 350 W                                                   Bountiful, UT 84010                                                                                   First Class Mail
Chartered Organization         Lds Woods Cross 4Th Ward                                    Woods Cross Ut Stake                    2175 S 1500 W                                                  Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woods Cross 5Th Ward                                    Woods Cross Ut Stake                    2064 S 800 W                                                   Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woods Cross 6Th Ward                                    W X Ut North Stake                      790 W 1500 S                                                   Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woods Cross 7Th Ward                                    Woods Cross Ut Stake                    2064 S 800 W                                                   Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woods Cross 8Th Branch                                  W X Ut North Stake                      1450 S 350 W                                                   Bountiful, UT 84010                                                                                   First Class Mail
Chartered Organization         Lds Woods Cross 9Th Ward                                    W X Ut North Stake                      790 W 1500 S                                                   Woods Cross, UT 84087                                                                                 First Class Mail
Chartered Organization         Lds Woodside Ward                                           Hacienda Heights Stake 623              1307 S Orange Ave                                              West Covina, CA 91790‐3321                                                                            First Class Mail
Chartered Organization         Lds Woodstock Br, Winchester, Va Stake                      Shenandoah Area Council 598             901 Ox Rd                                                      Woodstock, VA 22664                                                                                   First Class Mail
Chartered Organization         Lds Woodstock Ward                                          Atlanta Area Council 092                2205 Bascomb Carmel Rd                                         Woodstock, GA 30189‐2401                                                                              First Class Mail
Chartered Organization         Lds Woodstock Ward, Buffalo Grove Stake                     Blackhawk Area 660                      2016 Hartland Rd                                               Woodstock, IL 60098‐9763                                                                              First Class Mail
Chartered Organization         Lds Woodstown 1St Ward                                      Cherry Hill Nj Stake                    1194 Kings Hwy                                                 Pilesgrove, NJ 08098                                                                                  First Class Mail
Chartered Organization         Lds Woodview Ward/Kearns Ut West Stk                        Great Salt Lake Council 590             6175 W Borax Ave                                               Salt Lake City, UT 84118                                                                              First Class Mail
Chartered Organization         Lds Worcester 1St Ward                                      Blackstone Valley Stake                 117 Wachusett St                                               Holden, MA 01520‐1839                                                                                 First Class Mail
Chartered Organization         Lds Worcester 2Nd Ward                                      Blackstone Valley Stake                 67 Chester St                                                  Worcester, MA 01605‐1041                                                                              First Class Mail
Chartered Organization         Lds Worland 1St Ward, Worland Stake                         Greater Wyoming Council 638             500 Sagebrush Dr                                               Worland, WY 82401‐3128                                                                                First Class Mail
Chartered Organization         Lds Worland 2Nd Ward, Worland Stake                         Greater Wyoming Council 638             500 Sagebrush Dr                                               Worland, WY 82401‐3128                                                                                First Class Mail
Chartered Organization         Lds Worland 3Rd Ward, Worland Stake                         Greater Wyoming Council 638             500 Sagebrush Dr                                               Worland, WY 82401‐3128                                                                                First Class Mail
Chartered Organization         Lds Worthington Ward Col N Stake                            Simon Kenton Council 441                7135 Coffman Rd                                                Dublin, OH 43017‐1067                                                                                 First Class Mail
Chartered Organization         Lds Wrd Blue Grass                                          Blue Grass Council 204                  General Delivery                                               Lexington, KY 40507                                                                                   First Class Mail
Chartered Organization         Lds Wridge Ward, Highlands Ranch Stake                      Denver Area Council 061                 9800 Foothills Canyon Blvd                                     Highlands Ranch, CO 80129‐6601                                                                        First Class Mail
Chartered Organization         Lds Wright Ward, Gillette Stake                             Greater Wyoming Council 638             P.O. Box 68                                                    Wright, WY 82732‐0068                                                                                 First Class Mail
Chartered Organization         Lds Wright Ward, Gillette Stake                             Greater Wyoming Council 638             P.O. Box 489                                                   Wright, WY 82732‐0489                                                                                 First Class Mail
Chartered Organization         Lds Wrightwood Ward ‐ Victorville Stake                     California Inland Empire Council 045    888 Hwy 2                                                      Wrightwood, CA 92397                                                                                  First Class Mail
Chartered Organization         Lds Wstrn Sprgs 1St Ward                                    Riverton Ut Western Sprgs Stake         4582 W Zuni Dr                                                 Riverton, UT 84096‐7753                                                                               First Class Mail
Chartered Organization         Lds Wstrn Sprgs 2Nd Ward                                    Riverton Ut Western Sprgs Stake         12830 S 4570 W                                                 Riverton, UT 84096                                                                                    First Class Mail
Chartered Organization         Lds Wstrn Sprgs 3Rd Ward                                    Riverton Ut Western Sprgs Stake         4874 W Spirit Lake Cir                                         Riverton, UT 84096‐7493                                                                               First Class Mail
Chartered Organization         Lds Wstrn Sprgs 4Th Ward                                    Riverton Ut Western Sprgs Stake         12830 S 4570 W                                                 Riverton, UT 84065                                                                                    First Class Mail
Chartered Organization         Lds Wyoming Ward ‐ Grand Rapids Stake                       President Gerald R Ford 781             2670 56Th St Sw                                                Wyoming, MI 49519                                                                                     First Class Mail
Chartered Organization         Lds Wyoming Ward ‐ Grand Rapids Stake                       President Gerald R Ford 781             2670 56Th St Sw                                                Wyoming, MI 49519                                                                                     First Class Mail
Chartered Organization         Lds Xenia Ward                                              Dayton Ohio E Stake (Does)              3072 Shakertown Rd                                             Beavercreek, OH 45434                                                                                 First Class Mail
Chartered Organization         Lds Xenia Ward                                              Dayton Ohio E Stake (Does)              3072 Shakertown Rd                                             Beavercreek, OH 45434                                                                                 First Class Mail
Chartered Organization         Lds Ximeno Spanish Branch E Lb Stake                        Long Beach Area Council 032             1142 Ximeno Ave                                                Long Beach, CA 90804                                                                                  First Class Mail
Chartered Organization         Lds Yakima 3Rd Ward/Selah Stake                             Grand Columbia Council 614              4307 Englewood Ave                                             Yakima, WA 98908‐2624                                                                                 First Class Mail
Chartered Organization         Lds Yale Ward/S L Bonneville Stk                            Great Salt Lake Council 590             1431 E Gilmer Dr                                               Salt Lake City, UT 84105                                                                              First Class Mail
Chartered Organization         Lds Yalecrest 1St Ward                                      S L Bonneville Stake                    1035 S 1800 E                                                  Salt Lake City, UT 84108                                                                              First Class Mail
Chartered Organization         Lds Yalecrest 2Nd Ward                                      S L Bonneville Stake                    1035 S 1800 E                                                  Salt Lake City, UT 84108                                                                              First Class Mail
Chartered Organization         Lds Yamhill Ward Mcminnville Stake                          Cascade Pacific Council 492             7200 Nw Pike Rd                                                Yamhill, OR 97148‐8238                                                                                First Class Mail
Chartered Organization         Lds Yellow Creek Ward                                       Evanston South Stake                    632 Twin Ridge Ave                                             Evanston, WY 82930‐5110                                                                               First Class Mail
Chartered Organization         Lds Yellow Sage Ward                                        Herriman Ut Mtn View Stake              14068 S 5600 W                                                 Herriman, UT 84096                                                                                    First Class Mail
Chartered Organization         Lds Yerba Buena Ward ‐ San Jose Stake                       Silicon Valley Monterey Bay 055         3975 Mclaughlin Ave                                            San Jose, CA 95121‐2631                                                                               First Class Mail
Chartered Organization         Lds Yerington Ward Fallon North Stake                       Nevada Area Council 329                 600 N Oregon St                                                Yerington, NV 89447‐2332                                                                              First Class Mail
Chartered Organization         Lds Yigo Ward                                               Aloha Council, Bsa 104                  136 Chalan Dokdok                                              Yigo, GU 96929‐2700                                                                                   First Class Mail
Chartered Organization         Lds Ymmia                                                   Northern New Jersey Council, Bsa 333    140 White Oak Ridge Rd                                         Short Hills, NJ 07078‐1820                                                                            First Class Mail
Chartered Organization         Lds Ymmia Short Hills Ward Nj                               Northern New Jersey Council, Bsa 333    140 White Oak Ridge Rd                                         Short Hills, NJ 07078‐1820                                                                            First Class Mail
Chartered Organization         Lds Yokota Servicemen's Branch                              Far E Council 803                       Psc 78 Box 3593                                                Apo, AP 96326‐0036                                                                                    First Class Mail
Chartered Organization         Lds Yongsan Servicemans Branch                              Far E Council 803, Unit 15549 Box 48    APO, AP 96205                                                                                                                                                        First Class Mail
Chartered Organization         Lds Yorba Linda 3Rd Ward ‐ Anaheim E Stake                  Orange County Council 039               5550 Ohio St                                                   Yorba Linda, CA 92886                                                                                 First Class Mail
Chartered Organization         Lds Yorba Linda 4Th Ward ‐ Anaheim E Stake                  Orange County Council 039               5265 Avenida De Despacio                                       Yorba Linda, CA 92887‐4002                                                                            First Class Mail
Chartered Organization         Lds Yorba Linda 5Th Ward ‐ Anaheim E Stake                  Orange County Council 039               5550 Ohio St                                                   Yorba Linda, CA 92886                                                                                 First Class Mail
Chartered Organization         Lds Yorba Linda Ward ‐ Placentia Stake                      Orange County Council 039               17130 Bastanchury Rd                                           Yorba Linda, CA 92886                                                                                 First Class Mail
Chartered Organization         Lds York Ward                                               The Ch Of Jesus Christ Of Lds           1130 Alexander Love Hwy E                                      York, SC 29745‐9701                                                                                   First Class Mail
Chartered Organization         Lds York Ward, Lancaster Stake                              New Birth Of Freedom 544                2100 Hollywood Dr                                              York, PA 17403‐4847                                                                                   First Class Mail
Chartered Organization         Lds York Ward,Lancaster Stake                               New Birth Of Freedom 544                2100 Hollywood Dr                                              York, PA 17403‐4847                                                                                   First Class Mail
Chartered Organization         Lds Youngstown Ward Youngstown Stake                        Great Trail 433                         2205 Tibbets‐Wick Rd                                           Youngstown, OH 44505                                                                                  First Class Mail
Chartered Organization         Lds Ypsilanti Ward ‐ Ann Arbor Stake                        Southern Shores Fsc 783                 941 S Grove St                                                 Ypsilanti, MI 48198‐6467                                                                              First Class Mail
Chartered Organization         Lds Yreka Ward ‐ Medford Stake                              Crater Lake Council 491                 1001 W Miner St                                                Yreka, CA 96097‐2720                                                                                  First Class Mail
Chartered Organization         Lds Yuba City Ward Yuba City Stake                          Golden Empire Council 047               1470 Butte House Rd                                            Yuba City, CA 95993‐2702                                                                              First Class Mail
Chartered Organization         Lds Yucaipa 1St Ward ‐ Yucaipa Stake                        California Inland Empire Council 045    306 E Ave L                                                    Calimesa, CA 92320‐1418                                                                               First Class Mail
Chartered Organization         Lds Yucaipa 2Nd Ward ‐ Yucaipa Stake                        California Inland Empire Council 045    12776 6Th St                                                   Yucaipa, CA 92399‐2513                                                                                First Class Mail
Chartered Organization         Lds Yucaipa 3Rd Ward ‐ Yucaipa Stake                        California Inland Empire Council 045    12776 6Th St                                                   Yucaipa, CA 92399‐2513                                                                                First Class Mail
Chartered Organization         Lds Yucaipa 4Th Ward ‐ Yucaipa Stake                        California Inland Empire Council 045    306 E Ave L                                                    Calimesa, CA 92320‐1418                                                                               First Class Mail
Chartered Organization         Lds Yucaipa 5Th Ward ‐ Yucaipa Stake                        California Inland Empire Council 045    12776 6Th St                                                   Yucaipa, CA 92399‐2513                                                                                First Class Mail
Chartered Organization         Lds Yucca Mesa Ward ‐ Yucca Valley Stake                    California Inland Empire Council 045    Sage & Onaga                                                   Yucca Valley, CA 92284                                                                                First Class Mail
Chartered Organization         Lds Yuma Valley Ward ‐ Yuma Az Stk                          Grand Canyon Council 010                4200 W 18Th St                                                 Yuma, AZ 85364‐4842                                                                                   First Class Mail
Chartered Organization         Lds Yuma Ward ‐Yuma Az Stk                                  Grand Canyon Council 010                2895 S 8Th Ave                                                 Yuma, AZ 85364‐8047                                                                                   First Class Mail
Chartered Organization         Lds Zama Military Branch                                    Far E Council 803                       Unit 45013 Box 2637 Usag‐J                                     Apo, AP 96502‐5013                                                                                    First Class Mail
Chartered Organization         Lds Zanesville Ward                                         Columbus Ohio E Stake                   3300 Kearns Dr                                                 Zanesville, OH 43701                                                                                  First Class Mail
Chartered Organization         Lds Zilker Park Ward, Austin Stake                          Capitol Area Council 564                2111 Parker Ln                                                 Austin, TX 78741‐3807                                                                                 First Class Mail
Chartered Organization         Lds Zillah Ward/Yakima Stake                                Grand Columbia Council 614              171 Valleyview Rd                                              Zillah, WA 98953‐9297                                                                                 First Class Mail
Chartered Organization         Lds Zintel Canyon Ward ‐ Kennewick E Stake                  Blue Mountain Council 604               820 S Buntin St                                                Kennewick, WA 99336‐4827                                                                              First Class Mail
Chartered Organization         LDSLake Michigan Ward Milw Wi N Stake                       Three Harbors Council 636               9906 W Calumet Rd                                              Milwaukee, WI 53224‐3202                                                                              First Class Mail
Chartered Organization         LDSMuskego Lakes Ward Milw Wi S Stake                       Three Harbors Council 636               9600 W Grange Ave                                              Hales Corners, WI 53130‐1640                                                                          First Class Mail
Chartered Organization         LDSW Allis Ward Milw Wi S Stake                             Three Harbors Council 636               9600 W Grange Ave                                              Hales Corners, WI 53130‐1640                                                                          First Class Mail
Chartered Organization         Le Donne True Value Store                                   Three Fires Council 127                 1750 N Taft Ave                                                Berkeley, IL 60163‐1555                                                                               First Class Mail
Chartered Organization         Le Sueur Lions Club                                         Northern Star Council 250               123 Outer Dr                                                   Le Sueur, MN 56058‐2125                                                                               First Class Mail
Chartered Organization         Lea County Sheriff                                          Conquistador Council Bsa 413            1417 S Commercial St                                           Lovington, NM 88260‐5717                                                                              First Class Mail
Voting Party                   Lea Joyner Memorial United Methodist Church                 Attn: Vicki Fuller                      4390 Old Sterlington Rd                                        Monroe, LA 71203                                                     leajoynerchurch@gmail.com        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Lea Joyner Utd Methodist Church                             Louisiana Purchase Council 213          4390 Old Sterlington Rd                                        Monroe, LA 71203‐2359                                                                                 First Class Mail
Voting Party                   Leachville United Methodist                                 Attn: Paul Rennett                      P.O. Box 691                                                   Leachville, AR 72438                                                 rennetproduce@gmail.com          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Lead First Foundation                                       South Texas Council 577                 500 N Shoreline Blvd Ste 807                                   Corpus Christi, TX 78401‐0336                                                                         First Class Mail
Chartered Organization         Leadership Martin Cnty Alumni Assoc Inc                     Gulf Stream Council 085                 P.O. Box 794                                                   Stuart, FL 34995‐0794                                                                                 First Class Mail
Chartered Organization         Leadership Service And Values Group                         Orange County Council 039               P.O. Box 3894                                                  Costa Mesa, CA 92628‐3894                                                                             First Class Mail
Chartered Organization         Leading Enrichment Afterschool, DelValle                    Capitol Area Council 564                4900 Mckinney Falls Pkwy                                       Austin, TX 78744‐6222                                                                                 First Class Mail
Voting Party                   Leaf River United Methodist Church                          104 E 3rd St                            Leaf River, IL 61047                                                                                                                leafriverumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   League City United Methodist Church                         Attn: Pastor/Joel McMahon               1601 W League City Pkwy                                        League City, TX 77573                                                joel@lcumc.tv                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Leahey & Johnson, PC                                        Attn: Peter Johnson                     120 Wall St                                                    New York, NY 10005                                                   peter@leaheyandjohnson.com       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Leaksville U Methodist Church Men                           Old N State Council 070                 612 Business Park Dr Ste B                                     Eden, NC 27288‐6461                                                                                   First Class Mail
Voting Party                   Leaksville United Methodist Church 603 Henry St, Eden, NC   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Leander Police Dept                                         Capitol Area Council 564                705 Leander Dr                                                 Leander, TX 78641‐2024                                                                                First Class Mail
Voting Party                   Leander United Methodist Church                             Attn: Laura H Becker                    107 S West Dr                                                  Leander, TX 78641                                                    laura.becker@leanderumc.org      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Leander Utd Methodist Church                                Capitol Area Council 564                P.O. Box 281                                                   Leander, TX 78646‐0281                                                                                First Class Mail
Chartered Organization         Learn Build Fly                                             Samoset Council, Bsa 627                917 N 6Th Ave                                                  Wausau, WI 54401‐2834                                                                                 First Class Mail
Chartered Organization         Learn Charter School Network                                Northeast Illinois 129                  1200 W Glen Flora Ave                                          Waukegan, IL 60085‐1753                                                                               First Class Mail
Chartered Organization         Learning Detectives LLC                                     Grand Canyon Council 010                22424 S Ellsworth Loop Rd Unit 556                             Queen Creek, AZ 85142‐7077                                                                            First Class Mail
Chartered Organization         Learning Excellence Fndn S Pb Inc                           Gulf Stream Council 085                 3333 High Ridge Rd                                             Boynton Beach, FL 33426‐8745                                                                          First Class Mail
Voting Party                   Learning For Life                                           1325 W Walnut Hill Ln                   Irving, TX 75038‐3008                                                                                                                                                First Class Mail
Chartered Organization         Learning Gate Community School                              Greater Tampa Bay Area 089              16215 Hanna Rd                                                 Lutz, FL 33549‐5701                                                                                   First Class Mail
Voting Party                   Leatherstocking Council of The Boy Scouts Of America, Inc   Attn: Ray Eschenbach                    1401 Genesee St                                                Utica, NY 13501                                                      Ray.Eschenbach@scouting.org      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Leatherstocking Council of The Boy Scouts Of America, Inc   Attn: Camille W Hill                    One Lincoln Center                                             Syracuse, NY 13202                                                   chill@bsk.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Leave No Trace Center For Outdoor Ethics                    P.O. Box 997                            Boulder, CO 80306‐0997                                                                                                                                               First Class Mail
Chartered Organization         Leavenworth 1st Utd Methodist Ch                            Heart Of America Council 307            422 Chestnut St                                                Leavenworth, KS 66048‐2727                                                                            First Class Mail
Chartered Organization         Leawood Elementary School                                   Denver Area Council 061                 6685 S Pearl St                                                Centennial, CO 80121‐2343                                                                             First Class Mail
Chartered Organization         Leawood Presbyterian Church                                 Heart Of America Council 307            2715 W 83Rd St                                                 Shawnee Mission, KS 66206‐1150                                                                        First Class Mail
Voting Party                   Leawood UMC                                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Leawood Utd Methodist Church                                Heart Of America Council 307            2915 W 95Th St                                                 Leawood, KS 66206‐2146                                                                                First Class Mail
Chartered Organization         Leawood Utd Methodist Men                                   Heart Of America Council 307            2915 W 95Th St                                                 Leawood, KS 66206‐2146                                                                                First Class Mail
Voting Party                   Lebanon Christian Church, Inc                               c/o Plews Shadley Racher & Braun LLP    Attn: Josh S Tatum                                             1346 N Delaware St                Indianapolis, IN 46202             jtatum@psrb.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Lebanon Covenant UMC                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Lebanon Covenant UMC                                        346 N 9th St                            Lebanon, PA 17046                                                                                                                                                    First Class Mail
Chartered Organization         Lebanon Elks Lodge 1663                                     Cascade Pacific Council 492             41 W Maple St                                                  Lebanon, OR 97355‐3221                                                                                First Class Mail
Chartered Organization         Lebanon Elks Lodge 2557                                     Ozark Trails Council 306                P.O. Box 864                                                   Lebanon, MO 65536‐0864                                                                                First Class Mail
Chartered Organization         Lebanon Evangelical Lutheran Church                         President Gerald R Ford 781             1101 S Mears Ave                                               Whitehall, MI 49461‐1730                                                                              First Class Mail
Voting Party                   Lebanon First United Methodist Church                       415 W Main St                           Lebanon, TN 37087                                                                                                                   cori@lebanonfumc.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Lebanon Lions Club                                          Greater St Louis Area Council 312       210 N Pearl St                                                 Lebanon, IL 62254‐1423                                                                                First Class Mail
Chartered Organization         Lebanon Lodge No 346 Af+Am                                  Northern Star Council 250               4821 W 124Th St                                                Savage, MN 55378‐1314                                                                                 First Class Mail
Chartered Organization         Lebanon Lutheran Church                                     President Gerald R Ford 781             1101 S Mears Ave                                               Whitehall, MI 49461‐1730                                                                              First Class Mail
Chartered Organization         Lebanon Optimist Club                                       Dan Beard Council, Bsa 438              P.O. Box 778                                                   Lebanon, OH 45036‐0778                                                                                First Class Mail
Chartered Organization         Lebanon Police Dept                                         Crossroads Of America 160               201 E Main St                                                  Lebanon, IN 46052‐2686                                                                                First Class Mail
Chartered Organization         Lebanon Presbyterian Church                                 Dan Beard Council, Bsa 438              123 N East St                                                  Lebanon, OH 45036‐1851                                                                                First Class Mail
Chartered Organization         Lebanon Presbyterian Church                                 Laurel Highlands Council 527            2702 Old Elizabeth Rd                                          West Mifflin, PA 15122‐2534                                                                           First Class Mail
Chartered Organization         Lebanon Presbyterian Church                                 Laurel Highlands Council 527            2800 Old Elizabeth Rd                                          West Mifflin, PA 15122‐2535                                                                           First Class Mail
Chartered Organization         Lebanon Stem Foundation                                     Crossroads Of America 160               223 W North St                                                 Lebanon, IN 46052‐2121                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 244 of 442
                                                                                  Case 20-10343-LSS                                      Doc 8171                                  Filed 01/06/22                                                      Page 260 of 457
                                                                                                                                                                      Exhibit B
                                                                                                                                                                       Service List
                                                                                                                                                                Served as set forth below

        Description                                                        Name                                                                                     Address                                                                                                                Email              Method of Service
Voting Party                   Lebanon UMC                                               c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lebanon United Methodist Church                           Attn: George Armstrong                    18 School St                                           Lebanon, NH 03766                                                      office@lebanonumc.net             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lebanon United Methodist Church                           Attn: Andrew Sizemore                     10220 Garners Ferry Rd                                 Eastover, SC 29044                                                     awsizemore@umcsc.org              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lebanon United Methodist Church Lebanon Ohio              Attn: Hope@Boneandbonecpas.com            18 N East St                                           Lebanon, OH 45036                                                      hope@boneandbonecpas.com          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lebanon United Methodist Church Lebanon Ohio              Attn: Gary M Kuntz                        457 Eastview Dr                                        Lebanon, OH 45036                                                      gkuntz@zoomtown.com               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lebanon United Methodist Church of Neeses, SC, Inc        Attn: Rev Nicholas Perez                  207 St Johns Ave                                       Norway, SC 29113                                                       ndperez@umcsc.org                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lebanon United Methodist Church of Neeses, SC, Inc        Attn: Nicholas Perez                      768 Calvary Church Rd                                  Neeses, SC 29107                                                       ndperez@umcsc.org                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lebanon Utd Methodist Church                              Lincoln Heritage Council 205              236 N Spalding Ave                                     Lebanon, KY 40033‐1519                                                                                   First Class Mail
Chartered Organization         Lebanon Utd Methodist Church                              Dan Beard Council, Bsa 438                122 E Silver St                                        Lebanon, OH 45036‐1812                                                                                   First Class Mail
Chartered Organization         Lebanon Utd Methodist Church                              Sequoyah Council 713                      24 Tate St                                             Lebanon, VA 24266‐6095                                                                                   First Class Mail
Chartered Organization         Lebanon Valley Sertoma Club                               Pennsylvania Dutch Council 524            P.O. Box 444                                           Lebanon, PA 17042‐0444                                                                                   First Class Mail
Chartered Organization         LebanonTownship Elem ParentTeacher Assoc                  Washington Crossing Council 777           400 County Rd 513                                      Califon, NJ 07830‐5102                                                                                   First Class Mail
Chartered Organization         Lebo Lions Club                                           Jayhawk Area Council 197                  214 W 4Th St                                           Lebo, KS 66856                                                                                           First Class Mail
Chartered Organization         Lecenter Sportman Club                                    Northern Star Council 250                 25 E Derrynane St                                      Le Center, MN 56057‐1601                                                                                 First Class Mail
Chartered Organization         Leckie PTA                                                National Capital Area Council 082         4201 Mlk Jr Ave Sw                                     Washington, DC 20032‐1328                                                                                First Class Mail
Chartered Organization         Ledgeview Elementary School PTO                           Greater Niagara Frontier Council 380      5150 Old Goodrich Rd                                   Clarence, NY 14031‐2406                                                                                  First Class Mail
Chartered Organization         Ledgewood Christian Church‐Protestant                     Lake Erie Council 440                     8261 Kinsman Rd                                        Novelty, OH 44072‐9529                                                                                   First Class Mail
Voting Party                   Ledyard United Methodist Church                           Attn: Charles Minster                     13 Laflure Ln                                          Peru, NY 12972                                                         cnkminster@hotmail.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Ledyard United Methodist Church                           Attn: Robert Landon                       P.O. Box 40                                            King Ferry, NY 13081‐0040                                              blandon@currentcontrols.com       Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lee Church Congregational                                 Daniel Webster Council, Bsa 330           17 Mast Rd                                             Lee, NH 03861‐6567                                                                                       First Class Mail
Chartered Organization         Lee County Fire                                           Pee Dee Area Council 552                  P.O. Box 87                                            Bishopville, SC 29010‐0087                                                                               First Class Mail
Chartered Organization         Lee County Sheriff Dept                                   Mississippi Valley Council 141 141        2530 255Th St                                          Montrose, IA 52639‐9552                                                                                  First Class Mail
Chartered Organization         Lee County Sheriffs Dept                                  Southwest Florida Council 088             14750 Ben 6 Mile Pkwy                                  Fort Myers, FL 33912‐4406                                                                                First Class Mail
Chartered Organization         Lee Junior High School                                    Louisiana Purchase Council 213            1600 N 19Th St                                         Monroe, LA 71201‐4546                                                                                    First Class Mail
Voting Party                   Lee Kersten                                               777 Coburg Rd                             Eugene, OR 97408                                                                                                                                                First Class Mail
Firm                           Lee M. Herman, Esquire                                    Lee M. Herman, Esquire                    280 Providence Road, Ste 4                             Media, PA 19087                                                        lmh@lmhlaw.com                    Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lee Utd Methodist Church                                  Suwannee River Area Council 664           246 State Hwy 255                                      Lee, FL 32059                                                                                            First Class Mail
Chartered Organization         Leechburg Area High School                                Moraine Trails Council 500                215 1St St                                             Leechburg, PA 15656‐1306                                                                                 First Class Mail
Chartered Organization         Leechburg Area Middle School                              Moraine Trails Council 500                215 1St St                                             Leechburg, PA 15656‐1306                                                                                 First Class Mail
Voting Party                   Leedey First United Methodist                             P.O. Box 298                              Leedey, OK 73654                                                                                                              leedeyumc@dobsonteleco.com        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Leeds Fire & Rescue                                       Greater Alabama Council 001               1640 Maxey Dr                                          Leeds, AL 35094‐7512                                                                                     First Class Mail
Voting Party                   Leeds United Methodist Church ‐ Elkton                    c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Leeds Utd Methodist Church                                Del Mar Va 081                            1579 Blue Ball Rd                                      Elkton, MD 21921‐3528                                                                                    First Class Mail
Chartered Organization         Leedy Grange 339                                          Cascade Pacific Council 492               P.O. Box 91152                                         Portland, OR 97291‐0003                                                                                  First Class Mail
Chartered Organization         Leeland Station Community Assoc                           National Capital Area Council 082         115 Riggs Rd                                           Fredericksburg, VA 22405‐2166                                                                            First Class Mail
Voting Party                   Lee's Chapel United Methodist                             c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lees Corner Elementary PTA                                National Capital Area Council 082         13500 Hollinger Ave                                    Fairfax, VA 22033‐1400                                                                                   First Class Mail
Chartered Organization         Lee's Marketplace                                         Trapper Trails 589                        850 S Main St                                          Smithfield, UT 84335‐2302                                                                                First Class Mail
Chartered Organization         Lees Summit Christian Church                              Heart Of America Council 307              800 Ne Tudor Rd                                        Lees Summit, MO 64086‐5549                                                                               First Class Mail
Chartered Organization         Lees Summit Community Of Christ Church                    Heart Of America Council 307              1101 Ne Independence Ave                               Lees Summit, MO 64086‐5504                                                                               First Class Mail
Chartered Organization         Lees Summit First Presbyterian Church                     Heart Of America Council 307              1625 Nw Obrien Rd                                      Lees Summit, MO 64081‐1556                                                                               First Class Mail
Chartered Organization         Lees Summit Police Dept                                   Heart Of America Council 307              10 Ne Tudor Rd                                         Lees Summit, MO 64086‐4506                                                                               First Class Mail
Chartered Organization         Lees Summit Utd Methodist Church                          Heart Of America Council 307              3381 Nw Chipman Rd                                     Lees Summit, MO 64081‐1804                                                                               First Class Mail
Chartered Organization         Leesburg Community Church                                 National Capital Area Council 082         835 Lee Ave Sw                                         Leesburg, VA 20175‐3416                                                                                  First Class Mail
Chartered Organization         Leesburg Firemans Assoc Inc                               Simon Kenton Council 441                  200 South St                                           Leesburg, OH 45135‐9223                                                                                  First Class Mail
Chartered Organization         Leesburg Lions Club                                       Anthony Wayne Area 157                    114 E School St                                        Leesburg, IN 46538                                                                                       First Class Mail
Chartered Organization         Leesburg Lions Club                                       Anthony Wayne Area 157                    4360 N 100 E                                           Warsaw, IN 46582‐7638                                                                                    First Class Mail
Chartered Organization         Leesburg Police Dept                                      South Georgia Council 098                 107 Walnut Ave N                                       Leesburg, GA 31763‐4366                                                                                  First Class Mail
Chartered Organization         Leesburg Police Dept                                      National Capital Area Council 082         65 Plaza St Ne                                         Leesburg, VA 20176‐3206                                                                                  First Class Mail
Chartered Organization         Leesburg Presbyterian Church                              French Creek Council 532                  1831 Perry Hwy                                         Volant, PA 16156‐1521                                                                                    First Class Mail
Voting Party                   Leesburg UMC ‐ Leesburg                                   c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Leesburg United Methodist Church (02313)                  c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200            Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Leesburg Utd Methodist Church                             National Capital Area Council 082         107 W Market St                                        Leesburg, VA 20176‐2902                                                                                  First Class Mail
Voting Party                   Leesville United Methodist Church, Inc                    Attn: Doug Copper                         510 E Columbia Ave                                     Batesburg‐Leesville, SC 29070                                          leesvilleumc@bellsouth.net        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Leesville Utd Methodist                                   Indian Waters Council 553                 510 E Columbia Ave                                     Leesville, SC 29070‐9287                                                                                 First Class Mail
Voting Party                   Leetown United Methodist Church                           Attn: Patricia Walker                     11133 Leetown Rd                                       Kearneysville, WV 25430                                                leetownumc@frontiernet.net        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Leeward Oahu Lions Club                                   Aloha Council, Bsa 104                    P.O. Box 970729                                        Waipahu, HI 96797‐0729                                                                                   First Class Mail
Chartered Organization         Left Hand Grange 9                                        Longs Peak Council 062                    P.O. Box 301                                           Niwot, CO 80544‐0301                                                                                     First Class Mail
Chartered Organization         Legacy Academy Of Excellence                              Blackhawk Area 660                        4029 Prairie Rd                                        Rockford, IL 61102‐4501                                                                                  First Class Mail
Chartered Organization         Legacy Center                                             Crossroads Of America 160                 727 N Oriental St                                      Indianapolis, IN 46202‐3766                                                                              First Class Mail
Chartered Organization         Legacy Christian Fellowship                               Denver Area Council 061                   9200 Hoffman Way                                       Thornton, CO 80229‐3506                                                                                  First Class Mail
Chartered Organization         Legacy Church Of Christ                                   Longhorn Council 662                      8801 Mid Cities Blvd                                   North Richland Hills, TX 76182‐4821                                                                      First Class Mail
Chartered Organization         Legacy Dental Partners, LLC                               Great Swest Council 412                   5343 Wyoming Blvd Ne                                   Albuquerque, NM 87109‐3199                                                                               First Class Mail
Chartered Organization         Legacy Park Home Owners Assoc                             Atlanta Area Council 092                  4201 Legacy Park Cir Nw                                Kennesaw, GA 30144‐6100                                                                                  First Class Mail
Chartered Organization         Legacy Point Ptib                                         Denver Area Council 061                   12736 Red Rosa Cir                                     Parker, CO 80134‐6659                                                                                    First Class Mail
Chartered Organization         Legacy Trucking Enterprises Incorporated                  Utah National Parks 591                   P.O. Box 361                                           Annabella, UT 84711‐0361                                                                                 First Class Mail
Voting Party                   Legacy United Methodist Church                            Attn: JoAnn Early                         4600 Durango Dr                                        Bismarck, ND 58503                                                     joann@legacyumc.org               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Legalis ‐ Braddy's British Motors                         Occoneechee 421                           1315 Oakwood Ave                                       Raleigh, NC 27610‐2247                                                                                   First Class Mail
Chartered Organization         Legion American PTO 60 Israel Vargas Inc                  Puerto Rico Council 661                   Hc 1 Box 6110                                          Juana Diaz, PR 00795                                                                                     First Class Mail
Chartered Organization         Legion Americana                                          Puerto Rico Council 661                   124 Ave Del Veterano                                   San German, PR 00683‐4170                                                                                First Class Mail
Chartered Organization         Legion Americana Puesto 51                                Puerto Rico Council 661                   P.O. Box 546                                           San Sebastian, PR 00685‐0546                                                                             First Class Mail
Chartered Organization         Legrand Volunteer Assoc                                   Mid Iowa Council 177                      707 W Main St                                          Le Grand, IA 50142‐7784                                                                                  First Class Mail
Chartered Organization         Lehigh Acres Church Of The Nazarene                       Southwest Florida Council 088             210 Lee Blvd                                           Lehigh Acres, FL 33936‐4918                                                                              First Class Mail
Chartered Organization         Lehigh Acres Middle School                                Southwest Florida Council 088             104 Arthur Ave                                         Lehigh Acres, FL 33936‐7406                                                                              First Class Mail
Chartered Organization         Lehigh Lodge Free & Accepted Masons 326                   Minsi Trails Council 502                  2120 Rte 100                                           Macungie, PA 18062‐9320                                                                                  First Class Mail
Chartered Organization         Lehigh Senior High School                                 Southwest Florida Council 088             901 Gunnery Rd N                                       Lehigh Acres, FL 33971‐4909                                                                              First Class Mail
Chartered Organization         Lehigh Vly Dual Language Charter Sch                      Minsi Trails Council 502                  675 E Broad St                                         Bethlehem, PA 18018‐6332                                                                                 First Class Mail
Chartered Organization         Lehman Idetown Utd Methodist Church                       Northeastern Pennsylvania Council 501     P.O. Box 1                                             Lehman, PA 18627‐0001                                                                                    First Class Mail
Voting Party                   Lehman Memorial UMC                                       Attn: Andrew Krpata                       50 Harding Ave                                         Hatboro, PA 19040                                                      akrpata@lehmanumc.org             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lehman Memorial United Methodist Church                   300 S York Rd                             Hatboro, PA 19040                                                                                                             office@lehmanumc.org              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lehman Memorial Utd Methodist Church                      Cradle of Liberty Council 525             S York Rd&Lehman Ave                                   Hatboro, PA 19040                                                                                        First Class Mail
Voting Party                   Lehman‐Idetown UMC (079902)                               c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200            Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lehmantownship Scouting Supporters                        Minsi Trails Council 502                  193 Municipal Dr                                       Bushkill, PA 18324‐8348                                                                                  First Class Mail
Chartered Organization         Leicester ‐ First Congregational Church                   Heart Of New England Council 230          P.O. Box 122                                           Leicester, MA 01524‐0122                                                                                 First Class Mail
Chartered Organization         Leicester ‐ Mcauley Nazarath Home                         Heart Of New England Council 230          77 Mulberry St                                         Leicester, MA 01524‐1011                                                                                 First Class Mail
Chartered Organization         Leicester ‐ St Aloysius/ St Jude                          Heart Of New England Council 230          491 Pleasant St                                        Leicester, MA 01524‐1261                                                                                 First Class Mail
Chartered Organization         Leicester ‐ St Pius X Catholic Parish                     Heart Of New England Council 230          759 Main St                                            Leicester, MA 01524‐1340                                                                                 First Class Mail
Firm                           Leisawitz Heller                                          Kenneth Millman, Esq                      2755 Century Blvd.                                     Wyomissing, PA 19610                                                   kmillman@leisawitzheller.com      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Leisawitz Heller Abramowitch Phillips, PC                 Attn: Eden R Bucher                       2755 Century Blvd                                      Wyomissing, PA 19610                                                   ebucher@leisawitzheller.com       Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Leisure Services Dept                                     Northeast Iowa Council 178                2200 Bunker Hill Rd                                    Dubuque, IA 52001‐3010                                                                                   First Class Mail
Chartered Organization         Leitersburg Ruritan Club                                  Mason Dixon Council 221                   21628 Leiter St                                        Hagerstown, MD 21742‐4924                                                                                First Class Mail
Voting Party                   LeLoie G Dutemple                                         845 S 60th St, No 312                     West Des Moines, IA 50266                                                                                                     dutemple@peoplepc.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lely Presbyterian Church                                  Southwest Florida Council 088             450 St Andrews Blvd                                    Naples, FL 34113                                                                                         First Class Mail
Chartered Organization         Lemm Elementary School PTO                                Sam Houston Area Council 576              19034 Joanleigh Dr                                     Spring, TX 77388‐5950                                                                                    First Class Mail
Chartered Organization         Lemon Bay Sunrise Rotary                                  Southwest Florida Council 088             P.O. Box 897                                           Englewood, FL 34295‐0897                                                                                 First Class Mail
Voting Party                   Lemon Grove United Methodist Church                       3205 Washington St                        Lemon Grove, CA 91945                                                                                                         pastortrish@nethere.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lemon UMC (79888)                                         c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200            Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lemont Police Dept                                        Pathway To Adventure 456                  14600 E 127Th St                                       Lemont, IL 60439‐7419                                                                                    First Class Mail
Voting Party                   Lemont United Methodist Church                            Attn: William Stelter                     25 W Custer St                                         Lemont, IL 60439                                                       hyosun_oh@yahoo.com               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lemoore Police Dept                                       Sequoia Council 027                       657 Fox St                                             Lemoore, CA 93245‐2602                                                                                   First Class Mail
Voting Party                   Lemoore Presbyterian Church, Inc                          P.O. Box 336                              Lemoore, CA 93245                                                                                                             jaysalyer@yahoo.com               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lemoore Presbyterian Church, Inc                          Attn: James E Salyer                      260 B St                                               Lemoore, CA 93245                                                                                        First Class Mail
Chartered Organization         Lena Lions Club                                           Blackhawk Area 660                        497 Lions Dr                                           Lena, IL 61048‐8500                                                                                      First Class Mail
Voting Party                   Lena United Methodist Church                              Attn: Keri Leigh Rainsberger              118 W Mason St                                         Lena, IL 61048                                                         Kerileighr@yahoo.com              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lena United Methodist Church                              Attn: Keri Leigh Rainsberger              P.O. Box 336                                           Lena, IL 61048                                                                                           First Class Mail
Chartered Organization         Lenape Valley Presbyterian Church                         Washington Crossing Council 777           Ute Rd and Rte 202                                     New Britain, PA 18901                                                                                    First Class Mail
Chartered Organization         Lenawee County Sheriff Office                             Southern Shores Fsc 783                   405 N Winter St                                        Adrian, MI 49221‐1649                                                                                    First Class Mail
Chartered Organization         Lenexa Friends Of Scouting                                Heart Of America Council 307              15910 W 75Th Ter                                       Shawnee, KS 66217‐3006                                                                                   First Class Mail
Chartered Organization         Lenexa Utd Methodist Church                               Heart Of America Council 307              9138 Caenen Lake Rd                                    Lenexa, KS 66215‐3669                                                                                    First Class Mail
Voting Party                   Lennon Seney United Methodist Church                      Attn: Mrs Diana Galloway, Treasurer       2084 Dandridge Ave                                     Knoxville, TN 3791                                                     natfoster01@gmail.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lenoir Police Dept                                        Piedmont Council 420                      1035 West Ave Nw                                       Lenoir, NC 28645‐5126                                                                                    First Class Mail
Chartered Organization         Lenore Kirk Hall                                          Circle Ten Council 571                    2120 Keats Dr                                          Dallas, TX 75211‐8538                                                                                    First Class Mail
Voting Party                   Lenovo Inc                                                P.O. Box 643055                           Pittsburgh, PA 15264‐3055                                                                                                                                       First Class Mail
Chartered Organization         Lenox Hill Hospital                                       Greater New York Councils, Bsa 640        100 E 77Th St                                          New York, NY 10075‐1850                                                                                  First Class Mail
Chartered Organization         Lens Art‐Allied Images                                    Mid‐America Council 326                   3705 N 108Th St                                        Omaha, NE 68164‐2940                                                                                     First Class Mail
Chartered Organization         Leo A Daly Co                                             Mid‐America Council 326                   8600 Indian Hills Dr                                   Omaha, NE 68114‐4039                                                                                     First Class Mail
Chartered Organization         Leo B Hart Parent Club                                    Southern Sierra Council 030               9501 Ridge Oak Dr                                      Bakersfield, CA 93311‐1732                                                                               First Class Mail
Chartered Organization         Leo Brinda Post 190                                       Overland Trails 322                       520 N Valentine St                                     Valentine, NE 69201‐2228                                                                                 First Class Mail
Chartered Organization         Leo Savoie Elementary School                              Narragansett 546                          990 Mendon Rd                                          Woonsocket, RI 02895‐3928                                                                                First Class Mail
Voting Party                   Leo United Methodist Church                               Attn: Bonnie Adams                        13527 Leo Rd                                           Leo, IN 46765                                                          finance@leoumc.org                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Leominster United Methodist Church                        Attn: Michelle Ashley                     77 Hall St                                             Leominster, MA 01453                                                   pastormichelleashley@gmail.com    Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Leominster‐Amercan Legion Post 151                        Heart Of New England Council 230          100 West St                                            Leominster, MA 01453‐6313                                                                                First Class Mail
Chartered Organization         Leominster‐Our Lady Of The Lake Church                    Heart Of New England Council 230          1400 Main St                                           Leominster, MA 01453‐6610                                                                                First Class Mail
Chartered Organization         Leominster‐Sportsmens Assoc                               Heart Of New England Council 230          1455 Elm St                                            Leominster, MA 01453‐3961                                                                                First Class Mail
Chartered Organization         Leominster‐St Anna's Parish                               Heart Of New England Council 230          199 Lancaster St                                       Leominster, MA 01453‐4321                                                                                First Class Mail
Chartered Organization         Leominster‐St Leos Parish                                 Heart Of New England Council 230          108 Main St                                            Leominster, MA 01453‐5532                                                                                First Class Mail
Chartered Organization         Leon County Sheriffs Dept                                 Suwannee River Area Council 664           P.O. Box 727                                           Tallahassee, FL 32302‐0727                                                                               First Class Mail
Chartered Organization         Leon Methodist Church                                     Mid Iowa Council 177                      201 W 1St St                                           Leon, IA 50144‐1354                                                                                      First Class Mail
Chartered Organization         Leon Obryan American Legion Post 428                      Five Rivers Council, Inc 375              P.O. Box 42                                            Elkland, PA 16920‐0042                                                                                   First Class Mail
Chartered Organization         Leon Springs Presbyterian Church                          Alamo Area Council 583                    23943 W Interstate 10                                  San Antonio, TX 78257‐1110                                                                               First Class Mail
Chartered Organization         Leon Springs Volunteer Fire Dept                          Alamo Area Council 583                    24810 Ima Ruth Pkwy                                    San Antonio, TX 78257‐1151                                                                               First Class Mail
Chartered Organization         Leon Valley Grange 1581                                   Alamo Area Council 583                    P.O. Box 681926                                        San Antonio, TX 78268‐1926                                                                               First Class Mail
Firm                           Leonard Legal Group, LLC                                  Scott G. Leonard Esq.                     165 Washington St                                      Morristown, NJ 07960                                                   sleondard@leonardlawyers.com      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Leonard School PTO                                        Great Lakes Fsc 272                       4401 Tallman Dr                                        Troy, MI 48085‐4825                                                                                      First Class Mail
Chartered Organization         Leonard W Kidd Memorial Post 2001                         National Capital Area Council 082         P.O. Box 1243                                          Ashburn, VA 20146‐1243                                                                                   First Class Mail
Chartered Organization         Leones                                                    Pathway To Adventure 456                  1715 E Shannon Ln                                      Palatine, IL 60074‐1729                                                                                  First Class Mail
Chartered Organization         Leora Weare American Legion Post 173                      Hoosier Trails Council 145 145            P.O. Box 173                                           Versailles, IN 47042‐0173                                                                                First Class Mail
Chartered Organization         Leroy Area Ambulance Assoc                                Twin Valley Council Bsa 283               P.O. Box 161                                           Le Roy, MN 55951‐0161                                                                                    First Class Mail
Chartered Organization         Leroy Fire Dept                                           Twin Valley Council Bsa 283               121 E Main St                                          Le Roy, MN 55951‐1251                                                                                    First Class Mail
Voting Party                   LeRoy First United Methodist Church                       Attn: Mattheis Lorimor                    P.O. Box 164                                           LeRoy, IL 61752                                                        mlorimor@leroyumc.org             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Leroy Hill Post No 19                                     Heart Of America Council 307              315 Meadowbrook Cir                                    Gardner, KS 66030‐1115                                                                                   First Class Mail
Chartered Organization         Leroy Springs & Co, Inc                                   Palmetto Council 549                      P.O. Box 1209                                          Fort Mill, SC 29716‐1209                                                                                 First Class Mail
Voting Party                   LeRoy United Methodist Church                             ATTN: Rev Robin D Dillon                  P.O. Box 327                                           Westfield Center, OH 44251                                             robinddillon@gmail.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   LeRoy United Methodist Church                             Attn: Jeremy Flint, Treasurer             15 North St                                            LeRoy, NY 14482                                                        jflint726@gmail.com               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   LeRoy United Methodist Church                             10 Trigon Pk                              LeRoy, NY 14482                                                                                                               jflint@gmail.com                  Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Leroy Utd Methodist Church                                Great Trail 433                           P.O. Box 295                                           Westfield Center, OH 44251‐0295                                                                          First Class Mail
Chartered Organization         Les Cheneaux Lions Club                                   Bay‐Lakes Council 635                     P.O. Box 172                                           Cedarville, MI 49719‐0172                                                                                First Class Mail
Voting Party                   Leslie James Johnson                                      410 Benedict Ave                          Apt 2G                                                 Tarrytown, NY 10591                                                    lesjohnson1@verizon.net           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Leslie Osmand Baron II                                    Address Redacted                                                                                                                                                        Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Leslie Reddickpost 721 American Legion                    Abraham Lincoln Council 144               607 Ricks St                                           Morrisonville, IL 62546‐6434                                                                             First Class Mail
Voting Party                   Leslie United Methodist Church                            Attn: Charlcie Jones, Sec of Leslie UMC   119B Country Club Dr                                   Americus, GA 31709                                                     charlciecj@gmail.com              Email
                                                                                                                                                                                                                                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                       Page 245 of 442
                                                                                  Case 20-10343-LSS                                         Doc 8171                                                Filed 01/06/22                                                   Page 261 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                        Name                                                                                                      Address                                                                                                                              Email               Method of Service
Chartered Organization         Leslie Utd Methodist Church                                    Westark Area Council 016                P.O. Box 389                                                         Leslie, AR 72645‐0389                                                                                                   First Class Mail
Chartered Organization         Lessenger Educational Supportive Team                          Great Lakes Fsc 272                     30150 Campbell Rd                                                    Madison Heights, MI 48071‐4462                                                                                          First Class Mail
Chartered Organization         Lessie Bates Davis Neighnborhood House                         Greater St Louis Area Council 312       1200 N 13Th St                                                       East St Louis, IL 62205‐2975                                                                                            First Class Mail
Chartered Organization         Lester E Cox Medical Centers                                   Ozark Trails Council 306                1423 N Jefferson Ave                                                 Springfield, MO 65802‐1917                                                                                              First Class Mail
Chartered Organization         Lester J Sitts Vfw Post 5065                                   President Gerald R Ford 781             209 W Washington St                                                  Sheridan, MI 48884                                                                                                      First Class Mail
Chartered Organization         Lester J Sitts Vfw Post 5065                                   President Gerald R Ford 781             P.O. Box 78                                                          Sheridan, MI 48884‐0078                                                                                                 First Class Mail
Chartered Organization         Lester Memorial Umc                                            Greater Alabama Council 001             P.O. Box 626                                                         Oneonta, AL 35121‐0008                                                                                                  First Class Mail
Voting Party                   Lester Memorial Untied Methodist Church                        Attn: Harvey Beck                       108 3rd Ave E                                                        Oneonta, AL 35121                                                                   harvey@lester‐memorial.org          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Letts United Methodist Church                                  Attn: Nancy Turner                      1488 Oak Grove Rd                                                    Letts, IA 52754                                                                     lettsumc@iowatelecom.net            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Letts United Methodist Church                                  Attn: Marsha Mae Gerot                  625 Vine St                                                          Letts, IA 52754                                                                     jmgerot@lakeodessa.net              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Letts Utd Methodist Church                                     Mississippi Valley Council 141 141      P.O. Box A                                                           Letts, IA 52754‐0400                                                                                                    First Class Mail
Chartered Organization         Letts Utd Methodist Church‐Mens Club                           Mississippi Valley Council 141 141      P.O. Box A                                                           Letts, IA 52754‐0400                                                                                                    First Class Mail
Chartered Organization         Leu Civic Center                                               Greater St Louis Area Council 312       213 N Market St                                                      Mascoutah, IL 62258‐2147                                                                                                First Class Mail
Chartered Organization         Levalley Utd Methodist Church                                  President Gerald R Ford 781             4018 Kelsey Hwy                                                      Ionia, MI 48846‐9431                                                                                                    First Class Mail
Chartered Organization         Levant Fire Dept                                               Katahdin Area Council 216               P.O. Box 220                                                         Levant, ME 04456‐0220                                                                                                   First Class Mail
Chartered Organization         Levant Vol Fire Dept                                           Katahdin Area Council 216               3477 Union St                                                        Levant, ME 04456                                                                                                        First Class Mail
Voting Party                   Level 3 Communications LLC                                     c/o Centurylink Communications          Legal Bky                                                            Attn: Kim Bartlett               1025 Eldorado Blvd          Broomfield, CO 80021   bankruptcylegal@centurylink.com     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Level 3 Telecom Holdings Inc                                   c/o Centurylink Communications          Legal Bky                                                            Attn: Kim Bartlett               1025 Eldorado Blvd          Broomfield, CO 80021   bankruptcylegal@centurylink.com     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Level Club Of South River                                      Monmouth Council, Bsa 347               120 Old Bridge Tpke                                                  South River, NJ 08882‐2456                                                                                              First Class Mail
Chartered Organization         Level Creek Elementary                                         Northeast Georgia Council 101           4488 Tench Rd                                                        Suwanee, GA 30024‐1965                                                                                                  First Class Mail
Chartered Organization         Level Cross Community Center                                   Old N State Council 070                 112 Branson Mill Rd                                                  Randleman, NC 27317‐8006                                                                                                First Class Mail
Chartered Organization         Level Cross Utd Methodist Men                                  Old Hickory Council 427                 4201 Siloam Rd                                                       Dobson, NC 27017‐7975                                                                                                   First Class Mail
Chartered Organization         Level Grove Baptist Church                                     Northeast Georgia Council 101           P.O. Box 416                                                         Cornelia, GA 30531‐1005                                                                                                 First Class Mail
Chartered Organization         Level Vol Fire Co                                              Webster Congregational Church           4100 Webster Rd                                                      Havre De Grace, MD 21078‐1622                                                                                           First Class Mail
Chartered Organization         Levelland Noon Rotary Club                                     South Plains Council 694                P.O. Box 1255                                                        Levelland, TX 79336‐1255                                                                                                First Class Mail
Chartered Organization         Leverette Elementary                                           Erie Shores Council 460                 1111 E Manhattan Blvd                                                Toledo, OH 43608‐1447                                                                                                   First Class Mail
Chartered Organization         Leverington Presbyterian Church                                Cradle Of Liberty Council 525           6301 Ridge Ave                                                       Philadelphia, PA 19128‐2527                                                                                             First Class Mail
Voting Party                   Levi Jeffries                                                  14825 Sharon Spring Dr                  Jones, OK 73049                                                                                                                                          levijeffries@hotmail.com            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Levin Simes Abrams LLP                                         Brian J. Perkins                        1700 Montgomery St Ste 250                                           San Francisco, CA 94111                                                             IA@levinsimes.com                   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Levin, Papantonio, Thomas, Mitchell, Rafferty, Proctor, PA     W. Cameron Stephenson, Esq              316 S. Baylen St., Ste. 600                                          Pensacola, FL 32502                                                                 cstephenson@levinlaw.com            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Levine Cancer Institute                                        Mecklenburg County Council 415          1021 Morehead Medical Dr                                             Charlotte, NC 28204‐2990                                                                                                First Class Mail
Chartered Organization         Levine Jewish Community Center                                 Mecklenburg County Council 415          5007 Providence Rd                                                   Charlotte, NC 28226‐5849                                                                                                First Class Mail
Chartered Organization         Levittown American Legion Post 1711                            Theodore Roosevelt Council 386          3123 N Jerusalem Rd                                                  Levittown, NY 11756‐3511                                                                                                First Class Mail
Chartered Organization         Levittown Fairless Hills Rescue Squad                          Washington Crossing Council 777         7405 New Falls Rd                                                    Levittown, PA 19055‐1008                                                                                                First Class Mail
Chartered Organization         Levittown Fire Co 1                                            Washington Crossing Council 777         P.O. Box 39                                                          Fairless Hills, PA 19030‐0039                                                                                           First Class Mail
Chartered Organization         Levittown Fire Dept                                            Theodore Roosevelt Council 386          120 Gardiners Ave                                                    Levittown, NY 11756‐3707                                                                                                First Class Mail
Firm                           Levy Baldante Finney & Rubenstein PC                           John Bladante                           89 N Haddon Avenue Suite D                                           Haddonfield, NJ 08033                                                               baldante@levybaldante.com           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Levy Baldante Finney & Rubenstein PC                           Martin G. Rubenstein, Esq               1845 Walnut St., Ste 1300                                            Philadelphia, PA 19103                                                              rubenstein@levybaldante.com         Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Levy Konigsberg LLP                                            Vara Lyons, Esq.                        800 3rd Ave, 11th Fl                                                 New York, NY 10022                                                                  vlyons@levylaw.com                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lewis & Clark Elementary PTA                                   Indian Nations Council 488              737 S Garnett Rd                                                     Tulsa, OK 74128‐1817                                                                                                    First Class Mail
Chartered Organization         Lewis & Clark Friends Of Scouting                              Northern Lights Council 429             1729 16Th St S                                                       Fargo, ND 58103‐4829                                                                                                    First Class Mail
Chartered Organization         Lewis & Clark Ptc                                              Greater St Louis Area Council 312       460 Mcmenamy Rd                                                      St Peters, MO 63376‐1510                                                                                                First Class Mail
Voting Party                   Lewis Center United Methodist Church                           Attn: Chet Cox                          1081 Lewis Center Rd                                                 Lewis Center, OH 43035                                                              secretary@lewiscenterumc.org        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lewis Center Utd Methodist                                     Simon Kenton Council 441                1081 Lewis Center Rd                                                 Lewis Center, OH 43035‐9049                                                                                             First Class Mail
Chartered Organization         Lewis Center Utd Methodist Church                              Simon Kenton Council 441                1019 Lewis Center Rd                                                 Lewis Center, OH 43035‐9049                                                                                             First Class Mail
Chartered Organization         Lewis Center Ward                                              Simon Kenton Council 441                450 N Liberty St                                                     Powell, OH 43065‐8063                                                                                                   First Class Mail
Chartered Organization         Lewis Central Elementary PTA                                   Mid‐America Council 326                 4125 Harry Langdon Blvd                                              Council Bluffs, IA 51503‐8646                                                                                           First Class Mail
Chartered Organization         Lewis Chapel Baptist Church                                    Occoneechee 421                         5422 Raeford Rd                                                      Fayetteville, NC 28304‐3063                                                                                             First Class Mail
Chartered Organization         Lewis Chapel Bc Layman League                                  Occoneechee 421                         5422 Raeford Rd                                                      Fayetteville, NC 28304‐3063                                                                                             First Class Mail
Chartered Organization         Lewis Elkin Elementary School                                  Cradle Of Liberty Council 525           3199 D St                                                            Philadelphia, PA 19134‐2335                                                                                             First Class Mail
Chartered Organization         Lewis Lemon School PTO                                         Blackhawk Area 660                      1993 Mulberry St                                                     Rockford, IL 61101‐5670                                                                                                 First Class Mail
Voting Party                   Lewis Memorial United Methodist Church                         Attn: Robert Preston Doolittle          P.O. Box 14                                                          111 W Taylor Ave                 Calhoun City, MS 38916                             jdoolittle@tds.net                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lewis Memorial United Methodists Church ‐ Evans                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200         Tampa, FL 33602                                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lewis Memorial Utd Methodist Church                            Georgia‐Carolina 093                    5555 Hereford Farm Rd                                                Evans, GA 30809‐7001                                                                                                    First Class Mail
Voting Party                   Lewis River Rotary Club                                        Attn: Linda Allen                       P.O. Box 1498                                                        Battle Ground, WA 98604                                                             lallen19011@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lewis Utd Methodist Mens Breakfast                             Quivira Council, Bsa 198                P.O. Box 295                                                         Lewis, KS 67552‐0295                                                                                                    First Class Mail
Voting Party                   Lewisberry United Methodist Church (178368)                    c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                               680 Washington Rd, Ste 200       Pittsburgh, PA 15228                               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lewisburg First United Methodist Church                        Attn: Bill Marsh/ Mark Irvin            325 W Church St                                                      Lewisburg, TN 37091                                                                 mark@lewisburgfumc.org              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lewisburg First United Methodist Church                        Attn: Bill Marsh, Chair of Finance      325 W Church St                                                      Lewisburg, TN 37091                                                                 bmarsh@firstcommercebank.net        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Lewisburg Police Dept                                          Middle Tennessee Council 560            101 Water St                                                         Lewisburg, TN 37091‐2743                                                                                                First Class Mail
Voting Party                   Lewisburg United Methodist Church                              1133 Washington St E                    Lewisburg, WV 24901                                                                                                                                      admistrator@lwbumc.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lewisburg United Methodist Men                                 Attn: Martin Neel Hoyt                  11303 Washington St E                                                Lewisburg, WV 24901                                                                                                     First Class Mail
Voting Party                   Lewisburg United Methodist Men                                 Attn: Martin N Hoyt                     1133 Washington St E                                                 Lewisburg, WV 24901                                                                                                     First Class Mail
Chartered Organization         Lewisburg Utd Methodist Church                                 Buckskin 617                            P.O. Box 69                                                          Lewisburg, WV 24901‐0069                                                                                                First Class Mail
Chartered Organization         Lewiston Elks Lodge 896                                        Inland NW Council 611                   3444 Country Club Dr                                                 Lewiston, ID 83501‐9659                                                                                                 First Class Mail
Chartered Organization         Lewiston Housing Authority                                     Pine Tree Council 218                   77 Rideout Ave                                                       Lewiston, ME 04240‐3462                                                                                                 First Class Mail
Chartered Organization         Lewiston Police Dept                                           Greater Niagara Frontier Council 380    4059 Creek Rd                                                        Youngstown, NY 14174‐9609                                                                                               First Class Mail
Chartered Organization         Lewisville Civic Club                                          Old Hickory Council 427                 P.O. Box 293                                                         Lewisville, NC 27023‐0293                                                                                               First Class Mail
Chartered Organization         Lewisville Civic Club & Utd Methodist Ch                       Old Hickory Council 427                 6290 Shallowford Rd                                                  Lewisville, NC 27023‐9605                                                                                               First Class Mail
Chartered Organization         Lewisville Police Dept                                         Longhorn Council 662                    1187 W Main St                                                       Lewisville, TX 75067‐3425                                                                                               First Class Mail
Chartered Organization         Lewisville Utd Methodist Ch Mens Grp                           Old Hickory Council 427                 P.O. Box 305                                                         Lewisville, NC 27023‐0305                                                                                               First Class Mail
Chartered Organization         Lexie Repair                                                   Middle Tennessee Council 560            760 Coles Rd                                                         Belvidere, TN 37306‐2204                                                                                                First Class Mail
Chartered Organization         Lexington County Ems                                           Indian Waters Council 553               407 Ball Park Rd                                                     Lexington, SC 29072‐2241                                                                                                First Class Mail
Chartered Organization         Lexington County Sheriffs Dept                                 Indian Waters Council 553               P.O. Box 639                                                         Lexington, SC 29071‐0639                                                                                                First Class Mail
Chartered Organization         Lexington Fire Dept                                            Old N State Council 070                 200 E Center St                                                      Lexington, NC 27292‐3314                                                                                                First Class Mail
Chartered Organization         Lexington Kiwanis Club                                         Buckeye Council 436                     P.O. Box 3124                                                        Mansfield, OH 44904‐0124                                                                                                First Class Mail
Chartered Organization         Lexington LDS                                                  Indian Waters Council 553               2224 Augusta Hwy                                                     Lexington, SC 29072‐2261                                                                                                First Class Mail
Chartered Organization         Lexington Moose Lodge                                          Heart Of America Council 307            P.O. Box 186                                                         Lexington, MO 64067‐0186                                                                                                First Class Mail
Chartered Organization         Lexington Police Dept                                          Blue Grass Council 204                  150 E Main St                                                        Lexington, KY 40507‐1318                                                                                                First Class Mail
Chartered Organization         Lexington Police Dept                                          The Spirit Of Adventure 227             1575 Massachusetts Ave                                               Lexington, MA 02420‐3801                                                                                                First Class Mail
Chartered Organization         Lexington Police Dept                                          Heart Of America Council 307            203 N 25Th St                                                        Lexington, MO 64067‐2302                                                                                                First Class Mail
Chartered Organization         Lexington Presbyterian Church                                  Stonewall Jackson Council 763           120 S Main St                                                        Lexington, VA 24450‐2316                                                                                                First Class Mail
Voting Party                   Lexington United Methodist Church                              Attn: Rev Terry Cook                    1211 S Business Hwy 13                                               Lexington, MO 64067                                                                 lexpatty@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lexington United Methodist Church                              Lexington UMC, Treasurer                5597 Main St                                                         Lexington, MI 48450                                                                 lexingtonumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lexington United Methodist Church, Inc                         Attn: Connie Cooper                     309 E Main St                                                        Lexington, SC 29072                                                                 dcrosby@lexumcsc.com                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Lexington United Methodist Church, Inc                         Attn: Connie Cooper                     1536 Hollybrook Dr                                                   Lexington, SC 29072                                                                                                     First Class Mail
Chartered Organization         Lexington Utd Methodist Church                                 Heart of America Council 307            S Hwy 13                                                             Lexington, MO 64067                                                                                                     First Class Mail
Chartered Organization         Lexington Utd Methodist Church                                 Capitol Area Council 564                508 Rockdale St                                                      Lexington, TX 78947                                                                                                     First Class Mail
Chartered Organization         Lexington Utd Methodist Mens Club                              Indian Waters Council 553               309 E Main St                                                        Lexington, SC 29072‐3601                                                                                                First Class Mail
Chartered Organization         Lexington‐Bell Community Center                                Lake Erie Council 440                   7724 Lexington Ave                                                   Cleveland, OH 44103‐4151                                                                                                First Class Mail
Chartered Organization         Lgm Enterprises                                                Far E Council 803                       45 Peace St Multinational Village                                    Paranaque City, 1708             Philippines                                                                            First Class Mail
Firm                           Liakos Law, APC                                                Jennifer Liakos                         1611 S. Pacific Coast Highway, Ste 200 D                             Redondo Beach, CA 90027                                                             jenn@jennliakoslaw.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Libby Booth Team Up                                            Nevada Area Council 329                 535 E Plumb Ln                                                       Reno, NV 89502‐3503                                                                                                     First Class Mail
Chartered Organization         Libby LDS Sandpoint Idaho Stake                                Montana Council 315                     2056 Us Hwy 2 W                                                      Libby, MT 59923                                                                                                         First Class Mail
Chartered Organization         Libertas School Of Memphis                                     Chickasaw Council 558                   3777 Edenburg Dr                                                     Memphis, TN 38127‐4717                                                                                                  First Class Mail
Chartered Organization         Liberty 5 6                                                    Transatlantic Council, Bsa 802          Unit 5187 48 Fss Fsr                                                 Apo, AE 09461‐5187                                                                                                      First Class Mail
Chartered Organization         Liberty Baptist Church                                         Circle Ten Council 571                  850 Blackland Rd                                                     Fate, TX 75189‐6204                                                                                                     First Class Mail
Chartered Organization         Liberty Baptist Church                                         Greater Alabama Council 001             1990 Self Creek Rd                                                   Kimberly, AL 35091                                                                                                      First Class Mail
Chartered Organization         Liberty Baptist Church                                         Indian Nations Council 488              P.O. Box 1207                                                        Stilwell, OK 74960‐1207                                                                                                 First Class Mail
Chartered Organization         Liberty Center Baptist Church                                  Anthony Wayne Area 157                  3071 W Cherry St                                                     Liberty Center, IN 46766‐5408                                                                                           First Class Mail
Voting Party                   Liberty Center United Methodist Church                         Attn: James Feldheiser                  1381 E 900 N                                                         Ossian, IN 46777                                                                    jrfeldheiser@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Liberty Center United Methodist Church                         Attn: Diane L Samuels                   2905 S Main St                                                       Liberty Center, IN 46766                                                            diane.samuels@inumc.org             Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Liberty Christian Church                                       Heart Of America Council 307            427 E Kansas St                                                      Liberty, MO 64068‐1855                                                                                                  First Class Mail
Chartered Organization         Liberty Church Of Christ                                       W Tennessee Area Council 559            591 N Liberty Rd                                                     Michie, TN 38357‐6003                                                                                                   First Class Mail
Chartered Organization         Liberty Church Of Cosby                                        Great Smoky Mountain Council 557        3541 Cosby Hwy                                                       Cosby, TN 37722‐2840                                                                                                    First Class Mail
Chartered Organization         Liberty Community Church                                       Northeast Illinois 129                  1640 W Gelden Rd                                                     Lindenhurst, IL 60046‐7494                                                                                              First Class Mail
Chartered Organization         Liberty Corner Presbyterian Church                             Patriots Path Council 358               45 Church St                                                         Liberty Corner, NJ 07938                                                                                                First Class Mail
Chartered Organization         Liberty Crossings Utd Methodist Ch                             Attn: Wade Griffith                     5125 Sicard Hollow Rd                                                Vestavia Hls, AL 35242‐5623                                                                                             First Class Mail
Chartered Organization         Liberty Elementary Collective For Youth                        Mid‐America Council 326                 2021 St Marys Ave                                                    Omaha, NE 68102‐2415                                                                                                    First Class Mail
Chartered Organization         Liberty Eylau Elementary                                       Caddo Area Council 584                  2300 Buchanan Rd                                                     Texarkana, TX 75501‐7540                                                                                                First Class Mail
Chartered Organization         Liberty Eylau Middle School                                    Caddo Area Council 584                  555 Leopard Dr                                                       Texarkana, TX 75501                                                                                                     First Class Mail
Chartered Organization         Liberty Fire Co 1                                              W D Boyce 138                           816 West St                                                          Peru, IL 61354‐2704                                                                                                     First Class Mail
Voting Party                   Liberty Grove United Methodist church SandySpring Ban, Burto   Attn: Nancy Smith, treasurer            15225 Old Columbia Pike                                              Burtonsville, MD 20866                                                                                                  First Class Mail
Chartered Organization         Liberty Grove Utd Methodist Church                             National Capital Area Council 082       15225 Old Columbia Pike                                              Burtonsville, MD 20866‐1615                                                                                             First Class Mail
Chartered Organization         Liberty Hall Club Of Marstons Mills                            Cape Cod And Islands Cncl 224           2150 Main St                                                         Marstons Mills, MA 02648                                                                                                First Class Mail
Voting Party                   Liberty Hall United Methodist Church                           Attn: Cyndia Callan                     P.O. Box 188                                                         Dardanelle, AR 72834                                                                cjcallan@centurytel.net             Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Liberty High School                                            W Tennessee Area Council 559            310 N Parkway                                                        Jackson, TN 38305‐2712                                                                                                  First Class Mail
Chartered Organization         Liberty Hill Baptist Church                                    Flint River Council 095                 2957 Mt Carmel Rd                                                    Hampton, GA 30228‐2018                                                                                                  First Class Mail
Chartered Organization         Liberty Hill Utd Methodist Church                              Capitol Area Council 564                101 Church St                                                        Liberty Hill, TX 78642‐4202                                                                                             First Class Mail
Chartered Organization         Liberty Lions Club                                             Mississippi Valley Council 141 141      2042 N 1200Th Ave                                                    Liberty, IL 62347‐2117                                                                                                  First Class Mail
Chartered Organization         Liberty Lions Club                                             Three Rivers Council 578                P.O. Box 1078                                                        Liberty, TX 77575‐1078                                                                                                  First Class Mail
Chartered Organization         Liberty Lodge 111                                              Katahdin Area Council 216               22 Highland Dr                                                       Liberty, ME 04949‐3221                                                                                                  First Class Mail
Chartered Organization         Liberty Lodge 111 Af & Am                                      Katahdin Area Council 216               215 Stevens Pond Rd                                                  Liberty, ME 04949‐3706                                                                                                  First Class Mail
Chartered Organization         Liberty Lutheran Church                                        Five Rivers Council, Inc 375            P.O. Box 52                                                          Liberty, PA 16930‐0052                                                                                                  First Class Mail
Chartered Organization         Liberty Maritime                                               Golden Empire Council 047               11895 Giusti Rd                                                      Herald, CA 95638‐9726                                                                                                   First Class Mail
Chartered Organization         Liberty Mills Church Of The Nazarene                           Anthony Wayne Area 157                  10621 Liberty Mills Rd                                               Fort Wayne, IN 46804‐6379                                                                                               First Class Mail
Chartered Organization         Liberty Mills Church Of The Nazarene                           Anthony Wayne Area 157                  10616 Liberty Mills Rd                                               Fort Wayne, IN 46804‐6380                                                                                               First Class Mail
Chartered Organization         Liberty Missionary Baptist Church                              Mobile Area Council‐Bsa 004             1761 Dr Martin L King Jr Ave                                         Mobile, AL 36617‐3968                                                                                                   First Class Mail
Voting Party                   Liberty Mutual Insurance Company                               Attn: Michael Calawa                    175 Berkeley St                                                      Boston, MA 02116                                                                    michael.calawa@libertymutual.com    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Liberty Mutual Insurance Company                               Attn: Justin Gauthier                   100 Liberty Way                                                      Dover, NH 03820                                                                     justin.gauthier@libertymutual.com   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Liberty Mutual Insurance Company                               c/o Choate Hall & Stewart LLP           Attn: Douglas R Gooding                                              2 International Pl               Boston, MA 02110                                   dgooding@choate.com                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Liberty Mutual Insurance Company                               c/o Choate Hall & Stewart LLP           Attn: Douglas R. Gooding                                             Two International Place          Boston, MA 02110                                   dgooding@choate.com                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Liberty Parent Teacher Org                                     Mayflower Council 251                   49 Proctor Rd                                                        Braintree, MA 02184‐7635                                                                                                First Class Mail
Chartered Organization         Liberty Park Elementary School                                 Crossroads Of America 160               8425 E Raymond St                                                    Indianapolis, IN 46239‐9426                                                                                             First Class Mail
Chartered Organization         Liberty Presbyterian                                           Simon Kenton Council 441                7080 Olentangy River Rd                                              Delaware, OH 43015‐9208                                                                                                 First Class Mail
Chartered Organization         Liberty School PTO                                             Northern Lights Council 429             5400 Onyx Dr                                                         Bismarck, ND 58503‐5019                                                                                                 First Class Mail
Chartered Organization         Liberty Twp Volunteer Fire Dept                                Buckeye Council 436                     P.O. Box                                                             Sulphur Springs, OH 44881                                                                                               First Class Mail
Voting Party                   Liberty UMC                                                    Attn: Claude Yearwood                   7017 S Rogers Rd                                                     Lizella, GA 31052                                                                   claudeyear@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Liberty UMC ‐ Bealeton                                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200         Tampa, FL 33602                                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Liberty Union Vfw Post 3761                                    Simon Kenton Council 441                2155 Reyn Balt Rd Nw                                                 Baltimore, OH 43105‐9401                                                                                                First Class Mail
Voting Party                   Liberty United Methodist Church                                Attn: Leslie Young                      1001 Sunset Ave                                                      Liberty, MO 64068                                                                   leslie.young@lumcmo.org             Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Liberty United Methodist Church                                Attn: David M Bullock                   9587 Liberty Church Rd                                               Brentwood, TN 37027                                                                 davidbullock.law@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Liberty United Methodist Church                                Attn: Rev Bridgette LeConey             170 N Main St                                                        Liberty, NY 12754                                                                   bblec7@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Liberty Ward LDS                                               Blue Grass Council 204                  176 Bull Run Rd                                                      Liberty, KY 42539‐5895                                                                                                  First Class Mail
Voting Party                   Libertyville United Methodist Church                           Libertyville UMC                        429 Brainerd Ave                                                     Libertyville, IL 60048                                                              jay.carr@umcl.org                   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Library District 2 Of Linn Co                                  Heart Of America Council 307            209 N Broadway St                                                    La Cygne, KS 66040‐4135                                                                                                 First Class Mail
Voting Party                   Lickdale: Trinity                                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200         Tampa, FL 33602                                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Licking United Methodist Church                                Attn: Kathleen Borg                     208 S Main St                                                        Licking, MO 65542                                                                   lickingmethodist@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Licking Utd Methodist Chruch                                   Ozark Trails Council 306                P.O. Box 327                                                         Licking, MO 65542‐0327                                                                                                  First Class Mail
Chartered Organization         Lida Hooe Elementary PTA                                       Circle Ten Council 571                  2419 Gladstone Dr                                                    Dallas, TX 75211‐5312                                                                                                   First Class Mail
Voting Party                   Liden, Dobberfuhl & Harrington                                 Andrew J Harrington                     425 E LaSalle Ave, P.O. Box 137                                      Barron, WI 54812                                                                    aharrington@barronlawyers.com       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 246 of 442
                                                                                  Case 20-10343-LSS                                            Doc 8171                                  Filed 01/06/22                                                  Page 262 of 457
                                                                                                                                                                            Exhibit B
                                                                                                                                                                             Service List
                                                                                                                                                                      Served as set forth below

        Description                                                        Name                                                                                           Address                                                                                                         Email                Method of Service
Voting Party                   Liden, Dobberfuhl & Harrington, SC                                Attn: Andrew Harrington                 P.O. Box 137                                           425 E LA SALLE AVE                Barron, WI 54812                 ajharrington@barronlawyers.com   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lido Isle Womans Club                                             Orange County Council 039               701 Via Lido Soud                                      Newport Beach, CA 92663‐5530                                                                        First Class Mail
Chartered Organization         Lieder Elementary School ‐ PTO                                    Sam Houston Area Council 576            17300 Kieth Harrow Blvd                                Houston, TX 77084                                                                                   First Class Mail
Chartered Organization         Lien Doan Bac Dau                                                 Silicon Valley Monterey Bay 055         1734 Jones Ave                                         Santa Clara, CA 95051‐2718                                                                          First Class Mail
Chartered Organization         Lien Doan Bach Dang Giang                                         Orange County Council 039               16436 Vernon St                                        Fountain Valley, CA 92708‐2144                                                                      First Class Mail
Chartered Organization         Lien Doan Chi Lang Assoc                                          Orange County Council 039               9386 Lily Ave                                          Fountain Valley, CA 92708‐2263                                                                      First Class Mail
Chartered Organization         Lien Doan Chi Lang Foundation                                     Orange County Council 039               9168 Mcbride River Ave                                 Fountain Valley, CA 92708‐6439                                                                      First Class Mail
Chartered Organization         Lien Doan Chi Linh                                                Orange County Council 039               4760 Lincoln Ave                                       Cypress, CA 90630‐2652                                                                              First Class Mail
Chartered Organization         Lien Doan Hd Tran Hung Dao                                        Orange County Council 039               18150 Devonwood Cir                                    Fountain Valley, CA 92708‐4430                                                                      First Class Mail
Chartered Organization         Lien Doan Hoa Binh                                                Silicon Valley Monterey Bay 055         5173 Sunny Creek Dr                                    San Jose, CA 95135‐1246                                                                             First Class Mail
Chartered Organization         Lien Doan Hoa Lu 1                                                Orange County Council 039               30062 Topsail                                          Laguna Niguel, CA 92677‐8889                                                                        First Class Mail
Chartered Organization         Lien Doan Hoa Lu 2                                                Orange County Council 039               30062 Topsail                                          Laguna Niguel, CA 92677‐8889                                                                        First Class Mail
Chartered Organization         Lien Doan Hoa Lu 3                                                Orange County Council 039               30062 Topsail                                          Laguna Niguel, CA 92677‐8889                                                                        First Class Mail
Chartered Organization         Lien Doan Hoa Lu 4                                                Orange County Council 039               30062 Topsail                                          Laguna Niguel, CA 92677‐8889                                                                        First Class Mail
Chartered Organization         Lien Doan Hoa Lu 5                                                Orange County Council 039               30062 Topsail                                          Laguna Niguel, CA 92677‐8889                                                                        First Class Mail
Chartered Organization         Lien Doan Hoa Lu Parent Assoc                                     Silicon Valley Monterey Bay 055         2117 Ashwood Ln                                        San Jose, CA 95132‐1204                                                                             First Class Mail
Chartered Organization         Lien Doan Hoang Sa                                                Orange County Council 039               2812 W Westhaven Dr                                    Anaheim, CA 92804‐3252                                                                              First Class Mail
Chartered Organization         Lien Doan Hung Vuong                                              Orange County Council 039               13502 Paysen Dr                                        Westminster, CA 92683‐2435                                                                          First Class Mail
Chartered Organization         Lien Doan Hung Vuong Foundation                                   Orange County Council 039               7777 Westminster Blvd                                  Westminster, CA 92683‐4025                                                                          First Class Mail
Chartered Organization         Lien Doan Huong Dao Trung Duong                                   Orange County Council 039               2081 S Della Ln                                        Anaheim, CA 92802‐3108                                                                              First Class Mail
Chartered Organization         Lien Doan Huong Dao Truong Son Corp                               Orange County Council 039               939 W 20Th St                                          Santa Ana, CA 92706‐3521                                                                            First Class Mail
Chartered Organization         Lien Doan Huong Dao Van Lang                                      Orange County Council 039               18150 Devonwood Cir                                    Fountain Valley, CA 92708‐4430                                                                      First Class Mail
Chartered Organization         Lien Doan Huong Dao Van Lang A                                    Orange County Council 039               18150 Devonwood Cir                                    Fountain Valley, CA 92708‐4430                                                                      First Class Mail
Chartered Organization         Lien Doan Huong Viet                                              Orange County Council 039               3521 Almond St                                         Irvine, CA 92606‐2103                                                                               First Class Mail
Chartered Organization         Lien Doan Lam Son, Inc                                            Orange County Council 039               2114 Cotter St                                         Santa Ana, CA 92706‐2220                                                                            First Class Mail
Chartered Organization         Lien Doan Phu Dong                                                Silicon Valley Monterey Bay 055         17355 Walnut Grove Dr                                  Morgan Hill, CA 95037‐4400                                                                          First Class Mail
Chartered Organization         Lien Doan Potomac Crew 1794                                       National Capital Area Council 082       21304 Autumn Rose Way                                  Germantown, MD 20876‐3925                                                                           First Class Mail
Chartered Organization         Lien Doan Potomac, Inc                                            National Capital Area Council 082       12700 Lincolnshire Dr                                  Potomac, MD 20854‐2363                                                                              First Class Mail
Chartered Organization         Lien Doan Sai Gon Inc                                             National Capital Area Council 082       610 Deerhead Ct                                        Silver Spring, MD 20904‐3334                                                                        First Class Mail
Chartered Organization         Lien Doan Truong Son                                              Orange County Council 039               939 W 20Th St                                          Santa Ana, CA 92706‐3521                                                                            First Class Mail
Chartered Organization         Life As We Know It (Lawki)                                        Pony Express Council 311                P.O. Box 542                                           Wathena, KS 66090‐0542                                                                              First Class Mail
Chartered Organization         Life Christian Church                                             Las Vegas Area Council 328              3085 Raven Ave                                         Las Vegas, NV 89139‐8173                                                                            First Class Mail
Chartered Organization         Life Church                                                       Texas Trails Council 561                2442 Old Anson Rd                                      Abilene, TX 79603‐2713                                                                              First Class Mail
Chartered Organization         Life Church Huntington                                            Anthony Wayne Area 157                  900 E State St                                         Huntington, IN 46750‐2954                                                                           First Class Mail
Chartered Organization         Life Church Indianapolis                                          Crossroads Of America 160               612 N High School Rd                                   Indianapolis, IN 46214‐3756                                                                         First Class Mail
Chartered Organization         Life Church Of La Vernia                                          Alamo Area Council 583                  P.O. Box 1440                                          La Vernia, TX 78121‐1420                                                                            First Class Mail
Chartered Organization         Life Church Smyrna Assembly Of God                                Atlanta Area Council 092                4100 King Springs Rd Se                                Smyrna, GA 30082‐4207                                                                               First Class Mail
Chartered Organization         Life Church‐Kings Vly Christian Sch                               Mt Diablo‐Silverado Council 023         4255 Clayton Rd                                        Concord, CA 94521‐2711                                                                              First Class Mail
Chartered Organization         Life Point Methodist Church                                       Longhorn Council 662                    P.O. Box 205                                           Haslet, TX 76052‐0205                                                                               First Class Mail
Chartered Organization         Life Springs Utd Methodist Church                                 Flint River Council 095                 P.O. Box 392                                           Zebulon, GA 30295‐0392                                                                              First Class Mail
Chartered Organization         Life360 Westgate                                                  Ozark Trails Council 306                3581 S Kansas Ave                                      Springfield, MO 65807‐4303                                                                          First Class Mail
Voting Party                   Lifegate United Methodist Church                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lifegate Utd Methodist Church                                     Jersey Shore Council 341                P.O. Box 355                                           Somers Point, NJ 08244‐0355                                                                         First Class Mail
Chartered Organization         Lifeline Community Church                                         Blue Ridge Council 551                  6979 W Oak Hwy                                         Westminster, SC 29693‐5528                                                                          First Class Mail
Chartered Organization         Lifepoint Church                                                  Greater Alabama Council 001             433 11Th St Sw                                         Arab, AL 35016‐1764                                                                                 First Class Mail
Voting Party                   LifePoint, Haslet TX                                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   LifePoint, Haslet TX                                              12501 US HWY 287                        Haslet, TX 76052                                                                                                                                           First Class Mail
Chartered Organization         Lifesaver Club 1st Presbyterian Ch                                Mid‐America Council 326                 301 Church St                                          Audubon, IA 50025‐1210                                                                              First Class Mail
Voting Party                   LifeSong ‐ Orlando                                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lifesong Church                                                   Central Florida Council 083             2800 S Alafaya Trl                                     Orlando, FL 32828‐7967                                                                              First Class Mail
Chartered Organization         Lifesong Utd Methodist Church                                     Ozark Trails Council 306                360 Emerson Rd                                         Reeds Spring, MO 65737‐8621                                                                         First Class Mail
Chartered Organization         Lifespan                                                          Narragansett 546                        245 Chapman St Ste 200                                 Providence, RI 02905‐4539                                                                           First Class Mail
Chartered Organization         Lifestream Church                                                 President Gerald R Ford 781             P.O. Box 93                                            Allendale, MI 49401‐0093                                                                            First Class Mail
Chartered Organization         Lifestream Church Of The Nazarene                                 National Capital Area Council 082       5105 Leonardtown Rd                                    Waldorf, MD 20601‐3625                                                                              First Class Mail
Voting Party                   Lifetime Dock & Lumber Inc                                        24536 Overseas Hwy                      Summerland Key, FL 33042                                                                                                  katie@lifetimeboatlifts.com      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lifetree Community Church                                         President Gerald R Ford 781             10933 Lake Michigan Dr                                 West Olive, MI 49460‐9631                                                                           First Class Mail
Chartered Organization         Lifeworks Services Inc                                            Northern Star Council 250               2965 Lone Oak Dr Ste 160                               Eagan, MN 55121‐3019                                                                                First Class Mail
Chartered Organization         Lift                                                              Great Lakes Fsc 272                     1400 Rosa Parks Blvd                                   Detroit, MI 48216‐1954                                                                              First Class Mail
Chartered Organization         Liga Futbol Chicago                                               Pathway To Adventure 456                875 Aurora Ave                                         Aurora, IL 60505‐1737                                                                               First Class Mail
Chartered Organization         Liga Sol F C                                                      Pathway To Adventure 456                1270 Glen Ellyn Rd                                     Glendale Heights, IL 60139‐3139                                                                     First Class Mail
Chartered Organization         Light Of Christ Lutheran Church                                   Blackhawk Area 660                      1100 Huntington Dr                                     Algonquin, IL 60102‐1925                                                                            First Class Mail
Chartered Organization         Light Of Christ Lutheran Church                                   Orange County Council 039               18182 Culver Dr                                        Irvine, CA 92612‐2702                                                                               First Class Mail
Voting Party                   Light of the Hill United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Light of the Hills, LCMS (LOTH)                                   Attn: Brian C Morris, President         3100 Rodeo Rd                                          Cameron Park, CA 95682                                             morcon@jps.net                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Light of the World Christian Church                               Lynn Martin                             4108 Ansar Ln                                          Indianapolis, IN 46254‐3123                                        lynnmartin@lightoftheworld.org   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Light of the World Christian Church                               Attn: Lynn Martin                       4750 N. Michigan Rd                                    Indianapolis, IN 46228                                             lynnmartin@lightoftheworld.org   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lighthouse Academy At Newburg                                     Lincoln Heritage Council 205            5312 Shepherdsville Rd                                 Louisville, KY 40228‐1008                                                                           First Class Mail
Chartered Organization         Lighthouse Baptist Church                                         Blue Ridge Mtns Council 599             P.O. Box 809                                           Madison Heights, VA 24572‐0809                                                                      First Class Mail
Voting Party                   Lighthouse Coastal Community Church                               Attn: Eric Wayman                       301 Magnolia                                           Costa Mesa, CA 92627                                               eric@lighthousecommunity.com     Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lighthouse Community Church                                       Greater St Louis Area Council 312       464 Fox Trail Dr                                       Lake St Louis, MO 63367‐2252                                                                        First Class Mail
Voting Party                   Lighthouse Costal Community Church                                Attn: Dee Renfro                        301 Magnolia                                           Costa Mesa, CA 92627                                               eric@lighthousecommunityf.com    Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lighthouse Elementary School PTO                                  Gulf Stream Council 085                 4750 Dakota Dr                                         Jupiter, FL 33458‐7808                                                                              First Class Mail
Chartered Organization         Lighthouse Fellowship                                             Longhorn Council 662                    7200 Robertson Rd                                      Fort Worth, TX 76135‐9457                                                                           First Class Mail
Voting Party                   Lighthouse Fellowship, a United Methodist Community, Fort Worth   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lighthouse Fellowship, a United Methodist Community, Fort Worth   7200 Robertson RD                       Fort Worth, TX 76135                                                                                                                                       First Class Mail
Chartered Organization         Lighthouse Freewill Baptist Church                                Buckskin 617                            P.O. Box 1418                                          Louisa, KY 41230‐4418                                                                               First Class Mail
Chartered Organization         Lighthouse Homeschoolers Inc                                      Greater Tampa Bay Area 089              218 Holborn Loop                                       Davenport, FL 33897‐4623                                                                            First Class Mail
Chartered Organization         Lighthouse Ministries‐Hornes Temple                               Garden State Council 690                P.O. Box 242                                           Woodbine, NJ 08270‐0242                                                                             First Class Mail
Chartered Organization         Lighthouse Nation                                                 Cape Fear Council 425                   14681 Rea Magnet Rd                                    Laurinburg, NC 28352‐9423                                                                           First Class Mail
Chartered Organization         Lighthouse Ranch For Boys                                         Istrouma Area Council 211               51453 La 443                                           Loranger, LA 70446                                                                                  First Class Mail
Chartered Organization         Lights Chapel Baptist Church                                      Middle Tennessee Council 560            P.O. Box 278                                           Greenbrier, TN 37073‐0278                                                                           First Class Mail
Chartered Organization         Lightstreet Fire Co                                               Columbia‐Montour 504                    1630 Monroe Ave                                        Bloomsburg, PA 17815‐7800                                                                           First Class Mail
Voting Party                   Lightstreet United Methodist Church (4405)                        c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lightstreet Utd Methodist Church                                  Columbia‐Montour 504                    1640 Main St                                           Bloomsburg, PA 17815‐8839                                                                           First Class Mail
Chartered Organization         Ligonier Valley Ymca                                              Westmoreland Fayette 512                110 W Church St                                        Ligonier, PA 15658‐1223                                                                             First Class Mail
Firm                           Ligori & Ligori, PA                                               Keith Ligori, Esquire                   1711 W Kennedy Blvd.                                   Tampa, FL 33636                                                    boyscouts@callmeonmycell.com     Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lihikai Elementary Ptsa                                           Aloha Council, Bsa 104                  335 S Papa Ave                                         Kahului, HI 96732‐1528                                                                              First Class Mail
Chartered Organization         Lihue Christian Church Of Christ                                  Aloha Council, Bsa 104                  2943 Kress St                                          Lihue, HI 96766‐1815                                                                                First Class Mail
Chartered Organization         Lihue Hongwanji Mission                                           Aloha Council, Bsa 104                  P.O. Box 1248                                          Lihue, HI 96766‐5248                                                                                First Class Mail
Chartered Organization         Lilburn Christian Church                                          Northeast Georgia Council 101           314 Arcado Rd Nw                                       Lilburn, GA 30047‐2815                                                                              First Class Mail
Chartered Organization         Lilburn Elementary Stem                                           Northeast Georgia Council 101           531 Lilburn School Rd Nw                               Lilburn, GA 30047‐4920                                                                              First Class Mail
Chartered Organization         Lillian Jones Rec Center                                          Baltimore Area Council 220              1310 N Stricker St                                     Baltimore, MD 21217‐2719                                                                            First Class Mail
Chartered Organization         Lillington Presbyterian Church                                    Occoneechee 421                         1101 S 8Th St                                          Lillington, NC 27546‐5940                                                                           First Class Mail
Chartered Organization         Lilly Grove Missionary Baptist Church                             Sam Houston Area Council 576            7034 Tierwester St                                     Houston, TX 77021‐4634                                                                              First Class Mail
Chartered Organization         Lily Lake School Ptc                                              Three Fires Council 127                 5N720 Il Rte 47                                        Maple Park, IL 60151                                                                                First Class Mail
Chartered Organization         Lily Of The Valley Church                                         South Florida Council 084               4080 Nw 165Th St                                       Opa Locka, FL 33054‐6225                                                                            First Class Mail
Chartered Organization         Lima City School                                                  Black Swamp Area Council 449            755 St Johns Ave                                       Lima, OH 45804‐1552                                                                                 First Class Mail
Chartered Organization         Lima Memorial Hospital                                            Black Swamp Area Council 449            Belllefontaine Rd                                      Lima, OH 45805                                                                                      First Class Mail
Chartered Organization         Lima Parks Recreation                                             Black Swamp Area Council 449            900 S Collett St                                       Lima, OH 45804‐1005                                                                                 First Class Mail
Chartered Organization         Lima Rotary Club                                                  Iroquois Trail Council 376              P.O. Box 255                                           Honeoye Falls, NY 14472‐0255                                                                        First Class Mail
Voting Party                   Lima United Methodist Church                                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lima Utd Methodist Church                                         Cradle Of Liberty Council 525           P.O. Box 158                                           Lima, PA 19037‐0158                                                                                 First Class Mail
Voting Party                   Lime Ridge United Methodist Church (179933)                       c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lime Ridge Utd Methodist Church                                   Columbia‐Montour 504                    6405 4Th St                                            Bloomsburg, PA 17815‐8735                                                                           First Class Mail
Chartered Organization         Limestone County Fire Assoc                                       Greater Alabama Council 001             100 S Clinton St                                       Athens, AL 35611‐2643                                                                               First Class Mail
Chartered Organization         Limestone County Tech Center                                      Greater Alabama Council 001             505 Sanders St                                         Athens, AL 35611‐1456                                                                               First Class Mail
Chartered Organization         Limestone Lions Club                                              Cherokee Area Council 469 469           P.O. Box 3234                                          Bartlesville, OK 74006‐3234                                                                         First Class Mail
Chartered Organization         Limestone Masonic Lodge 214                                       Katahdin Area Council 216               222 Main St                                            Limestone, ME 04750                                                                                 First Class Mail
Chartered Organization         Limestone Presby Church                                           Del Mar Va 081                          3201 Limestone Rd                                      Wilmington, DE 19808‐2107                                                                           First Class Mail
Chartered Organization         Limon Rotary Club                                                 Pikes Peak Council 060                  P.O. Box 697                                           Limon, CO 80828‐0697                                                                                First Class Mail
Chartered Organization         Limona Village Ch Utd Methodist Ch                                Greater Tampa Bay Area 089              408 Limona Rd                                          Brandon, FL 33510‐4149                                                                              First Class Mail
Voting Party                   Limona Village Chapel ‐ Brandon                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Limona Village Chapel ‐ Brandon                                   408 Limona Rd                           Brandon, FL 33510                                                                                                                                          First Class Mail
Voting Party                   Lina UMC 209 N Middletown Rd, Media, PA 1906                      209 N Middletown Rd                     Media, PA 19063                                                                                                                                            First Class Mail
Voting Party                   Lina UMC 209 N Middletown Rd, Media, PA 19063                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Linc At Indian Creek Elementary                                   Heart Of America Council 307            9801 Grand Ave                                         Kansas City, MO 64114‐4136                                                                          First Class Mail
Chartered Organization         Linc At Primitivo Garcia                                          Heart Of America Council 307            1000 W 17Th St                                         Kansas City, MO 64108‐1168                                                                          First Class Mail
Chartered Organization         Lincoln Ave Methodist Church                                      Ohio River Valley Council 619           3838 Lincoln Ave                                       Shadyside, OH 43947‐1319                                                                            First Class Mail
Chartered Organization         Lincoln Chamber Of Commerce                                       Great Rivers Council 653                P.O. Box 246                                           Lincoln, MO 65338‐0246                                                                              First Class Mail
Chartered Organization         Lincoln Clc Boys And Girls Clubs                                  Three Harbors Council 636               1817 W Lincoln Ave                                     Milwaukee, WI 53215‐2650                                                                            First Class Mail
Chartered Organization         Lincoln Cnty Fire Prot Distr 1                                    Greater St Louis Area Council 312       700 E Cherry St                                        Troy, MO 63379‐1414                                                                                 First Class Mail
Chartered Organization         Lincoln Co Memorial Vfw Post 8828                                 Greater St Louis Area Council 312       P.O. Box 101                                           Troy, MO 63379‐0101                                                                                 First Class Mail
Chartered Organization         Lincoln Commty                                                    United Methodist Church                 9074 Whittaker Rd                                      Ypsilanti, MI 48197‐8917                                                                            First Class Mail
Chartered Organization         Lincoln Community Education                                       Southern Shores Fsc 783                 7425 Willis Rd                                         Ypsilanti, MI 48197‐8919                                                                            First Class Mail
Voting Party                   Lincoln Community United Methodist Church                         Attn: Andrew Lane                       9014 Chambord Dr                                       Ypsilanti, MI 48197                                                alane36@gmail.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lincoln County Ambulance District                                 Greater St Louis Area Council 312       P.O. Box 157                                           Troy, MO 63379‐0157                                                                                 First Class Mail
Chartered Organization         Lincoln County Emergency Medical Svcs                             Piedmont Council 420                    720 John Howel Memorial Dr                             Lincolnton, NC 28092‐3151                                                                           First Class Mail
Chartered Organization         Lincoln County Regional Airport                                   Piedmont Council 420                    714 Jack Dellinger Dr                                  Iron Station, NC 28080‐8707                                                                         First Class Mail
Chartered Organization         Lincoln County Sheriff's Office                                   Piedmont Council 420                    P.O. Box 506                                           Lincolnton, NC 28093‐0506                                                                           First Class Mail
Chartered Organization         Lincoln County Volunteer Fire Rescue                              Middle Tennessee Council 560            312 Market St W                                        Fayetteville, TN 37334‐3126                                                                         First Class Mail
Chartered Organization         Lincoln El School ‐ PTO                                           Three Harbors Council 636               1741 N Wauwatosa Ave                                   Milwaukee, WI 53213‐2239                                                                            First Class Mail
Chartered Organization         Lincoln Elem After School Program                                 Samoset Council, Bsa 627                1621 S Felker Ave                                      Marshfield, WI 54449‐5120                                                                           First Class Mail
Chartered Organization         Lincoln Elementary PTO                                            Northern Lights Council 429             3320 Mccully Way                                       Bismarck, ND 58504                                                                                  First Class Mail
Chartered Organization         Lincoln Elementary PTO                                            Silicon Valley Monterey Bay 055         705 California St                                      Salinas, CA 93901‐4145                                                                              First Class Mail
Chartered Organization         Lincoln Elementary School                                         Buffalo Trace 156                       635 Lincoln Ave                                        Evansville, IN 47713‐2425                                                                           First Class Mail
Chartered Organization         Lincoln Elementary School P T A                                   Three Harbors Council 636               4416 S Packard Ave                                     Cudahy, WI 53110‐1116                                                                               First Class Mail
Chartered Organization         Lincoln Elementary School PTO                                     Pathway To Adventure 456                3551 Block Ave                                         East Chicago, IN 46312‐1820                                                                         First Class Mail
Chartered Organization         Lincoln Fire Dept‐Station 8                                       Cornhusker Council 324                  17th & Van Dorn                                        Lincoln, NE 68502                                                                                   First Class Mail
Voting Party                   Lincoln First UMC                                                 Attn: Trustee Chris Miller              302 Broadway St                                        Lincoln, IL 62656                                                  info@lincolnfirstumc.org         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lincoln Glen Church                                               2700 Booksin Ave                        San Jose, CA 95125                                                                                                        tyler@lincolnglen.org            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lincoln Heights Elementary School                                 President Gerald R Ford 781             12420 Lincoln Lake Rd Ne                               Greenville, MI 48838‐9114                                                                           First Class Mail
Chartered Organization         Lincoln Heights Elementary School                                 Longs Peak Council 062                  2214 Ave C                                             Scottsbluff, NE 69361‐1951                                                                          First Class Mail
Chartered Organization         Lincoln Heights Outreach Enrichmt Prog                            Dan Beard Council, Bsa 438              9913 Wayne Ave                                         Cincinnati, OH 45215‐1407                                                                           First Class Mail
Voting Party                   Lincoln Heritage Cncl 205                                         12001 Sycamore Station Pl               Louisville, KY 40299‐4898                                                                                                                                  First Class Mail
Voting Party                   Lincoln Heritage Council                                          c/o Dentons Bingham Greeneba            Attn: James R Irving                                   3500 PNC Tower, 101 S 5th St      Louisville, KY 40202             james.irving@denton.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Lincoln Heritage Council, Inc, Boy Scouts of America              Attn: Jason Pierce                      12001 Sycamore Station Pl                              Louisville, KY 40299                                               james.irving@dentons.com         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lincoln Hgts Missionary Baptist Church                            Dan Beard Council, Bsa 438              9991 Wayne Ave                                         Cincinnati, OH 45215‐1407                                                                           First Class Mail
Chartered Organization         Lincoln High School                                               Denver Area Council 061                 2285 S Federal Blvd                                    Denver, CO 80219‐5433                                                                               First Class Mail
Chartered Organization         Lincoln Hills Christian Church                                    Lincoln Heritage Council 205            P.O. Box 267                                           Corydon, IN 47112‐0267                                                                              First Class Mail
Voting Party                   Lincoln Hills United Methodist Church                             P.O. Box 594                            English, IN 47118                                                                                                         sillings@outlook.com             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lincoln Hills Utd Methodist Church                                Lincoln Heritage Council 205            1598 W State Rd 64                                     English, IN 47118‐6714                                                                              First Class Mail
Chartered Organization         Lincoln Kiwanis                                                   Golden Empire Council 047               P.O. Box 1094                                          Lincoln, CA 95648‐1094                                                                              First Class Mail
Chartered Organization         Lincoln Land Commty College                                       Springfield Airport Auth                815 S Airport Dr                                       Springfield, IL 62707‐8486                                                                          First Class Mail
Chartered Organization         Lincoln Lions Club                                                Coronado Area Council 192               400 N 4Th St                                           Lincoln, KS 67455‐2047                                                                              First Class Mail
Chartered Organization         Lincoln Magnet Elementary                                         W Tennessee Area Council 559            425 Berry St                                           Jackson, TN 38301‐4661                                                                              First Class Mail
Chartered Organization         Lincoln Methodist Mens Club‐Lincoln Umc                           Greater Alabama Council 001             16 2Nd Ave                                             Lincoln, AL 35096‐3659                                                                              First Class Mail
Chartered Organization         Lincoln Middle School                                             Crossroads Of America 160               5353 W 71St St                                         Indianapolis, IN 46268‐2105                                                                         First Class Mail
Chartered Organization         Lincoln Northeast Kiwanis Club                                    Cornhusker Council 324                  3940 N 27Th St                                         Lincoln, NE 68502                                                                                   First Class Mail
Chartered Organization         Lincoln Northeast Sertoma Club                                    Cornhusker Council 324                  8648 Ridge Hollow Dr                                   Lincoln, NE 68526‐6086                                                                              First Class Mail
Chartered Organization         Lincoln Parent Staff Group                                        Cascade Pacific Council 492             4200 Nw Daniels St                                     Vancouver, WA 98660‐1758                                                                            First Class Mail
Chartered Organization         Lincoln Parents                                                   Blue Mountain Council 604               4901 W 21St Ave                                        Kennewick, WA 99338                                                                                 First Class Mail
Voting Party                   Lincoln Park Community United Methodist Church                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lincoln Park PTO                                                  President Gerald R Ford 781             2951 Leon St                                           Norton Shores, MI 49441‐3611                                                                        First Class Mail
Voting Party                   Lincoln Park United Methodist Church                              Attn: Donnell Allen King                P.O. Box 3693                                          3120 Pershing St                  Knoxville, TN 37917              info@lincolnparkmethodist.org    Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Lincoln Parks And Rec                                             Cornhusker Council 324                  3131 O St                                              Lincoln, NE 68510‐1534                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                             Page 247 of 442
                                                                                  Case 20-10343-LSS                                                  Doc 8171                                      Filed 01/06/22                                                   Page 263 of 457
                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                       Service List
                                                                                                                                                                                Served as set forth below

        Description                                                        Name                                                                                                     Address                                                                                                             Email              Method of Service
Chartered Organization         Lincoln Parks And Recreation                              Cornhusker Council 324                                 820 Goodhue Blvd                                          Lincoln, NE 68508‐4336                                                                                First Class Mail
Chartered Organization         Lincoln Police Dept                                       Cornhusker Council 324                                 575 S 10Th St                                             Lincoln, NE 68508‐2810                                                                                First Class Mail
Chartered Organization         Lincoln School                                            Far E Council 803                                      P.O. Box 2673 Rabi Bhahan                                 Kathmandu                         Nepal                                                               First Class Mail
Chartered Organization         Lincoln School                                            Grand Canyon Council 010                               201 Park Ave                                              Prescott, AZ 86303‐3719                                                                               First Class Mail
Chartered Organization         Lincoln School Afterschool Program                        Overland Trails 322                                    2808 O Flannagan St                                       Grand Island, NE 68803‐1331                                                                           First Class Mail
Chartered Organization         Lincoln School Parent Teacher                             Westchester Putnam 388                                 170 E Lincoln Ave                                         Mount Vernon, NY 10552‐3317                                                                           First Class Mail
Chartered Organization         Lincoln School PTA                                        Bay‐Lakes Council 635                                  810 E 5Th Ave                                             Sault S Marie, MI 49783‐3314                                                                          First Class Mail
Chartered Organization         Lincoln School PTA                                        Twin Rivers Council 364                                Albermarle Rd                                             Scotia, NY 12302                                                                                      First Class Mail
Chartered Organization         Lincoln School PTO                                        Northeast Illinois 129                                 910 Forest Ave                                            Evanston, IL 60202‐1474                                                                               First Class Mail
Chartered Organization         Lincoln School PTO                                        Laurel Highlands Council 527                           328 Lincoln Ave                                           Pittsburgh, PA 15206‐4115                                                                             First Class Mail
Chartered Organization         Lincoln School PTO                                        Three Fires Council 127                                211 S 6Th Ave                                             St Charles, IL 60174‐2901                                                                             First Class Mail
Chartered Organization         Lincoln School PTO                                        Great Lakes Fsc 272                                    22500 Federal Ave                                         Warren, MI 48089‐5304                                                                                 First Class Mail
Chartered Organization         Lincoln School PTO                                        Sioux Council 733                                      1100 13Th St Ne                                           Watertown, SD 57201‐5749                                                                              First Class Mail
Chartered Organization         Lincoln Square Recreation Center                          San Francisco Bay Area Council 028                     250 10Th St                                               Oakland, CA 94607‐4437                                                                                First Class Mail
Chartered Organization         Lincoln Trail Christian Church                            Lincoln Heritage Council 205                           508 Valley View Dr                                        Irvington, KY 40146                                                                                   First Class Mail
Voting Party                   Lincoln United Methodist Church                           Attn: Jennifer Morgan                                  P.O. Box 130                                              Lincoln, Al 35096                                                   lumcorjesus@gmail.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lincoln United Methodist Church                           Attn: Jeffery Cobb                                     14177 Jackson Trace Rd                                    Lincoln, AL 35096                                                   Jmhcobb@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lincoln United Methodist Church                           c/o Chicago Lincoln                                    2242 S Damen                                              Chicago, IL 60608                                                   emma@somosunpueblo.com            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lincoln United Methodist Church                           Attn: Emma Lozano                                      2009 W 22nd Pl                                            Chicago, IL 60608                                                                                     First Class Mail
Chartered Organization         Lincoln Vfw Post 3010                                     Golden Empire Council 047                              541 5Th St                                                Lincoln, CA 95648‐1847                                                                                First Class Mail
Chartered Organization         Lincoln Volunteer Fire Dept                               Seneca Waterways 397                                   719 Plank Rd                                              Ontario, NY 14519‐9121                                                                                First Class Mail
Chartered Organization         Lincoln Youth Sports Assoc                                Cornhusker Council 324                                 2033 Wilderness Ridge Dr                                  Lincoln, NE 68512‐9289                                                                                First Class Mail
Chartered Organization         Lincoln/Washington Schools PTA                            Patriots Path Council 358                              507 Morris Ave                                            Summit, NJ 07901‐1544                                                                                 First Class Mail
Chartered Organization         Lincolnshire Police Dept                                  Northeast Illinois 129                                 1 Olde Half Day Rd                                        Lincolnshire, IL 60069‐3053                                                                           First Class Mail
Chartered Organization         Lincroft Presbyterian Church                              Monmouth Council, Bsa 347                              P.O. Box 328                                              Lincroft, NJ 07738‐0328                                                                               First Class Mail
Chartered Organization         Lincroft PTA                                              Monmouth Council, Bsa 347                              729 Newman Springs Rd                                     Lincroft, NJ 07738‐1524                                                                               First Class Mail
Chartered Organization         Lincroft‐Everett PTA                                      Monmouth Council, Bsa 347                              729 Newman Springs Rd                                     Lincroft, NJ 07738‐1524                                                                               First Class Mail
Voting Party                   Linda Brommer                                             Address Redacted                                                                                                                                                                     Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Linda Davis                                               c/o Booth & Cook PA                                    Attn: Damien D' Ascenzio Esq                              7510 Ridge Rd                     Port Richey, FL 34668             damien@boothcook.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Linda Zabik                                               Address Redacted                                                                                                                                                                     Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lindbergh School PTA                                      Great Lakes Fsc 272                                    501 N Waverly St                                          Dearborn, MI 48128‐1648                                                                               First Class Mail
Chartered Organization         Lindbergh School PTA                                      Northern New Jersey Council, Bsa 333                   270 1St St                                                Palisades Park, NJ 07650‐1567                                                                         First Class Mail
Voting Party                   Linden Heights United Methodist Church                    Attn: Mr Richard Schwartz                              9914 Harford Rd                                           Parkville, MD 21234                                                 alicialhumc@verizon.net           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Linden High School Njrotc                                 Patriots Path Council 358                              128 W St Georges Ave                                      Linden, NJ 07036‐3961                                                                                 First Class Mail
Chartered Organization         Linden Presbyterian Church                                Water And Woods Council 782                            119 W Broad St                                            Linden, MI 48451‐8621                                                                                 First Class Mail
Chartered Organization         Linden School PTA                                         Great Smoky Mountain Council 557                       700 Robertsville Rd                                       Oak Ridge, TN 37830‐8235                                                                              First Class Mail
Chartered Organization         Linden St School P T O                                    Connecticut Rivers Council, Bsa 066                    69 Linden St                                              Plainville, CT 06062‐2352                                                                             First Class Mail
Chartered Organization         Linden Stem Elementary School                             Simon Kenton Council 441                               2626 Cleveland Ave                                        Columbus, OH 43211‐1648                                                                               First Class Mail
Voting Party                   Linden UMC                                                Attn: Kathy Drummond (Treasurer), John Rowe (Pastor)   13466 John Marshall Hwy                                   Linden, VA 22642                                                    Johnrowe@vaumc.org                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Linden UMC                                                c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   eric@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Linden United Methodist                                   Attn: Johnny Hinson                                    P.O. Box 342                                              Linden, TN 37096                                                                                      First Class Mail
Voting Party                   Linden United Methodist Church                            Attn: Rev Erin Michelle Weaver                         521 E S St                                                Linden, IN 47955                                                    erinmichelle.weaver@inumc.org     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Linden Utd Methodist Church                               Black Warrior Council 006                              401 N Main St                                             Linden, AL 36748‐1321                                                                                 First Class Mail
Chartered Organization         Linden Utd Methodist Church                               Crossroads Of America 160                              P.O. Box 38                                               Linden, IN 47955‐0038                                                                                 First Class Mail
Chartered Organization         Linden Utd Methodist Church                               Crossroads Of America 160                              609 S Main St                                             Linden, IN 47955‐8096                                                                                 First Class Mail
Voting Party                   Linden‐Linthicum United Methodist Church (LLUMC)          Attn: LLUMC Chair of Trustees                          12101 Linden Linthicum Ln                                 Clarksville, MD 21029                                               llumc@l‐lumc.org                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lindenwald Utd Methodist Church                           Dan Beard Council, Bsa 438                             3501 Pleasant Ave                                         Hamilton, OH 45015‐1746                                                                               First Class Mail
Chartered Organization         Lindenwold Home & School Council                          Garden State Council 690                               317 Lake Blvd                                             Lindenwold, NJ 08021‐3310                                                                             First Class Mail
Chartered Organization         Lindenwood University Alpha Phi Omega                     Greater St Louis Area Council 312                      209 S Kingshighway St                                     St Charles, MO 63301‐1693                                                                             First Class Mail
Firm                           Linder Sattler & Rogowsky, LLP                            Christina M. Croglio                                   42 Delaware Avenue, Suite 120                             Buffalo, NY 14202                                                   akeller@lglaw.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Firm                           Linder, Sattler & Rogowsky, LLP                           Erica B. Sattler, Esq.                                 270 North Avenue, Suite 202                               New Rochelle, NY 10801                                              lsrlawny@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lindley Middle School                                     Atlanta Area Council 092                               50 Veterans Memorial Hwy Se                               Mableton, GA 30126‐2612                                                                               First Class Mail
Chartered Organization         Lindley Sixth Grade Academy                               Atlanta Area Council 092                               1550 Pebblebrook Cir Se                                   Mableton, GA 30126‐2750                                                                               First Class Mail
Chartered Organization         Lindsay St Baptist Church                                 Atlanta Area Council 092                               551 North Ave                                             Atlanta, GA 30354                                                                                     First Class Mail
Chartered Organization         Lindsey Garrett American Legion Post 64                   Northeast Georgia Council 101                          318 Alcovy St                                             Monroe, GA 30655‐2140                                                                                 First Class Mail
Chartered Organization         Lineberger Veterinary Hospital                            Piedmont Council 420                                   3735 S New Hope Rd                                        Gastonia, NC 28056‐8423                                                                               First Class Mail
Chartered Organization         Lines School PTO                                          Pathway To Adventure 456                               217 Eern Ave                                              Barrington, IL 60010                                                                                  First Class Mail
Voting Party                   Lineville First United Methodist Church                   Attn: Linda U Jordan, Treasurer                        P.O. Box 175                                              Lineville, AL 36266                                                 lujordan0728@gmail.com            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Linglestown Fire Co                                       New Birth Of Freedom 544                               4801 Linglestown Blvd                                     Harrisburg, PA 17112                                                                                  First Class Mail
Chartered Organization         Linglestown Life Utd Methodist Church                     New Birth Of Freedom 544                               1430 N Mountain Rd                                        Harrisburg, PA 17112‐1217                                                                             First Class Mail
Voting Party                   Linglestown Life, A UMC (3520)                            c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lingston County Sheriff Dept                              Southern Shores Fsc 783                                150 S Highlander Way                                      Howell, MI 48843‐1954                                                                                 First Class Mail
Voting Party                   Linn Grove United Methodist Church                        Attn: David Halblom                                    7309 Fulton St                                            Indianola, IA 50125                                                 dhalblom@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Linn Grove Utd Methodist Church                           Mid Iowa Council 177                                   P.O. Box 46                                               Prole, IA 50229‐0046                                                                                  First Class Mail
Chartered Organization         Linneus Sno Sports Inc                                    Katahdin Area Council 216                              P.O. Box 529                                              Houlton, ME 04730‐0529                                                                                First Class Mail
Chartered Organization         Lino Lakes Police Dept                                    Northern Star Council 250                              640 Town Center Pkwy                                      Lino Lakes, MN 55014‐1182                                                                             First Class Mail
Chartered Organization         Linthicum Elem Sch                                        Parent Teacher Assoc                                   101 School Ln                                             Linthicum Hts, MD 21090‐2527                                                                          First Class Mail
Chartered Organization         Linthicum Elem Sch Parent Teacher Assoc                   Baltimore Area Council 220                             School Ln                                                 Linthicum Heights, Md 21090                                                                           First Class Mail
Voting Party                   Linthicum Heights UMC                                     Attn: Cecil Underwood & Michael Bynum                  200 School Ln                                             Linthicum, MD 21090                                                 office@lhumc.org                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Linton Elementary School PTO                              Longs Peak Council 062                                 4100 Caribou Dr                                           Fort Collins, CO 80525‐5610                                                                           First Class Mail
Voting Party                   Linton First United Methodist Church                      Attn: Carla Rollison                                   150 2nd St NE                                             Linton, IN 47441                                                                                      First Class Mail
Chartered Organization         Linton Hall School                                        National Capital Area Council 082                      9535 Linton Hall Rd                                       Bristow, VA 20136‐1217                                                                                First Class Mail
Voting Party                   Linton UMC                                                Attn: Marlin Sapp                                      128 E Spruce Ave                                          Linton, ND 58552                                                    ziptwozap@gmail.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Linwood Christian Church (Disciples of Christ)            Attn: Rev Carolyn Watkins                              4424 E Michigan St                                        Indianapolis, IN 46201                                              linwoodpastor@sbcglobal.net       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Linwood Golden Club                                       Northern Star Council 250                              22847 Typo Creek Dr                                       Wyoming, MN 55092                                                                                     First Class Mail
Voting Party                   Linwood Heights UMC                                       c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Linwood Heights UMC                                       1627 Chichester Ave                                    Linwood, PA 19061                                                                                                                                               First Class Mail
Chartered Organization         Linwood Heights Utd Methodist Church                      Cradle Of Liberty Council 525                          1627 Chichester Ave                                       Linwood, PA 19061‐4212                                                                                First Class Mail
Chartered Organization         Linwood Public Charter School                             Norwela Council 215                                    401 W 70Th St                                             Shreveport, LA 71106‐3034                                                                             First Class Mail
Voting Party                   Linworth United Methodist Church                          Attn: Rev Anna Guillozet, Senior Pastor                7070 Bent Tree Blvd                                       Columbus, OH 43235                                                  pastoranna@linworthumc.org        Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lion Brothers Company, Inc                                Attn: Susan J Ganz                                     11103 Valley Heights Drive                                Owings Mills, MD 21117                                              susan.ganz@lionbrothers.com       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lions                                                     Coronado Area Council 192                              General Delivery                                          Belleville, KS 66935                                                                                  First Class Mail
Chartered Organization         Lions ‐ Hartville                                         Buckeye Council 436                                    P.O. Box 273                                              Hartville, OH 44632‐0273                                                                              First Class Mail
Chartered Organization         Lions ‐ Jeromesville                                      Buckeye Council 436                                    180 County Rd 30A                                         Jeromesville, OH 44840‐9652                                                                           First Class Mail
Chartered Organization         Lions ‐ Loudonville                                       Buckeye Council 436                                    643 Wooster Rd                                            Loudonville, OH 44842‐9708                                                                            First Class Mail
Chartered Organization         Lions ‐ Magnolia 5355                                     Buckeye Council 436                                    830 Canal St                                              Magnolia, OH 44643‐9207                                                                               First Class Mail
Chartered Organization         Lions ‐ Sugarcreek (Garaway)                              Buckeye Council 436                                    P.O. Box 577                                              Sugarcreek, OH 44681‐0577                                                                             First Class Mail
Chartered Organization         Lions & Optimists                                         Quivira Council, Bsa 198                               115 Pembroke Pl                                           Ellinwood, KS 67526‐1342                                                                              First Class Mail
Chartered Organization         Lions Club                                                Mountaineer Area 615                                   Rr 1 Box 207                                              Belington, WV 26250                                                                                   First Class Mail
Chartered Organization         Lions Club                                                Simon Kenton Council 441                               20 S Trine St                                             Canal Winchester, OH 43110                                                                            First Class Mail
Chartered Organization         Lions Club                                                Carlisle United Methodist Church                       13866 Delaware St                                         Carlisle, IA 50047‐3169                                                                               First Class Mail
Chartered Organization         Lions Club                                                Longhouse Council 373                                  1 Harpers Ter                                             Carthage, NY 13619‐1105                                                                               First Class Mail
Chartered Organization         Lions Club                                                Daniel Webster Council, Bsa 330                        P.O. Box 91                                               Center Harbor, NH 03226‐0091                                                                          First Class Mail
Chartered Organization         Lions Club                                                De Soto Area Council 013                               W 8th Ave                                                 Crossett, AR 71635                                                                                    First Class Mail
Chartered Organization         Lions Club                                                Longhorn Council 662                                   P.O. Box 906                                              Decatur, TX 76234‐0906                                                                                First Class Mail
Chartered Organization         Lions Club                                                W D Boyce 138                                          101 E Locust St                                           Fairbury, IL 61739‐1546                                                                               First Class Mail
Chartered Organization         Lions Club                                                Bay‐Lakes Council 635                                  6768 Oak Bluff 23.7 Dr                                    Gladstone, MI 49837‐2727                                                                              First Class Mail
Chartered Organization         Lions Club                                                Cornhusker Council 324                                 P.O. Box 222                                              Hebron, NE 68370‐0222                                                                                 First Class Mail
Chartered Organization         Lions Club                                                Winnebago Council, Bsa 173                             2696 Nolen Ave                                            Independence, IA 50644‐9376                                                                           First Class Mail
Chartered Organization         Lions Club                                                Mississippi Valley Council 141 141                     P.O. Box 319                                              La Harpe, IL 61450‐0319                                                                               First Class Mail
Chartered Organization         Lions Club                                                c/o Ken Mannes                                         707 Milton Ave                                            Lake Mills, IA 50450‐1624                                                                             First Class Mail
Chartered Organization         Lions Club                                                Sequoyah Council 713                                   P.O. Box 213                                              Lebanon, VA 24266‐0213                                                                                First Class Mail
Chartered Organization         Lions Club                                                Black Warrior Council 006                              P.O. Box 338                                              Livingston, AL 35470‐0338                                                                             First Class Mail
Chartered Organization         Lions Club                                                Katahdin Area Council 216                              P.O. Box 405                                              Mapleton, ME 04757‐0405                                                                               First Class Mail
Chartered Organization         Lions Club                                                Hoosier Trails Council 145 145                         P.O. Box 627                                              Milan, IN 47031‐0627                                                                                  First Class Mail
Chartered Organization         Lions Club                                                Winnebago Council, Bsa 173                             P.O. Box 67                                               Nashua, IA 50658‐0067                                                                                 First Class Mail
Chartered Organization         Lions Club                                                Winnebago Council, Bsa 173                             703 Evergreen St                                          New Hampton, IA 50659‐1816                                                                            First Class Mail
Chartered Organization         Lions Club                                                Overland Trails 322                                    P.O. Box 142                                              Oneill, NE 68763‐0142                                                                                 First Class Mail
Chartered Organization         Lions Club                                                Shenandoah Area Council 598                            325 Long Ave                                              Shenandoah, VA 22849‐1638                                                                             First Class Mail
Chartered Organization         Lions Club                                                c/o E Jay Deines                                       P.O. Box 398                                              Wa Keeney, KS 67672‐0398                                                                              First Class Mail
Chartered Organization         Lions Club                                                Mayflower Council 251                                  70 Roosevelt Ave                                          West Bridgewater, MA 02379‐1128                                                                       First Class Mail
Chartered Organization         Lion's Club                                               Simon Kenton Council 441                               2400 State Rte 131                                        Hillsboro, OH 45133‐7557                                                                              First Class Mail
Chartered Organization         Lion's Club                                               Northern New Jersey Council, Bsa 333                   86 Park Row                                               Wallington, NJ 07057‐1632                                                                             First Class Mail
Chartered Organization         Lions Club ‐ Adel                                         Attn: Tom Harbison                                     30652 River Bye Ln                                        Adel, IA 50003‐8715                                                                                   First Class Mail
Chartered Organization         Lions Club ‐ Belgium                                      Bay‐Lakes Council 635                                  P.O. Box 222                                              Belgium, WI 53004‐0222                                                                                First Class Mail
Chartered Organization         Lions Club ‐ Breckenridge                                 Northern Lights Council 429                            P.O. Box 171                                              Breckenridge, MN 56520‐0171                                                                           First Class Mail
Chartered Organization         Lions Club ‐ Brussels                                     Bay‐Lakes Council 635                                  1580 County Rd C                                          Brussels, WI 54204‐9401                                                                               First Class Mail
Chartered Organization         Lions Club ‐ De Pere                                      Bay‐Lakes Council 635                                  P.O. Box 5011                                             De Pere, WI 54115‐5011                                                                                First Class Mail
Chartered Organization         Lions Club ‐ Denmark                                      Attn: Kurt Vandenplas                                  5132 County Rd R                                          Denmark, WI 54208‐9132                                                                                First Class Mail
Chartered Organization         Lions Club ‐ Denver                                       Sagamore Council 162                                   164 N Yorick                                              Denver, IN 46926‐9087                                                                                 First Class Mail
Chartered Organization         Lions Club ‐ Eagle River                                  Great Alaska Council 610                               P.O. Box 771046                                           Eagle River, AK 99577‐1046                                                                            First Class Mail
Chartered Organization         Lions Club ‐ Eden                                         Bay‐Lakes Council 635                                  318 Fond Du Lac Ave                                       Eden, WI 53019‐1271                                                                                   First Class Mail
Chartered Organization         Lions Club ‐ Elkhart Lake                                 Bay‐Lakes Council 635                                  P.O. Box 475                                              Elkhart Lake, WI 53020‐0475                                                                           First Class Mail
Chartered Organization         Lions Club ‐ Fredonia                                     Bay‐Lakes Council 635                                  7595 Hickory Dr                                           Fredonia, WI 53021‐9601                                                                               First Class Mail
Chartered Organization         Lions Club ‐ Garwin                                       Mid Iowa Council 177                                   403 3Rd St                                                Garwin, IA 50632‐7603                                                                                 First Class Mail
Chartered Organization         Lions Club ‐ Grafton                                      Bay‐Lakes Council 635                                  217 Prairie Run                                           Grafton, WI 53024‐1174                                                                                First Class Mail
Chartered Organization         Lions Club ‐ Greentown                                    Sagamore Council 162                                   P.O. Box 18                                               Greentown, IN 46936‐0018                                                                              First Class Mail
Chartered Organization         Lions Club ‐ Greenville                                   Bay‐Lakes Council 635                                  Hwy 76                                                    Greenville, WI 54942                                                                                  First Class Mail
Chartered Organization         Lions Club ‐ Grimes                                       Mid Iowa Council 177                                   807 Ne Park St                                            Grimes, IA 50111‐2023                                                                                 First Class Mail
Chartered Organization         Lions Club ‐ Hilbert                                      Bay‐Lakes Council 635                                  713 Greve Ct                                              Hilbert, WI 54129‐9401                                                                                First Class Mail
Chartered Organization         Lions Club ‐ Iola                                         Bay‐Lakes Council 635                                  P.O. Box 477                                              Iola, WI 54945‐0477                                                                                   First Class Mail
Chartered Organization         Lions Club ‐ Kiel                                         Bay‐Lakes Council 635                                  423 North St                                              Kiel, WI 53042‐1162                                                                                   First Class Mail
Chartered Organization         Lions Club ‐ Madrid                                       Mid Iowa Council 177                                   2103 330Th St                                             Madrid, IA 50156‐7423                                                                                 First Class Mail
Chartered Organization         Lions Club ‐ New Virginia                                 Mid Iowa Council 177                                   6113 Virginia St                                          New Virginia, IA 50210‐9008                                                                           First Class Mail
Chartered Organization         Lions Club ‐ Oconto Falls                                 Attn: Shane Senn                                       5144 S Maple St                                           Oconto Falls, WI 54154‐9669                                                                           First Class Mail
Chartered Organization         Lions Club ‐ Ogden                                        Attn: John Emerson                                     619 W Division St                                         Ogden, IA 50212‐3020                                                                                  First Class Mail
Chartered Organization         Lions Club ‐ Peshtigo                                     Bay‐Lakes Council 635                                  P.O. Box 4                                                Peshtigo, WI 54157‐0004                                                                               First Class Mail
Chartered Organization         Lions Club ‐ Pickerington                                 Simon Kenton Council 441                               195 Parkwood Ave                                          Pickerington, OH 43147‐1035                                                                           First Class Mail
Chartered Organization         Lions Club ‐ Random Lake                                  Attn: Dan Uelmen                                       P.O. Box 321                                              Random Lake, WI 53075‐0321                                                                            First Class Mail
Chartered Organization         Lions Club ‐ Rosendale                                    Bay‐Lakes Council 635                                  P.O. Box 202                                              Rosendale, WI 54974‐0202                                                                              First Class Mail
Chartered Organization         Lions Club ‐ Saukville                                    Bay‐Lakes Council 635                                  175 N Dries St                                            Saukville, WI 53080‐1911                                                                              First Class Mail
Chartered Organization         Lions Club ‐ Sigourney                                    Mid Iowa Council 177                                   20678 232Nd St                                            Sigourney, IA 52591‐8394                                                                              First Class Mail
Chartered Organization         Lions Club ‐ Sister Bay                                   Bay‐Lakes Council 635                                  P.O. Box 81                                               Sister Bay, WI 54234‐0081                                                                             First Class Mail
Chartered Organization         Lions Club ‐ State Center                                 Mid Iowa Council 177                                   P.O. Box 460                                              State Center, IA 50247‐0460                                                                           First Class Mail
Chartered Organization         Lions Club ‐ State Center 1                               Mid Iowa Council 177                                   P.O. Box 460                                              State Center, IA 50247‐0460                                                                           First Class Mail
Chartered Organization         Lions Club ‐ Stephenson                                   Bay‐Lakes Council 635                                  N7311 Hendrickson Rd K 4                                  Stephenson, MI 49887                                                                                  First Class Mail
Chartered Organization         Lions Club ‐ Stockbridge                                  Bay‐Lakes Council 635                                  W3180 State Rd                                            Chilton, WI 53014                                                                                     First Class Mail
Chartered Organization         Lions Club ‐ Sweetser                                     Sagamore Council 162                                   110 N Main St                                             Sweetser, IN 46987                                                                                    First Class Mail
Chartered Organization         Lions Club ‐ Valders                                      Bay‐Lakes Council 635                                  P.O. Box 1                                                Valders, WI 54245‐0001                                                                                First Class Mail
Chartered Organization         Lions Club / Optimist Club ‐ Algoma                       Attn: Laurie Jorgensen                                 P.O. Box 125                                              Algoma, WI 54201‐0125                                                                                 First Class Mail
Chartered Organization         Lions Club 12247 Of Rainsville                            Greater Alabama Council 001                            298 Rodeo Ln                                              Rainsville, AL 35986                                                                                  First Class Mail
Chartered Organization         Lions Club Adams                                          Twin Valley Council Bsa 283                            65296 220Th St                                            Dexter, MN 55926‐7266                                                                                 First Class Mail
Chartered Organization         Lions Club Adrian                                         Heart Of America Council 307                           P.O. Box 81                                               Adrian, MO 64720‐0081                                                                                 First Class Mail
Chartered Organization         Lions Club Arlington                                      Twin Valley Council Bsa 283                            P.O. Box 695                                              Arlington, MN 55307‐0695                                                                              First Class Mail
Chartered Organization         Lions Club Carrollton                                     Heart Of America Council 307                           709 N Folger St                                           Carrollton, MO 64633‐1821                                                                             First Class Mail
Chartered Organization         Lions Club Cedarburg                                      Bay‐Lakes Council 635                                  P.O. Box 754                                              Cedarburg, WI 53012‐0754                                                                              First Class Mail
Chartered Organization         Lions Club Concordia                                      Heart Of America Council 307                           1401 S Main St                                            Concordia, MO 64020‐9372                                                                              First Class Mail
Chartered Organization         Lions Club Denver                                         Winnebago Council, Bsa 173                             621 Sunrise St                                            Denver, IA 50622‐9588                                                                                 First Class Mail
Chartered Organization         Lions Club Dysart                                         Winnebago Council, Bsa 173                             200 Adams St                                              La Porte City, IA 50651‐1143                                                                          First Class Mail
Chartered Organization         Lions Club Elgin                                          Winnebago Council, Bsa 173                             306 Mill Ave                                              Elgin, IA 52141‐9305                                                                                  First Class Mail
Chartered Organization         Lions Club Emerado‐Arvilla                                Northern Lights Council 429                            P.O. Box 67                                               Arvilla, ND 58214‐0067                                                                                First Class Mail
Chartered Organization         Lions Club Goose Lake                                     Illowa Council 133                                     508 Public St                                             Goose Lake, IA 52750‐7700                                                                             First Class Mail
Chartered Organization         Lions Club International                                  Arbuckle Area Council 468                              406 E Prairie Ave                                         Coalgate, OK 74538‐4024                                                                               First Class Mail
Chartered Organization         Lions Club International                                  Santa Fe Trail Council 194                             102 N Logan St                                            Hanston, KS 67849‐9800                                                                                First Class Mail
Chartered Organization         Lions Club International                                  Montana Council 315                                    131 Box Car Rd                                            Nashua, MT 59248                                                                                      First Class Mail
Chartered Organization         Lions Club International                                  Greater Yosemite Council 059                           P.O. Box 101                                              Standard, CA 95373‐0101                                                                               First Class Mail
Chartered Organization         Lions Club International Assoc                            California Inland Empire Council 045                   157 S Ramona Blvd                                         San Jacinto, CA 92583‐3436                                                                            First Class Mail
Chartered Organization         Lions Club Iota Egan                                      Evangeline Area 212                                    1625 Connie Rd                                            Iota, LA 70543‐4614                                                                                   First Class Mail
Chartered Organization         Lions Club Jesup                                          Winnebago Council, Bsa 173                             P.O. Box 602                                              Jesup, IA 50648‐0602                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 248 of 442
                                                                                 Case 20-10343-LSS                                             Doc 8171                                      Filed 01/06/22                                                 Page 264 of 457
                                                                                                                                                                                Exhibit B
                                                                                                                                                                                 Service List
                                                                                                                                                                          Served as set forth below

        Description                                                       Name                                                                                                Address                                                                                                        Email              Method of Service
Chartered Organization         Lions Club Kearney                                       Heart Of America Council 307                      P.O. Box 655                                              Kearney, MO 64060‐0655                                                                           First Class Mail
Chartered Organization         Lions Club Lake Crystal                                  Twin Valley Council Bsa 283                       211 E Lake St                                             Lake Crystal, MN 56055‐2040                                                                      First Class Mail
Chartered Organization         Lions Club Lake Tanglewood                               Golden Spread Council 562                         161 S Shore Dr                                            Amarillo, TX 79118‐8007                                                                          First Class Mail
Chartered Organization         Lions Club Lansing                                       Heart Of America Council 307                      P.O. Box 275                                              Lansing, KS 66043‐0275                                                                           First Class Mail
Chartered Organization         Lions Club Leavenworth                                   Grand Columbia Council 614                        P.O. Box 113                                              Leavenworth, WA 98826‐0113                                                                       First Class Mail
Chartered Organization         Lions Club Leawood Ks                                    Heart Of America Council 307                      7504 Lamar Ave Apt 47                                     Prairie Village, KS 66208‐4554                                                                   First Class Mail
Chartered Organization         Lions Club Lexington                                     Attn: Jay Gott                                    754 Pool View Dr                                          Lexington, MO 64067‐7240                                                                         First Class Mail
Chartered Organization         Lions Club Memphis                                       Golden Spread Council 562                         P.O. Box 126                                              Memphis, TX 79245‐0126                                                                           First Class Mail
Chartered Organization         Lions Club Moses Lake                                    Grand Columbia Council 614                        P.O. Box 275                                              Moses Lake, WA 98837‐0044                                                                        First Class Mail
Chartered Organization         Lions Club Of Akron                                      Longs Peak Council 062                            601 Main Ave                                              Akron, CO 80720‐1240                                                                             First Class Mail
Chartered Organization         Lions Club Of Almont                                     Water And Woods Council 782                       P.O. Box 183                                              Almont, MI 48003‐0183                                                                            First Class Mail
Chartered Organization         Lions Club Of Barrington                                 Pathway To Adventure 456                          200 N Signal Hill Rd                                      North Barrington, IL 60010‐1931                                                                  First Class Mail
Chartered Organization         Lions Club Of Bath                                       Minsi Trails Council 502                          32 Yeats Run                                              Northampton, PA 18067‐9440                                                                       First Class Mail
Chartered Organization         Lions Club Of Bath Township                              Water And Woods Council 782                       P.O. Box 75                                               Bath, MI 48808‐0075                                                                              First Class Mail
Voting Party                   Lions Club of Bath, PA                                   Attn: Daniel Spengler                             110 E Main St                                             Bath, PA 18014                                                    spenglaw@rcn.com               Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Lions Club Of Beaverton                                  Water And Woods Council 782                       142 Saginaw St                                            Beaverton, MI 48612                                                                              First Class Mail
Chartered Organization         Lions Club Of Bellingham                                 Narragansett 546                                  3 Squire Ln                                               Bellingham, MA 02019‐2125                                                                        First Class Mail
Chartered Organization         Lions Club Of Berlin                                     Connecticut Rivers Council, Bsa 066               255 Cole Ln                                               Berlin, CT 06037‐2938                                                                            First Class Mail
Chartered Organization         Lions Club Of Bloomingdale                               Three Fires Council 127                           P.O. Box 318                                              Bloomingdale, IL 60108‐0318                                                                      First Class Mail
Chartered Organization         Lions Club Of Burgettstown                               Laurel Highlands Council 527                      Scout Hut Hindman Ave                                     Burgettstown, PA 15021                                                                           First Class Mail
Chartered Organization         Lions Club Of Burlington                                 Connecticut Rivers Council, Bsa 066               292 Spielman Hwy                                          Burlington, CT 06013‐1727                                                                        First Class Mail
Chartered Organization         Lions Club Of Calhan                                     Pikes Peak Council 060                            12561 N Ellicott Hwy                                      Calhan, CO 80808‐9143                                                                            First Class Mail
Chartered Organization         Lions Club Of Cambridge                                  Glaciers Edge Council 620                         P.O. Box 504                                              Cambridge, WI 53523‐0504                                                                         First Class Mail
Chartered Organization         Lions Club Of Canton                                     Connecticut Rivers Council, Bsa 066               126 Morgan Rd                                             Canton, CT 06019‐2033                                                                            First Class Mail
Chartered Organization         Lions Club Of Capac                                      Water And Woods Council 782                       315 W Meier Ave                                           Capac, MI 48014                                                                                  First Class Mail
Chartered Organization         Lions Club Of Carmel                                     Crossroads Of America 160                         141 E Main St                                             Carmel, IN 46032‐1823                                                                            First Class Mail
Chartered Organization         Lions Club Of Chatfield                                  Gamehaven 299                                     626 Cliff St Ne                                           Chatfield, MN 55923‐1045                                                                         First Class Mail
Chartered Organization         Lions Club Of Cheshire                                   Connecticut Rivers Council, Bsa 066               P.O. Box 175                                              Cheshire, CT 06410‐0175                                                                          First Class Mail
Chartered Organization         Lions Club Of Chestertown                                Del Mar Va 081                                    105 S Mill St                                             Chestertown, MD 21620‐1336                                                                       First Class Mail
Chartered Organization         Lions Club Of Cheyenne                                   Longs Peak Council 062                            P.O. Box 4001                                             Cheyenne, WY 82003‐4001                                                                          First Class Mail
Chartered Organization         Lions Club Of Claypool                                   Anthony Wayne Area 157                            205 W Calhoun St                                          Claypool, IN 46510‐7712                                                                          First Class Mail
Chartered Organization         Lions Club Of Clayton De                                 Del Mar Va 081                                    P.O. Box 846                                              Clayton, DE 19938‐0846                                                                           First Class Mail
Chartered Organization         Lions Club Of Coleman                                    Water And Woods Council 782                       P.O. Box 163                                              Coleman, MI 48618‐0163                                                                           First Class Mail
Chartered Organization         Lions Club Of Columbia                                   Connecticut Rivers Council, Bsa 066               P.O. Box 1                                                Columbia, CT 06237‐0001                                                                          First Class Mail
Chartered Organization         Lions Club Of Columbia Falls                             Montana Council 315                               1230 9Th Ave W                                            Columbia Falls, MT 59912‐4262                                                                    First Class Mail
Chartered Organization         Lions Club Of Coon Rapids                                Northern Star Council 250                         P.O. Box 48176                                            Coon Rapids, MN 55448‐0176                                                                       First Class Mail
Chartered Organization         Lions Club Of Cooperstown                                Leatherstocking 400                               P.O. Box 219                                              Fly Creek, NY 13337‐0219                                                                         First Class Mail
Chartered Organization         Lions Club Of Cortland, Ohio                             Great Trail 433                                   197 W Main St                                             Cortland, OH 44410‐1460                                                                          First Class Mail
Chartered Organization         Lions Club Of Cotati                                     Redwood Empire Council 041                        86 La Plz                                                 Cotati, CA 94931‐7645                                                                            First Class Mail
Chartered Organization         Lions Club Of Culbertson                                 Northern Lights Council 429                       P.O. Box 263                                              Culbertson, MT 59218‐0263                                                                        First Class Mail
Chartered Organization         Lions Club Of Damascus                                   c/o Marcia Holpuch                                P.O. Box 267                                              Damascus, MD 20872‐0267                                                                          First Class Mail
Chartered Organization         Lions Club Of Danville                                   Mt Diablo‐Silverado Council 023                   3160 Crow Canyon Rd Ste 120                               San Ramon, CA 94583‐1382                                                                         First Class Mail
Chartered Organization         Lions Club Of Darien                                     Pathway To Adventure 456                          P.O. Box 2006                                             Darien, IL 60561                                                                                 First Class Mail
Chartered Organization         Lions Club Of Davidson                                   Mecklenburg County Council 415                    230 Crescent Dr                                           Davidson, NC 28036‐9037                                                                          First Class Mail
Chartered Organization         Lions Club Of Deer Park                                  Suffolk County Council Inc 404                    28 Winnecomac Ave                                         Deer Park, NY 11729‐6041                                                                         First Class Mail
Chartered Organization         Lions Club Of Dell Rapids                                Sioux Council 733                                 802 E 10Th St                                             Dell Rapids, SD 57022‐1422                                                                       First Class Mail
Chartered Organization         Lions Club Of Dodge Center                               Gamehaven 299                                     305 4Th Ave Nw                                            Dodge Center, MN 55927‐9242                                                                      First Class Mail
Chartered Organization         Lions Club Of Douglas County                             Denver Area Council 061                           875 S Lindsey St                                          Castle Rock, CO 80104‐8918                                                                       First Class Mail
Chartered Organization         Lions Club Of East Dubuque                               Northeast Iowa Council 178                        East Dubuque, IL 61025                                                                                                                                     First Class Mail
Chartered Organization         Lions Club Of East Dubuque Il                            Northeast Iowa Council 178                        East Dubuque, IL 61025                                                                                                                                     First Class Mail
Chartered Organization         Lions Club Of East Granby                                Connecticut Rivers Council, Bsa 066               P.O. Box 288                                              East Granby, CT 06026‐0288                                                                       First Class Mail
Chartered Organization         Lions Club Of East Windsor                               Connecticut Rivers Council, Bsa 066               P.O. Box 692                                              Broad Brook, CT 06016‐0692                                                                       First Class Mail
Chartered Organization         Lions Club Of Emmett                                     Water And Woods Council 782                       10830 Mary St                                             Emmett, MI 48022‐7702                                                                            First Class Mail
Chartered Organization         Lions Club Of Ephraim                                    Utah National Parks 591                           804 E 1020 S                                              Ephraim, UT 84627‐5605                                                                           First Class Mail
Chartered Organization         Lions Club Of Essex Junction                             Green Mountain 592                                P.O. Box 237                                              Essex Junction, VT 05453‐0237                                                                    First Class Mail
Chartered Organization         Lions Club Of Estes Park                                 Longs Peak Council 062                            2031 Monida Ct                                            Estes Park, CO 80517‐7129                                                                        First Class Mail
Chartered Organization         Lions Club Of Fairgrove                                  Water And Woods Council 782                       5150 Shreeves Rd                                          Fairgrove, MI 48733‐9564                                                                         First Class Mail
Chartered Organization         Lions Club Of Farmingville‐Holtsville                    Suffolk County Council Inc 404                    P.O. Box 1                                                Farmingville, NY 11738‐0001                                                                      First Class Mail
Chartered Organization         Lions Club Of Federalsburg                               Del Mar Va 081                                    2640 Meadowbrook Rd                                       Federalsburg, MD 21632‐1844                                                                      First Class Mail
Chartered Organization         Lions Club Of Flushing                                   Water And Woods Council 782                       P.O. Box 191                                              Flushing, MI 48433‐0191                                                                          First Class Mail
Chartered Organization         Lions Club Of Flushing                                   Water And Woods Council 782                       552 N Mckinley Rd                                         Flushing, MI 48433‐1365                                                                          First Class Mail
Chartered Organization         Lions Club Of Foster City                                Pacific Skyline Council 031                       P.O. Box 4005                                             Foster City, CA 94404‐0005                                                                       First Class Mail
Chartered Organization         Lions Club Of Gaston                                     Crossroads Of America 160                         P.O. Box 518                                              Gaston, IN 47342‐0518                                                                            First Class Mail
Chartered Organization         Lions Club Of Greenlawn                                  Suffolk County Council Inc 404                    48 Broadway                                               Greenlawn, NY 11740‐1303                                                                         First Class Mail
Chartered Organization         Lions Club Of Gurley                                     Longs Peak Council 062                            4651 Rd 117                                               Gurley, NE 69141‐4121                                                                            First Class Mail
Chartered Organization         Lions Club Of Harvester                                  Greater St Louis Area Council 312                 4835 Central School Rd                                    St Charles, MO 63304‐7105                                                                        First Class Mail
Chartered Organization         Lions Club Of Harwinton                                  Connecticut Rivers Council, Bsa 066               P.O. Box 313                                              Harwinton, CT 06791‐0313                                                                         First Class Mail
Chartered Organization         Lions Club Of Hauppauge/Smithtown                        Suffolk County Council Inc 404                    Smithtown, NY 11787                                                                                                                                        First Class Mail
Chartered Organization         Lions Club Of Hebron                                     Connecticut Rivers Council, Bsa 066               347 Gilead St                                             Hebron, CT 06248‐1313                                                                            First Class Mail
Chartered Organization         Lions Club Of Hebron                                     Del Mar Va 081                                    P.O. Box 514                                              Hebron, MD 21830‐0514                                                                            First Class Mail
Chartered Organization         Lions Club Of Jurupa Valley                              California Inland Empire Council 045              5981 Limonite Ave                                         Jurupa Valley, CA 92509‐6558                                                                     First Class Mail
Chartered Organization         Lions Club Of Kent                                       Connecticut Rivers Council, Bsa 066               85 Kent Cornwall Rd                                       Kent, CT 06757‐1619                                                                              First Class Mail
Chartered Organization         Lions Club Of Kent                                       Chief Seattle Council 609                         P.O. Box 5094                                             Kent, WA 98064‐5094                                                                              First Class Mail
Chartered Organization         Lions Club Of Kimball                                    Northern Star Council 250                         P.O. Box 15                                               Kimball, MN 55353‐0015                                                                           First Class Mail
Chartered Organization         Lions Club Of Lagrange Highlands                         Pathway To Adventure 456                          1720 W 54Th St                                            La Grange Highlands, IL 60525‐3322                                                               First Class Mail
Chartered Organization         Lions Club Of Lake Grove                                 Suffolk County Council Inc 404                    P.O. Box 100                                              Lake Grove, NY 11755‐0100                                                                        First Class Mail
Chartered Organization         Lions Club Of Lakeview                                   Crater Lake Council 491                           P.O. Box 500                                              Lakeview, OR 97630                                                                               First Class Mail
Chartered Organization         Lions Club Of Lakeview                                   Crater Lake Council 491                           P.O. Box 228                                              Lakeview, OR 97630‐0009                                                                          First Class Mail
Chartered Organization         Lions Club Of Lebanon                                    Connecticut Rivers Council, Bsa 066               Rt 207                                                    Lebanon, CT 06249                                                                                First Class Mail
Chartered Organization         Lions Club Of Lennox                                     Sioux Council 733                                 46681 276Th St                                            Lennox, SD 57039‐5330                                                                            First Class Mail
Chartered Organization         Lions Club Of Level Green                                Westmoreland Fayette 512                          123 Murrysville Rd                                        Trafford, PA 15085‐1450                                                                          First Class Mail
Chartered Organization         Lions Club Of Lewisboro                                  Westchester Putnam 388                            58 Main St                                                South Salem, NY 10590‐1407                                                                       First Class Mail
Chartered Organization         Lions Club Of Lewiston                                   President Gerald R Ford 781                       P.O. Box 864                                              Lewiston, MI 49756‐0864                                                                          First Class Mail
Chartered Organization         Lions Club Of Lewiston                                   Gamehaven 299                                     Debra Dr                                                  Lewiston, MN 55952                                                                               First Class Mail
Chartered Organization         Lions Club Of Lexington                                  Water And Woods Council 782                       P.O. Box 247                                              Lexington, MI 48450‐0247                                                                         First Class Mail
Chartered Organization         Lions Club Of Lombard                                    Three Fires Council 127                           P.O. Box 413                                              Lombard, IL 60148‐0413                                                                           First Class Mail
Chartered Organization         Lions Club Of Long Grove                                 Northeast Illinois 129                            18376 W Checker Rd                                        Long Grove, IL 60047‐9782                                                                        First Class Mail
Chartered Organization         Lions Club Of Lord Baltimore                             Del Mar Va 081                                    P.O. Box 1099                                             Ocean View, DE 19970‐1099                                                                        First Class Mail
Chartered Organization         Lions Club Of Lord Baltimore                             Del Mar Va 081                                    31822 Hole In The Woods Rd                                Ocean View, DE 19970‐3525                                                                        First Class Mail
Chartered Organization         Lions Club Of Los Gatos                                  Silicon Valley Monterey Bay 055                   50 Los Gatos Saratoga Rd                                  Los Gatos, CA 95032‐5460                                                                         First Class Mail
Chartered Organization         Lions Club Of Lower Swatara                              New Birth Of Freedom 544                          2 Theodore Ave                                            Middletown, PA 17057‐3349                                                                        First Class Mail
Chartered Organization         Lions Club Of Mabel                                      Gamehaven 299                                     P.O. Box 51                                               Mabel, MN 55954‐0051                                                                             First Class Mail
Chartered Organization         Lions Club Of Mabel                                      Gamehaven 299                                     P.O. Box 54                                               Mabel, MN 55954‐0054                                                                             First Class Mail
Chartered Organization         Lions Club Of Mansfield                                  Connecticut Rivers Council, Bsa 066               P.O. Box 62                                               Mansfield Center, CT 06250‐0062                                                                  First Class Mail
Chartered Organization         Lions Club Of Maple Grove                                Northern Star Council 250                         P.O. Box 1352                                             Maple Grove, MN 55311‐6352                                                                       First Class Mail
Chartered Organization         Lions Club Of Marysville                                 Water And Woods Council 782                       1234 New Jersey Ave                                       Marysville, MI 48040‐1438                                                                        First Class Mail
Chartered Organization         Lions Club Of Mattituck                                  Suffolk County Council Inc 404                    P.O. Box 595                                              Mattituck, NY 11952‐0595                                                                         First Class Mail
Chartered Organization         Lions Club Of Mckinleyville                              Crater Lake Council 491                           P.O. Box 2352                                             Mckinleyville, CA 95519‐2352                                                                     First Class Mail
Chartered Organization         Lions Club Of Medford Lakes                              Garden State Council 690                          P.O. Box 2105                                             Medford Lakes, NJ 08055‐7105                                                                     First Class Mail
Chartered Organization         Lions Club Of Medford‐North Patchogue                    Suffolk County Council Inc 404                    P.O. Box 291                                              Patchogue, NY 11772‐0291                                                                         First Class Mail
Chartered Organization         Lions Club Of Memphis                                    Water And Woods Council 782                       81079 Church St                                           Memphis, MI 48041‐4735                                                                           First Class Mail
Chartered Organization         Lions Club Of Mesick                                     President Gerald R Ford 781                       P.O. Box 456                                              Mesick, MI 49668‐0456                                                                            First Class Mail
Chartered Organization         Lions Club Of Millbrae                                   Pacific Skyline Council 031                       P.O. Box 328                                              Millbrae, CA 94030‐0328                                                                          First Class Mail
Chartered Organization         Lions Club Of Miller                                     Sioux Council 733                                 402 W Park View Dr                                        Miller, SD 57362‐1801                                                                            First Class Mail
Chartered Organization         Lions Club Of Millersburg                                New Birth Of Freedom 544                          P.O. Box 201                                              Millersburg, PA 17061‐0201                                                                       First Class Mail
Chartered Organization         Lions Club Of Millsboro                                  Del Mar Va 081                                    Millsboro De                                              Millsboro, DE 19966                                                                              First Class Mail
Chartered Organization         Lions Club Of Montebello                                 Greater Los Angeles Area 033                      P.O. Box 87                                               Montebello, CA 90640‐0087                                                                        First Class Mail
Chartered Organization         Lions Club Of Montebello                                 Greater Los Angeles Area 033                      213 N Vail Ave                                            Montebello, CA 90640‐4038                                                                        First Class Mail
Chartered Organization         Lions Club Of Munising                                   Bay‐Lakes Council 635                             7410N Federal Forest Hwy 13                               Wetmore, MI 49895                                                                                First Class Mail
Chartered Organization         Lions Club Of New Hope                                   Northern Star Council 250                         8710 45Th Ave N                                           New Hope, MN 55428‐4703                                                                          First Class Mail
Chartered Organization         Lions Club Of New Milford                                Connecticut Rivers Council, Bsa 066               16 Crossmon Rd                                            New Milford, CT 06776‐2129                                                                       First Class Mail
Chartered Organization         Lions Club Of Nogales                                    Catalina Council 011                              P.O. Box 1148                                             Nogales, AZ 85628‐1148                                                                           First Class Mail
Chartered Organization         Lions Club Of North Babylon                              Suffolk County Council Inc 404                    P.O. Box 2043                                             North Babylon, NY 11703‐0043                                                                     First Class Mail
Chartered Organization         Lions Club Of North East                                 Del Mar Va 081                                    P.O. Box 47                                               North East, MD 21901‐0047                                                                        First Class Mail
Chartered Organization         Lions Club Of North Franklin                             Connecticut Rivers Council, Bsa 066               19 Meeting House Hill Rd                                  North Franklin, CT 06254‐1313                                                                    First Class Mail
Chartered Organization         Lions Club Of North Stonington                           Connecticut Rivers Council, Bsa 066               P.O. Box 100                                              North Stonington, CT 06359‐0100                                                                  First Class Mail
Chartered Organization         Lions Club Of Northport & Centerport                     Suffolk County Council Inc 404                    P.O. Box 222                                              Northport, NY 11768‐0222                                                                         First Class Mail
Chartered Organization         Lions Club Of Ortonville                                 Great Lakes Fsc 272                               P.O. Box 212                                              Ortonville, MI 48462‐0212                                                                        First Class Mail
Chartered Organization         Lions Club Of Ovid                                       Water And Woods Council 782                       218 S Main St                                             Ovid, MI 48866                                                                                   First Class Mail
Chartered Organization         Lions Club Of Oxford                                     Chester County Council 539                        749 Market St                                             Oxford, PA 19363‐1631                                                                            First Class Mail
Chartered Organization         Lions Club Of Paradise Township                          Pennsylvania Dutch Council 524                    P.O. Box 342                                              Paradise, PA 17562‐0342                                                                          First Class Mail
Chartered Organization         Lions Club Of Petaluma 7‐11                              Redwood Empire Council 041                        33 Caulfield Ct                                           Petaluma, CA 94954‐4673                                                                          First Class Mail
Chartered Organization         Lions Club Of Pine Island                                Gamehaven 299                                     P.O. Box 561                                              Pine Island, MN 55963‐0561                                                                       First Class Mail
Chartered Organization         Lions Club Of Pitsburg                                   Miami Valley Council, Bsa 444                     P.O. Box 11                                               Pitsburg, OH 45358‐0011                                                                          First Class Mail
Chartered Organization         Lions Club Of Plainview                                  Gamehaven 299                                     P.O. Box 504                                              Plainview, MN 55964‐0504                                                                         First Class Mail
Chartered Organization         Lions Club Of Platteville                                Longs Peak Council 062                            P.O. Box 254                                              Platteville, CO 80651‐0254                                                                       First Class Mail
Chartered Organization         Lions Club Of Pleasanton                                 San Francisco Bay Area Council 028                5402 Black Ave                                            Pleasanton, CA 94566‐5920                                                                        First Class Mail
Chartered Organization         Lions Club Of Plymouth                                   Northern Star Council 250                         P.O. Box 47351                                            Plymouth, MN 55447‐0351                                                                          First Class Mail
Chartered Organization         Lions Club Of Pomfret                                    Connecticut Rivers Council, Bsa 066               P.O. Box 91                                               Pomfret Center, CT 06259‐0091                                                                    First Class Mail
Chartered Organization         Lions Club Of Port Austin                                Water And Woods Council 782                       3160 Pointe Aux Barques Rd                                Port Austin, MI 48467‐9310                                                                       First Class Mail
Chartered Organization         Lions Club Of Preston                                    Del Mar Va 081                                    P.O. Box 182                                              Preston, MD 21655‐0182                                                                           First Class Mail
Chartered Organization         Lions Club Of Queenstown                                 Del Mar Va 081                                    P.O. Box 212                                              Queenstown, MD 21658‐0212                                                                        First Class Mail
Chartered Organization         Lions Club Of Ramsey                                     Northern Star Council 250                         P.O. Box 771                                              Ramsey, MN 55303‐0771                                                                            First Class Mail
Chartered Organization         Lions Club Of Redwood Shores                             Pacific Skyline Council 031                       265 Monaco Dr                                             Redwood City, CA 94065‐2865                                                                      First Class Mail
Chartered Organization         Lions Club Of Rio Vista                                  Golden Empire Council 047                         175 Edgewater Dr                                          Rio Vista, CA 94571‐2009                                                                         First Class Mail
Chartered Organization         Lions Club Of Rose City                                  Water And Woods Council 782                       587 E Main St                                             Rose City, MI 48654‐9412                                                                         First Class Mail
Chartered Organization         Lions Club Of Roselle                                    Three Fires Council 127                           P.O. Box 72092                                            Roselle, IL 60172‐0092                                                                           First Class Mail
Chartered Organization         Lions Club Of Rosemount Minnesota                        Northern Star Council 250                         13911 Duluth Dr                                           Apple Valley, MN 55124‐9209                                                                      First Class Mail
Chartered Organization         Lions Club Of Ruby                                       Water And Woods Council 782                       P.O. Box 282                                              Avoca, MI 48006‐0282                                                                             First Class Mail
Chartered Organization         Lions Club Of Rushford                                   Gamehaven 299                                     211 N Burr Oak St                                         Rushford, MN 55971‐9010                                                                          First Class Mail
Chartered Organization         Lions Club Of San Carlos                                 Pacific Skyline Council 031                       P.O. Box 94                                               San Carlos, CA 94070‐0094                                                                        First Class Mail
Chartered Organization         Lions Club Of San Marcos                                 San Diego Imperial Council 049                    500 Rancheros Dr Spc 156                                  San Marcos, CA 92069‐2932                                                                        First Class Mail
Chartered Organization         Lions Club Of San Pedro                                  Greater Los Angeles Area 033                      350 W 5Th St Ste 205                                      San Pedro, CA 90731‐2752                                                                         First Class Mail
Chartered Organization         Lions Club Of Sandusky                                   Water And Woods Council 782                       440 W Sanilac Rd                                          Sandusky, MI 48471‐1065                                                                          First Class Mail
Chartered Organization         Lions Club Of Shelter Island                             Suffolk County Council Inc 404                    P.O. Box 760                                              Shelter Island, NY 11964‐0760                                                                    First Class Mail
Chartered Organization         Lions Club Of Sheridan                                   Attn: Paul Grove                                  102 N Oak St                                              Sheridan, AR 72150‐2130                                                                          First Class Mail
Chartered Organization         Lions Club Of Somers                                     Attn: Jeff Moser                                  19 Piper Ln                                               Somers, CT 06071‐2242                                                                            First Class Mail
Chartered Organization         Lions Club Of Southington                                Connecticut Yankee Council Bsa 072                P.O. Box 457                                              Southington, CT 06489‐0457                                                                       First Class Mail
Chartered Organization         Lions Club Of Ste Genevieve                              Greater St Louis Area Council 312                 P.O. Box 9                                                Ste Genevieve, MO 63670‐0009                                                                     First Class Mail
Chartered Organization         Lions Club Of Sterling Heights                           Great Lakes Fsc 272                               12828 Canal Rd                                            Sterling Heights, MI 48313‐1821                                                                  First Class Mail
Chartered Organization         Lions Club Of Taos                                       Great Swest Council 412                           P.O. Box 199                                              Taos, NM 87571‐0199                                                                              First Class Mail
Chartered Organization         Lions Club Of Valhalla Inc                               Westchester Putnam 388                            P.O. Box 24                                               Valhalla, NY 10595‐0024                                                                          First Class Mail
Chartered Organization         Lions Club Of Wauwatosa                                  Three Harbors Council 636                         7336 St James St                                          Wauwatosa, WI 53213‐2761                                                                         First Class Mail
Chartered Organization         Lions Club Of Waxahachie Texas                           Circle Ten Council 571                            P.O. Box 581                                              Waxahachie, TX 75168‐0581                                                                        First Class Mail
Chartered Organization         Lions Club Of West Babylon                               Suffolk County Council Inc 404                    399 Little East Neck Rd                                   West Babylon, NY 11704‐6518                                                                      First Class Mail
Chartered Organization         Lions Club Of Windsor                                    Longs Peak Council 062                            212 Main St                                               Windsor, CO 80550‐5016                                                                           First Class Mail
Chartered Organization         Lions Club Of Winfield                                   Three Fires Council 127                           P.O. Box 98                                               Winfield, IL 60190‐0098                                                                          First Class Mail
Chartered Organization         Lions Club Of Wray                                       Longs Peak Council 062                            741 W 7Th St                                              Wray, CO 80758‐1515                                                                              First Class Mail
Chartered Organization         Lions Club Of Yale                                       Water And Woods Council 782                       101 North St                                              Yale, MI 48097‐2955                                                                              First Class Mail
Chartered Organization         Lions Club Of Youngstown                                 Greater Niagara Frontier Council 380              P.O. Box 405                                              Youngstown, NY 14174‐0405                                                                        First Class Mail
Chartered Organization         Lions Club Raymore                                       Heart Of America Council 307                      305 N Huntsman Blvd                                       Raymore, MO 64083‐9126                                                                           First Class Mail
Chartered Organization         Lions Club Rochester                                     Great Lakes Fsc 272                               P.O. Box 80393                                            Rochester, MI 48308‐0393                                                                         First Class Mail
Chartered Organization         Lions Club Rockford                                      Winnebago Council, Bsa 173                        1740 230Th St                                             Rockford, IA 50468‐8056                                                                          First Class Mail
Chartered Organization         Lions Club Shawnee                                       Heart Of America Council 307                      11202 W 69Th St                                           Overland Park, KS 66203‐3744                                                                     First Class Mail
Chartered Organization         Lions Club Swink                                         Rocky Mountain Council 063                        P.O. Box 703                                              Swink, CO 81077‐0703                                                                             First Class Mail
Chartered Organization         Lions Club Terrace Heights                               Grand Columbia Council 614                        718 Cascadia Park Dr                                      Yakima, WA 98901‐1145                                                                            First Class Mail
Chartered Organization         Lions Club Warrensburg                                   Heart Of America Council 307                      705 E Gay St                                              Warrensburg, MO 64093‐1940                                                                       First Class Mail
Chartered Organization         Lions Club Waseca                                        Twin Valley Council Bsa 283                       600 7Th St Ne                                             Waseca, MN 56093‐3211                                                                            First Class Mail
Chartered Organization         Lions Club‐Deer River                                    Voyageurs Area 286                                P.O. Box 391                                              Deer River, MN 56636‐0391                                                                        First Class Mail
Chartered Organization         Lions Club‐Highland Park/Highwood                        Northeast Illinois 129                            P.O. Box 696                                              Highland Park, IL 60035‐0696                                                                     First Class Mail
Chartered Organization         Lions Club‐Magnolia Center Of Riverside                  California Inland Empire Council 045              4377 Maplewood Pl                                         Riverside, CA 92506‐1705                                                                         First Class Mail
Chartered Organization         Lions Clubs International‐Kirkland                       Three Fires Council 127                           27128 Malta Rd                                            Clare, IL 60111‐9119                                                                             First Class Mail
Chartered Organization         Lipscomb Academy Elementary School                       Middle Tennessee Council 560                      4517 Granny White Pike                                    Nashville, TN 37204‐4119                                                                         First Class Mail
Chartered Organization         Lipscomb Engineering                                     Middle Tennessee Council 560                      1 University Park Dr                                      Nashville, TN 37204‐3956                                                                         First Class Mail
Firm                           Lipsitz Green Scime Cambria LLP                          Amy C. Keller                                     42 Delaware Avenue, Suite 120                             Buffalo, New York 14202                                           ccroglio@lglaw.com             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Lisa Argyros                                             c/o Boy Scouts of America                         Attn: Chase Koontz                                        1325 W Walnut Hill Ln                Irving, TX 75015             chase.koontz@scouting.org      Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Lisbon Kiwanis Club                                      Northern Lights Council 429                       P.O. Box 228                                              Lisbon, ND 58054‐0228                                                                            First Class Mail
Voting Party                   Lisbon United Methodist Church                           Attn: Treasurer, Lisbon United Methodist Church   14 School St                                              Lisbon Falls, ME 04252                                                                           First Class Mail
Chartered Organization         Lisbon Volunteer Fire Co Inc                             Connecticut Rivers Council, Bsa 066               Newent Rd                                                 Lisbon, CT 06351                                                                                 First Class Mail
Chartered Organization         Lisburn Community Fire Co                                New Birth Of Freedom 544                          1800 Main St                                              Mechanicsburg, PA 17055‐6000                                                                     First Class Mail
Chartered Organization         Lisle Fire Co Inc                                        Baden‐Powell Council 368                          Rd 1                                                      Lisle, NY 13797                                                                                  First Class Mail
Chartered Organization         Litchfield Community Church Presbyterian                 Daniel Webster Council, Bsa 330                   Charles Bancroft Hwy                                      Litchfield, NH 03052                                                                             First Class Mail
Chartered Organization         Litchfield Family Practice Center                        Abraham Lincoln Council 144                       1285 Franciscan Dr                                        Litchfield, IL 62056‐1778                                                                        First Class Mail
Chartered Organization         Litchfield Fire Dept                                     Abraham Lincoln Council 144                       201 E Edwards St                                          Litchfield, IL 62056‐2046                                                                        First Class Mail
Chartered Organization         Litchfield High School Sailing Team                      Connecticut Rivers Council, Bsa 066               P.O. Box 1021                                             Litchfield, CT 06759‐1021                                                                        First Class Mail
Chartered Organization         Litchfield Park Scout Lodge Preservation                 Grand Canyon Council 010                          510 N Old Litchfield Rd                                   Litchfield Park, AZ 85340‐4329                                                                   First Class Mail
Voting Party                   Litchfield United Methodist Church                       Attn: Brett Rogers                                2759 Litchfield Rd                                        Sayre, PA 18840                                                   ab1981@epix.net                Email
                                                                                                                                                                                                                                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                 Page 249 of 442
                                                                                    Case 20-10343-LSS                                    Doc 8171                                                Filed 01/06/22                                                          Page 265 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                          Name                                                                                                 Address                                                                                                                     Email                  Method of Service
Chartered Organization         Lithia Springs Elementary School PTA                        Greater Tampa Bay Area 089              4332 Lynx Paw Trl                                                    Valrico, FL 33596‐7422                                                                                            First Class Mail
Voting Party                   LITHIA SPRINGS UMC                                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200               Tampa, FL 33602                     ERICE@BRADLEY.COM                      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lithia Springs Utd Methodist Church                         Atlanta Area Council 092                3711 Temple St                                                       Lithia Springs, GA 30122‐1854                                                                                     First Class Mail
Voting Party                   Lithonia First UMC                                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200               Tampa, FL 33602                     erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lithopolis United Methodist Church                          Attn: Charles Martindell                80 N Market St                                                       P.O. Box 42                            Lithopolis, OH 43136                office@lithopolisumc.org               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lithuanian Brotherhood                                      Lake Erie Council 440                   18022 Neff Rd                                                        Cleveland, OH 44119‐2644                                                                                          First Class Mail
Chartered Organization         Lithuanian World Center                                     Pathway To Adventure 456                14911 E 127Th St                                                     Lemont, IL 60439‐7417                                                                                             First Class Mail
Chartered Organization         Lititz Church Of The Brethren                               Pennsylvania Dutch Council 524          P.O. Box 248                                                         Lititz, PA 17543‐0248                                                                                             First Class Mail
Chartered Organization         Little Chapel On The Boardwalk                              Cape Fear Council 425                   2 Fayetteville St W                                                  Wrightsville Beach, NC 28480‐1887                                                                                 First Class Mail
Chartered Organization         Little City                                                 Pathway To Adventure 456                1760 W Algonquin Rd                                                  Palatine, IL 60067‐4791                                                                                           First Class Mail
Chartered Organization         Little Cypress Lions Club                                   Three Rivers Council 578                General Delivery                                                     Orange, TX 77631                                                                                                  First Class Mail
Chartered Organization         Little Diversified                                          Mecklenburg County Council 415          615 S College St Ste 1600                                            Charlotte, NC 28202‐1851                                                                                          First Class Mail
Chartered Organization         Little Diversified Architectural Consltg                    Mecklenburg County Council 415          615 S College St Ste 1600                                            Charlotte, NC 28202‐1851                                                                                          First Class Mail
Chartered Organization         Little Dragons After School Program                         Mid‐America Council 326                 405 E 8Th St                                                         Madison, NE 68748‐6319                                                                                            First Class Mail
Chartered Organization         Little Egg Harbor Township Police Dept                      Jersey Shore Council 341                665 Radio Rd                                                         Little Egg Harbor Twp, NJ 08087‐1885                                                                              First Class Mail
Chartered Organization         Little Elm Police Dept                                      Circle Ten Council 571                  100 W Eldorado Pkwy                                                  Little Elm, TX 75068‐5060                                                                                         First Class Mail
Chartered Organization         Little Falls Pba 346                                        Northern New Jersey Council, Bsa 333    P.O. Box 142                                                         Little Falls, NJ 07424‐0142                                                                                       First Class Mail
Chartered Organization         Little Falls Utd Presbyterian                               National Capital Area Council 082       6025 Little Falls Rd                                                 Arlington, VA 22207‐1101                                                                                          First Class Mail
Chartered Organization         Little Flower Catholic Church                               Buckeye Council 436                     2040 Diamond St Ne                                                   Canton, OH 44721‐1709                                                                                             First Class Mail
Chartered Organization         Little Flower Catholic Church                               Crossroads Of America 160               4720 E 13Th St                                                       Indianapolis, IN 46201‐1704                                                                                       First Class Mail
Chartered Organization         Little Flower Catholic Church                               Erie Shores Council 460                 5522 Dorr St                                                         Toledo, OH 43615‐3612                                                                                             First Class Mail
Chartered Organization         Little Flower Children & Family Svcs Ny                     Suffolk County Council Inc 404          2450 N Wading River Rd                                               Wading River, NY 11792‐1402                                                                                       First Class Mail
Chartered Organization         Little Flower Mens Club                                     Abraham Lincoln Council 144             800 Adlai Stevenson Dr                                               Springfield, IL 62703‐4218                                                                                        First Class Mail
Chartered Organization         Little Flower Men's Club                                    Erie Shores Council 460                 1620 Olimphia Rd                                                     Toledo, OH 43615‐3412                                                                                             First Class Mail
Chartered Organization         Little Flower Parish                                        National Capital Area Council 082       5607 Massachusetts Ave                                               Bethesda, MD 20816‐1930                                                                                           First Class Mail
Voting Party                   Little Friends of Jesus Martinsville                        Attn: Andre L Kydala                    54 Old Hwy 22                                                        Clinton, NJ 08809                                                                                                 First Class Mail
Chartered Organization         Little Hocking Community Club                               Buckskin 617                            1632 Twin Bridge Rd                                                  Little Hocking, OH 45742‐5225                                                                                     First Class Mail
Chartered Organization         Little Hocking Elem Sch (Friends Of)                        Buckskin 617                            1632 Twin Bridge Rd                                                  Little Hocking, OH 45742‐5225                                                                                     First Class Mail
Chartered Organization         Little Keswick School                                       Stonewall Jackson Council 763           P.O. Box 24                                                          Keswick, VA 22947‐0024                                                                                            First Class Mail
Chartered Organization         Little Kingdom Childcare                                    Central N Carolina Council 416          920 S Long Dr                                                        Rockingham, NC 28379‐4815                                                                                         First Class Mail
Voting Party                   Little Meadows UMC                                          Attn: Paul D Reed                       328 Pennsylvania Ave, P.O. Box 328                                   Little Meadows, PA 18830                                                   cualum86@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Little Meadows United Methodist Church                      Attn: Pat Brown, Treasurer              263 Frank Mead Rd                                                    Apalachin, NY 13732                                                        cualum86@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Little Mountain Ruitan Club                                 Blue Ridge Council 551                  4121 Us Hwy 76                                                       Little Mountain, SC 29075‐8834                                                                                    First Class Mail
Chartered Organization         Little Mountain Ruritan Club                                Blue Ridge Council 551                  Lindler Field Rd                                                     Little Mountain, SC 29075                                                                                         First Class Mail
Voting Party                   Little Mountain UMC ‐Winchester                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200               Tampa, FL 33602                     erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Little Neck Douglaston Commty                               Ambulance Corps                         4218 Marathon Pkwy                                                   Little Neck, NY 11363‐1935                                                                                        First Class Mail
Chartered Organization         Little Oak Middle School PTA                                Southeast Louisiana Council 214         59241 Rebel Dr                                                       Slidell, LA 70461‐3713                                                                                            First Class Mail
Chartered Organization         Little River Methodist Church                               Atlanta Area Council 092                12455 Hwy 92                                                         Woodstock, GA 30188‐4247                                                                                          First Class Mail
Voting Party                   Little River United Methodist Church                        Attn: Rev W Russell Freeman             4109 Schoolhouse Circle                                              Little River, SC 29566                                                     revfreeman@sc.twcbc.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Little River United Methodist Church                        Attn: Kay G Crowe                       1613 Main St                                                         Columbia, SC 29201                                                         chancellor@umcsc.org                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Little River United Methodist Church ‐ Woodstock            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200               Tampa, FL 33602                     erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Little River Utd Church Of Christ                           National Capital Area Council 082       8410 Little River Tpke                                               Annandale, VA 22003‐3710                                                                                          First Class Mail
Chartered Organization         Little River Utd Methodist Church                           Pee Dee Area Council 552                P.O. Box 160                                                         Little River, SC 29566‐0160                                                                                       First Class Mail
Chartered Organization         Little River Utd Methodist Church                           Atlanta Area Council 092                P.O. Box 637                                                         Woodstock, GA 30188‐0637                                                                                          First Class Mail
Chartered Organization         Little Rock Catholic School For Boys                        Quapaw Area Council 018                 6300 Father Tribou St                                                Little Rock, AR 72205‐3004                                                                                        First Class Mail
Chartered Organization         Little Rock Run Homeowners Assoc                            National Capital Area Council 082       6201 Sandstone Way                                                   Clifton, VA 20124‐2440                                                                                            First Class Mail
Chartered Organization         Little Rocky Run Homeowners Assoc                           National Capital Area Council 082       6201 Sandstone Way                                                   Clifton, VA 20124‐2440                                                                                            First Class Mail
Chartered Organization         Little Sandy Church Of The Nazarene                         Mountaineer Area 615                    3767 Little Sandy Rd                                                 Bruceton Mills, WV 26525‐5291                                                                                     First Class Mail
Chartered Organization         Little Stony Point Citizen's Assoc                          Westchester Putnam 388                  3011 Rte 9D                                                          Cold Spring, NY 10516‐2600                                                                                        First Class Mail
Chartered Organization         Little Swatara Church Of The Brethren                       Hawk Mountain Council 528               P.O. Box 437                                                         Bethel, PA 19507‐0437                                                                                             First Class Mail
Voting Party                   Little Valley First United Methodist Church                 Attn: Allan Ormond                      P.O. Box 221                                                         109 Court St                           Little Valley, NY 14755             PathfinderLVUMC@aol.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Little Zion Lutheran Church                                 Cradle Of Liberty Council 525           267 Morwood Rd                                                       Telford, PA 18969‐2230                                                                                            First Class Mail
Chartered Organization         Little‐Nippers Club                                         Allegheny Highlands Council 382         546 Sartwell Rd                                                      Eldred, PA 16731‐2626                                                                                             First Class Mail
Chartered Organization         Littleton‐ Electric Light And Water Dept                    Heart Of New England Council 230        P.O. Box 2406                                                        Littleton, MA 01460‐3406                                                                                          First Class Mail
Chartered Organization         Littleton Preparatory Charter School                        Denver Area Council 061                 5301 S Bannock St                                                    Littleton, CO 80120‐1742                                                                                          First Class Mail
Voting Party                   Littleton United Methodist Church                           Attn: Treasurer                         5894 S Datura St                                                     Littleton, CO 80120                                                        jostermiller@littletonumc.org          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Littleton‐Congregational Church                             Heart Of New England Council 230        330 King St                                                          Littleton, MA 01460‐1253                                                                                          First Class Mail
Chartered Organization         Littleton‐Lds Church Ward 1                                 Heart of New England Council 230        Church of Jesus Christ of Latter‐Day Sts                             616 Great Rd                           Littleton, MA 01460                                                        First Class Mail
Chartered Organization         Littleton‐Lds Church Ward 2                                 Heart of New England Council 230        Littleton Ward                                                       616 Great Rd                           Littleton, MA 01460                                                        First Class Mail
Chartered Organization         Littleton‐Professional Firefighter Assoc                    Heart Of New England Council 230        20 Foster St                                                         Littleton, MA 01460‐1540                                                                                          First Class Mail
Chartered Organization         Littleton‐St Anne Parish                                    Heart Of New England Council 230        75 King St                                                           Littleton, MA 01460‐1528                                                                                          First Class Mail
Chartered Organization         Live Oak First Baptist Church                               Alamo Area Council 583                  11560 Toepperwein Rd                                                 Live Oak, TX 78233‐3139                                                                                           First Class Mail
Chartered Organization         Live Oak Lions Club                                         Golden Empire Council 047               1139 Hooper Rd                                                       Yuba City, CA 95993‐8875                                                                                          First Class Mail
Chartered Organization         Live Oak Manor Elementary                                   4600 River Rd                           Marrero, LA 70072                                                                                                                                                                      First Class Mail
Voting Party                   Live Oak United Methodist Church                            Attn: Paul Douglas Stewart Jr           301 Main St, Ste 1640                                                Baton Rouge, LA 70801                                                      rachelb0305@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Live Oak United Methodist Church                            c/o Board of Trustees                   Attn: Rachel Burke                                                   34890 LA Hwy 16                        Denham Springs, LA 70706            rachelb0305@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Live Oak United Methodist Church                            Attn: Paul Douglas Stewart Jr           301 Main St, Ste 1640                                                Baton Rouge, LA 70801                                                      dstewart@stewartrobbins.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Live Oak United Methodist Church Board of Trustees          Attn: Rachel Burke                      34890 LA Hwy 16                                                      Denham Springs, LA 70706                                                   rachelb0305@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Live Oak Utd Methodist Church                               Istrouma Area Council 211               P.O. Box 138                                                         Watson, LA 70786‐0138                                                                                             First Class Mail
Chartered Organization         Livermore Lodge IOOF                                        San Francisco Bay Area Council 028      2160 1St St                                                          Livermore, CA 94550‐4544                                                                                          First Class Mail
Chartered Organization         Livermore Pleasanton Fire Dept                              San Francisco Bay Area Council 028      3560 Nevada St                                                       Pleasanton, CA 94566‐6267                                                                                         First Class Mail
Chartered Organization         Livermore Police Dept                                       San Francisco Bay Area Council 028      1110 S Livermore Ave                                                 Livermore, CA 94550‐9315                                                                                          First Class Mail
Chartered Organization         Livermore/Pleasanton Elks Lodge                             San Francisco Bay Area Council 028      940 Larkspur Dr                                                      Livermore, CA 94551‐1424                                                                                          First Class Mail
Chartered Organization         Livermore‐Pleasanton Elks Lodge No2117                      San Francisco Bay Area Council 028      940 Larkspur Dr                                                      Livermore, CA 94551‐1424                                                                                          First Class Mail
Voting Party                   Liverpool First UMC                                         Attn: Raymond C Gilman                  604 Oswego St                                                        Liverpool, NY 13088                                                        rgilman@liverpoolfirstumc.org          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Liverpool Lions Club                                        New Birth Of Freedom 544                808 N Front St                                                       Liverpool, PA 17045‐9184                                                                                          First Class Mail
Chartered Organization         Liverpool Lodge 2348 Bpoe                                   Longhouse Council 373                   3730 Cold Springs Rd                                                 Baldwinsville, NY 13027‐9340                                                                                      First Class Mail
Chartered Organization         Living Faith Anglican Church                                Grand Canyon Council 010                1945 E Guadalupe Rd                                                  Tempe, AZ 85283‐3240                                                                                              First Class Mail
Chartered Organization         Living Faith Church                                         Northern Lights Council 429             1224 N Baird Ave                                                     Fergus Falls, MN 56537‐1520                                                                                       First Class Mail
Voting Party                   Living Faith UMC                                            Attn: Ann Kathi Peterson                53 Grove St                                                          Putnam, CT 06260                                                           revbobjon@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Living Faith UMC                                            Attn: Sheri Renner                      111 W Jefferson                                                      Camp Point, IL 62320                                                       crenner@adams.net                      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Living Faith United Methodist Church                        31 N Main St                            Ipswich, MA 01938                                                                                                                               office@living‐faithumc.org             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Living Faith United Methodist Parish                        Attn: Rev Deborah Lee Parkison          702 S Main St                                                        P.O. Box 280                           Monona, IA 52159                    mogi@neitel.net                        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Living Faith Utd Methodist Church                           Mississippi Valley Council 141 141      P.O. Box 127                                                         1st & Worrell                          Bowen, IL 62316                                                            First Class Mail
Chartered Organization         Living Faith Utd Methodist Church                           Mid‐America Council 326                 5310 S 182Nd Ave                                                     Omaha, NE 68135‐1549                                                                                              First Class Mail
Chartered Organization         Living Faith Utd Methodist Church                           Connecticut Rivers Council, Bsa 066     51 Grove St, Ste 53                                                  Putnam, CT 06260‐2107                                                                                             First Class Mail
Chartered Organization         Living Faith Utd Methodist Church                           Connecticut Rivers Council, Bsa 066     53 Grove St                                                          Putnam, CT 06260‐2109                                                                                             First Class Mail
Chartered Organization         Living Faith Utd Methodist Parish                           Northeast Iowa Council 178              P.O. Box 280                                                         Monona, IA 52159‐0280                                                                                             First Class Mail
Chartered Organization         Living Grace Community Church                               Cape Fear Council 425                   50 Porters Ln Rd                                                     Rocky Point, NC 28457‐8582                                                                                        First Class Mail
Chartered Organization         Living Grace Community Church                               Cape Fear Council 425                   50 Porters Ln Rd                                                     Rocky Point, NC 28457‐8582                                                                                        First Class Mail
Voting Party                   Living Grace UMC                                            Attn: Val McElreath                     3969 Edgewood Cir                                                    Columbus, GA 31907                                                         hmartin30080@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Living Grace Utd Methodist Church                           Chattahoochee Council 091               3969 Edgewood Cir                                                    Columbus, GA 31907‐2651                                                                                           First Class Mail
Chartered Organization         Living Hope Church                                          Three Fires Council 127                 405 W State St                                                       North Aurora, IL 60542‐1574                                                                                       First Class Mail
Chartered Organization         Living Hope Church                                          Ventura County Council 057              755 Bard Rd                                                          Port Hueneme, CA 93041‐2560                                                                                       First Class Mail
Chartered Organization         Living Hope Church Of Old Greenwich                         Greenwich 067                           38 W End Ave                                                         Old Greenwich, CT 06870‐1606                                                                                      First Class Mail
Chartered Organization         Living Hope Covenant Church                                 Pikes Peak Council 060                  6750 N Union Blvd                                                    Colorado Springs, CO 80918‐6012                                                                                   First Class Mail
Voting Party                   Living Hope Kuna UMC                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200               Tampa, FL 33602                     erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Living Hope United Methodist Church                         Attn: William J Kropp                   126A Middletown Rd                                                   Waterford, NY 12188                                                        livinghopeumc@twcibe.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Living Lord Lutheran                                        Greater St Louis Area Council 312       500 Cedar Circle Dr                                                  Lake St Louis, MO 63367‐2748                                                                                      First Class Mail
Chartered Organization         Living Lord Lutheran Church                                 Three Fires Council 127                 1044 Congress Dr                                                     Bartlett, IL 60103‐5757                                                                                           First Class Mail
Chartered Organization         Living Lord Lutheran Church                                 Greater St Louis Area Council 312       500 Cedar Circle Dr                                                  Lake St Louis, MO 63367‐2748                                                                                      First Class Mail
Chartered Organization         Living Lord Lutheran Church                                 Southwest Florida Council 088           11120 State Rd 70 E                                                  Lakewood Ranch, FL 34202‐9415                                                                                     First Class Mail
Chartered Organization         Living Lord Lutheran Church                                 Gulf Stream Council 085                 2725 58Th Ave                                                        Vero Beach, FL 32966‐2070                                                                                         First Class Mail
Chartered Organization         Living Proof Cogic                                          Suffolk County Council Inc 404          105 2Nd Ave                                                          Bay Shore, NY 11706‐6607                                                                                          First Class Mail
Chartered Organization         Living Savior Lutheran Church                               Cascade Pacific Council 492             8740 Sw Sagert St                                                    Tualatin, OR 97062‐9116                                                                                           First Class Mail
Voting Party                   Living Savior Lutheran Church                               Attn: Steven E Galing                   5500 Ox Rd                                                           Fairfax Station, VA 22039‐1421                                             Steven_Galing@msn.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Living Savior Lutheran Church                               c/o Field Jerger LLP                    621 SW Morrison St., Ste510                                          Portland, OR 97205                                                         joe@fieldjerger.com                    Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Living Savior Lutheran Church                               Attn: Catherine M Dexter                8740 SW Sagert St                                                    Tualatin, OR 97062                                                         emailcathydexter@gmail.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Living Savior Lutheran Church                               8740 SW Sagert St                       Tualatin, OR 97062                                                                                                                              emailcathydexter@gmail.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Living Savior Lutheran Church Montgomery Texas              Attn: Jack Gordon Heintschel Jr         209 Pond St                                                          Montgomery, TX 77356                                                       jack.heintschel@sbcglobal.net          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Living Savior Lutheran Church Montgomery Texas              309 Pond St                             Montgomery, TX 77356                                                                                                                            jack.heintschel@sbcglobal.net          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Living Saviour Lutheran Church                              Mecklenburg County Council 415          6817 Carmel Rd                                                       Charlotte, NC 28226‐3904                                                                                          First Class Mail
Voting Party                   Living Springs Lutheran Church                              Attn: Senior Pastor                     4224 Hardscrabble Rd                                                 Columbia, SC 29223                                                         pastoreric@livingspringscolumbia.org   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Living Water Church Of Spring                               Sam Houston Area Council 576            P.O. Box 1804                                                        Spring, TX 77383‐1804                                                                                             First Class Mail
Chartered Organization         Living Water Utd Methodist Church                           Indian Nations Council 488              519 E 141St St Ste C                                                 Glenpool, OK 74033‐3594                                                                                           First Class Mail
Chartered Organization         Living Waters Christian Canoe Camp                          Heart Of America Council 307            10955 Lowell Ave Ste 900                                             Overland Park, KS 66210‐2370                                                                                      First Class Mail
Chartered Organization         Living Waters Lutheran Church                               Northern Star Council 250               865 Birch St                                                         Lino Lakes, MN 55014‐1364                                                                                         First Class Mail
Voting Party                   Living Waters Lutheran Church                               1808 Miller Rd                          Crystal Lake, IL 60014                                                                                                                          Larstone71@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Living Waters Presbyterian Church                           Snake River Council 111                 821 E Main St                                                        Wendell, ID 83355‐5324                                                                                            First Class Mail
Chartered Organization         Living Word                                                 Greater St Louis Area Council 312       17315 Manchester Rd                                                  Glencoe, MO 63038‐1902                                                                                            First Class Mail
Chartered Organization         Living Word Christian Center                                Lincoln Heritage Council 205            5705 Nortonville Rd                                                  Nortonville, KY 42442‐9208                                                                                        First Class Mail
Chartered Organization         Living Word Church Of The Nazarene                          Sam Houston Area Council 576            16607 Clay Rd                                                        Houston, TX 77084‐4007                                                                                            First Class Mail
Chartered Organization         Living Word Lutheran Church                                 Sam Houston Area Council 576            3700 S Mason Rd                                                      Katy, TX 77450‐7652                                                                                               First Class Mail
Voting Party                   Living Word Lutheran Church                                 Attn: Christopher Davis                 2240 Living Word Ln                                                  Jackson, WI 53037                                                          pastor.davis@mylivingword.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Living Word Ministries                                      Blue Ridge Mtns Council 599             825 Taylor St                                                        Lynchburg, VA 24504‐3328                                                                                          First Class Mail
Chartered Organization         Living Word Open Bible Church                               South Florida Council 084               8900 Stirling Rd                                                     Hollywood, FL 33024‐8220                                                                                          First Class Mail
Voting Party                   Living Word United Methodist Church                         Attn: Davis Israel                      17315 Manchester Rd                                                  Wildwood, MO 63038                                                         disrael@livingwordumc.org              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Livingston First Christian Church                           Middle Tennessee Council 560            320 Oakley St                                                        Livingston, TN 38570‐1264                                                                                         First Class Mail
Chartered Organization         Livingston Hospital And Healthcare Svcs                     Lincoln Heritage Council 205            131 Hospital Dr                                                      Salem, KY 42078‐8043                                                                                              First Class Mail
Chartered Organization         Livingston Kiwanis Club                                     Istrouma Area Council 211               30105 N Range Rd                                                     Livingston, LA 70754‐5705                                                                                         First Class Mail
Voting Party                   Livingston Manor United Methodist Church                    Attn: Amy A Tompkins                    P.O. Box 361                                                         Livingston Manor, NY 12758                                                 amy.tompkins@nyac‐umc.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Livingston Parish Sheriffs Office                           Istrouma Area Council 211               P.O. Box 1515                                                        Livingston, LA 70754‐1515                                                                                         First Class Mail
Chartered Organization         Livingston Police Dept                                      Greater Yosemite Council 059            P.O. Box 308                                                         Merced, CA 95341‐0308                                                                                             First Class Mail
Voting Party                   Livingston UMC                                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200               Tampa, FL 33602                     erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Livingword Harvest Of Dallas                                Circle Ten Council 571                  828 4Th Ave                                                          Dallas, TX 75226‐2024                                                                                             First Class Mail
Chartered Organization         Livonia Fire Dept                                           Iroquois Trail Council 376              P.O. Box 151                                                         Livonia, NY 14487‐0151                                                                                            First Class Mail
Chartered Organization         Livonia Hoover Ptsa                                         Great Lakes Fsc 272                     15900 Levan Rd                                                       Livonia, MI 48154‐2070                                                                                            First Class Mail
Firm                           Liz Taylor Forsman                                          P.O. Box 22506                          Sacramento, CA 95822                                                                                                                                                                   First Class Mail
Voting Party                   Lizella United Methodist Church                             Attn: Mike Carter                       2920 S Lizella Rd                                                    Lizella, GA 31052                                                          glenwoodbridge@cox.net                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lizemore Elementary                                         Buckskin 617                            100 Lizemore Lion Rd                                                 Lizemores, WV 25125                                                                                               First Class Mail
Voting Party                   Lizemore United Methodist Church                            Attn: Barbara Bodkins                   P.O. Box 62                                                          Lizemores, WV 25125                                                                                               First Class Mail
Chartered Organization         Llanerch Presbyterian Church                                Cradle Of Liberty Council 525           9 E Park Rd                                                          Havertown, PA 19083‐5301                                                                                          First Class Mail
Chartered Organization         Lloyd Church Of The Nazarene                                Simon Kenton Council 441                157 Ohio River Rd                                                    Greenup, KY 41144‐6782                                                                                            First Class Mail
Voting Party                   Lloyd Hugh Redd                                             c/o Boy Scouts of America               Attn: Chase Koontz                                                   1325 W Walnut Hill Ln                  Irving, TX 75015                    chase.koontz@scouting.org              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lloyd Road School PTO                                       Monmouth Council, Bsa 347               401 Lloyd Rd                                                         Aberdeen, NJ 07747‐1894                                                                                           First Class Mail
Voting Party                   Lloyd United Methodist Church                               Attn: Herb Witz                         40 Carroll St                                                        Tillson, NY 12486                                                          herbjanwitz@aol.com                    Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lloyd United Methodist Church                               Attn: Gail I Erdie                      476 New Paltz Rd                                                     Highland, NY 12528                                                         gail12561@aol.com                      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lmha Port Lawrence                                          Erie Shores Council 460                 131 Indiana Ave                                                      Toledo, OH 43604‐8252                                                                                             First Class Mail
Chartered Organization         Loan T Dang, Dds                                            National Capital Area Council 082       6404 Seven Corners Pl Ste J                                          Falls Church, VA 22044‐2034                                                                                       First Class Mail
Voting Party                   Local Council 227                                           Attn: Charles Eaton                     44 Cliff St                                                          Plymouth, MA 02360                                                                                                First Class Mail
Chartered Organization         Local Outreach Task Grp ‐ First Un Meth                     Prairielands 117                        210 W Church St                                                      Champaign, IL 61820‐3513                                                                                          First Class Mail
Chartered Organization         Local Union 948 Ibew                                        Water And Woods Council 782             1251 W Hill Rd                                                       Flint, MI 48507‐4735                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 250 of 442
                                                                                   Case 20-10343-LSS                                          Doc 8171                                       Filed 01/06/22                                                  Page 266 of 457
                                                                                                                                                                                Exhibit B
                                                                                                                                                                                 Service List
                                                                                                                                                                          Served as set forth below

        Description                                                         Name                                                                                              Address                                                                                                           Email                 Method of Service
Chartered Organization         Lock Haven Area Ymca                                       Susquehanna Council 533                       145 E Water St                                              Lock Haven, PA 17745‐1343                                                                              First Class Mail
Chartered Organization         Lockhart Evening Lions Club                                Capitol Area Council 564                      220 Bufkin Ln                                               Lockhart, TX 78644                                                                                     First Class Mail
Voting Party                   Lockhart First United Methodist Church                     Attn: Laverne Kirkpatrick                     313 W San Antonio St                                        Lockhart, TX 78644                                                 office@firstmethodistlockhart.org   Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lockhart First Utd Methodist Church                        Capitol Area Council 564                      P.O. Box 897                                                Lockhart, TX 78644‐0897                                                                                First Class Mail
Chartered Organization         Lockheed Martin                                            Denver Area Council 061                       12257 S Wadsworth Blvd                                      Littleton, CO 80125‐8504                                                                               First Class Mail
Chartered Organization         Lockheed Martin                                            Longhouse Council 373                         Electronics Pkwy                                            Liverpool, NY 13221                                                                                    First Class Mail
Chartered Organization         Lockheed Martin                                            Longhouse Council 373                         P.O. Box 4840                                               Syracuse, NY 13221‐4840                                                                                First Class Mail
Chartered Organization         Lockheed Martin ‐ Exploring                                Longhorn Council 662                          P.O. Box 748                                                Fort Worth, TX 76101‐7450                                                                              First Class Mail
Chartered Organization         Lockheed Martin Space Systems Co                           Silicon Valley Monterey Bay 055               1111 Lockheed Martin Way                                    Sunnyvale, CA 94089‐1212                                                                               First Class Mail
Chartered Organization         Lockheed PTA                                               Atlanta Area Council 092                      1205 Merritt Rd                                             Marietta, GA 30062‐3251                                                                                First Class Mail
Voting Party                   Lockiington United Methodist Church                        Attn: Treasurer, Patsy Cavender               2190 Miami Conservancy Rd                                   Sidney, OH 45365                                                   cavenderpatsy@gmail.com             Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lockney Rotary Club                                        South Plains Council 694                      P.O. Box 577                                                Lockney, TX 79241‐0577                                                                                 First Class Mail
Chartered Organization         Lockport First Presbyterian Church                         Iroquois Trail Council 376                    21 Church St                                                Lockport, NY 14094‐2803                                                                                First Class Mail
Chartered Organization         Lockport Volunteer Fire Dept                               Southeast Louisiana Council 214               806 Crescent Ave                                            Lockport, LA 70374‐2953                                                                                First Class Mail
Voting Party                   Lockport: First                                            1000 S Washington                             Lockport, IL 60441                                                                                                             1umclockport@AmeriTech.net          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Firm                           Locks Law Firm                                             Jerry A. Lindheim, Esquire                    601 Walnut Street, Ste 720 East                             Philadelphia, PA 19106                                             jlindheim@lockslaw.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lockwood Rual Fire Dept 8                                  Montana Council 315                           501 Johnson Ln                                              Billings, MT 59101‐6822                                                                                First Class Mail
Chartered Organization         Lockwood Rural Fire District                               Montana Council 315                           501 Johnson Ln                                              Billings, MT 59101‐6822                                                                                First Class Mail
Chartered Organization         Lockwood Rural Fire District 8                             Montana Council 315                           943 Westgate Dr                                             Billings, MT 59101‐7032                                                                                First Class Mail
Chartered Organization         Locust Corner Methodist Church                             Dan Beard Council, Bsa 438                    917 Locust Corner Rd                                        Cincinnati, OH 45245‐3045                                                                              First Class Mail
Chartered Organization         Locust Grove Baptist Church                                Greater Alabama Council 001                   171 County Lake Rd                                          New Market, AL 35761‐8955                                                                              First Class Mail
Chartered Organization         Locust Grove Free Will Baptist Church                      Indian Nations Council 488                    P.O. Box 183                                                Locust Grove, OK 74352‐0183                                                                            First Class Mail
Voting Party                   Locust Grove UMC ‐ Salem                                   c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Locust Grove Utd Methodist Church                          Flint River Council 095                       211 Peeksville Rd                                           Locust Grove, GA 30248‐3138                                                                            First Class Mail
Chartered Organization         Locust Grove Utd Methodist Church                          Blue Ridge Mtns Council 599                   3415 Locust Grove Ln                                        Salem, VA 24153‐2011                                                                                   First Class Mail
Voting Party                   Locust UMC                                                 6851 Martin Rd                                Columbia, MD 21044                                                                                                             pastor@locustumc.org                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Loder Ragland Ministries Inc                               Greater Alabama Council 001                   2220 Ragland St                                             Birmingham, AL 35210‐7300                                                                              First Class Mail
Chartered Organization         Lodge Elementary School                                    Buffalo Trace 156                             2000 Lodge Ave                                              Evansville, IN 47714‐4261                                                                              First Class Mail
Chartered Organization         Lodge Manufacturing                                        Cherokee Area Council 556                     P.O. Box 380                                                South Pittsburg, TN 37380‐0380                                                                         First Class Mail
Chartered Organization         Lodi American Legion Post 523                              Great Trail 433                               120 Bank St                                                 Lodi, OH 44254‐1002                                                                                    First Class Mail
Chartered Organization         Lodi Optimist Club                                         Glaciers Edge Council 620                     P.O. Box 214                                                Lodi, WI 53555‐0214                                                                                    First Class Mail
Chartered Organization         Loews Hotels Co                                            Greater New York Councils, Bsa 640            655 Madison Ave                                             New York, NY 10065‐8043                                                                                First Class Mail
Chartered Organization         Log Cabin Community Sunday School                          Atlanta Area Council 092                      4699 Log Cabin Dr Se                                        Atlanta, GA 30339‐1567                                                                                 First Class Mail
Chartered Organization         Log Cabin Taxidermy                                        Water And Woods Council 782                   3502 W Garrison Rd                                          Owosso, MI 48867‐9243                                                                                  First Class Mail
Chartered Organization         Logan Lions Club                                           Coronado Area Council 192                     P.O. Box 337                                                Logan, KS 67646‐0337                                                                                   First Class Mail
Chartered Organization         Logan Lions Club                                           Trapper Trails 589                            101 N Main St                                               Logan, UT 84321‐4525                                                                                   First Class Mail
Chartered Organization         Logan Lions Club                                           Trapper Trails 589                            101 N Main St                                               Logan, UT 84321‐4525                                                                                   First Class Mail
Voting Party                   Logansport Main St UMC                                     Attn: Patty Carter & Douglas Michael Thomas   19 E Main St                                                Logansport, IN 46947                                               loganumcfinance@yahoo.com           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Logansport Main St Utd Methodist Ch                        Sagamore Council 162                          19 E Main St                                                Logansport, IN 46947‐4845                                                                              First Class Mail
Voting Party                   Loganville First United Methodist                          221 Main St                                   Loganville, GA 30052                                                                                                                                               First Class Mail
Voting Party                   Loganville First United Methodist ‐ Loganville             c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Loganville Utd Methodist Church                            Northeast Georgia Council 101                 221 Main St                                                 Loganville, GA 30052‐7395                                                                              First Class Mail
Chartered Organization         Loganville Utd Methodist Church                            Northeast Georgia Council 101                 221 Main St                                                 Loganville, GA 30052‐7395                                                                              First Class Mail
Chartered Organization         Loge Elementary School Parent Group                        Buffalo Trace 156                             915 N 4Th St                                                Boonville, IN 47601‐1351                                                                               First Class Mail
Chartered Organization         Logia Fiat Lux                                             Puerto Rico Council 661                       P.O. Box 2245                                               Coamo, PR 00769‐4245                                                                                   First Class Mail
Voting Party                   Logisource                                                 P.O. Box 10200                                Matthews, NC 28106                                                                                                             james.meuschke@logisource.com       Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lois Lenski Elementary PTO                                 Denver Area Council 061                       6350 S Fairfax Way                                          Centennial, CO 80121‐3514                                                                              First Class Mail
Voting Party                   Lola Faye Craig                                            Address Redacted                                                                                                                                                             Email Address Redacted              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Lolita United Methodist Church                             Attn: Wanda Harris                            P.O. Box 103                                                Lolita, TX 77971                                                   rev.laura.alvarez@gmail.com         Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Lolita United Methodist Church                             Attn: Jack Cilingiryan                        P.O. Box 44                                                 Midland Park, NJ 07432                                             hjclawyer@gmail.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lolita Volunteer Fire Dept                                 South Texas Council 577                       P.O. Box 332                                                Vanderbilt, TX 77991‐0332                                                                              First Class Mail
Voting Party                   Lombard Faith: United Methodist Church                     815 S Finley Rd                               Lombard, IL 60148                                                                                                              pastorayla20@gmail.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Lombard: Faith UMC (Faith Evangelical United Brethren)     815 S Finley Rd                               Lombard, IL 60148                                                                                                              pastorayla20@gmail.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Lombard: Faith United Methodist Church                     Attn: Warren Petrie Jr                        815 S Finley Rd                                             Lombard, IL 60148                                                  pastorayla20@gmail.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lomita Park Elementary School                              Pacific Skyline Council 031                   200 Santa Helena Ave                                        San Bruno, CA 94066‐5331                                                                               First Class Mail
Chartered Organization         Lompoc Elks Lodge 2274                                     Los Padres Council 053                        905 E Ocean Ave                                             Lompoc, CA 93436‐7018                                                                                  First Class Mail
Chartered Organization         Lompoc Police Dept                                         Los Padres Council 053                        107 Civic Center Plz                                        Lompoc, CA 93436‐6916                                                                                  First Class Mail
Firm                           Lomurro Law                                                Christina Vassilieu Harvey, ESQ.              4 Paragon Way, Ste 100                                      Freehold, NJ 07728                                                 charvey@lomurrofirm.com             Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   London First United Methodist Church                       Attn: Tim Wilson                              52 N Main St                                                London, OH 43140                                                   dleckrone@londonfumc.org            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Londonderry Fire Co 1                                      New Birth Of Freedom 544                      P.O. Box 324                                                Middletown, PA 17057‐0324                                                                              First Class Mail
Chartered Organization         Londonderry Fish And Game                                  Daniel Webster Council, Bsa 330               P.O. Box 229                                                Londonderry, NH 03053‐0229                                                                             First Class Mail
Chartered Organization         Londonderry Grange 44                                      Daniel Webster Council, Bsa 330               Londonderry Grange 44                                       453 Mammoth Rd                   Londonderry, NH 03053                                                 First Class Mail
Chartered Organization         Londonderry Police Dept                                    Daniel Webster Council, Bsa 330               268 Mammoth Rd                                              Londonderry, NH 03053‐3003                                                                             First Class Mail
Chartered Organization         Londonderry Presbyterian Church                            Daniel Webster Council, Bsa 330               126 Pillsbury Rd                                            Londonderry, NH 03053‐3205                                                                             First Class Mail
Voting Party                   Londonderry United Methodist Church                        Attn: Wendy Paulaskas, Treasurer              258 Mammoth Rd                                              Londonderry, NH 03053                                              treasurer@londonderryumc.org        Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Londontowne Property Owners Assn                           Baltimore Area Council 220                    P.O. Box 1031                                               Edgewater, MD 21037‐7031                                                                               First Class Mail
Chartered Organization         Londontowne Property Owners Assoc                          Baltimore Area Council 220                    P.O. Box 1031                                               Edgewater, MD 21037‐7031                                                                               First Class Mail
Chartered Organization         Lone Dell Parents Club                                     Greater St Louis Area Council 312             2500 Tomahawk Dr                                            Arnold, MO 63010‐2522                                                                                  First Class Mail
Chartered Organization         Lone Grove Schools                                         Arbuckle Area Council 468                     P.O. Box 1330                                               Lone Grove, OK 73443‐1330                                                                              First Class Mail
Chartered Organization         Lone Oak Area Public Library                               Circle Ten Council 571                        P.O. Box 501                                                Lone Oak, TX 75453‐0501                                                                                First Class Mail
Chartered Organization         Lone Oak Church Of Christ                                  Lincoln Heritage Council 205                  2960 Lone Oak Rd                                            Paducah, KY 42003‐8029                                                                                 First Class Mail
Voting Party                   Lone Oak United Methodist Church                           Attn: Timm Fair                               3835 Old US Hwy 45 S                                        Paducah, KY 42003                                                  t_fair@icloud.com                   Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lone Oak Utd Methodist Church                              Circle Ten Council 571                        P.O. Box 271                                                Lone Oak, TX 75453‐0271                                                                                First Class Mail
Chartered Organization         Lone Oak Utd Methodist Church Paducah                      Lincoln Heritage Council 205                  3835 Old Us Hwy 45 S                                        Paducah, KY 42003‐5790                                                                                 First Class Mail
Chartered Organization         Lone Star Cowboy Church                                    Circle Ten Council 571                        123 Cowboy Way                                              Nevada, TX 75173‐0106                                                                                  First Class Mail
Chartered Organization         Lone Star Flight Museum                                    Sam Houston Area Council 576                  11551 Aerospace Ave                                         Houston, TX 77034‐5642                                                                                 First Class Mail
Chartered Organization         Lone Star Post 2150 Vfw                                    Circle Ten Council 571                        1710 N Church St                                            Mckinney, TX 75069‐1810                                                                                First Class Mail
Chartered Organization         Lone Tree Spirit Foundation Inc                            The Spirit Of Adventure 227                   12 W Shore Park Rd                                          Kingston, NH 03848‐3547                                                                                First Class Mail
Voting Party                   Lone United Methodist Church                               Attn: Virginia Beth Ensor                     P.O. Box 186                                                Lone Oak, TX 75453                                                 loneoaktx.umc@gmail.com             Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Long Beach Area Council                                    Attn: John Fullerton                          401 E 37th St                                               Long Beach, CA 90807                                               john.fullerton@scouting.org         Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Long Beach Auxiliary Police                                Theodore Roosevelt Council 386                859 E Park Ave                                              Long Beach, NY 11561                                                                                   First Class Mail
Voting Party                   Long Beach First UMC                                       c/o West District UMC                         Attn: Polly Sablan                                          1225 W 190th St Ste 205          Gardena, CA 90248                 westdistrict@calpacumc.org          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Long Beach Police Dept                                     Long Beach Area Council 032                   400 W Broadway                                              Long Beach, CA 90802‐4401                                                                              First Class Mail
Chartered Organization         Long Beach Sailing Foundation                              Long Beach Area Council 032                   P.O. Box 3116                                               Long Beach, CA 90803‐0116                                                                              First Class Mail
Chartered Organization         Long Beach Volunteer Fire Dept                             Lasalle Council 165                           2208 Oriole Trl                                             Long Beach, IN 46360‐1528                                                                              First Class Mail
Chartered Organization         Long Branch Baptist Church                                 Blue Ridge Council 551                        28 Bolt St                                                  Greenville, SC 29605‐3919                                                                              First Class Mail
Chartered Organization         Long Branch Elks 742                                       Monmouth Council, Bsa 347                     P.O. Box 3147                                               Long Branch, NJ 07740‐3147                                                                             First Class Mail
Chartered Organization         Long Creek Church Of Christ                                Indian Waters Council 553                     720 Longtown Rd                                             Columbia, SC 29229‐8546                                                                                First Class Mail
Chartered Organization         Long Creek Presbyterian Church                             Piedmont Council 420                          907 Long Creek Rd                                           Bessemer City, NC 28016                                                                                First Class Mail
Chartered Organization         Long Elementary School PTO                                 Greater St Louis Area Council 312             9021 Sappington Rd                                          St Louis, MO 63126‐2426                                                                                First Class Mail
Chartered Organization         Long Grove Civic League                                    Illowa Council 133                            420 S Cody Rd                                               Eldridge, IA 52748‐9733                                                                                First Class Mail
Voting Party                   Long Hill UMC                                              Attn: Rev Ed Dayton                           6358 Main St                                                Trumbull, CT 06611                                                 pastor.ed.dayton@gmail.com          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Long Hill Utd Methodist Church                             Connecticut Yankee Council Bsa 072            21 Elizabeth St                                             Trumbull, CT 06611‐2026                                                                                First Class Mail
Chartered Organization         Long Horn Ranch                                            Middle Tennessee Council 560                  6532 Edinburgh Dr                                           Nashville, TN 37221‐3700                                                                               First Class Mail
Voting Party                   Long Island Korean United Methodist Church                 486 Town Line Rd                              Commack, NY 11725                                                                                                              likumc@hotmail.com                  Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Long Lake Church                                           President Gerald R Ford 781                   4172 Church Rd                                              Traverse City, MI 49685‐9612                                                                           First Class Mail
Chartered Organization         Long Lake Volunteer Fire Dept                              Greater St Louis Area Council 312             4113 Pontoon Rd                                             Granite City, IL 62040‐4346                                                                            First Class Mail
Chartered Organization         Long Meadow P T O                                          Connecticut Rivers Council, Bsa 066           North Benson Rd                                             Middlebury, CT 06762                                                                                   First Class Mail
Chartered Organization         Long Memorial Umc                                          Old N State Council 070                       226 N Main St                                               Roxboro, NC 27573‐5325                                                                                 First Class Mail
Voting Party                   Long Memorial United Methodist Church                      Attn: Edward N Priestaf                       P.O. Box 310                                                Roxboro, NC 27573                                                  ed.priestaf@gmail.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Long Neck Business Assoc                                   Del Mar Va 081                                32369 Long Neck Rd Unit 2                                   Long Neck, DE 19966‐6681                                                                               First Class Mail
Voting Party                   Long Neck United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Long PTO                                                   Greater St Louis Area Council 312             9721 Sappington Rd                                          St Louis, MO 63128                                                                                     First Class Mail
Voting Party                   Long Ridge United Methodist Church                         Attn: John Parille                            201 Long Ridge Rd                                           Danbury, CT 06810                                                  pastorjohnparille@gmail.com         Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Long Valley Prebyterian Club                               Attn: Clerk of Session                        39 Bartley Rd                                               Long Valley, NJ 07853                                              secretary@gmail.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Long Valley Presbyterian Church                            Attn: Clerk of Session                        39 Bartley Rd                                               Long Valley, NJ 07853                                              secretary@gmail.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Long, Joseph A                                             Address Redacted                                                                                                                                                             Email Address Redacted              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Longfellow C L C                                           Three Harbors Council 636                     1021 S 21St St                                              Milwaukee, WI 53204‐2030                                                                               First Class Mail
Chartered Organization         Longfellow Independent PTO                                 Pathway To Adventure 456                      501 S Arlington Heights Rd                                  Buffalo Grove, IL 60089‐3245                                                                           First Class Mail
Chartered Organization         Longfellow New Tech Elementary PTA                         Pathway To Adventure 456                      4500 Calhoun St                                             Gary, IN 46408‐3431                                                                                    First Class Mail
Voting Party                   Longhouse Council Inc Boy Scouts Of America                Attn: Grey Rolland                            2803 Brewerton Rd                                           Syracuse, NY 13211                                                 GREY.ROLLAND@SCOUTING.ORG           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Longhouse Council Inc Boy Scouts Of America                Attn: Charles J Sullivan Esq                  1 Lincoln Ctr                                               Syracuse, NY 13202                                                 csullivan@bsk.com                   Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Longleaf Middle School PTA                                 Indian Waters Council 553                     1160 Longreen Pkwy                                          Columbia, SC 29229‐8189                                                                                First Class Mail
Chartered Organization         Longley Way Elementary                                     Greater Los Angeles Area 033                  2601 Longley Way                                            Arcadia, CA 91007‐8532                                                                                 First Class Mail
Chartered Organization         Long‐Lost Friends Inc                                      Sam Houston Area Council 576                  4806 Whispering Falls Dr                                    Houston, TX 77084‐2944                                                                                 First Class Mail
Chartered Organization         Longmeadow Congregational Church                           Daniel Webster Council, Bsa 330               Wilson Crossing Rd                                          Auburn, NH 03032                                                                                       First Class Mail
Voting Party                   Longmeadow Congregational Church, UCC                      4 Wilson's Crossing Rd                        P.O. Box 356                                                Auburn, NH 03032                                                   longmeadowchurch@aol.com            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Longmont Youth Center                                      Longs Peak Council 062                        1051 Lashley St                                             Longmont, CO 80504                                                                                     First Class Mail
Chartered Organization         Longs Chapel Utd Methodist Church                          Daniel Boone Council 414                      P.O. Box 458                                                Lake Junaluska, NC 28745‐0458                                                                          First Class Mail
Chartered Organization         Longs Chapel Utd Methodist Men                             Daniel Boone Council 414                      P.O. Box 459                                                Lake Junaluska, NC 28745‐0459                                                                          First Class Mail
Voting Party                   Longs Peak Cncl 62                                         2215 23Rd Ave                                 Greeley, CO 80634‐6632                                                                                                                                             First Class Mail
Voting Party                   Longs Peak United Methodist Church                         Attn: Alexandria Anderson                     1421 Elmhurst Dr                                            Longmont, CO 80503                                                 finance@lpumc.org                   Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Longs Run Trinity Presbyterian Church                      Buckeye Council 436                           15851 Longs Church Rd                                       East Liverpool, OH 43920‐9519                                                                          First Class Mail
Voting Party                   Longstreet United Methodist Church                         Attn: Earnestine Hunt                         5268 Airways Blvd.                                          Memphis, TN 38116                                                  Drhunt.lumc@att.net                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Longswamp Utd Church Of Christ                             St Paul's Lutheran Church                     Hawk Mountain Council 528                                   200 Clay Rd                      Mertztown, PA 19539                                                   First Class Mail
Chartered Organization         Longview Fire Dept                                         East Texas Area Council 585                   100 E Cotton St                                             Longview, TX 75601‐7415                                                                                First Class Mail
Chartered Organization         Longview Highlands Neighborhood Assoc                      Cascade Pacific Council 492                   292 21St Ave                                                Longview, WA 98632‐1119                                                                                First Class Mail
Chartered Organization         Longview Lions Club                                        East Texas Area Council 585                   1404 Creekwood Ln                                           Longview, TX 75602‐6834                                                                                First Class Mail
Chartered Organization         Longview Pioneer Lions Club                                Cascade Pacific Council 492                   P.O. Box 1102                                               Longview, WA 98632‐7670                                                                                First Class Mail
Chartered Organization         Longview Police Dept                                       East Texas Area Council 585                   302 W Cotton St                                             Longview, TX 75601‐6222                                                                                First Class Mail
Chartered Organization         Longview Utd Methodist Church                              Lincoln Heritage Council 205                  4320 S Wilson Rd                                            Elizabethtown, KY 42701‐7402                                                                           First Class Mail
Chartered Organization         Longwood Police Explorer Post 212                          Central Florida Council 083                   235 W Church Ave                                            Longwood, FL 32750‐4115                                                                                First Class Mail
Chartered Organization         Longwood Rotary                                            Chester County Council 539                    P.O. Box 781                                                Kennett Sq, PA 19348‐0781                                                                              First Class Mail
Chartered Organization         Longwood Rotary                                            Chester County Council 539                    P.O. Box 781                                                Kennett Square, PA 19348‐0781                                                                          First Class Mail
Chartered Organization         Lonnie B Nelson PTO                                        Indian Waters Council 553                     N Brickyard Rd                                              Columbia, SC 29223                                                                                     First Class Mail
Voting Party                   Lonoke First United Methodist Church                       Attn: Beth Mooney                             P.O. Box 152                                                Lonoke, AR 72086                                                   fumclonoke@sbcglobal.net            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lonsdale Lions Club                                        Northern Star Council 250                     P.O. Box 314                                                Lonsdale, MN 55046‐0314                                                                                First Class Mail
Voting Party                   Lonsdale UMC                                               Attn: Claude Ronald Mc Entyre                 7809 Jefferson Oaks Dr                                      Knoxville, TN 37938                                                mcentyre.ron@gmail.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Lonsdale United Methodist Church                           Attn: Treasurer                               P.O. Box 5565                                               Knoxville, TN 37928‐0565                                           mcentyre.ron@gmail.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Loogootee United Methodist Church                          Attn: Nancy J Whitman                         208 W Main St                                               Loogootee, IN 47553                                                loogooteeumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Loogootee United Methodist Church                          Nancy J Whitman                               208 W Main St                                               Loogootee, IN 47553                                                loogooteeumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Lookout Mountain School PTO                                Grand Canyon Council 010                      15 W Coral Gables Dr                                        Phoenix, AZ 85023‐3601                                                                                 First Class Mail
Chartered Organization         Loomis Lions Club                                          Golden Empire Council 047                     3739 Taylor Rd                                              Loomis, CA 95650‐9283                                                                                  First Class Mail
Chartered Organization         Loose Creek Willing Workers                                Great Rivers Council 653                      797 County Rd 602                                           Loose Creek, MO 65054‐2319                                                                             First Class Mail
Chartered Organization         Loper School PTO                                           Crossroads Of America 160                     901 Loper Dr                                                Shelbyville, IN 46176‐2281                                                                             First Class Mail
Chartered Organization         Lorain Boating Education Foundation                        Lake Erie Council 440                         1108 Alabama Ave                                            Lorain, OH 44052                                                                                       First Class Mail
Chartered Organization         Lorain County Sheriffs Office                              Lake Erie Council 440                         9896 Murray Ridge Rd                                        Elyria, OH 44035‐6957                                                                                  First Class Mail
Chartered Organization         Lorain Police Dept                                         Lake Erie Council 440                         100 W Erie Ave                                              Lorain, OH 44052‐1646                                                                                  First Class Mail
Chartered Organization         Lorain Sailing & Yacht Club                                Lake Erie Council 440                         P.O. Box 697                                                Lorain, OH 44052‐0697                                                                                  First Class Mail
Chartered Organization         Lorane Assoc Of Parent/Teacher                             Hawk Mountain Council 528                     699 Rittenhouse Dr                                          Reading, PA 19606‐3440                                                                                 First Class Mail
Chartered Organization         Lorane Rebekah Lodge 252                                   Oregon Trail Council 697                      P.O. Box 11008                                              Lorane, OR 97451                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                 Page 251 of 442
                                                                                  Case 20-10343-LSS                                                    Doc 8171                                     Filed 01/06/22                                                          Page 267 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                       Name                                                                                                       Address                                                                                                                                Email                    Method of Service
Voting Party                   Loranger United Methodist Church                          Attn: Adam Moore                                        P.O. Box 631                                              Loranger, LA 70446                                                                         lorangermethodist@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Loras College                                             Northeast Iowa Council 178                              1450 Alta Vista St                                        Dubuque, IA 52001‐4327                                                                                                         First Class Mail
Chartered Organization         Loras College Computer Science                            Northeast Iowa Council 178                              1450 Alta Vista St                                        Dubuque, IA 52001‐4327                                                                                                         First Class Mail
Chartered Organization         Loray Baptist Church                                      Piedmont Council 420                                    1128 W Franklin Blvd                                      Gastonia, NC 28052‐3737                                                                                                        First Class Mail
Chartered Organization         Lord Of Glory Lutheran Church                             Northeast Illinois 129                                  607 W Belvidere Rd                                        Grayslake, IL 60030‐4134                                                                                                       First Class Mail
Chartered Organization         Lord Of Grace Lutheran Church                             Catalina Council 011                                    7250 N Cortaro Rd                                         Tucson, AZ 85743‐8620                                                                                                          First Class Mail
Chartered Organization         Lord Of Life Church                                       Capitol Area Council 564                                9700 Neenah Ave                                           Austin, TX 78717‐5301                                                                                                          First Class Mail
Chartered Organization         Lord Of Life Lutheran                                     Sam Houston Area Council 576                            3801 S Panther Creek Dr                                   The Woodlands, TX 77381‐2730                                                                                                   First Class Mail
Chartered Organization         Lord Of Life Lutheran Church                              Northern Lights Council 429                             1143 N 26Th St                                            Bismarck, ND 58501‐3026                                                                                                        First Class Mail
Chartered Organization         Lord Of Life Lutheran Church                              Coastal Carolina Council 550                            351 Buckwalter Pkwy                                       Bluffton, SC 29910‐5138                                                                                                        First Class Mail
Chartered Organization         Lord Of Life Lutheran Church                              Lake Erie Council 440                                   17989 Chillicothe Rd                                      Chagrin Falls, OH 44023‐4828                                                                                                   First Class Mail
Chartered Organization         Lord Of Life Lutheran Church                              Mid‐America Council 326                                 20844 Bonanza Blvd                                        Elkhorn, NE 68022‐1800                                                                                                         First Class Mail
Chartered Organization         Lord Of Life Lutheran Church                              Blue Mountain Council 604                               640 N Columbia Center Blvd                                Kennewick, WA 99336‐7712                                                                                                       First Class Mail
Chartered Organization         Lord Of Life Lutheran Church                              Northern Star Council 250                               7401 County Rd 101 N                                      Maple Grove, MN 55311‐4330                                                                                                     First Class Mail
Chartered Organization         Lord Of Life Lutheran Church                              Alamo Area Council 583                                  5955 Fm 78                                                San Antonio, TX 78244‐1001                                                                                                     First Class Mail
Chartered Organization         Lord Of Life Lutheran Church                              Atlanta Area Council 092                                3250 Mt Zion Rd                                           Stockbridge, GA 30281‐4124                                                                                                     First Class Mail
Chartered Organization         Lord Of Life Lutheran Church                              Sam Houston Area Council 576                            3801 S Panther Creek Dr                                   The Woodlands, TX 77381‐2730                                                                                                   First Class Mail
Chartered Organization         Lord Of Life Lutheran Church                              Dan Beard Council, Bsa 438                              6329 Tylersville Rd                                       West Chester, OH 45069‐1214                                                                                                    First Class Mail
Voting Party                   Lord of Life Lutheran Church                              Attn: Alison Larsson                                    12819 SE 160th St                                         Renton, WA 98059                                                                           loloffice@lollc.org                 Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lord of Life Lutheran Church of Maple Grove               7401 County Rd 101                                      Maple Grove, MN 55311                                                                                                                                vcronin@hennsnoxlaw.com             Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lord of Life Lutheran Church of Maple Grove               7401 County Rd 101                                      Maple Grove, MN 55311                                                                                                                                DonD@lordoflife.org                 Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lord Of Love                                              Heart Of America Council 307                            8306 E 171St St                                           Belton, MO 64012‐5337                                                                                                          First Class Mail
Chartered Organization         Lord Of Love Lutheran Church                              Mid‐America Council 326                                 10405 Fort St                                             Omaha, NE 68134‐1235                                                                                                           First Class Mail
Chartered Organization         Lord Of The Hills Lutheran Church                         Denver Area Council 061                                 21755 E Smoky Hill Rd                                     Aurora, CO 80015‐6752                                                                                                          First Class Mail
Chartered Organization         Lord Of The Lakes Church                                  Bay‐Lakes Council 635                                   6090 Harbour South Dr                                     Winneconne, WI 54986‐8644                                                                                                      First Class Mail
Chartered Organization         Lords House Of Praise Church                              Georgia‐Carolina 093                                    162 Day Break Rd                                          Waynesboro, GA 30830‐5366                                                                                                      First Class Mail
Chartered Organization         Lordship Community Church                                 Connecticut Yankee Council Bsa 072                      179 Prospect Dr                                           Stratford, CT 06615‐7540                                                                                                       First Class Mail
Chartered Organization         Lordstown Lions/Lutheran Church                           Great Trail 433                                         5615 Palmyra Rd Sw                                        Warren, OH 44481‐9712                                                                                                          First Class Mail
Chartered Organization         Loren Doug Hagen Ameican Legion                           Post 308                                                P.O. Box 614                                              West Fargo, ND 58078‐0614                                                                                                      First Class Mail
Chartered Organization         Lorena Utd Methodist Church                               Longhorn Council 662                                    205 S Bordon St                                           Lorena, TX 76655‐9606                                                                                                          First Class Mail
Voting Party                   Loretto United Methodist Church                           Attn: Ronald S McMasters                                213 W Commerce St                                         Loretto, TN 38469                                                                          steve@mcmhg.com                     Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Loretto United Methodist Church                           Attn: Mark Harvill                                      P.O. Box 177                                              Loretto, TN 38469                                                                          mark.harvill.cfe@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lori Ruth Brown                                           Address Redacted                                                                                                                                                                                             Email Address Redacted              Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Los Alamitos American Legion Post 716                     Orange County Council 039                               3252 Florista St                                          Los Alamitos, CA 90720‐2306                                                                                                    First Class Mail
Chartered Organization         Los Alamos Lions Club                                     Great Swest Council 412                                 P.O. Box 6                                                Los Alamos, NM 87544‐0006                                                                                                      First Class Mail
Voting Party                   Los Altos Brethren Church                                 Attn: Philip Helfer                                     6565 Stearns St.                                          Long Beach, CA 90815                                                                       philhelfer@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Los Altos Christian Church                                Great Swest Council 412                                 11900 Haines Ave Ne                                       Albuquerque, NM 87112‐4513                                                                                                     First Class Mail
Chartered Organization         Los Altos Lutheran Church                                 Pacific Skyline Council 031                             460 S El Monte Ave                                        Los Altos, CA 94022‐4054                                                                                                       First Class Mail
Voting Party                   Los Altos United Methodist Church, Long Beach CA          Attn: Merlin Thimlar                                    5950 E Willow                                             Long Beach, CA 90815                                                                       office@losaltosumc.org              Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Los Altos Utd Church Of Christ                            Long Beach Area Council 032                             5550 E Atherton St                                        Long Beach, CA 90815‐4008                                                                                                      First Class Mail
Chartered Organization         Los Altos Utd Methodist                                   Long Beach Area Council 032                             5950 E Willow St                                          Long Beach, CA 90815‐1354                                                                                                      First Class Mail
Chartered Organization         Los Angeles City Fire Dept‐ Station 106                   Greater Los Angeles Area 033                            23004 Roscoe Blvd                                         West Hills, CA 91304‐3230                                                                                                      First Class Mail
Chartered Organization         Los Angeles City Fire Dept‐ Station 11                    Greater Los Angeles Area 033                            1819 W 7Th St                                             Los Angeles, CA 90057‐4101                                                                                                     First Class Mail
Chartered Organization         Los Angeles City Fire Dept‐ Station 13                    Greater Los Angeles Area 033                            2401 W Pico Blvd                                          Los Angeles, CA 90006‐4005                                                                                                     First Class Mail
Chartered Organization         Los Angeles City Fire Dept‐ Station 2                     Greater Los Angeles Area 033                            1962 E Cesar E Chavez Ave                                 Los Angeles, CA 90033‐1751                                                                                                     First Class Mail
Chartered Organization         Los Angeles City Fire Dept Station 33                     Greater Los Angeles Area 033                            6406 S Main St                                            Los Angeles, CA 90003‐1526                                                                                                     First Class Mail
Chartered Organization         Los Angeles City Fire Dept‐ Station 38                    Greater Los Angeles Area 033                            124 E 1St St                                              Los Angeles, CA 90012                                                                                                          First Class Mail
Chartered Organization         Los Angeles City Fire Dept‐ Station 63                    Greater Los Angeles Area 033                            1930 Shell Ave                                            Venice, CA 90291‐3879                                                                                                          First Class Mail
Chartered Organization         Los Angeles City Fire Dept‐ Station 64                    Greater Los Angeles Area 033                            10811 S Main St                                           Los Angeles, CA 90061‐2025                                                                                                     First Class Mail
Chartered Organization         Los Angeles City Fire Dept‐ Station 81                    Greater Los Angeles Area 033                            14355 Arminta St                                          Panorama City, CA 91402‐6075                                                                                                   First Class Mail
Chartered Organization         Los Angeles City Fire Dept‐ Station 85                    Greater Los Angeles Area 033                            1331 253Rd St                                             Harbor City, CA 90710‐2805                                                                                                     First Class Mail
Chartered Organization         Los Angeles City Fire Dept‐ Station 87                    Greater Los Angeles Area 033                            10124 Balboa Blvd                                         Granada Hills, CA 91344‐7401                                                                                                   First Class Mail
Chartered Organization         Los Angeles City Fire Dept‐ Station 89                    Greater Los Angeles Area 033                            7063 Laurel Canyon Blvd                                   North Hollywood, CA 91605‐5738                                                                                                 First Class Mail
Chartered Organization         Los Angeles City Fire Dept‐ Station 94                    Greater Los Angeles Area 033                            4470 Coliseum St                                          Los Angeles, CA 90016‐5734                                                                                                     First Class Mail
Chartered Organization         Los Angeles Cnty Sheriff Dept                             Attn: Pico Rivera                                       6631 Passons Blvd                                         Pico Rivera, CA 90660‐3645                                                                                                     First Class Mail
Chartered Organization         Los Angeles Cnty Sheriff Dept                             Temple City                                             8838 Las Tunas Dr                                         Temple City, CA 91780‐1820                                                                                                     First Class Mail
Chartered Organization         Los Angeles Cnty Sheriff Sta Carson                       Greater Los Angeles Area 033                            21356 Avalon Blvd                                         Carson, CA 90745‐2213                                                                                                          First Class Mail
Chartered Organization         Los Angeles Co Fire Dept Palmdale St 37                   Greater Los Angeles Area 033                            38318 9Th St E                                            Palmdale, CA 93550‐4739                                                                                                        First Class Mail
Chartered Organization         Los Angeles Co Sheriff Dep                                Altadena Post 7                                         780 E Altadena Dr                                         Altadena, CA 91001‐2351                                                                                                        First Class Mail
Chartered Organization         Los Angeles Co Sheriff Dep La Crescenta                   Greater Los Angeles Area 033                            4554 Briggs Ave                                           La Crescenta, CA 91214‐3101                                                                                                    First Class Mail
Chartered Organization         Los Angeles Co Sheriff Dep‐City Industry                  Greater Los Angeles Area 033                            150 N Hudson Ave                                          City Of Industry, CA 91744‐4430                                                                                                First Class Mail
Chartered Organization         Los Angeles Co Sheriff Dept‐East L A                      Greater Los Angeles Area 033                            5019 E 3Rd St                                             Los Angeles, CA 90022‐1632                                                                                                     First Class Mail
Chartered Organization         Los Angeles County Fire Dep                               Battalion 3                                             6031 Rickenbacker Rd                                      Commerce, CA 90040‐3031                                                                                                        First Class Mail
Chartered Organization         Los Angeles County Fire Dept                              Battalion 18                                            4475 W El Segundo Blvd                                    Hawthorne, CA 90250‐4411                                                                                                       First Class Mail
Chartered Organization         Los Angeles County Fire Dept                              Battalion 13                                            4867 Sern Ave                                             South Gate, CA 90280                                                                                                           First Class Mail
Chartered Organization         Los Angeles County Fire Dept‐ San Dimas                   Greater Los Angeles Area 033                            164 S Walnut Ave                                          San Dimas, CA 91773‐3041                                                                                                       First Class Mail
Chartered Organization         Los Angeles County Fire Dept Station 28                   Greater Los Angeles Area 033                            7733 Greenleaf Ave                                        Whittier, CA 90602‐2106                                                                                                        First Class Mail
Chartered Organization         Los Angeles County Fire Dept Station 32                   Greater Los Angeles Area 033                            605 N Angeleno Ave                                        Azusa, CA 91702‐2904                                                                                                           First Class Mail
Chartered Organization         Los Angeles County Fire Dept Station 33                   Greater Los Angeles Area 033                            44947 Date Ave                                            Lancaster, CA 93534‐2401                                                                                                       First Class Mail
Chartered Organization         Los Angeles County Fire Dept Station 82                   Greater Los Angeles Area 033                            352 Foothill Blvd                                         La Canada Flintridge, CA 91011‐3501                                                                                            First Class Mail
Chartered Organization         Los Angeles County Fire Dept‐Pomona 186                   Greater Los Angeles Area 033                            280 E Bonita Ave                                          Pomona, CA 91767‐1924                                                                                                          First Class Mail
Chartered Organization         Los Angeles County Sheriff                                Mission College                                         13356 Eldridge Ave                                        Sylmar, CA 91342‐3200                                                                                                          First Class Mail
Chartered Organization         Los Angeles County Sheriff Dep                            San Dimas                                               270 S Walnut Ave                                          San Dimas, CA 91773‐3097                                                                                                       First Class Mail
Chartered Organization         Los Angeles County Sheriff Dep ‐ Century                  Greater Los Angeles Area 033                            11703 Alameda St                                          Lynwood, CA 90262‐4023                                                                                                         First Class Mail
Chartered Organization         Los Angeles County Sheriff Dep ‐ Walnut                   Greater Los Angeles Area 033                            21695 Valley Blvd                                         Walnut, CA 91789‐2019                                                                                                          First Class Mail
Chartered Organization         Los Angeles County Sheriff Dep Lomita                     Greater Los Angeles Area 033                            26123 Narbonne Ave                                        Lomita, CA 90717‐2913                                                                                                          First Class Mail
Chartered Organization         Los Angeles County Sheriff Dept                           Cerritos                                                18135 Bloomfield Ave                                      Cerritos, CA 90703‐8526                                                                                                        First Class Mail
Chartered Organization         Los Angeles County Sheriff Dept                           South Los Angeles                                       11911 S Vermont Ave                                       Los Angeles, CA 90044‐4053                                                                                                     First Class Mail
Chartered Organization         Los Angeles County Sheriff Dept Compton                   Greater Los Angeles Area 033                            301 S Willowbrook Ave                                     Compton, CA 90220‐3135                                                                                                         First Class Mail
Chartered Organization         Los Angeles County Sheriff Dept Norwalk                   Greater Los Angeles Area 033                            12335 Civic Center Dr, Ste D                              Norwalk, CA 90650‐3172                                                                                                         First Class Mail
Chartered Organization         Los Angeles County Sheriff Stars Academy                  Greater Los Angeles Area 033                            11515 Colima Rd, Ste F‐112                                Whittier, CA 90604‐2832                                                                                                        First Class Mail
Chartered Organization         Los Angeles County Sheriffs                               Marina Del Rey                                          13851 Fiji Way                                            Marina Del Rey, CA 90292‐6910                                                                                                  First Class Mail
Chartered Organization         Los Angeles County Sheriffs Dept                          Greater Los Angeles Area 033                            501 W Lancaster Blvd                                      Lancaster, CA 93534‐2515                                                                                                       First Class Mail
Chartered Organization         Los Angeles County Sheriffs Dept                          Greater Los Angeles Area 033                            750 E Ave Q                                               Palmdale, CA 93550‐3882                                                                                                        First Class Mail
Chartered Organization         Los Angeles County Sheriffs Dept Malibu                   Lost Hills Station                                      27050 Agoura Rd                                           Agoura, CA 91301‐5336                                                                                                          First Class Mail
Chartered Organization         Los Angeles Downtown Lions Club                           Greater Los Angeles Area 033                            3606 W Pico Blvd                                          Los Angeles, CA 90019‐3425                                                                                                     First Class Mail
Chartered Organization         Los Angeles Host Lions Club                               Greater Los Angeles Area 033                            1613 Chelsea Rd Unit 184                                  San Marino, CA 91108‐2419                                                                                                      First Class Mail
Chartered Organization         Los Angeles Maritime Institute                            Greater Los Angeles Area 033                            Berth 73, Ste 2                                           Topsail Youth Program                 San Pedro, CA 90731                                                                      First Class Mail
Chartered Organization         Los Angeles School Police Dept                            Greater Los Angeles Area 033                            125 N Beaudry Ave                                         Los Angeles, CA 90012‐2009                                                                                                     First Class Mail
Chartered Organization         Los Banos Elks Lodge 2510                                 Greater Yosemite Council 059                            P.O. Box 807                                              Los Banos, CA 93635‐0807                                                                                                       First Class Mail
Chartered Organization         Los Banos Rotary Club                                     Greater Yosemite Council 059                            P.O. Box 19                                               Los Banos, CA 93635‐0019                                                                                                       First Class Mail
Chartered Organization         Los Cerritos Lodge F&Am 674                               Orange County Council 039                               3132 Druid Ln                                             Los Alamitos, CA 90720‐5213                                                                                                    First Class Mail
Chartered Organization         Los Cerritos Wetlands Stewards                            Long Beach Area Council 032                             6289 E Pacific Coast Hwy                                  Long Beach, CA 90803‐4803                                                                                                      First Class Mail
Voting Party                   Los Colinas Comfort Suites                                Attn: Cheri Flynn                                       1223 Greenway Cir                                         Irving, TX 75038                                                                           cflynn@lascolinascomfort.com        Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Los Fresnos Church Of Christ                              Rio Grande Council 775                                  111 W 5Th St                                              Los Fresnos, TX 78566‐3701                                                                                                     First Class Mail
Chartered Organization         Los Gatos Lions Club                                      Silicon Valley Monterey Bay 055                         P.O. Box 522                                              Los Gatos, CA 95031‐0522                                                                                                       First Class Mail
Voting Party                   Los Gatos United Methodsist Church                        Attn: Glenn Stansbury                                   111 Church St                                             Los Gatos, CA 95030                                                                        glen.stansbury@lgumc.org            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Los Gatos/Monte Sereno Police                             Silicon Valley Monterey Bay 055                         110 E Main St                                             Los Gatos, CA 95030‐6943                                                                                                       First Class Mail
Chartered Organization         Los Rancheros Kiwanis                                     San Diego Imperial Council 049                          P.O. Box 28035                                            San Diego, CA 92198‐0035                                                                                                       First Class Mail
Chartered Organization         Los Robles Health System                                  Ventura County Council 057                              215 W Janss Rd                                            Thousand Oaks, CA 91360‐1847                                                                                                   First Class Mail
Voting Party                   Lost Creek United Methodist Church                        Attn: Linda Griffin                                     P.O. Box 1176                                             Stillwater, OK 74076                                                                       lcreek@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lost Creek Utd Methodist Church                           Cimarron Council 474                                    8002 S Washington St                                      Stillwater, OK 74074‐8112                                                                                                      First Class Mail
Firm                           LoTempio P. C. Law Group                                  Brian D. Knauth                                         181 Franklin Street                                       Buffalo, NY 14202                                                                          bknauth@lotempiopc.com              Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lothrop Clc                                               Mid‐America Council 326                                 3300 N 22Nd St                                            Omaha, NE 68110‐1988                                                                                                           First Class Mail
Chartered Organization         Loudon Ave Christian Church                               Blue Ridge Mtns Council 599                             730 Loudon Ave Nw                                         Roanoke, VA 24016‐2317                                                                                                         First Class Mail
Voting Party                   Loudon United Methodist Church                            Attn: Julie Dills                                       509 Mulberry St                                           Loudon, TN 37774                                                                           loudonmethodist@bellsouth.net       Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Loudon Utd Methodist Church                               Great Smoky Mountain Council 557                        P.O. Box 342                                              Loudon, TN 37774‐0342                                                                                                          First Class Mail
Voting Party                   Loudonville United Methodist Church                       Attn: Kenneth Curren                                    124 N Market St                                           Loudonville, OH 44842                                                                      office@loudonvilleumc.com           Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Loudoun County Vfw Post 1177                              National Capital Area Council 082                       401 Old Waterford Rd Nw                                   Leesburg, VA 20176‐2120                                                                                                        First Class Mail
Chartered Organization         Loudounsteam Inc                                          National Capital Area Council 082                       21550 Wild Timber Ct                                      Broadlands, VA 20148‐3635                                                                                                      First Class Mail
Chartered Organization         Louetta Automotive                                        Sam Houston Area Council 576                            13615 Kluge Rd Ste 100                                    Cypress, TX 77429‐2338                                                                                                         First Class Mail
Chartered Organization         Louis Agassiz School                                      Lake Erie Council 440                                   3595 Bosworth Rd                                          Cleveland, OH 44111‐6036                                                                                                       First Class Mail
Chartered Organization         Louisa County Rotary Club                                 Attn: Kathy Swarthout                                   Stonewall Jackson Council 763                             Louisa, VA 23093                                                                                                               First Class Mail
Voting Party                   Louisa County Ruritan Club                                Attn: Donald B Hackler                                  40 Deer Tail Ln                                           Louisa, VA 23093                                                                           donald4h@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Louisa County Vfw Post 8947                               Stonewall Jackson Council 763                           P.O. Box 537                                              Mineral, VA 23117‐0537                                                                                                         First Class Mail
Voting Party                   Louisa First United Methodist Church                      Attn: Treasurer, Louisa First United Methodist Church   P.O. Box 763                                              Louisa, KY 41230                                                                           rtls8269@bellsouth.net              Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Louisa Ruritan Club                                       Stonewall Jackson Council 763                           3241 Elk Creek Rd                                         Mineral, VA 23117‐4427                                                                                                         First Class Mail
Voting Party                   Louisa UMC                                                c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200              Tampa, FL 33602                                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Louisa Utd Methodist Church                               Buckskin 617                                            816 Pine Hill Rd                                          Louisa, KY 41230                                                                                                               First Class Mail
Chartered Organization         Louisa Utd Methodist Church                               Buckskin 617                                            816 Pine Hill Rd                                          Louisa, KY 41230                                                                                                               First Class Mail
Chartered Organization         Louisburg Utd Methodist Church                            Heart Of America Council 307                            249 N Metcalf Rd                                          Louisburg, KS 66053‐4118                                                                                                       First Class Mail
Chartered Organization         Louisburg Utd Methodist Church                            Occoneechee 421                                         P.O. Box 667                                              Louisburg, NC 27549‐0667                                                                                                       First Class Mail
Chartered Organization         Louisburg Utd Methodist Men                               Occoneechee 421                                         101 E Noble St                                            Louisburg, NC 27549‐2337                                                                                                       First Class Mail
Chartered Organization         Louise Duffy School P T O                                 Connecticut Rivers Council, Bsa 066                     95 Westminster Dr                                         West Hartford, CT 06107‐3353                                                                                                   First Class Mail
Chartered Organization         Louisville Businessmen's Club                             Pushmataha Area Council 691                             P.O. Box 389                                              Louisville, MS 39339‐0389                                                                                                      First Class Mail
Chartered Organization         Louisville Lions's Club                                   Pushmataha Area Council 691                             P.O. Box 425                                              Louisville, MS 39339‐0425                                                                                                      First Class Mail
Voting Party                   Louisville United Methodist Church                        Attn: Diane Frye                                        P.O. Box 128                                              Louisville, IL 62858                                                                       dianelfrye@netscape.net             Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Louisville Utd Methodist Church                           Greater St Louis Area Council 312                       P.O. Box 287                                              Louisville, IL 62858‐0287                                                                                                      First Class Mail
Chartered Organization         Loundounsteam, Inc                                        National Capital Area Council 082                       21550 Wild Timber Ct                                      Broadlands, VA 20148‐3635                                                                                                      First Class Mail
Chartered Organization         Lourdes Academy Elementary PTA                            Bay‐Lakes Council 635                                   1207 Oregon St                                            Oshkosh, WI 54902‐6460                                                                                                         First Class Mail
Chartered Organization         Lourdes Achademy                                          Central Florida Council 083                             1014 N Halifax Ave                                        Daytona Beach, FL 32118‐3614                                                                                                   First Class Mail
Chartered Organization         Lourdes Columbian Society                                 Verdugo Hills Council 058                               7344 Apperson St                                          Tujunga, CA 91042‐1806                                                                                                         First Class Mail
Voting Party                   Lousiville Jefferson County Metro Government              c/o Goldberg Simpson LLC                                Attn: Mark J Sandlin                                      9301 Dayflower St                     Prospect, KY 40059                                   msandlin@goldbergsimpson.com        Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lousiville Jefferson County Metro Government              c/o Jefferson County Attorney's Office                  Attn: Mark Anne Watkins                                   Fiscal Court Bldg                     531 Court Place, Ste 900      Louisville, KY 40202   MaryAnne.Watkins@louisvilleky.gov   Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lovan Industries                                          dba Cantrell Supply Inc                                 4910 Sharp St                                             Dallas, TX 75247‐6620                                                                                                          First Class Mail
Voting Party                   Love Chapel United Methodist Church                       Attn: Jerrie Thornton, Treasurer                        2001 Forest Hills Blvd                                    Haughton, LA 71037                                                                         jerrie8839@aol.com                  Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Love of Christ Lutheran Church                            1525 N Power Rd                                         Mesa, AZ 85012                                                                                                                                       dickbeckman@loclc.org               Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lovejoy Baptist Church                                    Northwest Georgia Council 100                           436 Branham Ave Sw                                        Rome, GA 30161‐4502                                                                                                            First Class Mail
Chartered Organization         Lovejoy School                                            Greater St Louis Area Council 312                       800 Madison St                                            Brooklyn, IL 62059‐5306                                                                                                        First Class Mail
Chartered Organization         Lovejoy Utd Presbyterian Church                           Greater St Louis Area Council 312                       2550 Rock Hill Rd                                         Wood River, IL 62095‐3393                                                                                                      First Class Mail
Voting Party                   Lovelady First United Methodist Church                    Attn: Rev Jack McMahon                                  P.O. Box 87                                               Lovelady, TX 75851                                                                         reviam31@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Loveland Presbyterian Church                              Dan Beard Council, Bsa 438                              6796 Loveland Miamiville Rd                               Loveland, OH 45140‐8795                                                                                                        First Class Mail
Voting Party                   Lovely Lane UMC                                           Attn: Carol Fendler                                     2200 St Paul St                                           Baltimore, MD 21218                                                                        LovelyLane.BCS@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lovely Lane United Methodist Church, Cedar Rapids, IA     Attn: Treasurer                                         2424 42nd St. NE                                          Cedar Rapids, IA 52402                                                                     marcies@lovelylane.org              Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lovely Lane Utd Methodist Church                          Hawkeye Area Council 172                                2424 42Nd St Ne                                           Cedar Rapids, IA 52402‐2725                                                                                                    First Class Mail
Voting Party                   Lovers Lane United Methodist Church                       Attn: Christopher Allen Denney                          9200 Inwood Rd                                            Dallas, TX 75220                                                                           finance@llumc.org                   Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Loves Park Police Assoc                                   St Bridget Catholic Church                              540 Loves Park Dr                                         Loves Park, IL 61111‐5159                                                                                                      First Class Mail
Chartered Organization         Lovettsville Lions Club                                   National Capital Area Council 082                       P.O. Box 331                                              Lovettsville, VA 20180‐0331                                                                                                    First Class Mail
Chartered Organization         Lovettsville Ruritan Club                                 National Capital Area Council 082                       P.O. Box 244                                              Lovettsville, VA 20180‐0244                                                                                                    First Class Mail
Voting Party                   Lovettsville‐Waterford Ruritans                           Attn: Walter Rachele                                    P.O. Box 137                                              Lovettsville, VA 20180                                                                                                         First Class Mail
Voting Party                   Loving Chapel United Methodist Church                     Attn: Corey R Lindsey                                   201 W 1st St                                              Leon, IA 50144                                                                                                                 First Class Mail
Chartered Organization         Loving Savior Lutheran School                             California Inland Empire Council 045                    14816 Peyton Dr                                           Chino Hills, CA 91709‐2073                                                                                                     First Class Mail
Voting Party                   Lovington IL United Methodist Church                      Attn: Alma M Fair, Treasurer                            241 S Broadway                                            P.O. Box 708                          Lovington, IL 61937                                  lovingtonilumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Low Country Cert                                          Coastal Carolina Council 550                            180 Lockwood Blvd                                         Charleston, SC 29403‐5152                                                                                                      First Class Mail
Voting Party                   Low Moor Presbyterian Church, Low Moor, Virginia          Low Moor Presbyterian Church                            P.O. Box 125                                              204 Old Church St                     Low Moor, VA 24457                                   mlambgarden@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lowcountry Catering                                       dba Lowcountry Barbecue Inc                             2000 S Pioneer Dr Se                                      Smyrna, GA 30082‐5226                                                                      bennett@lowcountycatering.net       Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lowcountry Leadership Charter Sch Ptso                    Coastal Carolina Council 550                            5139 Gibson Rd                                            Hollywood, SC 29449‐6181                                                                                                       First Class Mail
Chartered Organization         Lowcountry Teen Cert Exploring Club                       Coastal Carolina Council 550                            2060 Sam Rittenberg Blvd                                  Charleston, SC 29407‐4616                                                                                                      First Class Mail
Chartered Organization         Lowell Community Charter School PTO                       The Spirit Of Adventure 227                             206 Jackson St                                            Lowell, MA 01852‐2106                                                                                                          First Class Mail
Chartered Organization         Lowell Lodge 436                                          Muskingum Valley Council, Bsa 467                       P.O. Box 143                                              New Matamoras, OH 45767‐0143                                                                                                   First Class Mail
Chartered Organization         Lowell Moose Lodge 2437                                   Pathway To Adventure 456                                155 Mill St                                               Lowell, IN 46356‐1713                                                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 252 of 442
                                                                                Case 20-10343-LSS                                    Doc 8171                                                 Filed 01/06/22                                                   Page 268 of 457
                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                  Service List
                                                                                                                                                                           Served as set forth below

        Description                                                      Name                                                                                                  Address                                                                                                            Email              Method of Service
Chartered Organization         Lower Bermudian Lutheran Church                         New Birth Of Freedom 544                P.O. Box 205                                                          East Berlin, PA 17316‐0205                                                                           First Class Mail
Chartered Organization         Lower Makefield Citizens For Scouting                   Washington Crossing Council 777         1255 Fountain Rd                                                      Newtown, PA 18940‐3722                                                                               First Class Mail
Voting Party                   Lower Makefield Citizens for Scouting                   Attn: John Celentano                    136 N Mainstreet                                                      Yardley, PA 19067                                                   john.celentano.home@gmail.com    Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lower Makefield Twp Police Dept                         Washington Crossing Council 777         1100 Edgewood Rd                                                      Yardley, PA 19067‐1689                                                                               First Class Mail
Chartered Organization         Lower Merion Historical Society                         Cradle Of Liberty Council 525           506 Bryn Mawr Ave                                                     Bala Cynwyd, PA 19004‐2740                                                                           First Class Mail
Chartered Organization         Lower Naugatuck Boys & Girls Club                       Smilow Club House                       28 Howard Ave                                                         Ansonia, CT 06401‐2208                                                                               First Class Mail
Chartered Organization         Lower Providence Presbyterian Church                    Cradle Of Liberty Council 525           3050 W Main St                                                        Norristown, PA 19403‐1581                                                                            First Class Mail
Voting Party                   Lower Providence Presbyterian Church                    3050 Ridge Pike                         Eaglevile, PA 19403                                                                                                                       office@lppcmin.org               Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lower UMC                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200             Tampa, FL 33602                erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lower Utd Methodist Church                              Heart Of Virginia Council 602           P.O. Box 98                                                           Hartfield, VA 23071‐0098                                                                             First Class Mail
Chartered Organization         Lower Valley Presbyterian Church                        Washington Crossing Council 777         443 County Rd 513                                                     Califon, NJ 07830‐4169                                                                               First Class Mail
Voting Party                   Lower Valley Presbyterian Church                        Attn: Chad Niels Rodgers                443 County Rd 513                                                     Califon, NJ 07830                                                   revchadrodgers@gmail.com         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lower Valley Presbyterian Church                        Attn: Ellen O'Connell, Esq              600 Parsippany Rd, Ste 204                                            Parsippany, NJ 07054                                                revchadrodgers@gmail.com         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lower Valley Presbyterian Church                        Attn: Ellen O'Connell, Esq              600 Parsippany Rd, Ste 204                                            Parsippany, NJ 07054                                                eoconnell@iwwt.law               Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lowery Elementary PTO                                   Sam Houston Area Council 576            15950 Ridge Park Dr                                                   Houston, TX 77095‐2612                                                                               First Class Mail
Voting Party                   Lowes                                                   P.O. Box 530954                         Atlanta, GA 30353‐0954                                                                                                                                                     First Class Mail
Voting Party                   Lowe's Business Acct                                    P.O. Box 530970                         Atlanta, GA 30353‐0970                                                                                                                                                     First Class Mail
Voting Party                   Lowe's Companies, Inc                                   P.O. Box 530954                         Atlanta, GA 30353‐0954                                                                                                                                                     First Class Mail
Chartered Organization         Lowes On 280                                            Greater Alabama Council 001             5291 Hwy 280                                                          Birmingham, AL 35242‐5315                                                                            First Class Mail
Voting Party                   Lowes UMC 3191 NC Hwy 87 Redisville, NC 27320           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200             Tampa, FL 33602                erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Firm                           Lowey Dannenberg, PC                                    Barbara J. Hart                         485 Lexington St., 29th Floor                                         New York, NY 10017                                                  bhart@gelaw.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Firm                           Lowey Dannenberg, PC                                    Barbara J Hart, Esq                     44 South Broadway, Ste 1100                                           White Plains, NY 10601                                              bhart@lowey.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lowry City Utd Methodist Church                         Heart Of America Council 307            106 E 1St St                                                          Lowry City, MO 64763                                                                                 First Class Mail
Chartered Organization         Lowry Dental                                            Ore‐Ida Council 106 ‐ Bsa 106           9460 W Franklin Rd                                                    Boise, ID 83709‐0500                                                                                 First Class Mail
Chartered Organization         Lowville AL Memorial Post 162                           Longhouse Council 373                   5383 Dayan St                                                         Lowville, NY 13367‐1125                                                                              First Class Mail
Chartered Organization         Lowville Elks Lodge 1605                                Longhouse Council 373                   Shady Ave                                                             Lowville, NY 13367                                                                                   First Class Mail
Voting Party                   Lowville United Methodist Church                        Attn: Donna Loucks                      7618 N State St                                                       Lowville, NY 13367                                                  lowvilleumchurch@gmail.com       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Loxley United Methodist Church                          P.O. Box 56                             Loxley, AL 36551                                                                                                                                                           First Class Mail
Chartered Organization         Loyal Order Moose 2350                                  Three Fires Council 127                 328 W Roosevelt Rd                                                    Lombard, IL 60148‐4220                                                                               First Class Mail
Chartered Organization         Loyal Order Moose 312                                   Black Swamp Area Council 449            115 N Airport Rd                                                      Montpelier, OH 43543‐9692                                                                            First Class Mail
Chartered Organization         Loyal Order Moose 765                                   Knights Of Columbus                     Hoosier Trails Council 145 145                                        1340 Michigan Rd                     Madison, IN 47250                                               First Class Mail
Chartered Organization         Loyal Order Moose Lodge                                 1958 Carpentersville                    309 Lake Marian Rd                                                    Carpentersville, IL 60110‐2005                                                                       First Class Mail
Chartered Organization         Loyal Order Of Moose                                    Five Rivers Council, Inc 375            41 Sullivan St                                                        Canton, PA 17724‐1711                                                                                First Class Mail
Chartered Organization         Loyal Order Of Moose                                    Minsi Trails Council 502                705 Stokes Mill Rd                                                    East Stroudsburg, PA 18301‐9059                                                                      First Class Mail
Chartered Organization         Loyal Order Of Moose                                    Del Mar Va 081                          P.O. Box 339                                                          Harrington, DE 19952‐0339                                                                            First Class Mail
Chartered Organization         Loyal Order Of Moose                                    Glaciers Edge Council 620               2701 Rockport Rd                                                      Janesville, WI 53548‐4403                                                                            First Class Mail
Chartered Organization         Loyal Order Of Moose                                    Rainbow Council 702                     118 E 10Th St                                                         Lockport, IL 60441‐3410                                                                              First Class Mail
Chartered Organization         Loyal Order Of Moose                                    Mt Diablo‐Silverado Council 023         3275 Browns Valley Rd                                                 Napa, CA 94558‐5424                                                                                  First Class Mail
Chartered Organization         Loyal Order Of Moose                                    Chief Seattle Council 609               P.O. Box 1416                                                         North Bend, WA 98045‐1416                                                                            First Class Mail
Chartered Organization         Loyal Order Of Moose                                    Allegheny Highlands Council 382         19 Clinton St                                                         Westfield, NY 14787‐1035                                                                             First Class Mail
Chartered Organization         Loyal Order Of Moose ‐ Lodge 913                        Patriots Path Council 358               43 Luttgen Pl, Ste 101                                                Linden, NJ 07036‐2850                                                                                First Class Mail
Chartered Organization         Loyal Order Of Moose 1081                               Hoosier Trails Council 145 145          840 S Cory Ln                                                         Bloomington, IN 47403‐2039                                                                           First Class Mail
Chartered Organization         Loyal Order Of Moose 1122                               Green Mountain 592                      78 Center St                                                          Rutland, VT 05701‐4018                                                                               First Class Mail
Chartered Organization         Loyal Order Of Moose 1329                               Blackhawk Area 660                      406 Clay St                                                           Woodstock, IL 60098‐3318                                                                             First Class Mail
Chartered Organization         Loyal Order Of Moose 1549                               Jersey Shore Council 341                706 River Ave                                                         Point Pleasant Boro, NJ 08742‐3648                                                                   First Class Mail
Chartered Organization         Loyal Order Of Moose 1823                               Muskingum Valley Council, Bsa 467       169‐171 Front St                                                      Marietta, OH 45750                                                                                   First Class Mail
Chartered Organization         Loyal Order Of Moose 1835                               Central Florida Council 083             2334 S Ridgewood Ave                                                  Edgewater, FL 32141                                                                                  First Class Mail
Chartered Organization         Loyal Order Of Moose 1959                               Pee Dee Area Council 552                479 Burcale Rd                                                        Myrtle Beach, SC 29579                                                                               First Class Mail
Chartered Organization         Loyal Order Of Moose 197                                Glaciers Edge Council 620               P.O. Box 209                                                          Janesville, WI 53547                                                                                 First Class Mail
Chartered Organization         Loyal Order Of Moose 2350                               Three Fires Council 127                 328 W Roosevelt Rd                                                    Lombard, IL 60148‐4220                                                                               First Class Mail
Chartered Organization         Loyal Order Of Moose 525                                Northeast Illinois 129                  26020 W Il Rte 173                                                    Antioch, IL 60002‐8370                                                                               First Class Mail
Chartered Organization         Loyal Order Of Moose 532                                Montana Council 315                     401 21St St                                                           Black Eagle, MT 59414‐1225                                                                           First Class Mail
Chartered Organization         Loyal Order Of Moose Fredericksburg                     National Capital Area Council 082       P.O. Box 1880                                                         Fredericksburg, VA 22402‐1880                                                                        First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 1016                         Three Fires Council 127                 1002 E Church St                                                      Sandwich, IL 60548‐2253                                                                              First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 1206                         Great Alaska Council 610                P.O. Box 113                                                          Craig, AK 99921‐0113                                                                                 First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 1420                         Seneca Waterways 397                    3808 State Rte 31                                                     Palmyra, NY 14522‐9744                                                                               First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 1421                         Suffolk County Council Inc 404          P.O. Box 535                                                          Lindenhurst, NY 11757‐0535                                                                           First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 1548                         Longmont                                Longs Peak Council 062                                                2200 Pratt St                        Longmont, CO 80501                                              First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 1575                         Jersey Shore Council 341                120 Rte 72 E                                                          Manahawkin, NJ 08050‐3530                                                                            First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 1655                         National Capital Area Council 082       P.O. Box 1880                                                         Spotsylvania, VA 22553‐6801                                                                          First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 1742                         Suffolk County Council Inc 404          P.O. Box 505                                                          Riverhead, NY 11901‐0503                                                                             First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 1901                         Golden Empire Council 047               605 5Th St                                                            Orland, CA 95963‐1342                                                                                First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 1969                         Northeast Illinois 129                  P.O. Box 462                                                          Wauconda, IL 60084‐0462                                                                              First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 2081                         Yucca Council 573                       514 S Main St                                                         Las Cruces, NM 88001‐1207                                                                            First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 2166                         Denver Area Council 061                 11449 York St                                                         Northglenn, CO 80233‐2221                                                                            First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 318                          Suffolk County Council Inc 404          631 Pulaski Rd                                                        Greenlawn, NY 11740‐1703                                                                             First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 356                          Lincoln Heritage Council 205            736 Lain Ave                                                          Bowling Green, KY 42101‐4945                                                                         First Class Mail
Chartered Organization         Loyal Order Of Moose Lodge 912                          Greater Tampa Bay Area 089              3008 W Gandy Blvd                                                     Tampa, FL 33611‐2826                                                                                 First Class Mail
Chartered Organization         Loyal Order Of Moose West Dade 1825                     South Florida Council 084               9900 Sw 77Th Ave                                                      Miami, FL 33156‐2621                                                                                 First Class Mail
Chartered Organization         Loyal Order Of Moose West New York                      Northern New Jersey Council, Bsa 333    6014 Hudson Ave                                                       West New York, NJ 07093                                                                              First Class Mail
Chartered Organization         Loyal Order Of Moose Yorkville                          Three Fires Council 127                 P.O. Box 233                                                          Yorkville, IL 60560‐0233                                                                             First Class Mail
Chartered Organization         Loyal Order Of Moose‐Lodge 700                          Great Alaska Council 610                P.O. Box 34426                                                        Juneau, AK 99803‐4426                                                                                First Class Mail
Chartered Organization         Loyal Order Of The Moose 1076                           National Capital Area Council 082       P.O. Box 10377                                                        Alexandria, VA 22310‐0377                                                                            First Class Mail
Chartered Organization         Loyal Order Of The Moose 1185                           Twin Rivers Council 364                 109 S Comrie Ave                                                      Johnstown, NY 12095‐3109                                                                             First Class Mail
Chartered Organization         Loyal Order Of The Moose 1725                           Middle Tennessee Council 560            P.O. Box 747                                                          Mcminnville, TN 37111‐0747                                                                           First Class Mail
Chartered Organization         Loyal Order Of The Moose 1967                           Golden Empire Council 047               6585 Gibson Canyon Rd                                                 Vacaville, CA 95688‐9701                                                                             First Class Mail
Chartered Organization         Loyal Order Of The Moose Lodge 2352                     North Florida Council 087               850682 Us Hwy 17                                                      Yulee, FL 32097‐9615                                                                                 First Class Mail
Chartered Organization         Loyal Order Of The Moose Stayton Lodge                  Cascade Pacific Council 492             P.O. Box 28                                                           Stayton, OR 97383‐0028                                                                               First Class Mail
Chartered Organization         Loyalton Volunteer Fire Dept                            Nevada Area Council 329                 P.O. Box 128                                                          Loyalton, CA 96118‐0128                                                                              First Class Mail
Chartered Organization         Loyd Presbyterian Church                                Chattahoochee Council 091               550 Upper Glass Bridge Rd                                             Lagrange, GA 30240‐8605                                                                              First Class Mail
Chartered Organization         Lsco Mann Elementary                                    Great Lakes Fsc 272                     19625 Elmira St                                                       Detroit, MI 48228‐5903                                                                               First Class Mail
Chartered Organization         Lsd‐Page 4Th Ward ‐ Page Az Stk                         Grand Canyon Council 010                P.O. Box 661                                                          Page, AZ 86040‐0661                                                                                  First Class Mail
Chartered Organization         Lt Charles A Meyer AL Post 86                           Patriots Path Council 358               P.O. Box 31                                                           Newton, NJ 07860‐0031                                                                                First Class Mail
Chartered Organization         Lt Col Matt Urban Svc Ctr Wny                           Greater Niagara Frontier Council 380    129 Lewis St                                                          Buffalo, NY 14206‐2212                                                                               First Class Mail
Chartered Organization         Ltac Global                                             Utah National Parks 591                 350 E Center St                                                       Provo, UT 84606‐3262                                                                                 First Class Mail
Chartered Organization         Ltm Water Treatment, Inc                                Blackhawk Area 660                      8418 N 2Nd St                                                         Machesney Park, IL 61115‐2413                                                                        First Class Mail
Chartered Organization         Ltufd ‐ Kittanning Trail                                Laurel Highlands Council 527            611 Grandview Rd                                                      Altoona, PA 16601‐7203                                                                               First Class Mail
Chartered Organization         Lubbock Lions Club                                      South Plains Council 694                4 Briercroft Office Park Ste 101A                                     Lubbock, TX 79412‐3014                                                                               First Class Mail
Chartered Organization         Lubbock Optimist Club                                   South Plains Council 694                P.O. Box 765                                                          Lubbock, TX 79408‐0765                                                                               First Class Mail
Chartered Organization         Lubbock Police Dept                                     South Plains Council 694                916 Texas Ave                                                         Lubbock, TX 79401‐2726                                                                               First Class Mail
Voting Party                   Lubeck United Methodist Church                          Attn: Rodney Blanchard                  62 Homewood Rd                                                        Washington, WV 26181                                                lubeckrev@gmail.com              Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lubeck United Methodist Church                          Attn: Marcie McMahan                    1805 Meldahl Rd                                                       Washington, WV 26181                                                gem@casinternet.net              Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lubeck Utd Methodist Church                             Buckskin 617                            1771 Harris Hwy                                                       Washington, WV 26181‐8715                                                                            First Class Mail
Chartered Organization         Lucas County Sheriff's Office                           Erie Shores Council 460                 1622 Spielbusch Ave                                                   Toledo, OH 43604‐5330                                                                                First Class Mail
Chartered Organization         Lucas Metro Housing Family Invest Ctr                   Erie Shores Council 460                 435 Nebraska Ave                                                      Toledo, OH 43604‐8539                                                                                First Class Mail
Chartered Organization         Lucency Technologies, Inc                               Utah National Parks 591                 2961 W Maple Loop Dr, Ste 200                                         Lehi, UT 84043‐5686                                                                                  First Class Mail
Chartered Organization         Lucerne Baptist Church                                  Northeast Georgia Council 101           4805 Hwy 78                                                           Lilburn, GA 30047‐4617                                                                               First Class Mail
Voting Party                   Lucien Memorial United Methodist Church                 Attn: Rev Prince Donkor                 7 Old Duck Rd                                                         Kings Park, NY 11754                                                pdonkor52@verizon.net            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lucile Gregg Elementary PTO                             Sam Houston Area Council 576            6701 Roxbury Rd                                                       Houston, TX 77087‐5103                                                                               First Class Mail
Chartered Organization         Luck Lions                                              Northern Star Council 250               P.O. Box 358                                                          Luck, WI 54853‐0358                                                                                  First Class Mail
Chartered Organization         Lucketts Ruritan Club                                   National Capital Area Council 082       P.O. Box 1291                                                         Leesburg, VA 20177‐1291                                                                              First Class Mail
Voting Party                   Lucketts Ruritan Club                                   Attn: Donald Stanley                    21845 Potomac Overlook Ln                                             Leesburg, VA 20176                                                  donstanley@verizon.net           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Lucketts Ruritan Club                                   Attn: Adolfo Menendez                   42518 St Clair Ln                                                     Leesburg, VA 20176                                                  amenendez@perihq.com             Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Ludlow Fish And Game Club                               Western Massachusetts Council 234       857 Sportsmens Rd                                                     Ludlow, MA 01056                                                                                     First Class Mail
Chartered Organization         Luella Merritt Elementary ‐ Gfwar                       Longhorn Council 662                    7325 Kermit Ave                                                       Fort Worth, TX 76116‐9434                                                                            First Class Mail
Chartered Organization         Lufkin Evening Lions Club                               East Texas Area Council 585             P.O. Box 150312                                                       Lufkin, TX 75915‐0312                                                                                First Class Mail
Chartered Organization         Lugoff Fire Dept                                        Indian Waters Council 553               892 Hwy 1 S                                                           Lugoff, SC 29078‐9345                                                                                First Class Mail
Chartered Organization         Luhr Elementary School                                  Lincoln Heritage Council 205            6900 Fegenbush Ln                                                     Louisville, KY 40228‐1502                                                                            First Class Mail
Firm                           Lujan & Wolff LLP                                       Delia Lujan Wolff                       238 Archbishop Flores St., Ste 300, DNA Bldg.                         Hagatna, Guam 96910                                                 dslwolff@lawguam.com             Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Luke 10:27 A Community Of Faith                         Istrouma Area Council 211               536 Centerville St Ne                                                 Denham Springs, LA 70726‐3510                                                                        First Class Mail
Chartered Organization         Lula Assembly Of Praise                                 Northeast Georgia Council 101           6158 Carter St                                                        Lula, GA 30554                                                                                       First Class Mail
Chartered Organization         Luling Elementary School PTO                            Southeast Louisiana Council 214         904 Sugarhouse Rd                                                     Luling, LA 70070‐4435                                                                                First Class Mail
Chartered Organization         Luling Utd Methodist Church                             Southeast Louisiana Council 214         134 Lakewood Dr                                                       Luling, LA 70070‐6116                                                                                First Class Mail
Chartered Organization         Lumberland Fire Dept                                    Hudson Valley Council 374               1088 County Rte 31                                                    Glen Spey, NY 12737                                                                                  First Class Mail
Chartered Organization         Lumberton Church Of Christ                              Three Rivers Council 578                90 W Chance Rd                                                        Lumberton, TX 77657‐7162                                                                             First Class Mail
Voting Party                   Lumberton United Methodist                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200             Tampa, FL 33602                erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lumberton Utd Methodist Church                          Garden State Council 690                5A Municipal Dr                                                       Lumberton, NJ 08048                                                                                  First Class Mail
Chartered Organization         Lumen Christi Catholic Church                           Bay‐Lakes Council 635                   2750 W Mequon Rd                                                      Mequon, WI 53092‐3050                                                                                First Class Mail
Chartered Organization         Lumina Center                                           Juniata Valley Council 497              P.O. Box 1243                                                         Lewistown, PA 17044‐3243                                                                             First Class Mail
Voting Party                   Luminary UMC                                            3401 River Rd                           Ten Mile, TN 37880                                                                                                                        luminaryoffice@gmail.com         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Luminary UMC                                            Ricky Dale Matthews                     245 Indian Shore Dr                                                   Ten Mile, TN 37880                                                  cor1975@earthlink.net            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lunenburg‐Lions Club                                    Heart Of New England Council 230        P.O. Box 316                                                          Lunenburg, MA 01462‐0316                                                                             First Class Mail
Chartered Organization         Lunenburg‐United Parish                                 Heart Of New England Council 230        39 Main St                                                            Lunenburg, MA 01462‐1428                                                                             First Class Mail
Chartered Organization         Lunn‐Hunnewell Amvets Post 6                            Pine Tree Council 218                   P.O. Box 344                                                          New Gloucester, ME 04260‐0344                                                                        First Class Mail
Voting Party                   Lupo Memorial United Methodist Church, Inc              Attn: Rev Craig Vondergeest             112 Lanham St                                                         Greenwood, SC 29649                                                 cavonderg@presby.edu             Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Luray Lions Club                                        c/o Grayson Markowitz                   208 Circle View Rd                                                    Luray, VA 22835                                                                                      First Class Mail
Chartered Organization         Luray Rotary Club                                       Shenandoah Area Council 598             401 W Main St                                                         Luray, VA 22835‐1024                                                                                 First Class Mail
Voting Party                   Luray UMC                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200             Tampa, FL 33602                erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Luray United Methodist Church                           1 W Main St                             Luray, VA 22835                                                                                                                                                            First Class Mail
Chartered Organization         Lusher Charter School                                   Southeast Louisiana Council 214         7315 Willow St                                                        New Orleans, LA 70118‐5232                                                                           First Class Mail
Chartered Organization         Luther Jones Elementary P T A                           South Texas Council 577                 7533 Lipes Blvd                                                       Corpus Christi, TX 78413‐5341                                                                        First Class Mail
Chartered Organization         Luther Memorial Church                                  Mississippi Valley Council 141 141      1200 Jersey St                                                        Quincy, IL 62301‐4210                                                                                First Class Mail
Chartered Organization         Luther Memorial Church                                  Chief Seattle Council 609               13047 Greenwood Ave N                                                 Seattle, WA 98133‐7308                                                                               First Class Mail
Voting Party                   Luther Memorial Church                                  818 Tinton Ave                          Tinton Falls, NJ 07724                                                                                                                    pastordetrie@gmail.com           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Luther Memorial Church                                  Attn: David Meth                        200 Daniels Way, Ste 240 A                                            Freehold, NJ 07728                                                  david@methnjlaw.com              Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Luther Memorial Church Tinton Falls                     Monmouth Council, Bsa 347               818 Tinton Ave                                                        Tinton Falls, NJ 07724‐2847                                                                          First Class Mail
Voting Party                   Luther Memorial Lutheran Church                         Attn: Timothy T Parker                  1000 2nd Ave, Fl 30                                                   Seattle, WA 98104                                                   ttp@pattersonbuchanan.com        Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Luther Memorial Lutheran Church                         Attn: Treasurer                         600 Prices Fork Rd                                                    Blacksburg, VA 24060                                                pastormonica@lmlc.org            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Luther Utd Methodist Church                             Last Frontier Council 480               P.O. Box 369                                                          Luther, OK 73054‐0369                                                                                First Class Mail
Chartered Organization         Lutheran ‐ Amer Falls St Johns Luthern                  Grand Teton Council 107                 656 Tyhee Ave                                                         American Falls, ID 83211‐1437                                                                        First Class Mail
Chartered Organization         Lutheran ‐ Grace Lutheran Church                        Grand Teton Council 107                 1350 Baldy Ave                                                        Pocatello, ID 83201‐7104                                                                             First Class Mail
Chartered Organization         Lutheran Brotherhood Of American                        Stanley                                 402 1St St Sw                                                         Stanley, ND 58784                                                                                    First Class Mail
Chartered Organization         Lutheran Brotherhood Of The Trinity                     Northern Lights Council 429             P.O. Box 271                                                          Lisbon, ND 58054‐0271                                                                                First Class Mail
Chartered Organization         Lutheran Central Sch Assoc Peoria Il                    W D Boyce 138                           2000 W Glen Ave                                                       Peoria, IL 61614‐4643                                                                                First Class Mail
Chartered Organization         Lutheran Central Shool Assoc Peoria Il                  W D Boyce 138                           2000 W Glen Ave                                                       Peoria, IL 61614‐4643                                                                                First Class Mail
Chartered Organization         Lutheran Ch, Master W Campus                            Mid‐America Council 326                 1200 N 181St Ct                                                       Elkhorn, NE 68022‐3813                                                                               First Class Mail
Voting Party                   Lutheran Church Christ the King                         Attn: Christopher James Myers           3730 148th Ave SE                                                     Bellevue, WA 98006                                                                                   First Class Mail
Chartered Organization         Lutheran Church Men Of Harrold Zion                     Westmoreland Fayette 512                671 Baltzer Meyer Pike                                                Greensburg, PA 15601‐6432                                                                            First Class Mail
Chartered Organization         Lutheran Church Of All Sts                              Northeast Illinois 129                  5800 State Park Rd                                                    Fox Lake, IL 60020‐1182                                                                              First Class Mail
Chartered Organization         Lutheran Church Of Atonement                            Greater St Louis Area Council 312       1285 N New Florissant Rd                                              Florissant, MO 63031‐4511                                                                            First Class Mail
Chartered Organization         Lutheran Church Of Canton                               Sioux Council 733                       124 E 2Nd St                                                          Canton, SD 57013‐1702                                                                                First Class Mail
Chartered Organization         Lutheran Church Of Gods Love                            Washington Crossing Council 777         791 Newtown Yardley Rd                                                Newtown, PA 18940‐1747                                                                               First Class Mail
Chartered Organization         Lutheran Church Of Hope                                 Denver Area Council 061                 1305 W 10Th Ave                                                       Broomfield, CO 80020‐1770                                                                            First Class Mail
Chartered Organization         Lutheran Church Of Hope                                 Mid Iowa Council 177                    1335 Ne Beaverbrooke Blvd                                             Grimes, IA 50111‐6900                                                                                First Class Mail
Chartered Organization         Lutheran Church Of Hope                                 Mid Iowa Council 177                    925 Jordan Creek Pkwy                                                 West Des Moines, IA 50266‐5952                                                                       First Class Mail
Chartered Organization         Lutheran Church Of Hope‐North Branch                    Mid Iowa Council 177                    520 Nw 36Th St                                                        Ankeny, IA 50023‐8419                                                                                First Class Mail
Chartered Organization         Lutheran Church Of Mifflinburg                          Susquehanna Council 533                 404 Market St                                                         Mifflinburg, PA 17844‐1249                                                                           First Class Mail
Chartered Organization         Lutheran Church Of Our Redeemer                         Sagamore Council 162                    705 E Sway Blvd                                                       Kokomo, IN 46902                                                                                     First Class Mail
Voting Party                   Lutheran Church of Our Redeemer                         Attn: Alan R Harvath                    705 E Southway Blvd                                                   Kokomo, IN 46902                                                    alan.harvath@outlook.com         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Lutheran Church Of Our Savior                           Miami Valley Council, Bsa 444           155 Thruston Blvd E                                                   Oakwood, OH 45419‐3833                                                                               First Class Mail
Chartered Organization         Lutheran Church Of Our Savior                           Suffolk County Council Inc 404          231 Jayne Ave                                                         Patchogue, NY 11772‐2628                                                                             First Class Mail
Chartered Organization         Lutheran Church Of Our Savior                           California Inland Empire Council 045    5050 N Sierra Way                                                     San Bernardino, CA 92404‐1136                                                                        First Class Mail
Chartered Organization         Lutheran Church Of Our Saviour                          Theodore Roosevelt Council 386          12 Franklin Ave                                                       Port Washington, NY 11050‐3611                                                                       First Class Mail
Chartered Organization         Lutheran Church Of Our Saviour                          Greater Tampa Bay Area 089              8401 W Hillsborough Ave                                               Tampa, FL 33615‐3807                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                  Page 253 of 442
                                                                                 Case 20-10343-LSS                                                       Doc 8171                               Filed 01/06/22                                                   Page 269 of 457
                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                    Service List
                                                                                                                                                                             Served as set forth below

        Description                                                       Name                                                                                                   Address                                                                                                            Email                  Method of Service
Voting Party                   Lutheran Church of Peace                                    Melissa AMEX                                            2316 Hillwood Dr E                                  Maplewood, MN 55119                                                 mmcali12@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lutheran Church of Peace                                    47 Century Ave                                          Maplewood, MN 55119                                                                                                     mmcali12@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lutheran Church Of Reconciliation                           Cape Fear Council 425                                   7500 Market St                                      Wilmington, NC 28411‐9455                                                                                First Class Mail
Voting Party                   Lutheran Church of St Paul                                  St Paul Lutheran Church                                 Attn: Tim Troxell                                   22419 108th Ave E                 Graham, WA 98338                  secretary@lcspgraham.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lutheran Church Of The Ascension                            Coastal Georgia Council 099                             6 E State St                                        Savannah, GA 31401‐3768                                                                                  First Class Mail
Voting Party                   Lutheran Church of the Ascension                            Attn: Pastor Todd Cutter                                120 Bull St                                         Savannah, GA 31401                                                  pastortodd@ascensionsavannah.org     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lutheran Church Of The Cross                                Mid Iowa Council 177                                    1701 8Th St Sw                                      Altoona, IA 50009‐2607                                                                                   First Class Mail
Chartered Organization         Lutheran Church Of The Cross                                Northern Lights Council 429                             1402 16Th St E                                      West Fargo, ND 58078‐3411                                                                                First Class Mail
Chartered Organization         Lutheran Church Of The Galilean                             Southeast Louisiana Council 214                         3404 New Hwy 51                                     La Place, LA 70068‐6439                                                                                  First Class Mail
Chartered Organization         Lutheran Church Of The Good Shepherd                        Baltimore Area Council 220                              1515 Emmorton Rd                                    Bel Air, MD 21014‐5610                                                                                   First Class Mail
Chartered Organization         Lutheran Church Of The Good Shepherd                        Atlanta Area Council 092                                3099 Chapel Hill Rd                                 Douglasville, GA 30135‐1779                                                                              First Class Mail
Chartered Organization         Lutheran Church Of The Good Shepherd                        Chippewa Valley Council 637                             1120 Cedar St                                       Eau Claire, WI 54703‐2735                                                                                First Class Mail
Chartered Organization         Lutheran Church Of The Good Shepherd                        Westmoreland Fayette 512                                501 Fairfield Dr                                    Greensburg, PA 15601‐6101                                                                                First Class Mail
Chartered Organization         Lutheran Church Of The Good Shepherd                        Northern Star Council 250                               4801 France Ave S                                   Minneapolis, MN 55410‐1757                                                                               First Class Mail
Chartered Organization         Lutheran Church Of The Good Shepherd                        Southwest Florida Council 088                           4770 Orange Grove Blvd                              North Fort Myers, FL 33903‐4556                                                                          First Class Mail
Chartered Organization         Lutheran Church Of The Good Shepherd                        Pacific Harbors Council, Bsa 612                        1601 North St Se                                    Olympia, WA 98501‐3666                                                                                   First Class Mail
Chartered Organization         Lutheran Church Of The Good Shepherd                        Pathway To Adventure 456                                7800 W Mccarthy Rd                                  Palos Heights, IL 60463‐1233                                                                             First Class Mail
Chartered Organization         Lutheran Church Of The Good Shepherd                        Grand Teton Council 107                                 215 N 18Th Ave                                      Pocatello, ID 83201‐3344                                                                                 First Class Mail
Chartered Organization         Lutheran Church Of The Good Shepherd                        Nevada Area Council 329                                 357 Clay St                                         Reno, NV 89501‐1706                                                                                      First Class Mail
Voting Party                   Lutheran Church of the Good Shepherd                        107 S 17th Ave                                          Coatsville, PA 19320                                                                                                    slynch@luthgoodshep.org              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lutheran Church of the Good Shepherd                        Attn: Pastor David Mesner                               1325 N 45th Ave E                                   Duluth, MN 55804                                                    dmesner@lcgsduluth.org               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lutheran Church of the Good Shepherd Glens Falls NY         Attn: Robert E Orban Jr, Pres                           9 Heinrick St                                       Queensbury, NY 12804                                                nyorb1@adelphia.net                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lutheran Church of the Holy Spirit                          c/o Norris McLaughlin PA                                Attn: Melissa A Pena                                400 Crossing Blvd                 Bridgewater, NJ 08807             mapena@norris‐law.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lutheran Church of the Holy Spirit                          Attn: Pastor Charles E Romanowski                       333 N Main St                                       Manahawkin, NJ 08059                                                chucklordlane@gmail.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lutheran Church of the Holy Spirit                          Attn: Pastor Charles Romanowski                         333 N Main St                                       Manhawkin, NJ 08050                                                 chucklordlane@gmail.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lutheran Church of the Holy Spirit                          c/o Norris McLaughlin PA                                Attn: Melissa A Pena                                400 Crossings Blvd                Bridgwater, NJ 08807              chucklordlane@gmail.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lutheran Church Of The Holy Trinity                         Hawk Mountain Council 528                               P.O. Box 221                                        Leesport, PA 19533‐0221                                                                                  First Class Mail
Voting Party                   Lutheran Church of the Holy Trinity                         Attn: Carl W Filer                                      102 Apple St                                        Leesport, PA 19533                                                  lchtpastor@outlook.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lutheran Church Of The Incarnation                          Indian Waters Council 553                               3005 Devine St                                      Columbia, SC 29205‐1843                                                                                  First Class Mail
Chartered Organization         Lutheran Church Of The Master                               Denver Area Council 061                                 14099 W Jewell Ave                                  Lakewood, CO 80228‐4159                                                                                  First Class Mail
Chartered Organization         Lutheran Church Of The Master                               W L A C C 051                                           725 E Ave J                                         Lancaster, CA 93535‐3800                                                                                 First Class Mail
Chartered Organization         Lutheran Church Of The Master                               Mid‐America Council 326                                 2617 S 114Th St                                     Omaha, NE 68144‐3061                                                                                     First Class Mail
Chartered Organization         Lutheran Church Of The Nativity                             Daniel Boone Council 414                                2425 Hendersonville Rd                              Arden, NC 28704‐3337                                                                                     First Class Mail
Chartered Organization         Lutheran Church Of The Redeemer                             Chief Seattle Council 609                               P.O. Box 70                                         Chimacum, WA 98325‐0070                                                                                  First Class Mail
Chartered Organization         Lutheran Church Of The Redeemer                             National Capital Area Council 082                       1545 Chain Bridge Rd                                Mc Lean, VA 22101‐4420                                                                                   First Class Mail
Chartered Organization         Lutheran Church Of The Redeemer                             Three Harbors Council 636                               2417 Drexel Ave                                     Racine, WI 53403‐2922                                                                                    First Class Mail
Chartered Organization         Lutheran Church Of The Redeemer                             The Spirit Of Adventure 227                             60 Forest Park Rd                                   Woburn, MA 01801‐2439                                                                                    First Class Mail
Voting Party                   Lutheran Church of the Redeemer                             Lutheran Church of the Redeemer, Ron Swanson            60 Forest Park Rd                                   Woburn, MA 01801                                                    treasurer@redeemerwoburn.org         Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lutheran Church Of The Resurrection                         Golden Empire Council 047                               6365 Douglas Blvd                                   Granite Bay, CA 95746‐6223                                                                               First Class Mail
Chartered Organization         Lutheran Church Of The Resurrection                         Atlanta Area Council 092                                4814 Paper Mill Rd Se                               Marietta, GA 30067‐4046                                                                                  First Class Mail
Chartered Organization         Lutheran Church Of The Resurrection                         Pathway To Adventure 456                                15050 Central Ave                                   Oak Forest, IL 60452                                                                                     First Class Mail
Chartered Organization         Lutheran Church Of The Resurrection                         Greater Tampa Bay Area 089                              1555 Windmill Pointe Rd                             Palm Harbor, FL 34685‐1318                                                                               First Class Mail
Chartered Organization         Lutheran Church Of The Resurrection                         Heart Of America Council 307                            9100 Mission Rd                                     Prairie Village, KS 66206‐1714                                                                           First Class Mail
Chartered Organization         Lutheran Church Of The Resurrection                         Alamo Area Council 583                                  6011 Grissom Rd                                     San Antonio, TX 78238‐2228                                                                               First Class Mail
Chartered Organization         Lutheran Church Of The Resurrection                         Washington Crossing Council 777                         1700 Makefield Rd                                   Yardley, PA 19067‐3155                                                                                   First Class Mail
Voting Party                   Lutheran Church of the Resurrection                         Attn: James Pike                                        9812 Hamilton Ave                                   Huntington Beach, CA 92626                                          lcr17@verizon.net                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lutheran Church of the Resurrection                         Attn: Pastor LCR                                        3500 29th Ave                                       Marion, IA 52302                                                    jeff_frohner@prodigy.net             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lutheran Church of the Resurrection                         420 Stewart Ave                                         Garden City, NY 11530                                                                                                   diana@resgc.org                      Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lutheran Church Of Webster Gardens                          Greater St Louis Area Council 312                       8749 Watson Rd                                      St Louis, MO 63119‐5111                                                                                  First Class Mail
Chartered Organization         Lutheran Church Of Webster Groves                           Greater St Louis Area Council 312                       8749 Watson Rd                                      St Louis, MO 63119‐5111                                                                                  First Class Mail
Chartered Organization         Lutheran High School                                        Denver Area Council 061                                 11249 Newlin Gulch Blvd                             Parker, CO 80134‐3182                                                                                    First Class Mail
Chartered Organization         Lutheran High School                                        Alamo Area Council 583                                  18104 Babcock Rd                                    San Antonio, TX 78255‐2211                                                                               First Class Mail
Chartered Organization         Lutheran Social Services                                    Mid Iowa Council 177                                    3232 Nwestern Ave                                   Ames, IA 50010                                                                                           First Class Mail
Chartered Organization         Lutheran Social Services ‐ East Side                        Sioux Council 733                                       620 W 18Th St                                       Sioux Falls, SD 57104‐4844                                                                               First Class Mail
Chartered Organization         Lutheran Social Services‐Beloit                             Mid Iowa Council 177                                    1323 Northwestern Ave                               Ames, IA 50010‐5267                                                                                      First Class Mail
Chartered Organization         Lutheran Social Servies ‐ Hilltop                           Sioux Council 733                                       3400 E 49Th St                                      Sioux Falls, SD 57103‐5862                                                                               First Class Mail
Chartered Organization         Lutheran Social Svcs                                        Southern Hills                                          3400 E 49Th St                                      Sioux Falls, SD 57103‐5862                                                                               First Class Mail
Chartered Organization         Lutheran Sts In Ministry                                    Tecumseh 439                                            100 E Main St                                       Fairborn, OH 45324‐4704                                                                                  First Class Mail
Voting Party                   Lutie Watkins Memorial United Methodist Church              Attn: Kathryn Stephenson, LWMUMC                        800 Wright St                                       P.O. Box 397                      Llano, TX 78643                   lwmumc@verizon.net                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lutie Watkins Utd Methodist Church                          Capitol Area Council 564                                P.O. Box 397                                        Llano, TX 78643‐0397                                                                                     First Class Mail
Chartered Organization         Lutron Electronics Inc                                      Minsi Trails Council 502                                7200 Suter Rd                                       Coopersburg, PA 18036‐1249                                                                               First Class Mail
Chartered Organization         Luverne Utd Methodist Church                                Tukabatchee Area Council 005                            P.O. Box 716                                        Luverne, AL 36049‐0716                                                                                   First Class Mail
Chartered Organization         Luverne Utd Methodist Church                                Sioux Council 733                                       109 N Freeman Ave                                   Luverne, MN 56156‐1627                                                                                   First Class Mail
Chartered Organization         Luxemburg Sportsmans Club                                   Bay‐Lakes Council 635                                   P.O. Box 160                                        Luxemburg, WI 54217‐0160                                                                                 First Class Mail
Chartered Organization         Luzerne County Courthouse                                   Northeastern Pennsylvania Council 501                   200 N River St                                      Wilkes Barre, PA 18711‐1004                                                                              First Class Mail
Voting Party                   Luzerne United Methodist Church (079924)                    c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                              680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lv Tossed Greens LLC                                        Las Vegas Area Council 328                              6418 Towerstone St                                  North Las Vegas, NV 89084                                                                                First Class Mail
Voting Party                   Lydick United Methodist Church                              Attn: Wayne Griffee, Treasurer & Joanne Marie Walters   26510 Edison Rd                                     South Bend, IN 46628                                                wayne.griffee@lydick‐umc.org         Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lygonia Lodge 40                                            Katahdin Area Council 216                               140 Bucksport Rd                                    Ellsworth, ME 04605                                                                                      First Class Mail
Voting Party                   Lykens UMC (066603)                                         c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                              680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lyle R Knight                                               c/o Boy Scouts of America                               Attn: Chase Koontz                                  1325 W Walnut Hill Ln             Irving, TX 75015                  chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lyles Baptist Church                                        Stonewall Jackson Council 763                           P.O. Box 475                                        Palmyra, VA 22963‐0475                                                                                   First Class Mail
Chartered Organization         Lyles Mcdaniels Post 6968 Vfw                               Caddo Area Council 584                                  P.O. Box 1486                                       Linden, TX 75563‐1486                                                                                    First Class Mail
Voting Party                   Lyman United Methodist Church                               Attn: Walter Cantwell                                   106 Groce Rd                                        Lyman, SC 29365                                                     wjcantwell@umcsc.org                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lyman United Methodist Church                               Attn: Tony Wyatt                                        306 Stoddard Dr                                     Lyman, SC 29365                                                     jrwyatts@bellsouth.net               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lyman Utd Methodist Church                                  Palmetto Council 549                                    P.O. Box 190                                        Lyman, SC 29365‐0190                                                                                     First Class Mail
Chartered Organization         Lyme Congregational Church                                  Daniel Webster Council, Bsa 330                         P.O. Box 27                                         Lyme, NH 03768‐0027                                                                                      First Class Mail
Chartered Organization         Lyme Fire Co Inc                                            Connecticut Rivers Council, Bsa 066                     213 Hamburg Rd                                      Lyme, CT 06371‐3419                                                                                      First Class Mail
Chartered Organization         Lyme Grange                                                 Connecticut Rivers Council, Bsa 066                     2 Sterling City Rd                                  Lyme, CT 06371                                                                                           First Class Mail
Voting Party                   Lynch Station Ruritan Club                                  Attn: Robert Lee                                        P.O. Box 100                                        Lynch Station, VA 24571                                             robtamlee@icloud.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lynchburg Elementary PTO                                    Middle Tennessee Council 560                            276 Mechanic St N                                   Lynchburg, TN 37352‐8327                                                                                 First Class Mail
Chartered Organization         Lynchburg Lions Club                                        Simon Kenton Council 441                                2630 Sharpsville Rd                                 Lynchburg, OH 45142‐9341                                                                                 First Class Mail
Chartered Organization         Lynchwood Church Of God                                     Cascade Pacific Council 492                             3818 Se 174Th Ave                                   Portland, OR 97236‐1255                                                                                  First Class Mail
Chartered Organization         Lynde Masonic Lodge                                         Katahdin Area Council 216                               2500 Rte 2                                          Hermon, ME 04401‐0626                                                                                    First Class Mail
Voting Party                   Lynden United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lyndhurst Lodge No 1505 BPO Elks                            Northern New Jersey Council, Bsa 333                    251 Park Ave                                        Lyndhurst, NJ 07071‐1713                                                                                 First Class Mail
Chartered Organization         Lyndon Lions                                                Jayhawk Area Council 197                                General Delivery                                    Lyndon, KS 66451                                                                                         First Class Mail
Chartered Organization         Lyndonville Rotary Club                                     Green Mountain 592                                      P.O. Box 416                                        Lyndonville, VT 05851‐0416                                                                               First Class Mail
Voting Party                   Lyndonville United Methodist Church                         102 N Main St                                           Lyndonville, NY 14098                                                                                                   lyndonvilleumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lyndonville United Methodist Church                         Attn: Pastor, Lyndonville UMC                           P.O. Box 543                                        100 Church St                     Lyndonville, VT 05851                                                  First Class Mail
Chartered Organization         Lynhurst Baptist Church                                     Crossroads Of America 160                               750 S Lynhurst Dr                                   Indianapolis, IN 46241                                                                                   First Class Mail
Voting Party                   Lynn A DeRouen                                              119 Jefferson St                                        New Iberia, LA 70560                                                                                                    lynn@derouenfinancial.com            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lynn Haven Utd Methodist Church                             Gulf Coast Council 773                                  4501 Transmitter Rd                                 Panama City, FL 32404‐5708                                                                               First Class Mail
Voting Party                   Lynnewood United Methodist Church                           Attn: Jennifer Murdock, Pastor                          444 Black Ave                                       Pleasanton, CA 94556                                                pastorjenn@lynnewood.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Lynnhaven UMC                                               c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lynnhaven Utd Methodist Church                              Tidewater Council 596                                   1033 Little Neck Rd                                 Virginia Beach, VA 23452‐6012                                                                            First Class Mail
Chartered Organization         Lynnhurst Utd Church Of Christ                              Lincoln Heritage Council 205                            4401 Taylor Blvd                                    Louisville, KY 40215‐2303                                                                                First Class Mail
Voting Party                   Lynnville UMC                                               Attn: Julia E Memmer                                    418 Church St                                       Lynnville, IN 47619                                                                                      First Class Mail
Voting Party                   Lynnville United Methodist Church                           Attn: Julia Memmer                                      P.O. Box 38                                         Lynnville, IN 47619                                                 lynnvilleunitedmethodist@gmail.com   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lynnville Utd Methodist Church                              Buffalo Trace 156                                       200 E 3Rd St                                        Lynnville, IN 47619                                                                                      First Class Mail
Chartered Organization         Lynwood Ward ‐ Twin Falls Stake                             Snake River Council 111                                 421 Maurice St N                                    Twin Falls, ID 83301‐4932                                                                                First Class Mail
Chartered Organization         Lyon Elementary School PTO                                  Sam Houston Area Council 576                            P.O. Box 907                                        Magnolia, TX 77353‐0907                                                                                  First Class Mail
Chartered Organization         Lyon Magnet PTO                                             Northeast Illinois 129                                  800 S Elmwood Ave                                   Waukegan, IL 60085‐7242                                                                                  First Class Mail
Voting Party                   Lyons Community Church                                      Attn: Mark Boys                                         P.O. Box 44                                         Lyons, CO 80540                                                     mlboys1@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lyons Elks Lodge 869                                        Seneca Waterways 397                                    32 Church St                                        Lyons, NY 14489‐1113                                                                                     First Class Mail
Chartered Organization         Lyons First Utd Methodist Church                            Coastal Georgia Council 099                             126 E Wesley Ave                                    Lyons, GA 30436‐1369                                                                                     First Class Mail
Chartered Organization         Lyons Muir Lions Club                                       President Gerald R Ford 781                             228 Superior St                                     Muir, MI 48860                                                                                           First Class Mail
Chartered Organization         Lyons Rod & Gun Club Inc                                    Seneca Waterways 397                                    P.O. Box 184                                        Lyons, NY 14489‐0184                                                                                     First Class Mail
Voting Party                   Lyons United Methodist Church                               Attn: Minister                                          P.O. Box 187                                        Lyons, IN 47443                                                     kate.biggs@inumc.org                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lyons Utd Methodist Church                                  Seneca Waterways 397                                    93 William St                                       Lyons, NY 14489‐1546                                                                                     First Class Mail
Voting Party                   Lytle United Methodist Church                               Attn: Suzie Sollock                                     P.O. Box 608                                        Lytle, TX 78052                                                     scottmartin9262@sbcglobal.net        Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Lytle Utd Methodist Church                                  Alamo Area Council 583                                  19341 Somerset Rd                                   Lytle, TX 78052                                                                                          First Class Mail
Voting Party                   Lyttleton St United Methodist Church                        Attn: Rev J Michael Arant                               1206 Lyttleton St                                   Camden, SC 29020                                                    jmarant@umcsc.org                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         M & T Bank                                                  Greater New York Councils, Bsa 640                      350 Park Ave Fl 5                                   New York, NY 10022‐6081                                                                                  First Class Mail
Chartered Organization         M A Evans Academy                                           Central Georgia Council 096                             345 Edward Ave                                      Macon, GA 31204‐5136                                                                                     First Class Mail
Chartered Organization         M Agnes Jones Elementary                                    Atlanta Area Council 092                                1040 Fair St Sw                                     Atlanta, GA 30314‐3113                                                                                   First Class Mail
Chartered Organization         M B Henderson School ‐ PTA                                  Circle Ten Council 571                                  2200 S Edgefield Ave                                Dallas, TX 75224‐1142                                                                                    First Class Mail
Chartered Organization         M G Waldbaum Egg Co                                         Mid‐America Council 326                                 P.O. Box 573                                        Wakefield, NE 68784‐0573                                                                                 First Class Mail
Chartered Organization         M H Moore Elementary ‐ Gfwar                                Longhorn Council 662                                    1809 Ne 36Th St                                     Fort Worth, TX 76106‐4607                                                                                First Class Mail
Voting Party                   M Kaylene Rinehart                                          Address Redacted                                                                                                                                                                Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         M M R Hose Co                                               Narragansett 546                                        26 County Rd                                        Mattapoisett, MA 02739‐1583                                                                              First Class Mail
Firm                           Maag Law Firm                                               Thomas G. Maag; Peter J. Maag                           22 West Lorena Ave                                  Wood River, IL 62095                                                Maag@maaglawfirm.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Mabel Rush Pie                                              Cascade Pacific Council 492                             1441 N Deborah Rd                                   Newberg, OR 97132‐2026                                                                                   First Class Mail
Voting Party                   Mabelvale United Methodist Church                           Attn: Connie Ross                                       10500 Woodman St                                    Mabelvale, AR 72103                                                 lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Mac Arthur School PTO                                       Bay‐Lakes Council 635                                   1331 Hobart Dr                                      Green Bay, WI 54304‐1413                                                                                 First Class Mail
Chartered Organization         Macalester‐Plymouth Utd Church                              Northern Star Council 250                               1658 Lincoln Ave                                    St Paul, MN 55105‐1949                                                                                   First Class Mail
Chartered Organization         Macarthur Business Alliance                                 Suffolk County Council Inc 404                          P.O. Box 472                                        Bohemia, NY 11716‐0472                                                                                   First Class Mail
Voting Party                   MacDonald, Illig, Jones & Britton LLP                       Attn: Matthew W McCullough                              100 State St, Ste 700                               Erie, PA 16507                                                      mmccullough@mijb.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Macedon Center Untied Methodist Church                      Attn: James Airey & Charles Escriva                     1160 Macedon Center Rd                              Macedon, NY 14502                                                   mcspumc@rochester.twcbc.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Macedonia Ame Church                                        Atlanta Area Council 092                                6235 Stagecoach Rd                                  Rex, GA 30273‐1539                                                                                       First Class Mail
Chartered Organization         Macedonia Baptist Church                                    Great Swest Council 412                                 1509 Edith Blvd Se                                  Albuquerque, NM 87102‐4630                                                                               First Class Mail
Chartered Organization         Macedonia Baptist Church                                    Daniel Boone Council 414                                1468 Jenkins Valley Rd                              Alexander, NC 28701‐9744                                                                                 First Class Mail
Chartered Organization         Macedonia Baptist Church                                    Greater Niagara Frontier Council 380                    237 E North St                                      Buffalo, NY 14204‐1040                                                                                   First Class Mail
Chartered Organization         Macedonia Baptist Church                                    Occoneechee 421                                         7100 Holly Springs Rd                               Raleigh, NC 27606‐4327                                                                                   First Class Mail
Chartered Organization         Macedonia Christian Church                                  Blue Grass Council 204                                  4551 Winchester Rd                                  Lexington, KY 40509‐9582                                                                                 First Class Mail
Chartered Organization         Macedonia Cme Church                                        Black Warrior Council 006                               7885 County Rd 131                                  Boligee, AL 35443‐3110                                                                                   First Class Mail
Voting Party                   MACEDONIA EVANGELICAL LUTHERAN CHURCH, Inc                  Attn: Lisa Philliippie/ Office Mgr                      421 W Front St                                      Burlington, NC 27215                                                office@macedonialutheran.com         Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Macedonia Fire Dept                                         Lake Erie Council 440                                   9691 Valley View Rd                                 Macedonia, OH 44056‐2044                                                                                 First Class Mail
Chartered Organization         Macedonia Lutheran Church                                   Old N State Council 070                                 421 W Front St                                      Burlington, NC 27215‐3766                                                                                First Class Mail
Chartered Organization         Macedonia Missionary Baptist Church                         Central Florida Council 083                             412 E Kennedy Blvd                                  Eatonville, FL 32751‐5339                                                                                First Class Mail
Chartered Organization         Macedonia Missionary Baptist Church                         Central Florida Council 083                             412 E Kennedy Blvd                                  Maitland, FL 32751‐5339                                                                                  First Class Mail
Voting Party                   Macedonia UMC                                               c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Macedonia UMC Lexington 10890 NC Hwy, Lexington, NC 27292   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Macedonia United Methodist Church                           Attn: Rev Kevin Johnson                                 2700 Jones Franklin Rd                              Cary, NC 27518                                                      kevinjohnson@nccumc.org              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Macedonia United Methodist Church                           Attn: Diane Housler                                     14805 Hwy 69N                                       Northport, AL 35475                                                 diane.housler@umcna.org              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Macedonia United Methodist Church, Inc                      Attn: Doug Coffeen                                      3125 Wynema Way                                     Mullins, SC 29574                                                   smtodd@umcsc.org                     Email
                                                                                                                                                                                                                                                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                    Page 254 of 442
                                                                                    Case 20-10343-LSS                                       Doc 8171                                      Filed 01/06/22                                                   Page 270 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                          Name                                                                                          Address                                                                                                              Email               Method of Service
Voting Party                   Macedonia United Methodist Church, Inc                         Attn: Steven M Todd                     402 N Main St                                              Mullins, SC 29574                                                   smtodd@umcsc.org                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Macedonia Utd Methodist Church                                 Lake Erie Council 440                   1280 E Aurora Rd                                           Macedonia, OH 44056‐1912                                                                                First Class Mail
Chartered Organization         Macedonia Utd Methodist Church                                 Pee Dee Area Council 552                402 N Main St                                              Mullins, SC 29574‐2616                                                                                  First Class Mail
Chartered Organization         Macedonia Utd Methodist Church                                 Black Warrior Council 006               14837 Hwy 69 N                                             Northport, AL 35475‐3043                                                                                First Class Mail
Chartered Organization         Macedonia Utd Methodist Church                                 Shenandoah Area Council 598             1941 Macedonia Church Rd                                   White Post, VA 22663‐1846                                                                               First Class Mail
Chartered Organization         Machias Rotary Club                                            Katahdin Area Council 216               P.O. Box 315                                               Machias, ME 04654‐0315                                                                                  First Class Mail
Voting Party                   Machias UMC                                                    Attn: Treasurer Machias UMC             9735 Main St. Rte 16                                       Machias, NY 14101                                                   machiasny.umc@gmail.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Machias Utd Methodist Church                                   Allegheny Highlands Council 382         P.O. Box 303                                               Machias, NY 14101‐0303                                                                                  First Class Mail
Voting Party                   Mack Clayton                                                   416 S Central Ave                       Alexander City, AL 35010                                                                                                       mackclayton@charter.net             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Mackinder‐Glenn American Legion Post 510                       Southern Shores Fsc 783                 830 S Clinton St                                           Stockbridge, MI 49285‐9555                                                                              First Class Mail
Chartered Organization         Macland Presbyterian Church                                    Atlanta Area Council 092                3615 Macland Rd                                            Powder Springs, GA 30127‐1336                                                                           First Class Mail
Chartered Organization         Maco Light Seekers                                             Cape Fear Council 425                   4648 White St                                              Shallotte, NC 28470‐4462                                                                                First Class Mail
Chartered Organization         Macomb County Sheriffs Office                                  Great Lakes Fsc 272                     43565 Elizabeth St                                         Mount Clemens, MI 48043‐1001                                                                            First Class Mail
Chartered Organization         Macomb Police Dept                                             Illowa Council 133                      120 S Mcarthur St                                          Macomb, IL 61455‐2141                                                                                   First Class Mail
Chartered Organization         Macon Citizens Habilities, Inc                                 Daniel Boone Council 414                P.O. Box 698                                               Macon, NC 28734                                                                                         First Class Mail
Voting Party                   Macon United Methodist Church                                  Attn: Patticia Hearrold                 208 Pearl St                                               Macon, MO 63552                                                     maconumc@cvalley.net                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Macpherson Presbyterian Church                                 Occoneechee 421                         3525 Cliffdale Rd                                          Fayetteville, NC 28303‐4940                                                                             First Class Mail
Chartered Organization         Macquarie Bank                                                 Greater New York Councils, Bsa 640      125 W 55Th St                                              New York, NY 10019‐5369                                                                                 First Class Mail
Voting Party                   Macro Integration Services                                     Attn: Bruce Atkinson                    P.O. Box 939                                               Colfax, NC 27235                                                    batkinson@macrointegrations.com     Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Macs Home & School Assoc                                       Samoset Council, Bsa 627                710 S Columbus Ave                                         Marshfield, WI 54449‐3413                                                                               First Class Mail
Chartered Organization         Mad Dads Center For Fathering                                  Northern Star Council 250               3026 4Th Ave S                                             Minneapolis, MN 55408‐2477                                                                              First Class Mail
Chartered Organization         Madden Elementary PTO                                          Sam Houston Area Council 576            17727 Abermore Ln                                          Richmond, TX 77407‐2200                                                                                 First Class Mail
Chartered Organization         Maddox Investing In America Inc                                Central Georgia Council 096             2806 N Columbia St                                         Milledgeville, GA 31061‐8904                                                                            First Class Mail
Chartered Organization         Madeira Silverwood Presbyterian Church                         Dan Beard Council, Bsa 438              8000 Miami Ave                                             Cincinnati, OH 45243‐1226                                                                               First Class Mail
Chartered Organization         Madeleine Pastoral Council                                     Cascade Pacific Council 492             3123 Ne 24Th Ave                                           Portland, OR 97212‐2441                                                                                 First Class Mail
Chartered Organization         Madera County Fire Station 9                                   Sequoia Council 027                     41016 Ave 11                                               Madera, CA 93636‐7408                                                                                   First Class Mail
Chartered Organization         Madera Odd Fellows Lodge 327                                   Sequoia Council 027                     P.O. Box 33                                                Madera, CA 93639‐0033                                                                                   First Class Mail
Voting Party                   Madera United Methodist Church                                 Attn: Richard M Roper, Pastor           500 Sunset Ave                                             Madera, CA 93637                                                    estj@att.net                        Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Madera Ward ‐ LDS Sahuarita Stake                              Catalina Council 011                    17699 S Camino De Las Quintas                              Sahuarita, AZ 85629                                                                                     First Class Mail
Chartered Organization         Madge Youtz Elementary PTA                                     Buckeye Council 436                     1901 Midway Ave Ne                                         Canton, OH 44705‐3486                                                                                   First Class Mail
Chartered Organization         Madill Church Of Christ                                        Arbuckle Area Council 468               P.O. Box 88                                                Madill, OK 73446‐0088                                                                                   First Class Mail
Voting Party                   Madill First United Methodist Church                           Attn: Treasurer                         P.O. Box 496                                               Madill, OK 73446                                                    madillumc@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Madison Ave School Of The Arts                                 Erie Shores Council 460                 1511 Madison Ave                                           Toledo, OH 43604‐4433                                                                                   First Class Mail
Voting Party                   Madison Ave United Methodist Church                            Attn: Jessica Ellis, CFO                475 Riverside Dr, Ste 1922                                 New York, NY 10115                                                  jellis@umcitysociety.org            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Madison Baptist Church                                         Daniel Webster Council, Bsa 330         P.O. Box 119                                               Madison, NH 03849‐0119                                                                                  First Class Mail
Chartered Organization         Madison Baptist Church                                         Buckskin 617                            426 2Nd St                                                 Madison, WV 25130‐1421                                                                                  First Class Mail
Voting Party                   Madison Chapel United Methodist Church                         Attn: Rev Lenore Robinson               2019 Hubbard Rd                                            Lake County, OH 44057                                               chapelumc16@gmail.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Madison Church Of Christ                                       Middle Tennessee Council 560            106 Gallatin Pike N                                        Madison, TN 37115‐3702                                                                                  First Class Mail
Chartered Organization         Madison Community House                                        Patriots Path Council 358               25 Cook Ave                                                Madison, NJ 07940‐1824                                                                                  First Class Mail
Chartered Organization         Madison County Detention Home                                  Greater St Louis Area Council 312       100 5Th Ave                                                Edwardsville, IL 62025‐2575                                                                             First Class Mail
Chartered Organization         Madison County Housing Authority                               2 Eastport Plaza Dr                     Collinsville, IL 62234‐6109                                                                                                                                        First Class Mail
Chartered Organization         Madison County Lions Club                                      Stonewall Jackson Council 763           872 Ridgeview Rd                                           Brightwood, VA 22715‐1554                                                                               First Class Mail
Chartered Organization         Madison County Office Sheriffs Assoc                           Simon Kenton Council 441                P.O. Box 558                                               London, OH 43140‐0558                                                                                   First Class Mail
Chartered Organization         Madison County Service Coordination Inc                        Greater St Louis Area Council 312       140 S Main St                                              Fredericktown, MO 63645‐1452                                                                            First Class Mail
Chartered Organization         Madison Elementary PTO                                         Three Harbors Council 636               9925 W Glendale Ave                                        Wauwatosa, WI 53225‐4712                                                                                First Class Mail
Chartered Organization         Madison Elks Lodge 410                                         Glaciers Edge Council 620               711 Jenifer St                                             Madison, WI 53703‐3530                                                                                  First Class Mail
Chartered Organization         Madison Fire Corp                                              Leatherstocking 400                     P.O. Box 72                                                Madison, NY 13402‐0072                                                                                  First Class Mail
Voting Party                   Madison First United Methodist Church ‐ Madison                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Madison First Untied Methodist Church 296 S Madison GA 30650   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Madison First Utd Methodist Church                             Northeast Georgia Council 101           296 S Main St                                              Madison, GA 30650‐1388                                                                                  First Class Mail
Chartered Organization         Madison Heights Police Dept                                    Great Lakes Fsc 272                     280 W 13 Mile Rd                                           Madison Heights, MI 48071‐1804                                                                          First Class Mail
Chartered Organization         Madison Hills Baptist Church                                   Alamo Area Council 583                  15413 Oconnor Rd                                           San Antonio, TX 78247‐1702                                                                              First Class Mail
Chartered Organization         Madison Kiwanis Club                                           Northeast Georgia Council 101           P.O. Box 149                                               Madison, GA 30650‐0149                                                                                  First Class Mail
Chartered Organization         Madison LDS Church                                             Andrew Jackson Council 303              243 Hoy Rd                                                 Madison Lds Church               Madison, MS 39110                                                      First Class Mail
Chartered Organization         Madison LDS Church                                             Andrew Jackson Council 303              243 Hoy Rd                                                 Madison, MS 39110                                                                                       First Class Mail
Voting Party                   Madison North United Methodist Church                          Attn: Treasuer                          2235 Allen St                                              Madison, IN 47250                                                   northchurch@live.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Madison Oneida Boces                                           Leatherstocking 400                     4937 Spring Rd                                             Verona, NY 13478‐3526                                                                                   First Class Mail
Chartered Organization         Madison Order Of The Elks 524                                  Hoosier Trails Council 145 145          P.O. Box 404                                               Madison, IN 47250‐0404                                                                                  First Class Mail
Chartered Organization         Madison Park Community Center                                  Middle Tennessee Council 560            510 Cumberland Ave                                         Madison, TN 37115                                                                                       First Class Mail
Chartered Organization         Madison Place Elementary School PTO                            Heart Of America Council 307            16651 Warwick St                                           Olathe, KS 66062‐3107                                                                                   First Class Mail
Voting Party                   Madison Ruritan Club                                           Attn: Robert S Carneal                  7104 Bradford Cottage Ct                                   Mechanicsville, VA 23111                                            rscandcjw@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Madison School PTA                                             Hawkeye Area Council 172                1341 Woodside Dr Nw                                        Madison School                   Cedar Rapids, IA 52405                                                 First Class Mail
Chartered Organization         Madison South Sports                                           W Tennessee Area Council 559            175 Bellmeade Dr                                           Jackson, TN 38301‐7854                                                                                  First Class Mail
Chartered Organization         Madison Square Recreation Center                               Baltimore Area Council 220              1401 E Biddle St                                           Baltimore, MD 21213‐2814                                                                                First Class Mail
Voting Party                   Madison St United Methodist Church, Inc                        Attn: Lacy Wilson                       319 Madison St                                             Clarksville, TN 37040                                               lacy@madisonstreetumc.org           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Madison Township Firefighters Assc                             Southern Shores Fsc 783                 4008 S Adrian Hwy                                          Adrian, MI 49221‐8723                                                                                   First Class Mail
Voting Party                   Madison United Methodist Church                                127 Church St                           Madison, AL 35758                                                                                                              office@madisonum.org                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Madison United Methodist Church                                110 W Academy St                        Madison, NC 27025                                                                                                                                                  First Class Mail
Voting Party                   Madison United Methodist Church 110 W Academy St Madison, NC   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                    Erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Madison Utd Methodist Church                                   Old N State Council 070                 110 W Academy St                                           Madison, NC 27025‐2104                                                                                  First Class Mail
Chartered Organization         Madison West Lion Club                                         Glaciers Edge Council 620               5321 Fairway Dr                                            Madison, WI 53711‐1038                                                                                  First Class Mail
Voting Party                   Madisonburg United Methodist Church                            c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Madison‐Morgan Cnty Boys & Girls Club                          Northeast Georgia Council 101           P.O. Box 767                                               Madison, GA 30650‐0767                                                                                  First Class Mail
Chartered Organization         Madison‐Morgan County Boys & Girls Club                        Northeast Georgia Council 101           P.O. Box 767                                               Madison, GA 30650‐0767                                                                                  First Class Mail
Chartered Organization         Madisonville Fire Dept                                         Sam Houston Area Council 576            1716 E Main St                                             Madisonville, TX 77864                                                                                  First Class Mail
Chartered Organization         Madrona Geography Travel Club                                  Chief Seattle Council 609               15251 6Th Ave Ne                                           Shoreline, WA 98155‐6903                                                                                First Class Mail
Chartered Organization         Maemae School Ptsa                                             Aloha Council, Bsa 104                  319 Wyllie St                                              Honolulu, HI 96817‐1728                                                                                 First Class Mail
Chartered Organization         Maercker‐Holmes School PTO                                     Pathway To Adventure 456                5827 S Cass Ave                                            Westmont, IL 60559‐2368                                                                                 First Class Mail
Voting Party                   Mafair United Methodist Church                                 Attn: Raymond Johnson                   1409 E Center St                                           Kingsport, TN 37664                                                 info@mafairumc.org                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Magavern Magavern & Grimm                                      Attn: Cheryl Smith Fisher               1100 Rand Bldg                                             14 Lafayette Sq                  Buffalo, NY 14203                  cfisher@magaven.com                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Magavern Magavern & Grimm LLP                                  Attn: Cheryl Smith Fisher               1100 Rand Bldg                                             14 Layayette Sq                  Buffalo, NY 14203                  cfisher@magavern.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Magavern Magavern & Grimm LLP                                  Attn: Cheryl Smith Fisher               1100 Rand Bldg                                             14 Layayette St                  Buffalo, NY 14203                  cfisher@magavern.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Magavern Magavern & Grimm LLP                                  Attn: Cheryl Smith Fisher               1100 Rand Bldg                                             1400 Lafayette Sq                Buffalo, NY 14203                  cfisher@magavern.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Magavern Magavern & Grimm LLP                                  Attn: Cheryl Smith Fisher               1100 Rand Bldg                                             14 Lafayette Sq                  Buffalo, NY 14203                  cfisher@magavern.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Magavern Magavern & Grimm LLP                                  Attn: Cheryl Smith Fisher               1100 Rand Bldg                                             14 Lafayette St                  Buffalo, NY 14203                  cfisher@magavern.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Magavern Magavern & Grimm LLP                                  Attn: Cheryl Smith Fisher               1100 Rand Bldg                                             14 Lafayette Sq                  Buffalo, NY 14203                  cfischer@magavern.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Magavern Magavern & Grimm LLP                                  Attn: Cheryl Smith Fisher               1100 Rand Bldg                                             14 Lafayette Sq                  Buffalo, NY 14203                  cdisher@magaovern.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Magavern Magavern Grimm LLP                                    Attn: Cheryl Fisher                     1100 Rand Bldg                                             14 Lafayette Sq                  Buffalo, NY 14203                  cfisher@magavern.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Magazine United Methodist Church                               c/o Friday, Eldredge & Clark LLP        Attn: Lindsey Emerson Raines                               400 W Capitol Ave Ste 2000       Little Rock, AR 72201              lraines@fridayfirm.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Magazine United Methodist Church                               Attn: Rev Judy Hall                     P.O. Box 439                                               Magazine, AR 72943                                                  judy.hall@arumc.org                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Magazine Utd Methodist Church                                  Westark Area Council 016                101 N Wood St                                              Magazine, AR 72943                                                                                      First Class Mail
Voting Party                   Magee First United Methodist Church                            226 1st Ave NW                          Magee, MS 39111                                                                                                                firstumcmagee@bellsouth.net         Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Magellan International School                                  Capitol Area Council 564                7938 Great Northern Blvd                                   Austin, TX 78757‐8035                                                                                   First Class Mail
Voting Party                   Maggie Valley 4192 Soco Rd, Maggie Valley, NC 28751            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Magic Valley Amatuer Radio Club                                Snake River Council 111                 P.O. Box 5892                                              Twin Falls, ID 83303‐5892                                                                               First Class Mail
Chartered Organization         Magnolia Lions Club                                            De Soto Area Council 013                1500 E University                                          Magnolia, AR 71753‐2241                                                                                 First Class Mail
Voting Party                   Magnolia Park United Methodist Church                          Attn: Sylvia Binda                      2828 W Magnolia Blvd                                       Burbank, CA 91505                                                   office@magnoliaparkumc.org          Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Magnolia Presbyterian Church                                   California Inland Empire Council 045    7200 Magnolia Ave                                          Riverside, CA 92504‐3829                                                                                First Class Mail
Chartered Organization         Magnolia Properties                                            San Diego Imperial Council 049          12299 Ranch House Rd                                       San Diego, CA 92128‐1229                                                                                First Class Mail
Chartered Organization         Magnolia School Of Excellence Ptc                              Norwela Council 215                     2290 Clyde Fant Pkwy                                       Shreveport, LA 71104‐2840                                                                               First Class Mail
Chartered Organization         Magnolia Science Academy                                       Orange County Council 039               2840 W 1St St                                              Santa Ana, CA 92703‐4102                                                                                First Class Mail
Voting Party                   Magnolia UMC                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Magnolia United Church of Christ                               Attn: Rev Marci Scott‐Weis              3555 W McGraw St                                           Seattle, WA 98199                                                   marci@magnoliaucc.org               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Magnolia United Methodist Church                               Attn: Dawn Euwer                        16024 Greenwell Springs Rd                                 Greenwell Springs, LA 70739                                         deuwer65@gmail.com                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Magnolia Utd Church Of Christ                                  Chief Seattle Council 609               3555 W Mcgraw St                                           Seattle, WA 98199‐3213                                                                                  First Class Mail
Chartered Organization         Magnolia Utd Methodist Church                                  Del Mar Va 081                          39 N Main St                                               Magnolia, DE 19962                                                                                      First Class Mail
Chartered Organization         Magnolia Utd Methodist Church                                  Sam Houston Area Council 576            419 Commerce St                                            Magnolia, TX 77355‐8519                                                                                 First Class Mail
Chartered Organization         Magnolia Utd Methodist Church                                  Colonial Virginia Council 595           1764 Wilroy Rd                                             Suffolk, VA 23434‐2304                                                                                  First Class Mail
Chartered Organization         Magnolia Utd Methodist Men                                     Colonial Virginia Council 595           1764 Wilroy Rd                                             Suffolk, VA 23434‐2304                                                                                  First Class Mail
Chartered Organization         Magnuson Ymca                                                  Chief Seattle Council 609               6344 Ne 74Th St                                            Seattle, WA 98115‐8165                                                                                  First Class Mail
Voting Party                   Magothy United Methodist Church                                Attn: Felicia Granofsky                 3703 Mountain Rd                                           Pasadena, MD 21122                                                  pastor@magothy.org                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Magothy Utd Methodist Men                                      Baltimore Area Council 220              3703 Mountain Rd                                           Pasadena, MD 21122‐2024                                                                                 First Class Mail
Chartered Organization         Mahanaim Asamblea De Dios                                      Northern Star Council 250               812 Pleasantview Dr Se                                     Willmar, MN 56201‐5461                                                                                  First Class Mail
Chartered Organization         Maharishi Sch, Age Enlightenment                               Mid Iowa Council 177                    804 Dr Robert Keith Wallace Dr                             Fairfield, IA 52556‐2262                                                                                First Class Mail
Chartered Organization         Mahnomen Fire Relief Assoc                                     Northern Lights Council 429             124 E Madison Ave                                          Mahnomen, MN 56557                                                                                      First Class Mail
Chartered Organization         Mahomet American Legion                                        Prairielands 117                        412 E Main St                                              Mahomet, IL 61853                                                                                       First Class Mail
Voting Party                   Mahomet UMC                                                    Attn: Craig A Kemper                    1302 E S Mahomet Rd                                        Mahomet, IL 61853                                                   mumc@mumc.org                       Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Mahomet Utd Methodist Church                                   Prairielands 117                        1302 E S Mahomet Rd                                        Mahomet, IL 61853‐3729                                                                                  First Class Mail
Chartered Organization         Mahomet‐Seymour K‐5 PTO                                        Prairielands 117                        P.O. Box 806                                               Mahomet, IL 61853‐0806                                                                                  First Class Mail
Chartered Organization         Mahoning Lodge 29 Ioof                                         Great Trail 433                         371 High St Ne                                             Warren, OH 44481‐1223                                                                                   First Class Mail
Chartered Organization         Mahopac Vfw Post 5491                                          Westchester Putnam 388                  154 E Lake Blvd                                            Mahopac, NY 10541‐1602                                                                                  First Class Mail
Chartered Organization         Mahopac Volunteer Fire Dept                                    Westchester Putnam 388                  741 Rte 6                                                  Mahopac, NY 10541‐1649                                                                                  First Class Mail
Chartered Organization         Maidencreek Church                                             Hawk Mountain Council 528               261 Main St                                                Blandon, PA 19510‐9540                                                                                  First Class Mail
Voting Party                   Mail Mart, Inc                                                 4812 Top Line Dr                        Dallas, TX 75247                                                                                                               office@themailmart.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Mailfinance Inc                                                478 Wheelers Farms Rd                   Milford, CT 06461‐9105                                                                                                                                             First Class Mail
Voting Party                   Mailroom Finance Inc                                           dba Neofunds By Neopost                 P.O. Box 6813                                              Carol Stream, IL 60197‐6813                                                                             First Class Mail
Chartered Organization         Maimonides Medical Center                                      Greater New York Councils, Bsa 640      4802 10Th Ave                                              Brooklyn, NY 11219‐2916                                                                                 First Class Mail
Chartered Organization         Maimonides School                                              The Spirit Of Adventure 227             34 Philbrick Rd                                            Brookline, MA 02445‐6004                                                                                First Class Mail
Chartered Organization         Main Ave Utd Methodist Church                                  Muskingum Valley Council, Bsa 467       223 Main St                                                Byesville, OH 43723‐1337                                                                                First Class Mail
Chartered Organization         Main Club (Bellevue B&Gc)                                      Chief Seattle Council 609               209 100Th Ave Ne                                           Bellevue, WA 98004‐5625                                                                                 First Class Mail
Voting Party                   Main Federated Church                                          Attn: Mary Jane Sieczkos                1889 Daniel Dr                                             Johnson, NY 13790                                                   jsieczkos@stny.rr.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Main Images Photography                                        W L A C C 051                           38608 31St St E                                            Palmdale, CA 93550‐4206                                                                                 First Class Mail
Voting Party                   Main St 221 S Main St, Reidsville, NC 27320                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Main St Christian Church                                       Crossroads Of America 160               220 S Main St                                              Winchester, IN 47394‐1825                                                                               First Class Mail
Chartered Organization         Main St Elementary School                                      Cradle Of Liberty Council 525           704 Main St                                                Upland, PA 19015‐2608                                                                                   First Class Mail
Chartered Organization         Main St Fitness                                                Greater St Louis Area Council 312       410 W Main St                                              Jackson, MO 63755‐1865                                                                                  First Class Mail
Chartered Organization         Main St Methodist Church                                       Old Hickory Council 427                 306 S Main St                                              Kernersville, NC 27284‐2762                                                                             First Class Mail
Chartered Organization         Main St Preparatory Academy                                    Great Trail 433                         388 S Main St                                              Akron, OH 44311‐1064                                                                                    First Class Mail
Voting Party                   Main St UMC                                                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Main St UMC Suffolk                                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Main St United Methodist Church                                P.O. Box 2897                           Bay St Louis, MS 39521                                                                                                         trustee@umcbsl.org                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Main St United Methodist Church                                Attn: Treasurer                         516 W Main St                                              New Albany, IN 47150                                                Todd.Stepp@inumc.org                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Main St United Methodist Church                                222 Main St                             Boonville, IN 47601                                                                                                            OFFICE@MAINSTREETUMCBOONVILLE.COM   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Main St United Methodist Church                                Attn: Treasurer                         P.O. Box 1517                                              Nashua, NH 03061                                                    office@mainstreet‐umc.org           Email
                                                                                                                                                                                                                                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 255 of 442
                                                                                    Case 20-10343-LSS                                            Doc 8171                                       Filed 01/06/22                                                    Page 271 of 457
                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                    Service List
                                                                                                                                                                             Served as set forth below

        Description                                                        Name                                                                                                  Address                                                                                                            Email                     Method of Service
Voting Party                   Main St United Methodist Church                              Attn: Joseph B Burton                          701 N Main St                                               South Boston, VA 24592                                               brian@jeburtonconstruction.com         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Main St United Methodist Church 701 N Main St South Boston   Attn: Gray Ramsey                              P.O. Box 119                                                South Boston, VA 24592                                               msumc@msumcsobo.org                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Main St United Methodist Church of Dillon, SC, Inc           Attn: Connie Tallon                            401 E Main St                                               Dillon, SC 29536                                                     msumc401@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Main St United Methodist Church of Greenwood, Inc            Attn: Josh Skinner                             109 Cambridge E                                             Greenwood, SC 29646                                                  pastor.james@mainstreetgreenwood.org   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Main St United Methodist Church of Greenwood, Inc            Attn: James McCoy Bruce                        211 N Main St                                               Greenwood, SC 29646                                                  pastor.james@mainstreetgreenwood.org   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Main St United Methodist Church of Hattiesburg, MS           Attn: Amy Smith Trustee Chair of Main St UMC   P.O. Box 1009                                               Hattiesburg, MS 39403                                                donna@mstreetumc.org                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Main St United Methodist Church of McColl                    Attn: Randall Bowers                           210 N Main St                                               McColl, SC 29570                                                     randyebowers@aol.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Main St Utd Methodist Church                                 Blue Ridge Council 551                         300 N Main St                                               Abbeville, SC 29620‐1759                                                                                    First Class Mail
Chartered Organization         Main St Utd Methodist Church                                 Buffalo Trace 156                              222 E Main St                                               Boonville, IN 47601‐1651                                                                                    First Class Mail
Chartered Organization         Main St Utd Methodist Church                                 Blue Ridge Council 551                         211 Main St N                                               Greenwood, SC 29646‐2241                                                                                    First Class Mail
Chartered Organization         Main St Utd Methodist Church                                 Old Hickory Council 427                        306 S Main St                                               Kernersville, NC 27284‐2762                                                                                 First Class Mail
Chartered Organization         Main St Utd Methodist Church                                 Sagamore Council 162                           830 S Main St                                               Kokomo, IN 46901‐5480                                                                                       First Class Mail
Chartered Organization         Main St Utd Methodist Church                                 Colonial Virginia Council 595                  202 N Main St                                               Suffolk, VA 23434‐4421                                                                                      First Class Mail
Chartered Organization         Main St Utd Methodist Church                                 Old Hickory Council 427                        306 S Main St                                               Winston Salem, NC 27101                                                                                     First Class Mail
Voting Party                   Main Street                                                  c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Main Township Volunteer Fire Co                              Columbia‐Montour 504                           2234 Firehall Ln                                            Bloomsburg, PA 17815‐7417                                                                                   First Class Mail
Chartered Organization         Maine Federated Church                                       Baden‐Powell Council 368                       P.O. Box 356                                                Maine, NY 13802‐0356                                                                                        First Class Mail
Chartered Organization         Maine Fire Dept                                              Samoset Council, Bsa 627                       138624 Rainbow Dr                                           Merrill, WI 54452‐5100                                                                                      First Class Mail
Chartered Organization         Maine Lions Club                                             Samoset Council, Bsa 627                       6520 County Rd A                                            Wausau, WI 54401‐8813                                                                                       First Class Mail
Chartered Organization         Maine Maritime Academy                                       Katahdin Area Council 216                      1 Pleasant St                                               Castine, ME 04421‐3034                                                                                      First Class Mail
Chartered Organization         Maine Maritime Museum                                        Pine Tree Council 218                          243 Washington St                                           Bath, ME 04530‐1638                                                                                         First Class Mail
Chartered Organization         Maine Ocean School Foundation                                Katahdin Area Council 216                      P.O. Box 151                                                Searsport, ME 04974‐0151                                                                                    First Class Mail
Voting Party                   Mainesburg UMC (7263)                                        c/o Bentz Law Firm                             Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Maineville Utd Methodist Church                              Dan Beard Council, Bsa 438                     60 E Fosters Maineville Rd                                  Maineville, OH 45039‐9644                                                                                   First Class Mail
Chartered Organization         Mainland Pba 77                                              Jersey Shore Council 341                       6712 Washington Ave Ste 104                                 Egg Harbor Twp, NJ 08234‐1999                                                                               First Class Mail
Chartered Organization         Mainstreet Newspapers                                        Northeast Georgia Council 101                  33 Lee St                                                   Jefferson, GA 30549‐1345                                                                                    First Class Mail
Chartered Organization         Main‐Transit Fire Dept Inc                                   Greater Niagara Frontier Council 380           6777 Main St                                                Williamsville, NY 14221‐5948                                                                                First Class Mail
Chartered Organization         Mainville Sportsmans Club                                    Columbia‐Montour 504                           P.O. Box 208                                                Bloomsburg, PA 17815‐0208                                                                                   First Class Mail
Chartered Organization         Maitland Presbyterian Church                                 Central Florida Council 083                    341 N Orlando Ave                                           Maitland, FL 32751‐4701                                                                                     First Class Mail
Chartered Organization         Maize Utd Methodist Church                                   Quivira Council, Bsa 198                       208 Academy Ave                                             Maize, KS 67101                                                                                             First Class Mail
Chartered Organization         Major Waldron Sportsmens Assoc                               Daniel Webster Council, Bsa 330                26 Rte 9                                                    Barrington, NH 03825                                                                                        First Class Mail
Chartered Organization         Ma‐Ka‐Ja‐Wan Scout Reservation                               Northeast Illinois 129                         W6500 Spring Lake Rd                                        Pearson, WI 54462                                                                                           First Class Mail
Chartered Organization         Makawao Elementary School PTA                                Aloha Council, Bsa 104                         3542 Baldwin Ave                                            Makawao, HI 96768‐9543                                                                                      First Class Mail
Chartered Organization         Makawao Hongwanji Mission‐Buddhist                           Aloha Council, Bsa 104                         P.O. Box 188                                                Makawao, HI 96768‐0188                                                                                      First Class Mail
Chartered Organization         Malcolm Utd Methodist Church                                 Cornhusker Council 324                         P.O. Box 226                                                Malcolm, NE 68402‐0226                                                                                      First Class Mail
Chartered Organization         Malden Lions Club                                            Greater St Louis Area Council 312              P.O. Box 282                                                Malden, MO 63863‐0282                                                                                       First Class Mail
Chartered Organization         Malesus Utd Methodist Church                                 W Tennessee Area Council 559                   448 Old Pinson Rd                                           Jackson, TN 38301‐9578                                                                                      First Class Mail
Chartered Organization         Mall Pharmacy                                                Norwela Council 215                            531 S Main St                                               Springhill, LA 71075‐4027                                                                                   First Class Mail
Chartered Organization         Mallard Creek Hs Aoe                                         Mecklenburg County Council 415                 3825 Johnston Oehler Rd                                     Charlotte, NC 28269‐1017                                                                                    First Class Mail
Chartered Organization         Mallard Creek Presbyterian Church                            Mecklenburg County Council 415                 1600 W Mallard Creek Church Rd                              Charlotte, NC 28262‐2341                                                                                    First Class Mail
Firm                           Mallard Law Firm, PA                                         Damian B. Mallard                              889 N. Washington Blvd.                                     Sarasota, FL 34236                                                   damian@mallardlawfirm.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mallinckrodt Academy PTO                                     Greater St Louis Area Council 312              6020 Pernod Ave                                             St Louis, MO 63139‐1909                                                                                     First Class Mail
Voting Party                   Mallow Presbyterian Church                                   2004 Mallow Rd                                 Covington, VA 24426                                                                                                              mallowpresbyterian@gmail.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Malta Br, Ch Jesus Christ                                    Of Latter‐Day Sts                              P.O. Box 1472                                               Malta, MT 59538‐1472                                                                                        First Class Mail
Voting Party                   Malta Ridge United Methodist Church                          Attn: Roy Arnold                               729 Malta Ave Ext                                           Malta, NY 12020                                                      rylty@aol.com                          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Malta Utd Methodist Church                                   Three Fires Council 127                        P.O. Box 158                                                Malta, IL 60150‐0158                                                                                        First Class Mail
Chartered Organization         Malta Utd Methodist Church                                   Muskingum Valley Council, Bsa 467              Main St                                                     Malta, OH 43758                                                                                             First Class Mail
Chartered Organization         Malta Volunteer Fire Dept                                    Montana Council 315                            P.O. Box 883                                                Malta, MT 59538‐0883                                                                                        First Class Mail
Chartered Organization         Malta Ward ‐ Declo Stake                                     Snake River Council 111                        2534 S 2400 E                                               Malta, ID 83342‐8616                                                                                        First Class Mail
Chartered Organization         Maltby Community Club                                        Mount Baker Council, Bsa 606                   8711 206Th St Se                                            Snohomish, WA 98296                                                                                         First Class Mail
Chartered Organization         Mamakating Lions Club Inc                                    Hudson Valley Council 374                      30 Village Green Holw                                       Wurtsboro, NY 12790‐7640                                                                                    First Class Mail
Voting Party                   Mamaroneck United Methodist Church                           Attn: Trustees                                 546 E Boston Post Rd                                        Mamaroneck, NY 10543                                                 office@mamaroneckumc.org               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mamrelund Lutheran Church                                    Mid‐America Council 326                        410 Eern Ave                                                Stanton, IA 51573                                                                                           First Class Mail
Chartered Organization         Mamrelund Lutheran Church                                    Mid‐America Council 326                        410 Eern Ave                                                Stanton, IA 51573                                                                                           First Class Mail
Chartered Organization         Managed Pay                                                  Las Vegas Area Council 328                     6410 S Eern Ave                                             Las Vegas, NV 89119                                                                                         First Class Mail
Voting Party                   Manahawkin UMC                                               c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Manalapan Cert                                               c/o Health Dept                                120 County Rd 522                                           Manalapan, NJ 07726‐3417                                                                                    First Class Mail
Chartered Organization         Manalapan Township Police Dept                               Monmouth Council, Bsa 347                      120 Rte 522                                                 Manalapan, NJ 07726‐3417                                                                                    First Class Mail
Chartered Organization         Manarah Islamic Academy                                      Minsi Trails Council 502                       1988 Schadt Ave                                             Whitehall, PA 18052‐3747                                                                                    First Class Mail
Chartered Organization         Manasquan Lodge 2534 Bpo Elks                                Monmouth Council, Bsa 347                      P.O. Box 256                                                Manasquan, NJ 08736‐0256                                                                                    First Class Mail
Voting Party                   Manasquan United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Manasquan Utd Methodist Church                               Monmouth Council, Bsa 347                      South and Church Sts                                        Manasquan, NJ 08736                                                                                         First Class Mail
Chartered Organization         Manassas Volunteer Fire Co                                   National Capital Area Council 082              9322 Centreville Rd                                         Manassas, VA 20110‐5133                                                                                     First Class Mail
Chartered Organization         Manatee County Sheriffs Dept                                 Southwest Florida Council 088                  600 Us 301 Blvd W                                           Bradenton, FL 34208                                                                                         First Class Mail
Chartered Organization         Manatee Elementary PTA                                       Gulf Stream Council 085                        7001 Charleston Shores Blvd                                 Lake Worth, FL 33467‐7629                                                                                   First Class Mail
Chartered Organization         Manatee Elementary School                                    Southwest Florida Council 088                  5301 Tice St                                                Fort Myers, FL 33905‐6527                                                                                   First Class Mail
Chartered Organization         Manatee Riverside Rotary Club                                Southwest Florida Council 088                  3407 28Th St E                                              Bradenton, FL 34208‐7309                                                                                    First Class Mail
Voting Party                   Manatee United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Manchaca United Methodist Church                             Attn: Deanna Custer                            1011 Farm to Market 1626                                    Manchaca, TX 78652                                                   deanna@manchacaumc.org                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Manchaca United Methodist Church                             Attn: Dick Christ                              P.O. Box 460                                                Manchaca, TX 78652                                                   busadmin@manchacaumc.org               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Manchaca Utd Methodist Church                                Capitol Area Council 564                       1011 F.M. 1626                                              Manchaca, TX 78748                                                                                          First Class Mail
Chartered Organization         Manchester Community Church                                  Pine Tree Council 218                          P.O. Box 23                                                 Manchester, ME 04351‐0023                                                                                   First Class Mail
Chartered Organization         Manchester Elementary School PTO                             Mid‐America Council 326                        2750 N Hws Cleveland Blvd                                   Omaha, NE 68116‐2687                                                                                        First Class Mail
Chartered Organization         Manchester Fire Dept                                         Northeast Iowa Council 178                     400 E Main St                                               Manchester, IA 52057‐1726                                                                                   First Class Mail
Voting Party                   Manchester Fire Fighters Association                         400 E Main St                                  Manchester, IA 52057                                                                                                             treasurer@manfd.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Manchester First Untied Methodist Church                     Attn: Randall Truette Brown                    105 N Church St                                             Manchester, TN 37355                                                 reverendbrown2010@comcast.net          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Manchester Lions Club                                        Pine Tree Council 218                          P.O. Box 1                                                  Manchester, ME 04351‐0001                                                                                   First Class Mail
Chartered Organization         Manchester Moose Family Center Lodge 699                     Heart Of Virginia Council 602                  11110 Trade Rd                                              North Chesterfield, VA 23236‐3908                                                                           First Class Mail
Voting Party                   Manchester North UMC                                         Attn: David Martin                             300 Parker St                                               Manchester, CT 06042                                                 northchurch@snet.net                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Manchester Police Dept                                       Connecticut Rivers Council, Bsa 066            P.O. Box 191                                                Manchester, CT 06045‐0191                                                                                   First Class Mail
Chartered Organization         Manchester PTO                                               The Spirit of Adventure 227                    Manchester Memorial School                                  Lincoln St                          Manchester, MA 01944                                                    First Class Mail
Chartered Organization         Manchester Township Volunteer Fire Co                        Jersey Shore Council 341                       545 Commonwealth Blvd                                       Toms River, NJ 08757‐1732                                                                                   First Class Mail
Voting Party                   Manchester UMC                                               413 E Butler St                                Manchester, IA 52057                                                                                                             pastorphil@umcmanchester.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Manchester United Methodist Church                           Attn: Rev Phil Estes                           129 Woods Mill Rd                                           Manchester, MO 63011                                                 phil.estes@manchesterumc.org           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Manchester United Methodist Church                           Attn: Pastor                                   5625 Manchester Rd                                          New Franklin, OH 44319                                               pastor@manchesterunitedmethodist.org   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Manchester United Methodist Church                           Attn: Treasurer                                501 Ann Arbor St                                            Manchester, MI 48158                                                 office@manchesterumchurch.org          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Manchester United Methodist Church                           Attn: Bruce Nodurft, Finance Chairman          413 E Butler St                                             Manchester, IA 52057‐1402                                            nodurft@iowatelecom.net                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Manchester Utd Methodist Church                              Northeast Iowa Council 178                     722 E Butler St                                             Manchester, IA 52057‐1618                                                                                   First Class Mail
Chartered Organization         Mancos Scouting Families                                     Great Swest Council 412                        11595 Rd 38 1/2                                             Mancos, CO 81328                                                                                            First Class Mail
Voting Party                   Mancos United Methodist Church                               Attn: Mary Porter                              P.O. Box 505                                                Mancos, CO 81328                                                     mancosumchurch@qwestoffice.net         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mandan Moose Lodge 425                                       Northern Lights Council 429                    111 11Th Ave Ne                                             Mandan, ND 58554‐3743                                                                                       First Class Mail
Chartered Organization         Mandan Police Dept                                           Northern Lights Council 429                    205 1St Ave Nw                                              Mandan, ND 58554‐3162                                                                                       First Class Mail
Chartered Organization         Mandarin Immersion Magnet School PTO                         Sam Houston Area Council 576                   5445 W Alabama St                                           Houston, TX 77056‐5905                                                                                      First Class Mail
Chartered Organization         Mandarin Lutheran Church                                     North Florida Council 087                      11900 San Jose Blvd                                         Jacksonville, FL 32223‐1840                                                                                 First Class Mail
Chartered Organization         Mandarin Presbyterian Church                                 North Florida Council 087                      11844 Mandarin Rd                                           Jacksonville, FL 32223‐1337                                                                                 First Class Mail
Voting Party                   Mandarin United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mandarin Utd Methodist Church                                North Florida Council 087                      11270 San Jose Blvd                                         Jacksonville, FL 32223‐7286                                                                                 First Class Mail
Chartered Organization         Mandated Ministries                                          Circle Ten Council 571                         2504 Crow Creek Dr                                          Dallas, TX 75233‐3308                                                                                       First Class Mail
Chartered Organization         Manderson Lehr American Legion Post 162                      Mid‐America Council 326                        305 W Church St                                             Albion, NE 68620‐1224                                                                                       First Class Mail
Chartered Organization         Mango House                                                  Denver Area Council 061                        1532 Galena St                                              Aurora, CO 80010‐2287                                                                                       First Class Mail
Chartered Organization         Mango House                                                  10180 E Colfax Ave Ste 150                     Aurora, CO 80010‐5042                                                                                                                                                   First Class Mail
Chartered Organization         Mangohick Volunteer Fire Dept                                Heart Of Virginia Council 602                  3493 King William Rd                                        Manquin, VA 23106                                                                                           First Class Mail
Voting Party                   Mangum Memorial United Methodist Church                      Attn: Nicholas Wibben                          1620 Mirador Dr                                             Shreveport, LA 71119                                                 wibben@aol.com                         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Mangum Memorial United Methodist Church                      Attn: Pastor & Treasurer                       3939 Pines Rd                                               Shreveport, LA 71119                                                 pastor@mangumchurch.org                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Manhattan Beach Police Dept                                  Greater Los Angeles Area 033                   420 15Th St                                                 Manhattan Beach, CA 90266‐4607                                                                              First Class Mail
Chartered Organization         Manhattan First Baptist Church                               Rainbow Council 702                            P.O. Box 381                                                Manhattan, IL 60442‐0381                                                                                    First Class Mail
Voting Party                   Manhattan First United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Manhattan First United Methodist Church                      612 Poyntz                                     Manhattan, KS 66502                                                                                                                                                     First Class Mail
Chartered Organization         Manhattan Parents For Scouting                               Greater Los Angeles Area 033                   129 18Th St                                                 Manhattan Beach, CA 90266‐4648                                                                              First Class Mail
Chartered Organization         Manhattan Township Historical Society                        Rainbow Council 702                            P.O. Box 269                                                Manhattan, IL 60442‐0269                                                                                    First Class Mail
Chartered Organization         Manheim Lions Club                                           Pennsylvania Dutch Council 524                 190 N Charlotte St                                          Manheim, PA 17545‐1106                                                                                      First Class Mail
Chartered Organization         Manheim Sertoma                                              Pennsylvania Dutch Council 524                 P.O. Box 214                                                Manheim, PA 17545‐0214                                                                                      First Class Mail
Chartered Organization         Manistee Elks Club                                           President Gerald R Ford 781                    432 River St                                                Manistee, MI 49660‐1582                                                                                     First Class Mail
Voting Party                   Manito United Methodist                                      c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Manito Utd Methodist Church                                  Inland NW Council 611                          3220 S Grand Blvd                                           Spokane, WA 99203‐2760                                                                                      First Class Mail
Chartered Organization         Manitou Kiwanis Club                                         Pikes Peak Council 060                         103 Pawnee Ave                                              Manitou Springs, CO 80829‐2148                                                                              First Class Mail
Chartered Organization         Manitou Moose Lodge 1107                                     Sagamore Council 162                           1911 Westside Rd                                            Rochester, IN 46975‐9353                                                                                    First Class Mail
Chartered Organization         Manitowoc Police Dept                                        Bay‐Lakes Council 635                          910 Jay St                                                  Manitowoc, WI 54220‐4522                                                                                    First Class Mail
Chartered Organization         Mankato Dept Of Public Safety                                Twin Valley Council Bsa 283                    710 S Front St                                              Mankato, MN 56001‐3803                                                                                      First Class Mail
Chartered Organization         Mankato Eagles Aerie 269                                     Twin Valley Council Bsa 283                    708 N Riverfront Dr                                         Mankato, MN 56001‐3453                                                                                      First Class Mail
Chartered Organization         Mankato Masonic Lodge 12                                     Twin Valley Council Bsa 283                    309 S 2Nd St                                                Mankato, MN 56001‐3657                                                                                      First Class Mail
Chartered Organization         Mankato Ymca                                                 Twin Valley Council Bsa 283                    1401 S Riverfront Dr                                        Mankato, MN 56001‐2413                                                                                      First Class Mail
Chartered Organization         Manlius Fire Dept                                            Longhouse Council 373                          8200 Cazenovia Rd                                           Manlius, NY 13104‐8728                                                                                      First Class Mail
Firm                           Manly, Stewart & Finaldi                                     John C. Manly; Saul E. Wolf                    19100 Von Karman Ave., Ste. 800                             Irvine, CA 92612                                                     tboren@manlystewart.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Manning Vfw                                                  Mid‐America Council 326                        806 2Nd St                                                  Manning, IA 51455‐1006                                                                                      First Class Mail
Chartered Organization         Mannsville Public Schools                                    Arbuckle Area Council 468                      P.O. Box 68                                                 Mannsville, OK 73447‐0068                                                                                   First Class Mail
Chartered Organization         Mannsville Utd Methodist Church                              Arbuckle Area Council 468                      P.O. Box 441                                                Mannsville, OK 73447‐0441                                                                                   First Class Mail
Chartered Organization         Manoa Elementary School Apt                                  Aloha Council, Bsa 104                         3155 Manoa Rd                                               Honolulu, HI 96822‐1228                                                                                     First Class Mail
Voting Party                   Manor Memorial United Methodist Church                       Attn: Treasurer                                9320 N Congress St                                          New Market, VA 22844                                                 manormemorial@gmail.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Manorville Fire Dept                                         Suffolk County Council Inc 404                 16 Silas Carter Rd                                          Manorville, NY 11949‐2412                                                                                   First Class Mail
Chartered Organization         Mansfield Church Of Christ                                   Longhorn Council 662                           580 Pleasant Ridge Dr                                       Mansfield, TX 76063‐1552                                                                                    First Class Mail
Voting Party                   Mansfield First United Methodist                             Attn: Margo Jones                              P.O. Box 56                                                 Mansfield, AR 72944                                                  jones.margo@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mansfield Lodge 543                                          Ozark Trails Council 306                       3221 Oetting Rd                                             Mansfield, MO 65704‐8369                                                                                    First Class Mail
Chartered Organization         Mansfield Police Dept                                        Buckeye Council 436                            30 N Diamond St                                             Mansfield, OH 44902‐1702                                                                                    First Class Mail
Chartered Organization         Mansfield Police Dept                                        Longhorn Council 662                           1601 Heritage Pkwy                                          Mansfield, TX 76063‐8308                                                                                    First Class Mail
Chartered Organization         Mansfield Utd Methodist Church                               Westark Area Council 016                       111 S Division Ave                                          Mansfield, AR 72944                                                                                         First Class Mail
Chartered Organization         Manson Lions Club                                            Mid‐America Council 326                        2604 180Th St                                               Manson, IA 50563‐7507                                                                                       First Class Mail
Voting Party                   Mansons UMC                                                  c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Manteno Sportsmans Club                                      Rainbow Council 702                            851 N Main St                                               Manteno, IL 60950‐1255                                                                                      First Class Mail
Voting Party                   Manteno UMC                                                  Attn: Rev Joy Schlesselman                     225 W 2nd St                                                Manteno, IL 60950                                                    mantenoumcfamily@gmail.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Manteo Lions Club                                            Tidewater Council 596                          P.O. Box 636                                                Manteo, NC 27954‐0636                                                                                       First Class Mail
Chartered Organization         Mantorville Fire Dept                                        Gamehaven 299                                  412 County Rd 15                                            Mantorville, MN 55955‐8022                                                                                  First Class Mail
Voting Party                   Mantrose United Methodist Church                             Attn: Harold Phillips                          518 S State St                                              P.O. Box 3237                       Montrose, MI 48457               Montroseumc1@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mantua Elementary School PTA Inc                             National Capital Area Council 082              Mantua                                                      Fairfax, VA 22030                                                                                           First Class Mail
Chartered Organization         Mantua Lions Club                                            Garden State Council 690                       35 High St                                                  Mantua, NJ 08051‐1459                                                                                       First Class Mail
Chartered Organization         Mantua Lodge 95 F&Am                                         Garden State Council 690                       45 Mantua Blvd                                              Mantua, NJ 08051‐1448                                                                                       First Class Mail
Chartered Organization         Mantua Parent Teacher Inc                                    National Capital Area Council 082              9107 Horner Ct                                              Fairfax, VA 22031‐3838                                                                                      First Class Mail
Chartered Organization         Mantua Township Police Dept                                  Garden State Council 690                       405 Main St                                                 Mantua, NJ 08051‐1002                                                                                       First Class Mail
Chartered Organization         Manuel High School Jrotc                                     Denver Area Council 061                        1700 E 28Th Ave                                             Denver, CO 80205‐4502                                                                                       First Class Mail
Chartered Organization         Manufacturers Bank & Trust Co                                Winnebago Council, Bsa 173                     106 W Main St                                               Lake Mills, IA 50450‐1404                                                                                   First Class Mail
Chartered Organization         Manvel Volunteer Fire Dept                                   Bay Area Council 574                           6212 Masters Rd                                             Manvel, TX 77578                                                                                            First Class Mail
Chartered Organization         Manvel‐Iowa Colony Lions                                     Bay Area Council 574                           P.O. Box 678                                                Manvel, TX 77578‐0678                                                                                       First Class Mail
Chartered Organization         Manzanita Elementary School Parents                          San Francisco Bay Area Council 028             2409 E 27Th St                                              Oakland, CA 94601‐1303                                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                    Page 256 of 442
                                                                                      Case 20-10343-LSS                                              Doc 8171                                         Filed 01/06/22                                                        Page 272 of 457
                                                                                                                                                                                         Exhibit B
                                                                                                                                                                                          Service List
                                                                                                                                                                                   Served as set forth below

        Description                                                            Name                                                                                                    Address                                                                                                                 Email                          Method of Service
Chartered Organization         Manzano Day School                                            Great Swest Council 412                           1801 Central Ave Nw                                           Albuquerque, NM 87104‐1143                                                                                            First Class Mail
Chartered Organization         Manzanola Ems                                                 Rocky Mountain Council 063                        200 W S Railroad                                              Manzanola, CO 81058                                                                                                   First Class Mail
Voting Party                   Manzanola United Methodist Church                             Attn: Alice McDonald, Treasurer                   P.O. Box 297                                                  Manzanola, CO 81062                                                      janeenhill73@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Map It                                                        Black Swamp Area Council 449                      539 S Main St Rm 270‐M                                        Findlay, OH 45840‐3229                                                                                                First Class Mail
Voting Party                   Maple Ave UMC ‐ Marietta                                      c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200               Tampa, FL 33602                   erice@bradley.com                            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Maple Ave Utd Methodist Church                                Atlanta Area Council 092                          63 Maple Ave Nw                                               Marietta, GA 30064‐2200                                                                                               First Class Mail
Chartered Organization         Maple Bluff Citizens For Scouting                             Glaciers Edge Council 620                         18 Oxford Pl                                                  Madison, WI 53704‐5955                                                                                                First Class Mail
Chartered Organization         Maple East Elementary School PTA                              Greater Niagara Frontier Council 380              1500 Maple Rd                                                 Williamsville, NY 14221‐3647                                                                                          First Class Mail
Chartered Organization         Maple Grove Fire Dept                                         Northern Star Council 250                         P.O. Box 1180                                                 Maple Grove, MN 55311‐6180                                                                                            First Class Mail
Chartered Organization         Maple Grove Lutheran Church                                   Northern Star Council 250                         9251 Elm Creek Blvd N                                         Maple Grove, MN 55369‐5004                                                                                            First Class Mail
Chartered Organization         Maple Grove Police Dept                                       Northern Star Council 250                         P.O. Box 1180                                                 Maple Grove, MN 55311‐6180                                                                                            First Class Mail
Chartered Organization         Maple Grove Utd Methodist Church                              Blue Ridge Mtns Council 599                       452 Henry Rd                                                  Ferrum, VA 24088‐3057                                                                                                 First Class Mail
Chartered Organization         Maple Heights                                                 Chester County Council 539                        301 W Maple Heights Ct                                        Rising Sun, MD 21911‐1898                                                                                             First Class Mail
Voting Party                   Maple Lake United Methodist Church (30318)                    c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200             Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Maple Lake Utd Methodist Church                               Northeastern Pennsylvania Council 501             632 State Rte 690                                             Spring Brook Township, PA 18444‐6512                                                                                  First Class Mail
Chartered Organization         Maple Lawn Elementary                                         Circle Ten Council 571                            3120 Inwood Rd                                                Dallas, TX 75235‐7626                                                                                                 First Class Mail
Voting Party                   Maple Leaf Lutheran Church                                    Attn: Margaret Cook                               10005 32nd Ave NE                                             Seattle, WA 98155                                                        mapleleafoffice@comcast.et                   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Maple Lodge 127 A F & A M                                     Oregon Trail Council 697                          P.O. Box 613                                                  Riddle, OR 97469‐0613                                                                                                 First Class Mail
Chartered Organization         Maple Road School Parent Teacher Assoc                        Northern New Jersey Council, Bsa 333              36 Maple Rd                                                   West Milford, NJ 07480‐2706                                                                                           First Class Mail
Voting Party                   Maple Springs 2569 Reynolda Rd, Winston‐Salem, NC 27106       c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200               Tampa, FL 33602                   erice@bradley.com                            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Maple St Congregational Church                                The Spirit Of Adventure 227                       90 Maple St                                                   Danvers, MA 01923‐2843                                                                                                First Class Mail
Voting Party                   Maple St United Methodist Church                              Attn: Vickie Snider, Treasurer, Maple St Church   438 E Wheeling St                                             Lancaster, OH 43130                                                      treasurer@maplestchurch.com                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Maple Tree Boys & Girls Club                                  Three Harbors Council 636                         6644 N 107Th St                                               Milwaukee, WI 53224‐5006                                                                                              First Class Mail
Voting Party                   Maple United Methodist Church                                 342 Capital Ave NE                                Battle Creek, MI 49017                                                                                                                 mapleumc@yahoo.com                           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Maple Valley Fire                                             Chief Seattle Council 609                         16928 234Th Way Se                                            Maple Valley, WA 98038‐7104                                                                                           First Class Mail
Chartered Organization         Maplebrook Home & School Assoc                                Three Fires Council 127                           1630 Warbler Dr                                               Naperville, IL 60565‐2312                                                                                             First Class Mail
Chartered Organization         Mapledale Assoc                                               Dan Beard Council, Bsa 438                        6100 Hagewa Dr                                                Blue Ash, OH 45242‐6231                                                                                               First Class Mail
Chartered Organization         Maplegrove Grange                                             Denver Area Council 061                           3130 Youngfield St                                            Wheat Ridge, CO 80215‐6544                                                                                            First Class Mail
Chartered Organization         Maplemere Elementary School                                   Greater Niagara Frontier Council 380              236 E Maplemere Rd                                            Buffalo, NY 14221‐3115                                                                                                First Class Mail
Voting Party                   Maples Memorial United Methodist Church                       Attn: Elizabeth Treadway                          8745 Goodman Rd                                               Olive Branch, MS 38654                                                   stephen@maplesChurch.org                     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Maples Memorial Utd Methodist Church                          Chickasaw Council 558                             P.O. Box 213                                                  Olive Branch, MS 38654‐0213                                                                                           First Class Mail
Voting Party                   Mapleton Grace (01521)                                        c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200             Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mapleton Lions Club                                           Katahdin Area Council 216                         P.O. Box 405                                                  Mapleton, ME 04757‐0405                                                                                               First Class Mail
Chartered Organization         Mapleton Rotary Club                                          Mid‐America Council 326                           P.O. Box 67                                                   Mapleton, IA 51034‐0067                                                                                               First Class Mail
Voting Party                   Mapleton United Methodist Church                              Attn: Treasurer Michelle Buck                     P. O. Box 208                                                 Mapleton, ME 04757                                                       jdefeli1@maine.rr.com                        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Maplewest Elementary School ,Pta                              Greater Niagara Frontier Council 380              851 Maple Rd                                                  Williamsville, NY 14221‐3260                                                                                          First Class Mail
Chartered Organization         Maplewood Christian Church                                    Great Trail 433                                   7300 State Rte 88                                             Ravenna, OH 44266‐9115                                                                                                First Class Mail
Chartered Organization         Maplewood Elementary                                          Greater St Louis Area Council 312                 1700 Jerome Ln                                                Cahokia, IL 62206‐2329                                                                                                First Class Mail
Chartered Organization         Maplewood Elementary School                                   Erie Shores Council 460                           6769 Maplewood Ave                                            Sylvania, OH 43560‐1954                                                                                               First Class Mail
Chartered Organization         Maplewood Lions Club                                          Calcasieu Area Council 209                        Maplewood Dr                                                  Sulphur, LA 70663                                                                                                     First Class Mail
Chartered Organization         Maplewood Reformed Church                                     President Gerald R Ford 781                       133 E 34Th St                                                 Holland, MI 49423‐7003                                                                                                First Class Mail
Chartered Organization         Maplewood Richmond Heights Elem PTO                           Greater St Louis Area Council 312                 1800 Princeton Pl                                             Richmond Heights, MO 63117‐2421                                                                                       First Class Mail
Chartered Organization         Maplewood Rotary Club                                         Northern New Jersey Council, Bsa 333              P.O. Box 1099                                                 Maplewood, NJ 07040‐0452                                                                                              First Class Mail
Chartered Organization         Maplewood Utd Methodist Church                                Mid‐America Council 326                           3535 Maplewood Blvd                                           Omaha, NE 68134‐4561                                                                                                  First Class Mail
Chartered Organization         Maplewood Ward LDS Church                                     Northern New Jersey Council, Bsa 333              1600 Springfield Ave                                          Maplewood, NJ 07040‐2414                                                                                              First Class Mail
Chartered Organization         Maps Air Museum                                               Great Trail 433                                   2260 International Pkwy                                       North Canton, OH 44720‐1375                                                                                           First Class Mail
Chartered Organization         Mar Graphics                                                  Greater St Louis Area Council 312                 P.O. Box 254                                                  Valmeyer, IL 62295‐0254                                                                                               First Class Mail
Chartered Organization         Marais Des Cygnes Society                                     Heart Of America Council 307                      312 N Havanah St                                              Butler, MO 64730‐1530                                                                                                 First Class Mail
Chartered Organization         Marana Middle School PTO                                      Catalina Council 011                              11285 W Grier Rd                                              Marana, AZ 85653‐9609                                                                                                 First Class Mail
Chartered Organization         Marana Police Dept                                            Catalina Council 011                              11555 W Civic Center Dr                                       Marana, AZ 85653‐7002                                                                                                 First Class Mail
Chartered Organization         Maranatha Assembly Interdenominational                        Pine Tree Council 218                             P.O. Box 114                                                  Anson, ME 04911‐0114                                                                                                  First Class Mail
Chartered Organization         Marantha Baptist Church                                       Cherokee Area Council 556                         453 Blue Springs Ln Se                                        Cleveland, TN 37311‐8560                                                                                              First Class Mail
Chartered Organization         Mararishi Sch, Age Enlightenment                              Mid Iowa Council 177                              804 Dr Robert Keith Wallace Dr                                Fairfield, IA 52556‐2262                                                                                              First Class Mail
Chartered Organization         Marathon Church                                               Blue Ridge Council 551                            315 Roe Rd                                                    Greenville, SC 29611‐7433                                                                                             First Class Mail
Chartered Organization         Marathon Petroleum Co LLC                                     Black Swamp Area Council 449                      539 S Main St                                                 Findlay, OH 45840‐3229                                                                                                First Class Mail
Chartered Organization         Marathon Petroleum Corp                                       Great Lakes Fsc 272                               1001 S Oakwood                                                Detroit, MI 48217‐1319                                                                                                First Class Mail
Chartered Organization         Marble Elementary School PTO                                  Water And Woods Council 782                       729 N Hagadorn Rd                                             East Lansing, MI 48823‐2814                                                                                           First Class Mail
Chartered Organization         Marble Falls First Baptist Church                             Capitol Area Council 564                          901 La Ventana                                                Marble Falls, TX 78654‐6205                                                                                           First Class Mail
Voting Party                   Marble Hill UMC                                               P.O. Box 950                                      Marble Hill, MO 63764                                                                                                                  MHMOUMC1@YAHOO.COM                           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marble Hill United Methodist Church                           300 Hwy 34 E                                      Marble Hill, MO 63764                                                                                                                  MHMOUMC1@YAHOO.COM                           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marblehead Peninsula Chamber Of Commerce                      Erie Shores Council 460                           5681 E Harbor Rd                                              Marblehead, OH 43440‐9788                                                                                             First Class Mail
Chartered Organization         Marblehead Recreation Parks                                   The Spirit Of Adventure 227                       10 Humphrey St                                                Marblehead, MA 01945‐1906                                                                                             First Class Mail
Chartered Organization         Marbletown Reformed Church                                    Rip Van Winkle Council 405                        P.O. Box 63                                                   Stone Ridge, NY 12484‐0063                                                                                            First Class Mail
Chartered Organization         Marbridge Foundation                                          Capitol Area Council 564                          2310 Bliss Spillar Rd                                         Manchaca, TX 78652‐4400                                                                                               First Class Mail
Firm                           Marc .J Bern & Partners, LLP                                  Joseph J. Cappelli                                101 West Elm Street, Ste 520                                  Conshohocken, PA 19428                                                   JCappelli@bernllp.com                        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Marc J Bern & Partners LLP                                    Joseph J. Cappelli                                101 West Elm St, Ste 215                                      Conshohocken, PA 19428                                                   JCappelli@bernllp.com                        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marceline Fire Dept                                           Great Rivers Council 653                          218 W Santa Fe Ave                                            Marceline, MO 64658‐1148                                                                                              First Class Mail
Chartered Organization         Marcella Community Center                                     Patriots Path Council 358                         831 Green Pond Rd                                             Rockaway, NJ 07866‐4504                                                                                               First Class Mail
Voting Party                   Marcellus United Methodist Chuech                             Attn: Michael F Burt                              2545 Howlett Hill Rd                                          Marcellus, NY 13108                                                      mfburt22@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marcellus United Methodist Church                             Attn: Rev Dr Sung Ah                              1 Slocombe Ave                                                Marcellus, NY 13108                                                      marcellusumc1slocombe@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marco Romero Jr                                               c/o Faegre Drinker Biddle & Reath LLP             Attn: Laura Appleby                                           1177 Ave of the Americas 41st Fl       New York, NY 10036                laura.appleby@faegredrinker.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marco Romero Jr                                               c/o Naqvi Injury Law                              Attn: Elizabeth Coats                                         9500 Flamingo Rd, Ste 104              Las Vegas, NV 89147               elizabeth@naqvi.com                          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marcola Elementary Parent Org                                 Oregon Trail Council 697                          38300 Wendling Rd                                             Marcola, OR 97454‐9732                                                                                                First Class Mail
Chartered Organization         Marcos Pizza                                                  Great Smoky Mountain Council 557                  7121 Maynardville Pike                                        Knoxville, TN 37918‐5739                                                                                              First Class Mail
Chartered Organization         Marcy PTA                                                     Potawatomi Area Council 651                       W180N4851 Marcy Rd                                            Menomonee Falls, WI 53051                                                                                             First Class Mail
Chartered Organization         Marengo First Baptist Church                                  Blackhawk Area 660                                320 E Washington St                                           Marengo, IL 60152‐3318                                                                                                First Class Mail
Chartered Organization         Marengo High School                                           Black Warrior Council 006                         Rt 1 Box 154                                                  Dixon Mills, AL 36736                                                                                                 First Class Mail
Voting Party                   Marengo United Methodist Church                               119 E Washington St                               Marengo, IL 60152                                                                                                                      doc@marengoumc.org; mumc.treas@outlook.com   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Margaret Daniel Primary                                       Caddo Area Council 584                            1323 Foster Dr                                                Ashdown, AR 71822‐3217                                                                                                First Class Mail
Chartered Organization         Margaret Fain Elementary School PTA                           Atlanta Area Council 092                          101 Hemphill School Rd Nw                                     Atlanta, GA 30331‐1621                                                                                                First Class Mail
Chartered Organization         Margaret K Roberts School PTO                                 Bay‐Lakes Council 635                             270 Candy Ln                                                  Fond Du Lac, WI 54935‐5323                                                                                            First Class Mail
Voting Party                   Margaret M Fox                                                6 E Wessex Wy                                     Blythewood, SC 29016                                                                                                                   pegfox2@gmail.com                            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Margate Public Safety                                         South Florida Council 084                         5790 Margate Blvd                                             Margate, FL 33063‐3614                                                                                                First Class Mail
Voting Party                   Maria Regina RC Church                                        c/o Cullen and Dykman LLP                         Attn: Matthew G Roseman                                       100 Quentin Roosevelt Blvd             Garden City, NY 11530             MRoseman@cullenllp.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marian Charitable Foundation                                  South Florida Council 084                         12100 W Dixie Hwy                                             North Miami, FL 33161‐5426                                                                                            First Class Mail
Voting Party                   Marianna First United Methodist Church                        c/o Friday, Eldredge & Clark LLP                  Attn: Lindsey Emerson Raines                                  400 W Capitol Ave, Ste 2000            Little Rock, AR 72201             lraines@fridayfirm.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marianna First United Methodist Church                        Attn: Rev Glenn Hicks                             59 S Poplar St                                                Marianna, AR 72360                                                       glenn.hicks@arumc.org                        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marianna Optimist Club                                        Alabama‐Florida Council 003                       P.O. Box 943                                                  Marianna, FL 32447‐0943                                                                                               First Class Mail
Chartered Organization         Maricopa Live Steamers                                        Grand Canyon Council 010                          22822 N 43Rd Ave                                              Glendale, AZ 85310‐4403                                                                                               First Class Mail
Chartered Organization         Maricopa Live Steamers Railroad Heritage                      Preservation Society                              22822 N 23Rd Ave                                              Glendale, AZ 85310                                                                                                    First Class Mail
Chartered Organization         Maricopa Veteran Center                                       Grand Canyon Council 010                          P.O. Box 152                                                  Maricopa, AZ 85139‐0049                                                                                               First Class Mail
Chartered Organization         Maricopa Veterans Center                                      Grand Canyon Council 010                          P.O. Box 152                                                  Maricopa, AZ 85139‐0049                                                                                               First Class Mail
Chartered Organization         Maricopa Youth Mariners                                       Grand Canyon Council 010                          8708 W Harbor Blvd                                            Peoria, AZ 85383‐9726                                                                                                 First Class Mail
Chartered Organization         Mariemont Community Church                                    Dan Beard Council, Bsa 438                        3908 Plainville Rd                                            Cincinnati, OH 45227‐3202                                                                                             First Class Mail
Chartered Organization         Marienville Area Civic Assoc                                  French Creek Council 532                          P.O. Box 138                                                  Marienville, PA 16239‐0138                                                                                            First Class Mail
Voting Party                   Marienville United Methodist Church (85606)                   c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200             Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marietta Lions Club                                           Arbuckle Area Council 468                         P.O. Box 32                                                   Marietta, OK 73448‐0032                                                                                               First Class Mail
Chartered Organization         Marietta Lions Club                                           Arbuckle Area Council 468                         P.O. Box 355                                                  Marietta, OK 73448‐0355                                                                                               First Class Mail
Chartered Organization         Marietta Police Explorers Post 2                              Atlanta Area Council 092                          240 Lemon St Ne                                               Marietta, GA 30060‐1651                                                                                               First Class Mail
Chartered Organization         Marietta Sixth Grade Academy                                  Atlanta Area Council 092                          340 Aviation Rd Se                                            Marietta, GA 30060‐2464                                                                                               First Class Mail
Voting Party                   Marilla United Methodist Church                               Attn: Maura McGuire                               1080 Pittsford Victor Rd, Ste 200                             Pittsford, NY 14534                                                      mmcguire@morgdevo.com                        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marilla United Methodist Church                               Attn: Alice Priset                                1910 Two Rod Rd                                               Marilla, NY 14102                                                        alpriset@roadrunner.com                      Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marilyn L Roth                                                514 Howard Ct                                     Fairmount, IN 46928                                                                                                                                                                 First Class Mail
Voting Party                   Marin Cncl 35                                                 225 W End Ave                                     San Rafael, CA 94901‐2645                                                                                                                                                           First Class Mail
Chartered Organization         Marin Council Camping Committee                               Marin Council 035                                 225 W End Ave                                                 San Rafael, CA 94901‐2645                                                                                             First Class Mail
Chartered Organization         Marin County Fire Dept                                        Marin Council 035                                 P.O. Box 518                                                  Woodacre, CA 94973‐0518                                                                                               First Class Mail
Chartered Organization         Marin County Search & Rescue                                  Marin Council 035                                 1600 Los Gamos Dr Ste 200                                     San Rafael, CA 94903‐1807                                                                                             First Class Mail
Chartered Organization         Marin Masonic Lodge No 191                                    Marin Council 035                                 1010 Lootens Pl                                               San Rafael, CA 94901                                                                                                  First Class Mail
Chartered Organization         Marin Rod & Gun Club                                          Marin Council 035                                 P.O. Box 463                                                  San Quentin, CA 94964‐0463                                                                                            First Class Mail
Chartered Organization         Marina Police Cadet Program                                   Silicon Valley Monterey Bay 055                   211 Hillcrest Ave                                             Marina, CA 93933‐3534                                                                                                 First Class Mail
Chartered Organization         Marine Cadets Of Washington                                   Cascade Pacific Council 492                       9208 Ne Hwy 99 Unit 107‐432                                   Vancouver, WA 98665‐8986                                                                                              First Class Mail
Chartered Organization         Marine Corp League Detachment 299                             New Birth Of Freedom 544                          304 Sarhelm Rd                                                Harrisburg, PA 17112‐3342                                                                                             First Class Mail
Chartered Organization         Marine Corp League Detachment 57                              Greater Tampa Bay Area 089                        P.O. Box 15503                                                St Petersburg, FL 33733‐5503                                                                                          First Class Mail
Chartered Organization         Marine Corps Assoc And Foundation                             East Carolina Council 426                         243 River Bend Rd                                             Jacksonville, NC 28540‐2981                                                                                           First Class Mail
Chartered Organization         Marine Corps Assoc And Foundation                             National Capital Area Council 082                 715 Broadway St                                               Quantico, VA 22134‐5176                                                                                               First Class Mail
Chartered Organization         Marine Corps Junior Rotc                                      Gulf Coast Council 773                            501 Mosley Dr                                                 Lynn Haven, FL 32444‐5609                                                                                             First Class Mail
Chartered Organization         Marine Corps League Det 1155                                  Mt Diablo‐Silverado Council 023                   4090 Courtland Dr                                             Oakley, CA 94561‐2623                                                                                                 First Class Mail
Chartered Organization         Marine Corps League Det 1272                                  Black Warrior Council 006                         1655 Mcfarland Blvd N Pmb 152                                 Tuscaloosa, AL 35406‐2212                                                                                             First Class Mail
Chartered Organization         Marine Corps League Detachment 1199                           Las Vegas Area Council 328                        2371 Carson St                                                Pahrump, NV 89048‐7605                                                                                                First Class Mail
Chartered Organization         Marine Corps League Roan Creek 992                            Golden Spread Council 562                         P.O. Box 1452                                                 Amarillo, TX 79105‐1452                                                                                               First Class Mail
Chartered Organization         Marine Lodge Af & Am                                          Cape Cod And Islands Cncl 224                     160 Main St                                                   Falmouth, MA 02540‐2765                                                                                               First Class Mail
Chartered Organization         Marine Memorial Chapel                                        San Diego Imperial Council 049                    Bldg 1344 A St                                                Camp Pendleton, CA 92055                                                                                              First Class Mail
Chartered Organization         Marine Military Academy                                       Rio Grande Council 775                            320 Iwo Jima Blvd                                             Harlingen, TX 78550‐3627                                                                                              First Class Mail
Voting Party                   Marine Sports MFG, Inc                                        1514 Sydney Rd                                    Plant City, FL 33566                                                                                                                   miker@marinesportsmfg.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marine View Presbyterian Church                               Pacific Harbors Council, Bsa 612                  8469 E Side Dr Ne                                             Tacoma, WA 98422‐1188                                                                                                 First Class Mail
Voting Party                   Mariner UMC                                                   c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200               Tampa, FL 33602                   erice@bradley.com                            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mariner Utd Methodist Church                                  Greater Tampa Bay Area 089                        7079 Mariner Blvd                                             Spring Hill, FL 34609‐1045                                                                                            First Class Mail
Chartered Organization         Mariners Christian School                                     Orange County Council 039                         300 Fischer Ave                                               Costa Mesa, CA 92626‐4523                                                                                             First Class Mail
Chartered Organization         Marion Cares                                                  Hawkeye Area Council 172                          1050 Mcgowan Blvd                                             Marion, IA 52302‐2440                                                                                                 First Class Mail
Voting Party                   Marion Center United Methodist Church (98266)                 c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200             Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marion Christian Church                                       Hawkeye Area Council 172                          1050 Mcgowan Blvd                                             Marion, IA 52302‐2440                                                                                                 First Class Mail
Voting Party                   Marion Christian Church (Disciples of Christ)                 1050 McGowan Blvd                                 Marion, IA 53202                                                                                                                       jrobison@allenvernon.com                     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marion County Lodge 2684                                      Black Warrior Council 006                         P.O. Box 614                                                  Hamilton, AL 35570‐0614                                                                                               First Class Mail
Chartered Organization         Marion County Sheriffs Office                                 Buckeye Council 436                               889 Marion Williamsport Rd E                                  Marion, OH 43302‐8686                                                                                                 First Class Mail
Chartered Organization         Marion East Cedar Rapids Rotary Club                          Hawkeye Area Council 172                          3100 Oakland Rd Ne                                            Cedar Rapids, IA 52402‐4043                                                                                           First Class Mail
Voting Party                   Marion First United Methodist Church                          c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200             Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marion First United Methodist Church                          Attn: Mary Swain                                  624 S Adams St                                                Marion, IN 46953                                                         info@marionumc.org                           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marion First Utd Methodist Church                             Piedmont Council 420                              176 Robert St                                                 Marion, NC 28752‐3792                                                                                                 First Class Mail
Chartered Organization         Marion Lee Miller Legion Post 931                             W D Boyce 138                                     207 W Hely St                                                 Towanda, IL 61776‐7624                                                                                                First Class Mail
Chartered Organization         Marion Metro Kiwanis                                          Hawkeye Area Council 172                          7471 Commune Ct                                               Cedar Rapids, IA 52411‐8017                                                                                           First Class Mail
Chartered Organization         Marion Moose Family Center 1705                               Piedmont Council 420                              P.O. Box 1359                                                 Marion, NC 28752‐1359                                                                                                 First Class Mail
Chartered Organization         Marion Police Dept                                            Piedmont Council 420                              270 S Main St                                                 Marion, NC 28752‐4551                                                                                                 First Class Mail
Chartered Organization         Marion Rotary Club                                            Chickasaw Council 558                             724 Carter Dr                                                 Marion, AR 72364‐2403                                                                                                 First Class Mail
Chartered Organization         Marion Seltzer School                                         Lake Erie Council 440                             1468 W 98Th St                                                Cleveland, OH 44102‐2616                                                                                              First Class Mail
Chartered Organization         Marion Sterling School                                        Lake Erie Council 440                             3033 Central Ave                                              Cleveland, OH 44115‐3044                                                                                              First Class Mail
Voting Party                   Marion United Methodist Church                                Attn: Treasurer, Marion United Methodist Church   112 S College St                                              Marion, KY 42064                                                         M_umc@bellsouth.net                          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marion United Methodist Church                                Attn: Cynthia James                               P.O. Box 389                                                  Marion, AR 72364                                                         lraines@fridayfirm.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mariposa Academy Team Up                                      Nevada Area Council 329                           3875 Glen St                                                  Reno, NV 89502‐4803                                                                                                   First Class Mail
Chartered Organization         Mariposa Parent Teacher Org                                   Grand Canyon Council 010                          50 E Knox Rd                                                  Tempe, AZ 85284‐3183                                                                                                  First Class Mail
Voting Party                   Mariposa United Methodist Church                              Attn: Pastor Mark Buenafe                         4991 6th St P.O. Box 248                                      Mariposa, CA 95338                                                       mariposaumc@sti.net                          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marissa Fire Dept                                             Greater St Louis Area Council 312                 200 W North Railroad St                                       Marissa, IL 62257‐1361                                                                                                First Class Mail
Chartered Organization         Marissa Lions Club                                            Greater St Louis Area Council 312                 815 N Borders Ave                                             Marissa, IL 62257‐1179                                                                                                First Class Mail
Chartered Organization         Marissa Recreational Area Assoc                               Greater St Louis Area Council 312                 815 N Borders Ave                                             Marissa, IL 62257‐1179                                                                                                First Class Mail
Chartered Organization         Mark And Ruth Davis Real Estate                               Utah National Parks 591                           332 W 400 S                                                   Genola, UT 84655‐6010                                                                                                 First Class Mail
Voting Party                   Mark Edward Vennerholm                                        633 Hobson LN                                     Denton, TX 76205                                                                                                                       m23vennerholm@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                          Page 257 of 442
                                                                                   Case 20-10343-LSS                                                    Doc 8171                                      Filed 01/06/22                                                 Page 273 of 457
                                                                                                                                                                                         Exhibit B
                                                                                                                                                                                          Service List
                                                                                                                                                                                   Served as set forth below

        Description                                                         Name                                                                                                       Address                                                                                                          Email                 Method of Service
Chartered Organization         Mark Hopkins PTO                                             Denver Area Council 061                               7171 S Pennsylvania St                                     Centennial, CO 80122‐1151                                                                             First Class Mail
Voting Party                   Mark Logemann                                                Address Redacted                                                                                                                                                                   Email Address Redacted              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mark Low Photography                                         Three Rivers Council 578                              1465 Calder St                                             Beaumont, TX 77701‐1700                                                                               First Class Mail
Voting Party                   Mark Mays                                                    c/o Boy Scouts of America                             Attn: Chase Koontz                                         1325 W Walnut Hill Ln            Irving, TX 75015                 chase.koontz@scouting.org           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Mark Monitor Inc                                             P.O. Box 71398                                        Chicago, IL 60694‐1398                                                                                                                                           First Class Mail
Firm                           Mark P. Della Posta, Esq.                                    14 Lafayette Sq. Suite 400                            Buffalo, NY 14203                                                                                                            mdellaposta@walshrobertsgrace.com   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Mark Peebles                                                 43780 Lewisburg Rd                                    Natural Bridge, NY 13665                                                                                                     rocko2012@twcny.rr.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mark R Dennis Dvmpc                                          Utah National Parks 591                               520 W Us Hwy 40                                            Roosevelt, UT 84066                                                                                   First Class Mail
Voting Party                   Mark Ray                                                     Address Redacted                                                                                                                                                                                                       First Class Mail
Voting Party                   Mark Soderberg                                               Address Redacted                                                                                                                                                                   Email Address Redacted              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Mark Turner                                                  Address Redacted                                                                                                                                                                   Email Address Redacted              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mark Twain Elementary PTA                                    Simon Kenton Council 441                              799 E Walnut St                                            Westerville, OH 43081‐2548                                                                            First Class Mail
Chartered Organization         Mark Twain Elementary PTO                                    Denver Area Council 061                               6901 S Franklin St                                         Littleton, CO 80122‐1317                                                                              First Class Mail
Chartered Organization         Mark Twain Parents Club                                      Great Lakes Fsc 272                                   30601 Calahan Rd                                           Roseville, MI 48066‐1466                                                                              First Class Mail
Chartered Organization         Mark Wayment State Farm Insurance                            Trapper Trails 589                                    670 E 700 S                                                Clearfield, UT 84015‐1202                                                                             First Class Mail
Voting Party                   Markesan United Methodist Church                             Attn: Russel P Hirschy                                74 E Catherine St                                          Markesan, WI 53946                                                russ.hirschy@gmail.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Market St Baptist Church                                     The Spirit Of Adventure 227                           37 Market St                                               Amesbury, MA 01913‐2408                                                                               First Class Mail
Voting Party                   Market St UMC                                                c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Market St United Methodist Church                            Attn: Pastor, Market St UMC                           131 S Cameron St                                           Winchester, VA 22601                                              keikofoster@vaumc.org               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Market St Utd Methodist Church Men                           Del Mar Va 081                                        75 Market St                                               Onancock, VA 23417‐4223                                                                               First Class Mail
Chartered Organization         Markham Elementary                                           San Francisco Bay Area Council 028                    7220 Krause Ave                                            Oakland, CA 94605‐2380                                                                                First Class Mail
Chartered Organization         Markham Wds Presbyterian Church Inc                          Central Florida Council 083                           5210 Markham Woods Rd                                      Lake Mary, FL 32746‐4000                                                                              First Class Mail
Chartered Organization         Markle Fish & Game Club Park Inc                             Anthony Wayne Area 157                                P.O. Box 306                                               Markle, IN 46770‐0306                                                                                 First Class Mail
Chartered Organization         Markleville East Christian Church                            Crossroads Of America 160                             124 E Main St                                              Markleville, IN 46056‐9419                                                                            First Class Mail
Chartered Organization         Marlboro Moose Family Center 129                             Mayflower Council 251                                 67 Fitchburg St                                            Marlborough, MA 01752‐1261                                                                            First Class Mail
Chartered Organization         Marlboro Twp Police Dept                                     Monmouth Council, Bsa 347                             1979 Township Dr                                           Marlboro, NJ 07746‐2247                                                                               First Class Mail
Chartered Organization         Marlborough Volunteer Fire Co                                Connecticut Rivers Council, Bsa 066                   P.O. Box 237                                               Marlborough, CT 06447‐0237                                                                            First Class Mail
Chartered Organization         Marlin Elementary PTO                                        Hoosier Trails Council 145 145                        1655 E Bethel Ln                                           Bloomington, IN 47408‐9573                                                                            First Class Mail
Voting Party                   Marlin First United Methodist Church                         Attn:Cameron Poerner Supak                            827 Rock Dam Rd                                            Marlin, TX 76661                                                  revcameronsupak@gmail.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marlin First United Methodist Church                         Attn: Pastor Cameron P Supak                          411 Coleman St                                             Marlin, TX 76661                                                  firstumcmarlin@gmail.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marlin Moore American Legion Post 133                        South Florida Council 084                             16401 Sw 90Th Ave                                          Palmetto Bay, FL 33157‐3509                                                                           First Class Mail
Chartered Organization         Marlinton Rotary Club                                        Buckskin 617                                          P.O. Box 24                                                Marlinton, WV 24954‐0024                                                                              First Class Mail
Voting Party                   Marlow United Methodist Church                               Attn: Sharon L Davis                                  P.O. Box 4                                                 Marlow, NH 03456                                                                                      First Class Mail
Voting Party                   Marlow United Methodist Church                               Attn: Sharon Davis                                    P.O. Box 59                                                Marlow, NH 03456                                                                                      First Class Mail
Chartered Organization         Marlow Volunteer Fire Dept                                   Great Smoky Mountain Council 557                      1019 Oliver Springs Hwy                                    Clinton, TN 37716‐5365                                                                                First Class Mail
Chartered Organization         Marlowe Ruritan Club Inc                                     Shenandoah Area Council 598                           2133 Broad Ln                                              Falling Waters, WV 25419                                                                              First Class Mail
Voting Party                   Marlton UMC                                                  c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marlton Utd Methodist Church                                 Garden State Council 690                              P.O. Box 1160                                              Marlton, NJ 08053‐6160                                                                                First Class Mail
Voting Party                   Marn Baeksung UMC Church                                     Attn: Jongbum Lee                                     1250 Rockland Ave                                          Staten Island, NY 10314                                           mbsumcny@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marne Conservation Club                                      President Gerald R Ford 781                           P.O. Box 158                                               Marne, MI 49435‐0158                                                                                  First Class Mail
Voting Party                   Marne United Methodist Church                                Attn: Rev Christopher W Wiseman                       1019 Licking Valley Rd                                     Newark, OH 43055                                                  marnechurch@gmail.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marne Utd Methodist Church                                   Simon Kenton Council 441                              12335 Marne Rd                                             Newark, OH 43055‐8810                                                                                 First Class Mail
Chartered Organization         Marple Presbyterian Church                                   Cradle Of Liberty Council 525                         105 N Sproul Rd                                            Broomall, PA 19008‐2023                                                                               First Class Mail
Voting Party                   Marquam United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marquam Utd Methodist Church                                 Cascade Pacific Council 492                           36975 S Hwy 213                                            Mount Angel, OR 97362‐9601                                                                            First Class Mail
Chartered Organization         Marquand Development Corp                                    Greater St Louis Area Council 312                     115 N Martha St                                            Marquand, MO 63655‐9176                                                                               First Class Mail
Chartered Organization         Marquette Elementary School PTO                              Pathway To Adventure 456                              6401 Hemlock Ave                                           Gary, IN 46403‐1170                                                                                   First Class Mail
Chartered Organization         Marquette Heights Mens Club                                  W D Boyce 138                                         Marquette Hts Il                                           Marquette Heights, IL 61554                                                                           First Class Mail
Voting Party                   Marquette Hope United Methodist Church                       Attn: Treasurer                                       111 E Ridge St                                             Marquette, MI 49855                                               chintz@mqthope.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   MARQUETTE PARK UNITED METHODIST CHURCH                       c/o Rebecca L Wyatt PC                                644 S Lake St                                              Gary, IN 46403                                                    rebecca@attorneywyatt.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   MARQUETTE PARK UNITED METHODIST CHURCH                       215 S Grand Blvd                                      Gary, IN 46403                                                                                                               REBECCA@ATTORNEYWYATT.COM           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marquette Recreation Center                                  Greater St Louis Area Council 312                     4025 Minnesota Ave                                         St Louis, MO 63118‐4411                                                                               First Class Mail
Voting Party                   Marquis Memorial UMC                                         c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marrama Elementary School                                    Denver Area Council 061                               19100 E 40Th Ave                                           Denver, CO 80249‐7127                                                                                 First Class Mail
Chartered Organization         Marrington Elememtary School PTA                             Coastal Carolina Council 550                          101 Gearing St                                             Goose Creek, SC 29445‐6249                                                                            First Class Mail
Voting Party                   Marriott Hotel Services Inc, as manager of                   Attn: John Josefsberg                                 12740 Hillcrest Rd 240                                     Dallas, TX 75230                                                  josefsberg@hotellawyers.com         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marriott International, Inc                                  National Capital Area Council 082                     10400 Fernwood Rd                                          Bethesda, MD 20817‐1102                                                                               First Class Mail
Chartered Organization         Marrs Memorial Baptist Church                                Lincoln Heritage Council 205                          1310 Cecil Ave                                             Louisville, KY 40211‐2419                                                                             First Class Mail
Chartered Organization         Marrs Middle School‐Collective For Youth                     Mid‐America Council 326                               5619 S 19Th St                                             Omaha, NE 68107‐3601                                                                                  First Class Mail
Chartered Organization         Mars Area Boy Scouting Assoc                                 Moraine Trails Council 500                            305 Arch Stree                                             Mars, PA 16046                                                                                        First Class Mail
Chartered Organization         Mars Hill Baptist Church                                     Daniel Boone Council 414                              105 N Main St                                              Mars Hill, NC 28754‐9014                                                                              First Class Mail
Chartered Organization         Mars Hill Baptist Church                                     Northeast Georgia Council 101                         2661 Mars Hill Rd                                          Watkinsville, GA 30677‐1566                                                                           First Class Mail
Chartered Organization         Mars Hill Bible School                                       Greater Alabama Council 001                           698 Cox Creek Pkwy                                         Florence, AL 35630‐6624                                                                               First Class Mail
Chartered Organization         Mars Hill Masonic Lodge 1440                                 Circle Ten Council 571                                P.O. Box 403                                               Emory, TX 75440‐0403                                                                                  First Class Mail
Voting Party                   Mars Hill United Methodist Church 201 S Main St, Mars Hill   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mars Hill Utd Methodist Church                               Daniel Boone Council 414                              P.O. Box 427                                               Mars Hill, NC 28754‐0427                                                                              First Class Mail
Chartered Organization         Mars Utd Presbyterian Church                                 Moraine Trails Council 500                            P.O. Box 805                                               Crowe Ave                        Mars, PA 16046                                                       First Class Mail
Chartered Organization         Marsch Kellogg American Legion Post 139                      Hudson Valley Council 374                             P.O. Box 144                                               Milford, PA 18337‐0144                                                                                First Class Mail
Voting Party                   Marseilles United Methodist Church                           Attn: Wayne Allen Fleming                             462 Church St                                              Marseilles, IL 61341                                              ksl321@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marsh Usa Inc                                                P.O. Box 846015                                       Dallas, TX 75284‐6015                                                                                                                                            First Class Mail
Chartered Organization         Marshall Elementary PTA                                      Indian Nations Council 488                            1142 E 56Th St                                             Tulsa, OK 74105‐6829                                                                                  First Class Mail
Chartered Organization         Marshall Elementary PTO                                      National Capital Area Council 082                     12505 Kahns Rd                                             Manassas, VA 20112‐3241                                                                               First Class Mail
Chartered Organization         Marshall Elementary School                                   Indian Nations Council 488                            1142 E 56Th St                                             Tulsa, OK 74105‐6829                                                                                  First Class Mail
Chartered Organization         Marshall Elementary School PTO                               Chickasaw Council 558                                 P.O. Box 130                                               Carrollton, MS 38917                                                                                  First Class Mail
Chartered Organization         Marshall Errickson School PTO                                Monmouth Council, Bsa 347                             271 Elton Adelphia Rd                                      Freehold, NJ 07728‐9211                                                                               First Class Mail
Voting Party                   Marshall Memorial UMC                                        c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marshall Presbyterian Church                                 Daniel Boone Council 414                              165 S Main St                                              Marshall, NC 28753‐7479                                                                               First Class Mail
Chartered Organization         Marshall Rotary Club                                         Southern Shores Fsc 783                               140 W Michigan Ave                                         Marshall, MI 49068‐1522                                                                               First Class Mail
Chartered Organization         Marshall Ruritans                                            National Capital Area Council 082                     8400 Salem Ave                                             Marshall, VA 20115                                                                                    First Class Mail
Chartered Organization         Marshall School                                              Erie Shores Council 460                               415 Colburn St                                             Toledo, OH 43609‐3415                                                                                 First Class Mail
Voting Party                   Marshall UMC                                                 Attn: DeAnna Taylor (Treasurer), John Rowe (Pastor)   8405 W Main St                                             Marshall, VA 20115                                                Johnrowe@vaumc.org                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marshall UMC 8405                                            c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marshall Umc Mens Club                                       Great Rivers Council 653                              225 E Arrow St                                             Marshall, MO 65340‐2205                                                                               First Class Mail
Voting Party                   Marshall United Methodist Church                             Attn: Melany Chalker                                  721 Old US 27 N                                            Marshall, MI 49068                                                pastormelany@gmail.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marshall Utd Methodist                                       Marshall Rotary                                       Southern Shores Fsc 783                                    721 Us Hwy 27 N                  Marshall, MI 49068                                                   First Class Mail
Chartered Organization         Marshalls Creek Volunteer Fire Dept                          Minsi Trails Council 502                              Routes 402 & 209                                           Marshalls Creek, PA 18335                                                                             First Class Mail
Voting Party                   Marshallton United Methodist ‐ Wilmington                    c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marshallton United Methodist Church                          Attn: Mark A Trishman                                 1223 Cranberry Ln                                          Coatesville, PA 19320                                             mtrishman@verizon.net               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marshallton Utd Methodist Church                             Chester County Council 539                            1282 W Strasburg Rd                                        West Chester, PA 19382‐1643                                                                           First Class Mail
Chartered Organization         Marshalltown Police Dept                                     Mid Iowa Council 177                                  909 S 2Nd St                                               Marshalltown, IA 50158‐3217                                                                           First Class Mail
Chartered Organization         Marshfield Clinic Health System Youthnet                     Samoset Council, Bsa 627                              1000 N Oak Ave                                             Marshfield, WI 54449‐5703                                                                             First Class Mail
Chartered Organization         Marshfield Clinic Research Foundation                        Samoset Council, Bsa 627                              1000 N Oak Ave                                             Marshfield, WI 54449‐5703                                                                             First Class Mail
Voting Party                   Marshfield Federated Church                                  Attn: Terry Pierce, Co‐Treasurer                      1516 US Rte 2                                              Marshfield, VT 05658                                              terrypterry@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marshfield Rod And Gun Club                                  Mayflower Council 251                                 P.O. Box 831                                               Marshfield, MA 02050‐0831                                                                             First Class Mail
Chartered Organization         Marshfield Rotary                                            Ozark Trails Council 306                              P.O. Box 273                                               Marshfield, MO 65706‐0273                                                                             First Class Mail
Voting Party                   Marshfield United Methodist Church                           Attn: Church Treasurer                                220 S Elm St                                               Marshfield, MO 65706                                              marshfieldumchurch@gmail.com        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marshfield United Methodist Church, Inc                      Attn: Mark Huber                                      185 Plain St                                               Marshfield, MA 02050                                              mark@sanctuarysouthshore.org        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marshfield Utd Methodist Church                              Ozark Trails Council 306                              148 State Hwy Dd                                           Marshfield, MO 65706‐1513                                                                             First Class Mail
Voting Party                   Mart First                                                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Martell Elementary School PTO                                Great Lakes Fsc 272                                   5666 Livernois Rd                                          Troy, MI 48098‐3101                                                                                   First Class Mail
Voting Party                   Martha Bowman UMC                                            Attn: Hugh Cleon Carver                               7345 QUAIL RUN ROAD                                        Lizella, GA 31052                                                 hughcarver@cox.net                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Martha Bowman United Methodist Church                        Attn: Mark Magoni                                     500 Bass Rd                                                Macon, GA 31210                                                   mmagoni@marthabowman.org            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Martha Gaskins Elementary PTO                                Greater Alabama Council 001                           200 Dalton Dr                                              Birmingham, AL 35215‐8100                                                                             First Class Mail
Chartered Organization         Martha L Collins High School                                 Lincoln Heritage Council 205                          801 Discovery Blvd                                         Shelbyville, KY 40065‐9815                                                                            First Class Mail
Voting Party                   Martha United Methodist Church (180544)                      c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Martha Wahington Freewill Baptist Church                     Great Smoky Mountain Council 557                      155 Stepp Rd                                               Clarkrange, TN 38553‐5200                                                                             First Class Mail
Chartered Organization         Marthas Quilting, LLC                                        Circle Ten Council 571                                1310 Cedar Branch Dr                                       Wylie, TX 75098‐6678                                                                                  First Class Mail
Chartered Organization         Martin County Fire Rescue                                    Gulf Stream Council 085                               800 Se Monterey Rd                                         Stuart, FL 34994‐4507                                                                                 First Class Mail
Chartered Organization         Martin County Sheriffs Office                                Gulf Stream Council 085                               800 Se Monterey Rd                                         Stuart, FL 34994‐4507                                                                                 First Class Mail
Chartered Organization         Martin County Sheriff's Office                               East Carolina Council 426                             305 E Main St                                              Williamston, NC 27892‐2566                                                                            First Class Mail
Firm                           Martin Disiere Jefferson & Wisdom LLP                        Raul H Suazo                                          808 Travis, 11th Floor                                     Houston, TX 77002                                                 suazo@mdjwlaw.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Martin F Vutrick Auxiliary‐American                          Prairielands 117                                      115 S State St                                             Westville, IL 61883‐1541                                                                              First Class Mail
Voting Party                   Martin Luther Chapel                                         Frederick J Schuck                                    302 Deland Ave                                             North Cape May, NJ 08204                                          theschucks@comcast.net              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Martin Luther Chapel                                         4100 Terrace Ave                                      Pennsauken, NJ 08109                                                                                                         mlcemail2019@gmail.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Martin Luther King Academy                                   Erie Shores Council 460                               1300 Forest Ave                                            Toledo, OH 43607‐1947                                                                                 First Class Mail
Chartered Organization         Martin Luther King Elem/Middle                               Baltimore Area Council 220                            3750 Greenspring Ave                                       Baltimore, MD 21211‐1308                                                                              First Class Mail
Chartered Organization         Martin Luther King Jr Elementary School                      San Francisco Bay Area Council 028                    960 10Th St                                                Oakland, CA 94607‐3106                                                                                First Class Mail
Chartered Organization         Martin Luther King Jr Elemtary                               Last Frontier Council 480                             1201 Ne 48Th St                                            Oklahoma City, OK 73111‐5819                                                                          First Class Mail
Chartered Organization         Martin Luther King Jr Middle School                          Louisiana Purchase Council 213                        3716 Nutland Rd                                            Monroe, LA 71202‐3810                                                                                 First Class Mail
Chartered Organization         Martin Luther King Jr PS 11                                  Northern New Jersey Council, Bsa 333                  886 Bergen Ave                                             Jersey City, NJ 07306‐4302                                                                            First Class Mail
Chartered Organization         Martin Luther Lutheran Church                                Coastal Carolina Council 550                          1605 Harbor View Rd                                        Charleston, SC 29412‐3215                                                                             First Class Mail
Voting Party                   Martin Memorial United Methodist Church                      Attn: Johnny McCoin                                   12922 Farm Rd 195                                          Bagwell, TX 75412                                                 johnnymccoin@gmail.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Martin School Assoc                                          Narragansett 546                                      37 Landry Ave                                              North Attleboro, MA 02760‐5300                                                                        First Class Mail
Chartered Organization         Martin St Baptist Church                                     Occoneechee 421                                       1001 E Martin St                                           Raleigh, NC 27601‐1641                                                                                First Class Mail
Chartered Organization         Martin Utd Methodist Church                                  Longhorn Council 662                                  2621 Bedford Rd                                            Bedford, TX 76021‐5901                                                                                First Class Mail
Voting Party                   Martin, Browne, Hull & Harper PLL                            Dina M Cary                                           500 N. Fountain Ave                                        Springfield, OH 45504                                             dcary@martinbrowne.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Martin, Harding & Mazzotti, LLP                              Thomas M. Mortati, Esq.                               PO Box 15141                                               Albany, NY 12212‐5141                                             thomas.mortati@1800law1010.com      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Martinez Police Dept                                         Mt Diablo‐Silverado Council 023                       525 Henrietta St                                           Martinez, CA 94553‐2337                                                                               First Class Mail
Chartered Organization         Martinez Utd Methodist Church                                Georgia‐Carolina 093                                  3614 Washington Rd                                         Martinez, GA 30907‐2846                                                                               First Class Mail
Chartered Organization         Martinez Yacht Club                                          Mt Diablo‐Silverado Council 023                       111 Tarantino Dr                                           Martinez, CA 94553‐1107                                                                               First Class Mail
Chartered Organization         Martinsburg Fire Dept                                        Shenandoah Area Council 598                           200 N Raleigh St                                           Martinsburg, WV 25401‐2755                                                                            First Class Mail
Chartered Organization         Martinsburg Police Dept                                      Shenandoah Area Council 598                           232 N Queen St                                             Martinsburg, WV 25401‐3314                                                                            First Class Mail
Chartered Organization         Marty Indian School                                          Sioux Council 733                                     P.O. Box 187                                               Marty, SD 57361‐0187                                                                                  First Class Mail
Voting Party                   Marvell United Methodist Church                              Attn: Nina Guest                                      P.O. Box 669                                               Marvell, AR 72366                                                 marvellumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marvin United Methodist Church                               211 N Church St                                       Florence, MS 39073                                                                                                           jeffmmayne@gmail.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Marvin United Methodist Church                               Attn: Executive Pastor Gerry Giles                    300 W Erwin                                                Tyler, TX 75702                                                   ggiles@marvinumc.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marvine Family Center                                        Minsi Trails Council 502                              1425 Livingston St                                         Bethlehem, PA 18017‐6345                                                                              First Class Mail
Voting Party                   Marvins Chapel UMC                                           Attn: Joel Cook                                       1882 Old Boones Creek Rd                                   Johnson City, TN 37615                                            shelnutt56@aim.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Marvins Chapel Utd Methodist Church                          Sequoyah Council 713                                  1882 Old Boones Creek Rd                                   Johnson City, TN 37615‐4428                                                                           First Class Mail
Firm                           Mary Alexander & Associates, P.C.                            Mary Alexander                                        44 Montgomery Street, Ste 1303                             San Francisco, CA 94104                                           malexander@maryalexanderlaw.com     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mary Ann Schill Virginia Dest Image Fund                     Stonewall Jackson Council 763                         5791 Sugar Hollow Rd                                       Crozet, VA 22932‐2222                                                                                 First Class Mail
Chartered Organization         Mary Ann Winterliving                                        Baltimore Area Council 220                            220 N Bentalou St                                          Baltimore, MD 21223‐1423                                                                              First Class Mail
Chartered Organization         Mary Beck After School Child Care                            Lasalle Council 165                                   818 Mcdonald St                                            Elkhart, IN 46516‐4131                                                                                First Class Mail
Chartered Organization         Mary Bryan Elementary School PTA                             Crossroads Of America 160                             7800 Shelby St                                             Indianapolis, IN 46227‐5996                                                                           First Class Mail
Chartered Organization         Mary Bryant Elementary School PTA                            Greater Tampa Bay Area 089                            13910 Nine Eagles Dr                                       Tampa, FL 33626‐3074                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                          Page 258 of 442
                                                                                 Case 20-10343-LSS                                          Doc 8171                                          Filed 01/06/22                                                   Page 274 of 457
                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                  Service List
                                                                                                                                                                           Served as set forth below

        Description                                                       Name                                                                                                 Address                                                                                                                            Email              Method of Service
Chartered Organization         Mary Campbell Center                                           Del Mar Va 081                           4641 Weldin Rd                                                Wilmington, DE 19803‐4829                                                                                            First Class Mail
Chartered Organization         Mary E Griswold School Parents Club                            Connecticut Rivers Council, Bsa 066      133 Heather Ln                                                Kensington, CT 06037‐2056                                                                                            First Class Mail
Chartered Organization         Mary E Wilson Memorial Church                                  Patriots Path Council 358                7 Valley Rd                                                   Watchung, NJ 07069‐6034                                                                                              First Class Mail
Voting Party                   Mary Esther United Methodist Church                            Attn: Diana Reynolds                     703 E Miracle Strip Pkwy                                      Mary Esther, FL 32569                                                               admin@maryestheumc.org           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mary Fellows Penfield Chapter Ns Dar                           Seneca Waterways 397                     501 Plank Rd                                                  Webster, NY 14580‐2223                                                                                               First Class Mail
Voting Party                   Mary Frances Herrin                                            213 W 158th Pl                           Galliano, LA 70354                                                                                                                                herrin@viscom.net                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mary Help Of Christians                                        South Texas Council 577                  10 E Del Mar Blvd                                             Laredo, TX 78041‐2368                                                                                                First Class Mail
Chartered Organization         Mary Help Of Christians School                                 South Texas Council 577                  10 E Del Mar Blvd                                             Laredo, TX 78041‐2368                                                                                                First Class Mail
Chartered Organization         Mary Immaculate Catholic Church                                Great Rivers Council 653                 716 E Washington St                                           Kirksville, MO 63501‐3179                                                                                            First Class Mail
Voting Party                   Mary Immaculate Church                                         c/o Cullen and Dykman LLP                Attn: Matthew G Roseman                                       100 Quentin Roosevelt Blvd        Garden City, NY 11530                             MRoseman@cullenllp.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mary Institute St Louis Country School                         Greater St Louis Area Council 312        101 N Warson Rd                                               St Louis, MO 63124‐1326                                                                                              First Class Mail
Voting Party                   Mary J Lovell                                                  Attn: Jane Lovell, Trustee               525 Akolea Pl                                                 Wailuku, HI 96793                                                                   jlovell747@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mary J Lovell                                                  947 Olney Ave, 216                       Astoria, OR 97103                                                                                                                                                                  First Class Mail
Chartered Organization         Mary Lyon Church                                               Western Massachusetts Council 234        17 Upper St                                                   Buckland, MA 01338                                                                                                   First Class Mail
Chartered Organization         Mary Marek PTO                                                 Bay Area Council 574                     1947 Kirby St                                                 Pearland, TX 77584‐5701                                                                                              First Class Mail
Voting Party                   Mary Margaret Rosser                                           7419 E Placita del Espirita              Tucson, AZ 85175‐2810                                                                                                                                                              First Class Mail
Chartered Organization         Mary Mcleod Bethune Elementary School                          Southeast Louisiana Council 214          2401 Humanity St                                              New Orleans, LA 70122‐4701                                                                                           First Class Mail
Chartered Organization         Mary Mcleod Bethune PTA                                        Circle Ten Council 571                   1665 Duncanville Rd                                           Dallas, TX 75211‐6518                                                                                                First Class Mail
Chartered Organization         Mary Mother Of God Catholic Church                             Westark Area Council 016                 P.O. Box 2150                                                 Harrison, AR 72602‐2150                                                                                              First Class Mail
Chartered Organization         Mary Mother Of God Catholic Church                             Patriots Path Council 358                157 S Triangle Rd                                             Hillsborough, NJ 08844‐4800                                                                                          First Class Mail
Chartered Organization         Mary Mother Of God Parish                                      Northeastern Pennsylvania Council 501    316 William St                                                Scranton, PA 18508‐2760                                                                                              First Class Mail
Voting Party                   Mary Mother of God Parish                                      Attn: Andre L Kydala                     54 Old Hwy 22                                                 Clinton, NJ 08809                                                                                                    First Class Mail
Chartered Organization         Mary Mother, Redeemer Catholic Ch                              Cradle Of Liberty Council 525            1325 Upper State Rd                                           North Wales, PA 19454‐1007                                                                                           First Class Mail
Chartered Organization         Mary Of Nazareth School                                        National Capital Area Council 082        14131 Seneca Rd                                               Darnestown, MD 20874‐3337                                                                                            First Class Mail
Chartered Organization         Mary Our Queen Catholic Church                                 Atlanta Area Council 092                 6260 The Corners Pkwy                                         Norcross, GA 30092‐3308                                                                                              First Class Mail
Chartered Organization         Mary Queen Catholic Church                                     Bay Area Council 574                     606 Cedarwood Dr                                              Friendswood, TX 77546‐4551                                                                                           First Class Mail
Chartered Organization         Mary Queen Heaven RC Ch                                        Greater New York Councils, Bsa 640       1395 E 56Th St                                                Brooklyn, NY 11234‐4012                                                                                              First Class Mail
Chartered Organization         Mary Queen Of Heaven School                                    Dan Beard Council, Bsa 438               1130 Donaldson Hwy                                            Erlanger, KY 41018‐1048                                                                                              First Class Mail
Chartered Organization         Mary Queen Of Peace                                            Lake Erie Council 440                    4423 Pearl Rd                                                 Cleveland, OH 44109‐4210                                                                                             First Class Mail
Chartered Organization         Mary Queen Of Peace                                            Greater St Louis Area Council 312        676 W Lockwood Ave                                            St Louis, MO 63119‐3550                                                                                              First Class Mail
Chartered Organization         Mary Queen Of Peace Catholic Church                            Norwela Council 215                      7738 Barksdale Blvd                                           Bossier City, LA 71112‐8736                                                                                          First Class Mail
Chartered Organization         Mary Queen Of Peace Catholic Church                            Istrouma Area Council 211                1501 W Causeway Approach                                      Mandeville, LA 70471‐3047                                                                                            First Class Mail
Chartered Organization         Mary Queen Of Peace Catholic Church                            Chief Seattle Council 609                1121 228Th Ave Se                                             Sammamish, WA 98075‐9509                                                                                             First Class Mail
Chartered Organization         Mary Queen Of Peace Catholic Community                         New Birth Of Freedom 544                 451 Mara Cir                                                  Carlisle, PA 17013                                                                                                   First Class Mail
Voting Party                   Mary Queen of Peace Roman Catholic Church, Mandeville, LA      Attn: Susan Zeringue                     7887 Walmsley Ave                                             New Orleans, LA 70125                                                               szeringue@arch‐no.org            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mary Queen Of The Holy Rosary                                  Blue Grass Council 204                   601 Hill N Dale Rd                                            Lexington, KY 40503‐2116                                                                                             First Class Mail
Chartered Organization         Mary Rigg Neighborhood Center                                  Crossroads Of America 160                1920 W Morris St                                              Indianapolis, IN 46221‐1540                                                                                          First Class Mail
Voting Party                   Mary T Yeiser                                                  100 Teal Ln                              Winchester, KY 40391                                          Winchester, KY 43091                                                                mtyeiser@hotmail.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mary Taylor Memorial UMC, Inc                                  Attn: Chris Paton                        168 Broad St                                                  Milford, CT 06460                                                                   christopherpaton@msn.com         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mary Woodward Parent Support Org                               Cascade Pacific Council 492              12325 Sw Katherine St                                         Portland, OR 97223‐3154                                                                                              First Class Mail
Voting Party                   Mary, Queen Of Peace Catholic Church, Danville, Inc            Attn: John S Mercer                      1400 N Meridian St                                            Indianapolis, IN 46202                                                              jsmercer@indylegal.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Maryhurst                                                      Lincoln Heritage Council 205             1015 Dorsey Ln                                                Louisville, KY 40223‐2612                                                                                            First Class Mail
Chartered Organization         Maryland Game& Fish Protection Assoc                           Baltimore Area Council 220               P.O. Box 43035                                                Baltimore, MD 21236‐0035                                                                                             First Class Mail
Chartered Organization         Maryland Heights Church Of Christ                              Greater St Louis Area Council 312        107 Midland Ave                                               Maryland Heights, MO 63043‐2627                                                                                      First Class Mail
Chartered Organization         Maryland State Police                                          Del Mar Va 081                           7053 Ocean Gtwy                                               Easton, MD 21601‐4601                                                                                                First Class Mail
Chartered Organization         Mary's Nativity St Ann Rcc                                     Greater New York Councils, Bsa 640       4602 Parsons Blvd                                             Flushing, NY 11355‐2222                                                                                              First Class Mail
Chartered Organization         Marysville Church Of Christ                                    Simon Kenton Council 441                 18077 State Rte 31                                            Marysville, OH 43040‐9767                                                                                            First Class Mail
Chartered Organization         Marysville Police Explorers                                    Water And Woods Council 782              1355 Delaware Ave                                             Marysville, MI 48040‐1568                                                                                            First Class Mail
Voting Party                   Marysville United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Marysville United Methodist Church                             Attn: Curtis Clarke                      721 Huron Blvd                                                Marysviiile, Mi 48040                                                                                                First Class Mail
Chartered Organization         Marysville Wesley Utd Methodist Ch                             New Birth Of Freedom 544                 450 Sylvan St                                                 Marysville, PA 17053‐1644                                                                                            First Class Mail
Chartered Organization         Maryville Public Safety Fire Div                               Pony Express Council 311                 222 E 3Rd St                                                  Maryville, MO 64468‐3230                                                                                             First Class Mail
Chartered Organization         Mas Islamic Center                                             Sam Houston Area Council 576             19402 Briarsedge Ct                                           Katy, TX 77449‐7506                                                                                                  First Class Mail
Chartered Organization         Mas Islamic Center Of Dallas                                   Circle Ten Council 571                   1515 Blake Dr                                                 Richardson, TX 75081‐2504                                                                                            First Class Mail
Chartered Organization         Mascoutah Sportsmens Club                                      Greater St Louis Area Council 312        1535 N County Rd                                              Mascoutah, IL 62258‐2719                                                                                             First Class Mail
Chartered Organization         Masjid Al Salam At Champions                                   Sam Houston Area Council 576             16700 Old Louetta Rd                                          Spring, TX 77379‐4376                                                                                                First Class Mail
Chartered Organization         Masjid Alsahabah                                               Sam Houston Area Council 576             11333 Whispering Oaks Dr                                      Conroe, TX 77385‐5225                                                                                                First Class Mail
Chartered Organization         Masjid Dar Al Dawah                                            Greater New York Councils, Bsa 640       3513 23Rd Ave                                                 Astoria, NY 11105‐2204                                                                                               First Class Mail
Chartered Organization         Masjid Malcolm Shabazz                                         Greater New York Councils, Bsa 640       102 W 116Th St                                                New York, NY 10026‐2500                                                                                              First Class Mail
Chartered Organization         Masjid Noor‐Ul‐Huda                                            Indian Waters Council 553                517 Winmet Dr                                                 Columbia, SC 29203‐3649                                                                                              First Class Mail
Chartered Organization         Mason City Fire Dept                                           Winnebago Council, Bsa 173               350 5Th St Sw                                                 Mason City, IA 50401‐3822                                                                                            First Class Mail
Chartered Organization         Mason Dixon Lions Club                                         Baltimore Area Council 220               2534 Bryansville Rd                                           Delta, PA 17314‐9378                                                                                                 First Class Mail
Chartered Organization         Mason Dixon Parent Assoc                                       Mountaineer Area 615                     7041 Mason Dixon Hwy                                          Blacksville, WV 26521‐8208                                                                                           First Class Mail
Voting Party                   Mason First United Methodist Church                            Attn: Glenn Darling                      201 E Ash St                                                  Mason, MI 48854                                                                     treasurer@masonfirst.org         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mason Parents Group                                            Dan Beard Council, Bsa 438               5814 Maxfli Ln                                                Mason, OH 45040‐4775                                                                                                 First Class Mail
Chartered Organization         Mason Preparatory School                                       Coastal Carolina Council 550             56 Halsey Blvd                                                Charleston, SC 29401‐1121                                                                                            First Class Mail
Chartered Organization         Mason PTO                                                      Greater St Louis Area Council 312        6031 Southwest Ave                                            St Louis, MO 63139‐2716                                                                                              First Class Mail
Chartered Organization         Mason Ridge Elementary                                         Greater St Louis Area Council 312        715 S Mason Rd                                                St Louis, MO 63141‐8525                                                                                              First Class Mail
Chartered Organization         Mason Utd Methodist Church                                     Dan Beard Council, Bsa 438               6315 S Mason Montgomery Rd                                    Mason, OH 45040‐3716                                                                                                 First Class Mail
Chartered Organization         Mason Utd Methodist Church                                     Pacific Harbors Council, Bsa 612         2710 N Madison St                                             Tacoma, WA 98407‐5230                                                                                                First Class Mail
Voting Party                   Mason‐Dixon Cncl 221                                           18600 Crestwood Dr                       Hagerstown, MD 21742‐2752                                                                                                                                                          First Class Mail
Voting Party                   Mason‐Dixon Council, Inc                                       Attn: Todd M Brooks                      7 St Paul St 15th Fl                                          Baltimore, MD 21202                                                                 tbrooks@wtplaw.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Masonic Home For Children                                      Occoneechee 421                          600 College St                                                Oxford, NC 27565‐2717                                                                                                First Class Mail
Chartered Organization         Masonic Lodge                                                  Mid‐America Council 326                  532 W Prairie St                                              Albion, NE 68620‐1364                                                                                                First Class Mail
Chartered Organization         Masonic Lodge                                                  Greater St Louis Area Council 312        100 S North St                                                Argenta, IL 62501                                                                                                    First Class Mail
Chartered Organization         Masonic Lodge                                                  Gamehaven 299                            P.O. Box 174                                                  Red Wing, MN 55066‐0174                                                                                              First Class Mail
Chartered Organization         Masonic Lodge                                                  Transatlantic Council, Bsa 802           Scout Hut                                                     Rota                              Spain                                                                              First Class Mail
Chartered Organization         Masonic Lodge ‐ Marion 70 (F&Am)                               Buckeye Council 436                      P.O. Box 432                                                  Marion, OH 43301‐0432                                                                                                First Class Mail
Chartered Organization         Masonic Lodge ‐ Shiloh 544 F&Am                                Buckeye Council 436                      9 1/2 Main St W                                               Shiloh, OH 44878                                                                                                     First Class Mail
Chartered Organization         Masonic Lodge 187‐Richmond                                     Great Lakes Fsc 272                      69307 N Main St                                               Richmond, MI 48062‐1144                                                                                              First Class Mail
Chartered Organization         Masonic Lodge 220                                              Prairielands 117                         414 E Main St                                                 Mahomet, IL 61853                                                                                                    First Class Mail
Chartered Organization         Masonic Lodge 246                                              Great Trail 433                          8120 Main St                                                  Garrettsville, OH 44231‐1216                                                                                         First Class Mail
Chartered Organization         Masonic Lodge 281 Of Fenton                                    Greater St Louis Area Council 312        401 Hays Hill Dr                                              Fenton, MO 63026‐3114                                                                                                First Class Mail
Chartered Organization         Masonic Lodge 347                                              French Creek Council 532                 8 Penn Ave                                                    Girard, PA 16417‐1540                                                                                                First Class Mail
Chartered Organization         Masonic Lodge 357                                              Cimarron Council 474                     P.O. Box 687                                                  Okeene, OK 73763‐0687                                                                                                First Class Mail
Chartered Organization         Masonic Lodge 535                                              Water And Woods Council 782              810 North St                                                  Mount Morris, MI 48458                                                                                               First Class Mail
Chartered Organization         Masonic Lodge 55                                               c/o Jeremy Prawl                         1562 Castleton Rd                                             Severance, KS 66087‐4121                                                                                             First Class Mail
Chartered Organization         Masonic Lodge 564                                              Longhouse Council 373                    P.O. Box 8052                                                 Pulaski, NY 13142                                                                                                    First Class Mail
Chartered Organization         Masonic Lodge 571                                              Water And Woods Council 782              522 E Grand Blanc Rd                                          Grand Blanc, MI 48439‐1329                                                                                           First Class Mail
Chartered Organization         Masonic Lodge 60/69                                            Transatlantic Council, Bsa 802           Psc 819                                                       Fpo, AE 09645                                                                                                        First Class Mail
Chartered Organization         Masonic Lodge Of Normal 673                                    W D Boyce 138                            614 E Lincoln St                                              Normal, IL 61761‐1889                                                                                                First Class Mail
Chartered Organization         Masonic Lodge Of Sandford 443                                  Pine Burr Area Council 304               669 Old Hwy 49                                                Seminary, MS 39479                                                                                                   First Class Mail
Chartered Organization         Masonic Lodge Of Winner 166                                    Sioux Council 733                        201 E 3Rd St                                                  Winner, SD 57580‐1805                                                                                                First Class Mail
Chartered Organization         Masonic Lodge‐Sinton Lodge 1012                                South Texas Council 577                  P.O. Box 120                                                  Sinton, TX 78387‐0120                                                                                                First Class Mail
Chartered Organization         Masonic Pathways                                               Attn: Maintenance Dept                   1200 Wright Ave                                               Alma, MI 48801‐1133                                                                                                  First Class Mail
Chartered Organization         Masonic Temple 796                                             Leatherstocking 400                      P.O. Box 145                                                  Dolgeville, NY 13329‐0145                                                                                            First Class Mail
Chartered Organization         Masonic Temple Bee Hive Lodge 393                              Heart Of America Council 307             404 N Pennsylvania Ave                                        Lawson, MO 64062‐9402                                                                                                First Class Mail
Chartered Organization         Masonic Temple Corp Of Puyallup                                Pacific Harbors Council, Bsa 612         1005 W Pioneer                                                Puyallup, WA 98371‐5355                                                                                              First Class Mail
Chartered Organization         Masons Lodge 339                                               Great Lakes Fsc 272                      21 South St                                                   Ortonville, MI 48462‐7717                                                                                            First Class Mail
Chartered Organization         Masons Of Evanston Lodge Club                                  Trapper Trails 589                       P.O. Box 24                                                   Evanston, WY 82931‐0024                                                                                              First Class Mail
Chartered Organization         Masontown Volunteer Fire Dept                                  Westmoreland Fayette 512                 P.O. Box 512                                                  Masontown, PA 15461‐0512                                                                                             First Class Mail
Chartered Organization         Mass Mutual Carolinas                                          Mecklenburg County Council 415           4350 Congress St Ste 300                                      Charlotte, NC 28209‐0009                                                                                             First Class Mail
Chartered Organization         Mass Vietnamese Scouts Assn                                    The Spirit Of Adventure 227              P.O. Box 2                                                    Grove Hall, MA 02121‐0001                                                                                            First Class Mail
Chartered Organization         Massabesic Lions Club                                          Pine Tree Council 218                    Rr 202                                                        Waterboro, ME 04087                                                                                                  First Class Mail
Chartered Organization         Massachusetts Rifle Assoc                                      The Spirit Of Adventure 227              290 Rear Salem St                                             Woburn, MA 01801                                                                                                     First Class Mail
Chartered Organization         Massanutten Presbyterian Church                                Stonewall Jackson Council 763            50 Indian Trail Rd                                            Penn Laird, VA 22846‐2019                                                                                            First Class Mail
Chartered Organization         Massapequa American Legion Post 1066                           Theodore Roosevelt Council 386           66 Veterans Blvd                                              Massapequa, NY 11758‐4956                                                                                            First Class Mail
Voting Party                   Massapequa‐ Community United Methodist Church                  Attn: Jane H Kim                         100 Park Blvd                                                 Massapequa, NY 11758                                                                massapcumc@aol.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Massapequa Fire Dept                                           Theodore Roosevelt Council 386           1 Brooklyn Ave                                                Massapequa, NY 11758‐4813                                                                                            First Class Mail
Voting Party                   Massena First United Methodist Church                          Attn: Kathryn Perry, Treasurer           189 Main St                                                   Massena, NY 13662                                                                   kperry02@twcny.rr.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Firm                           Massey & Duffy, PLLC                                           Michael Massey, Florida Bar No. 153680   855 E. Univ Ave                                               Gainesville, FL 32601                                                               Massey@352law.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Firm                           Massey Law Firm                                                Daniel P. Massey                         14300 N. Northsight Blvd, Ste 121                             Scottsdale, AZ 85260                                                                dan@dmasseylaw.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Master Duplicators Ii                                          Orange County Council 039                10931 Patricia Dr                                             Garden Grove, CA 92840‐2215                                                                                          First Class Mail
Chartered Organization         Mastery Charter Smedley Campus                                 Cradle Of Liberty Council 525            1790 Bridge St                                                Philadelphia, PA 19124‐1359                                                                                          First Class Mail
Chartered Organization         Mastic Beach Fire Dept                                         Suffolk County Council Inc 404           265 Neighborhood Rd                                           Mastic Beach, NY 11951‐3511                                                                                          First Class Mail
Chartered Organization         Mastic Beach Property Owners Assoc                             Suffolk County Council Inc 404           P.O. Box 212                                                  Mastic Beach, NY 11951‐0212                                                                                          First Class Mail
Chartered Organization         Mastic Fire Dept                                               Suffolk County Council Inc 404           1080 Mastic Rd                                                Mastic, NY 11950‐3334                                                                                                First Class Mail
Chartered Organization         Matanuska Masonic Lodge                                        Great Alaska Council 610                 P.O. Box 297                                                  Palmer, AK 99645‐0297                                                                                                First Class Mail
Voting Party                   Matawan United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Matawan Utd Methodist Church                                   Monmouth Council, Bsa 347                478 Atlantic Ave                                              Matawan, NJ 07747‐2326                                                                                               First Class Mail
Chartered Organization         Mater Academy Bonanza                                          Las Vegas Area Council 328               4760 E Bonanza Rd                                             Las Vegas, NV 89110‐3577                                                                                             First Class Mail
Chartered Organization         Mater Christi Holy Name Society                                Pathway To Adventure 456                 2431 S 10Th Ave                                               North Riverside, IL 60546‐1120                                                                                       First Class Mail
Chartered Organization         Mater Dei Parish                                               Jayhawk Area Council 197                 1114 Sw 10Th Ave                                              Topeka, KS 66604‐1106                                                                                                First Class Mail
Chartered Organization         Maternal And Child Health Consortium                           Chester County Council 539               637 Millers Hl                                                Kennett Square, PA 19348‐2431                                                                                        First Class Mail
Chartered Organization         Maternity Bvm Roman Catholic Church                            Cradle Of Liberty Council 525            9220 Bustleton Ave                                            Philadelphia, PA 19115                                                                                               First Class Mail
Chartered Organization         Maternity Of Mary ‐ St Andrew School                           Northern Star Council 250                592 Arlington Ave W                                           St Paul, MN 55117‐4222                                                                                               First Class Mail
Chartered Organization         Mather School PTO                                              The Spirit Of Adventure 227              1 Parish St                                                   Dorchester, MA 02122‐3020                                                                                            First Class Mail
Chartered Organization         Mather‐Perkins Rotary Club                                     Golden Empire Council 047                98 Lido Cir                                                   Sacramento, CA 95826‐1613                                                                                            First Class Mail
Voting Party                   Matheson Tri‐Gas Inc                                           Dept 3028 P O Box 123028                 Dallas, TX 75312‐3028                                                                                                                                                              First Class Mail
Chartered Organization         Mathews Elementary School PTA                                  Capitol Area Council 564                 906 W Lynn St                                                 Austin, TX 78703‐4758                                                                                                First Class Mail
Chartered Organization         Mathews Hometown Market Inc                                    Twin Rivers Council 364                  9 S Melcher St                                                Johnstown, NY 12095‐2318                                                                                             First Class Mail
Chartered Organization         Mathews Maritime Foundations                                   Colonial Virginia Council 595            482 Main St                                                   Mathews, VA 23109                                                                                                    First Class Mail
Chartered Organization         Mathews PTA                                                    Capitol Area Council 564                 906 W Lynn St                                                 Austin, TX 78703‐4758                                                                                                First Class Mail
Voting Party                   Mathews United Methodist Church                                Attn: Kay G Crowe                        1613 Main St                                                  Columbia, SC 29201                                                                  chancellor@umcsc.org             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mathews United Methodist Church                                Attn: Rev Adrian Rogers                  106 Pineneedle Ln                                             Greenwood, SC 29649                                                                 adrogers@umcsc.org               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mathewson St United Methodist Church                           Attn: Lisa Carter                        134 Mathewson St                                              Providence, RI 02903                                                                mathewsonstreetumc@gmail.com     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mathis First United Methodist Church                           Mathis 1st United Methodist              420 S Duval St                                                Mathis, TX 78368                                                                    fumcmathis@sbcglobal.net         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mathis, Marifian & Richter, Ltd                                Attn: Colin C Clark                      23 Public Sq                                                  Suite 300                         P.O. Box 307               Belleville, IL 62220   cclark@mmrltd.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Matias De Llano Ptc                                            South Texas Council 577                  1415 Shiloh Dr                                                Laredo, TX 78045‐8317                                                                                                First Class Mail
Voting Party                   Matoaca UMC                                                    c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mattamuskeet Elementary School PTO                             East Carolina Council 426                60 Juniper Bay Rd                                             Swanquarter, NC 27885‐9507                                                                                           First Class Mail
Chartered Organization         Mattapoisett Utd Congregational                                Narragansett 546                         P.O. Box 284                                                  Mattapoisett, MA 02739‐0284                                                                                          First Class Mail
Voting Party                   Mattawamkeag United Methodist Church                           Attn: Tracy Reeves                       P.O. Box 243                                                  Mattawamkeag, ME 04459                                                                                               First Class Mail
Chartered Organization         Mattawan Lions Club                                            Southern Shores Fsc 783                  P.O. Box 62                                                   Mattawan, MI 49071‐0062                                                                                              First Class Mail
Firm                           Mattes & Mattes P. C                                           Roger Mattes, Jr                         324 North Washington Avenue                                   Scranton, PA 18503                                                                  info@matteslawyers.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Matthew A Knight Foundation                                    Greater Tampa Bay Area 089               2300 S Dock St Ste 102                                        Palmetto, FL 34221‐8890                                                                                              First Class Mail
Chartered Organization         Matthew A Knight Foundation                                    Greater Tampa Bay Area 089               12902 Us Hwy 301 S                                            Riverview, FL 33578‐7400                                                                                             First Class Mail
Voting Party                   Matthew K Rose                                                 c/o Boy Scouts of America                Attn: Chase Koontz                                            1325 W Walnut Hill Ln             Irving, TX 75015                                  chase.koontz@scouting.org        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Matthew M Klein and Assoc                                      Attn: Matthew M Klein                    324 W Burlington                                              LaGrange, IL 60525                                                                  matthew.klein55@gmail.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Matthew Mcmahan                                                Address Redacted                                                                                                                                                                                                            First Class Mail
Voting Party                   Matthew Parsons                                                c/o Boy Scouts of America                Attn: Chase Koontz                                            1325 W Walnut Hill Ln             Irving, TX 75015                                  chase.koontz@scouting.org        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Matthews Fire And Ems                                          Mecklenburg County Council 415           232 Matthews Station St                                       Matthews, NC 28105‐6713                                                                                              First Class Mail
Voting Party                   Matthews International                                         Attn: Thomas Adamczyk                    2 NorthShore Ctr                                              Pittsburgh, PA 15212                                                                Tadamczyk@matw.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Matthews Police Dept                                           Mecklenburg County Council 415           1201 Crews Rd                                                 Matthews, NC 28105‐7581                                                                                              First Class Mail
Chartered Organization         Matthews Presbyterian Church                                   Mecklenburg County Council 415           P.O. Box 97                                                   Matthews, NC 28106‐0097                                                                                              First Class Mail
Voting Party                   Matthews United Methodist Church 801 S Trade St, Matthews, N   c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Matthews Utd Methodist Church                                  Mecklenburg County Council 415           801 S Trade St                                                Matthews, NC 28105‐5864                                                                                              First Class Mail
Chartered Organization         Mattie T Blount High School                                    Mobile Area Council‐Bsa 004              5450 Lott Rd                                                  Eight Mile, AL 36613‐2034                                                                                            First Class Mail
Chartered Organization         Mattituck Fire Dept                                            Suffolk County Council Inc 404           P.O. Box 136                                                  Mattituck, NY 11952‐0136                                                                                             First Class Mail
Voting Party                   Mattoon First United Methodist Church                          1601 Charlston Ave                       Mattoon, IL 61938                                                                                                                                 todd.krost@garrett.edu           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Firm                           Mattthews & Associates                                         David P. Matthews                        2905 Sackett Street                                           Houston, TX 77098                                                                   bsa@thematthewslawfirm.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                  Page 259 of 442
                                                                                Case 20-10343-LSS                                            Doc 8171                                     Filed 01/06/22                                                    Page 275 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                      Name                                                                                              Address                                                                                                             Email                  Method of Service
Chartered Organization         Matunuck Volunteer Fire Dept                                   Narragansett 546                         49 Matunuck School House Rd                               Wakefield, RI 02879‐6534                                                                                  First Class Mail
Chartered Organization         Matzke PTO                                                     Sam Houston Area Council 576             10002 Mills Rd                                            Houston, TX 77070‐4711                                                                                    First Class Mail
Voting Party                   Maud United Methodist Church Pack 40                           Attn: Rev Ross D Hyde, Pastor            P.O. Box 599                                              Maud, TX 75567                                                       rhyde@umcmail.us                     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Maud United Methodist Church Troop 40                          Attn: Rev Ross D Hyde                    P.O. Box 599                                              Maud, TX 75567                                                       rhyde@umcmail.us                     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Maud Utd Methodist Church                                      Caddo Area Council 584                   P.O. Box 599                                              Maud, TX 75567‐0599                                                                                       First Class Mail
Chartered Organization         Maudrie M Walton Elementary ‐ Gifw                             Longhorn Council 662                     5816 Rickenbacker Pl                                      Fort Worth, TX 76112‐7911                                                                                 First Class Mail
Chartered Organization         Maugansville Ruritan Club                                      Mason Dixon Council 221                  P.O. Box 44                                               Maugansville, MD 21767‐0044                                                                               First Class Mail
Chartered Organization         Maugansville Ruritan Club Inc                                  Mason Dixon Council 221                  18707 Maugans Ave                                         Maugansville, MD 21767                                                                                    First Class Mail
Chartered Organization         Maui Clay Target Assoc                                         Aloha Council, Bsa 104                   133 Luluka Pl                                             Kihei, HI 96753‐8987                                                                                      First Class Mail
Chartered Organization         Mauldin Fire Dept                                              Blue Ridge Council 551                   P.O. Box 249                                              Mauldin, SC 29662‐0249                                                                                    First Class Mail
Chartered Organization         Mauldin High School                                            Blue Ridge Council 551                   701 E Butler Rd                                           Mauldin, SC 29662‐1616                                                                                    First Class Mail
Chartered Organization         Mauldin Police Dept                                            Blue Ridge Council 551                   P.O. Box 249                                              Mauldin, SC 29662‐0249                                                                                    First Class Mail
Chartered Organization         Mauldin Utd Methodist Church                                   Blue Ridge Council 551                   100 E Butler Rd                                           Mauldin, SC 29662‐2104                                                                                    First Class Mail
Chartered Organization         Maumee Scout Reservation                                       Hoosier Trails Council 145 145           12975 W County Rd 925 N                                   Norman, IN 47264‐9412                                                                                     First Class Mail
Voting Party                   Maumee United Methodist Church                                 Attn: R David Steel                      405 Sackett St                                            Maumee, OH 43537                                                     steelrds@maumeeumc.net               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Maupin Family Resource                                         Lincoln Heritage Council 205             1312 Catalpa St                                           Louisville, KY 40211‐1731                                                                                 First Class Mail
Chartered Organization         Maurice Wilde PTO                                              Great Lakes Fsc 272                      32342 Bunert Rd                                           Warren, MI 48088                                                                                          First Class Mail
Chartered Organization         Maury Elementary School PTA                                    National Capital Area Council 082        600 Russell Rd                                            Alexandria, VA 22301‐2528                                                                                 First Class Mail
Chartered Organization         Maury PTA                                                      National Capital Area Council 082        600 Russell Rd                                            Maury School                       Alexandria, VA 22301                                                   First Class Mail
Chartered Organization         Mauston Fire Dept                                              Gateway Area 624                         303 Mansion St                                            Mauston, WI 53948‐1329                                                                                    First Class Mail
Voting Party                   Mauston United Methodist Church                                Attn: Anita Genrich                      420 Suszycki Dr                                           Mauston, WI 53948                                                    pastor@maustonumc.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Mavenecommerce                                                 1177 Ave Of The Americas, 5th Fl         New York, NY 10036‐2714                                                                                                                                             First Class Mail
Chartered Organization         Maverick Club                                                  Boys & Girls Club Of Amarillo & Canyon   1923 S Lincoln St                                         Amarillo, TX 79109‐2745                                                                                   First Class Mail
Voting Party                   Maverick Glass                                                 414 E Goddard Ave                        Trinidad, CO 81082‐1706                                                                                                                                             First Class Mail
Voting Party                   Max O'Harren                                                   Address Redacted                                                                                                                                                                                             First Class Mail
Voting Party                   Max Sasseen                                                    Address Redacted                                                                                                                                                                                             First Class Mail
Chartered Organization         Maxfield Hose Volunteer Fire Dept                              Seneca Waterways 397                     Vine St                                                   Naples, NY 14512                                                                                          First Class Mail
Chartered Organization         Maxinkuckee Yacht Club                                         Lasalle Council 165                      P.O. Box 53                                               Culver, IN 46511‐0053                                                                                     First Class Mail
Chartered Organization         Maxwell Elementary P T O                                       Westmoreland Fayette 512                 1101 Old Salem Rd                                         Greensburg, PA 15601‐1036                                                                                 First Class Mail
Firm                           May, May and Zimmerman, LLP                                    John H. May                              49 N. Duke Street                                         Lancaster, PA 17602                                                  JHM@mmzlaw.com                       Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Maya Properties                                                Rio Grande Council 775                   215 S Oscar Williams Rd                                   San Benito, TX 78586                                                                                      First Class Mail
Chartered Organization         Maya Properties                                                Rio Grande Council 775                   250 S Williams Rd                                         San Benito, TX 78586‐3304                                                                                 First Class Mail
Voting Party                   Maybrook United Methodist Church                               Attn: Virginia Esposito                  313 Homestead Ave                                         Maybrook, NY 12543                                                   Maybrookumc@yahoo.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Maybrook Vfw Post 2064                                         Hudson Valley Council 374                P.O. Box 518                                              Maybrook, NY 12543‐0518                                                                                   First Class Mail
Chartered Organization         Mayfair Elementary School                                      Lake Erie Council 440                    13916 Mayfair Ave                                         East Cleveland, OH 44112‐3713                                                                             First Class Mail
Chartered Organization         Mayfield Jr School                                             Greater Los Angeles Area 033             405 S Euclid Ave                                          Pasadena, CA 91101‐3126                                                                                   First Class Mail
Chartered Organization         Mayfield Memorial Missionary Baptist Ch                        Mecklenburg County Council 415           700 W Sugar Creek Rd                                      Charlotte, NC 28213‐6164                                                                                  First Class Mail
Chartered Organization         Mayfield School Ptc                                            Water And Woods Council 782              302 Plum Creek Rd                                         Lapeer, MI 48446‐7732                                                                                     First Class Mail
Chartered Organization         Mayfield Servicemens Club                                      Twin Rivers Council 364                  P.O. Box 514                                              Mayfield, NY 12117‐0514                                                                                   First Class Mail
Chartered Organization         Mayfield Utd Methodist Church                                  Lake Erie Council 440                    11900 Chillicothe Rd                                      Chesterland, OH 44026‐1934                                                                                First Class Mail
Chartered Organization         Mayflower Congregal Utd Ch Christ                              Mid‐America Council 326                  1407 W 18Th St                                            Sioux City, IA 51103‐2422                                                                                 First Class Mail
Chartered Organization         Mayflower Congregational Church                                President Gerald R Ford 781              2345 Robinson Rd Se                                       Grand Rapids, MI 49506‐1851                                                                               First Class Mail
Chartered Organization         Mayflower Congregational Church                                Northern Star Council 250                106 E Diamond Lake Rd                                     Minneapolis, MN 55419‐1925                                                                                First Class Mail
Voting Party                   Mayflower Congregational Church, UCC                           3001 S Acoma St                          Englewood, CO 80110                                                                                                            mayflowerchurch@gmail.com            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mayflower Congregational Ucc                                   Mid‐America Council 326                  1407 W 18Th St                                            Sioux City, IA 51103‐2422                                                                                 First Class Mail
Voting Party                   Mayflower Council BSA Massachusetts                            Attn: Michael Rotar                      83 Cedar St                                               Milford, MA 01757                                                    rotar@verizon.net                    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mayflower Lions Club                                           Quapaw Area Council 018                  58 Moody Rd                                               North Little Rock, AR 72120‐9619                                                                          First Class Mail
Chartered Organization         Mayflower Lt Gamble Vfw Post 6695                              Great Lakes Fsc 272                      1426 S Mill St                                            Plymouth, MI 48170‐4321                                                                                   First Class Mail
Chartered Organization         Mayflower Mill PTO                                             Sagamore Council 162                     200 E 500 S                                               Lafayette, IN 47909‐9025                                                                                  First Class Mail
Voting Party                   Maynard Cooper & Gale PC                                       Attn: Ashe Puri                          1925 Century Pk E, Ste 1700                               Los Angeles, CA 90067                                                apuri@maynardcooper.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Maynard Rod And Gun Club Inc                                   Mayflower Council 251                    45 Old Mill Rd                                            Maynard, MA 01754‐2405                                                                                    First Class Mail
Voting Party                   Maynard United Methodist Church                                Attn: Pat Pritchett                      P.O. Box 65                                               Maynard, AR 72444                                                    lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Maynard Volunteer Fire Dept                                    Attn: Dept President                     Leatherstocking 400                                       P.O. Box 377                       Marcy, NY 13403                                                        First Class Mail
Chartered Organization         Mayo Clinic Health System ‐ Eau Claire                         Chippewa Valley Council 637              1400 Bellinger St                                         Eau Claire, WI 54703‐5222                                                                                 First Class Mail
Chartered Organization         Mayo Demonstration School                                      Indian Nations Council 488               1127 S Columbia Ave                                       Tulsa, OK 74104‐3928                                                                                      First Class Mail
Voting Party                   Mayo UMC                                                       Attn: Ray Leone                          1005 Old Turkey Point Rd                                  Edgewater, MD 21037                                                  rayleone52@gmail.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mayo Utd Methodist Church                                      Baltimore Area Council 220               1005 Old Turkey Point Rd                                  Edgewater, MD 21037‐4028                                                                                  First Class Mail
Voting Party                   Maypearl FUMC                                                  c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Maypearl FUMC                                                  301 3rd St                               Maypearl, TX 76064                                                                                                                                                  First Class Mail
Voting Party                   Mays Chapel UMC 1707 Church Rd Maiden, NC 28650                c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Mays Chapel United Methodist Church                            Attn: Church Treasurer                   11911 Jenifer Rd                                          Timonium, MD 21093                                                   office@mayschapel.org                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mays Chapel Utd Methodist Church                               Piedmont Council 420                     1707 Mays Chapel Church Rd                                Maiden, NC 28650‐8497                                                                                     First Class Mail
Chartered Organization         Mays Chapel Utd Methodist Church Men                           Piedmont Council 420                     1701 Mays Chapel Church Rd                                Newton, NC 28658‐9009                                                                                     First Class Mail
Voting Party                   Mays Landing: First                                            c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Mays Memorial                                                  c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Maysville Presbyterian Church, Buckingham, VA                  Attn: Walter Edward Saxon Jr             P.O. Box 221                                              Buckingham, VA 23921                                                 wsaxon@kinex.net                     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Maysville Rotary Club                                          Blue Grass Council 204                   P.O. Box 322                                              Maysville, KY 41056‐0322                                                                                  First Class Mail
Chartered Organization         Mayuli Enterprises LLC                                         Las Vegas Area Council 328               1848 W Keating Ave                                        Mesa, AZ 85202‐7414                                                                                       First Class Mail
Chartered Organization         Mayville Lutheran Church                                       Northern Lights Council 429              24 3Rd Ave Se                                             Mayville, ND 58257‐1418                                                                                   First Class Mail
Chartered Organization         Maywood Baptist Church                                         Heart Of America Council 307             10505 E Winner Rd                                         Independence, MO 64052‐2246                                                                               First Class Mail
Chartered Organization         Maywood Community Church                                       Heart Of America Council 307             11201 Parallel Pkwy                                       Kansas City, KS 66109‐4438                                                                                First Class Mail
Chartered Organization         Mazomanie Lions Club                                           Attn: Sharron Royston                    318 State St                                              Mazomanie, WI 53560‐9629                                                                                  First Class Mail
Voting Party                   Mazzuca, Robert J                                              Address Redacted                                                                                                                                                        Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Mazzuca, Robert J                                              Address Redacted                                                                                                                                                        Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mc Auliffe School PTO                                          Bay‐Lakes Council 635                    2071 Emerald Dr                                           Green Bay, WI 54311‐5013                                                                                  First Class Mail
Voting Party                   Mc Kendree UMC                                                 1570 Lawrencevillle Suwanee Rd           Lawrenceville, GA 30043                                                                                                                                             First Class Mail
Voting Party                   Mc Kendree UMC ‐ Lawrenceville                                 c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mc Lane Parents                                                Bay‐Lakes Council 635                    833 Chestnut St                                           West Bend, WI 53095‐3239                                                                                  First Class Mail
Firm                           Mc QUADE COMPANY LPA                                           DANIE Mc QUADE                           105 LINCOLN P.O. Box 237                                  SWANTON, OH 43558                                                    mcquades@mcquadelaw.net              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mc Richwoods High School Jrotc                                 W D Boyce 138                            6301 N University St                                      Peoria, IL 61614‐3453                                                                                     First Class Mail
Voting Party                   McAlester First United Methodist Church                        Attn: Treasurer                          1501 S 13th St                                            McAlester, OK 74501                                                  mcalestermethodist@att.net           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mcallister Memorial Presbyterian Church                        Stonewall Jackson Council 763            900 N Alleghany Ave                                       Covington, VA 24426‐1143                                                                                  First Class Mail
Chartered Organization         Mcarthur Utd Methodist Church                                  Simon Kenton Council 441                 P.O. Box 216                                              Mc Arthur, OH 45651‐0216                                                                                  First Class Mail
Chartered Organization         Mcas Iwakuni Station Chapel                                    Far E Council 803                        Psc 561 Box 1879                                          Fpo, AP 96310‐0019                                                                                        First Class Mail
Chartered Organization         Mcbride Elementary PTA                                         Ozark Trails Council 306                 5005 S Farm Rd 135                                        Springfield, MO 65810‐1901                                                                                First Class Mail
Chartered Organization         Mcc Academy                                                    Pathway To Adventure 456                 9301 Gross Point Rd                                       Skokie, IL 60076‐1334                                                                                     First Class Mail
Voting Party                   McCabe United Methodist Church                                 Attn: Financial Administrator            1030 N 6th St                                             Bismark, ND 58501                                                    financialadmin@mccabe.com            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mccall Optimist Club                                           Ore‐Ida Council 106 ‐ Bsa 106            P.O. Box 307                                              Mccall, ID 83638‐0307                                                                                     First Class Mail
Chartered Organization         Mccleary Utd Methodist Church                                  Pacific Harbors Council, Bsa 612         426 S 3Rd St                                              Mccleary, WA 98557                                                                                        First Class Mail
Chartered Organization         Mcclintock Partners In Education                               Mecklenburg County Council 415           4519 Providence Rd                                        Charlotte, NC 28226‐5111                                                                                  First Class Mail
Chartered Organization         Mccluer High School                                            Greater St Louis Area Council 312        1896 S Florissant Rd                                      Florissant, MO 63031                                                                                      First Class Mail
Chartered Organization         Mccluer Rotc                                                   Greater St Louis Area Council 312        1896 S New Florissant Rd                                  Florissant, MO 63031‐8311                                                                                 First Class Mail
Chartered Organization         Mcclure Elementary School PTO                                  Jayhawk Area Council 197                 2529 Sw Chelsea Dr                                        Topeka, KS 66614‐1642                                                                                     First Class Mail
Chartered Organization         Mccomb Lions Club                                              Black Swamp Area Council 449             4635 Township Rd 235                                      Mc Comb, OH 45858‐8708                                                                                    First Class Mail
Chartered Organization         Mccombs Middle School                                          Mid Iowa Council 177                     201 County Line Rd                                        Des Moines, IA 50320‐6301                                                                                 First Class Mail
Voting Party                   McConnellsburg United Methodist Church (178483)                c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mcconnellsburg Utd Presbyterian                                Mason Dixon Council 221                  116 S 2Nd St                                              Mc Connellsburg, PA 17233‐1446                                                                            First Class Mail
Voting Party                   McConnellstown UMC (176837)                                    c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mccook Izaak Walton League                                     Mid‐America Council 326                  P.O. Box 995                                              North Sioux City, SD 57049‐0995                                                                           First Class Mail
Chartered Organization         Mccook Rotary Club                                             Overland Trails 322                      P.O. Box 37                                               Mccook, NE 69001‐0037                                                                                     First Class Mail
Chartered Organization         Mccord Sunbridge Academy                                       Erie Shores Council 460                  2105 N Mccord Rd                                          Toledo, OH 43615‐3032                                                                                     First Class Mail
Chartered Organization         Mccordsville Utd Methodist Church                              Crossroads Of America 160                6247 W Broadway                                           Mccordsville, IN 46055‐9572                                                                               First Class Mail
Voting Party                   McCormick Barstow et al                                        Attn: Hagop T Bedoyan                    7647 N Fresno St                                          Fresno, CA 93720                                                     hagop.bedoyan@mccormickbarstow.com   Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mccormick Elementary PTO                                       Dan Beard Council, Bsa 438               751 Loveland Miamiville Rd                                Loveland, OH 45140‐6939                                                                                   First Class Mail
Chartered Organization         Mccormick Excavating & Paving                                  Pikes Peak Council 060                   30887 Us Hwy 24                                           Stratton, CO 80836‐8509                                                                                   First Class Mail
Chartered Organization         Mccoy's Flooring And Cabinets                                  Utah National Parks 591                  775 N 400 E                                               Lehi, UT 84043‐1621                                                                                       First Class Mail
Chartered Organization         Mccreary County School District                                Blue Grass Council 204                   120 Raider Way                                            Stearns, KY 42647‐6110                                                                                    First Class Mail
Voting Party                   McCrory United Methodist Church                                c/o Friday, Eldredge & Clark LLP         Attn: Lindsey Emerson Raines                              400 W Capitol Ave, Ste 2000        Little Rock, AR 72201             lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   McCrory United Methodist Church                                Attn: Carla Ray Thompson                 P.O. Box 361                                              McCrory, AR 72101                                                    carlarose216@yahoo.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mccullough Es                                                  Pathway To Adventure 456                 1110 W 21St Ave                                           Gary, IN 46407‐2415                                                                                       First Class Mail
Chartered Organization         Mccurdy Elementary PTA                                         Greater St Louis Area Council 312        975 Lindsay Ln                                            Florissant, MO 63031‐4133                                                                                 First Class Mail
Voting Party                   McCutchanville Community Church                                Attn: Greg Davis                         9505 Petersburg Rd                                        Evansville, IN 47725                                                 gkdavis@gmail.com                    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mcdill Parent Teacher Org                                      Samoset Council, Bsa 627                 1966 Water St                                             Stevens Point, WI 54481‐4557                                                                              First Class Mail
Chartered Organization         Mcdonald Funeral Home                                          Middle Tennessee Council 560             102 W End Ave                                             Centerville, TN 37033‐1314                                                                                First Class Mail
Chartered Organization         Mcdonald Presbyterian Church                                   Laurel Highlands Council 527             202 W Lincoln Ave                                         Mc Donald, PA 15057                                                                                       First Class Mail
Firm                           McDonald Worley PC                                             Keven M Cox                              1770 St. James Place, Ste 100                             Houston, TX 77056                                                    kevin@mcdonaldworley.com             Email
                                                                                                                                                                                                                                                                      klyons@mcdonaldworley.com            First Class Mail
Chartered Organization         Mcdonalds Of Helena                                            Montana Council 315                      P.O. Box 4939                                             Helena, MT 59604‐4939                                                                                     First Class Mail
Chartered Organization         Mcdonaldsville St Pauls Utd Methodist Ch                       Buckeye Council 436                      7641 Wales Ave Nw                                         North Canton, OH 44720‐6356                                                                               First Class Mail
Chartered Organization         Mcdonough First Baptist                                        Flint River Council 095                  Mcdonough Ga                                              Mcdonough, GA 30253                                                                                       First Class Mail
Chartered Organization         Mcdowell County Sheriff                                        Piedmont Council 420                     593 Spaulding Rd                                          Marion, NC 28752‐5194                                                                                     First Class Mail
Chartered Organization         Mcdowell Elementary                                            Middle Tennessee Council 560             714 W 7Th St                                              Columbia, TN 38401‐3052                                                                                   First Class Mail
Chartered Organization         Mcdowell High Sch Njrotc                                       Parents Assoc                            600 S Mcdowell Ave                                        Marion, NC 28752                                                                                          First Class Mail
Chartered Organization         Mcds Benevolent Assoc                                          Samoset Council, Bsa 627                 500 Forest St                                             Wausau, WI 54403‐5554                                                                                     First Class Mail
Voting Party                   McEachern Memorial United Methodist Church 4075 Macland Rd P   c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mceachern Memorial Utd Methodist                               Atlanta Area Council 092                 4075 Macland Rd                                           Powder Springs, GA 30127‐1504                                                                             First Class Mail
Chartered Organization         Mceachern Utd Methodist Church                                 Atlanta Area Council 092                 4030 Macland Rd                                           Powder Springs, GA 30127                                                                                  First Class Mail
Chartered Organization         Mcelwain Elementary School                                     Denver Area Council 061                  1020 Dawson Dr                                            Thornton, CO 80229‐4909                                                                                   First Class Mail
Voting Party                   McEwen United Methodist Church                                 Attn: Tracy L Harrell                    102 S Court Sq                                            Waverly, TN 37185                                                    tracy.harrell@porchpeeler.com        Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mcewen Utd Methodist Church                                    Middle Tennessee Council 560             146 Church St                                             Mc Ewen, TN 37101‐1502                                                                                    First Class Mail
Chartered Organization         Mcfarland Lutheran Church                                      Glaciers Edge Council 620                5529 Marsh Rd                                             Mc Farland, WI 53558‐9690                                                                                 First Class Mail
Chartered Organization         Mcfarland Police Dept                                          Glaciers Edge Council 620                P.O. Box 110                                              Mc Farland, WI 53558‐0110                                                                                 First Class Mail
Voting Party                   McFarland United Methodist Church                              Attn: Pastor                             P.O. Box 156                                              Rossville, GA 30741                                                  vicki.riddle@yahoo.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mcfarland Volunteer Fire Dept                                  Glaciers Edge Council 620                5915 Milwaukee St                                         Mc Farland, WI 53558‐8962                                                                                 First Class Mail
Voting Party                   McFarlin Memorial United Methodist Church                      Attn: Stephen Mitchell                   P.O. Box 6390                                             Norman, OK 73070‐6390                                                smitchell@mcfarlinumc.org            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mcfarlin Utd Methodist Church                                  Last Frontier Council 480                419 S University Blvd                                     Norman, OK 73069‐5717                                                                                     First Class Mail
Chartered Organization         Mcferrin Community Center                                      Middle Tennessee Council 560             311 Berry St                                              Nashville, TN 37207                                                                                       First Class Mail
Chartered Organization         Mcgaheysville Utd Methodist Church                             Stonewall Jackson Council 763            10106 Mcgaheysville Rd                                    Mcgaheysville, VA 22840                                                                                   First Class Mail
Chartered Organization         Mcgee Chapel Baptist Church                                    Sam Houston Area Council 576             2025 Hwy 6 S                                              Houston, TX 77077‐3303                                                                                    First Class Mail
Voting Party                   McGehee First United Methodist                                 Attn: Jackie Conrad                      P.O. Box 467                                              McGehee, AR 71654                                                    lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mcgill Baptist Church                                          Central N Carolina Council 416           5300 Poplar Tent Rd                                       Concord, NC 28027‐9757                                                                                    First Class Mail
Voting Party                   McGivney Kluger Clark & Intoccia PC                            Attn: Kenneth Ross                       80 Broad St 23rd Fl                                       New York, NY 10004                                                   kross@mcgivneyandkluger.com          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   McGivney Kluger Clark & Intoccia PC                            Attn: Kenneth Ross                       80 Broad St, 23rd Floor                                   New York, NY 10004                                                   kross@mcgivneyandkluger.com          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   McGivney Kluger Clark & Intoccia, PC                           Attn: Kenneth Ross                       80 Broad St 23rd Fl                                       New York, NY 10004                                                   kross@mcgivneyandkluger.com          Email
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Voting Party                   McGivney Kluger Clark & Intoccia, PC                           Attn: Kenneth Ross                       80 Broad St, 23rd Fl                                      New York, NY 10004                                                   kross@mcgivneyandkluger.com          Email
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Voting Party                   McGivney Kluger Clark & Intoccia, PC                           Attn: Kenneth Ross                       80 Broad St, 23rd Floor                                   New York, NY 10004                                                   kross@mcgivneyandkluger.com          Email
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Voting Party                   McGivney, Kluger, Clark & Intoccia                             Attn: Kevin D Torge                      80 Broad St 23rd Fl                                       New York, NY 10004                                                   ktorge@mcgivneyandkluger.com         Email
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Voting Party                   McGivney, Kluger, Clark & Intoccia                             Attn: Kevin D Torge                      80 Broad St, 23rd Fl                                      New York, NY 10004                                                   ktorge@mcgivneyandkluger.com         Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   McGivney, Kluger, Clark & Intoccia                             Attn: Kevin D Torge Esq                  80 Broad St, 23rd Fl                                      New York, NY 10004                                                   ktorge@mcgivneyandkluger.com         Email
                                                                                                                                                                                                                                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 260 of 442
                                                                                  Case 20-10343-LSS                                           Doc 8171                                     Filed 01/06/22                                                  Page 276 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                        Name                                                                                             Address                                                                                                        Email                  Method of Service
Voting Party                   McGivney, Kluger, Clark & Intoccia                             Attn: Kevin D Torge Esq                   80 Broad St, 23rd Floor                                   New York, NY 10004                                                 ktorge@mcgivneyandkluger.com      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McGivney, Kluger, Clark & Intoccia PC                          Attn: Kevin D Torge Esq                   80 Broad St 23rd St                                       New York, NY 10004                                                 ktorge@mcgivneyandkluger.com      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McGivney, Kluger, Clark & Intoccia, PC                         Attn: Kevin D Torge Esq                   80 Broad St 23rd Fl                                       New York, NY 10004                                                 ktorge@mcgivneyandkluger.com      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McGivney, Kluger, Clark & Intoccia, PC                         Attn: Kevin D Torge Esq                   80 Broad St, 23rd Fl                                      New York, NY 10004                                                 ktorge@mcgivneyandkluger.com      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McGivney, Kluger, Clark & Intoccia, PC                         Attn: Kevin D Torge                       80 Broad St, 23rd Floor                                   New York, NY 10004                                                 ktorge@mcgivneyandkluger.com      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McGivney, Kluger, Clark & Intoccia, PC                         Attn: Kevin D Torge Esq                   80 Broad St, 23rd Floor                                   New York, NY 10004                                                 ktorge@mcgivneyandkluger.com      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McGowan, Steve                                                 Address Redacted                                                                                                                                                       Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mcgrath School PTO                                             Greater St Louis Area Council 312         2350 St Clair Ave                                         St Louis, MO 63144‐1644                                                                              First Class Mail
Chartered Organization         Mcgraw Ib World School Ptso                                    Longs Peak Council 062                    4800 Hinsdale Dr                                          Fort Collins, CO 80526‐3926                                                                          First Class Mail
Chartered Organization         Mcgraw Utd Methodist                                           Baden‐Powell Council 368                  22 W Main St                                              Mc Graw, NY 13101                                                                                    First Class Mail
Chartered Organization         Mcgregor Elementary PTA                                        Buckeye Council 436                       2339 17Th St Sw                                           Canton, OH 44706‐2770                                                                                First Class Mail
Voting Party                   McGuire United Methodist Church                                Attn: Malcolm Bass                        2075 Arkansas Rd                                          West Monroe, LA 71291                                              church@mcguireumc.org             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mcguire Utd Methodist Men                                      Louisiana Purchase Council 213            1200 Arkansas Rd                                          West Monroe, LA 71291‐7118                                                                           First Class Mail
Chartered Organization         Mcguire Woods LLP                                              Heart Of Virginia Council 602             800 E Canal St                                            Richmond, VA 23219‐3956                                                                              First Class Mail
Voting Party                   Mcguire Woods LLP                                              Accounts Receivable                       800 E Canal St                                            Richmond, VA 23219‐3956                                                                              First Class Mail
Chartered Organization         Mchc Kennett Square Family Center                              Chester County Council 539                637 Millers Hl                                            Kennett Square, PA 19348‐2431                                                                        First Class Mail
Chartered Organization         Mchenry County Sheriff's Office                                Blackhawk Area 660                        2200 N Seminary Ave                                       Woodstock, IL 60098‐2637                                                                             First Class Mail
Chartered Organization         Mchenry Moose Lodge                                            Blackhawk Area 660                        3535 N Richmond Rd                                        Johnsburg, IL 60051‐5447                                                                             First Class Mail
Chartered Organization         Mcilhenny Co                                                   Evangeline Area 212                       2266 S College Rd                                         Lafayette, LA 70508‐8300                                                                             First Class Mail
Chartered Organization         Mcintosh Community Bettermans Assoc                            Mobile Area Council‐Bsa 004               P.O. Box 128                                              Mc Intosh, AL 36553‐0128                                                                             First Class Mail
Chartered Organization         Mcintosh County Schools                                        Coastal Georgia Council 099               4975 Hwy 17                                               Darien, GA 31305                                                                                     First Class Mail
Chartered Organization         Mcintosh School PTO                                            Blackhawk Area 660                        525 N Pierpont Ave                                        Rockford, IL 61101‐5036                                                                              First Class Mail
Chartered Organization         Mcintyre Elementary School                                     Laurel Highlands Council 527              200 Mcintyre Rd                                           Pittsburgh, PA 15237‐4035                                                                            First Class Mail
Chartered Organization         Mcintyre Parent Teacher Org                                    Great Lakes Fsc 272                       19600 Saratoga Blvd                                       Southfield, MI 48076‐2442                                                                            First Class Mail
Chartered Organization         Mckay Parent Teacher Club                                      Cascade Pacific Council 492               7485 Sw Scholls Ferry Rd                                  Beaverton, OR 97008‐6534                                                                             First Class Mail
Chartered Organization         Mckellar‐Sipes Regional Airport                                W Tennessee Area Council 559              308 Grady Montgomery Dr                                   Jackson, TN 38301‐9720                                                                               First Class Mail
Voting Party                   McKendree (Lincolnton) 3537 Maiden Hwy, Lincolnton, NC 28092   c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mckendree Chapel Utd Methodist Church                          Piedmont Council 420                      P.O. Box 1719                                             Mooresville, NC 28115                                                                                First Class Mail
Voting Party                   Mckendree Memorial United Methodist Church                     Attn: Amy Hughes                          208 Wheeler St                                            Portland, TN 37148                                                 mckendreememorial@bellsouth.net   Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McKendree United Methodist Church                              Attn: Stephen Ray Tucker                  10410 Old Hinkleville Rd                                  Kevil, KY 42053                                                    samson@brtc.net                   Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McKendree United Methodist Church                              Attn: Stephen Handy                       608 Logwood Briar Cir                                     Brentwood, TN 37027                                                mckendreestephen@gmail.com        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McKendree United Methodist Church                              Attn: Gracie Dowell                       3720 Kelly Rd                                             Kevil, KY 42053                                                    bdowell@brtc.net                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McKendree United Methodist Church                              Attn: Stephen Emanuel Handy Sr            523 Church St                                             Nashville, TN 37219                                                                                  First Class Mail
Voting Party                   McKendree United Methodist Church (09122)                      c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mckendree Utd Methodist Church                                 Northeast Georgia Council 101             1570 Lawrenceville Suwanee Rd                             Lawrenceville, GA 30043‐3503                                                                         First Class Mail
Chartered Organization         Mckendree Utd Methodist Church                                 Middle Tennessee Council 560              523 Church St                                             Nashville, TN 37219‐2312                                                                             First Class Mail
Voting Party                   Mckendree‐Simms‐Brookland                                      Attn: Mary Joyce Harris                   2421 Lawrence St NE                                       Washington, DC 20018                                               mjh_0430@msn.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Mckendree‐Simms‐Brookland UMC                                  Attn: Mary J Harris                       1354 Constitution Ave NE                                  Washington, DC 20002                                               mjh_0430@msn.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mckenzie Church Of Christ                                      Oregon Trail Council 697                  250 51St St                                               Springfield, OR 97478‐6022                                                                           First Class Mail
Chartered Organization         Mckenzie Drone                                                 Oregon Trail Council 697                  8455 Mckenzie Hwy                                         Springfield, OR 97478‐8698                                                                           First Class Mail
Chartered Organization         Mckenzie Memorial Methodist                                    Circle Ten Council 571                    1809 S Donoho                                             Clarksville, TX 75426‐4424                                                                           First Class Mail
Voting Party                   McKenzie Memorial UMC                                          Attn: Trustee Chair                       1809 S Donoho                                             Clarksville, TX 75426                                              umcmckenziememorial@yahoo.com     Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McKenzie United Methodist Church                               Attn: H N Cunningham III                  1955 County Rd 2980                                       WIndom, TX 75492                                                   hnciii@aol.com                    Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McKenzie Valley Presbyterian Church                            Attn: Nancy Ashley                        P. O. Box 88                                              Walterville, OR 97489                                              nancy.w.ashley@gmail.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McKenzie Valley Presbyterian Church                            Attn: Nancy Winniford Ashley              P.O. Box 88                                               Walterville, OR 97489                                              nancy.w.ashley@gmail.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           McKeon Doud, P.C.                                              Timothy W. McKeon                         1211 Echelon Place, Ste B                                 Helena, MT 59602                                                   tim@mckeondoudlaw.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mckie Recreation Center                                        Dan Beard Council, Bsa 438                1655 Chase Ave                                            Cincinnati, OH 45223‐2253                                                                            First Class Mail
Chartered Organization         Mckinley Elementary                                            Indian Nations Council 488                6703 E King St                                            Tulsa, OK 74115‐6829                                                                                 First Class Mail
Chartered Organization         Mckinley Elementary PTA                                        Pacific Skyline Council 031               818 Acacia Dr                                             Burlingame, CA 94010‐3603                                                                            First Class Mail
Chartered Organization         Mckinley Elementary PTA                                        Northern Lights Council 429               5 5Th Ave Ne                                              Minot, ND 58703‐2411                                                                                 First Class Mail
Chartered Organization         Mckinley Elementary PTO                                        Pathway To Adventure 456                  4825 Magoun Ave                                           East Chicago, IN 46312‐3425                                                                          First Class Mail
Chartered Organization         Mckinley Elementary‐Owatonna                                   Gamehaven 299                             423 14Th St Ne                                            Owatonna, MN 55060‐1728                                                                              First Class Mail
Chartered Organization         Mckinley School PTO                                            Illowa Council 133                        621 Kindler Ave                                           Muscatine, IA 52761‐2455                                                                             First Class Mail
Chartered Organization         Mckinley School PTO                                            Patriots Path Council 358                 500 1St St                                                Westfield, NJ 07090‐4123                                                                             First Class Mail
Chartered Organization         Mckinlock American Legion Post 264                             Northeast Illinois 129                    801 N Mckinley Rd                                         Lake Forest, IL 60045‐1730                                                                           First Class Mail
Chartered Organization         Mckinney High School                                           Circle Ten Council 571                    4700 S Ridge Rd Apt 1037                                  Mckinney, TX 75070‐2277                                                                              First Class Mail
Chartered Organization         Mckinney High School ‐ Boyd                                    Circle Ten Council 571                    600 N Lake Forest Dr                                      Mckinney, TX 75071‐1018                                                                              First Class Mail
Voting Party                   McKinney Memorial UMC                                          Attn: Ben Cavil                           1607 Nashby St                                            LaMarque, TX 77568                                                 blcavil@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mckinney North Hs                                              Circle Ten Council 571                    2550 Wilmeth Rd                                           Mckinney, TX 75071‐2607                                                                              First Class Mail
Chartered Organization         Mckinney Police Dept                                           Circle Ten Council 571                    Taylor Burk Dr                                            Mckinney, TX 75071                                                                                   First Class Mail
Firm                           McKoon, Williams, Atchley & Stulce, PLLC                       Clayton M. Whittaker                      633 Chestnut Street, Ste 1500                             Chattanooga, TN 37450                                              cwhittaker@mwalawfirm.com         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McKownville United Methodist Church                            Attn: Noreen J VanDoreen, Legal Dept      1565 Western Ave                                          Albany, NY 12203                                                   Norvandoren@yahoo.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mclabe Park Community Center                                   Middle Tennessee Council 560              101 46Th Ave N                                            Nashville, TN 37209‐4607                                                                             First Class Mail
Chartered Organization         Mclain High School                                             Denver Area Council 061                   13600 W 2Nd Pl                                            Lakewood, CO 80228‐1204                                                                              First Class Mail
Voting Party                   McLane Middleton Professional Association                      Attn: Joseph A Foster                     900 Elm St                                                P.O. Box 326                      Manchester, NH 03105             joseph.foster@mclane.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McLaughlin & Glazer                                            Attn: Robert Glazer                       26 N 3rd St                                               Easton, PA 18042                                                   usbcglazer@gmail.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           McLaughlin & Lauricella, P.C.                                  Slade H. McLaughlin, Esq                  2005 Market St., Ste 2300                                 Philadelphia, PA 19103                                             shm@best‐lawyers.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           McLaughlin & Lauricella, P.C.                                  Slade H. McLaughlin, Esq.                 100 Century Parkway, Ste 160                              Mount Laurel, NJ 08054                                             shm@best‐lawyers.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   McLaurin Heights United Methodist Church                       Attn: Jason Philip Bird                   325 Mary Ann Dr                                           Pearl, MS 39208                                                    secmhumc@bellsouth.net            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mclean Islamic Center                                          National Capital Area Council 082         8800 Tarrett Valley Dr                                    Vienna, VA 22182                                                                                     First Class Mail
Chartered Organization         Mclean Utd Methodist Church                                    Golden Spread Council 562                 P.O. Box 125                                              Mclean, TX 79057‐0125                                                                                First Class Mail
Voting Party                   McLoud First United Methodist Church                           P.O. Box 997                              McLoud, OK 74851                                                                                                                                               First Class Mail
Chartered Organization         Mclouth Utd Methodist Church                                   Jayhawk Area Council 197                  P.O. Box 159                                              Mc Louth, KS 66054‐0159                                                                              First Class Mail
Voting Party                   McMasters United Methodist Church (Turtle Creek)               c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mcmechen First Church Of God                                   Ohio River Valley Council 619             1003 Logan St                                             Mcmechen, WV 26040‐1309                                                                              First Class Mail
Chartered Organization         Mcmichael Afterschool Program                                  Cradle Of Liberty Council 525             3543 Fairmount Ave                                        Philadelphia, PA 19104‐1906                                                                          First Class Mail
Chartered Organization         Mcmicken Heights Parent Teacher Org                            Chief Seattle Council 609                 3708 S 168Th St                                           Seatac, WA 98188‐3149                                                                                First Class Mail
Chartered Organization         Mcmillan Lodge 400                                             Bay‐Lakes Council 635                     103 W John St                                             Newberry, MI 49868‐1124                                                                              First Class Mail
Chartered Organization         Mcmillen Engineering                                           Westmoreland Fayette 512                  115 Wayland Smith Dr                                      Uniontown, PA 15401‐2687                                                                             First Class Mail
Chartered Organization         Mcminnville Cooperative Ministries                             Cascade Pacific Council 492               544 Ne 2Nd St                                             Mcminnville, OR 97128‐4611                                                                           First Class Mail
Voting Party                   McMinnville Cooperative Ministries                             c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mcmurry Utd Methodist Church                                   Heart Of America Council 307              25 N Eugene Field Rd                                      Kansas City, MO 64119‐1701                                                                           First Class Mail
Chartered Organization         Mcnair Elementary PTA                                          Greater St Louis Area Council 312         585 Coachway Ln                                           Hazelwood, MO 63042‐1456                                                                             First Class Mail
Chartered Organization         Mcnamara Elementary                                            Sam Houston Area Council 576              8714 Mcavoy Dr                                            Houston, TX 77074‐7308                                                                               First Class Mail
Chartered Organization         Mcnamara‐Moore American Legion Post 61                         Mid‐America Council 326                   354 Lajune Ave                                            Ida Grove, IA 51445‐8086                                                                             First Class Mail
Chartered Organization         Mcneel Parent Teacher Org                                      Glaciers Edge Council 620                 1524 Frederick St                                         Beloit, WI 53511‐3206                                                                                First Class Mail
Chartered Organization         Mconnellsburg Utd Presbyterian Church                          Mason Dixon Council 221                   S. 2Nd. and Maple St                                      Mcconnellsburg, PA 17233                                                                             First Class Mail
Chartered Organization         Mcpie Mcclintock Partners In Education                         Mecklenburg County Council 415            4519 Providence Rd                                        Charlotte, NC 28226‐5111                                                                             First Class Mail
Chartered Organization         Mcrae Chapel Outdoorsman Baptist Church                        W Tennessee Area Council 559              1555 Sulphur Creek Rd                                     Big Sandy, TN 38221                                                                                  First Class Mail
Firm                           McRae Law Offices, PA                                          Steven Goerke, Esq.                       5300 W Atlantic Ave, Ste 412                              Delray Beach, FL 33484                                             sgoerke@mcraelawfirm.com          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mctigue Middle School PTO                                      Erie Shores Council 460                   5555 Nebraska Ave                                         Toledo, OH 43615‐4636                                                                                First Class Mail
Chartered Organization         Mcveytown Presbyterian Church                                  Juniata Valley Council 497                P.O. Box 323                                              Mc Veytown, PA 17051‐0323                                                                            First Class Mail
Voting Party                   McVeytown United Methodist Church (32106391)                   c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mcveytown Utd Methodist Church                                 Juniata Valley Council 497                3 S Queen St                                              Mc Veytown, PA 17051                                                                                 First Class Mail
Chartered Organization         Mcyc                                                           Golden Empire Council 047                 9412 Big Horn Blvd Ste 2                                  Elk Grove, CA 95758‐1101                                                                             First Class Mail
Chartered Organization         Mead Elementary Charterschool Ptc                              Samoset Council, Bsa 627                  241 17Th Ave S                                            Wisconsin Rapids, WI 54495‐2408                                                                      First Class Mail
Voting Party                   Mead United Methodist Church                                   Attn: Treasurer                           501 Palmer                                                Mead, CO 80542                                                     revphilvogels@gmail.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Meadow Community Assoc                                         Denver Area Council 061                   3033 E 1St Ave Ste 840                                    Denver, CO 80206‐5617                                                                                First Class Mail
Chartered Organization         Meadow Fire Dept                                               Tuscarora Council 424                     7041 Nc Hwy 50 S                                          Benson, NC 27504‐7207                                                                                First Class Mail
Chartered Organization         Meadow Glens Home & School Assoc                               Three Fires Council 127                   1150 Muirhead Ave                                         Naperville, IL 60565‐1690                                                                            First Class Mail
Chartered Organization         Meadow Heights Baptist Church                                  Greater St Louis Area Council 312         1498 Vandalia St                                          Collinsville, IL 62234‐4456                                                                          First Class Mail
Chartered Organization         Meadow Park School PTO                                         Southwest Florida Council 088             750 Essex Ave                                             Port Charlotte, FL 33948‐7730                                                                        First Class Mail
Chartered Organization         Meadow View Elementary School                                  Lincoln Heritage Council 205              1255 W Vine St                                            Radcliff, KY 40160‐1941                                                                              First Class Mail
Chartered Organization         Meadow Vista Area Lions Club                                   Golden Empire Council 047                 P.O. Box 1177                                             Meadow Vista, CA 95722‐1177                                                                          First Class Mail
Chartered Organization         Meadow Wood School PTA                                         Sam Houston Area Council 576              14230 Memorial Dr                                         Houston, TX 77079‐6721                                                                               First Class Mail
Voting Party                   Meadowbrook ‐ Poly United Methodist Church                     c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradely.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Meadowbrook ‐ Poly United Methodist Church                     3900 Meadowbrook Dr                       Ft Worth, TX 76103                                                                                                                                             First Class Mail
Chartered Organization         Meadowbrook Congregational Church                              Great Lakes Fsc 272                       21355 Meadowbrook Rd                                      Novi, MI 48375‐5245                                                                                  First Class Mail
Chartered Organization         Meadowbrook Elementary ‐ Gfwar                                 Longhorn Council 662                      3218 E Belknap St                                         Fort Worth, TX 76111‐4739                                                                            First Class Mail
Chartered Organization         Meadowbrook Elementary School PTA                              Potawatomi Area Council 651               3130 Rolling Ridge Dr                                     Waukesha, WI 53188‐1356                                                                              First Class Mail
Chartered Organization         Meadowbrook Methodist Church                                   Longhorn Council 662                      3900 Meadowbrook Dr                                       Fort Worth, TX 76103‐2602                                                                            First Class Mail
Chartered Organization         Meadowbrook Parent Teacher Org                                 Northeast Illinois 129                    1600 Walters Ave                                          Northbrook, IL 60062‐4604                                                                            First Class Mail
Chartered Organization         Meadowbrook Psa                                                Bay‐Lakes Council 635                     720 Hillcrest Hts                                         Green Bay, WI 54313‐6918                                                                             First Class Mail
Chartered Organization         Meadowcreek High School                                        Northeast Georgia Council 101             4455 Steve Reynolds Blvd                                  Norcross, GA 30093‐3323                                                                              First Class Mail
Chartered Organization         Meadowcreek Utd Methodist Church                               Indian Nations Council 488                1420 Se 146Th St N                                        Collinsville, OK 74021                                                                               First Class Mail
Chartered Organization         Meadowcreek Utd Methodist Church                               Indian Nations Council 488                14205 E 146Th St N                                        Collinsville, OK 74021‐4609                                                                          First Class Mail
Chartered Organization         Meadowdale H & H Ch Utd Methodist Ch                           Mountaineer Area 615                      141 Mt Harmony Rd                                         Fairmont, WV 26554‐5511                                                                              First Class Mail
Voting Party                   Meadowdale United Methodist Church H & H Chapel                Attn: Terry L Carpenter                   P.O. Box 1798                                             Fairmont, WV 26555                                                                                   First Class Mail
Chartered Organization         Meadowlark Church Of Christ                                    Longs Peak Council 062                    2810 Meadowlark Ave                                       Fort Collins, CO 80526‐2838                                                                          First Class Mail
Chartered Organization         Meadowlark Community Church                                    San Diego Imperial Council 049            1918 Redwing St                                           San Marcos, CA 92078‐5139                                                                            First Class Mail
Chartered Organization         Meadowlark Concerned Parents                                   Montana Council 315                       2200 Fox Farm Rd                                          Great Falls, MT 59404                                                                                First Class Mail
Chartered Organization         Meadowlark Parent Advisory Council                             Overland Trails 322                       101 E 53Rd                                                Kearney, NE 68847                                                                                    First Class Mail
Chartered Organization         Meadowood Church                                               Denver Area Council 061                   16051 E Dartmouth Ave                                     Aurora, CO 80013‐1914                                                                                First Class Mail
Voting Party                   Meadows Chapel UMC                                             Attn: Mark Moore                          40075 Hwy 621                                             Gonzales, LA 70737                                                 mmmcapco@msn.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Meadows Chapel UMC                                             Attn: Treasurer                           16172 Hwy 73                                              Prairieville, LA 70769                                             meadowschapelumc@live.com         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Meadows Neighborhood Co Hoa                                    Denver Area Council 061                   3692 Meadows Blvd                                         Castle Rock, CO 80109‐8613                                                                           First Class Mail
Voting Party                   Meadows of Dan Ruritan, Inc                                    Attn: Debra S Shelor                      2858 Jeb Stuart Hwy                                       Meadows of Dan, VA 24120                                           debrashelor@gmail.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Meadows Oil Co Inc                                             dba Aftermarket Specialties               P.O. Box 631                                              Beckley, WV 25802‐0631                                                                               First Class Mail
Chartered Organization         Meadows Parent Teacher Org                                     Mid‐America Council 326                   9225 Berry St                                             Omaha, NE 68127‐3505                                                                                 First Class Mail
Chartered Organization         Meadows Park Community Center                                  Pikes Peak Council 060                    1943 S El Paso Ave                                        Colorado Springs, CO 80905‐2760                                                                      First Class Mail
Chartered Organization         Meadowthorpe Presbyterian Church                               Blue Grass Council 204                    356 Hillsboro Ave                                         Lexington, KY 40511‐2106                                                                             First Class Mail
Chartered Organization         Meadowview Elementary School PTO                               Norwela Council 215                       4315 Shed Rd                                              Bossier City, LA 71111‐5222                                                                          First Class Mail
Voting Party                   Meadowview United Methodist Church                             Attn: Carl D McKinney                     27403 Homestead Dr                                        Meadowview, VA 24361                                               ckmckinney49@gmail.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Meadowview Utd Methodist Church                                Sequoyah Council 713                      P.O. Box 255                                              Meadowview, VA 24361‐0255                                                                            First Class Mail
Chartered Organization         Means Memorial Methodist Memorial Church                       Buffalo Trail Council 567                 201 Ne Ave B                                              Andrews, TX 79714‐5221                                                                               First Class Mail
Voting Party                   Means Memorial United Methodist Church                         Attn: Secretary/Treasurer and/or Pastor   201 NE Ave B                                              Andrews, TX 79714                                                                                    First Class Mail
Chartered Organization         Mebane Presbyterian Church                                     Old N State Council 070                   402 S Fifth St                                            Mebane, NC 27302‐2708                                                                                First Class Mail
Chartered Organization         Mebane Utd Methodist Church                                    Old N State Council 070                   200 S Fourth St                                           Mebane, NC 27302‐2642                                                                                First Class Mail
Chartered Organization         Mebane Volunteer Fire Dept                                     Old N State Council 070                   1469 Mebane Oaks Rd                                       Mebane, NC 27302‐9682                                                                                First Class Mail
Chartered Organization         Mechanicial Contractors Assoc Det                              Great Lakes Fsc 272                       14801 W 8 Mile Rd                                         Detroit, MI 48235‐1623                                                                               First Class Mail
Chartered Organization         Mechanicsburg Fire Dept                                        Tecumseh 439                              18 N Main St                                              Mechanicsburg, OH 43044‐1107                                                                         First Class Mail
Chartered Organization         Mechanicsburg Presbyterian Church                              New Birth Of Freedom 544                  300 E Simpson St                                          Mechanicsburg, PA 17055‐6509                                                                         First Class Mail
Chartered Organization         Mechanicsburg Utd Methodist Church                             Tecumseh 439                              42 N Main St                                              Mechanicsburg, OH 43044‐1107                                                                         First Class Mail
Chartered Organization         Mechanicsville Fire Dept                                       National Capital Area Council 082         28165 Hills Club Rd                                       Mechanicsville, MD 20659‐7220                                                                        First Class Mail
Chartered Organization         Mechanicsville Optimist Club                                   National Capital Area Council 082         27030 Queentree Rd                                        Mechanicsville, MD 20659‐3751                                                                        First Class Mail
Chartered Organization         Mechanicsville Recreation Assoc                                Heart Of Virginia Council 602             P.O. Box 222                                              Mechanicsville, VA 23111‐0222                                                                        First Class Mail
Voting Party                   Mechanicsville UMC                                             c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Mechanicsville Utd Methodist Church                            Heart Of Virginia Council 602             7356 Atlee Rd                                             Mechanicsville, VA 23111‐1757                                                                        First Class Mail
Chartered Organization         Mecklenburg Cnty Distr Attorney's Office                       Mecklenburg County Council 415            700 E Trade St                                            Charlotte, NC 28202‐3022                                                                             First Class Mail
Chartered Organization         Mecklenburg Ems Agency                                         Mecklenburg County Council 415            4425 Wilkinson Blvd                                       Charlotte, NC 28208‐5528                                                                             First Class Mail
Chartered Organization         Mecosta Co Red Arrow Amvets Post 1941                          President Gerald R Ford 781               320 S 4Th Ave                                             Big Rapids, MI 49307‐1637                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 261 of 442
                                                                                 Case 20-10343-LSS                                                           Doc 8171                                     Filed 01/06/22                                                  Page 277 of 457
                                                                                                                                                                                             Exhibit B
                                                                                                                                                                                              Service List
                                                                                                                                                                                       Served as set forth below

        Description                                                    Name                                                                                                                Address                                                                                                          Email                   Method of Service
Voting Party                   Mecosta: New Hope United Methodist Church                      Attn: Treasurer                                          7296 9 Mile Rd                                            Mecosta, MI 49332                                                  nhumcat@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Medfield Lions                                                 Mayflower Council 251                                    P.O. Box 79                                               Medfield, MA 02052‐0079                                                                                 First Class Mail
Chartered Organization         Medfield Rec Center                                            Baltimore Area Council 220                               1501 Woodheights Ave                                      Baltimore, MD 21211‐1218                                                                                First Class Mail
Chartered Organization         Medford Friends Church                                         Crater Lake Council 491                                  525 De Barr Ave                                           Medford, OR 97501‐1626                                                                                  First Class Mail
Chartered Organization         Medford Police Dept                                            Crater Lake Council 491                                  411 W 8Th St                                              Medford, OR 97501‐3105                                                                                  First Class Mail
Chartered Organization         Medford Ski Education Foundation                               Crater Lake Council 491                                  450 Orchard St                                            Ashland, OR 97520‐1631                                                                                  First Class Mail
Voting Party                   Medford United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Medford Utd Methodist Church                                   Garden State Council 690                                 2 Hartford Rd                                             Medford, NJ 08055‐9001                                                                                  First Class Mail
Voting Party                   Medford, First United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Mediapolis Community Ambulance                                 Mississippi Valley Council 141 141                       412 Main St                                               Mediapolis, IA 52637‐9466                                                                               First Class Mail
Chartered Organization         Mediapolis Fire Dept                                           Mississippi Valley Council 141 141                       412 Main St                                               Mediapolis, IA 52637‐9466                                                                               First Class Mail
Chartered Organization         Medical Lake Kiwanis Club                                      Inland NW Council 611                                    P.O. Box 851                                              Medical Lake, WA 99022‐0851                                                                             First Class Mail
Chartered Organization         Medicine Lodge Lions Club                                      Quivira Council, Bsa 198                                 200 E Kansas Ave                                          Medicine Lodge, KS 67104‐1407                                                                           First Class Mail
Chartered Organization         Medicine Mountain Camp                                         Black Hills Area Council 695 695                         24201 Bobcat Rd                                           Custer, SD 57730‐6503                                                                                   First Class Mail
Chartered Organization         Medicine Rock Inc                                              Arbuckle Area Council 468                                9119 E 12675                                              Dustin, OK 74839‐9101                                                                                   First Class Mail
Chartered Organization         Medina Academy                                                 Chief Seattle Council 609                                16242 Nup Way                                             Bellevue, WA 98008                                                                                      First Class Mail
Chartered Organization         Medina Church Of The Nazarene                                  Great Trail 433                                          6901 Wooster Pike                                         Medina, OH 44256‐8860                                                                                   First Class Mail
Chartered Organization         Medina City Fire Dept                                          Great Trail 433                                          300 W Reagan Pkwy                                         Medina, OH 44256‐1574                                                                                   First Class Mail
Chartered Organization         Medina County Sheriffs Dept                                    Great Trail 433                                          555 Independence Dr                                       Medina, OH 44256‐2460                                                                                   First Class Mail
Chartered Organization         Medina Dale Readfield Lions Club                               Bay‐Lakes Council 635                                    P.O. Box 71                                               Readfield, WI 54969‐0071                                                                                First Class Mail
Chartered Organization         Medina First Utd Methodist Church                              W Tennessee Area Council 559                             500 W Church Ave                                          Medina, TN 38355‐8772                                                                                   First Class Mail
Chartered Organization         Medina Presbyterian Church                                     Great Trail 433                                          5020 Burgundy Bay Blvd                                    Medina, OH 44256‐8227                                                                                   First Class Mail
Chartered Organization         Medina Ranch Inc                                               Alamo Area Council 583                                   215 Zambrano Rd                                           San Antonio, TX 78209‐5458                                                                              First Class Mail
Chartered Organization         Medina Sunrise Rotary Club                                     Great Trail 433                                          P.O. Box 1726                                             Medina, OH 44258‐1726                                                                                   First Class Mail
Chartered Organization         Medina Utd Methodist Church                                    Great Trail 433                                          4747 Foote Rd                                             Medina, OH 44256‐8746                                                                                   First Class Mail
Chartered Organization         Medina Valley Utd Methodist Church                             Alamo Area Council 583                                   1108 Country Ln                                           Castroville, TX 78009‐5056                                                                              First Class Mail
Chartered Organization         Medina Vfw Post 5137                                           Great Trail 433                                          3916 Pearl Rd                                             Medina, OH 44256‐9036                                                                                   First Class Mail
Chartered Organization         Medinah Park District                                          Three Fires Council 127                                  22W130 Thorndale Ave                                      Medinah, IL 60157                                                                                       First Class Mail
Chartered Organization         Medley Police Dept                                             South Florida Council 084                                7777 Nw 72Nd Ave                                          Medley, FL 33166‐2213                                                                                   First Class Mail
Chartered Organization         Medshore Ambulance Service                                     Blue Ridge Council 551                                   1009 N Fant St                                            Anderson, SC 29621‐4817                                                                                 First Class Mail
Chartered Organization         Medshore Ambulance Services                                    Blue Ridge Council 551                                   902 Anderson Dr                                           Williamston, SC 29697‐1306                                                                              First Class Mail
Chartered Organization         Medtronic Inc                                                  Northern Star Council 250                                7000 Central Ave Ne                                       Fridley, MN 55432‐3568                                                                                  First Class Mail
Voting Party                   Meeker United Methodist Church                                 Attn: Pastor David Petty                                 P.O. Box 26                                               Meeker, CO 81641                                                   meekerumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Meeker United Methodist Church                                 Attn: David Petty                                        809 Park St                                               Meeker, CO 81641                                                                                        First Class Mail
Chartered Organization         Meeple Madness                                                 Northeast Georgia Council 101                            7400 Spout Springs Rd Ste 205                             Flowery Branch, GA 30542‐9904                                                                           First Class Mail
Voting Party                   Meesner Reeves, LLP                                            Attn: Deanne R Stodden                                   1430 Wynkoop St, Ste 300                                  Denver, CO 80202                                                   bankruptcy@messner.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Mehoopany UMC (079968)                                         c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Mehoopany Utd Methodist Church                                 Northeastern Pennsylvania Council 501                    4635 Sr 87                                                Mehoopany, PA 18629‐7875                                                                                First Class Mail
Chartered Organization         Meigs County Friends Of Scouting Assoc                         Buckskin 617                                             1516 Powell St                                            Middleport, OH 45760‐1361                                                                               First Class Mail
Chartered Organization         Melange Health Solutions                                       Mecklenburg County Council 415                           145 Scaleybark Rd Ste B                                   Charlotte, NC 28209‐2682                                                                                First Class Mail
Chartered Organization         Melbourne Church Of Christ                                     Central Florida Council 083                              P.O. Box 120332                                           Melbourne, FL 32912‐0332                                                                                First Class Mail
Voting Party                   Melick Porter LLP                                              1 Liberty Sq 7Th Fl                                      Boston, MA 02109‐4825                                                                                                                                             First Class Mail
Chartered Organization         Melissa Christian Church                                       Circle Ten Council 571                                   P.O. Box 606                                              Melissa, TX 75454‐0606                                                                                  First Class Mail
Voting Party                   Melissa Richards                                               Address Redacted                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mellichamp Elem ‐ Ai                                           Indian Waters Council 553                                396 St Paul St                                            Orangeburg, SC 29115‐5465                                                                               First Class Mail
Chartered Organization         Mellingers Evangelical Lutheran Church                         Pennsylvania Dutch Council 524                           80 Gockley Rd                                             Stevens, PA 17578‐9655                                                                                  First Class Mail
Chartered Organization         Mellingers Lutheran Church                                     Pennsylvania Dutch Council 524                           80 Gockley Rd                                             Stevens, PA 17578‐9655                                                                                  First Class Mail
Firm                           Melnyk Law Firm                                                David Melnyk                                             7436 Broad River Rd                                       Irmo, SC 39063                                                     david@melnyklawfirm.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Melrose Chapel                                                 Mississippi Valley Council 141 141                       3600 Payson Rd                                            Quincy, IL 62305‐6505                                                                                   First Class Mail
Voting Party                   Melrose Chapel United Methodist Church                         Attn: Nancy Wilson                                       3600 Payson Rd                                            Quincy, IL 62305                                                   mchapel@adams.net                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Melrose Elementary PTAN                                        Oregon Trail Council 697                                 2960 Melrose Rd                                           Roseburg, OR 97471‐8903                                                                                 First Class Mail
Chartered Organization         Melrose Fire Co Inc                                            Twin Rivers Council 364, Rte 40                          Melrose, NY 12121                                                                                                                                                 First Class Mail
Chartered Organization         Melrose Highlands Congregational Church                        The Spirit Of Adventure 227                              355 Franklin St                                           Melrose, MA 02176‐1854                                                                                  First Class Mail
Chartered Organization         Melrose Park Public Safety                                     Pathway To Adventure 456                                 2309 Main St                                              Melrose Park, IL 60160‐3629                                                                             First Class Mail
Chartered Organization         Melrose Volunteer Fire Dept Inc                                North Florida Council 087                                301 Cypress St                                            Melrose, FL 32666‐3946                                                                                  First Class Mail
Voting Party                   Melvin J Berman Hebrew Academy                                 Attn: Rabbi Dr Yossi Kastan                              13300 Arctic Ave                                          Rockville, MD 20853                                                matthewsmart@paulhastings.com        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Melvin J Berman Hebrew Academy                                 Attn: Rabbi Dr Yossi Kastan                              13300 Arctic Ave                                          Rockville, MD 20853                                                                                     First Class Mail
Chartered Organization         Members Of Valley Creek Fire Dept                              Lincoln Heritage Council 205                             P.O. Box 27                                               Elizabethtown, KY 42702‐0027                                                                            First Class Mail
Voting Party                   Memorial                                                       c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial 4668 Old Murphy Rd, Franklin, NC 28734                c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Memorial Ame Zion Church                                       Seneca Waterways 397                                     549 Clarissa St                                           Rochester, NY 14608‐2446                                                                                First Class Mail
Chartered Organization         Memorial Baptist Church                                        Great Rivers Council 653                                 1634 Paris Rd                                             Columbia, MO 65201‐5612                                                                                 First Class Mail
Chartered Organization         Memorial Congregational Church                                 Mayflower Council 251                                    26 Concord Rd                                             Sudbury, MA 01776‐2331                                                                                  First Class Mail
Chartered Organization         Memorial Drive Presbyterian Church                             Sam Houston Area Council 576                             11612 Memorial Dr                                         Houston, TX 77024‐7207                                                                                  First Class Mail
Voting Party                   Memorial Drive United Methodist Church                         Attn: Steven Bradley Morgan                              12955 Memorial Dr                                         Houston, TX 77079                                                  bradmorgan@mdumc.org                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Memorial Elem ‐ Kc                                             Sam Houston Area Council 576                             6401 Arnot St                                             Houston, TX 77007‐2007                                                                                  First Class Mail
Chartered Organization         Memorial Evangelical Lutheran Church                           Northern Star Council 250                                15730 Afton Blvd S                                        Afton, MN 55001‐9386                                                                                    First Class Mail
Voting Party                   Memorial First India United Methodist Church                   Attn: John T Roth, Finance Chair                         9226 Colesville Rd                                        Silver Spring, MD 20910                                            seetheman@earthlink.net              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Memorial Health Uni Med Ctr                                    Coastal Georgia Council 099                              4731 Waters Ave                                           Savannah, GA 31404‐6219                                                                                 First Class Mail
Chartered Organization         Memorial Hermann Hospital Katy                                 Sam Houston Area Council 576                             23900 Katy Fwy                                            Katy, TX 77494‐1323                                                                                     First Class Mail
Chartered Organization         Memorial Hermann Katy Hospital                                 Sam Houston Area Council 576                             23900 Katy Fwy                                            Katy, TX 77494‐1323                                                                                     First Class Mail
Chartered Organization         Memorial Hospital                                              Greater St Louis Area Council 312                        P.O. Box 609                                              Chester, IL 62233‐0609                                                                                  First Class Mail
Chartered Organization         Memorial Hospital                                              North Florida Council 087                                3625 University Blvd S                                    Jacksonville, FL 32216‐4207                                                                             First Class Mail
Chartered Organization         Memorial Lutheran Church                                       Attn: Dennis Islet COR                                   5810 3Rd St                                               Katy, TX 77493‐2425                                                                                     First Class Mail
Chartered Organization         Memorial Lutheran Church                                       New Birth Of Freedom 544                                 34 E Orange St                                            Shippensburg, PA 17257‐1928                                                                             First Class Mail
Chartered Organization         Memorial Lutheran Church                                       North Florida Council 087                                3375 Us Hwy 1 S                                           St Augustine, FL 32086‐6490                                                                             First Class Mail
Voting Party                   Memorial Lutheran Church                                       Attn: Eric D Bruce                                       P.O. Box 75037                                            Wichita, KS 67275                                                  Mail@KsAdvocates.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Memorial Methodist Mens Club                                   Greater St Louis Area Council 312                        425 North St, Ste A                                       Farmington, MO 63640‐3212                                                                               First Class Mail
Chartered Organization         Memorial Park Presbyterian Church                              Laurel Highlands Council 527                             8800 Peebles Rd                                           Allison Park, PA 15101‐2716                                                                             First Class Mail
Chartered Organization         Memorial Park Utd Presbyterian Church                          Laurel Highlands Council 527                             8800 Peebles Rd                                           Allison Park, PA 15101‐2716                                                                             First Class Mail
Chartered Organization         Memorial Presbyterian Church                                   Westark Area Council 016                                 307 N Church St                                           Atkins, AR 72823‐4112                                                                                   First Class Mail
Chartered Organization         Memorial Presbyterian Church                                   Sagamore Council 162                                     731 Walnut St                                             Dayton, IN 47941‐8000                                                                                   First Class Mail
Chartered Organization         Memorial Presbyterian Church                                   Water And Woods Council 782                              1310 Ashman St                                            Midland, MI 48640‐5429                                                                                  First Class Mail
Chartered Organization         Memorial Presbyterian Church                                   Last Frontier Council 480                                601 24Th Ave Sw                                           Norman, OK 73069‐3912                                                                                   First Class Mail
Chartered Organization         Memorial Presbyterian Church                                   North Florida Council 087                                32 Sevilla St                                             St Augustine, FL 32084‐3535                                                                             First Class Mail
Chartered Organization         Memorial Presbyterian Church                                   Garden State Council 690                                 208 E Pine St                                             Wenonah, NJ 08090‐1933                                                                                  First Class Mail
Chartered Organization         Memorial Presbyterian Church                                   Gulf Stream Council 085                                  1300 S Olive Ave                                          West Palm Beach, FL 33401‐6724                                                                          First Class Mail
Voting Party                   Memorial Presbyterian Church of West Palm Beach                1300 S Olive Ave                                         W Palm Beach, FL 33401                                                                                                       admin@gompc.org                      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial Presbyterian Church Society of St Augustine, Inc      Attn: Andrew Brown                                       32 Sevilla St                                             St Augustine, FL 32084                                             abrown@memorialpcusa.org             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Memorial PTA                                                   Circle Ten Council 571                                   2200 Laurel Ln                                            Plano, TX 75074‐3110                                                                                    First Class Mail
Chartered Organization         Memorial Regional Health Services                              Greater St Louis Area Council 312                        4500 Memorial Dr                                          Belleville, IL 62226‐5360                                                                               First Class Mail
Chartered Organization         Memorial Road Church Of Christ                                 Last Frontier Council 480                                2221 E Memorial Rd                                        Edmond, OK 73013‐5518                                                                                   First Class Mail
Voting Party                   Memorial UMC                                                   c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial UMC 1327 Cedrow Dr High Point, NC 27260               c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial UMC Terre Haute, Indiana                              Attn: Pastor, Ron Branson                                2701 Poplar St                                            Terre Haute, IN 47803                                              ron.branson@inumc.org                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist                                      c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church                               Attn: Trustees                                           P.O. Box 9                                                Appomattox, VA 24522‐3201                                          threehalls1@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church                               Attn: Tammy J Tuttle                                     48 S River St                                             Swanton, VT 05488                                                  terrifictam@gmail.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church                               Berta A Penney                                           910 Sage                                                  Kemmerer, WY 83101                                                 sawrnr@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church                               Attn: Pastor Siobhan S Faustino                          250 Bryant Ave                                            White Plains, NY 10605                                             pastorsiobhan@memorial4all.org       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church                               Attn: Lorraine Gregg, Memorial United Methodist Church   1920 Lake Shore Dr                                        Gladstone, MI 49837                                                mumc@gladstonechurch.org             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church                               Attn: Terryl S Rajcevich                                 2935 Sheridan Rd                                          Zion, IL 60099                                                     memorialunited1.church@comcast.net   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church                               Attn: Denise Carrizales                                  631 N Miles St                                            Elizabethtown, KY 42701                                            jerry.stith@gmail.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church                               Attn: Jerry Stith                                        6776 Rineyville Rd                                        Rineyville, KY 40162                                               jerry.stith@gmail.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church                               Attn: Chair, Memorial UMC Trustees                       11000 Courthouse Rd                                       Charles City, VA 23030                                             gary3113@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church                               Attn: Treasurer                                          101 S Hess St                                             Quarryville, PA 17566                                              Chris@Quarryville.Church             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church (closed) ‐ Neptune            c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church 4012 Central Ave, Charlotte   c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church of Austin                     Attn: Treasurer, Memorial UMC                            6100 Berkman Dr                                           Austin, TX 78723                                                   secretary@memorialumcaustin.com      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church of Clovis                     Attn: Pastor Janette Saavedra                            1726 Pollasky Ave                                         Clovis, CA 93611                                                   memumc@mem‐umc.org                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church of Modena                     P.O. Box 577                                             Modena, NY 12528                                                                                                             mumcmodenany430@gmail.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Memorial United Methodist Church, Avon CT                      867 W Avon Rd                                            Avon, CT 06001                                                                                                               avonmumc@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Memorial Utd Methodist                                         Blue Ridge Council 551                                   201 N Main St                                             Greer, SC 29650‐1924                                                                                    First Class Mail
Chartered Organization         Memorial Utd Methodist                                         Northeast Illinois 129                                   2935 Sheridan Rd                                          Zion, IL 60099‐3241                                                                                     First Class Mail
Chartered Organization         Memorial Utd Methodist Church                                  Buckeye Council 436                                      P.O. Box 248                                              Caledonia, OH 43314‐0248                                                                                First Class Mail
Chartered Organization         Memorial Utd Methodist Church                                  Great Smoky Mountain Council 557                         323 N Main St                                             Clinton, TN 37716‐3716                                                                                  First Class Mail
Chartered Organization         Memorial Utd Methodist Church                                  Central N Carolina Council 416                           1100 W C St                                               Kannapolis, NC 28081‐4100                                                                               First Class Mail
Chartered Organization         Memorial Utd Methodist Church                                  Rip Van Winkle Council 405                               P.O. Box 577                                              Modena, NY 12548‐0577                                                                                   First Class Mail
Voting Party                   Memorial, Thomasville 101 Randolph St, Thomasville, NC 27360   c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Memphis Fire Dept                                              Water And Woods Council 782                              35095 Potter St                                           Memphis, MI 48041‐4654                                                                                  First Class Mail
Chartered Organization         Memphis Fire Dept                                              Chickasaw Council 558                                    65 S Front St                                             Memphis, TN 38103‐2411                                                                                  First Class Mail
Chartered Organization         Memphis Islamic Center                                         Chickasaw Council 558                                    10225 Humphrey Rd                                         Cordova, TN 38018‐6603                                                                                  First Class Mail
Chartered Organization         Men Of Church‐Bethesda Presbyterian                            Palmetto Council 549                                     4858 Mcconnells Hwy                                       York, SC 29745‐7577                                                                                     First Class Mail
Chartered Organization         Men Of First Lutheran                                          Northern Lights Council 429                              300 E 2Nd St                                              Morris, MN 56267                                                                                        First Class Mail
Chartered Organization         Men Of Presbyterian Church                                     Great Smoky Mountain Council 557                         601 Church St                                             Sweetwater, TN 37874‐2906                                                                               First Class Mail
Chartered Organization         Men Of St Pauls Utd Methodist Church                           Catalina Council 011                                     8051 E Broadway Blvd                                      Tucson, AZ 85710‐3963                                                                                   First Class Mail
Chartered Organization         Men Of Valor Academy                                           Last Frontier Council 480                                1215 Ne 34Th St                                           Oklahoma City, OK 73111‐4501                                                                            First Class Mail
Chartered Organization         Menallen Grange 1091                                           Westmoreland Fayette 512                                 60 Brownfield Ln                                          Uniontown, PA 15401‐5255                                                                                First Class Mail
Voting Party                   Menards                                                        c/o Capital One Commercial                               P.O. Box 60506                                            City Of Industry, CA 91716‐0506                                                                         First Class Mail
Chartered Organization         Mendenhall River Community School Parent                       Great Alaska Council 610                                 10014 Crazy Horse Dr                                      Juneau, AK 99801‐8529                                                                                   First Class Mail
Chartered Organization         Mendon Fire Dept                                               Seneca Waterways 397                                     101 Mendon Ionia Rd                                       Mendon, NY 14506‐9775                                                                                   First Class Mail
Chartered Organization         Mendon Firefighters Assoc                                      Mayflower Council 251                                    24 Main St                                                Mendon, MA 01756‐1130                                                                                   First Class Mail
Chartered Organization         Mendon Police Assoc                                            Mayflower Council 251                                    22 Main St                                                Mendon, MA 01756‐1130                                                                                   First Class Mail
Chartered Organization         Mendon Presbyterian Chuch                                      Seneca Waterways 397                                     936 Cheese Factory Rd                                     Mendon, NY 14506                                                                                        First Class Mail
Voting Party                   Mendon United Methodist Church                                 Attn: Linda Thompson Treasurer                           P.O. Box 308                                              320 W Main St                     Mendon, MI 49072                 mendonmethodist@gmail.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Mendon United Methodist Community Church                       Attn: Treasurer                                          P.O. Box 1286                                             Mendon, VT 05701                                                   rgsherwin29@comcast.net              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Mendon United Methodist Community Church                       Attn: Tresurer                                           P.O. Box 1286                                             Mendon, VT 05701                                                   AASC1@together.net                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Mendota Police Dept                                            Sequoia Council 027                                      1000 Airport Blvd Ste A                                   Mendota, CA 93640‐2702                                                                                  First Class Mail
Voting Party                   Mendota: First United Methodist Church                         Attn: Mary Elizabeth Bohall                              100 E 6th St                                              Mendota, IL 61342                                                  rev.marybohall@gmail.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Mendoza Sch Grp Concerned Citizens                             Grand Canyon Council 010                                 5831 E Mclellan Rd                                        Mesa, AZ 85205‐3550                                                                                     First Class Mail
Chartered Organization         Menifee Police Dept                                            California Inland Empire Council 045                     29714 Haun Rd                                             Sun City, CA 92586‐6540                                                                                 First Class Mail
Chartered Organization         Menifee Valley Youth Foundation                                California Inland Empire Council 045                     33150 Nancy Ln                                            Menifee, CA 92584‐8394                                                                                  First Class Mail
Chartered Organization         Menlo Church Saratoga                                          Silicon Valley Monterey Bay 055                          20455 Herriman Ave                                        Saratoga, CA 95070‐4901                                                                                 First Class Mail
Chartered Organization         Menlo Park Academy                                             Lake Erie Council 440                                    2149 W 53Rd St                                            Cleveland, OH 44102‐4409                                                                                First Class Mail
Chartered Organization         Menlo Park Fire Protection District                            Pacific Skyline Council 031                              300 Middlefield Rd                                        Menlo Park, CA 94025‐3565                                                                               First Class Mail
Chartered Organization         Menlo Park Police Assoc                                        Pacific Skyline Council 031                              750 Menlo Ave Ste 200                                     Menlo Park, CA 94025‐4735                                                                               First Class Mail
Chartered Organization         Menlo Park Police Dept                                         Pacific Skyline Council 031                              701 Laurel St                                             Menlo Park, CA 94025‐3452                                                                               First Class Mail
Chartered Organization         Menlo Park Presbyterian Church                                 Pacific Skyline Council 031                              950 Santa Cruz Ave                                        Menlo Park, CA 94025‐4611                                                                               First Class Mail
Chartered Organization         Menomonee Club For Boys & Girls                                Pathway To Adventure 456                                 1535 N Dayton St                                          Chicago, IL 60642‐8054                                                                                  First Class Mail
Chartered Organization         Menomonee Falls Fire Dept                                      Potawatomi Area Council 651                              W140N7501 Lilly Rd                                        Menomonee Falls, WI 53051                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                              Page 262 of 442
                                                                                 Case 20-10343-LSS                                            Doc 8171                                      Filed 01/06/22                                                      Page 278 of 457
                                                                                                                                                                               Exhibit B
                                                                                                                                                                                Service List
                                                                                                                                                                         Served as set forth below

        Description                                                       Name                                                                                               Address                                                                                                               Email              Method of Service
Chartered Organization         Menomonee Falls Kiwanis Club                             Potawatomi Area Council 651                      P.O. Box 585                                              Menomonee Falls, WI 53052‐0585                                                                          First Class Mail
Chartered Organization         Menomonee Falls Optimist Club                            Potawatomi Area Council 651                      Street                                                    Menomonee Falls, WI 53051                                                                               First Class Mail
Chartered Organization         Menomonie High School Ffa                                Chippewa Valley Council 637                      1715 5Th St W                                             Menomonie, WI 54751‐3149                                                                                First Class Mail
Chartered Organization         Menomonie Police Dept                                    Chippewa Valley Council 637                      615 Stokke Pkwy Ste G200                                  Menomonie, WI 54751‐7901                                                                                First Class Mail
Chartered Organization         Mens Assoc Of Sts Philip & James                         Chester County Council 539                       721 E Lincoln Hwy                                         Exton, PA 19341‐2802                                                                                    First Class Mail
Chartered Organization         Mens Bible Class First Utd Methodist                     Andrew Jackson Council 303                       427 Crider Dr                                             Brookhaven, MS 39601                                                                                    First Class Mail
Chartered Organization         Mens Bible Class Utd Presbyterian Ch                     Juniata Valley Council 497                       Shirley & Div Sts                                         Mount Union, Pa 17066                                                                                   First Class Mail
Chartered Organization         Mens Bible Class‐Emanuel Lutheran Church                 Alamo Area Council 583                           206 N Travis St                                           Seguin, TX 78155‐5635                                                                                   First Class Mail
Chartered Organization         Men's Club                                               Longhouse Council 373                            First United Methodist Church                             Baldwinsville, NY 13027                                                                                 First Class Mail
Chartered Organization         Men's Club 1St Utd Methodist Ch                          Gulf Coast Council 773                           599 8Th Ave                                               Crestview, FL 32536‐2013                                                                                First Class Mail
Voting Party                   Men's Club 1st Utd Methodist Ch                          Attn: William T Shaffer Esq                      146 W Woodruff Ave                                        Crestview, FL 32536                                                    WTSlawgroup@msn.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mens Club Fairfield Grace Utd                            Connecticut Yankee Council Bsa 072               1089 Fairfield Woods Rd                                   Fairfield, CT 06825‐3228                                                                                First Class Mail
Chartered Organization         Mens Club Friendship Presbyterian Church                 Northeast Georgia Council 101                    8531 Macon Hwy                                            Watkinsville, GA 30677                                                                                  First Class Mail
Chartered Organization         Mens Club Hinton Ave Utd Methodist                       Stonewall Jackson Council 763                    750 Hinton Ave                                            Charlottesville, VA 22902‐5760                                                                          First Class Mail
Chartered Organization         Mens Club Mary Our Queen Catholic Church                 Mid‐America Council 326                          3405 S 118Th St                                           Omaha, NE 68144                                                                                         First Class Mail
Chartered Organization         Mens Club Of First Congregational Church                 Daniel Webster Council, Bsa 330                  Main St                                                   Rindge, NH 03461                                                                                        First Class Mail
Chartered Organization         Mens Club Of Guardian Angels Church                      Northern Star Council 250                        8260 4Th St N                                             Oakdale, MN 55128‐7032                                                                                  First Class Mail
Chartered Organization         Mens Club Of Seminole Utd Methodist                      Greater Tampa Bay Area 089                       5400 Seminole Blvd                                        Seminole, FL 33772‐7317                                                                                 First Class Mail
Chartered Organization         Mens Club Of St Mary Of Vernon Church                    Northeast Illinois 129                           236 Us Hwy 45                                             Indian Creek, IL 60061‐4407                                                                             First Class Mail
Chartered Organization         Men's Club Of St Paul's Church                           Hudson Valley Council 374                        60 W Main St                                              Middletown, NY 10940‐5732                                                                               First Class Mail
Chartered Organization         Mens Club St Martin Episcopal                            Atlanta Area Council 092                         3110 Ashford Dunwoody Rd Ne                               Brookhaven, GA 30319‐2972                                                                               First Class Mail
Chartered Organization         Mens Club Temple Oheb Shalom                             Baltimore Area Council 220                       7310 Park Heights Ave                                     Baltimore, MD 21208‐5436                                                                                First Class Mail
Chartered Organization         Men's Club, Ch, Holy Spirit                              Northern Star Council 250                        515 Albert St S                                           St Paul, MN 55116‐1611                                                                                  First Class Mail
Chartered Organization         Mens Club‐Our Lady Of Sorrows R C Church                 Westchester Putnam 388                           920 Mamaroneck Ave                                        White Plains, NY 10605‐3525                                                                             First Class Mail
Chartered Organization         Mens Community Club‐Mill Plain Church                    Connecticut Rivers Council, Bsa 066              242 Southmayd Rd                                          Waterbury, CT 06705‐2036                                                                                First Class Mail
Chartered Organization         Mens Fellowship                                          Neelsville Presbyterian Ch                       20701 Frederick Rd                                        Germantown, MD 20876‐4137                                                                               First Class Mail
Chartered Organization         Mens Fellowship 1St Methodist Toccoa                     Northeast Georgia Council 101                    333 E Tugalo St                                           Toccoa, GA 30577‐2129                                                                                   First Class Mail
Chartered Organization         Mens Fellowship Bethlehem Presbyterian                   Hudson Valley Council 374                        Rr 94 Box Jackson Ave                                     Cornwall, NY 12518                                                                                      First Class Mail
Chartered Organization         Mens Fellowship Ist Methodist Toccoa                     Northeast Georgia Council 101                    407 E Tugalo St                                           Toccoa, GA 30577                                                                                        First Class Mail
Chartered Organization         Mens Fellowship‐Neelsville Presbyterian                  National Capital Area Council 082                20701 Frederick Rd                                        Germantown, MD 20876‐4137                                                                               First Class Mail
Chartered Organization         Mens Methodist Club                                      South Georgia Council 098                        117 Starksville Ave N                                     Leesburg, GA 31763‐4588                                                                                 First Class Mail
Chartered Organization         Menta Academy                                            Greater St Louis Area Council 312                6400 W Main St Ste 03                                     Belleville, IL 62223‐3806                                                                               First Class Mail
Chartered Organization         Mental Health Assoc Of Beaver Cty                        Laurel Highlands Council 527                     105 Brighton Ave                                          Rochester, PA 15074‐2203                                                                                First Class Mail
Chartered Organization         Mentone Green Foundation Inc                             Greater Alabama Council 001                      17185 County Rd 89                                        Mentone, AL 35984‐2333                                                                                  First Class Mail
Chartered Organization         Mentor 2 Youth                                           Southern Shores Fsc 783                          111 S Wallace Blvd                                        Ypsilanti, MI 48197‐4644                                                                                First Class Mail
Chartered Organization         Mentor Utd Methodist Church                              Lake Erie Council 440                            8600 Mentor Ave                                           Mentor, OH 44060‐5834                                                                                   First Class Mail
Voting Party                   Mequon United Methodist Church                           Attn: Karen Huffman, Treasurer                   11011 N Oriole Ln                                         Mequon, WI 53092                                                       finance@mequonumc.org            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mequon‐Thiensville Sunrise Rotary Club                   Bay‐Lakes Council 635                            11126 N Cedarburg Rd                                      Mequon, WI 53092‐4357                                                                                   First Class Mail
Chartered Organization         Meramec Arnold Elks Lodge                                Greater St Louis Area Council 312                1515 Miller Rd                                            Imperial, MO 63052‐3064                                                                                 First Class Mail
Chartered Organization         Meramec Elementary PTO                                   Greater St Louis Area Council 312                2745 Meramec St                                           St Louis, MO 63118‐4533                                                                                 First Class Mail
Chartered Organization         Meramec Heights Warrior Supporters                       Greater St Louis Area Council 312                1340 W Outer 21 Rd                                        Arnold, MO 63010‐3247                                                                                   First Class Mail
Chartered Organization         Meramec Hills Chapter Of                                 Missouri Master Naturalists                      1106 Highland Dr                                          Rolla, MO 65401‐3605                                                                                    First Class Mail
Chartered Organization         Meramec School PTO                                       Greater St Louis Area Council 312                400 S Meramec Ave                                         St Louis, MO 63105‐2531                                                                                 First Class Mail
Chartered Organization         Meramec Valley Eagles Sullivan                           Greater St Louis Area Council 312                1000 Acid Mine Rd                                         Sullivan, MO 63080‐2665                                                                                 First Class Mail
Chartered Organization         Merced County Office Of Education                        Greater Yosemite Council 059                     632 W 13Th St                                             Merced, CA 95341‐5908                                                                                   First Class Mail
Chartered Organization         Merced County Sheriff's Dept‐Winton                      Greater Yosemite Council 059                     2222 M St                                                 Merced, CA 95340‐3729                                                                                   First Class Mail
Chartered Organization         Merced Elks Lodge 1240                                   Greater Yosemite Council 059                     1910 M St                                                 Merced, CA 95340‐3707                                                                                   First Class Mail
Chartered Organization         Merced Police Dept                                       Greater Yosemite Council 059                     611 W 22Nd St                                             Merced, CA 95340‐3703                                                                                   First Class Mail
Chartered Organization         Mercedes Ward Ch LDS                                     Rio Grande Council 775                           210 Southgate Blvd                                        Weslaco, TX 78596‐7002                                                                                  First Class Mail
Chartered Organization         Mercer Co Elem PTO                                       Blue Grass Council 204                           741 Tapp Rd                                               Harrodsburg, KY 40330‐1070                                                                              First Class Mail
Chartered Organization         Mercer County Sheriff Dept                               Black Swamp Area Council 449                     4835 State Rte 29                                         Celina, OH 45822‐8216                                                                                   First Class Mail
Voting Party                   Mercer Island Presbyterian Church                        3605 84th Ave SE                                 Mercer Island, WA 98040                                                                                                          operations@mipc.org              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mercer Raiders                                           Buckskin 617                                     105 Old Bluefield Rd                                      Princeton, WV 24739‐8901                                                                                First Class Mail
Voting Party                   Mercer United Methodist Church (86782)                   c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mercersburg Sportsmen Assoc, Inc                         Mason Dixon Council 221                          Dickeys Rd                                                Mercersburg, PA 17236                                                                                   First Class Mail
Chartered Organization         Mercy Anderson Hospital                                  Dan Beard Council, Bsa 438                       7500 State Rd                                             Cincinnati, OH 45255‐2439                                                                               First Class Mail
Chartered Organization         Mercy Baptist Church                                     Pee Dee Area Council 552                         2805 4Th Ave                                              Conway, SC 29527‐5668                                                                                   First Class Mail
Chartered Organization         Mercy Baptist Church                                     Ohio River Valley Council 619                    3474 Pennsylvania Ave                                     Weirton, WV 26062‐3923                                                                                  First Class Mail
Chartered Organization         Mercy Community Church                                   Great Trail 433                                  201 Beachwood Dr                                          Youngstown, OH 44505‐4283                                                                               First Class Mail
Chartered Organization         Mercy Fairfield Hospital                                 Dan Beard Council, Bsa 438                       3000 Mack Rd                                              Fairfield, OH 45014‐5335                                                                                First Class Mail
Chartered Organization         Mercy Flights Inc Air & Ground Ambulance                 Crater Lake Council 491                          2020 Milligan Way                                         Medford, OR 97504‐5894                                                                                  First Class Mail
Chartered Organization         Mercy Health ‐ Tiffin Hospital                           Black Swamp Area Council 449                     45 St Lawrence Dr                                         Tiffin, OH 44883‐8310                                                                                   First Class Mail
Chartered Organization         Mercy Health Clermont Hospital                           Dan Beard Council, Bsa 438                       3000 Hospital Dr                                          Batavia, OH 45103‐1921                                                                                  First Class Mail
Chartered Organization         Mercy Health Partners                                    Erie Shores Council 460                          2213 Cherry St                                            Toledo, OH 43608‐2603                                                                                   First Class Mail
Chartered Organization         Mercy Health System                                      Glaciers Edge Council 620                        1000 Mineral Point Ave                                    Janesville, WI 53548‐2940                                                                               First Class Mail
Chartered Organization         Mercy Hospital                                           Ozark Trails Council 306                         1235 E Cherokee St                                        Springfield, MO 65804‐2203                                                                              First Class Mail
Chartered Organization         Mercy Hospital Washington                                Greater St Louis Area Council 312                951 E 5Th St                                              Washington, MO 63090                                                                                    First Class Mail
Chartered Organization         Mercy House                                              Suffolk County Council Inc 404                   436 W Main St                                             Patchogue, NY 11772‐3067                                                                                First Class Mail
Chartered Organization         Mercy Medical Center                                     Northeast Iowa Council 178                       250 Mercy Dr                                              Dubuque, IA 52001‐7320                                                                                  First Class Mail
Chartered Organization         Meredian Lodge 125 Am                                    Pine Tree Council 218                            P.O. Box 365                                              Pittsfield, ME 04967‐0365                                                                               First Class Mail
Chartered Organization         Meredith Drive Reformed Church                           Mid Iowa Council 177                             5128 Meredith Dr                                          Des Moines, IA 50310‐2954                                                                               First Class Mail
Chartered Organization         Meredith Kiwanis Club                                    Daniel Webster Council, Bsa 330                  P.O. Box 598                                              Meredith, NH 03253‐0598                                                                                 First Class Mail
Voting Party                   Merhar's Ace Hardware                                    48 E Chapman St                                  Ely, MN 55731‐1228                                                                                                                                                First Class Mail
Voting Party                   Meriden United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Meridian Kiwanis Club                                    Chief Seattle Council 609                        P.O. Box 443                                              Kent, WA 98035‐0443                                                                                     First Class Mail
Voting Party                   Meridian St United Methodist Church                      Attn: Philip L McAlister                         5500 N Meridian St                                        Indianapolis, IN 46208                                                 phil.mcalister@gmail.com         Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Meridian Sun 20                                          Green Mountain 592                               South Craftsbury Rd                                       Craftsbury, VT 05826                                                                                    First Class Mail
Voting Party                   Meridian United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Meridian Utd Methodist Ch‐Mens Grp                       Ore‐Ida Council 106 ‐ Bsa 106                    235 E Pine Ave                                            Meridian, ID 83642‐2332                                                                                 First Class Mail
Chartered Organization         Meridian Utd Presbyterian Church                         Moraine Trails Council 500                       4150 Highland Ave                                         Butler, PA 16001‐2963                                                                                   First Class Mail
Chartered Organization         Meridian Vol Fire Co & Relief Assoc                      Moraine Trails Council 500                       Meridian Station                                          Butler, PA 16001                                                                                        First Class Mail
Chartered Organization         Meriwether Camp Committee                                Cascade Pacific Council 492                      2145 Sw Naito Pkwy                                        Portland, OR 97201‐5103                                                                                 First Class Mail
Chartered Organization         Merkel Lions Club                                        Texas Trails Council 561                         201 Edwards                                               Merkel, TX 79536‐3803                                                                                   First Class Mail
Chartered Organization         Merkley Es PTA                                           Pathway To Adventure 456                         9340 5Th St                                               Highland, IN 46322‐2702                                                                                 First Class Mail
Voting Party                   Merrell UMC ‐ Lauderdale Lakes                           c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Merriam Christian Church                                 Heart Of America Council 307                     9401 Johnson Dr                                           Merriam, KS 66203‐3141                                                                                  First Class Mail
Voting Party                   Merrick United Methodist Church                          Attn: Pastor Akio Iyoda                          1425 Merrick Ave                                          Merrick, NY 11566                                                      kplady97@gmail.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Merrill Optimist Club                                    Samoset Council, Bsa 627                         P.O. Box 881                                              Merrill, WI 54452‐0881                                                                                  First Class Mail
Voting Party                   Merrimacport United Methodist Church                     Attn: Robert Sanferrare                          95 River Rd                                               Merrimac, MA 01860                                                                                      First Class Mail
Chartered Organization         Merritt Island Presbyterian Church                       Central Florida Council 083                      600 S Tropical Trl                                        Merritt Island, FL 32952‐4951                                                                           First Class Mail
Chartered Organization         Merriwether Community Center                             Georgia‐Carolina 093                             1879 W Martintown Rd                                      North Augusta, SC 29860‐9615                                                                            First Class Mail
Voting Party                   Merryck & Co Americas LLC                                P.O. Box 9187                                    Portland, OR 97207‐9187                                                                                                                                           First Class Mail
Chartered Organization         Merryhill School                                         Golden Empire Council 047                        2600 V St                                                 Sacramento, CA 95818‐1914                                                                               First Class Mail
Chartered Organization         Mershon Farms                                            Westark Area Council 016                         P.O. Box 1                                                Alix, AR 72820‐0001                                                                                     First Class Mail
Firm                           Merson Law, PLLC                                         Jordan K. Merson, Esq.; Matthew G. Merson, Esq   950 3rd Ave, 18th Fl                                      New York, New York 10022                                               jmesrson@mersonlaw.com           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Merton Community Fire Dept                               Potawatomi Area Council 651                      P.O. Box 911                                              Merton, WI 53056‐0911                                                                                   First Class Mail
Chartered Organization         Merton Community Fire Dept                               Potawatomi Area Council 651                      P.O. Box 911                                              N67W28343 Sussex Rd                 Merton, WI 53056                                                    First Class Mail
Chartered Organization         Merz Tate Explorers                                      Southern Shores Fsc 783                          3609 S Circle Dr Apt 13                                   Kalamazoo, MI 49004‐6637                                                                                First Class Mail
Chartered Organization         Mes PTO                                                  Westark Area Council 016                         129 Hwy 71 Sw                                             Mountainburg, AR 72946‐4112                                                                             First Class Mail
Chartered Organization         Mesa Buckhorn Elks Lodge 2656                            Grand Canyon Council 010                         2824 N Power Rd Ste 113‐278                               Mesa, AZ 85215‐1720                                                                                     First Class Mail
Chartered Organization         Mesa County Sheriffs Office                              Denver Area Council 061                          215 Rice St                                               Grand Junction, CO 81501‐5818                                                                           First Class Mail
Chartered Organization         Mesa Mundi Inc                                           Mayflower Council 251                            47 Pond St Ste 1                                          Sharon, MA 02067‐2051                                                                                   First Class Mail
Voting Party                   Mesa Verde United Methodist Church                       Attn: Pastor Brent Criswell                      1701 Baker St                                             Costa Mesa, CA 92626                                                   office@mesaverdeumc.org          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Mesa Verde United Methodist Church                       Beatrice T Volper                                249 Amherst Rd                                            Costa Mesa, CA 92626                                                   beatrice939@gmail.com            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mesa View Utd Methodist Church                           Great Swest Council 412                          4701 Montano Rd Nw                                        Albuquerque, NM 87120‐2427                                                                              First Class Mail
Voting Party                   Meshoppen UMC (79981)                                    c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mesilla Fire Dept                                        Yucca Council 573                                P.O. Box 10                                               Mesilla, NM 88046‐0010                                                                                  First Class Mail
Chartered Organization         Mesilla Valley Christian Schools                         Yucca Council 573                                3850 Stern Dr                                             Las Cruces, NM 88001‐7637                                                                               First Class Mail
Chartered Organization         Mesquite Elks Lodge 2811                                 Utah National Parks 591                          545 Riverside Rd                                          Mesquite, NV 89027‐7104                                                                                 First Class Mail
Chartered Organization         Mesquite Fire                                            Utah National Parks 591                          10 E Mesquite Blvd                                        Mesquite, NV 89027‐4706                                                                                 First Class Mail
Chartered Organization         Mesquite Police Dept                                     Las Vegas Area Council 328                       695 Mayan Cir                                             Mesquite, NV 89027‐4341                                                                                 First Class Mail
Chartered Organization         Mesquite Police Dept                                     Circle Ten Council 571                           777 N Galloway Ave                                        Mesquite, TX 75149‐3409                                                                                 First Class Mail
Firm                           Messa & Associates, P.C.                                 Joseph L. Messa, Jr.                             123 S. 22nd St.                                           Philadelphia, PA 19103                                                 jmessa@messalaw.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Messiah Episcopal Church                                 1631 Ford Pkwy                                   St Paul, MN 55116                                                                                                                info@messiahepsicopal.org        Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Messiah Evangelical Lutheran Church                      Great Smoky Mountain Council 557                 6900 Kingston Pike                                        Knoxville, TN 37919‐5702                                                                                First Class Mail
Chartered Organization         Messiah Evangelical Lutheran Church                      Susquehanna Council 533                          324 S Howard St                                           South Williamsport, PA 17702‐7339                                                                       First Class Mail
Chartered Organization         Messiah Evangelical Lutheran Church                      Tecumseh 439                                     1013 E Lawn Ave                                           Urbana, OH 43078‐1260                                                                                   First Class Mail
Chartered Organization         Messiah Evangelical Lutheran Church                      Northeast Illinois 129                           25225 W Ivanhoe Rd                                        Wauconda, IL 60084‐2405                                                                                 First Class Mail
Voting Party                   Messiah Evangelical Lutheran Church                      Attn: Carl Caminske                              46 Pond Path                                              E Setauket, NY 11733                                                   info@messiahny.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Messiah Evangelical Lutheran Church                      465 Pond Path                                    E Setauket, NY 11733                                                                                                                                              First Class Mail
Voting Party                   Messiah Evangelical Lutheran Church of Fargo             Attn: Kip M Kaler                                3429 Interstate Blvd                                      Fargo, ND 58103                                                        kip@kaler‐doeling.com            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Messiah Evangelical Lutheran Church of Fargo             2010 Elm St N                                    Fargo, ND 58102                                                                                                                                                   First Class Mail
Chartered Organization         Messiah Lutheran                                         Lake Erie Council 440                            21485 Lorain Rd                                           Fairview Park, OH 44126‐2124                                                                            First Class Mail
Chartered Organization         Messiah Lutheran                                         Blue Ridge Council 551                           110 Log Shoals Rd                                         Mauldin, SC 29662                                                                                       First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Great Trail 433                                  4700 S Main St                                            Akron, OH 44319‐4470                                                                                    First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Crossroads Of America 160                        801 S Green St                                            Brownsburg, IN 46112‐1803                                                                               First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Southwest Florida Council 088                    2691 Ne Pine Island Rd                                    Cape Coral, FL 33909‐6507                                                                               First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Alamo Area Council 583                           9401 Dietz Elkhorn Rd                                     Fair Oaks Ranch, TX 78015‐4933                                                                          First Class Mail
Chartered Organization         Messiah Lutheran Church                                  New Birth Of Freedom 544                         3 Church St                                               Halifax, PA 17032‐9472                                                                                  First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Crossroads Of America 160                        6100 N Raceway Rd                                         Indianapolis, IN 46234‐3037                                                                             First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Greater Alabama Council 001                      7740 Hwy 72 W                                             Madison, AL 35758‐9557                                                                                  First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Glaciers Edge Council 620                        5202 Cottage Grove Rd                                     Madison, WI 53716‐1314                                                                                  First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Bay‐Lakes Council 635                            305 W Magnetic St                                         Marquette, MI 49855‐2708                                                                                First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Blue Ridge Council 551                           1100 Log Shoals Rd                                        Mauldin, SC 29662‐2714                                                                                  First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Twin Valley Council Bsa 283                      1706 Lee Blvd                                             North Mankato, MN 56003‐2737                                                                            First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Pathway To Adventure 456                         1605 Vernon Ave                                           Park Ridge, IL 60068‐1567                                                                               First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Las Vegas Area Council 328                       P.O. Box 1576                                             Parker, AZ 85344‐1576                                                                                   First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Circle Ten Council 571                           1801 W Plano Pkwy                                         Plano, TX 75075‐8620                                                                                    First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Three Harbors Council 636                        3015 Pritchard Dr                                         Racine, WI 53406‐5401                                                                                   First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Simon Kenton Council 441                         1200 Waggoner Rd                                          Reynoldsburg, OH 43068‐7267                                                                             First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Central Minnesota 296                            320 4Th Ave N                                             Sartell, MN 56377‐1739                                                                                  First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Suffolk County Council Inc 404                   465 Pond Path                                             Setauket, NY 11733‐1105                                                                                 First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Ozark Trails Council 306                         925 E Seminole St                                         Springfield, MO 65807‐3037                                                                              First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Greater New York Councils, Bsa 640               672 Drumgoole Rd E                                        Staten Island, NY 10312‐3308                                                                            First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Greater New York Councils, Bsa 640               174 Jefferson Blvd                                        Staten Island, NY 10312‐3328                                                                            First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Water And Woods Council 782                      8497 Miller Rd                                            Swartz Creek, MI 48473‐1262                                                                             First Class Mail
Chartered Organization         Messiah Lutheran Church                                  Voyageurs Area 286                               231 W 5Th St                                              Washburn, WI 54891‐9407                                                                                 First Class Mail
Voting Party                   Messiah Lutheran Church                                  Attn: Dennis Coerber                             9209 State Ave                                            Marysville, WA 98290                                                   secretary@messiah‐lcms.org       Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Messiah Lutheran Church                                  Attn: George Dorsey                              5600 Old Washington Rd                                    Sykesville, MD 21784                                                   Secretary@melchord.org           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Messiah Lutheran Church                                  Attn: Timothy M Hohl                             14920 Hutchinson Rd                                       Tampa, FL 33625                                                        pastormark@messiahtampa.com      Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Messiah Lutheran Church                                  Attn: Pastor Cindy Getzinger                     4703 N. Summit St                                         Toledo, OH 43611                                                       pastor@messiahlutheran.org       Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Messiah Lutheran Church                                  Attn: Pastor Brad Otto                           11522 Telge Rd                                            Cypress, TX 77429                                                      pastor@messiahlc.org             Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Messiah Lutheran Church                                  c/o Joel Hayter, PLLC                            Attn: Joel Aaron Hayter                                   16127 Cypress Valley Dr             Cypress, TX 77429                  joelhayterlaw@gmail.com          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Messiah Lutheran Church                                  Attn: Jerry Kujala                               4951 Spirit Lake Rd                                       Mountain Iron, MN 55768                                                jdkujala@gmail.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Messiah Lutheran Church                                  Attn: Thomas L Fegley                            13441 Walnutwood Ln                                       Germantown, MD 20874                                                   count1MLC@gmail.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Messiah Lutheran Church                                  Attn: Treasurer                                  13901 Clopper Rd                                          Germantown, MD 20874                                                                                    First Class Mail
Voting Party                   Messiah Lutheran Church ELCA                             Attn: Jerry Dean Kujala                          8590 Enterprise Dr S                                      Mountain Iron, MN 55768                                                jdkujala@gmail.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Messiah Lutheran Church of Brownsburg, IN                c/o Plews Shadley Racher & Braun LLP             Attn: Josh S Tatum                                        1346 N Delaware St                  Indianapolis, IN 46202             jtatum@psrb.com                  Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Messiah Lutheran Church Of Hayward                       San Francisco Bay Area Council 028               25400 Hesperian Blvd                                      Hayward, CA 94545‐2464                                                                                  First Class Mail
Voting Party                   Messiah Lutheran Church of Vancouver, WA                 Attn: Timothy A Dahlin                           905 NW 94th St                                            Vancouver, WA 98665                                                    jessicap@messiahvancouver.org    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Messiah Lutheran Church of Vancouver, Washington         Attn: Tim Dahlin/President of the Congregation   905 NW 94th St                                            Vancouver, WA 98665                                                    jessicap@messiahvancouver.org    Email
                                                                                                                                                                                                                                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                Page 263 of 442
                                                                                 Case 20-10343-LSS                                    Doc 8171                                         Filed 01/06/22                                                    Page 279 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                       Name                                                                                          Address                                                                                                           Email                    Method of Service
Voting Party                   Messiah Lutheran Church of Yorba Linda                   4861 Liverpool St                       Yorba Linda, CA 92886                                                                                                              jim.harter@messiahyl.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Messiah Lutheran Church Seattle                          Attn: Lee A Cohrs                       7050 35th Ave NE                                              Seattle, WA 98115                                                    lee.cohrs@nordstrom.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Messiah Lutheran Church‐Elca                             Glaciers Edge Council 620               5202 Cottage Grove Rd                                         Madison, WI 53716‐1314                                                                                    First Class Mail
Chartered Organization         Messiah Luthern Church                                   Circle Ten Council 571                  1801 W Plano Pkwy                                             Plano, TX 75075‐8620                                                                                      First Class Mail
Chartered Organization         Messiah Mens Club                                        Northern Lights Council 429             2010 Elm St N                                                 Fargo, ND 58102‐2425                                                                                      First Class Mail
Voting Party                   Messiah Shippensburg (182612)                            c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Messiah Trinity Church                                   Lincoln Heritage Council 205            8701 Shepherdsville Rd                                        Louisville, KY 40219‐5037                                                                                 First Class Mail
Voting Party                   Messiah UMC                                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Messiah UMC of Glen Burnie                               Attn: John Stein                        7401 E Furnace Branch Rd                                      Glae Burnie, MD 21060                                                rev.ben.rigsby@gmail.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Messiah United Methodist Church (185023)                 c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Messiah Utd Methodist Church                             Attn: Chris Mccreary                    National Capital Area Council 082                             9097 Blarney Stone Dr             Springfield, VA 22152                                                   First Class Mail
Chartered Organization         Messiah Utd Methodist Church                             Northern Star Council 250               17805 County Rd 6                                             Plymouth, MN 55447‐2904                                                                                   First Class Mail
Chartered Organization         Messiah Utd Methodist Church                             New Birth Of Freedom 544                30 S Penn St                                                  Shippensburg, PA 17257‐1914                                                                               First Class Mail
Voting Party                   Messiah, 2012 NC‐27 Vale, NC 28168                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Messial Lutheran Church Elca                             Mid‐America Council 326                 5015 S 80Th St                                                Ralston, NE 68127‐2712                                                                                    First Class Mail
Voting Party                   Messner Reeves, LLP                                      Attn: Deanne R Stodden                  1430 Wynkoop St, Ste 300                                      Denver, CO 80202                                                     bankrutpcy@messner.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Messner Reeves, LLP                                      Attn: Deanne R Stodden                  1430 Wynkoop St, Ste 300                                      Denver, CO 80202                                                     bankruptcy@messner.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Metairie Park Country Day School                         Southeast Louisiana Council 214         300 Park Rd                                                   Metairie, LA 70005‐4142                                                                                   First Class Mail
Chartered Organization         Metamora Amboy Volunteer Fire Dept                       Black Swamp Area Council 449            251 Mill St                                                   Metamora, OH 43540‐9798                                                                                   First Class Mail
Chartered Organization         Metamora Utd Methodist Church                            Black Swamp Area Council 449            3248 State Rte 120                                            Metamora, OH 43540‐9720                                                                                   First Class Mail
Chartered Organization         Metco‐Ti Inc                                             San Francisco Bay Area Council 028      7060 Koll Center Pkwy                                         Pleasanton, CA 94566‐3106                                                                                 First Class Mail
Chartered Organization         Methodist ‐ St Pauls Utd Methodist                       Grand Teton Council 107                 1730 St Clair Rd                                              Idaho Falls, ID 83404‐6304                                                                                First Class Mail
Chartered Organization         Methodist ‐ Trinity Methodist Church                     Grand Teton Council 107                 237 N Water Ave                                               Idaho Falls, ID 83402‐4003                                                                                First Class Mail
Chartered Organization         Methodist Church                                         Overland Trails 322                     1302 M St                                                     Franklin, NE 68939‐1339                                                                                   First Class Mail
Chartered Organization         Methodist Church                                         Pine Burr Area Council 304              629 Sullivan Dr                                               Hattiesburg, MS 39401‐7978                                                                                First Class Mail
Chartered Organization         Methodist Church                                         Montana Council 315                     24 N 11Th St, Ste 1N                                          Miles City, MT 59301‐3402                                                                                 First Class Mail
Chartered Organization         Methodist Church & Wheatland Lions Club                  Longs Peak Council 062                  909 9Th St                                                    Wheatland, WY 82201‐2608                                                                                  First Class Mail
Chartered Organization         Methodist Church Janesville                              Winnebago Council, Bsa 173              P.O. Box 358                                                  Janesville, IA 50647‐0358                                                                                 First Class Mail
Chartered Organization         Methodist Church Of Charleston                           Greater St Louis Area Council 312       1700 E Marshall St                                            Charleston, MO 63834‐9279                                                                                 First Class Mail
Chartered Organization         Methodist Church Of Dexter                               Southern Shores Fsc 783                 7643 Huron River Dr                                           Dexter, MI 48130‐9321                                                                                     First Class Mail
Chartered Organization         Methodist Church Of Poughquag                            Hudson Valley Council 374               21 Church St                                                  Poughquag, NY 12570‐5629                                                                                  First Class Mail
Chartered Organization         Methodist Church Of Westborough                          Mayflower Council 251                   120 W Main St                                                 Westborough, MA 01581‐3018                                                                                First Class Mail
Chartered Organization         Methodist Church Wheeler                                 Golden Spread Council 562               P.O. Box 89                                                   Wheeler, TX 79096‐0089                                                                                    First Class Mail
Chartered Organization         Methodist Men ‐ First Utd Methodist                      Three Rivers Council 578                670 N 5Th St                                                  Silsbee, TX 77656‐4041                                                                                    First Class Mail
Chartered Organization         Methodist Men Ave Utd Methodist Ch                       Del Mar Va 081                          20 N Church Ave                                               Milford, DE 19963‐1021                                                                                    First Class Mail
Chartered Organization         Methodist Men Belin Methodist Church                     Coastal Carolina Council 550            4183 Hwy 17 Bus                                               Murrells Inlet, SC 29576                                                                                  First Class Mail
Chartered Organization         Methodist Men Club Great Falls Methodist                 National Capital Area Council 082       10100 Georgetown Pike                                         Great Falls, VA 22066‐2823                                                                                First Class Mail
Chartered Organization         Methodist Men First Utd Methodist                        Buckskin 617                            905 Glendale Ave                                              Church of S Charlest              South Charleston, WV 25303                                              First Class Mail
Chartered Organization         Methodist Men Lonsdale Utd Methodist Ch                  Great Smoky Mountain Council 557        3002 Galbraith St                                             Knoxville, TN 37921‐2023                                                                                  First Class Mail
Chartered Organization         Methodist Men Mulvane                                    Quivira Council, Bsa 198                107 S Central Ave                                             Mulvane, KS 67110‐1717                                                                                    First Class Mail
Chartered Organization         Methodist Men Of Brookings                               Sioux Council 733                       625 5Th St                                                    Brookings, SD 57006‐2040                                                                                  First Class Mail
Chartered Organization         Methodist Men Of Central Utd Meth Ch                     Old Hickory Council 427                 1909 N Main St                                                Mount Airy, NC 27030‐2403                                                                                 First Class Mail
Chartered Organization         Methodist Men Of First Utd Methodist                     Great Swest Council 412                 715 Diamond Dr                                                Los Alamos, NM 87544‐2230                                                                                 First Class Mail
Chartered Organization         Methodist Men Of First Utd Methodist                     Buckskin 617                            Church                                                        Princeton, WV 24740                                                                                       First Class Mail
Chartered Organization         Methodist Men Of Garner                                  Occoneechee 421                         201 Methodist Dr                                              Garner, NC 27529‐5420                                                                                     First Class Mail
Chartered Organization         Methodist Men Of Mitchell                                Sioux Council 733                       310 N Rowley St                                               Mitchell, SD 57301‐2616                                                                                   First Class Mail
Chartered Organization         Methodist Men Of Morgantown                              Lincoln Heritage Council 205            301 N Main St                                                 Morgantown, KY 42261                                                                                      First Class Mail
Chartered Organization         Methodist Men Of Mt Olivet Methodist                     Central N Carolina Council 416          301 Mt Olivet Rd                                              Concord, NC 28025‐2825                                                                                    First Class Mail
Chartered Organization         Methodist Men Of Nixon Utd Methodist                     Moraine Trails Council 500              334 Airport Rd                                                Butler, PA 16002‐7632                                                                                     First Class Mail
Chartered Organization         Methodist Men Of The Hazardville Church                  Connecticut Rivers Council, Bsa 066     330 Hazard Ave                                                Enfield, CT 06082‐4709                                                                                    First Class Mail
Chartered Organization         Methodist Men Springfield                                National Capital Area Council 082       7047 Old Keene Mill Rd                                        Springfield, VA 22150‐2804                                                                                First Class Mail
Chartered Organization         Methodist Men Trinity U M C                              Stonewall Jackson Council 763           147 S Main St                                                 Lexington, VA 24450‐2315                                                                                  First Class Mail
Chartered Organization         Methodist Men‐Calvary Methodist Church                   Baltimore Area Council 220              403 S Main St                                                 Mount Airy, MD 21771‐5346                                                                                 First Class Mail
Chartered Organization         Methodist Men‐First Utd Methodist Ch                     Old Hickory Council 427                 340 Hawthorne Rd                                              Elkin, NC 28621‐3021                                                                                      First Class Mail
Chartered Organization         Methodist Men‐Los Banos Methodist Church                 Greater Yosemite Council 059            1031 Iowa Ave                                                 Los Banos, CA 93635‐3451                                                                                  First Class Mail
Chartered Organization         Methodist Men‐Pine Forest Utd                            Tuscarora Council 424                   867 Nc 581 Hwy S                                              Goldsboro, NC 27530‐7861                                                                                  First Class Mail
Chartered Organization         Methodist Mens Club                                      Black Warrior Council 006               P.O. Box 355                                                  Demopolis, AL 36732‐0355                                                                                  First Class Mail
Chartered Organization         Methodist Mens Club                                      Northern Lights Council 429             75 3Rd St W                                                   Dickinson, ND 58601‐5135                                                                                  First Class Mail
Chartered Organization         Methodist Mens Club                                      Greater Los Angeles Area 033            540 Main St                                                   El Segundo, CA 90245‐3005                                                                                 First Class Mail
Chartered Organization         Methodist Mens Club                                      South Georgia Council 098               117 Starksville Ave N                                         Leesburg, GA 31763‐4588                                                                                   First Class Mail
Chartered Organization         Methodist Mens Club                                      Central Georgia Council 096             Sandersville                                                  Methodist Church                  Sandersville, GA 31082                                                  First Class Mail
Chartered Organization         Methodist Mens Club                                      East Carolina Council 426               900 Arendell St                                               Morehead City, NC 28557‐4142                                                                              First Class Mail
Chartered Organization         Methodist Mens Club                                      Northeast Georgia Council 101           P.O. Box 296                                                  Social Circle, GA 30025‐0296                                                                              First Class Mail
Chartered Organization         Methodist Mens Club 1st Methodist Ch                     New Birth Of Freedom 544                200 Frederick St                                              Hanover, PA 17331‐3601                                                                                    First Class Mail
Chartered Organization         Methodist Mens Club East Cobb Utd                        Atlanta Area Council 092                2325 Roswell Rd                                               Marietta, GA 30062‐4782                                                                                   First Class Mail
Chartered Organization         Methodist Mens Club Of 1St Meth Church                   East Carolina Council 426               900 Arendell St                                               Morehead City, NC 28557‐4142                                                                              First Class Mail
Chartered Organization         Methodist Men's Club Of Butler                           Choctaw Area Council 302                South Mulberry                                                Butler, AL 36904                                                                                          First Class Mail
Chartered Organization         Methodist Mens Club Of Main St                           Blue Ridge Mtns Council 599             701 N Main St                                                 South Boston, VA 24592‐3338                                                                               First Class Mail
Chartered Organization         Methodist Mens Club Of St James                          Attn: Leslie Hudson                     P.O. Box 1662                                                 Newport, NC 28570‐1662                                                                                    First Class Mail
Chartered Organization         Methodist Mens Club Pleasant Grove Umc                   Occoneechee 421                         4415 Pleasant Grove Church Rd                                 Raleigh, NC 27613‐3132                                                                                    First Class Mail
Chartered Organization         Methodist Mens Club‐1st Methodist Ch                     New Birth Of Freedom 544                200 Frederick St                                              Hanover, PA 17331‐3601                                                                                    First Class Mail
Chartered Organization         Methodist Mens Club‐1st Utd Methodist                    Colonial Virginia Council 595           1 Salt Pond Rd                                                Hampton, VA 23664‐1708                                                                                    First Class Mail
Chartered Organization         Methodist Mens Club‐First Methodist                      Colonial Virginia Council 595           1 Salt Pond Rd                                                Hampton, VA 23664‐1708                                                                                    First Class Mail
Chartered Organization         Methodist Mens Club‐St James Methodist                   East Carolina Council 426               Church                                                        Newport, NC 28570                                                                                         First Class Mail
Chartered Organization         Methodist Mens Club‐St Mark Methodist                    Sam Houston Area Council 576            600 Pecore St                                                 Houston, TX 77009‐6224                                                                                    First Class Mail
Chartered Organization         Methodist Men's Group/Community Umc                      Occoneechee 421                         507 W E St                                                    Butner, NC 27509‐1939                                                                                     First Class Mail
Chartered Organization         Methodist Mens Org Of Lewisburg Umc                      Buckskin 617                            P.O. Box 69                                                   Lewisburg, WV 24901‐0069                                                                                  First Class Mail
Voting Party                   Methodist Temple UMC                                     Attn: Wendy Moore                       2109 Lincoln Ave                                              Evansville, IN 47714                                                 operations@methodisttemple.church    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Methodist Upward Bound                                   Mid‐America Council 326                 720 N 87Th St                                                 Omaha, NE 68114‐2806                                                                                      First Class Mail
Chartered Organization         Methodist Women Society Of Christian Ser                 Pony Express Council 311                306 E Clay St                                                 Albany, MO 64402‐1823                                                                                     First Class Mail
Chartered Organization         Methodist‐Commty                                         United Methodist Church                 190 S Holmes Ave                                              Shelley, ID 83274‐1322                                                                                    First Class Mail
Chartered Organization         Methuen Police Dept                                      The Spirit Of Adventure 227             90 Hampshire St                                               Methuen, MA 01844‐6821                                                                                    First Class Mail
Chartered Organization         Methuen Youth Soccer Assoc Inc                           The Spirit Of Adventure 227             272 Broadway Unit 1034                                        Methuen, MA 01844‐8046                                                                                    First Class Mail
Chartered Organization         Metro Atlanta Kiwanis Club                               Atlanta Area Council 092                309 Harris Manor Dr Sw                                        Atlanta, GA 30311‐2116                                                                                    First Class Mail
Chartered Organization         Metro Christian Academy                                  Indian Nations Council 488              6363 S Trenton Ave                                            Tulsa, OK 74136‐0741                                                                                      First Class Mail
Chartered Organization         Metro Community Development Corp                         Greater Niagara Frontier Council 380    877 E Delavan Ave                                             Buffalo, NY 14215‐3140                                                                                    First Class Mail
Chartered Organization         Metro Law Enforcement Post                               South Georgia Council 098               120 Prison Farm Rd                                            Valdosta, GA 31601‐6534                                                                                   First Class Mail
Chartered Organization         Metro West Housing Maplewood                             Denver Area Council 061                 856 S Van Gordon Ct                                           Lakewood, CO 80228‐3209                                                                                   First Class Mail
Chartered Organization         Metro‐East Cadets Of Policing                            Greater St Louis Area Council 312       10027 Bunkum Rd                                               Fairview Heights, IL 62208‐1703                                                                           First Class Mail
Chartered Organization         Metroparks                                               Erie Shores Council 460                 Central Ave                                                   Toledo, OH 43606                                                                                          First Class Mail
Voting Party                   Metropolis 1st United Methodist Church                   Attn: Rev Dr Shalom Renner              100 E 5th St                                                  Metropolis, IL 62960                                                 fumcmetro@fumcmetro.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Metropolitan (Greensboro)                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Metropolitan Baptist Church                              East Carolina Council 426               P.O. Box 1952                                                 Rocky Mount, NC 27802‐1952                                                                                First Class Mail
Chartered Organization         Metropolitan Baptist Church                              East Carolina Council 426               1712 Maple Creek Dr                                           Rocky Mount, NC 27803‐1628                                                                                First Class Mail
Chartered Organization         Metropolitan Commty College                              Broadcasting                            P.O. Box 3777                                                 Omaha, NE 68103‐0777                                                                                      First Class Mail
Chartered Organization         Metropolitan Community College                           Mid‐America Council 326                 P.O. Box 3777                                                 Omaha, NE 68103‐0777                                                                                      First Class Mail
Voting Party                   Metropolitan Community United Methodist                  c/o WeWork                              Attn: Richard Hayes                                           8 West 126th St                   New York, NY 10027                 Richard.Hayes@nyac‐umc.com           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Metropolitan Dance Alliance                              Northern Star Council 250               1159 Shakopee Town Sq                                         Shakopee, MN 55379‐1908                                                                                   First Class Mail
Chartered Organization         Metropolitan Jr Baseball Leaque                          Heart Of Virginia Council 602           P.O. Box 9841                                                 Henrico, VA 23228‐9841                                                                                    First Class Mail
Voting Party                   Metropolitan Koryo United Methodist Church               150 E 150 St                            New York, NY 10065                                                                                                                 kiljyi@gmail.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Metropolitan Koryo United Methodist Church               Attn: Kil J Yi                          150 E 62 St                                                   New York, NY 10065                                                   kiljyi@bergen.edu                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Metropolitan Memorial Utd Methodist                      National Capital Area Council 082       3401 Nebraska Ave Nw                                          Washington, DC 20016‐2759                                                                                 First Class Mail
Chartered Organization         Metropolitan Memorial Utd Methodist Ch                   National Capital Area Council 082       3401 Nebraska Ave Nw                                          Washington, DC 20016‐2759                                                                                 First Class Mail
Chartered Organization         Metropolitan Missionary Baptist Church                   Heart Of America Council 307            2310 E Linwood Blvd                                           Kansas City, MO 64109‐2146                                                                                First Class Mail
Chartered Organization         Metropolitan Police Dept                                 Middle Tennessee Council 560            200 James Robertson Pkwy                                      Nashville, TN 37201‐1202                                                                                  First Class Mail
Voting Party                   Metropolitan Southern Baptist Church                     P.O. Box 75037                          Wichita, KS 67275                                                                                                                  Mail@ksadvocates.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Metzgar Elementary                                       Westmoreland Fayette 512                140 Cc Hall Dr                                                New Alexandria, PA 15670‐3089                                                                             First Class Mail
Chartered Organization         Metzger Elementary Pso                                   Cascade Pacific Council 492             10350 Sw Lincoln St                                           Tigard, OR 97223‐6637                                                                                     First Class Mail
Chartered Organization         Metzger‐Crook V F W Post                                 Greater St Louis Area Council 312       406 Veterans Dr                                               Waterloo, IL 62298‐1134                                                                                   First Class Mail
Chartered Organization         Metzler Elementary PTO                                   Sam Houston Area Council 576            8500 W Rayford Rd                                             Spring, TX 77389‐2986                                                                                     First Class Mail
Chartered Organization         Mexia Lions Club                                         Longhorn Council 662                    P.O. Box 94                                                   Mexia, TX 76667‐0094                                                                                      First Class Mail
Chartered Organization         Mexico Police Dept                                       Pine Tree Council 218                   P.O. Box 251                                                  Mexico, ME 04257‐0251                                                                                     First Class Mail
Voting Party                   Meyers Nave                                              Attn: Deborah J Fox                     707 Wilshire Blvd, 24th Fl                                    Los Angeles, CA 90017                                                dfox@meyersnave.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Meyers Nave                                              Attn: Deborah J Fox                     707 Wilshire Blvd. 24th Fl                                    Los Angeles, CA 90017                                                dfox@meyersnave.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Meyersdale Utd Methodist Church                          Laurel Highlands Council 527            336 Main St                                                   Meyersdale, PA 15552‐1036                                                                                 First Class Mail
Chartered Organization         Mhc After 3 ‐ Phcc                                       Blue Ridge Mtns Council 599             645 Patriot Ave                                               Martinsville, VA 24112‐6693                                                                               First Class Mail
Chartered Organization         Mi Logan Elementary ‐ Gifw                               Longhorn Council 662                    4005 Campus Dr                                                Fort Worth, TX 76119‐5529                                                                                 First Class Mail
Chartered Organization         Mi Tierra Restaurant                                     Silicon Valley Monterey Bay 055         129 Main St                                                   Salinas, CA 93901‐3403                                                                                    First Class Mail
Voting Party                   Mi9 Retail Na Corp                                       Raymark Ulc                             12000 Biscayne Blvd Ste 600                                   North Miami, FL 33181‐2703                                                                                First Class Mail
Chartered Organization         Miami Beach Police Athletic League                       South Florida Council 084               999 11Th St                                                   Miami Beach, FL 33139‐4805                                                                                First Class Mail
Chartered Organization         Miami Beach Police Pal Explorers                         South Florida Council 084               999 11Th St                                                   Miami Beach, FL 33139‐4805                                                                                First Class Mail
Chartered Organization         Miami Central Senior High                                South Florida Council 084               1781 Nw 95Th St                                               Miami, FL 33147‐3159                                                                                      First Class Mail
Chartered Organization         Miami County Ymca                                        Sagamore Council 162                    34 E 6Th St                                                   Peru, IN 46970‐2350                                                                                       First Class Mail
Chartered Organization         Miami Dade Police Explorers Airport                      South Florida Council 084               Building 3033                                                 Miami, FL 33102                                                                                           First Class Mail
Chartered Organization         Miami Dade Police‐Station 5                              South Florida Council 084               7707 Sw 117Th Ave                                             Miami, FL 33183‐3823                                                                                      First Class Mail
Chartered Organization         Miami Elks Lodge 948 Bpoe                                South Florida Council 084               10301 Sw 72Nd St                                              Miami, FL 33173‐3005                                                                                      First Class Mail
Chartered Organization         Miami First Utd Methodist Church                         Cherokee Area Council 469 469           200 B St Nw                                                   Miami, OK 74354‐5807                                                                                      First Class Mail
Chartered Organization         Miami Heights Civic Assoc                                Dan Beard Council, Bsa 438              3780 Shady Ln                                                 North Bend, OH 45052‐9516                                                                                 First Class Mail
Voting Party                   Miami Lakes UMC                                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Miami Lakes Utd Methodist Church                         South Florida Council 084               14800 Nw 67Th Ave                                             Miami Lakes, FL 33014‐2753                                                                                First Class Mail
Chartered Organization         Miami Masonic Lodge 140                                  Cherokee Area Council 469 469           425 H St Nw                                                   Miami, OK 74354‐5452                                                                                      First Class Mail
Chartered Organization         Miami Metro Weed & Seed Explorer Post                    South Florida Council 084               1000 Nw 62Nd St                                               Miami, FL 33150‐4217                                                                                      First Class Mail
Chartered Organization         Miami Police Dept                                        South Florida Council 084               400 Nw 2Nd Ave                                                Miami, FL 33128‐1706                                                                                      First Class Mail
Chartered Organization         Miami Shores Police Dept                                 South Florida Council 084               9990 Ne 2Nd Ave                                               Miami Shores, FL 33138‐2302                                                                               First Class Mail
Voting Party                   Miami Shores Presbyterian Church                         Attn: David Kinchen                     602 NE 96 St                                                  Miami Shores, FL 33138                                               dkinchen@mspc.net                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Miami Township Fire‐Rescue                               Tecumseh 439                            225 Corry St                                                  Yellow Springs, OH 45387‐1812                                                                             First Class Mail
Chartered Organization         Miami Township Police Dept                               Dan Beard Council, Bsa 438              5900 Mcpicken Dr                                              Milford, OH 45150‐4905                                                                                    First Class Mail
Chartered Organization         Miami Valley Christian Academy                           Dan Beard Council, Bsa 438              6830 School St                                                Cincinnati, OH 45244‐3017                                                                                 First Class Mail
Chartered Organization         Miami‐Dade Police Dept                                   South Florida Council 084               27555 Sw 140 Ave                                              Homestead, FL 33032                                                                                       First Class Mail
Chartered Organization         Miami‐Dade Police Dept Post 526                          South Florida Council 084               5975 Miami Lakes Dr E                                         Miami Lakes, FL 33014‐2409                                                                                First Class Mail
Chartered Organization         Miami‐Dade Police Intracoastal Station                   South Florida Council 084               15665 Biscayne Blvd                                           Aventura, FL 33160‐4604                                                                                   First Class Mail
Chartered Organization         Miami‐Dade Police Midwest District                       South Florida Council 084               9101 Nw 25Th St                                               Doral, FL 33172‐1500                                                                                      First Class Mail
Chartered Organization         Miami‐Dade Police Nside Explorer Post 63                 South Florida Council 084               2950 Nw 83Rd St                                               Miami, FL 33147‐4040                                                                                      First Class Mail
Chartered Organization         Miami‐Dade Police Station 8 ‐ Hammocks                   South Florida Council 084               10000 Sw 142Nd Ave                                            Miami, FL 33186‐7317                                                                                      First Class Mail
Chartered Organization         Miamisburg Sportsmens Club                               Miami Valley Council, Bsa 444           6300 S Union Rd                                               Miamisburg, OH 45342‐1657                                                                                 First Class Mail
Voting Party                   Micah Coleman Campbell                                   20 Broad St                             Fishkill, NY 12524                                                                                                                 micah.colemancampbell@nyac‐umc.com   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Micah Nutter Dowling                                     875 Elmwood Ave                         Buffalo, NY 14222                                                                                                                  micahnutterdowling@gmail.com         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Michael Albert Zigarelli                                 Address Redacted                                                                                                                                                                                                First Class Mail
Chartered Organization         Michael Anderson PTO                                     Inland NW Council 611                   400 W Fairchild Hwy                                           Fairchild Afb, WA 99011‐8676                                                                              First Class Mail
Voting Party                   Michael Ashline                                          Address Redacted                                                                                                                                                           Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Michael B Surbaugh                                       Address Redacted                                                                                                                                                           Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Firm                           Michael D. Zeluff                                        Michael D. Zeluff                       18501 W Ten Mile Rd                                           Southfield, MI 48075                                                 Mdzeluff@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Michael G Hoffman                                        c/o Boy Scouts of America               Attn: Chase Koontz                                            1325 W Walnut Hill Ln             Irving, TX 75015                   chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Michael Goodrich                                         c/o Boy Scouts of America               Attn: Chase Koontz                                            1325 W Walnut Hill Ln             Irving, TX 75015                   chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Michael J Rowe                                           10 Blackthorn Rd                        Framingham, MA 01701                                                                                                               mrowe@wolfandco.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Michael Kaufman                                          Address Redacted                                                                                                                                                           Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Michael Lano, DDS                                        Address Redacted                                                                                                                                                           Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Michael Minnis                                           Address Redacted                                                                                                                                                                                                First Class Mail
Chartered Organization         Michael R White Elementary School                        Lake Erie Council 440                   1000 E 92Nd St                                                Cleveland, OH 44108‐3281                                                                                  First Class Mail
Voting Party                   Michael Sears                                            c/o Boy Scouts of America               Attn: Chase Koontz                                            1325 W Walnut Hill Ln             Irving, TX 75015                   chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 264 of 442
                                                                                    Case 20-10343-LSS                                   Doc 8171                                      Filed 01/06/22                                                    Page 280 of 457
                                                                                                                                                                         Exhibit B
                                                                                                                                                                          Service List
                                                                                                                                                                   Served as set forth below

        Description                                                          Name                                                                                      Address                                                                                                             Email              Method of Service
Firm                           Michael Steffen P.A.                                        Michael S. Steffen                      1035 Hamilton Ave                                         Tarpon Springs, FL 34689                                             Michael@steffenpa.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Michael Surbaugh                                            c/o Boy Scouts of America               Attn: Chase Koontz                                        1325 W Walnut Hill Ln              Irving, TX 75015                  chase.koontz@scouting.org        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Michael Vincent Thomas                                      48117 Forbes                            New Baltimore, MI 48047                                                                                                        thomasmv0411@gmail.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Michael W Koehne Dds                                        Three Fires Council 127                 319 E Roosevelt Rd                                        Wheaton, IL 60187‐5526                                                                                First Class Mail
Voting Party                   Michele J Paratore                                          Address Redacted                                                                                                                                                                                        First Class Mail
Voting Party                   Michelson Memorial United Methodist Church                  Attn: Richard Erich Burstall            400 Michiagn Ave                                          Grayling, MI 49738                                                   michelsonmemorialumc@yahoo.com   Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Michelson Utd Methodist Church                              President Gerald R Ford 781             400 E Michigan Ave                                        Grayling, MI 49738‐1618                                                                               First Class Mail
Chartered Organization         Michigan City Yacht Club                                    Lasalle Council 165                     12 1/2 On The Lk                                          Michigan City, IN 46360‐3272                                                                          First Class Mail
Voting Party                   Michigan Crossroads Council 780                             137 S Marketplace Blvd                  Lansing, MI 48917‐7756                                                                                                                                          First Class Mail
Voting Party                   Michigan Crossroads Council inc                             Attn: Donald D Shepard Jr               14258 Michigan St                                         Eagle, MI 48822                                                      Donald.shepard@scouting.org      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Michigan Dept of Treasury                                   Dept 77802                              Detroit, MI 48277‐0802                                                                                                                                          First Class Mail
Chartered Organization         Michigantown Christian Church                               Crossroads Of America 160               108 W 2Nd St                                              Michigantown, IN 46057                                                                                First Class Mail
Firm                           Mick Levin PLC                                              Stewart Gross; Mick Levin               3401 N 32nd Street                                        Phoenix, AZ 85018                                                    stewart@sfgrosslaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Microsoft Corporation                                       c/o Bank Of America, Lockbox 842467     1950 N Stemmons Fwy Ste 5010                              Dallas, TX 75207‐3199                                                                                 First Class Mail
Voting Party                   Mid ‐ America                                               Attn: Chris S Mohafly                   12401 W Maple Rd                                          Omaha, NE 68164                                                      chris.mohafly@scouting.org       Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mid America Teen Cert                                       Greater St Louis Area Council 312       1725 Thoele Rd                                            St Peters, MO 63376‐3254                                                                              First Class Mail
Chartered Organization         Mid America Teen Cert                                       Greater St Louis Area Council 312       907 Jungermann Rd                                         St Peters, MO 63376‐3388                                                                              First Class Mail
Chartered Organization         Mid Atlantic Community Church                               Baltimore Area Council 220              2485 Davidsonville Rd                                     Gambrills, MD 21054‐2111                                                                              First Class Mail
Voting Party                   Mid Coast Presbyterian Church                               Attn: Stanley E Miller                  P.O. Box 211                                              Topsham, ME 04086                                                    angel@mcpcmaine.net              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mid Columbia Senior Center                                  Cascade Pacific Council 492             1112 W 9Th St                                             The Dalles, OR 97058‐1010                                                                             First Class Mail
Chartered Organization         Mid Lane Cares                                              Oregon Trail Council 697                P.O. Box 344                                              Veneta, OR 97487‐0344                                                                                 First Class Mail
Chartered Organization         Mid Peninsula Housing Svcs Corp                             Moonridge Facility                      2001 Miramontes Point Rd                                  Half Moon Bay, CA 94019‐8507                                                                          First Class Mail
Chartered Organization         Mid‐Coast Aviation LLC                                      Coastal Carolina Council 550            6070 S Aviation Rd Ste 307                                North Charleston, SC 29406‐4902                                                                       First Class Mail
Chartered Organization         Midcoast Presbyterian Church                                Pine Tree Council 218                   84 Main St                                                Topsham, ME 04086‐1202                                                                                First Class Mail
Chartered Organization         Midday Lions Club                                           Conquistador Council Bsa 413            1607 Fowler Rd                                            Roswell, NM 88201‐9510                                                                                First Class Mail
Chartered Organization         Middle Baptist Church                                       Chickasaw Council 558                   801 Whitehaven Ln                                         Memphis, TN 38116‐7739                                                                                First Class Mail
Chartered Organization         Middle Country Hibernians                                   Suffolk County Council Inc 404          P.O. Box 308                                              Selden, NY 11784‐0308                                                                                 First Class Mail
Voting Party                   Middle Creek United Methodist Church                        Attn: Lisa McClure, Leadership Chair    2684 Rd 151                                               Grover Hill, OH 45849                                                lmcclure@tds.net                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Middle Creek United Methodist Church                        Attn: David B Prior                     19300 County Rd 24                                        Grover Hill, OH 45849                                                                                 First Class Mail
Chartered Organization         Middle Island Fire Dept                                     Suffolk County Council Inc 404          P.O. Box 203                                              Middle Island, NY 11953‐0203                                                                          First Class Mail
Chartered Organization         Middle Island Fire Dept                                     Suffolk County Council Inc 404          31 Arnold Dr                                              Middle Island, NY 11953‐1701                                                                          First Class Mail
Chartered Organization         Middle Island Presbyterian Church                           Suffolk County Council Inc 404          P.O. Box 187                                              Middle Island, NY 11953‐0187                                                                          First Class Mail
Chartered Organization         Middle Island Presbyterian Church                           Suffolk County Council Inc 404          19 Longwood Rd                                            Ridge, NY 11961‐3122                                                                                  First Class Mail
Chartered Organization         Middle Octorara Presbyterian Church                         Pennsylvania Dutch Council 524          1199 Valley Rd                                            Quarryville, PA 17566‐9453                                                                            First Class Mail
Chartered Organization         Middle Point Utd Methodist Church                           Black Swamp Area Council 449            P.O. Box 5                                                Middle Point, OH 45863‐0005                                                                           First Class Mail
Voting Party                   Middle Tennessee Council, Inc                               Attn: Robb S Harvey                     511 Union Ave Ste 2700                                    Nashville, TN 37219                                                  robb.harvey@wallerlaw.com        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Middle Township Volunteer Fire Co                           Garden State Council 690                112B Hand Ave                                             Cape May Court House, NJ 08210                                                                        First Class Mail
Voting Party                   Middlebourne United Methodist Church                        Attn: Mark Wilcox                       58 Farhatt Ln                                             Sistersville, WV 26175                                               dmwilcox1@frontier.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Middlebourne Utd Methodist                                  Ohio River Valley Council 619           308 East St                                               Middlebourne, WV 26149‐9608                                                                           First Class Mail
Voting Party                   Middlebrook Pike United Methodist Church                    Attn: Charlotte Giles                   7234 Middlebrook Pike                                     Knoxville, TN 37909                                                  cgiles@middlebrookpike.com       Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Middleburg United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Middleburg Utd Methodist Church                             North Florida Council 087               3925 Main St                                              Middleburg, FL 32068‐5149                                                                             First Class Mail
Chartered Organization         Middleburgh Rotary Club                                     Leatherstocking 400                     P.O. Box 1100                                             Middleburgh, NY 12122‐1100                                                                            First Class Mail
Voting Party                   Middleburgh UMC                                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Middlebury Academy                                          Great Trail 433                         88 Kent St                                                Akron, OH 44305‐2544                                                                                  First Class Mail
Chartered Organization         Middlebury Fire Dept                                        Five Rivers Council, Inc 375            P.O. Box 63                                               Middlebury Center, PA 16935‐0063                                                                      First Class Mail
Chartered Organization         Middlebury Police Social Club                               Connecticut Rivers Council, Bsa 066     P.O. Box 323                                              Middlebury, CT 06762‐0323                                                                             First Class Mail
Voting Party                   Middlebury United Methodist Church                          Attn: Myungso Lee                       43 N Pleasant St                                          Middlebury, VT 05753                                                 middumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Middlebush Volunteer Fire Dept                              Patriots Path Council 358               P.O. Box 6687                                             Somerset, NJ 08875‐6687                                                                               First Class Mail
Voting Party                   Middlefield Federated Church                                402 Main St                             Middlefield, CT 06455                                                                                                          MFCTreasurerCT@gmail.com         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Middlefield Lions                                           Connecticut Rivers Council, Bsa 066     P.O. Box 1                                                Middlefield, CT 06455‐0001                                                                            First Class Mail
Chartered Organization         Middlefield Volunteer Fire Dept                             Connecticut Rivers Council, Bsa 066     405 Main St Ste 7                                         Middlefield, CT 06455‐1268                                                                            First Class Mail
Chartered Organization         Middlegate Village Community Assoc Inc                      Sam Houston Area Council 576            7171 Cherry Park Dr                                       Houston, TX 77095                                                                                     First Class Mail
Chartered Organization         Middleham And St Peters Episcopal Parish                    National Capital Area Council 082       P.O. Box 277                                              Lusby, MD 20657‐0277                                                                                  First Class Mail
Chartered Organization         Middleport Volunteer Fire Co                                Iroquois Trail Council 376              P.O. Box 94                                               Middleport, NY 14105‐0094                                                                             First Class Mail
Chartered Organization         Middlesex Conservation Club                                 Seneca Waterways 397                    6087 S Hill Rd                                            Middlesex, NY 14507                                                                                   First Class Mail
Chartered Organization         Middlesex County Sheriff's Office                           Patriots Path Council 358               701 Livingston Ave                                        New Brunswick, NJ 08901‐3345                                                                          First Class Mail
Chartered Organization         Middlesex Elks                                              Patriots Path Council 358               545 Rte 28                                                Middlesex, NJ 08846                                                                                   First Class Mail
Voting Party                   Middlesex United Methodist Church                           Attn: Neil Johnson                      6971 Main St Box 10 Ste 1D                                Waitsfield, VT 05673                                                                                  First Class Mail
Voting Party                   Middlesex United Methodist Church (05385)                   c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Middlesex Vol Fire Dept                                     Green Mountain 592                      3 Church St                                               Middlesex, VT 05602‐8790                                                                              First Class Mail
Chartered Organization         Middleton Civitan Club                                      W Tennessee Area Council 559            707 S Main St                                             Middleton, TN 38052‐3607                                                                              First Class Mail
Chartered Organization         Middleton Firefighter Relief Fund                           Daniel Webster Council, Bsa 330         192 Kings Hwy                                             Middleton, NH 03887                                                                                   First Class Mail
Chartered Organization         Middleton Jaycess                                           Glaciers Edge Council 620               P.O. Box 620154                                           Middleton, WI 53562‐0154                                                                              First Class Mail
Chartered Organization         Middleton Kiwanis                                           Glaciers Edge Council 620               1312 Sweeney Dr                                           Middleton, WI 53562‐3739                                                                              First Class Mail
Chartered Organization         Middleton Lions Club                                        c/o Allen Watrud                        3701 Mandimus Ct                                          Middleton, WI 53562‐1169                                                                              First Class Mail
Voting Party                   Middletown Christ                                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Middletown Church Of The Nazarene                           Crossroads Of America 160               698 N 5Th St                                              Middletown, IN 47356‐1008                                                                             First Class Mail
Chartered Organization         Middletown Fire Dept                                        Monmouth Council, Bsa 347               1 Kings Hwy                                               Middletown, NJ 07748‐2502                                                                             First Class Mail
Chartered Organization         Middletown Fire Protection District                         Lincoln Heritage Council 205            108 Urton Ln                                              Louisville, KY 40223‐3944                                                                             First Class Mail
Chartered Organization         Middletown Lions Club                                       Mt Diablo‐Silverado Council 023         P.O. Box 507                                              Middletown, CA 95461‐0507                                                                             First Class Mail
Chartered Organization         Middletown Lions Club                                       National Capital Area Council 082       P.O. Box 190                                              Middletown, MD 21769‐0190                                                                             First Class Mail
Chartered Organization         Middletown Lions Club                                       National Capital Area Council 082       205 Linden Blvd                                           Middletown, MD 21769‐7816                                                                             First Class Mail
Chartered Organization         Middletown Police Dept                                      Connecticut Rivers Council, Bsa 066     222 Main St                                               Middletown, CT 06457‐3439                                                                             First Class Mail
Chartered Organization         Middletown Presbyterian Church                              Cradle Of Liberty Council 525           273 S Old Middletown Rd                                   Media, PA 19063‐4854                                                                                  First Class Mail
Chartered Organization         Middletown Sportsmens Club Inc                              Dan Beard Council, Bsa 438              1234 Michael Rd                                           Middletown, OH 45042                                                                                  First Class Mail
Chartered Organization         Middletown Twp Police Dept                                  Monmouth Council, Bsa 347               1 Kings Hwy                                               Middletown, NJ 07748‐2502                                                                             First Class Mail
Voting Party                   Middletown United Methodist Church                          Attn: Treasurer                         7108 Fern Ct                                              Middletown, MD 21769                                                 office@mtownumc.org              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Middletown United Methodist Church                          625 High St                             Middletown, IN 47356                                                                                                           middletownumc@att.net            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Middletown United Methodist Church                          Attn: Hoyt Edward Matthai               2905 Bidle Rd                                             Middletown, MD 21769                                                 matthai@juno.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   MIDDLETOWN UNITED METHODIST CHURCH                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   ERICE@BRADLEY.COM                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Middletown United Methodist Church                          Attn: Christine Haney                   301 S Madison, Ste 152                                    Middletown, IL 62666                                                 1909middletownumc@gmail.com      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Middletown United Methodist Church Inc                      Attn: Jennie Pepoon                     11902 Old Shelbyville Rd                                  Louisville, KY 40243                                                 JPEPOON@MIDDLETOWNUMC.ORG        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Middletown Utd Methodist Church                             Lincoln Heritage Council 205            11902 Old Shelbyville Rd                                  Middletown, KY 40243‐1434                                                                             First Class Mail
Chartered Organization         Middletown Vfw Post 2179                                    Monmouth Council, Bsa 347               1 Veterans Ln                                             Port Monmouth, NJ 07758‐1300                                                                          First Class Mail
Chartered Organization         Middletown Village Parent Faculty                           Monmouth Council, Bsa 347               147 Kings Hwy                                             Middletown, NJ 07748‐2003                                                                             First Class Mail
Chartered Organization         Middleville Lions Club                                      President Gerald R Ford 781             P.O. Box 1                                                Middleville, MI 49333‐0001                                                                            First Class Mail
Voting Party                   Middleville United Methodist Church                         Attn: Mr Dan Snyder                     P.O. Box 400                                              111 Church St                      Middleville, MI 49333             dsnyder@dndbuilding.com          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Middleway United Methodist Church                           Attn: Robert Brown                      P.O. Box 580                                              Kearneysville, WV 25430                                              mumc@frontiernet.net             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Mid‐Hudson Korean United Methodist Church                   Attn: Yountae Kim                       38 Jackson Rd                                             Poughkeepsie, NY 12603                                               prospect.yountae@gmail.com       Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Midland Boys' And Girls' Club                               Buffalo Trail Council 567               110 E New Jersey Ave                                      Midland, TX 79701‐7343                                                                                First Class Mail
Chartered Organization         Midland Christian School                                    Buffalo Trail Council 567               2001 Culver Dr                                            Midland, TX 79705‐8325                                                                                First Class Mail
Chartered Organization         Midland Fire Dept                                           Buffalo Trail Council 567               1500 W Wall St                                            Midland, TX 79701‐6526                                                                                First Class Mail
Chartered Organization         Midland Fire Protection District                            Abraham Lincoln Council 144             200 Springfield St                                        Kincaid, IL 62540‐4610                                                                                First Class Mail
Voting Party                   Midland First United Methodist Church                       Attn: Nancy Hill                        315 W Larkin St                                           Midland, MI 48640                                                    nhill@fumcmid.org                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Midland Lutheran Church                                     Buffalo Trail Council 567               2705 W Michigan Ave                                       Midland, TX 79701‐5840                                                                                First Class Mail
Voting Party                   Midland Park United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Midland Park Utd Methodist Church                           Northern New Jersey Council, Bsa 333    269 Godwin Ave                                            Midland Park, NJ 07432‐1807                                                                           First Class Mail
Chartered Organization         Midland Police Dept Explorer Program                        Buffalo Trail Council 567               601 N Loraine St                                          Midland, TX 79701‐4759                                                                                First Class Mail
Voting Party                   Midland UMC                                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Midland UMC                                                 5435 Midland Rd                         Midland, VA 22728                                                                                                              barbarajamieson@vaumc.org        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Midland Utd Methodist Church                                Chattahoochee Council 091               P.O. Box 26                                               Midland, GA 31820‐0026                                                                                First Class Mail
Chartered Organization         Mid‐Missouri Center Project Inc                             Great Rivers Council 653                P.O. Box 521                                              Columbia, MO 65205‐0521                                                                               First Class Mail
Chartered Organization         Midvale Community Lutheran Church Youth                     Glaciers Edge Council 620               4329 Tokay Blvd                                           Madison, WI 53711‐1515                                                                                First Class Mail
Voting Party                   Midvale UMC                                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Midvale Utd Methodist Church                                Northern New Jersey Council, Bsa 333    490 Ringwood Ave                                          Wanaque, NJ 07465‐2305                                                                                First Class Mail
Chartered Organization         Midvale Ward ‐ LDS South Stake                              Catalina Council 011                    105 N Norton Ave                                          Tucson, AZ 85719‐6021                                                                                 First Class Mail
Chartered Organization         Mid‐Valley Scouting Assoc                                   Great Salt Lake Council 590             4671 S Sunstone Rd                                        Taylorsville, UT 84123‐3640                                                                           First Class Mail
Voting Party                   Midway                                                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Midway Baptist Church                                       Piedmont Council 420                    P.O. Box 679                                              Columbus, NC 28722‐0679                                                                               First Class Mail
Voting Party                   Midway Baptist Church                                       4579 Old 8th St Rd N                    Meridian, MS 39307                                                                                                             michaelrbird@bellsouth.net       Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Midway Boosters Inc                                         Utah National Parks 591                 P.O. Box 557                                              Midway, UT 84049‐0557                                                                                 First Class Mail
Chartered Organization         Midway Christian Church                                     Blue Grass Council 204                  123 E Bruen St                                            Midway, KY 40347‐5057                                                                                 First Class Mail
Chartered Organization         Midway Elementary School PTA                                Norwela Council 215                     3840 Greenwood Rd                                         Shreveport, LA 71109‐5130                                                                             First Class Mail
Chartered Organization         Midway Fire Dept                                            Twin Rivers Council 364                 1956 Central Ave                                          Albany, NY 12205‐4218                                                                                 First Class Mail
Chartered Organization         Midway Methodist Church Mens Club                           Great Rivers Council 653                2600 N Locust Grove Church Rd                             Columbia, MO 65202‐7819                                                                               First Class Mail
Chartered Organization         Midway Parent Teacher Org                                   Inland NW Council 611                   821 E Midway Rd                                           Colbert, WA 99005‐9612                                                                                First Class Mail
Chartered Organization         Midway Safe Harbor                                          Central Florida Council 083             2405 Rightway St                                          Sanford, FL 32771‐7002                                                                                First Class Mail
Voting Party                   Midway United Methodist Church ‐ Alpharetta                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Midway United Methodist Church (96325)                      c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Midway Utd Methodist Church                                 Northeast Georgia Council 101           5100 Atlanta Hwy                                          Alpharetta, GA 30004‐4601                                                                             First Class Mail
Chartered Organization         Midway Utd Methodist Church                                 Atlanta Area Council 092                1930 Midway Rd                                            Douglasville, GA 30135‐1012                                                                           First Class Mail
Chartered Organization         Midway Utd Methodist Church                                 Old N State Council 070                 9795 Old Us Hwy 52                                        Lexington, NC 27295‐5610                                                                              First Class Mail
Chartered Organization         Midwest Blvd Christian Chruch                               Last Frontier Council 480               320 N Midwest Blvd                                        Midwest City, OK 73110‐4323                                                                           First Class Mail
Chartered Organization         Midwest Blvd Christian Church                               Last Frontier Council 480               320 N Midwest Blvd                                        Midwest City, OK 73110‐4323                                                                           First Class Mail
Chartered Organization         Midwest City Police Dept                                    Last Frontier Council 480               100 N Midwest Blvd                                        Midwest City, OK 73110‐4319                                                                           First Class Mail
Chartered Organization         Midwest Islamic Scouting Council                            Blackhawk Area 660                      4104 Champion Rd                                          Naperville, IL 60564‐5065                                                                             First Class Mail
Chartered Organization         Midwest Islamic Scouting Council                            Three Fires Council 127                 4104 Champion Rd                                          Naperville, IL 60564‐5065                                                                             First Class Mail
Chartered Organization         Midwest Islamic Scouting Council                            Pathway To Adventure 456                P.O. Box 9617                                             Naperville, IL 60567‐0617                                                                             First Class Mail
Chartered Organization         Midwest Mountaineering                                      Northern Star Council 250               309 Cedar Ave S                                           Minneapolis, MN 55454‐1030                                                                            First Class Mail
Chartered Organization         Midwest Old Threshers                                       Mississippi Valley Council 141 141      405 E Thresher Rd                                         Mount Pleasant, IA 52641‐2584                                                                         First Class Mail
Chartered Organization         Midwest Veterinary Hospital                                 Last Frontier Council 480               720 S Air Depot Blvd                                      Midwest City, OK 73110‐4833                                                                           First Class Mail
Chartered Organization         Midwife Las Vegas                                           Las Vegas Area Council 328              480 Manderley Ct                                          Las Vegas, NV 89123‐3705                                                                              First Class Mail
Chartered Organization         Mifflin/Juniata Special Needs Center                        Juniata Valley Council 497              31 S Dorcas St                                            Lewistown, PA 17044‐2110                                                                              First Class Mail
Chartered Organization         Mifflinville Umc & St Johns Evan Luth Ch                    Columbia‐Montour 504                    P.O. Box U                                                Mifflinville, PA 18631‐4410                                                                           First Class Mail
Voting Party                   Mifflinville United Methodist Church (4453)                 c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Migrant Education Project                                   Seneca Waterways 397                    350 New Campus Dr                                         Brockport, NY 14420‐2997                                                                              First Class Mail
Voting Party                   Mike Motors Inc                                             908 E Sheridan St                       Ely, MN 55731‐1636                                                                                                                                              First Class Mail
Voting Party                   Mike Smith                                                  303 S Main St                           Franklin, OH 45005                                                                                                             pastorlaurasaunders@yahoo.com    Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Mikel's Photography & Design                                Las Vegas Area Council 328              155 S Water St                                            Henderson, NV 89015‐7466                                                                              First Class Mail
Voting Party                   Mila UMC                                                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Milam Elementary PTA                                        Rio Grande Council 775                  3800 N Main St                                            Mcallen, TX 78501‐3897                                                                                First Class Mail
Voting Party                   Milan Community United Methodist Church                     Attn: Claudette Morneau                 P.O. Box 22                                               Milan, NH 03588                                                      claudette.morneau@yahoo.com      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Milan First United Methodist Church                         Attn: Treasurer                         2000 Jones Blvd                                           Milan, TN 38358                                                      milan.fumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Milan Methodist Men's Group                                 W Tennessee Area Council 559            2000 Jones Blvd                                           Milan, TN 38358‐5144                                                                                  First Class Mail
Chartered Organization         Milan Presbyterian Church                                   Lake Erie Council 440                   17 E Church St                                            Milan, OH 44846‐9342                                                                                  First Class Mail
Voting Party                   Milan United Methodist Church                               Attn: Brad Allen Voss                   306 S Main St                                             Milan, IN 47031                                                      milanumc@frontier.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Milan United Methodist Church                               Attn: Brad Allen Voss                   P.O. Box 305                                              Milan, IN 47031                                                      milanumc@frontier.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                          Page 265 of 442
                                                                                 Case 20-10343-LSS                                    Doc 8171                                     Filed 01/06/22                                                        Page 281 of 457
                                                                                                                                                                      Exhibit B
                                                                                                                                                                       Service List
                                                                                                                                                                Served as set forth below

        Description                                                    Name                                                                                         Address                                                                                                                  Email              Method of Service
Voting Party                   Milbridge and Wyman United Methodist Churches            Attn: Deanna E West                     40 Lodge W Dr                                             Cherryfield, ME 04622                                                    dewest4411@gmail.com              Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Mildford United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200                Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Mile High Rotary Club                                    Denver Area Council 061                 1673 N Sherman St                                         Denver, CO 80203‐1603                                                                                      First Class Mail
Voting Party                   Miles Memorial UMC                                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200                Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Miles Parkway                                            Lake Erie Council 440                   4090 E 93Rd St                                            Cleveland, OH 44105‐5163                                                                                   First Class Mail
Chartered Organization         Miles School                                             Lake Erie Council 440                   11918 Miles Ave                                           Cleveland, OH 44105‐5466                                                                                   First Class Mail
Chartered Organization         Milesburg American Legion Post 893                       Juniata Valley Council 497              P.O. Box 318                                              Milesburg, PA 16853‐0318                                                                                   First Class Mail
Voting Party                   Milesburg United Methodist Church (6402)                 c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200              Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Milestone                                                Blackhawk Area 660                      4060 Mcfarland Rd                                         Loves Park, IL 61111‐4402                                                                                  First Class Mail
Chartered Organization         Milestone Centers Inc Ntac                               Laurel Highlands Council 527            510 Seco Rd                                               Monroeville, PA 15146‐1426                                                                                 First Class Mail
Chartered Organization         Milestone Centers Inc‐Lawrenceville                      Laurel Highlands Council 527            4126 Butler St                                            Pittsburgh, PA 15201‐3122                                                                                  First Class Mail
Chartered Organization         Milestone Centers,Inc‐ New Horizons                      Laurel Highlands Council 527            10147 Frankstown Rd                                       Pittsburgh, PA 15235‐2840                                                                                  First Class Mail
Chartered Organization         Milestone Garden City                                    Laurel Highlands Council 527            502 Laurel Dr                                             Monroeville, PA 15146‐1136                                                                                 First Class Mail
Chartered Organization         Milestone Inc                                            Blackhawk Area 660                      315 N Church St                                           Rockford, IL 61101‐1005                                                                                    First Class Mail
Chartered Organization         Milestone Yough                                          Laurel Highlands Council 527            601 Davidson Rd                                           Pittsburgh, PA 15239‐1860                                                                                  First Class Mail
Chartered Organization         Milford American Legion 1566                             Leatherstocking 400                     Po 208                                                    Milford, NY 13807                                                                                          First Class Mail
Chartered Organization         Milford Center Utd Methodist Church                      Simon Kenton Council 441                55 E State St                                             Milford Center, OH 43045‐9613                                                                              First Class Mail
Chartered Organization         Milford Congregational Church                            Coronado Area Council 192               P.O. Box 308                                              Milford, KS 66514‐0308                                                                                     First Class Mail
Chartered Organization         Milford Elks Lodge 1589                                  Connecticut Yankee Council Bsa 072      124 New Haven Ave                                         Milford, CT 06460‐4827                                                                                     First Class Mail
Chartered Organization         Milford Elks Lodge 2401                                  Del Mar Va 081                          P.O. Box 63                                               Milford, DE 19963‐0063                                                                                     First Class Mail
Chartered Organization         Milford Fire Dept                                        Great Lakes Fsc 272                     325 W Huron St                                            Milford, MI 48381‐2253                                                                                     First Class Mail
Chartered Organization         Milford Kiwanis Club                                     Mid‐America Council 326                 1401 14Th St                                              Milford, IA 51351‐1803                                                                                     First Class Mail
Chartered Organization         Milford Lions Club                                       Anthony Wayne Area 157                  2080 E 1100 N                                             Milford, IN 46542‐9794                                                                                     First Class Mail
Chartered Organization         Milford Lions Club                                       Daniel Webster Council, Bsa 330         P.O. Box 274                                              Milford, NH 03055‐0274                                                                                     First Class Mail
Voting Party                   Milford Mill United Methodist Church ‐ Pikesville MD     Attn: Samantha Deininger                915 Milford Mill Rd                                       Pikesville, MD 21208                                                     milfordmillumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Milford Mill Utd Methodist Church                        Baltimore Area Council 220              915 Milford Mill Rd                                       Baltimore, MD 21208‐4614                                                                                   First Class Mail
Chartered Organization         Milford Presbyterian Church                              Great Lakes Fsc 272                     238 N Main St                                             Milford, MI 48381‐1956                                                                                     First Class Mail
Voting Party                   Milford Trinity United Methodist Church                  Attn: George Pattison                   5767 Wolfpen Pleasant Hill Rd                             Milford, OH 45150                                                        pastorkirk@trinitymilford.org     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Milford Trinity United Methodist Church                  Attn: Kirk Peterson                     5767 Wolfpen Pleasant Hill Rd                             Milford, OH 45150                                                        pastorkirk@trinitymilford.org     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Milford United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200                Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Milford United Methodist Church                          Attn: Doug McMunn                       1200 Atlantic St                                          Milford, MI 48381                                                        churchoffice@milfordumc.net       Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Milford United Methodist Church                          Attn: Pastor, Milford UMC               327 N River Rd                                            Milford, NH 03055                                                                                          First Class Mail
Chartered Organization         Milford Utd Methodist Church                             Dan Beard Council, Bsa 438              541 Main St                                               Milford, OH 45150‐1172                                                                                     First Class Mail
Chartered Organization         Mililani Ike PTO                                         Aloha Council, Bsa 104                  95‐1330 Lehiwa Dr                                         Mililani, HI 96789                                                                                         First Class Mail
Chartered Organization         Mililani Mauka PTO                                       Aloha Council, Bsa 104                  95‐1111 Makaikai St                                       Mililani, HI 96789                                                                                         First Class Mail
Chartered Organization         Mililani Town Assoc                                      Aloha Council, Bsa 104                  95‐035 Kaloapau St                                        Mililani Town, HI 96789                                                                                    First Class Mail
Chartered Organization         Military Magnet Academy                                  Coastal Carolina Council 550            2650 Carner Ave                                           North Charleston, SC 29405‐8345                                                                            First Class Mail
Chartered Organization         Military Preservation Society                            Buckeye Council 436                     2260 International Pkwy                                   North Canton, OH 44720‐1375                                                                                First Class Mail
Chartered Organization         Militrary Veterans Of Georgia                            Northeast Georgia Council 101           P.O. Box 957                                              Auburn, GA 30011‐0957                                                                                      First Class Mail
Voting Party                   Mill Creek Cedar Cross UMC                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200                Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Mill Creek Elementary                                    Lincoln Heritage Council 205            3816 Dixie Hwy                                            Louisville, KY 40216‐4145                                                                                  First Class Mail
Chartered Organization         Mill Creek Elementary PTO                                North Florida Council 087               3750 International Golf Pkwy                              St Augustine, FL 32092‐0665                                                                                First Class Mail
Chartered Organization         Mill Creek Home And School Assoc                         Washington Crossing Council 777         638 Bellflower Blvd                                       Warrington, PA 18976‐1674                                                                                  First Class Mail
Chartered Organization         Mill Creek Lions Club                                    Mount Baker Council, Bsa 606            P.O. Box 12022                                            Mill Creek, WA 98082‐0022                                                                                  First Class Mail
Chartered Organization         Mill Creek Parents For Scouting                          Great Rivers Council 653                2200 W Nifong Blvd                                        Columbia, MO 65203‐9555                                                                                    First Class Mail
Chartered Organization         Mill Creek Parish Umc                                    National Capital Area Council 082       7101 Horizon Ter                                          Derwood, MD 20855‐1355                                                                                     First Class Mail
Voting Party                   Mill Creek Parish United Methodist Church                Attn: Mrs Patty College                 7101 Horizon Terrrace                                     Rockville, MD 20855                                                      thecolleges@comcast.net           Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Mill Creek Trailblazers Assoc                            Mount Baker Council, Bsa 606            3512 157Th Pl Se                                          Bothell, WA 98012‐4731                                                                                     First Class Mail
Chartered Organization         Mill Creek U PChurch Of Hookstown                        Laurel Highlands Council 527            5005 Rte 151                                              Hookstown, PA 15050‐1441                                                                                   First Class Mail
Voting Party                   Mill Creek United Methodist Church (32101472)            c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200              Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Mill Creek Utd Presbyterian Church                       Laurel Highlands Council 527            5005 Rte 151                                              Mill Creek United Presbyterian Church   Hookstown, PA 15050                                                First Class Mail
Voting Party                   Mill Grove UMC Indian Trail NC                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200                Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Mill Grove Utd Methodist Church                          Central N Carolina Council 416          7311 Mill Grove Rd                                        Indian Trail, NC 28079‐7567                                                                                First Class Mail
Voting Party                   Mill Hall United Methodist Church (181264)               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200              Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Mill Plain Union Church                                  Connecticut Rivers Council, Bsa 066     242 Southmayd Rd                                          Waterbury, CT 06705‐2036                                                                                   First Class Mail
Chartered Organization         Mill St Home & School Assoc                              Three Fires Council 127                 1300 N Mill St                                            Naperville, IL 60563‐6301                                                                                  First Class Mail
Chartered Organization         Mill Valley PTO                                          Potawatomi Area Council 651             W191S6445 Hillendale Dr                                   Muskego, WI 53150                                                                                          First Class Mail
Voting Party                   Mill Village United Methodist Church (89752)             c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200              Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Millard Rotary/St Paul's Lutheran Church                 Mid‐America Council 326                 P.O. Box 391024                                           Omaha, NE 68139‐1024                                                                                       First Class Mail
Chartered Organization         Millbrook First Utd Methodist Church                     Tukabatchee Area Council 005            3350 Edgewood Rd                                          Millbrook, AL 36054‐3735                                                                                   First Class Mail
Voting Party                   Millbrook UMC of Randolph New Jersey                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200                Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Millbrook United Methodist Church                        Attn: Diana Marbrey                     1712 E Millbrook Rd                                       Raleigh, NC 27609                                                        dianna@millbrookumc.org           Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Millbrook Utd Methodist Church                           Patriots Path Council 358               246 Millbrook Ave                                         Randolph, NJ 07869‐2108                                                                                    First Class Mail
Chartered Organization         Millbrook Vfw Post 9008                                  Hudson Valley Council 374               P.O. Box 905                                              Millbrook, NY 12545‐0905                                                                                   First Class Mail
Chartered Organization         Millbrooke PTO                                           Heart Of America Council 307            11751 S Sunnybrook Blvd                                   Olathe, KS 66061‐4512                                                                                      First Class Mail
Chartered Organization         Millburn Congregal Utd Ch Christ                         Northeast Illinois 129                  19073 W Grass Lake Rd                                     Lake Villa, IL 60046‐7523                                                                                  First Class Mail
Chartered Organization         Millbury ‐ Baptist Church                                Heart Of New England Council 230        P.O. Box 222                                              Millbury, MA 01527‐0222                                                                                    First Class Mail
Chartered Organization         Millbury ‐ Federated Church                              Heart Of New England Council 230        20 Main St                                                Millbury, MA 01527‐2004                                                                                    First Class Mail
Chartered Organization         Millbury ‐ St Brigids Catholic Church                    Heart Of New England Council 230        59 Main St                                                Millbury, MA 01527‐2009                                                                                    First Class Mail
Chartered Organization         Millbury Fireman's Assoc                                 Erie Shores Council 460                 111 N Main St                                             Millbury, OH 43447                                                                                         First Class Mail
Chartered Organization         Mille Lacs Benton Pheasants Forever                      Central Minnesota 296                   354 Maple Dr                                              Foley, MN 56329‐8754                                                                                       First Class Mail
Voting Party                   Milledgeville First United Methodist Church              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200                Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Milledgeville Kiwanis Club AL Post 6                     Central Georgia Council 096             P.O. Box 117                                              Milledgeville, GA 31059‐0117                                                                               First Class Mail
Chartered Organization         Milledgeville Police Dept Post 139                       Central Georgia Council 096             125 W Mcintosh St                                         Milledgeville, GA 31061‐3427                                                                               First Class Mail
Voting Party                   Milledgeville UMC                                        Attn: Joel Scott McClellan              321 N Holcomb                                             Milledgeville, IL 61051                                                  Joelmcclellan@comcast.net         Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Milledgeville United Methodist Church                    Attn: Joel Scott Mcclellan              201 N Main St                                             Coleta, IL 61081                                                                                           First Class Mail
Chartered Organization         Milledgeville Utd Methodist Church                       Blackhawk Area 660                      P.O. Box 847                                              Milledgeville, IL 61051‐0847                                                                               First Class Mail
Chartered Organization         Millenia Elementary PTA                                  Central Florida Council 083             5301 Cypress Creek Dr                                     Orlando, FL 32811‐7605                                                                                     First Class Mail
Chartered Organization         Millennia Gardens Elementary PTA                         Central Florida Council 083             3515 Gardens Ridge Way                                    Orlando, FL 32839‐2172                                                                                     First Class Mail
Chartered Organization         Millennium Es PTO                                        Pathway To Adventure 456                17830 84Th Ave                                            Tinley Park, IL 60487‐2373                                                                                 First Class Mail
Chartered Organization         Miller Elementary PTA                                    South Plains Council 694                6901 Nashville Dr                                         Lubbock, TX 79413‐6045                                                                                     First Class Mail
Chartered Organization         Miller Hill Sand Lake PTA                                Twin Rivers Council 364                 8439 Miller Hill Rd                                       Averill Park, NY 12018‐2608                                                                                First Class Mail
Chartered Organization         Miller Park Community Learning Center                    Mid‐America Council 326                 5625 N 28Th Ave                                           Omaha, NE 68111‐1765                                                                                       First Class Mail
Chartered Organization         Miller Place Civic Assoc Inc                             Suffolk County Council Inc 404          P.O. Box 1231                                             Miller Place, NY 11764‐8010                                                                                First Class Mail
Chartered Organization         Miller Place Fire Dept                                   Suffolk County Council Inc 404          P.O. Box 5590                                             Miller Place, NY 11764‐1207                                                                                First Class Mail
Chartered Organization         Miller, Walsh, Kutz & Laster PLLC                        Colonial Virginia Council 595           12610 Patrick Henry Dr                                    Newport News, VA 23602‐9538                                                                                First Class Mail
Chartered Organization         Millers Creek Methodist Church                           Old Hickory Council 427                 4705 Boone Trl                                            Millers Creek, NC 28651‐8491                                                                               First Class Mail
Voting Party                   Millers United Methodist Church                          Attn: Ellsworth Geiwitz                 2187 Fridinger Mill Rd                                    Westminster, MD 21157                                                    ellsgei@verizon.net               Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Millersburg American Legion 484                          Lasalle Council 165                     106 W Washington St                                       Millersburg, IN 46543                                                                                      First Class Mail
Chartered Organization         Millersburg Rotary Club                                  New Birth Of Freedom 544                203 Nelson Ter                                            Millersburg, PA 17061‐1497                                                                                 First Class Mail
Voting Party                   Millersburg United Methodist Church                      Attn: Ruth Crissey                      5395 Twp Rd 336                                           Millersburg, OH 44654                                                    mumc@millersburgumc.org           Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Millersburg Utd Methodist Church                         Buckeye Council 436                     5395 Township Rd 336                                      Millersburg, OH 44654‐9050                                                                                 First Class Mail
Voting Party                   Millerstown United Methodist Church (178563)             c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200              Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Millersville Community Umc                               Pennsylvania Dutch Council 524          163 W Frederick St                                        Millersville, PA 17551‐1911                                                                                First Class Mail
Voting Party                   Millersville Community United Methodist                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200                Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Millersville Lions Club                                  Pennsylvania Dutch Council 524          P.O. Box 25                                               Millersville, PA 17551‐0025                                                                                First Class Mail
Voting Party                   Millerton UMC                                            Attn: Christine Lindeberg               96 Martin Rd                                              Pleasant Valley, NY 12569                                                clindeberg@drew.edu               Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Millian Memorial United Methodist Church                 Attn: Brenda Watson, Treasurer          13016 Parkland Dr                                         Rockville, MD 20853                                                      bmcgahey@juno.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Milliman Usa Inc                                         101 W Renner Rd Ste 325                 Richardson, TX 75082‐2021                                                                                                                                            First Class Mail
Voting Party                   Millington                                               Attn: Richard Michael Fassig            2259 E US Rt 52                                           Serena, IL 60549                                                         rmfassig@outlook.com              Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Millington Church Of God                                 Water And Woods Council 782             4855 Barnes Rd                                            Millington, MI 48746                                                                                       First Class Mail
Voting Party                   Millington First United Methodist Church                 Attn: Ronald Peck                       8029 Wilkinsville Rd                                      Millington, TN 38053                                                     millingtonfumc@rittermail.com     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Millington Rotary Club                                   Water And Woods Council 782             4922 Barnes Rd                                            Millington, MI 48746‐9043                                                                                  First Class Mail
Chartered Organization         Millinocket Elks Lodge 1521                              Katahdin Area Council 216               213 Aroostook Ave                                         Millinocket, ME 04462‐1425                                                                                 First Class Mail
Chartered Organization         Mills Elementary School PTA                              Capitol Area Council 564                6201 Davis Ln                                             Austin, TX 78749‐3431                                                                                      First Class Mail
Chartered Organization         Mills River Presbyterian Church                          Daniel Boone Council 414                26 Presbyterian Church Rd                                 Mills River, NC 28759‐8763                                                                                 First Class Mail
Chartered Organization         Mills River Utd Methodist Church                         Daniel Boone Council 414                137 Old Turnpike Rd                                       Mills River, NC 28759‐8776                                                                                 First Class Mail
Chartered Organization         Millstadt Police Dept                                    Greater St Louis Area Council 312       108 W White St                                            Millstadt, IL 62260‐1940                                                                                   First Class Mail
Chartered Organization         Millstone Township Fire Co                               Monmouth Council, Bsa 347               P.O. Box 213                                              Perrineville, NJ 08535‐0213                                                                                First Class Mail
Chartered Organization         Milltown Sailing                                         Mount Baker Council, Bsa 606            410 14Th St                                               Everett, WA 98201‐1641                                                                                     First Class Mail
Chartered Organization         Millville Christian Church (Doc)                         Columbia‐Montour 504                    245 E Main St                                             Millville, PA 17846                                                                                        First Class Mail
Chartered Organization         Millville Police Dept                                    Garden State Council 690                18 High St S                                              Millville, NJ 08332‐4244                                                                                   First Class Mail
Chartered Organization         Millwood Fire Co 1                                       Westchester Putnam 388                  100 Millwood Rd                                           Millwood, NY 10546‐1150                                                                                    First Class Mail
Chartered Organization         Millwood Fire House                                      Westchester Putnam 388, Rte 120         Millwood, NY 10546                                                                                                                                                   First Class Mail
Chartered Organization         Millwood Presbyterian Church                             Inland NW Council 611                   3223 N Marguerite Rd                                      Spokane, WA 99212‐2151                                                                                     First Class Mail
Chartered Organization         Milne Elem ‐ Kc 3910                                     Sam Houston Area Council 576            7800 Portal Dr                                            Houston, TX 77071‐1700                                                                                     First Class Mail
Chartered Organization         Milo American Legion Post 263                            Mid Iowa Council 177                    P.O. Box 181                                              Milo, IA 50166‐0181                                                                                        First Class Mail
Chartered Organization         Milpitas Christian School                                Silicon Valley Monterey Bay 055         3435 Birchwood Ln                                         San Jose, CA 95132‐1308                                                                                    First Class Mail
Chartered Organization         Milpitas Fire Explorer Program                           Silicon Valley Monterey Bay 055         777 S Main St                                             Milpitas, CA 95035‐5322                                                                                    First Class Mail
Chartered Organization         Milpitas Police Dept                                     Silicon Valley Monterey Bay 055         1275 N Milpitas Blvd                                      Milpitas, CA 95035‐3153                                                                                    First Class Mail
Chartered Organization         Milpitas Police Officers Assoc                           Silicon Valley Monterey Bay 055         1275 N Milpitas Blvd                                      Milpitas, CA 95035‐3153                                                                                    First Class Mail
Chartered Organization         Milpitas Rotary Club                                     Silicon Valley Monterey Bay 055         835 Kizer St                                              Milpitas, CA 95035‐3313                                                                                    First Class Mail
Voting Party                   Milroy United Methodist Church                           Attn: Jeff Morgan                       P.O. Box 156                                              Milroy, IN 46156                                                         pennysams@hotmail.com             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Milroy United Methodist Church (6420)                    c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200              Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Milroy Utd Methodist Church                              Crossroads of America 160               Pleasant & Church                                         114 N Pleasant St                       Milroy, IN 46156                                                   First Class Mail
Voting Party                   Milton                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200                Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Milton American Legion Post 367                          Glaciers Edge Council 620               410 Elm St                                                Milton, WI 53563‐1207                                                                                      First Class Mail
Chartered Organization         Milton Baptist Church                                    Buckskin 617                            1123 Church St                                            Milton, WV 25541‐1203                                                                                      First Class Mail
Chartered Organization         Milton Civic Org                                         Evangeline Area 212                     101 Camelot Hill Dr                                       Youngsville, LA 70592‐5785                                                                                 First Class Mail
Chartered Organization         Milton Engine Co No 1                                    Rip Van Winkle Council 405              P.O. Box 282                                              Milton, NY 12547‐0282                                                                                      First Class Mail
Chartered Organization         Milton Fire Dept Inc                                     Susquehanna Council 533                 121 Ridge Ave                                             Milton, PA 17847‐1629                                                                                      First Class Mail
Chartered Organization         Milton Hershey School                                    New Birth Of Freedom 544                P.O. Box 830                                              Hershey, PA 17033‐0830                                                                                     First Class Mail
Voting Party                   Milton Marboro UMC                                       Box 275                                 Milton, NY 12547                                                                                                                   edhorton184@gmail.com             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Milton Police Dept                                       Atlanta Area Council 092                13000 Deerfield Pkwy Ste 107F                             Milton, GA 30004‐5026                                                                                      First Class Mail
Chartered Organization         Milton Presbyterian Church                               Great Trail 433                         P.O. Box 306                                              Rittman, OH 44270‐0306                                                                                     First Class Mail
Chartered Organization         Milton Seventh Day Baptist Church                        Glaciers Edge Council 620               720 E Madison Ave                                         Milton, WI 53563‐1325                                                                                      First Class Mail
Voting Party                   Milton United Methodist Church                           Attn: Martha Deel                       1007 Church St                                            Milton, WV 25541                                                         miltonunited@frontier.com         Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Milton United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200                Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Milton Utd Methodist Church                              Lincoln Heritage Council 205            11100 Hwy 421 N                                           Milton, KY 40045‐1544                                                                                      First Class Mail
Chartered Organization         Milton Utd Methodist Church                              Glaciers Edge Council 620               P.O. Box 158                                              Milton, WI 53563‐0158                                                                                      First Class Mail
Chartered Organization         Milton Utd Methodist Church                              Patriots Path Council 358               316 Dover Milton Rd                                       Oak Ridge, NJ 07438‐9307                                                                                   First Class Mail
Chartered Organization         Milw Brain Inj Soc & Plymouth Church                     Three Harbors Council 636               2717 E Hampshire Ave                                      Milwaukee, WI 53211‐3142                                                                                   First Class Mail
Chartered Organization         Milwaukee Building & Construction Trades                 Three Harbors Council 636               5941 W Bluemound Rd                                       Milwaukee, WI 53213‐4227                                                                                   First Class Mail
Chartered Organization         Milwaukee Christian Center                               Three Harbors Council 636               807 S 14Th St                                             Milwaukee, WI 53204‐2104                                                                                   First Class Mail
Chartered Organization         Milwaukee Christian Ctr‐Kagel Safe Place                 Three Harbors Council 636               807 S 14Th St                                             Milwaukee, WI 53204‐2104                                                                                   First Class Mail
Chartered Organization         Milwaukee County Sheriffs Office                         Three Harbors Council 636               821 W State St                                            Milwaukee, WI 53233‐1427                                                                                   First Class Mail
Chartered Organization         Milwaukee German Immersion PTA                           Three Harbors Council 636               3778 N 82Nd St                                            Milwaukee, WI 53222‐2999                                                                                   First Class Mail
Chartered Organization         Milwaukee Police Dept ‐ Dist 3                           Three Harbors Council 636               2333 N 49Th St                                            Milwaukee, WI 53210‐2805                                                                                   First Class Mail
Chartered Organization         Milwaukee Police Dept District 2                         Three Harbors Council 636               245 W Lincoln Ave                                         Milwaukee, WI 53207‐1115                                                                                   First Class Mail
Chartered Organization         Milwaukee Police Dept District 4                         Three Harbors Council 636               6929 W Silver Spring Dr                                   Milwaukee, WI 53218‐2925                                                                                   First Class Mail
Chartered Organization         Milwaukee Yacht Club & Friends Ship 5069                 Bay‐Lakes Council 635                   1700 N Lincoln Memorial Dr                                Milwaukee, WI 53202‐1336                                                                                   First Class Mail
Chartered Organization         Milwaukie Lutheran Church                                Cascade Pacific Council 492             3810 Se Lake Rd                                           Milwaukie, OR 97222‐6021                                                                                   First Class Mail
Chartered Organization         Milwaukie Presbyterian Church                            Cascade Pacific Council 492             2416 Se Lake Rd                                           Milwaukie, OR 97222‐7731                                                                                   First Class Mail
Voting Party                   MimeoCom Inc                                             P.O. Box 654018                         Dallas, TX 75265‐4018                                                                                                                                                First Class Mail
Chartered Organization         Mims Elementary School                                   Central Florida Council 083             3252 Us Hwy 1                                             Mims, FL 32754                                                                                             First Class Mail
Voting Party                   Mims United Methodist                                    3302 Green St                           Mims, FL 32754                                                                                                                                                       First Class Mail
Voting Party                   Mims United Methodist, 3302 Green St, Mims, FL 32754     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200                Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                       Page 266 of 442
                                                                                  Case 20-10343-LSS                                                Doc 8171                                            Filed 01/06/22                                                         Page 282 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                        Name                                                                                                         Address                                                                                                                    Email              Method of Service
Chartered Organization         Minadeo Elementary School PTO                                 Laurel Highlands Council 527                    6502 Lilac St                                                    Pittsburgh, PA 15217‐3034                                                                                    First Class Mail
Voting Party                   Minburn United Methodist Church                               Attn: Cari Wooton Fuller                        705 Chestnut St                                                  Minburn, IA 50167                                                         cari@ssispecialties.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Minburn United Methodist Church                               Attn: Cari Fuller                               P.O. Box 204                                                     Minburn, IA 50167                                                         cari@ssispecialties.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mind Cave                                                     Circle Ten Council 571                          632 Inglenook Ct                                                 Coppell, TX 75019‐6682                                                                                       First Class Mail
Chartered Organization         Minden Utd Church Of Christ                                   Mid‐America Council 326                         106 Lincoln St                                                   Minden, IA 51553‐2015                                                                                        First Class Mail
Chartered Organization         Mindy Ellen Levine Behavioral Health Ctr                      Mecklenburg County Council 415                  16740 Davidson Concord Rd                                        Davidson, NC 28036‐8746                                                                                      First Class Mail
Chartered Organization         Mine Hill Eductional Foundation                               Patriots Path Council 358                       42 Canfield Ave                                                  Mine Hill, NJ 07803‐3012                                                                                     First Class Mail
Chartered Organization         Miner School PTO                                              Pathway To Adventure 456                        1101 E Miner St                                                  Arlington Heights, IL 60004‐6337                                                                             First Class Mail
Chartered Organization         Mineral Ridge Church Of Christ                                Great Trail 433                                 3911 Main St                                                     Mineral Ridge, OH 44440‐9794                                                                                 First Class Mail
Chartered Organization         Mineral Springs Utd Methodist Church                          Central N Carolina Council 416                  P.O. Box 67                                                      Mineral Springs, NC 28108‐0067                                                                               First Class Mail
Chartered Organization         Mineral Springs Utd Methodist Church                          Central N Carolina Council 416                  P.O. Box 67                                                      Mineral Springs, NC 28108‐0067                                                                               First Class Mail
Chartered Organization         Mineral Utd Methodist Church                                  Stonewall Jackson Council 763                   301 W 3Rd St                                                     Mineral, VA 23117                                                                                            First Class Mail
Voting Party                   Mineral Wells United Methodist Church                         P.O. Box 771                                    5400 Center Hill Rd                                              Olive Branch, MS 38654                                                    mineralwellsumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mineral Wells Utd Methodist Church                            Chickasaw Council 558                           5400 Center Hill Rd                                              Olive Branch, MS 38654                                                                                       First Class Mail
Chartered Organization         Minerva Sportsmans Club                                       Buckeye Council 436                             9247 Arrow Rd Nw                                                 Minerva, OH 44657‐8741                                                                                       First Class Mail
Chartered Organization         Minetto Utd Methodist Church                                  Longhouse Council 373                           P.O. Box 217                                                     Minetto, NY 13115‐0217                                                                                       First Class Mail
Chartered Organization         Minford Volunteer Fire Dept                                   Simon Kenton Council 441                        8484 Ohio‐335                                                    Minford, OH 45653                                                                                            First Class Mail
Chartered Organization         Mingo Creek Presbyterian Church                               Laurel Highlands Council 527                    561 Mingo Church Rd                                              Finleyville, PA 15332‐3534                                                                                   First Class Mail
Chartered Organization         Mingo Junction Fire Dept                                      Ohio River Valley Council 619                   501 Commercial St                                                Mingo Jct, OH 43938‐1233                                                                                     First Class Mail
Chartered Organization         Minier Christian Church                                       W D Boyce 138                                   P.O. Box 770                                                     Minier, IL 61759‐0770                                                                                        First Class Mail
Chartered Organization         Ministerio Internacional Nueva Vida                           Mecklenburg County Council 415                  10328 The Plaza Rd Ext                                           Charlotte, NC 28215                                                                                          First Class Mail
Chartered Organization         Minneapolis Fire Dept                                         Northern Star Council 250                       350 S 5Th St Ste 231                                             Minneapolis, MN 55415‐1357                                                                                   First Class Mail
Chartered Organization         Minneapolis Police Explorers                                  Northern Star Council 250                       4119 Dupont Ave N                                                Minneapolis, MN 55412‐1614                                                                                   First Class Mail
Chartered Organization         Minneapolis Public Sch Grand Lodge Mason                      Northern Star Council 250                       11501 Masonic Home Dr                                            Bloomington, MN 55437‐3661                                                                                   First Class Mail
Chartered Organization         Minnehaha County Sheriffs Office                              Sioux Council 733                               320 W 4Th St                                                     Sioux Falls, SD 57104‐2413                                                                                   First Class Mail
Voting Party                   Minnehaha United Methodist Church of Minneapolis, Minnesota   c/o Lapp, Libra, Stoebner, & Pusch, Chartered   Attn: Andrew J Stoebner                                          120 S 6th St, Ste 2500                  Minneapolis, MN 55402             astoebner@lapplibra.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Minnehaha Utd Methodist Church                                Northern Star Council 250                       3701 E 50Th St                                                   Minneapolis, MN 55417‐1536                                                                                   First Class Mail
Chartered Organization         Minnesota Assoc Of Deaf Citizens                              Northern Star Council 250                       1824 Marshall Ave                                                St Paul, MN 55104‐6009                                                                                       First Class Mail
Voting Party                   Minnesota Conference of the United Methodist Church           c/o Lapp Libra Stoebner & Pusch Chartered       Attn: Andrew Stoebner                                            120 S 6th St, Ste 2500                  Minneapolis, MN 55402             astoebner@gmail.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Minnesota Fire Exploring Assoc                                Northern Star Council 250                       4101 Reservoir Blvd                                              Minneapolis, MN 55421‐3153                                                                                   First Class Mail
Chartered Organization         Minnesota Lake Lions Club                                     Twin Valley Council Bsa 283                     200 Higbie Ave E                                                 Minnesota Lake, MN 56068‐3144                                                                                First Class Mail
Chartered Organization         Minnesota Law Enforcement Explorer Assoc                      Northern Star Council 250                       5115 Excelsior Blvd, Ste 310                                     St Louis Park, MN 55416‐2906                                                                                 First Class Mail
Chartered Organization         Minnesota Pilots Assoc                                        Northern Star Council 250                       3209 Galleria Unit 1602                                          Edina, MN 55435‐2555                                                                                         First Class Mail
Chartered Organization         Minnesota State Patrol                                        Northern Star Council 250                       445 Minnesota St, Ste 130                                        St Paul, MN 55101‐2190                                                                                       First Class Mail
Chartered Organization         Minnesota Transportation Museum                               Northern Star Council 250                       193 Pennsylvania Ave E                                           St Paul, MN 55130‐4319                                                                                       First Class Mail
Chartered Organization         Minnetonka Police Dept                                        Northern Star Council 250                       14600 Minnetonka Blvd                                            Minnetonka, MN 55345‐1502                                                                                    First Class Mail
Voting Party                   Minoa First United Methodist Church                           Attn: Rachelle Houser                           246 East Ave                                                     Minoa, NY 13116                                                           mgleason@twcny.rr.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Minooka Lions Club                                            Rainbow Council 702                             121 E Mcevilly Rd                                                Minooka, IL 60447‐9420                                                                                       First Class Mail
Chartered Organization         Minooka Police Dept                                           Rainbow Council 702                             121 E Mcevilly Rd                                                Minooka, IL 60447‐9420                                                                                       First Class Mail
Voting Party                   Minooka UMC                                                   205 W Church St                                 Minooka, IL 60447                                                                                                                          pastorsarahhong@gmail.com          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Minor Elementary School                                       Greater Alabama Council 001                     2425 Ave S Ensley                                                Birmingham, AL 35218‐2835                                                                                    First Class Mail
Voting Party                   Minor Memorial United Methodist Church                        Attn: Tim Patrick                               6120 Goodman Rd                                                  Walls, MS 38680                                                           memorialm@bellsouth.net            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Minor Memorial United Methodist Church                        Attn: Timothy S Patrick                         6120 Goodman Rd                                                  Walls, MS 38680                                                                                              First Class Mail
Chartered Organization         Minors Lane Elementary School                                 Lincoln Heritage Council 205                    8510 Minor Ln                                                    Louisville, KY 40219‐3626                                                                                    First Class Mail
Chartered Organization         Minors Lane Sch Based                                         Decision Making Council                         8510 Minor Ln                                                    Louisville, KY 40219‐3626                                                                                    First Class Mail
Chartered Organization         Minot 1St Ward, Minot Nd Stake                                Northern Lights Council 429                     2025 9Th St Nw                                                   Minot, ND 58703‐0801                                                                                         First Class Mail
Chartered Organization         Minot 2Nd Ward, Minot Nd Stake                                Northern Lights Council 429                     3740 Crossing St Sw                                              Minot, ND 58701‐8560                                                                                         First Class Mail
Chartered Organization         Minot 3Rd Ward Minot Nd Stake                                 Northern Lights Council 429                     2025 9Th St Nw                                                   Minot, ND 58703‐0801                                                                                         First Class Mail
Chartered Organization         Minot 4Th Ward Minot Nd Stake                                 Northern Lights Council 429                     2025 9Th St Nw                                                   Minot, ND 58703‐0801                                                                                         First Class Mail
Chartered Organization         Minot Police Dept                                             Northern Lights Council 429                     515 2Nd Ave Sw                                                   Minot, ND 58701‐3739                                                                                         First Class Mail
Voting Party                   Minot United Methodist Church                                 Attn: Steven Verrill                            270 Bailey Hill Rd                                               Poland, ME 04274                                                          sverrill@roadrunner.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Minsi Trails Council                                          Minsi Trails Council 502                        P.O. Box 20624                                                   Lehigh Valley, PA 18002‐0624                                                                                 First Class Mail
Chartered Organization         Minster Civic Assoc                                           Black Swamp Area Council 449                    P.O. Box 128                                                     Minster, OH 45865‐0128                                                                                       First Class Mail
Chartered Organization         Mint Hill Police Dept                                         Mecklenburg County Council 415                  7200 Matthews Mint Hill Rd                                       Mint Hill, NC 28227‐7593                                                                                     First Class Mail
Chartered Organization         Mint Valley Elementary PTO                                    Cascade Pacific Council 492                     2745 38Th Ave                                                    Longview, WA 98632‐4721                                                                                      First Class Mail
Chartered Organization         Mintonye Elementary PTO                                       Sagamore Council 162                            2000 W 800 S                                                     Lafayette, IN 47909‐8014                                                                                     First Class Mail
Voting Party                   Mintz Law Firm                                                Attn: Rudolph Mintz                             112 E. Gordon St.                                                Kinston, NC 28501                                                         rudolph.mintz@gmail.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Mio United Methodist Church                                   1101 W 8th St                                   Mio, MI 48647                                                                                                                              davemarlene59@gmail.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mira Bay                                                      Greater Tampa Bay Area 089                      107 Manns Harbor Dr                                              Apollo Beach, FL 33572‐3340                                                                                  First Class Mail
Chartered Organization         Mira Mesa Community Foundation                                San Diego Imperial Council 049                  8917 Caminito Vera                                               San Diego, CA 92126‐2823                                                                                     First Class Mail
Chartered Organization         Mira Mesa Community Foundation                                San Diego Imperial Council 049                  P.O. Box 261592                                                  San Diego, CA 92196‐1592                                                                                     First Class Mail
Chartered Organization         Mira Mesa Moose Lodge 2108                                    San Diego Imperial Council 049                  8670 Miramar Rd Ste T                                            San Diego, CA 92126‐4363                                                                                     First Class Mail
Voting Party                   Mira Mesa Presbyterian Church                                 Attn: Larry D Hughes                            8081 Mira Mesa Blvd                                              San Diego, CA 92126                                                       mmpcusa@sbcglobal.net              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Miracle Baptist Church                                        Georgia‐Carolina 093                            1308 Hephzibah Mcbean Rd                                         Hephzibah, GA 30815‐4328                                                                                     First Class Mail
Chartered Organization         Miracle Hot Springs                                           Snake River Council 111                         P.O. Box 588                                                     Buhl, ID 83316‐0588                                                                                          First Class Mail
Chartered Organization         Miraculous Medal Catholic Church                              Greater Los Angeles Area 033                    820 N Garfield Ave                                               Montebello, CA 90640‐1607                                                                                    First Class Mail
Voting Party                   Miraculous Metal Catholic Church                              c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                      Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Miramar                                                       c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Miramar Police Dept Explorers                                 South Florida Council 084                       11765 City Hall Promenade                                        Miramar, FL 33025‐7685                                                                                       First Class Mail
Chartered Organization         Miramonte Parents Club                                        Sequoia Council 027                             1590 Bellaire Ave                                                Clovis, CA 93611‐5103                                                                                        First Class Mail
Chartered Organization         Mire Volunteer Fire Dept                                      Evangeline Area 212                             5248 Mire Hwy                                                    Rayne, LA 70578‐7728                                                                                         First Class Mail
Chartered Organization         Miro Industries                                               Utah National Parks 591                         844 S 430 W                                                      Heber City, UT 84032‐2287                                                                                    First Class Mail
Chartered Organization         Misawa Logistic Officer Assoc                                 Unit 5012 Far E Council 803                     Apo, AP 96319‐5012                                                                                                                                                            First Class Mail
Voting Party                   Mishawaka First United Methodist Church                       Attn: Rev Rick Taylor                           201 E 3rd St                                                     Mishawaka, IN 46544                                                       rick.taylor@inumc.org              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Misison Community UMC                                         Mission Community UMC                           9032 Mission Dr                                                  Rosemead, CA 91770                                                        rev.deborahoh@gmail.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Miss Selma's School                                           Quapaw Area Council 018                         7814 T St                                                        Little Rock, AR 72227‐4047                                                                                   First Class Mail
Chartered Organization         Missaukee Conservation Club                                   President Gerald R Ford 781                     1431 N Morey Rd                                                  Lake City, MI 49651                                                                                          First Class Mail
Chartered Organization         Mission Baptist Church                                        Central N Carolina Council 416                  12444 Mission Church Rd                                          Locust, NC 28097‐7235                                                                                        First Class Mail
Voting Party                   Mission Bell United Methodist Church (AZ)                     c/o Clarke Law Firm, PLC                        Attn: Marilee Miller Clarke                                      8141 E Indian Bend Rd, Ste 105          Scottsdale, AZ 85250              marilee@clarkelawaz.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mission Church Of The Nazarene                                San Diego Imperial Council 049                  4750 Mission Gorge Pl                                            San Diego, CA 92120‐4227                                                                                     First Class Mail
Chartered Organization         Mission Covenant Church                                       Bay‐Lakes Council 635                           1001 N 2Nd St                                                    Ishpeming, MI 49849‐1141                                                                                     First Class Mail
Chartered Organization         Mission Covenant Church                                       Voyageurs Area 286                              5161 S County Rd P                                               Poplar, WI 54864                                                                                             First Class Mail
Chartered Organization         Mission Hills Christian School                                Orange County Council 039                       29582 Aventura                                                   Rancho Santa Margarita, CA 92688‐2045                                                                        First Class Mail
Chartered Organization         Mission Hills Church                                          Denver Area Council 061                         620 Southpark Dr                                                 Littleton, CO 80120‐5675                                                                                     First Class Mail
Chartered Organization         Mission Hills Methodist Church                                San Diego Imperial Council 049                  4044 Lark St                                                     San Diego, CA 92103‐1709                                                                                     First Class Mail
Voting Party                   Mission Hills United Methodist Church                         Mission Hills UMC                               4044 Lark St                                                     San Diego, CA 92103                                                       mhumcnet@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mission Lions Club                                            Rio Grande Council 775                          P.O. Box 268                                                     Mission, TX 78573‐0005                                                                                       First Class Mail
Voting Party                   Mission Lutheran Church                                       Attn: Rev Bill Snyder                           24360 Yosemite Rd                                                Laguna Niguel, CA 92677                                                   billsnyder@missionlutheran.org     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mission Outreach Bd Our Saviors Lutheran                      Mt Diablo‐Silverado Council 023                 1035 Carol Ln                                                    Lafayette, CA 94549‐4716                                                                                     First Class Mail
Chartered Organization         Mission Peak Lodge 114 IOOF                                   San Francisco Bay Area Council 028              40955 Fremont Blvd                                               Fremont, CA 94538‐4307                                                                                       First Class Mail
Chartered Organization         Mission Police Dept                                           Rio Grande Council 775                          1200 E 8Th St                                                    Mission, TX 78572‐5811                                                                                       First Class Mail
Chartered Organization         Mission Springs Community Church                              San Francisco Bay Area Council 028              48989 Milmont Dr                                                 Fremont, CA 94538‐7315                                                                                       First Class Mail
Chartered Organization         Mission Trail PTO                                             Heart Of America Council 307                    13200 Mission Rd                                                 Leawood, KS 66209‐1750                                                                                       First Class Mail
Chartered Organization         Mission Valley Elementary PTO                                 South Texas Council 577                         12063 Fm 236                                                     Victoria, TX 77905‐2606                                                                                      First Class Mail
Chartered Organization         Mission Valley Free Methodist Church                          Greater Los Angeles Area 033                    1201 S San Gabriel Blvd                                          San Gabriel, CA 91776‐3116                                                                                   First Class Mail
Voting Party                   Mission Valley United Methodist Church                        Attn: Derf Bergman                              400 St Mary's Dr                                                 P.O. Box 297                            St Ignatius, MT 59865             revderf@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mission Viejo Elks Lodge 2444                                 Orange County Council 039                       25092 Marguerite Pkwy                                            Mission Viejo, CA 92692‐2444                                                                                 First Class Mail
Chartered Organization         Mission Woods Community Of Christ Church                      Heart Of America Council 307                    2800 Nw Duncan Rd                                                Blue Springs, MO 64015‐7227                                                                                  First Class Mail
Chartered Organization         Mississippi Blvd Christian Church                             Chickasaw Council 558                           70 N Bellevue Blvd                                               Memphis, TN 38104‐2221                                                                                       First Class Mail
Chartered Organization         Mississippi County Caring Communities                         Greater St Louis Area Council 312               603 N Garfield St                                                East Prairie, MO 63845‐1403                                                                                  First Class Mail
Voting Party                   Misson Valley United Methodist Church                         P.O. Box 307                                    Ronan, MT 59864                                                                                                                            revderf@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Missoula County Sheriffs Office                               Montana Council 315                             200 W Broadway St                                                Missoula, MT 59802‐4216                                                                                      First Class Mail
Chartered Organization         Missoula Downtown Lions Club                                  Montana Council 315                             16995 Mullan Rd                                                  Frenchtown, MT 59834                                                                                         First Class Mail
Chartered Organization         Missoula Exchange Club                                        Montana Council 315                             P.O. Box 8926                                                    Missoula, MT 59807‐8926                                                                                      First Class Mail
Voting Party                   Missoula First United Methodist Church                        Attn: Leslie Lindley, Treasurer, Missoula UMC   300 E. Main St.                                                  Missoula, MT 59802                                                        fumcmissoula@gmail.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Missouri City Police Dept                                     Sam Houston Area Council 576                    3849 Cartwright Rd                                               Missouri City, TX 77459‐2443                                                                                 First Class Mail
Chartered Organization         Missouri Military Academy                                     Great Rivers Council 653                        204 N Grand St                                                   Mexico, MO 65265‐3020                                                                                        First Class Mail
Chartered Organization         Missouri State Highway Patrol                                 Greater St Louis Area Council 312               4947 Hwy 67 N                                                    Poplar Bluff, MO 63901‐8082                                                                                  First Class Mail
Voting Party                   Missouri United Methodist Church                              Attn: Adriene Floyd                             204 S 9th St                                                     Columbia, MO 65201                                                        adriene@moumc.org                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Missouri United Methodist Church                              Treasurer                                       204 S 9th St                                                     Columbia, MO 65201                                                                                           First Class Mail
Chartered Organization         Missouri Valley Family Ymca                                   Northern Lights Council 429                     1608 N Washington St                                             Bismarck, ND 58501‐2675                                                                                      First Class Mail
Voting Party                   Mister Sweeper Inc                                            P.O. Box 560048                                 Dallas, TX 75356‐0048                                                                                                                                                         First Class Mail
Chartered Organization         Mit ‐ Lincoln Laboratories                                    The Spirit Of Adventure 227                     244 Wood St                                                      Lexington, MA 02421‐6426                                                                                     First Class Mail
Firm                           Mitchell A Toups, Ltd.                                        Mitchell A. Toups                               2615 Calder Ave. Ste 400                                         Beaumont, TX 77702                                                        matoups@wgttlaw.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mitchell Blvd Elementary ‐ Gifw                               Longhorn Council 662                            3601 Mitchell Blvd                                               Fort Worth, TX 76105‐5215                                                                                    First Class Mail
Chartered Organization         Mitchell County Vfw Post 6242                                 Coronado Area Council 192                       702 E South St                                                   Beloit, KS 67420                                                                                             First Class Mail
Chartered Organization         Mitchell Elementary Team Up                                   Nevada Area Council 329                         1216 Prater Way                                                  Sparks, NV 89431‐0904                                                                                        First Class Mail
Voting Party                   Mitchell First United Methodist Church                        Attn: Pastor Keith Nelson                       310 N Rowley St                                                  Mitchell, SD 57301                                                        keith@downtownfirstumc.com         Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mitchell Middle Lighted Schoolhouse                           Three Harbors Council 636                       3109 Mt Pleasant St                                              Racine, WI 53404‐1511                                                                                        First Class Mail
Chartered Organization         Mitchell Presbyterian Church                                  Hoosier Trails Council 145 145                  P.O. Box 245                                                     Mitchell, IN 47446‐0245                                                                                      First Class Mail
Chartered Organization         Mitchell Utd Methodist Church                                 Longs Peak Council 062                          1845 Broadway St                                                 Mitchell, NE 69357‐1438                                                                                      First Class Mail
Voting Party                   Mitchell, McNutt & Sams, PA                                   Attn: Donald Andrew Phillips                    1216 Van Buren                                                   Oxford, MS 38655                                                          aphillips@mitchellmcnutt.com       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mitchell's Nursery                                            Old Hickory Council 427                         1088 W Dalton Rd                                                 King, NC 27021‐9533                                                                                          First Class Mail
Chartered Organization         Mitchellville Christian Church                                Mid Iowa Council 177                            214 3Rd St Nw                                                    Mitchellville, IA 50169‐9788                                                                                 First Class Mail
Voting Party                   Mitchellville United Methodist Church                         Attn: Rev Candraeah Carey                       200 2nd St NW                                                    Mitchellville, IA 50169                                                   cancare6_@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mittineague Congregational Church                             Western Massachusetts Council 234               1840 Westfield St                                                West Springfield, MA 01089‐2017                                                                              First Class Mail
Chartered Organization         Mitzvah Circle Foundation                                     Cradle Of Liberty Council 525                   2562 Blvd Of The Generals Ste 300                                Norristown, PA 19403‐3671                                                                                    First Class Mail
Chartered Organization         Mixit Recording                                               Sagamore Council 162                            P.O. Box 164                                                     Galveston, IN 46932‐0164                                                                                     First Class Mail
Chartered Organization         Mizpah Masonic Lodge 191 So St Paul                           Northern Star Council 250                       P.O. Box 2598                                                    Inver Grove Heights, MN 55076‐8598                                                                           First Class Mail
Chartered Organization         Mm Soccer                                                     Mecklenburg County Council 415                  1810 Oaklawn Ave                                                 Charlotte, NC 28216‐5121                                                                                     First Class Mail
Chartered Organization         Mmm Housing                                                   Sam Houston Area Council 576                    21059 Blair Rd                                                   Conroe, TX 77385‐7309                                                                                        First Class Mail
Chartered Organization         Mnps Extended Learning Programs                               Middle Tennessee Council 560                    2601 Bransford Ave                                               Nashville, TN 37204‐2811                                                                                     First Class Mail
Chartered Organization         Moanalua Gardens Community Assoc                              Aloha Council, Bsa 104                          1876 Ala Mahamoe St                                              Honolulu, HI 96819‐1608                                                                                      First Class Mail
Chartered Organization         Moanalua Valley Community Assoc                               Aloha Council, Bsa 104                          1745 Ala Aolani Pl                                               Honolulu, HI 96819‐1402                                                                                      First Class Mail
Chartered Organization         Mo‐Ark District Of Kiwanis                                    Greater St Louis Area Council 312               P.O. Box 2146                                                    Washington, MO 63090‐0946                                                                                    First Class Mail
Chartered Organization         Mobile City Federation Of Womens Clubs                        Mobile Area Council‐Bsa 004                     400 N Catherine St                                               Mobile, AL 36603‐5000                                                                                        First Class Mail
Chartered Organization         Mobile County Sheriffs Dept                                   Mobile Area Council‐Bsa 004                     510 S Royal St                                                   Sheriff Sam Cochran                     Mobile, AL 36603                                                     First Class Mail
Chartered Organization         Mobile Police Benevolent Assoc                                Mobile Area Council‐Bsa 004                     P.O. Box 180591                                                  Mobile, AL 36618‐0591                                                                                        First Class Mail
Chartered Organization         Mockingbird ‐ PTO                                             Circle Ten Council 571                          300 Mockingbird Ln                                               Coppell, TX 75019‐4142                                                                                       First Class Mail
Chartered Organization         Mocksville First U Methodist Church                           Old N State Council 070                         310 N Main St                                                    Mocksville, NC 27028‐2116                                                                                    First Class Mail
Chartered Organization         Model Elementary Group Of Parents                             Lasalle Council 165                             412 S Greene Rd                                                  Goshen, IN 46526‐1529                                                                                        First Class Mail
Voting Party                   Modern China Co Inc                                           P.O. Box 309                                    Sebring, OH 44672‐0309                                                                                                                                                        First Class Mail
Chartered Organization         Modesto Elks 1282                                             Greater Yosemite Council 059                    645 Charity Way                                                  Modesto, CA 95356‐9283                                                                                       First Class Mail
Chartered Organization         Modesto Kiwanis Club                                          Greater Yosemite Council 059                    328 Birchwood Ct                                                 Modesto, CA 95350‐1348                                                                                       First Class Mail
Chartered Organization         Modesto Police Dept                                           Greater Yosemite Council 059                    600 10Th St                                                      Modesto, CA 95354‐3506                                                                                       First Class Mail
Chartered Organization         Moeller Home Co                                               Dan Beard Council, Bsa 438                      2651 Bartels Rd                                                  Cincinnati, OH 45244‐4008                                                                                    First Class Mail
Firm                           Mogab & Hughes Attorneys P.C                                  David G. Hughes                                 13205 Manchester Road                                            Saint Louis, MO 63131                                                     davidhughes@mogabandhughes.com     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mogadore Utd Methodist Church                                 Great Trail 433                                 3828 Mogadore Rd                                                 Mogadore, OH 44260‐1243                                                                                      First Class Mail
Voting Party                   Mohave Valley United Methodist Church (AZ)                    c/o Clarke Law Firm, PLC                        Attn: Marilee Miller Clarke                                      8141 E Indian Bend Rd, Ste 105          Scottsdale, AZ 85250              marilee@clarkelawaz.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mohave Valley Utd Methodist Church                            Las Vegas Area Council 328                      1593 E Lipan Blvd                                                Fort Mohave, AZ 86426‐6031                                                                                   First Class Mail
Chartered Organization         Mohawk Elementary PTO                                         Great Lakes Fsc 272                             48101 Romeo Plank Rd                                             Macomb, MI 48044‐2101                                                                                        First Class Mail
Chartered Organization         Mohegan Lake 134 Parent's Assoc                               Westchester Putnam 388                          3634 Lexington Ave                                               Mohegan Lake, NY 10547‐1244                                                                                  First Class Mail
Chartered Organization         Mohegan School PTO                                            Housatonic Council, Bsa 069                     47 Mohegan Rd                                                    Shelton, CT 06484‐2443                                                                                       First Class Mail
Chartered Organization         Mohegan Volunteer Fire Assoc, Inc                             Westchester Putnam 388                          P.O. Box 162                                                     Mohegan Lake, NY 10547‐0162                                                                                  First Class Mail
Chartered Organization         Mokane Lions Club                                             Great Rivers Council 653                        P.O. Box 55                                                      Mokane, MO 65059‐0055                                                                                        First Class Mail
Firm                           Mokaram Law Firm                                              Ali Mokaram                                     2500 W Loop South, Ste 450                                       Houston, TX 77027                                                         maya@mokaramlawfirm.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Mokelumne River Ward                                          Greater Yosemite Council 059                    1510 W Century Blvd                                              Lodi, CA 95242‐4551                                                                                          First Class Mail
Chartered Organization         Molalla Fire District                                         Cascade Pacific Council 492                     P.O. Box 655                                                     Molalla, OR 97038‐0655                                                                                       First Class Mail
Chartered Organization         Moler Elementary School PTO                                   Simon Kenton Council 441                        1201 Moler Rd                                                    Columbus, OH 43207‐1552                                                                                      First Class Mail
Voting Party                   Moline UMC                                                    Attn: Heather Gillen                            648 Brahier Ln                                                   28010 E Broadway St                     Maumee, OH 43537                  pastorheathergillen@gmail.com      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 267 of 442
                                                                                Case 20-10343-LSS                                         Doc 8171                                     Filed 01/06/22                                                 Page 283 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                      Name                                                                                           Address                                                                                                        Email                Method of Service
Voting Party                   Moline United Methodist Church                                Attn: Rev Heather Gillen                28010 E Broadway St                                      Walbridge, OH 43465                                               pastorheathergillen@gmail.com    Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Moline Utd Methodist Church                                   Erie Shores Council 460                 28022 E Broadway St                                      Walbridge, OH 43465‐9403                                                                           First Class Mail
Chartered Organization         Momentous Institute                                           Circle Ten Council 571                  106 E 10Th St                                            Dallas, TX 75203‐2236                                                                              First Class Mail
Chartered Organization         Momentum Cc Eagles Landing Campus                             Flint River Council 095                 1120 Village Business Pkwy                               Stockbridge, GA 30281‐4889                                                                         First Class Mail
Chartered Organization         Mon Valley School                                             Laurel Highlands Council 527            555 N Lewis Run Rd                                       Jefferson Hills, PA 15025‐3711                                                                     First Class Mail
Chartered Organization         Monac Parents Club                                            Erie Shores Council 460                 3845 Clawson Ave                                         Toledo, OH 43623‐3874                                                                              First Class Mail
Chartered Organization         Monadnock Christian Conference Center                         Daniel Webster Council, Bsa 330         257 Dublin Rd                                            Jaffrey, NH 03452‐5011                                                                             First Class Mail
Chartered Organization         Monadnock Lions Club                                          Daniel Webster Council, Bsa 330         P.O. Box 341                                             Marlborough, NH 03455‐0341                                                                         First Class Mail
Chartered Organization         Monaghan Presbyterian Church                                  New Birth Of Freedom 544                1185 Gettysburg Pike                                     Dillsburg, PA 17019‐9404                                                                           First Class Mail
Voting Party                   Monaghan United Methodist Church                              Attn: Marcus Sanders                    228 N Severn Cir                                         Easley, SC 29642                                                  monaghanumctreasurer@gmail.com   Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Moncks Corner LDS                                             Coastal Carolina Council 550            617 Resinwood Rd                                         Moncks Corner, SC 29461‐3786                                                                       First Class Mail
Chartered Organization         Moncks Corner Police Dept                                     Coastal Carolina Council 550            118 Carolina Ave                                         Moncks Corner, SC 29461‐3735                                                                       First Class Mail
Chartered Organization         Monclova Historical Foundation                                Erie Shores Council 460                 8115 Monclova Rd                                         Monclova, OH 43542‐9706                                                                            First Class Mail
Voting Party                   Monfort Heights United Methodist Church                       Attn: Steven L Steigelman               3682 W Fork Rd                                           Cincinnati, OH 45247                                              stevesteigelman@gmail.com        Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Monfort Heights Utd Methodist Church                          Dan Beard Council, Bsa 438              3684 W Fork Rd                                           Cincinnati, OH 45247                                                                               First Class Mail
Chartered Organization         Monforton School                                              Montana Council 315                     6001 Monforton School Rd                                 Bozeman, MT 59718‐8136                                                                             First Class Mail
Voting Party                   Mongaup Valley United Methodist Church                        Attn: Joycalyn M Attn: Jordan           P.O. Box 479                                             Kauneonga Lake, NY 12749                                          Joycalyn.Jordan@nyac‐umc.com     Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Monguagon Chapter Nsdar                                       Great Lakes Fsc 272                     19226 Champaign Rd                                       Allen Park, MI 48101‐2238                                                                          First Class Mail
Chartered Organization         Monitor Volunteer Firefighters Assoc                          Cascade Pacific Council 492             15240 Woodburn Monitor Rd Ne                             Woodburn, OR 97071‐8530                                                                            First Class Mail
Voting Party                   Monitronics Funding Lp                                        dba Brinks Home Security                Dept Ch 8628                                             Palatine, IL 60055‐8628                                                                            First Class Mail
Voting Party                   Monkton Friends Methodist Church                              Attn: Priscilla Pierce                  P.O. Box 105                                             Monkton, VT 05469                                                                                  First Class Mail
Chartered Organization         Monkton Parent Teacher Club                                   Green Mountain 592                      P.O. Box 40                                              Monkton, VT 05469‐0040                                                                             First Class Mail
Voting Party                   Monmouth 347                                                  Attn: Michael P Mahon                   705 Ginesi Dr                                            Morganville, NJ 07751                                             Michael.mahon@scouting.org       Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Monmouth Council Camping Committee                            Monmouth Council, Bsa 347               705 Ginesi Dr                                            Morganville, NJ 07751‐1235                                                                         First Class Mail
Chartered Organization         Monmouth County Sheriff Dept                                  Monmouth Council, Bsa 347               50 E Main St                                             Freehold, NJ 07728‐2275                                                                            First Class Mail
Chartered Organization         Monmouth County Sheriffs Office Oem                           Monmouth Council, Bsa 347               2500 Kozloski Rd                                         Freehold, NJ 07728‐4424                                                                            First Class Mail
Voting Party                   Monmouth First United Methodist                               Attn: Rev Jon E Sims                    221 E Broadway                                           Monmouth, IL 61462                                                ajjjs4@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Monmouth Fish And Game                                        Pine Tree Council 218                   P.O. Box 502                                             Monmouth, ME 04259‐0502                                                                            First Class Mail
Chartered Organization         Monmouth Medical Center                                       Monmouth Council, Bsa 347               300 2Nd Ave                                              Long Branch, NJ 07740‐6303                                                                         First Class Mail
Chartered Organization         Monro Muffler Brake Inc                                       Seneca Waterways 397                    35 Howard Rd                                             Rochester, NY 14606‐5601                                                                           First Class Mail
Voting Party                   Monroe (WI) United Methodist Church                           Attn: Rev Dr Don S Kim                  2227 4th St                                              Monroe, WI 53566                                                  monroeumc.com                    Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Monroe Academy                                                Gulf Coast Council 773                  Monroeville Al                                           Monroeville, AL 36460                                                                              First Class Mail
Chartered Organization         Monroe Charter Township Vol Fire Dept                         Southern Shores Fsc 783                 15331 S Dixie Hwy                                        Monroe, MI 48161‐3774                                                                              First Class Mail
Chartered Organization         Monroe Church Of The Nazarene                                 Dan Beard Council, Bsa 438              400 Macready Ave                                         Monroe, OH 45050‐1325                                                                              First Class Mail
Chartered Organization         Monroe Columbian Welfare Assoc, Inc                           Hudson Valley Council 374               P.O. Box 2079                                            Monroe, NY 10949‐8579                                                                              First Class Mail
Chartered Organization         Monroe Community Church                                       Tecumseh 439                            6458 County Rd 29                                        West Liberty, OH 43357‐9228                                                                        First Class Mail
Chartered Organization         Monroe Community Mens Club                                    Simon Kenton Council 441                12531 State Rte 56 W                                     Mt Sterling, OH 43143‐9518                                                                         First Class Mail
Chartered Organization         Monroe Congregational Church‐United                           Connecticut Yankee Council Bsa 072      34 Church St                                             Monroe, CT 06468‐1979                                                                              First Class Mail
Chartered Organization         Monroe County Bar Assoc                                       Seneca Waterways 397                    1300 Clinton Sq                                          Rochester, NY 14604‐1707                                                                           First Class Mail
Chartered Organization         Monroe County Bar Assoc Yls                                   Seneca Waterways 397                    1 W Main St                                              Rochester, NY 14614‐1418                                                                           First Class Mail
Chartered Organization         Monroe County Fair Assoc                                      Southern Shores Fsc 783                 3775 S Custer Rd                                         Monroe, MI 48161‐9716                                                                              First Class Mail
Chartered Organization         Monroe County Intermediate School PTO                         Southern Shores Fsc 783                 1101 S Raisinville Rd                                    Monroe, MI 48161‐9047                                                                              First Class Mail
Chartered Organization         Monroe County Rod & Gun Club                                  Southern Shores Fsc 783                 6280 Lighthouse Rd                                       Monroe, MI 48161‐4731                                                                              First Class Mail
Chartered Organization         Monroe County Sheriffs Office                                 Central Georgia Council 096             145 L Cary Bittick Dr                                    Forsyth, GA 31029‐2604                                                                             First Class Mail
Chartered Organization         Monroe County Sheriff's Office                                Seneca Waterways 397                    130 S Plymouth Ave                                       Rochester, NY 14614‐2209                                                                           First Class Mail
Voting Party                   Monroe County Solid Waste Mgmt                                Board Of Co Commissioners               1100 Simonton St Rm 2‐231                                Key West, FL 33040‐3110                                                                            First Class Mail
Chartered Organization         Monroe Elementary Leap Program                                Northeast Georgia Council 101           140 Dillard Dr                                           Monroe, GA 30656‐4620                                                                              First Class Mail
Chartered Organization         Monroe Lakeside Fire & Rescue Co                              Hudson Valley Council 374               P.O. Box 779                                             Monroe, NY 10949‐0779                                                                              First Class Mail
Chartered Organization         Monroe Lions Club                                             Blackhawk Area 660                      N2244 Asmus Rd                                           Monroe, WI 53566                                                                                   First Class Mail
Chartered Organization         Monroe Police Dept                                            Blackhawk Area 660                      1811 12Th St                                             Monroe, WI 53566‐2140                                                                              First Class Mail
Chartered Organization         Monroe Preparatory Academy                                    Lake Erie Council 440                   328 E Monroe St                                          Sandusky, OH 44870‐3607                                                                            First Class Mail
Chartered Organization         Monroe St Neighborhood Adventure Camp                         Erie Shores Council 460                 3613 Monroe St                                           Toledo, OH 43606‐4117                                                                              First Class Mail
Chartered Organization         Monroe St Neighborhood Center                                 Erie Shores Council 460                 3613 Monroe St                                           Toledo, OH 43606‐4117                                                                              First Class Mail
Chartered Organization         Monroe Township Police Dept                                   Garden State Council 690                125 Virginia Ave                                         Williamstown, NJ 08094‐1768                                                                        First Class Mail
Chartered Organization         Monroe Twp Parent Teachers Assoc                              New Birth Of Freedom 544                1240 Boiling Springs Rd                                  Boiling Springs, PA 17007‐9673                                                                     First Class Mail
Voting Party                   Monroe United Methodist Church                                Attn: Robert G Hunsinger, Treasurer     47 Maple Ave                                             Monroe, NY 10950                                                  rhunsing@frontiernet.net         Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Monroe United Methodist Church                                Attn: Mary Sue Duinink                  P.O. Box 628                                             Monroe, IA 50170                                                  monroeum@iowatelecom.net         Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Monroe United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Monroe Utd Brethren Church                                    Anthony Wayne Area 157                  205 S Adams St                                           Monroe, IN 46772‐9635                                                                              First Class Mail
Chartered Organization         Monroe Utd Methodist Church                                   Mid Iowa Council 177                    402 N Monroe St                                          Monroe, IA 50170‐7745                                                                              First Class Mail
Chartered Organization         Monroe Utd Methodist Church                                   Mount Baker Council, Bsa 606            342 S Lewis St                                           Monroe, WA 98272‐2321                                                                              First Class Mail
Chartered Organization         Monroe Ward LDS                                               Louisiana Purchase Council 213          909 N 33Rd St                                            Monroe, LA 71201‐3937                                                                              First Class Mail
Chartered Organization         Monroe Ward LDS Church                                        Louisiana Purchase Council 213          909 N 33Rd St                                            Monroe, LA 71201‐3937                                                                              First Class Mail
Voting Party                   Monroeton (141188)                                            c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Monroeville United Methodist Church (98324)                   c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Monroeville Volunteer Fire Co 4                               Laurel Highlands Council 527            4370 Nern Pike                                           Monroeville, PA 15146                                                                              First Class Mail
Chartered Organization         Monrovia Police Dept                                          Greater Los Angeles Area 033            140 E Lime Ave                                           Monrovia, CA 91016‐2840                                                                            First Class Mail
Voting Party                   Monrovia UMC                                                  Attn: Pastor Jeffery Lamar Grant        140 E Palm Ave                                           Monrovia, CA 91016                                                jefferyg01@yahoo.com             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Monrovia United Methodist Church                              Attn: Cheryl Olivarez                   P.O. Box 4                                               Monrovia, IN 46157                                                                                 First Class Mail
Chartered Organization         Monsignor Donovan Catholic High School                        Northeast Georgia Council 101           590 Lavender Rd                                          Athens, GA 30606‐1114                                                                              First Class Mail
Voting Party                   Monsignor Slade Catholic School Inc                           c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                    218 N Charles St, Ste 400        Baltimore, MD 21201              moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Monsma Marketing                                              President Gerald R Ford 781             1409 Buchanan Ave Sw                                     Grand Rapids, MI 49507‐1610                                                                        First Class Mail
Voting Party                   Monson‐Glendale United Methodist Church                       Attn: Gretchen Neggers                  P.O. BOX 315                                             162 Main St                      Monson, MA 01057                 monsonglendaleumc@gmail.com      Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Mont Alto United Methodist Church (140993)                    c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Montague Lodge 2521 BPOE                                      Western Massachusetts Council 234       P.O. Box 231                                             Turners Falls, MA 01376‐0231                                                                       First Class Mail
Chartered Organization         Montague Volunteer Fire Dept                                  Patriots Path Council 358               274 Clove Rd                                             Montague, NJ 07827‐3169                                                                            First Class Mail
Voting Party                   Montana Cncl 315                                              820 17Th Ave S                          Great Falls, MT 59405‐5939                                                                                                                                  First Class Mail
Voting Party                   Montana Synod of the Evangelical Lutheran Church in America   Attn: Eric Edward Nord                  2708 1st Ave N, Ste 300                                  Billings, MT 59101                                                enord@cristlaw.com               Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Montana UMC                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Montana Utd Methodist Church                                  Minsi Trails Council 502                539 Montana Rd                                           Phillipsburg, NJ 08865‐9323                                                                        First Class Mail
Chartered Organization         Montauk Fire Dept                                             Suffolk County Council Inc 404          12 Flamingo Ave                                          Montauk, NY 11954‐5076                                                                             First Class Mail
Chartered Organization         Montbello High School Jrotc                                   Denver Area Council 061                 5000 Crown Blvd                                          Denver, CO 80239‐4378                                                                              First Class Mail
Chartered Organization         Montclair Lions Club                                          San Francisco Bay Area Council 028      5942 Balboa Dr                                           Oakland, CA 94611‐2319                                                                             First Class Mail
Chartered Organization         Montclair Police Departmetnt                                  Northern New Jersey Council, Bsa 333    647 Bloomfield Ave                                       Montclair, NJ 07042‐2860                                                                           First Class Mail
Chartered Organization         Montclair Police Dept                                         California Inland Empire Council 045    4870 Arrow Hwy                                           Montclair, CA 91763‐1211                                                                           First Class Mail
Chartered Organization         Montclair PTA                                                 Atlanta Area Council 092                1680 Clairmont Pl Ne                                     Brookhaven, GA 30329‐1610                                                                          First Class Mail
Voting Party                   Montdale United Methodist Church (078623)                     c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Montdale Utd Methodist Church                                 Northeastern Pennsylvania Council 501   961 Lakeland Dr                                          Scott Township, PA 18447‐7669                                                                      First Class Mail
Chartered Organization         Monte Cassino Elementary School                               Indian Nations Council 488              2206 S Lewis Ave                                         Tulsa, OK 74114‐3117                                                                               First Class Mail
Voting Party                   Monte Sano United Methodist Church                            Attn: John Mullaney                     601 Monte Sano Blvd                                      Huntsville, AL 35801                                              john.mullaney@umcna.org          Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Montebello Fire Dept                                          Greater Los Angeles Area 033            600 N Montebello Blvd                                    Montebello, CA 90640‐3538                                                                          First Class Mail
Chartered Organization         Montebello Police Dept                                        Greater Los Angeles Area 033            1600 W Beverly Blvd                                      Montebello, CA 90640‐3932                                                                          First Class Mail
Chartered Organization         Montello Rotary Club                                          Bay‐Lakes Council 635                   P.O. Box 206                                             Montello, WI 53949‐0206                                                                            First Class Mail
Chartered Organization         Monterey Church Of Christ                                     Louisiana Purchase Council 213          P.O. Box 400                                             Monterey, LA 71354‐0400                                                                            First Class Mail
Chartered Organization         Monterey County Fire District                                 Silicon Valley Monterey Bay 055         19900 Portola Dr                                         Salinas, CA 93908‐1234                                                                             First Class Mail
Chartered Organization         Monterey County Sheriff's Office                              Silicon Valley Monterey Bay 055         1414 Natividad Rd                                        Salinas, CA 93906‐3102                                                                             First Class Mail
Chartered Organization         Monterey Elks Lodge 1285                                      Silicon Valley Monterey Bay 055         150 Mar Vista Dr                                         Monterey, CA 93940‐6086                                                                            First Class Mail
Chartered Organization         Monterey Park Fire Dept                                       Greater Los Angeles Area 033            320 W Newmark Ave                                        Monterey Park, CA 91754‐2818                                                                       First Class Mail
Chartered Organization         Monterey Park Parents Of Troop 329                            Greater Los Angeles Area 033            1701 Brightwood St                                       Monterey Park, CA 91754‐5100                                                                       First Class Mail
Chartered Organization         Monterey Park Police Dept                                     Greater Los Angeles Area 033            320 W Newmark Ave                                        Monterey Park, CA 91754‐2818                                                                       First Class Mail
Chartered Organization         Monterey Police Dept                                          Silicon Valley Monterey Bay 055         351 Madison St                                           Monterey, CA 93940‐2613                                                                            First Class Mail
Chartered Organization         Montessori Academy Of Harlingen                               Rio Grande Council 775                  3943 Bourbon St                                          Harlingen, TX 78550‐7918                                                                           First Class Mail
Chartered Organization         Montessori At Vickery                                         Northeast Georgia Council 101           6285 Post Rd                                             Cumming, GA 30040‐7327                                                                             First Class Mail
Chartered Organization         Montessori Educational Center                                 Louisiana Purchase Council 213          4209 N Bolton Ave                                        Alexandria, LA 71303‐4706                                                                          First Class Mail
Chartered Organization         Montessori School Of Anderson                                 Blue Ridge Council 551                  280 Sam Mcgee Rd                                         Anderson, SC 29621‐2551                                                                            First Class Mail
Chartered Organization         Montessori School Of Pensacola                                Gulf Coast Council 773                  4100 Montessori Dr                                       Pensacola, FL 32504‐4800                                                                           First Class Mail
Chartered Organization         Montessori School Of Waukesha                                 Potawatomi Area Council 651             2600 Summit Ave                                          Waukesha, WI 53188‐2704                                                                            First Class Mail
Chartered Organization         Montevallo Police Explorers                                   Greater Alabama Council 001             541 Main St                                              Montevallo, AL 35115‐4044                                                                          First Class Mail
Chartered Organization         Montevallo Rotary Club                                        Greater Alabama Council 001             277 Park Dr                                              Montevallo, AL 35115‐3882                                                                          First Class Mail
Chartered Organization         Montevallo Secondary Fire & Rescue Dept                       Greater Alabama Council 001             1140 Ashville Rd                                         Montevallo, AL 35115                                                                               First Class Mail
Voting Party                   Monteverde United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Montevideo Parents                                            Mt Diablo‐Silverado Council 023         330 Winterwind Cir                                       San Ramon, CA 94583‐5241                                                                           First Class Mail
Chartered Organization         Montgomery Bell State Park                                    Middle Tennessee Council 560            1020 Jackson Hill Rd                                     Burns, TN 37029‐5040                                                                               First Class Mail
Chartered Organization         Montgomery County District Attorney                           Cradle Of Liberty Council 525           P.O. Box 311                                             Norristown, PA 19404‐0311                                                                          First Class Mail
Voting Party                   Montgomery County Maryland                                    P.O. Box 83399                          Gaithersburg, MD 20883‐3399                                                                                                                                 First Class Mail
Chartered Organization         Montgomery County Police Dept                                 National Capital Area Council 082       9125 Gaither Rd                                          Gaithersburg, MD 20877‐1460                                                                        First Class Mail
Chartered Organization         Montgomery County Sheriffs Office                             Middle Tennessee Council 560            120 Commerce St                                          Clarksville, TN 37040‐3641                                                                         First Class Mail
Chartered Organization         Montgomery Elementary PTO                                     Sam Houston Area Council 576            4000 Simsbrook Dr                                        Houston, TX 77045‐5628                                                                             First Class Mail
Chartered Organization         Montgomery Fire Dept                                          Hudson Valley Council 374               136 Ward St                                              Montgomery, NY 12549‐1113                                                                          First Class Mail
Chartered Organization         Montgomery Job Corps                                          Tukabatchee Area Council 005            1145 Air Base Blvd                                       Montgomery, AL 36108‐3103                                                                          First Class Mail
Chartered Organization         Montgomery Lions Club, Inc                                    Susquehanna Council 533                 63 S Main St                                             Montgomery, PA 17752                                                                               First Class Mail
Chartered Organization         Montgomery Lodge Af & Am                                      Mayflower Council 251                   155 Main St                                              Milford, MA 01757‐2610                                                                             First Class Mail
Voting Party                   Montgomery Memorial United Methodist Church                   Attn: Brian Humphries                   160 Stone St                                             Pacolet, SC 29372                                                 cbhumphries@umcsc.org            Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Montgomery Police Dept                                        Tukabatchee Area Council 005            320 N Ripley St                                          Montgomery, AL 36104‐2731                                                                          First Class Mail
Chartered Organization         Montgomery Presbyterian Church                                Dan Beard Council, Bsa 438              9994 Zig Zag Rd                                          Montgomery, OH 45242‐6339                                                                          First Class Mail
Chartered Organization         Montgomery Sheriff Office                                     Tukabatchee Area Council 005            115 S Perry St                                           Montgomery, AL 36104‐4243                                                                          First Class Mail
Voting Party                   Montgomery United Methodist Church                            Attn: Chairman of Trustees              28325 Kemptown Rd                                        Damascus, MD 20872                                                trustees@montumc.org             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Montgomery United Methodist Church                            Attn: Bonnie Hovermann                  275 Manley Rd                                            Milton, VT 05468                                                  Hovermann4@comcast.net           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Montgomery United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Montgomery Utd Methodist Church                               Washington Crossing Council 777         117 Sunset Rd                                            Belle Mead, NJ 08502‐5706                                                                          First Class Mail
Chartered Organization         Montgomery Village Lions Club                                 Redwood Empire Council 041              P.O. Box 1074                                            Santa Rosa, CA 95402‐1074                                                                          First Class Mail
Voting Party                   Monthalia United Methodist Church                             Attn: Carolyn Orts                      P.O. Box 213                                             Cost, TX 78614                                                    ortscarolyn@gmail.com            Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Monticello 1st United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Monticello Covenant Church                                    Northern Star Council 250               8585 State Hwy 25 Ne                                     Monticello, MN 55362‐3351                                                                          First Class Mail
Chartered Organization         Monticello Elks Lodge 1544                                    Hudson Valley Council 374               46 North St                                              Monticello, NY 12701‐1711                                                                          First Class Mail
Chartered Organization         Monticello First Utd Methodist Church                         Central Georgia Council 096             651 College St                                           Monticello, GA 31064‐1253                                                                          First Class Mail
Chartered Organization         Monticello Kiwanis Club                                       Suwannee River Area Council 664         264 N Cherry St                                          Monticello, FL 32344‐1925                                                                          First Class Mail
Chartered Organization         Monticello Lions Club                                         Prairielands 117                        P.O. Box 85                                              Monticello, IL 61856‐0085                                                                          First Class Mail
Chartered Organization         Monticello Lions Club                                         Northern Star Council 250               P.O. Box 673                                             Monticello, MN 55362‐0673                                                                          First Class Mail
Chartered Organization         Monticello Lions/Vfw                                          Blackhawk Area 660                      126 N Main St                                            Monticello, WI 53570‐9809                                                                          First Class Mail
Chartered Organization         Monticello Montessori Charter School                          Grand Teton Council 107                 4707 Sweetwater                                          Ammon, ID 83406‐7546                                                                               First Class Mail
Chartered Organization         Monticello Rotary Club                                        Prairielands 117                        P.O. Box 202                                             Monticello, IL 61856‐0202                                                                          First Class Mail
Voting Party                   Monticello United Methodist Church                            Attn: Rev Kathleen Sweet                2020 E Washington St                                     Monticello, IL 61856                                              ksweet@monticelloumc.com         Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Monticello United Methodist Church                            445 Broadway                            Monticello, NY 12701                                                                                                       Gary@schmidtswholesale.com       Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Monticello United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Monticello United Methodist Church                            23860 W 75th St                         Shawnee, KS 66227                                                                                                                                           First Class Mail
Voting Party                   Monticello United Methodist Church Inc                        Attn: Trustee Chairperson               P.O. Box 87                                              Monticello, IN 47960                                              bbeeks@monticelloumchurch.org    Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Monticello Utd Methodist Church                               Andrew Jackson Council 303              P.O. Box 87                                              Monticello, MS 39654‐0087                                                                          First Class Mail
Chartered Organization         Monticello Utd Methodist Church                               Heart Of America Council 307            23860 W 75Th St                                          Shawnee, KS 66227‐2200                                                                             First Class Mail
Voting Party                   Montmorenci United Methodist Church Inc                       Attn: Steve Ianniello Treasurer         P.O. Box 610                                             Candler, NC 28715                                                 doug@mackiernan.com              Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Montmorenci Utd Methodist Church                              Daniel Boone Council 414                P.O. Box 610                                             Candler, NC 28715‐0610                                                                             First Class Mail
Voting Party                   Montour Falls United Methodist Church                         Attn: Sheila Price                      128 Owego St, P.O. Box 309                               Montour Falls, NY 14865                                           sprice518@aol.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Montour Falls United Methodist Church                         Attn: Treasurer                         P.O. Box 309                                             Montour Falls, NY 14865                                           sprice518@aol.com                Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Montrose Baptist Church                                       Pathway To Adventure 456                4411 N Melvina Ave                                       Chicago, IL 60630‐3011                                                                             First Class Mail
Chartered Organization         Montrose Family Worship Center                                Water And Woods Council 782             9453 Vienna Rd                                           Montrose, MI 48457‐9729                                                                            First Class Mail
Chartered Organization         Montrose River Front Inc                                      Mississippi Valley Council 141 141      P.O. Box 358                                             Montrose, IA 52639‐0358                                                                            First Class Mail
Voting Party                   Montrose UMC                                                  Attn: Connie Zimmer                     P.O. Box 265                                             209 S Second Ave                 Montrose, SD 57048                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 268 of 442
                                                                                  Case 20-10343-LSS                                        Doc 8171                                        Filed 01/06/22                                                Page 284 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                        Name                                                                                             Address                                                                                                     Email               Method of Service
Voting Party                   Montrose United Methodist Church                              P.O. Box 3237                           Montrose, MI 48457                                                                                                            montroseumc1@gmail.com        Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Montrose United Methodist Church                              Attn: Connie Zimmer                     Box 265                                                      Montrose, SD 57048                                               montrosemethodist@gmail.com   Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Montrose Volunteer Fire Relief Assn                           Northern Star Council 250               P.O. Box 25                                                  Montrose, MN 55363‐0025                                                                        First Class Mail
Chartered Organization         Montrose Zion Utd Methodist Church                            Great Trail 433                         565 N Cleveland Massillon Rd                                 Akron, OH 44333‐2457                                                                           First Class Mail
Chartered Organization         Montura Volunteer Fire Dept                                   Southwest Florida Council 088           P.O. Box 1481                                                Clewiston, FL 33440‐1481                                                                       First Class Mail
Chartered Organization         Montvale PTO                                                  Northern New Jersey Council, Bsa 333    Memorial School                                              Grand Ave                       Montvale, NJ 07645                                             First Class Mail
Voting Party                   Montverde United Methodist Church, FL                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Montverde Utd Methodist Church                                Central Florida Council 083             17015 Porter Ave                                             Montverde, FL 34756‐3216                                                                       First Class Mail
Voting Party                   Montview Blvd Presbyterian Church                             Attn: Executive Director                1980 Dahlia St                                               Denver, CO 80220                                                 jason@montview.org            Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Montville Fire Dept                                           Patriots Path Council 358               P.O. Box 152                                                 Montville, NJ 07045‐0152                                                                       First Class Mail
Chartered Organization         Montville Pba 140                                             Patriots Path Council 358               360 Rte 202                                                  Montville, NJ 07045‐8605                                                                       First Class Mail
Chartered Organization         Montville Reformed Church                                     Patriots Path Council 358               9 Church Ln                                                  Montville, NJ 07045‐9125                                                                       First Class Mail
Chartered Organization         Montville Twp Police Dept                                     Patriots Path Council 358               360 Rte 202                                                  Montville, NJ 07045‐8605                                                                       First Class Mail
Chartered Organization         Montwood Church Of Christ                                     Yucca Council 573                       11995 Montwood Dr                                            El Paso, TX 79936‐0708                                                                         First Class Mail
Chartered Organization         Monument Community Presbyterian Church                        Pikes Peak Council 060                  238 3Rd St                                                   Monument, CO 80132‐6700                                                                        First Class Mail
Chartered Organization         Monument Crisis Center                                        Mt Diablo‐Silverado Council 023         1990 Market St                                               Concord, CA 94520‐2627                                                                         First Class Mail
Chartered Organization         Monument Faith Ch God In Christ                               Sam Houston Area Council 576            2233 Aldine Mail Rte                                         Houston, TX 77039‐5505                                                                         First Class Mail
Chartered Organization         Monument Police Dept                                          Pikes Peak Council 060                  645 Beacon Lite Rd                                           Monument, CO 80132‐9143                                                                        First Class Mail
Voting Party                   Monumental UMC                                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Moodus Sportsman's Club                                       Connecticut Rivers Council, Bsa 066     299 E Haddam Colchester Tpke                                 Moodus, CT 06469                                                                               First Class Mail
Chartered Organization         Moody Memorial 1st Utd Methodist Ch                           Bay Area Council 574                    2803 53Rd St                                                 Galveston, TX 77551‐5914                                                                       First Class Mail
Voting Party                   Mooers United Methodist Church                                Attn: David L Babbie                    484 Blackman Corners Rd                                      Mooers Forks, NY 12959                                           debbabbie@yahoo.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Mooers United Methodist Church                                Attn: David Babble                      P.O. BOX 255                                                 Mooers, NY 12958                                                 debbabbie@yahoo.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Moon Lake Baptist Church                                      Greater Alabama Council 001             4671 Hwy 117                                                 Mentone, AL 35984                                                                              First Class Mail
Voting Party                   Moore Clarke DuVall & Rodgers, PC                             Edgar W Duskin, Jr                      2829 Old Dawson Rd                                           P.O. Drawer 71727               Albany, GA 31708                 wduskin@mcdr‐law.com          Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Moore Co Dumas Pd Cactus Pd                                   Golden Spread Council 562               700 S Bliss Ave                                              Dumas, TX 79029‐4448                                                                           First Class Mail
Chartered Organization         Moore County Agricultural Fair Inc                            Occoneechee 421                         P.O. Box 596                                                 Carthage, NC 28327‐0596                                                                        First Class Mail
Chartered Organization         Moore County Airport Ksop                                     Occoneechee 421                         7825 Aviation Dr                                             Carthage, NC 28327‐6119                                                                        First Class Mail
Chartered Organization         Moore Elementary PTO                                          Sam Houston Area Council 576            13734 Lakewood Forest Dr                                     Houston, TX 77070‐2814                                                                         First Class Mail
Voting Party                   Moore First United Methodist Church                           Attn: Dan Wayman                        201 W Main St                                                Moore, OK 73160                                                  danwayman@moorechurch.com     Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Moore Memorial United Methodist Church                        Attn: Frank W Weed                      P.O. Box 467                                                 Winona, MS 38967                                                 fw50@hotmail.com              Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Moore Mentor Service                                          President Gerald R Ford 781             2652 Brooklane Ave Se                                        Grand Rapids, MI 49507‐3556                                                                    First Class Mail
Chartered Organization         Moore Montessori Community School                             Occoneechee 421                         387 W Pennsylvania Ave                                       Southern Pines, NC 28387‐5422                                                                  First Class Mail
Chartered Organization         Moore St Baptist Church                                       Heart Of Virginia Council 602           1408 W Leigh St                                              Richmond, VA 23220‐2240                                                                        First Class Mail
Voting Party                   Moore, Paul R                                                 Address Redacted                                                                                                                                                      Email Address Redacted        Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Moorefield Presbyterian Church                                Laurel Highlands Council 527            P.O. Box 653                                                 Moorefield, WV 26836‐0653                                                                      First Class Mail
Voting Party                   Mooreland First United Methodist Church                       Attn: Pastor & Micah Ethan Welcher      P.O. Box 385                                                 Mooreland, OK 73852                                              micah.welcher@gmail.com       Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Mooreland First United Methodist Church                       Attn: Jim Walling, Treasurer            311 S Fanta Fe                                               Mooreland, OK 73852                                              jwalling@pldi.net             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Mooreland Utd Methodist Church                                Cimarron Council 474                    302 S Elm St                                                 Mooreland, OK 73852                                                                            First Class Mail
Chartered Organization         Mooresburg Presbyterian Church                                Columbia‐Montour 504                    9 Church Rd                                                  Danville, PA 17821                                                                             First Class Mail
Chartered Organization         Mooresburg Utd Methodist                                      Columbia‐Montour 504                    7 Sholes Rd                                                  Danville, PA 17821                                                                             First Class Mail
Chartered Organization         Mooresville Arts Council                                      Piedmont Council 420                    103 W Center Ave                                             Mooresville, NC 28115‐3177                                                                     First Class Mail
Chartered Organization         Mooresville Fire Dept                                         Piedmont Council 420                    1023 Shearers Rd                                             Mooresville, NC 28115‐5718                                                                     First Class Mail
Voting Party                   Mooresville First United Methodist Church, Inc                Attn: Willis E Yeager                   900 Indianapolis Rd                                          Mooresville, IN 46158                                            bill@mooresvillefumc.oeg      Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Mooresville Police Dept                                       Piedmont Council 420                    413 N Main St                                                Mooresville, NC 28115‐2455                                                                     First Class Mail
Chartered Organization         Mooretown Collegiate Academy                                  Norwela Council 215                     3913 Powell St                                               Shreveport, LA 71109‐7921                                                                      First Class Mail
Voting Party                   Mooreville United Methodist Church                            Attn: Dennis Nichols                    138 Rd 1410                                                  Mooreville, MS 38857                                             dnick38857@gmail.com          Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Mooreville Utd Methodist Church                               Yocona Area Council 748                 725 Hwy 371                                                  Mooreville, MS 38857‐7355                                                                      First Class Mail
Chartered Organization         Moorhead Police Explorers                                     Northern Lights Council 429             P.O. Box 817                                                 Moorhead, MN 56561‐0817                                                                        First Class Mail
Voting Party                   Moorhead United Methodist Church (85300)                      c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200      Pittsburgh, PA 15228             lspagnolo@bentzlaw.com        Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Moorhead Utd Methodist Church                                 Bucktail Council 509                    P.O. Box 233                                                 Brockway, PA 15824‐0233                                                                        First Class Mail
Chartered Organization         Moorings Presbyterian Church                                  Southwest Florida Council 088           791 Harbour Dr                                               Naples, FL 34103‐4460                                                                          First Class Mail
Chartered Organization         Moorpark Presbyterian Church                                  Ventura County Council 057              13950 Peach Hill Rd                                          Moorpark, CA 93021‐2363                                                                        First Class Mail
Voting Party                   Moorpark United Methodist Church                              Attn: Pastor                            261 Flory Ave                                                Moorpark, CA 93021                                               office@moorparkumc.org        Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Moorsbridge Elementary PTO                                    Southern Shores Fsc 783                 7361 Moorsbridge Rd                                          Portage, MI 49024‐4029                                                                         First Class Mail
Chartered Organization         Moose 1012                                                    Great Trail 433                         6400 State Rte 46                                            Cortland, OH 44410‐9609                                                                        First Class Mail
Chartered Organization         Moose Family Center 1210 ‐ Montesano                          Pacific Harbors Council, Bsa 612        3 Monte Elma Rd                                              Montesano, WA 98563‐9712                                                                       First Class Mail
Chartered Organization         Moose Family Center 1572                                      Samoset Council, Bsa 627                P.O. Box 284                                                 Stevens Point, WI 54481‐0284                                                                   First Class Mail
Chartered Organization         Moose Home                                                    Illowa Council 133                      1936 Lincoln Way                                             Clinton, IA 52732‐7218                                                                         First Class Mail
Chartered Organization         Moose Intl, Inc Rockville Ch                                  National Capital Area Council 082       13755 Travilah Rd                                            Rockville, MD 20850‐3532                                                                       First Class Mail
Chartered Organization         Moose Lodge                                                   San Diego Imperial Council 049          2310 Myrtle Rd                                               Imperial, CA 92251‐9715                                                                        First Class Mail
Chartered Organization         Moose Lodge 1329                                              Blackhawk Area 660                      406 Clay St                                                  Woodstock, IL 60098‐3318                                                                       First Class Mail
Chartered Organization         Moose Lodge 1398 ‐ West Bend                                  Bay‐Lakes Council 635                   1721 Chestnut St                                             West Bend, WI 53095‐3015                                                                       First Class Mail
Chartered Organization         Moose Lodge 1944 ‐ Pacifica                                   Pacific Skyline Council 031             776 Bradford Way                                             Pacifica, CA 94044‐2907                                                                        First Class Mail
Chartered Organization         Moose Lodge 2080                                              Yucca Council 573                       300‐2 Mccombs Rd Pmb9                                        Chaparral, NM 88081                                                                            First Class Mail
Chartered Organization         Moose Lodge 236                                               Westmoreland Fayette 512                P.O. Box 390                                                 Irwin, PA 15642‐0390                                                                           First Class Mail
Chartered Organization         Moose Lodge 300                                               Rainbow Council 702                     25 Springfield Ave                                           Joliet, IL 60435‐6505                                                                          First Class Mail
Chartered Organization         Moose Lodge 306                                               Midnight Sun Council 696                300 S Santa Claus Ln                                         North Pole, AK 99705‐7705                                                                      First Class Mail
Chartered Organization         Moose Lodge 371                                               National Capital Area Council 082       828 E Patrick St                                             Frederick, MD 21701‐3117                                                                       First Class Mail
Chartered Organization         Moose Lodge 42                                                North Florida Council 087               4450 Losco Rd                                                Jacksonville, FL 32257‐1404                                                                    First Class Mail
Chartered Organization         Moose Lodge 452 & 1St Christian Church                        Cimarron Council 474                    3702 1St St                                                  Woodward, OK 73802                                                                             First Class Mail
Chartered Organization         Moose Lodge 460                                               Allegheny Highlands Council 382         35 Pearl St                                                  Port Allegany, PA 16743‐1338                                                                   First Class Mail
Chartered Organization         Moose Lodge 576                                               Hoosier Trails Council 145 145          2765 N State Hwy 3                                           North Vernon, IN 47265                                                                         First Class Mail
Chartered Organization         Moose Lodge 654 Salisbury Md                                  Del Mar Va 081                          833 Snow Hill Rd                                             Salisbury, MD 21804‐1938                                                                       First Class Mail
Chartered Organization         Moose Lodge 822                                               Northern Lights Council 429             P.O. Box 1864                                                Minot, ND 58702‐1864                                                                           First Class Mail
Chartered Organization         Moose Lodge 872                                               Black Swamp Area Council 449            13 E Tiffin St                                               New Riegel, OH 44853‐9780                                                                      First Class Mail
Chartered Organization         Moose Lodge Club 356                                          Lincoln Heritage Council 205            736 Lain Ave                                                 Bowling Green, KY 42101‐4945                                                                   First Class Mail
Chartered Organization         Moose Lodge Spring Hill 521                                   Greater Tampa Bay Area 089              15214 Mariner Blvd                                           Spring Hill, FL 34609                                                                          First Class Mail
Chartered Organization         Moose River Congregational Church                             Pine Tree Council 218                   P.O. Box 135                                                 Jackman, ME 04945‐0135                                                                         First Class Mail
Chartered Organization         Mooseheart Child City & School, Inc                           Three Fires Council 127                 255 W James J Davis Dr                                       Mooseheart, IL 60539‐1025                                                                      First Class Mail
Voting Party                   Moosup United Methodist Church                                Attn: Catherine McNeill                 11 S Main St                                                 Moosup, CT 06354                                                 cathymcneill@ymail.com        Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Moosup United Methodist Church                                Attn: Catherine McNeill                 47 Hilltop Dr                                                Woodstock Valley, CT 06282                                       cathymcneill@ymail.com        Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Moosy Creek United Methodist Church 2154 Post Rd Cleveland,   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Moraga Lions Club                                             Mt Diablo‐Silverado Council 023         3920 Paseo Grande                                            Moraga, CA 94556‐1536                                                                          First Class Mail
Chartered Organization         Moraga Rotary                                                 Mt Diablo‐Silverado Council 023         P.O. Box 122                                                 Moraga, CA 94556‐0122                                                                          First Class Mail
Chartered Organization         Moraga Valley Presbyterian Church                             Mt Diablo‐Silverado Council 023         10 Moraga Valley Ln                                          Moraga, CA 94556‐1152                                                                          First Class Mail
Chartered Organization         Morale And Welfare                                            Transatlantic Council, Bsa 802          Rimburgerweg 30                                              Brunssum, 6445 Pa               Netherlands                                                    First Class Mail
Chartered Organization         Moran Prairie Ptg                                             Inland NW Council 611                   4224 E 57Th Ave                                              Spokane, WA 99223‐7895                                                                         First Class Mail
Voting Party                   Moran United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Moran Utd Methodist Church                                    Inland NW Council 611                   3601 E 65Th Ave                                              Spokane, WA 99223‐8011                                                                         First Class Mail
Chartered Organization         Moravia Park Elementary School                                Baltimore Area Council 220              6201 Frankford Ave                                           Baltimore, MD 21206‐4903                                                                       First Class Mail
Chartered Organization         Moravian Academy Lower School                                 Minsi Trails Council 502                422 Heckewelder Pl                                           Bethlehem, PA 18018‐5807                                                                       First Class Mail
Chartered Organization         Moravian Church ‐ Sturgeon Bay                                Bay‐Lakes Council 635                   323 S 5Th Ave                                                Sturgeon Bay, WI 54235‐2607                                                                    First Class Mail
Voting Party                   Moravian Church, Northern Province                            c/o Shay, Santee & Kelhart              Attn: Richard Santee Jr                                      44 E Broad St                   Bethlehem, PA 18018              rsantee@ssk‐esq.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Moravian Congregation Lititz                                  Attn: Steve Black                       8 Church Square                                              Lititz, PA 17543                                                 steve@sblackenterprise.com    Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         More Than Stitches                                            Evangeline Area 212                     350 Switzerland Rd                                           Youngsville, LA 70592‐5927                                                                     First Class Mail
Chartered Organization         Moreau Heights School PTO                                     Great Rivers Council 653                1410 Hough Park St                                           Jefferson City, MO 65101‐3628                                                                  First Class Mail
Voting Party                   Morehead United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Morehead United Methodist Church, Inc                         Attn: James J Barrett                   259 Eagle Dr                                                 Morehead, KY 40351                                               jspbarrett@outlook.com        Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Morehead United Methodist Church, Inc                         Attn: Dana C Stinson                    227 W Main St                                                Morehead, KY 40351                                               dana‐71@live.com              Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Morehead Utd Methodist Church                                 Old N State Council 070                 3214 Horse Pen Creek Rd                                      Greensboro, NC 27410‐9405                                                                      First Class Mail
Chartered Organization         Morehead Utd Methodist Church                                 Blue Grass Council 204                  227 W Main St                                                Morehead, KY 40351‐1501                                                                        First Class Mail
Chartered Organization         Moreland Utd Methodist Church                                 Flint River Council 095                 2761 Hwy 54                                                  Moreland, GA 30259‐2812                                                                        First Class Mail
Firm                           Moreli Law Firm PLLC                                          Daniella Lamberg Esq                    777 3rd Ave., 31st Fl                                        New York, NY 10017                                               dlamberg@morellilaw.com       Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Morell Studios LLC                                            420 Sunset Rd                           West Palm Beach, FL 33401‐7928                                                                                                                              First Class Mail
Chartered Organization         Morello Hills Christian Chrch                                 Mt Diablo‐Silverado Council 023         1000 Morello Hills Dr                                        Martinez, CA 94553‐7220                                                                        First Class Mail
Voting Party                   Morenci United Methodist Church                               Attn: Treasurer                         111 E Main St                                                Morenci, MI 49256                                                donagalloway@msn.com          Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Moreno Valley Firefighters                                    California Inland Empire Council 045    28000 Eucalyptus Ave                                         Moreno Valley, CA 92555‐4554                                                                   First Class Mail
Chartered Organization         More‐Skinny Used Cars                                         Rocky Mountain Council 063              2601 Kachina Dr                                              Pueblo, CO 81008‐1510                                                                          First Class Mail
Voting Party                   Moretown United Methodist Church                              Attn: Mary Murphy                       P.O. Box 516                                                 Moretown, VT 05660                                               mmuprhy917@aol.com            Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Firm                           Morgan & Morgan PA                                            Paul L. SanGiovanni                     20 North Orange Avenue, Ste 1600                             Orlando, FL 32801                                                psangi@forthepeople.com       Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Morgan County Sheriff's Dept                                  Northeast Georgia Council 101           2380 Athens Hwy                                              Madison, GA 30650‐3722                                                                         First Class Mail
Chartered Organization         Morgan Hill Fire Dept                                         Silicon Valley Monterey Bay 055         15670 Monterey St                                            Morgan Hill, CA 95037‐5431                                                                     First Class Mail
Chartered Organization         Morgan Hill Police Dept                                       Silicon Valley Monterey Bay 055         16200 Vineyard Blvd                                          Morgan Hill, CA 95037‐7164                                                                     First Class Mail
Chartered Organization         Morgan Park Baptist Church                                    Pathway To Adventure 456                11024 S Bell Ave                                             Chicago, IL 60643‐3926                                                                         First Class Mail
Chartered Organization         Morgan Scott Project                                          Great Smoky Mountain Council 557        1022 Old Deer Lodge Pike                                     Deer Lodge, TN 37726                                                                           First Class Mail
Chartered Organization         Morgan Township PTO                                           Lasalle Council 165                     299 S State Rd 49                                            Valparaiso, IN 46383‐7976                                                                      First Class Mail
Chartered Organization         Morgan Utd Methodist Church                                   Greater Alabama Council 001             2701 Morgan Rd                                               Bessemer, AL 35022‐5609                                                                        First Class Mail
Voting Party                   Morgan‐Bradford United Methodist Church                       Attn: Rev Harlan D Gillespie            2227 E Highview Dr                                           Des Moines, IA 50320                                             harlan.gillespie2@gmail.com   Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Morgan‐Bradford United Methodist Church                       Attn: Robert Schriever                  P.O. Box 84                                                  311 Main                        Bradford, IA 50041               bschriever@hotmail.com        Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Morganfield First United Methodist Church                     Attn: Cindy Loxley                      213 Morgan St.                                               Morganfield, KY 42437                                            morganfieldumc@gmail.com      Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Morganfield Utd Methodist Church                              Lincoln Heritage Council 205            P.O. Box 308                                                 Morganfield, KY 42437‐0308                                                                     First Class Mail
Chartered Organization         Morganton Dept Of Public Safety                               Piedmont Council 420                    304 College St                                               Morganton, NC 28655                                                                            First Class Mail
Voting Party                   Morgantown First United Methodist Church, Inc                 Attn: Chris Hughson                     P.O. Box 272                                                 Morgantown, KY 42261                                             fd42261@bellsouth.net         Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Morgantown UMC                                                Attn: Treasurer                         20 E Washington St                                           Morgantown, IN 46160                                             ann.spahr@inumc.org           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Morgantown Utd Methodist Church                               Hoosier Trails Council 145 145          P.O. Box 226                                                 Morgantown, IN 46160‐0226                                                                      First Class Mail
Voting Party                   Morganville                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Morganville Utd Methodist Church                              Monmouth Council, Bsa 347               215 Conover Rd                                               Morganville, NJ 07751‐4425                                                                     First Class Mail
Voting Party                   Morin, Alfred D                                               Address Redacted                                                                                                                                                      Email Address Redacted        Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Moritt Hock & Hamroff LLO                                     Attn: Theresa A Driscoll                400 Garden City Plaza                                        Garden City, NY 11530                                            tdriscoll@moritthock.com      Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Moritt Hock & Hamroff LLP                                     Attn: Theresa A Driscoll                400 Garden City Plaza                                        Garden City, NY 11530                                            tdriscoll@moritthock.com      Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Moritt Hock & Hamroff LLP                                     Attn: Theresa A Driscoll                400 Garden City Plz                                          Garden City, NY 11530                                            tdriscoll@moritthock.com      Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Moritt Hock & Hamroff LLP                                     Attn: Theresa A Driscoll                400 Garden City Plz                                          Garden City, NY 11530                                                                          First Class Mail
Voting Party                   Moritt Hock & Hamroff, LLP                                    Attn: Theresa A Driscoll                400 Garden City Plz                                          Garden City, NY 11530                                            tdriscoll@moritthock.com      Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Moritz Embroidery Work Inc                                    21 N Courtland St                       East Stroudsburg, PA 18301‐2101                                                                                                                             First Class Mail
Chartered Organization         Morley American Legion Knox‐Helms                             President Gerald R Ford 781             2560 Northland Dr                                            Morley, MI 49336‐9573                                                                          First Class Mail
Chartered Organization         Morley And Assoc Inc                                          Buffalo Trace 156                       4800 Rosebud Ln                                              Newburgh, IN 47630‐9351                                                                        First Class Mail
Chartered Organization         Morning Star                                                  The Spirit Of Adventure 227             59 Nichols St                                                Chelsea, MA 02150‐1225                                                                         First Class Mail
Chartered Organization         Morning Star Baptist Church                                   Heart Of America Council 307            2411 E 27Th St                                               Kansas City, MO 64127‐3933                                                                     First Class Mail
Chartered Organization         Morning Star Baptist Church                                   Heart Of Virginia Council 602           3509 Midlothian Tpke                                         Richmond, VA 23224‐1843                                                                        First Class Mail
Voting Party                   Morning Star Church                                           Attn: Patt Fry                          1600 Feise Rd                                                Dardenne Prairie, MO 63368                                       patti.fry@mscwired.org        Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Morning Star Community Center                                 Heart Of America Council 307            2525 E 27Th St                                               Kansas City, MO 64127‐3900                                                                     First Class Mail
Chartered Organization         Morning Star Cowboy Church                                    Sam Houston Area Council 576            1566 Loop 497                                                Kenney, TX 77452                                                                               First Class Mail
Chartered Organization         Morning Star Lutheran Church                                  Mecklenburg County Council 415          12509 Idlewild Rd                                            Matthews, NC 28105‐0840                                                                        First Class Mail
Chartered Organization         Morning Star Missionary Baptist Church                        Norwela Council 215                     5340 Jewella Ave                                             Shreveport, LA 71109‐7430                                                                      First Class Mail
Voting Party                   Morning Star UMC                                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Morning Star United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com             Email
                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 269 of 442
                                                                                 Case 20-10343-LSS                                                   Doc 8171                                   Filed 01/06/22                                                   Page 285 of 457
                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                    Service List
                                                                                                                                                                             Served as set forth below

        Description                                                      Name                                                                                                    Address                                                                                                            Email              Method of Service
Voting Party                   Morning Star United Methodist Church                          36 Second St                                      Lion, NY 13357                                                                                                              busybet1@twcny.rr.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morning Star Utd Methodist Church                             Greater St Louis Area Council 312                 1600 Feise Rd                                           O Fallon, MO 63368‐7345                                                                              First Class Mail
Chartered Organization         Morningside Baptist Church                                    Palmetto Council 549                              897 S Pine St                                           Spartanburg, SC 29302‐3308                                                                           First Class Mail
Chartered Organization         Morningside Elementary School ‐ Gifw                          Longhorn Council 662                              2601 Evans Ave                                          Fort Worth, TX 76104‐6817                                                                            First Class Mail
Chartered Organization         Morningside Parents And Teachers                              Montana Council 315                               4119 7Th Ave N                                          Great Falls, MT 59405‐1119                                                                           First Class Mail
Chartered Organization         Morningside Presbyterian Church                               Atlanta Area Council 092                          1411 N Morningside Dr Ne                                Atlanta, GA 30306‐3239                                                                               First Class Mail
Chartered Organization         Morningside Presbyterian Church                               Orange County Council 039                         1201 Dorothy Ln                                         Fullerton, CA 92831‐2813                                                                             First Class Mail
Voting Party                   Morningside UMC                                               c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morningside Vfw Post 3945                                     Laurel Highlands Council 527                      1820 Morningside Ave                                    Pittsburgh, PA 15206‐1070                                                                            First Class Mail
Chartered Organization         Morningstar Lodge 159                                         Mid Iowa Council 177                              120 N Wilson Ave                                        Jefferson, IA 50129‐2116                                                                             First Class Mail
Voting Party                   Morningstar United Methodist Church                           Attn: Rev Tiffany Black                           3714 Fort Jesse Rd                                      Normal, IL 61761                                                    pventer30@gmail.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morrell Club                                                  Sioux Council 733                                 1400 N Weber Ave                                        Sioux Falls, SD 57103‐0155                                                                           First Class Mail
Voting Party                   Morrice United Methodist Church                               Attn: Kathaleen Jarrad                            204 E Main St                                           P.O. Box 301                      Morrice, MI 48857                 kathaleen.jarrad@yahoo.com       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Morrice United Methodist Church                               Attn: Bridget A Mortimore                         947 E Britton Rd                                        Morrice, MI 48857                                                   jmort5@TDS.net                   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morrill Public Schools                                        Longs Peak Council 062                            411 E Hamilton St                                       Morrill, NE 69358‐5014                                                                               First Class Mail
Voting Party                   Morrilton First United Methodist Church                       Attn: Katherine Pearce                            201 S Chestnut St                                       Morrilton, AR 72110                                                 lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morris Chapel Methodist Men                                   Old Hickory Council 427                           P.O. Box 57                                             Walkertown, NC 27051‐0057                                                                            First Class Mail
Voting Party                   Morris Chapel UMC                                             c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morris Congregational Church                                  Connecticut Rivers Council, Bsa 066               P.O. Box 67                                             Morris, CT 06763‐0067                                                                                First Class Mail
Chartered Organization         Morris County Sheriffs Office                                 Patriots Path Council 358                         P.O. Box 900                                            Morristown, NJ 07963‐0900                                                                            First Class Mail
Chartered Organization         Morris Fire Co                                                Connecticut Rivers Council, Bsa 066               15 South St                                             Morris, CT 06763‐1811                                                                                First Class Mail
Voting Party                   Morris Memorial United Methodist Church                       Attn: Joshua McDaniel                             302 S Weatherford St                                    Chico, TX 76431                                                     morrismemorialumc@gmail.com      Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morris Memorial Utd Methodist Church                          Buckskin 617                                      4615 Maccorkle Ave Se                                   Charleston, WV 25304‐1849                                                                            First Class Mail
Chartered Organization         Morris Quilting                                               Utah National Parks 591                           559 W 100 N                                             Payson, UT 84651‐2003                                                                                First Class Mail
Chartered Organization         Morris Rotary Club                                            Leatherstocking 400                               P.O. Box 16                                             Morris, NY 13808                                                                                     First Class Mail
Chartered Organization         Morris Rotary Club                                            Leatherstocking 400                               P.O. Box 414                                            Morris, NY 13808‐0414                                                                                First Class Mail
Chartered Organization         Morris Upchurch Middle                                        Caddo Area Council 584                            P.O. Box 128                                            Queen City, TX 75572‐0128                                                                            First Class Mail
Chartered Organization         Morris Upchurch Middle School                                 Caddo Area Council 584                            P.O. Box 128                                            Queen City, TX 75572‐0128                                                                            First Class Mail
Firm                           Morris, Cray, Andrews, Talmadge & Driggers, LLC               Joseph Daniel ("Dan") Talmadge, Jr                3334 Ross Clark Circle                                  Dothan, AL 36303                                                    dtalmadge@mcatlaw.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Morris: First United Methodist Church                         118 W Jackson St                                  Morris, IL 60450                                                                                                            robert@morrisumc.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Morrisette Paper Company Inc                                  P.O. Box 890982                                   Charlotte, NC 28289‐0982                                                                                                                                     First Class Mail
Chartered Organization         Morrison Elementary School PTO                                Simon Kenton Council 441                          793 W Union St                                          Athens, OH 45701‐9410                                                                                First Class Mail
Voting Party                   Morrison Heights Baptist Church                               Attn: William Curtis Allen Jr                     300 Hampstead Blvd                                      Clinton, MS 39056                                                   tim.anzenberger@arlaw.com        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Morrison Heights Baptist Church                               Attn: William Curtis Allen, Jr                    300 Hampstead Blvd                                      Clinton, MS 39056                                                   ballen@morrisonheights.org       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morrison Hill Christian Church                                Great Smoky Mountain Council 557                  106 Morrison Hill Cir                                   Kingston, TN 37763‐2961                                                                              First Class Mail
Voting Party                   Morrison United Methodist                                     Attn: Kenneth Gooley                              200 W Lincoln Way                                       Morrison, IL 61270                                                  office@marrumc.org               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Morrison United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morrison Utd Methodist Church                                 Central Florida Council 083                       1005 W Main St                                          Leesburg, FL 34748‐4924                                                                              First Class Mail
Chartered Organization         Morristown Lions Club                                         Crossroads Of America 160                         P.O. Box 177                                            Morristown, IN 46161‐0177                                                                            First Class Mail
Chartered Organization         Morristown Neighborhood House                                 Patriots Path Council 358                         12 Flagler St                                           Morristown, NJ 07960‐3913                                                                            First Class Mail
Chartered Organization         Morristown Police Dept                                        Great Smoky Mountain Council 557                  P.O. Box 1283                                           Morristown, TN 37816‐1283                                                                            First Class Mail
Voting Party                   Morristown United Methodist                                   c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morrisville Presbyterian Church                               Washington Crossing Council 777                   771 N Pennsylvania Ave                                  Yardley, PA 19067‐2019                                                                               First Class Mail
Voting Party                   Morrisville UMC                                               c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Morrisville United Methodist Church                           Attn: George R Duthie                             501 W Maple Ave                                         Morrisville, PA 19067                                               mumc19067@gmail.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morrisville Utd Methodist Church                              National Capital Area Council 082                 4432 Morrisville Rd                                     Bealeton, VA 22712‐7348                                                                              First Class Mail
Chartered Organization         Morro Bay Police Dept                                         Los Padres Council 053                            850 Morro Bay Blvd                                      Morro Bay, CA 93442‐2332                                                                             First Class Mail
Voting Party                   Morrow First United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morrow First Utd Methodist Church                             Atlanta Area Council 092                          5985 Jonesboro Rd                                       Morrow, GA 30260‐1118                                                                                First Class Mail
Chartered Organization         Morrow Memorial Methodist Church                              Northern New Jersey Council, Bsa 333              600 Ridgewood Rd                                        Maplewood, NJ 07040‐2161                                                                             First Class Mail
Voting Party                   Morrow Memorial UMC ‐ Maplewood                               c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morrow Presbyterian Church                                    Atlanta Area Council 092                          6171 Huie Dr                                            Morrow, GA 30260‐1203                                                                                First Class Mail
Voting Party                   Morrow United Methodist Church                                Attn: Robert Hof                                  1348 E Turtlecreek Union Rd                             Lebanon, OH 45036                                                   bob_hof@yahoo.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Morrow United Methodist Church                                Attn: Trustee, Morrow United Methodist Church     510 Welch Rd                                            Morrow, OH 45152                                                    bob_hof@yahoo.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morse Hill Outdoor Education Center Inc                       Western Massachusetts Council 234                 65 Wentworth Manor Dr                                   Amherst, MA 01002‐2947                                                                               First Class Mail
Chartered Organization         Mortlake Fire Co Inc                                          Connecticut Rivers Council, Bsa 066               P.O. Box 301                                            Brooklyn, CT 06234‐0301                                                                              First Class Mail
Voting Party                   Morton First United Methodist                                 P.O. Box 519                                      29 2nd St                                               Morton, MS 39117                                                    mortonumc@att.net                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morton Grove Police Dept                                      Pathway To Adventure 456                          6101 Capulina Ave                                       Morton Grove, IL 60053‐2902                                                                          First Class Mail
Voting Party                   Morton United Methodist Church                                Attn: Chuck Birchenough, Treasurer                420 N Tennessee Ave                                     Morton, IL 61550                                                    drlindemann1@gmail.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Morton Utd Methodist Church‐Mens Club                         W D Boyce 138                                     420 N Tennessee Ave                                     Morton, IL 61550‐9706                                                                                First Class Mail
Chartered Organization         Morven Elementary School                                      Central N Carolina Council 416                    6715 Us Hwy 52 S                                        Morven, NC 28119‐8303                                                                                First Class Mail
Chartered Organization         Morven Elementary School PTA                                  Central N Carolina Council 416                    6715 Us Hwy 52 S                                        Morven, NC 28119‐8303                                                                                First Class Mail
Chartered Organization         Mosaic                                                        Mid Iowa Council 177                              245 E Grace Ave                                         Chariton, IA 50049‐2335                                                                              First Class Mail
Chartered Organization         Mosaic                                                        Overland Trails 322                               2846 Old Fair Rd                                        Grand Island, NE 68803‐5222                                                                          First Class Mail
Chartered Organization         Mosaic                                                        Mid Iowa Council 177                              730 S Main St                                           Osceola, IA 50213‐1641                                                                               First Class Mail
Chartered Organization         Mosaic Church                                                 Georgia‐Carolina 093                              P.O. Box 2402                                           Evans, GA 30809‐2402                                                                                 First Class Mail
Chartered Organization         Mosaic Elementary School PTO                                  Greater St Louis Area Council 312                 3701 Will Ave                                           St Louis, MO 63125‐4429                                                                              First Class Mail
Voting Party                   Mosaic United Methodist Church                                Attn: Tina R Patterson                            8008 St Andrews Church Rd                               Louisville, KY 40258                                                revpatterson.mosaic@gmail.com    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Moscow Church Of The Nazarene                                 Inland NW Council 611                             1400 E 7Th St                                           Moscow, ID 83843‐3770                                                                                First Class Mail
Voting Party                   Moscow First United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Moscow United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Moscow United Methodist Church                                304 Main St                                       Moscow, KS 67952                                                                                                                                             First Class Mail
Voting Party                   Moscow United Methodist Church (00030356)                     c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Moses Lake Alliance Church                                    Grand Columbia Council 614                        1100 N Grape Dr                                         Moses Lake, WA 98837‐1424                                                                            First Class Mail
Chartered Organization         Mosher Jewelers, Inc                                          Water And Woods Council 782                       336 Huron Ave                                           Port Huron, MI 48060‐3824                                                                            First Class Mail
Voting Party                   Mosinee United Methodist Church                               Attn: Pastor Gail Ray                             607 13th St                                             Mosinee, WI 54455                                                   pastor@mosineeumc.org            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Mosinee United Methodist Church                               Attn: Leslie Brown                                607 13th St                                             Mosinee, WI 54455                                                   finance@mosineeumc.org           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Moss Bluff Church Of Christ                                   North Florida Council 087                         17310 Se 95Th St Rd                                     Ocklawaha, FL 32179‐4501                                                                             First Class Mail
Chartered Organization         Moss Bluff Church Of Christ                                   North Florida Council 087                         17515 Se 95Th St Rd                                     Ocklawaha, FL 32179‐4509                                                                             First Class Mail
Voting Party                   Moss Bluff United Methodist Church                            Attn: Laura Zettlemoyer                           735 Sam Houston Jones Pkwy                              Lake Charles, LA 70611                                              finance@mossbluffumc.org         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Moss Point Rotary Club                                        Pine Burr Area Council 304                        P.O. Box 487                                            Escatawpa, MS 39552‐0487                                                                             First Class Mail
Chartered Organization         Moss Point Rotary Club                                        Pine Burr Area Council 304                        3806 Bellview Ave                                       Moss Point, MS 39563‐2708                                                                            First Class Mail
Voting Party                   Mossville UMC                                                 Attn: Pastor                                      1015 E Mossville Rd                                     Peoria, IL 61615                                                    mossvilleumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Mossville Utd Methodist Church                                W D Boyce 138                                     1015 E Mossville Rd                                     Peoria, IL 61615‐9799                                                                                First Class Mail
Voting Party                   Mossy Creek United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Most Blessed Sacrament Catholic Church                        Longhorn Council 662                              2100 N Davis Dr                                         Arlington, TX 76012‐1803                                                                             First Class Mail
Chartered Organization         Most Blessed Sacrament Catholic Church                        Istrouma Area Council 211                         15615 Jefferson Hwy                                     Baton Rouge, LA 70817‐6311                                                                           First Class Mail
Chartered Organization         Most Blessed Sacrament RC Ch                                  Hawk Mountain Council 528                         610 Pine St                                             Bally, PA 19503‐9651                                                                                 First Class Mail
Voting Party                   Most Holy name of Jesus Parish                                Attn: Andre L Kydala                              54 Old Hwy 22                                           Clinton, NJ 08809                                                                                    First Class Mail
Voting Party                   Most Holy Name of Jesus Roman Catholic Church, New Orleans    Attn: Susan Zeringue                              7887 Walmsley Ave                                       New Orleans, LA 70125                                               szeringue@arch‐no.org            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Most Holy Name of Jesus Roman Catholic Church, New Orleans    Attn: Susan Zeringue, General Counsel             7887 Walmsley Ave                                       New Orleans, LA 70125                                               szeringue@arch‐no.org            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Most Holy Redeemer Parish                                     Attn: Andre L Kydala                              54 Old Hwy 22                                           Clinton, NJ 08809                                                                                    First Class Mail
Chartered Organization         Most Holy Rosary Church                                       National Capital Area Council 082                 11704 Duley Station Rd                                  Upper Marlboro, MD 20772‐4926                                                                        First Class Mail
Chartered Organization         Most Holy Trinity Catholic Church                             Yucca Council 573                                 10000 Pheasant Rd                                       El Paso, TX 79924‐4265                                                                               First Class Mail
Chartered Organization         Most Holy Trinity Church                                      Suffolk County Council Inc 404                    79 Buell Ln                                             East Hampton, NY 11937‐3277                                                                          First Class Mail
Voting Party                   Most Holy Trinity Parish                                      c/o Cullen and Dykman LLP                         Attn: Matthew G Roseman                                 100 Quentin Roosevelt Blvd        Garden City, NY 11530             MRoseman@cullenllp.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Most Precious Blood Catholic Church                           Denver Area Council 061                           2250 S Harrison St                                      Denver, CO 80210‐4929                                                                                First Class Mail
Chartered Organization         Most Precious Blood Catholic Church                           Central Florida Council 083                       113 Lockwood Blvd                                       Oviedo, FL 32765‐5975                                                                                First Class Mail
Chartered Organization         Most Precious Blood Catholic School                           South Texas Council 577                           3502 Saratoga Blvd                                      Corpus Christi, TX 78415‐5807                                                                        First Class Mail
Chartered Organization         Most Precious Blood School                                    Hudson Valley Council 374                         180 Ulster Ave                                          Walden, NY 12586‐1060                                                                                First Class Mail
Chartered Organization         Most Pure Heart Of Mary Catholic Church                       Jayhawk Area Council 197                          1800 Sw Stone Ave                                       Topeka, KS 66604‐3351                                                                                First Class Mail
Chartered Organization         Most Sacred Heart Catholic Church                             Greater St Louis Area Council 312                 350 E 4Th St                                            Eureka, MO 63025‐1949                                                                                First Class Mail
Voting Party                   Most Sorrowful Mother Of God Catholic Church, Vevay, Inc      Attn: John S Mercer                               1400 N Meridian St                                      Indianapolis, IN 46202                                              jsmercer@indylegal.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Mother Goose Christian School                                 Andrew Jackson Council 303                        6543 Watkins Dr                                         Jackson, MS 39213‐8207                                                                               First Class Mail
Chartered Organization         Mother Lode Gun Club                                          Greater Yosemite Council 059                      P.O. Box 1759                                           Jamestown, CA 95327‐1759                                                                             First Class Mail
Chartered Organization         Mother Of Christ Catholic Church                              South Florida Council 084                         14141 Sw 26Th St                                        Miami, FL 33175‐7085                                                                                 First Class Mail
Chartered Organization         Mother Of Divine Providence Church                            Cradle Of Liberty Council 525                     333 Allendale Rd                                        King Of Prussia, PA 19406‐1640                                                                       First Class Mail
Chartered Organization         Mother Of God School                                          National Capital Area Council 082                 20501 Goshen Rd                                         Gaithersburg, MD 20879‐1602                                                                          First Class Mail
Chartered Organization         Mother Of Good Counsel ‐ H N S                                Three Harbors Council 636                         6924 W Lisbon Ave                                       Milwaukee, WI 53210‐1259                                                                             First Class Mail
Chartered Organization         Mother Of Mercy                                               Central Minnesota 296                             P.O. Box 676                                            Albany, MN 56307‐0676                                                                                First Class Mail
Chartered Organization         Mother Of Our Redeemer Catholic Church                        South Florida Council 084                         8445 Nw 186Th St                                        Hialeah, FL 33015‐2556                                                                               First Class Mail
Chartered Organization         Mother Of Our Redeemer Catholic School                        South Florida Council 084                         8445 Nw 186Th St                                        Hialeah, FL 33015‐2556                                                                               First Class Mail
Voting Party                   Mother of Seton School                                        Attn: Matthew W Oakey                             218 N Charles St, Ste 400                               Baltimore, MD 21201                                                 moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Mother Of Sorrows Roman Catholic Church                       Westmoreland Fayette 512                          4202 Old William Penn Hwy                               Murrysville, PA 15668‐1933                                                                           First Class Mail
Voting Party                   Mother Seton School Inc                                       c/o Gallagher Evelius & Jones LLP                 Attn: Matthew W Oakey                                   218 N Charles St, Ste 400         Baltimore, MD 21201               moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Mother Teresa Catholic Elementary                             Dan Beard Council, Bsa 438                        7197 Mother Teresa Ln                                   Liberty Township, OH 45044‐8867                                                                      First Class Mail
Chartered Organization         Motivate Our Minds                                            Crossroads Of America 160                         2023 E Highland Ave                                     Muncie, IN 47303‐3229                                                                                First Class Mail
Chartered Organization         Motivating Youth Foundation                                   Central Georgia Council 096                       905 Main St                                             Macon, GA 31217‐4048                                                                                 First Class Mail
Voting Party                   Moulton First Untied Methodist Church                         Attn: Matt Reed                                   14595 Market St                                         Moulton, AL 35650                                                   angie@moultonfirstumc.org        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Moultonboro Lions Club                                        Daniel Webster Council, Bsa 330                   P.O. Box 215                                            Moultonboro, NH 03254‐0215                                                                           First Class Mail
Voting Party                   Moultonborough United Methodist Church                        Attn: Enid Burrows & Charles Fritz                1018 Whittier Hwy                                       Moultonborough, NH 03254                                            office@moultonboroumc.org        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Moultonville United Methodist Church                          Attn: Carol Anne Ames                             P.O. Box 33                                             Freedom, NH 03836                                                                                    First Class Mail
Chartered Organization         Mound Chapel Church Of God                                    Greater St Louis Area Council 312                 109 W Manchester Dr                                     Decatur, IL 62526‐1815                                                                               First Class Mail
Chartered Organization         Mound City Christian Church                                   Heart Of America Council 307                      430 Spruce St                                           Mound City, KS 66056‐4006                                                                            First Class Mail
Chartered Organization         Mound Elementary School                                       Lake Erie Council 440                             5935 Ackley Rd                                          Cleveland, OH 44105‐1162                                                                             First Class Mail
Chartered Organization         Mound Park Elementary School PTO                              Great Lakes Fsc 272                               5336 Toepfer Rd                                         Warren, MI 48091‐2857                                                                                First Class Mail
Chartered Organization         Mounds View Lions Club                                        Abiding Savior Lutheran                           5086 Eastwood Rd                                        Mounds View, MN 55112‐4805                                                                           First Class Mail
Chartered Organization         Moundville Methodist Church                                   Black Warrior Council 006                         P.O. Box 35                                             Moundville, AL 35474‐0035                                                                            First Class Mail
Chartered Organization         Mount Airy Police Dept                                        Old Hickory Council 427                           150 Rockford St                                         Mount Airy, NC 27030‐4760                                                                            First Class Mail
Chartered Organization         Mount Allamuchy Scout Reservation                             Patriots Path Council 358                         750 Waterloo Rd                                         Stanhope, NJ 07874‐3468                                                                              First Class Mail
Chartered Organization         Mount Ararat Activity Center                                  Laurel Highlands Council 527                      271 Paulson Ave                                         Pittsburgh, PA 15206‐3270                                                                            First Class Mail
Voting Party                   Mount Baker Council                                           Attn: Kevin D Nichols                             1715 100th Pl SE Ste B                                  Everett, WA 98208                                                   Kevin.nichols@scouting.org       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Mount Bethel ‐ Hickory                                        c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Mount Bethel United Methodist Church                          Attn: Treasurer, Mt Bethel UMC                    P.O. Box 27                                             Bahama, NC 27503                                                    secretary@mountbethelumc.com     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Mount Calvary American Legion                                 Bay‐Lakes Council 635                             107 Fond Du Lac St                                      Mount Calvary, WI 53057                                                                              First Class Mail
Chartered Organization         Mount Calvary Lutheran Church                                 French Creek Council 532                          1603 W 32Nd St                                          Erie, PA 16508‐2203                                                                                  First Class Mail
Chartered Organization         Mount Calvary Lutheran Church                                 Northern Star Council 250                         301 County Rd 19                                        Excelsior, MN 55331‐3050                                                                             First Class Mail
Chartered Organization         Mount Calvary Lutheran Church                                 Mid‐America Council 326                           5529 Leavenworth St                                     Omaha, NE 68106‐1349                                                                                 First Class Mail
Voting Party                   Mount Calvary Lutheran Church of Lake Arrowhead, California   Attn: Jeffrey Jay Zamora                          27415 School Rd                                         P.O. Box 250                      Lake Arrowhead, CA 92352          treasurer@mclutheran.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Mount Calvary United Methodist Church                         Attn: Rev Lori Hartman                            49‐55 Edgecombe Ave                                     New York, NY 10030                                                  jgardner@bpslaw.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Mount Calvery Baptist Church                                  Mobile Area Council‐Bsa 004                       505 Mt Calvary Ave                                      Prichard, AL 36610‐2063                                                                              First Class Mail
Voting Party                   Mount Camel UMC (Reidsville)                                  c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Mount Carmel Baptist Church                                   Old Hickory Council 427                           123 Mt Carmel Church Rd                                 Mount Airy, NC 27030‐7785                                                                            First Class Mail
Voting Party                   Mount Carmel Baptist Church                                   Attn: Kyle Wilson/Wright, Lindsey, Jennings LLP   200 W Capitol Ave Ste 2300                              Little Rock, AR 72201                                               kwilson@wlj.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                    Page 270 of 442
                                                                                   Case 20-10343-LSS                                      Doc 8171                                     Filed 01/06/22                                                   Page 286 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                       Name                                                                                          Address                                                                                                             Email                    Method of Service
Voting Party                   Mount Carmel Baptist Church                                   163 Mount Carmel Rd                     Cabot, AR 72023                                                                                                                                                      First Class Mail
Chartered Organization         Mount Carmel Christian Church                                 Dan Beard Council, Bsa 438              4110 Bach Buxton Rd                                      Batavia, OH 45103‐2873                                                                                      First Class Mail
Chartered Organization         Mount Carmel Church Of The Nazarene                           San Diego Imperial Council 049          10060 Carmel Mountain Rd                                 San Diego, CA 92129‐3228                                                                                    First Class Mail
Chartered Organization         Mount Carmel Elks Lodge 356                                   Susquehanna Council 533                 128 N Oak St                                             Mount Carmel, PA 17851‐1460                                                                                 First Class Mail
Voting Party                   Mount Carmel UMC Reidsville                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Carmel United Methodist 1933 Mt Carmel Rd Hampton, GA   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Carmel Utd Methodist Church                             Erie Shores Council 460                 5480 County Rd 177                                       Bellevue, OH 44811‐9475                                                                                     First Class Mail
Chartered Organization         Mount Carmel Utd Methodist Church                             Tuscarora Council 424                   P.O. Box 10                                              Pikeville, NC 27863‐0010                                                                                    First Class Mail
Chartered Organization         Mount Carmel Utd Methodist Church                             Ozark Trails Council 306                1001 N National Ave                                      Springfield, MO 65802‐3612                                                                                  First Class Mail
Voting Party                   Mount Carmel: First United Methodist Church                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   Erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Carroll Lions Club                                      Blackhawk Area 660                      8044 Oakville Rd                                         Mount Carroll, IL 61053‐9221                                                                                First Class Mail
Voting Party                   Mount Carroll UMC                                             Attn: Kimberly D Chapman                216 S Main St                                            Mount Carroll, IL 61053                                             kchap717@gmail.com                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Charmel Church                                          Puerto Rico Council 661                 P.O. Box 695                                             Arroyo, PR 00714‐0695                                                                                       First Class Mail
Chartered Organization         Mount Clemens Elks 2124                                       Great Lakes Fsc 272                     P.O. Box 232                                             Mount Clemens, MI 48046‐0232                                                                                First Class Mail
Chartered Organization         Mount Clemens Rotary                                          Great Lakes Fsc 272                     P.O. Box 621                                             Mount Clemens, MI 48046‐0621                                                                                First Class Mail
Chartered Organization         Mount Crawford Ruritan Club                                   Stonewall Jackson Council 763           P.O. Box 241                                             Mount Crawford, VA 22841‐0241                                                                               First Class Mail
Chartered Organization         Mount Cross Evangelical Lutheran Church                       Pacific Harbors Council, Bsa 612        8902 40Th St W                                           University Place, WA 98466‐1544                                                                             First Class Mail
Voting Party                   Mount Cross Lutheran Church                                   Attn: Craig Blois                       102 Camino Esplendido                                    Camarillo, CA 93010                                                 president@mountcross.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Desert Fire Dept                                        Katahdin Area Council 216               P.O. Box 248                                             Northeast Harbor, ME 04662‐0248                                                                             First Class Mail
Voting Party                   Mount Eagle Christian Retreat Center                          Attn: Teresa Bolin                      903 Beal Rd                                              Clinton, AR 72031                                                   teresa@mpcpaint.com                     Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Eagle Christian Retreat Center                          c/o Friday, Eldredge & Clark LLP        Attn: Lindsey Emerson Raines                             400 W Capitol Ave Ste 2000        Little Rock, AR 72201             lraines@fridayfirm.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Ephraim Utd Methodist Church                            Muskingum Valley Council, Bsa 467       51037 Mud Run Rd                                         Sarahsville, OH 43779                                                                                       First Class Mail
Chartered Organization         Mount Fagan Ward ‐ LDS South Stake                            Catalina Council 011                    101 N Westview Dr                                        Vail, AZ 85641‐8833                                                                                         First Class Mail
Chartered Organization         Mount Gerizim Mbc Missionary Baptist Ch                       Mobile Area Council‐Bsa 004             1705 E Dog River Dr                                      Mobile, AL 36605‐2642                                                                                       First Class Mail
Chartered Organization         Mount Gilead Baptist Church                                   Occoneechee 421                         6248 Cliffdale Rd                                        Fayetteville, NC 28314‐2127                                                                                 First Class Mail
Chartered Organization         Mount Greenwood Evangelical Lutheran Ch                       Pathway To Adventure 456                10911 S Trumbull Ave                                     Chicago, IL 60655‐3323                                                                                      First Class Mail
Voting Party                   Mount Greenwood UMC                                           Attn: Barbara Lee Good                  9358 S Homan Ave                                         Evergreen Park, IL 60805                                            fumcepoffice@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Hebron United Methodist Church                          Attn: Robert D Cline                    111 Mossborough Dr                                       Lexington, SC 29073                                                 rcline2@hotmail.com                     Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Hebron United Methodist Church                          Attn: Robert D Cline                    3050 Leaphart Rd                                         West Columbia, SC 29169                                             rcline2@hotmail.com                     Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Hermon UMC Lenoir                                       Address Redacted                                                                                                                                                     Email Address Redacted                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Hermon United Methodist Church                          Attn: Treasurer, Mt Hermon UMC          4178 Mt Hermon Rock Creek Rd                             Graham, NC 27253                                                    ul711ron@yahoo.com                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Hollis Lodge Of Free Masons                             Mayflower Council 251                   657 Washington St                                        Holliston, MA 01746                                                                                         First Class Mail
Voting Party                   Mount Holly Springs UMC (05420)                               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Holly United Methodist Church                           Attn: J Wayne Smith                     1696 Mt Holly Rd.                                        Rock Hill, SC 29730                                                 jwaynesmithjr@gmail.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Holly United Methodist Church                           Attn: Kay G Crowe                       1613 Main St                                             Columbia, SC 29201                                                  chancellor@umcsc.org                    Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Holly Utd Methodist Church                              Palmetto Council 549                    1996 Mt Holly Rd                                         Rock Hill, SC 29730‐6535                                                                                    First Class Mail
Chartered Organization         Mount Hope Presbyterian Church                                Water And Woods Council 782             517 W Jolly Rd                                           Lansing, MI 48910‐6609                                                                                      First Class Mail
Chartered Organization         Mount Hope Presbyterian Gardner                               Water And Woods Council 782             301 Jolly Rd                                             Lansing, MI 48910                                                                                           First Class Mail
Voting Party                   Mount Hope UMC Sunderland                                     Attn: Laura Ford                        P. O. Box 125                                            Sunderland, MD 20689                                                Pastor1nona@outlook.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Hope United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Hope United Methodist Church                            105 S King Mount                        Hope, KS 67108                                                                                                                                                       First Class Mail
Chartered Organization         Mount Hope Utd Methodist Church                               Cradle Of Liberty Council 525           4020 Concord Rd                                          Aston, PA 19014‐3604                                                                                        First Class Mail
Chartered Organization         Mount Horeb Lions Club                                        Glaciers Edge Council 620               113 Lauryn Ct                                            Mount Horeb, WI 53572‐3333                                                                                  First Class Mail
Voting Party                   Mount Horeb UMC                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Jewett Rotary Club                                      Allegheny Highlands Council 382         P.O. Box 385                                             Mount Jewett, PA 16740‐0385                                                                                 First Class Mail
Voting Party                   Mount Jewett United Methodist Church (88462)                  c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Joy Rotary Club                                         Pennsylvania Dutch Council 524          P.O. Box 275                                             Mount Joy, PA 17552‐0275                                                                                    First Class Mail
Chartered Organization         Mount Laurel Fraternal Order Of Police                        Garden State Council 690                P.O. Box 132                                             Mount Laurel, NJ 08054‐0132                                                                                 First Class Mail
Chartered Organization         Mount Lebanon Fire Dept                                       Laurel Highlands Council 527            555 Washington Rd                                        Mt Lebanon, PA 15228‐2813                                                                                   First Class Mail
Voting Party                   Mount Lebanon United Methodist Church (101308)                c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Moriah Baptist Church                                   Chickasaw Council 558                   2634 Carnes Ave                                          Memphis, TN 38114‐2554                                                                                      First Class Mail
Chartered Organization         Mount Moriah Baptist Church                                   Coastal Carolina Council 550            7396 Rivers Ave                                          North Charleston, SC 29406‐4613                                                                             First Class Mail
Chartered Organization         Mount Moriah Baptist Church                                   Palmetto Council 549                    P.O. Box 6241                                            Spartanburg, SC 29304‐6241                                                                                  First Class Mail
Chartered Organization         Mount Moriah Missionary Baptist Church                        Coastal Carolina Council 550            7396 Rivers Ave                                          North Charleston, SC 29406‐4613                                                                             First Class Mail
Voting Party                   Mount Morris: Disciples UMC                                   102 Maple Ave                           Mount Morris, IL 61054                                                                                                       revjuliebunt@gmail.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Nebo Presbyterian Church                                Laurel Highlands Council 527            1828 Roosevelt Rd                                        Sewickley, PA 15143‐9532                                                                                    First Class Mail
Voting Party                   Mount Nebo UMC                                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Nebo UMC 3685 Nebo Road Dallas, GA 30157                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Nebo Utd Presby Church                                  Laurel Highlands Council 527            1828 Roosevelt Rd                                        Sewickley, PA 15143‐9532                                                                                    First Class Mail
Chartered Organization         Mount Norris Scout Res Alumni Assoc                           Green Mountain 592                      113 Center Rd                                            Essex Junction, VT 05452‐2604                                                                               First Class Mail
Voting Party                   Mount Oak United Methodist Church, Inc                        Attn: Kevin Kauffman                    14110 Mt Oak Rd                                          Mitchellville, MD 20721                                             Kevin@mtoak.org                         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Of Olives Lutheran Church                               Orange County Council 039               24772 Chrisanta Dr                                       Mission Viejo, CA 92691‐4813                                                                                First Class Mail
Chartered Organization         Mount Olive Baptist Church                                    National Capital Area Council 082       1601 13Th Rd S                                           Arlington, VA 22204‐4718                                                                                    First Class Mail
Chartered Organization         Mount Olive Baptist Church                                    Heart Of Virginia Council 602           8775 Mt Olive Ave                                        Glen Allen, VA 23060‐3918                                                                                   First Class Mail
Chartered Organization         Mount Olive Baptist Church                                    Great Smoky Mountain Council 557        1601 Dandridge Ave                                       Knoxville, TN 37915‐1903                                                                                    First Class Mail
Chartered Organization         Mount Olive Lutheran Church                                   Voyageurs Area 286                      2012 E Superior St                                       Duluth, MN 55812‐2137                                                                                       First Class Mail
Chartered Organization         Mount Olive Lutheran Church                                   Gamehaven 299                           2830 18Th Ave Nw                                         Rochester, MN 55901‐7610                                                                                    First Class Mail
Voting Party                   Mount Olive Lutheran Church                                   Attn: Stephen Foxx                      1219 Fairway Dr                                          Newton, NC 28658                                                    stephen.m.foxx@gmail.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Olive Lutheran Church                                   Attn: Steven G Philo                    2170 Havasupai Blvd                                      Lake Havasu City, AZ 86403                                          office@mtolc.com                        Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Olive Lutheran Church of Folsom, California             320 Montrose Dr                         Folsom, CA 95630                                                                                                             business.molc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Olive Lutheran Church, Newton, North Carolina           Attn: Stephen Foxx                      2103 Mt Olive Church Rd                                  Newton, NC 28658                                                    mtolivelutheranchurchnewton@gmail.com   Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Olive Ministries                                        Silicon Valley Monterey Bay 055         1989 E Calaveras Blvd                                    Milpitas, CA 95035‐6041                                                                                     First Class Mail
Voting Party                   Mount Olive Ministries                                        BSA Related information                 1989 E Calaveras Blvd                                    Milpitas, CA 95035                                                  jhuss@mt‐olive.org                      Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Olive Missionary Baptist                                Occoneechee 421                         118 Johnson St                                           Fayetteville, NC 28303‐3663                                                                                 First Class Mail
Chartered Organization         Mount Olive Missionary Baptist Church                         Longhorn Council 662                    2951 Evans Ave                                           Fort Worth, TX 76104‐7222                                                                                   First Class Mail
Chartered Organization         Mount Olive Scouts                                            Pine Burr Area Council 304              1313 Country Club Rd                                     Hattiesburg, MS 39401‐7680                                                                                  First Class Mail
Voting Party                   Mount Olive United Methodist Church                           Attn: Treasurer                         5115 Old Court Rd                                        Randallstown, MD 21133                                              office.mountoliveumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Olive United Methodist Church (170545)                  c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Olivet Lutheran Church                                  Northern Star Council 250               4320 Colfax Ave S                                        Minneapolis, MN 55409‐1713                                                                                  First Class Mail
Chartered Organization         Mount Olivet Lutheran Church                                  Northern Star Council 250               5025 Knox Ave S                                          Minneapolis, MN 55419‐1015                                                                                  First Class Mail
Chartered Organization         Mount Olivet Lutheran Church                                  Northern Star Council 250               7150 Rolling Acres Rd                                    Victoria, MN 55386                                                                                          First Class Mail
Voting Party                   Mount Olivet United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Olivet United Methodist Church                          Attn: Pastor Edward R Walker            1500 N Glebe Rd                                          Arlington, VA 22207                                                 contactus@MTOLIVET‐UMC.org              Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Olivet United Methodist Church                          Attn: Amy C Bowen Treasurer             667 Mt Olivet Church Rd                                  Fleming, GA 31309                                                   bowen.amy.59@gmail.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Olivet Utd Church Of Christ                             Great Trail 433                         410 W South Range Rd                                     North Lima, OH 44452‐9727                                                                                   First Class Mail
Chartered Organization         Mount Olivet Utd Methodist Church                             Del Mar Va 081                          315 High St                                              Seaford, DE 19973‐3925                                                                                      First Class Mail
Chartered Organization         Mount Paran Christian School                                  Atlanta Area Council 092                1275 Stanley Rd Nw                                       Kennesaw, GA 30152‐4359                                                                                     First Class Mail
Chartered Organization         Mount Paran Missionary Baptist Church                         Norwela Council 215                     1855 Russell Rd                                          Shreveport, LA 71107‐6329                                                                                   First Class Mail
Voting Party                   Mount Pisgah                                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Pisgah Baptist Church                                   Greater Alabama Council 001             2585 Rolling Hills Ln                                    Ider, AL 35981‐4339                                                                                         First Class Mail
Chartered Organization         Mount Pisgah Utd Methodist Church                             Old N State Council 070                 2600 Pisgah Church Rd                                    Greensboro, NC 27455‐1619                                                                                   First Class Mail
Chartered Organization         Mount Pisgah Utd Methodist Church                             Atlanta Area Council 092                2850 Old Alabama Rd                                      Johns Creek, GA 30022‐5051                                                                                  First Class Mail
Voting Party                   Mount Pleasant ‐ Lamps UMC                                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Pleasant ‐ LampsUMC                                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Pleasant Baptist Church                                 Central Georgia Council 096             5455 Mt Pleasant Church Rd                               Macon, GA 31216‐5527                                                                                        First Class Mail
Chartered Organization         Mount Pleasant Church                                         Laurel Highlands Council 527            846 State Rte 18                                         Aliquippa, PA 15001‐9492                                                                                    First Class Mail
Chartered Organization         Mount Pleasant Methodist Church                               Old Hickory Council 427                 4700 Old Walkertown Rd                                   Winston Salem, NC 27105‐3030                                                                                First Class Mail
Chartered Organization         Mount Pleasant Presbyterian Church                            Coastal Carolina Council 550            302 Hibben St                                            Mt Pleasant, SC 29464‐4312                                                                                  First Class Mail
Chartered Organization         Mount Pleasant Ruritan Club                                   National Capital Area Council 082       8101 Crum Rd                                             Mt Pleasant, MD 21701                                                                                       First Class Mail
Chartered Organization         Mount Pleasant Township Lions Club                            Westmoreland Fayette 512                P.O. Box 176                                             Norvelt, PA 15674‐0176                                                                                      First Class Mail
Voting Party                   Mount Pleasant UMC                                            Attn: Jim Jones                         269 Manns Chapel Rd                                      Pittsboro, NC 27312                                                 jimjones@nccumc.org                     Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Pleasant UMC                                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Pleasant UMC                                            Attn: Amy Lohman, Treasurer             3050 E Davis Dr                                          Terre Haute, IN 47802                                               amy@mtpchurch.net                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Pleasant UMC (Kimesville)                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Pleasant United Methodist Church                        Attn: Joseph Corbett                    1 Woolson Rd                                             Oswego, NY 13126                                                    mtpleasantumc@info.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Pleasant United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Pleasant United Methodist Church                        Attn: Gregory Cappadona                 P.O. Box 37                                              Mineral Wells, WV 26150                                             cappadona.greg@gmail.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Pleasant United Methodist Church (189704)               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Pleasant Utd Brethren                                   New Birth Of Freedom 544                2509 Black Gap Rd                                        Chambersburg, PA 17202‐9755                                                                                 First Class Mail
Chartered Organization         Mount Pleasant Utd Methodist Chruch                           Occoneechee 421                         269 Manns Chapel Rd                                      Pittsboro, NC 27312‐7016                                                                                    First Class Mail
Chartered Organization         Mount Pleasant Utd Methodist Church                           Old N State Council 070                 4400 Alamance Church Rd                                  Liberty, NC 27298‐9336                                                                                      First Class Mail
Chartered Organization         Mount Pleasant Utd Methodist Church                           Crossroads Of America 160               3092 E Davis Dr                                          Terre Haute, IN 47802                                                                                       First Class Mail
Chartered Organization         Mount Pocono Utd Methodist Church                             Minsi Trails Council 502                12 Church Ave                                            Mount Pocono, PA 18344‐1606                                                                                 First Class Mail
Chartered Organization         Mount Rainier Police Dept                                     National Capital Area Council 082       3249 Rhode Island Ave                                    Mount Rainier, MD 20712‐2036                                                                                First Class Mail
Voting Party                   Mount Sequoyah Methodist Assembly                             c/o Friday, Eldredge & Clark LLP        Attn: Lindsey Emerson Raines                             400 W Capitol Ave, Ste 2000       Little Rock, AR 72201             lraines@fridayfirm.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Sequoyah Methodist Assembly                             Attn: Emily Gentry                      150 N Skyline Dr                                         Fayetteville, AR 72701                                              emily.gentry@mountsequoyah.org          Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Sinai Junior Fire Dept                                  Suffolk County Council Inc 404          746 Mt Sinai Coram Rd, Ste R                             Mount Sinai, NY 11766‐1840                                                                                  First Class Mail
Chartered Organization         Mount Sinai Missionary Baptist Church                         Central Florida Council 083             5200 W South St                                          Orlando, FL 32811‐1758                                                                                      First Class Mail
Chartered Organization         Mount Sinai Queens                                            Greater New York Councils, Bsa 640      2510 30Th Ave                                            Astoria, NY 11102‐2448                                                                                      First Class Mail
Chartered Organization         Mount Sinai Shriners                                          Green Mountain 592                      273 Old Stage Rd                                         Essex Jct, VT 05452‐2516                                                                                    First Class Mail
Chartered Organization         Mount Sterling Police                                         Mississippi Valley Council 141 141      145 W Main St                                            Mount Sterling, IL 62353‐1223                                                                               First Class Mail
Voting Party                   Mount Tabor Ruritan Club                                      Attn: Gavin Faulkner                    2010 Broken Oak Dr                                       Blacksburg, VA 24060                                                gavin@rowanmountain.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Tabor United Methodist Church (189134)                  c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Tabor United Methodist Church, Inc                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Tabor Utd Methodist Church                              Buckeye Council 436                     108 Walnut St E                                          East Canton, OH 44730‐1342                                                                                  First Class Mail
Voting Party                   Mount Union Allenport (177125)                                c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Union United Methodist Church                           Attn: Jerry L Beckett                   38 Williamsburg Dr.                                      Barboursville, WV 25504                                             jerry.beckett@ccems.org                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Union Wesleyan Church Inc                               Attn: Karen White                       609 S Jefferson St                                       Mount Union, PA 17066                                                                                       First Class Mail
Chartered Organization         Mount Vernon Baptist Church                                   Atlanta Area Council 092                815 Lynhurst Dr Sw                                       Atlanta, GA 30311‐2209                                                                                      First Class Mail
Chartered Organization         Mount Vernon Baptist Church                                   Heart Of Virginia Council 602           11220 Nuckols Rd                                         Glen Allen, VA 23059‐5501                                                                                   First Class Mail
Chartered Organization         Mount Vernon Commty                                           Presbyterian Church                     2200 Buena Vista Rd                                      Mckeesport, PA 15135                                                                                        First Class Mail
Chartered Organization         Mount Vernon Elks Lodge 1604                                  Mount Baker Council, Bsa 606            2120 Market St                                           Mount Vernon, WA 98273‐5460                                                                                 First Class Mail
Voting Party                   Mount Vernon First UMC                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Mount Vernon Lodge 8 F & Am                                   Green Mountain 592                      65 Portland St                                           Morrisville, VT 05661                                                                                       First Class Mail
Voting Party                   Mount Vernon Place United Methodist Church                    Attn: Geoffrey Hart Treasurer           10 E Mt Vernon Pl                                        Baltimore, MD 21202                                                 mvpumcbaltimore@gmail.com               Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Mount Vernon Place United Methodist Church                    Attn: Alison Malloy                     900 Massachusetts Ave NW                                 Washington, DC 20001                                                churchoffice@mvpumc.org                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 271 of 442
                                                                                 Case 20-10343-LSS                                          Doc 8171                                   Filed 01/06/22                                                    Page 287 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                       Name                                                                                          Address                                                                                                             Email              Method of Service
Chartered Organization         Mount Vernon Presbyterian Church                              Laurel Highlands Council 527              2200 Buena Vista Rd                                    Mckeesport, PA 15135                                                                                  First Class Mail
Chartered Organization         Mount Vernon Residents Assoc                                  Laurel Highlands Council 527              313 Argonne Dr                                         New Kensington, PA 15068‐5905                                                                         First Class Mail
Voting Party                   Mount Vernon UMC                                              c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mount Vernon United Methodist Church 597 Lafayette Rd Rocky   c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mount Vernon Utd Methodist Church                             Blue Ridge Mtns Council 599               107 W Main St                                          Danville, VA 24541‐2824                                                                               First Class Mail
Chartered Organization         Mount Vernon Utd Methodist Church                             Hawkeye Area Council 172                  304 1St St Sw                                          Mount Vernon, IA 52314‐1609                                                                           First Class Mail
Chartered Organization         Mount Washington Elementary School                            Lincoln Heritage Council 205              9234 Hwy 44 E                                          Mount Washington, KY 40047‐7309                                                                       First Class Mail
Chartered Organization         Mount Zion Ame Church                                         Cradle Of Liberty Council 525             1312 Willow St                                         Norristown, PA 19401‐3328                                                                             First Class Mail
Chartered Organization         Mount Zion Ame Zion Church                                    Tukabatchee Area Council 005              455 W Jeff Davis Ave                                   Montgomery, AL 36104‐4805                                                                             First Class Mail
Chartered Organization         Mount Zion Baptist Church                                     Great Smoky Mountain Council 557          2714 Brooks Ave                                        Knoxville, TN 37914‐6263                                                                              First Class Mail
Chartered Organization         Mount Zion Baptist Church                                     Daniel Boone Council 414                  5521 Nc Hwy 141                                        Marble, NC 28905‐8524                                                                                 First Class Mail
Chartered Organization         Mount Zion Evangelical Lutheran Church                        Pathway To Adventure 456                  10400 S Kostner Ave                                    Oak Lawn, IL 60453‐4814                                                                               First Class Mail
Chartered Organization         Mount Zion Lutheran Church                                    Piedmont Council 420                      4420 County Home Rd                                    Conover, NC 28613‐9641                                                                                First Class Mail
Chartered Organization         Mount Zion Missionary Baptist Church                          Pine Burr Area Council 304                P.O. Box 928                                           Prentiss, MS 39474‐0928                                                                               First Class Mail
Voting Party                   Mount Zion UMC                                                Attn: Rev Ronald J Southall               2722 Louisiana Ave                                     New Orleans, LA 70113                                                rsouthallministries@gmail.com    Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mount Zion UMC                                                Attn: Rita Shelling & Ronald J Southall   2722 Louisiana Ave                                     New Orleans, LA 70115                                                ritashelling@aol.com             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mount Zion United Methodist Church                            15772 NC Hwy 50 N                         Garner, NC 27529                                                                                                            leonard@mountzion.umc            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mount Zion United Methodist Church, Myersville                Attn: Michael Beiber                      P.O. Box 299                                           Myersville, MD 21773                                                 rev.mike.beiber@gmail.com        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mount Zion United Methodist Church, Myersville                Attn: Marge Eisenhower                    P.O. Box 299                                           Myersville, MD 21773                                                 mtzionmyersville@gmail.com       Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mountain Brook Presbyterian Church                            Greater Alabama Council 001               3450 Brookwood Rd                                      Mountain Brk, AL 35223                                                                                First Class Mail
Voting Party                   Mountain Chapel United Methodist Church                       Attn: Stacy Bouchillon                    2541 Rocky Ridge Rd                                    Birmingham, AL 35243                                                 mtnchapelbills@bellsouth.net     Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mountain City Utd Methodist Church                            Northeast Georgia Council 101             P.O. Box 305                                           Mountain City, GA 30562‐0305                                                                          First Class Mail
Chartered Organization         Mountain Foothills Rotary                                     Denver Area Council 061                   1524 Belford Ct                                        Evergreen, CO 80439‐9753                                                                              First Class Mail
Chartered Organization         Mountain High Christian Center                                Denver Area Council 061                   8444 Us Hwy 285                                        Morrison, CO 80465                                                                                    First Class Mail
Chartered Organization         Mountain House Muslim Assoc                                   Greater Yosemite Council 059              795 Adam St                                            Mountain House, CA 95391‐1077                                                                         First Class Mail
Chartered Organization         Mountain Laurel Vfw Post 8612                                 Hudson Valley Council 374                 P.O. Box 718                                           Milford, PA 18337‐0718                                                                                First Class Mail
Chartered Organization         Mountain Park Utd Methodist Church                            Northeast Georgia Council 101             1405 Rockbridge Rd                                     Stone Mountain, GA 30087‐3143                                                                         First Class Mail
Chartered Organization         Mountain Pleasant Community Center                            Blue Ridge Council 551                    71 S Fairfield Rd                                      Greenville, SC 29605‐5001                                                                             First Class Mail
Chartered Organization         Mountain Road Church                                          Trapper Trails 589                        796 S Mountain Rd                                      Fruit Heights, UT 84037‐2728                                                                          First Class Mail
Chartered Organization         Mountain Top American Legion Post 781                         Northeastern Pennsylvania Council 501     Church Rd                                              Mountain Top, PA 18707                                                                                First Class Mail
Chartered Organization         Mountain View Baptist Church                                  Trapper Trails 589                        P.O. Box 9                                             Layton, UT 84041‐0909                                                                                 First Class Mail
Chartered Organization         Mountain View Buddhist Temple                                 Pacific Skyline Council 031               575 N Shoreline Blvd                                   Mountain View, CA 94043‐3102                                                                          First Class Mail
Chartered Organization         Mountain View College                                         Circle Ten Council 571                    4849 W Illinois Ave                                    Dallas, TX 75211‐6503                                                                                 First Class Mail
Chartered Organization         Mountain View Community Church                                Mount Baker Council, Bsa 606              12033 Seattle Hill Rd                                  Snohomish, WA 98296‐8985                                                                              First Class Mail
Chartered Organization         Mountain View Elementary PTO Inc                              National Capital Area Council 082         5600 Mcleod Way                                        Haymarket, VA 20169‐2538                                                                              First Class Mail
Chartered Organization         Mountain View Elementary School                               Westmoreland Fayette 512                  1010 Mountain View Dr                                  Greensburg, PA 15601‐3747                                                                             First Class Mail
Chartered Organization         Mountain View Lutheran Church                                 Pacific Harbors Council, Bsa 612          3505 122Nd Ave E                                       Edgewood, WA 98372‐2418                                                                               First Class Mail
Chartered Organization         Mountain View Lutheran Church                                 Grand Canyon Council 010                  11002 S 48Th St                                        Phoenix, AZ 85044‐1702                                                                                First Class Mail
Chartered Organization         Mountain View Police Dept                                     Pacific Skyline Council 031               1000 Villa St                                          Mountain View, CA 94041‐1238                                                                          First Class Mail
Chartered Organization         Mountain View Presbyterian Church                             Mount Baker Council, Bsa 606              5115 100Th St Ne                                       Marysville, WA 98270‐2022                                                                             First Class Mail
Chartered Organization         Mountain View School                                          Aloha Council, Bsa 104                    P.O. Box 734                                           Mountain View, HI 96771‐0734                                                                          First Class Mail
Voting Party                   Mountain View United Church                                   Attn: Roberta Coss                        10700 E Evans Ave                                      Aurora, CO 80014                                                     Roberta.Coss@yahoo.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mountain View United Church                                   Attn: Roberta J Coss                      same                                                   same                                                                                                  First Class Mail
Voting Party                   Mountain View United Methodist Church                         Attn: Donna D Patrick                     4405 Orebank Rd                                        Kingsport, TN 37664                                                  mtviewumcoffice@gmail.com        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mountain View United Methodist Church                         Attn: D Kerry Barnette, Lay Leader        6525 Mountain View Rd                                  Taylors, SC 29687                                                    kerry.barnette@duke‐energy.com   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mountain View United Methodist Church                         Attn: D Kerry Barnette, Lay Leader        810 Groce Meadow Rd                                    Taylors, SC 29687                                                    kerry.barnette@duke‐energy.com   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mountain View United Methodist Church                         Attn: Gregory Higgins                     P.O.Box 1577                                           Pine Bush, NY 12566                                                  gregory.higgins@nyac‐umc.com     Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mountain View United Methodist Church, Boulder                c/o Finance Administrator                 Attn: Laura Winberg                                    355 Ponca Pl                       Boulder, CO 80303                 finance@mtview.org               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mountain View Utd Church                                      Denver Area Council 061                   10700 E Evans Ave                                      Aurora, CO 80014‐1006                                                                                 First Class Mail
Chartered Organization         Mountain View Utd Methodist                                   Blue Ridge Mtns Council 599               P.O. Box 543                                           Forest, VA 24551‐0543                                                                                 First Class Mail
Chartered Organization         Mountain View Utd Methodist                                   Blue Ridge Council 551                    6525 Mountain View Rd                                  Taylors, SC 29687‐6976                                                                                First Class Mail
Chartered Organization         Mountain View Utd Methodist Church                            Longs Peak Council 062                    355 Ponca Pl                                           Boulder, CO 80303‐3801                                                                                First Class Mail
Chartered Organization         Mountain View Utd Methodist Church                            Hudson Valley Council 374                 89 Maple Ave                                           Pine Bush, NY 12566                                                                                   First Class Mail
Chartered Organization         Mountain View Ward                                            Lds Tucson West Stake                     3656 W Butterfly Ln                                    Tucson, AZ 85742‐9349                                                                                 First Class Mail
Chartered Organization         Mountain Vista PTO                                            Denver Area Council 061                   22200 E Radcliff Pkwy                                  Aurora, CO 80015‐5553                                                                                 First Class Mail
Voting Party                   Mountain Vista United Methodist Church Corp                   c/o Board of Trustees, MVUMC              Attn: Kenneth Jay Dodson                               8931 S 3200 W                      West Jordan, UT 84088             office@mtnvistumc.org            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mountain West Council                                         c/o Hawely Troxell Ennis and Hawley LLP   Attn: Brent R Wilson                                   877 Main St Ste 1000               Boise, ID 83702                   bwilson@hawleytroxell.com        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mountain West Fire Systems LLC                                Utah National Parks 591                   P.O. Box 461015                                        Leeds, UT 84746‐1015                                                                                  First Class Mail
Voting Party                   Mountaineer Area Council                                      Attn: Robert L Greer                      439 W Philadelphia Ave                                 Bridgeport, WV 26330                                                 rgreer@greerlawoffices.com       Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mountaineer Area Council                                      c/o Greer Law Offices PLLC                Attn: Robert L Greer                                   439 W Philadelphia Ave             Bridgeport, WV 26330              rgreer@greerlawoffices.com       Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mountaineer Automotive LLC                                    Attn: Donald Holcomb                      P.O. Box 311                                           Charleston, WV 25321                                                 dh.dickinsonfuel@gmail.com       Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mountaineer Automotive LLC                                    Attn: Donald Holcomb                      P.O. Box 311                                           300 Capitol St, Ste 1408           Charleston, WV 23521‐0311                                          First Class Mail
Voting Party                   Mountaineer Gas Company                                       Attn: Gary Barnard                        P.O. Box 1003                                          Charleston, WV 25324                                                 dianecarey@mgcww.com             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mountainville Recreation, LLC                                 Utah National Parks 591                   3333 N Digital Dr Ste 460                              Lehi, UT 84043‐6696                                                                                   First Class Mail
Voting Party                   Mountainville United Methodist Church                         Attn: Pastor Karina Feliz                 P.O. Box 164                                           Mountainville, NY 10953                                              karina.feliz@nyac‐umc.com        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mountlake Terrace Police Dept                                 Mount Baker Council, Bsa 606              5906 232Nd St Sw                                       Mountlake Terrace, WA 98043‐4639                                                                      First Class Mail
Chartered Organization         Mountville Lions Club                                         Pennsylvania Dutch Council 524            39 Madge Dr                                            Lancaster, PA 17603‐4047                                                                              First Class Mail
Firm                           Moutain, Dearborn & Whiting LLP                               James D Obrien Jr.                        370 Main St.                                           Worcester, MA 01608‐1778                                                                              First Class Mail
Chartered Organization         Movement Church                                               Daniel Webster Council, Bsa 330           27 Depot St                                            Merrimack, NH 03054‐3427                                                                              First Class Mail
Voting Party                   Moville United Methodist Church                               Attn: Treasurer                           450 S First St                                         P.O. Box 801                       Moville, IA 51039                 icjerk@wiatel.net                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Moville United Methodist Church                               Attn: Jeffrey T Krejci                    2933 220th St                                          Moville, IA 51039                                                                                     First Class Mail
Chartered Organization         Moville Utd Methodist Church                                  Mid‐America Council 326                   450 S 1St St                                           Moville, IA 51039‐2018                                                                                First Class Mail
Chartered Organization         Moving Ahead Program                                          Great Rivers Council 653                  301 N Providence Rd                                    Columbia, MO 65203‐4091                                                                               First Class Mail
Voting Party                   Mowatt Memorial United Methodist Church                       Attn: Fay B Lundin                        1169 Claire Rd                                         Crownsville, MD 21032                                                faylundin@yahoo.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mowatt Memorial United Methodist Church                       Attn: Ralph Webb                          40 Ridge Rd                                            Greenbelt, MD 20770                                                  faylundin@yahoo.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mowatt Utd Methodist Church                                   National Capital Area Council 082         40 Ridge Rd                                            Greenbelt, MD 20770‐0724                                                                              First Class Mail
Chartered Organization         Moweaqua Ministerial Alliance                                 Greater St Louis Area Council 312         P.O. Box 181                                           Moweaqua, IL 62550‐0181                                                                               First Class Mail
Chartered Organization         Moy Mo Da Yo Recreational Oversight Ctte                      Pine Tree Council 218                     P.O. Box 240                                           Limington, ME 04049‐0240                                                                              First Class Mail
Chartered Organization         Moyers Corners Vol Fire Dept                                  Longhouse Council 373                     Morgan Rd                                              Liverpool, NY 13090                                                                                   First Class Mail
Voting Party                   Mpact Solutions                                               1451 S Elm Eugene St Unit 39              Greensboro, NC 27406‐2284                                                                                                                                    First Class Mail
Voting Party                   Mpca                                                          Minnesota Pollution Control Agency        P.O. Box 64893                                         St Paul, MN 55164‐0893                                                                                First Class Mail
Chartered Organization         Mps Grand Lodge Of Masons                                     Northern Star Council 250                 11501 Masonic Home Dr                                  Bloomington, MN 55437‐3661                                                                            First Class Mail
Chartered Organization         Mrh Ecc Elementary PTO Inc                                    Greater St Louis Area Council 312         1800 Princeton Pl                                      Richmond Heights, MO 63117‐2421                                                                       First Class Mail
Chartered Organization         Mrytle Grove Utd Methodist Church                             Gulf Coast Council 773                    1030 N 57Th Ave                                        Pensacola, FL 32506‐4600                                                                              First Class Mail
Chartered Organization         Ms Billies Flower Shop                                        Lincoln Heritage Council 205              2201 Westerfield Dr                                    Providence, KY 42450‐2283                                                                             First Class Mail
Chartered Organization         Ms Methodist Rehabilitation Center                            Andrew Jackson Council 303                1350 E Woodrow Wilson Ave                              Jackson, MS 39216‐5112                                                                                First Class Mail
Chartered Organization         Mt Airy Baptist Church                                        National Capital Area Council 082         1100 N Capitol St Nw                                   Washington, DC 20002‐7506                                                                             First Class Mail
Chartered Organization         Mt Allamuchy Scout Camp                                       Patriots Path Council 358                 1 Saddle Rd                                            Cedar Knolls, NJ 07927‐1901                                                                           First Class Mail
Chartered Organization         Mt Ararat Baptist Church                                      National Capital Area Council 082         1112 Garrisonville Rd                                  Stafford, VA 22556‐1845                                                                               First Class Mail
Chartered Organization         Mt Ararat Lodge Af & Am                                       Baltimore Area Council 220                136 E Gordon St                                        Bel Air, MD 21014‐2917                                                                                First Class Mail
Chartered Organization         Mt Arlington Fire And Rescue                                  Patriots Path Council 358                 407 Howard Blvd                                        Mount Arlington, NJ 07856‐1182                                                                        First Class Mail
Voting Party                   Mt Auburn United Methodist Church                             Attn: Jeff Wright                         3100 W Stones Crossing Rd                              Greenwood, IN 46143                                                  jlwright0520@gmail.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mt Bethel Social Club Of Oxford                               Minsi Trails Council 502                  342 Janes Chapel Rd                                    Oxford, NJ 07863‐3505                                                                                 First Class Mail
Voting Party                   Mt Bethel UMC                                                 Attn: Michael E Cole                      1743 County Rd 53                                      Rogersville, AL 35652                                                michaelcole@bellsouth.net        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mt Bethel Umc Mens Fellowship                                 Flint River Council 095                   992 Mt Bethel Rd                                       Mcdonough, GA 30252‐5725                                                                              First Class Mail
Voting Party                   Mt Bethel United Methodist Church (Marrieta)                  c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mt Bethel Utd Methodist Church                                Piedmont Council 420                      9042 Nc Hwy 127                                        Hickory, NC 28601‐8379                                                                                First Class Mail
Chartered Organization         Mt Bethel Utd Methodist Church                                Atlanta Area Council 092                  4385 Lower Roswell Rd                                  Marietta, GA 30068‐4164                                                                               First Class Mail
Chartered Organization         Mt Bethel Utd Methodist Church                                Flint River Council 095                   992 Mt Bethel Rd                                       Mcdonough, GA 30252‐5725                                                                              First Class Mail
Chartered Organization         Mt Blanchard Utd Methodist Church                             Black Swamp Area Council 449              204 S Main St                                          Mt Blanchard, OH 45867                                                                                First Class Mail
Chartered Organization         Mt Calvary Baptist Church                                     Mobile Area Council‐Bsa 004               505 N Prince Ave                                       Prichard, AL 36610                                                                                    First Class Mail
Chartered Organization         Mt Calvary Lutheran Church                                    Orange County Council 039                 5895 Ball Rd                                           Cypress, CA 90630‐3244                                                                                First Class Mail
Chartered Organization         Mt Calvary Lutheran Church                                    California Inland Empire Council 045      P.O. Box 250                                           Lake Arrowhead, CA 92352‐0250                                                                         First Class Mail
Chartered Organization         Mt Calvary Lutheran Church                                    Greater Yosemite Council 059              P.O. Box 280                                           Mi Wuk Village, CA 95346‐0280                                                                         First Class Mail
Chartered Organization         Mt Calvary Outreach Center                                    Palmetto Council 549                      P.O. Box 483                                           Kershaw, SC 29067‐0483                                                                                First Class Mail
Voting Party                   Mt Calvary UMC (3605)                                         c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mt Calvary UMC (3605)                                         c/o Bentz Law Firm                        Attn: Sean Bollman                                     680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mt Calvary United Methodist Church                            Attn: Betty Jean Henderson                1236 Jones Station Rd                                  Arnold, MD 21012                                                     mcumarnold@aol.com               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mt Calvary United Methodist Church                            Attn: Jessica Ellis, CFO                  475 Riverside Dr, Ste 1922                             New York, NY 10115                                                   bshillady@umcitysociety.org      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mt Calvary Utd Methodist Church                               New Birth Of Freedom 544                  175 N Fairville Ave                                    Harrisburg, PA 17112‐3723                                                                             First Class Mail
Chartered Organization         Mt Calvery Lutheran Church                                    Mid‐America Council 326                   5529 Leavenworth St                                    Omaha, NE 68106‐1349                                                                                  First Class Mail
Chartered Organization         Mt Carmel Baptist Church                                      Atlanta Area Council 092                  2755 Campbellton Rd Sw                                 Atlanta, GA 30311‐4417                                                                                First Class Mail
Chartered Organization         Mt Carmel Baptist Church                                      Middle Tennessee Council 560              7665 Hwy 25 E                                          Cross Plains, TN 37049                                                                                First Class Mail
Chartered Organization         Mt Carmel Baptist Mens Fellow &                               Mountaineer Area 615                      American Legion                                        Post 29                            Beverly, WV 26253                                                  First Class Mail
Chartered Organization         Mt Carmel Baptist Mens Fellows                                Mountaineer Area 615                      Rt. 1 Box 11                                           Beverly, WV 26253                                                                                     First Class Mail
Chartered Organization         Mt Carmel Church Of The Brethren                              Old Hickory Council 427                   9618 Hwy 221                                           Scottville, NC 28672                                                                                  First Class Mail
Chartered Organization         Mt Carmel Congregational Church                               Connecticut Yankee Council Bsa 072        3284 Whitney Ave                                       Hamden, CT 06518‐2162                                                                                 First Class Mail
Chartered Organization         Mt Carmel Lutheran Church                                     Northern Star Council 250                 1701 St Anthony Pkwy                                   Minneapolis, MN 55418‐2268                                                                            First Class Mail
Chartered Organization         Mt Carmel Methodist Church                                    Middle Tennessee Council 560              230 Mt Carmel Church Rd                                Sparta, TN 38583                                                                                      First Class Mail
Voting Party                   Mt Carmel UMC                                                 Attn: Scott Dale Shumaker                 17036 Prettyboy Dam Rd                                 Parkton, MD 21120                                                    sshumaker2@comcast.net           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mt Carmel UMC                                                 c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mt Carmel UMC                                                 5087 S Old Peachtree Rd                   Norcross, GA 30092                                                                                                                                           First Class Mail
Chartered Organization         Mt Carmel Umc Mens Club                                       Atlanta Area Council 092                  5100 S Old Peachtree Rd                                Norcross, GA 30092‐3004                                                                               First Class Mail
Voting Party                   Mt Carmel United Methodist Church                             Attn: Krista Maniatis                     2533 Mt Carmel Rd                                      Parkton, MD 21120                                                    mtcarmelumc21120@comcast.net     Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mt Carmel United Methodist Church                             Attn: John Mulkey                         4760 Mountain Rd                                       Pasadena, MD 21122                                                   mtcarmel21122@gmail.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mt Carmel United Methodist Church                             Mt Carmel UMC                             3529 Lamontville Rd                                    Decatur, TN 37322                                                    goodfieldcircuit@yahoo.com       Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mt Carmel United Methodist Church                             Attn: Donna Clawson                       9411 Baltimore Rd                                      Frederick, MD 21704                                                  donna.clawson@hopemtcarmel.org   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mt Carmel United Methodist Church                             Attn: Rebecca Marie Bradley               2706 Salem Church Rd                                   Goldsboro, NC 27530                                                  bbradley@nccumc.org              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mt Carmel United Methodist Church                             Attn: Treasurer                           P.O. Box 10                                            Pikeville, NC 27863                                                  bbradley@nccumc.org              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mt Carmel Utd Methodist Church                                Flint River Council 095                   1951 Mt Carmel Rd                                      Hampton, GA 30228‐2840                                                                                First Class Mail
Chartered Organization         Mt Carmel Utd Methodist Church                                Baltimore Area Council 220                17036 Pretty Boy Dam Rd                                Parkton, MD 21120‐9690                                                                                First Class Mail
Chartered Organization         Mt Carmel Utd Methodist Church                                Old N State Council 070                   361 Mt Carmel Chu Rd                                   Reidsville, NC 27320‐8270                                                                             First Class Mail
Chartered Organization         Mt Carmel Utd Methodist Church                                Middle Tennessee Council 560              250 Mt Carmel Church Rd                                Sparta, TN 38583                                                                                      First Class Mail
Chartered Organization         Mt Carmel Utd Methodist Church                                Old Hickory Council 427                   4265 Ebert Rd                                          Winston Salem, NC 27127‐8714                                                                          First Class Mail
Chartered Organization         Mt Clemens Montessori School                                  Great Lakes Fsc 272                       1070 Hampton Rd                                        Mount Clemens, MI 48043‐2955                                                                          First Class Mail
Voting Party                   Mt Comfort Church                                             Attn: Shawn T Matney                      3179 N 600 W                                           Greenfield, IN 46140                                                 shawn@mtcomfortchurch.com        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mt Comfort Church                                             Attn: Treasurer, Mt Comfort Church        3179 N 600 W                                           Greenfield, IN 46140                                                                                  First Class Mail
Chartered Organization         Mt Comfort Utd Methodist Church                               Crossroads Of America 160                 3179 N 600 W                                           Greenfield, IN 46140‐9635                                                                             First Class Mail
Chartered Organization         Mt Corinth Missionary Baptist Church                          Sam Houston Area Council 576              4901 Providence St                                     Houston, TX 77020‐7211                                                                                First Class Mail
Chartered Organization         Mt Crawford Utd Methodist Church                              Stonewall Jackson Council 763             360 N Main St                                          Mount Crawford, VA 22841                                                                              First Class Mail
Chartered Organization         Mt Ennon Baptist Church                                       National Capital Area Council 082         P.O. Box 539                                           Clinton, MD 20735‐0539                                                                                First Class Mail
Chartered Organization         Mt Enon Missionary Baptist Church                             Miami Valley Council, Bsa 444             1501 W 3Rd St                                          Dayton, OH 45402‐6718                                                                                 First Class Mail
Chartered Organization         Mt Ephraim Baptist Church                                     Atlanta Area Council 092                  1202 W Marietta St Nw                                  Atlanta, GA 30318‐4911                                                                                First Class Mail
Voting Party                   Mt Etna UMC                                                   Attn: Mitchell Morris                     6383 W 600 S                                           Huntington, IN 46750                                                 mtetnaumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mt Eva MB Church                                              Andrew Jackson Council 303                3805 Wynndale Rd                                       Terry, MS 39170‐8840                                                                                  First Class Mail
Voting Party                   Mt Fern UMC Randolph NJ                                       c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Mt Gilead UMC (178437)                                        c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Mt Healthy Utd Methodist Church                               Dan Beard Council, Bsa 438                7612 Perry St                                          Cincinnati, OH 45231‐3443                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 272 of 442
                                                                                  Case 20-10343-LSS                                    Doc 8171                                     Filed 01/06/22                                                     Page 288 of 457
                                                                                                                                                                       Exhibit B
                                                                                                                                                                        Service List
                                                                                                                                                                 Served as set forth below

        Description                                                        Name                                                                                      Address                                                                                                              Email              Method of Service
Chartered Organization         Mt Hebron Lutheran Church                                 Piedmont Council 420                    103 Main Ave E                                            Hildebran, NC 28637                                                                                    First Class Mail
Voting Party                   Mt Hebron Presbyterian Church, Inc                        2330 Mt Hebron Dr                       Ellicott City, MD 21042                                                                                                         office@mthebronpc.org            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Hebron Utd Methodist Church                            Indian Waters Council 553               3050 Leaphart Rd                                          West Columbia, SC 29169‐3000                                                                           First Class Mail
Chartered Organization         Mt Hebron Utd Methodist Church‐Mens                       Indian Waters Council 553               Club                                                      3050 Leaphart Rd                  West Columbia, SC 29169                                              First Class Mail
Chartered Organization         Mt Holly Springs Utd Methodist Church                     New Birth Of Freedom 544                202 W Butler St                                           Mt Holly Springs, PA 17065‐1232                                                                        First Class Mail
Chartered Organization         Mt Hood Lions Club                                        Cascade Pacific Council 492             P.O. Box 74                                               Welches, OR 97067‐0074                                                                                 First Class Mail
Chartered Organization         Mt Hope Lutheran Board Of Youth                           Three Harbors Council 636               8633 W Becher St                                          Milwaukee, WI 53227‐1725                                                                               First Class Mail
Voting Party                   Mt Horeb United Methodist Church, Inc                     Attn: Pastor Jeff Kersey                1205 Old Cherokee Rd                                      Lexington, SC 29072                                                   jeff@mthorebumc.com              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Horeb Utd Methodist Church                             Patriots Path Council 358               42 Liberty Corner Rd                                      Warren, NJ 07059‐2717                                                                                  First Class Mail
Voting Party                   Mt Ida United Methodist                                   Attn: Christy Stewart                   P.O. Box 607                                              Mt Ida, AR 71957                                                      fumcmi@windstream.net            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Jackson Lions Club                                     Shenandoah Area Council 598             P.O. Box 21                                               Mount Jackson, VA 22842‐0021                                                                           First Class Mail
Chartered Organization         Mt Juliet Elementary By Pace National                     Middle Tennessee Council 560            2521 W Division St                                        Mt Juliet, TN 37122‐3496                                                                               First Class Mail
Chartered Organization         Mt Juliet Elementary Pace National                        Middle Tennessee Council 560            2521 W Division St                                        Mt Juliet, TN 37122‐3496                                                                               First Class Mail
Chartered Organization         Mt Juliet Mid Sch At Pace Analytical                      Middle Tennessee Council 560            12065 Lebanon Rd                                          Mt Juliet, TN 37122‐2508                                                                               First Class Mail
Chartered Organization         Mt Juliet Police Dept                                     Middle Tennessee Council 560            P.O. Box 322                                              Mount Juliet, TN 37121‐0322                                                                            First Class Mail
Chartered Organization         Mt Kineo Masonic Lodge 109                                Katahdin Area Council 216               P.O. Box 555                                              Guilford, ME 04443‐0555                                                                                First Class Mail
Chartered Organization         Mt Kisco Utd Methodist Church                             Westchester Putnam 388                  300 E Main St                                             Mount Kisco, NY 10549‐3005                                                                             First Class Mail
Chartered Organization         Mt Lebanon Utd Methodist Church                           Laurel Highlands Council 527            3319 W Liberty Ave                                        Pittsburgh, PA 15216‐2201                                                                              First Class Mail
Voting Party                   Mt Lena United Methodist Church                           Attn: Ms Wanda Crilly                   21234 Mt. Lena Rd                                         Boonsboro, MD 21713                                                                                    First Class Mail
Chartered Organization         Mt Logan Elementary                                       Simon Kenton Council 441                841 E Main St                                             Chillicothe, OH 45601‐3509                                                                             First Class Mail
Voting Party                   Mt Mitchell United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Moriah Baptist Church                                  Daniel Boone Council 414                P.O. Box 29                                               Edneyville, NC 28727‐0029                                                                              First Class Mail
Chartered Organization         Mt Moriah Baptist Church                                  Central Georgia Council 096             2789 Millerfield Rd                                       Macon, GA 31217‐4826                                                                                   First Class Mail
Chartered Organization         Mt Moriah Lutheran Church                                 Greater St Louis Area Council 312       100 S Main St                                             Anna, IL 62906‐1238                                                                                    First Class Mail
Voting Party                   Mt Moriah UMC                                             681 Mt Moriah Dr                        Cincinnati, OH 45245                                                                                                            office@mtmoriahumc.org           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Moriah UMC                                             Attn: Christine Dodson                  7588 N Salemburg Hwy                                      Roseboro, NC 28382                                                    cdodsonnc@gmail.com              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Moriah United Methodist Church                         Attn: Daniel Ilg                        681 Mt Moriah Dr                                          Cincinnati, OH 45245                                                  ilgfamily@fuse.net               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Morris First Utd Methodist Church                      Water And Woods Council 782             808 E Mt Morris St                                        Mount Morris, MI 48458‐2054                                                                            First Class Mail
Chartered Organization         Mt Nittany Um Church                                      Juniata Valley Council 497              1500 E Branch Rd                                          State College, PA 16801‐6921                                                                           First Class Mail
Voting Party                   Mt Nittany United Methodist Church (181457)               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Olive Ame Church                                       Greater Tampa Bay Area 089              600 Jones St                                              Clearwater, FL 33755‐4136                                                                              First Class Mail
Chartered Organization         Mt Olive Lutheran Church                                  Capitol Area Council 564                10408 Hwy 290 W                                           Austin, TX 78736‐7720                                                                                  First Class Mail
Voting Party                   Mt Olive Lutheran Church                                  3561 Foothill Blvd                      La Crescenta, CA 91214                                                                                                          adturner@lagerlof.com            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Olive Missionary Baptist Church                        Occoneechee 421                         118 Johnson St                                            Fayetteville, NC 28303‐3663                                                                            First Class Mail
Chartered Organization         Mt Olive Missionary Baptist Church                        Louisiana Purchase Council 213          316 N Walnut St                                           Tallulah, LA 71282                                                                                     First Class Mail
Chartered Organization         Mt Olive Presbyterian Church                              Mecklenburg County Council 415          5125 Mt Olive Church Rd                                   Charlotte, NC 28278‐9624                                                                               First Class Mail
Chartered Organization         Mt Olive Presbyterian Church                              Tuscarora Council 424                   P.O. Box 86                                               Mount Olive, NC 28365‐0086                                                                             First Class Mail
Chartered Organization         Mt Olive Rotary Club                                      Tuscarora Council 424                   105 E College St                                          Mount Olive, NC 28365‐1412                                                                             First Class Mail
Chartered Organization         Mt Olive Turner Hall                                      Greater St Louis Area Council 312       880 E 2Nd South St                                        Mount Olive, IL 62069‐2117                                                                             First Class Mail
Chartered Organization         Mt Olive Twp Board Of Education                           Patriots Path Council 358               227 Us Hwy 206 Ste 10                                     Flanders, NJ 07836‐9173                                                                                First Class Mail
Chartered Organization         Mt Olive Umc                                              Old Hickory Council 427                 3521 Wyo Rd                                               Yadkinville, NC 27055‐8720                                                                             First Class Mail
Voting Party                   Mt Olive UMC                                              Attn: Robert Barton                     2015 N 300 W                                              Marion, IN 46952                                                      pastorrob@mtoliveumc.com         Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Olive United Methodist Church                          Attn: V Jill Johnson, Treasurer         2015 N 300 W                                              Marion, IN 46952                                                      information@mtoliveumc.com       Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Olivet Lutheran Church                                 Northern Star Council 250               P.O. Box 153                                              Victoria, MN 55386‐0153                                                                                First Class Mail
Chartered Organization         Mt Olivet Methodist Church                                New Birth Of Freedom 544                5000 Simpson Ferry Rd                                     Mechanicsburg, PA 17050‐3625                                                                           First Class Mail
Chartered Organization         Mt Olivet Presbyterian Church                             Dan Beard Council, Bsa 438              509 W State St                                            Trenton, OH 45067‐1429                                                                                 First Class Mail
Voting Party                   Mt Olivet UMC                                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Olivet United Methodist Church                         Attn: Jimmie Boyd                       50 Hwy 11                                                 Rison, AR 71665                                                       jimmie.boyd@arumc.org            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Olivet United Methodist Church (179077)                c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Orab United Methodist Church                           Attn: Alan H Bolte                      212 Church St                                             MOUNT ORAB, OH 45154                                                  revahb53@gmail.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Paran Missionary Baptist Church                        Norwela Council 215                     1855 Russell Rd                                           Shreveport, LA 71107‐6329                                                                              First Class Mail
Chartered Organization         Mt Park Utd Methodist Church                              Northeast Georgia Council 101           1405 Rockbridge Rd                                        Stone Mountain, GA 30087‐3143                                                                          First Class Mail
Chartered Organization         Mt Pilgrim Baptist Church                                 Sam Houston Area Council 576            908 E 32Nd 1/2 St                                         Houston, TX 77022‐5815                                                                                 First Class Mail
Voting Party                   Mt Pisgah United Methodist Church                         1100 Mt Pisgah Dr                       Midlothian, VA 23113                                                                                                            chris@chriswinslow.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Pisgah United Methodist Church Inc ‐ Johns Creek       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Pisgah Utd Methodist Church                            Old N State Council 070                 2600 Pisgah Church Rd                                     Greensboro, NC 27455‐1619                                                                              First Class Mail
Chartered Organization         Mt Pleasant Community Center                              Blue Ridge Council 551                  71 S Fairfield Rd                                         Greenville, SC 29605‐5001                                                                              First Class Mail
Voting Party                   Mt Pleasant First United Methodist Church                 Attn: Julie A Greyerbiehl, Treasurer    400 S Main                                                Mt Pleasant, MI 48858                                                 office@mtpfumc.org               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Pleasant Kiwanis Club                                  Attn: David H Carrick                   800 S Alter Ct                                            Mount Pleasant, IA 52641‐2404                                                                          First Class Mail
Chartered Organization         Mt Pleasant Lutheran Church                               Indian Waters Council 553               101 N Calhoun St                                          Saluda, SC 29138‐1314                                                                                  First Class Mail
Chartered Organization         Mt Pleasant Optimist Club                                 Circle Ten Council 571                  506 Rosewood St                                           Mount Pleasant, TX 75455‐6024                                                                          First Class Mail
Chartered Organization         Mt Pleasant Presbyterian Church                           Coastal Carolina Council 550            302 Hibben St                                             Mt Pleasant, SC 29464‐4312                                                                             First Class Mail
Chartered Organization         Mt Pleasant Ruritan Club                                  Old Hickory Council 427                 P.O. Box 1232                                             Millers Creek, NC 28651‐1232                                                                           First Class Mail
Voting Party                   Mt Pleasant Ruritan Club                                  Attn: Andrew Cockerham                  1207 River St                                             Wilkesboro, NC 28697                                                  andrew.b.cockerham@gmail.com     Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Pleasant Twp Lions Club                                Westmoreland Fayette 512                P.O. Box 156                                              Norvelt, PA 15674‐0156                                                                                 First Class Mail
Voting Party                   Mt Pleasant UMC                                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Pleasant UMC                                           Attn: Gregory H Cappadona               62 Turkyfoot Rd                                           Mineral Wells, WV 26150                                               cappadona.greg@gmail.com         Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Pleasant United Methodist Church                       Attn: Ronald Jones                      202 S Main St                                             Mt Pleasant, TN 38474                                                 1stumcmp@gmail.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Pleasant United Methodist Church ‐ Colora              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Pleasant Untied Methodist Church                       Blue Ridge Mtns Council 599             3035 Mt Pleasant Blvd                                     Roanoke, VA 24014‐5415                                                                                 First Class Mail
Chartered Organization         Mt Pleasant Utd Methodist Church                          Chester County Council 539              1713 Liberty Grove Rd                                     Colora, MD 21917‐1324                                                                                  First Class Mail
Chartered Organization         Mt Pleasant Utd Methodist Church                          Old N State Council 070                 5120 Burlington Rd                                        Greensboro, NC 27405‐8608                                                                              First Class Mail
Chartered Organization         Mt Pleasant Utd Methodist Church                          Buckskin 617                            P.O. Box 37                                               Mineral Wells, WV 26150‐0037                                                                           First Class Mail
Chartered Organization         Mt Pleasant Utd Methodist Church                          Piedmont Council 420                    4136 Mt Pleasant Rd                                       Sherrills Ford, NC 28673‐7809                                                                          First Class Mail
Voting Party                   Mt Pocono United Methodist Church                         Attn: Pastor Bob Amundsen               12 Church Ave                                             Mt Pocono, PA 18344                                                   mtpumc@ptd.net                   Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Pulaski United Methodist Church                        Attn: Pastor Al Sample                  303 E Jefferson                                           Mt Pulaski, IL 62548                                                  fumcmp@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Royal Elementary Middle School                         Baltimore Area Council 220              121 Mcmechen St                                           Baltimore, MD 21217‐4304                                                                               First Class Mail
Voting Party                   Mt Savage UMC                                             Attn: Mary L Sweitzer                   P.O. Box 603                                              Mt Savage, MD 21545                                                   msweitzer1@atlanticbb.net        Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Scott Park Presbyterian Church                         Attn: Elizabeth Rothery                 5512 SE 73rd Ave                                          Portland, OR 97206                                                    mspkclerk@gmail.com              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Shasta Elks Lodge 2333                                 Crater Lake Council 491                 326 N Mt Shasta Blvd                                      Mount Shasta, CA 96067‐2283                                                                            First Class Mail
Chartered Organization         Mt Si Lutheran Church                                     Chief Seattle Council 609               411 Ne 8Th St                                             North Bend, WA 98045                                                                                   First Class Mail
Chartered Organization         Mt Sidney Ruritan Club                                    Stonewall Jackson Council 763           P.O. Box 254                                              Mount Sidney, VA 24467‐0254                                                                            First Class Mail
Voting Party                   Mt Sidney Ruritans                                        Attn: Dewey Baker                       716 Burkes Mill Rd                                        Mt Sidney, Va 24467                                                   Chevy38truck@gmail.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Sinai Baptist Church                                   North Florida Council 087               2036 Silver St                                            Jacksonville, FL 32206‐3652                                                                            First Class Mail
Chartered Organization         Mt Sterling American Legion Post 374                      Mississippi Valley Council 141 141      1111 750N Ave                                             Mt Sterling, IL 62353‐4707                                                                             First Class Mail
Chartered Organization         Mt Summit Christian Church                                Crossroads Of America 160               P.O. Box 253                                              Mount Summit, IN 47361‐0253                                                                            First Class Mail
Voting Party                   Mt Summit Christian Church                                Attn: Treasurer & Jackie Brayton        P.O. Box 310                                              Mt Summit, IN 47361                                                                                    First Class Mail
Voting Party                   Mt Tabor UMC                                              Attn: Christy J Suffecool               108 E Walnut St                                           East Canton, OH 44730                                                 pastor@mttaborumc.com            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Tabor United Methodist Church                          Attn: Pastor Christy Suffecool          108 E Main St                                             East Canton, OH 44730                                                 pastor@mttaborumc.com            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Tabor United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Tabor Utd Methodist Church                             Patriots Path Council 358               P.O. Box 29                                               Mount Tabor, NJ 07878‐0029                                                                             First Class Mail
Chartered Organization         Mt Tabor Utd Methodist Church                             Old Hickory Council 427                 3543 Robinhood Rd                                         Winston Salem, NC 27106‐4703                                                                           First Class Mail
Voting Party                   Mt Vale United Methodist Church                           Attn: Kathy Killon                      3350 Meadow Creek Rd                                      Galax, VA 24333                                                       mtvaleumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Vernon Baptist Church                                  Old Hickory Council 427                 3505 Bamboo Rd                                            Boone, NC 28607‐9673                                                                                   First Class Mail
Chartered Organization         Mt Vernon Baptist Church                                  W Tennessee Area Council 559            2728 Unionville Rd                                        Halls, TN 38040‐5084                                                                                   First Class Mail
Voting Party                   Mt Vernon First UMC                                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Vernon Optimist                                        Crossroads Of America 160               P.O. Box 302                                              Fortville, IN 46040‐0302                                                                               First Class Mail
Chartered Organization         Mt Vernon Outland Airport                                 Greater St Louis Area Council 312       100 Aviation Dr                                           Mount Vernon, IL 62864‐6694                                                                            First Class Mail
Chartered Organization         Mt Vernon Presbyterian                                    Westark Area Council 016                1300 N Davis St                                           Pea Ridge, AR 72751‐3005                                                                               First Class Mail
Voting Party                   Mt Vernon United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Vernon Utd Methodist Church                            National Capital Area Council 082       2006 Belle View Blvd                                      Alexandria, VA 22307‐1336                                                                              First Class Mail
Chartered Organization         Mt Vernon Utd Methodist Church                            Northwest Georgia Council 100           597 Lafayette Rd                                          Rocky Face, GA 30740‐9474                                                                              First Class Mail
Chartered Organization         Mt Vernon Utd Methodist Church                            Quivira Council, Bsa 198                5701 E Mt Vernon St                                       Wichita, KS 67218‐4623                                                                                 First Class Mail
Chartered Organization         Mt Vernon Youth Development Group                         Pee Dee Area Council 552                3181 Hwy 348                                              Loris, SC 29569‐6334                                                                                   First Class Mail
Voting Party                   Mt Vernon, Trinity NC 27370                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Victory UMC (182350)                                   c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Victory Utd Methodist Church                           Black Swamp Area Council 449            115 N Main St                                             Mount Victory, OH 43340‐8912                                                                           First Class Mail
Voting Party                   Mt View Lutheran Church                                   Attn: Church Admn                       3505 122nd Ave E                                          Edgewood, WA 98372                                                    capengineer11@gmail.com          Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt View Methodist Church                                  Sequoyah Council 713                    4405 Orebank Rd                                           Kingsport, TN 37664‐2129                                                                               First Class Mail
Chartered Organization         Mt View Parent Teachers Org                               Westmoreland Fayette 512                1010 Mountain View Dr                                     Greensburg, PA 15601‐3747                                                                              First Class Mail
Chartered Organization         Mt View Utd Methodist Church                              Atlanta Area Council 092                2300 Jamerson Rd                                          Marietta, GA 30066‐1406                                                                                First Class Mail
Chartered Organization         Mt View Utd Methodist Men                                 Blue Ridge Council 551                  6525 Mountain View Rd                                     Taylors, SC 29687‐6976                                                                                 First Class Mail
Chartered Organization         Mt Washington American Legion Post 484                    Dan Beard Council, Bsa 438              1837 Sutton Ave                                           Cincinnati, OH 45230‐1805                                                                              First Class Mail
Chartered Organization         Mt Washington Presbyterian Church                         Dan Beard Council, Bsa 438              6474 Beechmont Ave                                        Cincinnati, OH 45230‐2002                                                                              First Class Mail
Voting Party                   Mt Washington United Methodist Church                     Attn: Paige Bainum                      6365 Corbly Rd                                            Cincinnati, OH 45230                                                  office@mtwashumc.org             Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Washington Utd Bretheren                               New Birth Of Freedom 544                710 Copenhaffer Rd                                        York, PA 17404‐9633                                                                                    First Class Mail
Chartered Organization         Mt Washington Utd Methodist Church                        Lincoln Heritage Council 205            253 Flatlick Rd                                           Mount Washington, KY 40047                                                                             First Class Mail
Chartered Organization         Mt Welcome Baptist Church                                 Atlanta Area Council 092                581 Parker Ave                                            Decatur, GA 30032‐3948                                                                                 First Class Mail
Chartered Organization         Mt Zion                                                   Central N Carolina Council 416          P.O. Box 477                                              China Grove, NC 28023‐0477                                                                             First Class Mail
Chartered Organization         Mt Zion Ame                                               Greater Alabama Council 001             1955 Bainbridge Rd                                        Muscle Shoals, AL 35660                                                                                First Class Mail
Chartered Organization         Mt Zion Baptist Church                                    South Georgia Council 098               1905 Martin Luther King Jr Dr                             Albany, GA 31701‐3614                                                                                  First Class Mail
Chartered Organization         Mt Zion Baptist Church                                    Attn: Rev Odell Cleveland               1301 Alamance Church Rd                                   Greensboro, NC 27406‐9414                                                                              First Class Mail
Chartered Organization         Mt Zion Baptist Church                                    Great Smoky Mountain Council 557        2714 Brooks Ave                                           Knoxville, TN 37914‐6263                                                                               First Class Mail
Chartered Organization         Mt Zion Baptist Church                                    Cradle Of Liberty Council 525           1413 S 50Th St                                            Philadelphia, PA 19143‐5105                                                                            First Class Mail
Chartered Organization         Mt Zion Baptist Church                                    Northeast Georgia Council 101           Whitman St                                                Toccoa, GA 30577                                                                                       First Class Mail
Chartered Organization         Mt Zion Baptist Church                                    Northeast Georgia Council 101           Whitman St                                                Toccoa, GA 30577                                                                                       First Class Mail
Chartered Organization         Mt Zion Baptist Church                                    Old Hickory Council 427                 950 File St                                               Winston Salem, NC 27101‐3233                                                                           First Class Mail
Voting Party                   Mt Zion Evangelical Lutheran Church                       Attn: Jennifer K Oneil                  1343 Long Ln Rd                                           Kutztown, PA 19530                                                    mtzion6210@verizon.net           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Mt Zion Lutheran Church                                   Piedmont Council 420                    4420 County Home Rd                                       Conover, NC 28613‐9641                                                                                 First Class Mail
Chartered Organization         Mt Zion Lutheran Church                                   Hawk Mountain Council 528               1343 Long Ln Rd                                           Kutztown, PA 19530‐9062                                                                                First Class Mail
Chartered Organization         Mt Zion Lutheran Church                                   Southeast Louisiana Council 214         1401 Simon Bolivar Ave                                    New Orleans, LA 70113‐2327                                                                             First Class Mail
Chartered Organization         Mt Zion Lutheran Church                                   Catalina Council 011                    4520 W Ajo Hwy                                            Tucson, AZ 85746‐9706                                                                                  First Class Mail
Voting Party                   Mt Zion Philadelphia                                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Zion UMC                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Zion UMC                                               Attn: Pastor Rev Ron A Tony Smith       P.O. Box 34                                               Calhoun, LA 71225                                                     chaplainsmith52@yahoo.com        Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Zion UMC                                               Attn: Rev Tony Smith                    1010 Hwy 80 E                                             Calhoun, LA 71225                                                                                      First Class Mail
Voting Party                   Mt Zion UMC (5235)                                        c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Zion UMC Finksburg                                     Attn: William Tighe                     2498 Lewis Ln                                             Finksburg, MD 21048                                                   bgeman1234@aol.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   MT Zion UMC Magothy                                       Attn: Ms Rosalind Moore                 8178 Arctic Dr, P.O. Box 128                              Pasadena, MD 21122                                                    johnnie.randolph@verizon.net     Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Zion UMC of Laurel Grove                               Attn: Toni Hayes, Treasurer             27108 Mt Zion Church Rd                                   Mechanicsville, MD 20659                                              admin‐mtzion@md.metrocast.net    Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   MT Zion UMC‐Magothy                                       Attn: Johnnie J Randolph, Jr            P.O. Box 128                                              Pasadena, MD 21122                                                    johnnie.randolph@verizon.net     Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Mt Zion United Methodist Church                           1643 Churchville Rd                     Bel Air, MD 21015                                                                                                               rgvander@yahoo.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                        Page 273 of 442
                                                                                   Case 20-10343-LSS                                               Doc 8171                                                  Filed 01/06/22                                                      Page 289 of 457
                                                                                                                                                                                                Exhibit B
                                                                                                                                                                                                 Service List
                                                                                                                                                                                          Served as set forth below

        Description                                                         Name                                                                                                              Address                                                                                                                Email              Method of Service
Voting Party                   Mt Zion United Methodist Church                            Attn: Philip S Holmes, Sr                          117 Lloyd St                                                           Kingstree, SC 29556                                                    mtzumc@ftc‐i.net                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mt Zion United Methodist Church                            Attn: Philip S Holmes, Sr                          701 St Johns St                                                        Kingstree, SC 29556                                                    mtzumc@ftc‐i.net                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mt Zion United Methodist Church                            Attn: Janice Ann Emmert                            2957 W US Hwy 136                                                      Crawfordsville, IN 47933                                               jdacres70@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mt Zion United Methodist Church ‐ Highland                 Attn: Roger D Colvin                               12400 Scaggsville Rd                                                   Highland, Md 20777                                                     rdcolvin@verizon.net              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mt Zion United Methodist Church ‐ Highland, Md             Attn: Trustee, Roger Colvin                        12430 Scaggsville Rd                                                   Highland, MD 20777                                                     rdcolvin@verizon.net              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mt Zion United Methodist Church ‐ Marietta                 c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mt Zion United Methodist Church (85402)                    c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                                 680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mt Zion United Methodist Church of Central                 Attn: Jonathan Harris                              310 Church St                                                          Central, SC 29630                                                      jdharris@umcsc.org                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mt Zion United Methodist Church of Central                 Attn: David McWilliams                             733 Alpine Dr                                                          Seneca, SC 29672                                                       dmcwilliams1@msn.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Mt Zion Utd Methodist Church                               Louisiana Purchase Council 213                     1010 Hwy 80 E                                                          Calhoun, LA 71225                                                                                        First Class Mail
Chartered Organization         Mt Zion Utd Methodist Church                               Mecklenburg County Council 415                     19600 Zion Ave                                                         Cornelius, NC 28031‐8400                                                                                 First Class Mail
Chartered Organization         Mt Zion Utd Methodist Church                               Bucktail Council 509                               16 Denton Ave                                                          Du Bois, PA 15801‐1207                                                                                   First Class Mail
Chartered Organization         Mt Zion Utd Methodist Church                               New Birth Of Freedom 544                           4685 Mt Zion Dr                                                        Enola, PA 17025‐1461                                                                                     First Class Mail
Chartered Organization         Mt Zion Utd Methodist Church                               Baltimore Area Council 220                         P.O. Box 755                                                           Finksburg, MD 21048                                                                                      First Class Mail
Chartered Organization         Mt Zion Utd Methodist Church                               Baltimore Area Council 220                         12430 Scaggsville Rd                                                   Highland, MD 20777‐9727                                                                                  First Class Mail
Chartered Organization         Mt Zion Utd Methodist Church                               Glaciers Edge Council 620                          2130 Mt Zion Ave                                                       Janesville, WI 53545‐1282                                                                                First Class Mail
Chartered Organization         Mt Zion Utd Methodist Church                               Atlanta Area Council 092                           1770 Johnson Ferry Rd                                                  Marietta, GA 30062                                                                                       First Class Mail
Chartered Organization         Mt Zion Utd Methodist Church                               National Capital Area Council 082                  P.O. Box 1060                                                          Mechanicsville, MD 20659‐1060                                                                            First Class Mail
Chartered Organization         Mt Zion Utd Methodist Church                               Chattahoochee Council 091                          2616 Lee Rd 243                                                        Smiths Station, AL 36877‐2552                                                                            First Class Mail
Voting Party                   Mt. Olivet United Methodist Church                         Joyce M. Lyles                                     P.O. Box 66                                                            11791 Mountain Rd.                  Lovettsville, VA 20180             jmlyles37@gmail.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mt. Olivet United Methodist Church, Lovettsville, VA       Attn: Trustee Chair                                P.O. Box 66                                                            Lovettsville, VA 20180                                                 jmlyles37@gmail.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mt. Zion United Methodist Church (85402)                   c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                                 680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Mta Police                                                 Greater New York Councils, Bsa 640                 420 Lexington Ave Ste 425                                              New York, NY 10170‐0002                                                                                  First Class Mail
Chartered Organization         Mta Police Dept                                            Greater New York Councils, Bsa 640                 420 Lexington Ave Apt 425                                              New York, NY 10170‐0002                                                                                  First Class Mail
Chartered Organization         Mta Police Northern Region                                 Greater New York Councils, Bsa 640                 420 Lexington Ave Ste 425                                              New York, NY 10170‐0002                                                                                  First Class Mail
Chartered Organization         Mtn Light Unitarian Universalist Ch                        Northeast Georgia Council 101                      P.O. Box 442                                                           Ellijay, GA 30540‐0006                                                                                   First Class Mail
Chartered Organization         Mtn Park Utd Methodist Church                              Northeast Georgia Council 101                      1405 Rockbridge Rd                                                     Stone Mountain, GA 30087‐3143                                                                            First Class Mail
Chartered Organization         Mtn View Elem Parent Faculty Club                          Mt Diablo‐Silverado Council 023                    1705 Thornwood Dr                                                      Concord, CA 94521‐1915                                                                                   First Class Mail
Chartered Organization         MtWhitney Baptist Church                                   Southern Sierra Council 030                        P.O. Box 129                                                           Lone Pine, CA 93545‐0129                                                                                 First Class Mail
Chartered Organization         Mueller Elementary PTO                                     Sam Houston Area Council 576                       7074 Fm 2920 Rd                                                        Spring, TX 77379‐2200                                                                                    First Class Mail
Chartered Organization         Muenster Vfw Post 6205                                     Longhorn Council 662                               P.O. Box 661                                                           Muenster, TX 76252‐0661                                                                                  First Class Mail
Firm                           Muhammad Hamidullah Attorney at Law                        Muhammad Hamidullah                                616 Dayton Street                                                      Hamilton, OH 45011                                                     attymolaw@gmail.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Muhlenberg Lions Club                                      Hawk Mountain Council 528                          835 E Bellevue Ave                                                     Laureldale, PA 19605‐1701                                                                                First Class Mail
Voting Party                   Muhlenburg United Methodist Church (179795)                c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                                 680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Muirs Chapel Methodist Church                              Old N State Council 070                            314 Muirs Chapel Rd                                                    Greensboro, NC 27410‐6124                                                                                First Class Mail
Voting Party                   Muir's Chapel United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Mukilteo Presbyterian Church                               Mount Baker Council, Bsa 606                       4514 84Th St Sw                                                        Mukilteo, WA 98275‐3030                                                                                  First Class Mail
Chartered Organization         Mulberry ‐ Fairplains Ruritan Club                         Old Hickory Council 427                            3925 Sparta Rd                                                         North Wilkesboro, NC 28659‐7733                                                                          First Class Mail
Chartered Organization         Mulberry Community Club                                    Crossroads Of America 160                          P.O. Box 611                                                           Mulberry, IN 46058‐0611                                                                                  First Class Mail
Voting Party                   Mulberry Grove United Methodist Church, Inc                Attn: Robert Chase                                 P.O. Box 5                                                             Mulberry Grove, IL 62262                                               rwchase@frontiernet.net           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Mulberry High School Jrotc                                 Greater Tampa Bay Area 089                         1 Panther Pl                                                           Mulberry, FL 33860‐2834                                                                                  First Class Mail
Chartered Organization         Mulberry St Boys And Girls Club                            Hawk Mountain Council 528                          722 Mulberry St                                                        Reading, PA 19604‐2507                                                                                   First Class Mail
Voting Party                   Mulberry St United Methodist Church                        Attn: Jerry Ernst                                  205 N Mulberry                                                         Mt Vernon, OH 43050                                                    secretary@mulberryumc.org         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mulberry St United Methodist Church                        Attn: Karen Carter                                 719 Mulberry St                                                        Macon, GA 31201                                                        kcarter@mulberrymethodist.org     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mulberry United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Mulberry Utd Methodist Church                              Westark Area Council 016                           325 Church Ave                                                         Mulberry, AR 72947                                                                                       First Class Mail
Chartered Organization         Mulberry Utd Methodist Church                              Greater Tampa Bay Area 089                         306 N Church Ave                                                       Mulberry, FL 33860‐2418                                                                                  First Class Mail
Voting Party                   Muleshoe First United Methodist Church                     Attn: Secretary/Treasurer and/or Pastor            507 W 2nd St                                                           Muleshoe, TX 79347                                                     rmedearis@lubbocklawfirm.com      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Mullen Memorial Baptist Church                             Buckskin 617                                       1520 Putnam Howe Dr                                                    Belpre, OH 45714‐2232                                                                                    First Class Mail
Chartered Organization         Mullen Road Ptg                                            Inland NW Council 611                              2616 E 63Rd Ave                                                        Spokane, WA 99223‐6918                                                                                   First Class Mail
Voting Party                   Mullens United Methodist Church                            Attn: Donna Wikel                                  515 Moran Ave                                                          Mullens, WV 25882                                                      dwikel@k12.wv.us                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mullens United Methodist Church                            5740 Bagby Ave                                     Waco, TX 76712                                                                                                                                                                  First Class Mail
Voting Party                   Mullin Hoard & Brown, LLP                                  Attn: David Langston                               P.O. Box 2585                                                          Lubbock, TX 79408                                                      dlangston@mhba.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mullins United Methodist Church                            Attn: Treasurer, Mullins United Methodist Church   4 N Mendenhall Rd                                                      Memphis, TN 38117                                                                                        First Class Mail
Firm                           Mullis Law Firm Wright & Schulte                           Pamela Mullis / Richard W. Schulte                 1229 Elmwood Ave 865 S. Dixie Dr. Vandalia                             Columbia, SC 29201                                                     prmullis@mullislawfirm.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Multi Lakes Conservation Club                              Great Lakes Fsc 272                                3860 Newton Rd                                                         Commerce Township, MI 48382‐4273                                                                         First Class Mail
Chartered Organization         Multicultural Community Center                             Prairielands 117                                   1126 Country Club Ln                                                   Rantoul, IL 61866‐3564                                                                                   First Class Mail
Chartered Organization         Multifamily Mission Ministries                             Sam Houston Area Council 576                       29327 S Plum Creek Dr                                                  Spring, TX 77386‐2302                                                                                    First Class Mail
Chartered Organization         Multilakes Conservation Assn                               Great Lakes Fsc 272                                3860 Newton Rd                                                         Commerce Township, MI 48382‐4273                                                                         First Class Mail
Voting Party                   Mulvane United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Mulvane Utd Methodist Church                               Quivira Council, Bsa 198                           107 S Central Ave                                                      Mulvane, KS 67110‐1717                                                                                   First Class Mail
Voting Party                   MUMC                                                       Attn: Bruce Kenneth Nodurft                        716 Anderson St                                                        Manchester, IA 52057‐1402                                              nodurft@iowatelecom.net           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Muncie Parks And Recreation                                Crossroads Of America 160                          1800 S Grant St                                                        Muncie, IN 47302‐3581                                                                                    First Class Mail
Chartered Organization         Muncy Baptist Church                                       Susquehanna Council 533                            9 W Penn St                                                            Muncy, PA 17756‐1204                                                                                     First Class Mail
Voting Party                   Muncy First United Methodist Church (08380)                c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                                 680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Mundelein Police Dept                                      Northeast Illinois 129                             221 N Lake St                                                          Mundelein, IL 60060‐2205                                                                                 First Class Mail
Chartered Organization         Mundelein Vernon Hills Rotery Club                         Northeast Illinois 129                             P.O. Box 957                                                           Mundelein, IL 60060‐0957                                                                                 First Class Mail
Voting Party                   Mundelein: Vision Church                                   26120 N IL Rt 83                                   Mundelein, IL 60660                                                                                                                           godandwoo@naver.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Munford First United Methodist Church                      Attn: Bob Wilbanks                                 57 S Tipton St                                                         Munford, TN 38058                                                      financialadmin@munfordumc.com     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Munford Utd Methodist Ch Mens Club                         W Tennessee Area Council 559                       57 Tipton St S                                                         Munford, TN 38058‐6402                                                                                   First Class Mail
Voting Party                   Munfordville Fist United Methodist Church                  Attn: Douglas England                              1670 L and N Turnpike Rd                                               Horse Cave, KY 42749                                                   dengland@scrtc.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Munger Place Methodist Church                              Attn: Brenda S Hargett                             3300 Mockingbird Ln                                                    Dallas, TX 75205                                                       hargettb@hpumc.org                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Munger Volunteer Firemen Assoc                             Water And Woods Council 782                        48 E Munger Rd                                                         Munger, MI 48747‐5100                                                                                    First Class Mail
Chartered Organization         Munhall School PTO                                         Three Fires Council 127                            1400 S 13Th Ave                                                        St Charles, IL 60174‐4405                                                                                First Class Mail
Chartered Organization         Munroe Falls/Tallmadge Police Dept                         Great Trail 433                                    43 Munroe Falls Ave                                                    Munroe Falls, OH 44262‐1537                                                                              First Class Mail
Voting Party                   Munsey Memorial United Methodist Church                    Attn: Carol Wilson, Senior Pastor                  201 S Roan St                                                          P.O. Box 1336                       Johnson City, TN 37605             carol@munsey.org                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Munsey Memorial Utd Methodist Church                       Sequoyah Council 713                               P.O. Box 1336                                                          Johnson City, TN 37605‐1336                                                                              First Class Mail
Chartered Organization         Munson Fire Dept                                           Lake Erie Council 440                              12200 Auburn Rd                                                        Chardon, OH 44024‐9454                                                                                   First Class Mail
Voting Party                   Munsonville UMC                                            Attn: Bill Steiniger                               71 N Shore Rd                                                          Munsonville, NH 03457                                                  tobydopy@gmail.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Munsonville UMC                                            c/o Chapel by the Lake Attn John Halter            529 Granite Lake Rd                                                    Munsonville, NH 03457                                                  billtx.25@gmail.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Munster Lions Club                                         Pathway To Adventure 456                           P.O. Box 3273                                                          Munster, IN 46321‐0273                                                                                   First Class Mail
Chartered Organization         Munster Police Dept                                        Pathway To Adventure 456                           1001 Ridge Rd                                                          Munster, IN 46321‐1849                                                                                   First Class Mail
Chartered Organization         Murbach Seifert Post 479 American Legion                   Erie Shores Council 460                            200 S Hallett Ave                                                      Swanton, OH 43558‐1353                                                                                   First Class Mail
Chartered Organization         Murdock Elementary School PTA                              Atlanta Area Council 092                           2320 Murdock Rd                                                        Marietta, GA 30062‐4571                                                                                  First Class Mail
Chartered Organization         Murfreesboro Rotary Club Hertford                          East Carolina Council 426                          1 University Pl                                                        Murfreesboro, NC 27855‐1855                                                                              First Class Mail
Chartered Organization         Murphy Booster Club                                        Greater St Louis Area Council 312                  2101 Valley Dr                                                         High Ridge, MO 63049‐2655                                                                                First Class Mail
Chartered Organization         Murphy Chamber Of Commerce                                 Circle Ten Council 571                             120 E Fm 544 Pmb 157 Ste 72                                            Murphy, TX 75094‐4034                                                                                    First Class Mail
Chartered Organization         Murphy Police Dept                                         Circle Ten Council 571                             206 N Murphy Rd                                                        Murphy, TX 75094‐3512                                                                                    First Class Mail
Voting Party                   Murphytown United Methodist Church                         Attn: Ken Nichols, Treasurer                       162 Red Hill Church Rd                                                 Parkersburg, WV 26104                                                                                    First Class Mail
Chartered Organization         Murrah High School                                         Andrew Jackson Council 303                         1400 Murrah Dr                                                         Jackson, MS 39202‐1229                                                                                   First Class Mail
Chartered Organization         Murray Ave Sch                                             Parent Teacher Assoc                               250 Murray Ave                                                         Larchmont, NY 10538‐1600                                                                                 First Class Mail
Chartered Organization         Murray Christian Church                                    Mid‐America Council 326                            305 N Church Ave                                                       Murray, NE 68409                                                                                         First Class Mail
Voting Party                   Murray First United Methodist Church                       Attn: Donya Hall                                   503 Maple St                                                           Murray, KY 42071                                                       finance@murrayfirst.com           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Murray Hill UMC ‐ Jacksonville                             c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Murray Hills Christian Church                              Attn: Sharon Becker Jarman                         15050 SW Weir Rd                                                       Beaverton, OR 97007                                                    murray.hills@comcast.net          Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Murray Kiwanis Club                                        Lincoln Heritage Council 205                       6889 State Rte 94 W                                                    Murray, KY 42071‐8440                                                                                    First Class Mail
Chartered Organization         Murray Lake Family Links                                   President Gerald R Ford 781                        3275 Alden Nash Ave Ne                                                 Lowell, MI 49331‐8581                                                                                    First Class Mail
Chartered Organization         Murray Ridge Friends                                       Lake Erie Council 440                              9750 Murray Ridge Rd                                                   Elyria, OH 44035‐6959                                                                                    First Class Mail
Chartered Organization         Murray School Parent‐Faculty Assoc                         San Francisco Bay Area Council 028                 8416 Briarwood Ln                                                      Dublin, CA 94568‐1219                                                                                    First Class Mail
Chartered Organization         Murray Utd Methodist Church                                Mid Iowa Council 177                               701 Maple St                                                           Murray, IA 50174                                                                                         First Class Mail
Chartered Organization         Murray‐Stuart Legion Post 566                              Cradle Of Liberty Council 525                      35 S Glen Ave                                                          Glenolden, PA 19036‐1901                                                                                 First Class Mail
Chartered Organization         Murrieta Fire                                              California Inland Empire Council 045               41825 Juniper St                                                       Murrieta, CA 92562‐7200                                                                                  First Class Mail
Chartered Organization         Murrieta Lions                                             California Inland Empire Council 045               26821 Adams Ave                                                        Murrieta, CA 92562                                                                                       First Class Mail
Chartered Organization         Murrieta Police Dept                                       California Inland Empire Council 045               2 Town Sq                                                              Murrieta, CA 92562‐7921                                                                                  First Class Mail
Chartered Organization         Murrieta Rotary                                            California Inland Empire Council 045               40485D Murrieta Hot Springs Rd, Ste 334                                Murrieta, CA 92563                                                                                       First Class Mail
Voting Party                   Murrieta United Methodist Church                           Attn: Chair of Trustees                            24652 Adams Ave                                                        Murrieta, CA 92562                                                     mumc@murrietaunc.org              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Murrieta Utd Methodist Men                                 California Inland Empire Council 045               P.O. Box 602                                                           Murrieta, CA 92564‐0602                                                                                  First Class Mail
Firm                           Murrin Law Firm                                            J. Owen Murrin                                     7040 E. Los Santos Drive                                               Long Beach, CA 90815                                                   jmurrin@murrinlawfirm.com         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Murrysville Volunteer Fire Co Station 20                   Westmoreland Fayette 512                           3235 Sardis Rd                                                         Murrysville, PA 15668                                                                                    First Class Mail
Chartered Organization         Murtaugh Ward ‐ Kimberly Stake                             Snake River Council 111                            23709 Hwy 30                                                           Murtaugh, ID 83344                                                                                       First Class Mail
Chartered Organization         Muscatine Fire Dept                                        Illowa Council 133                                 312 E 5Th St                                                           Muscatine, IA 52761‐4258                                                                                 First Class Mail
Chartered Organization         Muscatine Salvation Army                                   Illowa Council 133                                 1000 Oregon St                                                         Muscatine, IA 52761‐5705                                                                                 First Class Mail
Chartered Organization         Muscogee Creek Nation Lighthorse Police                    Indian Nations Council 488                         2200 Alligator                                                         Okmulgee, OK 74447                                                                                       First Class Mail
Chartered Organization         Musconetcong American Legion Post 278                      Patriots Path Council 358                          Rt 183                                                                 Stanhope, NJ 07874                                                                                       First Class Mail
Voting Party                   Muscoy Community Methodist Church                          c/o East District Union of the UMC                 Attn: John Dandurand                                                   918 N Euclid Ave                    Ontario, CA 91762                  eastdistrict@calpacumc.org        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Museum Masterworks Inc                                     8417 Glazebrook Ave                                Richmond, VA 23228‐2804                                                                                                                                                         First Class Mail
Chartered Organization         Museum Of The American Railroad                            Circle Ten Council 571                             6455 Page Rd                                                           Frisco, TX 75034‐3486                                                                                    First Class Mail
Chartered Organization         Museum Of The Kansas National Guard                        Jayhawk Area Council 197                           125 Se Airport Dr                                                      Topeka, KS 66619‐1373                                                                                    First Class Mail
Chartered Organization         Musicians Fellowship International                         Longhorn Council 662                               10400 Jacksboro Hwy                                                    Fort Worth, TX 76135‐9161                                                                                First Class Mail
Chartered Organization         Muskego Kiwanis Club                                       Potawatomi Area Council 651                        P.O. Box 1414                                                          Muskego, WI 53150                                                                                        First Class Mail
Chartered Organization         Muskego Lions Club                                         Potawatomi Area Council 651                        P.O. Box 43                                                            Muskego, WI 53150‐0043                                                                                   First Class Mail
Chartered Organization         Muskegon 21St Century Program                              President Gerald R Ford 781                        349 W Webster Ave                                                      Muskegon, MI 49440‐1208                                                                                  First Class Mail
Chartered Organization         Muskegon Northside Lions                                   President Gerald R Ford 781                        2948 Ridgeview St                                                      Muskegon, MI 49445‐2500                                                                                  First Class Mail
Chartered Organization         Muskingum University                                       Muskingum Valley Council, Bsa 467                  Stormont Ave                                                           New Concord, OH 45762                                                                                    First Class Mail
Chartered Organization         Muskingum Valley Council, Bsa                              Muskingum Valley Council, Bsa 467                  734 Moorehead Ave                                                      Zanesville, OH 43701‐3349                                                                                First Class Mail
Chartered Organization         Muslim Academy                                             Southeast Louisiana Council 214                    440 Realty Dr                                                          Gretna, LA 70056‐7749                                                                                    First Class Mail
Chartered Organization         Muslim American Society                                    National Capital Area Council 082                  6408 Edsall Rd Ste 2                                                   Alexandria, VA 22312‐6475                                                                                First Class Mail
Chartered Organization         Muslim American Society                                    National Capital Area Council 082                  20500 Boland Farm Rd                                                   Germantown, MD 20876‐4020                                                                                First Class Mail
Chartered Organization         Muslim American Society                                    Sam Houston Area Council 576                       12502 Heath Park Trl                                                   Houston, TX 77089‐1900                                                                                   First Class Mail
Chartered Organization         Muslim American Society                                    Houston Chapter                                    1800 Baker Rd                                                          Houston, TX 77094‐3111                                                                                   First Class Mail
Chartered Organization         Muslim American Society                                    Occoneechee 421                                    2220 Jones Franklin Rd                                                 Raleigh, NC 27606‐4028                                                                                   First Class Mail
Chartered Organization         Muslim American Society                                    Occoneechee 421                                    2220 Jones Franklin Rd                                                 Raleigh, NC 27606‐4028                                                                                   First Class Mail
Chartered Organization         Muslim American Society                                    Circle Ten Council 571                             1515 Blake Dr                                                          Richardson, TX 75081‐2504                                                                                First Class Mail
Chartered Organization         Muslim American Society                                    Atlanta Area Council 092                           345 Market Pl                                                          Roswell, GA 30075‐3929                                                                                   First Class Mail
Chartered Organization         Muslim American Society Mas                                Grand Canyon Council 010                           1071 N Alma School Rd                                                  Chandler, AZ 85224‐3128                                                                                  First Class Mail
Chartered Organization         Muslim American Society Of Washington                      National Capital Area Council 082                  6408 Edsall Rd                                                         Alexandria, VA 22312‐6474                                                                                First Class Mail
Chartered Organization         Muslim Assoc Cleveland East                                Lake Erie Council 440                              26901 Chardon Rd                                                       Richmond Heights, OH 44143‐1111                                                                          First Class Mail
Chartered Organization         Muslim Assoc Of The Triad                                  Old Hickory Council 427                            1435 Lake Cottage Rd                                                   Clemmons, NC 27012‐9214                                                                                  First Class Mail
Chartered Organization         Muslim Assoc Of Virginia Inc                               National Capital Area Council 082                  5404 Hoadly Rd                                                         Manassas, VA 20112‐8686                                                                                  First Class Mail
Chartered Organization         Muslim Center Of Middlesex County ‐ Mcmc                   Patriots Path Council 358                          1000 Hoes Ln E                                                         Piscataway, NJ 08854‐5090                                                                                First Class Mail
Chartered Organization         Muslim Commty                                              Center Of Greater San Diego                        14698 Via Fiesta                                                       San Diego, CA 92127‐3868                                                                                 First Class Mail
Chartered Organization         Muslim Community Center                                    Great Salt Lake Council 590                        1888 E Fort Union Blvd                                                 Cottonwood Heights, UT 84121‐3052                                                                        First Class Mail
Chartered Organization         Muslim Community Center                                    San Diego Imperial Council 049                     14698 Via Fiesta                                                       San Diego, CA 92127‐3868                                                                                 First Class Mail
Chartered Organization         Muslim Community Center Of Charlotte                       Mecklenburg County Council 415                     4301 Shamrock Dr                                                       Charlotte, NC 28215‐3915                                                                                 First Class Mail
Chartered Organization         Muslim Community Center Of Charlotte                       Mecklenburg County Council 415                     3116 Johnston Oehler Rd                                                Charlotte, NC 28269‐1009                                                                                 First Class Mail
Chartered Organization         Muslim Community Center Of Charlotte                       Mecklenburg County Council 415                     3020 Prosperity Church Rd Ste I                                        Charlotte, NC 28269‐8100                                                                                 First Class Mail
Chartered Organization         Muslim Community Of New Jersey, Masjid                     Patriots Path Council 358                          15 S 2Nd St                                                            Fords, NJ 08863‐1614                                                                                     First Class Mail
Voting Party                   Musserville United Methodist Church                        Attn: W Michael Biklen                             1001 Oregon St                                                         Muscatine, IA 52761                                                    wmbiklen@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Mustang United Methodist Church                            Attn: Becky King                                   211 W Hwy 152                                                          Mustang, OK 73064                                                      Becky@mustangUMC.org              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Mustang Utd Methodist Church                               Last Frontier Council 480                          211 W State Hwy 152                                                    Mustang, OK 73064‐3915                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                 Page 274 of 442
                                                                                   Case 20-10343-LSS                                     Doc 8171                                         Filed 01/06/22                                                      Page 290 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                         Name                                                                                           Address                                                                                                                                      Email               Method of Service
Voting Party                   Mutual of America                                           2398 E Camelback Rd                      Phoenix, AZ 85016                                                                                                                                                                            First Class Mail
Chartered Organization         Muwekma Village ‐ Order Of The Arrow                        Pacific Skyline Council 031              1150 Chess Dr                                                Foster City, CA 94404‐1107                                                                                                      First Class Mail
Chartered Organization         Mvpa Musalla                                                Pacific Skyline Council 031              849 Independence Ave Ste C                                   Mountain View, CA 94043‐2389                                                                                                    First Class Mail
Chartered Organization         Mwb Shape                                                   Transatlantic Council, Bsa 802           Cmr 450 Box 7500                                             Apo, AE 09705                                                                                                                   First Class Mail
Chartered Organization         Mwb Support Group                                           Transatlantic Council, Bsa 802           Cmr 450 Box 7500                                             Apo, AE 09705                                                                                                                   First Class Mail
Chartered Organization         My Kid's Club Serving Johnston County                       Tuscarora Council 424                    P.O. Box 784                                                 Selma, NC 27576‐0784                                                                                                            First Class Mail
Chartered Organization         My Mattress                                                 Trapper Trails 589                       981 S Main St                                                Logan, UT 84321‐6053                                                                                                            First Class Mail
Chartered Organization         My Tire Guys, Inc                                           Utah National Parks 591                  9999 N 5320 W                                                Highland, UT 84003‐3501                                                                                                         First Class Mail
Chartered Organization         Myakka Family Worship Center                                Southwest Florida Council 088            33420 Singletary Rd                                          Myakka City, FL 34251‐9524                                                                                                      First Class Mail
Chartered Organization         Mycapa, LLC                                                 Tidewater Council 596                    P.O. Box 7578                                                Portsmouth, VA 23707‐0578                                                                                                       First Class Mail
Chartered Organization         Myers And Chapman                                           Mecklenburg County Council 415           1101 Woodrdg Ctr Dr Ste 160                                  Charlotte, NC 28217‐2085                                                                                                        First Class Mail
Chartered Organization         Myers Civic Group                                           Water And Woods Council 782              5524 Chalfonte Pass Dr                                       Grand Blanc, MI 48439‐9145                                                                                                      First Class Mail
Chartered Organization         Myers Elementary                                            Buffalo Trace 156                        3660 Cannelton Hts                                           Cannelton, IN 47520‐6852                                                                                                        First Class Mail
Voting Party                   Myers Lawn Care Services                                    c/o Douglas A Bicksler Cpa               Hc 40 Box 69                                                 Lewisburg, WV 24901                                                                                                             First Class Mail
Voting Party                   Myers Memorial United Methodist Church                      Attn: Jason Scofield‐Trustees            301 S New Hope Rd                                            Gastonia, NC 28054                                                                           heather@myersmemorialumc.com       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Myers Memorial Utd Methodist Church                         Piedmont Council 420                     301 New Hope Rd                                              Gastonia, NC 28054                                                                                                              First Class Mail
Chartered Organization         Myers Park Presbyterian Church                              Mecklenburg County Council 415           2501 Oxford Pl                                               Charlotte, NC 28207‐2527                                                                                                        First Class Mail
Voting Party                   Myers Park United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200            Tampa, FL 33602                                          erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Myers Park Utd Methodist Church                             Mecklenburg County Council 415           1020 Providence Rd                                           Charlotte, NC 28207‐2535                                                                                                        First Class Mail
Chartered Organization         Myers Prescott Olson Post 50 AmerLegion                     Daniel Webster Council, Bsa 330          Post 50 AmerLegion                                           West St                             Antrim, NH 03440                                                                            First Class Mail
Chartered Organization         Myers PTO                                                   Great Lakes Fsc 272                      16201 Lauren St                                              Taylor, MI 48180‐4854                                                                                                           First Class Mail
Chartered Organization         Myerstown Utd Church Of Christ                              Pennsylvania Dutch Council 524           310 W Main Ave                                               Myerstown, PA 17067‐1023                                                                                                        First Class Mail
Chartered Organization         Myricks Methodist Church                                    Narragansett 546                         93 Myricks St                                                Berkley, MA 02779‐1814                                                                                                          First Class Mail
Voting Party                   Myricks United Methodist Church                             Attn: Irene Curtin                       93 Myricks St                                                Berkley, MA 02779                                                                            apanda50@aol.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Myrtle Grove Methodist Church                               Gulf Coast Council 773                   1030 N 57Th Ave                                              Pensacola, FL 32506‐4600                                                                                                        First Class Mail
Chartered Organization         Myrtle Grove Presbyterian Church                            Cape Fear Council 425                    800 Piner Rd                                                 Wilmington, NC 28409‐4204                                                                                                       First Class Mail
Chartered Organization         Myrtle Point Lions Club                                     Oregon Trail Council 697                 P.O. Box 306                                                 Myrtle Point, OR 97458‐0306                                                                                                     First Class Mail
Voting Party                   Mysti Webber                                                1625 Dixmont Rd                          Etna, ME 04434                                                                                                                                            mwebber@rsu19.net                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         N Baltimore Rotary Club                                     Erie Shores Council 460                  114 S Main St                                                North Baltimore, OH 45872‐1317                                                                                                  First Class Mail
Chartered Organization         N Brewer Eddington Utd Methodist Ch                         Katahdin Area Council 216                31 Main Rd                                                   Eddington, ME 04428‐3001                                                                                                        First Class Mail
Chartered Organization         N Brookfield                                                Prouty Post 3439 And St Josephs Church   Heart Of New England Council 230                             28 Mount Pleasant St                Maple St                    North Brookfield, Ma 01535                                      First Class Mail
Chartered Organization         N Brookfield                                                Lds Branch Springfield Stake             108 New Braintree Rd                                         North Brookfield, MA 01535‐1609                                                                                                 First Class Mail
Chartered Organization         N Brookfield ‐ St Josephs Church                            Heart Of New England Council 230         28 Mt Pleasant St                                            North Brookfield, MA 01535‐1519                                                                                                 First Class Mail
Chartered Organization         N Chemung Utd Methodist Church                              Five Rivers Council, Inc 375             677 Breesport N Chemung Rd                                   Lowman, NY 14861‐8960                                                                                                           First Class Mail
Chartered Organization         N Collier Fire Control & Rescue Distr                       Southwest Florida Council 088            1885 Veterans Park Dr                                        Naples, FL 34109‐0492                                                                                                           First Class Mail
Chartered Organization         N E W Lions                                                 Northern Star Council 250                245 Park St                                                  Elko New Market, MN 55054‐5412                                                                                                  First Class Mail
Chartered Organization         N Glendale Elementary PTA                                   Greater St Louis Area Council 312        765 N Sappington Rd                                          St Louis, MO 63122‐3257                                                                                                         First Class Mail
Chartered Organization         N Kingstown High Sch Project Adventure                      Narragansett 546                         150 Fairway Dr                                               North Kingstown, RI 02852‐6202                                                                                                  First Class Mail
Chartered Organization         N Myrtle Beach Dept                                         Public Safety Law Enforcement            1015 2Nd Ave S                                               North Myrtle Beach, SC 29582‐3106                                                                                               First Class Mail
Voting Party                   N Pownal UMC                                                Attn: Kimberly Drew                      P.O. Box 107                                                 851 Lawrence Rd                     Pawnal, ME 04069                                         northpawnalumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   N Raleigh UMC Inc                                           Attn: Treasurer                          8501 Honeycutt Rd                                            Raleigh, NC 27615                                                                            busadmin@nrumc.org                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         N W Harllee E C                                             Circle Ten Council 571                   1216 E 8Th St                                                Dallas, TX 75203‐2500                                                                                                           First Class Mail
Chartered Organization         Na Ohana O Ke Awawa Polynesian Troupe                       Greater Yosemite Council 059             P.O. Box 577441                                              Modesto, CA 95357‐7441                                                                                                          First Class Mail
Chartered Organization         NA Utd Methodist Scouters                                   W Tennessee Area Council 559             P.O. Box 25                                                  Paris, TN 38242‐0025                                                                                                            First Class Mail
Chartered Organization         Naacp/Shiloh Missionary Baptist Church                      Longhorn Council 662                     2823 N Houston St                                            Fort Worth, TX 76106‐7138                                                                                                       First Class Mail
Chartered Organization         Nacogdoches County Sheriff's Office                         East Texas Area Council 585              2306 Douglass Rd                                             Nacogdoches, TX 75964‐3825                                                                                                      First Class Mail
Chartered Organization         Nacogdoches LDS First Ward                                  East Texas Area Council 585              902 Scarlet Oak St                                           Nacogdoches, TX 75964‐7142                                                                                                      First Class Mail
Firm                           Nagel Rice LLP                                              Bruce H. Nagel; Bradley L. Rice          103 Eisenhower Parkway                                       Roseland, NJ 07039                                                                           bnagel@nagelrice.com               Email
                                                                                                                                                                                                                                                                                              brlce@nagelrlce.com                First Class Mail
Voting Party                   Nahunta United Methodist Church                             Attn: Lelia C Morgan, Treasurer          P.O. Box 126                                                 Nahunta, GA 31553                                                                            numc241@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Nall Hill Homeowners Assoc                                  Heart Of America Council 307             6009 W 99Th St                                               Overland Park, KS 66207‐2808                                                                                                    First Class Mail
Voting Party                   Naman, Howell, Smith & Lee, PLLC                            Attn: Kerry Lee Haliburton               400 Austin Ave, Ste 800                                      Waco, TX 76701                                                                               haliburton@namanhowell.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Naman, Howell, Smith & Lee, PLLC                            Attn: Kerry Lee Haliburton               400 Austin Ave, Suite 800                                    Waco, TX 76701                                                                               haliburton@namanhowell.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Namaqua Parent Committee For Education                      Longs Peak Council 062                   209 N Namaqua Ave                                            Loveland, CO 80537‐4479                                                                                                         First Class Mail
Chartered Organization         Namas                                                       Transatlantic Council, Bsa 802           504 Woodshire Ln                                             Herndon, VA 20170‐3327                                                                                                          First Class Mail
Voting Party                   Nameoki United Methodist Church                             Attn: J W Wyatt, Treasurer               1900 Pontoon Rd                                              Granite City, IL 62040                                                                       nameokifinance@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Nami Northwoods                                             Samoset Council, Bsa 627                 P.O. Box 262                                                 Wausau, WI 54402‐0262                                                                                                           First Class Mail
Chartered Organization         Nampa Elks Lodge 1389                                       Ore‐Ida Council 106 ‐ Bsa 106            1116 1St St S                                                Nampa, ID 83651‐3909                                                                                                            First Class Mail
Voting Party                   Nampa First United Methodist                                c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200            Tampa, FL 33602                                          erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Nanakuli Elementary School Supporters                       Aloha Council, Bsa 104                   89‐778 Haleakala Ave                                         Waianae, HI 96792‐4016                                                                                                          First Class Mail
Chartered Organization         Nance Elementary                                            Greater St Louis Area Council 312        8959 Riverview Blvd                                          St Louis, MO 63147‐1475                                                                                                         First Class Mail
Chartered Organization         Nancy Cochran Elem Concerned Citizens                       Circle Ten Council 571                   6000 Keeneland Pkwy                                          Dallas, TX 75211‐6930                                                                                                           First Class Mail
Voting Party                   Nancy Cooper                                                c/o Christian & Small LLP                Attn: Bill Bensinger                                         505 N 20th St, Ste 1800             Birmingham, AL 35203                                     bdbensinger@csattorneys.com        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Nancy Ryles Nrco                                            Cascade Pacific Council 492              10250 Sw Cormorant Dr                                        Beaverton, OR 97007‐8452                                                                                                        First Class Mail
Chartered Organization         Nang Magazine                                               Silicon Valley Monterey Bay 055          P.O. Box 111604                                              Campbell, CA 95011‐1604                                                                                                         First Class Mail
Chartered Organization         Nanticoke High Adventure                                    Del Mar Va 081                           5700 Nanticoke Rd                                            Seaford, DE 19973‐6079                                                                                                          First Class Mail
Voting Party                   Nanty Glo United Methodist Church (98368)                   c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200          Pittsburgh, PA 15228                                     lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Nanuet Family Resource Center                               Hudson Valley Council 374                50 Blauvelt Rd                                               Nanuet, NY 10954‐3445                                                                                                           First Class Mail
Chartered Organization         Napa County Firefighters Assoc                              Mt Diablo‐Silverado Council 023          5890 Pope Valley Rd                                          Pope Valley, CA 94567                                                                                                           First Class Mail
Chartered Organization         Napa Fire Dept & Napa City Firefighters                     Mt Diablo‐Silverado Council 023          930 Seminary St                                              Napa, CA 94559‐2813                                                                                                             First Class Mail
Voting Party                   Napa Parts Center Inc                                       45 E Chapman St                          Ely, MN 55731‐1227                                                                                                                                                                           First Class Mail
Chartered Organization         Naper Home & School Assoc                                   Three Fires Council 127                  39 S Eagle St                                                Naperville, IL 60540‐4421                                                                                                       First Class Mail
Chartered Organization         Naperville Fire Dept                                        Three Fires Council 127                  1380 Aurora Ave                                              Naperville, IL 60540‐6206                                                                                                       First Class Mail
Chartered Organization         Naperville Police Dept                                      Three Fires Council 127                  1350 Aurora Ave                                              Naperville, IL 60540‐6206                                                                                                       First Class Mail
Chartered Organization         Naperville Presbyterian Church                              Three Fires Council 127                  943 Sanctuary Ln                                             Naperville, IL 60540‐0382                                                                                                       First Class Mail
Voting Party                   Naperville: Grace                                           300 E Gartner Rd                         Naperville, IL 60540                                                                                                                                      cindy.marino@peopleofgrace.org     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Napier Community Center                                     Middle Tennessee Council 560             73 Fairfield Ave                                             Nashville, TN 37210‐2789                                                                                                        First Class Mail
Chartered Organization         Naples Area Chief Petty Officers Assoc                      Transatlantic Council, Bsa 802           Psc 808 Box 5                                                Fpo, AE 09618‐0001                                                                                                              First Class Mail
Chartered Organization         Naples Area Chief Petty Officers Assoc                      Transatlantic Council, Bsa 802           Psc 822 Box 1452                                             Fpo, AE 09621‐0015                                                                                                              First Class Mail
Chartered Organization         Naples Area Chief Petty Officers Assoc                      Transatlantic Council, Bsa 802           Psc 817                                                      Fpo, AE 09622‐9998                                                                                                              First Class Mail
Chartered Organization         Naples Rotary Club                                          Seneca Waterways 397                     6272 State Rte 64                                            Naples, NY 14512‐9118                                                                                                           First Class Mail
Firm                           Napoli Schkolnik PLLC                                       Brett Busamante                          400 Broadhollow Road, Ste 305                                Melville, NY 11747                                                                                                              First Class Mail
Firm                           Napoli Schkolnik PLLC                                       Napoli Shkolnik                          400 Broadhollow Road                                         Melville, NY 11747                                                                                                              First Class Mail
Chartered Organization         Nappanee Conservation Club                                  Lasalle Council 165                      P.O. Box 311                                                 Nappanee, IN 46550‐0311                                                                                                         First Class Mail
Chartered Organization         Nappanee Noon Kiwanis                                       Lasalle Council 165                      P.O. Box 438                                                 Nappanee, IN 46550‐0438                                                                                                         First Class Mail
Voting Party                   Nappanee United Methodist Church                            Attn: Treasurer                          301 E Market St                                              Nappanee, IN 46550                                                                           office@nappaneeumc.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Nardin Park Community Church                                Great Lakes Fsc 272                      5027 W Boston Blvd                                           Detroit, MI 48204‐1435                                                                                                          First Class Mail
Voting Party                   Nardin Park United Methodist Church                         Attn: Pastor                             29887 W 11 Mile Rd                                           Farmington Hills, MI 48336                                                                   melanie.npchurch@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Nari                                                        Mecklenburg County Council 415           P.O. Box 12445                                               Charlotte, NC 28220‐2445                                                                                                        First Class Mail
Chartered Organization         Narragansett Citizens Committee Inc                         Narragansett 546                         Narra Commun Center                                          Mumford Rd                          Narragansett, RI 02882                                                                      First Class Mail
Voting Party                   Narron Wenzel PA                                            Attn: David F Mills                      P.O. Box 1567                                                Smithfield, NC 27577                                                                         dmills@narronwenzel.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Narrowsburg United Methodist Church                         Attn: Karen Valenti                      6184 State Rte 97                                            Narrowsburg, NY 12764                                                                        klvalenti@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Narrowsburg United Methodist Church                         Attn: Ronald Schalck                     42 Mohn Rd                                                   Narrowsburg, NY 12764                                                                                                           First Class Mail
Voting Party                   NASCO                                                       Attn: Sue Prophett                       901 Janesville Ave                                           Ft Atkinson, WI 53538                                                                        sprophett@enasco.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Nash Road Free Methodist Chruch                             Greater Niagara Frontier Council 380     958 Nash Rd                                                  North Tonawanda, NY 14120‐3427                                                                                                  First Class Mail
Chartered Organization         Nash Road Free Methodist Church                             Greater Niagara Frontier Council 380     61 Payne Ave                                                 North Tonawanda, NY 14120‐6012                                                                                                  First Class Mail
Chartered Organization         Nashold                                                     Blackhawk Area 660                       3303 20Th St                                                 Rockford, IL 61109‐2312                                                                                                         First Class Mail
Chartered Organization         Nashport PTO                                                Muskingum Valley Council, Bsa 467        3775 Creamery Rd                                             Nashport, OH 43830‐9566                                                                                                         First Class Mail
Chartered Organization         Nashport Utd Methodist Church                               Muskingum Valley Council, Bsa 467        7941 Obannon Rd                                              Nashport, OH 43830‐9299                                                                                                         First Class Mail
Chartered Organization         Nashua Fish And Game Assoc                                  Daniel Webster Council, Bsa 330          P.O. Box 28                                                  Nashua, NH 03061‐0028                                                                                                           First Class Mail
Chartered Organization         Nashua Police Dept                                          Daniel Webster Council, Bsa 330          P.O. Box 785                                                 Nashua, NH 03061‐0785                                                                                                           First Class Mail
Voting Party                   Nashua Presbyterian Church                                  Attn: Treasurer & Henry MB Voorhis Jr    1010 W Hollis St                                             Nashua, NH 03062                                                                             lil0895@aol.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Nashville Baptist Church                                    East Carolina Council 426                1118 Birchwood Dr                                            Nashville, NC 27856‐1616                                                                                                        First Class Mail
Chartered Organization         Nashville Classical School                                  Middle Tennessee Council 560             2000 Greenwood Ave                                           Nashville, TN 37206‐1725                                                                                                        First Class Mail
Voting Party                   Nashville Grace United Methodist Church                     Attn: Kourtney Hake                      250 N Mill St                                                Nashville, IL 62263                                                                          nashvillegraceumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Nashville Methodist Church                                  East Carolina Council 426                309 W Washington St                                          Nashville, NC 27856                                                                                                             First Class Mail
Voting Party                   Nashville UMC                                               Attn: Brad Lewis                         209 E Washington St                                          Nashville, NC 27856                                                                          Bradlewis5@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Nashville United Methodist Church                           Attn: Tamara Martin                      210 Washington St.                                           P.O. Box 370                        Nashville, MI 49073                                      numcoffice@att.net                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Nashville United Methodist Church                           Attn: Pastor Mary Cartwright             P.O. Box 518                                                 36 S Jefferson St                   Nashville, IN 47448                                      mary.cartwright@nashvilleumc.com   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Nashville United Methodist Church                           P.O. Box 5036                            Nashville, GA 31639                                                                                                                                       marchief1@bellsouth.net            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Nashville United Methodist Church                           Attn: Mark A Addington                   P.O. Box 5036                                                Nashville, GA 31639                                                                          marchief1@bellsouth.net            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Nashville Utd Methodist Church                              South Georgia Council 098                304 S Berrien St                                             Nashville, GA 31639‐2111                                                                                                        First Class Mail
Chartered Organization         Nashville Utd Methodist Church                              Buckeye Council 436                      302 W Millersburg St                                         Nashville, OH 44661                                                                                                             First Class Mail
Chartered Organization         Nassau County Pal                                           Theodore Roosevelt Council 386           972 Leeds Dr                                                 North Bellmore, NY 11710‐1027                                                                                                   First Class Mail
Chartered Organization         Nassau County Police Dept                                   Theodore Roosevelt Council 386           1490 Franklin Ave                                            Mineola, NY 11501‐4801                                                                                                          First Class Mail
Chartered Organization         Nassau County Police Dept 1St Precinct                      Theodore Roosevelt Council 386           900 Merrick Rd                                               Baldwin, NY 11510‐3332                                                                                                          First Class Mail
Chartered Organization         Nassau County Police Dept 2Nd Precinct                      Theodore Roosevelt Council 386           7700 Jericho Tpke                                            Woodbury, NY 11797‐1704                                                                                                         First Class Mail
Chartered Organization         Nassau County Police Dept 3Rd Precinct                      Theodore Roosevelt Council 386           214 Hillside Ave                                             Williston Park, NY 11596‐2207                                                                                                   First Class Mail
Chartered Organization         Nassau County Police Dept 4Th Precinct                      Theodore Roosevelt Council 386           1699 Broadway                                                Hewlett, NY 11557‐1534                                                                                                          First Class Mail
Chartered Organization         Nassau County Police Dept 7Th Precinct                      Theodore Roosevelt Council 386           3636 Merrick Rd                                              Seaford, NY 11783‐2809                                                                                                          First Class Mail
Voting Party                   Nassau Presbyterian Church                                  Attn: Linda Gilmore                      61 Nassau St                                                 Princeton, NJ 08542                                                                          lgilmore@nassauchurch.org          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         NasSigonella 1stClass PettyOfficer Assoc                    Transatlantic Council, Bsa 802           Psc 812 Box 3180                                             Italy                                                                                                                           First Class Mail
Voting Party                   Natalie Nichols                                             Address Redacted                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Natchez Rotary Club                                         Andrew Jackson Council 303               620 Liberty Rd                                               Natchez, MS 39120‐7906                                                                                                          First Class Mail
Chartered Organization         Natchez Rotary Club                                         Andrew Jackson Council 303               P.O. Box 50                                                  Natchez, MS 39121‐0050                                                                                                          First Class Mail
Chartered Organization         Natchitoches Parish Police Dept                             Norwela Council 215                      400 Amulet St                                                Natchitoches, LA 71457‐4432                                                                                                     First Class Mail
Chartered Organization         Natha Howell Elem ‐ Gfwar                                   Longhorn Council 662                     1324 Kings Hwy                                               Fort Worth, TX 76117‐5809                                                                                                       First Class Mail
Chartered Organization         Nathan Hale‐Dream                                           Mid‐America Council 326                  6143 Whitmore St                                             Omaha, NE 68152‐2250                                                                                                            First Class Mail
Voting Party                   Nathan Lee Moenck                                           5757 Rosslare Ln                         Fitchburg, WI 53711                                                                                                                                       nathan.moenck@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Nathan Owen Rosenberg                                       c/o Boy Scouts of America                Attn: Chase Koontz                                           1325 W Walnut Hill Ln               Irving, TX 75015                                         chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Nathaniel Adams Blanchard                                   Post 1040 Auxiliary                      16 W Poplar Dr                                               Delmar, NY 12054‐2106                                                                                                           First Class Mail
Chartered Organization         Nathaniel Adams Blanchard Post 1040                         Twin Rivers Council 364                  16 W Poplar Dr                                               Delmar, NY 12054‐2106                                                                                                           First Class Mail
Voting Party                   Nathaniel Foster                                            2011 Scott Ln                            Knoxville, TN 37922                                                                                                                                       natfoster01@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Natick Recreation & Parks                                   Mayflower Council 251                    179 Boden Ln                                                 Natick, MA 01760‐3129                                                                                                           First Class Mail
Chartered Organization         National Ability Center                                     Great Salt Lake Council 590              P.O. Box 682799                                              Park City, UT 84068‐2799                                                                                                        First Class Mail
Chartered Organization         National Academy Foundation                                 Baltimore Area Council 220               540 N Caroline St                                            Baltimore, MD 21205‐1808                                                                                                        First Class Mail
Voting Party                   National Association of Methodist Scouters                  Attn: NAUMS                              P.O. Box 25                                                  Paris, TN 38242                                                                              naums.org@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         National Ave Christian Church                               Ozark Trails Council 306                 1515 S National Ave                                          Springfield, MO 65804‐1119                                                                                                      First Class Mail
Voting Party                   National Catholic Committee on Scouting                     c/o Greer Law Offices PLLC               Attn: Robert L Greer                                         439 W Philadelphia Ave              Bridgeport, WV 26330                                     rgreer@greerlawoffices.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         National City Police Dept                                   San Diego Imperial Council 049           1200 National City Blvd                                      National City, CA 91950‐4302                                                                                                    First Class Mail
Chartered Organization         National Council Bsa                                        Circle Ten Council 571                   P.O. Box 152079                                              Irving, TX 75015‐2079                                                                                                           First Class Mail
Voting Party                   National Grid                                               Attn: Vicki Piazza                       300 Erie Blvd W                                              Syracuse, NY 13202                                                                                                              First Class Mail
Voting Party                   National Grid                                               P.O. Box 11737                           Newark, NJ 07101‐4737                                                                                                                                                                        First Class Mail
Chartered Organization         National Presbyterian Church                                National Capital Area Council 082        4101 Nebraska Ave Nw                                         Washington, DC 20016‐2735                                                                                                       First Class Mail
Chartered Organization         National Recreation And Park Assoc                          National Capital Area Council 082        22377 Belmont Ridge Rd                                       Ashburn, VA 20148‐4501                                                                                                          First Class Mail
Chartered Organization         National Sheriffs Assoc                                     National Capital Area Council 082        1450 Duke St                                                 Alexandria, VA 22314‐3403                                                                                                       First Class Mail
Chartered Organization         National Shooting Complex                                   Alamo Area Council 583                   5931 Roft Rd                                                 San Antonio, TX 78253‐9261                                                                                                      First Class Mail
Chartered Organization         National Shrine Of Our Lady Of Lasalette                    Narragansett 546                         947 Park St                                                  Attleboro, MA 02703‐5115                                                                                                        First Class Mail
Chartered Organization         National Sojourners Inc                                     National Capital Area Council 082        P.O. Box 44                                                  Quantico, VA 22134‐0044                                                                                                         First Class Mail
Voting Party                   National Surety Corporation/Interstate Fire & Casualty Co   Attn: Marc Orloff                        1465 N McDowell Blvd, Ste 100                                Petaluma, CA 94954                                                                           marc.orloff@allianzrm‐us.com       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   National United Methodist Church                            Attn: Lucinda Kent                       3401 Nebraska Ave NW                                         Washington, DC 20016                                                                         LKent@NationalChurch.org           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         National Youth Advocate Program                             Pathway To Adventure 456                 2435 W Div St                                                Chicago, IL 60622‐2941                                                                                                          First Class Mail
Chartered Organization         Nationwide Children's Hospital                              Simon Kenton Council 441                 700 Childrens Dr                                             Columbus, OH 43205‐2664                                                                                                         First Class Mail
Chartered Organization         Nationwide Scott Richards Agency                            Greater Alabama Council 001              2070 Valleydale Rd Ste 4                                     Hoover, AL 35244‐2035                                                                                                           First Class Mail
Chartered Organization         Native Son Of The Golden West                               Santa Lucia 97                           76 W Alisal St                                               Salinas, CA 93901‐2729                                                                                                          First Class Mail
Chartered Organization         Native Sons Golden West Napa Parlor 62                      Mt Diablo‐Silverado Council 023          P.O. Box 5651                                                Napa, CA 94581‐0651                                                                                                             First Class Mail
Chartered Organization         Native Sons Of The Golden West                              Marin Council 035                        135 Mitchell Dr                                              Fairfax, CA 94930‐1316                                                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 275 of 442
                                                                                   Case 20-10343-LSS                                           Doc 8171                                       Filed 01/06/22                                                      Page 291 of 457
                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                  Service List
                                                                                                                                                                           Served as set forth below

        Description                                                         Name                                                                                               Address                                                                                                               Email              Method of Service
Chartered Organization         Nativity Bvm Cub Scouts                                           Pine Burr Area Council 304              1046 Beach Blvd                                             Biloxi, MS 39530‐3742                                                                                   First Class Mail
Chartered Organization         Nativity Catholic Church                                          Greater Tampa Bay Area 089              705 E Brandon Blvd                                          Brandon, FL 33511‐5443                                                                                  First Class Mail
Chartered Organization         Nativity Catholic Church                                          Dan Beard Council, Bsa 438              5935 Pandora Ave                                            Cincinnati, OH 45213‐2017                                                                               First Class Mail
Chartered Organization         Nativity Catholic Church                                          Northeast Iowa Council 178              1225 Alta Vista St                                          Dubuque, IA 52001‐4328                                                                                  First Class Mail
Chartered Organization         Nativity Catholic Church                                          Crossroads Of America 160               7225 Southeastern Ave                                       Indianapolis, IN 46239‐1209                                                                             First Class Mail
Chartered Organization         Nativity Catholic Church                                          Heart Of America Council 307            3800 W 119Th St                                             Leawood, KS 66209‐1087                                                                                  First Class Mail
Chartered Organization         Nativity Catholic School                                          Northern Star Council 250               1900 Wellesley Ave                                          St Paul, MN 55105‐1617                                                                                  First Class Mail
Chartered Organization         Nativity Church Of Fargo                                          Northern Lights Council 429             1825 11Th St S                                              Fargo, ND 58103‐4915                                                                                    First Class Mail
Chartered Organization         Nativity Ev Lutheran Church                                       Three Harbors Council 636               6905 W Bluemound Rd                                         Milwaukee, WI 53213‐3849                                                                                First Class Mail
Chartered Organization         Nativity Lutheran Church                                          Crater Lake Council 491                 60850 Brosterhous Rd                                        Bend, OR 97702‐9738                                                                                     First Class Mail
Chartered Organization         Nativity Lutheran Church                                          Denver Area Council 061                 12500 E 104Th Ave                                           Commerce City, CO 80022‐9709                                                                            First Class Mail
Chartered Organization         Nativity Lutheran Church                                          Chief Seattle Council 609               17707 140Th Ave Se                                          Renton, WA 98058‐6826                                                                                   First Class Mail
Chartered Organization         Nativity Lutheran Church                                          Water And Woods Council 782             625 W Clinton St                                            St Charles, MI 48655‐1655                                                                               First Class Mail
Voting Party                   Nativity Lutheran Church                                          Attn: Timothy T Parker                  1000 2nd Ave, 30th Fl                                       Seattle, WA 98104                                                      ttp@pattersonbuchanan.com        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nativity Miguel School Of Scranton                                2300 ADAMS AVE                          SCRANTON, PA 18509                                                                                                                                                  First Class Mail
Chartered Organization         Nativity Of Mary Catholic Church                                  Northern Star Council 250               9900 Lyndale Ave S                                          Bloomington, MN 55420‐4733                                                                              First Class Mail
Chartered Organization         Nativity Of Our Lord                                              Denver Area Council 061                 900 W Midway Blvd                                           Broomfield, CO 80020‐2048                                                                               First Class Mail
Voting Party                   Nativity of Our Lord                                              Attn: Andre L Kydala                    54 Old Hwy 22                                               Clinton, NJ 08809                                                                                       First Class Mail
Chartered Organization         Nativity Of Our Lord Catholic Church                              Denver Area Council 061                 900 W Midway Blvd                                           Broomfield, CO 80020‐2048                                                                               First Class Mail
Voting Party                   Nativity Of Our Lord Jesus Christ Catholic Church, Indianapolis   Attn: John S Mercer                     1400 N Meridian St                                          Indianapolis, IN 46202                                                 jsmercer@indylegal.com           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nativity Of Our Lord Parish                                       Samoset Council, Bsa 627                103 E King St                                               Rhinelander, WI 54501‐3442                                                                              First Class Mail
Chartered Organization         Nativity Of Our Lord R C Church                                   Greater Niagara Frontier Council 380    4414 S Buffalo St                                           Orchard Park, NY 14127‐2612                                                                             First Class Mail
Chartered Organization         Nativity Of Our Lord Roman Catholic                               Greater Niagara Frontier Council 380    43 Argyle Pl                                                Orchard Park, NY 14127‐2647                                                                             First Class Mail
Chartered Organization         Nativity Of The Blessed Virgin Mary                               Lake Erie Council 440                   418 W 15Th St                                               Lorain, OH 44052‐3536                                                                                   First Class Mail
Chartered Organization         Nativity Of The Blessed Virgin Mary                               Northeastern Pennsylvania Council 501   99 E Tioga St                                               Tunkhannock, PA 18657‐1601                                                                              First Class Mail
Chartered Organization         Nativity Parents For Catholic Scouting                            Heart Of America Council 307            10017 E 36Th Ter S                                          Independence, MO 64052‐1173                                                                             First Class Mail
Chartered Organization         Nativity, Lord Jesus Catholic Ch                                  Great Trail 433                         2425 Myersville Rd                                          Akron, OH 44312‐4951                                                                                    First Class Mail
Chartered Organization         Natomas Parents Assoc                                             Golden Empire Council 047               21 Sage Grouse Ct                                           Sacramento, CA 95834‐2512                                                                               First Class Mail
Chartered Organization         Natomas Youth Assoc                                               Golden Empire Council 047               2341 Cashaw Way                                             Sacramento, CA 95834‐3802                                                                               First Class Mail
Chartered Organization         Natrona Heights Presbyterian Church                               Laurel Highlands Council 527            1428 Broadview Blvd                                         Natrona Heights, PA 15065‐2009                                                                          First Class Mail
Voting Party                   Natural Bridge United Methodist Church                            Attn: Shelbie Colwell                   41964 CR 41 Ridge Rd                                        Natural Bridge, NY 13665                                               c_shell52@gmail.com              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Natural History Society Of Baltimore                              Baltimore Area Council 220              P.O. Box 18750                                              Baltimore, MD 21206‐0750                                                                                First Class Mail
Chartered Organization         Nature Coast Emergency Med Fndn, Inc                              Greater Tampa Bay Area 089              3876 W Country Hill Dr                                      Lecanto, FL 34461‐9830                                                                                  First Class Mail
Voting Party                   Naugatuck United Methodist Church                                 208 Meadow St                           Naugatuck, CT 06770                                                                                                                                                 First Class Mail
Chartered Organization         Nauset Rotary Club                                                Cape Cod And Islands Cncl 224           P.O. Box 1846                                               Orleans, MA 02653‐1846                                                                                  First Class Mail
Chartered Organization         Navac                                                             Longhouse Council 373                   603 N Main St                                               N Syracuse, NY 13212‐1609                                                                               First Class Mail
Chartered Organization         Navajo Preparatory School, Inc                                    Great Swest Council 412                 1220 W Apache St                                            Farmington, NM 87401‐3886                                                                               First Class Mail
Chartered Organization         Naval Lodge 184                                                   Pine Tree Council 218                   11 Shapleigh Rd                                             Kittery, ME 03904‐1401                                                                                  First Class Mail
Chartered Organization         Naval Support Activity Bahrain                                    Transatlantic Council, Bsa 802          Psc 901 Box 10000                                           Fpo, AE 09805‐9997                                                                                      First Class Mail
Chartered Organization         Navarre P T O                                                     Erie Shores Council 460                 410 Navarre Ave                                             Toledo, OH 43605                                                                                        First Class Mail
Chartered Organization         Navarro County Medical Society                                    Circle Ten Council 571                  801 Hospital Dr Co.                                         Corsicana, TX 75110                                                                                     First Class Mail
Chartered Organization         Navasota Kiwanis Club                                             Sam Houston Area Council 576            220 E Washington Ave                                        Navasota, TX 77868‐3028                                                                                 First Class Mail
Voting Party                   Navato United Methodist Church                                    Attn: Al Mendoza, Trustee Chair         1473 S Novato Blvd                                          Novato, CA 94947                                                       novatoumc@novato.net             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Navesink Maritime Heritage Assoc                                  Monmouth Council, Bsa 347               930 W Front St                                              Red Bank, NJ 07701‐6760                                                                                 First Class Mail
Chartered Organization         Navesink Masonic Lodge 9F&Am                                      Monmouth Council, Bsa 347               14 E Garfield Ave                                           Atlantic Highlands, NJ 07716‐1225                                                                       First Class Mail
Chartered Organization         Navicent Health Baldwin Inc                                       Central Georgia Council 096             821 N Cobb St                                               Milledgeville, GA 31061‐2343                                                                            First Class Mail
Voting Party                   Navitor                                                           Attn: Rhoda Seabolt                     727 Clayton Ave                                             Waynesboro, PA 17268‐2060                                                                               First Class Mail
Chartered Organization         Navy Lakehurst Memorial Aid Foundation                            Jersey Shore Council 341                32 Jordan Dr                                                Toms River, NJ 08755‐5147                                                                               First Class Mail
Chartered Organization         Navy League Of Usa Guam Council                                   Aloha Council, Bsa 104                  P.O. Box 11166                                              Tamuning, GU 96931‐1166                                                                                 First Class Mail
Chartered Organization         Naylor Pentecostal Church                                         Greater St Louis Area Council 312       Rr 62 Box 270                                               Naylor, MO 63953                                                                                        First Class Mail
Chartered Organization         Nazarene Baptist Church & Joshua Academy                          Buffalo Trace 156                       867 E Walnut St                                             Evansville, IN 47713‐2512                                                                               First Class Mail
Chartered Organization         Nazarene Church                                                   Juniata Valley Council 497              5851 Newtown Ave                                            Huntingdon, PA 16652‐7663                                                                               First Class Mail
Chartered Organization         Nazareth Academy                                                  South Texas Council 577                 206 W Convent St                                            Victoria, TX 77901‐8012                                                                                 First Class Mail
Voting Party                   Nazareth Evangelical Lutheran Church of Cedar Falls, Iowa         Attn: Angie Rath                        7401 University Ave                                         Cedar Falls, IA 50613                                                  info@naz.org                     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nazareth Knights Of Columbus                                      South Plains Council 694                P.O. Box 203                                                Nazareth, TX 79063‐0203                                                                                 First Class Mail
Chartered Organization         Nazareth Lutheran Chuch                                           Winnebago Council, Bsa 173              7401 University Ave                                         Cedar Falls, IA 50613‐5025                                                                              First Class Mail
Chartered Organization         Nazareth Lutheran Church                                          Winnebago Council, Bsa 173              7401 University Ave                                         Cedar Falls, IA 50613‐5025                                                                              First Class Mail
Chartered Organization         Nazareth Prep                                                     Laurel Highlands Council 527            8235 Ohio River Blvd                                        Emsworth, PA 15202‐1454                                                                                 First Class Mail
Chartered Organization         Nazareth Presbyterian Church                                      Palmetto Council 549                    680 Nazareth Church Rd                                      Moore, SC 29369‐9771                                                                                    First Class Mail
Chartered Organization         Nazareth School                                                   San Diego Imperial Council 049          10728 San Diego Mission Rd                                  San Diego, CA 92108‐2409                                                                                First Class Mail
Chartered Organization         Nbc 7 San Diego Telemundo 20                                      San Diego Imperial Council 049          9680 Granite Ridge Dr                                       San Diego, CA 92123‐2673                                                                                First Class Mail
Chartered Organization         Nc Assoc Of Fire Chiefs                                           Daniel Boone Council 414                20 Canoe Ln                                                 Woodfin, NC 28804‐8612                                                                                  First Class Mail
Chartered Organization         Ncentral Technical College Fndn                                   Samoset Council, Bsa 627                1000 W Campus Dr                                            Wausau, WI 54401‐1880                                                                                   First Class Mail
Chartered Organization         Ncoa Chapter 1169 (Frontier)                                      Longs Peak Council 062                  P.O. Box 1864                                               Cheyenne, WY 82003‐1864                                                                                 First Class Mail
Voting Party                   Neal Ave United Methodist Church                                  Attn: Treasurer                         734 Sherwick Rd                                             Newark, OH 43055                                                       office@nealavenue.com            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Neal Ave Utd Methodist Church                                     Simon Kenton Council 441                12 Neal Ave                                                 Newark, OH 43055‐4179                                                                                   First Class Mail
Chartered Organization         Neal E Fonger Post 179 American Legion                            President Gerald R Ford 781             2327 Wilson Ave Sw                                          Grand Rapids, MI 49534‐6501                                                                             First Class Mail
Chartered Organization         Neal Fonger Post 179                                              President Gerald R Ford 781             2327 Wilson Ave Sw                                          Grand Rapids, MI 49534‐6501                                                                             First Class Mail
Chartered Organization         Neal Thomas, Jr Centennial Post 209                               Pikes Peak Council 060                  3613 Jeannine Dr                                            Colorado Springs, CO 80917‐8002                                                                         First Class Mail
Chartered Organization         Neast Ambulance & Fire Prot Dist                                  Greater St Louis Area Council 312       7100 Natural Bridge Rd                                      St Louis, MO 63121‐5144                                                                                 First Class Mail
Voting Party                   Nebraska City First United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nebraska City Public                                              Cornhusker Council 324                  1700 14Th Ave                                               Nebraska City, NE 68410‐1146                                                                            First Class Mail
Chartered Organization         Nebraska Family Services                                          Cornhusker Council 324                  501 S 7Th St                                                Lincoln, NE 68508‐2920                                                                                  First Class Mail
Chartered Organization         Nebraska Family Services                                          Cornhusker Council 324                  300 Capitol Beach Blvd                                      Lincoln, NE 68528‐1643                                                                                  First Class Mail
Chartered Organization         Nebraska Lodge 1                                                  Mid‐America Council 326                 2424 S 135Th Ave                                            Omaha, NE 68144‐2423                                                                                    First Class Mail
Chartered Organization         Nebraska Sunbridge Academy                                        Erie Shores Council 460                 3319 Nebraska Ave                                           Toledo, OH 43607‐2819                                                                                   First Class Mail
Chartered Organization         Nebraskans For Civic Reform                                       Cornhusker Council 324                  1111 Lincoln Mall Ste 350                                   Lincoln, NE 68508‐3905                                                                                  First Class Mail
Voting Party                   Nederland Community Presbyterian Church                           P.O. Box 467                            Nederland, CO 80466                                                                                                                ncpcpastor@gmail.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nedrose PTO                                                       Northern Lights Council 429             5215 Hwy 2 E                                                Minot, ND 58701                                                                                         First Class Mail
Chartered Organization         Needmore Community Center                                         Mason Dixon Council 221                 631 Wertzville Rd                                           Needmore, PA 17238                                                                                      First Class Mail
Chartered Organization         Needmore Community Center                                         Mason Dixon Council 221                 613 Wertzville Rd                                           Needmore, PA 17238‐8715                                                                                 First Class Mail
Chartered Organization         Needmore Elementary School PTO                                    Hoosier Trails Council 145 145          278 Trogdon Ln                                              Bedford, IN 47421‐8652                                                                                  First Class Mail
Chartered Organization         Needmore Ruritan Club                                             Occoneechee 421                         6601 Bentwinds Ln                                           Fuquay Varina, NC 27526‐9474                                                                            First Class Mail
Chartered Organization         Neelsville Presbyterian Church                                    National Capital Area Council 082       20701 Frederick Rd                                          Germantown, MD 20876‐4137                                                                               First Class Mail
Chartered Organization         Neelys Creek Arpc ‐ Men's Bible Class                             Palmetto Council 549                    974 Neelys Creek Rd                                         Rock Hill, SC 29730‐9617                                                                                First Class Mail
Chartered Organization         Neenah Menasha Elks 676                                           Bay‐Lakes Council 635                   328 Nicolet Blvd                                            Menasha, WI 54952‐3334                                                                                  First Class Mail
Firm                           Neff Injury Law                                                   Michael L. Neff                         3455 Peachtree Road NE, Ste 509                             Atlanta, GA 30326                                                      michael@neffinjurylaw.com        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Negaunee Lions Club                                               Bay‐Lakes Council 635                   P.O. Box 111                                                Negaunee, MI 49866‐0111                                                                                 First Class Mail
Voting Party                   Nehalem Bay United Methodist                                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nehalem Bay Utd Methodist Church                                  Cascade Pacific Council 492             P.O. Box 156                                                Nehalem, OR 97131‐0156                                                                                  First Class Mail
Chartered Organization         Nehemiah Mission Utd Methodist Church                             Lake Erie Council 440                   6515 Bridge Ave                                             Cleveland, OH 44102‐3154                                                                                First Class Mail
Chartered Organization         Neighborhood Centers Of Johnson County                            Hawkeye Area Council 172                P.O. Box 2491                                               Iowa City, IA 52244‐2491                                                                                First Class Mail
Voting Party                   Neighborhood Church (Atlanta)                                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200              Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Neighborhood Church Neighbors Club                                Greater Los Angeles Area 033            415 Paseo Del Mar                                           Palos Verdes Estates, CA 90274‐1216                                                                     First Class Mail
Chartered Organization         Neighborhood Church Of The Brethren                               Three Fires Council 127                 155 Boulder Hill Pass                                       Montgomery, IL 60538‐2305                                                                               First Class Mail
Chartered Organization         Neighborhood House                                                Water And Woods Council 782             3145 Russell St                                             Saginaw, MI 48601‐4350                                                                                  First Class Mail
Chartered Organization         Neighborhood Parent Committee                                     W L A C C 051                           12215 Charnock Rd                                           Los Angeles, CA 90066‐3103                                                                              First Class Mail
Chartered Organization         Neighborhood Resource Center                                      Heart Of Virginia Council 602           1519 Williamsburg Rd                                        Richmond, VA 23231‐1538                                                                                 First Class Mail
Chartered Organization         Neighbors Gun Club                                                Hudson Valley Council 374               Burger Rd                                                   Rhinebeck, NY 12572                                                                                     First Class Mail
Chartered Organization         Neil Armstrong Elementary PTA                                     Greater St Louis Area Council 312       6255 Howdershell Rd                                         Hazelwood, MO 63042‐1119                                                                                First Class Mail
Chartered Organization         Neil Armstrong Elementary School PTA                              National Capital Area Council 082       11900 Lake Newport Rd                                       Reston, VA 20194‐1542                                                                                   First Class Mail
Chartered Organization         Neil S Lewison Post 439%                                          Gateway Area 624                        292 N Washington St                                         Melrose, WI 54642                                                                                       First Class Mail
Firm                           NEILL PRO PER LAW FIRM                                            WILLIAM NEILL IN PRO PER                2706 HIGHLAND AVENUE                                        San Diego, CA 92105                                                    BILLNEILL@YAHOO.COM              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Neillsville Kiwanis                                               Chippewa Valley Council 637             W6540 County Rd B                                           Neillsville, WI 54456                                                                                   First Class Mail
Chartered Organization         Neithercut PTA                                                    Water And Woods Council 782             2010 Crestbrook Ln                                          Flint, MI 48507                                                                                         First Class Mail
Voting Party                   Nek UMC‐Gilman                                                    Attn: Rosemary Poland, Treasurer        822 Pond Hill Rd                                            Lunenburg, VT 05906                                                    rosepoland55@gmail.com           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   NEK UMC‐Lunenburg                                                 Attn: Rosemary Poland, Treasurer        822 Pond Hill Rd                                            Lunenburg, VT 05906                                                    rosepoland55@gmail.com           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nekoosa Lions Club                                                Samoset Council, Bsa 627                9239 Camilla Ct                                             Nekoosa, WI 54457‐7457                                                                                  First Class Mail
Chartered Organization         Nellis Afb Scouting 99Ces/Eod                                     Las Vegas Area Council 328              4302 N Washington Blvd                                      Nellis Afb, NV 89191‐7031                                                                               First Class Mail
Chartered Organization         Nelson Congregational Church                                      Daniel Webster Council, Bsa 330         830 Nelson Rd                                               Nelson, NH 03457‐5204                                                                                   First Class Mail
Chartered Organization         Nelson Lions Club                                                 Great Rivers Council 653                Rr 1                                                        Nelson, MO 65347                                                                                        First Class Mail
Chartered Organization         Nelson Utd Methodist Church                                       Great Trail 433                         9367 State Rte 305                                          Garrettsville, OH 44231                                                                                 First Class Mail
Voting Party                   Nelson Westerberg, Inc                                            Attn: Fran Nelson                       1500 Arthur Ave                                             Elk Grove, IL 60007                                                    fnelson@nelson‐westerberg.com    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Neosho United Methodist Church                                    Attn: Mitchell Jarvis                   P.O. Box 509                                                Neosho, MO 64850                                                       thejarvi@hotmail.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ner Tamid Greenspring Valley Synagogue                            Baltimore Area Council 220              6214 Pimlico Rd                                             Baltimore, MD 21209‐3321                                                                                First Class Mail
Chartered Organization         Neriah Community Development Center                               Indian Waters Council 553               1908 Wilkinson St                                           Cayce, SC 29033‐2908                                                                                    First Class Mail
Chartered Organization         Nesbit Elementary                                                 Northeast Georgia Council 101           6575 Cherokee Dr                                            Tucker, GA 30084‐1618                                                                                   First Class Mail
Chartered Organization         Nescopeck Volunteer Fire Co 1                                     Columbia‐Montour 504                    325 Warren St                                               Nescopeck, PA 18635                                                                                     First Class Mail
Firm                           Nesenoff & Miltenberg LLP                                         Stuart Bernstein                        363 Seventh Avenue 5th Floor                                New York, NY 10001                                                     SBERNSTEIN@NMLLPLAW.COM          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Neshaminy Creek Foundation                                        Cradle Of Liberty Council 525           612 Hazelwood Rd                                            Ardmore, PA 19003‐1818                                                                                  First Class Mail
Chartered Organization         Neshaminy Warwick Presbyterian Church                             Washington Crossing Council 777         1401 Meetinghouse Rd                                        Warminster, PA 18974‐1030                                                                               First Class Mail
Chartered Organization         Neshanic Reformed Church                                          Patriots Path Council 358               P.O. Box 657                                                Neshanic Station, NJ 08853‐0657                                                                         First Class Mail
Voting Party                   Neshkoro Zion United Methodist Church                             Attn: Wayne Doverspike                  W3434 Dover Ave                                             Neshkoro, WI 54960                                                     spikessing@icloud.com            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   NeSmith Lowe & NeSmith LLC                                        Attn: Carl Dalton NeSmith Jr            P.O. Box 1877                                               Oneonta, AL 35121                                                      cdnesmith@nlnfirm.com            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Nesquehoning: Meed's Memorial United Methodist Church             Attn: John Mylecraine, Pastor           126 W Catawissa St                                          Nesquehoning, PA 18240                                                 meedspastorjohn@meedsumc.org     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ness City Rotary Club                                             Santa Fe Trail Council 194              804 Crescent Dr                                             Ness City, KS 67560‐1318                                                                                First Class Mail
Chartered Organization         Nestle Pizza Co                                                   Samoset Council, Bsa 627                940 S Whelen Ave                                            Medford, WI 54451‐1745                                                                                  First Class Mail
Voting Party                   Nestor United Methodist Church                                    Attn: James Geddes                      1120 Nestor Way                                             Imperial Beach, CA 92154                                               church@nestorumc.sdcoxmail.com   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Nestor United Methodist Church                                    Attn: Trustee President                 1120 Nestor Way                                             San Diego, CA 92154                                                    church@NestorUMC.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nestucca Valley Lions Club                                        Cascade Pacific Council 492             P.O. Box 177                                                Cloverdale, OR 97112‐0177                                                                               First Class Mail
Chartered Organization         Net Community Church                                              Greater St Louis Area Council 312       415 E Main St                                               Staunton, IL 62088                                                                                      First Class Mail
Firm                           Nettles Morris                                                    Christian Morris, Esq.                  1389 Galleria Dr., Suite 200                                Henderson, NV 89014                                                    christian@nettlesmorris.com      Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Neuman's Kitchen                                                  Greater New York Councils, Bsa 640      3502 48Th Ave                                               Long Island City, NY 11101‐2421                                                                         First Class Mail
Voting Party                   NEUMC                                                             Attn: Garland Martin                    P.O. Box 107                                                North Hero, VT 05474                                                   gchico@gmavt.net                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Neumiller & Beardslee                                             Attn: Paul N Balestracci                3121 W March Ln Ste 100                                     Stockton, CA 95219                                                     pbalestracci@neumiller.com       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Nevada A Kent IV                                                  c/o Boy Scouts of America               Attn: Chase Koontz                                          1325 W Walnut Hill Ln                 Irving, TX 75015                 chase.koontz@scouting.org        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nevada Area Council 329                                           Nevada Area Council 329                 General Delivery                                            Chester, CA 96020                                                                                       First Class Mail
Chartered Organization         Nevada City Lions Club                                            Golden Empire Council 047               P.O. Box 395                                                Nevada City, CA 95959‐0395                                                                              First Class Mail
Voting Party                   Nevada City United Methodist Church                               Attn: Chair of Trustees                 433 Broad St                                                Nevada City, CA 95959                                                  ncumc@nevadacitymethodist.com    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Nevada First United Methodist Church                              Attn: Rev Mike Carey                    1036 7th St                                                 Nevada, IA 50201                                                       umchurch@fumcnevada.org          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nevada Scouters                                                   Nevada Area Council 329                 2741 Cheshire Ct                                            Reno, NV 89523‐2290                                                                                     First Class Mail
Chartered Organization         Nevada Southern Railway                                           Las Vegas Area Council 328              600 Yucca St                                                Boulder City, NV 89005‐1702                                                                             First Class Mail
Chartered Organization         Nevada Yacht Club                                                 Las Vegas Area Council 328              2680 S Torrey Pines Dr                                      Las Vegas, NV 89146‐5139                                                                                First Class Mail
Chartered Organization         Neversink Fire Dept                                               Hudson Valley Council 374               P.O. Box 627                                                Neversink, NY 12765‐0627                                                                                First Class Mail
Voting Party                   Nevils United Methodist Church                                    8351 Nevils Groveland Rd                Statesboro, GA 30458                                                                                                               wrblack144@gmail.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nevis Civic And Commerce                                          Central Minnesota 296                   P.O. Box 268                                                Nevis, MN 56467‐0268                                                                                    First Class Mail
Voting Party                   New Albany (141224)                                               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200            Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   New Albany United Methodist Church                                20 Third St                             New Albany, OH 43054                                                                                                               wilsonpg72.pw@gmail.com          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   New Albany United Methodist Church                                Attn: John Steven Martin                4931 Meadway Dr                                             New Albany, OH 43054                                                   jstevenmartin@aol.com            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         New Albany Utd Methodist Church                                   Simon Kenton Council 441                20 3Rd St                                                   New Albany, OH 43054‐9502                                                                               First Class Mail
Chartered Organization         New Alsace American Legion Post 452                               Hoosier Trails Council 145 145          P.O. Box 30                                                 Sunman, IN 47041‐0030                                                                                   First Class Mail
Chartered Organization         New America School At Lakewood                                    Denver Area Council 061                 5806 W Alameda Ave                                          Lakewood, CO 80226‐3533                                                                                 First Class Mail
Chartered Organization         New Athens Commercial Club                                        Greater St Louis Area Council 312       600 S Van Buren St                                          New Athens, IL 62264‐1620                                                                               First Class Mail
Chartered Organization         New Augusta Public Academy South PTO                              Crossroads Of America 160               6250 Rodebaugh Rd                                           Indianapolis, IN 46268‐2589                                                                             First Class Mail
Chartered Organization         New Ball Ground Utd Methodist                                     Atlanta Area Council 092                P.O. Box 376                                                Ball Ground, GA 30107‐0376                                                                              First Class Mail
Chartered Organization         New Ball Ground Utd Methodist Church                              Atlanta Area Council 092                P.O. Box 376                                                Ball Ground, GA 30107‐0376                                                                              First Class Mail
Chartered Organization         New Baltimore Civic Club                                          Great Lakes Fsc 272                     36551 Main St                                               New Baltimore, MI 48047‐2512                                                                            First Class Mail
Chartered Organization         New Baltimore Volunteer                                           National Capital Area Council 082       6550 Riley Rd                                               New Baltimore, VA 20187‐2508                                                                            First Class Mail
Chartered Organization         New Bedford Housing Authority                                     Narragansett 546                        134 S 2Nd St                                                New Bedford, MA 02740‐5852                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                  Page 276 of 442
                                                                                Case 20-10343-LSS                                           Doc 8171                                        Filed 01/06/22                                                  Page 292 of 457
                                                                                                                                                                               Exhibit B
                                                                                                                                                                                Service List
                                                                                                                                                                         Served as set forth below

        Description                                                     Name                                                                                                 Address                                                                                                          Email                Method of Service
Chartered Organization         New Bedford Lions Club                                         Moraine Trails Council 500              P.O. Box 1                                                   New Bedford, PA 16140‐0001                                                                           First Class Mail
Chartered Organization         New Beginning Church Of Christ                                 Central Georgia Council 096             325 Ga Hwy 49 W                                              Milledgeville, GA 31061‐9774                                                                         First Class Mail
Chartered Organization         New Beginnings Baptist Church                                  Cherokee Area Council 556               841 W Main St                                                Monteagle, TN 37356‐7028                                                                             First Class Mail
Voting Party                   New Beginnings Fellowship of Thorntown Federated               Attn: Karen Niemeyer                    120 S Powell St                                              Thorntown, IN 46071                                                kniemeyer@thorntownpl.org         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Beginnings formerly Jonesville First UMC                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Beginnings Ministries                                      California Inland Empire Council 045    4720 Chino Ave                                               Chino, CA 91710‐5172                                                                                 First Class Mail
Voting Party                   New Beginnings UMC Downtown Campus                             Attn: Mildred Mann                      785 N Arrowhead Ave                                          San Bernardino, CA 92401                                           newbeginnings.nbie@gmail.com      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Beginnings UMC North Campus                                Attn: Mildred Mann                      785 N Arrowhead Ave                                          San Bernardino, CA 92401                                           newbeginnings.nbie@gmail.com      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Beginnings UMC Pre‐School Highland Campus                  Attn: Mildred Mann                      785 N Arrowhead Ave                                          San Bernardino, CA 92401                                           newbeginnings.nbie@gmail.com      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Beginnings United Methodist Church                         Attn: Rev Dr J Christopher Greene       210 Rainbow Lake Rd                                          Boiling Springs, SC 29316                                          pastor@newbeginningsumc.org       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Beginnings United Methodist Church                         Attn: Truatees                          300 E Miller St                                              Elmira, NY 14904                                                   newbeginningsUMC@stny.rr.com      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Beginnings United Methodist Church                         Attn: Trustees                          300 Miller St                                                Elmira, NY 14904                                                   newbeginningsUMC@stny.rr.com      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Beginnings United Methodist Church                         Attn: Christopher Jones                 265 Main St                                                  Townsend, MA 01469                                                 chrisjones9952@gmail.com          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Beginnings United Methodist Church                         c/o Bryan J Maggs Law Offices PLLC      Attn: Bryan J Maggs                                          110 Baldwin St                    Elmira, NY 14901                 bryan@maggslaw.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Beginnings United Methodist Church ‐ Kennesaw              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Beginnings Utd Methodist Church                            Simon Kenton Council 441                385 E William St                                             Delaware, OH 43015‐2157                                                                              First Class Mail
Chartered Organization         New Beginnings Utd Methodist Church                            Atlanta Area Council 092                2925 Mack Dobbs Rd Nw                                        Kennesaw, GA 30152‐2641                                                                              First Class Mail
Chartered Organization         New Berlin Road Church                                         North Florida Council 087               2351 New Berlin Rd                                           Jacksonville, FL 32218‐5582                                                                          First Class Mail
Chartered Organization         New Berlin Township                                            Abraham Lincoln Council 144             12625 Old Rte 54                                             New Berlin, IL 62670‐6823                                                                            First Class Mail
Chartered Organization         New Bern Boys And Girls Club                                   East Carolina Council 426               P.O. Box 1514                                                Morehead City, NC 28557‐1514                                                                         First Class Mail
Chartered Organization         New Bethel African Methodist Episc Ch                          Atlanta Area Council 092                8350 Rockbridge Rd                                           Lithonia, GA 30058‐5849                                                                              First Class Mail
Chartered Organization         New Bethel Baptist Church                                      Occoneechee 421                         605 E Young St                                               Rolesville, NC 27571‐9456                                                                            First Class Mail
Chartered Organization         New Bethel Christian Methodist Church                          Seneca Waterways 397                    270 Scio St                                                  Rochester, NY 14605‐2623                                                                             First Class Mail
Voting Party                   New Bethel Church                                              135 New Bethel Church Rd                Kempton, PA 19529                                                                                                               nbckempton@gmail.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Bethel Missionary Baptist Church                           Crossroads Of America 160               1535 Dr Andrew J Brown Ave                                   Indianapolis, IN 46202‐1906                                                                          First Class Mail
Voting Party                   New Bethel UMC                                                 Attn: Penelope Barber                   131 N Main St                                                Glen Carbon, IL 62034                                              pastorpenny@newbethelumc.org      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Bethlehem Presbyterian Church                              French Creek Council 532                403 Penn St                                                  New Bethlehem, PA 16242‐1113                                                                         First Class Mail
Voting Party                   New Birth of Freedom                                           Attn: Ronald M Gardner Jr               1 Baden Powell Ln                                            Mechanicsburg, PA 17050                                                                              First Class Mail
Chartered Organization         New Bloomfield Lions Club                                      New Birth Of Freedom 544                P.O. Box 21                                                  New Bloomfield, PA 17068‐0021                                                                        First Class Mail
Chartered Organization         New Boston Community Church                                    Daniel Webster Council, Bsa 330         2 Meetinghouse Hill Rd                                       New Boston, NH 03070‐3808                                                                            First Class Mail
Chartered Organization         New Boston Noon Lions Club                                     Caddo Area Council 584                  903 S Elm St                                                 New Boston, TX 75570‐3719                                                                            First Class Mail
Chartered Organization         New Boston Utd Methodist Church                                Illowa Council 133                      510 Main St                                                  New Boston, IL 61272‐9000                                                                            First Class Mail
Chartered Organization         New Braunfels Elks Lodge 2279                                  Alamo Area Council 583                  353 S Seguin Ave                                             New Braunfels, TX 78130‐5120                                                                         First Class Mail
Chartered Organization         New Braunfels Optimist & Utilities                             Alamo Area Council 583                  1335 Carnation Ln                                            New Braunfels, TX 78130‐3506                                                                         First Class Mail
Chartered Organization         New Braunfels Optimists                                        Attn: Richard H Smith                   1229 Industrial Dr                                           New Braunfels, TX 78130‐3603                                                                         First Class Mail
Chartered Organization         New Braunfels Police Dept                                      Alamo Area Council 583                  1488 S Seguin Ave                                            New Braunfels, TX 78130‐3853                                                                         First Class Mail
Chartered Organization         New Bremen American Legion Post 241                            Black Swamp Area Council 449            P.O. Box 94                                                  New Bremen, OH 45869‐0094                                                                            First Class Mail
Chartered Organization         New Bridge Academy                                             Simon Kenton Council 441                3850 Sullivant Ave                                           Columbus, OH 43228‐4327                                                                              First Class Mail
Chartered Organization         New Bridges Presbyterian Church                                San Francisco Bay Area Council 028      26236 Adrian Ave                                             Hayward, CA 94545‐3004                                                                               First Class Mail
Chartered Organization         New Brighton Police                                            Northern Star Council 250               785 Old Hwy 8 Nw                                             New Brighton, MN 55112‐2732                                                                          First Class Mail
Voting Party                   New Brighton United Methodist Church (96484)                   c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Britton Elementary PTO                                     Crossroads Of America 160               8660 E 131St St                                              Fishers, IN 46038‐3472                                                                               First Class Mail
Chartered Organization         New Carrollton Police Dept                                     National Capital Area Council 082       6016 Princess Garden Pkwy                                    New Carrollton, MD 20784‐2800                                                                        First Class Mail
Chartered Organization         New Castle Bible Church                                        W D Boyce 138                           17931 Dee Mac Rd                                             Mackinaw, IL 61755‐9333                                                                              First Class Mail
Chartered Organization         New Castle First Baptist Church                                Lincoln Heritage Council 205            P.O. Box 126                                                 New Castle, KY 40050‐0126                                                                            First Class Mail
Chartered Organization         New Castle Lions Club                                          Denver Area Council 061                 P.O. Box 916                                                 Glenwood Springs, CO 81602‐0916                                                                      First Class Mail
Chartered Organization         New Castle Utd Methodist Church                                Lincoln Heritage Council 205            P.O. Box 194                                                 New Castle, KY 40050‐0194                                                                            First Class Mail
Chartered Organization         New Chapel Fire Co                                             Lincoln Heritage Council 205            5203 Charlestown Rd                                          New Albany, IN 47150‐9432                                                                            First Class Mail
Voting Party                   New Chapel United Methodist Church                             Attn: Glenda Head, Treasurer            4273 JL Head Rd                                              Cedar Hill, TN 37032                                               ghead1962@gmail.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Chapel United Methodist Church of Jeffersonville, Inc      5615 New Chapel Rd                      Jeffersonville, IN 47130                                                                                                        ken.corder@inumc.org              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Chapel Utd Methodist Church                                Lincoln Heritage Council 205            5616 New Chapel Rd                                           Jeffersonville, IN 47130‐8624                                                                        First Class Mail
Chartered Organization         New City Church                                                Heart Of America Council 307            517 W Morgan St                                              Edgerton, KS 66021‐2310                                                                              First Class Mail
Voting Party                   New City Church, Inc.                                          c/o Bruce & Lehman LLC                  Attn: Eric Bruce                                             P.O. Box 75037                    Wichita, KS 67275                mail@ksadvocates.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New City Church, Inc.                                          Attn: Eric D Bruce                      P.O. Box 75037                                               Wichita, KS 67275                                                  Mail@KsAdvocates.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Community Church                                           Chattahoochee Council 091               1200 S Davis Rd                                              Lagrange, GA 30241‐3667                                                                              First Class Mail
Voting Party                   New Concord UMC                                                Attn: Chris White                       20 E High St                                                 New Concord, OH 43762                                              treasurer@newconcordumc.org       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Concord Utd Methodist Church                               Muskingum Valley Council, Bsa 467       20 E High St                                                 New Concord, OH 43762‐1208                                                                           First Class Mail
Chartered Organization         New Convenant Church                                           Sam Houston Area Council 576            901 Wilson Rd                                                Humble, TX 77338‐5104                                                                                First Class Mail
Chartered Organization         New Convenant Methodist Church                                 Circle Ten Council 571                  3032 N Belt Line Rd                                          Sunnyvale, TX 75182‐9346                                                                             First Class Mail
Chartered Organization         New Covenant Apostolic Church                                  Heart Of Virginia Council 602           2129 Ford Ave                                                Richmond, VA 23223‐3707                                                                              First Class Mail
Chartered Organization         New Covenant Assembly Of God                                   Central Florida Council 083             1991 E Lake Dr                                               Casselberry, FL 32707‐4132                                                                           First Class Mail
Chartered Organization         New Covenant Baptist Church                                    Central N Carolina Council 416          5114 Rogers Rd                                               Monroe, NC 28110‐7361                                                                                First Class Mail
Chartered Organization         New Covenant Christian Church                                  Last Frontier Council 480               12000 N Rockwell Ave                                         Oklahoma City, OK 73162‐1623                                                                         First Class Mail
Chartered Organization         New Covenant Church                                            Sam Houston Area Council 576            901 Wilson Rd                                                Humble, TX 77338‐5104                                                                                First Class Mail
Chartered Organization         New Covenant Church                                            Twin Rivers Council 364                 27 N Market St                                               Johnstown, NY 12095‐2129                                                                             First Class Mail
Chartered Organization         New Covenant Church                                            Denver Area Council 061                 P.O. Box 247                                                 Larkspur, CO 80118‐0247                                                                              First Class Mail
Chartered Organization         New Covenant Church Of Christ                                  Greater New York Councils, Bsa 640      20614 100Th Ave                                              Queens Village, NY 11429‐1015                                                                        First Class Mail
Chartered Organization         New Covenant Church Of The Brethren                            Central Florida Council 083             P.O. Box 83                                                  Gotha, FL 34734‐0083                                                                                 First Class Mail
Chartered Organization         New Covenant Community Church                                  Sequoia Council 027                     1744 E Nees Ave                                              Fresno, CA 93720‐2301                                                                                First Class Mail
Chartered Organization         New Covenant Fellowship                                        Greater St Louis Area Council 312       3396 Kanell Blvd                                             Poplar Bluff, MO 63901‐3060                                                                          First Class Mail
Chartered Organization         New Covenant Fellowship Church                                 Occoneechee 421                         1305 Hulsey Rd                                               Carthage, NC 28327‐6045                                                                              First Class Mail
Chartered Organization         New Covenant Free Methodist Ministries                         Water And Woods Council 782             13176 N Linden Rd                                            Clio, MI 48420‐8233                                                                                  First Class Mail
Chartered Organization         New Covenant Methodist                                         Last Frontier Council 480               2700 S Blvd                                                  Edmond, OK 73013‐5259                                                                                First Class Mail
Chartered Organization         New Covenant Presbyterian Church                               Garden State Council 690                240 Creek Rd                                                 Mount Laurel, NJ 08054‐2120                                                                          First Class Mail
Voting Party                   New Covenant Presbyterian Church                               Attn: Clerk of Sessi                    4300 NW 12 Ave                                               Miami, FL 33127                                                    CptM77@aol.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Covenant Pure Holiness Church                              Atlanta Area Council 092                8396 Hwy 85                                                  Riverdale, GA 30274‐4108                                                                             First Class Mail
Voting Party                   New Covenant United Methodist Church                           Attn: Scott Smith                       2700 S Blvd                                                  Edmond, OK 73013                                                   ssmith@newcov.tv                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Covenant United Methodist Church                           Attn: Donna Renn                        1709 Frederick St                                            Cumberland, MD 21502                                               pastordrenn@gmail.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Covenant United Methodist Church                           New Covenant UMC                        3032 N Beltline Rd                                           Sunnyvale, TX 75182                                                office@newcovenantumc.com         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Covenant United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Covenant United Methodist Church                           Attn: Treasurer                         16 Church St                                                 East Hartford, CT 06108                                                                              First Class Mail
Voting Party                   New Covenant United Methodist Church ‐ Douglasville            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Covenant United Methodist Church Closed                    Attn: Jake Adams‐Wilson                 199 W Broad St                                               Decatur, MS 39327                                                  jakeadamswilson@gmail.com         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Covenant Utd Methodist Church                              Atlanta Area Council 092                5960 Hwy 5                                                   Douglasville, GA 30135‐5528                                                                          First Class Mail
Chartered Organization         New Covenant Utd Methodist Church                              Circle Ten Council 571                  3032 N Belt Line Rd                                          Sunnyvale, TX 75182‐9346                                                                             First Class Mail
Chartered Organization         New Covenant Utd Methodist Church                              Greater Tampa Bay Area 089              3740 Woodridge Dr                                            The Villages, FL 32162                                                                               First Class Mail
Voting Party                   New Creation Community Church (Dover)                          c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Creation Fellowhip                                         Inland NW Council 611                   1515 E Farwell Rd                                            Spokane, WA 99208‐9579                                                                               First Class Mail
Chartered Organization         New Creation Of God                                            Black Swamp Area Council 449            125 S Main St                                                Rawson, OH 45881                                                                                     First Class Mail
Voting Party                   New Creation UMC                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Cumberland Christian Church                                Ohio River Valley Council 619           100 S Court St                                               New Cumberland, WV 26047‐9907                                                                        First Class Mail
Chartered Organization         New Deliverance Missionary Baptist                             Longhorn Council 662                    1400 N 5Th St                                                Waco, TX 76707‐2411                                                                                  First Class Mail
Chartered Organization         New Dimensions School                                          Piedmont Council 420                    550 Lenoir Rd                                                Morganton, NC 28655‐2697                                                                             First Class Mail
Chartered Organization         New Direction Youth Academy Inc                                Dan Beard Council, Bsa 438              125 S Cooper Ave                                             Cincinnati, OH 45215‐4561                                                                            First Class Mail
Voting Party                   New Dover UMC                                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Dover Utd Methodist Church                                 Patriots Path Council 358               687 New Dover Rd                                             Edison, NJ 08820‐1917                                                                                First Class Mail
Chartered Organization         New Eagle Elementary School PTO                                Chester County Council 539              409 Churchill Dr                                             Berwyn, PA 19312‐1103                                                                                First Class Mail
Chartered Organization         New Egypt Church Of Christ                                     Jersey Shore Council 341                97 Lakewood Rd                                               New Egypt, NJ 08533‐1326                                                                             First Class Mail
Chartered Organization         New Elizabeth Missionary Baptist Church                        Norwela Council 215                     2332 Jewella Ave                                             Shreveport, LA 71109‐2412                                                                            First Class Mail
Voting Party                   New England Conference of the United Methodist Church Method   Attn: John Spelman                      1043 Snake Hill Rd                                           North Scituate, RI 02857                                           john@campaldersgate.com           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New England Congregational Church                              Attn: Shelley Lund                      406 W Galena Blvd                                            Aurora, IL 60506                                                   shelley@newenglandchurch.org      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New England Military Cadet Corp                                Daniel Webster Council, Bsa 330         10 Cromwell St                                               Kittery, ME 03904‐1102                                                                               First Class Mail
Chartered Organization         New Era Class First Utd Methodist                              Tukabatchee Area Council 005            Prattville                                                   Prattville, AL 36067                                                                                 First Class Mail
Chartered Organization         New Fairfield Lions Club Inc                                   Connecticut Yankee Council Bsa 072      P.O. Box 8106                                                New Fairfield, CT 06812‐8106                                                                         First Class Mail
Chartered Organization         New Faith Baptist Church                                       Pathway To Adventure 456                25 Central Ave                                               Matteson, IL 60443‐1142                                                                              First Class Mail
Chartered Organization         New Faith Free Methodist Church                                Greater Tampa Bay Area 089              2427 Irving Ave S                                            St Petersburg, FL 33712‐2112                                                                         First Class Mail
Chartered Organization         New Faith Missionary Baptist Church                            Sam Houston Area Council 576            4315 W Fuqua St                                              Houston, TX 77045‐6203                                                                               First Class Mail
Voting Party                   New Family UMC                                                 Attn: Israel Montoan                    36 Randall Ave                                               Weymouth, MA 02189                                                                                   First Class Mail
Chartered Organization         New Fellowship Church                                          Pine Burr Area Council 304              1309 N 31St Ave                                              Hattiesburg, MS 39401‐4636                                                                           First Class Mail
Chartered Organization         New Fellowship Church                                          Pine Burr Area Council 304              1309 N 31St Ave                                              Hattiesburg, MS 39401‐4636                                                                           First Class Mail
Voting Party                   New Florence United Methodist Church (98426)                   c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Florence Utd Methodist Church                              Laurel Highlands Council 527            P.O. Box 267                                                 New Florence, PA 15944‐0267                                                                          First Class Mail
Voting Party                   New Fountain UMC                                               Attn: Rob LaPorte                       2985 FM 2676                                                 Hondo, TX 78861                                                    newfountainumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Freedom Lions Club                                         New Birth Of Freedom 544                P.O. Box 235                                                 New Freedom, PA 17349‐0235                                                                           First Class Mail
Chartered Organization         New Genesis Inc                                                Southern Shores Fsc 783                 1225 W Paterson St                                           Kalamazoo, MI 49007‐1789                                                                             First Class Mail
Chartered Organization         New Gilead Utd Church Of Christ                                Central N Carolina Council 416          2400 Old Salisbury Concord Rd                                Concord, NC 28025‐1540                                                                               First Class Mail
Chartered Organization         New Glarus Vfw Post 10549                                      c/o William Hustad                      Blackhawk Area 660                                           W4489 Exeter Crossing Rd          Monticello, WI 53570                                               First Class Mail
Chartered Organization         New Goshenhoppen Utd Church Of Christ                          Cradle Of Liberty Council 525           1070 Church Rd                                               East Greenville, PA 18041‐2213                                                                       First Class Mail
Chartered Organization         New Ground Alliance                                            Inland NW Council 611                   601 3Rd St, Ste 316                                          Clarkston, WA 99403‐1911                                                                             First Class Mail
Chartered Organization         New Hackensack Reformed Church                                 Hudson Valley Council 374               1580 Rte 376                                                 Wappingers Falls, NY 12590‐6149                                                                      First Class Mail
Chartered Organization         New Hampshire Aerospace LLC                                    Daniel Webster Council, Bsa 330         109 Ponemah Rd Ste 7                                         Amherst, NH 03031‐2834                                                                               First Class Mail
Voting Party                   New Hampshire Clocks, Donna‐Vaughan ‐ Pres                     Attn: Donna Vaughan                     31 Sterling Dr                                               Franklin, NH 03235                                                 donna@nhclocks.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Hampshire‐Portsmouth Rotary Club                           Pine Tree Council 218                   73 Main St Huddleston Hall                                   Durham, NH 03824                                                                                     First Class Mail
Chartered Organization         New Hanover Cnty Law Enft Officers Assoc                       Cape Fear Council 425                   5301 Holly Shelter Rd                                        Castle Hayne, NC 28429‐6359                                                                          First Class Mail
Chartered Organization         New Hanover County Fire Rescue                                 Cape Fear Council 425                   230 Government Center Dr Ste 130                             Wilmington, NC 28403‐1671                                                                            First Class Mail
Chartered Organization         New Hanover County Sheriff's Office                            Cape Fear Council 425                   3950 Juvenile Center Dr                                      Castle Hayne, NC 28429‐6109                                                                          First Class Mail
Chartered Organization         New Hanover Lutheran Church                                    Cradle Of Liberty Council 525           2941 Lutheran Rd                                             Gilbertsville, PA 19525‐9622                                                                         First Class Mail
Chartered Organization         New Hanover Presbyterian Church                                Heart Of Virginia Council 602           10058 Chamberlayne Rd                                        Mechanicsville, VA 23116‐4018                                                                        First Class Mail
Chartered Organization         New Hanover Regional Medical Center                            Cape Fear Council 425                   2131 S 17Th St                                               Wilmington, NC 28401‐7407                                                                            First Class Mail
Voting Party                   New Harbor United Methodist Church                             Attn: Michael Hope                      239 Harrington Rd                                            Pemaquid, ME 04558                                                 mrhope@roadrunner.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Harmony Kiwanis Club                                       Buffalo Trace 156                       P.O. Box 515                                                 New Harmony, IN 47631‐0515                                                                           First Class Mail
Chartered Organization         New Haven Elementary PTO                                       Great Lakes Fsc 272                     57701 River Oaks Dr                                          New Haven, MI 48048                                                                                  First Class Mail
Chartered Organization         New Haven Firefighters Assoc                                   Great Lakes Fsc 272                     57775 Main St                                                New Haven, MI 48048‐2627                                                                             First Class Mail
Chartered Organization         New Haven High Sch Football Booster Club                       Anthony Wayne Area 157                  1300 Green Rd                                                New Haven, IN 46774‐1912                                                                             First Class Mail
Chartered Organization         New Haven Methodist Church                                     Indian Nations Council 488              5603 S New Haven Ave                                         Tulsa, OK 74135‐4175                                                                                 First Class Mail
Chartered Organization         New Haven Post 366 American Legion                             Greater St Louis Area Council 312       9494 Missouri 100                                            New Haven, MO 63068                                                                                  First Class Mail
Voting Party                   New Haven UMC                                                  Attn: Cynthia Edelman                   5603 S New Haven Ave                                         Tulsa, OK 74135                                                    cynthia.edelman@newhavenumc.org   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Haven United Methodist Church                              Attn: Robert Roush                      P.O. Box 327                                                 New Haven, WV 25265                                                rroush3287@suddenlink.net         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   New Haven United Methodist Church, Inc                         Attn: Christy Schwartz                  630 Lincoln Hwy E                                            New Haven, IN 46774                                                accounting@newhavenumc.com        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Heights Baptist Church                                     Rocky Mountain Council 063              3304 Baltimore Ave                                           Pueblo, CO 81008‐1542                                                                                First Class Mail
Chartered Organization         New Heights Christian Church                                   Greater Alabama Council 001             1452 Us Hwy 11                                               Trussville, AL 35173‐4313                                                                            First Class Mail
Chartered Organization         New Highland Baptist Church                                    Heart Of Virginia Council 602           9200 New Ashcake Rd                                          Mechanicsville, VA 23116‐6312                                                                        First Class Mail
Chartered Organization         New Highland Elementary School                                 Lincoln Heritage Council 205            110 W A Jenkins Rd                                           Elizabethtown, KY 42701‐8451                                                                         First Class Mail
Chartered Organization         New Holland Group Of Citizens                                  Pennsylvania Dutch Council 524          20 S Roberts Ave                                             New Holland, PA 17557‐1617                                                                           First Class Mail
Chartered Organization         New Home Baptist Church                                        Occoneechee 421                         1000 Lobelia Rd                                              Vass, NC 28394                                                                                       First Class Mail
Voting Party                   New Hope                                                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         New Hope Academy                                               National Capital Area Council 082       7009 Varnum St                                               Landover Hills, MD 20784‐2109                                                                        First Class Mail
Chartered Organization         New Hope Baptist Church                                        Flint River Council 095                 551 New Hope Rd                                              Fayetteville, GA 30214‐3707                                                                          First Class Mail
Chartered Organization         New Hope Baptist Church                                        Andrew Jackson Council 303              5202 Watkins Dr                                              Jackson, MS 39206‐2632                                                                               First Class Mail
Chartered Organization         New Hope Baptist Church                                        Central Florida Council 083             1675 Taylor Rd                                               Port Orange, FL 32128‐7512                                                                           First Class Mail
Voting Party                   New Hope Brandon 213 N Knights Ave, Brandon, FL 33510          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                Page 277 of 442
                                                                                  Case 20-10343-LSS                                    Doc 8171                                   Filed 01/06/22                                                  Page 293 of 457
                                                                                                                                                                     Exhibit B
                                                                                                                                                                      Service List
                                                                                                                                                               Served as set forth below

        Description                                                       Name                                                                                     Address                                                                                                           Email                 Method of Service
Chartered Organization         New Hope Christian Center                                 Anthony Wayne Area 157                  P.O. Box 700                                            Waterloo, IN 46793‐0700                                                                                First Class Mail
Chartered Organization         New Hope Christian Church                                 Northeast Georgia Council 101           1982 Old Norcross Rd                                    Lawrenceville, GA 30044‐2308                                                                           First Class Mail
Chartered Organization         New Hope Church ‐ Utd Methodist                           Last Frontier Council 480               11600 N Council Rd                                      Oklahoma City, OK 73162‐1301                                                                           First Class Mail
Chartered Organization         New Hope Church Inc                                       National Capital Area Council 082       8905 Ox Rd                                              Lorton, VA 22079‐3216                                                                                  First Class Mail
Chartered Organization         New Hope Church Of Christ                                 Last Frontier Council 480               700 W 2Nd St                                            Edmond, OK 73003‐5421                                                                                  First Class Mail
Chartered Organization         New Hope Community Center                                 Jersey Shore Council 341                301 Woodland Ave                                        Pleasantville, NJ 08232‐2104                                                                           First Class Mail
Chartered Organization         New Hope Community Church                                 Grand Canyon Council 010                1380 E Guadalupe Rd                                     Gilbert, AZ 85234‐4812                                                                                 First Class Mail
Chartered Organization         New Hope Community Church                                 Leatherstocking 400                     45 Stockton Ave                                         Walton, NY 13856‐1428                                                                                  First Class Mail
Chartered Organization         New Hope Community Club                                   Piedmont Council 420                    353 Taylor Springs Rd                                   Union Grove, NC 28689‐9204                                                                             First Class Mail
Chartered Organization         New Hope Community Fellowship Church                      Baltimore Area Council 220              952 Annapolis Rd                                        Gambrills, MD 21054‐1031                                                                               First Class Mail
Chartered Organization         New Hope Evangelical Free Church                          Oregon Trail Council 697                5995 Old Hwy 99 S                                       Roseburg, OR 97471‐4761                                                                                First Class Mail
Chartered Organization         New Hope Fellowship                                       Las Vegas Area Council 328              781 West St                                             Pahrump, NV 89048‐2122                                                                                 First Class Mail
Chartered Organization         New Hope Housing At Reed                                  Sam Houston Area Council 576            2605 Reed Rd                                            Houston, TX 77051‐2560                                                                                 First Class Mail
Chartered Organization         New Hope Lions Club                                       Greater Alabama Council 001             P.O. Box 403                                            New Hope, AL 35760‐0403                                                                                First Class Mail
Chartered Organization         New Hope Lutheran Church                                  Central N Carolina Council 416          1615 Brantley Rd                                        Kannapolis, NC 28083‐3917                                                                              First Class Mail
Chartered Organization         New Hope Lutheran Church                                  Longhorn Council 662                    2105 Willis Ln                                          Keller, TX 76248‐3164                                                                                  First Class Mail
Chartered Organization         New Hope Lutheran Church                                  Theodore Roosevelt Council 386          60 Oliver Ave                                           Valley Stream, NY 11580‐1655                                                                           First Class Mail
Voting Party                   New Hope Lutheran Church                                  Attn: Eric Edward Nord                  2708 1st Ave N, Ste 300                                 Billings, MT 59101                                                 enord@cristlaw.com                  Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope Lutheran Church                                  Attn: Christopher H Winslow             8575 Guilford Rd                                        Columbia, MD 21046                                                 chriswinslow@verizon.net            Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope Lutheran Church                                  Attn: Treasurer                         8575 Guilford Rd                                        Columbia, MD 21046                                                 chriswinslow@verizon.net            Email
                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Hope Lutheran Church Elca                             Sam Houston Area Council 576            1424 Fm 1092 Rd                                         Missouri City, TX 77459‐1601                                                                           First Class Mail
Voting Party                   New Hope Lutheran Church in Licking County, Ohio          Attn: Adam Landon                       10 S Gay St                                             Mount Vernon, OH 43050                                             landon@ccj.com                      Email
                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Hope Methodist Church                                 Blue Ridge Council 551                  233 New Hope Rd                                         Anderson, SC 29626‐5904                                                                                First Class Mail
Chartered Organization         New Hope Methodist Church                                 Greater Alabama Council 001             5351 Main Dr                                            New Hope, AL 35760‐9386                                                                                First Class Mail
Voting Party                   New Hope Missionary Baptist Church                        1575 W 17th St                          San Bernardino, CA 92411                                                                                                   info@newhopembc.org                 Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope Missionary Baptist Church                        Attn: Breon Nathaniel Waters            629 E Mesas Dr                                          Rialto, CA 92376                                                   bwaters5@roadrunner.com             Email
                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Hope Police Dept                                      Northern Star Council 250               4401 Xylon Ave N                                        New Hope, MN 55428‐4843                                                                                First Class Mail
Chartered Organization         New Hope Presbyterian Church                              Denver Area Council 061                 3737 New Hope Way                                       Castle Rock, CO 80109‐3300                                                                             First Class Mail
Chartered Organization         New Hope Presbyterian Church                              Occoneechee 421                         4701 Nc Hwy 86                                          Chapel Hill, NC 27514‐9662                                                                             First Class Mail
Chartered Organization         New Hope Presbyterian Church                              Central Florida Council 083             19535 Airport Rd                                        Eustis, FL 32736                                                                                       First Class Mail
Chartered Organization         New Hope Presbyterian Church                              Piedmont Council 420                    S New Hope Rd                                           Gastonia, NC 28054                                                                                     First Class Mail
Chartered Organization         New Hope Presbyterian Church                              Piedmont Council 420                    4357 S New Hope Rd                                      Gastonia, NC 28056‐8454                                                                                First Class Mail
Chartered Organization         New Hope Presbyterian Church                              Sam Houston Area Council 576            1350 N Mason Rd                                         Katy, TX 77449‐3035                                                                                    First Class Mail
Chartered Organization         New Hope Presbyterian Church                              Greater St Louis Area Council 312       1580 Kisker Rd                                          St Charles, MO 63304‐0603                                                                              First Class Mail
Chartered Organization         New Hope Presbyterian Church Epc                          Southwest Florida Council 088           10051 Plantation Rd                                     Fort Myers, FL 33966‐1445                                                                              First Class Mail
Chartered Organization         New Hope Ruritan Club                                     Stonewall Jackson Council 763           P.O. Box 24                                             New Hope, VA 24469‐0024                                                                                First Class Mail
Chartered Organization         New Hope Umc                                              National Capital Area Council 082       75 S Maryland Ave                                       Brunswick, MD 21716                                                                                    First Class Mail
Chartered Organization         New Hope Umc                                              Northeast Georgia Council 101           1806 New Hope Rd                                        Lawrenceville, GA 30045‐6567                                                                           First Class Mail
Voting Party                   New Hope UMC                                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope UMC                                              164 New Hope Church Rd                  Fredericksburg, VA 22405                                                                                                                                       First Class Mail
Voting Party                   New Hope UMC                                              55 Round Hill School Rd                 Ft Defiance, VA 24437                                                                                                                                          First Class Mail
Voting Party                   NEW HOPE UMC Gainesville                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope UMC Oklahoma City                                Attn: Business Administrator            11600 N Council Rd                                      Oklahoma City, OK 73162                                            businessmgr@newhopeokc.org          Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope UMC Penns Grove                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope United Methodist Church                          Attn: Rev Sh'Kur Francis                2119 Karen Ln                                           Anderson, SC 29626                                                 smrfrancis@umcsc.org                Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope United Methodist Church                          Attn: Sh'Kur Francis                    233 New Hope Rd                                         Anderson, SC 29626                                                 smrfrancis@umcsc.org                Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope United Methodist Church                          Attn: Stephen Dale                      P.O. Box 744                                            N Adams, MA 01247                                                  pastor@new‐hopeumc.org              Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope United Methodist Church                          Attn: Treasurer, New Hope UMC           9825 Gore Church Rd                                     Logan, OH 43138                                                    newhopeumc.logan@gmail.com          Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope United Methodist Church                          7 S Maryland Ave                        Brunswick, MD 21716                                                                                                        newhopebrunswick@gmail.com          Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope United Methodist Church                          Attn: Chassidy King                     4654 Maplewood Rd                                       West Topsham, VT 05086                                             king.chassidy@yahoo.com             Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope United Methodist Church                          Attn: Jessica Rockhold Gaul             203 W Center St                                         Melcher‐Dallas, IA 50163                                           jessrockhold@gmail.com              Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope United Methodist Church                          Attn: Daniel Thomure, New Hope UMC      3921 Jeffco Blvd                                        Arnold, MO 63010                                                   churchoffice@newhopearnold.com      Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope United Methodist Church                          Attn: Trustee Chair Dave Mann           5351 Main Dr                                            New Hope, AL 35760                                                 cdavemann@gmail.com                 Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope United Methodist Church                          Attn: Brandon Joseph Hughes             9827 Gore Church Rd                                     Logan, OH 43138                                                    brandon.hughes@asburyseminary.edu   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope United Methodist Church                          Attn: Jessica Rockhold Gaul             404 SE Center St                                        Melcher‐Dallas, IA 50062                                                                               First Class Mail
Voting Party                   New Hope United Methodist Church FKA Warren United        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope United Methodist Church FKA Warren United        1205 N 45th St                          Lincoln, NE 68503‐2227                                                                                                                                         First Class Mail
Voting Party                   New Hope United Methodists Church                         Attn: Larry Joseph Filion               200 E New Hope Rd                                       Goldsboro, NC 27534                                                larry.1904@yahoo.com                Email
                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Hope Utd Methodist Church                             Greater St Louis Area Council 312       1407 Appleton Ct                                        Arnold, MO 63010‐4876                                                                                  First Class Mail
Chartered Organization         New Hope Utd Methodist Church                             Northeast Georgia Council 101           4815 Dawsonville Hwy                                    Gainesville, GA 30506‐3880                                                                             First Class Mail
Chartered Organization         New Hope Utd Methodist Church                             Cornhusker Council 324                  1205 N 45Th St                                          Lincoln, NE 68503‐2227                                                                                 First Class Mail
Chartered Organization         New Hope Utd Methodist Church                             Mid Iowa Council 177                    203 Nw Center St                                        Melcher Dallas, IA 50163‐7777                                                                          First Class Mail
Chartered Organization         New Hope Utd Methodist Church                             Buckskin 617                            P.O. Box 405                                            Proctorville, OH 45669‐0405                                                                            First Class Mail
Chartered Organization         New Hope Utd Methodist Church                             East Carolina Council 426               P.O. Box 2117                                           Roanoke Rapids, NC 27870‐7117                                                                          First Class Mail
Chartered Organization         New Hope Utd Methodist Church                             Green Mountain 592                      P.O. Box 33                                             West Topsham, VT 05086‐0033                                                                            First Class Mail
Chartered Organization         New Hope Utd Methodist Church                             Old Hickory Council 427                 5125 Shattalon Dr                                       Winston Salem, NC 27106‐9662                                                                           First Class Mail
Chartered Organization         New Hope Utd Methodist Men                                Old Hickory Council 427                 5125 Shattalon Dr                                       Winston Salem, NC 27106‐9662                                                                           First Class Mail
Chartered Organization         New Hope Utd Methodist Mens                               Tuscarora Council 424                   200 E New Hope Rd                                       Organization                      Goldsboro, NC 27534                                                  First Class Mail
Chartered Organization         New Hope Utd Methodist Mens Club                          Tuscarora Council 424                   213 E New Hope Rd                                       Goldsboro, NC 27534‐7641                                                                               First Class Mail
Voting Party                   New Hope, Winston ‐ Salem                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hope/Nueva Esperanza United Methodist Church          c/o Clarke Law Firm, PLC                Attn: Marilee Miller Clarke                             8141 E Indian Bend Rd, Ste 105    Scottsdale, AZ 85250             marilee@clarkelawaz.com             Email
                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Horizon Christian Church                              W D Boyce 138                           P.O. Box 147                                            Heyworth, IL 61745‐0147                                                                                First Class Mail
Voting Party                   New Horizon UMC                                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Horizon UMC                                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradely.com                   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Horizons Christian Church                             Great Trail 433                         290 Darrow Rd                                           Akron, OH 44305‐3854                                                                                   First Class Mail
Chartered Organization         New Horizons Maritime Center                              Utah National Parks 591                 24 N 460 W                                              Orem, UT 84057‐5306                                                                                    First Class Mail
Chartered Organization         New Horizons Umc Men's Assoc                              Great Rivers Council 653                1020 S El Chaparral Ave                                 Columbia, MO 65201‐9091                                                                                First Class Mail
Voting Party                   New Horizons United Methodist Church                      Attn: Ron Miller                        1201 War Admiral Dr                                     Columbia, MO 65202                                                 ronmiller3101941@icloud.com         Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Horizons United Methodist Church                      Attn: Church Treasurer                  1020 S El Chaparral Ave                                 Columbia, MO 65201                                                 office@newhorizons‐umc.org          Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Hudson United Methodist Church                        Attn: John J Pajak (Pastor)             56730 Grand River Ave                                   New Hudson, MI 48165                                               johnpajak@ymail.com                 Email
                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Ipswich Congregational Church                         Daniel Webster Council, Bsa 330         150 Main St                                             New Ipswich, NH 03071‐3720                                                                             First Class Mail
Chartered Organization         New Jersey State Police                                   Washington Crossing Council 777         P.O. Box 7068                                           West Trenton, NJ 08628‐0068                                                                            First Class Mail
Voting Party                   New Jersey Unclaimed Property Administration              P.O. Box 214                            Trenton, NJ 08625                                                                                                                                              First Class Mail
Voting Party                   New Jerusalem Evangelical Lutheran Church                 27 Lyons Rd                             Fleetwood, PA 19522                                                                                                        cdwiltrout1951@verizon.net          Email
                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Jerusalem Lutheran Church                             Hawk Mountain Council 528               27 Lyons Rd                                             Fleetwood, PA 19522‐9724                                                                               First Class Mail
Voting Party                   New Jerusalem UM Church                                   Attn: Jessica Ellis, CFO                475 Riverside Dr, Ste 1922                              New York, NY 10115                                                 bshillady@umcitysociety.org         Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Jerusalem United Methodist Church                     Attn: Rev Milagros Solorzano            484 Knickerbocker Ave                                   Brooklyn, NY 11237                                                 newjerusalem484@gmail.com           Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Journey United Methodist of Niles                     Attn: Richard McCreedy                  302 Cedar St                                            Niles, MI 49120                                                    newjourneyumc2561@gmail.com         Email
                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Kirk Presbyterian Church PCusa                        Indian Waters Council 553               401 Langford Rd                                         Blythewood, SC 29016                                                                                   First Class Mail
Chartered Organization         New Kirk Presbyterian Church PCusa                        Indian Waters Council 553               491 Langford Rd                                         Blythewood, SC 29016‐9532                                                                              First Class Mail
Chartered Organization         New Lakewood Scout Sponsors Inc                           National Capital Area Council 082       13700 Valley Dr                                         Rockville, MD 20850‐5440                                                                               First Class Mail
Chartered Organization         New Lebanon Utd Methodist Church                          Miami Valley Council, Bsa 444           2040 W Main St                                          New Lebanon, OH 45345‐9756                                                                             First Class Mail
Voting Party                   New Liberty United Methodist Church ‐ Braselton           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Liberty United Methodist Church ‐ Braselton           17 Thompson Mill Rd                     Braselton, GA 30517                                                                                                                                            First Class Mail
Chartered Organization         New Liberty Utd Methodist Church                          Northeast Georgia Council 101           26 Charlie Smith Rd                                     Braselton, GA 30517‐2500                                                                               First Class Mail
Chartered Organization         New Life Assembly Of God                                  Last Frontier Council 480               501 W B Ave                                             Cache, OK 73527                                                                                        First Class Mail
Chartered Organization         New Life Assembly Of God                                  W L A C C 051                           27053 Honby Ave                                         Canyon Country, CA 91351‐2456                                                                          First Class Mail
Chartered Organization         New Life Bible Fellowship, Inc                            Occoneechee 421                         1420 Hoke Loop Rd                                       Fayetteville, NC 28314‐6489                                                                            First Class Mail
Chartered Organization         New Life Christian Church                                 Yocona Area Council 748                 1712 N Gun Club Rd                                      Tupelo, MS 38801‐0323                                                                                  First Class Mail
Chartered Organization         New Life Christian Fellowship Church                      Coastal Carolina Council 550            358 Liberty Hall Rd                                     Goose Creek, SC 29445‐3464                                                                             First Class Mail
Chartered Organization         New Life Church                                           Rainbow Council 702                     500 Gougar Rd                                           New Lenox, IL 60451‐1553                                                                               First Class Mail
Chartered Organization         New Life Church And Academy                               Northern Star Council 250               6758 Bailey Rd                                          Woodbury, MN 55129‐2506                                                                                First Class Mail
Chartered Organization         New Life Community Church                                 Northwest Georgia Council 100           4160 New Hope Church Rd Se                              Acworth, GA 30102‐2726                                                                                 First Class Mail
Chartered Organization         New Life Community Church                                 Greater St Louis Area Council 312       1919 State St                                           East St Louis, IL 62205‐1801                                                                           First Class Mail
Chartered Organization         New Life Community Church                                 Grand Canyon Council 010                8155 W Thunderbird Rd                                   Peoria, AZ 85381‐4159                                                                                  First Class Mail
Chartered Organization         New Life Community Church Umc                             Southeast Louisiana Council 214         134 Lakewood Dr                                         Luling, LA 70070‐6116                                                                                  First Class Mail
Chartered Organization         New Life Direction                                        Patriots Path Council 358               688 Maple Ave                                           Elizabeth, NJ 07202‐2624                                                                               First Class Mail
Chartered Organization         New Life Fellowship                                       Heart Of America Council 307            400 S Main St                                           Holden, MO 64040‐1418                                                                                  First Class Mail
Chartered Organization         New Life Fellowship Church                                Greater New York Councils, Bsa 640      8210 Queens Blvd                                        Elmhurst, NY 11373‐4243                                                                                First Class Mail
Chartered Organization         New Life Fwb Church                                       East Carolina Council 426               2911 Old Cherry Point Rd                                New Bern, NC 28560‐6785                                                                                First Class Mail
Voting Party                   New Life International UMC at St Andrews                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Life Korean UMC                                       Attn: Seungho Shin                      59 E Putnam Ave,                                        Greenwich, CT 06830                                                newlifekumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Life Lutheran Church                                  Rainbow Council 702                     249 N Bolingbrook Dr                                    Bolingbrook, IL 60440‐1957                                                                             First Class Mail
Chartered Organization         New Life Presbyterian Church                              Great Lakes Fsc 272                     11300 19 Mile Rd                                        Sterling Heights, MI 48314‐3502                                                                        First Class Mail
Chartered Organization         New Life Temple                                           Greater St Louis Area Council 312       325 S Main St                                           Ellington, MO 63638                                                                                    First Class Mail
Voting Party                   New Life UMC                                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Life United Methodist Church                          Machesney Park: New Life                7605 N 2nd                                              Machesney Park, IL 61115                                           lines682@gmail.com                  Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Life United Methodist Church                          Attn: Donald J Lewis                    1 Beaver Bog Rd                                         New Fairfield, CT 06812                                            finance@newlife‐umc.com             Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Life United Methodist Church                          8840 80th St                            Woodhaven, NY 11421                                                                                                        canny_c_lin@yahoo.com               Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Life United Methodist Church of Shelby County         c/o New Life United Methodist Church    Attn: Kathy Miller                                      6145 N 400 W                      Fairland, IN 46126               kmller@icloud.com                   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Life Utd Methodist Church                             Crossroads Of America 160               6145 N 400 W                                            Fairland, IN 46126‐9737                                                                                First Class Mail
Chartered Organization         New Life Utd Methodist Church                             Heart Of Virginia Council 602           900 Old Hundred Rd                                      Midlothian, VA 23114‐7407                                                                              First Class Mail
Chartered Organization         New Light Lutheran Church                                 Baltimore Area Council 220              2120 Dundalk Ave                                        Dundalk, MD 21222‐3717                                                                                 First Class Mail
Voting Party                   New Light United Methodist Church                         Attn: Rev Enrique R Gordon              2810 Neeses Hwy                                         Orangeburg, SC 29115                                               ergordon@umcsc.org                  Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Light United Methodist Church                         Attn: Enrique R Gordon                  3100 Neeses Hwy                                         Orangeburg, SC 29115                                               ergordon@umcsc.org                  Email
                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Light Utd Methodist Church                            Indian Waters Council 553               3100 Neeses Hwy                                         Orangeburg, SC 29115‐8617                                                                              First Class Mail
Chartered Organization         New Lisbon Lions Club                                     Gateway Area 624                        557 S Division St                                       New Lisbon, WI 53950‐1261                                                                              First Class Mail
Chartered Organization         New London Alliance Church                                Lake Erie Council 440                   4625 State Rte 162 E                                    New London, OH 44851‐9289                                                                              First Class Mail
Chartered Organization         New London American Legion Post 537                       Northern Star Council 250               21 Ash St Ne                                            New London, MN 56273‐8557                                                                              First Class Mail
Chartered Organization         New London Lions Club                                     Mississippi Valley Council 141 141      204 W Polk St                                           New London, IA 52645‐1029                                                                              First Class Mail
Chartered Organization         New London Police Dept                                    Bay‐Lakes Council 635                   700 Shiocton St                                         New London, WI 54961‐1160                                                                              First Class Mail
Chartered Organization         New London Rotary Club                                    Lake Erie Council 440                   P.O. Box 43                                             New London, OH 44851‐0043                                                                              First Class Mail
Voting Party                   New London UMC                                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New London United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  ERICE@BRADLEY.COM                   Email
                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New London Utd Methodist Church                           Attn: Karen A DeLong                    58 E Main St                                            New London, OH 44851                                                                                   First Class Mail
Chartered Organization         New Lothrop Lions                                         Water And Woods Council 782             17770 Lincoln Rd                                        New Lothrop, MI 48460‐9603                                                                             First Class Mail
Chartered Organization         New Manchester Vfd                                        Ohio River Valley Council 619           P.O. Box 503                                            New Manchester, WV 26056‐0503                                                                          First Class Mail
Chartered Organization         New Market District Lions Club                            National Capital Area Council 082       6532 N Shore Way                                        New Market, MD 21774‐6441                                                                              First Class Mail
Chartered Organization         New Market Fire Co                                        Patriots Path Council 358               801 S Washington Ave                                    Piscataway, NJ 08854‐3002                                                                              First Class Mail
Chartered Organization         New Market Lions Club                                     National Capital Area Council 082       6233 Sawyer Rd                                          New Market, MD 21774‐6251                                                                              First Class Mail
Voting Party                   New Market United Methodist Church                        Attn: Carole Zimmerman                  P.O. Box 111                                            New Market, MD 21774                                               hometownchurch@comcast.net          Email
                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Market Utd Methodist Church                           Greater Alabama Council 001             310 Hurricane Rd                                        New Market, AL 35761‐8279                                                                              First Class Mail
Chartered Organization         New Market Volunteer Fire Dept                            Crossroads Of America 160               201 W Main St                                           New Market, IN 47965                                                                                   First Class Mail
Voting Party                   New Martinsville United Methodist Church                  Attn: James Wobig                       10 Howard Jeffers Dr                                    New Martinsville, WV 26155                                         office@nmumc.org                    Email
                                                                                                                                                                                                                                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                      Page 278 of 442
                                                                                 Case 20-10343-LSS                                                     Doc 8171                                              Filed 01/06/22                                                     Page 294 of 457
                                                                                                                                                                                                Exhibit B
                                                                                                                                                                                                 Service List
                                                                                                                                                                                          Served as set forth below

        Description                                                       Name                                                                                                                Address                                                                                                         Email                        Method of Service
Voting Party                   New McKendree United Methodist Church                      Attn: Bryan Wendling                                    225 S High St                                                     Jackson, MO 63755                                                     bwendling@newmckendree.org            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Melle Sports And Recreation                            Greater St Louis Area Council 312                       P.O. Box 55                                                       New Melle, MO 63365‐0055                                                                                    First Class Mail
Voting Party                   New Mexico Hereford Association                            183 King Rd                                             Stanley, NM 87056‐7025                                                                                                                                                        First Class Mail
Chartered Organization         New Mexico Military Institute                              Conquistador Council Bsa 413                            101 W College Blvd                                                Roswell, NM 88201‐5100                                                                                      First Class Mail
Chartered Organization         New Milford Community Men's Club                           Baden‐Powell Council 368                                P.O. Box 431                                                      New Milford, PA 18834‐0431                                                                                  First Class Mail
Chartered Organization         New Milford Fire Dept                                      Northern New Jersey Council, Bsa 333                    249 Center St                                                     New Milford, NJ 07646‐1648                                                                                  First Class Mail
Chartered Organization         New Milford Presbyterian Church                            Northern New Jersey Council, Bsa 333                    737 River Rd                                                      New Milford, NJ 07646‐3031                                                                                  First Class Mail
Voting Party                   New Milford United Methodist Church                        Attn: Steve Kolitz                                      33 Perry Dr                                                       New Milford, CT 06776                                                 sbkolitz@sbcglobal.net                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Milford United Methodist Church                        Attn: Jerry D Jones                                     68 Danbury Rd                                                     New Milford, CT 06776                                                 financialmgr@newmilfordumc.org        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Milford/Froberg School PTO                             Blackhawk Area 660                                      2421 E Gate Pkwy                                                  Rockford, IL 61108‐6042                                                                                     First Class Mail
Voting Party                   New Milford‐Edenville United Methodist Church              Attn: Brenda Schadt                                     164 Bushville Rd                                                  Westtown, NY 10998                                                    phills@frontier.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Monmouth School PTA                                    Monmouth Council, Bsa 347                               121 New Monmouth Rd                                               New Monmouth School               New Monmouth, NJ 07748                                                    First Class Mail
Chartered Organization         New Morning Light Baptist Church                           Atlanta Area Council 092                                1392 Conley Rd                                                    Conley, GA 30288‐1870                                                                                       First Class Mail
Chartered Organization         New Mt Vernon Utd Methodist Church                         Old N State Council 070                                 6408 Friendship Ledford Rd                                        Winston Salem, NC 27107‐9125                                                                                First Class Mail
Chartered Organization         New Nonconnah Missionary Baptist Church                    Chickasaw Council 558                                   4207 Tulane Rd                                                    Memphis, TN 38109                                                                                           First Class Mail
Voting Party                   New Oregon United Methodist Church                         Attn: Ian Conerly                                       1204 New Oregon Dr, NE                                            Fort Payne, AL 35967                                                  brother‐ian@hotmail.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Oregon Utd Methodist Church                            Attn: Holly Burt                                        Greater Alabama Council 001                                       1204 New Oregon Dr Ne             Fort Payne, AL 35967                                                      First Class Mail
Chartered Organization         New Oxford Social & Athletic Club                          New Birth Of Freedom 544                                200 W Golden Ln                                                   New Oxford, PA 17350‐1310                                                                                   First Class Mail
Chartered Organization         New Palestine Lions Club                                   Crossroads Of America 160                               5242 W Us Hwy 52                                                  New Palestine, IN 46163                                                                                     First Class Mail
Voting Party                   New Palestine United Methodist Church                      Attn: Jenny Greiner                                     3565 S 500 W                                                      P.O. Box 377                      New Palestine, IN 46163             astone@npumc.com                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Paltz Reformed Church                                  Rip Van Winkle Council 405                              92 Huguenot St                                                    New Paltz, NY 12561‐1415                                                                                    First Class Mail
Voting Party                   New Paltz United Methodist Church                          Attn: Trustee Secr New Paltz United Methodist Church    1 Grove St                                                        New Paltz, NY 12561                                                   newpaltzumc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Paris Chamber Of Commerce                              Lasalle Council 165                                     P.O. Box 402                                                      New Paris, IN 46553‐0402                                                                                    First Class Mail
Chartered Organization         New Philadelphia Moravian Church                           Old Hickory Council 427                                 4400 Country Club Rd                                              Winston Salem, NC 27104‐3516                                                                                First Class Mail
Chartered Organization         New Plymouth Kiwanis                                       Ore‐Ida Council 106 ‐ Bsa 106                           P.O. Box 282                                                      New Plymouth, ID 83655‐0282                                                                                 First Class Mail
Chartered Organization         New Port Richey Elks Lodge 2284                            Greater Tampa Bay Area 089                              7201 Congress St                                                  New Port Richey, FL 34653‐1835                                                                              First Class Mail
Chartered Organization         New Prague Rotary Club                                     Northern Star Council 250                               211 County Rd 37                                                  New Prague, MN 56071‐2192                                                                                   First Class Mail
Chartered Organization         New Prospect Baptist Church                                Blue Ridge Council 551                                  2503 Whitehall Rd                                                 Anderson, SC 29625‐5100                                                                                     First Class Mail
Chartered Organization         New Prospect Baptist Church                                Dan Beard Council, Bsa 438                              1580 Summit Rd                                                    Cincinnati, OH 45237‐1904                                                                                   First Class Mail
Chartered Organization         New Prospect Baptist Church                                Louisiana Purchase Council 213                          111 Prospect Church Rd                                            Dry Prong, LA 71423‐3709                                                                                    First Class Mail
Chartered Organization         New Prospect Missionary Baptist Church                     Great Lakes Fsc 272                                     6330 Pembroke Ave                                                 Detroit, MI 48221‐1261                                                                                      First Class Mail
Chartered Organization         New Prospect Parent/Teacher Assoc                          Atlanta Area Council 092                                3055 Kimball Bridge Rd                                            Alpharetta, GA 30022‐4417                                                                                   First Class Mail
Voting Party                   New Prospect United Methodist Church ‐ Buford              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Prospect Utd Methodist Church                          Northeast Georgia Council 101                           2018 Buford Dam Rd                                                Buford, GA 30518‐2018                                                                                       First Class Mail
Chartered Organization         New Providence Civitan Club                                Middle Tennessee Council 560                            P.O. Box 2083                                                     Clarksville, TN 37042‐2083                                                                                  First Class Mail
Chartered Organization         New Providence Presbyterian Church                         Great Smoky Mountain Council 557                        703 W Broadway Ave                                                Maryville, TN 37801‐4715                                                                                    First Class Mail
Voting Party                   New Providence United Methodist Church                     Attn: Treasurer                                         1317 Ft. Campbell Blvd                                            Clarksville, TN 37042                                                 pastorjodinpumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Richmond Fire Dept                                     Northern Star Council 250                               106 N Arch Ave                                                    New Richmond, WI 54017‐1202                                                                                 First Class Mail
Chartered Organization         New Richmond Kiwanis Club                                  Northern Star Council 250                               P.O. Box 416                                                      New Richmond, WI 54017‐0416                                                                                 First Class Mail
Voting Party                   New Richmond United Methodist Church                       Attn: Treasurer, New Richmond United Methodist Church   P.O. Box 277                                                      New Richmond, WI 54017                                                unitedmc@frontiernet.net              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New River Kiwanis                                          Grand Canyon Council 010                                P.O. Box 75204                                                    New River, AZ 85087‐1021                                                                                    First Class Mail
Voting Party                   New Riverside UMC ‐ Ft Worth                               c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Riverside UMC ‐ Ft Worth                               3419 E Belknap St                                       Fort Worth, TX 76111                                                                                                                                                          First Class Mail
Chartered Organization         New Roads Lions Club                                       Istrouma Area Council 211                               P.O. Box 34                                                       New Roads, LA 70760‐0034                                                                                    First Class Mail
Chartered Organization         New Rye Congregational Church &                            American Legion Post 112                                Daniel Webster Council, Bsa 330                                   Epsom Nh                          Epsom, Nh 03234                                                           First Class Mail
Chartered Organization         New Rye Congregational Church &                            American Legion Post 112                                P.O. Box 452                                                      Epsom, NH 03234‐0452                                                                                        First Class Mail
Chartered Organization         New Salem Improvement Club                                 Cherokee Area Council 556                               12477 Hwy 136                                                     Rising Fawn, GA 30738‐4215                                                                                  First Class Mail
Chartered Organization         New Salem Lions Club                                       Northern Lights Council 429                             P.O. Box 181                                                      New Salem, ND 58563‐0181                                                                                    First Class Mail
Chartered Organization         New Salem Methodist Church                                 Piedmont Council 420                                    155 New Salem Rd                                                  Statesville, NC 28625‐2214                                                                                  First Class Mail
Voting Party                   New Salem United Methodist Church                          Attn: Herbert E Franklin                                12550 Hwy 136                                                     Rising Fawn, GA 30738                                                 dabuzz1@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Salem Utd Methodist Church                             Piedmont Council 420                                    155 New Salem Rd                                                  Statesville, NC 28625‐2214                                                                                  First Class Mail
Chartered Organization         New Scotland Kiwanis                                       Twin Rivers Council 364                                 P.O. Box 8                                                        Voorheesville, NY 12186‐0008                                                                                First Class Mail
Chartered Organization         New Sewickley Presbyterian Churh                           Laurel Highlands Council 527                            101 Big Knob Rd                                                   Rochester, PA 15074‐2637                                                                                    First Class Mail
Voting Party                   New Sharon United Methodist Church                         Attn: Rick Baarda                                       101 N Main St                                                     P.O. Box 70                       New Sharon, IA 50207                nsumc@iowatelecom.net                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Sharon Utd Methodist Church                            Attn: Roger Smith                                       Occoneechee 421                                                   1601 New Sharon Church Rd         Hillsborough, NC 27278                                                    First Class Mail
Chartered Organization         New Shiloh Missionary Baptist Church                       Mobile Area Council‐Bsa 004                             2756 Old Shell Rd                                                 Mobile, AL 36607‐2938                                                                                       First Class Mail
Chartered Organization         New Site Methodist Church                                  Tukabatchee Area Council 005                            108 Church Rd                                                     New Site, AL 36256‐3156                                                                                     First Class Mail
Chartered Organization         New Site Utd Methodist Church                              Tukabatchee Area Council 005                            Rr 4 Box 347C                                                     Alexander City, AL 35010                                                                                    First Class Mail
Chartered Organization         New Smyrna Lodge 149 F&Am Of Florida                       Central Florida Council 083                             300 N Riverside Dr                                                New Smyrna Beach, FL 32168‐6739                                                                             First Class Mail
Chartered Organization         New Song Christian Fellowship                              Middle Tennessee Council 560                            2949 Nolensville Pike                                             Nashville, TN 37211‐2352                                                                                    First Class Mail
Chartered Organization         New Song Community Church                                  Three Fires Council 127                                 2858 Hafenrichter Rd                                              Aurora, IL 60503‐6499                                                                                       First Class Mail
Chartered Organization         New Song Community Church                                  San Diego Imperial Council 049                          3985 Mission Ave                                                  Oceanside, CA 92058‐7803                                                                                    First Class Mail
Chartered Organization         New Song Lutheran Church                                   Las Vegas Area Council 328                              1291 Cornet St                                                    Henderson, NV 89052‐5530                                                                                    First Class Mail
Voting Party                   New Song UMC 7450 Colts Neck Rd Mechanicsville, VA 23111   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Song United Methodist Church (AZ)                      c/o Clarke Law Firm, PLC                                Attn: Marilee Miller Clarke                                       8141 E Indian Bend Rd, Ste 105    Scottsdale, AZ 85250                marilee@clarkelawaz.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Song Utd Methodist Church                              Heart Of Virginia Council 602                           7450 Colts Neck Rd                                                Mechanicsville, VA 23111‐4234                                                                               First Class Mail
Chartered Organization         New Song Utd Methodist Church                              Grand Canyon Council 010                                16303 W Bell Rd                                                   Surprise, AZ 85374‐9790                                                                                     First Class Mail
Chartered Organization         New Springfield Church Of God                              Great Trail 433                                         4207 E Pine Lake Rd                                               New Springfield, OH 44443‐9735                                                                              First Class Mail
Voting Party                   New St United Methodist Church                             Attn: Virginia B Murdock                                202 W New St                                                      Shepherdstown, WV 25443                                               nsumc@frontiernet.net                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New St United Methodist Church                             Attn: Lizzie Lowe                                       P.O. Box 188                                                      Shepherdstown, WV 25443                                               nsumc@frontiernet.net                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New St Utd Methodist Church                                Shenandoah Area Council 598                             202 W New St                                                      Shepherdstown, WV 25443                                                                                     First Class Mail
Voting Party                   New Stanton United Methodist Church (100188)               c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New Stanton United Methodist Church (100188)               c/o Bentz Law Firm                                      Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Start Church Of The Nazarene                           Circle Ten Council 571                                  10141 N County Rd                                                 Frisco, TX 75033‐2028                                                                                       First Class Mail
Chartered Organization         New Story School                                           Laurel Highlands Council 527                            715 Bilberry Rd                                                   Monroeville, PA 15146‐1122                                                                                  First Class Mail
Voting Party                   New Tazewell United Methodist Church                       P.O. Box 36                                             New Tazewell, TN 37824                                                                                                                  revhesser@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Territory Residential Comm Assoc                       Sam Houston Area Council 576                            6101 Homeward Way                                                 Sugar Land, TX 77479‐5042                                                                                   First Class Mail
Chartered Organization         New Town Branch Minot Nd Stake                             Northern Lights Council 429                             422 Eagle Dr                                                      New Town, ND 58763‐4041                                                                                     First Class Mail
Chartered Organization         New Tribe Church                                           Middle Tennessee Council 560                            1315 N Mt Juliet Rd                                               Mt Juliet, TN 37122‐3392                                                                                    First Class Mail
Voting Party                   New Vision UMC                                             Attn: Todd Ferrell                                      450 Chadbourne Ave                                                Millbrae, CA 94030                                                    newvisionumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New Vista School                                           Orange County Council 039                               23092 Mill Creek Dr                                               Laguna Hills, CA 92653‐1200                                                                                 First Class Mail
Chartered Organization         New Waterford Utd Methodist Church                         Buckeye Council 436                                     46925 State Rte 46                                                New Waterford, OH 44445‐9687                                                                                First Class Mail
Chartered Organization         New Way Fellowship Praise & Worship                        South Florida Council 084                               16800 Nw 22Nd Ave                                                 Miami Gardens, FL 33056‐4718                                                                                First Class Mail
Chartered Organization         New Wilmington Kiwanis Club                                Moraine Trails Council 500                              189 State Rte 18                                                  New Wilmington, PA 16142‐3715                                                                               First Class Mail
Chartered Organization         New Windsor Fire Dept                                      Hudson Valley Council 374                               275 Walsh Ave                                                     New Windsor, NY 12553‐5747                                                                                  First Class Mail
Chartered Organization         New Windsor Utd Presbyterian Church                        Illowa Council 133                                      412 Walnut St                                                     New Windsor, IL 61465                                                                                       First Class Mail
Chartered Organization         New Wine Church                                            Orange County Council 039                               1425 S Brookhurst Rd                                              Fullerton, CA 92833‐4403                                                                                    First Class Mail
Voting Party                   New World UMC                                              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New World UMC Arlington Texas                              Attn: Robert S Bob McGrath                              2201 N Davis Dr                                                   Arlington, TX 76012                                                   leslie@nwumc.org                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New World United Methodist Church                          Attn: Rev Dr Edgar Bazan, Senior Pastor                 5134 Northwest Hwy                                                Garland, TX 75043                                                     dr.edgar.bazan@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New World Utd Methodist Church                             Longhorn Council 662                                    2201 N Davis Dr                                                   Arlington, TX 76012‐4102                                                                                    First Class Mail
Voting Party                   New York Annual Conference of the                          United Methodist Church                                 Attn: Ross Williams                                               20 Soundview Ave                  White Plains, NY 10606              rwilliams@nyac.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New York Annual Conference United Methodist Church         Allen N Pinckney Jr                                     20 Soundview Ave                                                  White Plains, NY 10606                                                revallenanp@aol.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         New York Estonian Educational Society                      Greater New York Councils, Bsa 640                      243 E 34Th St                                                     New York, NY 10016‐4852                                                                                     First Class Mail
Chartered Organization         New York Grill                                             California Inland Empire Council 045                    950 Ontario Mills Dr                                              Ontario, CA 91764‐5235                                                                                      First Class Mail
Chartered Organization         New York Hill Umc Brunswick Co‐Op Parish                   National Capital Area Council 082                       7 S Maryland Ave                                                  Brunswick, MD 21716‐1110                                                                                    First Class Mail
Chartered Organization         New York Institute Of Technology                           Greater New York Councils, Bsa 640                      1855 Broadway                                                     New York, NY 10023‐7606                                                                                     First Class Mail
Chartered Organization         New York Marriott Marquis                                  Greater New York Councils, Bsa 640                      1535 Broadway                                                     New York, NY 10036‐4285                                                                                     First Class Mail
Chartered Organization         New York Mills Lions Club                                  Northern Lights Council 429                             52442 County Hwys 52                                              New York Mills, MN 56567                                                                                    First Class Mail
Voting Party                   New York Plainview UMC                                     Attn: Jungwon Choi                                      195 Central Park Rd                                               Plainview, NY 11803                                                   jw4him@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New York Plainview United Methodist Church                 New York Plainview UMC                                  992 Old Country Rd                                                Plainview, NY 11803                                                   mainnypumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   New York State Dept of Taxation and Finance                Attn: Bankruptcy Section                                P.O. Box 5300                                                     Albany, NY 12205                                                                                            First Class Mail
Voting Party                   New Zion United Methodist Church                           Attn: Roger Schaefer                                    12421 W Youth Camp Rd                                             Columbus, IN 47201                                                    raschaefer@hotmail.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Newark Firemen's Assoc                                     Three Fires Council 127                                 P.O. Box 479                                                      Newark, IL 60541                                                                                            First Class Mail
Voting Party                   Newark First                                               Attn: Vicki Miller                                      P.O. Box 729                                                      Newark, OH 43058                                                      vmiller@firstchurchnewark.org         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Newark First United Methodist Church                       301 S Main St                                           Newark, NY 14513                                                                                                                        newarkfumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Newark Police Dept Clinton Ave                             Northern New Jersey Council, Bsa 333                    480 Clinton Ave                                                   Newark, NJ 07108‐1861                                                                                       First Class Mail
Voting Party                   Newark United Methodist Church ‐ Newark                    c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Newark Utd Methodist Church                                Del Mar Va 081                                          69 E Main St                                                      Newark, DE 19711‐4645                                                                                       First Class Mail
Chartered Organization         Newark Valley Utd Methodist Church                         Baden‐Powell Council 368                                70 S Main St                                                      Newark Valley, NY 13811‐5725                                                                                First Class Mail
Chartered Organization         Newaygo Utd Methodist Church                               President Gerald R Ford 781                             101 W State Rd                                                    Newaygo, MI 49337‐7934                                                                                      First Class Mail
Chartered Organization         Newberry City Rescue Squad                                 Blue Ridge Council 551                                  2327 Adelaide St                                                  Newberry, SC 29108‐4501                                                                                     First Class Mail
Chartered Organization         Newberry Fire And Emergency Services                       Blue Ridge Council 551                                  P.O. Box 538                                                      Newberry, SC 29108‐0538                                                                                     First Class Mail
Chartered Organization         Newberry Rotary Club                                       Blue Ridge Council 551                                  1315 Ebenezer Rd                                                  Newberry, SC 29108‐4313                                                                                     First Class Mail
Chartered Organization         Newberry Springs Volunteer Fire Dept                       California Inland Empire Council 045                    P.O. Box 206                                                      Newberry Springs, CA 92365‐0206                                                                             First Class Mail
Chartered Organization         Newburg Boy Scout Club                                     Lincoln Heritage Council 205                            4901 Exeter Ave                                                   Louisville, KY 40218‐3811                                                                                   First Class Mail
Chartered Organization         Newburg Community Center                                   Lincoln Heritage Council 205                            4810 Exeter Ave                                                   Louisville, KY 40218‐3874                                                                                   First Class Mail
Chartered Organization         Newburg Middle School                                      Lincoln Heritage Council 205                            5008 E Indian Trl                                                 Louisville, KY 40218                                                                                        First Class Mail
Voting Party                   Newburg UM Church (2412)                                   c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Newburgh Kiwanis Club                                      Buffalo Trace 156                                       P.O. Box 447                                                      Newburgh, IN 47629‐0447                                                                                     First Class Mail
Chartered Organization         Newburgh Parent Support Group                              Buffalo Trace 156                                       306 State St                                                      Newburgh, IN 47630‐1232                                                                                     First Class Mail
Voting Party                   Newburgh United Methodist Church                           Attn: Max Fiester                                       700 S Green River Rd, Ste 2000                                    Evansville, IN 47715                                                  mfiester@tbsblaw.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Newburgh United Methodist Church                           Attn: Max Fiester                                       4178 IN 261                                                       Newburgh, IN 47630                                                    allison@newburghumc.org               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Newburgh Utd Methodist Church                              Buffalo Trace 156                                       4178 State Rte 261                                                Newburgh, IN 47630‐2659                                                                                     First Class Mail
Chartered Organization         Newbury Park First Christian Church                        Ventura County Council 057                              801 Knollwood Dr                                                  Newbury Park, CA 91320‐5341                                                                                 First Class Mail
Chartered Organization         Newbury Utd Community Church                               Lake Erie Council 440                                   P.O. Box 308                                                      Newbury, OH 44065‐0308                                                                                      First Class Mail
Chartered Organization         Newcastle Golden Spike Lions                               Golden Empire Council 047                               690 Taylor Rd                                                     Newcastle, CA 95658                                                                                         First Class Mail
Chartered Organization         Newcastle Methodist Church                                 Last Frontier Council 480                               121 E Fox Ln                                                      Newcastle, OK 73065                                                                                         First Class Mail
Voting Party                   Newcastle United Methodist Church                          Attn: Treasurer, Newcastle UMC                          P.O. Box 345                                                      Newcastle, OK 73065                                                   newcastleumc121@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Newcastle Volunteer Fire Dept                              Black Hills Area Council 695 695                        P.O. Box 459                                                      Newcastle, WY 82701‐0459                                                                                    First Class Mail
Chartered Organization         Newell School PTA                                          Overland Trails 322                                     2700 W 13Th St                                                    Grand Island, NE 68803‐2515                                                                                 First Class Mail
Chartered Organization         Newent Congregational Church                               Connecticut Rivers Council, Bsa 066                     12 S Burnham Hwy                                                  Lisbon, CT 06351‐3003                                                                                       First Class Mail
Voting Party                   Newfane United Methodist Church                            Attn: Marilyn Kasperek                                  2269 Main St                                                      Newfane, NY 14108                                                     newfanemethodist@verizon.net          Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Newfane United Methodist Church                            Attn: Trustee Chair                                     2699 Main St                                                      P.O. Box 69                       Newfane, NY 14108                   newfanemethodist@verizon.net          Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Newfield                                                   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Newfields Community Church                                 Attn: Holly Tomilson                                    71 Main St                                                        P.O. Box 87                       Newfields, NH 03856                 pastor@newfieldscommunitychurch.org   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Newfoundland Rotary                                        Northeastern Pennsylvania Council 501                   P.O. Box 32                                                       Newfoundland, PA 18445‐0032                                                                                 First Class Mail
Chartered Organization         Newington Forest Community Assoc                           National Capital Area Council 082                       8201 Srun Rd                                                      Springfield, VA 22153                                                                                       First Class Mail
Voting Party                   Newington United Methodist Church                          Attn: David Mantz                                       31 Glenbrook Rd                                                   Berlin, CT 06037                                                      dwmantz@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Newkirk Scholarship Fund                                   Golden Spread Council 562                               11301 Lightfoot Dr                                                Amarillo, TX 79108‐6862                                                                                     First Class Mail
Voting Party                   Newland United Methodist Church                            1686 Morgans Corner Rd                                  Elizabeth City, NC 27909                                                                                                                sararickwms@centurylink.net           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Newland Utd Methodist Church                               Tidewater Council 596                                   420 Firetower Rd                                                  Elizabeth City, NC 27909‐9586                                                                               First Class Mail
Firm                           Newlands & Clark                                           William "Lee" Clark & Shane Newlands                    11161 E State Rd 70 Ste 110‐168                                   Lakewood Ranch, FL 34202                                              lee@newlandsclark.com                 Email
                                                                                                                                                                                                                                                                                          Shane@newlandsclark.com               First Class Mail
Chartered Organization         Newlonsburg Utd Presbyterian Church                        Westmoreland Fayette 512                                4600 Old William Penn Hwy                                         Murrysville, PA 15668‐2009                                                                                  First Class Mail
Chartered Organization         Newman African Methodist Episc Ch                          Great Lakes Fsc 272                                     233 Bagley St                                                     Pontiac, MI 48341‐2202                                                                                      First Class Mail
Chartered Organization         Newman Catholic Elementary                                 Winnebago Council, Bsa 173                              2445 19Th St Sw                                                   Mason City, IA 50401‐6234                                                                                   First Class Mail
Voting Party                   Newman Memorial United Methodist Church                    Attn: Gwendolyn Lewis                                   257 Macon St                                                      Brooklyn, NY 11216                                                    clewis3912@aol.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                 Page 279 of 442
                                                                                  Case 20-10343-LSS                                          Doc 8171                                     Filed 01/06/22                                                      Page 295 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                        Name                                                                                            Address                                                                                                             Email                     Method of Service
Voting Party                   Newmarket Community Church                                Attn: Treasurer                               137 Main St                                               Newmarket, NH 03857                                                    Danielabilodeau@gmail.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   NEWNAN CHAPEL UNITED METHODIST CHURCH                     c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                    ERICE@BRADLEY.COM                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Newnan First United Methodist ‐ Newnan                    c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Newnan First United Methodist ‐ Newnan                    33 Greenville St                              Newnan, GA 30263                                                                                                                                                       First Class Mail
Voting Party                   Newnan Springs United Methodist                           c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Newnan Springs Utd Methodist Church                       Cherokee Area Council 556                     78 Monanaw Ave                                            Rossville, GA 30741‐8118                                                                                     First Class Mail
Voting Party                   Newport ‐ Mt Olivet UMC                                   c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Newport Beach Fire                                        Orange County Council 039                     3300 Newport Blvd                                         Newport Beach, CA 92663‐3816                                                                                 First Class Mail
Chartered Organization         Newport Beach Police Dept                                 Orange County Council 039                     870 Santa Barbara Dr                                      Newport Beach, CA 92660‐6303                                                                                 First Class Mail
Voting Party                   Newport Center United Methodist Church                    Attn: Pastor Cindy Williams                   1601 Marguerite Ave                                       Corona del Mar, CA 92625                                               cindy@newportcenterumc.org            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Newport City Police Dept                                  Green Mountain 592                            222 Main St                                               Newport, VT 05855‐5000                                                                                       First Class Mail
Chartered Organization         Newport Elks Lodge 2105                                   Oregon Trail Council 697                      45 Se John Moore Rd                                       Newport, OR 97365‐4032                                                                                       First Class Mail
Chartered Organization         Newport Fire Fighters Assoc                               Southern Shores Fsc 783                       8473 Swan Creek Rd                                        Newport, MI 48166‐9299                                                                                       First Class Mail
Chartered Organization         Newport Fire House                                        New Birth Of Freedom 544                      301 Mulberry St                                           Newport, PA 17074‐1400                                                                                       First Class Mail
Chartered Organization         Newport Firearms LLC                                      Great Lakes Fsc 272                           7075 N Dixie Hwy                                          Newport, MI 48166‐9774                                                                                       First Class Mail
Chartered Organization         Newport Mesa Federation Teachers Retired                  Orange County Council 039                     2900 Bristol St Ste C107                                  Costa Mesa, CA 92626‐5944                                                                                    First Class Mail
Chartered Organization         Newport Police Dept                                       Narragansett 546                              120 Broadway                                              Newport, RI 02840‐2749                                                                                       First Class Mail
Chartered Organization         Newport Priest River Rotary                               Inland NW Council 611                         429311 State Hwy 20                                       Newport, WA 99156‐9741                                                                                       First Class Mail
Chartered Organization         Newport Priest River Rotary Club                          Inland NW Council 611                         P.O. Box 2305                                             Oldtown, ID 83822                                                                                            First Class Mail
Chartered Organization         Newport Telephone Co                                      Leatherstocking 400                           P.O. Box 201                                              Newport, NY 13416‐0201                                                                                       First Class Mail
Voting Party                   NEWPORT UNITED METHODIST CHURCH                           c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                    ERICE@BRADLEY.COM                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Newport Volunteer Fire Dept                               Muskingum Valley Council, Bsa 467             Sr 7                                                      Newport, OH 45768                                                                                            First Class Mail
Chartered Organization         Newport Yacht Club                                        Seneca Waterways 397                          694 Seneca Rd                                             Rochester, NY 14622‐2023                                                                                     First Class Mail
Chartered Organization         Newport‐Irvine Rotary Club                                Orange County Council 039                     P.O. Box 4113                                             Irvine, CA 92616‐4113                                                                                        First Class Mail
Firm                           Newsome Melton Law Firm                                   Michele L. Reed                               201 S Orange Ave, Ste 1500                                Orlando, FL 32801                                                      Inquiry@newsomelaw.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   NEWSONG on Old Perkins Road                               Attn: Scott Wright                            18465 Old Perkins Rd                                      Prairieville, LA 70769                                                 leadpastor@newsongcommunity.church    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Newstead Fire Co                                          Greater Niagara Frontier Council 380          5691 Cummings Rd                                          Akron, NY 14001‐9322                                                                                         First Class Mail
Chartered Organization         Newton Community Building                                 Buckskin 617                                  12330 Clay Rd                                             Newton, WV 25266‐9264                                                                                        First Class Mail
Chartered Organization         Newton Conover Highschool Njrotc                          Piedmont Council 420                          338 W 15Th St                                             Newton, NC 28658‐2906                                                                                        First Class Mail
Chartered Organization         Newton D Baker                                            Lake Erie Council 440                         3690 W 159Th St                                           Cleveland, OH 44111‐5706                                                                                     First Class Mail
Chartered Organization         Newton D Baker School Of Arts                             Lake Erie Council 440                         3690 W 159Th St                                           Cleveland, OH 44111‐5706                                                                                     First Class Mail
Chartered Organization         Newton First Christian Church                             Mid Iowa Council 177                          314 E 2Nd St N                                            Newton, IA 50208‐3209                                                                                        First Class Mail
Voting Party                   Newton Hamilton UMC (177160)                              c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Newton Junction Baptist Church                            Daniel Webster Council, Bsa 330               6 Church St                                               Kingston, NH 03848‐3062                                                                                      First Class Mail
Chartered Organization         Newton PTO                                                Simon Kenton Council 441                      6645 Mt Vernon Rd                                         Newark, OH 43055‐9623                                                                                        First Class Mail
Voting Party                   Newton United Methodist Church                            Attn: Darlene Mack & Cori Raylene Clevenger   8804 F Drive S                                            Ceresco, MI 49033                                                                                            First Class Mail
Chartered Organization         Newton Utd Methodist Church                               Choctaw Area Council 302                      600 Decatur St                                            Newton, MS 39345‐2320                                                                                        First Class Mail
Voting Party                   Newtonville United Methodist Church                       P.O. Box 7                                    568 Loudon Rd                                             Newtonville, NY 12128                                                  newtonvilleumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Newtown Congregational Church Ucc                         Connecticut Yankee Council Bsa 072            14 West St                                                Newtown, CT 06470‐2054                                                                                       First Class Mail
Chartered Organization         Newtown Estates Community Assoc                           Aloha Council, Bsa 104                        98‐456 Kaahele St                                         Aiea, HI 96701‐2031                                                                                          First Class Mail
Chartered Organization         Newtown Exchange Club                                     Washington Crossing Council 777               P.O. Box 673                                              Newtown, PA 18940‐0673                                                                                       First Class Mail
Chartered Organization         Newtown Hook & Ladder Co 1                                Connecticut Yankee Council Bsa 072            2 Church Hill Rd                                          Newtown, CT 06470                                                                                            First Class Mail
Chartered Organization         Newtown Lions Club                                        Connecticut Yankee Council Bsa 072            P.O. Box 218                                              Newtown, CT 06470‐0218                                                                                       First Class Mail
Chartered Organization         Newtown Presbyterian Church                               Washington Crossing Council 777               P.O. Box 287                                              Newtown, PA 18940‐0287                                                                                       First Class Mail
Voting Party                   Newtown United Methodist Church                           Attn: Pastor Lori Miller                      92 Church Hill Rd                                         Sandy Hook, CT 06482                                                   lori.miller@nyc‐umc.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Newville Lions Club                                       New Birth Of Freedom 544                      P.O. Box 176                                              Newville, PA 17241‐0176                                                                                      First Class Mail
Chartered Organization         Next Level Taekwondo                                      South Florida Council 084                     18170 W Dixie Hwy                                         Miami, FL 33160‐2044                                                                                         First Class Mail
Chartered Organization         Next Up Boushall Middle School                            Heart Of Virginia Council 602                 3400 Hopkins Rd                                           Richmond, VA 23234‐2404                                                                                      First Class Mail
Chartered Organization         Next Up Henderson Middle School                           Heart Of Virginia Council 602                 4319 Old Brook Rd                                         Richmond, VA 23227‐3804                                                                                      First Class Mail
Chartered Organization         Nexus Utd Church Of Christ                                Dan Beard Council, Bsa 438                    6645 Morris Rd                                            Fairfield Township, OH 45011‐5417                                                                            First Class Mail
Chartered Organization         Nh Jutras Post 43                                         Daniel Webster Council, Bsa 330               56 Boutwell St                                            Manchester, NH 03102‐3417                                                                                    First Class Mail
Chartered Organization         Niagara County Sheriffs Office                            Iroquois Trail Council 376                    5526 Niagara St Ext                                       Lockport, NY 14094‐1804                                                                                      First Class Mail
Chartered Organization         Niagara Falls Boys And Girls Club                         Greater Niagara Frontier Council 380          725 177Th St                                              Niagara Falls, NY 14301                                                                                      First Class Mail
Chartered Organization         Niagara Falls City School District                        Greater Niagara Frontier Council 380          630 66Th St                                               Niagara Falls, NY 14304‐2212                                                                                 First Class Mail
Chartered Organization         Niagara Falls Ward LDS Buffalo Stake                      Greater Niagara Frontier Council 380          754 Scovell Dr                                            Lewiston, NY 14092‐1121                                                                                      First Class Mail
Chartered Organization         Niagara Frontier Veterinary Society                       Greater Niagara Frontier Council 380          P.O. Box 1252                                             Buffalo, NY 14209                                                                                            First Class Mail
Voting Party                   Niagara United Methodist Church                           Attn: Richard R Nollmann                      2422 N. Elm St                                            Henderson, KY 42420                                                    brorick57@gmail.com                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Niagara Utd Methodist Church                              Lincoln Heritage Council 205                  12041 State Rte 136 E                                     Henderson, KY 42420‐8816                                                                                     First Class Mail
Chartered Organization         Niantic Community Church                                  Connecticut Rivers Council, Bsa 066           Pennsylvania Ave                                          Niantic, CT 06357                                                                                            First Class Mail
Chartered Organization         Nicely Elementary                                         Westmoreland Fayette 512                      55 Mclaughlin Dr                                          Greensburg, PA 15601‐1326                                                                                    First Class Mail
Chartered Organization         Niceville Police Dept                                     Gulf Coast Council 773                        P.O. Box 2                                                Niceville, FL 32588‐0002                                                                                     First Class Mail
Chartered Organization         Nicholas A Ferri Middle School                            Narragansett 546                              10 Memorial Ave                                           Johnston, RI 02919‐3252                                                                                      First Class Mail
Voting Party                   Nicholas Robert Narigon                                   Address Redacted                                                                                                                                                                                                     First Class Mail
Chartered Organization         Nicholasville Christian Church                            Blue Grass Council 204                        104 S 2Nd St                                              Nicholasville, KY 40356‐1553                                                                                 First Class Mail
Chartered Organization         Nicholasville Utd Methodist Church                        Blue Grass Council 204                        303 W Maple St                                            Nicholasville, KY 40356‐1241                                                                                 First Class Mail
Voting Party                   Nichols Hills UMC                                         Attn: Kathy Smith                             1212 Bedford Dr                                           Oklahoma City, OK 73116                                                ksmith@nicholshillsumc.org            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Nichols United Methodist Church                           Attn: Steven Bozek                            35 Shelton Rd                                             Trumbull, CT 06611                                                     bozeksteve99@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Nichols‐Bethel United Methodist Church                    Attn: Cindy Geskey                            1239 Murray Rd                                            Odenton, MD 21113                                                      lisette.lewis@nicholsbethel.org       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Nicholson Christian Church                                Dan Beard Council, Bsa 438                    P.O. Box 5                                                Independence, KY 41051‐0005                                                                                  First Class Mail
Chartered Organization         Nicholson Sellgren Post 2962‐Vfw                          Voyageurs Area 286                            P.O. Box 354                                              Carlton, MN 55718‐0354                                                                                       First Class Mail
Chartered Organization         Nicholtown Community Center                               Blue Ridge Council 551                        112 Rebecca St                                            Greenville, SC 29607‐2042                                                                                    First Class Mail
Chartered Organization         Nickelsville Utd Methodist Church                         Sequoyah Council 713                          P.O. Box 137                                              Nickelsville, VA 24271‐0137                                                                                  First Class Mail
Chartered Organization         Nickerson Gardens Resident Advisory Ctte                  Greater Los Angeles Area 033                  1590 E 114Th St                                           Los Angeles, CA 90059‐1841                                                                                   First Class Mail
Voting Party                   Nicole Browand                                            190 Bear Ridge Road                           Pleasantville, NY 10570                                                                                                          nbrowand@gmail.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Nicolet Law Office, S.C.                                  Russell D. Nicolet                            517 2nd St, Ste 205                                       Hudson, WI 54016                                                       russell@nicoletlaw.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Nicoma Park UMC                                           Attn: Rev Alan R Nagel                        2007 N Westminster Dr                                     Nicoma Park, OK 73066                                                  pastor@oknagel.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Nicoma Park Utd Methodist Church                          Last Frontier Council 480                     P.O. Box 337                                              Nicoma Park, OK 73066‐0337                                                                                   First Class Mail
Voting Party                   Nicor Gas                                                 Attn: Eric Christoffel                        P.O. Box 165                                              Wedron                                                                 airrix71@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Nighbert Memorial United Methodist Church                 Attn: Rev Bradley G Davis                     P.O. Box 1467                                             Logan, WV 25601                                                        bradgdavis71@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Nikwax North America Inc                                  801 Nw 42Nd St Ste 204                        Seattle, WA 98107‐4503                                                                                                                                                 First Class Mail
Voting Party                   Niles Discovery Church                                    36600 Niles Blvd                              Fremont, CA 94536                                                                                                                bpalleschi@nilesdiscoverychurch.org   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Niles Fire Dept                                           Pathway To Adventure 456                      8360 W Dempster St                                        Niles, IL 60714‐1614                                                                                         First Class Mail
Voting Party                   Niles Valley UMC (149641)                                 c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Niles Valley Utd Methodist Church                         Five Rivers Council, Inc 375                  10991 Rte 287                                             Wellsboro, PA 16901‐7662                                                                                     First Class Mail
Chartered Organization         Nimitz High School Band Boosters                          Sam Houston Area Council 576                  802 Sycamore Ridge Ln                                     Houston, TX 77073‐6220                                                                                       First Class Mail
Voting Party                   Nimmo UMC Virginia Beach                                  c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Nimmo Utd Methodist Mens Club                             Tidewater Council 596                         2200 Princess Anne Rd                                     Virginia Beach, VA 23456‐3536                                                                                First Class Mail
Chartered Organization         Nimmonsburg Rotary                                        Baden‐Powell Council 368                      22 Maplewood Dr                                           Binghamton, NY 13901‐5744                                                                                    First Class Mail
Voting Party                   Nimmonsburg UMC                                           Attn: Church Pastor                           918 Upper Front St                                        Binghamton, NY 13905                                                   churchpastormumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Ninas Del Districto De Aguila                             Pathway To Adventure 456                      222 Capri Ter Apt 4A                                      Wheeling, IL 60090‐2823                                                                                      First Class Mail
Chartered Organization         Ninos FC Barcelona                                        Pathway To Adventure 456                      1915 Elm Ct Apt 11                                        Hanover Park, IL 60133‐6804                                                                                  First Class Mail
Chartered Organization         Ninth District Veterans Assoc                             American Legion Post 29                       264 Glenville Rd                                          Greenwich, CT 06831                                                                                          First Class Mail
Chartered Organization         Ninthdecimal                                              Greater New York Councils, Bsa 640            16 E 40Th St Fl 4                                         New York, NY 10016‐0113                                                                                      First Class Mail
Chartered Organization         Nipomo Area Recreation Assoc                              Los Padres Council 053                        P.O. Box 346                                              Nipomo, CA 93444‐0346                                                                                        First Class Mail
Chartered Organization         Ni‐Sanak‐Tani                                             Gateway Area 624                              2600 Quarry Rd                                            La Crosse, WI 54601‐3939                                                                                     First Class Mail
Voting Party                   Nisbet United Methodist Church (08142)                    c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Niskayuna Reformed Church                                 Twin Rivers Council 364                       3041 Troy Schenectady Rd                                  Niskayuna, NY 12309‐1613                                                                                     First Class Mail
Chartered Organization         Nisqually Valley Moose Lodge 1905                         Pacific Harbors Council, Bsa 612              1117 Yelm Ave Sw                                          Yelm, WA 98597                                                                                               First Class Mail
Voting Party                   Nite Ize                                                  P.O. Box 913144                               Denver, CO 80291‐3144                                                                                                                                                  First Class Mail
Chartered Organization         Nitram Lodge 188 F&Am                                     Greater Tampa Bay Area 089                    4275 78Th St N                                            St Petersburg, FL 33709‐4423                                                                                 First Class Mail
Chartered Organization         Nitro Church Of God                                       Buckskin 617                                  1517 15Th St                                              Nitro, WV 25143‐1817                                                                                         First Class Mail
Chartered Organization         Nittany Post 245                                          Juniata Valley Council 497                    150 Pine Hall Ct                                          State College, PA 16801                                                                                      First Class Mail
Voting Party                   Niverville Chatham Center UMC                             Attn: Janice Better, Church Treasurer         1 Mann Dr, Apt 2                                          Schenectady, NY 12033                                                  janicebet@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Niverville Chatham Center UMC                             Attn: Douglas Suker, Trustee                  86 Mather Ave                                             Schenectady, NY 12304                                                  dsuker@verizon.net                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Niverville Chatham Center UMC                             Attn: Douglas Warren Suker                    28 Church St                                              P.O. Box 64                         Schenectady, NY 12130                                                    First Class Mail
Chartered Organization         Niverville‐ Chatham Ctr Utd Methodist Ch                  Twin Rivers Council 364                       P.O. Box 64                                               Niverville, NY 12130‐0064                                                                                    First Class Mail
Voting Party                   NIWOT United Methodist Church                             Attn: Frank Smith, Treasurer                  7405 Lookout Rd                                           Longmont, CO 80503                                                     fls@ieee.org                          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Nixa American Legion                                      Ozark Trails Council 306                      591 Mccroskey                                             Nixa, MO 65714                                                                                               First Class Mail
Chartered Organization         Nixa Christian Church                                     Ozark Trails Council 306                      400 Northview Rd                                          Nixa, MO 65714‐9238                                                                                          First Class Mail
Voting Party                   Nixon Peabody LLP                                         Attn: Darius Gerald Brown                     53 State St Fl 31                                         Boston, MA 02109                                                       dgbrown@nixonpeabody.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Nixon United Methodist Church (95503)                     c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Nj Army National Guard 3Rd Battallion                     Patriots Path Council 358                     430 Wern Ave                                              Morristown, NJ 07960                                                                                         First Class Mail
Chartered Organization         Njrotc Booster Club                                       Baltimore Area Council 220                    2700 Riva Rd                                              Annapolis, MD 21401‐7205                                                                                     First Class Mail
Chartered Organization         Nminster Presbyterian Ch Diamond Bar                      Greater Los Angeles Area 033                  400 Rancheria Rd                                          Diamond Bar, CA 91765‐2143                                                                                   First Class Mail
Chartered Organization         Nmsu Police Dept                                          Yucca Council 573                             725 College Dr                                            Las Cruces, NM 88003‐1204                                                                                    First Class Mail
Chartered Organization         No Conway Community Center                                Daniel Webster Council, Bsa 330               2628 White Mountain Hwy                                   North Conway, NH 03860‐5110                                                                                  First Class Mail
Chartered Organization         No Mianus School PTA                                      Greenwich 067                                 309 Palmer Hill Rd                                        Riverside, CT 06878‐1011                                                                                     First Class Mail
Chartered Organization         Noah Community Center                                     Middle Tennessee Council 560                  165 Noah Rd                                               Manchester, TN 37355‐5328                                                                                    First Class Mail
Chartered Organization         Noble Elementary School PTA                               Lake Erie Council 440                         1293 Ardoon St                                            Cleveland Heights, OH 44121‐1601                                                                             First Class Mail
Voting Party                   Noble United Methodist Church                             Attn: Administrative Council President        P.O. Box 313                                              Noble, OK 73068                                                        nobleumc@outlook.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Nobles Chapel Baptist Church                              East Carolina Council 426                     7330 Old Raleigh Rd                                       Sims, NC 27880‐9791                                                                                          First Class Mail
Voting Party                   Noblesville First United Methodist Church                 Attn: Jerry Rairdon, Lead Pastor              2051 Monument St                                          Noblesville, IN 46060                                                  jrairdon@noblesvillefirst.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Noblesville Police Dept                                   Crossroads Of America 160                     135 S 9Th St                                              Noblesville, IN 46060‐2620                                                                                   First Class Mail
Chartered Organization         Nocatee Elementary Parents And Teachers                   Southwest Florida Council 088                 4846 Sw Shores Ave                                        Arcadia, FL 34266‐6828                                                                                       First Class Mail
Chartered Organization         Nocatee Group Of Concerned Citizens                       North Florida Council 087                     23 Willow Falls Trl                                       Ponte Vedra, FL 32081‐4401                                                                                   First Class Mail
Chartered Organization         Noccalula Civitan Club                                    Greater Alabama Council 001                   1028 Valley Dr                                            Attalla, AL 35954‐8574                                                                                       First Class Mail
Chartered Organization         Noe Vly Merchants & Professional Assoc                    San Francisco Bay Area Council 028            P.O. Box 460754                                           San Francisco, CA 94146‐0754                                                                                 First Class Mail
Voting Party                   Noel Memorial United Methodist Church                     520 Herndon St                                Shreveport, LA 71101                                                                                                             msloan@noelumc.org                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Noelani Elementary School PTA                             Aloha Council, Bsa 104                        2655 Woodlawn Dr                                          Honolulu, HI 96822‐1840                                                                                      First Class Mail
Chartered Organization         Noes Chapel Methodist Church                              Great Smoky Mountain Council 557              707 Noes Chapel Rd                                        Morristown, TN 37814‐2128                                                                                    First Class Mail
Chartered Organization         Noe's Chapel Utd Methodist Church                         Great Smoky Mountain Council 557              1040 Noes Chapel Rd                                       Morristown, TN 37814‐2131                                                                                    First Class Mail
Chartered Organization         Nogales Ward ‐ LDS Sahuarita Stake                        Catalina Council 011                          17699 S Camino De Las Quintas                             Sahuarita, AZ 85629                                                                                          First Class Mail
Chartered Organization         Nokesville Elementary PTA                                 National Capital Area Council 082             12375 Aden Rd                                             Nokesville, VA 20181‐2320                                                                                    First Class Mail
Voting Party                   Nokesville UMC                                            c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Nokesville United Methodist Church                        Attn: Linda A Stark‐Morrow                    12550 Aden Rd                                             P.O. Box 27                         Nokesville, VA 20181               nokesvilleumc1@gmail.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Nokesville United Methodist Church                        P.O. Box 27                                   Nokesville, VA 20182                                                                                                             nokesvilleumc1@gmail.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Nolachuckey Ruritan Club                                  Sequoyah Council 713                          565 Nolichuckey Rd                                        Greeneville, TN 37743‐1887                                                                                   First Class Mail
Chartered Organization         Nolensville 1st Utd Methodist Ch                          Middle Tennessee Council 560                  7316 Nolensville Rd                                       Nolensville, TN 37135‐9400                                                                                   First Class Mail
Voting Party                   Nolensville first United Methodist Church                 Attn: Chris Grosson                           7316 Nolensville Rd                                       Nolensville, TN 37135                                                  numc@nolensvilleumc.org               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Nolensville First United Methodist Church                 Attn: Don Hoffmeister, Treasurer              P.O. Box 249                                              Nolensville, TN 37135                                                  numc@nolensvilleumc.org               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Nolley Memorial Utd Methodist Church                      Louisiana Purchase Council 213                P.O. Box 127                                              Jena, LA 71342‐0127                                                                                          First Class Mail
Chartered Organization         Nome Rotary Club                                          Great Alaska Council 610                      P.O. Box 1716                                             Nome, AK 99762‐1716                                                                                          First Class Mail
Chartered Organization         Noon Kiwanis ‐ Worthington                                Sioux Council 733                             P.O. Box 9                                                Worthington, MN 56187‐0009                                                                                   First Class Mail
Chartered Organization         Noon Kiwanis Club Of Corvallis                            Oregon Trail Council 697                      P.O. Box 1602                                             Corvallis, OR 97339‐1602                                                                                     First Class Mail
Chartered Organization         Noon Lions Club Friona                                    Golden Spread Council 562                     1715 W 10Th St                                            Friona, TX 79035‐1507                                                                                        First Class Mail
Chartered Organization         Noon Rotary Club Of Allen                                 Circle Ten Council 571                        P.O. Box 369                                              Allen, TX 75013‐0007                                                                                         First Class Mail
Voting Party                   Nora Springs 1st United Methodist Church                  Attn: Mary Dudding, Treasurer                 202 N Hawkeye Ave                                         P.O. Box 627                        Nora Springs, IA 50458             sue4jc1960@gmail.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Nora Springs Impact Group                                 Winnebago Council, Bsa 173                    112 N Seminary Ave                                        Nora Springs, IA 50458‐7782                                                                                  First Class Mail
Voting Party                   Norborne UMC                                              Attn: David Allen Beebe                       108 E 2nd St                                              Norborne, MO 64668                                                     dbeebe@greenhills.net                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 280 of 442
                                                                                  Case 20-10343-LSS                                       Doc 8171                                      Filed 01/06/22                                                     Page 296 of 457
                                                                                                                                                                           Exhibit B
                                                                                                                                                                            Service List
                                                                                                                                                                     Served as set forth below

        Description                                                        Name                                                                                          Address                                                                                                               Email               Method of Service
Voting Party                   Norborne United Methodist Church                             Attn: David A Beebe                     403 Grider Ave                                             Norborne, MO 64668                                                    dbeebe@greenhills.net              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Norborne Utd Methodist Church                                Heart of America Council 307            2nd and Walnut                                             Norborne, MO 64668                                                                                       First Class Mail
Chartered Organization         Norco American Legion Post 328                               California Inland Empire Council 045    3888 Old Hamner Rd                                         Norco, CA 92860‐1200                                                                                     First Class Mail
Chartered Organization         Norco Area Chamber Of Commerce                               California Inland Empire Council 045    P.O. Box 235                                               Norco, CA 92860‐0235                                                                                     First Class Mail
Chartered Organization         Norco Booster Club                                           California Inland Empire Council 045    2065 Temescal Ave                                          Norco, CA 92860‐2726                                                                                     First Class Mail
Chartered Organization         Norco Lions Club                                             California Inland Empire Council 045    1245 6Th St                                                Norco, CA 92860‐1448                                                                                     First Class Mail
Chartered Organization         Norcross Presbyterian                                        Atlanta Area Council 092                3324 Medlock Bridge Rd                                     Norcross, GA 30092‐3008                                                                                  First Class Mail
Chartered Organization         Norcross Utd Methodist Church                                Atlanta Area Council 092                2500 Beaver Ruin Rd                                        Norcross, GA 30071‐4113                                                                                  First Class Mail
Chartered Organization         Norfield Congregational Church                               Connecticut Yankee Council Bsa 072      64 Norfield Rd                                             Weston, CT 06883‐2225                                                                                    First Class Mail
Chartered Organization         Norfolk Lions Club                                           Mid‐America Council 326                 P.O. Box 392                                               Norfolk, NE 68702‐0392                                                                                   First Class Mail
Chartered Organization         Norfolk Noon Kiwanis                                         Mid‐America Council 326                 P.O. Box 345                                               Norfolk, NE 68702‐0345                                                                                   First Class Mail
Chartered Organization         Norkirk Presbyterian Church                                  Circle Ten Council 571                  3915 N Josey Ln                                            Carrollton, TX 75007‐2441                                                                                First Class Mail
Chartered Organization         Norlina Police Dept                                          Occoneechee 421                         P.O. Box 149                                               Norlina, NC 27563‐0149                                                                                   First Class Mail
Voting Party                   Normal City UMC                                              Attn: Treasurer                         1201 W McGalliard Rd                                       Muncie, IN 47303                                                      gumchurch@comcast.net              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Normal First United Methodist Church                         Attn: Finance Mgr, Leta Buhrmann        211 N School St                                            Normal, IL 61761                                                      business@normalfirst.org           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Normal Heights United Methodist Church                       Attn: Finance Committee                 4650 Mansfield St                                          San Diego, CA 92116                                                   office@nhunited.org                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Norman County East PTO                                       Northern Lights Council 429             P.O. Box 100                                               Gary, MN 56545‐0100                                                                                      First Class Mail
Chartered Organization         Norman Dean Home For Services Inc                            Patriots Path Council 358               16 Righter Ave                                             Denville, NJ 07834‐2114                                                                                  First Class Mail
Chartered Organization         Norman Mcleod American Legion Post 26                        Greater Tampa Bay Area 089              P.O. Box 26                                                Plant City, FL 33564‐0026                                                                                First Class Mail
Chartered Organization         Norman Police Dept                                           Last Frontier Council 480               201 W Gray St Ste B                                        Norman, OK 73069‐7108                                                                                    First Class Mail
Chartered Organization         Norman Price American Legion Post 68                         National Capital Area Council 082       P.O. Box 348                                               Brookeville, MD 20833‐0348                                                                               First Class Mail
Chartered Organization         Norman Price American Legion Post 68                         National Capital Area Council 082       P.O. Box 426                                               Olney, MD 20830‐0426                                                                                     First Class Mail
Chartered Organization         Normandale Hylands Utd Methodist                             Northern Star Council 250               9920 Normandale Blvd                                       Bloomington, MN 55437‐2253                                                                               First Class Mail
Chartered Organization         Normandale Lutheran Church                                   Northern Star Council 250               6100 Normandale Rd                                         Edina, MN 55436‐2633                                                                                     First Class Mail
Chartered Organization         Normandy Center 7 & 8 Grade                                  Greater St Louis Area Council 312       7855 Natural Bridge Rd                                     St Louis, MO 63121‐4625                                                                                  First Class Mail
Chartered Organization         Normandy Elementary PTO                                      Denver Area Council 061                 6750 S Kendall Blvd                                        Littleton, CO 80128‐3927                                                                                 First Class Mail
Chartered Organization         Normandy High School                                         Greater St Louis Area Council 312       6701 St Charles Rock Rd                                    St Louis, MO 63133‐1705                                                                                  First Class Mail
Chartered Organization         Normandy Park Community Club                                 Chief Seattle Council 609               17418 12Th Pl Sw                                           Normandy Park, WA 98166‐3669                                                                             First Class Mail
Chartered Organization         Normandy Park Congregational Church                          Chief Seattle Council 609               19247 1St Ave S                                            Normandy Park, WA 98148‐2101                                                                             First Class Mail
Chartered Organization         Normandy Police Dept                                         Greater St Louis Area Council 312       7700 Natural Bridge Rd                                     St Louis, MO 63121‐4914                                                                                  First Class Mail
Voting Party                   Normandy United Methodist Church                             Attn: Richard Barton                    70 Lakeview Rd                                             Normandy, TN 37360                                                    rabarton67@gmail.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Normandy Utd Methodist Church                                Miami Valley Council, Bsa 444           450 W Alex Bell Rd                                         Dayton, OH 45459‐3012                                                                                    First Class Mail
Chartered Organization         Norman's Grove Baptist Church                                Piedmont Council 420                    206 Carpenters Grove Church Rd                             Lawndale, NC 28090‐9256                                                                                  First Class Mail
Chartered Organization         Norris City Lions Club                                       Buffalo Trace 156                       P.O. Box 377                                               Norris City, IL 62869‐0377                                                                               First Class Mail
Chartered Organization         Norris G Schexnider Sr Mem Home Assn                         Sam Houston Area Council 576            6315B Fm 1488 Rd 251                                       Magnolia, TX 77354                                                                                       First Class Mail
Chartered Organization         Norris Religious Fellowship                                  Great Smoky Mountain Council 557        P.O. Box 267                                               Norris, TN 37828‐0267                                                                                    First Class Mail
Voting Party                   Norrisville UMC                                              Attn: Melissa McDade                    2434 Bradenbaugh Rd                                        White Hall, MD 21161                                                  thomasjsullivan@hotmail.com        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Norrisville United Methodist Church                          Attn: Ruth Long                         2811 W Church Ln                                           White Hall, MD 21161                                                  thomasjsullivan@hotmail.com        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Norriton Presbyterian Church                                 Cradle Of Liberty Council 525           P.O. Box 220                                               Norristown, PA 19404                                                                                     First Class Mail
Chartered Organization         Nortex Vfd                                                   Circle Ten Council 571                  P.O. Box 2044                                              Mt Pleasant, TX 75456‐2044                                                                               First Class Mail
Chartered Organization         North & Southampton Reformed Church                          Washington Crossing Council 777         1380 Bristol Rd                                            Southampton, PA 18966‐4329                                                                               First Class Mail
Chartered Organization         North American Martyrs Catholic Church                       Cornhusker Council 324                  1101 Isaac Dr                                              Lincoln, NE 68521‐5312                                                                                   First Class Mail
Chartered Organization         North Andrew Parent Teacher Org                              Pony Express Council 311                9120 Hwy 48                                                Rosendale, MO 64483‐9115                                                                                 First Class Mail
Chartered Organization         North Arvada Middle School                                   Denver Area Council 061                 7285 Pierce St                                             Arvada, CO 80003‐3064                                                                                    First Class Mail
Chartered Organization         North Atlanta Church Of Christ                               Atlanta Area Council 092                5676 Roberts Dr                                            Dunwoody, GA 30338‐2758                                                                                  First Class Mail
Chartered Organization         North Aurelius PTO                                           Water And Woods Council 782             115 N Aurelius Rd                                          Mason, MI 48854‐9552                                                                                     First Class Mail
Chartered Organization         North Aurora Firemen's Assoc                                 Three Fires Council 127                 2 Monroe St                                                North Aurora, IL 60542‐1666                                                                              First Class Mail
Chartered Organization         North Aurora Lions Club                                      Three Fires Council 127                 405 Oak St                                                 North Aurora, IL 60542‐1060                                                                              First Class Mail
Chartered Organization         North Ave Baptist Church                                     Los Padres Council 053                  1523 W North Ave                                           Lompoc, CA 93436‐3801                                                                                    First Class Mail
Chartered Organization         North Ave Church Of God                                      Southern Shores Fsc 783                 1079 North Ave                                             Battle Creek, MI 49017‐3127                                                                              First Class Mail
Chartered Organization         North Barrington PTO                                         Pathway To Adventure 456                24175 N Grandview Dr                                       Barrington, IL 60010‐1737                                                                                First Class Mail
Chartered Organization         North Beaver Civic Club                                      Moraine Trails Council 500              1203 Mt Jackson Rd                                         New Castle, PA 16102‐2917                                                                                First Class Mail
Chartered Organization         North Bend Vfw                                               Mid‐America Council 326                 P.O. Box 553                                               North Bend, NE 68649‐0553                                                                                First Class Mail
Chartered Organization         North Berwick Food Pantry                                    Pine Tree Council 218                   P.O. Box 571                                               North Berwick, ME 03906‐0571                                                                             First Class Mail
Voting Party                   North Bethesda United Methodist Church                       Attn: Kathy Devadas                     10100 Old Georgetown Rd                                    Bethesda, MD 20814                                                    nbumc.office@gmail.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Billerica Baptist Church                               The Spirit of Adventure 227             Old Elm St                                                 N. Billerica, MA 01862                                                                                   First Class Mail
Voting Party                   North Blenheim United Methodist Church                       Attn: Michael T Gebhard                 P.O. Box 137                                               North Blenheim, NY 12131                                              pastormike‐umc@midtel.net          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Blvd Homes                                             Greater Tampa Bay Area 089              1800 N Rome Ave                                            Tampa, FL 33607‐4422                                                                                     First Class Mail
Chartered Organization         North Boone Fire District 3                                  Blackhawk Area 660                      305 W Grove St                                             Poplar Grove, IL 61065‐9040                                                                              First Class Mail
Chartered Organization         North Branch American Legion Post 457                        Water And Woods Council 782             P.O. Box 59                                                North Branch, MI 48461‐0059                                                                              First Class Mail
Chartered Organization         North Branch Reformed Church                                 Patriots Path Council 358               203 State Rte 28                                           Bridgewater, NJ 08807‐1918                                                                               First Class Mail
Chartered Organization         North Branch Volunteer Fire Co                               Patriots Path Council 358               1169 State Rte 28                                          Branchburg, NJ 08876‐3340                                                                                First Class Mail
Chartered Organization         North Branch Volunteer Fire Dept                             Northern Star Council 250               37917 Forest Blvd                                          North Branch, MN 55056                                                                                   First Class Mail
Chartered Organization         North Branford Congregational Church                         Connecticut Yankee Council Bsa 072      1680 Foxon Rd                                              North Branford, CT 06471‐1505                                                                            First Class Mail
Voting Party                   North Brewer Eddington United Methodist Church               Attn: Merrill Boynton/Selina Lufkin     31 Main St                                                 Eddington, ME 04428                                                   merrill.boynton@roadrunner.com     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Bridge Elementary PTO                                  Rio Grande Council 775                  1111 W Sugarcane Dr                                        Weslaco, TX 78599‐3864                                                                                   First Class Mail
Chartered Organization         North Broadway Utd Methodist Church                          Simon Kenton Council 441                48 E North Broadway St                                     Columbus, OH 43214‐4112                                                                                  First Class Mail
Voting Party                   North Bucksport United Methodist Church                      Attn: Michael Morris                    P.O. Box 1835                                              Bucksport, ME 04416                                                   mikehmorris@yahoo.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Buffalo Utd Presbyterian Church                        Laurel Highlands Council 527            711 Rural Valley Rd                                        Washington, PA 15301‐7713                                                                                First Class Mail
Chartered Organization         North Buttes Lodge 230                                       Golden Empire Council 047               1200 Sycamore St                                           Gridley, CA 95948‐2900                                                                                   First Class Mail
Voting Party                   North Canton Community United Methodist Church               Attn: Dawn E Harris                     P.O. BOX 311                                               NORTH CANTON, CT 06059                                                dawneharris@msn.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Cape Lutheran                                          Three Harbors Council 636               2644 Raynor Ave                                            Franksville, WI 53126‐9738                                                                               First Class Mail
Chartered Organization         North Carolina Grange 1066                                   Tuscarora Council 424                   4836 Taylors Bridge Hwy                                    Clinton, NC 28328‐0621                                                                                   First Class Mail
Chartered Organization         North Carroll Cooperative Parish                             Baltimore Area Council 220              1205 N Main St                                             Hampstead, MD 21074‐2200                                                                                 First Class Mail
Chartered Organization         North Centerville Fire Co                                    Monmouth Council, Bsa 347               P.O. Box 207                                               Hazlet, NJ 07730‐0207                                                                                    First Class Mail
Chartered Organization         North Central Ahec                                           Dan Beard Council, Bsa 438              500 Technology Way                                         Florence, KY 41042‐3224                                                                                  First Class Mail
Chartered Organization         North Central Baptist Church                                 Sam Houston Area Council 576            2102 Tidwell Rd                                            Houston, TX 77093‐6624                                                                                   First Class Mail
Chartered Organization         North Chapel Hill Baptist Church                             Occoneechee 421                         7707 Airport Rd                                            Chapel Hill, NC 27514                                                                                    First Class Mail
Chartered Organization         North Charleston Fire Dept                                   Coastal Carolina Council 550            2500 City Hall Ln                                          North Charleston, SC 29406‐6538                                                                          First Class Mail
Chartered Organization         North Charleston Police Dept                                 Coastal Carolina Council 550            2500 City Hall Ln                                          North Charleston, SC 29406‐6538                                                                          First Class Mail
Voting Party                   North Charleston United Methodist Church                     Attn: Rev Richard Reams                 1125 E Montague Ave                                        North Charleston, SC 29405                                            richard.reams@gmail.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   North Charlestown United Methodist Church, Charlestown, NH   Attn: Caryl McPherson                   397 River Rd                                               Charlestown, NH 03743                                                 eldonsjass@yahoo.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   North Chatham United Methodist Church                        Attn: Paul C Herrington                 P.O. Box 107                                               4274 Rte 203                      North Chatham, NY 12132             ncumctreas@gmail.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Chilton Parents For Scouting                           Tukabatchee Area Council 005            455 County Rd 922                                          Jemison, AL 35085‐5179                                                                                   First Class Mail
Chartered Organization         North Chilton Parents Of Scouting                            Tukabatchee Area Council 005            P.O. Box 1263                                              Calera, AL 35040‐1263                                                                                    First Class Mail
Voting Party                   North Christian Church                                       Attn: Tonja Gerardy                     850 Tipton Ln                                              Columbus, IN 47201                                                    tonja@northchristianchurch.com     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   North Christian Church                                       Attn: Joseph Stanford                   10505 Sun Hollow Pl                                        Fort Wayne, IN 46818                                                  fifjoe@frontier.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North City Church Of Christ                                  Greater St Louis Area Council 312       5036 Thekla Ave                                            St Louis, MO 63115‐1354                                                                                  First Class Mail
Voting Party                   North Clairemont United Methodist Church                     Attn: Riley E McRae                     4570 Mt Herbert Ave                                        San Diego, CA 92117                                                   pastorriley.ccf@gmail.com          Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Clark Lions Club 7906                                  Cascade Pacific Council 492             P.O. Box 67                                                Amboy, WA 98601‐0067                                                                                     First Class Mail
Voting Party                   North Clymer United Methodist Church                         Attn: Kevin L Costner                   573 Clymer Sherman Rd                                      Clymer, NY 14724                                                      kevin.costner@asburyseminary.edu   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   North Clymer United Methodist Church                         Attn: Treasurer                         P.O. Box 264                                               Clymer, NY 14724                                                      kevin.costner@asburyseminary.edu   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   North Coast United Methodist Church                          Attn: Larry Hatter                      1501 Kelly St                                              Oceanside, CA 92054                                                   ncumc578@gmail.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Columbus Preparatory Academy                           Simon Kenton Council 441                1695 Gladstone Ave                                         Columbus, OH 43211                                                                                       First Class Mail
Chartered Organization         North Congregational Church                                  Connecticut Rivers Council, Bsa 066     P.O. Box 307                                               New Hartford, CT 06057‐0307                                                                              First Class Mail
Chartered Organization         North Congregational Church                                  Daniel Webster Council, Bsa 330         355 Spinney Rd                                             Portsmouth, NH 03801‐4998                                                                                First Class Mail
Chartered Organization         North Congregational Church                                  Connecticut Rivers Council, Bsa 066     11 Main St N                                               Woodbury, CT 06798‐2915                                                                                  First Class Mail
Chartered Organization         North Conway Fire Dept                                       Daniel Webster Council, Bsa 330         P.O. Box 218                                               North Conway, NH 03860‐0218                                                                              First Class Mail
Chartered Organization         North County Christian School                                Greater St Louis Area Council 312       845 Dunn Rd                                                Florissant, MO 63031‐8203                                                                                First Class Mail
Chartered Organization         North County Fire Dept                                       San Diego Imperial Council 049          315 E Ivy St                                               Fallbrook, CA 92028‐2138                                                                                 First Class Mail
Chartered Organization         North Creek Presbyterian Church                              Mount Baker Council, Bsa 606            621 164Th St Se                                            Mill Creek, WA 98012‐6303                                                                                First Class Mail
Chartered Organization         North Creek Volunteer Fire Co, Inc                           Twin Rivers Council 364                 P.O. Box 112                                               North Creek, NY 12853‐0112                                                                               First Class Mail
Chartered Organization         North Cross School                                           Blue Ridge Mtns Council 599             4254 Colonial Ave                                          Roanoke, VA 24018‐4009                                                                                   First Class Mail
Chartered Organization         North Cross Utd Methodist Church                             Heart Of America Council 307            1321 Ne Vivion Rd                                          Kansas City, MO 64118‐5934                                                                               First Class Mail
Voting Party                   North Decatur United Methodist Church, Inc ‐ Decatur         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Decatur Utd Methodist Church                           Atlanta Area Council 092                1523 Church St                                             Decatur, GA 30030‐1534                                                                                   First Class Mail
Chartered Organization         North Deering Congregational Church                          Pine Tree Council 218                   1364 Washington Ave                                        Portland, ME 04103‐3609                                                                                  First Class Mail
Chartered Organization         North East Ohio Youth Leadership Council                     Lake Erie Council 440                   17740 Lost Trl                                             Chagrin Falls, OH 44023‐5834                                                                             First Class Mail
Voting Party                   North East United Methodist Church ‐ North East              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North East Utd Methodist Church                              Del Mar Va 081                          306 S Main St                                              North East, MD 21901‐3916                                                                                First Class Mail
Chartered Organization         North Eaton Christian Church Disciples                       Lake Erie Council 440                   35895 Royalton Rd                                          Grafton, OH 44044‐9587                                                                                   First Class Mail
Chartered Organization         North Elementary PTO                                         Crossroads Of America 160               440 N 10Th St                                              Noblesville, IN 46060‐2013                                                                               First Class Mail
Chartered Organization         North End Hose Co                                            Connecticut Yankee Council Bsa 072      215 Spring St                                              West Haven, CT 06516‐2726                                                                                First Class Mail
Chartered Organization         North English Christian Church                               Hawkeye Area Council 172                131 N Howard St                                            North English, IA 52316‐9570                                                                             First Class Mail
Chartered Organization         North Essex Post 146 Jewish War Veterans                     Northern New Jersey Council, Bsa 333    96 Franklin St                                             Verona, NJ 07044‐1923                                                                                    First Class Mail
Chartered Organization         North Fairhaven Improvement Assoc                            Narragansett 546                        267 Adams St                                               Fairhaven, MA 02719‐4311                                                                                 First Class Mail
Voting Party                   North Fayette UMC (Fayetteville)                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   North Ferrisburg United Methodist Church                     Attn: Sunjae Lee                        227 Old Hollow Rd                                          North Ferrisburg, VT 05473                                            sunjaehope@gmail.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   North Ferrisburgh United Methodist Church                    Attn: Sunjae Lee                        227 Old Hollow Rd                                          North Ferrisburgh, VT 05473                                           sunjaehope@gmail.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Florida Council ‐ Shands                               North Florida Council 087               521 Edgewood Ave S                                         Jacksonville, FL 32205‐5332                                                                              First Class Mail
Voting Party                   North Florida Council No087                                  Attn: Jack L Sears Jr                   521 S Edgewood Ave                                         Jacksonville, FL 32205                                                jack.sears@scouting.org            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   North Florida Council, Inc Boy Scouts of America             c/o Akerman LLP                         Attn: Jacob A Brown                                        50 N Laura St, Ste 3100           Jacksonville, FL 32202              jacob.brown@akerman.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   North Florida Council, Inc Boy Scouts of America             Attn: Jack Sears                        521 S Edgewood Ave                                         Jacksonville, FL 32205                                                Jack.Sears@scouting.org            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Florida School Of Special Ed                           North Florida Council 087               4600 Beach Blvd                                            Jacksonville, FL 32207‐4764                                                                              First Class Mail
Chartered Organization         North Fond Du Lac Optimist Club                              Bay‐Lakes Council 635                   P.O. Box 45                                                Fond Du Lac, WI 54936‐0045                                                                               First Class Mail
Chartered Organization         North Fork Lions Club                                        Sequoia Council 027                     P.O. Box 251                                               North Fork, CA 93643‐0251                                                                                First Class Mail
Voting Party                   North Fork UMC                                               Attn: Pastor Tom MacLeod                P.O. Box 1286                                              Cutchogue, NY 11935                                                                                      First Class Mail
Chartered Organization         North Fort Myers Academy For The Arts                        Southwest Florida Council 088           1856 Arts Way                                              North Fort Myers, FL 33917‐1838                                                                          First Class Mail
Chartered Organization         North Fort Myers High School                                 Southwest Florida Council 088           5000 Orange Grove Blvd                                     North Fort Myers, FL 33903‐5231                                                                          First Class Mail
Chartered Organization         North Fulton Jewish Community                                Atlanta Area Council 092                5342 Tilly Mill Rd                                         Dunwoody, GA 30338‐4426                                                                                  First Class Mail
Chartered Organization         North Georgia Workplace Innovation Space                     Northeast Georgia Council 101           142 River Ter                                              Ellijay, GA 30540‐5549                                                                                   First Class Mail
Chartered Organization         North Glade Elementary School                                South Florida Council 084               5000 Nw 177Th St                                           Miami Gardens, FL 33055‐3660                                                                             First Class Mail
Chartered Organization         North Glendale School PTO                                    Greater St Louis Area Council 312       765 N Sappington Rd                                        St Louis, MO 63122‐3257                                                                                  First Class Mail
Voting Party                   North Granville United Methodist Church                      Attn: Carla Snyder                      251 Gansevoort Rd                                          Gansevoort, NY 12831                                                  carlasnyderihs@gmail.com           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Gwinnett Church                                        Northeast Georgia Council 101           4963 W Price Rd                                            Suwanee, GA 30024‐1707                                                                                   First Class Mail
Chartered Organization         North Gwinnett Church                                        Northeast Georgia Council 101           4973 W Price Rd                                            Suwanee, GA 30024‐1707                                                                                   First Class Mail
Chartered Organization         North Gwinnett High School Jrotc                             Northeast Georgia Council 101           20 Level Creek Rd                                          Suwanee, GA 30024‐1714                                                                                   First Class Mail
Chartered Organization         North Haledon PTO                                            Northern New Jersey Council, Bsa 333    515 High Mountain Rd                                       North Haledon, NJ 07508‐2603                                                                             First Class Mail
Voting Party                   North Harmony United Methodist Church                        Attn: Pastor Joseph Osborne             31 E Main St                                               Panama, NY 14767                                                      5osborne@windstream.net            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Haven Congregational Church                            Connecticut Yankee Council Bsa 072      28 Church St                                               North Haven, CT 06473‐2525                                                                               First Class Mail
Chartered Organization         North Haven Fair Assoc, Inc                                  Connecticut Yankee Council Bsa 072      290 Washington Ave                                         North Haven, CT 06473                                                                                    First Class Mail
Chartered Organization         North Haven Fire Dept                                        Connecticut Yankee Council Bsa 072      11 Broadway                                                North Haven, CT 06473‐2302                                                                               First Class Mail
Voting Party                   North Haverhill United Methodist Church                      Attn: Treasurer, North Haverhill UMC    P.O. Box 29                                                North Haverhill, NH 03774                                             page2007@myfairpoint.net           Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   North Haverhill United Methodist Church                      Attn: David Christopher Palmer          186 Whiteface Rd                                           North Sandwich, NH 03259                                              debugpaltal@gmail.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   North Hero United Methodist Church                           Attn: Treasurer Ethan Pearson           1009 S End Rd                                              North Hero, VT 05474                                                  gchico@gmavt.net                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North High School Jrotc                                      Denver Area Council 061                 2960 N Speer Blvd                                          Denver, CO 80211‐3795                                                                                    First Class Mail
Chartered Organization         North Highlands Fire Dept                                    Westchester Putnam 388                  504 Fishkill Rd                                            Cold Spring, NY 10516‐3713                                                                               First Class Mail
Chartered Organization         North Hill School PTA                                        Mississippi Valley Council 141 141      8365 139Th St                                              Burlington, IA 52601                                                                                     First Class Mail
Chartered Organization         North Hills Alliance Church                                  Laurel Highlands Council 527            2280 Rochester Rd                                          Pittsburgh, PA 15237                                                                                     First Class Mail
Chartered Organization         North Hills Alliance Church                                  Laurel Highlands Council 527            2298 Rochester Rd                                          Pittsburgh, PA 15237‐1576                                                                                First Class Mail
Chartered Organization         North Hills Christian                                        Central N Carolina Council 416          2970 W Innes St                                            Salisbury, NC 28144‐0764                                                                                 First Class Mail
Chartered Organization         North Hills Law Enforcement                                  Laurel Highlands Council 527            109 E Union Rd                                             Cheswick, PA 15024‐1719                                                                                  First Class Mail
Voting Party                   North Hillsdale United Methodist Church                      Attn: Jinha Choi                        146 County Rt 21                                           Hillsdale, NY 12529                                                   jinha.choi@nyac‐umc.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   North Hollywood 1st UMC                                      Attn: Treasurer                         4832 Tujunga Ave                                           North Hollywood, CA 91601                                             steven.f.peralta@gmail.com         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         North Hollywood Optimist Club                                W L A C C 051                           P.O. Box 16943                                             North Hollywood, CA 91615‐6943                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                            Page 281 of 442
                                                                                  Case 20-10343-LSS                                     Doc 8171                                       Filed 01/06/22                                                      Page 297 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                        Name                                                                                         Address                                                                                                                 Email               Method of Service
Chartered Organization         North Huntingdon Township Police Dept                     Westmoreland Fayette 512                 11279 Center Hwy                                            North Huntingdon, PA 15642‐5312                                                                            First Class Mail
Chartered Organization         North Jefferson Elementary School PTO                     Shenandoah Area Council 598              6996 Charles Town Rd                                        Kearneysville, WV 25430‐2770                                                                               First Class Mail
Chartered Organization         North Junior High Parent Support Group                    Buffalo Trace 156                        15325 Hwy 41 N                                              Evansville, IN 47725‐8524                                                                                  First Class Mail
Chartered Organization         North Kent Presbyterian Church                            President Gerald R Ford 781              6175 Kuttshill Dr Ne                                        Rockford, MI 49341‐9227                                                                                    First Class Mail
Chartered Organization         North Kingstown Rotary Club                               Narragansett 546                         P.O. Box 807                                                North Kingstown, RI 02852‐0607                                                                             First Class Mail
Voting Party                   North Kingstown United Methodist Church                   Attn: Sharon Baker                       450 Boston Neck Rd                                          North Kingstown, RI 02852                                              nkumcri@gmail.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North Kingstown United Methodist Church                   Attn: Kimberly A Page                    24 Eden Ct                                                  North Kingstown, RI 02852                                              kimberly.page.ri@gmail.com          Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Kingstown Utd Methodist Church                      Narragansett 546                         450 Boston Neck Rd                                          North Kingstown, RI 02852‐6237                                                                             First Class Mail
Chartered Organization         North Lake School Pbc                                     Potawatomi Area Council 651              N75 W31283 Hwy Vv                                           North Lake, WI 53064                                                                                       First Class Mail
Chartered Organization         North Lake School Pbc                                     Potawatomi Area Council 651              P.O. Box 1014                                               Oconomowoc, WI 53066‐6014                                                                                  First Class Mail
Chartered Organization         North Las Vegas Elks                                      Las Vegas Area Council 328               2939 Van Der Meer St                                        North Las Vegas, NV 89030‐5154                                                                             First Class Mail
Chartered Organization         North Las Vegas Fire Dept                                 Las Vegas Area Council 328               4040 Losee Rd                                               North Las Vegas, NV 89030‐3306                                                                             First Class Mail
Chartered Organization         North Las Vegas Police Dept                               Las Vegas Area Council 328               2235 Las Vegas Blvd N                                       North Las Vegas, NV 89030                                                                                  First Class Mail
Chartered Organization         North Lauderdale Fire Rescue Dept                         South Florida Council 084                6151 Bailey Rd                                              North Lauderdale, FL 33068‐4939                                                                            First Class Mail
Chartered Organization         North Lawrence Fish & Game Club Inc                       Buckeye Council 436                      15325 Lawmont St                                            North Lawrence, OH 44666                                                                                   First Class Mail
Chartered Organization         North Lewisburg Utd Methodist Church                      Tecumseh 439                             P.O. Box 66                                                 N Lewisburg, OH 43060‐0066                                                                                 First Class Mail
Chartered Organization         North Lewisburg Utd Methodist Church                      Tecumseh 439                             P.O. Box 66                                                 North Lewisburg, OH 43060‐0066                                                                             First Class Mail
Chartered Organization         North Liberty Optimist Club                               Hawkeye Area Council 172                 P.O. Box 106                                                North Liberty, IA 52317‐0106                                                                               First Class Mail
Voting Party                   North Liberty United Methodist Church                     Attn: Scott A Taylor                     24535 Roosevelt Rd                                          South Bend, IN 46614                                                   scott.taylor@inumc.org              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North Liberty United Methodist Church                     85 N Jones Blvd                          North Liberty, IA 52317                                                                                                            nlmfamilies@gmail.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North Liberty United Methodist Church                     Attn: Janice Ryan                        P.O. Box 904                                                North Liberty, IN 46554                                                crossroads234@gmail.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Linn Fish And Game Club                             Hawkeye Area Council 172                 P.O. Box 449                                                Central City, IA 52214‐0449                                                                                First Class Mail
Chartered Organization         North Little Rock Fire Dept                               Quapaw Area Council 018                  723 Maple St                                                North Little Rock, AR 72114‐4623                                                                           First Class Mail
Voting Party                   North Little Rock First United Methodist Church           Attn: John R Wedaman III                 6701 JFK Blvd                                               North Little Rock, AR 72116                                            lraines@fridayfirm.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Lyon County Youth Assoc (Nlcya)                     Jayhawk Area Council 197                 P.O. Box 404                                                Allen, KS 66833‐0404                                                                                       First Class Mail
Chartered Organization         North Macomb Sportsman Club                               Great Lakes Fsc 272                      3231 Inwood Rd                                              Washington, MI 48095‐2210                                                                                  First Class Mail
Chartered Organization         North Madison Congregational Church                       Connecticut Yankee Council Bsa 072       1271 Durham Rd                                              Madison, CT 06443‐1824                                                                                     First Class Mail
Chartered Organization         North Madison Volunteer Fire Co                           Connecticut Yankee Council Bsa 072       840 Opening Hill Rd                                         Madison, CT 06443                                                                                          First Class Mail
Voting Party                   North Main St United Methodist Church                     Attn: Joyce Royal                        316 N Main St                                               Gloversville, NY 12078                                                 jrroyalp@aol.com                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Mecklenburg High School                             Mecklenburg County Council 415           11201 Old Statesville Rd                                    Huntersville, NC 28078‐7644                                                                                First Class Mail
Chartered Organization         North Metro Church                                        Atlanta Area Council 092                 2305 Ernest W Barrett Pkwy Nw                               Marietta, GA 30064‐1305                                                                                    First Class Mail
Chartered Organization         North Metro Home Educators                                Denver Area Council 061                  6441 W 108Th Ave                                            Westminster, CO 80020‐6416                                                                                 First Class Mail
Chartered Organization         North Miami Schools Parents For Scouting                  Sagamore Council 162                     632 E 900 N                                                 Denver, IN 46926‐9310                                                                                      First Class Mail
Chartered Organization         North Middle School                                       Shenandoah Area Council 598              250 East Rd                                                 Martinsburg, WV 25404‐4910                                                                                 First Class Mail
Chartered Organization         North Middle School                                       Lincoln Heritage Council 205             100 Trojan Way                                              Radcliff, KY 40160‐3405                                                                                    First Class Mail
Chartered Organization         North Mississippi Medical Center                          Yocona Area Council 748                  830 S Gloster St                                            Tupelo, MS 38801‐4934                                                                                      First Class Mail
Voting Party                   North Naples UMC                                          c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Naples Utd Methodist Church                         Southwest Florida Council 088            6000 Goodlette Rd N                                         Naples, FL 34109‐7206                                                                                      First Class Mail
Voting Party                   North Northfield Uinted Methodist Church                  Attn: George Hernandez                   797 Sanders Rd                                              Northbrook, IL 60062                                                   mhwoo21@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Oak Christian Church                                Heart Of America Council 307             9900 N Oak Trfy                                             Kansas City, MO 64155‐2008                                                                                 First Class Mail
Chartered Organization         North Oaks Homeowners Assoc                               Northern Star Council 250                100 Village Center Dr Ste 240                               North Oaks, MN 55127‐3014                                                                                  First Class Mail
Chartered Organization         North Oldham High School                                  Lincoln Heritage Council 205             1801 S Hwy 1793                                             Goshen, KY 40026‐9419                                                                                      First Class Mail
Chartered Organization         North Olmsted Knights Of Columbus 4731                    Lake Erie Council 440                    20525 Center Ridge Rd Ste 503                               Rocky River, OH 44116‐3424                                                                                 First Class Mail
Voting Party                   North Ontario United Methodist Church                     Attn: Rev Linda Haight                   7200 Ontario Center Rd                                      Ontario, NY 14519                                                      noumc1@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North Orwell Union Church (76180)                         c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North Oxford Baptist Church                               Attn: Pastor Scott Thomas                304 County Rd 101                                           Oxford, MS 38655                                                       tomsuz@holcombdunbar.com            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North Oxford Baptist Church                               c/o Holcomb Dunbar                       Attn: Thomas Suszek                                         P.O. Drawer 707                    Oxford, MS 38655                    tomsuz@holcombdunbar.com            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North Oxford Baptist Church                               Attn: Pastor Scott Thomas                304 County Rd 101                                           Oxford, MS 38655                                                       skthomas4381@gmail.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North Oxnard United Methodist Church                      Attn: Trustees Chair and / or Pastor     1801 Joliet Pl                                              Oxnard, CA 93030                                                       pastormatt@gardenchurchoxnard.org   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Palm Baptist Church                                 South Florida Council 084                7801 Nw 178Th St                                            Hialeah, FL 33015‐3648                                                                                     First Class Mail
Chartered Organization         North Parish Congregational Church                        Pine Tree Council 218                    207 Main St                                                 Sanford, ME 04073                                                                                          First Class Mail
Chartered Organization         North Park Community Church                               San Diego Imperial Council 049           3702 29Th St                                                San Diego, CA 92104‐3605                                                                                   First Class Mail
Voting Party                   North Park Community Church                               Attn: Philip Anderson                    P.O. Box 455                                                Walden, CO 80480                                                       andersonloomix@gmail.com            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Park Covenant Church                                Pathway To Adventure 456                 5250 N Christiana Ave                                       Chicago, IL 60625‐4725                                                                                     First Class Mail
Chartered Organization         North Park Fire Protection Dist                           Blackhawk Area 660                       605 Ramona Ter                                              Machesney Park, IL 61115                                                                                   First Class Mail
Chartered Organization         North Park PTA                                            President Gerald R Ford 781              3375 Cheney Ave Ne                                          Grand Rapids, MI 49525‐2670                                                                                First Class Mail
Chartered Organization         North Park Umc & Block Unit 385                           Greater St Louis Area Council 312        1525 Orchid Ave                                             St Louis, MO 63147‐1412                                                                                    First Class Mail
Chartered Organization         North Parkway School                                      W Tennessee Area Council 559             1341 N Parkway                                              Jackson, TN 38305‐4626                                                                                     First Class Mail
Chartered Organization         North Patchogue Fire Dept                                 Suffolk County Council Inc 404           32 Davidson Ave                                             Patchogue, NY 11772‐2719                                                                                   First Class Mail
Chartered Organization         North Penn Volunteer Fire Co                              Cradle Of Liberty Council 525            141 S Main St                                               North Wales, PA 19454‐2832                                                                                 First Class Mail
Chartered Organization         North Plainfield Music Parents Assoc                      Patriots Path Council 358                225 Mountain Ave                                            North Plainfield, NJ 07060‐4406                                                                            First Class Mail
Chartered Organization         North Plains Christian Church                             Cascade Pacific Council 492              31231 Nw Commercial St                                      North Plains, OR 97133‐6216                                                                                First Class Mail
Chartered Organization         North Platte Police Dept                                  Overland Trails 322                      701 S Jeffers St                                            North Platte, NE 69101‐5318                                                                                First Class Mail
Chartered Organization         North Point Utd Methodist Church                          Norwela Council 215                      675 Hwy 1                                                   Shreveport, LA 71107                                                                                       First Class Mail
Chartered Organization         North Point Ward ‐ Twin Falls West Stake                  Snake River Council 111                  1134 N College Rd W                                         Twin Falls, ID 83301                                                                                       First Class Mail
Chartered Organization         North Pointe Church Of Christ                             Circle Ten Council 571                   4405 Williford Rd                                           Sachse, TX 75048‐3366                                                                                      First Class Mail
Chartered Organization         North Pole Afjrotc                                        Midnight Sun Council 696                 601 Nphs Blvd                                               North Pole, AK 99705‐7862                                                                                  First Class Mail
Chartered Organization         North Pole Christian School                               Midnight Sun Council 696                 2936 Badger Rd                                              North Pole, AK 99705‐5567                                                                                  First Class Mail
Chartered Organization         North Pole Community Charter                              Midnight Sun Council 696                 954 Baskerville St                                          North Pole, AK 99705‐5376                                                                                  First Class Mail
Chartered Organization         North Port Police Dept                                    Southwest Florida Council 088            5650 N Port Blvd                                            North Port, FL 34287‐3102                                                                                  First Class Mail
Chartered Organization         North Presbyterian Church                                 Northern Star Council 250                2675 Hwy 36 E                                               North St Paul, MN 55109‐2441                                                                               First Class Mail
Chartered Organization         North Providence Friends Of Scouting                      Narragansett 546                         29 Atwood Ave                                               North Providence, RI 02904‐3604                                                                            First Class Mail
Voting Party                   North Pulaski United Methodist Church                     Attn: Herbert Burns                      10 Kelso Rd                                                 Jacksonville, AR 72076                                                 burnsbert@comcast.net               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Pulaski Utd Methodist Church                        Quapaw Area Council 018                  10 Kelso Rd                                                 Gravel Ridge, AR 72076‐9224                                                                                First Class Mail
Chartered Organization         North Raleigh Utd Methodist Church                        Occoneechee 421                          8501 Honeycutt Rd                                           Raleigh, NC 27615‐2207                                                                                     First Class Mail
Chartered Organization         North Reformed Church                                     Northern New Jersey Council, Bsa 333     Washington & Madison                                        Avenues                            Dumont, NJ 07628                                                        First Class Mail
Chartered Organization         North Reformed Church                                     Northern New Jersey Council, Bsa 333     120 Washington Ave                                          Dumont, NJ 07628‐3026                                                                                      First Class Mail
Chartered Organization         North River Ave Christian Church                          Ohio River Valley Council 619            207 N River Ave                                             Toronto, OH 43964‐1451                                                                                     First Class Mail
Chartered Organization         North River Baptist Church                                Atlanta Area Council 092                 12090 Hardscrabble Rd                                       Roswell, GA 30075‐1498                                                                                     First Class Mail
Chartered Organization         North River Ruritan Club                                  Stonewall Jackson Council 763            87 Old Quarry Rd                                            Mount Solon, VA 22843‐2905                                                                                 First Class Mail
Chartered Organization         North Rock Creek PTO                                      Last Frontier Council 480                42400 Garretts Lake Rd                                      Shawnee, OK 74804‐9301                                                                                     First Class Mail
Chartered Organization         North Rosedale Park Civic Assoc                           Great Lakes Fsc 272                      18445 Scarsdale St                                          Detroit, MI 48223‐1333                                                                                     First Class Mail
Chartered Organization         North Rowan Middle School                                 Central N Carolina Council 416           512 Charles St                                              Spencer, NC 28159‐1704                                                                                     First Class Mail
Chartered Organization         North Saginaw Charter Academy                             Water And Woods Council 782              2332 Trautner Dr                                            Saginaw, MI 48604‐9593                                                                                     First Class Mail
Chartered Organization         North Salem Lions Club                                    Westchester Putnam 388                   P.O. Box 307                                                North Salem, NY 10560‐0307                                                                                 First Class Mail
Voting Party                   North Salem United Methodist Church                       Attn: James G Mentzer                    P.O. Box 206                                                North Salem, NH 03073                                                  umc@northsalemumc.org               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North Salem United Methodist Church (87332)               c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Sandy Presbyterian Church                           French Creek Council 532                 2139 Raymilton Rd                                           Utica, PA 16362‐1421                                                                                       First Class Mail
Chartered Organization         North Scott Fire Service                                  Illowa Council 133                       201 N Main St                                               Donahue, IA 52746                                                                                          First Class Mail
Voting Party                   North Scottsdale United Methodist Church (AZ)             c/o Clarke Law Firm, PLC                 Attn: Marilee Miller Clarke                                 8141 E Indian Bend Rd, Ste 105     Scottsdale, AZ 85250                marilee@clarkelawaz.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Scottsdale Utd Methodist Church                     Grand Canyon Council 010                 11735 N Scottsdale Rd                                       Scottsdale, AZ 85254‐5184                                                                                  First Class Mail
Voting Party                   North Searsport United Methodist Church                   Attn: Judith Staples                     14 Norris St                                                Searsport, ME 04974                                                    nstaples04974@twc.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North Sebago United Methodist Church                      Attn: Treasurer & Seth A Fortier         820 Sebago Rd, Rte 114                                      North Sebago, MN 04029                                                 seth.a.fortier@gmail.com            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Sewickley Township                                  Laurel Highlands Council 527             893 Mercer Rd                                               Beaver Falls, PA 15010‐6815                                                                                First Class Mail
Chartered Organization         North Shore 7Th Ward                                      South Jordan Ut North Shore Stake        5072 Roaring Rd                                             South Jordan, UT 84009                                                                                     First Class Mail
Chartered Organization         North Shore Fire Dept                                     Three Harbors Council 636                4401 W River Ln                                             Milwaukee, WI 53223‐2427                                                                                   First Class Mail
Chartered Organization         North Shore Presbyterian Church                           Three Harbors Council 636                4048 N Bartlett Ave                                         Milwaukee, WI 53211‐1908                                                                                   First Class Mail
Voting Party                   North Shore United Methodist Church                       North Shore UMC                          North SI 23880 N Cranes Mill Rd                             Canyon Lake, TX 78623                                                  nsumc@northshore‐umc.org            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North Shore United Methodist Church                       260 Rte 25A                              Wading River, NY 11792                                                                                                                                                 First Class Mail
Chartered Organization         North Shore Utd Methodist Church                          Alamo Area Council 583                   23880 N Cranes Mill Rd                                      Canyon Lake, TX 78133‐2368                                                                                 First Class Mail
Chartered Organization         North Shore Utd Methodist Church                          Northeast Illinois 129                   213 Hazel Ave                                               Glencoe, IL 60022‐1775                                                                                     First Class Mail
Chartered Organization         North Slope Borough                                       Midnight Sun Council 696                 P.O. Box 69                                                 Barrow, AK 99723‐0069                                                                                      First Class Mail
Chartered Organization         North Slope Branch ‐ LDS                                  Midnight Sun Council 696                 P.O. Box 889                                                Barrow, AK 99723‐0889                                                                                      First Class Mail
Chartered Organization         North Smithfield Police Dept                              Narragansett 546                         575 Smithfield Rd, Ste 1                                    North Smithfield, RI 02896‐7227                                                                            First Class Mail
Chartered Organization         North Spartanburg Volunteer Fire Dept                     Palmetto Council 549                     8767 Asheville Hwy                                          Spartanburg, SC 29316‐4609                                                                                 First Class Mail
Voting Party                   North Springs United Methodist Church                     c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North St United Methodist Church, Clyde, MI               Attn: Charles J Balkwill                 4580 North Rd                                               Clyde, MI 48049                                                        joe_balkwill@hotmail.com            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Stafford Commty                                     Improvement League                       3130 Jefferson Davis Hwy                                    Stafford, VA 22554‐4525                                                                                    First Class Mail
Chartered Organization         North Stafford Commty                                     Improvement League                       11 Francis Ct                                               Stafford, VA 22554‐7681                                                                                    First Class Mail
Voting Party                   North Star UMC ‐ Kenai                                    c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Star Volunteer Fire Dept                            Midnight Sun Council 696                 2358 Bradway Rd                                             North Pole, AK 99705‐5504                                                                                  First Class Mail
Chartered Organization         North Stonington Volunteer Fire Co                        Connecticut Rivers Council, Bsa 066      P.O. Box 279                                                North Stonington, CT 06359‐0279                                                                            First Class Mail
Chartered Organization         North Suburban Kiwanis Club                               Northern Star Council 250                P.O. Box 130761                                             Roseville, MN 55113‐0007                                                                                   First Class Mail
Chartered Organization         North Tapps Middle School Ptsa                            Pacific Harbors Council, Bsa 612         20029 12Th St E                                             Lake Tapps, WA 98391‐9369                                                                                  First Class Mail
Chartered Organization         North Texas Christian Home School Assoc                   Circle Ten Council 571                   2241 Micarta Dr                                             Plano, TX 75025‐2450                                                                                       First Class Mail
Chartered Organization         North Texas Regional Airport                              Circle Ten Council 571                   4700 Airport Dr                                             Denison, TX 75020‐8713                                                                                     First Class Mail
Chartered Organization         North Texas Scouting Alliance                             Longhorn Council 662                     118 Timberline Dr                                           Colleyville, TX 76034                                                                                      First Class Mail
Chartered Organization         North Texas Scouting Alliance                             Longhorn Council 662                     106 N Main St                                               Euless, TX 76040‐4630                                                                                      First Class Mail
Chartered Organization         North Texas Scouting Alliance                             Longhorn Council 662                     P.O. Box 463                                                Hurst, TX 76053‐0463                                                                                       First Class Mail
Chartered Organization         North Trail Elementary Parent Council                     Northern Star Council 250                5580 170Th St W                                             Farmington, MN 55024‐8827                                                                                  First Class Mail
Voting Party                   North UMC Ravenswood, WV                                  Attn: Thomas Nolan                       1004 Washington St                                          Ravenswood, WV 26164                                                   benen@frontier.com                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Union Elementary PTO                                Simon Kenton Council 441                 420 Grove St                                                Richwood, OH 43344‐9022                                                                                    First Class Mail
Voting Party                   North United Methodist Church                             Attn: Rev Hugh B Hamilton                1205 Albany Ave                                             Hartford, CT 06135                                                     jkoom@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North United Methodist Church                             Attn: John Drake                         3808 N Pennsylvania St                                      Indianapolis, IN 46208                                                 jdrake@northchaseindy.com           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North United Methodist Church                             Attn: John Drake                         3808 N Meridian                                             Indianapolis, IN 46208                                                                                     First Class Mail
Chartered Organization         North Utd Methodist Church                                Buckskin 617                             Ravenswood, WV 26164                                                                                                                                                   First Class Mail
Chartered Organization         North Utd Methodist Church                                Buckskin 617                             North Umc                                                   Ravenswood, WV 26164                                                                                       First Class Mail
Chartered Organization         North Valley Youth Leadership Devt                        Grand Canyon Council 010                 19017 N 21St Ave                                            Phoenix, AZ 85027‐5101                                                                                     First Class Mail
Voting Party                   North Vernon First United Methodist Church                Attn: Shelia Coquerille, Treasuer        240 W Poplar St                                             North Vernon, IN 47265                                                 terry.brammer@inumc.org             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North View Elementary School PTO                          Crossroads Of America 160                807 W Yale Ave                                              Muncie, IN 47304‐1554                                                                                      First Class Mail
Voting Party                   North Volney United Methodist Church                      Attn: Rev Tammie Chawgo‐Nipper           2680 County Rt 6                                            Fulton, NY 13069                                                       tnippert@aol.com                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Walpole Fire + Rescue                               Daniel Webster Council, Bsa 330          70 Church St                                                North Walpole, NH 03609‐1728                                                                               First Class Mail
Chartered Organization         North Warren Chamber Of Commerce                          Twin Rivers Council 364                  P.O. Box 490                                                Chestertown, NY 12817‐0490                                                                                 First Class Mail
Voting Party                   North Warren Presbyterian Church                          Attn: Gloria Lindell, Clerk of Session   200 S State St                                              Warren, PA 16365                                                       postmaster@nwpchurch.org            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Warren Volunteer Fire Dept                          Chief Cornplanter Council, Bsa 538       16 S State St                                               Warren, PA 16365‐4637                                                                                      First Class Mail
Voting Party                   North Warren Volunteer Fire Dept Inc                      Attn: Nancy Bullock                      12 S State St                                               Warren, PA 16365                                                       bullock1418@atlanticbb.net          Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North Warren Volunteer Fire Dept Inc                      Nancy Carol Bullock                      12 S State St                                               Warren, PA 16365                                                       bullock1418@atlanticbb.net          Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Webster Lions Club                                  Anthony Wayne Area 157                   P.O. Box 11                                                 North Webster, IN 46555‐0011                                                                               First Class Mail
Voting Party                   North Webster United Methodist Church                     Attn: Byron Kaiser                       P.O. Box 282                                                7822 E Epworth Rd                  North Webster, IN 46555             office@northwebsterumc.org          Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North West Community Of Christ                            Mid Iowa Council 177                     3003 62Nd St                                                Des Moines, IA 50322‐3501                                                                                  First Class Mail
Chartered Organization         North Whidbey Sportsmens Assoc                            Mount Baker Council, Bsa 606             P.O. Box 267                                                Oak Harbor, WA 98277‐0267                                                                                  First Class Mail
Voting Party                   North Wilkesboro Presbyterian Church                      804 E St                                 North Wilkesboro, NC 28659                                                                                                         rc.griffin@nwpres.org               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   North Woolwich Methodist Church                           Attn: Eunice M Leach                     35 Chopps Cross Rd                                          Woolwich, ME 04579                                                     office@nwmc.us                      Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         North Zion Luthern Church                                 Laurel Highlands Council 527             5100 Brownsville Rd                                         Pittsburgh, PA 15236‐2645                                                                                  First Class Mail
Chartered Organization         Northampton Presbyterian Church                           Washington Crossing Council 777          539 Buck Rd                                                 Holland, PA 18966‐2050                                                                                     First Class Mail
Chartered Organization         Northborough Patrolmans Assoc                             Mayflower Council 251                    211 Main St                                                 Northborough, MA 01532‐1625                                                                                First Class Mail
Chartered Organization         Northborough Rotary                                       Mayflower Council 251                    P.O. Box 651                                                Northborough, MA 01532‐0651                                                                                First Class Mail
Chartered Organization         Northbrook Rotary                                         Northeast Illinois 129                   P.O. Box 283                                                Northbrook, IL 60065‐0283                                                                                  First Class Mail
Chartered Organization         Northbrook Sports Club                                    Northeast Illinois 129                   160 Sports Club Dr                                          Hainesville, IL 60030‐9388                                                                                 First Class Mail
Voting Party                   Northbrook UMC                                            c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Northbrook Utd Methodist Church                           Northeast Illinois 129                   1190 Wern Ave                                               Northbrook, IL 60062                                                                                       First Class Mail
Chartered Organization         Northbrook Utd Methodist Church                           Atlanta Area Council 092                 11225 Crabapple Rd                                          Roswell, GA 30075‐2405                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 282 of 442
                                                                                  Case 20-10343-LSS                                       Doc 8171                                                 Filed 01/06/22                                                     Page 298 of 457
                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                       Service List
                                                                                                                                                                                Served as set forth below

        Description                                                        Name                                                                                                     Address                                                                                                                          Email                 Method of Service
Voting Party                   Northbrook: Northbrook                                     1190 Western Ave                           Northbrook, IL 60062                                                                                                                                  Pastorkristap@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northcentral Technical College                             Samoset Council, Bsa 627                   1000 W Campus Dr                                                     Wausau, WI 54401‐1880                                                                                                 First Class Mail
Chartered Organization         Northeast Academy Parent Teacher Org                       Connecticut Rivers Council, Bsa 066        115 Oslo St                                                          Mystic, CT 06355‐1337                                                                                                 First Class Mail
Chartered Organization         Northeast Contemporary Services Inc                        Northern Star Council 250                  2770 Cleveland Ave N                                                 Roseville, MN 55113‐1127                                                                                              First Class Mail
Chartered Organization         Northeast Elementary Mco                                   East Carolina Council 426                  1002 E Highland Ave                                                  Kinston, NC 28501‐3114                                                                                                First Class Mail
Voting Party                   Northeast Iowa Council, BSA                                Attn: Anna B Hudak                         10601 Military Rd                                                    Dubuque, IA 52003                                                                anna.hudak@scouting.org              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northeast Iowa Stem Committee                              Northeast Iowa Council 178                 P.O. Box 732                                                         Dubuque, IA 52004‐0732                                                                                                First Class Mail
Chartered Organization         Northeast Joco Law Enforcement                             Heart Of America Council 307               9010 W 62Nd St                                                       Merriam, KS 66202‐2883                                                                                                First Class Mail
Chartered Organization         Northeast Kiwanas Club                                     Capitol Area Council 564                   9815 Copper Creek Dr Apt 120                                         Austin, TX 78729‐3500                                                                                                 First Class Mail
Chartered Organization         Northeast Neighbors                                        Three Fires Council 127                    1710 Violet St                                                       Aurora, IL 60505‐1342                                                                                                 First Class Mail
Voting Party                   Northeast United Methodist Church                          Attn: Robin Griffeth                       4000 Hardscrabble Rd                                                 Columbia, SC 29223                                                               northeast@neumc.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northeast Utd Methodist Church                             Indian Waters Council 553                  4400 Hard Scrabble Rd                                                Columbia, SC 29229                                                                                                    First Class Mail
Chartered Organization         Northeast Ymca                                             Cornhusker Council 324                     6402 Judson St                                                       Lincoln, NE 68507‐2553                                                                                                First Class Mail
Chartered Organization         Northeastern Alamance Fire Dept                            Old N State Council 070                    3847 N Nc Hwy 49                                                     Burlington, NC 27217‐7879                                                                                             First Class Mail
Voting Party                   Northern California Japanese Christian Church Federation   c/o Christ United Presbyterian Church      Attn: Rev Grace Kaori Suzuki                                         1700 Sutter St                    San Francisco, CA 94115                        pastor@cupc.org                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northern Dutchess Rod & Gun Club Inc                       Hudson Valley Council 374                  140 Enterprise Rd                                                    Rhinebeck, NY 12572                                                                                                   First Class Mail
Chartered Organization         Northern Hills Academy                                     Patriots Path Council 358                  10 Gail Ct                                                           Sparta, NJ 07871‐3439                                                                                                 First Class Mail
Chartered Organization         Northern Hills PTO                                         Gateway Area 624                           511 Spruce St                                                        Onalaska, WI 54650‐2258                                                                                               First Class Mail
Voting Party                   Northern Hills United Methodist Church                     Attn: Dudley Harral                        3703 N Loop 1604 E                                                   San Antonio, TX 78259                                                            dudleyh@nhumc.org                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Northern Lights Council of Boy Scouts of America, Inc      Attn: Richard E McCartney                  4200 19th Ave S                                                      Fargo, ND 58103                                                                  richard.mccartney@scouting.org       Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Northern Lights Council of Boy Scouts of America, Inc      c/o Vogel Law Firm                         Attn: Caren W Stanley                                                218 NP Ave                        P.O. Box 1389                Fargo, ND 58107   cstanley@vogellaw.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northern Lights District Committee                         Las Vegas Area Council 328                 7220 Paradise Rd                                                     Las Vegas, NV 89119‐4403                                                                                              First Class Mail
Chartered Organization         Northern Michigan Antique Flywheelers                      President Gerald R Ford 781                P.O. Box 494                                                         Walloon Lake, MI 49796‐0494                                                                                           First Class Mail
Chartered Organization         Northern Nevada Chapter Of Sci                             Nevada Area Council 329                    4790 Caughlin Pkwy Pmb 227                                           Reno, NV 89519‐0907                                                                                                   First Class Mail
Voting Party                   Northern New Mexico Gas                                    P.O. Box 144                               Angel Fire, NM 87710‐0144                                                                                                                                                                  First Class Mail
Chartered Organization         Northern Palms Chs                                         Southwest Florida Council 088              13251 N Cleveland Ave                                                North Fort Myers, FL 33903‐4816                                                                                       First Class Mail
Chartered Organization         Northern Star Lodge                                        Pine Tree Council 218                      173 Main St                                                          Anson, ME 04911                                                                                                       First Class Mail
Voting Party                   Northern State Power Co, A Minnesota Corp                  dba Xcel Energy                            Attn: Bankruptcy Dept / Katie Ann Miller                             P.O. Box 9477                     Minneapolis, MN 55484                          katie.miller@xcelenergy.com          Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northern York County Regional Police                       New Birth Of Freedom 544                   1445 E Canal Rd                                                      Dover, PA 17315‐2727                                                                                                  First Class Mail
Voting Party                   NorthernCalifornia Japanese Christian Church Federation    Attn: Grace Kaori Suzuki                   1111 Navellier St                                                    El Cerrito, CA 94530                                                             pastor@cupc.org                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northerncheyenne Tribal School                             Montana Council 315                        P.O. Box 150                                                         Busby, MT 59016‐0150                                                                                                  First Class Mail
Chartered Organization         Northfield Community Church                                Northeast Illinois 129                     400 Wagner Rd                                                        Northfield, IL 60093‐2922                                                                                             First Class Mail
Chartered Organization         Northfield Presbyterian Church                             Lake Erie Council 440                      7755 S Boyden Rd                                                     Northfield, OH 44067‐2452                                                                                             First Class Mail
Chartered Organization         Northfield Public Safety                                   Northern Star Council 250                  2000 North Ave                                                       Northfield, MN 55057‐1498                                                                                             First Class Mail
Chartered Organization         Northfield Rotary Club                                     Green Mountain 592                         Northfield Vt                                                        Northfield, VT 05663                                                                                                  First Class Mail
Voting Party                   Northfield United Methodist Parish                         Attn: Treasurer, Northfield UM Parish      152 S Main St                                                        Northfield, VT 05663                                                             NorthfieldUMPastor@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northfield Vfw Post 6768                                   Lake Erie Council 440                      8584 Olde 8 Rd                                                       Northfield, OH 44067‐2767                                                                                             First Class Mail
Chartered Organization         Northfield Volunteer Fire Co                               Connecticut Rivers Council, Bsa 066        12 Knife Shop Rd                                                     Northfield, CT 06778‐2602                                                                                             First Class Mail
Chartered Organization         Northgate Bible Church                                     Water And Woods Council 782                4311 Pine Grove Rd                                                   Port Huron, MI 48060                                                                                                  First Class Mail
Chartered Organization         Northgate Christian Church                                 Yucca Council 573                          5430 Yvette Ave                                                      El Paso, TX 79924‐4729                                                                                                First Class Mail
Chartered Organization         Northgate Community Church                                 California Inland Empire Council 045       P.O. Box 1898                                                        Cathedral City, CA 92235‐1898                                                                                         First Class Mail
Chartered Organization         Northgate Jrsr High School                                 Laurel Highlands Council 527               589 Union Ave                                                        Pittsburgh, PA 15202‐2958                                                                                             First Class Mail
Chartered Organization         Northglenn Christian Church                                Denver Area Council 061                    10675 Washington St                                                  Northglenn, CO 80233‐4101                                                                                             First Class Mail
Chartered Organization         Northglenn Elks Lodge 2438                                 Denver Area Council 061                    10969 Irma Dr                                                        Northglenn, CO 80233‐3619                                                                                             First Class Mail
Voting Party                   Northglenn United Methodist Church                         Attn: Michael Paul Molina                  1605 W 106th Ave                                                     Northglenn, CO 80234                                                             church@numc.org                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northland Nautical Foundation                              Mt Diablo‐Silverado Council 023            6529 Arlington Blvd                                                  Richmond, CA 94805‐2032                                                                                               First Class Mail
Chartered Organization         Northland Scuba Inc                                        Northern Star Council 250                  7038 37Th St N                                                       Oakdale, MN 55128‐3339                                                                                                First Class Mail
Voting Party                   Northminister Presbyterian Chrch                           Northminster Presbyterian Church           703 Compton Rd                                                       Cincinnati, OH 45231                                                             cwells@northminsterchurch.org        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northminister Presbyterian Church                          Indian Waters Council 553                  6717 David St                                                        Columbia, SC 29203‐5176                                                                                               First Class Mail
Chartered Organization         Northminister Presbyterian Church                          National Capital Area Council 082          7720 Alaska Ave Nw                                                   Washington, DC 20012‐1422                                                                                             First Class Mail
Chartered Organization         Northminster Presbyterian Ch                               Friends Of T 155                           104 Portage Trail Ext W                                              Cuyahoga Falls, OH 44223‐1215                                                                                         First Class Mail
Chartered Organization         Northminster Presbyterian Church                           Dan Beard Council, Bsa 438                 703 Compton Rd                                                       Cincinnati, OH 45231‐5009                                                                                             First Class Mail
Chartered Organization         Northminster Presbyterian Church                           Great Trail 433                            104 Portage Trail Ext W                                              Cuyahoga Falls, OH 44223‐1215                                                                                         First Class Mail
Chartered Organization         Northminster Presbyterian Church                           Northeast Illinois 129                     2515 Central Park Ave                                                Evanston, IL 60201‐1103                                                                                               First Class Mail
Chartered Organization         Northminster Presbyterian Church                           Heart Of America Council 307               1441 Ne Englewood Rd                                                 Kansas City, MO 64118‐5453                                                                                            First Class Mail
Chartered Organization         Northminster Presbyterian Church                           W D Boyce 138                              10720 N Knoxville Ave                                                Peoria, IL 61615‐1142                                                                                                 First Class Mail
Chartered Organization         Northminster Presbyterian Church                           Grand Canyon Council 010                   13001 N 35Th Ave                                                     Phoenix, AZ 85029‐1266                                                                                                First Class Mail
Chartered Organization         Northminster Presbyterian Church                           Atlanta Area Council 092                   2400 Old Alabama Rd                                                  Roswell, GA 30076‐2416                                                                                                First Class Mail
Chartered Organization         Northminster Presbyterian Church                           San Diego Imperial Council 049             4324 Clairemont Mesa Blvd                                            San Diego, CA 92117‐1945                                                                                              First Class Mail
Chartered Organization         Northminster Presbyterian Church                           Southwest Florida Council 088              3131 61St St                                                         Sarasota, FL 34243‐2542                                                                                               First Class Mail
Chartered Organization         Northminster Presbyterian Church                           National Capital Area Council 082          7720 Alaska Ave Nw                                                   Washington, DC 20012‐1422                                                                                             First Class Mail
Voting Party                   Northminster Presbyterian Church                           Attn: Irene J Allman                       7444 Buckley Rd                                                      North Syracuse, NY 13212                                                         npc7444@nmpres.org                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Northminster Presbyterian Church Roanoke VA Inc            3911 Greenland Ave NW                      Roanoke, VA 24012                                                                                                                                     clock74@cox.net                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northmont Utd Presbyterian Church                          Laurel Highlands Council 527               8169 Perry Hwy                                                       Pittsburgh, PA 15237‐5213                                                                                             First Class Mail
Chartered Organization         Northmoreland Volunteer Fire Co                            Northeastern Pennsylvania Council 501      305 Schoolhouse Rd                                                   Tunkhannock, PA 18657‐5910                                                                                            First Class Mail
Voting Party                   Northoods UMC                                              2635 Fairlane Dr                           Doravile, GA 30340                                                                                                                                                                         First Class Mail
Voting Party                   Northoods UMC ‐ Doraville                                  c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200          Tampa, FL 33602                                erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northpark Community Church                                 W L A C C 051                              28310 Kelly Johnson Pkwy                                             Valencia, CA 91355‐5036                                                                                               First Class Mail
Chartered Organization         Northpoint Church                                          Northwest Georgia Council 100              30 Orchard Rd                                                        Adairsville, GA 30103‐5861                                                                                            First Class Mail
Chartered Organization         Northpoint Hospitality Group                               Coastal Georgia Council 099                321 W Bay St                                                         Savannah, GA 31401‐1112                                                                                               First Class Mail
Chartered Organization         Northpoint PTO                                             W D Boyce 138                              2602 E College Ave                                                   Bloomington, IL 61704‐2445                                                                                            First Class Mail
Chartered Organization         Northpoint Utd Methodist Church                            Norwela Council 215                        6675 La Hwy 1 N                                                      Shreveport, LA 71107                                                                                                  First Class Mail
Chartered Organization         Northridge Fellowship Church                               Northern Star Council 250                  12522 Main St                                                        Rogers, MN 55374‐9192                                                                                                 First Class Mail
Voting Party                   Northridge Presbyterian Church                             Attn: Vince George                         6920 Bob‐O‐Link Dr                                                   Dallas, TX 75214                                                                 office@northridgepc.org              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northridge PTO                                             Northern Lights Council 429                1727 N 3Rd St                                                        Bismarck, ND 58501‐1702                                                                                               First Class Mail
Voting Party                   Northridge United Methodist Church                         Attn: Dorrel Atteberry                     9650 Reseda Blvd                                                     Northridge, CA 91324                                                             dorrel@northridgeumc.org             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northridge Utd Methodist Church                            Tecumseh 439                               4610 Derr Rd                                                         Springfield, OH 45503‐1454                                                                                            First Class Mail
Chartered Organization         Northshore Christian Academy                               Mount Baker Council, Bsa 606               5700 23Rd Dr W                                                       Everett, WA 98203‐1570                                                                                                First Class Mail
Chartered Organization         Northshore Fire Prot Dist                                  Mt Diablo‐Silverado Council 023            P.O. Box 1199                                                        Lucerne, CA 95458‐1199                                                                                                First Class Mail
Voting Party                   Northshore United Church of Christ                         18900 168th Ave NE                         Woodinville, WA 98072                                                                                                                                 rsarbora@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Northshore United Church of Christ                         Attn: R Gerard Lutz, Perkins Coie LLP      10885 NE 4th St, Ste 700                                             Bellevue, WA 98004                                                               JLutz@perkinscoie.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northside Baptist Church                                   Andrew Jackson Council 303                 1475 E Northside Dr                                                  Clinton, MS 39056‐6104                                                                                                First Class Mail
Chartered Organization         Northside Baptist Church                                   Cape Fear Council 425                      2501 N College Rd                                                    Wilmington, NC 28405‐8809                                                                                             First Class Mail
Chartered Organization         Northside Boys And Girls Club                              Palmetto Council 549                       900 Annafrel St                                                      Rock Hill, SC 29730‐4708                                                                                              First Class Mail
Chartered Organization         Northside Community Church                                 Occoneechee 421                            621 N 1St Ave                                                        Knightdale, NC 27545‐8507                                                                                             First Class Mail
Voting Party                   Northside Community United Methodist Church                Attn: Pastor                               1075 N Fruitridge Ave                                                Terre Haute, IN 47804                                                            office@northsidecommunityumc.com     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northside Communtiy Umc                                    Crossroads Of America 160                  1075 N Fruitridge Ave                                                Terre Haute, IN 47804‐1770                                                                                            First Class Mail
Chartered Organization         Northside Elementary (Franklin)                            Gateway Area 624                           1611 Kane St                                                         La Crosse, WI 54603‐2270                                                                                              First Class Mail
Chartered Organization         Northside Elementary School PTO Inc                        Inland NW Council 611                      7881 Colburn Culver Rd                                               Sandpoint, ID 83864‐4714                                                                                              First Class Mail
Chartered Organization         Northside Fellowship Presbyterian Church                   Simon Kenton Council 441                   6481 Freeman Rd                                                      Westerville, OH 43082                                                                                                 First Class Mail
Chartered Organization         Northside Free Will Baptist Church                         Indian Nations Council 488                 706 N Cedar Ave                                                      Broken Arrow, OK 74012‐2521                                                                                           First Class Mail
Chartered Organization         Northside High School                                      W Tennessee Area Council 559               3020 Humboldt Hwy                                                    Jackson, TN 38305‐3410                                                                                                First Class Mail
Chartered Organization         Northside Hospital Forsyth                                 Northeast Georgia Council 101              1200 Northside Forsyth Dr                                            Cumming, GA 30041‐7659                                                                                                First Class Mail
Chartered Organization         Northside Lodge 283 F & Am                                 Greater Tampa Bay Area 089                 3325 1St St Ne                                                       St Petersburg, FL 33704‐2207                                                                                          First Class Mail
Chartered Organization         Northside Neighborhood Assoc Inc                           Anthony Wayne Area 157                     1916 Crescent Ave                                                    Fort Wayne, IN 46805‐4412                                                                                             First Class Mail
Chartered Organization         Northside Presbyterian Church                              Blue Ridge Mtns Council 599                1017 Progress St Nw                                                  Blacksburg, VA 24060‐3456                                                                                             First Class Mail
Voting Party                   Northside Presbyterian Church, PCUSA                       Attn: Joseph R Hunnings                    2840 Mill Wood Ln                                                    Blacksburg, VA 24060                                                             hunnings@vt.edu                      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Northside Presbyterian Church, PCUSA                       1017 Progress St NW                        Blacksburg, VA 24060                                                                                                                                  dickerson.northside@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Northside United Methodist Church                          Attn: Rachel Carosiello                    435 Summit Dr                                                        Greenville, SC 29609                                                             rwcarosiello@umcsc.org               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Northside United Methodist Church                          Attn: Rev Rachel Carosiello                5 Ramblewood Ln                                                      Greenville, SC 29615                                                             rwcarosiello@umcsc.org               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Northside United Methodist Church                          701 Airline Rd                             Brewster, MA 02631                                                                                                                                    jskeen@kaybeetwo.com                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Northside United Methodist Church Inc ‐ Atlanta            c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200          Tampa, FL 33602                                erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northside Utd Methodist Church                             Atlanta Area Council 092                   2799 Northside Dr Nw                                                 Atlanta, GA 30305‐2805                                                                                                First Class Mail
Chartered Organization         Northside Utd Methodist Church                             Blue Ridge Council 551                     435 Summit Dr                                                        Greenville, SC 29609‐4820                                                                                             First Class Mail
Chartered Organization         Northside Utd Methodist Church                             W Tennessee Area Council 559               2571 N Highland Ave                                                  Jackson, TN 38305‐3817                                                                                                First Class Mail
Chartered Organization         Northstar Academy Pac                                      Voyageurs Area 286                         3301 Technology Dr                                                   Duluth, MN 55811‐4115                                                                                                 First Class Mail
Chartered Organization         Northvale Baptist Church                                   Westark Area Council 016                   310 Adams St                                                         Harrison, AR 72601‐2106                                                                                               First Class Mail
Chartered Organization         Northview Church Of Christ                                 Anthony Wayne Area 157                     2900 N Jefferson St                                                  Huntington, IN 46750‐8897                                                                                             First Class Mail
Chartered Organization         Northview Elementary PTA                                   Greater St Louis Area Council 312          8920 Cozens Ave                                                      Jennings, MO 63136‐3921                                                                                               First Class Mail
Chartered Organization         Northview Optimist Club                                    Great Smoky Mountain Council 557           P.O. Box 461                                                         Kodak, TN 37764‐0461                                                                                                  First Class Mail
Voting Party                   Northview UMC Roanoke                                      c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                                   100 N Tampa St, Ste 2200          Tampa, FL 33602                                erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northview Utd Methodist Church                             Blue Ridge Mtns Council 599                521 Ridgecrest Dr                                                    Roanoke, VA 24019‐6272                                                                                                First Class Mail
Chartered Organization         Northville Fire Dept                                       Great Lakes Fsc 272                        215 W Main St                                                        Northville, MI 48167‐1522                                                                                             First Class Mail
Chartered Organization         Northwell Health Center For Ems                            Greater New York Councils, Bsa 640         113 E 77Th St                                                        New York, NY 10075‐1802                                                                                               First Class Mail
Chartered Organization         Northwest Area Health Education Center                     Lincoln Heritage Council 205               2215 Portland Ave                                                    Louisville, KY 40212‐1033                                                                                             First Class Mail
Chartered Organization         Northwest Austin Rotary Club                               Capitol Area Council 564                   P.O. Box 200307                                                      Austin, TX 78720‐0307                                                                                                 First Class Mail
Chartered Organization         Northwest Ave Church Of Christ                             Great Trail 433                            737 Northwest Ave                                                    Tallmadge, OH 44278‐1205                                                                                              First Class Mail
Chartered Organization         Northwest Boys And Girls Club                              Northwest Texas Council 587                1402 N Beverly Dr                                                    Wichita Falls, TX 76306‐6804                                                                                          First Class Mail
Chartered Organization         Northwest Christian Church                                 Southern Shores Fsc 783                    1590 W Temperance Rd                                                 Temperance, MI 48182‐9469                                                                                             First Class Mail
Chartered Organization         Northwest Church Of Christ                                 Grand Canyon Council 010                   5110 W Union Hills Dr                                                Glendale, AZ 85308‐1440                                                                                               First Class Mail
Chartered Organization         Northwest Community Center                                 Central Florida Council 083                3955 Wd Judge Dr                                                     Orlando, FL 32808‐7428                                                                                                First Class Mail
Chartered Organization         Northwest Community Center                                 Blackhawk Area 660                         1325 N Johnston Ave                                                  Rockford, IL 61101‐2546                                                                                               First Class Mail
Chartered Organization         Northwest Community Church                                 Dan Beard Council, Bsa 438                 8735 Cheviot Rd                                                      Cincinnati, OH 45251‐5905                                                                                             First Class Mail
Chartered Organization         Northwest Connecticut Ymca                                 Connecticut Rivers Council, Bsa 066        259 Prospect St                                                      Torrington, CT 06790‐5315                                                                                             First Class Mail
Chartered Organization         Northwest Elementary Mco                                   East Carolina Council 426                  1710 Old Well Rd                                                     Kinston, NC 28504                                                                                                     First Class Mail
Chartered Organization         Northwest Elementary School PTO, LLC                       Simon Kenton Council 441                   4738 Henley Deemer Rd                                                Mc Dermott, OH 45652‐9050                                                                                             First Class Mail
Chartered Organization         Northwest Free Methodist Church                            Quivira Council, Bsa 198                   3224 N Tyler Rd                                                      Wichita, KS 67205‐8722                                                                                                First Class Mail
Voting Party                   Northwest Georgia                                          Attn: Matt Hart                            P.O. Box 1422                                                        Rome, GA 30162                                                                   matt.hart@scouting.org               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northwest Hill Utd Methodist Church                        Alamo Area Council 583                     7575 Tezel Rd                                                        San Antonio, TX 78250‐3504                                                                                            First Class Mail
Chartered Organization         Northwest Hills Christian Church                           Alamo Area Council 583                     9560 Potranco Rd                                                     San Antonio, TX 78251‐9601                                                                                            First Class Mail
Voting Party                   Northwest Hills United Methodist Church                    Attn: Kevin Reed                           7050 Village Center Dr                                               Austin, TX 78731                                                                 Kreed@rcmhlaw.com                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Northwest Hills United Methodist Church                    Attn: Treasurer Northwest Hills UMC        7575 Tezel                                                           San Antonio, TX 78250                                                            bsolis@nwhills.org                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northwest Hills Utd Church Of Christ                       Mid‐America Council 326                    9334 Fort St                                                         Omaha, NE 68134‐1743                                                                                                  First Class Mail
Chartered Organization         Northwest Management, Inc                                  Inland NW Council 611                      233 E Palouse River Dr                                               Moscow, ID 83843‐8915                                                                                                 First Class Mail
Chartered Organization         Northwest Presbyterian Church                              Atlanta Area Council 092                   4300 Northside Dr Nw                                                 Atlanta, GA 30327‐3650                                                                                                First Class Mail
Chartered Organization         Northwest State Community College                          Black Swamp Area Council 449               22600 Oh 34                                                          Archbold, OH 43502                                                                                                    First Class Mail
Voting Party                   Northwest United Methodist Church                          Attn: Mike Krost                           3800 W War Memorial Dr                                               Peoria, IL 61615                                                                 mike.krost15@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northwest Utd Methodist Church                             Lasalle Council 165                        21855 Brick Rd                                                       South Bend, IN 46628‐4020                                                                                             First Class Mail
Voting Party                   Northwestern Virginia UMC Board of Missions, Inc           Attn: Melanie Melester, WD Administrator   158 Front Royal Pike                                                 Ste 307                           Winchester, VA 22602                           melaniemelester@vaumc.org            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Northwood Christian Church                                 2425 Harvest Ln                            Springfield, OR 97477                                                                                                                                 barbara.utt@northwoodchristian.org   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northwood Church                                           Longhorn Council 662                       1870 Rufe Snow Dr                                                    Keller, TX 76248‐5629                                                                                                 First Class Mail
Chartered Organization         Northwood Elementary                                       Seneca Waterways 397                       433 N Greece Rd                                                      Hilton, NY 14468‐1255                                                                                                 First Class Mail
Chartered Organization         Northwood Elementary PTA                                   Greater Niagara Frontier Council 380       250 Northwood Ave                                                    Buffalo, NY 14224                                                                                                     First Class Mail
Chartered Organization         Northwood Fire Rescue                                      Daniel Webster Council, Bsa 330            67 Catamount Rd                                                      Northwood, NH 03261‐3600                                                                                              First Class Mail
Chartered Organization         Northwood Lions Club                                       Winnebago Council, Bsa 173                 1000 1St Ave N                                                       Northwood, IA 50459‐1401                                                                                              First Class Mail
Chartered Organization         Northwood Parent Faculty Club                              Mt Diablo‐Silverado Council 023            2214 Berks St                                                        Napa, CA 94558‐2714                                                                                                   First Class Mail
Chartered Organization         Northwood Presbyterian Church                              Greater Tampa Bay Area 089                 2875 State Rd 580                                                    Clearwater, FL 33761‐3231                                                                                             First Class Mail
Chartered Organization         Northwood Presbyterian Church                              Alamo Area Council 583                     518 Pike Rd                                                          San Antonio, TX 78209‐3143                                                                                            First Class Mail
Voting Party                   Northwood Presbyterian Church                              Attn: Steve Lecholop                       755 E Mulberry Ave Ste 200                                           San Antonio, TX 78212                                                            slecholop@rpsalaw.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Northwood Presbyterian Church                              Attn: Steve Lecholop                       755 E Mulberry Ave, Ste 200                                          San Antonio, TX 78212                                                            slecholop@rpsalaw.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Northwood Presbyterian Church                              Attn: Cotton Clark                         518 Pike Rd                                                          San Antonio, TX 78209                                                                                                 First Class Mail
Chartered Organization         Northwood PTA                                              Greater Niagara Frontier Council 380       250 Northwood Ave                                                    Buffalo, NY 14224                                                                                                     First Class Mail
Voting Party                   Northwood United Methodist Church                          Attn: L Wayne Prejean                      4530 Moss St                                                         Lafayette, LA 70507                                                              lwp19@lustiker.net                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Northwood Utd Methodist Church                             Voyageurs Area 286                         62 W County Rd 62                                                    Esko, MN 55737                                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 283 of 442
                                                                                Case 20-10343-LSS                                   Doc 8171                                           Filed 01/06/22                                                         Page 299 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                   Name                                                                                              Address                                                                                                                  Email                  Method of Service
Voting Party                   Northwood‐Appold United Methodist Church                Attn: Cecil Conteen Gray                4499 Loch Raven Blvd                                           Baltimore, MD 21218                                                       o9h9y93oo@prodigy.net                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Northwoods Presbyterian Church                          3320 Cypress Creek Pkwy                 Houston, TX 77068                                                                                                                        norma@northwoods.org                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Northwoods UMC                                          2635 Fairlane Dr                        Doraville, GA 30340                                                                                                                                                           First Class Mail
Voting Party                   Northwoods UMC ‐ Doraville                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200                Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Northwoods United Methodist Church                      1528 Gum Branch Rd                      Jacksonville, NC 28546                                                                                                                   harold.field.kellogg@gmail.com       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Norton Fire Dept                                        Sequoyah Council 713                    P.O. Box 618                                                   Norton, VA 24273‐0618                                                                                          First Class Mail
Voting Party                   Norton Rose Fulbright LLP                               19/F China World Tower                  No 1 Jianguomenwai Ave                                         Beiging, 100004                         China                                                                  First Class Mail
Chartered Organization         Norton School P T A                                     Connecticut Rivers Council, Bsa 066     414 N Brooksvale Rd                                            Cheshire, CT 06410‐3340                                                                                        First Class Mail
Voting Party                   Norton United Methodist Church                          Attn: Kenneth Michael Taylor            P.O. Box 76                                                    Norton, VA 24273                                                          KENNETHTAYLOR1217@COMCAST.NET        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nortonville Christian Church                            Jayhawk Area Council 197                19861 Osage St                                                 Nortonville, KS 66060                                                                                          First Class Mail
Voting Party                   Norview UMC Norfolk                                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200                Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Norwalk Christian Church                                Attn: Sally Reavely                     5725 61st Ln                                                   Norwalk, IA 50211                                                         reavelys@aol.com                     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Norwalk Elks 2142                                       Greater Los Angeles Area 033            13418 Clarkdale Ave                                            Norwalk, CA 90650‐4302                                                                                         First Class Mail
Chartered Organization         Norwalk Power Squadron                                  c/o P O Box 148                         Connecticut Yankee Council Bsa 072                             Attention:Anthony Mobilia               Norwalk, CT 06856                                                      First Class Mail
Chartered Organization         Norwalk Public Safey                                    Greater Los Angeles Area 033            12700 Norwalk Blvd                                             Norwalk, CA 90650‐3144                                                                                         First Class Mail
Voting Party                   Norwalk United Methodist Church                         Attn: Brian Baker                       1801 Sunset Dr                                                 Norwalk, IA 50211                                                         norwalkumc@norwalkumc.org            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Norwalk Utd Methodist Church                            Greater Los Angeles Area 033            13000 San Antonio Dr                                           Norwalk, CA 90650‐4335                                                                                         First Class Mail
Voting Party                   Norwalk:Cornerstone Community Church                    Attn: Elizabeth C Abel                  718 West Ave                                                   Norwalk, CT 06850                                                         Pastor@come2cornerstone.org          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Norway Grove Memorial Lutheran Church                   Glaciers Edge Council 620               820 River Rd                                                   Deforest, WI 53532‐1402                                                                                        First Class Mail
Voting Party                   Norway United Methodist Church                          Attn: Richard Fassig                    2259 E US Rt 52                                                Serena, IL 60549                                                          rmfassig@outlook.com                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Norway United Methodist Church                          Attn: Richard Michael Fassie            2642 N 3650                                                    Sheridan, IL 60559                                                        ricfassie@outlook.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Norwela Council                                         Attn: Kyle Mcinnis                      333 Texas St Ste 2020                                          Shreveport, LA 71101                                                      Kyle.mcinnis@andersonoilandgas.com   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Norwell Fire Dept Local 2700                            Mayflower Council 251                   300 Washington St                                              Norwell, MA 02061‐1706                                                                                         First Class Mail
Chartered Organization         Norwell Middle School                                   Anthony Wayne Area 157                  1100 E Us Hwy 224                                              Ossian, IN 46777‐8917                                                                                          First Class Mail
Chartered Organization         Norwich Elementary School PTO                           Simon Kenton Council 441                4454 Davidson Rd                                               Hilliard, OH 43026‐9647                                                                                        First Class Mail
Chartered Organization         Norwich Lions Club                                      Green Mountain 592                      195 Douglas Rd                                                 Norwich, VT 05055‐9649                                                                                         First Class Mail
Chartered Organization         Norwin High School                                      Westmoreland Fayette 512                251 Mcmahon Dr                                                 North Huntingdon, PA 15642‐2403                                                                                First Class Mail
Chartered Organization         Norwin Middle School                                    Westmoreland Fayette 512                10870 Mockingbird Dr                                           North Huntingdon, PA 15642‐7431                                                                                First Class Mail
Chartered Organization         Norwood Elementary School PTA                           Greater Alabama Council 001             3136 Norwood Blvd                                              Birmingham, AL 35234‐2123                                                                                      First Class Mail
Chartered Organization         Norwood Elementary School PTO                           Great Smoky Mountain Council 557        809 E Tri County Blvd                                          Oliver Springs, TN 37840‐1844                                                                                  First Class Mail
Chartered Organization         Norwood Fire Protection District                        Denver Area Council 061                 1605 Summit St                                                 Norwood, CO 81423‐5170                                                                                         First Class Mail
Chartered Organization         Norwood Moose Lodge 301                                 Dan Beard Council, Bsa 438              2006 Mills Ave                                                 Cincinnati, OH 45212‐3026                                                                                      First Class Mail
Chartered Organization         Norwood Park ‐ Clc                                      Cornhusker Council 324                  2032 U St                                                      Lincoln, NE 68503‐2955                                                                                         First Class Mail
Chartered Organization         Norwood PTA                                             Northern New Jersey Council, Bsa 333    177 Summit St                                                  Norwood Public School                   Norwood, NJ 07648                                                      First Class Mail
Chartered Organization         Norwood School Assoc                                    Suffolk County Council Inc 404          290 Norwood Ave                                                Port Jefferson Station, NY 11776‐2562                                                                          First Class Mail
Voting Party                   Norwood United Methodist Church                         Attn: Kurt T Schaefer                   23 Wayfield Rd                                                 Springfield, PA 19064                                                     ktsjes@verizon.net                   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Norwood United Methodist Church                         Attn: David Allen Hubbard               23 Colegate Dr                                                 Marietta, OH 45750                                                        davehubbard24@gmail.com              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Norwood United Methodist Church, Marietta Ohio          Attn: Barbara Handschumacher            10020 State Rte 550                                            Vincent, OH 45784                                                         barbhands47@gmail.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Norwood Utd Methodist Church                            Muskingum Valley Council, Bsa 467       Colegate & Oakwood                                             Marietta, OH 45750                                                                                             First Class Mail
Chartered Organization         Norwood/Young America Lions Club                        Northern Star Council 250               P.O. Box 252                                                   Norwood, MN 55368‐0252                                                                                         First Class Mail
Chartered Organization         Noth Metro Home Educators                               Denver Area Council 061                 6441 W 108Th Ave                                               Westminster, CO 80020‐6416                                                                                     First Class Mail
Chartered Organization         Nothing But Net Foundation                              Mid‐America Council 326                 3223 N 45Th St                                                 Omaha, NE 68104‐3711                                                                                           First Class Mail
Voting Party                   Notinger Law, PLLC                                      Attn: Steven M Notinger                 P.O. Box 7010                                                  Nashua, NH 03060‐7010                                                     cheryl@notingerlaw.com               Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Notre Dame Catholic Church                              Chippewa Valley Council 637             117 Allen St                                                   Chippewa Falls, WI 54729‐2802                                                                                  First Class Mail
Chartered Organization         Notre Dame Catholic Church                              Sam Houston Area Council 576            7720 Boone Rd                                                  Houston, TX 77072‐3527                                                                                         First Class Mail
Chartered Organization         Notre Dame Catholic Church                              Alamo Area Council 583                  909 Main St                                                    Kerrville, TX 78028‐3504                                                                                       First Class Mail
Chartered Organization         Notre Dame Catholic School                              Circle Ten Council 571                  2750 Bachman Dr                                                Dallas, TX 75220‐5853                                                                                          First Class Mail
Chartered Organization         Notre Dame Church                                       Northern New Jersey Council, Bsa 333    359 Central Ave                                                North Caldwell, NJ 07006‐4245                                                                                  First Class Mail
Chartered Organization         Notre Dame Club Of Mchenry County                       Blackhawk Area 660                      3321 Hidden Lake Dr                                            Woodstock, IL 60098‐9612                                                                                       First Class Mail
Chartered Organization         Notre Dame Du Mont Carmel                               Katahdin Area Council 216               337 St Thomas St                                               Madawaska, ME 04756‐1243                                                                                       First Class Mail
Chartered Organization         Notre Dame Elementary School                            Lasalle Council 165                     1000 Moore Rd                                                  Michigan City, IN 46360‐1887                                                                                   First Class Mail
Chartered Organization         Notre Dame High School                                  Puerto Rico Council 661                 P.O. Box 937                                                   Caguas, PR 00726‐0937                                                                                          First Class Mail
Chartered Organization         Notre Dame Of Bethlehem R C C                           Minsi Trails Council 502                1861 Catasauqua Rd                                             Bethlehem, PA 18018‐1211                                                                                       First Class Mail
Chartered Organization         Notre Dame Of Mt Carmel                                 Patriots Path Council 358               75 Ridgedale Ave                                               Cedar Knolls, NJ 07927‐1308                                                                                    First Class Mail
Voting Party                   Notre Dame Parish                                       c/o Cullen and Dykman LLP               Attn: Matthew G Roseman                                        100 Quentin Roosevelt Blvd              Garden City, NY 11530             MRoseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Notre Dame Rc Church                                    Theodore Roosevelt Council 386          25 Mayfair Rd                                                  New Hyde Park, NY 11040‐2024                                                                                   First Class Mail
Chartered Organization         Nottamme Trust @ St Gabriel                             Greater St Louis Area Council 312       6303 Nottingham Ave                                            St Louis, MO 63109‐3157                                                                                        First Class Mail
Chartered Organization         Nottamme Trust @ St Gabriel                             Greater St Louis Area Council 312       6303 Nottingham Ave                                            St Louis, MO 63109‐3157                                                                                        First Class Mail
Chartered Organization         Nottamme Trust @ St Gabriel                             Attn: Don Torretti                      6303 Nottingham Ave                                            St Louis, MO 63109‐3157                                                                                        First Class Mail
Chartered Organization         Nottingham Fire Rescue                                  Daniel Webster Council, Bsa 330         P.O. Box 114                                                   Nottingham, NH 03290‐0114                                                                                      First Class Mail
Chartered Organization         Nottingham Presbyterian Church                          Chester County Council 539              499 W Christine Rd                                             Nottingham, PA 19362                                                                                           First Class Mail
Chartered Organization         Nottingham West PTO                                     Daniel Webster Council, Bsa 330         10 Pelham Rd                                                   Hudson, NH 03051‐4830                                                                                          First Class Mail
Chartered Organization         Nouvel Catholic Central Elem                            Athletic Assoc                          2136 Berberovich Dr                                            Saginaw, MI 48603‐3603                                                                                         First Class Mail
Chartered Organization         Nova Academy ‐ Cedar Hill                               Circle Ten Council 571                  8301 Bruton Rd                                                 Dallas, TX 75217‐1905                                                                                          First Class Mail
Chartered Organization         Nova Academy ‐ Scyene                                   Circle Ten Council 571                  6459 Scyene Rd                                                 Dallas, TX 75227‐6118                                                                                          First Class Mail
Chartered Organization         Nova Academy Prichard                                   Circle Ten Council 571                  2800 Prichard Ln                                               Dallas, TX 75227‐6815                                                                                          First Class Mail
Chartered Organization         Nova International School                               Transatlantic Council, Bsa 802          Prashka 27                                                     Jkofje                                  Macedonia                                                              First Class Mail
Chartered Organization         Novak‐Milleren Vfw Post 4258                            Voyageurs Area 286                      601 1St St Se                                                  Pine City, MN 55063‐1903                                                                                       First Class Mail
Chartered Organization         Novant Health                                           Old Hickory Council 427                 2085 Frontis Plaza Blvd                                        Winston Salem, NC 27103‐5614                                                                                   First Class Mail
Chartered Organization         Novant Health Huntersville Med Ctr                      Mecklenburg County Council 415          10030 Gilead Rd                                                Huntersville, NC 28078‐7545                                                                                    First Class Mail
Chartered Organization         Novant Health Matthews                                  Mecklenburg County Council 415          1500 Matthews Pkwy                                             Matthews, NC 28105                                                                                             First Class Mail
Chartered Organization         Novant Health Mint Hill Medical Center                  Mecklenburg County Council 415          8201 Healthcare Loop                                           Charlotte, NC 28215‐7072                                                                                       First Class Mail
Voting Party                   Novatech Inc                                            4106 Charlotte Ave                      Nashville, TN 37209‐3985                                                                                                                                                      First Class Mail
Chartered Organization         Novato Fire Protection District                         Marin Council 035                       95 Rowland Way                                                 Novato, CA 94945‐5001                                                                                          First Class Mail
Chartered Organization         Novato Police Dept                                      Marin Council 035                       909 Machin Ave                                                 Novato, CA 94945‐3233                                                                                          First Class Mail
Chartered Organization         Novi Methodist Mens Club                                Great Lakes Fsc 272                     41671 W 10 Mile Rd                                             Novi, MI 48375‐3302                                                                                            First Class Mail
Chartered Organization         Nowchiro LLC                                            Trapper Trails 589                      3535 S 5600 N                                                  Roy, UT 84067                                                                                                  First Class Mail
Chartered Organization         Nowthen Alliance Church                                 Central Minnesota 296                   19653 Nowthen Blvd Nw                                          Nowthen, MN 55303‐8834                                                                                         First Class Mail
Voting Party                   Noxon Community Methodist Church                        Attn: Mary Lou Johnson                  231 Klakken Rd                                                 Noxon, MT 59853                                                           nox2663@blackfoot.net                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Noxon Community Methodist Church                        Attn: Dave Coupal                       P.O. Box 184                                                   Noxon, MT 59853                                                           djacoupal@msn.com                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Nrs                                                     1638 S Blaine St                        Moscow, ID 83843‐8308                                                                                                                                                         First Class Mail
Voting Party                   Ns412 LLC                                               dba Naturally Slim Inc                  12712 Park Central Dr, Ste 300                                 Dallas, TX 75251‐1512                                                                                          First Class Mail
Voting Party                   NS412, LLC                                              dba Naturally Slim, Inc                 12712 Park Central Dr, Ste 300                                 Dallas, TX 75251                                                          mmoore@naturallyslim.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nsc Bs Camp Staff                                       Northern Star Council 250               6202 Bloomington Rd                                            Fort Snelling, MN 55111‐2600                                                                                   First Class Mail
Chartered Organization         Nsc Cs Camp Staff                                       Northern Star Council 250               255 Western Ave N                                              St Paul, MN 55102‐4421                                                                                         First Class Mail
Chartered Organization         Nsc Juvenile Diversion                                  Northern Star Council 250               6202 Bloomington Rd                                            Fort Snelling, MN 55111‐2600                                                                                   First Class Mail
Voting Party                   Nsf International                                       Dept Lockbox 771380                     P.O. Box 77000                                                 Detroit, MI 42877‐1380                                                                                         First Class Mail
Chartered Organization         Nside Business & Professional Assoc                     Three Harbors Council 636               845 Wisconsin Ave                                              Racine, WI 53403‐1505                                                                                          First Class Mail
Voting Party                   Nugent United Methodist Church                          Attn: Christin Anderson                 13183 John Clark Rd                                            Gulfport, MS 39503                                                        nugentum@bellsouth.com               Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nuline Manufacturing Inc                                Denver Area Council 061                 11333 E 55Th Ave Unit C                                        Denver, CO 80239‐2029                                                                                          First Class Mail
Chartered Organization         Number 14 Jackson School                                Iroquois Trail Council 376              411 S Jackson St                                               Batavia, NY 14020‐3805                                                                                         First Class Mail
Chartered Organization         Nunamiut School                                         Midnight Sun Council 696                P.O. Box 21029                                                 Anaktuvuk Pass, AK 99721‐0029                                                                                  First Class Mail
Chartered Organization         Nunda Rotary Club                                       Iroquois Trail Council 376              P.O. Box 334                                                   Nunda, NY 14517‐0334                                                                                           First Class Mail
Chartered Organization         Nunzio Marc Desantis Architects                         Circle Ten Council 571                  1617 Hi Line Dr Ste 190                                        Dallas, TX 75207‐3792                                                                                          First Class Mail
Chartered Organization         Nupy Enterprises                                        Utah National Parks 591                 607 W 500 N                                                    Orem, UT 84057‐3766                                                                                            First Class Mail
Chartered Organization         Nuscan                                                  Puerto Rico Council 661                 P.O. Box 6960                                                  Caguas, PR 00726‐6960                                                                                          First Class Mail
Chartered Organization         Nut Swamp School Parent Teachers                        Monmouth Council, Bsa 347               925 Nutswamp Rd                                                Middletown, NJ 07748‐3810                                                                                      First Class Mail
Voting Party                   Nuti Hart LLP                                           Attn: Chris Hart                        126 Hillside Ave                                               Piedmont, CA 94611                                                                                             First Class Mail
Chartered Organization         Nutley Masonic Lodge 25                                 Free & Accepted Masons                  175 Chestnut St                                                Nutley, NJ 07110‐2311                                                                                          First Class Mail
Voting Party                   Nutter Farm United Methodist Church                     Attn: Thomas A Hall                     12724 Staunton Tpke                                            Walker, WV 26180                                                          howdyhall@suddenlink.net             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nuuanu Congregational Church                            Aloha Council, Bsa 104                  2651 Pali Hwy                                                  Honolulu, HI 96817‐1427                                                                                        First Class Mail
Chartered Organization         Nw Utd Methodist Church                                 Simon Kenton Council 441                5200 Riverside Dr                                              Columbus, OH 43220‐2879                                                                                        First Class Mail
Chartered Organization         Nwest Orange Cnty Impr Assoc                            Central Florida Council 083             P.O. Box 786                                                   Zellwood, FL 32798‐0786                                                                                        First Class Mail
Chartered Organization         Ny Kitchen                                              Seneca Waterways 397                    800 S Main St                                                  Canandaigua, NY 14424‐2213                                                                                     First Class Mail
Chartered Organization         Nyc Dept Of Correction                                  Greater New York Councils, Bsa 640      7520 Astoria Blvd                                              East Elmhurst, NY 11370‐1138                                                                                   First Class Mail
Chartered Organization         Nye County Sheriffs Office                              Las Vegas Area Council 328              1520 E Basin Ave                                               Pahrump, NV 89060‐2100                                                                                         First Class Mail
Firm                           Nye Stirling Hale & Miller LLP                          Timothy C. Hale                         33 W Mission St, Ste 201                                       Santa Barbara, CA 93101                                                   tim@nshmlaw.com                      Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Nylt Assoc                                              c/o John Campbell                       P.O. Box 71                                                    Burlington Junction, MO 64428‐0071                                                                             First Class Mail
Chartered Organization         Nyp Ssd Bn                                              Greater New York Councils, Bsa 640      850 Grand St                                                   Brooklyn, NY 11211‐5002                                                                                        First Class Mail
Chartered Organization         Nypd ‐ 66Th Precinct                                    Greater New York Councils, Bsa 640      5822 16Th Ave                                                  Brooklyn, NY 11204‐2111                                                                                        First Class Mail
Chartered Organization         Nypd ‐ Community Affairs Bureau/ Yss                    Greater New York Councils, Bsa 640      151 Lawrence St                                                Brooklyn, NY 11201‐5283                                                                                        First Class Mail
Chartered Organization         Nypd 100Th Precinct                                     Greater New York Councils, Bsa 640      9224 Rockaway Beach Blvd                                       Rockaway Beach, NY 11693‐1527                                                                                  First Class Mail
Chartered Organization         Nypd 101 Precinct                                       Greater New York Councils, Bsa 640      1612 Mott Ave                                                  Far Rockaway, NY 11691‐4202                                                                                    First Class Mail
Chartered Organization         Nypd 102Nd Precinct                                     Greater New York Councils, Bsa 640      8734 118Th St                                                  Richmond Hill, NY 11418‐2527                                                                                   First Class Mail
Chartered Organization         Nypd 103Rd Precinct                                     Greater New York Councils, Bsa 640      16802 91St Ave                                                 Jamaica, NY 11432‐5229                                                                                         First Class Mail
Chartered Organization         Nypd 104Th Precinct                                     Greater New York Councils, Bsa 640      6402 Catalpa Ave                                               Ridgewood, NY 11385‐5257                                                                                       First Class Mail
Chartered Organization         Nypd 105Th Precinct                                     Greater New York Councils, Bsa 640      9208 222Nd St                                                  Queens Village, NY 11428‐1474                                                                                  First Class Mail
Chartered Organization         Nypd 106Th Precinct                                     Greater New York Councils, Bsa 640      10353 101St St                                                 Ozone Park, NY 11417‐1707                                                                                      First Class Mail
Chartered Organization         Nypd 107Th Precinct                                     Greater New York Councils, Bsa 640      7101 Parsons Blvd                                              Fresh Meadows, NY 11365‐4113                                                                                   First Class Mail
Chartered Organization         Nypd 108Th Precinct                                     Greater New York Councils, Bsa 640      547 50Th Ave                                                   Long Island City, NY 11101‐5711                                                                                First Class Mail
Chartered Organization         Nypd 109Th Precinct                                     Greater New York Councils, Bsa 640      3705 Union St                                                  Flushing, NY 11354‐4117                                                                                        First Class Mail
Chartered Organization         Nypd 10Th Precinct                                      Greater New York Councils, Bsa 640      230 W 20Th St                                                  New York, NY 10011‐3502                                                                                        First Class Mail
Chartered Organization         Nypd 110Th Precinct                                     Greater New York Councils, Bsa 640      9441 43Rd Ave                                                  Elmhurst, NY 11373‐2853                                                                                        First Class Mail
Chartered Organization         Nypd 111Th Precinct                                     Greater New York Councils, Bsa 640      4506 215Th St                                                  Bayside, NY 11361‐3340                                                                                         First Class Mail
Chartered Organization         Nypd 112Th Precinct                                     Greater New York Councils, Bsa 640      6840 Austin St                                                 Forest Hills, NY 11375‐4242                                                                                    First Class Mail
Chartered Organization         Nypd 113Th Precinct                                     Greater New York Councils, Bsa 640      16702 Baisley Blvd                                             Jamaica, NY 11434‐2511                                                                                         First Class Mail
Chartered Organization         Nypd 114Th Precinct                                     Greater New York Councils, Bsa 640      3416 Astoria Blvd                                              Astoria, NY 11103‐4425                                                                                         First Class Mail
Chartered Organization         Nypd 115 Precinct                                       Greater New York Councils, Bsa 640      9215 Nern Blvd                                                 Jackson Heights, NY 11372                                                                                      First Class Mail
Chartered Organization         Nypd 120Th Precinct                                     Greater New York Councils, Bsa 640      78 Richmond Ter                                                Staten Island, NY 10301‐1905                                                                                   First Class Mail
Chartered Organization         Nypd 121St Precinct                                     Greater New York Councils, Bsa 640      970 Richmond Ave                                               Staten Island, NY 10314‐1503                                                                                   First Class Mail
Chartered Organization         Nypd 122Nd Precinct                                     Greater New York Councils, Bsa 640      2320 Hylan Blvd                                                Staten Island, NY 10306‐3207                                                                                   First Class Mail
Chartered Organization         Nypd 123Rd Precinct                                     Greater New York Councils, Bsa 640      116 Main St                                                    Staten Island, NY 10307‐1227                                                                                   First Class Mail
Chartered Organization         Nypd 13Th Precinct                                      Greater New York Councils, Bsa 640      230 E 21St St                                                  New York, NY 10010‐7460                                                                                        First Class Mail
Chartered Organization         Nypd 17Th Precinct                                      Greater New York Councils, Bsa 640      167 E 51St St                                                  New York, NY 10022‐6010                                                                                        First Class Mail
Chartered Organization         Nypd 19Th Precinct                                      Greater New York Councils, Bsa 640      153 E 67Th St                                                  New York, NY 10065‐5964                                                                                        First Class Mail
Chartered Organization         Nypd 1St Precinct                                       Greater New York Councils, Bsa 640      16 Ericsson Pl                                                 New York, NY 10013‐2411                                                                                        First Class Mail
Chartered Organization         Nypd 20Th Precinct                                      Greater New York Councils, Bsa 640      120 W 82Nd St                                                  New York, NY 10024‐5502                                                                                        First Class Mail
Chartered Organization         Nypd 23Rd Precinct                                      Greater New York Councils, Bsa 640      164 E 102Nd St                                                 New York, NY 10029‐5760                                                                                        First Class Mail
Chartered Organization         Nypd 24Th Precinct                                      Greater New York Councils, Bsa 640      151 W 100Th St                                                 New York, NY 10025‐5146                                                                                        First Class Mail
Chartered Organization         Nypd 25Th Precinct                                      Greater New York Councils, Bsa 640      120 E 119Th St                                                 New York, NY 10035‐3921                                                                                        First Class Mail
Chartered Organization         Nypd 26Th Precinct                                      Greater New York Councils, Bsa 640      520 W 126Th St                                                 New York, NY 10027‐2406                                                                                        First Class Mail
Chartered Organization         Nypd 28Th Precinct                                      Greater New York Councils, Bsa 640      2271 Frederick Douglass Blvd                                   New York, NY 10027‐5319                                                                                        First Class Mail
Chartered Organization         Nypd 30Th Precinct                                      Greater New York Councils, Bsa 640      451 W 151St St                                                 New York, NY 10031‐1802                                                                                        First Class Mail
Chartered Organization         Nypd 32Nd Precinct                                      Greater New York Councils, Bsa 640      250 W 135Th St                                                 New York, NY 10030‐2802                                                                                        First Class Mail
Chartered Organization         Nypd 33Rd Precinct                                      Greater New York Councils, Bsa 640      2207 Amsterdam Ave                                             New York, NY 10032‐2512                                                                                        First Class Mail
Chartered Organization         Nypd 34 Precinct                                        Greater New York Councils, Bsa 640      4295 Broadway                                                  New York, NY 10033‐3729                                                                                        First Class Mail
Chartered Organization         Nypd 40Th Precinct                                      Greater New York Councils, Bsa 640      257 Alexander Ave                                              Bronx, NY 10454‐1133                                                                                           First Class Mail
Chartered Organization         Nypd 41St Precinct                                      Greater New York Councils, Bsa 640      1035 Longwood Ave                                              Bronx, NY 10459‐5204                                                                                           First Class Mail
Chartered Organization         Nypd 42Nd Precinct                                      Greater New York Councils, Bsa 640      830 Washington Ave                                             Bronx, NY 10451‐4604                                                                                           First Class Mail
Chartered Organization         Nypd 43Rd Precinct                                      Greater New York Councils, Bsa 640      900 Fteley Ave                                                 Bronx, NY 10473‐4006                                                                                           First Class Mail
Chartered Organization         Nypd 44Th Precinct                                      Greater New York Councils, Bsa 640      2 E 169Th St                                                   Bronx, NY 10452‐7800                                                                                           First Class Mail
Chartered Organization         Nypd 45Th Precinct                                      Greater New York Councils, Bsa 640      2877 Barkley Ave                                               Bronx, NY 10465‐1949                                                                                           First Class Mail
Chartered Organization         Nypd 46Th Precinct                                      Greater New York Councils, Bsa 640      2120 Ryer Ave                                                  Bronx, NY 10457‐2919                                                                                           First Class Mail
Chartered Organization         Nypd 47Th Precinct                                      Greater New York Councils, Bsa 640      4111 Laconia Ave                                               Bronx, NY 10466‐4901                                                                                           First Class Mail
Chartered Organization         Nypd 48Th Precinct                                      Greater New York Councils, Bsa 640      450 Cross Bronx Expy                                           Bronx, NY 10457‐7401                                                                                           First Class Mail
Chartered Organization         Nypd 49Th Precinct                                      Greater New York Councils, Bsa 640      2121 Eastchester Rd                                            Bronx, NY 10461‐2251                                                                                           First Class Mail
Chartered Organization         Nypd 50Th Precinct                                      Greater New York Councils, Bsa 640      3450 Kingsbridge Ave                                           Bronx, NY 10463‐4004                                                                                           First Class Mail
Chartered Organization         Nypd 50Th Precint                                       Greater New York Councils, Bsa 640      3054 Kingsbridge Ave                                           Bronx, NY 10463‐5117                                                                                           First Class Mail
Chartered Organization         Nypd 52Nd Precinct                                      Greater New York Councils, Bsa 640      3016 Webster Ave                                               Bronx, NY 10467‐4901                                                                                           First Class Mail
Chartered Organization         Nypd 5Th Precinct                                       Greater New York Councils, Bsa 640      19 Elizabeth St                                                New York, NY 10013‐4803                                                                                        First Class Mail
Chartered Organization         Nypd 60Th Precinct                                      Greater New York Councils, Bsa 640      2951 W 8Th St                                                  Brooklyn, NY 11224‐3615                                                                                        First Class Mail
Chartered Organization         Nypd 61St Precinct                                      Greater New York Councils, Bsa 640      2575 Coney Island Ave                                          Brooklyn, NY 11223‐5027                                                                                        First Class Mail
Chartered Organization         Nypd 62Nd Precinct                                      Greater New York Councils, Bsa 640      1925 Bath Ave                                                  Brooklyn, NY 11214‐4714                                                                                        First Class Mail
Chartered Organization         Nypd 63Rd Precinct                                      Greater New York Councils, Bsa 640      1844 Brooklyn Ave                                              Brooklyn, NY 11210‐4240                                                                                        First Class Mail
Chartered Organization         Nypd 67Th Precinct                                      Greater New York Councils, Bsa 640      2820 Snyder Ave                                                Brooklyn, NY 11226‐4118                                                                                        First Class Mail
Chartered Organization         Nypd 68Th Precinct                                      Greater New York Councils, Bsa 640      333 65Th St                                                    Brooklyn, NY 11220‐4927                                                                                        First Class Mail
Chartered Organization         Nypd 69Th Precinct                                      Greater New York Councils, Bsa 640      9720 Foster Ave                                                Brooklyn, NY 11236‐2123                                                                                        First Class Mail
Chartered Organization         Nypd 6Th Precinct                                       Greater New York Councils, Bsa 640      233 W 10Th St                                                  New York, NY 10014‐2978                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 284 of 442
                                                                                 Case 20-10343-LSS                                              Doc 8171                                         Filed 01/06/22                                                    Page 300 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                       Name                                                                                                    Address                                                                                                             Email                 Method of Service
Chartered Organization         Nypd 70Th Precinct                                             Greater New York Councils, Bsa 640           70 Police Precinct                                           Brooklyn, NY 11230                                                                                       First Class Mail
Chartered Organization         Nypd 71St Precinct                                             Greater New York Councils, Bsa 640           421 Empire Blvd                                              Brooklyn, NY 11225‐3217                                                                                  First Class Mail
Chartered Organization         Nypd 72 Precinct                                               Greater New York Councils, Bsa 640           830 4Th Ave                                                  Brooklyn, NY 11232‐1702                                                                                  First Class Mail
Chartered Organization         Nypd 72Nd Precinct                                             Greater New York Councils, Bsa 640           830 4Th Ave                                                  Brooklyn, NY 11232‐1702                                                                                  First Class Mail
Chartered Organization         Nypd 73 Precinct                                               Greater New York Councils, Bsa 640           1470 E New York Ave                                          Brooklyn, NY 11212‐5007                                                                                  First Class Mail
Chartered Organization         Nypd 73Rd Precinct                                             Greater New York Councils, Bsa 640           1470 E New York Ave                                          Brooklyn, NY 11212‐5007                                                                                  First Class Mail
Chartered Organization         Nypd 75Th Precinct                                             Greater New York Councils, Bsa 640           1000 Sutter Ave                                              Brooklyn, NY 11208‐3553                                                                                  First Class Mail
Chartered Organization         Nypd 76Th Precinct                                             Greater New York Councils, Bsa 640           191 Union St                                                 Brooklyn, NY 11231‐3003                                                                                  First Class Mail
Chartered Organization         Nypd 77Th Precinct                                             Greater New York Councils, Bsa 640           127 Utica Ave                                                Brooklyn, NY 11213‐2338                                                                                  First Class Mail
Chartered Organization         Nypd 78Th Precinct                                             Greater New York Councils, Bsa 640           65 6Th Ave                                                   Brooklyn, NY 11217‐2110                                                                                  First Class Mail
Chartered Organization         Nypd 79Th Precinct                                             Greater New York Councils, Bsa 640           263 Tompkins Ave                                             Brooklyn, NY 11216‐1220                                                                                  First Class Mail
Chartered Organization         Nypd 7Th Precinct                                              Greater New York Councils, Bsa 640           19 1/2 Pitt St                                               New York, NY 10002                                                                                       First Class Mail
Chartered Organization         Nypd 81St Precinct                                             Greater New York Councils, Bsa 640           30 Ralph Ave                                                 Brooklyn, NY 11221‐3607                                                                                  First Class Mail
Chartered Organization         Nypd 83Rd Precinct                                             Greater New York Councils, Bsa 640           480 Knickerbocker Ave                                        Brooklyn, NY 11237‐5132                                                                                  First Class Mail
Chartered Organization         Nypd 84Th Precinct                                             Greater New York Councils, Bsa 640           301 Gold St                                                  Brooklyn, NY 11201‐3003                                                                                  First Class Mail
Chartered Organization         Nypd 88Th Precinct                                             Greater New York Councils, Bsa 640           298 Classon Ave                                              Brooklyn, NY 11205‐4301                                                                                  First Class Mail
Chartered Organization         Nypd 90 Precinct                                               Greater New York Councils, Bsa 640           211 Union Ave                                                Brooklyn, NY 11211‐7417                                                                                  First Class Mail
Chartered Organization         Nypd 90Th Precinct                                             Greater New York Councils, Bsa 640           211 Union Ave                                                Brooklyn, NY 11211‐7417                                                                                  First Class Mail
Chartered Organization         Nypd 94Th Precinct                                             Greater New York Councils, Bsa 640           100 Meserole Ave                                             Brooklyn, NY 11222‐2636                                                                                  First Class Mail
Chartered Organization         Nypd 9Th Precinct                                              Greater New York Councils, Bsa 640           321 E 5Th St                                                 New York, NY 10003‐8802                                                                                  First Class Mail
Chartered Organization         Nypd Cobble Hill High School                                   Greater New York Councils, Bsa 640           347 Baltic St                                                Brooklyn, NY 11201‐6432                                                                                  First Class Mail
Chartered Organization         Nypd Housing Bureau                                            Greater New York Councils, Bsa 640           884 Washington Ave                                           Bronx, NY 10451                                                                                          First Class Mail
Chartered Organization         Nypd Housing Bureau ‐ Psa 6                                    Greater New York Councils, Bsa 640           2770 Frederick Douglass Blvd                                 New York, NY 10039‐3025                                                                                  First Class Mail
Chartered Organization         Nypd Midtown North Precinct                                    Greater New York Councils, Bsa 640           306 W 54Th St                                                New York, NY 10019‐5102                                                                                  First Class Mail
Chartered Organization         Nypd Midtown South Precinct                                    Greater New York Councils, Bsa 640           357 W 35Th St                                                New York, NY 10001‐1701                                                                                  First Class Mail
Chartered Organization         Nypd Psa 2                                                     Greater New York Councils, Bsa 640           560 Sutter Ave                                               Brooklyn, NY 11207‐4016                                                                                  First Class Mail
Chartered Organization         Nypd Psa 5                                                     Greater New York Councils, Bsa 640           221 E 123Rd St                                               New York, NY 10035‐2021                                                                                  First Class Mail
Chartered Organization         Nypd Psa 5                                                     Greater New York Councils, Bsa 640           221 E 123Rd St                                               New York, NY 10035‐2021                                                                                  First Class Mail
Chartered Organization         Nypd Psa‐04                                                    Greater New York Councils, Bsa 640           130 Ave C                                                    New York, NY 10009‐5337                                                                                  First Class Mail
Chartered Organization         Nypd Psa‐1                                                     Greater New York Councils, Bsa 640           2860 W 23Rd St                                               Brooklyn, NY 11224‐2308                                                                                  First Class Mail
Chartered Organization         Nypd Psa‐3                                                     Greater New York Councils, Bsa 640           25 Central Ave                                               Brooklyn, NY 11206‐4702                                                                                  First Class Mail
Chartered Organization         Nypd Psa‐4                                                     Greater New York Councils, Bsa 640           130 Ave C                                                    New York, NY 10009‐5337                                                                                  First Class Mail
Chartered Organization         Nypd Psa‐7                                                     Greater New York Councils, Bsa 640           737 Melrose Ave                                              Bronx, NY 10455‐1130                                                                                     First Class Mail
Chartered Organization         Nypd Psa‐8                                                     Greater New York Councils, Bsa 640           2794 Randall Ave                                             Bronx, NY 10465‐2703                                                                                     First Class Mail
Chartered Organization         Nypd Psa‐9                                                     Greater New York Councils, Bsa 640           15509 Jewel Ave                                              Flushing, NY 11367‐1850                                                                                  First Class Mail
Chartered Organization         Nypd School Safety ‐ Brooklyn North                            Greater New York Councils, Bsa 640           850 Grand St                                                 Brooklyn, NY 11211‐5002                                                                                  First Class Mail
Chartered Organization         Nypd School Safety Bronx East                                  Greater New York Councils, Bsa 640           1980 Lafayette Ave                                           Bronx, NY 10473‐2525                                                                                     First Class Mail
Chartered Organization         Nypd School Safety Bronx West                                  Greater New York Councils, Bsa 640           244 E 163Rd St                                               Bronx, NY 10451‐3217                                                                                     First Class Mail
Chartered Organization         Nypd School Safety Div Central                                 Greater New York Councils, Bsa 640           600 E 6Th St                                                 New York, NY 10009‐6851                                                                                  First Class Mail
Chartered Organization         Nypd School Safety Div Qs                                      Greater New York Councils, Bsa 640           14310 Springfield Blvd                                       Springfield Gardens, NY 11413‐3240                                                                       First Class Mail
Chartered Organization         Nypd School Safety Div‐Queens South                            Greater New York Councils, Bsa 640           14310 Springfield Blvd                                       Springfield Gardens, NY 11413‐3240                                                                       First Class Mail
Chartered Organization         Nypd School Safety Staten Island                               Greater New York Councils, Bsa 640           715 Ocean Ter                                                Staten Island, NY 10301‐4542                                                                             First Class Mail
Chartered Organization         Nypd Ssd Bx North                                              Greater New York Councils, Bsa 640           5050 Iselin Ave                                              Bronx, NY 10471‐2915                                                                                     First Class Mail
Chartered Organization         Nypd Ssd Bx West                                               Greater New York Councils, Bsa 640           500 E Fordham Rd                                             Bronx, NY 10458‐5048                                                                                     First Class Mail
Chartered Organization         Nypd Ssd John Jay Campus                                       Greater New York Councils, Bsa 640           237 7Th Ave                                                  Brooklyn, NY 11215‐3405                                                                                  First Class Mail
Chartered Organization         Nypd Ssd Manhattan South                                       Greater New York Councils, Bsa 640           444 W 56Th St                                                New York, NY 10019‐3602                                                                                  First Class Mail
Chartered Organization         Nypd Ssd Qns‐ Lic Hs                                           Greater New York Councils, Bsa 640           1430 Broadway                                                Long Island City, NY 11106‐4530                                                                          First Class Mail
Chartered Organization         Nypd Ssd Qns‐Benjamin Cardozo Hs                               Greater New York Councils, Bsa 640           5700 223Rd St                                                Oakland Gardens, NY 11364‐1936                                                                           First Class Mail
Chartered Organization         Nypd Ssd Queens North Aviation Hs                              Greater New York Councils, Bsa 640           4530 36Th St                                                 Long Island City, NY 11101‐1822                                                                          First Class Mail
Chartered Organization         Nypd Ssd Queens South                                          Greater New York Councils, Bsa 640           16005 Highland Ave                                           Jamaica, NY 11432‐3435                                                                                   First Class Mail
Chartered Organization         Nypd Ssd‐Arts & Bus High School                                Greater New York Councils, Bsa 640           10525 Horace Harding Expy                                    Corona, NY 11368‐4534                                                                                    First Class Mail
Chartered Organization         Nypd Ssd‐Bs Tilden Campus                                      Greater New York Councils, Bsa 640           5800 Tilden Ave                                              Brooklyn, NY 11203‐4824                                                                                  First Class Mail
Chartered Organization         Nypd Ssd‐Soundview Hs                                          Greater New York Councils, Bsa 640           1440 Story Ave                                               Bronx, NY 10473‐4909                                                                                     First Class Mail
Chartered Organization         Nypd Td‐02                                                     Greater New York Councils, Bsa 640           370 Jay St                                                   Brooklyn, NY 11201‐3828                                                                                  First Class Mail
Chartered Organization         Nypd Td‐03                                                     Greater New York Councils, Bsa 640           370 Jay St                                                   Brooklyn, NY 11201‐3828                                                                                  First Class Mail
Chartered Organization         Nypd Td‐04                                                     Greater New York Councils, Bsa 640           370 Jay St                                                   Brooklyn, NY 11201‐3828                                                                                  First Class Mail
Chartered Organization         Nypd Td‐12                                                     Greater New York Councils, Bsa 640           460 Morris Ave                                               Bronx, NY 10451                                                                                          First Class Mail
Chartered Organization         Nypd Td‐20                                                     Greater New York Councils, Bsa 640           370 Jay St                                                   Brooklyn, NY 11201‐3828                                                                                  First Class Mail
Chartered Organization         Nypd Td‐23                                                     Greater New York Councils, Bsa 640           11505 Beach Channel Dr                                       Rockaway Park, NY 11694‐2112                                                                             First Class Mail
Chartered Organization         Nypd Td‐30                                                     Greater New York Councils, Bsa 640           130 Livingston St                                            Brooklyn, NY 11201‐5106                                                                                  First Class Mail
Chartered Organization         Nypd Td‐32                                                     Greater New York Councils, Bsa 640           960 Carroll St                                               Brooklyn, NY 11225‐1802                                                                                  First Class Mail
Chartered Organization         Nypd Td‐33                                                     Greater New York Councils, Bsa 640           2399 Fulton St                                               Brooklyn, NY 11233‐3447                                                                                  First Class Mail
Chartered Organization         Nypd Td‐34                                                     Greater New York Councils, Bsa 640           130 Livingston St                                            Brooklyn, NY 11201‐5106                                                                                  First Class Mail
Chartered Organization         Nypd Transit Div‐11                                            Greater New York Councils, Bsa 640           Dist. 11 Transit Pol                                         370 Jay St                           Brooklyn, NY 11201                                                  First Class Mail
Chartered Organization         Nypd‐Td01                                                      Greater New York Councils, Bsa 640           59 Columbus Ave                                              New York, NY 10023                                                                                       First Class Mail
Chartered Organization         NY‐Presbyterian Brooklyn Methodist Hosp                        Greater New York Councils, Bsa 640           506 6Th St                                                   Brooklyn, NY 11215‐3609                                                                                  First Class Mail
Chartered Organization         Nysmith School For The Gifted                                  National Capital Area Council 082            13625 Eds Dr                                                 Herndon, VA 20171‐3226                                                                                   First Class Mail
Voting Party                   Nystrom Erik L                                                 Address Redacted                                                                                                                                                               Email Address Redacted              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Nyu Langone Hospitals                                          Greater New York Councils, Bsa 640           550 1St Ave                                                  New York, NY 10016‐6402                                                                                  First Class Mail
Chartered Organization         O D Smith Masonic Lodge 33                                     Yocona Area Council 748                      618 Mclarty Rd                                               Oxford, MS 38655‐4500                                                                                    First Class Mail
Chartered Organization         O Fallon Rotary Club                                           Greater St Louis Area Council 312            P.O. Box 174                                                 O Fallon, IL 62269‐0174                                                                                  First Class Mail
Chartered Organization         O M Roberts Elementary School                                  Bay Area Council 574                         110 Cedar St                                                 Lake Jackson, TX 77566‐6133                                                                              First Class Mail
Voting Party                   O Temple Sloan Jr                                              c/o Boy Scouts of America                    Attn: Chase Koontz                                           1325 W Walnut Hill Ln                Irving, TX 75015                chase.koontz@scouting.org           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         O48 Realty Of Salt Lake County PC                              Utah National Parks 591                      428 N 835 E                                                  Lindon, UT 84042‐1535                                                                                    First Class Mail
Voting Party                   Oak Chapel United Methodist Chuch INC                          Attn: John Patrick Finn                      4203 West Old Lincoln Way                                    Wooster, OH 44691                                                                                        First Class Mail
Voting Party                   Oak Chapel United Methodist church                             Attn: John Finn                              4201 W Old Lincoln Way                                       Wooster, OH 44691                                                    pastor@oakchapelumc.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Oak City Baptist Church                                        Great Smoky Mountain Council 557             211 Main St                                                  Seymour, TN 37865‐5351                                                                                   First Class Mail
Chartered Organization         Oak Creek Charter                                              Southwest Florida Council 088                28011 Performance Ln                                         Bonita Springs, FL 34135‐6850                                                                            First Class Mail
Chartered Organization         Oak Creek Charter Sch Bonita Spgs                              Southwest Florida Council 088                28011 Performance Ln                                         Bonita Springs, FL 34135‐6850                                                                            First Class Mail
Voting Party                   Oak Creek Community United Methodist Church                    Attn: Douglas Raymond Clement                8675 S 13th St                                               Oak Creek, WI 53154                                                  dc_church@tds.net                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Oak Creek Fire Dept                                            Three Harbors Council 636                    7000 S 6Th St                                                Oak Creek, WI 53154‐1450                                                                                 First Class Mail
Chartered Organization         Oak Creek Lions Club                                           Three Harbors Council 636                    P.O. Box 211                                                 Oak Creek, WI 53154‐0211                                                                                 First Class Mail
Chartered Organization         Oak Creek Parent Teacher Assoc                                 Cascade Pacific Council 492                  55 Kingsgate Rd                                              Lake Oswego, OR 97035‐1345                                                                               First Class Mail
Chartered Organization         Oak Creek Plumbing                                             Three Harbors Council 636                    640 E Ryan Rd                                                Oak Creek, WI 53154‐4500                                                                                 First Class Mail
Chartered Organization         Oak Dale Elementary PTA                                        Golden Spread Council 562                    2711 S Hill St                                               Amarillo, TX 79103‐6516                                                                                  First Class Mail
Chartered Organization         Oak Forest Police Dept                                         Pathway To Adventure 456                     15440 Central Ave                                            Oak Forest, IL 60452‐2104                                                                                First Class Mail
Voting Party                   Oak Forest United Methodist Church of NC                       Attn: Chris Wall                             11461 Old U.S. Hwy 52                                        Winston‐Salem, NC 27107                                              wall.chris.a@gmail.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Forest United Methodist Church of NC                       Attn: Christopher Aaron Wall                 154 Lois Reich Ct                                            Lexington, NC 27295                                                  wall.chris.a@gmail.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Oak Glen Ministries                                            Circle Ten Council 571                       P.O. Box 222173                                              Dallas, TX 75222‐2173                                                                                    First Class Mail
Chartered Organization         Oak Grove                                                      Northern Lights Council 429                  2720 32Nd Ave S                                              Fargo, ND 58103‐5024                                                                                     First Class Mail
Voting Party                   Oak Grove                                                      c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                 erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Oak Grove Baptist Church                                       Daniel Boone Council 414                     39 Robinson Rd                                               Clyde, NC 28721‐6933                                                                                     First Class Mail
Chartered Organization         Oak Grove Baptist Church                                       Northeast Georgia Council 101                5640 Oak Grove Cir                                           Cumming, GA 30028‐3806                                                                                   First Class Mail
Chartered Organization         Oak Grove Baptist Church                                       Indian Waters Council 553                    1063 Old Two Notch Rd                                        Elgin, SC 29045‐9629                                                                                     First Class Mail
Chartered Organization         Oak Grove Church Of Christ                                     Buckskin 617                                 1525 Damron Br                                               Grayson, KY 41143‐7162                                                                                   First Class Mail
Chartered Organization         Oak Grove Community Of Christ Church                           Heart Of America Council 307                 1803 S Broadway                                              Oak Grove, MO 64075‐9021                                                                                 First Class Mail
Chartered Organization         Oak Grove Independent Methodist Church                         Yocona Area Council 748                      P.O. Box 73                                                  Pocahontas, TN 38061‐0073                                                                                First Class Mail
Chartered Organization         Oak Grove Lutheran Church                                      Northern Star Council 250                    7045 Lyndale Ave S                                           Richfield, MN 55423‐3069                                                                                 First Class Mail
Chartered Organization         Oak Grove Missionary Baptist Church                            Tukabatchee Area Council 005                 Hc 1                                                         Alberta, AL 36720                                                                                        First Class Mail
Chartered Organization         Oak Grove Parent Teacher Org                                   Northeast Illinois 129                       1700 Oplaine Rd                                              Libertyville, IL 60048‐1541                                                                              First Class Mail
Chartered Organization         Oak Grove PTO                                                  Cascade Pacific Council 492                  2150 Se Torbank Rd                                           Milwaukie, OR 97222‐8500                                                                                 First Class Mail
Voting Party                   Oak Grove UMC                                                  c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                 erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Grove UMC Chesapeake                                       c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                 erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Grove United Methodist Church                              Attn: F M Turner, III                        P.O. Box 15128                                               Hattiesburg, MS 39404                                                rturner@fmtlaw.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Grove United Methodist Church                              Attn: Rev Don Kirsch                         4725 FM 720 W                                                Aubrey, TX 76227                                                     robertbrown@ebby.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Grove United Methodist Church                              Attn: Dave Peckens                           6686 Oak Grove Rd                                            Howell, MI 48855                                                     oakgrove3395@att.net                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Grove United Methodist Church                              Attn: Rena Smith                             527 Albion Rd                                                Searcy, AR 72143                                                     lrsmith5711@gmail.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Grove United Methodist Church ‐ Oak Grove                  c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                 erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Oak Grove Utd Methodist Church                                 Mens Club                                    Atlanta Area Council 092                                     1722 Oak Grove Rd                    Decatur, GA 30033                                                   First Class Mail
Chartered Organization         Oak Grove Utd Methodist Church                                 Longhorn Council 662                         4725 Fm 720                                                  Aubrey, TX 76227‐8264                                                                                    First Class Mail
Chartered Organization         Oak Grove Utd Methodist Church                                 Tidewater Council 596                        472 Battlefield Blvd N                                       Chesapeake, VA 23320‐3986                                                                                First Class Mail
Chartered Organization         Oak Grove Utd Methodist Church                                 Pine Burr Area Council 304                   4915 Old Hwy 11                                              Hattiesburg, MS 39402‐6212                                                                               First Class Mail
Chartered Organization         Oak Grove Utd Methodist Church                                 Northwest Georgia Council 100                1689 Euharlee Rd                                             Kingston, GA 30145‐2616                                                                                  First Class Mail
Chartered Organization         Oak Grove Utd Methodist Church                                 Heart Of America Council 307                 P.O. Box 169                                                 Oak Grove, MO 64075‐0169                                                                                 First Class Mail
Chartered Organization         Oak Grove Utd Methodist Church                                 Greater Tampa Bay Area 089                   2707 W Waters Ave                                            Tampa, FL 33614‐1836                                                                                     First Class Mail
Chartered Organization         Oak Hall Episcopal School                                      Arbuckle Area Council 468                    2815 Mt Washington Rd                                        Ardmore, OK 73401‐9333                                                                                   First Class Mail
Chartered Organization         Oak Harbor Elks Lodge 2362                                     Mount Baker Council, Bsa 606                 155 Ne Ernst St                                              Oak Harbor, WA 98277‐5905                                                                                First Class Mail
Chartered Organization         Oak Harbor First Utd Methodist Church                          Mount Baker Council, Bsa 606                 1050 Se Ireland St                                           Oak Harbor, WA 98277‐4079                                                                                First Class Mail
Chartered Organization         Oak Harbor Lutheran Church                                     Mount Baker Council, Bsa 606                 1253 Nw 2Nd Ave                                              Oak Harbor, WA 98277‐7220                                                                                First Class Mail
Chartered Organization         Oak Harbor Police Dept                                         Mount Baker Council, Bsa 606                 860 Se Barrington Dr                                         Oak Harbor, WA 98277‐3279                                                                                First Class Mail
Chartered Organization         Oak Hill Academy                                               Blue Ridge Mtns Council 599                  2635 Oak Hill Rd                                             Mouth Of Wilson, VA 24363‐3004                                                                           First Class Mail
Chartered Organization         Oak Hill Baptist Church                                        Flint River Council 095                      100 Lakeside Dr                                              Williamson, GA 30292‐3803                                                                                First Class Mail
Voting Party                   Oak Hill Baptist Church of Meridian, Inc                       Attn: Charles D Smith, Sr                    P.O. Box 3938                                                Meridian, MS 39303                                                   ohbcsecretary@comcast.net           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Oak Hill Church Of The Nazarene                                North Florida Council 087                    4151 Old Middleburg Rd N                                     Jacksonville, FL 32210‐4618                                                                              First Class Mail
Chartered Organization         Oak Hill Elementary PTA                                        Central Florida Council 083                  11 S Hiawassee Rd                                            Orlando, FL 32835‐1001                                                                                   First Class Mail
Chartered Organization         Oak Hill Elementary/Slps                                       Greater St Louis Area Council 312            4300 Morganford Rd                                           St Louis, MO 63116‐1504                                                                                  First Class Mail
Chartered Organization         Oak Hill Ruritan Club                                          Piedmont Council 420                         2516 Nc 181                                                  Morganton, NC 28655‐9570                                                                                 First Class Mail
Voting Party                   Oak Hill Ruritan Club Lenoir, NC 28645                         Attn: Larry Teeters                          2785 Taylorsville Rd                                         Lenoir, NC 28645                                                     lwteeters2015@gmail.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Hill United Methodist Church                               Attn: Martha Simmons                         250 Main St                                                  Oak Hill, WV 25901                                                   msimmons@wvumc.org                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Hill United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                 erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Hill United Methodist Church Morganton NC                  Attn: C Benjamin Nantz, III                  Attn: Church Council Chair                                   2239 NC 181                          Morganton, NC 28655             nantzeb@cs.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Hill United Methodist Church, Austin, TX                   Attn: Alana Oehler                           7815 US Hwy 290                                              Austin, TX 78736                                                     office@oakhillumc.org               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Oak Hill Utd Methodist Church                                  Capitol Area Council 564                     7815 Hwy 290 W                                               Austin, TX 78736‐3204                                                                                    First Class Mail
Chartered Organization         Oak Hill Utd Methodist Church                                  Daniel Boone Council 414                     277 Oak Hill Rd                                              Candler, NC 28715‐9617                                                                                   First Class Mail
Chartered Organization         Oak Hill Utd Presbyterian Church                               Simon Kenton Council 441                     205 E Cross St                                               Oak Hill, OH 45656‐1247                                                                                  First Class Mail
Chartered Organization         Oak Hills Church Of Christ                                     Alamo Area Council 583                       19595 W Interstate 10                                        San Antonio, TX 78257‐9520                                                                               First Class Mail
Chartered Organization         Oak Hills Church‐Christian Reformed                            Cascade Pacific Council 492                  2800 Nw 153Rd Ave                                            Beaverton, OR 97006‐5312                                                                                 First Class Mail
Chartered Organization         Oak Hills Property Owners Assoc                                California Inland Empire Council 045         13312 Ranchero Rd Pmb 378 Ste 18                             Oak Hills, CA 92344‐4812                                                                                 First Class Mail
Chartered Organization         Oak Hollow Marina                                              Old N State Council 070                      3431 N Centennial St                                         High Point, NC 27265‐2286                                                                                First Class Mail
Voting Party                   Oak Island United Methodist Church                             2970 De Vilbiss Ln                           San Antonio, TX 78264                                                                                                                                                 First Class Mail
Voting Party                   Oak Knoll Lutheran Church                                      Attn: Pastor Jay Rudi                        600 Hopkins Crossroad                                        Minnetonka, MN 55305                                                 pastor.jay@oklutheran.org           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Oak Lane Presbyterian Church                                   Cradle of Liberty Council 525                11th St At Oak Ln                                            Philadelphia, PA 19126                                                                                   First Class Mail
Voting Party                   Oak Lawn United Methodist Church fka Oak Lawn Memorial Churc   Attn: Jim May                                3014 Oak Lawn Ave                                            Dallas, TX 75219                                                     jlmay48@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Oak Level Presbyterian Church                                  Blue Ridge Mtns Council 599                  P.O. Box 5                                                   Vernon Hill, VA 24597‐0005                                                                               First Class Mail
Voting Party                   Oak Level Presbyterian Church                                  Attn: J Logan Young, Clerk of OLPC Session   1307 Edgewood Cir                                            Halifax, VA 24558                                                    LOGANYOUNG41@GMAIL.COM              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Meadow Untied Methodist Church                             2740 Hunters Green                           San Antonio, TX 78231                                                                                                             communicationsomumc@gmail.com       Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Meadow Untied Methodist Church                             Attn: Carol Sue Luschen                      206 Rua De Matta                                             San Antonio, TX 78232                                                cgluschen@hotmail.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Oak Mountain Presbyterian Church                               Greater Alabama Council 001                  5080 Cahaba Valley Trce                                      Birmingham, AL 35242‐3627                                                                                First Class Mail
Chartered Organization         Oak Mountian Presbyterian Church                               Greater Alabama Council 001                  5080 Cahaba Valley Trce                                      Birmingham, AL 35242‐3627                                                                                First Class Mail
Voting Party                   Oak Park ‐ Temple, TX                                          c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                 erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Park ‐ Temple, TX                                          5505 S 31st St                               Temple, TX 76502                                                                                                                                                      First Class Mail
Voting Party                   Oak Park ‐ Temple, TX                                          2500 FM 935                                  Troy, TX 76579                                                                                                                                                        First Class Mail
Chartered Organization         Oak Park Elementary School                                     Central Florida Council 083                  3395 Dairy Rd                                                Titusville, FL 32796‐1511                                                                                First Class Mail
Chartered Organization         Oak Park Scouts And Venturing                                  Pathway To Adventure 456                     806 N East Ave                                               Oak Park, IL 60302‐1543                                                                                  First Class Mail
Voting Party                   Oak Park United Methodist Church                               Attn: Shawn Jenkins                          P.O. Box 383                                                 Paris, TX 75460                                                      tshawnjenkins@gmail.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Park United Methodist Church                               601 Brentwood Rd                             Bartlesville, OK 74003                                                                                                            oakparkumc@cableone.net             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Oak Park Utd Methodist Church                                  Longhorn Council 662                         5505 S 31St St                                               Temple, TX 76502‐3531                                                                                    First Class Mail
Voting Party                   Oak Park: Euclid Ave                                           Attn: Martha Scott                           405 S Euclid Ave                                             Oak Park, IL 60302                                                   revscott@euclidavenueumc.org        Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Oak Park: First                                                Attn: Karen Lynn Doty                        324 N Oak Park Ave                                           Oak Park, IL 60302                                                   pastorkatherine.oakpark@gmail.com   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Oak Ridge Heights Sch Parent Teacher Org                       Patriots Path Council 358                    Pto, School 21, Oak Ridge Hts.                               Inman Ave                            Colonia, Nj 07067                                                   First Class Mail
Chartered Organization         Oak Ridge Presbyterian Church                                  Old N State Council 070                      2614 Oak Ridge Rd                                            Oak Ridge, NC 27310‐9708                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 285 of 442
                                                                                 Case 20-10343-LSS                                    Doc 8171                                               Filed 01/06/22                                                    Page 301 of 457
                                                                                                                                                                                Exhibit B
                                                                                                                                                                                 Service List
                                                                                                                                                                          Served as set forth below

        Description                                                       Name                                                                                                Address                                                                                                                                Email              Method of Service
Chartered Organization         Oak Ridge Presbyterian Church                            Northern New Jersey Council, Bsa 333    321 Oak Ridge Rd                                                    Oak Ridge, NJ 07438                                                                                                      First Class Mail
Chartered Organization         Oak Ridge Utd Methodist Church                           Old N State Council 070                 2424 Oak Ridge Rd                                                   Oak Ridge, NC 27310‐9723                                                                                                 First Class Mail
Chartered Organization         Oak Trace Elementary PTO                                 Crossroads Of America 160               16504 Oak Ridge Rd                                                  Westfield, IN 46074‐8777                                                                                                 First Class Mail
Chartered Organization         Oakbrook Elementary School PTO                           Greater St Louis Area Council 312       510 Big Bend Rd                                                     Ballwin, MO 63021‐6587                                                                                                   First Class Mail
Chartered Organization         Oakcliff Elementary PTA                                  Atlanta Area Council 092                3151 Willow Oak Way                                                 Doraville, GA 30340‐2525                                                                                                 First Class Mail
Chartered Organization         Oakdale Baptist Church                                   Andrew Jackson Council 303              1872 Hwy 471                                                        Brandon, MS 39047‐7964                                                                                                   First Class Mail
Chartered Organization         Oakdale Community Center                                 Laurel Highlands Council 527            104 Seminary Ave                                                    Oakdale, PA 15071‐9745                                                                                                   First Class Mail
Chartered Organization         Oakdale Community Center & American                      Laurel Highlands Council 527            6115 Noblestown Rd                                                  Oakdale, PA 15071‐1347                                                                                                   First Class Mail
Chartered Organization         Oakdale Elementary School                                Coronado Area Council 192               811 E Iron Ave                                                      Salina, KS 67401‐3066                                                                                                    First Class Mail
Chartered Organization         Oakdale Elementary School Parent Group                   Black Warrior Council 006               5001 25Th St                                                        Tuscaloosa, AL 35401‐6223                                                                                                First Class Mail
Chartered Organization         Oakdale Emory Methodist Church                           National Capital Area Council 082       3425 Emory Church Rd                                                Olney, MD 20832‐2613                                                                                                     First Class Mail
Voting Party                   Oakdale Emory UMC                                        Attn: Leslie Myers                      3425 Emory Church Rd                                                Olney, MD 20832                                                                                                          First Class Mail
Chartered Organization         Oakdale Emory Utd Methodist Church                       National Capital Area Council 082       3425 Emory Church Rd                                                Olney, MD 20832‐2613                                                                                                     First Class Mail
Chartered Organization         Oakdale Lions Club                                       Greater Yosemite Council 059            P.O. Box 550                                                        Oakdale, CA 95361‐0550                                                                                                   First Class Mail
Chartered Organization         Oakdale Lions Club                                       Louisiana Purchase Council 213          607 E 7Th Ave                                                       Oakdale, LA 71463‐2722                                                                                                   First Class Mail
Chartered Organization         Oakdale Public School                                    Last Frontier Council 480               10901 N Sooner Rd                                                   Edmond, OK 73013‐8304                                                                                                    First Class Mail
Chartered Organization         Oakdale School Parent Teachers Assoc                     Dan Beard Council, Bsa 438              3850 Virginia Ct                                                    Cincinnati, OH 45248‐3212                                                                                                First Class Mail
Voting Party                   Oakdale United Methodist Church                          Attn: Michelle Grube                    15 N Main St                                                        West Boylston, MA 01583                                                                 oakdaleumc@oakdaleumc.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Oakdale Volunteer Fire Co, Inc                           Connecticut Rivers Council, Bsa 066     444 Chapel Hill Rd                                                  Oakdale, CT 06370‐1401                                                                                                   First Class Mail
Chartered Organization         Oakdale‐Bohemia Junior High School                       Suffolk County Council Inc 404          60 Oakdale Bohemia Rd                                               Oakdale, NY 11769‐1300                                                                                                   First Class Mail
Chartered Organization         Oakes American Legion                                    Northern Lights Council 429             P.O. Box 412                                                        Oakes, ND 58474‐0412                                                                                                     First Class Mail
Firm                           Oakes Law Firm                                           Mathew B. Nezhad, Esq.                  15233 Ventura Blvd. Penthouse 10                                    Sherman Oaks, CA 91403                                                                  Info@oakslawfirm.com             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Oakey Grove Baptist Church                               Georgia‐Carolina 093                    911 N Belair Rd                                                     Evans, GA 30809‐4203                                                                                                     First Class Mail
Chartered Organization         Oakfield Alabama Lions Club                              Iroquois Trail Council 376              P.O. Box 52                                                         Oakfield, NY 14125‐0052                                                                                                  First Class Mail
Chartered Organization         Oakfield Parent Teacher Org                              Bay‐Lakes Council 635                   200 White St                                                        Oakfield, WI 53065‐9782                                                                                                  First Class Mail
Chartered Organization         Oakham ‐ Congregational Church                           Heart Of New England Council 230        6 Coldbrook Rd                                                      Oakham, MA 01068                                                                                                         First Class Mail
Chartered Organization         Oakhill Elementary School                                Blue Grass Council 204                  1755 Wtlo Rd                                                        Somerset, KY 42503‐3721                                                                                                  First Class Mail
Voting Party                   Oakhurst                                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200            Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Oakhurst Community Associaton                            Three Fires Council 127                 460 Inverness Dr                                                    Aurora, IL 60504‐5270                                                                                                    First Class Mail
Chartered Organization         Oakhurst Elementary ‐ Gfwar                              Longhorn Council 662                    2700 Yucca Ave                                                      Fort Worth, TX 76111‐2532                                                                                                First Class Mail
Chartered Organization         Oakhurst Presbyterian Church Dekalb                      Atlanta Area Council 092                118 2Nd Ave                                                         Decatur, GA 30030‐3548                                                                                                   First Class Mail
Chartered Organization         Oakhurst Utd Methodist Church                            Greater Tampa Bay Area 089              13400 Park Blvd                                                     Seminole, FL 33776‐3507                                                                                                  First Class Mail
Chartered Organization         Oakland Baptist Church                                   Palmetto Council 549                    1067 Oakland Ave                                                    Rock Hill, SC 29732‐3034                                                                                                 First Class Mail
Chartered Organization         Oakland City Lions Club                                  Buffalo Trace 156                       P.O. Box 113                                                        Oakland City, IN 47660‐0113                                                                                              First Class Mail
Chartered Organization         Oakland City Lions Club                                  Buffalo Trace 156                       7228 S Division St                                                  Oakland City, IN 47660‐7747                                                                                              First Class Mail
Chartered Organization         Oakland Elementary School                                Denver Area Council 061                 4580 Dearborn St                                                    Denver, CO 80239‐5424                                                                                                    First Class Mail
Chartered Organization         Oakland Fire Dept                                        San Francisco Bay Area Council 028      250 Victory Ct                                                      Oakland, CA 94607‐4600                                                                                                   First Class Mail
Chartered Organization         Oakland First Baptist Church                             W Tennessee Area Council 559            8695 Us Hwy 64                                                      Somerville, TN 38068‐6066                                                                                                First Class Mail
Chartered Organization         Oakland Heights PTO                                      Westark Area Council 016                1501 S Detroit Ave                                                  Russellville, AR 72801‐7247                                                                                              First Class Mail
Chartered Organization         Oakland Housing Authority Police Dept                    San Francisco Bay Area Council 028      1180 25Th Ave                                                       Oakland, CA 94601‐1432                                                                                                   First Class Mail
Chartered Organization         Oakland Lions Club                                       Pine Tree Council 218                   69 Church St                                                        Oakland, ME 04963‐4940                                                                                                   First Class Mail
Chartered Organization         Oakland Machine Works                                    Alameda Council Bsa 022                 2047 San Jose Ave                                                   Alameda, CA 94501‐4324                                                                                                   First Class Mail
Chartered Organization         Oakland Mt Lake Park Lions                               Laurel Highlands Council 527            P.O. Box 92                                                         Oakland, MD 21550‐0092                                                                                                   First Class Mail
Chartered Organization         Oakland Park Elks Lodge 2407                             South Florida Council 084               240 W Prospect Rd                                                   Oakland Park, FL 33309‐3926                                                                                              First Class Mail
Chartered Organization         Oakland Presbyterian Church                              Central Florida Council 083             P.O. Box 38                                                         Oakland, FL 34760‐0038                                                                                                   First Class Mail
Voting Party                   Oakland Presbyterian Church Inc                          8927 Cleveland Rd                       Clayton, NC 27520                                                                                                                                           ewilliford@consultbsh.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Oakland Sol Middle School                                San Francisco Bay Area Council 028      1180 70Th Ave                                                       Oakland, CA 94621‐3216                                                                                                   First Class Mail
Voting Party                   Oakland UMC                                              Attn: Treasurer                         234 Trigonia Rd                                                     Greenback, TN 37742                                                                     pastor@oaklandumcgreenback.com   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Oakland United Methodist Church                          Attn: Annet Lofton                      9656 Scale Rd                                                       Benton, KY 42025                                                                        pelofton@gmail.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Oakland United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200            Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Oakland United Methodist Church                          801 NE Chester Ave                      Topeka, KS 66616                                                                                                                                                                             First Class Mail
Voting Party                   Oakland United Methodist Church (98040)                  c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200          Pittsburgh, PA 15228                                lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Oakland Utd Methodist Church                             Great Smoky Mountain Council 557        234 Trigonia Rd                                                     Greenback, TN 37742‐2046                                                                                                 First Class Mail
Chartered Organization         Oakland Utd Methodist Church                             Jayhawk Area Council 197                801 Ne Chester Ave                                                  Topeka, KS 66616‐1352                                                                                                    First Class Mail
Chartered Organization         Oakland Vol Fire & Rescue Dept                           Mid‐America Council 326                 500 N Oakland Ave                                                   Oakland, NE 68045‐1137                                                                                                   First Class Mail
Chartered Organization         Oakland/Mt Lake Park Lions Club                          Laurel Highlands Council 527            P.O. Box 92                                                         Oakland, MD 21550‐0092                                                                                                   First Class Mail
Chartered Organization         Oaklands Utd Presbyterian                                National Capital Area Council 082       14301 Laurel Bowie Rd                                               Laurel, MD 20708                                                                                                         First Class Mail
Voting Party                   Oakland‐Sidney UMC                                       Sungmin Jeon                            20 W School St                                                      Oakland, ME 04963                                                                       smj0301@gmail.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Oakland‐Sidney United Methodist Church                   Attn: Treasurer, Oakland‐Sidney UMC     P.O. BOX 145                                                        Oakland, ME 04963                                                                       oakstreasurer14@gmail.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Oaklawn Elementary ‐ Gifw                                Longhorn Council 662                    1608 Quails Nest Dr                                                 Fort Worth, TX 76177‐7542                                                                                                First Class Mail
Chartered Organization         Oaklawn Language Academy                                 Mecklenburg County Council 415          1810 Oaklawn Academy                                                Charlotte, NC 28216                                                                                                      First Class Mail
Voting Party                   Oaklawn United Methodist                                 Attn: Kristi Vallee                     216 Higdon Ferry Rd                                                 Hot Springs, AR 71913                                                                   lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Oaklawn Utd Methodist Church                             Quapaw Area Council 018                 216 Higdon Ferry Rd                                                 Hot Springs, AR 71913‐5235                                                                                               First Class Mail
Chartered Organization         Oakleaf Baptist Church                                   North Florida Council 087               800 Oakleaf Plantation Pkwy                                         Orange Park, FL 32065‐3530                                                                                               First Class Mail
Chartered Organization         Oakleaf Plantation Civic Assoc                           North Florida Council 087               1797 Royal Fern Ln                                                  Fleming Island, FL 32003‐7081                                                                                            First Class Mail
Voting Party                   Oaklette UMC                                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200            Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Oakley 1St Ward ‐ Oakley Stake                           Snake River Council 111                 301 N Center St                                                     Oakley, ID 83346                                                                                                         First Class Mail
Chartered Organization         Oakley 2Nd Ward ‐ Oakley Stake                           Snake River Council 111                 301 N Center St                                                     Oakley, ID 83346                                                                                                         First Class Mail
Chartered Organization         Oakley 3Rd Ward ‐ Oakley Stake                           Snake River Council 111                 301 N Center St                                                     Oakley, ID 83346                                                                                                         First Class Mail
Chartered Organization         Oakley Stake ‐ Grouse Creek Ward                         Snake River Council 111                 P.O. Box 13                                                         Grouse Creek, UT 84313‐0013                                                                                              First Class Mail
Chartered Organization         Oakman Ffa                                               Black Warrior Council 006               P.O. Box 286                                                        Oakman, AL 35579‐0286                                                                                                    First Class Mail
Chartered Organization         Oakman Fire And Rescue                                   Black Warrior Council 006               P.O. Box 113                                                        Oakman, AL 35579‐0113                                                                                                    First Class Mail
Chartered Organization         Oakmont Chapel Presbyterian Church                       Greater Alabama Council 001             1817 Patton Chapel Rd                                               Hoover, AL 35226‐3351                                                                                                    First Class Mail
Chartered Organization         Oakmont Presbyterian Church                              Laurel Highlands Council 527            415 Pennsylvania Ave                                                Oakmont, PA 15139‐1562                                                                                                   First Class Mail
Voting Party                   Oakmont United Methodist Church (101321)                 c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                              680 Washington Rd, Ste 200          Pittsburgh, PA 15228                                lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Oakridge Elementary School PTO                           Northern Star Council 250               4350 Johnny Cake Ridge Rd                                           Eagan, MN 55122‐2220                                                                                                     First Class Mail
Chartered Organization         Oakridge Presbyterian                                    Northern New Jersey Council, Bsa 333    3 Scenic Dr                                                         Oak Ridge, NJ 07438‐8822                                                                                                 First Class Mail
Voting Party                   Oakridge United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200            Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Oaks Christian Church                                    Sam Houston Area Council 576            1216 Bethlehem St                                                   Houston, TX 77018‐1918                                                                                                   First Class Mail
Chartered Organization         Oaks Presbyterian Church                                 Sam Houston Area Council 576            1576 Chantilly Ln                                                   Houston, TX 77018‐4149                                                                                                   First Class Mail
Voting Party                   Oakurst                                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200            Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Oakville Elementary PTO                                  Greater St Louis Area Council 312       2911 Yaeger Rd                                                      St Louis, MO 63129‐2436                                                                                                  First Class Mail
Chartered Organization         Oakville Middle School                                   Greater St Louis Area Council 312       5950 Telegraph Rd                                                   St Louis, MO 63129‐4716                                                                                                  First Class Mail
Voting Party                   Oakville United Methodist Church                         Attn: Mary Campbell                     P.O. Box 98                                                         Oakville, IA 52646                                                                      oakvillemethodist@gmail.com      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Oakwood Heights Commty                                   Congregational Church                   Greater New York Councils, Bsa 640                                  345 Guyon Ave                       Community Church          Staten Island, Ny 10306                                    First Class Mail
Chartered Organization         Oakwood Heights Community Church                         Greater New York Councils, Bsa 640      345 Guyon Ave                                                       Staten Island, NY 10306                                                                                                  First Class Mail
Chartered Organization         Oakwood PTO                                              Bay‐Lakes Council 635                   1225 N Oakwood Rd                                                   Oshkosh, WI 54904‐8456                                                                                                   First Class Mail
Voting Party                   Oakwood United Methodist Church                          Attn: Lori L Reiber                     206 E Hadley Ave                                                    Oakwood, OH 45419                                                                       pastorlori.oumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Oakwood Utd Methodist Church                             Prairielands 117                        Oakwood Rd & Collett                                                Oakwood, IL 61858                                                                                                        First Class Mail
Chartered Organization         Oasis Charter Elementary School                          Southwest Florida Council 088           3507 Oasis Blvd                                                     Cape Coral, FL 33914‐4914                                                                                                First Class Mail
Chartered Organization         Oasis Charter Middle School                              Southwest Florida Council 088           3507 Oasis Blvd                                                     Cape Coral, FL 33914‐4914                                                                                                First Class Mail
Chartered Organization         Obama Academy                                            Circle Ten Council 571                  4430 S Lancaster Rd                                                 Dallas, TX 75216                                                                                                         First Class Mail
Chartered Organization         Oberlin Fire Dept                                        Lake Erie Council 440                   430 S Main St                                                       Oberlin, OH 44074‐1748                                                                                                   First Class Mail
Chartered Organization         Oberlin Police Dept                                      Lake Erie Council 440                   85 S Main St                                                        Oberlin, OH 44074‐1603                                                                                                   First Class Mail
Chartered Organization         Oberlin Vfw Post 6273                                    Lake Erie Council 440                   42369 Oberlin Elyria Rd                                             Elyria, OH 44035‐7415                                                                                                    First Class Mail
Voting Party                   Oblong Central United Methodist Church                   Attn: Fredrick P Wheeler                P.O. Box 58                                                         112 N Range St                      Oblong, IL 62449                                    fwheeler@oblongschools.net       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Oboz Footware LLC                                        P.O. Box 11365                          Bozeman, MT 59719‐1365                                                                                                                                                                       First Class Mail
Firm                           O'Brien & Ford, PC                                       Jennifer Liakos                         1611 S. Pacific Coast Highway, Ste 200D                             Redondo Beach, CA 90277                                                                 jliakos@obrienandford.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Obsidian Inc                                             Occoneechee 421                         8404 Six Forks Rd Ste 101                                           Raleigh, NC 27615‐3073                                                                                                   First Class Mail
Chartered Organization         Ocala Community Of Christ                                North Florida Council 087               2402 Ne 28Th St                                                     Ocala, FL 34470‐3804                                                                                                     First Class Mail
Voting Party                   Ocala First United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200            Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ocala Group Of Concerned Citizens                        North Florida Council 087               3391 Se 38Th St                                                     Ocala, FL 34480‐8454                                                                                                     First Class Mail
Chartered Organization         Ocala Police Dept                                        North Florida Council 087               402 S Pine Ave                                                      Ocala, FL 34471‐1174                                                                                                     First Class Mail
Chartered Organization         Ocala Scottish Rite                                      North Florida Council 087               3632 Ne 7Th St                                                      Ocala, FL 34470‐1046                                                                                                     First Class Mail
Voting Party                   Ocala West UMC                                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200            Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Occoneachee council                                      Attn: Charles L Flowers                 3231 Atlantic Ave                                                   Raleigh, NC 27604                                                                       Charles.flowers@scouting.org     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ocean Academy Charter School                             Jersey Shore Council 341                678 5Th St                                                          Lakewood, NJ 08701‐2764                                                                                                  First Class Mail
Chartered Organization         Ocean County Y M C A                                     Jersey Shore Council 341                1088 W Whitty Rd                                                    Toms River, NJ 08755‐3278                                                                                                First Class Mail
Chartered Organization         Ocean Drive Presbyterian Church                          Pee Dee Area Council 552                410 6Th Ave S                                                       North Myrtle Beach, SC 29582‐3306                                                                                        First Class Mail
Chartered Organization         Ocean Shores Lions Club                                  Pacific Harbors Council, Bsa 612        832 Ocean Shores Blvd                                               Ocean Shores, WA 98569                                                                                                   First Class Mail
Chartered Organization         Ocean Spray Cranberries, Inc                             Samoset Council, Bsa 627                3130 Industrial St                                                  Wisconsin Rapids, WI 54495‐3235                                                                                          First Class Mail
Chartered Organization         Ocean Township Police                                    Monmouth Council, Bsa 347               399 Monmouth Rd                                                     Oakhurst, NJ 07755‐1550                                                                                                  First Class Mail
Chartered Organization         Oceanport Hook And Ladder Fire Co                        Monmouth Council, Bsa 347               21 Main St                                                          Oceanport, NJ 07757‐1107                                                                                                 First Class Mail
Chartered Organization         Oceanport PTO                                            c/o Maple Pl School                     Monmouth Council, Bsa 347                                           24 Maple Pl                         Oceanport, NJ 07757                                                                  First Class Mail
Chartered Organization         Oceanside Elks Lodge 1561                                San Diego Imperial Council 049          444 Country Club Ln                                                 Oceanside, CA 92054‐3441                                                                                                 First Class Mail
Chartered Organization         Oceanside Elks Lodge 1561                                San Diego Imperial Council 049          444 Country Club Ln                                                 Oceanside, CA 92054‐3441                                                                                                 First Class Mail
Chartered Organization         Oceanside Police Dept                                    San Diego Imperial Council 049          3855 Mission Ave                                                    Oceanside, CA 92058‐1882                                                                                                 First Class Mail
Voting Party                   Oceanview                                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200            Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Oceanview                                                701 Ocean Dr                            Juno Beach, FL 33408                                                                                                                                                                         First Class Mail
Voting Party                   Ocilla United Methodist Church                           Attn: James Allan Smith, Treasurer      101 S Beech St                                                      P.O. Box 61                         Ocilla, GA 31774                                    ocillaumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ocilla Utd Methodist Church                              South Georgia Council 098               P.O. Box 166                                                        Ocilla, GA 31774‐0166                                                                                                    First Class Mail
Chartered Organization         Ockanickon Scout Reservation                             Washington Crossing Council 777         5787 State Park Rd                                                  Pipersville, PA 18947‐1501                                                                                               First Class Mail
Chartered Organization         Ocmulgee Baptist Church                                  Central Georgia Council 096             117 Ocmulgee Church Rd                                              Eastman, GA 31023                                                                                                        First Class Mail
Chartered Organization         Ocoee Lions Club                                         Central Florida Council 083             P.O. Box 538                                                        Ocoee, FL 34761‐0538                                                                                                     First Class Mail
Voting Party                   Ocoee Oaks                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200            Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Ocoee Oaks Utd Methodist Church                          Central Florida Council 083             201 S Clarke Rd                                                     Ocoee, FL 34761‐9014                                                                                                     First Class Mail
Chartered Organization         O'Connor Doyle American Legion Post 633                  Hudson Valley Council 374               P.O. Box 15                                                         Highland Falls, NY 10928‐0015                                                                                            First Class Mail
Chartered Organization         Oconto Falls Lioness Club                                Bay‐Lakes Council 635                   P.O. Box 94                                                         Oconto Falls, WI 54154‐0094                                                                                              First Class Mail
Chartered Organization         Ocotillo Ridge PTA                                       Catalina Council 011                    10170 S White Lightning Ln                                          Vail, AZ 85641‐6163                                                                                                      First Class Mail
Voting Party                   Ocran United Methodist Church                            Attn: Administrative Assistant          P.O. Box 309                                                        Sutherland, VA 23885                                                                    ocranumc@verizon.net             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Ocran United Methodist Church                            Attn: John Bailey                       3028 Oxford Dr                                                      Sutherland, VA 23885                                                                    jmbailey111@aol.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Odd Fellows                                              Northern Lights Council 429             1609 Lewis Blvd                                                     Grand Forks, ND 58203‐1638                                                                                               First Class Mail
Chartered Organization         Odd Fellows ‐ Salem Lodge 36                             Old Hickory Council 427                 315 N Spruce St Ste 250                                             Winston Salem, NC 27101‐2793                                                                                             First Class Mail
Chartered Organization         Odd Fellows (IOOF) 48                                    Greater St Louis Area Council 312       P.O. Box 21                                                         Farmington, MO 63640‐0021                                                                                                First Class Mail
Chartered Organization         Odd Fellows Lodge 191                                    Dan Beard Council, Bsa 438              202 Main St                                                         Milford, OH 45150‐1124                                                                                                   First Class Mail
Chartered Organization         Odd Fellows Lodge 71                                     Mayflower Council 251                   330 W Central St                                                    Franklin, MA 02038‐2155                                                                                                  First Class Mail
Chartered Organization         Odd Fellows Queen City Lodge 12                          Ozark Trails Council 306                2842 W Chestnut Expy                                                Springfield, MO 65802‐4632                                                                                               First Class Mail
Chartered Organization         Odd Fellows Tri‐County Lodge 40                          Glaciers Edge Council 620               131 W James St                                                      Columbus, WI 53925‐1570                                                                                                  First Class Mail
Firm                           Oddo & Babat, PC                                         Darren Sellback                         8 West 38th Street, 10th FI                                         New York, NY 10018                                                                      ds@oddobabat.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Odell E Scott                                            Address Redacted                                                                                                                                                                                                                     First Class Mail
Voting Party                   Odenton Lodge No209 AF & AM of Maryland                  Attn: Fred Rossmark                     1206 Stehlik Dr                                                     Odenton, MD 21113                                                                       fred@rossmark.net                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Odenton Lodge No209 AF & AM of Maryland                  Attn: Frederick T Rossmark Jr           306 Braeburn Glen Ct                                                Millersville, MD 21108                                                                  fred@rossmark.net                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Odenton Masonic Lodge 209 Af&Am                          Baltimore Area Council 220              1206 Stehlik Dr                                                     Odenton, MD 21113‐2798                                                                                                   First Class Mail
Voting Party                   Odenville First UMC                                      Attn: Rev James Haskins                 972 Blue Ridge Way                                                  Odenville, AL 35120                                                                     james.haskins@umcna.org          Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Odenwalder Dental Inc                                    San Diego Imperial Council 049          3935 Mission Ave Ste 9                                              Oceanside, CA 92058‐7802                                                                                                 First Class Mail
Chartered Organization         Odessa Downtown Lions Club                               Buffalo Trail Council 567               7121 Sleepy Hollow St                                               Odessa, TX 79762‐9409                                                                                                    First Class Mail
Chartered Organization         Odessa Fire Dept                                         Five Rivers Council, Inc 375            300 E Main St                                                       Odessa, NY 14869‐9628                                                                                                    First Class Mail
Chartered Organization         Odessa First Utd Methodist Church                        Heart Of America Council 307            303 S 1St St                                                        Odessa, MO 64076‐1501                                                                                                    First Class Mail
Voting Party                   Odessa‐Catharine United Methodist Church                 Attn: Church Treasurer                  305 Church St, P.O. Box 203                                         Odessa, NY 14869                                                                        sprice518@aol.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Odon Lions Club                                          Hoosier Trails Council 145 145          103 Lake Dr                                                         Odon, IN 47562‐1135                                                                                                      First Class Mail
Chartered Organization         O'Donnell Heights Boys And Girl's Club                   Baltimore Area Council 220              1200 Gusryan St                                                     Baltimore, MD 21224‐5548                                                                                                 First Class Mail
Voting Party                   Odway United Methodist Church                            Attn: Sheila Thruston                   403 Main                                                            Ordway, CO 81063                                                                        s_thruston@hotmail.com           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Odyssey Elementary School PTA                            Pikes Peak Council 060                  6275 Bridle Spur Ave                                                Colorado Springs, CO 80922‐2986                                                                                          First Class Mail
Voting Party                   Odyssey Marketing Corp                                   P.O. Box 1036                           Charlotte, NC 28201‐1036                                                                                                                                                                     First Class Mail
Chartered Organization         Odyssey Preparatory Academy                              Grand Canyon Council 010                6500 S Apache Rd                                                    Buckeye, AZ 85326‐1528                                                                                                   First Class Mail
Chartered Organization         Odyssey Preparatory Academy                              Grand Canyon Council 010                1495 S Verrado Way                                                  Buckeye, AZ 85326‐9215                                                                                                   First Class Mail
Chartered Organization         O'Fallon Fire Dept                                       Greater St Louis Area Council 312       P.O. Box 332                                                        O Fallon, IL 62269‐0332                                                                                                  First Class Mail
Chartered Organization         O'Fallon Police Dept                                     Greater St Louis Area Council 312       285 N 7 Hills Rd                                                    O Fallon, IL 62269‐4110                                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                 Page 286 of 442
                                                                                    Case 20-10343-LSS                                                   Doc 8171                                    Filed 01/06/22                                                     Page 302 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                          Name                                                                                                    Address                                                                                                               Email                 Method of Service
Chartered Organization         O'Fallon Police Dept                                        Greater St Louis Area Council 312                      100 N Main St                                            O Fallon, MO 63366‐2200                                                                                    First Class Mail
Chartered Organization         O'Fallon Rotary Club                                        Greater St Louis Area Council 312                      P.O. Box 976                                             O Fallon, IL 62269‐0976                                                                                    First Class Mail
Chartered Organization         Ofallon Sportsmens Club                                     Greater St Louis Area Council 312                      1024 Scott Troy Rd                                       Lebanon, IL 62254‐1914                                                                                     First Class Mail
Chartered Organization         Ofallon Utd Church Of Christ                                Greater St Louis Area Council 312                      206 W Adams St                                           O Fallon, IL 62269‐1103                                                                                    First Class Mail
Voting Party                   OFD Foods LLC                                               15913 Collections Center Dr                            Chicago, IL 60693                                                                                                              AR@OFD.COM                           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   OFD Foods LLC                                               Attn: Christine Marie Young                            252 25th Ave                                             Albany, OR 97321                                                                                           First Class Mail
Voting Party                   OFD Foods LLC                                               Attn: Christine M Young                                525 25th Ave                                             Albany, OR 97321                                                                                           First Class Mail
Voting Party                   Office Deopt, Inc                                           P.O. Box 633211                                        Cincinnati, OH 45263‐3211                                                                                                                                           First Class Mail
Voting Party                   Office Depot                                                P.O. Box 660113                                        Dallas, TX 75266‐0113                                                                                                                                               First Class Mail
Voting Party                   Office Depot Inc                                            P.O. Box 1413                                          Charlotte, NC 28201‐1413                                                                                                                                            First Class Mail
Chartered Organization         Office, Special Narcotics Prosecutor                        Greater New York Councils, Bsa 640                     80 Centre St                                             New York, NY 10013‐4306                                                                                    First Class Mail
Chartered Organization         Og Moorehouse Post 61 American Legion                       Daniel Webster Council, Bsa 330                        8 Steeple St                                             Milton, NH 03851                                                                                           First Class Mail
Chartered Organization         Og Moorehouse Post 61‐American Legion                       Daniel Webster Council, Bsa 330                        Milton Nh                                                Milton, NH 03851                                                                                           First Class Mail
Chartered Organization         Ogallala Optimist                                           Overland Trails 322                                    619 W C St                                               Ogallala, NE 69153‐2001                                                                                    First Class Mail
Chartered Organization         Ogden Copes Course                                          Trapper Trails 589                                     1200 E 5400 S                                            Ogden, UT 84403‐4527                                                                                       First Class Mail
Chartered Organization         Ogden Engine Co                                             Westchester Putnam 388                                 203 Ashford Ave                                          Dobbs Ferry, NY 10522‐1923                                                                                 First Class Mail
Voting Party                   Ogden Hillcrest UMC                                         Attn: Joyce K Allen                                    1061 Chenango St                                         Binghamton, NY 13901                                                  revjoyceallen@gmail.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ogden Lions Club                                            Attn: John Emerson                                     619 W Division St                                        Ogden, IA 50212‐3020                                                                                       First Class Mail
Voting Party                   Ogden Memorial Presbyterian Church                          Attn: George Conrad Jones                              286 Main St                                              Chatham, NJ 07928                                                     gcjones4@verizon.net                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Ogden Memorial Presbyterian Church                          286 Main St                                            Chatham, NJ 07928                                                                                                              gcjones4@verizon.net                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Ogden Memorial United Methodist Church                      Attn: Shelley Caulder Jr                               305 W Main St                                            Princeton, KY 42445                                                   shelleycaulder2@gmail.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ogden Presbyterian Church                                   Christian Education Committee                          2400 S Union St                                          Spencerport, NY 14559‐2226                                                                                 First Class Mail
Chartered Organization         Ogden Utd Church Of Christ                                  Trapper Trails 589                                     3350 Harrison Blvd                                       Ogden, UT 84403‐1229                                                                                       First Class Mail
Voting Party                   Ogdensburg 1st United Methodist Church                      Attn: Donna Lynn Fitchette                             623 Caroline St                                          Ogdensburg, NY 13669                                                  missuaprilsue@hotmail.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ogdensburg First Utd Methodist Church                       Longhouse Council 373                                  627 Caroline St                                          Ogdensburg, NY 13669‐2605                                                                                  First Class Mail
Voting Party                   Ogdensburg UMC                                              Attn: Donna Fitchette                                  623 Caroline St                                          Ogdensburg, NY 13669                                                  missuaprilsue@hotmail.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Oglesby Volunteer Fire Dept                                 Longhorn Council 662                                   2090 County Rd 303                                       Oglesby, TX 76561‐2054                                                                                     First Class Mail
Chartered Organization         Oglethorpe County Rotary Club                               Northeast Georgia Council 101                          P.O. Box 403                                             Lexington, GA 30648‐0403                                                                                   First Class Mail
Chartered Organization         Oglethorpe County Rotary Club                               Northeast Georgia Council 101                          P.O. Box 406                                             Lexington, GA 30648‐0406                                                                                   First Class Mail
Chartered Organization         Ohana                                                       San Francisco Bay Area Council 028                     2443 Fillmore St, Ste 458                                San Francisco, CA 94115‐1814                                                                               First Class Mail
Chartered Organization         Ohara Catholic School                                       Oregon Trail Council 697                               715 W 18Th Ave                                           Eugene, OR 97402‐4028                                                                                      First Class Mail
Chartered Organization         Ohev Shalom ‐ The National Synagogue                        National Capital Area Council 082                      1600 Jonquil St Nw                                       Washington, DC 20012‐1108                                                                                  First Class Mail
Chartered Organization         Ohio Ave Elementary School PTO                              Simon Kenton Council 441                               505 S Ohio Ave                                           Columbus, OH 43205‐2720                                                                                    First Class Mail
Chartered Organization         Ohio City Inc                                               Lake Erie Council 440                                  3308 Lorain Ave                                          Cleveland, OH 44113‐3700                                                                                   First Class Mail
Chartered Organization         Ohio Construction Academy                                   Simon Kenton Council 441                               1725 Jetway Blvd                                         Columbus, OH 43219‐1674                                                                                    First Class Mail
Voting Party                   Ohio Dept of Taxation Bankruptcy Division                   Attn: Rebecca Daum                                     P.O. Box 530                                             Columbus, OH 43216                                                    bankruptcydivision@tax.state.oh.us   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Ohio Dept of Taxation Bankruptcy Division                   c/o Attorney General of the State of Ohio              150 E. Gay St, 21st Fl                                   Columbus, OH 43215                                                                                         First Class Mail
Chartered Organization         Ohio River Valley Council                                   Ohio River Valley Council 619                          P.O. Box 6186                                            Wheeling, WV 26003‐0716                                                                                    First Class Mail
Chartered Organization         Ohio State School For The Blind                             Simon Kenton Council 441                               5220 N High St                                           Columbus, OH 43214‐1240                                                                                    First Class Mail
Voting Party                   Ohio UMC (00188868)                                         c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ohio Utd Presbyterian Church                                Laurel Highlands Council 527                           1236 Longvue Ave                                         Aliquippa, PA 15001‐4519                                                                                   First Class Mail
Chartered Organization         Ohmer Park Utd Methodist Church                             Miami Valley Council, Bsa 444                          1357 Arbor Ave                                           Dayton, OH 45420‐1908                                                                                      First Class Mail
Chartered Organization         OHMH American Legion Post 84                                Katahdin Area Council 216                              P.O. Box 256                                             Orono, ME 04473‐0256                                                                                       First Class Mail
Chartered Organization         Oil Tech Energy Co                                          Transatlantic Council, Bsa 802                         P.O. Box 26772                                           Safat, 13128                      Kuwait                                                                   First Class Mail
Voting Party                   Ojai United Methodist Church                                Attn: Jaime Lyn Nieves                                 120 Church St                                            Ojai, CA 93023                                                        ojaiumc@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Okaloosa County Sheriff's Office                            Gulf Coast Council 773                                 Courthouse Annex                                         Shalimar, FL 32579                                                                                         First Class Mail
Chartered Organization         Okaloosa Stemm Academy PTO                                  Gulf Coast Council 773                                 379 Edge Ave                                             Valparaiso, FL 32580‐1033                                                                                  First Class Mail
Chartered Organization         Okauchee Lions Club                                         Potawatomi Area Council 651                            412 Wisconsin Ave                                        Okauchee, WI 53069                                                                                         First Class Mail
Chartered Organization         Okc River Sports                                            Last Frontier Council 480                              725 S Lincoln Blvd                                       Oklahoma City, OK 73129‐4430                                                                               First Class Mail
Chartered Organization         Okeana Utd Methodist Church                                 Dan Beard Council, Bsa 438                             6479 Okeana Drewersburg Rd                               Okeana, OH 45053                                                                                           First Class Mail
Chartered Organization         Okeechobee AL Memorial Post 64                              Gulf Stream Council 085                                501 Se 2Nd St                                            Okeechobee, FL 34974‐4407                                                                                  First Class Mail
Chartered Organization         Okeechobee Memorial AL Post 64                              Gulf Stream Council 085                                501 Se 2Nd St                                            Okeechobee, FL 34974‐4407                                                                                  First Class Mail
Chartered Organization         Okemos Community Church                                     Water And Woods Council 782                            4734 Okemos Rd                                           Okemos, MI 48864‐1637                                                                                      First Class Mail
Voting Party                   Okemos Community Church                                     Attn: Rick Blunt                                       P.O. Box 680                                             4734 Okemos Rd                    Okemos, MI 48805                    office@okemosocc.org                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Okemos Kiwanis Club                                         Water And Woods Council 782                            2222 Riverwood Dr                                        Okemos, MI 48864‐3221                                                                                      First Class Mail
Chartered Organization         Okemos Masonic Lodge                                        Water And Woods Council 782                            2175 Hamilton Rd                                         Okemos, MI 48864‐1643                                                                                      First Class Mail
Chartered Organization         Oklahoma City Fire Dept                                     Last Frontier Council 480                              820 Nw 5Th St                                            Oklahoma City, OK 73106‐7425                                                                               First Class Mail
Voting Party                   Oklahoma City First United Methodist Church                 Attn: Finance Secretary                                131 NW 4th St                                            Oklahoma City, OK 73102                                                                                    First Class Mail
Chartered Organization         Oklahoma County Sheriff                                     Last Frontier Council 480                              201 N Shartel Ave                                        Oklahoma City, OK 73102‐2227                                                                               First Class Mail
Voting Party                   Oklahoma Tax Commission                                     General Counsel's Office                               Attn: Sean McFarland                                     100 N Broadway Ave, Ste 1500      Oklahoma City, OK 73102             bankruptcy@tax.ok.gov                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Okolona Elementary School                                   Lincoln Heritage Council 205                           7606 Preston Hwy                                         Louisville, KY 40219‐3137                                                                                  First Class Mail
Chartered Organization         Olalla Bible Church                                         Chief Seattle Council 609                              13053 Olalla Valley Rd Se                                Olalla, WA 98359‐9759                                                                                      First Class Mail
Chartered Organization         Olalla Grange 1125                                          Chief Seattle Council 609                              7554 Se Fragaria Rd                                      Olalla, WA 98359                                                                                           First Class Mail
Chartered Organization         Olathe Christian Church                                     Heart Of America Council 307                           1115 S Ridgeview Rd                                      Olathe, KS 66062‐2238                                                                                      First Class Mail
Chartered Organization         Olathe Fire Explorer Post                                   Heart Of America Council 307                           1225 S Hamilton Cir                                      Olathe, KS 66061‐5372                                                                                      First Class Mail
Chartered Organization         Olathe Police Dept                                          Heart Of America Council 307                           501 E Hwy 56                                             Olathe, KS 66061‐4639                                                                                      First Class Mail
Voting Party                   Olcott UMC                                                  Attn: Brian Scott Pastor Olcott UMC                    5956 Main St                                             P.O. Box 24                       Olcott, NY 14126                    olcottmethodist@gmail.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Old Bethel United Methodist Church, Inc                     Attn: Margaret Ann Ferry                               7995 E 21st St                                           Indianapolis, IN 46219                                                info@oldbethel.org                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old Brick Reformed Church                                   Monmouth Council, Bsa 347                              490 County Rd 520                                        Marlboro, NJ 07746‐1042                                                                                    First Class Mail
Chartered Organization         Old Bridge Columbian Club                                   Monmouth Council, Bsa 347                              P.O. Box 183                                             Old Bridge, NJ 08857‐0183                                                                                  First Class Mail
Voting Party                   Old Bridge UMC Woodbridge                                   c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old Bridge Utd Methodist Church                             National Capital Area Council 082                      3966 Old Bridge Rd                                       Woodbridge, VA 22192‐5006                                                                                  First Class Mail
Voting Party                   Old Capitol United Methodist Church Inc                     Attn: Treasurer Belinda Smith                          141 Heidelberg Rd W                                      Corydon, IN 47112                                                     ocumc141@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Old Church UMC Mattaponi                                    c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old Cowtown Museum                                          Quivira Council, Bsa 198                               1865 W Museum Blvd                                       Wichita, KS 67203‐3600                                                                                     First Class Mail
Voting Party                   Old Donation Episcopal Church                               Attn: Robert Randall                                   4449 N Witchduck Rd                                      Virginia Beach, VA 23455                                              odec@olddonation.org                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old First Methodist Church                                  Monmouth Council, Bsa 347                              207 Locust Ave                                           West Long Branch, NJ 07764‐1112                                                                            First Class Mail
Voting Party                   Old First UMC in West Long Beach                            c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old Goshenhopen Utd Church Of Christ                        Cradle Of Liberty Council 525                          P.O. Box 44                                              Woxall, PA 18979‐0044                                                                                      First Class Mail
Chartered Organization         Old Greenwich Presbyterian Church                           Minsi Trails Council 502                               17 Greenwich Church Rd                                   Stewartsville, NJ 08886‐2515                                                                               First Class Mail
Chartered Organization         Old Hickory Community Center                                Middle Tennessee Council 560                           1050 Donelson Ave                                        Old Hickory, TN 37138‐3111                                                                                 First Class Mail
Voting Party                   Old Hickory United Methodist Church                         Attn: Kay Hereford Voorhees                            1216 Hadley Ave                                          Old Hickory, TN 37138                                                 kherefordv@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Old Hickory United Methodist Church                         Attn: Treasurer, Old Hickory United Methodist Church   1216 Hadley Ave                                          Old Hickory, TN 37138                                                 kay.hereford.voorhees@tnumc.com      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Old Miakka                                                  c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old Mill Home & School Assoc                                Monmouth Council, Bsa 347                              2119 Old Mill Rd                                         Sea Girt, NJ 08750‐1202                                                                                    First Class Mail
Voting Party                   Old Mission United Methodist Church, Inc ‐ Fairway          c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Old Mission United Methodist Church, Inc ‐ Fairway          5519 State Park Rd                                     Fairway, KS 66205                                                                                                                                                   First Class Mail
Chartered Organization         Old Mission Utd Methodist Church                            Heart Of America Council 307                           5519 State Park Rd                                       Fairway, KS 66205‐2664                                                                                     First Class Mail
Voting Party                   Old Mystic United Methodist                                 Attn: Jean Louise Marsh                                44 Main St                                               Old Mystic, CT 06327                                                  j.l.marsh@hotmail.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Old Mystic United Methodist                                 Attn: Dan Holman                                       35 Winchester Hill                                       Stonington, CT 06378                                                  danny_m_holman@sbcglobal.net         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old National Bank Rockville                                 Crossroads Of America 160                              P.O. Box 167                                             Rockville, IN 47872‐0167                                                                                   First Class Mail
Chartered Organization         Old North Confluence                                        Greater St Louis Area Council 312                      3017 N 13Th St                                           St Louis, MO 63107‐3924                                                                                    First Class Mail
Voting Party                   Old North State Council                                     Attn: Ed Martin                                        1405 Westover Ter                                        Greensboro, NC 27408                                                  ed.martin@scouting.org               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Old North United Methodist Church, Inc                      4201 Stringtown Rd                                     Evansville, IN 47711                                                                                                           bsalmon@twc.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Old Orchard Beach United Methodist Church                   Attn: Russel Tremblay, Old Orchard Beach UM church     P.O. Box K                                               Old Orchard Beach, ME 04064                                           bcuzimruss@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old Paramus Reform Church                                   Northern New Jersey Council, Bsa 333                   660 E Len Ave                                            Ridgewood, NJ 07450                                                                                        First Class Mail
Chartered Organization         Old Pine St Presbyterian Church                             Cradle Of Liberty Council 525                          412 Pine St                                              Philadelphia, PA 19106‐4214                                                                                First Class Mail
Chartered Organization         Old Plank Road Baptist Church                               North Florida Council 087                              8964 Old Plank Rd                                        Jacksonville, FL 32220‐1439                                                                                First Class Mail
Chartered Organization         Old Point Comfort Yacht Club                                Colonial Virginia Council 595                          P.O. Box 3369                                            Hampton, VA 23663‐0369                                                                                     First Class Mail
Chartered Organization         Old Redford Academy Middle School PTA                       Great Lakes Fsc 272                                    22122 W Mcnichols Rd                                     Detroit, MI 48219‐3245                                                                                     First Class Mail
Chartered Organization         Old River Youth Foundation                                  Greater Los Angeles Area 033                           P.O. Box 2168                                            Downey, CA 90242‐0168                                                                                      First Class Mail
Chartered Organization         Old Saratoga Post 278 American Legion                       Twin Rivers Council 364                                6 Clancy St                                              Schuylerville, NY 12871‐1331                                                                               First Class Mail
Chartered Organization         Old School Troop 3510                                       Middle Tennessee Council 560                           P.O. Box 666                                             Spring Hill, TN 37174‐0666                                                                                 First Class Mail
Chartered Organization         Old South Presbyterian Church                               The Spirit Of Adventure 227                            29 Federal St                                            Newburyport, MA 01950‐2816                                                                                 First Class Mail
Chartered Organization         Old South Union Church Ucc                                  Mayflower Council 251                                  25 Columbian St                                          Weymouth, MA 02190‐2414                                                                                    First Class Mail
Voting Party                   Old South United Methodist Church                           Attn: Rev Jamie Michaels                               6 Salem St                                               Reading, MA 01867                                                     pastor@oldsouthumc.org               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old South Utd Church Of Christ                              Lake Erie Council 440                                  9802 Chillicothe Rd                                      Kirtland, OH 44094‐9712                                                                                    First Class Mail
Voting Party                   Old St Andrew's Church (New London)                         c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                    159 Main St                       Nashua, NH 03060                    peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old St Andrew's Parish Church                               Coastal Carolina Council 550                           2604 Ashley River Rd                                     Charleston, SC 29414‐4607                                                                                  First Class Mail
Voting Party                   Old Stone Church Reading Vermont                            Attn: Christian Huebner                                4756 Rt 106                                              Reading, VT 05062                                                     rev.chuebner@gmail.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Old Stone Church Reading Vermont                            Attn: Christian Huebner                                Reading Tyson Rd                                         Reading, VT 05062                                                     rev.chuebner@gmail.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old Stone Church, Congregational                            Connecticut Yankee Council Bsa 072                     251 Main St                                              East Haven, CT 06512‐3003                                                                                  First Class Mail
Voting Party                   Old Stone United Methodist Church, Rock Falls               Attn: Joan Myers, Treasurer                            19053 Yucca Ave                                          Nora Springs, IA 50458                                                sue4jc1960@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old Tappan First Aid Corps                                  Northern New Jersey Council, Bsa 333                   4 Russell Ave                                            Old Tappan, NJ 07675‐7242                                                                                  First Class Mail
Chartered Organization         Old Tennent Presbyterian Church                             Monmouth Council, Bsa 347                              P.O. Box 6                                               Tennent, NJ 07763‐0006                                                                                     First Class Mail
Chartered Organization         Old Timers Club‐ Ship 121                                   Greater Los Angeles Area 033                           502 Wickliffe Dr                                         Pasadena, CA 91104‐1256                                                                                    First Class Mail
Chartered Organization         Old Timers Club Troop 121                                   Greater Los Angeles Area 033                           1321 Cortez St                                           Los Angeles, CA 90026‐5622                                                                                 First Class Mail
Chartered Organization         Old Town Lodge 908                                          Of Free & Accepted Masons                              40 Main St                                               Southampton, NY 11968‐4811                                                                                 First Class Mail
Chartered Organization         Old Town Triangle Assoc                                     Pathway To Adventure 456                               335 W Menomonee St                                       Chicago, IL 60614‐5341                                                                                     First Class Mail
Voting Party                   Old Town United Methodist Church                            Attn: Treasurer                                        726 Stillwater Ave                                       Old Town, ME 04468                                                    umcot.726@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Old Town United Methodist Church ‐ Old Town                 c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Old Trinity Episcopal Church (Church Creek)                 c/o The Law Office of Andrea Ross                      Attn: Andrea Ross, Esq                                   129 N West St, Ste 1              Easton, MD 21601                    Andie@AndieRossLaw.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old Washington Presbyterian Church                          Muskingum Valley Council, Bsa 467                      227 Old National Rd                                      Old Washington, OH 43768                                                                                   First Class Mail
Voting Party                   Old Wye Church (Wye Mills)                                  c/o The Law Office of Andrea Ross                      Attn: Andrea Ross, Esq                                   129 N West St, Ste 1              Easton, MD 21601                    Andie@AndieRossLaw.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Old Zionsville Utd Church Of Christ                         Minsi Trails Council 502                               P.O. Box 215                                             Old Zionsville, PA 18068‐0215                                                                              First Class Mail
Chartered Organization         Olde Creek Elementary School PTA                            National Capital Area Council 082                      9524 Old Creek Dr                                        Fairfax, VA 22032‐1238                                                                                     First Class Mail
Chartered Organization         Olde Sawmill Elementary PTO                                 Simon Kenton Council 441                               2485 Olde Sawmill Blvd                                   Dublin, OH 43016‐9095                                                                                      First Class Mail
Firm                           Oldham & Smith, PL                                          Gregory P. Smith / John R. Oldham                      321 N. Barrow Ave                                        Tavares, FL 32778                                                     joy@oldhamsmith.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Oldtown United Methodist Church                             Attn: Dorothy Jones                                    18605 Oldtown Rd SE                                      Odltown, MD 21555                                                     umcpastorcr@gmail.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ole 97 Alumni Assoc                                         Chickasaw Council 558                                  7125 Getwell Rd Ste 201                                  Southaven, MS 38672‐9007                                                                                   First Class Mail
Chartered Organization         Olean American Legion Post 530                              Allegheny Highlands Council 382                        307 E State St                                           Olean, NY 14760‐3660                                                                                       First Class Mail
Voting Party                   Olean Trinity UMC                                           Attn: Dawn Marie Quesenberry                           131 N 9th St                                             Olean, NY 14760                                                                                            First Class Mail
Voting Party                   Olean Trinity UMC                                           Attn: Paul Kayes                                       403 N 9th St                                             Olean, NY 14760                                                                                            First Class Mail
Chartered Organization         Olive Baptist Church                                        Buckskin 617                                           P.O. Box 152                                             Julian, WV 25529‐0152                                                                                      First Class Mail
Chartered Organization         Olive Bethel Missonary Baptisit Church                      Three Rivers Council 578                               5830 Fm 1011                                             Liberty, TX 77575                                                                                          First Class Mail
Voting Party                   Olive Branch Community Church                               7702 El Cerrito Rd                                     Corona, CA 92881                                                                                                               erikl@obcc.church                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Olive Branch UMC                                            c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Olive Chapel Baptist Church                                 Attn: Lisa Glover                                      600 New Hill Olive Chapel Rd                             Apex, NC 27502                                                        lisa.glover@alumni.unc.edu           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Olive Crest United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Olive Crest Utd Methodist Mens Club                         Mid‐America Council 326                                7180 N 60Th St                                           Omaha, NE 68152‐2207                                                                                       First Class Mail
Chartered Organization         Olive Fire Dept 1 Inc                                       Rip Van Winkle Council 405                             P.O. Box 1309                                            Olivebridge, NY 12461‐0309                                                                                 First Class Mail
Chartered Organization         Olive J Dodge PTA                                           Mobile Area Council‐Bsa 004                            2615 Longleaf Dr                                         Mobile, AL 36693‐4027                                                                                      First Class Mail
Voting Party                   Olivebridge & Samsonville UMCs                              Attn: Karin L Squires                                  6 Allen St                                               Saugerties, NY 12477                                                  karin.squires@nyac‐umc.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Olivebridge UMC                                             Attn: Karin Squires                                    P.O. Box 1397                                            Olivebridge, NY 12461                                                 karin.squires@nyac‐umc.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Oliver Elementary School PTA                                Greater Alabama Council 001                            6871 6Th Ct S                                            Birmingham, AL 35212‐3405                                                                                  First Class Mail
Chartered Organization         Oliver H Perry Elementary School                            Lake Erie Council 440                                  18400 Schenely Ave                                       Cleveland, OH 44119‐2053                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 287 of 442
                                                                                  Case 20-10343-LSS                                           Doc 8171                                             Filed 01/06/22                                                      Page 303 of 457
                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                       Service List
                                                                                                                                                                                Served as set forth below

        Description                                                        Name                                                                                                     Address                                                                                                                             Email              Method of Service
Chartered Organization         Oliver Partnership School PTA                             The Spirit Of Adventure 227                    183 Haverhill St                                                  Lawrence, MA 01840‐1515                                                                                               First Class Mail
Chartered Organization         Oliver Springs Fire Dept                                  Great Smoky Mountain Council 557               701 Main St                                                       Oliver Springs, TN 37840‐1709                                                                                         First Class Mail
Chartered Organization         Olivero Ward ‐ LDS Sahuarita Stake                        Catalina Council 011                           P.O. Box 426                                                      Sahuarita, AZ 85629‐0426                                                                                              First Class Mail
Voting Party                   Olivet ‐ Coatsville                                       c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Olivet ‐ Coatsville                                       310 E Chestnut St                              Coatesville, PA 19320                                                                                                                                                                   First Class Mail
Chartered Organization         Olivet Baptist Church                                     Indian Nations Council 488                     155 N 65Th West Ave                                               Tulsa, OK 74127‐5601                                                                                                  First Class Mail
Chartered Organization         Olivet Boys And Girls Club                                Hawk Mountain Council 528                      677 Clinton St                                                    Reading, PA 19601‐2646                                                                                                First Class Mail
Chartered Organization         Olivet Boys And Girls Club                                Hawk Mountain Council 528                      1161 Pershing Blvd                                                Reading, PA 19611‐1701                                                                                                First Class Mail
Chartered Organization         Olivet Lutheran Church                                    Northern Lights Council 429                    1330 University Dr S                                              Fargo, ND 58103‐4145                                                                                                  First Class Mail
Chartered Organization         Olivet Lutheran Church                                    Erie Shores Council 460                        5840 Monroe St                                                    Sylvania, OH 43560‐2200                                                                                               First Class Mail
Chartered Organization         Olivet Moravian & Brookstown Methodist                    Old Hickory Council 427                        2205 Olivet Church Rd                                             Winston Salem, NC 27106‐9752                                                                                          First Class Mail
Chartered Organization         Olivet Presbyterian Church                                Stonewall Jackson Council 763                  2575 Garth Rd                                                     Charlottesville, VA 22901‐5300                                                                                        First Class Mail
Voting Party                   Olivet United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Olivet Utd Methodist Church                               Del Mar Va 081                                 115 S Main St                                                     Galena, MD 21635                                                                                                      First Class Mail
Chartered Organization         Olivets Boys And Girls Club                               Hawk Mountain Council 528                      1161 Pershing Blvd                                                Reading, PA 19611‐1701                                                                                                First Class Mail
Chartered Organization         Olivia Lions Club                                         Northern Star Council 250                      305 N 7Th St                                                      Olivia, MN 56277‐1011                                                                                                 First Class Mail
Chartered Organization         Oljato Camp Staff                                         Pacific Skyline Council 031                    1305 Middlefield Rd                                               Palo Alto, CA 94301‐3354                                                                                              First Class Mail
Chartered Organization         Olney Mill Community Assoc                                National Capital Area Council 082              4421 Thornhurst Dr                                                Olney, MD 20832‐1842                                                                                                  First Class Mail
Chartered Organization         Olney School E P O                                        Erie Shores Council 460                        512 Lemoyne Rd                                                    Northwood, OH 43619‐1810                                                                                              First Class Mail
Voting Party                   Olney Springs Community United Methodist Church           Attn: Berniece McClure                         P.O. Box 97                                                       Olney Springs, CO 81062                                                                                               First Class Mail
Chartered Organization         Olomana                                                   Aloha Council, Bsa 104                         42‐137 Old Kalanianaole Rd                                        Kailua, HI 96734‐5704                                                                                                 First Class Mail
Chartered Organization         Olph Catholic Church                                      Cherokee Area Council 556                      501 S Moore Rd                                                    Chattanooga, TN 37412‐2949                                                                                            First Class Mail
Chartered Organization         Olsen Park PTA                                            Golden Spread Council 562                      2409 Anna St                                                      Amarillo, TX 79106‐4745                                                                                               First Class Mail
Chartered Organization         Olympia Elks Lodge 186                                    Pacific Harbors Council, Bsa 612               1818 4Th Ave E                                                    Olympia, WA 98506‐4630                                                                                                First Class Mail
Voting Party                   Olympia Fields United Methodist Church                    Attn: Richard P Wagner                         20301 Western Ave                                                 Olympia Fields, IL 60461                                                             olyfldsumc@sbcglobal.net         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Olympia Fields Utd Methodist Church                       Pathway To Adventure 456                       20301 Wern Ave                                                    Olympia Fields, IL 60461                                                                                              First Class Mail
Chartered Organization         Olympia Police Dept                                       Pacific Harbors Council, Bsa 612               601 4Th Ave E                                                     Olympia, WA 98501‐1112                                                                                                First Class Mail
Chartered Organization         Olympic High School Exp 2 Lab 1                           Mecklenburg County Council 415                 4301 Sandy Porter Rd                                              Charlotte, NC 28273‐3214                                                                                              First Class Mail
Chartered Organization         Olympic High School Exp1 Lab Ll                           Mecklenburg County Council 415                 4301 Sandy Porter Rd                                              Charlotte, NC 28273‐3214                                                                                              First Class Mail
Chartered Organization         Olympic High School Exp3 Lab 3                            Mecklenburg County Council 415                 4301 Sandy Porter Rd                                              Charlotte, NC 28273‐3214                                                                                              First Class Mail
Chartered Organization         Omaha Animal Medical Group                                Mid‐America Council 326                        3316 N 120Th St                                                   Omaha, NE 68164‐2563                                                                                                  First Class Mail
Chartered Organization         Omaha Elks 39                                             Mid‐America Council 326                        6410 S 96Th St                                                    Omaha, NE 68127‐4071                                                                                                  First Class Mail
Voting Party                   Omaha Maplewood UMC                                       c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Omaha Maplewood UMC                                       3535 Maplewood Blvd                            Omaha, NE 68134                                                                                                                                                                         First Class Mail
Chartered Organization         Omaha Police Dept                                         Mid‐America Council 326                        P.O. Box 55006                                                    Omaha, NE 68102                                                                                                       First Class Mail
Chartered Organization         Omaha Storm Chasers                                       Mid‐America Council 326                        12356 Ballpark Way                                                Papillion, NE 68046‐4817                                                                                              First Class Mail
Chartered Organization         Omaha World Herald                                        Mid‐America Council 326                        1314 Douglas St Ste 1500                                          Omaha, NE 68102‐1848                                                                                                  First Class Mail
Chartered Organization         Omega Community Development Corp                          Miami Valley Council, Bsa 444                  1800 Harvard Blvd                                                 Dayton, OH 45406                                                                                                      First Class Mail
Chartered Organization         Omega Psi Phi Fraternity Eta Iota Iota                    National Capital Area Council 082              P.O. Box 5273                                                     Kingshill, VI 00851‐5273                                                                                              First Class Mail
Chartered Organization         Omega Psi Phi Fraternity Inc                              Denver Area Council 061                        P.O. Box 8448                                                     Denver, CO 80201‐8448                                                                                                 First Class Mail
Chartered Organization         Omni Youth Services                                       Pathway To Adventure 456                       668B N Milwaukee Ave                                              Prospect Heights, IL 60070                                                                                            First Class Mail
Firm                           Omnis Law Group                                           Coley Reynolds                                 121 South Broad St. Ste 1200                                      Philadelphia, PA 19107                                                               COR@omnislawgroup.com            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         On My Honor Coalition Of Prairieville                     Istrouma Area Council 211                      17394 Deerpath Ct                                                 Prairieville, LA 70769‐4037                                                                                           First Class Mail
Chartered Organization         On Target                                                 Blackhawk Area 660                             560 Beechcraft Ln                                                 Crystal Lake, IL 60012‐3728                                                                                           First Class Mail
Chartered Organization         Onalaska Lions Club                                       Gateway Area 624                               1005 Oak Ave N                                                    Onalaska, WI 54650‐2117                                                                                               First Class Mail
Voting Party                   Onawa United Methodist Church                             Attn: Onawa Pastor                             P.O. Box 57                                                       Onawa, IA 51040                                                                      onawaumcsec@longlines.com        Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Onawa Utd Methodist Church                                Mid‐America Council 326                        1103 13Th St                                                      Onawa, IA 51040‐1510                                                                                                  First Class Mail
Chartered Organization         Onawa Utd Methodist Mens Club                             Mid‐America Council 326                        1103 13Th St                                                      Onawa, IA 51040‐1510                                                                                                  First Class Mail
Chartered Organization         Onaway Community Org                                      Lake Erie Council 440                          3107 Warrington Rd                                                Shaker Hts, OH 44120‐2428                                                                                             First Class Mail
Chartered Organization         One Church                                                Indian Nations Council 488                     1600 E 141St St                                                   Glenpool, OK 74033‐3816                                                                                               First Class Mail
Chartered Organization         One Hope Utd                                              Northeast Illinois 129                         P.O. Box 1128                                                     Lake Villa, IL 60046‐1128                                                                                             First Class Mail
Voting Party                   One Spirit United Methodist Church                        Attn: Charles Butner                           7900 Blue Ridge Blvd                                              Kansas City, MO 64138                                                                onespiritumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         One Spirit Utd Methodist Church                           Heart Of America Council 307                   7900 Blue Ridge Blvd                                              Raytown, MO 64138‐1301                                                                                                First Class Mail
Chartered Organization         One Way Ministries                                        Sequoyah Council 713                           1004 S Shady Ave                                                  Damascus, VA 24236‐3122                                                                                               First Class Mail
Voting Party                   Oneco United Methodist Church                             c/o Oneco UMC                                  Attn: Catherine McNeill                                           P.O. Box 153                       Oneco, CT 06373                                   cathymcneill@ymail.com           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Oneco United Methodist Church                             Attn: Catherine McNeill                        47 Hilltop Dr                                                     Woodstock Valley, CT 06282                                                                                            First Class Mail
Chartered Organization         Oneill Volunteer Fire Dept                                Overland Trails 322                            P.O. Box 772                                                      Oneill, NE 68763‐0772                                                                                                 First Class Mail
Chartered Organization         Onelove Church                                            Oregon Trail Council 697                       2895 Chad Dr                                                      Eugene, OR 97408‐7335                                                                                                 First Class Mail
Chartered Organization         Oneonta Police Dept                                       Leatherstocking 400                            79 S Main St                                                      Oneonta, NY 13820                                                                                                     First Class Mail
Chartered Organization         Oneonta Sportsmen's Club                                  Leatherstocking 400                            P.O. Box 345                                                      Oneonta, NY 13820‐0345                                                                                                First Class Mail
Chartered Organization         Onondaga Hill Presbyterian Church                         Longhouse Council 373                          4797 Makyes Rd                                                    Syracuse, NY 13215‐2101                                                                                               First Class Mail
Voting Party                   Onondaga Hill Presbyterian Church                         c/o Barclay Damon LLP                          Attn: Kevin M Newman                                              Barclay Damon Tower                125 E Jefferson St           Syracuse, NY 13202   knewman@barclaydamon.com         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Onondaga Yacht Club                                       Longhouse Council 373                          P.O. Box 186                                                      Liverpool, NY 13088‐0186                                                                                              First Class Mail
Chartered Organization         Onslow County Sheriff Dept                                East Carolina Council 426                      701 Mill Ave                                                      Jacksonville, NC 28540                                                                                                First Class Mail
Chartered Organization         Onsted Kiwanis & American Legion Clubs                    Southern Shores Fsc 783                        333 Connor St                                                     Onsted, MI 49265‐9503                                                                                                 First Class Mail
Chartered Organization         Onsted Kiwanis Club                                       Southern Shores Fsc 783                        P.O. Box 45                                                       Onsted, MI 49265‐0045                                                                                                 First Class Mail
Chartered Organization         Ontario County Sherrif's Office                           Seneca Waterways 397                           3045 County Complex Dr                                            Canandaigua, NY 14424‐9505                                                                                            First Class Mail
Chartered Organization         Ontario Volunteer Fire Co                                 Seneca Waterways 397                           6160 Walter Cone Dr                                               Ontario, NY 14519‐8929                                                                                                First Class Mail
Chartered Organization         Ontario‐Walworth Rotary Club                              Seneca Waterways 397                           P.O. Box 4                                                        Ontario, NY 14519‐0004                                                                                                First Class Mail
Chartered Organization         Ontelaunee Rod & Gun Club                                 Minsi Trails Council 502                       7974 Gun Club Rd                                                  New Tripoli, PA 18066                                                                                                 First Class Mail
Voting Party                   Onton United Methodist Church                             Attn: Hon J Keith Cartwright                   P.O. Box 695                                                      Madisonville, KY 42431                                                               kcartwright@feptc.com            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Oologah Utd Methodist Church                              Indian Nations Council 488                     P.O. Box 857                                                      Oologah, OK 74053‐0857                                                                                                First Class Mail
Chartered Organization         Oologah Utd Methodist Church                              Indian Nations Council 488                     5834 E 410 Rd                                                     Oologah, OK 74053‐3524                                                                                                First Class Mail
Voting Party                   Ooltewah United Methodist Church                          Attn: Sarah W Roach                            6131 Relocation Way                                               Ooltewah, TN 37363                                                                   sroach@oumclive.org              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Opa Orange School                                         Winnebago Council, Bsa 173                     5805 Kimball Ave                                                  Waterloo, IA 50701‐9101                                                                                               First Class Mail
Chartered Organization         Opelousas Catholic                                        Evangeline Area 212                            428 E Prudhomme St                                                Opelousas, LA 70570‐6446                                                                                              First Class Mail
Chartered Organization         Opelousas Catholic School                                 Evangeline Area 212                            428 E Prudhomme St                                                Opelousas, LA 70570‐6446                                                                                              First Class Mail
Chartered Organization         Open Arms Community Of Christ                             Heart Of America Council 307                   1021 W College St                                                 Independence, MO 64050‐2405                                                                                           First Class Mail
Chartered Organization         Open Arms Fellowship                                      Coastal Carolina Council 550                   185 Cemetery Rd                                                   Varnville, SC 29944                                                                                                   First Class Mail
Chartered Organization         Open Doors Academy                                        Chippewa Valley Council 637                    136 E 3Rd Ave                                                     Stanley, WI 54768‐1268                                                                                                First Class Mail
Chartered Organization         Open Gate Community Church                                Yucca Council 573                              9821 Mccombs St                                                   El Paso, TX 79924‐4957                                                                                                First Class Mail
Voting Party                   Open Heart UMC                                            Attn: Pastor Michele Slott                     202 E Indiana St                                                  Rapid City, SD 57701                                                                 openheartumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Open Heart Utd Methodist Church                           Black Hills Area Council 695 695               202 E Indiana St                                                  Rapid City, SD 57701‐5673                                                                                             First Class Mail
Voting Party                   Open Hearts Bolivar United Methodist Church               Attn: Russ Emory, Treasurer Open Hearts BUMC   105 E Division St                                                 Bolivar, MO 65613                                                                    tealy@windstream.net             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Open Lab Idaho Inc                                        Ore‐Ida Council 106 ‐ Bsa 106                  110 W 33Rd St                                                     Garden City, ID 83714                                                                                                 First Class Mail
Chartered Organization         Open Sesame Lincoln                                       Blackhawk Area 660                             501 S Lincoln Ave                                                 Dixon, IL 61021‐3345                                                                                                  First Class Mail
Voting Party                   Open Table of Christ United Methodist Church (UMC)        Attn: William P Aldrich                        1520 Broad St                                                     Providence, RI 02905                                                                 wpaldrich@cox.net                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Openhearted Campaign                                      Hoosier Trails Council 145 145                 2234 E Cape Cod Dr                                                Bloomington, IN 47401‐6124                                                                                            First Class Mail
Chartered Organization         Opequon Presbyterian Church                               Shenandoah Area Council 598                    217 Opequon Church Ln                                             Winchester, VA 22602‐2421                                                                                             First Class Mail
Chartered Organization         Operation Pathways                                        Southeast Louisiana Council 214                3708 Garden Oaks Dr                                               New Orleans, LA 70114‐7630                                                                                            First Class Mail
Chartered Organization         Operation Soldier At Ease                                 Atlanta Area Council 092                       P.O. Box 723243                                                   Atlanta, GA 31139‐0243                                                                                                First Class Mail
Chartered Organization         Operation Warrriors Foundation Inc                        Pacific Harbors Council, Bsa 612               P.O. Box 956                                                      Yelm, WA 98597‐0956                                                                                                   First Class Mail
Chartered Organization         Opportunity House Inc                                     Three Fires Council 127                        202 Lucas St                                                      Sycamore, IL 60178‐1214                                                                                               First Class Mail
Chartered Organization         Opportunity, Inc                                          Caddo Area Council 584                         6101 N State Line Ave                                             Texarkana, TX 75503‐5309                                                                                              First Class Mail
Chartered Organization         Optimax Systems Inc                                       Seneca Waterways 397                           6367 Dean Pkwy                                                    Ontario, NY 14519‐8939                                                                                                First Class Mail
Chartered Organization         Optimist Club                                             Miami Valley Council, Bsa 444                  5555 Chambersburg Rd                                              Huber Heights, OH 45424‐3849                                                                                          First Class Mail
Chartered Organization         Optimist Club                                             c/o Al Bilse                                   Glaciers Edge Council 620                                         N2734 Demynck Rd                   Lodi, WI 53555                                                                     First Class Mail
Chartered Organization         Optimist Club ‐ Ashland                                   Great Rivers Council 653                       P.O. Box 201                                                      Ashland, MO 65010‐0201                                                                                                First Class Mail
Chartered Organization         Optimist Club ‐ De Pere                                   Attn: Dave Servais                             251 Highland Park Ave                                             Green Bay, WI 54302‐1759                                                                                              First Class Mail
Chartered Organization         Optimist Club ‐ Midway                                    Great Rivers Council 653                       3750 N Frederick Ct                                               Columbia, MO 65202‐9589                                                                                               First Class Mail
Chartered Organization         Optimist Club Bazetta Cortland                            Great Trail 433                                2619 Bazetta Rd Ne                                                Warren, OH 44481‐9328                                                                                                 First Class Mail
Chartered Organization         Optimist Club Midton Wisconsin, Inc                       Attn: Ron Berman                               3906 Rolling Hill Dr                                              Middleton, WI 53562‐1224                                                                                              First Class Mail
Chartered Organization         Optimist Club Of Apple Valley                             California Inland Empire Council 045           P.O. Box 1115                                                     Apple Valley, CA 92307‐0019                                                                                           First Class Mail
Chartered Organization         Optimist Club Of Azle                                     Longhorn Council 662                           150 Industrial Ave                                                Azle, TX 76020‐2935                                                                                                   First Class Mail
Chartered Organization         Optimist Club Of Beaverton                                Cascade Pacific Council 492                    P.O. Box 424                                                      Beaverton, OR 97075‐0424                                                                                              First Class Mail
Chartered Organization         Optimist Club Of Breese                                   Greater St Louis Area Council 312              P.O. Box 381                                                      Breese, IL 62230‐0381                                                                                                 First Class Mail
Chartered Organization         Optimist Club Of Central Fairfax                          National Capital Area Council 082              P.O. Box 2171                                                     Fairfax, VA 22031‐0171                                                                                                First Class Mail
Chartered Organization         Optimist Club Of Coronado, Inc                            San Diego Imperial Council 049                 1517 Ynez Pl                                                      Coronado, CA 92118‐2928                                                                                               First Class Mail
Chartered Organization         Optimist Club Of Del Mar Solana Beach                     San Diego Imperial Council 049                 P.O. Box 321                                                      Del Mar, CA 92014‐0321                                                                                                First Class Mail
Chartered Organization         Optimist Club Of Delphos                                  Black Swamp Area Council 449                   P.O. Box 192                                                      Delphos, OH 45833‐0192                                                                                                First Class Mail
Chartered Organization         Optimist Club Of Elk Grove                                Golden Empire Council 047                      P.O. Box 672                                                      Elk Grove, CA 95759‐0672                                                                                              First Class Mail
Chartered Organization         Optimist Club Of Freeburg                                 Greater St Louis Area Council 312              101 S West St                                                     Freeburg, IL 62243‐1385                                                                                               First Class Mail
Chartered Organization         Optimist Club Of Gardena                                  Greater Los Angeles Area 033                   P.O. Box 2132                                                     Gardena, CA 90247‐0132                                                                                                First Class Mail
Chartered Organization         Optimist Club Of Gresham                                  Cascade Pacific Council 492                    3439 Ne Sandy Blvd, Ste 276                                       Portland, OR 97232‐1959                                                                                               First Class Mail
Chartered Organization         Optimist Club Of Howell                                   Monmouth Council, Bsa 347                      P.O. Box 232                                                      Adelphia, NJ 07710‐0232                                                                                               First Class Mail
Chartered Organization         Optimist Club Of Jackson                                  Greater St Louis Area Council 312              P.O. Box 253                                                      Jackson, MO 63755‐0253                                                                                                First Class Mail
Chartered Organization         Optimist Club Of Keego Harbor                             Great Lakes Fsc 272                            P.O. Box 535                                                      Keego Harbor, MI 48320‐0535                                                                                           First Class Mail
Chartered Organization         Optimist Club Of Las Cruces                               Yucca Council 573                              P.O. Box 16406                                                    Las Cruces, NM 88004‐6406                                                                                             First Class Mail
Chartered Organization         Optimist Club Of Madison                                  Greater Alabama Council 001                    P.O. Box 150                                                      Madison, AL 35758‐0150                                                                                                First Class Mail
Chartered Organization         Optimist Club Of Malibu                                   W L A C C 051                                  P.O. Box 501                                                      Malibu, CA 90265‐0501                                                                                                 First Class Mail
Chartered Organization         Optimist Club Of Monaco South                             Denver Area Council 061                        3983 S Olive St                                                   Denver, CO 80237‐2037                                                                                                 First Class Mail
Chartered Organization         Optimist Club Of No Hollywood                             W L A C C 051                                  P.O. Box 16943                                                    North Hollywood, CA 91615‐6943                                                                                        First Class Mail
Chartered Organization         Optimist Club Of North Hollywood                          W L A C C 051                                  P.O. Box 16943                                                    North Hollywood, CA 91615‐6943                                                                                        First Class Mail
Chartered Organization         Optimist Club Of North Pensacola                          Gulf Coast Council 773                         P.O. Box 10001                                                    Pensacola, FL 32524‐0001                                                                                              First Class Mail
Chartered Organization         Optimist Club Of Northwest Denver                         Denver Area Council 061                        7225 S Platte Canyon Dr                                           Littleton, CO 80128‐6448                                                                                              First Class Mail
Chartered Organization         Optimist Club Of Omaha                                    Mid‐America Council 326                        P.O. Box 390793                                                   Omaha, NE 68139‐0793                                                                                                  First Class Mail
Chartered Organization         Optimist Club Of Paso Robles                              Los Padres Council 053                         P.O. Box 644                                                      Paso Robles, CA 93447‐0644                                                                                            First Class Mail
Chartered Organization         Optimist Club Of Porterville                              Sequoia Council 027                            P.O. Box 142                                                      Porterville, CA 93258‐0142                                                                                            First Class Mail
Chartered Organization         Optimist Club Of Princeton                                W D Boyce 138                                  824 W Central Ave                                                 Princeton, IL 61356‐1509                                                                                              First Class Mail
Chartered Organization         Optimist Club Of Prior Lake                               Northern Star Council 250                      P.O. Box 130                                                      Prior Lake, MN 55372‐0130                                                                                             First Class Mail
Chartered Organization         Optimist Club Of Redwood City                             Pacific Skyline Council 031                    511 Hillside Rd                                                   Redwood City, CA 94062‐3312                                                                                           First Class Mail
Chartered Organization         Optimist Club Of Reno                                     Nevada Area Council 329                        P.O. Box 148                                                      Reno, NV 89504‐0148                                                                                                   First Class Mail
Chartered Organization         Optimist Club Of Reno                                     Nevada Area Council 329                        P.O. Box 17125                                                    Reno, NV 89511‐2898                                                                                                   First Class Mail
Chartered Organization         Optimist Club Of Searcy                                   Quapaw Area Council 018                        Harding Cafeteria                                                 Searcy, AR 72143                                                                                                      First Class Mail
Chartered Organization         Optimist Club Of South Shreveport                         Norwela Council 215                            2315 Dove Hollow Dr                                               Shreveport, LA 71118‐5210                                                                                             First Class Mail
Chartered Organization         Optimist Club Of St Maries                                National Capital Area Council 082              P.O. Box 833                                                      California, MD 20619‐0833                                                                                             First Class Mail
Chartered Organization         Optimist Club Of St Maries Inc                            National Capital Area Council 082              P.O. Box 833                                                      California, MD 20619‐0833                                                                                             First Class Mail
Chartered Organization         Optimist Club Of Sugar Land Tx                            Sam Houston Area Council 576                   2914 Lakefield Way                                                Sugar Land, TX 77479‐2022                                                                                             First Class Mail
Chartered Organization         Optimist Club Of Sun Prairie                              Glaciers Edge Council 620                      P.O. Box 411                                                      Sun Prairie, WI 53590‐0411                                                                                            First Class Mail
Chartered Organization         Optimist Club Of The Beaches                              Gulf Coast Council 773                         P.O. Box 9259                                                     Panama City Beach, FL 32417‐9259                                                                                      First Class Mail
Chartered Organization         Optimist Club Of Vancouver                                Cascade Pacific Council 492                    6907 Nw Anderson Ave                                              Vancouver, WA 98665‐7428                                                                                              First Class Mail
Chartered Organization         Optimist Club Of Verona                                   Glaciers Edge Council 620                      1018 Kettle Ct                                                    Verona, WI 53593‐2123                                                                                                 First Class Mail
Chartered Organization         Optimist Club Of Vista                                    San Diego Imperial Council 049                 600 Optimist Way                                                  Vista, CA 92081‐8656                                                                                                  First Class Mail
Chartered Organization         Optimist Club Of Wis Rapids                               Samoset Council, Bsa 627                       P.O. Box 1171                                                     Wisconsin Rapids, WI 54495‐1171                                                                                       First Class Mail
Chartered Organization         Optimist I Club                                           Crossroads Of America 160                      P.O. Box 137                                                      Hagerstown, IN 47346‐0137                                                                                             First Class Mail
Chartered Organization         Optimist International                                    Twin Valley Council Bsa 283                    P.O. Box 301                                                      New Ulm, MN 56073‐0301                                                                                                First Class Mail
Chartered Organization         Optimists Shawnee Mission                                 Heart Of America Council 307                   6014 W Richards Dr                                                Shawnee, KS 66216‐1721                                                                                                First Class Mail
Chartered Organization         Optimist‐Sheriff Ofc                                      Black Swamp Area Council 449                   200 W Crawford St                                                 Findlay, OH 45840‐3204                                                                                                First Class Mail
Chartered Organization         Optomist Boys & Girls Club                                South Plains Council 694                       3301 Cornell St                                                   Lubbock, TX 79415‐2117                                                                                                First Class Mail
Chartered Organization         Oquawka Utd Methodist Church                              Mississippi Valley Council 141 141             P.O. Box 853                                                      Oquawka, IL 61469‐0853                                                                                                First Class Mail
Voting Party                   Oracle America, Inc                                       Attn: Shawn M Christianson, Esq                Buchalter, a Professional Corporation                             55 2nd St, 17th Fl                 San Francisco, CA 94105                           schristianson@buchalter.com      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Oracle America, Inc, SSI to PeopleSoft, I                 c/o Buchalter PC                               Attn: Shawn M Christianson, Esq                                   55 2nd St, 17th Fl                 San Francisco, CA 94105                           schristianson@buchalter.com      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Oran Community Church                                     Attn: Lynn P Stearns                           3017 Oran Delphi Rd                                               Manlius, NY 134104                                                                   lstearnscpa@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Orange Beach Utd Methodist Church                         Mobile Area Council‐Bsa 004                    28751 Canal Rd                                                    Orange Beach, AL 36561‐4077                                                                                           First Class Mail
Chartered Organization         Orange Center Elementary School Pta                       Central Florida Council 083                    621 S Texas Ave                                                   Orlando, FL 32805‐3064                                                                                                First Class Mail
Chartered Organization         Orange City Lions Club International                      Mid‐America Council 326                        General Delivery                                                  Orange City, IA 51041                                                                                                 First Class Mail
Chartered Organization         Orange City Police Dept                                   Central Florida Council 083                    207 N Holly Ave                                                   Orange City, FL 32763‐5218                                                                                            First Class Mail
Voting Party                   Orange City Umc                                           c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Orange City United Methodist                              c/o Bradley Arant Boult Cummings, LLP          Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Orange City Utd Methodist Church                          Central Florida Council 083                    396 E University Ave                                              Orange City, FL 32763‐5249                                                                                            First Class Mail
Chartered Organization         Orange Coast Optimist Club                                Orange County Council 039                      11661 Rabaul Dr                                                   Cypress, CA 90630‐5538                                                                                                First Class Mail
Chartered Organization         Orange County Bar Assoc Foundation                        Central Florida Council 083                    880 N Orange Ave                                                  Orlando, FL 32801‐1015                                                                                                First Class Mail
Voting Party                   Orange County Buddhist Church                             Attn: Glenn Tomohiro Inanaga                   909 S Dale Ave                                                    Anaheim, CA 92804                                                                    inanaga@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Orange County Fire And Rescue                             Central Florida Council 083                    P.O. Box 5879                                                     Winter Park, FL 32793‐5879                                                                                            First Class Mail
Chartered Organization         Orange County Fire Authority                              Orange County Council 039                      1 Fire Authority Rd                                               Irvine, CA 92602‐0125                                                                                                 First Class Mail
Chartered Organization         Orange County Sheriff Dept                                Orange County Council 039                      15991 Armstrong Ave                                               Tustin, CA 92782‐2715                                                                                                 First Class Mail
Chartered Organization         Orange County Sheriff's Office                            Hudson Valley Council 374                      110 Wells Farm Rd                                                 Goshen, NY 10924‐6740                                                                                                 First Class Mail
Chartered Organization         Orange Cove Police Dept                                   Sequoia Council 027                            550 Center St                                                     Orange Cove, CA 93646‐2251                                                                                            First Class Mail
Chartered Organization         Orange Crescent School                                    Orange County Council 039                      1 Al Rahman Plz                                                   Garden Grove, CA 92844‐3170                                                                                           First Class Mail
Chartered Organization         Orange Fire Dept                                          Orange County Council 039                      176 S Grand St                                                    Orange, CA 92866‐1535                                                                                                 First Class Mail
Chartered Organization         Orange Grove Vfd                                          South Texas Council 577                        P.O. Box 1228                                                     Orange Grove, TX 78372‐1228                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 288 of 442
                                                                                  Case 20-10343-LSS                                             Doc 8171                                       Filed 01/06/22                                                      Page 304 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                        Name                                                                                                 Address                                                                                                                   Email                  Method of Service
Chartered Organization         Orange Hill Baptist Church                                Atlanta Area Council 092                         4293 Austell Rd                                             Austell, GA 30106‐1853                                                                                          First Class Mail
Chartered Organization         Orange Parent Assoc, Orange School                        Winnebago Council, Bsa 173                       5805 Kimball Ave                                            Waterloo, IA 50701‐9101                                                                                         First Class Mail
Chartered Organization         Orange Park Fire Dept                                     North Florida Council 087                        2025 Smith St                                               Orange Park, FL 32073‐5579                                                                                      First Class Mail
Chartered Organization         Orange Park Medical Center                                North Florida Council 087                        2001 Kingsley Ave                                           Orange Park, FL 32073‐5148                                                                                      First Class Mail
Chartered Organization         Orange Park Presbyterian Church                           North Florida Council 087                        1905 Park Ave                                               Orange Park, FL 32073‐4914                                                                                      First Class Mail
Voting Party                   Orange Park Umc                                           c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Orange Park Utd Methodist Church                          North Florida Council 087                        2063 Park Ave                                               Orange Park, FL 32073                                                                                           First Class Mail
Chartered Organization         Orange Realty Group                                       Las Vegas Area Council 328                       6230 Mcleod Dr, Ste 100                                     Las Vegas, NV 89120‐4442                                                                                        First Class Mail
Voting Party                   Orange Umc ‐ Canton                                       c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Orange United Methodist Church                            Attn: Judith Jones                               104 S Main St                                               Orange, MA 01364                                                       judy.jones59@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Orange Utd Methodist Church                               Atlanta Area Council 092                         220 Orange Church Cir                                       Canton, GA 30115‐8188                                                                                           First Class Mail
Chartered Organization         Orange Utd Methodist Church                               Occoneechee 421                                  1220 Martin Luther King Jr Blvd                             Chapel Hill, NC 27514‐6600                                                                                      First Class Mail
Chartered Organization         Orange Volunteer Fire Dept                                Connecticut Yankee Council Bsa 072               625 Orange Center Rd                                        Orange, CT 06477                                                                                                First Class Mail
Chartered Organization         Orangeburg Rotary Club                                    Indian Waters Council 553                        P.O. Box 2325                                               Orangeburg, SC 29116‐2325                                                                                       First Class Mail
Chartered Organization         Orange‐St Marys Roman Catholic Church                     Heart of New England Council 230                 92 New Athol Rd                                             Orange, MA 01364‐9617                                                                                           First Class Mail
Chartered Organization         Orangethorpe Utd Methodist Church                         Orange County Council 039                        2351 W Orangethorpe Ave                                     Fullerton, CA 92833‐4308                                                                                        First Class Mail
Chartered Organization         Orangeville City                                          Utah National Parks 591                          P.O. Box 677                                                Orangeville, UT 84537‐0677                                                                                      First Class Mail
Voting Party                   Orangeville United Methodist Church                       109 S East St                                    Orangeville, IL 61060                                                                                                              orangevilleunited@frontier.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Orbisonia United Methodist Church (01593)                 c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200        Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Orbisonia Utd Methodist Church                            Juniata Valley Council 497                       P.O. Box 66                                                 Orbisonia, PA 17243‐0066                                                                                        First Class Mail
Voting Party                   Orchard Church                                            c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Orchard Community Church                                  Attn: Lisa Beamer                                8180 Telephone Rd                                           Ventura, CA 93004                                                      Lisa@Orchardventura.org                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Orchard Gardens Utd                                       The Spirit of Adventure 227                      906 Albany St                                               Roxbury, MA 02119‐2514                                                                                          First Class Mail
Chartered Organization         Orchard Grove Community Church                            Great Lakes Fsc 272                              850 Ladd Rd                                                 Walled Lake, MI 48390‐3021                                                                                      First Class Mail
Chartered Organization         Orchard Hill Reformed Church                              Winnebago Council, Bsa 173                       1203 Elmridge Dr                                            Cedar Falls, IA 50613‐5404                                                                                      First Class Mail
Chartered Organization         Orchard Hills School Pto                                  Great Lakes Fsc 272                              41900 Quince Dr                                             Novi, MI 48375‐3361                                                                                             First Class Mail
Chartered Organization         Orchard Knob Elementary                                   Cherokee Area Council 556                        400 N Orchard Ave                                           Chattanooga, TN 37404                                                                                           First Class Mail
Chartered Organization         Orchard Lake Commty                                       Presbyterian Church                              5171 Commerce Rd                                            Orchard Lake, MI 48324‐2203                                                                                     First Class Mail
Chartered Organization         Orchard Park Academy                                      Lake Erie Council 440                            14440 Triskett Rd                                           Cleveland, OH 44111‐2263                                                                                        First Class Mail
Chartered Organization         Orchard Park Fire District                                Greater Niagara Frontier Council 380             30 School St                                                Orchard Park, NY 14127‐2635                                                                                     First Class Mail
Chartered Organization         Orchard Park Presbyterian Church                          Crossroads of America 160                        1605 E 106th St                                             Indianapolis, IN 46280‐1505                                                                                     First Class Mail
Voting Party                   Orchard Park United Methodist Church                      Attn: Pastor Jennifer Stamm                      3700 N Buffalo Rd                                           Orchard Park, NY 14127                                                 opumc@verizon.net                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Orchard Park Ward Lds Buffalo Stake                       Greater Niagara Frontier Council 380             4005 Baker Rd                                               Orchard Park, NY 14127‐2032                                                                                     First Class Mail
Chartered Organization         Orchard Park Ward Lds Buffalo Stake                       Greater Niagara Frontier Council 380             4005 Baker Rd                                               Orchard Park, NY 14127‐2032                                                                                     First Class Mail
Voting Party                   Ord First United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Order Of The Arrow ‐ Talako Lodge                         Marin Council 035                                225 W End Ave                                               San Rafael, CA 94901‐2645                                                                                       First Class Mail
Chartered Organization         Order Of The Arrow Na Tsi Hi                              Monmouth Council, Bsa 347                        705 Ginesi Dr                                               Morganville, NJ 07751‐1235                                                                                      First Class Mail
Chartered Organization         Order Of The Eastern Star No 25                           c/o Mccs Exec Branch                             Unit 35023 Mcb Camp Sd Butler                               Apo, AP 96378‐5023                                                                                              First Class Mail
Voting Party                   Oregon City United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Oregon Coast Light Adventure Craft                        Oregon Trail Council 697                         P.O. Box 445                                                Toledo, OR 97391‐0445                                                                                           First Class Mail
Chartered Organization         Oregon Community Bank                                     Glaciers Edge Council 620                        733 N Main St                                               Oregon, WI 53575‐1003                                                                                           First Class Mail
Voting Party                   Oregon Episcopal School                                   Attn: Gretchen Reed                              6300 SW Nicol Rd                                            Portland, OR 97223                                                     reedg@oes.edu                            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Oregon Trail                                              Attn: Scott Impecover                            2525 Martin Luther King Jr Blvd                             Eugene, OR 97401                                                       simpecover@otcbsa.org                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Oregon Utd Methodist Church                               Blackhawk Area 660                               200 S 4th St                                                Oregon, IL 61061‐1802                                                                                           First Class Mail
Chartered Organization         Oregon Veterans Home Lebanon                              Cascade Pacific Council 492                      37906 Middle Ridge Rd                                       Lebanon, OR 97355‐8830                                                                                          First Class Mail
Voting Party                   O'Reilly Automotive Stores Inc                            Attn: Sally Cate                                 P.O. Box 1156                                               Springfield, MO 65801                                                                                           First Class Mail
Voting Party                   Orems United Methodist Church                             Attn: James Mcvicker                             1020 Orems Rd                                               Middle River, MD 21220                                                 jmcvicker224@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Orems United Methodist Church                             Attn: Patricia Ann Collins                       2022 Tred Avon Rd                                           Middle River, MD 21221                                                 eagle273@verizon.net                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Orems Utd Methodist Church Inc                            Baltimore Area Council 220                       1020 Orems Rd                                               Baltimore, MD 21220‐4623                                                                                        First Class Mail
Voting Party                   Orenco Presbyterian Church                                Attn: Nancy Sue Collins                          6420 NE Oelrich St                                          Hillsboro, OR 97124                                                    office@orencochurch.org                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Org Of Special Needs Families                             Silicon Valley Monterey Bay 055                  10823 Willowbrook Way                                       Cupertino, CA 95014‐4540                                                                                        First Class Mail
Chartered Organization         Orinda Community Church                                   Mt Diablo‐Silverado Council 023                  10 Irwin Way                                                Orinda, CA 94563‐2508                                                                                           First Class Mail
Chartered Organization         Orion Fire Protection District                            Illowa Council 133                               501 11th Ave                                                Orion, IL 61273‐7773                                                                                            First Class Mail
Voting Party                   Orion United Methodist Church                             Attn: Diane Mccunn                               407 12th Ave                                                P.O. Box 176                      Orion, IL 61273                      orionumc@frontiernet.net                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Orion Vfw                                                 Illowa Council 133                               P.O. Box 666                                                Orion, IL 61273‐0666                                                                                            First Class Mail
Voting Party                   Oriskany Falls United Methodist Church                    Attn: Linda Hughes                               7355 Sally Rd                                               Waterville, NY 13480                                                   ldhughes7355@yaqhoo.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Oriskany Falls United Methodist Church                    Attn: Linda Hughes                               201 Main St                                                 P.O. Box 456                      Oriskany Falls, NY 13425             ldhughes7355@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Oriskany Falls United Methodist Church                    P.O. Box 456                                     Oriskany Falls, NY 13425                                                                                                                                                    First Class Mail
Chartered Organization         Orland American Legion Post 423                           Anthony Wayne Area 157                           P.O. Box 448                                                Orland, IN 46776‐0448                                                                                           First Class Mail
Voting Party                   Orland Federated Church                                   Attn: Treasurer Lorraine Piazza                  709 1st St                                                  Orland, CA 95963                                                       orlandfedchurch@att.net                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Orland Methodist Church                                   Katahdin Area Council 216                        P.O. Box 81                                                 Orland, ME 04472‐0081                                                                                           First Class Mail
Voting Party                   Orland United Methodist Church                            P.O. Box 81                                      Orland, ME 04472                                                                                                                   Orlandumc@aol.com                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Orlando Bpoe Elks Lodge 1079                              Central Florida Council 083                      1012 Girard Dr                                              Orlando, FL 32824‐5266                                                                                          First Class Mail
Chartered Organization         Orlando Fire Dept                                         Central Florida Council 083                      P.O. Box 2846                                               Orlando, FL 32802‐2846                                                                                          First Class Mail
Chartered Organization         Orlando Police Dept                                       Central Florida Council 083                      100 S Hughey Ave                                            Orlando, FL 32801‐2501                                                                                          First Class Mail
Chartered Organization         Orleans Christian Church                                  Hoosier Trails Council 145 145                   P.O. Box 183                                                Orleans, IN 47452‐0183                                                                                          First Class Mail
Voting Party                   Orleans Federated Church                                  Attn: Rev. Alyssa May                            P.O. Box 132                                                Orleans, VT 05860                                                      vtrevam@hotmail.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Orleans United Methodist Church                           Attn: Keith Gilmore                              171 S 2nd St                                                P.O. Box 144                      Orleans, IN 47452                    orleansunitedmethodistchurch@gmail.com   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Orleans United Methodist Church                           Attn: Barbara Bach                               73 Main St                                                  Orleans, MA 02653                                                      orleansumc@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ormond Beach Police Dept.                                 Central Florida Council 083                      170 W Granada Blvd                                          Ormond Beach, FL 32174‐6355                                                                                     First Class Mail
Chartered Organization         Oro Grande Scouting Committee                             California Inland Empire Council 045             P.O. Box 412                                                Oro Grande, CA 92368‐0412                                                                                       First Class Mail
Voting Party                   Oro United Methodist Church                               Attn: Kay G Crowe                                P.O. Box 8448                                               Columbia, SC 29202                                                     chancellor@umcsc.org                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Oro Valley Police Dept                                    Catalina Council 011                             11000 N La Canada Dr                                        Oro Valley, AZ 85737‐7016                                                                                       First Class Mail
Voting Party                   Orofino Peck Umc                                          c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Orono Police Dept                                         Northern Star Council 250                        2730 Kelley Pkwy                                            Orono, MN 55356‐9387                                                                                            First Class Mail
Chartered Organization         Orono‐Old Town Kiwanis Club                               Katahdin Area Council 216                        P.O. Box 515                                                Orono, ME 04473‐0515                                                                                            First Class Mail
Chartered Organization         Oroville Ca Post 95 American Legion                       Golden Empire Council 047                        P.O. Box 1506                                               Oroville, CA 95965‐1506                                                                                         First Class Mail
Chartered Organization         Oroville Christian Church                                 Golden Empire Council 047                        1154 Plumas Ave                                             Oroville, CA 95965‐3242                                                                                         First Class Mail
Voting Party                   Orrville Trinity United Methodist Church                  Attn: Jon Tucker (Trustees, Trinity Umc)         1556 Rex Dr                                                 Orrville, OH 44667                                                     office@orrvilletrinity.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Ortega United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ortega Utd Methodist Church                               North Florida Council 087                        4807 Roosevelt Blvd                                         Jacksonville, FL 32210‐5944                                                                                     First Class Mail
Chartered Organization         Ortho Clinical Diagnostics                                Seneca Waterways 397                             100 Indigo Creek Dr                                         Rochester, NY 14626‐5101                                                                                        First Class Mail
Chartered Organization         Orthodox Congregational Church                            Narragansett 546                                 17 West St                                                  Mansfield, MA 02048‐2424                                                                                        First Class Mail
Voting Party                   Orting Umc                                                c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Orting Utd Methodist Church                               Pacific Harbors Council, Bsa 612                 109 Train St Se                                             Orting, WA 98360‐8002                                                                                           First Class Mail
Chartered Organization         Orton Keyes Development                                   Blackhawk Area 660                               633 Ranger St                                               Rockford, IL 61109‐1025                                                                                         First Class Mail
Voting Party                   Ortonville United Methodist Church                        Attn: Leon D Ingham, Chair of Leadership Board   93 N Church St                                              Ortonville, MI 48462                                                   fentonoptometrist@gmail.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Osage Community Elks Lodge 2705                           Great Rivers Council 653                         174 Elks Ln                                                 Gravois Mills, MO 65037‐6207                                                                                    First Class Mail
Chartered Organization         Osakis Lions Club                                         Northern Lights Council 429                      P.O. Box 357                                                Osakis, MN 56360‐0357                                                                                           First Class Mail
Chartered Organization         Osborne Elementary                                        Knights of Columbus Ass.                         800 Ringold St                                              Houston, TX 77088‐6337                                                                                          First Class Mail
Chartered Organization         Osborne Memorial Vfw Post 7743                            Coronado Area Council 192                        123 W Main St                                               Osborne, KS 67473‐2402                                                                                          First Class Mail
Voting Party                   Oscar Joel Musselman                                      18244 Promise Rd                                 Noblesville, IN 46060                                                                                                              dfmusselman@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Osceola First United Methodist Church                     Attn: Joe Thomas                                 P.O. Box 393                                                Osceola, AR 72370                                                      lraines@fridayfirm.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Osceola Mills United Methodist Church (32106482)          c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200        Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Osceola Mills United Methodist Church (32106482)          c/o Bentz Law Firm                               Attn: Sean Bollman                                          680 Washington Rd, Ste 200        Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Osceola United Methodist Church                           Attn: Treasurer                                  431 N Beech Rd                                              Osceola, IN 46561                                                      bookkeeper@osceolaumc.org                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Osceola Vfw Post 3227                                     Central Florida Council 083                      801 Maryland Ave                                            Saint Cloud, FL 34769‐3458                                                                                      First Class Mail
Voting Party                   Oscoda United Methodist Church                            Attn: Julie Burrell                              120 W Dwight St                                             Oscoda, MI 48750                                                       umcoscoda@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Oseola Mccarty Youth Development Center                   Pine Burr Area Council 304                       607 Mcswain St                                              Hattiesburg, MS 39401‐2662                                                                                      First Class Mail
Chartered Organization         Osgood American Legion Post 267                           Hoosier Trails Council 145 145                   120 S Elm St                                                Osgood, IN 47037‐1314                                                                                           First Class Mail
Firm                           Oshan & Associates, PC                                    Evan M. Oshan, Esq                               P.O. Box 9091                                               Seattle, WA 98109                                                      oshanlegal@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Oshkosh Lodge 27 Free & Accepted Masons                   Bay‐Lakes Council 635                            204 Washington Ave                                          Oshkosh, WI 54901‐5030                                                                                          First Class Mail
Chartered Organization         Oshkosh Police                                            Attn: Officer Harris 359                         P.O. Box 1130                                               Oshkosh, WI 54903‐1130                                                                                          First Class Mail
Chartered Organization         Oshtemo Rotary                                            Southern Shores Fsc 783                          P.O. Box 241                                                Oshtemo, MI 49077‐0241                                                                                          First Class Mail
Voting Party                   Oshtemo United Methodist Church                           Attn: Board of Trustee                           P.O. Box 12                                                 Oshtemo, MI 49077                                                      sankey_jennifer@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Oshtemo United Methodist Church                           Anantha Kumar David Sankey                       P.O. Box 12                                                 6574 Stadium Dr                   Oshtemo, MI 49077                    anand.sankey@wmich.edu                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Oskaloosa First United Methodist ‐ Oskalooksa             c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Oskaloosa First United Methodist ‐ Oskalooksa             402 Liberty St                                   Oskaloosa, KS 66066                                                                                                                                                         First Class Mail
Chartered Organization         Oskar A Andrews Vfw Post 1794                             Great Lakes Fsc 272                              28836 Armanda Dr                                            Warren, MI 48088‐4388                                                                                           First Class Mail
Chartered Organization         Osprey Nautical Foundation                                South Florida Council 084                        4794 Brighton Lakes Blvd                                    Boynton Beach, FL 33436‐4837                                                                                    First Class Mail
Voting Party                   Osprey Packs, Inc                                         P.O. Box 913157                                  Denver, CO 80291‐3157                                                                                                                                                       First Class Mail
Chartered Organization         Osseo Commercial Club                                     Gateway Area 624                                 14443 5th St                                                Osseo, WI 54758‐8602                                                                                            First Class Mail
Chartered Organization         Osseo Senior High School                                  Northern Star Council 250                        317 2nd Ave Nw                                              Osseo, MN 55369‐1005                                                                                            First Class Mail
Chartered Organization         Ossian Conservation Club                                  Anthony Wayne Area 157                           9950 N 100 E                                                Ossian, IN 46777‐9348                                                                                           First Class Mail
Voting Party                   Ossian United Methodist Church                            Rev. David B. Herr                               P.O. Box 385                                                201 West Mill St                  Ossian, IN 46777                     PAPAHERR@HOTMAIL.COM                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Ossian United Methodist Church                            Attn: Diann Goshorn                              P.O. Box 385                                                Ossian, IN 46777                                                       oumcoffice1@aol.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Ossineke United Methodist                                 13095 US 23 S                                    Ossineke, MI 49766                                                                                                                 ossinekemium@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Ossineke United Methodist                                 Attn: Barbara Mcdonald                           138 Thomas Ave                                              Alpena, MI 49707                                                       ellenpr@charter.net                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ossining Volunteer Fire Deparment                         Westchester Putnam 388                           21 State St                                                 Ossining, NY 10562‐4609                                                                                         First Class Mail
Chartered Organization         Ostmann Elementary Pto                                    Greater St Louis Area Council 312                200 Meriwether Lewis Dr                                     O Fallon, MO 63368‐8385                                                                                         First Class Mail
Chartered Organization         Ostmann Elementary School Pto                             Greater St Louis Area Council 312                200 Meriwether Lewis Dr                                     Dardenne Prairie, MO 63368‐8385                                                                                 First Class Mail
Chartered Organization         Osu Extension Seneca County                               Black Swamp Area Council 449                     3140 S State Route 100, Ste E                               Tiffin, OH 44883‐8890                                                                                           First Class Mail
Chartered Organization         Osu Veterinary Medicine                                   Simon Kenton Council 441                         1900 Coffey Rd                                              Columbus, OH 43210‐1006                                                                                         First Class Mail
Voting Party                   Oswego Federated Church                                   Attn: Steven Good                                5 W Washington St                                           P.O. Box 695                      Oswego, IL 60543                     office@goodshepherdoswego.org            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Oswego First United Methodist Church                      Attn: Scott Pecoy                                7111 New York State Rte 104                                 Oswego, NY 13126                                                       oswegofirstsumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Oswego First Utd Methodist Church                         Longhouse Council 373                            7111 State Route 104                                        Oswego, NY 13126‐6027                                                                                           First Class Mail
Chartered Organization         Oswego Police Dept Explorers                              Three Fires Council 127                          3525 US Hwy 34                                              Oswego, IL 60543‐8604                                                                                           First Class Mail
Chartered Organization         Oswego Presbyterian Church                                Three Fires Council 127                          1976 State Route 25                                         Oswego, IL 60543‐9834                                                                                           First Class Mail
Chartered Organization         Oswego Town Vol Fire Dept                                 Longhouse Council 373                            640 County Route 20                                         Oswego, NY 13126‐5613                                                                                           First Class Mail
Chartered Organization         Othello Police Dept                                       Grand Columbia Council 614                       500 E Main St                                               Othello, WA 99344‐1149                                                                                          First Class Mail
Voting Party                   Otho United Methodist Church                              Attn: Wayne Woods Lay Leader                     321 O St                                                    Fort Dodge, IA 50501                                                   dsrwayne@live.com                        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Otisville Church Of Christ                                Water and Woods Council 782                      13471 N State Rd                                            Otisville, MI 48463‐9796                                                                                        First Class Mail
Chartered Organization         Otisville Lions Club                                      Hudson Valley Council 374                        2 Highland Ave                                              Otisville, NY 10963‐2348                                                                                        First Class Mail
Chartered Organization         Otisville‐Mt. Hope Presbyterian Church                    Hudson Valley Council 374                        P.O. Box 628                                                Otisville, NY 10963‐0628                                                                                        First Class Mail
Chartered Organization         Otsego Utd Methodist Church                               President Gerald R Ford 781                      223 E Allegan St                                            Otsego, MI 49078‐1103                                                                                           First Class Mail
Chartered Organization         Ottawa County Boys And Girls Club Miami                   Cherokee Area Council 469 469                    114 1st Ave Se                                              Miami, OK 74354‐7078                                                                                            First Class Mail
Voting Party                   Ottawa First United Methodist Church                      Attn: Cheri Lynn Stewart                         100 W Jefferson St                                          Ottawa, IL 61350                                                       pastor.cheri.l@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ottawa Hills Scouting                                     Erie Shores Council 460                          2151 Hawthorne Rd                                           Ottawa Hills, OH 43606‐2644                                                                                     First Class Mail
Chartered Organization         Ottawa Kiwanis Club                                       Black Swamp Area Council 449                     P.O. Box 102                                                Ottawa, OH 45875‐0102                                                                                           First Class Mail
Voting Party                   Ottawa Street Unified Methodist Church                    c/o Grace United Methodist Church                Attn: Romir Esguerra                                        1718 Avalon Ave                   Joliet, IL 60435                     gracejoliet@comcast.net                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Ottawa Trinity United Methodist Church                    Attn: Beverly Carr, Treasurer                    137 N Pratt St                                              Ottawa, OH 45875                                                       trinity_church@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Ottawa‐Ward Church Of Jesus Christ Lds                    W D Boyce 138                                    1377 Adams St                                               Ottawa, IL 61350‐4305                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 289 of 442
                                                                                    Case 20-10343-LSS                                                        Doc 8171                                                 Filed 01/06/22                                                   Page 305 of 457
                                                                                                                                                                                                         Exhibit B
                                                                                                                                                                                                         Service List
                                                                                                                                                                                                  Served as set forth below

        Description                                                        Name                                                                                                                        Address                                                                                                              Email               Method of Service
Chartered Organization         Otter Creek Church Of Christ                                   Middle Tennessee Council 560                             409 Franklin Rd                                                       Brentwood, TN 37027‐5212                                                                                First Class Mail
Voting Party                   Otterbein Church Mount Wolf (184781)                           c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein Church Mount Wolf (184781)                           c/o Bentz Law Firm                                       Attn: Sean Bollman                                                    680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein Um Church                                            Attn: Loreena Raines                                     549 N Queen St                                                        Martinsburg, WV 25402                                                                                   First Class Mail
Voting Party                   Otterbein Umc                                                  c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein Umc (179011)                                         c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein Umc (4680)                                           c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein Um‐Martinsburg, Wv                                   Attn: Loreena Raines                                     P.O. Box 2378                                                         Martinsburg, WV 25402                                               secretary@otterbeinumc.net          Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein United Methodist Church                              Attn: Karen Rae Cochran                                  4826 Riverdale Rd SW                                                  Bolivar, OH 44612                                                   secretary@otterbeinconnection.org   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein United Methodist Church                              Karen Rae Cochran                                        6025 Shepler Church Rd SW                                             Navarre, OH 44662                                                   secretary@otterbeinconnection.org   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein United Methodist Church                              Attn: Lori Anne Johnson                                  2526 S State Rd 50                                                    Rockville, IN 47872                                                 OtterbeinUMC.AdmSecty@gmail.com     Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein United Methodist Church                              Attn: Tamara Cox                                         P.O. Box 156                                                          405 E Oxford St                  Otterbein, IN 47970                Office@otterbeinumc.org             Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein United Methodist Church (170944)                     c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein United Methodist Church (170944)                     c/o Bentz Law Firm                                       Attn: Leonard Spagnolo & Daniel Maier                                 680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein United Methodist Church (182430)                     c/o Bentz Law Firm                                       Attn: Sean Bollman                                                    680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein United Methodist Church (189427)                     c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein United Methodist Church (189475)                     c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein United Methodist Church (5120)                       c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein United Methodist Church (60413)                      c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Otterbein United Methodist Church, Hagerstown, Md              Attn: Marge Sharp & Elizabeth Hiatt Jackson, Treasurer   108 E Franklin St                                                     Hagerstown, MD 21740                                                treasurer@otterumc.org              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Otterbein Utd Methodist Ch Spry                                New Birth of Freedom 544                                 50 School St                                                          York, PA 17402‐4955                                                                                     First Class Mail
Chartered Organization         Otterbein Utd Methodist Church                                 New Birth of Freedom 544                                 647 Forge Rd                                                          Carlisle, PA 17015‐4367                                                                                 First Class Mail
Chartered Organization         Otterbein Utd Methodist Church                                 Westmoreland Fayette 512                                 201 Lincoln Ave                                                       Connellsville, PA 15425‐4118                                                                            First Class Mail
Chartered Organization         Otterbein Utd Methodist Church                                 New Birth of Freedom 544                                 327 Newport Rd                                                        Duncannon, PA 17020‐9669                                                                                First Class Mail
Chartered Organization         Otterbein Utd Methodist Church                                 Mason Dixon Council 221                                  108 E Franklin St                                                     Hagerstown, MD 21740‐4906                                                                               First Class Mail
Chartered Organization         Otterbein Utd Methodist Church                                 Buckeye Council 436                                      6025 Shepler Church Ave SW                                            Navarre, OH 44662‐9796                                                                                  First Class Mail
Chartered Organization         Otterbein Utd Methodist Church                                 Susquehanna Council 533, 4th & Vine Sts                  Sunbury, PA 17801                                                                                                                                                             First Class Mail
Chartered Organization         Otterbein Utd Methodist Church                                 Sagamore Council 162                                     405 E Oxford St                                                       Otterbein, IN 47970                                                                                     First Class Mail
Voting Party                   Otto Law Office, PLLC                                          Attn: Mark A Otto                                        123 W 2nd St N                                                        Newton, IA 50208                                                    mark@ottolawyers.com                Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Otto Township Lions Club                                       Allegheny Highlands Council 382                          P.O. Box 328                                                          Duke Center, PA 16729‐0328                                                                              First Class Mail
Voting Party                   Otto, Lawrence L                                               Address Redacted                                                                                                                                                                                   Email Address Redacted              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Ottoville Immaculate Conception Church                         Black Swamp Area Council 449                             P.O. Box 296                                                          Ottoville, OH 45876‐0296                                                                                First Class Mail
Chartered Organization         Ouachita Christian School                                      Louisiana Purchase Council 213                           7065 Hwy 165 N                                                        Monroe, LA 71203‐9776                                                                                   First Class Mail
Chartered Organization         Ouachita Parish High School                                    Louisiana Purchase Council 213                           681 Hwy 594                                                           Monroe, LA 71203‐8005                                                                                   First Class Mail
Voting Party                   Our Father Lutheran Church                                     c/o Schroeder Law LLC                                    Attn: Ed Schroeder                                                    2 W Dry Creek Cir, Ste 240       Littleton, CO 80120                ed@schroeders.law                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Our Father Lutheran Church                                     Attn: Doug Ullman                                        6355 S Holly St                                                       Centennial, CO 80121                                                dullman@ourfatherlutheran.net       Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Fathers Lutheran Church                                    Northern Star Council 250                                3903 Gilbert Ave Se                                                   Rockford, MN 55373‐5112                                                                                 First Class Mail
Chartered Organization         Our Holy Redeemer                                              Theodore Roosevelt Council 386                           37 S Ocean Ave                                                        Freeport, NY 11520‐3526                                                                                 First Class Mail
Voting Party                   Our Holy Redeemer RCC                                          Attn: Brian R Davey                                      374 Hillside Ave                                                      Williston Park, NY 11596                                            bdavey@mmlaw.us.com                 Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Consolation Parish                                    Northern New Jersey Council, Bsa 333                     1799 Hamburg Tpke                                                     Wayne, NJ 07470‐6221                                                                                    First Class Mail
Chartered Organization         Our Lady Help Of Christians                                    Greater Niagara Frontier Council 380                     4125 Union Rd                                                         Cheektowaga, NY 14225‐3405                                                                              First Class Mail
Chartered Organization         Our Lady Help Of Christians Church                             New Birth of Freedom 544                                 732 Main St                                                           Lykens, PA 17048‐1411                                                                                   First Class Mail
Chartered Organization         Our Lady Help Of Christians Church                             Mayflower Council 251                                    573 Washington St                                                     Newton, MA 02458‐1423                                                                                   First Class Mail
Chartered Organization         Our Lady Help Of Christians Rcc                                Greater New York Councils, Bsa 640                       1315 E 28th St                                                        Brooklyn, NY 11210‐5310                                                                                 First Class Mail
Chartered Organization         Our Lady Holy Souls Catholic Ch                                Little Rock                                              914 N Harrison St                                                     Little Rock, AR 72205                                                                                   First Class Mail
Chartered Organization         Our Lady Holy Souls Catholic Ch                                Little Rock                                              1003 N Tyler St                                                       Little Rock, AR 72205‐1749                                                                              First Class Mail
Chartered Organization         Our Lady Immaculate Church                                     Pathway To Adventure 456                                 410 Washington Blvd                                                   Oak Park, IL 60302‐4004                                                                                 First Class Mail
Chartered Organization         Our Lady Lourdes Catholic Sch (Rft)                            Crossroads of America 160                                30 S Downey Ave                                                       Indianapolis, IN 46219‐6404                                                                             First Class Mail
Chartered Organization         Our Lady Lourdes Rc Ch                                         Narragansett 546                                         130 Main St                                                           Carver, MA 02330‐2019                                                                                   First Class Mail
Voting Party                   Our Lady Maronite Catholic Church                              Attn: Rev Msgr Don Sawyer                                1320 E 51st St                                                        Austin, TX 78723                                                    ron‐walker@austindiocese.org        Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Our Lady Maronite Catholic Church                              Attn: Chancellor Bsa Coordinator                         6225 E US 290 Hwy Svrd Eb                                             Austin, TX 78723                                                    ron‐walker@austindiocese.org        Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Mercy Regional Catholic Sch                           Cradle of Liberty Council 525                            29 Conwell Dr                                                         Maple Glen, PA 19002‐3310                                                                               First Class Mail
Chartered Organization         Our Lady Mother Of The Church                                  Pathway To Adventure 456                                 8747 W Lawrence Ave                                                   Chicago, IL 60656‐2937                                                                                  First Class Mail
Chartered Organization         Our Lady Mount Carmel Catholic Parish Ch                       Grand Canyon Council 010                                 2121 S Rural Rd                                                       Tempe, AZ 85282‐1409                                                                                    First Class Mail
Chartered Organization         Our Lady Mount Carmel Church                                   Colonial Virginia Council 595                            100 Harpersville Rd                                                   Newport News, VA 23601‐2324                                                                             First Class Mail
Chartered Organization         Our Lady Of Angels Catholic Church                             Circle Ten Council 571                                   1914 Ridgeview Dr                                                     Allen, TX 75013‐5317                                                                                    First Class Mail
Chartered Organization         Our Lady Of Angels Catholic Church                             Lake Erie Council 440                                    3644 Rocky River Dr                                                   Cleveland, OH 44111‐3934                                                                                First Class Mail
Chartered Organization         Our Lady Of Angels Catholic Church                             National Capital Area Council 082                        13752 Marys Way                                                       Woodbridge, VA 22191‐2012                                                                               First Class Mail
Chartered Organization         Our Lady Of Angels Parish                                      Pacific Skyline Council 031                              1721 Hillside Dr                                                      Burlingame, CA 94010‐4727                                                                               First Class Mail
Chartered Organization         Our Lady Of Angels Roman Catholic Church                       Greater New York Councils, Bsa 640                       7320 4th Ave                                                          Brooklyn, NY 11209‐2506                                                                                 First Class Mail
Chartered Organization         Our Lady Of Assump Cath Home/Schl Organ                        Glaciers Edge Council 620                                2222 Shopiere Rd                                                      Beloit, WI 53511‐2348                                                                                   First Class Mail
Chartered Organization         Our Lady Of Assumption Church                                  Greater Los Angeles Area 033                             435 Berkeley Ave                                                      Claremont, CA 91711‐4508                                                                                First Class Mail
Voting Party                   Our Lady Of Assumption Church                                  c/o Archdiocese of Los Angeles                           Attn: Margaret Graf, General Counsel                                  3424 Wilshire Blvd               Los Angeles, CA 90010              legal@la‐archdiocese.org            Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Of Assumption Ptg                                     Golden Empire Council 047                                5057 Cottage Way                                                      Carmichael, CA 95608‐5412                                                                               First Class Mail
Chartered Organization         Our Lady Of Assumption Ptg                                     Golden Empire Council 047                                2141 Walnut Ave                                                       Carmichael, CA 95608‐5482                                                                               First Class Mail
Chartered Organization         Our Lady Of Assumption R.C. Church                             Greater New York Councils, Bsa 640                       1634 Mahan Ave                                                        Bronx, NY 10461‐5205                                                                                    First Class Mail
Chartered Organization         Our Lady Of Assumption R.C. Church                             Connecticut Yankee Council Bsa 072                       81 Center Rd                                                          Woodbridge, CT 06525‐1632                                                                               First Class Mail
Chartered Organization         Our Lady Of Calvary R.C. Church                                Cradle of Liberty Council 525                            11024 Knights Rd                                                      Philadelphia, PA 19154‐4213                                                                             First Class Mail
Chartered Organization         Our Lady Of Calvary Roman Catholic                             Cradle of Liberty Council 525                            11024 Knights Rd                                                      Philadelphia, PA 19154‐4213                                                                             First Class Mail
Chartered Organization         Our Lady Of Charity                                            Pathway To Adventure 456                                 3620 S 57th Ct                                                        Cicero, IL 60804‐4235                                                                                   First Class Mail
Chartered Organization         Our Lady Of Charity R.C. Church                                Greater Niagara Frontier Council 380                     65 Ridgewood Rd                                                       Buffalo, NY 14220‐2223                                                                                  First Class Mail
Chartered Organization         Our Lady Of Consolation Catholic Church                        Mecklenburg County Council 415                           1235 Badger Ct                                                        Charlotte, NC 28206‐1400                                                                                First Class Mail
Chartered Organization         Our Lady Of Consolation Church                                 Buckeye Council 436                                      315 Clay St                                                           Carey, OH 43316‐1401                                                                                    First Class Mail
Voting Party                   Our Lady Of Czestochowa                                        Attn: Andre L Kydala                                     54 Old Hwy 22                                                         Clinton, NJ 08809                                                                                       First Class Mail
Voting Party                   Our Lady Of Czestochowa Roman Catholic Church Society Of For   c/o Woods Oviatt Gilman LLP                              Attn: Timothy P Lyster, Esq                                           1900 Bausch & Lomb Pl            Rochester, NY 14604                tlyster@woodsoviatt.com             Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Of Divine Providence Catholic                         Southeast Louisiana Council 214                          1000 N Starrett Rd                                                    Metairie, LA 70003‐5852                                                                                 First Class Mail
Voting Party                   Our Lady Of Divine Providence Roman Catholic Church, Metairi   Attn: Susan Zeringue                                     7887 Walmsley Ave                                                     New Orleans, LA 70125                                               szeringe@arch‐no.org                Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Our Lady Of Fatima Milltown                                    Attn: Andre L Kydala                                     54 Old Hwy 22                                                         Clinton, NJ 08809                                                                                       First Class Mail
Chartered Organization         Our Lady Of Fatima Catholic Church                             Greater Wyoming Council 638                              1145 W 20th St                                                        Casper, WY 82604‐3586                                                                                   First Class Mail
Chartered Organization         Our Lady Of Fatima Catholic Church                             Denver Area Council 061                                  1985 Miller St                                                        Lakewood, CO 80215‐2745                                                                                 First Class Mail
Chartered Organization         Our Lady Of Fatima Catholic Church                             Del Mar Va 081                                           801 Dupont Hwy                                                        New Castle, DE 19720                                                                                    First Class Mail
Chartered Organization         Our Lady Of Fatima Catholic Church                             Orange County Council 039                                105 N La Esperanza                                                    San Clemente, CA 92672‐3147                                                                             First Class Mail
Chartered Organization         Our Lady Of Fatima Church                                      Laurel Highlands Council 527                             2270 Brodhead Rd                                                      Aliquippa, PA 15001‐4698                                                                                First Class Mail
Chartered Organization         Our Lady Of Fatima Church                                      Attn: Father Paul Yuenger                                545 Norway Ave                                                        Huntington, WV 25705‐1537                                                                               First Class Mail
Chartered Organization         Our Lady Of Fatima Church                                      Greater Yosemite Council 059                             505 W Granger Ave                                                     Modesto, CA 95350‐4225                                                                                  First Class Mail
Chartered Organization         Our Lady Of Fatima Church                                      Del Mar Va 081                                           801 N Dupont Hwy                                                      New Castle, DE 19720‐2544                                                                               First Class Mail
Chartered Organization         Our Lady Of Fatima Church                                      Northern New Jersey Council, Bsa 333                     82 Congress St                                                        Newark, NJ 07105‐1802                                                                                   First Class Mail
Chartered Organization         Our Lady Of Fatima Parish                                      Great Swest Council 412                                  Hwy 191 Rt 7                                                          Chinle, AZ 86503                                                                                        First Class Mail
Chartered Organization         Our Lady Of Fatima Parish                                      Evangeline Area 212                                      2319 Johnston St                                                      Lafayette, LA 70503‐2753                                                                                First Class Mail
Voting Party                   Our Lady Of Fatima Parish                                      Attn: Andre L Kydala                                     54 Old Hwy 22                                                         Clinton, NJ 08809                                                                                       First Class Mail
Voting Party                   Our Lady Of Fatima Perth Amboy Parish                          Attn: Andre L Kydala                                     54 Old Hwy 22                                                         Clinton, NJ 08809                                                                                       First Class Mail
Chartered Organization         Our Lady Of Fatima R.C. Church                                 Connecticut Yankee Council Bsa 072                       382 Hope Hill Rd                                                      Yalesville, CT 06492‐2254                                                                               First Class Mail
Voting Party                   Our Lady Of Fatima R.C. Church                                 c/o Cullen and Dykman LLP                                Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Of Fatima Roman Catholic Church                       Patriots Path Council 358                                403 Spring St                                                         Elizabeth, NJ 07201‐1924                                                                                First Class Mail
Chartered Organization         Our Lady Of Fatima Roman Catholic Church                       Patriots Path Council 358                                501 New Market Rd                                                     Piscataway, NJ 08854‐1464                                                                               First Class Mail
Voting Party                   Our Lady Of Fatima Roman Catholic Cong                         Attn: Matthew W Oakey                                    218 N Charles St, Ste 400                                             Baltimore, MD 21201                                                 moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Our Lady Of Fatima Roman Catholic Congregation Inc             c/o Gallagher Evelius & Jones LLP                        Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Of Good Counsel                                       Garden State Council 690                                 42 W Main St                                                          Moorestown, NJ 08057‐2430                                                                               First Class Mail
Voting Party                   Our Lady Of Good Counsel                                       c/o Jw/Wch                                               Attn: Westerman Ball Ederer Miller Zucker & Sharfstein                1201 Rxr Plz                     Uniondale, NY 11556                wheuer@westermanllp.com             Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Of Good Counsel Catholic Church                       Three Fires Council 127                                  620 5th St                                                            Aurora, IL 60505‐5228                                                                                   First Class Mail
Chartered Organization         Our Lady Of Good Counsel Catholic Church                       Great Lakes Fsc 272                                      1062 Church St                                                        Plymouth, MI 48170‐1149                                                                                 First Class Mail
Chartered Organization         Our Lady Of Good Counsel Catholic Church                       National Capital Area Council 082                        8601 Wolftrap Rd                                                      Vienna, VA 22182‐5026                                                                                   First Class Mail
Chartered Organization         Our Lady Of Good Counsel Church                                Aloha Council, Bsa 104                                   1525 Waimano Home Rd                                                  Pearl City, HI 96782‐1676                                                                               First Class Mail
Chartered Organization         Our Lady Of Good Counsel Church                                Washington Crossing Council 777                          611 Knowles Ave                                                       Southampton, PA 18966‐4101                                                                              First Class Mail
Chartered Organization         Our Lady Of Good Counsel Parish                                The Spirit of Adventure 227                              22 Plymouth St                                                        Methuen, MA 01844‐4255                                                                                  First Class Mail
Chartered Organization         Our Lady Of Good Counsel Parish                                Greater New York Councils, Bsa 640                       10 Austin Pl                                                          Staten Island, NY 10304‐2108                                                                            First Class Mail
Chartered Organization         Our Lady Of Good Help Catholic Church                          Narragansett 546                                         Old Victory Hwy                                                       Mapleville, RI 02839                                                                                    First Class Mail
Chartered Organization         Our Lady Of Good Hope Church                                   Miami Valley Council, Bsa 444                            6 S 3rd St                                                            Miamisburg, OH 45342‐2839                                                                               First Class Mail
Chartered Organization         Our Lady Of Grace                                              Northern Star Council 250                                5071 Eden Ave                                                         Edina, MN 55436‐2308                                                                                    First Class Mail
Chartered Organization         Our Lady Of Grace                                              Golden Empire Council 047                                1990 Linden Rd                                                        West Sacramento, CA 95691‐5128                                                                          First Class Mail
Chartered Organization         Our Lady Of Grace Catholic Church                              Northern Star Council 250                                5051 Eden Ave                                                         Edina, MN 55436‐2308                                                                                    First Class Mail
Chartered Organization         Our Lady Of Grace Catholic Church                              San Diego Imperial Council 049                           2766 Navajo Rd                                                        El Cajon, CA 92020‐2121                                                                                 First Class Mail
Chartered Organization         Our Lady Of Grace Catholic Church                              Old N State Council 070                                  2201 W Market St                                                      Greensboro, NC 27403‐1515                                                                               First Class Mail
Voting Party                   Our Lady Of Grace Catholic Church                              c/o Archdiocese of Los Angeles                           Attn: Margaret Graf, General Counsel                                  3424 Wilshire Blvd               Los Angeles, CA 90010              legal@la‐archdioceses.org           Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Of Grace Catholic Church School                       W.L.A.C.C. 051                                           5011 White Oak Ave                                                    Encino, CA 91316‐3724                                                                                   First Class Mail
Voting Party                   Our Lady Of Grace Catholic Church, Noblesville, IN             Attn: Matt Mckillip                                      610 Lingle Ave                                                        P.O. Box 260                     Lafayette, IN 47902                mmckillip@dol‐in.org                Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Of Grace Church                                       Great Trail 433                                          1088 Ridge Rd                                                         Hinckley, OH 44233‐9424                                                                                 First Class Mail
Chartered Organization         Our Lady Of Grace Church                                       Crossroads of America 160                                9900 E 191st St                                                       Noblesville, IN 46060‐1520                                                                              First Class Mail
Chartered Organization         Our Lady Of Grace Church                                       Baltimore Area Council 220                               P.O. Box 360                                                          Parkton, MD 21120‐0360                                                                                  First Class Mail
Chartered Organization         Our Lady Of Grace Church                                       Connecticut Yankee Council Bsa 072                       497 2nd Hill Ln                                                       Stratford, CT 06614‐2552                                                                                First Class Mail
Voting Party                   Our Lady Of Grace Parish, Muskegon                             c/o Warner Norcross & Judd LLP                           Attn: Elisabeth M Von Eitzen                                          150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com                  Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Of Grace R C C                                        Narragansett 546                                         569 Sanford Rd                                                        Westport, MA 02790‐3748                                                                                 First Class Mail
Voting Party                   Our Lady Of Grace R.C. Church                                  c/o Cullen and Dykman LLP                                Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com              Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Of Grace Rc Church                                    Greater New York Councils, Bsa 640                       430 Ave W                                                             Brooklyn, NY 11223‐5429                                                                                 First Class Mail
Chartered Organization         Our Lady Of Grace Roman Catholic Church                        Greater New York Councils, Bsa 640                       430 Ave W                                                             Brooklyn, NY 11223‐5429                                                                                 First Class Mail
Chartered Organization         Our Lady Of Grace Roman Catholic Church                        Northern New Jersey Council, Bsa 333                     395 Delano Pl                                                         Fairview, NJ 07022‐1776                                                                                 First Class Mail
Chartered Organization         Our Lady Of Grace Roman Catholic Church                        Washington Crossing Council 777                          225 Bellevue Ave                                                      Penndel, PA 19047‐4052                                                                                  First Class Mail
Chartered Organization         Our Lady Of Grace Roman Catholic Church                        Laurel Highlands Council 527                             310 Kane Blvd                                                         Pittsburgh, PA 15243‐1430                                                                               First Class Mail
Voting Party                   Our Lady Of Grace Roman Catholic Congregation Incorporated     c/o Gallagher Evelius & Jones LLP                        Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Our Lady Of Grace Roman Catholic Congregation, Incorporated    c/o Gallagher Evelius & Jones LLP                        Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Our Lady Of Grace School Inc                                   c/o Gallagher Evelius & Jones LLP                        Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Of Guadalupe                                          California Inland Empire Council 045                     5048 D St                                                             Chino, CA 91710‐4027                                                                                    First Class Mail
Chartered Organization         Our Lady Of Guadalupe                                          Garden State Council 690                                 135 N White Horse Pike                                                Laurel Springs, NJ 08021‐1648                                                                           First Class Mail
Chartered Organization         Our Lady Of Guadalupe                                          Chief Seattle Council 609                                7000 35th Ave Sw                                                      Seattle, WA 98126‐3212                                                                                  First Class Mail
Chartered Organization         Our Lady Of Guadalupe Catholic Church                          South Florida Council 084                                3900 NW 79th Ave, Ste 731                                             Doral, FL 33166‐6551                                                                                    First Class Mail
Chartered Organization         Our Lady Of Guadalupe Catholic Church                          San Diego Imperial Council 049                           153 E Brighton Ave                                                    El Centro, CA 92243‐2633                                                                                First Class Mail
Chartered Organization         Our Lady Of Guadalupe Catholic Church                          San Francisco Bay Area Council 028                       41933 Blacow Rd                                                       Fremont, CA 94538‐3365                                                                                  First Class Mail
Chartered Organization         Our Lady Of Guadalupe Catholic Church                          Orange County Council 039                                900 W La Habra Blvd                                                   La Habra, CA 90631‐5316                                                                                 First Class Mail
Chartered Organization         Our Lady Of Guadalupe Catholic Church                          Rio Grande Council 775                                   620 N Dunlap Ave                                                      Mission, TX 78572‐5150                                                                                  First Class Mail
Chartered Organization         Our Lady Of Guadalupe Catholic Church                          Northern Star Council 250                                401 Concord St                                                        Saint Paul, MN 55107‐2475                                                                               First Class Mail
Chartered Organization         Our Lady Of Guadalupe Catholic Church                          East Texas Area Council 585                              922 Old Omen Rd                                                       Tyler, TX 75701‐3709                                                                                    First Class Mail
Chartered Organization         Our Lady Of Guadalupe Church Rosehills                         Greater Los Angeles Area 033                             4509 Mercury Ave                                                      Los Angeles, CA 90032‐1832                                                                              First Class Mail
Voting Party                   Our Lady Of Guadalupe Church Rosehills                         c/o Archdiocese of Los Angeles                           Attn: Margaret Graf, General Counsel                                  3424 Wilshire Blvd               Los Angeles, CA 90010              legal@la‐archdiocese.org            Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Of Guadalupe Rc Church                                Washington Crossing Council 777                          5194 Cold Spring Creamery Rd                                          Doylestown, PA 18902‐1253                                                                               First Class Mail
Chartered Organization         Our Lady Of Guadalupe/Helotes                                  Alamo Area Council 583                                   13715 Riggs Rd                                                        Helotes, TX 78023‐3917                                                                                  First Class Mail
Voting Party                   Our Lady Of Guadalupe‐St. Bernard                              Attn: Monsignor Joseph Lamorte                           1011 1st Ave                                                          New York, NY 10022                                                  Msgr.Joseph.LaMorte@archny.org      Email
                                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Our Lady Of Hope                                               Lake Erie Council 440                                    400 Center Rd                                                         Bedford, OH 44146‐2216                                                                                  First Class Mail
Chartered Organization         Our Lady Of Hope Catholic Church                               Central Florida Council 083                              4675 Clyde Morris Blvd                                                Port Orange, FL 32129‐4064                                                                              First Class Mail
Chartered Organization         Our Lady Of Hope Catholic Church                               National Capital Area Council 082                        46639 Algonkian Pkwy                                                  Sterling, VA 20165‐2809                                                                                 First Class Mail
Chartered Organization         Our Lady Of Hope Parish                                        Garden State Council 690                                 701 Little Gloucester Rd                                              Blackwood, NJ 08012‐4585                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                          Page 290 of 442
                                                                                  Case 20-10343-LSS                                                    Doc 8171                                             Filed 01/06/22                                                   Page 306 of 457
                                                                                                                                                                                               Exhibit B
                                                                                                                                                                                                Service List
                                                                                                                                                                                         Served as set forth below

        Description                                                        Name                                                                                                              Address                                                                                                              Email              Method of Service
Chartered Organization         Our Lady Of Hope Parish                                                  Twin Rivers Council 364                   115 Reid St                                                      Fort Plain, NY 13339                                                                                   First Class Mail
Voting Party                   Our Lady Of Hope RC Church                                               c/o Cullen and Dykman LLP                 Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Hope Roman Catholic Church                                   Baltimore Area Council 220                1727 Lynch Rd                                                    Dundalk, MD 21222‐3333                                                                                 First Class Mail
Voting Party                   Our Lady Of Hope Roman Catholic Cong Inc                                 Attn: Matthew W Oakey                     218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                 moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Hope Roman Catholic Congregation Inc                         c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Hope St Luke School                                          Attn: Matthew W Oakey                     218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                 moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Hope/St Luke School Inc                                      c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Humility Catholic Church                                     Northeast Illinois 129                    10655 W Wadsworth Rd                                             Beach Park, IL 60099‐3558                                                                              First Class Mail
Voting Party                   Our Lady Of La Vang Roman Catholic Congregation, Incorporated            c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of La Vang Roman Catholic Congregaton, Incorporated             c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Lakes/Oak Co Sportsman Club                                  Great Lakes Fsc 272                       4770 Waterford Rd                                                Clarkston, MI 48346‐3453                                                                               First Class Mail
Chartered Organization         Our Lady Of Las Vegas Catholic Church                                    Las Vegas Area Council 328                3050 Alta Dr                                                     Las Vegas, NV 89107‐3202                                                                               First Class Mail
Chartered Organization         Our Lady Of Lavang Catholic Church                                       Sam Houston Area Council 576              12320 Old Foltin Rd                                              Houston, TX 77086‐3514                                                                                 First Class Mail
Chartered Organization         Our Lady Of Lavang Parish                                                Cascade Pacific Council 492               5404 NE Alameda St                                               Portland, OR 97213‐3418                                                                                First Class Mail
Chartered Organization         Our Lady Of Loreto Catholic Church                                       Denver Area Council 061                   18000 E Arapahoe Rd                                              Foxfield, CO 80016‐1576                                                                                First Class Mail
Voting Party                   Our Lady Of Loretto                                                      c/o Cullen and Dykman LLP                 Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Loretto Church                                               Pathway To Adventure 456                  8925 S Kostner Ave                                               Hometown, IL 60456‐1006                                                                                First Class Mail
Chartered Organization         Our Lady Of Lourdes                                                      Bay‐Lakes Council 635                     1305 Lourdes Ave                                                 De Pere, WI 54115‐1018                                                                                 First Class Mail
Chartered Organization         Our Lady Of Lourdes                                                      Three Harbors Council 636                 3722 S 58th St                                                   Milwaukee, WI 53220‐2053                                                                               First Class Mail
Chartered Organization         Our Lady Of Lourdes                                                      Occoneechee 421                           2710 Overbrook Dr                                                Raleigh, NC 27608‐1524                                                                                 First Class Mail
Chartered Organization         Our Lady Of Lourdes                                                      Seneca Waterways 397                      150 Varinna Dr                                                   Rochester, NY 14618‐1532                                                                               First Class Mail
Chartered Organization         Our Lady Of Lourdes                                                      Southeast Louisiana Council 214           345 Westchester Pl                                               Slidell, LA 70458‐5243                                                                                 First Class Mail
Voting Party                   Our Lady Of Lourdes                                                      Attn: Andre L Kydala                      54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                      First Class Mail
Chartered Organization         Our Lady Of Lourdes ‐ Washington                                         Greater St Louis Area Council 312         1014 Madison Ave                                                 Washington, MO 63090‐4806                                                                              First Class Mail
Voting Party                   Our Lady Of Lourdes (Malverne, NY)                                       c/o Cullen and Dykman LLP                 Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Lourdes (West Islip, NY)                                     c/o Cullen and Dykman LLP                 Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Laurel Highlands Council 527              2716 Broad Ave                                                   Altoona, PA 16601‐1712                                                                                 First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      National Capital Area Council 082         830 23rd St S                                                    Arlington, VA 22202‐2445                                                                               First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Illowa Council 133                        1506 Brown St                                                    Bettendorf, IA 52722‐4915                                                                              First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Dan Beard Council, Bsa 438                2832 Rosebud Dr                                                  Cincinnati, OH 45238‐2029                                                                              First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Great Rivers Council 653                  903 Bemadotle Dr                                                 Columbia, MO 65203                                                                                     First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Great Rivers Council 653                  903 Bernadette Dr                                                Columbia, MO 65203‐1022                                                                                First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Greater St Louis Area Council 312         3850 Lourdes Dr                                                  Decatur, IL 62526‐1753                                                                                 First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Greater Tampa Bay Area 089                750 San Salvador Dr                                              Dunedin, FL 34698‐3416                                                                                 First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Sam Houston Area Council 576              6550 Fairbanks N Houston Rd                                      Houston, TX 77040‐4307                                                                                 First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Lincoln Heritage Council 205              508 Breckenridge Ln                                              Louisville, KY 40207‐3833                                                                              First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Simon Kenton Council 441                  1033 W 5th St                                                    Marysville, OH 43040‐8667                                                                              First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Mid‐America Council 326                   2110 S 32nd Ave                                                  Omaha, NE 68105‐3110                                                                                   First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Ozark Trails Council 306                  109 E 9th St                                                     Pittsburg, KS 66762‐3912                                                                               First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Heart of Virginia Council 602             8200 Woodman Rd                                                  Richmond, VA 23228‐3237                                                                                First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Greater St Louis Area Council 312         7148 Forsyth Blvd                                                Saint Louis, MO 63105‐2123                                                                             First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Church                                      Great Salt Lake Council 590               1085 E 700 S                                                     Salt Lake City, UT 84102‐3929                                                                          First Class Mail
Voting Party                   Our Lady Of Lourdes Catholic Church, Indianapolis, Inc.                  Attn: John S Mercer                       1400 N Meridian St                                               Indianapolis, IN 46202                                              jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Lourdes Catholic Parish                                      Crossroads of America 160                 5333 E Washington St                                             Indianapolis, IN 46219‐6436                                                                            First Class Mail
Voting Party                   Our Lady Of Lourdes Catholic School                                      Attn: Msgr Joseph Lamorte                 1011 1st Ave                                                     New York, NY 10022                                                  kross@mcgivneyandkluger.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Lourdes Catholic Schoolour Lady Of Lourdes Catholic School   c/o Mcgivney Kluger Clark & Intoccia Pc   Attn: Kenneth Ross                                               80 Broad St, 23rd Fl             New York, NY 10004                 kross@mcgivneyandkluger.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Lourdes Church                                               New Birth of Freedom 544                  225 Salt Rd                                                      Enola, PA 17025‐2022                                                                                   First Class Mail
Chartered Organization         Our Lady Of Lourdes Church                                               Central Minnesota 296                     208 W Broadway                                                   Little Falls, MN 56345‐1533                                                                            First Class Mail
Voting Party                   Our Lady Of Lourdes Church                                               c/o Woods Oviatt Gilman LLP               Attn: Timothy P Lyster, Esq                                      1900 Bausch & Lomb Pl            Rochester, NY 14604                tlyster@woodsoviatt.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Lourdes Mens Club                                            W.L.A.C.C. 051                            18405 Superior St                                                Northridge, CA 91325‐1745                                                                              First Class Mail
Voting Party                   Our Lady Of Lourdes Mens Club                                            c/o Archdiocese of Los Angeles            Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd               Los Angeles, CA 90010              legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Lourdes Parish                                               Cascade Pacific Council 492               4723 NW Franklin St                                              Vancouver, WA 98663‐1718                                                                               First Class Mail
Chartered Organization         Our Lady Of Lourdes Parish And School                                    South Florida Council 084                 11291 SW 142nd Ave                                               Miami, FL 33186‐7056                                                                                   First Class Mail
Chartered Organization         Our Lady Of Lourdes R C Church                                           Connecticut Rivers Council, Bsa 066       1650 Route 12                                                    Gales Ferry, CT 06335‐1534                                                                             First Class Mail
Chartered Organization         Our Lady Of Lourdes R C Church                                           American Legion Post 44                   65 Wright Ave                                                    Malverne, NY 11565‐2145                                                                                First Class Mail
Chartered Organization         Our Lady Of Lourdes R C Church                                           Leatherstocking 400                       10 Barton Ave                                                    Utica, NY 13502‐5804                                                                                   First Class Mail
Chartered Organization         Our Lady Of Lourdes R C Church                                           Leatherstocking 400                       2 Barton Ave                                                     Utica, NY 13502‐5804                                                                                   First Class Mail
Chartered Organization         Our Lady Of Lourdes R C Church                                           Suffolk County Council Inc 404            455 Hunter Ave                                                   West Islip, NY 11795‐1600                                                                              First Class Mail
Chartered Organization         Our Lady Of Lourdes School                                               Montana Council 315                       1305 5th Ave S                                                   Great Falls, MT 59405‐2381                                                                             First Class Mail
Chartered Organization         Our Lady Of Mercy                                                        Iroquois Trail Council 376                44 Lake St                                                       Le Roy, NY 14482‐1046                                                                                  First Class Mail
Voting Party                   Our Lady Of Mercy                                                        Attn: Andre L Kydala                      54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                      First Class Mail
Chartered Organization         Our Lady Of Mercy Catholic Church                                        Three Fires Council 127                   701 S Eola Rd                                                    Aurora, IL 60504‐8914                                                                                  First Class Mail
Chartered Organization         Our Lady Of Mercy Catholic Church                                        Attn: Father Domingo Orimaco              1 Elmwood Dr                                                     Daly City, CA 94015‐3424                                                                               First Class Mail
Chartered Organization         Our Lady Of Mercy Catholic Church                                        French Creek Council 532                  837 Bartlett Rd                                                  Harborcreek, PA 16421‐1130                                                                             First Class Mail
Chartered Organization         Our Lady Of Mercy Church                                                 Pathway To Adventure 456                  4432 N Troy St                                                   Chicago, IL 60625‐4520                                                                                 First Class Mail
Chartered Organization         Our Lady Of Mercy Church                                                 Old Hickory Council 427                   1730 Link Rd                                                     Winston Salem, NC 27103‐4626                                                                           First Class Mail
Voting Party                   Our Lady Of Mercy Church                                                 c/o Cullen and Dykman LLP                 Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Mercy Parish                                                 National Capital Area Council 082         9200 Kentsdale Dr                                                Potomac, MD 20854‐4529                                                                                 First Class Mail
Chartered Organization         Our Lady Of Mercy Roman Catholic Church                                  Istrouma Area Council 211                 445 Marquette Ave                                                Baton Rouge, LA 70806‐4422                                                                             First Class Mail
Chartered Organization         Our Lady Of Mercy Roman Catholic Church                                  Greater New York Councils, Bsa 640        7001 Kessel St                                                   Forest Hills, NY 11375‐5843                                                                            First Class Mail
Chartered Organization         Our Lady Of Mercy Roman Catholic Church                                  Northern New Jersey Council, Bsa 333      2 Fremont Ave                                                    Park Ridge, NJ 07656‐2036                                                                              First Class Mail
Voting Party                   Our Lady Of Miraculous Medal Rc Church (Wyandanch)                       c/o Cullen and Dykman LLP                 Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Mount Carmel                                                 Lincoln Heritage Council 205              5505 New Cut Rd                                                  Louisville, KY 40214‐4329                                                                              First Class Mail
Chartered Organization         Our Lady Of Mount Carmel                                                 Pathway To Adventure 456                  1101 N 23rd Ave                                                  Melrose Park, IL 60160‐3139                                                                            First Class Mail
Voting Party                   Our Lady Of Mount Carmel                                                 c/o Cullen and Dykman LLP                 Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Mount Carmel                                                 Attn: Andre L Kydala                      54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                      First Class Mail
Chartered Organization         Our Lady Of Mount Carmel Academy                                         Pathway To Adventure 456                  720 W Belmont Ave                                                Chicago, IL 60657‐4513                                                                                 First Class Mail
Chartered Organization         Our Lady Of Mount Carmel Church                                          Patriots Path Council 358                 910 Birch St                                                     Boonton, NJ 07005‐1402                                                                                 First Class Mail
Chartered Organization         Our Lady Of Mount Carmel Church                                          Colonial Virginia Council 595             Catholic Diocese Of                                              Richmond Bsa, Inc                Newport News, VA 23601                                                First Class Mail
Chartered Organization         Our Lady Of Mount Carmel R.C. Church                                     Connecticut Yankee Council Bsa 072        2819 Whitney Ave                                                 Hamden, CT 06518‐2544                                                                                  First Class Mail
Chartered Organization         Our Lady Of Mount Carmel Rc Church                                       Washington Crossing Council 777           235 State St                                                     Doylestown, PA 18901                                                                                   First Class Mail
Voting Party                   Our Lady Of Mount Carmel Roman Catholic Congregation Inc                 c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Mount Carmel School                                          Westchester Putnam 388                    59 E Main St                                                     Elmsford, NY 10523‐3116                                                                                First Class Mail
Voting Party                   Our Lady Of Mount Carmel School                                          Attn: Matthew W Oakey                     218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                 moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Mount Carmel School Inc                                      c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Mount Carmel Thurmont                                        Attn: Matthew W Oakey                     218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                 moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Mount Carmel, Thurmont, Roman Catholic Congregation Inc      c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400        Baltimore, MD 21201                Moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Mount Virgin                                                 Attn: Andre L Kydala                      54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                      First Class Mail
Chartered Organization         Our Lady Of Mt Carmel                                                    Los Padres Council 053                    1300 E Valley Rd                                                 Santa Barbara, CA 93108‐1203                                                                           First Class Mail
Chartered Organization         Our Lady Of Mt Carmel Catholic Church                                    Crossroads of America 160                 14598 Oak Ridge Rd                                               Carmel, IN 46032‐1201                                                                                  First Class Mail
Chartered Organization         Our Lady Of Mt Carmel Catholic Church                                    Greater St Louis Area Council 312         316 W Monroe St                                                  Herrin, IL 62948‐1720                                                                                  First Class Mail
Chartered Organization         Our Lady Of Mt Carmel Catholic Church                                    South Texas Council 577                   1008 Austin St                                                   Portland, TX 78374‐2012                                                                                First Class Mail
Chartered Organization         Our Lady Of Mt Carmel Catholic Church                                    Minsi Trails Council 502                  560 N 6th St                                                     Roseto, PA 18013‐1752                                                                                  First Class Mail
Chartered Organization         Our Lady Of Mt Carmel Catholic Church                                    San Diego Imperial Council 049            13541 Stoney Creek Rd                                            San Diego, CA 92129‐2050                                                                               First Class Mail
Voting Party                   Our Lady Of Mt Carmel Catholic Church Carmel, In 46032                   Attn: Matt Mckillip                       610 Lingle Ave                                                   P.O. Box 260                     Lafayette, IN 47902                mmckillip@dol‐in.org               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Mt Carmel Church                                             Suffolk County Council Inc 404            495 N Ocean Ave                                                  Patchogue, NY 11772‐1758                                                                               First Class Mail
Chartered Organization         Our Lady Of Mt Carmel Church                                             Allegheny Highlands Council 382           13 Main St                                                       Silver Creek, NY 14136                                                                                 First Class Mail
Chartered Organization         Our Lady Of Mt Carmel Holy Name Society                                  Greater St Louis Area Council 312         8747 Annetta Ave                                                 Saint Louis, MO 63147‐1602                                                                             First Class Mail
Chartered Organization         Our Lady Of Mt Carmel Roman Catholic                                     Northern New Jersey Council, Bsa 333      39 E 22nd St                                                     Bayonne, NJ 07002‐3753                                                                                 First Class Mail
Voting Party                   Our Lady Of Mt Carmel Roman Catholic Congregation Inc                    c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Mt Carmel, Tenafly NJ                                        Northern New Jersey Council, Bsa 333      10 County Rd                                                     Tenafly, NJ 07670‐2105                                                                                 First Class Mail
Chartered Organization         Our Lady Of Mt Carmel, Tenafly NJ                                        Northern New Jersey Council, Bsa 333      10 County Rd                                                     Tenafly, NJ 07670‐2105                                                                                 First Class Mail
Chartered Organization         Our Lady Of Mt. Carmel Church                                            Rainbow Council 702                       407 Irving St                                                    Joliet, IL 60432‐1835                                                                                  First Class Mail
Chartered Organization         Our Lady Of Nazareth Catholic Church                                     Blue Ridge Mtns Council 599               2505 Electric Rd                                                 Roanoke, VA 24018‐3524                                                                                 First Class Mail
Voting Party                   Our Lady Of Our Lady Of Perpetual Help Roman Catholic Church             Attn: Susan Zeringue                      7887 Walmsley Ave                                                New Orleans, LA 70125                                               szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Peace                                                        Theodore Roosevelt Council 386            25 Fowler Ave                                                    Lynbrook, NY 11563‐2026                                                                                First Class Mail
Chartered Organization         Our Lady Of Peace                                                        Northern Star Council 250                 5426 12th Ave S                                                  Minneapolis, MN 55417‐2510                                                                             First Class Mail
Chartered Organization         Our Lady Of Peace Catholic Church                                        Simon Kenton Council 441                  20 E Dominion Blvd                                               Columbus, OH 43214‐2737                                                                                First Class Mail
Chartered Organization         Our Lady Of Peace Catholic Church                                        Pathway To Adventure 456                  701 Plainfield Rd                                                Darien, IL 60561‐4213                                                                                  First Class Mail
Chartered Organization         Our Lady Of Peace Church                                                 French Creek Council 532                  2401 W 38th St                                                   Erie, PA 16506‐4585                                                                                    First Class Mail
Chartered Organization         Our Lady Of Peace Church                                                 Voyageurs Area 286                        108 S Marquette St                                               Ironwood, MI 49938‐2060                                                                                First Class Mail
Voting Party                   Our Lady Of Peace Fords                                                  Attn: Andre L Kydala                      54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                      First Class Mail
Voting Party                   Our Lady Of Peace North Brunswick                                        Attn: Andre L Kydala                      54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                      First Class Mail
Chartered Organization         Our Lady Of Peace Parish                                                 Garden State Council 690                  32 Carroll Ave                                                   Williamstown, NJ 08094‐1713                                                                            First Class Mail
Chartered Organization         Our Lady Of Peace R C Church                                             French Creek Council 532                  2401 W 38th St                                                   Erie, PA 16506‐4585                                                                                    First Class Mail
Chartered Organization         Our Lady Of Peace R.C. Church                                            Connecticut Yankee Council Bsa 072        651 Stratford Rd                                                 Stratford, CT 06615                                                                                    First Class Mail
Chartered Organization         Our Lady Of Peace Roman Catholic Church                                  Patriots Path Council 358                 111 South St                                                     New Providence, NJ 07974‐1958                                                                          First Class Mail
Chartered Organization         Our Lady Of Peace Roman Catholic Church                                  Monmouth Council, Bsa 347                 277 Washington Pl                                                North Brunswick, NJ 08902‐3032                                                                         First Class Mail
Chartered Organization         Our Lady Of Peace Roman Catholic Church                                  Monmouth Council, Bsa 347                 1740 US Hwy 130                                                  North Brunswick, NJ 08902‐3067                                                                         First Class Mail
Chartered Organization         Our Lady Of Perpetual Help                                               Minsi Trails Council 502                  3219 Santee Rd                                                   Bethlehem, PA 18020‐2833                                                                               First Class Mail
Chartered Organization         Our Lady Of Perpetual Help                                               South Texas Council 577                   5830 Williams Dr                                                 Corpus Christi, TX 78412‐4415                                                                          First Class Mail
Chartered Organization         Our Lady Of Perpetual Help                                               Simon Kenton Council 441                  3730 Broadway                                                    Grove City, OH 43123‐2235                                                                              First Class Mail
Chartered Organization         Our Lady Of Perpetual Help                                               W.L.A.C.C. 051                            23233 Lyons Ave                                                  Newhall, CA 91321‐2632                                                                                 First Class Mail
Voting Party                   Our Lady Of Perpetual Help                                               c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400        Baltimore, MD 21201                Moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Perpetual Help                                               Attn: Andre L Kydala                      54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                      First Class Mail
Voting Party                   Our Lady Of Perpetual Help Catholic Church, New Albany, Inc              Attn: John S Mercer                       1400 N Meridian St                                               Indianapolis, IN 46202                                              jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Perpetual Help Church                                        Great Trail 433                           342 S Chillicothe Rd                                             Aurora, OH 44202‐7814                                                                                  First Class Mail
Chartered Organization         Our Lady Of Perpetual Help Church                                        Southern Sierra Council 030               124 Columbus St                                                  Bakersfield, CA 93305‐1705                                                                             First Class Mail
Chartered Organization         Our Lady Of Perpetual Help Church                                        Southeast Louisiana Council 214           8968 Hwy 23                                                      Belle Chasse, LA 70037‐2237                                                                            First Class Mail
Chartered Organization         Our Lady Of Perpetual Help Church                                        Alamo Area Council 583                    16075 N Evans Rd                                                 Selma, TX 78154‐3824                                                                                   First Class Mail
Voting Party                   Our Lady Of Perpetual Help Church                                        c/o Cullen and Dykman LLP                 Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Perpetual Help Edgewater                                     Attn: Matthew W Oakey                     218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                 moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Perpetual Help Ilchester Roman Catholic                      c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Perpetual Help Parish                                        Jersey Shore Council 341                  146 S Pitney Rd Bldg 1                                           Galloway, NJ 08205‐9618                                                                                First Class Mail
Chartered Organization         Our Lady Of Perpetual Help Parish                                        Grand Canyon Council 010                  7655 E Main St                                                   Scottsdale, AZ 85251‐4606                                                                              First Class Mail
Chartered Organization         Our Lady Of Perpetual Help Parish Selma                                  Alamo Area Council 583                    16075 N Evans Rd                                                 Selma, TX 78154‐3824                                                                                   First Class Mail
Chartered Organization         Our Lady Of Perpetual Help R C Church                                    Baltimore Area Council 220                4795 Ilchester Rd                                                Ellicott City, MD 21043‐6821                                                                           First Class Mail
Voting Party                   Our Lady Of Perpetual Help, Edgewater, Roman Catholic Congregation Inc   c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Poland R.C. Church                                           c/o Cullen and Dykman LLP                 Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Pompei Roman Catholic Congregation, Incorporated             c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Pompeii RC Church                                            Greater Niagara Frontier Council 380      158 Laverack Ave                                                 Lancaster, NY 14086‐1849                                                                               First Class Mail
Voting Party                   Our Lady Of Prompei Roman Catholic Congregation Inc                      c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Prompt Succor                                                Louisiana Purchase Council 213            401 21st St                                                      Alexandria, LA 71301‐6548                                                                              First Class Mail
Chartered Organization         Our Lady Of Prompt Succor                                                Southeast Louisiana Council 214           2320 Paris Rd                                                    Chalmette, LA 70043‐5026                                                                               First Class Mail
Chartered Organization         Our Lady Of Prompt Succor Church                                         Southeast Louisiana Council 214           146 4th St                                                       Bridge City, LA 70094                                                                                  First Class Mail
Voting Party                   Our Lady Of Prompt Succor Roman Catholic Church, Chalmette               Attn: Susan A Zeringue, General Counsel   7887 Walmsley Ave                                                New Orleans, LA 70125                                               szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Prompt Succor Roman Catholic Church, Chalmette               Attn: Susan Zeringue, General Counsel     7887 Walmsley Ave                                                New Orleans, LA 70125                                               szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Prompt Succor Roman Catholic Church, Westwego, La            Attn: Susan A Zeringue                    7887 Walmsley Ave                                                New Orleans, LA 70125                                               szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Our Lady Of Prompt Succor Roman Catholic Church, Westwego, Louisiana     Attn: Susan A Zeringue                    7887 Walmsley Ave                                                New Orleans, LA 70125                                               szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Our Lady Of Prompt Succor School                                         Southeast Louisiana Council 214           2305 Fenelon St                                                  Chalmette, LA 70043‐4951                                                                               First Class Mail
Chartered Organization         Our Lady Of Providence Youth Act Asso                                    Greater St Louis Area Council 312         8866 Pardee Rd                                                   Saint Louis, MO 63123‐1017                                                                             First Class Mail
Chartered Organization         Our Lady Of Queen Of Heaven Cath Church                                  Calcasieu Area Council 209                612 W Claude St                                                  Lake Charles, LA 70605‐3410                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                Page 291 of 442
                                                                                   Case 20-10343-LSS                                                                     Doc 8171                                                  Filed 01/06/22                                                     Page 307 of 457
                                                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                                                      Service List
                                                                                                                                                                                                               Served as set forth below

        Description                                                         Name                                                                                                                                    Address                                                                                                                Email              Method of Service
Chartered Organization         Our Lady Of Refuge Catholic School                                        Long Beach Area Council 032                                5210 E Los Coyotes Diagonal                                           Long Beach, CA 90815‐1925                                                                                First Class Mail
Voting Party                   Our Lady Of Refuge Catholic School                                        c/o Archdiocese of Los Angeles                             Attn: Margaret Graf, General Counsel                                  3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Our Lady Of Refuge Church                                                 Attn: Monsignor Joseph Lamorte                             1011 1st Ave                                                          New York, NY 10022                                                    kross@mcgivneyandkluger.com        Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of Sorrows                                                       Rio Grande Council 775                                     1108 W Hackberry Ave                                                  Mcallen, TX 78501‐4304                                                                                   First Class Mail
Chartered Organization         Our Lady Of Sorrows Catholic Church                                       Greater Alabama Council 001                                3295 Parkridge Dr                                                     Birmingham, AL 35209‐4060                                                                                First Class Mail
Chartered Organization         Our Lady Of Sorrows Catholic Church                                       Rio Grande Council 775                                     1108 W Hackberry Ave                                                  Mcallen, TX 78501‐4304                                                                                   First Class Mail
Chartered Organization         Our Lady Of Sorrows Catholic School                                       Greater Alabama Council 001                                1720 Oxmoor Rd                                                        Birmingham, AL 35209‐4029                                                                                First Class Mail
Chartered Organization         Our Lady Of Sorrows Church                                                Greater St Louis Area Council 312                          5020 Rhodes Ave                                                       Saint Louis, MO 63109‐3520                                                                               First Class Mail
Chartered Organization         Our Lady Of Sorrows Parish                                                Great Lakes Fsc 272                                        23615 Power Rd                                                        Farmington, MI 48336                                                                                     First Class Mail
Chartered Organization         Our Lady Of Sorrows Parish                                                Mayflower Council 251                                      59 Cottage St                                                         Sharon, MA 02067‐2132                                                                                    First Class Mail
Voting Party                   Our Lady Of Sorrows Roman Catholic Congregation Inc                       c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Our Lady Of Sorrows' Roman Catholic Congregation Inc                      c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of Sorrows St Anthony                                            Roman Catholic Church                                      3816 E State St Ext                                                   Hamilton, NJ 08619‐2450                                                                                  First Class Mail
Chartered Organization         Our Lady Of Tepeyac Elementary School                                     Pathway To Adventure 456                                   2235 S Albany Ave                                                     Chicago, IL 60623‐3414                                                                                   First Class Mail
Voting Party                   Our Lady Of The Angels Catholic Community Inc                             c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Our Lady Of The Assumption                                                Attn: Theresa A Driscoll                                   1 Molloy St                                                           Copiague, NY 11726                                                    tdriscoll@moritthock.com           Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Assumption Church                                         California Inland Empire Council 045                       796 W 48th St                                                         San Bernardino, CA 92407‐3550                                                                            First Class Mail
Chartered Organization         Our Lady Of The Assumption Church                                         Ventura County Council 057                                 3175 Telegraph Rd                                                     Ventura, CA 93003‐3218                                                                                   First Class Mail
Voting Party                   Our Lady Of The Assumption Church                                         c/o Archdiocese of Los Angeles                             Attn: Margaret Graf, General Counsel                                  3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Assumption Rc Church                                      Greater New York Councils, Bsa 640                         1634 Mahan Ave                                                        Bronx, NY 10461‐5205                                                                                     First Class Mail
Chartered Organization         Our Lady Of The Black Hills                                               Black Hills Area Council 695 695                           12365 Sturgis Rd                                                      Piedmont, SD 57769‐4001                                                                                  First Class Mail
Chartered Organization         Our Lady Of The Blessed Sacrament Parish                                  Western Massachusetts Council 234                          6 Union St                                                            Westfield, MA 01085                                                                                      First Class Mail
Voting Party                   Our Lady Of The Chesapeake Roman Catholic Congregation, Inc               c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Desert Catholic Church                                    California Inland Empire Council 045                       18386 Corwin Rd                                                       Apple Valley, CA 92307‐2328                                                                              First Class Mail
Voting Party                   Our Lady Of The Fields, Millersville, Roman Catholic Congregation Inc     c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Our Lady Of The Greenwood Catholic Church, Inc                            Attn: John S Mercer                                        1400 N Meridian St                                                    Indianapolis, IN 46202                                                jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Gulf                                                      Pine Burr Area Council 304                                 228 S Beach Blvd                                                      Bay Saint Louis, MS 39520‐4320                                                                           First Class Mail
Chartered Organization         Our Lady Of The Gulf Catholic Church                                      Mobile Area Council‐Bsa 004                                308 E 22nd Ave                                                        Gulf Shores, AL 36542‐3172                                                                               First Class Mail
Chartered Organization         Our Lady Of The Gulf Church                                               Pine Burr Area Council 304                                 228 S Beach Blvd                                                      Bay Saint Louis, MS 39520‐4320                                                                           First Class Mail
Chartered Organization         Our Lady Of The Hills Catholic Church                                     Indian Waters Council 553                                  120 Marydale Ln                                                       Columbia, SC 29210‐5635                                                                                  First Class Mail
Chartered Organization         Our Lady Of The Holy Rosary Church                                        Green Mountain 592                                         P.O. Box 243                                                          Richmond, VT 05477‐0243                                                                                  First Class Mail
Voting Party                   Our Lady Of The Isle                                                      c/o Cullen and Dykman LLP                                  Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd          Garden City, NY 11530             MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Lake                                                      Voyageurs Area 286                                         201 Lake Shore Dr E                                                   Ashland, WI 54806‐1736                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Lake                                                      Lake Erie Council 440                                      19951 Lake Shore Blvd                                                 Euclid, OH 44119‐1066                                                                                    First Class Mail
Chartered Organization         Our Lady Of The Lake                                                      Mayflower Council 251                                      P.O. Box 35                                                           Halifax, MA 02338‐0035                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Lake Catholic Church                                      Indian Waters Council 553                                  195 Amicks Ferry Rd                                                   Chapin, SC 29036‐8370                                                                                    First Class Mail
Chartered Organization         Our Lady Of The Lake Catholic Church                                      Cascade Pacific Council 492                                650 A Ave                                                             Lake Oswego, OR 97034‐2943                                                                               First Class Mail
Chartered Organization         Our Lady Of The Lake Catholic Church                                      Istrouma Area Council 211                                  312 Lafitte St                                                        Mandeville, LA 70448‐5827                                                                                First Class Mail
Voting Party                   Our Lady Of The Lake Catholic Parish (Edwardsburg)                        Attn: Cindy Antos                                          24832 US Hwy 12 E                                                     Edwardsburg, MI 49112                                                 cantos2@comcast.net                Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Lake Church                                               French Creek Council 532                                   128 Sunset Dr                                                         Edinboro, PA 16412‐2417                                                                                  First Class Mail
Chartered Organization         Our Lady Of The Lake Church                                               Lasalle Council 165                                        24832 US Hwy 12                                                       Edwardsburg, MI 49112‐8900                                                                               First Class Mail
Chartered Organization         Our Lady Of The Lake Church                                               Northern Star Council 250                                  2385 Commerce Blvd                                                    Mound, MN 55364‐1427                                                                                     First Class Mail
Chartered Organization         Our Lady Of The Lake Church                                               c/o Cub Scout Pack 80                                      294 Sparta Ave                                                        Sparta, NJ 07871‐1161                                                                                    First Class Mail
Chartered Organization         Our Lady Of The Lake Parish                                               Chief Seattle Council 609                                  8900 35th Ave Ne                                                      Seattle, WA 98115‐3613                                                                                   First Class Mail
Voting Party                   Our Lady Of The Lake Roman Catholic Church                                Attn: Susan A Zeringue, General Counsel                    7887 Walmsley Ave                                                     New Orleans, LA 70125                                                 szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Our Lady Of The Lake Roman Catholic Church, Mandeville, La                Attn: Susan Zeringue                                       7887 Walmsley Ave                                                     New Orleans, LA 70125                                                 szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Lakes Catholic Church                                     South Florida Council 084                                  6600 Miami Lakeway N                                                  Miami Lakes, FL 33014‐5584                                                                               First Class Mail
Chartered Organization         Our Lady Of The Lakes Church                                              Connecticut Rivers Council, Bsa 066                        752 Norwich Salem Tpke                                                Oakdale, CT 06370‐1016                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Lakes Parish                                              Great Lakes Fsc 272                                        5481 Dixie Hwy                                                        Waterford, MI 48329‐1614                                                                                 First Class Mail
Voting Party                   Our Lady Of The Magnificat Catholic Church                                c/o Cullen and Dykman LLP                                  Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd          Garden City, NY 11530             MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Miraculous Medal Church                                   Daniel Webster Council, Bsa 330                            289 Lafayette Rd                                                      Hampton, NH 03842‐2108                                                                                   First Class Mail
Voting Party                   Our Lady Of The Miraculous Medal Church                                   c/o Westerman Ball Ederer Miller Zucker & Sharfstein LLP   Attn: Jw/Wch                                                          1201 Rxr Plz                        Uniondale, NY 11556               wheuer@westermanllp.com            Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Most Blessed Sacrament                                    Laurel Highlands Council 527                               1526 Union Ave                                                        Natrona Heights, PA 15065‐2008                                                                           First Class Mail
Chartered Organization         Our Lady Of The Most Holy Rosary                                          Evangeline Area 212                                        603 N Hebert Ave                                                      Kaplan, LA 70548‐3233                                                                                    First Class Mail
Voting Party                   Our Lady Of The Most Holy Rosary Catholic Church, Indianapolis            Attn: John S Mercer                                        1400 N Meridian St                                                    Indianapolis, IN 46202                                                jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Our Lady Of The Mount                                                     Attn: Andre L Kydala                                       54 Old Hwy 22                                                         Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         Our Lady Of The Mountain Catholic Church                                  Catalina Council 011                                       1425 E Yaqui St                                                       Sierra Vista, AZ 85650‐8921                                                                              First Class Mail
Voting Party                   Our Lady Of The Mountain Roman Catholic Congregation Inc                  c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Our Lady Of The Mountains Roman Catholic Cong                             Attn: Matthew W Oakey                                      218 N Charles St, Ste 400                                             Baltimore, MD 21201                                                   moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Presentation Church                                       Heart of America Council 307                               130 NW Murray Rd                                                      Lees Summit, MO 64081‐1558                                                                               First Class Mail
Chartered Organization         Our Lady Of The Rosary Catholic Church                                    Greater Tampa Bay Area 089                                 2348 Collier Pkwy                                                     Land O Lakes, FL 34639‐5292                                                                              First Class Mail
Chartered Organization         Our Lady Of The Rosary Church                                             Dan Beard Council, Bsa 438                                 17 Farragut Rd                                                        Cincinnati, OH 45218‐1401                                                                                First Class Mail
Chartered Organization         Our Lady Of The Rosary Church                                             Longhouse Council 373                                      103 W 7th St                                                          Oswego, NY 13126‐1505                                                                                    First Class Mail
Voting Party                   Our Lady Of The Snow                                                      c/o Cullen and Dykman LLP                                  Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd          Garden City, NY 11530             MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Snows                                                     Pathway To Adventure 456                                   4810 S Leamington Ave                                                 Chicago, IL 60638‐2150                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Springs Catholic Church                                   North Florida Council 087                                  4047 NE 21st St                                                       Ocala, FL 34470‐3146                                                                                     First Class Mail
Voting Party                   Our Lady Of The Springs Catholic Church                                   Attn: John S Mercer                                        1400 N Meridian St                                                    Indianapolis, IN 46202                                                jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Valley                                                    Five Rivers Council, Inc 375                               343 Canisteo St                                                       Hornell, NY 14843‐2155                                                                                   First Class Mail
Chartered Organization         Our Lady Of The Valley                                                    Northern New Jersey Council, Bsa 333                       614 Valley Rd                                                         Wayne, NJ 07470‐3404                                                                                     First Class Mail
Chartered Organization         Our Lady Of The Valley Catholic Church                                    Greater Alabama Council 001                                5514 Double Oak Ln                                                    Birmingham, AL 35242‐3513                                                                                First Class Mail
Chartered Organization         Our Lady Of The Valley Catholic Church                                    Ore‐Ida Council 106 ‐ Bsa 106                              1122 W Linden St                                                      Caldwell, ID 83605‐5657                                                                                  First Class Mail
Chartered Organization         Our Lady Of The Valley Catholic Church                                    Ore‐Ida Council 106 ‐ Bsa 106                              4007 Brian Ave                                                        Caldwell, ID 83605‐6321                                                                                  First Class Mail
Chartered Organization         Our Lady Of The Valley Catholic Church                                    Montana Council 315                                        P.O. Box 4097                                                         Helena, MT 59604‐4097                                                                                    First Class Mail
Chartered Organization         Our Lady Of The Valley Parish                                             Western Massachusetts Council 234                          33 Adams St                                                           Easthampton, MA 01027‐1626                                                                               First Class Mail
Chartered Organization         Our Lady Of The Valley Parish                                             Catalina Council 011                                       505 N La Canada Dr                                                    Green Valley, AZ 85614‐3447                                                                              First Class Mail
Chartered Organization         Our Lady Of The Valley Parish                                             Blue Mountain Council 604                                  1002 L Ave                                                            La Grande, OR 97850‐2133                                                                                 First Class Mail
Chartered Organization         Our Lady Of The Valley Roman Catholic                                     Northern New Jersey Council, Bsa 333                       630 Valley Rd                                                         Wayne, NJ 07470‐3404                                                                                     First Class Mail
Chartered Organization         Our Lady Of The Wayside Catholic Church                                   Pathway To Adventure 456                                   434 W Park St                                                         Arlington Heights, IL 60005‐1701                                                                         First Class Mail
Chartered Organization         Our Lady Of The Wayside Home                                              School Assoc                                               432 S Mitchell Ave                                                    Arlington Heights, IL 60005‐1810                                                                         First Class Mail
Chartered Organization         Our Lady Of The Woods                                                     Pathway To Adventure 456                                   10731 W 131st St                                                      Orland Park, IL 60462‐8308                                                                               First Class Mail
Voting Party                   Our Lady Of Victories Baptistown                                          Attn: Andre L Kydala                                       54 Old Hwy 22                                                         Clinton, NJ 08809                                                                                        First Class Mail
Voting Party                   Our Lady Of Victories Sayerville                                          Attn: Andre L Kydala                                       54 Old Hwy 22                                                         Clinton, NJ 08809                                                                                        First Class Mail
Voting Party                   Our Lady Of Victories School                                              Attn: Andre L Kydala                                       54 Old Hwy 22                                                         Clinton, NJ 08809                                                     kydalalaw@aim.com                  Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of Victory Catholic Church                                       Dan Beard Council, Bsa 438                                 810 Neeb Rd                                                           Cincinnati, OH 45233‐4758                                                                                First Class Mail
Chartered Organization         Our Lady Of Victory Catholic Church                                       Illowa Council 133                                         4105 N Div St                                                         Davenport, IA 52806‐4741                                                                                 First Class Mail
Chartered Organization         Our Lady Of Victory Catholic Church                                       South Texas Council 577                                    1309 E Mesquite Ln                                                    Victoria, TX 77901‐3427                                                                                  First Class Mail
Chartered Organization         Our Lady Of Victory Church                                                Cape Cod and Islands Cncl 224                              230 S Main St                                                         Centerville, MA 02632‐3248                                                                               First Class Mail
Chartered Organization         Our Lady Of Victory Dad'S Club                                            Great Lakes Fsc 272                                        132 Orchard Dr                                                        Northville, MI 48167‐1316                                                                                First Class Mail
Chartered Organization         Our Lady Of Victory R.C. Church                                           Connecticut Yankee Council Bsa 072                         600 Jones Hill Rd                                                     West Haven, CT 06516‐6311                                                                                First Class Mail
Voting Party                   Our Lady Of Victory Roman Catholic Congregation, Inc                      c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Of Victory School                                                Juniata Valley Council 497                                 820 Westerly Pkwy                                                     State College, PA 16801‐4115                                                                             First Class Mail
Chartered Organization         Our Lady Of Visitation Catholic Church                                    Dan Beard Council, Bsa 438                                 3172 South Rd                                                         Cincinnati, OH 45248‐2911                                                                                First Class Mail
Chartered Organization         Our Lady Perpetual Help Catholic Ch                                       Sequoia Council 027                                        929 Harvard Ave                                                       Clovis, CA 93612‐2250                                                                                    First Class Mail
Chartered Organization         Our Lady Perpetual Help Catholic Ch                                       San Diego Imperial Council 049                             13208 Lakeshore Dr                                                    Lakeside, CA 92040‐3320                                                                                  First Class Mail
Chartered Organization         Our Lady Perpetual Help Catholic Ch                                       Northern New Jersey Council, Bsa 333                       25 Purdue Ave                                                         Oakland, NJ 07436‐3412                                                                                   First Class Mail
Chartered Organization         Our Lady Perpetual Help Church                                            Chickasaw Council 558                                      8151 Poplar Ave                                                       Germantown, TN 38138‐6138                                                                                First Class Mail
Chartered Organization         Our Lady Perpetual Help Rc Ch                                             Greater New York Councils, Bsa 640                         526 59th St                                                           Brooklyn, NY 11220‐3822                                                                                  First Class Mail
Chartered Organization         Our Lady Perpetual Help Rc Ch                                             Northeast Illinois 129                                     1775 Grove St                                                         Glenview, IL 60025‐3003                                                                                  First Class Mail
Chartered Organization         Our Lady Perpetual Help Youth Ministry                                    Lincoln Heritage Council 205                               1752 Scheller Ln                                                      New Albany, IN 47150‐2493                                                                                First Class Mail
Chartered Organization         Our Lady Queen Of Angels                                                  Laurel Highlands Council 527                               738 Sunshine Ave                                                      Central City, PA 15926‐1233                                                                              First Class Mail
Chartered Organization         Our Lady Queen Of Angels School                                           Orange County Council 039                                  2046 Mar Vista Dr                                                     Newport Beach, CA 92660‐4533                                                                             First Class Mail
Chartered Organization         Our Lady Queen Of Heaven Catholic Parish                                  Pacific Harbors Council, Bsa 612                           14601 A St S                                                          Tacoma, WA 98444‐4626                                                                                    First Class Mail
Chartered Organization         Our Lady Queen Of Heaven Catholic School                                  Calcasieu Area Council 209                                 3908 Creole St                                                        Lake Charles, LA 70605‐3414                                                                              First Class Mail
Chartered Organization         Our Lady Queen Of Martyrs Church                                          Great Lakes Fsc 272                                        32340 Pierce St                                                       Beverly Hills, MI 48025‐4120                                                                             First Class Mail
Voting Party                   Our Lady Queen Of Martyrs Rcc                                             c/o Jw/Wch                                                 Attn: Westerman Ball Ederer Miller Zucker & Sharfstein                1201 Rxr Plz                        Uniondale, NY 11556               wheuer@westermanllp.com            Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Queen Of Peace                                                   Lake Erie Council 440                                      708 Erie St                                                           Grafton, OH 44044‐1340                                                                                   First Class Mail
Chartered Organization         Our Lady Queen Of Peace Catholic Church                                   Green Mountain 592                                         240 US Route 2E                                                       Danville, VT 05828                                                                                       First Class Mail
Chartered Organization         Our Lady Queen Of Peace Catholic Church                                   Glaciers Edge Council 620                                  401 S Owen Dr                                                         Madison, WI 53711‐1544                                                                                   First Class Mail
Voting Party                   Our Lady Queen Of Peace Church (Bridgman)                                 Attn: Rev. Arthur Howard                                   3903 Lake St                                                          Bridgman, MI 49106                                                    evoneitzen@wnj.com                 Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Our Lady Queen Of Peace Middle River                                      Attn: Matthew W Oakey                                      218 N Charles St, Ste 400                                             Baltimore, MD 21201                                                   moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Queen Of Peace R C C                                             Minsi Trails Council 502                                   1402 Route 209                                                        Gilbert, PA 18331                                                                                        First Class Mail
Chartered Organization         Our Lady Queen Of Peace School                                            Northern New Jersey Council, Bsa 333                       1911 Union Valley Rd                                                  Hewitt, NJ 07421‐3056                                                                                    First Class Mail
Chartered Organization         Our Lady Queen Of Peace School                                            Bay Area Council 574                                       1600 Hwy 2004                                                         Richwood, TX 77531‐2239                                                                                  First Class Mail
Chartered Organization         Our Lady Queen Of Peace Youth Ministry                                    Greater St Louis Area Council 312                          4696 Notre Dame Dr                                                    House Springs, MO 63051‐2045                                                                             First Class Mail
Chartered Organization         Our Lady Refuge Rc Sch Sr                                                 Greater New York Councils, Bsa 640                         2708 Briggs Ave                                                       Bronx, NY 10458‐4078                                                                                     First Class Mail
Chartered Organization         Our Lady Star Of The Sea                                                  National Capital Area Council 082                          P.O. Box 560                                                          Solomons, MD 20688‐0560                                                                                  First Class Mail
Chartered Organization         Our Lady Star Of The Sea                                                  Greater New York Councils, Bsa 640                         5411 Amboy Rd                                                         Staten Island, NY 10312‐3947                                                                             First Class Mail
Voting Party                   Our Lady Star Of The Sea                                                  c/o Cullen and Dykman LLP                                  Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd          Garden City, NY 11530             MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady Star Of The Sea Catholic Church                                  Pee Dee Area Council 552                                   1100 8th Ave N                                                        North Myrtle Beach, SC 29582‐2855                                                                        First Class Mail
Chartered Organization         Our Lady Star Of The Sea Catholic Church                                  Rio Grande Council 775                                     P.O. Box 6504                                                         Port Isabel, TX 78578                                                                                    First Class Mail
Chartered Organization         Our Lady Star Of The Sea Catholic Church                                  National Capital Area Council 082                          P.O. Box 560                                                          Solomons, MD 20688‐0560                                                                                  First Class Mail
Chartered Organization         Our Lady Star Of The Sea Rc                                               Greater New York Councils, Bsa 640                         5371 Amboy Rd                                                         Staten Island, NY 10312‐3946                                                                             First Class Mail
Chartered Organization         Our Lady Victory Catholic Ch Sch                                          Illowa Council 133                                         1627 W 42nd St                                                        Davenport, IA 52806‐4508                                                                                 First Class Mail
Chartered Organization         Our Lady Victory Rc Ch                                                    Pathway To Adventure 456                                   5212 W Agatite Ave                                                    Chicago, IL 60630‐3704                                                                                   First Class Mail
Chartered Organization         Our Lady, Assumption Catholic Ch                                          Atlanta Area Council 092                                   1350 Hearst Dr NE                                                     Brookhaven, GA 30319‐2711                                                                                First Class Mail
Chartered Organization         Our Lady, Greenwood Catholic Ch                                           Crossroads of America 160                                  335 S Meridian St                                                     Greenwood, IN 46143‐1605                                                                                 First Class Mail
Chartered Organization         Our Lady, Most Blessed Sacrament Ch                                       Laurel Highlands Council 527                               1526 Union Ave                                                        Natrona Heights, PA 15065‐2008                                                                           First Class Mail
Voting Party                   Our Lady, Queen Of Peace, Middle River, Roman Catholic Congregation Inc   c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Lady'S Academy                                                        The Spirit of Adventure 227                                920 Trapelo Rd                                                        Waltham, MA 02452‐4845                                                                                   First Class Mail
Chartered Organization         Our Lady'S Catholic Academy                                               Greater New York Councils, Bsa 640                         10955 128th St                                                        South Ozone Park, NY 11420‐1610                                                                          First Class Mail
Chartered Organization         Our Ladys Immaculate Heart Catholic Ch                                    Mid Iowa Council 177                                       510 E 1st St                                                          Ankeny, IA 50021‐1929                                                                                    First Class Mail
Chartered Organization         Our Lday Of Guadalupe                                                     Sioux Council 733                                          1220 E 8th St                                                         Sioux Falls, SD 57103‐1702                                                                               First Class Mail
Chartered Organization         Our Legacy Inc                                                            Baltimore Area Council 220                                 10 E North Ave                                                        Baltimore, MD 21202‐4886                                                                                 First Class Mail
Voting Party                   Our Lord Jesus Christ The King Catholic Church, Paoli, Inc.               Attn: John S Mercer                                        1400 N Meridian St                                                    Indianapolis, IN 46202                                                jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Mother Consolation Catholic Ch                                        Cradle of Liberty Council 525                              9 E Chestnut Hill Ave                                                 Philadelphia, PA 19118‐2712                                                                              First Class Mail
Chartered Organization         Our Mother Of Good Counsel Parish                                         Greater Los Angeles Area 033                               2060 N Vermont Ave                                                    Los Angeles, CA 90027‐1919                                                                               First Class Mail
Voting Party                   Our Mother Of Good Counsel Parish                                         c/o Archdiocese of Los Angeles                             Attn: Margaret Graf, General Counsel                                  3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Our Mother Of Good Counsel Roman Catholic Church Society Of               c/o Woods Oviatt Gilman LLP                                Attn: Timothy P Lyster, Esq                                           1900 Bausch & Lomb Pl               Rochester, NY 14604               tlyster@woodsoviatt.com            Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Mother Of Pertpetual Help Church                                      Pennsylvania Dutch Council 524                             320 Church Ave                                                        Ephrata, PA 17522‐1737                                                                                   First Class Mail
Chartered Organization         Our Mother Sorrows Rc Ch                                                  Seneca Waterways 397                                       5000 Mount Read Blvd                                                  Rochester, NY 14612‐3853                                                                                 First Class Mail
Voting Party                   Our Redeemer Evangelical Lutheran Church Of Bloomington, IL               Attn: Danny L Kiedaisch                                    1822 E Lincoln St                                                     Bloomington, IL 61701                                                 dlk@skco.net                       Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Redeemer Lutheran Church                                              W D Boyce 138                                              1822 E Lincoln St                                                     Bloomington, IL 61701‐7066                                                                               First Class Mail
Chartered Organization         Our Redeemer Lutheran Church                                              Orange County Council 039                                  12301 Magnolia St                                                     Garden Grove, CA 92841‐3319                                                                              First Class Mail
Chartered Organization         Our Redeemer Lutheran Church                                              Three Harbors Council 636                                  10025 W North Ave                                                     Milwaukee, WI 53226‐2501                                                                                 First Class Mail
Voting Party                   Our Redeemer Lutheran Church                                              Attn: President                                            269 Main Rd                                                           Aquebogue, NY 19933                                                   pastorbyer@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Our Redeemer Lutheran Church                                              Attn: Adrian Beltran                                       5401 Dunn Ave                                                         Jacksonville, FL 32218                                                beltraad@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Our Redeemer Lutheran Church                                              Attn: Mark Oium                                            4605 Cypress Ave                                                      Wichita Falls, TX 76310                                                                                  First Class Mail
Voting Party                   Our Redeemer Lutheran Church Garden Grove, CA                             Attn: Brian Taylor                                         12301 Magnolia                                                        Garden Grove, CA 92841                                                office@ocgg.org                    Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Redeemer Lutheran Mens Club                                           Greater St Louis Area Council 312                          9153 E Milton Ave                                                     Overland, MO 63114‐4806                                                                                  First Class Mail
Chartered Organization         Our Redeemer'S Lutheran Church                                            Chief Seattle Council 609                                  2400 NW 85th St                                                       Seattle, WA 98117‐3733                                                                                   First Class Mail
Voting Party                   Our Redeemer's Lutheran Church                                            Attn: Timothy T Parker                                     1000 2nd Ave, 30th Fl                                                 Seattle, WA 98104                                                     ttp@pattersonbuchanan.com          Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Redeemers Lutheran Church‐Helena                                      Montana Council 315                                        3580 N Benton Ave                                                     Helena, MT 59602‐7413                                                                                    First Class Mail
Voting Party                   Our Redeemers United Methodist Church                                     1600 W Schaumburg Rd                                       Schaumburg, IL 60194                                                                                                                        donna@orumc.org                    Email
                                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Our Savior Catholic Church                                                Mobile Area Council‐Bsa 004                                1801 Cody Rd S                                                        Mobile, AL 36695‐4341                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                       Page 292 of 442
                                                                                 Case 20-10343-LSS                                        Doc 8171                                         Filed 01/06/22                                                   Page 308 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                       Name                                                                                              Address                                                                                                          Email                       Method of Service
Voting Party                   Our Savior Evangelical Lutheran Church Of St. Charles. Mo.   Attn: Pastor Mike                       2800 Elm St                                                   St Charles, MO 63301                                                pastormikeossc@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   Greater Los Angeles Area 033            512 W Duarte Rd                                               Arcadia, CA 91007‐7323                                                                                      First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   Capitol Area Council 564                1513 E Yager Ln                                               Austin, TX 78753‐7117                                                                                       First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   Three Fires Council 127                 1244 W Army Trail Rd                                          Carol Stream, IL 60188‐9000                                                                                 First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   Mid‐America Council 326                 500 N 24th St                                                 Denison, IA 51442‐1704                                                                                      First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   Hudson Valley Council 374               1400 Route 52                                                 Fishkill, NY 12524‐1620                                                                                     First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   Chief Seattle Council 609               745 Front St S                                                Issaquah, WA 98027‐4206                                                                                     First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   Circle Ten Council 571                  411 N Town East Blvd                                          Mesquite, TX 75150‐4733                                                                                     First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   Circle Ten Council 571                  411 Town East Blvd                                            Mesquite, TX 75182                                                                                          First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   North Florida Council 087               260 Marion Oaks Ln                                            Ocala, FL 34473‐2812                                                                                        First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   Circle Ten Council 571                  3003 Horizon Rd                                               Rockwall, TX 75032‐5818                                                                                     First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   Greater St Louis Area Council 312       2800 Elm St                                                   Saint Charles, MO 63301‐4618                                                                                First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   Pacific Harbors Council, Bsa 612        4519 112th St E                                               Tacoma, WA 98446‐5229                                                                                       First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   Gulf Stream Council 085                 1850 6th Ave                                                  Vero Beach, FL 32960‐5422                                                                                   First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   National Capital Area Council 082       6324 Dumfries Rd                                              Warrenton, VA 20187                                                                                         First Class Mail
Chartered Organization         Our Savior Lutheran Church                                   National Capital Area Council 082       6194 Dumfries Rd                                              Warrenton, VA 20187‐4169                                                                                    First Class Mail
Voting Party                   Our Savior Lutheran Church                                   Attn: Treasurer                         3301 the Alameda                                              Baltimore, MD 21218                                                 treas1oslc@gmail.com                    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior Lutheran Church                                   Attn: Peter Jon Williams                140 Mark Tree Rd                                              Centereach, NY 11720                                                robin.reade@osnas.org                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior Lutheran Church                                   Attn: Rev Brandon Merrick               6404 Pentz Rd                                                 Paradise, CA 95969                                                  revinparadise@gmail.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior Lutheran Church                                   Attn: Nora Gass                         11012 Canyon Rd E, Ste 8 PMB 397                              Puyallup, WA 98373                                                  nora@oslc.com                           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior Lutheran Church                                   Attn: Douglas Houston                   3685 White Springs Rd                                         Paradise, CA 95969                                                  d.b.houston@att.net                     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior Lutheran Church                                   Attn: Connie Bowman                     2160 35th Ave Dr NE                                           Hickory, NC 28601                                                                                           First Class Mail
Chartered Organization         Our Savior Lutheran Church And School                        National Capital Area Council 082       825 S Taylor St                                               Arlington, VA 22204‐1461                                                                                    First Class Mail
Chartered Organization         Our Savior Lutheran Church Of Huron                          Sioux Council 733                       2040 Ohio Ave Sw                                              Huron, SD 57350‐3935                                                                                        First Class Mail
Voting Party                   Our Savior Lutheran Church Of Mankato                        Attn: Matthew S Brand                   1103 N Broad St                                               Mankato, MN 56001                                                   contact@oslcmankato.org                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior Lutheran Church, Arlington, Va                    Attn: President                         825 S Taylor St                                               Arlington, VA 22204                                                 karenharwood1223@gmail.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior Lutheran Church, Haddonfield                      Attn: Diana Anderson                    512 Main St                                                   Toms River, NJ 08753                                                Diana@DianaAndersonEsquire.com          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior United Methodist Church                           1130 11th St                            Manson, IA 50563                                                                                                                  osumchurch@ncn.net                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Our Saviors Corner Of Hope                                   Denver Area Council 061                 1975 S Garrison St                                            Lakewood, CO 80227‐2204                                                                                     First Class Mail
Voting Party                   Our Savior's Evangelical Lutheran Church Of Jackson, MN      614 Logan Ave                           Jackson, MN 56143                                                                                                                 info@oursaviorsjackson.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Our Saviors First Lutheran Church                            W.L.A.C.C. 051                          16603 San Fernando Mission Blvd B                             Granada Hills, CA 91344‐4223                                                                                First Class Mail
Chartered Organization         Our Saviors Lutheran Brotherhood                             Gateway Area 624                        P.O. Box 455                                                  Whitehall, WI 54773‐0455                                                                                    First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Glaciers Edge Council 620               749 Bluff St                                                  Beloit, WI 53511‐5350                                                                                       First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Montana Council 315                     10 E Madison Ave                                              Chester, MT 59522‐7798                                                                                      First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Northern Star Council 250               9185 Lexington Ave N                                          Circle Pines, MN 55014‐3626                                                                                 First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Northern Lights Council 429             300 Blaine St S                                               Colfax, ND 58018‐4012                                                                                       First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Mid‐America Council 326                 600 Bluff St                                                  Council Bluffs, IA 51503‐6501                                                                               First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Mount Baker Council, Bsa 606            215 W Mukilteo Blvd                                           Everett, WA 98203‐2057                                                                                      First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Northern Star Council 250               1207 Prairie Ave SW                                           Faribault, MN 55021‐6713                                                                                    First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Theodore Roosevelt Council 386          16 Glenwood Rd                                                Glen Head, NY 11545‐1312                                                                                    First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Las Vegas Area Council 328              59 Lynn Ln                                                    Henderson, NV 89015‐7330                                                                                    First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Gateway Area 624                        612 Div St                                                    La Crosse, WI 54601‐4570                                                                                    First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Chippewa Valley Council 637             910 9th St E                                                  Menomonie, WI 54751‐2709                                                                                    First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Gamehaven 299                           2124 Viola Rd NE                                              Rochester, MN 55906‐4038                                                                                    First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Blackhawk Area 660                      3300 Rural St                                                 Rockford, IL 61107‐3540                                                                                     First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Trapper Trails 589                      560 S 2300 W                                                  Roy, UT 84067                                                                                               First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Cascade Pacific Council 492             1770 Baxter Rd Se                                             Salem, OR 97306‐1140                                                                                        First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Chippewa Valley Council 637             147 E 4th Ave                                                 Stanley, WI 54768‐1219                                                                                      First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Northern Star Council 250               1616 Olive St W                                               Stillwater, MN 55082‐5523                                                                                   First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Voyageurs Area 286                      1111 8th St S                                                 Virginia, MN 55792‐3238                                                                                     First Class Mail
Chartered Organization         Our Saviors Lutheran Church                                  Gateway Area 624                        P.O. Box 455                                                  Whitehall, WI 54773‐0455                                                                                    First Class Mail
Voting Party                   Our Saviors Lutheran Church                                  Attn: Deb Solarz                        840 Lake Ave                                                  Albany, MN 56307                                                    drsolarz@albanytel.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Our Savior'S Lutheran Church                                 Chippewa Valley Council 637             1300 Mansfield St                                             Chippewa Falls, WI 54729‐2029                                                                               First Class Mail
Chartered Organization         Our Savior'S Lutheran Church                                 Voyageurs Area 286                      615 12th St                                                   Cloquet, MN 55720‐2321                                                                                      First Class Mail
Chartered Organization         Our Savior'S Lutheran Church                                 Longs Peak Council 062                  1800 21st Ave                                                 Greeley, CO 80631‐5212                                                                                      First Class Mail
Chartered Organization         Our Savior'S Lutheran Church                                 Voyageurs Area 286                      501 E 23rd St                                                 Hibbing, MN 55746‐1924                                                                                      First Class Mail
Chartered Organization         Our Savior'S Lutheran Church                                 Blackhawk Area 660                      P.O. Box 300                                                  South Wayne, WI 53587‐0300                                                                                  First Class Mail
Chartered Organization         Our Savior'S Lutheran Church                                 Grand Columbia Council 614              1106 Taylor St                                                Sunnyside, WA 98944‐1731                                                                                    First Class Mail
Voting Party                   Our Savior's Lutheran Church                                 Attn: Timothy T Parker                  1000 2nd Ave, Fl 30                                           Seattle, WA 98104                                                   ttp@pattersonbuchanan.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior's Lutheran Church                                 Attn: Church Council President          63 Mountain View Ave                                          Albany, NY 12205                                                    mec518@yahoo.com                        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior's Lutheran Church                                 Attn: Kathleen Ulland‐Klinker           1400 S State St                                               New Ulm, MN 56073                                                   kathy@oursaviorsnewulm.org              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior's Lutheran Church                                 Attn: Joshua Traxel                     2645 Old Jacksonville Rd                                      Springfield, IL 62704                                               info@oursaviors‐church.org              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior's Lutheran Church                                 Attn: Tucker J Volesky                  2040 Ohio Ave SW                                              Huron, SD 57350                                                     degosl@hotmail.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior's Lutheran Church                                 Attn: Tucker Volesky                    2040 Ohio Ave SW                                              Huron, SD 57350                                                     degosl@hotmail.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Our Saviors Lutheran Church ‐ Egf                            Northern Lights Council 429             1515 5th Ave Nw                                               East Grand Forks, MN 56721‐1412                                                                             First Class Mail
Voting Party                   Our Savior's Lutheran Church Hibbing, Minnesota              501 E 23rd St                           Hibbing, MN 55746                                                                                                                 oslchibb@mchsi.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Savior's Lutheran Church Of Cloquet                      Attn: Treasurer                         615 12th St                                                   Cloquet, MN 55720                                                   pastorchrishill@oursaviorscloquet.org   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Our Saviors Lutheran Church‐American                         Glaciers Edge Council 620               550 Lincoln Dr                                                Sun Prairie, WI 53590‐1300                                                                                  First Class Mail
Voting Party                   Our Savior's Way Lutheran Church                             Attn: Jeffrey Barnes, Dir of Finance    43115 Waxpool Rd                                              Broadlands, VA 20148                                                jeff@oswlc.org                          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Our Saviour Evangelical Lutheran Church                      Pathway To Adventure 456                3457 N Neva Ave                                               Chicago, IL 60634‐3610                                                                                      First Class Mail
Chartered Organization         Our Saviour Utd Church Of Christ                             Bay‐Lakes Council 635                   343 Scott St                                                  Ripon, WI 54971‐1546                                                                                        First Class Mail
Chartered Organization         Our Saviour'S Church                                         Denver Area Council 061                 1975 S Garrison St                                            Lakewood, CO 80227‐2204                                                                                     First Class Mail
Chartered Organization         Our Saviours Evangelical Lutheran Church                     Three Fires Council 127                 815 S Washington St                                           Naperville, IL 60540‐7443                                                                                   First Class Mail
Chartered Organization         Our Saviour'S Lutheran Ch Fort Collins                       Longs Peak Council 062                  2000 S Lemay Ave                                              Fort Collins, CO 80525‐1204                                                                                 First Class Mail
Chartered Organization         Our Saviours Lutheran Church                                 Northern Star Council 250               400 9th St W                                                  Hastings, MN 55033‐2025                                                                                     First Class Mail
Chartered Organization         Our Saviours Lutheran Church                                 Northern Lights Council 429             P.O. Box L                                                    Park River, ND 58270‐0711                                                                                   First Class Mail
Chartered Organization         Our Saviours Lutheran Church                                 Trapper Trails 589                      5560 S 2300 W                                                 Roy, UT 84067‐2112                                                                                          First Class Mail
Chartered Organization         Our Saviours Lutheran Church                                 Northern Star Council 250               674 Johnson Pkwy                                              Saint Paul, MN 55106‐4731                                                                                   First Class Mail
Chartered Organization         Our Saviours Lutheran Church                                 Colonial Virginia Council 595           7479 Richmond Rd                                              Williamsburg, VA 23188‐7225                                                                                 First Class Mail
Chartered Organization         Our Saviour'S Lutheran Church                                Sam Houston Area Council 576            1001 Woodcreek Dr                                             College Station, TX 77845‐8398                                                                              First Class Mail
Chartered Organization         Our Saviour'S Lutheran Church                                Great Salt Lake Council 590             2500 E 3900 S                                                 Holladay, UT 84124‐1806                                                                                     First Class Mail
Chartered Organization         Our Saviour'S Lutheran Church                                Colonial Virginia Council 595           7479 Richmond Rd                                              Williamsburg, VA 23188‐7225                                                                                 First Class Mail
Chartered Organization         Our Saviour'S Lutheran Men                                   Mid‐America Council 326                 1212 Sumner Ave Sw                                            Humboldt, IA 50548‐1982                                                                                     First Class Mail
Voting Party                   Our Saviour'S United Methodist Church                        Robert J Garvin                         2131 Briar Hill Dr                                            Schaumburg, IL 60194                                                nivragbg@yahoo.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Saviour's United Methodist Church                        701 E Schaumburg Rd                     Schaumburg, IL 60194                                                                                                              nivragbg@yahoo.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Our Second Home                                              Pacific Skyline Council 031             251 Whittier St                                               Daly City, CA 94014‐1337                                                                                    First Class Mail
Chartered Organization         Our Second Home ‐ Westlake                                   Pacific Skyline Council 031             111 Lake Merced Blvd                                          Daly City, CA 94015‐1048                                                                                    First Class Mail
Chartered Organization         Our Second Home ‐ Woodrow Wilson                             Pacific Skyline Council 031             111 Lake Merced Blvd                                          Daly City, CA 94015‐1048                                                                                    First Class Mail
Chartered Organization         Our Shepherd Lutheran Church                                 Great Lakes Fsc 272                     2225 E 14 Mile Rd                                             Birmingham, MI 48009‐7258                                                                                   First Class Mail
Voting Party                   Our Shepherd Lutheran Church                                 Attn: Earl Janssen                      400 Benfield Rd                                               Severna Park, MD 21146                                              pastorearl@ourshepherd.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Shepherd Lutheran Church, Birmingham, Michigan           Attn: Howard Klausmeier                 c/o Our Shepherd Lutheran                                     2225 E 14 Mile Rd                 Birmingham, MI 48009              howard@ourshepherd.net                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Our Shepherd Ucc Howards Grove                               Attn: Rev Nathan Athorp                 710 Ethan Allen Dr                                            Howards Grove, WI 53083                                             ministerosucc@tds.net                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Our Shepherd Utd Church Of Christ                            Bay‐Lakes Council 635                   710 Ethan Allen Dr                                            Howards Grove, WI 53083‐1266                                                                                First Class Mail
Chartered Organization         Outdoor Adventure Foundation                                 Utah National Parks 591                 334 Millcreek Rd                                              Pleasant Grove, UT 84062‐8815                                                                               First Class Mail
Chartered Organization         Outdoor Recreation Inc                                       Blackhawk Area 660                      1480 S Eastwood Dr                                            Woodstock, IL 60098‐4651                                                                                    First Class Mail
Chartered Organization         Outdoor School                                               Los Padres Council 053                  2680 Hwy 154                                                  Santa Barbara, CA 93105‐9788                                                                                First Class Mail
Chartered Organization         Outdoor Youth Assoc                                          Chief Seattle Council 609               43510 SE 76th St                                              Snoqualmie, WA 98065‐9410                                                                                   First Class Mail
Chartered Organization         Outer Banks Presbyterian Church                              Tidewater Council 596                   907 S Croatan Hwy                                             Kill Devil Hills, NC 27948                                                                                  First Class Mail
Chartered Organization         Outreach Ability Services LLC                                Simon Kenton Council 441                28075 Logan Hornsmill Rd                                      Sugar Grove, OH 43155‐9613                                                                                  First Class Mail
Voting Party                   Oval United Methodist Church (181413)                        c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Oval Utd Methodist Church                                    Susquehanna Council 533                 6796 S Route 44 Hwy                                           Jersey Shore, PA 17740‐9171                                                                                 First Class Mail
Chartered Organization         Overall Creek Pto                                            Middle Tennessee Council 560            429 Otter Trl                                                 Murfreesboro, TN 37128‐4088                                                                                 First Class Mail
Chartered Organization         Overbrook Presbyterian Church                                Simon Kenton Council 441                4131 N High St                                                Columbus, OH 43214‐3081                                                                                     First Class Mail
Chartered Organization         Overbrook School                                             Middle Tennessee Council 560            4210 Harding Pike                                             Nashville, TN 37205‐2148                                                                                    First Class Mail
Voting Party                   Overbrook United Methodist Church ‐ Overbrook                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Overbrook Utd Methodist Church                               Jayhawk Area Council 197                P.O. Box 129                                                  Overbrook, KS 66524‐0129                                                                                    First Class Mail
Voting Party                   Overdale United Methodist Church                             Attn: Helen S Keller                    515 Overdale Dr                                               Louisville, KY 40229                                                hskel40@gmail.com                       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Overdale Utd Methodist Church                                Lincoln Heritage Council 205            495 Overdale Dr                                               Louisville, KY 40229‐6112                                                                                   First Class Mail
Voting Party                   Overlake Park Presbyterian Church                            Attn: Hyong Tae Lee                     1836 156th Ave NE                                             Seattle, WA 98007                                                   office@oppc.org                         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Overlake Park Presbyterian Church                            1836 156th Ave Ne                       Bellevue, WA 98007                                                                                                                office@oppc.org                         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Overlake Park Utd Presbyterian Church                        Chief Seattle Council 609               1836 156th Ave Ne                                             Bellevue, WA 98007‐4330                                                                                     First Class Mail
Chartered Organization         Overland Park Christian Church                               Heart of America Council 307            7600 W 75th St                                                Shawnee Mission, KS 66204‐2853                                                                              First Class Mail
Chartered Organization         Overland Park Fire Dept                                      Heart of America Council 307            12401 Hemlock St                                              Overland Park, KS 66213‐1451                                                                                First Class Mail
Chartered Organization         Overland Park Lutheran Church                                Heart of America Council 307            7810 W 79th St                                                Shawnee Mission, KS 66204‐2858                                                                              First Class Mail
Chartered Organization         Overland Park Police Dept                                    Heart of America Council 307            12400 Foster St                                               Shawnee Mission, KS 66213‐2629                                                                              First Class Mail
Chartered Organization         Overland Police Dept                                         Greater St Louis Area Council 312       2410 Goodale Ave                                              Saint Louis, MO 63114‐5403                                                                                  First Class Mail
Chartered Organization         Overland Trail Elementary School Pto                         Heart of America Council 307            5409 W 132nd Ter                                              Overland Park, KS 66209‐3440                                                                                First Class Mail
Chartered Organization         Overlook Scouts                                              Pine Burr Area Council 304              3610 Campbell Dr                                              Hattiesburg, MS 39401‐3007                                                                                  First Class Mail
Voting Party                   Overlook United Methodist Church                             Attn: Paul Wayne Smith                  233 Tinker St                                                 Woodstock, NY 12498                                                 overlookumc@earthlink.net               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Overlook United Methodist Church                             Paul Wayne Smith                        233 Tinker St                                                 Woodstock, NY 12498                                                 overlookumc@earthlink.net               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Overmountain Venture Crew Sullivan East                      Sequoyah Council 713                    4180 Weaver Pike                                              Bluff City, TN 37618‐2031                                                                                   First Class Mail
Chartered Organization         Overton Rotary Club                                          East Texas Area Council 585             607 N Motley Dr                                               Overton, TX 75684‐1020                                                                                      First Class Mail
Voting Party                   Ovid Federated Church                                        Attn: John R Mellgard                   7137 N Main St                                                P.O. Box 340                      Ovid, NY 14521                    office@ovidfederated.org                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Oviedo Fire Dept                                             Central Florida Council 083             400 Alexandria Blvd                                           Oviedo, FL 32765‐5514                                                                                       First Class Mail
Chartered Organization         Oviedo Police Dept                                           Central Florida Council 083             400 Alexandria Blvd                                           Oviedo, FL 32765‐5514                                                                                       First Class Mail
Chartered Organization         Ovilla Utd Methodist Church                                  Circle Ten Council 571                  1403 Red Oak Creek Dr                                         Ovilla, TX 75154‐3411                                                                                       First Class Mail
Voting Party                   Owasco Reformed Church                                       Attn: Lynne Ann Stenberg                3232 Jugg St                                                  Moravia, NY 13118                                                   stenblyn@gmail.com                      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Owasco Reformed Church                                       Attn: Lynne A Stenberg                  5105 State Rte 38A                                            Owasco, NY 13021                                                    info@owascoreformedchurch.org           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Owasco Volunteer Fire Dept                                   Longhouse Council 373                   7174 Owasco Rd                                                Auburn, NY 13021‐5527                                                                                       First Class Mail
Chartered Organization         Owasso First Assembly Of God Church                          Indian Nations Council 488              9341 N 129th East Ave                                         Owasso, OK 74055‐5314                                                                                       First Class Mail
Chartered Organization         Owasso Utd Methodist Church                                  Indian Nations Council 488              13800 E 106th St N                                            Owasso, OK 74055‐5970                                                                                       First Class Mail
Chartered Organization         Owatonna Police Dept                                         Gamehaven 299                           204 E Pearl St                                                Owatonna, MN 55060‐2422                                                                                     First Class Mail
Chartered Organization         Owatonna Utd Methodist Church                                Gamehaven 299                           815 E University St                                           Owatonna, MN 55060‐3624                                                                                     First Class Mail
Chartered Organization         Owen Elementary Parent Club                                  Great Lakes Fsc 272                     1700 Baldwin Ave                                              Pontiac, MI 48340‐1116                                                                                      First Class Mail
Chartered Organization         Owen Elementary School                                       Indian Nations Council 488              1132 N Vandalia Ave                                           Tulsa, OK 74115‐5217                                                                                        First Class Mail
Chartered Organization         Owen Pta                                                     Indian Nations Council 488              1132 N Vandalia Ave                                           Tulsa, OK 74115‐5217                                                                                        First Class Mail
Chartered Organization         Owens Elementary Pto                                         Sam Houston Area Council 576            7939 Jackrabbit Rd                                            Houston, TX 77095‐2901                                                                                      First Class Mail
Chartered Organization         Owens Farm                                                   Arbuckle Area Council 468               11471 County Rd 3570                                          Ada, OK 74820‐0600                                                                                          First Class Mail
Chartered Organization         Owensboro Police Dept                                        Lincoln Heritage Council 205            222 E 9th St                                                  Owensboro, KY 42303‐3427                                                                                    First Class Mail
Chartered Organization         Owensville Lions Club                                        Great Rivers Council 653                P.O. Box 113                                                  Owensville, MO 65066‐0113                                                                                   First Class Mail
Voting Party                   Owensville United Methodist Church                           Attn: Trustee Chair                     P.O. Box 66                                                   Owensville, IN 47665                                                                                        First Class Mail
Chartered Organization         Owen‐Withee Lions Club                                       Chippewa Valley Council 637             P.O. Box 121                                                  Withee, WI 54498‐0121                                                                                       First Class Mail
Chartered Organization         Owen‐Withee‐Curtiss Fire District                            Chippewa Valley Council 637             P.O. Box 36                                                   Owen, WI 54460‐0036                                                                                         First Class Mail
Chartered Organization         Owingsville Baptist Church                                   Blue Grass Council 204                  P.O. Box 662                                                  Owingsville, KY 40360‐0662                                                                                  First Class Mail
Chartered Organization         Owingsville Christian Church                                 Blue Grass Council 204                  439 Slate Ave                                                 Owingsville, KY 40360                                                                                       First Class Mail
Voting Party                   Owls Head United Methodist Church                            Attn: Treasurer                         7 Ragged Lake Rd                                              P.O. Box 104                      Owls Head, NY 12969               lbunotaylor@gmail.com                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Owosso First United Methodist Church                         Attn: Karin Vandermolen                 1500 N Water St                                               Owosso, MI 48867                                                    firstumc@michonline.net                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Oxen Hill Middle School Pta                                  National Capital Area Council 082       9570 Fort Foote Rd                                            Ft Washington, MD 20744‐5703                                                                                First Class Mail
Chartered Organization         Oxford ‐ Fire Dept                                           Heart of New England Council 230        181 Main St                                                   Oxford, MA 01540‐2352                                                                                       First Class Mail
Chartered Organization         Oxford ‐ Utd Methodist Church                                Heart of New England Council 230        465 Main St                                                   Oxford, MA 01540‐1714                                                                                       First Class Mail
Chartered Organization         Oxford ‐ Ward Church Of Jesus Christ Lds                     Heart of New England Council 230        49 Old Webster Rd                                             Oxford, MA 01540                                                                                            First Class Mail
Chartered Organization         Oxford Ambulance Assoc                                       Housatonic Council, Bsa 069             484 Oxford Rd                                                 P.O. Box 515                      Oxford, CT 06478‐0515                                                     First Class Mail
Chartered Organization         Oxford Animal Hospital                                       Heart of America Council 307            13433 Switzer Rd                                              Overland Park, KS 66213‐3301                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 293 of 442
                                                                                   Case 20-10343-LSS                                       Doc 8171                                             Filed 01/06/22                                                      Page 309 of 457
                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                    Service List
                                                                                                                                                                             Served as set forth below

        Description                                                        Name                                                                                                  Address                                                                                                                 Email                Method of Service
Chartered Organization         Oxford Christian Church                                     Blue Grass Council 204                    2785 Oxford Village Ln                                            Georgetown, KY 40324‐9624                                                                                   First Class Mail
Chartered Organization         Oxford Fire Dept                                            Yocona Area Council 748                   399 Mcelroy Dr                                                    Oxford, MS 38655                                                                                            First Class Mail
Chartered Organization         Oxford Kiwanas                                              Greater Alabama Council 001               706 W 9th St                                                      Oxford, AL 36203‐2204                                                                                       First Class Mail
Chartered Organization         Oxford Kiwanis Club                                         Greater Alabama Council 001               P.O. Box 3384                                                     Oxford, AL 36203‐0384                                                                                       First Class Mail
Chartered Organization         Oxford Kiwanis Club                                         Dan Beard Council, Bsa 438                P.O. Box 7                                                        Oxford, OH 45056‐0007                                                                                       First Class Mail
Chartered Organization         Oxford Lions Club                                           Atlanta Area Council 092                  500 King Bostick Rd                                               Covington, GA 30016‐5345                                                                                    First Class Mail
Chartered Organization         Oxford Lions Club                                           Atlanta Area Council 092                  500 King Bostick Rd                                               Covington, GA 30016‐5345                                                                                    First Class Mail
Chartered Organization         Oxford Lions Club                                           Atlanta Area Council 092                  P.O. Box 1417                                                     Oxford, GA 30054‐1417                                                                                       First Class Mail
Chartered Organization         Oxford Lions Club                                           Sagamore Council 162                      P.O. Box 462                                                      Oxford, IN 47971‐0462                                                                                       First Class Mail
Chartered Organization         Oxford Police Dept                                          Yocona Area Council 748                   715 Molly Barr Rd                                                 Oxford, MS 38655‐2158                                                                                       First Class Mail
Chartered Organization         Oxford Presbyterian Church                                  Chester County Council 539                6 Pine St                                                         Oxford, PA 19363‐1448                                                                                       First Class Mail
Chartered Organization         Oxford Rotary Club                                          Chester County Council 539                P.O. Box 27                                                       Oxford, PA 19363‐0027                                                                                       First Class Mail
Voting Party                   Oxford Umc                                                  Attn: Bernard Kefer                       18 Addison St                                                     Oxford, PA 19363                                                       Pastorekefer@gmail.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Oxford United Methodist                                     Attn: David J Ciseme                      21 E Burdick St                                                   Oxford, MI 48371                                                       oumc@oumc.org                        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Oxford United Methodist Church                              Attn: Tabatha Boyd                        105 W Mcclanahan St                                               Oxford, NC 27565                                                       tabatha@oxfordmethodist.com          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Oxford United Methodist Church Of Oxford, MA                Attn: Susan Stone                         465 Main St                                                       Oxford, MA 01540                                                       office@oxfordumc.net                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Oxford United Methodist Church Of San Antonio Texas         Attn: Rev Juan Cantu Jr                   9739 Huebner Rd                                                   San Antonio, TX 78240                                                  infocenter@oxfordumc.org             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Oxford University United Methodist Church                   Attn: Russ Mclellan                       424 S 10th St                                                     Oxford, MS 38655                                                       rmclellan@ouumc.org                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Oxford University Utd Methodist                             Yocona Area Council 748                   424 S 10th St                                                     Oxford, MS 38655‐3925                                                                                       First Class Mail
Chartered Organization         Oxford Utd Methodist                                        Occoneechee 421                           105 W Mcclanahan St                                               Oxford, NC 27565‐2955                                                                                       First Class Mail
Chartered Organization         Oxford Utd Methodist Church                                 Great Lakes Fsc 272                       21 E Burdick St                                                   Oxford, MI 48371‐4923                                                                                       First Class Mail
Chartered Organization         Oxford Utd Methodist Church                                 Alamo Area Council 583                    9739 Huebner Rd                                                   San Antonio, TX 78240‐3163                                                                                  First Class Mail
Chartered Organization         Oxmoor Valley Elementary School Pta                         Greater Alabama Council 001               3600 Sydney Dr                                                    Birmingham, AL 35211‐7001                                                                                   First Class Mail
Chartered Organization         Oxnard Elks Lodge 1443                                      Ventura County Council 057                801 S A St                                                        Oxnard, CA 93030‐7139                                                                                       First Class Mail
Chartered Organization         Oxnard Police Dept                                          Ventura County Council 057                251 S C St                                                        Oxnard, CA 93030‐5711                                                                                       First Class Mail
Voting Party                   Oxon Hill United Methodist Church                           Oxon Hill Umc                             6400 Livingstone Rd                                               Oxon Hill, MD 20745                                                    oxonhillumcmd@gmail.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Oxon Hill Utd Methodist Church                              National Capital Area Council 082         6400 Livingston Rd                                                Oxon Hill, MD 20745‐2909                                                                                    First Class Mail
Chartered Organization         Oyler Celc Schiff                                           Dan Beard Council, Bsa 438                2121 Hatmaker St                                                  Cincinnati, OH 45204‐1947                                                                                   First Class Mail
Chartered Organization         Oz Glaze Senior Center                                      Yucca Council 573                         13969 Veny Webb St                                                Horizon City, TX 79928‐7054                                                                                 First Class Mail
Chartered Organization         Oz Glaze Senior Center                                      Yucca Council 573                         13969 Veny Webb St                                                Horizon City, TX 79928‐7054                                                                                 First Class Mail
Chartered Organization         Ozark Electric Coop                                         Indian Nations Council 488                P.O. Box 28                                                       Stilwell, OK 74960‐0028                                                                                     First Class Mail
Chartered Organization         Ozark Empire Fleet Reserve Assoc                            Ozark Trails Council 306                  4028 S Kentwood Ave                                               Springfield, MO 65804‐6517                                                                                  First Class Mail
Voting Party                   Ozark Trails Council 306                                    Attn: John S Feick                        1616 S Eastgate Ave                                               Springfield, MO 65809                                                  johns.feick@scouting.org             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Ozark United Methodist Church                               Attn: Jacob Schneider                     2850 State Hwy 14 E                                               Ozark, MO 65721‐9226                                                   jacobschneider@ozarkumc.org          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Ozona Methodist Church                                      Texas Swest Council 741                   P.O. Box 988                                                      Ozona, TX 76943‐0988                                                                                        First Class Mail
Voting Party                   Ozona United Methodist Church                               Attn: John D Stokes                       12 11th St                                                        Ozona, TX 76943                                                        stokesjohn@aol.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         P T C Whiteside School                                      Greater St Louis Area Council 312         2028 Lebanon Ave                                                  Belleville, IL 62221‐2523                                                                                   First Class Mail
Chartered Organization         Pa Adult Services                                           Chester County Council 539                139 Leopard Rd                                                    Berwyn, PA 19312‐1809                                                                                       First Class Mail
Chartered Organization         Pacat, Inc                                                  Middle Tennessee Council 560              705 N 2nd St, Ste C                                               Clarksville, TN 37040‐1918                                                                                  First Class Mail
Chartered Organization         Pace Academy                                                Atlanta Area Council 092                  966 W Paces Ferry Rd Nw                                           Atlanta, GA 30327‐2648                                                                                      First Class Mail
Chartered Organization         Pace Audelia Creek                                          Circle Ten Council 571                    701 W Belt Line Rd                                                Richardson, TX 75080‐6015                                                                                   First Class Mail
Chartered Organization         Pace Dover                                                  Circle Ten Council 571                    701 W Belt Line Rd                                                Richardson, TX 75080‐6015                                                                                   First Class Mail
Chartered Organization         Pace Skyview                                                Circle Ten Council 571                    701 W Belt Line Rd                                                Richardson, TX 75080‐6015                                                                                   First Class Mail
Chartered Organization         Pacheco Union School & Home                                 Golden Empire Council 047                 20981 Dersch Rd                                                   Anderson, CA 96007‐8464                                                                                     First Class Mail
Chartered Organization         Pacific Beach Presbyterian Church                           San Diego Imperial Council 049            1675 Garnet Ave                                                   San Diego, CA 92109‐3117                                                                                    First Class Mail
Chartered Organization         Pacific Corinthian Youth Foundation                         Ventura County Council 057                129 Simi Ave                                                      Oxnard, CA 93035‐4477                                                                                       First Class Mail
Voting Party                   Pacific Employers Insurance Company                         c/o Duane Morris LLP                      Attn: Wendy M Simkulak                                            30 S 17th St                        Philadelphia, PA 19103             WMSimkulak@duanemorris.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pacific Employers Insurance Company                         c/o Duane Morris LLP                      Attn: Wendy M. Simkulak                                           30 S 17th St                        Philadelphia, PA 19103             WMSimkulak@duanemorris.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pacific Employers Insurance Company                         Attn: Christopher Celentano               10 Exchange Pl ‐ 9th Fl                                           Jersey City, NJ 07302                                                                                       First Class Mail
Voting Party                   Pacific Employers Insurance Company                         Attn: Christopher Celentano               10 Exchange Pl, 9th Fl                                            Jersey City, NJ 07302                                                                                       First Class Mail
Voting Party                   Pacific Harbors Cncl 612                                    4802 S 19th St                            Tacoma, WA 98405‐1164                                                                                                                                                         First Class Mail
Voting Party                   Pacific Harbors Council 612                                 Attn: Karen Meier                         4802 S 19th St                                                    Tacoma, WA 98405‐1164                                                  Karen.meier@scouting.org             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pacific Indemnity Company                                   c/o Duane Morris LLP                      Attn: Wendy M. Simkulak                                           30 S 17th St                        Philadelphia, PA 19103             WMSimkulak@duanemorris.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pacific Indemnity Company                                   c/o Duane Morris LLP                      Attn: Wendy M Simkulak                                            30 S 17th St                        Philadelphia, PA 19103                                                  First Class Mail
Voting Party                   Pacific Indemnity Company (As Defined In Poc)               Attn: Christopher Celentano               10 Exchange Pl 9th Fl                                             Jersey City, NJ 07302                                                  Christopher.Celentano@chubb.com      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pacific Indemnity Company (See Definition In Poc)           Attn: Christopher Celentano               10 Exchange Pl 9th Fl                                             Jersey City, NJ 07302                                                                                       First Class Mail
Chartered Organization         Pacific Lions Club                                          Greater St Louis Area Council 312         319 W Meramec St                                                  Pacific, MO 63069‐2033                                                                                      First Class Mail
Voting Party                   Pacific Market International, LLC                           2401 Elliott Ave, 4th Fl                  Seattle, WA 98121                                                                                                                        patrick.campbell@pmi‐worldwide.com   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pacific Market International, LLC                           P.O. Box 74008450                         Chicago, IL 60674‐8450                                                                                                                                                        First Class Mail
Voting Party                   Pacific Palisades Community United Methodist Church, Inc.   Attn: Wayne Walters                       801 Via De La Paz                                                 Pacific Palisades, CA 90272                                                                                 First Class Mail
Chartered Organization         Pacific Point Christian Schools                             Silicon Valley Monterey Bay 055           1575A Mantelli Dr                                                 Gilroy, CA 95020                                                                                            First Class Mail
Voting Party                   Pacific Skyline Council                                     Attn: Brian Curtis                        1150 Chess Dr                                                     Foster City, CA 94404                                                  Brian.curtis@scouting.org            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pacific Youth Boating Assoc                                 Long Beach Area Council 032               2005 Palo Verde Ave 123                                           Long Beach, CA 90815‐3322                                                                                   First Class Mail
Chartered Organization         Pacifica Police Dept Officers Assoc                         Pacific Skyline Council 031               2075 Coast Hwy                                                    Pacifica, CA 94044‐3038                                                                                     First Class Mail
Chartered Organization         Pack 110 Parents                                            San Francisco Bay Area Council 028        32369 Lake Temescal Ln                                            Fremont, CA 94555‐1052                                                                                      First Class Mail
Chartered Organization         Pack 16 Parents Assoc                                       California Inland Empire Council 045      1554 Chardonnay Pl                                                San Jacinto, CA 92582‐4269                                                                                  First Class Mail
Chartered Organization         Pack 179 Parents Of Org                                     Circle Ten Council 571                    3316 Westclarke Dr                                                Plano, TX 75093‐7974                                                                                        First Class Mail
Chartered Organization         Pack 320 Alliance, Inc                                      South Florida Council 084                 1155 93rd St                                                      Bay Harbor Islands, FL 33154‐3907                                                                           First Class Mail
Chartered Organization         Pack 351 Parents Club                                       Mt Diablo‐Silverado Council 023           3818 Campolindo Dr                                                Moraga, CA 94556‐1547                                                                                       First Class Mail
Chartered Organization         Pack 556 Charter Org                                        c/o Owen Jacobsen                         23729 NE 61st St                                                  Redmond, WA 98053‐8113                                                                                      First Class Mail
Chartered Organization         Pack 580 Leadership Committee                               Chief Seattle Council 609                 13327 121st Ave Ne                                                Kirkland, WA 98034‐2144                                                                                     First Class Mail
Chartered Organization         Pack 696 Parent Committee                                   Denver Area Council 061                   10168 Silver Maple Cir                                            Highlands Ranch, CO 80129‐5423                                                                              First Class Mail
Chartered Organization         Pack 77 St Johns Catholic Ch                                Black Swamp Area Council 449              510 Jackson Ave                                                   Defiance, OH 43512‐2125                                                                                     First Class Mail
Chartered Organization         Pack And Paddle                                             Evangeline Area 212                       601 E Pinhook Rd                                                  Lafayette, LA 70501‐8335                                                                                    First Class Mail
Chartered Organization         Packanack Lake Country Club & Community                     Northern New Jersey Council, Bsa 333      52 Lake Dr W                                                      Wayne, NJ 07470‐5733                                                                                        First Class Mail
Chartered Organization         Packanack Lake Yacht Club                                   Northern New Jersey Council, Bsa 333      63 Spruce Ter                                                     Wayne, NJ 07470‐4350                                                                                        First Class Mail
Chartered Organization         Packard Motor Car Foundation                                Great Lakes Fsc 272                       49965 Van Dyke Ave                                                Shelby Township, MI 48317‐1307                                                                              First Class Mail
Voting Party                   Packer O'Leary And Corson                                   Attn: Robert Bruce Packer                 505 N Brand, Blvd 1025                                            Glendale, CA 91203                                                     rpacker@poc‐law.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Padberg Corrigan & Appelbaun                                Nicole Burlison Knepper                   1926 Chouteau Ave.                                                St. Louis, MO 63103                                                    nicole@padberglaw.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Paddletown St. Paul'S Umc (005545)                          c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Paddock Road Community Club Inc                             Mid‐America Council 326                   3535 Paddock Rd                                                   Omaha, NE 68124‐3827                                                                                        First Class Mail
Voting Party                   Padi Americas Inc                                           30151 Tomas                               Rancho Santa Margarita, CA 92688‐2125                                                                                                                                         First Class Mail
Chartered Organization         Padre Island Baptist Church                                 South Texas Council 577                   14253 S Padre Island Dr                                           Corpus Christi, TX 78418‐6029                                                                               First Class Mail
Chartered Organization         Padre Serra Catholic Church                                 Ventura County Council 057                5205 Upland Rd                                                    Camarillo, CA 93012‐9298                                                                                    First Class Mail
Voting Party                   Padre Serra Catholic Church                                 c/o Archdiocese of Los Angeles            Attn: Margaret Graf, General Counsel                              3424 Wilshire Blvd                  Los Angeles, CA 90010              legal@la‐archdiocese.org             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Padres Latinos Hanover Park                                 Pathway To Adventure 456                  2100 Elm Ave                                                      Hanover Park, IL 60133‐3808                                                                                 First Class Mail
Chartered Organization         Padua Center                                                Erie Shores Council 460                   1416 Nebraska Ave                                                 Toledo, OH 43607‐4101                                                                                       First Class Mail
Chartered Organization         Paducah Police Dept                                         Lincoln Heritage Council 205              1400 Broadway St                                                  Paducah, KY 42001‐2506                                                                                      First Class Mail
Voting Party                   Page Community United Methodist Church (Az)                 c/o Clarke Law Firm, PLC                  Attn: Marilee Miller Clarke                                       8141 E Indian Bend Rd, Ste 105      Scottsdale, AZ 85250               marilee@clarkelawaz.com              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Page Community Utd Methodist Church                         Grand Canyon Council 010                  P.O. Box 1345                                                     Page, AZ 86040‐1345                                                                                         First Class Mail
Chartered Organization         Page High School                                            Old N State Council 070                   201 Alma Pinnix Dr                                                Greensboro, NC 27405‐4321                                                                                   First Class Mail
Chartered Organization         Page Memorial Methodist                                     Occoneechee 421                           P.O. Box 695                                                      Aberdeen, NC 28315‐0695                                                                                     First Class Mail
Chartered Organization         Page Memorial Methodist                                     Occoneechee 421                           P.O. Box 696                                                      Aberdeen, NC 28315‐0696                                                                                     First Class Mail
Voting Party                   Page Memorial United Methodist Church                       Attn: Dennis Holder                       P.O. Box 695                                                      115 W Main St                       Aberdeen, NC 28315                 dennisholder7246@gmail.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pahranagat Valley Fire District                             Utah National Parks 591                   P.O. Box 540                                                      Alamo, NV 89001‐0540                                                                                        First Class Mail
Chartered Organization         Paideia Academy Of South Phoenix                            Grand Canyon Council 010                  7777 S 15th Ter                                                   Phoenix, AZ 85042‐6754                                                                                      First Class Mail
Voting Party                   Paine Hamblen LLP                                           Attn: Kathryn Mckinley                    717 W Sprague Ave, Ste 1200                                       Spokane, WA 99201                                                      kathryn.mckinley@painehamblen.com    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Painesville Utd Methodist Church                            Lake Erie Council 440                     71 N Park Pl                                                      Painesville, OH 44077‐3416                                                                                  First Class Mail
Chartered Organization         Paint Creek Pto                                             Great Lakes Fsc 272                       2800 Indianwood Rd                                                Lake Orion, MI 48362‐1108                                                                                   First Class Mail
Chartered Organization         Painted Post Fire Dept                                      Five Rivers Council, Inc 375              130 W Water St                                                    Painted Post, NY 14870‐1346                                                                                 First Class Mail
Chartered Organization         Painted Stone Elementary                                    Lincoln Heritage Council 205              150 Warriors Way                                                  Shelbyville, KY 40065‐8057                                                                                  First Class Mail
Chartered Organization         Paintsville First Church Of God                             Blue Grass Council 204                    205 8th St                                                        Paintsville, KY 41240‐1284                                                                                  First Class Mail
Chartered Organization         Paisley Ib Magnet High School                               Old Hickory Council 427                   1394 Thurmond St                                                  Winston Salem, NC 27105‐5731                                                                                First Class Mail
Chartered Organization         Pajarito Lodge 66 Af & Am                                   Great Swest Council 412                   P.O. Box 866                                                      Los Alamos, NM 87544‐0866                                                                                   First Class Mail
Chartered Organization         Pajaro Valley Rod & Gun Club                                Silicon Valley Monterey Bay 055           557 1/2 Lakeview Rd                                               Watsonville, CA 95076‐2231                                                                                  First Class Mail
Chartered Organization         Pal Humane Society                                          Las Vegas Area Council 328                4155 N Rancho Dr, Ste 150                                         Las Vegas, NV 89130‐3448                                                                                    First Class Mail
Chartered Organization         Palace City Lions Club                                      Sioux Council 733                         P.O. Box 841                                                      Mitchell, SD 57301‐0841                                                                                     First Class Mail
Chartered Organization         Paladin Community Services                                  Texas Trails Council 561                  P.O. Box 396                                                      Winters, TX 79567‐0396                                                                                      First Class Mail
Chartered Organization         Palatine Kiwanis Foundation Inc                             Pathway To Adventure 456                  P.O. Box 781                                                      Palatine, IL 60078‐0781                                                                                     First Class Mail
Voting Party                   Palatine: First                                             Attn: Keck Neil Mowry                     123 N Plum Grove Rd                                               Palatine, IL 60067                                                     keckmowry@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Palatka Housing Authority                                   North Florida Council 087                 400 N 15th St                                                     Palatka, FL 32177‐3104                                                                                      First Class Mail
Voting Party                   Palay Display Industries, Inc                               10901 Louisiana Ave S                     Bloomington, MN 55438‐2737                                                                                                                                                    First Class Mail
Chartered Organization         Palermo Utd Methodist Church                                Longhouse Council 373                     4 County Route 35                                                 Fulton, NY 13069                                                                                            First Class Mail
Chartered Organization         Palestine Utd Methodist Church                              Yocona Area Council 748                   1185 Algoma Rd                                                    Pontotoc, MS 38863‐9405                                                                                     First Class Mail
Chartered Organization         Palisades Episcopal School                                  Mecklenburg County Council 415            13120 Grand Palisades Pkwy                                        Charlotte, NC 28278‐8449                                                                                    First Class Mail
Chartered Organization         Palisades Lutheran Church                                   W.L.A.C.C. 051                            15905 W Sunset Blvd                                               Pacific Palisades, CA 90272‐3407                                                                            First Class Mail
Chartered Organization         Palisades Mtb                                               Northern New Jersey Council, Bsa 333      5 Colgate St                                                      Closter, NJ 07624‐1535                                                                                      First Class Mail
Chartered Organization         Palisades Park/Ft. Lee Elks Lodge 2475                      Northern New Jersey Council, Bsa 333      536 10th St                                                       Palisades Park, NJ 07650‐2338                                                                               First Class Mail
Chartered Organization         Palm Acres Charter High                                     Southwest Florida Council 088             507 Sunshine Blvd                                                 Lehigh Acres, FL 33971‐1422                                                                                 First Class Mail
Chartered Organization         Palm Ave Exceptional (Sn)                                   North Florida Council 087                 1301 W Palm Ave                                                   Jacksonville, FL 32254‐2349                                                                                 First Class Mail
Chartered Organization         Palm Bay Elementary School                                  Central Florida Council 083               1200 Alamanda Rd Ne                                               Palm Bay, FL 32905‐4221                                                                                     First Class Mail
Chartered Organization         Palm Bay Police Dept / Explorers                            Central Florida Council 083               130 Malabar Rd Se                                                 Palm Bay, FL 32907‐3009                                                                                     First Class Mail
Chartered Organization         Palm Beach Cnty Sch Distr Police Dept                       Gulf Stream Council 085                   3330 Forest Hill Blvd, Ste B127                                   West Palm Beach, FL 33406‐5869                                                                              First Class Mail
Chartered Organization         Palm Beach County Sheriffs Office                           Gulf Stream Council 085                   3228 Gun Club Rd                                                  West Palm Beach, FL 33406‐3001                                                                              First Class Mail
Chartered Organization         Palm Beach Gardens Elementary School Pta                    Gulf Stream Council 085                   10060 Riverside Dr                                                Palm Beach Gardens, FL 33410‐4849                                                                           First Class Mail
Chartered Organization         Palm Beach Gardens Fire Rescue                              Gulf Stream Council 085                   10500 N Military Trl                                              West Palm Beach, FL 33410‐4628                                                                              First Class Mail
Chartered Organization         Palm Beach Gardens Police Dept                              c/o Chief Stepp                           10500 N Military Trl                                              West Palm Beach, FL 33410‐4628                                                                              First Class Mail
Chartered Organization         Palm Beach Sheriffs Office                                  Gulf Stream Council 085                   38840 State Rd 80                                                 Belle Glade, FL 33430‐5617                                                                                  First Class Mail
Chartered Organization         Palm City Presbyterian Church Usa Inc                       Gulf Stream Council 085                   2700 SW Martin Hwy                                                Palm City, FL 34990‐3146                                                                                    First Class Mail
Chartered Organization         Palm Coast Elks Lodge 2709                                  Central Florida Council 083               P.O. Box 352765                                                   Palm Coast, FL 32135‐2765                                                                                   First Class Mail
Chartered Organization         Palm Coast Utd Methodist Church                             Central Florida Council 083               5200 Belle Terre Pkwy                                             Palm Coast, FL 32137‐8657                                                                                   First Class Mail
Voting Party                   Palm Harbor United Methodist Church ‐ Palm Harbor           c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Palm Harbor Utd Methodist Church                            Greater Tampa Bay Area 089                1551 Belcher Rd                                                   Palm Harbor, FL 34683‐6743                                                                                  First Class Mail
Chartered Organization         Palm Lake Christian Church                                  Greater Tampa Bay Area 089                5401 22nd Ave N                                                   Saint Petersburg, FL 33710‐5124                                                                             First Class Mail
Chartered Organization         Palm Schwenkfelder Church                                   Cradle of Liberty Council 525             833 Gravel Pike                                                   Palm, PA 18070‐1114                                                                                         First Class Mail
Chartered Organization         Palm Springs Police Dept                                    California Inland Empire Council 045      200 S Civic Dr                                                    Palm Springs, CA 92262‐7201                                                                                 First Class Mail
Chartered Organization         Palm Springs Police Dept                                    Gulf Stream Council 085                   230 Cypress Ln                                                    Palm Springs, FL 33461‐1604                                                                                 First Class Mail
Voting Party                   Palm Springs Umc                                            c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Palm Springs Utd Methodist Church                           South Florida Council 084                 5700 W 12th Ave                                                   Hialeah, FL 33012‐2336                                                                                      First Class Mail
Chartered Organization         Palm Valley Lutheran Church                                 Capitol Area Council 564                  2500 E Palm Valley Blvd                                           Round Rock, TX 78665‐4681                                                                                   First Class Mail
Voting Party                   Palm Valley Lutheran Church                                 Attn: Morris D Weiss                      100 Congress Ave, Ste 1800                                        Austin, TX 78701                                                       morris.weiss@wallerlaw.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Palm Valley Lutheran Church                                 Attn: Alan Dunn                           2500 E Palm Valley Blvd                                           Round Rock, TX 78665                                                   adunn@pvlc.org                       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Palm Valley School                                          California Inland Empire Council 045      35525 Da Vall Dr                                                  Rancho Mirage, CA 92270‐1822                                                                                First Class Mail
Voting Party                   Palma Ceia ‐ Tampa                                          c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Palma Ceia Presbyterian Church                              Greater Tampa Bay Area 089                3501 W San Jose St                                                Tampa, FL 33629‐7022                                                                                        First Class Mail
Voting Party                   Palma Ceia Presbyterian Church Of Tampa, Florida, Inc       c/o Stichter Riedel Blain & Postler, PA   Attn: Scott A Stichter                                            110 E Madison St, Ste 200           Tampa, FL 33602                    sstichter.ecf@srbp.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Palma Ceia Presbyterian Church Of Tampa, Florida, Inc       Attn: Administrator                       3501 San Jose St                                                  Tampa, FL 33629                                                                                             First Class Mail
Chartered Organization         Palma Ceia Utd Methodist Church                             Greater Tampa Bay Area 089                3723 W Bay To Bay Blvd                                            Tampa, FL 33629‐6911                                                                                        First Class Mail
Chartered Organization         Palma Soccer Club                                           Mecklenburg County Council 415            10803 Northgate Trail Dr                                          Charlotte, NC 28215‐6712                                                                                    First Class Mail
Voting Party                   Palma Sola Presbyterian Church Inc                          6510 3rd Ave W                            Bradenton, FL 34209                                                                                                                      Roywms55@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Palma United Methodist Church                               Attn: Rev Carlton Wright Bodine Jr        1203 Dogwood Dr E                                                 Murray, KY 42071                                                       rev.c.w.bodinejr@juno.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Palma United Methodist Church                               Attn: Beth Henson                         65 Walton Ln                                                      Benton, KY 42025                                                       french.002@att.net                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Palmer American Legion Post 120                             Overland Trails 322                       905 Commercial                                                    Palmer, NE 68864                                                                                            First Class Mail
Chartered Organization         Palmer Dodge Car Dealership                                 Atlanta Area Council 092                  11460 Alpharetta Hwy                                              Roswell, GA 30076‐3801                                                                                      First Class Mail
Chartered Organization         Palmer Fire & Rescue                                        Great Alaska Council 610                  645 Cope Industrial Way                                           Palmer, AK 99645‐6748                                                                                       First Class Mail
Chartered Organization         Palmer Firefighters Assoc                                   Western Massachusetts Council 234         12 Walnut St                                                      Palmer, MA 01069‐1724                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                    Page 294 of 442
                                                                                Case 20-10343-LSS                                         Doc 8171                                           Filed 01/06/22                                                    Page 310 of 457
                                                                                                                                                                                Exhibit B
                                                                                                                                                                                 Service List
                                                                                                                                                                          Served as set forth below

        Description                                                      Name                                                                                                 Address                                                                                                           Email                  Method of Service
Voting Party                   Palmer Memorial Episcopal Church                        Attn: The Rev Neil Alan Willard               6221 Main St                                                   Houston, TX 77030                                                    nwillard@palmerchurch.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Palmer Moose Lodge 793                                  Great Alaska Council 610                      P.O. Box 772                                                   Palmer, AK 99645‐0772                                                                                   First Class Mail
Chartered Organization         Palmer Moravian Church                                  Minsi Trails Council 502                      2901 John St                                                   Easton, PA 18045‐2537                                                                                   First Class Mail
Chartered Organization         Palmer Park Prepatory Academy Pto                       Great Lakes Fsc 272                           3901 Margareta St                                              Detroit, MI 48221‐2260                                                                                  First Class Mail
Chartered Organization         Palmer School                                           Mt Diablo‐Silverado Council 023               2740 Jones Rd                                                  Walnut Creek, CA 94597‐7816                                                                             First Class Mail
Voting Party                   Palmer Township Community Church                        2901 John St                                  Easton, PA 18045                                                                                                                    sue@palmermoravian.org             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Palmer Township Community Church                        Attn: Nicholas Noel III                       2840 Green Pond Rd                                             Easton, PA 18045                                                     nn6552@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Palmer Utd Methodist Men                                Overland Trails 322                           212 Commercial St                                              Palmer, NE 68864                                                                                        First Class Mail
Voting Party                   Palmerdale United Methodist Church                      7776 Hwy 75                                   Pinson, AL 35126                                                                                                                    kelly@palmerdaleumc.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Palmers Direct To You Market                            Seneca Waterways 397                          900 Jefferson Rd                                               Rochester, NY 14623‐3221                                                                                First Class Mail
Chartered Organization         Palmerton Rod And Gun Club                              Minsi Trails Council 502                      P.O. Box 11                                                    Palmerton, PA 18071‐0011                                                                                First Class Mail
Voting Party                   Palmetto Council                                        Attn: Justin Williams                         420 S Church St                                                Spartanburg, SC 29306                                                Justin.williams@scouting.org       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Palmetto Elementary School Pta                          Central Florida Council 083                   2015 Duskin Ave                                                Orlando, FL 32839‐2609                                                                                  First Class Mail
Voting Party                   Palmetto Packaging Corporation                          Attn: David Searcy                            1131 Edwards Cir                                               Florence, SC 29501                                                   dsearcy@palmettopackaging.com      Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Palmetto Place Childrens Shelter                        Indian Waters Council 553                     5507 Colonial Dr                                               Columbia, SC 29203‐6135                                                                                 First Class Mail
Chartered Organization         Palmetto Pointe Church                                  Pee Dee Area Council 552                      3690 Palmetto Pointe Blvd                                      Myrtle Beach, SC 29588‐6109                                                                             First Class Mail
Chartered Organization         Palmview Police Dept                                    Rio Grande Council 775                        400 W Veterans Blvd                                            Palmview, TX 78572‐8327                                                                                 First Class Mail
Chartered Organization         Palmyra Church Of The Brethren                          Pennsylvania Dutch Council 524                45 N Chestnut St                                               Palmyra, PA 17078‐1702                                                                                  First Class Mail
Chartered Organization         Palmyra Lions Club                                      Potawatomi Area Council 651                   P.O. Box 397                                                   Palmyra, WI 53156‐0397                                                                                  First Class Mail
Chartered Organization         Palmyra Macedon Kiwanis Club                            Seneca Waterways 397                          1462 Wayneport Rd                                              Macedon, NY 14502‐9736                                                                                  First Class Mail
Chartered Organization         Palmyra Methodist Church                                Old Hickory Council 427                       5076 Nc Hwy 8 S                                                Germanton, NC 27019                                                                                     First Class Mail
Voting Party                   Palmyra Umc                                             Attn: Michael E Sizemore                      5076 NC Hwy 8 S                                                Germanton, NC 27019                                                  msizemore430@gmail.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Palmyra Utd Methodist Church                            Great Rivers Council 653                      P.O. Box 646                                                   Palmyra, MO 63461‐0646                                                                                  First Class Mail
Chartered Organization         Palo Alto Police Dept                                   Pacific Skyline Council 031                   275 Forest Ave                                                 Palo Alto, CA 94301‐2513                                                                                First Class Mail
Chartered Organization         Palo Cedro Fire Dept Inc                                Golden Empire Council 047                     9418 Deschutes Rd                                              Palo Cedro, CA 96073                                                                                    First Class Mail
Chartered Organization         Palo Cedro Lions Club                                   Golden Empire Council 047                     P.O. Box 170                                                   Palo Cedro, CA 96073‐0170                                                                               First Class Mail
Chartered Organization         Palo Verde Ward ‐ Lds Tucson East Stake                 Catalina Council 011                          6901 E Kenyon Dr                                               Tucson, AZ 85710‐4711                                                                                   First Class Mail
Voting Party                   Palos United Methodist Church                           Attn: Barbara Lee Good                        12101 S Harlem Ave                                             Palos Heights, IL 60463                                              palosumc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Palouse Lions Club                                      Inland Nwest Council 611                      P.O. Box 261                                                   Palouse, WA 99161‐0261                                                                                  First Class Mail
Firm                           Paluch Law LLC                                          Jessica Paluch Hoerman                        210 S. Main St                                                 Edwardsville, IL 62025                                               BSAIntake@trulaw.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Firm                           Pamela Izakowitz, Esq                                   Pamela H. Izakowitz                           13014 N. Dale Mabry Highway #746                               Tampa, FL 33678                                                      pamizakowitz@gmail.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Pamela Petterchak                                       c/o Boy Scouts of America                     Attn: Chase Koontz                                             1325 W Walnut Hill Ln              Irving, TX 75015                  chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Pamlico Sea Base                                        East Carolina Council 426                     419 Boy Scout Rd                                               Blounts Creek, NC 27814‐9397                                                                            First Class Mail
Chartered Organization         Pamoja Preparatory Academy                              Greater St Louis Area Council 312             8744 Granada Pl                                                Saint Louis, MO 63136‐3707                                                                              First Class Mail
Chartered Organization         Pamoja‐Cole School Pto Chama                            Greater St Louis Area Council 312             3935 Enright Ave                                               Saint Louis, MO 63108‐3559                                                                              First Class Mail
Chartered Organization         Pampa First Christian Church                            Golden Spread Council 562                     1633 N Nelson St                                               Pampa, TX 79065‐4103                                                                                    First Class Mail
Chartered Organization         Pampa First Presbyterian Church                         Golden Spread Council 562                     525 N Gray St                                                  Pampa, TX 79065‐6220                                                                                    First Class Mail
Chartered Organization         Pampa Police Dept                                       Golden Spread Council 562                     201 W Kingsmill Ave                                            Pampa, TX 79065                                                                                         First Class Mail
Chartered Organization         Pampa St Paul Utd Methodist Chruch                      Golden Spread Council 562                     511 N Hobart St                                                Pampa, TX 79065‐6144                                                                                    First Class Mail
Chartered Organization         Pana Elks Lodge 1261                                    Greater St Louis Area Council 312             107 E 2nd St                                                   Pana, IL 62557‐1419                                                                                     First Class Mail
Chartered Organization         Pana Fire Dept                                          Greater St Louis Area Council 312             400 1st St                                                     Pana, IL 62557‐1412                                                                                     First Class Mail
Chartered Organization         Panama City Police Dept                                 Gulf Coast Council 773                        1209 E 15th St                                                 Panama City, FL 32405‐6131                                                                              First Class Mail
Voting Party                   Panama United Methodist Church                          Attn: Jeffrey Ireland                         P.O. Box 218                                                   Panama, NY 14767                                                     debbie.johnson@panamaum.org        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Pandora Utd Methodist Church                            Black Swamp Area Council 449                  108 W Washington St                                            Pandora, OH 45877‐9446                                                                                  First Class Mail
Chartered Organization         Panhandle Centenary Utd Methodist Ch                    Golden Spread Council 562                     P.O. Box 98                                                    Goodwell, OK 73939‐0098                                                                                 First Class Mail
Chartered Organization         Panhandle Lions Club                                    Golden Spread Council 562                     P.O. Box 1181                                                  Panhandle, TX 79068‐1181                                                                                First Class Mail
Firm                           Panish Shea & Boyle LLP                                 Spencer R. Lucas                              11111 Santa Monica Blvd. Suite 700                             Los Angeles, CA 90025                                                lucas@psblaw.com                   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Panora Lions Club                                       Mid Iowa Council 177                          310 SE 4th St                                                  Panora, IA 50216‐1090                                                                                   First Class Mail
Chartered Organization         Pantano Christian Church                                Catalina Council 011                          1755 S Houghton Rd                                             Tucson, AZ 85748‐7605                                                                                   First Class Mail
Chartered Organization         Pantano Ward ‐ Lds Tucson East Stake                    Catalina Council 011                          700 N Bonanza Ave                                              Tucson, AZ 85748‐1902                                                                                   First Class Mail
Chartered Organization         Pantego Vol Fire Dept Men                               East Carolina Council 426                     P.O. Box 67                                                    Pantego, NC 27860‐0067                                                                                  First Class Mail
Voting Party                   Panther Springs Umc                                     Attn: Rich Desgroseilliers, Treasurer Psumc   4555 W Andrew Johnson Hwy                                      Morristown, TN 37814‐1038                                            pantherspringsumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Panther Springs Umc                                     Rev Cindy Paxton                              120 Ricker Rd                                                  Greeneville, TN 37743                                                cpax0603@gmail.com                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Panther Springs Utd Methodist Church                    Great Smoky Mountain Council 557              4555 W Andrew Johnson Hwy                                      Morristown, TN 37814‐1038                                                                               First Class Mail
Chartered Organization         Panther Trace Civic Assoc                               Greater Tampa Bay Area 089                    12447 Adventure Dr                                             Riverview, FL 33579‐7789                                                                                First Class Mail
Voting Party                   Panther Valley Ecumenical Church                        c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Panthers F C                                            Pathway To Adventure 456                      1352 E Ports O Call Dr                                         Palatine, IL 60074‐3238                                                                                 First Class Mail
Firm                           Panzarella Law Firm                                     John F. Panzarella, Esq.                      16102 Armistead Lane                                           Tampa, FL 33556                                                      panzarellafirm@gmail.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Paoli Meridian Lions Club                               Hoosier Trails Council 145 145                1326 W Leonard Cir                                             Paoli, IN 47454‐9550                                                                                    First Class Mail
Chartered Organization         Paoli Presbyterian Church                               Chester County Council 539                    225 S Valley Rd                                                Paoli, PA 19301‐1933                                                                                    First Class Mail
Voting Party                   Paoli United Methodist Church                           Attn: Trustee                                 794 E State Rd 56                                              Paoli, IN 47454                                                      secretary.paoliumc@hotmail.com     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Paonia United Methodist Church                          Attn: Tom Henshall                            P.O. Box 157                                                   Paonia, CO 81428                                                     twcj@aol.com                       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Paradies Gifts Inc                                      2325 W Airport Blvd                           Sanford, FL 32771‐3004                                                                                                                                                 First Class Mail
Chartered Organization         Paradise Baptist Church                                 Norwela Council 215                           1706 Hollywood Ave                                             Shreveport, LA 71108‐3430                                                                               First Class Mail
Chartered Organization         Paradise Elks Lodge 2026                                Golden Empire Council 047                     6038 Clark Rd PMB 120, Ste A                                   Paradise, CA 95969‐4189                                                                                 First Class Mail
Chartered Organization         Paradise Hills Utd Methodist Men                        Great Swest Council 412                       4700 Paradise Blvd Nw                                          Albuquerque, NM 87114‐4107                                                                              First Class Mail
Voting Party                   Paradise Islands Pizza Inc                              dba Papa Johns Pizza                          538 Truman Ave                                                 Key West, FL 33040‐3141                                                                                 First Class Mail
Chartered Organization         Paradise Rotary Club                                    Pennsylvania Dutch Council 524                1509 Mentzer Rd                                                Lancaster, PA 17602‐1631                                                                                First Class Mail
Chartered Organization         Paradise Utd Church Of Christ                           Buckeye Council 436                           619 E Main St                                                  Louisville, OH 44641‐1701                                                                               First Class Mail
Chartered Organization         Paradise Valley Police Dept                             Grand Canyon Council 010                      6433 E Lincoln Dr                                              Paradise Valley, AZ 85253‐4328                                                                          First Class Mail
Voting Party                   Paradise Valley United Methodist Church (Az)            c/o Clarke Law Firm, Plc                      Attn: Marilee Miller Clarke                                    8141 E Indian Bend Rd, Ste 105     Scottsdale, AZ 85250              marilee@clarkelawaz.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Firm                           Paradowski Law                                          W. Jeff Paradowski                            1604 Copperfield Parkway Ste 100                               College Station, TX 77845                                            jeff@paradowskilaw.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Paragould First United Methodist                        c/o Friday, Eldredge & Clark LLP              Attn: Lindsey Emerson Raines                                   400 W Capitol Ave, Ste 2000        Little Rock, AR 72201             lraines@fridayfirm.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Paragould First United Methodist                        Attn: Denise Chipman                          P.O. Box 667                                                   Paragould, AR 72451                                                  denise.chipman@fumcparagould.org   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Paramount Elks Lodge 1804                               Greater Los Angeles Area 033                  8108 Alondra Blvd                                              Paramount, CA 90723‐4463                                                                                First Class Mail
Voting Party                   Paramount Headwear Inc                                  P.O. Box 790051                               Saint Louis, MO 63179‐0051                                                                                                                                             First Class Mail
Chartered Organization         Paramount School                                        Crossroads of America 160                     3020 Nowland Ave                                               Indianapolis, IN 46201‐1422                                                                             First Class Mail
Chartered Organization         Parent & Teachers Sside Elem                            Southwest Florida Council 088                 1901 Webber St                                                 Sarasota, FL 34239‐4521                                                                                 First Class Mail
Chartered Organization         Parent Advisory Board Expo School                       Northern Star Council 250                     540 Warwick St                                                 Saint Paul, MN 55116‐1538                                                                               First Class Mail
Chartered Organization         Parent Ambassadors Detroit Merit Academy                Great Lakes Fsc 272                           1091 Alter Rd                                                  Detroit, MI 48215‐2861                                                                                  First Class Mail
Chartered Organization         Parent Faculty Club                                     Mt Diablo‐Silverado Council 023               3261 Vichy Ave                                                 Napa, CA 94558‐2113                                                                                     First Class Mail
Chartered Organization         Parent Faculty Council Of Orchard Lane                  Potawatomi Area Council 651                   2015 S Sunnyslope Rd                                           New Berlin, WI 53151‐2421                                                                               First Class Mail
Chartered Organization         Parent Leaders Of Kinzie Elementary                     Pathway To Adventure 456                      5625 S Mobile Ave                                              Chicago, IL 60638‐3459                                                                                  First Class Mail
Chartered Organization         Parent Liasion Regan School                             Connecticut Rivers Council, Bsa 066           2780 N Main St                                                 Waterbury, CT 06704‐1603                                                                                First Class Mail
Chartered Organization         Parent Of Pack 18                                       Greater Los Angeles Area 033                  3637 Tweedy Blvd                                               South Gate, CA 90280‐6043                                                                               First Class Mail
Chartered Organization         Parent Of Pack 261                                      Circle Ten Council 571                        813 Rushmore Ln                                                Plano, TX 75023‐7117                                                                                    First Class Mail
Chartered Organization         Parent Scouting Assoc                                   Mt Diablo‐Silverado Council 023               P.O. Box 1275                                                  Travis Afb, CA 94535‐0275                                                                               First Class Mail
Chartered Organization         Parent Teacher Assc Of Willamette School                Cascade Pacific Council 492                   1403 12th St                                                   West Linn, OR 97068‐4648                                                                                First Class Mail
Chartered Organization         Parent Teacher Assoc                                    Circle Ten Council 571                        5801 Worth St                                                  Dallas, TX 75214‐4645                                                                                   First Class Mail
Chartered Organization         Parent Teacher Group Of Glenwood Elem Sc                Cradle of Liberty Council 525                 122 S Pennell Rd                                               Media, PA 19063‐5713                                                                                    First Class Mail
Chartered Organization         Parent Teacher Org                                      Inland Nwest Council 611                      1351 W Kathleen Ave                                            Coeur D Alene, ID 83815‐8339                                                                            First Class Mail
Chartered Organization         Parent Teacher Org                                      Three Harbors Council 636                     5900 S 51st St                                                 Greendale, WI 53129‐2673                                                                                First Class Mail
Chartered Organization         Parent Teacher Organizaton Lincoln Sch                  Pathway To Adventure 456                      3551 Block Ave                                                 East Chicago, IN 46312‐1820                                                                             First Class Mail
Chartered Organization         Parent Teacher Org‐District 103                         Northeast Illinois 129                        1370 N Riverwoods Rd                                           Lincolnshire, IL 60069‐2402                                                                             First Class Mail
Chartered Organization         Parent Teachers Assoc Of Owasco                         Longhouse Council 373                         66 Letchworth St                                               Auburn, NY 13021‐5599                                                                                   First Class Mail
Chartered Organization         Parent Teachers Assoc.                                  Gulf Stream Council 085                       2051 Clint Moore Rd                                            Boca Raton, FL 33496‐2624                                                                               First Class Mail
Chartered Organization         Parent Teachers Guild Of Santa Sophia                   San Diego Imperial Council 049                9800 San Juan St                                               Spring Valley, CA 91977‐1421                                                                            First Class Mail
Chartered Organization         Parent Teachers Org                                     East Carolina Council 426                     250 Summersill School Rd                                       Jacksonville, NC 28540‐9191                                                                             First Class Mail
Chartered Organization         Parent Teachers Org Eastside Ele                        Cherokee Area Council 556                     1603 S Lyerly St                                               Chattanooga, TN 37404‐5242                                                                              First Class Mail
Chartered Organization         Parent,Teacher At Meadows                               c/o Kennedy                                   801 E Myrtle Ave                                               Phoenix, AZ 85020‐5036                                                                                  First Class Mail
Chartered Organization         Parent/Teacher Orchard Knob Mid Sch                     Cherokee Area Council 556                     500 N Highland Park Ave                                        Chattanooga, TN 37404‐2014                                                                              First Class Mail
Chartered Organization         Parenting Of Scouting                                   Buckskin 617                                  4951 Main Hewett Creek Rd                                      Hewett, WV 25108‐9801                                                                                   First Class Mail
Chartered Organization         Parents & Friends Of Pack 224                           Pikes Peak Council 060                        2825 Pony Tracks Dr                                            Colorado Springs, CO 80922‐1413                                                                         First Class Mail
Chartered Organization         Parents & Friends Of Pack 3202                          Heart of America Council 307                  15800 Indian Creek Pkwy                                        Olathe, KS 66062‐4212                                                                                   First Class Mail
Chartered Organization         Parents & Friends Of Scouting                           Transatlantic Council, Bsa 802                International School of Geneva                                 La Chataigneraie, Founex 1297      Switzerland                                                          First Class Mail
Chartered Organization         Parents & Friends Of Troop 167                          Potawatomi Area Council 651                   1780 State Rd 164                                              Richfield, WI 53076‐9400                                                                                First Class Mail
Chartered Organization         Parents & Friends Of Unit 218                           Silicon Valley Monterey Bay 055               77 Southport Ct                                                San Jose, CA 95138‐1821                                                                                 First Class Mail
Chartered Organization         Parents & Friends Spgs Ranch Elem                       Pikes Peak Council 060                        4350 Centerville Dr                                            Colorado Springs, CO 80922‐2406                                                                         First Class Mail
Chartered Organization         Parents & Washington Students & Staff                   Overland Trails 322                           600 W 3rd St                                                   North Platte, NE 69101‐3843                                                                             First Class Mail
Chartered Organization         Parents And Community For Fremont School                Verdugo Hills Council 058                     3320 Las Palmas Ave                                            Glendale, CA 91208‐1525                                                                                 First Class Mail
Chartered Organization         Parents And Friends Of 107                              Golden Empire Council 047                     2245 Q St                                                      Rio Linda, CA 95673‐2815                                                                                First Class Mail
Chartered Organization         Parents And Lincoln School (Pals)                       Winnebago Council, Bsa 173                    321 W 8th St                                                   Cedar Falls, IA 50613‐2979                                                                              First Class Mail
Chartered Organization         Parents And Youth Group Of Galilee                      Transatlantic Council, Bsa 802                Arazin St 19                                                   Tiberius, 14283                    Israel                                                               First Class Mail
Chartered Organization         Parents As Partners                                     Mid‐America Council 326                       33980 310th St                                                 Neola, IA 51559‐5183                                                                                    First Class Mail
Chartered Organization         Parents Assoc 193 Of Nepa                               Northeastern Pennsylvania Council 501         P.O. Box 95                                                    Luzerne, PA 18709‐0095                                                                                  First Class Mail
Chartered Organization         Parents Assoc Jakarta Intl School                       Far E Council 803                             Box 79/Krt                                                     Indonesia                                                                                               First Class Mail
Chartered Organization         Parents Assoc Of Crew 707                               Greater Los Angeles Area 033                  2701 S Woodgate Dr                                             West Covina, CA 91792‐2036                                                                              First Class Mail
Chartered Organization         Parents Assoc Of Electchester Scouting                  Greater New York Councils, Bsa 640            15921 71st Ave                                                 Fresh Meadows, NY 11365‐3062                                                                            First Class Mail
Chartered Organization         Parents Assoc Of Pack 228                               Greater Los Angeles Area 033                  1290 Pebbledon St                                              Monterey Park, CA 91754‐4300                                                                            First Class Mail
Chartered Organization         Parents Assoc Of Pack 707                               Greater Los Angeles Area 033                  720 W Silver Tree St                                           Claremont, CA 91711‐1539                                                                                First Class Mail
Chartered Organization         Parents Assoc Of Troop 228                              Greater Los Angeles Area 033                  201 N San Gabriel Blvd                                         San Gabriel, CA 91775‐2428                                                                              First Class Mail
Chartered Organization         Parents Assoc Of Troop 707                              Greater Los Angeles Area 033                  2701 S Woodgate Dr                                             West Covina, CA 91792‐2036                                                                              First Class Mail
Chartered Organization         Parents Assoc Of Troop 715                              Greater Los Angeles Area 033                  23425 Sunset Crossing Rd                                       Diamond Bar, CA 91765‐1326                                                                              First Class Mail
Chartered Organization         Parents Club ‐ Boy Scout Troop 764                      W.L.A.C.C. 051                                12448 Braddock Dr                                              Los Angeles, CA 90066‐6814                                                                              First Class Mail
Chartered Organization         Parents Club Of Pack 333                                W.L.A.C.C. 051                                P.O. Box 9342                                                  Calabasas, CA 91372‐9341                                                                                First Class Mail
Chartered Organization         Parents Club Of S S S Odyssey                           Mt Diablo‐Silverado Council 023               7351 Donal Ave                                                 El Cerrito, CA 94530‐2467                                                                               First Class Mail
Chartered Organization         Parents Club Of Scouts 44                               Northeastern Pennsylvania Council 501         1104 Water St                                                  Moosic, PA 18507‐1812                                                                                   First Class Mail
Chartered Organization         Parents Committee                                       Mayflower Council 251                         46 Wolbach Rd                                                  Sudbury, MA 01776‐2429                                                                                  First Class Mail
Chartered Organization         Parents Committee Overland Ave                          W.L.A.C.C. 051                                10650 Ashby Ave                                                Los Angeles, CA 90064‐3209                                                                              First Class Mail
Chartered Organization         Parents For Cubscout Pack 606                           Circle Ten Council 571                        7052 Lomal Dr                                                  Irving, TX 75039                                                                                        First Class Mail
Chartered Organization         Parents For Orting Scouts                               Pacific Harbors Council, Bsa 612              112 Ames St Ne                                                 Orting, WA 98360‐7490                                                                                   First Class Mail
Chartered Organization         Parents For Pack 426                                    Buckskin 617                                  P.O. Box 205                                                   Matewan, WV 25678‐0205                                                                                  First Class Mail
Chartered Organization         Parents For Scouting                                    Buckskin 617                                  449 Boom Hollow Rd                                             Alderson, WV 24910‐7091                                                                                 First Class Mail
Chartered Organization         Parents For Scouting                                    Buckskin 617                                  P.O. Box 145                                                   Brenton, WV 24818‐0145                                                                                  First Class Mail
Chartered Organization         Parents For Scouting                                    Buckskin 617                                  P.O. Box 955                                                   Pineville, WV 24874‐0955                                                                                First Class Mail
Chartered Organization         Parents For Scouting ‐ Pack 217                         Buckskin 617                                  P.O. Box 945                                                   Holden, WV 25625‐0945                                                                                   First Class Mail
Chartered Organization         Parents For Scouting Inc                                Crossroads of America 160                     6910 Karyn Dr                                                  Avon, IN 46123‐8596                                                                                     First Class Mail
Chartered Organization         Parents For Scouting Inc                                Crossroads of America 160                     P.O. Box 426                                                   Plainfield, IN 46168‐0426                                                                               First Class Mail
Chartered Organization         Parents For Scouting Pack 2664                          c/o Jessica Lynn Cline                        P.O. Box 113                                                   Baisden, WV 25608‐0113                                                                                  First Class Mail
Chartered Organization         Parents For Scouting Pack 2752                          Buckskin 617                                  18 Wildcat Way                                                 Logan, WV 25601‐3474                                                                                    First Class Mail
Chartered Organization         Parents For Scouting Pack 45                            Buckskin 617                                  4944 Main Hewett Creek Rd                                      Hewett, WV 25108‐9800                                                                                   First Class Mail
Chartered Organization         Parents For Scouting Pack 65                            Attn: Fred O Hartman                          65 Monitor Park Dr                                             Logan, WV 25601‐9627                                                                                    First Class Mail
Chartered Organization         Parents For Scouting Wealthy School                     President Gerald R Ford 781                   925 Rosewood Ave Se                                            East Grand Rapids, MI 49506‐3361                                                                        First Class Mail
Chartered Organization         Parents For Troop 465                                   Great Swest Council 412                       13 El Cielo Azul Cir                                           Edgewood, NM 87015‐7902                                                                                 First Class Mail
Chartered Organization         Parents Forum Of Cub Pack 529                           Greater Los Angeles Area 033                  11436 177th St                                                 Artesia, CA 90701‐3826                                                                                  First Class Mail
Chartered Organization         Parents Forum Of Lawndale                               Greater Los Angeles Area 033                  16603 Prairie Ave                                              Lawndale, CA 90260‐3040                                                                                 First Class Mail
Chartered Organization         Parents Gallego Primary Fine Arts                       Magnet School                                 6200 S Hemisphere Pl                                           Tucson, AZ 85706‐5255                                                                                   First Class Mail
Chartered Organization         Parents In Education (Pto)                              Glaciers Edge Council 620                     4838 N County Rd F                                             Janesville, WI 53545‐8906                                                                               First Class Mail
Chartered Organization         Parents In Support Of Scouting                          Golden Empire Council 047                     P.O. Box 634                                                   Elk Grove, CA 95759‐0634                                                                                First Class Mail
Chartered Organization         Parents N Texas Maritime Explorers                      Longhorn Council 662                          2059 E Peters Colony Rd                                        Carrollton, TX 75007‐3546                                                                               First Class Mail
Chartered Organization         Parents Of 1277                                         Greater Los Angeles Area 033                  1127 Pine St                                                   South Pasadena, CA 91030‐4310                                                                           First Class Mail
Chartered Organization         Parents Of 1776                                         Mt Diablo‐Silverado Council 023               409 Honeysuckle Ln                                             San Ramon, CA 94582‐5554                                                                                First Class Mail
Chartered Organization         Parents Of 380                                          Grand Canyon Council 010                      P.O. Box 50872                                                 Mesa, AZ 85208‐0044                                                                                     First Class Mail
Chartered Organization         Parents Of Aurora Frontier K‐8                          Denver Area Council 061                       2965 S Killarney Way                                           Aurora, CO 80013‐9042                                                                                   First Class Mail
Chartered Organization         Parents Of Banyan Elementary                            California Inland Empire Council 045          12163 Canyon Meadows Dr                                        Rancho Cucamonga, CA 91739‐9087                                                                         First Class Mail
Chartered Organization         Parents Of Beverly Cub Scouts                           Circle Ten Council 571                        715 Duchess Dr                                                 Allen, TX 75013‐3003                                                                                    First Class Mail
Chartered Organization         Parents Of Boy Scout Troop 438                          Greater Los Angeles Area 033                  P.O. Box 4369                                                  Whittier, CA 90607‐4369                                                                                 First Class Mail
Chartered Organization         Parents Of Briggs Fundamental                           California Inland Empire Council 045          11880 Roswell Ave                                              Chino, CA 91710‐1515                                                                                    First Class Mail
Chartered Organization         Parents Of Brinker Cub Pack 283                         Circle Ten Council 571                        3800 Clark Pkwy                                                Plano, TX 75093‐7720                                                                                    First Class Mail
Chartered Organization         Parents Of Bsa Crew 0114                                Mount Baker Council, Bsa 606                  3230 Lake Dr                                                   Lake Stevens, WA 98258‐8770                                                                             First Class Mail
Chartered Organization         Parents Of Bsa Troop 0114                               Mount Baker Council, Bsa 606                  3230 Lake Dr                                                   Lake Stevens, WA 98258‐8770                                                                             First Class Mail
Chartered Organization         Parents Of Burley                                       Snake River Council 111                       230 Palmer Rd                                                  Burley, ID 83318‐3139                                                                                   First Class Mail
Chartered Organization         Parents Of Canyon View Elementary School                Catalina Council 011                          8340 E Surrey Trl                                              Tucson, AZ 85750‐9794                                                                                   First Class Mail
Chartered Organization         Parents Of Carus Community                              Cascade Pacific Council 492                   23421 S Hwy 213, Unit 12                                       Oregon City, OR 97045‐9039                                                                              First Class Mail
Chartered Organization         Parents Of Carver School                                Greater Los Angeles Area 033                  3100 Huntington Dr                                             San Marino, CA 91108‐2238                                                                               First Class Mail
Chartered Organization         Parents Of Casa View                                    Circle Ten Council 571                        601 Kingston Pl                                                Garland, TX 75043‐5428                                                                                  First Class Mail
Chartered Organization         Parents Of Chandler                                     Greater Los Angeles Area 033                  1005 Armada Dr                                                 Pasadena, CA 91103‐2802                                                                                 First Class Mail
Chartered Organization         Parents Of Chino Scouts                                 California Inland Empire Council 045          12075 Humboldt Ave                                             Chino, CA 91710‐2070                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                 Page 295 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                           Filed 01/06/22                               Page 311 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                       Name                                                                                          Address                                                                       Email              Method of Service
Chartered Organization         Parents Of College Grove                                 Middle Tennessee Council 560           4059 Kings Camp Pass                                           Arrington, TN 37014‐0016                                        First Class Mail
Chartered Organization         Parents Of College Grove                                 Middle Tennessee Council 560           795 French River Rd                                            Nolensville, TN 37135‐9637                                      First Class Mail
Chartered Organization         Parents Of Corona                                        California Inland Empire Council 045   871 Clover Ln                                                  Corona, CA 92880‐6795                                           First Class Mail
Chartered Organization         Parents Of Crenshaw High School                          Greater Los Angeles Area 033           501 W 46th St                                                  Los Angeles, CA 90037‐3113                                      First Class Mail
Chartered Organization         Parents Of Crew 131                                      President Gerald R Ford 781            2677 N Setterbo Rd                                             Suttons Bay, MI 49682‐9119                                      First Class Mail
Chartered Organization         Parents Of Crew 296                                      Silicon Valley Monterey Bay 055        1698 Lucca Pl                                                  San Jose, CA 95138‐2113                                         First Class Mail
Chartered Organization         Parents Of Crew 323                                      W.L.A.C.C. 051                         11777 San Vicente Blvd, Ste 750                                Los Angeles, CA 90049‐5067                                      First Class Mail
Chartered Organization         Parents Of Crew 380                                      Golden Empire Council 047              9054 Tokay Ln                                                  Sacramento, CA 95829‐9319                                       First Class Mail
Chartered Organization         Parents Of Crew 43                                       Pacific Skyline Council 031            1150 Chess Dr                                                  Foster City, CA 94404‐1107                                      First Class Mail
Chartered Organization         Parents Of Crosstimbers Elementary                       Last Frontier Council 480              4800 N Kelly Ave                                               Edmond, OK 73025‐3006                                           First Class Mail
Chartered Organization         Parents Of Crow Agency                                   Montana Council 315                    101 Makata 3rd St                                              Crow Agency, MT 59022                                           First Class Mail
Chartered Organization         Parents Of Cub Scout Pack 220                            Circle Ten Council 571                 1540 Baffin Bay Dr                                             Plano, TX 75075‐2204                                            First Class Mail
Chartered Organization         Parents Of Cub Scout Pack 618                            Grand Canyon Council 010               3935 E Renee Dr                                                Scottsdale, AZ 85254                                            First Class Mail
Chartered Organization         Parents Of Cub Scout Pack 841                            Mt Diablo‐Silverado Council 023        2850 Pine Valley Rd                                            San Ramon, CA 94583‐3352                                        First Class Mail
Chartered Organization         Parents Of Dapplegrey                                    Greater Los Angeles Area 033           3011 Palos Verdes Dr N                                         Palos Verdes Estates, CA 90274‐4458                             First Class Mail
Chartered Organization         Parents Of Dolores                                       Greater Los Angeles Area 033           16321 1/2 Estrella Ave                                         Gardena, CA 90247‐5017                                          First Class Mail
Chartered Organization         Parents Of Dr Rodriguez Elementary                       Rio Grande Council 775                 8402 Wilson Rd                                                 Harlingen, TX 78552‐2478                                        First Class Mail
Chartered Organization         Parents Of Edison School, Glendale, CA                   Verdugo Hills Council 058              435 S Pacific Ave                                              Glendale, CA 91204‐1441                                         First Class Mail
Chartered Organization         Parents Of El Camino Creek Elementary                    San Diego Imperial Council 049         7904 Calle Oliva                                               Carlsbad, CA 92009‐2909                                         First Class Mail
Chartered Organization         Parents Of Fairview School                               Three Harbors Council 636              6502 W Oklahoma Ave                                            Milwaukee, WI 53219‐4147                                        First Class Mail
Chartered Organization         Parents Of Girl Troop 1624                               Grand Canyon Council 010               47522 N 42nd Ave                                               New River, AZ 85087‐9005                                        First Class Mail
Chartered Organization         Parents Of Grass Lake Cub Scouts                         Chief Seattle Council 609              29405 170th Ave Se                                             Kent, WA 98042‐9438                                             First Class Mail
Chartered Organization         Parents Of Harvey Rice                                   Lake Erie Council 440                  2730 E 116th St                                                Cleveland, OH 44120                                             First Class Mail
Chartered Organization         Parents Of Hollen Crest Middle School                    Verdugo Hills Council 058              2101 E Merced Ave                                              West Covina, CA 91791‐3661                                      First Class Mail
Chartered Organization         Parents Of Homeschool Units 227                          Dan Beard Council, Bsa 438             1082 Glenhurst Ct                                              Hebron, KY 41048‐8486                                           First Class Mail
Chartered Organization         Parents Of Image Foundation                              National Capital Area Council 082      14111 Oak Grove Rd                                             Upper Marlboro, MD 20774‐8424                                   First Class Mail
Chartered Organization         Parents Of International Girls                           Great Salt Lake Council 590            929 E Emerald Dr                                               Sandy, UT 84094‐3616                                            First Class Mail
Chartered Organization         Parents Of Jc Ellis                                      Southeast Louisiana Council 214        801 Brockenbraugh Ct                                           Metairie, LA 70005‐2051                                         First Class Mail
Chartered Organization         Parents Of Jf Smith Elem School                          Silicon Valley Monterey Bay 055        2220 Woodbury Ln                                               San Jose, CA 95121‐3233                                         First Class Mail
Chartered Organization         Parents Of Julia Green School                            Middle Tennessee Council 560           3500 Hobbs Rd                                                  Nashville, TN 37215‐2313                                        First Class Mail
Chartered Organization         Parents Of Lab 3115                                      Circle Ten Council 571                 4577 Ohio Dr                                                   Frisco, TX 75035‐5710                                           First Class Mail
Chartered Organization         Parents Of Lakeview School                               Middle Tennessee Council 560           6211 Saundersville Rd                                          Mount Juliet, TN 37122‐2487                                     First Class Mail
Chartered Organization         Parents Of Lavaca Boy Scouts                             Westark Area Council 016               1000 S Div St                                                  Lavaca, AR 72941‐3220                                           First Class Mail
Chartered Organization         Parents Of Lavaca Elementary                             Westark Area Council 016               1000 S Div St                                                  Lavaca, AR 72941‐3220                                           First Class Mail
Chartered Organization         Parents Of Lodge Grass High School                       Montana Council 315                    P.O. Box 810                                                   Lodge Grass, MT 59050‐0810                                      First Class Mail
Chartered Organization         Parents Of Mckinley                                      Erie Shores Council 460                3344 Westland Ave                                              Toledo, OH 43613‐5167                                           First Class Mail
Chartered Organization         Parents Of Monterey Hills                                Greater Los Angeles Area 033           1624 Via Del Rey                                               South Pasadena, CA 91030‐4126                                   First Class Mail
Chartered Organization         Parents Of Montlake                                      Chief Seattle Council 609              2247 E Blaine St                                               Seattle, WA 98112‐2920                                          First Class Mail
Chartered Organization         Parents Of Mt Juliet Elementary                          Middle Tennessee Council 560           401 Woodlawn Dr                                                Mount Juliet, TN 37122‐2803                                     First Class Mail
Chartered Organization         Parents Of Northridge Elementary                         South Plains Council 694               406 Ironton Ave                                                Lubbock, TX 79416‐4102                                          First Class Mail
Chartered Organization         Parents Of Oak School                                    Pacific Skyline Council 031            1501 Oak Ave                                                   Los Altos, CA 94024‐5831                                        First Class Mail
Chartered Organization         Parents Of Occoneechee Perimeter                         Occoneechee 421                        121 Draymore Way                                               Cary, NC 27519‐8677                                             First Class Mail
Chartered Organization         Parents Of Pack 0030                                     Mount Baker Council, Bsa 606           9910 27th Dr Se                                                Everett, WA 98208‐3522                                          First Class Mail
Chartered Organization         Parents Of Pack 0091                                     W.L.A.C.C. 051                         3344 S Canfield Ave, Apt 202                                   Los Angeles, CA 90034‐2982                                      First Class Mail
Chartered Organization         Parents Of Pack 0110                                     Mount Baker Council, Bsa 606           5321 156th St SE                                               Bothell, WA 98012‐4727                                          First Class Mail
Chartered Organization         Parents Of Pack 0122                                     Mount Baker Council, Bsa 606           12829 30th Ave SE                                              Everett, WA 98208‐6160                                          First Class Mail
Chartered Organization         Parents Of Pack 0193                                     Mount Baker Council, Bsa 606           12726 68th Ave SE                                              Snohomish, WA 98296‐8648                                        First Class Mail
Chartered Organization         Parents Of Pack 0421                                     Circle Ten Council 571                 P.O. Box 250067                                                Plano, TX 75025‐0067                                            First Class Mail
Chartered Organization         Parents Of Pack 057 (R)                                  Pacific Skyline Council 031            1645 Marco Polo Way                                            Burlingame, CA 94010‐4649                                       First Class Mail
Chartered Organization         Parents Of Pack 057 (S)                                  Pacific Skyline Council 031            1021 Parkinson Ave                                             Palo Alto, CA 94301‐3447                                        First Class Mail
Chartered Organization         Parents Of Pack 083                                      c/o Arlene Yang                        816 Holly Rd                                                   Belmont, CA 94002‐2215                                          First Class Mail
Chartered Organization         Parents Of Pack 102                                      Silicon Valley Monterey Bay 055        360 E Saint James St                                           San Jose, CA 95112‐5407                                         First Class Mail
Chartered Organization         Parents Of Pack 103 Mill Creek                           President Gerald R Ford 781            4248 Ruby Dr Nw                                                Williamsburg, MI 49690‐9660                                     First Class Mail
Chartered Organization         Parents Of Pack 105                                      The Spirit of Adventure 227            57 Donald Rd                                                   Burlington, MA 01803‐1522                                       First Class Mail
Chartered Organization         Parents Of Pack 106                                      Greater Los Angeles Area 033           422 W Lemon Ave                                                Arcadia, CA 91007‐7944                                          First Class Mail
Chartered Organization         Parents Of Pack 110                                      South Plains Council 694               1903 74th St                                                   Lubbock, TX 79423‐1603                                          First Class Mail
Chartered Organization         Parents Of Pack 1118                                     California Inland Empire Council 045   1032 Nicholas St                                               Upland, CA 91784‐1209                                           First Class Mail
Chartered Organization         Parents Of Pack 12                                       W.L.A.C.C. 051                         2265 27th St                                                   Santa Monica, CA 90405‐1907                                     First Class Mail
Chartered Organization         Parents Of Pack 1203                                     Greater Los Angeles Area 033           901 W Bloomwood Rd                                             San Pedro, CA 90731‐1222                                        First Class Mail
Chartered Organization         Parents Of Pack 1220                                     Circle Ten Council 571                 4568 Saint James Dr                                            Plano, TX 75024‐4725                                            First Class Mail
Chartered Organization         Parents Of Pack 1259                                     Circle Ten Council 571                 3328 Singletree Trl                                            Plano, TX 75023‐6206                                            First Class Mail
Chartered Organization         Parents Of Pack 143                                      Golden Empire Council 047              2880 Gateway                                                   Sacramento, CA 95833                                            First Class Mail
Chartered Organization         Parents Of Pack 144                                      Greater Los Angeles Area 033           555 S Flower St 29th Fl                                        Los Angeles, CA 90071‐2300                                      First Class Mail
Chartered Organization         Parents Of Pack 163                                      W.L.A.C.C. 051                         13517 Kittridge St                                             Valley Glen, CA 91401‐1110                                      First Class Mail
Chartered Organization         Parents Of Pack 1640                                     Great Lakes Fsc 272                    14647 Hubbard St                                               Livonia, MI 48154‐3520                                          First Class Mail
Chartered Organization         Parents Of Pack 1854                                     Buffalo Trail Council 567              P.O. Box 573                                                   Fort Davis, TX 79734‐0573                                       First Class Mail
Chartered Organization         Parents Of Pack 202                                      Mt Diablo‐Silverado Council 023        233 Corte De La Reina                                          Walnut Creek, CA 94598‐3434                                     First Class Mail
Chartered Organization         Parents Of Pack 203                                      Mt Diablo‐Silverado Council 023        222 Lakeridge Way                                              San Ramon, CA 94582‐4821                                        First Class Mail
Chartered Organization         Parents Of Pack 212                                      Montana Council 315                    P.O. Box 1551                                                  East Helena, MT 59635‐1551                                      First Class Mail
Chartered Organization         Parents Of Pack 213                                      Silicon Valley Monterey Bay 055        1515 Audubon Dr                                                San Jose, CA 95112                                              First Class Mail
Chartered Organization         Parents Of Pack 216                                      Pacific Skyline Council 031            601 Crespi Dr                                                  Pacifica, CA 94044‐3430                                         First Class Mail
Chartered Organization         Parents Of Pack 218                                      South Plains Council 694               1686 I‐27                                                      Hale Center, TX 79041                                           First Class Mail
Chartered Organization         Parents Of Pack 218                                      Las Vegas Area Council 328             4785 Deer Forest Ave                                           Las Vegas, NV 89139‐7643                                        First Class Mail
Chartered Organization         Parents Of Pack 224                                      Silicon Valley Monterey Bay 055        1545 Hallcrest Dr                                              San Jose, CA 95118‐1622                                         First Class Mail
Chartered Organization         Parents Of Pack 256                                      Greater Los Angeles Area 033           339 Milton Dr                                                  San Gabriel, CA 91775‐2820                                      First Class Mail
Chartered Organization         Parents Of Pack 264                                      Silicon Valley Monterey Bay 055        3434 Meadowlands Ln                                            San Jose, CA 95135‐1643                                         First Class Mail
Chartered Organization         Parents Of Pack 265                                      Silicon Valley Monterey Bay 055        3439 Pinotin Ct                                                San Jose, CA 95148‐4376                                         First Class Mail
Chartered Organization         Parents Of Pack 274                                      Silicon Valley Monterey Bay 055        21506 Almaden Rd                                               San Jose, CA 95120‐4310                                         First Class Mail
Chartered Organization         Parents Of Pack 287                                      Circle Ten Council 571                 1112 Highedge Dr                                               Plano, TX 75075‐8128                                            First Class Mail
Chartered Organization         Parents Of Pack 290                                      Pacific Skyline Council 031            2471 Princeton Dr                                              San Bruno, CA 94066‐3846                                        First Class Mail
Chartered Organization         Parents Of Pack 296                                      Potawatomi Area Council 651            362 Sunshine Dr                                                Hartland, WI 53029‐8559                                         First Class Mail
Chartered Organization         Parents Of Pack 30                                       c/o Kandy Addington                    3122 Cambridge St                                              Saint Joseph, MO 64506‐1119                                     First Class Mail
Chartered Organization         Parents Of Pack 310                                      Las Vegas Area Council 328             3053 W Craig Rd, Ste E                                         North Las Vegas, NV 89032‐5128                                  First Class Mail
Chartered Organization         Parents Of Pack 333                                      Redwood Empire Council 041             536 Leafhaven Ln                                               Windsor, CA 95492‐8158                                          First Class Mail
Chartered Organization         Parents Of Pack 341                                      Great Lakes Fsc 272                    5465 Greenview Dr                                              Clarkston, MI 48348‐3720                                        First Class Mail
Chartered Organization         Parents Of Pack 346                                      Silicon Valley Monterey Bay 055        1415 Lexington Dr, Apt 1                                       San Jose, CA 95117‐3760                                         First Class Mail
Chartered Organization         Parents Of Pack 349                                      Silicon Valley Monterey Bay 055        218 Curtner Ave                                                Campbell, CA 95008                                              First Class Mail
Chartered Organization         Parents Of Pack 360                                      Silicon Valley Monterey Bay 055        3750 Gleason Ave                                               San Jose, CA 95130‐1323                                         First Class Mail
Chartered Organization         Parents Of Pack 385                                      Golden Empire Council 047              10212 Sorenstam Dr                                             Sacramento, CA 95829‐6599                                       First Class Mail
Chartered Organization         Parents Of Pack 40                                       Middle Tennessee Council 560           102 Collinwood Close                                           Franklin, TN 37069‐7074                                         First Class Mail
Chartered Organization         Parents Of Pack 400                                      Southern Sierra Council 030            800 Verdugo Ln                                                 Bakersfield, CA 93312‐2888                                      First Class Mail
Chartered Organization         Parents Of Pack 415                                      Silicon Valley Monterey Bay 055        22373 Ramona Ct                                                Cupertino, CA 95014‐2732                                        First Class Mail
Chartered Organization         Parents Of Pack 418                                      Circle Ten Council 571                 907 Glen Lakes Ct                                              Wylie, TX 75098‐7317                                            First Class Mail
Chartered Organization         Parents Of Pack 419                                      Silicon Valley Monterey Bay 055        1013 Rosa Ave                                                  Sunnyvale, CA 94086‐8749                                        First Class Mail
Chartered Organization         Parents Of Pack 462                                      Silicon Valley Monterey Bay 055        1117 W Knickerbocker Dr                                        Sunnyvale, CA 94087‐1716                                        First Class Mail
Chartered Organization         Parents Of Pack 464                                      Mt Diablo‐Silverado Council 023        3362 Sugarberry Ln                                             Walnut Creek, CA 94598‐1744                                     First Class Mail
Chartered Organization         Parents Of Pack 47                                       San Francisco Bay Area Council 028     650 Delancey St, Apt 223                                       San Francisco, CA 94107‐2083                                    First Class Mail
Chartered Organization         Parents Of Pack 473                                      Greater Los Angeles Area 033           1320 Clela Ave                                                 Los Angeles, CA 90022‐4906                                      First Class Mail
Chartered Organization         Parents Of Pack 475                                      Denver Area Council 061                7243 Braun Ct                                                  Arvada, CO 80005‐2836                                           First Class Mail
Chartered Organization         Parents Of Pack 48                                       W.L.A.C.C. 051                         26000 Springbrook Ave, Ste 102                                 Santa Clarita, CA 91350‐2592                                    First Class Mail
Chartered Organization         Parents Of Pack 480                                      Circle Ten Council 571                 5805 Smoke Glass Trl                                           Dallas, TX 75252‐2350                                           First Class Mail
Chartered Organization         Parents Of Pack 511                                      Greater Los Angeles Area 033           3130 Bartlett Ave                                              Rosemead, CA 91770‐2728                                         First Class Mail
Chartered Organization         Parents Of Pack 545                                      Chief Seattle Council 609              2217 235th Ct Ne                                               Sammamish, WA 98074‐4445                                        First Class Mail
Chartered Organization         Parents Of Pack 558                                      Greater Los Angeles Area 033           14042 High St                                                  Whittier, CA 90605‐1448                                         First Class Mail
Chartered Organization         Parents Of Pack 560                                      Las Vegas Area Council 328             3409 W Deer Springs Way                                        North Las Vegas, NV 89084‐3320                                  First Class Mail
Chartered Organization         Parents Of Pack 587                                      Grand Canyon Council 010               2763 E Luann Pl                                                Chandler, AZ 85225‐4219                                         First Class Mail
Chartered Organization         Parents Of Pack 594                                      Greater Los Angeles Area 033           4428 Earle Ave                                                 Rosemead, CA 91770‐1154                                         First Class Mail
Chartered Organization         Parents Of Pack 6                                        Grand Canyon Council 010               3635 E Turney Ave, Apt 16                                      Phoenix, AZ 85018‐4037                                          First Class Mail
Chartered Organization         Parents Of Pack 612                                      Orange County Council 039              16 Meryton                                                     Irvine, CA 92603‐3463                                           First Class Mail
Chartered Organization         Parents Of Pack 638                                      Chief Seattle Council 609              468 Nile Pl NE                                                 Renton, WA 98059‐4887                                           First Class Mail
Chartered Organization         Parents Of Pack 641                                      Buffalo Trail Council 567              10301 W County Rd 154                                          Midland, TX 79706‐2650                                          First Class Mail
Chartered Organization         Parents Of Pack 642                                      California Inland Empire Council 045   6548 Halstead Ave                                              Rancho Cucamonga, CA 91737‐4332                                 First Class Mail
Chartered Organization         Parents Of Pack 643                                      Orange County Council 039              15416 Toulouse Cir                                             Irvine, CA 92604‐3145                                           First Class Mail
Chartered Organization         Parents Of Pack 665                                      Greater Los Angeles Area 033           26 Orbit Ln                                                    San Pedro, CA 90732‐4462                                        First Class Mail
Chartered Organization         Parents Of Pack 680                                      California Inland Empire Council 045   6602 Orchid Ct                                                 Rancho Cucamonga, CA 91739‐1512                                 First Class Mail
Chartered Organization         Parents Of Pack 7                                        San Francisco Bay Area Council 028     2295 Washington St                                             San Francisco, CA 94115‐1934                                    First Class Mail
Chartered Organization         Parents Of Pack 72                                       Greater Los Angeles Area 033           13731 Damian St                                                Cerritos, CA 90703‐2338                                         First Class Mail
Chartered Organization         Parents Of Pack 748                                      W.L.A.C.C. 051                         8180 Manitoba St, Apt 302                                      Playa Del Rey, CA 90293‐8662                                    First Class Mail
Chartered Organization         Parents Of Pack 759                                      Greater Los Angeles Area 033           438 S Meadows Ave                                              Manhattan Beach, CA 90266‐6910                                  First Class Mail
Chartered Organization         Parents Of Pack 79                                       Circle Ten Council 571                 7809 Morningdew Dr                                             Plano, TX 75025‐3748                                            First Class Mail
Chartered Organization         Parents Of Pack 809                                      Mt Diablo‐Silverado Council 023        151 Golden Hills Ct                                            Danville, CA 94526‐4224                                         First Class Mail
Chartered Organization         Parents Of Pack 815                                      c/o Shawn Mckenna                      1630 Harlan Dr                                                 Danville, CA 94526‐5310                                         First Class Mail
Chartered Organization         Parents Of Pack 828                                      c/o Eric Cohen                         311 Norris Ct                                                  San Ramon, CA 94583‐1820                                        First Class Mail
Chartered Organization         Parents Of Pack 860                                      Greater Los Angeles Area 033           731 8th St                                                     Hermosa Beach, CA 90254‐3908                                    First Class Mail
Chartered Organization         Parents Of Pack 88                                       Long Beach Area Council 032            2173 Tulane Ave                                                Long Beach, CA 90815‐2949                                       First Class Mail
Chartered Organization         Parents Of Pack 97                                       W.L.A.C.C. 051                         534 15th St                                                    Santa Monica, CA 90402‐2934                                     First Class Mail
Chartered Organization         Parents Of Pack 990                                      Grand Canyon Council 010               16521 W Lilac St                                               Goodyear, AZ 85338‐4536                                         First Class Mail
Chartered Organization         Parents Of Pack And Troop 415                            Garden State Council 690               50 Early St                                                    Pemberton, NJ 08068‐1229                                        First Class Mail
Chartered Organization         Parents Of Paramount Terrace Elementary                  Golden Spread Council 562              3906 Cougar Dr                                                 Amarillo, TX 79109‐5512                                         First Class Mail
Chartered Organization         Parents Of Percy Priest Elementary                       Middle Tennessee Council 560           1700 Otter Creek Rd                                            Nashville, TN 37215‐5720                                        First Class Mail
Chartered Organization         Parents Of Post 224                                      W.L.A.C.C. 051                         414 S Kanan Dume Rd                                            Malibu, CA 90265‐2773                                           First Class Mail
Chartered Organization         Parents Of Princeton Scouts                              Circle Ten Council 571                 3000 Poppy Ln                                                  Princeton, TX 75407‐5572                                        First Class Mail
Chartered Organization         Parents Of Ramblewood Elemantry                          Silicon Valley Monterey Bay 055        1351 Lightland Rd                                              San Jose, CA 95121‐2663                                         First Class Mail
Chartered Organization         Parents Of Rosedale Students                             Southern Sierra Council 030            5404 Broad Acres Ave                                           Bakersfield, CA 93312‐5338                                      First Class Mail
Chartered Organization         Parents Of Rutland Elementary                            Middle Tennessee Council 560           1995 S Rutland Rd                                              Mount Juliet, TN 37122‐6102                                     First Class Mail
Chartered Organization         Parents Of Sandy                                         Great Salt Lake Council 590            1360 E 9400 S                                                  Sandy, UT 84093‐2960                                            First Class Mail
Chartered Organization         Parents Of Scout Troop 339                               Cradle of Liberty Council 525          339 Evergreen Ave                                              Folsom, PA 19033‐2103                                           First Class Mail
Chartered Organization         Parents Of Scouting                                      Cornhusker Council 324                 2515 Shaunte Ct                                                Lincoln, NE 68507‐3385                                          First Class Mail
Chartered Organization         Parents Of Scouting At Burns Park School                 Southern Shores Fsc 783                1414 Wells St                                                  Ann Arbor, MI 48104‐3913                                        First Class Mail
Chartered Organization         Parents Of Scouting, Big Otter W Va                      Buckskin 617                           2231 Hansford Fork Rd                                          Maysel, WV 25133‐8040                                           First Class Mail
Chartered Organization         Parents Of Serenity Hills                                Utah National Parks 591                1869 S 2740 E                                                  St George, UT 84790                                             First Class Mail
Chartered Organization         Parents Of Sherman Oaks                                  Silicon Valley Monterey Bay 055        1536 Keesling Ave                                              San Jose, CA 95125‐4458                                         First Class Mail
Chartered Organization         Parents Of South Haven                                   Lasalle Council 165                    2819 Charlotte St                                              Portage, IN 46368‐3618                                          First Class Mail
Chartered Organization         Parents Of Southwest Chilton County                      Tukabatchee Area Council 005           9499 Al Hwy 22                                                 Maplesville, AL 36750                                           First Class Mail
Chartered Organization         Parents Of Spring Valley Lake                            California Inland Empire Council 045   16343 Ridge View Dr                                            Apple Valley, CA 92307‐1243                                     First Class Mail
Chartered Organization         Parents Of Thelma Parks Elementary                       Last Frontier Council 480              1501 NE 30th St                                                Oklahoma City, OK 73111‐4101                                    First Class Mail
Chartered Organization         Parents Of Troop 057                                     Pacific Skyline Council 031            150 Churchill Ave                                              Palo Alto, CA 94301‐3515                                        First Class Mail
Chartered Organization         Parents Of Troop 075                                     c/o Jim Maertens                       22420 Creston Dr                                               Los Altos, CA 94024‐7421                                        First Class Mail
Chartered Organization         Parents Of Troop 0817 At Pilgrim                         Bay‐Lakes Council 635                  1621 2nd Ave                                                   Grafton, WI 53024‐2349                                          First Class Mail
Chartered Organization         Parents Of Troop 1005                                    Greater Los Angeles Area 033           12945 Berkhamsted St                                           Cerritos, CA 90703‐7235                                         First Class Mail
Chartered Organization         Parents Of Troop 139                                     Greater Los Angeles Area 033           699 Monterey Rd                                                South Pasadena, CA 91030‐3617                                   First Class Mail
Chartered Organization         Parents Of Troop 141                                     c/o Dean Bisterfeldt                   238 Heather Heights Ct                                         Monrovia, CA 91016‐2004                                         First Class Mail
Chartered Organization         Parents Of Troop 144                                     Greater Los Angeles Area 033           555 S Flower St 29th Fl                                        Los Angeles, CA 90071‐2300                                      First Class Mail
Chartered Organization         Parents Of Troop 150                                     Cascade Pacific Council 492            6327 SW Capitol Hwy PMB 223, Ste C                             Portland, OR 97239‐2190                                         First Class Mail
Chartered Organization         Parents Of Troop 150                                     Mt Diablo‐Silverado Council 023        P.O. Box 1603                                                  Travis Afb, CA 94535‐0603                                       First Class Mail
Chartered Organization         Parents Of Troop 168                                     Nevada Area Council 329                4796 Crestside Dr                                              Sparks, NV 89436‐3666                                           First Class Mail
Chartered Organization         Parents Of Troop 1700                                    Pony Express Council 311               13720 SE State Route Dd                                        Gower, MO 64454‐8650                                            First Class Mail
Chartered Organization         Parents Of Troop 198                                     Cascade Pacific Council 492            12385 NW Marshall St                                           Portland, OR 97229‐4950                                         First Class Mail
Chartered Organization         Parents Of Troop 20                                      President Gerald R Ford 781            10246 Samson Woods Dr                                          Buckley, MI 49620‐9485                                          First Class Mail
Chartered Organization         Parents Of Troop 20                                      Great Salt Lake Council 590            372 E Brambleberry Ln                                          Draper, UT 84020‐9411                                           First Class Mail
Chartered Organization         Parents Of Troop 200                                     Silicon Valley Monterey Bay 055        6601 Camden Ave                                                San Jose, CA 95120‐1908                                         First Class Mail
Chartered Organization         Parents Of Troop 204                                     Southern Shores Fsc 783                5154 Shane St                                                  Kalamazoo, MI 49009‐7128                                        First Class Mail
Chartered Organization         Parents Of Troop 206                                     Greater Los Angeles Area 033           2510 S Fremont Ave                                             Alhambra, CA 91803‐4321                                         First Class Mail
Chartered Organization         Parents Of Troop 225                                     Great Lakes Fsc 272                    20385 Dunham Rd                                                Clinton Township, MI 48038‐1475                                 First Class Mail
Chartered Organization         Parents Of Troop 232                                     Silicon Valley Monterey Bay 055        5799 Ribchester Ct                                             San Jose, CA 95123‐3435                                         First Class Mail
Chartered Organization         Parents Of Troop 2343                                    San Francisco Bay Area Council 028     631 15th Ave                                                   San Francisco, CA 94118‐3504                                    First Class Mail
Chartered Organization         Parents Of Troop 250                                     Silicon Valley Monterey Bay 055        2275 Mount Pleasant Rd                                         San Jose, CA 95148‐1817                                         First Class Mail
Chartered Organization         Parents Of Troop 27                                      President Gerald R Ford 781            7100 Open Meadow Ln                                            Traverse City, MI 49685‐7176                                    First Class Mail
Chartered Organization         Parents Of Troop 278                                     Greater Los Angeles Area 033           2908 Wellesley Ct                                              Fullerton, CA 92831‐2223                                        First Class Mail
Chartered Organization         Parents Of Troop 287                                     Silicon Valley Monterey Bay 055        479 Blossom Hill Rd                                            San Jose, CA 95123‐3302                                         First Class Mail
Chartered Organization         Parents Of Troop 296                                     Silicon Valley Monterey Bay 055        3520 San Felipe Rd                                             San Jose, CA 95135‐2008                                         First Class Mail
Chartered Organization         Parents Of Troop 3                                       Southern Sierra Council 030            630 Maple St                                                   Tehachapi, CA 93561‐1923                                        First Class Mail
Chartered Organization         Parents Of Troop 316                                     Chief Seattle Council 609              18511 SE 58th St                                               Issaquah, WA 98027‐8511                                         First Class Mail
Chartered Organization         Parents Of Troop 318                                     Silicon Valley Monterey Bay 055        1754 Valpico Dr                                                San Jose, CA 95124‐1956                                         First Class Mail
Chartered Organization         Parents Of Troop 325                                     Silicon Valley Monterey Bay 055        1860 Palo Santo Dr                                             Campbell, CA 95008‐1543                                         First Class Mail
Chartered Organization         Parents Of Troop 330                                     Utah National Parks 591                518 Cedarwood Ter                                              Cedar City, UT 84720‐3137                                       First Class Mail
Chartered Organization         Parents Of Troop 399                                     Silicon Valley Monterey Bay 055        2352 Arlene Dr                                                 Santa Clara, CA 95050‐5021                                      First Class Mail
Chartered Organization         Parents Of Troop 408                                     Greater Los Angeles Area 033           1410 Niagara Ave                                               Claremont, CA 91711‐3324                                        First Class Mail
Chartered Organization         Parents Of Troop 42 Bsa                                  Istrouma Area Council 211              10759 Sherrie Ln                                               Denham Springs, LA 70726‐6002                                   First Class Mail
Chartered Organization         Parents Of Troop 444                                     Great Swest Council 412                632 Cougar Loop NE                                             Albuquerque, NM 87122‐1808                                      First Class Mail
Chartered Organization         Parents Of Troop 468                                     Greater Los Angeles Area 033           3637 Tweedy Blvd                                               South Gate, CA 90280‐6043                                       First Class Mail
Chartered Organization         Parents Of Troop 474                                     Greater Los Angeles Area 033           1320 Clela Ave                                                 Los Angeles, CA 90022‐4906                                      First Class Mail
Chartered Organization         Parents Of Troop 5                                       Middle Tennessee Council 560           346 Elysian Fields Rd                                          Nashville, TN 37211‐3743                                        First Class Mail
Chartered Organization         Parents Of Troop 50                                      Greater Yosemite Council 059           3953 Chatsworth Cir                                            Stockton, CA 95209‐1565                                         First Class Mail
Chartered Organization         Parents Of Troop 511                                     Greater Los Angeles Area 033           3130 Bartlett Ave                                              Rosemead, CA 91770‐2728                                         First Class Mail
Chartered Organization         Parents Of Troop 553                                     Greater Los Angeles Area 033           10431 Harvest Ave                                              Santa Fe Springs, CA 90670‐4130                                 First Class Mail
Chartered Organization         Parents Of Troop 607                                     Grand Canyon Council 010               4512 E Juniper Ave                                             Phoenix, AZ 85032‐2817                                          First Class Mail
Chartered Organization         Parents Of Troop 626                                     Chief Seattle Council 609              1076 149th Pl Se                                               Bellevue, WA 98007‐5825                                         First Class Mail
Chartered Organization         Parents Of Troop 628                                     Denver Area Council 061                7311 Village Square Dr                                         Castle Pines, CO 80108‐9373                                     First Class Mail
Chartered Organization         Parents Of Troop 661                                     Greater Los Angeles Area 033           P.O. Box 1113                                                  West Covina, CA 91793‐1113                                      First Class Mail
Chartered Organization         Parents Of Troop 693                                     Greater Los Angeles Area 033           19326 Bechard Ave                                              Cerritos, CA 90703‐7209                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 296 of 442
                                                                                   Case 20-10343-LSS                                           Doc 8171                                                  Filed 01/06/22                                                          Page 312 of 457
                                                                                                                                                                                            Exhibit B
                                                                                                                                                                                            Service List
                                                                                                                                                                                     Served as set forth below

        Description                                                        Name                                                                                                           Address                                                                                                                                 Email              Method of Service
Chartered Organization         Parents Of Troop 707                                           Redwood Empire Council 041                  4675 Lambert Ct                                                       Santa Rosa, CA 95403‐7520                                                                                                 First Class Mail
Chartered Organization         Parents Of Troop 720                                           California Inland Empire Council 045        6821 Charloma St                                                      Alta Loma, CA 91701‐4869                                                                                                  First Class Mail
Chartered Organization         Parents Of Troop 77                                            Las Vegas Area Council 328                  4138 Brookview Way                                                    Las Vegas, NV 89121‐6204                                                                                                  First Class Mail
Chartered Organization         Parents Of Troop 788                                           Greater Los Angeles Area 033                3462 Del Amo Blvd                                                     Torrance, CA 90503‐1602                                                                                                   First Class Mail
Chartered Organization         Parents Of Troop 803                                           Mt Diablo‐Silverado Council 023             490 Starmont Ct                                                       Danville, CA 94526‐3748                                                                                                   First Class Mail
Chartered Organization         Parents Of Troop 810 Scouts                                    Mt Diablo‐Silverado Council 023             635 Pine Creek Rd                                                     Walnut Creek, CA 94598‐5137                                                                                               First Class Mail
Chartered Organization         Parents Of Troop 828                                           Blue Grass Council 204                      110 Lagoon Trl                                                        London, KY 40744‐9377                                                                                                     First Class Mail
Chartered Organization         Parents Of Troop 834                                           Mt Diablo‐Silverado Council 023             15 Cherokee Ct                                                        San Ramon, CA 94583‐4302                                                                                                  First Class Mail
Chartered Organization         Parents Of Troop 851                                           Greater Los Angeles Area 033                4703 Merrill St                                                       Torrance, CA 90503‐6890                                                                                                   First Class Mail
Chartered Organization         Parents Of Troop 888                                           Pacific Skyline Council 031                 1872 Granger Ave                                                      Los Altos, CA 94024‐6715                                                                                                  First Class Mail
Chartered Organization         Parents Of Troop 9                                             Denver Area Council 061                     11927 E Lake Cir                                                      Greenwood Village, CO 80111‐5260                                                                                          First Class Mail
Chartered Organization         Parents Of Union Avenue School                                 Greater Los Angeles Area 033                6250 Cahuenga Blvd                                                    North Hollywood, CA 91606‐3906                                                                                            First Class Mail
Chartered Organization         Parents Of Venture Crew 1919                                   California Inland Empire Council 045        53155 Idyllbrook Dr                                                   Idyllwild, CA 92549                                                                                                       First Class Mail
Chartered Organization         Parents Of Venture Crew 2559                                   Greater St Louis Area Council 312           33 Spring Brook Dr                                                    Glen Carbon, IL 62034‐4054                                                                                                First Class Mail
Chartered Organization         Parents Of Venture Crew 591                                    Greater Los Angeles Area 033                9517 Ralph St                                                         Rosemead, CA 91770‐2112                                                                                                   First Class Mail
Chartered Organization         Parents Of W. L. Abney Elementary                              Southeast Louisiana Council 214             825 Kostmayer Ave                                                     Slidell, LA 70458‐4921                                                                                                    First Class Mail
Chartered Organization         Parents Of Wade Park                                           Lake Erie Council 440                       7600 Wade Park Ave                                                    Cleveland, OH 44103‐3304                                                                                                  First Class Mail
Chartered Organization         Parents Of White Point Elememtary                              Greater Los Angeles Area 033                1410 Silvius Ave                                                      San Pedro, CA 90731‐6040                                                                                                  First Class Mail
Chartered Organization         Parent'S Scouters Guild                                        Aloha Council, Bsa 104                      3640 Crater Rd                                                        Honolulu, HI 96816‐2306                                                                                                   First Class Mail
Chartered Organization         Parents Sierra Vista Boys & Girls Club                         Catalina Council 011                        1746 Paseo San Luis                                                   Sierra Vista, AZ 85635‐4610                                                                                               First Class Mail
Chartered Organization         Parents Troop 780 & Vasquez Industries                         Greater Los Angeles Area 033                119 W 49th St                                                         Los Angeles, CA 90037‐3201                                                                                                First Class Mail
Chartered Organization         Parentsof Spring Valley                                        Coronado Area Council 192                   1417 Spring Hill Dr                                                   Junction City, KS 66441‐9032                                                                                              First Class Mail
Chartered Organization         Parian Lodge Af & Am No 160                                    Katahdin Area Council 216                   P.O. Box 192                                                          Corinna, ME 04928‐0192                                                                                                    First Class Mail
Chartered Organization         Paris Fire Dept                                                Three Harbors Council 636                   16607 Burlington Rd                                                   Union Grove, WI 53182‐9407                                                                                                First Class Mail
Voting Party                   Paris First United Methodist Church                            Attn: George Robert Whitfield III           P.O. Box 385                                                          Paris, TN 38242                                                                         rob@greergreerandwhitfield.com    Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Paris First United Methodist Church                            Attn: Leigh Watkins                         101 E Blythe St                                                       Paris, TN 38242                                                                         pfirstfinance@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Paris First United Methodist Church                            Attn: Jaymie Rogers                         P.O. Box 506                                                          Paris, AR 72855                                                                         parisumc@arumc.org                Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Paris First United Methodist Church                            c/o Friday, Eldredge & Clark LLP            Attn: Lindsey Emerson Raines                                          400 W Capitol Ave, Ste 2000            Little Rock, AR 72201                            lraines@fridayfirm.com            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Paris Kiwanis Club                                             Westark Area Council 016                    P.O. Box 472                                                          Paris, AR 72855‐0472                                                                                                      First Class Mail
Voting Party                   Parish Church Of The Epiphany                                  Attn: Rosalind Hughes                       21000 Lakeshore Blvd                                                  Euclid, OH 44123                                                                        epiphanyeuclid@sbcglobal.net      Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Parish Community Of St Bridget                                 Northern Star Council 250                   3811 Emerson Ave N                                                    Minneapolis, MN 55412‐2038                                                                                                First Class Mail
Chartered Organization         Parish Council Of St Vincent Martyr                            Patriots Path Council 358                   26 Green Village Rd                                                   Madison, NJ 07940‐2911                                                                                                    First Class Mail
Chartered Organization         Parish Council St Teresas Catholic                             South Georgia Council 098                   417 Edgewood Ln                                                       Albany, GA 31707‐3909                                                                                                     First Class Mail
Chartered Organization         Parish Councils Of Andrew                                      National Capital Area Council 082           1345 Perimeter Rd                                                     Jb Andrews, MD 20762‐5453                                                                                                 First Class Mail
Chartered Organization         Parish Episcopal School                                        Circle Ten Council 571                      4101 Sigma Rd                                                         Dallas, TX 75244‐4439                                                                                                     First Class Mail
Chartered Organization         Parish Life Group/ St Simon                                    Pacific Skyline Council 031                 1860 Grant Rd                                                         Los Altos, CA 94024‐6843                                                                                                  First Class Mail
Voting Party                   Parish Of All Saints                                           Attn: Michael Godderz                       209 Ashmont St                                                        Dorchester, MA 02124                                                                    rector@allsaints.net              Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parish Of Christ Church                                        25 Central St                               Andover, MA 01810                                                                                                                                             info@christchurchandover.org      Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Parish Of Christ The King                                      Indian Nations Council 488                  1520 S Rockford Ave                                                   Tulsa, OK 74120‐6414                                                                                                      First Class Mail
Voting Party                   Parish Of Grace Church                                         c/o Bennett Lotterhos Sulser & Wilson       Attn: Marcus M Wilson                                                 190 E Capitol St, Ste 650              Jackson, MS 39201                                sutherlandblou@bellsouth.net      Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parish Of Grace Church                                         Attn: Betty Lou Sutherland                  P.O. Box 252                                                          Canton, MS 39046‐0252                                                                   sutherlandblou@bellsouth.net      Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parish Of Holy Cross                                           c/o Cullen and Dykman LLP                   Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd             Garden City, NY 11530                            MRoseman@cullenllp.com            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Parish Of Notre Dame & Saint Thomas                            Western Massachusetts Council 234           21 Maple St                                                           Adams, MA 01220‐1654                                                                                                      First Class Mail
Voting Party                   Parish Of St. Agnes Cathedral                                  c/o Cullen and Dykman LLP                   Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd             Garden City, NY 11530                            MRoseman@cullenllp.com            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Parish Of Sts. Patrick & Raphael                               Western Massachusetts Council 234           54 Southworth St                                                      Williamstown, MA 01267‐2414                                                                                               First Class Mail
Chartered Organization         Parish Of The Assumption                                       Daniel Webster Council, Bsa 330             150 Central Ave                                                       Dover, NH 03820‐4022                                                                                                      First Class Mail
Voting Party                   Parish Of The Church Of The Epiphany                           c/o Church of the Epiphany                  Attn: Rosalind Hughes                                                 21000 Lakeshore Blvd                   Euclid, OH 44123                                 epiphanyeuclid@sbcglobal.net      Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parish Of The Cure Of Ars                                      c/o Jw/Wch                                  Attn: Westerman Ball Ederer Miller Zucker & Sharfstein                1201 Rxr Plz                           Uniondale, NY 11556                              wheuer@westermanllp.com           Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Parish Of The Holy Eucharist                                   Pine Tree Council 218                       266 Foreside Rd                                                       Falmouth, ME 04105‐1729                                                                                                   First Class Mail
Chartered Organization         Parish Of The Holy Spirit                                      Daniel Webster Council, Bsa 330             161 Main St                                                           Keene, NH 03431‐3772                                                                                                      First Class Mail
Chartered Organization         Parish Of The Holy Spirit                                      Blue Mountain Council 604                   7409 W Clearwater Ave                                                 Kennewick, WA 99336‐1643                                                                                                  First Class Mail
Voting Party                   Parish Of Trinity Episcopal Church                             Attn: Harry E Walton                        414 Sumner St                                                         Stoughton, MA 02072                                                                     office@trinitystoughton.com       Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parish Of Victories                                            Attn: Andre L Kydala                        54 Old Hwy 22                                                         Clinton, NJ 08809                                                                                                         First Class Mail
Voting Party                   Parish Of Visitation                                           Attn: Andre L Kydala                        54 Old Hwy 22                                                         Clinton, NJ 08809                                                                                                         First Class Mail
Voting Party                   Parishes Of Episcopal Diocese Of Alaska                        c/o Hillis Clark Martin & Peterson P.S.     999 3rd Ave, Ste 4600                                                 Seattle, WA 98104                                                                       brian.free@hcmp.com               Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parishes Of The Diocese Of Olympia                             c/o Hillis Clark Martin & Peterson P.S.     999 3rd Ave, Ste 4600                                                 Seattle, WA 98104                                                                       brian.free@hcmp.com               Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parishes Of The Roman Catholic Diocese Of Brooklyn, New York   Attn: Frank Scahill                         1065 Stewart Ave, Ste 210                                             Bethpage, NY 11714                                                                      frank@scahillpc.com               Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parishes, Schools, Entities In Diocese Of Camden NJ            Attn: James J Godino Jr                     113 N 6th St                                                          Camden, NJ 08102                                                                        jamesgodino@mckernangodino.com    Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parishes/Related Entities Archdiocese of New York              Attn: Monsignor Joseph P. LaMorte           1011 1st Ave                                                          New York, NY 11042                                                                      msgr.joseph.lamorte@achny.org     Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parishes/Related Entities Archdiocese of New York              c/o Archer & Greiner, P.C.                  Attn: Gerard DiConza                                                  1211 Avenue of the Americas            New York, NY 10036                               gdiconza@archerlaw.com            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Park At Vistancia                                              Grand Canyon Council 010                    29701 N Sunrise Pt                                                    Peoria, AZ 85383‐2400                                                                                                     First Class Mail
Chartered Organization         Park Ave Presbyterian Church                                   Mid Iowa Council 177                        3120 SW 9th St                                                        Des Moines, IA 50315‐2205                                                                                                 First Class Mail
Chartered Organization         Park Avenue Baptist Church                                     Quivira Council, Bsa 198                    1101 S Arthur St                                                      El Dorado, KS 67042‐2313                                                                                                  First Class Mail
Chartered Organization         Park Avenue Redevelopment Corp                                 Central N Carolina Council 416              632 Park Ave                                                          Salisbury, NC 28144‐4540                                                                                                  First Class Mail
Voting Party                   Park Avenue Umc (178016)                                       c/o Bentz Law Firm                          Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200             Pittsburgh, PA 15228                             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Park Avenue United Methodist Church                            106 E 86th St                               New York, NY 10028                                                                                                                                            paul@paumcnyc.org                 Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Park Avenue United Methodist Church, Inc                       c/o Moore Clarke Duvall & Rodgers PC        Attn: D Bradley Folsom                                                2829 Old Dawson Rd                     P.O. Drawer 71727             Albany, GA 31708   bfolsom@mcdr‐law.com              Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Park Avenue United Methodist Church, Inc.                      c/o Moore Clarke Duvall & Rodgers, PC       Attn: D. Bradley Folsom                                               2829 Old Dawson Rd                     P.O. Drawer 71727             Albany, GA 31708   bfolsom@mcdr‐law.com              Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Park Avenue Utd Methodist Church                               South Georgia Council 098                   100 E Park Ave                                                        Valdosta, GA 31602‐2525                                                                                                   First Class Mail
Chartered Organization         Park Boulevard Presbyterian Church                             San Francisco Bay Area Council 028          4101 Park Blvd                                                        Oakland, CA 94602‐1206                                                                                                    First Class Mail
Chartered Organization         Park Cities Armstrong Parents                                  Circle Ten Council 571                      3504 Princeton Ave                                                    Dallas, TX 75205‐3247                                                                                                     First Class Mail
Chartered Organization         Park Cities Baptist Church                                     Circle Ten Council 571                      3933 Northwest Pkwy                                                   Dallas, TX 75225‐3333                                                                                                     First Class Mail
Voting Party                   Park Cities Baptist Church (Dallas, TX)                        Attn: Rodney Schell, Exec Pastor            3933 Northwest Pkwy                                                   Dallas, TX 75225‐3333                                                                   rschell@pcbc.org                  Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Park City Community Church                                     Attn: Grady Kohler                          4501 N Hwy 224                                                        Park City, UT 84098                                                                                                       First Class Mail
Chartered Organization         Park City Police Dept Explorers                                Great Salt Lake Council 590                 2060 Park Ave                                                         Park City, UT 84060‐5157                                                                                                  First Class Mail
Chartered Organization         Park City Rotary Club                                          Great Salt Lake Council 590                 P.O. Box 982364                                                       Park City, UT 84098‐2364                                                                                                  First Class Mail
Voting Party                   Park Forest Village Umc (181710)                               c/o Bentz Law Firm                          Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200             Pittsburgh, PA 15228                             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Park Heights Boys And Girls Clubs                              Baltimore Area Council 220                  4910 Park Heights Ave                                                 Baltimore, MD 21215‐6012                                                                                                  First Class Mail
Chartered Organization         Park Hill Christian Church                                     Heart of America Council 307                6601 NW 72nd St                                                       Kansas City, MO 64151‐1677                                                                                                First Class Mail
Chartered Organization         Park Hill Masonic Building Assoc Inc                           Denver Area Council 061                     14819 Montview Blvd                                                   Aurora, CO 80011                                                                                                          First Class Mail
Chartered Organization         Park Hill Masonic Building Assoc, Inc                          Denver Area Council 061                     4819 Montview Blvd                                                    Denver, CO 80207‐3820                                                                                                     First Class Mail
Voting Party                   Park Hill Presbyterian Church                                  Attn: Mike Powell, Treasurer                3520 John F. Kennedy Blvd                                             North Little Rock, AR 72116                                                             parkhillpres@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Park Hill Presbyterian Church                                  Kathryn Marie Mainard O'Connell             3520 John F. Kennedy Blvd                                             Park Hill Presbyterian Church          North Little Rock, AR 72116                      parkhillpres@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Park Hill United Methodist Church                              5209 Montclair Blvd                         Denver, CO 80207                                                                                                                                              laura@phumc.org                   Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Park Hill Utd Methodist Church                                 Denver Area Council 061                     5209 Montview Blvd                                                    Denver, CO 80207‐3848                                                                                                     First Class Mail
Chartered Organization         Park Lake Presbyterian Church                                  Central Florida Council 083                 309 E Colonial Dr                                                     Orlando, FL 32801‐1205                                                                                                    First Class Mail
Chartered Organization         Park Maitland School                                           Central Florida Council 083                 P.O. Box 941095                                                       Maitland, FL 32794‐1095                                                                                                   First Class Mail
Chartered Organization         Park Place Christian Church                                    Quivira Council, Bsa 198                    2600 N Adams St                                                       Hutchinson, KS 67502‐3436                                                                                                 First Class Mail
Chartered Organization         Park Place Church Of God                                       Crossroads of America 160                   501 College Dr                                                        Anderson, IN 46012‐3430                                                                                                   First Class Mail
Chartered Organization         Park Presbyterian Church                                       Seneca Waterways 397                        110 Maple Ct                                                          Newark, NY 14513‐1701                                                                                                     First Class Mail
Chartered Organization         Park Presbyterian Church                                       W D Boyce 138                               201 N Vermillion St                                                   Streator, IL 61364‐2253                                                                                                   First Class Mail
Chartered Organization         Park Ridge Elementary Pto                                      National Capital Area Council 082           2000 Pkwy Blvd                                                        Stafford, VA 22554‐3972                                                                                                   First Class Mail
Chartered Organization         Park Ridge Fraternal Order                                     Police Lodge 16                             200 S Vine Ave                                                        Park Ridge, IL 60068‐4107                                                                                                 First Class Mail
Chartered Organization         Park Ridge Presbyterian Church                                 Pathway To Adventure 456                    1300 W Crescent Ave                                                   Park Ridge, IL 60068‐3919                                                                                                 First Class Mail
Voting Party                   Park Slope United Methodist Church                             Attn: Lawrence Woodbridge                   410 6th Ave                                                           Brooklyn, NY 11215                                                                      psumcoffice410@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Park Street                                                    c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200               Tampa, FL 33602                                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Park Street Elementary School                                  Atlanta Area Council 092                    105 Park St Se                                                        Marietta, GA 30060‐2324                                                                                                   First Class Mail
Chartered Organization         Park Street Methodist Church                                   Piedmont Council 420                        120 Park St                                                           Belmont, NC 28012‐3335                                                                                                    First Class Mail
Voting Party                   Park Street United Methodist Church                            Attn: Pastor Stephen Dean                   P.O. Box 116                                                          Milo, ME 04463                                                                          bjdean52@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Park Terrace Commty                                            United Methodist Church                     Baden‐Powell Council 368                                              Glann Rd                               Apalachin, NY 13732                                                                First Class Mail
Voting Party                   Park Terrace Community United Methodist Church                 Attn: Treasurer                             30 Glann Rd                                                           Apalachin, NY 13732                                                                     lwatson216@aol.com                Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Park Terrace Elementary Pto                                    Northern Star Council 250                   8301 Terrace Rd Ne                                                    Spring Lake Park, MN 55432‐1159                                                                                           First Class Mail
Voting Party                   Park Umc                                                       c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200               Tampa, FL 33602                                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Park Umc (150742)                                              c/o Bentz Law Firm                          Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200             Pittsburgh, PA 15228                             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Park United Methodist Church                                   Attn: Treasurer                             P.O. Box 730                                                          Sinclairville, NY 14782                                                                 info@parkumc.org                  Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Park United Methodist Church (89661)                           c/o Bentz Law Firm                          Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200             Pittsburgh, PA 15228                             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Park Utd Methodist Church                                      Great Trail 433                             2308 24th St Sw                                                       Akron, OH 44314‐1926                                                                                                      First Class Mail
Chartered Organization         Park Utd Methodist Church                                      Allegheny Highlands Council 382             15 E 3rd St                                                           Coudersport, PA 16915‐1631                                                                                                First Class Mail
Chartered Organization         Park Utd Methodist Church                                      Great Rivers Council 653                    2335 Palmyra Rd                                                       Hannibal, MO 63401‐1918                                                                                                   First Class Mail
Chartered Organization         Park Utd Methodist Church                                      French Creek Council 532                    30 N Lake St                                                          North East, PA 16428‐1317                                                                                                 First Class Mail
Chartered Organization         Park View Lions                                                Illowa Council 133                          3 Manor Ct                                                            Eldridge, IA 52748‐9742                                                                                                   First Class Mail
Chartered Organization         Park View Parent/Teacher Org                                   Pathway To Adventure 456                    6200 Lake St                                                          Morton Grove, IL 60053‐2416                                                                                               First Class Mail
Chartered Organization         Park View School Parent Teachers Club                          Three Fires Council 127                     250 S Park Blvd                                                       Glen Ellyn, IL 60137‐6361                                                                                                 First Class Mail
Voting Party                   Park West Lions Charities                                      8620 Sunnygate Dr                           Manassas, VA 20109                                                                                                                                            pwlions@aol.com                   Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Park West Lions Club                                           National Capital Area Council 082           8620 Sunnygate Dr                                                     Manassas, VA 20109‐3767                                                                                                   First Class Mail
Chartered Organization         Parke Memorial Utd Methodist Church                            Baltimore Area Council 220                  18910 York Rd                                                         Parkton, MD 21120‐9201                                                                                                    First Class Mail
Firm                           Parker & Waichman LLP                                          Brett A Zekowski                            6 Harbor Park Dr                                                      Port Washington, NY 11050‐4647                                                          mhinrichs@yourlawyer.co           Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parker City United Methodist Church                            Attn: Chris Nelson                          305 S Main St                                                         P.O. Box 376                           Parker City, IN 47368                            chris.nelson@inumc.org            Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Parker Evangelical Presbyterian Church                         Denver Area Council 061                     9030 Miller Rd                                                        Parker, CO 80138‐7236                                                                                                     First Class Mail
Chartered Organization         Parker First Baptist Church                                    Gulf Coast Council 773                      4630 E Hwy 98                                                         Panama City, FL 32404‐7112                                                                                                First Class Mail
Chartered Organization         Parker Police Dept                                             Las Vegas Area Council 328                  1314 W 11th St                                                        Parker, AZ 85344‐5615                                                                                                     First Class Mail
Chartered Organization         Parker Police Dept                                             Denver Area Council 061                     18600 Lincoln Meadows Pkwy                                            Parker, CO 80134‐4964                                                                                                     First Class Mail
Chartered Organization         Parker Pta                                                     Buffalo Trail Council 567                   4203 Merrill Dr                                                       Midland, TX 79707‐4412                                                                                                    First Class Mail
Chartered Organization         Parker Ranch                                                   Aloha Council, Bsa 104                      67‐1435 Mamalahoa Hwy                                                 Kamuela, HI 96743                                                                                                         First Class Mail
Chartered Organization         Parker Sunrise Lions Club                                      Denver Area Council 061                     7828 N Sunrise Trl                                                    Parker, CO 80134‐6916                                                                                                     First Class Mail
Voting Party                   Parker United Methodist Church                                 Attn: Sarah Blankman                        11805 S Pine Dr                                                       Parker, CO 80134                                                                        sarah@parkerumc.org               Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parker United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200               Tampa, FL 33602                                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parker United Methodist Church                                 120 N Walnut                                Parker, KS 66072                                                                                                                                                                                First Class Mail
Chartered Organization         Parker Utd Methodist Church                                    Aloha Council, Bsa 104                      45‐211 Waikalua Rd                                                    Kaneohe, HI 96744‐3133                                                                                                    First Class Mail
Chartered Organization         Parker Utd Methodist Church                                    Gulf Coast Council 773                      908 S Tyndall Pkwy                                                    Panama City, FL 32404‐7263                                                                                                First Class Mail
Chartered Organization         Parker Utd Methodist Church                                    Denver Area Council 061                     11805 Pine Dr                                                         Parker, CO 80134‐7308                                                                                                     First Class Mail
Chartered Organization         Parkers Prairie Lions Club                                     Northern Lights Council 429                 55673 118th St                                                        Parkers Prairie, MN 56361‐4529                                                                                            First Class Mail
Chartered Organization         Parkertown Volunteer Fire Co                                   Jersey Shore Council 341                    830 Railroad Dr                                                       Little Egg Harbor Twp, NJ 08087‐3600                                                                                      First Class Mail
Chartered Organization         Parkinson American Legion Post 250                             Mid‐America Council 326                     106 W Ohio St                                                         Lenox, IA 50851‐1141                                                                                                      First Class Mail
Voting Party                   Parkland Baptist Church                                        c/o Sturgill Turner Barker & Moloney Pllc   Attn: Kevin Henry                                                     333 W Vine St, Ste 1500                Louisville, KY 40507                             khenry@sturgillturner.com         Email
                                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Parkland Baptist Church                                        7206 Shepherdsville Rd                      Louisville, KY 40219                                                                                                                                                                            First Class Mail
Chartered Organization         Parkland Spanaway Kiwanis Club                                 Pacific Harbors Council, Bsa 612            1902 138th St E                                                       Tacoma, WA 98445‐6089                                                                                                     First Class Mail
Chartered Organization         Parkland Spanaway Rotary Club                                  Pacific Harbors Council, Bsa 612            P.O. Box 44572                                                        Tacoma, WA 98448‐0572                                                                                                     First Class Mail
Chartered Organization         Parkman Congregational Church                                  Great Trail 433                             18255 Main St                                                         Parkman, OH 44080                                                                                                         First Class Mail
Chartered Organization         Parkmoor Urban Academy Elementary                              Simon Kenton Council 441                    1711 Penworth Dr                                                      Columbus, OH 43229‐5214                                                                                                   First Class Mail
Chartered Organization         Parkrose Community Church Of Christ                            Cascade Pacific Council 492                 12505 NE Halsey St                                                    Portland, OR 97230‐1928                                                                                                   First Class Mail
Chartered Organization         Parks Baptist Church                                           Evangeline Area 212                         5140 Main Hwy                                                         Saint Martinville, LA 70582‐6601                                                                                          First Class Mail
Chartered Organization         Parkside Elementary                                            Lake Erie Council 440                       12428 Concord Hambden Rd                                              Concord Twp, OH 44077‐9564                                                                                                First Class Mail
Chartered Organization         Parkside Lutheran Church                                       Greater Niagara Frontier Council 380        2 Wallace Ave                                                         Buffalo, NY 14214‐1515                                                                                                    First Class Mail
Chartered Organization         Parkside Parents Club                                          Pacific Skyline Council 031                 1685 Eisenhower St                                                    San Mateo, CA 94403‐1045                                                                                                  First Class Mail
Chartered Organization         Parksley Volunteer Fire Dept                                   Del Mar Va 081                              Rr 1                                                                  Parksley, VA 23421                                                                                                        First Class Mail
Chartered Organization         Parkview Baptist Church                                        Istrouma Area Council 211                   Parkview Church Lane                                                  Baton Rouge, LA 70816                                                                                                     First Class Mail
Chartered Organization         Parkview Camp Bobcat                                           Three Harbors Council 636                   10825 W Villard Ave                                                   Milwaukee, WI 53225‐3834                                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                             Page 297 of 442
                                                                                 Case 20-10343-LSS                                                        Doc 8171                                     Filed 01/06/22                                                    Page 313 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                      Name                                                                                                           Address                                                                                                             Email                       Method of Service
Chartered Organization         Parkview Church                                                  Northeast Georgia Council 101                       4875 Lil Stn Mtn Rd Sw                                    Lilburn, GA 30047‐5276                                                                                         First Class Mail
Chartered Organization         Parkview Church Of Christ                                        Circle Ten Council 571                              815 S Dewey Ave                                           Sherman, TX 75090‐8313                                                                                         First Class Mail
Chartered Organization         Parkview Community Of Christ Church                              Heart of America Council 307                        801 SW 19th St                                            Blue Springs, MO 64015‐4019                                                                                    First Class Mail
Chartered Organization         Parkview Manor Community Center                                  Southern Shores Fsc 783                             380 Truth Dr                                              Battle Creek, MI 49037‐2144                                                                                    First Class Mail
Chartered Organization         Parkview Mcjrotc Assoc, Inc                                      Northeast Georgia Council 101                       998 Cole Dr Sw                                            Lilburn, GA 30047‐5422                                                                                         First Class Mail
Chartered Organization         Parkview Presbyterian Church                                     Simon Kenton Council 441                            6969 E Livingston Ave                                     Reynoldsburg, OH 43068‐3015                                                                                    First Class Mail
Voting Party                   Parkview United Methodist Church                                 Attn: Mary Worsham                                  P.O. Box 1022                                             Benton, AR 72018                                                     parkviewumc@arumc.org                     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Parkview United Methodist Church                                 c/o Friday, Eldredge & Clark LLP                    Attn: Lindsey Emerson Raines                              400 W Capitol Ave, Ste 2000        Little Rock, AR 72201             lraines@fridayfirm.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Parkview United Methodist Church                                 Attn: Phyllis Taylor                                164 Powhatan Ave                                          Columbus, OH 43204                                                                                             First Class Mail
Voting Party                   Parkview United Methodist Church Of Miamisburg, Ohio             Attn: Treasurer                                     3713 Benner Rd                                            Miamisburg, OH 45342‐4301                                            pastorthomasmiller@gmail.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Parkview Utd Methodist Church                                    Simon Kenton Council 441                            344 S Algonquin Ave                                       Columbus, OH 43204‐1906                                                                                        First Class Mail
Chartered Organization         Parkview Utd Methodist Church                                    Miami Valley Council, Bsa 444                       3713 Benner Rd                                            Miamisburg, OH 45342‐4301                                                                                      First Class Mail
Chartered Organization         Parkville Presbyterian Church                                    Heart of America Council 307                        819 Main St                                               Parkville, MO 64152‐3630                                                                                       First Class Mail
Voting Party                   Parkway Baptist Church, Inc                                      c/o Kaplan Johnson Abate & Bird LLP                 Attn: Tyler R Yeager                                      710 W Main St, 4th Fl              Louisville, KY 40202              tyeager@kaplanjohnsonlaw.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Parkway Baptist Church, Inc                                      P.O. Box 326                                        Hodgenville, KY 42748                                                                                                                                                    First Class Mail
Chartered Organization         Parkway Center                                                   South Plains Council 694                            405 N Martin Luther King Blvd                             Lubbock, TX 79403‐3423                                                                                         First Class Mail
Chartered Organization         Parkway Christian Church                                         South Florida Council 084                           1200 S Flamingo Rd                                        Davie, FL 33325‐4410                                                                                           First Class Mail
Chartered Organization         Parkway Elementary P T O                                         Three Harbors Council 636                           5910 N Milwaukee River Pkwy                               Milwaukee, WI 53209‐3816                                                                                       First Class Mail
Voting Party                   Parkway Heights United Methodist Church                          Attn: Amanda Cooper                                 2420 Hardy St                                             Hattiesburg, MS 39401                                                amandacooper@parkwayheights.org           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Parkway Hill Utd Methodist Church                                Andrew Jackson Council 303                          P.O. Box 1721                                             Madison, MS 39130‐1721                                                                                         First Class Mail
Chartered Organization         Parkway Hills Umc                                                Andrew Jackson Council 303                          1468 Highland Colony Pkwy                                 Madison, MS 39110‐7368                                                                                         First Class Mail
Chartered Organization         Parkway Hills Utd Methodist                                      Andrew Jackson Council 303                          1468 Highland Colony Pkwy                                 Madison, MS 39110‐7368                                                                                         First Class Mail
Chartered Organization         Parkway Manor Community Services                                 Southern Shores Fsc 783                             380 Truth Dr                                              Battle Creek, MI 49037‐2144                                                                                    First Class Mail
Chartered Organization         Parkway Presbyterian Church                                      Northeast Georgia Council 101                       5830 Bethelview Rd                                        Cumming, GA 30040‐6312                                                                                         First Class Mail
Voting Party                   Parkway United Methodist Church                                  Attn: Treasurer & Carla Ganter                      158 Blue Hills Pkwy                                       Milton, MA 02186                                                     umcparkway@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Parkway United Methodist Church                                  Attn: Rev Russell Andrew Hall                       5801 New Territory Blvd                                   Sugar Land, TX 77479                                                 rhall@parkwayumc.org                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Parkwood Baptist Church                                          National Capital Area Council 082                   8726 Braddock Rd                                          Annandale, VA 22003‐4149                                                                                       First Class Mail
Chartered Organization         Parkwood Community Center                                        Middle Tennessee Council 560                        3220 Vailview Dr                                          Nashville, TN 37207‐2454                                                                                       First Class Mail
Chartered Organization         Parkwood Institutional Cme Church                                Mecklenburg County Council 415                      802 Tom Hunter Rd                                         Charlotte, NC 28213‐8007                                                                                       First Class Mail
Chartered Organization         Parkwood Pta                                                     Greater St Louis Area Council 312                   3199 Parkwood Ln                                          Maryland Heights, MO 63043‐1363                                                                                First Class Mail
Voting Party                   Parkwood United Methodist Church                                 Attn: Treasurer, Parkwood United Methodist Church   5123 Revere Rd                                            Durham, NC 27713‐2420                                                pumcoffice@parkwoodumc.org                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Parkwood Utd Presbyterian Church                                 Laurel Highlands Council 527                        4289 Mount Royal Blvd                                     Allison Park, PA 15101‐2940                                                                                    First Class Mail
Chartered Organization         Parkwood‐Upjohn Parent Teacher Org                               Southern Shores Fsc 783                             2321 S Park St                                            Kalamazoo, MI 49001‐3614                                                                                       First Class Mail
Chartered Organization         Parma Christian Fellowship Church                                Seneca Waterways 397                                P.O. Box 57                                               Hilton, NY 14468‐0057                                                                                          First Class Mail
Chartered Organization         Parma Elks Lodge No 1938 Bpoe                                    Lake Erie Council 440                               P.O. Box 29003                                            Parma, OH 44129‐0003                                                                                           First Class Mail
Chartered Organization         Parma Police Dept                                                Lake Erie Council 440                               5555 Powers Blvd                                          Parma, OH 44129‐5462                                                                                           First Class Mail
Chartered Organization         Parma Sandstone Firemens Club                                    Southern Shores Fsc 783                             297 N Union St                                            Parma, MI 49269‐9202                                                                                           First Class Mail
Chartered Organization         Parma South Presbyterian Church                                  Lake Erie Council 440                               6155 Pearl Rd                                             Parma Heights, OH 44130‐3100                                                                                   First Class Mail
Voting Party                   Parma United Methodist Church                                    Attn: Oscar Sapp                                    P.O. Box 106                                              Parma, MO 63870                                                      osappfarms@yahoo.com; dm_sapp@yahoo.com   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Parma United Methodist Church                                    Roy Lee Sherfield                                   215 Kelly St                                              Dexter, MO 63841                                                     mrsherfield@sbcglobal.net                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Parr Elementary Parent Teacher Assoc                             Denver Area Council 061                             5800 W 84th Ave                                           Arvada, CO 80003‐1334                                                                                          First Class Mail
Chartered Organization         Parr Insurance Agency Inc ‐ Crestline                            Buckeye Council 436                                 224 N Seltzer St                                          Crestline, OH 44827‐1401                                                                                       First Class Mail
Voting Party                   Parrish Court Umc                                                Attn: James C Skeens                                2343 S Carpenter Dr                                       Corington, VA 24426                                                                                            First Class Mail
Chartered Organization         Parrish Outdoor Adventures                                       Southwest Florida Council 088                       15896 County Rd 675                                       Parrish, FL 34219‐8483                                                                                         First Class Mail
Voting Party                   Parrish Umc                                                      c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Parrish Utd Methodist Church                                     Southwest Florida Council 088                       12180 US Hwy 301 N                                        Parrish, FL 34219‐8473                                                                                         First Class Mail
Chartered Organization         Parroquia                                                        Colegio Nuestra Sra De La Guadalupe                 P.O. Box 4125                                             San Juan, PR 00936                                                                                             First Class Mail
Chartered Organization         Parroquia De San Jose‐Cap Caridad Cobre                          Puerto Rico Council 661                             15 Calle Soledad                                          Luquillo, PR 00773                                                                                             First Class Mail
Chartered Organization         Parroquia La Merced                                              Puerto Rico Council 661                             113 Calle Violeta                                         Lajas, PR 00667                                                                                                First Class Mail
Chartered Organization         Parroquia La Milagrosa                                           Puerto Rico Council 661                             379 Calle 1                                               Aguadilla, PR 00605                                                                                            First Class Mail
Chartered Organization         Parroquia La Resurreccion Del Senor                              Puerto Rico Council 661                             285 Calle Balboa                                          Mayaguez, PR 00680‐5303                                                                                        First Class Mail
Chartered Organization         Parroquia La Resurrecion Del Senor                               Puerto Rico Council 661                             285 Calle Balboa                                          Mayaguez, PR 00680‐5303                                                                                        First Class Mail
Chartered Organization         Parroquia Nuestra Senora Del Rosario                             Puerto Rico Council 661                             P.O. Box 26                                               Ciales, PR 00638‐0026                                                                                          First Class Mail
Chartered Organization         Parroquia Sagrada Familia                                        Puerto Rico Council 661                             C Valparaiso Esq Caracas                                  Ext Forest Hills                   Bayamon, PR 00960                                                           First Class Mail
Chartered Organization         Parroquia San Agustin                                            Puerto Rico Council 661                             P.O. Box 4263                                             Bayamon, PR 00958‐1263                                                                                         First Class Mail
Chartered Organization         Parroquia San Isidro Labrador                                    Puerto Rico Council 661                             42 Calle Munoz Rivera                                     Sabana Grande, PR 00637                                                                                        First Class Mail
Chartered Organization         Parroquia San Miguel Arcangel                                    Puerto Rico Council 661                             P.O. Box 625                                              Cabo Rojo, PR 00623‐0625                                                                                       First Class Mail
Chartered Organization         Parroquia San Pedro Martir De Verona                             Puerto Rico Council 661                             P.O. Box 32                                               Guaynabo, PR 00970‐0032                                                                                        First Class Mail
Chartered Organization         Parroquia Santa Catalina De Sienna                               Puerto Rico Council 661                             Q3 Calle 10                                               Urb Hermanas Davila                Bayamon, PR 00959                                                           First Class Mail
Chartered Organization         Parroquia Santa Maria De Los Angeles                             Puerto Rico Council 661                             930 Ave De Diego                                          San Juan, PR 00921‐2516                                                                                        First Class Mail
Chartered Organization         Parroquia Santa Rosa De Lima                                     Puerto Rico Council 661                             28‐9 Calle 12                                             Urb Santa Rosa                     Bayamon, PR 00959                                                           First Class Mail
Chartered Organization         Parroquia Y Academia Espiritu Santo                              Puerto Rico Council 661                             1453 Paseo Damisela                                       Toa Baja, PR 00949‐3909                                                                                        First Class Mail
Chartered Organization         Parroquia Y Academia Espiritu Santo                              Puerto Rico Council 661                             P.O. Box 50272                                            Toa Baja, PR 00950‐0272                                                                                        First Class Mail
Chartered Organization         Parrottsville Ruritan Club                                       Great Smoky Mountain Council 557                    249 N Hwy 340                                             Parrottsville, TN 37843‐2507                                                                                   First Class Mail
Chartered Organization         Parsons Avenue Elementary School                                 Simon Kenton Council 441                            3231 Lee Ellen Pl                                         Columbus, OH 43207‐3712                                                                                        First Class Mail
Chartered Organization         Parsons Lions Club                                               West Tennessee Area Council 559                     51 Forrest Dr                                             Parsons, TN 38363‐2214                                                                                         First Class Mail
Chartered Organization         Particle Communications                                          Texas Swest Council 741                             2325 Old Eola Rd                                          San Angelo, TX 76905‐2952                                                                                      First Class Mail
Chartered Organization         Partners In Community Living                                     Tecumseh 439                                        1651 Needmore Rd                                          Dayton, OH 45414‐3801                                                                                          First Class Mail
Chartered Organization         Partners In Education                                            Samoset Council, Bsa 627                            1336 Elm St                                               Almond, WI 54909‐9785                                                                                          First Class Mail
Chartered Organization         Partners In Education Of The Foxborough                          Regional Charter School                             131 Central St                                            Foxboro, MA 02035‐2458                                                                                         First Class Mail
Chartered Organization         Partnership Community Church                                     Great Smoky Mountain Council 557                    323 Partnership Pkwy                                      Maryville, TN 37801‐7884                                                                                       First Class Mail
Voting Party                   Pasadena ‐ St Petersburg                                         c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Pasadena Fire Dept Station 33                                    Greater Los Angeles Area 033                        515 N Lake Ave                                            Pasadena, CA 91101‐1217                                                                                        First Class Mail
Chartered Organization         Pasadena First Church Of The Nazarene                            Greater Los Angeles Area 033                        3700 E Sierra Madre Blvd                                  Pasadena, CA 91107‐1970                                                                                        First Class Mail
Chartered Organization         Pasadena First Church Of The Nazarene                            Sam Houston Area Council 576                        3610 Watters Rd                                           Pasadena, TX 77504‐2330                                                                                        First Class Mail
Chartered Organization         Pasadena Police Dept                                             Greater Los Angeles Area 033                        207 N Garfield Ave                                        Pasadena, CA 91101‐1748                                                                                        First Class Mail
Chartered Organization         Pasadena Presbyterian Church                                     Greater Tampa Bay Area 089                          100 Pasadena Ave N                                        St Petersburg, FL 33710‐8315                                                                                   First Class Mail
Voting Party                   Pasadena Umc                                                     61 Ritchie Hwy                                      Pasadena, MD 21122                                                                                                             pumc2@verizon.net                         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Pasadena Utd Methodist Church                                    Baltimore Area Council 220                          61 Ritchie Hwy                                            Pasadena, MD 21122‐4356                                                                                        First Class Mail
Chartered Organization         Pascal Carter Park Assoc                                         Great Smoky Mountain Council 557                    9032 Asheville Hwy                                        Knoxville, TN 37924‐4500                                                                                       First Class Mail
Chartered Organization         Pasco County Sheriffs Office                                     Greater Tampa Bay Area 089                          8700 Citizens Dr                                          New Port Richey, FL 34654‐5501                                                                                 First Class Mail
Chartered Organization         Pasco Police Dept                                                Blue Mountain Council 604                           215 W Sylvester St                                        Pasco, WA 99301‐5350                                                                                           First Class Mail
Voting Party                   Pasco Riverview                                                  c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Pasco Sheriff Explorer Club 915                                  Greater Tampa Bay Area 089                          8700 Citizens Dr                                          New Port Richey, FL 34654‐5501                                                                                 First Class Mail
Voting Party                   Pasco United Methodist Church                                    Attn: Lois Layman                                   17483 State Rte 706                                       Sidney, OH 45365                                                     pascochurch@yahool.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Paseo Del Rey Church                                             San Diego Imperial Council 049                      900 Paseo Del Rey                                         Chula Vista, CA 91910‐6581                                                                                     First Class Mail
Chartered Organization         Pashley Elementary School Pta                                    Twin Rivers Council 364                             30 Pashley Rd                                             Glenville, NY 12302‐5438                                                                                       First Class Mail
Chartered Organization         Paso Robles Elks Lodge 2364                                      Los Padres Council 053                              P.O. Box 68                                               Paso Robles, CA 93447‐0068                                                                                     First Class Mail
Chartered Organization         Pasquotank Ruritan Club                                          Tidewater Council 596                               2213 Main St Ext                                          Elizabeth City, NC 27909‐9036                                                                                  First Class Mail
Chartered Organization         Pass At Barron Elementary                                        Circle Ten Council 571                              3300 P Ave                                                Plano, TX 75074‐2613                                                                                           First Class Mail
Chartered Organization         Pass Christian Police Deparment                                  Pine Burr Area Council 304                          525 Espy Ave                                              Pass Christian, MS 39571‐3131                                                                                  First Class Mail
Chartered Organization         Pass Christian Rotary Club                                       Pine Burr Area Council 304                          P.O. Box 88                                               Pass Christian, MS 39571‐0088                                                                                  First Class Mail
Chartered Organization         Pass The Torch Inc                                               Central Florida Council 083                         7290 Waelti Dr                                            Melbourne, FL 32940‐7512                                                                                       First Class Mail
Chartered Organization         Passaic Pta School 1                                             Northern New Jersey Council, Bsa 333                390 Van Houten Ave                                        Passaic, NJ 07055‐2640                                                                                         First Class Mail
Chartered Organization         Passmore Elementray                                              Bay Area Council 574                                600 Kost Rd                                               Alvin, TX 77511‐2644                                                                                           First Class Mail
Voting Party                   Pastor At Refugio 1St United Methodist Church                    Stephen Clay Strahan                                1406 Cougar Dr                                            Canyon Lake                                                          strahan_steve@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Pastoral Ministries Inc                                          Black Swamp Area Council 449                        10 W Main St                                              Leipsic, OH 45856‐1128                                                                                         First Class Mail
Voting Party                   Pat Currie                                                       Address Redacted                                                                                                                                                                   Email Address Redacted                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Patapsco Masonic Lodge 183                                       Baltimore Area Council 220                          2 Trading Pl                                              Dundalk, MD 21222‐4558                                                                                         First Class Mail
Chartered Organization         Pataskala Utd Methodist Church                                   Simon Kenton Council 441                            458 S Main St                                             Pataskala, OH 43062‐8498                                                                                       First Class Mail
Chartered Organization         Patchogue Fire Dept                                              Suffolk County Council Inc 404                      15 Jennings Ave                                           Patchogue, NY 11772‐2592                                                                                       First Class Mail
Chartered Organization         Patchogue Medford High School                                    Suffolk County Council Inc 404                      Buffalo Ave                                               Medford, NY 11763                                                                                              First Class Mail
Chartered Organization         Patchogue Medford Youth & Commty                                 Svcs                                                390 Bay Ave                                               Patchogue, NY 11772‐4021                                                                                       First Class Mail
Voting Party                   Patchogue United Methodist Church                                10 Church St                                        Patchogue, NY 11772                                                                                                            patchogueumc@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Paterson Police Dept                                             Northern New Jersey Council, Bsa 333                111 Broadway                                              Paterson, NJ 07505‐1124                                                                                        First Class Mail
Chartered Organization         Path Of Grace Utd Methodist Church                               Northern Star Council 250                           759 County Rd B E                                         Maplewood, MN 55117‐1800                                                                                       First Class Mail
Chartered Organization         Path To Independence                                             Yocona Area Council 748                             92 Carol Ln                                               Byhalia, MS 38611‐8909                                                                                         First Class Mail
Voting Party                   Pathfinder Church                                                8740 S Westnedge Ave                                Portage, MI 49002                                                                                                              office@pathfinderchurch.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Pathfinder Church                                                Dennis J. Berkebile                                 5167 Atwater Court                                        Kalamazoo, MI 49009                                                  dberkebile@yahoo.com                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Pathfinder School                                                Laurel Highlands Council 527                        50 Donati Rd                                              Bethel Park, PA 15102‐1774                                                                                     First Class Mail
Voting Party                   Pathway (7352)                                                   c/o Bentz Law Firm                                  Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Pathway Bank                                                     Overland Trails 322                                 P.O. Box 428                                              Cairo, NE 68824‐0428                                                                                           First Class Mail
Chartered Organization         Pathway Christian Fellowship                                     W.L.A.C.C. 051                                      9950 Balboa Blvd                                          Northridge, CA 91325‐1611                                                                                      First Class Mail
Chartered Organization         Pathway Church                                                   Longhorn Council 662                                325 NW Renfro St                                          Burleson, TX 76028‐3421                                                                                        First Class Mail
Chartered Organization         Pathway Community Church                                         San Francisco Bay Area Council 028                  6533 Sierra Ln                                            Dublin, CA 94568‐2798                                                                                          First Class Mail
Voting Party                   Pathway To Adventure Council                                     811 W Hillgrove Ave                                 La Grange, IL 60525‐5822                                                                                                                                                 First Class Mail
Chartered Organization         Pathways Baptist Church                                          National Capital Area Council 082                   200 W Diamond Ave                                         Gaithersburg, MD 20877‐2107                                                                                    First Class Mail
Chartered Organization         Pathways Church                                                  Longhorn Council 662                                481 W Harwood Rd                                          Hurst, TX 76054‐2943                                                                                           First Class Mail
Chartered Organization         Pathways Inc                                                     Five Rivers Council, Inc 375                        33 Denison Pkwy W                                         Corning, NY 14830‐2613                                                                                         First Class Mail
Voting Party                   Pathways United Methodist Church Of Springfield                  Attn: Joe Costello                                  1232 E Dale St                                            Springfield, MO 65803‐4065                                           pathwaysumcoffice@gmail.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Pathways Utd Methodist Church                                    Ozark Trails Council 306                            1232 E Dale St                                            Springfield, MO 65803‐4065                                                                                     First Class Mail
Voting Party                   Patoka First United Methodist Church                             Attn: Butch Landreth                                405 N Washington                                          Patoka, IL 68875                                                     landrethbs@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Patricia E Knudsen Pta                                           Great Lakes Fsc 272                                 5449 Crescent Rd                                          Waterford, MI 48327‐2719                                                                                       First Class Mail
Voting Party                   Patrick A. Macmurray                                             353 W 56th St, Apt 9‐I                              New York, NY 10019                                                                                                             pamacmurray@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Patrick Elementary School                                        Northeast Georgia Council 101                       2707 Kilgore Rd                                           Buford, GA 30519‐4444                                                                                          First Class Mail
Chartered Organization         Patrick Henry Elementary                                         Indian Nations Council 488                          3820 E 41st St                                            Tulsa, OK 74135‐2467                                                                                           First Class Mail
Firm                           Patrick Malone and Associates, PC and Alexander Law Group, LLP   Patrick A. Malone; Richard Alexander                1310 L St. NW Ste 800                                     Washington, DC 20005                                                 pmalone@patrickmalonelaw.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Patrick Springs Ruritan                                          Attn: Kevin Reynolds                                385 Trents Orchard Rd                                     Patrick Springs, VA 24133                                            kareynolds40@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Patrick Springs Ruritan Club                                     Blue Ridge Mtns Council 599                         P.O. Box 159                                              Patrick Springs, VA 24133‐0159                                                                                 First Class Mail
Voting Party                   Patrick Sterrett                                                 Address Redacted                                                                                                                                                                   Email Address Redacted                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Patrick Trettenero                                               35 Maple St                                         Pine Plains, NY 12567                                                                                                          meetthepatricks@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Patriot Baptist Church                                           Hoosier Trails Council 145 145                      2800 Main St                                              Patriot, IN 47038                                                                                              First Class Mail
Chartered Organization         Patriot Oaks Academy                                             North Florida Council 087                           475 Longleaf Pine Pkwy                                    Saint Johns, FL 32259‐7306                                                                                     First Class Mail
Chartered Organization         Patriot'S Gateway                                                Blackhawk Area 660                                  615 S 5th St                                              Rockford, IL 61104‐3021                                                                                        First Class Mail
Chartered Organization         Patriots George Washington                                       Denver Area Council 061                             655 S Monaco Pkwy                                         Denver, CO 80224‐1228                                                                                          First Class Mail
Chartered Organization         Patriots' Path Council                                           Patriots Path Council 358                           1 Saddle Rd                                               Cedar Knolls, NJ 07927‐1901                                                                                    First Class Mail
Voting Party                   Patriots Path Council, Bsa                                       Attn: Marc T Andreo                                 1 Saddle Rd                                               Cedar Knolls, NJ 07927                                               marc.andreo@scouting.org                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Patriots Path Council, Bsa                                       Attn: Marc T. Andreo                                1 Saddle Rd                                               Cedar Knolls, NJ 07927                                               marc.andreo@scouting.org                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Patriots Roost Chapter Aoc                                       The Spirit of Adventure 227                         7 Athens Way                                              Methuen, MA 01844‐4154                                                                                         First Class Mail
Chartered Organization         Patterson Elementary Pta                                         Denver Area Council 061                             1263 S Dudley St                                          Lakewood, CO 80232‐5203                                                                                        First Class Mail
Chartered Organization         Patterson Elementary School                                      National Capital Area Council 082                   4399 S Capitol Ter SW                                     Washington, DC 20032‐2207                                                                                      First Class Mail
Voting Party                   Patterson Federated Church                                       Attn: Eun‐Joo Myung                                 P.O. Box 1418                                             Patterson, CA 95363                                                  pattersonfederatedchurch@gmail.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Patterson Fire Dept 1                                            Westchester Putnam 388                              P.O. Box 334                                              Patterson, NY 12563‐0334                                                                                       First Class Mail
Chartered Organization         Patterson High School                                            Baltimore Area Council 220                          100 Kane St                                               Baltimore, MD 21224‐1726                                                                                       First Class Mail
Chartered Organization         Patterson Lions Club                                             Greater Yosemite Council 059                        P.O. Box 452                                              Patterson, CA 95363‐0452                                                                                       First Class Mail
Chartered Organization         Patterson Presbyterian Church                                    Westchester Putnam 388                              P.O. Box 298                                              Patterson, NY 12563‐0298                                                                                       First Class Mail
Chartered Organization         Pattie Sr Ptco                                                   National Capital Area Council 082                   14998 Neabsco Overlook                                    Woodbridge, VA 22193‐1834                                                                                      First Class Mail
Chartered Organization         Pattison Park Area Lions Club                                    Voyageurs Area 286                                  6930 S County Rd W                                        Foxboro, WI 54836‐9564                                                                                         First Class Mail
Chartered Organization         Patton Cub Scout Parents                                         Pathway To Adventure 456                            1616 N Patton Ave                                         Arlington Heights, IL 60004‐3637                                                                               First Class Mail
Chartered Organization         Patton Elementary Pto                                            Great Lakes Fsc 272                                 18851 Mckinnon St                                         Roseville, MI 48066‐1233                                                                                       First Class Mail
Chartered Organization         Patton Enterprises                                               Blue Ridge Council 551                              68 Kincaid Valley Rd                                      Abbeville, SC 29620‐4334                                                                                       First Class Mail
Chartered Organization         Patton High School Model Un                                      Piedmont Council 420                                701 Enola Rd                                              Morganton, NC 28655‐4624                                                                                       First Class Mail
Chartered Organization         Patton Recreation Center Dprd                                    Great Lakes Fsc 272                                 2301 Woodmere St                                          Detroit, MI 48209‐1042                                                                                         First Class Mail
Chartered Organization         Patton Ward ‐ Lds St David Stake                                 Catalina Council 011                                P.O. Box 535                                              Saint David, AZ 85630‐0535                                                                                     First Class Mail
Voting Party                   Pattville Umc                                                    Attn: Debra Stadel                                  13025 Church Rd                                           Yorkville, IL 60560                                                  dlshome42@aol.com                         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Paul & Laurie Stauder Parents Of Redacted Minor                  c/o Shearman Denenca LLC                            Attn: Brian Shearman                                      4240 Canal St                      New Orleans, LA 70119             bshearman@midcitylaw.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Paul 1St Ward ‐ Paul Stake                                       Snake River Council 111                             424 W Ellis St                                            Paul, ID 83347                                                                                                 First Class Mail
Chartered Organization         Paul 2Nd Ward ‐ Paul Stake                                       Snake River Council 111                             575 W 600 N                                               Paul, ID 83347‐8774                                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 298 of 442
                                                                                   Case 20-10343-LSS                                      Doc 8171                                                  Filed 01/06/22                                                 Page 314 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                      Service List
                                                                                                                                                                               Served as set forth below

        Description                                                        Name                                                                                                       Address                                                                                                                       Email              Method of Service
Voting Party                   Paul A Brockland                                             Address Redacted                                                                                                                                                                              Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Paul A. De Sarno, Esq Attorney At Law                        Attn: Paul A De Sarno                    207 Washington Rd                                                     Sayreville, NJ 08872                                                           desarnolaw@gmail.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Paul And Laurie Stauder Parent Of Charles Stauder            3964 Bellview St                         Metairie, LA 70002‐4358                                                                                                                                                                First Class Mail
Voting Party                   Paul C. Thompson, Attorney At Law                            Paul Thompson                            640 Seeley Dr                                                         Medina, OH 44256                                                               hemlockoh@gmail.com               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Paul Dunbar School                                           Lake Erie Council 440                    2159 W 29th St                                                        Cleveland, OH 44113‐4000                                                                                         First Class Mail
Firm                           Paul G. Danaher Law Office                                   Paul G Danaher                           833 SW Lemans Ln. Ste 116                                             Lees Summit, MO 64082                                                          paulgdanaher@gmail.com            Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Paul H Linn Memorial Umc                                     Attn: Jennifer Essary                    409 N Church St                                                       Fayette, MO 65248                                                              info@linnumc.org                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Paul Habans Charter School                                   Southeast Louisiana Council 214          3501 Seine St                                                         New Orleans, LA 70114‐6704                                                                                       First Class Mail
Voting Party                   Paul Hastings, LLP                                           Matthew J Smart                          71 S Wacker Dr, Suite 4500                                            Chicago, IL 60606                                                              matthewsmart@paulhastings.com     Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Firm                           Paul Mones P.C.                                              Paul Mones, Esq                          13101 Washington Blvd., Ste 240                                       Los Angeles, CA 90066                                                          pamones@comcast.net               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Paul Revere Innovation School Pto                            The Spirit of Adventure 227              395 Revere St                                                         Revere, MA 02151‐4533                                                                                            First Class Mail
Chartered Organization         Paul Smiths‐Gabriels Fire Dept                               Twin Rivers Council 364                  P.O. Box 145                                                          Gabriels, NY 12939‐0145                                                                                          First Class Mail
Voting Party                   Paula E Jarjosa                                              99 Cranberry Beach Blvd                  White Lake, MI 48386                                                                                                                                 pjarjosa1953@gmail.com            Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Paula E Jarjosa                                              c/o Sidley Austin LLP                    767 7th Ave                                                           New York, NY 10019                                                             dpernick@boothpatterson.com       Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Paula E Jarjosa                                              c/o Booth Patterson, PC                  Attn: David A Pernick                                                 4139 W Walton, Ste F             Waterford, MI 48329                           dpernick@boothpatterson.com       Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Paulding County Sheriff Office                               Atlanta Area Council 092                 247 Industrial Way N                                                  Dallas, GA 30132‐0325                                                                                            First Class Mail
Chartered Organization         Paulding County Sheriffs Office                              Black Swamp Area Council 449             500 E Perry St                                                        Paulding, OH 45879‐1418                                                                                          First Class Mail
Firm                           Paulding Peter                                               Paulding Peter                           308 N. Sunset Blvd. Ste 419                                           Gulf Breeze, FL 32561                                                          paulding@usa.net                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Paulette Elementary Pto                                      Great Smoky Mountain Council 557         P.O. Box 999                                                          Maynardville, TN 37807‐0999                                                                                      First Class Mail
Voting Party                   Pauls Valley First United Methodist Church Of Pauls Valley   Attn: Brett Agee                         101 E Grant Ave                                                       Pauls Valley, OK 73075                                                         brett.agee@gaclawyers.com         Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Pauls Valley First United Methodist Church Of Pauls Valley   Attn: Brett Agee                         P.O. Box 10                                                           Pauls Valley, OK 73075                                                         brett.agee@gaclawyers.com         Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Paulskirchengemeinde 2U Schenefeld                           Transatlantic Council, Bsa 802           Kirchenstrasse 2                                                      Schenefeld, 22869                Germany                                                                         First Class Mail
Voting Party                   Paupack United Methodist Church (78430)                      c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200       Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Paupack Utd Methodist Church                                 Northeastern Pennsylvania Council 501    P.O. Box 335                                                          Paupack, PA 18451‐0335                                                                                           First Class Mail
Chartered Organization         Pavco Flight Center                                          Pacific Harbors Council, Bsa 612         1110 26th Ave Nw                                                      Gig Harbor, WA 98335‐8834                                                                                        First Class Mail
Chartered Organization         Pavilion Fire Dept                                           Iroquois Trail Council 376               11302 Lake St                                                         Pavilion, NY 14525                                                                                               First Class Mail
Chartered Organization         Paw Creek Presbyterian Church                                Mecklenburg County Council 415           7400 Mount Holly Rd                                                   Charlotte, NC 28214‐1701                                                                                         First Class Mail
Chartered Organization         Paw Paw Lions Club                                           1st Presbyterian Church                  Southern Shores Fsc 783                                               N Kalamazoo St                   35009 32nd St             Paw Paw, MI 49079                                     First Class Mail
Voting Party                   Pawhuska First United Methodist Church                       621 Leahy Ave                            Pawhuska, OK 74056                                                                                                                                   pawhuskaumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Pawling Avenue Utd Methodist Men's Club                      Twin Rivers Council 364                  520 Pawling Ave                                                       Troy, NY 12180‐5837                                                                                              First Class Mail
Chartered Organization         Pawling Avenue Utd Methodist Men's Club                      Twin Rivers Council 364                  520 Pawling Ave                                                       Troy, NY 12180‐5837                                                                                              First Class Mail
Voting Party                   Pawling United Methodist Church                              Attn: Parker Prout                       2 Dutcher Ave                                                         Pawling, NY 12564                                                              pawlingumc1@verizon.net           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Pawling Utd Methodist Church                                 Hudson Valley Council 374                21 Dutcher Ave                                                        Pawling, NY 12564‐1312                                                                                           First Class Mail
Voting Party                   Pawnee First United Methodist Church                         Attn: Financial Secretary                P.O. 248                                                              Pawnee, OK 74058                                                               pawskeeumc@sbcglobal.net          Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Pawnee First Utd Methodist Church                            Cimarron Council 474                     P.O. Box 248                                                          Pawnee, OK 74058‐0248                                                                                            First Class Mail
Chartered Organization         Paw'S Canine Collectibles                                    Sequoyah Council 713                     P.O. Box 16972                                                        Bristol, VA 24209‐6972                                                                                           First Class Mail
Chartered Organization         Pawtucket Police Dept                                        Narragansett 546                         121 Roosevelt Ave                                                     Pawtucket, RI 02860‐2129                                                                                         First Class Mail
Chartered Organization         Pax Christi Catholic Church                                  Northern Star Council 250                12100 Pioneer Trl                                                     Eden Prairie, MN 55347‐4208                                                                                      First Class Mail
Chartered Organization         Pax Christi Catholic Community                               Northern Star Council 250                12100 Pioneer Trl                                                     Eden Prairie, MN 55347‐4208                                                                                      First Class Mail
Chartered Organization         Paxton ‐ First Congregational Church                         Heart of New England Council 230         1 Church St                                                           Paxton, MA 01612‐1162                                                                                            First Class Mail
Chartered Organization         Paxton Church Of Christ                                      Prairielands 117                         400 W Ottawa Rd                                                       Paxton, IL 60957‐1626                                                                                            First Class Mail
Chartered Organization         Paxton Service Club                                          Prairielands 117                         646 S Park St                                                         Paxton, IL 60957‐1653                                                                                            First Class Mail
Voting Party                   Paxtonville United Methodist Church (183753)                 c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200       Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Paxtonville Utd Methodist Church                             Susquehanna Council 533                  Troop 415, Paxtonville United Methodist Church                        1281 Paxton St                                                                                                   First Class Mail
Voting Party                   Payette United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200         Tampa, FL 33602                               erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Payette Utd Methodist                                        Ore‐Ida Council 106 ‐ Bsa 106            502 N 11th St                                                         Payette, ID 83661‐2440                                                                                           First Class Mail
Voting Party                   Payne Memorial Umc                                           c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200         Tampa, FL 33602                               erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Paynesville Lions Club                                       Central Minnesota 296                    16097 Lake Koronis Rd                                                 Paynesville, MN 56362‐9333                                                                                       First Class Mail
Chartered Organization         Payson Community Kids                                        Grand Canyon Council 010                 213 S Colcord Rd                                                      Payson, AZ 85541‐4829                                                                                            First Class Mail
Chartered Organization         Payson Lions Club                                            Utah National Parks 591                  580 S 400 E                                                           Payson, UT 84651‐2534                                                                                            First Class Mail
Chartered Organization         Pb County Sheriffs Office                                    Gulf Stream Council 085                  3228 Gun Club Rd                                                      West Palm Beach, FL 33406‐3001                                                                                   First Class Mail
Chartered Organization         Pba Local 313                                                Northern New Jersey Council, Bsa 333     85 Humboldt St                                                        Wood Ridge, NJ 07075‐2344                                                                                        First Class Mail
Chartered Organization         Pba‐Mahwah Police Dept                                       Northern New Jersey Council, Bsa 333     221 Franklin Tpke                                                     Mahwah, NJ 07430‐1807                                                                                            First Class Mail
Voting Party                   PCM                                                          c/o Insight Direct USA Inc               Attn: Michael L. Walker                                               6820 S Harl Ave                  Tempe, AZ 85283                               barbara.ross@insight.com          Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Pcon @ Haywood Elementary                                    Middle Tennessee Council 560             2126 Abbott Martin Rd                                                 Nashville, TN 37215‐2690                                                                                         First Class Mail
Chartered Organization         Pcon @ Smithson Craighead Academy                            Middle Tennessee Council 560             730 Neelys Bend Rd                                                    Madison, TN 37115‐4927                                                                                           First Class Mail
Voting Party                   Pea Ridge United Methodist Church                            Attn: Shannon Blosser                    5747 E Pea Ridge Rd                                                   Huntington, WV 25705                                                           shannonblosser@gmail.com          Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Pea Ridge United Methodist Church                            Attn: Maureen Effingham                  5747 E Pea Ridge Rd                                                   Hungington, WV 25705                                                           pearidgeumc@outlook.com           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Pea Ridge Utd Methodist Church                               Buckskin 617                             5741 E Pea Ridge Rd                                                   Huntington, WV 25705                                                                                             First Class Mail
Chartered Organization         Peabody Elementary Pto                                       Denver Area Council 061                  3128 E Maplewood Ave                                                  Centennial, CO 80121‐2860                                                                                        First Class Mail
Chartered Organization         Peabody Elementary School Pto                                Greater St Louis Area Council 312        1224 S 14th St                                                        Saint Louis, MO 63104‐3004                                                                                       First Class Mail
Chartered Organization         Peabody Knights Of Columbus                                  The Spirit of Adventure 227              96 Main St                                                            Peabody, MA 01960‐5553                                                                                           First Class Mail
Chartered Organization         Peabody Utd Methodist Church                                 Quivira Council, Bsa 198                 P.O. Box 146                                                          Peabody, KS 66866‐0146                                                                                           First Class Mail
Chartered Organization         Peace Baptist Church ‐ Whiteville                            Cape Fear Council 425                    165 Old Cribbtown Rd                                                  Whiteville, NC 28472‐6348                                                                                        First Class Mail
Chartered Organization         Peace Christian Church                                       Suffolk County Council Inc 404           680 Ocean Ave                                                         Bohemia, NY 11716‐3627                                                                                           First Class Mail
Chartered Organization         Peace Community Church                                       Sam Houston Area Council 576             5151 Addicks Satsuma Rd                                               Houston, TX 77084‐5302                                                                                           First Class Mail
Voting Party                   Peace Evangelical Lutheran Church                            Attn: Vicar Henry G Pahlkotter, II       3161 Lawndale Rd                                                      Saginaw, MI 48603                                                              hpahlkotter@peacesaginaw.org      Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peace Evangelical Lutheran Church                            c/o Braun Kendrick Finkbeiner Plc        Attn: David Lawrence Puskar                                           4301 Fashion Square Blvd         Saginaw, MI 48603                             davpus@braunkendrick.com          Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Peace Lutheran Church                                        Denver Area Council 061                  5675 Field St                                                         Arvada, CO 80002‐2227                                                                                            First Class Mail
Chartered Organization         Peace Lutheran Church                                        Capitol Area Council 564                 10625 N Fm 620 Rd                                                     Austin, TX 78726‐1706                                                                                            First Class Mail
Chartered Organization         Peace Lutheran Church                                        Tecumseh 439                             3530 Dayton Xenia Rd                                                  Beavercreek, OH 45432‐2805                                                                                       First Class Mail
Chartered Organization         Peace Lutheran Church                                        Montana Council 315                      203 Jackrabbit Ln                                                     Belgrade, MT 59714‐3340                                                                                          First Class Mail
Chartered Organization         Peace Lutheran Church                                        Chief Seattle Council 609                1234 NE Riddell Rd                                                    Bremerton, WA 98310‐3637                                                                                         First Class Mail
Chartered Organization         Peace Lutheran Church                                        Mid‐America Council 326                  2720 28th St                                                          Columbus, NE 68601‐2418                                                                                          First Class Mail
Chartered Organization         Peace Lutheran Church                                        Crossroads of America 160                701 W 3rd St                                                          Connersville, IN 47331‐1217                                                                                      First Class Mail
Chartered Organization         Peace Lutheran Church                                        Northern Star Council 250                20 Ndale Blvd Nw                                                      Coon Rapids, MN 55448‐3356                                                                                       First Class Mail
Chartered Organization         Peace Lutheran Church                                        Chief Seattle Council 609                18615 SE 272nd St                                                     Covington, WA 98042‐5484                                                                                         First Class Mail
Chartered Organization         Peace Lutheran Church                                        Last Frontier Council 480                2600 E Danforth Rd                                                    Edmond, OK 73034‐6609                                                                                            First Class Mail
Chartered Organization         Peace Lutheran Church                                        President Gerald R Ford 781              3703 Old US Hwy 27 S                                                  Gaylord, MI 49735‐9545                                                                                           First Class Mail
Chartered Organization         Peace Lutheran Church                                        Overland Trails 322                      1710 N North Rd                                                       Grand Island, NE 68803‐1530                                                                                      First Class Mail
Chartered Organization         Peace Lutheran Church                                        Bay‐Lakes Council 635                    1954 County Rd U                                                      Green Bay, WI 54313‐4409                                                                                         First Class Mail
Chartered Organization         Peace Lutheran Church                                        Longhorn Council 662                     941 W Bedford Euless Rd                                               Hurst, TX 76053‐3808                                                                                             First Class Mail
Chartered Organization         Peace Lutheran Church                                        Southwest Florida Council 088            9850 Immokalee Rd                                                     Naples, FL 34120‐3907                                                                                            First Class Mail
Chartered Organization         Peace Lutheran Church                                        Inland Nwest Council 611                 4124 N Harvard Rd                                                     Otis Orchards, WA 99027‐9399                                                                                     First Class Mail
Chartered Organization         Peace Lutheran Church                                        Mid Iowa Council 177                     1000 E Vermeer Rd                                                     Pella, IA 50219‐7643                                                                                             First Class Mail
Chartered Organization         Peace Lutheran Church                                        Voyageurs Area 286                       P.O. Box 345                                                          Poplar, WI 54864‐0345                                                                                            First Class Mail
Chartered Organization         Peace Lutheran Church                                        Pacific Harbors Council, Bsa 612         10746 Rampart Dr E                                                    Puyallup, WA 98374‐2066                                                                                          First Class Mail
Chartered Organization         Peace Lutheran Church                                        Water and Woods Council 782              3427 Adams Ave                                                        Saginaw, MI 48602‐2902                                                                                           First Class Mail
Chartered Organization         Peace Lutheran Church                                        Cascade Pacific Council 492              1525 Glen Creek Rd NW                                                 Salem, OR 97304‐2726                                                                                             First Class Mail
Chartered Organization         Peace Lutheran Church                                        San Diego Imperial Council 049           7335 Wheatley St                                                      San Diego, CA 92111‐5824                                                                                         First Class Mail
Chartered Organization         Peace Lutheran Church                                        Sioux Council 733                        5509 W 41st St                                                        Sioux Falls, SD 57106‐1301                                                                                       First Class Mail
Chartered Organization         Peace Lutheran Church                                        Glaciers Edge Council 620                701 S Century Ave                                                     Waunakee, WI 53597‐1605                                                                                          First Class Mail
Voting Party                   Peace Lutheran Church                                        Attn: Timothy T Parker                   1000 2nd Ave, Fl 30                                                   Seattle, WA 98104                                                              ttp@pattersonbuchanan.com         Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peace Lutheran Church                                        Attn: Earle Knapp                        401 Smallwood Dr                                                      Waldorf, MD 20602                                                              treasurer@myplc.org               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peace Lutheran Church                                        Attn: Timothy Olson                      1512 S Aberdeen Ave                                                   Sioux Falls, SD 57106                                                          tolson@keepshots.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peace Lutheran Church                                        Attn: Patricia A Rocca                   455 Clark State Rd                                                    Gahanna, OH 43230                                                              PRocca@peacegahanna.org           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peace Lutheran Church                                        Attn: Pastor Paul Stjernholm             5509 W 41st St                                                        Sioux Falls, SD 57106                                                          pastorpaul@peacelutheran.com      Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peace Lutheran Church                                        328 E Great Creek Rd                     Galloway, NJ 08205                                                                                                                                   merceralan@aol.com                Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peace Lutheran Church                                        Attn: Craig M Frye                       71 Loma Dr                                                            Camarillo, CA 93010                                                            Cfrye@rsjcpa.com                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peace Lutheran Church Columbus, Nebraska                     Attn: Clark Grant                        P.O. Box 455                                                          Columbus, NE 68602                                                             clark@grantattorney.com           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Peace Lutheran Church Elca                                   Sam Houston Area Council 576             2201 Rio Grande Blvd                                                  College Station, TX 77845‐5120                                                                                   First Class Mail
Voting Party                   Peace Lutheran Church Of Conway, Inc.                        Attn: Shane Henry & Assoc Pllc           335 Hogan Lane, Ste 100                                               Conway, AR 72034                                                               shane@shanehenry.attorney         Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peace Lutheran Church Puyallup                               Attn: Council President & Mark Siltala   214 E Pioneer                                                         Puyallup, WA 98372                                                             office@peacepuyallup.org          Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peace Lutheran Church Salem Or                               Peace Lutheran Church                    1525 Glen Creek Rd NW                                                 Salem, OR 97304                                                                office@peacelutheransalem.org     Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peace Luthern Church Of Cedar Park                           P.O. Box 171047                          Austin, TX 78717                                                                                                                                     jenny.cox@peaceaustin.org         Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Peace Mennonite Church Inc                                   Southwest Florida Council 088            3010 S Sumter Blvd                                                    North Port, FL 34287‐7351                                                                                        First Class Mail
Chartered Organization         Peace Of Christ                                              Seneca Waterways 397                     150 Floverton St                                                      Rochester, NY 14610‐1106                                                                                         First Class Mail
Chartered Organization         Peace Of Christ Parish                                       Seneca Waterways 397                     25 Empire Blvd                                                        Rochester, NY 14609‐4335                                                                                         First Class Mail
Chartered Organization         Peace Presbyterian Church                                    Occoneechee 421                          P.O. Box 518                                                          Cary, NC 27512‐0518                                                                                              First Class Mail
Chartered Organization         Peace Presbyterian Church                                    Mid‐America Council 326                  333 S 204th St                                                        Elkhorn, NE 68022‐2155                                                                                           First Class Mail
Chartered Organization         Peace Reformed Church                                        Northern Star Council 250                2180 Glory Dr                                                         Eagan, MN 55122‐1932                                                                                             First Class Mail
Chartered Organization         Peace River Elementary Pto                                   Southwest Florida Council 088            22400 Hancock Ave                                                     Port Charlotte, FL 33980‐2173                                                                                    First Class Mail
Voting Party                   Peace Umc                                                    c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200         Tampa, FL 33602                               erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peace United Methodist Church                                2300 Wisconsin Ave                       Kaukauna, WI 54130                                                                                                                                   info@peaceunitedmethodist.org     Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peace United Methodist Church At Hunters Creek LLC           c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200         Tampa, FL 33602                               erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Peace Utd Church Of Christ                                   Pennsylvania Dutch Council 524           37 E Swartzville Rd                                                   Denver, PA 17517‐9352                                                                                            First Class Mail
Chartered Organization         Peace Utd Church Of Christ                                   Northeast Iowa Council 178               301 N Main St                                                         Elkader, IA 52043                                                                                                First Class Mail
Chartered Organization         Peace Utd Church Of Christ                                   Mid Iowa Council 177                     P.O. Box 356                                                          Gladbrook, IA 50635‐0356                                                                                         First Class Mail
Chartered Organization         Peace Utd Meth. Church Of Pipestone                          Sioux Council 733                        P.O. Box 26                                                           Pipestone, MN 56164‐0026                                                                                         First Class Mail
Chartered Organization         Peace Utd Methodist Church                                   National Capital Area Council 082        801 Maple Grove Dr                                                    Fredericksburg, VA 22407‐6826                                                                                    First Class Mail
Chartered Organization         Peace Utd Methodist Church                                   Central Florida Council 083              13502 Town Loop Blvd                                                  Orlando, FL 32837‐5160                                                                                           First Class Mail
Chartered Organization         Peace Utd Methodist Church                                   Simon Kenton Council 441                 235 Diley Rd                                                          Pickerington, OH 43147‐2000                                                                                      First Class Mail
Chartered Organization         Peace Utd Methodist Church                                   Northern Star Council 250                5050 Hodgson Rd                                                       Shoreview, MN 55126‐1226                                                                                         First Class Mail
Chartered Organization         Peacebunny Island Inc                                        Northern Star Council 250                P.O. Box 202                                                          Newport, MN 55055‐0202                                                                                           First Class Mail
Chartered Organization         Peaceful Pathways Montessori                                 Three Fires Council 127                  8250 State Route 71                                                   Yorkville, IL 60560‐9202                                                                                         First Class Mail
Chartered Organization         Peach Bowl Lions Club                                        Golden Empire Council 047                P.O. Box 1086                                                         Yuba City, CA 95992‐1086                                                                                         First Class Mail
Chartered Organization         Peach County Fire Dept                                       Central Georgia Council 096              1770 US Hwy 341                                                       Fort Valley, GA 31030‐7180                                                                                       First Class Mail
Voting Party                   Peachland United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200         Tampa, FL 33602                               erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Peachland Utd Methodist Church                               Central N Carolina Council 416           P.O. Box 330                                                          Peachland, NC 28133‐0330                                                                                         First Class Mail
Chartered Organization         Peachtree Academy Private School                             Atlanta Area Council 092                 14101 Hwy 278 E                                                       Covington, GA 30014‐1701                                                                                         First Class Mail
Chartered Organization         Peachtree Christian Church                                   Atlanta Area Council 092                 1580 Peachtree St Nw                                                  Atlanta, GA 30309‐2435                                                                                           First Class Mail
Chartered Organization         Peachtree City Fire And Rescue                               Flint River Council 095                  105 N Peachtree Pkwy                                                  Peachtree City, GA 30269‐1732                                                                                    First Class Mail
Voting Party                   Peachtree City United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200         Tampa, FL 33602                               erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Peachtree City United Methodist Church                       225 Robinson Rd                          Peachtree City, GA 30269                                                                                                                                                               First Class Mail
Chartered Organization         Peachtree City Utd Methodist Church                          Flint River Council 095                  225 Robinson Rd                                                       Peachtree City, GA 30269‐1338                                                                                    First Class Mail
Voting Party                   Peachtree Road United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200         Tampa, FL 33602                               ERICE@BRADLEY.COM                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Peachtree Road Utd Methodist Church                          Atlanta Area Council 092                 3180 Peachtree Rd Ne                                                  Atlanta, GA 30305‐1853                                                                                           First Class Mail
Voting Party                   Peachtree Umc                                                c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200         Tampa, FL 33602                               erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Peak Academy                                                 Circle Ten Council 571                   1474 Annex Ave                                                        Dallas, TX 75204‐6803                                                                                            First Class Mail
Chartered Organization         Peak City Gospel Baptist Church                              Occoneechee 421                          1701 Center St                                                        Apex, NC 27502‐7026                                                                                              First Class Mail
Voting Party                   Peakland United Methodist Church                             Attn: John Vest                          4434 Boonsboro Rd                                                     Lynchburg, VA 24503‐2336                                                       peaklandpastor@gmail.com          Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Peakview Parents & Friends Of Pack 252                       Denver Area Council 061                  5137 S Ceylon Ct                                                      Centennial, CO 80015‐4869                                                                                        First Class Mail
Voting Party                   Pearblossom Community United Methodist Church                Attn: Glenn Hoskins Pastor               P.O. Box 488                                                          Pearblossom, CA 93553                                                          Pearblossomumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Pearblossom Elementary School                                W.L.A.C.C. 051                           12828 E Ave W                                                         Pearblossom, CA 93553                                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 299 of 442
                                                                                    Case 20-10343-LSS                                                           Doc 8171                                                 Filed 01/06/22                                                    Page 315 of 457
                                                                                                                                                                                                            Exhibit B
                                                                                                                                                                                                             Service List
                                                                                                                                                                                                      Served as set forth below

        Description                                                         Name                                                                                                                          Address                                                                                                                Email              Method of Service
Voting Party                   Pearisburg First United Methodist Church                      Attn: Brian C Burch                                          1101 Valleyview Dr                                                    Pearisburg, VA 24134                                                 pburgfumc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pearisburg First United Methodist Church                      Attn: Sherry Fleeman, Treasurer                              P.O. Box 400                                                          Pearisburg, VA 24134                                                 brianburch@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pearl City American Legion Post 1014                          Blackhawk Area 660                                           100 N Main St                                                         Pearl City, IL 61062‐9701                                                                                First Class Mail
Chartered Organization         Pearl City Elks Lodge 2669                                    Aloha Council, Bsa 104                                       98‐761 Oihana Pl, Ste D1                                              Aiea, HI 96701‐5315                                                                                      First Class Mail
Chartered Organization         Pearl City Fire Protection Dist                               Blackhawk Area 660                                           200 S Main St                                                         Pearl City, IL 61062                                                                                     First Class Mail
Chartered Organization         Pearl City Utd Methodist Chuch                                Blackhawk Area 660                                           411 S Main St                                                         Pearl City, IL 61062‐9553                                                                                First Class Mail
Chartered Organization         Pearl Griffin Memorial Latch Key                              Texas Trails Council 561                                     2411 Coggin Ave                                                       Brownwood, TX 76801‐5356                                                                                 First Class Mail
Chartered Organization         Pearl Lean P T O                                              Great Lakes Fsc 272                                          2825 Girard Dr                                                        Warren, MI 48092‐1840                                                                                    First Class Mail
Chartered Organization         Pearl River Methodist Church                                  Hudson Valley Council 374                                    130 Franklin Ave                                                      Pearl River, NY 10965‐2509                                                                               First Class Mail
Chartered Organization         Pearl St Methodist Church                                     Mayflower Council 251                                        415 Pearl St                                                          Brockton, MA 02301‐2825                                                                                  First Class Mail
Chartered Organization         Pearl Street A.M.E. Church                                    Andrew Jackson Council 303                                   2519 Robinson St                                                      Jackson, MS 39209‐7000                                                                                   First Class Mail
Chartered Organization         Pearl Street Ame Church                                       Andrew Jackson Council 303                                   2519 Robinson St                                                      Jackson, MS 39209‐7000                                                                                   First Class Mail
Voting Party                   Pearl Street United Methodist Church                          Attn: Timothy Southern                                       415 Pearl St                                                          Brockton, MA 02301                                                   pearlstreetumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pearland Area Citizens Corps                                  Bay Area Council 574                                         P.O. Box 2534                                                         Pearland, TX 77588‐2534                                                                                  First Class Mail
Chartered Organization         Pearland Citizens Police Academy                              Alumni Assoc                                                 2555 Cullen Pkwy                                                      Pearland, TX 77581‐9011                                                                                  First Class Mail
Chartered Organization         Pearland Isd                                                  Bay Area Council 574                                         1928 N Main St                                                        Pearland, TX 77581‐3306                                                                                  First Class Mail
Chartered Organization         Pearland Memorial Post 7109                                   Bay Area Council 574                                         P.O. Box 849                                                          Pearland, TX 77588‐0849                                                                                  First Class Mail
Chartered Organization         Pearland Pediatrics Pa                                        Bay Area Council 574                                         2017 Broadway St, Ste A                                               Pearland, TX 77581‐5501                                                                                  First Class Mail
Chartered Organization         Pearlie Grove Mb Church Scouts                                Andrew Jackson Council 303                                   1110 Grand Ave                                                        Jackson, MS 39203‐2505                                                                                   First Class Mail
Voting Party                   Pearson Education, Inc                                        c/o Phillips Lytle LLP                                       Attn: Angela Z Miller                                                 125 Main St                        Buffalo, NY 14203                 amiller@phillipslytle.com           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pearson Education, Inc                                        Attn: John Garry                                             221 River St                                                          Hoboken, NJ 07030                                                                                        First Class Mail
Voting Party                   Pearson Education, Inc                                        Attn: John Tweeddale                                         221 River St                                                          Hoboken, NJ 07030                                                                                        First Class Mail
Voting Party                   Pearson Memorial United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP                        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pease Elementary P.T.A.                                       Capitol Area Council 564                                     1106 Rio Grande St                                                    Austin, TX 78701‐2016                                                                                    First Class Mail
Chartered Organization         Pecan Creek South Bsa                                         Grand Canyon Council 010                                     692 E Daniella Dr                                                     Queen Creek, AZ 85140‐4143                                                                               First Class Mail
Voting Party                   Pecan Gap United Methodist Church                             Attn: Morris L White                                         P.O. Box 195                                                          Pecan Gap, TX 75469                                                  wwhite@peoplescom.net               Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pecan Gap United Methodist Church                             Attn: Nan O Beeler, Treasurer                                P.O. Box 219                                                          Pecan Gap, TX 75469                                                                                      First Class Mail
Chartered Organization         Pecan Grove Volunteer Fire Dept                               Sam Houston Area Council 576                                 727 Pitts Rd                                                          Richmond, TX 77406‐2205                                                                                  First Class Mail
Chartered Organization         Pecan Grove Ward ‐ Lds Sahuarita Stake                        Catalina Council 011                                         16275 S Starlight View Lane                                           Sahuarita, AZ 85629                                                                                      First Class Mail
Voting Party                   Pecatonica                                                    Attn: David Owen Hilton                                      528 Washington St                                                     Pecatonica, IL 61063                                                 pastor@pecumc.org                   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pecatonica Utd Methodist Church                               Blackhawk Area 660                                           P.O. Box 607                                                          Pecatonica, IL 61063‐0607                                                                                First Class Mail
Chartered Organization         Peck Elem ‐ Kc                                                Sam Houston Area Council 576                                 5001 Martin Luther King Blvd                                          Houston, TX 77021                                                                                        First Class Mail
Chartered Organization         Peck School Booster Club                                      Water and Woods Council 782                                  222 E Lapeer St                                                       Peck, MI 48466‐9655                                                                                      First Class Mail
Voting Party                   Peck's Memorial United Methodist Church                       Attn: Kimberly S Henry                                       2438 Wilkinson Pike                                                   Maryville, TN 37803                                                  kimodb63@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Peco An Exelon Co                                             Cradle of Liberty Council 525                                2301 Market St                                                        Philadelphia, PA 19103‐1338                                                                              First Class Mail
Voting Party                   Peculiar United Methodist Church                              Attn: Pastor, Peculiar Umc                                   P.O. Box 207                                                          20521 S School Rd                  Peculiar, MO 64078                admin@peculiarumc.org               Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Peculiar Utd Methodist Church                                 Heart of America Council 307                                 P.O. Box 426                                                          Peculiar, MO 64078‐0426                                                                                  First Class Mail
Chartered Organization         Pedersen‐Maunula Post 379 Al                                  Voyageurs Area 286                                           P.O. Box 867                                                          Moose Lake, MN 55767‐0867                                                                                First Class Mail
Chartered Organization         Pediatric Dentist Of Katy                                     Sam Houston Area Council 576                                 24022 Cinco Village Center Blvd, Ste 210                              Katy, TX 77494‐8390                                                                                      First Class Mail
Voting Party                   Peekskill Presbyterian Church                                 705 South St                                                 Peekskill, NY 10566                                                                                                                        office@peekskillpresby.org          Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Peekskill Yacht Club                                          Westchester Putnam 388                                       1 Travis Pt                                                           Peekskill, NY 10566‐2053                                                                                 First Class Mail
Chartered Organization         Peetz Lions Club                                              Longs Peak Council 062                                       P.O. Box 159                                                          Peetz, CO 80747‐0159                                                                                     First Class Mail
Chartered Organization         Pegasus School                                                Orange County Council 039                                    19692 Lexington Ln                                                    Huntington Beach, CA 92646‐3734                                                                          First Class Mail
Chartered Organization         Pegasus School                                                Capitol Area Council 564                                     896 Robin Ranch Rd                                                    Lockhart, TX 78644‐4578                                                                                  First Class Mail
Voting Party                   Peggy Mathis Williams                                         1704 Azalea                                                  Sulphur, LA 70663                                                                                                                          pwilliams@hmumc.com                 Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pegram Church Of Christ                                       Middle Tennessee Council 560                                 P.O. Box 439                                                          Pegram, TN 37143‐0439                                                                                    First Class Mail
Voting Party                   Pegram United Methodist Church                                Attn: Treasurer, Pegram Umc                                  479 Thompson Rd                                                       Pegram, TN 37143                                                     pegramumc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Firm                           Peiffer Wolf Carr Kane & Conway                               Laurin M. Jacobsen                                           1519 Robert C Blakes Sr. Dr., First Floor                             New Orleans, LA 70130                                                lajaobsen@peifferwolf.com           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pekin United Methodist Church                                 Attn: Treasurer                                              244 S Shorts Corner Rd                                                Pekin, IN 47165                                                      pekinumc1@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pelham Fish & Game Club                                       Daniel Webster Council, Bsa 330                              P.O. Box 917                                                          Pelham, NH 03076‐0917                                                                                    First Class Mail
Chartered Organization         Pelham Police Dept                                            Greater Alabama Council 001                                  32 Philip Davis St                                                    Pelham, AL 35124‐2236                                                                                    First Class Mail
Chartered Organization         Pelham Police Dept                                            Daniel Webster Council, Bsa 330                              14 Village Grn                                                        Pelham, NH 03076‐3172                                                                                    First Class Mail
Chartered Organization         Pelican Elementary School                                     Southwest Florida Council 088                                3525 SW 3rd Ave                                                       Cape Coral, FL 33914‐7845                                                                                First Class Mail
Chartered Organization         Pelican Yacht Club                                            Gulf Stream Council 085                                      1120 Seaway Dr                                                        Fort Pierce, FL 34949‐3104                                                                               First Class Mail
Chartered Organization         Pella 1St Ward ‐ Oakley Stake                                 Snake River Council 111                                      160 W 400 S                                                           Burley, ID 83318                                                                                         First Class Mail
Chartered Organization         Pella 2nd Ward ‐ Oakley Stake                                 Snake River Council 111                                      152 W 400 S                                                           Burley, ID 83318                                                                                         First Class Mail
Chartered Organization         Pella Lutheran                                                Montana Council 315                                          418 W Main St                                                         Sidney, MT 59270‐3942                                                                                    First Class Mail
Chartered Organization         Pella Lutheran Church                                         Montana Council 315                                          418 W Main St                                                         Sidney, MT 59270‐3942                                                                                    First Class Mail
Chartered Organization         Pelzer Rescue Squad                                           Blue Ridge Council 551                                       125 Hwy 20 N                                                          Pelzer, SC 29669‐1628                                                                                    First Class Mail
Chartered Organization         Pemberton Township Volunteer Fire Dept.                       Garden State Council 690                                     15 Trenton Rd                                                         Browns Mills, NJ 08015‐3204                                                                              First Class Mail
Chartered Organization         Pembroke Christian Church                                     Coastal Georgia Council 099                                  P.O. Box 479                                                          Pembroke, GA 31321‐0479                                                                                  First Class Mail
Chartered Organization         Pembroke Christian Church                                     Buckskin 617                                                 513 Snidow St                                                         Pembroke, VA 24136                                                                                       First Class Mail
Chartered Organization         Pembroke Community Church                                     Iroquois Trail Council 376                                   692 Main Rd                                                           Corfu, NY 14036‐9752                                                                                     First Class Mail
Chartered Organization         Pembroke Congregational Church                                Daniel Webster Council, Bsa 330                              301 Pembroke St                                                       Pembroke, NH 03275‐3234                                                                                  First Class Mail
Voting Party                   Pembroke First Umc                                            c/o Bradley Arant Boult Cummings, LLP                        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pembroke First Utd Methodist Church                           Buckskin 617                                                 5908 Virginia Ave                                                     Pembroke, VA 24136‐3469                                                                                  First Class Mail
Chartered Organization         Pembroke Lion'S Club                                          Cape Fear Council 425                                        120 N Odum St                                                         Pembroke, NC 28372‐9155                                                                                  First Class Mail
Chartered Organization         Pembroke Pines Police Dept                                    South Florida Council 084                                    9500 Pines Blvd                                                       Pembroke Pines, FL 33024‐6258                                                                            First Class Mail
Chartered Organization         Pembroke School Pto                                           Connecticut Yankee Council Bsa 072                           34 1/2 Pembroke Rd                                                    Danbury, CT 06811‐2939                                                                                   First Class Mail
Chartered Organization         Pemigewasset Fish & Game Club                                 Daniel Webster Council, Bsa 330                              P.O. Box 38                                                           Holderness, NH 03245‐0038                                                                                First Class Mail
Voting Party                   Pen Argyl: Grace United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP                        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200           Tampa, FL 33602                                                       First Class Mail
Voting Party                   Penasquitos Church Of The Nazarene Dba Radiant Life Church    Attn: Shane Smith                                            10060 Carmel Mountain Rd                                              San Diego, CA 92129                                                  shaneadamsmith@hotmail.com          Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Penasquitos Lutheran Church                                   San Diego Imperial Council 049                               14484 Penasquitos Dr                                                  San Diego, CA 92129‐1604                                                                                 First Class Mail
Chartered Organization         Pender Ems & Fire, Inc                                        Cape Fear Council 425                                        805 Bridgewood Ave                                                    Burgaw, NC 28425                                                                                         First Class Mail
Voting Party                   Pender UMC                                                    c/o Bradley Arant Boult Cummings, LLP                        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pender Utd Methodist Church                                   National Capital Area Council 082                            12401 Alder Woods Dr                                                  Fairfax, VA 22033‐2477                                                                                   First Class Mail
Chartered Organization         Pender Utd Methodist Church                                   National Capital Area Council 082                            12500 Lee Jackson Memorial Hw                                         Hwy                                                                                                      First Class Mail
Chartered Organization         Pendergrass Baptist Church                                    Northeast Georgia Council 101                                105 Church Ave                                                        Pendergrass, GA 30567                                                                                    First Class Mail
Voting Party                   Pendleton (First United Methodist Ministries, Inc)            Attn: John Franklin Groves                                   225 W State St                                                        Pendleton, IN 46064                                                  john.groves@inumc.org               Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pendleton Center United Methodist Church                      Attn: Mary Bobsein Treasurer                                 6864 Campbell Blvd                                                    North Tonowanda, NY 14120                                            theoffice@pcumc.org                 Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pendleton Community Bank                                      Stonewall Jackson Council 763                                P.O. Box 487                                                          Franklin, WV 26807‐0487                                                                                  First Class Mail
Voting Party                   Pendleton Emmanuel United Methodist Church                    Attn: Pastor Dale E Erwin                                    311 E High St                                                         Pendleton, IN 46064                                                  deerwin@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pendleton Lions Club                                          Crossroads of America 160                                    P.O. Box 322                                                          Pendleton, IN 46064‐0322                                                                                 First Class Mail
Chartered Organization         Pendleton Utd Methodist Men                                   Blue Ridge Council 551                                       P.O. Box 646                                                          Pendleton, SC 29670‐0646                                                                                 First Class Mail
Chartered Organization         Penfield Fire Co                                              Seneca Waterways 397                                         1838 Penfield Rd                                                      Penfield, NY 14526‐1410                                                                                  First Class Mail
Chartered Organization         Penfield Presbyterian Church                                  Seneca Waterways 397                                         1881 Jackson Rd                                                       Penfield, NY 14526‐1246                                                                                  First Class Mail
Chartered Organization         Penfield Rotary Club                                          Seneca Waterways 397                                         P.O. Box 28                                                           Penfield, NY 14526‐0028                                                                                  First Class Mail
Voting Party                   Penfield United Methodist Church                              Attn: Treasurer                                              1795 Baird Rd                                                         Penfield, NY 14526‐1072                                              pastor@pumcny.org                   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Penfield Volunteer Emergency Ambulance                        Seneca Waterways 397                                         1585 Jackson Rd                                                       Penfield, NY 14526‐9737                                                                                  First Class Mail
Voting Party                   Penguin Group Usa Inc                                         4920 Collections Ctr Dr                                      Chicago, IL 60693‐0001                                                                                                                                                         First Class Mail
Voting Party                   Penhook UMC                                                   c/o Bradley Arant Boult Cummings, LLP                        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Peniel United Methodist Church ‐ Wilmington                   c/o Bradley Arant Boult Cummings, LLP                        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Peninsula Chamber Of Commerce                                 Erie Shores Council 460                                      5681 E Harbor Rd                                                      Marblehead, OH 43440‐9788                                                                                First Class Mail
Chartered Organization         Peninsula Utd Methodist Church                                Great Trail 433                                              P.O. Box 186                                                          Peninsula, OH 44264‐0186                                                                                 First Class Mail
Chartered Organization         Peninsular Christian Church                                   Greater Tampa Bay Area 089                                   3600 W Ballast Point Blvd                                             Tampa, FL 33611‐3614                                                                                     First Class Mail
Voting Party                   Penn Credit Corp                                              P.O. Box 69703                                               Harrisburg, PA 17106‐9703                                                                                                                                                      First Class Mail
Chartered Organization         Penn Elementary Cub Scouts                                    National Capital Area Council 082                            15589 Canvasback Ct                                                   Woodbridge, VA 22191‐3763                                                                                First Class Mail
Chartered Organization         Penn Forest Wesleyan Church                                   Blue Ridge Mtns Council 599                                  3735 Chaparral Dr                                                     Roanoke, VA 24018‐4838                                                                                   First Class Mail
Chartered Organization         Penn Glade Lions Club                                         Moraine Trails Council 500                                   450 Church Rd                                                         Butler, PA 16002                                                                                         First Class Mail
Firm                           Penn Law, LLC                                                 Daren W. Penn, Alexandra "Sachi" Cole, Kevin M. Ketner and   4200 Northside Parkway, Ste 100, Building One                         Atlanta, GA 30327                                                    darren@pennlawgroup.com             Email
                                                                                             Paul Mones                                                                                                                                                                                              sachi@pennlawgroup.com              First Class Mail
Chartered Organization         Penn Medicine                                                 Cradle of Liberty Council 525                                1500 Market St 9th Fl                                                 Philadelphia, PA 19102‐2100                                                                              First Class Mail
Chartered Organization         Penn Township Volunteer Fire Co No 50                         New Birth of Freedom 544                                     1740 Pine Rd                                                          Newville, PA 17241                                                                                       First Class Mail
Chartered Organization         Penn Wood Home And School Assoc                               Chester County Council 539                                   1470 Johnnys Way                                                      West Chester, PA 19382‐7858                                                                              First Class Mail
Voting Party                   Penn Yan United Methodist Church                              Attn: Jerry T Snyder, Trustee Chair                          166 Main St                                                           Penn Yan, NY 14527                                                   snyder2457@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Penniman Elementary                                           Greater St Louis Area Council 312                            1700 Jerome Ln                                                        Cahokia, IL 62206‐2329                                                                                   First Class Mail
Chartered Organization         Pennington Court Recreation Center                            Northern New Jersey Council, Bsa 333                         214 South St                                                          Newark, NJ 07114‐2924                                                                                    First Class Mail
Chartered Organization         Pennington Facility Boy'S & Girl'S Club                       Nevada Area Council 329                                      1300 Foster Dr                                                        Reno, NV 89509‐1207                                                                                      First Class Mail
Voting Party                   Pennington Presbyterian Church                                Attn: Nancy A Mikoski                                        13 S Main St                                                          Pennington, NJ 08534                                                 Office@pennpres.org                 Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pennington United Methodist Church                            Attn: Administrative Council Chair                           2745 Pennington Bend Rd                                               Nashville, TN 37214                                                  sandanorfleet@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pennington United Methodist Church                            Stanton E Norfleet                                           7011 Couchville Pike                                                  Mount Juliet, TN 37122                                               sandanorfleet@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pennington United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP                        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Penningtonville Presbyterian Church                           Chester County Council 539                                   P.O. Box 282                                                          Atglen, PA 19310‐0282                                                                                    First Class Mail
Chartered Organization         Pennsburg Group Of Citizens                                   Cradle of Liberty Council 525                                1013 Lake Ln                                                          Pennsburg, PA 18073‐1609                                                                                 First Class Mail
Chartered Organization         Pennsville Baptist Church                                     Westmoreland Fayette 512                                     3298 Richey Rd                                                        Mount Pleasant, PA 15666‐2283                                                                            First Class Mail
Voting Party                   Pennsylvania Avenue United Methodist Church                   Attn: Rev Mark Erway                                         1238 Pennsylvania Ave                                                 Pine City, NY 14871‐9251                                             paumcme@aol.com                     Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pennsylvania Dutch Council 524                                Pennsylvania Dutch Council 524                               630 Janet Ave, Ste B114                                               Lancaster, PA 17601‐4541                                                                                 First Class Mail
Chartered Organization         Pennsylvania Yacht Club                                       Washington Crossing Council 777                              2189 State Rd                                                         Bensalem, PA 19020‐7258                                                                                  First Class Mail
Chartered Organization         Pennville Community Center                                    Anthony Wayne Area 157                                       P.O. Box 54                                                           Pennville, IN 47369‐0054                                                                                 First Class Mail
Chartered Organization         Pennypack Ecological Restoration Trust                        Cradle of Liberty Council 525                                2955 Edge Hill Rd                                                     Huntingdon Valley, PA 19006‐5022                                                                         First Class Mail
Chartered Organization         Penobscot County Conservation Assoc                           Katahdin Area Council 216                                    P.O. Box 605                                                          Brewer, ME 04412‐0605                                                                                    First Class Mail
Voting Party                   Penobscot Umc, South Penobscot Umc, North Penobscot Umc       Attn: Sally Bridges                                          P.O. Box 30                                                           Penobscot, ME 04776                                                  robertson.debra@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pension Benefit Guaranty Corporation                          Attn: Cassandra Burton                                       1200 K St, NW                                                         Washington, DC 20005‐4025                                            burton.cassandra@pbgc.gov           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pension Benefit Guaranty Corporation                          Attn: Cassandra Burton                                       1200 K St, NW                                                         Washington, DC 20005                                                 burton.cassandra@pbgc.gov           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pension Benefit Guaranty Corporation                          Attn: Thomas Taylor                                          2217 Osborn Dr                                                        Silver Spring, MD 20910                                                                                  First Class Mail
Chartered Organization         Pentecostal Holiness Church                                   Northeast Georgia Council 101                                P.O. Box 269                                                          Franklin Springs, GA 30639‐0269                                                                          First Class Mail
Chartered Organization         Pentecostal House Of Faith Inc                                Buffalo Trace 156                                            3818 Claremont Ave                                                    Evansville, IN 47712‐4843                                                                                First Class Mail
Chartered Organization         Pentwater Service Club                                        President Gerald R Ford 781                                  P.O. Box 778                                                          Pentwater, MI 49449‐0778                                                                                 First Class Mail
Voting Party                   People 20 Global Inc                                          P.O. Box 536853                                              Atlanta, GA 30353‐6853                                                                                                                                                         First Class Mail
Chartered Organization         People Of Hope Elca                                           Gamehaven 299                                                3703 Country Club Rd SW                                               Rochester, MN 55902‐8737                                                                                 First Class Mail
Chartered Organization         People Of Praise                                              Lasalle Council 165                                          53666 Ironwood Rd                                                     South Bend, IN 46635‐1532                                                                                First Class Mail
Chartered Organization         People Of Praise Inc                                          Crossroads of America 160                                    3300 W Moore Rd                                                       Muncie, IN 47304‐5941                                                                                    First Class Mail
Chartered Organization         People'S Clinic                                               Middle Tennessee Council 560                                 305 Dover Rd                                                          Clarksville, TN 37042‐4157                                                                               First Class Mail
Chartered Organization         Peoples Congregational Utd Church                             National Capital Area Council 082                            4704 13th St Nw                                                       Washington, DC 20011‐4408                                                                                First Class Mail
Voting Party                   Peoples United Methodist Church                               Attn: Rosemary Herd                                          240 Barnstable, Ste 9                                                 South Portland, ME 04106                                             rherd65@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Peoples United Methodist Church                               Attn: Bradford Morrison                                      24 Oak St                                                             South Portland, ME 04106                                             havechef@gwi.net                    Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Peoples United Methodist Church                               Attn: Rev Ellen Bridge                                       P.O. Box 182                                                          Newport, ME 04953                                                    ebridge@tdstelme.net                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   People's United Methodist Church                              Attn: Anita Brown                                            P.O. Box 105                                                          Union, ME 04862                                                      pumcunion@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   People's United Methodist Church                              Attn: Pastor Matt Willis‐Goode                               64 Purchase St                                                        Newburyport, MA 01950                                                pastormattwg@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   People's United Methodist Church                              Attn: Frank King                                             P.O. Box 150                                                          Fremont, NH 03044                                                    Pastor@PUMCfremont.org              Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   People'S United Methodist Church                              Attn: Frank King                                             PO Box 150                                                            Fremont, NH 03044‐0150                                               Pastor@PUMCfremont.org              Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   People's United Methodist Church                              Attn: Nicholas Guay                                          86 Summit St                                                          Baileyville, ME 04694                                                ngguay68@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   People's United Methodist Church                              Attn: Jessica Ellis, CFO                                     475 Riverside Dr, Ste 1922                                            New York, NY 10115                                                   bshillady@umcitysociety.org         Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   People's United Methodist Church S Thomaston ME 04858         Attn: William Torpey                                         P.O. Box 83                                                           13 Chapel St                       S Thomaston, ME 04858             william.t.torpey@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Peoples United Methodist Church South Thomaston Maine 04858   Attn: William Torpey                                         159 Cline Rd                                                          13 Chapel St                       Spruce Head, ME 04859             william.t.torpey@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         People'S Utd Methodist Church                                 Pikes Peak Council 060                                       5110 Tamlin Rd                                                        Colorado Springs, CO 80938‐9601                                                                          First Class Mail
Chartered Organization         People'S Utd Methodist Church                                 Pine Tree Council 218                                        21 Depot St                                                           Union, ME 04862‐4211                                                                                     First Class Mail
Chartered Organization         Peoria Academy                                                W D Boyce 138                                                2711 W Willow Knolls Dr                                               Peoria, IL 61614‐1116                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                             Page 300 of 442
                                                                                   Case 20-10343-LSS                                      Doc 8171                                                  Filed 01/06/22                                                    Page 316 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                         Name                                                                                                   Address                                                                                                                Email                Method of Service
Chartered Organization         Peoria Christian School                                    W D Boyce 138                             3506 N California Ave                                                  Peoria, IL 61603‐1106                                                                                    First Class Mail
Chartered Organization         Peoria Fire Dept                                           W D Boyce 138                             505 NE Monroe St                                                       Peoria, IL 61603‐3766                                                                                    First Class Mail
Chartered Organization         Peoria Friendship House Christian Svc                      W D Boyce 138                             800 NE Madison Ave                                                     Peoria, IL 61603‐3951                                                                                    First Class Mail
Chartered Organization         Peoria Heights Kiwanis Club                                W D Boyce 138                             920 E Glen Ave                                                         Peoria Heights, IL 61616‐5370                                                                            First Class Mail
Chartered Organization         Peoria Park District                                       W D Boyce 138                             1125 W Lake Ave                                                        Peoria, IL 61614‐5935                                                                                    First Class Mail
Chartered Organization         Peoria Police Dept                                         W D Boyce 138                             600 SW Adams St                                                        Peoria, IL 61602‐1524                                                                                    First Class Mail
Chartered Organization         Peosta Community Centre                                    Northeast Iowa Council 178                7896 Burds Rd                                                          Peosta, IA 52068‐9646                                                                                    First Class Mail
Chartered Organization         Pepin County Sheriff'S Office                              Chippewa Valley Council 637               740 7th Ave W                                                          Durand, WI 54736‐1628                                                                                    First Class Mail
Chartered Organization         Pepin Lions Club                                           Chippewa Valley Council 637               300 8th St                                                             Pepin, WI 54759                                                                                          First Class Mail
Chartered Organization         Pepperell‐Fire Firefighters Assoc                          Heart of New England Council 230          59 Main St                                                             Pepperell, MA 01463‐1527                                                                                 First Class Mail
Chartered Organization         Pepperell‐Lions Club                                       Heart of New England Council 230          P.O. Box 1353                                                          Pepperell, MA 01463‐3353                                                                                 First Class Mail
Chartered Organization         Pepperell‐Vets Fgn Wars Post 3291 Inc                      Heart of New England Council 230          2 Leighton St                                                          Pepperell, MA 01463                                                                                      First Class Mail
Chartered Organization         Peppermint Ridge                                           California Inland Empire Council 045      825 Magnolia Ave                                                       Corona, CA 92879‐3129                                                                                    First Class Mail
Voting Party                   Pepsi Cola Company                                         P.O. Box 841828                           Dallas, TX 75284‐1828                                                                                                                                                           First Class Mail
Voting Party                   Peralta Memorial United Methodist Church                   c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Peralta Memorial Utd Methodist Church                      Great Swest Council 412                   25 Wesley Rd                                                           Peralta, NM 87042‐8450                                                                                   First Class Mail
Chartered Organization         Perch Point Conservation Club                              Water and Woods Council 782               7930 Meisner Rd                                                        Casco, MI 48064‐3307                                                                                     First Class Mail
Voting Party                   Perdido Bay United Methodist Church, Inc                   c/o Stichter Riedel Blain & Postler, PA   Attn: Edward J Peterson                                                110 E Madison St, Ste 200         Tampa, FL 33602                    epeterson.ecf@srbp.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Perdido Bay United Methodist Church, Inc                   13660 Innerarity Point Rd                 Pensacola, FL 32507                                                                                                                                                             First Class Mail
Chartered Organization         Perdido Beach Vol Fire Dept Auxiliary                      Mobile Area Council‐Bsa 004               8450 Escambia Ave                                                      Perdido Beach, AL 36530‐6238                                                                             First Class Mail
Firm                           Perdue & Kidd                                              Donald H. Kidd                            777 Post Oak Blvd., Ste 450                                            Houston, TX 77056                                                    dkidd@perdueandkidd.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Perez Ace 21St Cent                                        Capitol Area Council 564                  7500 S Pleasant Valley Rd                                              Austin, TX 78744‐6412                                                                                    First Class Mail
Chartered Organization         Perham Lions Club                                          Northern Lights Council 429               554 4th St Sw                                                          Perham, MN 56573‐1428                                                                                    First Class Mail
Chartered Organization         Perham Rotary Club                                         Northern Lights Council 429               47851 450th Ave                                                        Perham, MN 56573‐8133                                                                                    First Class Mail
Voting Party                   Perimeter International                                    2700 Story Rd W, Ste 150                  Irving, TX 75038‐7391                                                                                                                                                           First Class Mail
Chartered Organization         Perinton Chamber Of Commerce Park                          Seneca Waterways 397                      P.O. Box 1144                                                          Fairport, NY 14450‐7144                                                                                  First Class Mail
Chartered Organization         Perinton Presbyterian Church                               Seneca Waterways 397                      6511 Pittsford Palmyra Rd                                              Fairport, NY 14450‐3401                                                                                  First Class Mail
Chartered Organization         Perinton Volunteer Ambulance Corp Inc                      Seneca Waterways 397                      1400 Turk Hill Rd                                                      Fairport, NY 14450‐8751                                                                                  First Class Mail
Chartered Organization         Perkins And Will                                           Circle Ten Council 571                    10100 N Central Expy, Ste 300                                          Dallas, TX 75231‐4140                                                                                    First Class Mail
Voting Party                   Perkins Coie LLP                                           John S Kaplan                             1201 3rd Ave, Ste 4900                                                 Seattle, WA 98101‐3099                                               JKaplan@perkinscoie.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Perkins First Utd Methodist Church                         Cimarron Council 474                      P.O. Box 280                                                           Perkins, OK 74059‐0280                                                                                   First Class Mail
Chartered Organization         Perkinsville Fire Dept                                     Five Rivers Council, Inc 375              Main St                                                                Perkinsville, NY 14529                                                                                   First Class Mail
Chartered Organization         Perrin Promise                                             Tecumseh 439                              431 W John St                                                          Springfield, OH 45506‐3341                                                                               First Class Mail
Chartered Organization         Perrine Elementary Pta                                     South Florida Council 084                 8851 SW 168th St                                                       Palmetto Bay, FL 33157‐4549                                                                              First Class Mail
Chartered Organization         Perrine Moose Lodge 380                                    South Florida Council 084                 9854 E Evergreen St                                                    Cutler Bay, FL 33157‐5442                                                                                First Class Mail
Chartered Organization         Perritte Memorial Umc                                      East Texas Area Council 585               638A N University Dr 255                                               Nacogdoches, TX 75961                                                                                    First Class Mail
Chartered Organization         Perry Branch Of Lds Church (Ames)                          Mid Iowa Council 177                      2008 8th St                                                            Perry, IA 50220                                                                                          First Class Mail
Chartered Organization         Perry Central Community                                    Buffalo Trace 156                         18677 Old State Rd 37                                                  Leopold, IN 47551‐8081                                                                                   First Class Mail
Chartered Organization         Perry Chiropractic                                         Alamo Area Council 583                    624 S Seguin Ave                                                       New Braunfels, TX 78130‐7647                                                                             First Class Mail
Chartered Organization         Perry Elks Lodge                                           Suwannee River Area Council 664           305 Puckett Rd                                                         Perry, FL 32348‐5801                                                                                     First Class Mail
Chartered Organization         Perry Fire Dept                                            Iroquois Trail Council 376                P.O. Box 243                                                           Perry, NY 14530‐0243                                                                                     First Class Mail
Chartered Organization         Perry Fire Dept                                            Lake Erie Council 440                     P.O. Box 439                                                           Perry, OH 44081‐0439                                                                                     First Class Mail
Voting Party                   Perry First United Methodist Church                        Attn: Marilyn Schirman, Treasurer         P.O. Box 237                                                           Perry, IA 50220                                                      perryumc297@gmail.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Perry First United Methodist Church                        Attn: Betty Emerling                      35 Covington St                                                        Perry, NY 14530                                                                                          First Class Mail
Chartered Organization         Perry Hall Presbyterian Church                             Baltimore Area Council 220                8848 Belair Rd                                                         Baltimore, MD 21236‐2401                                                                                 First Class Mail
Voting Party                   Perry Hall Umc                                             Attn: Kimberly Cole Treasurer             9515 Bel Air Rd                                                        Baltimore, MD 21236                                                  peryhallumc@verizon.net             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Perry Highway Lutheran Church                              Laurel Highlands Council 527              11403 Perry Hwy                                                        Wexford, PA 15090‐8751                                                                                   First Class Mail
Voting Party                   Perry Memorial United Methodist Church                     Attn: Brenda Sue Dotson, Treasurer        202 Livingston St                                                      P.O. Box 1264                     Shady Spring, WV 25918             pmumc@suddenlinkmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Perry Memorial Utd Methodist Church                        Buckskin 617                              P.O. Box 1264                                                          Shady Spring, WV 25918‐1264                                                                              First Class Mail
Chartered Organization         Perry Meridian Middle School                               Crossroads of America 160                 5391 Shelby St                                                         Indianapolis, IN 46227‐4214                                                                              First Class Mail
Chartered Organization         Perry Township Fire Dept                                   Simon Kenton Council 441                  4633 State Route 243                                                   Ironton, OH 45638‐8832                                                                                   First Class Mail
Chartered Organization         Perry Township Fire Dept & Coal Grove                      Simon Kenton Council 441                  56 Township Rd 316                                                     Ironton, OH 45638‐8967                                                                                   First Class Mail
Voting Party                   Perry United Methodist Church                              Attn: John Plowman                        121 S Madison St                                                       P.O. Box 15                       Perry, MI 48872                    jmplow@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Perry United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    Erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Perry Utd Methodist Church                                 Central Georgia Council 096               1002 Carroll St                                                        Perry, GA 31069‐3316                                                                                     First Class Mail
Chartered Organization         Perry Utd Methodist Church                                 Jayhawk Area Council 197                  220 Oak St                                                             Perry, KS 66073‐4150                                                                                     First Class Mail
Chartered Organization         Perry Utd Methodist Church                                 Lake Erie Council 440                     3875 Main St                                                           Perry, OH 44081‐8502                                                                                     First Class Mail
Chartered Organization         Perry Utd Methodist Church                                 Cimarron Council 474                      P.O. Box 206                                                           Perry, OK 73077‐0206                                                                                     First Class Mail
Chartered Organization         Perry Varner Education Treatment                           Tukabatchee Area Council 005              1002 Selfield Rd                                                       Selma, AL 36703‐8725                                                                                     First Class Mail
Chartered Organization         Perryopolis Lions Club                                     Westmoreland Fayette 512                  Incorrect Address                                                      Perryopolis, PA 15473                                                                                    First Class Mail
Voting Party                   Perrysburg First Church                                    200 W 2nd St                              Perrysburg, OH 43551                                                                                                                        office@perrysburgfirst.church       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Perryton First Christian Church                            Golden Spread Council 562                 901 S Jefferson St                                                     Perryton, TX 79070‐3800                                                                                  First Class Mail
Voting Party                   Perryton First United Methodist Church                     Attn: Secretary/Treasurer And/Or Pastor   P.O. Box 987                                                           Perryton, TX 79070                                                   rmedearis@lubbocklawfirm.com        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Perryton United Methodist Church                           Attn: Reverend Christopher W Wiseman      12335 Marne Rd                                                         Newark, OH 43055                                                     chriswwiseman@gmail.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Perryville United Methodist Church                         Attn: Andy Gill                           P.O. Box 645                                                           Perryville, AR 72126                                                 acgill07@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Perryville United Methodist Church ‐ Perryville            c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Perryville United Methodist Church (85355)                 c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Perryville Utd Methodist Church House                      Del Mar Va 081                            301 Susquehanna Ave                                                    Perryville, MD 21903                                                                                     First Class Mail
Chartered Organization         Person Lodge 113                                           Old N State Council 070                   219 Leasburg Rd                                                        Roxboro, NC 27573‐5235                                                                                   First Class Mail
Voting Party                   Pert Amboy Catholic Primary/Secondary                      Attn: Andre L Kydala                      54 Old Hwy 22                                                          Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         Perth Amboy High School                                    Patriots Path Council 358                 300 Eagle Ave                                                          Perth Amboy, NJ 08861‐2711                                                                               First Class Mail
Chartered Organization         Peru Lds Ward                                              Sagamore Council 162                      2355 S Business 31                                                     Peru, IN 46970‐8985                                                                                      First Class Mail
Chartered Organization         Peru Lions Club                                            Twin Rivers Council 364                   16 Helene Way                                                          Peru, NY 12972‐5107                                                                                      First Class Mail
Voting Party                   Peru Main St United Methodist Church                       Attn: David Swihart, Trustee Chairman     81 W Main St                                                           Peru, IN 46970                                                                                           First Class Mail
Chartered Organization         Peru Volunteer Ems                                         W D Boyce 138                             111 5th St                                                             Peru, IL 61354‐2005                                                                                      First Class Mail
Chartered Organization         Pervi Precision Co Inc                                     Suffolk County Council Inc 404            220 Knickerbocker Ave                                                  Bohemia, NY 11716‐3181                                                                                   First Class Mail
Chartered Organization         Pesotum Utd Methodist Men Church                           Prairielands 117                          P.O. Box 203                                                           Pesotum, IL 61863‐0203                                                                                   First Class Mail
Chartered Organization         Petal Citizens For Scouting                                Pine Burr Area Council 304                154 Dove Holw                                                          Petal, MS 39465‐8160                                                                                     First Class Mail
Chartered Organization         Petal Ward Church Of Jesus Christ Lds                      Pine Burr Area Council 304                1618 Broadway Dr                                                       Hattiesburg, MS 39402‐3201                                                                               First Class Mail
Chartered Organization         Petaluma Church Of Christ                                  Redwood Empire Council 041                370 Sonoma Mountain Pkwy                                               Petaluma, CA 94954‐8550                                                                                  First Class Mail
Chartered Organization         Petaluma Elks Lodge 901                                    Redwood Empire Council 041                2105 S Mcdowell Blvd Ext                                               Petaluma, CA 94954‐6904                                                                                  First Class Mail
Chartered Organization         Petaluma Police Dept                                       Redwood Empire Council 041                969 Petaluma Blvd N                                                    Petaluma, CA 94952‐1921                                                                                  First Class Mail
Chartered Organization         Petaluma Sea Scouts, Inc                                   Redwood Empire Council 041                3305 Eman Ln                                                           Petaluma, CA 94952                                                                                       First Class Mail
Chartered Organization         Pete Nance Boys & Girls Club                               Northeast Georgia Council 101             P.O. Box 767                                                           Madison, GA 30650‐0767                                                                                   First Class Mail
Chartered Organization         Pete Nance Boys And Girls Club                             Northeast Georgia Council 101             P.O. Box 474                                                           Greensboro, GA 30642‐0474                                                                                First Class Mail
Chartered Organization         Peter Cartwright Utd Methodist Church                      Abraham Lincoln Council 144               205 W Church St                                                        Pleasant Plains, IL 62677‐9705                                                                           First Class Mail
Voting Party                   Peter F Milloy                                             30 Carew St                               S Hadley, MA 01075                                                                                                                                                              First Class Mail
Firm                           Peter Philips Law, LLC                                     Peter Philips                             1037 D Chuck Dawley Blvd Ste 100                                       Mt Pleasant, SC 29464                                                ptp@peterphillipslaw.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Peter Ulrich                                               Address Redacted                                                                                                                                                                                                          First Class Mail
Chartered Organization         Peterborough Fire & Rescue                                 Daniel Webster Council, Bsa 330           16 Summer St                                                           Peterborough, NH 03458‐2430                                                                              First Class Mail
Chartered Organization         Peterborough Recreation Dept                               Daniel Webster Council, Bsa 330           64 Union St                                                            Peterborough, NH 03458‐1056                                                                              First Class Mail
Chartered Organization         Petersburg Bureau Of Police                                Heart of Virginia Council 602             135 N Union St                                                         Petersburg, VA 23803‐3267                                                                                First Class Mail
Chartered Organization         Petersburg Presbyterian Church                             Great Trail 433                           P.O. Box 219                                                           Petersburg, OH 44454‐0219                                                                                First Class Mail
Chartered Organization         Petersburg Redevt And Housing Authority                    Heart of Virginia Council 602             37 Slagle Ave                                                          Petersburg, VA 23803‐3618                                                                                First Class Mail
Voting Party                   Petersburg United Methodist Church                         Attn: Robert A. (Andy) Aycock             P.O. Box 190                                                           Petersburg, TX 79250                                                                                     First Class Mail
Chartered Organization         Petersburg Utd Methodist Church                            Southern Shores Fsc 783                   152 Saline St                                                          Petersburg, MI 49270‐8301                                                                                First Class Mail
Voting Party                   Petersburg‐Crever Methodist (177238)                       c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Petersburg‐Crever Methodist (177238)                       c/o Bentz Law Firm                        Attn: Sean Bollman                                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Petersburg‐Crever Methodist (Alexandria)                   c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Petersen Inc                                               Trapper Trails 589                        1527 N 2000 W                                                          Farr West, UT 84404‐9808                                                                                 First Class Mail
Firm                           Peterson & Associates, P.C.                                David M. Peterson                         8001 W. 47th Street, Ste 107                                           Kansas City, MO 64112                                                dpm@petersonlawfirm.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Petersville United Methodist Church                        Attn: Treasurer                           2781 N 500 E                                                           Columbus, IN 47203                                                   petersvilechurch@gmail.com          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Petersville United Methodist Church                        Attn: Kathryn Bush                        4393 N 500 E                                                           Hope, IN 47246                                                       bushk63501@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Petoskey High School                                       President Gerald R Ford 781               1500 Hill St                                                           Petoskey, MI 49770‐2782                                                                                  First Class Mail
Voting Party                   Petoskey United Methodist Church                           Attn: Melissa A Joneson                   1804 E Mitchell Rd                                                     Petoskey, MI 49770                                                   treasurer@petoskeyumc.org           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Petrie Memorial United Methodist Church                    Roger D Brown                             202 E Main St                                                          P.O. Box 160                      Elkton, KY 42220                   RDBROW@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Petrie Memorial United Methodist Church                    Attn: Roger Brown                         3124 Sharon Grove Rd                                                   Elkton, KY 42220                                                     RDBROW@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Petrie Memorial Utd Methodist Church                       Lincoln Heritage Council 205              202 E Main St                                                          Cadiz, KY 42211‐6124                                                                                     First Class Mail
Voting Party                   Petroleum Products Llc                                     P.O. Box 644274                           Pittsburgh, PA 15264‐4274                                                                                                                                                       First Class Mail
Voting Party                   Petrolia United Methodist Church                           P.O. Box 67                               Petrolia, TX 76377                                                                                                                          petroliaumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Petrolia Utd Methodist Church                              Northwest Texas Council 587               106 E Reed St                                                          Petrolia, TX 76377                                                                                       First Class Mail
Chartered Organization         Pettaquamscutt Lake Shores Impr Assoc                      Narragansett 546                          P.O. Box 21                                                            Saunderstown, RI 02874‐0021                                                                              First Class Mail
Chartered Organization         Pettigrew And Assoc Pa                                     Conquistador Council Bsa 413              100 E Navajo Dr, Ste 100                                               Hobbs, NM 88240‐9309                                                                                     First Class Mail
Chartered Organization         Pewaukee Vfw ‐ Post 9537                                   Potawatomi Area Council 651               202 Clark St                                                           Pewaukee, WI 53072‐3529                                                                                  First Class Mail
Chartered Organization         Pewaukee Vfw ‐ Post 9537                                   Potawatomi Area Council 651               202 Clark St                                                           Pewaukee, WI 53072‐3529                                                                                  First Class Mail
Chartered Organization         Peyton Elementary School ‐ Pats                            Pikes Peak Council 060                    13550 Bradshaw Rd                                                      Peyton, CO 80831‐9003                                                                                    First Class Mail
Chartered Organization         Pf Dist Cmte For Glenns Vly Elem Sch                       Crossroads of America 160                 8239 Morgantown Rd                                                     Indianapolis, IN 46217‐4451                                                                              First Class Mail
Chartered Organization         Pf District Cmte For Westwood Elementary                   Crossroads of America 160                 1900 N Meridian St                                                     Indianapolis, IN 46202‐1304                                                                              First Class Mail
Chartered Organization         Pfafftown Christian Church                                 Old Hickory Council 427                   P.O. Box 130                                                           Pfafftown, NC 27040‐0130                                                                                 First Class Mail
Firm                           Pfau Cochran Vertetis Amala PLLC                           Michael T. Pfau                           403 Columbia St. Ste 500                                               Seattle, WA 98104                                                    michael@pcvalaw.com                 Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Firm                           Pfau Cochran Vertetis Amala PLLC                           Attn: Darrell Cochran; Kevin Hastings     909 A Street Ste 700                                                   Tacoma, WA 98402                                                                                         First Class Mail
Voting Party                   Pfeifer Morgan & Stesiak                                   Attn: Ryan G Milligan                     53600 N Ironwood Rd                                                    South Bend, IN 46635                                                 Rmilligan@pilawyers.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Pfeifer Morgan & Stesiak                                   Ryan G Milligan                           53600 N Ironwood Rd                                                    South Bend, IN 46635                                                 rmilligan@pilawyers.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Pfeifer Morgan & Stesiak                                   Ryan G. Milligan                          53600 N Ironwood Rd                                                    South Bend, IN 46635                                                 rmilligan@pilawyers.com             Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Pflugerville Community Church                              Capitol Area Council 564                  1214 E Pfennig Ln                                                      Pflugerville, TX 78660‐2978                                                                              First Class Mail
Chartered Organization         Pflugerville Utd Methodist Church                          Capitol Area Council 564                  500 E Pecan St                                                         Pflugerville, TX 78660                                                                                   First Class Mail
Chartered Organization         Pham Huy Khue                                              Silicon Valley Monterey Bay 055           4483 Park Sommers Way                                                  San Jose, CA 95136‐2536                                                                                  First Class Mail
Chartered Organization         Phap Luan Buddhist Cultural Center                         Sam Houston Area Council 576              13913 S Post Oak Rd                                                    Houston, TX 77045‐5139                                                                                   First Class Mail
Chartered Organization         Phap Vu Buddhist Cultural Centre Fla Inc                   Central Florida Council 083               716 N Dean Rd                                                          Orlando, FL 32825‐3406                                                                                   First Class Mail
Voting Party                   Pharr Chapel Umc                                           Attn: Carol Ann Sutton                    517 Federal Ave                                                        Morgan City, LA 70380                                                churchoffice@pharrchapelumc.org     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Phd Academy                                                Chippewa Valley Council 637               3408 Mall Dr                                                           Eau Claire, WI 54701‐7633                                                                                First Class Mail
Chartered Organization         Phea Branch Boys And Girls Club                            South Plains Council 694                  1801 E 24th St                                                         Lubbock, TX 79404‐1303                                                                                   First Class Mail
Chartered Organization         Pheasant Point Elementary Ptc                              Greater St Louis Area Council 312         3450 Pheasant Meadow Dr                                                O Fallon, MO 63368‐7324                                                                                  First Class Mail
Chartered Organization         Pheasant Ridge School Pto                                  Three Fires Council 127                   43 E Stevenson Dr                                                      Glendale Heights, IL 60139‐2052                                                                          First Class Mail
Chartered Organization         Phelps Hospital Northwell Health                           Westchester Putnam 388                    701 N Broadway                                                         Sleepy Hollow, NY 10591‐1020                                                                             First Class Mail
Chartered Organization         Phelps Lions Club                                          Seneca Waterways 397                      P.O. Box 245                                                           Phelps, NY 14532‐0245                                                                                    First Class Mail
Chartered Organization         Phelps Vol Fire Dept                                       Seneca Waterways 397                      77 Ontario St                                                          Phelps, NY 14532                                                                                         First Class Mail
Chartered Organization         Phi Beta Sigma Fraternity / Sigma Beta                     Circle Ten Council 571                    703 E Pentagon Pkwy                                                    Dallas, TX 75216‐6712                                                                                    First Class Mail
Chartered Organization         Phi Beta Sigma Fraternity, Inc                             Gammazetasigma Chapter                    P.O. Box 11383                                                         Riviera Beach, FL 33419‐1383                                                                             First Class Mail
Chartered Organization         Phi Beta Signa/Sigma Beta Club                             Gulf Stream Council 085                   P.O. Box 11383                                                         West Palm Beach, FL 33419‐1383                                                                           First Class Mail
Chartered Organization         Phi Delta Fraternity                                       Puerto Rico Council 661                   P.O. Box 2900                                                          Juncos, PR 00777‐5900                                                                                    First Class Mail
Chartered Organization         Phi Eta Mu Fraternity                                      Puerto Rico Council 661                   Carr 831 Km0.6 Sector Hernandez                                        Barrio Santa Rosa II              Guaynabo, PR 00969                                                     First Class Mail
Chartered Organization         Phil Bird Inc Dba Mcdonald'S Restaurant                    Black Warrior Council 006                 P.O. Box 1927                                                          Hamilton, AL 35570‐1927                                                                                  First Class Mail
Chartered Organization         Phila College Of Osteopathic Medicine                      Cradle of Liberty Council 525             4170 City Ave                                                          Philadelphia, PA 19131‐1610                                                                              First Class Mail
Chartered Organization         Philadelphia 1St Ward Lds                                  Cradle of Liberty Council 525             3913 Chestnut St                                                       Philadelphia, PA 19104‐3110                                                                              First Class Mail
Chartered Organization         Philadelphia Academies, Inc                                Cradle of Liberty Council 525             1401 Walnut St                                                         Philadelphia, PA 19102‐3128                                                                              First Class Mail
Chartered Organization         Philadelphia Fire Dept                                     Cradle of Liberty Council 525             240 Spring Garden St                                                   Philadelphia, PA 19123‐2923                                                                              First Class Mail
Firm                           Philadelphia Lawyers Group, LLC                            Alan Zibleman, Esq                        Two Penn Center ‐ Suite 1030 ‐ 1500 JFK Boulevard                      Philadelphia, PA 19102                                               alan@philadelphialawyersgroup.com   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Philadelphia Lutheran Church                               Piedmont Council 420                      P.O. Box 278                                                           Granite Falls, NC 28630‐0278                                                                             First Class Mail
Chartered Organization         Philadelphia Police Dept                                   Cradle of Liberty Council 525             8501 State Rd                                                          Philadelphia, PA 19136‐1605                                                                              First Class Mail
Chartered Organization         Philadelphia Presbyterian Church                           Mecklenburg County Council 415            11501 Bain School Rd                                                   Mint Hill, NC 28227‐7538                                                                                 First Class Mail
Voting Party                   Philadelphia Umc                                           780 Old Louisville Rd                     Harlem, GA 30814                                                                                                                                                                First Class Mail
Voting Party                   Philadelphia Umc 780 ‐ Harlem                              c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Philadelphia United Methodist Church                       Attn: Shawn T Matney                      2265 W US Hwy 40                                                       Greenfield, IN 46140                                                 office@mtcomfortchurch.com          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Philadelphia United Methodist Church                       Kay G. Crowe                              1613 Main St                                                           Columbia, SC 29201                                                   chancellor@umcsc.org                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 301 of 442
                                                                                    Case 20-10343-LSS                                                     Doc 8171                                              Filed 01/06/22                                                    Page 317 of 457
                                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                                    Service List
                                                                                                                                                                                             Served as set forth below

        Description                                                          Name                                                                                                                Address                                                                                                             Email                 Method of Service
Voting Party                   Philadelphia United Methodist Church                          Attn: Rev. Rebecca J. Shirley                          5734 Morris Hunt Dr                                                Fort Mill, SC 29708                                                  becky@pumcfortmill.org              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Philadelphia Utd Methodist Church                             Atlanta Area Council 092                               2194 W Hightower Trl                                               Conyers, GA 30012‐1826                                                                                   First Class Mail
Chartered Organization         Philadelphia Utd Methodist Church                             Palmetto Council 549                                   1691 Hwy 160 W                                                     Fort Mill, SC 29708‐8024                                                                                 First Class Mail
Chartered Organization         Philadelphia Utd Methodist Church                             Georgia‐Carolina 093                                   780 Old Louisville Rd                                              Harlem, GA 30814‐4300                                                                                    First Class Mail
Chartered Organization         Philbrick‐Clement Post                                        Daniel Webster Council, Bsa 330                        John Stark Hwy                                                     Weare, NH 03281                                                                                          First Class Mail
Voting Party                   Phileatus Winchell                                            18 Church St                                           Phoenicia, NY 12464                                                                                                                     winch269@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Philip H Sheridan Elementary School                           Cradle of Liberty Council 525                          800 E Ontario St                                                   Philadelphia, PA 19134‐1309                                                                              First Class Mail
Voting Party                   Philip M. Condit                                              c/o Boy Scouts of America                              Attn: Chase Koontz                                                 1325 W Walnut Hill Ln             Irving, TX 75015                   chase.koontz@scouting.org           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Philip R Smith School P T O                                   Connecticut Rivers Council, Bsa 066                    949 Avery St                                                       South Windsor, CT 06074‐2306                                                                             First Class Mail
Chartered Organization         Philip S Bryant Memorial Post 111                             Pine Tree Council 218                                  P.O. Box 611                                                       Turner, ME 04282‐0611                                                                                    First Class Mail
Voting Party                   Philipsburg Grace Umc (00189008)                              c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                             680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Philipsburg Grace Umc (00189008)                              c/o Bentz Law Firm, Pc                                 Attn: Sean Bollman                                                                                                                      lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Philipsburg Trinity Umc (06510)                               c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                             680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Phillip O Berry Academy Of Technology                         Mecklenburg County Council 415                         1430 Alleghany St                                                  Charlotte, NC 28208‐0805                                                                                 First Class Mail
Firm                           Phillips & Paolicelli, LLP                                    Ari L. Taub, Esq.                                      747 Third Avenue, 6th Floor                                        New York, NY 10017                                                   ATAUB@P2law.com                     Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Phillips Animal Medical Hospital                              Piedmont Council 420                                   2730 W Franklin Blvd                                               Gastonia, NC 28052‐9480                                                                                  First Class Mail
Voting Party                   Phillips Chapel United Methodist Church                       Attn: Rev Mark Dee Stephens                            2362 Brucewood Rd                                                  Haw River, NC 27258                                                  marks@nccumc.org                    Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Phillips Cme Church                                           Greater Alabama Council 001                            200 Davis Cir Sw                                                   Huntsville, AL 35801‐5012                                                                                First Class Mail
Chartered Organization         Phillips Presbyterian Church                                  Samoset Council, Bsa 627                               144 N Avon Ave                                                     Phillips, WI 54555‐1202                                                                                  First Class Mail
Voting Party                   Phillips Sign & Lighting Inc                                  40920 Exec Dr                                          Harrison Twp, MI 48045‐1363                                                                                                                                                 First Class Mail
Chartered Organization         Phillips Temple Church                                        Miami Valley Council, Bsa 444                          P.O. Box 26489                                                     Trotwood, OH 45426‐0489                                                                                  First Class Mail
Voting Party                   Phillips United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                 100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Phillips United Methodist Church                              Brian Ross Ophaug                                      2324 S Harlan St                                                   Lakewood                                                             bophaug@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Phillipston‐Congregational Church                             Heart of New England Council 230                       1 the Cmn                                                          Phillipston, MA 01331                                                                                    First Class Mail
Chartered Organization         Phillis Wheatley Center                                       Blue Ridge Council 551                                 220 Bent Oak Way                                                   Spartanburg, SC 29301‐1201                                                                               First Class Mail
Chartered Organization         Phillis Wheatley Elem Family Resource                         Lincoln Heritage Council 205                           1107 S 17th St                                                     Louisville, KY 40210‐2432                                                                                First Class Mail
Chartered Organization         Philmont Scout + Cimarron Methodist                           Great Swest Council 412                                17 Deer Run Rd                                                     Cimarron, NM 87714‐9638                                                                                  First Class Mail
Voting Party                   Philmont United Methodist Church                              Attn: Kenneth Coddington                               P.O. Box 466                                                       Philmont, NY 12565                                                   philmontumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Philmont United Methodist Church                              Attn: Kenneth W Coddington Jr                          27 Church St                                                       Philmont, NY 12565                                                   kedocama4@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Phoenicia United Methodist Church                             Attn: Rev, Yeon Shin                                   3056 Route 28                                                      Shokan, NY 12481                                                     yeon.shin@nyac.umc.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Phoenix Academy                                               Pacific Skyline Council 031                            1039 Garden St                                                     East Palo Alto, CA 94303‐1748                                                                            First Class Mail
Chartered Organization         Phoenix Club Glenview Boys & Girls Club                       Middle Tennessee Council 560                           1020 Patricia Dr                                                   Nashville, TN 37217‐1216                                                                                 First Class Mail
Chartered Organization         Phoenix Club Of Nashville                                     Middle Tennessee Council 560                           1118 12th Ave S                                                    Nashville, TN 37203‐4748                                                                                 First Class Mail
Chartered Organization         Phoenix Club Of Nashville                                     Middle Tennessee Council 560                           73 White Bridge Pike, Ste 126                                      Nashville, TN 37205‐1486                                                                                 First Class Mail
Chartered Organization         Phoenix Friends Church                                        Grand Canyon Council 010                               8055 N 39th Ave                                                    Phoenix, AZ 85051‐5815                                                                                   First Class Mail
Chartered Organization         Phoenix Rangers                                               Grand Canyon Council 010                               7127 E Medina Ave                                                  Mesa, AZ 85209‐4827                                                                                      First Class Mail
Chartered Organization         Phoenix School Of Discovery                                   Lincoln Heritage Council 205                           3741 Pulliam Dr                                                    Louisville, KY 40218‐1677                                                                                First Class Mail
Chartered Organization         Phoenix Vfw Post 5540 Ladies Auxillary                        Longhouse Council 373                                  70 Culvert St                                                      Phoenix, NY 13135‐1941                                                                                   First Class Mail
Chartered Organization         Phoenixville Educational Group                                Chester County Council 539                             114 Pennsylvania Ave                                               Phoenixville, PA 19460‐4029                                                                              First Class Mail
Chartered Organization         Phs Parents Club                                              Piedmont Council 042                                   401 Highland Ave                                                   Piedmont, CA 94611‐4025                                                                                  First Class Mail
Voting Party                   Phu Tran                                                      Address Redacted                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Phyllis Wheatley Assoc                                        Blue Ridge Council 551                                 P.O. Box 17126                                                     Greenville, SC 29606‐8126                                                                                First Class Mail
Voting Party                   Picayune First United Methodist Church                        Attn: Arnold Daniel                                    323 N Haugh Ave                                                    Picayune, MS 39466                                                                                       First Class Mail
Chartered Organization         Pickens County Sheriff'S Office                               Blue Ridge Council 551                                 216 C David Stone Rd                                               Pickens, SC 29671‐2636                                                                                   First Class Mail
Chartered Organization         Pickens Lions Club                                            Blue Ridge Council 551                                                                 #NAME?                             Pickens, SC 29671                                                                                        First Class Mail
Chartered Organization         Pickerington Lions Club                                       Simon Kenton Council 441                               8090 Busey Rd                                                      Pickerington, OH 43147‐9662                                                                              First Class Mail
Chartered Organization         Pickford Lions Club                                           Bay‐Lakes Council 635                                  P.O. Box 308                                                       Pickford, MI 49774‐0308                                                                                  First Class Mail
Voting Party                   Pickford United Methodist Church                              Attn: Leanne Storey                                    P.O. Box 128                                                       Pickford, MI 49774                                                   pickfordumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Pickton United Methodist Church                               Attn: Lenise Boseman                                   P.O. Box 84                                                        Pickton, TX 75471                                                    lenise.boseman@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Pickton United Methodist Church                               Attn: Roland Sache                                     55Cr 2419                                                          P.O. Box 2                        Pickton, TX 75471                                                      First Class Mail
Chartered Organization         Pickwick Fire And Rescue                                      Gamehaven 299                                          24616 County Rd 7                                                  Winona, MN 55987‐5833                                                                                    First Class Mail
Chartered Organization         Pico Blanco Alumni Assoc                                      Silicon Valley Monterey Bay 055                        511 Niguel                                                         Watsonville, CA 95076‐1286                                                                               First Class Mail
Chartered Organization         Picotte Pta                                                   Mid‐America Council 326                                14506 Ohio St                                                      Omaha, NE 68116‐4192                                                                                     First Class Mail
Chartered Organization         Picture Rocks Ward ‐ Lds Marana Stake                         Catalina Council 011                                   10190 W Rudasill Rd                                                Tucson, AZ 85743‐9259                                                                                    First Class Mail
Chartered Organization         Piedmont Airlines                                             San Diego Imperial Council 049                         2192 Palomar Airport Rd                                            Carlsbad, CA 92011‐4409                                                                                  First Class Mail
Chartered Organization         Piedmont Community Church                                     Piedmont Council 042                                   400 Highland Ave                                                   Piedmont, CA 94611‐4043                                                                                  First Class Mail
Voting Party                   Piedmont Council 042                                          Attn: Seth Hilton                                      180 Mountain Ave                                                   Piedmont, CA 94611                                                   seth.hilton@stoel.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Piedmont Episcopal Church                                     Stonewall Jackson Council 763                          P.O. Box 797                                                       Madison, VA 22727‐0797                                                                                   First Class Mail
Voting Party                   Piedmont Episcopal Church                                     Attn: Eve Bargmann                                     P.O. Box 305                                                       Madison, VA 22727                                                    piedmontepiscopal@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Piedmont First United Methodist Church ‐ Piedmont, Oklahoma   Attn: Pastor, Piedmont First United Methodist Church   P.O. Box 237                                                       Piedmont, OK 73078                                                   Jim@jamesmarrcpa.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Piedmont Language School                                      Piedmont Council 042                                   P.O. Box 11092                                                     Oakland, CA 94611‐0092                                                                                   First Class Mail
Chartered Organization         Piedmont Leadership Assoc For Youth                           National Capital Area Council 082                      P.O. Box 3649                                                      Warrenton, VA 20188‐8249                                                                                 First Class Mail
Chartered Organization         Piedmont Medical Center                                       Palmetto Council 549                                   222 Herlong Ave S                                                  Rock Hill, SC 29732‐1158                                                                                 First Class Mail
Chartered Organization         Piedmont Middle School Parent Club                            Piedmont Council 042                                   740 Magnolia Ave                                                   Piedmont, CA 94611‐4047                                                                                  First Class Mail
Voting Party                   Piedmont Natural Gas                                          Attn: Lashawnda Freeman                                4339 S Tryon St                                                    Charlotte, NC 28217                                                  lashawnda.freeman@duke‐energy.com   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Piedmont Pines Assoc                                          San Francisco Bay Area Council 028                     9301 Skyline Blvd                                                  Oakland, CA 94611‐1736                                                                                   First Class Mail
Chartered Organization         Piedmont Police Dept                                          Piedmont Council 042                                   403 Highland Ave                                                   Piedmont, CA 94611‐4025                                                                                  First Class Mail
Chartered Organization         Piedmont Presbyterian Church                                  Blue Ridge Council 551                                 P.O. Box 422                                                       Piedmont, SC 29673‐0422                                                                                  First Class Mail
Voting Party                   Piedmont United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                 100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Piedmont Utd Methodist                                        Last Frontier Council 480                              P.O. Box 237                                                       Piedmont, OK 73078‐0237                                                                                  First Class Mail
Chartered Organization         Piedmont Utd Presbyterian Church                              Cascade Pacific Council 492                            5760 NE Cleveland Ave                                              Portland, OR 97211‐2506                                                                                  First Class Mail
Chartered Organization         Piedmont Valley Lutheran Church                               Black Hills Area Council 695 695                       16155 Spring Valley Ct                                             Piedmont, SD 57769‐7801                                                                                  First Class Mail
Chartered Organization         Piedmont‐Wycliffe Neighborhood Assoc                          Mid‐America Council 326                                P.O. Box 540015                                                    Omaha, NE 68154‐0015                                                                                     First Class Mail
Voting Party                   Pien Hall Ruritan Clun                                        Germantown Ruritan Club                                3196 US 311 Hwy N                                                  Pine Hall, NC 27042                                                  phruritans@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Pier School Pto                                               Bay‐Lakes Council 635                                  259 Old Pioneer Rd                                                 Fond Du Lac, WI 54935‐6150                                                                               First Class Mail
Voting Party                   Pierce Chapel United Methodist Church, Inc.                   Attn: Dawn Krueger, Financial Secretary                5122 Pierce Chapel Rd                                              Midland, GA 31820                                                    dawn@piercechapel.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Pierce Chapel Utd Methodist Church                            Chattahoochee Council 091                              8685 Al Hwy 51                                                     Opelika, AL 36804‐0860                                                                                   First Class Mail
Chartered Organization         Pierce County Medical Reserve Corps                           Pacific Harbors Council, Bsa 612                       3629 S D St                                                        Tacoma, WA 98418‐6813                                                                                    First Class Mail
Chartered Organization         Pierce County Sheriff'S Dept                                  Pacific Harbors Council, Bsa 612                       271 John Bananola Way E                                            South Hill Precinct                                                                                      First Class Mail
Chartered Organization         Pierce Elementary School Pta                                  Hawkeye Area Council 172                               4343 Marilyn Dr NE                                                 Cedar Rapids, IA 52402‐2209                                                                              First Class Mail
Chartered Organization         Pierce Hammock Pto                                            Gulf Stream Council 085                                14255 Hamlin Blvd                                                  Loxahatchee, FL 33470‐5619                                                                               First Class Mail
Voting Party                   Pierce Memorial Presbyterian Church Of Farmingdale, NJ        c/o Lindabury Mccormick Estabrook & Cooper, Pc         Attn: Monica Vir, Esq                                              53 Cardinal Dr                    Westfield, NJ 07091                mvir@lindabury.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Firm                           Pierce Skrabanek, PLLC                                        Paul Skrabanek                                         3701 Kirby Dr, Ste 760                                             Houston, TX 77098                                                    psboffice@psbfirm.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Pierce‐Mcdonald Vfw Post 1422                                 Illowa Council 133                                     181 E Hail St                                                      Bushnell, IL 61422‐1332                                                                                  First Class Mail
Voting Party                   Pierceton United Methodist Church                             Attn: William Hartman                                  P.O. Box 478                                                       7888 US 30E                       Pierceton, IN 46562                wmhart54@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Pierceton Utd Methodist Church                                Anthony Wayne Area 157                                 502 N 1st St                                                       Pierceton, IN 46562‐9339                                                                                 First Class Mail
Chartered Organization         Pierpont Township Board Of Trustees                           Lake Erie Council 440                                  1109 Rt 7                                                          Pierpont, OH 44082                                                                                       First Class Mail
Chartered Organization         Pierre A Capdau Charter School                                Southeast Louisiana Council 214                        4621 Canal St                                                      New Orleans, LA 70119‐5807                                                                               First Class Mail
Voting Party                   Pierre First United Methodist Church                          Attn: Greg Kroger                                      117 N Central Ave                                                  Pierre, SD 57501                                                     greg.kroger@pierrefirstumc.org      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Pierremont School Pto                                         Greater St Louis Area Council 312                      1215 Dauphine Ln                                                   Manchester, MO 63011‐4119                                                                                First Class Mail
Chartered Organization         Pierz Lions Club                                              Central Minnesota 296                                  P.O. Box 461                                                       Pierz, MN 56364‐0461                                                                                     First Class Mail
Chartered Organization         Pike Township Fire Dept                                       Crossroads of America 160                              4881 W 71st St                                                     Indianapolis, IN 46268‐2149                                                                              First Class Mail
Chartered Organization         Pikes Peak Christian School                                   Pikes Peak Council 060                                 5905 Flintridge Dr                                                 Colorado Springs, CO 80918‐1844                                                                          First Class Mail
Chartered Organization         Pikes Peak Lodge 5 Pha F.A.M.                                 Pikes Peak Council 060                                 513 N Prospect St                                                  Colorado Springs, CO 80903‐3016                                                                          First Class Mail
Chartered Organization         Pikeside Utd Methodist Church                                 Shenandoah Area Council 598                            25 Paynes Ford Rd                                                  Martinsburg, WV 25405‐5854                                                                               First Class Mail
Chartered Organization         Piketon Seal Township Fire Dept                               Simon Kenton Council 441                               2552 Jasper Rd                                                     Piketon, OH 45661‐9403                                                                                   First Class Mail
Chartered Organization         Piketon Seal Twp Fire Dept                                    Simon Kenton Council 441                               2552 Jasper Rd                                                     Piketon, OH 45661‐9403                                                                                   First Class Mail
Chartered Organization         Pikeville Rotary Club                                         Blue Grass Council 204                                 222 Hambley Blvd                                                   Pikeville, KY 41501‐3782                                                                                 First Class Mail
Voting Party                   Pikeville Umc                                                 Attn: Rev Greg Smart                                   P.O. Box 233                                                       Pikeville, TN 37367                                                  pumctnsec@bledsoe.net               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Pikeville United Methodist Church                             Attn: Pastor Willard Knipp                             P.O. Box 311                                                       Pikeville, KY 41502‐0311                                             office.pumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Pikeville Utd Methodist Church                                Cherokee Area Council 556                              P.O. Box 223                                                       Pikeville, TN 37367‐0223                                                                                 First Class Mail
Chartered Organization         Pikeville Utd Methodist Church                                Cherokee Area Council 556                              P.O. Box 233                                                       Pikeville, TN 37367‐0233                                                                                 First Class Mail
Chartered Organization         Pilgram Lutheran Church                                       Mid‐America Council 326                                2311 Fairview Rd                                                   Bellevue, NE 68123‐5318                                                                                  First Class Mail
Chartered Organization         Pilgrim Baptist Church                                        Crossroads of America 160                              1060 W 30th St                                                     Indianapolis, IN 46208‐4927                                                                              First Class Mail
Chartered Organization         Pilgrim Baptist Church                                        Northern Star Council 250                              732 Central Ave W                                                  Saint Paul, MN 55104‐4820                                                                                First Class Mail
Chartered Organization         Pilgrim Christian Church                                      Lake Erie Council 440                                  202 S Hambden St                                                   Chardon, OH 44024‐1229                                                                                   First Class Mail
Chartered Organization         Pilgrim Church                                                Mayflower Council 251                                  25 S Main St                                                       Sherborn, MA 01770‐1434                                                                                  First Class Mail
Chartered Organization         Pilgrim Church                                                Mayflower Council 251                                  P.O. Box 281                                                       Southborough, MA 01772‐0281                                                                              First Class Mail
Chartered Organization         Pilgrim Congregational Church                                 Montana Council 315                                    409 S 36th St                                                      Billings, MT 59101‐3653                                                                                  First Class Mail
Voting Party                   Pilgrim Congregational Church, Ucc                            4 Watson St                                            Nashua, NH 03064                                                                                                                        treasurer@pilgrimchurchnashua.org   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Pilgrim Faith Church                                          Pathway To Adventure 456                               9411 S 51st Ave                                                    Oak Lawn, IL 60453‐2407                                                                                  First Class Mail
Chartered Organization         Pilgrim Home Baptist Church                                   Alabama‐Florida Council 003                            13534 W US 84                                                      Newton, AL 36352‐8400                                                                                    First Class Mail
Chartered Organization         Pilgrim Lutheran Church                                       Cascade Pacific Council 492                            5650 SW Hall Blvd                                                  Beaverton, OR 97005‐3918                                                                                 First Class Mail
Chartered Organization         Pilgrim Lutheran Church                                       Water and Woods Council 782                            1705 Nebobish Ave                                                  Essexville, MI 48732‐1638                                                                                First Class Mail
Chartered Organization         Pilgrim Lutheran Church                                       Sam Houston Area Council 576                           8601 Chimney Rock Rd                                               Houston, TX 77096‐1304                                                                                   First Class Mail
Chartered Organization         Pilgrim Lutheran Church                                       Pacific Harbors Council, Bsa 612                       10510 136th St E                                                   Puyallup, WA 98374‐3081                                                                                  First Class Mail
Chartered Organization         Pilgrim Lutheran Church                                       Northern Star Council 250                              1935 Saint Clair Ave                                               Saint Paul, MN 55105‐1646                                                                                First Class Mail
Voting Party                   Pilgrim Lutheran Church Of Puyallup, Washington               Attn: Steven Schumacher                                10510 136th St E                                                   Puyallup, WA 98374                                                   office@pilgrimpuyallup.org          Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Pilgrim Missionary Baptist Church                             Prairielands 117                                       1310 N 6th St                                                      Champaign, IL 61820‐2431                                                                                 First Class Mail
Chartered Organization         Pilgrim Park Middle School Pto                                Potawatomi Area Council 651                            1500 Pilgrim Pkwy                                                  Elm Grove, WI 53122‐1530                                                                                 First Class Mail
Voting Party                   Pilgrim Presbyterian Church                                   Attn: Stephen Cyphers                                  750 Belvidere Rd                                                   Phillipsburg, NJ 08865                                               stephencyphers@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Pilgrim Presbyterian Church                                   c/o Pilgrim                                            Attn: Stephen Cyphers                                              750 Belvidere Rd                  Phillipsburg, NJ 08865             stephencyphers@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Pilgrim Rest Baptist Church                                   Chickasaw Council 558                                  1484 Pillow St                                                     Memphis, TN 38106‐5020                                                                                   First Class Mail
Chartered Organization         Pilgrim Utd Church Of Christ                                  Dan Beard Council, Bsa 438                             4418 Bridgetown Rd                                                 Cincinnati, OH 45211‐4411                                                                                First Class Mail
Chartered Organization         Pilgrim Utd Church Of Christ                                  Great Trail 433                                        130 Broad Blvd                                                     Cuyahoga Falls, OH 44221‐3869                                                                            First Class Mail
Chartered Organization         Pilgrim Utd Church Of Christ                                  Southwest Florida Council 088                          24515 Rampart Blvd                                                 Port Charlotte, FL 33980‐2702                                                                            First Class Mail
Chartered Organization         Pilgrim Utd Methodist Church                                  Northern Star Council 250                              4325 Zachary Ln N                                                  Plymouth, MN 55442‐2801                                                                                  First Class Mail
Chartered Organization         Pillager Lions                                                Central Minnesota 296                                  P.O. Box 236                                                       Pillager, MN 56473‐0236                                                                                  First Class Mail
Voting Party                   Pilmoor Memorial United Methodist Church                      Attn: Nedra Daughdrill Lane                            192 Courthouse Rd                                                  Currituck, NC 27929                                                  pilmoor@nccumc.org                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Pilmoor Memorial Utd Methodist Church                         Tidewater Council 596                                  P.O. Box 65                                                        Currituck, NC 27929‐0065                                                                                 First Class Mail
Chartered Organization         Pilot Mountain Scouters                                       Old Hickory Council 427                                P.O. Box 1714                                                      Pilot Mountain, NC 27041‐1714                                                                            First Class Mail
Chartered Organization         Pilot Point Fire Dept                                         Longhorn Council 662                                   110 W Div St                                                       Pilot Point, TX 76258                                                                                    First Class Mail
Voting Party                   Pilot Point First United Methodist Church                     P.O. Box 492                                           Pilot Point, TX 76258                                                                                                                   office@pilotpointfumc.org           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Pilsudski Society Of Greenwich                                Greenwich 067                                          65 Arch St                                                         Greenwich, CT 06830‐6513                                                                                 First Class Mail
Chartered Organization         Pima Medical Institue                                         Sam Houston Area Council 576                           11125 Equity Dr, Ste 100                                           Houston, TX 77041‐2012                                                                                   First Class Mail
Chartered Organization         Pima Ward ‐ Lds Tucson East Stake                             Catalina Council 011                                   6150 E Fairmount St                                                Tucson, AZ 85712                                                                                         First Class Mail
Chartered Organization         Pimlico Elementary School                                     Baltimore Area Council 220                             4849 Pimlico Rd                                                    Baltimore, MD 21215‐6040                                                                                 First Class Mail
Chartered Organization         Pin Oaks Christian Fellowship                                 Circle Ten Council 571                                 2620 County Rd 1106                                                Anna, TX 75409‐5817                                                                                      First Class Mail
Chartered Organization         Pinckney American Legion Post 419                             Southern Shores Fsc 783                                P.O. Box 468                                                       Pinckney, MI 48169‐0468                                                                                  First Class Mail
Chartered Organization         Pinckneyville Lions Club                                      Greater St Louis Area Council 312                      613 Belle Ave                                                      Pinckneyville, IL 62274‐1501                                                                             First Class Mail
Chartered Organization         Pinconning Methodist Church                                   Water and Woods Council 782                            314 Whyte St                                                       Pinconning, MI 48650‐8606                                                                                First Class Mail
Chartered Organization         Pinconning Utd Methodist Church                               Water and Woods Council 782                            314 Whyte St                                                       Pinconning, MI 48650‐8606                                                                                First Class Mail
Voting Party                   Pine Bluffs United Methodist Church                           Attn: Sally Brelsford                                  P.O. Box 662                                                       Pine Bluffs, WY 82082                                                                                    First Class Mail
Chartered Organization         Pine Bush Hook & Ladder Co                                    Hudson Valley Council 374                              P.O. Box 1                                                         Pine Bush, NY 12566‐0001                                                                                 First Class Mail
Voting Party                   Pine Castle Methodist                                         c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                 100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Pine City Lions Club                                          Voyageurs Area 286                                     General Delivery                                                   Pine City, MN 55063                                                                                      First Class Mail
Voting Party                   Pine Creek Valley Umc (07372)                                 c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                             680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Pine Forest United Methodist                                  Attn: Fred Rimmer, Trustee Chair                       400 Woods Ave                                                      Dublin, GA 31021                                                     pine.forest@pfumc.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Pine Forest United Methodist Church                           Attn: Treasurer Pine Forest Umc                        867 Nc Hwy 581 S                                                   Goldsboro, NC 27530                                                  w.stephen.moore@me.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Pine Forest Utd Methodist Church                              Central Georgia Council 096                            400 Woods Ave                                                      Dublin, GA 31021‐3541                                                                                    First Class Mail
Chartered Organization         Pine Forest Utd Methodist Men                                 Tuscarora Council 424                                  867 Nc 581 Hwy S                                                   Goldsboro, NC 27530‐7861                                                                                 First Class Mail
Chartered Organization         Pine Forest Utd Methodist Mens Club                           Gulf Coast Council 773                                 2800 Wilde Lake Blvd                                               Pensacola, FL 32526‐8717                                                                                 First Class Mail
Chartered Organization         Pine Forge Elem Parent Teacher Assoc                          c/o Pine Forge Elem                                    Hawk Mountain Council 528                                          Pine Forge, PA 19548                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                    Page 302 of 442
                                                                                     Case 20-10343-LSS                                                Doc 8171                                         Filed 01/06/22                                                  Page 318 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                           Name                                                                                                      Address                                                                                                           Email               Method of Service
Chartered Organization         Pine Forge Parent Teacher Assoc                              Hawk Mountain Council 528                            Pine Forge & Glendale Rd                                     Pine Forge, PA 19548                                                                                 First Class Mail
Voting Party                   Pine Grove                                                   c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pine Grove ‐ Albemarie                                       c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pine Grove Methodist Church                                  Old Hickory Council 427                              1130 Jonestown Rd                                            Winston Salem, NC 27103‐5209                                                                         First Class Mail
Chartered Organization         Pine Grove Methodist Mens Club                               Twin Rivers Council 364                              1580 Central Ave                                             Albany, NY 12205‐2403                                                                                First Class Mail
Chartered Organization         Pine Grove Mills Presbyterian Church                         Juniata Valley Council 497                           P.O. Box 241                                                 Pine Grove Mills, PA 16868‐0241                                                                      First Class Mail
Voting Party                   Pine Grove Umc                                               c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pine Grove United Methodist Church                           Attn: Pastor Al Johnson                              1580 Central Ave                                             Albany, NY 12205                                                   pgumcpastor1@gmail.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pine Grove Utd Methodist Church                              Old Hickory Council 427                              1018 Piney Grove Rd                                          Kernersville, NC 27284‐7254                                                                          First Class Mail
Chartered Organization         Pine Grove Utd Methodist Church                              Piedmont Council 420                                 110 Pine Grove Church Rd                                     Shelby, NC 28152‐8400                                                                                First Class Mail
Chartered Organization         Pine Grove Utd Methodist Church                              Old Hickory Council 427                              1130 Jonestown Rd                                            Winston Salem, NC 27103‐5209                                                                         First Class Mail
Chartered Organization         Pine Grove Volunteer Fire Dept                               Ohio River Valley Council 619                        P.O. Box 111                                                 Pine Grove, WV 26419‐0111                                                                            First Class Mail
Voting Party                   Pine Hall Ruritan Club                                       Attn: Wade Duncan                                    3196 US 311 Hwy N                                            Pine Hall, NC 27042                                                phruritan@gmail.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pine Hills Pta                                               Central Florida Council 083                          1006 Ferndell Rd                                             Orlando, FL 32808‐6108                                                                               First Class Mail
Chartered Organization         Pine Island Elementary School                                Southwest Florida Council 088                        5360 Ridgewood Dr                                            Bokeelia, FL 33922‐3210                                                                              First Class Mail
Chartered Organization         Pine Island Utd Methodist                                    Southwest Florida Council 088                        5701 Pine Island Rd NW                                       Bokeelia, FL 33922‐3135                                                                              First Class Mail
Chartered Organization         Pine Lake Park Taxpayers Impr Assoc                          Jersey Shore Council 341                             201 Hannibal St                                              Toms River, NJ 08757‐3530                                                                            First Class Mail
Chartered Organization         Pine Level American Legion                                   Tuscarora Council 424, Route 2                       Pine Level, NC 27568                                                                                                                                              First Class Mail
Chartered Organization         Pine Log Utd Methodist Church                                Northwest Georgia Council 100                        3497 Pine Log Rd NE                                          Rydal, GA 30171‐1238                                                                                 First Class Mail
Voting Party                   Pine Mountain First United Methodist                         c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pine Mountain First United Methodist                         206 N Mcdouglad Ave                                  Pine Mtn, GA 31822                                                                                                                                                First Class Mail
Chartered Organization         Pine Mountain Search And Rescue                              Blue Grass Council 204                               156 Main St, Ste 107                                         Whitesburg, KY 41858‐7286                                                                            First Class Mail
Chartered Organization         Pine Plains Hose Co 1                                        Hudson Valley Council 374                            P.O. Box 668                                                 Pine Plains, NY 12567‐0668                                                                           First Class Mail
Voting Party                   Pine Plains United Methodist Church                          Lisa Badore                                          3027 Rte 199                                                 Pine Plains, NY 12567                                              ppumcsecretary@hotmail.com        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pine Plains United Methodist Church                          3027 Rt 199                                          Pine Plains, NY 12567                                                                                                           ppumcsecretary@hotmail.com        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pine Ridge Fellowship                                        Central Florida Council 083                          935 Howland Blvd                                             Deltona, FL 32738‐7149                                                                               First Class Mail
Voting Party                   Pine Ridge Fellowship Umc                                    c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pine Ridge Presbyterian Church                               Heart of America Council 307                         7600 NW Barry Rd                                             Kansas City, MO 64153‐1730                                                                           First Class Mail
Chartered Organization         Pine Run Methodist Church                                    Laurel Highlands Council 527                         901 N 6th St                                                 Clairton, PA 15025‐2301                                                                              First Class Mail
Voting Party                   Pine Run United Methodist Church (103785)                    c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pine Shores Presbyterian Church                              Southwest Florida Council 088                        6135 Beechwood Ave                                           Sarasota, FL 34231‐3801                                                                              First Class Mail
Voting Party                   Pine Tree Council                                            Attn: Lindsay Zahradka Milne                         100 Middle St                                                Portland, ME 04062                                                 lmilne@bernsteinshur.com          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pine Tree Isd Parkway Elementary                             East Texas Area Council 585                          P.O. Box 5878                                                Longview, TX 75608‐5878                                                                              First Class Mail
Chartered Organization         Pine Tree Rifle Club                                         Twin Rivers Council 364                              P.O. Box 45                                                  Johnstown, NY 12095‐0045                                                                             First Class Mail
Voting Party                   Pine United Methodist Church                                 Attn: Treasurer & Daniel Goto                        426 33rd Ave                                                 San Francisco, CA 94121                                                                              First Class Mail
Voting Party                   Pine Valley United Methodist Church                          Attn:Pvumc Exec Dir of Ops                           3788 Shipyard Boulevar                                       Wilmington, NC 28403                                               mark@pvumc.net                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pine Valley United Methodist Church                          Attn: Hyun Joseph Park                               910 Pine Valley Rd                                           Jacksonville, NC 28546                                             hpark@nccumc.org                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pine Valley Utd Methodist Church                             Cape Fear Council 425                                3788 Shipyard Blvd                                           Wilmington, NC 28403‐6147                                                                            First Class Mail
Chartered Organization         Pine Village Christian Church                                Sagamore Council 162                                 207 S Jefferson                                              Pine Village, IN 47975                                                                               First Class Mail
Voting Party                   Pinebluff United Methodist Church, Pinebluff, NC             Attn: Douglas Ray Mcaskill                           275 E Philadelphia Ave                                       Pinebluff, NC 28373                                                dougmccaskill@windstream.net      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pinecastle Utd Methodist Church                              Central Florida Council 083                          731 Fairlane Ave                                             Orlando, FL 32809‐4276                                                                               First Class Mail
Chartered Organization         Pinecrest Academy ‐ St Rose                                  Las Vegas Area Council 328                           1385 E Cactus Ave                                            Las Vegas, NV 89183‐7706                                                                             First Class Mail
Chartered Organization         Pinecrest Academy Horizon Pto                                Las Vegas Area Council 328                           1360 S Boulder Hwy                                           Henderson, NV 89015‐6958                                                                             First Class Mail
Chartered Organization         Pinecrest Academy Inspirada                                  Las Vegas Area Council 328                           2840 Via Contessa                                            Henderson, NV 89044‐1644                                                                             First Class Mail
Chartered Organization         Pinecrest Baptist Church                                     Tidewater Council 596                                209 Felton Rd                                                Portsmouth, VA 23701‐1401                                                                            First Class Mail
Chartered Organization         Pinecrest Cadence                                            Las Vegas Area Council 328                           225 Grand Cadence Dr                                         Henderson, NV 89015‐6441                                                                             First Class Mail
Chartered Organization         Pinecrest Community Church                                   Denver Area Council 061                              7165 N Delbert Rd                                            Parker, CO 80138‐6114                                                                                First Class Mail
Chartered Organization         Pinecrest Elementary School Pto                              Water and Woods Council 782                          1811 Pinecrest Dr                                            East Lansing, MI 48823‐1850                                                                          First Class Mail
Chartered Organization         Pinecrest Police Explorers                                   South Florida Council 084                            12645 S Dixie Hwy                                            Pinecrest, FL 33156‐5931                                                                             First Class Mail
Chartered Organization         Pineda Presbyterian Church                                   Central Florida Council 083                          5650 N Wickham Rd                                            Melbourne, FL 32940‐7333                                                                             First Class Mail
Chartered Organization         Pinehurst‐Kingston Lions Club                                Inland Nwest Council 611                             P.O. Box 93                                                  Kellogg, ID 83837‐0093                                                                               First Class Mail
Chartered Organization         Pinellas County Sheriffs Office                              Greater Tampa Bay Area 089                           10750 Ulmerton Rd                                            Largo, FL 33778‐1703                                                                                 First Class Mail
Chartered Organization         Pinellas Park Police Dept                                    Greater Tampa Bay Area 089                           7700 59th St N                                               Pinellas Park, FL 33781‐3247                                                                         First Class Mail
Chartered Organization         Pinesdale Fire Dept                                          Montana Council 315                                  1621 Main St                                                 Pinesdale, MT 59841                                                                                  First Class Mail
Chartered Organization         Pinetops Presbyterian Church                                 East Carolina Council 426                            307 W Hamlet St                                              Pinetops, NC 27864                                                                                   First Class Mail
Voting Party                   Pinetops United Methodist Church                             Attn: Treasurer                                      P.O. Box 13                                                  Pinetops, NC 27864                                                 edgecombeparish@aol.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pineview Baptist Church                                      Mobile Area Council‐Bsa 004                          182 Moore St                                                 Thomasville, AL 36784‐3025                                                                           First Class Mail
Voting Party                   Pineview Baptist Church                                      Attn: Matthew C Drinkard                             103 Court St                                                 Grove Hill, AL 36451                                               matt@wddlawoffices.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pineville                                                    c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pineville Utd Methodist Church                               Mecklenburg County Council 415                       110 S Polk St                                                Pineville, NC 28134‐8568                                                                             First Class Mail
Chartered Organization         Pinewood Presbyterian Church                                 North Florida Council 087                            198 Knight Boxx Rd                                           Middleburg, FL 32068‐3911                                                                            First Class Mail
Chartered Organization         Pinewood Ptc                                                 Great Lakes Fsc 272                                  14411 Bade Dr                                                Warren, MI 48088‐3933                                                                                First Class Mail
Chartered Organization         Piney Branch Elementary School                               National Capital Area Council 082                    8301 Linton Hall Rd                                          Bristow, VA 20136‐1021                                                                               First Class Mail
Chartered Organization         Piney Flats Ruritan Club                                     Sequoyah Council 713                                 381 Bowman Ford Rd                                           Piney Flats, TN 37686‐4633                                                                           First Class Mail
Voting Party                   Piney Flats Tennessee Ruritan Club                           Attn: John Weaver                                    533 Allison Rd                                               Piney Flats, TN 37686                                              pineyflatsweaver@gmail.com        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Piney Grove United Methodist Church                          Attn: Angi Holmes                                    2963 Airport Rd                                              Hot Springs, AR 71913‐9071                                         AHolmes@swbc.com                  Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Piney Mountain                                               c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pink Hill Methodist Church                                   East Carolina Council 426                            General Delivery                                             Pink Hill, NC 28572                                                                                  First Class Mail
Chartered Organization         Pink Hill/United Methodist Church                            East Carolina Council 426                            P.O. Box 25                                                  Pink Hill, NC 28572‐0025                                                                             First Class Mail
Chartered Organization         Pinnacle Lutheran Church                                     Seneca Waterways 397                                 250 Pinnacle Rd                                              Rochester, NY 14623‐4104                                                                             First Class Mail
Chartered Organization         Pinnacle Methodist Church                                    Old Hickory Council 427                              P.O. Box 155                                                 Pinnacle, NC 27043‐0155                                                                              First Class Mail
Voting Party                   Pinnacle Presbyterian Church                                 25150 N Pima Rd                                      Scottsdale, AZ 85262                                                                                                            lboswell@pnnaclepres.org          Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pinnacle Presbyterian Church                                 Attn: James Lipscomb                                 25150 N Pima Rd                                              Scottsdale, AZ 85255‐2245                                          lboswell@pinnaclePres.org         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pinnacle Umc                                                 c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pinole Unted Methodist Church                                Attn: Rev Elmar De Ocera                             2000 San Pablo Ave                                           Pinole, CA 94564                                                   erdeocera@gmail.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pinopolis U Methodist Church Mens Club                       Coastal Carolina Council 550                         P.O. Box 883                                                 Moncks Corner, SC 29461‐0883                                                                         First Class Mail
Voting Party                   Pinopolis United Methodist Church                            Attn: Barry A. Allen                                 1833 Pinopolis Rd                                            Pinopolis, SC 29469                                                pinopolisumc@homesc.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pinopolis United Methodist Church                            Attn: Rev. Dr Barry A. Allen                         P.O. Box 521                                                 Pinopolis, SC 29469‐0521                                           pinopolisumc@homesc.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pioneer Arizona Foundation Inc                               Grand Canyon Council 010                             3901 W Pioneer Rd                                            Phoenix, AZ 85086‐7020                                                                               First Class Mail
Chartered Organization         Pioneer Battalion ‐ Twhs                                     Sequoyah Council 713                                 P.O. Box 39                                                  Ewing, VA 24248‐0039                                                                                 First Class Mail
Chartered Organization         Pioneer Elementary Pta                                       Ore‐Ida Council 106 ‐ Bsa 106                        13255 W Mcmillan Rd                                          Boise, ID 83713‐0530                                                                                 First Class Mail
Chartered Organization         Pioneer Faith Evangelical Church                             Sagamore Council 162                                 3805 S 500 E                                                 Marion, IN 46953‐9585                                                                                First Class Mail
Chartered Organization         Pioneer Fire Dept                                            Northeast Iowa Council 178                           11 Ave Sw                                                    Waukon, IA 52172                                                                                     First Class Mail
Chartered Organization         Pioneer Memorial Presbyterian Church                         Lake Erie Council 440                                35100 Solon Rd                                               Solon, OH 44139‐2605                                                                                 First Class Mail
Chartered Organization         Pioneer Methodist Church                                     Oregon Trail Council 697                             180 N Baxter St                                              Coquille, OR 97423‐1825                                                                              First Class Mail
Chartered Organization         Pioneer Peak Pta                                             Great Alaska Council 610                             1959 N Trunk Rd                                              Palmer, AK 99645‐9670                                                                                First Class Mail
Chartered Organization         Pioneer Pto                                                  Last Frontier Council 480                            3686 State Hwy 92                                            Chickasha, OK 73018‐7014                                                                             First Class Mail
Chartered Organization         Pioneer School Pto                                           Northern Lights Council 429                          1714 Braman Ave                                              Bismarck, ND 58501‐2869                                                                              First Class Mail
Chartered Organization         Pioneer Scout Reservation                                    Erie Shores Council 460                              07 371 Rd S                                                  Pioneer, OH 43554                                                                                    First Class Mail
Chartered Organization         Pioneer Trail Pto                                            Great Rivers Council 653                             301 Pioneer Trail Dr                                         Jefferson City, MO 65109‐1508                                                                        First Class Mail
Chartered Organization         Pioneer Utd Methodist Church                                 Black Swamp Area Council 449                         710 E Baubice St                                             Pioneer, OH 43554                                                                                    First Class Mail
Chartered Organization         Pioneer Utd Methodist Church                                 Mid‐America Council 326                              1030 18th Ave                                                Rock Valley, IA 51247‐1414                                                                           First Class Mail
Chartered Organization         Pipe Creek Presbyterian Church                               Alamo Area Council 583                               P.O. Box 63377                                               Pipe Creek, TX 78063‐3377                                                                            First Class Mail
Chartered Organization         Piper'S Meadow Commty                                        Improvement. Assn                                    15920 Pipers View Dr                                         Webster, TX 77598‐2550                                                                               First Class Mail
Chartered Organization         Piperton Utd Methodist Church                                West Tennessee Area Council 559                      785 Hwy 57                                                   Piperton, TN 38017‐5282                                                                              First Class Mail
Voting Party                   Pipertum United Methodist Church                             Attn: Jerry W Brownlee                               45 Poplar Acres Rd                                           Couierville, TN 38017                                              jbrownleefanthomfixer@gmail.com   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pipkin Construction                                          Grand Columbia Council 614                           4801 Contractors Dr                                          East Wenatchee, WA 98802‐8688                                                                        First Class Mail
Firm                           Piro, Zinna, Cifelli, Paris & Genitempo, LLC                 Daniel R. Severe                                     360 Passaic Avenue                                           Nutley, NJ 07110                                                   rgrodeck@pirozinnalaw.com         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Piru Umc                                                     Attn: Ndu Chairman                                   9003 Reseda Blvd, Ste 206                                    Northridge, CA 92324                                               northdistrict@calpacumc.org       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pisgah Presbyterian Church                                   Blue Grass Council 204                               710 Pisgah Pike                                              Versailles, KY 40383‐9215                                                                            First Class Mail
Voting Party                   Pisgah Umc Kernerssville                                     c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pisgah United Methodist Church, Inc.                         Attn: Rev Josh Mcclendon                             621 Arbor Dr                                                 Florence, SC 29501                                                 joshtmcc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pisgah United Methodist Church, Inc.                         Attn: Josh Mcclendon                                 621 N Ebenezer Rd                                            Florence, SC 29501                                                 joshtmcc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pisgah Utd Methodist Church                                  Pee Dee Area Council 552                             621 N Ebenezer Rd                                            Florence, SC 29501‐7565                                                                              First Class Mail
Chartered Organization         Pisgah Utd Methodist Church                                  Old Hickory Council 427                              2165 Pisgah Church Rd                                        Kernersville, NC 27284‐8063                                                                          First Class Mail
Chartered Organization         Pisgah Utd Methodist Men                                     Old Hickory Council 427                              2215 Pisgah Church Rd                                        Kernersville, NC 27284‐8064                                                                          First Class Mail
Chartered Organization         Pisgah Youth Org                                             Dan Beard Council, Bsa 438                           9124 Cincinnati Columbus Rd                                  West Chester, OH 45069                                                                               First Class Mail
Chartered Organization         Pitcher Hill Community Church                                Longhouse Council 373                                605 Bailey Rd                                                Syracuse, NY 13212‐4007                                                                              First Class Mail
Chartered Organization         Pitcher Linc Caring Communities                              Heart of America Council 307                         9915 E 38th Ter                                              Kansas City, MO 64133‐1274                                                                           First Class Mail
Chartered Organization         Pitman Utd Methodist Church                                  Garden State Council 690                             758 N Broadway                                               Pitman, NJ 08071‐2017                                                                                First Class Mail
Voting Party                   Pitney Bowes                                                 Reserve Account                                      P.O. Box 223648                                              Pittsburgh, PA 15262‐0001                                                                            First Class Mail
Voting Party                   Pitney Bowes Global Financial Services LLC                   Attn: Faith Santiago                                 27 Waterview Dr, 3rd Fl                                      Shelton, CT 06484                                                  faith.santiago@pb.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Pitney Bowes Inc                                             P.O. Box 371896                                      Pittsburgh, PA 15250‐7896                                                                                                                                         First Class Mail
Chartered Organization         Pitt County Law Enforcement Assoc                            East Carolina Council 426                            930 Port Terminal Rd                                         Greenville, NC 27858‐7717                                                                            First Class Mail
Chartered Organization         Pitt County Shrine Club                                      East Carolina Council 426                            P.O. Box 1195                                                Greenville, NC 27835‐1195                                                                            First Class Mail
Firm                           Pittman Firm, P.A.                                           C. Wes Pittman                                       432 McKenzie Avenue                                          Panama City, FL 32401                                              wes@pittmanfirm.com               Email
                                                                                                                                                                                                                                                                                 janice@pittmanfirm.com            First Class Mail
Voting Party                   Pittman Park United Methodist Church                         Attn: Wendy Doty Admin Assistant                     1102 Fair Rd                                                 Statesboro, GA 30458                                               ppumc@nctv.com                    Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pitts Chapel Utd Methodist Church                            Central Georgia Council 096                          132 Pitts Chapel Rd                                          Macon, GA 31217‐2348                                                                                 First Class Mail
Voting Party                   Pittsboro Christian Church                                   Attn: Wesley Morgan                                  P.O. Box 215                                                 Pittsboro, IN 46167                                                wmorgan@indy.rr.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pittsboro Methodist Church                                   Occoneechee 421                                      147 Acorn Ln                                                 Pittsboro, NC 27312‐5338                                                                             First Class Mail
Chartered Organization         Pittsburgh 3Rd Ward (Lds)                                    Laurel Highlands Council 527                         113 Earlwood Rd                                              Penn Hills, PA 15235‐1905                                                                            First Class Mail
Chartered Organization         Pittsburgh Pioneer                                           Laurel Highlands Council 527                         775 Dunster St                                               Pittsburgh, PA 15226‐1312                                                                            First Class Mail
Chartered Organization         Pittsburgh School Ward Lds                                   Laurel Highlands Council 527                         210 Old Clairton Rd                                          Pleasant Hills, PA 15236                                                                             First Class Mail
Chartered Organization         Pittsfield Police Dept                                       Western Massachusetts Council 234                    39 Allen St                                                  Pittsfield, MA 01201‐6226                                                                            First Class Mail
Chartered Organization         Pittsfield Rotary Club                                       Daniel Webster Council, Bsa 330                      23 Siel Rd                                                   Pittsfield, NH 03263‐3008                                                                            First Class Mail
Chartered Organization         Pittsfield Utd Methodist Church                              Mississippi Valley Council 141 141                   222 N Monroe St                                              Pittsfield, IL 62363‐1429                                                                            First Class Mail
Chartered Organization         Pittsford Lions Club                                         Green Mountain 592                                   157 Furnace Rd                                               Pittsford, VT 05763‐9350                                                                             First Class Mail
Chartered Organization         Pittsford Volunteer Ambulance Inc                            Seneca Waterways 397                                 P.O. Box 122                                                 Pittsford, NY 14534‐0122                                                                             First Class Mail
Chartered Organization         Pittsford Volunteer Fire Dept                                Seneca Waterways 397                                 8 Monroe Ave                                                 Pittsford, NY 14534‐1928                                                                             First Class Mail
Chartered Organization         Pj'S Sandwich Shop                                           Southwest Florida Council 088                        12342 US Hwy 301 N                                           Parrish, FL 34219‐8685                                                                               First Class Mail
Chartered Organization         Placentia Police Dept                                        Orange County Council 039                            401 E Chapman Ave                                            Placentia, CA 92870‐6101                                                                             First Class Mail
Voting Party                   Placentia United Methodist Church                            Attn: Broghan Hunt                                   2050 Valencia Ave                                            Placentia, CA 92870‐2040                                           pastorbroghan@gmail.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Placer County Fire                                           Golden Empire Council 047                            1112 Wise Rd                                                 Lincoln, CA 95648‐8575                                                                               First Class Mail
Chartered Organization         Placer County Sheriffs Dept                                  Golden Empire Council 047                            2929 Richardson Dr, Ste A                                    Auburn, CA 95603‐2615                                                                                First Class Mail
Chartered Organization         Plain City Lions Club                                        Trapper Trails 589                                   1950 N 4425 W                                                Plain City, UT 84404‐9093                                                                            First Class Mail
Chartered Organization         Plain City Presbyterian Church                               Simon Kenton Council 441                             231 E Main St                                                Plain City, OH 43064‐1205                                                                            First Class Mail
Chartered Organization         Plainfield Fire Dept                                         Rainbow Council 702                                  23748 W 135th St                                             Plainfield, IL 60544‐5075                                                                            First Class Mail
Chartered Organization         Plainfield Friends Meeting                                   Crossroads of America 160                            105 S East St                                                Plainfield, IN 46168‐1221                                                                            First Class Mail
Chartered Organization         Plainfield Historical Society                                Rainbow Council 702                                  23836 W Main St                                              Plainfield, IL 60544‐3153                                                                            First Class Mail
Chartered Organization         Plainfield Moose Lodge 2491                                  Rainbow Council 702                                  16310 S Lincoln Hwy, Ste 100/102                             Plainfield, IL 60586‐9006                                                                            First Class Mail
Chartered Organization         Plainfield Police Exploring Program                          Rainbow Council 702                                  14300 Coil Plus Dr                                           Plainfield, IL 60544‐7704                                                                            First Class Mail
Voting Party                   Plainfield United Methodist Church                           Attn: Donald Habersberger                            15114 S Illinois St                                          Plainfield, IL 60544                                               revdickwisdom@gmail.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Plainfield United Methodist Church, Inc                      Attn: Rebecca Blackwelder, Financial Administrator   600 Simmons St                                               Plainfield, IN 46168                                               rblackwelder@pumc.org             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Plainsboro Volunteer Fire Dept                               Washington Crossing Council 777                      407 Plainsboro Rd                                            Plainsboro, NJ 08536‐1911                                                                            First Class Mail
Chartered Organization         Plainsmen Search And Rescue                                  Montana Council 315                                  P.O. Box 171                                                 Plevna, MT 59344‐0171                                                                                First Class Mail
Chartered Organization         Plainview Rotary Club                                        South Plains Council 694                             P.O. Box 964                                                 Plainview, TX 79073‐0964                                                                             First Class Mail
Chartered Organization         Plainview Ward, Lds                                          Suffolk County Council Inc 404                       160 Washington Ave                                           Plainview, NY 11803‐4020                                                                             First Class Mail
Chartered Organization         Plainville Lions Club                                        Mississippi Valley Council 141 141                   P.O. Box 144                                                 Payson, IL 62360‐0144                                                                                First Class Mail
Chartered Organization         Plainville Lions Club                                        Coronado Area Council 192                            407 S Jefferson St                                           Plainville, KS 67663‐2607                                                                            First Class Mail
Voting Party                   Plainville Umc                                               Stuart Ralph Tucker                                  585 Fisher St                                                Walpole, MA 02081                                                  s2tucker@comcast.net              Email
                                                                                                                                                                                                                                                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 303 of 442
                                                                                 Case 20-10343-LSS                                     Doc 8171                                         Filed 01/06/22                                                     Page 319 of 457
                                                                                                                                                                           Exhibit B
                                                                                                                                                                            Service List
                                                                                                                                                                     Served as set forth below

        Description                                                       Name                                                                                           Address                                                                                                               Email                Method of Service
Voting Party                   Plainville Umc                                           c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Plainville Umc ‐ Plainville                              c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Plainville United Methodist Church                       Stephen E Volpe                          10 Norton Trail                                               Plainville                                                            revsev62@sbcglobal.net              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Plainville United Methodist Church                       56 Red Stone Hill                        Plainville, CT 06062                                                                                                                plainvillunited@sbcglobal.net       Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Plainville United Methodist Church                       Attn: Tom Simon                          16 E Bacon St                                                 Plainville, MA 02762                                                  plainvilleumc@verizon.net           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Plainville Utd Methodist Church                          Connecticut Rivers Council, Bsa 066      56 Red Stone Hl                                               Plainville, CT 06062‐2661                                                                                 First Class Mail
Chartered Organization         Plainville Utd Methodist Church                          Northwest Georgia Council 100            P.O. Box 611                                                  Plainville, GA 30733‐0611                                                                                 First Class Mail
Voting Party                   Plainwell First United Methodist Church                  Attn: Larry Mastenbrook                  200 Park St                                                   Plainwell, MI 49080                                                   plainwellumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Plaistow Fish & Game Club                                Daniel Webster Council, Bsa 330          18 May Ray Ave                                                Plaistow, NH 03865                                                                                        First Class Mail
Chartered Organization         Plaistow Lions Club                                      Daniel Webster Council, Bsa 330          Dauntess Lane                                                 Plaistow, NH 03865                                                                                        First Class Mail
Chartered Organization         Plandome Village Assoc                                   Theodore Roosevelt Council 386           65 South Dr                                                   Plandome, NY 11030‐1461                                                                                   First Class Mail
Chartered Organization         Planeta Azul Para Los Ninos                              Pathway To Adventure 456                 449 Perrie Dr                                                 Elk Grove Village, IL 60007‐1841                                                                          First Class Mail
Chartered Organization         Plank Road North Elementary School Ptsa                  Seneca Waterways 397                     705 Plank Rd                                                  Webster, NY 14580‐2264                                                                                    First Class Mail
Chartered Organization         Plank Road South Elementary School Ptsa                  Seneca Waterways 397                     715 Plank Rd                                                  Webster, NY 14580‐2264                                                                                    First Class Mail
Chartered Organization         Plano Fire Dept                                          Circle Ten Council 571                   P.O. Box 860358                                               Plano, TX 75086‐0358                                                                                      First Class Mail
Chartered Organization         Plano Police Dept                                        Circle Ten Council 571                   909 14th St                                                   Plano, TX 75074‐5803                                                                                      First Class Mail
Chartered Organization         Plano Rotary Club                                        Circle Ten Council 571                   5204 Edgewater Ct                                             Parker, TX 75094‐3827                                                                                     First Class Mail
Chartered Organization         Plano Rotary Foundation                                  Circle Ten Council 571                   P.O. Box 864316                                               Plano, TX 75086‐4316                                                                                      First Class Mail
Chartered Organization         Plano West Rotary Club                                   Circle Ten Council 571                   3309 N Central Expy, Ste 370                                  Plano, TX 75023‐6925                                                                                      First Class Mail
Voting Party                   Plant Interscapes Inc                                    dba Natura                               Attn: Janice Marie Confer                                     6436 Babcock Rd                     San Antonio, TX 78249             arinvoicing@naturahq.com            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Plantation Elementary School Pto                         Evangeline Area 212                      1801 Kaliste Saloom Rd                                        Lafayette, LA 70508‐6113                                                                                  First Class Mail
Chartered Organization         Plantation Police Dept                                   South Florida Council 084                451 NW 70th Ter                                               Plantation, FL 33317‐2239                                                                                 First Class Mail
Voting Party                   Plantation United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Plantation Utd Methodist Church                          South Florida Council 084                1001 NW 70th Ave                                              Plantation, FL 33313‐6028                                                                                 First Class Mail
Chartered Organization         Plantersville Volunteer Fire Dept                        Tukabatchee Area Council 005             P.O. Box 22                                                   Plantersville, AL 36758‐0022                                                                              First Class Mail
Chartered Organization         Plantronics Inc                                          Silicon Valley Monterey Bay 055          345 Encinal St                                                Santa Cruz, CA 95060‐2132                                                                                 First Class Mail
Chartered Organization         Plaquemine Lions Club                                    Istrouma Area Council 211                P.O. Box 591                                                  Plaquemine, LA 70765‐0591                                                                                 First Class Mail
Chartered Organization         Platinum Minds Inc                                       Patriots Path Council 358                95 W Main St, Ste 5‐166                                       Chester, NJ 07930‐2487                                                                                    First Class Mail
Chartered Organization         Platte Canyon Community Church                           Denver Area Council 061                  P.O. Box 911                                                  Bailey, CO 80421‐0911                                                                                     First Class Mail
Voting Party                   Platte City United Methodist Church                      Attn: Robert Sefrit                      14040 Hwy N                                                   P.O. Box 2095                       Platte City, MO 64079             plattecityumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Platte Woods Utd Methodist Church                        Heart of America Council 307             7310 NW Prairie View Rd                                       Kansas City, MO 64151‐1550                                                                                First Class Mail
Chartered Organization         Platteville Fire Dept                                    Blackhawk Area 660                       275 E Main St                                                 Platteville, WI 53818‐3229                                                                                First Class Mail
Chartered Organization         Platteville Police Dept                                  Blackhawk Area 660                       P.O. Box 780                                                  Platteville, WI 53818‐0780                                                                                First Class Mail
Voting Party                   Platteville Umc                                          Attn: Linda Nelson                       P.O. Box 425                                                  Platteville, CO 80651                                                 lynnels10@gmail.com                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Platteville United Methodist Church                      Attn: Treasurer                          316 Elizabeth                                                 Platteville, CO 80651                                                 revphilvogels@gmail.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Platteville United Methodist Church                      Attn: Michael J Olds                     44 E Main St                                                  Platteville, WI 53813                                                 michaelo@kopplaw.net                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Plattsburgh Police Dept                                  Twin Rivers Council 364                  79 Margaret St                                                Plattsburgh, NY 12901‐2914                                                                                First Class Mail
Voting Party                   Plattsburgh United Methodist Church                      Attn: Maura Mcguire, Esq                 1080 Pittsford Victor Rd, Ste 200                             Pittsford, NY 14534                                                   mmcguire@morgdevo.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Plattsburgh United Methodist Church                      Attn: Bonnie Black                       127 Beekman St                                                Plattsburgh, NY 12901                                                 bonblack@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Plcca                                                    Pathway To Adventure 456                 411 Madison St                                                Maywood, IL 60153‐2136                                                                                    First Class Mail
Chartered Organization         Plea School                                              Laurel Highlands Council 527             733 South Ave                                                 Pittsburgh, PA 15221‐2939                                                                                 First Class Mail
Chartered Organization         Pleasant Gap Rotary Club                                 Juniata Valley Council 497               253 E College Ave                                             Pleasant Gap, PA 16823‐3335                                                                               First Class Mail
Voting Party                   Pleasant Gap United Methodist Church (06520)             c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pleasant Gap Utd Methodist Church                        Juniata Valley Council 497               187 S Main St                                                 Pleasant Gap, PA 16823‐3209                                                                               First Class Mail
Voting Party                   Pleasant Garden United Methodist                         c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove                                           c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove                                           3140 Pleasant Grove Rd                   Cumming, GA 30028                                                                                                                                                       First Class Mail
Voting Party                   Pleasant Grove (Charlotte)                               c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pleasant Grove Baptist Church                            Great Lakes Fsc 272                      13651 Dequindre St                                            Detroit, MI 48212‐2171                                                                                    First Class Mail
Chartered Organization         Pleasant Grove Chamber Of Commerce                       Utah National Parks 591                  242 W 200 S                                                   Pleasant Grove, UT 84062‐2651                                                                             First Class Mail
Chartered Organization         Pleasant Grove High School                               Caddo Area Council 584                   5406 Mcknight Rd                                              Texarkana, TX 75503‐0957                                                                                  First Class Mail
Chartered Organization         Pleasant Grove Isd                                       Caddo Area Council 584                   6500 Pleasant Grove Rd                                        Texarkana, TX 75503‐0837                                                                                  First Class Mail
Chartered Organization         Pleasant Grove Methodist Church                          Chattahoochee Council 091                180 Pleasant Grove Church Rd                                  Lagrange, GA 30241‐9106                                                                                   First Class Mail
Chartered Organization         Pleasant Grove Middle                                    Caddo Area Council 584                   5605 Cooks Ln                                                 Texarkana, TX 75503‐1503                                                                                  First Class Mail
Chartered Organization         Pleasant Grove Middle School                             Caddo Area Council 584                   5605 Cooks Ln                                                 Texarkana, TX 75503‐1503                                                                                  First Class Mail
Voting Party                   Pleasant Grove Of Umc Of Thomasville Inc                 c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pleasant Grove Umc                                       Northeast Georgia Council 101            3140 Pleasant Grove Rd                                        Cumming, GA 30028‐9156                                                                                    First Class Mail
Voting Party                   Pleasant Grove Umc                                       c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove Umc ‐ Dalton                              c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove Umc 2701 Cleveland Hwy, Dalton GA 30721   c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove Umc‐Indianapolis                          Attn: Treasurer                          445 E 111th St                                                Indianapolis, IN 46280                                                momscrazy@sbcglobal.net             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove United Methodist Church                   Attn: Mark Watson                        4730 Pleasant Grove Church Rd                                 Owensboro, KY 42303                                                   pleasantgroveumcky@gmail.com        Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove United Methodist Church                   Attn: Treasurer Or Pastor Rachel Gonia   542 9th Ave                                                   Pleasant Grove, AL 35127                                              pgmethodist@charter.net             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove United Methodist Church                   Attn: Patricia L Malone                  4415 Pleasant Grove Church Rd                                 Raleigh, NC 27613                                                     office@pgumc.org                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove United Methodist Church                   Charles Michael Coppock                  3606 Ashford Dr                                               Wilson, NC 27896                                                      mcoppock@nccumc.org                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove United Methodist Church                   P.O. Box 218                             Bailey, NC 27807                                                                                                                    mcoppock@nccumc.org                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove United Methodist Church                   c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove United Methodist Church                   1437 S 45Th                              Corsicana, TX 75110                                                                                                                                                     First Class Mail
Voting Party                   Pleasant Grove United Methodist Church ‐ Benton, Ky      Attn: John (Keith) Long                  16 Wadesboro Rd S                                             Benton, KY 42025                                                      rev.k.long@gmail.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove United Methodist Church (184440)          c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Grove United Methodist Church (184440)          c/o Bentz Law Firm                       Attn: Sean Bollman                                            680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pleasant Grove Utd Methodist                             Greater Alabama Council 001              452 9th Ave                                                   Pleasant Grove, AL 35127‐1319                                                                             First Class Mail
Chartered Organization         Pleasant Grove Utd Methodist Church                      Circle Ten Council 571                   P.O. Box 404                                                  Corsicana, TX 75151‐0404                                                                                  First Class Mail
Chartered Organization         Pleasant Grove Utd Methodist Church                      Northwest Georgia Council 100            2701 Cleveland Hwy                                            Dalton, GA 30721‐8162                                                                                     First Class Mail
Chartered Organization         Pleasant Grove Utd Methodist Church                      Greater Alabama Council 001              144 Concord Highland Dr                                       Hueytown, AL 35023‐1007                                                                                   First Class Mail
Chartered Organization         Pleasant Grove Utd Methodist Church                      Crossroads of America 160                445 E 111th St                                                Indianapolis, IN 46280‐1052                                                                               First Class Mail
Chartered Organization         Pleasant Grove Utd Methodist Church                      Lincoln Heritage Council 205             4730 Pleasant Grove Rd                                        Owensboro, KY 42303‐9601                                                                                  First Class Mail
Chartered Organization         Pleasant Grove Volunteer Fire Dept                       Old N State Council 070                  3847 N Nc Hwy 49                                              Burlington, NC 27217‐7879                                                                                 First Class Mail
Chartered Organization         Pleasant Hill American Legion                            Mississippi Valley Council 141 141       P.O. Box 51                                                   Pleasant Hill, IL 62366‐0051                                                                              First Class Mail
Chartered Organization         Pleasant Hill Area Cit Scouting Assoc                    Great Smoky Mountain Council 557         P.O. Box 153                                                  Pleasant Hill, TN 38578‐0153                                                                              First Class Mail
Chartered Organization         Pleasant Hill Baptist Church                             Quapaw Area Council 018                  136 Standpipe Rd                                              Hot Springs, AR 71913‐9285                                                                                First Class Mail
Chartered Organization         Pleasant Hill Christian Church                           Colonial Virginia Council 595            175 Ankum Rd                                                  Gasburg, VA 23857‐2056                                                                                    First Class Mail
Chartered Organization         Pleasant Hill Fire Co                                    New Birth of Freedom 544                 2941 Baltimore Pike                                           Hanover, PA 17331‐9632                                                                                    First Class Mail
Chartered Organization         Pleasant Hill Lions Club                                 Mt Diablo‐Silverado Council 023          541 Maureen Ln                                                Pleasant Hill, CA 94523‐2769                                                                              First Class Mail
Chartered Organization         Pleasant Hill Presbyterian Church                        Mecklenburg County Council 415           15000 York Rd                                                 Charlotte, NC 28278                                                                                       First Class Mail
Chartered Organization         Pleasant Hill Presbyterian Church (Usa)                  Northeast Georgia Council 101            P.O. Box 25                                                   Statham, GA 30666‐0001                                                                                    First Class Mail
Voting Party                   Pleasant Hill United Methodist Church                    3787 Pleasant Hill Rd                    Olive Branch, MS 38654                                                                                                              phumcms@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Hill United Methodist Church                    Attn: Susana Wheeler                     1300 Lexington                                                Pleasant Hill, MO 64080                                               office@phillumc.com                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Hill United Methodist Church                    Attn: Treasurer, Pleasant Hill Umc       10911 Reisterstown Rd                                         Owings Mills, MD 21117                                                johns.wagener@yahoo.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Hill United Methodist Church                    Attn: Andy Curtis                        2705 Cr 222                                                   Florence, AL 35633                                                    andy.curtis@umcna.org               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pleasant Hill Utd Methodist Church                       Attn: Alan Head                          Greater Alabama Council 001                                   4809 Bell Hill Rd                                                                                         First Class Mail
Chartered Organization         Pleasant Hill Utd Methodist Church                       Central N Carolina Council 416           P.O. Box 18                                                   Mc Farlan, NC 28102‐0018                                                                                  First Class Mail
Chartered Organization         Pleasant Hill Utd Methodist Church                       Choctaw Area Council 302                 5025 Zero Rd                                                  Meridian, MS 39301‐8651                                                                                   First Class Mail
Chartered Organization         Pleasant Hill Utd Methodist Church                       Heart of America Council 307             1300 Lexington Rd                                             Pleasant Hill, MO 64080‐1118                                                                              First Class Mail
Chartered Organization         Pleasant Hill Utd Methodist Church                       Jayhawk Area Council 197                 4525 NW Button Rd                                             Topeka, KS 66618‐2507                                                                                     First Class Mail
Chartered Organization         Pleasant Hill/ Hillcrest Pto                             Potawatomi Area Council 651              2200 Davidson Rd                                              Waukesha, WI 53186‐4066                                                                                   First Class Mail
Chartered Organization         Pleasant Hills Montessori School                         Northeast Georgia Council 101            2228 Pleasant Gap Cir                                         Ellijay, GA 30540‐2989                                                                                    First Class Mail
Chartered Organization         Pleasant Hills Presbyterian Church                       Laurel Highlands Council 527             199 Old Clairton Rd                                           Pleasant Hills, PA 15236‐3902                                                                             First Class Mail
Chartered Organization         Pleasant Hills Utd Methodist Church                      Lake Erie Council 440                    13200 Bagley Rd                                               Middleburg Heights, OH 44130‐6748                                                                         First Class Mail
Voting Party                   Pleasant Home Umc ‐ Gresham                              c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Hope United Methodist Church                    Attn: Rev. Bill Hargis                   4141 Hwy 83                                                   Bolivar, MO 65613                                                     billhargis60@gmail.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pleasant Hope Utd Methodist Church                       Ozark Trails Council 306                 301 W Cowden St                                               Pleasant Hope, MO 65725‐9242                                                                              First Class Mail
Chartered Organization         Pleasant Lake Utd Methodist Church                       Anthony Wayne Area 157                   1160 W Main St                                                Pleasant Lake, IN 46779‐9789                                                                              First Class Mail
Voting Party                   Pleasant Mound United Methodist Church                   Attn: Treasurer                          8301 Bruton Rd                                                Dallas, TX 75217                                                      Admin@pmupumc.org                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pleasant Mount Community Center                          Northeastern Pennsylvania Council 501    377 Great Bend Tpke                                           Pleasant Mount, PA 18453‐4580                                                                             First Class Mail
Chartered Organization         Pleasant Plains First Aid Squad                          Jersey Shore Council 341                 44 Clayton Ave                                                Toms River, NJ 08755‐3205                                                                                 First Class Mail
Chartered Organization         Pleasant Plains Volunteer Fire Dept.                     Jersey Shore Council 341                 40 Clayton Ave                                                Toms River, NJ 08755‐3205                                                                                 First Class Mail
Chartered Organization         Pleasant Prairie Fire & Rescue Assoc                     Three Harbors Council 636                9915 39th Ave                                                 Pleasant Prairie, WI 53158‐6501                                                                           First Class Mail
Chartered Organization         Pleasant Prairie Fire & Rescue Station                   Three Harbors Council 636                8044 88th Ave                                                 Pleasant Prairie, WI 53158‐2015                                                                           First Class Mail
Chartered Organization         Pleasant Prairie School Assoc                            Three Harbors Council 636                9208 Wilmot Rd                                                Pleasant Prairie, WI 53158‐2007                                                                           First Class Mail
Voting Party                   Pleasant Retreat United Methodist Church Pack 543        Attn: Richard Luna                       417 County Rd 1143                                            Tyler, TX 75704                                                       richard@pleasantretreat.org         Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pleasant Ridge Church Of Christ                          Longhorn Council 662                     6102 W Pleasant Ridge Rd                                      Arlington, TX 76016‐4307                                                                                  First Class Mail
Chartered Organization         Pleasant Ridge Elementary School Pta                     Heart of America Council 307             12235 Rosehill St                                             Overland Park, KS 66213‐4822                                                                              First Class Mail
Chartered Organization         Pleasant Ridge Montessori Pto                            Dan Beard Council, Bsa 438               5945 Montgomery Rd                                            Cincinnati, OH 45213‐1609                                                                                 First Class Mail
Chartered Organization         Pleasant Ridge Presbyterian Church                       Dan Beard Council, Bsa 438               5950 Montgomery Rd                                            Cincinnati, OH 45213‐1610                                                                                 First Class Mail
Chartered Organization         Pleasant Run Presbyterian Church                         Dan Beard Council, Bsa 438               11565 Pippin Rd                                               Cincinnati, OH 45231‐1164                                                                                 First Class Mail
Voting Party                   Pleasant Street United Methodist Church                  Pleasant St United Methodist Church      61 Pleasant St                                                Waterville, ME 04901                                                  psumc@pleasantstreetumc.com         Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Street United Methodist Church                  Thomas L. Blackstone                     61 Pleasant St                                                Waterville, ME 04901                                                  psumc@pleasantstreetumc.com         Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Street United Methodist Church                  Attn: Bernard Campbell, Esq              1 Stiles Rd, Ste 107                                          Salem, NH 03079                                                       bcampbell@beaumontandcampbell.com   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pleasant Street Utd Methodist Church                     Daniel Webster Council, Bsa 330          8 Pleasant St                                                 Salem, NH 03079‐2907                                                                                      First Class Mail
Chartered Organization         Pleasant Street Utd Methodist Church                     Pine Tree Council 218                    61 Pleasant St                                                Waterville, ME 04901‐6057                                                                                 First Class Mail
Chartered Organization         Pleasant Valley Civic Org                                Heart of America Council 307             6805 Sobbie Rd                                                Pleasant Valley, MO 64068‐9555                                                                            First Class Mail
Chartered Organization         Pleasant Valley Community Guild                          Golden Empire Council 047                4765 Pleasant Valley Grange Rd                                Placerville, CA 95667                                                                                     First Class Mail
Chartered Organization         Pleasant Valley Connection                               Blue Ridge Council 551                   510 Old Augusta Rd                                            Greenville, SC 29605‐2131                                                                                 First Class Mail
Chartered Organization         Pleasant Valley Grange 348                               Cascade Pacific Council 492              858 SE 156th Pl                                               Portland, OR 97233‐3254                                                                                   First Class Mail
Chartered Organization         Pleasant Valley Lions Club                               Quivira Council, Bsa 198                 2901 W Cornelison St                                          Wichita, KS 67203‐2030                                                                                    First Class Mail
Chartered Organization         Pleasant Valley Lions Club                               Quivira Council, Bsa 198                 3002 N Meridian Ave                                           Wichita, KS 67204                                                                                         First Class Mail
Voting Party                   Pleasant Valley Society Dba Oran Community Church        Attn: Lynn P Stearns                     8560 Cazenovia Rd                                             P.O. Box 311                        Manlius, NY 13104                 lstearnscpa@gmail.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pleasant Valley Trout & Game Club Inc                    Hudson Valley Council 374                1208 Salt Point Tpke                                          Pleasant Vly, NY 12569                                                                                    First Class Mail
Voting Party                   Pleasant Valley Umc                                      Pvumc                                    92 Martin Rd                                                  Pleasant Valley, NY 12569                                             b1n2c3a4@aol.com                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Valley United Methodist Church                  Attn: Karen Antici                       P.O. Box 181                                                  Pleasant Valley, CT 06063                                             pvumc181@gmail.com                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant Valley United Methodist Church                  Attn: Treasurer                          P.O. Box 2482                                                 Weirton, WV 26062                                                     lori.50@live.com                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Pleasant Valley Utd Methodist Church                     National Capital Area Council 082        43987 John Mosby Hwy                                          Chantilly, VA 20152‐1363                                                                                  First Class Mail
Chartered Organization         Pleasant Valley Utd Methodist Church                     Hudson Valley Council 374                92 Martin Rd                                                  Pleasant Valley, NY 12569‐7940                                                                            First Class Mail
Chartered Organization         Pleasant View Baptist Church                             Crossroads of America 160                12442 Southeastern Ave                                        Indianapolis, IN 46259‐1147                                                                               First Class Mail
Chartered Organization         Pleasant View Community Center                           Shenandoah Area Council 598              1401 Baxter Rd                                                Hedgesville, WV 25427‐5080                                                                                First Class Mail
Chartered Organization         Pleasant View Elementary School Pto                      Crossroads of America 160                2105 N Westbrook Dr                                           Muncie, IN 47304‐9691                                                                                     First Class Mail
Chartered Organization         Pleasant View Methodist Church                           Sequoyah Council 713                     18416 Lee Hwy                                                 Abingdon, VA 24210‐8002                                                                                   First Class Mail
Chartered Organization         Pleasant View School                                     Shenandoah Area Council 598              Cherry Run                                                    Berkeley Springs, WV 25411                                                                                First Class Mail
Voting Party                   Pleasant View Umc                                        Attn: Tamara L Haynes                    3338 Fisher Ridge                                             Kenna, WV 25248                                                       tammyhaynes59@gmail.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Pleasant View Umc                                        Attn: Tamara L Haynes                    4075 Stone Lick Rd                                            Kenna, WV 25248                                                       tammyhaynes59@gmail.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                            Page 304 of 442
                                                                                  Case 20-10343-LSS                                               Doc 8171                                          Filed 01/06/22                                                     Page 320 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                        Name                                                                                                      Address                                                                                                           Email                 Method of Service
Voting Party                   Pleasant View United Methodist Church                          Attn: Martha Daniel Kirby                     2621 Chruch St                                                 Pleasant View, TN 37146‐8157                                          pvumctreas@bellsouth.net         Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Pleasant View Vol Fire Dept                                    Middle Tennessee Council 560                  2425 Hwy 49 E                                                  Pleasant View, TN 37146‐7147                                                                           First Class Mail
Chartered Organization         Pleasant View Volunteer Fire Dept                              Middle Tennessee Council 560                  2425 Hwy 49 E                                                  Pleasant View, TN 37146‐7147                                                                           First Class Mail
Voting Party                   Pleasanton 1st Umc                                             Attn: Mr. Walt Franklin, Treasurer            P.O. Box 187                                                   Pleasanton, TX 78064                                                                                   First Class Mail
Chartered Organization         Pleasanton Isd Police Dept                                     Alamo Area Council 583                        801 Stadium Dr                                                 Pleasanton, TX 78064                                                                                   First Class Mail
Chartered Organization         Pleasanton Noon Lions Club                                     Alamo Area Council 583                        2107 Timberhill Dr                                             Pleasanton, TX 78064‐1539                                                                              First Class Mail
Chartered Organization         Pleasanton Noon Lions Club                                     Alamo Area Council 583                        191 North Trl                                                  Pleasanton, TX 78064‐6537                                                                              First Class Mail
Chartered Organization         Pleasanton Police Dept                                         San Francisco Bay Area Council 028            4833 Bernal Ave                                                Pleasanton, CA 94566‐1220                                                                              First Class Mail
Voting Party                   Pleasanton United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Pleasanton Utd Methodist Church                                Heart of America Council 307                  751 Main St                                                    Pleasanton, KS 66075‐8262                                                                              First Class Mail
Chartered Organization         Pleasantview Utd Methodist Church                              Buckskin 617                                  3338 Fisher Ridge Rd                                           Kenna, WV 25248                                                                                        First Class Mail
Chartered Organization         Pleasantville Elementary School Pto                            Simon Kenton Council 441                      300 W Columbus St                                              Pleasantville, OH 43148‐9535                                                                           First Class Mail
Chartered Organization         Pleasantville Police Dept                                      Jersey Shore Council 341                      18 N 1st St                                                    Pleasantville, NJ 08232‐2604                                                                           First Class Mail
Voting Party                   Pleasantville Presbyterian Church                              Attn: Pastor Debra Bronkema                   400 Bedford Rd                                                 Pleasantville, NY 10570                                               pastor@pvillepresby.org          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Pleasantville St. Paul's United Methodist Church               Attn: Jessica Rockhold Gaul                   404 E Center St                                                Melcher‐Dallas, IA 50062                                              jessrockhold@gmail.com           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Pleasantville United Methodist Church (89683)                  c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                         680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Pleasure Ridge Park High School                                Lincoln Heritage Council 205                  5901 Greenwood Rd                                              Louisville, KY 40258‐2409                                                                              First Class Mail
Voting Party                   Pleasureville United Methodist Church (184804)                 c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                         680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Plentywood Elks                                                Northern Lights Council 429                   General Delivery                                               Lester Severson                      Plentywood, MT 59254                                              First Class Mail
Chartered Organization         Plover‐Whiting Pto                                             Samoset Council, Bsa 627                      R1 Hoover Rd                                                   Plover, WI 54467                                                                                       First Class Mail
Chartered Organization         Pluckemin Presbyterian Church                                  Patriots Path Council 358                     Rr 202‐206 Box N                                               Pluckemin, NJ 07978                                                                                    First Class Mail
Voting Party                   Pluckemin Presbyterian Church                                  Maisie Tucker                                 P.O. Box                                                       Pluckemin, NJ 07978                                                   maisie.tucker@gmail.com          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Pluckemin Presbyterian Church                                  P.O. Box                                      Pluckemin, NJ 07978                                                                                                                  maisie.tucker@gmail.com          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Pluckemin Presbyterian Church                                  P.O. Box 402                                  Pluckemin, NJ 07978                                                                                                                  maisie.tucker@gmail.com          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Plum Creek Presbyterian Church                                 Laurel Highlands Council 527                  550 Center New Texas Rd                                        Pittsburgh, PA 15239‐1502                                                                              First Class Mail
Chartered Organization         Plum Grove String Academy                                      Pathway To Adventure 456                      1114 E 181st Ave                                               Lowell, IN 46356‐9526                                                                                  First Class Mail
Chartered Organization         Plumbers And Pipefitters Jatc Local 219                        Great Trail 433                               1655 Brittain Rd                                               Akron, OH 44310‐2701                                                                                   First Class Mail
Voting Party                   Plumer United Methodist Church (85776)                         c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                         680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Plumstead Township Police Dept                                 Washington Crossing Council 777               P.O. Box 283                                                   Plumsteadville, PA 18949‐0283                                                                          First Class Mail
Chartered Organization         Plumtree Schoolhouse Assoc                                     Connecticut Yankee Council Bsa 072            P.O. Box 711                                                   Bethel, CT 06801‐0711                                                                                  First Class Mail
Voting Party                   Plymouth Church Of Shaker Heights (Ucc)                        Attn: Kathryn Kundrat                         2860 Coventry Rd                                               Shaker Heights, OH 44120                                              kkundrat@plymouthchurchucc.org   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Plymouth Columbian Hau                                         Great Lakes Fsc 272                           150 Fair St                                                    Plymouth, MI 48170‐1929                                                                                First Class Mail
Chartered Organization         Plymouth Congregal Utd Ch Christ                               Three Rivers Council 578                      P.O. Box 20122                                                 Beaumont, TX 77720‐0122                                                                                First Class Mail
Chartered Organization         Plymouth Congregational Church                                 Mid Iowa Council 177                          4126 Ingersoll Ave                                             Des Moines, IA 50312‐2713                                                                              First Class Mail
Chartered Organization         Plymouth Congregational Church                                 Mayflower Council 251                         P.O. Box 2322                                                  Framingham, MA 01703‐2322                                                                              First Class Mail
Chartered Organization         Plymouth Congregational Church                                 Montana Council 315                           400 S Oakes St                                                 Helena, MT 59601‐4605                                                                                  First Class Mail
Chartered Organization         Plymouth Congregational Church                                 Greater Los Angeles Area 033                  12058 Beverly Blvd                                             Whittier, CA 90601‐2948                                                                                First Class Mail
Voting Party                   Plymouth Congregational United                                 Attn: Howard D White                          Church of Christ ‐ Eau Claire                                  402 Graham Ave, Ste 315              Eau Claire, WI 54701             hwhite@wwsattorneys.com          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Plymouth County Conservation                                   Mid‐America Council 326                       P.O. Box 1033                                                  Hinton, IA 51024‐1033                                                                                  First Class Mail
Chartered Organization         Plymouth Elks 1476 Bpoe                                        Mayflower Council 251                         52 W Long Pond Rd                                              Plymouth, MA 02360                                                                                     First Class Mail
Voting Party                   Plymouth First United Methodist Church                         Attn: Chairman                                400 N Michigan St                                              Plymouth, IN 46563                                                    office@plymouthfirstumc.org      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Plymouth Lodge 2485 Loyal Order Of Moose                       Mayflower Council 251                         601 State Rd                                                   Plymouth, MA 02360‐5197                                                                                First Class Mail
Chartered Organization         Plymouth Mens Club Of Utd Church Of                            Christ Congregational                         Connecticut Yankee Council Bsa 072                             34 W Main St                                                                                           First Class Mail
Voting Party                   Plymouth Park United Methodist Church                          Attn: Carol Jones                             1615 W Airport Fwy                                             Irving, TX 75062                                                      cjones@ppumc.org                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Plymouth Police Dept                                           Northern Star Council 250                     3400 Plymouth Blvd                                             Plymouth, MN 55447‐1448                                                                                First Class Mail
Chartered Organization         Plymouth School Parent Teacher                                 Water and Woods Council 782                   1105 W Sugnet Rd                                               Midland, MI 48640                                                                                      First Class Mail
Voting Party                   Plymouth Trinity United Methodist Church                       Attn: Jeffrey Stueve                          425 S Michigan St                                              Plymouth, IN 46563                                                    jeff.stueve@inumc.org            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Plymouth United Methodist Church                               Attn: Diane Tiffany                           334 Fairgrounds Rd                                             Plymouth, NH 03264                                                    dianetiffany1@gmail.com          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Plymouth Utd Church Of Christ                                  Sam Houston Area Council 576                  5927 Louetta Rd                                                Spring, TX 77379‐7805                                                                                  First Class Mail
Chartered Organization         Plymouth Volunteer Ambulance Corp                              Connecticut Rivers Council, Bsa 066           191 Main St                                                    Terryville, CT 06786‐6219                                                                              First Class Mail
Chartered Organization         Poage Elementary                                               Buckskin 617                                  3215 S 29th St                                                 Ashland, KY 41102‐5950                                                                                 First Class Mail
Chartered Organization         Poarch Creek Indian Tribal Police                              Gulf Coast Council 773                        6217 Jack Springs Rd                                           Atmore, AL 36502‐5005                                                                                  First Class Mail
Chartered Organization         Poasttown Pto                                                  Dan Beard Council, Bsa 438                    1380 Middletown Eaton Rd                                       Middletown, OH 45042‐1525                                                                              First Class Mail
Chartered Organization         Poca Baptist Church                                            Buckskin 617                                  130 Main St                                                    Poca, WV 25159                                                                                         First Class Mail
Chartered Organization         Poca Utd Methodist Church                                      Buckskin 617                                  112 Silver St                                                  Poca, WV 25159                                                                                         First Class Mail
Voting Party                   Pocahontas United Methodist Church                             Attn: Dennis Calaway                          400 N Thomasville Ave                                          Pocahontas, AR 72455                                                  lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Pocahontas Utd Methodist Church                                Greater St Louis Area Council 312             P.O. Box 276                                                   Pocahontas, IL 62275‐0276                                                                              First Class Mail
Chartered Organization         Pocasset Community Building                                    Cape Cod and Islands Cncl 224                 314 Barlows Landing Rd                                         Pocasset, MA 02559                                                                                     First Class Mail
Chartered Organization         Pocatello Community Charter School                             Grand Teton Council 107                       995 S Arthur Ave                                               Pocatello, ID 83204‐3400                                                                               First Class Mail
Chartered Organization         Pocomoke Elks 1624                                             Del Mar Va 081                                1929 Cedar Hall Rd                                             Pocomoke City, MD 21851‐3329                                                                           First Class Mail
Chartered Organization         Pocono Lake Utd Methodist Church                               Minsi Trails Council 502                      1188 Pa 940                                                    Pocono Lake, PA 18347                                                                                  First Class Mail
Chartered Organization         Pocono Township Volunteer Fire Co                              Minsi Trails Council 502                      114 Municipal Ln                                               Tannersville, PA 18372‐8000                                                                            First Class Mail
Chartered Organization         Pocopson School Pto                                            Chester County Council 539                    1105 Pocopson Rd                                               West Chester, PA 19382‐7049                                                                            First Class Mail
Chartered Organization         Poetry Community Christian School                              Circle Ten Council 571                        18688 Fm 986                                                   Terrell, TX 75160‐0642                                                                                 First Class Mail
Chartered Organization         Poinciana Elementary School Pta                                Gulf Stream Council 085                       1203 N Seacrest Blvd                                           Boynton Beach, FL 33435‐3018                                                                           First Class Mail
Voting Party                   Poinciana Umc                                                  c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Point Bible Church                                             Baden‐Powell Council 368                      2938 US Hwy 11                                                 Whitney Point, NY 13862                                                                                First Class Mail
Voting Party                   Point Hope United Methodist Church, Inc.                       Attn: Rev Elizabeth F Sullivan                3404 Turgot Ln                                                 Mount Pleasant, SC 29466‐6300                                         elizabeth@pointhopeumc.org       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Point Loma Rotary Club                                         San Diego Imperial Council 049                655 San Elijo St                                               San Diego, CA 92106‐3450                                                                               First Class Mail
Chartered Organization         Point Lookout Lido Fire Dept                                   Theodore Roosevelt Council 386                P.O. Box 44                                                    Point Lookout, NY 11569‐0044                                                                           First Class Mail
Voting Party                   Point Marion United Methodist Church (100361)                  c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                         680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Point Of Rocks Ruritan                                         National Capital Area Council 082             P.O. Box 135                                                   Point of Rocks, MD 21777‐0135                                                                          First Class Mail
Chartered Organization         Point Of Truth Church                                          Longhorn Council 662                          512 Celeste Dr                                                 Robinson, TX 76706‐5126                                                                                First Class Mail
Chartered Organization         Point Pleasant Boro Fire Co Station 75                         Jersey Shore Council 341                      1 Memorial Dr                                                  Point Pleasant Boro, NJ 08742                                                                          First Class Mail
Chartered Organization         Point Pleasant Borough Police Dept                             Jersey Shore Council 341                      2233 Bridge Ave                                                Point Pleasant Boro, NJ 08742‐4977                                                                     First Class Mail
Chartered Organization         Point Pleasant Presbyterian Church                             Jersey Shore Council 341                      704 Forman Ave                                                 Pt Pleasant, NJ 08742‐2902                                                                             First Class Mail
Chartered Organization         Point School Pto                                               Greater St Louis Area Council 312             6790 Telegraph Rd                                              Saint Louis, MO 63129‐5341                                                                             First Class Mail
Chartered Organization         Point Weber Assoc, Inc                                         Greater Yosemite Council 059                  3060 Canal Dr                                                  Stockton, CA 95204‐4606                                                                                First Class Mail
Voting Party                   Pointe Of Grace Lutheran Church                                5425 Harbour Pointe Blvd                      Mukilteo, WA 98275                                                                                                                   jdkjerulf@gmail.com              Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Pointer Ridge Pta                                              National Capital Area Council 082             1110 Parkington Ln                                             Bowie, MD 20716‐1718                                                                                   First Class Mail
Chartered Organization         Pojoaque Boys And Girls Club                                   Great Swest Council 412                       101 Lightning Loop A                                           Santa Fe, NM 87506‐8713                                                                                First Class Mail
Chartered Organization         Poland Presbyterian Church                                     Great Trail 433                               2 Poland Mnr                                                   Poland, OH 44514‐2057                                                                                  First Class Mail
Voting Party                   Poland United Methodist Church                                 Attn: Ken Gifford                             1940 Boardman Poland Rd                                        Poland, OH 44514‐1946                                                 ken@polandumc.org                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Polaris Sales Inc                                              P.O. Box 205446                               Dallas, TX 75320‐5446                                                                                                                                                 First Class Mail
Chartered Organization         Police Athletic League Northside                               North Florida Council 087                     2165 W 33rd St                                                 Jacksonville, FL 32209‐3636                                                                            First Class Mail
Chartered Organization         Police Athletic League W Palm Beach                            Gulf Stream Council 085                       720 N Tamarind Ave                                             West Palm Beach, FL 33401‐3844                                                                         First Class Mail
Chartered Organization         Police Athletic League Westside                                North Florida Council 087                     441 Day Ave                                                    Jacksonville, FL 32254‐4216                                                                            First Class Mail
Chartered Organization         Police Motor Patrol & Fire                                     Long Beach Area Council 032                   2245 Argonne Ave                                               Long Beach, CA 90815‐2527                                                                              First Class Mail
Chartered Organization         Police Neighborhood Resrce Ctr & Clinic                        Pathway To Adventure 456                      2272 Algonquin Pkwy                                            Rolling Meadows, IL 60008‐3602                                                                         First Class Mail
Chartered Organization         Policemans Benevolent Assoc Local 154                          Patriots Path Council 358                     P.O. Box 154                                                   Somerset, NJ 08875‐0154                                                                                First Class Mail
Chartered Organization         Policemans Benevolent Assoc Local 66                           Washington Crossing Council 777               77 Route 156                                                   Hamilton, NJ 08620                                                                                     First Class Mail
Chartered Organization         Polish National Alliance Lodge 1365                            Western Massachusetts Council 234             13 Victory St                                                  Adams, MA 01220‐1938                                                                                   First Class Mail
Chartered Organization         Polk 1 Firefighters Assoc                                      Cascade Pacific Council 492                   1800 Monmouth St                                               Independence, OR 97351‐9700                                                                            First Class Mail
Chartered Organization         Polk City Utd Methodist Church                                 Mid Iowa Council 177                          1421 W Broadway St                                             Polk City, IA 50226‐1203                                                                               First Class Mail
Chartered Organization         Polk City Utd Methodist Church                                 Mid Iowa Council 177                          1421 W Broadway St                                             Polk City, IA 50226‐1203                                                                               First Class Mail
Chartered Organization         Polk Cnty Emergency Mgt Admin                                  Cherokee Area Council 556                     P.O. Box 708                                                   Benton, TN 37307‐0708                                                                                  First Class Mail
Chartered Organization         Polk County Sheriffs Office                                    Mid Iowa Council 177                          6023 NE 14th St                                                Des Moines, IA 50313‐1206                                                                              First Class Mail
Chartered Organization         Polk County Sheriffs Office                                    Greater Tampa Bay Area 089                    1891 Jim Keene Blvd                                            Winter Haven, FL 33880‐8000                                                                            First Class Mail
Voting Party                   Polk Street United Methodist Church                            Attn: Secretary / Treasurer and / Or Pastor   1401 S Polk St                                                 Amarillo, TX 79101                                                    rmedearis@lubbocklawfirm.com     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Polkville                                                      c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Polkville Utd Methodist Church                                 Piedmont Council 420                          P.O. Box 9                                                     Polkville, NC 28136‐0009                                                                               First Class Mail
Chartered Organization         Pollans & Cohen Pc                                             Three Rivers Council 578                      470 Orleans St, Ste 810                                        Beaumont, TX 77701‐3018                                                                                First Class Mail
Voting Party                   Pollard Memorial United Methodst Church                        Attn: Pastor Stephen Rhoads                   3030 New Copeland Rd                                           Tyler, TX 75701‐7052                                                  info@pollardumc.com              Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Pollard Utd Methodist Church                                   East Texas Area Council 585                   3030 New Copeland Rd                                           Tyler, TX 75701‐7052                                                                                   First Class Mail
Chartered Organization         Pollock Utd Methodist Church                                   Louisiana Purchase Council 213                168 Airbase Rd                                                 Pollock, LA 71467‐3518                                                                                 First Class Mail
Chartered Organization         Polo Church Of The Brethren                                    Blackhawk Area 660                            302 W Webster St                                               Polo, IL 61064‐1627                                                                                    First Class Mail
Chartered Organization         Polo Lions Club                                                Blackhawk Area 660                            6149 S Oakwood Ln                                              Polo, IL 61064‐9013                                                                                    First Class Mail
Chartered Organization         Polson American Legion/Vfw                                     Montana Council 315                           423 Main St                                                    Polson, MT 59860‐2123                                                                                  First Class Mail
Chartered Organization         Polytechnic School                                             Greater Los Angeles Area 033                  1030 E California Blvd                                         Pasadena, CA 91106‐4042                                                                                First Class Mail
Chartered Organization         Pomaikai Elementary Ptsa                                       Aloha Council, Bsa 104                        4650 S Kamehameha Ave                                          Kahului, HI 96732‐4516                                                                                 First Class Mail
Chartered Organization         Pomaria Ruritan Club                                           Blue Ridge Council 551                        Pomaria, SC 29126                                                                                                                                                     First Class Mail
Chartered Organization         Pomerene Ward ‐ Lds St David Stake                             Catalina Council 011                          1350 N Pomerene Rd                                             Benson, AZ 85602‐7940                                                                                  First Class Mail
Voting Party                   Pomeroy It Solutions Sales Co, Inc                             dba Getronics                                 1020 Petersburg Rd                                             Hebron, KY 41048‐8222                                                                                  First Class Mail
Chartered Organization         Pomona High School                                             Denver Area Council 061                       8101 W Pomona Dr                                               Arvada, CO 80005‐2572                                                                                  First Class Mail
Chartered Organization         Pomona Police Dept                                             Greater Los Angeles Area 033                  1702 E 1st St                                                  Pomona, CA 91766‐2303                                                                                  First Class Mail
Chartered Organization         Pomona Unified Schools ‐ Jrotc                                 Greater Los Angeles Area 033                  475 Bangor St                                                  Pomona, CA 91767‐2443                                                                                  First Class Mail
Chartered Organization         Pompano Beach Elks Lodge 1898                                  South Florida Council 084                     710 NE 10th St                                                 Pompano Beach, FL 33060                                                                                First Class Mail
Chartered Organization         Pompey Lions Club                                              Longhouse Council 373                         P.O. Box 268                                                   Pompey, NY 13138‐0268                                                                                  First Class Mail
Chartered Organization         Pompton Lakes Elks 1895                                        Northern New Jersey Council, Bsa 333          1 Perrin Ave                                                   Pompton Lakes, NJ 07442                                                                                First Class Mail
Chartered Organization         Pompton Lakes Elk's Lodge 1895                                 Northern New Jersey Council, Bsa 333          15 Perrin Ave                                                  Pompton Lakes, NJ 07442‐1123                                                                           First Class Mail
Chartered Organization         Ponca City First Lutheran Church                               Cimarron Council 474                          1101 N 4th St                                                  Ponca City, OK 74601‐2724                                                                              First Class Mail
Chartered Organization         Ponca City Ward                                                Church of Jesus Christ Latter‐Day Saints      2408 E Hartford Ave                                            Ponca City, OK 74604‐3005                                                                              First Class Mail
Chartered Organization         Ponchatoula Rotary Club                                        Istrouma Area Council 211                     P.O. Box 763                                                   Ponchatoula, LA 70454‐0763                                                                             First Class Mail
Voting Party                   Ponciano Duran                                                 Address Redacted                                                                                                                                                                   Email Address Redacted           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Pond Branch United Methodist Church                            Drew Martin                                   1913 Pond Branch Rd                                            Gilbert, SC 29054                                                     acmartin@umcsc.org               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Pond Branch United Methodist Church                            Attn: Rev. Drew Martin                        270 Mariners Cir                                               Columbia, SC 29212                                                    acmartin@umcsc.org               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Pond Plain Improvement Assoc                                   Mayflower Council 251                         330 Pond St                                                    Weymouth, MA 02190‐1330                                                                                First Class Mail
Chartered Organization         Pond Springs Church Of Christ                                  Capitol Area Council 564                      13300 Pond Springs Rd                                          Austin, TX 78729‐7114                                                                                  First Class Mail
Chartered Organization         Ponderosa Elementary School Ptco                               Denver Area Council 061                       1885 S Lima St                                                 Aurora, CO 80012‐5138                                                                                  First Class Mail
Chartered Organization         Ponderosa Volunteer Fire Assoc Inc                             Sam Houston Area Council 576                  4362 Louetta Rd                                                Spring, TX 77388‐4411                                                                                  First Class Mail
Chartered Organization         Poneto Community Club                                          Anthony Wayne Area 157                        P.O. Box 63                                                    Poneto, IN 46781‐0063                                                                                  First Class Mail
Voting Party                   Ponoco Lake United Methodist                                   c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Ponoco Lake United Methodist                                   1188 Rte 940                                  Pocono Lake, PA                                                                                                                      erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Pontchartrain Sailing Foundation                               Istrouma Area Council 211                     1545 Lakeshore Dr                                              Mandeville, LA 70448‐6007                                                                              First Class Mail
Voting Party                   Ponte Vedra Umc, 76 S Roscoe Blvd, Ponte Vedra Beach, Fl 320   c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Ponte Vedra Utd Methodist Church                               North Florida Council 087                     76 S Roscoe Blvd                                               Ponte Vedra Beach, FL 32082‐3812                                                                       First Class Mail
Voting Party                   Pontiac First United Methodist Church                          Attn: Paul Arnold                             219 N Chicago                                                  Pontiac, IL 61764                                                     pastor@pontiacfumc.org           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Pontificia Uni Catolica De Puerto Rico                         Puerto Rico Council 661                       2250 Blvd Luis A Ferre, Ste 564                                Ponce, PR 00717‐0655                                                                                   First Class Mail
Chartered Organization         Pontificia Universidad Catolica                                Puerto Rico Council 661                       Ave Las Americas Pr‐163                                        Ponce, PR 00717                                                                                        First Class Mail
Voting Party                   Pony Express Council                                           Attn: Alan L Franks                           1704 Buckingham                                                St Joseph, MO 64506                                                   alan.franks@scouting.org         Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Pope County Law Enforcement Explorers                          Westark Area Council 016                      716 N El Paso Ave                                              Russellville, AR 72801‐3415                                                                            First Class Mail
Chartered Organization         Pope Elementary School                                         West Tennessee Area Council 559               1071 Old Humboldt Rd                                           Jackson, TN 38305‐1748                                                                                 First Class Mail
Chartered Organization         Pope John Paul Ii Catholic Elem Sch                            Chester County Council 539                    2875 Manor Rd                                                  Coatesville, PA 19320‐1209                                                                             First Class Mail
Chartered Organization         Popham Elementary Lead                                         Capitol Area Council 564                      7014 Elroy Rd                                                  Del Valle, TX 78617‐3505                                                                               First Class Mail
Chartered Organization         Poplar Creek Community Christian Church                        Three Fires Council 127                       300 Schick Rd                                                  Bartlett, IL 60103‐2078                                                                                First Class Mail
Chartered Organization         Poplar Creek Pto                                               Potawatomi Area Council 651                   17401 W Cleveland Ave                                          New Berlin, WI 53146‐2207                                                                              First Class Mail
Chartered Organization         Poplar Grove Airport                                           Wings & Wheel Museum                          5151 Orth Rd Hngr A1                                           Poplar Grove, IL 61065‐8880                                                                            First Class Mail
Chartered Organization         Poplar Grove Utd Methodist Church                              Blackhawk Area 660                            105 E Grove St                                                 Poplar Grove, IL 61065‐9048                                                                            First Class Mail
Chartered Organization         Poplar Ridge Friends Meeting                                   Old N State Council 070                       3673 Hoover Hill Rd                                            Trinity, NC 27370‐8549                                                                                 First Class Mail
Chartered Organization         Poplar Spgs Drive Utd Methodist Ch                             Choctaw Area Council 302                      3937 Poplar Springs Dr                                         Meridian, MS 39305‐3756                                                                                First Class Mail
Voting Party                   Poplar Springs Drive Baptist Church                            4032 Poplar Springs Dr                        Meridian, MS 39305                                                                                                                                                    First Class Mail
Voting Party                   Poplar Springs Drive United Methodist Church                   Attn: Cindy Lang                              P.O. Box 3333                                                  3937 Poplar Springs Dr               Meridian, MS 39305               clang60@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Poplar Springs Umc                                             c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200             Tampa, FL 33602                  ERICE@BRADLEY.COM                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Poplar Springs United Methodist Church                         Attn: Treasurer                               2601 Jennings Chapel Rd                                        Woodbine, MD 21797                                                    poplarcharge@verizon.net         Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Poplar Tent Presbyterian Church                                Central N Carolina Council 416                6841 Poplar Tent Rd                                            Concord, NC 28027‐7585                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 305 of 442
                                                                                Case 20-10343-LSS                                           Doc 8171                                             Filed 01/06/22                                                 Page 321 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                      Name                                                                                                     Address                                                                                                          Email                    Method of Service
Chartered Organization         Poplar Tree Pta                                                National Capital Area Council 082       13440 Melville Ln                                                 Chantilly, VA 20151‐2463                                                                                 First Class Mail
Chartered Organization         Poplarhead Utd Methodist Mens Group                            Pine Burr Area Council 304              23558 Old Still Rd                                                Saucier, MS 39574                                                                                        First Class Mail
Chartered Organization         Poplarville Rotary Club                                        Pine Burr Area Council 304              P.O. Box 329                                                      Poplarville, MS 39470‐0329                                                                               First Class Mail
Chartered Organization         Poquoson Ward‐Nn Stake‐Lds                                     Colonial Virginia Council 595           113 Sinclair Ln                                                   Yorktown, VA 23693‐2409                                                                                  First Class Mail
Voting Party                   Port Allegany United Methodist Church (151427)                 c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Port Angeles Lions Club                                        Chief Seattle Council 609               P.O. Box 2194                                                     Port Angeles, WA 98362‐0286                                                                              First Class Mail
Chartered Organization         Port Angeles Police Dept                                       Chief Seattle Council 609               321 E 5th St                                                      Port Angeles, WA 98362‐3206                                                                              First Class Mail
Chartered Organization         Port Angeles Rotary Club                                       Chief Seattle Council 609               P.O. Box 730                                                      Port Angeles, WA 98362‐0127                                                                              First Class Mail
Chartered Organization         Port Angeles Yacht Club                                        Chief Seattle Council 609               P.O. Box 692                                                      Port Angeles, WA 98362‐0123                                                                              First Class Mail
Voting Party                   Port Ann Wesleyan Church                                       Attn: Paul Sheets                       2856 Troxelville Rd                                               Middleburg, PA 17842                                              paulksheets@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Port Arthur Police Dept                                        Three Rivers Council 578                645 4th St                                                        Port Arthur, TX 77640‐6455                                                                               First Class Mail
Chartered Organization         Port Authority Of New York & New Jersey                        Greater New York Councils, Bsa 640      La Guardia Airport ‐ Hanger 7                                     Flushing, NY 11371                                                                                       First Class Mail
Chartered Organization         Port Authority Of Ny & Nj                                      Greater New York Councils, Bsa 640      80 Pine St                                                        New York, NY 10005‐1702                                                                                  First Class Mail
Voting Party                   Port Byron First United Methodist Church                       Attn: Judith Selover                    138 Standart Ave, Apt 245                                         Auburn, NY 13021                                                  chs37@verizon.net                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Port Carbon Firefighters Auxiliary                             Hawk Mountain Council 528               88 Washington St                                                  Port Carbon, PA 17965‐1518                                                                               First Class Mail
Voting Party                   Port Charlotte United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Port Charlotte Utd Methodist Church                            Southwest Florida Council 088           21075 Quesada Ave                                                 Port Charlotte, FL 33952‐2551                                                                            First Class Mail
Voting Party                   Port Edwards United Methodist Church                           Attn: Pastor                            411 Wisconsin River Dr                                            Port Edwards, WI 54469‐1439                                       PEUMC.office@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Port Hueneme Police Dept                                       Ventura County Council 057              250 N Ventura Rd                                                  Port Hueneme, CA 93041‐3016                                                                              First Class Mail
Voting Party                   Port Huron First United Methodist Church                       Attn: Wilson Andrew Hart                828 Lapeer Ave                                                    Port Huron, MI 48060                                              phfumc@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Port Huron Host Lions Club                                     Water and Woods Council 782             2571 Robbins Ct                                                   Port Huron, MI 48060‐7339                                                                                First Class Mail
Chartered Organization         Port Huron Masonic Lodge 58                                    Water and Woods Council 782             927 6th St                                                        Port Huron, MI 48060‐5343                                                                                First Class Mail
Chartered Organization         Port Huron Police Explorers                                    Water and Woods Council 782             100 Mcmorran Blvd                                                 Port Huron, MI 48060‐4020                                                                                First Class Mail
Chartered Organization         Port Jefferson Ems                                             Suffolk County Council Inc 404          25 Crystal Brook Hollow Rd                                        Mount Sinai, NY 11766‐1612                                                                               First Class Mail
Chartered Organization         Port Jefferson Fire Dept                                       Suffolk County Council Inc 404          115 Maple Pl                                                      Port Jefferson, NY 11777‐1632                                                                            First Class Mail
Chartered Organization         Port Monmouth Fire Co                                          Monmouth Council, Bsa 347               125 Main St                                                       Port Monmouth, NJ 07758‐1431                                                                             First Class Mail
Chartered Organization         Port Of Beaumont Navigation District                           Three Rivers Council 578                P.O. Box 2297                                                     Beaumont, TX 77704‐2297                                                                                  First Class Mail
Chartered Organization         Port Of Edmonds                                                Mount Baker Council, Bsa 606            336 Admiral Way                                                   Edmonds, WA 98020‐7214                                                                                   First Class Mail
Voting Party                   Port Orchard United Methodist                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Port Orchard Yacht Club                                        Chief Seattle Council 609               P.O. Box 3                                                        Port Orchard, WA 98366‐0003                                                                              First Class Mail
Chartered Organization         Port Republic City Council                                     Jersey Shore Council 341                143 Main St                                                       Port Republic, NJ 08241‐9760                                                                             First Class Mail
Voting Party                   Port Royal United Methodist Church (178687)                    c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Port Royal Utd Presbyterian Church                             Juniata Valley Council 497              404 Main St                                                       Port Royal, PA 17082‐9727                                                                                First Class Mail
Chartered Organization         Port Royal Yacht Club                                          Greater Los Angeles Area 033            555 N Harbor Dr                                                   Redondo Beach, CA 90277‐2075                                                                             First Class Mail
Chartered Organization         Port St Lucie Elks Lodge 2658                                  Gulf Stream Council 085                 2290 SE Lennard Rd                                                Port St Lucie, FL 34952‐6875                                                                             First Class Mail
Chartered Organization         Port St Lucie Moose                                            Gulf Stream Council 085                 101 NW Marion Ave                                                 Port St Lucie, FL 34983‐1643                                                                             First Class Mail
Chartered Organization         Port St Lucie Police Dept                                      Gulf Stream Council 085                 121 SW Port St Lucie Blvd                                         Port St Lucie, FL 34984‐5042                                                                             First Class Mail
Voting Party                   Port Vue United Methodist Church (100406)                      c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Port Vue United Methodist Church (100406)                      c/o Bentz Law Firm                      Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Port Washington Childrens Center                               Theodore Roosevelt Council 386          232 Main St                                                       Port Washington, NY 11050‐3241                                                                           First Class Mail
Chartered Organization         Port Washington Volunteer Fire Dept                            Bay‐Lakes Council 635                   104 W Washington St                                               Port Washington, WI 53074‐1830                                                                           First Class Mail
Voting Party                   Portage Chapel Hill United Methodist Church                    Attn: Lisa Drzick, Office Manager       7028 Oakland Dr                                                   Portage, MI 49024                                                 office@pchum.org                       Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Portage County Boys And Girls Club                             Samoset Council, Bsa 627                941 Michigan Ave                                                  Stevens Point, WI 54481                                                                                  First Class Mail
Voting Party                   Portage First United Methodist Church                          Attn: Kimberly Adkins                   26371 Mccool Rd                                                   Portage, IN 46368                                                 pfumc2000@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Portage First Utd Methodist Church                             Southern Shores Fsc 783                 8740 S Westnedge Ave                                              Portage, MI 49002‐6232                                                                                   First Class Mail
Voting Party                   Portage United Methodist Church                                Attn: Treasurer                         1804 New Pinery Rd                                                Portage, WI 53901‐1318                                            office.portageumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Portage United Methodist Church                                3501 E Elms Rd                          Killeen, TX 76542                                                                                                                                                          First Class Mail
Chartered Organization         Portal Pto                                                     Mid‐America Council 326                 9920 Brentwood Dr                                                 La Vista, NE 68128‐4240                                                                                  First Class Mail
Firm                           Porter Malouf Law Firm                                         Tim Porter                              825 Ridgewood Rd                                                  Ridgeland, MS 39157                                               susan@portermalouf.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Porter Utd Methodist Church                                    Lasalle Council 165                     100 E Beam St                                                     Porter, IN 46304‐1703                                                                                    First Class Mail
Voting Party                   Porter Wright Morris & Arthur, LLP                             Attn: Heather E Heberlein               950 Main Ave, Ste 500                                             Cleveland, OH 44113                                               hheberlein@porterwright.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Porterfield Memorial United Methodist Church                   Attn: Donna Carswell                    2200 Dawson Rd                                                    Albany, GA 31707                                                  dcarswell@pmumc.net                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Porter‐Gaud School                                             Coastal Carolina Council 550            300 Albemarle Rd                                                  Charleston, SC 29407‐7524                                                                                First Class Mail
Chartered Organization         Porters Chapel Utd Methodist                                   Andrew Jackson Council 303              200 Porters Chapel Rd                                             Vicksburg, MS 39180‐6296                                                                                 First Class Mail
Chartered Organization         Porterville Elks B.P.O.E                                       Sequoia Council 027                     386 N Main St                                                     Porterville, CA 93257‐3731                                                                               First Class Mail
Chartered Organization         Porterville Elks Lodge B.P.O.E.                                Sequoia Council 027                     386 N Main St                                                     Porterville, CA 93257‐3731                                                                               First Class Mail
Voting Party                   Porterville First United Methodist Church                      Attn: Jim Mcfarlin                      344 E Morton Ave                                                  Porterville, CA 93257                                             pvfumc@ocsnet.net                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Portland Community Center                                      Lincoln Heritage Council 205            640 N 27th St                                                     Louisville, KY 40212‐1168                                                                                First Class Mail
Chartered Organization         Portland Elementary School                                     Lincoln Heritage Council 205            3410 N Wern Pkwy                                                  Louisville, KY 40212                                                                                     First Class Mail
Voting Party                   Portland First United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Portland Kollel                                                Cascade Pacific Council 492             6688 SW Capitol Hwy                                               Portland, OR 97219‐1958                                                                                  First Class Mail
Chartered Organization         Portland Memorial Missionary Baptist Ch                        Lincoln Heritage Council 205            3802 W Market St                                                  Louisville, KY 40212‐2537                                                                                First Class Mail
Chartered Organization         Portland Police Dept                                           South Texas Council 577                 1902 Billy G Webb                                                 Portland, TX 78374‐3705                                                                                  First Class Mail
Voting Party                   Portland United Methodist Church                               Attn: Rev. Letisha Bowman               310 E Bridge St                                                   Portland, MI 48875                                                portlandmiumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Portland Volunteer Fire Dept                                   Connecticut Rivers Council, Bsa 066     P.O. Box 71                                                       Portland, CT 06480‐0071                                                                                  First Class Mail
Voting Party                   Portlock United Methodist Church                               Attn: Vicki Cowling, Treasurer          2615 Bainbridge Blvd                                              Chesapeake, VA 23324                                              vcowling1@cox.net                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Portola United Methodist Church                                Attn: President, Board of Trustees      396 2nd Ave                                                       Portola, CA 96122                                                 whremt@yahoo.com                       Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Portsmouth Moose Lodge 898                                     Tidewater Council 596                   1400 George Washington Hwy N                                      Chesapeake, VA 23323‐5025                                                                                First Class Mail
Chartered Organization         Portsmouth Multi‐Purpose Senior Center                         Narragansett 546                        110 Bristol Ferry Rd                                              Portsmouth, RI 02871‐1932                                                                                First Class Mail
Chartered Organization         Portsmouth Police Dept                                         Daniel Webster Council, Bsa 330         3 Junkins Ave                                                     Portsmouth, NH 03801‐4511                                                                                First Class Mail
Chartered Organization         Portsmouth Police Dept                                         Tidewater Council 596                   711 Crawford St                                                   Portsmouth, VA 23704‐3809                                                                                First Class Mail
Chartered Organization         Portsmouth Trinity Lutheran Church                             Cascade Pacific Council 492             7119 N Portsmouth Ave                                             Portland, OR 97203‐5270                                                                                  First Class Mail
Voting Party                   Portsmouth United Methodist Church                             Attn: Treasurer                         2732 E Main Rd                                                    Portsmouth, RI 02871                                              susicliff@verizon.net                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Porttownsend Police                                            Jefferson Cnty Sheriff                  1925 Blaine St, Ste 100                                           Port Townsend, WA 98368‐6330                                                                             First Class Mail
Chartered Organization         Positive Attitude Youth Center, Inc                            Old N State Council 070                 229 N Graham Hopedale Rd                                          Burlington, NC 27217‐2971                                                                                First Class Mail
Chartered Organization         Positive Every Day Cancer Fndn, Inc                            Bay‐Lakes Council 635                   601 Stone Gate Dr                                                 Kimberly, WI 54136‐2102                                                                                  First Class Mail
Chartered Organization         Positive Tomorrows                                             Last Frontier Council 480               P.O. Box 61190                                                    Oklahoma City, OK 73146‐1190                                                                             First Class Mail
Chartered Organization         Positronix Technology, Inc                                     Cherokee Area Council 469 469           120 S Wilson St, Ste B                                            Vinita, OK 74301‐3730                                                                                    First Class Mail
Voting Party                   Possible Minor Claim [702]                                     Address Redacted                                                                                                                                                            Email Address Redacted                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Post 10038 Vfw                                                 Green Mountain 592                      156 Hill St                                                       Lyndonville, VT 05851‐8910                                                                               First Class Mail
Chartered Organization         Post 1274 Vfw                                                  Mayflower Council 251                   1 Appletree Ln                                                    Natick, MA 01760‐1759                                                                                    First Class Mail
Chartered Organization         Post 216 American Legion                                       Leatherstocking 400                     903 Main St                                                       Margaretville, NY 12455                                                                                  First Class Mail
Chartered Organization         Post 274 American Legion                                       Water and Woods Council 782             849 S State St                                                    Oscoda, MI 48750‐1683                                                                                    First Class Mail
Chartered Organization         Post 4067 Vfw                                                  Montana Council 315                     P.O. Box 767                                                      Malta, MT 59538‐0767                                                                                     First Class Mail
Voting Party                   Post 67                                                        c/o American Legion Post 67             Attn: Commander                                                   151 Main St                      Newmarket, NH 03857              67post@comcast.net                     Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Post 880                                                       Pennsylvania Dutch Council 524          American Legion                                               Richland, PA 17087                                                                                           First Class Mail
Chartered Organization         Post Elementary Pto                                            Sam Houston Area Council 576            7600 Equador St                                               Jersey Village, TX 77040‐2121                                                                                First Class Mail
Chartered Organization         Post Rotary Club                                               South Plains Council 694                                                                          704 Chantilly                            Post, TX 79356                                                          First Class Mail
Chartered Organization         Post Willow Parents Club                                       Sam Houston Area Council 576            5623 Bankside Dr                                              Houston, TX 77096‐6118                                                                                       First Class Mail
Voting Party                   Postmaster                                                     Business Mail Entry Unit                2901 Scott Futrell Dr                                         Charlotte, NC 28228‐9979                                                                                     First Class Mail
Voting Party                   Postmaster                                                     Attn: Business Reply Section            P.O. Box 152091                                               Irving, TX 75015‐9998                                                                                        First Class Mail
Voting Party                   Postmaster‐Irving                                              Window Section                          P.O. Box 152091                                               Irving, TX 75015‐9998                                                                                        First Class Mail
Chartered Organization         Poston Road School Booster Club                                Hoosier Trails Council 145 145          139 E Poston Rd                                               Martinsville, IN 46151‐2846                                                                                  First Class Mail
Chartered Organization         Postville Lions Club                                           Northeast Iowa Council 178              P.O. Box 854                                                  Postville, IA 52162‐0854                                                                                     First Class Mail
Voting Party                   Potomac Umc                                                    9908 S Glen Rd                          Potomac, MD 20854                                                                                                                   pumcparish@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Potomac Utd Methodist Church                                   National Capital Area Council 082       9908 S Glen Rd                                                    Potomac, MD 20854‐4128                                                                                   First Class Mail
Chartered Organization         Potosi Fire Dept                                               Blackhawk Area 660                      210 N Main St                                                     Potosi, WI 53820‐9413                                                                                    First Class Mail
Chartered Organization         Potosi Tennyson Lions Club                                     Blackhawk Area 660                      P.O. Box 51                                                       Potosi, WI 53820‐0051                                                                                    First Class Mail
Chartered Organization         Potrero Hill Neighborhood House                                San Francisco Bay Area Council 028      953 De Haro St                                                    San Francisco, CA 94107‐2707                                                                             First Class Mail
Chartered Organization         Potter County 4H                                               Golden Spread Council 562               3301 SE 10th Ave                                                  Amarillo, TX 79104‐2603                                                                                  First Class Mail
Firm                           Potter Handy LLP                                               Mark D. Potter; Isabel Masanque         8033 Linda Vista Rd., Ste 200                                     San Diego, CA 92111                                               isabelm@potterhandy.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Potter Lions Club                                              Longs Peak Council 062                  P.O. Box 67                                                       Potter, NE 69156‐0067                                                                                    First Class Mail
Chartered Organization         Potter Pto                                                     Water and Woods Council 782             2500 N Averill Ave                                                Flint, MI 48506‐3010                                                                                     First Class Mail
Chartered Organization         Potter Twp Volunteer Fire Dept                                 Laurel Highlands Council 527            205 Frankfort Rd                                                  Monaca, PA 15061                                                                                         First Class Mail
Chartered Organization         Potter Valley Volunteer Firefighters                           Redwood Empire Council 041              P.O. Box 174                                                      Potter Valley, CA 95469‐0174                                                                             First Class Mail
Chartered Organization         Potter Valley Youth & Community Center                         Redwood Empire Council 041              P.O. Box 270                                                      Potter Valley, CA 95469                                                                                  First Class Mail
Chartered Organization         Potter‐Thomas Advisory Group                                   Cradle of Liberty Council 525           3001 N 6th St                                                     Philadelphia, PA 19133‐2824                                                                              First Class Mail
Chartered Organization         Potterville Utd Methodist Church                               Water and Woods Council 782             105 N Church St                                                   Potterville, MI 48876‐5119                                                                               First Class Mail
Voting Party                   Potts Camp United Methodist Church                             Attn: Susan Howell                      5369 Hwy 178E                                                     Potts Camp, MS 38659                                              susanh305@bellsouth.net                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Pottsboro Library Protons                                      Circle Ten Council 571                  104 N Main St                                                     Pottsboro, TX 75076‐7800                                                                                 First Class Mail
Voting Party                   Poughkeepsie United Methodist Church                           Attn: Rev Jody Spiak                    2381 New Hackensack Rd                                            Poughkeepsie, NY 12603                                            Office@pokumc.org                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Poughquag United Methodist Church                              21 Church St                            Poughquag, NY 12570                                                                                                                 poughquagumc@verizon.net               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Poultney United Methodist Church                               Attn: Susan Hardman‐Zimmerman           289 Main St                                                       Poultney, VT 05764                                                shardman‐zimmerman@susumc.org          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Pound Ridge Community Church                                   Attn: Pastor Steve Kim                  3 Pound Ridge Rd                                                  Pound Ridge, NY 10576                                             office@poundridgecommunitychurch.org   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Pound Ridge Fire District                                      Westchester Putnam 388                  P.O. Box 468                                                      Pound Ridge, NY 10576‐0468                                                                               First Class Mail
Firm                           Pourasef Law, PLCC                                             Pegah Pourasef                          2905 Sacket St                                                    Houston, TX 77098                                                 BSA@pouraseflaw.com                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Poway Elks Lodge 2543                                          San Diego Imperial Council 049          13219 Poway Rd                                                    Poway, CA 92064‐4613                                                                                     First Class Mail
Voting Party                   Powder Springs First                                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Powder Springs First Umc 4329 Marietta St, Powder Springs, G   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Powder Springs Police Explorers                                Atlanta Area Council 092                1114 Richard D Sailors Pkwy                                       Powder Springs, GA 30127‐5217                                                                            First Class Mail
Chartered Organization         Powder Springs Post 294                                        Atlanta Area Council 092                3282 Florence Rd                                                  Powder Springs, GA 30127‐3854                                                                            First Class Mail
Voting Party                   Powderly United Methodist Church                               Attn: Mark Hutchinson                   131 Cr 44060                                                      Powderly, TX 75473                                                mark_hutchinson_98@yahoo.com           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Powell (141133)                                                c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Powell County Lions Club                                       Blue Grass Council 204                  P.O. Box 145                                                      Stanton, KY 40380‐0145                                                                                   First Class Mail
Chartered Organization         Powell Hurst Community Scouts                                  Cascade Pacific Council 492             4353 Imperial Dr                                                  West Linn, OR 97068‐3624                                                                                 First Class Mail
Chartered Organization         Powell Presbyterian Church                                     Great Smoky Mountain Council 557        2910 W Emory Rd                                                   Powell, TN 37849‐4707                                                                                    First Class Mail
Voting Party                   Powell United Methodist Church                                 Attn: Treasurer                         825 E Olentangy St                                                Powell, OH 43065                                                  treasurer@powellumc.org                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Powell Utd Methodist Church                                    Five Rivers Council, Inc 375            Rr 1                                                              Monroeton, PA 18832                                                                                      First Class Mail
Chartered Organization         Powell Valley Ptia                                             Great Smoky Mountain Council 557        255 Powell Ln                                                     Speedwell, TN 37870                                                                                      First Class Mail
Chartered Organization         Power 88.1 Kcep                                                Las Vegas Area Council 328              330 W Washington Ave                                              Las Vegas, NV 89106‐3316                                                                                 First Class Mail
Firm                           Powers & Santola, LLP                                          Kelly C Wolford                         100 Great Oak Blvf, Ste 123                                       Albany, NY 12203                                                  kwolford@powers‐santola.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Powers Ferry Utd Methodist Church                              Atlanta Area Council 092                245 Powers Ferry Rd Se                                            Marietta, GA 30067‐7559                                                                                  First Class Mail
Chartered Organization         Powers Lake Sportsmens Club                                    Three Harbors Council 636               38700 87th St                                                     Burlington, WI 53105                                                                                     First Class Mail
Chartered Organization         Powers Lions Club                                              Oregon Trail Council 697                General Delivery                                                  Powers, OR 97466                                                                                         First Class Mail
Chartered Organization         Powerschool LLC                                                Minsi Trails Council 502                3 W Broad St                                                      Bethlehem, PA 18018‐5717                                                                                 First Class Mail
Chartered Organization         Powhatan Community Church                                      Heart of Virginia Council 602           4480 Anderson Hwy                                                 Powhatan, VA 23139‐5605                                                                                  First Class Mail
Voting Party                   Powhatan Umc                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Powhatan Utd Methodist Ch Mens Grp                             Heart of Virginia Council 602           2253 Rosson Rd                                                    Powhatan, VA 23139‐5716                                                                                  First Class Mail
Chartered Organization         Powhatan Utd Methodist Church                                  Heart of Virginia Council 602           2253 Rosson Rd                                                    Powhatan, VA 23139‐5716                                                                                  First Class Mail
Chartered Organization         Pow‐Mia‐Oree, Corp                                             Gulf Stream Council 085                 7534 Sally Lyn Ln                                                 Lake Worth, FL 33467‐7304                                                                                First Class Mail
Voting Party                   Pownal United Methodist Church                                 P.O. Box 4                              Pownal, VT 05261                                                                                                                    pastor@pawalumc.org                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Poynette/Dekorra Vol Fire Dept Soc Org                         Glaciers Edge Council 620               200 Water Tower Rd                                                Poynette, WI 53955                                                                                       First Class Mail
Chartered Organization         Ppl Utilities                                                  Minsi Trails Council 502                2 N 9th St                                                        Allentown, PA 18101‐1139                                                                                 First Class Mail
Voting Party                   Prague First United Methodist Church                           Attn: Teresa Tackett                    7901 Nbu                                                          Prague, OK 74864                                                  fumofprague@windstream.net             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Prairie Center Elementary Ptc                                  Heart of America Council 307            629 N Persimmon Dr                                                Olathe, KS 66061‐5918                                                                                    First Class Mail
Voting Party                   Prairie Chapel Umc, Urbana, Mo                                 Attn: Richard Sanders                   25173 Tradewinds Dr                                               Pittsburg, MO 65724                                               ricsduster@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Prairie Chapel Umc, Urbana, Mo                                 20414 US Hwy 65                         Urbana, MO 65767                                                                                                                    prairiechapelumc@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Prairie Chapel Utd Methodist Church                            Ozark Trails Council 306                Rr 1 Box 839                                                      Urbana, MO 65767                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 306 of 442
                                                                                    Case 20-10343-LSS                                                    Doc 8171                                        Filed 01/06/22                                                Page 322 of 457
                                                                                                                                                                                            Exhibit B
                                                                                                                                                                                             Service List
                                                                                                                                                                                      Served as set forth below

        Description                                                          Name                                                                                                         Address                                                                                                          Email              Method of Service
Chartered Organization         Prairie City Scouting Friends                               Mid Iowa Council 177                                    7245 S 60th Ave W                                            Colfax, IA 50054‐7884                                                                              First Class Mail
Chartered Organization         Prairie Elem Ptc                                            Evangeline Area 212                                     2910 Ambassador Caffery Pkwy Ofc                             Lafayette, LA 70506‐6756                                                                           First Class Mail
Chartered Organization         Prairie Grove Lions Club                                    Westark Area Council 016                                285 Collins Dr                                               Prairie Grove, AR 72753‐2720                                                                       First Class Mail
Chartered Organization         Prairie Grove Pto                                           Blackhawk Area 660                                      3223 Il Route 176                                            Crystal Lake, IL 60014‐2145                                                                        First Class Mail
Chartered Organization         Prairie Heights Pto                                         Hawkeye Area Council 172                                401 76th Ave Sw                                              Cedar Rapids, IA 52404‐7035                                                                        First Class Mail
Chartered Organization         Prairie Hill Consolidated P.S.A. 133                        Glaciers Edge Council 620                               14714 Willowbrook Rd                                         South Beloit, IL 61080‐9554                                                                        First Class Mail
Chartered Organization         Prairie Lane Community Club                                 3534 S 108th St                                         Omaha, NE 68144‐4910                                                                                                                                            First Class Mail
Chartered Organization         Prairie Lutheran Church                                     Northern Star Council 250                               11000 Blossom Rd                                             Eden Prairie, MN 55347‐4421                                                                        First Class Mail
Chartered Organization         Prairie Pacheco Parent Teacher Group                        Golden Empire Council 047                               P.O. Box 32                                                  Anderson, CA 96007‐0032                                                                            First Class Mail
Chartered Organization         Prairie Ridge Pto                                           Hawkeye Area Council 172                                401 76th Ave Sw                                              Cedar Rapids, IA 52404‐7035                                                                        First Class Mail
Chartered Organization         Prairie Rose School Parents/Teacher Club                    Northern Lights Council 429                             2200 Oahe Bnd                                                Bismarck, ND 58504‐3106                                                                            First Class Mail
Chartered Organization         Prairie School Home & School Assoc                          Three Fires Council 127                                 500 S Charles Ave                                            Naperville, IL 60540‐6802                                                                          First Class Mail
Chartered Organization         Prairie School Pta                                          Potawatomi Area Council 651                             1801 Center Rd                                               Waukesha, WI 53189‐7303                                                                            First Class Mail
Chartered Organization         Prairie Star Elemtary School Pto                            Heart of America Council 307                            3800 W 143rd St                                              Leawood, KS 66224‐1167                                                                             First Class Mail
Chartered Organization         Prairie View Elementary Pto                                 Greater St Louis Area Council 312                       1550 Feise Rd                                                O Fallon, MO 63368‐7346                                                                            First Class Mail
Chartered Organization         Prairie View Pto                                            Inland Nwest Council 611                                2602 W Johannsen Rd                                          Spokane, WA 99208                                                                                  First Class Mail
Voting Party                   Prairie View United Methodist Church                        Attn: Ad Board Chair                                    27181 Hwy 78                                                 Ollie, IA 52576                                                  pvumc@lisco.com                   Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Prairie View Vol Fire Fighting Assoc                        Sam Houston Area Council 576                            50 Ellen Powell St                                           Prairie View, TX 77446                                                                             First Class Mail
Chartered Organization         Prairieton Methodist Church                                 Crossroads of America 160                               P.O. Box 67                                                  Prairieton, IN 47870‐0067                                                                          First Class Mail
Voting Party                   Prairieton United Methodist Church                          Attn: Financial Secretary ‐ Michael Hunt                P.O. Box 67                                                  Prairieton, IN 47802                                             Michaelj4.5@aol.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Prairieview School Pto                                      Three Fires Council 127                                 285 Mayflower Ln                                             Bartlett, IL 60103‐2033                                                                            First Class Mail
Chartered Organization         Praise Temple Full Gospel Baptist Church                    Norwela Council 215                                     4725 Greenwood Rd                                            Shreveport, LA 71109‐5617                                                                          First Class Mail
Chartered Organization         Prater Peak, Inc                                            Grand Teton Council 107                                 P.O. Box 725                                                 Afton, WY 83110‐0725                                                                               First Class Mail
Voting Party                   Pratik Vaidya                                               c/o Boy Scouts of America                               Attn: Chase Koontz                                           1325 W Walnut Hill Ln           Irving, TX 75015                 chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Pratt Presbyterian Church                                   Quivira Council, Bsa 198                                50046 NE 10th Ave                                            Iuka, KS 67066‐9514                                                                                First Class Mail
Chartered Organization         Prattsburgh Protective Vol Fire Dept                        Five Rivers Council, Inc 375                            P.O. Box 356                                                 Prattsburgh, NY 14873‐0356                                                                         First Class Mail
Chartered Organization         Prattville Baptist Hospital                                 Tukabatchee Area Council 005                            P.O. Box 681630                                              Prattville, AL 36068‐1630                                                                          First Class Mail
Chartered Organization         Prattville Fire Dept                                        Tukabatchee Area Council 005                            201 Gin Shop Hill Rd                                         Prattville, AL 36067‐3700                                                                          First Class Mail
Chartered Organization         Prattville High School Jrotc                                Tukabatchee Area Council 005                            1315 Upper Kingston Rd                                       Prattville, AL 36067‐6850                                                                          First Class Mail
Chartered Organization         Prayer Tower C.O.G.I.C.                                     San Francisco Bay Area Council 028                      2135 47th Ave                                                Oakland, CA 94601‐4714                                                                             First Class Mail
Chartered Organization         Precious Blood Church                                       Buffalo Trace 156                                       1385 W 6th St                                                Jasper, IN 47546‐2510                                                                              First Class Mail
Chartered Organization         Precious Blood Parish                                       Connecticut Yankee Council Bsa 072                      70 Gulf St                                                   Milford, CT 06460‐4811                                                                             First Class Mail
Voting Party                   Precision Graphics                                          Attn: Julie Breazeale                                   1715 4th St                                                  Tempe, AZ 85281                                                  julie@azprecisiongraphics.com     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Precision Sets And Service Inc                              1307 Mollys Backbone Rd                                 Catawba, NC 28609‐9214                                                                                                                                          First Class Mail
Chartered Organization         Predators Archery                                           Silicon Valley Monterey Bay 055                         7350 Monterey St                                             Gilroy, CA 95020‐6935                                                                              First Class Mail
Chartered Organization         Preferred Community Services                                Heart of America Council 307                            10101 James A Reed Rd                                        Kansas City, MO 64134‐2183                                                                         First Class Mail
Chartered Organization         Pregnancy Parenthood And Beyond                             Great Lakes Fsc 272                                     20459 Woodcrest St                                           Harper Woods, MI 48225‐2077                                                                        First Class Mail
Chartered Organization         Premier Martial Arts Magnolia                               Sam Houston Area Council 576                            7395 Fm 1488 Rd                                              Magnolia, TX 77354‐4780                                                                            First Class Mail
Voting Party                   Premier Technology Group LLC                                P.O. Box 242014                                         Charlotte, NC 28224‐2014                                                                                                                                        First Class Mail
Chartered Organization         Premier Uniform Supply                                      Las Vegas Area Council 328                              10112 Aspen Rose St, Unit 101                                Las Vegas, NV 89183                                                                                First Class Mail
Voting Party                   Premier United Methodist Church                             Attn: Carol Miller                                      17 Castian Ln                                                Premier, WV 24878                                                RCAndJMiller@gmail.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Prentice Lions Club                                         Samoset Council, Bsa 627                                933 Maple St                                                 Prentice, WI 54556‐1026                                                                            First Class Mail
Chartered Organization         Presbyterian Childerens Homes & Svc                         Greater St Louis Area Council 312                       608 Pine St                                                  Farmington, MO 63640‐3020                                                                          First Class Mail
Chartered Organization         Presbyterian Christian School                               Pine Burr Area Council 304                              103 Wsf Tatum Dr                                             Hattiesburg, MS 39401‐7730                                                                         First Class Mail
Chartered Organization         Presbyterian Church                                         Twin Rivers Council 364                                 22 W High St                                                 Ballston Spa, NY 12020‐1928                                                                        First Class Mail
Chartered Organization         Presbyterian Church                                         Lasalle Council 165                                     P.O. Box 4                                                   Edwardsburg, MI 49112‐0004                                                                         First Class Mail
Chartered Organization         Presbyterian Church                                         Coronado Area Council 192                               2900 Hall St                                                 Hays, KS 67601‐1875                                                                                First Class Mail
Chartered Organization         Presbyterian Church                                         Jersey Shore Council 341                                101 Orchard St                                               Lakehurst, NJ 08733‐2900                                                                           First Class Mail
Chartered Organization         Presbyterian Church                                         Great Rivers Council 653                                400 Lakeview Rd                                              Mexico, MO 65265‐2362                                                                              First Class Mail
Chartered Organization         Presbyterian Church                                         Simon Kenton Council 441                                506 E Main St                                                Oak Hill, OH 45656‐1272                                                                            First Class Mail
Chartered Organization         Presbyterian Church                                         Abraham Lincoln Council 144                             116 E Franklin St                                            Taylorville, IL 62568‐2215                                                                         First Class Mail
Chartered Organization         Presbyterian Church (Norwood, Nj)                           Northern New Jersey Council, Bsa 333                    701 Broadway                                                 Norwood, NJ 07648‐1615                                                                             First Class Mail
Voting Party                   Presbyterian Church (Usa) In Clinton                        155 Chestnut St                                         Clinton, MA 01510                                                                                                             bkellegrew@comcast.net            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Presbyterian Church At New Providence                       Patriots Path Council 358                               1307 Springfield Ave                                         New Providence, NJ 07974‐1501                                                                      First Class Mail
Voting Party                   Presbyterian Church At Shrewsbury                           352 Sycamore Ave                                        Shrewsbury, NJ 07702                                                                                                          jdavies@taffanddavies.com         Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Presbyterian Church At Woodbury                             Garden State Council 690                                67 S Broad St                                                Woodbury, NJ 08096‐4609                                                                            First Class Mail
Voting Party                   Presbyterian Church At Woodbury                             Attn: Joseph Federici, President of Board of Trustees   67 South Broad St                                            Woodbury, NJ 08096                                               church.office@pcwoodbury.com      Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Congregation Or Society Of Rye          Rye Presbyterian Church                                 882 Boston Post Rd                                           Rye, NY 10580                                                    mrobinson@ryepc.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Presbyterian Church Of Alexandria                           Juniata Valley Council 497                              311 Shelton Ave                                              Alexandria, PA 16611                                                                               First Class Mail
Chartered Organization         Presbyterian Church Of Barrington                           Pathway To Adventure 456                                6 Brinker Rd                                                 Barrington, IL 60010‐4008                                                                          First Class Mail
Chartered Organization         Presbyterian Church Of Bloomingdale                         Greater Tampa Bay Area 089                              710 E Bloomingdale Ave                                       Brandon, FL 33511‐8150                                                                             First Class Mail
Chartered Organization         Presbyterian Church Of Buffalo                              Northern Lights Council 429                             204 Bush Ave N                                               Buffalo, ND 58011                                                                                  First Class Mail
Chartered Organization         Presbyterian Church Of Cadiz                                Ohio River Valley Council 619                           154 W Market St                                              Cadiz, OH 43907‐1134                                                                               First Class Mail
Voting Party                   Presbyterian Church Of Chatham Township                     c/o Carella Byrne Et Al                                 Attn: Carl R Woodward                                        5 Becker Farm Rd                Roseland, NJ 07068               cwoodward@carellabyrne.com        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Of Chatham Township                     c/o Carella, Byrne, Et Al                               Attn: Carl R Woodward                                        5 Becker Farm Rd                Roseland, NJ 07068               cwoodward@carellabyrne.com        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Of Chatham Township                     Attn: Ceri Gilpin                                       240 Southern Blvd                                            Chatham, NJ 07928                                                cgilpin@pcct‐nj.org               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Of Chatham Township                     Attn: Ceri Gilpin Church Administrator                  240 Southern Blvd                                            Chatham, NJ 07928                                                cgilpin@pcct‐nj.org               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Presbyterian Church Of Chatham Twshp                        Patriots Path Council 358                               240 Sern Blvd                                                Chatham, NJ 07928                                                                                  First Class Mail
Chartered Organization         Presbyterian Church Of Chestnut Hill                        Cradle of Liberty Council 525                           8855 Germantown Ave                                          Philadelphia, PA 19118‐2718                                                                        First Class Mail
Chartered Organization         Presbyterian Church Of Deep Run                             Washington Crossing Council 777                         16 Irish Meetinghouse Rd                                     Perkasie, PA 18944‐4204                                                                            First Class Mail
Chartered Organization         Presbyterian Church Of Dunmore                              Northeastern Pennsylvania Council 501                   137 Chestnut St                                              Dunmore, PA 18512‐2367                                                                             First Class Mail
Voting Party                   Presbyterian Church Of Henderson, Kentucky, Inc.            c/o Ziemer, Stayman, Weitzel & Shoulders LLP            Attn: Nick J. Cirignano                                      20 NW 1st St, 9th Fl            Evansville, IN 47708             ncirignano@zsws.com               Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Of Lakehurst                            Attn: Straffi & Straffi LLC                             670 Commons Way                                              Toms River, NJ 08755                                             bkclient@straffilaw.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Of Lakehurst                            c/o Straffi & Straffi LLC                               Attn: Daniel E Straffi, Jr                                   670 Commons Wy                  Toms River, NJ 08755             bkclient@straffilaw.com           Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Of Lakehurst                            101 Orchard St                                          Lakehurst, NJ 08733                                                                                                                                             First Class Mail
Voting Party                   Presbyterian Church Of Lakerhurst                           101 Orchard St                                          Lakehurst, NJ 08733                                                                                                                                             First Class Mail
Voting Party                   Presbyterian Church Of Lawrenceville                        2688 Main St                                            Lawrenceville, NJ 08648                                                                                                       treasurer@pclawrenceville.org     Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Presbyterian Church Of Lewistown                            Juniata Valley Council 497                              17 E 3rd St                                                  Lewistown, PA 17044‐1704                                                                           First Class Mail
Voting Party                   Presbyterian Church Of Livingston                           Attn: Ellen O'Connell Esq                               600 Parsippany Rd, Ste 204                                   Parsippany, NJ 07054                                             eoconnell@iwwt.law                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Of Livingston                           Attn: Dan Leonard Martian                               271 W Northfield                                             Livingston, NJ 07039                                             dlmartian1@aol.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Of Livingston                           Dan Leonard Martian                                     271 W Northfield                                             Livingston, NJ 07039                                             dlmartian1@aol.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Of Livingston                           Attn: Ellen O'Connell, Esq                              600 Parsippany Rd, Ste 204                                   Parsippany, NJ 07054                                             dlmartian1@aol.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Presbyterian Church Of Los Gatos                            Silicon Valley Monterey Bay 055                         16575 Shannon Rd                                             Los Gatos, CA 95032‐4631                                                                           First Class Mail
Chartered Organization         Presbyterian Church Of Madison                              Patriots Path Council 358                               19 Green Ave                                                 Madison, NJ 07940‐2521                                                                             First Class Mail
Chartered Organization         Presbyterian Church Of Marion Center                        Laurel Highlands Council 527                            112 High St                                                  Marion Center, PA 15759                                                                            First Class Mail
Chartered Organization         Presbyterian Church Of Milford                              Washington Crossing Council 777                         70 Bridge St                                                 Milford, NJ 08848‐1224                                                                             First Class Mail
Voting Party                   Presbyterian Church Of Milford                              70 Bridge St, 531                                       Milford, NJ 08848                                                                                                             ljebulock@aol.com                 Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Of Milford                              70 Bridge St, 531                                       Milford, NJ 08848                                                                                                             ljebullock@aol.com                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Of Milford                              Attn: Ellen O'Connell Esq                               600 Parsippany Rd, Ste 204                                   Parsippany, NJ 07054                                             jodyleffler@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Of Milford                              Attn: Ellen O' Connell Esq                              600 Parsippany Rd, Ste 204                                   Parsippany, NJ 07054                                             joadyleffler@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Church Of Milford                              Attn: Joanne Leffler                                    70 Bridge St, 531                                            Milford, NJ 08848                                                                                  First Class Mail
Chartered Organization         Presbyterian Church Of Morris Plains                        Patriots Path Council 358                               400 Speedwell Ave                                            Morris Plains, NJ 07950‐2102                                                                       First Class Mail
Chartered Organization         Presbyterian Church Of Muskogee                             Indian Nations Council 488                              2000 Haskell Blvd                                            Muskogee, OK 74403‐3508                                                                            First Class Mail
Chartered Organization         Presbyterian Church Of Novato                               Marin Council 035                                       710 Wilson Ave                                               Novato, CA 94947‐2929                                                                              First Class Mail
Chartered Organization         Presbyterian Church Of Palatine                             Pathway To Adventure 456                                800 E Palatine Rd                                            Palatine, IL 60074‐5550                                                                            First Class Mail
Chartered Organization         Presbyterian Church Of Palm Harbor                          Greater Tampa Bay Area 089                              2021 Nebraska Ave                                            Palm Harbor, FL 34683‐3824                                                                         First Class Mail
Chartered Organization         Presbyterian Church Of Plum Creek                           Laurel Highlands Council 527                            550 Center New Texas Rd                                      Pittsburgh, PA 15239‐1502                                                                          First Class Mail
Chartered Organization         Presbyterian Church Of The Convenant                        Del Mar Va 081                                          503 Duncan Rd                                                Wilmington, DE 19809‐2333                                                                          First Class Mail
Chartered Organization         Presbyterian Church Of The Covenant                         Orange County Council 039                               2850 Fairview Rd                                             Costa Mesa, CA 92626‐4154                                                                          First Class Mail
Chartered Organization         Presbyterian Church Of The Covenant                         Del Mar Va 081                                          503 Duncan Rd                                                Wilmington, DE 19809‐2333                                                                          First Class Mail
Chartered Organization         Presbyterian Church Of The Cross                            Mid‐America Council 326                                 1517 S 114th St                                              Omaha, NE 68144‐1705                                                                               First Class Mail
Chartered Organization         Presbyterian Church Of The Redeemer                         Northeast Georgia Council 101                           3750 Zoar Church Rd                                          Snellville, GA 30039‐6152                                                                          First Class Mail
Voting Party                   Presbyterian Church Of The Roses                            Attn: Chris Nelle                                       2500 Patio Ct                                                Santa Rosa, CA 95405                                             callowaypastorrn@gmail.com        Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Presbyterian Church Of Washington                           Greater St Louis Area Council 312                       4834 S Point Rd                                              Washington, MO 63090‐5524                                                                          First Class Mail
Chartered Organization         Presbyterian Church Of West Middlesex                       French Creek Council 532                                3082 Main St                                                 West Middlesex, PA 16159‐3612                                                                      First Class Mail
Chartered Organization         Presbyterian Church Of Wyoming                              Dan Beard Council, Bsa 438                              225 Wyoming Ave                                              Cincinnati, OH 45215‐4307                                                                          First Class Mail
Chartered Organization         Presbyterian Church St Albans                               Greater New York Councils, Bsa 640                      19004 119th Ave                                              Saint Albans, NY 11412‐3325                                                                        First Class Mail
Chartered Organization         Presbyterian Church Usa                                     Pikes Peak Council 060                                  P.O. Box 159                                                 Elbert, CO 80106‐0159                                                                              First Class Mail
Chartered Organization         Presbyterian Church‐Hebron                                  Cornhusker Council 324                                  140 N 5th St                                                 Hebron, NE 68370‐1512                                                                              First Class Mail
Chartered Organization         Presbyterian Community Church                               Theodore Roosevelt Council 386                          150 Pittsburgh Ave                                           Massapequa, NY 11758‐4641                                                                          First Class Mail
Voting Party                   Presbyterian Community Church Of The Rockies                Attn: Pastor                                            1700 Brodie Ave                                              Estes Park, CO 80517                                             office@pccrusa.org                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbyterian Community Church Of The Rockies                Attn: Pastor & Jack Boatman                             1700 Brodie Ave                                              Estes Park, CO 80517                                             office@pccrusa.org                Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Presbyterian Congregational Church                          Voyageurs Area 286                                      214 Vaughn Ave                                               Ashland, WI 54806‐1531                                                                             First Class Mail
Chartered Organization         Presbyterian Men 1St Presbyterian Ch                        Great Smoky Mountain Council 557                        601 Church St                                                Sweetwater, TN 37874‐2906                                                                          First Class Mail
Chartered Organization         Presbyterian Men Usa                                        California Inland Empire Council 045                    20700 Standing Rock Ave                                      Apple Valley, CA 92307‐3304                                                                        First Class Mail
Voting Party                   Presbytery Of Newark                                        Attn: Warren Mcneill                                    192 Broad St                                                 Bloomfield, NJ 07003                                             warren@newarkpresbytery.org       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbytery Of Newark                                        Warren Mcneill                                          192 Broad St                                                 Bloomfield, NJ 07003                                             warren@newarkpresbytery.org       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbytery Of Newark                                        Warren Mcneill                                          Presbytery of Newark                                         192 Broad St                    Bloomfield, NJ 07003             warren@newarkpresbytery.org       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Presbytery Of Newark                                        Warren Mcneill                                          Presbytery of Newark                                         192 Broad St                    Bloomfield                       warren@newarkpresbytery.org       Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Prescott Elks 330                                           Grand Canyon Council 010                                6245 E State Route 69                                        Prescott Valley, AZ 86314                                                                          First Class Mail
Chartered Organization         Prescott Evangelical Free Church                            Greater Yosemite Council 059                            3000 Prescott Rd                                             Modesto, CA 95350‐0221                                                                             First Class Mail
Chartered Organization         Prescott Fire Dept                                          Grand Canyon Council 010                                1700 W Iron Springs Rd                                       Prescott, AZ 86305‐1390                                                                            First Class Mail
Voting Party                   Prescott First United Methodist                             Attn: Vince Grimes                                      P.O. Box 745                                                 Prescott, AR 71857                                               lraines@fridayfirm.com            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Prescott Utd Methodist Church                               Grand Canyon Council 010                                505 W Gurley St                                              Prescott, AZ 86301‐3617                                                                            First Class Mail
Chartered Organization         Presentation Of Bvm Mens Club                               Northern Star Council 250                               1735 Kennard St                                              Maplewood, MN 55109‐4603                                                                           First Class Mail
Chartered Organization         Pressley Ridge School For The Deaf                          Laurel Highlands Council 527                            530 Marshall Ave                                             Pittsburgh, PA 15214‐3016                                                                          First Class Mail
Chartered Organization         Prestige Construction Group                                 Orange County Council 039                               1580 N Batavia St, Ste 3                                     Orange, CA 92867‐3503                                                                              First Class Mail
Chartered Organization         Preston City Volunteer Fire Dept 1                          Connecticut Rivers Council, Bsa 066                     318 Route 164                                                Preston, CT 06365                                                                                  First Class Mail
Chartered Organization         Preston Fire Dept                                           Illowa Council 133                                      14 N Mitchell St                                             Preston, IA 52069‐7727                                                                             First Class Mail
Chartered Organization         Preston Meadow Lutheran Church                              Circle Ten Council 571                                  6801 Coit Rd                                                 Plano, TX 75024‐5417                                                                               First Class Mail
Chartered Organization         Preston Taylor Ministries                                   Middle Tennessee Council 560                            4014 Indiana Ave                                             Nashville, TN 37209‐2430                                                                           First Class Mail
Voting Party                   Pretty Lake Trinity United Methodist Church                 Attn: Terri Jo Hinds                                    16660 St Rd 17                                               Plymouth, IN 46511                                                                                 First Class Mail
Chartered Organization         Prevention Genetics, LLC                                    Attn: Renee Binder                                      Samoset Council, Bsa 627                                     3800 S Business Park Ave                                                                           First Class Mail
Chartered Organization         Price Family Orthodontics                                   Circle Ten Council 571                                  5810 Bradley Ct                                              Frisco, TX 75035‐0639                                                                              First Class Mail
Chartered Organization         Price Tower Arts Center                                     Cherokee Area Council 469 469                           510 S Dewey Ave                                              Bartlesville, OK 74003‐3560                                                                        First Class Mail
Voting Party                   Price United Methodist Church                               Attn: Cynthia Brotherson                                315 Madison Ave                                              Price, UT 84501                                                  cbutah@emerytelcom.net            Email
                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Price United Methodist Church                               Cynthia L Brotherson                                    P.O. Box 543                                                 Price, UT 84501                                                                                    First Class Mail
Chartered Organization         Priceville Church Of Christ                                 Greater Alabama Council 001                             143 Robinson St                                              Decatur, AL 35603‐5480                                                                             First Class Mail
Chartered Organization         Pride Academy                                               Crossroads of America 160                               5615 W 22nd St                                               Indianapolis, IN 46224‐5422                                                                        First Class Mail
Chartered Organization         Pride Elementary School Pta                                 Greater Tampa Bay Area 089                              10310 Lions Den Dr                                           Tampa, FL 33647‐3382                                                                               First Class Mail
Chartered Organization         Pride Of Laguna Creek Lions Club                            Golden Empire Council 047                               P.O. Box 693                                                 Elk Grove, CA 95759‐0693                                                                           First Class Mail
Chartered Organization         Pride Of Laguna Lions Club                                  Golden Empire Council 047                               2301 Galen Dr                                                Elk Grove, CA 95758‐7114                                                                           First Class Mail
Chartered Organization         Prides Corner Congregational Church                         Pine Tree Council 218                                   235 Pride St                                                 Westbrook, ME 04092‐3675                                                                           First Class Mail
Chartered Organization         Prien Lake Elementary School Pta                            Calcasieu Area Council 209                              3741 Nelson Rd                                               Lake Charles, LA 70605‐2411                                                                        First Class Mail
Chartered Organization         Priest River Senior Center                                  Inland Nwest Council 611                                339 E Jackson Ave                                            Priest River, ID 83856                                                                             First Class Mail
Chartered Organization         Primera Iglesia Bautista De Caguas                          Puerto Rico Council 661                                 P.O. Box 6445                                                Caguas, PR 00726‐6445                                                                              First Class Mail
Chartered Organization         Primera Iglesia Bautista De Puerto Nuevo                    Puerto Rico Council 661                                 1136 Ave Jesus T Pinero                                      San Juan, PR 00921‐1722                                                                            First Class Mail
Chartered Organization         Primos Automatic Transmission                               Rio Grande Council 775                                  872 S Expressway                                             Brownsville, TX 78521                                                                              First Class Mail
Chartered Organization         Prince George County Police Dept                            Heart of Virginia Council 602                           6600 Courthouse Rd                                           Prince George, VA 23875‐2502                                                                       First Class Mail
Chartered Organization         Prince George Men'S Group                                   Coastal Carolina Council 550                            P.O. Box 674                                                 Georgetown, SC 29442‐0674                                                                          First Class Mail
Chartered Organization         Prince George's Cnty Police Distr Iii                       National Capital Area Council 082                       7600 Barlowe Rd                                              Hyattsville, MD 20785‐4122                                                                         First Class Mail
Chartered Organization         Prince Georges County 1778 Elks                             National Capital Area Council 082                       6700 Kenilworth Ave                                          Riverdale, MD 20737‐1316                                                                           First Class Mail
Chartered Organization         Prince George'S County District V                           National Capital Area Council 082                       6707 Groveton Dr                                             Clinton, MD 20735‐4040                                                                             First Class Mail
Chartered Organization         Prince Georges County Police Dept                           National Capital Area Council 082                       601 Crain Hwy                                                Upper Marlboro, MD 20774‐8791                                                                      First Class Mail
Chartered Organization         Prince George'S County Police District 1                    National Capital Area Council 082                       5000 Rhode Island Ave                                        Hyattsville, MD 20781‐2037                                                                         First Class Mail
Chartered Organization         Prince George'S Police District 6                           National Capital Area Council 082                       4321 Sellman Rd                                              Beltsville, MD 20705‐2543                                                                          First Class Mail
Chartered Organization         Prince Hall Home And School Assoc                           Cradle of Liberty Council 525                           6101 N Gratz St                                              Philadelphia, PA 19141‐1401                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                             Page 307 of 442
                                                                                  Case 20-10343-LSS                                         Doc 8171                                             Filed 01/06/22                                                     Page 323 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                        Name                                                                                                   Address                                                                                                               Email              Method of Service
Chartered Organization         Prince Of Life Lutheran Church                                 Cascade Pacific Council 492             13896 Meyers Rd                                                   Oregon City, OR 97045‐7921                                                                              First Class Mail
Chartered Organization         Prince Of Peace                                                Mayflower Council 251                   906 N Main St                                                     Brockton, MA 02301‐1650                                                                                 First Class Mail
Chartered Organization         Prince Of Peace                                                Northeastern Pennsylvania Council 501   123 W Grace St                                                    Old Forge, PA 18518‐1521                                                                                First Class Mail
Chartered Organization         Prince Of Peace Catholic Church                                Great Swest Council 412                 12500 Carmel Ave NE                                               Albuquerque, NM 87122‐1221                                                                              First Class Mail
Chartered Organization         Prince Of Peace Catholic Church                                Tidewater Council 596                   621 Cedar Rd                                                      Chesapeake, VA 23322‐8300                                                                               First Class Mail
Chartered Organization         Prince Of Peace Catholic Church                                Northeast Georgia Council 101           6439 Spout Springs Rd                                             Flowery Branch, GA 30542‐5525                                                                           First Class Mail
Chartered Organization         Prince Of Peace Catholic Church                                Sam Houston Area Council 576            19222 Sh 249                                                      Houston, TX 77070                                                                                       First Class Mail
Chartered Organization         Prince Of Peace Catholic Church                                Northeast Illinois 129                  135 S Milwaukee Ave                                               Lake Villa, IL 60046‐8550                                                                               First Class Mail
Chartered Organization         Prince Of Peace Catholic Church                                Heart of America Council 307            16000 W 143rd St                                                  Olathe, KS 66062‐2054                                                                                   First Class Mail
Chartered Organization         Prince Of Peace Catholic Church                                Blue Ridge Council 551                  1209 Brushy Creek Rd                                              Taylors, SC 29687‐4103                                                                                  First Class Mail
Chartered Organization         Prince Of Peace Catholic Church                                Blue Grass Council 204                  163 Pine Acres Ln                                                 West Liberty, KY 41472                                                                                  First Class Mail
Voting Party                   Prince Of Peace Catholic Church, Madison, Inc.                 Attn: John S Mercer                     1400 N Meridian St                                                Indianapolis, IN 46202                                                jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Prince Of Peace Catholic Community                             Circle Ten Council 571                  5100 W Plano Pkwy                                                 Plano, TX 75093‐5007                                                                                    First Class Mail
Chartered Organization         Prince Of Peace Church                                         Illowa Council 133                      P.O. Box 578                                                      Clinton, IA 52733‐0578                                                                                  First Class Mail
Chartered Organization         Prince Of Peace Church                                         Patriots Path Council 358               3320 Nj 94 N                                                      Hamburg, NJ 07419                                                                                       First Class Mail
Chartered Organization         Prince Of Peace Church                                         Bay‐Lakes Council 635                   555 Riverside Rd                                                  Marquette, MI 49855‐9559                                                                                First Class Mail
Chartered Organization         Prince Of Peace Church                                         Golden Empire Council 047               7501 Franklin Blvd                                                Sacramento, CA 95823‐3604                                                                               First Class Mail
Chartered Organization         Prince Of Peace Episcopal Church                               W.L.A.C.C. 051                          5700 Rudnick Ave                                                  Woodland Hills, CA 91367‐6238                                                                           First Class Mail
Voting Party                   Prince Of Peace Evangelical Lutheran Church                    Attn: Todd Brady                        3355 Medina Rd                                                    Medina, OH 44256                                                      tbfrith@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prince Of Peace Evangelical Lutheran Church                    Attn: Rev Michael J Scholtes            2445 Lake Minsi Dr                                                Bangor, PA 18013                                                      pastorMJS@gmail.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prince Of Peace Evangelical Lutheran Church                    Attn: Pastor Brett Ballenger            61 Nj‐70 E                                                        Marlton, NJ 08053                                                     PastorBrett@popmarlton.org        Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Orange County Council 039               1421 W Ball Rd                                                    Anaheim, CA 92802‐1711                                                                                  First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Bay‐Lakes Council 635                   2330 E Calumet St                                                 Appleton, WI 54915‐4253                                                                                 First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Minsi Trails Council 502                2445 Lake Minsi Dr                                                Bangor, PA 18013‐5418                                                                                   First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Connecticut Yankee Council Bsa 072      119 Junction Rd                                                   Brookfield, CT 06804‐2417                                                                               First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Northern Star Council 250               7217 W Broadway Ave                                               Brooklyn Park, MN 55428‐1623                                                                            First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Northern Star Council 250               13801 Fairview Dr                                                 Burnsville, MN 55337‐4520                                                                               First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Northern Star Council 250               13901 Fairview Dr                                                 Burnsville, MN 55337‐5797                                                                               First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Great Swest Council 412                 P.O. Box 1130                                                     Cedar Crest, NM 87008‐1130                                                                              First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Simon Kenton Council 441                530 Mcnaughten Rd                                                 Columbus, OH 43213‐2143                                                                                 First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Mount Baker Council, Bsa 606            9320 Meadow Way                                                   Everett, WA 98208‐2432                                                                                  First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Flint River Council 095                 257 Hwy 314                                                       Fayetteville, GA 30214‐7307                                                                             First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Greater Wyoming Council 638             203 W Flying Cir Dr                                               Gillette, WY 82716‐4847                                                                                 First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Monmouth Council, Bsa 347               434 Aldrich Rd                                                    Howell, NJ 07731‐1862                                                                                   First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Southern Shores Fsc 783                 3829 Douglas Rd                                                   Ida, MI 48140‐9714                                                                                      First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Gateway Area 624                        1411 Cedar Dr                                                     La Crescent, MN 55947‐1530                                                                              First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Potawatomi Area Council 651             W156N7149 Pilgrim Rd                                              Menomonee Falls, WI 53051                                                                               First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Grand Canyon Council 010                3641 N 56th St                                                    Phoenix, AZ 85018‐4535                                                                                  First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Washington Crossing Council 777         177 Princeton Hightstown Rd                                       Princeton Junction, NJ 08550‐1625                                                                       First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Northern Star Council 250               2561 Victoria St N                                                Roseville, MN 55113‐3410                                                                                First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Pathway To Adventure 456                930 W Higgins Rd                                                  Schaumburg, IL 60195‐3204                                                                               First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                National Capital Area Council 082       8304 Old Keene Mill Rd                                            Springfield, VA 22152‐1640                                                                              First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Jayhawk Area Council 197                3625 SW Wanamaker Rd                                              Topeka, KS 66614‐4566                                                                                   First Class Mail
Chartered Organization         Prince Of Peace Lutheran Church                                Three Fires Council 127                 2600 75th St                                                      Woodridge, IL 60517‐2852                                                                                First Class Mail
Voting Party                   Prince Of Peace Lutheran Church                                Attn: Lynn Howell                       38451 Fremont Blvd                                                Fremont, CA 94536                                                     lhowell@popfremont.org            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prince Of Peace Lutheran Church                                Attn: Brad Womble                       8604 Old Keene Mill Rd                                            Springfield, VA 22152                                                 brad.womble@poplc.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prince Of Peace Lutheran Church                                Brad Womble                             8604 Old Keene Mill Rd                                            Springfield, VA 22152                                                 brad.womble@poplc.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prince Of Peace Lutheran Church                                Attn: Brian Jarvis                      21 N Hill St                                                      La Crescent, MN 55947                                                 bjerviss@acentek.net              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prince Of Peace Lutheran Church In Marlton Nj                  Attn: Diana Anderson                    512 Main St                                                       Toms River, NJ 08753                                                  Diana@DianaAndersonEsquire.com    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Prince Of Peace Parish                                         Water and Woods Council 782             315 W Center St                                                   Linwood, MI 48634‐9217                                                                                  First Class Mail
Chartered Organization         Prince Of Peace Presbyterian Church                            Baltimore Area Council 220              1657 Crofton Pkwy                                                 Crofton, MD 21114‐2029                                                                                  First Class Mail
Voting Party                   Prince Of Peace Roman Catholic Congregation Incorporated       c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                             218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prince Of Peace Roman Catholic Congregation, Incorporated      Attn: Matthew W Oakey                   218 N Charles St, Ste 400                                         Baltimore, MD 21201                                                   moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Prince Of Peace Umc                                            Pathway To Adventure 456                1400 S Arlington Heights Rd                                       Elk Grove Village, IL 60007‐3831                                                                        First Class Mail
Voting Party                   Prince Of Peace Umc                                            6299 Token Forest Drive                 Manassas, VA 20112                                                                                                                      erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Prince Of Peace Utd Methodist Church                           National Capital Area Council 082       6299 Token Forest Dr                                              Manassas, VA 20112‐8805                                                                                 First Class Mail
Chartered Organization         Prince William County Police Dept                              National Capital Area Council 082       1 County Complex Ct                                               Woodbridge, VA 22192‐9201                                                                               First Class Mail
Chartered Organization         Princeton Alliance Church                                      Washington Crossing Council 777         20 Schalks Crossing Rd                                            Plainsboro, NJ 08536‐1613                                                                               First Class Mail
Chartered Organization         Princeton Elementary Pta                                       Greater Alabama Council 001             1425 2nd Ave W                                                    Birmingham, AL 35208‐5411                                                                               First Class Mail
Chartered Organization         Princeton Lions Club                                           Tuscarora Council 424                   P.O. Box 906                                                      Princeton, NC 27569‐0906                                                                                First Class Mail
Chartered Organization         Princeton Lions Club                                           Tuscarora Council 424                   145 Worley Rd                                                     Princeton, NC 27569‐8333                                                                                First Class Mail
Chartered Organization         Princeton Lions Club/Masonic Lodge                             W D Boyce 138                           22558 1100 North Ave                                              Princeton, IL 61356‐8563                                                                                First Class Mail
Voting Party                   Princeton Tec                                                  P.O. Box 8057                           Trenton, NJ 08650‐0057                                                                                                                                                    First Class Mail
Voting Party                   Princeton Umc                                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Princeton Utd Methodist Church                                 Northeast Georgia Council 101           2390 S Lumpkin St                                                 Athens, GA 30606‐5038                                                                                   First Class Mail
Chartered Organization         Princeton Utd Methodist Church                                 Central Minnesota 296                   112 7th Ave N                                                     Princeton, MN 55371‐1518                                                                                First Class Mail
Voting Party                   Princeton: First                                               316 S Church St                         Princeton, IL 61356                                                                                                                     revryansutton@gmail.com           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Princeton‐1St Congregal Ch Princeton                           Heart of New England Council 230        14 Mountain Rd                                                    Princeton, MA 01541‐1120                                                                                First Class Mail
Chartered Organization         Princeton‐Prince Of Peace Church                               Heart of New England Council 230        P.O. Box 305                                                      Princeton, MA 01541‐0305                                                                                First Class Mail
Chartered Organization         Princeville Masonic Lodge 360 Af & Am                          W D Boyce 138                           1528 N 2nd St                                                     Princeville, IL 61559                                                                                   First Class Mail
Firm                           Principe & Strasnick, P.C.                                     Robert M. Strasnick                     17 Lark Avenue                                                    Saugus, MA 01906                                                      rob@psbostonlaw.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Principle Academy Charter                                      Jersey Shore Council 341                25 W Black Horse Pike                                             Pleasantville, NJ 08232‐2639                                                                            First Class Mail
Chartered Organization         Prineville Church Of The Nazarene                              Crater Lake Council 491                 780 E 1st St                                                      Prineville, OR 97754‐2006                                                                               First Class Mail
Chartered Organization         Prineville Presbyterian Church                                 Crater Lake Council 491                 1771 NW Madras Hwy                                                Prineville, OR 97754‐9307                                                                               First Class Mail
Chartered Organization         Prior Lake Lions Club                                          Northern Star Council 250               16288 Main Ave SE, Ste 110                                        Prior Lake, MN 55372                                                                                    First Class Mail
Chartered Organization         Prior Lake Rotary Club                                         Northern Star Council 250               14836 Overlook Dr                                                 Savage, MN 55378‐3613                                                                                   First Class Mail
Chartered Organization         Prior Lake Vfw Post 6208                                       Northern Star Council 250               P.O. Box 116                                                      Prior Lake, MN 55372‐0116                                                                               First Class Mail
Chartered Organization         Priworth                                                       Las Vegas Area Council 328              2615 W Gary Ave, Unit 1077                                        Las Vegas, NV 89123‐6476                                                                                First Class Mail
Chartered Organization         Pro Med Sales, Inc                                             Northeast Georgia Council 101           5022 B U Bowman Dr, Ste 700                                       Buford, GA 30518‐6170                                                                                   First Class Mail
Chartered Organization         Proctors Chapel Baptist Church                                 East Carolina Council 426               2917 Old Wilson Rd                                                Rocky Mount, NC 27801‐9582                                                                              First Class Mail
Chartered Organization         Professional Case Coordination Serv LLC                        Great Swest Council 412                 P.O. Box 67261                                                    Albuquerque, NM 87193‐7261                                                                              First Class Mail
Chartered Organization         Professional Electrical Plus Svc. Inc                          Northeast Georgia Council 101           4728 Melbourne Trl                                                Flowery Branch, GA 30542‐6419                                                                           First Class Mail
Chartered Organization         Professional Plating Inc                                       Bay‐Lakes Council 635                   705 Nway Dr                                                       Brillion, WI 54110                                                                                      First Class Mail
Chartered Organization         Professional Unitarian National Services                       Cherokee Area Council 556               P.O. Box 745                                                      Cleveland, TN 37364‐0745                                                                                First Class Mail
Chartered Organization         Progress South Elementary Pto Inc                              Greater St Louis Area Council 312       201 Knaust Rd                                                     Saint Peters, MO 63376‐1717                                                                             First Class Mail
Chartered Organization         Progressive Baptist Church                                     Middle Tennessee Council 560            1419 12th Ave S                                                   Nashville, TN 37203‐4907                                                                                First Class Mail
Voting Party                   Project Aware                                                  30151 Tomas                             Rancho Santa Margarita, CA 92688‐2125                                                                                                                                     First Class Mail
Chartered Organization         Project Extreme                                                Theodore Roosevelt Council 386          335 Central Ave, Ste 2                                            Lawrence, NY 11559‐1621                                                                                 First Class Mail
Chartered Organization         Project Focus King Elementary School                           President Gerald R Ford 781             55 E Sherman Blvd                                                 Muskegon Hts, MI 49444‐1562                                                                             First Class Mail
Chartered Organization         Project Omega LLC                                              Garden State Council 690                133 South Ave                                                     Mount Holly, NJ 08060‐2065                                                                              First Class Mail
Chartered Organization         Project Reflect                                                Middle Tennessee Council 560            730 Neelys Bend Rd                                                Madison, TN 37115‐4927                                                                                  First Class Mail
Chartered Organization         Project Sail Inc & Ch, Incarnation                             Greater New York Councils, Bsa 640      209 Madison Ave                                                   New York, NY 10016‐3814                                                                                 First Class Mail
Chartered Organization         Project Sole                                                   Circle Ten Council 571                  3304 Towerwood Dr                                                 Farmers Branch, TX 75234‐2317                                                                           First Class Mail
Chartered Organization         Project Solutions Bresson Boy&Girls Club                       Nevada Area Council 329                 1090 Bresson Ave                                                  Reno, NV 89502‐2625                                                                                     First Class Mail
Chartered Organization         Project Specialist Of Pr Inc                                   Puerto Rico Council 661                 P.O. Box 7222                                                     Ponce, PR 00732‐7222                                                                                    First Class Mail
Chartered Organization         Project T.O.O.U.R. Inc                                         Baltimore Area Council 220              2320 Annapolis Rd                                                 Baltimore, MD 21230‐3102                                                                                First Class Mail
Chartered Organization         Promedica Health Systems                                       Erie Shores Council 460                 1801 Richards Rd                                                  Toledo, OH 43607‐1037                                                                                   First Class Mail
Chartered Organization         Promise Academy Pto                                            Chickasaw Council 558                   1346 Bryan St                                                     Memphis, TN 38108‐2401                                                                                  First Class Mail
Chartered Organization         Promised Lan Digital Services                                  Longhorn Council 662                    3302 Lake Travis Ave                                              Killeen, TX 76543‐3707                                                                                  First Class Mail
Chartered Organization         Promotion Of Eagle Scouts Team 631                             Heart of America Council 307            4308 E 109th Ter                                                  Kansas City, MO 64137‐2017                                                                              First Class Mail
Chartered Organization         Pronto Of Long Island Inc                                      Suffolk County Council Inc 404          128 Pine Aire Dr                                                  Bay Shore, NY 11706‐1109                                                                                First Class Mail
Chartered Organization         Propel Braddock Hills                                          Laurel Highlands Council 527            3447 E Carson St                                                  Pittsburgh, PA 15203‐2150                                                                               First Class Mail
Chartered Organization         Propel Mckeesport School Council Cmt                           Laurel Highlands Council 527            2412 Versailles Ave                                               Mckeesport, PA 15132‐2037                                                                               First Class Mail
Chartered Organization         Propel Schools Homestead                                       Laurel Highlands Council 527            129 E 10th Ave                                                    Homestead, PA 15120‐1608                                                                                First Class Mail
Chartered Organization         Propel‐Hazelwood                                               Laurel Highlands Council 527            5401 Glenwood Ave                                                 Pittsburgh, PA 15207‐1847                                                                               First Class Mail
Chartered Organization         Propeller Club Of Tacoma                                       Pacific Harbors Council, Bsa 612        P.O. Box 453                                                      Tacoma, WA 98401‐0453                                                                                   First Class Mail
Chartered Organization         Propeller Club Port Of                                         Chief Seattle Council 609               100 W Harrison St, Ste S560                                       Seattle, WA 98119‐4162                                                                                  First Class Mail
Chartered Organization         Prophet Elias Greek Orthodox Church                            Great Salt Lake Council 590             5335 S Highland Dr                                                Salt Lake City, UT 84117‐7633                                                                           First Class Mail
Chartered Organization         Prophetstown Post 522 American Legion                          Blackhawk Area 660                      P.O. Box 34                                                       Prophetstown, IL 61277‐0034                                                                             First Class Mail
Voting Party                   Propst Memorial/Methodist Church                               Attn: Tommy Webb                        253 Martha St                                                     P.O. Box 87                         Millport, AL 35576                twebb68@frontiernet.net           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Propst Utd Methodist Church                                    Black Warrior Council 006               P.O. Box 215                                                      Millport, AL 35576‐0215                                                                                 First Class Mail
Chartered Organization         Prospect Baptist Church                                        Middle Tennessee Council 560            32 Prospect Rd                                                    Fayetteville, TN 37334‐6755                                                                             First Class Mail
Voting Party                   Prospect Harbor Umc                                            Attn: Jeffrey Jeude                     174 Paul Bunyan Rd                                                P.O. Box 130                        Corea, ME 04624                   emmaus117@gmail.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect Heights: Central Korean                               Attn: Jin‐Ho Hong                       203 E Camp Mcdonald Rd                                            Prospect Heights, IL 60070                                            hjhjlm66@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Prospect Presbyterian Church                                   Northern New Jersey Council, Bsa 333    646 Prospect St                                                   Maplewood, NJ 07040‐2720                                                                                First Class Mail
Chartered Organization         Prospect Presbyterian Church                                   Piedmont Council 420                    9425 W Nc 152 Hwy                                                 Mooresville, NC 28115‐4245                                                                              First Class Mail
Voting Party                   Prospect Presbyterian Church                                   Attn: Richard Boyer                     646 Prospect St                                                   Maplewood, NJ 07040‐2720                                              rick@prospectchurch.org           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect Presbyterian Church                                   Attn: Richard D Boyer                   646 Prospect St                                                   Maplewood, NJ 07040‐2720                                              office@prospectchurch.org         Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect Presbyterian Church                                   Attn: Ellen O'Connell                   600 Parsippany Rd, Ste 204                                        Parsippany, NJ 07054                                                  eoconnell@iwwt.law                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect Presbyterian Church                                   Attn: Ellen O'Connell Esq               600 Parsippany Rd, Ste 204                                        Parsippany, NJ 07054                                                  econnell@iwwt.law                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect Ridge Aviation, Inc.                                  Attn: Alan R Bormuth                    3051 Port St                                                      Morganton, NC 28655                                                   al@bormuth.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Prospect Street Utd Methodist Church                           Buckeye Council 436                     185 S Prospect St                                                 Marion, OH 43302‐3955                                                                                   First Class Mail
Voting Party                   Prospect Umc                                                   Attn: Christopher Wilson                P.O. Box 569                                                      Bristol, CT 06011                                                     cwilson@cvmco.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect Umc                                                   707 Prospect Rd                         Prospect, VA 23960                                                                                                                                                        First Class Mail
Voting Party                   Prospect Umc ‐ Covington                                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect Umc 6752 N Hwy 212 Covington, GA 30016                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect UMC 707 Prospect Rd, Prospect, VA 23960               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect United Methodist Church                               Attn: Nancy R Adams                     508 Gilland Ave                                                   Kingstree, SC 29556                                                   nradams@umcsc.org                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect United Methodist Church                               Attn: Bobby Brewer                      P.O. Box 58                                                       Yanceyville, NC 27379                                                 bonniebrewer@hotmail.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect United Methodist Church                               Attn: Allison Delargy Lancaster         2772 US Hwy 158 W                                                 P.O. Box 277                        Yanceyville, NC 27379             alancaster@nccumc.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect United Methodist Church                               P.O. Box 277                            Yanceyville, NC 27379                                                                                                                   alancaster@nccumc.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect United Methodist Church 800 Lincoln, Prospect Park    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect United Methodist Church 800 Lincoln, Prospect Park    800 Lincoln Ave                         Prospect Park, PA 19076                                                                                                                                                   First Class Mail
Voting Party                   Prospect United Methodist Church, Dunlap, Il 61525             Attn: Treasurer                         300 E Ash St                                                      Dunlap, IL 61525                                                      rev.lindavonck@gmail.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Prospect United Methodist Church, Dunlap, Il 61525             Rev Linda Carol Vonck                   300 E Ash St                                                      P.O. Box 98                         Dunlap, IL 61525                  rev.lindavonck@gmail.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Prospect Utd Cumberland Presbyterian Ch                        Cherokee Area Council 556               310 New Murraytown Rd NW                                          Cleveland, TN 37312‐2440                                                                                First Class Mail
Chartered Organization         Prospect Utd Methodist Church                                  Northeast Georgia Council 101           1549 Prospect Rd                                                  Lawrenceville, GA 30043‐2838                                                                            First Class Mail
Chartered Organization         Prospect Utd Methodsit Church                                  W D Boyce 138                           300 E Ash St                                                      Dunlap, IL 61525‐8009                                                                                   First Class Mail
Voting Party                   Prosper United Methodist Church                                Attn: Jason Mcconnel,L Sr Pastor        205 S Pavin St                                                    Prosper, TX 75078                                                     office@prosperumc.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Prosper Utd Methodist Church                                   Circle Ten Council 571                  205 S Church St                                                   Prosper, TX 75078‐2922                                                                                  First Class Mail
Voting Party                   Prosperity Avenue Baptist Church                               Attn: Hagop T Bedoyan                   1781 E Prosperity Ave                                             Tulare, CA 93274                                                      glennrichone@sbcglobal.net        Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Protection One Alarm Monitoring, Inc                           P.O. Box 219044                         Kansas City, MO 64121‐9044                                                                                                                                                First Class Mail
Chartered Organization         Protective Hose Co                                             Greater Niagara Frontier Council 380    5423 Broadway St                                                  Lancaster, NY 14086‐2148                                                                                First Class Mail
Chartered Organization         Protestant Advisory Council (Pac)                              Transatlantic Council, Bsa 802          Psc 50 Box 254                                                    Apo, AE 09494‐0003                                                                                      First Class Mail
Chartered Organization         Protestant Chapel Parish                                       c/o National Guard Training Site        Pennsylvania Dutch Council 524                                    Fort Indiantown Gap                 Annville, PA 17003                                                  First Class Mail
Voting Party                   Protestant Episcopal Church In The Diocese Of Alabama          c/o Diocese of Alabama                  Attn: Rev Rob Morpeth                                             521 N 20th St                       Birmingham, AL 35203              rmorpeth@dioala.org               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Protestant Episcopal Diocese Of Newark And The Trustees Of E   Attn: John C Garde                      100 Mulberry St                                                   4 Gateway Ctr                       Newark, NJ 07102                  jgarde@mccarter.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Protestant Episcopal Diocese Of Newark And The Trustees Of E   Attn: John C Garde                      100 Mulberry St                                                   Four Gateway Center                 Newark, NJ 07102                  jgarde@mccarter.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Protestant Episcopal Parish Of The Church Of The Savior        c/o Ragghianti Freitas LLP              Attn: Michael O Glass Esq                                         1101 5th Ave, Ste 100               San Rafael, CA 94901              mglass@rflawllp.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Protestant Parish Advisory Council                             Transatlantic Council, Bsa 802          Psc 50 Box 533                                                    Apo, AE 09494‐0006                                                                                      First Class Mail
Chartered Organization         Prove Ministries                                               Mecklenburg County Council 415          6400 Deep Forest Ln                                               Charlotte, NC 28214‐2104                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 308 of 442
                                                                                 Case 20-10343-LSS                                     Doc 8171                                        Filed 01/06/22                                                    Page 324 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                       Name                                                                                          Address                                                                                                             Email              Method of Service
Chartered Organization         Provena St Joseph                                        Blackhawk Area 660                       659 E Jefferson St                                           Freeport, IL 61032‐6027                                                                               First Class Mail
Chartered Organization         Provide Care Inc                                         Northern Star Council 250                5842 Old Main St, Ste 1                                      North Branch, MN 55056‐6698                                                                           First Class Mail
Chartered Organization         Providence Career & Technical Academy                    Narragansett 546                         41 Fricker St                                                Providence, RI 02903‐4035                                                                             First Class Mail
Chartered Organization         Providence Christian Church                              Blue Grass Council 204                   101 Providence Way                                           Nicholasville, KY 40356‐8092                                                                          First Class Mail
Chartered Organization         Providence Church                                        Three Rivers Council 578                 5315 N Twin City Hwy                                         Nederland, TX 77627‐3156                                                                              First Class Mail
Chartered Organization         Providence Fire And Rescue                               Old N State Council 070                  P.O. Box 93                                                  Providence, NC 27315‐0093                                                                             First Class Mail
Chartered Organization         Providence General Baptist Church                        Middle Tennessee Council 560             1100 Keen Hollow Rd                                          Westmoreland, TN 37186‐5322                                                                           First Class Mail
Chartered Organization         Providence Home Owners Assoc                             Longhorn Council 662                     809 Oakcrest Dr                                              Providence Village, TX 76227‐7493                                                                     First Class Mail
Chartered Organization         Providence Lutheran Church                               Erie Shores Council 460                  8131 Airport Hwy                                             Holland, OH 43528‐8646                                                                                First Class Mail
Chartered Organization         Providence Montessori                                    Blue Grass Council 204                   1209 Texaco Rd                                               Lexington, KY 40508‐2026                                                                              First Class Mail
Chartered Organization         Providence Montessori Academy                            Trapper Trails 589                       1070 E 5425 S                                                South Ogden, UT 84403‐5190                                                                            First Class Mail
Chartered Organization         Providence Park Baptist Church                           Heart of Virginia Council 602            468 E Ladies Mile Rd                                         Richmond, VA 23222‐2102                                                                               First Class Mail
Chartered Organization         Providence Place                                         New Birth of Freedom 544                 3377 Fox Run Rd                                              Dover, PA 17315‐3705                                                                                  First Class Mail
Chartered Organization         Providence Police Dept                                   Narragansett 546                         325 Washington St                                            Providence, RI 02903‐3503                                                                             First Class Mail
Chartered Organization         Providence Presbyterian Church                           Tuscarora Council 424                    14664 Nc 210 Hwy                                             Angier, NC 27501‐7157                                                                                 First Class Mail
Chartered Organization         Providence Presbyterian Church                           Mecklenburg County Council 415           10140 Providence Church Ln                                   Charlotte, NC 28277‐9722                                                                              First Class Mail
Chartered Organization         Providence Presbyterian Church                           Heart of Virginia Council 602            3388 Three Chopt Rd                                          Gum Spring, VA 23065‐2111                                                                             First Class Mail
Chartered Organization         Providence Presbyterian Church                           Mobile Area Council‐Bsa 004              2320 Schillinger Rd S                                        Mobile, AL 36695‐4177                                                                                 First Class Mail
Chartered Organization         Providence Presbyterian Church                           Tidewater Council 596                    5497 Providence Rd                                           Virginia Beach, VA 23464‐4124                                                                         First Class Mail
Chartered Organization         Providence Presbyterian Church                           Indian Waters Council 553                1112 Hummingbird Dr                                          West Columbia, SC 29169‐6025                                                                          First Class Mail
Voting Party                   Providence Presbyterian Church                           Attn: Lewis Clapp                        4000 Hwy 153                                                 Greenville, SC 29611                                                 minister@providence‐church.com   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Providence Presbytery ‐ Bethelwoods Camp                 Palmetto Council 549                     922 Mt Gallant Rd W                                          York, SC 29745‐7475                                                                                   First Class Mail
Chartered Organization         Providence Towers                                        Circle Ten Council 571                   1853 W Mockingbird Ln                                        Dallas, TX 75235‐5076                                                                                 First Class Mail
Voting Party                   Providence Umc                                           c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Providence Umc, 592 Bernhard Rd                          c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Providence United Methodist Church                       Attn: Jason Toves                        7300 Providence Church Rd                                    Morris, AL 35116                                                     thomaspaula1234@gmail.com        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Providence United Methodist Church                       202 Providence Church Rd                 Goldsboro, NC 27530                                                                                                               PUMC_GOLDSBORO@ATT.NET           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Providence United Methodist Church                       Attn: Peggy Garland                      P.O. Box 905                                                 Montross, VA 22520                                                   peggy.garland3@gmail.com         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Providence United Methodist Church                       Attn: Bob Hartley                        1318 Providence Rd                                           Towson, MD 21286                                                     pastornickbufano@gmail.com       Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Providence United Methodist Church                       Attn: Kevin Robert Maze                  11929 Clayton Ct                                             Monrovia, MD 21770                                                   kevinmaze@msn.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Providence United Methodist Church                       Attn: Trustees                           P.O. Box 913                                                 Montross, VA 22520                                                   davidlagerveld@vaumc.org         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Providence United Methodist Church                       Attn: Cindee Sadtler, Church Treasurer   3716 Kemptown Church Rd                                      Monrovia, MD 21770                                                   cbs5476@comcast.net              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Providence United Methodist Church ‐ Charlotte           c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Providence Utd Methodist Church                          Mecklenburg County Council 415           2810 Providence Rd                                           Charlotte, NC 28211‐2243                                                                              First Class Mail
Chartered Organization         Providence Utd Methodist Church                          Flint River Council 095                  592 Bernhard Rd                                              Fayetteville, GA 30215‐2932                                                                           First Class Mail
Chartered Organization         Providence Utd Methodist Church                          Heart of Virginia Council 602            P.O. Box 118                                                 Quinton, VA 23141‐0118                                                                                First Class Mail
Chartered Organization         Providence Utd Methodist Church                          Heart of Virginia Council 602            901 S Providence Rd                                          Richmond District                                                                                     First Class Mail
Chartered Organization         Providence Utd Methodist Church                          Mobile Area Council‐Bsa 004              P.O. Box 7890                                                Spanish Fort, AL 36577‐7890                                                                           First Class Mail
Chartered Organization         Providence Utd Methodist Church                          Colonial Virginia Council 595            113 Old Dare Rd                                              Yorktown, VA 23692‐2912                                                                               First Class Mail
Chartered Organization         Providence Wesleyan Church                               Old N State Council 070                  155 E Fairfield Rd                                           High Point, NC 27263                                                                                  First Class Mail
Chartered Organization         Provident Bryan Hill Elementary School                   Greater St Louis Area Council 312        2650 Olive St                                                Saint Louis, MO 63103‐1424                                                                            First Class Mail
Chartered Organization         Provident‐Jefferson Elementary School                    Greater St Louis Area Council 312        2650 Olive St                                                Saint Louis, MO 63103‐1424                                                                            First Class Mail
Chartered Organization         Provine High School                                      Andrew Jackson Council 303               2400 Robinson St                                             Jackson, MS 39209‐7019                                                                                First Class Mail
Chartered Organization         Provo Elks Lodge                                         Utah National Parks 591                  1000 S University Ave                                        Provo, UT 84601‐5911                                                                                  First Class Mail
Chartered Organization         Provo Engineering                                        Orange County Council 039                22931 Savi Ranch Pkwy                                        Yorba Linda, CA 92887‐4640                                                                            First Class Mail
Chartered Organization         Provo Police Dept                                        Utah National Parks 591                  48 S 300 W                                                   Provo, UT 84601‐4362                                                                                  First Class Mail
Chartered Organization         Prudence Ward ‐ Lds Tucson East Stake                    Catalina Council 011                     6901 E Kenyon Dr                                             Tucson, AZ 85710‐4711                                                                                 First Class Mail
Voting Party                   Pruitt And Debourbon Law Firm                            James Michael Pruitt                     P.O. Box 339                                                 Pikeville, KY 41502                                                  pfirm@bellsouth.net              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Ps 106 Parkchester School Sr                             Greater New York Councils, Bsa 640       2120 St Raymonds Ave                                         Bronx, NY 10462‐7100                                                                                  First Class Mail
Chartered Organization         Ps 123Q Pta                                              Greater New York Councils, Bsa 640       14501 119th Ave                                              South Ozone Park, NY 11436‐1515                                                                       First Class Mail
Chartered Organization         Ps 128‐M The Audobon School Sr                           Greater New York Councils, Bsa 640       560 W 169th St                                               New York, NY 10032‐3913                                                                               First Class Mail
Chartered Organization         Ps 13 Clemente C Moore ‐ Sr                              Greater New York Councils, Bsa 640       5501 94th St                                                 Elmhurst, NY 11373‐4635                                                                               First Class Mail
Chartered Organization         Ps 135 The Sheldon A Bookner School Sr                   Greater New York Councils, Bsa 640       684 Linden Blvd                                              Brooklyn, NY 11203‐3214                                                                               First Class Mail
Chartered Organization         Ps 138 ‐ Sr                                              Greater New York Councils, Bsa 640       760 Prospect Pl                                              Brooklyn, NY 11216‐3602                                                                               First Class Mail
Chartered Organization         Ps 14 Fairview Sr                                        Greater New York Councils, Bsa 640       10701 Otis Ave                                               Corona, NY 11368‐3915                                                                                 First Class Mail
Chartered Organization         Ps 161 The Crown School Sr                               Greater New York Councils, Bsa 640       330 Crown St                                                 Brooklyn, NY 11225‐3004                                                                               First Class Mail
Chartered Organization         Ps 170 Esteban Vicente ‐ Sr                              Greater New York Councils, Bsa 640       1598 Townsend Ave                                            Bronx, NY 10452‐5904                                                                                  First Class Mail
Chartered Organization         Ps 18 John Peter Zengler School Sr                       Greater New York Councils, Bsa 640       502 Morris Ave                                               Bronx, NY 10451‐5549                                                                                  First Class Mail
Chartered Organization         Ps 189 The Bilingual Center Sr                           Greater New York Councils, Bsa 640       1100 E New York Ave                                          Brooklyn, NY 11212‐3754                                                                               First Class Mail
Chartered Organization         Ps 196 X ‐ Sr                                            Greater New York Councils, Bsa 640       1250 Ward Ave                                                Bronx, NY 10472‐2406                                                                                  First Class Mail
Chartered Organization         Ps 20 George J Werdan Iii School Sr                      Greater New York Councils, Bsa 640       3050 Webster Ave                                             Bronx, NY 10467‐4901                                                                                  First Class Mail
Chartered Organization         Ps 202 Ernest S Jenkyns                                  Greater New York Councils, Bsa 640       982 Hegeman Ave                                              Brooklyn, NY 11208‐4434                                                                               First Class Mail
Chartered Organization         Ps 21 Philip H. Sheridan ‐ Sr                            Greater New York Councils, Bsa 640       180 Chauncey St                                              Brooklyn, NY 11233‐2108                                                                               First Class Mail
Chartered Organization         Ps 219 Kennedy‐King School ‐ Sr                          Greater New York Councils, Bsa 640       1060 Clarkson Ave                                            Brooklyn, NY 11212‐2041                                                                               First Class Mail
Chartered Organization         Ps 235 Janice Marie Knight School Sr                     Greater New York Councils, Bsa 640       525 Malcolm X Blvd                                           New York, NY 10037‐1803                                                                               First Class Mail
Chartered Organization         Ps 239 Ramon Suares Sr                                   Greater New York Councils, Bsa 640       1715 Weirfield St                                            Ridgewood, NY 11385‐5351                                                                              First Class Mail
Chartered Organization         Ps 268 Emma Lazarus Sr                                   Greater New York Councils, Bsa 640       133 E 53rd St                                                Brooklyn, NY 11203‐2501                                                                               First Class Mail
Chartered Organization         Ps 30 Wilton School Sr                                   Greater New York Councils, Bsa 640       510 E 141st St                                               Bronx, NY 10454‐2753                                                                                  First Class Mail
Chartered Organization         Ps 306 Sr                                                Greater New York Councils, Bsa 640       40 W Tremont Ave                                             Bronx, NY 10453‐5400                                                                                  First Class Mail
Chartered Organization         Ps 31                                                    Greater New York Councils, Bsa 640       55 Layton Ave                                                Staten Island, NY 10301‐1428                                                                          First Class Mail
Chartered Organization         Ps 33 Timothy Dwight School Sr                           Greater New York Councils, Bsa 640       2424 Jerome Ave                                              Bronx, NY 10468‐6401                                                                                  First Class Mail
Chartered Organization         Ps 330‐Q Sr                                              Greater New York Councils, Bsa 640       11008 Nern Blvd                                              Corona, NY 11368                                                                                      First Class Mail
Chartered Organization         Ps 333 The Longwood Academy Discovery Sr                 Greater New York Councils, Bsa 640       888 Rev James A Polite Ave                                   Bronx, NY 10459‐4107                                                                                  First Class Mail
Chartered Organization         Ps 36 Unionport Sr                                       Greater New York Councils, Bsa 640       1070 Castle Hill Ave                                         Bronx, NY 10472‐6314                                                                                  First Class Mail
Chartered Organization         Ps 37                                                    Greater New York Councils, Bsa 640       15 Fairfield St                                              Staten Island, NY 10308‐1823                                                                          First Class Mail
Chartered Organization         Ps 375 Jackie Robinson ‐ Sr                              Greater New York Councils, Bsa 640       46 Mckeever Pl                                               Brooklyn, NY 11225‐2503                                                                               First Class Mail
Chartered Organization         Ps 39                                                    Greater New York Councils, Bsa 640       71 Sandy Ln                                                  Staten Island, NY 10307                                                                               First Class Mail
Chartered Organization         Ps 44                                                    Greater New York Councils, Bsa 640       80 Maple Pkwy                                                Staten Island, NY 10303‐2419                                                                          First Class Mail
Chartered Organization         Ps 457 Sheridan Academy                                  For Young Leaders Sr                     1116 Sheridan Ave                                            Bronx, NY 10456‐4903                                                                                  First Class Mail
Chartered Organization         Ps 46 Edgar Allen Poe School Sr                          Greater New York Councils, Bsa 640       279 E 196th St                                               Bronx, NY 10458‐3507                                                                                  First Class Mail
Chartered Organization         Ps 47 John Randolph Sr                                   Greater New York Councils, Bsa 640       1794 E 172nd St                                              Bronx, NY 10472‐1936                                                                                  First Class Mail
Chartered Organization         Ps 5 Ellen Lurie School Sr                               Greater New York Councils, Bsa 640       3703 10th Ave                                                New York, NY 10034‐1860                                                                               First Class Mail
Chartered Organization         Ps 54 Bx The Academy Creative Minds Sr                   Greater New York Councils, Bsa 640       2703 Webster Ave                                             Bronx, NY 10458‐3705                                                                                  First Class Mail
Chartered Organization         Ps 770 ‐ The New American Academy Sr                     Greater New York Councils, Bsa 640       60 E 94th St                                                 Brooklyn, NY 11212‐2349                                                                               First Class Mail
Chartered Organization         Ps 8M The Luis Belliard School                           Greater New York Councils, Bsa 640       465 W 167th St                                               New York, NY 10032‐4351                                                                               First Class Mail
Chartered Organization         Ps 91‐K The Albany Avenue School Sr                      Greater New York Councils, Bsa 640       532 Albany Ave                                               Brooklyn, NY 11203‐1226                                                                               First Class Mail
Chartered Organization         Ps 94 Bx The Kings College School Sr                     Greater New York Councils, Bsa 640       3530 Kings College Pl                                        Bronx, NY 10467‐1507                                                                                  First Class Mail
Chartered Organization         Ps 97‐Q The Forest Park School Sr                        Greater New York Councils, Bsa 640       8552 85th St                                                 Woodhaven, NY 11421‐1233                                                                              First Class Mail
Chartered Organization         Ps/Is 109                                                Greater New York Councils, Bsa 640       1001 E 45th St                                               Brooklyn, NY 11203‐6511                                                                               First Class Mail
Chartered Organization         Ps/Ms 57 Sr                                              Greater New York Councils, Bsa 640       176 E 115th St                                               New York, NY 10029‐2031                                                                               First Class Mail
Chartered Organization         Psoe Community                                           Crossroads of America 160                1525 N Ritter Ave                                            Indianapolis, IN 46219‐3026                                                                           First Class Mail
Chartered Organization         Pta Childrens School Of Rochester                        Seneca Waterways 397                     494 Averill Ave                                              Rochester, NY 14607‐3614                                                                              First Class Mail
Chartered Organization         Pta Oak Forest                                           Andrew Jackson Council 303               1831 Smallwood St                                            Jackson, MS 39212‐2522                                                                                First Class Mail
Chartered Organization         Pta Of Caln School                                       Chester County Council 539               3609 Lincoln Hwy                                             Thorndale, PA 19372‐1003                                                                              First Class Mail
Chartered Organization         Pta Of Cleveland School                                  Last Frontier Council 480                500 N Sherry Ave                                             Norman, OK 73069‐6840                                                                                 First Class Mail
Chartered Organization         Pta Of East Side Elementary School                       Atlanta Area Council 092                 3850 Roswell Rd                                              Marietta, GA 30062‐6279                                                                               First Class Mail
Chartered Organization         Pta Of Hinman Elementary School                          Las Vegas Area Council 328               450 E Merlayne Dr                                            Henderson, NV 89011‐4309                                                                              First Class Mail
Chartered Organization         Pta Of Manning School                                    East Carolina Council 426                1002 Barrett St                                              Roanoke Rapids, NC 27870                                                                              First Class Mail
Chartered Organization         Pta Of Ps 270‐Q                                          Greater New York Councils, Bsa 640       23315 Merrick Blvd                                           Rosedale, NY 11422‐1317                                                                               First Class Mail
Chartered Organization         Pta Washington School                                    Twin Valley Council Bsa 283              1100 Anderson Dr                                             Mankato, MN 56001‐4704                                                                                First Class Mail
Chartered Organization         Ptisd Birch Es                                           East Texas Area Council 585              P.O. Box 5878                                                Longview, TX 75608‐5878                                                                               First Class Mail
Chartered Organization         Pto ‐ East Bradford Elem. School                         Chester County Council 539               820 Frank Rd                                                 West Chester, PA 19380‐1969                                                                           First Class Mail
Chartered Organization         Pto @ School 2                                           Seneca Waterways 397                     180 Ridgeway Ave                                             Rochester, NY 14615‐3636                                                                              First Class Mail
Chartered Organization         Pto At Buckland Mills Elementary School                  National Capital Area Council 082        10511 Wharfdale Pl                                           Gainesville, VA 20155‐4871                                                                            First Class Mail
Chartered Organization         Pto At School 16                                         Seneca Waterways 397                     500 East Ave                                                 Rochester, NY 14607‐1949                                                                              First Class Mail
Chartered Organization         Pto At School 17                                         Seneca Waterways 397                     158 Orchard St                                               Rochester, NY 14611‐1361                                                                              First Class Mail
Chartered Organization         Pto At School 22                                         Seneca Waterways 397                     950 Norton St                                                Rochester, NY 14621‐3732                                                                              First Class Mail
Chartered Organization         Pto At School 28                                         Seneca Waterways 397                     450 Humboldt St                                              Rochester, NY 14610‐1114                                                                              First Class Mail
Chartered Organization         Pto At School 3                                          Seneca Waterways 397                     85 Adams St                                                  Rochester, NY 14608‐2210                                                                              First Class Mail
Chartered Organization         Pto At School 35                                         Seneca Waterways 397                     194 Field St                                                 Rochester, NY 14620‐1942                                                                              First Class Mail
Chartered Organization         Pto At School 39                                         Seneca Waterways 397                     145 Midland Ave                                              Rochester, NY 14621‐4051                                                                              First Class Mail
Chartered Organization         Pto At School 5                                          Seneca Waterways 397                     555 Plymouth Ave N                                           Rochester, NY 14608‐1628                                                                              First Class Mail
Chartered Organization         Pto At School 57                                         Seneca Waterways 397                     15 Costar St                                                 Rochester, NY 14608‐1114                                                                              First Class Mail
Chartered Organization         Pto At School 9                                          Seneca Waterways 397                     485 N Clinton Ave                                            Rochester, NY 14605‐1817                                                                              First Class Mail
Chartered Organization         Pto Chapman School                                       Simon Kenton Council 441                 8450 Sawmill Rd                                              Powell, OH 43065‐9469                                                                                 First Class Mail
Chartered Organization         Pto Edgerton                                             Water and Woods Council 782              11218 N Linden Rd                                            Clio, MI 48420‐8585                                                                                   First Class Mail
Chartered Organization         Pto Friends Of Aj Kellogg                                Southern Shores Fsc 783                  306 Champion St                                              Battle Creek, MI 49037‐2326                                                                           First Class Mail
Chartered Organization         Pto Jefferson                                            Winnebago Council, Bsa 173               1421 4th St Se                                               Mason City, IA 50401‐4437                                                                             First Class Mail
Chartered Organization         Pto Of Bloomsdale Elementary                             Greater St Louis Area Council 312        6279 Hwy 61                                                  Bloomsdale, MO 63627‐8904                                                                             First Class Mail
Chartered Organization         Pto Of Kings Highway Elementary School                   Chester County Council 539               841 W Kings Hwy                                              Coatesville, PA 19320‐1714                                                                            First Class Mail
Chartered Organization         Pto Of Mellette School ‐ Watertown                       Sioux Council 733                        619 2nd St Nw                                                Watertown, SD 57201‐1506                                                                              First Class Mail
Chartered Organization         Pto Of Nell Holcomb School                               Greater St Louis Area Council 312        6547 State Hwy 177                                           Cape Girardeau, MO 63701‐8690                                                                         First Class Mail
Chartered Organization         Pto Of Roosevelt Elementary School                       Sioux Council 733                        729 E Kemp Ave                                               Watertown, SD 57201‐3747                                                                              First Class Mail
Chartered Organization         Pto Spanish Springs Elementary School                    Nevada Area Council 329                  100 Marilyn Mae Dr                                           Sparks, NV 89441‐7244                                                                                 First Class Mail
Chartered Organization         Pto Valverde Elementary School                           Denver Area Council 061                  2030 W Alameda Ave                                           Denver, CO 80223‐1923                                                                                 First Class Mail
Chartered Organization         Pto‐Christ The King Catholic School                      Last Frontier Council 480                1912 Guilford Ln                                             Oklahoma City, OK 73120‐4723                                                                          First Class Mail
Chartered Organization         Pto‐Oakcrest Elementary School                           North Florida Council 087                1112 NE 28th St                                              Ocala, FL 34470‐3773                                                                                  First Class Mail
Chartered Organization         Ptsa Roland Park Magnet School                           Greater Tampa Bay Area 089               1510 N Manhattan Ave                                         Tampa, FL 33607‐4017                                                                                  First Class Mail
Chartered Organization         Ptu Cedar Heights School                                 Winnebago Council, Bsa 173               2417 Rainbow Dr                                              Cedar Falls, IA 50613‐4756                                                                            First Class Mail
Chartered Organization         Public School 173 Sr                                     Greater New York Councils, Bsa 640       306 Fort Washington Ave                                      New York, NY 10033‐6802                                                                               First Class Mail
Chartered Organization         Public School 181 Sr                                     Greater New York Councils, Bsa 640       1023 New York Ave                                            Brooklyn, NY 11203‐3806                                                                               First Class Mail
Chartered Organization         Puckett Elementary School Pta                            Golden Spread Council 562                6700 Oakhurst Dr                                             Amarillo, TX 79109‐5026                                                                               First Class Mail
Chartered Organization         Puckety Presbyterian Church                              Laurel Highlands Council 527             1009 Puckety Church Rd                                       Lower Burrell, PA 15068‐9706                                                                          First Class Mail
Chartered Organization         Pueblo Community Resources                               Rocky Mountain Council 063               1217 N Greenwood St                                          Pueblo, CO 81003‐2835                                                                                 First Class Mail
Chartered Organization         Pueblo County Sheriff Office                             Rocky Mountain Council 063               909 Court St                                                 Pueblo, CO 81003‐2909                                                                                 First Class Mail
Chartered Organization         Pueblo Of Isleta Rec Center                              Great Swest Council 412                  P.O. Box 808                                                 Isleta, NM 87022‐0808                                                                                 First Class Mail
Chartered Organization         Puerto Rico Army National Cadet Corp                     Puerto Rico Council 661                  Carr 108 Km 13.8                                             Mayaguez, PR 00680                                                                                    First Class Mail
Voting Party                   Puerto Rico Telephone                                    Claro                                    P.O. Box 70366                                               San Juan, PR 00936‐8366                                                                               First Class Mail
Firm                           Pugatch & Nikolis                                        Phillip P Nikolis                        220 Mineola Blvd. ‐ P.O. Box 631                             Mineola, NY 11501                                                    pn@pnlaws.com                    Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Puget Sound Fire Explorer Post 24                        Chief Seattle Council 609                P.O. Box 824                                                 Kent, WA 98035‐0824                                                                                   First Class Mail
Chartered Organization         Pulaski County High School Pto                           Blue Ridge Mtns Council 599              5414 Cougar Trail Rd                                         Dublin, VA 24084‐3841                                                                                 First Class Mail
Voting Party                   Pulaski First United Methodist Church                    Attn: Steve Spivey‐Treasurer             200 W Jefferson St                                           Pulaski, TN 38478                                                    sspivey@cardindist.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Pulaski First United Methodist Church                    Attn: Baddour Law LLP                    P.O. Box 296                                                 Pulaski, TN 38478                                                    colby@baddourlaw.com             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Pulaski Heights Christian Church                         Quapaw Area Council 018                  4724 Hillcrest Ave                                           Little Rock, AR 72205‐1912                                                                            First Class Mail
Chartered Organization         Pulaski Heights Methodist Ch Little Rock                 Quapaw Area Council 018                  4823 Woodlawn Dr                                             Little Rock, AR 72205‐3755                                                                            First Class Mail
Voting Party                   Pulaski Heights United Methodist Church                  Attn: Jay Clark                          4823 Woodlawn St                                             Little Rock, AR 72205‐3755                                           lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Pulaski Lions Club                                       Middle Tennessee Council 560             P.O. Box 273                                                 Pulaski, TN 38478‐0273                                                                                First Class Mail
Chartered Organization         Pulaski Presbyterian Church                              Moraine Trails Council 500               Liberty St                                                   Pulaski, PA 16143                                                                                     First Class Mail
Chartered Organization         Pullman Lions Club                                       Inland Nwest Council 611                 P.O. Box 3                                                   Pullman, WA 99163‐0003                                                                                First Class Mail
Chartered Organization         Pullman Lions Club B                                     Inland Nwest Council 611                 1220 NW State St, Apt 41                                     Pullman, WA 99163‐3358                                                                                First Class Mail
Chartered Organization         Pullman Rotary Club                                      Inland Nwest Council 611                 140 NW Webb St                                               Pullman, WA 99163‐3146                                                                                First Class Mail
Chartered Organization         Pumpkintown Fire Dept                                    Blue Ridge Council 551                   4205 Pumpkintown Hwy                                         Pickens, SC 29671‐8627                                                                                First Class Mail
Chartered Organization         Puna Hongwanji Mission                                   Aloha Council, Bsa 104                   P.O. Box 100                                                 Keaau, HI 96749‐0100                                                                                  First Class Mail
Voting Party                   Punahou School                                           Attn: Sunny Donenfeld                    1601 Punahou St                                              Honolulu, HI 96822                                                   sdonenfeld@punahou.edu           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Punahou School                                           c/o Squire Patton Boggs (Us) LLP         Attn: Mark Salzberg                                          2550 M St NW                        Washington, DC 20037             mark.salzberg@squirepb.com       Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Punxsutawney 1St Utd Methodist Ch                        Bucktail Council 509                     301 W Mahoning St                                            Punxsutawney, PA 15767‐1905                                                                           First Class Mail
Chartered Organization         Purcellville Rescue Squad                                National Capital Area Council 082        500 N Maple Ave                                              Purcellville, VA 20132‐4507                                                                           First Class Mail
Chartered Organization         Purchase Community House                                 Westchester Putnam 388                   3095 Purchase St                                             Purchase, NY 10577‐1715                                                                               First Class Mail
Voting Party                   Purchase Line United Methodist Church (97535)            c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Purchase Line Utd Methodist Church                       Laurel Highlands Council 527             17109 Route 286 Hwy E                                        Commodore, PA 15729‐8315                                                                              First Class Mail
Chartered Organization         Purdy Fire Protection District                           Ozark Trails Council 306                 102 W Washington Ave                                         Purdy, MO 65734                                                                                       First Class Mail
Voting Party                   Purdys United Methodist Church                           Attn: Paul Dengler                       30 Lake St                                                   Goldens Bridge, NY 10526                                             Paulyd1@aol.com                  Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Purdys Utd Methodist Church                              Westchester Putnam 388                   106 Titicus Rd                                               Purdys, NY 10578                                                                                      First Class Mail
Voting Party                   Pure Health Solutions, Inc                               dba Pure Water Technology                P.O. Box 5066                                                Hartford, CT 06102‐5066                                                                               First Class Mail
Voting Party                   Pure Pools Inc                                           dba Api                                  880 Jupiter Park Dr, Ste 14                                  Jupiter, FL 33458‐8902                                                                                First Class Mail
Chartered Organization         Purify                                                   North Florida Council 087                132 Corral Cir                                               St Augustine, FL 32092‐2496                                                                           First Class Mail
Chartered Organization         Puritan Congregal Utd Ch Christ                          Cimarron Council 474                     419 W Misouri                                                Drummond, OK 73735                                                                                    First Class Mail
Chartered Organization         Purity Presbyterian Church                               Palmetto Council 549                     135 Wylie St                                                 Chester, SC 29706‐1786                                                                                First Class Mail
Firm                           Purse Law, PLLC                                          Pegan Pourasef                           2905 Sackett St                                              Houston, TX 77098                                                    BSA@pouraseflaw.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 309 of 442
                                                                                Case 20-10343-LSS                                          Doc 8171                                              Filed 01/06/22                                                    Page 325 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                      Name                                                                                                     Address                                                                                                               Email                Method of Service
Voting Party                   Purvis Law Office LLC                                          Louis Purvis                            P.O. Box 421                                                      Abilene, KS 67410                                                    PURVIS.LAW@ATT.NET                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Purvis Umc                                                     206 Mitchell Ave                        Purvis, MS 39475                                                                                                                       Purvisumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Puryear Utd Methodist Church                                   West Tennessee Area Council 559         114 W Chestnut St                                                 Puryear, TN 38251‐5801                                                                                    First Class Mail
Chartered Organization         Pusch Ridge Christian Academy                                  Catalina Council 011                    9500 N Oracle Rd                                                  Tucson, AZ 85704‐8523                                                                                     First Class Mail
Chartered Organization         Pusch Ridge Ward                                               Lds Tucson North Stake                  939 W Chapala Dr                                                  Tucson, AZ 85704‐4516                                                                                     First Class Mail
Voting Party                   Putman Umc                                                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Putnam City Utd Methodist                                      Last Frontier Council 480               41st & Macarthur                                                  Oklahoma, OK 73122                                                                                        First Class Mail
Chartered Organization         Putnam City Utd Methodist Church                               Last Frontier Council 480               5819 NW 41st St                                                   Warr Acres, OK 73122‐3103                                                                                 First Class Mail
Chartered Organization         Putnam County Sheriff Dept                                     Black Swamp Area Council 449            1035 Heritage Trl                                                 Ottawa, OH 45875‐8524                                                                                     First Class Mail
Chartered Organization         Putnam County Sheriff'S Dept.                                  Westchester Putnam 388                  3 County Ctr                                                      Carmel, NY 10512‐1323                                                                                     First Class Mail
Chartered Organization         Putnam County Sheriffs Office                                  North Florida Council 087               130 Orie Griffin Blvd                                             Palatka, FL 32177‐1416                                                                                    First Class Mail
Chartered Organization         Putnam County Shrine Club                                      North Florida Council 087               P.O. Box 291                                                      Palatka, FL 32178‐0291                                                                                    First Class Mail
Chartered Organization         Putnam Elementary School Pto                                   Muskingum Valley Council, Bsa 467       598 Masonic Park Rd                                               Marietta, OH 45750‐1041                                                                                   First Class Mail
Chartered Organization         Putnam Heights Pto                                             Chippewa Valley Council 637             633 W Macarthur Ave                                               Eau Claire, WI 54701‐6331                                                                                 First Class Mail
Voting Party                   Putneyville United Methodist Church (85743)                    c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Puyallup Police Explorer Post                                  Pacific Harbors Council, Bsa 612        311 W Pioneer                                                     Puyallup, WA 98371‐5369                                                                                   First Class Mail
Chartered Organization         Puyallup Sunrisers Kiwanis                                     Pacific Harbors Council, Bsa 612        11828 120th Ave E                                                 Puyallup, WA 98374‐2246                                                                                   First Class Mail
Chartered Organization         Puyallup Valley Vfw Post 2224                                  Pacific Harbors Council, Bsa 612        120 E Meeker                                                      Puyallup, WA 98372‐3243                                                                                   First Class Mail
Voting Party                   Pvrwjumc                                                       Attn: Pastor Pvrwjumc                   P.O. Box 47                                                       Wevertown, NY 12886                                                  ajkc2fli@frontiernet.net             Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Pvt Joseph Francis Vfw Post 486                                Narragansett 546                        486 Bedford St                                                    Fall River, MA 02720‐4802                                                                                 First Class Mail
Chartered Organization         Qsi International School Of Papa                               Transatlantic Council, Bsa 802          Komaromi Utca 12                                                  Papa, 8500                         Hungary                                                                First Class Mail
Chartered Organization         Quad City Conservation Alliance                                Illowa Council 133                      2621 4th Ave                                                      Rock Island, IL 61201‐9053                                                                                First Class Mail
Voting Party                   Quad/Graphics, Inc                                             Attn: Mike Vechart ‐ Credit Dept        N61 W23044 Harrys Way                                             Sussex, WI 53089                                                     mvechart@quad.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Quail Creek Volunteer Fire Dept                                South Texas Council 577                 513 Chukar Dr                                                     Victoria, TX 77905                                                                                        First Class Mail
Chartered Organization         Quail Hollow Presbyterian Church                               Mecklenburg County Council 415          8801 Park Rd                                                      Charlotte, NC 28210‐7605                                                                                  First Class Mail
Voting Party                   Quail Lakes Baptist Church                                     1904 Quail Lakes Dr                     Stockton, CA 95207                                                                                                                     tima@qlbc.org                        Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Quail Run Pto                                                  Heart of America Council 307            1130 Inverness Dr                                                 Lawrence, KS 66049‐3809                                                                                   First Class Mail
Voting Party                   Quail Springs United Methodist Church                          Attn: Pastor                            14617 N Pennsylvania Ave                                          Oklahoma City, OK 73134                                              admin@qsumc.org                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Quail Valley Family Dental                                     Sam Houston Area Council 576            2260 Fm 1092 Rd                                                   Missouri City, TX 77459‐1802                                                                              First Class Mail
Chartered Organization         Quail Valley Moose Lodge                                       California Inland Empire Council 045    P.O. Box 3205                                                     Quail Valley, CA 92587‐1205                                                                               First Class Mail
Chartered Organization         Quail Valley Ward, Denver North Stake                          Denver Area Council 061                 3501 Summit Grove Pkwy                                            Denver, CO 80241                                                                                          First Class Mail
Voting Party                   Quaker City United Methodist Church                            Attn: Rev Clayton Coffey                18475 Leatherwood Rd                                              Salesville, OH 43778                                                 revclaytoncoffey@gmail.com           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Quaker City United Methodist Church                            Clayton H Coffey                        Same                                                              Same                                                                                                      First Class Mail
Chartered Organization         Quaker City Utd Methodist Church                               Muskingum Valley Council, Bsa 467       P.O. Box 409                                                      Quaker City, OH 43773‐0409                                                                                First Class Mail
Chartered Organization         Quaker Hill P T A                                              Connecticut Rivers Council, Bsa 066     285 Bloomingdale Rd                                               Quaker Hill, CT 06375‐1307                                                                                First Class Mail
Voting Party                   Quaker Springs United Methodist Church                         Attn: Tim Lagoe                         135 Route 69                                                      Schuylerville, NY 12871                                              tlago1@nycap.rr.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Quaker Springs United Methodist Church                         John Iseman                             51 Church St                                                      Schuylerville, NY 12871                                              isemanjohn@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Quakertown ‐ Quakertown, NJ                                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Quakertown Borough First Responders                            Washington Crossing Council 777         35 N 3rd St                                                       Quakertown, PA 18951‐1376                                                                                 First Class Mail
Chartered Organization         Quakertown Utd Methodist Church                                Washington Crossing Council 777         Croton Rd                                                         Quakertown, NJ 08868                                                                                      First Class Mail
Chartered Organization         Quality Of Life Corp                                           Montana Council 315                     P.O. Box 645                                                      Colstrip, MT 59323‐0645                                                                                   First Class Mail
Chartered Organization         Quality Schools International Sarajavo                         Transatlantic Council, Bsa 802          Langusova Ulica 16                                                Ljubljana, 1000                    Slovenia                                                               First Class Mail
Chartered Organization         Quality Turn Key Installations                                 Cape Fear Council 425                   1176 Pine Level Church Rd                                         Nakina, NC 28455                                                                                          First Class Mail
Chartered Organization         Quantico Yacht Club                                            National Capital Area Council 082       P.O. Box 21                                                       Quantico, VA 22134‐0021                                                                                   First Class Mail
Chartered Organization         Quapaw Concerned Citizens                                      Cherokee Area Council 469 469           1290 S 604 Rd                                                     Quapaw, OK 74363‐1759                                                                                     First Class Mail
Chartered Organization         Quarles Charitable Trust                                       Cherokee Area Council 556               488 Alexian Way, Apt 606                                          Signal Mountain, TN 37377‐1985                                                                            First Class Mail
Chartered Organization         Quartzsite Police Dept                                         California Inland Empire Council 045    305 N Plymouth Ave                                                Quartzsite, AZ 85346                                                                                      First Class Mail
Voting Party                   Queen Anne ‐ Seattle                                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Queen Anne Utd Methodist Church                                Chief Seattle Council 609               1606 5th Ave W                                                    Seattle, WA 98119‐2915                                                                                    First Class Mail
Chartered Organization         Queen City High School                                         Caddo Area Council 584                  P.O. Box 128                                                      Queen City, TX 75572‐0128                                                                                 First Class Mail
Chartered Organization         Queen City Lodge 12                                            Ozark Trails Council 306                P.O. Box 2015                                                     Springfield, MO 65801‐2015                                                                                First Class Mail
Chartered Organization         Queen City Masonic Lodge 380                                   Great Rivers Council 653                P.O. Box 32                                                       Queen City, MO 63561‐0032                                                                                 First Class Mail
Chartered Organization         Queen Creek Kiwanis                                            Grand Canyon Council 010                P.O. Box 356                                                      Queen Creek, AZ 85142‐1806                                                                                First Class Mail
Chartered Organization         Queen Creek Utd Methodist Church                               East Carolina Council 426               P.O. Box 398                                                      Hubert, NC 28539‐0398                                                                                     First Class Mail
Chartered Organization         Queen Martyrs Knights Columbus 4567                            Greater Los Angeles Area 033            531 Main St 421                                                   El Segundo, CA 90245‐3006                                                                                 First Class Mail
Chartered Organization         Queen Of All Saints Act Assoc/Koc 10136                        Greater St Louis Area Council 312       6603 Christopher Dr                                               Saint Louis, MO 63129‐4919                                                                                First Class Mail
Chartered Organization         Queen Of All Saints Basilica                                   Pathway To Adventure 456                6280 N Sauganash Ave                                              Chicago, IL 60646‐4944                                                                                    First Class Mail
Chartered Organization         Queen Of All Saints Parish                                     Lasalle Council 165                     606 S Woodland Ave                                                Michigan City, IN 46360‐5593                                                                              First Class Mail
Chartered Organization         Queen Of Angels Catholic School                                Atlanta Area Council 092                11340 Woodstock Rd                                                Roswell, GA 30075‐2548                                                                                    First Class Mail
Chartered Organization         Queen Of Angels Parish                                         Northeastern Pennsylvania Council 501   605 Church St                                                     Jessup, PA 18434‐1005                                                                                     First Class Mail
Chartered Organization         Queen Of Angels Roman Catholic Church                          Pathway To Adventure 456                2330 W Sunnyside Ave                                              Chicago, IL 60625‐2138                                                                                    First Class Mail
Chartered Organization         Queen Of Angels Roman Catholic Church                          Anthony Wayne Area 157                  1600 W State Blvd                                                 Fort Wayne, IN 46808‐1930                                                                                 First Class Mail
Chartered Organization         Queen Of Apostles School                                       Silicon Valley Monterey Bay 055         4950 Mitty Way                                                    San Jose, CA 95129‐1867                                                                                   First Class Mail
Chartered Organization         Queen Of Heaven Church                                         Great Trail 433                         1800 Steese Rd                                                    Uniontown, OH 44685‐9555                                                                                  First Class Mail
Chartered Organization         Queen Of Heaven Church                                         Greater Niagara Frontier Council 380    4220 Seneca St                                                    West Seneca, NY 14224‐3145                                                                                First Class Mail
Chartered Organization         Queen Of Martyrs Holy Name Society                             Pathway To Adventure 456                10233 S Central Park Ave                                          Evergreen Park, IL 60805‐3717                                                                             First Class Mail
Chartered Organization         Queen Of Martyrs Roman Catholic Church                         Greater Niagara Frontier Council 380    180 George Urban Blvd                                             Buffalo, NY 14225‐3004                                                                                    First Class Mail
Chartered Organization         Queen Of Peace Catholic Church                                 Yucca Council 573                       1551 Belvidere St                                                 El Paso, TX 79912‐2650                                                                                    First Class Mail
Chartered Organization         Queen Of Peace Catholic Church                                 Dan Beard Council, Bsa 438              2550 Millville Ave                                                Hamilton, OH 45013‐4212                                                                                   First Class Mail
Chartered Organization         Queen Of Peace Catholic Church                                 Lasalle Council 165                     4508 Vistula Rd                                                   Mishawaka, IN 46544‐4054                                                                                  First Class Mail
Chartered Organization         Queen Of Peace Catholic Community                              North Florida Council 087               10900 SW 24th Ave                                                 Gainesville, FL 32607‐1207                                                                                First Class Mail
Chartered Organization         Queen Of Peace Church                                          Laurel Highlands Council 527            907 6th Ave                                                       Patton, PA 16668‐1345                                                                                     First Class Mail
Chartered Organization         Queen Of Peace Parish                                          Greater St Louis Area Council 312       5923 N Belt W                                                     Belleville, IL 62223‐4222                                                                                 First Class Mail
Chartered Organization         Queen Of Peace Rc Church                                       Northern New Jersey Council, Bsa 333    Church Pl                                                         North Arlington, NJ 07031                                                                                 First Class Mail
Chartered Organization         Queen Of Peace Roman Catholic Church                           Cradle of Liberty Council 525           820 N Hills Ave                                                   Glenside, PA 19038‐1316                                                                                   First Class Mail
Chartered Organization         Queen Of Peace Roman Catholic Church                           Northern New Jersey Council, Bsa 333    10 Franklin Pl                                                    North Arlington, NJ 07031‐6014                                                                            First Class Mail
Chartered Organization         Queen Of The Apostles Catholic Church                          Piedmont Council 420                    503 N Main St                                                     Belmont, NC 28012‐3130                                                                                    First Class Mail
Chartered Organization         Queen Of The Apostles Parish                                   Northeastern Pennsylvania Council 501   715 Hawthorne St                                                  Avoca, PA 18641‐1153                                                                                      First Class Mail
Chartered Organization         Queen Of The Holy Rosary Church                                Heart of America Council 307            7023 W 71st St                                                    Overland Park, KS 66204‐1907                                                                              First Class Mail
Chartered Organization         Queen Of The Miraculous Medal Parish                           Southern Shores Fsc 783                 811 S Wisner St                                                   Jackson, MI 49203‐1577                                                                                    First Class Mail
Voting Party                   Queen Of The Most Holy Rosary R.C. Church(Bridgehampton, NY)   c/o Cullen and Dykman LLP               Attn: Matthew G Roseman                                           100 Quentin Roosevelt Blvd         Garden City, NY 11530             MRoseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Queen Of The Most Holy Rosary Rc Church (Roosevelt, NY)        c/o Cullen and Dykman LLP               Attn: Matthew G Roseman                                           100 Quentin Roosevelt Blvd         Garden City, NY 11530             MRoseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Queen Of The Rosary Catholic Church                            Pathway To Adventure 456                750 W Elk Grove Blvd                                              Elk Grove Village, IL 60007‐4269                                                                          First Class Mail
Chartered Organization         Queen Of The World Church                                      Bucktail Council 509                    134 Queens Rd                                                     Saint Marys, PA 15857‐2136                                                                                First Class Mail
Voting Party                   Queen Street Umc                                               Attn: Karl Grant                        P.O. Box 508                                                      Kinston, NC 28502                                                                                         First Class Mail
Voting Party                   Queen United Methodist Church (176063)                         c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Queen United Methodist Church (176063)                         c/o Bentz Law Firm                      Attn: Leonard Spagnolo & Sean Bollman                             680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Queens Chapel Umc                                              Attn: Jackie Bethune                    7410 Muirkirk Rd                                                  Beltsville, MD 20772                                                 queenschaptreas@gmail.com            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Queens Creek Utd Methodist Church                              East Carolina Council 426               324 Hubert Blvd                                                   Hubert, NC 28539‐4266                                                                                     First Class Mail
Chartered Organization         Queens District Attorney'S Office                              Greater New York Councils, Bsa 640      12501 Queens Blvd                                                 Kew Gardens, NY 11415‐1520                                                                                First Class Mail
Voting Party                   Queens Hispanic United Methodist Church‐ Jamaica               Attn: Dorella Walters                   162‐10 Highland Ave                                               Jamaica, NY 11432                                                    queenshispanicumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Queenship Of Mary                                              Attn: Andre L Kydala                    54 Old Hwy 22                                                     Clinton, NJ 08809                                                                                         First Class Mail
Chartered Organization         Queenship Of Mary Roman Catholic Church                        Minsi Trails Council 502                1324 Newport Ave                                                  Northampton, PA 18067‐1442                                                                                First Class Mail
Chartered Organization         Queenship Of Mary Roman Catholic Church                        Washington Crossing Council 777         16 Dey Rd                                                         Plainsboro, NJ 08536‐2002                                                                                 First Class Mail
Voting Party                   Quench Usa Inc                                                 P.O. Box 781393                         Philadelphia, PA 19178‐1393                                                                                                                                                 First Class Mail
Chartered Organization         Quest Community Church                                         Simon Kenton Council 441                4901 Central College Rd                                           Westerville, OH 43081‐9577                                                                                First Class Mail
Chartered Organization         Quest Leadership Academy                                       Blue Ridge Council 551                  29 Ridgeway Dr                                                    Greenville, SC 29605‐2454                                                                                 First Class Mail
Voting Party                   Quest United Methodist Church                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Quest United Methodist Church                                  5001 Gateway Blvd                       Grovetown, GA 30813                                                                                                                                                         First Class Mail
Chartered Organization         Questers Bible Class Of                                        Presbyterian Church & Session           140 Mountain Ave                                                  Westfield, NJ 07090‐3131                                                                                  First Class Mail
Chartered Organization         Quests Camp Thunderbird                                        Central Florida Council 083             909 E Welch Rd                                                    Apopka, FL 32712‐2926                                                                                     First Class Mail
Voting Party                   Quiescence Diving Services Inc                                 Quiescence Inc                          103680 Overseas Hwy                                               Key Largo, FL 33037‐2897                                                                                  First Class Mail
Voting Party                   Quiet Dell Umc                                                 Attn: Treasurer, Quiet Dell Umc         96 Trinity Rd                                                     Mount Clare, WV 26408                                                qdumcoffice@gmail.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Quiet Dell United Methodist Church                             Nathan Weaver                           126 Trinity Rd                                                    Mount Clare, WV 26408                                                pastornathanweaver@gmail.com         Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Quilcene Lions Club                                            Chief Seattle Council 609               P.O. Box 493                                                      Quilcene, WA 98376‐0493                                                                                   First Class Mail
Voting Party                   Quill                                                          Attn: Tom Riggleman                     7 Technology Cir                                                  Columbia, SC 29203                                                   thomas.riggleman@staples.com         Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Quill                                                          P.O. Box 37600                          Philadelphia, PA 19101‐0600                                                                                                            arpayments@quill.com                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Quincy Area Vocational Technical Center                        Mississippi Valley Council 141 141      219 Baldwin Dr                                                    Quincy, IL 62301‐4430                                                                                     First Class Mail
Voting Party                   Quincy Community Umc                                           Attn: Treasurer                         40 Beale St                                                       Quincy, MA 02170                                                     pastoqcumc@comcast.net               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Quincy Fire Dept                                               Mississippi Valley Council 141 141      906 Vermont St                                                    Quincy, IL 62301‐3050                                                                                     First Class Mail
Chartered Organization         Quincy Friends Of Scouting                                     The Spirit of Adventure 227             21 Puritan Dr                                                     Quincy, MA 02169‐1723                                                                                     First Class Mail
Chartered Organization         Quincy Lion's Club                                             Nevada Area Council 329                 P.O. Box 63                                                       Quincy, CA 95971‐0063                                                                                     First Class Mail
Chartered Organization         Quincy Noon Kiwanis                                            Mississippi Valley Council 141 141      P.O. Box 57                                                       Quincy, IL 62306‐0057                                                                                     First Class Mail
Chartered Organization         Quincy Police Dept                                             Mississippi Valley Council 141 141      110 S 8th St                                                      Quincy, IL 62301‐4002                                                                                     First Class Mail
Chartered Organization         Quincy Rotary Club                                             Southern Shores Fsc 783                 8 Fulton St                                                       Quincy, MI 49082‐1132                                                                                     First Class Mail
Voting Party                   Quincy United Methodist Church (182554)                        c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Quinlan Volunteer Fire Dept                                    Circle Ten Council 571                  P.O. Box 2616                                                     Quinlan, TX 75474‐0044                                                                                    First Class Mail
Voting Party                   Quinlivan & Hughes Pa                                          Cally Rae Lynn Kjellberg‐Nelson         1740 West St Germain St                                           P.O. Box 1008                      St. Cloud, MN 56302               ckjellberg‐nelson@quinlivan.com      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Quinnell Law Firm, PLLC                                        Attn: Fran Quinnell                     419 W Washington St                                               Marquette, MI 49855                                                  timothyquinnell@gmail.com            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Quinnell Law Firm, PLLC                                        Attn: Timothy C Quinnell                419 W Washington St                                               Marquette, MI 49855                                                  timothyquinnell@gmail.com            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Quinnell Law Firm, PLLC                                        Timothy C Quinnell                      419 W Washington St                                               Marquette, MI 49855                                                  timothyquinnell@gmail.com            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Quinnipiac Stem School                                         Connecticut Yankee Council Bsa 072      460 Lexington Ave                                                 New Haven, CT 06513‐3306                                                                                  First Class Mail
Voting Party                   Quinsigamond United Methodist Church Of Worcester, MA          Attn: Robin Mercurio                    9 Stebbins St                                                     Worcester, MA 01607                                                  qumc.office@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Quinter United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Quinton                                                        Attn: Treasurer                         P.O. Box 545                                                      Quinton, OK 74561                                                    garyomer@itlnet.net                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Quitman United Methodist Church                                Attn: Steve Matlock                     959 Sweetwater Rd                                                 Quitman, LA 71268                                                    sm0823@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Quitman Utd Methodist Church                                   South Georgia Council 098               P.O. Box 857                                                      Quitman, GA 31643‐0857                                                                                    First Class Mail
Voting Party                   Quito United Methodist Church                                  Attn: Thomas M Semmes                   4580 Quito Drummonds Rd                                           Millington, TN 38053‐0523                                            tsemmes@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Quito Utd Methodist Church                                     West Tennessee Area Council 559         4551 Quito Drummonds Rd                                           Millington, TN 38053‐0523                                                                                 First Class Mail
Chartered Organization         R & J Construction                                             Circle Ten Council 571                  3221 Fm 636                                                       Kerens, TX 75144‐4061                                                                                     First Class Mail
Chartered Organization         R & L Thrift Shop                                              Las Vegas Area Council 328              4843 Patterson Ave                                                Las Vegas, NV 89104‐6141                                                                                  First Class Mail
Chartered Organization         R & R Surveying Llc                                            Conquistador Council Bsa 413            423 W Greene St                                                   Carlsbad, NM 88220‐5619                                                                                   First Class Mail
Chartered Organization         R C Hathaway Lodge 387                                         President Gerald R Ford 781             116 W Main St SE                                                  Caledonia, MI 49316‐9169                                                                                  First Class Mail
Chartered Organization         R D Tippett Truckline                                          Middle Tennessee Council 560            6292 Sparta Pike                                                  Watertown, TN 37184‐4346                                                                                  First Class Mail
Voting Party                   R Doyle Parrish                                                c/o Boy Scouts of America               Attn: Chase Koontz                                                1325 W Walnut Hill Ln              Irving, TX 75015                  chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         R H Jamison School                                             Lake Erie Council 440                   4092 E 146th St                                                   Cleveland, OH 44128‐1826                                                                                  First Class Mail
Chartered Organization         R O'Hara Lanier Middle School                                  Bay Area Council 574                    522 N Ave B                                                       Freeport, TX 77541‐4224                                                                                   First Class Mail
Chartered Organization         R Watson & Assoc                                               Crater Lake Council 491                 P.O. Box 1047                                                     Talent, OR 97540‐1047                                                                                     First Class Mail
Chartered Organization         R&S Big Horse Sanctuary                                        Central Florida Council 083             4062 Jason St                                                     New Smyrna Beach, FL 32168‐8929                                                                           First Class Mail
Voting Party                   R. Ray Wood                                                    c/o Boy Scouts of America               Attn: Chase Koontz                                                1325 W Walnut Hill Ln              Irving, TX 75015                  chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         R.C.S. Assoc Of Churches                                       Twin Rivers Council 364                 175 Main St                                                       Ravena, NY 12143                                                                                          First Class Mail
Chartered Organization         Rabbit Creek Church                                            Great Alaska Council 610                3401 Rabbit Creek Rd                                              Anchorage, AK 99516‐4011                                                                                  First Class Mail
Chartered Organization         Rabun Chapter Trout Unlimited 522                              Northeast Georgia Council 101           P.O. Box 371                                                      Clayton, GA 30525‐0010                                                                                    First Class Mail
Chartered Organization         Rabun County Fire Services                                     Northeast Georgia Council 101           25 Courthouse Sq, Ste 201                                         Clayton, GA 30525‐4114                                                                                    First Class Mail
Chartered Organization         Rabun County Sheriffs Office                                   Northeast Georgia Council 101           25 Courthouse Sq, Ste 301                                         Clayton, GA 30525‐4114                                                                                    First Class Mail
Chartered Organization         Rabun Youth Educational Services, Inc                          Northeast Georgia Council 101           185 Long Laurel Ridge Dr                                          Lakemont, GA 30552‐2938                                                                                   First Class Mail
Chartered Organization         Rabun Youth Educational Support Inc                            Northeast Georgia Council 101           185 Long Laurel Ridge Dr                                          Lakemont, GA 30552‐2938                                                                                   First Class Mail
Chartered Organization         Racebrook School Pta                                           Connecticut Yankee Council Bsa 072      107 Grannis Rd                                                    Orange, CT 06477‐1911                                                                                     First Class Mail
Voting Party                   Rachel J Johns                                                 321 Rocky Grove Ave                     Franklin, PA 16323                                                                                                                     rgapc@verizon.net                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Rachel S Harlow United Methodist Church                        Attn: Jill Elizabeth Colley Robinson    145 Pulp Mill Bridge Rd                                           Weybridge                                                            rev.jill.colley.robinson@gmail.com   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Rachel S Harlow United Methodist Church                        Attn: Earl Dionne                       165 Main St                                                       Windsor, VT 05089                                                    rev.jill.colley.robinson@gmail.com   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 310 of 442
                                                                                Case 20-10343-LSS                                                Doc 8171                                      Filed 01/06/22                                                  Page 326 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                      Name                                                                                                   Address                                                                                                           Email                Method of Service
Chartered Organization         Racine County Sheriffs Office                           Three Harbors Council 636                           717 Wisconsin Ave                                          Racine, WI 53403‐1237                                                                                 First Class Mail
Chartered Organization         Racine Founders Rotary Club                             Three Harbors Council 636                           2149 N Green Bay Rd                                        Mount Pleasant, WI 53405‐1505                                                                         First Class Mail
Chartered Organization         Radcliff Presbyterian Church                            Lincoln Heritage Council 205                        1751 S Logsdon Pkwy                                        Radcliff, KY 40160‐9274                                                                               First Class Mail
Voting Party                   Radcliff United Methodist Church                        Attn: Anthony Franklin                              275 Woodland Ave                                           Radcliff, KY 40160                                                 secretaryradcliffumc@outlook.com   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Radcliff Utd Methodist Church                           Lincoln Heritage Council 205                        275 S Woodland Dr                                          Radcliff, KY 40160‐2338                                                                               First Class Mail
Chartered Organization         Radcliffe Presbyterian Church Mens Club                 Atlanta Area Council 092                            286 Hamilton E Holmes Dr NW                                Atlanta, GA 30318‐7413                                                                                First Class Mail
Chartered Organization         Radiant Life Church                                     Southern Shores Fsc 783                             907 N Nottaloa                                             Sturgis, MI 49091                                                                                     First Class Mail
Chartered Organization         Radiant Travel                                          Northeast Georgia Council 101                       6975 W Mountain Xing                                       Cumming, GA 30041‐5550                                                                                First Class Mail
Chartered Organization         Radisson Fire Dept                                      Chippewa Valley Council 637                         General Delivery                                           Radisson, WI 54867                                                                                    First Class Mail
Chartered Organization         Radisson Recreation Com                                 Longhouse Council 373                               8650 Carpenter Rd                                          Baldwinsville, NY 13027‐1736                                                                          First Class Mail
Chartered Organization         Radloff Middle School Stem                              Northeast Georgia Council 101                       3939 Shackleford Rd                                        Duluth, GA 30096‐8270                                                                                 First Class Mail
Voting Party                   Raeford United Methodist Church                         Attn: Treasurer                                     308 N Main St                                              Raeford, NC 28376                                                  raefordumc@embarqmail.com          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Raeford Utd Methodist Church                            Cape Fear Council 425                               N Main St                                                  Raeford, NC 28376                                                                                     First Class Mail
Chartered Organization         Raf Lakenheath Fire Fighters Assoc                      Transatlantic Council, Bsa 802                      Unit 5165                                                  Apo, AE 09461‐5165                                                                                    First Class Mail
Chartered Organization         Raft River Ward ‐ Rupert Stake                          Snake River Council 111                             2150 E 352 S                                               Declo, ID 83323                                                                                       First Class Mail
Chartered Organization         Rafter A Ltd                                            Lake Erie Council 440                               10980 Lagrange Rd                                          Elyria, OH 44035‐7940                                                                                 First Class Mail
Voting Party                   Ragan Chapel United Methodist Church                    Attn: Christy Helton Treasurer                      2329 Ragan Chapel Rd                                       Ohatchee, AL 36271                                                 ohatcheehardware@yahoo.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Ragsdale Liggett Pllc                                   Dorothy Bass Burch                                  2840 Plaza Pl, Ste 400                                     Raleigh, NC 27612                                                  dburch@rl‐law.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Raha International School                               Transatlantic Council, Bsa 802                      P.O. Box 34150                                             Abu Dhabi, Khalifa City A         United Arab Emirates                                                First Class Mail
Chartered Organization         Rahway Elks Lodge 1075                                  Patriots Path Council 358                           122 W Milton Ave                                           Rahway, NJ 07065‐3247                                                                                 First Class Mail
Chartered Organization         Rahway Yacht Club                                       Patriots Path Council 358                           1706 Paterson St                                           Rahway, NJ 07065‐5618                                                                                 First Class Mail
Chartered Organization         Rainbow Christian Academy                               South Florida Council 084                           22940 Old Dixie Hwy                                        Miami, FL 33170‐6342                                                                                  First Class Mail
Chartered Organization         Rainbow City Lions Club                                 Greater Alabama Council 001                         3283 Steele Station Rd                                     Rainbow City, AL 35906‐8751                                                                           First Class Mail
Chartered Organization         Rainbow Club                                            Five Rivers Council, Inc 375                        P.O. Box 324                                               Wyalusing, PA 18853‐0324                                                                              First Class Mail
Chartered Organization         Rainbow Housing Assistance Corp                         Grand Canyon Council 010                            3120 W Carefree Hwy, Ste 1‐246                             Phoenix, AZ 85086‐3264                                                                                First Class Mail
Voting Party                   Rainbow United Methodist Church                         Attn: Gary Libby, Rainbow United Methodist Church   618 Washington Ave                                         Portland, ME 04103                                                 rainumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Rainbow Village Apartments                              Greater Tampa Bay Area 089                          12301 134th Ave                                            Largo, FL 33774‐1811                                                                                  First Class Mail
Chartered Organization         Rainelle Utd Methodist Church                           Buckskin 617                                        P.O. Box 646                                               Rainelle, WV 25962‐0646                                                                               First Class Mail
Chartered Organization         Rainier Beach Community Center                          Chief Seattle Council 609                           8825 Rainier Ave S                                         Seattle, WA 98118‐4928                                                                                First Class Mail
Chartered Organization         Rainier Lions Club                                      Pacific Harbors Council, Bsa 612                    P.O. Box 1033                                              Rainier, WA 98576‐1033                                                                                First Class Mail
Voting Party                   Rainier Umc                                             c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Rainier Utd Methodist Church                            Cascade Pacific Council 492                         P.O. Box 188                                               Rainier, OR 97048‐0188                                                                                First Class Mail
Chartered Organization         Rainier Vista Boys & Girls Club                         Chief Seattle Council 609                           4520 Ml King Jr Way S                                      Seattle, WA 98108‐2151                                                                                First Class Mail
Chartered Organization         Rainsboro Utd Methodist Church                          Simon Kenton Council 441                            7633 State Route 753 S                                     Greenfield, OH 45123‐9451                                                                             First Class Mail
Chartered Organization         Raintree Montessori School                              Heart of America Council 307                        4601 Clinton Pkwy                                          Lawrence, KS 66047‐2036                                                                               First Class Mail
Chartered Organization         Rainy City Web Design                                   Chief Seattle Council 609                           4994 NE Gunderson Rd                                       Poulsbo, WA 98370‐8805                                                                                First Class Mail
Firm                           Raipher, P.C                                            Michael Grace                                       100 Cambridge St., 14th Floor                              Boston, MA 02114                                                   mig@raipher.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Raleigh Avenue Baptist                                  Greater Alabama Council 001                         309 Raleigh Ave                                            Birmingham, AL 35209‐6550                                                                             First Class Mail
Voting Party                   Raleigh County Solid Waste Authority                    Attn: Paula Crutchfield                             200 Fernandez Dr                                           Beckley, WV 25801                                                  ejfloresca@raleigh‐swa.org         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Raleigh Court Presbyterian Church                       Blue Ridge Mtns Council 599                         1837 Grandin Rd SW                                         Roanoke, VA 24015‐2801                                                                                First Class Mail
Voting Party                   Raleigh Court Presbyterian Church, Roanoke, VA Inc      1837 Grandin Rd SW                                  Roanoke, VA 24015                                                                                                             slnash@cox.net                     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Raleigh Court Presbyterian Church, Roanoke, VA Inc      Attn: Steven Lex Nash                               1887 Grandin Rd SW                                         Roanoke, VA 24015                                                                                     First Class Mail
Voting Party                   Raleigh Court Umc                                       c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Raleigh Court Utd Methodist Church                      Blue Ridge Mtns Council 599                         1706 Grandin Rd Sw                                         Roanoke, VA 24015‐2816                                                                                First Class Mail
Chartered Organization         Raleigh Elks Lodge 735                                  Occoneechee 421                                     5538 Lead Mine Rd                                          Raleigh, NC 27612‐2931                                                                                First Class Mail
Chartered Organization         Raleigh Hills Pto                                       Cascade Pacific Council 492                         5225 SW Scholls Ferry Rd                                   Portland, OR 97225‐1611                                                                               First Class Mail
Chartered Organization         Raleigh Moravian Church                                 Occoneechee 421                                     1816 Ridge Rd                                              Raleigh, NC 27607‐6740                                                                                First Class Mail
Chartered Organization         Raleigh Police Dept                                     Occoneechee 421                                     218 W Cabarrus St                                          Raleigh, NC 27601‐1711                                                                                First Class Mail
Voting Party                   Raleigh United Methodist Church                         Attn: Richard Beckwith                              3295 Powers Rd                                             Memphis, TN 38128                                                  raleighumc@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Raliegh Area Chamber Of Commerece                       Pine Burr Area Council 304                          P.O. Box 506                                               Raleigh, MS 39153‐0506                                                                                First Class Mail
Chartered Organization         Ralls Lions Club                                        South Plains Council 694                            P.O. Box 812                                               Ralls, TX 79357‐0812                                                                                  First Class Mail
Chartered Organization         Ralls Lions Club                                        South Plains Council 694                            1307 Ave L                                                 Ralls, TX 79357‐3600                                                                                  First Class Mail
Chartered Organization         Ralph A Pandure Vfw Post 10                             Cape Fear Council 425                               145 Hanger Ln                                              Raeford, NC 28376‐8909                                                                                First Class Mail
Voting Party                   Ralph De La Vega                                        c/o Boy Scouts of America                           Attn: Chase Koontz                                         1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Ralph Gracie American Legion Post 14                    Voyageurs Area 286                                  6735 Fairgrounds Rd Nw                                     Bemidji, MN 56601‐8221                                                                                First Class Mail
Chartered Organization         Ralston School Pto                                      Blackhawk Area 660                                  710 Ralston Rd                                             Machesney Park, IL 61115‐1569                                                                         First Class Mail
Chartered Organization         Ralston Volunteer Fire Dept Inc                         Mid‐America Council 326                             7629 Park Dr                                               Omaha, NE 68127‐3943                                                                                  First Class Mail
Firm                           RAM ‐ Rebenack, Aronow & Mascolo                        Jay Mascolo                                         111 Livingston Ave                                         New Brunswick, NJ 08901                                            jmascolo@ram.law                   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Ramah Presbyterian Church                               Mecklenburg County Council 415                      14401 Ramah Church Rd                                      Huntersville, NC 28078‐4008                                                                           First Class Mail
Chartered Organization         Rambam Day School                                       Coastal Georgia Council 099                         111 Atlas St                                               Savannah, GA 31405‐5461                                                                               First Class Mail
Chartered Organization         Ramer Ruritan                                           West Tennessee Area Council 559                     5404 Hwy 45 S                                              Selmer, TN 38375‐6685                                                                                 First Class Mail
Voting Party                   Ramona United Methodist Church                          Attn: Treasurer                                     3394 Chapel Ln                                             Ramona, CA 92065                                                                                      First Class Mail
Chartered Organization         Ramoth Nazarene Church                                  Garden State Council 690                            2725 N Delsea Dr                                           Vineland, NJ 08360‐2184                                                                               First Class Mail
Voting Party                   Ramsay Memorial United Methodist Church                 Attn: Nathaniel Taylor Barkum, Sr.                  12472 Dedeaux Rd                                           Gulfport, MS 39503                                                 barkumt@gmail.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Ramsey County Sheriff'S Office                          Northern Star Council 250                           425 Grove St                                               Saint Paul, MN 55101‐2418                                                                             First Class Mail
Chartered Organization         Ramsey Lions Club                                       Northern Star Council 250                           P.O. Box 771                                               Ramsey, MN 55303‐0771                                                                                 First Class Mail
Voting Party                   Ramsey Memorial Umc                                     c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Ramsey Methodist Church                                 Pine Burr Area Council 304                          12472 Dedeaux Rd                                           Gulfport, MS 39503‐3804                                                                               First Class Mail
Chartered Organization         Ramsey Police Dept                                      Northern Star Council 250                           7550 Sunwood Dr Nw                                         Ramsey, MN 55303‐5137                                                                                 First Class Mail
Chartered Organization         Ramsey Rescue Org                                       Northern New Jersey Council, Bsa 333                P.O. Box 193                                               Ramsey, NJ 07446‐0193                                                                                 First Class Mail
Voting Party                   Rance Edwards                                           P.O. Box 137                                        Nickelsville, VA 24271                                                                                                        pastor@ecnar.com                   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Ranch Ward ‐ Lds Sahuarita Stake                        Catalina Council 011                                17699 S Camino De Las Quintas                              Sahuarita, AZ 85629                                                                                   First Class Mail
Chartered Organization         Rancho Bernardo Commty                                  Presbyterian Church                                 17010 Pomerado Rd                                          San Diego, CA 92128‐2399                                                                              First Class Mail
Chartered Organization         Rancho Bernardo Sunrise Rotary                          San Diego Imperial Council 049                      P.O. Box 270243                                            San Diego, CA 92198‐2243                                                                              First Class Mail
Chartered Organization         Rancho Community Church                                 California Inland Empire Council 045                31300 Rancho Community Way                                 Temecula, CA 92592‐2805                                                                               First Class Mail
Chartered Organization         Rancho Cordova Elks Lodge 2484                          Golden Empire Council 047                           11440 Elks Cir                                             Rancho Cordova, CA 95742‐7356                                                                         First Class Mail
Chartered Organization         Rancho Cordova Kiwanis                                  Golden Empire Council 047                           10837 Ambassador Dr                                        Rancho Cordova, CA 95670‐2454                                                                         First Class Mail
Chartered Organization         Rancho Cordova Moose Lodge 2357                         Golden Empire Council 047                           10124 Coloma Rd                                            Rancho Cordova, CA 95670‐4602                                                                         First Class Mail
Voting Party                   Rancho Cordova United Methodist Church                  Attn: Treasurer, Umc of Rancho Cordova              2101 Zinfandel Dr                                          Rancho Cordova, CA 95670                                           revelizabethb@gmail.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Rancho Cucamonga Fire District                          California Inland Empire Council 045                P.O. Box 807                                               Rancho Cucamonga, CA 91729‐0807                                                                       First Class Mail
Chartered Organization         Rancho Cucamonga Rotary Club                            California Inland Empire Council 045                11169 Starview Ct                                          Rancho Cucamonga, CA 91737‐7776                                                                       First Class Mail
Chartered Organization         Rancho Del Chino Rotary                                 California Inland Empire Council 045                P.O. Box 2431                                              Chino, CA 91708‐2431                                                                                  First Class Mail
Chartered Organization         Rancho Santa Anita Assoc                                Greater Los Angeles Area 033                        515 N Old Ranch Rd                                         Arcadia, CA 91007‐6033                                                                                First Class Mail
Chartered Organization         Rancho Vistoso Ward                                     Lds Tucson North Stake                              55 W Arrowsmith Dr                                         Oro Valley, AZ 85755                                                                                  First Class Mail
Chartered Organization         Ranchos Kiwanis                                         Sequoia Council 027                                 37167 Ave 12, Ste Sc                                       Madera, CA 93636‐8710                                                                                 First Class Mail
Chartered Organization         Rancho‐Temecula New Covenant Fellowship                 California Inland Empire Council 045                38801 Calistoga Dr                                         Murrieta, CA 92563‐4881                                                                               First Class Mail
Chartered Organization         Rand Corp                                               W.L.A.C.C. 051                                      1700 Main St                                               Santa Monica, CA 90401‐3208                                                                           First Class Mail
Chartered Organization         Randall County Sheriff Dept                             Golden Spread Council 562                           9100 S Georgia St                                          Amarillo, TX 79118‐5073                                                                               First Class Mail
Chartered Organization         Randall Elementary School Pto                           Baden‐Powell Council 368                            31 Randall St                                              Cortland, NY 13045‐3031                                                                               First Class Mail
Voting Party                   Randall Johnson                                         4181 Millstream Rd                                  Greenwood, IN 46143                                                                                                           rjohnson@ccf.disciples.org         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Randall Kopsa                                           Address Redacted                                                                                                                                                                  Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Randall Kopsa                                           Address Redacted                                                                                                                                                                  Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Randall Stephenson                                      c/o Boy Scouts of America                           Attn: Chase Koontz                                         1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Randles Sand & Gravel Inc                               Pacific Harbors Council, Bsa 612                    19209 Canyon Rd E                                          Puyallup, WA 98375‐2310                                                                               First Class Mail
Chartered Organization         Randolph Chemical Engine Co 2                           Patriots Path Council 358                           340 State Route 10                                         Randolph, NJ 07869‐2205                                                                               First Class Mail
Chartered Organization         Randolph Civic Foundation                               National Capital Area Council 082                   P.O. Box 2202                                              Rockville, MD 20847‐2202                                                                              First Class Mail
Chartered Organization         Randolph Civic Foundation                               National Capital Area Council 082                   4718 Topping Rd                                            Rockville, MD 20852‐2326                                                                              First Class Mail
Chartered Organization         Randolph Civic Foundation Inc                           National Capital Area Council 082                   P.O. Box 489                                               Garrett Park, MD 20896‐0489                                                                           First Class Mail
Voting Party                   Randolph Courtland United Methodist Church              Attn: Russell Francois                              227 N High St                                              Randolph, WI 53956                                                 info@randolphcourtlandumc.org      Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Randolph Elementary School Pta                          Heart of Virginia Council 602                       1552 Sheppard Town Rd                                      Crozier, VA 23039‐2100                                                                                First Class Mail
Chartered Organization         Randolph Macon Academy                                  Shenandoah Area Council 598                         201 Academy Dr                                             Front Royal, VA 22630‐2642                                                                            First Class Mail
Chartered Organization         Randolph Township Fire Dept                             W D Boyce 138                                       103 S Buchanan St                                          Heyworth, IL 61745‐8908                                                                               First Class Mail
Chartered Organization         Randolph Utd Methodist Church                           Great Trail 433                                     4078 Waterloo Rd                                           Randolph, OH 44265                                                                                    First Class Mail
Chartered Organization         Randolph Utd Methodist Church                           Glaciers Edge Council 620                           227 N High St                                              Randolph, WI 53956‐1217                                                                               First Class Mail
Chartered Organization         Random Lake District Explorers                          Bay‐Lakes Council 635                               W6566 Hwy 144                                              Random Lake, WI 53075                                                                                 First Class Mail
Firm                           Randy Harrold, LLC                                      T. Randolph Harrold                                 612 Alabama Avenue                                         Selma, AL 36701                                                    randyharrold@att.net               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Range 54 Llc                                            Quivira Council, Bsa 198                            5728 E Kellogg Dr                                          Wichita, KS 67218                                                                                     First Class Mail
Chartered Organization         Rangeley Ruritan Club                                   Blue Ridge Mtns Council 599                         1 Calloway Dr                                              Fieldale, VA 24089                                                                                    First Class Mail
Chartered Organization         Ranger Elementary                                       Buckskin 617                                        59 Vanatters Crk                                           Ranger, WV 25557‐9719                                                                                 First Class Mail
Chartered Organization         Ranger Joe'S God And Country Ministry                   Chattahoochee Council 091                           2 Stoneshoal Ct                                            Columbus, GA 31904‐4306                                                                               First Class Mail
Chartered Organization         Rankin Christian Center                                 Laurel Highlands Council 527                        230 3rd Ave                                                Braddock, PA 15104‐1147                                                                               First Class Mail
Chartered Organization         Ransburg Scout Reservation                              Crossroads of America 160                           7599 E Waldrip Creek Rd                                    Bloomington, IN 47401‐9753                                                                            First Class Mail
Chartered Organization         Rantoul Boys & Girls Club                               Prairielands 117                                    400 E Wabash Ave                                           Rantoul, IL 61866‐3013                                                                                First Class Mail
Voting Party                   Rantoul First United Methodist Church                   200 S Century Blvd                                  Rantoul, IL 61866                                                                                                                                                First Class Mail
Chartered Organization         Rantoul Rotary & Al Post 287                            Prairielands 117                                    1332 Harmon Dr                                             Rantoul, IL 61866‐3310                                                                                First Class Mail
Chartered Organization         Rantoul Rotary & Rantoul                                First United Methodist Church                       1421 Youman Dr                                             Rantoul, IL 61866‐3337                                                                                First Class Mail
Chartered Organization         Rantoul School District 137                             Prairielands 117                                    400 E Wabash Ave                                           Rantoul, IL 61866‐3013                                                                                First Class Mail
Chartered Organization         Rantoul Youth Center                                    Prairielands 117                                    1306 Country Club Ln                                       Rantoul, IL 61866                                                                                     First Class Mail
Chartered Organization         Rapidan Ward Lds                                        Stonewall Jackson Council 763                       1275 Timberwood Blvd                                       Charlottesville, VA 22911‐9095                                                                        First Class Mail
Chartered Organization         Rapides Parish Sheriff Dept                             Louisiana Purchase Council 213                      P.O. Box 1510                                              Alexandria, LA 71309                                                                                  First Class Mail
Chartered Organization         Rapids Volunteer Fire Co                                Iroquois Trail Council 376                          7195 Plank Rd                                              Lockport, NY 14094‐9352                                                                               First Class Mail
Chartered Organization         Raritan Bay Medical Center                              Monmouth Council, Bsa 347                           530 New Brunswick Ave                                      Perth Amboy, NJ 08861‐3654                                                                            First Class Mail
Chartered Organization         Raritan River Boat Club                                 Patriots Path Council 358                           P.O. Box 1288                                              Edison, NJ 08818‐1288                                                                                 First Class Mail
Chartered Organization         Ras Tanura Scouting Development                         Transatlantic Council, Bsa 802                      P.O. Box 4129                                              Ras Tanura, 31311                 Saudi Arabia                                                        First Class Mail
Chartered Organization         Rasberry Utd Methodist Men'S Group                      Chickasaw Council 558                               P.O. Box 532                                               Indianola, MS 38751‐0532                                                                              First Class Mail
Chartered Organization         Rasmussen College                                       Greater Tampa Bay Area 089                          18600 Fernview St                                          Land O Lakes, FL 34638‐6212                                                                           First Class Mail
Voting Party                   Ratcliffe, Judith                                       Address Redacted                                                                                                                                                                  Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Rathbone United Methodist Church                        Attn: Daniel H Reed                                 P.O. Box 1                                                 Addison, NY 14819                                                  danreed@stny.rr.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Rathdrum Citizens                                       Inland Nwest Council 611                            P.O. Box 426                                               Rathdrum, ID 83858‐0426                                                                               First Class Mail
Voting Party                   Rational Pr LLC                                         1828 L St, NW, Ste 640                              Washington, DC 20036                                                                                                          admin@rational360.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Raton Water Works                                       P.O. Box 99                                         Raton, NM 87740‐0099                                                                                                          gmtrujillo@cityofraton.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Raven Masonic Lodge 303 Af & Am                         Three Fires Council 127                             71 Main St                                                 Oswego, IL 60543‐8592                                                                                 First Class Mail
Chartered Organization         Ravenden Masonic Lodge 451                              Quapaw Area Council 018                             131 Hwy 90 N                                               Ravenden, AR 72459‐9083                                                                               First Class Mail
Chartered Organization         Ravenna Conservation Club                               President Gerald R Ford 781                         P.O. Box 394                                               Ravenna, MI 49451‐0394                                                                                First Class Mail
Chartered Organization         Ravenna First Utd Methodist Church                      Great Trail 433                                     263 S Prospect St                                          Ravenna, OH 44266‐3039                                                                                First Class Mail
Chartered Organization         Ravenna Lions Club                                      Overland Trails 322                                 401 Kufus Ave                                              Ravenna, NE 68869‐1219                                                                                First Class Mail
Chartered Organization         Ravenna Lions Club                                      Overland Trails 322                                 524 W Syracuse St                                          Ravenna, NE 68869‐1234                                                                                First Class Mail
Voting Party                   Ravenna Umc/ Ravenna Collaboratory                      c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Ravensway Homeowners Assoc                              Sam Houston Area Council 576                        13419 Tall Forest Dr                                       Cypress, TX 77429‐3162                                                                                First Class Mail
Voting Party                   Ravenswood Fellowship Umc                               4511 N Hermitage                                    Chicago, IL 60640                                                                                                             ravfelumc@yahoo.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Ravensworth Elementary School                           National Capital Area Council 082                   5411 Nutting Dr                                            Springfield, VA 22151‐2006                                                                            First Class Mail
Chartered Organization         Ravensworth School Pta                                  National Capital Area Council 082                   5411 Nutting Dr                                            Springfield, VA 22151‐2006                                                                            First Class Mail
Chartered Organization         Ravenwood Elementary Pto                                Heart of America Council 307                        12211 S Clinton St                                         Olathe, KS 66061‐6387                                                                                 First Class Mail
Chartered Organization         Ravenwood High School Jrotc                             Middle Tennessee Council 560                        1724 Wilson Pike                                           Brentwood, TN 37027‐8105                                                                              First Class Mail
Voting Party                   Rawlings Umc                                            18910 Mcmullen Hwy                                  Rawlings, MD 21557                                                                                                            rawlingsumc@atlanticbb.net         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Rawlins Elks Lodge 609                                  Longs Peak Council 062                              P.O. Box 609                                               Rawlins, WY 82301‐0609                                                                                First Class Mail
Chartered Organization         Rawson Elementary Pto                                   Three Harbors Council 636                           1410 Rawson Ave                                            South Milwaukee, WI 53172‐1941                                                                        First Class Mail
Voting Party                   Rawvoice Inc                                            17525 Egan Dr                                       Coopersville, MI 49404‐9499                                                                                                                                      First Class Mail
Voting Party                   Ray Capp                                                c/o Boy Scouts of America                           Attn: Chase Koontz                                         1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Ray Graham Assoc                                        Three Fires Council 127                             420 W Madison St                                           Elmhurst, IL 60126‐4704                                                                               First Class Mail
Chartered Organization         Rayburn Elementary Pta                                  Rio Grande Council 775                              7000 N Main St                                             Mcallen, TX 78504‐3148                                                                                First Class Mail
Chartered Organization         Rayma C Page Elementary                                 Southwest Florida Council 088                       17000 S Tamiami Trl                                        Fort Myers, FL 33908‐4557                                                                             First Class Mail
Voting Party                   Raymark ULC                                             c/o M19 Inc                                         Attn: Karina Duquesne                                      12000 Biscayne Blvd, Ste 600      Miami, FL 33181                  kduquesne@mi9retail.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Raymark ULC                                             2020 Route Transcanadienne, Ste 401                 Montreal, QC H9P 2N4                                       Canada                                                                                                First Class Mail
Chartered Organization         Raymond Academy Pto                                     Sam Houston Area Council 576                        1605 Connorvale Rd                                         Houston, TX 77039‐3014                                                                                First Class Mail
Chartered Organization         Raymond Commty                                          Fire Protection District                            P.O. Box 134                                               Raymond, IL 62560‐0134                                                                                First Class Mail
Voting Party                   Raymond E Johns Jr                                      c/o Boy Scouts of America                           Attn: Chase Koontz                                         1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Raymond E Walton Post 70                                Daniel Webster Council, Bsa 330                     169 Walton Rd                                              Seabrook, NH 03874‐4538                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 311 of 442
                                                                                 Case 20-10343-LSS                                                                                 Doc 8171                                             Filed 01/06/22                                                       Page 327 of 457
                                                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                                                            Service List
                                                                                                                                                                                                                     Served as set forth below

        Description                                                       Name                                                                                                                                           Address                                                                                                                                   Email                  Method of Service
Chartered Organization         Raymond Fire & Resuce Dept                                                          Three Harbors Council 636                                 2255 76th St                                                      Franksville, WI 53126‐9539                                                                                                      First Class Mail
Chartered Organization         Raymond Firefighters Assoc                                                          Daniel Webster Council, Bsa 330                           1 Scribner Rd                                                     Raymond, NH 03077‐2237                                                                                                          First Class Mail
Chartered Organization         Raymond Park Intermediate School                                                    Crossroads of America 160                                 8575 E Raymond St                                                 Indianapolis, IN 46239‐9426                                                                                                     First Class Mail
Chartered Organization         Raymond Police Dept                                                                 Daniel Webster Council, Bsa 330                           1 Scribner Rd                                                     Raymond, NH 03077‐2237                                                                                                          First Class Mail
Voting Party                   Raymond Storage Concepts, Inc                                                       5480 Creek Rd                                             Blue Ash, OH 45242‐4002                                                                                                                                                                           First Class Mail
Voting Party                   Raymond United Methodist Church                                                     P.O. Box 64                                               230 W Main St                                                     Raymond, MS 39154                                                                        raymondunitedmet@bellsouth.net         Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Raymond United Methodist Church                                                     Attn: Treasurer                                           21535 Main St                                                     Raymond, OH 43067                                                                        PastorDonna@raymondumc.org             Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Raymond United Methodist Church                                                     Keith Beasley‐Topliffe                                    70 Foundry St, Unit 330                                           Manchester, NH 03102                                                                     kbeasliffe@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Raymond United Methodist Church                                                     Attn: Treasurer, Raymond Umc                              P.O. Box 705                                                      Raymond, NH 03077                                                                        kbeasliffe@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Raymond United Methodist Church                                                     Angela Kaye Guullotte                                     5532 Pine Island Hwy                                              Sennings, LA 70546                                                                       anglakg@yahoo.com                      Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Raymond United Methodist Church                                                     Attn: Angela Guillotte                                    4881 Pine Island Hwy                                              Sennings, LA 70546                                                                       angelakg@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Raymond Utd Methodist Ch                                                            Andrew Jackson Council 303                                P.O. Box 64                                                       Raymond, MS 39154‐0064                                                                                                          First Class Mail
Chartered Organization         Raymond Utd Methodist Church                                                        Calcasieu Area Council 209                                5532 Pine Island Hwy                                              Jennings, LA 70546‐8855                                                                                                         First Class Mail
Chartered Organization         Raymond Utd Methodist Church                                                        Simon Kenton Council 441                                  21535 State Route 347                                             Raymond, OH 43067                                                                                                               First Class Mail
Chartered Organization         Raymond Village Community Church                                                    Pine Tree Council 218                                     P.O. Box 285                                                      Raymond, ME 04071‐0285                                                                                                          First Class Mail
Chartered Organization         Raymond W Ritch Psych Services                                                      Nevada Area Council 329                                   965 Aster Ln                                                      Fernley, NV 89408‐6509                                                                                                          First Class Mail
Voting Party                   Raymore Christian Church                                                            Attn: Brett Dwayne Winters                                500 Peace Dr                                                      P.O. Box 680                      Raymore, MO 64012                                      secretary@raymorecc.org                Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Raymore Christian Church                                                            Attn: Brett Dwayne Winters                                500 Peace Dr                                                      P.O. Box 680                      Raymore, MO 64012                                      brett@raymorecc.org                    Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Raymore Presbyterian Church                                                         Heart of America Council 307                              204 S Jefferson St                                                Raymore, MO 64083‐9704                                                                                                          First Class Mail
Chartered Organization         Rayne Volunteer Fire Dept                                                           Evangeline Area 212                                       P.O. Box 373                                                      Rayne, LA 70578‐0373                                                                                                            First Class Mail
Chartered Organization         Raynor Park Christian Church                                                        Silicon Valley Monterey Bay 055                           1515 Partridge Ave                                                Sunnyvale, CA 94087‐4952                                                                                                        First Class Mail
Chartered Organization         Rayson‐Miller American Legion Post 899                                              Seneca Waterways 397                                      21 N Main St                                                      Pittsford, NY 14534‐1309                                                                                                        First Class Mail
Chartered Organization         Raytheon Middle East Systems                                                        Transatlantic Council, Bsa 802                            P.O. Box 1348                                                     Jeddah, 21431                     Saudi Arabia                                                                                  First Class Mail
Chartered Organization         Raytown Christian Church                                                            Heart of America Council 307                              6108 Blue Ridge Blvd                                              Raytown, MO 64133‐4106                                                                                                          First Class Mail
Chartered Organization         Razorback Moose Legion 181                                                          Westark Area Council 016                                  P.O. Box 3                                                        Lowell, AR 72745‐0003                                                                                                           First Class Mail
Voting Party                   Rc Diocese Of Paterson                                                              Attn: Kenneth F Mullaney Jr                               777 Valley Rd                                                     Clifton, NJ 07013                                                                                                               First Class Mail
Voting Party                   Rc Diocese Of Paterson                                                              Kenneth F. Mullaney, Jr                                   777 Valley Rd                                                     Clifton, NJ 07013                                                                                                               First Class Mail
Voting Party                   RCG Global Services, Inc                                                            Attn: Tom Laudise                                         170 Wood Ave 4th Fl                                               Iselin, NJ 08830                                                                         thomas.laudise@rcggs.com               Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Re Flooring And Services                                                            Pikes Peak Council 060                                    8610 Brockhill Dr                                                 Colorado Springs, CO 80920‐7372                                                                                                 First Class Mail
Chartered Organization         Re/Max Clarity                                                                      San Diego Imperial Council 049                            884 Eastlake Pkwy, Ste 1629                                       Chula Vista, CA 91914‐4549                                                                                                      First Class Mail
Chartered Organization         Rea Avenue Reformed Church                                                          Northern New Jersey Council, Bsa 333                      89 3rd Ave                                                        Hawthorne, NJ 07506‐2413                                                                                                        First Class Mail
Chartered Organization         Reach Academy                                                                       Erie Shores Council 460                                   2125 University Park Dr, Ste 250                                  Okemos, MI 48864‐5903                                                                                                           First Class Mail
Chartered Organization         Reach Charter Academy Parent Assoc                                                  Great Lakes Fsc 272                                       25275 Chippendale St                                              Roseville, MI 48066‐3960                                                                                                        First Class Mail
Chartered Organization         Reach High School ‐ Isothermal College                                              Piedmont Council 420                                      P.O. Box 804                                                      Spindale, NC 28160‐0804                                                                                                         First Class Mail
Chartered Organization         Reach Regional Enterprises                                                          For Adults and Children, Inc                              2205 Heimstead Rd                                                 Eau Claire, WI 54703‐4954                                                                                                       First Class Mail
Chartered Organization         Readfield Utd Methodist Church                                                      Pine Tree Council 218                                     P.O. Box 286                                                      Kents Hill, ME 04349‐0286                                                                                                       First Class Mail
Chartered Organization         Reading Hospital & Medical Center                                                   Hawk Mountain Council 528                                 6th & Spruce St                                                   West Reading, PA 19611                                                                                                          First Class Mail
Voting Party                   Reading United Methodist Church, A Michigan Ecclesiastical Corp                     c/o Bowen, Radabaugh & Milton Pc                          Attn: James M Radabaugh                                           100 E Big Beaver Rd, Ste 350      Troy, MI 48083                                         jmradabaugh@brmattorneys.com           Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Reading Utd Methodist Church                                                        Southern Shores Fsc 783                                   312 Michigan St                                                   Reading, MI 49274‐9692                                                                                                          First Class Mail
Voting Party                   Reading: Grace United Methodist Church                                              Attn: Jean Lee Howe                                       1112 Union St                                                     Reading, PA 19604                                                                        ce.reading.grace@epaumc.org            Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Readington Reformed Church                                                          Washington Crossing Council 777                           P.O. Box 1                                                        Readington, NJ 08870‐0001                                                                                                       First Class Mail
Chartered Organization         Readlyn Volunteer Fire Dept                                                         Winnebago Council, Bsa 173                                119 Main St                                                       Readlyn, IA 50668                                                                                                               First Class Mail
Voting Party                   Ready Refresh By Nestle                                                             P.O. Box 856680                                           Louisville, KY 40285‐6680                                                                                                                                                                         First Class Mail
Chartered Organization         Real Estate Economics                                                               Orange County Council 039                                 905 Calle Amanecer                                                San Clemente, CA 92673‐6274                                                                                                     First Class Mail
Chartered Organization         Real Estate Investment Advisors Inc                                                 Three Fires Council 127                                   1S534 Taylor Rd                                                   Glen Ellyn, IL 60137                                                                                                            First Class Mail
Chartered Organization         Real Property Management & Maintenance                                              Crater Lake Council 491                                   539 G St, Ste 109                                                 Eureka, CA 95501‐1044                                                                                                           First Class Mail
Chartered Organization         Realestate Masters, LLC                                                             Las Vegas Area Council 328                                1058 W Owens Ave                                                  Las Vegas, NV 89106‐2507                                                                                                        First Class Mail
Voting Party                   Reber United Methodist Church                                                       Attn: Andrea K Robare                                     302 Reber Rd                                                      Willsboro, NY 12996                                                                      akrobare@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Recinto Universitario De Mayaguez                                                   Puerto Rico Council 661                                   Rectoria Rum                                                      Mayaguez, PR 00680                                                                                                              First Class Mail
Voting Party                   Records Hardware Inc                                                                Records Ace Hardware                                      1124 S 2nd St                                                     Raton, NM 87740‐2306                                                                     recordsbilling@bacavalley.com          Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Recreation Ctrs Grand Lodge Masons Mn                                               Northern Star Council 250                                 11501 Masonic Home Dr                                             Bloomington, MN 55437‐3661                                                                                                      First Class Mail
Voting Party                   Rector First United Methodist Church                                                Attn: Lindsey Emerson Raines                              Friday Eldredge & Clark LLP                                       400 W Capitol Ave, Ste 2000       Little Rock, AR 72201                                  lraines@fridayfirm.com                 Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector First United Methodist Church                                                Attn: Heather Simmons                                     116 W 3rd St                                                      Rector, AR 72461                                                                         jhsimmons@newwavecomm.net              Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector Warden & Vestrymen Of St. Michael's Episcopal Church                         c/o Plews Shadley Racher & Braun LLP                      Attn: Todd G Relue                                                1346 N Delaware St                Indianapolis, IN 46202                                 trelue@psrb.com                        Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector Wardens & Vestry Of St. Christopher's Episcopal Church                       c/o Plews Shadley Racher & Braun LLP                      Attn: Todd G Relue                                                1346 N Delaware St                Indianapolis, IN 46202                                 trelue@psrb.com                        Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector Wardens & Vestry Of St. Matthew's Episcopal Church                           c/o Plews Shadley Racher & Braun LLP                      Attn: Todd G Relue                                                1346 N Delaware St                Indianapolis, IN 46202                                 trelue@psrb.com                        Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector Wardens & Vestry Of Trinity Episcopal Church                                 c/o Plews Shadley Racher & Braun LLP                      Attn: Todd G Relue                                                1346 N Delaware St                Indianapolis, IN 46202                                 trelue@psrb.com                        Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector Wardens & Vestrymen Of Grace Episcopal Church Muncie                         c/o Plews Shadley Racher & Braun LLP                      Attn: Todd G Relue                                                1346 N Delaware St                Indianapolis, IN 46202                                 trelue@psrb.com                        Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector Wardens & Vestrymen Of St Peters Parish                                      Attn: Gary Prewitt                                        311 W 7th St                                                      Columbia, TN 38401                                                                       office@saintpeterscolumbia.org         Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector Wardens & Vestrymen Of St. Paul's Episcopal Church                           c/o Plews Shadley Racher & Braun LLP                      Attn: Todd G Relue                                                1346 N Delaware St                Indianapolis, IN 46202                                 trelue@psrb.com                        Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector Wardens & Vestrymen Of The Church Of The Intercession                        Attn: Church of the Intercession                          550 West 155th St                                                 New York, NY 10032                                                                       intercession550@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector Wardens & Vestrypersons Of St. Thomas Episcopal Church                       c/o Plews Shadley Racher & Braun LLP                      Attn: Todd G Relue                                                1346 N Delaware St                Indianapolis, IN 46202                                 trelue@psrb.com                        Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector Wardens And Vestry Members Of St Barnabas Episcopal Church                   Attn: Robert Keim                                         301 Trinity Ave                                                   Arroyo Grande, CA 93420                                                                  rob.stbarnabas@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector Wardens And Vestry Of St James Episcopal Church                              Attn: Rector of St James Episcopal Church                 3903 Wilshire Blvd                                                Los Angeles, CA 90010                                                                    kcress@stjla.org                       Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector Wardens And Vestry Of St. Peter's Episcopal Church                           c/o Plews Shadley Racher & Braun LLP                      Attn: Todd G Relue                                                1346 N Delaware St                Indianapolis, IN 46202                                 trelue@psrb.com                        Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector Wardens And Vestrymen Of St George's Parish                                  Attn: Laura Zabaski                                       4715 Harding Rd                                                   Nashville, TN 37205                                                                      laura.zabaski@stgeorgesnashville.org   Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector, Church Wardens & Vestry Members Of St Luke's Episcopal Church Of Evanston   Attn: Rev Kathryn Banakis                                 939 Hinman Ave                                                    Evanston, IL 60202                                                                       pasartori@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector, Warden & Vestrymen Of St. Mark's Church ‐ Glen Elyn                         Attn: Rev. George D. Smith                                154 Nicoll Ave                                                    Glen Elyn, IL 60137                                                                      rectordiane@emmanuelrockford.org       Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector, Warden &Vestrymen Of St. Mark'S Church, Glen Elyn                           George D. Smith                                           154 Nicoll Ave                                                    Glen Ellyn, IL 61103                                                                     rector@stmarksglenellyn.org            Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector, Wardens & Vestry Of St. Ann's Church                                        37 Div St                                                 Amsterdam, NY 12010                                                                                                                                        saintannamsterdam@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector, Wardens & Vestrymen Of St. John's Episcopal Church                          c/o Plews Shadley Racher & Braun LLP                      Attn: Todd G Relue                                                1346 N Delaware St                Indianapolis, IN 46202                                 trelue@psrb.com                        Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector, Wardens & Vestrypersons Of St. Simon's                                      Attn: Carole Forsythe                                     717 W Kirchoff Rd                                                 Arlington Heights, IL 60005                                                              office@saintsimons.org                 Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector, Wardens & Vestrypersons Of St. Simon'S                                      Diane Tomlinson                                           717 W Kirchoff Rd                                                 Arlington Heights, IL 60005                                                              office@saintsimons.org                 Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector, Wardens And Vestry Of Holy Trinity Episcopal Church                         Attn: The Rev Mark H Chattin                              839 Haddon Ave                                                    Collingswood, NJ 08108                                                                   holytrinity1@verizon.net               Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector, Wardens& Vestry Of St. Mary's Episcopal Church                              Attn: The Rev J Connor Haynes                             145 W Broad St                                                    Burlington, NJ 08016                                                                     therector@stmarysburlington.org        Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rector, Wardens, And Vestry Of St. John's Episcopal Church                          Attn: Rev Daniel Currie Green                             40 5th St                                                         Petaluma, CA 94952                                                                       rector.episcopal.petaluma@gmail.com    Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Rectortown Umc                                                                      c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                                        erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Red Apple Charter Schools Usa                                                       Gulf Stream Council 085                                   12031 Sern Blvd                                                   Loxahatchee, FL 33470                                                                                                           First Class Mail
Chartered Organization         Red Apple Charter Schs Usa                                                          Palms W Charter                                           12031 Sern Blvd                                                   Loxahatchee, FL 33470                                                                                                           First Class Mail
Chartered Organization         Red Bank Elementary Parents Club                                                    Sequoia Council 027                                       1454 Locan Ave                                                    Clovis, CA 93619‐6901                                                                                                           First Class Mail
Voting Party                   Red Bank United Methodist Church                                                    Attn: Rev. Dr Clay Faulk                                  2909 Old Barnwell Rd                                              Lexington, SC 29073                                                                      pastorcfaulk@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Red Bay 1St United Methodist Church                                                 Attn: Dallas Culver                                       P.O. Box 126                                                      Red Bay, AL 35582                                                                        redbayumc@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Red Bluff Chp                                                                       Golden Empire Council 047                                 2550 Main St                                                      Red Bluff, CA 96080‐2336                                                                                                        First Class Mail
Chartered Organization         Red Bluff Elks Lodge 1250                                                           Golden Empire Council 047                                 355 Gilmore Rd                                                    Red Bluff, CA 96080‐3513                                                                                                        First Class Mail
Chartered Organization         Red Bluff Rotary Club                                                               Golden Empire Council 047                                 22500 Saron Fruit Colony Rd                                       Red Bluff, CA 96080‐9607                                                                                                        First Class Mail
Chartered Organization         Red Bridge School Pta                                                               Heart of America Council 307                              10781 Oak St                                                      Kansas City, MO 64114‐5055                                                                                                      First Class Mail
Chartered Organization         Red Budd Holy Church                                                                East Carolina Council 426                                 637 Cleveland St                                                  Rocky Mount, NC 27803‐3506                                                                                                      First Class Mail
Chartered Organization         Red Clay Creek Presbyterian Church                                                  Del Mar Va 081                                            500 Mckennans Church Rd                                           Wilmington, DE 19808‐1360                                                                                                       First Class Mail
Voting Party                   Red Door Nfc                                                                        Melrose Park Red Door Nfc                                 1417 N 37th Ave                                                   Melrose Park, IL 60160                                                                   shalamar@thereddoorumc.org             Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Red Gold Inc                                                                        Crossroads of America 160                                 120 E Oak St                                                      Orestes, IN 46063                                                                                                               First Class Mail
Chartered Organization         Red Hill Lutheran Church                                                            Orange County Council 039                                 13200 Red Hill Ave                                                Tustin, CA 92780‐3839                                                                                                           First Class Mail
Voting Party                   Red Hill Murphytown Um Charge                                                       Mary Zimmer                                               162 Red Hill Church Rd                                            Parkersburg, WV 26104                                                                    pastormezimmer@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Red Hill United Methodist Church                                                    Attn: Robert Dowd, Treasurer                              114 Red Hill Church Rd                                            Parkersburg, WV 26104                                                                    pastormezimmer@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Red Hook Rhinebeck Elks 2022                                                        Hudson Valley Council 374                                 7711 Albany Post Rd                                               Red Hook, NY 12571‐2146                                                                                                         First Class Mail
Voting Party                   Red Hook United Methodist Church                                                    Attn: Stephen Ernst                                       4 Church St                                                       Red Hook, NY 12571                                                                       redhookumc@umcchurches.org             Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Red Lick Middle School                                                              Caddo Area Council 584                                    3511 N Fm 2148                                                    Texarkana, TX 75503‐4821                                                                                                        First Class Mail
Voting Party                   Red Lion United Methodist Church ‐ Bear                                             c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                                        erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Red Lion Zion United Methodist Church (09440)                                       c/o Bentz Law Firm                                        Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228                                   lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Red Lion Zion United Methodist Church (09440)                                       c/o Bentz Law Firm                                        Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200        Pittsburgh, PA 15228                                   lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Red Mountain Appraisal Services, LLC                                                116 S 2nd St                                              Raton, NM 87740                                                                                                                                            eofloyd@bacavalley.com                 Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Red Mountain United Methodist Church (AZ)                                           c/o Clarke Law Firm, Plc                                  Attn: Marilee Miller Clarke                                       8141 E Indian Bend Rd, Ste 105    Scottsdale, AZ 85250                                   marilee@clarkelawaz.com                Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Red Oak Debalb Umc                                                                  Kendall Guither                                           17935 2900 North Ave                                              Walnut, IL 61376                                                                                                                First Class Mail
Voting Party                   Red Oak Dekalb Umc                                                                  16961 2900 North Ave                                      Walnut, IL 61376                                                                                                                                                                                  First Class Mail
Voting Party                   Red Oak First United Methodist Church                                               c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                                        erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Red Oak First United Methodist Church                                               600 Daubitz Dr                                            Red Oak, TX 75154                                                                                                                                                                                 First Class Mail
Chartered Organization         Red Oak Police Dept                                                                 Circle Ten Council 571                                    100 Bonham Ct, Ste 16                                             Red Oak, TX 75154‐4670                                                                                                          First Class Mail
Chartered Organization         Red Oak Presbyterian Church                                                         Mid‐America Council 326                                   511 W Coolbaugh St                                                Red Oak, IA 51566‐6106                                                                                                          First Class Mail
Voting Party                   Red Oak United Methodist Church                                                     Attn: David Joyner                                        P.O. Box 66                                                       Red Oak, NC 27868‐0066                                                                   djoyner@nccumc.org                     Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Red Pants Alliance                                                                  Tukabatchee Area Council 005                              125 Chennault Cir                                                 Montgomery, AL 36112‐6008                                                                                                       First Class Mail
Chartered Organization         Red River Ford Durant Boys & Girls Club                                             Circle Ten Council 571                                    415 N 5th Ave                                                     Durant, OK 74701                                                                                                                First Class Mail
Voting Party                   Red River Ford Lincoln, Inc                                                         Attn: Darrell Mendez                                      402 Westside Dr                                                   Durant, OK 74701                                                                         dmendez@redriverford.com               Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Red River Reformed Church                                                           Northern Lights Council 429                               607 9th St E                                                      West Fargo, ND 58078‐2800                                                                                                       First Class Mail
Chartered Organization         Red Rock Bees, LLC                                                                  Capitol Area Council 564                                  144 Spring Creek Dr                                               Cedar Creek, TX 78612‐4893                                                                                                      First Class Mail
Chartered Organization         Red Rock Office Furniture                                                           Denver Area Council 061                                   831 Timbervale Trl                                                Highlands Ranch, CO 80129‐6928                                                                                                  First Class Mail
Chartered Organization         Red Rock Utd Methodist Church                                                       Great Rivers Council 653                                  4760 W Squire Court Rd                                            Harrisburg, MO 65256‐9212                                                                                                       First Class Mail
Chartered Organization         Red Rock Volunteer Fire                                                             Nevada Area Council 329                                   16180 N Red Rock Rd                                               Reno, NV 89508‐9560                                                                                                             First Class Mail
Chartered Organization         Red Rock Ward ‐ Lds Marana Stake                                                    Catalina Council 011                                      13450 N Lon Adams Rd                                              Marana, AZ 85653                                                                                                                First Class Mail
Chartered Organization         Red Rocks Ward                                                                      Denver Area Council 061                                   9227 W Dartmouth Pl                                               Lakewood, CO 80227                                                                                                              First Class Mail
Chartered Organization         Red Rocks, Front Range                                                              Denver Area Council 061                                   13206 W Green Mountain Dr                                         Lakewood, CO 80228‐3515                                                                                                         First Class Mail
Chartered Organization         Red Smith School Pto                                                                Bay‐Lakes Council 635                                     2765 Sussex Rd                                                    Green Bay, WI 54311‐7295                                                                                                        First Class Mail
Voting Party                   Red Valley Umc                                                                      c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                                        erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Red Valley Utd Methodist Church                                                     Blue Ridge Mtns Council 599                               30 Red Valley Rd                                                  Boones Mill, VA 24065‐4648                                                                                                      First Class Mail
Chartered Organization         Red Wine Utd Methodist Church                                                       Northeast Georgia Council 101                             3285 Poplar Springs, Rd                                                                                                                                                                           First Class Mail
Chartered Organization         Red Wing Police Dept                                                                Gamehaven 299                                             430 W 6th St                                                      Red Wing, MN 55066‐2475                                                                                                         First Class Mail
Voting Party                   Redacted Claim [363]                                                                Address Redacted                                                                                                                                                                                                     Email Address Redacted                 Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Redacted Claim 1072                                                                 Address Redacted                                                                                                                                                                                                     Email Address Redacted                 Email
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Voting Party                   Redacted Claim 6355                                                                 Address Redacted                                                                                                                                                                                                     Email Address Redacted                 Email
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Voting Party                   Redacted Claim 8956                                                                 Address Redacted                                                                                                                                                                                                     Email Address Redacted                 Email
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Voting Party                   Redacted Minor                                                                      Address Redacted                                                                                                                                                                                                     Email Address Redacted                 Email
                                                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Redacted Minor Claim 1                                                              Brett Senentz, Amanda Senetz On Behalf of Their Minor Son c/o Chambliss, Bahner & Stopherl                                  Attn: Jeffrey Granillo            605 Chestnut St, Ste 1700      Chattanooga, TN 37450   jgranillo@chamblisslaw.com             Email
                                                                                                                   As                                                                                                                                                                                                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                            Page 312 of 442
                                                                                    Case 20-10343-LSS                                    Doc 8171                                      Filed 01/06/22                                                      Page 328 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                          Name                                                                                       Address                                                                                                                Email                  Method of Service
Voting Party                   Redacted Minor Claim 43                                     Address Redacted                                                                                                                                                          Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Redacted, a minor child (David Dale parent)                 Address Redacted                                                                                                                                                          Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Redbone United Methodist Church                             43 Burnt House Rd                       Vicksburg, MS 39180                                                                                                               larry_wagner@att.net                  Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Redding Elks Lodge 1073                                     Golden Empire Council 047               P.O. Box 994266                                            Redding, CA 96099‐4266                                                                                       First Class Mail
Chartered Organization         Redding Host Lions Club                                     Golden Empire Council 047               2632 Brooch Ct                                             Redding, CA 96001‐5399                                                                                       First Class Mail
Chartered Organization         Redding Police Dept                                         Golden Empire Council 047               1313 California St                                         Redding, CA 96001‐0602                                                                                       First Class Mail
Chartered Organization         Reddy Mcclellanvfw Post 8789 ‐Bowie                         Northwest Texas Council 587             707 E Nelson St                                            Bowie, TX 76230‐3805                                                                                         First Class Mail
Chartered Organization         Redeemer Church                                             California Inland Empire Council 045    22434 Nisqually Rd                                         Apple Valley, CA 92308‐6577                                                                                  First Class Mail
Chartered Organization         Redeemer Church                                             Dan Beard Council, Bsa 438              3431 Hamilton Middletown Rd                                Fairfield Township, OH 45011‐2237                                                                            First Class Mail
Chartered Organization         Redeemer Church                                             Bay Area Council 574                    18218 Hwy 6                                                Manvel, TX 77578‐3761                                                                                        First Class Mail
Chartered Organization         Redeemer Community Church                                   Sam Houston Area Council 576            24201 Cinco Ranch Blvd                                     Katy, TX 77494‐2987                                                                                          First Class Mail
Chartered Organization         Redeemer Covenant Church                                    Indian Nations Council 488              5415 E 101st St                                            Tulsa, OK 74137‐6005                                                                                         First Class Mail
Voting Party                   Redeemer Episcopal Church In San Rafael, California         Attn: The Rev James Ward                123 Knight Dr                                              San Rafael, CA 94901                                                   vicar.redeemer@gmail.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Redeemer Evangelical Lutheran Church                        Attn: President                         5120 Harrison Rd                                           Fredericksburg, VA 22408                                               president@embracedbyhim.org           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Redeemer Evangelical Lutheran Church                        Attn: Mark Rhodes                       20440 Downes Rd                                            Parkton, MD 21120                                                      info@redeemerparkton.org              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Redeemer Evangelical Lutheran Church, The Bronx, New York   Attn: Pastor Dien Ashley Taylor         4360 Boyd Ave                                              Bronx, NY 10466                                                        pastor@redeemerlutheranbronx.org      Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Redeemer Luther Church                                      Attn: Council President                 1410 W Boston Ave                                          Indianola, IA 50125                                                    office@redeemerindianola.org          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Twin Valley Council Bsa 283             191 Water St                                               Alden, MN 56009‐1108                                                                                         First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Capitol Area Council 564                1500 W Anderson Ln                                         Austin, TX 78757‐1453                                                                                        First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Cherokee Area Council 469 469           3700 Woodland Rd                                           Bartlesville, OK 74006‐4531                                                                                  First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Illowa Council 133                      1107 Tanglefoot Ln                                         Bettendorf, IA 52722‐1738                                                                                    First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Buckskin 617                            116 Hickory Rd                                             Charleston, WV 25314‐1824                                                                                    First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Buckskin 617                            1 Deerwalk Ln                                              Charleston, WV 25314‐2103                                                                                    First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Greater St Louis Area Council 312       1620 Boyd St                                               De Soto, MO 63020‐1070                                                                                       First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Longs Peak Council 062                  7755 Greenstone Trl                                        Fort Collins, CO 80525‐8409                                                                                  First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    National Capital Area Council 082       5120 Harrison Rd                                           Fredericksburg, VA 22408‐1803                                                                                First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    President Gerald R Ford 781             P.O. Box 184                                               Interlochen, MI 49643‐0184                                                                                   First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Chief Seattle Council 609               6001 Island Crest Way                                      Mercer Island, WA 98040‐4518                                                                                 First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Heart of Virginia Council 602           9400 Redbridge Rd                                          North Chesterfield, VA 23236‐3566                                                                            First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Buffalo Trail Council 567               824 E 18th St                                              Odessa, TX 79761‐1306                                                                                        First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Tidewater Council 596                   1901 Airline Blvd                                          Portsmouth, VA 23701‐2901                                                                                    First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Ozark Trails Council 306                1703 E State Route 72                                      Rolla, MO 65401                                                                                              First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Coronado Area Council 192               743 E Magnolia Rd                                          Salina, KS 67401‐6912                                                                                        First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Inland Nwest Council 611                3606 S Schafer Rd                                          Spokane Valley, WA 99206‐9518                                                                                First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Gulf Stream Council 085                 2450 SE Ocean Blvd                                         Stuart, FL 34996‐3312                                                                                        First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Patriots Path Council 358               203 Eyland Ave                                             Succasunna, NJ 07876‐1109                                                                                    First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Northern Star Council 250               3770 Bellaire Ave                                          White Bear Lake, MN 55110‐4901                                                                               First Class Mail
Chartered Organization         Redeemer Lutheran Church                                    Blackhawk Area 660                      1320 Dean St                                               Woodstock, IL 60098‐4112                                                                                     First Class Mail
Voting Party                   Redeemer Lutheran Church                                    1701 E State Rte 72                     Rolla, MO 65401                                                                                                                   redeemer@fidnet.com                   Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Redeemer Lutheran Church                                    525 St Andrews Rd                       Columbia, SC 29210                                                                                                                pastorgary@rrelu.church               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Redeemer Lutheran Church                                    Attn: David E Gray, Esq                 760 Rt 10, Ste 204                                         Whippany, NJ 07981                                                     dgray@graylawgroup.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Redeemer Lutheran Church ‐ Elca                             Bay‐Lakes Council 635                   1808 Eern Ave                                              Plymouth, WI 53073                                                                                           First Class Mail
Chartered Organization         Redeemer Lutheran Church And School                         Pacific Skyline Council 031             468 Grand St                                               Redwood City, CA 94062‐2062                                                                                  First Class Mail
Voting Party                   Redeemer Lutheran Church Of Bayside                         Attn: John E Lander, Esq.               484 W Main St                                              Babylon, NY 11702                                                      jlander059@aol.com                    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Redeemer Lutheran Church Of Redwood City, California        Attn: William R Morris, Esq             1771 Woodside Rd                                           Redwood City, CA 94061                                                                                       First Class Mail
Chartered Organization         Redeemer Lutheran Church/School                             Great Trail 433                         2141 5th St                                                Cuyahoga Falls, OH 44221‐3213                                                                                First Class Mail
Voting Party                   Redeemer United Methodist                                   Attn: Amos N Oladipo                    1000 Central Ave                                           Oak Lawn, IL 60453                                                     oladipoamos@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Redeemer United Methodist Church                            Attn: Keith Lamb                        13980 Schavey Rd                                           Dewitt, MI 48820                                                       Keith@dewittredeemer.org              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Redeemers Utd Church Of Christ                              New Birth of Freedom 544                107 E King St                                              Littlestown, PA 17340‐1613                                                                                   First Class Mail
Chartered Organization         Redeemer'S Utd Church Of Christ                             New Birth of Freedom 544                107 E King St                                              Littlestown, PA 17340‐1613                                                                                   First Class Mail
Chartered Organization         Redeeming Grace Church                                      National Capital Area Council 082       5200 Ox Rd                                                 Fairfax, VA 22030‐4576                                                                                       First Class Mail
Chartered Organization         Redeeming Love Baptist Church                               Occoneechee 421                         3425 Rock Quarry Rd                                        Raleigh, NC 27610‐5115                                                                                       First Class Mail
Chartered Organization         Redemption Church                                           Grand Canyon Council 010                1820 W Elliot Rd                                           Gilbert, AZ 85233‐5010                                                                                       First Class Mail
Chartered Organization         Redemption Guard                                            Sam Houston Area Council 576            8126 Stoneyway Dr                                          Houston, TX 77040‐5160                                                                                       First Class Mail
Chartered Organization         Redemption Rock                                             Cape Cod and Islands Cncl 224           195 Meetinghouse Rd                                        South Chatham, MA 02659‐1402                                                                                 First Class Mail
Chartered Organization         Redemptorist Friends Of Scouting                            Heart of America Council 307            3329 Charlotte St                                          Kansas City, MO 64109‐1741                                                                                   First Class Mail
Chartered Organization         Redemptorist Friends Of Scouting                            Heart of America Council 307            3333 Broadway Blvd                                         Kansas City, MO 64111‐2401                                                                                   First Class Mail
Chartered Organization         Redesigning Minds                                           Baltimore Area Council 220              23 W Susquehanna Ave                                       Baltimore, MD 21204‐5222                                                                                     First Class Mail
Chartered Organization         Redfield American Legion Post 261                           Mid Iowa Council 177                    P.O. Box 304                                               Redfield, IA 50233‐0304                                                                                      First Class Mail
Voting Party                   Redford Aldersgate Umc                                      Attn: Rev Julie Herod (Treasurer)       10000 Beech Daly Rd                                        Redford, MI 48239                                                      church@redfordaldersgate.org          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Redford Aldersgate Umc                                      Benjamin John Richard Bower             10000 Beech Daly Rd                                        Redford, MI 48239                                                      church@redfordaldersgate.org          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Redford Service Learning Academy                            Great Lakes Fsc 272                     21605 W 7 Mile Rd                                          Detroit, MI 48219‐1810                                                                                       First Class Mail
Chartered Organization         Redford Township Command Officers Assoc                     Great Lakes Fsc 272                     25833 Elsinore                                             Detroit, MI 48239‐3216                                                                                       First Class Mail
Voting Party                   Redland Umc                                                 Harry Linton                            P.O. Box 605                                               Cross Junction, VA 22625‐0605                                          harry.linton@thewindowman.com         Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Redland Umc                                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Redland United Methodist Church                             Attn: Susan Whitacre                    P.O. Box 557                                               Cross Junction, VA 22625                                               whitds@verizon.net                    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Redland Utd Methodist Church                                Shenandoah Area Council 598             6540 N Frederick Pike                                      Cross Junction, VA 22625                                                                                     First Class Mail
Chartered Organization         Redland Utd Methodist Church                                Shenandoah Area Council 598             P.O. Box 605                                               Cross Junction, VA 22625‐0605                                                                                First Class Mail
Chartered Organization         Redlands Fire Dept                                          California Inland Empire Council 045    35 Cajon St                                                Redlands, CA 92373‐4746                                                                                      First Class Mail
Voting Party                   Redlands First United Methodist Church                      Attn: J T Greenleaf & Cyndi Potter      1 E Olive Ave                                              Redlands, CA 92373‐5247                                                pastorjt@redlandsfirstchurch.org      Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Redlands Police Dept                                        California Inland Empire Council 045    30 Cajon St                                                Redlands, CA 92373‐4710                                                                                      First Class Mail
Voting Party                   Redlands United Methodist Church                            Attn: William Crawford                  527 Village Way                                            Grand Junction, CO 81507‐1248                                          office@redlandsumc.org                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Redmond Fire Dept                                           Chief Seattle Council 609               8450 161st Ave Ne                                          Redmond, WA 98052‐3848                                                                                       First Class Mail
Chartered Organization         Redmond Lions Club                                          Chief Seattle Council 609               16504 NE 80th St                                           Redmond, WA 98052                                                                                            First Class Mail
Chartered Organization         Redmond Methodist Church                                    Chief Seattle Council 609               16540 NE 80th St                                           Redmond, WA 98052‐3951                                                                                       First Class Mail
Chartered Organization         Redmond Police Dept                                         Chief Seattle Council 609               8701 160th Ave Ne                                          Redmond, WA 98052‐7510                                                                                       First Class Mail
Chartered Organization         Redmond Presbyterian Church                                 Chief Seattle Council 609               10020 166th Ave Ne                                         Redmond, WA 98052‐3010                                                                                       First Class Mail
Voting Party                   Redmond United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Redrock Moose Lodge 252                                     Las Vegas Area Council 328              4970 W Charleston Blvd                                     Las Vegas, NV 89146‐1432                                                                                     First Class Mail
Chartered Organization         Redrock Software Corp                                       Grand Canyon Council 010                P.O. Box 40518                                             Mesa, AZ 85274‐0518                                                                                          First Class Mail
Chartered Organization         Redstone Elementary Pto                                     Denver Area Council 061                 9970 Glenstone Cir                                         Highlands Ranch, CO 80130‐8022                                                                               First Class Mail
Chartered Organization         Redwater Jr High                                            Caddo Area Council 584                  P.O. Box 347                                               Redwater, TX 75573‐0347                                                                                      First Class Mail
Voting Party                   Redwater United Methodist Church                            Attn: Lonna Nunn                        P.O. Box 190                                               Redwater, TX 75573                                                     redwaterumc@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Redwine Utd Methodist Church                                Northeast Georgia Council 101           Poplar Springs Rd                                          Gainesville, GA 30501                                                                                        First Class Mail
Voting Party                   Redwing Company Inc                                         419 Main St                             Mount Hope, WV 25880‐1100                                                                                                                                               First Class Mail
Chartered Organization         Redwood City Police Officers Assoc                          Pacific Skyline Council 031             1301 Maple St                                              Redwood City, CA 94063‐2766                                                                                  First Class Mail
Voting Party                   Redwood Empire Council Bsa 041                              Attn: Charles A Howard‐Gibbon           1000 Apollo Way, Ste 106                                   Santa Rosa, CA 95407                                                   charles.howard‐gibbon@scouting.org    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Redwood Empire Lions Club                                   Redwood Empire Council 041              2293 Rancheria Rd                                          Redwood Valley, CA 95470‐6153                                                                                First Class Mail
Chartered Organization         Redwood Mutual Water Co                                     Silicon Valley Monterey Bay 055         P.O. Box 591                                               Redwood Estates, CA 95044‐0591                                                                               First Class Mail
Chartered Organization         Redwood Outdoor Committee                                   Pacific Skyline Council 031             1150 Chess Dr                                              Foster City, CA 94404‐1107                                                                                   First Class Mail
Chartered Organization         Redwood Safety Assoc                                        Crater Lake Council 491                 P.O. Box 36                                                Grants Pass, OR 97528‐0003                                                                                   First Class Mail
Voting Party                   Redwood Umc                                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Redwood Utd Methodist Church                                Blue Ridge Mtns Council 599             3001 Old Franklin Tpke                                     Rocky Mount, VA 24151‐5684                                                                                   First Class Mail
Chartered Organization         Redwood Valley Calpella Fire District                       Redwood Empire Council 041              8481 East Rd                                               Redwood Valley, CA 95470‐6361                                                                                First Class Mail
Chartered Organization         Redwoods Presbyterian Church                                Marin Council 035                       110 Magnolia Ave                                           Larkspur, CA 94939‐2138                                                                                      First Class Mail
Chartered Organization         Reed City Scout Center Board Inc                            President Gerald R Ford 781             225 5th Ave                                                Reed City, MI 49677‐1063                                                                                     First Class Mail
Voting Party                   Reed City Scout Center Board Inc                            c/o Rhoades Mckee Pc                    Attn: David E Bevins                                       55 Campau Ave NW, Ste 300           Grand Rapids, MI 49503             debevins@rhoadesmckee.com             Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Reed School Assoc                                           Greater St Louis Area Council 312       9060 Ladue Rd                                              Saint Louis, MO 63124‐1902                                                                                   First Class Mail
Chartered Organization         Reedley Elks Lodge 2699                                     760 F St                                Reedley, CA 93654                                                                                                                                                       First Class Mail
Chartered Organization         Reedley Elks Lodge 2699                                     Sequoia Council 027                     756 F St                                                   Reedley, CA 93654                                                                                            First Class Mail
Chartered Organization         Reedley Fire Dept                                           Sequoia Council 027                     1060 D St                                                  Reedley, CA 93654‐2917                                                                                       First Class Mail
Chartered Organization         Reedley Lions Club                                          Sequoia Council 027                     P.O. Box 41                                                Reedley, CA 93654‐0041                                                                                       First Class Mail
Chartered Organization         Reedley Police Dept                                         Sequoia Council 027                     843 G St                                                   Reedley, CA 93654‐2625                                                                                       First Class Mail
Chartered Organization         Reedsport Rotary Club                                       Oregon Trail Council 697                P.O. Box 91                                                Reedsport, OR 97467‐0091                                                                                     First Class Mail
Voting Party                   Reedsville Umc                                              Attn: Paul White                        P.O. Box 403                                               Reedsville, WV 26547                                                   hotrodpw@hotmail.com                  Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Reedsville Umc (6570)                                       c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Reedsville Utd Methodist Church                             Juniata Valley Council 497              S Logan St                                                 Reedsville, PA 17084                                                                                         First Class Mail
Chartered Organization         Reedsville Utd Methodist Church                             Mountaineer Area 615                    106 S Robert Stone Way                                     Reedsville, WV 26547                                                                                         First Class Mail
Chartered Organization         Reedsville Utd Methodist Church                             Mountaineer Area 615                    P.O. Box 403                                               Reedsville, WV 26547‐0403                                                                                    First Class Mail
Chartered Organization         Reedurban Presbyterian Church                               Buckeye Council 436                     1145 Perry Dr Nw                                           Canton, OH 44708‐3354                                                                                        First Class Mail
Chartered Organization         Reedville Presbyterian Church                               Cascade Pacific Council 492             2785 SW 209th Ave                                          Beaverton, OR 97003‐1734                                                                                     First Class Mail
Chartered Organization         Reedy Fork Baptist Church                                   Blue Ridge Council 551                  3115 Fork Shoals Rd                                        Simpsonville, SC 29680‐6812                                                                                  First Class Mail
Chartered Organization         Reedy Fork Baptist Church                                   Blue Ridge Council 551                  3115 Fork Shoals Rd                                        Simpsonville, SC 29680‐6812                                                                                  First Class Mail
Voting Party                   Reef Environmental Edu Foundtn                              98300 Overseas Hwy                      Key Largo, FL 33037‐2357                                                                                                                                                First Class Mail
Chartered Organization         Reelsville Volunteer Fire Dept                              Crossroads of America 160               7748 S County Rd 550 W                                     Reelsville, IN 46171‐9653                                                                                    First Class Mail
Voting Party                   Rees Chapel United Methodist Church                         Attn: Robert Amtower                    710 Inspiration Dr                                         Keyser, WV 26726                                                       amtowers@frontier.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Reesor, John E                                              Address Redacted                                                                                                                                                          Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Reesor, John E                                              c/o Ubs Financial Services              Acct: Xx X1489                                             32300 Northeastern Hwy, Ste 150     Farmington Hills, MI 48334         adam.m.jones@ubs.com                  Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Reeths Puffer Elementary Pto                                President Gerald R Ford 781             874 E Giles Rd                                             Muskegon, MI 49445‐2622                                                                                      First Class Mail
Firm                           Reeves & Goff, P.C.                                         Joseph L. Goff                          1 North Jefferson Street                                   Farmington, MO 63640                                                   jgoff@reevesandgoff.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Refiners Fire Ministries International                      Circle Ten Council 571                  211 US Hwy 175 W                                           Eustace, TX 75124                                                                                            First Class Mail
Chartered Organization         Reflections Of Christ Kingdom                               Sam Houston Area Council 576            7401 Gulf Fwy                                              Houston, TX 77017‐1580                                                                                       First Class Mail
Chartered Organization         Reformation Evangelical Lutheran Church                     Cradle of Liberty Council 525           102 W Rose Tree Rd                                         Media, PA 19063‐2009                                                                                         First Class Mail
Voting Party                   Reformation Evangelical Lutheran Church                     c/o Hughey Law                          Attn: Richard L Hughey Esquire                             22 W 2nd St                         Media, PA 19063                    richard@hugheylaw.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Reformation Evangelical Lutheran Church                     102 W Rosetree St                       Media, PA 19063                                                                                                                                                         First Class Mail
Chartered Organization         Reformation Lutheran Church                                 Greater Tampa Bay Area 089              460 Old Polk City Rd                                       Lakeland, FL 33809‐2314                                                                                      First Class Mail
Chartered Organization         Reformation Lutheran Church                                 Hawk Mountain Council 528               3670 Perkiomen Ave                                         Reading, PA 19606‐2713                                                                                       First Class Mail
Voting Party                   Reformation Lutheran Church                                 400 W Main St                           Greeneville, TN 37743                                                                                                             reformationlutheranchurch@gmail.com   Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Reformed Church In Brielle                                  Monmouth Council, Bsa 347               821 Riverview Dr                                           Brielle, NJ 08730‐1743                                                                                       First Class Mail
Chartered Organization         Reformed Church Of Bronxville                               Westchester Putnam 388                  180 Pondfield Rd                                           Bronxville, NY 10708‐4811                                                                                    First Class Mail
Chartered Organization         Reformed Church Of Huguenot Park                            Greater New York Councils, Bsa 640      5501 Amboy Rd                                              Staten Island, NY 10312‐3930                                                                                 First Class Mail
Chartered Organization         Reformed Church Of Kinnelon                                 Patriots Path Council 358               155 Kinnelon Rd                                            Kinnelon, NJ 07405‐2335                                                                                      First Class Mail
Chartered Organization         Reformed Church Of Oradell                                  Northern New Jersey Council, Bsa 333    641 Church St                                              Oradell, NJ 07649‐2005                                                                                       First Class Mail
Chartered Organization         Reformed Church Of Port Ewen                                Rip Van Winkle Council 405              P.O. Box 580                                               Port Ewen, NY 12466‐0580                                                                                     First Class Mail
Voting Party                   Reformed Church Of Port Ewen                                160 Salem St, P.O. Box 580              Port Ewen, NY 12466                                                                                                               kevin.slusher@rcpe.info               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Reformed Church Of South Bound Brook                        Patriots Path Council 358               Main and Clinton St                                        South Bound Brook, NJ 08880                                                                                  First Class Mail
Chartered Organization         Reformed Church Of The Ascension, Ucc                       Cradle of Liberty Council 525           1700 W Main St                                             Jeffersonville, PA 19403‐3202                                                                                First Class Mail
Chartered Organization         Reformed Presbyterian Church                                Hudson Valley Council 374               469 Coldenham Rd                                           Walden, NY 12586‐2924                                                                                        First Class Mail
Voting Party                   Refuge Umc ‐ Stephens City                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Refugio First United Methodist Church                       Attn: Dorothy Salch                     P.O. Box 267                                               310 Power St                        Refugio, TX 78377                  dorothyksalch701@aol.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Regan Ramsey                                                c/o Living Faith Umc                    106 E 1st St                                               P.O. Box 127                        Bowen, IL 62316                    crenner@adams.net                     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Regency Enterprises Inc                                     9261 Jordan Ave                         Chatsworth, CA 91311‐5739                                                                                                                                               First Class Mail
Chartered Organization         Regency Park Apartments                                     Chester County Council 539              403 Victoria Dr                                            Coatesville, PA 19320‐3052                                                                                   First Class Mail
Chartered Organization         Regency Place Pto                                           Heart of America Council 307            13250 S Greenwood St                                       Olathe, KS 66062‐8866                                                                                        First Class Mail
Chartered Organization         Regenerating Solutions Inc                                  Housatonic Council, Bsa 069             1 Post Rd, Fl 3                                            Fairfield, CT 06824‐6241                                                                                     First Class Mail
Chartered Organization         Regents School Of Austin                                    Capitol Area Council 564                3230 Travis Country Cir                                    Austin, TX 78735‐6112                                                                                        First Class Mail
Voting Party                   Regester Chapel Umc                                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Regester Chapel Utd Methodist Men                           National Capital Area Council 082       P.O. Box 697                                               Stafford, VA 22555‐0697                                                                                      First Class Mail
Chartered Organization         Reggie Hatch Foxon Community Center                         Connecticut Yankee Council Bsa 072      1380 N High St                                             New Haven, CT 06512‐1156                                                                                     First Class Mail
Chartered Organization         Regina Education Center                                     Hawkeye Area Council 172                2140 Rochester Ave                                         Iowa City, IA 52245‐3527                                                                                     First Class Mail
Chartered Organization         Regina Elementary School                                    Hawkeye Area Council 172                2140 Rochester Ave                                         Iowa City, IA 52245‐3527                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 313 of 442
                                                                                 Case 20-10343-LSS                                                     Doc 8171                                   Filed 01/06/22                                                    Page 329 of 457
                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                      Service List
                                                                                                                                                                               Served as set forth below

        Description                                                       Name                                                                                                     Address                                                                                                             Email                Method of Service
Voting Party                   Regina Head Barrow                                       102 Dove St                                             Carrboro, NC 27510                                                                                                            gbarrow@nccumc.org                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Regina Mccullough                                        c/o Michael D. Cox                                      207 West 8th St                                          Columbia, TN 38401                                                   mcox@ffmlegal.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Regis Catholic Schools                                   Chippewa Valley Council 637                             2100 Fenwick Ave                                         Eau Claire, WI 54701‐4421                                                                               First Class Mail
Voting Party                   Rehobeth (Greensboro)                                    c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Rehobeth United Methodist Church                         Attn: David L Kennedy                                   2207 US Hwy 59 N                                         Carthage, TX 75633                                                   MrDavidLKennedy@gmail.com          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Rehoboth Baptist Church                                  National Capital Area Council 082                       621 Alabama Ave Se                                       Washington, DC 20032‐4104                                                                               First Class Mail
Chartered Organization         Rehoboth Congregational Church                           Narragansett 546                                        139 Bay State Rd                                         Rehoboth, MA 02769‐1738                                                                                 First Class Mail
Chartered Organization         Rehoboth Evangelical Lutheran Church                     Laurel Highlands Council 527                            2800 Conway Wallrose Rd                                  Baden, PA 15005‐2306                                                                                    First Class Mail
Chartered Organization         Rehoboth Presbyterian Church                             Laurel Highlands Council 527                            442 Rehoboth Rd                                          Belle Vernon, PA 15012‐3831                                                                             First Class Mail
Voting Party                   Rehoboth United Methodist Church                         Attn: L.W. Smith                                        301 Park Lake Rd                                         Columbia, SC 29223                                                   tigerraglw@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Rehoboth United Methodist Church                         L.W. Smith                                              6911 Two Notch Rd                                        Columbia, SC 29223                                                   tigerraglw@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Rehoboth United Methodist Church                         Attn: Debra Bolden                                      16829 Lappans Rd                                         Williamsport, MD 21795                                               countryfan56@hotmail.com           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Rehoboth United Methodist Church Of Leesville            Attn: Ricky Bailey                                      1045 Holley Ferry Rd                                     Leesville, SC 29070                                                  thankspops1@aol.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Rehoboth United Methodist Church Of Leesville            Attn: Kenneth R Colton                                  936 Holley Ferry Rd                                      Leesville, SC 29070                                                  ken@spiritoflakemurray.com         Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Rehoboth Utd Church                                      Indian Waters Council 553                               P.O. Box 4468                                            Columbia, SC 29240‐4468                                                                                 First Class Mail
Chartered Organization         Rehoboth Utd Methodist Church                            Middle Tennessee Council 560                            2601 Cages Bend Rd                                       Gallatin, TN 37066‐5701                                                                                 First Class Mail
Chartered Organization         Rehrersburg Lions Club                                   Hawk Mountain Council 528                               Teen Challenge Rd                                        Rehrersburg, PA 19550                                                                                   First Class Mail
Firm                           Reich & Binstock                                         Ben Black                                               4265 San Felipe, Ste 1000                                Houston, TX 77027                                                    bblack@re1chandblnstock.com        Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Reichert House                                           North Florida Council 087                               P.O. Box 1250                                            Gainesville, FL 32627‐1250                                                                              First Class Mail
Chartered Organization         Reid Chapel Ame Church                                   Indian Waters Council 553                               704 Gabriel St                                           Columbia, SC 29203‐4930                                                                                 First Class Mail
Chartered Organization         Reid Health                                              Crossroads of America 160                               1100 Reid Pkwy                                           Richmond, IN 47374‐1157                                                                                 First Class Mail
Chartered Organization         Reid Park Academy                                        Mecklenburg County Council 415                          4108 W Tyvola Rd                                         Charlotte, NC 28208‐6746                                                                                First Class Mail
Chartered Organization         Reid Temple Ame Church                                   National Capital Area Council 082                       11400 Glenn Dale Blvd                                    Glenn Dale, MD 20769‐9049                                                                               First Class Mail
Voting Party                   Reidland United Methodist Church                         Attn: Joseph Hansen                                     5515 Reidland Rd                                         Paducah, KY 42003‐0956                                               reidlandumcjoe@gmail.com           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Reidsville Fire And Rescue Services                      Old N State Council 070                                 402 S Scales St                                          Reidsville, NC 27320‐3840                                                                               First Class Mail
Voting Party                   Reidsville United Meth Church                            Attn: John Shuman                                       P.O. Box 218                                             Reidsville, GA 30453                                                 rumc6744@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Reisterstown United Methodist Church                     Attn: Pat Botelle & Jennifer Stallings Eschilman        246 Main St                                              Reisterstown, MD 21136                                               pat.botelle2@gmail.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Rejoice In The Lord Ministry                             Central Florida Council 083                             8053 Gilliam Rd                                          Apopka, FL 32703‐8968                                                                                   First Class Mail
Chartered Organization         Rejoice Lutheran Church                                  Circle Ten Council 571                                  P.O. Box 3263                                            Coppell, TX 75019‐9263                                                                                  First Class Mail
Chartered Organization         Rejoice Lutheran Church                                  Circle Ten Council 571                                  12000 Independence Pkwy                                  Frisco, TX 75035‐3690                                                                                   First Class Mail
Voting Party                   Relands United Methodist Church                          Attn: Jane Williams                                     527 Village Way                                          Grand Junction, CO 81507                                             office@redlandsumc.org             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Relevance Community                                      Southwest Florida Council 088                           13241 Griffin Dr                                         Fort Myers, FL 33913‐7956                                                                               First Class Mail
Chartered Organization         Reliance Comunity Church                                 Quivira Council, Bsa 198                                11910 W Pawnee St                                        Wichita, KS 67215‐1598                                                                                  First Class Mail
Chartered Organization         Religious Ministries Directorate                         California Inland Empire Council 045                    P.O. Box 788100                                          Twentynine Palms, CA 92278‐8100                                                                         First Class Mail
Voting Party                   Religious Organizations                                  Anne W Randall                                          421 Custer Rd                                            Richardson, TX 75080                                                 brandall@epiphany‐richardson.org   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Relx Inc                                                 dba Lexis Nexis                                         P.O. Box 733106                                          Dallas, TX 75373‐3106                                                                                   First Class Mail
Chartered Organization         Remembrance Ranch                                        President Gerald R Ford 781                             P.O. Box 113                                             Allendale, MI 49401‐0113                                                                                First Class Mail
Chartered Organization         Remington School Pto                                     Greater St Louis Area Council 312                       102 Fee Fee Rd                                           Maryland Heights, MO 63043‐2710                                                                         First Class Mail
Voting Party                   Remington United Methodist Church                        Attn: Treasurer, Remington United Methodist Church      121 S Ohio St                                            P.O. Box 36                       Remington, IN 47977                openhearts@remingtonumc.net        Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Remington Volunteer Fire Dept                            National Capital Area Council 082                       200 E Marshall St                                        Remington, VA 22734‐9706                                                                                First Class Mail
Chartered Organization         Remsen Elementary                                        Leatherstocking 400                                     P.O. Box 406                                             Remsen, NY 13438‐0406                                                                                   First Class Mail
Chartered Organization         Renaissance Academy Charter Sch, Arts                    Seneca Waterways 397                                    299 Kirk Rd                                              Rochester, NY 14612‐3377                                                                                First Class Mail
Chartered Organization         Renaissance Elementary Pta                               Atlanta Area Council 092                                7250 Hall Rd                                             Fairburn, GA 30213‐1946                                                                                 First Class Mail
Chartered Organization         Renaissance Realty Svcs                                  dba Renaissance Prop                                    7181 Edgewater Dr                                        Mandeville, LA 70471‐7431                                                                               First Class Mail
Chartered Organization         Renaissance West Community Initiative                    Mecklenburg County Council 415                          3610 Nobles Ave                                          Charlotte, NC 28208‐7088                                                                                First Class Mail
Chartered Organization         Rendon Fire Dept                                         Longhorn Council 662                                    12330 Rendon Rd                                          Burleson, TX 76028‐3010                                                                                 First Class Mail
Chartered Organization         Renewable World Energies                                 Bay‐Lakes Council 635                                   100 N State St                                           Neshkoro, WI 54960                                                                                      First Class Mail
Chartered Organization         Renfrew Baptist Church                                   Blue Ridge Council 551                                  951 Geer Hwy                                             Travelers Rest, SC 29690‐1854                                                                           First Class Mail
Chartered Organization         Renick Pto                                               Great Rivers Council 653                                101 Middle St                                            Renick, MO 65278                                                                                        First Class Mail
Chartered Organization         Renick Pto                                               Great Rivers Council 653                                P.O. Box 37                                              Renick, MO 65278‐0037                                                                                   First Class Mail
Chartered Organization         Rennell Elementary Pto                                   Sam Houston Area Council 576                            17411 Prospect Meadows Dr                                Houston, TX 77095‐7191                                                                                  First Class Mail
Chartered Organization         Rennerdale Up Church                                     Laurel Highlands Council 527                            151 Noblestown Rd                                        Carnegie, PA 15106‐1454                                                                                 First Class Mail
Chartered Organization         Reno Elks Lodge 597                                      Nevada Area Council 329                                 597 Kumle Ln                                             Reno, NV 89509‐5501                                                                                     First Class Mail
Chartered Organization         Reno Plumb Lane Lion'S Club                              Nevada Area Council 329                                 1165 Crown Dr                                            Reno, NV 89503‐2204                                                                                     First Class Mail
Chartered Organization         Reno Sunrise Rotary Club                                 Nevada Area Council 329                                 P.O. Box 11456                                           Reno, NV 89510‐1456                                                                                     First Class Mail
Voting Party                   Rentokil North America                                   Attn: Bankruptcy Team                                   1125 Berkshire Blvd, Ste 150                             Reading, PA 19610                                                    tara.conard@rentokil.com           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Renton 1St Utd Methodist Church                          Chief Seattle Council 609                               P.O. Box 2455                                            Renton, WA 98056‐0455                                                                                   First Class Mail
Chartered Organization         Renton Fire & Emergency Services                         Chief Seattle Council 609                               1055 S Grady Way                                         Renton, WA 98057‐3232                                                                                   First Class Mail
Voting Party                   Renton First Umc                                         c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Renville Lions Club                                      Northern Star Council 250                               P.O. Box 520                                             Renville, MN 56284‐0520                                                                                 First Class Mail
Chartered Organization         Republic Police Dept                                     Ozark Trails Council 306                                540 W Civic Blvd                                         Republic, MO 65738‐8419                                                                                 First Class Mail
Voting Party                   Republic Services 742                                    P.O. Box 9001099                                        Louisville, KY 40290‐1099                                                                                                                                        First Class Mail
Voting Party                   Republic Services, Inc 794                               P.O. Box 78829                                          Phoenix, AZ 85062‐8829                                                                                                                                           First Class Mail
Chartered Organization         Republic Utd Church Of Christ                            Black Swamp Area Council 449                            312 S Madison St                                         Republic, OH 44867                                                                                      First Class Mail
Chartered Organization         Rescue Volunteer Fire Assoc                              Golden Empire Council 047                               3093 Royce Dr                                            Rescue, CA 95672‐9468                                                                                   First Class Mail
Chartered Organization         Rescue, Inc                                              Green Mountain 592                                      541 Canal St                                             Brattleboro, VT 05301‐6624                                                                              First Class Mail
Chartered Organization         Reserection Lutheran Church                              Laurel Highlands Council 527                            7600 Steubenville Pike                                   Oakdale, PA 15071‐9336                                                                                  First Class Mail
Chartered Organization         Reserva Nacl De Investigacion Estuarina                  Puerto Rico Council 661                                 P.O. Box 159                                             Aguirre, PR 00704‐0159                                                                                  First Class Mail
Chartered Organization         Reserve Enlisted Training Corps                          Long Beach Area Council 032                             3342 Druid Ln                                            Rossmoor, CA 90720‐4842                                                                                 First Class Mail
Chartered Organization         Reserve Hose Fire Co                                     Greater Niagara Frontier Council 380                    2400 Berg Rd                                             West Seneca, NY 14218‐3784                                                                              First Class Mail
Chartered Organization         Reservoir Park                                           Great Trail 433                                         1735 Hillside Ter                                        Akron, OH 44305‐2906                                                                                    First Class Mail
Voting Party                   Reservoir United Methodist Church                        Attn: Kimberly Huppert                                  3056 State Route 28                                      Shokan, NY 12481                                                     kimberly.huppert@gmail.com         Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Residents Of Rio Rico                                    Catalina Council 011                                    1332 Avenida Gutierrez                                   Rio Rico, AZ 85648‐3739                                                                                 First Class Mail
Chartered Organization         Resource Center                                          Allegheny Highlands Council 382                         200 Dunham Ave                                           Jamestown, NY 14701‐2528                                                                                First Class Mail
Chartered Organization         Respetable Logia Sol De Oriente 40                       Puerto Rico Council 661                                 P.O. Box 126                                             Utuado, PR 00641‐0126                                                                                   First Class Mail
Chartered Organization         Respetable Logia Sol De Oriente 40                       Puerto Rico Council 661                                 P.O. Box 126                                             Utuado, PR 00641‐0126                                                                                   First Class Mail
Chartered Organization         Ressurection Lutheran Church                             President Gerald R Ford 781                             180 Northland Dr                                         Sand Lake, MI 49343‐9701                                                                                First Class Mail
Chartered Organization         Reston Lions Charities Inc                               National Capital Area Council 082                       13355 Misty Dawn Dr                                      Herndon, VA 20171‐3032                                                                                  First Class Mail
Chartered Organization         Restoration Church                                       Pikes Peak Council 060                                  9355 Peaceful Valley Rd                                  Colorado Springs, CO 80925‐9593                                                                         First Class Mail
Chartered Organization         Restoration Church                                       Andrew Jackson Council 303                              2136 Hwy 49 S                                            Florence, MS 39073                                                                                      First Class Mail
Chartered Organization         Restore Church                                           Mid Iowa Council 177                                    134 E Main St, Ste 2                                     Marshalltown, IA 50158‐1789                                                                             First Class Mail
Chartered Organization         Resurrection Catholic Church                             Northeast Iowa Council 178                              4300 Asbury Rd                                           Dubuque, IA 52002‐0408                                                                                  First Class Mail
Chartered Organization         Resurrection Catholic Church                             Buffalo Trace 156                                       5301 New Harmony Rd                                      Evansville, IN 47720‐1740                                                                               First Class Mail
Chartered Organization         Resurrection Catholic Church                             Bay‐Lakes Council 635                                   333 Hilltop Dr                                           Green Bay, WI 54301‐2713                                                                                First Class Mail
Chartered Organization         Resurrection Catholic Church                             North Florida Council 087                               3383 University Blvd N                                   Jacksonville, FL 32277‐2483                                                                             First Class Mail
Chartered Organization         Resurrection Catholic Church                             Three Fires Council 127                                 30W350 Army Trail Rd                                     Wayne, IL 60184                                                                                         First Class Mail
Chartered Organization         Resurrection Catholic Parish                             Cascade Pacific Council 492                             21060 SW Stafford Rd                                     Tualatin, OR 97062‐8725                                                                                 First Class Mail
Chartered Organization         Resurrection Catholic School                             Sam Houston Area Council 576                            916 Majestic St                                          Houston, TX 77020‐6838                                                                                  First Class Mail
Chartered Organization         Resurrection Catholic School Pto                         Pine Burr Area Council 304                              3704 Quinn Dr                                            Pascagoula, MS 39581‐2356                                                                               First Class Mail
Chartered Organization         Resurrection Church                                      Grand Columbia Council 614                              704 Schooley Rd                                          Zillah, WA 98953                                                                                        First Class Mail
Voting Party                   Resurrection Church                                      Attn: Jane Colgrove                                     147 Campbell Ave                                         Williston Pk, NY 11596                                               resurrectionwp@gmail.com           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Resurrection Church An Episcopal Congregation            c/o Episcopal Diocese of Northwestern Pa                Attn: Sean Rowe                                          145 W 6th St                      Erie, PA 16501                     cdougan@dionwpa.org                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Resurrection Episcopal Church                            North Florida Council 087                               12355 Fort Caroline Rd                                   Jacksonville, FL 32225‐1708                                                                             First Class Mail
Chartered Organization         Resurrection Episcopal Church                            Northeast Georgia Council 101                           1755 Duncan Bridge Rd                                    Sautee Nacoochee, GA 30571‐3611                                                                         First Class Mail
Chartered Organization         Resurrection Episcopal Church                            Alamo Area Council 583                                  5909 Walzem Rd                                           Windcrest, TX 78218‐2112                                                                                First Class Mail
Voting Party                   Resurrection Episcopal Church                            Carrie English                                          12355 Ft Caroline Rd                                     Jacksonville, FL 32225                                               Englishc@bellsouth.net             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Resurrection Episcopal Church                            c/o Rogers Towers, Pa                                   Attn: Betsy C Cox, Esq                                   1301 Riverplace Blvd, Ste 1500    Jacksonville, FL 32207             bcox@rtlaw.com                     Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Resurrection Episcopal Church, Largo, FL                 Attn: The Rev Nathan Speck‐Ewer, Vicar                  10888 Ave N                                              Largo, FL 33778                                                      vicar@reslargo.org                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Resurrection Evangelical Lutheran Church                 National Capital Area Council 082                       6201 Washington Blvd                                     Arlington, VA 22205‐2034                                                                                First Class Mail
Chartered Organization         Resurrection Evangelical Lutheran Church                 Simon Kenton Council 441                                3500 Main St                                             Hilliard, OH 43026‐1320                                                                                 First Class Mail
Chartered Organization         Resurrection Life Ministries                             Pine Burr Area Council 304                              P.O. Box 1939                                            Picayune, MS 39466‐1939                                                                                 First Class Mail
Chartered Organization         Resurrection Life Of Midland                             Water and Woods Council 782                             1849 S Poseyville Rd                                     Midland, MI 48640‐8541                                                                                  First Class Mail
Chartered Organization         Resurrection Lutheran                                    Circle Ten Council 571                                  1919 Independence Pkwy                                   Plano, TX 75075‐6438                                                                                    First Class Mail
Chartered Organization         Resurrection Lutheran Ch                                 Cameron Commty Club                                     224 Winding Brook Dr                                     Cameron, SC 29030‐8344                                                                                  First Class Mail
Chartered Organization         Resurrection Lutheran Chruch                             Last Frontier Council 480                               675 W Vandament Ave                                      Yukon, OK 73099‐3845                                                                                    First Class Mail
Chartered Organization         Resurrection Lutheran Church                             Greater St Louis Area Council 312                       1211 W Homer M Adams Pkwy                                Godfrey, IL 62035‐3345                                                                                  First Class Mail
Chartered Organization         Resurrection Lutheran Church                             Simon Kenton Council 441                                3500 Main St                                             Hilliard, OH 43026‐1320                                                                                 First Class Mail
Chartered Organization         Resurrection Lutheran Church                             Crossroads of America 160                               445 E Stop 11 Rd                                         Indianapolis, IN 46227‐2559                                                                             First Class Mail
Chartered Organization         Resurrection Lutheran Church                             Great Alaska Council 610                                740 W 10th St                                            Juneau, AK 99801‐1822                                                                                   First Class Mail
Chartered Organization         Resurrection Lutheran Church                             Flint River Council 095                                 1250 Lora Smith Rd                                       Newnan, GA 30265‐6300                                                                                   First Class Mail
Chartered Organization         Resurrection Lutheran Church                             Catalina Council 011                                    11575 N 1st Ave                                          Oro Valley, AZ 85737‐8700                                                                               First Class Mail
Chartered Organization         Resurrection Lutheran Church                             Circle Ten Council 571                                  1919 Independence Pkwy                                   Plano, TX 75075‐6438                                                                                    First Class Mail
Chartered Organization         Resurrection Lutheran Church                             President Gerald R Ford 781                             180 S 3rd St                                             Sand Lake, MI 49343                                                                                     First Class Mail
Voting Party                   Resurrection Lutheran Church                             Attn:Attn: : Susan Kirstein                             914 Ash Dr                                               Ankeny, IA 50023                                                     Snkirstein87@gmail.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Resurrection Lutheran Church                             c/o Nyemaster Goode Pc                                  Attn: Jeffrey W Courter                                  700 Walnut St, Ste 1600           Des Moines, IA 50309               jwc@nyemaster.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Resurrection Lutheran Church Inc                         c/o Plews Shadley Racher & Braun LLP                    Attn: Josh S Tatum                                       1346 N Delaware St                Indianapolis, IN 46202             jtatum@psrb.com                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Resurrection Ministries                                  Mt Diablo‐Silverado Council 023                         1275 Fairview Ave                                        Brentwood, CA 94513‐5934                                                                                First Class Mail
Chartered Organization         Resurrection Of Our Lord Catholic Church                 Southeast Louisiana Council 214                         9701 Hammond St                                          New Orleans, LA 70127‐3519                                                                              First Class Mail
Chartered Organization         Resurrection Of Our Lord Rom Cath Church                 Cradle of Liberty Council 525                           2000 Shelmire Ave                                        Philadelphia, PA 19152‐4209                                                                             First Class Mail
Chartered Organization         Resurrection Orthodox Church                             San Francisco Bay Area Council 028                      20104 Center St                                          Castro Valley, CA 94546‐4712                                                                            First Class Mail
Chartered Organization         Resurrection Parish                                      Mayflower Council 251                                   1057 Main St                                             Hingham, MA 02043‐3960                                                                                  First Class Mail
Chartered Organization         Resurrection Parish                                      Buckeye Council 436                                     2600 Lexington Ave                                       Mansfield, OH 44904‐1426                                                                                First Class Mail
Voting Party                   Resurrection R.C. Church                                 c/o Cullen and Dykman LLP                               Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd        Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Resurrection Roman Catholic Church                       Greater New York Councils, Bsa 640                      2331 Gerritsen Ave                                       Brooklyn, NY 11229‐5701                                                                                 First Class Mail
Chartered Organization         Resurrection Roman Catholic Church                       Greater New York Councils, Bsa 640                      2305 Gerritsen Ave                                       Brooklyn, NY 11229‐5774                                                                                 First Class Mail
Voting Party                   Resurrection St Paul School                              Attn: Matthew W Oakley                                  218 Charles St, Ste 400                                  Baltimore, MD 21201                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Resurrection Umc                                         c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Resurrection United Methodist Church                     Attn: Nanette Pyle                                      P.O. Box 225                                             Adkins, TX 78101                                                     resurrectionumcsa@gmail.org        Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Resurrection United Methodist Church                     Attn: Tommie T Lymon                                    5717 W 63rd Pl                                           Chicago, IL 60638                                                    resurrectionumc5717@yahoo.com      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Resurrection United Methodist Church                     Attn: Treasurer, Resurrection United Methodist Church   1322 Centerville Turnpike N                              Chesapeake, VA 23320                                                                                    First Class Mail
Chartered Organization         Resurrection Utd Methodist Church                        Tidewater Council 596                                   1322 Centerville Tpke N                                  Chesapeake, VA 23320‐3028                                                                               First Class Mail
Voting Party                   Resurrection/ St. Paul School, Inc.                      c/o Gallagher Evelius & Jones LLP                       Attn: Matthew W Oakey                                    218 N Charles St, Ste 400         Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Resurrection‐St Paul School                              Baltimore Area Council 220                              3155 Paulskirk Dr                                        Ellicott City, MD 21042‐2655                                                                            First Class Mail
Voting Party                   Retail Dimensions Inc                                    4905 SW Griffith Dr                                     Beaverton, OR 97005‐8724                                                                                                                                         First Class Mail
Voting Party                   Retama Park Baptist Church                               Attn: Steven Merriman                                   515 E General Cavozos Blvd                               Kingsville, TX 78363                                                 retamaparkbaptist@gmail.com        Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Retama Park Baptist Church                               Steven Merriman                                         Same                                                     Same                                                                 darrell.nordeen@gmail.com          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Reuben Self Bible Class First Methodist                  Greater Alabama Council 001                             109 Gayle Ave SW                                         Jacksonville, AL 36265‐2122                                                                             First Class Mail
Voting Party                   Rev Angela J Freeman‐Riley                               Attn: Bethesda On the Bay Ev Lutheran Church            28607 Wolf Rd                                            Bay Village, OH 44140                                                info@bethesdaonthebay.org          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Rev Candreah Carey                                       200 2nd St Nw                                           Mitchellville, VA 50169                                                                                                       cancare6_@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Rev Deborah Tinsley Taylor                               c/o Cicero: Calvary Methodist Church ‐ Riverside Umc    82 Woodside Rd                                           Riverside, IL 60546                                                  dtinsley60506@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Rev Deborah Tinsley Taylor                               c/o Riverside Umc                                       Attn: Cicero Wesley                                      82 Woodside Rd                    Riverside, IL 60546                dinsley60506@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Rev James Rogan Council                                  Suffolk County Council Inc 404                          1816 Knights of Columbus                                 Central Islip, NY 11722                                                                                 First Class Mail
Voting Party                   Rev Mitchell Hay                                         11 Woodlawn Dr                                          Essex Junction, VT 05452                                                                                                      mitchellhay@comcast.net            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Reveille Lions                                           Golden Empire Council 047                               P.O. Box 489                                             Woodland, CA 95776‐0489                                                                                 First Class Mail
Voting Party                   Reveille United Methodist Church                         Attn: Director of Admin, Reveille Umc                   4200 Cary St Rd                                          Richmond, VA 23221‐2526                                              admindirector@reveilleumc.org      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Firm                           Revens, Revens & St. Pieme, P.C                          Michael A. St. Pieme                                    946 Centerville Rd.                                      Warwick, RI 02886                                                                                       First Class Mail
Chartered Organization         Revolution Church Of Kentucky Umc                        Lincoln Heritage Council 205                            10100 Bluegrass Pkwy                                     Louisville, KY 40299‐2202                                                                               First Class Mail
Voting Party                   Revolution Church Of KY                                  Attn: Treasurer                                         10100 Bluegrass Pkwy                                     Louisville, KY 40299‐2202                                            rachel.wallace@revolutionky.org    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                      Page 314 of 442
                                                                                   Case 20-10343-LSS                                     Doc 8171                                          Filed 01/06/22                                                     Page 330 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                         Name                                                                                            Address                                                                                                            Email                Method of Service
Voting Party                   Rex W. Tillerson                                           c/o Boy Scouts of America                Attn: Chase Koontz                                             1325 W Walnut Hill Ln              Irving, TX 75015                   chase.koontz@scouting.org        Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Reynolds Memorial Baptist Church                           Shenandoah Area Council 598              P.O. Box 208                                                   Sperryville, VA 22740‐0208                                                                             First Class Mail
Voting Party                   Reynolds Memorial Umc                                      327 W Mary St                            Bristol, VA 24201                                                                                                                    reynoldsmumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Reynolds Memorial United Methodist Church                  Attn: Treasurer, Reynolds Memorial Umc   9508 Maccorkle Ave                                             Marmet, WV 25315                                                      darick.biondi@gmail.com          Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Reynolds Vfw Post 7599                                     French Creek Council 532                 115 Edgewood Dr Ext                                            Transfer, PA 16154                                                                                     First Class Mail
Chartered Organization         Reynoldsburg Vfw Post 9473                                 Simon Kenton Council 441                 1420 Waggoner Rd                                               Reynoldsburg, OH 43068‐1299                                                                            First Class Mail
Chartered Organization         Rgv Stx Management Group LLC                               Rio Grande Council 775                   P.O. Box 532620                                                Harlingen, TX 78553‐2620                                                                               First Class Mail
Chartered Organization         Rgv Youth Preparedness                                     Rio Grande Council 775                   1729 W Adelita St                                              Weslaco, TX 78599‐4438                                                                                 First Class Mail
Chartered Organization         Rha Rockingham Housing Authority                           Central N Carolina Council 416           P.O. Box 160                                                   Rockingham, NC 28380‐0160                                                                              First Class Mail
Chartered Organization         Rhawnhurst Presbyterian Church                             Cradle of Liberty Council 525            Loretto Ave And                                                Lansing St                         Philadelphia, PA 19111                                              First Class Mail
Chartered Organization         Rhea Central Elementary School                             Cherokee Area Council 556                1005 Delaware Ave                                              Dayton, TN 37321‐2818                                                                                  First Class Mail
Chartered Organization         Rhema Christian Center                                     Simon Kenton Council 441                 2100 Agler Rd                                                  Columbus, OH 43224‐4586                                                                                First Class Mail
Firm                           Rhine Law Firm, P.C.                                       Martin A. Ramey                          1612 Military Cutoff Road, Ste 300                             Wilmington, NC 28403                                                  mjr@rhinelawfirm.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rhinebeck United Methodist Church                          Attn: Pastor Nathalie Nan Ernst          83 E Market St                                                 Rhinebeck, NY 12572                                                   pastor.nan.ernst@gmail.com       Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rhinelander Partners In Education                          Samoset Council, Bsa 627                 665 Coolidge Ave                                               Rhinelander, WI 54501‐2898                                                                             First Class Mail
Voting Party                   Rhodes Memorial (32106711)                                 c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                         680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rhodes State College                                       Black Swamp Area Council 449             4240 Campus Dr                                                 Lima, OH 45804‐3576                                                                                    First Class Mail
Chartered Organization         Rhonda Clingman Elementary                                 Old Hickory Council 427                  316 Ronda Clingman School Rd                                   Ronda, NC 28670‐8817                                                                                   First Class Mail
Chartered Organization         Rhyne Heights Methodist Church                             Piedmont Council 420                     520 Madison St                                                 Lincolnton, NC 28092‐2444                                                                              First Class Mail
Chartered Organization         Rhyne Heights Utd Methodist Church                         Piedmont Council 420                     520 Madison St                                                 Lincolnton, NC 28092‐2444                                                                              First Class Mail
Chartered Organization         Ri Appraisals                                              Utah National Parks 591                  70 E Stoney Hill Rd                                            Washington, UT 84780‐2740                                                                              First Class Mail
Chartered Organization         Rialto Fire Dept                                           California Inland Empire Council 045     131 S Willow Ave                                               Rialto, CA 92376‐6301                                                                                  First Class Mail
Chartered Organization         Rialto Police Dept                                         California Inland Empire Council 045     128 N Willow Ave                                               Rialto, CA 92376‐5830                                                                                  First Class Mail
Voting Party                   Rialto United Methodist Church                             Attn: Don Olinger                        P.O. Box 808                                                   Rialto, CA 92376                                                      jvindel@att.net                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rialto Utd Methodist Church                                California Inland Empire Council 045     1230 N Lilac Ave                                               Rialto, CA 92376‐3251                                                                                  First Class Mail
Chartered Organization         Rib Mountain Pto                                           Samoset Council, Bsa 627                 150801 Robin Ln                                                Wausau, WI 54401‐6645                                                                                  First Class Mail
Chartered Organization         Rib Mountian Lions Club                                    Samoset Council, Bsa 627                 P.O. Box 5114                                                  Wausau, WI 54402‐5114                                                                                  First Class Mail
Voting Party                   Rice Hill United Methodist Church                          Attn: Bonnie Hovermann                   275 Manley Rd                                                  Milton, VT 05468                                                      Hovermann4@comcast.net           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rice Lake Harley‐Davidson                                  Chippewa Valley Council 637              2801 S Wisconsin Ave                                           Rice Lake, WI 54868‐8573                                                                               First Class Mail
Chartered Organization         Rices Landing Vol Fire Dept                                Laurel Highlands Council 527             P.O. Box 6                                                     Rices Landing, PA 15357‐0006                                                                           First Class Mail
Chartered Organization         Rich Hill Utd Methodist Church                             Heart of America Council 307             221 E Park Ave                                                 Rich Hill, MO 64779                                                                                    First Class Mail
Chartered Organization         Rich Hill Youth Development Center                         Heart of America Council 307             501 N 14th St                                                  Rich Hill, MO 64779‐2102                                                                               First Class Mail
Chartered Organization         Rich Real Estate Inc                                       Pathway To Adventure 456                 14340 S La Grange Rd                                           Orland Park, IL 60462‐2517                                                                             First Class Mail
Chartered Organization         Richard Allen Academy                                      Dan Beard Council, Bsa 438               1206 Shuler Ave                                                Hamilton, OH 45011‐4566                                                                                First Class Mail
Voting Party                   Richard Brian Beck                                         Attn: Richard Brian Beck                 30384 Point Marina Dr                                          Canyon Lake, CA 92587                                                 beckesq1@juno.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Richard Carroll Elementary ‐ Ai                            Indian Waters Council 553                142 Mcmillan St                                                Bamberg, SC 29003‐1039                                                                                 First Class Mail
Voting Party                   Richard Dale Hardick                                       3117 Will‐Mil Ter                        Monrovia, MD 21770                                                                                                                   rdnlhardick@msn.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Richard Eaton                                              1842 S 9th St                            St Louis, MO 63104                                                                                                                   rreaton@sbcglobal.net            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Richard Frederick Krause                                   Baltimore Area Council 220               39 N Hickory Ave                                               Bel Air, MD 21014‐3256                                                                                 First Class Mail
Chartered Organization         Richard Hedke Pto                                          Great Lakes Fsc 272                      3201 Marian Dr                                                 Trenton, MI 48183‐3950                                                                                 First Class Mail
Chartered Organization         Richard J Lee Elementary Pto                               Circle Ten Council 571                   8808 Chaparral Waters Way                                      Coppell, TX 75019‐4752                                                                                 First Class Mail
Chartered Organization         Richard Kane Elementary School                             Cherokee Area Council 469 469            801 E 13th St                                                  Bartlesville, OK 74003‐6012                                                                            First Class Mail
Chartered Organization         Richard Lagow Elementary                                   Circle Ten Council 571                   637 Edgeworth Dr                                               Dallas, TX 75217‐8108                                                                                  First Class Mail
Voting Party                   Richard Lee Mcpherson                                      54 Brookside Dr                          Bailey, CO 80421                                                                                                                                                      First Class Mail
Voting Party                   Richard Lehr                                               c/o Pauley Curry PLLC                    Attn: Arden J Curry II, Esq                                    100 Kanawha Blvd W                 Charleston, WV 25302               john@pauleycurry.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Richard M Rego                                             79 Townsend Ave                          Boothbay Harbor, ME 04538                                                                                                            richardmrego@gmail.com           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Richard Michael Fassig                                     Attn: Richard Michael Fassig             2259 E US Rt 52                                                Serena, IL 60549                                                      rmfassig@outlook.com             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Richard Nixon American Legion Post 679                     Orange County Council 039                18001 Yorba Linda Blvd                                         Yorba Linda, CA 92886‐3903                                                                             First Class Mail
Chartered Organization         Richard Wilson Elementary ‐ Gfwar                          Longhorn Council 662                     2801 Miller Ave                                                Fort Worth, TX 76105‐4134                                                                              First Class Mail
Chartered Organization         Richardson Duck Creek Homeowners Assoc                     Circle Ten Council 571                   P.O. Box 851691                                                Richardson, TX 75085‐1691                                                                              First Class Mail
Chartered Organization         Richardson East Church Of Christ                           Circle Ten Council 571                   1504 E Campbell Rd                                             Richardson, TX 75081‐1941                                                                              First Class Mail
Chartered Organization         Richardson Elementary School                               Catalina Council 011                     6901 N Camino De La Tierra                                     Tucson, AZ 85741‐2469                                                                                  First Class Mail
Voting Party                   Richardson Park United Methodist Church ‐ Wilmington       c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Richardson Park Utd Methodist Church                       Del Mar Va 081                           11 N Maryland Ave                                              Wilmington, DE 19804‐1305                                                                              First Class Mail
Chartered Organization         Richardson Police Dept                                     Circle Ten Council 571                   140 N Greenville Ave                                           Richardson, TX 75081‐6006                                                                              First Class Mail
Chartered Organization         Richer Elememtary School Pto                               Mayflower Council 251                    80 Foley Rd                                                    Marlborough, MA 01752‐1922                                                                             First Class Mail
Chartered Organization         Richfield Fire Dept                                        Great Trail 433                          4410 W Stsboro Rd                                              Richfield, OH 44286‐9308                                                                               First Class Mail
Chartered Organization         Richfield Lions Club                                       c/o Ray Tweedale                         1757 Kettering Rdg                                             Richfield, WI 53076‐9610                                                                               First Class Mail
Chartered Organization         Richfield Public Safety                                    Northern Star Council 250                6700 Portland Ave                                              Richfield, MN 55423‐2560                                                                               First Class Mail
Chartered Organization         Richfield Springs Rotary Club                              Leatherstocking 400                      P.O. Box 1535                                                  Richfield Springs, NY 13439‐1535                                                                       First Class Mail
Chartered Organization         Richfield Utd Church Of Christ                             Great Trail 433                          4340 W Stsboro Rd                                              Richfield, OH 44286‐9759                                                                               First Class Mail
Chartered Organization         Richfield Ward ‐ Carey Stake                               Snake River Council 111                  1220N 1309E                                                    Richfield, ID 83349                                                                                    First Class Mail
Chartered Organization         Richfield Womens Club                                      Juniata Valley Council 497               1076 Seven Stars Rd                                            Richfield, PA 17086‐9797                                                                               First Class Mail
Chartered Organization         Richford Lions Club                                        Green Mountain 592                       1068 S Richford Rd                                             Richford, VT 05476                                                                                     First Class Mail
Voting Party                   Richford United Methodist Church                           Attn: Rev Donavee Copenhaver             86 River St                                                    Richford, VT 05476                                                    bookladi@gmail.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Richie‐Bowers‐Kohout Vfw 9298                              Glaciers Edge Council 620                180 Cherwill St                                                Livingston, WI 53554‐9460                                                                              First Class Mail
Chartered Organization         Richie‐Bowers‐Kohout Vfw 9298                              Glaciers Edge Council 620                P.O. Box 249                                                   Montfort, WI 53569‐0249                                                                                First Class Mail
Chartered Organization         Richland Baptist Church                                    National Capital Area Council 082        2482 Warrenton Rd                                              Fredericksburg, VA 22406‐4838                                                                          First Class Mail
Chartered Organization         Richland Center Fire Dept                                  Glaciers Edge Council 620                205 E Mill St                                                  Richland Center, WI 53581‐2244                                                                         First Class Mail
Chartered Organization         Richland Center Kiwanis Club                               c/o Thomas H Hougan                      28898 Rustic Village Ln                                        Richland Center, WI 53581‐6733                                                                         First Class Mail
Chartered Organization         Richland Cnty Fish & Game Prot Assoc Inc                   Buckeye Council 436                      P.O. Box 272                                                   Mansfield, OH 44901‐0272                                                                               First Class Mail
Chartered Organization         Richland County Sheriffs Dept                              Buckeye Council 436                      597 Park Ave E                                                 Mansfield, OH 44905‐2848                                                                               First Class Mail
Chartered Organization         Richland County Sheriff'S Dept                             Indian Waters Council 553                P.O. Box 143                                                   Columbia, SC 29202‐0143                                                                                First Class Mail
Chartered Organization         Richland Lutheran Church                                   Northern Lights Council 429              6165 172nd Ave Se                                              Walcott, ND 58077‐9711                                                                                 First Class Mail
Chartered Organization         Richland Lutheran Church Men                               Blue Mountain Council 604                901 Van Giesen St                                              Richland, WA 99354‐2951                                                                                First Class Mail
Chartered Organization         Richland Newhope Center                                    Buckeye Council 436                      314 Cleveland Ave                                              Mansfield, OH 44902‐8623                                                                               First Class Mail
Chartered Organization         Richland Presbyterian Church                               Southern Shores Fsc 783                  8047 Church St                                                 Richland, MI 49083‐9629                                                                                First Class Mail
Chartered Organization         Richland Rural Life Center                                 Buckeye Council 436                      969 Crall Rd                                                   Mansfield, OH 44903‐9518                                                                               First Class Mail
Chartered Organization         Richland Twp Vol Fireman'S Assoc                           Laurel Highlands Council 527             1321 Scalp Ave                                                 Johnstown, PA 15904‐3106                                                                               First Class Mail
Chartered Organization         Richland Twp Volunteer Fire Dept                           Laurel Highlands Council 527             1321 Scalp Ave                                                 Johnstown, PA 15904‐3106                                                                               First Class Mail
Chartered Organization         Richlands Boys And Girls Club                              East Carolina Council 426                110 E Foy St                                                   Richlands, NC 28574‐8278                                                                               First Class Mail
Chartered Organization         Richlandtown Volunteer Fire Co No 1                        Washington Crossing Council 777          P.O. Box 640                                                   Richlandtown, PA 18955‐0640                                                                            First Class Mail
Voting Party                   Richmond Community United Methodist Church                 Attn: Sharon Sargent, Pastor             11 Fitzwilliam Rd                                              Richmond, NH 03470                                                    richmondcommunityumc@gmail.com   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Richmond Congregational Church                             Western Massachusetts Council 234        P.O. Box 2                                                     Richmond, MA 01254‐0002                                                                                First Class Mail
Chartered Organization         Richmond County District Attorney                          Greater New York Councils, Bsa 640       130 Stuyvesant Pl                                              Staten Island, NY 10301‐1968                                                                           First Class Mail
Chartered Organization         Richmond County Schools Ecd                                Central N Carolina Council 416           118 Vance St                                                   Hamlet, NC 28345‐3359                                                                                  First Class Mail
Chartered Organization         Richmond County Sheriffs Dept                              Georgia‐Carolina 093                     401 Walton Way                                                 Augusta, GA 30901‐5804                                                                                 First Class Mail
Chartered Organization         Richmond Elks Lodge 1251                                   Mt Diablo‐Silverado Council 023          3931 San Pablo Dam Rd                                          El Sobrante, CA 94803‐2823                                                                             First Class Mail
Chartered Organization         Richmond Elks Lodge 45 Bpoe                                Heart of Virginia Council 602            P.O. Box 9456                                                  Richmond, VA 23228‐0456                                                                                First Class Mail
Chartered Organization         Richmond Hill High School Sailing Club                     Coastal Georgia Council 099              1 Wildcat Dr                                                   Richmond Hill, GA 31324‐8809                                                                           First Class Mail
Chartered Organization         Richmond Hill Presbyterian Church                          Coastal Georgia Council 099              12965 Ga Hwy 144                                               Richmond Hill, GA 31324‐7346                                                                           First Class Mail
Chartered Organization         Richmond Hill Utd Methodist Church                         Coastal Georgia Council 099              P.O. Box 1480                                                  Richmond Hill, GA 31324‐1480                                                                           First Class Mail
Chartered Organization         Richmond Kidz Academy                                      Central N Carolina Council 416           106 Murray Manor Ln                                            Rockingham, NC 28379‐9501                                                                              First Class Mail
Chartered Organization         Richmond Police Athletic League                            Mt Diablo‐Silverado Council 023          2200 Macdonald Ave                                             Richmond, CA 94801‐3313                                                                                First Class Mail
Chartered Organization         Richmond Police Dept                                       Mt Diablo‐Silverado Council 023          1701 Regatta Blvd                                              Richmond, CA 94804‐7409                                                                                First Class Mail
Chartered Organization         Richmond Police Dept                                       Crossroads of America 160                50 N 5th St                                                    Richmond, IN 47374‐4247                                                                                First Class Mail
Chartered Organization         Richmond Pto                                               Cimarron Council 474                     201 W Richmond Rd                                              Stillwater, OK 74075‐1639                                                                              First Class Mail
Chartered Organization         Richmond School Pto/Bc                                     Potawatomi Area Council 651              N56W26530 Richmond Rd                                          Sussex, WI 53089                                                                                       First Class Mail
Chartered Organization         Richmond Sportsmans Club                                   Great Lakes Fsc 272                      9134 Big Hand Rd                                               Columbus, MI 48063‐3010                                                                                First Class Mail
Chartered Organization         Richmond Twp Fire Protection Dist                          Blackhawk Area 660                       5601 Hunter Dr                                                 Richmond, IL 60071‐4100                                                                                First Class Mail
Voting Party                   Richmond United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Richmond United Methodist Church                           8538 Delaware Dr                         Bangor, PA 18013                                                                                                                                                      First Class Mail
Chartered Organization         Richmond Utd Methodist Church                              Minsi Trails Council 502                 8538 Delaware Dr                                               Bangor, PA 18013‐9662                                                                                  First Class Mail
Chartered Organization         Richmond Utd Methodist Church                              Heart of America Council 307             P.O. Box 406                                                   Richmond, MO 64085‐0406                                                                                First Class Mail
Chartered Organization         Richmond Utd Methodist Church                              Ohio River Valley Council 619            212 S Sugar St                                                 Richmond, OH 43944‐7977                                                                                First Class Mail
Chartered Organization         Richmond Volunteer Fire Dept                               Seneca Waterways 397                     P.O. Box 469                                                   Honeoye, NY 14471‐0469                                                                                 First Class Mail
Chartered Organization         Richton Utd Methodist Church                               Pine Burr Area Council 304               P.O. Box 515                                                   Richton, MS 39476‐0515                                                                                 First Class Mail
Chartered Organization         Richwood High School                                       Louisiana Purchase Council 213           5901 Hwy 165 Byp                                               Monroe, LA 71202‐7236                                                                                  First Class Mail
Chartered Organization         Richwoods Fire Protection District                         Greater St Louis Area Council 312        10015 Turtle Rd                                                Richwoods, MO 63071‐2142                                                                               First Class Mail
Firm                           Rick Caballero Attorney at Law                             Ricardo (Rick) Caballero                 13802 Perkins Road Ste B                                       Baton Rouge, LA 70810                                                 redsticklaw@aol.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rick Looby Homes                                           Golden Spread Council 562                P.O. Box 52290                                                 Amarillo, TX 79159‐2290                                                                                First Class Mail
Chartered Organization         Rickard School Pto                                         Northern Lights Council 429              1224 1st Ave E                                                 Williston, ND 58801‐4266                                                                               First Class Mail
Voting Party                   Rico United Methodist Church ‐ Palmetto                    c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Ridge Baptist Church                                       Coastal Carolina Council 550             2168 Ridge Church Rd                                           Summerville, SC 29486‐7117                                                                             First Class Mail
Chartered Organization         Ridge Culver Volunteer Firemans Assoc                      Seneca Waterways 397                     4900 Culver Rd                                                 Rochester, NY 14622‐1314                                                                               First Class Mail
Voting Party                   Ridge Manor Community Umc                                  c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Ridge Ranch Pta                                            Northern New Jersey Council, Bsa 333     345 Lockwood Dr                                                Paramus, NJ 07652‐3412                                                                                 First Class Mail
Chartered Organization         Ridge Spring Baptist Church                                Indian Waters Council 553                108 Church Cir                                                 Ridge Spring, SC 29129                                                                                 First Class Mail
Voting Party                   Ridge Street Umc (179432)                                  c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                         680 Washington Rd, Ste 200         Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Ridge Volunteer Fire Dept                                  Suffolk County Council Inc 404           P.O. Box 515                                                   Ridge, NY 11961‐0515                                                                                   First Class Mail
Chartered Organization         Ridgecrest School Pta                                      Golden Spread Council 562                5306 SW 37th Ave                                               Amarillo, TX 79109‐4203                                                                                First Class Mail
Voting Party                   Ridgecrest United Methodist Church (Rumc)                  Attn: Bill Pillers                       639 N Norma St                                                 Ridgecrest, CA 93555                                                  umcreoffice@gmail.com            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Ridge‐Culver Fire District                                 Seneca Waterways 397                     2960 Culver Rd                                                 Rochester, NY 14622‐2830                                                                               First Class Mail
Chartered Organization         Ridgefield Lions Club                                      Cascade Pacific Council 492              P.O. Box 416                                                   Ridgefield, WA 98642‐0416                                                                              First Class Mail
Chartered Organization         Ridgeley Vfw Gold Star Post 6452                           Laurel Highlands Council 527             P.O. Box 616                                                   Ridgeley, WV 26753‐0616                                                                                First Class Mail
Chartered Organization         Ridgeline Academy                                          Grand Canyon Council 010                 33625 N North Valley Pkwy                                      Phoenix, AZ 85085‐4229                                                                                 First Class Mail
Chartered Organization         Ridgeline Academy                                          Grand Canyon Council 010                 33625 N North Valley Pkwy                                      Phoenix, AZ 85085‐4229                                                                                 First Class Mail
Chartered Organization         Ridgeline Community Church                                 Denver Area Council 061                  555 Heritage Ave                                               Castle Rock, CO 80104‐8823                                                                             First Class Mail
Voting Party                   Ridgely United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Ridgerunner Sportsmans Club, Inc                           Bay‐Lakes Council 635                    N3163 Tipperary Rd                                             Cascade, WI 53011                                                                                      First Class Mail
Chartered Organization         Ridgeview Classical School                                 Longs Peak Council 062                   1800 S Lemay Ave                                               Fort Collins, CO 80525‐1240                                                                            First Class Mail
Chartered Organization         Ridgeview Elementary School (Sn)                           North Florida Council 087                421 Jefferson Ave                                              Orange Park, FL 32065‐6711                                                                             First Class Mail
Chartered Organization         Ridgeview Elementary School Pta                            Pikes Peak Council 060                   6753 Shimmering Creek Dr                                       Colorado Springs, CO 80923‐4453                                                                        First Class Mail
Chartered Organization         Ridgeview Elementary School Pto                            W D Boyce 138                            3903 W Ridgeview Dr                                            Peoria, IL 61615‐8706                                                                                  First Class Mail
Chartered Organization         Ridgeview High School (Sn)                                 North Florida Council 087                466 Madison Ave                                                Orange Park, FL 32065‐6766                                                                             First Class Mail
Chartered Organization         Ridgeville Calvary Utd Methodist Ch                        Crossroads of America 160                200 S Portland St                                              Ridgeville, IN 47380                                                                                   First Class Mail
Chartered Organization         Ridgeway Ptsa                                              Great Rivers Council 653                 107 E Sexton Rd                                                Columbia, MO 65203‐4082                                                                                First Class Mail
Chartered Organization         Ridgeway Ruritan Club                                      Blue Ridge Mtns Council 599              P.O. Box 843                                                   Ridgeway, VA 24148‐0843                                                                                First Class Mail
Voting Party                   Ridgeway Umc                                               c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Ridgeway Utd Methodist Church                              Blue Ridge Mtns Council 599              P.O. Box 78                                                    Ridgeway, VA 24148‐0078                                                                                First Class Mail
Chartered Organization         Ridgeway Volunteer Fire Co 1                               Jersey Shore Council 341                 2848 Ridgeway Rd                                               Manchester, NJ 08759‐4709                                                                              First Class Mail
Chartered Organization         Ridgewood Church                                           Northern Star Council 250                4420 County Rd 101                                             Minnetonka, MN 55345‐2421                                                                              First Class Mail
Chartered Organization         Ridgewood Elementary Pta                                   Great Lakes Fsc 272                      49775 6 Mile Rd                                                Northville, MI 48168‐9671                                                                              First Class Mail
Chartered Organization         Ridgewood Park Elementary School Pta                       Central Florida Council 083              3401 Pioneer Rd                                                Orlando, FL 32808‐3229                                                                                 First Class Mail
Voting Party                   Ridgewood Park United Methodist Church                     Attn: Rev William W Eason                6445 E Lovers Ln                                               Dallas, TX 75214                                                      BEason@RidgewoodParkChurch.org   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Ridgewood United Metho                                     c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Ridgewood United Methodist Church 100 Dayton St            c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Ridgewood Utd Methodist Church                             Lake Erie Council 440                    6330 Ridge Rd                                                  Parma, OH 44129‐5037                                                                                   First Class Mail
Chartered Organization         Ridglea Presbyterian Church                                Longhorn Council 662                     6201 Camp Bowie Blvd                                           Fort Worth, TX 76116‐5524                                                                              First Class Mail
Chartered Organization         Ridley & Co LLC                                            Texas Trails Council 561                 175 Hedges Rd                                                  Abilene, TX 79605‐6551                                                                                 First Class Mail
Chartered Organization         Riekes Equipment                                           Mid‐America Council 326                  P.O. Box 3392                                                  Omaha, NE 68103‐0392                                                                                   First Class Mail
Chartered Organization         Rifle Elks Lodge 2195 (Bpoe)                               Denver Area Council 061                  P.O. Box 1229                                                  Rifle, CO 81650‐1229                                                                                   First Class Mail
Voting Party                   Rifle United Methodist Presbyterian Church                 200 E 4th St                             Rifle, CO 81650                                                                                                                      rifleumpc@gmail.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Riflemen Of Wynnes Falls                                   Blue Ridge Mtns Council 599              214 Bailey Pl                                                  Danville, VA 24540‐2122                                                                                First Class Mail
Chartered Organization         Riggs Ambulance Service                                    Greater Yosemite Council 059             100 Riggs Ave                                                  Merced, CA 95341‐6464                                                                                  First Class Mail
Voting Party                   Rightstar Inc                                              1951 Kidwell Dr, Ste 110                 Vienna, VA 22182‐3930                                                                                                                theresa.krawczyk@rightstar.com   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Riley ‐ Clc                                                Three Harbors Council 636                2424 S 4th St                                                  Milwaukee, WI 53207‐1411                                                                               First Class Mail
Chartered Organization         Riley Children'S Health                                    Crossroads of America 160                705 Riley Hospital Dr                                          Indianapolis, IN 46202‐5109                                                                            First Class Mail
Chartered Organization         Riley Home And School Assoc                                Longhouse Council 373                    E 8th & Bunner St                                              Oswego, NY 13126                                                                                       First Class Mail
Firm                           Rimland Law                                                Glen P. Ahlers, Esq.                     225 Broadway, Ste. 1606                                        New York, NY 10007                                                    gahlers@rimlandlaw.com           Email
                                                                                                                                                                                                                                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 315 of 442
                                                                                 Case 20-10343-LSS                                                 Doc 8171                                      Filed 01/06/22                                                     Page 331 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                       Name                                                                                                    Address                                                                                                              Email                Method of Service
Chartered Organization         Rimora Foundation                                        Stonewall Jackson Council 763                        2410 Old Ivy Rd                                            Charlottesville, VA 22903‐5084                                                                           First Class Mail
Chartered Organization         Rimora Foundation                                        Stonewall Jackson Council 763                        2410 Old Ivy Rd                                            Charlottesville, VA 22903‐5084                                                                           First Class Mail
Chartered Organization         Rimrock Trails Adolescent Treatment                      Crater Lake Council 491                              1333 NW 9th St                                             Prineville, OR 97754‐1482                                                                                First Class Mail
Voting Party                   Rincon United Methodist Church                           Attn: Rev J Michael Finn                             107 Savannah Ave                                           Rincon, GA 31326                                                      pastor@rinconumc.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Rineyville Elementary                                    Lincoln Heritage Council 205                         275 Rineyville School Rd                                   Rineyville, KY 40162‐9763                                                                                First Class Mail
Chartered Organization         Rineyville Parent Teacher Assoc                          Lincoln Heritage Council 205                         275 Rineyville School Rd                                   Rineyville, KY 40162‐9763                                                                                First Class Mail
Chartered Organization         Ringgold Baptist Church                                  Blue Ridge Mtns Council 599                          4594 Ringgold Church Rd                                    Ringgold, VA 24586‐4620                                                                                  First Class Mail
Voting Party                   Ringgold United Methodist Church ‐ Ringgold              c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Ringgold United Methodist Church (85845)                 c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ringgold Utd Methodist Church                            Cherokee Area Council 556                            P.O. Box 99                                                Ringgold, GA 30736‐0099                                                                                  First Class Mail
Voting Party                   Rinn United Methodist Church                             Sue M Mercer                                         3783 Bella Rosa Pkwy                                       Frederick, CO 80504                                                   info@rinnumc.org                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Rinn United Methodist Church                             Attn: Sue M Mercer                                   436 Birch Ave                                              Dacono, CO 80514                                                      coloradosue@msn.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Rinn Utd Methodist Church                                Longs Peak Council 062                               3783 Bella Rosa Pkwy                                       Frederick, CO 80504‐9417                                                                                 First Class Mail
Voting Party                   Rio Grande Cncl 775                                      6912 W Expressway 83                                 Harlingen, TX 78552‐3701                                                                                                                                            First Class Mail
Chartered Organization         Rio Grande Yacht Club                                    Great Swest Council 412                              P.O. Box 220                                               Elephant Butte, NM 87935‐0220                                                                            First Class Mail
Chartered Organization         Rio Rancho Presbyterian Church                           Great Swest Council 412                              1004 24th St SE                                            Rio Rancho, NM 87124‐5202                                                                                First Class Mail
Chartered Organization         Rio Rancho Rotary Club                                   Great Swest Council 412                              P.O. Box 15842                                             Rio Rancho, NM 87174‐0842                                                                                First Class Mail
Chartered Organization         Rio Rancho Utd Methodist Church                          Great Swest Council 412                              1652 Abrazo Rd Ne                                          Rio Rancho, NM 87124‐2639                                                                                First Class Mail
Chartered Organization         Rio Vista Lions Club                                     Golden Empire Council 047                            P.O. Box 362                                               Rio Vista, CA 94571‐0362                                                                                 First Class Mail
Chartered Organization         Rip Van Winkle Council Bsa                               Rip Van Winkle Council 405                           1300 Ulster Ave, Ste 107                                   Kingston, NY 12401‐1571                                                                                  First Class Mail
Voting Party                   Ripley First United Methodist Church                     United Methodist Church                              145 S Main St                                              Ripley, TN 38063                                                      revlorajean@ripleyfumc.com         Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ripley First Utd Methodist Church                        West Tennessee Area Council 559                      145 S Main St                                              Ripley, TN 38063‐1549                                                                                    First Class Mail
Chartered Organization         Ripley Rotary Club                                       Yocona Area Council 748                              P.O. Box 498                                               Ripley, MS 38663‐0498                                                                                    First Class Mail
Voting Party                   Ripley United Methodist Church                           Attn: Phyllis Mosley                                 85 Pine St                                                 Dexter, ME 04930                                                      smyhod@hotmail.com                 Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Ripon Consolidated Fire District                         Greater Yosemite Council 059                         142 S Stockton Ave                                         Ripon, CA 95366‐2759                                                                                     First Class Mail
Chartered Organization         Ripon Free Methodist Church                              Greater Yosemite Council 059                         218 W Main St                                              Ripon, CA 95366‐2422                                                                                     First Class Mail
Chartered Organization         Ripon Lions Club                                         Greater Yosemite Council 059                         P.O. Box 545                                               Ripon, CA 95366‐0545                                                                                     First Class Mail
Chartered Organization         Rippavilla Plantation                                    Middle Tennessee Council 560                         5700 Main St                                               Spring Hill, TN 37174‐2408                                                                               First Class Mail
Chartered Organization         Rippling River Resort                                    Bay‐Lakes Council 635                                1520 Commerce Dr                                           Marquette, MI 49855‐8640                                                                                 First Class Mail
Voting Party                   Ripton Community Church United Methodist Church          Attn: Norm Tjossem                                   P.O. Box 119                                               Ripton, VT 05766                                                                                         First Class Mail
Chartered Organization         Rise And Shine Academy                                   Erie Shores Council 460                              3248 Warsaw St                                             Toledo, OH 43608‐1852                                                                                    First Class Mail
Chartered Organization         Rise Learning Center                                     Crossroads of America 160                            5391 Shelby St                                             Indianapolis, IN 46227‐4214                                                                              First Class Mail
Chartered Organization         Rise Up For Youth                                        Quivira Council, Bsa 198                             P.O. Box 1256                                              Wichita, KS 67201‐1256                                                                                   First Class Mail
Chartered Organization         Risen Christ Lutheran Church                             Tecumseh 439                                         41 E Possum Rd                                             Springfield, OH 45502‐9477                                                                               First Class Mail
Voting Party                   Risen Savior Lutheran Church                             6770 E 34th St N                                     Wichita, KS 67226                                                                                                                info@risensavior.net               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Rising Mt Zion Baptist Church                            Heart of Virginia Council 602                        2705 Hartman St                                            Richmond, VA 23223‐2047                                                                                  First Class Mail
Chartered Organization         Rising Star Isd Education Foundation                     Texas Trails Council 561                             P.O. Box 164                                               Rising Star, TX 76471‐0164                                                                               First Class Mail
Chartered Organization         Rising Star Lodge 4 Af & Am                              Katahdin Area Council 216                            P.O. Box 158                                               Penobscot, ME 04476‐0158                                                                                 First Class Mail
Chartered Organization         Rising Sun Lions Club                                    Hoosier Trails Council 145 145                       118B Main St                                               Rising Sun, IN 47040                                                                                     First Class Mail
Voting Party                   Rison United Methodist Church                            Attn: Mark Pitchford                                 P.O. Box 468                                               Rison, AR 71665                                                       lraines@fridayfirm.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Rita Murphy Pto                                          Northern Lights Council 429                          611 N 31st St                                              Bismarck, ND 58501‐3203                                                                                  First Class Mail
Chartered Organization         Rita Ranch Ward ‐ Lds Rincon Stake                       Catalina Council 011                                 10220 E Rees Loop                                          Tucson, AZ 85747‐9168                                                                                    First Class Mail
Chartered Organization         Ritchie Trent America Legion Post 148                    Lincoln Heritage Council 205                         1129 Riverview Dr                                          West Point, KY 40177                                                                                     First Class Mail
Chartered Organization         Rite Brothers Aviation                                   Chief Seattle Council 609                            1402 Fairchild Airport Rd                                  Port Angeles, WA 98363‐9502                                                                              First Class Mail
Chartered Organization         Rite Of Passage ‐ Mt Evans Q House                       Denver Area Council 061                              8810 Chicago Creek Rd                                      Idaho Springs, CO 80452‐9623                                                                             First Class Mail
Chartered Organization         Ritesmile Dental                                         Sam Houston Area Council 576                         15200 Southwest Fwy, Ste 250                               Sugar Land, TX 77478‐3865                                                                                First Class Mail
Chartered Organization         Ritzville Vfw Post 11446                                 Grand Columbia Council 614                           106 W Broadway Ave                                         Ritzville, WA 99169‐1849                                                                                 First Class Mail
Chartered Organization         Riva Trace Baptist Church                                Baltimore Area Council 220                           475 W Central Ave                                          Davidsonville, MD 21035‐2027                                                                             First Class Mail
Chartered Organization         River Bend Academy                                       Gulf Stream Council 085                              11301 SE Tequesta Ter                                      Tequesta, FL 33469‐8146                                                                                  First Class Mail
Chartered Organization         River Bend School Pto                                    Greater St Louis Area Council 312                    224 River Valley Dr                                        Chesterfield, MO 63017‐2660                                                                              First Class Mail
Chartered Organization         River Cities Rotary                                      Illowa Council 133                                   P.O. Box 244                                               Rapids City, IL 61278‐0244                                                                               First Class Mail
Voting Party                   River Cities Rotary                                      Attn: M Joseph King, President River Cities Rotary   1914 Ridgefield Dr                                         Port Byron, IL 61275                                                  mjoeking@mail.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         River City Scholars                                      President Gerald R Ford 781                          944 Evergreen St Se                                        Grand Rapids, MI 49507‐2051                                                                              First Class Mail
Chartered Organization         River Crossing Ward                                      Lds Tucson West Stake                                2002 N Greasewood Rd                                       Tucson, AZ 85745                                                                                         First Class Mail
Chartered Organization         River Falls Community Club                               National Capital Area Council 082                    10537 Macarthur Blvd                                       Potomac, MD 20854‐3806                                                                                   First Class Mail
Chartered Organization         River Falls Moose Lodge 594                              Northern Star Council 250                            620 Clark St                                               River Falls, WI 54022‐1403                                                                               First Class Mail
Chartered Organization         River Forest Service Club                                Pathway To Adventure 456                             535 Thatcher Ave                                           River Forest, IL 60305‐1624                                                                              First Class Mail
Voting Party                   River Forest Umc                                         7970 Lake St                                         River Forest, IL 60305                                                                                                           Chris@urbanvillagechurch.org       Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         River Glen Presbyterian Church                           Three Fires Council 127                              1140 Raymond Dr                                            Naperville, IL 60563‐4041                                                                                First Class Mail
Chartered Organization         River Grove Lions Club                                   Pathway To Adventure 456                             P.O. Box 15                                                River Grove, IL 60171‐0015                                                                               First Class Mail
Chartered Organization         River Grove Moose Lodge                                  Pathway To Adventure 456                             8601 Fullerton Ave                                         River Grove, IL 60171‐1829                                                                               First Class Mail
Chartered Organization         River Hall Elementary                                    Southwest Florida Council 088                        2800 River Hall Pkwy                                       Alva, FL 33920‐4601                                                                                      First Class Mail
Chartered Organization         River Hill Community Assoc Inc                           Baltimore Area Council 220                           6020 Daybreak Cir                                          Clarksville, MD 21029‐1641                                                                               First Class Mail
Chartered Organization         River Hills Christian Church                             Dan Beard Council, Bsa 438                           6300 Price Rd                                              Loveland, OH 45140‐9111                                                                                  First Class Mail
Chartered Organization         River Hills Community Church                             Palmetto Council 549                                 104 Hamiltons Ferry Rd                                     Lake Wylie, SC 29710‐8960                                                                                First Class Mail
Chartered Organization         River Keepers                                            Northern Lights Council 429                          1120 28th Ave N, Ste B                                     Fargo, ND 58102‐1334                                                                                     First Class Mail
Chartered Organization         River Oaks Elementary School                             Louisiana Purchase Council 213                       600 Finks Hideaway Rd                                      Monroe, LA 71203‐2414                                                                                    First Class Mail
Voting Party                   River Oaks Umc ‐ Ft Worth                                c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         River Of Grace Elca                                      National Capital Area Council 082                    15012 Dumfries Rd                                          Manassas, VA 20112‐4023                                                                                  First Class Mail
Voting Party                   River Of Grace Lutheran Church, Manassas, VA 20112       Attn: Constance Thomson                              15012 Drumfries Rd                                         Manassas, VA 20112                                                    pastor@riverofgracenova.conm       Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         River Of Life Christian Academy                          Silicon Valley Monterey Bay 055                      10883A S Blaney Ave                                        Cupertino, CA 95014                                                                                      First Class Mail
Chartered Organization         River Of Life Church                                     Mississippi Valley Council 141 141                   P.O. Box 335                                               Dallas City, IL 62330‐0335                                                                               First Class Mail
Chartered Organization         River Of Life Methodist Church                           North Florida Council 087                            100 River of Life Dr                                       Saint Johns, FL 32259‐5100                                                                               First Class Mail
Voting Party                   River Of Life Umc                                        c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         River Park Moose Lodge 2578                              Pathway To Adventure 456                             8601 Fullerton Ave                                         River Grove, IL 60171‐1829                                                                               First Class Mail
Voting Party                   River Park Umc                                           Attn: Bill Thrasher                                  26 N Walton                                                South Bend, IN 46619                                                  bill.thrasher@comcast.net          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   River Park United Methodist Church                       Attn: Bill Thrasher                                  920 S 23rd St                                              South Bend, IN 46615                                                  bill.thrasher@comcast.net          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         River Plaza Pfa                                          Monmouth Council, Bsa 347                            155 Hubbard Ave                                            Red Bank, NJ 07701‐5534                                                                                  First Class Mail
Voting Party                   River Point Ministries Umc                               Attn: Linda Shirey                                   2862 131st St                                              Toldeo, OH 43611                                                      rpmumc@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   River Point Ministries Umc                               Attn: Amy Sue Kuhlman                                                                                                                                                                 kuhla7777@gmail.com                Email
Voting Party                   River Road Presbyterian Church                           Attn: Curtis G Manchester, Elder                     8960 River Rd                                              Richmond, VA 23229                                                    askus@rrpcusa.org                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         River Vale Community Church%                             Northern New Jersey Council, Bsa 333                 600 New St                                                 River Vale, NJ 07675‐6343                                                                                First Class Mail
Chartered Organization         River Vale Fire Dept Assoc                               Northern New Jersey Council, Bsa 333                 330 Rivervale Rd                                           River Vale, NJ 07675‐5722                                                                                First Class Mail
Chartered Organization         River Vale Police Officers Assoc                         Northern New Jersey Council, Bsa 333                 P.O. Box 2011                                              River Vale, NJ 07675‐9001                                                                                First Class Mail
Voting Party                   River Valley Church Of Apple Valley                      c/o Henningson & Snoxell, Ltd.                       Attn: Virginia Ruthann Cronin                              6900 Wedgwood Rd, Ste 200           Maple Grove, MN 55311             vcronin@hennsnoxlaw.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   River Valley Church Of Apple Valley                      12345 Portland Ave                                   Burnsville, MN 55337                                                                                                             vcronin@hennsnoxlaw.com            Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   River Valley Church Of Apple Valley                      12345 Portland Ave                                   Burnsville, MN 55337                                                                                                             danette.anderson@rivervalley.org   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         River View Pto                                           Rainbow Council 702                                  2097 S Bronk Rd                                            Plainfield, IL 60586‐8122                                                                                First Class Mail
Voting Party                   Riverbank First United Methodist Church                  Attn: Lynda K Silva                                  P.O. Box 1091                                              Riverbank, CA 95367                                                   lks1301dutch@aol.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Riverbend Academy                                        Gulf Stream Council 085                              11301 SE Tequesta Ter                                      Tequesta, FL 33469‐8146                                                                                  First Class Mail
Chartered Organization         Riverbend Church                                         Capitol Area Council 564                             4214 N Capital of Texas Hwy                                Austin, TX 78746‐1418                                                                                    First Class Mail
Chartered Organization         Riverbend Friends Church                                 Southern Shores Fsc 783                              9500 Tecumseh Clinton Hwy                                  Tecumseh, MI 49286‐9687                                                                                  First Class Mail
Voting Party                   Riverchase United Methodist Church                       Attn: Stuart Garrette                                1953 Old Montgomery Hwy                                    Hoover, AL 35244                                                      stuartg@riverchaseumc.org          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Rivercrest/ Deport Pto                                   Circle Ten Council 571                               3935 Fm 1487                                               Bogata, TX 75417                                                                                         First Class Mail
Chartered Organization         Riverdahl School Pto                                     Blackhawk Area 660                                   3520 Kishwaukee St                                         Rockford, IL 61109‐2005                                                                                  First Class Mail
Voting Party                   Riverdale First United Methodist Church                  c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Riverdale First Utd Methodist Church                     Atlanta Area Council 092                             6390 Church St                                             Riverdale, GA 30274‐1624                                                                                 First Class Mail
Chartered Organization         Riverdale Lions Club                                     Trapper Trails 589                                   4360 Parker Dr                                             Riverdale, UT 84405‐3340                                                                                 First Class Mail
Chartered Organization         Riverdale P T A                                          Illowa Council 133                                   2125 Devils Glen Rd                                        Bettendorf, IA 52722‐3914                                                                                First Class Mail
Chartered Organization         Riverdale Presbyterian Church                            Greater New York Councils, Bsa 640                   4765 Henry Hudson Pkwy W                                   Bronx, NY 10471‐3213                                                                                     First Class Mail
Chartered Organization         Riverdale Presbyterian Church                            Laurel Highlands Council 527                         1555 Brodhead Rd                                           Moon Township, PA 15108‐3869                                                                             First Class Mail
Chartered Organization         Riverdale Ptc                                            Cascade Pacific Council 492                          9727 SW Terwilliger Blvd                                   Portland, OR 97219‐6592                                                                                  First Class Mail
Voting Party                   Riverdale Umc                                            Rev James Russell Willis                             106 Nature Ct                                              New Bern, NC 28562                                                    fjfries@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Riverdale United Methodist Church                        Attn: Donnie Luption                                 5195 Us‐70                                                 New Bern, NC 28562                                                    riverdaleumc@embarqmail.com        Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Riverdale Utd Methodist Church                           East Carolina Council 426                            5195 US Hwy 70 E                                           New Bern, NC 28562‐9421                                                                                  First Class Mail
Chartered Organization         Riverdale Utd Presbyterian Church                        Laurel Highlands Council 527                         1555 Brodhead Rd                                           Moon Twp, PA 15108‐3869                                                                                  First Class Mail
Chartered Organization         Riverfield Country Day School                            Indian Nations Council 488                           2433 W 61st St                                             Tulsa, OK 74132‐1912                                                                                     First Class Mail
Voting Party                   Riverhead United Methodist Church                        Attn: Brenda Reeve                                   204 E Main St                                              Riverhead, NY 11901                                                   as032500@aol.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Rivermill Hoa                                            Gulf Stream Council 085                              6750 Rivermill Club Dr                                     Lake Worth, FL 33463                                                                                     First Class Mail
Voting Party                   River's Edge Church                                      Attn: Ruth Esther Angrisani                          6449 Riverside Blvd                                        Sacramento, CA 95831                                                  office@recsac.org                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Rivers Edge Umc                                          Dawn Marie Quesenberry                               P.O. Box 287                                               Portville, NY 14770                                                   DawnCKF@aol.com                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Rivers Edge Umc                                          Attn: Charles Henton                                 1345 Lillibridge Rd                                        Portville, NY 14770                                                   ajfan1975@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Riverside Area Community Club                            Hawkeye Area Council 172                             Rriverside                                                 Riverside, IA 52327                                                                                      First Class Mail
Chartered Organization         Riverside Church Of Christ                               Circle Ten Council 571                               150 E Belt Line Rd                                         Coppell, TX 75019‐4703                                                                                   First Class Mail
Chartered Organization         Riverside Cnty Fire Dept Little Lake 26                  California Inland Empire Council 045                 25954 Stanford St                                          Hemet, CA 92544‐4939                                                                                     First Class Mail
Chartered Organization         Riverside Cnty Sheriff Explorer Post 507                 California Inland Empire Council 045                 73705 Gerald Ford Dr                                       Palm Desert, CA 92211‐2008                                                                               First Class Mail
Chartered Organization         Riverside Community Assoc                                Baltimore Area Council 220                           P.O. Box 767                                               Belcamp, MD 21017                                                                                        First Class Mail
Chartered Organization         Riverside Community Church                               Blackhawk Area 660                                   6816 N 2nd St                                              Machesney Park, IL 61115‐3704                                                                            First Class Mail
Chartered Organization         Riverside County Fire Dept                               California Inland Empire Council 045                 628 Maple Ave                                              Beaumont, CA 92223‐2243                                                                                  First Class Mail
Chartered Organization         Riverside County Fire Dept                               California Inland Empire Council 045                 1377 6th St                                                Coachella, CA 92236‐1737                                                                                 First Class Mail
Chartered Organization         Riverside County Fire Dept                               California Inland Empire Council 045                 22250 Eucalyptus Ave                                       Moreno Valley, CA 92553‐8158                                                                             First Class Mail
Chartered Organization         Riverside County Fire Dept                               California Inland Empire Council 045                 9270 Limonite Ave                                          Riverside, CA 92509‐4923                                                                                 First Class Mail
Chartered Organization         Riverside County Fire Dept                               California Inland Empire Council 045                 30650 Pauba Rd                                             Temecula, CA 92592‐6206                                                                                  First Class Mail
Chartered Organization         Riverside County Fire Dept Station 76                    California Inland Empire Council 045                 29950 Menifee Rd                                           Menifee, CA 92584‐8188                                                                                   First Class Mail
Chartered Organization         Riverside County Sheriff Dept                            California Inland Empire Council 045                 137 N Perris Blvd                                          Perris, CA 92570‐1969                                                                                    First Class Mail
Chartered Organization         Riverside County Sheriff Dept                            California Inland Empire Council 045                 86625 Airport Blvd                                         Thermal, CA 92274‐9703                                                                                   First Class Mail
Chartered Organization         Riverside County Sheriff‐Hemet                           California Inland Empire Council 045                 43950 Acacia Ave                                           Hemet, CA 92544‐5343                                                                                     First Class Mail
Chartered Organization         Riverside County Sheriffs Dept                           California Inland Empire Council 045                 333 W Ltd Ave                                              Lake Elsinore, CA 92530‐3746                                                                             First Class Mail
Chartered Organization         Riverside County Sheriffs Dept                           California Inland Empire Council 045                 22850 Cll Sn Juan De Los Lagos                             Moreno Valley, CA 92553‐9045                                                                             First Class Mail
Chartered Organization         Riverside County Sheriffs Dept                           California Inland Empire Council 045                 7477 Mission Blvd                                          Riverside, CA 92509‐2400                                                                                 First Class Mail
Chartered Organization         Riverside County Sheriffs Dept                           California Inland Empire Council 045                 P.O. Box 892050                                            Temecula, CA 92589‐2050                                                                                  First Class Mail
Chartered Organization         Riverside Elementary                                     Lincoln Heritage Council 205                         17 Laurel Dr                                               Jeffersonville, IN 47130‐5473                                                                            First Class Mail
Chartered Organization         Riverside Elementary Pto                                 Simon Kenton Council 441                             3260 Riverside Green Dr                                    Dublin, OH 43017‐1671                                                                                    First Class Mail
Chartered Organization         Riverside Elementary School                              Lake Erie Council 440                                14601 Montrose Ave                                         Cleveland, OH 44111‐1322                                                                                 First Class Mail
Chartered Organization         Riverside Fire Dept                                      California Inland Empire Council 045                 3401 University Ave                                        Riverside, CA 92501‐3326                                                                                 First Class Mail
Chartered Organization         Riverside Foundation                                     Northeast Illinois 129                               14588 W Half Day Rd                                        Lincolnshire, IL 60069‐3024                                                                              First Class Mail
Chartered Organization         Riverside Grange                                         Green Mountain 592                                   30 Batten Rd                                               West Topsham, VT 05086                                                                                   First Class Mail
Chartered Organization         Riverside Gun Club Inc                                   Mayflower Council 251                                P.O. Box 152                                               Hudson, MA 01749‐0152                                                                                    First Class Mail
Chartered Organization         Riverside High School Booster Club                       Occoneechee 421                                      3218 Rose of Sharon Rd                                     Durham, NC 27712‐3130                                                                                    First Class Mail
Chartered Organization         Riverside Intermediate                                   Atlanta Area Council 092                             285 S Gordon Rd Sw                                         Mableton, GA 30126‐5303                                                                                  First Class Mail
Chartered Organization         Riverside Machine And Engineering                        Chippewa Valley Council 637                          2445 Alpine Rd                                             Eau Claire, WI 54703‐9562                                                                                First Class Mail
Chartered Organization         Riverside Police Dept                                    California Inland Empire Council 045                 10540 Magnolia Ave, Ste B                                  Riverside, CA 92505‐1897                                                                                 First Class Mail
Chartered Organization         Riverside Police Dept                                    Garden State Council 690                             1 W Scott St                                               Riverside, NJ 08075‐3601                                                                                 First Class Mail
Chartered Organization         Riverside Presbyterian Church                            Pathway To Adventure 456                             116 Barrypoint Rd                                          Riverside, IL 60546‐2840                                                                                 First Class Mail
Chartered Organization         Riverside Presbyterian Church                            National Capital Area Council 082                    46040 Center Oak Plz                                       Sterling, VA 20166‐8539                                                                                  First Class Mail
Chartered Organization         Riverside Primary School                                 Atlanta Area Council 092                             461 S Gordon Rd SW                                         Mableton, GA 30126‐5134                                                                                  First Class Mail
Chartered Organization         Riverside School Parents                                 Ore‐Ida Council 106 ‐ Bsa 106                        2164 E Skipperling Ln                                      Boise, ID 83706‐6142                                                                                     First Class Mail
Chartered Organization         Riverside Sunrise Rotary Club                            California Inland Empire Council 045                 P.O. Box 21155                                             Riverside, CA 92516‐1155                                                                                 First Class Mail
Voting Party                   Riverside United Methodist Church                        Robert Renn Jackson                                  5 School St                                                Porter, ME 04068                                                      pejretired@gmail.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Riverside United Methodist Church                        Attn: Wendy Hodgdon                                  P.O. Box 26                                                Parsonfield, ME 04047                                                 pejretired@gmail.com               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Riverside United Methodist Church                        Attn: Rev James Norton                               313 6th Ave                                                Columbia, TN 38401                                                    jimnorton53@gmail.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Riverside Utd Methodist Church                           Simon Kenton Council 441                             2701 Zollinger Rd                                          Columbus, OH 43221‐1747                                                                                  First Class Mail
Chartered Organization         Riverside Utd Methodist Church                           Central Georgia Council 096                          735 Pierce Ave                                             Macon, GA 31204‐1528                                                                                     First Class Mail
Chartered Organization         Riverside Utd Methodist Church                           Crossroads of America 160                            1201 N Wheeling Ave                                        Muncie, IN 47303‐2874                                                                                    First Class Mail
Voting Party                   Riverstone Claims Management LLC                         c/o Ifrah Pllc                                       Attn: George Calhoun                                       1717 Pennsylvania Ave Nw, Ste 650   Washington, DC 20006              george@ifrahlaw.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Riverstone Claims Management LLC                         c/o Riverstone Claims Management LLC                 Attn: Charles Fischette                                    250 Commercial St, Ste 5000         Manchester, NH 03101              charles_fischette@trg.com          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 316 of 442
                                                                                 Case 20-10343-LSS                                            Doc 8171                                                 Filed 01/06/22                                                  Page 332 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                       Name                                                                                                          Address                                                                                                             Email                Method of Service
Chartered Organization         Riverton Methodist Church                                Abraham Lincoln Council 144                     P.O. Box 440                                                          Riverton, IL 62561‐0440                                                                                 First Class Mail
Voting Party                   Riverton Park United Methodist                           c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Riverview East Academy                                   Dan Beard Council, Bsa 438                      3555 Kellogg Ave                                                      Cincinnati, OH 45226‐2180                                                                               First Class Mail
Chartered Organization         Riverview Elementary School Pto                          Lasalle Council 165                             2509 Wood St                                                          Elkhart, IN 46516‐5037                                                                                  First Class Mail
Chartered Organization         Riverview Evangelical Free Church                        San Diego Imperial Council 049                  4980 Sweetgrass Ln                                                    Bonsall, CA 92003‐2902                                                                                  First Class Mail
Chartered Organization         Riverview Health                                         Crossroads of America 160                       395 Westfield Rd                                                      Noblesville, IN 46060‐1425                                                                              First Class Mail
Chartered Organization         Riverview Middle School                                  Chippewa Valley Council 637                     135 W River Ave                                                       Barron, WI 54812‐1063                                                                                   First Class Mail
Chartered Organization         Riverview Park Reformed Church ‐ Yankton                 Sioux Council 733                               1700 Burleigh St                                                      Yankton, SD 57078‐2418                                                                                  First Class Mail
Chartered Organization         Riverview Pta                                            Great Trail 433                                 240 N River Rd                                                        Munroe Falls, OH 44262‐1312                                                                             First Class Mail
Voting Party                   Riverview United Methodist Church                        Attn: Pastor Teresa Person                      1640 Simmons Ave SE                                                   Huron, SD 57350                                                    pastor.teresa@santel.net             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Riverview Utd Methodist Church                           Georgia‐Carolina 093                            1244 Furys Ferry Rd                                                   Evans, GA 30809‐4610                                                                                    First Class Mail
Chartered Organization         Riverview Utd Methodist Church                           Blue Mountain Council 604                       P.O. Box 2306                                                         Pasco, WA 99302‐2306                                                                                    First Class Mail
Chartered Organization         Riverview Utd Methodist Church                           Greater Tampa Bay Area 089                      8002 US Hwy 301 S                                                     Riverview, FL 33578‐4353                                                                                First Class Mail
Chartered Organization         Riverview Utd Methodist Church                           Great Lakes Fsc 272                             13199 Colvin St                                                       Riverview, MI 48193‐6653                                                                                First Class Mail
Chartered Organization         Riverview/Bayshore Medical Center                        Monmouth Council, Bsa 347                       1 Riverview Plz                                                       Red Bank, NJ 07701‐1864                                                                                 First Class Mail
Chartered Organization         Riverwood Plantation Home Ownersassoc                    Georgia‐Carolina 093                            5123 Riverwood Pkwy                                                   Evans, GA 30809‐6629                                                                                    First Class Mail
Chartered Organization         Riviera Beach Police Dept                                Gulf Stream Council 085                         600 W Blue Heron Blvd                                                 Riviera Beach, FL 33404‐4311                                                                            First Class Mail
Chartered Organization         Riviera Elementary School                                Central Florida Council 083                     351 Riviera Dr Ne                                                     Palm Bay, FL 32905‐6327                                                                                 First Class Mail
Voting Party                   Riviera Presbyterian Church, Inc.                        Attn: Barbara Prieto                            5275 Sunset Dr                                                        Miami, FL 33143                                                    rivierachurch@bellsouth.net          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Riviera Umc                                              c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Riviera United Methodist Church                          Attn: Pastor Dr Amy Aitken                      375 Palos Verdes Blvd                                                 Redondo Beach, CA 90277                                            office@rivieraumc.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Riviera Utd Methodist Church                             Greater Tampa Bay Area 089                      175 62nd Ave N                                                        Saint Petersburg, FL 33702‐7533                                                                         First Class Mail
Voting Party                   Rivkin Radler                                            Attn: Robert H Iseman                           66 S Pearl St 11th Fl                                                 Albany, NY 12207                                                   robert.iseman@rivkin.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Rizutto Elementary Pto                                   Sam Houston Area Council 576                    9601 W Fairmont Pkwy                                                  La Porte, TX 77571‐2934                                                                                 First Class Mail
Chartered Organization         Rl Thompson Elementary Pipes Pto                         Sam Houston Area Council 576                    6121 Tierwester St                                                    Houston, TX 77021‐1311                                                                                  First Class Mail
Firm                           RLS Firm, PLLC                                           Robinn Singles                                  720 Saint Johns Bluff RD N, Ste 2                                     Jacksonville, FL 32225                                             BSACLAIMS@RLSFIRM.COM                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Firm                           Roach, Lennon & Brown, PLLC                              J. Michael Lennon, Esq.                         535 Washington Street, Ste 1000                                       Buffalo, NY 14203                                                  jmlennon@rlbattomeys.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Road Kill Cafe                                           Istrouma Area Council 211                       6897 Hwy 63                                                           Clinton, LA 70722‐5054                                                                                  First Class Mail
Voting Party                   Roanoke Christ's United Methodist Church                 Attn: Carla Rice, Pastor                        148 W 3rd St                                                          P.O. Box 160                      Roanoke, IN 46783                carla.rice@inumc.org                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Roanoke City Schs 21St Century Hurt Park                 Blue Ridge Mtns Council 599                     3901 Williamson Rd NW                                                 Roanoke, VA 24012‐2812                                                                                  First Class Mail
Chartered Organization         Roanoke Elementary School Pta                            Anthony Wayne Area 157                          423 W Vine St                                                         Roanoke, IN 46783‐9146                                                                                  First Class Mail
Chartered Organization         Roanoke Rapids Rotary Club                               East Carolina Council 426                       1002 Cleveland St                                                     Roanoke Rapids, NC 27870‐2450                                                                           First Class Mail
Voting Party                   Roaring Creek Valley Umc (00179512)                      c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Roaring River                                            c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Roaring River Utd Methodist Church                       Old Hickory Council 427                         131 Wo Blackburn Rd                                                   Roaring River, NC 28669                                                                                 First Class Mail
Chartered Organization         Roark Elementary School ‐ Gifw                           Longhorn Council 662                            3401 Roberts Cir                                                      Arlington, TX 76010                                                                                     First Class Mail
Voting Party                   Robards United Methodist Church                          Attn: Richard R Nollmann                        2422 N Elm St                                                         Henderson, KY 42420                                                brorick57@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Robbins United Methodist Church                          Attn: Treasurer, Robbins Umc                    6419 Bunker Rd                                                        Eaton Rapids, MI 48827‐9108                                        robbins@robbinsumc.org               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Robbinsville Township Pba Local 344                      Washington Crossing Council 777                 P.O. Box 10099                                                        Trenton, NJ 08650‐3099                                                                                  First Class Mail
Voting Party                   Robbinsville Umc                                         c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Robersonville Rotary Club                                East Carolina Council 426                       206 S Broad St                                                        Robersonville, NC 27871                                                                                 First Class Mail
Chartered Organization         Robersonville Ruritan Club                               East Carolina Council 426                       P.O. Box 298                                                          Robersonville, NC 27871‐0298                                                                            First Class Mail
Firm                           Robert A. Lees & Associates                              Robert A. Lees                                  5290 DTC Parkway, Ste 150                                             Greenwood Village, CO 80111                                        ral@robertalees.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Robert B Taylor                                          271 N Ave, Ste 801                              New Rochelle, NY 10801                                                                                                                   rtbt76@hotmail.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Robert Boyd Stewart Al Post 11                           Greater Wyoming Council 638                     144 W Main St                                                         Lovell, WY 82431‐1717                                                                                   First Class Mail
Chartered Organization         Robert C Marshall Rec Center                             Baltimore Area Council 220                      1201 Pennsylvania Ave                                                 Baltimore, MD 21217‐3016                                                                                First Class Mail
Chartered Organization         Robert C Marshall Rec Center                             Baltimore Area Council 220                      1201 Pennsylvania Ave                                                 Baltimore, MD 21217‐3016                                                                                First Class Mail
Chartered Organization         Robert E Coulter Post 1941                               Pathway To Adventure 456                        900 S La Grange Rd                                                    La Grange, IL 60525‐2936                                                                                First Class Mail
Chartered Organization         Robert E Lee Elementary School ‐ Pta                     Circle Ten Council 571                          2911 Delmar Ave                                                       Dallas, TX 75206‐6102                                                                                   First Class Mail
Chartered Organization         Robert Edwards Post 358                                  Longhouse Council 373                           P.O. Box 127                                                          Pulaski, NY 13142‐0127                                                                                  First Class Mail
Voting Party                   Robert Eric Heinz                                        Address Redacted                                                                                                                                                                         Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Robert Frost Pto                                         Simon Kenton Council 441                        270 N Spring Rd                                                       Westerville, OH 43082‐1888                                                                              First Class Mail
Voting Party                   Robert H Iseman                                          Attn: Rivker Ralder                             66 S Pearl St, 11th Fl                                                Albany, NY 12207                                                   robert.iseman@rivkin.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Robert H Jordan Vfw Post 7125                            Garden State Council 690                        1199 Hessian Ave                                                      West Deptford, NJ 08093‐1935                                                                            First Class Mail
Voting Party                   Robert H Reynolds                                        c/o Boy Scouts of America                       Attn: Chase Koontz                                                    1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Robert H Shultz, Jr                                      6926 N Upper Skyline Dr                         Peoria, IL 61614                                                                                                                                                              First Class Mail
Voting Party                   Robert Half Technology Inc                               P.O. Box 743295                                 Los Angeles, CA 90074‐3295                                                                                                                                                    First Class Mail
Voting Party                   Robert J Lafortune                                       c/o Boy Scouts of America                       Attn: Chase Koontz                                                    1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Robert J Mazzuca                                         c/o Boy Scouts of America                       Attn: Chase Koontz                                                    1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Robert J Smith                                           c/o Boy Scouts of America                       Attn: Chase Koontz                                                    1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Robert Jack Vfw Post 1322                                Westark Area Council 016                        23 N 20th St                                                          Van Buren, AR 72956‐4902                                                                                First Class Mail
Voting Party                   Robert Johnston                                          Address Redacted                                                                                                                                                                                                              First Class Mail
Chartered Organization         Robert L Hoover Memorial Post 8018 Vfw                   c/o Alan Beaumier                               20 Woodland Rd                                                        East Greenwich, RI 02818‐3430                                                                           First Class Mail
Chartered Organization         Robert L Johnson Post 771                                Green Mountain 592                              Springfield Vt                                                        Springfield, VT 05156                                                                                   First Class Mail
Chartered Organization         Robert Lee Walsh Al Post 337                             Twin Rivers Council 364                         Robert Lee Walsh American Legion Post 337                             Broadalbin, NY 12025                                                                                    First Class Mail
Voting Party                   Robert M Gates                                           c/o Boy Scouts of America                       Attn: Chase Koontz                                                    1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Firm                           ROBERT PAHLKE LAW GROUP                                  ROBERT G. PAHLKE                                2425 CIRCLE DR; STE 200                                               SCOTTSBLUFF, NE 69361                                              pahlkelawgroup@pahlkelawgroup.com    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Robert Place Miller Pto                                  Northern Lights Council 429                     1989 N 20th St                                                        Bismarck, ND 58501‐2367                                                                                 First Class Mail
Chartered Organization         Robert S Hyer Pta                                        Circle Ten Council 571                          3920 Caruth Blvd                                                      Dallas, TX 75225‐5401                                                                                   First Class Mail
Voting Party                   Robert S Mcgrath                                         2510 Radcliffe Dr                               Arlington, TX 76012                                                                                                                      judgemcgrath@gmail.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Robert Sonny Hill Community Center                       Dan Beard Council, Bsa 438                      800 Lafayette Ave                                                     Middletown, OH 45044‐7335                                                                               First Class Mail
Firm                           Robert Steinberg Co LPA                                  Robert A. Steinberg                             9050 Ambercreek Dr                                                    Cincinnati, OH 45236                                               r.steinberg@robertsteinberglaw.com   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Robert Tuggle                                            Address Redacted                                                                                                                                                                         Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Robert Tuggle                                            c/o Alf Tuggle                                  1412 Kings Country Blvd.                                              Scroggins, TX 75480                                                alftuggle@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Robert W Johnson Community Center, Inc                   Mason Dixon Council 221                         109 W North Ave                                                       Hagerstown, MD 21740‐3737                                                                               First Class Mail
Voting Party                   Robert Wendell Loomis                                    191 Newgate Rd                                  East Granby, CT 06026                                                                                                                    Bob@LoomisEngineering.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Roberto Clemente Recreation Center                       Great Lakes Fsc 272                             2631 Bagley St                                                        Detroit, MI 48216‐1721                                                                                  First Class Mail
Voting Party                   Roberts & Grace Walsh                                    Attn: Keith N Bond                              400 Rand Bldg                                                         14 Lafayette Sq                   Buffalo, NY 14203                kbond@walshrobertsgrace.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Roberts Academy                                          Dan Beard Council, Bsa 438                      1702 Grand Ave                                                        Cincinnati, OH 45214‐1502                                                                               First Class Mail
Chartered Organization         Roberts Elementary School Pto                            Great Lakes Fsc 272                             2400 Belle View Dr                                                    Shelby Township, MI 48316‐2900                                                                          First Class Mail
Chartered Organization         Roberts Lions Club                                       Northern Star Council 250                       P.O. Box 295                                                          Roberts, WI 54023‐0295                                                                                  First Class Mail
Voting Party                   Roberts Park Umc                                         Attn: Richard Smith                             401 N Delaware St                                                     Indianapolis, IN 46204                                             rsmith@robertsparkumc.org            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Roberts Seed Inc                                         Overland Trails 322                             982 22 Rd                                                             Axtell, NE 68924‐3618                                                                                   First Class Mail
Chartered Organization         Robertsdale Utd Methodist                                Mobile Area Council‐Bsa 004                     22220 State Hwy 59 S                                                  Robertsdale, AL 36567‐6662                                                                              First Class Mail
Chartered Organization         Robertsdale Utd Methodist Church                         Mobile Area Council‐Bsa 004                     P.O. Box 866                                                          Robertsdale, AL 36567‐0866                                                                              First Class Mail
Chartered Organization         Robertsville Volunteer Fire Co                           Monmouth Council, Bsa 347                       94 County Rd 520                                                      Morganville, NJ 07751‐1204                                                                              First Class Mail
Chartered Organization         Robeson Evangelical Lutheran Church                      Hawk Mountain Council 528                       3520 Plow Rd                                                          Mohnton, PA 19540‐8289                                                                                  First Class Mail
Chartered Organization         Robic Refrigeration                                      Greater Yosemite Council 059                    789 S Center St                                                       Turlock, CA 95380‐5543                                                                                  First Class Mail
Chartered Organization         Robin Hill Pta                                           Last Frontier Council 480                       4801 E Franklin Rd                                                    Norman, OK 73026‐0445                                                                                   First Class Mail
Firm                           Robins Kaplan LLP                                        Rayna E. Kessler, Esq., Ian S. Millican, Esq.   399 Park Ave., Ste. 3600                                              New York, NY 10022                                                 IMillican@robinskaplan.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Robinson & Mcelwee PLLC                                  Joseph Scott Beeson                             P.O. Box 1791                                                         Charleston, WV 25326                                               jsb@ramlaw.com                       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Robinson Chapel United Methodist Church                  Attn: Barry Becker                              12707 Tonkel Rd                                                       Fort Wayne, IN 46845                                               bbecker5335@gmail.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Robinson Elementary School                               Erie Shores Council 460                         1075 Horace St                                                        Toledo, OH 43606‐4859                                                                                   First Class Mail
Chartered Organization         Robinson Fire Protection District                        Greater St Louis Area Council 312               400 S Jackson St                                                      Robinson, IL 62454‐3412                                                                                 First Class Mail
Voting Party                   Robinson First United Methodist Church                   Attn: Kirbie Ackman                             201 W Walnut St                                                       P.O. Box 45                       Robinson, IL 62454               firstumcrob@gmail.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Robinson G Jones Elementary School                       Lake Erie Council 440                           4550 W 150th St                                                       Cleveland, OH 44135‐3460                                                                                First Class Mail
Chartered Organization         Robinson Lions Club                                      Attn: Judith Bruning                            P.O. Box 15                                                           Robinson, KS 66532‐0015                                                                                 First Class Mail
Chartered Organization         Robinson Lodge 649 Masonic Lodge                         Five Rivers Council, Inc 375                    4153 County Route 123                                                 Jasper, NY 14855‐9786                                                                                   First Class Mail
Chartered Organization         Robinson Presbyterian Church                             Mecklenburg County Council 415                  9424 Harrisburg Rd                                                    Charlotte, NC 28215‐8398                                                                                First Class Mail
Chartered Organization         Robinson School Pto                                      Greater St Louis Area Council 312               803 Couch Ave                                                         Saint Louis, MO 63122‐5505                                                                              First Class Mail
Chartered Organization         Robinwood School Friends Of Pack 582                     Three Harbors Council 636                       10705 W Robinwood Ln                                                  Franklin, WI 53132‐2232                                                                                 First Class Mail
Chartered Organization         Robison Elementary Pto                                   Sam Houston Area Council 576                    17100 Robison Woods Rd                                                Cypress, TX 77429‐6188                                                                                  First Class Mail
Chartered Organization         Robles Park Community Youth Corp                         Greater Tampa Bay Area 089                      1800 N Rome Ave                                                       Tampa, FL 33607‐4422                                                                                    First Class Mail
Chartered Organization         Robot Garden                                             San Francisco Bay Area Council 028              2324 2nd St                                                           Livermore, CA 94550‐3254                                                                                First Class Mail
Chartered Organization         Roc Of Salem                                             Buckeye Council 436                             244 S Broadway Ave                                                    Salem, OH 44460‐3004                                                                                    First Class Mail
Chartered Organization         Rochdale Village Social Services Inc                     Greater New York Councils, Bsa 640              16824 127th Ave, Apt 10A                                              Jamaica, NY 11434‐3123                                                                                  First Class Mail
Chartered Organization         Rochelle Moose Lodge                                     Blackhawk Area 660                              311 N Main St                                                         Rochelle, IL 61068‐1618                                                                                 First Class Mail
Chartered Organization         Rochester Arc & Flame Center                             Seneca Waterways 397                            125 Fedex Way                                                         Rochester, NY 14624                                                                                     First Class Mail
Chartered Organization         Rochester Black Bar Assoc                                Seneca Waterways 397                            P.O. Box 14569                                                        Rochester, NY 14614‐0569                                                                                First Class Mail
Chartered Organization         Rochester Christian Church                               Abraham Lincoln Council 144                     325 S Walnut St                                                       Rochester, IL 62563‐9703                                                                                First Class Mail
Chartered Organization         Rochester Community House                                Great Lakes Fsc 272                             816 Ludlow Ave                                                        Rochester, MI 48307‐1309                                                                                First Class Mail
Chartered Organization         Rochester Elks Lodge 1091                                Gamehaven 299                                   1652 Hwy 52 N                                                         Rochester, MN 55901‐1664                                                                                First Class Mail
Chartered Organization         Rochester Engineering Society                            Seneca Waterways 397                            657 East Ave                                                          Rochester, NY 14607‐2101                                                                                First Class Mail
Chartered Organization         Rochester Firemans Assoc                                 Narragansett 546                                265 Walnut Plain Rd                                                   Rochester, MA 02770‐4028                                                                                First Class Mail
Chartered Organization         Rochester Hope For Pets                                  Seneca Waterways 397                            2816 Monroe Ave                                                       Rochester, NY 14618‐4134                                                                                First Class Mail
Chartered Organization         Rochester Kiwanis Club                                   Sagamore Council 162                            P.O. Box 413                                                          Rochester, IN 46975‐0413                                                                                First Class Mail
Chartered Organization         Rochester Police Athletic League                         Gamehaven 299                                   101 4th St Se                                                         Rochester, MN 55904‐3761                                                                                First Class Mail
Chartered Organization         Rochester Police Dept                                    Daniel Webster Council, Bsa 330                 23 Wakefield St                                                       Rochester, NH 03867‐1916                                                                                First Class Mail
Chartered Organization         Rochester Police Dept                                    Seneca Waterways 397                            185 Exchange Blvd                                                     Rochester, NY 14614‐2124                                                                                First Class Mail
Chartered Organization         Rochester Police Locust Club Inc                         Seneca Waterways 397                            1425 Lexington Ave                                                    Rochester, NY 14606‐3133                                                                                First Class Mail
Chartered Organization         Rochester Regional Health                                Seneca Waterways 397                            1630 Portland Ave                                                     Rochester, NY 14621‐3007                                                                                First Class Mail
Chartered Organization         Rochester Utd Methodist Church                           Abraham Lincoln Council 144                     555 S Walnut St                                                       Rochester, IL 62563‐9705                                                                                First Class Mail
Chartered Organization         Rock Bridge Parents For Scouting                         Great Rivers Council 653                        5151 S Hwy 163                                                        Columbia, MO 65203‐8913                                                                                 First Class Mail
Voting Party                   Rock Church Ministries                                   Attn: Steven Murray                             92 Newton Rd                                                          Plaistow, NH 03865                                                 Steve@rock‐church.org                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Rock County Deputy Sheriff'S Assoc                       Glaciers Edge Council 620                       200 E US Hwy 14                                                       Janesville, WI 53545‐8809                                                                               First Class Mail
Chartered Organization         Rock County Rifle And Pistol Club                        Glaciers Edge Council 620                       P.O. Box 640                                                          Janesville, WI 53547‐0640                                                                               First Class Mail
Chartered Organization         Rock Creek Baptist Church                                Greater Alabama Council 001                     985 Glaze Dr                                                          Bessemer, AL 35023‐7040                                                                                 First Class Mail
Chartered Organization         Rock Creek Baptist Church                                Old Hickory Council 427                         1980 Rock Creek Church Rd                                             N Wilkesboro, NC 28659                                                                                  First Class Mail
Chartered Organization         Rock Creek Church Of Christ                              Buckskin 617                                    2020 Foster Rd                                                        Foster, WV 25081‐6220                                                                                   First Class Mail
Chartered Organization         Rock Creek Church Of God                                 Greater Alabama Council 001                     1001 Park Rd                                                          Bessemer, AL 35023‐7001                                                                                 First Class Mail
Chartered Organization         Rock Creek Ward ‐ Filer Stake                            Snake River Council 111                         841 W Midway St                                                       Filer, ID 83328                                                                                         First Class Mail
Voting Party                   Rock Falls United Methodist Church                       210 4th Ave                                     Rock Falls, IL 61071                                                                                                                     rfumc150@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Rock Family Church                                       Pikes Peak Council 060                          4005 Lee Vance Vw                                                     Colorado Springs, CO 80918‐7101                                                                         First Class Mail
Voting Party                   Rock Grove ‐ Salisbury                                   c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Rock Grove Utd Methodist Church                          Central N Carolina Council 416                  1050 Rock Grove Church Rd                                             Salisbury, NC 28146                                                                                     First Class Mail
Chartered Organization         Rock Hill Baptist Church                                 National Capital Area Council 082               12 Van Horn Ln                                                        Stafford, VA 22556‐1218                                                                                 First Class Mail
Chartered Organization         Rock Hill Pto                                            Connecticut Yankee Council Bsa 072              911 Durham Rd                                                         Wallingford, CT 06492‐2528                                                                              First Class Mail
Voting Party                   Rock Hill Umc                                            Attn: Walter C Haff                             P.O. Box 4                                                            Rock Hill, NY 12775‐0004                                           walter.haff@nyac‐umc.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Rock Hill Umc                                            254 Rock Hill Dr                                Rock Hill, NY 12775                                                                                                                      walter.haff@nyac‐umc.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Rock Hill Volunteer Fire Dept                            Hudson Valley Council 374                       P.O. Box 116                                                          Rock Hill, NY 12775‐0116                                                                                First Class Mail
Chartered Organization         Rock House                                               Texas Trails Council 561                        P.O. Box 953                                                          Stephenville, TX 76401‐0009                                                                             First Class Mail
Chartered Organization         Rock House Of Midland                                    Buffalo Trail Council 567                       2300 Rocky Lane Rd                                                    Odessa, TX 79762‐5466                                                                                   First Class Mail
Chartered Organization         Rock Island Conservation Club                            Illowa Council 133                              2407 Big Island Pkwy                                                  Milan, IL 61264‐2109                                                                                    First Class Mail
Chartered Organization         Rock Lake Community Center                               Central Florida Council 083                     440 N Tampa Ave                                                       Orlando, FL 32805‐1220                                                                                  First Class Mail
Chartered Organization         Rock Of Ages Clothing Ministry                           Tukabatchee Area Council 005                    188 Renwick Ln                                                        Calera, AL 35040‐5613                                                                                   First Class Mail
Chartered Organization         Rock Of Gibralter Vfw Post 4230                          Southern Shores Fsc 783                         35427 W Jefferson Ave                                                 Rockwood, MI 48173‐9685                                                                                 First Class Mail
Chartered Organization         Rock Presbyterian Church Eco                             Blue Ridge Council 551                          122 Rock Church Rd NW                                                 Greenwood, SC 29649‐8777                                                                                First Class Mail
Chartered Organization         Rock Rapids Kiwanis Club                                 Sioux Council 733                               106 N Boone St                                                        Rock Rapids, IA 51246‐1537                                                                              First Class Mail
Chartered Organization         Rock Spring Congregational Church                        National Capital Area Council 082               5010 Little Falls Rd                                                  Arlington, VA 22207‐1810                                                                                First Class Mail
Chartered Organization         Rock Spring Congregational Ucc                           National Capital Area Council 082               5010 Little Falls Rd                                                  Arlington, VA 22207‐1810                                                                                First Class Mail
Chartered Organization         Rock Spring Produce                                      Cherokee Area Council 556                       P.O. Box 501                                                          Rock Spring, GA 30739‐0501                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 317 of 442
                                                                                    Case 20-10343-LSS                                               Doc 8171                                         Filed 01/06/22                                                            Page 333 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                         Service List
                                                                                                                                                                                  Served as set forth below

        Description                                                          Name                                                                                                     Address                                                                                                                                    Email              Method of Service
Chartered Organization         Rock Spring Utd Methodist Church                               Cherokee Area Council 556                        3477 Peavine Rd                                              Rock Spring, GA 30739‐2081                                                                                                   First Class Mail
Voting Party                   Rock Springs First United Methodist Church                     Attn: Norma Stensaas                             1515 Edgar St                                                Rock Springs, WY 82901                                                                      rsfumc@hotmail.com               Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rock Springs Umc                                               Attn: Barbara Ledford ‐ Treasurer & Kathi Kost   227 Church View Dr                                           Kingsport, TN 37664                                                                         rsumckpt@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rock Springs Umc ‐ Lawrenceville                               c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rock Springs Umc 1100 Rock Springs Rd, Lawrenceville, Ga       c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rock Springs Umc 2445 Rocksprings Rd Ringgold, Va 24586        c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rock Springs Umc Men'S Club                                    Northeast Georgia Council 101                    1100 Rock Springs Rd                                         Lawrenceville, GA 30043‐2123                                                                                                 First Class Mail
Chartered Organization         Rock Springs Utd Methodist Church                              Northeast Georgia Council 101                    1105 Rock Springs Rd                                         Lawrenceville, GA 30043‐2124                                                                                                 First Class Mail
Voting Party                   Rock United Methodist Church                                   Attn: Mr Alvin Samples                           2046 E Lake Blvd                                             Tarrant, AL 35217                                                                           asamples68@att.net               Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rock United Methodist Church (181685)                          c/o Bentz Law Firm                               Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200              Pittsburgh, PA 15228                                lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rock Valley Pioneer United Methodist Church                    Attn: Administrative Board Chair                 1030 18th Ave                                                Rock Valley, IA 51247                                                                       deang@mtcnet.net                 Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rockabema Snow Rangers                                         Katahdin Area Council 216                        P.O. Box 898                                                 Patten, ME 04765‐0898                                                                                                        First Class Mail
Chartered Organization         Rockaway Artist Alliance                                       Greater New York Councils, Bsa 640               260 Beach 116th St                                           Rockaway Park, NY 11694‐2107                                                                                                 First Class Mail
Chartered Organization         Rockaway Artists Alliance                                      Greater New York Councils, Bsa 640               260 Beach 116th St                                           Rockaway Park, NY 11694‐2107                                                                                                 First Class Mail
Chartered Organization         Rockaway Point Volunteer Emergency Svcs                        Greater New York Councils, Bsa 640               20426 Rockaway Point Blvd                                    Breezy Point, NY 11697‐1115                                                                                                  First Class Mail
Voting Party                   Rockaway Valley Umc ‐ Boonton                                  c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockaway Valley United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rockaway Valley Utd Methodist Church                           Patriots Path Council 358                        38 Valley Rd                                                 Boonton Township, NJ 07005‐9160                                                                                              First Class Mail
Voting Party                   Rockbrook United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rockbrook Utd Methodist Church                                 Mid‐America Council 326                          9855 W Center Rd                                             Omaha, NE 68124‐1936                                                                                                         First Class Mail
Chartered Organization         Rockdale Baptist Church                                        Dan Beard Council, Bsa 438                       539 Forest Ave                                               Cincinnati, OH 45229‐2628                                                                                                    First Class Mail
Chartered Organization         Rockdale Chamber Of Commerce                                   Longhorn Council 662                             1203 W Cameron Ave                                           Rockdale, TX 76567‐2721                                                                                                      First Class Mail
Chartered Organization         Rockdale County Club                                           Atlanta Area Council 092                         911 Chambers Dr NW                                           Conyers, GA 30012‐3401                                                                                                       First Class Mail
Chartered Organization         Rockdale County Sheriff Office                                 Atlanta Area Council 092                         911 Chambers Dr NW                                           Conyers, GA 30012‐3401                                                                                                       First Class Mail
Chartered Organization         Rocket Town Church                                             Central Florida Council 083                      4525 Apollo Rd                                               Titusville, FL 32780‐6344                                                                                                    First Class Mail
Voting Party                   Rockfield United Methodist Church                              Attn: Linda Gregory                              P.O. Box 98                                                  Rockfield, KY 42274                                                                         jbrown1455@bellsouth.net         Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rockfield Utd Methodist Men                                    Lincoln Heritage Council 205                     682 Richpond Rockfield Rd                                    Rockfield, KY 42274‐9516                                                                                                     First Class Mail
Chartered Organization         Rockford American Legion Post 102                              President Gerald R Ford 781                      330 Rockford Park Dr Ne                                      Rockford, MI 49341‐7818                                                                                                      First Class Mail
Chartered Organization         Rockford Lions Club                                            President Gerald R Ford 781                      6036 Arroyo Vista Dr Ne                                      Rockford, MI 49341‐9400                                                                                                      First Class Mail
Chartered Organization         Rockford Methodist Church                                      Tukabatchee Area Council 005                     P.O. Box 295                                                 Rockford, AL 35136‐0295                                                                                                      First Class Mail
Voting Party                   Rockford United Methodist Church                               Attn: Treasurer                                  202 S Franklin St                                            Rockford, OH 45882                                                                          pastor.chip.rumc@bright.net      Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockford United Methodist Church                               Attn: Treasurer                                  159 Maple St Ne                                              Rockford, MI 49341                                                                          office@rockfordumc.org           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rockford Utd Methodist Church                                  Black Swamp Area Council 449                     P.O. Box 305                                                 Rockford, OH 45882‐0305                                                                                                      First Class Mail
Voting Party                   Rockford: Aldersgate                                           Attn: Jon Boettner                               4055 N Rockton Ave                                           Rockford, IL 61103                                                                          keltoi9@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockford: Beth Eden                                            3201 Huffman Blvd                                Rockford, IL 61103                                                                                                                                       emreniva@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockford: Bethany Umc                                          Attn: Jane Susan Eesley                          4509 Highcrest Rd                                            Rockford, IL 61107                                                                          jeesley@christumc.cc             Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockford: Centennial Multicultural                             Attn: Uziel Hernandez                            1503 Broadway                                                Rockford, IL 61104                                                                          centennialumc.pastor@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockford: Christ                                               Attn: Jane Eesley                                4509 Highcrest Rd                                            Rockford, IL 61107                                                                          jeessley@christumc.cc            Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockford: Evans                                                7605 N 2nd St                                    Machesney Park, IL 61115                                                                                                                                 line682@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockford: Grace                                                Attn: Pamela Mae Possmiller                      3555 Mcfarland Rd                                            Rockford, IL 61114                                                                          pam.rossmiller@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockford: Harlem                                               c/o Harlem United Methodist Church               Attn: Heewon Kim                                             8401 N Alpine Rd                        Machesney Park, IL 61115                            line682@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockford: Harlem                                               7605 N 2nd St                                    Machesney Park, IL 61115                                                                                                                                 line682@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockford: Harlem Umc                                           Attn: Donald Reis Sr                             8401 N Alpine                                                Machesney Park, IL 61115                                                                    Harlemumc@sbcglobal.net          Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockford:Our Masters Umc                                       Attn: Jane Susan Eesley                          4509 Highcrest Rd                                            Rockford, IL 61107                                                                          jeesley@christumc.cc             Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rockhill Church Of The Brethren                                Juniata Valley Council 497                       P.O. Box 66                                                  Orbisonia, PA 17243‐0066                                                                                                     First Class Mail
Chartered Organization         Rockin K Farms                                                 South Texas Council 577                          4803 Fm 624                                                  Robstown, TX 78380‐9102                                                                                                      First Class Mail
Chartered Organization         Rockingham Co Historical Society                               Elks Lodge                                       Old N State Council 070                                      & Elks Lodge 1723                       Wentworth & Reids             Wentworth, NC 27375                                    First Class Mail
Voting Party                   Rockingham Court Umc                                           c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rockland After School Programs                                 Hudson Valley Council 374                        465 Viola Rd                                                 Spring Valley, NY 10977‐2035                                                                                                 First Class Mail
Chartered Organization         Rockland Community Church                                      Denver Area Council 061                          175 S Mt Vernon Country Club Rd                              Golden, CO 80401                                                                                                             First Class Mail
Chartered Organization         Rockland Omega Commty                                          Devt Foundation, Inc                             208 New Hempstead Rd                                         New City, NY 10956‐2429                                                                                                      First Class Mail
Chartered Organization         Rockland Utd Methodist Church                                  Buckskin 617                                     2300 Washington Blvd                                         Belpre, OH 45714‐1996                                                                                                        First Class Mail
Chartered Organization         Rockledge Elementary Pta                                       National Capital Area Council 082                7701 Laurel Bowie Rd                                         Bowie, MD 20715‐1002                                                                                                         First Class Mail
Chartered Organization         Rockledge Presbyterian Church                                  Central Florida Council 083                      921 Rockledge Dr                                             Rockledge, FL 32955‐2916                                                                                                     First Class Mail
Voting Party                   Rockledge Umc                                                  c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rockledge Utd Methodist Church                                 Central Florida Council 083                      1935 S Fiske Blvd                                            Rockledge, FL 32955‐3005                                                                                                     First Class Mail
Chartered Organization         Rocklin Lions Club                                             Golden Empire Council 047                        3965 Rawhide Rd                                              Rocklin, CA 95677‐1526                                                                                                       First Class Mail
Chartered Organization         Rockmart First Umc                                             Northwest Georgia Council 100                    135 Church St                                                Rockmart, GA 30153                                                                                                           First Class Mail
Voting Party                   Rockmart First Umc                                             c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockmart First United Methodist Church 135 W Church St Rockm   c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rockport Parents Club                                          Greater St Louis Area Council 312                3871 Jeffco Blvd                                             Arnold, MO 63010‐4231                                                                                                        First Class Mail
Chartered Organization         Rockport Presbyterian Church                                   Minsi Trails Council 502                         195 Rockport Rd                                              Port Murray, NJ 07865‐4127                                                                                                   First Class Mail
Chartered Organization         Rockport Rotary Club                                           The Spirit of Adventure 227                      37 Squam Hill Rd                                             Rockport, MA 01966‐1330                                                                                                      First Class Mail
Voting Party                   Rockport United Methodist Church                               Attn: Rev Lorrin Radzik                          3301 Wooster Rd                                              Rocky River, OH 44116                                                                       office@rockportumc.org           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockport United Methodist Church                               Attn: Osvle Hyde                                 36 Broadway                                                  Rockport, MA 01966                                                                          lindabean3@aol.com               Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockport United Methodist Church                               Attn: Cheryl Huber                               146 Oakview Ct                                               Lima, OH 45804                                                                              cheryl.huber@hubertax.com        Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rockton Lions Club                                             Glaciers Edge Council 620                        1240 Sheppard Rd                                             Rockton, IL 61072‐2744                                                                                                       First Class Mail
Chartered Organization         Rockton School District 140 Pto                                Glaciers Edge Council 620                        400 E Chapel St                                              Rockton, IL 61072‐2600                                                                                                       First Class Mail
Chartered Organization         Rockvale Lodge 413 F&Am                                        Middle Tennessee Council 560                     9007 Rockvale Rd                                             Rockvale, TN 37153‐4264                                                                                                      First Class Mail
Chartered Organization         Rockvale Ruritan Club                                          Middle Tennessee Council 560                     9972 Rockvale Rd                                             Rockvale, TN 37153                                                                                                           First Class Mail
Chartered Organization         Rockville Elks Lodge 1359                                      Connecticut Rivers Council, Bsa 066              9 N Park St                                                  Vernon Rockville, CT 06066‐3223                                                                                              First Class Mail
Voting Party                   Rockville First United Methodist Church Inc                    Attn: Rob Belcher, Finance Chair                 P.O. Box 142                                                 128 N Market St                         Rockville, IN 47872                                 robbelcher15@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rockville Fish And Game Club Inc                               Connecticut Rivers Council, Bsa 066              P.O. Box 211                                                 Vernon, CT 06066‐0211                                                                                                        First Class Mail
Chartered Organization         Rockville Presbyterian Fellowship                              Mt Diablo‐Silverado Council 023                  4177 Rockville Hts                                           Fairfield, CA 94534                                                                                                          First Class Mail
Chartered Organization         Rockville Science Center                                       National Capital Area Council 082                9601 Medical Center Dr                                       Rockville, MD 20850‐3330                                                                                                     First Class Mail
Voting Party                   Rockville United Methodist Church                              Attn: Larry Snively, Treasurer                   112 W Montgomery Ave                                         Rockville, MD 20850                                                                         larsniv@aol.com                  Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockville United Methodist Church                              Attn: Trustees                                   142 Grove St                                                 Rockville, CT 06066                                                                         daveinell@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rockville United Methodist Church                              Attn: David A Joy                                23 Ellsworth Ln                                              Ellington, CT 06029                                                                         daveinell@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rockwall Noon Rotary Club                                      Circle Ten Council 571                           P.O. Box 1221                                                Rockwall, TX 75087‐1221                                                                                                      First Class Mail
Chartered Organization         Rockwall Outdoor Club                                          Circle Ten Council 571                           4 Northridge Ln                                              Rockwall, TX 75087‐8323                                                                                                      First Class Mail
Chartered Organization         Rockwall Police Dept                                           Circle Ten Council 571                           205 W Rusk St                                                Rockwall, TX 75087‐3633                                                                                                      First Class Mail
Chartered Organization         Rockwell & Barrie Schools                                      Glaciers Edge Council 620                        1000 Harriette St                                            Fort Atkinson, WI 53538‐1510                                                                                                 First Class Mail
Chartered Organization         Rockwell Civitan Club                                          Central N Carolina Council 416                   140 W Main St                                                Rockwell, NC 28138                                                                                                           First Class Mail
Chartered Organization         Rockwell Civitan Club                                          Central N Carolina Council 416                   2070 Emanuel Church Rd                                       Rockwell, NC 28138‐9760                                                                                                      First Class Mail
Chartered Organization         Rockwell Lions Club                                            Winnebago Council, Bsa 173                       P.O. Box 57                                                  Rockwell, IA 50469‐0057                                                                                                      First Class Mail
Chartered Organization         Rockwood South Parents Asscociation                            Greater St Louis Area Council 312                1628 Hawkins Rd                                              Fenton, MO 63026‐2629                                                                                                        First Class Mail
Voting Party                   Rockwood United Methodist Church                               Rockwood Umc                                     801 N Kingston Ave                                           Rockwood, TN 37854                                                                          vumc446@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rocky Grove Avenue Presbyterian Church                         Attn: Joyce E Wetjen                             321 Rocky Grove Ave                                          Franklin, PA 16323                                                                          rgapc@verizon.net                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rocky Hill Fire Dept                                           Connecticut Rivers Council, Bsa 066              3050 Main St                                                 Rocky Hill, CT 06067‐3712                                                                                                    First Class Mail
Voting Party                   Rocky Hill United Methodist Church                             623 Old Main St                                  Rocky Hill, CT 06067                                                                                                                                     rockyhillumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rocky Mount Police Dept                                        East Carolina Council 426                        P.O. Box 1180                                                Rocky Mount, NC 27802‐1180                                                                                                   First Class Mail
Chartered Organization         Rocky Mount Umc                                                Piedmont Council 420                             1739 Perth Church Rd                                         Mooresville, NC 28117                                                                                                        First Class Mail
Voting Party                   Rocky Mount Umc                                                c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Rocky Mount United Methodist Church ‐ Mooresville              c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rocky Mount Utd Methodist Church                               Piedmont Council 420                             1739 Perth Rd                                                Mooresville, NC 28117‐8444                                                                                                   First Class Mail
Chartered Organization         Rocky Mount Utd Methodist Church                               Blue Ridge Mtns Council 599                      35 N Main St                                                 Rocky Mount, VA 24151‐1504                                                                                                   First Class Mail
Voting Party                   Rocky Mountain Cncl 63                                         411 S Pueblo Blvd                                Pueblo, CO 81005‐1204                                                                                                                                                                     First Class Mail
Chartered Organization         Rocky Mountain Communities                                     Denver Area Council 061                          225 E 16th Ave, Ste 1060                                     Denver, CO 80203‐1614                                                                                                        First Class Mail
Chartered Organization         Rocky Mountain Deaf School Fsso                                Denver Area Council 061                          10300 W Nassau Ave                                           Denver, CO 80235‐1401                                                                                                        First Class Mail
Voting Party                   Rocky Mountain Pest Control, LLC                               dba Rocky Mountain Pest Control                  P.O. Box 751                                                 Springer, NM 87747‐0751                                                                                                      First Class Mail
Chartered Organization         Rocky Mountain Radio League                                    Denver Area Council 061                          P.O. Box 3821                                                Littleton, CO 80161‐3821                                                                                                     First Class Mail
Chartered Organization         Rocky Mountain School Pta                                      Atlanta Area Council 092                         2400 Rocky Mountain Rd NE                                    Marietta, GA 30066‐2132                                                                                                      First Class Mail
Chartered Organization         Rocky Mtn Museum Military History                              Montana Council 315                              Fort Missoula Rd Bldg 30                                     Missoula, MT 59804                                                                                                           First Class Mail
Chartered Organization         Rocky Point Middle School                                      Suffolk County Council Inc 404                   76 Rocky Point Landing Rd                                    Rocky Point, NY 11778‐9030                                                                                                   First Class Mail
Chartered Organization         Rocky Point Volunteer Fire Dept                                Cape Fear Council 425                            P.O. Box 27                                                  Rocky Point, NC 28457‐0027                                                                                                   First Class Mail
Voting Party                   Rocky Ridge United Methodist Church ‐ Concord                  c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rocky River Church                                             Central N Carolina Council 416                   887 Pitts School Rd SW                                       Concord, NC 28027‐3923                                                                                                       First Class Mail
Chartered Organization         Rocky River Presbyterian Church                                Central N Carolina Council 416                   7940 Rocky River Rd                                          Concord, NC 28025‐8869                                                                                                       First Class Mail
Chartered Organization         Rocky River Utd Methodist Church                               Lake Erie Council 440                            19414 Detroit Rd                                             Rocky River, OH 44116‐1804                                                                                                   First Class Mail
Chartered Organization         Rocky Run Elementary School Pto                                National Capital Area Council 082                95 Reservoir Rd                                              Fredericksburg, VA 22406‐7241                                                                                                First Class Mail
Chartered Organization         Rodarte Center                                                 Longs Peak Council 062                           920 A St                                                     Greeley, CO 80631‐2079                                                                                                       First Class Mail
Chartered Organization         Rodeheaver Boys Ranch                                          North Florida Council 087                        380 Boys Ranch Rd                                            Palatka, FL 32177‐9491                                                                                                       First Class Mail
Voting Party                   Rodes Umc                                                      c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rodgers Forge Community Inc                                    Baltimore Area Council 220                       P.O. Box 571                                                 Baltimore, MD 21203‐0571                                                                                                     First Class Mail
Firm                           Rodman Law Firm                                                James Rodman and Samantha Penturf                3410 Far West Boulevard, Ste 275                             Austin, TX 78731                                                                            samantha@rodmanlawoffice.com     Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rodney Scout Reservation                                       Del Mar Va 081                                   400 Rodney Scout Rd                                          North East, MD 21901‐5839                                                                                                    First Class Mail
Chartered Organization         Rodrick Paige Elementary                                       Sam Houston Area Council 576                     7501 Curry Rd                                                Houston, TX 77093‐8821                                                                                                       First Class Mail
Voting Party                   Roger A Ohmstede                                               Address Redacted                                                                                                                                                                                          Email Address Redacted           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Roger C Mosby                                                  c/o Boy Scouts of America                        Attn: Chase Koontz                                           1325 W Walnut Hill Ln                   Irving, TX 75015                                    chase.koontz@scouting.org        Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Roger Clayton Shumate                                          P.O. Box 190                                     Hillsborough, NC 27278                                                                                                                                                                    First Class Mail
Chartered Organization         Roger E Cardin Jr Post 114                                     Daniel Webster Council, Bsa 330                  P.O. Box 534                                                 Barrington, NH 03825‐0534                                                                                                    First Class Mail
Voting Party                   Roger Swartzendruber                                           216 E Woodworth                                  Bad Axe, MI 48413                                                                                                                                        office@badaxefumc.org            Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rogers Bentonville Elks Lodge 2144                             Westark Area Council 016                         2800 N 2nd St                                                Rogers, AR 72756‐2412                                                                                                        First Class Mail
Chartered Organization         Rogers City Masonic Lodge 493                                  President Gerald R Ford 781                      564 S 1st St                                                 Rogers City, MI 49779                                                                                                        First Class Mail
Chartered Organization         Rogers Elementary Parent Club                                  Great Lakes Fsc 272                              2600 Dexter Rd                                               Auburn Hills, MI 48326‐2101                                                                                                  First Class Mail
Chartered Organization         Rogers Elementary Rpo                                          Greater St Louis Area Council 312                7700 Fine Rd                                                 Saint Louis, MO 63129‐5105                                                                                                   First Class Mail
Chartered Organization         Rogers School Parent Teachers Assoc                            Great Lakes Fsc 272                              2265 Hamilton Ave                                            Berkley, MI 48072‐1719                                                                                                       First Class Mail
Chartered Organization         Rogers Vfw Post 3031                                           Westark Area Council 016                         11160 N Old Wire Rd                                          Rogers, AR 72756‐9871                                                                                                        First Class Mail
Chartered Organization         Rogersville Utd Methodist                                      Greater Alabama Council 001                      51 Turner Lindsey Rd                                         Rogersville, AL 35652‐3617                                                                                                   First Class Mail
Chartered Organization         Rolla Kiwanis                                                  Northern Lights Council 429                      P.O. Box 344                                                 Rolla, ND 58367‐0344                                                                                                         First Class Mail
Chartered Organization         Rolla Lions Club                                               Santa Fe Trail Council 194                       P.O. Box 111                                                 Rolla, KS 67954‐0111                                                                                                         First Class Mail
Chartered Organization         Rolla Lions Club                                               Ozark Trails Council 306                         P.O. Box 244                                                 Rolla, MO 65402‐0244                                                                                                         First Class Mail
Chartered Organization         Rolla Police Post                                              Ozark Trails Council 306                         1007 N Elm St                                                Rolla, MO 65401‐2854                                                                                                         First Class Mail
Chartered Organization         Rolla Rural Fire Protection District                           Ozark Trails Council 306                         P.O. Box 1254                                                Rolla, MO 65402‐1254                                                                                                         First Class Mail
Chartered Organization         Rolling Bay Presbyterian Church                                Chief Seattle Council 609                        5734 Battle Point Dr NE                                      Bainbridge Island, WA 98110‐3405                                                                                             First Class Mail
Chartered Organization         Rolling Green Pto                                              Blackhawk Area 660                               3615 W Gate Pkwy                                             Rockford, IL 61108‐6162                                                                                                      First Class Mail
Chartered Organization         Rolling Hills Community Church                                 Capitol Area Council 564                         6201 Lohmans Ford Rd                                         Lago Vista, TX 78645‐5119                                                                                                    First Class Mail
Chartered Organization         Rolling Hills Elementary School Pto                            Potawatomi Area Council 651                      W322S9230 Beulah Rd                                          Mukwonago, WI 53149                                                                                                          First Class Mail
Chartered Organization         Rolling Hills Presbyterian Church                              Heart of America Council 307                     9300 Nall Ave                                                Overland Park, KS 66207‐2514                                                                                                 First Class Mail
Chartered Organization         Rolling Hills Pta                                              Golden Spread Council 562                        2800 W Cherry Ave                                            Amarillo, TX 79108‐1125                                                                                                      First Class Mail
Chartered Organization         Rolling Hills Site                                             Boys & Girls Cubs Amarillo                       1923 S Lincoln St                                            Amarillo, TX 79109‐2745                                                                                                      First Class Mail
Voting Party                   Rolling Hills United Methodist Church                          Attn: Treasurer                                  26438 Crenshaw Blvd                                          Rolling Hills Estates, CA 90274                                                             churchoffice@rhumc.org           Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Rolling Hills Utd Methodist Church                             Greater Los Angeles Area 033                     26438 Crenshaw Blvd                                          Palos Verdes Peninsula, CA 90274‐2517                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 318 of 442
                                                                                   Case 20-10343-LSS                                                             Doc 8171                                    Filed 01/06/22                                                    Page 334 of 457
                                                                                                                                                                                                Exhibit B
                                                                                                                                                                                                 Service List
                                                                                                                                                                                          Served as set forth below

        Description                                                         Name                                                                                                              Address                                                                                                               Email              Method of Service
Chartered Organization         Rolling Hills Ward, Denver North Stake                          Denver Area Council 061                                     100 Malley Dr                                            Northglenn, CO 80233‐2011                                                                               First Class Mail
Voting Party                   Rolling Plains                                                  Attn: Kevin Franklin                                        3350 Moxahala Park Rd                                    Zanesville, OH 43701‐7757                                            kevin@rollingplainsumc.com         Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Rolling Plains Utd Methodist Church                             Muskingum Valley Council, Bsa 467                           3350 Moxahala Park Rd                                    Zanesville, OH 43701‐7757                                                                               First Class Mail
Chartered Organization         Rolling Prairie Lions Club                                      Lasalle Council 165                                         P.O. Box 576                                             Rolling Prairie, IN 46371‐0576                                                                          First Class Mail
Chartered Organization         Rolling Ridge P T O                                             French Creek Council 532                                    3700 Ridge Pkwy                                          Erie, PA 16510‐2406                                                                                     First Class Mail
Chartered Organization         Rolling Valley Pta                                              National Capital Area Council 082                           6703 Barnack Dr                                          Springfield, VA 22152‐3314                                                                              First Class Mail
Voting Party                   Roman Catholic Archbishop Of Baltimore                          c/o Gallagher Evelius & Jones LLP                           Attn: Matthew W Oakey                                    218 N Charles St, Ste 400         Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Archbishop Of Baltimore, A Corporation Sole      c/o Gallagher Evelius & Jones LLP                           Attn: Matthew W Oakey                                    218 N Charles St, Ste 400         Baltimore, MD 21201                moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Archbishop Of San Francisco, A Calif Corp Sole   Attn: Lawrence R Jannuzzi, Sr Legal Counsel                 One Peter Yorke Way                                      San Francisco, CA 94109                                              JannuzziL@sfarch.org               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Archbishop Of San Francisco, A Calif Corp Sole   Attn: Iain A. MacDonald                                     221 Sansome St, Third Fl                                 San Francisco, CA 94104                                              iMac@macfern.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Archdiocese Of Indianapolis, Inc.                Attn: John S Mercer                                         1400 N Meridian St                                       Indianapolis, IN 46202                                               jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Archdiocese of Los Angeles                       Margaret Graf                                               same                                                     same                                                                                                    First Class Mail
Voting Party                   Roman Catholic Archdiocese Of Newark                            c/o Carella, Byrne, Et Al                                   Attn: Charles M Carella Esq                              5 Becker Farm Rd                  Roseland, NJ 07068                 cmcarella@carellabyrne.com         Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Archdiocese Of Newark                            c/o Carella, Byrne, Cecchi Olstein Brody & Agnello PC       Attn: Charles M Carella, Esq                             5 Becker Farm Rd                  Roseland, NJ 07068                 cmcarella@carellabyrne.com         Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Roman Catholic Church Of Maria Regina                           Theodore Roosevelt Council 386                              3945 Jerusalem Ave                                       Seaford, NY 11783‐1631                                                                                  First Class Mail
Voting Party                   Roman Catholic Church Of Our Lady Of Victory                    c/o Cullen and Dykman LLP                                   Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd        Garden City, NY 11530              MRoseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Church Of S.S. Cyril And Methodius               Attn: Theresa A. Driscoll                                   125 Half Hollow Rd                                       Deer Park, NY 11729                                                                                     First Class Mail
Chartered Organization         Roman Catholic Church Of The Holy Family                        Theodore Roosevelt Council 386                              5 Fordham Ave                                            Hicksville, NY 11801‐5611                                                                               First Class Mail
Voting Party                   Roman Catholic Diocese Of Grand Rapids                          c/o Warner Norcross & Judd LLP                              Attn: Elisabeth M Von Eitzen                             150 Ottawa Ave NW, Ste 1500       Grand Rapids, MI 49503             evoneitzen@wnj.com                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Diocese Of Kalamazoo                             c/o Warner Norcross & Judd LLP                              Attn: Elisabeth M Von Eitzen                             150 Ottawa Ave NW, Ste 1500       Grand Rapids, MI 49503             evoneitzen@wnj.com                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Diocese Of Knoxville                             Attn: Shannon Hepp, CFO                                     800 S Northshore Dr                                      Knoxville, TN 37919                                                  shepp@dioknox.org                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Diocese Of Knoxville                             Attn: Charles M Finn                                        800 S Gay St, Ste 2500                                   Knoxville, TN 37929                                                  rfs@dioknox.org                    Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Diocese of Lafayette‐in‐Indiana                  Attn: Matt McKillip                                         610 Lingle Ave                                           Lafayette, IN 47902                                                  mmckillip@dol‐in.org               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Diocese Of Lafayette‐In‐Indiana                  Attn: Matt Mckillip                                         P.O. Box 260                                             Lafayette, IN 47902                                                  mmckillip@dol‐in.org               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Diocese Of Paterson                              Attn: Porzio Bromberg & Newman, P.C.                        100 Southgate Pkwy                                       Morristown, NJ 07962                                                 wjmartin@pbnlaw.com                Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Diocese Of Paterson                              c/o Porzio Bromberg & Newman Pc                             100 Southgate Pkwy                                       Morristown, NJ 07962                                                 wjmartin@pbnlaw.com                Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roman Catholic Parish Of St. Brendan And St. Ann                Attn: Monsignor Joseph Lamorte                              1011 1st Ave                                             New York, NY 10022                                                   Msgr.Joseph.LaMorte@archny.org     Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Roman Forest Police Dept                                        Sam Houston Area Council 576                                2430 Roman Forest Blvd                                   Roman Forest, TX 77357‐3291                                                                             First Class Mail
Firm                           Romanucci & Blandin, LLC                                        Martin D. Gould                                             321 N. Clark Street, Ste 900                             Chicago, IL 60654                                                    mgould@rblaw.net                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Rome Fire Dept                                                  Lake Erie Council 440                                       3162 US Hwy 6                                            Rome, OH 44085‐9690                                                                                     First Class Mail
Voting Party                   Rome First United Methodist Church Rome First Umc Treasurer     400 N George St                                             Rome, NY 13440                                                                                                                Gandye1225@gmail.com               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Rome Fisher 202 E 3Rd Ave Rome, GA 3016                         c/o Bradley Arant Boult Cummings, LLP                       Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Rome United Methodist Church (76282)                            c/o Bentz Law Firm                                          Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Romeo United Methodist Church                                   Attn: Guy Jones‐Lau                                         280 N Main S                                             Romeo, MI 48065                                                      romeounited@sbcglobal.net          Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Romney 1St Utd Methodist Church                                 Laurel Highlands Council 527                                49 N High St                                             Romney, WV 26757‐1618                                                                                   First Class Mail
Voting Party                   Romney First United Methodist Church                            Attn: Thomas Williams                                       49 N Hight St                                            Romney, WV 26757                                                     williamstlw@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Romney First Utd Methodist                                      Laurel Highlands Council 527                                North High St                                            Romney, WV 26757                                                                                        First Class Mail
Voting Party                   Ron (Ronald) Edward Schultz                                                                                             898 Arkadelphia Rd                                           Birmingham, AL 35204                                                 rschultz@umcna.org                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Ron Oats                                                        Address Redacted                                                                                                                                                                          Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Ron Peterson Firearms                                           4418 Central Ave SE                                         Albuquerque, NM 87108‐1210                                                                                                                                       First Class Mail
Chartered Organization         Ron Rosner Family Ymca                                          National Capital Area Council 082                           5700 Smith Station Rd                                    Fredericksburg, VA 22407‐9313                                                                           First Class Mail
Voting Party                   Ronald Green                                                    Address Redacted                                                                                                                                                                          Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Ronald K Migita                                                 c/o Boy Scouts of America                                   Attn: Chase Koontz                                       1325 W Walnut Hill Ln             Irving, TX 75015                   chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Ronald Kirk                                                     c/o Boy Scouts of America                                   Attn: Chase Koontz                                       1325 W Walnut Hill Ln             Irving, TX 75015                   chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Ronald O Coleman                                                c/o Boy Scouts of America                                   Attn: Chase Koontz                                       1325 W Walnut Hill Ln             Irving, TX 75015                   chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Ronald Reagan Home And School                                   Potawatomi Area Council 651                                 4225 S Calhoun Rd                                        New Berlin, WI 53151‐5531                                                                               First Class Mail
Chartered Organization         Ronald Reagan Parent Club                                       Southern Sierra Council 030                                 10800 Rosslyn Ln                                         Bakersfield, CA 93311‐3599                                                                              First Class Mail
Chartered Organization         Roncalli Catholic School                                        Sioux Council 733                                           1400 N Dakota St                                         Aberdeen, SD 57401‐2257                                                                                 First Class Mail
Chartered Organization         Roncalli School System                                          Sioux Council 733                                           1400 N Dakota St                                         Aberdeen, SD 57401‐2257                                                                                 First Class Mail
Voting Party                   Rondout Valley United Methodist Church                          Attn: Elaine D Fiore                                        1795 Lucas Ave Ext                                       Cottekill, NY 12419‐5112                                                                                First Class Mail
Voting Party                   Rondout Valley United Methodist Church                          P.O. Box 295                                                Stone Ridge, NY 12484                                                                                                                                            First Class Mail
Chartered Organization         Ronkonkoma Fire Dept                                            Suffolk County Council Inc 404                              177 Portion Rd                                           Lk Ronkonkoma, NY 11779‐2341                                                                            First Class Mail
Chartered Organization         Ronkonkoma Jr High School                                       Suffolk County Council Inc 404                              501 Peconic St                                           Ronkonkoma, NY 11779‐7172                                                                               First Class Mail
Chartered Organization         Roosevelt Dads Club                                             San Francisco Bay Area Council 028                          951 Dowling Blvd                                         San Leandro, CA 94577‐2125                                                                              First Class Mail
Chartered Organization         Roosevelt Elementary Pta                                        Great Lakes Fsc 272                                         30200 Lyndon St                                          Livonia, MI 48154‐4465                                                                                  First Class Mail
Chartered Organization         Roosevelt Elementary Pta                                        Last Frontier Council 480                                   4250 W Tecumseh Rd                                       Norman, OK 73072‐1709                                                                                   First Class Mail
Chartered Organization         Roosevelt Elementary Pta                                        Three Harbors Council 636                                   2535 N 73rd St                                           Wauwatosa, WI 53213‐1213                                                                                First Class Mail
Chartered Organization         Roosevelt Elementary School Pto                                 Southern Shores Fsc 783                                     2000 El Dorado Dr                                        Stevensville, MI 49127‐8607                                                                             First Class Mail
Chartered Organization         Roosevelt Fire Dept                                             Theodore Roosevelt Council 386                              56 W Centennial Ave                                      Roosevelt, NY 11575‐2029                                                                                First Class Mail
Chartered Organization         Roosevelt Gardens Park                                          South Florida Council 084                                   2841 NW 11th St                                          Fort Lauderdale, FL 33311‐5613                                                                          First Class Mail
Chartered Organization         Roosevelt High School Rotc                                      Greater St Louis Area Council 312                           3230 Hartford St                                         Saint Louis, MO 63118‐2106                                                                              First Class Mail
Chartered Organization         Roosevelt School Pto                                            Pathway To Adventure 456                                    1001 S Fairview Ave                                      Park Ridge, IL 60068‐4712                                                                               First Class Mail
Chartered Organization         Roosevelt‐Wilson Tcisd                                          Bay Area Council 574                                        1401 9th Ave N                                           Texas City, TX 77590‐5447                                                                               First Class Mail
Chartered Organization         Root Agricultural Advisory                                      Ore‐Ida Council 106 ‐ Bsa 106                               9949 W Bienapfl Dr                                       Boise, ID 83709‐4716                                                                                    First Class Mail
Chartered Organization         Rootstown Utd Methodist Church                                  Great Trail 433                                             4065 State Route 44                                      Rootstown, OH 44272‐9623                                                                                First Class Mail
Chartered Organization         Rope For Youth                                                  Buffalo Trail Council 567                                   6 Desta Dr, Ste 2780                                     Midland, TX 79705‐5563                                                                                  First Class Mail
Chartered Organization         Rosa Parks Elementary                                           Crossroads of America 160                                   7525 Wellingshire Blvd                                   Indianapolis, IN 46217‐7020                                                                             First Class Mail
Chartered Organization         Rosalia Utd Methodist Church                                    Inland Nwest Council 611                                    P.O. Box 202                                             Rosalia, WA 99170‐0202                                                                                  First Class Mail
Chartered Organization         Rosarian Academy                                                Gulf Stream Council 085                                     807 N Flagler Dr                                         West Palm Beach, FL 33401‐3705                                                                          First Class Mail
Chartered Organization         Rosary Cathedral Catholic Church                                Erie Shores Council 460                                     2544 Parkwood Ave                                        Toledo, OH 43610‐1317                                                                                   First Class Mail
Firm                           Rosati & Rosati LLC                                             Robert T. Rosati                                            3241 Main Street                                         Start ford, CT 06614                                                 rrosati@rosatilawfirm.com          Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Roscoe Lions Club                                               Glaciers Edge Council 620                                   7488 Timber Ridge Rd                                     Roscoe, IL 61073‐9720                                                                                   First Class Mail
Voting Party                   Roscoe United Methodist Church                                  Attn: Paul Meyers                                           10816 Main St                                            Roscoe, IL 61073                                                     pastor@roscoeumc.org               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Roscoe Utd Methodist Men'S Club                                 Glaciers Edge Council 620                                   10816 Main St                                            Roscoe, IL 61073‐8862                                                                                   First Class Mail
Chartered Organization         Rose Acres Pta                                                  Greater St Louis Area Council 312                           2905 Rose Acres Ln                                       Maryland Heights, MO 63043‐1170                                                                         First Class Mail
Voting Party                   Rose Chapel ‐ Statesville                                       c/o Bradley Arant Boult Cummings, LLP                       Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Rose City Park United Methodist ‐ Portland                      c/o Bradley Arant Boult Cummings, LLP                       Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Rose Citypark Utd Methodist Ch Mens Club                        Cascade Pacific Council 492                                 5830 NE Alameda St                                       Portland, OR 97213‐3426                                                                                 First Class Mail
Voting Party                   Rose Drive Friends Church                                       4221 Rose Dr                                                Yorba Linda, CA 92886                                                                                                         sandil@rdf.org                     Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Rose Glen School Pto                                            Potawatomi Area Council 651                                 W273S3845 Brookhill Dr                                   Rose Glen School                                                                                        First Class Mail
Chartered Organization         Rose Glen School Pto                                            Potawatomi Area Council 651                                 W273S3845 Brookhill Dr                                   Waukesha, WI 53189                                                                                      First Class Mail
Chartered Organization         Rose Grange 1051                                                Seneca Waterways 397                                        State Route 414                                          North Rose, NY 14516                                                                                    First Class Mail
Firm                           Rose Grasch Camenisch Mains, PLLC                               Albert F. Grasch, Jr                                        326 South Broadway                                       Lexington, KY 40508                                                  al.grasch@rgcmlaw.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Rose Hill Church                                                Chief Seattle Council 609                                   12202 NE 90th St                                         Kirkland, WA 98033‐5810                                                                                 First Class Mail
Chartered Organization         Rose Hill Middle School                                         West Tennessee Area Council 559                             2233 Beech Bluff Rd                                      Jackson, TN 38301‐9059                                                                                  First Class Mail
Voting Party                   Rose Hill United Methodist Church                               Rose Hill Umc                                               P.O. Box 177                                             Rose Hill, NC 28458                                                  rosehillumc2020@gmail.com          Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Rose Hill United Methodist Church                               Attn: Rev Jason J. Nelson                                   21022 Rosehill Church Rd                                 Tomball, TX 77377                                                    jjnelson@rosehillumc.org           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Rose Hill United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP                       Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Rose Hill United Methodist Church                               19551 SW Butler Rd                                          Rose Hill, KS 67133                                                                                                                                              First Class Mail
Chartered Organization         Rose Hill Utd Methodist Church                                  Quivira Council, Bsa 198                                    19551 SW Butler Rd                                       Rose Hill, KS 67133‐9607                                                                                First Class Mail
Chartered Organization         Rose Hill Utd Methodist Church                                  Tuscarora Council 424                                       P.O. Box 177                                             Rose Hill, NC 28458‐0177                                                                                First Class Mail
Voting Party                   Rose Of Sharon Lutheran Church                                  6875 Jamaica Ave S                                          Cottage Grove, MN 55016                                                                                                                                          First Class Mail
Chartered Organization         Rose Tree Fire Co 1                                             Cradle of Liberty Council 525                               Evergreen Ave                                            Upper Providence                                                                                        First Class Mail
Chartered Organization         Rose Union Baptist Church                                       Blue Ridge Mtns Council 599                                 P.O. Box 45                                              Piney River, VA 22964‐0045                                                                              First Class Mail
Chartered Organization         Rose Valley Folk                                                Cradle of Liberty Council 525                               Old Mill Ln                                              Rose Valley, PA 19063                                                                                   First Class Mail
Chartered Organization         Roseau Lions Club                                               Northern Lights Council 429                                 908 6th St Sw                                            Roseau, MN 56751‐2010                                                                                   First Class Mail
Chartered Organization         Rosebud Elementary                                              Northeast Georgia Council 101                               4151 Rosebud Rd                                          Loganville, GA 30052‐7502                                                                               First Class Mail
Chartered Organization         Roseburg Optimist Club                                          Oregon Trail Council 697                                    2015 SE Douglas Ave                                      Roseburg, OR 97470‐3714                                                                                 First Class Mail
Voting Party                   Roseburg United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP                       Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Rosedale Gardens Presbyterian Church                            Great Lakes Fsc 272                                         9601 Hubbard St                                          Livonia, MI 48150‐2709                                                                                  First Class Mail
Chartered Organization         Rosedale Highway Lions                                          Southern Sierra Council 030                                 P.O. Box 3037                                            Bakersfield, CA 93385‐3037                                                                              First Class Mail
Chartered Organization         Rosedale Highway Lions Club                                     Southern Sierra Council 030                                 Rr 4 Box 3628                                            Bakersfield, CA 93314                                                                                   First Class Mail
Voting Party                   Rosedale Hills Umc                                              Attn: Ron Bolyard, Treasurer                                4450 S Keystone Ave                                      Indianapolis, IN 46227                                               officerhumc@att.net                Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Rosedale Hills Utd Methodist Church                             Crossroads of America 160                                   4450 S Keystone Ave                                      Indianapolis, IN 46227‐4300                                                                             First Class Mail
Chartered Organization         Rosedale Vfd                                                    Laurel Highlands Council 527                                5806 Verona Rd                                           Verona, PA 15147‐3138                                                                                   First Class Mail
Chartered Organization         Rosedale Volunteer Fire Dept Inc                                Crossroads of America 160                                   P.O. Box 304                                             Rosedale, IN 47874‐0304                                                                                 First Class Mail
Chartered Organization         Rosehill Utd Methodist Church                                   Sam Houston Area Council 576                                27619 Shannon Cir                                        Magnolia, TX 77355‐3834                                                                                 First Class Mail
Voting Party                   Roseland Presbyterian Church                                    40 Freeman St                                               Roseland, NJ 07068                                                                                                            warren@newarkpresbytery.org        Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Roseland Presbyterian Church                                    40 Freeman St                                               Roseland, NJ 07068                                                                                                                                               First Class Mail
Voting Party                   Roseland United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP                       Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Roselle Fire Dept                                               Three Fires Council 127                                     100 E Maple Ave                                          Roselle, IL 60172‐2275                                                                                  First Class Mail
Chartered Organization         Roselle Police Dept ‐ Explorers                                 Three Fires Council 127                                     103 S Prospect St                                        Roselle, IL 60172‐2025                                                                                  First Class Mail
Voting Party                   Roselle United Methodist Church                                 206 S Rush St                                               Roselle, IL 60172                                                                                                             zlzaki@msn.com                     Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Roselle Utd Methodist Church                                    Three Fires Council 127                                     206 Rush St                                              Roselle, IL 60172‐2225                                                                                  First Class Mail
Chartered Organization         Rosemont Baptist Church                                         Blue Grass Council 204                                      556 Rosemont Gdn                                         Lexington, KY 40503‐1742                                                                                First Class Mail
Chartered Organization         Rosemont Elementary ‐ Gifw                                      Longhorn Council 662                                        1401 W Seminary Dr                                       Fort Worth, TX 76115‐1244                                                                               First Class Mail
Chartered Organization         Rosemont Elementary Pta                                         Circle Ten Council 571                                      719 Montclair                                            Dallas, TX 75208                                                                                        First Class Mail
Chartered Organization         Rosemont Elementary School Pta                                  Central Florida Council 083                                 4650 Point Look Out Rd                                   Orlando, FL 32808‐1736                                                                                  First Class Mail
Chartered Organization         Rosemont Lutheran Church                                        Minsi Trails Council 502                                    1705 W Broad St                                          Bethlehem, PA 18018‐3323                                                                                First Class Mail
Chartered Organization         Rosemont Middle School                                          Verdugo Hills Council 058                                   4725 Rosemont Ave                                        La Crescenta, CA 91214‐3146                                                                             First Class Mail
Chartered Organization         Rosemount Fire Dept                                             Northern Star Council 250                                   2875 145th St W                                          Rosemount, MN 55068‐4941                                                                                First Class Mail
Chartered Organization         Rosemount Utd Methodist Church                                  Northern Star Council 250                                   14770 Canada Ave W                                       Rosemount, MN 55068‐4448                                                                                First Class Mail
Chartered Organization         Rosenauer Elementary School                                     Jersey Shore Council 341                                    60 Citadel Dr                                            Jackson, NJ 08527‐1835                                                                                  First Class Mail
Chartered Organization         Rosenberg Fire Dept                                             Sam Houston Area Council 576                                4336 Hwy 36 S                                            Rosenberg, TX 77471‐9108                                                                                First Class Mail
Chartered Organization         Rosenberg Police Dept                                           Sam Houston Area Council 576                                2120 4th St                                              Rosenberg, TX 77471‐5124                                                                                First Class Mail
Chartered Organization         Rosenberg Rotary Club                                           Sam Houston Area Council 576                                9910 Fm 359 Rd                                           Richmond, TX 77406‐7725                                                                                 First Class Mail
Chartered Organization         Rosendale Tillson Al Post 1219                                  Rip Van Winkle Council 405                                  P.O. Box 103                                             Tillson, NY 12486‐0103                                                                                  First Class Mail
Chartered Organization         Rosenow School Pto                                              Bay‐Lakes Council 635                                       290 Weis Ave                                             Fond Du Lac, WI 54935‐2666                                                                              First Class Mail
Chartered Organization         Rosetown Memorial Al Post 542                                   Northern Star Council 250                                   700 County Rd C W                                        Roseville, MN 55113‐2156                                                                                First Class Mail
Chartered Organization         Roseville Elks Bpoe Lodge 2248                                  Golden Empire Council 047                                   P.O. Box 247                                             Roseville, CA 95678‐0247                                                                                First Class Mail
Chartered Organization         Roseville Fire Dept                                             Northern Star Council 250                                   2701 Lexington Ave N                                     Roseville, MN 55113‐2007                                                                                First Class Mail
Chartered Organization         Roseville Host Lions                                            Golden Empire Council 047                                   107 Sutter Ave                                           Roseville, CA 95678‐2725                                                                                First Class Mail
Chartered Organization         Roseville Lions Club                                            Illowa Council 133                                          742 90th Ave                                             Roseville, IL 61473‐9243                                                                                First Class Mail
Voting Party                   Roseville Lutheran Church                                       1215 W Roselawn Ave                                         Roseville, MN 55113                                                                                                           dbooms@rosevillelutheran.org       Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Roseville Police Dept                                           Golden Empire Council 047                                   1051 Junction Blvd                                       Roseville, CA 95678‐7191                                                                                First Class Mail
Chartered Organization         Roseville Police Dept                                           Northern Star Council 250                                   2260 Civic Center Dr                                     Roseville, MN 55113                                                                                     First Class Mail
Chartered Organization         Roseville Rotary Club                                           Golden Empire Council 047                                   107 Sutter Ave                                           Roseville, CA 95678‐2725                                                                                First Class Mail
Chartered Organization         Roseville Utd Methodist Church                                  Illowa Council 133                                          201 W Union St                                           Roseville, IL 61473‐9001                                                                                First Class Mail
Chartered Organization         Rosewood Heights Volunteer Fire Dept                            Greater St Louis Area Council 312                           45 E Airline Dr                                          East Alton, IL 62024‐1703                                                                               First Class Mail
Voting Party                   Rosewoods Hts St Paul United Methodist Church                   Attn: James Rodney Herndon                                  10 N Center                                              East Alton, IL 62024                                                 info@stpaulwired.org               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Rosholt Lions Club                                              Samoset Council, Bsa 627                                    P.O. Box 72                                              Rosholt, WI 54473‐0072                                                                                  First Class Mail
Chartered Organization         Rosman Utd Methodist Church                                     Daniel Boone Council 414                                    95 Church St                                             Rosman, NC 28772                                                                                        First Class Mail
Chartered Organization         Rosol Dul Legion 359                                            Northern New Jersey Council, Bsa 333                        1 Wall St                                                Passaic, NJ 07055‐8308                                                                                  First Class Mail
Voting Party                   Ross Community Umc                                              Attn: Debbie Gilman                                         2943 Hamilton Cleves Rd                                  Hamilton, OH 45013                                                   emily.fs.adams@gmail.com           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                 Page 319 of 442
                                                                                Case 20-10343-LSS                                     Doc 8171                                         Filed 01/06/22                                                      Page 335 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                      Name                                                                                           Address                                                                                                              Email              Method of Service
Firm                           Ross Feller Casey                                       Dena Young                                1650 Market Street, 34th Floor                               Philadelphia, PA 19103                                                 dyoung@rossfellercasey.com      Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Ross Medical Education                                  Great Smoky Mountain Council 557          206 N Seven Oaks Dr                                          Knoxville, TN 37922‐2367                                                                               First Class Mail
Chartered Organization         Ross Park Elementary Pto                                President Gerald R Ford 781               121 Randall Rd                                               Norton Shores, MI 49441‐4944                                                                           First Class Mail
Chartered Organization         Ross School Pta                                         Greater St Louis Area Council 312         1150 Ross Ave                                                Saint Louis, MO 63146‐4524                                                                             First Class Mail
Chartered Organization         Ross School Pto                                         Greater St Louis Area Council 312         1150 Ross Ave                                                Saint Louis, MO 63146‐4524                                                                             First Class Mail
Chartered Organization         Ross Utd Methodist Church                               West Tennessee Area Council 559           101 Calcutt Ave                                              Dyersburg, TN 38024‐4207                                                                               First Class Mail
Chartered Organization         Ross Valley Fire Dept                                   Marin Council 035                         777 San Anselmo Ave                                          San Anselmo, CA 94960‐2045                                                                             First Class Mail
Voting Party                   Rosser, Mary Margaret                                   Address Redacted                                                                                                                                                                                              First Class Mail
Chartered Organization         Rossford Fire Dept                                      Erie Shores Council 460                   133 Osborne St                                               Rossford, OH 43460‐1236                                                                                First Class Mail
Chartered Organization         Rossford Utd Methodist Church                           Erie Shores Council 460                   270 Dixie Hwy                                                Rossford, OH 43460‐1216                                                                                First Class Mail
Chartered Organization         Rossman School                                          Greater St Louis Area Council 312         12660 Conway Rd                                              Saint Louis, MO 63141‐8625                                                                             First Class Mail
Voting Party                   Rossvile United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200                Tampa, FL 33602                                                First Class Mail
Chartered Organization         Rossville Presbyterian Church                           Crossroads of America 160                 5434 W State Rd 26                                           Rossville, IN 46065‐9542                                                                               First Class Mail
Chartered Organization         Rossville Utd Methodist Church                          Jayhawk Area Council 197                  411 Spruce St                                                Rossville, KS 66533‐9759                                                                               First Class Mail
Chartered Organization         Rossville Volunteer Firefighters                        Crossroads of America 160                 23 W Main St                                                 Rossville, IN 46065‐9459                                                                               First Class Mail
Chartered Organization         Roswell Police Dept                                     Conquistador Council Bsa 413              128 W 2nd St                                                 Roswell, NM 88201‐4704                                                                                 First Class Mail
Chartered Organization         Roswell Presbyterian Church                             Atlanta Area Council 092                  755 Mimosa Blvd                                              Roswell, GA 30075‐4407                                                                                 First Class Mail
Voting Party                   Roswell Street Baptist Church                           Attn: Joe Buckner & Tony Stokes           774 Roswell St                                               Marietta, GA 30060                                                     joebuckner@roswellstreet.com    Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Roswell Utd Methodist Church                            Atlanta Area Council 092                  814 Mimosa Blvd                                              Roswell, GA 30075‐4410                                                                                 First Class Mail
Chartered Organization         Roswell Utd Methodist Church                            Atlanta Area Council 092                  814 Mimosa Blvd                                              Roswell, GA 30075‐4410                                                                                 First Class Mail
Chartered Organization         Rotary ‐ Blackfoot Rotary Club                          Grand Teton Council 107                   P.O. Box 502                                                 Blackfoot, ID 83221‐0502                                                                               First Class Mail
Chartered Organization         Rotary ‐ Clovis                                         Sequoia Council 027                       P.O. Box 496                                                 Clovis, CA 93613‐0496                                                                                  First Class Mail
Chartered Organization         Rotary ‐ Visalia                                        Sequoia Council 027                       P.O. Box 1216                                                Visalia, CA 93279‐1216                                                                                 First Class Mail
Chartered Organization         Rotary & Kiwanis Clubs ‐ Ripon                          Bay‐Lakes Council 635                     617 Hillside Ter                                             Ripon, WI 54971‐1605                                                                                   First Class Mail
Chartered Organization         Rotary Club                                             Circle Ten Council 571                    501 Mckinney St                                              Farmersville, TX 75442‐2125                                                                            First Class Mail
Chartered Organization         Rotary Club                                             East Carolina Council 426                 P.O. Box 173                                                 Farmville, NC 27828‐0173                                                                               First Class Mail
Chartered Organization         Rotary Club                                             Shenandoah Area Council 598               P.O. Box 85                                                  Front Royal, VA 22630‐0002                                                                             First Class Mail
Chartered Organization         Rotary Club                                             Great Trail 433                           344 W Stsboro St                                             Hudson, OH 44236‐2747                                                                                  First Class Mail
Chartered Organization         Rotary Club                                             Cornhusker Council 324                    71282 638 Ave                                                Humboldt, NE 68376                                                                                     First Class Mail
Chartered Organization         Rotary Club                                             Andrew Jackson Council 303                105 Wall St                                                  Lexington, MS 39095‐3546                                                                               First Class Mail
Chartered Organization         Rotary Club                                             Puerto Rico Council 661                   P.O. Box 394                                                 Manati, PR 00674‐0394                                                                                  First Class Mail
Chartered Organization         Rotary Club                                             Westark Area Council 016                  38 Martin St                                                 Paris, AR 72855‐2608                                                                                   First Class Mail
Chartered Organization         Rotary Club                                             Central Minnesota 296                     309 Main Ave S                                               Park Rapids, MN 56470‐1550                                                                             First Class Mail
Chartered Organization         Rotary Club                                             Pine Burr Area Council 304                P.O. Box 58                                                  Pass Christian, MS 39571‐0058                                                                          First Class Mail
Chartered Organization         Rotary Club                                             Sagamore Council 162                      405 W Moody Rd                                               Rensselaer, IN 47978‐7357                                                                              First Class Mail
Chartered Organization         Rotary Club                                             Pushmataha Area Council 691               P.O. Box 80002                                               Starkville, MS 39759‐0002                                                                              First Class Mail
Chartered Organization         Rotary Club                                             Circle Ten Council 571                    714 Ferris Ave                                               Waxahachie, TX 75165‐2552                                                                              First Class Mail
Chartered Organization         Rotary Club                                             Daniel Boone Council 414                  53 Conley St                                                 Waynesville, NC 28786‐6817                                                                             First Class Mail
Chartered Organization         Rotary Club ‐ Adel                                      Mid Iowa Council 177                      735 S 14th St                                                Adel, IA 50003‐1972                                                                                    First Class Mail
Chartered Organization         Rotary Club ‐ Baudette                                  Voyageurs Area 286                        P.O. Box 411                                                 Baudette, MN 56623‐0411                                                                                First Class Mail
Chartered Organization         Rotary Club ‐ Berlin                                    Bay‐Lakes Council 635                     308 N Capron St                                              Berlin, WI 54923‐1140                                                                                  First Class Mail
Chartered Organization         Rotary Club ‐ Bloomfield                                Mid Iowa Council 177                      108 W Poplar St                                              Bloomfield, IA 52537‐1349                                                                              First Class Mail
Chartered Organization         Rotary Club ‐ Dallas Center                             Mid Iowa Council 177                      P.O. Box 368                                                 Dallas Center, IA 50063‐0368                                                                           First Class Mail
Chartered Organization         Rotary Club ‐ Dickinson                                 Northern Lights Council 429               P.O. Box 809                                                 Dickinson, ND 58602‐0809                                                                               First Class Mail
Chartered Organization         Rotary Club ‐ Hornell                                   Five Rivers Council, Inc 375              P.O. Box 415                                                 Hornell, NY 14843‐0415                                                                                 First Class Mail
Chartered Organization         Rotary Club ‐ Kewaunee                                  Bay‐Lakes Council 635                     P.O. Box 215                                                 Kewaunee, WI 54216‐0215                                                                                First Class Mail
Chartered Organization         Rotary Club ‐ Mayville                                  Bay‐Lakes Council 635                     P.O. Box 134                                                 Mayville, WI 53050‐0134                                                                                First Class Mail
Chartered Organization         Rotary Club ‐ Rensselaer                                Sagamore Council 162                      2715 S College Ave                                           Rensselaer, IN 47978‐8408                                                                              First Class Mail
Chartered Organization         Rotary Club ‐ Thiensville/Mequon                        Bay‐Lakes Council 635                     P.O. Box 104                                                 Thiensville, WI 53092‐0104                                                                             First Class Mail
Chartered Organization         Rotary Club ‐ Walker                                    Voyageurs Area 286                        5811 White Spruce Ln NW                                      Hackensack, MN 56452‐2358                                                                              First Class Mail
Chartered Organization         Rotary Club ‐ Wautoma                                   Bay‐Lakes Council 635                     P.O. Box 1045                                                Wautoma, WI 54982‐1045                                                                                 First Class Mail
Chartered Organization         Rotary Club & San Bruno Police                          Pacific Skyline Council 031               1177 Huntington Ave                                          San Bruno, CA 94066‐1500                                                                               First Class Mail
Chartered Organization         Rotary Club Baldwin City                                Heart of America Council 307              4833 Nevada Rd                                               Baldwin City, KS 66006‐9219                                                                            First Class Mail
Chartered Organization         Rotary Club Bridgeville‐S Fayette 5176                  Laurel Highlands Council 527              P.O. Box 38                                                  Bridgeville, PA 15017‐0038                                                                             First Class Mail
Chartered Organization         Rotary Club Carson City                                 Nevada Area Council 329                   P.O. Box 504                                                 Carson City, NV 89702‐0504                                                                             First Class Mail
Chartered Organization         Rotary Club Chicago Ohare                               Pathway To Adventure 456                  2117 Irving Park Rd                                          Schiller Park, IL 60176                                                                                First Class Mail
Chartered Organization         Rotary Club Clinton                                     Heart of America Council 307              P.O. Box 204                                                 Clinton, MO 64735‐0204                                                                                 First Class Mail
Chartered Organization         Rotary Club E Greenbush/Rensselaer Elks                 Twin Rivers Council 364                   683 Columbia Tpke                                            East Greenbush, NY 12061‐2131                                                                          First Class Mail
Chartered Organization         Rotary Club Fremont Warm Spgs Sunrise                   San Francisco Bay Area Council 028        P.O. Box 14665                                               Fremont, CA 94539‐1665                                                                                 First Class Mail
Chartered Organization         Rotary Club Gaylord                                     Twin Valley Council Bsa 283               P.O. Box 295                                                 Gaylord, MN 55334‐0295                                                                                 First Class Mail
Chartered Organization         Rotary Club Gaylord                                     Twin Valley Council Bsa 283               209 Main Ave                                                 Gaylord, MN 55334‐9618                                                                                 First Class Mail
Chartered Organization         Rotary Club Higginsville                                Heart of America Council 307              2021 Main St                                                 Higginsville, MO 64037‐1738                                                                            First Class Mail
Chartered Organization         Rotary Club Lindale/1St Umc Lindale                     East Texas Area Council 585               1113 S Main St                                               Lindale, TX 75771‐6266                                                                                 First Class Mail
Chartered Organization         Rotary Club Loyalton                                    Nevada Area Council 329                   P.O. Box 218                                                 Loyalton, CA 96118‐0218                                                                                First Class Mail
Chartered Organization         Rotary Club Madelia                                     Twin Valley Council Bsa 283               83661 300th St                                               Madelia, MN 56062‐5510                                                                                 First Class Mail
Chartered Organization         Rotary Club Novato Sunrise                              Marin Council 035                         P.O. Box 356                                                 Novato, CA 94948‐0356                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Aberdeen 5852                            Baltimore Area Council 220                P.O. Box 422                                                 Aberdeen, MD 21001‐0422                                                                                First Class Mail
Chartered Organization         Rotary Club Of Alameda                                  Alameda Council Bsa 022                   P.O. Box 2403                                                Alameda, CA 94501‐0244                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Alamo (Meridian)                         Mt Diablo‐Silverado Council 023           P.O. Box 393                                                 Alamo, CA 94507‐0393                                                                                   First Class Mail
Chartered Organization         Rotary Club Of Albany                                   Attn: Danny Marsh                         P.O. Box 39                                                  Albany, MO 64402‐0039                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Algiers                                  Southeast Louisiana Council 214           813 Heritage Ave                                             Terrytown, LA 70056‐5263                                                                               First Class Mail
Chartered Organization         Rotary Club Of Allen Park                               c/o Allen Park Presbyterian Church        7101 Park Ave                                                Allen Park, MI 48101‐2037                                                                              First Class Mail
Chartered Organization         Rotary Club Of Alturas                                  Crater Lake Council 491                   P.O. Box 1095                                                Alturas, CA 96101‐1095                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Anaheim Hills                            Orange County Council 039                 P.O. Box 27661                                               Anaheim, CA 92809‐0122                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Apopka                                   Central Florida Council 083               P.O. Box 7                                                   Apopka, FL 32704‐0007                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Apple Valley                             Northern Star Council 250                 P.O. Box 240551                                              Apple Valley, MN 55124‐0551                                                                            First Class Mail
Chartered Organization         Rotary Club Of Arcadia                                  Greater Los Angeles Area 033              501 S 1st Ave                                                Arcadia, CA 91006‐3888                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Arlington                                Mount Baker Council, Bsa 606              P.O. Box 3592                                                Arlington, WA 98223‐3592                                                                               First Class Mail
Chartered Organization         Rotary Club Of Arlington Heights                        Pathway To Adventure 456                  P.O. Box 402                                                 Arlington Heights, IL 60006‐0402                                                                       First Class Mail
Chartered Organization         Rotary Club Of Arnold                                   Greater St Louis Area Council 312         No Mail                                                      Arnold, MO 63010                                                                                       First Class Mail
Chartered Organization         Rotary Club Of Auburn                                   Golden Empire Council 047                 410 Gold St                                                  Auburn, CA 95603‐5522                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Auburn Al                                Chattahoochee Council 091                 P.O. Box 852                                                 Auburn, AL 36831‐0852                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Auburndale                               Greater Tampa Bay Area 089                P.O. Box 711                                                 Auburndale, FL 33823‐0711                                                                              First Class Mail
Chartered Organization         Rotary Club Of Austin Northeast                         Capitol Area Council 564                  3301 Northland Dr, Ste 315                                   Austin, TX 78731‐4952                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Avalon                                   Long Beach Area Council 032               P.O. Box 444                                                 Avalon, CA 90704‐0444                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Barberton                                Great Trail 433                           500 W Hopocan Ave                                            Barberton, OH 44203‐2262                                                                               First Class Mail
Chartered Organization         Rotary Club Of Bellevue                                 Chief Seattle Council 609                 P.O. Box 523                                                 Bellevue, WA 98009‐0523                                                                                First Class Mail
Chartered Organization         Rotary Club Of Bennettsville                            Pee Dee Area Council 552                  P.O. Box 494                                                 Bennettsville, SC 29512‐0494                                                                           First Class Mail
Chartered Organization         Rotary Club Of Big Sky                                  Montana Council 315                       P.O. Box 161115                                              Big Sky, MT 59716‐1115                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Bishop Sunrise                           Southern Sierra Council 030               P.O. Box 212                                                 Bishop, CA 93515‐0212                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Boise City                               Golden Spread Council 562                 P.O. Box 501                                                 Boise City, OK 73933‐0501                                                                              First Class Mail
Chartered Organization         Rotary Club Of Brockport                                Seneca Waterways 397                      20 Tudor Rd                                                  Brockport, NY 14420‐2526                                                                               First Class Mail
Chartered Organization         Rotary Club Of Broken Arrow                             Indian Nations Council 488                P.O. Box 893                                                 Broken Arrow, OK 74013‐0893                                                                            First Class Mail
Chartered Organization         Rotary Club Of Broomfield Colorado, Usa                 Denver Area Council 061                   P.O. Box 332                                                 Broomfield, CO 80038‐0332                                                                              First Class Mail
Chartered Organization         Rotary Club Of Burlington                               Garden State Council 690                  P.O. Box 494                                                 Burlington, NJ 08016‐0494                                                                              First Class Mail
Chartered Organization         Rotary Club Of Calistoga                                Mt Diablo‐Silverado Council 023           P.O. Box 754                                                 Calistoga, CA 94515‐0754                                                                               First Class Mail
Chartered Organization         Rotary Club Of Campbell                                 Silicon Valley Monterey Bay 055           1101 S Winchester Blvd, Ste G173                             San Jose, CA 95128‐3917                                                                                First Class Mail
Chartered Organization         Rotary Club Of Canisteo                                 Five Rivers Council, Inc 375              P.O. Box 86                                                  Canisteo, NY 14823‐0086                                                                                First Class Mail
Chartered Organization         Rotary Club Of Carol Stream                             Three Fires Council 127                   195 Hiawatha Dr                                              Carol Stream, IL 60188‐1774                                                                            First Class Mail
Chartered Organization         Rotary Club Of Castle Rock                              Denver Area Council 061                   P.O. Box 1045                                                Castle Rock, CO 80104‐1045                                                                             First Class Mail
Chartered Organization         Rotary Club Of Castro Valley                            San Francisco Bay Area Council 028        2490 Grove Way                                               Castro Valley, CA 94546‐7106                                                                           First Class Mail
Chartered Organization         Rotary Club Of Cedar Park Leander                       Capitol Area Council 564                  P.O. Box 1446                                                Cedar Park, TX 78630‐1446                                                                              First Class Mail
Chartered Organization         Rotary Club Of Chester                                  Connecticut Rivers Council, Bsa 066       P.O. Box 111                                                 Chester, CT 06412‐0111                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Claremont                                Greater Los Angeles Area 033              P.O. Box 357                                                 Claremont, CA 91711‐0357                                                                               First Class Mail
Chartered Organization         Rotary Club Of Cleveland                                Lake Erie Council 440                     1122 Prospect Ave E                                          Cleveland, OH 44115‐1229                                                                               First Class Mail
Chartered Organization         Rotary Club Of Cloquet                                  Voyageurs Area 286                        P.O. Box 292                                                 Cloquet, MN 55720‐0292                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Cobleskill                               Leatherstocking 400                       P.O. Box 39                                                  Cobleskill, NY 12043‐0039                                                                              First Class Mail
Chartered Organization         Rotary Club Of Columbia Co                              Cascade Pacific Council 492               P.O. Box 168                                                 Saint Helens, OR 97051‐0168                                                                            First Class Mail
Chartered Organization         Rotary Club Of Columbia County                          Georgia‐Carolina 093                      P.O. Box 211301                                              Augusta, GA 30917‐1301                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Columbiaville                            Water and Woods Council 782               4422 1st St                                                  Columbiaville, MI 48421‐7700                                                                           First Class Mail
Chartered Organization         Rotary Club Of Columbus                                 Glaciers Edge Council 620                 Firemans Park                                                Scout Cabin                             Columbus, WI 53925                                             First Class Mail
Chartered Organization         Rotary Club Of Commack ‐ Kings Park                     Suffolk County Council Inc 404            P.O. Box 96                                                  Commack, NY 11725‐0096                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Conifer                                  Denver Area Council 061                   P.O. Box 1430                                                Conifer, CO 80433‐1430                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Coon Rapids                              Northern Star Council 250                 9701 Avocet St NW                                            Coon Rapids, MN 55433‐5326                                                                             First Class Mail
Chartered Organization         Rotary Club Of Copperas Cove                            Longhorn Council 662                      Charter Rep Eric Armstrong                                   Copperas Cove, TX 76522                                                                                First Class Mail
Chartered Organization         Rotary Club Of Coral Springs Parkland                   South Florida Council 084                 7401 Wiles Rd                                                Coral Springs, FL 33067‐2036                                                                           First Class Mail
Chartered Organization         Rotary Club Of Cordelia                                 Mt Diablo‐Silverado Council 023           P.O. Box 771                                                 Fairfield, CA 94533‐0077                                                                               First Class Mail
Chartered Organization         Rotary Club Of Coto De Caza                             Rancho Santa Margarita                    P.O. Box 81072                                               Rancho Santa Margarita, CA 92688‐8172                                                                  First Class Mail
Chartered Organization         Rotary Club Of Crete                                    Cornhusker Council 324                    General Delivery                                             Crete, NE 68333                                                                                        First Class Mail
Chartered Organization         Rotary Club Of Culver City                              W.L.A.C.C. 051                            5426 Diller Ave                                              Culver City, CA 90230‐5331                                                                             First Class Mail
Chartered Organization         Rotary Club Of Cupertino                                Silicon Valley Monterey Bay 055           P.O. Box 637                                                 Cupertino, CA 95015‐0637                                                                               First Class Mail
Chartered Organization         Rotary Club Of Cypress‐Fairbanks                        Sam Houston Area Council 576              P.O. Box 2937                                                Cypress, TX 77410‐2937                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Dallas @ Robert T Hill                   Circle Ten Council 571                    5430 Glen Lakes Dr                                           Dallas, TX 75231‐4362                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Dallas Ga                                Atlanta Area Council 092                  P.O. Box 370                                                 Dallas, GA 30132‐0007                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Davis                                    Golden Empire Council 047                 P.O. Box 185                                                 Davis, CA 95617‐0185                                                                                   First Class Mail
Chartered Organization         Rotary Club Of Davisburg                                Great Lakes Fsc 272                       P.O. Box 96                                                  Davisburg, MI 48350‐0096                                                                               First Class Mail
Chartered Organization         Rotary Club Of Del Amo                                  2921 Blanche Rd                           Manhattan Beach, CA 90266‐2262                                                                                                                                      First Class Mail
Chartered Organization         Rotary Club Of Del Mar                                  San Diego Imperial Council 049            P.O. Box 552                                                 Del Mar, CA 92014‐0552                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Demopolis                                Black Warrior Council 006                 P.O. Box 1243                                                Demopolis, AL 36732‐1243                                                                               First Class Mail
Chartered Organization         Rotary Club Of Denton 293                               Del Mar Va 081                            P.O. Box 293                                                 Denton, MD 21629‐0293                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Dormont                                  c/o Mt. Lebanon United Methodist Church   Mtlebanon‐Castle Shannon 5182                                Pittsburgh, PA 15216                                                                                   First Class Mail
Chartered Organization         Rotary Club Of East Fishkill                            Hudson Valley Council 374                 P.O. Box 1030                                                Hopewell Junction, NY 12533‐1030                                                                       First Class Mail
Chartered Organization         Rotary Club Of East Lansing                             Water and Woods Council 782               P.O. Box 4205                                                East Lansing, MI 48826‐4205                                                                            First Class Mail
Chartered Organization         Rotary Club Of Ebensburg                                Laurel Highlands Council 527              P.O. Box 231                                                 Ebensburg, PA 15931‐0231                                                                               First Class Mail
Chartered Organization         Rotary Club Of Eden Prairie                             Northern Star Council 250                 17200 W 67th C                                               Eden Prairie, MN 55346                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Eden Prairie                             Northern Star Council 250                 17200 W 67th Cir                                             Eden Prairie, MN 55346                                                                                 First Class Mail
Chartered Organization         Rotary Club Of El Campo                                 Sam Houston Area Council 576              P.O. Box 66                                                  El Campo, TX 77437‐0066                                                                                First Class Mail
Chartered Organization         Rotary Club Of El Dorado Hills                          Golden Empire Council 047                 P.O. Box 5282                                                El Dorado Hills, CA 95762‐0006                                                                         First Class Mail
Chartered Organization         Rotary Club Of El Segundo                               Greater Los Angeles Area 033              P.O. Box 85                                                  El Segundo, CA 90245‐0085                                                                              First Class Mail
Chartered Organization         Rotary Club Of Elko Desert Sunrise                      Nevada Area Council 329                   P.O. Box 1241                                                Elko, NV 89803‐1241                                                                                    First Class Mail
Chartered Organization         Rotary Club Of Emporia                                  Jayhawk Area Council 197                  P.O. Box 53                                                  Emporia, KS 66801‐0053                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Escondido                                San Diego Imperial Council 049            P.O. Box 1822                                                Escondido, CA 92033‐1822                                                                               First Class Mail
Chartered Organization         Rotary Club Of Essex                                    Connecticut Rivers Council, Bsa 066       P.O. Box 484                                                 Essex, CT 06426‐0484                                                                                   First Class Mail
Chartered Organization         Rotary Club Of Fairbanks                                Midnight Sun Council 696                  P.O. Box 72114                                               Fairbanks, AK 99707‐2114                                                                               First Class Mail
Chartered Organization         Rotary Club Of Fairfield                                Northern New Jersey Council, Bsa 333      153 Big Piece Rd                                             Fairfield, NJ 07004‐1207                                                                               First Class Mail
Chartered Organization         Rotary Club Of Fairfield‐Suisun                         Mt Diablo‐Silverado Council 023           P.O. Box 477                                                 Fairfield, CA 94533‐0047                                                                               First Class Mail
Chartered Organization         Rotary Club Of Fall River                               Narragansett 546                          P.O. Box 1802                                                Fall River, MA 02722‐1802                                                                              First Class Mail
Chartered Organization         Rotary Club Of Fallon Churchill Co                      Nevada Area Council 329                   1601 Tamara Ln                                               Fallon, NV 89406‐9447                                                                                  First Class Mail
Voting Party                   Rotary Club Of Fallon Nevada                            Attn: Steven M Endacott                   1601 Tamara Ln                                               Fallon, NV 89406                                                       endacottsteve@charter.net       Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Rotary Club Of Fillmore Sunrisers                       Ventura County Council 057                P.O. Box 175                                                 Fillmore, CA 93016‐0175                                                                                First Class Mail
Chartered Organization         Rotary Club Of Folsom                                   Golden Empire Council 047                 P.O. Box 756                                                 Folsom, CA 95763‐0756                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Fosston                                  Northern Lights Council 429               403 8th St Nw                                                Fosston, MN 56542‐1010                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Foster City                              Pacific Skyline Council 031               704 Ranger Cir                                               Foster City, CA 94404‐1727                                                                             First Class Mail
Voting Party                   Rotary Club Of Foster City                              Attn: Mary Lou Griffin                    P.O. Box 8111                                                Foster City, CA 94404                                                  marylougriffin1@yahoo.com       Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Rotary Club Of Fox Lake Round Lake Area                 Northeast Illinois 129                    P.O. Box 763                                                 Fox Lake, IL 60020                                                                                     First Class Mail
Chartered Organization         Rotary Club Of Franklin ‐ Daybreak                      Daniel Boone Council 414                  P.O. Box 967                                                 Franklin, NC 28744‐0967                                                                                First Class Mail
Chartered Organization         Rotary Club Of Fredericktowne                           National Capital Area Council 082         P.O. Box 1720                                                Frederick, MD 21702‐0720                                                                               First Class Mail
Chartered Organization         Rotary Club Of Frisco                                   Circle Ten Council 571                    P.O. Box 130                                                 Frisco, TX 75034‐0003                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Gates Chili                              Seneca Waterways 397                      6854 Wgate Stn                                               Rochester, NY 14624                                                                                    First Class Mail
Chartered Organization         Rotary Club Of Gatlinburg                               Great Smoky Mountain Council 557          P.O. Box 1144                                                Gatlinburg, TN 37738‐1144                                                                              First Class Mail
Chartered Organization         Rotary Club Of Gaylord                                  President Gerald R Ford 781               P.O. Box 1084                                                Gaylord, MI 49734‐5084                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Gig Harbor                               Pacific Harbors Council, Bsa 612          2909 14th Ave NW                                             Gig Harbor, WA 98335‐1633                                                                              First Class Mail
Chartered Organization         Rotary Club Of Glendora                                 Greater Los Angeles Area 033              1822 E Route 66 206, Ste A                                   Glendora, CA 91740                                                                                     First Class Mail
Chartered Organization         Rotary Club Of Gonzales                                 Silicon Valley Monterey Bay 055           P.O. Box 277                                                 Gonzales, CA 93926‐0277                                                                                First Class Mail
Chartered Organization         Rotary Club Of Gorham                                   Seneca Waterways 397                      4754 S St                                                    Gorham, NY 14461                                                                                       First Class Mail
Chartered Organization         Rotary Club Of Great Barrington                         Western Massachusetts Council 234         P.O. Box 565                                                 Great Barrington, MA 01230‐0565                                                                        First Class Mail
Chartered Organization         Rotary Club Of Greater Bend                             Crater Lake Council 491                   P.O. Box 6561                                                Bend, OR 97708‐6561                                                                                    First Class Mail
Chartered Organization         Rotary Club Of Greater Van Nuys                         W.L.A.C.C. 051                            12911 Jolette Ave                                            Granada Hills, CA 91344‐1069                                                                           First Class Mail
Chartered Organization         Rotary Club Of Greeley ‐ Centennial                     Longs Peak Council 062                    P.O. Box 1472                                                Greeley, CO 80632‐1472                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Hailey                                   Snake River Council 111                   P.O. Box 2190                                                Hailey, ID 83333‐2190                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Hallettsville                            Capitol Area Council 564                  367 Pvr Rd 1010                                              Hallettsville, TX 77964                                                                                First Class Mail
Chartered Organization         Rotary Club Of Harker Heights                           Longhorn Council 662                      2412 Stillhouse Lake Rd                                      Harker Heights, TX 76548                                                                               First Class Mail
Chartered Organization         Rotary Club Of Harrison                                 Westark Area Council 016                  P.O. Box 835                                                 Harrison, AR 72602‐0835                                                                                First Class Mail
Chartered Organization         Rotary Club Of Hermosa Beach                            Greater Los Angeles Area 033              2521 Valley Dr                                               Hermosa Beach, CA 90254‐2653                                                                           First Class Mail
Chartered Organization         Rotary Club Of Hickam Pearl Harbor                      Aloha Council, Bsa 104                    98‐1943 Piki St                                              Aiea, HI 96701                                                                                         First Class Mail
Chartered Organization         Rotary Club Of High Springs                             North Florida Council 087                 P.O. Box 1462                                                High Springs, FL 32655‐1462                                                                            First Class Mail
Chartered Organization         Rotary Club Of Highlands Harris                         Sam Houston Area Council 576              P.O. Box 892                                                 Highlands, TX 77562‐0892                                                                               First Class Mail
Chartered Organization         Rotary Club Of Hollister                                Silicon Valley Monterey Bay 055           P.O. Box 86                                                  Hollister, CA 95024‐0086                                                                               First Class Mail
Chartered Organization         Rotary Club Of Honeoye Falls Mendon                     Seneca Waterways 397                      P.O. Box 415                                                 Honeoye Falls, NY 14472‐0415                                                                           First Class Mail
Chartered Organization         Rotary Club Of Hudson                                   Great Trail 433                           P.O. Box 323                                                 Hudson, OH 44236‐0323                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Huntington Beach                         Orange County Council 039                 P.O. Box 632                                                 Huntington Beach, CA 92648‐0632                                                                        First Class Mail
Chartered Organization         Rotary Club Of Hurricane                                Utah National Parks 591                   980 W State St                                               Hurricane, UT 84737‐3501                                                                               First Class Mail
Chartered Organization         Rotary Club Of Indian Wells                             California Inland Empire Council 045      P.O. Box 138                                                 Indian Wells, CA 92201                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Inverness, Inc                           Greater Tampa Bay Area 089                P.O. Box 1317                                                Inverness, FL 34451‐1317                                                                               First Class Mail
Chartered Organization         Rotary Club Of Inverness, Inc                           Greater Tampa Bay Area 089                P.O. Box 1317                                                Inverness, FL 34451‐1317                                                                               First Class Mail
Chartered Organization         Rotary Club Of Issaquah                                 Chief Seattle Council 609                 P.O. Box 553                                                 Issaquah, WA 98027‐0021                                                                                First Class Mail
Chartered Organization         Rotary Club Of Jackson                                  Golden Empire Council 047                 P.O. Box 1117                                                Jackson, CA 95642‐1117                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 320 of 442
                                                                                 Case 20-10343-LSS                                   Doc 8171                                       Filed 01/06/22                                                      Page 336 of 457
                                                                                                                                                                       Exhibit B
                                                                                                                                                                        Service List
                                                                                                                                                                 Served as set forth below

        Description                                                       Name                                                                                       Address                                                                                                             Email              Method of Service
Chartered Organization         Rotary Club Of Jackson                                   Greater St Louis Area Council 312       P.O. Box 414                                               Jackson, MO 63755‐0414                                                                                First Class Mail
Chartered Organization         Rotary Club Of Jackson Hole                              Grand Teton Council 107                 P.O. Box 1584                                              Jackson, WY 83001‐1584                                                                                First Class Mail
Chartered Organization         Rotary Club Of Johns Creek                               Northeast Georgia Council 101           3651 Peachtree Pkwy, Ste E                                 Suwanee, GA 30024‐6009                                                                                First Class Mail
Chartered Organization         Rotary Club Of Kennett Square                            Chester County Council 539              P.O. Box 291                                               Kennett Square, PA 19348‐0291                                                                         First Class Mail
Chartered Organization         Rotary Club Of Killeen                                   Longhorn Council 662                    P.O. Box 1032                                              Killeen, TX 76540‐1032                                                                                First Class Mail
Chartered Organization         Rotary Club Of King City                                 Silicon Valley Monterey Bay 055         39467 Metz Rd                                              King City, CA 93930‐9502                                                                              First Class Mail
Chartered Organization         Rotary Club Of Lake Mahopac                              Westchester Putnam 388                  P.O. Box 157                                               Mahopac, NY 10541‐0157                                                                                First Class Mail
Chartered Organization         Rotary Club Of Lake Placid                               Greater Tampa Bay Area 089              P.O. Box 312                                               Lake Placid, FL 33862‐0312                                                                            First Class Mail
Chartered Organization         Rotary Club Of Lake Stevens                              Mount Baker Council, Bsa 606            P.O. Box 908                                               Lake Stevens, WA 98258‐0908                                                                           First Class Mail
Chartered Organization         Rotary Club Of Lathrop                                   Pony Express Council 311                615 Oak St                                                 Lathrop, MO 64465‐9737                                                                                First Class Mail
Chartered Organization         Rotary Club Of Lebanon                                   303 S Saint Clair St                    Lebanon, IL 62254                                                                                                                                                First Class Mail
Chartered Organization         Rotary Club Of Leesburg                                  National Capital Area Council 082       P.O. Box 771                                               Leesburg, VA 20178‐0771                                                                               First Class Mail
Chartered Organization         Rotary Club Of Lehi                                      Utah National Parks 591                 401 W 2730 N                                               Lehi, UT 84043‐3346                                                                                   First Class Mail
Chartered Organization         Rotary Club Of Lewis River                               Cascade Pacific Council 492             P.O. Box 1498                                              Battle Ground, WA 98604‐1498                                                                          First Class Mail
Chartered Organization         Rotary Club Of Lexington                                 Overland Trails 322                     P.O. Box 781                                               Lexington, NE 68850‐0781                                                                              First Class Mail
Chartered Organization         Rotary Club Of Liberty                                   Old N State Council 070                 128 S Fayetteville St                                      Liberty, NC 27298                                                                                     First Class Mail
Chartered Organization         Rotary Club Of Lillington Nc                             Occoneechee 421                         P.O. Box 382                                               Lillington, NC 27546‐0382                                                                             First Class Mail
Chartered Organization         Rotary Club Of Livermore                                 San Francisco Bay Area Council 028      P.O. Box 694                                               Livermore, CA 94551‐0694                                                                              First Class Mail
Chartered Organization         Rotary Club Of Livermore Valley                          San Francisco Bay Area Council 028      P.O. Box 3266                                              Livermore, CA 94551‐3266                                                                              First Class Mail
Chartered Organization         Rotary Club Of Long Meadows                              Mason Dixon Council 221                 P.O. Box 2121                                              Hagerstown, MD 21742‐2121                                                                             First Class Mail
Chartered Organization         Rotary Club Of Los Alamitos / Seal Beach                 Orange County Council 039               P.O. Box 83                                                Los Alamitos, CA 90720‐0083                                                                           First Class Mail
Chartered Organization         Rotary Club Of Los Altos                                 Pacific Skyline Council 031             P.O. Box 794                                               Los Altos, CA 94023‐0794                                                                              First Class Mail
Chartered Organization         Rotary Club Of Los Altos Sunset                          Pacific Skyline Council 031             P.O. Box 465                                               Los Altos, CA 94023‐0465                                                                              First Class Mail
Chartered Organization         Rotary Club Of Los Gatos                                 Silicon Valley Monterey Bay 055         P.O. Box 1018                                              Los Gatos, CA 95031‐1018                                                                              First Class Mail
Chartered Organization         Rotary Club Of Los Lunas                                 Great Swest Council 412                 P.O. Box 300                                               Peralta, NM 87042‐0300                                                                                First Class Mail
Chartered Organization         Rotary Club Of Lynden ‐ Mt Baker                         Mount Baker Council, Bsa 606            P.O. Box 52                                                Lynden, WA 98264‐0052                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Lynnwood                                  Mount Baker Council, Bsa 606            P.O. Box 5856                                              Lynnwood, WA 98046‐5856                                                                               First Class Mail
Chartered Organization         Rotary Club Of Manhattan Beach                           Greater Los Angeles Area 033            P.O. Box 691                                               Manhattan Beach, CA 90267‐0691                                                                        First Class Mail
Chartered Organization         Rotary Club Of Mascoutah                                 Greater St Louis Area Council 312       1248 W Main St                                             Mascoutah, IL 62258‐1060                                                                              First Class Mail
Chartered Organization         Rotary Club Of Mcminnville                               Middle Tennessee Council 560            P.O. Box 7001                                              Mc Minnville, TN 37111‐7001                                                                           First Class Mail
Chartered Organization         Rotary Club Of Melville                                  Suffolk County Council Inc 404          P.O. Box 731                                               Melville, NY 11747‐0731                                                                               First Class Mail
Chartered Organization         Rotary Club Of Mercer Island                             Chief Seattle Council 609               P.O. Box 1                                                 Mercer Island, WA 98040‐0001                                                                          First Class Mail
Chartered Organization         Rotary Club Of Middleport                                Iroquois Trail Council 376              P.O. Box 188                                               Middleport, NY 14105‐0188                                                                             First Class Mail
Chartered Organization         Rotary Club Of Mill Valley                               Marin Council 035                       P.O. Box 506                                               Mill Valley, CA 94942‐0506                                                                            First Class Mail
Chartered Organization         Rotary Club Of Mill Valley                               Marin Council 035                       P.O. Box 547                                               Mill Valley, CA 94942‐0547                                                                            First Class Mail
Chartered Organization         Rotary Club Of Millen                                    Georgia‐Carolina 093                    P.O. Box 1112                                              Millen, GA 30442‐1112                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Milwaukee‐North Shore                     Three Harbors Council 636               8377 N Port Washington Rd                                  Milwaukee, WI 53217‐2653                                                                              First Class Mail
Chartered Organization         Rotary Club Of Mobridge                                  Sioux Council 733                       519 W Grand Xing                                           Mobridge, SD 57601‐2428                                                                               First Class Mail
Chartered Organization         Rotary Club Of Molalla                                   Cascade Pacific Council 492             P.O. Box 313                                               Molalla, OR 97038‐0313                                                                                First Class Mail
Chartered Organization         Rotary Club Of Montgomery Village                        National Capital Area Council 082       P.O. Box 2920                                              Montgomery Village, MD 20886‐2920                                                                     First Class Mail
Chartered Organization         Rotary Club Of Moorhead Mn                               Northern Lights Council 429             P.O. Box 72                                                Moorhead, MN 56561‐0072                                                                               First Class Mail
Chartered Organization         Rotary Club Of Moreno Valley                             California Inland Empire Council 045    P.O. Box 297                                               Moreno Valley, CA 92556‐0297                                                                          First Class Mail
Chartered Organization         Rotary Club Of Morrill                                   Longs Peak Council 062                  523 2nd St                                                 Morrill, NE 69358‐4535                                                                                First Class Mail
Chartered Organization         Rotary Club Of Mount Laurel                              c/o Mr. Jarry Jones                     4515 Church Rd                                             Mount Laurel, NJ 08054‐2219                                                                           First Class Mail
Chartered Organization         Rotary Club Of Mountain‐Foothills                        Denver Area Council 061                 P.O. Box 1918                                              Evergreen, CO 80437‐1918                                                                              First Class Mail
Chartered Organization         Rotary Club Of Mt Laurel                                 Garden State Council 690                Hilton Inn                                                 Mount Laurel, NJ 08054                                                                                First Class Mail
Chartered Organization         Rotary Club Of Newberg Noon                              Cascade Pacific Council 492             P.O. Box 30                                                Newberg, OR 97132‐0030                                                                                First Class Mail
Chartered Organization         Rotary Club Of Newberry                                  Blue Ridge Council 551                  P.O. Box 422                                               Newberry, SC 29108‐0422                                                                               First Class Mail
Chartered Organization         Rotary Club Of Newton                                    Greater St Louis Area Council 312       603 W Marion St                                            Newton, IL 62448‐1069                                                                                 First Class Mail
Chartered Organization         Rotary Club Of North Branch                              Northern Star Council 250               P.O. Box 123                                               North Branch, MN 55056‐0123                                                                           First Class Mail
Chartered Organization         Rotary Club Of North Chicago                             Northeast Illinois 129                  P.O. Box 315                                               North Chicago, IL 60064‐0315                                                                          First Class Mail
Chartered Organization         Rotary Club Of Oak Harbor                                Mount Baker Council, Bsa 606            P.O. Box 442                                               Oak Harbor, WA 98277‐0442                                                                             First Class Mail
Chartered Organization         Rotary Club Of Oconee County                             Northeast Georgia Council 101           P.O. Box 76                                                Watkinsville, GA 30677‐0002                                                                           First Class Mail
Chartered Organization         Rotary Club Of Oconomowoc                                Potawatomi Area Council 651             P.O. Box 112                                               Oconomowoc, WI 53066‐0112                                                                             First Class Mail
Chartered Organization         Rotary Club Of O'Fallon                                  Greater St Louis Area Council 312       P.O. Box 174                                               O Fallon, IL 62269‐0174                                                                               First Class Mail
Chartered Organization         Rotary Club Of Ojai                                      Ventura County Council 057              P.O. Box 511                                               Ojai, CA 93024‐0511                                                                                   First Class Mail
Chartered Organization         Rotary Club Of Ontario‐Montclair                         California Inland Empire Council 045    P.O. Box 4791                                              Ontario, CA 91761‐0842                                                                                First Class Mail
Chartered Organization         Rotary Club Of Orange                                    Stonewall Jackson Council 763           139 N Almond St                                            Orange, VA 22960‐1344                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Orange                                    Stonewall Jackson Council 763           11287 Liberty Mills Rd                                     Orange, VA 22960‐2033                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Orange/Orange Pd                          Orange County Council 039               P.O. Box 5882                                              Orange, CA 92863‐5882                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Oregon City                               Cascade Pacific Council 492             P.O. Box 1552                                              Oregon City, OR 97045‐0015                                                                            First Class Mail
Chartered Organization         Rotary Club Of Orinda                                    Mt Diablo‐Silverado Council 023         P.O. Box 44                                                Orinda, CA 94563‐0044                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Oswego Il                                 Three Fires Council 127                 P.O. Box 982                                               Oswego, IL 60543‐0982                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Pacific Grove                             Silicon Valley Monterey Bay 055         P.O. Box 51                                                Pacific Grove, CA 93950‐0051                                                                          First Class Mail
Chartered Organization         Rotary Club Of Pacific Palisades                         W.L.A.C.C. 051                          P.O. Box 114                                               Pacific Palisades, CA 90272‐0114                                                                      First Class Mail
Chartered Organization         Rotary Club Of Palacios 2000                             Sam Houston Area Council 576            P.O. Box 196                                               Palacios, TX 77465‐0196                                                                               First Class Mail
Chartered Organization         Rotary Club Of Palestine                                 Fumc of Palestine                       P.O. Box 521                                               Palestine, TX 75802‐0521                                                                              First Class Mail
Chartered Organization         Rotary Club Of Palo Alto                                 Pacific Skyline Council 031             P.O. Box 592                                               Palo Alto, CA 94302‐0592                                                                              First Class Mail
Chartered Organization         Rotary Club Of Palos Verdes Peninsula                    Greater Los Angeles Area 033            P.O. Box 296                                               Palos Verdes Estates, CA 90274‐0296                                                                   First Class Mail
Chartered Organization         Rotary Club Of Paso Robles                               Los Padres Council 053                  P.O. Box 3641                                              Paso Robles, CA 93447‐3641                                                                            First Class Mail
Chartered Organization         Rotary Club Of Petaluma                                  Redwood Empire Council 041              P.O. Box 5655                                              Petaluma, CA 94955‐5655                                                                               First Class Mail
Chartered Organization         Rotary Club Of Piedmont                                  Greater St Louis Area Council 312       P.O. Box 412                                               Piedmont, MO 63957‐0412                                                                               First Class Mail
Chartered Organization         Rotary Club Of Pittsford Ny                              Seneca Waterways 397                    P.O. Box 368                                               Pittsford, NY 14534‐0368                                                                              First Class Mail
Chartered Organization         Rotary Club Of Pleasant Hill                             Mt Diablo‐Silverado Council 023         P.O. Box 2332                                              Pleasant Hill, CA 94523‐0032                                                                          First Class Mail
Chartered Organization         Rotary Club Of Pleasanton                                San Francisco Bay Area Council 028      5260 Ridgevale Way                                         Pleasanton, CA 94566‐5425                                                                             First Class Mail
Chartered Organization         Rotary Club Of Pleasanton North                          San Francisco Bay Area Council 028      P.O. Box 1142                                              Pleasanton, CA 94566‐0114                                                                             First Class Mail
Chartered Organization         Rotary Club Of Plymouth, Inc                             Mayflower Council 251                   P.O. Box 927                                               Plymouth, MA 02362‐0927                                                                               First Class Mail
Chartered Organization         Rotary Club Of Portland Pearl                            Cascade Pacific Council 492             1006 SE Grand Ave, Ste 300                                 Portland, OR 97214‐2330                                                                               First Class Mail
Chartered Organization         Rotary Club Of Poteet                                    Alamo Area Council 583                  P.O. Box 257                                               Poteet, TX 78065‐0257                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Poway                                     San Diego Imperial Council 049          P.O. Box 184                                               Poway, CA 92074‐0184                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Red Bluff                                 Golden Empire Council 047               22500 Saron Fruit Colony Rd                                Red Bluff, CA 96080‐9607                                                                              First Class Mail
Chartered Organization         Rotary Club Of Redding                                   Golden Empire Council 047               1890 Park Marina Dr, Ste 217                               Redding, CA 96001‐0961                                                                                First Class Mail
Chartered Organization         Rotary Club Of Rhinebeck 4994                            Hudson Valley Council 374               P.O. Box 607                                               Rhinebeck, NY 12572‐0607                                                                              First Class Mail
Chartered Organization         Rotary Club Of Ridgefield                                Connecticut Yankee Council Bsa 072      170 Neds Mountain Rd                                       Ridgefield, CT 06877‐1329                                                                             First Class Mail
Chartered Organization         Rotary Club Of Rock Island                               Illowa Council 133                      P.O. Box 4514                                              Rock Island, IL 61204‐4514                                                                            First Class Mail
Chartered Organization         Rotary Club Of Rockport                                  South Texas Council 577                 P.O. Box 2094                                              Rockport, TX 78381‐2094                                                                               First Class Mail
Chartered Organization         Rotary Club Of Rockville                                 National Capital Area Council 082       P.O. Box 4100                                              Rockville, MD 20849‐4100                                                                              First Class Mail
Chartered Organization         Rotary Club Of Romeo                                     Great Lakes Fsc 272                     P.O. Box 571                                               Romeo, MI 48065‐0571                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Roosevelt                                 Utah National Parks 591                 565 Areva Rd                                               Roosevelt, UT 84066‐2219                                                                              First Class Mail
Chartered Organization         Rotary Club Of Roselle‐Roselle Park                      Patriots Path Council 358               P.O. Box 6                                                 Roselle Park, NJ 07204‐0006                                                                           First Class Mail
Chartered Organization         Rotary Club Of Roseville                                 Golden Empire Council 047               P.O. Box 57                                                Roseville, CA 95678‐0057                                                                              First Class Mail
Chartered Organization         Rotary Club Of Saint Cloud                               Central Florida Council 083             P.O. Box 702483                                            Saint Cloud, FL 34770‐2483                                                                            First Class Mail
Chartered Organization         Rotary Club Of Saint Helena                              Mt Diablo‐Silverado Council 023         1150 Valley View St                                        Saint Helena, CA 94574‐2346                                                                           First Class Mail
Chartered Organization         Rotary Club Of Salisbury                                 Del Mar Va 081                          P.O. Box 735                                               Salisbury, MD 21803‐0735                                                                              First Class Mail
Chartered Organization         Rotary Club Of San Clemente                              Orange County Council 039               P.O. Box 4                                                 San Clemente, CA 92674‐0004                                                                           First Class Mail
Chartered Organization         Rotary Club Of San Jose                                  Silicon Valley Monterey Bay 055         1690 Senter Rd                                             San Jose, CA 95112‐2599                                                                               First Class Mail
Chartered Organization         Rotary Club Of San Marino                                Greater Los Angeles Area 033            P.O. Box 80301                                             San Marino, CA 91118‐8301                                                                             First Class Mail
Voting Party                   Rotary Club Of San Mateo                                 Attn: Joseph A Villanueva               P.O. Box 95                                                San Mateo, CA 94401                                                    winkssusan@gmail.com           Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Santa Clara                               Silicon Valley Monterey Bay 055         P.O. Box 111                                               Santa Clara, CA 95052‐0111                                                                            First Class Mail
Chartered Organization         Rotary Club Of Santa Rosa West                           Redwood Empire Council 041              P.O. Box 6792                                              Santa Rosa, CA 95406‐0792                                                                             First Class Mail
Chartered Organization         Rotary Club Of Saratoga                                  Silicon Valley Monterey Bay 055         P.O. Box 96                                                Saratoga, CA 95071‐0096                                                                               First Class Mail
Chartered Organization         Rotary Club Of Sayville                                  Suffolk County Council Inc 404          107 Manton St                                              Sayville, NY 11782‐1332                                                                               First Class Mail
Chartered Organization         Rotary Club Of Scotts Valley                             Silicon Valley Monterey Bay 055         P.O. Box 66781                                             Scotts Valley, CA 95067‐6781                                                                          First Class Mail
Chartered Organization         Rotary Club Of Seattle Northeast                         Chief Seattle Council 609               P.O. Box 25688                                             Seattle, WA 98165‐1188                                                                                First Class Mail
Voting Party                   Rotary Club Of Shepherd                                  P.O. Box 105                            Shepherd, MI 48883                                                                                                                jgluch72@gmail.com             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Sheridan                                  Cascade Pacific Council 492             General Delivery                                           Sheridan, OR 97378                                                                                    First Class Mail
Chartered Organization         Rotary Club Of Sherwood                                  Cascade Pacific Council 492             P.O. Box 683                                               Sherwood, OR 97140‐0683                                                                               First Class Mail
Chartered Organization         Rotary Club Of Simi Sunrise                              Ventura County Council 057              P.O. Box 11                                                Simi Valley, CA 93062‐0011                                                                            First Class Mail
Chartered Organization         Rotary Club Of Simi Sunset                               Ventura County Council 057              P.O. Box 941198                                            Simi Valley, CA 93094‐1198                                                                            First Class Mail
Chartered Organization         Rotary Club Of Simsbury And Granby                       Connecticut Rivers Council, Bsa 066     P.O. Box 251                                               Simsbury, CT 06070‐0251                                                                               First Class Mail
Chartered Organization         Rotary Club Of Skaneateles                               Longhouse Council 373                   103 E Genesee St                                           Skaneateles, NY 13152‐1352                                                                            First Class Mail
Chartered Organization         Rotary Club Of Smithtown                                 Suffolk County Council Inc 404          P.O. Box 501                                               Smithtown, NY 11787‐0501                                                                              First Class Mail
Chartered Organization         Rotary Club Of Smyrna/Clayton                            Del Mar Va 081                          272 E Mount Vernon St                                      Smyrna, DE 19977‐1554                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Somers                                    Connecticut Rivers Council, Bsa 066     P.O. Box 2                                                 Somers, CT 06071‐0002                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Sonoma Valley                             Redwood Empire Council 041              P.O. Box 910                                               Sonoma, CA 95476‐0910                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Southampton                               Suffolk County Council Inc 404          P.O. Box 1230                                              Water Mill, NY 11976‐1230                                                                             First Class Mail
Chartered Organization         Rotary Club Of Southeast San Diego                       San Diego Imperial Council 049          P.O. Box 740589                                            San Diego, CA 92174‐0589                                                                              First Class Mail
Chartered Organization         Rotary Club Of Southern Frederick Co                     National Capital Area Council 082       P.O. Box 466                                               New Market, MD 21774‐0466                                                                             First Class Mail
Chartered Organization         Rotary Club Of Southold                                  Suffolk County Council Inc 404          P.O. Box 67                                                Peconic, NY 11958‐0067                                                                                First Class Mail
Chartered Organization         Rotary Club Of Southside Corpus Christi                  South Texas Council 577                 P.O. Box 8902                                              Corpus Christi, TX 78468‐8902                                                                         First Class Mail
Chartered Organization         Rotary Club Of Sparks Centennial Sunrise                 Nevada Area Council 329                 P.O. Box 51390                                             Sparks, NV 89435‐1390                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Sparta                                    Middle Tennessee Council 560            P.O. Box 57                                                Sparta, TN 38583‐0057                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Springfield South                         Abraham Lincoln Council 144             1700 S Spring St                                           Springfield, IL 62704‐3961                                                                            First Class Mail
Chartered Organization         Rotary Club Of St George Utah                            Utah National Parks 591                 P.O. Box 1423                                              Saint George, UT 84771‐1423                                                                           First Class Mail
Chartered Organization         Rotary Club Of Stamford                                  Connecticut Yankee Council Bsa 072      P.O. Box 8026                                              Stamford, CT 06905‐8026                                                                               First Class Mail
Chartered Organization         Rotary Club Of Stony Brook                               c/o Tim Kelly                           P.O. Box 1091                                              Stony Brook, NY 11790‐0690                                                                            First Class Mail
Voting Party                   Rotary Club Of Strasburg                                 Attn: Kathleen Kanter                   P.O. Box 484                                               Strasburg, VA 22657                                                    kkanter8@gmail.com             Email
                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Strongsville                              Lake Erie Council 440                   P.O. Box 360401                                            Strongsville, OH 44136‐0007                                                                           First Class Mail
Chartered Organization         Rotary Club Of Sylva                                     Daniel Boone Council 414                P.O. Box 465                                               Sylva, NC 28779‐0465                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Tahoe ‐ Incline                           Nevada Area Council 329                 P.O. Box 4990                                              Incline Village, NV 89450‐4990                                                                        First Class Mail
Chartered Organization         Rotary Club Of Taylor                                    Great Lakes Fsc 272                     21000 N Ere Rd                                             Taylor, MI 48180                                                                                      First Class Mail
Chartered Organization         Rotary Club Of Temecula                                  California Inland Empire Council 045    P.O. Box 64                                                Temecula, CA 92593‐0064                                                                               First Class Mail
Chartered Organization         Rotary Club Of The Abingtons                             Northeastern Pennsylvania Council 501   820 Nern Blvd                                              Clarks Summit, PA 18411                                                                               First Class Mail
Chartered Organization         Rotary Club Of The Delta‐Antioch                         Mt Diablo‐Silverado Council 023         4747 Copper Hill Ct                                        Antioch, CA 94531‐7632                                                                                First Class Mail
Chartered Organization         Rotary Club Of The High Desert                           California Inland Empire Council 045    P.O. Box 376                                               Victorville, CA 92393‐0376                                                                            First Class Mail
Chartered Organization         Rotary Club Of The Pocono Mountains                      Minsi Trails Council 502                108 Ladderback Ln                                          Cresco, PA 18326‐7242                                                                                 First Class Mail
Chartered Organization         Rotary Club Of The Ronkonkomas                           Suffolk County Council Inc 404          P.O. Box 2717                                              Ronkonkoma, NY 11779‐0412                                                                             First Class Mail
Chartered Organization         Rotary Club Of Thousand Oaks                             Ventura County Council 057              P.O. Box 1225                                              Thousand Oaks, CA 91358‐0225                                                                          First Class Mail
Chartered Organization         Rotary Club Of Tigard                                    Cascade Pacific Council 492             P.O. Box 23491                                             Portland, OR 97281‐3491                                                                               First Class Mail
Chartered Organization         Rotary Club Of Tigard Breakfast                          Cascade Pacific Council 492             P.O. Box 23214                                             Portland, OR 97281‐3214                                                                               First Class Mail
Chartered Organization         Rotary Club Of Tucson Inc                                Catalina Council 011                    3900 E Timrod St, Ste 4                                    Tucson, AZ 85711‐4170                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Tucson Inc                                Catalina Council 011                    3454 E Calle Del Prado                                     Tucson, AZ 85716‐5045                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Union                                     Patriots Path Council 358               730 Morris Ave                                             Union, NJ 07083                                                                                       First Class Mail
Chartered Organization         Rotary Club Of Union Missouri                            Greater St Louis Area Council 312       P.O. Box 37                                                Union, MO 63084‐0037                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Valparaiso 3391                           Lasalle Council 165                     P.O. Box 522                                               Valparaiso, IN 46384‐0522                                                                             First Class Mail
Chartered Organization         Rotary Club Of Vandalia (Corp Pinewood)                  Miami Valley Council, Bsa 444           P.O. Box 344                                               Vandalia, OH 45377‐0344                                                                               First Class Mail
Chartered Organization         Rotary Club Of Vienna                                    National Capital Area Council 082       P.O. Box 545                                               Vienna, VA 22183‐0545                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Villa Park                                Orange County Council 039               17853 Santiago Blvd, Ste 107                               Villa Park, CA 92861‐4199                                                                             First Class Mail
Chartered Organization         Rotary Club Of Wabasha                                   c/o Bradd Busch                         1219 River Dr S                                            Wabasha, MN 55981‐1700                                                                                First Class Mail
Chartered Organization         Rotary Club Of Walnut Creek                              Mt Diablo‐Silverado Council 023         P.O. Box 4191                                              Walnut Creek, CA 94596‐0191                                                                           First Class Mail
Chartered Organization         Rotary Club Of Watsonville                               Silicon Valley Monterey Bay 055         P.O. Box 282                                               Watsonville, CA 95077‐0282                                                                            First Class Mail
Chartered Organization         Rotary Club Of Waukegan                                  Northeast Illinois 129                  P.O. Box 8728                                              Waukegan, IL 60079‐8728                                                                               First Class Mail
Chartered Organization         Rotary Club Of Weaverville                               Golden Empire Council 047               P.O. Box 1268                                              Weaverville, CA 96093‐1268                                                                            First Class Mail
Chartered Organization         Rotary Club Of Wesley Chapel                             Greater Tampa Bay Area 089              27221 State Rd 56 PMB 206                                  Wesley Chapel, FL 33544‐8832                                                                          First Class Mail
Chartered Organization         Rotary Club Of Wesley Chapel, Inc                        Greater Tampa Bay Area 089              P.O. Box 7459                                              Wesley Chapel, FL 33545‐0108                                                                          First Class Mail
Chartered Organization         Rotary Club Of West Anne Arundel County                  Baltimore Area Council 220              1121 Annapolis Rd PMB 175                                  Odenton, MD 21113‐1633                                                                                First Class Mail
Chartered Organization         Rotary Club Of West El Paso                              Yucca Council 573                       P.O. Box 13164                                             El Paso, TX 79913‐3164                                                                                First Class Mail
Chartered Organization         Rotary Club Of West Lancaster                            W.L.A.C.C. 051                          P.O. Box 1865                                              Lancaster, CA 93539‐1865                                                                              First Class Mail
Chartered Organization         Rotary Club Of West Nyack                                Hudson Valley Council 374               P.O. Box 35                                                West Nyack, NY 10994‐0035                                                                             First Class Mail
Chartered Organization         Rotary Club Of West Springfield                          National Capital Area Council 082       P.O. Box 2097                                              Springfield, VA 22152‐0097                                                                            First Class Mail
Chartered Organization         Rotary Club Of West St Louis County                      Greater St Louis Area Council 312       P.O. Box 1431                                              Ballwin, MO 63022‐1431                                                                                First Class Mail
Chartered Organization         Rotary Club Of Westerville Sunrise                       Simon Kenton Council 441                P.O. Box 1200                                              Westerville, OH 43086‐1200                                                                            First Class Mail
Chartered Organization         Rotary Club Of Westfield                                 Crossroads of America 160               1072 Pawtucket Dr                                          Westfield, IN 46074‐8176                                                                              First Class Mail
Chartered Organization         Rotary Club Of Westhampton                               Suffolk County Council Inc 404          P.O. Box 324                                               Westhampton, NY 11977‐0324                                                                            First Class Mail
Chartered Organization         Rotary Club Of Whidbey ‐ Westside                        Mount Baker Council, Bsa 606            P.O. Box 1351                                              Langley, WA 98260‐1351                                                                                First Class Mail
Chartered Organization         Rotary Club Of Wilsonville                               Cascade Pacific Council 492             P.O. Box 44                                                Aurora, OR 97002‐0044                                                                                 First Class Mail
Chartered Organization         Rotary Club Of Winnsboro                                 Indian Waters Council 553               163 Pineneedle Ln                                          Winnsboro, SC 29180‐6625                                                                              First Class Mail
Chartered Organization         Rotary Club Of Wis Rapids                                Samoset Council, Bsa 627                1920 90th St N                                             Wisconsin Rapids, WI 54494‐8629                                                                       First Class Mail
Chartered Organization         Rotary Club Of Wynne                                     Quapaw Area Council 018                 P.O. Box 9                                                 Wynne, AR 72396‐0009                                                                                  First Class Mail
Chartered Organization         Rotary Club Of Yuba City                                 Golden Empire Council 047               950 Tharp Rd, Ste 101 Bldg 100                             Yuba City, CA 95993‐8345                                                                              First Class Mail
Chartered Organization         Rotary Club Of Zephyrhills                               Greater Tampa Bay Area 089              P.O. Box 278                                               Crystal Springs, FL 33524‐0278                                                                        First Class Mail
Chartered Organization         Rotary Club Overland Park                                Heart of America Council 307            P.O. Box 7558                                              Overland Park, KS 66207‐0558                                                                          First Class Mail
Chartered Organization         Rotary Club Overland Park South                          Heart of America Council 307            P.O. Box 27075                                             Overland Park, KS 66225‐7075                                                                          First Class Mail
Chartered Organization         Rotary Club Purcellville                                 National Capital Area Council 082       P.O. Box 1311                                              Purcellville, VA 20134‐1311                                                                           First Class Mail
Chartered Organization         Rotary Club San Diego North                              San Diego Imperial Council 049          11630 Carmel Mountain Rd                                   San Diego, CA 92128‐4621                                                                              First Class Mail
Chartered Organization         Rotary Club Schaumburg‐Hoffman Estates                   Pathway To Adventure 456                955 Knightsbridge Ln                                       Hoffman Estates, IL 60195‐2943                                                                        First Class Mail
Chartered Organization         Rotary Club Shawnee Mission                              Heart of America Council 307            P.O. Box 1009                                              Mission, KS 66222‐0009                                                                                First Class Mail
Chartered Organization         Rotary Club Weatherford                                  Last Frontier Council 480               P.O. Box 93                                                Weatherford, OK 73096‐0093                                                                            First Class Mail
Chartered Organization         Rotary Club Weston                                       Heart of America Council 307            P.O. Box 8                                                 Weston, MO 64098‐0008                                                                                 First Class Mail
Chartered Organization         Rotary Club/Kiwanis Of Cheboygan                         President Gerald R Ford 781             P.O. Box 630                                               Cheboygan, MI 49721‐0630                                                                              First Class Mail
Chartered Organization         Rotary Club‐Green Lake                                   c/o Orlo Bierman                        Bay‐Lakes Council 635                                      W760 Pond Ln                          Green Lake, WI 54941                                            First Class Mail
Chartered Organization         Rotary Foundation Of Battle Ground                       Cascade Pacific Council 492             P.O. Box 131                                               Battle Ground, WA 98604‐0131                                                                          First Class Mail
Chartered Organization         Rotary International                                     Northern Lights Council 429             P.O. Box 519                                               Valley City, ND 58072‐0519                                                                            First Class Mail
Chartered Organization         Rotary International ‐ Big Sandy                         Montana Council 315                     P.O. Box 224                                               Big Sandy, MT 59520‐0224                                                                              First Class Mail
Chartered Organization         Rotary International Mount Shasta                        Crater Lake Council 491                 P.O. Box 158                                               Mount Shasta, CA 96067‐0158                                                                           First Class Mail
Chartered Organization         Rotary Novi Utd Methodist Ch Mens Club                   Great Lakes Fsc 272                     41671 W 10 Mile Rd                                         Novi, MI 48375‐3302                                                                                   First Class Mail
Chartered Organization         Rotary Of Canton                                         Buckeye Council 436                     203 Cleveland Ave NW                                       Canton, OH 44702‐1720                                                                                 First Class Mail
Chartered Organization         Rotary Of Southern Ulster                                Rip Van Winkle Council 405              P.O. Box 839                                               Plattekill, NY 12568‐0839                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                        Page 321 of 442
                                                                                  Case 20-10343-LSS                                              Doc 8171                                            Filed 01/06/22                                                         Page 337 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                         Service List
                                                                                                                                                                                  Served as set forth below

        Description                                                       Name                                                                                                        Address                                                                                                                  Email              Method of Service
Chartered Organization         Rotary Scout Reservation                                  Twin Rivers Council 364                           279 Davitt Lake Rd                                               Averill Park, NY 12018‐5321                                                                                First Class Mail
Chartered Organization         Rotary‐Lions Scout Committee                              Quivira Council, Bsa 198                          P.O. Box 232                                                     Ellinwood, KS 67526‐0232                                                                                   First Class Mail
Firm                           Rothenberg, Rubenstein, Berliner & Shinrod, LLC           Tracey S. Bauer, Esq.                             12 Leigh Street                                                  Clinton, NJ 08809                                                         tbauer@rrbslawnj.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           Rothstein Donatelli LLP                                   Paul M Linnenburger/Carolyn M. Nichols/Caroline   500 4th Street NW, Ste 400                                       Albuquerque, NM 87102                                                     plinnenburger@rothsteinlaw.com   Email
                                                                                         Manierre/Megan E. Dorsey                                                                                                                                                                                                      First Class Mail
Chartered Organization         Rotterdam Elks 2157                                       Twin Rivers Council 364                           1152 Curry Rd                                                    Rotterdam, NY 12306‐3706                                                                                   First Class Mail
Voting Party                   Rotterdam United Methodist Church                         Attn: Garrett Spawn                               460 Duglin Ave                                                   Schenectady, NY 12303                                                     garrettspawn@gmail.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Rotterdam Utd Methodist Church                            Twin Rivers Council 364                           1915 Helderberg Ave                                              Schenectady, NY 12306‐4211                                                                                 First Class Mail
Chartered Organization         Round Grove Utd Church                                    Longhorn Council 662                              249 E Round Grove Rd                                             Lewisville, TX 75067‐8304                                                                                  First Class Mail
Chartered Organization         Round Hill Community Church                               Greenwich 067                                     395 Round Hill Rd                                                Greenwich, CT 06831‐2617                                                                                   First Class Mail
Voting Party                   Round Hill Umc                                            c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Round Hill Utd Methodist Church                           National Capital Area Council 082                 P.O. Box 51                                                      Round Hill, VA 20142‐0051                                                                                  First Class Mail
Chartered Organization         Round Hill Utd Methodist Church                           National Capital Area Council 082                 P.O. Box 51                                                      Round Hill, VA 20142‐0051                                                                                  First Class Mail
Chartered Organization         Round Lake Fire Dept                                      Twin Rivers Council 364                           13 Curry Ave                                                     Round Lake, NY 12151‐7729                                                                                  First Class Mail
Chartered Organization         Round Lake Senior High School                             Northeast Illinois 129                            800 High School Dr                                               Round Lake, IL 60073‐2951                                                                                  First Class Mail
Chartered Organization         Round Rock Fire Dept                                      Capitol Area Council 564                          203 Commerce Blvd                                                Round Rock, TX 78664‐2115                                                                                  First Class Mail
Chartered Organization         Round Rock Gifted & Adv Academies Pta                     Capitol Area Council 564                          1311 Round Rock Ave                                              Round Rock, TX 78681‐4941                                                                                  First Class Mail
Chartered Organization         Round Rock Isd                                            Capitol Area Council 564                          2920 Round Rock Ranch Blvd                                       Round Rock, TX 78665‐7820                                                                                  First Class Mail
Chartered Organization         Round Rock Kiwanis Club                                   Capitol Area Council 564                          P.O. Box 1203                                                    Round Rock, TX 78680‐1203                                                                                  First Class Mail
Chartered Organization         Round Rock Police Dept                                    Capitol Area Council 564                          2701 N Mays St                                                   Round Rock, TX 78665‐2412                                                                                  First Class Mail
Chartered Organization         Round Rock Presbyterian Church (Pcusa)                    Capitol Area Council 564                          4010 Sam Bass Rd                                                 Round Rock, TX 78681‐1569                                                                                  First Class Mail
Chartered Organization         Round Rock Rotary Club                                    Capitol Area Council 564                          216 E Main St                                                    Round Rock, TX 78664‐5245                                                                                  First Class Mail
Chartered Organization         Roundup Sportsman'S Assoc                                 Montana Council 315                               P.O. Box 525                                                     Roundup, MT 59072‐0525                                                                                     First Class Mail
Chartered Organization         Rountree Pta                                              Ozark Trails Council 306                          1333 E Grand St                                                  Springfield, MO 65804‐0117                                                                                 First Class Mail
Chartered Organization         Routh Roach Pta                                           Circle Ten Council 571                            1811 Mayfield Ave                                                Garland, TX 75041‐5245                                                                                     First Class Mail
Chartered Organization         Rover School Pta                                          Grand Canyon Council 010                          1300 E Watson Dr                                                 Tempe, AZ 85283‐3143                                                                                       First Class Mail
Chartered Organization         Rowan County Sheriff'S Office                             Central N Carolina Council 416                    232 N Main St                                                    Salisbury, NC 28144‐4343                                                                                   First Class Mail
Voting Party                   Rowayton United Methodist Church                          Attn: Bryan Bird, Trustee Chair                   5 Pennoyer St                                                    Norwalk, CT 06853                                                         RUMCOFFICE@ROWAYTONUMC.ORG       Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Rowayton United Methodist Church                          Bryan C Bird                                      5 Albrecht Ct                                                    Norwalk, CT 06855                                                         bcbird@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Rowe United Methodist Church                              Rr 199                                            Red Hook, NY 12571                                                                                                                         nathan.badore@nyac‐umc.com       Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Rowlett Citizen Corps Council                             Circle Ten Council 571                            4701 Rowlett Rd                                                  Rowlett, TX 75088‐6920                                                                                     First Class Mail
Chartered Organization         Roxborough Baptist Church                                 Cradle of Liberty Council 525                     6035 Ridge Ave                                                   Philadelphia, PA 19128‐1646                                                                                First Class Mail
Voting Party                   Roxbury St Paul United Methodist Church (187944)          c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200              Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Roxbury St Paul'S                                         United Methodist Church                           160 Derby St                                                     Johnstown, PA 15905‐4513                                                                                   First Class Mail
Chartered Organization         Roxbury Volunteer Fire Dept                               Leatherstocking 400                               53613 State Hwy 30                                               Roxbury, NY 12474                                                                                          First Class Mail
Chartered Organization         Roy And Dora Whitman Academy                              Transatlantic Council, Bsa 802                    624 Cosgrove Ave                                                 Chapel Hill, NC 27514‐5261                                                                                 First Class Mail
Chartered Organization         Roy E Carr The American Legion Post 372                   Ozark Trails Council 306                          P.O. Box 139                                                     Lockwood, MO 65682‐0139                                                                                    First Class Mail
Voting Party                   Roy L Williams                                            Address Redacted                                                                                                                                                                             Email Address Redacted           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Royal Cavaliers Performing Arts                           Verdugo Hills Council 058                         1440 N Kenwood St                                                Burbank, CA 91505‐1855                                                                                     First Class Mail
Chartered Organization         Royal Center Umc                                          Sagamore Council 162                              P.O. Box 397                                                     Royal Center, IN 46978‐0397                                                                                First Class Mail
Voting Party                   Royal Center United Methodist Church                      P.O. Box 397                                      Royal Center, IN 46978                                                                                                                     rcumc@frontier.com               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Royal Chapel Church Of God                                Piedmont Council 420                              7190 George Hildebran Rd                                         Hickory, NC 28602‐8526                                                                                     First Class Mail
Chartered Organization         Royal Fitness Llc                                         Theodore Roosevelt Council 386                    148 Gardiners Ave                                                Levittown, NY 11756‐3707                                                                                   First Class Mail
Chartered Organization         Royal Haven Baptist Church                                Circle Ten Council 571                            3700 Valley View Ln                                              Farmers Branch, TX 75244‐4901                                                                              First Class Mail
Chartered Organization         Royal Missionary Baptist Church                           Coastal Carolina Council 550                      4761 Luella Ave                                                  North Charleston, SC 29405‐5133                                                                            First Class Mail
Voting Party                   Royal Oak Community United Methodist Church               Attn: Terry Matthews                              6968 Bellevue Rd                                                 Royal Oak, MD 21662                                                       twmatthews@atlanticbb.net        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Royal Oak Detroit Elks Lodge 34                           Great Lakes Fsc 272                               2401 E 4th St                                                    Royal Oak, MI 48067‐3927                                                                                   First Class Mail
Chartered Organization         Royal Oak Nature Society                                  c/o Royal Oak Nature Society                      1600 N Campbell Rd                                               Royal Oak, MI 48067‐1558                                                                                   First Class Mail
Chartered Organization         Royal Oak Nature Society                                  Great Lakes Fsc 272                               211 S Williams St                                                Royal Oak, MI 48067‐2619                                                                                   First Class Mail
Chartered Organization         Royal Oaks School Community Org                           Glaciers Edge Council 620                         2215 Pennsylvania Ave                                            Sun Prairie, WI 53590‐1659                                                                                 First Class Mail
Chartered Organization         Royal Palm Beach High School Student Co                   Gulf Stream Council 085                           10600 Okeechobee Blvd                                            West Palm Beach, FL 33411‐1413                                                                             First Class Mail
Chartered Organization         Royal Palm Beach Rotary                                   Gulf Stream Council 085                           11471 Sage Meadow Ter                                            Royal Palm Beach, FL 33411‐4225                                                                            First Class Mail
Chartered Organization         Royal Palm Beach Rotary Club                              Gulf Stream Council 085                           11471 Sage Meadow Ter                                            Royal Palm Beach, FL 33411‐4225                                                                            First Class Mail
Chartered Organization         Royal Palm Exceptional School                             Southwest Florida Council 088                     3050 Indian St                                                   Fort Myers, FL 33916‐2007                                                                                  First Class Mail
Chartered Organization         Royal Praise Ministries                                   Piedmont Council 420                              2055 Shelby Rd                                                   Kings Mountain, NC 28086‐8970                                                                              First Class Mail
Chartered Organization         Royal Redeemer Lutheran Church                            Dan Beard Council, Bsa 438                        7127 Dutchland Pkwy                                              Liberty Township, OH 45044‐9096                                                                            First Class Mail
Chartered Organization         Royal Redeemer Lutheran Church                            Lake Erie Council 440                             11680 Royalton Rd                                                North Royalton, OH 44133‐4461                                                                              First Class Mail
Voting Party                   Royal Redeemer Lutheran Church                            Attn: Rev Joel Morgan ‐ Sr Pastor                 5757 Mccarthy Ct                                                 West Chester, OH 45069                                                    pastorjoel@royalredeemer.org     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Royal Redeemer Lutheran Church                            John                                              7127 Dutchland Pkwy                                              Liberty Township, OH 45044                                                pastorjoel@royalredeemer.org     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Royal T Arnold                                            32 Midline Rd                                     Ballston Lake, NY 12019                                                                                                                    rylty@aol.com                    Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Royalton Lions Club                                       Central Minnesota 296                             18605 Ideal Rd                                                   Royalton, MN 56373‐3847                                                                                    First Class Mail
Chartered Organization         Roychester Community House Committee                      c/o James Alekna                                  Cradle of Liberty Council 525                                    Abington, PA 19001                                                                                         First Class Mail
Voting Party                   Royse City First United Methodist Church                  Attn: Christopher J Everson                       305 Josephine St                                                 Royse City, TX 75189                                                      info@fumcroysecity.org           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Royse City First United Methodist Church                  P.O. Box 327                                      Royse City, TX 75189                                                                                                                                                        First Class Mail
Chartered Organization         Royston 1St Utd Methodist Church                          Northeast Georgia Council 101                     137 Franklin Springs St                                          Royston, GA 30662‐4124                                                                                     First Class Mail
Voting Party                   Royston First United Methodist Church                     c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Royston First United Methodist Church                     137 Franklin Sprigs St                            Royston, GA 30662                                                                                                                                                           First Class Mail
Chartered Organization         Royston Police Dept                                       Northeast Georgia Council 101                     830 Church St                                                    Royston, GA 30662‐4428                                                                                     First Class Mail
Chartered Organization         Rsm Cares Bell Tower Foundation                           Orange County Council 039                         22232 El Paseo                                                   Rancho Santa Margarita, CA 92688‐5807                                                                      First Class Mail
Chartered Organization         Rubber City Theatre                                       Great Trail 433                                   2207 Romig Rd                                                    Akron, OH 44320‐4105                                                                                       First Class Mail
Firm                           Rubenstein and Rynecki, Esqs                              Sanford Rubenstein                                16 Court Street, Ste 1717                                        Brooklyn, NY 11241                                                        rubrynlawecf@gmail.com           Email
                                                                                                                                                                                                                                                                                      attyrubenstein@aol.com           First Class Mail
Chartered Organization         Ruby Jewel                                                Cascade Pacific Council 492                       12431 NE Marx St, Ste 10                                         Portland, OR 97230‐1055                                                                                    First Class Mail
Chartered Organization         Ruby Thomas Elementary Pto                                Las Vegas Area Council 328                        1560 Cherokee Ln                                                 Las Vegas, NV 89169‐3106                                                                                   First Class Mail
Voting Party                   Rudd United Methodist Church                              c/o Shell Rock Valley Parish                      Attn: Susan Marie Simmons                                        1301 N Carolina Pl                      Mason City, IA 50401              sue4jc1960@gmail.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Rudd United Methodist Church                              Attn: Brenda Krause                               P.O. Box 212                                                     Rudd, IA 50471                                                                                             First Class Mail
Chartered Organization         Rudolph Lions Club                                        Samoset Council, Bsa 627                          6846 Meadowview Ln                                               Rudolph, WI 54475‐9302                                                                                     First Class Mail
Chartered Organization         Rudoph Priebe American Legion Post 172                    Northern Star Council 250                         260 4th Ave Se                                                   Osseo, MN 55369‐1521                                                                                       First Class Mail
Chartered Organization         Rudyard Lions Club                                        Bay‐Lakes Council 635                             P.O. Box 173                                                     Rudyard, MI 49780‐0173                                                                                     First Class Mail
Voting Party                   Ruffin Umc                                                c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Ruffin Utd Methodist Church                               Old N State Council 070                           9640 US Hwy Business 29                                          Ruffin, NC 27326                                                                                           First Class Mail
Voting Party                   Ruffino, Richard M                                        Address Redacted                                                                                                                                                                             Email Address Redacted           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Rufino Mendoza Elementary ‐ Gfwra                         Longhorn Council 662                              1412 Denver Ave                                                  Fort Worth, TX 76164‐9011                                                                                  First Class Mail
Chartered Organization         Rufus Burleson                                            Circle Ten Council 571                            6300 Elam Rd                                                     Dallas, TX 75217‐5665                                                                                      First Class Mail
Voting Party                   Ruhamah United Methodist Church                           Marvin Kent                                       116 Ruhamah Church Rd                                            Starr, SC 29684                                                           blkhol64@hotmail.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Ruhamah United Methodist Church                           Attn: Marvin Kent                                 P.O. Box 1147                                                    Anderson, SC 29622                                                        blkhol64@hotmail.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Rumford Center Umc                                        Attn: Rev. George L. Hodgkins Jr.                 481 S Bridgton Rd                                                Bridgton, ME 04009                                                        glhodgkins@roadrunner.com        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Rumsey Station Pto                                        Mid‐America Council 326                           110 Eagle Ridge Dr                                               Papillion, NE 68133‐2378                                                                                   First Class Mail
Chartered Organization         Runnells Elementary Pta                                   Mid Iowa Council 177                              6575 SE 116th St                                                 Runnells, IA 50237‐1193                                                                                    First Class Mail
Chartered Organization         Runnemede Scouting Committee                              Garden State Council 690                          575 Sheppard Ave                                                 Runnemede, NJ 08078‐1526                                                                                   First Class Mail
Voting Party                   Runville Umc (183968)                                     c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200              Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Runyon Elementary Pto                                     Denver Area Council 061                           7455 S Elati St                                                  Littleton, CO 80120‐4106                                                                                   First Class Mail
Chartered Organization         Rupert 1St Ward ‐ Rupert Stake                            Snake River Council 111, 8th & G St               Rupert, ID 83350                                                                                                                                                            First Class Mail
Chartered Organization         Rupert 2nd Ward ‐ Rupert West Stake                       Snake River Council 111                           26 S 100 W                                                       Rupert, ID 83350                                                                                           First Class Mail
Chartered Organization         Rupert 3rd Ward ‐ Rupert West Stake                       Snake River Council 111                           526 S F St                                                       Rupert, ID 83350                                                                                           First Class Mail
Chartered Organization         Rupert 4th Ward ‐ Rupert West Stake                       Snake River Council 111                           917 I St                                                         Rupert, ID 83350‐1341                                                                                      First Class Mail
Chartered Organization         Rupert 5th Ward ‐ Rupert Stake                            Snake River Council 111                           324 E 18th St                                                    Rupert, ID 83350                                                                                           First Class Mail
Chartered Organization         Rupert 7th Ward ‐ Rupert Stake                            Snake River Council 111                           324 E 18th St                                                    Rupert, ID 83350                                                                                           First Class Mail
Voting Party                   Rupert United Methodist Church                            Attn: Tom Atkins                                  P.O. Box 186                                                     West Pawlet, VT 05775                                                     pastor@rupertumc.org             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Ruppenthal Middle School                                  Coronado Area Council 192                         400 N Elm St                                                     Russell, KS 67665‐2136                                                                                     First Class Mail
Chartered Organization         Rural Chapel Utd Methodist Church                         Simon Kenton Council 441                          5860 Cheshire Rd                                                 Galena, OH 43021‐9721                                                                                      First Class Mail
Chartered Organization         Rural Fire Protection District 1 Of                       Sequoyah County, Inc                              P.O. Box 486                                                     Gore, OK 74435‐0486                                                                                        First Class Mail
Chartered Organization         Rural Hall Fire & Rescue                                  Old Hickory Council 427                           177 Rural Hall‐Germanton Rd                                      Rural Hall, NC 27045‐9904                                                                                  First Class Mail
Chartered Organization         Rural Metro Fire                                          Great Smoky Mountain Council 557                  160 N Campbell Station Rd                                        Knoxville, TN 37934‐2701                                                                                   First Class Mail
Chartered Organization         Rural Retreat Pentecostal Holiness Ch                     Blue Ridge Mtns Council 599                       P.O. Box 598                                                     Rural Retreat, VA 24368‐0598                                                                               First Class Mail
Chartered Organization         Rural Riley Book Club                                     Water and Woods Council 782                       2901 W Pratt Rd                                                  Dewitt, MI 48820‐9177                                                                                      First Class Mail
Chartered Organization         Rural Valley Lions Club                                   Laurel Highlands Council 527                      P.O. Box 156                                                     Nu Mine, PA 16244‐0156                                                                                     First Class Mail
Voting Party                   Rural Water District 5 Rogers County Ok                   Attn: Steve Dunavant, District Manager            Rogers County Rural Water District 5                             P.O. Box 1980                           Claremore, OK 74018               steve@rcrwd5.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Ruritan ‐ Guilford Lake                                   Buckeye Council 436                               36406 Teegarden Rd                                               Salem, OH 44460‐9499                                                                                       First Class Mail
Chartered Organization         Ruritan ‐ Knox                                            Buckeye Council 436                               P.O. Box 114                                                     Homeworth, OH 44634‐0114                                                                                   First Class Mail
Chartered Organization         Ruritan ‐ Smithville                                      Buckeye Council 436                               P.O. Box 98                                                      Smithville, OH 44677‐0098                                                                                  First Class Mail
Chartered Organization         Ruritan ‐ Washington                                      Buckeye Council 436                               400 W Beech St                                                   Alliance, OH 44601‐5221                                                                                    First Class Mail
Chartered Organization         Ruritan Club                                              National Capital Area Council 082                 183 Ruritan Rd                                                   Sterling, VA 20164‐9312                                                                                    First Class Mail
Chartered Organization         Ruritan Club Rockawalkin                                  Del Mar Va 081                                    P.O. Box 765                                                     Salisbury, MD 21803‐0765                                                                                   First Class Mail
Chartered Organization         Ruritan Club Sudlersville                                 Del Mar Va 081                                    P.O. Box 129                                                     Church Hill, MD 21623‐0129                                                                                 First Class Mail
Voting Party                   Rusco Plumbing & Heating Inc                              2788 S Echo Trl                                   Ely, MN 55731‐8159                                                                                                                                                          First Class Mail
Chartered Organization         Rush City Lions Club                                      Northern Star Council 250                         480 W 5th St                                                     Rush City, MN 55069                                                                                        First Class Mail
Chartered Organization         Rush City Snobugs                                         Northern Star Council 250                         50574 Shorewood Cir                                              Rush City, MN 55069‐2755                                                                                   First Class Mail
Chartered Organization         Rush Creek Christian Church                               Longhorn Council 662                              2401 SW Green Oaks Blvd                                          Arlington, TX 76017‐3709                                                                                   First Class Mail
Chartered Organization         Rush Creek Yacht Club                                     Circle Ten Council 571                            320 Rush Creek Dr                                                Heath, TX 75032‐8849                                                                                       First Class Mail
Chartered Organization         Rush Fire Dept Inc                                        Seneca Waterways 397                              1971 Rush Mendon Rd                                              Rush, NY 14543‐9705                                                                                        First Class Mail
Chartered Organization         Rush Henrietta Rotary Club                                Seneca Waterways 397                              P.O. Box 197                                                     Henrietta, NY 14467‐0197                                                                                   First Class Mail
Voting Party                   Rush Springs Umc                                          Attn: Chris Stinnett                              209 N 5th St                                                     Rush Springs, OK 73082                                                    PSALM_115_1@YAHOO.COM            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Rush Springs United Methodist Church                      Attn: Treasurer                                   P.O. Box 578                                                     Rush Springs, OK 73082                                                    psalm_115_1@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Rush United Methodist Church                              Attn: Treasurer, Rush United Methodist Church     6200 Rush Lima Rd                                                Rush, NY 14543                                                            rushumc@rochester.rr.com         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Rush Volunteer Fire Dept Co Inc                           Seneca Waterways 397                              1971 Rush Mendon Rd                                              Rush, NY 14543‐9705                                                                                        First Class Mail
Voting Party                   Rushford United Methodist Church                          Attn: Craig Buelow, 2nd Chapel St                 Belfast, NY 14711                                                                                                                          office@nacumc.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Rushsylvania Church Of Christ                             Tecumseh 439                                      170 Mill St E                                                    Rushsylvania, OH 43347                                                                                     First Class Mail
Chartered Organization         Rushville Christian Church                                Pony Express Council 311, 3rd St                  Rushville, MO 64484                                                                                                                                                         First Class Mail
Voting Party                   Rushville United Methodist Church                         Attn: Alan Lewis Williams                         P.O. Box 13                                                      Rushville, NY 14544                                                       Awilli4811@frontiernet.net       Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Rusk First United Methodist                               Attn: Treasurer                                   P.O. Box 99                                                      Rusk, TX 75785                                                            pastorruskfumc@hotmail.com       Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Ruskin United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP             Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Russell City Fire Departement                             Coronado Area Council 192                         815 N Maple St                                                   Russell, KS 67665‐1936                                                                                     First Class Mail
Voting Party                   Russell Hill (80012)                                      c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200              Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Russell Kiwanis                                           Coronado Area Council 192                         P.O. Box 5                                                       Russell, KS 67665‐0005                                                                                     First Class Mail
Chartered Organization         Russell Kiwanis                                           Coronado Area Council 192                         861 S Windsor St                                                 Russell, KS 67665‐8700                                                                                     First Class Mail
Voting Party                   Russell Memorial United Methodist Church                  Attn: David Cartwright                            201 S 4th St                                                     Wills Point, TX 75169‐2634                                                office@rmumc.net                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Russell Prater Volunteer Fire Dept                        Sequoyah Council 713                              1036 Airport Rd                                                  Vansant, VA 24656‐8564                                                                                     First Class Mail
Chartered Organization         Russell School Pto                                        Greater St Louis Area Council 312                 7350 Howdershell Rd                                              Hazelwood, MO 63042‐1306                                                                                   First Class Mail
Chartered Organization         Russell Street Baptist Church                             Great Lakes Fsc 272                               8700 Chrysler Dr                                                 Detroit, MI 48211‐1249                                                                                     First Class Mail
Voting Party                   Russell United Methodist Church                           Attn: Wheeler D Maynard Jr                        472 Dana Hill Rd                                                 Russell, NY 13684                                                         wmaynard@tds.net                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Russell United Methodist Church                           Attn: Maura C Mcguire, Esq                        1080 Pittsford Victor Rd, Ste 200                                Pittsford, NY 14534                                                       mmcguire@morgdevo.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Russell United Methodist Church (88564)                   c/o Bentz Law Firm                                Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200              Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Russell Utd Methodist Church                              Chief Cornplanter Council, Bsa 538                17 N Main St                                                     Russell, PA 16345                                                                                          First Class Mail
Chartered Organization         Russell Volunteer Fire Dept                               Chief Cornplanter Council, Bsa 538                Perrigo Lane                                                     Russell, PA 16345                                                                                          First Class Mail
Voting Party                   Russell's Sundries                                        P.O. Box 447                                      Cimarron, NM 87714‐0447                                                                                                                                                     First Class Mail
Chartered Organization         Russellville Lions Club                                   Great Rivers Council 653                          P.O. Box 374                                                     Russellville, MO 65074‐0374                                                                                First Class Mail
Voting Party                   Russellville United Methodist Church                      Attn: Tom Rush                                    3080 Chucky River Rd                                             Morristown, TN 37813                                                      rush_thomas@comcast.net          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Russellville Ward Lds Church                              Greater Alabama Council 001                       151 Carney Ln                                                    Russellville, AL 35653‐5811                                                                                First Class Mail
Chartered Organization         Russiaville Lions Club                                    Sagamore Council 162                              555 N Liberty St                                                 Russiaville, IN 46979                                                                                      First Class Mail
Voting Party                   Russiaville United Methodist Church                       Attn: Cynthia Anne Girton Kumeh                   180 N Union St                                                   P.O. Box 370                            Russiaville, IN 46979             rumc180@sbcglobal.net            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Rutgers Presbyterian Church                               Greater New York Councils, Bsa 640                236 W 73rd St                                                    New York, NY 10023‐2701                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 322 of 442
                                                                                    Case 20-10343-LSS                                                    Doc 8171                                                   Filed 01/06/22                                                      Page 338 of 457
                                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                                        Service List
                                                                                                                                                                                                 Served as set forth below

        Description                                                    Name                                                                                                                          Address                                                                                                             Email                 Method of Service
Voting Party                   Ruth Ensor Memorial United Methodist Church                 Ruth Ensor Memorial Umc, Treasurer                       306 Bridgeway Ave                                                      Old Hickory, TN 37138                                                  kay.hereford.voorhees@tnumc.com   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Ruth Fernandez                                              Greater New York Councils, Bsa 640                       760 Toy St                                                             Bronx, NY 10455                                                                                          First Class Mail
Chartered Organization         Ruth Hill Pta                                               Cornhusker Council 324                                   5431 Danbury Rd                                                        Lincoln, NE 68512‐1528                                                                                   First Class Mail
Chartered Organization         Rutherford County Sheriffs Office                           Piedmont Council 420                                     198 N Washington St                                                    Rutherfordton, NC 28139‐2404                                                                             First Class Mail
Chartered Organization         Rutherford Memorial Methodist Church                        Great Smoky Mountain Council 557                         7815 Corryton Rd                                                       Corryton, TN 37721‐2623                                                                                  First Class Mail
Chartered Organization         Rutherfordton Fire And Rescue                               Piedmont Council 420                                     144 N Mitchell St                                                      Rutherfordton, NC 28139‐2337                                                                             First Class Mail
Chartered Organization         Ruthsburg Community Club                                    Del Mar Va 081                                           105 Damsontown Rd                                                      Queen Anne, MD 21657‐1869                                                                                First Class Mail
Chartered Organization         Rutland ‐ Congregational Church                             Heart of New England Council 230                         264 Main St                                                            Rutland, MA 01543                                                                                        First Class Mail
Chartered Organization         Rutland ‐ Fire Brigade                                      Heart of New England Council 230                         286 Main St                                                            Rutland, MA 01543                                                                                        First Class Mail
Chartered Organization         Rutland ‐ Friends Of Treasure Valley                        Heart of New England Council 230                         19 Harvard St                                                          Worcester, MA 01609‐2835                                                                                 First Class Mail
Chartered Organization         Rutland ‐ St Patrick Parish                                 Heart of New England Council 230                         258 Main St                                                            Rutland, MA 01543                                                                                        First Class Mail
Chartered Organization         Rutland Lions Club                                          Central Georgia Council 096                              5987 Houston Rd                                                        Macon, GA 31216                                                                                          First Class Mail
Chartered Organization         Rutland Middle School JLC                                   Central Georgia Council 096                              6260 Skipper Rd                                                        Macon, GA 31216‐6104                                                                                     First Class Mail
Voting Party                   Rutland United Methodist Church                             Attn: Treasurer, Rutland Umc                             60 Strongs Ave                                                         Rutland, VT 05701                                                      rutlandumc@aol.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Rutledge Middle School                                      Greater Alabama Council 001                              1221 8th St                                                            Midfield, AL 35228‐3155                                                                                  First Class Mail
Chartered Organization         Rw Vaught Technical Services                                Westark Area Council 016                                 3681 Marion County 5036                                                Yellville, AR 72687‐7761                                                                                 First Class Mail
Chartered Organization         Rwj Barnaba Health Jersey City Med Ctr                      Northern New Jersey Council, Bsa 333                     355 Grand St                                                           Jersey City, NJ 07302‐4321                                                                               First Class Mail
Voting Party                   Rwjumc Pottersville Umc                                     Attn: Arnold Stevens                                     17 the Ln                                                              Wevertown, NY 12886                                                    ajkc2fli@frontiernet.net          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Ryan House                                                  Grand Canyon Council 010                                 110 W Muhammad Ali Way                                                 Phoenix, AZ 85013‐4500                                                                                   First Class Mail
Chartered Organization         Ryan Road School Pto                                        Western Massachusetts Council 234                        498 Ryan Rd                                                            Florence, MA 01062‐3469                                                                                  First Class Mail
Voting Party                   Ryan Robinson O/B/O C.R, A Minor Child                      c/o James Vernon & Weeks Pa                              Attn: Craig K Vernon and R Charles Beckett                             1626 Lincoln Way                   Coeur D Alene, ID 83814             ryan.robinson@wvc‐ut.gov          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Ryan Trefny                                                 Address Redacted                                                                                                                                                                                                                         First Class Mail
Voting Party                   Ryde Umc (176256)                                           c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                                 680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Ryder Transportation Services                               P.O. Box 402366                                          Atlanta, GA 30384‐2366                                                                                                                                                          First Class Mail
Chartered Organization         Rye Congregational Church                                   Daniel Webster Council, Bsa 330                          P.O. Box 862                                                           Rye, NH 03870‐0862                                                                                       First Class Mail
Chartered Organization         Rye Presbyterian Church                                     Westchester Putnam 388                                   882 Boston Post Rd                                                     Rye, NY 10580‐2736                                                                                       First Class Mail
Voting Party                   Ryker's Ridge Baptist Church Inc                            Attn: David H. Smith                                     2601 N Rykers Ridge Rd                                                 Madison, IN 47250                                                      josh@hlo.legal                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Ryker's Ridge Baptist Church, Inc.                          Attn: David H Smith                                      2601 N Rykers Ridge Rd                                                 Madison, IN 47250                                                      josh@hlo.legal                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Ryland Epworth United Methodist Church                      Attn: Helen S White                                      3200 S St SE                                                           Washington, DC 20020                                                   reumc7255@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Ryndon Volunteer Fire Dept                                  Nevada Area Council 329                                  507 Scott Rd                                                           Elko, NV 89801‐5285                                                                                      First Class Mail
Chartered Organization         Ryves Hall Youth Center Etling Hall                         Crossroads of America 160                                1356 Locust St                                                         Terre Haute, IN 47807‐1640                                                                               First Class Mail
Voting Party                   S & Me Inc                                                  P.O. Box 277523                                          Atlanta, GA 30384‐7523                                                                                                                                                          First Class Mail
Chartered Organization         S C Swiderski, LLC                                          Samoset Council, Bsa 627                                 401 Ranger St                                                          Mosinee, WI 54455‐1895                                                                                   First Class Mail
Chartered Organization         S Dallas Outreach Initiative                                At Charles Rice                                          6002 S Central Expwy                                                   Dallas, TX 75214                                                                                         First Class Mail
Chartered Organization         S Dallas Outreach Initiative                                At Maple Lawn Elem                                       6002 S Central Exwpy                                                   Dallas, TX 75214                                                                                         First Class Mail
Chartered Organization         S Dallas Outreach Initiative                                At Obdiah Knight                                         6002 S Central Expwy                                                   Dallas, TX 75214                                                                                         First Class Mail
Chartered Organization         S Dallas Outreach Initiative                                At I Have A Dream                                        6002 S Central Expwy                                                   Dallas, TX 75214                                                                                         First Class Mail
Chartered Organization         S Dallas Outreach Initiative                                At Cornerstone                                           6002 S Central Expy                                                    Dallas, TX 75215                                                                                         First Class Mail
Chartered Organization         S Dallas Outreach Initiative @ Rankin                       Circle Ten Council 571                                   6002 S Lcentral Expwy                                                  Dallas, TX 75214                                                                                         First Class Mail
Chartered Organization         S Eugene High Sch Ultimate Frisbee                          Oregon Trail Council 697                                 400 E 19th Ave                                                         Eugene, OR 97401‐4162                                                                                    First Class Mail
Chartered Organization         S F Council Of Japanese Christian Church                    San Francisco Bay Area Council 028                       426 33rd Ave                                                           San Francisco, CA 94121‐1606                                                                             First Class Mail
Chartered Organization         S Florida Engineering & Consulting LLC                      Gulf Stream Council 085                                  30 S M St                                                              Lake Worth, FL 33460‐3831                                                                                First Class Mail
Chartered Organization         S Glens Falls Utd Methodist Ch                              Twin Rivers Council 364                                  15 Maplewood Pkwy                                                      South Glens Falls, NY 12803‐5512                                                                         First Class Mail
Voting Party                   S J Neathawk Lumber Inc                                     P.O. Box 427                                             Lewisburg, WV 24901                                                                                                                                                             First Class Mail
Chartered Organization         S Minster Utd Methodist                                     Cornhusker Council 324                                   2915 S 16th St                                                         Lincoln, NE 68502‐4603                                                                                   First Class Mail
Chartered Organization         S Parkersburg Utd Methodist Ch                              Buckskin 617                                             1813 Rayon Dr                                                          Parkersburg, WV 26101‐6930                                                                               First Class Mail
Chartered Organization         S Poplar Bluff General Baptist Ch                           Greater St Louis Area Council 312                        817 Arthur St                                                          Poplar Bluff, MO 63901‐6509                                                                              First Class Mail
Chartered Organization         S S Conner Elementary                                       Circle Ten Council 571                                   3037 Green Meadow Dr                                                   Dallas, TX 75228‐5124                                                                                    First Class Mail
Chartered Organization         S Weir Mitchell Elementary School                           Cradle of Liberty Council 525                            5500 Kingsessing Ave                                                   Philadelphia, PA 19143‐5329                                                                              First Class Mail
Chartered Organization         S Y Lee Assoc                                               W.L.A.C.C. 051                                           215 S Jackson St                                                       Glendale, CA 91205                                                                                       First Class Mail
Chartered Organization         S Y Lee Assoc                                               Verdugo Hills Council 058                                216 S Jackson St                                                       Glendale, CA 91205‐1177                                                                                  First Class Mail
Chartered Organization         S Y Lee Assoc                                               W.L.A.C.C. 051                                           10946 Belmar Ave                                                       Porter Ranch, CA 91326‐2205                                                                              First Class Mail
Chartered Organization         Sa West Rotary Club                                         Alamo Area Council 583                                   9603 Mico St                                                           San Antonio, TX 78251‐4938                                                                               First Class Mail
Chartered Organization         Sabal Elementary Afterscool Program                         Central Florida Council 083                              1401 N Wickham Rd                                                      Melbourne, FL 32935‐8102                                                                                 First Class Mail
Chartered Organization         Sabattis High Adventure Scout Camp                          Patriots Path Council 358                                1745 Sabattis Rd                                                       Long Lake, NY 12847‐2803                                                                                 First Class Mail
Chartered Organization         Sabattis Scout Reservation                                  Longhouse Council 373                                    1 Sabattis Cir Rd                                                      Long Lake, NY 12847                                                                                      First Class Mail
Chartered Organization         Sabes Jewish Community Center Of Mpls                       Northern Star Council 250                                4330 Cedar Lake Rd S                                                   Minneapolis, MN 55416‐3700                                                                               First Class Mail
Chartered Organization         Sabetha Kiwanis                                             Jayhawk Area Council 197                                 P.O. Box 125                                                           Sabetha, KS 66534‐0125                                                                                   First Class Mail
Chartered Organization         Sabina Church Of Christ                                     Tecumseh 439                                             115 W Washington St                                                    Sabina, OH 45169‐1112                                                                                    First Class Mail
Voting Party                   Sabinal First United Methodist Church                       Attn: Treasurer, Sabinal First United Methodist Church   P.O. Box 327                                                           Sabinal, TX 78881                                                      sabinalumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sac                                                         Twin Valley Council Bsa 283                              1405 S 7th St                                                          Saint Peter, MN 56082‐1506                                                                               First Class Mail
Chartered Organization         Sac Council Of Sawgrass Bay                                 Central Florida Council 083                              16325 Superior Blvd                                                    Clermont, FL 34714‐4891                                                                                  First Class Mail
Chartered Organization         Sacandaga School Pta                                        Twin Rivers Council 364                                  300 Wren St                                                            Scotia, NY 12302‐1248                                                                                    First Class Mail
Chartered Organization         Sachem East Enl                                             Suffolk County Council Inc 404                           177 Granny Rd                                                          Farmingville, NY 11738‐2143                                                                              First Class Mail
Chartered Organization         Sachem East High School                                     Suffolk County Council Inc 404                           51 School St                                                           Lake Ronkonkoma, NY 11779‐2231                                                                           First Class Mail
Chartered Organization         Saco Fire Dept Call Div Assoc                               Pine Tree Council 218                                    271 North St                                                           Saco, ME 04072‐1809                                                                                      First Class Mail
Chartered Organization         Saco Pathfinders                                            Pine Tree Council 218                                    P.O. Box 27                                                            Saco, ME 04072‐0027                                                                                      First Class Mail
Chartered Organization         Sacramento Community Fire Co Auxiliary                      Hawk Mountain Council 528                                2206 E Main St                                                         Sacramento, PA 17968                                                                                     First Class Mail
Chartered Organization         Sacramento County Sheriff Dept                              Golden Empire Council 047                                711 G St                                                               Sacramento, CA 95814‐1212                                                                                First Class Mail
Chartered Organization         Sacramento Suburban Kiwanis Club                            Golden Empire Council 047                                P.O. Box 601715                                                        Sacramento, CA 95860‐1715                                                                                First Class Mail
Chartered Organization         Sacramento Zoological Society                               Golden Empire Council 047                                3930 W Land Park Dr                                                    Sacramento, CA 95822‐1123                                                                                First Class Mail
Chartered Organization         Sacred Heart                                                Erie Shores Council 460                                  550 Smith Rd                                                           Fremont, OH 43420‐8865                                                                                   First Class Mail
Chartered Organization         Sacred Heart                                                Mayflower Council 251                                    55 Commercial St                                                       Weymouth, MA 02188‐2604                                                                                  First Class Mail
Voting Party                   Sacred Heart (Bangor)                                       Attn: Reta Churchill                                     201 S Walnut St                                                        Bangor, MI 49013                                                       reta.churchill@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sacred Heart Cathedral                                      Seneca Waterways 397                                     296 Flower City Park                                                   Rochester, NY 14615‐3613                                                                                 First Class Mail
Voting Party                   Sacred Heart Cathedral                                      c/o Woods Oviatt Gilman LLP                              Attn: Timothy P Lyster, Esq                                            1900 Bausch & Lomb Pl              Rochester, NY 14604                 tlyster@woodsoviatt.com           Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Capitol Area Council 564                                 5909 Reicher Dr                                                        Austin, TX 78723‐3728                                                                                    First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Buckskin 617                                             1114 Virginia St E                                                     Charleston, WV 25301‐2407                                                                                First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Quivira Council, Bsa 198                                 P.O. Box 578                                                           Colwich, KS 67030‐0578                                                                                   First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Blue Grass Council 204                                   P.O. Box 455                                                           Corbin, KY 40702‐0455                                                                                    First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Greater Los Angeles Area 033                             344 W Workman St                                                       Covina, CA 91723‐3345                                                                                    First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Rio Grande Council 775                                   501 E Kuhn St                                                          Edinburg, TX 78541                                                                                       First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Jayhawk Area Council 197                                 27 Cottonwood St                                                       Emporia, KS 66801‐3845                                                                                   First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Dan Beard Council, Bsa 438                               400 Nilles Rd                                                          Fairfield, OH 45014‐2604                                                                                 First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                North Florida Council 087                                7190 US 17                                                             Fleming Island, FL 32003                                                                                 First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Ozark Trails Council 306                                 100 S Cherokee St                                                      Frontenac, KS 66763‐2414                                                                                 First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Cradle of Liberty Council 525                            105 Wilson Ave                                                         Havertown, PA 19083‐3424                                                                                 First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                North Florida Council 087                                5752 Blanding Blvd                                                     Jacksonville, FL 32244‐1925                                                                              First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Lincoln Heritage Council 205                             1840 E 8th St                                                          Jeffersonville, IN 47130‐4867                                                                            First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Lasalle Council 165                                      130 Bach St                                                            La Porte, IN 46350‐2432                                                                                  First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                The Spirit of Adventure 227                              571 Boston St                                                          Lynn, MA 01905‐2160                                                                                      First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                National Capital Area Council 082                        12975 Purcell Rd                                                       Manassas, VA 20112‐3217                                                                                  First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Bay Area Council 574                                     6502 County Rd 48                                                      Manvel, TX 77578‐2908                                                                                    First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Illowa Council 133                                       1608 13th St                                                           Moline, IL 61265‐3901                                                                                    First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Golden Empire Council 047                                2355 Monroe Ave                                                        Red Bluff, CA 96080‐2150                                                                                 First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Northern Star Council 250                                4087 W Broadway Ave                                                    Robbinsdale, MN 55422‐2232                                                                               First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                The Spirit of Adventure 227                              169 Cummins Hwy                                                        Roslindale, MA 02131‐3739                                                                                First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Bucktail Council 509                                     325 Center St                                                          Saint Marys, PA 15857‐1106                                                                               First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Central N Carolina Council 416                           375 Lumen Christie Ln                                                  Salisbury, NC 28147‐6799                                                                                 First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Leatherstocking 400                                      15 Liberty St                                                          Sidney, NY 13838‐1209                                                                                    First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Caddo Area Council 584                                   4505 Elizabeth St                                                      Texarkana, TX 75503‐2903                                                                                 First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Ventura County Council 057                               10800 Henderson Rd                                                     Ventura, CA 93004‐1831                                                                                   First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Great Trail 433                                          260 Broad St                                                           Wadsworth, OH 44281‐2113                                                                                 First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Anthony Wayne Area 157                                   125 N Harrison St                                                      Warsaw, IN 46580‐3728                                                                                    First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Great Alaska Council 610                                 1201 E Bogard Rd                                                       Wasilla, AK 99654‐6523                                                                                   First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Mid Iowa Council 177                                     1627 Grand Ave                                                         West Des Moines, IA 50265‐3441                                                                           First Class Mail
Chartered Organization         Sacred Heart Catholic Church                                Northwest Texas Council 587                              1504 10th St                                                           Wichita Falls, TX 76301‐4405                                                                             First Class Mail
Voting Party                   Sacred Heart Catholic Church                                Attn: Chancellor                                         6225 E US 290 Hwy Svrd Eb                                              Austin, TX 78723                                                       ron‐walker@austindiocese.org      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Sacred Heart Catholic Church                                c/o Archdiocese of Los Angeles                           Attn: Margaret Graf, General Counsel                                   3424 Wilshire Blvd                 Los Angeles, CA 90010               legal@la‐archdiocese.org          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Sacred Heart Catholic Church                                Attn: Mark Hamlet                                        5909 Reicher Dr                                                        Austin, TX 78723                                                                                         First Class Mail
Voting Party                   Sacred Heart Catholic Church, Jeffersonville, Inc.          Attn: John S Mercer                                      1400 N Meridian St                                                     Indianapolis, IN 46202                                                 jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sacred Heart Catholic School                                Louisiana Purchase Council 213                           P.O. Box 179                                                           Moreauville, LA 71355‐0179                                                                               First Class Mail
Chartered Organization         Sacred Heart Catholic School                                Last Frontier Council 480                                2700 S Shartel Ave                                                     Oklahoma City, OK 73109‐2234                                                                             First Class Mail
Chartered Organization         Sacred Heart Catholic School                                Silicon Valley Monterey Bay 055                          123 W Market St                                                        Salinas, CA 93901‐1415                                                                                   First Class Mail
Chartered Organization         Sacred Heart Center                                         Heart of Virginia Council 602                            1400 Perry St                                                          Richmond, VA 23224‐2058                                                                                  First Class Mail
Chartered Organization         Sacred Heart Church                                         Aloha Council, Bsa 104                                   1701 Wilder Ave                                                        Honolulu, HI 96822‐4973                                                                                  First Class Mail
Chartered Organization         Sacred Heart Church                                         Mayflower Council 251                                    187 Hopedale St                                                        Hopedale, MA 01747‐1962                                                                                  First Class Mail
Chartered Organization         Sacred Heart Church                                         Garden State Council 690                                 260 High St                                                            Mount Holly, NJ 08060‐1404                                                                               First Class Mail
Chartered Organization         Sacred Heart Church                                         Mayflower Council 251                                    1321 Centre St                                                         Newton, MA 02459‐2466                                                                                    First Class Mail
Chartered Organization         Sacred Heart Church                                         Mid‐America Council 326                                  204 S 5th St                                                           Norfolk, NE 68701‐5220                                                                                   First Class Mail
Chartered Organization         Sacred Heart Church                                         Narragansett 546                                         14 Park St                                                             North Attleboro, MA 02760‐1209                                                                           First Class Mail
Chartered Organization         Sacred Heart Church                                         Laurel Highlands Council 527                             310 Shady Ave                                                          Pittsburgh, PA 15206‐4302                                                                                First Class Mail
Chartered Organization         Sacred Heart Church                                         Central Minnesota 296                                    2875 10th Ave Ne                                                       Sauk Rapids, MN 56379‐4412                                                                               First Class Mail
Chartered Organization         Sacred Heart Church                                         Ozark Trails Council 306                                 1609 N Summit Ave                                                      Springfield, MO 65803‐3161                                                                               First Class Mail
Chartered Organization         Sacred Heart Church                                         Central Georgia Council 096                              250 S Davis Dr                                                         Warner Robins, GA 31088‐4604                                                                             First Class Mail
Chartered Organization         Sacred Heart Church                                         Westchester Putnam 388                                   40 Convent Ave                                                         Yonkers, NY 10703‐2513                                                                                   First Class Mail
Voting Party                   Sacred Heart Church                                         c/o Jw/Wch                                               Attn: Westerman Ball Ederer Miller Zucker & Sharfstein                 1201 Rxr Plz                       Uniondale, NY 11556                 wheuer@westermanllp.com           Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Sacred Heart Church                                         282 Long Beach Rd                                        Island Park, NY 11558                                                                                                                         tdriscoll@moritthock.com          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sacred Heart Church Knights Of Columbus                     Muskingum Valley Council, Bsa 467                        250 S 11th St                                                          Coshocton, OH 43812‐1733                                                                                 First Class Mail
Voting Party                   Sacred Heart Church, Clinton, Inc.                          Attn: John S Mercer                                      1400 N Meridian St                                                     Indianapolis, IN 46202                                                 jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sacred Heart Co‐Cathedral                                   Buckskin 617                                             1114 Virginia St E                                                     Charleston, WV 25301‐2407                                                                                First Class Mail
Chartered Organization         Sacred Heart Guild/Sacred Heart School                      Connecticut Rivers Council, Bsa 066                      50 Sacred Heart Dr                                                     Groton, CT 06340‐4431                                                                                    First Class Mail
Chartered Organization         Sacred Heart Holy Name Society                              Sacred Heart Ch                                          P.O. Box 3805                                                          Lacey, WA 98509‐3805                                                                                     First Class Mail
Chartered Organization         Sacred Heart Model School                                   Lincoln Heritage Council 205                             3107 Lexington Rd                                                      Louisville, KY 40206‐3061                                                                                First Class Mail
Chartered Organization         Sacred Heart Of Jesus                                       Evangeline Area 212                                      200 W Main St                                                          Broussard, LA 70518‐3806                                                                                 First Class Mail
Chartered Organization         Sacred Heart Of Jesus Catholic Church                       Longs Peak Council 062                                   1316 Mapleton Ave                                                      Boulder, CO 80304                                                                                        First Class Mail
Chartered Organization         Sacred Heart Of Jesus Catholic Church                       Longs Peak Council 062                                   2312 14th St                                                           Boulder, CO 80304‐4105                                                                                   First Class Mail
Chartered Organization         Sacred Heart Of Jesus Catholic Church                       Evangeline Area 212                                      200 W Main St                                                          Broussard, LA 70518‐3806                                                                                 First Class Mail
Chartered Organization         Sacred Heart Of Jesus Catholic Church                       Crater Lake Council 491                                  517 W 10th St                                                          Medford, OR 97501‐3110                                                                                   First Class Mail
Chartered Organization         Sacred Heart Of Jesus Catholic Church                       Shenandoah Area Council 598                              130 Keating Dr                                                         Winchester, VA 22601‐2806                                                                                First Class Mail
Chartered Organization         Sacred Heart Of Jesus Catholic Church                       Shenandoah Area Council 598                              519 S Cameron St                                                       Winchester, VA 22601‐4617                                                                                First Class Mail
Voting Party                   Sacred Heart Of Jesus Catholic Church Indianapolis, Inc.    Attn: John S Mercer                                      1400 N Meridian St                                                     Indianapolis, IN 46202                                                 jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Sacred Heart Of Jesus Catholic Church, Grand Rapids         c/o Warner Norcross & Judd LLP                           Attn: Elisabeth M Von Eitzen                                           150 Ottawa Ave NW, Ste 1500        Grand Rapids, MI 49503              evoneitzen@wnj.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Sacred Heart Of Jesus Catholic Church, Terre Haute, Inc.    Attn: John S Mercer                                      1400 N Meridian St                                                     Indianapolis, IN 46202                                                 jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sacred Heart Of Jesus Church                                Mayflower Council 251                                    5 E Main St                                                            Milford, MA 01757‐2701                                                                                   First Class Mail
Chartered Organization         Sacred Heart Of Jesus Parish                                Minsi Trails Council 502                                 210 E Northampton St                                                   Bath, PA 18014‐1625                                                                                      First Class Mail
Chartered Organization         Sacred Heart Of Jesus Parish                                Daniel Webster Council, Bsa 330                          15 High St                                                             Greenville, NH 03048‐3121                                                                                First Class Mail
Chartered Organization         Sacred Heart Of Jesus Parish                                Mayflower Council 251                                    5 E Main St                                                            Milford, MA 01757‐2701                                                                                   First Class Mail
Chartered Organization         Sacred Heart Of Jesus Parish                                Evangeline Area 212                                      2514 Old Jeanerette Rd                                                 New Iberia, LA 70563‐3042                                                                                First Class Mail
Voting Party                   Sacred Heart Of Jesus Roman Catholic Congregation, Inc      Attn: Matthew W Oakey                                    218 N Charles St, Ste 400                                              Baltimore, MD 21201                                                    moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Sacred Heart Of Jesus Roman Catholic Congregation, Inc      c/o Gallagher Evelius & Jones LLP                        Attn: Matthew W Oakey                                                  218 N Charles St, Ste 400          Baltimore, MD 21201                 moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sacred Heart Of Mary Catholic Church                        Longs Peak Council 062                                   6739 S Boulder Rd                                                      Boulder, CO 80303‐4319                                                                                   First Class Mail
Chartered Organization         Sacred Heart Of Mary Catholic Church                        Buckeye Council 436                                      Nickle Plate                                                           Louisville, OH 44641                                                                                     First Class Mail
Chartered Organization         Sacred Heart Of Mary Roman Catholic                         Baltimore Area Council 220                               6736 Youngstown Ave                                                    Baltimore, MD 21222‐1025                                                                                 First Class Mail
Voting Party                   Sacred Heart Of Mary Roman Catholic Congregation Inc        Attn: Matthew W Oakey                                    218 N Charles St, Ste 400                                              Baltimore, MD 21201                                                    moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Sacred Heart Of Mary Roman Catholic Congregation Inc        c/o Gallagher Evelius & Jones LLP                        Attn: Matthew W Oakey                                                  218 N Charles St, Ste 400          Baltimore, MD 21201                 moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sacred Heart Parish                                         The Spirit of Adventure 227                              21 Follen Rd                                                           Lexington, MA 02421‐5921                                                                                 First Class Mail
Chartered Organization         Sacred Heart Parish                                         Laurel Highlands Council 527                             310 Shady Ave                                                          Pittsburgh, PA 15206‐4302                                                                                First Class Mail
Chartered Organization         Sacred Heart Parish                                         Greater St Louis Area Council 312                        100 Thompson Dr                                                        Troy, MO 63379‐2321                                                                                      First Class Mail
Chartered Organization         Sacred Heart Parish                                         Sioux Council 733                                        509 Capitol St                                                         Yankton, SD 57078‐4024                                                                                   First Class Mail
Voting Party                   Sacred Heart Parish                                         Attn: Andre L Kydala                                     54 Old Hwy 22                                                          Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         Sacred Heart Rc Ch Lyndhurst                                Northern New Jersey Council, Bsa 333                     324 Ridge Rd                                                           Lyndhurst, NJ 07071‐2210                                                                                 First Class Mail
Chartered Organization         Sacred Heart Rc Church                                      Theodore Roosevelt Council 386                           730 Merrick Ave                                                        North Merrick, NY 11566‐1640                                                                             First Class Mail
Chartered Organization         Sacred Heart Rc Church                                      Greater New York Councils, Bsa 640                       981 Castleton Ave                                                      Staten Island, NY 10310‐1806                                                                             First Class Mail
Chartered Organization         Sacred Heart Roman Catholic Church                          Iroquois Trail Council 376                               1230 Clinton St Rd                                                     Attica, NY 14011‐9715                                                                                    First Class Mail
Chartered Organization         Sacred Heart Roman Catholic Church                          Greater New York Councils, Bsa 640                       21535 38th Ave                                                         Bayside, NY 11361‐2247                                                                                   First Class Mail
Chartered Organization         Sacred Heart Roman Catholic Church                          Greater New York Councils, Bsa 640                       11558 222nd St                                                         Cambria Heights, NY 11411‐1204                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                        Page 323 of 442
                                                                                 Case 20-10343-LSS                                                           Doc 8171                                      Filed 01/06/22                                                    Page 339 of 457
                                                                                                                                                                                              Exhibit B
                                                                                                                                                                                               Service List
                                                                                                                                                                                        Served as set forth below

        Description                                                      Name                                                                                                               Address                                                                                                              Email              Method of Service
Chartered Organization         Sacred Heart Roman Catholic Church                                         Greater New York Councils, Bsa 640            8317 78th Ave                                             Glendale, NY 11385‐7657                                                                                First Class Mail
Chartered Organization         Sacred Heart Roman Catholic Church                                         Baltimore Area Council 220                    65 Sacred Heart Ln                                        Glyndon, MD 21136‐1122                                                                                 First Class Mail
Chartered Organization         Sacred Heart Roman Catholic Church                                         Theodore Roosevelt Council 386                282 Long Beach Rd                                         Island Park, NY 11558‐1510                                                                             First Class Mail
Chartered Organization         Sacred Heart Roman Catholic Church                                         Daniel Webster Council, Bsa 330               265 S Main St                                             Manchester, NH 03102‐4838                                                                              First Class Mail
Chartered Organization         Sacred Heart Roman Catholic Church                                         Narragansett 546                              53 Oak St                                                 Middleboro, MA 02346‐2085                                                                              First Class Mail
Chartered Organization         Sacred Heart Roman Catholic Church                                         Western Massachusetts Council 234             191 Elm St                                                Pittsfield, MA 01201‐6515                                                                              First Class Mail
Chartered Organization         Sacred Heart Roman Catholic Church                                         Cradle of Liberty Council 525                 838 Walnut St                                             Royersford, PA 19468‐2422                                                                              First Class Mail
Chartered Organization         Sacred Heart Roman Catholic Church                                         Monmouth Council, Bsa 347                     531 Washington Ave                                        South Amboy, NJ 08879‐1269                                                                             First Class Mail
Chartered Organization         Sacred Heart Roman Catholic Church                                         Greater New York Councils, Bsa 640            981 Castleton Ave                                         Staten Island, NY 10310‐1806                                                                           First Class Mail
Voting Party                   Sacred Heart Roman Catholic Congregation Inc                               c/o Gallagher Evelius & Jones LLP             Attn: Matthew W Oakey                                     218 N Charles St, Ste 400         Baltimore, MD 21201                moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Sacred Heart School                                                        Ore‐Ida Council 106 ‐ Bsa 106                 3901 W Cassia St                                          Boise, ID 83705‐2112                                                                                   First Class Mail
Chartered Organization         Sacred Heart School                                                        Blue Ridge Mtns Council 599                   540 Central Blvd                                          Danville, VA 24541‐2321                                                                                First Class Mail
Chartered Organization         Sacred Heart School                                                        Pathway To Adventure 456                      815 N 16th Ave                                            Melrose Park, IL 60160‐3828                                                                            First Class Mail
Chartered Organization         Sacred Heart School                                                        Chickasaw Council 558                         5150 Tchulahoma Rd                                        Southaven, MS 38671‐9726                                                                               First Class Mail
Chartered Organization         Sacred Heart School                                                        Glaciers Edge Council 620                     219 Columbus St                                           Sun Prairie, WI 53590‐2202                                                                             First Class Mail
Chartered Organization         Sacred Heart School                                                        Greater St Louis Area Council 312             17 Ann Ave                                                Valley Park, MO 63088‐1605                                                                             First Class Mail
Chartered Organization         Sacred Heart School                                                        National Capital Area Council 082             1625 Park Rd NW                                           Washington, DC 20010‐2106                                                                              First Class Mail
Chartered Organization         Sacred Heart Youth Ministry                                                Istrouma Area Council 211                     2250 Main St                                              Baton Rouge, LA 70802‐3143                                                                             First Class Mail
Chartered Organization         Sacred Heart/St George Mission Church                                      Susquehanna Council 533                       P.O. Box 47                                               Mifflinburg, PA 17844‐0047                                                                             First Class Mail
Chartered Organization         Sacred Hearts Church                                                       The Spirit of Adventure 227                   48 S Chestnut St                                          Haverhill, MA 01835‐7446                                                                               First Class Mail
Chartered Organization         Saddie River Range                                                         Sam Houston Area Council 576                  4280 Fm 1488 Rd                                           Conroe, TX 77384‐4968                                                                                  First Class Mail
Chartered Organization         Saddleback Mountain Lions Club                                             Daniel Webster Council, Bsa 330               P.O. Box 103                                              Northwood, NH 03261‐0103                                                                               First Class Mail
Chartered Organization         Saddleback Valley Community Church                                         Orange County Council 039                     1 Saddleback Pkwy                                         Lake Forest, CA 92630‐8700                                                                             First Class Mail
Chartered Organization         Sadler Baptist Church                                                      Circle Ten Council 571                        419 S Main St                                             Sadler, TX 76264                                                                                       First Class Mail
Chartered Organization         Sadler Elementary Pta                                                      Central Florida Council 083                   5301 Cypress Creek Dr                                     Orlando, FL 32811‐7605                                                                                 First Class Mail
Voting Party                   Saegertown United Methodist Church (89741)                                 c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saegertown Utd Methodist Church                                            French Creek Council 532                      620 Euclid Ave                                            Saegertown, PA 16433                                                                                   First Class Mail
Chartered Organization         Safe Harbor Presbyterian Church                                            Del Mar Va 081                                931 Love Point Rd                                         Stevensville, MD 21666‐2119                                                                            First Class Mail
Voting Party                   Safeway                                                                    P.O. Box 840210                               Dallas, TX 75284‐0210                                                                                                                                            First Class Mail
Chartered Organization         Sag Harbor Fire Dept                                                       Suffolk County Council Inc 404                1357 Brick Kiln Rd                                        Sag Harbor, NY 11963                                                                                   First Class Mail
Chartered Organization         Sag Harbor Fire District                                                   Suffolk County Council Inc 404                P.O. Box 209                                              Sag Harbor, NY 11963‐0209                                                                              First Class Mail
Voting Party                   Sag Harbor UMC                                                             Attn: Treasurer                               20 Soundview Ave                                          White Plains, NY 10606                                                                                 First Class Mail
Voting Party                   Sagamore Council                                                           Attn: Ben Blumenberg                          518 N Main St                                             P.O. Box 865                      Kokomo, IN 46901                   ben.blumenberg@scouting.org       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Sagamore Hill Elementary ‐ Gifw                                            Longhorn Council 662                          701 S Hughes Ave                                          Fort Worth, TX 76103‐3757                                                                              First Class Mail
Chartered Organization         Sagamore Hills Police Dept                                                 Lake Erie Council 440                         11551 Valley View Rd                                      Sagamore Hills, OH 44067‐1041                                                                          First Class Mail
Chartered Organization         Sagamore Yacht Club                                                        Theodore Roosevelt Council 386                Head of Bay Ave                                           Oyster Bay, NY 11771                                                                                   First Class Mail
Chartered Organization         Sage Granada Park Umc                                                      Greater Los Angeles Area 033                  1850 W Hellman Ave                                        Alhambra, CA 91803‐3801                                                                                First Class Mail
Voting Party                   Sage Granada Park United Methodist Church                                  Attn: Treasurer                               1850 W Hellman Ave                                        Alhambra, CA 91803                                                   sagegranadapark@gmail.com         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Sagebrush Scouting, Inc                                                    Grand Teton Council 107                       724 E 1000 N                                              Shelley, ID 83274‐5219                                                                                 First Class Mail
Chartered Organization         Sageville School P‐T Club                                                  Northeast Iowa Council 178                    11969 Sherrill Rd                                         Dubuque, IA 52002                                                                                      First Class Mail
Chartered Organization         Sagewood At Daybreak                                                       Great Salt Lake Council 590                   11289 S Oakmond Rd                                        South Jordan, UT 84009‐5156                                                                            First Class Mail
Voting Party                   Saginaw Ames United Methodist Church                                       801 State St                                  Saginaw, MI 48602                                                                                                              david.wichert@ameschurch.org      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saginaw Community Church (09451)                                           c/o Bentz Law Firm                            Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saginaw Field And Stream Club                                              Water and Woods Council 782                   1296 N Gleaner Rd                                         Saginaw, MI 48609‐9495                                                                                 First Class Mail
Chartered Organization         Saginaw Fire Dept                                                          Water and Woods Council 782                   801 Federal Ave                                           Saginaw, MI 48607‐1519                                                                                 First Class Mail
Chartered Organization         Saginaw Rotary Club                                                        Water and Woods Council 782                   P.O. Box 1441                                             Saginaw, MI 48605‐1441                                                                                 First Class Mail
Chartered Organization         Saginaw Township Police Dept                                               Water and Woods Council 782                   4930 Shattuck Rd                                          Saginaw, MI 48603‐2963                                                                                 First Class Mail
Voting Party                   Saginaw United Methodist Church ‐ Sagina                                   c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saginaw United Methodist Church ‐ Sagina                                   209 S Bluebonnett St                          Saginaw, TX 76179                                                                                                                                                First Class Mail
Chartered Organization         Saginaw Utd Methodist Church                                               Longhorn Council 662                          209 Blue Bonnet St                                        Saginaw, TX 76179‐1512                                                                                 First Class Mail
Chartered Organization         Sagle Elementary Pta                                                       Inland Nwest Council 611                      550 Sagle Rd                                              Sagle, ID 83860‐9209                                                                                   First Class Mail
Chartered Organization         Sagle Pta                                                                  Inland Nwest Council 611                      550 Sagle Rd                                              Sagle, ID 83860‐9209                                                                                   First Class Mail
Chartered Organization         Sagrada Familia Catholic Church                                            Puerto Rico Council 661                       P.O. Box 8478                                             Bayamon, PR 00960‐8478                                                                                 First Class Mail
Chartered Organization         Sagrado Corazon De Jesus                                                   Northern Star Council 250                     3800 Pleasant Ave                                         Minneapolis, MN 55409‐1578                                                                             First Class Mail
Chartered Organization         Saguaro Park Ward ‐ Lds Rincon Stake                                       Catalina Council 011                          1655 S Melpomene Way                                      Tucson, AZ 85748                                                                                       First Class Mail
Chartered Organization         Sahuarita Police Dept                                                      Catalina Council 011                          315 W Sahuarita Center Way                                Sahuarita, AZ 85629‐8487                                                                               First Class Mail
Chartered Organization         Sahuarita Ward ‐ Lds Sahuarita Stake                                       Catalina Council 011                          17699 S Camino Del As Quintas                             Sahuarita, AZ 85629                                                                                    First Class Mail
Chartered Organization         Saiint Anne Catholic Church                                                Las Vegas Area Council 328                    1901 S Maryland Pkwy                                      Las Vegas, NV 89104‐3109                                                                               First Class Mail
Chartered Organization         Saint Abanoub Saint Antowios Coptic Ch                                     Northern New Jersey Council, Bsa 333          1325 Kennedy Blvd                                         Bayonne, NJ 07002‐2222                                                                                 First Class Mail
Voting Party                   Saint Aidan's Episcopal Church                                             13131 Fry Rd                                  Cypress, TX 77433                                                                                                              revles@aidanschurch.org           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saint Albans Episcopal Church                                              Louisiana Purchase Council 213                2816 Deborah Dr                                           Monroe, LA 71201‐1942                                                                                  First Class Mail
Voting Party                   Saint Alban's Episcopal Church                                             Attn: Robert Paterson                         76 St Albans Pl                                           Staten Island, NY 10312                                              saintalbanssi@aol.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Alban's Episcopal Church Of Indianapolis, Incorporated               c/o Plews Shadley Racher & Braun LLP          Attn: Todd G Relue                                        1346 N Delaware St                Indianapolis, IN 46202             trelue@psrb.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Albans Episcopal Church, Cape Elizabeth                              c/o The Episcopal Diocese of Maine / Martin   P.O. Box 4036                                             Portland, ME 04101                                                   bmartin@episcopalmaine.org        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Alban's Episcopal Church, Inc                                        Attn: Priest In Charge                        7308 St Joe Rd                                            Ft Wayne, IN 46835                                                   info@saintalbanfw.org             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saint Albert The Great Parish                                              Mayflower Council 251                         1130 Washington St                                        Weymouth, MA 02189‐1932                                                                                First Class Mail
Chartered Organization         Saint Alexander Parish                                                     Three Fires Council 127                       300 S Cornell Ave                                         Villa Park, IL 60181‐2622                                                                              First Class Mail
Chartered Organization         Saint Aloysius Catholic Church                                             Erie Shores Council 460                       148 S Enterprise St                                       Bowling Green, OH 43402‐2916                                                                           First Class Mail
Chartered Organization         Saint Aloysius Church                                                      Jersey Shore Council 341                      935 Bennetts Mills Rd                                     Jackson, NJ 08527‐2224                                                                                 First Class Mail
Chartered Organization         Saint Alphonsus                                                            Mississippi Valley Council 141 141            607 S Jackson St                                          Mount Pleasant, IA 52641‐2609                                                                          First Class Mail
Chartered Organization         Saint Alphonsus Catholic Church                                            Pine Burr Area Council 304                    502 Jackson Ave                                           Ocean Springs, MS 39564‐4620                                                                           First Class Mail
Voting Party                   Saint Ambrose Episcopal Church                                             7520 S Boulder Rd                             Boulder, CO 80303                                                                                                              w9latimer@gmail.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saint Ambrose Of Woodbury                                                  Northern Star Council 250                     4125 Woodbury Dr                                          Woodbury, MN 55129‐9627                                                                                First Class Mail
Chartered Organization         Saint Ambrose Roman Catholic Church                                        Lincoln Heritage Council 205                  609 E Main St                                             Cecilia, KY 42724‐9618                                                                                 First Class Mail
Voting Party                   Saint Amelia's Roman Catholic Church Society Of The Town Of Tonawanda Ny   c/o Woods Oviatt Gilman LLP                   Attn: Timothy P Lyster, Esq                               1900 Bausch & Lomb Pl             Rochester, NY 14604                tlyster@woodsoviatt.com           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saint Anastasia Catholic School                                            Gulf Stream Council 085                       401 S 33rd St                                             Fort Pierce, FL 34947‐3536                                                                             First Class Mail
Chartered Organization         Saint Andrew By The Sea                                                    Jersey Shore Council 341                      936 Baltic Ave                                            Atlantic City, NJ 08401‐4911                                                                           First Class Mail
Chartered Organization         Saint Andrew Greek Orthodox Church                                         Patriots Path Council 358                     1447 Sussex Tpke                                          Randolph, NJ 07869‐1830                                                                                First Class Mail
Chartered Organization         Saint Andrew Lutheran Church                                               National Capital Area Council 082             14640 Soucy Pl                                            Centreville, VA 20120‐1554                                                                             First Class Mail
Chartered Organization         Saint Andrew Lutheran Church                                               Samoset Council, Bsa 627                      150202 County Rd Nn                                       Wausau, WI 54401‐2328                                                                                  First Class Mail
Chartered Organization         Saint Andrew Presbyterian                                                  Blue Ridge Mtns Council 599                   21206 Timberlake Rd                                       Lynchburg, VA 24502‐7237                                                                               First Class Mail
Chartered Organization         Saint Andrew Presbyterian Church                                           National Capital Area Council 082             711 W Main St                                             Purcellville, VA 20132‐3022                                                                            First Class Mail
Voting Party                   Saint Andrew Presbyterian Church, Lynchburg, Virginia, Inc.                Attn: John David Roberts                      21206 Timberlake Rd                                       Lynchburg, VA 24502                                                  office@sapclynchburg.org          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Andrew United Methodist Church Of Santa Maria                        Attn: Eric Scott, Pastor                      3945 S Bradley Rd                                         Santa Maria, CA 93455                                                eric.saumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saint Andrews Church                                                       Last Frontier Council 480                     800 NW 5th St                                             Moore, OK 73160‐2108                                                                                   First Class Mail
Chartered Organization         Saint Andrews Episc Missionary Ch                                          Longs Peak Council 062                        3325 Mccann Ave                                           Cheyenne, WY 82001‐1817                                                                                First Class Mail
Chartered Organization         Saint Andrews Episcopal Church                                             Pacific Skyline Council 031                   1600 Santa Lucia Ave                                      San Bruno, CA 94066‐4736                                                                               First Class Mail
Chartered Organization         Saint Andrew'S Episcopal Church                                            Silicon Valley Monterey Bay 055               13601 Saratoga Ave                                        Saratoga, CA 95070‐5055                                                                                First Class Mail
Voting Party                   Saint Andrew's Episcopal Church                                            208 W Foster Ave                              State College, PA 16801                                                                                                        rector@standrewsc.org             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Andrew's Episcopal Church                                            Attn: Daryl Hay                               217 West 26th St                                          Bryan, TX 77803                                                      rector@standrewsbcs.org           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Andrew's Episcopal Church                                            Attn: Michael Petrochuk                       583 W Hopocan Ave                                         Barberton, OH 44203                                                  michaelpetrochuk@hotmail.com      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Andrew's Episcopal Church In Saratoga, CA                            Saint Andrew's Episcopal Church and School    13601 Saratoga Ave                                        P.O. Box 2789                     Saratoga, CA 95070                 bfriesen@st‐andrews.org           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Andrews Episcopal Church, Melbourne, FL                              Attn: Canon Ellis E Brust                     210 S Indian River Dr                                     Fort Pierce, FL 34950                                                rector@mystandrews.org            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saint Andrews Evangelical Lutheran                                         Westchester Putnam 388                        2405 Crompond Rd                                          Yorktown Heights, NY 10598‐3708                                                                        First Class Mail
Chartered Organization         Saint Andrews Lutheran Church                                              Mt Diablo‐Silverado Council 023               2507 San Jose Dr                                          Antioch, CA 94509‐4172                                                                                 First Class Mail
Chartered Organization         Saint Andrews Lutheran Church                                              Northeast Illinois 129                        10 S Lake St                                              Mundelein, IL 60060‐2712                                                                               First Class Mail
Voting Party                   Saint Andrew's Lutheran Church                                             Attn: Timothy T Parker                        1000 2nd Ave, Fl 30                                       Seattle, WA 98104                                                    ttp@pattersonbuchanan.com         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Andrew's Lutheran Church                                             Attn: H. Partridge                            425 N Dupont Hwy                                          Dover, DE 19901                                                      office@salcdover.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Andrew's Lutheran Church                                             Attn: H Partridge                             425 N Dupont Hwy                                          Dover, DE 19901                                                                                        First Class Mail
Voting Party                   Saint Andrews Lutheran Church Of San Mateo                                 Attn: Mark Oium                               1501 S El Camino Real                                     San Mateo, CA 94402                                                  oium@sbcglobal.net                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saint Andrews Presbyterian Church                                          Three Rivers Council 578                      1350 N 23rd St                                            Beaumont, TX 77706‐3603                                                                                First Class Mail
Chartered Organization         Saint Andrews Presbyterian Church                                          Pacific Skyline Council 031                   1283 Terra Nova Blvd                                      Pacifica, CA 94044‐4341                                                                                First Class Mail
Chartered Organization         Saint Andrews Presbyterian Church                                          Mt Diablo‐Silverado Council 023               1601 Mary Dr                                              Pleasant Hill, CA 94523‐2232                                                                           First Class Mail
Voting Party                   Saint Andrews Presbyterian Church                                          Attn: John M Montague                         7506 Falls of Neuse Rd                                    Raleigh, NC 27615                                                    jmontague@sapc.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Andrews Presbyterian Church                                          Attn: John M Montague                         2828 Isabella Dr                                          Raleigh, NC 27603                                                                                      First Class Mail
Voting Party                   Saint Andrews Umc                                                          c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Andrews United Methodist Church                                      Attn: John Timothy Swarr                      142 Twin Fawn Trl                                         Parkersburg, WV 26104                                                Swarr12@suddenlink.net            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Andrew'S United Methodist Church Of Annapolis                        Attn: Charles Shellem                         4 Wallace Manor Rd                                        Edgewater, MD 21037                                                  cjshellem@gmail.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Andrews United Methodist Church‐Arlington                            c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Andrews United Methodist Church‐Arlington                            2045 SE Green Oaks                            Arlington, TX 76018                                                                                                                                              First Class Mail
Chartered Organization         Saint Angela Merici                                                        Laurel Highlands Council 527                  1640 Fawcett Ave                                          White Oak, PA 15131‐1802                                                                               First Class Mail
Chartered Organization         Saint Angela Merici Catholic Church                                        Lake Erie Council 440                         20970 Lorain Rd                                           Fairview Park, OH 44126‐2023                                                                           First Class Mail
Chartered Organization         Saint Ann Catholic Church                                                  Circle Ten Council 571                        807 N Washington St                                       Kaufman, TX 75142                                                                                      First Class Mail
Chartered Organization         Saint Ann Parish                                                           The Spirit of Adventure 227                   757 Hancock St                                            Quincy, MA 02170‐2722                                                                                  First Class Mail
Chartered Organization         Saint Anne Catholic Church                                                 Coastal Georgia Council 099                   P.O. Box 648                                              Richmond Hill, GA 31324‐0648                                                                           First Class Mail
Chartered Organization         Saint Anne Catholic Church                                                 San Francisco Bay Area Council 028            850 Judah St                                              San Francisco, CA 94122‐2116                                                                           First Class Mail
Chartered Organization         Saint Anne Catholic Church                                                 Sam Houston Area Council 576                  1111 S Cherry St                                          Tomball, TX 77375‐6627                                                                                 First Class Mail
Chartered Organization         Saint Anne Catholic Church                                                 Evangeline Area 212                           111 Thorn Dr                                              Youngsville, LA 70592‐5831                                                                             First Class Mail
Voting Party                   Saint Anne Episcopal Church                                                Attn: David Miller                            1700 N Westmoreland Rd                                    Desoto, TX 75115                                                     dmiller@stannedesoto.org          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saint Annes Catholic Church                                                Quivira Council, Bsa 198                      1101 W Regal St                                           Wichita, KS 67217‐2351                                                                                 First Class Mail
Chartered Organization         Saint Anne'S Catholic Church                                               Sequoyah Council 713                          300 Euclid Ave                                            Bristol, VA 24201‐4014                                                                                 First Class Mail
Chartered Organization         Saint Annes Church                                                         Northern New Jersey Council, Bsa 333          15‐05 Saint Anne St                                       Fair Lawn, NJ 07410‐2033                                                                               First Class Mail
Voting Party                   Saint Ann's Roman Catholic Congregation Inc                                c/o Gallagher Evelius & Jones LLP             Attn: Matthew W Oakey                                     218 N Charles St, Ste 400         Baltimore, MD 21201                moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saint Anthony Catholic Church                                              Great Rivers Council 653                      1874 N Business Route 5                                   Camdenton, MO 65020‐2629                                                                               First Class Mail
Chartered Organization         Saint Anthony Catholic Church                                              Miami Valley Council, Bsa 444                 820 Bowen St                                              Dayton, OH 45410‐2514                                                                                  First Class Mail
Chartered Organization         Saint Anthony Church                                                       Aloha Council, Bsa 104                        1627 Mill St, Ste B                                       Wailuku, HI 96793‐1953                                                                                 First Class Mail
Chartered Organization         Saint Anthony Of Padua                                                     Westchester Putnam 388                        85 Harrison St                                            West Harrison, NY 10604‐2633                                                                           First Class Mail
Chartered Organization         Saint Anthony Of Padua School                                              Garden State Council 690                      2824 River Rd                                             Camden, NJ 08105‐4427                                                                                  First Class Mail
Chartered Organization         Saint Anthonys Catholic Church                                             Mt Diablo‐Silverado Council 023               971 Ohara Ave                                             Oakley, CA 94561‐5785                                                                                  First Class Mail
Chartered Organization         Saint Anthonys Catholic Church                                             National Capital Area Council 082             1029 Monroe St NE                                         Washington, DC 20017‐1761                                                                              First Class Mail
Chartered Organization         Saint Anthonys Church                                                      Connecticut Rivers Council, Bsa 066           4 Union City Rd                                           Prospect, CT 06712‐1533                                                                                First Class Mail
Chartered Organization         Saint Anthony'S Church                                                     Hudson Valley Council 374                     34 W Nyack Rd                                             Nanuet, NY 10954‐2931                                                                                  First Class Mail
Chartered Organization         Saint Antonius Coptic Orthodox Church                                      San Francisco Bay Area Council 028            2500 Hansen Rd                                            Hayward, CA 94541‐5521                                                                                 First Class Mail
Chartered Organization         Saint Athanasius Catholic Church                                           Lincoln Heritage Council 205                  1915 Outer Loop                                           Louisville, KY 40219                                                                                   First Class Mail
Chartered Organization         Saint Augustine Catholic Church                                            San Francisco Bay Area Council 028            400 Alcatraz Ave                                          Oakland, CA 94609‐1106                                                                                 First Class Mail
Chartered Organization         Saint Augustine Catholic High School                                       Catalina Council 011                          8800 E 22nd St                                            Tucson, AZ 85710‐7330                                                                                  First Class Mail
Voting Party                   Saint Augustine Of Canterbury Episcopal Church                             285 S 208th St                                Elkhorn, NE 68022                                                                                                              rector@sainta.net                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saint Augustine School                                                     Southern Shores Fsc 783                       600 W Michigan Ave                                        Kalamazoo, MI 49007‐3716                                                                               First Class Mail
Chartered Organization         Saint Barbara Church                                                       Dan Beard Council, Bsa 438                    4042 Turkeyfoot Rd                                        Erlanger, KY 41018‐2921                                                                                First Class Mail
Chartered Organization         Saint Barnabas Catholic Church                                             Lake Erie Council 440                         9451 Brandywine Rd                                        Northfield, OH 44067‐2484                                                                              First Class Mail
Chartered Organization         Saint Barnabas Episcopal Church                                            Cape Cod and Islands Cncl 224                 97 Main St                                                Falmouth, MA 02540                                                                                     First Class Mail
Voting Party                   Saint Barnabas Memorial Church                                             Attn: the Rev Willie H Mebane Jr              P.O. Box 203                                              Falmouth, MA 02541                                                   wmebane@stbarnabasfalmouth.org    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Barnabas Memorial Church                                             Attn: The Rev Willie H Mebane Jr              91 Main St                                                Falmouth, MA 02541                                                   office@stbarnabasfalmouth.org     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saint Barnabas Methodist Church                                            Longhorn Council 662                          5011 W Pleasant Ridge Rd                                  Arlington, TX 76016‐6220                                                                               First Class Mail
Chartered Organization         Saint Barnabas Roman Catholic Church                                       Daniel Boone Council 414                      109 Crescent Hill Rd                                      Arden, NC 28704‐9571                                                                                   First Class Mail
Chartered Organization         Saint Bartholomew Catholic Parish                                          Hoosier Trails Council 145 145                1306 27th St                                              Columbus, IN 47201‐3101                                                                                First Class Mail
Chartered Organization         Saint Bartholomew Episcopal Church                                         Lake Erie Council 440                         435 Som Center Rd                                         Mayfield Village, OH 44143‐1519                                                                        First Class Mail
Chartered Organization         Saint Bartholomew'S Church                                                 Pacific Skyline Council 031                   600 Alameda De Las Pulgas                                 San Mateo, CA 94402‐3358                                                                               First Class Mail
Voting Party                   Saint Bartholomew's Church, Inc                                            c/o Whiteford Taylor & Preston LLP            Attn: Kenneth M Lewis                                     220 White Plains Rd, 2nd Fl       Tarrytown, NY 10591                klewis@wtplaw.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Bartholomew's Church, Inc                                            c/o Whiteford, Taylor & Preston LLP           Attn: Kenneth M. Lewis, Esq                               220 White Plains Rd, 2nd Fl       Tarrytown, NY 10591                klewis@wtplaw.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Bartholomew's Church, Inc                                            Attn: Gawain F De Leeuw                       82 Prospect St                                            White Plains, NY 10606                                               gawaind@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Saint Bartholomew's Church, Inc                                            Attn: The Rev Dr Gawain F de Leeuw            82 Prospect St                                            White Plains, NY 10606                                               gawaind@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Saint Bede Catholic Church                                                 Colonial Virginia Council 595                 3686 Ironbound Rd                                         Williamsburg, VA 23188‐2441                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                               Page 324 of 442
                                                                                    Case 20-10343-LSS                                                      Doc 8171                                            Filed 01/06/22                                                   Page 340 of 457
                                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                                   Service List
                                                                                                                                                                                            Served as set forth below

        Description                                                         Name                                                                                                                Address                                                                                                              Email              Method of Service
Chartered Organization         Saint Bede School                                              Greater Los Angeles Area 033                           4524 Crown Ave                                                   La Canada, CA 91011‐3636                                                                               First Class Mail
Voting Party                   Saint Bede School                                              c/o Archdiocese of Los Angeles                         Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Benedict Catholic Church                                 Coastal Carolina Council 550                           950 Darrell Creek Trl                                            Mount Pleasant, SC 29466‐8391                                                                          First Class Mail
Chartered Organization         Saint Bernadette Catholic Church                               Lake Erie Council 440                                  2256 Clague Rd                                                   Westlake, OH 44145‐4328                                                                                First Class Mail
Chartered Organization         Saint Bernadette Church                                        Greater Niagara Frontier Council 380                   5930 S Abbott Rd                                                 Orchard Park, NY 14127‐4516                                                                            First Class Mail
Chartered Organization         Saint Bernadette Parish                                        Baltimore Area Council 220                             801 Stevenson Rd                                                 Severn, MD 21144‐2208                                                                                  First Class Mail
Chartered Organization         Saint Bernadettes Catholic Church                              National Capital Area Council 082                      70 University Blvd E                                             Silver Spring, MD 20901‐2547                                                                           First Class Mail
Voting Party                   Saint Bernardine's Roman Catholic Congregation, Inc            c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Bonaventures Catholic Church                             Mt Diablo‐Silverado Council 023                        5562 Clayton Rd                                                  Concord, CA 94521‐4158                                                                                 First Class Mail
Chartered Organization         Saint Boniface Catholic Church                                 Buffalo Trace 156                                      418 N Wabash Ave                                                 Evansville, IN 47712‐5240                                                                              First Class Mail
Chartered Organization         Saint Brendan Catholic Church                                  Northeast Georgia Council 101                          4633 Shiloh Rd                                                   Cumming, GA 30040‐7456                                                                                 First Class Mail
Chartered Organization         Saint Brendan Catholic Church                                  Simon Kenton Council 441                               4475 Dublin Rd                                                   Hilliard, OH 43026‐2706                                                                                First Class Mail
Chartered Organization         Saint Brendan Catholic Church                                  San Francisco Bay Area Council 028                     29 Rockaway Ave                                                  San Francisco, CA 94127‐1029                                                                           First Class Mail
Chartered Organization         Saint Brendan Church                                           Greater Los Angeles Area 033                           310 S Van Ness Ave                                               Los Angeles, CA 90020‐4613                                                                             First Class Mail
Voting Party                   Saint Brendan Church                                           c/o Archdiocese of Los Angeles                         Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint Brigid's Roman Catholic Congregation, Inc                c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Casimir                                                  Baltimore Area Council 220                             2736 Odonnell St                                                 Baltimore, MD 21224‐4726                                                                               First Class Mail
Chartered Organization         Saint Casimir Catholic Church                                  Baltimore Area Council 220                             2736 Odonnell St                                                 Baltimore, MD 21224‐4726                                                                               First Class Mail
Voting Party                   Saint Casimir's Roman Catholic Congregation, Inc               c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Cassian Rc Church                                        Northern New Jersey Council, Bsa 333                   187 Bellevue Ave                                                 Montclair, NJ 07043‐1891                                                                               First Class Mail
Chartered Organization         Saint Cassian Roman Catholic Church                            Northern New Jersey Council, Bsa 333                   187 Bellevue Ave                                                 Montclair, NJ 07043‐1891                                                                               First Class Mail
Chartered Organization         Saint Catherine Church Of Alexandria                           National Capital Area Council 082                      P.O. Box 278                                                     Port Tobacco, MD 20677‐0278                                                                            First Class Mail
Chartered Organization         Saint Catherine Laboure Church                                 New Birth of Freedom 544                               4000 Derry St                                                    Harrisburg, PA 17111‐2237                                                                              First Class Mail
Chartered Organization         Saint Catherine Laboure School                                 Greater Los Angeles Area 033                           3846 Redondo Beach Blvd                                          Torrance, CA 90504‐1114                                                                                First Class Mail
Chartered Organization         Saint Catherine Of Siena                                       Simon Kenton Council 441                               500 S Gould Rd                                                   Columbus, OH 43209‐2221                                                                                First Class Mail
Voting Party                   Saint Catherine'S Episcopal Church                             Attn: the Rev Benjamin W Turnage                       P.O. Box 577                                                     Chelsea, AL 35043‐0577                                              benjamint035@gmail.com             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Cecilia Catholic Parish                                  Mid Iowa Council 177                                   2900 Hoover Ave                                                  Ames, IA 50010‐4460                                                                                    First Class Mail
Chartered Organization         Saint Cecilia Church                                           Monmouth Council, Bsa 347                              10 Kingston Ln                                                   Monmouth Jct, NJ 08852‐3002                                                                            First Class Mail
Chartered Organization         Saint Cecilia Parish                                           San Francisco Bay Area Council 028                     2555 17th Ave                                                    San Francisco, CA 94116‐3002                                                                           First Class Mail
Voting Party                   Saint Cecilia's Roman Catholic Congregation, Inc               c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Charles Borromeo Catholic Church                         Greater Los Angeles Area 033                           10850 Moorpark St                                                North Hollywood, CA 91602‐2206                                                                         First Class Mail
Voting Party                   Saint Charles Borromeo Catholic Church                         c/o Archdiocese of Los Angeles                         Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Charles Christian Church                                 Greater St Louis Area Council 312                      3337 Rue Royale St                                               Saint Charles, MO 63301‐8217                                                                           First Class Mail
Chartered Organization         Saint Charles Church                                           Greater New York Councils, Bsa 640                     644 Clawson St                                                   Staten Island, NY 10306‐4216                                                                           First Class Mail
Chartered Organization         Saint Clare Episcopal Church                                   San Francisco Bay Area Council 028                     3350 Hopyard Rd                                                  Pleasanton, CA 94588‐5105                                                                              First Class Mail
Chartered Organization         Saint Columba Catholic                                         Columbia‐Montour 504                                   342 Iron St                                                      Bloomsburg, PA 17815‐1824                                                                              First Class Mail
Chartered Organization         Saint Columban Catholic Church                                 Pony Express Council 311                               1111 Trenton St                                                  Chillicothe, MO 64601‐1437                                                                             First Class Mail
Voting Party                   Saint David's Episcopal Church                                 2320 Grubb Rd                                          Wilmington, DE 19810                                                                                                                 stdavidschurchoffice@verizon.net   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint David's Episcopal Church                                 Attn: Rev Carolyn A Coleman                            6501 Pennywell Dr                                                Nashville, TN 37205                                                 revcarolyn2016@gmail.com           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint Demetrios Greek Orthodox Church                          Attn: Brian R Davey                                    374 Hillside Ave                                                 Williston Park, NY 11596                                            bdavey@mmlaw.us.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Demetrius Catholic Church                                Laurel Highlands Council 527                           811 Church St                                                    Gallitzin, PA 16641‐2001                                                                               First Class Mail
Chartered Organization         Saint Dominic Catholic Church                                  Pikes Peak Council 060                                 5354 US 85                                                       Colorado Springs, CO 80911                                                                             First Class Mail
Chartered Organization         Saint Dominic Catholic School                                  Mobile Area Council‐Bsa 004                            4160 Burma Rd                                                    Mobile, AL 36693‐4449                                                                                  First Class Mail
Voting Party                   Saint Dunstan's Episcopal Parish                               Attn: James P. Hill, Esq, Sullivan Hill Rez & Engel    600 B St, Ste 1700                                               San Diego, CA 92101                                                 hill@sullivanhill.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Duty Cme Church                                          Norwela Council 215                                    2832 6th St                                                      Arcadia, LA 71001‐6720                                                                                 First Class Mail
Chartered Organization         Saint Edith Stein                                              Mayflower Council 251                                  71 E Main St                                                     Brockton, MA 02301‐2461                                                                                First Class Mail
Chartered Organization         Saint Edith Stein Catholic Church                              Sam Houston Area Council 576                           3311 Fry Rd                                                      Katy, TX 77449‐6235                                                                                    First Class Mail
Chartered Organization         Saint Edmunds Episcopal Church                                 Greater Los Angeles Area 033                           1175 S San Gabriel Blvd                                          Pasadena, CA 91108‐2226                                                                                First Class Mail
Chartered Organization         Saint Edwards Catholic Church                                  Quapaw Area Council 018                                801 Sherman St                                                   Little Rock, AR 72202‐3936                                                                             First Class Mail
Chartered Organization         Saint Edwards Catholic Church                                  Sam Houston Area Council 576                           2601 Spring Stuebner Rd                                          Spring, TX 77389‐4864                                                                                  First Class Mail
Chartered Organization         Saint Edwards Parish                                           Westmoreland Fayette 512                               120 St Edwards Ln                                                Herminie, PA 15637‐1728                                                                                First Class Mail
Voting Party                   Saint Edward's School                                          1895 Saint Edwards Dr                                  Vero Beach, FL 32963                                                                                                                 bzamerski@steds.org                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint Elizabeth Ann Seaton Church                              c/o Westerman Ball Ederer Miller Zucker & Sharfstein   c/o Jw/Wch                                                       1201 Rxr Plz                      Uniondale, NY 11556               wheuer@westermanllp.com            Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Elizabeth Ann Seton                                      Catalina Council 011                                   8650 N Shannon Rd                                                Tucson, AZ 85742‐9331                                                                                  First Class Mail
Chartered Organization         Saint Elizabeth Ann Seton Catholic Ch                          Quivira Council, Bsa 198                               645 N 119th St W                                                 Wichita, KS 67235‐1911                                                                                 First Class Mail
Chartered Organization         Saint Elizabeth Ann Seton Church                               Blue Grass Council 204                                 1730 Summerhill Dr                                               Lexington, KY 40515‐1350                                                                               First Class Mail
Chartered Organization         Saint Elizabeth Ann Seton Parish                               Western Massachusetts Council 234                      99 King St                                                       Northampton, MA 01060                                                                                  First Class Mail
Chartered Organization         Saint Elizabeth Ann Seton Parish                               Westchester Putnam 388                                 1377 E Main St                                                   Shrub Oak, NY 10588‐1422                                                                               First Class Mail
Chartered Organization         Saint Elizabeth Parish                                         Western Massachusetts Council 234                      181 Hubbard St                                                   Ludlow, MA 01056‐2722                                                                                  First Class Mail
Chartered Organization         Saint Elizabeth Seton Catholic Church                          Redwood Empire Council 041                             4595 Snyder Ln                                                   Rohnert Park, CA 94928‐1870                                                                            First Class Mail
Chartered Organization         Saint Elizabeth Seton Church                                   Pacific Skyline Council 031                            1095 Channing Ave                                                Palo Alto, CA 94301‐3019                                                                               First Class Mail
Chartered Organization         Saint Elizabeth'S Episcopal Church                             Great Smoky Mountain Council 557                       110 Sugarwood Dr                                                 Knoxville, TN 37934‐4662                                                                               First Class Mail
Chartered Organization         Saint Faustina Catholic Church                                 Sam Houston Area Council 576                           P.O. Box 1099                                                    Fulshear, TX 77441‐1099                                                                                First Class Mail
Chartered Organization         Saint Finbar Parish School                                     Verdugo Hills Council 058                              2120 W Olive Ave                                                 Burbank, CA 91506‐2624                                                                                 First Class Mail
Chartered Organization         Saint Frances Academy                                          Baltimore Area Council 220                             501 E Chase St                                                   Baltimore, MD 21202‐4206                                                                               First Class Mail
Chartered Organization         Saint Frances Cabrini Church                                   Louisiana Purchase Council 213                         2207 E Texas Ave                                                 Alexandria, LA 71301                                                                                   First Class Mail
Chartered Organization         Saint Francis Assisi Rc Ch                                     Connecticut Rivers Council, Bsa 066                    1755 Stanley St                                                  New Britain, CT 06053‐2027                                                                             First Class Mail
Chartered Organization         Saint Francis Church                                           Northern New Jersey Council, Bsa 333                   114 Mt Vernon St                                                 Ridgefield Park, NJ 07660‐1741                                                                         First Class Mail
Chartered Organization         Saint Francis Dad'S Club                                       Pacific Skyline Council 031                            1425 Bay Rd                                                      East Palo Alto, CA 94303‐1109                                                                          First Class Mail
Chartered Organization         Saint Francis De Sales                                         Patriots Path Council 358                              P.O. Box 785                                                     Mc Afee, NJ 07428‐0785                                                                                 First Class Mail
Chartered Organization         Saint Francis De Sales Catholic Church                         Buckskin 617                                           622 S Oakwood Ave                                                Beckley, WV 25801‐5928                                                                                 First Class Mail
Chartered Organization         Saint Francis De Sales Parish                                  W.L.A.C.C. 051                                         13370 Valleyheart Dr                                             Sherman Oaks, CA 91423‐3287                                                                            First Class Mail
Chartered Organization         Saint Francis Episcopal Church                                 National Capital Area Council 082                      9220 Georgetown Pike                                             Great Falls, VA 22066‐2726                                                                             First Class Mail
Chartered Organization         Saint Francis Episcopal Church                                 Dan Beard Council, Bsa 438                             225 N Main St                                                    Springboro, OH 45066‐9255                                                                              First Class Mail
Voting Party                   Saint Francis Episcopal Church                                 Attn: Mark Forrest Selvey                              14 E 20th St                                                     Scottsbluff, NE 69361                                               stfrancis@allophone.com            Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Francis In‐The‐Field Episc Ch                            North Florida Council 087                              895 Palm Valley Rd                                               Ponte Vedra, FL 32081‐4315                                                                             First Class Mail
Voting Party                   Saint Francis Of Asissi In The Pines Episcopal Church          Attn: Russell Wade Kohl                                17890 Metcalf Ave                                                Overland Park, KS 66085                                             russellkohlmd@sbcglobal.net        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Francis Of Assisi                                        Denver Area Council 061                                2746 5th St                                                      Castle Rock, CO 80104‐1824                                                                             First Class Mail
Chartered Organization         Saint Francis Of Assisi Catholic Church                        Alamo Area Council 583                                 4201 De Zavala Rd                                                San Antonio, TX 78249‐2008                                                                             First Class Mail
Chartered Organization         Saint Francis Of Assisi Catholic Church                        President Gerald R Ford 781                            1025 S Union St                                                  Traverse City, MI 49684‐3256                                                                           First Class Mail
Chartered Organization         Saint Francis Of Assisi Catholic Church                        Quivira Council, Bsa 198                               861 N Socora St                                                  Wichita, KS 67212‐3237                                                                                 First Class Mail
Chartered Organization         Saint Francis Of Assisi Catholic Parish                        Silicon Valley Monterey Bay 055                        5111 San Felipe Rd                                               San Jose, CA 95135‐1220                                                                                First Class Mail
Chartered Organization         Saint Francis Of The Islands Church                            Coastal Georgia Council 099                            590 Walthour Rd                                                  Savannah, GA 31410‐2610                                                                                First Class Mail
Chartered Organization         Saint Francis School                                           Puerto Rico Council 661                                P.O. Box 3270                                                    Carolina, PR 00984‐3270                                                                                First Class Mail
Voting Party                   Saint Francis United Methodist Church                          Attn: Treasurer                                        2965 Kildaire Farm Rd                                            Cary, NC 27518                                                      debbie@saintfrancisumc.org         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint Francis United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200          Tampa, FL 33602                                                      First Class Mail
Chartered Organization         Saint Francis Xavier Catholic Church                           Jayhawk Area Council 197                               301 E Jones St                                                   Mayetta, KS 66509‐9212                                                                                 First Class Mail
Chartered Organization         Saint Francis Xavier Church                                    President Gerald R Ford 781                            513 Howard St                                                    Petoskey, MI 49770‐2713                                                                                First Class Mail
Chartered Organization         Saint Francis Xavier Rc Ch                                     Connecticut Rivers Council, Bsa 066                    1 Elm St                                                         New Milford, CT 06776‐2922                                                                             First Class Mail
Chartered Organization         Saint Francis Xavier Rcc                                       Greater New York Councils, Bsa 640                     225 6th Ave                                                      Brooklyn, NY 11215‐1235                                                                                First Class Mail
Chartered Organization         Saint Francois Rotary                                          Greater St Louis Area Council 312                      9847 Silver Springs Rd                                           Bonne Terre, MO 63628‐3803                                                                             First Class Mail
Chartered Organization         Saint Gabriel Catholic Church                                  Pikes Peak Council 060                                 8755 Scarborough Dr                                              Colorado Springs, CO 80920‐7577                                                                        First Class Mail
Chartered Organization         Saint Gabriel'S Episcopal Church                               Narragansett 546                                       P.O. Box 545                                                     Marion, MA 02738‐0010                                                                                  First Class Mail
Chartered Organization         Saint Gabriels Roman Catholic Church                           Laurel Highlands Council 527                           5200 Greenridge Dr                                               Pittsburgh, PA 15236‐1742                                                                              First Class Mail
Chartered Organization         Saint Genevieve Catholic Church                                Southeast Louisiana Council 214                        815 Barbier Ave                                                  Thibodaux, LA 70301‐6533                                                                               First Class Mail
Chartered Organization         Saint George Catholic Church                                   Mayflower Council 251                                  74 School St                                                     Framingham, MA 01701‐7717                                                                              First Class Mail
Chartered Organization         Saint George Episcopal Church                                  Greater St Louis Area Council 312                      105 E D St                                                       Belleville, IL 62220‐1205                                                                              First Class Mail
Chartered Organization         Saint George Greek Orthodox Church                             Daniel Webster Council, Bsa 330                        70 West St                                                       Keene, NH 03431‐3373                                                                                   First Class Mail
Chartered Organization         Saint George Youth & Scouting Council                          Pine Tree Council 218                                  P.O. Box 332                                                     Tenants Harbor, ME 04860‐0332                                                                          First Class Mail
Chartered Organization         Saint George'S Episcopal Church                                Coastal Carolina Council 550                           9110 Dorchester Rd                                               Summerville, SC 29485‐8647                                                                             First Class Mail
Voting Party                   Saint George's Episcopal Church ‐ Clifton Park, NY             Attn: Jean Stevens‐Lauria                              912 Rte 146                                                      Clifton Park, NY 12065                                              stgeorgesofc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint George's Episcopal Church, La Canada                     808 Foothill Blvd                                      La Canada, CA 91011                                                                                                                  rector@saintglc.org                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint George'S Episcopal Church, La Canada                     Attn: Ben Hogan                                        3932 Alta Vista Dr                                               La Canada, CA 91011                                                 greatlogani@gmail.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint George's Protestant Episcopal Church, Mount Savage, MD   Attn: Thomas James Hudson                              P.O. Box 655                                                     Mt Savage, MD 21545                                                 admin@stgeorgemtsavage.org         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Geralds Church                                           Mid‐America Council 326                                7859 Lakeview St                                                 Omaha, NE 68127‐2832                                                                                   First Class Mail
Chartered Organization         Saint Gerard Majella                                           Greater St Louis Area Council 312                      1969 Dougherty Ferry Rd                                          Saint Louis, MO 63122‐3538                                                                             First Class Mail
Chartered Organization         Saint Gregory Church                                           Pacific Skyline Council 031                            2715 Hacienda St                                                 San Mateo, CA 94403‐2425                                                                               First Class Mail
Chartered Organization         Saint Gregory The Great Catholic Church                        Cimarron Council 474                                   1924 W Willow Rd                                                 Enid, OK 73703‐2412                                                                                    First Class Mail
Chartered Organization         Saint Gregory The Great Catholic Church                        Coastal Carolina Council 550                           31 Saint Gregory Dr                                              Okatie, SC 29909‐5136                                                                                  First Class Mail
Chartered Organization         Saint Helens Booster Club                                      Miami Valley Council, Bsa 444                          605 Granville Pl                                                 Dayton, OH 45431‐2703                                                                                  First Class Mail
Chartered Organization         Saint Henry Catholic Church                                    Indian Nations Council 488                             P.O. Box 181                                                     Owasso, OK 74055‐0181                                                                                  First Class Mail
Chartered Organization         Saint Hilary Parish School                                     Greater Los Angeles Area 033                           5401 Citronell Ave                                               Pico Rivera, CA 90660‐2707                                                                             First Class Mail
Voting Party                   Saint Hilary Parish School                                     c/o Roman Catholic Archdiocese of Los Angeles          Attn: Margaret Graf                                              3424 Wilshire Blvd                Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint Ignatius Of Loyola                                       National Capital Area Council 082                      4103 Prices Distillery Rd                                        Ijamsville, MD 21754‐9524                                                                              First Class Mail
Chartered Organization         Saint Ignatius Parish                                          Cascade Pacific Council 492                            3400 SE 43rd Ave                                                 Portland, OR 97206‐3107                                                                                First Class Mail
Chartered Organization         Saint Ignatius Rc Church                                       Washington Crossing Council 777                        999 Reading Ave                                                  Yardley, PA 19067‐1626                                                                                 First Class Mail
Chartered Organization         Saint Jacob Lutheran Church                                    Miami Valley Council, Bsa 444                          213 E Central Ave                                                Miamisburg, OH 45342‐2804                                                                              First Class Mail
Voting Party                   Saint James ‐ Sarasota                                         c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint James Ame Church                                         Laurel Highlands Council 527                           444 Lincoln Ave                                                  East Liberty, PA 15206‐4117                                                                            First Class Mail
Chartered Organization         Saint James Anglican Church                                    Coastal Carolina Council 550                           1872 Camp Rd                                                     Charleston, SC 29412‐3540                                                                              First Class Mail
Chartered Organization         Saint James Catholic Parish                                    Potawatomi Area Council 651                            830 E Veterans Way                                               Mukwonago, WI 53149‐1014                                                                               First Class Mail
Chartered Organization         Saint James Christian Academy                                  Gulf Stream Council 085                                5200 Oleander Ave                                                Fort Pierce, FL 34982‐4063                                                                             First Class Mail
Chartered Organization         Saint James Episcopal Church                                   Northwest Georgia Council 100                          P.O. Box 85                                                      Cedartown, GA 30125‐0085                                                                               First Class Mail
Chartered Organization         Saint James Episcopal Church                                   Baltimore Area Council 220                             3100 Monkton Rd                                                  Monkton, MD 21111‐2113                                                                                 First Class Mail
Chartered Organization         Saint James Episcopal Church                                   Caddo Area Council 584                                 417 Olive St                                                     Texarkana, TX 75501‐5510                                                                               First Class Mail
Voting Party                   Saint James Episcopal Church                                   1 St James Pl                                          Goshen, NY 10924                                                                                                                     ktorge@mcgivneyandkluger.com       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint James Episcopal Church ‐ Goshen                          Attn: Rev Carl Lunden                                  1 St James Pl                                                    Goshen, NY 10924                                                    ktorge@mcgivneyandkluger.com       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint James Episcopal Church ‐ Hyde Park                       Attn: Jim Smyth                                        4526 Albany Post Rd                                              Hyde Park, NY 12538                                                 ktorge@mcgivneyandkluger.com       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint James Episcopal Church ‐ Hyde Park                       Attn: Jim Smyth                                        4526 Albany Post Rd                                              Hyde Park, NY 12538                                                 jks305@msn.com                     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint James Lutheran Church                                    Central N Carolina Council 416                         P.O. Box 684                                                     Concord, NC 28026‐0684                                                                                 First Class Mail
Chartered Organization         Saint James Lutheran Church                                    Georgia‐Carolina 093                                   200 Laurel Dr                                                    Graniteville, SC 29829‐2567                                                                            First Class Mail
Chartered Organization         Saint James Lutheran Church                                    Sequoyah Council 713                                   3285 Saint James Rd                                              Greeneville, TN 37743‐3639                                                                             First Class Mail
Voting Party                   Saint James Lutheran Church                                    Attn: Steven K Johnson                                 1341 Mays Landing Rd                                             Folsom, NJ 08037                                                    sj@djd.law                         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint James Lutheran Church                                    Attn: Douglas L Nelson                                 3145 31st Ave                                                    Rock Island, IL 61201                                               saintjamesri@gmail.com             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint James Lutheran Church                                    Attn: John P Locke                                     P.O. Box 53276                                                   Fayetteville, NC 28305                                              saintjameslutheran@gmail.com       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint James Lutheran Church                                    Attn: John P Locke                                     1420 Morganton Rd                                                Fayetteville, NC 28305                                              jpl406@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint James Lutheran Church Altoona, PA                        Attn: Mark Francis Hoover                              1407 8th Ave                                                     Altoona, PA 16601                                                   mfh4@psu.edu                       Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint James Roman Catholic Church                              French Creek Council 532                               2602 Buffalo Rd                                                  Erie, PA 16510‐1422                                                                                    First Class Mail
Chartered Organization         Saint James Roman Catholic Church                              Northern New Jersey Council, Bsa 333                   32 Saint James Pl                                                Totowa, NJ 07512‐2048                                                                                  First Class Mail
Voting Party                   Saint James Umc                                                c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint James Umc 111 W Lake Dr Athens, GA 30606                 c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint James Umc Of Kingston                                    Attn: Rev. Robert Milsom                               29 Pearl St                                                      Kingston, NY 12401                                                  robert.milsom@nyac‐umc.com         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Saint James United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Saint James Utd Methodist Ch Little Rock                       Quapaw Area Council 018                                321 Pleasant Valley Dr                                           Little Rock, AR 72212‐3157                                                                             First Class Mail
Chartered Organization         Saint James Utd Methodist Church                               East Carolina Council 426                              2000 E 6th St                                                    Greenville, NC 27858‐2915                                                                              First Class Mail
Chartered Organization         Saint Januarius Church                                         Laurel Highlands Council 527                           1450 Renton Rd                                                   Pittsburgh, PA 15239‐1534                                                                              First Class Mail
Chartered Organization         Saint Jeanne De Lestonnac                                      Orange County Council 039                              16791 E Main St                                                  Tustin, CA 92780‐4034                                                                                  First Class Mail
Chartered Organization         Saint Jeanne Jugan Parish                                      Connecticut Rivers Council, Bsa 066                    23 Simon Rd                                                      Enfield, CT 06082‐5903                                                                                 First Class Mail
Chartered Organization         Saint Jerome Catholic Church                                   Sam Houston Area Council 576                           8825 Kempwood Dr                                                 Houston, TX 77080‐4101                                                                                 First Class Mail
Chartered Organization         Saint Joachim Catholic Church                                  Orange County Council 039                              1964 Orange Ave                                                  Costa Mesa, CA 92627‐2238                                                                              First Class Mail
Chartered Organization         Saint Joachim School                                           San Francisco Bay Area Council 028                     21250 Hesperian Blvd                                             Hayward, CA 94541‐5809                                                                                 First Class Mail
Chartered Organization         Saint Joan Of Arc Catholic Church                              Southeast Louisiana Council 214                        529 W 5th St                                                     La Pl, LA 70068‐3941                                                                                   First Class Mail
Chartered Organization         Saint Joan Of Arc Catholic Church                              Southeast Louisiana Council 214                        529 W 5th St                                                     La Pl, LA 70068‐3941                                                                                   First Class Mail
Chartered Organization         Saint John Baptist Catholic Church                             National Capital Area Council 082                      12319 New Hampshire Ave                                          Silver Spring, MD 20904‐2957                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                   Page 325 of 442
                                                                                   Case 20-10343-LSS                                                                    Doc 8171                                            Filed 01/06/22                                                Page 341 of 457
                                                                                                                                                                                                               Exhibit B
                                                                                                                                                                                                                Service List
                                                                                                                                                                                                         Served as set forth below

        Description                                                         Name                                                                                                                             Address                                                                                                       Email                  Method of Service
Voting Party                   Saint John Evangelical Lutheran Church                                             Attn: Karen Marchese & Sara Irwin               601 Washington Ave                                               Carnegie, PA 15106                                               president@saintjohncarnegie.com    Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint John Evangelical Ucc                                                         Greater St Louis Area Council 312               307 W Clay St                                                    Collinsville, IL 62234‐3221                                                                         First Class Mail
Chartered Organization         Saint John Evangelist Catholic Parish                                              Hoosier Trails Council 145 145                  408 Church St                                                    Loogootee, IN 47553‐1714                                                                            First Class Mail
Voting Party                   Saint John Gualbertus' Roman Catholic Church Society Of Cheektowaga, Erie Co, NY   c/o Woods Oviatt Gilman LLP                     Attn: Timothy P Lyster, Esq                                      1900 Bausch & Lomb Pl          Rochester, NY 14604               tlyster@woodsoviatt.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint John Lutheran Church                                                         Tidewater Council 596                           8918 Tidewater Dr                                                Norfolk, VA 23503‐4950                                                                              First Class Mail
Chartered Organization         Saint John Lutheran Church (Windfall)                                              Buckeye Council 436                             5070 Newmans Cardington Rd E                                     Cardington, OH 43315‐9609                                                                           First Class Mail
Chartered Organization         Saint John Neumann Catholic Church                                                 Los Padres Council 053                          966 W Orchard St                                                 Santa Maria, CA 93458‐2063                                                                          First Class Mail
Voting Party                   Saint John Neumann Catholic Church                                                 c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd             Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint John Paul Ii                                                                 Greater Niagara Frontier Council 380            2052 Lakeview Rd                                                 Lake View, NY 14085‐9643                                                                            First Class Mail
Chartered Organization         Saint John Paul Ii Parish                                                          Lincoln Heritage Council 205                    3042 Hikes Ln                                                    Louisville, KY 40220‐2017                                                                           First Class Mail
Chartered Organization         Saint John Paul Ii Parish                                                          Narragansett 546                                697 Central Ave                                                  Pawtucket, RI 02861‐2101                                                                            First Class Mail
Chartered Organization         Saint John Paul Ii Rc Church                                                       Greater Niagara Frontier Council 380            2052 Lakeview Rd                                                 Lake View, NY 14085‐9643                                                                            First Class Mail
Voting Party                   Saint John The Apostle ‐ Arlington                                                 c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint John The Baptist Catholic Church                                             Longs Peak Council 062                          323 Collyer St                                                   Longmont, CO 80501‐5518                                                                             First Class Mail
Voting Party                   Saint John United Methodist Church                                                 Attn: Thomas Grieb                              12700 W Hghwy 42                                                 Prospect, KY 40059                                               tom@stjohnky.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint John United Methodist Church                                                 Attn: Audrey Scott                              2808 S Virginia St                                               Hopkinsville, KY 42240                                           secretary@saintjohnumc.com         Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint John Utd Methodist Church                                                    Buckskin 617                                    4536 Teays Valley Rd                                             Scott Depot, WV 25560‐7296                                                                          First Class Mail
Chartered Organization         Saint John Vianney Catholic Church                                                 Sam Houston Area Council 576                    625 Nottingham Oaks Trl                                          Houston, TX 77079‐6234                                                                              First Class Mail
Voting Party                   Saint John's Cathedral                                                             1350 N Washington St                            Denver, CO 80203                                                                                                                  bankruptcy@messner.com             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Johns Episcopal Church                                                       Greater Los Angeles Area 033                    4745 Wheeler Ave                                                 La Verne, CA 91750‐1960                                                                             First Class Mail
Chartered Organization         Saint Johns Episcopal Church                                                       The Spirit of Adventure 227                     8 Prospect St                                                    Saugus, MA 01906‐2155                                                                               First Class Mail
Voting Party                   Saint Johns Episcopal Church                                                       325 Little Silver Point Rd                      Little Silver, NJ 07739                                                                                                           Stjohnslittlesilver@verizon.net    Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Johns Episcopal Church                                                       Attn: Albert F G Bedinger V                     P.O. Box 153                                                     Knoxville, TN 37901                                              al@bedinger‐eng.com                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint John'S Episcopal Church                                                      Cimarron Council 474                            917 Texas St                                                     Woodward, OK 73801‐3125                                                                             First Class Mail
Voting Party                   Saint John'S Episcopal Church                                                      Attn: Scott A Dow                               80 Red Hill Rd                                                   New City, NY 10956                                               sd@kme.com                         Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint John's Episcopal Church                                                      101 S Prospect St                               Hagerstown, MD 21740                                                                                                              rector@stjohnshagerstown.org       Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint John's Episcopal Church                                                      Attn: Scott A Dow                               365 Strawtown Rd                                                 New City, NY 10956                                               office@stjohnsnewcity.net          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint John's Episcopal Church                                                      365 Strawtown Rd                                New City, NY 10956                                                                                                                office@stjohnsnewcity.net          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint John's Episcopal Church (Getty Square) Yonkers NY                            Attn: Rector                                    1 Hudson St                                                      Yonkers, NY 10701                                                mothervsirota@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint John's Episcopal Church Chester, VA                                          Saint John's Episcopal Church                   12201 Richmond St                                                Chester, VA 23831                                                officestjohnschesterva@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint John's Episcopal Church Knoxville                                            Attn: George R Arrants Esq                      814 Episcopal School Way                                         Knoxville, TN 37932                                              al@bedinger‐eng.com                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Johns Episcopal Church Of Knoxville                                          Attn: Albert F G Bedinger V                     P.O. Bos 153                                                     Knoxville, TN 37901                                              al@bedinger‐eng.com                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint John's Episcopal Church Of Ouray, Colorado                                   P.O. Box 563                                    Ouray, CO 81427                                                                                                                   thillhouse99@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint John'S Episcopal Church Of Ouray, Colorado                                   c/o Messner Reeves LLP                          Attn: Deanne R. Stodden                                          1430 Wynkoop St, Ste 300       Denver, CO 80202                  bankruptcy@messner.com             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint John's Episcopal Church, Troy, New York                                      Attn: The Rev Judith W Malionek                 146 1st St                                                       Troy, NY 12180                                                   office@stjohnstroy.org             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Johns Evangelical Lutheran Church                                            Attn: Brian Noack                               48 Greene Ave                                                    Sayville, NY 11782                                                                                  First Class Mail
Chartered Organization         Saint John'S Evangelical Lutheran Church                                           Pennsylvania Dutch Council 524                  23 S 6th St                                                      Columbia, PA 17512‐1516                                                                             First Class Mail
Voting Party                   Saint John's Evangelical Lutheran Church, Bath PA                                  Attn: Pastor Terrence Walsh                     206 E Main St                                                    Bath, PA 18014                                                   pastorterrywalsh@outlook.com       Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Johns Lutheran Church                                                        Twin Valley Council Bsa 283                     1200 13th Ave Nw                                                 Austin, MN 55912‐1981                                                                               First Class Mail
Chartered Organization         Saint Johns Lutheran Church                                                        Mid‐America Council 326                         322 N Molley St                                                  Bennington, NE 68007‐5468                                                                           First Class Mail
Chartered Organization         Saint Johns Lutheran Church                                                        Black Hills Area Council 695 695                13275 Fall River Rd                                              Hot Springs, SD 57747‐7238                                                                          First Class Mail
Chartered Organization         Saint Johns Lutheran Church                                                        Juniata Valley Council 497                      120 N Main St                                                    Lewistown, PA 17044‐1747                                                                            First Class Mail
Chartered Organization         Saint Johns Lutheran Church                                                        Mt Diablo‐Silverado Council 023                 3521 Linda Vista Ave                                             Napa, CA 94558‐2703                                                                                 First Class Mail
Chartered Organization         Saint Johns Lutheran Church                                                        Miami Valley Council, Bsa 444                   248 Wood St                                                      Piqua, OH 45356‐3565                                                                                First Class Mail
Chartered Organization         Saint Johns Lutheran Church                                                        Miami Valley Council, Bsa 444                   122 W National Rd                                                Vandalia, OH 45377‐1935                                                                             First Class Mail
Chartered Organization         Saint Johns Newberry Utd Methodist Ch                                              Susquehanna Council 533                         2101 Newberry St                                                 Williamsport, PA 17701‐1361                                                                         First Class Mail
Chartered Organization         Saint Johns Parish Church                                                          Coastal Carolina Council 550                    3673 Maybank Hwy                                                 Johns Island, SC 29455‐4825                                                                         First Class Mail
Chartered Organization         Saint Johns Presbyterian Church                                                    Mt Diablo‐Silverado Council 023                 2727 College Ave                                                 Berkeley, CA 94705‐1247                                                                             First Class Mail
Chartered Organization         Saint Johns Roman Catholic Church                                                  Chief Seattle Council 609                       121 N 80th St                                                    Seattle, WA 98103‐4201                                                                              First Class Mail
Voting Party                   Saint Johns Umc Buena Vista, VA                                                    Attn: Michael S Irvine                          340 Wheatlan Dr                                                  Lexington, VA 24450                                              michaelsirvine@yahoo.com           Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Johns Umc Buena Vista, VA                                                    Attn: Minister, Saint Johns Umc                 351 E 21st St                                                    Buena Vista, VA 24416                                            michaelsirvine@yahoo.com           Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint John's United Methodist                                                      c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Johns United Methodist Church                                                Attn: Matthew Gnemi                             1001 Grand Blvd                                                  Greenwood, MS 38930                                              mgnemi@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Johns United Methodist Church (176564)                                       c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Johns Utd Church Of Christ                                                   Water and Woods Council 782                     P.O. Box 313                                                     Marine City, MI 48039‐0313                                                                          First Class Mail
Voting Party                   Saint John's‐Newberry UMC (184382)                                                 c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200     Pittsburgh, PA 15228              lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Joseph Catholic Church                                                       Arbuckle Area Council 468                       1300 E Beverly St                                                Ada, OK 74820‐2629                                                                                  First Class Mail
Chartered Organization         Saint Joseph Catholic Church                                                       Mason Dixon Council 221                         17630 Virginia Ave                                               Hagerstown, MD 21740‐7829                                                                           First Class Mail
Chartered Organization         Saint Joseph Catholic Church                                                       Inland Nwest Council 611                        4521 N Arden Rd                                                  Otis Orchards, WA 99027‐9358                                                                        First Class Mail
Chartered Organization         Saint Joseph Catholic Church                                                       Mt Diablo‐Silverado Council 023                 2100 Pear St                                                     Pinole, CA 94564‐1711                                                                               First Class Mail
Chartered Organization         Saint Joseph Catholic Church                                                       Southern Shores Fsc 783                         211 Church St                                                    Saint Joseph, MI 49085‐1128                                                                         First Class Mail
Chartered Organization         Saint Joseph Catholic Church                                                       Southeast Louisiana Council 214                 403 Plater Dr                                                    Thibodaux, LA 70301‐5615                                                                            First Class Mail
Chartered Organization         Saint Joseph Catholic Church                                                       Cascade Pacific Council 492                     6600 Highland Dr                                                 Vancouver, WA 98661‐7638                                                                            First Class Mail
Chartered Organization         Saint Joseph Catholic Parish                                                       Potawatomi Area Council 651                     S89W22650 Milwaukee Ave                                          Big Bend, WI 53103                                                                                  First Class Mail
Chartered Organization         Saint Joseph Catholic School                                                       Sam Houston Area Council 576                    1811 Carolina St                                                 Baytown, TX 77520‐6026                                                                              First Class Mail
Chartered Organization         Saint Joseph Catholic School Pto                                                   Greater Alabama Council 001                     121 Plum St                                                      Florence, AL 35630‐4877                                                                             First Class Mail
Chartered Organization         Saint Joseph Church                                                                Mayflower Council 251                           153 S Franklin St                                                Holbrook, MA 02343‐1454                                                                             First Class Mail
Chartered Organization         Saint Joseph Church                                                                Jersey Shore Council 341                        685 Hooper Ave                                                   Toms River, NJ 08753‐7714                                                                           First Class Mail
Chartered Organization         Saint Joseph Grade School                                                          Buckskin 617                                    1326 6th Ave                                                     Huntington, WV 25701‐2419                                                                           First Class Mail
Chartered Organization         Saint Joseph Roman Catholic Church                                                 Chief Cornplanter Council, Bsa 538              600 Pennsylvania Ave W                                           Warren, PA 16365‐2204                                                                               First Class Mail
Chartered Organization         Saint Joseph School Catholic School                                                Lincoln Heritage Council 205                    416 Church Ave                                                   Bowling Green, KY 42101‐1810                                                                        First Class Mail
Chartered Organization         Saint Josephs Catholic Church                                                      East Texas Area Council 585                     410 N Alamo Blvd                                                 Marshall, TX 75670‐3450                                                                             First Class Mail
Chartered Organization         Saint Josephs Catholic Church                                                      Gulf Stream Council 085                         1200 SE 10th St                                                  Stuart, FL 34996‐4105                                                                               First Class Mail
Chartered Organization         Saint Joseph'S Catholic Church                                                     Northwest Georgia Council 100                   968 Haig Mill Lake Rd                                            Dalton, GA 30720‐7281                                                                               First Class Mail
Chartered Organization         Saint Josephs Catholic Church Of Upland                                            California Inland Empire Council 045            877 N Campus Ave                                                 Upland, CA 91786‐3930                                                                               First Class Mail
Chartered Organization         Saint Josephs Church                                                               Mayflower Council 251                           2 Barber St                                                      Medway, MA 02053‐1302                                                                               First Class Mail
Chartered Organization         Saint Josephs Church                                                               Westchester Putnam 388                          95 Plumbrook Rd                                                  Somers, NY 10589‐2704                                                                               First Class Mail
Chartered Organization         Saint Josephs Roman Catholic Church                                                Catalina Council 011                            215 S Craycroft Rd                                               Tucson, AZ 85711‐3821                                                                               First Class Mail
Chartered Organization         Saint Josephs Roman Catholic Church                                                Northern New Jersey Council, Bsa 333            Germantown Rd                                                    West Milford, NJ 07480                                                                              First Class Mail
Chartered Organization         Saint Josephs Roman Catholic Church                                                Northern New Jersey Council, Bsa 333            454 Germantown Rd                                                West Milford, NJ 07480‐2519                                                                         First Class Mail
Chartered Organization         Saint Junipero Serra Parish                                                        W.L.A.C.C. 051                                  42121 60th St W                                                  Lancaster, CA 93536‐3767                                                                            First Class Mail
Chartered Organization         Saint Junipero Serra Parish                                                        Connecticut Rivers Council, Bsa 066             80 Hayes Rd                                                      South Windsor, CT 06074‐1466                                                                        First Class Mail
Voting Party                   Saint Junipero Serra Parish                                                        c/o Roman Catholic Archdiocese of Los Angeles   Attn: Margaret Graf                                              3424 Wilshire Blvd             Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Justin The Martyr                                                            Greater St Louis Area Council 312               11914 Eddie and Park Rd                                          Saint Louis, MO 63126‐2908                                                                          First Class Mail
Chartered Organization         Saint Kateri Catholic Parish                                                       W.L.A.C.C. 051                                  22508 Copper Hill Dr                                             Santa Clarita, CA 91350‐4299                                                                        First Class Mail
Voting Party                   Saint Kateri Catholic Parish                                                       c/o Roman Catholic Archdiocese of Los Angeles   Attn: Margaret Graf                                              3424 Wilshire Blvd             Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Kateri Tekakwitha Parish                                                     Twin Rivers Council 364                         1803 Union St                                                    Schenectady, NY 12309‐6341                                                                          First Class Mail
Chartered Organization         Saint Kateri Tekakwitha Rc Parish                                                  Patriots Path Council 358                       427 Stanhope Rd                                                  Sparta, NJ 07871‐2814                                                                               First Class Mail
Chartered Organization         Saint Kateri Tekawitha Parish                                                      Seneca Waterways 397                            445 Kings Hwy S                                                  Rochester, NY 14617‐4138                                                                            First Class Mail
Chartered Organization         Saint Katharine Drexel Catholic Church                                             National Capital Area Council 082               8428 Opossumtown Pike                                            Frederick, MD 21702‐2408                                                                            First Class Mail
Chartered Organization         Saint Katharine Drexel Church                                                      New Birth of Freedom 544                        1 Peters Dr                                                      Mechanicsburg, PA 17050‐8217                                                                        First Class Mail
Chartered Organization         Saint Katharine Drexel School (Skds)                                               Bay‐Lakes Council 635                           503 S Spring St                                                  Beaver Dam, WI 53916‐2517                                                                           First Class Mail
Chartered Organization         Saint Katherine Drexel Parish                                                      Laurel Highlands Council 527                    126 Church St                                                    Bentleyville, PA 15314‐1406                                                                         First Class Mail
Chartered Organization         Saint Kevins Rc Church                                                             Greater New York Councils, Bsa 640              4521 194th St                                                    Flushing, NY 11358‐3533                                                                             First Class Mail
Chartered Organization         Saint Ladislas Church                                                              Lake Erie Council 440                           2345 Bassett Rd                                                  Westlake, OH 44145‐2910                                                                             First Class Mail
Chartered Organization         Saint Lawrence Martyr Church                                                       Greater Los Angeles Area 033                    1940 S Prospect Ave                                              Redondo Beach, CA 90277‐6003                                                                        First Class Mail
Voting Party                   Saint Lawrence Martyr Church                                                       c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd             Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Lawrence Martyr Church                                                       Margaret Gaffney Graf                           N/A                                                              N/A                                                                                                 First Class Mail
Chartered Organization         Saint Leo Catholic Church                                                          Sam Houston Area Council 576                    2131 Lauder Rd                                                   Houston, TX 77039‐3109                                                                              First Class Mail
Chartered Organization         Saint Louis Church                                                                 W D Boyce 138                                   616 S Gosse Blvd                                                 Princeton, IL 61356‐1920                                                                            First Class Mail
Chartered Organization         Saint Louis Roman Catholic Church                                                  Baltimore Area Council 220                      12500 State Route 108                                            Clarksville, MD 21029‐1534                                                                          First Class Mail
Chartered Organization         Saint Luke Catholic Church                                                         Lincoln Heritage Council 205                    4211 Jim Hawkins Dr                                              Louisville, KY 40229‐2059                                                                           First Class Mail
Chartered Organization         Saint Luke Parish                                                                  Patriots Path Council 358                       P.O. Box 416                                                     Long Valley, NJ 07853‐0416                                                                          First Class Mail
Voting Party                   Saint Luke United Methodist Church                                                 Attn: Treasurer, Saint Luke Umc                 1608 E Pine St                                                   Goldsboro, NC 27530                                              stlukepastor@nc.rr.com             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Luke's Chapel                                                                435 W 141st St                                  New York, NY 10031                                                                                                                ktorge@mcgivneyandkluger.com       Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Luke's Chapel                                                                c/o Mcgivney, Kluger, Clark & Intoccia, P.C.    Attn:Kevin D. Torge                                              435 W 141st St                 New York, NY 10031                ellen.stmoffice1@verizon.net       Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Luke'S Episcopal Church                                                      James Iacone                                    17 Oak Ave                                                       Metuchen, NJ 08840                                               ji_warden@stlukesmetuchen.org      Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Luke's Episcopal Church                                                      Attn: Michael T Grosso, Littler Mendelson, Pc   One Newark Center, 8th Fl                                        1085 Raymond Blvd              Newark, NJ 07102                  ji_warden@stlukesmetuchen.org      Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Luke's Episcopal Church Alex, VA                                             Attn: George Charlton Omohundro                 8009 Fort Hunt Rd                                                Alexandria, VA 22308                                             landgo@verizon.net                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Lukes Lutheran Church                                                        Juniata Valley Council 497                      301 N Penna Ave                                                  Centre Hall, PA 16828                                                                               First Class Mail
Chartered Organization         Saint Luke'S Methodist Church Men                                                  Greater St Louis Area Council 312               6325 W Main St                                                   Maryville, IL 62062‐5783                                                                            First Class Mail
Voting Party                   Saint Lutheran Church                                                              Attn: Debra Pignatelli                          159‐19 98th St                                                   Howard Beach, NY 11414                                           debrap62400@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Margaret Mary                                                                Blackhawk Area 660                              111 S Hubbard St                                                 Algonquin, IL 60102‐2807                                                                            First Class Mail
Chartered Organization         Saint Margaret Mary Catholic Church                                                Southeast Louisiana Council 214                 1050 Robert Blvd                                                 Slidell, LA 70458‐2078                                                                              First Class Mail
Chartered Organization         Saint Margaret Mary Parish                                                         Blackhawk Area 660                              111 S Hubbard St                                                 Algonquin, IL 60102‐2807                                                                            First Class Mail
Chartered Organization         Saint Margarets Church                                                             Rio Grande Council 775                          122 W Hawk Ave                                                   Pharr, TX 78577‐3853                                                                                First Class Mail
Chartered Organization         Saint Maria Goretti Church                                                         Crossroads of America 160                       17102 Spring Mill Rd                                             Westfield, IN 46074‐9673                                                                            First Class Mail
Chartered Organization         Saint Mark Baptist Church Little Rock                                              Quapaw Area Council 018                         5722 W 12th St                                                   Little Rock, AR 72204‐1705                                                                          First Class Mail
Chartered Organization         Saint Mark Catholic Church                                                         Crossroads of America 160                       541 E Edgewood Ave                                               Indianapolis, IN 46227‐2031                                                                         First Class Mail
Chartered Organization         Saint Mark Coptic Orthodox Church                                                  Pacific Harbors Council, Bsa 612                12407 214th Ave E                                                Bonney Lake, WA 98391‐7266                                                                          First Class Mail
Voting Party                   Saint Mark Lakerland                                                               c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Mark Lutheran Church                                                         President Gerald R Ford 781                     1934 52nd St Se                                                  Grand Rapids, MI 49508‐4915                                                                         First Class Mail
Chartered Organization         Saint Mark Lutheran Church                                                         Northeast Illinois 129                          1822 E Grand Ave                                                 Lindenhurst, IL 60046‐7821                                                                          First Class Mail
Voting Party                   Saint Mark United Methodist Church Kankakee                                        Attn: Mary Smith                                1200 W Calista                                                   Kankakee, IL 60901                                               stmarkumck3@sbcglobal.net          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Mark United Methodist Church, Inc.                                           Attn: Tom Miller                                108 Forest Dr E                                                  Greenwood, SC 29646                                              tommiller@centurylink.net          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Mark United Methodist Church, Inc.                                           Attn: Tom Miller                                550 Hwy 72 Bypass NW                                             Greenwood, SC 29649                                              tommiller@centurylink.net          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Mark Utd Methodist Church                                                    Black Warrior Council 006                       1421 Mcfarland Blvd                                              Northport, AL 35476‐3237                                                                            First Class Mail
Chartered Organization         Saint Mark'S Episcopal Church                                                      Laurel Highlands Council 527                    335 Locust St                                                    Johnstown, PA 15901‐1606                                                                            First Class Mail
Voting Party                   Saint Mark's Episcopal Church                                                      St. Marks Episcopal Church                      3120 E 24th St                                                   Des Moines, IA 50317                                             kathleen_travis@msn.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Marks Parish                                                                 W D Boyce 138                                   1113 W Bradley Ave                                               Peoria, IL 61606‐1722                                                                               First Class Mail
Voting Party                   Saint Mark's UMC 3149 US 70W Marion, NC 28752                                      c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200       Tampa, FL 33602                   erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Marks United Methodist Church, San Diego, CA                                 Attn: Stanley Watson                            3502 Clairemont Dr                                               San Diego, CA 92117                                              sdo_watson@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Marks Utd Methodist Church                                                   Andrew Jackson Council 303                      400 Grants Ferry Rd                                              Brandon, MS 39047‐9036                                                                              First Class Mail
Chartered Organization         Saint Marks Utd Methodist Church                                                   Colonial Virginia Council 595                   99 E Mercury Blvd                                                Hampton, VA 23669‐2970                                                                              First Class Mail
Chartered Organization         Saint Mark'S Utd Methodist Church                                                  Piedmont Council 420                            3149 Hwy 70 W                                                    Marion, NC 28752                                                                                    First Class Mail
Chartered Organization         Saint Mark'S Utd Methodist Woman                                                   Colonial Virginia Council 595                   99 E Mercury Blvd                                                Hampton, VA 23669‐2970                                                                              First Class Mail
Chartered Organization         Saint Martin De Porres Academy                                                     Connecticut Yankee Council Bsa 072              8 Columbus Ave                                                   New Haven, CT 06519                                                                                 First Class Mail
Voting Party                   Saint Martin Of Tours Roman Catholic Church At Buffalo                             c/o Woods Oviatt Gilman LLP                     Attn: Timothy P Lyster, Esq                                      1900 Bausch & Lomb Pl          Rochester, NY 14604               tlyster@woodsoviatt.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Martin'S & Saint Luke'S Episcopal Parish                                     c/o Mcgivney, Kluger, Clark & Intoccia, P.C.    Attn: Kevin D Torge, Esq.                                        80 Broad St, 23rd Fl           New York, NY 10004                ktorge@mcgivneyandkluger.com       Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Martin's & Saint Luke's Episcopal Parish                                     230 Lenox Ave                                   New York, NY 10027                                                                                                                ktorge@mcgivneyandkluger.com       Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Martin's & Saint Luke'S Episcopal Parish                                     c/o Mcgivney, Kluger, Clark & Intoccia, P.C.    Attn: Kevin D Torge, Esq.                                        230 Lenox Ave                  New York, NY 10027                ellen.stmoffice1@verizon.net       Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Martin's Episcopal Church                                                    Attn: Arthur Emerson Bell                       1510 E 7th St                                                    Charlotte, NC 28204                                              staff@stmartins‐charlotte.org      Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                Page 326 of 442
                                                                                      Case 20-10343-LSS                                                       Doc 8171                                   Filed 01/06/22                                                  Page 342 of 457
                                                                                                                                                                                            Exhibit B
                                                                                                                                                                                             Service List
                                                                                                                                                                                      Served as set forth below

        Description                                                          Name                                                                                                         Address                                                                                                             Email               Method of Service
Chartered Organization         Saint Mary & Saint Mercurius Church                           Northern New Jersey Council, Bsa 333                       125 Academy St                                          Belleville, NJ 07109‐2505                                                                              First Class Mail
Chartered Organization         Saint Mary And Saint Antonios                                 Greater New York Councils, Bsa 640                         606 Woodward Ave                                        Ridgewood, NY 11385‐2228                                                                               First Class Mail
Chartered Organization         Saint Mary Catholic Church                                    Simon Kenton Council 441                                   82 E William St                                         Delaware, OH 43015‐2346                                                                                First Class Mail
Chartered Organization         Saint Mary Catholic Church                                    Three Rivers Council 578                                   912 W Cherry Ave                                        Orange, TX 77630‐5017                                                                                  First Class Mail
Chartered Organization         Saint Mary Gate Of Heaven Rc Church                           Greater New York Councils, Bsa 640                         10312 101st Ave                                         Ozone Park, NY 11416‐2624                                                                              First Class Mail
Chartered Organization         Saint Mary Immaculate Conception Church                       Laurel Highlands Council 527                               1405 5th Ave                                            Altoona, PA 16602‐3619                                                                                 First Class Mail
Chartered Organization         Saint Mary Magdalen Parish                                    Mt Diablo‐Silverado Council 023                            2005 Berryman St                                        Berkeley, CA 94709‐1920                                                                                First Class Mail
Chartered Organization         Saint Mary Of Sorrows Catholic Church                         National Capital Area Council 082                          5222 Sideburn Rd                                        Fairfax, VA 22032‐2640                                                                                 First Class Mail
Chartered Organization         Saint Mary Of The Assumption                                  Mayflower Council 251                                      27 Pearl St                                             Milford, MA 01757‐1613                                                                                 First Class Mail
Chartered Organization         Saint Mary Of The Assumption                                  National Capital Area Council 082                          14908 Main St                                           Upper Marlboro, MD 20772‐3143                                                                          First Class Mail
Voting Party                   Saint Mary Of The Isle Church                                 c/o Westerman Ball Ederer Miller Zucker & Sharfstein LLP   Attn: Jw/Wch                                            1201 Rxr Plz                      Uniondale, NY 11556              wheuer@westermanllp.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Mary Of The Sacred Heart                                Mayflower Council 251                                      392 Hanover St                                          Hanover, MA 02339‐2215                                                                                 First Class Mail
Voting Party                   Saint Mary Parish Tiffin                                      Attn: Thomas Antonini                                      1933 Spielbusch Ave                                     Toledo, OH 43604                                                   tantonini@toledodiocese.org         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Marys Catholic Church                                   Mid‐America Council 326                                    2302 Crawford St                                        Bellevue, NE 68005‐5101                                                                                First Class Mail
Chartered Organization         Saint Marys Catholic Church                                   Erie Shores Council 460                                    609 Vine St                                             Clyde, OH 43410‐1537                                                                                   First Class Mail
Chartered Organization         Saint Marys Catholic Church                                   Crossroads of America 160                                  2300 W Jackson St                                       Muncie, IN 47303‐4773                                                                                  First Class Mail
Chartered Organization         Saint Marys Catholic Church                                   Quivira Council, Bsa 198                                   106 E 8th St                                            Newton, KS 67114‐1802                                                                                  First Class Mail
Chartered Organization         Saint Marys Catholic Church                                   Narragansett 546                                           1 Power St                                              Norton, MA 02766‐3127                                                                                  First Class Mail
Chartered Organization         Saint Marys Catholic Church                                   Coronado Area Council 192                                  230 E Cloud St                                          Salina, KS 67401‐6402                                                                                  First Class Mail
Chartered Organization         Saint Mary'S Catholic Church                                  North Florida Council 087                                  1143 W Macclenny Ave                                    Macclenny, FL 32063‐4459                                                                               First Class Mail
Chartered Organization         Saint Mary'S Catholic Church                                  Crossroads of America 160                                  2300 W Jackson St                                       Muncie, IN 47303‐4773                                                                                  First Class Mail
Chartered Organization         Saint Mary'S Catholic Church                                  National Capital Area Council 082                          520 Veirs Mill Rd                                       Rockville, MD 20852‐1131                                                                               First Class Mail
Chartered Organization         Saint Mary'S Catholic Church                                  National Capital Area Council 082                          600 Veirs Mill Rd                                       Rockville, MD 20852‐1139                                                                               First Class Mail
Chartered Organization         Saint Mary'S Church                                           Leatherstocking 400                                        39 Walnut St                                            Oneonta, NY 13820‐1937                                                                                 First Class Mail
Chartered Organization         Saint Mary'S Church                                           New Birth of Freedom 544                                   309 S George St                                         York, PA 17401‐5514                                                                                    First Class Mail
Chartered Organization         Saint Mary'S Episcopal Church                                 Indian Waters Council 553                                  170 Saint Andrews Rd                                    Columbia, SC 29210‐4107                                                                                First Class Mail
Voting Party                   Saint Mary's Episcopal Church                                 Attn: Julian R Eibin                                       1 Saint Marys Church Rd                                 Abingdon, MD 21009                                                 office@stmarysharford.org           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Mary's Episcopal Church                                 Attn: Treasurer                                            1836 E Main St                                          Mohegan Lake, NY 10547                                             chris@stmarysmoheganlake.org        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Mary's Episcopal Church                                 108 W Farriss Ave                                          High Point, NC 27262                                                                                                       admin@stmarysepisc.org              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Mary'S In The Hills Episc Ch                            Great Lakes Fsc 272                                        2512 Joslyn Ct                                          Lake Orion, MI 48360‐1938                                                                              First Class Mail
Chartered Organization         Saint Marys Parish                                            Montana Council 315                                        405 Main St                                             Chester, MT 59522                                                                                      First Class Mail
Chartered Organization         Saint Mary'S Parish Council                                   Gamehaven 299                                              1303 W Broadway St                                      Winona, MN 55987‐2327                                                                                  First Class Mail
Chartered Organization         Saint Marys Roman Catholic Church                             Black Swamp Area Council 449                               707 Jefferson Ave                                       Defiance, OH 43512‐2860                                                                                First Class Mail
Chartered Organization         Saint Mary'S Saint Mercurius Church                           Northern New Jersey Council, Bsa 333                       125 Academy St                                          Belleville, NJ 07109‐2505                                                                              First Class Mail
Chartered Organization         Saint Matthew Apostle Catholic Church                         Simon Kenton Council 441                                   807 Havens Corners Rd                                   Gahanna, OH 43230‐3114                                                                                 First Class Mail
Chartered Organization         Saint Matthew Catholic Church                                 Flint River Council 095                                    215 Kirkley Rd                                          Tyrone, GA 30290‐1504                                                                                  First Class Mail
Chartered Organization         Saint Matthew Lutheran Church                                 Garden State Council 690                                   318 Chester Ave                                         Moorestown, NJ 08057‐2526                                                                              First Class Mail
Chartered Organization         Saint Matthews Catholic Church                                Hawkeye Area Council 172                                   2310 1st Ave Ne                                         Cedar Rapids, IA 52402‐4935                                                                            First Class Mail
Chartered Organization         Saint Matthew'S Episcopal Church                              Grand Canyon Council 010                                   P.O. Box 1959                                           Chandler, AZ 85244‐1959                                                                                First Class Mail
Voting Party                   Saint Matthew's Episcopal Church                              Attn: Robert Brown                                         101 Saint Matthews Ln                                   Spartanburg, SC 29301                                              fatherrob@stmatthewsepiscopal.org   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Matthew's Episcopal Church Of Parker                    19580 Pilgrims Pl                                          Parker, CO 80138                                                                                                           frmichael@smecp.org                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Matthew's Episcopal Church Sterling VA                  Attn: Daniel Ross Robertson                                201 E Frederick                                         Sterling, VA 20164                                                 office@stmtts.org                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Matthew's United Methodist Church                       Attn: Kimberly Alexander                                   1362 S Prescott Rd                                      Memphis, TN 38111                                                  smumc1362@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Matthias Episcopal Church Of Monument                   18320 Furrow Rd                                            Monument, CO 80132                                                                                                         bankruptcy@messner.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Maur International School                               Far E Council 803                                          83 Yamate‐Cho Naka‐Ku                                   Yokohama                          Japan                                                                First Class Mail
Chartered Organization         Saint Maximillian Kolbe R C C                                 Connecticut Rivers Council, Bsa 066                        19 Electric Ave                                         Thomaston, CT 06787‐1651                                                                               First Class Mail
Chartered Organization         Saint Micael Lutheran Church                                  Great Lakes Fsc 272                                        7000 N Sheldon Rd                                       Canton, MI 48187‐2753                                                                                  First Class Mail
Voting Party                   Saint Michael And All Angels Episcopal Church                 Attn: Chris Girata, Rector                                 8011 Douglas Ave                                        Dallas, TX 75225                                                   cgirata@saintmichael.org            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Michael Catholic Church                                 Lincoln Heritage Council 205                               11400 Farmers Ln Ne                                     Greenville, IN 47124‐7951                                                                              First Class Mail
Chartered Organization         Saint Michael Catholic Church                                 San Francisco Bay Area Council 028                         458 Maple St                                            Livermore, CA 94550‐3238                                                                               First Class Mail
Chartered Organization         Saint Michael Parish                                          Pine Tree Council 218                                      P.O. Box 555                                            Augusta, ME 04332‐0555                                                                                 First Class Mail
Chartered Organization         Saint Michaels Catholic Church                                Pee Dee Area Council 552                                   542 Cypress Ave                                         Murrells Inlet, SC 29576‐8739                                                                          First Class Mail
Chartered Organization         Saint Michaels Church                                         Catalina Council 011                                       602 N Wilmot Rd                                         Tucson, AZ 85711‐2702                                                                                  First Class Mail
Chartered Organization         Saint Michaels Episcopal Church                               Capitol Area Council 564                                   1500 N Capital of Texas Hwy                             Austin, TX 78746‐3320                                                                                  First Class Mail
Voting Party                   Saint Michael's Episcopal Church                              Attn: Jeunee Godsey                                        2040 Mcrae Rd                                           Bon Air, VA 23235                                                  offce@stmicaelsbonair.org           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Michael's Episcopal Church And University Center        Attn: Craig P Fickling                                     640 N Washington Ave                                    Cookeville, TN 38501                                               crfickling@gmail.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Mina Coptic Orthodox Church                             Monmouth Council, Bsa 347                                  132 State Route 34                                      Holmdel, NJ 07733‐2089                                                                                 First Class Mail
Chartered Organization         Saint Monica Catholic Church                                  Crossroads of America 160                                  6131 Michigan Rd                                        Indianapolis, IN 46228‐1201                                                                            First Class Mail
Chartered Organization         Saint Nicholas Byzantine Catholic Church                      Lake Erie Council 440                                      2711 W 40th St                                          Lorain, OH 44053‐2252                                                                                  First Class Mail
Chartered Organization         Saint Nicholas Catholic Church                                Black Swamp Area Council 449                               P.O. Box 36                                             Miller City, OH 45864‐0036                                                                             First Class Mail
Chartered Organization         Saint Nicholas Episcopal Church                               Longhorn Council 662                                       4800 Wichita Trl                                        Flower Mound, TX 75022‐5121                                                                            First Class Mail
Chartered Organization         Saint Nicholas Lutheran Church                                National Capital Area Council 082                          1450 Plum Point Rd                                      Huntingtown, MD 20639‐9215                                                                             First Class Mail
Chartered Organization         Saint Odilia Catholic Church                                  Catalina Council 011                                       7570 N Paseo Del Norte                                  Tucson, AZ 85704‐4419                                                                                  First Class Mail
Chartered Organization         Saint Olaf Roman Catholic Parish                              Chief Seattle Council 609                                  18943 Caldart Ave NE                                    Poulsbo, WA 98370‐8700                                                                                 First Class Mail
Chartered Organization         Saint Olafs Catholic Church & School                          Chippewa Valley Council 637                                P.O. Box 1203                                           Eau Claire, WI 54702‐1203                                                                              First Class Mail
Chartered Organization         Saint Padre Pio Catholic Church                               Alamo Area Council 583                                     20770 US Hwy 281 N, Ste 108                             San Antonio, TX 78258‐7500                                                                             First Class Mail
Voting Party                   Saint Paris United Methodist Church                           Attn: Daniel L Bey, Finance Committee Chairman             208 W Walnut St                                         St. Paris, OH 43072                                                dbey@martinbrowne.com               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Patrick Catholic Church                                 Tecumseh 439                                               328 E Patterson Ave                                     Bellefontaine, OH 43311‐1961                                                                           First Class Mail
Chartered Organization         Saint Patrick Catholic Church                                 Mecklenburg County Council 415                             1621 Dilworth Rd E                                      Charlotte, NC 28203‐5209                                                                               First Class Mail
Chartered Organization         Saint Patrick Catholic Church                                 Mid‐America Council 326                                    422 E 4th St                                            Fremont, NE 68025‐5128                                                                                 First Class Mail
Chartered Organization         Saint Patrick Catholic Church                                 Rainbow Council 702                                        428 S Indiana Ave                                       Kankakee, IL 60901‐5114                                                                                First Class Mail
Chartered Organization         Saint Patrick Catholic Parish Pasco                           Blue Mountain Council 604                                  1320 W Henry St                                         Pasco, WA 99301‐4064                                                                                   First Class Mail
Chartered Organization         Saint Patrick Church                                          Connecticut Rivers Council, Bsa 066                        32 E Main St                                            Mystic, CT 06355‐2827                                                                                  First Class Mail
Chartered Organization         Saint Patrick School                                          Laurel Highlands Council 527                               200 Murdock St                                          Canonsburg, PA 15317‐1140                                                                              First Class Mail
Chartered Organization         Saint Patricks Catholic Church                                Longs Peak Council 062                                     340 Cedar St                                            Chadron, NE 69337‐2452                                                                                 First Class Mail
Chartered Organization         Saint Patricks Catholic Church                                Pikes Peak Council 060                                     6455 Brook Park Dr                                      Colorado Springs, CO 80918‐1441                                                                        First Class Mail
Chartered Organization         Saint Patricks Catholic Church                                Choctaw Area Council 302                                   2614 Davis St                                           Meridian, MS 39301‐5705                                                                                First Class Mail
Chartered Organization         Saint Patricks Catholic Church                                Gateway Area 624                                           1031 Main St                                            Onalaska, WI 54650‐2742                                                                                First Class Mail
Chartered Organization         Saint Patricks Catholic Church                                Crossroads of America 160                                  1807 Poplar St                                          Terre Haute, IN 47803‐2150                                                                             First Class Mail
Chartered Organization         Saint Patrick'S Episcopal Church                              Great Swest Council 412                                    225 S Pagosa Blvd                                       Pagosa Springs, CO 81147‐8396                                                                          First Class Mail
Chartered Organization         Saint Paul ‐ Castlewood Kiwanis                               Sequoyah Council 713                                       3820 Bull Hill Rd                                       Saint Paul, VA 24283‐3200                                                                              First Class Mail
Chartered Organization         Saint Paul African Methodist Episcopal                        Simon Kenton Council 441                                   639 E Long St                                           Columbus, OH 43215‐1746                                                                                First Class Mail
Chartered Organization         Saint Paul Catholic Church                                    Pikes Peak Council 060                                     9 El Pomar Rd                                           Colorado Springs, CO 80906‐4227                                                                        First Class Mail
Chartered Organization         Saint Paul Episcopal Church                                   Westark Area Council 016                                   224 N East Ave                                          Fayetteville, AR 72701‐5225                                                                            First Class Mail
Chartered Organization         Saint Paul Lutheran Church                                    Cascade Pacific Council 492                                312 1st Ave Sw                                          Castle Rock, WA 98611                                                                                  First Class Mail
Chartered Organization         Saint Paul Lutheran Church                                    Trapper Trails 589                                         3329 Harrison Blvd                                      Ogden, UT 84403‐1228                                                                                   First Class Mail
Voting Party                   Saint Paul Lutheran Church                                    214 3rd St SW                                              Pine Island, MN 55963                                                                                                      saintpaulpi@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul Lutheran Church                                    c/o Rockne Law Office                                      Attn: Matthew C Rockne                                  P.O. Box 7                        Zumbrota, MN 55992Z              rocknelaw@hcinet.net                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul Lutheran Church                                    c/o Rockne Law Office                                      Attn: Matthew C Rockne                                  P.O. Box 7                        Zumbrota, MN 55992               rocknelaw@hcinet.net                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Paul Methodist Church                                   Ozark Trails Council 306                                   2423 W 26th St                                          Joplin, MO 64804‐1406                                                                                  First Class Mail
Voting Party                   Saint Paul Methodist Church Lusby Md                          Attn: Teresa Herren                                        11000 H.G. Trueman Rd                                   Lusby, MD 20657                                                    Therren.stpaul@comcast.net          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Paul Of The Cross                                       Anthony Wayne Area 157                                     315 S Line St                                           Columbia City, IN 46725‐2421                                                                           First Class Mail
Chartered Organization         Saint Paul Parish                                             Greater St Louis Area Council 312                          1412 9th St                                             Highland, IL 62249‐1621                                                                                First Class Mail
Chartered Organization         Saint Paul The Apostle School                                 Illowa Council 133                                         1007 E Rusholme St                                      Davenport, IA 52803‐2549                                                                               First Class Mail
Voting Party                   Saint Paul Umc                                                c/o Bradley Arant Boult Cummings, LLP                      Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul United Methodist Church                            Attn: Tammie Brown                                         2509 W Beebe‐Capps Expwy                                Searcy, AR 72143                                                   lraines@fridayfirm.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP                      Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul United Methodist Church (181003)                   c/o Bentz Law Firm                                         Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul United Methodist Church Inc                        Attn: Treasurer                                            4201 West 3rd St                                        Bloomington, IN 47404                                              jl@sieferslaw.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Paul Utd Methodist Church                               Miami Valley Council, Bsa 444                              120 N Maple St                                          Eaton, OH 45320‐1826                                                                                   First Class Mail
Chartered Organization         Saint Paul Utd Methodist Church                               Buckeye Council 436                                        746 Cherry St                                           Galion, OH 44833‐2405                                                                                  First Class Mail
Chartered Organization         Saint Paul Utd Methodist Church                               Cornhusker Council 324                                     1144 M St                                               Lincoln, NE 68508‐2123                                                                                 First Class Mail
Chartered Organization         Saint Paul'S ‐ Summerville                                    Coastal Carolina Council 550                               111 Waring St                                           Summerville, SC 29483‐4350                                                                             First Class Mail
Chartered Organization         Saint Pauls Catholic Church                                   Gulf Coast Council 773                                     1700 Conway Dr                                          Pensacola, FL 32503‐6219                                                                               First Class Mail
Chartered Organization         Saint Pauls Episcopal Church                                  Pacific Skyline Council 031                                415 El Camino Real                                      Burlingame, CA 94010‐5122                                                                              First Class Mail
Chartered Organization         Saint Pauls Episcopal Church                                  Mt Diablo‐Silverado Council 023                            1924 Trinity Ave                                        Walnut Creek, CA 94596‐4037                                                                            First Class Mail
Voting Party                   Saint Paul's Episcopal Church                                 Attn: The Rev Luke A. Wetzel, Rector                       60 Akenside Rd                                          Riverside, IL 60546                                                rector@stpaulsparish.org            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul's Episcopal Church                                 301 E Stuart St                                            Fort Collins, CO 80525                                                                                                     rector@stpauls‐fc.org               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul'S Episcopal Church                                 Attn: William Lewis Ogburn                                                                                                                                                            rector@stpaulscarrollst.org         Email
Voting Party                   Saint Paul's Episcopal Church                                 Attn: William Lewis Ogburn                                 199 Carroll St                                          Brooklyn, NY 11231                                                 info@stpaulscarrollst.org           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul's Episcopal Church/Daphne                          Attn: William H Harrison III                               28788 N Main St                                         Daphne, AL 36526                                                   officestpaulsdaphne@gmail.com       Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Pauls Lutheran Church                                   New Birth of Freedom 544                                   25 W Springettsbury Ave                                 York, PA 17403‐2203                                                                                    First Class Mail
Voting Party                   Saint Paul's Lutheran Church Salisbury NC                     Attn: Timothy Deal                                         205 Saint Pauls Church Rd                               Salisbury, NC 28146                                                splchurch@att.net                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul's Umc ‐ Chesapeake                                 c/o Bradley Arant Boult Cummings, LLP                      Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul'S Umc Castleton                                    Attn: Wendy Yorkbriggs                                     8 Short St                                              Castleton On Hudson, NY 12033                                      wendyyorkbriggs@gmail.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul's Umc Castleton, NY                                Attn: Wendy Yorkbriggs                                     1583 Carney Rd                                          Castleton, NY 12033                                                wendyyorkbriggs@gmail.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Pauls United Methodist ‐ Tallahassee                    c/o Bradley Arant Boult Cummings, LLP                      Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Pauls United Methodist ‐ Tallahassee                    1700 N Merdian Rd                                          Tallhassee, FL 32303                                                                                                                                           First Class Mail
Voting Party                   Saint Pauls United Methodist Church                           Attn: George Clark                                         7558 Amboy Rd                                           Staten Island, NY 10307                                            gclark154@verizon.net               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Pauls United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP                      Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul's United Methodist Church                          130 N Central Ave                                          Hartsdale, NY 10530                                                                                                        spumchartsdale@verizon.net          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul's United Methodist Church                          Attn: Dixie Barnes, Treasurer                              2111 Carlton Ave                                        Colorado Springs, CO 80909                                         dixiebarnes@comcast.net             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Pauls United Methodist Church ‐ Brick                   c/o Bradley Arant Boult Cummings, LLP                      Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Pauls United Methodist Church ‐ Gretna                  c/o Bradley Arant Boult Cummings, LLP                      Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Paul's United Methodist Church Of Joplin Missouri       Attn: Ben Bainbridge, Exec Pastor                          2423 W 26th St                                          Joplin, MO 64804                                                   bbainbridge@sp.church               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Pauls Utd Church Of Christ                              Miami Valley Council, Bsa 444                              820 Dingman St                                          Sidney, OH 45365‐2822                                                                                  First Class Mail
Chartered Organization         Saint Paul'S Utd Methodist Ch Ponca City                      Cimarron Council 474                                       1904 N Pecan Rd                                         Ponca City, OK 74604‐3000                                                                              First Class Mail
Chartered Organization         Saint Pauls Utd Methodist Church                              Jersey Shore Council 341                                   714 Herbertsville Rd                                    Brick, NJ 08724‐1109                                                                                   First Class Mail
Chartered Organization         Saint Pauls Utd Methodist Church                              Yucca Council 573                                          225 W Griggs Ave                                        Las Cruces, NM 88005‐2608                                                                              First Class Mail
Chartered Organization         Saint Pauls Utd Methodist Church                              Pennsylvania Dutch Council 524                             398 N Locust St                                         North Spruce & Oak Sts                                                                                 First Class Mail
Chartered Organization         Saint Pauls Utd Methodist Church                              Buckskin 617, 20th St                                      Nitro, WV 25143                                                                                                                                                First Class Mail
Chartered Organization         Saint Pauls Utd Methodist Church                              Indian Nations Council 488                                 P.O. Box 368                                            Okemah, OK 74859‐0368                                                                                  First Class Mail
Chartered Organization         Saint Pauls Utd Methodist Men                                 Suwannee River Area Council 664                            1700 N Meridian Rd                                      Tallahassee, FL 32303‐5646                                                                             First Class Mail
Chartered Organization         Saint Peter & Paul Catholic Church                            Southeast Louisiana Council 214                            66192 Saint Mary Dr                                     Pearl River, LA 70452‐5706                                                                             First Class Mail
Chartered Organization         Saint Peter Catholic Church                                   Pikes Peak Council 060                                     55 Jefferson St                                         Monument, CO 80132‐9064                                                                                First Class Mail
Chartered Organization         Saint Peters Catholic Church                                  Coastal Carolina Council 550                               70 Ladys Island Dr                                      Beaufort, SC 29907‐1643                                                                                First Class Mail
Chartered Organization         Saint Peters Episcopal Church                                 Garden State Council 690                                   1 Hartford Rd                                           Medford, NJ 08055‐9051                                                                                 First Class Mail
Chartered Organization         Saint Peters Episcopal Church                                 Heart of Virginia Council 602                              2961 Kings Hwy                                          Oak Grove, VA 22443                                                                                    First Class Mail
Voting Party                   Saint Peter's Episcopal Church                                311 High St                                                P.O. Box 27                                             Paris, KY 40362                                                    stpetersparisky@gmail.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Peter's Episcopal Church                                Attn: Sharon Mackenzie                                     71 River St                                             Milford, CT 06460                                                  smackenze@optonline.net             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Saint Peters Lutheran Church                                  Baltimore Area Council 220                                 4300 Church Rd                                          Hampstead, MD 21074‐2724                                                                               First Class Mail
Chartered Organization         Saint Peters Lutheran Church Men                              Indian Waters Council 553                                  1130 Saint Peters Rd                                    Lexington, SC 29072‐9511                                                                               First Class Mail
Chartered Organization         Saint Peters Police Dept                                      Greater St Louis Area Council 312                          1020 Grand Teton Dr                                     Saint Peters, MO 63376‐1542                                                                            First Class Mail
Chartered Organization         Saint Peters Utd Methodist Church                             Jersey Shore Council 341                                   501 E 8th St                                            Ocean City, NJ 08226‐3719                                                                              First Class Mail
Chartered Organization         Saint Philip Catholic Church                                  Southern Shores Fsc 783                                    126 Capital Ave NE                                      Battle Creek, MI 49017‐3927                                                                            First Class Mail
Chartered Organization         Saint Philip Neri                                             Saint Albert Catholic Church                               3108 Van Buren St                                       Alameda, CA 94501‐4840                                                                                 First Class Mail
Voting Party                   Saint Philip's Episcopal Church Jackson, Mississippi          Attn: Marcus M Wilson                                      190 E Capitol St, Ste 650                               Jackson, MS 39201                                                  mwilson@blswlaw.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Saint Philip'S Episcopal Church Jackson, Mississippi          Attn: Dottee Everett                                       5400 Old Canton Rd                                      Jackson, MS 39211                                                  dottee.everett@gmail.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                             Page 327 of 442
                                                                                   Case 20-10343-LSS                                          Doc 8171                                            Filed 01/06/22                                                      Page 343 of 457
                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                      Service List
                                                                                                                                                                               Served as set forth below

        Description                                                        Name                                                                                                    Address                                                                                                            Email                     Method of Service
Voting Party                   Saint Phillips United Methodist Church (85220)                 c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200           Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Saint Pius Men's Club                                          Pacific Skyline Council 031               1100 Woodside Rd                                                 Redwood City, CA 94061‐3627                                                                                 First Class Mail
Chartered Organization         Saint Pius X Catholic Church                                   Heart of America Council 307              5601 Woodson St                                                  Mission, KS 66202‐1942                                                                                      First Class Mail
Chartered Organization         Saint Pius X Catholic Church                                   Rocky Mountain Council 063                3130 Morris Ave                                                  Pueblo, CO 81008‐1338                                                                                       First Class Mail
Chartered Organization         Saint Pius X Church                                            Crossroads of America 160                 7200 Sarto Dr                                                    Indianapolis, IN 46240‐3509                                                                                 First Class Mail
Chartered Organization         Saint Pius X Roman Catholic Church                             Westmoreland Fayette 512                  216 Spruce St                                                    Mount Pleasant, PA 15666‐1940                                                                               First Class Mail
Chartered Organization         Saint Rafka Maronite Catholic Church                           Great Lakes Fsc 272                       32765 Lyndon St                                                  Livonia, MI 48154‐4103                                                                                      First Class Mail
Chartered Organization         Saint Raphael Church                                           Laurel Highlands Council 527              1118 Chislett St                                                 Pittsburgh, PA 15206‐1304                                                                                   First Class Mail
Chartered Organization         Saint Raphael Roman Catholic Church                            Greater Niagara Frontier Council 380      3840 Macklem Ave                                                 Niagara Falls, NY 14305‐1834                                                                                First Class Mail
Chartered Organization         Saint Raymond Of Penafort                                      Connecticut Rivers Council, Bsa 066       64 Pearl St                                                      Enfield, CT 06082‐3505                                                                                      First Class Mail
Chartered Organization         Saint Rita Parish Roman Catholic Church                        The Spirit of Adventure 227               158 Mammoth Rd                                                   Lowell, MA 01854‐2619                                                                                       First Class Mail
Chartered Organization         Saint Robert Bellarmine Parish                                 Mid‐America Council 326                   11802 Pacific St                                                 Omaha, NE 68154‐3470                                                                                        First Class Mail
Chartered Organization         Saint Rosalies Church                                          Suffolk County Council Inc 404            31 E Montauk Hwy                                                 Hampton Bays, NY 11946‐1816                                                                                 First Class Mail
Chartered Organization         Saint Rose Of Lima                                             Longhouse Council 373                     409 S Main St                                                    North Syracuse, NY 13212‐2811                                                                               First Class Mail
Chartered Organization         Saint Rose Of Lima                                             Mayflower Council 251                     244 W Main St                                                    Northborough, MA 01532‐1804                                                                                 First Class Mail
Chartered Organization         Saint Rose Of Lima Catholic Church                             Redwood Empire Council 041                398 10th St                                                      Santa Rosa, CA 95401‐5219                                                                                   First Class Mail
Chartered Organization         Saint Rose Of Lima Catholic Parish                             Grand Canyon Council 010                  P.O. Box 1117                                                    Safford, AZ 85548‐1117                                                                                      First Class Mail
Chartered Organization         Saint Rose Parish                                              Cascade Pacific Council 492               701 26th Ave                                                     Longview, WA 98632‐1800                                                                                     First Class Mail
Chartered Organization         Saint Savior Catholic Church                                   Dan Beard Council, Bsa 438                4118 Myrtle Ave                                                  Cincinnati, OH 45236‐2408                                                                                   First Class Mail
Chartered Organization         Saint Saviour Rc Church                                        Greater New York Councils, Bsa 640        611 8th Ave                                                      Brooklyn, NY 11215‐3705                                                                                     First Class Mail
Chartered Organization         Saint Simon Parish                                             Pacific Skyline Council 031               1840 Grant Rd                                                    Los Altos, CA 94024‐6843                                                                                    First Class Mail
Chartered Organization         Saint Simons Utd Methodist Church                              Coastal Georgia Council 099               624 Ocean Blvd                                                   Saint Simons Island, GA 31522‐4916                                                                          First Class Mail
Chartered Organization         Saint Stanislaus Catholic Church                               Great Rivers Council 653                  6418 Route W                                                     Wardsville, MO 65101‐9702                                                                                   First Class Mail
Chartered Organization         Saint Stephen 1St Martyr Catholic Ch                           Coastal Georgia Council 099               399 Woodland Dr                                                  Hinesville, GA 31313‐2719                                                                                   First Class Mail
Chartered Organization         Saint Stephen Lutheran Church                                  Northeast Illinois 129                    P.O. Box 362                                                     Antioch, IL 60002‐0362                                                                                      First Class Mail
Chartered Organization         Saint Stephen Roman Catholic Church                            Northern New Jersey Council, Bsa 333      Washington Ave                                                   Kearny, NJ 07032                                                                                            First Class Mail
Chartered Organization         Saint Stephen Roman Catholic Church                            Northern New Jersey Council, Bsa 333      141 Washington Ave                                               Kearny, NJ 07032‐2938                                                                                       First Class Mail
Voting Party                   Saint Stephen United Methodist Church                          Attn: Secretary/Treasurer And/Or Pastor   4600 S Western St                                                Amarillo, TX 79109                                                                                          First Class Mail
Voting Party                   Saint Stephens Church                                          Attn: Cecily Broderick Guerra             89‐26 168th St                                                   Jamaica, NY 11432                                                      secretaryss@verizon.net              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Saint Stephens Episcopal Church                                Attn: Rev'D J. Wesley Evans               401 S Crockett St                                                Sherman, TX 75090                                                      office@saintstephenssherman.org      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Saint Stephen'S Episcopal School                               Southwest Florida Council 088             315 41st St W                                                    Bradenton, FL 34209‐2943                                                                                    First Class Mail
Chartered Organization         Saint Stephens Lutheran Church Men                             Juniata Valley Council 497                8489 Licking Creek Rd                                            Mifflintown, PA 17059‐7239                                                                                  First Class Mail
Chartered Organization         Saint Stephens School Rome                                     Transatlantic Council, Bsa 802            Via Aventina 3                                                   Rome, 00100                          Italy                                                                  First Class Mail
Voting Party                   Saint Stephen's United Methodist Church Broken Arrow Ok        Attn: Tara Ripperger                      400 W New Orleans                                                Broken Arrow, OK 74011                                                 rolandyoungberg@gmail.com            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Saint Sylvester Catholic Church                                Gulf Coast Council 773                    6464 Gulf Breeze Pkwy                                            Gulf Breeze, FL 32563‐7003                                                                                  First Class Mail
Chartered Organization         Saint Sylvester Church                                         Ohio River Valley Council 619             334 S Main St                                                    Woodsfield, OH 43793‐1027                                                                                   First Class Mail
Chartered Organization         Saint Teresa Del Ninos Jesus                                   Tuscarora Council 424                     206 Cavenaugh St                                                 Beulaville, NC 28518                                                                                        First Class Mail
Chartered Organization         Saint Teresa'S Roman Catholic Church                           Greater New York Councils, Bsa 640        1634 Victory Blvd                                                Staten Island, NY 10314‐3504                                                                                First Class Mail
Chartered Organization         Saint Theresa Catholic Church                                  San Francisco Bay Area Council 028        30 Mandalay Rd                                                   Oakland, CA 94618‐2222                                                                                      First Class Mail
Chartered Organization         Saint Theresa Of The Child Jesus Church                        Narragansett 546                          18 Baltic St                                                     Attleboro, MA 02703‐7508                                                                                    First Class Mail
Chartered Organization         Saint Theresa Of The Child Jesus Parish                        Minsi Trails Council 502                  1408 Eon Rd                                                      Hellertown, PA 18055                                                                                        First Class Mail
Chartered Organization         Saint Therese De Lisieux Catholic Church                       Gulf Stream Council 085                   11800 Lake Worth Rd                                              Wellington, FL 33449‐8654                                                                                   First Class Mail
Voting Party                   Saint Thomas Aquinas Catholic Church Indianapolis, Inc.        Attn: John S Mercer                       1400 N Meridian St                                               Indianapolis, IN 46202                                                 jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Saint Thomas Aquinas Church                                    Hudson Valley Council 374                 1 Forestburgh Rd                                                 Forestburgh, NY 12777‐6500                                                                                  First Class Mail
Chartered Organization         Saint Thomas Aquinas Holy Name Society                         Erie Shores Council 460                   729 White St                                                     Toledo, OH 43605‐2719                                                                                       First Class Mail
Voting Party                   Saint Thomas' Episcopal Church                                 Attn: David Browder                       4900 Jackwood St                                                 Houston, TX 77096                                                      browder.david@stes.org               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Saint Thomas Evangelical Lutheran Church                       Attn: Craig P Buie                        4013 Shamrock Dr                                                 Charlotte, NC 28215                                                    cpbuie@southcharlottelawfirm.com     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Saint Thomas Evangelical Lutheran Church                       Attn: Craig P Buie                        7257 Pineville Matthews Rd, Ste 2100                             Charlotte, NC 28226                                                    cpbuie@southcharlottelawfirm.com     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Saint Thomas Lutheran Church                                   Mid‐America Council 326                   17007 Q St                                                       Omaha, NE 68135‐1523                                                                                        First Class Mail
Voting Party                   Saint Thomas Lutheran Church                                   23801 Kelly Rd                            Eastpointe, MI 48021                                                                                                                    churchoffice@stl‐eastpointe.org      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Saint Thomas More Catholic Church                              Atlanta Area Council 092                  630 W Ponce De Leon Ave                                          Decatur, GA 30030‐2951                                                                                      First Class Mail
Chartered Organization         Saint Thomas More Catholic Church                              Lincoln Heritage Council 205              5645 Blandville Rd                                               Paducah, KY 42001‐8722                                                                                      First Class Mail
Chartered Organization         Saint Thomas More Elementary School                            & Sf Elks Lodge 3                         50 Thomas More Way                                               San Francisco, CA 94132‐2911                                                                                First Class Mail
Chartered Organization         Saint Thomas The Apostle Catholic Church                       Catalina Council 011                      5150 N Valley View Rd                                            Tucson, AZ 85718‐6121                                                                                       First Class Mail
Chartered Organization         Saint Thomas The Apostle Church                                The Spirit of Adventure 227               3 Margin St                                                      Peabody, MA 01960‐1925                                                                                      First Class Mail
Voting Party                   Saint Timothy Lutheran Church                                  Attn: Melvin Suelzle                      16431 52nd Ave W                                                 Edmonds, WA 98026                                                                                           First Class Mail
Voting Party                   Saint Timothy Lutheran Church                                  St Timothy Lutheran Church                16431 52nd Ave W                                                 Edmonds, WA 98026                                                                                           First Class Mail
Chartered Organization         Saint Timothy Utd Methodist                                    Men Spiritual Grp                         5365 Memorial Dr                                                 Stone Mountain, GA 30083‐3212                                                                               First Class Mail
Chartered Organization         Saint Timothys Episcopal Church                                Mt Diablo‐Silverado Council 023           1550 Diablo Rd                                                   Danville, CA 94526‐1952                                                                                     First Class Mail
Voting Party                   Saint Timothy's Episcopal Church In Danville, California       Attn: The Rev Todd Bryant                 1550 Diablo Rd                                                   Danville, CA 94526                                                     todd.alan.bryant@gmail.com           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Saint Timothy'S In The Valley Episcopal                        Buckskin 617                              P.O. Box 424                                                     Hurricane, WV 25526‐0424                                                                                    First Class Mail
Chartered Organization         Saint Veronica'S Catholic Church                               Pacific Skyline Council 031               434 Alida Way                                                    South San Francisco, CA 94080‐4302                                                                          First Class Mail
Chartered Organization         Saint Vincent                                                  French Creek Council 532                  232 W 25th St                                                    Erie, PA 16544‐0002                                                                                         First Class Mail
Chartered Organization         Saint Vincent Basilica Parish                                  Westmoreland Fayette 512                  St Vincent Archabbey                                             Latrobe, PA 15650                                                                                           First Class Mail
Chartered Organization         Saint Vincent De Paul Catholic Church                          Mobile Area Council‐Bsa 004               6625 Three Notch Rd                                              Mobile, AL 36619‐1691                                                                                       First Class Mail
Chartered Organization         Saint Wenceslaus Catholic Church                               Mid‐America Council 326                   15353 Pacific St                                                 Omaha, NE 68154‐2871                                                                                        First Class Mail
Chartered Organization         Saint Wendelin Church                                          Moraine Trails Council 500                210 Saint Wendelin Rd                                            Butler, PA 16002‐1065                                                                                       First Class Mail
Chartered Organization         Saint Wilfrid Of York Episcopal Church                         Orange County Council 039                 18631 Chapel Ln                                                  Huntington Beach, CA 92646‐1831                                                                             First Class Mail
Chartered Organization         Saint William Catholic Church                                  Capitol Area Council 564                  620 Round Rock West Dr                                           Round Rock, TX 78681‐5086                                                                                   First Class Mail
Chartered Organization         Saint Williams Catholic Church                                 Coastal Georgia Council 099               2300 Frederica Rd                                                Saint Simons Island, GA 31522‐1965                                                                          First Class Mail
Chartered Organization         Saints For Charity, LLC                                        Ore‐Ida Council 106 ‐ Bsa 106             4288 Dye Ln                                                      Kuna, ID 83634‐1562                                                                                         First Class Mail
Voting Party                   Saints James And John Catholic School, Inc                     Attn: Matthew W Oakey                     218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Saints James And John Catholic School, Inc                     c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400            Baltimore, MD 21201               moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Saints Peter & Paul Catholic Church                            Blue Grass Council 204                    117 W Main St                                                    Danville, KY 40422‐1809                                                                                     First Class Mail
Chartered Organization         Saints Peter & Paul Rc Ch                                      Greater Niagara Frontier Council 380      66 E Main St                                                     Hamburg, NY 14075‐5009                                                                                      First Class Mail
Chartered Organization         Saints Peter And Paul Catholic Church                          Stonewall Jackson Council 763             4309 Thomas Jefferson Pkwy                                       Palmyra, VA 22963‐4150                                                                                      First Class Mail
Chartered Organization         Saints Peter And Paul Catholic Church                          Evangeline Area 212                       P.O. Box 610                                                     Scott, LA 70583‐0610                                                                                        First Class Mail
Chartered Organization         Saints Peter And Paul Catholic Church                          Catalina Council 011                      1946 E Lee St                                                    Tucson, AZ 85719‐4337                                                                                       First Class Mail
Chartered Organization         Saints Peter And Paul Parish                                   Three Fires Council 127                   36 N Ellsworth St                                                Naperville, IL 60540‐4619                                                                                   First Class Mail
Chartered Organization         Saints Peter And Paul School                                   Mid‐America Council 326                   3619 X St                                                        Omaha, NE 68107‐3247                                                                                        First Class Mail
Chartered Organization         Saints Peter/Paul Ukrainian Orthodox Ch                        Del Mar Va 081                            1406 Philadelphia Pike                                           Wilmington, DE 19809‐1824                                                                                   First Class Mail
Chartered Organization         Saints Philip & James Episcopal Church                         Grand Canyon Council 010                  P.O. Box Ee                                                      Morenci, AZ 85540‐0109                                                                                      First Class Mail
Chartered Organization         Saints Philip & James Rc Church                                Greater New York Councils, Bsa 640        1160 E 213th St                                                  Bronx, NY 10469‐2437                                                                                        First Class Mail
Chartered Organization         Saints Philip & James Rc Church                                Suffolk County Council Inc 404            1 Carow Pl                                                       Saint James, NY 11780‐1765                                                                                  First Class Mail
Chartered Organization         Saints Utd Lutheran Church                                     Cradle of Liberty Council 525             3200 Ryan Ave                                                    Philadelphia, PA 19136‐4310                                                                                 First Class Mail
Chartered Organization         Salado Umc                                                     Longhorn Council 662                      P.O. Box 771                                                     Salado, TX 76571‐0771                                                                                       First Class Mail
Voting Party                   Salado United Methodist Church, 650 Royal St, Salado TX 7657   c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salado United Methodist Church, 650 Royal St, Salado TX 7657   650 Royal St                              Salado, TX 76571                                                                                                                                                             First Class Mail
Chartered Organization         Salazar Elementary School ‐ Pta                                Circle Ten Council 571                    1120 S Ravinia Dr                                                Dallas, TX 75211‐5666                                                                                       First Class Mail
Chartered Organization         Sale Street Baptist Church                                     Calcasieu Area Council 209                1611 W Sale Rd                                                   Lake Charles, LA 70605‐2519                                                                                 First Class Mail
Chartered Organization         Saleeby‐Fisher Ymca                                            Central N Carolina Council 416            790 Crescent Rd                                                  Rockwell, NC 28138                                                                                          First Class Mail
Chartered Organization         Salem Baptist Church                                           National Capital Area Council 082         4044 Plank Rd                                                    Fredericksburg, VA 22407‐4802                                                                               First Class Mail
Chartered Organization         Salem Church                                                   Hawk Mountain Council 528                 11 Church Rd                                                     Klingerstown, PA 17941‐9715                                                                                 First Class Mail
Voting Party                   Salem Community Church (078428)                                c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200           Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Salem Covenant Church                                          Northern Star Council 250                 2655 5th St Nw                                                   New Brighton, MN 55112‐2544                                                                                 First Class Mail
Chartered Organization         Salem Elementary Pto                                           Tukabatchee Area Council 005              3486 County Rd 3                                                 Orrville, AL 36767‐2532                                                                                     First Class Mail
Chartered Organization         Salem Evangelical Lutheran Church                              Baltimore Area Council 220                905 Frederick Rd                                                 Baltimore, MD 21228‐4517                                                                                    First Class Mail
Chartered Organization         Salem Evangelical Lutheran Church                              American Legion 97                        1753 G Ave                                                       Dakota City, NE 68731‐3026                                                                                  First Class Mail
Chartered Organization         Salem Evangelical Lutheran Church                              Greater Niagara Frontier Council 380      91 W Main St                                                     Springville, NY 14141‐1057                                                                                  First Class Mail
Voting Party                   Salem Evangelical Lutheran Church                              Attn: The Rev Hans E Becklin              26 Owl Hill Rd                                                   Lititz, PA 17543                                                       salemlititz@gmail.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Salem Evangelical Utd Ch Christ                                Mississippi Valley Council 141 141        435 S 9th St                                                     Quincy, IL 62301‐4109                                                                                       First Class Mail
Chartered Organization         Salem First Baptist Church                                     Cascade Pacific Council 492               395 Marion St NE                                                 Salem, OR 97301‐3524                                                                                        First Class Mail
Chartered Organization         Salem First Utd Presbyterian Church                            Twin Rivers Council 364                   P.O. Box 606                                                     West Broadway                                                                                               First Class Mail
Voting Party                   Salem Grace Umc                                                Attn: Diane Leonard                       116 E Schwartz St                                                Salem, IL 62881                                                        salemgraceumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem In Ballwin United Methodist Church                       Attn: Phyllis Hardcastle                  14825 Manchester Rd                                              Ballwin, MO 63011‐4600                                                 trustees.chair@salemballwinumc.org   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Salem In Ballwin Utd Methodist                                 Greater St Louis Area Council 312         14825 Manchester Rd                                              Ballwin, MO 63011‐4600                                                                                      First Class Mail
Voting Party                   Salem In Ladue United Methodist Church                         Attn: Deborah Lemoine                     Attn: Salem Umc Exec Pastor                                      1200 S Lindbergh                     St. Louis, MO 63131               jimkienker@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Salem Institutional Baptist Church                             Circle Ten Council 571                    3909 Crozier St                                                  Dallas, TX 75215                                                                                            First Class Mail
Chartered Organization         Salem Kiwanis Club                                             Cascade Pacific Council 492               P.O. Box 13271                                                   Salem, OR 97309‐1271                                                                                        First Class Mail
Chartered Organization         Salem Lutheran Church                                          Connecticut Yankee Council Bsa 072        3160 Park Ave                                                    Bridgeport, CT 06604‐1103                                                                                   First Class Mail
Chartered Organization         Salem Lutheran Church                                          Mid‐America Council 326                   401 E Military Ave                                               Fremont, NE 68025‐5140                                                                                      First Class Mail
Chartered Organization         Salem Lutheran Church                                          Verdugo Hills Council 058                 1211 N Brand Blvd                                                Glendale, CA 91202‐1959                                                                                     First Class Mail
Chartered Organization         Salem Lutheran Church                                          New Birth of Freedom 544                  99 York Rd                                                       Jacobus, PA 17407‐1107                                                                                      First Class Mail
Chartered Organization         Salem Lutheran Church                                          Pennsylvania Dutch Council 524            119 N 8th St                                                     Lebanon, PA 17046‐5011                                                                                      First Class Mail
Chartered Organization         Salem Lutheran Church                                          Heart of America Council 307              9143 Haskins St                                                  Lenexa, KS 66215‐3666                                                                                       First Class Mail
Chartered Organization         Salem Lutheran Church                                          Mount Baker Council, Bsa 606              2529 N Laventure Rd                                              Mount Vernon, WA 98273‐9438                                                                                 First Class Mail
Chartered Organization         Salem Lutheran Church                                          Orange County Council 039                 6500 E Santiago Canyon Rd                                        Orange, CA 92869‐1533                                                                                       First Class Mail
Chartered Organization         Salem Lutheran Church                                          Three Fires Council 127                   1145 Dekalb Ave                                                  Sycamore, IL 60178‐2718                                                                                     First Class Mail
Chartered Organization         Salem Lutheran Church                                          Sam Houston Area Council 576              22601 Lutheran Church Rd                                         Tomball, TX 77377‐3716                                                                                      First Class Mail
Voting Party                   Salem Lutheran Church                                          Attn: Cynthia Harmison                    8505 Cardinal St                                                 Lenexa, KS 66219                                                       charmison0430@gmail.com              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem Lutheran Church                                          Attn: Joyce Benedict                      13402 W 92nd St                                                  Lenexa, KS 66215                                                                                            First Class Mail
Voting Party                   Salem Lutheran Church Elca                                     631 N 7th St                              Montevideo, MN 56265                                                                                                                    bankruptcycourt@kluverlaw.com        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Salem Lutheran Mens Club                                       Greater St Louis Area Council 312         3224 Keokuk St                                                   Saint Louis, MO 63118‐4321                                                                                  First Class Mail
Chartered Organization         Salem Lutheran Mens Club                                       Greater St Louis Area Council 312         5025 Lakewood Ave                                                Saint Louis, MO 63123‐3717                                                                                  First Class Mail
Chartered Organization         Salem Memorial Vfw Post 8546                                   Daniel Webster Council, Bsa 330           42 N Broadway                                                    Salem, NH 03079‐2102                                                                                        First Class Mail
Chartered Organization         Salem Methodist Church                                         Central N Carolina Council 416            21007 Nc 73 Hwy                                                  Albemarle, NC 28001‐7363                                                                                    First Class Mail
Chartered Organization         Salem Methodist Church                                         Quapaw Area Council 018                   1647 Salem Rd                                                    Benton, AR 72019‐8344                                                                                       First Class Mail
Chartered Organization         Salem Methodist Church                                         Greater St Louis Area Council 312         1200 S Lindbergh Blvd                                            Saint Louis, MO 63131‐2923                                                                                  First Class Mail
Chartered Organization         Salem Missionary Baptist Church                                Pee Dee Area Council 552                  320 W Fulton St                                                  Sumter, SC 29150‐5780                                                                                       First Class Mail
Chartered Organization         Salem Township Fire Dept                                       Crossroads of America 160                 14010 W Daleville Rd                                             Daleville, IN 47334‐9139                                                                                    First Class Mail
Chartered Organization         Salem Ucc                                                      New Birth of Freedom 544                  3377 Fox Run Rd                                                  Dover, PA 17315‐3705                                                                                        First Class Mail
Chartered Organization         Salem Ucc Rohrerstown                                          Pennsylvania Dutch Council 524            2312 Marietta Ave                                                Rohrerstown, PA 17603‐2224                                                                                  First Class Mail
Voting Party                   Salem Umc                                                      Attn: Clayton Waring                      P.O. Box 25                                                      25 S Main St                         Keedysville, MD 21756             salemumc@salemcommunity.org          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem Umc                                                      Attn: Bruce Kopp                          2900 Salem Rd                                                    Windosor Mill, MD 21244                                                koppykat27@verizon.net               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem Umc                                                      Attn: Katie Davis                         3947 Dunn Rd                                                     Eastover, NC 28312                                                     info@salemfnc.org                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem Umc                                                      c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem Umc                                                      3962 Salem Rd                             Covington, GA 30016                                                                                                                                                          First Class Mail
Voting Party                   Salem Umc Aquashicola                                          Attn: William Ritzenthaler                4145 Fireline Rd                                                 Aquashicola, PA 18012                                                  ritz007@verizon.net                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem Umc Of Barrington                                        115 W Lincoln Ave                         Barrington, IL 60010                                                                                                                    pastorlaurabarkley@gmail.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem Umc Of Christ                                            Salem United Church of Christ             217 Salem Dr                                                     Plymouth, WI 53073                                                     churchoffice@salemuccplywi.org       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem United Methodist                                         Attn: Jannette P. Elliott                 2700 White Horse Rd                                              Greenville, SC 29611                                                   salem_church@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem United Methodist                                         Jannette P. Elliott                       2700 White Horse Rd                                              Greenville, SC 29611                                                   salem_church@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem United Methodist Church                                  Attn: Todd M Schatzka                     25130 85th St                                                    Salem, WI 53168                                                        tschatzka@msn.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem United Methodist Church                                  Attn: Christopher Bethune                 187 Fish Hatchery Rd                                             Salem Township, ME 04983                                               soulcollector0@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem United Methodist Church                                  Attn: Pastor Kevin Bender                 183 E Main St                                                    Salem, WV 26426                                                        slowrev2@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem United Methodist Church                                  Attn: Sue Kealy                           14955 Somerset Ave                                               Council Bluffs, IA 51503                                               skealy59@cox.net                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem United Methodist Church                                  Attn: Treasurer                           2706 Salem Church Rd                                             Goldsboro, NC 27530                                                    salemumcgoldsboro@gmail.com          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem United Methodist Church                                  Attn: Linda Acker                         6311 Kratzville Rd                                               Evansville, IN 47710                                                   Salemumcevansville@gmail.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem United Methodist Church                                  Russsell E Morgan, Jr                     1749 Grand Concourse, Apt 3O                                     Bronx, NY 10453                                                        rem1978jr@outlook.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem United Methodist Church                                  Attn: Edward J Keating                    115 W Lincoln Ave                                                Barrington, IL 60010                                                   pastorlaurabarkley@gmail.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem United Methodist Church                                  Attn: Willie Strader ‐ Treasurer          801 E Scenic Rivers Blvd                                         Salem, MO 65560                                                        mass7114@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Salem United Methodist Church                                  c/o Friday, Eldredge & Clark LLP          Attn: Lindsey Emerson Raines                                     400 W Capitol Ave, Ste 2000          Little Rock, AR 72201             lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                      Page 328 of 442
                                                                                  Case 20-10343-LSS                                            Doc 8171                                        Filed 01/06/22                                                    Page 344 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                       Name                                                                                                  Address                                                                                                               Email              Method of Service
Voting Party                   Salem United Methodist Church                             Attn: Lauren Busky                              3405 Gough St                                                Baltimore, MD 21224                                                  labusky@comcast.net                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church                             Attn: Kirk Oldham                               P.O. Box 218                                                 Simpson, NC 27879                                                    kboldham@nccumc.org                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church                             Attn: Treasurer                                 541 Hwy 59                                                   Waukesha, WI 53186                                                   kbohning1@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church                             Attn: John Hickland                             29 W Braodway                                                Salem, NY 12865                                                      john.hickland@gmail.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church                             Attn: John Hickland                             P.O. Box 277                                                 Salem, NY 12865                                                      john.hickland@gmail.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church                             Attn: Linda Curson, Treasurer                   3715 33rd Ave, Sw                                            Cedar Rapids, IA 52404                                               Financeoffice@salemchurchcr.com    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church                             Attn: Rev Eleanor Collinsworth                  9 Tracy Cove Cir                                             Rome, ME 04963                                                       egcollinsworth@gmail.com           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church                             Attn: Donald Rider                              18604 Tanterra Way                                           Brookeville, MD 20833                                                drider1@verizon.net                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church                             Attn: Denise Willoughby                         1647 Salem Rd                                                Benton, AR 72019                                                     denise@sumcb.org                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church                             Attn: Jessica Ellis, CFO                        475 Riverside Dr, Ste 1922                                   New York, NY 10115                                                   bshillady@umcitysociety.org        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church                             Attn: Rev Dr Marvin A Moss                      2190 Adam Clayton Powell Jr Blvd                             New York, NY 10027                                                                                      First Class Mail
Voting Party                   Salem United Methodist Church                             P.O. Box 120                                    Drummond, OK 73735                                                                                                                                                   First Class Mail
Voting Party                   Salem United Methodist Church (96644)                     c/o Bentz Law Firm, P.C.                        Attn: Daniel Maier                                                                                                                lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church (96644)                     c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church (96644)                     c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentlaw.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church Of Elgin                    Kay G. Crowe                                    1613 Main St                                                 Columbia, SC 29201                                                   chancellor@umcsc.org               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church Of Elgin                    Attn: Rev. Stewart C. Kidd, Jr                  P.O. Box 54                                                  Elgin, SC 29045                                                      akidd1@sc.rr.com                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church Of Upper Falls Inc          Attn: Carla F Frisch                            P.O. Box 192                                                 Upper Falls, MD 21156                                                cbtd@comcast.net                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church, Conway                     Attn: Caroline Sellers                          1018 Salem Rd                                                Conway, AR 72034                                                     lraines@fridayfirm.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salem United Methodist Church, Hebbville                  Attn: Carol Kopp, Bruce Kopp                    7509 Windsor Mill Rd                                         2900 Salem Rd                     Windsor Mill, MD 21244             koppykat27@verizon.net             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Salem Utd Church Of Christ                                Greater St Louis Area Council 312               1117 W North St                                              Alhambra, IL 62001‐1717                                                                                 First Class Mail
Chartered Organization         Salem Utd Church Of Christ                                Minsi Trails Council 502                        2218 Community Dr                                            Bath, PA 18014‐9678                                                                                     First Class Mail
Chartered Organization         Salem Utd Church Of Christ                                Denver Area Council 061                         5300 E Florida Ave                                           Denver, CO 80222‐3544                                                                                   First Class Mail
Chartered Organization         Salem Utd Church Of Christ                                Minsi Trails Council 502                        107 Corner Rd                                                Gilbert, PA 18331                                                                                       First Class Mail
Chartered Organization         Salem Utd Church Of Christ                                Greater Niagara Frontier Council 380            114 Morgan St                                                Tonawanda, NY 14150‐2212                                                                                First Class Mail
Chartered Organization         Salem Utd Church Of Christ                                Glaciers Edge Council 620                       502 Mark Dr                                                  Verona, WI 53593‐1023                                                                                   First Class Mail
Chartered Organization         Salem Utd Methodist                                       Greater Alabama Council 001                     14165 Al Hwy 9 N                                             Cedar Bluff, AL 35959‐2313                                                                              First Class Mail
Chartered Organization         Salem Utd Methodist                                       Blue Ridge Council 551                          P.O. Box 42                                                  Salem, SC 29676‐0042                                                                                    First Class Mail
Chartered Organization         Salem Utd Methodist Ch Keedysville                        Mason Dixon Council 221                         P.O. Box 25                                                  Keedysville, MD 21756‐0025                                                                              First Class Mail
Chartered Organization         Salem Utd Methodist Church                                Greater St Louis Area Council 312               14825 Manchester Rd                                          Ballwin, MO 63011‐4600                                                                                  First Class Mail
Chartered Organization         Salem Utd Methodist Church                                Piedmont Council 420                            184 Salem Church Rd                                          Bostic, NC 28018‐8583                                                                                   First Class Mail
Chartered Organization         Salem Utd Methodist Church                                Quapaw Area Council 018                         1018 Salem Rd                                                Conway, AR 72034‐3424                                                                                   First Class Mail
Chartered Organization         Salem Utd Methodist Church                                Buffalo Trace 156                               6301 Kratzville Rd                                           Evansville, IN 47710‐4555                                                                               First Class Mail
Chartered Organization         Salem Utd Methodist Church                                Old N State Council 070                         933 Salem Church Rd                                          Hurdle Mills, NC 27541‐9309                                                                             First Class Mail
Chartered Organization         Salem Utd Methodist Church                                Greater Alabama Council 001                     26301 Salem Minor Hill Rd                                    Lester, AL 35647‐3501                                                                                   First Class Mail
Chartered Organization         Salem Utd Methodist Church                                Old Hickory Council 427                         2591 Wards Gap Rd                                            Mount Airy, NC 27030‐6773                                                                               First Class Mail
Chartered Organization         Salem Utd Methodist Church                                Greater New York Councils, Bsa 640              2190 A C P Jr Blvd                                           New York, NY 10027‐1946                                                                                 First Class Mail
Chartered Organization         Salem Utd Methodist Church                                Del Mar Va 081                                  469 Salem Church Rd                                          Newark, DE 19702‐2706                                                                                   First Class Mail
Chartered Organization         Salem Utd Methodist Church                                Blue Ridge Council 551                          P.O. Box 42                                                  Salem, SC 29676‐0042                                                                                    First Class Mail
Chartered Organization         Salem Utd Methodist Church                                Tidewater Council 596                           2057 Salem Rd                                                Virginia Beach, VA 23456‐1309                                                                           First Class Mail
Chartered Organization         Salem Utd Methodist Church                                Twin Rivers Council 364                         349 Shaver Rd                                                West Sand Lake, NY 12196                                                                                First Class Mail
Chartered Organization         Salem Utd Methodist Church                                Laurel Highlands Council 527                    350 Manor Rd                                                 Wexford, PA 15090‐8716                                                                                  First Class Mail
Chartered Organization         Salem Utd Methodist Church Mens Club                      Occoneechee 421                                 2165 Middle Rd                                               Eastover, NC 28312‐9753                                                                                 First Class Mail
Chartered Organization         Salem Volunteer Firemans Assoc                            Three Harbors Council 636                       8339 Antioch Rd                                              Salem, WI 53168‐9154                                                                                    First Class Mail
Chartered Organization         Salemburg Baptist Church                                  Tuscarora Council 424                           P.O. Box 537                                                 Salemburg, NC 28385‐0537                                                                                First Class Mail
Chartered Organization         Salemburg Baptist Church                                  Tuscarora Council 424                           304 Jackson St                                               Salemburg, NC 28385‐8512                                                                                First Class Mail
Chartered Organization         Salem‐Crestview Utd Methodist Church                      Longhorn Council 662                            929 Texas St                                                 Graham, TX 76450‐3622                                                                                   First Class Mail
Voting Party                   Salem‐Kinser United Methodist Church                      Attn: Jimmie Bryant                             1315 Rees St                                                 Greenville, TX 75401                                                 skchurch@geusnet.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Salenger, Sack, Kimmel & Bavaro, LLP                      Anthony M. Beneduce                             180 Froechlich Farm Boulevard                                Woodbury, NY 11797                                                   abeneduce@sskblaw.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Salina Regional Health Center                             Coronado Area Council 192                       400 S Santa Fe Ave                                           Salina, KS 67401‐4144                                                                                   First Class Mail
Chartered Organization         Salinas Elks Lodge 614                                    Silicon Valley Monterey Bay 055                 466 Airport Blvd                                             Salinas, CA 93905                                                                                       First Class Mail
Chartered Organization         Salinas Firefighters Assoc L1270                          Silicon Valley Monterey Bay 055                 P.O. Box 2326                                                Salinas, CA 93902‐2326                                                                                  First Class Mail
Chartered Organization         Salinas Police Dept Pal                                   Silicon Valley Monterey Bay 055                 222 Lincoln Ave                                              Salinas, CA 93901‐2758                                                                                  First Class Mail
Chartered Organization         Salinas Valley Memorial Hospital                          Silicon Valley Monterey Bay 055                 450 E Romie Ln                                               Salinas, CA 93901‐4029                                                                                  First Class Mail
Chartered Organization         Saline American Legion Wm B Lutz 322                      Southern Shores Fsc 783                         P.O. Box 226                                                 Saline, MI 48176‐0226                                                                                   First Class Mail
Chartered Organization         Saline First Utd Methodist Church                         Southern Shores Fsc 783                         1200 N Ann Arbor St                                          Saline, MI 48176‐1072                                                                                   First Class Mail
Chartered Organization         Saline Police Dept                                        Southern Shores Fsc 783                         100 N Harris St                                              Saline, MI 48176‐1642                                                                                   First Class Mail
Chartered Organization         Saline Rotary Club                                        Southern Shores Fsc 783                         P.O. Box 121                                                 Saline, MI 48176‐0121                                                                                   First Class Mail
Chartered Organization         Salisbury Christian School Inc                            Del Mar Va 081                                  807 Parker Rd                                                Salisbury, MD 21804‐1936                                                                                First Class Mail
Chartered Organization         Salisbury Lions Club                                      Great Rivers Council 653                        P.O. Box 94                                                  Salisbury, MO 65281‐0094                                                                                First Class Mail
Chartered Organization         Salisbury Police Dept                                     Del Mar Va 081                                  699 W Salisbury Pkwy                                         Salisbury, MD 21801‐4043                                                                                First Class Mail
Chartered Organization         Salisbury Presbyterian Church                             Heart of Virginia Council 602                   13621 W Salisbury Rd                                         Midlothian, VA 23113‐3949                                                                               First Class Mail
Chartered Organization         Salisbury Volunteer Fire Dept                             Daniel Webster Council, Bsa 330                 193 Center Rd                                                Salisbury, NH 03268‐5400                                                                                First Class Mail
Chartered Organization         Salish Rescue                                             Chief Seattle Council 609                       3723 San Juan Ave                                            Port Townsend, WA 98368‐3305                                                                            First Class Mail
Chartered Organization         Salish Sea Scouting                                       Pacific Harbors Council, Bsa 612                1440 Grindstone Dr Se                                        Olympia, WA 98513‐9446                                                                                  First Class Mail
Voting Party                   Salladasburg Umc (181548)                                 c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salladasburg Umc (181548)                                 c/o Bentz Law Firm                              Attn: Sean Bollman                                           680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Saller, Lord, Ernstberger & Insley                        Christopher E. Lord                             12 S. Calvert St.                                            Baltimore, MD 21202                                                  clord@sallerlaw.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Sallisaw First Umc                                        Lisa E Lessley                                  P.O. Box 887                                                 Sallisaw, OK 74955                                                   sallisawfumc@diamondnet.us         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Sally Ann Buyea                                           333 Brown Blvd                                  P.O. Box 56                                                  Brownville, NY 13615                                                 dexterbrownvilleumc642@gmail.com   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Sally Ann Buyea                                           210 W Kirby St                                  P.O. Box 642                                                 Dexter, NY 13634                                                     DexterBrownvilleumc642@gmail.com   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Salmon Creek United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Salmon Creek Utd Methodist Church                         Cascade Pacific Council 492                     12217 NE Hwy 99                                              Vancouver, WA 98686‐3216                                                                                First Class Mail
Chartered Organization         Salt Lake City Police Dept                                Civilian Explorers                              4775 S 300 W                                                 Salt Lake City, UT 84107                                                                                First Class Mail
Chartered Organization         Salt Lake Cnty Firefighters Iaff                          Local 1696                                      P.O. Box 97                                                  West Jordan, UT 84084‐0097                                                                              First Class Mail
Chartered Organization         Salt River Police Dept                                    Grand Canyon Council 010                        10005 E Osborn Rd                                            Scottsdale, AZ 85256‐4019                                                                               First Class Mail
Voting Party                   Saltillo First United Methodist Church                    Attn: Tim Phipps                                P.O. Box 146                                                 Saltillo, MS 38866                                                   tjphipps7986@gmail.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Saluda County Emergency Medical Services                  Indian Waters Council 553                       154 Medical Park Rd                                          Saluda, SC 29138                                                                                        First Class Mail
Chartered Organization         Saluda County Sheriff's Office                            Indian Waters Council 553                       100 Law Enforcement Dr                                       Saluda, SC 29138‐8791                                                                                   First Class Mail
Chartered Organization         Saluda Outfitters                                         Piedmont Council 420                            435 Main St                                                  Saluda, NC 28773‐9703                                                                                   First Class Mail
Chartered Organization         Salvation Army                                            Montana Council 315                             P.O. Box 1307                                                Bozeman, MT 59771‐1307                                                                                  First Class Mail
Chartered Organization         Salvation Army                                            Allegheny Highlands Council 382                 111 Jackson Ave                                              Bradford, PA 16701‐1311                                                                                 First Class Mail
Chartered Organization         Salvation Army                                            Central Minnesota 296                           208 S 5th St                                                 Brainerd, MN 56401‐3506                                                                                 First Class Mail
Chartered Organization         Salvation Army                                            Minsi Trails Council 502                        285 Washington St                                            East Stroudsburg, PA 18301‐2836                                                                         First Class Mail
Chartered Organization         Salvation Army                                            President Gerald R Ford 781                     P.O. Box 1116                                                Muskegon, MI 49443‐1116                                                                                 First Class Mail
Chartered Organization         Salvation Army                                            Hawk Mountain Council 528                       301 S 5th St                                                 Reading, PA 19602‐2310                                                                                  First Class Mail
Chartered Organization         Salvation Army                                            Tukabatchee Area Council 005                    2104 Franklin St                                             Selma, AL 36703‐3320                                                                                    First Class Mail
Chartered Organization         Salvation Army                                            Gulf Stream Council 085                         P.O. Box 2864                                                Vero Beach, FL 32961‐2864                                                                               First Class Mail
Chartered Organization         Salvation Army                                            Simon Kenton Council 441                        760 Worthington Woods Blvd                                   Worthington, OH 43085‐5715                                                                              First Class Mail
Chartered Organization         Salvation Army Boys & Girls Club                          Blue Ridge Council 551                          1030 Salem Church Rd 11                                      Anderson, SC 29625‐1308                                                                                 First Class Mail
Chartered Organization         Salvation Army Boys & Girls Club                          Flint River Council 095                         725 Meriwether St                                            Griffin, GA 30224‐4100                                                                                  First Class Mail
Chartered Organization         Salvation Army Boys & Girls Club                          St Albans                                       812 S Carroll St                                             Saint Albans, WV 25177‐3152                                                                             First Class Mail
Chartered Organization         Salvation Army Boys & Girls Club                          East Carolina Council 426                       112 Hines St W                                               Wilson, NC 27893‐3925                                                                                   First Class Mail
Chartered Organization         Salvation Army Kroc Center                                Alamo Area Council 583                          201 Holdsworth Dr                                            Kerrville, TX 78028‐3372                                                                                First Class Mail
Chartered Organization         Salvation Army Newburyport                                The Spirit of Adventure 227                     40 Water St                                                  Newburyport, MA 01950‐2751                                                                              First Class Mail
Chartered Organization         Salvation Army Of Ventura                                 Attn: Lt Fabio Samoes                           650 Petit Ave                                                Ventura, CA 93004‐2265                                                                                  First Class Mail
Chartered Organization         Salve Regina Catholic Academy                             Greater New York Councils, Bsa 640              237 Jerome St                                                Brooklyn, NY 11207‐3209                                                                                 First Class Mail
Voting Party                   Salzmann Hughes, P.C.                                     Attn: George F Douglas III                      354 Alexander Spring Rd, Ste 1                               Carlisle, PA 17015                                                   gdouglas@salzmannhughes.com        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Sam Academy                                               Sequoia Council 027                             750 N St                                                     Sanger, CA 93657‐3114                                                                                   First Class Mail
Voting Party                   Sam Brothman                                              Address Redacted                                                                                                                                                                                                     First Class Mail
Chartered Organization         Sam Davey Concerned Parents Of Pack 127                   Chippewa Valley Council 637                     3000 Starr Ave                                               Eau Claire, WI 54703‐0916                                                                               First Class Mail
Chartered Organization         Sam Houston Elementary Pta                                Rio Grande Council 775                          301 E Taft Ave                                               Harlingen, TX 78550‐7760                                                                                First Class Mail
Chartered Organization         Sam Houston Elementary Pto                                Sam Houston Area Council 576                    4501 Canterbury Dr                                           Bryan, TX 77802‐5906                                                                                    First Class Mail
Chartered Organization         Sam Houston High School                                   Sam Houston Area Council 576                    9400 Irvington Blvd                                          Houston, TX 77076‐5224                                                                                  First Class Mail
Chartered Organization         Sam Houston School Pto                                    Middle Tennessee Council 560                    207 Oakdale Dr                                               Lebanon, TN 37087‐2031                                                                                  First Class Mail
Chartered Organization         Sam Hughes Pta                                            Catalina Council 011                            700 N Wilson Ave                                             Tucson, AZ 85719‐5148                                                                                   First Class Mail
Chartered Organization         Sam Rosen Elementary ‐ Gfwar                              Longhorn Council 662                            2613 Roosevelt Ave                                           Fort Worth, TX 76164‐6823                                                                               First Class Mail
Voting Party                   Sam Thompson                                              9701 Sam Bass Trl                               Fort Worth, TX 76244                                                                                                              samuel.thompson@scouting.org       Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Sammamish Police Dept                                     Chief Seattle Council 609                       801 228th Ave SE                                             Sammamish, WA 98075‐9509                                                                                First Class Mail
Chartered Organization         Sammamish Trails Youth                                    Chief Seattle Council 609                       12506 172nd Ave NE                                           Redmond, WA 98052‐2271                                                                                  First Class Mail
Chartered Organization         Samoset Stem Committee                                    Samoset Council, Bsa 627                        3511 Camp Phillips Rd                                        Weston, WI 54476‐6320                                                                                   First Class Mail
Chartered Organization         Sampson County Champions                                  Tuscarora Council 424                           1189 Kader Merritt Rd                                        Rose Hill, NC 28458‐8842                                                                                First Class Mail
Voting Party                   Sam'S Club Direct                                         P.O. Box 530930                                 Atlanta, GA 30353‐0930                                                                                                                                               First Class Mail
Voting Party                   Samsonville Umc                                           Attn: Karin Squires                             P.O. Box 1397                                                Olivebridge, NY 12461                                                karin.squires@nyac‐umc.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Samuel Coleridge Taylor                                   Baltimore Area Council 220                      507 W Preston St                                             Baltimore, MD 21201‐2010                                                                                First Class Mail
Chartered Organization         Samuel Mills Sprole Ps 32 ‐ Sr                            Greater New York Councils, Bsa 640              317 Hoyt St                                                  Brooklyn, NY 11231‐4909                                                                                 First Class Mail
Chartered Organization         Samuel Utd Church Of Christ                               Greater St Louis Area Council 312               320 N Forsyth Blvd                                           Saint Louis, MO 63105‐3618                                                                              First Class Mail
Chartered Organization         San Andreas Chp Explorer Group                            Greater Yosemite Council 059                    749 Mountain Ranch Rd                                        San Andreas, CA 95249‐9707                                                                              First Class Mail
Chartered Organization         San Antonio Fire Dept                                     Alamo Area Council 583                          300 Callaghan Rd                                             San Antonio, TX 78228‐6605                                                                              First Class Mail
Chartered Organization         San Antonio Professional Firefighters                     Alamo Area Council 583                          8925 Frontage Rd                                             San Antonio, TX 78230                                                                                   First Class Mail
Chartered Organization         San Antonio West Rotary                                   Alamo Area Council 583                          5100 John D Ryan Blvd                                        San Antonio, TX 78245‐3527                                                                              First Class Mail
Chartered Organization         San Benito County Sheriff's Dept                          Silicon Valley Monterey Bay 055                 451 4th St                                                   Hollister, CA 95023‐3840                                                                                First Class Mail
Chartered Organization         San Bernardino Police Dept                                California Inland Empire Council 045            710 N D St                                                   San Bernardino, CA 92401‐1112                                                                           First Class Mail
Chartered Organization         San Carlos Borromeo Catholic Church                       Silicon Valley Monterey Bay 055                 500 Church St                                                Monterey, CA 93940‐3209                                                                                 First Class Mail
Voting Party                   San Carlos United Methodist Church                        Attn: Richard Doremus                           6554 Cowles Mountain Blvd                                    San Diego, CA 92119                                                  scchurch@sancarlosumc.org          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         San Diego Co Sheriffs Explorer                            San Diego Imperial Council 049                  9621 Ridgehaven Ct                                           San Diego, CA 92123‐1636                                                                                First Class Mail
Chartered Organization         San Diego Country Estates Assoc                           San Diego Imperial Council 049                  24157 San Vicente Rd                                         Ramona, CA 92065‐4166                                                                                   First Class Mail
Chartered Organization         San Diego Elks Lodge 168                                  San Diego Imperial Council 049                  7430 Jackson Dr                                              San Diego, CA 92119‐2319                                                                                First Class Mail
Chartered Organization         San Diego Rotary Club                                     San Diego Imperial Council 049                  2247 San Diego Ave                                           San Diego, CA 92110‐2068                                                                                First Class Mail
Chartered Organization         San Diego Sail & Power Squadron                           San Diego Imperial Council 049                  12626 Cijon St                                               San Diego, CA 92129‐3023                                                                                First Class Mail
Chartered Organization         San Diego Yacht Club                                      San Diego Imperial Council 049                  1011 Anchorage Ln                                            San Diego, CA 92106‐3005                                                                                First Class Mail
Voting Party                   San Diego‐Imperial Cncl 49                                1207 Upas St                                    San Diego, CA 92103‐5127                                                                                                                                             First Class Mail
Voting Party                   San Dieguito United Methodist Church                      Attn: Rev. John Shaver                          170 Calle Magdalena                                          Encinitas, CA 92024                                                  revjohn@encinitaschurch.com        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         San Dimas Masonic Lodge No 428                            Greater Los Angeles Area 033                    220 N Monte Vista Ave                                        San Dimas, CA 91773‐2618                                                                                First Class Mail
Voting Party                   San Dimas United Methodist Church                         Attn: Joseph C Sharp                            3962 Laurel Ct                                               Chino Hills, CA 91709                                                jcsharp47@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   San Dimas United Methodist Church                         Attn: Elizabeth L Sharp                         114 W 2nd St                                                 San Dimas, CA 91733                                                  esharp10@gmail.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         San Felipe De Neri School                                 Great Swest Council 412                         2000 Lomas Blvd NW                                           Albuquerque, NM 87104‐1443                                                                              First Class Mail
Chartered Organization         San Fernando City Chamber Of Commerce                     W.L.A.C.C. 051                                  16535 Rinaldi St                                             Granada Hills, CA 91344‐3762                                                                            First Class Mail
Chartered Organization         San Fernando Police Dept                                  W.L.A.C.C. 051                                  910 1st St                                                   San Fernando, CA 91340‐2928                                                                             First Class Mail
Chartered Organization         San Francisco De Asis Parish                              Grand Canyon Council 010                        1600 E Route 66                                              Flagstaff, AZ 86001‐3405                                                                                First Class Mail
Chartered Organization         San Francisco Lodge 3 Bpoe                                San Francisco Bay Area Council 028              450 Post St                                                  San Francisco, CA 94102‐1526                                                                            First Class Mail
Chartered Organization         San Francisco Peaks Vfw Post 1709                         Grand Canyon Council 010                        409 W Santa Fe Ave                                           Flagstaff, AZ 86001‐5318                                                                                First Class Mail
Chartered Organization         San Francisco Sailing Whaleboat Assoc                     San Francisco Bay Area Council 028              220 Sansome St, Ste 900                                      San Francisco, CA 94104‐2724                                                                            First Class Mail
Chartered Organization         San Gabriel Mission Catholic Church                       Greater Los Angeles Area 033                    428 S Mission Dr                                             San Gabriel, CA 91776‐1252                                                                              First Class Mail
Voting Party                   San Gabriel Mission Catholic Church                       c/o Roman Catholic Archdiocese of Los Angeles   Attn: Margaret Graf                                          3424 Wilshire Blvd                Los Angeles, CA 90010              legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         San Gabriel Police Dept                                   Greater Los Angeles Area 033                    625 S Del Mar Ave                                            San Gabriel, CA 91776‐2409                                                                              First Class Mail
Chartered Organization         San Gabriel Presbyterian Church                           Capitol Area Council 564                        5404 Williams Dr                                             Georgetown, TX 78633‐9208                                                                               First Class Mail
Chartered Organization         San Jacinto Police Dept                                   California Inland Empire Council 045            160 W 6th St                                                 San Jacinto, CA 92583‐4109                                                                              First Class Mail
Chartered Organization         San Joaquin Chamber Of Commerce                           Sequoia Council 027                             P.O. Box 756                                                 San Joaquin, CA 93660‐0756                                                                              First Class Mail
Chartered Organization         San Joaquin County Sheriffs Office                        Greater Yosemite Council 059                    7000 Michael Canlis Way                                      French Camp, CA 95231‐9781                                                                              First Class Mail
Chartered Organization         San Jose Buddhist Church Betsuin                          Silicon Valley Monterey Bay 055                 640 N 5th St                                                 San Jose, CA 95112‐3234                                                                                 First Class Mail
Chartered Organization         San Jose Catholic Church                                  Golden Spread Council 562                       735 Brevard St                                               Hereford, TX 79045‐3620                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 329 of 442
                                                                                  Case 20-10343-LSS                                            Doc 8171                                                  Filed 01/06/22                                                       Page 345 of 457
                                                                                                                                                                                            Exhibit B
                                                                                                                                                                                             Service List
                                                                                                                                                                                      Served as set forth below

        Description                                                        Name                                                                                                           Address                                                                                                              Email                  Method of Service
Voting Party                   San Jose Catholic Church Austin TX                        c/o Bsa Coordinator                              Attn: Chancellor                                                      6225 E US 290 Hwy Svrd Eb            Austin, TX 78723                   ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   San Jose Catholic Church Austin TX                        Attn: Rev Jairo Sandoval‐Oliego                  2435 Oakcrest                                                         Austin, TX 78704                                                                                           First Class Mail
Chartered Organization         San Jose Chinese Catholic Mission                         Silicon Valley Monterey Bay 055                  725 Washington St                                                     Santa Clara, CA 95050‐4935                                                                                 First Class Mail
Chartered Organization         San Jose Dance Sport Ctr                                  dba Dance Blvd                                   1824 Hillsdale Ave                                                    San Jose, CA 95124‐3026                                                                                    First Class Mail
Chartered Organization         San Jose East Valley Lions Club                           Silicon Valley Monterey Bay 055                  4848 San Felipe Rd                                                    San Jose, CA 95135‐1276                                                                                    First Class Mail
Chartered Organization         San Jose Elks No 522                                      Silicon Valley Monterey Bay 055                  444 W Alma Ave                                                        San Jose, CA 95110‐3519                                                                                    First Class Mail
Voting Party                   San Jose Episcopal Church                                 Steph Britt                                      7423 San Jose Blvd                                                    Jacksonville, FL 32217                                                  frbritt@sanjoseepiscopal.com       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   San Jose Episcopal Church                                 c/o Rogers Towers, Pa                            Attn: Betsy C Cox, Esq                                                1301 Riverplace Blvd, Ste 1500       Jacksonville, FL 32207             frbritt@sanjoseepiscopal.com       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         San Jose Fire Dept                                        Silicon Valley Monterey Bay 055                  170 W San Carlos St                                                   San Jose, CA 95113‐2005                                                                                    First Class Mail
Chartered Organization         San Jose Mission                                          Greater Tampa Bay Area 089                       3238 San Jose Mission Dr                                              Dover, FL 33527‐4746                                                                                       First Class Mail
Chartered Organization         San Jose Moose Lodge 401                                  Silicon Valley Monterey Bay 055                  1825 Mount Pleasant Rd                                                San Jose, CA 95148‐1308                                                                                    First Class Mail
Chartered Organization         San Jose Pal Cadet Program [Sjpd]                         Silicon Valley Monterey Bay 055                  680 S 34th St                                                         San Jose, CA 95116‐2908                                                                                    First Class Mail
Chartered Organization         San Juan Bautista Service Club                            Silicon Valley Monterey Bay 055                  P.O. Box 1027                                                         San Juan Bautista, CA 95045‐1027                                                                           First Class Mail
Chartered Organization         San Juan Del Rio Catholic Church                          North Florida Council 087                        1718 State Rd 13                                                      Saint Johns, FL 32259‐9253                                                                                 First Class Mail
Chartered Organization         San Juan Diego                                            Circle Ten Council 571                           10919 Royal Haven Ln                                                  Dallas, TX 75229‐3732                                                                                      First Class Mail
Chartered Organization         San Juan Diego Catholic Church                            Circle Ten Council 571                           10919 Royal Haven Ln                                                  Dallas, TX 75229‐3732                                                                                      First Class Mail
Chartered Organization         San Juan Diego Catholic High School                       Capitol Area Council 564                         800 Herndon Ln                                                        Austin, TX 78704‐5314                                                                                      First Class Mail
Chartered Organization         San Juan Rotary Club                                      Orange County Council 039                        P.O. Box 684                                                          San Juan Capistrano, CA 92693‐0684                                                                         First Class Mail
Chartered Organization         San Leandro Optimist Club                                 San Francisco Bay Area Council 028               15211 Hardin St                                                       San Leandro, CA 94579‐1603                                                                                 First Class Mail
Chartered Organization         San Leandro Police Dept                                   San Francisco Bay Area Council 028               901 E 14th St                                                         San Leandro, CA 94577‐3729                                                                                 First Class Mail
Chartered Organization         San Lorenzo Community Church                              San Francisco Bay Area Council 028               945 Paseo Grande                                                      San Lorenzo, CA 94580‐2317                                                                                 First Class Mail
Chartered Organization         San Lorenzo Spiritual Center                              Tidewater Council 596                            4556 Indian River Rd                                                  Virginia Beach, VA 23456‐8052                                                                              First Class Mail
Chartered Organization         San Luis Ambulance                                        Los Padres Council 053                           3546 S Higuera St                                                     San Luis Obispo, CA 93401‐7304                                                                             First Class Mail
Chartered Organization         San Luis Obispo Bpoe 322                                  Los Padres Council 053                           222 Elks Ln                                                           San Luis Obispo, CA 93401‐5434                                                                             First Class Mail
Chartered Organization         San Luis Obispo Elks Lodge 322                            Los Padres Council 053                           322 Elks Ln                                                           San Luis Obispo, CA 93401‐5434                                                                             First Class Mail
Chartered Organization         San Luis Obispo Highway Patrol                            Los Padres Council 053                           675 California Blvd                                                   San Luis Obispo, CA 93401‐2507                                                                             First Class Mail
Chartered Organization         San Luis Obispo Post 66 Inc                               Los Padres Council 053                           1661 Mill St                                                          San Luis Obispo, CA 93401‐2519                                                                             First Class Mail
Chartered Organization         San Luis Obispo Sheriffs Dept                             Los Padres Council 053                           1585 Kansas Ave                                                       San Luis Obispo, CA 93405‐7604                                                                             First Class Mail
Voting Party                   San Luis Obispo United Methodist Church                   Attn: Rick Uhls                                  1515 Fredericks St                                                    San Luis Obispo, CA 93405                                               rick.uhls@gmail.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   San Luis Rey Methodist Mens Club                          Attn: Michelle Park                              5570 Old Ranch Rd                                                     Oceanside, CA 92057‐5612                                                PastorMichelleSLRV@gmail.com       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         San Manuel Band Of Mission Indians                        California Inland Empire Council 045             26569 Community Center Dr                                             Highland, CA 92346‐6712                                                                                    First Class Mail
Chartered Organization         San Marcos Hays County Ems                                Capitol Area Council 564                         2061 Clovis Barker Rd, Unit 10B                                       San Marcos, TX 78666‐1073                                                                                  First Class Mail
Chartered Organization         San Marcos Noon Lions Club                                Capitol Area Council 564                         P.O. Box 994                                                          San Marcos, TX 78667‐0994                                                                                  First Class Mail
Chartered Organization         San Marino Chamber Of Commerce                            Greater Los Angeles Area 033                     2304 Huntington Dr, Ste 202                                           San Marino, CA 91108‐2649                                                                                  First Class Mail
Chartered Organization         San Marino City Club                                      Greater Los Angeles Area 033                     P.O. Box 80122                                                        San Marino, CA 91118‐8122                                                                                  First Class Mail
Chartered Organization         San Marino Community Church                               Greater Los Angeles Area 033                     1425 Hampton Rd                                                       San Marino, CA 91108‐1920                                                                                  First Class Mail
Chartered Organization         San Martin De Porres Catholic Church                      South Texas Council 577                          P.O. Box 266                                                          Laredo, TX 78042‐0266                                                                                      First Class Mail
Chartered Organization         San Martin De Porres Catholic Church                      Rio Grande Council 775                           901 N Texas Blvd                                                      Weslaco, TX 78596‐4508                                                                                     First Class Mail
Chartered Organization         San Martin Lions Club                                     Silicon Valley Monterey Bay 055                  12415 Murphy Ave                                                      San Martin, CA 95046‐9527                                                                                  First Class Mail
Chartered Organization         San Mateo Buddhist Temple                                 Pacific Skyline Council 031                      2 S Claremont St                                                      San Mateo, CA 94401‐3258                                                                                   First Class Mail
Chartered Organization         San Mateo County Sheriff'S Office                         Pacific Skyline Council 031                      400 County Ctr                                                        Redwood City, CA 94063‐1662                                                                                First Class Mail
Chartered Organization         San Mateo Police Dept                                     Pacific Skyline Council 031                      200 Franklin Pkwy                                                     San Mateo, CA 94403‐1921                                                                                   First Class Mail
Chartered Organization         San Miguel Fire Dept                                      San Diego Imperial Council 049                   2850 Via Orange Way                                                   Spring Valley, CA 91978‐1746                                                                               First Class Mail
Chartered Organization         San Pablo Catholic Church                                 South Florida Council 084                        550 122nd St Ocean                                                    Marathon, FL 33050‐3554                                                                                    First Class Mail
Chartered Organization         San Pablo Police Dept                                     Mt Diablo‐Silverado Council 023                  13880 San Pablo Ave                                                   San Pablo, CA 94806‐3704                                                                                   First Class Mail
Voting Party                   San Pablo United Methodist Church                         Attn: Jessica Ellis, CFO                         475 Riverside Dr, Ste 1922                                            New York, NY 10115                                                      jellis@umcitysociety.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         San Pedro Catholic Church                                 South Florida Council 084                        89500 Overseas Hwy                                                    Tavernier, FL 33070‐2255                                                                                   First Class Mail
Chartered Organization         San Pedro Presbyterian Church                             Alamo Area Council 583                           14900 San Pedro Ave                                                   San Antonio, TX 78232‐3711                                                                                 First Class Mail
Voting Party                   San Pedro United Methodist Church                         Attn: Lisa Williams                              580 W 6th St                                                          San Pedro, CA 90731                                                     pastorlisa.sanpedroumc@gmail.com   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         San Pedro Ward ‐ Lds St David Stake                       Catalina Council 011                             39 W Patton St                                                        Saint David, AZ 85630                                                                                      First Class Mail
Chartered Organization         San Rafael Elks Lodge 1108                                Marin Council 035                                P.O. Box 808                                                          San Rafael, CA 94915‐0808                                                                                  First Class Mail
Chartered Organization         San Rafael Police Assoc                                   Marin Council 035                                P.O. Box 151557                                                       San Rafael, CA 94915‐1557                                                                                  First Class Mail
Chartered Organization         San Ramon Valley Parent Support Network                   Mt Diablo‐Silverado Council 023                  4033 Hawkmount Way                                                    San Ramon, CA 94582‐9191                                                                                   First Class Mail
Voting Party                   San Saba United Methodist Church                          Attn: Senior Pastor                              204 W Brown St                                                        San Saba, TX 76877                                                      preachermanwtx@gmail.com           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         San Ysidro Catholic Church                                Great Swest Council 412                          5015 Corrales Rd                                                      Corrales, NM 87048                                                                                         First Class Mail
Chartered Organization         Sanborn Fire Co Inc                                       Greater Niagara Frontier Council 380             5811 Buffalo St                                                       Sanborn, NY 14132‐9452                                                                                     First Class Mail
Voting Party                   Sanbornville United Methodist Church                      Attn: Stephen Dow                                34 Highland Ave                                                       P.O. Box 227                         Milton Mills, NH 03852             stephenrdow@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sand Hill Utd Methodist                                   Muskingum Valley Council, Bsa 467                725 Sandhill Rd                                                       Marietta, OH 45750‐8634                                                                                    First Class Mail
Chartered Organization         Sand Run Baptist Church                                   Dan Beard Council, Bsa 438                       P.O. Box 88                                                           Hebron, KY 41048‐0088                                                                                      First Class Mail
Voting Party                   Sand Springs United Methodist Church                      Attn: Stephen Cagle & Treasurer                  319 N Main St                                                         Sand Springs, OK 74063                                                  office@sandspringsumc.org          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sandborn Lions Club                                       Buffalo Trace 156                                P.O. Box 52                                                           Sandborn, IN 47578‐0052                                                                                    First Class Mail
Chartered Organization         Sandburg Elementary Pto                                   Denver Area Council 061                          6900 S Elizabeth St                                                   Centennial, CO 80122‐1829                                                                                  First Class Mail
Chartered Organization         Sanden International (Usa) Inc                            Circle Ten Council 571                           601 Sanden Blvd                                                       Wylie, TX 75098‐4923                                                                                       First Class Mail
Voting Party                   Sanders Chapel United Methodist Church                    4430 Brogden Rd                                  Smithfield, NC 27577                                                                                                                          bjbyrd826@gmail.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sanders Glass                                             Trapper Trails 589                               86 E 200 N                                                            Kaysville, UT 84037‐1953                                                                                   First Class Mail
Firm                           Sanders Warren Russell Scheer LLP                         S Jacob Sappington                               1855 S Ingram Mill STE 207                                            Springfield, MO 65804                                                   j.sappington@swrsllp.com           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sandestin Ward Lds                                        Gulf Coast Council 773                           149 Dominica Ct                                                       Miramar Beach, FL 32550‐8038                                                                               First Class Mail
Chartered Organization         Sandhill Branch Church Of                                 Jesus Christ of Latter‐Day Saints                44281 Whwy 2                                                          Whitman, NE 69366                                                                                          First Class Mail
Chartered Organization         Sandia Presbyterian Church                                Great Swest Council 412                          10704 Paseo Del Norte NE                                              Albuquerque, NM 87122‐3112                                                                                 First Class Mail
Chartered Organization         Sandown Lions Club                                        Daniel Webster Council, Bsa 330                  P.O. Box 46                                                           Sandown, NH 03873‐0046                                                                                     First Class Mail
Chartered Organization         Sandown Police Assoc                                      Daniel Webster Council, Bsa 330                  314 Main St                                                           Sandown, NH 03873                                                                                          First Class Mail
Chartered Organization         Sandown Police Dept                                       Daniel Webster Council, Bsa 330                  P.O. Box 309                                                          Sandown, NH 03873‐0309                                                                                     First Class Mail
Chartered Organization         Sandpoint Lions Club                                      Inland Nwest Council 611                         P.O. Box 414                                                          Sandpoint, ID 83864‐0414                                                                                   First Class Mail
Voting Party                   Sandra L Santucci                                         Address Redacted                                                                                                                                                                               Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Firm                           Sandra Lee Gray, Attorney at Law                          Sandra Lee Gray                                  P.O. Bix 6031                                                         Riverton, WY 82501                                                      sandyleegray@gmail.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sands Of The Keys Inc                                     P.O. Box 345                                     Islamorada, FL 33036‐0345                                                                                                                                                        First Class Mail
Chartered Organization         Sandston Memorial Recreation Center                       Heart of Virginia Council 602                    P.O. Box 102                                                          Sandston, VA 23150‐0102                                                                                    First Class Mail
Chartered Organization         Sandusky Community Fire Dept                              Water and Woods Council 782                      161 S Elk St                                                          Sandusky, MI 48471‐1336                                                                                    First Class Mail
Chartered Organization         Sandwich Police Dept                                      Three Fires Council 127                          308 E College St                                                      Sandwich, IL 60548‐2223                                                                                    First Class Mail
Chartered Organization         Sandwich Vfw Post 1486                                    Three Fires Council 127                          713 S Main St                                                         Sandwich, IL 60548‐2350                                                                                    First Class Mail
Voting Party                   Sandwich Village Episcopal Church                         159 Main St                                      Sandwich, MA 02644                                                                                                                            rector@sjchurchsandwich.org        Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sandy City Police Post                                    Great Salt Lake Council 590                      10000 S Centennial Pkwy                                               Sandy, UT 84070‐4125                                                                                       First Class Mail
Chartered Organization         Sandy Creek Utd Methodist Church                          Longhouse Council 373                            P.O. Box 158                                                          Sandy Creek, NY 13145‐0158                                                                                 First Class Mail
Chartered Organization         Sandy Fire District 72                                    Cascade Pacific Council 492                      P.O. Box 518                                                          Sandy, OR 97055‐0518                                                                                       First Class Mail
Voting Party                   Sandy Hook United Methodist Church                        Attn: Debbie Gooldy                              1610 Taylor Rd                                                        Columbus, IN 47203                                                      office@sandyhook.org               Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sandy Lake Presbyterian Church                            French Creek Council 532                         3461 Sandy Lake New Lebanon Rd                                        Sandy Lake, PA 16145                                                                                       First Class Mail
Voting Party                   Sandy Mount United Methodist Church                       Attn: Thomas E Poe                               2101 Old Westminster Pike                                             Finksburg, MD 21048                                                     sandymtumc@comcast.net             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sandy Plains United Methodist Church                      c/o Cairo Parish                                 Attn: Melanie Lasher, Corporate Secretary                             P.O. Box 552                         Cairo, NY 12413                    seahawks994@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sandy Ridge Pta                                           Central N Carolina Council 416                   10101 Waxhaw Manor Dr                                                 Waxhaw, NC 28173‐6846                                                                                      First Class Mail
Voting Party                   Sandy Ridge Ruritan Club                                  P.O. Box 73                                      Sandy Ridge, NC 27046                                                                                                                         awjoyce76@gmail.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sandy Ridge United Methodist Church                       Attn: Phil Stephens                              2090 Co Ri 42                                                         Camp Mill, AL 36850                                                     stephensraceengones@hughes.net     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sandy Run Missionary Baptist Church                       East Carolina Council 426                        1503 Hargett St                                                       Jacksonville, NC 28540‐7043                                                                                First Class Mail
Chartered Organization         Sandy Springs Police Dept                                 Atlanta Area Council 092                         7840 Roswell Rd, Ste 300                                              Sandy Springs, GA 30350‐4886                                                                               First Class Mail
Voting Party                   Sandy Springs Umc                                         c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sandy Springs Utd Methodist Church                        Atlanta Area Council 092                         86 Mount Vernon Hwy Nw                                                Atlanta, GA 30328‐3826                                                                                     First Class Mail
Chartered Organization         Sandycreek Vfd                                            French Creek Council 532                         624 Congress Hill Rd                                                  Franklin, PA 16323‐3508                                                                                    First Class Mail
Chartered Organization         Sandy'S Daycareinc                                        Westark Area Council 016                         P.O. Box 125                                                          Huntington, AR 72940‐0125                                                                                  First Class Mail
Chartered Organization         Sanford Center                                            Mid‐America Council 326                          1700 Geneva St                                                        Sioux City, IA 51103‐3048                                                                                  First Class Mail
Chartered Organization         Sanford Health                                            Voyageurs Area 286                               1300 Anne St NW                                                       Bemidji, MN 56601‐5103                                                                                     First Class Mail
Voting Party                   Sanford United Methodist Church                           Attn: Roger Sharpe‐ Admin Chair                  2560 N West River Rd                                                  Sanford, MI 48657                                                       secretary@sanfordumc.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sanger Amvets Post 98                                     Sequoia Council 027                              P.O. Box 333                                                          Sanger, CA 93657‐0333                                                                                      First Class Mail
Chartered Organization         Sanger Fire Dept                                          Sequoia Council 027                              1700 7th St                                                           Sanger, CA 93657‐2804                                                                                      First Class Mail
Chartered Organization         Sanger Police Dept                                        Sequoia Council 027                              1700 7th St                                                           Sanger, CA 93657‐2804                                                                                      First Class Mail
Voting Party                   Sango United Methodist Church                             Attn: Treasurer, Sango United Methodist Church   3301 Sango Rd                                                         Clarksville, TN 37043                                                   office@sangoumc.org                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sangre Ridge Elementary School Pta                        Cimarron Council 474                             2500 S Sangre Rd                                                      Stillwater, OK 74074‐2151                                                                                  First Class Mail
Chartered Organization         Sanibel Community Church                                  Southwest Florida Council 088                    P.O. Box 1257                                                         Sanibel, FL 33957‐1257                                                                                     First Class Mail
Voting Party                   Sanlando United Methodist ‐ Longwood                      c/o Bradley Arant Boult Cummings, LLP            Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sanlando Utd Methodist Church                             Central Florida Council 083                      1890 W State Rd 434                                                   Longwood, FL 32750‐5002                                                                                    First Class Mail
Voting Party                   Sanmar                                                    Attn: Nancy Tombarge                             22833 SE Black Nugget Rd, Ste 130                                     Issaquah, WA 98029                                                      nancyt@sanmar.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Santa Ana Police Dept                                     Orange County Council 039                        P.O. Box 1981                                                         Santa Ana, CA 92702‐1981                                                                                   First Class Mail
Chartered Organization         Santa Ana Unified School Police Dept                      Orange County Council 039                        1601 E Chestnut Ave                                                   Santa Ana, CA 92701‐6322                                                                                   First Class Mail
Voting Party                   Santa Ana United Methodist Church                         Attn: Douglas Gillen                             2121 N Grand Ave                                                      Santa Ana, CA 92705                                                     saumcbusiness@gmail.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Santa Anita Village Homeowners Assoc                      Greater Los Angeles Area 033                     319 S Altura Rd                                                       Arcadia, CA 91007‐6239                                                                                     First Class Mail
Voting Party                   Santa Barbara Catholic Church                             Attn: Chancellor, BSA Coordinator                6225 E US 290 Hwy Svrd Eb                                             Austin, TX 78723                                                        ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Santa Barbara Catholic Church                             Attn: Rev Jorge Hernandez De Luna                13713 Fm 969                                                          Austin, TX 78724                                                                                           First Class Mail
Chartered Organization         Santa Barbara County Sheriffs Dept                        Los Padres Council 053                           4434 Calle Real                                                       Santa Barbara, CA 93110‐1002                                                                               First Class Mail
Chartered Organization         Santa Barbara Elks Lodge 613                              Los Padres Council 053                           150 N Kellogg Ave                                                     Santa Barbara, CA 93111‐1648                                                                               First Class Mail
Chartered Organization         Santa Barbara Police Dept                                 Los Padres Council 053                           215 E Figueroa St                                                     Santa Barbara, CA 93101‐2120                                                                               First Class Mail
Chartered Organization         Santa Barbara Youth Sailing Foundation                    Los Padres Council 053                           130 Harbor Way                                                        Santa Barbara, CA 93109‐2316                                                                               First Class Mail
Chartered Organization         Santa Catalina School                                     Silicon Valley Monterey Bay 055                  1500 Mark Thomas Dr                                                   Monterey, CA 93940‐5238                                                                                    First Class Mail
Chartered Organization         Santa Clara Catholic Church                               Ventura County Council 057                       323 S E St                                                            Oxnard, CA 93030‐5835                                                                                      First Class Mail
Voting Party                   Santa Clara Catholic Church                               c/o Archdiocese of Los Angeles                   Attn: Margaret Graf, General Counsel                                  3424 Wilshire Blvd                   Los Angeles, CA 90010              legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Santa Clara Church Of Christ                              Oregon Trail Council 697                         175 Santa Clara Ave                                                   Eugene, OR 97404‐2078                                                                                      First Class Mail
Chartered Organization         Santa Clara County Da's Office                            Silicon Valley Monterey Bay 055                  70 W Hedding St                                                       San Jose, CA 95110‐1705                                                                                    First Class Mail
Chartered Organization         Santa Clara De Asis Catholic Church                       Orange County Council 039                        22005 Avenida De La Paz Pl                                            Yorba Linda, CA 92887‐2745                                                                                 First Class Mail
Chartered Organization         Santa Clara Police Dept                                   Silicon Valley Monterey Bay 055                  601 El Camino Real                                                    Santa Clara, CA 95050‐4307                                                                                 First Class Mail
Chartered Organization         Santa Clara Sheriff'S Office                              Silicon Valley Monterey Bay 055                  55 W Younger Ave                                                      San Jose, CA 95110‐1712                                                                                    First Class Mail
Chartered Organization         Santa Clara Valley Medical Center                         Silicon Valley Monterey Bay 055                  751 S Bascom Ave                                                      San Jose, CA 95128‐2604                                                                                    First Class Mail
Chartered Organization         Santa Clarita Elks Lodge 2379                             W.L.A.C.C. 051                                   17766 Sierra Hwy                                                      Canyon Country, CA 91351‐1635                                                                              First Class Mail
Chartered Organization         Santa Clarita Kiwanis Club                                W.L.A.C.C. 051                                   27803 Ron Ridge Dr                                                    Santa Clarita, CA 91350‐4317                                                                               First Class Mail
Chartered Organization         Santa Clarita Sunrise Rotary Club                         W.L.A.C.C. 051                                   19100 Sierra Estates Dr                                               Newhall, CA 91321‐2230                                                                                     First Class Mail
Voting Party                   Santa Clarita United Methodist Church                     Attn: Jim Schmitt                                26640 Bouquet Canyon Rd                                               Santa Clarita, CA 91350                                                 santaclaritaumc@scumc.org          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Santa Claus United Methodist Church                       351 N Holiday Blvd                               Santa Claus, IN 47579                                                                                                                         pastortim@santaclausumc.org        Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Santa Cruz Catholic Church                                Capitol Area Council 564                         P.O. Box 1304                                                         Buda, TX 78610‐1304                                                                                        First Class Mail
Voting Party                   Santa Cruz Catholic Church                                Attn: Rev Jesse Martinez                         6225 E US 290 Hwy Svrd Eb                                             Austin, TX 78723                                                        ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Santa Cruz Catholic Church                                Attn: Rev Jesse Martinez                         1100 Main St                                                          Austin, TX 78610                                                                                           First Class Mail
Chartered Organization         Santa Cruz Elks Lodge 824                                 Silicon Valley Monterey Bay 055                  150 Jewell St                                                         Santa Cruz, CA 95060‐1718                                                                                  First Class Mail
Chartered Organization         Santa Cruz Host Lions Club                                Silicon Valley Monterey Bay 055                  P.O. Box 477                                                          Santa Cruz, CA 95061‐0477                                                                                  First Class Mail
Chartered Organization         Santa Cruz Moose Lodge 545                                Silicon Valley Monterey Bay 055                  2470 El Rancho Dr                                                     Santa Cruz, CA 95060‐1106                                                                                  First Class Mail
Voting Party                   Santa Cruz Valley United Methodist Church (AZ             c/o Clarke Law Firm, PLC                         Attn: Marilee Miller Clarke                                           8141 E Indian Bend Rd, Ste 105       Scottsdale, AZ 85250               marilee@clarkelawaz.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Santa Cruz Vly Utd Methodist Ch                           Catalina Council 011                             70 W Sahuarita Rd                                                     Sahuarita, AZ 85629‐7003                                                                                   First Class Mail
Chartered Organization         Santa Fe Isd Police Dept                                  Bay Area Council 574                             P.O. Box 370                                                          Santa Fe, TX 77510‐0370                                                                                    First Class Mail
Chartered Organization         Santa Fe Presbyterian Church                              Last Frontier Council 480                        1603 N Santa Fe Ave                                                   Edmond, OK 73003‐3661                                                                                      First Class Mail
Chartered Organization         Santa Fe South Hills Elem                                 Last Frontier Council 480                        301 SE 38th St                                                        Oklahoma City, OK 73129‐3015                                                                               First Class Mail
Chartered Organization         Santa Fe South Spero                                      Last Frontier Council 480                        4906 S Santa Fe Ave                                                   Oklahoma City, OK 73109‐7549                                                                               First Class Mail
Chartered Organization         Santa Fe Springs Dept Of Fire & Rescue                    Greater Los Angeles Area 033                     11300 Greenstone Ave                                                  Santa Fe Springs, CA 90670‐4619                                                                            First Class Mail
Chartered Organization         Santa Fe Springs Firemens Assoc                           Greater Los Angeles Area 033                     11300 Greenstone Ave                                                  Santa Fe Springs, CA 90670‐4619                                                                            First Class Mail
Voting Party                   Santa Fe Trail Association                                1349 K156 Hwy                                    Larned, KS 67550‐5347                                                                                                                                                            First Class Mail
Voting Party                   Santa Fe Trail Council                                    Attn: Aaron Kite                                 808 W Mcartor Rd                                                      Dodge City, KS 67801                                                    aaron@kitelawfirm.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Santa Margarita Fire Dept                                 Los Padres Council 053                           P.O. Box 67                                                           Santa Margarita, CA 93453‐0067                                                                             First Class Mail
Chartered Organization         Santa Margarita Lions Club                                Los Padres Council 053                           P.O. Box 87                                                           Santa Margarita, CA 93453‐0087                                                                             First Class Mail
Chartered Organization         Santa Margarita Yacht Club                                San Diego Imperial Council 049                   304 Cadillac Cir                                                      Oceanside, CA 92054‐3442                                                                                   First Class Mail
Chartered Organization         Santa Maria Community Services Carson                     Dan Beard Council, Bsa 438                       4323 Glenway Ave                                                      Cincinnati, OH 45205‐1507                                                                                  First Class Mail
Chartered Organization         Santa Maria De La Paz Catholic Community                  Great Swest Council 412                          3368 Governor Miles Rd                                                Santa Fe, NM 87507‐2569                                                                                    First Class Mail
Chartered Organization         Santa Maria De La Paz Catholic Community                  Great Swest Council 412                          11 College Dr                                                         Santa Fe, NM 87508‐9225                                                                                    First Class Mail
Chartered Organization         Santa Maria Del Popolo Catholic Church                    Northeast Illinois 129                           116 N Lake St                                                         Mundelein, IL 60060‐2204                                                                                   First Class Mail
Voting Party                   Santa Maria First United Methodist Church                 Attn: Board of Trustees                          311 S Broadway                                                        Santa Maria, CA 93454                                                   fumcsmc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                             Page 330 of 442
                                                                                  Case 20-10343-LSS                                                Doc 8171                                                  Filed 01/06/22                                                         Page 346 of 457
                                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                                Service List
                                                                                                                                                                                         Served as set forth below

        Description                                                        Name                                                                                                                Address                                                                                                                  Email                Method of Service
Chartered Organization         Santa Maria Police Dept                                        Los Padres Council 053                          1111 W Betteravia Rd                                                  Santa Maria, CA 93455‐1120                                                                                    First Class Mail
Chartered Organization         Santa Monica Police Dept                                       W.L.A.C.C. 051                                  333 Olympic Dr                                                        Santa Monica, CA 90401‐3360                                                                                   First Class Mail
Chartered Organization         Santa Monica Wind Jammers Yacht Club                           W.L.A.C.C. 051                                  13589 Mindanao Way                                                    Marina Del Rey, CA 90292‐6950                                                                                 First Class Mail
Voting Party                   Santa Paula 1st                                                Attn: Andu Chairman                             9003 Reseda Blvd, Ste 206                                             Northridge, CA 91324                                                                                          First Class Mail
Chartered Organization         Santa Paula Police Dept                                        Ventura County Council 057                      214 S 10th St                                                         Santa Paula, CA 93060‐3704                                                                                    First Class Mail
Chartered Organization         Santa Paula Rotary Club                                        Ventura County Council 057                      P.O. Box 809                                                          Santa Paula, CA 93061‐0809                                                                                    First Class Mail
Chartered Organization         Santa Rosa Police Officers Assoc                               Redwood Empire Council 041                      P.O. Box 40                                                           Santa Rosa, CA 95402‐0040                                                                                     First Class Mail
Chartered Organization         Santa Rosa Rancheria Tachi Yokut                               Dept of Public Safety                           16385 Alkali Dr, Apt C                                                Lemoore, CA 93245                                                                                             First Class Mail
Chartered Organization         Santa Teresa School & Home Club                                Silicon Valley Monterey Bay 055                 6200 Encinal Dr                                                       San Jose, CA 95119‐1514                                                                                       First Class Mail
Chartered Organization         Santa Ynez Valley Presbyterian Church                          Los Padres Council 053                          1825 Alamo Pintado Rd                                                 Solvang, CA 93463‐9752                                                                                        First Class Mail
Chartered Organization         Santee Chamber Of Commerce                                     San Diego Imperial Council 049                  10315 Mission Gorge Rd                                                Santee, CA 92071‐3031                                                                                         First Class Mail
Chartered Organization         Santee Firefighters Assoc                                      San Diego Imperial Council 049                  8950 Cottonwood Ave                                                   Santee, CA 92071‐3001                                                                                         First Class Mail
Voting Party                   Santee United Methodist Church                                 Attn: Jaime Pangman                             8964 N Magnolia Ave                                                   Santee, CA 92071                                                          santeeumc@santeeumc.org             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Santee‐Lakeside Elks Lodge 2698                                San Diego Imperial Council 049                  11633 Woodside Ave                                                    Lakeside, CA 92040‐2819                                                                                       First Class Mail
Chartered Organization         Santiago De Compostela Catholic Church                         Orange County Council 039                       21682 Lake Forest Dr                                                  Lake Forest, CA 92630‐6064                                                                                    First Class Mail
Chartered Organization         Santiago Lions Club, Inc                                       Central Minnesota 296                           12967 82nd St Se                                                      Clear Lake, MN 55319‐9451                                                                                     First Class Mail
Chartered Organization         Sappington School Pto                                          Greater St Louis Area Council 312               11011 Gravois Rd                                                      Saint Louis, MO 63126‐3601                                                                                    First Class Mail
Chartered Organization         Sappony Baptist Church                                         Colonial Virginia Council 595                   17352 Concord Sappony Rd                                              Stony Creek, VA 23882                                                                                         First Class Mail
Chartered Organization         Sarah Adams Pto                                                Pathway To Adventure 456                        555 Old Mill Grove Rd                                                 Lake Zurich, IL 60047‐2819                                                                                    First Class Mail
Chartered Organization         Sarah Anderson Parent Teacher Assoc                            Cascade Pacific Council 492                     2215 NE 104th St                                                      Vancouver, WA 98686‐5641                                                                                      First Class Mail
Chartered Organization         Sarah Daft Home                                                Great Salt Lake Council 590                     737 S 1300 E                                                          Salt Lake City, UT 84102‐3713                                                                                 First Class Mail
Chartered Organization         Sarah Heinz House ‐ Boys And Girls Club                        Laurel Highlands Council 527                    1 Heinz St                                                            Pittsburgh, PA 15212‐5920                                                                                     First Class Mail
Chartered Organization         Sarah J Webber Parent Assoc                                    Great Lakes Fsc 272                             48980 Woodward Ave                                                    Pontiac, MI 48342‐5034                                                                                        First Class Mail
Chartered Organization         Sarah Jane Johnson Church                                      Baden‐Powell Council 368                        308 Main St                                                           Johnson City, NY 13790‐2051                                                                                   First Class Mail
Voting Party                   Sarah Jane Johnson United Methodist Church                     Attn: Renee James, Esq                          100 Madison St                                                        Syracuse, NY 13202                                                        rjames@hancocklaw.com               Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Sarah Jane Johnson United Methodist Church                     Attn: Paster Carolyn Stow                       308 Main St                                                           Syracuse, NY 13790                                                        pastor.carolyn.stow@gmail.com       Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sarah M Roach Elementary School                                Baltimore Area Council 220                      3434 Old Frederick Rd                                                 Baltimore, MD 21229‐3825                                                                                      First Class Mail
Chartered Organization         Sarahcare                                                      Northeast Georgia Council 101                   1567 Janmar Rd, Ste 200                                               Snellville, GA 30078‐0309                                                                                     First Class Mail
Voting Party                   Saraland United Methodist Church                               Attn: Linda Foses                               P.O. Box 415                                                          Saraland, AL 36571                                                        linda@saralandumc.org               Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Saranac Community Church                                       President Gerald R Ford 781                     125 S Bridge St                                                       Saranac, MI 48881‐5120                                                                                        First Class Mail
Chartered Organization         Saranac Lions Club                                             President Gerald R Ford 781                     69 N Bridge St                                                        Saranac, MI 48881‐5107                                                                                        First Class Mail
Chartered Organization         Sarasota Suncoast Academy                                      Southwest Florida Council 088                   8084 Hawkins Rd                                                       Sarasota, FL 34241‐9300                                                                                       First Class Mail
Chartered Organization         Saratoga Community Assoc                                       National Capital Area Council 082               P.O. Box 479                                                          Springfield, VA 22150‐0479                                                                                    First Class Mail
Voting Party                   Saratoga Federated Church                                      Attn: Gerald A Bruce Jr                         20390 Park Pl                                                         Saratoga, CA 95070                                                        jerry@saratogafederated.org         Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Saratoga Knights Of Columbus                                   Attn: Brian Gedicks Associate General Counsel   1 Columbus Plz                                                        New Haven, CT 06510                                                       EDoernberger@sdvlaw.com             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Saratoga Knights Of Columbus                                   c/o Knights of Columbus                         Attn: Brian Gedicks, Associate General Counsel                        1 Columbus Plz                       New Haven, CT 06510                  Brian.Gedicks@KofC.org              Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Saratoga Lions Club                                            Longs Peak Council 062                          P.O. Box 844                                                          Saratoga, WY 82331‐0844                                                                                       First Class Mail
Chartered Organization         Saratoga Sheriffs Dept                                         Twin Rivers Council 364                         6010 County Farm Rd                                                   Ballston Spa, NY 12020‐2207                                                                                   First Class Mail
Chartered Organization         Saratoga Springs 12Th Branch                                   Utah National Parks 591                         4191 N Bay Cir                                                        Lehi, UT 84043‐2948                                                                                           First Class Mail
Voting Party                   Saratoga Springs United Methodist Church                       Attn: Daniel Lecours                            175 5th Ave                                                           Saratoga Springs, NY 12866                                                drlecours@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Saratoga Wilton Elks Lodge 161                                 Twin Rivers Council 364                         1 Elks Ln                                                             Saratoga Springs, NY 12866‐5541                                                                               First Class Mail
Chartered Organization         Saratoga‐Wilton Bpoe Lodge 161                                 Twin Rivers Council 364                         P.O. Box 3111                                                         Saratoga Springs, NY 12866‐8002                                                                               First Class Mail
Voting Party                   Sardis Evangelical Lutheran Church                             Attn: Joe David Biggerstaff                     6103 W Nc 10 Hwy                                                      Hickory, NC 28601                                                         biggerstaffjoe@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sardis Presbyterian Church                                     Mecklenburg County Council 415                  6100 Sardis Rd                                                        Charlotte, NC 28270‐5373                                                                                      First Class Mail
Chartered Organization         Sargent Baptist Church                                         Flint River Council 095                         467 N Main St                                                         Sargent, GA 30275                                                                                             First Class Mail
Chartered Organization         Sargent John Rice Vfw                                          Northern Star Council 250                       1374 109th Ave NE                                                     Blaine, MN 55434‐3709                                                                                         First Class Mail
Chartered Organization         Sargent Memorial Presbyterian Church                           National Capital Area Council 082               5109 N H Burrgs Ave NE                                                Washington, DC 20019‐5510                                                                                     First Class Mail
Voting Party                   Sargent United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200             Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Saron Lutheran Church                                          311 Lake St S                                   Big Lake, MN 55309                                                                                                                              office@saron.org                    Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Saron Utd Church Of Christ                                     Hoosier Trails Council 145 145                  440 1st St NE                                                         Linton, IN 47441‐1433                                                                                         First Class Mail
Chartered Organization         Sartain Chiropractic                                           Middle Tennessee Council 560                    1028 W Main St                                                        Lebanon, TN 37087‐3352                                                                                        First Class Mail
Voting Party                   Satellite Beach United Methodist Church ‐Satellite Beach       c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200             Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Satellite Rotary Club Of Franklin                              Daniel Boone Council 414                        P.O. Box 375                                                          Franklin, NC 28744‐0375                                                                                       First Class Mail
Chartered Organization         Satsuma Jrotc Group Of Citizens                                Mobile Area Council‐Bsa 004                     P.O. Box 1327                                                         Mobile, AL 36633‐1327                                                                                         First Class Mail
Chartered Organization         Satsuma Methodist Church                                       Mobile Area Council‐Bsa 004                     58 Bayou Ave W                                                        Satsuma, AL 36572‐2262                                                                                        First Class Mail
Chartered Organization         Satsuma Utd Methodist Church                                   Mobile Area Council‐Bsa 004                     P.O. Box 879                                                          Satsuma, AL 36572‐0879                                                                                        First Class Mail
Chartered Organization         Saturn Christian Ch & St Catherine Cath                        Anthony Wayne Area 157                          6731 E 800 S                                                          Columbia City, IN 46725‐9245                                                                                  First Class Mail
Chartered Organization         Saturn Elementary School                                       Central Florida Council 083                     880 N Range Rd                                                        Cocoa, FL 32926‐5326                                                                                          First Class Mail
Voting Party                   Saucier United Methodist Church                                Attn: Rev Beth Matthews                         P.O. Box 99                                                           Saucier, MS 39574‐0099                                                    mbrolfs58@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Saucier Utd Methodist Church                                   Pine Burr Area Council 304                      24135 Church Ave                                                      Saucier, MS 39574‐8062                                                                                        First Class Mail
Firm                           Sauder Schelkopf, LLC                                          Joseph G. Sauder, Esq                           1109 Lancaster Avenue                                                 Berwyn, PA 19312                                                          jgs@sstriallawyers.com              Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Saudi Aramco Dhahran Recreation Services                       Transatlantic Council, Bsa 802                  Dhahran Boy Scouts                                                    Box 13463                            Saudi Arabia                                                             First Class Mail
Chartered Organization         Saugatuck Congregational Church                                Connecticut Yankee Council Bsa 072              P.O. Box 5186                                                         Westport, CT 06881‐5186                                                                                       First Class Mail
Voting Party                   Saugerties United Methodist Church                             Attn: Nancy Forsythe                            104 Lauren Tice Rd                                                    Saugerties, NY 12477                                                      nforsythe@hvc.rr.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Saugerties United Methodist Church                             Nancy Forsythe                                  67 Washington Ave                                                     Saugerties, NY 12477                                                      nforsythe@hvc.rr.com                Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sauk‐Prairie Bow Hunters Inc                                   c/o Jerry Volbrecht                             Glaciers Edge Council 620                                             S9367 Old Bluff Trl                  Prairie Du Sac, WI 53578                                                 First Class Mail
Chartered Organization         Saulston Umc                                                   Tuscarora Council 424                           5014 Wayne Memorial Dr                                                Goldsboro, NC 27534‐7252                                                                                      First Class Mail
Chartered Organization         Saulston Utd Methodist Church                                  Tuscarora Council 424                           4620 Wayne Memorial Dr                                                Goldsboro, NC 27534‐7244                                                                                      First Class Mail
Firm                           Saunders & Walker, P.A.                                        Joseph H Saunders, Esq                          3491 Gandy Blvd., Ste 200                                             Pinellas Park, FL 33781                                                   info@saunderslawyers.com            Email
                                                                                                                                                                                                                                                                                              peter@saunderslawyers.com           First Class Mail
Voting Party                   Saunders Schmidt & Echols Pc                                   Jim M Echols                                    202 W Erwin St, Ste 200                                               Tyler, TX 75702                                                           j.m.echols@att.net                  Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sauquoit Valley Optimists Club                                 Leatherstocking 400                             2074 Greens Crossing Rd                                               Cassville, NY 13318‐1010                                                                                      First Class Mail
Chartered Organization         Sauquoit Valley Utd Methodist Church                           Leatherstocking 400                             2548 Mohawk St                                                        Sauquoit, NY 13456‐3314                                                                                       First Class Mail
Chartered Organization         Savage Volunteer Fire Co Inc                                   Baltimore Area Council 220                      8521 Corridor Rd                                                      Savage, MD 20763‐9501                                                                                         First Class Mail
Voting Party                   Savanna First                                                  2100 Chicago Ave                                Savanna, IL 61074                                                                                                                               daveyim15@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Savanna Lions Club                                             Blackhawk Area 660                              Main St                                                               Savanna, IL 61074                                                                                             First Class Mail
Chartered Organization         Savannah Christian Preparatory School                          Coastal Georgia Council 099                     1599 Chatham Pkwy                                                     Savannah, GA 31408‐3025                                                                                       First Class Mail
Chartered Organization         Savannah Police Dept                                           Coastal Georgia Council 099                     201 Habersham St                                                      Savannah, GA 31401‐4053                                                                                       First Class Mail
Chartered Organization         Savannah Toastmasters Club 705                                 Coastal Georgia Council 099                     P.O. Box 22781                                                        Savannah, GA 31403‐2781                                                                                       First Class Mail
Voting Party                   Savannah United Methodist Church                               Attn: Jeanne Hixon, Treasurer                   10520 Snow Hill Rd                                                    Ooltewah, TN 37363                                                        savannahumctn@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Savannah United Methodist Church (86942)                       c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200           Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Savannah United Methodist Church (86942)                       c/o Bentz Law Firm                              Attn: Leonard Spagnolo & Daniel Maier                                 680 Washington Rd, Ste 200           Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Savannah Utd Methodist Church                                  Moraine Trails Council 500                      94 Savannah Rd                                                        New Castle, PA 16101                                                                                          First Class Mail
Chartered Organization         Savannah Volunteer Fire Co                                     Buckeye Council 436                             6 Haney St                                                            Savannah, OH 44874                                                                                            First Class Mail
Chartered Organization         Savoy Utd Methodist Church                                     Prairielands 117                                3002 W Old Church Rd                                                  Champaign, IL 61822‐9665                                                                                      First Class Mail
Chartered Organization         Savvy Foundation                                               Northeast Georgia Council 101                   267 Ashland Park Ct                                                   Lawrenceville, GA 30045‐5226                                                                                  First Class Mail
Chartered Organization         Sawkill Volunteer Fire Co Inc                                  Rip Van Winkle Council 405                      P.O. Box 2053                                                         Kingston, NY 12402‐2053                                                                                       First Class Mail
Chartered Organization         Sawyer Road Elementary School Pta                              Atlanta Area Council 092                        840 Sawyer Rd                                                         Marietta, GA 30062‐2263                                                                                       First Class Mail
Voting Party                   Saxapahaw United Methodist Church                              Attn: Barbara Christy                           8501 Holman Mill Rd                                                   Snow Camp, NC 27349                                                       bchristy@schellbray.com             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Saxapahaw Utd Methodist Church                                 Old N State Council 070                         5624 Church Rd                                                        Saxapahaw, NC 27340                                                                                           First Class Mail
Voting Party                   Saxe Doernberger & Vita P.C.                                   Attn: Edwin L Doernberger                       35 Nutmeg Dr, Ste 140                                                 Trumbull, CT 06611                                                        eld@sdvlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Saxe Doernberger & Vita P.C.                                   Edwin L. Doernberger                            35 Nutmeg Dr, Ste 140                                                 Trumbull, CT 06611                                                        edl@sdvlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Saxe Doernberger & Vita, P.C.                                  Attn: Edwin L. Doernberger                      35 Nutmeg Dr, Ste 140                                                 Trumbull, CT 06611                                                        EDoerngerger@sdvlaw.com             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Saxe Doernberger & Vita, P.C.                                  Attn: Edwin L Doernberger                       35 Nutmeg Dr, Ste 140                                                 Trumbull, CT 06611                                                        EDoernberger@sdvlaw.com             Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Saxe Gotha Presbyterian Church                                 Indian Waters Council 553                       5503 Sunset Blvd                                                      Lexington, SC 29072‐9162                                                                                      First Class Mail
Chartered Organization         Saxton Fire Co Inc                                             Rip Van Winkle Council 405                      124 Valk Rd                                                           Saugerties, NY 12477‐3715                                                                                     First Class Mail
Chartered Organization         Saybrook Utd Methodist Church                                  Lake Erie Council 440                           7900 Depot Rd                                                         Ashtabula, OH 44004‐9486                                                                                      First Class Mail
Voting Party                   Saylorsburg St Peters United Methodist 924 Old Rte 115, Sayl   924 Old Rte 115                                 Saylorsburg, PA 18353                                                                                                                                                               First Class Mail
Voting Party                   Saylorsburg: St Peter's United Methodist                       c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200             Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sayre Christian Church                                         Five Rivers Council, Inc 375                    427 S Keystone Ave                                                    Sayre, PA 18840‐1527                                                                                          First Class Mail
Chartered Organization         Sayre Rotary                                                   Last Frontier Council 480                       129 E Main St                                                         Sayre, OK 73662‐2913                                                                                          First Class Mail
Chartered Organization         Sayville Chamber Of Commerce                                   Suffolk County Council Inc 404                  P.O. Box 235                                                          Sayville, NY 11782‐0235                                                                                       First Class Mail
Chartered Organization         Sayville Fire Dept                                             Suffolk County Council Inc 404                  107 N Main St                                                         Sayville, NY 11782‐2509                                                                                       First Class Mail
Chartered Organization         Sayville High School                                           Suffolk County Council Inc 404                  20 Brook St                                                           West Sayville, NY 11796‐1402                                                                                  First Class Mail
Chartered Organization         Sayville Middle School                                         Suffolk County Council Inc 404                  291 Johnson Ave                                                       Sayville, NY 11782‐1139                                                                                       First Class Mail
Chartered Organization         Sbcusd‐Police Dept                                             California Inland Empire Council 045            536 W Base Line St                                                    San Bernardino, CA 92410‐2822                                                                                 First Class Mail
Chartered Organization         Scales Of Justice Lions                                        Silicon Valley Monterey Bay 055                 P.O. Box 602                                                          San Jose, CA 95106‐0602                                                                                       First Class Mail
Chartered Organization         Scalp Level Trinity Utd Methodist Ch                           Laurel Highlands Council 527                    751 Horn Rd                                                           Windber, PA 15963‐7318                                                                                        First Class Mail
Chartered Organization         Scarborough Elementary School Pto                              Heart of America Council 307                    2000 S Lindenwood Dr                                                  Olathe, KS 66062‐2811                                                                                         First Class Mail
Chartered Organization         Scarborough Fire Dept                                          Pine Tree Council 218                           246 US Route 1                                                        Scarborough, ME 04074‐9519                                                                                    First Class Mail
Chartered Organization         Scarborough Fish And Game Assoc                                Pine Tree Council 218                           70 Holmes Rd                                                          Scarborough, ME 04074‐9565                                                                                    First Class Mail
Chartered Organization         Scarborough Lions Club                                         Pine Tree Council 218                           P.O. Box 644                                                          Scarborough, ME 04070‐0644                                                                                    First Class Mail
Chartered Organization         Scarborough Lions Club                                         Pine Tree Council 218                           P.O. Box 644                                                          Scarborough, ME 04070‐0644                                                                                    First Class Mail
Chartered Organization         Scarborough Police Dept                                        Pine Tree Council 218                           246 US Route 1                                                        Scarborough, ME 04074‐9519                                                                                    First Class Mail
Chartered Organization         Sccc Camping Committee                                         Silicon Valley Monterey Bay 055                 970 W Julian St                                                       San Jose, CA 95126‐2719                                                                                       First Class Mail
Chartered Organization         Scenic Heights Pta                                             Northern Star Council 250                       5650 Scenic Heights Dr                                                Minnetonka, MN 55345‐5235                                                                                     First Class Mail
Voting Party                   Scenic Hills United Methodist Church                           Attn: John Stanley                              2847 Pembroke Rd                                                      Memphis, TN 38128                                                         scenichillsumc@bellsouth.net        Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sch Pharmacy & Health Professions                              Mid‐America Council 326                         2500 California Plz                                                   Omaha, NE 68178‐0133                                                                                          First Class Mail
Chartered Organization         Schaumburg Am Rotary Club                                      Pathway To Adventure 456                        P.O. Box 68651                                                        Schaumburg, IL 60168‐0651                                                                                     First Class Mail
Chartered Organization         Schaumburg Fire Dept                                           Pathway To Adventure 456                        1601 N Roselle Rd                                                     Schaumburg, IL 60195‐3612                                                                                     First Class Mail
Chartered Organization         Schaumburg Jaycees                                             Pathway To Adventure 456                        P.O. Box 68997                                                        Schaumburg, IL 60168‐0997                                                                                     First Class Mail
Chartered Organization         Schaumburg‐Hoffman Lions Club                                  Pathway To Adventure 456                        25 E Illinois Ave                                                     Hoffman Estates, IL 60067‐7126                                                                                First Class Mail
Chartered Organization         Scheels Sporting Goods                                         Bay‐Lakes Council 635                           4301 W Wisconsin Ave, Ste 8                                           Appleton, WI 54913‐6524                                                                                       First Class Mail
Chartered Organization         Schell‐Vista Fire Protection District                          Redwood Empire Council 041                      22950 Broadway                                                        Sonoma, CA 95476‐8237                                                                                         First Class Mail
Chartered Organization         Schenectady County Sheriff Dept                                Twin Rivers Council 364                         130 Princetown Plaza                                                  Princetown, NY 12056                                                                                          First Class Mail
Chartered Organization         Schenevus Memorial Post 2752 Amvets                            Leatherstocking 400                             Main St                                                               Schenevus, NY 12155                                                                                           First Class Mail
Chartered Organization         Schenevus Valley Lodge 592                                     Leatherstocking 400                             47 Main St                                                            Schenevus, NY 12155‐2025                                                                                      First Class Mail
Voting Party                   Scheper Kim & Harris LLP                                       601 W 5th St 12th Fl                            Los Angeles, CA 90071‐2004                                                                                                                                                          First Class Mail
Chartered Organization         Schererville Fire Dept                                         Pathway To Adventure 456                        1650 Cline Ave                                                        Schererville, IN 46375‐2020                                                                                   First Class Mail
Voting Party                   Schertz United Methodist Church                                Attn: Alice L Sutherlun                         3460 Roy Richard Dr                                                   Schertz, TX 78154                                                         asutherlun@schertzumc.com           Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Schertz Utd Methodist Church                                   Alamo Area Council 583                          3460 Fm 3009                                                          Schertz, TX 78154‐5419                                                                                        First Class Mail
Chartered Organization         Schiller Elementary Pto                                        Greater St Louis Area Council 312               400 S Elm St                                                          Centralia, IL 62801‐3910                                                                                      First Class Mail
Chartered Organization         Schilling‐Burns‐Young Vfw Post 9591                            Leatherstocking 400                             P.O. Box 362                                                          Clinton, NY 13323‐0362                                                                                        First Class Mail
Chartered Organization         Schlarman Academy                                              Prairielands 117                                1307 N Walnut St                                                      Danville, IL 61832‐2514                                                                                       First Class Mail
Chartered Organization         Schley County Methodist Men'S Club                             South Georgia Council 098                       P.O. Box 74                                                           Ellaville, GA 31806‐0074                                                                                      First Class Mail
Chartered Organization         Schmidt‐Meinke‐Donner Vfw Post 1638                            Samoset Council, Bsa 627                        205 N Cleveland St                                                    Merrill, WI 54452‐2434                                                                                        First Class Mail
Firm                           Schneider Wallace Cottrell Konecky LLP                         Peter B. Schneider                              3700 Buffalo Speedway, Ste 960                                        Houston, TX 77098                                                         pschneider@schneiderwallace.com     Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Schnell Elementary School Pto                                  Miami Valley Council, Bsa 444                   5995 Student St                                                       West Carrollton, OH 45449‐2938                                                                                First Class Mail
Chartered Organization         Schoeneck Moravian Church                                      Minsi Trails Council 502                        316 N Broad St Ext                                                    Nazareth, PA 18064‐9522                                                                                       First Class Mail
Firm                           Schofner Law Firm                                              Theodore R. Schofner                            2117 Indian Rocks Rd                                                  Largo, FL 33774                                                           TED.SCHOFNER@ELDERLAWATTORNEY.COM   Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Schoharie County Sheriffs Office                               Leatherstocking 400                             157 Depot Ln                                                          Schoharie, NY 12157                                                                                           First Class Mail
Chartered Organization         Schoharie Valley Lodge 491                                     Leatherstocking 400                             281 Main St                                                           Schoharie, NY 12157                                                                                           First Class Mail
Chartered Organization         Scholarmade Achievement Place Arkansas                         Quapaw Area Council 018                         2410 S Battery St                                                     Little Rock, AR 72206‐1828                                                                                    First Class Mail
Chartered Organization         Scholls Grange 338                                             Cascade Pacific Council 492                     16917 SW Hillsboro Hwy                                                Sherwood, OR 97140‐8591                                                                                       First Class Mail
Chartered Organization         Scholls Heights Pto                                            c/o Scholls Heights Elementary                  Cascade Pacific Council 492                                           16400 SW Loon Dr                                                                                              First Class Mail
Chartered Organization         School Based Decision Making Council                           Lincoln Heritage Council 205                    4530 Bellevue Ave                                                     Louisville, KY 40215‐2406                                                                                     First Class Mail
Chartered Organization         School District 23E Pto                                        Pathway To Adventure 456                        700 N Schoenbeck Rd                                                   Prospect Heights, IL 60070‐1231                                                                               First Class Mail
Chartered Organization         School For Commty                                              Learning Afterschool                            612 W 42nd St                                                         Indianapolis, IN 46208‐3874                                                                                   First Class Mail
Chartered Organization         School For The Deaf                                            Laurel Highlands Council 527                    300 E Swissvale Ave                                                   Pittsburgh, PA 15218‐1443                                                                                     First Class Mail
Chartered Organization         School Of Innovation                                           Tecumseh 439                                    601 Selma Rd                                                          Springfield, OH 45505‐2034                                                                                    First Class Mail
Voting Party                   School Of St Elizabeth                                         Attn: Andre L Kydala                            54 Old Hwy 22                                                         Clinton, NJ 08809                                                         kydalalaw@aim.com                   Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         School Of St Mary                                              Northeast Illinois 129                          185 E Illinois Rd                                                     Lake Forest, IL 60045‐1915                                                                                    First Class Mail
Chartered Organization         School Safety Club 2242                                        Greater New York Councils, Bsa 640              14310 Springfield Blvd                                                Springfield Gardens, NY 11413‐3240                                                                            First Class Mail
Chartered Organization         Schoolcraft Lions Club                                         Southern Shores Fsc 783                         353 E Lyons St                                                        Schoolcraft, MI 49087‐9478                                                                                    First Class Mail
Chartered Organization         Schoolcraft Pta                                                Great Lakes Fsc 272                             6400 Maceday Dr                                                       Waterford, MI 48329‐2722                                                                                      First Class Mail
Voting Party                   Schoolcraft United Methodist Church                            Attn: Treasurer                                 342 N Grand St                                                        P.O. Box 336                         Schoolcraft, MI 49087                office@schoolcraftumc.com           Email
                                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Schow'S Software Support                                       Utah National Parks 591                         1140 N 5300 W                                                         Highland, UT 84003                                                                                            First Class Mail
Chartered Organization         Schrader Lane Church Of Christ                                 Middle Tennessee Council 560                    1234 Schrader Ln                                                      Nashville, TN 37208‐1802                                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                 Page 331 of 442
                                                                               Case 20-10343-LSS                                    Doc 8171                                           Filed 01/06/22                                                           Page 347 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                     Name                                                                                            Address                                                                                                                     Email                 Method of Service
Voting Party                   Schreiber Memorial United Methodist Church             Attn: Brenda S Hargett                  3300 Mockingbird Ln                                             Dallas, TX 75205                                                             hargettb@hpumc.org                  Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Schroeder Elementary Pto                               Great Lakes Fsc 272                     3541 Jack Dr                                                    Troy, MI 48084‐1322                                                                                              First Class Mail
Chartered Organization         Schroon Lake Fish & Game Club                          Twin Rivers Council 364                 P.O. Box 725                                                    Schroon Lake, NY 12870‐0725                                                                                      First Class Mail
Chartered Organization         Schultz Elementary Pto                                 Sam Houston Area Council 576            7920 Willow Forest Dr                                           Tomball, TX 77375‐2822                                                                                           First Class Mail
Chartered Organization         Schulze Pta                                            Great Lakes Fsc 272                     10700 Santa Maria St                                            Detroit, MI 48221‐2334                                                                                           First Class Mail
Voting Party                   Schum Memorial Umc (176347)                            c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                          680 Washington Rd, Ste 200              Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Schuyerville United Methodist Church                   Attn: Nellie Dumas                      105 Winney Dr                                                   Schuylerville, NY 12871                                                      ndumas1@nycap.rr.com                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Schuyerville United Methodist Church                   Attn: John Iseman                       51 Church St                                                    Schuyerville, NY 12871                                                       isemanjohn@gmail.com                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Schuyler Lake United Methodist Church                  Attn: Sharon Rankins‐Burd               P.O. Box 102                                                    128 Church St                           Schuyler Lake, NY 13457              pastorsharonrankinsburd@gmail.com   Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Schuyler Sertoma Club                                  Mid‐America Council 326                 P.O. Box 254                                                    Schuyler, NE 68661‐0254                                                                                          First Class Mail
Voting Party                   Schuylkill Haven: First                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200                Tampa, FL 33602                      ereice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Schuylkill School & Home Assoc                         Chester County Council 539              290 S Whitehorse Rd                                             Phoenixville, PA 19460‐2590                                                                                      First Class Mail
Chartered Organization         Schuylkill Ymca                                        Hawk Mountain Council 528               520 N Centre St                                                 Pottsville, PA 17901‐1702                                                                                        First Class Mail
Firm                           Schwartz, Downey & Co. L.P.A.                          Jennifer Schwartz                       1616 Guildhall 45 West Prospect Ave                             Cleveland, OH 44155                                                                                              First Class Mail
Voting Party                   Schweitzer United Methodist Church                     Attn: Rev Dr Jason Leininger            2747 E Sunshine St                                              Springfield, MO 65804                                                        jleininger@sumc.co                  Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Science And Arts Academy                               Pathway To Adventure 456                1825 Miner St                                                   Des Plaines, IL 60016‐4778                                                                                       First Class Mail
Chartered Organization         Science Hill Friends Church                            Old N State Council 070                 2421 Lassiter Mill Rd                                           Asheboro, NC 27205‐9304                                                                                          First Class Mail
Chartered Organization         Scimitar Shrine Spring River Club                      Quapaw Area Council 018                 86 Hualapi Dr                                                   Cherokee Village, AR 72529‐5617                                                                                  First Class Mail
Voting Party                   Scio United Methodist Church                           Attn: Stephen Crowell                   7 Park Cir                                                      Belmont, NY 14813                                                            scrowell@united.edu                 Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Scio Utd Methodist Church                              Ohio River Valley Council 619           117 Maple St                                                    Scio, OH 43988‐9526                                                                                              First Class Mail
Chartered Organization         Scio, Crabtree, Bilyeu‐Den Assoc                       Cascade Pacific Council 492             38975 SW 6th Ave                                                Scio, OR 97374‐9517                                                                                              First Class Mail
Voting Party                   Scioto Ridge United Methodist Church                   Attn: Karen Hartman                     4343 Dublin Rd                                                  Hilliard, OH 43026                                                           karen@srumc.org                     Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Scioto Valley District Bsa                             Simon Kenton Council 441                807 Kinnear Rd                                                  Columbus, OH 43212‐1490                                                                                          First Class Mail
Chartered Organization         Scipio Elementary Pto                                  Hoosier Trails Council 145 145          6320 N State Hwy 7                                              Scipio, IN 47273‐9444                                                                                            First Class Mail
Voting Party                   Scipio United Methodist Church                         Attn: Mary Combs, Treasurer             5060 W County Rd 600 N                                          Scipio, IN 47273                                                             scipioumc@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Scituate Post 19 American Legion                       Narragansett 546                        P.O. Box 481                                                    North Scituate, RI 02857‐0481                                                                                    First Class Mail
Chartered Organization         Scobey Lions Club                                      Northern Lights Council 429             P.O. Box 485                                                    Scobey, MT 59263‐0485                                                                                            First Class Mail
Chartered Organization         Scope East                                             Inland Nwest Council 611                12710 E Sprague Ave                                             Spokane Valley, WA 99216‐0728                                                                                    First Class Mail
Chartered Organization         Scotch Plains                                          Fanwood Police Athletic League          430 Park Ave                                                    Scotch Plains, NJ 07076‐1716                                                                                     First Class Mail
Chartered Organization         Scotchtown Presbyterian Church                         Hudson Valley Council 374               227 Blumel Rd                                                   Middletown, NY 10941                                                                                             First Class Mail
Voting Party                   Scotia United Methodist Church                         Attn: Mark C Cieslak, President         34 Country Fair Ln                                              Scotia, NY 12302                                                             cieslama@aol.com                    Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Scotland Health Care System                            Cape Fear Council 425                   500 Lauchwood Dr                                                Laurinburg, NC 28352‐5501                                                                                        First Class Mail
Chartered Organization         Scott Appalachian Industries                           Great Smoky Mountain Council 557        P.O. Box 150                                                    Huntsville, TN 37756‐0150                                                                                        First Class Mail
Chartered Organization         Scott City Lions Club                                  Santa Fe Trail Council 194              501 S Main St                                                   Scott City, KS 67871‐1516                                                                                        First Class Mail
Chartered Organization         Scott Home & School Assoc                              Three Fires Council 127                 500 Warwick Dr                                                  Naperville, IL 60565‐2603                                                                                        First Class Mail
Chartered Organization         Scott L Trowell And Co Inc                             Coastal Georgia Council 099             110 S Effingham Plantation Dr                                   Guyton, GA 31312‐5982                                                                                            First Class Mail
Chartered Organization         Scott Memorial Utd Methodist Church                    Tidewater Council 596                   409 First Colonial Rd                                           Virginia Beach, VA 23454‐4606                                                                                    First Class Mail
Chartered Organization         Scott Parent Support Group Special Needs               Buffalo Trace 156                       14940 Old State Rd                                              Evansville, IN 47725‐8575                                                                                        First Class Mail
Voting Party                   Scott R Christensen                                    c/o Boy Scouts of America               Attn: Chase Koontz                                              1325 W Walnut Hill Ln                   Irving, TX 75015                     chase.koontz@scouting.org           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Scott United Methodist Church                          Attn: Deirdre L Mcgee                   2880 Garfield St                                                Denver, CO 80205                                                             sumcsec@gmail.com                   Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Scott William Beckett                                  c/o Boy Scouts of America               Attn: Chase Koontz                                              1325 W Walnut Hill Ln                   Irving, TX 75015                     chase.koontz@scouting.org           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Scottish Corners Elementary Pto                        Simon Kenton Council 441                5950 Sells Mill Dr                                              Dublin, OH 43017‐2609                                                                                            First Class Mail
Chartered Organization         Scottish Rite ‐ Old Bonhomme                           Greater St Louis Area Council 312       3633 Lindell Blvd                                               Saint Louis, MO 63108‐3301                                                                                       First Class Mail
Chartered Organization         Scottish Rite ‐ Ritenour High School                   Greater St Louis Area Council 312       9100 Saint Charles Rock Rd                                      Saint Louis, MO 63114‐4241                                                                                       First Class Mail
Chartered Organization         Scottish Rite Of Free Masons                           Far E Council 803                       Tokyo Bodies                                                    4‐1‐3 Shibakoen                         Minato‐Ku Tokyo, 105         Japan                                       First Class Mail
Chartered Organization         Scottish Rite‐Jefferson                                Greater St Louis Area Council 312       3633 Lindell Blvd                                               Saint Louis, MO 63108‐3301                                                                                       First Class Mail
Chartered Organization         Scotts Branch Pal Center                               Baltimore Area Council 220              8220 Tawnmoore Rd                                               Baltimore, MD 21244‐3049                                                                                         First Class Mail
Chartered Organization         Scotts Chapel Utd Methodist Church                     Great Rivers Council 653                1815 Hope St                                                    Hannibal, MO 63401‐3937                                                                                          First Class Mail
Chartered Organization         Scott'S Strings                                        Winnebago Council, Bsa 173              516 3rd St                                                      Gundy, IA 50673                                                                                                  First Class Mail
Voting Party                   Scotts United Methodist Church                         Attn: Norman J Tuinier                  8458 Wallene                                                    Scotts, MI 49088                                                             cxssumc@gmail.com                   Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Scotts Valley Host Lions Club                          Silicon Valley Monterey Bay 055         101 Scotts Valley Dr                                            Scotts Valley, CA 95066                                                                                          First Class Mail
Chartered Organization         Scotts Valley Police Dept                              Silicon Valley Monterey Bay 055         1 Civic Center Dr                                               Scotts Valley, CA 95066‐4197                                                                                     First Class Mail
Chartered Organization         Scottsbluff Public Schs Choices Program                Longs Peak Council 062                  2601 Broadway                                                   Scottsbluff, NE 69361‐1609                                                                                       First Class Mail
Voting Party                   Scottsburg United Methodist Church                     Attn: William Talbott                   615 S Honeyrun Pkwy                                             Scottsburg, IN 47170                                                         william.talbott@inumc.org           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Scottsdale Presbyterian Church                         Attn: Bob Howard                        3421 N Hayden Rd                                                Scottsdale, AZ 85251                                                         Robert@arizonalawgroup.com          Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Scottsdale Utd Methodist Church                        Grand Canyon Council 010                4140 N Miller Rd                                                Scottsdale, AZ 85251‐3615                                                                                        First Class Mail
Chartered Organization         Scottsville Elementary Pto                             Stonewall Jackson Council 763           7868 Scottsville Rd                                             Scottsville, VA 24590                                                                                            First Class Mail
Voting Party                   Scottsville First Umc                                  Attn: Treasurer                         407 E Maple St                                                  Scottsville, KY 42164                                                        shannon.boaz@scottsvillefirst.com   Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Scottsville First Umc                                  Attn: Shannon Boaz                      400 E Main St                                                   Scottsville, KY 42164                                                                                            First Class Mail
Chartered Organization         Scotty'S Drive In ‐ LLC                                Grand Teton Council 107                 560 Northgate Mile                                              Idaho Falls, ID 83401‐2539                                                                                       First Class Mail
Chartered Organization         Scout Assoc Of Centerville                             Great Salt Lake Council 590             1025 Oakridge Dr                                                Centerville, UT 84014‐1667                                                                                       First Class Mail
Chartered Organization         Scout Boricuacom                                       Puerto Rico Council 661                 P.O. Box 8283                                                   Bayamon, PR 00960‐8283                                                                                           First Class Mail
Chartered Organization         Scout Family 1171                                      Longhorn Council 662                    524 Summit Dr                                                   Copper Canyon, TX 75077‐8537                                                                                     First Class Mail
Chartered Organization         Scout Leadership Development Council                   Greater Tampa Bay Area 089              5021 Belmont Rd                                                 Tampa, FL 33647‐1319                                                                                             First Class Mail
Chartered Organization         Scout Parents Inc                                      Greater Los Angeles Area 033            27106 Mesaba Dr                                                 Rancho Palos Verdes, CA 90275‐2223                                                                               First Class Mail
Chartered Organization         Scout Parents Inc                                      Greater Los Angeles Area 033            31145 Palos Verdes Dr E                                         Rancho Palos Verdes, CA 90275‐6249                                                                               First Class Mail
Chartered Organization         Scout Parents Inc                                      Lincoln Heritage Council 205            P.O. Box 1253                                                   Shepherdsville, KY 40165‐1253                                                                                    First Class Mail
Chartered Organization         Scout Parents, Inc                                     Greater Los Angeles Area 033            26537 Academy Dr                                                Palos Verdes Peninsula, CA 90274‐3934                                                                            First Class Mail
Chartered Organization         Scout Youth Programs                                   Gulf Stream Council 085                 3845 Barkis Ave                                                 Boynton Beach, FL 33436‐2716                                                                                     First Class Mail
Chartered Organization         Scout, Crew, Troops & Packs Colorado                   Denver Area Council 061                 5625 S Newport St                                               Greenwood Village, CO 80111‐1711                                                                                 First Class Mail
Chartered Organization         Scouters Of Bear Valley                                Southern Sierra Council 030             24240 Jacaranda Dr                                              Tehachapi, CA 93561‐7000                                                                                         First Class Mail
Chartered Organization         Scouters Of Future Leaders                             Capitol Area Council 564                1326 Tumbling River Dr                                          Leander, TX 78641‐7867                                                                                           First Class Mail
Chartered Organization         Scouters Of Hamilton Cty ‐ Prairie Trace               Crossroads of America 160               14200 River Rd                                                  Carmel, IN 46033‐9616                                                                                            First Class Mail
Chartered Organization         Scouters Of Holmes County ‐ Millersburg                Buckeye Council 436                     132 Quinn Cir                                                   Millersburg, OH 44654‐8375                                                                                       First Class Mail
Chartered Organization         Scouting 141 Inc                                       Gulf Stream Council 085                 515 N Flagler Dr, Ste 400                                       West Palm Beach, FL 33401‐4349                                                                                   First Class Mail
Chartered Organization         Scouting 141 Inc                                       Gulf Stream Council 085                 521 38th St                                                     West Palm Beach, FL 33407‐4101                                                                                   First Class Mail
Chartered Organization         Scouting Adventures Kc                                 Heart of America Council 307            8502 N Green Hills Rd                                           Kansas City, MO 64154‐1403                                                                                       First Class Mail
Chartered Organization         Scouting Area Committee                                Pacific Harbors Council, Bsa 612        Bldg 8094                                                       Fort Lewis, WA 98433                                                                                             First Class Mail
Chartered Organization         Scouting Arlington Inc                                 Longhorn Council 662                    218 E Abram St                                                  Arlington, TX 76010‐1103                                                                                         First Class Mail
Chartered Organization         Scouting Families Of West Lindon                       Utah National Parks 591                 740 W 100 S                                                     Lindon, UT 84042‐1711                                                                                            First Class Mail
Chartered Organization         Scouting For All                                       Suffolk County Council Inc 404          191 Ballad Cir                                                  Holbrook, NY 11741‐3835                                                                                          First Class Mail
Chartered Organization         Scouting For Boys At Breck School                      Northern Star Council 250               4440 Tyrol Crst                                                 Minneapolis, MN 55416‐3554                                                                                       First Class Mail
Chartered Organization         Scouting For Jesus Christ Ministry                     Coastal Georgia Council 099             1740 Calvin Rd                                                  Waycross, GA 31503‐4531                                                                                          First Class Mail
Chartered Organization         Scouting For The Valley                                Chief Seattle Council 609               28006 NE 151st Pl                                               Duvall, WA 98019‐8508                                                                                            First Class Mail
Chartered Organization         Scouting Friends Of Troop 256                          Heart of America Council 307            25904 S Rodier Rd                                               Freeman, MO 64746‐6171                                                                                           First Class Mail
Chartered Organization         Scouting Fun Foundation                                Orange County Council 039               26931 Highwood Cir                                              Laguna Hills, CA 92653‐7828                                                                                      First Class Mail
Chartered Organization         Scouting Of Amherst                                    Daniel Webster Council, Bsa 330         62 Lyndeborough Rd                                              Amherst, NH 03031‐3046                                                                                           First Class Mail
Chartered Organization         Scouting Parents Assoc                                 National Capital Area Council 082       14709 Cobblestone Dr                                            Silver Spring, MD 20905‐5812                                                                                     First Class Mail
Chartered Organization         Scouting Parents For Paxton Keeley                     Great Rivers Council 653                808 Windermere Dr                                               Columbia, MO 65203‐6423                                                                                          First Class Mail
Chartered Organization         Scouting Parents Metro Charter & Romulus               Great Lakes Fsc 272                     34800 Ecorse Rd                                                 Romulus, MI 48174‐1642                                                                                           First Class Mail
Chartered Organization         Scouting Parents Of Sweetwater                         San Diego Imperial Council 049          1153 Thistlewood Ave                                            Chula Vista, CA 91913‐1571                                                                                       First Class Mail
Chartered Organization         Scouting Patrons Of Christ The King                    Heart of America Council 307            10808 Wornall Rd                                                Kansas City, MO 64114‐5064                                                                                       First Class Mail
Chartered Organization         Scouting Supporters Inc                                Southern Shores Fsc 783                 2309 N 37th St                                                  Galesburg, MI 49053‐9702                                                                                         First Class Mail
Chartered Organization         Scouting Unlimited Sunrise                             Heart of America Council 307            205 S 7th St                                                    Clinton, MO 64735‐2331                                                                                           First Class Mail
Chartered Organization         Scoutingfriends Halescorners Lutheran Ch               Three Harbors Council 636               12300 W Janesville Rd                                           Hales Corners, WI 53130‐2350                                                                                     First Class Mail
Chartered Organization         Scoutland Camp                                         Northeast Georgia Council 101           3672 Looper Lake Rd                                             Gainesville, GA 30506‐2210                                                                                       First Class Mail
Chartered Organization         Scoutreach Cmte ‐ Pendleton Juvenile                   Crossroads of America 160               9310 S State Rd 67                                              Pendleton, IN 46064‐8536                                                                                         First Class Mail
Chartered Organization         Scouts 1305, Inc                                       South Florida Council 084               9480 NE 2nd Ave 27                                              Miami Shores, FL 33138‐2703                                                                                      First Class Mail
Chartered Organization         Scouts Bsa                                             Transatlantic Council, Bsa 802          Huettenweg 46                                                   Berlin, 14195                           Germany                                                                  First Class Mail
Chartered Organization         Scouts Canton Inc                                      Atlanta Area Council 092                650 Longview Dr                                                 Canton, GA 30114‐3317                                                                                            First Class Mail
Chartered Organization         Scouts Of 119                                          Southern Sierra Council 030             3411 Rawhide Rd                                                 Bakersfield, CA 93313‐5076                                                                                       First Class Mail
Chartered Organization         Scouts Of Beaver County                                Utah National Parks 591                 P.O. Box 1090                                                   Beaver, UT 84713‐1090                                                                                            First Class Mail
Chartered Organization         Scranton Elementary School                             Lake Erie Council 440                   1991 Barber Ave                                                 Cleveland, OH 44113‐5135                                                                                         First Class Mail
Chartered Organization         Scst                                                   Orange County Council 039               32862 Staysail Dr                                               Dana Point, CA 92629‐1224                                                                                        First Class Mail
Chartered Organization         Scuba Fusion                                           Pacific Skyline Council 031             1210 S El Camino Real                                           San Mateo, CA 94402‐2925                                                                                         First Class Mail
Chartered Organization         Scuba Schools Of America                               California Inland Empire Council 045    4420 Holt Blvd                                                  Montclair, CA 91763‐4115                                                                                         First Class Mail
Chartered Organization         Scurry County Youth Center                             Buffalo Trail Council 567               1500 28th St                                                    Snyder, TX 79549‐3411                                                                                            First Class Mail
Chartered Organization         Scv Pvt Samual A Hughey Camp 1452                      Chickasaw Council 558                   5205 Horn Lake Rd                                               Horn Lake, MS 38637‐3901                                                                                         First Class Mail
Chartered Organization         Scv Quail Upland Wildlife Foundation                   W.L.A.C.C. 051                          P.O. Box 802738                                                 Santa Clarita, CA 91380‐2738                                                                                     First Class Mail
Chartered Organization         Se Guilford High Sch                                   Rotc Booster Club                       4530 SE School Rd                                               Greensboro, NC 27406‐9784                                                                                        First Class Mail
Chartered Organization         Sea Breeze Volunteer Fire Dept                         Seneca Waterways 397                    4657 Culver Rd                                                  Rochester, NY 14622‐1347                                                                                         First Class Mail
Chartered Organization         Sea Cats Naval Junior Reserve                          Office Trng Corps                       4255 New Hartford Rd                                            Owensboro, KY 42303‐1802                                                                                         First Class Mail
Voting Party                   Sea Episcopal Church                                   Attn: The Rev Lisa Biersch Cole         280 Country Club Dr                                             South San Francisco, CA 94080                                                seaepiscopal@gmail.com              Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Sea Quest                                              Trapper Trails 589                      1201 N Hill Field Rd                                            Layton, UT 84041‐5137                                                                                            First Class Mail
Chartered Organization         Sea Scout Ship 5026 Inc                                Central Florida Council 083             208 Ada Ave                                                     Orange City, FL 32763‐6117                                                                                       First Class Mail
Chartered Organization         Sea Scout Ship 609 Inc                                 Gulf Coast Council 773                  4028 Landfall Dr                                                Pensacola, FL 32507‐9294                                                                                         First Class Mail
Chartered Organization         Sea Scout Ship Holding Co Inc                          Central Florida Council 083             10109 Stanton Ct                                                Orlando, FL 32836‐3705                                                                                           First Class Mail
Chartered Organization         Sea Scouts Ship 11 Committee Inc                       W.L.A.C.C. 051                          3907 Cocina Ln                                                  Palmdale, CA 93551‐2684                                                                                          First Class Mail
Chartered Organization         Sea Star Base Galveston                                Bay Area Council 574                    7509 Broadway St                                                Galveston, TX 77554‐8921                                                                                         First Class Mail
Chartered Organization         Seabreeze Utd Methodist Church                         Central Florida Council 083             501 N Wild Olive Ave                                            Daytona Beach, FL 32118‐3922                                                                                     First Class Mail
Voting Party                   Seabrook United Methodist Church                       Attn: Rev Chuck Weber                   3300 Lakeside Dr                                                Seabrook, TX 77586                                                           info@seabrookumc.org                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Seafarers Foundation                                   Baltimore Area Council 220              301 Chester Ave                                                 Annapolis, MD 21403‐3202                                                                                         First Class Mail
Chartered Organization         Seaford American Legion Post 1132                      Theodore Roosevelt Council 386          2301 Penatiquit Ave                                             Seaford, NY 11783‐3146                                                                                           First Class Mail
Chartered Organization         Seaford Lions Club                                     Theodore Roosevelt Council 386          P.O. Box 1722                                                   Seaford, NY 11783‐0452                                                                                           First Class Mail
Chartered Organization         Seal Beach Police Dept                                 Orange County Council 039               911 Seal Beach Blvd                                             Seal Beach, CA 90740‐5601                                                                                        First Class Mail
Voting Party                   Sealco LLC                                             1751 International Pkwy, Ste 115        Richardson, TX 75081‐2359                                                                                                                                                        First Class Mail
Voting Party                   Seale & Ross, PLC                                      Attn: Thomas Jay Seale III              200 N Cate St                                                   Hammond, LA 70401                                                            tjseale@sealeross.com               Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Sean Bollman                                           Authorized Agent                        Bentz Law Firm, Pc                                              N/A                                     N/A                                  lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           Searcy Denney Scarola Barnhart & Shipley, P.A          John Scarola                            2139 Palm Beach Lakes Blvd                                      West Palm beach, FL 33409                                                    _scarolateam@searcylaw.com          Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Searcy First United Methodist Church                   Attn: Blaine Baxley                     304 N Main St                                                   Searcy, AR 72143                                                             blaine.fumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           Searcy Law                                             Joshua M Searcy                         835 Fifth Avenue, Ste 201                                       San Diego, CA 92101                                                          josh@searcyslaw.com                 Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Searing‐Rosyln United Methodist Church                 Attn: Christopher Hoppe                 134 Iu Willets Rd                                               Albertson, NY 11507                                                          chris.hoppe@gmail.com               Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Sears Recreation Center                                Blue Ridge Council 551                  100 E Park Ave                                                  Greenville, SC 29601‐1632                                                                                        First Class Mail
Chartered Organization         Sears Youth Center                                     Greater St Louis Area Council 312       9400 Sears Ln                                                   Poplar Bluff, MO 63901‐9716                                                                                      First Class Mail
Chartered Organization         Searsmont Methodist Church                             Katahdin Area Council 216               Rt 131                                                          Searsmont, ME 04973                                                                                              First Class Mail
Chartered Organization         Searsmont Methodist Church                             Katahdin Area Council 216               P.O. Box 33                                                     Searsmont, ME 04973‐0033                                                                                         First Class Mail
Voting Party                   Searsmont Umc                                          Attn: Mark Tibbetts                     P.O. Box 33                                                     Searsmont, ME 04973                                                          tibmar@fairpoint.net                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Searsport United Methodist Church                      Attn: Rev Helen Shaw                    3 Elm St                                                        Searsport, ME 04974                                                          RevHelenEShaw@minister.com          Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Seaside Christian Church                               Cascade Pacific Council 492             P.O. Box 280                                                    Warrenton, OR 97146‐0280                                                                                         First Class Mail
Chartered Organization         Seaside Community Charter School                       North Florida Council 087               2630 State Rd A1A                                               Jacksonville, FL 32233‐2831                                                                                      First Class Mail
Chartered Organization         Seaside Utd Methodist Church                           Cape Fear Council 425                   1300 Seaside Rd SW                                              Sunset Beach, NC 28468‐6143                                                                                      First Class Mail
Chartered Organization         Seast Elem Sch Multicultral Program                    East Carolina Council 426               201 Mcdaniels St                                                Kinston, NC 28501‐5638                                                                                           First Class Mail
Chartered Organization         Seastern Ohio Regional Med Ctr                         Muskingum Valley Council, Bsa 467       1341 Clark St                                                   Cambridge, OH 43725‐9614                                                                                         First Class Mail
Chartered Organization         Seatac Police Explorers                                Chief Seattle Council 609               4800 S 188th St                                                 Seatac, WA 98188‐8605                                                                                            First Class Mail
Chartered Organization         Seattle Buddhist Church                                Chief Seattle Council 609               1427 S Main St                                                  Seattle, WA 98144‐2034                                                                                           First Class Mail
Chartered Organization         Seattle Lutheran High School                           Chief Seattle Council 609               4100 SW Genesee St                                              Seattle, WA 98116‐4282                                                                                           First Class Mail
Chartered Organization         Seattle Police Dept                                    Chief Seattle Council 609               610 5th Ave                                                     Seattle, WA 98104‐1900                                                                                           First Class Mail
Chartered Organization         Seaview Pta                                            Mount Baker Council, Bsa 606            8426 188th St SW                                                Edmonds, WA 98026‐5918                                                                                           First Class Mail
Voting Party                   Seaville                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200                Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Seaville Utd Methodist Church                          Garden State Council 690                3100 N Route 9                                                  Ocean View, NJ 08230‐1103                                                                                        First Class Mail
Chartered Organization         Sebastian Inlet Sail And Power Squadron                Gulf Stream Council 085                 P.O. Box 781044                                                 Sebastian, FL 32978‐1044                                                                                         First Class Mail
Voting Party                   Sebastian Umc                                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200                Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Sebastian Umc                                          1029 Main St                            Sebastian, FL 32958                                                                                                                                                              First Class Mail
Chartered Organization         Sebastopol Volunteer Firefighters                      Redwood Empire Council 041              7425 Bodega Ave                                                 Sebastopol, CA 95472‐3612                                                                                        First Class Mail
Voting Party                   Sebree United Methodist Church                         Attn: Lisa Nance / Treasurer            12180 St Rt 132                                                 P.O. Box 393                            Sebree, KY 42455                     lnance@bellsouth.net                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Sebree Utd Methodist Church                            Lincoln Heritage Council 205            P.O. Box 393                                                    Sebree, KY 42455‐0393                                                                                            First Class Mail
Voting Party                   Sebring United Methodist Church                        Attn: Pastor Fred Higgins               126 W Indiana Ave                                               Sebring, OH 44672                                                            FredRHiggins@gmail.com              Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Sechrist School Pto                                    Grand Canyon Council 010                2230 N Fort Valley Rd                                           Flagstaff, AZ 86001‐1232                                                                                         First Class Mail
Chartered Organization         Second Allen A M E Church                              Pine Burr Area Council 304              1110 Anderson St                                                Laurel, MS 39440‐5602                                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 332 of 442
                                                                                  Case 20-10343-LSS                                                               Doc 8171                                             Filed 01/06/22                                                            Page 348 of 457
                                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                                           Service List
                                                                                                                                                                                                    Served as set forth below

        Description                                                     Name                                                                                                                            Address                                                                                                                     Email              Method of Service
Chartered Organization         Second Baptist Church                                          Quapaw Area Council 018                                       815 S 12th St                                                     Arkadelphia, AR 71923‐5813                                                                                    First Class Mail
Chartered Organization         Second Baptist Church                                          South Texas Council 577                                       6701 S Staples St                                                 Corpus Christi, TX 78413‐5406                                                                                 First Class Mail
Chartered Organization         Second Baptist Church                                          Laurel Highlands Council 527                                  1 Grand Ave                                                       Cumberland, MD 21502‐3643                                                                                     First Class Mail
Chartered Organization         Second Baptist Church                                          Las Vegas Area Council 328                                    500 Madison Ave                                                   Las Vegas, NV 89106‐3145                                                                                      First Class Mail
Chartered Organization         Second Baptist Church                                          Chickasaw Council 558                                         4680 Walnut Grove Rd                                              Memphis, TN 38117‐2522                                                                                        First Class Mail
Chartered Organization         Second Baptist Church                                          Heart of Virginia Council 602                                 3300 Broad Rock Blvd                                              Richmond, VA 23224‐6018                                                                                       First Class Mail
Chartered Organization         Second Baptist Church                                          Connecticut Rivers Council, Bsa 066                           100 N Main St                                                     Suffield, CT 06078‐2197                                                                                       First Class Mail
Chartered Organization         Second Baptist Church Of Asbury Park                           Monmouth Council, Bsa 347                                     124 Atkins Ave                                                    Asbury Park, NJ 07712‐6767                                                                                    First Class Mail
Chartered Organization         Second Baptist Church Of Sidney                                Pine Tree Council 218                                         3022 W River Rd                                                   Sidney, ME 04330‐2737                                                                                         First Class Mail
Chartered Organization         Second Baptist Church Sidney                                   Pine Tree Council 218                                         3091 W River Rd                                                   Sidney, ME 04330‐2720                                                                                         First Class Mail
Chartered Organization         Second Baptist School                                          Sam Houston Area Council 576                                  6410 Woodway Dr                                                   Houston, TX 77057‐1606                                                                                        First Class Mail
Chartered Organization         Second Chance                                                  Longhorn Council 662                                          1101 W Commerce St                                                Buffalo, TX 75831‐7608                                                                                        First Class Mail
Chartered Organization         Second Chance Fellowship                                       Indian Waters Council 553                                     1824 Jefferson Davis Hwy                                          Camden, SC 29020‐3208                                                                                         First Class Mail
Chartered Organization         Second Co Governors Foot Guard Assoc                           Connecticut Yankee Council Bsa 072                            572 Still Hill Rd                                                 Hamden, CT 06518‐1138                                                                                         First Class Mail
Chartered Organization         Second Congregational Church                                   Narragansett 546                                              50 Park St                                                        Attleboro, MA 02703‐2338                                                                                      First Class Mail
Chartered Organization         Second Congregational Church                                   The Spirit of Adventure 227                                   35 Conant St                                                      Beverly, MA 01915‐1722                                                                                        First Class Mail
Chartered Organization         Second Congregational Church                                   Greenwich 067                                                 139 E Putnam Ave                                                  Greenwich, CT 06830‐5612                                                                                      First Class Mail
Chartered Organization         Second Congregational Church Of Palmer                         Western Massachusetts Council 234                             1080 Pleasant St                                                  Palmer, MA 01069‐1734                                                                                         First Class Mail
Chartered Organization         Second Congregational Church Of Warren                         Pine Tree Council 218                                         P.O. Box 27                                                       Union, ME 04862‐0027                                                                                          First Class Mail
Chartered Organization         Second Congregational Church Of Warren                         Pine Tree Council 218                                         P.O. Box 206                                                      Warren, ME 04864‐0206                                                                                         First Class Mail
Chartered Organization         Second Congregational Church Of Warren                         Pine Tree Council 218                                         252 Main St                                                       Warren, ME 04864‐4283                                                                                         First Class Mail
Voting Party                   Second Congregational Church, Londonderry, VT                  P.O. Box 77                                                   Londonderry, VT 05148                                                                                                                          2ndcongochurch@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Second Congregational Protestant Church                        Daniel Webster Council, Bsa 330                               Dale & Gregg Sts                                                  Wilton, NH 03086                                                                                              First Class Mail
Chartered Organization         Second Presbyterian Chruch                                     W D Boyce 138                                                 404 N Prairie St                                                  Bloomington, IL 61701‐4033                                                                                    First Class Mail
Chartered Organization         Second Presbyterian Church                                     Baltimore Area Council 220                                    4200 Saint Paul St                                                Baltimore, MD 21218‐1019                                                                                      First Class Mail
Chartered Organization         Second Presbyterian Church                                     Crossroads of America 160                                     7700 N Meridian St                                                Indianapolis, IN 46260‐3652                                                                                   First Class Mail
Chartered Organization         Second Presbyterian Church                                     Great Smoky Mountain Council 557                              2829 Kingston Pike                                                Knoxville, TN 37919‐4622                                                                                      First Class Mail
Chartered Organization         Second Presbyterian Church                                     Quapaw Area Council 018                                       600 Pleasant Valley Dr                                            Little Rock, AR 72227‐2149                                                                                    First Class Mail
Chartered Organization         Second Presbyterian Church                                     Chickasaw Council 558                                         4055 Poplar Ave                                                   Memphis, TN 38111‐6022                                                                                        First Class Mail
Chartered Organization         Second Presbyterian Church                                     Heart of Virginia Council 602                                 419 W Washington St                                               Petersburg, VA 23803‐4125                                                                                     First Class Mail
Chartered Organization         Second Presbyterian Church                                     Water and Woods Council 782                                   2665 Midland Rd                                                   Saginaw, MI 48603‐3448                                                                                        First Class Mail
Chartered Organization         Second Presbyterian Church                                     Jayhawk Area Council 197                                      210 NW Menninger Rd                                               Topeka, KS 66617‐1404                                                                                         First Class Mail
Voting Party                   Second Presbyterian Church                                     Michael A. Granzen                                            37 Maple St                                                       Princeton, NJ 08542                                                          mgranzen@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Second Presbyterian Church                                     1161 E Jersey St                                              Elizabeth, NJ 07201                                                                                                                            mgranzen@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Second Presbyterian Church                                     Attn: Rev Dr Tim Harmon                                       111 Reed St                                                       Oil City, PA 16301                                                           doris2ndpresoil@comcast.net      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Second Presbyterian Church                                     Attn: Mark Wigginton                                          214 Mountain Ave SW                                               Roanoke, VA 24016                                                            admin@spres.org                  Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Second Presbyterian Church Of Baltimore                        Attn: Matthew Bramhall                                        4200 St Paul St                                                   Baltimore, MD 21218                                                          m.bramhall@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Second Presbyterian Church Of Little Rock, Ar                  Attn: Aileen Moore Business Administrator                     600 Pleasant Valley Dr                                            Little Rock, AR 72227                                                        aileenmoore@secondpreslr.org     Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Second Presbyterian Church, 1161 E. Jersey St. Elizabeth, NJ   Attn: Michael Granzen                                         37 Maple St                                                       Princeton, NJ 08542                                                          mgranzen@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Second Reformed Church                                         Blackhawk Area 660                                            703 14th Ave                                                      Fulton, IL 61252‐1335                                                                                         First Class Mail
Voting Party                   Second Reformed Church                                         225 E Central Ave                                             Zeeland, MI 49464                                                                                                                              nbesteman@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Second Street Church Of Christ                                 Middle Tennessee Council 560                                  300 N 2nd St                                                      Pulaski, TN 38478‐2810                                                                                        First Class Mail
Chartered Organization         Second Street Church Of Christ                                 Middle Tennessee Council 560                                  320 W Flower St                                                   Pulaski, TN 38478‐3211                                                                                        First Class Mail
Chartered Organization         Second Timothy                                                 Las Vegas Area Council 328                                    4717 Compass Bow Ln                                               Las Vegas, NV 89130‐5345                                                                                      First Class Mail
Chartered Organization         Second Utd Presbyterian Allegheny                              Laurel Highlands Council 527                                  300 Hay St                                                        Pittsburgh, PA 15221‐3317                                                                                     First Class Mail
Chartered Organization         Second Ward Community Initiative                               Simon Kenton Council 441                                      50 Ross St A                                                      Delaware, OH 43015‐2523                                                                                       First Class Mail
Chartered Organization         Secor Fire Protection District                                 W D Boyce 138                                                 300 E Van Alstine St                                              Secor, IL 61771                                                                                               First Class Mail
Chartered Organization         Secretaria Recreacion Y Deportes                               Puerto Rico Council 661                                       Paseo Lineal Rio Bayamon                                          Sector Cambija                          Bayamon, PR 00960                                                     First Class Mail
Chartered Organization         Sedalia Church                                                 Coronado Area Council 192                                     115 N Lake St                                                     Riley, KS 66531‐9769                                                                                          First Class Mail
Chartered Organization         Sedalia Community Church                                       Coronado Area Council 192                                     6040 N 52nd St                                                    Manhattan, KS 66503‐8654                                                                                      First Class Mail
Voting Party                   Sedge Garden Umc ‐ Kernersville                                c/o Bradley Arant Boult Cummings, LLP                         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                      erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Sedge Garden Utd Methodist Church                              Old Hickory Council 427                                       794 Sedge Garden Rd                                               Kernersville, NC 27284‐7553                                                                                   First Class Mail
Chartered Organization         Sedgefield Civic Assoc                                         Patriots Path Council 358                                     Sedgefield Dr                                                     Parsippany, NJ 07054                                                                                          First Class Mail
Chartered Organization         Sedgefield Presbyterian Church                                 Old N State Council 070                                       4216 Wayne Rd                                                     Greensboro, NC 27407‐7315                                                                                     First Class Mail
Voting Party                   Sedgefield Umc ‐ Charlotte                                     c/o Bradley Arant Boult Cummings, LLP                         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                      erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Sedgwick County Ems                                            Quivira Council, Bsa 198                                      P.O. Box 607                                                      Wichita, KS 67201‐0607                                                                                        First Class Mail
Voting Party                   Sedgwick United Methodist Church, 600 N Commercial Sedgwick    c/o Bradley Arant Boult Cummings, LLP                         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                      erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Sedgwick Utd Methodist Church                                  Quivira Council, Bsa 198                                      P.O. Box 38                                                       Sedgwick, KS 67135‐0038                                                                                       First Class Mail
Chartered Organization         Sedona Police Dept                                             Grand Canyon Council 010                                      100 Rdrunner Dr                                                   Sedona, AZ 86336‐3710                                                                                         First Class Mail
Chartered Organization         Seelyville Utd Methodist Church                                Crossroads of America 160                                     P.O. Box 196                                                      Us Hwy 40 At 2nd St                                                                                           First Class Mail
Chartered Organization         Seguin Police Dept                                             Alamo Area Council 583                                        410 N Camp St                                                     Seguin, TX 78155‐4912                                                                                         First Class Mail
Chartered Organization         Seibert Farms And Services                                     Pine Burr Area Council 304                                    1116 Howell Tanner Chapel Rd                                      Lucedale, MS 39452‐4020                                                                                       First Class Mail
Voting Party                   Seiling First United Methodist Church                          Attn: Donna Cook, Treasurer                                   P.O. Box 60                                                       Seiling, OK 73663                                                            brentnancy@pldi.net              Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Selah United Methodist Church                                  c/o Bradley Arant Boult Cummings, LLP                         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                      erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Selby Lions Club                                               Sioux Council 733                                             P.O. Box 352                                                      Selby, SD 57472‐0352                                                                                          First Class Mail
Chartered Organization         Select Citizens Offer Ultimate Troop Svc                       Greater Tampa Bay Area 089                                    723 Green St                                                      Wauchula, FL 33873‐3218                                                                                       First Class Mail
Chartered Organization         Select Citizens Offer Ultimate Trp Serv                        Greater Tampa Bay Area 089                                    627 Green St                                                      Wauchula, FL 33873‐3216                                                                                       First Class Mail
Voting Party                   Self Employed                                                  Attn: Robert Jovick                                           410 S 8th St                                                      Livingston                                                                   bj@montanalegalbusiness.com      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Selkirk Fire Co                                                Twin Rivers Council 364                                       480 Bridge St                                                     South Bethlehem, NY 12161‐7701                                                                                First Class Mail
Chartered Organization         Selkirk Volunteer Fire Co No 2                                 Twin Rivers Council 364                                       301 Glenmont Rd                                                   Glenmont, NY 12077‐3410                                                                                       First Class Mail
Chartered Organization         Sellersburg Utd Methodist Church                               Lincoln Heritage Council 205                                  226 N New Albany St                                               Sellersburg, IN 47172‐1441                                                                                    First Class Mail
Chartered Organization         Sellersville Fire Dept                                         Washington Crossing Council 777                               2 N Main St                                                       Sellersville, PA 18960‐2373                                                                                   First Class Mail
Chartered Organization         Selma Lions Club                                               Crossroads of America 160                                     P.O. Box 273                                                      Selma, IN 47383‐0273                                                                                          First Class Mail
Chartered Organization         Selma Police Dept                                              Sequoia Council 027                                           1935 E Front St                                                   Selma, CA 93662‐3517                                                                                          First Class Mail
Voting Party                   Selmer First United Methodist Church                           Attn: Christopher Thompson                                    1122 W Cherry Ave                                                 Selmer, TN 38375                                                             umc.chris@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Seltice Elementary                                             Inland Nwest Council 611                                      1101 N Chase Rd                                                   Post Falls, ID 83854‐9603                                                                                     First Class Mail
Chartered Organization         Selwyn Avenue Presbyterian Church                              Mecklenburg County Council 415                                2929 Selwyn Ave                                                   Charlotte, NC 28209‐1734                                                                                      First Class Mail
Voting Party                   Selwyn Umc Formerly Mouzon Umc ‐ Charlotte                     c/o Bradley Arant Boult Cummings, LLP                         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                      erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Sembach Elementary School Pto                                  Transatlantic Council, Bsa 802                                Unit 6797 Box Bldg 206                                            Apo, AE 09142                                                                                                 First Class Mail
Chartered Organization         Sembach Middle School                                          Transatlantic Council, Bsa 802                                Unit 4240 Box 320                                                 Apo, AE 09136                                                                                                 First Class Mail
Chartered Organization         Seminary Hills Park Elementary ‐ Gfwar                         Longhorn Council 662                                          5037 Townsend Dr                                                  Fort Worth, TX 76115‐3834                                                                                     First Class Mail
Voting Party                   Seminary of the Immaculate Conception                          c/o Westerman, Ball Ederer, Miller Zucker & Sharfstein, LLP   Attn: JW/Wch                                                      1201 Rxr Plz                            Uniondale, NY 11556                  wheuer@westermanllp.com          Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Seminary Scouts                                                Pine Burr Area Council 304                                    P.O. Box 621                                                      Seminary, MS 39479‐0621                                                                                       First Class Mail
Chartered Organization         Seminole County Police Athletic League                         Central Florida Council 083                                   100 Bush Loop                                                     Sanford, FL 32773                                                                                             First Class Mail
Chartered Organization         Seminole Elks Lodge 2519                                       Greater Tampa Bay Area 089                                    10717 Seminole Blvd                                               Seminole, FL 33778‐3335                                                                                       First Class Mail
Voting Party                   Seminole Heights Umc                                           c/o Bradley Arant Boult Cummings, LLP                         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                      erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Seminole Heights Utd Methodist Church                          Greater Tampa Bay Area 089                                    6111 N Central Ave                                                Tampa, FL 33604‐6709                                                                                          First Class Mail
Chartered Organization         Seminole Lions Club                                            South Plains Council 694                                      119 SE Ave B                                                      Seminole, TX 79360‐4433                                                                                       First Class Mail
Voting Party                   Senatobia First United Methodist Church                        Attn: Keith Keeton                                            102 W Gilmore St                                                  Senatobia, MS 38668                                                          keith@senatobiafumc.org          Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Senatobia Rotary Club                                          Chickasaw Council 558                                         400 Northwest Plz                                                 Senatobia, MS 38668‐1740                                                                                      First Class Mail
Voting Party                   Seneca Falls First United Methodist Church                     Attn: Valerie White, Pastor                                   2 Chapel St                                                       Seneca Falls, NY 13148                                                       rev.valwhite@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Seneca Falls Utd Methodist Church                              Seneca Waterways 397                                          2 Chapel St                                                       Seneca Falls, NY 13148‐1216                                                                                   First Class Mail
Chartered Organization         Seneca Fire Dept                                               Blue Ridge Council 551                                        321 W South 4th St                                                Seneca, SC 29678‐3361                                                                                         First Class Mail
Chartered Organization         Seneca High School Marine Corps                                Junior Reserve Officer Training Corps                         3510 Goldsmith Ln                                                 Louisville, KY 40220‐2314                                                                                     First Class Mail
Chartered Organization         Seneca Lions Club                                              Gateway Area 624                                              P.O. Box 8                                                        Seneca, WI 54654‐0008                                                                                         First Class Mail
Chartered Organization         Seneca Rotary Club                                             Blue Ridge Council 551                                        P.O. Box 296                                                      Seneca, SC 29679‐0296                                                                                         First Class Mail
Voting Party                   Seneca United Methodist Church (85925)                         c/o Bentz Law Firm                                            Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200              Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Seneca United Methodist Church (85925)                         c/o Bentz Law Firm                                            Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200              Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Seneca Utd Methodist Church Pta                                Seneca Waterways 397                                          121 Scholfield Rd                                                 Rochester, NY 14617‐4210                                                                                      First Class Mail
Voting Party                   Seneca Waterways Council                                       Attn: Stephen Hoitt                                           2320 Brighton Henrietta Tl Rd                                     Rochester, NY 14623                                                          stephen.hoitt@scouting.org       Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Seneca Waterways Council Bsa                                   Seneca Waterways 397                                          2320 Bri Hen Tl Rd, Ste 100                                       Rochester, NY 14623‐2782                                                                                      First Class Mail
Voting Party                   Senoia Umc ‐ Senoia                                            c/o Bradley Arant Boult Cummings, LLP                         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                      erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Sense Charter School                                           Crossroads of America 160                                     1601 Barth Ave                                                    Indianapolis, IN 46203‐2743                                                                                   First Class Mail
Chartered Organization         Sent Church                                                    Circle Ten Council 571                                        3701 W Spring Creek Pkwy                                          Plano, TX 75023‐3838                                                                                          First Class Mail
Chartered Organization         Senter Park Advisory Council                                   Circle Ten Council 571                                        905 Senter Rd                                                     Irving, TX 75060                                                                                              First Class Mail
Voting Party                   Seongmoon Ahn                                                  25 Mill Ln                                                    Belfast, ME 04915                                                                                                                              airsm23@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Sepulveda Umc                                                  Attn: David Burgeson                                          1053 Royal Oaks Pl                                                Santa Paula, CA 93060                                                        northdistrict@calpacumc.org      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Sepulveda Umc                                                  Attn: Ndu Chairman                                            9003 Reseda Blvd, Ste 206                                         Northridge, CA 91324                                                         northdistrict@calpacumc.org      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Sequim Elks Lodge 2642                                         Chief Seattle Council 609                                     143 Port Williams Rd                                              Sequim, WA 98382‐3146                                                                                         First Class Mail
Chartered Organization         Sequiota Pta                                                   Ozark Trails Council 306                                      3414 S Mentor Ave                                                 Springfield, MO 65804‐4826                                                                                    First Class Mail
Chartered Organization         Sequoia Heights Baptist Church                                 Greater Yosemite Council 059                                  1050 S Union Rd                                                   Manteca, CA 95337‐9608                                                                                        First Class Mail
Chartered Organization         Sequoia Lions Club                                             Sequoia Council 027                                           P.O. Box 41                                                       Visalia, CA 93279‐0041                                                                                        First Class Mail
Chartered Organization         Sequoia Yacht Club                                             Pacific Skyline Council 031                                   441 Seaport Ct                                                    Redwood City, CA 94063‐2730                                                                                   First Class Mail
Chartered Organization         Sequoyah Elementary                                            Indian Nations Council 488                                    724 N Birmingham Ave                                              Tulsa, OK 74110‐5314                                                                                          First Class Mail
Chartered Organization         Sequoyah Friends & Family                                      Indian Nations Council 488                                    724 N Birmingham Ave                                              Tulsa, OK 74110‐5314                                                                                          First Class Mail
Chartered Organization         Sequoyah Hills Presbyterian Church                             Great Smoky Mountain Council 557                              3700 Keowee Ave                                                   Knoxville, TN 37919‐7885                                                                                      First Class Mail
Voting Party                   Sequoyah Hills Presbyterian Church                             c/o Katie Mchargue, Business Manager                          3700 Keowee Ave SW                                                Knoxville, TN 37919                                                          aspencer@wmbac.com               Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Sequoyah United Methodist Church                               Attn: Tricia Stuber                                           1910 N Old Wire Rd                                                Fayetteville, AR 72703                                                       lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Serendipity Learning Center                                    Central Florida Council 083                                   410 Ridge Rd                                                      Fern Park, FL 32730‐2232                                                                                      First Class Mail
Chartered Organization         Serenity Education & Day Treatment                             Denver Area Council 061                                       3400 S Fairplay Way                                               Aurora, CO 80014‐3954                                                                                         First Class Mail
Chartered Organization         Serg Assoc 341St Missile Wings                                 Airmans Cncl                                                  111 S Perimeter Rd                                                Malmstrom Afb, MT 59402‐6785                                                                                  First Class Mail
Voting Party                   Sergeant Bluff, Community United Methodist Church              Attn: Joleen Lafrentz                                         101 Baker Dr                                                      P.O. Box 661                            Sergeant Bluff, IA 51054             elad.shapira@iaumc.net           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Sergeants Major Assoc                                          Longhouse Council 373                                         P.O. Box 1206                                                     Fort Drum, NY 13602‐1206                                                                                      First Class Mail
Voting Party                   Sergeantsville United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP                         Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200                Tampa, FL 33602                      erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Sern Lancaster Cty                                             Farmers Sportsmens Assoc                                      P.O. Box 182                                                      New Providence, PA 17560‐0182                                                                                 First Class Mail
Chartered Organization         Serra Catholic School                                          Orange County Council 039                                     23652 Antonio Pkwy                                                Rancho Santa Margarita, CA 92688‐4949                                                                         First Class Mail
Chartered Organization         Sertoma Club                                                   Baden‐Powell Council 368                                      P.O. Box 414                                                      Afton, NY 13730‐0414                                                                                          First Class Mail
Chartered Organization         Sertoma Club (Midtown) Of Sioux Falls                          Sioux Council 733                                             530 S Prairie Ave                                                 Sioux Falls, SD 57104‐4226                                                                                    First Class Mail
Chartered Organization         Sertoma Club Of Sioux Falls                                    Sioux Council 733                                             312 W 30th St                                                     Sioux Falls, SD 57105‐3804                                                                                    First Class Mail
Chartered Organization         Servant Of Christ Lutheran Church                              Northern Star Council 250                                     740 Hayden Lake Rd E                                              Champlin, MN 55316‐1407                                                                                       First Class Mail
Voting Party                   Servants Of Christ Lutheran Church, Inc.                       c/o Plews Shadley Racher & Braun LLP                          Attn: Josh S Tatum                                                1346 N Delaware St                      Indianapolis, IN 46202               jtatum@psrb.com                  Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Serving Children & Adults In Need                              South Texas Council 577                                       1605 Saldana Ave                                                  Laredo, TX 78041‐6220                                                                                         First Class Mail
Voting Party                   Sesser First United Methodist                                  Attn: Carroll Kelly                                           104 W Yung St                                                     Sesser, IL 62884                                                             clknjk395@frontier.com           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Setauket Fire Dept                                             Suffolk County Council Inc 404                                26 Hulse Rd                                                       Setauket, NY 11733‐3747                                                                                       First Class Mail
Voting Party                   Setauket United Methodist Church                               160 Main St                                                   Setauket, NY 11733                                                                                                                                                              First Class Mail
Firm                           Seth Ellerin ‐ Attorney At Law                                 Seth Ellerin                                                  6300 West Loop South, Ste 245                                     Bellaire, TX 77401                                                           sreaje@aol.com                   Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Seth Griffith                                                  Address Redacted                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Seth Lewelling Pto                                             Cascade Pacific Council 492                                   5325 SE Logus Rd                                                  Portland, OR 97222‐4222                                                                                       First Class Mail
Chartered Organization         Seton Catholic School                                          Illowa Council 133                                            1320 16th Ave                                                     Moline, IL 61265‐3039                                                                                         First Class Mail
Voting Party                   Seton Keough High School, Inc                                  c/o Gallagher Evelius & Jones LLP                             Attn: Matthew W Oakey                                             218 N Charles St, Ste 400               Baltimore, MD 21201                  moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Seton School                                                   National Capital Area Council 082                             9314 Maple St                                                     Manassas, VA 20110‐5118                                                                                       First Class Mail
Chartered Organization         Settlers Park Scouting Assoc                                   Ore‐Ida Council 106 ‐ Bsa 106                                 988 W Crescent St                                                 Meridian, ID 83646‐4573                                                                                       First Class Mail
Voting Party                   Seung Jin Hong                                                 Grahamsville Umc                                              350 Main St                                                       P.O. Box 86                             Grahamsville, NY 12740               grahamsvilleumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Seven Holy Founders                                            Greater St Louis Area Council 312                             6820 Aliceton Ave                                                 Saint Louis, MO 63123‐3232                                                                                    First Class Mail
Chartered Organization         Seven Locks Baptist Church                                     National Capital Area Council 082                             11845 Seven Locks Rd                                              Rockville, MD 20854‐3340                                                                                      First Class Mail
Chartered Organization         Seven Mile Chapter Izaak Walton Club                           Dan Beard Council, Bsa 438                                    3380 Cotton Run Rd                                                Hamilton, OH 45011                                                                                            First Class Mail
Chartered Organization         Seven Mile Fire Dept                                           Dan Beard Council, Bsa 438                                    201 High St                                                       Seven Mile, OH 45062                                                                                          First Class Mail
Chartered Organization         Seven Mountains Scout Camp                                     Juniata Valley Council 497                                    227 Sand Mountain Rd                                              Spring Mills, PA 16875‐9039                                                                                   First Class Mail
Chartered Organization         Seven Oaks Presbyterian Church                                 Indian Waters Council 553                                     530 Saint Andrews Rd                                              Columbia, SC 29210‐4517                                                                                       First Class Mail
Chartered Organization         Seven Sorrows Of Bvm                                           New Birth of Freedom 544                                      280 N Race St                                                     Middletown, PA 17057‐2245                                                                                     First Class Mail
Chartered Organization         Seventh Day Adventist Church Of Auburn                         Northeast Georgia Council 101                                 14 Country Living Ln                                              Auburn, GA 30011                                                                                              First Class Mail
Voting Party                   Seventh Street Umc                                             Attn: Mark Smith                                              1801 E 7th St                                                     Parkersburg, WV 26101‐4201                                                   seventhstumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Seventh Street Utd Methodist Church                            Buckskin 617                                                  1801 E 7th St                                                     Parkersburg, WV 26101‐4201                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                           Page 333 of 442
                                                                                   Case 20-10343-LSS                                                     Doc 8171                                         Filed 01/06/22                                                   Page 349 of 457
                                                                                                                                                                                             Exhibit B
                                                                                                                                                                                              Service List
                                                                                                                                                                                       Served as set forth below

        Description                                                        Name                                                                                                            Address                                                                                                            Email                   Method of Service
Chartered Organization         Severn River Lions Club                                      Baltimore Area Council 220                              P.O. Box 118                                                 Severna Park, MD 21146‐0118                                                                               First Class Mail
Voting Party                   Severn United Methodist Church                               Attn: Shauna Miller                                     1215 Old Camp Meade Rd                                       Severn, MD 21144‐1138                                               shauna.miller@liquidityservices.com   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Severna Park Elks                                            Baltimore Area Council 220                              160 Truck House Rd                                           Severna Park, MD 21146‐1747                                                                               First Class Mail
Voting Party                   Severna Park United Methodist Church                         Attn: Dave Mckinney                                     731 Benfield Rd                                              Severna Park, MD 21146                                              dmckinney@severnaparkumc.org          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Severns Valley Baptist Church, Inc.                          Attn: Matthew Hess                                      Bell Hess & Vanzant, PLC                                     2819 Ring Rd, Ste 100           Elizabethtown, KY 42701             mhess@bhvzlaw.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Severns Valley Baptist Church, Inc.                          Attn: 1100 Ring Rd                                      Elizabethtown, KY 42701                                                                                                          jeff@sv.church                        Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Severson‐Cairns Post 501                                     Glaciers Edge Council 620                               P.O. Box 14255                                               Madison, WI 53708‐0255                                                                                    First Class Mail
Chartered Organization         Sevier County Rescue Squad                                   Great Smoky Mountain Council 557                        1171 Dolly Parton Pkwy                                       Sevierville, TN 37862‐3710                                                                                First Class Mail
Chartered Organization         Sevier County Volunteer Rescue Squad                         Great Smoky Mountain Council 557                        P.O. Box 4277                                                Sevierville, TN 37864‐4277                                                                                First Class Mail
Voting Party                   Sevier Memorial Umc                                          Attn: Michael Sherman                                   411 Georgia St                                               Vidalia, GA 30474                                                   preacherdude318@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sevier Memorial Umc                                          P.O. Box 140                                            Ferriday, LA 71343                                                                                                               preacherdude318@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sevierville First United Methodist Church                    c/o Scott Law Group, Pc                                 Attn: C Dan Scott, Esq                                       P.O. Box 547                    Seymour, TN 37865                   dan@scottlawgroup.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sevierville First United Methodist Church                    214 Cedar St                                            Sevierville, TN 37862                                                                                                                                                  First Class Mail
Chartered Organization         Seville Presbyterian Church                                  Lions Club of Seville                                   101 Center St                                                Seville, OH 44273                                                                                         First Class Mail
Chartered Organization         Sew Unique Embrodrey                                         Sam Houston Area Council 576                            10648 Fm 1097 Rd W, Ste C                                    Willis, TX 77318‐5824                                                                                     First Class Mail
Chartered Organization         Sewanee Civic Assoc                                          Middle Tennessee Council 560                            P.O. Box 222                                                 Sewanee, TN 37375‐0222                                                                                    First Class Mail
Voting Party                   Seward Memorial Umc                                          c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Seward United Methodist Church 1400 N Fifth St, Seward, NE   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Seward Utd Methodist Church                                  Cornhusker Council 324                                  1400 N 5th St                                                Seward, NE 68434‐1028                                                                                     First Class Mail
Chartered Organization         Sewickley Presbyterian Church                                Laurel Highlands Council 527                            414 Grant St                                                 Sewickley, PA 15143‐1231                                                                                  First Class Mail
Chartered Organization         Sexton Mountain Ptc                                          Cascade Pacific Council 492                             15645 SW Sexton Mountain Rd                                  Beaverton, OR 97007‐6932                                                                                  First Class Mail
Chartered Organization         Seymour Elementary School                                    Ozark Trails Council 306                                425 E Center Ave                                             Seymour, MO 65746‐8955                                                                                    First Class Mail
Chartered Organization         Seymour Fire Dept                                            Bay‐Lakes Council 635                                   328 N Main St                                                Seymour, WI 54165‐1312                                                                                    First Class Mail
Voting Party                   Seymour Lake United Methodist Church                         Attn: Denise Chegash                                    3100 S Sashabaw Rd                                           Oxford, MI 48371                                                    office@seymourlakeumc.org             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Seymour Lake Utd Methodist Church                            Great Lakes Fsc 272                                     3050 S Sashabaw Rd                                           Oxford, MI 48371‐4008                                                                                     First Class Mail
Voting Party                   Seymour United Methodist Church                              Attn: Pastor L Bosworth                                 P.O. Box 188                                                 Seymour, CT 06483                                                   pastorseymourumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Seymour Utd Methodist Church                                 Great Smoky Mountain Council 557                        107 Simmons Rd                                               Seymour, TN 37865‐5568                                                                                    First Class Mail
Chartered Organization         Sgv Charitable Foundation Inc                                Greater Los Angeles Area 033                            300 Lemon Creek Dr, Ste B                                    Walnut, CA 91789‐2668                                                                                     First Class Mail
Chartered Organization         Shaare Torah Synagogue                                       Laurel Highlands Council 527                            5808 Beacon St                                               Pittsburgh, PA 15217‐2004                                                                                 First Class Mail
Chartered Organization         Shaarey Zedek Congregation                                   Water and Woods Council 782                             1924 Coolidge Rd                                             East Lansing, MI 48823‐1330                                                                               First Class Mail
Chartered Organization         Shaarey Zedek Congregation                                   W.L.A.C.C. 051                                          12800 Chandler Blvd                                          Valley Village, CA 91607‐1931                                                                             First Class Mail
Chartered Organization         Shackle Island Fire And Rescue                               Middle Tennessee Council 560                            3199 Long Hollow Pike                                        Hendersonville, TN 37075‐8795                                                                             First Class Mail
Chartered Organization         Shacklette Elementary                                        Lincoln Heritage Council 205                            5310 Mercury Dr                                              Louisville, KY 40258‐3339                                                                                 First Class Mail
Chartered Organization         Shade Gap Area Fire Co                                       Juniata Valley Council 497                              Shade Gap, PA 17255                                                                                                                                                    First Class Mail
Chartered Organization         Shades Valley Lutheran Church                                Greater Alabama Council 001                             720 Shades Creek Pkwy                                        Birmingham, AL 35209‐4458                                                                                 First Class Mail
Chartered Organization         Shadow Hills Elementary Pta                                  Ore‐Ida Council 106 ‐ Bsa 106                           8301 W Sloan St                                              Boise, ID 83714‐2189                                                                                      First Class Mail
Chartered Organization         Shadow Hills Home Owners Assoc                               Mt Diablo‐Silverado Council 023                         485 Hartz Ave, Ste 100                                       Danville, CA 94526‐3830                                                                                   First Class Mail
Chartered Organization         Shadow Rock Ucc                                              Grand Canyon Council 010                                12861 N 8th Ave                                              Phoenix, AZ 85029‐1806                                                                                    First Class Mail
Chartered Organization         Shadowbrook Baptist Church                                   Northeast Georgia Council 101                           4187 Suwanee Dam Rd                                          Suwanee, GA 30024‐6937                                                                                    First Class Mail
Chartered Organization         Shadowlawn Elementary                                        South Florida Council 084                               149 NW 49th St                                               Miami, FL 33127‐2108                                                                                      First Class Mail
Chartered Organization         Shadowwood Mobile Home                                       Prairielands 117                                        1600 N Market St                                             Champaign, IL 61820‐2242                                                                                  First Class Mail
Voting Party                   Shady Grove ‐ Winston Salem                                  c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Shady Grove Ruritan                                          c/o Jerome Harness Treasurer                            2372 Buchanan Trl W                                          Greencastle, PA 17225‐8306                                                                                First Class Mail
Chartered Organization         Shady Grove Ruritan Club                                     Mason Dixon Council 221                                 2100 Buchanan Trl E                                          Greencastle, PA 17225                                                                                     First Class Mail
Chartered Organization         Shady Grove Ruritan Club                                     Mason Dixon Council 221                                 12055 Community Center Ln                                    Shady Grove, PA 17256                                                                                     First Class Mail
Voting Party                   Shady Grove Umc                                              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shady Grove United Methodist Church                          Attn: James D Thornton                                  4449 Cox Rd                                                  Glen Allen, VA 23060                                                jim.thornton@thorntonassociates.com   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shady Grove United Methodist Church                          Attn: Office Manager                                    4825 Pouncey Tract Rd                                        Glen Allen, VA 23060                                                jim.thornton@thorntonassociates.com   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shady Grove United Methodist Church, Inc                     Attn: Tammy Grey                                        1918 Shady Grove Rd                                          Irmo, SC 29063                                                      tngrey@umcsc.org                      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shady Grove United Methodist Church, Inc                     Attn: Robert Miller                                     1231 St Johns Rd                                             Irmo, SC 29063                                                      mudslanger@bellsouth.net              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Shady Grove Utd Methodist Church                             Indian Waters Council 553                               1918 Shady Grove Rd                                          Irmo, SC 29063‐9011                                                                                       First Class Mail
Chartered Organization         Shady Grove Utd Methodist Church                             Heart of Virginia Council 602                           8029 Shady Grove Rd                                          Mechanicsville, VA 23111                                                                                  First Class Mail
Chartered Organization         Shady Grove Utd Methodist Church                             Old N State Council 070                                 167 Shady Grove Church Rd                                    Winston Salem, NC 27107‐9664                                                                              First Class Mail
Voting Party                   Shady Hills Umc                                              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shady Hills United Methodist Church ‐ Spring Hill            c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shady Hollow Homeowners Association Inc                      Attn: Amy Loughrey Gen Mgr                              3303 Doe Run                                                 Austin, TX 78748‐1813                                               shadyhollow@shadyhollow.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Shady Shores Baptist Church                                  Longhorn Council 662                                    401 W Shady Shores Rd                                        Denton, TX 76208‐5614                                                                                     First Class Mail
Voting Party                   Shady United Methodist Church                                Paul Wayne Smith                                        13 Church Rd                                                 Bearsville, NY 12409                                                overlookumc@earthlink.net             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shady United Methodist Church                                P.O. Box 534                                            Woodstock, NY 12498                                                                                                              overlookumc@earthlink.net             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shady Valley Ruritan Club                                    Attn: Todd Eastin                                       601 Johnson Hollow Ln                                        Shady Valley, TN 37688                                              eastin@skybest.com                    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shady Valley Ruritan Club                                    P.O. Box 26                                             Shady Valley, TN 37688                                                                                                                                                 First Class Mail
Chartered Organization         Shadydale Elementary Kc                                      Sam Houston Area Council 576                            5905 Tidwell Rd                                              Houston, TX 77016‐4745                                                                                    First Class Mail
Chartered Organization         Shadyside Presbyterian Church                                Ohio River Valley Council 619                           4100 Central Ave                                             Shadyside, OH 43947‐1210                                                                                  First Class Mail
Chartered Organization         Shaffer Elementary School Pta                                Denver Area Council 061                                 7961 Sangre De Cristo Rd                                     Littleton, CO 80127‐3901                                                                                  First Class Mail
Voting Party                   Shaft United Methodist Church                                Heerak Kim                                              14706 Smith Hill Rd SW                                       Frostburg, MD 21532                                                 kheerak@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shaft United Methodist Church                                Attn: Selina Smith                                      19304 Shaft Rd Sw                                            Frostburg, MD 21532                                                 kheerak@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shaftsbury Methodist Church                                  Attn: Robin Wade                                        127 Chruch St                                                Shaftsbury, VT 05262                                                                                      First Class Mail
Chartered Organization         Shaftsbury Utd Methodist Church                              Green Mountain 592                                      127 Church St                                                Shaftsbury, VT 05262‐9404                                                                                 First Class Mail
Chartered Organization         Shak Makerspace                                              Sagamore Council 162                                    210 W Monroe St                                              Kokomo, IN 46901‐3372                                                                                     First Class Mail
Chartered Organization         Shaker Road Loudonville Fire Dept                            Twin Rivers Council 364                                 550 Albany Shaker Rd                                         Loudonville, NY 12211‐2100                                                                                First Class Mail
Chartered Organization         Shakopee Knights Of Columbus                                 Northern Star Council 250                               1760 4th Ave E                                               Shakopee, MN 55379‐1710                                                                                   First Class Mail
Chartered Organization         Shalimar Utd Methodist Church                                Gulf Coast Council 773                                  1 Old Ferry Rd                                               Shalimar, FL 32579‐1212                                                                                   First Class Mail
Chartered Organization         Shallotte Presbyterian Church                                Cape Fear Council 425                                   5070 Main St                                                 Shallotte, NC 28470‐4488                                                                                  First Class Mail
Chartered Organization         Shallow Well Church                                          Occoneechee 421                                         1220 Broadway Rd                                             Sanford, NC 27332‐9744                                                                                    First Class Mail
Voting Party                   Shallowater First United Methodist Church                    Attn: Secretary/Treasurer And/Or Pastor                 809 Texas Ave                                                Shallowater, TX 79363                                                                                     First Class Mail
Chartered Organization         Shallowford Presbyterian Church                              Atlanta Area Council 092                                2375 Shallowford Rd NE                                       Atlanta, GA 30345‐1342                                                                                    First Class Mail
Voting Party                   Shallowford Presbyterian Church                              2375 Shallowford Rd                                     Atlanta, GA 30345                                                                                                                                                      First Class Mail
Voting Party                   Shalom United Methodist Church, Inc.                         Attn: Peter Borhauer                                    4925 Plum Rd Nw                                              Carroll, OH 43112                                                   pastorpeter@shalomumc.org             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shalom United Methodist Church, Inc.                         Attn: Treasurer ‐ Shalom Umc                            4924 Plum Rd Nw                                              Carroll, OH 43112                                                   churchoffice@shalomumc.org            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Shalom Utd Church Of Christ                                  Blue Mountain Council 604                               505 Mcmurray St                                              Richland, WA 99354‐2237                                                                                   First Class Mail
Chartered Organization         Shalom Utd Methodist Church                                  Simon Kenton Council 441                                4926 Plum Rd                                                 Carroll, OH 43112                                                                                         First Class Mail
Voting Party                   Shamokin Dam United Methodist Church (04631)                 c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200      Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Shamona Creek Hsa                                            Chester County Council 539                              501 Dorlan Mill Rd                                           Downingtown, PA 19335‐4563                                                                                First Class Mail
Voting Party                   Shamrock Foods Co                                            P.O. Box 52409                                          Phoenix, AZ 85072‐2409                                                                                                                                                 First Class Mail
Chartered Organization         Shamrock Swim Club                                           The Spirit of Adventure 227                             411 Unquity Rd                                               Milton, MA 02186‐3634                                                                                     First Class Mail
Voting Party                   Shandaken Memorial United Methodist Church                   Attn: Lee Stowe                                         14 Niles Dr                                                  Woodstock, NY 12498                                                 leestowe13@aol.com                    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Shandon Methodist Church                                     Indian Waters Council 553                               3407 Devine St                                               Columbia, SC 29205‐1901                                                                                   First Class Mail
Chartered Organization         Shandon Presbyterian Church                                  Indian Waters Council 553                               607 Woodrow St                                               Columbia, SC 29205‐2320                                                                                   First Class Mail
Voting Party                   Shandon UMC                                                  Attn: NDU Chairman                                      9003 Reseda Blvd, Ste 206                                    Northridge, CA 91324                                                                                      First Class Mail
Voting Party                   Shandon United Methodist Church                              Attn: C. E Kanipe, Jr                                   3407 Devine St                                               Columbia, SC 29205                                                  skanipe@shandon‐umc.org               Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shane Lee Mitchell                                           Address Redacted                                                                                                                                                                         Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Shanghai Community International School                      Far E Council 803                                       1161 Hongqiac Rd                                             Shanghai City Sh, 20051         China                                                                     First Class Mail
Voting Party                   Shanksville United Methodist Church (188128)                 c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200      Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Shanksville Utd Methodist Church                             Laurel Highlands Council 527                            P.O. Box 129                                                 Shanksville, PA 15560‐0129                                                                                First Class Mail
Chartered Organization         Shanksville‐Stonycreek Ptsa                                  c/o Shanksville‐Stonycreek School                       325 Corner Stone Rd                                          Shanksville, PA 15560                                                                                     First Class Mail
Voting Party                   Shannon Associates, LLC                                      Attn: Jodie Perry                                       333 W 57th St, Ste 809                                       New York, NY 10019                                                  jodie@shannonassociates.com           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Shannon Diana Keeney                                         40 Kilburn St                                           Littleton, NH 03561                                                                                                              sdk7_2001@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Shannon Sportsman Club                                       Northwest Georgia Council 100                           2270 Turkey Mountain Rd NE                                   Rome, GA 30161‐8647                                                                                       First Class Mail
Voting Party                   Shannon: Bethel                                              Attn: Brenda Morris                                     217 S Hickory                                                Shannon, IL 61078                                                   doylebrendamorris@gmail.com           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Shannon‐Shattuck Post 182                                    Connecticut Rivers Council, Bsa 066                     244 N Granby Rd                                              Granby, CT 06035                                                                                          First Class Mail
Chartered Organization         Shark River Hills Fire Co                                    Monmouth Council, Bsa 347                               200 Brighton Ave                                             Neptune, NJ 07753‐5401                                                                                    First Class Mail
Chartered Organization         Sharon Baptist Chruch                                        Last Frontier Council 480                               19002 Gordon Cooper Dr                                       Shawnee, OK 74801‐8626                                                                                    First Class Mail
Chartered Organization         Sharon Baptist Church                                        Baltimore Area Council 220                              P.O. Box 3785                                                Baltimore, MD 21217‐0785                                                                                  First Class Mail
Chartered Organization         Sharon Baptist Church                                        Last Frontier Council 480                               19002 Gordon Cooper Dr                                       Shawnee, OK 74801‐8626                                                                                    First Class Mail
Voting Party                   Sharon Center United Methodist Church                        Attn: Eunice Merrit                                     P.O. Box 239                                                 6407 Ridge Rd                   Sharon Center, OH 44274             rmravet@uakron.edu                    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sharon Community Presbyterian Church                         Laurel Highlands Council 527                            522 Carnot Rd                                                Moon Township, PA 15108‐2302                                                                              First Class Mail
Chartered Organization         Sharon Congregational Church                                 Green Mountain 592                                      55 Vermont Route 132                                         Sharon, VT 05065                                                                                          First Class Mail
Chartered Organization         Sharon Elementary School                                     Buffalo Trace 156                                       7300 Sharon Rd                                               Newburgh, IN 47630‐1818                                                                                   First Class Mail
Voting Party                   Sharon Evangelical Church                                    23913 W Lockport St                                     Plainfield, IL 60544                                                                                                             tjl1968@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sharon Evangelical Church                                    Teri Lafferty                                           Same                                                         Same                                                                                                      First Class Mail
Voting Party                   Sharon Giovingo                                              Winters Salzetta O'Brien & Richardson LLC               111 W Washington St, Ste 1200                                Chicago, IL 60602                                                   lscalzo@wsorlaw.com                   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Firm                           Sharon J. Rottiers & Assn. Sharon J. Rottiers Owner          Sharon J. Rottiers‐My Power of Attorney, she is not a   912 Shoal Dr. San Mateo                                      San Mateo, CA 94404                                                 sjrottiers@yahoo.com                  Email
                                                                                            licensed                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Sharon Lutheran Church                                       Susquehanna Council 533                                 120 S Market St                                              Selinsgrove, PA 17870‐1812                                                                                First Class Mail
Voting Party                   Sharon Lutheran Church                                       Attn: Pastor Lynn Ronsberg                              1720 S 20th St                                               Grand Forks, ND 58201‐6147                                          lronsberg@sharonlutheran.org          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sharon Presbyterian Church                                   Mecklenburg County Council 415                          5201 Sharon Rd                                               Charlotte, NC 28210‐4721                                                                                  First Class Mail
Chartered Organization         Sharon Springs Rotary Club                                   Coronado Area Council 192                               P.O. Box 400                                                 Sharon Springs, KS 67758‐0400                                                                             First Class Mail
Voting Party                   Sharon Springs United Methodist Church                       Attn: Robin Elizabeth Ressler                           P.O. Box 282                                                 Sharon Springs, NY 13459                                                                                  First Class Mail
Voting Party                   Sharon United Methodist Church                               Attn: Thomas W Leeper                                   4655 Mckinley Rd                                             Decatur, IL 62526                                                   twleeper@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sharon United Methodist Church                               Attn: Rev Gryff Carosiello                              1421 Reidville Sharon Rd                                     Greer, SC 29651                                                     sharonumcgreer@gmail.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sharon United Methodist Church                               Attn: Treasurer, Sharon Umc                             1809 9th St Sw                                               Cedar Rapids, IA 52404                                              SharonUMC13@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sharon United Methodist Church                               Attn: Martha D Leeper                                   4363 W Center St                                             Decatur, IL 62522                                                   sharondecaturumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sharon United Methodist Church, Inc                          Attn: Marshall E Cherry, Jr                             P.O. Box 182                                                 275 Poplar Branch Rd            Poplar Branch, NC 27965             mecherry2@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sharon Untied Methodist Church                               Attn: Sharon Umc Board of Trustees                      2030 Holden Beach Rd SW                                      Supply, NC 28462                                                    sharonadmin@atmc.net                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sharon Utd Methodist Church                                  East Carolina Council 426                               4061 Sharon Church Rd                                        Kinston, NC 28501                                                                                         First Class Mail
Chartered Organization         Sharon Utd Methodist Church‐Mens                             Old Hickory Council 427                                 5300 Shallowford Rd                                          Fellowship                                                                                                First Class Mail
Voting Party                   Sharp Memorial Umc                                           c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sharp Park Academy Pto                                       Southern Shores Fsc 783                                 766 Park Rd                                                  Jackson, MI 49203‐5058                                                                                    First Class Mail
Chartered Organization         Sharps Chapel Vol Fire Dept                                  Great Smoky Mountain Council 557                        P.O. Box 83                                                  Sharps Chapel, TN 37866‐0083                                                                              First Class Mail
Voting Party                   Sharptown United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200        Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sharptown Utd Methodist Church                               Garden State Council 690                                3 Chapel St                                                  Pilesgrove, NJ 08098‐2920                                                                                 First Class Mail
Firm                           Shartzer Law Firm, LLC                                       Jason A. Shartzer                                       156 E. Market Street, Suite 1000                             Indianapolis, IN 46204                                              jshartzer@shartzerlaw.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Shary Elementary Pto                                         Rio Grande Council 775                                  2300 N Glasscock Rd                                          Mission, TX 78574‐7905                                                                                    First Class Mail
Chartered Organization         Shasta Co Sheriff'S Explorers                                Golden Empire Council 047                               300 Park Marina Cir                                          Redding, CA 96001‐0964                                                                                    First Class Mail
Chartered Organization         Shasta Elementary School Boosters                            Crater Lake Council 491                                 1951 Madison St                                              Klamath Falls, OR 97603‐5135                                                                              First Class Mail
Chartered Organization         Shasta Scouting Supporters                                   Golden Empire Council 047                               3619 Alma Ave                                                Redding, CA 96002‐3232                                                                                    First Class Mail
Voting Party                   Shavertown Umc (080227)                                      c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200      Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Shavertown Utd Methodist Church                              Northeastern Pennsylvania Council 501                   163 N Pioneer Ave                                            Shavertown, PA 18708‐1029                                                                                 First Class Mail
Chartered Organization         Shaw Temple Ame Zion Church                                  Atlanta Area Council 092                                775 Hurt Rd Sw                                               Smyrna, GA 30082‐2918                                                                                     First Class Mail
Chartered Organization         Shaw Vpa Elementary School                                   Greater St Louis Area Council 312                       5329 Columbia Ave                                            Saint Louis, MO 63139‐1443                                                                                First Class Mail
Chartered Organization         Shawn D Frehner Dvm                                          Las Vegas Area Council 328                              7245 N Tenaya Way                                            Las Vegas, NV 89131‐2231                                                                                  First Class Mail
Chartered Organization         Shawnee Alliance Church                                      Black Swamp Area Council 449                            4455 Shawnee Rd                                              Lima, OH 45806‐2044                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                              Page 334 of 442
                                                                                      Case 20-10343-LSS                                     Doc 8171                                         Filed 01/06/22                                                     Page 350 of 457
                                                                                                                                                                                Exhibit B
                                                                                                                                                                                 Service List
                                                                                                                                                                          Served as set forth below

        Description                                                       Name                                                                                                Address                                                                                                              Email                     Method of Service
Chartered Organization         Shawnee Community Christian Church                            Heart of America Council 307             5340 Martindale Rd                                            Shawnee, KS 66218‐9626                                                                                        First Class Mail
Chartered Organization         Shawnee Heights Elementary Pto                                Jayhawk Area Council 197                 2410 SE Burton St                                             Topeka, KS 66605‐1916                                                                                         First Class Mail
Chartered Organization         Shawnee Heights Utd Methodist Church                          Jayhawk Area Council 197                 6020 SE 44th St                                               Tecumseh, KS 66542‐9741                                                                                       First Class Mail
Chartered Organization         Shawnee Mission Unitarianuniversalist Ch                      Heart of America Council 307             9400 Pflumm Rd                                                Lenexa, KS 66215‐3308                                                                                         First Class Mail
Chartered Organization         Shawnee Police Dept                                           Last Frontier Council 480                16 W 9th St                                                   Shawnee, OK 74801‐6812                                                                                        First Class Mail
Chartered Organization         Shawnee Presbyterian Church                                   Heart of America Council 307             6837 Nieman Rd                                                Shawnee, KS 66203‐3803                                                                                        First Class Mail
Chartered Organization         Shawnee Scouting Parents                                      Great Lakes Fsc 272                      21555 Vesper Dr                                               Macomb, MI 48044‐1378                                                                                         First Class Mail
Chartered Organization         Shawnee Utd Methodist Church                                  Black Swamp Area Council 449             2600 Zurmehly Rd                                              Lima, OH 45806‐1424                                                                                           First Class Mail
Chartered Organization         Shawnee Utd Methodist Church                                  Heart of America Council 307             10700 Johnson Dr                                              Shawnee, KS 66203‐2846                                                                                        First Class Mail
Chartered Organization         Shawnee Volunteer Fire Co                                     Greater Niagara Frontier Council 380     3747 Lockport Rd                                              Sanborn, NY 14132‐9456                                                                                        First Class Mail
Chartered Organization         Shawquon Ruritan Club                                         Shenandoah Area Council 598              722 Minebank Rd                                               Middletown, VA 22645‐2141                                                                                     First Class Mail
Chartered Organization         Shawruritan Club/Burnt Factory Umc                            Shenandoah Area Council 598              1943 Jordan Springs Rd                                        Stephenson, VA 22656                                                                                          First Class Mail
Chartered Organization         Shawsville Ruritan Club                                       Blue Ridge Mtns Council 599              P.O. Box 310                                                  Shawsville, VA 24162‐0310                                                                                     First Class Mail
Chartered Organization         Shay Realtors                                                 San Diego Imperial Council 049           10550 Craftsman Way                                           San Diego, CA 92127‐3507                                                                                      First Class Mail
Voting Party                   Sheakleyville United Methodist Church (87321)                 c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shear Ego Intl Sch Hair Design                                Seneca Waterways 397                     525 Titus Ave                                                 Rochester, NY 14617‐3501                                                                                      First Class Mail
Chartered Organization         Shearith Israel Congregation                                  Baltimore Area Council 220               5835 Park Heights Ave                                         Baltimore, MD 21215‐3931                                                                                      First Class Mail
Chartered Organization         Sheas Youth Basketball Assoc                                  Cape Cod and Islands Cncl 224            141 Bassett Ln                                                Hyannis, MA 02601‐3817                                                                                        First Class Mail
Chartered Organization         Sheboygan County Sheriffs Office                              Bay‐Lakes Council 635                    526 N 6th St                                                  Sheboygan, WI 53081                                                                                           First Class Mail
Chartered Organization         Sheboygan Yacht Club                                          Bay‐Lakes Council 635                    214 Pennsylvania Ave                                          Sheboygan, WI 53081‐4636                                                                                      First Class Mail
Chartered Organization         Sheepscot Fish & Game                                         Katahdin Area Council 216                1392 Route 3                                                  Palermo, ME 04354‐6802                                                                                        First Class Mail
Chartered Organization         Sheepscot Fish & Game Assoc & Malcolm                         Katahdin Area Council 216                1392 Route 3                                                  Palermo, ME 04354‐6802                                                                                        First Class Mail
Chartered Organization         Sheet Metal Wrkrs Local 36                                    Greater St Louis Area Council 312        301 S Ewing Ave                                               Saint Louis, MO 63103‐2509                                                                                    First Class Mail
Chartered Organization         Sheffield Lions Club                                          Winnebago Council, Bsa 173               P.O. Box 556                                                  Sheffield, IA 50475‐0556                                                                                      First Class Mail
Chartered Organization         Sheffield Lions Club                                          Chief Cornplanter Council, Bsa 538       4 S Main St                                                   Sheffield, PA 16347                                                                                           First Class Mail
Voting Party                   Sheffield United Methodist Church (88600)                     c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sheffield Utd Methodist Church                                Chief Cornplanter Council, Bsa 538       P.O. Box 794                                                  Sheffield, PA 16347‐0794                                                                                      First Class Mail
Voting Party                   Shelburn United Methodist Church                              Attn: Sharon Payne                       202 N Thomas St                                               Shelburn, IN 47879                                                    sepayne101@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shelburne Grange 68                                           c/o Roland Giguere                       Western Massachusetts Council 234                             40 Little Mohawk Rd                                                                                           First Class Mail
Chartered Organization         Shelburne Leaders                                             Green Mountain 592                       143 Summit Cir                                                Shelburne, VT 05482‐6752                                                                                      First Class Mail
Chartered Organization         Shelburne Middle School                                       Stonewall Jackson Council 763            300 Grubert Ave                                               Staunton, VA 24401‐2947                                                                                       First Class Mail
Voting Party                   Shelburne United Methodist Church                             Attn: Rev Gregory Smith                  30 Church St                                                  P.O. Box 365                      Shelburne, VT 05482                 shelburne.umc@myfairpoint.net           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shelburne‐Charlotte Rotary Club                               Green Mountain 592                       P.O. Box 156                                                  Shelburne, VT 05482‐0156                                                                                      First Class Mail
Firm                           Shelby                                                        John D. Byrd                             110 Cox Street                                                Lagrange, GA 30240                                                    jdbyrd474@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shelby Baptist Medical Center                                 Greater Alabama Council 001              1000 1st St N                                                 Alabaster, AL 35007‐8703                                                                                      First Class Mail
Chartered Organization         Shelby County High School                                     Lincoln Heritage Council 205             1701 Frankfort Rd                                             Shelbyville, KY 40065‐9451                                                                                    First Class Mail
Chartered Organization         Shelby County Sheriff'S Dept                                  Chickasaw Council 558                    201 Poplar Ave                                                Memphis, TN 38103‐1945                                                                                        First Class Mail
Voting Party                   Shelby County Trustee                                         P.O. Box 2751                            Memphis, TN 38101‐2751                                                                                                              kjackson1@shelbycountytrustee.com       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shelby Optimist Club                                          President Gerald R Ford 781              788 Industrial Park Dr                                        Shelby, MI 49455‐9584                                                                                         First Class Mail
Chartered Organization         Shelby Presbyterian Church                                    Piedmont Council 420                     Dekalb & E Graham St                                          Shelby, NC 28150                                                                                              First Class Mail
Voting Party                   Shelby United Methodist Church                                Attn: Sara Staub, Treasurer Shelby Umc   413 2nd St S                                                  Shelby, MT 59474                                                      staub.sara@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shelbyville Boys & Girls Club                                 Crossroads of America 160                P.O. Box 57                                                   Shelbyville, IN 46176‐0057                                                                                    First Class Mail
Chartered Organization         Shelbyville Central High School                               Middle Tennessee Council 560             401 Eagle Blvd                                                Shelbyville, TN 37160‐7416                                                                                    First Class Mail
Voting Party                   Shelbyville First Baptist Church (Placeholder Claim)          Attn: Fielding Ballard III               1516 Midland Trail                                            Shelbyville, KY 40065                                                 mhollingsworth@shelbyvillebaptist.com   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shelbyville First Baptist Church (Placeholder Claim)          Firs Baptist Church                      Fielding Ballard III                                          1516 Midland Tr                   Shelbyville, KY 40065               mhollingsworth@shelbyvillebaptist.com   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shelbyville First United Methodist Church                     Attn: Trustee President                  34 W Washington St                                            Shelbyville, IN 46176‐1244                                            1UMC34@att.net                          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shelbyville Optimist Club                                     Middle Tennessee Council 560             422 Dow Dr                                                    Shelbyville, TN 37160‐2247                                                                                    First Class Mail
Chartered Organization         Shelbyville Rotary Club                                       Greater St Louis Area Council 312        200 S Cedar St                                                Shelbyville, IL 62565‐1838                                                                                    First Class Mail
Chartered Organization         Sheldon Noon Kiwanis                                          Mid‐America Council 326                  P.O. Box 277                                                  Sheldon, IA 51201‐0277                                                                                        First Class Mail
Voting Party                   Sheldon United Methodist Church                               Attn: Bonnie Hovermann                   275 Manley Rd                                                 Milton, VT 05468                                                      Hovermann4@comcast.net                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shell Lake Lions Club                                         Chippewa Valley Council 637              823 Burgs Park Dr                                             Shell Lake, WI 54871‐9183                                                                                     First Class Mail
Chartered Organization         Shell Lake Masonic Lodge 221                                  Chippewa Valley Council 637              General Delivery                                              Shell Lake, WI 54871                                                                                          First Class Mail
Voting Party                   Shell Of Summerland                                           24838 Overseas Hwy                       Summerland Key, FL 33042‐4618                                                                                                                                               First Class Mail
Chartered Organization         Shell Point Baptist Church                                    Coastal Carolina Council 550             871 Parris Island Gtwy                                        Beaufort, SC 29906‐6955                                                                                       First Class Mail
Chartered Organization         Shell Rock Utd Methodist Church                               Winnebago Council, Bsa 173               204 W South St                                                Shell Rock, IA 50670                                                                                          First Class Mail
Voting Party                   Shell Rock Valley Parish                                      Susan Marie Simmons                      1301 North Carolina Pl                                        Mason City, IA 50401                                                  sue4jc1960@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shelley Community Church Inc ‐ Shelley                        c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shellsburg Vol Fire Dept                                      Hawkeye Area Council 172                 P.O. Box 162                                                  Shellsburg, IA 52332‐0162                                                                                     First Class Mail
Chartered Organization         Shelocta Community Utd Presbyterian                           Laurel Highlands Council 527             P.O. Box 177                                                  Shelocta, PA 15774‐0177                                                                                       First Class Mail
Chartered Organization         Shelter Of Flint                                              Water and Woods Council 782              924 Cedar St                                                  Flint, MI 48503‐3620                                                                                          First Class Mail
Chartered Organization         Shelter Rock Church                                           Theodore Roosevelt Council 386           178 Cold Spring Rd                                            Syosset, NY 11791‐2201                                                                                        First Class Mail
Chartered Organization         Shelton Kiwanis Club                                          Pacific Harbors Council, Bsa 612         P.O. Box 477                                                  Shelton, WA 98584‐0477                                                                                        First Class Mail
Voting Party                   Shenandoah Area Council 598                                   Attn: Robert L Garrett                   107 Youth Development Ct                                      Winchester, VA 22602                                                  Robert.Garrett@Scouting.org             Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shenandoah Valley School Pto                                  Greater St Louis Area Council 312        15399 Appalachian Trl                                         Chesterfield, MO 63017‐1939                                                                                   First Class Mail
Voting Party                   Shenandoah, Iowa First United Methodist Church                Attn: L Craig Harris                     1502 230th St                                                 Shenandoah, IA 51601                                                  Lcraig.harris13@gmail.com               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shenandoah, Iowa First United Methodist Church                Attn: David Lashier                      P.O. Box 394                                                  200 Church St                     Shenandoah, IA 51601                dave@lbbiowa.com                        Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shenendehowa United Methodist Church                          Attn: John Orton                         971 Rte 146                                                   Clifton Park, NY 12065‐3645                                           js_orton@yahoo.com                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shentel                                                       P.O. Box 37014                           Baltimore, MD 21297‐3014                                                                                                                                                    First Class Mail
Chartered Organization         Shepard Blvd Parent Teacher Student Assn                      Great Rivers Council 653                 2616 Shepard Blvd                                             Columbia, MO 65201‐6133                                                                                       First Class Mail
Voting Party                   Shephard Of The Hills Lutheran Church, Inc.                   Attn: Jill Mccutcheon                    4090 Sudley Rd                                                Haymarket, VA 20169                                                   jillz1@comcast.net                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shephard Of The Hills Lutheran Church, Inc.                   Attn: Jill Zimmerman Mccutcheon          4090 Sudley Rd                                                Haymarket, VA 20169                                                   jillz1@comcast.com                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shepherd Community Center                                     Crossroads of America 160                4107 E Washington St                                          Indianapolis, IN 46201‐4538                                                                                   First Class Mail
Chartered Organization         Shepherd Of The Desert Lutheran Church                        California Inland Empire Council 045     1301 E Mountain View St                                       Barstow, CA 92311‐3201                                                                                        First Class Mail
Chartered Organization         Shepherd Of The Desert Lutheran Church                        Grand Canyon Council 010                 9590 E Shea Blvd                                              Scottsdale, AZ 85260‐6724                                                                                     First Class Mail
Chartered Organization         Shepherd Of The Hill Presbyterian Church                      Northern Star Council 250                145 Engler Blvd                                               Chaska, MN 55318‐1283                                                                                         First Class Mail
Chartered Organization         Shepherd Of The Hill Presbyterian Church                      Pacific Harbors Council, Bsa 612         8401 112th St E                                               Puyallup, WA 98373                                                                                            First Class Mail
Voting Party                   Shepherd Of The Hill Presbyterian Church                      Attn: Don Bennett                        8401 112th St SE                                              P.O. Box 73426                    Puyallup, WA 98373                  d.a.bennett@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shepherd Of The Hill Presbyterian Church                      Attn: Donald Bennett                     8401 112th St SE                                              P.O. Box 73426                    Puyallup, WA 98373                  d.a.bennett@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shepherd Of The Hills                                         Northeast Georgia Council 101            823 Forge Mill Rd                                             Morganton, GA 30560‐3232                                                                                      First Class Mail
Chartered Organization         Shepherd Of The Hills Church                                  Cradle of Liberty Council 525            527 Hoffmansville Rd                                          Bechtelsville, PA 19505‐9527                                                                                  First Class Mail
Chartered Organization         Shepherd Of The Hills Lutheran Church                         Longs Peak Council 062                   7077 Harvest Rd                                               Boulder, CO 80301‐3611                                                                                        First Class Mail
Chartered Organization         Shepherd Of The Hills Lutheran Church                         Buffalo Trace 156                        3600 Oak Hill Rd                                              Evansville, IN 47711‐2938                                                                                     First Class Mail
Chartered Organization         Shepherd Of The Hills Lutheran Church                         Longs Peak Council 062                   1200 S Taft Hill Rd                                           Fort Collins, CO 80521‐4227                                                                                   First Class Mail
Chartered Organization         Shepherd Of The Hills Lutheran Church                         Northern Star Council 250                500 Blake Rd S                                                Hopkins, MN 55343‐8555                                                                                        First Class Mail
Chartered Organization         Shepherd Of The Hills Lutheran Church                         California Inland Empire Council 045     6080 Haven Ave                                                Rancho Cucamonga, CA 91737‐3004                                                                               First Class Mail
Chartered Organization         Shepherd Of The Hills Lutheran Church                         Northern Star Council 250                3920 Victoria St N                                            Shoreview, MN 55126‐2908                                                                                      First Class Mail
Chartered Organization         Shepherd Of The Hills Lutheran Church                         Capitol Area Council 564                 3525 Bee Caves Rd                                             West Lake Hills, TX 78746‐5401                                                                                First Class Mail
Chartered Organization         Shepherd Of The Hills Lutheran Church                         Minsi Trails Council 502                 4331 Main St                                                  Whitehall, PA 18052‐1629                                                                                      First Class Mail
Voting Party                   Shepherd Of The Hills Lutheran Church                         Attn: Patrick Malone                     615 Richard Rd                                                Blairsville, GA 30512                                                 ptm4936@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shepherd Of The Hills Lutheran Church                         823 Forge Mill Rd                        Morganton, GA 30560                                                                                                                 jameskroninger@gmail.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shepherd Of The Hills Umc                                     Attn: Freda Low                          333 S Garfield Ave                                            Monterey Park, CA 91754                                               gjung@juno.com                          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shepherd Of The Hills Umc                                     Attn: Treasurer                          26001 Muirlands Blvd                                          Mission Viejo, CA 92691                                               cbohmholdt@sothumc.org                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shepherd Of The Hills Umc, St George, Utah                    Attn: Tim Pieper                         920 W Tonaquint Dr                                            St George, UT 84770                                                   shumcsg@yahoo.com                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shepherd Of The Hills Utd Methodist                           Greater Los Angeles Area 033             333 S Garfield Ave                                            Monterey Park, CA 91754‐3326                                                                                  First Class Mail
Chartered Organization         Shepherd Of The Lakes Lutheran Church                         Northeast Illinois 129                   285 E Washington St                                           Grayslake, IL 60030‐1133                                                                                      First Class Mail
Chartered Organization         Shepherd Of The Lakes Lutheran Church                         Great Lakes Fsc 272                      2905 S Commerce Rd                                            Wolverine Lake, MI 48390‐1510                                                                                 First Class Mail
Chartered Organization         Shepherd Of The Pines Lutheran Church                         Grand Canyon Council 010                 507 W Wade Ln                                                 Payson, AZ 85541‐4761                                                                                         First Class Mail
Voting Party                   Shepherd Of The Pines Umc (AZ)                                c/o Clarke Law Firm, Plc                 Attn: Marilee Miller Clarke                                   8141 E Indian Bend Rd, Ste 105    Scottsdale, AZ 85250                marilee@clarkelawaz.com                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shepherd Of The Pines Utd Methodist                           Grand Canyon Council 010                 P.O. Box 1402                                                 Overgaard, AZ 85933‐1402                                                                                      First Class Mail
Chartered Organization         Shepherd Of The Prairie                                       Northern Lights Council 429              6151 25th St S                                                Fargo, ND 58104‐7107                                                                                          First Class Mail
Chartered Organization         Shepherd Of The Prairie Lutheran Church                       Blackhawk Area 660                       10805 Main St                                                 Huntley, IL 60142‐7305                                                                                        First Class Mail
Voting Party                   Shepherd Of The Sea Lutheran Church, Elca                     Shepherd of the Sea Lutheran Church      2637 S Hwy 17                                                 Murrells Inlet, SC 29576                                              parish.ad.shepcluth@gmail.com           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shepherd Of The Valley Lutheran                               W.L.A.C.C. 051                           23838 Kittridge St                                            West Hills, CA 91307‐3107                                                                                     First Class Mail
Chartered Organization         Shepherd Of The Valley Lutheran Church                        Northern Star Council 250                12650 Johnny Cake Ridge Rd                                    Apple Valley, MN 55124‐8156                                                                                   First Class Mail
Chartered Organization         Shepherd Of The Valley Lutheran Church                        California Inland Empire Council 045     11650 Perris Blvd                                             Moreno Valley, CA 92557‐6536                                                                                  First Class Mail
Voting Party                   Shepherd Of The Valley Lutheran Church                        23855 SE 216th St                        Maple Valley, WA 98038                                                                                                              pastor@SVLCcommunity.org                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shepherd Of The Valley Lutheran Church Of San Jose, CA        Attn: Treasurer                          1281 Redmond Ave                                              San Jose, CA 95120                                                    treasurer@sanjoselutheran.org           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shepherd Of The Valley Lutheran Church Of San Jose, CA        Mark Allen Haertling                     6412 Purple Hills Dr                                          San Jose, CA 95119                                                    treasurer@sanjoselutheran.org           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shepherd Of The Valley Lutheran Church‐West Hills, CA         Attn: Lisa Lambert                       23838 Kittridge St                                            West Hills, CA 91307                                                  lisa.v.lambert@gmail.com                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shepherd Of The Valley United Methodist Church                Attn: Martha Ahern                       604 Seven Mile Rd                                             Hope, RI 02831                                                                                                First Class Mail
Voting Party                   Shepherd Of The Valley United Methodist Church                P.O. Box 1805                            Indio, CA 92202                                                                                                                                                             First Class Mail
Chartered Organization         Shepherd Of The Woods Lutheran Church                         North Florida Council 087                7860 Southside Blvd                                           Jacksonville, FL 32256‐0488                                                                                   First Class Mail
Chartered Organization         Shepherd Road Presbyterian Church                             Greater Tampa Bay Area 089               1217 Shepherd Rd                                              Lakeland, FL 33811‐2191                                                                                       First Class Mail
Chartered Organization         Shepherd Rotary Club                                          Water and Woods Council 782              107 W Wright Ave                                              Shepherd, MI 48883‐8062                                                                                       First Class Mail
Voting Party                   Shepherd Rotary Club                                          Joyce M Gluch                            9251 E Coe Rd                                                 Shepherd, MI 48883                                                    jgluch72@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Shepherd United Methodist Church                              Attn: James Wyman                        107 West Wright Ave                                           Shepherd, MI 48883                                                    Office@shepherdumcmi.org                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shepherd, Heart Utd Methodist Ch                              Bay Area Council 574                     12005 County Rd 59                                            Pearland, TX 77584‐2147                                                                                       First Class Mail
Chartered Organization         Shepherd, Hills Presbyterian Ch                               Denver Area Council 061                  11500 W 20th Ave                                              Lakewood, CO 80215‐1224                                                                                       First Class Mail
Chartered Organization         Shepherd, Hills Presbyterian Ch (Pcusa)                       Capitol Area Council 564                 5226 W William Cannon Dr                                      Austin, TX 78749‐2212                                                                                         First Class Mail
Chartered Organization         Shepherd, Hills Utd Methodist Ch                              Orange County Council 039                26001 Muirlands Blvd                                          Mission Viejo, CA 92691‐4765                                                                                  First Class Mail
Chartered Organization         Shepherd, Vly Utd Methodist Ch                                Narragansett 546                         604 Seven Mile Rd                                             Hope, RI 02831‐1849                                                                                           First Class Mail
Chartered Organization         Shepherd'S Table                                              Northern Lights Council 429              2517 9th Ave W                                                Williston, ND 58801‐3254                                                                                      First Class Mail
Chartered Organization         Shepherdstown Elementary School Pta‐Sea                       Shenandoah Area Council 598              662 S Church St                                               Shepherdstown, WV 25443‐4717                                                                                  First Class Mail
Voting Party                   Shepherdstown United Methodist Church (182587)                c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sheppard Home And School Assoc                                Cradle of Liberty Council 525            120 W Cambria St                                              Philadelphia, PA 19133‐4132                                                                                   First Class Mail
Chartered Organization         Sherborn Fire Rescue Assoc                                    Mayflower Council 251                    22 N Main St                                                  Sherborn, MA 01770‐1516                                                                                       First Class Mail
Chartered Organization         Sherburn American Legion Post 356                             Twin Valley Council Bsa 283              18 N Osborne St                                               Sherburn, MN 56171‐1267                                                                                       First Class Mail
Chartered Organization         Sherburne Fire Dept & Emergency Squad                         Baden‐Powell Council 368                 15 W State St                                                 Sherburne, NY 13460‐9800                                                                                      First Class Mail
Chartered Organization         Sherburne Rotary Club                                         Baden‐Powell Council 368                 P.O. Box 449                                                  Earlville, NY 13332‐0449                                                                                      First Class Mail
Chartered Organization         Sheridan Electric                                             Greater Wyoming Council 638              603 Huntington St                                             Sheridan, WY 82801‐5415                                                                                       First Class Mail
Chartered Organization         Sheridan Hill Elementary School Pto                           Greater Niagara Frontier Council 380     4560 Boncrest Dr E                                            Williamsville, NY 14221‐6304                                                                                  First Class Mail
Chartered Organization         Sheridan Lutheran Church                                      Cornhusker Council 324                   6955 Old Cheney Rd                                            Lincoln, NE 68516‐3565                                                                                        First Class Mail
Voting Party                   Sheridan Park United Church                                   Attn: James Moyle                        3901 Glen Ellen Dr                                            Des Moines, IA 50317                                                  mdmoyle50317@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sheridan Rotary Club                                          Quapaw Area Council 018                  P.O. Box 459                                                  Sheridan, AR 72150‐0459                                                                                       First Class Mail
Chartered Organization         Sheridan Terrace Elementary                                   Westmoreland Fayette 512                 1219 Morris St                                                North Huntingdon, PA 15642‐1460                                                                               First Class Mail
Voting Party                   Sheridan United Methodist Church                              219 S Bushnell St                        Sheridan, IL 60551                                                                                                                  umcsheridan@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sheriff ‐ Bonneville Cty Sheriff Dept                         Grand Teton Council 107                  605 N Capital Ave                                             Idaho Falls, ID 83402‐3582                                                                                    First Class Mail
Voting Party                   Sheriff Of Fayette County                                     P.O. Box 509                             Fayetteville, WV 25840‐0509                                                                                                                                                 First Class Mail
Chartered Organization         Sheriff'S Reserve                                             Shenandoah Area Council 598              102 Industrial Blvd, Ste 100                                  Kearneysville, WV 25430‐2773                                                                                  First Class Mail
Voting Party                   Sherilyn Applewhite                                           c/o Stark & Stark Pc                     Attn: David Schmid                                            993 Lenox Dr, Bldg 2              Lawrenceville, NJ 08648             dschmid@stark‐stark.com                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sherman Ave Utd Methodist Church                              Glaciers Edge Council 620                3705 N Sherman Ave                                            Madison, WI 53704‐2009                                                                                        First Class Mail
Chartered Organization         Sherman Clc                                                   Three Harbors Council 636                5110 W Locust St                                              Milwaukee, WI 53210‐1626                                                                                      First Class Mail
Chartered Organization         Sherman Community Church                                      Allegheny Highlands Council 382          107 Church St                                                 Sherman, NY 14781                                                                                             First Class Mail
Voting Party                   Sherman Oaks United Methodist Church                          Attn: Garth Gilliam                      14401 Dickens St                                              Sherman Oaks, CA 91423                                                garthgilliam@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sherman Steering Committee                                    Chippewa Valley Council 637              3110 Vine St                                                  Eau Claire, WI 54703‐4864                                                                                     First Class Mail
Voting Party                   Sherman United Methodist Church Of Sherman                    Attn: Jon Carrell                        2336 E Andrew Rd                                              Sherman, IL 62684                                                     Shermanumc@casscomm.com                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sherman Utd Methodist Church                                  Abraham Lincoln Council 144              2336 E Andrew Rd                                              Sherman, IL 62684‐9646                                                                                        First Class Mail
Chartered Organization         Sherman Volunteer Fire Dept                                   Connecticut Yankee Council Bsa 072       1 Route 39 N                                                  Sherman, CT 06784                                                                                             First Class Mail
Chartered Organization         Shermans Dale Lions Club                                      New Birth of Freedom 544                 P.O. Box 76                                                   Shermans Dale, PA 17090‐0076                                                                                  First Class Mail
Voting Party                   Shermans Dale Youngs (5613)                                   c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                 Page 335 of 442
                                                                                  Case 20-10343-LSS                                                         Doc 8171                                             Filed 01/06/22                                                   Page 351 of 457
                                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                                     Service List
                                                                                                                                                                                              Served as set forth below

        Description                                                        Name                                                                                                                   Address                                                                                                            Email                 Method of Service
Chartered Organization         Sherrard Fire Dept                                             Illowa Council 133                                      101 E 1st St                                                      Sherrard, IL 61281‐8583                                                                                 First Class Mail
Chartered Organization         Sherrills Ford Lions Club                                      Piedmont Council 420                                    8089 Sherrills Ford Rd                                            Sherrills Ford, NC 28673                                                                                First Class Mail
Chartered Organization         Sherwood Elementary School                                     Central Florida Council 083                             2541 Post Rd                                                      Melbourne, FL 32935‐2315                                                                                First Class Mail
Chartered Organization         Sherwood Elks Lodge 2342                                       Cascade Pacific Council 492                             P.O. Box 71                                                       Sherwood, OR 97140‐0071                                                                                 First Class Mail
Chartered Organization         Sherwood Oaks Christian Church                                 Hoosier Trails Council 145 145                          2700 E Rogers Rd                                                  Bloomington, IN 47401‐8911                                                                              First Class Mail
Chartered Organization         Sherwood Police Dept                                           Quapaw Area Council 018                                 2201 E Kiehl Ave                                                  Sherwood, AR 72120‐3131                                                                                 First Class Mail
Voting Party                   Sheryl L Barber                                                Address Redacted                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shetek Lutheran Ministries                                     Sioux Council 733                                       14 Keeley Island Dr                                               Slayton, MN 56172‐1923                                                                                  First Class Mail
Chartered Organization         Shettler School Ptc                                            President Gerald R Ford 781                             2187 Shettler Rd                                                  Muskegon, MI 49444‐4371                                                                                 First Class Mail
Chartered Organization         Shia Imami Ismaili                                             Circle Ten Council 571                                  1400 Ismaili Center Cir                                           Carrollton, TX 75006‐1321                                                                               First Class Mail
Chartered Organization         Shia Imami Ismaili                                             Longhorn Council 662                                    700 E Harwood Rd                                                  Euless, TX 76039‐8114                                                                                   First Class Mail
Chartered Organization         Shia Imami Ismaili Boy Scout Group                             Pathway To Adventure 456                                1124 W Rosemont Ave                                               Chicago, IL 60660‐2011                                                                                  First Class Mail
Chartered Organization         Shia Imami Ismaili Council ‐ Southwest                         Capitol Area Council 564                                3912 Tranquil Ln                                                  Austin, TX 78728‐1332                                                                                   First Class Mail
Chartered Organization         Shia Imami Ismailia                                            Circle Ten Council 571                                  1400 Ismaili Center Cir                                           Carrollton, TX 75006‐1321                                                                               First Class Mail
Voting Party                   Shidler United Methodist Church                                P.O. Box 366                                            Shidler, OK 74652                                                                                                                     shidlerumc74652@stinternet.net      Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Shidler United Methodist Church                                Attn: Debra Mcconaghy                                   P.O. Box 125                                                      Shidler, OK 74652                                                   gfishingcz5@stinternet.net          Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Shields Lions Club                                             Water and Woods Council 782                             1132 Sue St                                                       Saginaw, MI 48609‐4966                                                                                  First Class Mail
Voting Party                   Shieldsvalley United Methodist Church                          Attn: Nancy Maccracken                                  P.O. Box 205                                                      Clyde Park, MT 59018                                                maccmom_mt@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Shiloah Baptist Church                                         Pathway To Adventure 456                                9211 S Justine St                                                 Chicago, IL 60620‐5038                                                                                  First Class Mail
Voting Party                   Shiloh (Lexington)                                             c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Shiloh Ame Church                                              Greater St Louis Area Council 312                       815 S 19th St                                                     East Saint Louis, IL 62207‐2145                                                                         First Class Mail
Chartered Organization         Shiloh Baptist Church                                          Istrouma Area Council 211                               185 Eddie Robinson Sr Dr                                          Baton Rouge, LA 70802‐4741                                                                              First Class Mail
Chartered Organization         Shiloh Baptist Church                                          Calcasieu Area Council 209                              1253 Mitchell Harper Rd                                           Deridder, LA 70634‐8100                                                                                 First Class Mail
Chartered Organization         Shiloh Baptist Church                                          National Capital Area Council 082                       801 Sophia St                                                     Fredericksburg, VA 22401‐5823                                                                           First Class Mail
Chartered Organization         Shiloh Baptist Church                                          Central N Carolina Council 416                          2301 N Rocky River Rd                                             Monroe, NC 28110‐7966                                                                                   First Class Mail
Chartered Organization         Shiloh Baptist Church                                          Central Florida Council 083                             580 W Jackson St                                                  Orlando, FL 32805‐2723                                                                                  First Class Mail
Chartered Organization         Shiloh Baptist Church                                          Tidewater Council 596                                   952 Nc Hwy 343 S                                                  Shiloh, NC 27974                                                                                        First Class Mail
Chartered Organization         Shiloh Baptist Church                                          National Capital Area Council 082                       1500 9th St Nw                                                    Washington, DC 20001‐3208                                                                               First Class Mail
Chartered Organization         Shiloh Chapel                                                  Pine Tree Council 218                                   38 Beulah Ln                                                      Durham, ME 04222‐5404                                                                                   First Class Mail
Chartered Organization         Shiloh Christian School                                        Northern Lights Council 429                             1915 Shiloh Dr                                                    Bismarck, ND 58503‐0621                                                                                 First Class Mail
Chartered Organization         Shiloh Church Of God Of Prophecy                               Middle Tennessee Council 560                            8997 Old Kentucky Rd                                              Sparta, TN 38583‐7228                                                                                   First Class Mail
Chartered Organization         Shiloh Cumberland Presbyterian Church                          Sequoyah Council 713                                    1121 Shiloh Rd                                                    Greeneville, TN 37745‐0588                                                                              First Class Mail
Chartered Organization         Shiloh Fire Co                                                 New Birth of Freedom 544                                2190 Carlisle Rd                                                  York, PA 17408‐4046                                                                                     First Class Mail
Chartered Organization         Shiloh High School                                             Northeast Georgia Council 101                           4210 Shiloh Rd                                                    Lithonia, GA 30058                                                                                      First Class Mail
Chartered Organization         Shiloh Home Inc                                                Denver Area Council 061                                 6350 W Coal Mine Ave                                              Littleton, CO 80123‐4501                                                                                First Class Mail
Chartered Organization         Shiloh House Inc                                               Denver Area Council 061                                 6588 W Ottawa Ave                                                 Littleton, CO 80128‐4572                                                                                First Class Mail
Chartered Organization         Shiloh Lions Club                                              New Birth of Freedom 544                                2190 Carlisle Rd                                                  York, PA 17408‐4046                                                                                     First Class Mail
Chartered Organization         Shiloh Memorial Baptist Church                                 Caddo Area Council 584                                  9143 Hwy 82                                                       Texarkana, AR 71854‐0832                                                                                First Class Mail
Chartered Organization         Shiloh Memorial Baptist Church                                 Caddo Area Council 584                                  125 Private Rd 1169                                               Texarkana, AR 71854‐1170                                                                                First Class Mail
Chartered Organization         Shiloh Methodist Church                                        Old N State Council 070                                 943 N Nc Hwy 150                                                  Lexington, NC 27295‐7680                                                                                First Class Mail
Chartered Organization         Shiloh Old Site Baptist Church                                 National Capital Area Council 082                       801 Sophia St                                                     Fredericksburg, VA 22401‐5823                                                                           First Class Mail
Chartered Organization         Shiloh Presbyterian Church                                     Old N State Council 070                                 2638 Grand Oaks Blvd                                              Burlington, NC 27215‐8143                                                                               First Class Mail
Chartered Organization         Shiloh Umc                                                     Montana Council 315                                     1810 Shiloh Rd                                                    Billings, MT 59106‐1708                                                                                 First Class Mail
Chartered Organization         Shiloh Umc                                                     Greater St Louis Area Council 312                       210 S Main St                                                     Shiloh, IL 62269‐2935                                                                                   First Class Mail
Voting Party                   Shiloh UMC                                                     Attn: Kenneth Hutchens                                  210 S Main St                                                     Shiloh, IL 62269                                                    kathy@shiloh‐umc.org                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Shiloh United M Church                                         Attn: Michael Goodspeed                                 5741 W 100 N                                                      Kokomo, IN 46901                                                    shiloh_office@comcast.net           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Shiloh United Methodist Church                                 Attn: Robert Thompson                                   1810 Shiloh Rd                                                    Billings, MT 59106                                                  pastortyler@shilohbillings.church   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Shiloh United Methodist Church                                 Attn: James Morse                                       9611 W US 42                                                      Goshen, KY 40026                                                    jim.morse7311@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Shiloh United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Shiloh United Methodist Church                                 4718 N NC 87                                            Gibsonville, NC 27249                                                                                                                 Dharvin@nccumc.org                  Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Shiloh United Methodist Church ‐ Granite Quarry                c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Shiloh United Methodist Church Of Chesterfield                 Attn: Rev Fred Mcdaniel                                 3154 Hwy 102                                                      Chesterfield, SC 29709                                              fsmcdaniel@mindspring.com           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Shiloh Untied Methodist Church                                 Central N Carolina Council 416                          P.O. Box 315                                                      Granite Quarry, NC 28072‐0315                                                                           First Class Mail
Chartered Organization         Shiloh Utd Methodist                                           Yocona Area Council 748                                 1704 Shiloh Rd                                                    Mantachie, MS 38855                                                                                     First Class Mail
Chartered Organization         Shiloh Utd Methodist Church                                    Atlanta Area Council 092                                1874 Burwell Rd                                                   Carrollton, GA 30117‐6006                                                                               First Class Mail
Chartered Organization         Shiloh Utd Methodist Church                                    Dan Beard Council, Bsa 438                              5261 Foley Rd                                                     Cincinnati, OH 45238‐4809                                                                               First Class Mail
Chartered Organization         Shiloh Utd Methodist Church                                    Central N Carolina Council 416                          4149 Odell School Rd                                              Concord, NC 28027‐7473                                                                                  First Class Mail
Chartered Organization         Shiloh Utd Methodist Church                                    Old N State Council 070                                 4718 N Nc Hwy 87                                                  Gibsonville, NC 27249‐9361                                                                              First Class Mail
Chartered Organization         Shiloh Utd Methodist Church                                    Lincoln Heritage Council 205                            9611 W Hwy 42                                                     Goshen, KY 40026‐9421                                                                                   First Class Mail
Chartered Organization         Shiloh Utd Methodist Church                                    Central N Carolina Council 416                          234 S Main St                                                     Granite Quarry, NC 28146                                                                                First Class Mail
Chartered Organization         Shiner Businessmen'S Club                                      Capitol Area Council 564                                771 County Rd 281                                                 Shiner, TX 77984‐6022                                                                                   First Class Mail
Chartered Organization         Shinglehouse Vol Fire Co                                       Allegheny Highlands Council 382                         P.O. Box 475                                                      Shinglehouse, PA 16748‐0475                                                                             First Class Mail
Chartered Organization         Shingletown Parents Of Scouts                                  Golden Empire Council 047                               7752 Ponderosa Way                                                Shingletown, CA 96088‐9652                                                                              First Class Mail
Chartered Organization         Shinnston First Baptist Church                                 Mountaineer Area 615                                    70 Rebecca St                                                     Shinnston, WV 26431‐1454                                                                                First Class Mail
Chartered Organization         Ship 87 Inc                                                    W.L.A.C.C. 051                                          5430 W 141st St                                                   Hawthorne, CA 90250‐6410                                                                                First Class Mail
Chartered Organization         Shippensburg Lions Club                                        New Birth of Freedom 544                                420 Baltimore Rd                                                  Shippensburg, PA 17257‐8263                                                                             First Class Mail
Voting Party                   Shirland United Methodist Church                               8030 N St                                               Shirland, IL 61079                                                                                                                    buboyhb13@hotmail.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Shirley B Carter Vfw Post 4298                                 Katahdin Area Council 216                               Cedar St                                                          Dexter, ME 04930                                                                                        First Class Mail
Voting Party                   Shirley Higbie                                                 Address Redacted                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Shirley‐Fuel & Gas Co Inc                                      Heart of New England Council 230                        P.O. Box 1                                                        Shirley, MA 01464‐0001                                                                                  First Class Mail
Chartered Organization         Shirley‐Rod & Gun Club Inc                                     Heart of New England Council 230                        P.O. Box 327                                                      Shirley, MA 01464‐0327                                                                                  First Class Mail
Voting Party                   Shirleysburg Umc (177091)                                      c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Shirley‐United Church Of Shirley                               Heart of New England Council 230                        Lancaster Rd                                                      Shirley, MA 01464                                                                                       First Class Mail
Chartered Organization         Shoal Creek Assoc                                              Heart of America Council 307                            7000 NE Barry Rd                                                  Kansas City, MO 64156‐1278                                                                              First Class Mail
Chartered Organization         Shoal Creek Baptist Church                                     Atlanta Area Council 092                                4967 Fincher Rd                                                   Canton, GA 30114‐5404                                                                                   First Class Mail
Chartered Organization         Shoal Creek Community Church                                   Heart of America Council 307                            6816 N Church Rd                                                  Pleasant Valley, MO 64068‐7800                                                                          First Class Mail
Chartered Organization         Shongum Mt Volunteer Fire Assoc                                Patriots Path Council 358                               1 Arrow Pl                                                        Randolph, NJ 07869                                                                                      First Class Mail
Chartered Organization         Shoot Right                                                    Grand Canyon Council 010                                2303 N 44th St, Ste 14‐1514                                       Phoenix, AZ 85008‐2462                                                                                  First Class Mail
Chartered Organization         Shore Hills Citizens Committee                                 Patriots Path Council 358                               64 Vail Rd                                                        Landing, NJ 07850‐1666                                                                                  First Class Mail
Chartered Organization         Shore Memorial Health System                                   Jersey Shore Council 341                                100 Medical Center Way                                            Somers Point, NJ 08244‐2300                                                                             First Class Mail
Chartered Organization         Shorecrest Preparatory School                                  Greater Tampa Bay Area 089                              5101 1st St Ne                                                    Saint Petersburg, FL 33703‐3009                                                                         First Class Mail
Chartered Organization         Shoreham Fire Co                                               Suffolk County Council Inc 404                          5 Tesla St Stop 25A                                               Shoreham, NY 11786‐1832                                                                                 First Class Mail
Chartered Organization         Shorewood Senior Campus                                        Gamehaven 299                                           2115 2nd St Sw                                                    Rochester, MN 55902‐2442                                                                                First Class Mail
Voting Party                   Short Tract United Methodist Church                            Attn: Rev Marion Luce                                   4583 Lima Rd                                                      Geneseo, NY 14454                                                   umcpastor1@verizon.net              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Shorter College                                                Quapaw Area Council 018                                 604 N Locust St                                                   North Little Rock, AR 72114‐4858                                                                        First Class Mail
Chartered Organization         Shortlidge Elementary                                          Del Mar Va 081                                          100 W 18th St                                                     Wilmington, DE 19802‐4836                                                                               First Class Mail
Chartered Organization         Shoshone Paiute Tribes Fire Dept                               Ore‐Ida Council 106 ‐ Bsa 106                           P.O. Box 220                                                      Owyhee, NV 89832‐0220                                                                                   First Class Mail
Chartered Organization         Shoshone Ward ‐ Carey Stake                                    Snake River Council 111                                 904 S Greenwood St                                                Shoshone, ID 83352‐5336                                                                                 First Class Mail
Chartered Organization         Shot By Somi Studios                                           Coastal Georgia Council 099                             14045 Abercorn St, Ste 1610                                       Savannah, GA 31419‐1979                                                                                 First Class Mail
Firm                           Showard Law Firm, P.C.                                         Sarah J. Showard                                        4703 E. Camp Lowell Dr., Ste. 253                                 Tucson, AZ 85712                                                    sjshoward@showardlaw.com            Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Shreemay Community Services                                    Silicon Valley Monterey Bay 055                         25 Corning Ave                                                    Milpitas, CA 95035‐5336                                                                                 First Class Mail
Voting Party                   Shreve United Methodist Church                                 Attn: Pastor Michael Grant                              430 N Main St                                                     Shreve, OH 44676                                                    shreveum430@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Shrevewood Pta                                                 National Capital Area Council 082                       7525 Shreve Rd                                                    Falls Church, VA 22043‐3204                                                                             First Class Mail
Chartered Organization         Shrewsbury                                                     American Legion Ray Stone Post 238                      2 School St                                                       Shrewsbury, MA 01545‐5008                                                                               First Class Mail
Chartered Organization         Shrewsbury                                                     St Marys Roman Catholic Church                          18 Summer St                                                      Shrewsbury, MA 01545‐5613                                                                               First Class Mail
Chartered Organization         Shrewsbury ‐ First Congregational Church                       Heart of New England Council 230                        19 Church Rd                                                      Shrewsbury, MA 01545‐1836                                                                               First Class Mail
Chartered Organization         Shrewsbury ‐ Ray Stone Post 238 Al                             Heart of New England Council 230                        2 School St                                                       Shrewsbury, MA 01545‐5008                                                                               First Class Mail
Chartered Organization         Shrewsbury ‐ St Anne Roman Catholic                            Heart of New England Council 230                        130 Boston Tpke                                                   Shrewsbury, MA 01545‐3601                                                                               First Class Mail
Voting Party                   Shrewsbury Parish Church (Kennedyville)                        c/o the Episcopal Diocese of Easton                     Attn: Patrick Collins                                             314 North St                       Easton, MD 21601                 Patrick@DioceseofEaston.org         Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Shrewsbury Parish Church (Kennedyville)                        c/o The Law Office of Andrea Ross                       Attn: Andrea Ross, Esq                                            129 N West St, Ste 1               Easton, MD 21601                 Andie@AndieRossLaw.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Shrine Church Of St Gerard Majella                             Greater New York Councils, Bsa 640                      18816 91st Ave                                                    Hollis, NY 11423‐2520                                                                                   First Class Mail
Chartered Organization         Shrine Of St Anne'S Mens Club                                  Denver Area Council 061                                 7555 Grant Pl                                                     Arvada, CO 80002‐2517                                                                                   First Class Mail
Chartered Organization         Shrine Of The Little Flower Parish                             Great Lakes Fsc 272                                     2100 W 12 Mile Rd                                                 Royal Oak, MI 48073‐3910                                                                                First Class Mail
Voting Party                   Shrine Of The Little Flower Roman Catholic Congregation, Inc   Attn: Matthew W Oakey                                   218 N Charles St, Ste 400                                         Baltimore, MD 21201                                                 moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Shrine Of The Little Flower Roman Catholic Congregation, Inc   c/o Gallagher Evelius & Jones LLP                       Attn: Matthew W Oakey                                             218 N Charles St, Ste 400          Baltimore, MD 21201              moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Shrine Of The Most Blessed Sacrament                           National Capital Area Council 082                       3630 Quesada St NW                                                Washington, DC 20015‐2538                                                                               First Class Mail
Voting Party                   Shueyville United Methodist Church                             Attn: Brody Tubaugh                                     1195 Steeple Ln NE                                                Swisher, IA 52338                                                   brody.tubaugh@iaumc.net             Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Shuler Elementary Pto                                          Mid Iowa Council 177                                    16400 Douglas Pkwy                                                Clive, IA 50325‐2599                                                                                    First Class Mail
Voting Party                   Shuler Thomas Sitsch                                           11827 Lakewood Trl                                      Tomball, TX 77377                                                                                                                                                         First Class Mail
Chartered Organization         Shullsburg Fire Dept                                           Blackhawk Area 660                                      330 W Water St                                                    Shullsburg, WI 53586‐9794                                                                               First Class Mail
Chartered Organization         Shuman Elementary School                                       Coastal Georgia Council 099                             415 Goebel Ave                                                    Savannah, GA 31404‐1751                                                                                 First Class Mail
Voting Party                   Shunk United Methodist Church (183217)                         c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   Shunk United Methodist Church (183217)                         c/o Bentz Law Firm                                      Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Sibley Loop                                                    President Gerald R Ford 781                             943 Sibley St NW                                                  Grand Rapids, MI 49504‐5646                                                                             First Class Mail
Voting Party                   Sibyl Collver                                                  Address Redacted                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Sick Sounds                                                    Southern Shores Fsc 783                                 2445 Curtis Rd                                                    Adrian, MI 49221‐1718                                                                                   First Class Mail
Voting Party                   Sicklerville Methodist Church                                  c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Sicklerville Utd Methodist Church                              Garden State Council 690                                406 Church Rd                                                     Sicklerville, NJ 08081‐1727                                                                             First Class Mail
Chartered Organization         Sid Dillon Chevrolet                                           Mid‐America Council 326                                 South Hwy 30                                                      Blair, NE 68008                                                                                         First Class Mail
Chartered Organization         Side Creek Student Council                                     Denver Area Council 061                                 19191 E Iliff Ave                                                 Aurora, CO 80013‐6201                                                                                   First Class Mail
Chartered Organization         Sidney Baptist Church                                          Texas Trails Council 561                                151 County Rd 165                                                 Sidney, TX 76474                                                                                        First Class Mail
Chartered Organization         Sidney Health Center                                           Montana Council 315                                     216 14th Ave SW                                                   Sidney, MT 59270‐3519                                                                                   First Class Mail
Chartered Organization         Sidney Home Co                                                 Miami Valley Council, Bsa 444                           1300 4th Ave                                                      Sidney, OH 45365‐9093                                                                                   First Class Mail
Chartered Organization         Sidney Lee Welding Supply Inc                                  Flint River Council 095                                 P.O. Box 429                                                      Hampton, GA 30228‐0429                                                                                  First Class Mail
Voting Party                   Sidney Salazar                                                 Address Redacted                                                                                                                                                                                                                  First Class Mail
Voting Party                   Sidney United Methodist Church                                 Attn: Roy Nabinger                                      12 Liberty St                                                     Sidney, NY 13838                                                    winkel70@hotmail.com                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Siefert Boys & Girls Club                                      Three Harbors Council 636                               1547 N 14th St                                                    Milwaukee, WI 53205‐2109                                                                                First Class Mail
Chartered Organization         Siefert Clc                                                    Three Harbors Council 636                               1547 N 14th St                                                    Milwaukee, WI 53205‐2109                                                                                First Class Mail
Firm                           Siegle & Sims LLP                                              Eric W. Siegle                                          217 Broadway, Ste 611                                             New York, NY 10007                                                  e.siegle@siegleandsims.com          Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Sienna Plantation Foundation                                   Sam Houston Area Council 576                            9600 Scanlan Trce                                                 Missouri City, TX 77459‐6543                                                                            First Class Mail
Voting Party                   Sierra Communications, Inc                                     P.O. Box 67                                             Des Moines, NM 88418‐0067                                                                                                                                                 First Class Mail
Chartered Organization         Sierra Elementary Pto                                          Grand Canyon Council 010                                1122 E Liberty Ln                                                 Phoenix, AZ 85048‐8426                                                                                  First Class Mail
Chartered Organization         Sierra Grace Fellowship                                        Golden Empire Council 047                               1260 Wesley Ln                                                    Auburn, CA 95603‐2960                                                                                   First Class Mail
Voting Party                   Sierra Madre United Methodist Church                           Attn: Treasurer, Sierra Madre United Methodist Church   695 W Sierra Madre Blvd                                           Sierra Madre, CA 91024                                                                                  First Class Mail
Chartered Organization         Sierra Osage Treatment Center                                  Greater St Louis Area Council 312                       9200 Sierra Osage Cir                                             Poplar Bluff, MO 63901‐9700                                                                             First Class Mail
Voting Party                   Sierra Pines United Methodist Church                           Attn: Gregory Bruce Lovejoy                             22559 W Hacienda                                                  Grass Valley, CA 95949                                              decalvert@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Sierra Pines Utd Methodist Church                              Golden Empire Council 047                               22559 W Hacienda Dr                                               Grass Valley, CA 95949‐8372                                                                             First Class Mail
Chartered Organization         Sierra Vista Presbyterian Church                               Sequoia Council 027                                     P.O. Box 2403                                                     Oakhurst, CA 93644‐2403                                                                                 First Class Mail
Chartered Organization         Sierra Vista Presbyterian Church                               Grand Canyon Council 010                                150 W 28th St                                                     Yuma, AZ 85364‐7317                                                                                     First Class Mail
Chartered Organization         Sierra Vista Pta                                               Great Swest Council 412                                 10220 Paseo Del Norte NW                                          Albuquerque, NM 87114‐4730                                                                              First Class Mail
Voting Party                   Sierra Vista United Methodist Church                           Attn: Michael Meyer                                     4522 College Hills Blvd                                           San Angelo, TX 76904                                                                                    First Class Mail
Chartered Organization         Sierra Vista Utd Methodist Church                              Catalina Council 011                                    3225 Saint Andrews Dr                                             Sierra Vista, AZ 85650‐6654                                                                             First Class Mail
Chartered Organization         Siersma Elementary                                             Great Lakes Fsc 272                                     3100 Donna Ave                                                    Warren, MI 48091‐3942                                                                                   First Class Mail
Chartered Organization         Sigel Elementary Pto                                           Greater St Louis Area Council 312                       2050 Allen Ave                                                    Saint Louis, MO 63104‐2629                                                                              First Class Mail
Chartered Organization         Sigma Phi Gamma                                                Anthony Wayne Area 157                                  P.O. Box 204                                                      Warren, IN 46792‐0204                                                                                   First Class Mail
Chartered Organization         Sigma Phi Gamma                                                Anthony Wayne Area 157                                  4228 S 300 E                                                      Warren, IN 46792‐9492                                                                                   First Class Mail
Chartered Organization         Sigma Theta Tau                                                Southern Sierra Council 030                             9001 Stockdale Hwy                                                Bakersfield, CA 93311‐1022                                                                              First Class Mail
Chartered Organization         Signal Crest Utd Methodist Church                              Cherokee Area Council 556                               1005 Ridgeway Ave                                                 Signal Mountain, TN 37377‐3114                                                                          First Class Mail
Chartered Organization         Signal Hill Police Dept                                        Long Beach Area Council 032                             2745 Walnut Ave                                                   Signal Hill, CA 90755‐1831                                                                              First Class Mail
Chartered Organization         Signal Hill Utd Methodist Church                               Greater St Louis Area Council 312                       47 Signal Hill Pl                                                 Belleville, IL 62223‐1643                                                                               First Class Mail
Chartered Organization         Signal Mountain Presbyterian                                   Cherokee Area Council 556                               612 James Blvd                                                    Signal Mountain, TN 37377‐2222                                                                          First Class Mail
Firm                           Sikich Law Firm                                                Steve M. Sikich                                         P.O. Box 1432                                                     Lake Charles, LA 70602                                              ssikich@sikichlaw.com               Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Firm                           Silbowitz Garafola Silbowitz Schatz & Frederick                Howard Schatz                                           25 West 43rd Street, Ste 711                                      New York, NY 10036                                                  hschatz@nylawyer.net                Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Siler Presbyterian Church                                      Central N Carolina Council 416                          6301 Weddington Monroe Rd                                         Matthews, NC 28104                                                                                      First Class Mail
Chartered Organization         Siler Presbyterian Church                                      Central N Carolina Council 416                          6301 Weddington Rd                                                Matthews, NC 28104‐7906                                                                                 First Class Mail
Voting Party                   Silicon Valley Monterey Bay Cncl 55                            Attn: Jason Stein                                       970 W Julian St                                                   San Jose, CA 95126‐2719                                             julie@bindermalter.com              Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Silicon Valley Monterey Bay Council                            Silicon Valley Monterey Bay 055                         970 W Julian St                                                   San Jose, CA 95126‐2719                                                                                 First Class Mail
Voting Party                   Silk Hope Ruritan Club                                         4221 Silk Hope Rd                                       Siler City, NC 27344                                                                                                                  silkhoperuritan@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         Siloa Lutheran Church                                          Bay‐Lakes Council 635                                   218 E River St                                                    Ontonagon, MI 49953‐1327                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                     Page 336 of 442
                                                                                    Case 20-10343-LSS                                       Doc 8171                                        Filed 01/06/22                                                     Page 352 of 457
                                                                                                                                                                               Exhibit B
                                                                                                                                                                                Service List
                                                                                                                                                                         Served as set forth below

        Description                                                          Name                                                                                            Address                                                                                                           Email                 Method of Service
Voting Party                   Siloam Hope First Presbyterian Church                          Attn: Wanda Sizemore‐Mcrae              14‐42 Broad St                                               Elizabeth, NJ 07201                                                   shfpchurch64@gmail.com           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Siloam Hope First Presbyterian Church                          Attn: Wanda V Sizemore‐Mcrae            14‐42 Broad St                                               Elizabeth, NJ 07201                                                   shfpchurch64@gmail.com           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Siloam Hope First Presbyterian Church                          Attn: Ellen O'Connell Esq               600 Parsippany Rd, Ste 204                                   Parsippany, NJ 07054                                                  eoconnell@iwwt.law               Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Siloam Post 29 American Legion                                 Westark Area Council 016                P.O. Box 35                                                  Siloam Springs, AR 72761‐0035                                                                          First Class Mail
Voting Party                   Siloam Springs First United Methodist Church                   Attn: Lynn Blankenship                  325 E Twin Springs St                                        Siloam Springs, AR 72761                                              admin@fumcss.com                 Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Siloam United Methodist Church                                 Attn: Francis Edward Traxler Jr         3820 Hwy 3                                                   Barnwell, SC 29812                                                    fetraxlerjr@umcsc.org            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Siloam United Methodist Church                                 Attn: Rev Francis Edward Traxler Jr     653 Washington St                                            Barnwell, SC 29812                                                    fetraxlerjr@umcsc.org            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Siloam United Methodist Church (178211)                        c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Siloam Utd Methodist Church                                    Cradle of Liberty Council 525           3720 Foulk Rd                                                Garnet Valley, PA 19060‐1802                                                                           First Class Mail
Voting Party                   Siloam‐Hope First Presbyterian Church                          Attn: Ellen O'Connell Esq               600 Parsippany Rd, Ste 204                                   Parsippany, NJ 07054                                                  eoconnell@iwwt.law               Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Firm                           Silver and Kelmachter LLP                                      Leslie D. Kelmachter, Esq               11 Park Place, Ste 1503                                      New York, NY 10007                                                    snath@silverkelmachter.com       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Silver Bay Parent‐Teacher Org                                  Jersey Shore Council 341                100 Silver Bay Rd                                            Toms River, NJ 08753‐2539                                                                              First Class Mail
Chartered Organization         Silver Creek Presbyterian Church                               Northwest Georgia Council 100           6 Old Rockmart Rd SE                                         Silver Creek, GA 30173‐2051                                                                            First Class Mail
Voting Party                   Silver Creek United Methodist Church                           Attn: Patty Clupper Bartley             31994 Middle Crossing Rd                                     Dowagiac, MI 49047                                                    silvercreekumc@gmail.com         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Silver Creek United Methodist Church ‐ Azle                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Silver Creek United Methodist Church ‐ Azle                    2200 Church Rd                          Azle, TX 76020                                                                                                                                                      First Class Mail
Chartered Organization         Silver Creek Volnteer Fire Dept                                Allegheny Highlands Council 382         172 Central Ave                                              Silver Creek, NY 14136‐1338                                                                            First Class Mail
Firm                           Silver Golub & Teitell LLP                                     Paul A. Slager, Esq.                    184 Atlantic St                                              Stamford, CT 06901                                                    jgoldstein@sgtlaw.com            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Silver Lake Rod And Gun Club                                   Baden‐Powell Council 368                8017 Laurel Lake Rd                                          Brackney, PA 18812                                                                                     First Class Mail
Voting Party                   Silver Lake United Methodist Church 204 Madore St, Silver LA   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Silver Lake Utd Methodist Church                               Jayhawk Area Council 197                P.O. Box 188                                                 Silver Lake, KS 66539‐0188                                                                             First Class Mail
Voting Party                   Silver Nugget Inc                                              416 Juan Tabo Blvd NE                   Albuquerque, NM 87123‐3046                                                                                                                                          First Class Mail
Voting Party                   Silver Palm United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Silver Palm Utd Methodist Church                               South Florida Council 084               15855 SW 248th St                                            Homestead, FL 33031‐2001                                                                               First Class Mail
Chartered Organization         Silver Spring Community Fire Co                                New Birth of Freedom 544                6471 Carlisle Pike                                           Mechanicsburg, PA 17050‐2385                                                                           First Class Mail
Voting Party                   Silver Spring Methodist Church                                 Attn: Andrew Kirkland                   8900 Georgia Ave                                             Silver Spring, MD 20910                                               akirkland@silverspringumcp.org   Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Silver Springs P T A                                           Great Lakes Fsc 272                     19801 Silver Spring Dr                                       Northville, MI 48167‐2670                                                                              First Class Mail
Chartered Organization         Silver Springs Shores Presbyterian                             North Florida Council 087               674 Silver Rd                                                Ocala, FL 34472‐2365                                                                                   First Class Mail
Voting Party                   Silver Springs United Methodist Church                         Attn: Pastor Cori Louden                39 N Maple St                                                Warsaw, NY 14569                                                                                       First Class Mail
Voting Party                   Silver Springs United Methodist Church                         P.O. Box 308                            Silver Springs, NY 14550                                                                                                                                            First Class Mail
Chartered Organization         Silver Street Utd Methodist Church                             Lincoln Heritage Council 205            413 Silver St                                                New Albany, IN 47150‐1568                                                                              First Class Mail
Chartered Organization         Silverado District Committee                                   Las Vegas Area Council 328              7220 Paradise Rd                                             Las Vegas, NV 89119‐4403                                                                               First Class Mail
Chartered Organization         Silverbell Ward ‐ Lds Marana Stake                             Catalina Council 011                    13450 N Lon Adams Rd                                         Marana, AZ 85653                                                                                       First Class Mail
Chartered Organization         Silvercup Studios                                              Greater New York Councils, Bsa 640      4225 22nd St                                                 Long Island City, NY 11101                                                                             First Class Mail
Voting Party                   Silverdale Lutheran Church                                     Attn: David C Soine                     11701 Ridgepoint Dr NW                                       Silverdale, WA 98383                                                  slc@silverdalelutheran.org       Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Silverdale United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Silverhill Covenant Church                                     Mobile Area Council‐Bsa 004             P.O. Box 125                                                 Silverhill, AL 36576‐0125                                                                              First Class Mail
Chartered Organization         Silvertalon Consulting                                         Utah National Parks 591                 348 S 1575 W                                                 Lehi, UT 84043‐3602                                                                                    First Class Mail
Chartered Organization         Silverton Fire District                                        Cascade Pacific Council 492             819 Railway Ave Ne                                           Silverton, OR 97381‐1539                                                                               First Class Mail
Voting Party                   Silverton First Christian Church                               Attn: Clinton Sanford, Church Office    402 N 1st St                                                 Silverton, OR 97381                                                   ccsanford47@gmail.com            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Silverton Grange 506                                           Buckskin 617                            3054 Greenhills Rd                                           Ravenswood, WV 26164‐3860                                                                              First Class Mail
Chartered Organization         Silverton Lions Club                                           Cascade Pacific Council 492             216 Phelps St                                                Silverton, OR 97381‐1927                                                                               First Class Mail
Chartered Organization         Silverton Paideia Pto                                          Dan Beard Council, Bsa 438              7451 Montgomery Rd                                           Cincinnati, OH 45236‐4160                                                                              First Class Mail
Chartered Organization         Silverton Volunteer Fire Co                                    Jersey Shore Council 341                15 Kettle Creek Rd                                           Toms River, NJ 08753‐1735                                                                              First Class Mail
Firm                           Sim & Depaola, LLP                                             Sameer Nath, Esq                        42‐40 Bell Blvd, Ste 201                                     Bayside, NY 11361                                                     Snath@simdepaola.com             Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Simeon L Nickerson                                             Post 64 America Legion                  8 Thatcher Row                                               Middleboro, MA 02346‐2244                                                                              First Class Mail
Chartered Organization         Simi Evangelical Covenant Church                               Ventura County Council 057              4680 Alamo St                                                Simi Valley, CA 93063‐1836                                                                             First Class Mail
Chartered Organization         Simi Valley Elks Lodge                                         Ventura County Council 057              1561 Kuehner Dr                                              Simi Valley, CA 93063‐4484                                                                             First Class Mail
Chartered Organization         Simi Valley Police Dept                                        Ventura County Council 057              3901 Alamo St                                                Simi Valley, CA 93063‐2102                                                                             First Class Mail
Chartered Organization         Simley Oec Igh Community School                                Northern Star Council 250               2920 80th St E                                               Inver Grove Heights, MN 55076‐3232                                                                     First Class Mail
Firm                           Simmons Hanly Conroy                                           Brendan A Smith                         One Court Street                                             Alton, IL 62002                                                       jwells@simmonsfirm.com           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Simon Kenton Council                                           Simon Kenton Council 441                991 E Main St                                                Chillicothe, OH 45601‐2845                                                                             First Class Mail
Voting Party                   Simon Kenton Council                                           807 Kinnear Rd                          Columbus, OH 43212                                                                                                                 Jeff.Moe@scouting.org            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Simon Kenton Council                                           Attn: Daniel R. Swetnam, Esq.           250 W St, Ste 700                                            Columbus, OH 43215                                                    Daniel.Swetnam@icemiller.com     Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Simonton Lake Sportsmen Club                                   Lasalle Council 165                     25940 N Shore Dr                                             Elkhart, IN 46514‐6338                                                                                 First Class Mail
Chartered Organization         Simpson Creek Baptist Church                                   Mountaineer Area 615                    231 W Philadelphia Ave                                       Bridgeport, WV 26330‐1457                                                                              First Class Mail
Chartered Organization         Simpson Elementary Parent'S Club                               Greater St Louis Area Council 312       3585 Vogel Rd                                                Arnold, MO 63010‐3793                                                                                  First Class Mail
Chartered Organization         Simpson Elementary School Parents Club                         Greater St Louis Area Council 312       3585 Vogel Rd                                                Arnold, MO 63010‐3793                                                                                  First Class Mail
Voting Party                   Simpson Memorial                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Simpson Memorial Utd Methodist Church                          Cherokee Area Council 556               601 Mcfarland Ave                                            Rossville, GA 30741‐1902                                                                               First Class Mail
Voting Party                   Simpson United Methodist                                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  ERICE@BRADLEY.COM                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Simpson United Methodist                                       117 E Biddle St                         Gordon, PA 17936                                                                                                                                                    First Class Mail
Voting Party                   Simpson United Methodist Church                                Attn: Treasurer                         2201 W Illinois St                                           Evansville, IN 47712                                                  pastor@simpsonchurch.net         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Simpson United Methodist Church                                Attn: John Muller                       30 Locust Ave                                                Amityville, NY 11701                                                  john.zpro@outlook.vom            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Simpson United Methodist Church                                Attn: John D Muller Jr                  20 Carman Blvd                                               Massapequa, NY 11758                                                  john.zpro@outlook.com            Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Simpson United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradely.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Simpson United Methodist Church ‐ Amboy                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Simpson United Methodist Church ‐ Wilmington                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Simpson Untied Methodist Church                                Attn: Rev Annette Carper                800 7th St                                                   Moundsville, WV 26041                                                 pastannette1@comcast.net         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Simpson Utd Methodist Church                                   Buckeye Council 436                     4900 Middlebranch Ave Ne                                     Canton, OH 44705‐3253                                                                                  First Class Mail
Chartered Organization         Simpson Utd Methodist Church                                   Mid Iowa Council 177                    2600 Capitol Ave                                             Des Moines, IA 50317‐2315                                                                              First Class Mail
Chartered Organization         Simpson Utd Methodist Church                                   Monmouth Council, Bsa 347               2095 Hwy 516                                                 Old Bridge, NJ 08857‐1670                                                                              First Class Mail
Chartered Organization         Simpson Utd Methodist Church                                   Inland Nwest Council 611                325 NE Maple St                                              Pullman, WA 99163‐4119                                                                                 First Class Mail
Voting Party                   Simpson‐Hamline United Methodist Church                        4501 16th St Nw                         Washington, DC 20011                                                                                                               shumcdc@yahoo.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Simpsonville Christian Church                                  Lincoln Heritage Council 205            7002 Shelbyville Rd                                          Simpsonville, KY 40067                                                                                 First Class Mail
Chartered Organization         Simpsonville Umc Mens Club                                     Blue Ridge Council 551                  P.O. Box 1357                                                Simpsonville, SC 29681‐1357                                                                            First Class Mail
Voting Party                   Simpsonville United Methodist Church                           Attn: Mike Smith                        215 SE Main St                                               Simpsonville, SC 29681                                                pastormikeosl@gmail.com          Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Simpsonwood Umc                                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Simpsonwood United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Simpsonwood United Methodist Church                            4500 Jones Bridge Cir                   Peachtree Corners, GA 30092                                                                                                                                         First Class Mail
Chartered Organization         Simpsonwood Utd Methodist Church                               Atlanta Area Council 092                4500 Jones Bridge Cir                                        Peachtree Corners, GA 30092‐1405                                                                       First Class Mail
Voting Party                   Simsbury United Methodist Church                               Attn: Jennifer Acheson                  799 Hopmeadow St                                             Simsbury, CT 06070                                                    council@sumct.org                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Singer's Gap Umc (177034)                                      c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Singing Oaks Church Of Christ                                  Longhorn Council 662                    101 Cardinal Dr                                              Denton, TX 76209‐6409                                                                                  First Class Mail
Chartered Organization         Singley Academy                                                Circle Ten Council 571                  4601 N Macarthur Blvd                                        Irving, TX 75038‐6406                                                                                  First Class Mail
Chartered Organization         Singley Academy Criminal Justice                               Circle Ten Council 571                  4601 N Macarthur Blvd                                        Irving, TX 75038‐6406                                                                                  First Class Mail
Chartered Organization         Singley Academy Fire                                           Circle Ten Council 571                  4601 N Macarthur Blvd                                        Irving, TX 75038‐6406                                                                                  First Class Mail
Chartered Organization         Sinton Rotary Club                                             South Texas Council 577                 P.O. Box 1395                                                Sinton, TX 78387‐1395                                                                                  First Class Mail
Chartered Organization         Sioux City Elks Lodge 112                                      Mid‐America Council 326                 1001 Tri View Ave                                            Sioux City, IA 51103‐4901                                                                              First Class Mail
Chartered Organization         Sioux Falls Police Dept                                        Sioux Council 733                       320 W 4th St                                                 Sioux Falls, SD 57104‐2413                                                                             First Class Mail
Chartered Organization         Sioux Falls Soccer Academy                                     Sioux Council 733                       1401 N Woodridge Ave                                         Sioux Falls, SD 57107‐0945                                                                             First Class Mail
Chartered Organization         Siren Lions Club                                               Northern Star Council 250               P.O. Box 464                                                 Siren, WI 54872‐0464                                                                                   First Class Mail
Chartered Organization         Sista Luv‐Srec 1                                               Three Harbors Council 636               4061 N 54th St                                               Milwaukee, WI 53216‐1300                                                                               First Class Mail
Chartered Organization         Sista Luv‐Srec 2                                               Three Harbors Council 636               P.O. Box 80443                                               Milwaukee, WI 53208‐8007                                                                               First Class Mail
Chartered Organization         Sistema Educativo                                              Puerto Rico Council 661                 P.O. Box 1970179                                             San Juan, PR 00936                                                                                     First Class Mail
Chartered Organization         Sisters Kiwanis Club                                           Crater Lake Council 491                 P.O. Box 1296                                                Sisters, OR 97759‐1296                                                                                 First Class Mail
Chartered Organization         Site Council Of Dobbs Caring Communities                       Heart of America Council 307            9400 Eern Ave                                                Kansas City, MO 64138                                                                                  First Class Mail
Chartered Organization         Sitka Rotary Club                                              Great Alaska Council 610                P.O. Box 1967                                                Sitka, AK 99835‐1967                                                                                   First Class Mail
Chartered Organization         Siue East Saint Louis Charter School                           Greater St Louis Area Council 312       601 James R Thompson Blvd                                    East Saint Louis, IL 62201‐1118                                                                        First Class Mail
Chartered Organization         Siue Upward Bound                                              Greater St Louis Area Council 312       601 James R Thompson Blvd                                    East Saint Louis, IL 62201‐1118                                                                        First Class Mail
Chartered Organization         Siwanoy School Parent Teacher Assoc                            Westchester Putnam 388                  489 Siwanoy Pl                                               Pelham, NY 10803‐2420                                                                                  First Class Mail
Voting Party                   Six Continents Hotels, Inc                                     Sara Anne M Maguire                     3 Ravinia Dr, Ste 100                                        Atlanta, GA 30346                                                     SaraAnne.Maguire@ihg.com         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Six Star Post                                                  Iroquois Trail Council 376              Main St                                                      Strykersville, NY 14145                                                                                First Class Mail
Chartered Organization         Sixes Elementary Pta                                           Atlanta Area Council 092                20 Ridge Rd                                                  Canton, GA 30114‐6843                                                                                  First Class Mail
Voting Party                   Sixes Umc                                                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Sixes United Methodist Church 8385 Bells Ferry Rd Canton, GA   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Sixes Utd Methodist Church                                     Atlanta Area Council 092                8385 Bells Ferry Rd                                          Canton, GA 30114‐9711                                                                                  First Class Mail
Chartered Organization         Sixth Avenue Baptist Church                                    Greater Alabama Council 001             1101 Martin Luther King Jr Dr                                Birmingham, AL 35211‐2841                                                                              First Class Mail
Chartered Organization         Sk3 Construction LLC                                           Utah National Parks 591                 367 W 500 N                                                  Orem, UT 84057‐3822                                                                                    First Class Mail
Firm                           Skabelund Wirig & Loos Attorneys at Law                        Skabelund                               1149 Center St                                               Orem, UT 84057                                                                                         First Class Mail
Chartered Organization         Skagit Shooting Range                                          Mount Baker Council, Bsa 606            1340 Bouslog Rd 102                                          Burlington, WA 98233‐3402                                                                              First Class Mail
Chartered Organization         Skamania Co Law Enf Assc Explorers                             Cascade Pacific Council 492             P.O. Box 790                                                 Stevenson, WA 98648‐0790                                                                               First Class Mail
Chartered Organization         Skaneateles Rotary Club                                        Longhouse Council 373                   P.O. Box 871                                                 Skaneateles, NY 13152‐0871                                                                             First Class Mail
Chartered Organization         Skelly Elementary Pta                                          Indian Nations Council 488              2940 S 90th E Ave                                            Tulsa, OK 74129‐6600                                                                                   First Class Mail
Chartered Organization         Ski Team Parents Corvallis H S Ski Team                        Oregon Trail Council 697                1400 NW Buchanan Ave                                         Corvallis, OR 97330‐5838                                                                               First Class Mail
Chartered Organization         Skiatook Church Of Christ                                      Indian Nations Council 488              1900 W Rogers Blvd                                           Skiatook, OK 74070‐3984                                                                                First Class Mail
Chartered Organization         Skiatook Community Of Christ Church                            Indian Nations Council 488              401 S A St                                                   Skiatook, OK 74070‐2025                                                                                First Class Mail
Chartered Organization         Skidaway Island Presbyterian Church                            Coastal Georgia Council 099             50 Diamond Cswy                                              Savannah, GA 31411‐1102                                                                                First Class Mail
Voting Party                   Skidmore United Methodist Church                               Attn: Edwin Wallek                      2535 Mari Gail Rd                                            Beeville, TX 78102                                                    edwinjr@wallek.com               Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Skip A Long Rock Island Campus                                 Illowa Council 133                      1609 4th St                                                  Rock Island, IL 61201‐3206                                                                             First Class Mail
Voting Party                   Skipwith Umc                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Skokie Police Dept                                             Pathway To Adventure 456                7300 Niles Center Rd                                         Skokie, IL 60077‐3228                                                                                  First Class Mail
Chartered Organization         Skokie Valley Rotary Club                                      Northeast Illinois 129                  P.O. Box 424                                                 Skokie, IL 60076‐0424                                                                                  First Class Mail
Voting Party                   Sku Global Inc                                                 Dba Glade Graphics                      Attn: Mark Kennedy                                           2108 Palomar Trl                     Southlake, TX 76092              mark@gladegraphics.net           Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Sky Family Ymca                                                Southwest Florida Council 088           701 Medical Blvd                                             Englewood, FL 34223‐4098                                                                               First Class Mail
Chartered Organization         Skylake Ward, Denver North Stake                               Denver Area Council 061                 100 Malley Dr                                                Northglenn, CO 80233‐2011                                                                              First Class Mail
Voting Party                   Skyland United Methodist Church ‐ Asheville                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Skyland Utd Methodist Church                                   Daniel Boone Council 414                1984 Hendersonville Rd                                       Asheville, NC 28803‐2105                                                                               First Class Mail
Chartered Organization         Skyline Middle School                                          Stonewall Jackson Council 763           470 Linda Ln                                                 Harrisonburg, VA 22802‐8804                                                                            First Class Mail
Chartered Organization         Skyward                                                        Samoset Council, Bsa 627                2601 Skyward Dr                                              Stevens Point, WI 54482‐7700                                                                           First Class Mail
Voting Party                   Sl Acquisition Co LLC                                          dba Superior Landscapes                 P.O. Box 678139                                              Dallas, TX 75267‐8139                                                                                  First Class Mail
Voting Party                   Slackwood Presbyterian Church                                  Attn: William James Mansmann            2020 Brunswick Ave                                           Lawrenceville, NJ 08648                                               wjm1649@gmail.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Slackwood Presbyterian Church                                  2020 Brunswick Ave                      Lawrenceville, NJ 08648                                                                                                            wjm1649@gmail.com                Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Slaco                                                          Greater St Louis Area Council 312       5888 Plymouth Ave                                            Saint Louis, MO 63112‐2535                                                                             First Class Mail
Chartered Organization         Slate Lick Utd Presbyterian Church                             Moraine Trails Council 500              106 Brown Rd                                                 Freeport, PA 16229‐1703                                                                                First Class Mail
Chartered Organization         Slate Ridge Presbyterian Church Session                        Baltimore Area Council 220              1630 Chestnut St                                             Cardiff, MD 21160‐2011                                                                                 First Class Mail
Chartered Organization         Slatelick Presbyterian Church                                  Moraine Trails Council 500              106 Brown Rd                                                 Freeport, PA 16229‐1703                                                                                First Class Mail
Chartered Organization         Slater Elementary Purpose Built Schools                        Atlanta Area Council 092                1320 Pryor Rd SW                                             Atlanta, GA 30315‐2214                                                                                 First Class Mail
Chartered Organization         Slater Hall Community Center                                   Blue Ridge Council 551                  P.O. Box 862                                                 Marietta, SC 29661‐0862                                                                                First Class Mail
Firm                           Slater Slater Schulman LLP                                     Adam P. Slater                          445 Broad Hollow Road, Suite 419                             Melville, NY 11747                                                    bsateam@sssfirm.com              Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Slater United Methodist Church                                 Attn: Padma Templeton                   401 Story St                                                 P.O. Box 126                         Slater, IA 50244                 padmatempleton@gmail.com         Email
                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Slatington Lions Club                                          c/o Claude Fenstermacher                P.O. Box 196                                                 Slatington, PA 18080‐0196                                                                              First Class Mail
Chartered Organization         Slaughter Elementary School                                    Lincoln Heritage Council 205            3805 Fern Valley Rd                                          Louisville, KY 40219‐1920                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                Page 337 of 442
                                                                                  Case 20-10343-LSS                                      Doc 8171                                    Filed 01/06/22                                                          Page 353 of 457
                                                                                                                                                                        Exhibit B
                                                                                                                                                                         Service List
                                                                                                                                                                  Served as set forth below

        Description                                                        Name                                                                                       Address                                                                                                               Email                      Method of Service
Voting Party                   Slaughters First Umc                                      Attn: Cameron Edwards                     34 Church St                                             Slaughters, KY 42456                                                       cedwards6868@gmail.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Sleepy Eye Lions Club                                     Twin Valley Council Bsa 283               309 Burnside St SW                                       Sleepy Eye, MN 56085‐1462                                                                                       First Class Mail
Chartered Organization         Sleepy Hollow Homes Assoc                                 Marin Council 035                         1317 Butterfield Rd                                      San Anselmo, CA 94960‐1067                                                                                      First Class Mail
Chartered Organization         Sleepy Hollow Utd Methodist Ch Mens Club                  National Capital Area Council 082         3435 Sleepy Hollow Rd                                    Falls Church, VA 22044‐1006                                                                                     First Class Mail
Chartered Organization         Sleepy Hollow Utd Methodist Men                           National Capital Area Council 082         3435 Sleepy Hollow Rd                                    Falls Church, VA 22044‐1006                                                                                     First Class Mail
Chartered Organization         Slidell Police Dept                                       Southeast Louisiana Council 214           2112 Sgt Alfred Dr                                       Slidell, LA 70458‐3410                                                                                          First Class Mail
Chartered Organization         Slingerlands Pto                                          Twin Rivers Council 364                   63 N Helderberg Pkwy                                     Slingerlands, NY 12159‐9257                                                                                     First Class Mail
Chartered Organization         Slining/Caulkins Post 267                                 Chippewa Valley Council 637               P.O. Box 96                                              New Auburn, WI 54757‐0096                                                                                       First Class Mail
Voting Party                   Slippery Rock United Methodist Church (87365)             c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200            Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Slippery Rock University                                  Moraine Trails Council 500                300 Old Main                                             Slippery Rock, PA 16057                                                                                         First Class Mail
Firm                           Sloan, Hatcher, Perry, Runge, Robertson, Smith & Jones    M. Raymond Hatcher                        101 E Whaley St                                          Longview, TX 75601                                                         rhatcher@sloanfirm.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Sloatsburg United Methodist Church                        93 Orange Tpke                            Sloatsburg, NY 10974                                                                                                                seungrae.kim@nyac‐umc.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Slt Parent Org                                            Great Lakes Fsc 272                       48484 N Territorial Rd                                   Plymouth, MI 48170‐2850                                                                                         First Class Mail
Voting Party                   Smackover First United Methodist Church                   Attn: Karen Bussell                       P.O. Box 43                                              Smackover, AR 71762                                                        lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Smartsville Fire District                                 Golden Empire Council 047                 P.O. Box 354                                             Smartsville, CA 95977‐0354                                                                                      First Class Mail
Chartered Organization         Smarty Pants Findlay                                      Black Swamp Area Council 449              618 S Main St                                            Findlay, OH 45840‐3128                                                                                          First Class Mail
Chartered Organization         Smethport Rotary Club                                     Allegheny Highlands Council 382           109 East St                                              Smethport, PA 16749‐1467                                                                                        First Class Mail
Chartered Organization         Smile Quest Dental                                        Golden Empire Council 047                 6500 Lonetree Blvd                                       Rocklin, CA 95765‐5874                                                                                          First Class Mail
Voting Party                   Smith & Choudoir Law, PLLC                                Attn: James Daniel Smith                  P.O. Box 2024                                            Mccomb, MS 39649                                                           dannysmith@smithchoudoirlaw.com      Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smith Chapel United Methodist Church                      Attn: Reverend Christopher W Wiseman      12335 Marne Rd                                           Newark, OH 43055                                                           chriswwiseman@gmail.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smith Grove United Methodist Church                       Smith Grove Umc                           8301 Smith Grove Ln                                      N. Dinwiddie, VA 23803                                                     pastormtolbert@gmail.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smith Jr Douglas S                                        Address Redacted                                                                                                                                                              Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smith Kessler Smith, LLC                                  Patrick F Smith                           1550 West 2nd St, Ste A‐4                                Gulf Shores, AL 36542                                                      psmith@skslaw.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Firm                           Smith Law Office, LLC                                     S. Christie Smith IV                      300 East Courthouse                                      Leesville, LA 71446                                                        christie.smith@smihtlex.com          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Firm                           Smith Law Office, LLC                                     Theodore M. Smith, Esq                    PO Box 4, 43 main Street                                 Van Bureu, ME 04785                                                        tedmsmith@myfairpoint.net            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smith Memorial Umc                                        c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200              Tampa, FL 33602                      erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Smith Memorial Umc Board Of Trustees                      Blue Ridge Mtns Council 599               119 Ridge Rd                                             Collinsville, VA 24078‐2118                                                                                     First Class Mail
Chartered Organization         Smith Memorial Utd Methodist Church                       Buckskin 617                              P.O. Box 103                                             Prichard, WV 25555‐0103                                                                                         First Class Mail
Chartered Organization         Smith Mills Christian Cong Church                         Narragansett 546                          11 Anderson Way                                          North Dartmouth, MA 02747‐1223                                                                                  First Class Mail
Voting Party                   Smith Peterson Law Firm, LLP                              Marvin O Kieckhafer                       133 W Broadway                                           P.O. Box 249                          Council Bluffs, IA 51502             mok@smithpeterson.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Smith Sales & Service                                     Illowa Council 133                        301 W Mississippi Dr                                     Muscatine, IA 52761‐3149                                                                                        First Class Mail
Chartered Organization         Smith School Pto                                          Simon Kenton Council 441                  355 N Liberty St                                         Delaware, OH 43015‐1229                                                                                         First Class Mail
Voting Party                   Smith Valley United Methodist Church, Inc                 Attn: Tim Resler, Ttee                    5293 Old Smith Valley Rd                                 Greenwood, IN 46143                                                        smithvalleyumchurch@gmail.com        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Smith Warren Post 367 American Legion                     Seneca Waterways 397                      61 Main St                                               Scottsville, NY 14546‐1248                                                                                      First Class Mail
Chartered Organization         Smith‐Bryant American Legion Post 572                     Texas Swest Council 741                   P.O. Box 704                                             San Angelo, TX 76902‐0704                                                                                       First Class Mail
Chartered Organization         Smithfield Lions Club                                     Trapper Trails 589                        102 N 380 E                                              Smithfield, UT 84335                                                                                            First Class Mail
Chartered Organization         Smithfield Lodge Of Elks 2359                             Narragansett 546                          326 Farnum Pike                                          Smithfield, RI 02917‐1208                                                                                       First Class Mail
Chartered Organization         Smithfield Police Dept                                    Narragansett 546                          215 Pleasant View Ave                                    Smithfield, RI 02917‐1740                                                                                       First Class Mail
Chartered Organization         Smithfield Rotary Club                                    Colonial Virginia Council 595             P.O. Box 1004                                            Smithfield, VA 23431‐6004                                                                                       First Class Mail
Chartered Organization         Smithfield Township Volunteer Fire                        Five Rivers Council, Inc 375              24 Village Green Way                                     East Smithfield, PA 18817‐7720                                                                                  First Class Mail
Voting Party                   Smithfield United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200              Tampa, FL 33602                      erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smithfield United Methodist Church                        6701 Smithfield Rd                        N Richland Hills, TX 76182                                                                                                                                               First Class Mail
Chartered Organization         Smithfield Utd Methodist Church                           Longhorn Council 662                      6701 Smithfield Rd                                       North Richland Hills, TX 76182‐3937                                                                             First Class Mail
Chartered Organization         Smithfield Volunteer Fire Dept                            Westmoreland Fayette 512                  P.O. Box 261                                             Smithfield, PA 15478‐0261                                                                                       First Class Mail
Voting Party                   Smith'S Chapel United Methodist Church                    Daniel Breidenbaugh                       1509 Fallston Rd                                         Fallston, MD 21047                                                         danny.breidenbaugh@fallstonumc.org   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smith's Chapel United Methodist Church                    Attn: Don Mahan                           3109 Churchville Rd                                      Churchville, MD 21028                                                      danny.breidenbaugh@fallstonumc.org   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smiths Grove Baptist Church                               Attn: Rev James Mathias                   434 N Main St                                            P.O. Box 99                           Smiths Grove, KY 42171               office@smithsgrovebaptist.org        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smiths Grove Baptist Church                               Rev James Mathias                         Same                                                     Same                                                                                                            First Class Mail
Chartered Organization         Smiths Grove Lions Club                                   Lincoln Heritage Council 205              P.O. Box 25                                              Oakland, KY 42159‐0025                                                                                          First Class Mail
Chartered Organization         Smithsburg Lions Club                                     Mason Dixon Council 221                   P.O. Box 745                                             Smithsburg, MD 21783‐0745                                                                                       First Class Mail
Chartered Organization         Smithtown Fire Dept                                       Suffolk County Council Inc 404            100 Elm Ave                                              Smithtown, NY 11787‐3510                                                                                        First Class Mail
Voting Party                   Smithtown United Methodist Church                         Attn: Lynda Bates‐Stepe                   230 Middle Country Rd                                    Smithtown, NY 11787                                                        RevLJB@gmail.com                     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smithtown United Methodist Church                         Attn: Council Chair ‐ Christine Lauro     230 E Main St                                            Smithtown, NY 11787                                                        just4cll@aol.com                     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smithville First Christian Church                         Attn: Rev Dr Lara Blackwood Pickrel       201 N Bridge St                                          Smithville, MO 64089                                                       lara@smithvillefcc.org               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smithville First United Methodist Church                  Attn: Cindy Lay                           P.O. Box 698                                             Smithville, TX 78957                                                       pastororcindy@smithville‐umc.org     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Smithville Kiwanis Club                                   Heart of America Council 307              106 2nd St                                               Smithville, MO 64089‐8722                                                                                       First Class Mail
Chartered Organization         Smithville Rotaryclub &                                   First United Methodist Church             P.O. Box 548                                             Smithville, TN 37166‐0548                                                                                       First Class Mail
Voting Party                   Smithville Ruritan Club                                   Attn: Ricky Lee Dilyard                   327 S Milton St                                          Smithville, OH 44677                                                       rsdnaez@sssnet.com                   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smithville Ruritan Club                                   P.O. Box 98                               Smithville, OH 44677                                                                                                                rsdnaez@sssnet.com                   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smithville Umc                                            Attn: Kathleen Davis                      60017 Kennedy Rd                                         Smithville, MS 38870                                                       kdavis@traceroad.net                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smithville United Methodist Church                        Attn: Andrea Cooper                       3005 Ferry Landing Rd                                    Dunkirk, MD 20754                                                          smithvilleumcdunkirk@gmail.com       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smithville United Methodist Church                        Attn: Carolyn M Berry                     P.O. Box 375                                             Smithville, OH 44677                                                       smithvilleum@gmail.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Smithville Utd Methodist Church                           National Capital Area Council 082         10602 Sern Maryland Blvd                                 Dunkirk, MD 20754                                                                                               First Class Mail
Chartered Organization         Smithville Utd Methodist Church                           Buckeye Council 436                       3060 Eby Rd                                              Smithville, OH 44677‐9701                                                                                       First Class Mail
Chartered Organization         Smithville Utd Methodist Church                           Capitol Area Council 564                  400 Olive St                                             Smithville, TX 78957‐1439                                                                                       First Class Mail
Chartered Organization         Smk Tri Cities Inc                                        Blue Mountain Council 604                 P.O. Box 2548                                            Pasco, WA 99302‐2548                                                                                            First Class Mail
Chartered Organization         Smokin Buns Bbq                                           Quapaw Area Council 018                   25401 Hwy 107                                            Jacksonville, AR 72076‐2138                                                                                     First Class Mail
Chartered Organization         Smoky Hill Rotary                                         Denver Area Council 061                   6100 S Genoa St                                          Aurora, CO 80016‐1288                                                                                           First Class Mail
Voting Party                   Smoky Hill United Methodist Church                        Attn: Mark A Brinton                      19491 E Smoky Hill Rd                                    Centennial, CO 80015                                                       shumcumc.org                         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Smothers Academy Preparatory School                       Southeast Louisiana Council 214           1 Rosedown Ct                                            New Orleans, LA 70131‐3313                                                                                      First Class Mail
Voting Party                   Smyrna First United Methodist Church                      Attn: Rev Theresa Johnson                 301 Sam Davis Rd                                         Smyrna, TN 37167                                                           srpastor@smyrnafirstumc.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Smyrna First United Methodist Church ‐ Smyrna             c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200              Tampa, FL 33602                      erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Smyrna Lions Club                                         Middle Tennessee Council 560              P.O. Box 12                                              Smyrna, TN 37167‐0012                                                                                           First Class Mail
Chartered Organization         Smyrna Police Dept                                        Del Mar Va 081                            325 W Glenwood Ave                                       Smyrna, DE 19977‐1109                                                                                           First Class Mail
Chartered Organization         Smyrna Utd Methodist                                      Atlanta Area Council 092                  9199 Buchanan Hwy                                        Dallas, GA 30157‐7832                                                                                           First Class Mail
Chartered Organization         Snacks Crossing Elementary School                         Crossroads of America 160                 5455 W 56th St                                           Indianapolis, IN 46254‐1301                                                                                     First Class Mail
Chartered Organization         Snake River Elks Lodge 2807                               Snake River Council 111                   412 E 200 S                                              Jerome, ID 83338‐6731                                                                                           First Class Mail
Chartered Organization         Snapfinger Creek Animal Hospital                          Atlanta Area Council 092                  5548 Flat Shoals Pkwy                                    Decatur, GA 30034‐5408                                                                                          First Class Mail
Chartered Organization         Snapfinger Elementary School                              Atlanta Area Council 092                  1365 Snapfinger Rd                                       Decatur, GA 30032‐4702                                                                                          First Class Mail
Chartered Organization         Snellville Christian Church                               Northeast Georgia Council 101             2485 Scenic Hwy S                                        Snellville, GA 30078‐3116                                                                                       First Class Mail
Chartered Organization         Snellville Lodge 99                                       Northeast Georgia Council 101             1844 Skyland Glen Dr                                     Snellville, GA 30078‐3870                                                                                       First Class Mail
Voting Party                   Snellville United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200              Tampa, FL 33602                      erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Snellville Utd Methodist Church                           Northeast Georgia Council 101             Highway 78                                               Snellville, GA 30078                                                                                            First Class Mail
Chartered Organization         Snellville Utd Methodist Church                           Northeast Georgia Council 101             P.O. Box 437                                             Snellville, GA 30078‐0437                                                                                       First Class Mail
Chartered Organization         Sni Kona Truth Of Life Center                             Aloha Council, Bsa 104                    P.O. Box 786                                             Kealakekua, HI 96750‐0786                                                                                       First Class Mail
Chartered Organization         Snn Trainers                                              Pee Dee Area Council 552                  100 Coastal Dr                                           Sumter, SC 29150‐9735                                                                                           First Class Mail
Voting Party                   Snohomish                                                 c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200              Tampa, FL 33602                      erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Snohomish County Fire District 7                          Mount Baker Council, Bsa 606              163 Village Ct                                           Monroe, WA 98272‐2173                                                                                           First Class Mail
Chartered Organization         Snohomish County Sheriffs Office                          Mount Baker Council, Bsa 606              3000 Rockefeller Ave M 606                               Everett, WA 98201‐4071                                                                                          First Class Mail
Chartered Organization         Snohomish Fire & Rescue Explorers                         Mount Baker Council, Bsa 606              1525 Ave D                                               Snohomish, WA 98290‐1709                                                                                        First Class Mail
Chartered Organization         Snohomish Utd Methodist Church                            Mount Baker Council, Bsa 606              2400 Lake Ave                                            Snohomish, WA 98290‐1027                                                                                        First Class Mail
Chartered Organization         Snoqualmie Valley Eagles                                  Chief Seattle Council 609                 8200 Railroad Ave SE                                     Snoqualmie, WA 98065                                                                                            First Class Mail
Chartered Organization         Snoqualmie Valley Kiwanis                                 Chief Seattle Council 609                 P.O. Box 852                                             North Bend, WA 98045‐0852                                                                                       First Class Mail
Chartered Organization         Snoqualmie Valley Scouting                                Chief Seattle Council 609                 6628 E Crest View Lp SE                                  Snoqualmie, WA 98065‐8919                                                                                       First Class Mail
Chartered Organization         Snow Hill Elementary Pta                                  Del Mar Va 081                            515 Coulbourne Ln                                        Snow Hill, MD 21863‐4014                                                                                        First Class Mail
Chartered Organization         Snow Hill Fwb Church                                      Tuscarora Council 424                     485 Albert Grady Rd                                      Mount Olive, NC 28365‐9168                                                                                      First Class Mail
Chartered Organization         Snow School Pta                                           Great Lakes Fsc 272                       3165 Dallas St                                           Dearborn, MI 48124‐4111                                                                                         First Class Mail
Chartered Organization         Snowbird Youth Center                                     Daniel Boone Council 414                  208 Snowbird Youth Center Rd                             Robbinsville, NC 28771                                                                                          First Class Mail
Chartered Organization         Snowdon Elementary Pto                                    Inland Nwest Council 611                  6323 S Holly Rd                                          Cheney, WA 99004‐5181                                                                                           First Class Mail
Chartered Organization         Snowville Ruritan Club                                    Blue Ridge Mtns Council 599               Rr 1                                                     Hiwassee, VA 24347                                                                                              First Class Mail
Chartered Organization         Snyder First Utd Methodist Church                         Last Frontier Council 480                 918 E St                                                 Snyder, OK 73566‐2240                                                                                           First Class Mail
Chartered Organization         So Cal Academy Of Science                                 c/o Ann Dalkey, Corresponding Sec         900 Exposition Blvd                                      Los Angeles, CA 90007‐4057                                                                                      First Class Mail
Voting Party                   So Pas Ndu Umc Min                                        Attn: David Burgeson                      9003 Reseda Blvd 206                                     Northridge, CA 91324                                                                                            First Class Mail
Voting Party                   Soapstone United Methodist Church                         Attn: K. Matthew Vaughn                   5219 Coffeetree Dr                                       Raleigh, NC 27613                                                          matt@smvt.com                        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Soapstone Utd Methodist Church                            Occoneechee 421                           12837 Norwood Rd                                         Raleigh, NC 27613‐6849                                                                                          First Class Mail
Chartered Organization         Soar & Safe Haven                                         Patriots Path Council 358                 50 Winfield Scott Plz                                    Elizabeth, NJ 07201‐2408                                                                                        First Class Mail
Chartered Organization         Soaring Eagle Consulting LLC                              Cimarron Council 474                      P.O. Box 1303                                            Enid, OK 73702‐1303                                                                                             First Class Mail
Chartered Organization         Socal Aviation Assoc                                      San Diego Imperial Council 049            P.O. Box 2801                                            Carlsbad, CA 92018‐2801                                                                                         First Class Mail
Voting Party                   Socastee United Methodist Church                          Attn: Dr Kurt A. Mcpherson                5575 Dick Pond Rd                                        Myrtle Beach, SC 29588                                                     kamcpherson@umcsc.org                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Soccer Scouting Club                                      Greater Los Angeles Area 033              1046 W Gladstone St                                      Azusa, CA 91702‐4207                                                                                            First Class Mail
Chartered Organization         Social Circle Fire Dept                                   Northeast Georgia Council 101             165 E Hightower Trl                                      Social Cir, GA 30025‐3018                                                                                       First Class Mail
Chartered Organization         Social Circle Jrotc                                       Northeast Georgia Council 101             154 Alcova Dr                                            Social Cir, GA 30025‐4350                                                                                       First Class Mail
Voting Party                   Social Circle Umc (Social Circle)                         c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200              Tampa, FL 33602                      erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Society For Mining Metallury/Exploration                  Denver Area Council 061                   12999 E Adam Aircraft Cir                                Englewood, CO 80112‐4167                                                                                        First Class Mail
Chartered Organization         Society Hispanic Professional Engineers                   United States Patent & Trademark Office   600 Dulany St, Ste 1                                     Alexandria, VA 22314‐5791                                                                                       First Class Mail
Chartered Organization         Society Of American Military Engineers                    Denver Area Council 061                   P.O. Box 13224                                           Denver, CO 80201‐4624                                                                                           First Class Mail
Chartered Organization         Society Of American Military Engineers                    Central Georgia Council 096               P.O. Box 2627                                            Warner Robins, GA 31099‐2627                                                                                    First Class Mail
Chartered Organization         Society Of The First Infantry Div                         Coronado Area Council 192                 510 Huebner Rd                                           Ft Riley, KS 66442                                                                                              First Class Mail
Chartered Organization         Society Of Women Engineers                                Seneca Waterways 397                      657 East Ave                                             Rochester, NY 14607‐2101                                                                                        First Class Mail
Voting Party                   Soddy United Methodist Church                             633 Chestnut Ste, Ste 1500                Chattanooga, TN 37450                                                                                                               astulce@mwalawfirm.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Sodus Point United Methodist Church                       P.O. Box 149                              7490 S Ontario St                                        Sodus Point, NY 14555                                                      rutholschewske@gmail.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Sodus Point United Methodist Church                       Attn: Ruth Olschewske                     P.O. Box 255                                             8533 Ridge Rd                         Alton, NY 14413                      rutholschewske@gmail.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Sodus Rotary Club                                         Seneca Waterways 397                      5024 State Route 88                                      Sodus, NY 14551‐9724                                                                                            First Class Mail
Chartered Organization         Soft Landings Parrot Rescue Inc                           Indian Nations Council 488                P.O. Box 2115                                            Owasso, OK 74055‐8915                                                                                           First Class Mail
Chartered Organization         Sol Middle School                                         San Francisco Bay Area Council 028        1180 70th Ave                                            Oakland, CA 94621‐3216                                                                                          First Class Mail
Chartered Organization         Solar Prep Boys Pta                                       Circle Ten Council 571                    1802 Moser Ave                                           Dallas, TX 75206‐7537                                                                                           First Class Mail
Chartered Organization         Soldotna Police Dept                                      Great Alaska Council 610                  44510 Sterling Hwy                                       Soldotna, AK 99669‐7935                                                                                         First Class Mail
Voting Party                   Soldotna Umc                                              c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200              Tampa, FL 33602                      erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Soldotna Utd Methodist Church                             Great Alaska Council 610                  158 S Binkley St                                         Soldotna, AK 99669‐8006                                                                                         First Class Mail
Chartered Organization         Soledad Police Dept                                       Silicon Valley Monterey Bay 055           236 Main St                                              Soledad, CA 93960‐2619                                                                                          First Class Mail
Chartered Organization         Solheim Pto                                               Northern Lights Council 429               325 Munich Dr                                            Bismarck, ND 58504‐7034                                                                                         First Class Mail
Chartered Organization         Solid Ground                                              Chief Seattle Council 609                 6940 62nd Ave Ne                                         Seattle, WA 98115‐5004                                                                                          First Class Mail
Chartered Organization         Solid Rock Church Of God                                  Central Florida Council 083               1904 Michigan Ave                                        Kissimmee, FL 34744‐3505                                                                                        First Class Mail
Chartered Organization         Solid Rock Missionary Baptist Church                      P.O. Box 1111                             14341 Lee Rd                                             Houston, TX 77032                                                                                               First Class Mail
Chartered Organization         Solid Rock Utd Methodist Church                           Occoneechee 421                           P.O. Box 100                                             Olivia, NC 28368‐0100                                                                                           First Class Mail
Voting Party                   Solley United Methodist Church                            Attn: Jeffrey Lurz                        7600 Solley Rd                                           Pasadena, MD 21060                                                         jp56lz8@gmail.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Firm                           Soloff & Zervanos, P.C.                                   Jeffrey P. Fritz, Esquire                 1525 Locust St., 8th Floor                               Philadelphia, PA 19102                                                     jfritz@lawsz.com                     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Solomon Corp                                              Coronado Area Council 192                 P.O. Box 245                                             Solomon, KS 67480‐0245                                                                                          First Class Mail
Chartered Organization         Solomons Key Lodge 580                                    Great Lakes Fsc 272                       17212 Ecorse Rd                                          Allen Park, MI 48101‐2456                                                                                       First Class Mail
Chartered Organization         Solomons Utd Church Of Christ                             Minsi Trails Council 502                  82 S Church St                                           Macungie, PA 18062‐1016                                                                                         First Class Mail
Chartered Organization         Solon Optimist Club                                       Hawkeye Area Council 172                  44 2nd St                                                Solon, IA 52333                                                                                                 First Class Mail
Voting Party                   Solon United Methodist Church                             Attn: Sue Wilkinson                       116 Lakeside Dr NE                                       Solon, IA 52333                                                            suewilkinson116@gmail.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Solon United Methodist Church                             Attn: Ivan Hasselbusch                    122 N West St                                            Solon, IA 52333                                                                                                 First Class Mail
Voting Party                   Solon United Methodist Church                             Ivan L Hasselbusch                        122 North West St                                        Solon, IA 52333                                                                                                 First Class Mail
Chartered Organization         Solon/Orange Police Explorer Post                         Lake Erie Council 440                     33000 Solon Rd                                           Solon, OH 44139‐2811                                                                                            First Class Mail
Chartered Organization         Solsberry American Legion Post 450                        Hoosier Trails Council 145 145            10743 E Sparks Rd                                        Solsberry, IN 47459‐6064                                                                                        First Class Mail
Chartered Organization         Soma Citizens                                             Northern New Jersey Council, Bsa 333      267 Richmond Ave                                         South Orange, NJ 07079‐2131                                                                                     First Class Mail
Chartered Organization         Somerby At St Vincents One Nineteen                       Attn: Tim Hicks                           200 One Nineteen Blvd                                    Birmingham, AL 35242‐7236                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                         Page 338 of 442
                                                                                  Case 20-10343-LSS                                    Doc 8171                                            Filed 01/06/22                                                       Page 354 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                        Name                                                                                             Address                                                                                                                  Email                     Method of Service
Chartered Organization         Somers American Legion Post 552                           Three Harbors Council 636               P.O. Box 31                                                      Somers, WI 53171‐0031                                                                                             First Class Mail
Chartered Organization         Somers Fire And Rescue                                    Three Harbors Council 636               P.O. Box 197                                                     Somers, WI 53171‐0197                                                                                             First Class Mail
Chartered Organization         Somers Lions Club                                         Westchester Putnam 388                  P.O. Box 95                                                      Somers, NY 10589‐0095                                                                                             First Class Mail
Chartered Organization         Somers Volunteer Fire Dept, Inc                           Westchester Putnam 388                  P.O. Box 272                                                     Somers, NY 10589‐0272                                                                                             First Class Mail
Chartered Organization         Somerset Academy                                          Gulf Stream Council 085                 4696 Davis Rd                                                    Lake Worth, FL 33461‐5204                                                                                         First Class Mail
Chartered Organization         Somerset Academy                                          Cradle of Liberty Council 525           719 W Girard Ave                                                 Philadelphia, PA 19123‐1322                                                                                       First Class Mail
Chartered Organization         Somerset Academy North Las Vegas                          Las Vegas Area Council 328              385 W Centennial Pkwy                                            North Las Vegas, NV 89084‐5801                                                                                    First Class Mail
Chartered Organization         Somerset Area Junior High School                          Laurel Highlands Council 527            645 S Columbia Ave                                               Somerset, PA 15501‐2565                                                                                           First Class Mail
Voting Party                   Somerset Center United Methodist Church                   12091 Chicago Rd                        Somerset Center, MI 49282                                                                                                                somersetcentermethodist@frontiernet.net   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Somerset Community Assoc                                  Chief Seattle Council 609               P.O. Box 5733                                                    Bellevue, WA 98006                                                                                                First Class Mail
Chartered Organization         Somerset County Sheriff                                   Patriots Path Council 358               20 Grove St                                                      Somerville, NJ 08876‐2306                                                                                         First Class Mail
Voting Party                   Somerset First United Methodist Church                    Attn: Chris Basil                       99 S Central Ave                                                 Somerset, KY 42501                                                                                                First Class Mail
Chartered Organization         Somerset Hills Lutheran Church                            Patriots Path Council 358               350 Lake Rd                                                      Basking Ridge, NJ 07920‐2121                                                                                      First Class Mail
Chartered Organization         Somerset Lions Club                                       Narragansett 546                        329 Washington Ave                                               Somerset, MA 02726‐4524                                                                                           First Class Mail
Chartered Organization         Somerset Lions Club                                       Laurel Highlands Council 527            P.O. Box 214                                                     Somerset, PA 15501‐0214                                                                                           First Class Mail
Chartered Organization         Somerset Police Dept                                      Narragansett 546                        465 County St                                                    Somerset, MA 02726‐4207                                                                                           First Class Mail
Chartered Organization         Somerset Police Explorers                                 Blue Grass Council 204                  400 E Mount Vernon St                                            Somerset, KY 42501‐1377                                                                                           First Class Mail
Chartered Organization         Somerset Prep Academy North Lauderdale                    South Florida Council 084               7101 Kimberly Blvd                                               North Lauderdale, FL 33068‐2388                                                                                   First Class Mail
Chartered Organization         Somerset Presbyterian Church                              Patriots Path Council 358               100 John F Kennedy Blvd                                          Somerset, NJ 08873‐2357                                                                                           First Class Mail
Voting Party                   Somerset Presbyterian Church                              Attn: Ellen O'Connell Esq               600 Parsippany Rd, Ste 204                                       Parsippany, NJ 07054                                                    eoconnell@iwwt.law                        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Somerset Presbyterian Church                              Attn: Ellen O'Connell, Esq              600 Parsippany Rd, Ste 204                                       Parsippany, NJ 07054                                                    eoconnell@iwwt.law                        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Somerset Presbyterian Church                              Alfred Lynn Ball                        100 John F Kennedy Blvd                                          Somerset, NJ 08873                                                      alball45@att.net                          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Somerset Presbyterian Church                              Attn: Alfred Lynn Ball                  100 John F Kennedy Blvd                                          Somerset, NJ 08873                                                      alball45@att.net                          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Somerset Ruritan Club                                     Attn: James Price                       28143 Venton Rd                                                  Princess Anne, MD 21853                                                 jpdumpy33@aol.com                         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Somerset Umc                                              Attn: Treasurer                         8175 7th St                                                      Somerset, TX 78069                                                      sumc.treasurer@satx.rr.com                Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Somerset Utd Methodist Church                             Muskingum Valley Council, Bsa 467       139 E Main St                                                    Somerset, OH 43783                                                                                                First Class Mail
Chartered Organization         Somerset Utd Methodist Church                             Alamo Area Council 583                  8175 W 7th St                                                    Somerset, TX 78069                                                                                                First Class Mail
Voting Party                   Somerville First United Methodist Church                  Attn: Treasurer                         202 S East St                                                    Somerville, TN 38068                                                    pastorsfumc@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Somonauk Education Foundation                             Three Fires Council 127                 501 W Market St                                                  Somonauk, IL 60552‐9794                                                                                           First Class Mail
Chartered Organization         Somonauk Lions Club                                       Three Fires Council 127                 P.O. Box 272                                                     Somonauk, IL 60552‐0272                                                                                           First Class Mail
Voting Party                   Song Of Life United Methodist Church (AZ)                 c/o Clarke Law Firm, Plc                Attn: Marilee Miller Clarke                                      8141 E Indian Bend Rd, Ste 105        Scottsdale, AZ 85250              marilee@clarkelawaz.com                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Song Of Life Utd Methodist Church                         Grand Canyon Council 010                20164 S Sossaman Rd                                              Queen Creek, AZ 85142‐8715                                                                                        First Class Mail
Chartered Organization         Songs Elite Martial Arts Academy                          Denver Area Council 061                 2424 E Bridge St                                                 Brighton, CO 80601‐2546                                                                                           First Class Mail
Voting Party                   Sonoco Recycling LLC                                      c/o Haynsworth Sinkler Boyd Pa          Attn: Stanley H. Mcguffin Esq                                    P.O. Box 11889                        Columbia, SC 29211                smcguffin@hsblawfirm.com                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sonoma County Fire District                               Redwood Empire Council 041              8200 Old Redwood Hwy                                             Windsor, CA 95492‐9217                                                                                            First Class Mail
Chartered Organization         Sonoma County Sheriffs Dept                               Redwood Empire Council 041              2796 Ventura Ave                                                 Santa Rosa, CA 95403‐2875                                                                                         First Class Mail
Chartered Organization         Sonoma Police Dept                                        Redwood Empire Council 041              175 1st St W                                                     Sonoma, CA 95476‐5655                                                                                             First Class Mail
Chartered Organization         Sonora Downtown Lions Club                                Texas Swest Council 741                 P.O. Box 822                                                     Sonora, TX 76950‐0822                                                                                             First Class Mail
Voting Party                   Sonora Downtown Lions Club                                Attn: Pam Munn                          P.O. Box 528                                                     Sonora, TX 76950                                                        pmunn@henrypetroleumllc.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Sonora Downtown Lions Club                                Pam Munn                                P.O. Box 528                                                     Sonora, TX 76950                                                        pmunn@henrypetroleumllc.com               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sonora High Jrotc                                         Orange County Council 039               401 S Palm St                                                    La Habra, CA 90631‐5735                                                                                           First Class Mail
Chartered Organization         Sonora Police Dept                                        Greater Yosemite Council 059            100 S Green St                                                   Sonora, CA 95370‐4643                                                                                             First Class Mail
Voting Party                   Sonora United Methodist Church                            Attn: Lorraine Vogt                     90 Yaney Ave                                                     Sonora, CA 95370                                                        lorrainev63@comcast.net                   Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sonora Utd Methodist Men                                  Greater Yosemite Council 059            90 Yaney Ave                                                     Sonora, CA 95370‐4623                                                                                             First Class Mail
Chartered Organization         Sonrise @ Pembroke Manor Church                           Tidewater Council 596                   600 Independence Blvd                                            Virginia Beach, VA 23462‐2223                                                                                     First Class Mail
Chartered Organization         Sonrise Baptist Church                                    Mobile Area Council‐Bsa 004             140 Snow Rd N                                                    Mobile, AL 36608‐9714                                                                                             First Class Mail
Chartered Organization         Sonrise Christian School                                  Greater Los Angeles Area 033            1220 E Ruddock St                                                Covina, CA 91724‐2733                                                                                             First Class Mail
Voting Party                   Sonrise Church, A United Methodist Ministry               Attn: Terri Cole                        421 E Spaulding Ave                                              Pueblo West, CO 81007                                                   sonrisechurch@sonrisepueblo.org           Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Son'S Of American Legion                                  Cape Fear Council 425                   10277 Beach Dr SE                                                Calabash, NC 28467‐2703                                                                                           First Class Mail
Chartered Organization         Sons Of American Legion 181                               Allegheny Highlands Council 382         11431 Archer Hill Rd                                             Randolph, NY 14772‐9653                                                                                           First Class Mail
Chartered Organization         Sons Of American Legion Post 26                           Green Mountain 592                      129 S Main St                                                    White River Junction, VT 05001‐7400                                                                               First Class Mail
Chartered Organization         Sons Of American Legion Post 42                           Green Mountain 592                      P.O. Box 572                                                     Enosburg Falls, VT 05450‐0572                                                                                     First Class Mail
Chartered Organization         Sons Of American Legions Quadron Ten                      Longs Peak Council 062                  4760 28th St                                                     Boulder, CO 80301‐1651                                                                                            First Class Mail
Chartered Organization         Sons Of Amvets                                            Hawkeye Area Council 172                P.O. Box 583                                                     Kalona, IA 52247‐0583                                                                                             First Class Mail
Chartered Organization         Sons Of Norway Lodge 106                                  Mount Baker Council, Bsa 606            P.O. Box 492                                                     Bothell, WA 98041‐0492                                                                                            First Class Mail
Chartered Organization         Sons Of The American Legion                               Iroquois Trail Council 376              83 Market St                                                     Attica, NY 14011‐1023                                                                                             First Class Mail
Chartered Organization         Sons Of The American Legion                               Central Minnesota 296                   525 Railroad Dr NW                                               Elk River, MN 55330‐1405                                                                                          First Class Mail
Chartered Organization         Sons Of The American Legion                               Jayhawk Area Council 197                310 Veterans Memorial Dr N                                       Marysville, KS 66508‐1688                                                                                         First Class Mail
Chartered Organization         Sons Of The American Legion                               Chippewa Valley Council 637             27 State St                                                      Neillsville, WI 54456‐2130                                                                                        First Class Mail
Chartered Organization         Sons Of The American Legion                               Pacific Harbors Council, Bsa 612        113 W Cota St                                                    Shelton, WA 98584‐2261                                                                                            First Class Mail
Chartered Organization         Sons Of The American Legion                               Greater St Louis Area Council 312       205 N Washington Ave                                             Union, MO 63084‐1677                                                                                              First Class Mail
Chartered Organization         Sons Of The American Legion                               Squadron 35                             P.O. Box 870370                                                  Wasilla, AK 99687‐0370                                                                                            First Class Mail
Chartered Organization         Sons Of The American Legion 254                           Mid‐America Council 326                 1316 10th St                                                     Hawarden, IA 51023‐2333                                                                                           First Class Mail
Chartered Organization         Sons Of The American Legion 294                           Potawatomi Area Council 651             231 Goodwin Ave                                                  Hartland, WI 53029‐2108                                                                                           First Class Mail
Chartered Organization         Sons Of The American Legion Honeoye                       Seneca Waterways 397                    Hemlock Post 1278                                                Honeoye, NY 14471                                                                                                 First Class Mail
Chartered Organization         Sons Of The American Legion Post 1146                     Suffolk County Council Inc 404          826 Hubal St                                                     Bohemia, NY 11716‐1902                                                                                            First Class Mail
Chartered Organization         Sons Of The American Legion Post 217                      Great Lakes Fsc 272                     2817 Van Alstyne St                                              Wyandotte, MI 48192‐5219                                                                                          First Class Mail
Chartered Organization         Sons Of The American Legion Post 25                       Cornhusker Council 324                  815 W D St                                                       Wymore, NE 68466‐1943                                                                                             First Class Mail
Chartered Organization         Sons Of The American Legion Post 252                      Winnebago Council, Bsa 173              639 Main St                                                      Ackley, IA 50601‐1437                                                                                             First Class Mail
Chartered Organization         Sons Of The American Legion Post 282                      National Capital Area Council 082       101 W Elizabeth St                                               Woodsboro, MD 21798‐8600                                                                                          First Class Mail
Chartered Organization         Sons Of The American Legion Post 419                      Suffolk County Council Inc 404          P.O. Box 269                                                     Amagansett, NY 11930‐0269                                                                                         First Class Mail
Chartered Organization         Sons Of The American Legion Sq 616                        Leatherstocking 400                     P.O. Box 686                                                     Richfield Springs, NY 13439‐0686                                                                                  First Class Mail
Chartered Organization         Sons Of The American Legion Squad 145                     Bay‐Lakes Council 635                   621 Main St                                                      Norway, MI 49870‐1245                                                                                             First Class Mail
Chartered Organization         Sons Of The American Legion Squade 386                    Abraham Lincoln Council 144             118 S Dye St                                                     Virden, IL 62690‐1404                                                                                             First Class Mail
Chartered Organization         Sons Of The American Legion Squadron 38                   Pikes Peak Council 060                  6685 Southmoor Dr                                                Fountain, CO 80817‐1000                                                                                           First Class Mail
Chartered Organization         Sons Of The American Legion Squadron 62                   Grand Canyon Council 010                9847 W Desert Cove Ave                                           Peoria, AZ 85345‐5408                                                                                             First Class Mail
Chartered Organization         Sons, Al Squadron 1738                                    Suffolk County Council Inc 404          340 Union Blvd                                                   West Islip, NY 11795‐3102                                                                                         First Class Mail
Chartered Organization         Sophrosyne                                                Great Swest Council 412                 429 Schulte Rd Nw                                                Los Ranchos, NM 87107‐6237                                                                                        First Class Mail
Chartered Organization         Sorensen Magnet School Pta                                Inland Nwest Council 611                311 N 10th St                                                    Coeur D Alene, ID 83814                                                                                           First Class Mail
Voting Party                   Sorling Northrup                                          Attn: David A. Rolf                     1 N Old State Capitol Plaza, Ste 200                             P.O. Box 5131                         Springfield, IL 62705             darolf@sorlinglaw.com                     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Sorling Northrup                                          David A. Rolf                           1 N Old State Capitol Plaza, Ste 200                             P.O. Box 5131                         Springfield, IL 62705             darolf@sorlinglaw.com                     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sorrento Springs School Pto                               Greater St Louis Area Council 312       390 Tumulty Dr                                                   Ballwin, MO 63021‐6439                                                                                            First Class Mail
Chartered Organization         Soto Elementary School Pta                                Circle Ten Council 571                  4510 W Jefferson Blvd                                            Dallas, TX 75211‐3529                                                                                             First Class Mail
Chartered Organization         Souhegan Emergency Services                               Daniel Webster Council, Bsa 330         39 School St                                                     Milford, NH 03055‐4544                                                                                            First Class Mail
Chartered Organization         Soule Road Pto                                            Longhouse Council 373                   8338 Soule Rd                                                    Liverpool, NY 13090‐1322                                                                                          First Class Mail
Voting Party                   Soules Chapel United Methodist Church                     7713 Fm 556                             Gilmer, TX 75644                                                                                                                         Lnunn@txcumc.org                          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Sound Beach Fire District                                 Suffolk County Council Inc 404          152 Sound Beach Blvd                                             Sound Beach, NY 11789‐2728                                                                                        First Class Mail
Chartered Organization         Sound Beach Volunteer Fire Deptment                       Greenwich 067                           207 Sound Beach Ave                                              Old Greenwich, CT 06870‐1607                                                                                      First Class Mail
Chartered Organization         Sound School, The                                         Connecticut Yankee Council Bsa 072      60 S Water St                                                    New Haven, CT 06519‐2822                                                                                          First Class Mail
Chartered Organization         South Aiken Presbyterian Church                           Georgia‐Carolina 093                    1711 Whiskey Rd                                                  Aiken, SC 29803‐7343                                                                                              First Class Mail
Chartered Organization         South Arbor Academy                                       Southern Shores Fsc 783                 8200 Carpenter Rd                                                Ypsilanti, MI 48197‐9173                                                                                          First Class Mail
Voting Party                   South Ashland United Methodist Church                     Attn: Keith Katterheinrich              2210 29th St                                                     Ashland, KY 41101                                                       keith.katterheinrich@gmail.com            Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   South Ashland United Methodist Church                     Attn: Don Neilcirk                      2203 29th St                                                     Ashland, KY 41101                                                       joanneikisk@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         South Ashland Utd Methodist Church                        Buckskin 617                            2203 29th St                                                     Ashland, KY 41101‐4829                                                                                            First Class Mail
Voting Party                   South Athol United Methodist Church                       Attn: Judith Jones, Pastor              P.O. Box 211                                                     65 Morgan Ave                         Athol, MA 01331                   judy.jones59@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         South Ave Community Center                                Seneca Waterways 397                    999 South Ave                                                    Rochester, NY 14620‐2746                                                                                          First Class Mail
Chartered Organization         South Avenue Community Center                             Seneca Waterways 397                    999 South Ave                                                    Rochester, NY 14620‐2746                                                                                          First Class Mail
Chartered Organization         South Bay Islamic Assoc                                   Silicon Valley Monterey Bay 055         2345 Harris Way                                                  San Jose, CA 95131‐1413                                                                                           First Class Mail
Chartered Organization         South Bay Rod And Gun Club                                San Diego Imperial Council 049          10731 Treena St, Ste 109                                         San Diego, CA 92131‐1040                                                                                          First Class Mail
Chartered Organization         South Bay Volunteer Fire Dept                             Longhouse Council 373                   8817 Cicero Center Rd                                            Cicero, NY 13039‐7314                                                                                             First Class Mail
Chartered Organization         South Bay Yacht Club                                      Silicon Valley Monterey Bay 055         1491 Hope St                                                     Alviso, CA 95002‐3540                                                                                             First Class Mail
Chartered Organization         South Bellevue (Bellevue B&Gc)                            Chief Seattle Council 609               14509 SE Newport Way                                             Bellevue, WA 98006‐1514                                                                                           First Class Mail
Chartered Organization         South Bend Elks Lodge Bpoe 235                            Lasalle Council 165                     3535 Mckinley Ave                                                South Bend, IN 46615‐3134                                                                                         First Class Mail
Chartered Organization         South Berwick Memorial Post Vfw 5744                      Pine Tree Council 218                   64 Old South Rd                                                  South Berwick, ME 03908‐1708                                                                                      First Class Mail
Chartered Organization         South Berwick Rod And Gun Assoc                           Pine Tree Council 218                   P.O. Box 184                                                     South Berwick, ME 03908‐0184                                                                                      First Class Mail
Voting Party                   South Blendon Reformed Church                             Gary L Jarvis                           4817 Port Sheldon St                                             Hudsonville, MI 49426                                                   garyjarvis@southblendon.org               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   South Blendon Reformed Church                             4817 Port Sheldon St                    Hudsonville, MI 49426                                                                                                                    garyjarvis@southblendon.org               Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         South Boardman American Legion Post                       President Gerald R Ford 781             P.O. Box 1                                                       South Boardman, MI 49680‐0001                                                                                     First Class Mail
Chartered Organization         South Branch Reformed Church                              Patriots Path Council 358               870 River Rd                                                     Hillsborough, NJ 08844‐4047                                                                                       First Class Mail
Voting Party                   South Bristol Umc                                         Attn: Raymond Walter Amos, Jr           1801 Southside Ave                                               Bristol, TN 37620                                                       umcpastorray@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         South Britain Congregational Church                       Connecticut Rivers Council, Bsa 066     P.O. Box 64                                                      South Britain, CT 06487‐0064                                                                                      First Class Mail
Chartered Organization         South Burlington Rotary Club                              Green Mountain 592                      P.O. Box 9376                                                    South Burlington, VT 05407‐9376                                                                                   First Class Mail
Chartered Organization         South Caldwell Booster Club Njrotc                        Piedmont Council 420                    7035 Spartan Dr                                                  Hudson, NC 28638‐9056                                                                                             First Class Mail
Chartered Organization         South Carroll County Special School Pta                   West Tennessee Area Council 559         P.O. Box 189                                                     Clarksburg, TN 38324‐0189                                                                                         First Class Mail
Chartered Organization         South Central Civic League                                Circle Ten Council 571                  7916 Ivory Ln                                                    Dallas, TX 75216‐4142                                                                                             First Class Mail
Chartered Organization         South Church Of God                                       Santa Fe Trail Council 194              635 S Washington Ave                                             Liberal, KS 67901                                                                                                 First Class Mail
Chartered Organization         South Church Utd Church Of Christ                         The Spirit of Adventure 227             41 Central St                                                    Andover, MA 01810‐3916                                                                                            First Class Mail
Chartered Organization         South Coast Chinese Cultural Assoc                        Orange County Council 039               9 Truman St                                                      Irvine, CA 92620‐5742                                                                                             First Class Mail
Chartered Organization         South Cobb Recreation Center                              Atlanta Area Council 092                875 Riverside Pkwy                                               Austell, GA 30168‐7064                                                                                            First Class Mail
Chartered Organization         South Congregational Church                               Western Massachusetts Council 234       1066 S East St                                                   Amherst, MA 01002‐3075                                                                                            First Class Mail
Chartered Organization         South Congregational Church                               Cape Cod and Islands Cncl 224           565 Main St                                                      Centerville, MA 02632‐2915                                                                                        First Class Mail
Chartered Organization         South Congregational Church                               Connecticut Rivers Council, Bsa 066     1301 Forbes St                                                   East Hartford, CT 06118‐2807                                                                                      First Class Mail
Chartered Organization         South Dallas Outreach Initiative                          Circle Ten Council 571                  6002 S Central Expwy                                             Dallas, TX 75214                                                                                                  First Class Mail
Chartered Organization         South Dallas Outreach Initiative@Rhoads                   Circle Ten Council 571                  914 Thistle Green Ln                                             Duncanville, TX 75137‐2954                                                                                        First Class Mail
Voting Party                   South Dansville Umc                                       Charles M Giehl                         2489 Derevees Rd                                                 Wayland, NY 14572                                                       37chuc@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   South Dansville United Methodist Church                   Attn: Treasurer                         9667 County Rt, 46 Arkport                                       New York, NY 14807                                                                                                First Class Mail
Chartered Organization         South Dayton Free Methodist Church                        Allegheny Highlands Council 382         327 Pine St                                                      South Dayton, NY 14138                                                                                            First Class Mail
Chartered Organization         South Daytona Christian Church                            Central Florida Council 083             2121 Kenilworth Ave                                              South Daytona, FL 32119‐2707                                                                                      First Class Mail
Chartered Organization         South Denver 93 Temple Assoc                              Denver Area Council 061                 350 S Broadway                                                   Denver, CO 80209‐1512                                                                                             First Class Mail
Voting Party                   South District Union                                      Attn: Jason Tucker                      P.O. Box 3409                                                    Newport Beach, CA 92659                                                 jtucker@fumcsd.org                        Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         South Doyle High School Army Jrotc                        Great Smoky Mountain Council 557        2020 Tipton Station Rd                                           Knoxville, TN 37920‐9502                                                                                          First Class Mail
Chartered Organization         South Doyle Youth Sports                                  Great Smoky Mountain Council 557        7701 Martin Mill Pike                                            Knoxville, TN 37920‐9535                                                                                          First Class Mail
Chartered Organization         South Elkhorn Baptist Church                              Blue Grass Council 204                  4867 Versailles Rd                                               Lexington, KY 40510‐9744                                                                                          First Class Mail
Chartered Organization         South Elkhorn Christian Church                            Blue Grass Council 204                  4343 Harrodsburg Rd                                              Lexington, KY 40513‐9701                                                                                          First Class Mail
Chartered Organization         South End Utd Methodist Church                            Middle Tennessee Council 560            5042 Edmondson Pike                                              Nashville, TN 37211‐5152                                                                                          First Class Mail
Chartered Organization         South Euclid Fire Dept                                    Lake Erie Council 440                   1349 S Green Rd                                                  South Euclid, OH 44121‐3945                                                                                       First Class Mail
Chartered Organization         South Eugene Girls Ultimate                               Oregon Trail Council 697                557 W 27th Pl                                                    Eugene, OR 97405‐2752                                                                                             First Class Mail
Chartered Organization         South Eugene Hs Nordic Ski Team                           Oregon Trail Council 697                400 E 19th Ave                                                   Eugene, OR 97401‐4162                                                                                             First Class Mail
Chartered Organization         South Eugene Ski Racing Team                              Oregon Trail Council 697                400 E 19th Ave                                                   Eugene, OR 97401‐4162                                                                                             First Class Mail
Voting Party                   South Floral Park United Methodist Church                 Attn: Delroy Delano Murdock             276 Louis Ave                                                    South Floral Park, NY 11001                                             sfpumc@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   South Florida Council No 084                              Attn: Jeffrey S Berger                  15255 NW 82nd Ave                                                Miami Lakes, FL 33016                                                   jeff.berger@scouting.org                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   South Florida Council, Inc                                Attn: Jeffrey S Berger                  15255 NW 82nd Ave                                                Miami Lakes, FL 33016                                                   jeff.berger@scouting.org                  Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         South Franklin Fire Dept                                  Laurel Highlands Council 527            101 Jolly School Rd                                              Washington, PA 15301‐9088                                                                                         First Class Mail
Chartered Organization         South Gate Police Dept                                    Greater Los Angeles Area 033            8620 California Ave                                              South Gate, CA 90280‐3004                                                                                         First Class Mail
Voting Party                   South Gate United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         South Gate Utd Methodist                                  Cornhusker Council 324                  3500 Pioneers Blvd                                               Lincoln, NE 68506‐4853                                                                                            First Class Mail
Chartered Organization         South Georgia Baptist                                     Golden Spread Council 562               5209 S Georgia St                                                Amarillo, TX 79110‐3230                                                                                           First Class Mail
Voting Party                   South Georgia Council 098                                 Attn: Mark Manchester                   1841 Norman Dr                                                   Valdosta, GA 31601                                                      mark.manchester@scouting.org              Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         South Georgia Pto                                         Golden Spread Council 562               5018 Susan Dr                                                    Amarillo, TX 79110‐2331                                                                                           First Class Mail
Voting Party                   South Gibson United Methodist (78964)                     c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200            Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   South Glens Falls Umc                                     Attn: Penny L Brink                     15 Maplewood Pkwy                                                South Glens Falls, NY 12803                                             sgfumc1@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   South Greensburg United Methodist Church (98643)          c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200            Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                    Email
                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         South Greensburg Utd Methodist Church                     Westmoreland Fayette 512                411 Sheridan Ave                                                 Greensburg, PA 15601‐5366                                                                                         First Class Mail
Chartered Organization         South Greenville Moose Lodge 749                          Blue Ridge Council 551                  114 Harris Rd                                                    Piedmont, SC 29673‐9659                                                                                           First Class Mail
Chartered Organization         South Gwinnett High School                                Northeast Georgia Council 101           2288 Main St E                                                   Snellville, GA 30078‐3333                                                                                         First Class Mail
Chartered Organization         South Gwinnett Jrotc                                      Northeast Georgia Council 101           2288 Main St E                                                   Snellville, GA 30078‐3333                                                                                         First Class Mail
Voting Party                   South Hadley Methodist Church                             Attn: Peter F Milloy                    74 Pine Grove Dr                                                 S Hadley, MA 01075                                                      pmilloy59@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 339 of 442
                                                                                  Case 20-10343-LSS                                                   Doc 8171                                         Filed 01/06/22                                                        Page 355 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                        Name                                                                                                         Address                                                                                                                Email                      Method of Service
Chartered Organization         South Hampton Pta                                         Greater Alabama Council 001                            565 Sheridan Rd                                               Birmingham, AL 35214‐4629                                                                                        First Class Mail
Chartered Organization         South High School                                         Denver Area Council 061                                1700 E Louisiana Ave                                          Denver, CO 80210‐1810                                                                                            First Class Mail
Chartered Organization         South High School Jrotc                                   Denver Area Council 061                                1700 E Louisiana Ave                                          Denver, CO 80210‐1810                                                                                            First Class Mail
Voting Party                   South Highland United Methodist Church                    Attn: Micah C Campbell                                 20 Broad St                                                   Fishkill, NY 12524                                                       micah.colemancampbell@nyac‐umc.com      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   South Highland United Methodist Church                    Attn: Micah C Campbell                                 216 Main St                                                   Cold Spring, NY 12524                                                    micah.colemancampbell@nyac‐umc.com      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Highlands Elementary Pta                            Norwela Council 215                                    831 Erie St                                                   Shreveport, LA 71106‐1505                                                                                        First Class Mail
Chartered Organization         South Hill Presbyterian Church                            Heart of Virginia Council 602                          914 N Mecklenburg Ave                                         South Hill, VA 23970‐4000                                                                                        First Class Mail
Voting Party                   South Hill Umc                                            c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Inglewood                                           Middle Tennessee Council 560                           1625 Rebecca Ave                                              Nashville, TN 37216                                                                                              First Class Mail
Chartered Organization         South Jacksonville Pto                                    Abraham Lincoln Council 144                            1204 Grandview Ave                                            Jacksonville, IL 62650‐2733                                                                                      First Class Mail
Chartered Organization         South Jefferson Pta                                       Shenandoah Area Council 598                            4599 Summit Point Rd                                          Charles Town, WV 25414‐4673                                                                                      First Class Mail
Chartered Organization         South Joplin Christian Church                             Ozark Trails Council 306                               190 S Pearl Ave                                               Joplin, MO 64801                                                                                                 First Class Mail
Chartered Organization         South Jordan Scouting Org                                 Great Salt Lake Council 590                            9573 S Kirkside Dr                                            South Jordan, UT 84009‐3319                                                                                      First Class Mail
Chartered Organization         South Kalamazoo County Fire Authority                     Southern Shores Fsc 783                                125 S Main St                                                 Vicksburg, MI 49097‐1210                                                                                         First Class Mail
Chartered Organization         South Kensington Fire Dept                                Connecticut Rivers Council, Bsa 066                    737 Worthington Rdg                                           Berlin, CT 06037‐3237                                                                                            First Class Mail
Chartered Organization         South Kingstown Elks Lodge 1899                           Narragansett 546                                       60 Belmont Ave                                                Wakefield, RI 02879‐3402                                                                                         First Class Mail
Chartered Organization         South Knox Elementary Pto                                 Buffalo Trace 156                                      6078 E State Rd 61                                            Vincennes, IN 47591‐8117                                                                                         First Class Mail
Chartered Organization         South Lake Elementary School                              Central Florida Council 083                            3755 Garden St                                                Titusville, FL 32796‐2932                                                                                        First Class Mail
Chartered Organization         South Lake Minnetonka Scouting Assn                       Northern Star Council 250                              7915 Stone Creek Dr, Ste 130                                  Chanhassen, MN 55317‐4616                                                                                        First Class Mail
Chartered Organization         South Lakewood Elementary Pta                             Denver Area Council 061                                8425 W 1st Ave                                                Lakewood, CO 80226‐1218                                                                                          First Class Mail
Chartered Organization         South Line Volunteer Fire Co                              Greater Niagara Frontier Council 380                   1049 French Rd                                                Cheektowaga, NY 14227‐3703                                                                                       First Class Mail
Voting Party                   South Lyon First United Methodist Church                  James Melvin                                           640 South Lafayette                                           South Lyon, MI 48178                                                     SLFUMC@sbcglobal.net                    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   South Lyon First United Methodist Church                  640 S Lafayette                                        South Lyon, MI 48178                                                                                                                   SLFUMC@sbcglobal.net                    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Main Baptist Church                                 Sam Houston Area Council 576                           4300 E Sam Houston Pkwy S                                     Pasadena, TX 77505‐3910                                                                                          First Class Mail
Chartered Organization         South Main Church Of Christ                               East Texas Area Council 585                            402 S Main St                                                 Henderson, TX 75654‐3543                                                                                         First Class Mail
Voting Party                   South Marion United Methodist Church                      1392 390th St                                          Stratford, IA 50249                                                                                                                    calvarysouthmariontreasurer@gmail.com   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Maui Learning Center                                Aloha Council, Bsa 104                                 300 Ohukai Rd                                                 Kihei, HI 96753‐7040                                                                                             First Class Mail
Chartered Organization         South Mecklenburg Presbyterian Church                     Mecklenburg County Council 415                         8601 Bryant Farms Rd                                          Charlotte, NC 28277‐1606                                                                                         First Class Mail
Voting Party                   South Meriden United Methodist Church                     Attn: Jeremiah Paul                                    145 Main St                                                   Meriden, CT 06451                                                        Office@smtrinity.org                    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Mesa Chapel                                         San Diego Imperial Council 049                         202863 San Jacinto Rd                                         Oceanside, CA 92058‐6832                                                                                         First Class Mail
Chartered Organization         South Metro Fire Rescue Authority                         Denver Area Council 061                                9195 E Mineral Ave                                            Englewood, CO 80112‐3549                                                                                         First Class Mail
Chartered Organization         South Miami                                               South Florida Council 084                              Coral Gables Elks Lodge 1676                                  South Miami, FL 33143                                                                                            First Class Mail
Chartered Organization         South Miami Police Explorers                              South Florida Council 084                              6130 Sunset Dr                                                South Miami, FL 33143‐5040                                                                                       First Class Mail
Voting Party                   South Middleboro United Methodist Church                  Attn: Paula J Fletcher                                 563 Wareham St                                                Middleboro, MA 02346                                                     Smiddleboroumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   South Middleboro United Methodist Church                  Attn: Treasurer                                        1 Hummock Way                                                 Fairhaven, MA 02330                                                      pjfletcher1@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   South Middleboro United Methodist Church                  Paula J Fletcher                                       34 Bridge St                                                  Fairhaven, MA 02719                                                      pjfletcher1@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   South Montrose Community Church (080078)                  c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200           Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Mountain Community Center                           Grand Canyon Council 010                               7807 S 1st Dr                                                 Phoenix, AZ 85041‐8002                                                                                           First Class Mail
Voting Party                   South Mundy United Methodist Church                       Attn: Treasurer, South Mundy United Methodist Church   10018 S Linden Rd                                             Grand Blanc, MI 48439                                                    smhumc01@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Norwalk Community Center                            Connecticut Yankee Council Bsa 072                     98 S Main St                                                  Norwalk, CT 06854‐3126                                                                                           First Class Mail
Chartered Organization         South Oldham Rotary                                       Lincoln Heritage Council 205                           P.O. Box 391                                                  Crestwood, KY 40014‐0391                                                                                         First Class Mail
Chartered Organization         South Orange Bpoe Elks Lodge 1154                         Northern New Jersey Council, Bsa 333                   220 Prospect St                                               South Orange, NJ 07079‐1834                                                                                      First Class Mail
Chartered Organization         South Orlando Baptist Church                              Central Florida Council 083                            11513 S Orange Blossom Trl                                    Orlando, FL 32837‐9214                                                                                           First Class Mail
Voting Party                   South Otselic United Methodist Church                     Attn: Treasurer, South Otselic Umc                     P.O. Box 47                                                   South Otselic, NY 13155                                                                                          First Class Mail
Voting Party                   South Park Baptist Church                                 Attn: Chad Weston Bertrand                             1718 S Johnson St                                             Alvin, TX 77511                                                          chad@southparkchurch.net                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Park Community Church                               Denver Area Council 061                                600 Hathaway St                                               Fairplay, CO 80440                                                                                               First Class Mail
Chartered Organization         South Park Lighthouse Temple                              Northern New Jersey Council, Bsa 333                   505 W Market St                                               Newark, NJ 07107‐2122                                                                                            First Class Mail
Voting Party                   South Park United Methodist Church                        c/o Oakwood United Methodist Church                    Attn: Lori L Reiber                                           206 E Hadley Ave                     Oakwood, OH 45419                   pastorlori.oumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   South Parkersburg United Methodist Church                 Attn: Rickey D. Deem                                   1813 Rayon Dr                                                 Parkersburg, WV 26101                                                    rickdeem@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Parkersburg Utd Methodist                           Buckskin 617                                           1810 Rayon Dr                                                 Church                                                                                                           First Class Mail
Chartered Organization         South Pasadena Rotary Foundation Inc                      Greater Los Angeles Area 033                           P.O. Box 362                                                  South Pasadena, CA 91031‐0362                                                                                    First Class Mail
Voting Party                   South Pasadena United Methodist Church                    Attn: Treasurer‐South Pasadena Umc                     699 Monterey Rd                                               South Pasadena, CA 91030‐3617                                            pastsam@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   South Perinton Umc                                        Attn: Sue Parisi                                       5 Cabernet Cir                                                Fairport, NY 14450                                                       sueaparisi@icloud.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   South Perinton Umc                                        Brentley L Smith                                       344 Loud Rd                                                   Fairport, NY 14450                                                       smithfairportny@aol.com                 Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Pittsburg First Baptist Church                      Cherokee Area Council 556                              306 5th St                                                    South Pittsburg, TN 37380‐1330                                                                                   First Class Mail
Chartered Organization         South Plains Church Of Christ                             South Plains Council 694                               6802 Elkhart Ave                                              Lubbock, TX 79424‐1433                                                                                           First Class Mail
Voting Party                   South Plains Council                                      Attn: Matthew L Wade                                   P.O. Box 16197                                                Lubbock, TX 79490                                                        matt.wade@wwlaw.com                     Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Platte Vfw Post 7356                                Heart of America Council 307                           10125 NW Hwy 45                                               Parkville, MO 64152‐3123                                                                                         First Class Mail
Chartered Organization         South Point High School Njrotc                            Piedmont Council 420                                   906 S Point Rd                                                Belmont, NC 28012‐9536                                                                                           First Class Mail
Chartered Organization         South Point Pet Hospital                                  Piedmont Council 420                                   3 N Main St                                                   Belmont, NC 28012‐3155                                                                                           First Class Mail
Chartered Organization         South Pointe Scholars Academy                             Southern Shores Fsc 783                                10550 Geddes Rd                                               Ypsilanti, MI 48198‐9442                                                                                         First Class Mail
Chartered Organization         South Polk Elementary                                     Cherokee Area Council 556                              964 Old Federal Rd                                            Old Fort, TN 37362‐7815                                                                                          First Class Mail
Chartered Organization         South Prairie Elementary School P T O                     Three Fires Council 127                                820 Borden Ave                                                Sycamore, IL 60178‐3270                                                                                          First Class Mail
Chartered Organization         South Presbyterian Church                                 Northern New Jersey Council, Bsa 333                   150 Church St                                                 Bergenfield, NJ 07621                                                                                            First Class Mail
Voting Party                   South Presbyterian Church Yonkers, New York               Attn: Kenneth N Ngwa                                   112 Radford St                                                Yonkers, NY 10705                                                        southpreschurchyonkers@gmail.com        Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   South Reno United Methodist                               Attn: Rev Craig Dale                                   200 De Spain Ln                                               Reno, NV 89511                                                           pastorcraig@southrenoumc.org            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Reno Utd Methodist Church                           Nevada Area Council 329                                200 De Spain Ln                                               Reno, NV 89511‐6071                                                                                              First Class Mail
Voting Party                   South Roanoke United Methodist Church                     Attn: Calvin Witt                                      2330 S Jefferson St                                           Roanoke, VA 24014                                                        kathy@srumc.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Roanoke Utd Methodist Church                        Blue Ridge Mtns Council 599                            2330 Jefferson St Se                                          Roanoke, VA 24014‐2406                                                                                           First Class Mail
Voting Party                   South Salem Presbyterian Church Inc                       c/o Whiteford Taylor & Preston LLP                     Attn: Kenneth M Lewis                                         220 White Plains Rd, 2nd Fl          Tarrytown, NY 10591                 klewis@wtplaw.com                       Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   South Salem Presbyterian Church Inc                       Attn: George Van Marter                                111 Spring St                                                 P.O. Box 399                         South Salem, NY 10590               georgejvanmarter@gmail.com              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   South Salem Presbyterian Church Inc                       c/o Whiteford Taylor & Preston LLP                     Attn: Kenneth Lewis                                           220 White Plains Rd, 2nd Fl          Tarrytown, NY 10591                 georgejvanmarter@gmail.com              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Salem Volunteer Fire Dept                           Westchester Putnam 388                                 P.O. Box 191                                                  South Salem, NY 10590‐0191                                                                                       First Class Mail
Chartered Organization         South San Francisco Police Dept                           Pacific Skyline Council 031                            33 Arroyo Dr                                                  South San Francisco, CA 94080‐3153                                                                               First Class Mail
Chartered Organization         South San Jose Kiwanis Club                               Silicon Valley Monterey Bay 055                        373 Curie Dr                                                  San Jose, CA 95119‐1636                                                                                          First Class Mail
Chartered Organization         South School                                              Mayflower Council 251                                  831 Main St                                                   Hingham, MA 02043‐3629                                                                                           First Class Mail
Chartered Organization         South Seminole Vfw Post 8207                              Central Florida Council 083                            1520 N Ronald Reagan Blvd                                     Longwood, FL 32750‐3405                                                                                          First Class Mail
Chartered Organization         South Shore Rod & Gun Club                                Longhouse Council 373                                  P.O. Box 1875                                                 Cicero, NY 13039‐1875                                                                                            First Class Mail
Chartered Organization         South Shore Trinity Lutheran Church                       Northern Star Council 250                              2480 S Shore Blvd                                             White Bear Lake, MN 55110‐3807                                                                                   First Class Mail
Voting Party                   South Shore Umc                                           11525 Big Bend Rd                                      Riverview, FL 33578                                                                                                                                                            First Class Mail
Voting Party                   South Shore Umc, 11525 Big Bend Rd, Riverview, FL 33578   c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Shore Utd Methodist Church                          Greater Tampa Bay Area 089                             11525 Big Bend Rd                                             Riverview, FL 33579‐7139                                                                                         First Class Mail
Chartered Organization         South Side High School                                    West Tennessee Area Council 559                        84 Harts Bridge Rd                                            Jackson, TN 38301‐7518                                                                                           First Class Mail
Chartered Organization         South Snohomish Scout Alumni Assn                         Mount Baker Council, Bsa 606                           9218 34th Dr Se                                               Everett, WA 98208‐3041                                                                                           First Class Mail
Chartered Organization         South St Paul Police Dept                                 Northern Star Council 250                              125 3rd Ave N                                                 South St Paul, MN 55075‐2093                                                                                     First Class Mail
Chartered Organization         South State Contractors Inc                               Sequoyah Council 713                                   2325 Fairview Rd                                              Afton, TN 37616‐4933                                                                                             First Class Mail
Chartered Organization         South Suburban Christian Church                           Denver Area Council 061                                7275 S Broadway                                               Littleton, CO 80122‐8008                                                                                         First Class Mail
Chartered Organization         South Texas Neon Sign Co, Inc                             South Texas Council 577                                317 Masterson Rd                                              Laredo, TX 78046‐8476                                                                                            First Class Mail
Chartered Organization         South Union Pta                                           Mid Iowa Council 177                                   4201 S Union St                                               Des Moines, IA 50315‐3537                                                                                        First Class Mail
Voting Party                   South United Methodist Church                             Attn: Treasurer Randy Meek                             1226 Main St                                                  Manchester, CT 06040                                                                                             First Class Mail
Chartered Organization         South Valley Fire Dept                                    Nevada Area Council 329                                P.O. Box 19564                                                Reno, NV 89511‐2106                                                                                              First Class Mail
Chartered Organization         South Valley Lodge 187                                    Silicon Valley Monterey Bay 055                        P.O. Box 463                                                  Morgan Hill, CA 95038‐0463                                                                                       First Class Mail
Chartered Organization         South Valley Regional Explorers                           Great Salt Lake Council 590                            7365 S 4450 W                                                 West Jordan, UT 84084‐7804                                                                                       First Class Mail
Chartered Organization         South Valley Volunteer Fire Dept                          Nevada Area Council 329                                P.O. Box 18073                                                Reno, NV 89511‐0073                                                                                              First Class Mail
Voting Party                   South Vineland United Methodist Church                    c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200             Tampa, FL 33602                     erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Vineland Utd Methodist Church                       Garden State Council 690                               2724 S Main Rd                                                Vineland, NJ 08360‐7161                                                                                          First Class Mail
Chartered Organization         South Wall Fire Co                                        Monmouth Council, Bsa 347                              P.O. Box 69                                                   Allenwood, NJ 08720‐0069                                                                                         First Class Mail
Voting Party                   South Walpole United Methodist Church                     Attn: Treasurer                                        1886 Washington St                                            P.O. Box 144                         South Walpole, MA 02071             phil@swumc.com                          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Webster Community Church                            Simon Kenton Council 441                               P.O. Box 156                                                  South Webster, OH 45682‐0156                                                                                     First Class Mail
Chartered Organization         South West Church Of Christ                               Mid‐America Council 326                                2600 S 124th St                                               Omaha, NE 68144‐2707                                                                                             First Class Mail
Chartered Organization         South Whidbey Lions Club                                  Mount Baker Council, Bsa 606                           P.O. Box 45                                                   Langley, WA 98260‐0045                                                                                           First Class Mail
Chartered Organization         South Whitehall Police Dept                               Attn: John Christmam                                   4444 Walbert Ave                                              Allentown, PA 18104‐1619                                                                                         First Class Mail
Voting Party                   South Whitley Umc Of Indiana, Inc                         Attn: Treasurer, South Whitley Umc                     6685 W State Rd 14                                            South Whitley, IN 46787                                                  gto@embarqmail.com                      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   South Williamsport Umc (08680)                            c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200           Pittsburgh, PA 15228                lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Windsor Volunteer Fire Dept                         Connecticut Rivers Council, Bsa 066                    1175 Ellington Rd                                             South Windsor, CT 06074‐2602                                                                                     First Class Mail
Voting Party                   South Yarmouth United Methodist Church                    Attn: John Mueller                                     324 Old Main St                                               Yarmouth, MA 02664                                                       johnmueller@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         South Yuba Co Sunrise Rotary                              Golden Empire Council 047                              P.O. Box 5664                                                 Marysville, CA 95901‐8548                                                                                        First Class Mail
Chartered Organization         Southampton Road School Ptg                               Western Massachusetts Council 234                      330 Southampton Rd                                            Westfield, MA 01085‐1325                                                                                         First Class Mail
Chartered Organization         Southampton Town Police Dept                              Suffolk County Council Inc 404                         110 Old Riverhead Rd                                          Hampton Bays, NY 11946‐2007                                                                                      First Class Mail
Chartered Organization         Southampton Youth Bureau                                  Suffolk County Council Inc 404                         655 Flanders Rd                                               Flanders, NY 11901‐3851                                                                                          First Class Mail
Voting Party                   Southaven First United Methodist Church                   Southaven First United Methodist Church                723 Star Landing Rd E                                         Nesbit, MS 38651                                                         southerfirstumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Southaven First United Methodist Church                   Jerry Lester Jenkins                                   723 Star Landing Rd E                                         Nesbit, MS 38651‐8927                                                    southavenfirstUMC@gmail.com             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Southaven First Utd Methodist Church                      Chickasaw Council 558                                  723 Star Landing Rd                                           Nesbit, MS 38651‐8927                                                                                            First Class Mail
Chartered Organization         Southaven Police Dept                                     Chickasaw Council 558                                  8791 Northwest Dr                                             Southaven, MS 38671‐2409                                                                                         First Class Mail
Chartered Organization         Southbay Rod & Gun Club                                   San Diego Imperial Council 049                         P.O. Box 26027                                                San Diego, CA 92196‐0027                                                                                         First Class Mail
Chartered Organization         Southbounder Day Camp                                     Blue Ridge Council 551                                 904 Townes St                                                 Greenville, SC 29609‐5500                                                                                        First Class Mail
Chartered Organization         Southbridge ‐ Saint John Paul Ii Parish                   Heart of New England Council 230                       279 Hamilton St                                               Southbridge, MA 01550‐1815                                                                                       First Class Mail
Chartered Organization         Southbury Volunteer Firemen'S Assoc                       Connecticut Rivers Council, Bsa 066                    P.O. Box 911                                                  Southbury, CT 06488‐0911                                                                                         First Class Mail
Chartered Organization         Southeast Christian Church                                Great Salt Lake Council 590                            1881 E Vine St                                                Salt Lake City, UT 84121‐2164                                                                                    First Class Mail
Chartered Organization         Southeast Church Of Christ                                Denver Area Council 061                                14601 E Yale Ave                                              Aurora, CO 80014‐2401                                                                                            First Class Mail
Chartered Organization         Southeast Church Of Christ                                Sam Houston Area Council 576                           2400 W Bay Area Blvd                                          Friendswood, TX 77546‐2648                                                                                       First Class Mail
Chartered Organization         Southeast Community Center                                Middle Tennessee Council 560                           5260 Hickory Hollow Pkwy                                      Antioch, TN 37013‐3035                                                                                           First Class Mail
Chartered Organization         Southeast Elementary School Pto                           Three Fires Council 127                                718 S Locust St                                               Sycamore, IL 60178‐2227                                                                                          First Class Mail
Chartered Organization         Southeast Georgia Health System                           Coastal Georgia Council 099                            2415 Parkwood Dr                                              Brunswick, GA 31520‐4722                                                                                         First Class Mail
Voting Party                   Southeast Louisiana Cncl 214                              4200 S I 10 Service Rd W, Ste 101                      Metairie, LA 70001‐1237                                                                                                                                                        First Class Mail
Voting Party                   Southeast Louisiana Council                               Attn: Torrey Hayden                                    4200 S I‐10 Service Rd W, Ste 101                             Metairie, LA 70001                                                       sela@bsamail.org                        Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Southeast Scout Program                                   Greater Los Angeles Area 033                           3380 E 50th St                                                Vernon, CA 90058‐3015                                                                                            First Class Mail
Voting Party                   Southeastern Chemical Co Inc                              Attn: Linda Mays                                       406 Temple St                                                 Beckley, WV 25801                                                        lindamays@suddenlinkmail.com            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Southern Air, Inc                                         Attn: Carole A Martin                                  P.O. Box 4205                                                 Lynchburg, VA 24502                                                      carole.martin@southern‐air.com          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Southern Alameda County Buddhist Church                   San Francisco Bay Area Council 028                     32975 Alvarado Niles Rd                                       Union City, CA 94587‐3165                                                                                        First Class Mail
Chartered Organization         Southern Caswell Ruritan                                  Old N State Council 070                                9614 Nc‐62                                                    Burlington, NC 27217                                                                                             First Class Mail
Voting Party                   Southern First United Methodist Church                    723 Star Landing Rd E                                  Nesbit, MS 38651                                                                                                                       southernfirstumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Southern Flame Propane                                    Indian Waters Council 553                              215 Oak Dr                                                    Lexington, SC 29073‐7649                                                                                         First Class Mail
Chartered Organization         Southern Heights Presbyterian Church                      Cornhusker Council 324                                 5750 S 40th St                                                Lincoln, NE 68516‐2802                                                                                           First Class Mail
Chartered Organization         Southern Hills Christian Church                           Last Frontier Council 480                              3207 S Blvd                                                   Edmond, OK 73013‐5311                                                                                            First Class Mail
Chartered Organization         Southern Hills Christian Church Ltd                       Atlanta Area Council 092                               1103 N Hwy 113                                                Carrollton, GA 30117‐7405                                                                                        First Class Mail
Voting Party                   Southern Hills United Methodist Church                    Attn: Richard Arnold                                   2356 Harrodsburg Rd                                           Lexington, KY 40503                                                      rarnold@southernhillsumc.org            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Southern Hills United Methodist Church ‐ Tulsa            Attn: Tom F Mcelroy                                    6160 S Lewis Ave                                              Tulsa, OK 74136                                                          tmcelroy@shumc‐tulsa.com                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Southern Hills Utd Methodist Church                       Last Frontier Council 480                              8200 S Pennsylvania Ave                                       Oklahoma City, OK 73159‐5202                                                                                     First Class Mail
Chartered Organization         Southern Michigan National Bank                           Southern Shores Fsc 783                                225 N Broadway St                                             Union City, MI 49094‐1153                                                                                        First Class Mail
Chartered Organization         Southern Mission Church                                   Greater St Louis Area Council 312                      2801 State St                                                 East Saint Louis, IL 62205‐2232                                                                                  First Class Mail
Chartered Organization         Southern Nv Law Enforcement                               Leadership Explorer Program                            1530 Sandra Dr                                                Boulder City, NV 89005‐3440                                                                                      First Class Mail
Chartered Organization         Southern Pines                                            Crossroads of America 160                              4110 S Pinewood Dr                                            Muncie, IN 47302‐6201                                                                                            First Class Mail
Chartered Organization         Southern Thunder Trucking                                 Westark Area Council 016                               2308 Witcherville Rd                                          Greenwood, AR 72936‐8571                                                                                         First Class Mail
Chartered Organization         Southern York County Rotary Club                          New Birth of Freedom 544                               18158 Amanda Ln                                               New Freedom, PA 17349‐8329                                                                                       First Class Mail
Chartered Organization         Southern York County Rotary Club                          New Birth of Freedom 544                               P.O. Box 36                                                   Shrewsbury, PA 17361‐0036                                                                                        First Class Mail
Chartered Organization         Southfield School                                         Norwela Council 215                                    1100 Southfield Rd                                            Shreveport, LA 71106‐1722                                                                                        First Class Mail
Chartered Organization         Southgate American Legion Post 478                        Great Lakes Fsc 272                                    16200 Dix Toledo Rd                                           Southgate, MI 48195‐2941                                                                                         First Class Mail
Chartered Organization         Southgate Church Of Christ                                Simon Kenton Council 441                               1075 S 30th St                                                Heath, OH 43056‐1116                                                                                             First Class Mail
Chartered Organization         Southgate Rotory                                          Great Lakes Fsc 272                                    15032 Fort St                                                 Southgate, MI 48195‐1301                                                                                         First Class Mail
Chartered Organization         Southlake Kiwanis Club                                    Longhorn Council 662                                   P.O. Box 93524                                                Southlake, TX 76092‐0114                                                                                         First Class Mail
Chartered Organization         Southland Baptist Church                                  Texas Swest Council 741                                4300 Meadow Creek Trl                                         San Angelo, TX 76904‐6373                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 340 of 442
                                                                                 Case 20-10343-LSS                                                       Doc 8171                                           Filed 01/06/22                                                   Page 356 of 457
                                                                                                                                                                                               Exhibit B
                                                                                                                                                                                                Service List
                                                                                                                                                                                         Served as set forth below

        Description                                                       Name                                                                                                               Address                                                                                                                          Email              Method of Service
Chartered Organization         Southmayd Elementary                                         Sam Houston Area Council 576                            1800 Coral St                                                  Houston, TX 77012‐3123                                                                                             First Class Mail
Chartered Organization         Southminster Presbyterian Church                             Pathway To Adventure 456                                916 E Central Rd                                               Arlington Heights, IL 60005‐3216                                                                                   First Class Mail
Chartered Organization         Southminster Presbyterian Church                             Miami Valley Council, Bsa 444                           7001 Far Hills Ave                                             Centerville, OH 45459‐4203                                                                                         First Class Mail
Chartered Organization         Southminster Presbyterian Church                             Sam Houston Area Council 576                            4200 Cartwright Rd                                             Missouri City, TX 77459‐2449                                                                                       First Class Mail
Chartered Organization         Southminster Presbyterian Church                             Middle Tennessee Council 560                            643 Harding Pl                                                 Nashville, TN 37211‐4469                                                                                           First Class Mail
Chartered Organization         Southminster Presbyterian Church                             Heart of Virginia Council 602                           7500 Hull St Rd                                                North Chesterfield, VA 23235‐5810                                                                                  First Class Mail
Chartered Organization         Southminster Presbyterian Church                             Last Frontier Council 480                               3415 S Wern Ave                                                Oklahoma City, OK 73109                                                                                            First Class Mail
Chartered Organization         Southminster Presbyterian Church                             Laurel Highlands Council 527                            799 Washington Rd                                              Pittsburgh, PA 15228‐2001                                                                                          First Class Mail
Chartered Organization         Southminster Presbyterian Church                             Indian Nations Council 488                              3500 S Peoria Ave                                              Tulsa, OK 74105‐2529                                                                                               First Class Mail
Chartered Organization         Southminster Presbyterian Church                             Greater Alabama Council 001                             1124 Montgomery Hwy                                            Vestavia Hills, AL 35216‐2808                                                                                      First Class Mail
Voting Party                   Southminster Presbyterian Church                             Attn: Steven J Davis, Esq                               10050 Innovation Dr, Ste 400                                   Miamisburg, OH 45342                                                            steve.davis@thompsonhine.com       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Southminster Presbyterian Church                             Attn: Steven J. Davis, Esq.                             10050 Innovation Dr, Ste 400                                   Miamisburg, OH 45342                                                            steve.davis@thompsonhine.com       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Southminster Presbyterian Church                             Attn: Sharon D Andrews                                  19834 8th Ave S                                                Des Moines, WA 98148                                                            spc@spcdesmoines.org               Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Southmoreland Elementary School                              Westmoreland Fayette 512                                100 Scottie Way                                                Scottdale, PA 15683‐1065                                                                                           First Class Mail
Chartered Organization         Southmoreland High School                                    Westmoreland Fayette 512                                2351 Route 981                                                 Alverton, PA 15612                                                                                                 First Class Mail
Chartered Organization         Southmoreland Middle School                                  Westmoreland Fayette 512                                200 Scottie Way                                                Scottdale, PA 15683‐1066                                                                                           First Class Mail
Chartered Organization         Southmoreland Primary Center                                 Westmoreland Fayette 512                                105 Equity Dr                                                  Greensburg, PA 15601                                                                                               First Class Mail
Voting Party                   Southpark United Methodist Church ‐ Charlotte                c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200            Tampa, FL 33602                             erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Southport Christian Church                                   Dba Tapestry Church                                     Attn: Board Chair, Tapestry Church                             1001 N State Rd 135, Ste A1         Greenwood, IN 46142                         rjohnson@ccf.disciples.org         Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Southport Police Dept                                        Crossroads of America 160                               137 Worman St                                                  Southport, IN 46227‐5124                                                                                           First Class Mail
Chartered Organization         Southport Presbyterian Church                                Cape Fear Council 425                                   1025 E Moore St                                                Southport, NC 28461‐3615                                                                                           First Class Mail
Voting Party                   Southport United Methodist Church                            Attn: Nancy Harriman, Chair of Southport Umc Trustees   P.O. Box 143                                                   372 Hendricks Hill Rd               Southport, ME 04576                         docksfree@roadrunner.com           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Southport United Methodist Church                            Attn: Brandon Collins                                   1947 E Southport Rd                                            Indianapolis, IN 46227                                                          Brandon@sumc.org                   Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Southridge Presbyterian Church                               Heart of America Council 307                            5015 Buena Vista St                                            Roeland Park, KS 66205‐1314                                                                                        First Class Mail
Chartered Organization         Southridge Senior High                                       South Florida Council 084                               19355 SW 114th Ave                                             Miami, FL 33157‐8107                                                                                               First Class Mail
Chartered Organization         Southside Baptist Church                                     Last Frontier Council 480                               718 S Post Rd                                                  Midwest City, OK 73130‐4622                                                                                        First Class Mail
Chartered Organization         Southside Baptist Church                                     Cape Fear Council 425                                   3320 S College Rd                                              Wilmington, NC 28412‐0906                                                                                          First Class Mail
Chartered Organization         Southside Church Of God In Christ                            North Florida Council 087                               2179 Emerson St                                                Jacksonville, FL 32207‐5543                                                                                        First Class Mail
Chartered Organization         Southside Elementary                                         Lincoln Heritage Council 205                            728 Ginkgo Dr                                                  Shelbyville, KY 40065‐1271                                                                                         First Class Mail
Chartered Organization         Southside Elementary Charter School                          Narragansett 546                                        135 Prairie Ave                                                Providence, RI 02905‐2413                                                                                          First Class Mail
Chartered Organization         Southside Elementary School Pto                              Middle Tennessee Council 560                            1224 Murfreesboro Rd                                           Lebanon, TN 37090‐5301                                                                                             First Class Mail
Chartered Organization         Southside Health Education Foundation                        Heart of Virginia Council 602                           P.O. Box 867                                                   Colonial Heights, VA 23834‐0867                                                                                    First Class Mail
Chartered Organization         Southside Pto                                                Hoosier Trails Council 145 145                          1320 W 200 S                                                   Columbus, IN 47201‐4822                                                                                            First Class Mail
Voting Party                   Southside United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200            Tampa, FL 33602                             erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Southside Utd Methodist Church                               North Florida Council 087                               3120 Hendricks Ave                                             Jacksonville, FL 32207‐4218                                                                                        First Class Mail
Chartered Organization         Southside Utd Methodist Church                               Greater Alabama Council 001                             2438 Cedar Bend Rd N                                           Southside, AL 35907‐7203                                                                                           First Class Mail
Chartered Organization         Southview Christian Church                                   Cornhusker Council 324                                  2040 S 22nd St                                                 Lincoln, NE 68502‐2714                                                                                             First Class Mail
Chartered Organization         Southview Elementary School Pto                              Crossroads of America 160                               2100 S Franklin St                                             Muncie, IN 47302‐5082                                                                                              First Class Mail
Chartered Organization         Southview School Pto                                         Greater St Louis Area Council 312                       2482 Marshall Rd                                               Saint Louis, MO 63122‐6706                                                                                         First Class Mail
Voting Party                   Southview Umc                                                c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200            Tampa, FL 33602                             erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Southview Utd Methodist Church                               Blue Ridge Mtns Council 599                             3539 Peters Creek Rd Nw                                        Roanoke, VA 24019‐2807                                                                                             First Class Mail
Chartered Organization         Southwest Area Neighborhood Assoc                            Seneca Waterways 397                                    275 Dr Samuel Mccree Way                                       Rochester, NY 14611‐3436                                                                                           First Class Mail
Chartered Organization         Southwest Christian School                                   Longhorn Council 662                                    6801 Dan Danciger Rd                                           Fort Worth, TX 76133‐4903                                                                                          First Class Mail
Chartered Organization         Southwest Church                                             Dan Beard Council, Bsa 438                              150 Remick Blvd                                                Springboro, OH 45066‐8009                                                                                          First Class Mail
Chartered Organization         Southwest Cuyahoga Recreation Center                         Great Trail 433                                         716 W 130th St                                                 Brunswick, OH 44212                                                                                                First Class Mail
Chartered Organization         Southwest Elementary                                         Crossroads of America 160                               619 W Smith Valley Rd                                          Greenwood, IN 46142‐3048                                                                                           First Class Mail
Chartered Organization         Southwest Fargo Optimist                                     Northern Lights Council 429                             P.O. Box 9124                                                  Fargo, ND 58106‐9124                                                                                               First Class Mail
Chartered Organization         Southwest Fargo Optimist Club                                c/o Ray Morgan                                          P.O. Box 9124                                                  Fargo, ND 58106‐9124                                                                                               First Class Mail
Chartered Organization         Southwest Fire Dept                                          Hoosier Trails Council 145 145                          8500 S State Rd 58                                             Columbus, IN 47201‐5002                                                                                            First Class Mail
Chartered Organization         Southwest General Hospital                                   Lake Erie Council 440                                   18697 Bagley Rd                                                Middleburg Heights, OH 44130‐3417                                                                                  First Class Mail
Chartered Organization         Southwest Ismaili Boy Scout                                  Sam Houston Area Council 576                            1700 First Colony Blvd                                         Sugar Land, TX 77479‐4297                                                                                          First Class Mail
Chartered Organization         South‐West Kiwanis Club                                      W D Boyce 138                                           P.O. Box 9335                                                  Peoria, IL 61612‐9335                                                                                              First Class Mail
Chartered Organization         Southwest Orlando Jewish Congregation                        Central Florida Council 083                             11200 S Apopka Vineland Rd                                     Orlando, FL 32836‐6152                                                                                             First Class Mail
Chartered Organization         Southwest Virginia Foundation                                Sequoyah Council 713                                    27353 Fairhaven Rd                                             Abingdon, VA 24211‐6405                                                                                            First Class Mail
Chartered Organization         Southwestern Elementary Pto                                  Crossroads of America 160                               3406 W 600 S                                                   Shelbyville, IN 46176‐9631                                                                                         First Class Mail
Voting Party                   Southwick Community Church (Southwick)                       c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                          159 Main St                         Nashua, NH 03060                            peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Southwick Congregational Church                              Western Massachusetts Council 234                       P.O. Box 260                                                   Southwick, MA 01077‐0260                                                                                           First Class Mail
Chartered Organization         Southwind Villas Housing Complex                             North Florida Council 087                               8711 Newton Rd                                                 Jacksonville, FL 32216‐0410                                                                                        First Class Mail
Chartered Organization         Southwinds 100 Inc                                           Atlanta Area Council 092                                1034 Atherton Ln                                               Woodstock, GA 30189‐2375                                                                                           First Class Mail
Chartered Organization         Southwood Apartments                                         Heart of Virginia Council 602                           1200 Southwood Pkwy                                            Richmond, VA 23224‐3139                                                                                            First Class Mail
Chartered Organization         Southwood Elementary Pta                                     Simon Kenton Council 441                                1500 S 4th St                                                  Columbus, OH 43207‐1040                                                                                            First Class Mail
Chartered Organization         Southwood Lutheran Church                                    Cornhusker Council 324                                  9300 S 40th St                                                 Lincoln, NE 68516‐9460                                                                                             First Class Mail
Voting Party                   Southwood Lutheran Church, Inc.                              Attn: Lori Changstrom, Dir of Admin/Fina                4301 Wilderness Hills Blv                                      Lincoln, NE 68516                                                               bmoore@remboltlawfirm.com          Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Southwood School Pto                                         Sagamore Council 162                                    840 E State Rd 124                                             Wabash, IN 46992‐9156                                                                                              First Class Mail
Chartered Organization         Sovereign Military Order                                     Temple Jerusalem, Smotj                                 113 Suffolk Cres                                               Brentwood, TN 37027‐4873                                                                                           First Class Mail
Chartered Organization         Sovereignmilitary Order Temple Jerusalem                     Middle Tennessee Council 560                            113 Suffolk Cres                                               Brentwood, TN 37027‐4873                                                                                           First Class Mail
Chartered Organization         Sp Surgical Products Inc                                     Puerto Rico Council 661                                 P.O. Box 6567                                                  Caguas, PR 00726‐6567                                                                                              First Class Mail
Chartered Organization         Space Coast Water Ski Club                                   Central Florida Council 083                             2535 Stillwater Lakes Dr SW                                    Palm Bay, FL 32908‐1370                                                                                            First Class Mail
Firm                           Spagnoletti Law Firm                                         Marc Evan Kutner                                        401 Louisiana St, 8th Fl                                       Houston, TX 77002                                                               mkutner@spaglaw.com                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Spanaway Lutheran Church                                     Pacific Harbors Council, Bsa 612                        16001 A St S                                                   Spanaway, WA 98387‐8272                                                                                            First Class Mail
Voting Party                   Spanaway Lutheran Church                                     Attn: Rev John Schier‐Hanson                            P.O. Box 1300                                                  Spanaway, WA 98387                                                              pastor@spanawaylutheran.org        Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Spanaway United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200            Tampa, FL 33602                             erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Spanaway Utd Methodist Church                                Pacific Harbors Council, Bsa 612                        P.O. Box 178                                                   Spanaway, WA 98387‐0178                                                                                            First Class Mail
Chartered Organization         Spangdahlem Fire Fighters Assoc                              Transatlantic Council, Bsa 802                          Psc 9 Box 1745                                                 Apo, AE 09123‐0018                                                                                                 First Class Mail
Chartered Organization         Spanish Fork                                                 Salem Area Chamber of Commerce                          40 S Main St                                                   Spanish Fork, UT 84660‐2031                                                                                        First Class Mail
Chartered Organization         Spanish Fort Fire Rescue Inc                                 Mobile Area Council‐Bsa 004                             7580 Spanish Fort Blvd                                         Spanish Fort, AL 36527‐5314                                                                                        First Class Mail
Voting Party                   Spanish Fort Presbyterian Church                             6620 Spanish Fort Blvd                                  Spanish Fort, AL 36527                                                                                                                         jdon_smith@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Spanish River Church                                         Gulf Stream Council 085                                 2400 NW 51st St                                                Boca Raton, FL 33431‐8403                                                                                          First Class Mail
Chartered Organization         Spanks Handyman & Lawn Service                               Central Florida Council 083                             301 Bolander Ave                                               Deltona, FL 32725‐9094                                                                                             First Class Mail
Chartered Organization         Spark Power Parents                                          Circle Ten Council 571                                  13273 Sellaronda Way                                           Frisco, TX 75035‐4447                                                                                              First Class Mail
Voting Party                   Sparkfun Electronics, Inc                                    c/o Fair Harbor Capital LLC                             Attn: Victor Knox                                              P.O. Box 237037                     New York, NY 10023                          vknox@fairharborcapital.com        Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sparks Greenbrae Lions Club                                  Nevada Area Council 329                                 2147 Valencia Way                                              Sparks, NV 89434‐8623                                                                                              First Class Mail
Chartered Organization         Sparks Middle School Team Up                                 Nevada Area Council 329                                 535 E Plumb Ln                                                 Reno, NV 89502‐3503                                                                                                First Class Mail
Chartered Organization         Sparks Police Dept                                           Nevada Area Council 329                                 1701 E Prater Way                                              Sparks, NV 89434‐8979                                                                                              First Class Mail
Voting Party                   Sparks United Methodist Church                               Attn: BOT Sec                                           1231 Pyramid Way                                               Sparks, NV 89431                                                                dalelindas@gbis.com                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sparks/Spanish Springs Lion'S Club                           Nevada Area Council 329                                 49 Marilyn Mae Dr                                              Sparks, NV 89441‐6235                                                                                              First Class Mail
Voting Party                   Sparr                                                        c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200            Tampa, FL 33602                             erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sparr Utd Methodist Church                                   North Florida Council 087                               P.O. Box 777                                                   Sparr, FL 32192‐0777                                                                                               First Class Mail
Chartered Organization         Sparrow Lodge 400                                            Simon Kenton Council 441                                85 S Morning St                                                Sunbury, OH 43074                                                                                                  First Class Mail
Chartered Organization         Sparrow Lodge No 400 F&Am                                    Simon Kenton Council 441                                4422 Columbus Pike                                             Sunbury, OH 43074                                                                                                  First Class Mail
Chartered Organization         Sparrows Nest Inc                                            Old N State Council 070                                 908A N Josephine Boyd St                                       Greensboro, NC 27408‐8210                                                                                          First Class Mail
Voting Party                   Sparta ‐ Sparta                                              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200            Tampa, FL 33602                             erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sparta Fire Dept                                             Greater St Louis Area Council 312                       107 E Jackson St                                               Sparta, IL 62286‐1858                                                                                              First Class Mail
Chartered Organization         Sparta Moose Lodge                                           President Gerald R Ford 781                             P.O. Box 45                                                    Sparta, MI 49345‐0045                                                                                              First Class Mail
Chartered Organization         Sparta Moose Lodge 50                                        President Gerald R Ford 781                             11510 N Div Ave                                                Sparta, MI 49345‐8420                                                                                              First Class Mail
Voting Party                   Sparta United Methodist Church                               Attn: Beverly Donahue                                   210 N Court St                                                 Sparta, WI 54656                                                                office@spartamethodist.com         Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sparta United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200            Tampa, FL 33602                             erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sparta Utd Methodist Church                                  Patriots Path Council 358                               71 Sparta Ave                                                  Sparta, NJ 07871‐1822                                                                                              First Class Mail
Chartered Organization         Sparta Vfw Post 2112                                         Gateway Area 624                                        121 S Rusk Ave                                                 Sparta, WI 54656‐1955                                                                                              First Class Mail
Chartered Organization         Spartanburg American Legion Post 28                          Palmetto Council 549                                    94 W Park Dr                                                   Spartanburg, SC 29306‐5014                                                                                         First Class Mail
Chartered Organization         Spearfish American Legion Post 164                           Black Hills Area Council 695 695                        P.O. Box 583                                                   Spearfish, SD 57783‐0583                                                                                           First Class Mail
Chartered Organization         Spearfish Fire Dept                                          Black Hills Area Council 695 695                        625 N 5th St                                                   Spearfish, SD 57783‐2311                                                                                           First Class Mail
Chartered Organization         Spearman Lions Club                                          Golden Spread Council 562                               P.O. Box 342                                                   Spearman, TX 79081‐0342                                                                                            First Class Mail
Chartered Organization         Special Forces Assoc Chapter 9                               Yucca Council 573                                       10636 Park View Cir                                            El Paso, TX 79935‐3217                                                                                             First Class Mail
Voting Party                   Speedway Christian Church                                    Attn: Katie Griffin                                     5110 W 14th St                                                 Speedway, IN 46224                                                              kgriffin@speedwaychristian.org     Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Speedway United Methodist Church                             5065 W 16th St                                          Speedway, IN 46224                                                                                                                             sbradley@speedway‐umc.org          Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Speedwell Presbyterian And Fairview                          Old N State Council 070                                 2531 Flat Rock Rd                                              Reidsville, NC 27320‐7658                                                                                          First Class Mail
Chartered Organization         Spencer ‐ Mary, Queen Of The Rosary                          Heart of New England Council 230                        60 Maple St                                                    Spencer, MA 01562‐2529                                                                                             First Class Mail
Voting Party                   Spencer Federated Church                                     Attn: Harry Roger Ritzler                               70 N Main St                                                   Spencer, NY 14883                                                               bampax10@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Spencer Federated Church                                     Attn: Harry Ritzler                                     P.O. Box 321                                                   Spencer, NY 14883                                                               bampax10@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Spencer Gaudette Kirk Post 138                               American Legion                                         175 Main St                                                    Spencer, MA 01562‐1711                                                                                             First Class Mail
Chartered Organization         Spencer Kids Group                                           Samoset Council, Bsa 627                                P.O. Box 15                                                    Spencer, WI 54479‐0015                                                                                             First Class Mail
Firm                           SPENCER LAW GROUP                                            JONATHAN K. KURTZ                                       2224 REGENCY ROAD                                              Lexington, KY 40503                                                             JONATHAN@SPENCERLAWGROUP.COM       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Spencer Lions Club                                           Hoosier Trails Council 145 145                          59 N Main St                                                   Spencer, IN 47460‐1311                                                                                             First Class Mail
Chartered Organization         Spencer Lions Club                                           Samoset Council, Bsa 627                                408 W Clark St                                                 Spencer, WI 54479‐9767                                                                                             First Class Mail
Chartered Organization         Spencer Lodge 290 F & Am                                     Baden‐Powell Council 368                                P.O. Box 333                                                   Spencer, NY 14883‐0333                                                                                             First Class Mail
Chartered Organization         Spencer Miller School                                        Northern New Jersey Council, Bsa 333                    66 Muhammad Ali Ave                                            Newark, NJ 07108‐2914                                                                                              First Class Mail
Voting Party                   Spencer Umc                                                  Attn: Rev Alan R Nagel                                  P.O. Box 415                                                   Spencer, OK 73084                                                               pastor@oknagel.com                 Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Spencer United Methodist Church                              Attn: Andrew Baker                                      95 W Franklin St                                               Spencer, IN 47460                                                                                                  First Class Mail
Chartered Organization         Spencer Utd Methodist Church                                 Last Frontier Council 480                               8600 NE 47th St                                                Spencer, OK 73084‐2010                                                                                             First Class Mail
Chartered Organization         Spencerport Fire Dept                                        Seneca Waterways 397                                    175 Lyell Ave                                                  Spencerport, NY 14559‐1815                                                                                         First Class Mail
Voting Party                   Spengler Nathanson Pll                                       Richard Ernest Wolff                                    900 Adams St                                                   Toledo, OH 43604                                                                cfwrew1@bex.net                    Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Spg Lake Park High Sch Oec Dist 16                           Northern Star Council 250                               1100 81st Ave Ne                                               Spring Lake Park, MN 55432‐2097                                                                                    First Class Mail
Chartered Organization         Spiceland Friends Church                                     Crossroads of America 160                               P.O. Box 409                                                   Spiceland, IN 47385‐0409                                                                                           First Class Mail
Chartered Organization         Spicewood Baptist Church                                     Capitol Area Council 564                                7903 County Rd 404                                             Spicewood, TX 78669‐4019                                                                                           First Class Mail
Chartered Organization         Spindale Utd Methodist Church Men                            Piedmont Council 420                                    P.O. Box 241                                                   Spindale, NC 28160‐0241                                                                                            First Class Mail
Chartered Organization         Spinnaker Pediatric Dentistry Pc                             Cascade Pacific Council 492                             1105 12th St Se                                                Salem, OR 97302‐2810                                                                                               First Class Mail
Chartered Organization         Spirit And Truth Worship Center                              Coastal Georgia Council 099                             63 E Main St                                                   Statesboro, GA 30458‐4803                                                                                          First Class Mail
Chartered Organization         Spirit Areosystems                                           Quivira Council, Bsa 198                                3801 S Oliver St                                               Wichita, KS 67210‐2112                                                                                             First Class Mail
Chartered Organization         Spirit Lake Kiwanis Club                                     Mid‐America Council 326                                 1003 26th St                                                   Spirit Lake, IA 51360‐1117                                                                                         First Class Mail
Voting Party                   Spirit Lake United Methodist Church                          Attn: Treasurer                                         1812 Gary Ave                                                  Spirit Lake, IA 51360                                                           office@spiritlakeumc.org           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Spirit Of Adventure Council (#227)                           c/o Nixo                                                Attn: Darius Gerald Brown                                      53 State St, Fl 31                  Exchange Pl              Boston, MA 02109   dgbrown@nixonpeabody.com           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Spirit Of Adventure Council (#227)                           Attn: Darius Gerald Brown                               2 Tower Office Park                                            Woburn, MA 01801                                                                chuck.eaton@scouting.org           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Spirit Of Adventure Council (#227)                           2 Tower Office Park                                     Woburn, MA 01801                                                                                                                               Chuck.Eaton@scouting.org           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Spirit Of Christ Catholic Community                          Denver Area Council 061                                 7400 W 80th Ave                                                Arvada, CO 80003‐2112                                                                                              First Class Mail
Chartered Organization         Spirit Of Hope Church                                        Cornhusker Council 324                                  5801 NW 1st St                                                 Lincoln, NE 68521‐4476                                                                                             First Class Mail
Voting Party                   Spirit Of Hope United Methodist Church                       Attn: Warren Harrison, Trustee                          4300 S Lincoln St                                              Englewood, CO 80113                                                                                                First Class Mail
Chartered Organization         Spirit Of Hope Utd Methodist Church                          Northern Star Council 250                               7600 Harold Ave                                                Golden Valley, MN 55427‐4820                                                                                       First Class Mail
Chartered Organization         Spirit Of Joy Church                                         Central Florida Council 083                             1801 Rouse Rd                                                  Orlando, FL 32817‐4513                                                                                             First Class Mail
Chartered Organization         Spirit Of Joy Lutheran Church                                Sioux Council 733                                       2208 W Laquinta St                                             Sioux Falls, SD 57108‐3014                                                                                         First Class Mail
Chartered Organization         Spirit Of Life Lutheran Church                               North Florida Council 087                               2636 New Berlin Rd                                             Jacksonville, FL 32226‐1718                                                                                        First Class Mail
Chartered Organization         Spirit Of Life Presbyterian Church                           Northern Star Council 250                               14401 Pilot Knob Rd                                            Apple Valley, MN 55124‐6610                                                                                        First Class Mail
Chartered Organization         Spirit Of Peace                                              Sioux Council 733                                       6509 S Cliff Ave                                               Sioux Falls, SD 57108‐8318                                                                                         First Class Mail
Voting Party                   Spirit Of The Valley Umc At Halsey 611 W 3Rd St Halsey, OR   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200            Tampa, FL 33602                             erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Spiritus Sanctus Academy                                     Southern Shores Fsc 783                                 4101 E Joy Rd                                                  Ann Arbor, MI 48105‐9609                                                                                           First Class Mail
Chartered Organization         Spiritwood Manor (Bellevue B&Gc)                             Chief Seattle Council 609                               1424 148th Ave SE                                              Bellevue, WA 98007‐5725                                                                                            First Class Mail
Voting Party                   Spiro First United Methodist Church                          Attn: Dennis Anthony Peterson                           P.O. Box 427                                                   Spiro, OK 74959                                                                 dennis2@ipa.net                    Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Firm                           SPK Law Firm                                                 Alan H. Perer, Esq                                      310 Grant Street, Ste 1400                                     Pittsburgh, PA 15219                                                            aperer@spkpowerlaw.com             Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Splendora Countryside Umc                                    Attn: Steven Geoffrey Lightfoot                         26723 Eagles Landing                                           Huffman, TX 77336                                                               steven.g.lightfoot@gmail.com       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Splendora Countryside United Methodist Church                Attn: Pastor Steven G Lightfoot                         26117 Fm 2090 E                                                Splendora, TX 77372                                                             steven.g.lightfoot@gmail.com       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Splendora Countryside Utd Methodist                          Sam Houston Area Council 576                            26117 Fm 2090 Rd                                               Splendora, TX 77372                                                                                                First Class Mail
Chartered Organization         Split Rock Pto                                               Longhouse Council 373                                   Split Rock School                                              Syracuse, NY 13215                                                                                                 First Class Mail
Chartered Organization         Spofford Fire Dept                                           Daniel Webster Council, Bsa 330                         120 Tuttle Rd                                                  Spofford, NH 03462‐4270                                                                                            First Class Mail
Chartered Organization         Spokane American Youth Hockey Assoc                          Inland Nwest Council 611                                6321 N Addison St                                              Spokane, WA 99208‐5387                                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                Page 341 of 442
                                                                                    Case 20-10343-LSS                                                    Doc 8171                                            Filed 01/06/22                                                       Page 357 of 457
                                                                                                                                                                                                Exhibit B
                                                                                                                                                                                                 Service List
                                                                                                                                                                                          Served as set forth below

        Description                                                          Name                                                                                                             Address                                                                                                                  Email              Method of Service
Chartered Organization         Spokane American Youth Hockey Assoc                           Inland Nwest Council 611                              6321 N Addison St                                                Spokane, WA 99208‐5387                                                                                     First Class Mail
Chartered Organization         Spokane Sheriff'S Dept Management Assoc                       Inland Nwest Council 611                              1100 W Mallon Ave                                                Spokane, WA 99260‐2043                                                                                     First Class Mail
Voting Party                   Spokane Valley United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Spokane Valley Utd Methodist Church                           Inland Nwest Council 611                              115 N Raymond Rd                                                 Spokane Valley, WA 99206‐3729                                                                              First Class Mail
Chartered Organization         Sponholtz‐Deignan Amer Legion Post 183                        Glaciers Edge Council 620                             114 Freeman St                                                   Genoa City, WI 53128‐2073                                                                                  First Class Mail
Voting Party                   Sport Hansa, Inc                                              79 Dogwood Rd                                         Asheville, NC 28806‐2208                                                                                                                                                    First Class Mail
Chartered Organization         Sporting Hill Elementary School Pto                           New Birth of Freedom 544                              210 S Sporting Hill Rd                                           Mechanicsburg, PA 17050‐3059                                                                               First Class Mail
Chartered Organization         Sports Chassis LLC                                            Last Frontier Council 480                             2300 S 13th St                                                   Clinton, OK 73601‐9529                                                                                     First Class Mail
Chartered Organization         Sportsman Research & Cultural Arts Fndn                       Great Rivers Council 653                              8285 State Rd J                                                  New Bloomfield, MO 65063‐1039                                                                              First Class Mail
Chartered Organization         Sportsmans Assoc For Firearms Education                       Suffolk County Council Inc 404                        P.O. Box 343                                                     Commack, NY 11725‐0343                                                                                     First Class Mail
Chartered Organization         Sportsmans Research & Cultural Arts Fndn                      Great Rivers Council 653                              2415 Cedar Lake Dr                                               New Bloomfield, MO 65063‐1751                                                                              First Class Mail
Chartered Organization         Sportsmans Supply Co                                          Moraine Trails Council 500                            245 Freeport Rd                                                  Butler, PA 16002‐3630                                                                                      First Class Mail
Chartered Organization         Sportsman's Warehouse                                         Great Salt Lake Council 590                           7035 S High Tech Dr                                              Midvale, UT 84047‐3706                                                                                     First Class Mail
Chartered Organization         Sportsmens Club                                               Northeast Iowa Council 178                            20262 Hwy 136                                                    Cascade, IA 52033‐8676                                                                                     First Class Mail
Chartered Organization         Sportsmens Coonhunters Assoc                                  Iroquois Trail Council 376                            8776 Hopkins Rd                                                  Batavia, NY 14020‐9593                                                                                     First Class Mail
Chartered Organization         Sportys Aviation                                              Dan Beard Council, Bsa 438                            2001 Sportys Dr                                                  Batavia, OH 45103‐9719                                                                                     First Class Mail
Chartered Organization         Spotsylvania Sheriffs Office                                  National Capital Area Council 082                     9119 Dean Ridings Ln                                             Spotsylvania, VA 22553‐1983                                                                                First Class Mail
Chartered Organization         Spout Springs Church                                          Occoneechee 421                                       346 H M Cagle Dr                                                 Cameron, NC 28326‐6218                                                                                     First Class Mail
Chartered Organization         Sprague‐Inman Post 577‐American Legion                        Blackhawk Area 660                                    316 W Main St                                                    Lena, IL 61048                                                                                             First Class Mail
Chartered Organization         Spreckels Volunteer Fire Co                                   Silicon Valley Monterey Bay 055                       P.O. Box 7247                                                    Spreckels, CA 93962‐7247                                                                                   First Class Mail
Chartered Organization         Spring Arbor Volunteer Fire Assoc                             Southern Shores Fsc 783                               100 E Main St                                                    Spring Arbor, MI 49283                                                                                     First Class Mail
Chartered Organization         Spring Avenue School Pto                                      Pathway To Adventure 456                              1001 S Spring Ave                                                La Grange, IL 60525‐2760                                                                                   First Class Mail
Chartered Organization         Spring Branch Isd Police Dept                                 Sam Houston Area Council 576                          9009 Ruland Rd                                                   Houston, TX 77055‐4611                                                                                     First Class Mail
Chartered Organization         Spring Branch Presbyterian Church                             Sam Houston Area Council 576                          1215 Campbell Rd                                                 Houston, TX 77055‐6401                                                                                     First Class Mail
Voting Party                   Spring City United Methodist Church                           Attn: Dave Grant                                      245 Church St                                                    Spring City, TN 37381                                                   dave@springCityumc.com             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Spring Creek Baptist Church                                   Quapaw Area Council 018                               19200 Interstate 30 N                                            Benton, AR 72019‐2053                                                                                      First Class Mail
Chartered Organization         Spring Creek Baptist Church                                   Nevada Area Council 329                               368 Spring Creek Pkwy                                            Spring Creek, NV 89815‐5823                                                                                First Class Mail
Chartered Organization         Spring Creek Baptist Church                                   Sam Houston Area Council 576                          1431 Rayford Rd                                                  Spring, TX 77386‐2626                                                                                      First Class Mail
Chartered Organization         Spring Creek Charter School                                   Central Florida Council 083                           44440 Spring Creek Rd                                            Paisley, FL 32767‐9063                                                                                     First Class Mail
Chartered Organization         Spring Creek Civic Org                                        Circle Ten Council 571                                7306 Tophill Ln                                                  Dallas, TX 75248‐5642                                                                                      First Class Mail
Chartered Organization         Spring Creek Civic Org                                        Circle Ten Council 571                                305 Spring Creek Vlg 445                                         Dallas, TX 75248‐5744                                                                                      First Class Mail
Chartered Organization         Spring Creek Congregational                                   Blackhawk Area 660                                    4500 Spring Creek Rd                                             Rockford, IL 61114‐6315                                                                                    First Class Mail
Voting Party                   Spring Creek United Methodist Church                          Attn: Treasurer                                       9200 Dietz Elkhorn Rd                                            Fair Oaks Ranch, TX 78015                                               rsanderford@springcreekumc.org     Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Spring Creek Utd Methodist Church                             Alamo Area Council 583                                28970 Old Fredericksburg Rd                                      Boerne, TX 78015‐9119                                                                                      First Class Mail
Chartered Organization         Spring Garden Parent Teachers Assn                            Baltimore Area Council 220                            700 Boxwood Dr                                                   Hampstead, MD 21074‐3144                                                                                   First Class Mail
Chartered Organization         Spring Glen Church, Congregational                            Connecticut Yankee Council Bsa 072                    1825 Whitney Ave                                                 Hamden, CT 06517‐1406                                                                                      First Class Mail
Voting Party                   Spring Glen Umc ‐ Jacksonville                                c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Spring Grove Fire Protection Dist                             Blackhawk Area 660                                    8214 Richardson Rd                                               Spring Grove, IL 60081‐9429                                                                                First Class Mail
Chartered Organization         Spring Grove Firefighters Assoc                               Blackhawk Area 660                                    8214 Richardson Rd                                               Spring Grove, IL 60081‐9429                                                                                First Class Mail
Voting Party                   Spring Hill Community Ruritan Club                            Attn: Keith Stiles                                    P.O. Box 4                                                       Spring Hill, KS 66083                                                   keithstiles312@gmail.com           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Spring Hill Elementary School                                 Lincoln Heritage Council 205                          201 E 15th St                                                    Jeffersonville, IN 47130‐2913                                                                              First Class Mail
Chartered Organization         Spring Hill Ruritans                                          Heart of America Council 307                          22603 S Washington Ave                                           Spring Hill, KS 66083‐3146                                                                                 First Class Mail
Voting Party                   Spring Hill United Methodist Church                           Attn: Russell Yoder                                   5286 Main St                                                     Spring Hill, TN 37174                                                                                      First Class Mail
Voting Party                   Spring Hill United Methodist Church (40483)                   c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Spring Hope Fire Dept                                         East Carolina Council 426                             P.O. Box 806                                                     Spring Hope, NC 27882‐0806                                                                                 First Class Mail
Chartered Organization         Spring Lake /Collective For Youth                             Mid‐America Council 326                               4215 S 20th St                                                   Omaha, NE 68107‐2018                                                                                       First Class Mail
Chartered Organization         Spring Lake Assoc                                             Circle Ten Council 571                                2280 Springlake Rd, Ste 100                                      Dallas, TX 75234‐5830                                                                                      First Class Mail
Chartered Organization         Spring Lake Lions Club                                        President Gerald R Ford 781                           519 River St                                                     Spring Lake, MI 49456‐1907                                                                                 First Class Mail
Chartered Organization         Spring Lake Park Fire Dept                                    Northern Star Council 250                             1710 County Hwy 10                                               Spring Lake Park, MN 55432‐2244                                                                            First Class Mail
Chartered Organization         Spring Lake Police Dept                                       Monmouth Council, Bsa 347                             311 Washington Ave                                               Spring Lake, NJ 07762‐2379                                                                                 First Class Mail
Voting Party                   Spring Of Life ‐ Orlando                                      c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Spring Of Life Utd Methodist Church                           Central Florida Council 083                           11101 Moss Park Rd                                               Orlando, FL 32832‐7004                                                                                     First Class Mail
Chartered Organization         Spring Rd Church Of Christ                                    Simon Kenton Council 441                              74 S Spring Rd                                                   Westerville, OH 43081‐2445                                                                                 First Class Mail
Chartered Organization         Spring Ridge Elementary Pto                                   Mid‐America Council 326                               17830 Shadow Ridge Dr                                            Omaha, NE 68130‐2647                                                                                       First Class Mail
Voting Party                   Spring Ridge Umc                                              Attn: William E French                                1083 Davis Rd                                                    Terry, MS 39170                                                         sr1830@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Spring Road School Pto                                        Bay‐Lakes Council 635                                 1191 County Rd II                                                Neenah, WI 54956‐1948                                                                                      First Class Mail
Chartered Organization         Spring Run Utd Methodist Church                               New Birth of Freedom 544                              16667 Main St                                                    Spring Run, PA 17262                                                                                       First Class Mail
Chartered Organization         Spring Street Missionary Baptist Church                       Occoneechee 421                                       511 Orange St                                                    Henderson, NC 27536‐3241                                                                                   First Class Mail
Chartered Organization         Spring Valley Lions Club                                      Northern Star Council 250                             P.O. Box 103                                                     Spring Valley, WI 54767‐0103                                                                               First Class Mail
Chartered Organization         Spring Valley Presbyterian                                    Indian Waters Council 553                             125 Sparkleberry Ln                                              Columbia, SC 29229‐4338                                                                                    First Class Mail
Chartered Organization         Spring Valley Presbyterian Church                             Indian Waters Council 553                             125 Sparkleberry Ln                                              Columbia, SC 29229‐4338                                                                                    First Class Mail
Voting Party                   Spring Valley United Methodist Church                         Attn: Deb Tucker                                      6946 Delmeta Dr                                                  Dallas, TX 75248                                                        Debkaytucker@gmail.com             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Springboro Utd Church Of Christ                               Dan Beard Council, Bsa 438                            5 W Mill St                                                      Springboro, OH 45066‐1438                                                                                  First Class Mail
Chartered Organization         Springboro Utd Methodist Church                               Dan Beard Council, Bsa 438                            60 E North St                                                    Springboro, OH 45066‐1367                                                                                  First Class Mail
Chartered Organization         Springcreek School Pto                                        Blackhawk Area 660                                    5222 Spring Creek Rd                                             Rockford, IL 61114‐6330                                                                                    First Class Mail
Chartered Organization         Springdale 1St Ward ‐ Declo Stake                             Snake River Council 111                               519 E 200 S                                                      Burley, ID 83318                                                                                           First Class Mail
Chartered Organization         Springdale 2nd Ward ‐ Declo Stake                             Snake River Council 111                               515 E 200 S                                                      Burley, ID 83318                                                                                           First Class Mail
Chartered Organization         Springdale Elementary ‐ Gfwar                                 Longhorn Council 662                                  3207 Hollis St                                                   Fort Worth, TX 76111‐5013                                                                                  First Class Mail
Chartered Organization         Springdale Elementary School Pta                              Middle Tennessee Council 560                          5675 Central Pike                                                Mount Juliet, TN 37122‐3545                                                                                First Class Mail
Chartered Organization         Springdale Elementary School Pta                              Indian Nations Council 488                            2510 E Pine St                                                   Tulsa, OK 74110‐4773                                                                                       First Class Mail
Voting Party                   Springdale First                                              Attn: Summer Boyd                                     206 W Johnson Ave                                                Springdale, AR 72764                                                    sboyd@firstchurchspringdale.org    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Springdale First                                              c/o Friday, Eldredge & Clark LLP                      Attn: Lindsey Emerson Raines                                     400 W Capitol Ave, Ste 2000          Little Rock, AR 72201              lraines@fridayfirm.com             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Springdale Presbyterian Church                                Lincoln Heritage Council 205                          7812 Brownsboro Rd                                               Louisville, KY 40241‐2824                                                                                  First Class Mail
Chartered Organization         Springdale Rec Center                                         Dan Beard Council, Bsa 438                            11999 Lawnview Ave                                               Cincinnati, OH 45246‐2341                                                                                  First Class Mail
Voting Party                   Springdale United Methodist Church, Inc                       Attn: Joel Leckie                                     200 Spruce St                                                    Clinton, SC 29325                                                       joel.leckie@gmail.com              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Springdale Utd Presbyterian Church                            Laurel Highlands Council 527                          859 Pittsburgh St                                                Springdale, PA 15144                                                                                       First Class Mail
Voting Party                   Springer Electric Coop                                        P.O. Box 698                                          Springer, NM 87747‐0698                                                                                                                  spradlin@springercoop.com          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Springfield Estates Elementary School                         National Capital Area Council 082                     6200 Charles Goff Dr                                             Springfield, VA 22150‐1201                                                                                 First Class Mail
Chartered Organization         Springfield Faith Center                                      Oregon Trail Council 697                              600 Hayden Bridge Way                                            Springfield, OR 97477‐1572                                                                                 First Class Mail
Chartered Organization         Springfield Fire Dept                                         Abraham Lincoln Council 144                           825 E Capitol Ave                                                Springfield, IL 62701‐1922                                                                                 First Class Mail
Chartered Organization         Springfield Fire Dept                                         Daniel Webster Council, Bsa 330                       P.O. Box 22                                                      Springfield, NH 03284‐0022                                                                                 First Class Mail
Voting Party                   Springfield First United Methodist Church                     Attn: Lana Salomonson                                 2941 S Koke Mill Rd                                              Springfield, IL 62711                                                   lsalomonson@springfieldfirst.org   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Springfield Gardens High School                               Greater New York Councils, Bsa 640                    14310 Springfield Blvd                                           Springfield Gardens, NY 11413‐3240                                                                         First Class Mail
Voting Party                   Springfield Gardens United Methodist Church                   131‐29 Farmers Blvd                                   Springfield Gardens, NY 11434                                                                                                            crystal@sgumcny.org                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Springfield Lions Club                                        Washington Crossing Council 777                       P.O. Box 333                                                     Springtown, PA 18081‐0333                                                                                  First Class Mail
Chartered Organization         Springfield School Volunteers                                 Western Massachusetts Council 234                     1550 Main St                                                     Springfield, MA 01103‐1422                                                                                 First Class Mail
Chartered Organization         Springfield Township Police Dept                              Dan Beard Council, Bsa 438                            1130 Compton Rd                                                  Cincinnati, OH 45231‐4631                                                                                  First Class Mail
Chartered Organization         Springfield Twp Police                                        Great Trail 433                                       2465 Canfield Rd                                                 Akron, OH 44312‐3817                                                                                       First Class Mail
Voting Party                   Springfield Umc                                               c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Springfield United Methodist Church                           Attn: Donna Macdonell                                 307 E Main St                                                    P.O. Box 97                          Springfield, KY 40069              Revrickbailey@gmail.com            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Springfield United Methodist Church                           Attn: Fillmore H Corey                                333 Old Perryville Rd                                            Perryville, KY 40468                                                    retsef1@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Springfield United Methodist Church                           Attn: Harry Shearouse                                 210 Cleveland St                                                 Springfield, GA 31329                                                   hhspms@wndstream.net               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Springfield Utd Methodist Church                              Coastal Georgia Council 099                           P.O. Box 237                                                     Springfield, GA 31329‐0237                                                                                 First Class Mail
Chartered Organization         Springfield Utd Methodist Church                              Lincoln Heritage Council 205                          307 E Main St                                                    Springfield, KY 40069‐1126                                                                                 First Class Mail
Chartered Organization         Springhill Avenue Utd Methodist                               Mobile Area Council‐Bsa 004                           2519 Spring Hill Ave                                             Mobile, AL 36607‐3023                                                                                      First Class Mail
Chartered Organization         Springhill Baptist Church                                     Andrew Jackson Council 303                            P.O. Box 1014                                                    Port Gibson, MS 39150‐1014                                                                                 First Class Mail
Chartered Organization         Springhill Presbyterian Church                                Mobile Area Council‐Bsa 004                           10 Westminster Way                                               Mobile, AL 36608‐2821                                                                                      First Class Mail
Chartered Organization         Springing Up Child Development Center                         Heart of America Council 307                          501 Johnston Pkwy                                                Raymore, MO 64083‐8321                                                                                     First Class Mail
Chartered Organization         Springlake Church Of The Nazarene                             Quapaw Area Council 018                               21607 N Springlake Rd                                            Hensley, AR 72065‐9139                                                                                     First Class Mail
Chartered Organization         Springmyer Memorial School Pta                                Dan Beard Council, Bsa 438                            4179 Ebenezer Rd                                                 Cincinnati, OH 45248‐1505                                                                                  First Class Mail
Voting Party                   Springport United Methodist Church                            Attn: Mark Mitchell                                   258 Green St                                                     Springport, MI 49284                                                    mjmjumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Springport United Methodist Church                            Attn: Diane Davis                                     P.O. Box 1004                                                    127 W Main St                        Springport, MI 49284               mjmjumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Springridge Utd Methodist Church                              Andrew Jackson Council 303                            9534 Springridge Rd                                              Terry, MS 39170                                                                                            First Class Mail
Chartered Organization         Springridge Utd Methodist Church                              Andrew Jackson Council 303                            1083 Davis Rd                                                    Terry, MS 39170‐9739                                                                                       First Class Mail
Chartered Organization         Springs Elk Lodge 607                                         Denver Area Council 061                               P.O. Box 607                                                     Idaho Springs, CO 80452‐0607                                                                               First Class Mail
Voting Party                   Springtown                                                    c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Springtown                                                    109 W 3Rd                                             Springtown, TX 76082                                                                                                                                                        First Class Mail
Chartered Organization         Springtown First Utd Methodist Church                         Longhorn Council 662                                  109 W 3rd St                                                     Springtown, TX 76082‐2504                                                                                  First Class Mail
Chartered Organization         Springtown Police Dept                                        Longhorn Council 662                                  Springtown                                                       Springtown, TX 76082                                                                                       First Class Mail
Chartered Organization         Springville Elementary School Pto                             Hoosier Trails Council 145 145                        P.O. Box 61                                                      Springville, IN 47462‐0061                                                                                 First Class Mail
Voting Party                   Springville First United Methodist Church                     6471 US Hwy 11                                        Springville, AL 35146                                                                                                                    office@springvilleumc.com          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Springville First United Methodist Church                     Attn: Milicent Yeager                                 25 Villa Rd                                                      Springville, AL 35146                                                   milyeager@aol.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Springville First United Methodist Church                     Attn: Treasurer, Springville First United Methodist   474 E Main St                                                    Springville, NY 14141                                                   mfrench@s1umc.org                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Springville First Utd Methodist                               Greater Alabama Council 001                           6471 US Hwy 11                                                   Springville, AL 35146‐4014                                                                                 First Class Mail
Chartered Organization         Springville Mountain Lions Club                               Sequoia Council 027                                   35944 Hwy 190                                                    Springville, CA 93265                                                                                      First Class Mail
Chartered Organization         Springville Pto                                               Cascade Pacific Council 492                           6655 NW Joss Ave                                                 Portland, OR 97229‐1156                                                                                    First Class Mail
Voting Party                   Springville United Methodist Church                           Attn: Jeffrey P Taylor                                401 Old Marion Rd NE                                             P.O. Box 10020                       Cedar Rapids, IA 52410             jtaylor@krflawfirm.com             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Springville United Methodist Church (080284)                  c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Springville United Methodist Church+                          Attn: Kevin Giggy                                     1983 Hollace Chastain Rd                                         Mitchell, IN 47446                                                      kevingiggy@gmail.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Springville Vol Fire Co                                       Baden‐Powell Council 368                              Rr 1                                                             Springville, PA 18844                                                                                      First Class Mail
Chartered Organization         Springwoods Elementary Pto                                    National Capital Area Council 082                     3815 Marquis Pl                                                  Woodbridge, VA 22192‐6228                                                                                  First Class Mail
Chartered Organization         Spruce Hill Community Assoc                                   Cradle of Liberty Council 525                         257 S 45th St                                                    Philadelphia, PA 19104‐2950                                                                                First Class Mail
Voting Party                   Spruce Pine                                                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Spruce River Volunteer Fire Dept                              Buckskin 617                                          P.O. Box 99                                                      Jeffrey, WV 25114‐0099                                                                                     First Class Mail
Voting Party                   Spruce Street United Methodist Church                         386 Spruce St                                         Morgantown, WV 26505                                                                                                                     office@sprucestreetumc.org         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Spry Church                                                   New Birth of Freedom 544                              50 School St                                                     York, PA 17402‐4955                                                                                        First Class Mail
Voting Party                   Spry Church (9460)                                            c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200           Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Squadron Line School P T O                                    Connecticut Rivers Council, Bsa 066                   44 Squadron Line Rd                                              Simsbury, CT 06070‐1636                                                                                    First Class Mail
Voting Party                   Squyres United Methodist Church                               Attn: Rev Lindsey Ann Sirman                          13936 Us‐171                                                     Ragley, LA 70652                                                        squyrespastor@gmail.com            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Squyres United Methodist Church                               Attn: Lindsey Sirman                                  P.O. Box 46                                                      Ragley, LA 70657                                                        squyrespastor@gmail.com            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Squyres Utd Methodist Men                                     Calcasieu Area Council 209                            P.O. Box 46                                                      Ragley, LA 70657‐0046                                                                                      First Class Mail
Chartered Organization         Srac Camp Staff                                               Suwannee River Area Council 664                       23 Wallwood Bsa Dr                                               Quincy, FL 32351‐0001                                                                                      First Class Mail
Chartered Organization         Ss Cyril & Methodius Catholic Church                          South Texas Council 577                               3210 S Padre Island Dr                                           Corpus Christi, TX 78415‐2903                                                                              First Class Mail
Chartered Organization         Ss Cyril & Methodius Church                                   South Texas Council 577                               3210 S Padre Island Dr                                           Corpus Christi, TX 78415‐2903                                                                              First Class Mail
Chartered Organization         Ss Felicitas & Perpetua                                       Greater Los Angeles Area 033                          1190 Palomar Rd                                                  San Marino, CA 91108‐2224                                                                                  First Class Mail
Voting Party                   SS Felicitas & Perpetua                                       c/o Archdiocese of Los Angeles                        Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                   Los Angeles, CA 90010              legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   SS Francis And Clare Of Assisi Catholic Church, Greenwood     Attn: John S Mercer                                   1400 N Meridian St                                               Indianapolis, IN 46202                                                  jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Ss Mary & Mathias Parish                                      Illowa Council 133                                    215 W 8th St                                                     Muscatine, IA 52761‐3362                                                                                   First Class Mail
Chartered Organization         Ss Peter & Paul Catholic Church                               Greater St Louis Area Council 312                     717 State St                                                     Alton, IL 62002‐6143                                                                                       First Class Mail
Chartered Organization         Ss Peter & Paul Catholic Church                               Blackhawk Area 660                                    410 1st St                                                       Cary, IL 60013‐2757                                                                                        First Class Mail
Chartered Organization         Ss Peter & Paul Catholic Church                               Greater St Louis Area Council 312                     207 Vandalia St                                                  Collinsville, IL 62234‐3549                                                                                First Class Mail
Chartered Organization         Ss Peter & Paul Rc Church                                     Greater Niagara Frontier Council 380                  5480 Main St                                                     Williamsville, NY 14221‐6702                                                                               First Class Mail
Voting Party                   SS Peter & Paul Roman Catholic Church, Ionia                  c/o Warner Norcross & Judd LLP                        Attn: Elisabeth M Von Eitzen                                     150 Ottawa Ave NW, Ste 1500          Grand Rapids, MI 49503             evoneitzen@wnj.com                 Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Ss Peter And Paul Parrish                                     Anthony Wayne Area 157                                860 Cherry St                                                    Huntington, IN 46750‐2037                                                                                  First Class Mail
Chartered Organization         Ss Robert & William Catholic Parish                           Lake Erie Council 440                                 367 E 260th St                                                   Euclid, OH 44132‐1403                                                                                      First Class Mail
Voting Party                   Ss. Peter And Paul Cathedral, Indianapolis, Inc.              Attn: John S Mercer                                   1400 N Meridian St                                               Indianapolis, IN 46202                                                  jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Ss. Philomena And Cecilia Catholic Church, Brookville, Inc.   Attn: John S Mercer                                   1400 N Meridian St                                               Indianapolis, IN 46202                                                  jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Ssnc Silver Spring Neighborhood Center                        Three Harbors Council 636                             5460 N 64th St                                                   Milwaukee, WI 53218‐3020                                                                                   First Class Mail
Chartered Organization         St Abanoub Coptic Orthodox Church                             National Capital Area Council 082                     7364 Steel Mill Dr                                               Springfield, VA 22150‐3600                                                                                 First Class Mail
Chartered Organization         St Adalbert Catholic Academy                                  Greater New York Councils, Bsa 640                    5217 83rd St                                                     Elmhurst, NY 11373‐4721                                                                                    First Class Mail
Chartered Organization         St Adalbert Catholic Church                                   Lake Erie Council 440                                 66 Adelbert St                                                   Berea, OH 44017‐1702                                                                                       First Class Mail
Chartered Organization         St Adalbert Church                                            Ohio River Valley Council 619                         39 Smithfield St                                                 Dillonvale, OH 43917‐6804                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                 Page 342 of 442
                                                                                     Case 20-10343-LSS                                                Doc 8171                                            Filed 01/06/22                                                      Page 358 of 457
                                                                                                                                                                                             Exhibit B
                                                                                                                                                                                              Service List
                                                                                                                                                                                       Served as set forth below

        Description                                                         Name                                                                                                           Address                                                                                                                 Email              Method of Service
Voting Party                   St Adalbert's Roman Catholic Congregation                    Attn: Matthew W Oakey                               218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Adalbert‐St Roch Parish                                   Greater New York Councils, Bsa 640                  602 Port Richmond Ave                                            Staten Island, NY 10302‐1703                                                                              First Class Mail
Chartered Organization         St Adelaides Catholic Church                                 California Inland Empire Council 045                27457 Baseline St                                                Highland, CA 92346‐3206                                                                                   First Class Mail
Chartered Organization         St Agatha Roman Catholic Church                              The Spirit of Adventure 227                         432 Adams St                                                     Milton, MA 02186‐4349                                                                                     First Class Mail
Chartered Organization         St Agatha Roman Catholic Church                              Simon Kenton Council 441                            1860 Nam Rd                                                      Upper Arlington, OH 43221                                                                                 First Class Mail
Chartered Organization         St Agathas Roman Catholic Church                             Greater New York Councils, Bsa 640                  702 48th St                                                      Brooklyn, NY 11220‐2218                                                                                   First Class Mail
Chartered Organization         St Agnes Cathedral                                           Theodore Roosevelt Council 386                      29 Quealy Pl                                                     Rockville Centre, NY 11570‐4021                                                                           First Class Mail
Chartered Organization         St Agnes Cathedral                                           St Joseph Catholic Church                           533 S Jefferson Ave                                              Springfield, MO 65806‐3105                                                                                First Class Mail
Chartered Organization         St Agnes Catholic Church                                     Water and Woods Council 782                         300 Johnson St                                                   Freeland, MI 48623‐9006                                                                                   First Class Mail
Chartered Organization         St Agnes Catholic Church                                     Bay‐Lakes Council 635                               1484 9th St                                                      Green Bay, WI 54304‐3061                                                                                  First Class Mail
Chartered Organization         St Agnes Catholic Church                                     Southwest Florida Council 088                       7775 Vanderbilt Beach Rd                                         Naples, FL 34120‐1641                                                                                     First Class Mail
Chartered Organization         St Agnes Catholic Church                                     The Spirit of Adventure 227                         186 Woburn St                                                    Reading, MA 01867‐3560                                                                                    First Class Mail
Voting Party                   St Agnes Catholic Church Society                             c/o Woods Oviatt Gilman LLP                         Attn: Timothy P Lyster, Esq                                      1900 Bausch & Lomb Pl              Rochester, NY 14604                 tlyster@woodsoviatt.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Agnes Catholic Parish                                     Greater Los Angeles Area 033                        2625 S Vermont Ave                                               Los Angeles, CA 90007‐2223                                                                                First Class Mail
Voting Party                   St Agnes Catholic Parish                                     c/o Archdiocese of Los Angeles                      Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                 Los Angeles, CA 90010               legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Agnes Catholic School, Inc                                Attn: Matthew W Oakey                               218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Agnes Catholic School, Inc                                c/o Gallagher Evelius & Jones LLP                   Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201                 moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Agnes Church                                              Abraham Lincoln Council 144                         245 S Amos Ave                                                   Springfield, IL 62704                                                                                     First Class Mail
Chartered Organization         St Agnes Holy Name Society                                   Bay‐Lakes Council 635                               702 N 4th Ave                                                    Iron River, MI 49935‐1304                                                                                 First Class Mail
Chartered Organization         St Agnes Parish Home‐School Assoc                            Potawatomi Area Council 651                         12801 W Fairmount Ave                                            Butler, WI 53007‐1415                                                                                     First Class Mail
Chartered Organization         St Agnes Roman Catholic Church                               National Capital Area Council 082                   1910 N Randolph St                                               Arlington, VA 22207‐3046                                                                                  First Class Mail
Chartered Organization         St Agnes Roman Catholic Church                               Pathway To Adventure 456                            2651 S Central Park Ave                                          Chicago, IL 60623‐4631                                                                                    First Class Mail
Chartered Organization         St Agnes Roman Catholic Church                               Dan Beard Council, Bsa 438                          1680 Dixie Hwy                                                   Ft Wright, KY 41011‐2779                                                                                  First Class Mail
Chartered Organization         St Agnes Roman Catholic Church                               Lincoln Heritage Council 205                        1920 Newburg Rd                                                  Louisville, KY 40205‐1424                                                                                 First Class Mail
Chartered Organization         St Agnes Roman Catholic Church                               Westmoreland Fayette 512                            11400 Saint Agnes Ln                                             N Huntingdon, PA 15642‐2918                                                                               First Class Mail
Chartered Organization         St Agnes Roman Catholic Church                               San Diego Imperial Council 049                      1140 Evergreen St                                                San Diego, CA 92106‐2533                                                                                  First Class Mail
Chartered Organization         St Agnes Roman Catholic Church                               Chester County Council 539                          233 W Gay St                                                     West Chester, PA 19380‐2916                                                                               First Class Mail
Voting Party                   St Agnes Roman Catholic Congregation, Inc                    Attn: Matthew W Oakey                               218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Agnes Roman Catholic Congregation, Inc                    Attn: Matthew William Oakey                         218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Agnes Roman Catholic Congregation, Inc                    c/o Gallagher Evelius & Jones LLP                   Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201                 moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Agnes Sacred Heart Cyo                                    Washington Crossing Council 777                     100 Broad St                                                     Hilltown, PA 18927                                                                                        First Class Mail
Chartered Organization         St Aidan'S Episcopal Church                                  Atlanta Area Council 092                            13560 Cogburn Rd                                                 Milton, GA 30004‐3648                                                                                     First Class Mail
Voting Party                   St Aidan'S Episcopal Church                                  Rachel Teiko Hayashi                                17405 NE Glisan St                                               Portaland, OR 97230                                                    rachelshawaii2@gmail.com           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Aidan's Episcopal Church                                  c/o Mark A Salzberg, Squire Patton Boggs (Us) LLP   2550 M St Nw                                                     Washington, DC 20037                                                   rachelshawaii2@gmail.com           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Aidans Rc Church                                          Theodore Roosevelt Council 386                      505 Willis Ave                                                   Williston Park, NY 11596‐1727                                                                             First Class Mail
Chartered Organization         St Ailbes Church                                             Pathway To Adventure 456                            9037 S Harper Ave                                                Chicago, IL 60619‐7990                                                                                    First Class Mail
Voting Party                   St Alban Episcopal Church Chattanooga                        Attn: George R Arrants Esq                          814 Episcopal School Way                                         Knoxville, TN 37932                                                    garrants@kramer‐rayson.com         Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Alban Roe Catholic Church                                 Greater St Louis Area Council 312                   2001 Shepard Rd                                                  Wildwood, MO 63038‐1340                                                                                   First Class Mail
Voting Party                   St Albans Church Limited                                     Attn: Robert Hendrix                                105 1st Ave SW                                                   Glen Burnie, MD 21061                                                  rehwa216@icloud.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Albans Episcopal Church                                   Longhorn Council 662                                911 S Davis Dr                                                   Arlington, TX 76013‐2412                                                                                  First Class Mail
Chartered Organization         St Albans Episcopal Church                                   Mount Baker Council, Bsa 606                        21405 82nd Pl W                                                  Edmonds, WA 98026‐7434                                                                                    First Class Mail
Chartered Organization         St Alban'S Episcopal Church                                  San Diego Imperial Council 049                      490 Farragut Cir                                                 El Cajon, CA 92020‐5203                                                                                   First Class Mail
Chartered Organization         St Alban'S Episcopal Church                                  Northeast Georgia Council 101                       210 N Broad St                                                   Monroe, GA 30655‐1844                                                                                     First Class Mail
Voting Party                   St Alban's Episcopal Church                                  2848 St Albans Dr                                   Sinking Spring, PA 19608                                                                                                                rector@stalbansepiscopal.org       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Albans Episcopal Church (Salisbury)                       c/o The Law Office of Andrea Ross                   Attn: Andrea Ross, Esq                                           129 N West St, Ste 1               Easton, MD 21601                    Andie@AndieRossLaw.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Albans Episcopal Church Chattanooga                       Attn: Benton B Holt III                             7514 Hixon Pike                                                  Hixon, TN 37343                                                        benholt3h@gmail.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Alban's Episcopal Church In Albany, California            Attn: Karen Sjoholm                                 1501 Washington Ave                                              Albany, CA 94706                                                       info@st‐albans‐albany.org          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Alban's Episcopal Church, Inc Of Warren County, Miss      Attn: Marcus M Wilson                               190 E Capitol St, Ste 650                                        Jackson, MS 39201                                                      r_sprice@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Alban'S Episcopal Church, Inc Of Warren County, Miss      Attn: Richard Price                                 5930 Warriors Trl                                                Vicksburg, MS 39180                                                    r_sprice@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Albert The Great Catholic Church                          Pathway To Adventure 456                            8000 Linder Ave                                                  Burbank, IL 60459‐2064                                                                                    First Class Mail
Chartered Organization         St Albert The Great Catholic Church                          Miami Valley Council, Bsa 444                       3033 Far Hills Ave                                               Kettering, OH 45429‐2509                                                                                  First Class Mail
Chartered Organization         St Albert The Great Catholic Church                          Great Smoky Mountain Council 557                    7200 Brickey Ln                                                  Knoxville, TN 37918‐8909                                                                                  First Class Mail
Chartered Organization         St Albert The Great Catholic Church                          Lake Erie Council 440                               6667 Wallings Rd                                                 North Royalton, OH 44133‐3027                                                                             First Class Mail
Chartered Organization         St Albert The Great Catholic Church                          Nevada Area Council 329                             1259 Saint Alberts Dr                                            Reno, NV 89503‐2258                                                                                       First Class Mail
Chartered Organization         St Albert The Great Parish And School                        Cradle of Liberty Council 525                       212 Welsh Rd                                                     Huntingdon Valley, PA 19006‐6531                                                                          First Class Mail
Chartered Organization         St Albert The Great Rc Ch                                    Lincoln Heritage Council 205                        1395 Girard Dr                                                   Louisville, KY 40222‐6642                                                                                 First Class Mail
Chartered Organization         St Alberts School                                            Mid‐America Council 326                             400 Gleason Ave                                                  Council Bluffs, IA 51503‐5001                                                                             First Class Mail
Chartered Organization         St Alexander Church                                          Pathway To Adventure 456                            7025 W 126th St                                                  Palos Heights, IL 60463‐1574                                                                              First Class Mail
Chartered Organization         St Alfred Parish                                             Great Lakes Fsc 272                                 9500 Banner St                                                   Taylor, MI 48180‐3319                                                                                     First Class Mail
Voting Party                   St Alfred's Church, Inc                                      c/o Stichter Riedel Blain & Postler, PA             Attn: Daniel R Fogarty                                           110 E Madison St, 300              Tampa, FL 33602                     dfogarty.ecf@srbp.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Alfred'S Church, Inc                                      1601 Curlew Rd                                      Palm Harbor, FL 34683                                                                                                                                                      First Class Mail
Chartered Organization         St Alfreds Episcopal Church                                  Greater Tampa Bay Area 089                          1601 Curlew Rd                                                   Palm Harbor, FL 34683‐6515                                                                                First Class Mail
Chartered Organization         St Aloysius Catholic Church                                  Istrouma Area Council 211                           2025 Stuart Ave                                                  Baton Rouge, LA 70808‐3979                                                                                First Class Mail
Chartered Organization         St Aloysius Catholic Church                                  Erie Shores Council 460                             P.O. Box 485                                                     Bowling Green, OH 43402‐0485                                                                              First Class Mail
Chartered Organization         St Aloysius Catholic Church                                  Lincoln Heritage Council 205                        202 Mount Mercy Dr                                               Pewee Valley, KY 40056‐8024                                                                               First Class Mail
Chartered Organization         St Aloysius Catholic Church                                  Dan Beard Council, Bsa 438                          3350 Chapel Rd                                                   Shandon, OH 45063                                                                                         First Class Mail
Chartered Organization         St Aloysius Catholic Church                                  Abraham Lincoln Council 144                         2119 N 20th St                                                   Springfield, IL 62702‐1916                                                                                First Class Mail
Chartered Organization         St Aloysius Church                                           Connecticut Yankee Council Bsa 072                  40 Maple St                                                      New Canaan, CT 06840‐5730                                                                                 First Class Mail
Chartered Organization         St Aloysius Gonzaga Catholic Church                          Dan Beard Council, Bsa 438                          4366 Bridgetown Rd 12                                            Cincinnati, OH 45211‐4430                                                                                 First Class Mail
Chartered Organization         St Aloysius Gonzaga Rc Church                                Greater Niagara Frontier Council 380                157 Cleveland Dr                                                 Cheektowaga, NY 14215‐1823                                                                                First Class Mail
Chartered Organization         St Aloysius Of Gonzaga                                       Daniel Webster Council, Bsa 330                     48 W Hollis St                                                   Nashua, NH 03060‐3218                                                                                     First Class Mail
Chartered Organization         St Aloysius Parish                                           Cradle of Liberty Council 525                       223 Beech St                                                     Pottstown, PA 19464‐5501                                                                                  First Class Mail
Chartered Organization         St Aloysius Parish                                           Great Lakes Fsc 272                                 11280 Ozga St                                                    Romulus, MI 48174‐1172                                                                                    First Class Mail
Chartered Organization         St Aloysius Roman Catholic Church                            Northern New Jersey Council, Bsa 333                219 Bloomfield Ave                                               Caldwell, NJ 07006‐5115                                                                                   First Class Mail
Chartered Organization         St Aloysius School                                           Great Lakes Fsc 272                                 11280 Ozga St                                                    Romulus, MI 48174‐1172                                                                                    First Class Mail
Voting Party                   St Alphonosus Roman Catholic Congregation, Inc               Attn: Matthew W Oakey                               218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Alphonsus Catholic Church                                 Northern Star Council 250                           7025 Halifax Ave N                                               Brooklyn Center, MN 55429‐1375                                                                            First Class Mail
Chartered Organization         St Alphonsus Catholic Church                                 Pathway To Adventure 456                            1429 W Wellington Ave                                            Chicago, IL 60657‐4121                                                                                    First Class Mail
Chartered Organization         St Alphonsus Catholic Church                                 Istrouma Area Council 211                           14040 Greenwell Springs Rd                                       Greenwell Springs, LA 70739‐3302                                                                          First Class Mail
Chartered Organization         St Alphonsus Church                                          Pine Burr Area Council 304                          504 Jackson Ave                                                  Ocean Springs, MS 39564‐4620                                                                              First Class Mail
Chartered Organization         St Alphonsus Liguori Catholic Church                         Crossroads of America 160                           1870 W Oak St                                                    Zionsville, IN 46077‐1894                                                                                 First Class Mail
Voting Party                   St Alphonsus Liguori Catholic Church Zionsville, IN          Attn: Matt Mckillip                                 610 Lingle Ave                                                   P.O. Box 260                       Lafayette, IN 47902                 mmckillip@dol‐in.org               Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Alphonsus Parish                                          Three Harbors Council 636                           5960 W Loomis Rd                                                 Greendale, WI 53129‐1824                                                                                  First Class Mail
Chartered Organization         St Alphonsus Parish                                          Green Mountain 592                                  2918 US Route 7                                                  Pittsford, VT 05763‐9499                                                                                  First Class Mail
Chartered Organization         St Alphonsus Rodriguez Church                                Baltimore Area Council 220                          10800 Old Court Rd                                               Woodstock, MD 21163‐1107                                                                                  First Class Mail
Chartered Organization         St Alphonsus Roman Catholic Church                           Laurel Highlands Council 527                        750 Pittsburgh St                                                Springdale, PA 15144‐1537                                                                                 First Class Mail
Voting Party                   St Alphonsus Roman Catholic Congregation, Inc                Attn: Matthew William Oakey                         218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Amant Fire Dept                                           Istrouma Area Council 211                           44465 Stringer Bridge Rd                                         Saint Amant, LA 70774‐4009                                                                                First Class Mail
Chartered Organization         St Ambrose Catholic Church                                   Sam Houston Area Council 576                        4213 Mangum Rd                                                   Houston, TX 77092‐5515                                                                                    First Class Mail
Chartered Organization         St Ambrose Catholic Church                                   Greater St Louis Area Council 312                   5130 Wilson Ave                                                  Saint Louis, MO 63110‐3110                                                                                First Class Mail
Chartered Organization         St Ambrose Catholic Church                                   Hoosier Trails Council 145 145                      325 S Chestnut St                                                Seymour, IN 47274‐2329                                                                                    First Class Mail
Chartered Organization         St Ambrose Catholic School                                   Greater St Louis Area Council 312                   820 W Homer M Adams Pkwy                                         Godfrey, IL 62035‐3335                                                                                    First Class Mail
Chartered Organization         St Ambrose Church                                            Great Trail 433                                     929 Pearl Rd                                                     Brunswick, OH 44212‐2513                                                                                  First Class Mail
Voting Party                   St Ambrose Episcopal Church Foster City, California          Attn: Shane Scott‐Hamblen                           900 Edgewater Blvd                                               Foster City, CA 94404                                                  rector_stambrosefc@att.net         Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Ambrose Episcopal Church Foster City, California          c/o Borowsky & Hayes LLP                            Attn: Christopher Hayes                                          101 Mission St, Ste 1640           San Francisco, CA 94105             christopher.hayes@borowsky.com     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Ambrose Holy Name Society                                 Greater St Louis Area Council 312                   5130 Wilson Ave                                                  Saint Louis, MO 63110‐3110                                                                                First Class Mail
Chartered Organization         St Ambrose Parish                                            Crossroads of America 160                           2801 Lincoln St                                                  Anderson, IN 46016‐5068                                                                                   First Class Mail
Voting Party                   St Ambrose Parish                                            Attn: Andre L Kydala                                54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                         First Class Mail
Chartered Organization         St Ambrose Parish Catholic Church                            Great Salt Lake Council 590                         2335 E Redondo Ave                                               Salt Lake City, UT 84108‐3225                                                                             First Class Mail
Chartered Organization         St Ambrose Peni Corp                                         Connecticut Yankee Council Bsa 072                  30 Caputo Rd                                                     North Branford, CT 06471‐1027                                                                             First Class Mail
Chartered Organization         St Ambrose Roman Catholic Church                             Narragansett 546                                    191 School St                                                    Albion, RI 02802‐1107                                                                                     First Class Mail
Chartered Organization         St Ambrose Roman Catholic Church                             Monmouth Council, Bsa 347                           96 Throckmorton Ln                                               Old Bridge, NJ 08857‐2250                                                                                 First Class Mail
Voting Party                   St Ambrose Roman Catholic Congregation, Inc                  Attn: Matthew W Oakey                               218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Ambrose Roman Catholic Congregation, Inc                  Attn: Matthew William Oakey                         218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Ambrose School                                            Attn: Andre L Kydala                                54 Old Hwy 22                                                    Clinton, NJ 08809                                                      kydalalaw@aim.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Ambrose's Roman Catholic Church Of Buffalo                c/o Woods Oviatt Gilman LLP                         Attn: Timothy P Lyster, Esq                                      1900 Bausch & Lomb Pl              Rochester, NY 14604                 tlyster@woodsoviatt.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Amelia Rc Church                                          Greater Niagara Frontier Council 380                2999 Eggert Rd                                                   Tonawanda, NY 14150‐7163                                                                                  First Class Mail
Chartered Organization         St Anastasia Catholic School                                 Gulf Stream Council 085                             401 S 33rd St                                                    Fort Pierce, FL 34947‐3536                                                                                First Class Mail
Chartered Organization         St Anastasia Catholic Youth Org                              Cradle of Liberty Council 525                       3315 W Chester Pike                                              Newtown Square, PA 19073                                                                                  First Class Mail
Chartered Organization         St Anastasia Catholic Youth Org                              Cradle of Liberty Council 525                       3301 W Chester Pike                                              Newtown Square, PA 19073‐4226                                                                             First Class Mail
Chartered Organization         St Anastasia Parish                                          Northeast Illinois 129                              629 W Glen Flora Ave                                             Waukegan, IL 60085‐1835                                                                                   First Class Mail
Chartered Organization         St Andre Bessette Parish                                     Twin Rivers Council 364                             11 Church Pl                                                     Malone, NY 12953‐1610                                                                                     First Class Mail
Voting Party                   St Andrew                                                    c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Andrew & St Luke Episcopal Church Beacon Inc              15 S Ave                                            Beacon, NY 12508                                                                                                                        saslecbeacon@gmail.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Andrew And St Luke Church                                 John F. Williams                                    15 South Ave                                                     Beacon, NY 12508                                                       saslecbeacon@gmail.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Andrew And St Luke Episcopal Church Beacon Inc            St Andrew and St Luke Church                        15 South Ave                                                     Beacon, NY 12508                                                       saslecbeacon@gmail.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Andrew By The Bay Church                                  Baltimore Area Council 220                          701 College Pkwy                                                 Annapolis, MD 21409‐5231                                                                                  First Class Mail
Voting Party                   St Andrew By The Bay Roman Catholic Congregation, Inc        Attn: Matthew W Oakey                               218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Andrew By The Bay Roman Catholic Congregation, Inc        Attn: Matthew William Oakey                         218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Andrew Catholic Church                                    Sam Houston Area Council 576                        827 Sheldon Rd                                                   Channelview, TX 77530‐3511                                                                                First Class Mail
Chartered Organization         St Andrew Catholic Church                                    Pathway To Adventure 456                            3546 N Paulina St                                                Chicago, IL 60657‐1227                                                                                    First Class Mail
Chartered Organization         St Andrew Catholic Church                                    Great Alaska Council 610                            16300 Domain Ln                                                  Eagle River, AK 99577‐8086                                                                                First Class Mail
Chartered Organization         St Andrew Catholic School                                    South Florida Council 084                           9990 NW 29th St                                                  Coral Springs, FL 33065‐6103                                                                              First Class Mail
Chartered Organization         St Andrew Catholic School                                    Greater Los Angeles Area 033                        42 Chestnut St                                                   Pasadena, CA 91103‐3802                                                                                   First Class Mail
Voting Party                   St Andrew Catholic School                                    c/o Archdiocese of Los Angeles                      Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                 Los Angeles, CA 90010               legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Andrew Christian Church                                   Simon Kenton Council 441                            1985 Swansford Dr                                                Dublin, OH 43016‐8915                                                                                     First Class Mail
Chartered Organization         St Andrew Episcopal Church                                   Glaciers Edge Council 620                           1833 Regent St                                                   Madison, WI 53726‐4119                                                                                    First Class Mail
Voting Party                   St Andrew Episcopal Church                                   7989 Little Mountain Rd                             Mentor, OH 44060                                                                                                                        standrewmentor@gmail.com           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Andrew Evan Lutheran Church                               Grand Canyon Council 010                            3101 W Cholla St                                                 Phoenix, AZ 85029‐4112                                                                                    First Class Mail
Chartered Organization         St Andrew Lutheran Church                                    Alamo Area Council 583                              7420 Fm 2673                                                     Canyon Lake, TX 78133‐6022                                                                                First Class Mail
Chartered Organization         St Andrew Lutheran Church                                    National Capital Area Council 082                   14640 Soucy Pl                                                   Centreville, VA 20120‐1554                                                                                First Class Mail
Chartered Organization         St Andrew Lutheran Church                                    Laurel Highlands Council 527                        987 Beaver Grade Rd                                              Moon Township, PA 15108‐2745                                                                              First Class Mail
Chartered Organization         St Andrew Lutheran Church                                    Gulf Stream Council 085                             295 NW Prima Vista Blvd                                          Port St Lucie, FL 34983‐1964                                                                              First Class Mail
Chartered Organization         St Andrew Lutheran Church                                    Tidewater Council 596                               4811 High St W                                                   Portsmouth, VA 23703‐4223                                                                                 First Class Mail
Chartered Organization         St Andrew Lutheran Church                                    Three Fires Council 127                             155 N Prince Crossing Rd                                         West Chicago, IL 60185‐2443                                                                               First Class Mail
Voting Party                   St Andrew Lutheran Church                                    Attn: Beth Oliver                                   5607 NE Gehr Rd                                                  Vancouver, WA 98662                                                    treasurer@salcvan.org              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Andrew Lutheran Church                                    Attn: Mary Louise Strehlow                                                                                                                                                                  strehlow8215@comcast.net           Email
Voting Party                   St Andrew Lutheran Church                                    Attn: Kim A Lewis                                   2019 Cunningham Dr, Ste 200                                      Hampton, VA 23666                                                      klewis@johnleeatty.net             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Andrew Lutheran Church                                    Attn: Kim A. Lewis                                  2019 Cunningham Dr, Ste 200                                      Hampton, VA 23666                                                      griffin46@cox.net                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Andrew Lutheran Church                                    Attn: Jeffrey Allen Griffin                         4811 High St                                                     Portsmouth, VA 23703                                                   griffin46@cox.net                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Andrew Lutheran Church                                    Jeffrey Allen Griffin                               4811 High St                                                     Portsmouth, VA 23703                                                   griffin46@cox.net                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Andrew Lutheran Church                                    4811 High St                                        Portsmouth, VA 23703                                                                                                                    griffin46@cox.net                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Andrew Lutheran Church Beaverton                          Cascade Pacific Council 492                         12405 SW Butner Rd                                               Beaverton, OR 97005‐0864                                                                                  First Class Mail
Chartered Organization         St Andrew Lutheran Church Of Cape Gir                        Greater St Louis Area Council 312                   804 N Cape Rock Dr                                               Cape Girardeau, MO 63701‐3605                                                                             First Class Mail
Chartered Organization         St Andrew Lutheran Church Vancouver                          Cascade Pacific Council 492                         5607 NE Gher Rd                                                  Vancouver, WA 98662‐6152                                                                                  First Class Mail
Chartered Organization         St Andrew Mens Society                                       Occoneechee 421                                     3008 Old Raleigh Rd                                              Apex, NC 27502‐9254                                                                                       First Class Mail
Chartered Organization         St Andrew Methodist Church                                   Los Padres Council 053                              3945 S Bradley Rd                                                Santa Maria, CA 93455‐3036                                                                                First Class Mail
Voting Party                   St Andrew Parish                                             Attn: Andre L Kydala                                54 Old Hwy 22                                                    Clinton, NJ 08809                                                      kydalalaw@aim.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                              Page 343 of 442
                                                                                    Case 20-10343-LSS                                                    Doc 8171                                  Filed 01/06/22                                                    Page 359 of 457
                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                       Service List
                                                                                                                                                                                Served as set forth below

        Description                                                          Name                                                                                                   Address                                                                                                             Email                               Method of Service
Chartered Organization         St Andrew Parish & School                                     Great Salt Lake Council 590                           11835 S 3600 W                                         Riverton, UT 84065‐7641                                                                                                First Class Mail
Chartered Organization         St Andrew Presbyterian Church                                 Yucca Council 573                                     2115 Wedgewood Dr                                      El Paso, TX 79925‐6220                                                                                                 First Class Mail
Chartered Organization         St Andrew Presbyterian Church                                 Yucca Council 573                                     2155 Wedgewood Dr                                      El Paso, TX 79925‐6220                                                                                                 First Class Mail
Chartered Organization         St Andrew Presbyterian Church                                 Buckskin 617                                          246 S Pinch Rd                                         Elkview, WV 25071                                                                                                      First Class Mail
Chartered Organization         St Andrew Presbyterian Church                                 Crossroads of America 160                             3535 Kessler Blvd North Dr                             Indianapolis, IN 46222‐1831                                                                                            First Class Mail
Chartered Organization         St Andrew Presbyterian Church                                 Hawkeye Area Council 172                              140 Gathering Pl Ln                                    Iowa City, IA 52246‐2874                                                                                               First Class Mail
Chartered Organization         St Andrew Presbyterian Church                                 Buckskin 617                                          P.O. Box 868                                           Pinch, WV 25156‐0868                                                                                                   First Class Mail
Chartered Organization         St Andrew Presbyterian Church                                 Chief Seattle Council 609                             3604 NE 10th Ct                                        Renton, WA 98056‐3507                                                                                                  First Class Mail
Chartered Organization         St Andrew Presbyterian Church ‐ Boulder                       Longs Peak Council 062                                3700 Baseline Rd                                       Boulder, CO 80303‐2436                                                                                                 First Class Mail
Chartered Organization         St Andrew The Apostle                                         National Capital Area Council 082                     11600 Kemp Mill Rd                                     Silver Spring, MD 20902‐1718                                                                                           First Class Mail
Voting Party                   St Andrew The Apostle                                         331 Orchard St                                        Rocky Hill, CT 06067                                                                                                        office@thechurchofstandrew.org                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Andrew The Apostle Catholic Church                         Grand Canyon Council 010                              3450 W Ray Rd                                          Chandler, AZ 85226‐2300                                                                                                First Class Mail
Chartered Organization         St Andrew The Apostle Catholic Church                         National Capital Area Council 082                     6720 Union Mill Rd                                     Clifton, VA 20124‐1115                                                                                                 First Class Mail
Chartered Organization         St Andrew The Apostle Catholic Church                         Rainbow Council 702                                   530 Glen Ave                                           Romeoville, IL 60446‐1211                                                                                              First Class Mail
Chartered Organization         St Andrew The Apostle Catholic Church                         Catalina Council 011                                  800 Taylor Dr                                          Sierra Vista, AZ 85635‐1050                                                                                            First Class Mail
Chartered Organization         St Andrew The Apostle Catholic Church                         Southeast Louisiana Council 214                       813 Heritage Ave                                       Terrytown, LA 70056‐5263                                                                                               First Class Mail
Chartered Organization         St Andrew The Apostle Church                                  National Capital Area Council 082                     11600 Kemp Mill Rd                                     Silver Spring, MD 20902‐1718                                                                                           First Class Mail
Chartered Organization         St Andrew The Apostle R C Church                              Northern New Jersey Council, Bsa 333                  400 Mount Prospect Ave                                 Clifton, NJ 07012‐1023                                                                                                 First Class Mail
Voting Party                   St Andrew Umc                                                 Jeremiah Gibbs                                        12862 Arvada Pl                                        Fishers, IN 46038                                                    jeremiah.gibbs@inumc.org                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew Umc                                                 c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                     erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew Umc                                                 Attn: Chris Danielson                                 4703 N 50 W                                            W Lafayette, IN 47906                                                chris@andrew‐umc.org                              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew United Methodist Church                             Attn: Traci Hughes Dir Busisness Operations           5801 W Plano Pkwy                                      Plano, TX 75093                                                      thughes@standrewumc.org                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew United Methodist Church                             c/o Jackson Walker LLP                                Attn: Michael S Held                                   2323 Ross Ave, Ste 600           Dallas, TX 75201                    thughes@standrewumc.org                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew United Methodist Church, Indianapolis               Attn: Board of Trustees, St Andrew United Methodist   2560 Villa Ave                                         Indianapolis, IN 46203                                               jeremiah.gibbs@inumc.org                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Andrew Utd Church Of Christ                                Lincoln Heritage Council 205                          2608 Browns Ln                                         Louisville, KY 40220‐1123                                                                                              First Class Mail
Chartered Organization         St Andrew Utd Methodist Church                                Pathway To Adventure 456                              18850 Riegel Rd                                        Homewood, IL 60430‐4027                                                                                                First Class Mail
Chartered Organization         St Andrew Utd Methodist Church                                Atlanta Area Council 092                              3455 Canton Rd                                         Marietta, GA 30066‐2614                                                                                                First Class Mail
Chartered Organization         St Andrew Utd Methodist Church                                Circle Ten Council 571                                5801 W Plano Pkwy                                      Plano, TX 75093‐4637                                                                                                   First Class Mail
Chartered Organization         St Andrew Utd Methodist Church                                Circle Ten Council 571                                5801 W Plano Pkwy                                      Plano, TX 75093‐4637                                                                                                   First Class Mail
Chartered Organization         St Andrew Utd Methodist Church                                Los Padres Council 053                                3945 S Bradley Rd                                      Santa Maria, CA 93455‐3036                                                                                             First Class Mail
Chartered Organization         St Andrew Utd Methodist Church                                Hawk Mountain Council 528                             P.O. Box 434                                           Swamp Creek Rd                                                                                                         First Class Mail
Chartered Organization         St Andrew Utd Methodist Church                                Sagamore Council 162                                  4703 N 50 W                                            West Lafayette, IN 47906‐9602                                                                                          First Class Mail
Chartered Organization         St Andrew Utd Methodist Mens Club                             Greater St Louis Area Council 312                     3975 N US Hwy 67                                       Florissant, MO 63034‐2428                                                                                              First Class Mail
Chartered Organization         St Andrew Utd Presbyterian                                    Crossroads of America 160                             2401 W Moore Rd                                        Muncie, IN 47304                                                                                                       First Class Mail
Voting Party                   St Andrews                                                    c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                     erice@gmail.com                                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew's ‐ Cherry Hill                                     c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                     erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew's and St John's Episcopal Church Southwest Harbor   c/o The Episcopal Diocese of Maine / Martin           P.O. Box 4036                                          Portland, ME 04101                                                   bmartin@episcopalmaine.org                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Andrews Anglican Church                                    Longs Peak Council 062                                3325 Mccann Ave                                        Cheyenne, WY 82001‐1817                                                                                                First Class Mail
Chartered Organization         St Andrews Anglican Church                                    Simon Kenton Council 441                              7521 S Old State Rd                                    Lewis Center, OH 43035‐9521                                                                                            First Class Mail
Chartered Organization         St Andrew's Anglican Church                                   Longs Peak Council 062                                3325 Mccann Ave                                        Cheyenne, WY 82001‐1817                                                                                                First Class Mail
Voting Party                   St Andrews Ashland                                            Attn: Randi L Osberg                                  402 Graham Ave 6th Fl                                  Eau Claire, WI 54701                                                 rosberg@ruderware.com                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews Ashland                                            Attn: Treasurer                                       510 S Farwell                                          Eau Claire, WI 54701                                                                                                   First Class Mail
Voting Party                   St Andrew's Brandon ‐ Brandon                                 c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                     erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Andrews Cathedral And St James                             Andrew Jackson Council 303                            3921 Oakridge Dr                                       Jackson, MS 39216‐3412                                                                                                 First Class Mail
Chartered Organization         St Andrews Catholic Church                                    Southwest Florida Council 088                         2628 Del Prado Blvd S                                  Cape Coral, FL 33904‐5705                                                                                              First Class Mail
Chartered Organization         St Andrews Catholic Church                                    Longhorn Council 662                                  3312 Dryden Rd                                         Fort Worth, TX 76109‐3704                                                                                              First Class Mail
Chartered Organization         St Andrews Catholic Church                                    Longhorn Council 662                                  3314 Dryden Rd                                         Fort Worth, TX 76109‐3704                                                                                              First Class Mail
Chartered Organization         St Andrews Catholic Church                                    Southern Shores Fsc 783                               910 Austin Dr                                          Saline, MI 48176‐1157                                                                                                  First Class Mail
Chartered Organization         St Andrews Catholic Church                                    Simon Kenton Council 441                              1899 Mccoy Rd                                          Upper Arlington, OH 43220‐4407                                                                                         First Class Mail
Chartered Organization         St Andrews Church                                             Connecticut Rivers Council, Bsa 066                   331 Orchard St                                         Rocky Hill, CT 06067‐2022                                                                                              First Class Mail
Chartered Organization         St Andrew's Church                                            Greater Niagara Frontier Council 380                  1525 Sheridan Dr                                       Kenmore, NY 14217‐1211                                                                                                 First Class Mail
Chartered Organization         St Andrews Church ‐ Mt Pleasant                               Coastal Carolina Council 550                          440 Whilden St                                         Mount Pleasant, SC 29464‐5357                                                                                          First Class Mail
Voting Party                   St Andrew's Church (Manchester)                               c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                  159 Main St                      Nashua, NH 03060                    peter@thetamposilawgroup.com                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews Community United Methodist Church Inc.             c/o Dewbre & Dewbre Pc                                Attn: Ross Dewbre                                      2220 Shadowlake Dr               Oklahoma City, OK 73159             ross@dewbrelaw.com                                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Andrews Covenant Presbyterian Church                       Cape Fear Council 425                                 1416 Market St                                         Wilmington, NC 28401‐4909                                                                                              First Class Mail
Chartered Organization         St Andrews Covenant Presbyterian Church                       Cape Fear Council 425                                 1416 Market St                                         Wilmington, NC 28401‐4909                                                                                              First Class Mail
Chartered Organization         St Andrews Elca Church                                        W.L.A.C.C. 051                                        11555 National Blvd                                    Los Angeles, CA 90064‐3827                                                                                             First Class Mail
Chartered Organization         St Andrews Episc Ch For Burks Elem                            Circle Ten Council 571                                6400 Mckinney Ranch Pkwy                               Mckinney, TX 75070‐9601                                                                                                First Class Mail
Chartered Organization         St Andrews Episcopal Church                                   Twin Rivers Council 364                               10 N Main Ave                                          Albany, NY 12203‐1403                                                                                                  First Class Mail
Chartered Organization         St Andrews Episcopal Church                                   Quivira Council, Bsa 198                              1062 E Chet Smith Ave                                  Derby, KS 67037‐2354                                                                                                   First Class Mail
Chartered Organization         St Andrews Episcopal Church                                   Baltimore Area Council 220                            2892 Route 97                                          Glenwood, MD 21738‐9714                                                                                                First Class Mail
Chartered Organization         St Andrews Episcopal Church                                   Heart of America Council 307                          6401 Wornall Ter                                       Kansas City, MO 64113‐1755                                                                                             First Class Mail
Chartered Organization         St Andrews Episcopal Church                                   Sagamore Council 162                                  602 W Superior St                                      Kokomo, IN 46901‐5286                                                                                                  First Class Mail
Chartered Organization         St Andrews Episcopal Church                                   Baden‐Powell Council 368                              40 S Main St                                           New Berlin, NY 13411‐3053                                                                                              First Class Mail
Chartered Organization         St Andrews Episcopal Church                                   Patriots Path Council 358                             419 South St                                           New Providence, NJ 07974‐2131                                                                                          First Class Mail
Chartered Organization         St Andrews Episcopal Church                                   South Florida Council 084                             14260 Old Cutler Rd                                    Palmetto Bay, FL 33158‐1347                                                                                            First Class Mail
Chartered Organization         St Andrews Episcopal Church                                   Bay Area Council 574                                  2535 Broadway St                                       Pearland, TX 77581‐4901                                                                                                First Class Mail
Chartered Organization         St Andrews Episcopal Church                                   Alamo Area Council 583                                6110 NW Loop 410                                       San Antonio, TX 78238‐3305                                                                                             First Class Mail
Chartered Organization         St Andrews Episcopal Church                                   National Capital Area Council 082                     6509 Sydenstricker Rd                                  Springfield, VA 22015‐4210                                                                                             First Class Mail
Voting Party                   St Andrews Episcopal Church                                   Attn: Lance Wallace                                   2301 Deltona Blvd                                      Spring Hill, FL 34606                                                schurch22@tampabay.rr.com                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews Episcopal Church                                   Attn: Rev June Hardy Dorsey, Rector                   300 3rd St                                             Elyria, OH 44035                                                     revjunehd@gmail.com; office@standrewselyria.orf   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews Episcopal Church                                   2239 Creek Rd                                         Burt, NY 14028                                                                                                              office@standrewburt.com                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews Episcopal Church                                   583 W Hopocan Ave                                     Barberton, OH 44203                                                                                                         michaelpetrochuk@hotmail.com                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews Episcopal Church                                   583 W Hopocan Ave                                     Barberton, OH 44203                                                                                                         michaelpetrochuck@hotmail.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews Episcopal Church                                   1819 Heights Blvd                                     Houston, TX 77008                                                                                                           jgrace@saecheights.org                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews Episcopal Church                                   Attn: The Rev William Packard                         6509 Sydenstricker Rd                                  Burke, VA 22015                                                      admin2@standrews.net                              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Andrew's Episcopal Church                                  Orange County Council 039                             4400 Barranca Pkwy                                     Irvine, CA 92604‐4739                                                                                                  First Class Mail
Chartered Organization         St Andrew's Episcopal Church                                  Attn: Rev. James Liberatore                           2535 Broadway St                                       Pearland, TX 77581‐4901                                                                                                First Class Mail
Voting Party                   St Andrew's Episcopal Church                                  Attn: Rev E Brust                                     210 S Indian River Dr                                  Fort Pierce, FL 34950                                                rector@mystandrews.org                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew's Episcopal Church                                  Attn: Jason Poling                                    7859 Tick Neck Rd                                      Pasadena, MD 21122                                                   priest@standrewspasadena.com                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew's Episcopal Church                                  Attn: Michael Petrochuk                               583 W Hopocan Ave                                      Barberton, OH 44203                                                  michaelpetrochuk@hotmail.com                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew's Episcopal Church                                  c/o Wright, Lindsey & Jennings LLP                    Attn: John R Tisdale                                   200 W Capitol Ave, Ste 2300      Little Rock, AR 72201               jtisdale@wlj.com                                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew's Episcopal Church                                  Attn: Fr James R Morrison                             1031 S Carrolton Ave                                   New Orleans, LA 70118                                                jmorrison@standrewsnola.com                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew's Episcopal Church                                  John R Tisdale                                        840 W Oak St                                           Rogers, AR 72757                                                                                                       First Class Mail
Voting Party                   St Andrew's Episcopal Church                                  Richard F Ohlsen                                      Same                                                   Same                                                                                                                   First Class Mail
Voting Party                   St Andrew's Episcopal Church (Sudlersville)                   c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                 129 N West St, Ste 1             Easton, MD 21601                    Andie@AndieRossLaw.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Andrews Episcopal Church La Mesa                           San Diego Imperial Council 049                        4816 Glen St                                           La Mesa, CA 91941‐5470                                                                                                 First Class Mail
Chartered Organization         St Andrews Episcopal Church La Mesa                           San Diego Imperial Council 049                        4816 Glen St                                           La Mesa, CA 91941‐5470                                                                                                 First Class Mail
Voting Party                   St Andrew's Episcopal Church Yaphank                          Attn: Richard Ohlsen                                  244 E Main St                                          P.O. Box 249                     Yaphank, NY 11980                   info@standrewstaphank.org                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew's Episcopal Church, Albany, NY                      Attn: Sr Warden Roland Lascala                        10 N Main Ave                                          Albany, NY 12203                                                     parishoffice@standrewsalbany.org                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews Episcopal Church, Of Toledo, Ohio                  Attn: Richard T Preston                               2770 W Central Ave                                     Toledo, OH 43606                                                     standrews419@gmail.com                            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Andrews Episcopal School                                   Golden Spread Council 562                             1515 S Georgia St                                      Amarillo, TX 79102‐2313                                                                                                First Class Mail
Chartered Organization         St Andrews Episcopal School                                   Capitol Area Council 564                              1112 W 31st St                                         Austin, TX 78705‐1902                                                                                                  First Class Mail
Chartered Organization         St Andrews Episcopal School                                   Andrew Jackson Council 303                            305 E Capitol St                                       Jackson, MS 39201‐3414                                                                                                 First Class Mail
Voting Party                   St Andrews Episcopal School                                   Attn: Kathryn Fitzpatrick                             8012 Oak St                                            New Orleans, LA 70118                                                kfitzpatrick@standrewsepiscopalschool.org         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Andrew's Lodge 39, Freemasons Of Ri                        Narragansett 546                                      18 Turner Ave                                          Riverside, RI 02915‐4434                                                                                               First Class Mail
Chartered Organization         St Andrews Lutheran Church                                    Chief Seattle Council 609                             2650 148th Ave Se                                      Bellevue, WA 98007‐6452                                                                                                First Class Mail
Chartered Organization         St Andrews Lutheran Church                                    Great Rivers Council 653                              914 West Blvd S                                        Columbia, MO 65203‐2856                                                                                                First Class Mail
Chartered Organization         St Andrews Lutheran Church                                    Voyageurs Area 286                                    501 NW 16th St                                         Grand Rapids, MN 55744‐2473                                                                                            First Class Mail
Chartered Organization         St Andrews Lutheran Church                                    Cornhusker Council 324                                1015 Lancaster Ln                                      Lincoln, NE 68505‐2117                                                                                                 First Class Mail
Chartered Organization         St Andrews Lutheran Church                                    Northern Star Council 250                             900 Stillwater Rd                                      Mahtomedi, MN 55115‐2206                                                                                               First Class Mail
Chartered Organization         St Andrews Mens Society                                       Occoneechee 421                                       3008 Old Raleigh Rd                                    Apex, NC 27502‐9254                                                                                                    First Class Mail
Chartered Organization         St Andrews Methodist Church                                   Indian Waters Council 553                             1980 Columbia Rd                                       Orangeburg, SC 29115‐3340                                                                                              First Class Mail
Chartered Organization         St Andrews Methodist Church                                   Jersey Shore Council 341                              1528 Church Rd                                         Toms River, NJ 08755‐2116                                                                                              First Class Mail
Chartered Organization         St Andrews Parish                                             Great Lakes Fsc 272                                   1240 Inglewood Ave                                     Rochester, MI 48307‐1517                                                                                               First Class Mail
Chartered Organization         St Andrews Presbyterian Charch                                Mt Diablo‐Silverado Council 023                       1601 Mary Dr                                           Pleasant Hill, CA 94523‐2232                                                                                           First Class Mail
Chartered Organization         St Andrews Presbyterian Church                                Coastal Carolina Council 550                          712 Wappoo Rd                                          Charleston, SC 29407‐5860                                                                                              First Class Mail
Chartered Organization         St Andrews Presbyterian Church                                Sam Houston Area Council 576                          5308 Buffalo Speedway                                  Houston, TX 77005‐2122                                                                                                 First Class Mail
Chartered Organization         St Andrews Presbyterian Church                                Greater Los Angeles Area 033                          301 Ave D                                              Redondo Beach, CA 90277‐4915                                                                                           First Class Mail
Chartered Organization         St Andrews Presbyterian Church                                Catalina Council 011                                  7650 N Paseo Del Norte                                 Tucson, AZ 85704‐4540                                                                                                  First Class Mail
Voting Party                   St Andrews Presbyterian Church                                Attn: James Edward Maddux                             3204 Skillman                                          Dallas, TX 75206                                                     standrews@airmail.net                             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Andrew's Presbyterian Church                               Three Rivers Council 578                              1350 N 23rd St                                         Beaumont, TX 77706‐3603                                                                                                First Class Mail
Chartered Organization         St Andrew's Presbyterian Church                               Connecticut Rivers Council, Bsa 066                   310 Fort Hill Rd                                       Groton, CT 06340‐4804                                                                                                  First Class Mail
Chartered Organization         St Andrews Roman Catholic Church                              Connecticut Rivers Council, Bsa 066                   128 Norwich Ave                                        Colchester, CT 06415‐1269                                                                                              First Class Mail
Chartered Organization         St Andrews Roman Catholic Church                              Washington Crossing Council 777                       81 Swamp Rd                                            Newtown, PA 18940‐1537                                                                                                 First Class Mail
Chartered Organization         St Andrew's Roman Catholic Church                             Central Florida Council 083                           801 N Hastings St                                      Orlando, FL 32808‐7005                                                                                                 First Class Mail
Chartered Organization         St Andrews The Apostle R C Church                             Northern New Jersey Council, Bsa 333                  400 Mount Prospect Ave                                 Clifton, NJ 07012‐1023                                                                                                 First Class Mail
Chartered Organization         St Andrews Umc                                                Yocona Area Council 748                               431 N 16th St                                          Oxford, MS 38655‐3321                                                                                                  First Class Mail
Chartered Organization         St Andrews Umc & Most Blessed Sacrament                       Istrouma Area Council 211                             17150 Monitor Ave                                      Baton Rouge, LA 70817                                                                                                  First Class Mail
Voting Party                   St Andrews Umc Amory Ms                                       Attn: Sherri Armstrong                                P.O. Box 535                                           Amory, MS 38821                                                      mail@standrewsamory.org                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews Umc Oxford Ms                                      Claude Joe Gauvin                                     421 N 16th St                                          Oxford, MS 38655                                                     joegauvin@gmail.com                               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews United Methodist Church                            Attn: Scott Foster                                    121 Lofton Dr                                          Fayetteville, NC 28311                                               office@standrewsfayetteville.org                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews United Methodist Church                            431 N 16th St                                         Oxford, MS 38655                                                                                                            joegauvin@gmail.com                               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews United Methodist Church                            Attn: Christopher Serufusa                            1020 Maryland Ave                                      Hagerstown, MD 21740                                                 cserufusa@gmail.com                               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews United Methodist Church                            Attn: Cynthia Siebert                                 39 Laurel St                                           Hagerstown, MD 21742                                                 cindysgsteach@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews United Methodist Church                            P.O. Box 6                                            Oxford, MS 38655                                                                                                                                                              First Class Mail
Voting Party                   St Andrew's United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                     erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrew's United Methodist Church                           Attn: Deb Guthrie‐Sammet                              120 W Sandusky St                                      Findlay, OH 45840                                                                                                      First Class Mail
Voting Party                   St Andrews United Methodist Church ‐ Brandon                  c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                     erice@bradley.com                                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews United Methodist Church Of Orangeburg              Attn: Robert T Cannon                                 1980 Columbia Rd                                       Orangeburg, SC 29115                                                 rtcannon@umcsc.org                                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Andrews United Methodist Church Of Orangeburg              Attn: Bob Mccurry                                     1248 Lee Blvd Nw                                       Orangeburg, SC 29118                                                 rfmccurry@hbrllp.com                              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Andrews Utd Methodist                                      Yocona Area Council 748                               P.O. Box 6                                             Oxford, MS 38655‐0006                                                                                                  First Class Mail
Chartered Organization         St Andrews Utd Methodist                                      Yocona Area Council 748                               431 N 16th St                                          Oxford, MS 38655‐3321                                                                                                  First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               National Capital Area Council 082                     845 N Howard St                                        Alexandria, VA 22304‐5456                                                                                              First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               Pushmataha Area Council 691                           1115 Veterans Legion Dr                                Amory, MS 38821‐6002                                                                                                   First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               Longhorn Council 662                                  2045 SE Green Oaks Blvd                                Arlington, TX 76018‐1981                                                                                               First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               Istrouma Area Council 211                             17510 Monitor Ave                                      Baton Rouge, LA 70817‐2639                                                                                             First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               Greater Tampa Bay Area 089                            3315 Bryan Rd                                          Brandon, FL 33511‐7553                                                                                                 First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               Greater Alabama Council 001                           615 Main Ave SW                                        Cullman, AL 35055‐4729                                                                                                 First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               Hawk Mountain Council 528                             P.O. Box 434                                           New Berlinville, PA 19545‐0434                                                                                         First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               Last Frontier Council 480                             2727 SW 119th St                                       Oklahoma City, OK 73170‐2603                                                                                           First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               Mid‐America Council 326                               15050 W Maple Rd                                       Omaha, NE 68116‐5179                                                                                                   First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               Buckskin 617                                          1210 20th St                                           Parkersburg, WV 26101‐3420                                                                                             First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               Louisiana Purchase Council 213                        164 Church St                                          Sterlington, LA 71280‐3500                                                                                             First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               Louisiana Purchase Council 213                        143 Church St                                          Sterlington, LA 71280‐3501                                                                                             First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               Anthony Wayne Area 157                                1413 N Long Dr                                         Syracuse, IN 46567‐2120                                                                                                First Class Mail
Chartered Organization         St Andrews Utd Methodist Church                               Washington Crossing Council 777                       999 York Rd                                            Warminster, PA 18974‐2007                                                                                              First Class Mail
Chartered Organization         St Andrews Utd Methodist Men                                  Tidewater Council 596                                 717 Tucson Rd                                          Virginia Beach, VA 23462‐6406                                                                                          First Class Mail
Chartered Organization         St Andrews Utd Methodist Mens Club                            Garden State Council 690                              327 Marlton Pike W                                     Cherry Hill, NJ 08002                                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 344 of 442
                                                                                    Case 20-10343-LSS                                              Doc 8171                                    Filed 01/06/22                                                    Page 360 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                      Name                                                                                                   Address                                                                                                               Email                Method of Service
Chartered Organization         St Andrews Utd Presbyterian Church                             Cascade Pacific Council 492                     3228 SW Sunset Blvd                                     Portland, OR 97239‐1273                                                                                   First Class Mail
Chartered Organization         St Andrews‐Sewanee School                                      Middle Tennessee Council 560                    290 Quintard Rd                                         Sewanee, TN 37375‐3071                                                                                    First Class Mail
Chartered Organization         St Angela Merici Catholic Church                               Lake Erie Council 440                           20970 Lorain Rd                                         Fairview Park, OH 44126‐2023                                                                              First Class Mail
Chartered Organization         St Angela Merici Catholic School                               Southeast Louisiana Council 214                 901 Beverly Garden Dr                                   Metairie, LA 70002‐5001                                                                                   First Class Mail
Chartered Organization         St Angela Merici Church                                        Orange County Council 039                       575 S Walnut Ave                                        Brea, CA 92821‐5325                                                                                       First Class Mail
Voting Party                   St Angela Merici Roman Catholic Church, Metairie, Louisiana    Attn: Susan Zeringue, General Counsel           7887 Walmsley Ave                                       New Orleans, LA 70125                                                szeringue@arch‐no.org                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Angelas Catholic Church                                     Orange County Council 039                       585 S Walnut Ave                                        Brea, CA 92821‐5325                                                                                       First Class Mail
Chartered Organization         St Ann Catholic Church                                         Montana Council 315                             9015 Hwy 200 E                                          Bonner, MT 59802                                                                                          First Class Mail
Chartered Organization         St Ann Catholic Church                                         Rainbow Council 702                             24500 S Navajo Dr                                       Channahon, IL 60410‐3335                                                                                  First Class Mail
Chartered Organization         St Ann Catholic Church                                         Dan Beard Council, Bsa 438                      2900 W Galbraith Rd                                     Cincinnati, OH 45239‐4221                                                                                 First Class Mail
Chartered Organization         St Ann Catholic Church                                         Circle Ten Council 571                          180 Samuel Blvd                                         Coppell, TX 75019‐3025                                                                                    First Class Mail
Chartered Organization         St Ann Catholic Church                                         Last Frontier Council 480                       P.O. Box 10                                             Elgin, OK 73538‐0010                                                                                      First Class Mail
Chartered Organization         St Ann Catholic Church                                         Occoneechee 421                                 357 N Cool Spring St                                    Fayetteville, NC 28301‐5137                                                                               First Class Mail
Chartered Organization         St Ann Catholic Church                                         Dan Beard Council, Bsa 438                      2900 W Galbraith Rd                                     Groesbeck, OH 45239‐4221                                                                                  First Class Mail
Chartered Organization         St Ann Catholic Church                                         Gulf Coast Council 773                          100 Daniel Dr                                           Gulf Breeze, FL 32561‐4419                                                                                First Class Mail
Chartered Organization         St Ann Catholic Church                                         Circle Ten Council 571                          806 N Washington St                                     Kaufman, TX 75142‐1134                                                                                    First Class Mail
Chartered Organization         St Ann Catholic Church                                         Greater St Louis Area Council 312               7530 Natural Bridge Rd                                  Saint Louis, MO 63121‐4903                                                                                First Class Mail
Chartered Organization         St Ann Catholic Church                                         National Capital Area Council 082               4001 Yuma St NW                                         Washington, DC 20016‐2107                                                                                 First Class Mail
Chartered Organization         St Ann Catholic School                                         Southeast Louisiana Council 214                 4940 Meadowdale St                                      Metairie, LA 70006‐4040                                                                                   First Class Mail
Chartered Organization         St Ann Chapel                                                  Norwela Council 215                             305 Jefferson St                                        Mansfield, LA 71052‐3201                                                                                  First Class Mail
Voting Party                   St Ann Hampton                                                 Attn: Andre L Kydala                            54 Old Hwy 22                                           Clinton, NJ 08809                                                    kydalalaw@aim.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Ann Parish                                                  Glaciers Edge Council 620                       320 N Harrison St                                       Stoughton, WI 53589‐1513                                                                                  First Class Mail
Voting Party                   St Ann Raritan Parish                                          Attn: Andre L Kydala                            54 Old Hwy 22                                           Clinton, NJ 08809                                                    kydalalaw@aim.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Ann Roman Catholic Church                                   Lake Erie Council 440                           2175 Coventry Rd                                        Cleveland Heights, OH 44118‐2825                                                                          First Class Mail
Chartered Organization         St Ann Roman Catholic Church                                   Mason Dixon Council 221                         1525 Oak Hill Ave                                       Hagerstown, MD 21742‐2909                                                                                 First Class Mail
Voting Party                   St Ann Roman Catholic Church And Shrine, Metaire, Louisiana    Attn: Susan A Zeringue                          7887 Walmsley Ave                                       New Orleans, LA 70125                                                szeringue@arch‐no.org                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Ann School                                                  Attn: Andre L Kydala                            54 Old Hwy 22                                           Clinton, NJ 08809                                                                                         First Class Mail
Chartered Organization         St Anne Catholic Church                                        Indian Nations Council 488                      301 S 9th St                                            Broken Arrow, OK 74012‐4409                                                                               First Class Mail
Chartered Organization         St Anne Catholic Church                                        Chickasaw Council 558                           706 S Highland St                                       Memphis, TN 38111‐4247                                                                                    First Class Mail
Chartered Organization         St Anne Catholic Church                                        Three Fires Council 127                         P.O. Box 670                                            Oswego, IL 60543‐0670                                                                                     First Class Mail
Chartered Organization         St Anne Catholic Church                                        Three Harbors Council 636                       9091 Prairie Ridge Blvd                                 Pleasant Prairie, WI 53158‐1934                                                                           First Class Mail
Chartered Organization         St Anne Catholic Church ‐ Ushers Club                          Great Lakes Fsc 272                             32000 Mound Rd                                          Warren, MI 48092‐3869                                                                                     First Class Mail
Chartered Organization         St Anne Catholic Community                                     Pathway To Adventure 456                        120 S Ela Rd                                            Barrington, IL 60010‐4812                                                                                 First Class Mail
Chartered Organization         St Anne Catholic Community                                     Sam Houston Area Council 576                    2140 Westheimer Rd                                      Houston, TX 77098‐1419                                                                                    First Class Mail
Chartered Organization         St Anne Church                                                 Mayflower Council 251                           20 Boston Rd                                            Southborough, MA 01772‐1620                                                                               First Class Mail
Chartered Organization         St Anne Church                                                 San Francisco Bay Area Council 028              32223 Cabello St                                        Union City, CA 94587‐3929                                                                                 First Class Mail
Chartered Organization         St Anne Church Ushers Club                                     Great Lakes Fsc 272                             32000 Mound Rd                                          Warren, MI 48092‐3869                                                                                     First Class Mail
Chartered Organization         St Anne Episcopal Church                                       Dan Beard Council, Bsa 438                      6461 Tylersville Rd                                     West Chester, OH 45069‐1435                                                                               First Class Mail
Chartered Organization         St Anne Parish                                                 Samoset Council, Bsa 627                        700 W Bridge St                                         Wausau, WI 54401‐2907                                                                                     First Class Mail
Chartered Organization         St Anne School                                                 Three Rivers Council 578                        375 N 11th St                                           Beaumont, TX 77702‐1834                                                                                   First Class Mail
Chartered Organization         St Anne School                                                 Orange County Council 039                       32451 Bear Brand Rd                                     Laguna Niguel, CA 92677‐9384                                                                              First Class Mail
Chartered Organization         St Annes Catholic Church                                       Palmetto Council 549                            1698 Bird St                                            Rock Hill, SC 29730‐3800                                                                                  First Class Mail
Chartered Organization         St Annes Catholic Church                                       Northern Star Council 250                       140 Church Hill Rd                                      Somerset, WI 54025‐9024                                                                                   First Class Mail
Chartered Organization         St Anne'S Catholic Church                                      Cradle of Liberty Council 525                   2328 E Lehigh Ave                                       Philadelphia, PA 19125‐2340                                                                               First Class Mail
Chartered Organization         St Annes Catholic School                                       Chattahoochee Council 091                       2000 Kay Cir                                            Columbus, GA 31907‐3229                                                                                   First Class Mail
Chartered Organization         St Annes Episcopal Church                                      East Carolina Council 426                       711 Henderson Dr                                        Jacksonville, NC 28540‐4477                                                                               First Class Mail
Chartered Organization         St Anne'S Episcopal Church                                     National Capital Area Council 082               25100 Ridge Rd                                          Damascus, MD 20872‐1832                                                                                   First Class Mail
Chartered Organization         St Anne'S Episcopal Church                                     Longhorn Council 662                            6055 Azle Ave                                           Fort Worth, TX 76135‐2601                                                                                 First Class Mail
Chartered Organization         St Anne'S Episcopal Church                                     South Georgia Council 098                       P.O. Box 889                                            Tifton, GA 31793‐0889                                                                                     First Class Mail
Voting Party                   St Anne'S Episcopal Church                                     Attn: Allyn Danni                               6221 Sauterne Dr                                        Macungie, PA 18062                                                   adanni@rcn.com                       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Anne's Episcopal Church                                     St Anne's Church                                311 Oakleigh Ave`                                       P.O. Box 387                       Appomattox, VA 24522                                                   First Class Mail
Voting Party                   St Anne's Episcopal Church, Jacksonville, NC                   Attn: Alicia R Alford                           711 Henderson Dr                                        Jacksonville, NC 28540                                               Stannesjaxnc@outlook.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Anne's Episcopal Church, Trexlertown                        Attn: Allyn Danni                               6667 Lower Macungie Rd                                  P.O. Box 368                       Trexlertown, PA 18087             administrator@stannesepiscopal.net   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Anne'S Home & School Assoc                                  Three Rivers Council 578                        450 N 11th St                                           Beaumont, TX 77702‐1804                                                                                   First Class Mail
Chartered Organization         St Annes Parish                                                Sequoia Council 027                             378 N F St                                              Porterville, CA 93257‐3545                                                                                First Class Mail
Chartered Organization         St Annes Parish Activities Group                               Minsi Trails Council 502                        450 E Washington Ave                                    Bethlehem, PA 18017‐5944                                                                                  First Class Mail
Chartered Organization         St Annes Roman Catholic Church                                 Laurel Highlands Council 527                    400 Hoodridge Dr                                        Pittsburgh, PA 15234‐1748                                                                                 First Class Mail
Chartered Organization         St Annes Roman Catholic Church                                 The Spirit of Adventure 227                     290 Jefferson Ave                                       Salem, MA 01970‐2890                                                                                      First Class Mail
Voting Party                   St Ann's Avilton, Roman Catholic Congregation, Inc             Attn: Matthew W Oakley                          218 N Charles St, Ste 400                               Baltimore, MD 21201                                                  moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Anns Basilica Roman Catholic Church                         Northeastern Pennsylvania Council 501           1239 Saint Ann St                                       Scranton, PA 18504‐3034                                                                                   First Class Mail
Chartered Organization         St Ann'S Catholic ‐ Bartlett                                   Chickasaw Council 558                           6529 Stage Rd                                           Bartlett, TN 38134‐3807                                                                                   First Class Mail
Chartered Organization         St Anns Catholic Church                                        Heart of Virginia Council 602                   105 S Snead St                                          Ashland, VA 23005‐1811                                                                                    First Class Mail
Chartered Organization         St Anns Catholic Church                                        Mecklenburg County Council 415                  3635 Park Rd                                            Charlotte, NC 28209‐4109                                                                                  First Class Mail
Chartered Organization         St Anns Catholic Church                                        Tuscarora Council 424                           4057 US 70 Bus Hwy W                                    Clayton, NC 27520‐4310                                                                                    First Class Mail
Chartered Organization         St Anns Catholic Church                                        Erie Shores Council 460                         1021 W State St                                         Fremont, OH 43420‐2103                                                                                    First Class Mail
Chartered Organization         St Anns Catholic Church                                        Aloha Council, Bsa 104                          46‐129 Haiku Rd                                         Kaneohe, HI 96744‐4001                                                                                    First Class Mail
Chartered Organization         St Anns Catholic Church                                        Pathway To Adventure 456                        3010 Ridge Rd                                           Lansing, IL 60438‐3020                                                                                    First Class Mail
Chartered Organization         St Anns Catholic Church                                        Longhouse Council 373                           104 Academy St                                          Manlius, NY 13104‐1902                                                                                    First Class Mail
Chartered Organization         St Anns Catholic Church                                        Buffalo Trail Council 567                       1906 W Texas Ave                                        Midland, TX 79701‐6564                                                                                    First Class Mail
Chartered Organization         St Anns Catholic Church                                        Heart of America Council 307                    7231 Mission Rd                                         Prairie Village, KS 66208‐3004                                                                            First Class Mail
Chartered Organization         St Ann'S Catholic Church                                       Patriots Path Council 358                       45 Anderson St                                          Raritan, NJ 08869‐1834                                                                                    First Class Mail
Chartered Organization         St Anns Catholic Church Morganfield                            Lincoln Heritage Council 205                    304 S Church St                                         Morganfield, KY 42437‐1609                                                                                First Class Mail
Chartered Organization         St Anns Church                                                 Narragansett 546                                N Main St                                               Raynham, MA 02767                                                                                         First Class Mail
Chartered Organization         St Anns Church                                                 Mayflower Council 251                           103 N Main St                                           West Bridgewater, MA 02379‐1224                                                                           First Class Mail
Chartered Organization         St Ann'S Church                                                Twin Rivers Council 364                         37 Div St                                               Amsterdam, NY 12010‐4324                                                                                  First Class Mail
Chartered Organization         St Ann'S Church                                                Hudson Valley Council 374                       125 Richardson Ave                                      Shohola, PA 18458‐4033                                                                                    First Class Mail
Voting Party                   St Ann's Church                                                82 Shore Rd                                     Old Lyme, CT 06371                                                                                                           office@saintannsoldlyme.org          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Ann'S Church & Enders Rd Home/Sch Asn                       Longhouse Council 373                           104 Academy St                                          Manlius, NY 13104‐1902                                                                                    First Class Mail
Chartered Organization         St Ann'S Episcopal Church                                      Pine Tree Council 218                           P.O. Box 911                                            Windham, ME 04062‐0911                                                                                    First Class Mail
Voting Party                   St Ann's Episcopal Church                                      c/o Speyer & Perlberg LLP                       Attn: Dennis M Perlberg                                 1300 Veterans Hwy, Ste 200         Hauppauge, NY 11788               perlberg@speyerperlber.com           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Ann's Episcopal Church                                      Attn: Rev Jeffrey Stevenson                     262 Middle Rd                                           Sayville, NY 11782                                                   frjeff@saint‐anns.org                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Ann's Episcopal Church Windham                              c/o The Episcopal Diocese of Maine / Martin     P.O. Box 4036                                           Portland, ME 04101                                                   bmartin@episcopalmaine.org           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Anns Holy Redeemer Parish                                   The Spirit of Adventure 227                     42 Green St                                             Newburyport, MA 01950‐2647                                                                                First Class Mail
Chartered Organization         St Anns Roman Catholic Church                                  Minsi Trails Council 502                        415 S 6th St                                            Emmaus, PA 18049‐3703                                                                                     First Class Mail
Chartered Organization         St Anns Roman Catholic Church                                  Susquehanna Council 533                         1220 Nway Rd                                            Williamsport, PA 17701                                                                                    First Class Mail
Chartered Organization         St Ann'S Roman Catholic Church                                 National Capital Area Council 082               5300 10th St N                                          Arlington, VA 22205‐2402                                                                                  First Class Mail
Voting Party                   St Ann's Roman Catholic Congregation Inc                       Attn: Matthew W Oakey                           218 N Charles St, Ste 400                               Baltimore, MD 21201                                                  moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Anselm Roman Catholic Church                                Cradle of Liberty Council 525                   12669 Dunks Ferry Rd                                    Philadelphia, PA 19154‐1424                                                                               First Class Mail
Chartered Organization         St Anselms Roman Catholic Church                               Greater New York Councils, Bsa 640              356 82nd St                                             Brooklyn, NY 11209‐3809                                                                                   First Class Mail
Chartered Organization         St Ansgar'S Lutheran Church                                    Gamehaven 299                                   7459 Hwy 19 Blvd                                        Cannon Falls, MN 55009‐4064                                                                               First Class Mail
Chartered Organization         St Anthony Catholic Church                                     Greater Niagara Frontier Council 380            306 Ingham Ave                                          Buffalo, NY 14218‐2511                                                                                    First Class Mail
Chartered Organization         St Anthony Catholic School                                     Mid Iowa Council 177                            16 Columbus Ave                                         Des Moines, IA 50315‐7113                                                                                 First Class Mail
Chartered Organization         St Anthony Church                                              Greater Niagara Frontier Council 380            306 Ingham Ave                                          Lackawanna, NY 14218‐2511                                                                                 First Class Mail
Chartered Organization         St Anthony Church                                              Mississippi Valley Council 141 141              2223 Saint Anthony Rd                                   Quincy, IL 62305‐0460                                                                                     First Class Mail
Chartered Organization         St Anthony Community Center                                    Buffalo Trace 156                               P.O. Box 34                                             Saint Anthony, IN 47575‐0034                                                                              First Class Mail
Chartered Organization         St Anthony Community Center                                    Buffalo Trace 156                               4665 S Cross St                                         Saint Anthony, IN 47575‐9640                                                                              First Class Mail
Chartered Organization         St Anthony Community School                                    Circle Ten Council 571                          3732 Myrtle St                                          Dallas, TX 75215‐3849                                                                                     First Class Mail
Chartered Organization         St Anthony Community School                                    Circle Ten Council 571                          3732 Myrtle St                                          Dallas, TX 75215‐3849                                                                                     First Class Mail
Chartered Organization         St Anthony Hospital Systems                                    Denver Area Council 061                         11600 W 2nd Pl                                          Lakewood, CO 80228‐1527                                                                                   First Class Mail
Chartered Organization         St Anthony Marie De Claret Catholic Ch                         Capitol Area Council 564                        P.O. Box 268                                            Kyle, TX 78640‐0268                                                                                       First Class Mail
Chartered Organization         St Anthony Mary Claret                                         Alamo Area Council 583                          6150 Roft Rd                                            San Antonio, TX 78253‐9261                                                                                First Class Mail
Chartered Organization         St Anthony Of Padua                                            Sequoia Council 027                             5770 N Maroa Ave                                        Fresno, CA 93704‐2038                                                                                     First Class Mail
Chartered Organization         St Anthony Of Padua                                            Greater St Louis Area Council 312               3009 High Ridge Blvd                                    High Ridge, MO 63049‐2216                                                                                 First Class Mail
Voting Party                   St Anthony Of Padua                                            Attn: Andre L Kydala                            54 Old Hwy 22                                           Clinton, NJ 08809                                                    kydalalaw@aim.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Anthony Of Padua Catholic Church                            Lincoln Heritage Council 205                    316 N Sherwood Ave                                      Clarksville, IN 47129‐2724                                                                                First Class Mail
Chartered Organization         St Anthony Of Padua Catholic Church                            President Gerald R Ford 781                     2510 Richmond St NW                                     Grand Rapids, MI 49504‐2329                                                                               First Class Mail
Chartered Organization         St Anthony Of Padua Catholic Church                            Las Vegas Area Council 328                      6350 N Fort Apache Rd                                   Las Vegas, NV 89149‐2300                                                                                  First Class Mail
Chartered Organization         St Anthony Of Padua Catholic Church                            Southeast Louisiana Council 214                 234 Angus Dr                                            Luling, LA 70070‐4427                                                                                     First Class Mail
Chartered Organization         St Anthony Of Padua Catholic Church                            Greater Tampa Bay Area 089                      32832 San Antonio Way                                   San Antonio, FL 33576                                                                                     First Class Mail
Chartered Organization         St Anthony Of Padua Catholic Church                            Occoneechee 421                                 160 E Vermont Ave                                       Southern Pines, NC 28387                                                                                  First Class Mail
Chartered Organization         St Anthony Of Padua Catholic Church                            Sam Houston Area Council 576                    7801 Bay Branch Dr                                      The Woodlands, TX 77382‐5359                                                                              First Class Mail
Chartered Organization         St Anthony Of Padua Catholic Parish                            Sequoia Council 027                             5770 N Maroa Ave                                        Fresno, CA 93704‐2038                                                                                     First Class Mail
Chartered Organization         St Anthony Of Padua Parish                                     Patriots Path Council 358                       65 Bartholdi Ave                                        Butler, NJ 07405‐1460                                                                                     First Class Mail
Chartered Organization         St Anthony Of Padua Parish                                     Pine Tree Council 218                           295 Brown St                                            Westbrook, ME 04092‐2908                                                                                  First Class Mail
Chartered Organization         St Anthony Of Padua Parish                                     Del Mar Va 081                                  901 N Dupont St                                         Wilmington, DE 19805‐5310                                                                                 First Class Mail
Chartered Organization         St Anthony Of Padua Rc Church                                  Suffolk County Council Inc 404                  20 Cheshire Pl                                          East Northport, NY 11731‐2503                                                                             First Class Mail
Voting Party                   St Anthony Of Padua Roman Catholic Church, Luling, Louisiana   Attn: Susan A Zeringue, General Counsel         7887 Walmsley Ave                                       New Orleans, LA 70125                                                szeringue@arch‐no.org                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Anthony Of Padua Roman Catholic Congregation, Inc           Attn: Matthew W Oakley                          218 N Charles St, Ste 400                               Baltimore, MD 21201                                                  moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Anthony Parish                                              Montana Council 315                             217 Tremont St                                          Missoula, MT 59801‐3938                                                                                   First Class Mail
Chartered Organization         St Anthony Parish                                              Golden Empire Council 047                       660 Florin Rd                                           Sacramento, CA 95831‐2683                                                                                 First Class Mail
Voting Party                   St Anthony Park United Church Of Christ                        Attn: James Snoxell                             2129 Commonwealth Ave                                   St Paul, MN 55108                                                    jsnoxell@hennsnoxlaw.com             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Anthony Park United Church Of Christ                        c/o Henningson & Snoxell Ltd                    Attn: James E Snoxell                                   6900 Wedgwood Rd, Ste 200          Maple Grove, MN 55311‐3541                                             First Class Mail
Chartered Organization         St Anthony Park Utd Church Of Christ                           Northern Star Council 250                       2129 Commonwealth Ave                                   Saint Paul, MN 55108‐1715                                                                                 First Class Mail
Chartered Organization         St Anthony School                                              Aloha Council, Bsa 104                          148 Makawao St                                          Kailua, HI 96734‐5828                                                                                     First Class Mail
Chartered Organization         St Anthony School                                              Cascade Pacific Council 492                     12645 SW Pacific Hwy                                    Portland, OR 97223‐6116                                                                                   First Class Mail
Chartered Organization         St Anthony School                                              Greater Los Angeles Area 033                    1905 S San Gabriel Blvd                                 San Gabriel, CA 91776‐3931                                                                                First Class Mail
Voting Party                   St Anthony School                                              c/o Roman Catholic Archdiocese of Los Angeles   Attn: Margaret Graf                                     3424 Wilshire Blvd                 Los Angeles, CA 90010             legal@la‐archdiocese.org             Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Anthony School‐5Th Street Campus                            Three Harbors Council 636                       1669 S 5th St                                           Milwaukee, WI 53204‐3401                                                                                  First Class Mail
Voting Party                   St Anthony Shrine, Emmitsburg, Roman Catholic Congregation     Attn: Matthew W Oakley                          218 N Charles St, Ste 400                               Baltimore, MD 21201                                                  moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Anthony Summit Medical Center                               Denver Area Council 061                         P.O. Box 738                                            Frisco, CO 80443‐0738                                                                                     First Class Mail
Chartered Organization         St Anthonys Catholic Church                                    Great Lakes Fsc 272                             409 W Columbia Ave                                      Belleville, MI 48111‐2611                                                                                 First Class Mail
Chartered Organization         St Anthonys Catholic Church                                    Black Swamp Area Council 449                    512 W Sycamore St                                       Columbus Grove, OH 45830‐1020                                                                             First Class Mail
Chartered Organization         St Anthonys Catholic Church                                    Northeast Iowa Council 178                      1870 Saint Ambrose St 8384                              Dubuque, IA 52001‐4150                                                                                    First Class Mail
Chartered Organization         St Anthony'S Catholic Church                                   Northeast Iowa Council 178                      1870 Saint Ambrose St                                   Dubuque, IA 52001‐4150                                                                                    First Class Mail
Chartered Organization         St Anthony'S Catholic Church                                   Lasalle Council 165                             2310 E Jefferson Blvd                                   South Bend, IN 46615‐2610                                                                                 First Class Mail
Chartered Organization         St Anthony'S Catholic Church                                   National Capital Area Council 082               1029 Monroe St Ne                                       Washington, DC 20017‐1761                                                                                 First Class Mail
Chartered Organization         St Anthonys Church                                             Cape Cod and Islands Cncl 224                   167 E Falmouth Hwy                                      East Falmouth, MA 02536‐6038                                                                              First Class Mail
Chartered Organization         St Anthonys Church                                             Aloha Council, Bsa 104                          148 Makawao St, Ste A                                   Kailua, HI 96734‐5828                                                                                     First Class Mail
Chartered Organization         St Anthonys Medical Center                                     Greater St Louis Area Council 312               10010 Kennerly Rd                                       Saint Louis, MO 63128‐2106                                                                                First Class Mail
Chartered Organization         St Anthonys Padua Rc Ch                                        Cradle of Liberty Council 525                   259 Forest Ave                                          Ambler, PA 19002‐5903                                                                                     First Class Mail
Chartered Organization         St Anthony'S Rc Ch Hawthorne                                   Northern New Jersey Council, Bsa 333            276 Diamond Bridge Ave                                  Hawthorne, NJ 07506‐1912                                                                                  First Class Mail
Chartered Organization         St Anthonys Rc Church                                          Greater Niagara Frontier Council 380            421 Commercial St                                       Farnham, NY 14061                                                                                         First Class Mail
Chartered Organization         St Anthonys Roman Catholic Church                              Hudson Valley Council 374                       34 W Nyack Rd                                           Nanuet, NY 10954‐2931                                                                                     First Class Mail
Chartered Organization         St Anthonys Roman Catholic Church                              Theodore Roosevelt Council 386                  110 Anchor Ave                                          Oceanside, NY 11572‐3031                                                                                  First Class Mail
Chartered Organization         St Anthonys Roman Catholic Church                              Theodore Roosevelt Council 386                  110 Anchor Ave                                          Oceanside, NY 11572‐3031                                                                                  First Class Mail
Chartered Organization         St Anthony'S Roman Catholic Church                             Northern New Jersey Council, Bsa 333            199 Walnut St                                           Northvale, NJ 07647‐2122                                                                                  First Class Mail
Chartered Organization         St Anthony'S School                                            Three Rivers Council 578                        850 Forsythe St                                         Beaumont, TX 77701‐2812                                                                                   First Class Mail
Chartered Organization         St Antoninus Roman Catholic Church                             Dan Beard Council, Bsa 438                      1500 Linneman Rd                                        Cincinnati, OH 45238‐1944                                                                                 First Class Mail
Chartered Organization         St Asaph Episcopal Church                                      Cradle of Liberty Council 525                   27 Conshohocken State Rd                                Bala Cynwyd, PA 19004‐2400                                                                                First Class Mail
Chartered Organization         St Athanasius Booster Club                                     Lincoln Heritage Council 205                    5915 Outer Lp                                           Louisville, KY 40219‐4136                                                                                 First Class Mail
Chartered Organization         St Athanasius Church                                           The Spirit of Adventure 227                     300 Haverhill St                                        Reading, MA 01867‐1810                                                                                    First Class Mail
Chartered Organization         St Athanasius Church School                                    Northeast Illinois 129                          1615 Lincoln St                                         Evanston, IL 60201‐2340                                                                                   First Class Mail
Chartered Organization         St Athanasius Roman Catholic Church                            Greater New York Councils, Bsa 640              2154 61st St                                            Brooklyn, NY 11204‐2569                                                                                   First Class Mail
Chartered Organization         St Athanasius Roman Catholic Church                            Laurel Highlands Council 527                    6 Wentworth Ave                                         Pittsburgh, PA 15229                                                                                      First Class Mail
Voting Party                   St Athanasius' Roman Catholic Congregation, Inc                Attn: Matthew W Oakley                          218 N Charles St, Ste 400                               Baltimore, MD 21201                                                  moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Augusta Lions Club                                          Central Minnesota 296                           3750 210th St                                           Saint Augusta, MN 55382‐9244                                                                              First Class Mail
Chartered Organization         St Augustine                                                   Southern Shores Fsc 783                         6481 Faussett Rd                                        Howell, MI 48855‐9238                                                                                     First Class Mail
Chartered Organization         St Augustine Catholic Church                                   Cherokee Area Council 556                       1716 Anderson Pike                                      Signal Mountain, TN 37377‐3261                                                                            First Class Mail
Voting Party                   St Augustine Church                                            c/o Woods Oviatt Gilman LLP                     Attn: Timothy P Lyster, Esq                             1900 Bausch & Lomb Pl              Rochester, NY 14604               tlyster@woodsoviatt.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Augustine Elks Lodge 829                                    North Florida Council 087                       1420 A1A S                                              Saint Augustine, FL 32080‐5446                                                                            First Class Mail
Chartered Organization         St Augustine Episcopal Church                                  Aloha Council, Bsa 104                          P.O. Box 220                                            Kapaau, HI 96755‐0220                                                                                     First Class Mail
Chartered Organization         St Augustine Episcopal Church                                  Last Frontier Council 480                       14700 N May Ave                                         Oklahoma City, OK 73134‐5009                                                                              First Class Mail
Voting Party                   St Augustine Episcopal Church                                  Attn: The Very Rev William A J Heine Jr         3412 Haring Rd                                          Metairie, LA 70006                                                   ajheine@bellsouth.net                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Augustine High School                                       South Texas Council 577                         1300 Galveston St                                       Laredo, TX 78040‐8720                                                                                     First Class Mail
Voting Party                   St Augustine Of Canterbury                                     Attn: Andre L Kydala                            54 Old Hwy 22                                           Clinton, NJ 08809                                                    kydalalaw@aim.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Augustine Of Canterbury Episcopal Church                    Attn: Sr Warden Terri Rothe                     P.O. Box 5425                                           Navarre, FL 32566                                                    terrirothe69@gmail.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 345 of 442
                                                                                  Case 20-10343-LSS                                                                       Doc 8171                                            Filed 01/06/22                                                       Page 361 of 457
                                                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                                                  Service List
                                                                                                                                                                                                           Served as set forth below

        Description                                                       Name                                                                                                                                 Address                                                                                                              Email               Method of Service
Voting Party                   St Augustine Of Canterbury Episcopal Church                               Attn: Sr Warden Terri Rothe                                P.O. Box 5425                                                    Navarre, FL 32566                                                       sremington@clarkparington.com   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Augustine Of Canterbury Episcopal Church                               Attn: Rev Joseph C Alsay Rector                            14700 N May Ave                                                  Oklahoma City, OK 73134                                                 Rector@sac‐okc.org              Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Augustine Of Canterbury Episcopal Church                               c/o Episcopal Diocese of Northwestern Pa                   Attn: Sean Rowe                                                  145 W 6th St                          Erie, PA 16501                    cdougan@dionwpa.org             Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Augustine Of Canterbury Parish                                         Greater St Louis Area Council 312                          1910 W Belle St                                                  Belleville, IL 62226‐6114                                                                               First Class Mail
Chartered Organization         St Augustine Rcc                                                          Narragansett 546                                           17 Lincoln St                                                    Millville, MA 01529‐1605                                                                                First Class Mail
Chartered Organization         St Augustine Roman Catholic Church                                        Hudson Valley Council 374                                  140 Maple Ave                                                    New City, NY 10956‐5042                                                                                 First Class Mail
Chartered Organization         St Augustine Roman Catholic Church                                        Twin Rivers Council 364                                    P.O. Box 327                                                     North Bangor, NY 12966‐0327                                                                             First Class Mail
Chartered Organization         St Augustine Roman Catholic Church                                        Narragansett 546                                           20 Old Rd                                                        Providence, RI 02908‐1937                                                                               First Class Mail
Voting Party                   St Augustine School, Inc                                                  Attn: Matthew W Oakley                                     218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                     moakey@gejlaw.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Augustine Shores United Methodist Church ‐ Augustine                   c/o Bradley Arant Boult Cummings, LLP                      Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Augustines Canterbury School                                           Attn: Andre L Kydala                                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                       kydalalaw@aim.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Augustines Church                                                      Baltimore Area Council 220                                 5976 Old Washington Rd                                           Elkridge, MD 21075‐5335                                                                                 First Class Mail
Voting Party                   St Augustine's Church                                                     Nathanael Saint‐Pierre                                     575 Grand St, Apt E2005                                          New York, NY 10002                                                      rector@staugnyc.org             Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Augustine's Church                                                     333 Madison St                                             New York, NY 10002                                                                                                                       rector@staugnyc.org             Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Augustine's Church                                                     Attn: Nathanael Saint‐Pierre                               575 Grand St, Apt E2005                                          New York, NY 10002                                                      natsaintpierre@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Augustine's Council 7273 K Of C                                        Twin Rivers Council 364                                    3035 Main St                                                     Peru, NY 12972‐2901                                                                                     First Class Mail
Voting Party                   St Augustine's Episcopal Church In Oakland, California                    Attn: The Rev James Dahlin                                 521 29th St                                                      Oakland, CA 94609                                                       rev.jim@staugepiscopal.org      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Augustines Roman Catholic Church                                       Westchester Putnam 388                                     18 Cherry Ave                                                    Larchmont, NY 10538‐3733                                                                                First Class Mail
Chartered Organization         St Augustines Roman Catholic Church                                       Westchester Putnam 388                                     Eagle Park, Route 9                                              Ossining, NY 10562                                                                                      First Class Mail
Voting Party                   St Augustine's Williamsport, Roman Catholic Congregation, Incorporated    Attn: Matthew W Oakey                                      218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                     moakey@gejlaw.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Augustins Catholic Church                                              Mid Iowa Council 177                                       545 42nd St                                                      Des Moines, IA 50312‐2706                                                                               First Class Mail
Chartered Organization         St Austin Catholic Church                                                 Capitol Area Council 564                                   2026 Guadalupe St                                                Austin, TX 78705‐5609                                                                                   First Class Mail
Voting Party                   St Austin Catholic Church                                                 Attn: Chancellor                                           6225 E US 290 Hwy Svrd Eb                                        Austin, TX 78723                                                        ron‐walker@austindiocese.org    Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Austin Catholic Church                                                 Attn: Rev Charles Kullman                                  2026 Guadalupe St                                                Austin, TX 78705                                                                                        First Class Mail
Chartered Organization         St Barbara Greek Orthodox Church                                          Connecticut Yankee Council Bsa 072                         480 Racebrook Rd                                                 Orange, CT 06477‐2514                                                                                   First Class Mail
Chartered Organization         St Barbara Roman Catholic Church                                          Westmoreland Fayette 512                                   111 Raymaley Rd                                                  Harrison City, PA 15636‐1422                                                                            First Class Mail
Chartered Organization         St Barnabas Catholic Church                                               Long Beach Area Council 032                                3955 Orange Ave                                                  Long Beach, CA 90807‐3715                                                                               First Class Mail
Chartered Organization         St Barnabas Catholic Church                                               Narragansett 546                                           1697 E Main Rd                                                   Portsmouth, RI 02871‐2427                                                                               First Class Mail
Voting Party                   St Barnabas Catholic Church                                               c/o Roman Catholic Archdiocese of Los Angeles              Attn: Margaret Graf                                              3424 Wilshire Blvd                    Los Angeles, CA 90010             legal@la‐archdiocese.org        Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Barnabas Church                                                        Jersey Shore Council 341                                   P.O. Box 1                                                       Bayville, NJ 08721‐0001                                                                                 First Class Mail
Chartered Organization         St Barnabas Church                                                        Narragansett 546                                           3257 Post Rd                                                     Warwick, RI 02886‐7145                                                                                  First Class Mail
Chartered Organization         St Barnabas Episcopal Church                                              Longhorn Council 662                                       8425 Parkwood Hill Blvd                                          Fort Worth, TX 76137‐5381                                                                               First Class Mail
Chartered Organization         St Barnabas Episcopal Church                                              Capitol Area Council 564                                   601 W Creek St                                                   Fredericksburg, TX 78624‐3117                                                                           First Class Mail
Chartered Organization         St Barnabas Episcopal Church                                              Circle Ten Council 571                                     1200 N Shiloh Rd                                                 Garland, TX 75042‐5724                                                                                  First Class Mail
Chartered Organization         St Barnabas Episcopal Church                                              Cascade Pacific Council 492                                2201 SW Vermont St                                               Portland, OR 97219‐1935                                                                                 First Class Mail
Chartered Organization         St Barnabas Episcopal Church                                              Del Mar Va 081                                             2800 Duncan Rd                                                   Wilmington, DE 19808‐2313                                                                               First Class Mail
Voting Party                   St Barnabas Episcopal Church                                              417 Elton St                                               Brooklyn, NY 11208                                                                                                                       syljoyce526@al.com              Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Barnabas Episcopal Church                                              Attn: Rev Canon Joseph B Howard                            3700 Woodmont Blvd                                               Nashville, TN 37215                                                     jhoward@edtn.org                Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Barnabas' Episcopal Church ‐ Millcreek                                 c/o L E York Law                                           Attn: Lydia E York, Esq                                          182 Belmont Dr                        Wilmington, DE 19808              lydia@leyorklaw.com             Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Barnabas' Episcopal Church ‐ Millcreek                                 Lydia E York                                               2800 Duncan Rd                                                   Wilmington, DE 19808                                                    leyork@comcast.net              Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Barnabas Episcopal Church, Bay Village OH                              Attn: Rev Alexander Martin & Clare Smith Long              468 Bradley Rd                                                   Bay Village, OH 44140                                                   fralex@stbarnabasv.org          Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Barnabas Lutheran Church                                               Greater New York Councils, Bsa 640                         15919 98th St                                                    Howard Beach, NY 11414‐3535                                                                             First Class Mail
Chartered Organization         St Barnabas Lutheran Church                                               Northern Star Council 250                                  15600 Old Rockford Rd                                            Plymouth, MN 55446‐3208                                                                                 First Class Mail
Chartered Organization         St Barnabas On The Desert                                                 Grand Canyon Council 010                                   6715 N Mockingbird Ln                                            Scottsdale, AZ 85253‐4344                                                                               First Class Mail
Chartered Organization         St Barnabas R C Church                                                    Greater New York Councils, Bsa 640                         409 E 241st St                                                   Bronx, NY 10470‐1715                                                                                    First Class Mail
Chartered Organization         St Barnabas Rcc                                                           Crossroads of America 160                                  8300 Rahke Rd                                                    Indianapolis, IN 46217‐4951                                                                             First Class Mail
Chartered Organization         St Barnabas Roman Catholic Church                                         Theodore Roosevelt Council 386                             2320 Bedford Ave                                                 Bellmore, NY 11710‐3617                                                                                 First Class Mail
Chartered Organization         St Barnabas Roman Catholic Church                                         Greater New York Councils, Bsa 640                         409 E 241st St                                                   Bronx, NY 10470‐1715                                                                                    First Class Mail
Voting Party                   St Barnabas United Methodist Church ‐ Arlington                           c/o Bradley Arant Boult Cummings, LLP                      Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Barnabas United Methodist Church ‐ Arlington                           5011 W Pleasant Ridge Rd                                   Arlington, TX 76016                                                                                                                                                      First Class Mail
Voting Party                   St Bartholomew                                                            Attn: Andre L Kydala                                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                       kydalalaw@aim.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Bartholomew Catholic Church                                            Dan Beard Council, Bsa 438                                 9375 Winton Rd                                                   Cincinnati, OH 45231‐3967                                                                               First Class Mail
Chartered Organization         St Bartholomew Catholic Church                                            South Florida Council 084                                  8005 Miramar Pkwy                                                Miramar, FL 33025‐3004                                                                                  First Class Mail
Chartered Organization         St Bartholomew Episcopal Church                                           Garden State Council 690                                   1989 Marlton Pike E                                              Cherry Hill, NJ 08003‐1830                                                                              First Class Mail
Chartered Organization         St Bartholomew Episcopal Church                                           Lake Erie Council 440                                      435 Som Center Rd                                                Mayfield Village, OH 44143‐1519                                                                         First Class Mail
Voting Party                   St Bartholomew Protestant Episcopal Church, Inc                           Attn: Stephen C Secaur                                     435 Som Center Rd                                                Mayfield, OH 44143                                                      saintbartohio@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Bartholomew Protestant Episcopal Church, Inc                           Attn: Stephen C Secaur                                     435 Som Ctr Rd                                                   Mayfield Village, OH 44143                                              saintbartohio@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Bartholomew Rc Church                                                  Patriots Path Council 358                                  2032 Westfield Ave                                               Scotch Plains, NJ 07076‐1812                                                                            First Class Mail
Chartered Organization         St Bartholomew Roman Catholic Church                                      Monmouth Council, Bsa 347                                  460 Ryders Ln                                                    East Brunswick, NJ 08816‐2765                                                                           First Class Mail
Voting Party                   St Bartholomew School                                                     Attn: Andre L Kydala                                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                       kydalalaw@aim.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Bartholomew The Apostle Catholic Ch                                    Sam Houston Area Council 576                               5356 11th St                                                     Katy, TX 77493‐1748                                                                                     First Class Mail
Chartered Organization         St Bartholomews Catholic Church                                           Baltimore Area Council 220                                 3071 Park Ave                                                    Manchester, MD 21102‐1832                                                                               First Class Mail
Voting Party                   St Bartholomew'S Church In The City Of New York                           Attn: Patrick A Macmurray                                  353 W 56th St, Apt 9‐I                                           New York, NY 10019                                                      pamacmurray@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Bartholomew's Church In The City Of New York                           325 Park Ave                                               New York, NY 10022                                                                                                                       dwolfe@stbarts.org              Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Bartholomews Episcopal Church                                          Atlanta Area Council 092                                   1790 Lavista Rd Ne                                               Atlanta, GA 30329‐3604                                                                                  First Class Mail
Chartered Organization         St Bartholomews Episcopal Church                                          South Texas Council 577                                    622 Airline Rd                                                   Corpus Christi, TX 78412‐3156                                                                           First Class Mail
Chartered Organization         St Bartholomews Episcopal Church                                          San Diego Imperial Council 049                             16275 Pomerado Rd                                                Poway, CA 92064‐1826                                                                                    First Class Mail
Chartered Organization         St Bartholomew'S Episcopal Church                                         San Diego Imperial Council 049                             16275 Pomerado Rd                                                Poway, CA 92064‐1826                                                                                    First Class Mail
Voting Party                   St Bartholomew's Episcopal Church                                         Attn: Rev Dr Angela Shepherd                               1790 Lavista Rd                                                  Atlanta, GA 30329                                                       angela@stbartsatlanta.org       Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Bartholomew's Episcopal Church And Academy                             622 Airline Rd                                             Corpus Christi, TX 78412                                                                                                                 stbartcc@att.net                Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Bartholomew's, Manchester, Roman Catholic Congregation, Incorporated   Attn: Matthew W Oakey                                      218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                     moakey@gejlaw.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Bartholomew's, Manchester, Roman Catholic Congregation, Incorporated   Attn: Matthew W Oakley                                     218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                     moakey@gejlaw.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Basil Catholic Church                                                  Evangeline Area 212                                        1803 Duhon Rd                                                    Duson, LA 70529‐4334                                                                                    First Class Mail
Chartered Organization         St Basil The Great Roman Catholic Church                                  Lake Erie Council 440                                      8700 Brecksville Rd                                              Brecksville, OH 44141‐1920                                                                              First Class Mail
Chartered Organization         St Bede School                                                            Northeast Illinois 129                                     36399 N Wilson Rd                                                Ingleside, IL 60041‐9609                                                                                First Class Mail
Chartered Organization         St Bede The Venerable                                                     Greater Los Angeles Area 033                               215 Foothill Blvd                                                La Canada Flintridge, CA 91011‐3708                                                                     First Class Mail
Voting Party                   St Bede The Venerable                                                     c/o Archdiocese of Los Angeles                             Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                    Los Angeles, CA 90010             legal@la‐archdiocese.org        Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Bede The Venerable Church                                              Lake Erie Council 440                                      9114 Lake Shore Blvd                                             Mentor, OH 44060‐1606                                                                                   First Class Mail
Chartered Organization         St Bedes Catholic Church                                                  Washington Crossing Council 777                            1071 Holland Rd                                                  Holland, PA 18966‐2380                                                                                  First Class Mail
Chartered Organization         St Bedes Roman Catholic Church                                            Laurel Highlands Council 527                               509 S Dallas Ave                                                 Pittsburgh, PA 15208‐2820                                                                               First Class Mail
Chartered Organization         St Benedict Cathedral                                                     Buffalo Trace 156                                          1312 Lincoln Ave                                                 Evansville, IN 47714‐1516                                                                               First Class Mail
Chartered Organization         St Benedict Catholic Church                                               Glaciers Edge Council 620                                  P.O. Box 110                                                     Fontana, WI 53125‐0110                                                                                  First Class Mail
Chartered Organization         St Benedict Catholic Church                                               Atlanta Area Council 092                                   11045 Parsons Rd                                                 Johns Creek, GA 30097‐1769                                                                              First Class Mail
Chartered Organization         St Benedict Catholic Church                                               Heart of Virginia Council 602                              300 N Sheppard St                                                Richmond, VA 23221‐2481                                                                                 First Class Mail
Chartered Organization         St Benedict Church                                                        Greater Los Angeles Area 033                               1022 W Cleveland Ave                                             Montebello, CA 90640‐4620                                                                               First Class Mail
Voting Party                   St Benedict Church                                                        c/o Roman Catholic Archdiocese of Los Angeles              Attn: Margaret Graf                                              3424 Wilshire Blvd                    Los Angeles, CA 90010             legal@la‐archdiocese.org        Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Benedict Parish                                                        Westmoreland Fayette 512                                   260 Bruno Rd                                                     Greensburg, PA 15601‐8500                                                                               First Class Mail
Chartered Organization         St Benedict Parish                                                        Bay‐Lakes Council 635                                      P.O. Box 66                                                      Suamico, WI 54173‐0066                                                                                  First Class Mail
Chartered Organization         St Benedict Parish Council                                                Pathway To Adventure 456                                   2215 W Irving Park Rd                                            Chicago, IL 60618‐3805                                                                                  First Class Mail
Chartered Organization         St Benedict Rc Parish Phoenix                                             Grand Canyon Council 010                                   16223 S 48th St                                                  Phoenix, AZ 85048‐0801                                                                                  First Class Mail
Voting Party                   St Benedict Roman Catholic Congregation, Inc                              Attn: Matthew W Oakey                                      218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                     moakey@gejlaw.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Benedict The Abbot Church                                              Laurel Highlands Council 527                               120 Abington Dr                                                  Mcmurray, PA 15317‐3302                                                                                 First Class Mail
Chartered Organization         St Benedicts Catholic Church                                              Pony Express Council 311                                   1001 N 2nd St                                                    Atchison, KS 66002‐1430                                                                                 First Class Mail
Chartered Organization         St Benedicts Catholic Church                                              Last Frontier Council 480                                  632 N Kickapoo Ave                                               Shawnee, OK 74801‐6070                                                                                  First Class Mail
Chartered Organization         St Benedicts Catholic Church Youth Group                                  Indian Nations Council 488                                 2200 W Ithica St                                                 Broken Arrow, OK 74012‐7455                                                                             First Class Mail
Chartered Organization         St Benedicts Episcopal Day School                                         Atlanta Area Council 092                                   2160 Cooper Lake Rd SE                                           Smyrna, GA 30080‐6328                                                                                   First Class Mail
Chartered Organization         St Benedicts School                                                       Monmouth Council, Bsa 347                                  165 Bethany Rd                                                   Holmdel, NJ 07733‐1654                                                                                  First Class Mail
Chartered Organization         St Benilde Catholic Church                                                Southeast Louisiana Council 214                            1901 Div St                                                      Metairie, LA 70001‐2716                                                                                 First Class Mail
Chartered Organization         St Benilde Catholic Church                                                Southeast Louisiana Council 214                            1901 Div St                                                      Metairie, LA 70001‐2716                                                                                 First Class Mail
Voting Party                   St Benilde Roman Catholic Church, Metairie, Louisiana                     Attn: Susan A Zeringue                                     7887 Walmsley Ave                                                New Orleans, LA 70125                                                   szeringue@arch‐no.org           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Benjamin's Lutheran Church                                             Baltimore Area Council 220                                 700 Kriders Cemetary Rd                                          Westminster, MD 21158‐4303                                                                              First Class Mail
Voting Party                   St Bernadette                                                             Attn: Andre L Kydala                                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                       kydalalaw@aim.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Bernadette Catholic Church                                             Great Swest Council 412                                    1800 Martha St NE                                                Albuquerque, NM 87112‐3161                                                                              First Class Mail
Chartered Organization         St Bernadette Catholic Church                                             Great Swest Council 412                                    1800 Martha St NE                                                Albuquerque, NM 87112‐3161                                                                              First Class Mail
Chartered Organization         St Bernadette Catholic Church                                             Bay‐Lakes Council 635                                      2331 E Lourdes Dr                                                Appleton, WI 54915‐3615                                                                                 First Class Mail
Chartered Organization         St Bernadette Catholic Church                                             Occoneechee 421                                            1005 Wilbon Rd                                                   Fuquay Varina, NC 27526‐8262                                                                            First Class Mail
Chartered Organization         St Bernadette Catholic Church                                             Ozark Trails Council 306                                   P.O. Box 167                                                     Hermitage, MO 65668‐0167                                                                                First Class Mail
Chartered Organization         St Bernadette Catholic Church                                             Sam Houston Area Council 576                               15500 El Camino Real                                             Houston, TX 77062‐4016                                                                                  First Class Mail
Chartered Organization         St Bernadette Catholic Church                                             Evangeline Area 212                                        1112 Saturn Rd                                                   Morgan City, LA 70380‐5514                                                                              First Class Mail
Chartered Organization         St Bernadette Catholic Church                                             Lincoln Heritage Council 205                               6500 Saint Bernadette Ave                                        Prospect, KY 40059‐6543                                                                                 First Class Mail
Chartered Organization         St Bernadette Catholic Church                                             National Capital Area Council 082                          7600 Old Keene Mill Rd                                           Springfield, VA 22152‐2016                                                                              First Class Mail
Chartered Organization         St Bernadette Catholic Church                                             Lake Erie Council 440                                      2256 Clague Rd                                                   Westlake, OH 44145‐4328                                                                                 First Class Mail
Chartered Organization         St Bernadette Church                                                      Dan Beard Council, Bsa 438                                 1475 Locust Lake Rd                                              Amelia, OH 45102                                                                                        First Class Mail
Chartered Organization         St Bernadette Church                                                      Southeast Louisiana Council 214                            215 J Patrick Dr                                                 Houma, LA 70364‐2873                                                                                    First Class Mail
Chartered Organization         St Bernadette Church                                                      Monmouth Council, Bsa 347                                  20 Villanova Rd                                                  Parlin, NJ 08859‐1936                                                                                   First Class Mail
Voting Party                   St Bernadette Roman Catholic Congregation, Inc                            Attn: Matthew W Oakey                                      218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                     moakey@gejlaw.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Bernadette'S Catholic Church                                           Grand Canyon Council 010                                   16245 N 60th St                                                  Scottsdale, AZ 85254‐7323                                                                               First Class Mail
Chartered Organization         St Bernadettes Church                                                     Laurel Highlands Council 527                               Azalea Dr                                                        Monroeville, PA 15146                                                                                   First Class Mail
Chartered Organization         St Bernadettes R C Church                                                 Laurel Highlands Council 527                               245 Azalea Dr                                                    Monroeville, PA 15146‐1791                                                                              First Class Mail
Chartered Organization         St Bernadettes Roman Catholic Church                                      National Capital Area Council 082                          70 University Blvd E                                             Silver Spring, MD 20901‐2547                                                                            First Class Mail
Chartered Organization         St Bernadette'S Roman Catholic Church                                     Baltimore Area Council 220                                 801 Stevenson Rd                                                 Severn, MD 21144‐2208                                                                                   First Class Mail
Chartered Organization         St Bernard Academy                                                        Middle Tennessee Council 560                               2020 24th Ave S                                                  Nashville, TN 37212                                                                                     First Class Mail
Chartered Organization         St Bernard Catholic Church                                                Evangeline Area 212                                        304 N Main St                                                    Breaux Bridge, LA 70517                                                                                 First Class Mail
Chartered Organization         St Bernard Catholic Church                                                Evangeline Area 212                                        219 E Bridge St                                                  Breaux Bridge, LA 70517‐5027                                                                            First Class Mail
Chartered Organization         St Bernard Catholic Church                                                Bay‐Lakes Council 635                                      2040 Hillside Ln                                                 Green Bay, WI 54302‐4055                                                                                First Class Mail
Chartered Organization         St Bernard Church                                                         Dan Beard Council, Bsa 438                                 7130 Harrison Ave                                                Cincinnati, OH 45247‐3372                                                                               First Class Mail
Voting Party                   St Bernard Church 1306 E Main St Crawfordsville, IN                       Attn: Matt Mckillip                                        610 Lingle Ave                                                   P.O. Box 260                          Lafayette, IN 47902               mmckillip@dol‐in.org            Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Bernard Of Clairvaux Parish                                            Attn: Andre L Kydala                                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                       First Class Mail
Chartered Organization         St Bernard Roman Catholic Church                                          Laurel Highlands Council 527                               311 Washington Rd                                                Pittsburgh, PA 15216‐1665                                                                               First Class Mail
Chartered Organization         St Bernardines Parish                                                     W.L.A.C.C. 051                                             24410 Calvert St                                                 Woodland Hills, CA 91367‐1006                                                                           First Class Mail
Chartered Organization         St Bernardines Parish                                                     W.L.A.C.C. 051                                             6061 Valley Cir Blvd                                             Woodland Hills, CA 91367‐1144                                                                           First Class Mail
Voting Party                   St Bernardines Parish                                                     c/o Roman Catholic Archdiocese of Los Angeles              Attn: Margaret Graf                                              3424 Wilshire Blvd                    Los Angeles, CA 90010             legal@la‐archdiocese.org        Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Bernards Catholic Church                                               Crossroads of America 160                                  1306 E Main St                                                   Crawfordsville, IN 47933‐2001                                                                           First Class Mail
Chartered Organization         St Bernards Catholic Church                                               Theodore Roosevelt Council 386                             3100 Hempstead Tpke                                              Levittown, NY 11756‐8900                                                                                First Class Mail
Chartered Organization         St Bernards Catholic Church                                               Glaciers Edge Council 620                                  2450 Atwood Ave                                                  Madison, WI 53704‐5605                                                                                  First Class Mail
Chartered Organization         St Bernards Catholic Church                                               Narragansett 546                                           275 Tower Hill Rd                                                North Kingstown, RI 02852‐4811                                                                          First Class Mail
Chartered Organization         St Bernards Catholic Church                                               South Florida Council 084                                  8279 Sunset Strip                                                Sunrise, FL 33322‐3089                                                                                  First Class Mail
Chartered Organization         St Bernards Catholic Church                                               Indian Nations Council 488                                 4001 E 101st St                                                  Tulsa, OK 74137‐5808                                                                                    First Class Mail
Chartered Organization         St Bernards Catholic Church                                               Indian Nations Council 488                                 4001 E 101st St                                                  Tulsa, OK 74137‐5808                                                                                    First Class Mail
Chartered Organization         St Bernard'S Catholic Church                                              Rainbow Council 702                                        14135 S Parker Rd                                                Homer Glen, IL 60491‐9692                                                                               First Class Mail
Chartered Organization         St Bernards Mens Club                                                     Northern Star Council 250                                  1160 Woodbridge St                                               Saint Paul, MN 55117‐4491                                                                               First Class Mail
Chartered Organization         St Bernards Parish                                                        Montana Council 315                                        226 Wicks Ln                                                     Billings, MT 59105‐3725                                                                                 First Class Mail
Chartered Organization         St Bernards Parish Council                                                Three Harbors Council 636                                  7440 Harwood Ave                                                 Milwaukee, WI 53213                                                                                     First Class Mail
Chartered Organization         St Bernards R C C                                                         Narragansett 546                                           P.O. Box 370                                                     Assonet, MA 02702‐0370                                                                                  First Class Mail
Chartered Organization         St Bernards Rc Church                                                     Greater New York Councils, Bsa 640                         2055 E 69th St                                                   Brooklyn, NY 11234‐6015                                                                                 First Class Mail
Chartered Organization         St Bernards Roman Catholic Church                                         President Gerald R Ford 781                                5734 W 10 1/2 Mile Rd                                            Irons, MI 49644‐9262                                                                                    First Class Mail
Chartered Organization         St Bernards Roman Catholic Church                                         Laurel Highlands Council 527                               311 Washington Rd                                                Pittsburgh, PA 15216‐1665                                                                               First Class Mail
Voting Party                   St Bernard's Roman Catholic Church                                        c/o Westerman Ball Ederer Miller Zucker & Sharfstein LLP   Attn: Jw/Wch                                                     1201 Rxr Plz                          Uniondale, NY 11556               wheuer@westermanllp.com         Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Bernards Roman Catholic Congregation Inc                               Attn: Matthew W Oakey                                      218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                     moakey@gejlaw.com               Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Bethlehem United Methodist Church                                      Attn: Emily Bellamy, Treasurer                             2201 Old Russellville Pike                                       Clarksville, TN 37040                                                   stbumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Blaise Roman Catholic Church                                           Mayflower Council 251                                      1158 S Main St                                                   Bellingham, MA 02019‐1515                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                  Page 346 of 442
                                                                                 Case 20-10343-LSS                                                         Doc 8171                                             Filed 01/06/22                                                    Page 362 of 457
                                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                                    Service List
                                                                                                                                                                                             Served as set forth below

        Description                                                         Name                                                                                                                 Address                                                                                                                               Email              Method of Service
Chartered Organization         St Bonaventure Catholic Church                              Mid‐America Council 326                                    1565 18th Ave                                                    Columbus, NE 68601‐5140                                                                                                 First Class Mail
Chartered Organization         St Bonaventure Catholic Church                              South Florida Council 084                                  1301 SW 136th Ave                                                Davie, FL 33325‐4300                                                                                                    First Class Mail
Chartered Organization         St Bonaventure Church                                       Orange County Council 039                                  16400 Springdale St                                              Huntington Beach, CA 92649‐2774                                                                                         First Class Mail
Chartered Organization         St Bonaventure Roman Catholic Church                        Laurel Highlands Council 527                               2001 Mount Royal Blvd                                            Glenshaw, PA 15116‐2007                                                                                                 First Class Mail
Chartered Organization         St Bonaventure'S Knights Of Columbus                        Mayflower Council 251                                      P.O. Box 600                                                     Manomet, MA 02345‐0600                                                                                                  First Class Mail
Chartered Organization         St Boniface Catholic Church                                 Attn: Pack 20 Cub Scouts                                   1820 N B St                                                      Fort Smith, AR 72901‐3300                                                                                               First Class Mail
Chartered Organization         St Boniface Catholic Church                                 Sagamore Council 162                                       318 N 9th St                                                     Lafayette, IN 47904‐2502                                                                                                First Class Mail
Chartered Organization         St Boniface Church                                          French Creek Council 532                                   9367 Wattsburg Rd                                                Erie, PA 16509‐6031                                                                                                     First Class Mail
Voting Party                   St Boniface Church 318 N 9Th St Lafayette, IN 47904         Attn: Matt Mckillip                                        610 Lingle Ave                                                   P.O. Box 260                       Lafayette, IN 47902                               mmckillip@dol‐in.org               Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St Boniface Martyr Parish                                   c/o Westerman Ball Ederer Miller Zucker & Sharfstein LLP   Attn: Jw/Wch                                                     1201 Rxr Plz                       Uniondale, NY 11556                               wheuer@westermanllp.com            Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Boniface Parish                                          Buffalo Trace 156                                          1626 Glendale Ave                                                Evansville, IN 47712‐4141                                                                                               First Class Mail
Chartered Organization         St Boniface Roman Catholic Church                           French Creek Council 532                                   9367 Wattsburg Rd                                                Erie, PA 16509‐6031                                                                                                     First Class Mail
Chartered Organization         St Boniface School                                          Potawatomi Area Council 651                                W204N11968 Goldendale Rd                                         Germantown, WI 53022                                                                                                    First Class Mail
Chartered Organization         St Brendan Catholic Church                                  Simon Kenton Council 441                                   4475 Dublin Rd                                                   Hilliard, OH 43026‐2706                                                                                                 First Class Mail
Chartered Organization         St Brendan Roman Catholic Church                            Narragansett 546                                           60 Turner Ave                                                    Riverside, RI 02915‐3200                                                                                                First Class Mail
Chartered Organization         St Brendans Anglican Parish                                 Katahdin Area Council 216                                  14 Mckinley Ln                                                   Bass Harbor, ME 04653‐3227                                                                                              First Class Mail
Chartered Organization         St Brendans Catholic Church                                 Lake Erie Council 440                                      4242 Brendan Ln                                                  North Olmsted, OH 44070‐2934                                                                                            First Class Mail
Chartered Organization         St Brendans Roman Catholic Church                           Greater New York Councils, Bsa 640                         1525 E 12th St                                                   Brooklyn, NY 11230‐7101                                                                                                 First Class Mail
Voting Party                   St Bride's Church                                           621 N Sparrow Rd                                           Chesapeake, VA 23325                                                                                                                                  stbrideschurch@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Bridget Catholic Church                                  Mayflower Council 251                                      15 Wheeler Ave                                                   Framingham, MA 01702‐2901                                                                                               First Class Mail
Chartered Organization         St Bridget Catholic Church                                  Pathway To Adventure 456                                   568 E 2nd St                                                     Hobart, IN 46342‐4415                                                                                                   First Class Mail
Chartered Organization         St Bridget Catholic Church                                  Blackhawk Area 660                                         600 Clifford Ave                                                 Loves Park, IL 61111‐4698                                                                                               First Class Mail
Chartered Organization         St Bridget Catholic School                                  Pathway To Adventure 456                                   107 Main St                                                      Hobart, IN 46342‐4451                                                                                                   First Class Mail
Chartered Organization         St Bridget Of Kildare Church                                Connecticut Rivers Council, Bsa 066                        75 Moodus Leesville Rd                                           Moodus, CT 06469‐1032                                                                                                   First Class Mail
Chartered Organization         St Bridget Of Sweden Parish                                 W.L.A.C.C. 051                                             16707 Gault St                                                   Van Nuys, CA 91406‐3708                                                                                                 First Class Mail
Chartered Organization         St Bridget Of Sweden Parish                                 W.L.A.C.C. 051                                             7120 Whitaker Ave                                                Van Nuys, CA 91406‐3719                                                                                                 First Class Mail
Voting Party                   St Bridget of Sweden Parish                                 c/o Roman Catholic Archdiocese of Los Angeles              Attn: Margaret Graf                                              3424 Wilshire Blvd                 Los Angeles, CA 90010                             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Bridgets                                                 Mayflower Council 251                                      1 Percival St                                                    Maynard, MA 01754‐1610                                                                                                  First Class Mail
Chartered Organization         St Bridgets Chinese Catholic Center                         Greater Los Angeles Area 033                               510 Cottage Home St                                              Los Angeles, CA 90012‐1416                                                                                              First Class Mail
Voting Party                   St Bridgets Chinese Catholic Church                         c/o Archdiocese of Los Angeles                             Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                 Los Angeles, CA 90010                             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Bridgets Church                                          Heart of Virginia Council 602                              6006 Three Chopt Rd                                              Richmond, VA 23226‐2730                                                                                                 First Class Mail
Chartered Organization         St Bridgets Home & School Assoc                             Blackhawk Area 660                                         604 Clifford Ave                                                 Loves Park, IL 61111‐4698                                                                                               First Class Mail
Chartered Organization         St Brigid Catholic Church                                   Atlanta Area Council 092                                   3400 Old Alabama Rd                                              Johns Creek, GA 30022‐5525                                                                                              First Class Mail
Chartered Organization         St Brigid Catholic Church                                   Chickasaw Council 558                                      7801 Lowrance Rd                                                 Memphis, TN 38125‐2825                                                                                                  First Class Mail
Chartered Organization         St Brigid Catholic Church                                   Water and Woods Council 782                                130 W Larkin St                                                  Midland, MI 48640‐5151                                                                                                  First Class Mail
Chartered Organization         St Brigid Catholic Church                                   San Diego Imperial Council 049                             4735 Cass St                                                     San Diego, CA 92109‐2602                                                                                                First Class Mail
Chartered Organization         St Brigid Catholic School                                   Water and Woods Council 782                                130 W Larkin St                                                  Midland, MI 48640‐5151                                                                                                  First Class Mail
Chartered Organization         St Brigid Of Kildare Catholic Church                        Simon Kenton Council 441                                   7179 Avery Rd                                                    Dublin, OH 43017‐2702                                                                                                   First Class Mail
Chartered Organization         St Brigid Roman Catholic Church                             The Spirit of Adventure 227                                2001 Massachusetts Ave                                           Lexington, MA 02421‐4812                                                                                                First Class Mail
Chartered Organization         St Brigid Roman Catholic Church                             Tecumseh 439                                               258 Purcell Dr                                                   Xenia, OH 45385‐1214                                                                                                    First Class Mail
Chartered Organization         St Brigids Roman Catholic Church                            Theodore Roosevelt Council 386                             75 Post Ave                                                      Westbury, NY 11590‐4338                                                                                                 First Class Mail
Voting Party                   St Brigid's Roman Catholic Congregation Inc                 Attn: Matthew W Oakey                                      218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Bronislava Catholic Church                               Samoset Council, Bsa 627                                   P.O. Box 158                                                     Plover, WI 54467‐0158                                                                                                   First Class Mail
Chartered Organization         St Bruno Parish & School Community                          Pathway To Adventure 456                                   4751 S Harding Ave                                               Chicago, IL 60632‐3628                                                                                                  First Class Mail
Chartered Organization         St Callistus Roman Catholic Church                          Allegheny Highlands Council 382                            342 Chase St                                                     Kane, PA 16735‐1319                                                                                                     First Class Mail
Chartered Organization         St Camillus Parish                                          The Spirit of Adventure 227                                1175 Concord Tpke                                                Arlington, MA 02476‐7262                                                                                                First Class Mail
Chartered Organization         St Camillus Roman Catholic Church                           National Capital Area Council 082                          1600 Saint Camillus Dr                                           Silver Spring, MD 20903‐2559                                                                                            First Class Mail
Chartered Organization         St Casimir Roman Catholic Church                            Water and Woods Council 782                                815 Sparrow Ave                                                  Lansing, MI 48910‐1370                                                                                                  First Class Mail
Voting Party                   St Casimir's Roman Catholic Congregation Inc                Attn: Matthew W Oakey                                      218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Catharine Catholic Church                                Dan Beard Council, Bsa 438                                 2848 Fischer Pl                                                  Cincinnati, OH 45211‐5916                                                                                               First Class Mail
Chartered Organization         St Catharine Of Siena                                       Simon Kenton Council 441                                   500 S Gould Rd                                                   Columbus, OH 43209‐2221                                                                                                 First Class Mail
Voting Party                   St Catharine Roman Catholic Church                          c/o Carella, Byrne, Et Al                                  Attn: Charles M Carella Esq                                      5 Becker Farm Rd                   Roseland, NJ 07068                                cmcarella@carellabyrne.com         Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Catharine Siena Rc Ch                                    Hawk Mountain Council 528                                  2427 Perkiomen Ave                                               Reading, PA 19606‐2049                                                                                                  First Class Mail
Chartered Organization         St Catherine Catholic Church                                Dan Beard Council, Bsa 438                                 2848 Fischer Pl                                                  Cincinnati, OH 45211‐5916                                                                                               First Class Mail
Chartered Organization         St Catherine Laboure                                        Greater St Louis Area Council 312                          9740 Sappington Rd                                               Saint Louis, MO 63128‐1237                                                                                              First Class Mail
Chartered Organization         St Catherine Laboure Holy Name Society                      Greater Los Angeles Area 033                               3846 Redondo Beach Blvd                                          Torrance, CA 90504‐1114                                                                                                 First Class Mail
Voting Party                   St Catherine Laboure Holy Name Society                      c/o Archdiocese of Los Angeles                             Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                 Los Angeles, CA 90010                             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Catherine Laboure School                                 Northeast Illinois 129                                     3425 Thornwood Ave                                               Glenview, IL 60026‐1555                                                                                                 First Class Mail
Chartered Organization         St Catherine Of Alexandria Episcopal                        Greater Tampa Bay Area 089                                 502 Druid Hills Rd                                               Temple Terrace, FL 33617‐3853                                                                                           First Class Mail
Chartered Organization         St Catherine Of Alexandria Parish                           Silicon Valley Monterey Bay 055                            17400 Peak Ave                                                   Morgan Hill, CA 95037‐4140                                                                                              First Class Mail
Chartered Organization         St Catherine Of Siena                                       Capitol Area Council 564                                   4800 Convict Hill Rd                                             Austin, TX 78749‐2202                                                                                                   First Class Mail
Chartered Organization         St Catherine Of Siena                                       Cradle of Liberty Council 525                              321 Witmer Rd                                                    Horsham, PA 19044‐3402                                                                                                  First Class Mail
Chartered Organization         St Catherine Of Siena                                       Western Massachusetts Council 234                          1023 Parker St                                                   Springfield, MA 01129‐1023                                                                                              First Class Mail
Chartered Organization         St Catherine Of Siena                                       Occoneechee 421                                            520 W Holding Ave                                                Wake Forest, NC 27587‐2845                                                                                              First Class Mail
Chartered Organization         St Catherine Of Siena Catholic Church                       Greater Tampa Bay Area 089                                 1955 S Belcher Rd                                                Clearwater, FL 33764‐6603                                                                                               First Class Mail
Chartered Organization         St Catherine Of Siena Catholic Church                       Central Florida Council 083                                2750 E Osceola Pkwy                                              Kissimmee, FL 34743‐6028                                                                                                First Class Mail
Chartered Organization         St Catherine Of Siena Catholic Church                       Southeast Louisiana Council 214                            105 Bonnabel Blvd                                                Metairie, LA 70005‐3736                                                                                                 First Class Mail
Chartered Organization         St Catherine Of Siena Catholic Church                       Mayflower Council 251                                      547 Washington St                                                Norwood, MA 02062‐2201                                                                                                  First Class Mail
Chartered Organization         St Catherine Of Siena Catholic Church                       Southern Shores Fsc 783                                    1150 W Centre Ave                                                Portage, MI 49024‐5318                                                                                                  First Class Mail
Chartered Organization         St Catherine Of Siena Catholic Church                       Occoneechee 421                                            520 W Holding Ave                                                Wake Forest, NC 27587‐2845                                                                                              First Class Mail
Chartered Organization         St Catherine Of Siena Church                                Bucktail Council 509                                       116 S State St                                                   Du Bois, PA 15801‐1667                                                                                                  First Class Mail
Chartered Organization         St Catherine Of Siena Church                                Pathway To Adventure 456                                   7132 Arizona Ave                                                 Hammond, IN 46323‐2223                                                                                                  First Class Mail
Chartered Organization         St Catherine Of Siena Parish                                Water and Woods Council 782                                2956 E North Union Rd                                            Bay City, MI 48706‐9246                                                                                                 First Class Mail
Chartered Organization         St Catherine Of Siena Parish                                Mt Diablo‐Silverado Council 023                            1125 Ferry St                                                    Martinez, CA 94553‐1720                                                                                                 First Class Mail
Voting Party                   St Catherine Of Siena Roman Catholic Church, Metairie, LA   Attn: Susan A Zeringue                                     7887 Walmsley Ave                                                New Orleans, LA 70125                                                                szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St Catherine Of Siena Roman Catholic Church, Metairie, LA   Attn: Susan Zeringue, General Counsel                      7887 Walmsley Ave                                                New Orleans, LA 70125                                                                szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St Catherine Of Siena‐Austin Texas                          c/o Bsa Coordinator                                        Attn: Chancellor                                                 6225 E US 290 Hwy Svrd Eb          Austin, TX 78723                                  ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St Catherine Of Siena‐Austin Texas                          Attn: Rev Patrick Coakley                                  4800 Convict Hill Rd                                             Austin, TX 78749                                                                                                        First Class Mail
Chartered Organization         St Catherine Of Sienna                                      Erie Shores Council 460                                    1155 Corbin Rd                                                   Toledo, OH 43612‐2366                                                                                                   First Class Mail
Chartered Organization         St Catherine Of Sienna Catholic Church                      Inland Nwest Council 611                                   206 Summit Blvd                                                  Priest River, ID 83856                                                                                                  First Class Mail
Chartered Organization         St Catherine Of Sienna Catholic Church                      California Inland Empire Council 045                       339 N Sycamore Ave                                               Rialto, CA 92376‐5943                                                                                                   First Class Mail
Chartered Organization         St Catherine Of Sweden Parish                               Laurel Highlands Council 527                               2554 Wildwood Rd                                                 Allison Park, PA 15101‐2224                                                                                             First Class Mail
Chartered Organization         St Catherine Of Sweden Parish                               Laurel Highlands Council 527                               2554 Wildwood Rd At Vitullo                                      Wildwood, PA 15091                                                                                                      First Class Mail
Chartered Organization         St Catherine Parish                                         Northern New Jersey Council, Bsa 333                       112 Erskine Rd                                                   Ringwood, NJ 07456‐2177                                                                                                 First Class Mail
Chartered Organization         St Catherine Siena Rc Ch                                    Washington Crossing Council 777                            2 White Bridge Rd                                                Pittstown, NJ 08867‐4132                                                                                                First Class Mail
Chartered Organization         St Catherine Siena Rc Ch                                    Hawk Mountain Council 528                                  2427 Perkiomen Ave                                               Reading, PA 19606‐2049                                                                                                  First Class Mail
Chartered Organization         St Catherines Catholic Church                               North Florida Council 087                                  1649 Kingsley Ave                                                Orange Park, FL 32073‐4435                                                                                              First Class Mail
Chartered Organization         St Catherine'S Catholic Church                              Atlanta Area Council 092                                   1618 Ben King Rd Nw                                              Kennesaw, GA 30144‐2945                                                                                                 First Class Mail
Chartered Organization         St Catherine'S Center For Children                          Twin Rivers Council 364                                    30 N Main Ave                                                    Albany, NY 12203‐1410                                                                                                   First Class Mail
Chartered Organization         St Catherines Episcopal Church                              Atlanta Area Council 092                                   681 Holt Rd Ne                                                   Marietta, GA 30068                                                                                                      First Class Mail
Chartered Organization         St Catherines Holy Name Society                             Erie Shores Council 460                                    4555 N Haven Ave                                                 Toledo, OH 43612‐2350                                                                                                   First Class Mail
Chartered Organization         St Catherines Roman Catholic Church                         The Spirit of Adventure 227                                107 N Main St                                                    Westford, MA 01886‐1219                                                                                                 First Class Mail
Voting Party                   St Cathrine Of Siena                                        Attn: Andre L Kydala                                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                                       First Class Mail
Voting Party                   St Ceceilia Iselin Parish                                   Attn: Andre L Kydala                                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                                       First Class Mail
Chartered Organization         St Cecilia Catholic Church                                  Chief Seattle Council 609                                  1310 Madison Ave N                                               Bainbridge Island, WA 98110‐1802                                                                                        First Class Mail
Chartered Organization         St Cecilia Catholic Church                                  Greater St Louis Area Council 312                          155 N Main St                                                    Glen Carbon, IL 62034‐1625                                                                                              First Class Mail
Chartered Organization         St Cecilia Catholic Church                                  Sam Houston Area Council 576                               11720 Joan of Arc Dr                                             Houston, TX 77024‐2602                                                                                                  First Class Mail
Chartered Organization         St Cecilia Catholic Church                                  Orange County Council 039                                  1301 Sycamore Ave                                                Tustin, CA 92780‐6276                                                                                                   First Class Mail
Chartered Organization         St Cecilia Catholic Community                               Southwest Florida Council 088                              5632 Sunrise Dr                                                  Fort Myers, FL 33919‐1724                                                                                               First Class Mail
Voting Party                   St Cecilia Monmouth Junction Parish                         Attn: Andre L Kydala                                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                                       First Class Mail
Chartered Organization         St Cecilia Parish                                           Bay‐Lakes Council 635                                      510 Brady Ave                                                    Caspian, MI 49915‐5008                                                                                                  First Class Mail
Chartered Organization         St Cecilia Parish                                           Overland Trails 322                                        301 W 7th St                                                     Hastings, NE 68901‐4460                                                                                                 First Class Mail
Chartered Organization         St Cecilias Catholic Church                                 Quivira Council, Bsa 198                                   1912 W Grand Ave                                                 Haysville, KS 67060‐1263                                                                                                First Class Mail
Chartered Organization         St Cecilias Catholic Church                                 Mid‐America Council 326                                    701 N 40th St                                                    Omaha, NE 68131‐1826                                                                                                    First Class Mail
Chartered Organization         St Cecilias Roman Catholic Church                           Cradle of Liberty Council 525                              535 Rhawn St                                                     Philadelphia, PA 19111‐2504                                                                                             First Class Mail
Chartered Organization         St Cecilias Roman Catholic Church                           Western Massachusetts Council 234                          42 Main St                                                       Wilbraham, MA 01095‐6100                                                                                                First Class Mail
Chartered Organization         St Celestine School Parents Club                            Pathway To Adventure 456                                   3017 N 77th Ave                                                  Elmwood Park, IL 60707‐1110                                                                                             First Class Mail
Chartered Organization         St Chad'S Episcopal Church                                  Great Swest Council 412                                    7171 Tennyson St NE                                              Albuquerque, NM 87122‐1081                                                                                              First Class Mail
Chartered Organization         St Charles American Legion Post 342                         Three Fires Council 127                                    311 N 2nd St                                                     St Charles, IL 60174‐1850                                                                                               First Class Mail
Chartered Organization         St Charles Avenue Presbyterian Church                       Southeast Louisiana Council 214                            1545 State St                                                    New Orleans, LA 70118‐6147                                                                                              First Class Mail
Chartered Organization         St Charles Borromeo                                         Piedmont Council 420                                       714 W Union St                                                   Morganton, NC 28655‐4210                                                                                                First Class Mail
Chartered Organization         St Charles Borromeo Catholic Church                         Hoosier Trails Council 145 145                             2222 E 3rd St                                                    Bloomington, IN 47401‐5305                                                                                              First Class Mail
Chartered Organization         St Charles Borromeo Catholic Church                         Anthony Wayne Area 157                                     4670 Trier Rd                                                    Fort Wayne, IN 46815‐4961                                                                                               First Class Mail
Chartered Organization         St Charles Borromeo Catholic Church                         Three Rivers Council 578                                   211 Hardy Ave                                                    Nederland, TX 77627‐7327                                                                                                First Class Mail
Chartered Organization         St Charles Borromeo Catholic Church                         Lake Erie Council 440                                      5891 Ridge Rd                                                    Parma, OH 44129‐3642                                                                                                    First Class Mail
Chartered Organization         St Charles Borromeo Catholic Church                         Northern Star Council 250                                  2739 Stinson Blvd                                                Saint Anthony, MN 55418‐3124                                                                                            First Class Mail
Chartered Organization         St Charles Borromeo Catholic Church                         Pacific Harbors Council, Bsa 612                           7112 S 12th St                                                   Tacoma, WA 98465‐1700                                                                                                   First Class Mail
Chartered Organization         St Charles Borromeo Church                                  Greater St Louis Area Council 312                          921 Madison Ave                                                  Charleston, IL 61920‐1537                                                                                               First Class Mail
Chartered Organization         St Charles Borromeo Church                                  Seneca Waterways 397                                       3003 Dewey Ave                                                   Rochester, NY 14616‐3731                                                                                                First Class Mail
Chartered Organization         St Charles Borromeo Church                                  Greater St Louis Area Council 312                          601 N 4th St                                                     Saint Charles, MO 63301‐2049                                                                                            First Class Mail
Chartered Organization         St Charles Borromeo Church                                  Erie Shores Council 460                                    1842 S Ave                                                       Toledo, OH 43609                                                                                                        First Class Mail
Chartered Organization         St Charles Borromeo Home School                             Greater St Louis Area Council 312                          601 N 4th St                                                     Saint Charles, MO 63301‐2049                                                                                            First Class Mail
Chartered Organization         St Charles Borromeo Parish                                  San Francisco Bay Area Council 028                         1315 Lomitas Ave                                                 Livermore, CA 94550‐6441                                                                                                First Class Mail
Chartered Organization         St Charles Borromeo Parish                                  Greater St Louis Area Council 312                          20 Westbury Dr                                                   Saint Charles, MO 63301‐2537                                                                                            First Class Mail
Voting Party                   St Charles Borromeo Parish                                  Attn: Andre L Kydala                                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                                       First Class Mail
Chartered Organization         St Charles Borromeo Rc Church                               Washington Crossing Council 777                            1731 Hulmeville Rd                                               Bensalem, PA 19020‐7608                                                                                                 First Class Mail
Voting Party                   St Charles Borromeo's Roman Catholic Congregation, Inc      Attn: Matthew W Oakey                                      218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Charles Catholic Church                                  Potawatomi Area Council 651                                526 Renson Rd                                                    Hartland, WI 53029‐1818                                                                                                 First Class Mail
Chartered Organization         St Charles Catholic Church                                  Miami Valley Council, Bsa 444                              4500 Ackerman Blvd                                               Kettering, OH 45429‐5504                                                                                                First Class Mail
Chartered Organization         St Charles Catholic Church                                  Miami Valley Council, Bsa 444                              4500 Ackerman Blvd                                               Kettering, OH 45429‐5504                                                                                                First Class Mail
Chartered Organization         St Charles Catholic Church                                  Piedmont Council 420                                       728 W Union St                                                   Morganton, NC 28655‐4210                                                                                                First Class Mail
Chartered Organization         St Charles Catholic Church                                  Three Rivers Council 578                                   103 Hardy Ave                                                    Nederland, TX 77627                                                                                                     First Class Mail
Voting Party                   St Charles Episcopal Church                                 Attn: Rev Stacy Walker                                     994 N 5th Ave                                                    St Charles, IL 60174                                                                 revstacy@stcharlesepiscopal.org    Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Charles Fraternal Order Of Police                        Southeast Louisiana Council 214                            220 Judge Edward Dufresne Pkwy                                   Luling, LA 70070‐6235                                                                                                   First Class Mail
Chartered Organization         St Charles Fraternal Order Of Police 15                     Southeast Louisiana Council 214                            12628 River Rd                                                   Destrehan, LA 70047‐5308                                                                                                First Class Mail
Chartered Organization         St Charles Loyal Order Of                                   The Moose Lodge 1368                                       Three Fires Council 127                                          2250 W Lincoln Hwy                 P.O. Box 309               St Charles, IL 60174                                      First Class Mail
Chartered Organization         St Charles Parents For Scouting                             Heart of America Council 307                               900 NE Shady Lane Dr                                             Kansas City, MO 64118‐4742                                                                                              First Class Mail
Chartered Organization         St Charles Parish                                           Potawatomi Area Council 651                                313 Cir Dr                                                       Hartland, WI 53029‐1824                                                                                                 First Class Mail
Chartered Organization         St Charles Parish                                           Black Swamp Area Council 449                               2200 W Elm St                                                    Lima, OH 45805‐2658                                                                                                     First Class Mail
Chartered Organization         St Charles Parish                                           The Spirit of Adventure 227                                280 Main St                                                      Woburn, MA 01801‐5004                                                                                                   First Class Mail
Chartered Organization         St Charles Police Explorers                                 Greater St Louis Area Council 312                          1781 Zumbehl Rd                                                  Saint Charles, MO 63303‐2763                                                                                            First Class Mail
Chartered Organization         St Charles Pto                                              Hoosier Trails Council 145 145                             2224 E 3rd St                                                    Bloomington, IN 47401‐5305                                                                                              First Class Mail
Chartered Organization         St Charles River Church                                     Greater St Louis Area Council 312                          500 Huber Park Ct, Ste 208                                       Weldon Spring, MO 63304‐8683                                                                                            First Class Mail
Chartered Organization         St Charles Roman Catholic Church                            Great Trail 433                                            7345 Westview Dr                                                 Boardman, OH 44512‐5552                                                                                                 First Class Mail
Voting Party                   St Charles United Methodist Church                          Attn: Treasurer                                            301 W Belle Ave                                                  St Charles, MI 48655                                                                 stcharlesumc@att.net               Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St Charles United Methodist Church                          P.O. Box 693                                               1905 Ormond Blvd                                                 Destrehan, LA 70047                                                                  revmichelleharris@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Christina Roman Catholic Church                          Pathway To Adventure 456                                   11005 S Homan Ave                                                Chicago, IL 60655‐2733                                                                                                  First Class Mail
Chartered Organization         St Christine Roman Catholic Church                          Great Trail 433                                            3165 S Schenley Ave                                              Youngstown, OH 44511‐2814                                                                                               First Class Mail
Chartered Organization         St Christopher By‐The‐River Episc Ch                        Lake Erie Council 440                                      7601 Old Mill Rd                                                 Gates Mills, OH 44040                                                                                                   First Class Mail
Chartered Organization         St Christopher Catholic Church                              Simon Kenton Council 441                                   1420 Grandview Ave                                               Columbus, OH 43212‐2806                                                                                                 First Class Mail
Chartered Organization         St Christopher Catholic Church                              Crossroads of America 160                                  5301 W 16th St                                                   Indianapolis, IN 46224‐6402                                                                                             First Class Mail
Chartered Organization         St Christopher Catholic Church                              Lake Erie Council 440                                      20141 Detroit Rd                                                 Rocky River, OH 44116‐2420                                                                                              First Class Mail
Chartered Organization         St Christopher Church                                       Miami Valley Council, Bsa 444                              435 E National Rd                                                Vandalia, OH 45377‐2322                                                                                                 First Class Mail
Chartered Organization         St Christopher Church And School                            Silicon Valley Monterey Bay 055                            2278 Booksin Ave                                                 San Jose, CA 95125‐4701                                                                                                 First Class Mail
Chartered Organization         St Christopher Episcopal Church                             Bay Area Council 574                                       P.O. Box 852                                                     League City, TX 77574‐0852                                                                                              First Class Mail
Voting Party                   St Christopher Episcopal Church                             Attn: Brian W Cannaday                                     2508 St Christopher Ave                                          League City, TX 77573                                                                office@stchrischurch.org           Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Christopher Holy Name Mens Club                          Pathway To Adventure 456                                   14641 Keeler Ave                                                 Midlothian, IL 60445‐2726                                                                                               First Class Mail
Chartered Organization         St Christopher Parish                                       Daniel Webster Council, Bsa 330                            62 Manchester St                                                 Nashua, NH 03064‐6201                                                                                                   First Class Mail
Chartered Organization         St Christopher Parish Activities Comm                       Miami Valley Council, Bsa 444                              435 E National Rd                                                Vandalia, OH 45377‐2322                                                                                                 First Class Mail
Chartered Organization         St Christopher Roman Catholic Church                        Cradle of Liberty Council 525                              13301 Proctor Rd                                                 Philadelphia, PA 19116‐1721                                                                                             First Class Mail
Chartered Organization         St Christopher Roman Catholic Church                        Greater New York Councils, Bsa 640                         130 Midland Ave                                                  Staten Island, NY 10306‐3421                                                                                            First Class Mail
Chartered Organization         St Christopher Roman Catholic Church                        Greater New York Councils, Bsa 640                         130 Midland Ave                                                  Staten Island, NY 10306‐3421                                                                                            First Class Mail
Voting Party                   St Christopher Roman Catholic Church, Metairie, Louisiana   Attn: Susan A Zeringue                                     7887 Waimsley Ave                                                New Orleans, LA 70125                                                                szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St Christopher Roman Catholic Church, Metairie, Louisiana   Attn: Susan A Zeringue                                     7887 Walmsley Ave                                                New Orleans, LA 70125                                                                szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Christopher The Martyr Catholic                          Southeast Louisiana Council 214                            309 Manson Ave                                                   Metairie, LA 70001‐4820                                                                                                 First Class Mail
Voting Party                   St Christopher‐Knights Of Columbus                          c/o Archdiocese of Los Angeles                             Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                 Los Angeles, CA 90010                             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         St Christophers Catholic Church                             Westchester Putnam 388                                     3094 Albany Post Rd                                              Buchanan, NY 10511‐1646                                                                                                 First Class Mail
Chartered Organization         St Christophers Church                                      Greater Niagara Frontier Council 380                       2660 Niagara Falls Blvd                                          Tonawanda, NY 14150‐1420                                                                                                First Class Mail
Chartered Organization         St Christophers Episcopal Church                            Cradle of Liberty Council 525                              226 Righters Mill Rd                                             Gladwyne, PA 19035‐1533                                                                                                 First Class Mail
Voting Party                   St Christophers Episcopal Church                            Attn: The Rev Susan Sowers                                 3200 N 12th Ave                                                  Pensacola, FL 32503                                                                  susan@scpen.org                    Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                    Page 347 of 442
                                                                                  Case 20-10343-LSS                                                  Doc 8171                                            Filed 01/06/22                                                     Page 363 of 457
                                                                                                                                                                                            Exhibit B
                                                                                                                                                                                             Service List
                                                                                                                                                                                      Served as set forth below

        Description                                                        Name                                                                                                           Address                                                                                                                Email              Method of Service
Chartered Organization         St Christopher'S Episcopal Church                               Palmetto Council 549                            400 Dupre Dr                                                     Spartanburg, SC 29307‐2976                                                                               First Class Mail
Voting Party                   St Christopher's Episcopal Church                               Attn: Rev Susan Sowers                          3200 N 12th Ave                                                  Pensacola, FL 32503                                                   sremington@clarkparington.com      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Christopher'S Episcopal Church                               Attn: Marty Hardsocg                            2602 Deming Blvd                                                 Cheyenne, WY 82001                                                    mmjskh@msn.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Christopher's Episcopal Church                               Attn: Peter C Nicolaysen                        P.O. Box 7                                                       Casper, WY 82602                                                      mmjskh@msn.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Christopher's Episcopal Church                               Attn: Eileen Patricia Walsh                     3300 Cedar Ln                                                    Portsmouth, VA 23703                                                  ewalsh143@aol.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Christopher's Episcopal Church                               Attn: Madeline Shelton Hawley                   8724 Travis Hills Dr                                             Austin, TX 78735                                                                                         First Class Mail
Chartered Organization         St Christophers Parish                                          Theodore Roosevelt Council 386                  11 Gale Ave                                                      Baldwin, NY 11510‐3202                                                                                   First Class Mail
Chartered Organization         St Christophers R C C                                           Narragansett 546                                1554 Main Rd                                                     Tiverton, RI 02878‐4477                                                                                  First Class Mail
Chartered Organization         St Christophers Roman Catholic Church                           Cradle of Liberty Council 525                   13301 Proctor Rd                                                 Philadelphia, PA 19116‐1721                                                                              First Class Mail
Chartered Organization         St Christopher'S The Martyr Catholic Ch                         Southeast Louisiana Council 214                 309 Manson Ave                                                   Metairie, LA 70001‐4820                                                                                  First Class Mail
Chartered Organization         St Clair County East Rotary                                     Greater St Louis Area Council 312               26 Carlyle Plaza Dr PMB 145                                      Belleville, IL 62221‐6677                                                                                First Class Mail
Chartered Organization         St Clair Kiwanis Club                                           Greater St Louis Area Council 312               850 E Gravois Ave                                                Saint Clair, MO 63077‐1622                                                                               First Class Mail
Chartered Organization         St Clair Lions Club                                             Water and Woods Council 782                     4900 Saint Clair Hwy                                             East China, MI 48054                                                                                     First Class Mail
Chartered Organization         St Clair Lions Clubs                                            Greater St Louis Area Council 312               P.O. Box 42                                                      Saint Clair, MO 63077‐0042                                                                               First Class Mail
Chartered Organization         St Clair Shores Goodfellows                                     Great Lakes Fsc 272                             26700 Harper Ave                                                 Saint Clair Shores, MI 48081‐1953                                                                        First Class Mail
Chartered Organization         St Clair‐Madison Cnty Med Societies                             Greater St Louis Area Council 312               6400 W Main St, Ste 3L                                           Belleville, IL 62223‐3806                                                                                First Class Mail
Chartered Organization         St Clare Catholic Church                                        Blue Grass Council 204                          622 Chestnut St                                                  Berea, KY 40403‐1515                                                                                     First Class Mail
Chartered Organization         St Clare Catholic Church                                        W.L.A.C.C. 051                                  27341 Camp Plenty Rd                                             Santa Clarita, CA 91351‐2645                                                                             First Class Mail
Voting Party                   St Clare Catholic Church                                        c/o Roman Catholic Archdiocese of Los Angeles   Attn: Margaret Graf                                              3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Clare Of Assisi                                              Greater St Louis Area Council 312               205 W 3rd St                                                     O Fallon, IL 62269‐2045                                                                                  First Class Mail
Chartered Organization         St Clare Of Assisi                                              Greater St Louis Area Council 312               1411 Cross St                                                    O Fallon, IL 62269‐2989                                                                                  First Class Mail
Chartered Organization         St Clare Of Assisi Catholic Church                              Sam Houston Area Council 576                    3131 El Dorado Blvd                                              Houston, TX 77059‐5100                                                                                   First Class Mail
Chartered Organization         St Clare Of Assisi Catholic Parish                              Grand Canyon Council 010                        17111 W Bell Rd                                                  Surprise, AZ 85374‐2984                                                                                  First Class Mail
Chartered Organization         St Clare Of Assisi Parish                                       Greater St Louis Area Council 312               15642 Clayton Rd                                                 Ballwin, MO 63011‐2311                                                                                   First Class Mail
Chartered Organization         St Clare Of Assisi Parish                                       Greater St Louis Area Council 312               15642 Clayton Rd                                                 Ellisville, MO 63011‐2311                                                                                First Class Mail
Chartered Organization         St Clare Rc Church                                              Greater New York Councils, Bsa 640              110 Nelson Ave                                                   Staten Island, NY 10308‐2705                                                                             First Class Mail
Chartered Organization         St Clare Roman Catholic Church                                  Baltimore Area Council 220                      714 Myrth Ave                                                    Baltimore, MD 21221‐4824                                                                                 First Class Mail
Chartered Organization         St Clares Of Assisi Roman Catholic                              Greater New York Councils, Bsa 640              1918 Paulding Ave                                                Bronx, NY 10462‐3179                                                                                     First Class Mail
Voting Party                   St Clares Roman Catholic Congregation Inc                       Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Clement & Holy Name Parishes                                 Bay‐Lakes Council 635                           522 New York Ave                                                 Sheboygan, WI 53081‐4126                                                                                 First Class Mail
Chartered Organization         St Clement Catholic Church                                      Greater St Louis Area Council 312               1510 Bopp Rd                                                     Saint Louis, MO 63131‐4137                                                                               First Class Mail
Chartered Organization         St Clement Catholic Parish                                      Lake Erie Council 440                           2022 Lincoln Ave                                                 Lakewood, OH 44107‐6032                                                                                  First Class Mail
Chartered Organization         St Clement Mary Hofbauer Rc Ch                                  Baltimore Area Council 220                      1220 Chesaco Ave                                                 Rosedale, MD 21237‐2602                                                                                  First Class Mail
Chartered Organization         St Clement Of Rome                                              Greater St Louis Area Council 312               1510 Bopp Rd                                                     Saint Louis, MO 63131‐4137                                                                               First Class Mail
Chartered Organization         St Clement Of Rome Catholic Church                              Southeast Louisiana Council 214                 4317 Richland Ave                                                Metairie, LA 70002‐3027                                                                                  First Class Mail
Voting Party                   St Clement Of Rome Roman Catholic Church, Metairie, Louisiana   Attn: Susan A Zeringue                          7887 Walmsley Ave                                                New Orleans, LA 70125                                                 szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Clement Roman Catholic Church                                Dan Beard Council, Bsa 438                      4536 Vine St                                                     Cincinnati, OH 45217‐1618                                                                                First Class Mail
Chartered Organization         St Clement Roman Catholic Church                                Dan Beard Council, Bsa 438                      4536 Vine St                                                     Saint Bernard, OH 45217‐1618                                                                             First Class Mail
Chartered Organization         St Clements Catholic Church                                     Erie Shores Council 460                         3030 Tremainsville Rd                                            Toledo, OH 43613‐1901                                                                                    First Class Mail
Chartered Organization         St Clements Church                                              Great Lakes Fsc 272                             4300 Harrison St                                                 Inkster, MI 48141‐2963                                                                                   First Class Mail
Chartered Organization         St Clements Daly School                                         Great Lakes Fsc 272                             4300 Harrison St                                                 Inkster, MI 48141‐2963                                                                                   First Class Mail
Chartered Organization         St Clements Episcopal                                           Great Lakes Fsc 272                             4300 Marrison Rd                                                 Inkster, MI 48141                                                                                        First Class Mail
Voting Party                   St Clement's Episcopal Church In Berkeley, California           Attn: The Rev Bruce D O'Neill                   2837 Claremont Blvd                                              Berkeley, CA 94705                                                    bruce@stclementsberkeley.org       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Clements Lansdowne Catholic Congregation Inc                 Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Clement'S Roman Catholic Church                              Patriots Path Council 358                       154 Mount Pleasant Ave                                           Dover, NJ 07801‐1604                                                                                     First Class Mail
Voting Party                   St Clements Roman Catholic Congregation Inc                     Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Clement's Roman Catholic Congregation, Inc                   Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Clement's, Lansdowne, Roman Catholic Congregation, Inc       Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Cletus Catholic Church                                       Southeast Louisiana Council 214                 3600 Claire Ave                                                  Gretna, LA 70053‐7612                                                                                    First Class Mail
Chartered Organization         St Cletus Family School Assoc                                   Pathway To Adventure 456                        600 W 55th St                                                    La Grange, IL 60525‐6611                                                                                 First Class Mail
Voting Party                   St Cletus Roman Catholic Church                                 Attn: Susan Zeringue                            7887 Walmsley Ave                                                New Orleans, LA 70125                                                 szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Cloud Fire Dept                                              Central Minnesota 296                           101 10th Ave N                                                   Saint Cloud, MN 56303‐4635                                                                               First Class Mail
Chartered Organization         St Cloud Masonic Lodge 221                                      Central Florida Council 083                     901 Oregon Ave                                                   Saint Cloud, FL 34769‐3434                                                                               First Class Mail
Chartered Organization         St Cloud Metro Lions                                            Central Minnesota 296                           1706 Maple Ln                                                    Saint Cloud, MN 56304‐4630                                                                               First Class Mail
Chartered Organization         St Cloud Metro Lions                                            Central Minnesota 296                           1706 Maple Ln                                                    Saint Cloud, MN 56304‐4630                                                                               First Class Mail
Chartered Organization         St Columba Episcopal Church                                     South Florida Council 084                       451 W 52 St                                                      Marathon, FL 33050                                                                                       First Class Mail
Chartered Organization         St Columba Episcopal Church                                     Northeast Georgia Council 101                   939 James Burgess Rd                                             Suwanee, GA 30024‐1128                                                                                   First Class Mail
Voting Party                   St Columba Episcopal Church                                     Attn: George Arrants                            814 Episcopal School Way                                         Knoxville, TN 37932                                                   garrants@kramer‐rayson.com         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Columba Lodge 150 Af&Am                                      National Capital Area Council 082               P.O. Box 952                                                     White Plains, MD 20695‐0952                                                                              First Class Mail
Chartered Organization         St Columba Parish                                               San Diego Imperial Council 049                  3327 Glencolum Dr                                                San Diego, CA 92123‐2369                                                                                 First Class Mail
Chartered Organization         St Columba Roman Catholic Church                                Columbia‐Montour 504                            342 Iron St                                                      Bloomsburg, PA 17815‐1824                                                                                First Class Mail
Chartered Organization         St Columba Roman Catholic Church                                Hudson Valley Council 374                       P.O. Box 428                                                     Hopewell Junction, NY 12533‐0428                                                                         First Class Mail
Chartered Organization         St Columban Catholic School                                     Dan Beard Council, Bsa 438                      896 Oakland Rd                                                   Loveland, OH 45140‐8484                                                                                  First Class Mail
Chartered Organization         St Columban Church                                              Dan Beard Council, Bsa 438                      894 Oakland Rd                                                   Loveland, OH 45140‐8484                                                                                  First Class Mail
Chartered Organization         St Columbas Episcopal Church                                    Ventura County Council 057                      1251 Las Posas Rd                                                Camarillo, CA 93010‐3001                                                                                 First Class Mail
Voting Party                   St Columba's Episcopal Church                                   Attn: Karen Sprague                             4201 Albemarle St NW                                             Washington, DC 20016                                                  KSPRAGUE@COLUMBA.ORG               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Columbkill Roman Catholic Church                             Hawk Mountain Council 528                       200 Indian Spring Rd                                             Boyertown, PA 19512‐2008                                                                                 First Class Mail
Chartered Organization         St Columbkille Catholic Church                                  Northeast Iowa Council 178                      1240 Rush St                                                     Dubuque, IA 52003‐7556                                                                                   First Class Mail
Chartered Organization         St Columbkille Catholic Church                                  Mid‐America Council 326                         200 E 6th St                                                     Papillion, NE 68046‐2250                                                                                 First Class Mail
Chartered Organization         St Columbkille Catholic Church                                  Tecumseh 439                                    73 N Mulberry St                                                 Wilmington, OH 45177‐2203                                                                                First Class Mail
Chartered Organization         St Columbkille Church                                           Lake Erie Council 440                           6740 Broadview Rd                                                Parma, OH 44134‐4886                                                                                     First Class Mail
Chartered Organization         St Columbs Episcopal Church                                     Andrew Jackson Council 303                      550 Sunnybrook Rd                                                Ridgeland, MS 39157‐1810                                                                                 First Class Mail
Chartered Organization         St Cornelius Catholic Church                                    Cradle of Liberty Council 525                   110 Ridge Rd                                                     Chadds Ford, PA 19317                                                                                    First Class Mail
Chartered Organization         St Cornelius Catholic Church                                    Long Beach Area Council 032                     5500 E Wardlow Rd                                                Long Beach, CA 90808‐3642                                                                                First Class Mail
Voting Party                   St Cornelius Catholic Church                                    c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Cornelius Holy Name Society                                  Pathway To Adventure 456                        4646 N Austin Ave                                                Chicago, IL 60630‐3157                                                                                   First Class Mail
Voting Party                   St Cuthbert Episcopal Church                                    Attn: Bruce H Bonner                            17020 West Rd                                                    Houston, TX 77095                                                     revbruce@stcuthbert.org            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Cyprian Catholic Ch Knights Columbus                         Long Beach Area Council 032                     4714 Clark Ave                                                   Long Beach, CA 90808‐1101                                                                                First Class Mail
Voting Party                   St Cyprian's Episcopal Church                                   Attn: Rebecca Morris                            6114 28th St                                                     Detroit, MI 48210                                                     scyprians@aol.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Cyprian's Episcopal Church                                   1242 W Queen St                                 Hampton, VA 23669                                                                                                                      office@stcprianshamptonva.org      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Cyprian'S Episcopal Church                                   Attn: Rebecca Morris                            3274 Passadena                                                   Detroit, MI 48238                                                     honor2rebecca@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Cyril Alexandria Rc Ch                                       Laurel Highlands Council 527                    3854 Brighton Rd                                                 Pittsburgh, PA 15212‐1602                                                                                First Class Mail
Chartered Organization         St Cyril Of Alexandria Parish                                   Catalina Council 011                            4725 E Pima St                                                   Tucson, AZ 85712‐3520                                                                                    First Class Mail
Chartered Organization         St Cyril Of Jerusalem Rc Church                                 Washington Crossing Council 777                 1410 Almshouse Rd                                                Jamison, PA 18929‐1600                                                                                   First Class Mail
Chartered Organization         St Cyrils & Methodius Rc Church                                 Baden‐Powell Council 368                        148 Clinton St                                                   Binghamton, NY 13905‐2229                                                                                First Class Mail
Chartered Organization         St Damian Mens Club                                             Pathway To Adventure 456                        5300 155th St                                                    Oak Forest, IL 60452‐3321                                                                                First Class Mail
Chartered Organization         St Damien Of Molokai                                            Laurel Highlands Council 527                    722 W Main St                                                    Monongahela, PA 15063‐2814                                                                               First Class Mail
Chartered Organization         St Daniel Catholic Community                                    Great Lakes Fsc 272                             7010 Valley Park Dr                                              Clarkston, MI 48346‐1358                                                                                 First Class Mail
Chartered Organization         St Daniel The Prophet Holy Name Society                         Pathway To Adventure 456                        5300 S Natoma Ave                                                Chicago, IL 60638‐1224                                                                                   First Class Mail
Chartered Organization         St Daniels Catholic Church                                      Denver Area Council 061                         P.O. Box 565                                                     Ouray, CO 81427‐0565                                                                                     First Class Mail
Chartered Organization         St David Catholic Church                                        South Florida Council 084                       3900 S University Dr                                             Davie, FL 33328‐3003                                                                                     First Class Mail
Chartered Organization         St David Lutheran Church Men                                    Indian Waters Council 553                       132 Saint Davids Church Rd                                       West Columbia, SC 29170‐2313                                                                             First Class Mail
Chartered Organization         St David Ward ‐ Lds St David Stake                              Catalina Council 011                            39 W Patton St                                                   Saint David, AZ 85630                                                                                    First Class Mail
Chartered Organization         St Davids By The Sea                                            Central Florida Council 083                     600 S 4th St                                                     Cocoa Beach, FL 32931‐2612                                                                               First Class Mail
Chartered Organization         St Davids Church                                                Chester County Council 539                      763 Valley Forge Rd                                              Wayne, PA 19087‐4724                                                                                     First Class Mail
Chartered Organization         St Davids Episcopal Church                                      Northeast Illinois 129                          2410 Glenview Rd                                                 Glenview, IL 60025‐2713                                                                                  First Class Mail
Chartered Organization         St Davids Episcopal Church                                      Atlanta Area Council 092                        1015 Old Roswell Rd                                              Roswell, GA 30076‐1607                                                                                   First Class Mail
Voting Party                   St Davids Episcopal Church                                      Attn: Stephen T Forbes                          12 Chasey Ln                                                     Norwich, CT 06360                                                     Steve4BZ@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Davids Episcopal Church                                      284 Stoddards Wharf Rd                          Gales Ferry, CT 06335                                                                                                                  Steve4BZ@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Davids Episcopal Church                                      Attn: The Rev KaTherine Lewis                   13000 St Davids Rd                                               Minnetonka, MN 55305                                                  klewis@stdavidsparish.org          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St David's Episcopal Church                                     Last Frontier Council 480                       3333 N Meridian Ave                                              Oklahoma City, OK 73112‐3126                                                                             First Class Mail
Voting Party                   St David's Episcopal Church                                     Attn: James Carver                              2320 Grubb Rd                                                    Wilmington, DE 19810                                                  stdavidschurchoffice@verizon.net   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St David's Episcopal Church                                     Attn: Parish Administrator                      1801 Camborne Rd                                                 North Chesterfield, VA 23236                                          churchadmin@stdavidsrva.org        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St David's Episcopal Church                                     Attn: Stuart Saunders                           1300 Wiltshire Ave                                               San Antonio, TX 78209                                                 bethc@saintdavids.net              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Davids Evangelical Lutheran Church                           Theodore Roosevelt Council 386                  20 Clark Blvd                                                    Massapequa Park, NY 11762‐2633                                                                           First Class Mail
Chartered Organization         St Davids On The Hill Episcopal Church                          Narragansett 546                                200 Meshanticut Valley Pkwy                                      Cranston, RI 02920‐3917                                                                                  First Class Mail
Chartered Organization         St Demetrios Greek Orthodox Ch                                  Mt Diablo‐Silverado Council 023                 1955 Kirker Pass Rd                                              Concord, CA 94521‐1627                                                                                   First Class Mail
Chartered Organization         St Demetrios Greek Orthodox Church                              Ventura County Council 057                      5575 Santa Rosa Rd                                               Camarillo, CA 93012‐6829                                                                                 First Class Mail
Chartered Organization         St Denis Roman Catholic Church                                  Cradle of Liberty Council 525                   300 E Eagle Rd                                                   Havertown, PA 19083‐1621                                                                                 First Class Mail
Chartered Organization         St Dennis Catholic Church                                       Glaciers Edge Council 620                       400 Dempsey Rd                                                   Madison, WI 53714                                                                                        First Class Mail
Chartered Organization         St Didacus Catholic Parish                                      San Diego Imperial Council 049                  4772 Felton St                                                   San Diego, CA 92116‐1824                                                                                 First Class Mail
Chartered Organization         St Dominic Catholic Church                                      Dan Beard Council, Bsa 438                      4551 Delhi Rd                                                    Cincinnati, OH 45238‐5401                                                                                First Class Mail
Chartered Organization         St Dominic Catholic Church                                      Mobile Area Council‐Bsa 004                     4156 Burma Rd                                                    Mobile, AL 36693‐4449                                                                                    First Class Mail
Chartered Organization         St Dominic Catholic Church                                      Southeast Louisiana Council 214                 775 Harrison Ave                                                 New Orleans, LA 70124‐3155                                                                               First Class Mail
Chartered Organization         St Dominic Catholic Church                                      Alamo Area Council 583                          5919 Ingram Rd                                                   San Antonio, TX 78228‐3418                                                                               First Class Mail
Chartered Organization         St Dominic Catholic Congregation                                Potawatomi Area Council 651                     18255 W Capitol Dr                                               Brookfield, WI 53045‐1423                                                                                First Class Mail
Chartered Organization         St Dominic Church                                               Lake Erie Council 440                           3450 Norwood Rd                                                  Shaker Heights, OH 44122‐4967                                                                            First Class Mail
Chartered Organization         St Dominic Congregation                                         Potawatomi Area Council 651                     18255 W Capitol Dr                                               Brookfield, WI 53045‐1423                                                                                First Class Mail
Chartered Organization         St Dominic Savio Catholic Church                                Greater St Louis Area Council 312               7748 Mackenzie Rd                                                Saint Louis, MO 63123‐2719                                                                               First Class Mail
Chartered Organization         St Dominic Savio Church                                         Long Beach Area Council 032                     13400 Bellflower Blvd                                            Bellflower, CA 90706‐2470                                                                                First Class Mail
Voting Party                   St Dominic Savio Church                                         c/o Roman Catholic Archdiocese of Los Angeles   Attn: Margaret Graf                                              3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Dominics Catholic Church                                     Verdugo Hills Council 058                       2002 Merton Ave                                                  Los Angeles, CA 90041‐1912                                                                               First Class Mail
Voting Party                   St Dominics Catholic Church                                     c/o Roman Catholic Archdiocese of Los Angeles   Attn: Margaret Graf                                              3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Dominics Parish                                              Bay‐Lakes Council 635                           2133 N 22nd St                                                   Sheboygan, WI 53081‐2241                                                                                 First Class Mail
Chartered Organization         St Dominics Roman Catholic Church                               Theodore Roosevelt Council 386                  93 Anstice St                                                    Oyster Bay, NY 11771‐3008                                                                                First Class Mail
Voting Party                   St Dominic's Roman Catholic Church, New Orleans, Louisiana      Attn: Susan Zeringue, General Counsel           7887 Walmsley Ave                                                New Orleans, LA 70125                                                 szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Dominics Roman Catholic Congregation Inc                     Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Dominic's Roman Catholic Congregation, Inc                   Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Dorothy Church                                               Greater Los Angeles Area 033                    241 S Valley Center Ave                                          Glendora, CA 91741‐3854                                                                                  First Class Mail
Chartered Organization         St Dorothy Church                                               The Spirit of Adventure 227                     11 Harnden St                                                    Wilmington, MA 01887‐3519                                                                                First Class Mail
Voting Party                   St Dorothy Church                                               c/o Roman Catholic Archdiocese of Los Angeles   Attn: Margaret Graf                                              3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Dorothy Church                                               c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                  Los Angeles, CA 90010             Legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Dorothy Roman Catholic Church                                Pathway To Adventure 456                        450 E 78th St                                                    Chicago, IL 60619‐2994                                                                                   First Class Mail
Chartered Organization         St Dunstans Episcopal Church                                    Patriots Path Council 358                       179 S Hillside Ave                                               Succasunna, NJ 07876‐1197                                                                                First Class Mail
Chartered Organization         St Dunstan'S Episcopal Church                                   Indian Nations Council 488                      5635 E 71st St                                                   Tulsa, OK 74136‐6538                                                                                     First Class Mail
Voting Party                   St Dunstan'S Episcopal Parish                                   Attn: Kirby Smith                               2083 Sunset Cliffs Blvd                                          San Diego, CA 92107                                                   ksmith@sded.org                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St Dunstan's Episcopal Parish                                   c/o Sullivan Hill Rez & Engel                   Attn: James P Hill, Esq                                          600 B St, Ste 1700                  San Diego, CA 92101               hill@sullivanhill.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Edith Stein Catholic Church                                  Sam Houston Area Council 576                    3311 Fry Rd                                                      Katy, TX 77449‐6235                                                                                      First Class Mail
Chartered Organization         St Ediths                                                       Great Lakes Fsc 272                             15089 Newburgh Rd                                                Livonia, MI 48154‐5037                                                                                   First Class Mail
Chartered Organization         St Edmond Parish Executive Committee                            Evangeline Area 212                             4131 W Congress St                                               Lafayette, LA 70506‐6871                                                                                 First Class Mail
Chartered Organization         St Edmonds Home For Children                                    Cradle of Liberty Council 525                   320 S Roberts Rd                                                 Bryn Mawr, PA 19010‐1238                                                                                 First Class Mail
Chartered Organization         St Edmund Episcopal Church                                      Greater Los Angeles Area 033                    2975 Huntington Dr, Ste 200                                      San Marino, CA 91108‐2246                                                                                First Class Mail
Chartered Organization         St Edmund Roman Catholic Church                                 Greater New York Councils, Bsa 640              1902 Ave T                                                       Brooklyn, NY 11229‐3912                                                                                  First Class Mail
Chartered Organization         St Edmunds Elem Sch                                             Evangeline Area 212                             331 N 3rd St                                                     Eunice, LA 70535‐3351                                                                                    First Class Mail
Voting Party                   St Edmunds Episcopal Church                                     Attn: Rev Jenifer Chatfield                     P.O. Box 80038                                                   San Marino, CA 91118                                                  rector@saintedmunds.org            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         St Edward Booster Club                                          Blackhawk Area 660                              3020 11th St                                                     Rockford, IL 61109‐1210                                                                                  First Class Mail
Chartered Organization         St Edward Catholic Church                                       Lincoln Heritage Council 205                    9608 Sue Helen Dr                                                Louisville, KY 40299‐3246                                                                                First Class Mail
Chartered Organization         St Edward Catholic Church                                       Middle Tennessee Council 560                    188 Thompson Ln                                                  Nashville, TN 37211‐2451                                                                                 First Class Mail
Chartered Organization         St Edward Catholic Church                                       South Florida Council 084                       19000 Pines Blvd                                                 Pembroke Pines, FL 33029‐1307                                                                            First Class Mail
Chartered Organization         St Edward Catholic Church                                       Sam Houston Area Council 576                    2601 Spring Stuebner Rd                                          Spring, TX 77389‐4864                                                                                    First Class Mail
Chartered Organization         St Edward On The Lake                                           Water and Woods Council 782                     1645 Lakeshore Rd                                                Lakeport, MI 48059                                                                                       First Class Mail
Chartered Organization         St Edward On The Lake                                           Water and Woods Council 782                     6945 Lakeshore Rd                                                Lakeport, MI 48059‐2221                                                                                  First Class Mail
Chartered Organization         St Edward Rc Church Youth Community                             Theodore Roosevelt Council 386                  205 Jackson Ave                                                  Syosset, NY 11791‐4218                                                                                   First Class Mail
Chartered Organization         St Edward Roman Catholic Church                                 Pathway To Adventure 456                        4350 W Sunnyside Ave                                             Chicago, IL 60630‐4146                                                                                   First Class Mail
Chartered Organization         St Edward The Confessor                                         Theodore Roosevelt Council 386                  203 Jackson Ave                                                  Syosset, NY 11791                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                             Page 348 of 442
                                                                                    Case 20-10343-LSS                                         Doc 8171                                            Filed 01/06/22                                                     Page 364 of 457
                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                      Service List
                                                                                                                                                                               Served as set forth below

        Description                                                     Name                                                                                                       Address                                                                                                                Email              Method of Service
Chartered Organization         St Edward The Confessor Catholic Church                          Mississippi Valley Council 141 141      214 S State Rd                                                   Mendon, IL 62351‐1214                                                                                    First Class Mail
Chartered Organization         St Edward The Confessor Catholic Church                          Southeast Louisiana Council 214         4921 W Metairie Ave                                              Metairie, LA 70001‐4466                                                                                  First Class Mail
Voting Party                   St Edward The Confessor Parish                                   Attn: Andre L Kydala                    54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         St Edward The Confessor Rc Ch                                    Twin Rivers Council 364                 569 Clifton Park Ctr Rd                                          Clifton Park, NY 12065‐4838                                                                              First Class Mail
Chartered Organization         St Edward The Confessor Rc Ch                                    Theodore Roosevelt Council 386          205 Jackson Ave                                                  Syosset, NY 11791‐4218                                                                                   First Class Mail
Voting Party                   St Edward The Confessor Roman Catholic Church Metairie           Attn: Susan A Zeringue                  7887 Walmsley Ave                                                New Orleans, LA 70125                                                 szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Edwards Booster Club                                          Blackhawk Area 660                      3020 11th St                                                     Rockford, IL 61109‐1210                                                                                  First Class Mail
Chartered Organization         St Edwards Catholic Church                                       Buckeye Council 436                     501 Cottage St                                                   Ashland, OH 44805‐2125                                                                                   First Class Mail
Chartered Organization         St Edwards Catholic Church                                       Orange County Council 039               33926 Calle La Primavera                                         Dana Point, CA 92629‐2018                                                                                First Class Mail
Chartered Organization         St Edwards Catholic Church                                       Cascade Pacific Council 492             5303 River Rd N                                                  Keizer, OR 97303‐4427                                                                                    First Class Mail
Chartered Organization         St Edwards Catholic Church                                       San Francisco Bay Area Council 028      5788 Thornton Ave                                                Newark, CA 94560‐3826                                                                                    First Class Mail
Chartered Organization         St Edwards Catholic Church                                       Heart of Virginia Council 602           2700 Dolfield Dr                                                 North Chesterfield, VA 23235‐2618                                                                        First Class Mail
Chartered Organization         St Edwards Catholic Church                                       Three Harbors Council 636               1401 Grove Ave                                                   Racine, WI 53405‐3452                                                                                    First Class Mail
Chartered Organization         St Edwards Catholic Church                                       Chief Seattle Council 609               4212 S Mead St                                                   Seattle, WA 98118‐2702                                                                                   First Class Mail
Chartered Organization         St Edwards Catholic Church                                       Connecticut Rivers Council, Bsa 066     55 High St                                                       Stafford Springs, CT 06076‐1426                                                                          First Class Mail
Chartered Organization         St Edwards Catholic Parish                                       Snake River Council 111                 212 7th Ave E                                                    Twin Falls, ID 83301‐6321                                                                                First Class Mail
Chartered Organization         St Edwards Episcopal                                             Northeast Georgia Council 101           737 Moon Rd                                                      Lawrenceville, GA 30046‐6109                                                                             First Class Mail
Voting Party                   St Edward's Episcopal Church                                     2453 Harrisburg Pike                    Lancaster, PA 17601                                                                                                                    stedsoffice@comcast.net            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Edwards Roman Catholic Church                                 Mayflower Council 251                   133 Spring St                                                    Medfield, MA 02052‐2513                                                                                  First Class Mail
Voting Party                   St Edward's Roman Catholic Congregation Incorporated             c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   St Edward's Roman Catholic Congregation, Incorporated            c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Eleanor Roman Catholic Church                                 Cradle of Liberty Council 525           647 Locust St                                                    Collegeville, PA 19426‐2541                                                                              First Class Mail
Voting Party                   St Elisabeth'S Episcopal Church                                  Attn: Rich Lesperance                   4209 Park Hollow Ct                                              Austin, TX 78746                                                      richltx@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   St Elisabeth's Episcopal Church                                  Attn: Pam Green                         556 Vernon Ave                                                   Glencoe, IL 60022                                                     office@steglencoe.org              Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   St Elizabet St Bridgette Parish                                  Attn: Andre L Kydala                    54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         St Elizabeth Ann Seton                                           Ozark Trails Council 306                2200 W Republic Rd                                               Springfield, MO 65807‐4062                                                                               First Class Mail
Chartered Organization         St Elizabeth Ann Seton Catholic Church                           Occoneechee 421                         1000 Andrews Rd                                                  Fayetteville, NC 28311‐0106                                                                              First Class Mail
Chartered Organization         St Elizabeth Ann Seton Catholic Church                           Anthony Wayne Area 157                  10700 Aboite Center Rd                                           Fort Wayne, IN 46804‐5444                                                                                First Class Mail
Chartered Organization         St Elizabeth Ann Seton Catholic Church                           Sam Houston Area Council 576            6646 Addicks Satsuma Rd                                          Houston, TX 77084‐1520                                                                                   First Class Mail
Chartered Organization         St Elizabeth Ann Seton Catholic Church                           Las Vegas Area Council 328              1811 Pueblo Vista Dr                                             Las Vegas, NV 89128‐2701                                                                                 First Class Mail
Chartered Organization         St Elizabeth Ann Seton Catholic Church                           Lincoln Heritage Council 205            11501 Maple Way                                                  Louisville, KY 40229‐2210                                                                                First Class Mail
Chartered Organization         St Elizabeth Ann Seton Catholic Church                           Dan Beard Council, Bsa 438              5900 Buckwheat Rd                                                Milford, OH 45150‐2238                                                                                   First Class Mail
Chartered Organization         St Elizabeth Ann Seton Catholic Church                           Circle Ten Council 571                  2700 W Spring Creek Pkwy                                         Plano, TX 75023‐4022                                                                                     First Class Mail
Chartered Organization         St Elizabeth Ann Seton Catholic Church                           Norwela Council 215                     P.O. Box 52073                                                   Shreveport, LA 71135‐2073                                                                                First Class Mail
Chartered Organization         St Elizabeth Ann Seton Catholic Parish                           Longs Peak Council 062                  5450 S Lemay Ave                                                 Fort Collins, CO 80525‐9439                                                                              First Class Mail
Chartered Organization         St Elizabeth Ann Seton Catholic School                           Northern Star Council 250               600 Tyler St                                                     Hastings, MN 55033‐1935                                                                                  First Class Mail
Chartered Organization         St Elizabeth Ann Seton Catholic School                           Southeast Louisiana Council 214         4119 Saint Elizabeth Dr                                          Kenner, LA 70065‐1607                                                                                    First Class Mail
Chartered Organization         St Elizabeth Ann Seton Catholic School                           Dan Beard Council, Bsa 438              5890 Buckwheat Rd                                                Milford, OH 45150‐2478                                                                                   First Class Mail
Chartered Organization         St Elizabeth Ann Seton Parish                                    Great Alaska Council 610                2901 Huffman Rd                                                  Anchorage, AK 99516‐2042                                                                                 First Class Mail
Chartered Organization         St Elizabeth Ann Seton Parish                                    Baltimore Area Council 220              1800 Seton Dr                                                    Crofton, MD 21114‐2150                                                                                   First Class Mail
Chartered Organization         St Elizabeth Ann Seton Parish                                    Patriots Path Council 358               61 Main St                                                       Flanders, NJ 07836‐9125                                                                                  First Class Mail
Chartered Organization         St Elizabeth Ann Seton Parish                                    Simon Kenton Council 441                600 Hill Rd N                                                    Pickerington, OH 43147‐9201                                                                              First Class Mail
Chartered Organization         St Elizabeth Ann Seton Parish                                    Westchester Putnam 388                  1377 E Main St                                                   Shrub Oak, NY 10588‐1422                                                                                 First Class Mail
Chartered Organization         St Elizabeth Ann Seton Rc Ch                                     Del Mar Va 081                          345 Bear Christiana Rd                                           Bear, DE 19701‐1048                                                                                      First Class Mail
Voting Party                   St Elizabeth Ann Seton Roman Catholic Congregation, Inc          c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Elizabeth Ann Seton School                                    Ozark Trails Council 306                2200 W Republic Rd                                               Springfield, MO 65807‐4062                                                                               First Class Mail
Chartered Organization         St Elizabeth Ann Seton/St Joseph                                 Anthony Wayne Area 157                  10700 Aboite Center Rd                                           Fort Wayne, IN 46804‐5444                                                                                First Class Mail
Chartered Organization         St Elizabeth Catholic Church                                     Monmouth Council, Bsa 347               424 Lincoln Ave                                                  Avon By the Sea, NJ 07717‐1108                                                                           First Class Mail
Chartered Organization         St Elizabeth Catholic Parish                                     Water and Woods Council 782             P.O. Box 392                                                     Reese, MI 48757‐0392                                                                                     First Class Mail
Chartered Organization         St Elizabeth Catholic School                                     National Capital Area Council 082       917 Montrose Rd                                                  Rockville, MD 20852‐4203                                                                                 First Class Mail
Chartered Organization         St Elizabeth Church                                              Southern Shores Fsc 783                 506 N Union St                                                   Tecumseh, MI 49286‐1304                                                                                  First Class Mail
Chartered Organization         St Elizabeth Community Center                                    Blackhawk Area 660                      1536 S Main St                                                   Rockford, IL 61102‐3217                                                                                  First Class Mail
Chartered Organization         St Elizabeth Episcopal Church                                    Coastal Georgia Council 099             P.O. Box 945                                                     Richmond Hill, GA 31324‐0945                                                                             First Class Mail
Chartered Organization         St Elizabeth Huberters                                           Gateway Area 624                        515 N Main St                                                    Holmen, WI 54636‐9387                                                                                    First Class Mail
Chartered Organization         St Elizabeth Of Humgary Catholic Church                          Circle Ten Council 571                  4015 S Hampton Rd                                                Dallas, TX 75224‐4701                                                                                    First Class Mail
Chartered Organization         St Elizabeth Of The Trinity Rc Church                            Connecticut Yankee Council Bsa 072      555 Middletown Ave                                               North Haven, CT 06473‐4025                                                                               First Class Mail
Chartered Organization         St Elizabeth Parish                                              Chester County Council 539              P.O. Box 695                                                     Uwchland, PA 19480‐0695                                                                                  First Class Mail
Chartered Organization         St Elizabeth Parish Men'S Club                                   Greater St Louis Area Council 312       2300 Pontoon Rd                                                  Granite City, IL 62040‐4021                                                                              First Class Mail
Chartered Organization         St Elizabeth Roman Catholic Church                               Lincoln Heritage Council 205            1020 E Burnett Ave                                               Louisville, KY 40217‐1206                                                                                First Class Mail
Chartered Organization         St Elizabeth Roman Catholic Church                               Del Mar Va 081                          809 S Broom St                                                   Wilmington, DE 19805‐4244                                                                                First Class Mail
Chartered Organization         St Elizabeth Seton Catholic Church                               San Diego Imperial Council 049          6628 Santa Isabel St                                             Carlsbad, CA 92009‐5934                                                                                  First Class Mail
Chartered Organization         St Elizabeth Seton Catholic Church                               Three Fires Council 127                 2220 Lisson Rd                                                   Naperville, IL 60565‐5234                                                                                First Class Mail
Chartered Organization         St Elizabeth Seton Church                                        Cape Cod and Islands Cncl 224           P.O. Box 861                                                     North Falmouth, MA 02556‐0861                                                                            First Class Mail
Chartered Organization         St Elizabeth Seton Church                                        Pathway To Adventure 456                9300 167th St                                                    Orland Hills, IL 60487‐5934                                                                              First Class Mail
Voting Party                   St Elizabeth Seton Church Carmel IN 46033                        Attn: Matt Mckillip                     610 Lingle Ave                                                   P.O. Box 260                        Lafayette, IN 47902               mmckillip@dol‐in.org               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Elizabeth Seton Parish                                        Daniel Webster Council, Bsa 330         190 Meetinghouse Rd                                              Bedford, NH 03110‐6027                                                                                   First Class Mail
Chartered Organization         St Elizabeth Seton Parish                                        Crossroads of America 160               10655 Haverstick Rd                                              Carmel, IN 46033‐3837                                                                                    First Class Mail
Chartered Organization         St Elizabeth Seton Parish                                        National Capital Area Council 082       12805 Valleywood Dr                                              Woodbridge, VA 22192‐3372                                                                                First Class Mail
Chartered Organization         St Elizabeth Seton School                                        Black Hills Area Council 695 695        2101 City Springs Rd, Ste 200                                    Rapid City, SD 57702‐9617                                                                                First Class Mail
Chartered Organization         St Elizabeth's Catholic Church                                   Capitol Area Council 564                1520 N Railroad Ave                                              Pflugerville, TX 78660‐2360                                                                              First Class Mail
Voting Party                   St Elizabeth's Catholic Church‐Pflugerville, Texas               c/o Bsa Coordinator                     Attn: Chancellor                                                 6225 E US 290 Hwy Svrd Eb           Austin, TX 78723                  ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   St Elizabeth's Catholic Church‐Pflugerville, Texas               Rev. Juan Carlos Lopez                  1520 N Railroad Ave                                              Pflugerville, TX 78660                                                                                   First Class Mail
Chartered Organization         St Elizabeths Church                                             Suffolk County Council Inc 404          175 Wolf Hill Rd                                                 Melville, NY 11747‐1340                                                                                  First Class Mail
Chartered Organization         St Elizabeth's Church                                            Mayflower Council 251                   1 Morse Rd                                                       Sudbury, MA 01776‐1746                                                                                   First Class Mail
Chartered Organization         St Elizabeth's Church                                            Northern New Jersey Council, Bsa 333    700 Wyckoff Ave                                                  Wyckoff, NJ 07481‐1519                                                                                   First Class Mail
Chartered Organization         St Elizabeths Episcopal Church                                   Narragansett 546                        63 Canonchet Rd                                                  Hope Valley, RI 02832                                                                                    First Class Mail
Chartered Organization         St Elizabeth's Episcopal Church                                  Capitol Area Council 564                725 Ranch Rd 967                                                 Buda, TX 78610                                                                                           First Class Mail
Chartered Organization         St Elizabeth's Episcopal Church                                  Great Smoky Mountain Council 557        110 Sugarwood Dr                                                 Knoxville, TN 37934‐4662                                                                                 First Class Mail
Voting Party                   St Elizabeth's Episcopal Church                                  Attn: Laurel Matthews                   901 Clearmont St                                                 Sebastian, FL 32958                                                   stelizabethsepis@gmail.com         Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   St Elizabeth's Episcopal Church                                  Attn: George R Arrants, Esq             814 Episcopal School Way                                         Knoxville, TN 37932                                                   garrants@kramer‐rayson.com         Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Elizabeth's Interparochial School                             Northern New Jersey Council, Bsa 333    700 Wyckoff Ave                                                  Wyckoff, NJ 07481‐1519                                                                                   First Class Mail
Voting Party                   St Elizabeth's Roman Catholic Congregation Incorporated          c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   St Elizabeth's Roman Catholic Congregation, Incorporated         c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Elmo Presbyterian Church                                      Cherokee Area Council 556               4400 Saint Elmo Ave                                              Chattanooga, TN 37409‐1636                                                                               First Class Mail
Chartered Organization         St Emily'S Church                                                Pathway To Adventure 456                1400 E Central Rd                                                Mt Prospect, IL 60056‐2650                                                                               First Class Mail
Chartered Organization         St Ephrem Catholic                                               Great Lakes Fsc 272                     38900 Dodge Park Rd                                              Sterling Heights, MI 48312‐1322                                                                          First Class Mail
Chartered Organization         St Ephrem Church                                                 Washington Crossing Council 777         5400 Hulmeville Rd                                               Bensalem, PA 19020‐3022                                                                                  First Class Mail
Chartered Organization         St Eugene Catholic Church                                        Occoneechee 421                         P.O. Box 188                                                     Wendell, NC 27591‐0188                                                                                   First Class Mail
Chartered Organization         St Eugenes Parish                                                Three Harbors Council 636               7600 N Port Washington Rd                                        Fox Point, WI 53217‐3127                                                                                 First Class Mail
Chartered Organization         St Eugene's Roman Catholic Church                                Westchester Putnam 388                  707 Tuckahoe Rd                                                  Yonkers, NY 10710‐5201                                                                                   First Class Mail
Chartered Organization         St Euphrasia Catholic Church                                     W.L.A.C.C. 051                          11766 Shoshone Ave                                               Granada Hills, CA 91344‐2226                                                                             First Class Mail
Voting Party                   St Euphrasia Catholic Church                                     c/o Archdiocese of Los Angeles          Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Faiths Episcopal Church                                       South Florida Council 084               10600 Caribbean Blvd                                             Cutler Bay, FL 33189‐1361                                                                                First Class Mail
Chartered Organization         St Faustina Catholic Church                                      Sam Houston Area Council 576            P.O. Box 1099                                                    Fulshear, TX 77441‐1099                                                                                  First Class Mail
Chartered Organization         St Faustina Kowalska Parish                                      Northeastern Pennsylvania Council 501   520 S Hanover St                                                 Nanticoke, PA 18634‐2704                                                                                 First Class Mail
Chartered Organization         St Ferdinand Catholic Church                                     Buffalo Trace 156                       P.O. Box 156                                                     Ferdinand, IN 47532‐0156                                                                                 First Class Mail
Chartered Organization         St Ferdinand Catholic Church                                     Greater St Louis Area Council 312       1765 Charbonier Rd                                               Florissant, MO 63031‐5403                                                                                First Class Mail
Chartered Organization         St Ferdinand Roman Catholic Church                               Pathway To Adventure 456                5900 W Barry Ave                                                 Chicago, IL 60634‐5128                                                                                   First Class Mail
Chartered Organization         St Frances Cabrini Catholic Church                               Greater Tampa Bay Area 089              5030 Mariner Blvd                                                Spring Hill, FL 34609‐1829                                                                               First Class Mail
Chartered Organization         St Frances Cabrini Catholic Church                               Bay‐Lakes Council 635                   1025 S 7th Ave                                                   West Bend, WI 53095‐4652                                                                                 First Class Mail
Chartered Organization         St Frances Cabrini Parish                                        Laurel Highlands Council 527            115 Trinity Dr                                                   Aliquippa, PA 15001‐1444                                                                                 First Class Mail
Chartered Organization         St Frances Cabrini Parish ‐ Catholic                             Great Lakes Fsc 272                     9000 Laurence Ave                                                Allen Park, MI 48101‐1510                                                                                First Class Mail
Chartered Organization         St Frances Cabrini Rc Church                                     Suffolk County Council Inc 404          134 Middle Country Rd                                            Coram, NY 11727‐4438                                                                                     First Class Mail
Chartered Organization         St Frances Cabrini Roman Catholic Church                         Patriots Path Council 358               208 Bound Brook Ave                                              Piscataway, NJ 08854‐4018                                                                                First Class Mail
Chartered Organization         St Frances Cabrini School                                        Silicon Valley Monterey Bay 055         15325 Woodard Rd                                                 San Jose, CA 95124‐2746                                                                                  First Class Mail
Chartered Organization         St Frances De Chantal                                            Theodore Roosevelt Council 386          1309 Wantagh Ave                                                 Wantagh, NY 11793‐2221                                                                                   First Class Mail
Chartered Organization         St Frances Of Rome Roman Catholic Church                         Pathway To Adventure 456                1428 S 59th Ct                                                   Cicero, IL 60804‐1056                                                                                    First Class Mail
Chartered Organization         St Francis                                                       Chattahoochee Council 091               P.O. Box 7000                                                    Columbus, GA 31908‐7000                                                                                  First Class Mail
Chartered Organization         St Francis & Anne Catholic Church                                Louisiana Purchase Council 213          143 Booner Miller Rd                                             Deville, LA 71328‐9445                                                                                   First Class Mail
Chartered Organization         St Francis & Clare Catholic Church                               Crossroads of America 160               5901 Olive Branch Rd                                             Greenwood, IN 46143‐8181                                                                                 First Class Mail
Voting Party                   St Francis Assisi Brunswick                                      c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Francis Assisi Elem & Mid Sch                                 National Capital Area Council 082       18825 Fuller Heights Rd                                          Triangle, VA 22172‐2007                                                                                  First Class Mail
Chartered Organization         St Francis Assisi Rc Ch                                          Bucktail Council 509                    212 S Front St                                                   Clearfield, PA 16830‐2218                                                                                First Class Mail
Chartered Organization         St Francis Assisi Rc Ch                                          Lincoln Heritage Council 205            1960 Bardstown Rd                                                Louisville, KY 40205‐1572                                                                                First Class Mail
Chartered Organization         St Francis Assisi School                                         Chickasaw Council 558                   P.O. Box 938                                                     Greenwood, MS 38935‐0938                                                                                 First Class Mail
Chartered Organization         St Francis Borgia Catholic Church                                Bay‐Lakes Council 635                   1375 Covered Bridge Rd                                           Cedarburg, WI 53012‐9703                                                                                 First Class Mail
Chartered Organization         St Francis Borgia Church                                         Greater St Louis Area Council 312       115 Cedar St                                                     Washington, MO 63090‐2133                                                                                First Class Mail
Chartered Organization         St Francis Borgia Church                                         Greater St Louis Area Council 312       310 E Main St                                                    Washington, MO 63090‐2841                                                                                First Class Mail
Chartered Organization         St Francis Cabrini                                               Yucca Council 573                       1000 8th St                                                      Alamogordo, NM 88310‐5945                                                                                First Class Mail
Voting Party                   St Francis Cabrini Parish                                        Attn: Andre L Kydala                    54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Voting Party                   St Francis Cathedral School                                      Attn: Andre L Kydala                    54 Old Hwy 22                                                    Clinton, NJ 08809                                                     kydalalaw@aim.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Francis Catholic Church                                       Circle Ten Council 571                  8000 Eldorado Pkwy                                               Frisco, TX 75033‐3835                                                                                    First Class Mail
Chartered Organization         St Francis Catholic Church                                       Longhorn Council 662                    861 Wildwood Ln                                                  Grapevine, TX 76051‐3398                                                                                 First Class Mail
Chartered Organization         St Francis Catholic Church                                       Longhorn Council 662                    861 Wildwood Ln                                                  Grapevine, TX 76051‐3398                                                                                 First Class Mail
Chartered Organization         St Francis Catholic Church                                       Cascade Pacific Council 492             15651 SW Oregon St                                               Sherwood, OR 97140‐9342                                                                                  First Class Mail
Chartered Organization         St Francis Catholic Community                                    Circle Ten Council 571                  8000 Eldorado Pkwy                                               Frisco, TX 75033‐3835                                                                                    First Class Mail
Chartered Organization         St Francis Catholic Parents For Scouting                         Attn: Shannon Clark                     2701 Fairleigh Ter                                               Saint Joseph, MO 64506‐2808                                                                              First Class Mail
Voting Party                   St Francis Church                                                Attn: Interim Rector                    5001 Hickory                                                     Templa, TX 78653                                                      frdavidkrauss@gmail.com            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Francis Days Committee                                        Three Harbors Council 636               3400 E Howard Ave                                                Saint Francis, WI 53235‐4732                                                                             First Class Mail
Voting Party                   St Francis De Sales Abingdon, Roman Catholic Congregation, Inc   c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Francis De Sales Catholic Church                              Baltimore Area Council 220              1450 Abingdon Rd                                                 Abingdon, MD 21009‐1012                                                                                  First Class Mail
Chartered Organization         St Francis De Sales Catholic Church                              Sam Houston Area Council 576            8200 Roos Rd                                                     Houston, TX 77036‐6324                                                                                   First Class Mail
Chartered Organization         St Francis De Sales Catholic Church                              Northern Lights Council 429             601 15th Ave N                                                   Moorhead, MN 56560‐1567                                                                                  First Class Mail
Chartered Organization         St Francis De Sales Catholic Church                              Narragansett 546                        381 School St                                                    North Kingstown, RI 02852‐1845                                                                           First Class Mail
Chartered Organization         St Francis De Sales Catholic School                              Great Trail 433                         4019 Manchester Rd                                               Coventry Township, OH 44319‐2151                                                                         First Class Mail
Chartered Organization         St Francis De Sales Church                                       Northeast Illinois 129                  135 S Buesching Rd                                               Lake Zurich, IL 60047‐2500                                                                               First Class Mail
Chartered Organization         St Francis De Sales Church                                       Suffolk County Council Inc 404          7 Amity St                                                       Patchogue, NY 11772‐3504                                                                                 First Class Mail
Chartered Organization         St Francis De Sales Congregation                                 Chippewa Valley Council 637             409 N Summit St                                                  Spooner, WI 54801‐1407                                                                                   First Class Mail
Chartered Organization         St Francis De Sales High School                                  Erie Shores Council 460                 2323 W Bancroft St                                               Toledo, OH 43607‐1306                                                                                    First Class Mail
Voting Party                   St Francis De Sales Parish                                       c/o Archdiocese of Los Angeles          Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Francis De Sales School                                       W.L.A.C.C. 051                          13368 Valleyheart Dr                                             Sherman Oaks, CA 91423‐3287                                                                              First Class Mail
Voting Party                   St Francis De Sales School                                       c/o Archdiocese of Los Angeles          Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   St Francis De Sales, Abingdon, Roman Catholic Congregation Inc   c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Francis Desales Catholic Church                               Dan Beard Council, Bsa 438              20A Desales Ave                                                  Lebanon, OH 45036                                                                                        First Class Mail
Chartered Organization         St Francis Desales Catholic Church                               Simon Kenton Council 441                66 Granville St                                                  Newark, OH 43055‐4909                                                                                    First Class Mail
Chartered Organization         St Francis Desales Church                                        Lake Erie Council 440                   3434 George Ave                                                  Parma, OH 44134‐2904                                                                                     First Class Mail
Chartered Organization         St Francis Desales Roman Catholic Church                         Del Mar Va 081                          514 Camden Ave                                                   Salisbury, MD 21801‐5802                                                                                 First Class Mail
Chartered Organization         St Francis Episcopal Church                                      Istrouma Area Council 211               726 Maple St                                                     Denham Springs, LA 70726‐3026                                                                            First Class Mail
Chartered Organization         St Francis Episcopal Church                                      Great Swest Council 412                 2903 Cabezon Blvd SE                                             Rio Rancho, NM 87124‐1741                                                                                First Class Mail
Chartered Organization         St Francis Episcopal Church                                      Great Swest Council 412                 2903 Cabezon Blvd SE                                             Rio Rancho, NM 87124‐1741                                                                                First Class Mail
Voting Party                   St Francis Episcopal Church                                      509 S Rosemont Rd                       Virginia Beach, VA 23452                                                                                                               stfrancisoffice1@verizon.net       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   St Francis Episcopal Church                                      Attn: Christopher Mcnabb                1692 Bellmore Ave                                                N Bellmore, NY 11710                                                  stfrancisec@gmail.com              Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   St Francis Episcopal Church                                      Attn: The Rev Timothy Backus            1 St Francis Dr                                                  Gulf Breeze, FL 32561                                                 sremington@clarkpartington.com     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   St Francis Episcopal Church                                      Attn: Tom York, Jr                      4242 Bluemel Rd                                                  San Antonio, TX 78240                                                 sfc@sfcsa.org                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   St Francis Episcopal Church                                      1205 Pine Ave                           San Jose, CA 95125                                                                                                                     office@stfranciswillowglen.com     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   St Francis Episcopal Church Of Denham Springs LA                 Attn: Father Dan Krutz                  726 Maple St                                                     Dennam Springs, LA 70726                                              secretary@stfrands.org             Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         St Francis Home & School                                         Montana Council 315                     P.O. Box 31158                                                   Billings, MT 59107‐1158                                                                                  First Class Mail
Voting Party                   St Francis House, Inc                                            c/o Wright, Lindsey & Jennings LLP      Attn: John R Tisdale                                             200 W Capitol Ave, Ste 2300         Little Rock, AR 72201             jtisdale@wlj.com                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   St Francis House, Inc                                            John R Tisdale                          2701 S Elm                                                       Little Rock, AR 72715                                                                                    First Class Mail
Chartered Organization         St Francis In The Fields Episcopal                               Lincoln Heritage Council 205            6710 Wolf Pen Branch Rd                                          Harrods Creek, KY 40027                                                                                  First Class Mail
Chartered Organization         St Francis Lions Club                                            Northern Star Council 250               20912 Rum River Blvd                                             Anoka, MN 55303‐8498                                                                                     First Class Mail
Chartered Organization         St Francis Of Assisi                                             Western Massachusetts Council 234       10 Park St                                                       Belchertown, MA 01007‐9590                                                                               First Class Mail
Chartered Organization         St Francis Of Assisi                                             Pikes Peak Council 060                  2650 Parish Vw                                                   Colorado Springs, CO 80919‐3830                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                      Page 349 of 442
                                                                                  Case 20-10343-LSS                                                                    Doc 8171                                            Filed 01/06/22                                                     Page 365 of 457
                                                                                                                                                                                                              Exhibit B
                                                                                                                                                                                                               Service List
                                                                                                                                                                                                        Served as set forth below

        Description                                                        Name                                                                                                                             Address                                                                                                                Email                 Method of Service
Chartered Organization         St Francis Of Assisi                                                   Bay‐Lakes Council 635                                      601 N 8th St                                                     Manitowoc, WI 54220‐3919                                                                                    First Class Mail
Chartered Organization         St Francis Of Assisi                                                   Cradle of Liberty Council 525                              600 Hamilton St                                                  Norristown, PA 19401‐4235                                                                                   First Class Mail
Chartered Organization         St Francis Of Assisi                                                   Occoneechee 421                                            11401 Leesville Rd                                               Raleigh, NC 27613‐5954                                                                                      First Class Mail
Chartered Organization         St Francis Of Assisi                                                   Greater St Louis Area Council 312                          4556 Telegraph Rd                                                Saint Louis, MO 63129‐3318                                                                                  First Class Mail
Chartered Organization         St Francis Of Assisi                                                   Longhorn Council 662                                       117 Ranch House Rd                                               Willow Park, TX 76087‐7688                                                                                  First Class Mail
Chartered Organization         St Francis Of Assisi                                                   Longhorn Council 662                                       117 Ranch House Rd                                               Willow Park, TX 76087‐7688                                                                                  First Class Mail
Voting Party                   St Francis Of Assisi Brunswick, Roman Catholic Congregation            c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201                 moakey@gejlaw.com                     Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Francis Of Assisi Catholic Church                                   Crater Lake Council 491                                    2450 NE 27th St                                                  Bend, OR 97701‐9506                                                                                         First Class Mail
Chartered Organization         St Francis Of Assisi Catholic Church                                   Chickasaw Council 558                                      8151 Chimneyrock Blvd                                            Cordova, TN 38016‐5157                                                                                      First Class Mail
Chartered Organization         St Francis Of Assisi Catholic Church                                   Greater St Louis Area Council 312                          1000 Luebbering Rd                                               Luebbering, MO 63061‐3100                                                                                   First Class Mail
Chartered Organization         St Francis Of Assisi Catholic Church                                   Andrew Jackson Council 303                                 4000 W Tidewater Ln                                              Madison, MS 39110‐8942                                                                                      First Class Mail
Chartered Organization         St Francis Of Assisi Catholic Church                                   Last Frontier Council 480                                  1901 NW 18th St                                                  Oklahoma City, OK 73106‐1818                                                                                First Class Mail
Chartered Organization         St Francis Of Assisi Catholic Church                                   Alamo Area Council 583                                     4201 De Zavala Rd                                                San Antonio, TX 78249‐2008                                                                                  First Class Mail
Chartered Organization         St Francis Of Assisi Catholic Church                                   Greater Tampa Bay Area 089                                 P.O. Box 6526                                                    Seffner, FL 33583‐6526                                                                                      First Class Mail
Chartered Organization         St Francis Of Assisi Catholic Church                                   Stonewall Jackson Council 763                              118 N New St                                                     Staunton, VA 24401‐3636                                                                                     First Class Mail
Chartered Organization         St Francis Of Assisi Catholic Church                                   San Diego Imperial Council 049                             525 W Vista Way                                                  Vista, CA 92083‐5703                                                                                        First Class Mail
Chartered Organization         St Francis Of Assisi Church                                            Greater Niagara Frontier Council 380                       4263 St Francis Dr                                               Athol Springs, NY 14010                                                                                     First Class Mail
Chartered Organization         St Francis Of Assisi Church                                            Baltimore Area Council 220                                 3615 Harford Rd                                                  Baltimore, MD 21218‐3150                                                                                    First Class Mail
Chartered Organization         St Francis Of Assisi Church                                            Pacific Skyline Council 031                                1425 Bay Rd                                                      East Palo Alto, CA 94303‐1109                                                                               First Class Mail
Chartered Organization         St Francis Of Assisi Church                                            Greater Tampa Bay Area 089                                 4450 County Rd 579                                               Seffner, FL 33584‐8361                                                                                      First Class Mail
Chartered Organization         St Francis Of Assisi Church                                            Greater St Louis Area Council 312                          203 E Main St                                                    Teutopolis, IL 62467‐1332                                                                                   First Class Mail
Voting Party                   St Francis Of Assisi Church                                            c/o Westerman Ball Ederer Miller Zucker & Sharfstein LLP   Attn: Jw/Wch                                                     1201 Rxr Plz                      Uniondale, NY 11556                 wheuer@westermanllp.com               Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Francis Of Assisi Episcopal Church                                  Indian Waters Council 553                                  P.O. Box 265                                                     Chapin, SC 29036‐0265                                                                                       First Class Mail
Chartered Organization         St Francis Of Assisi Episcopal Church                                  Heart of America Council 307                               P.O. Box 118                                                     Stilwell, KS 66085‐0118                                                                                     First Class Mail
Chartered Organization         St Francis Of Assisi Parish                                            Southern Shores Fsc 783                                    2150 Frieze Ave                                                  Ann Arbor, MI 48104‐4769                                                                                    First Class Mail
Chartered Organization         St Francis Of Assisi Parish                                            Baden‐Powell Council 368                                   1031 Chenango St                                                 Binghamton, NY 13901‐1746                                                                                   First Class Mail
Chartered Organization         St Francis Of Assisi Parish                                            Chief Seattle Council 609                                  15226 21st Ave Sw                                                Burien, WA 98166‐2008                                                                                       First Class Mail
Chartered Organization         St Francis Of Assisi Parish                                            Mid Iowa Council 177                                       107 S 1st St                                                     Marshalltown, IA 50158‐2854                                                                                 First Class Mail
Chartered Organization         St Francis Of Assisi Parish                                            Last Frontier Council 480                                  1901 NW 18th St                                                  Oklahoma City, OK 73106‐1818                                                                                First Class Mail
Chartered Organization         St Francis Of Assisi Parish Council                                    Mid Iowa Council 177                                       7075 Ashworth Rd                                                 West Des Moines, IA 50266‐2416                                                                              First Class Mail
Voting Party                   St Francis Of Assisi Roman Catholic Church                             c/o Woods Oviatt Gilman LLP                                Attn: Timothy P Lyster, Esq                                      1900 Bausch & Lomb Pl             Rochester, NY 14604                 tlyster@woodoviatt.com                Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Francis Of Assisi Roman Catholic Congregation, Inc                  c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201                 moakey@gejlaw.com                     Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Francis Of Assisi, Howard County, Roman Catholic Congregation Inc   c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201                 moakey@gejlaw.com                     Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Francis Of Assisi‐Franklin Texas                                    Attn: Rev Celso Yu                                         1371 W Fm 1644                                                   Franklin, TX 77856                                                    ron‐walker@austindiocese.org          Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Francis Of Assisi‐Franklin Texas                                    c/o BSA Coordinator                                        Attn: Chancellor                                                 6225 E US 290 Hwy SVRD EB         Austin, TX 78723                    ron‐walker@austindiocese.org          Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Francis Of Assissi                                                  Greater Niagara Frontier Council 380                       4263 Saint Francis Dr                                            Hamburg, NY 14075‐1724                                                                                      First Class Mail
Chartered Organization         St Francis Of Assissi Catholic Church                                  Mid Iowa Council 177                                       7075 Ashworth Rd                                                 West Des Moines, IA 50266‐2416                                                                              First Class Mail
Chartered Organization         St Francis Of The Lakes Catholic Church                                Central Minnesota 296                                      404 N 9th St                                                     Brainerd, MN 56401                                                                                          First Class Mail
Voting Party                   St Francis Of The Prairie Episcopal Church                             Attn: Peter Nicolaysen                                     P.O. Box 7                                                       Casper, WY 82602                                                      petercn@vcn.com                       Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Francis On The Hill                                                 Yucca Council 573                                          6280 Los Robles Dr                                               El Paso, TX 79912‐1958                                                                                      First Class Mail
Chartered Organization         St Francis On The Prairie                                              Greater Wyoming Council 638                                P.O. Box 161                                                     Wright, WY 82732‐0161                                                                                       First Class Mail
Chartered Organization         St Francis Parish                                                      The Spirit of Adventure 227                                115 Wheeler Rd                                                   Dracut, MA 01826‐4227                                                                                       First Class Mail
Chartered Organization         St Francis Roman Catholic Church                                       Southern Sierra Council 030                                900 H St                                                         Bakersfield, CA 93304‐1312                                                                                  First Class Mail
Chartered Organization         St Francis Roman Catholic Church                                       Northern New Jersey Council, Bsa 333                       308 Jefferson St                                                 Hoboken, NJ 07030‐1904                                                                                      First Class Mail
Chartered Organization         St Francis School                                                      Capitol Area Council 564                                   300 E Huntland Dr                                                Austin, TX 78752‐3706                                                                                       First Class Mail
Chartered Organization         St Francis School Pto                                                  President Gerald R Ford 781                                123 E 11th St                                                    Traverse City, MI 49684‐3260                                                                                First Class Mail
Voting Party                   St Francis Umc                                                         c/o Bradley Arant Boult Cummings, LLP                      Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Francis Utd Methodist Church                                        Occoneechee 421                                            2971 Kildaire Farm Rd                                            Cary, NC 27518                                                                                              First Class Mail
Chartered Organization         St Francis Utd Methodist Church                                        Mecklenburg County Council 415                             4200 Mckee Rd                                                    Charlotte, NC 28270‐1256                                                                                    First Class Mail
Chartered Organization         St Francis Xavier                                                      Greater New York Councils, Bsa 640                         1703 Lurting Ave                                                 Bronx, NY 10461‐1404                                                                                        First Class Mail
Chartered Organization         St Francis Xavier Cabrini                                              Seneca Waterways 397                                       124 Evergreen St                                                 Rochester, NY 14605‐1016                                                                                    First Class Mail
Chartered Organization         St Francis Xavier Cath Church                                          Central Minnesota 296                                      P.O. Box 150                                                     Sartell, MN 56377‐0150                                                                                      First Class Mail
Chartered Organization         St Francis Xavier Catholic                                             Great Salt Lake Council 590                                4501 W 5215 S                                                    Salt Lake City, UT 84118‐5616                                                                               First Class Mail
Chartered Organization         St Francis Xavier Catholic Church                                      Greater Alabama Council 001                                2 Xavier Cir                                                     Birmingham, AL 35213‐2026                                                                                   First Class Mail
Chartered Organization         St Francis Xavier Catholic Church                                      Coastal Georgia Council 099                                405 Howe St                                                      Brunswick, GA 31520‐7526                                                                                    First Class Mail
Chartered Organization         St Francis Xavier Catholic Church                                      Southwest Florida Council 088                              2157 Cleveland Ave                                               Fort Myers, FL 33901‐3404                                                                                   First Class Mail
Chartered Organization         St Francis Xavier Catholic Church                                      New Birth of Freedom 544                                   455 Table Rock Rd                                                Gettysburg, PA 17325‐8114                                                                                   First Class Mail
Chartered Organization         St Francis Xavier Catholic Church                                      Rainbow Council 702                                        2500 Arbeiter Rd                                                 Joliet, IL 60431‐7997                                                                                       First Class Mail
Chartered Organization         St Francis Xavier Catholic Church                                      Southeast Louisiana Council 214                            444 Metairie Rd                                                  Metairie, LA 70005‐4307                                                                                     First Class Mail
Chartered Organization         St Francis Xavier Catholic Church                                      Grand Canyon Council 010                                   4715 N Central Ave                                               Phoenix, AZ 85012‐1711                                                                                      First Class Mail
Chartered Organization         St Francis Xavier Catholic Parish                                      Buffalo Trace 156                                          106 S 3rd St                                                     Vincennes, IN 47591‐1106                                                                                    First Class Mail
Chartered Organization         St Francis Xavier Catholic School                                      Southeast Louisiana Council 214                            215 Betz Pl                                                      Metairie, LA 70005‐4105                                                                                     First Class Mail
Chartered Organization         St Francis Xavier Chapel                                               Greater Los Angeles Area 033                               222 S Hewitt St                                                  Los Angeles, CA 90012‐4309                                                                                  First Class Mail
Voting Party                   St Francis Xavier Chapel                                               c/o Archdiocese of Los Angeles                             Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010               legal@la‐archdiocese.org              Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Francis Xavier Church                                               Northern Star Council 250                                  219 19th St Nw                                                   Buffalo, MN 55313‐5042                                                                                      First Class Mail
Chartered Organization         St Francis Xavier Church                                               Great Trail 433                                            606 E Washington St                                              Medina, OH 44256‐2125                                                                                       First Class Mail
Chartered Organization         St Francis Xavier Church                                               Northeast Illinois 129                                     524 9th St                                                       Wilmette, IL 60091‐2714                                                                                     First Class Mail
Chartered Organization         St Francis Xavier Church Roman Catholic                                Greater New York Councils, Bsa 640                         225 6th Ave                                                      Brooklyn, NY 11215‐1235                                                                                     First Class Mail
Chartered Organization         St Francis Xavier Mens Club                                            Pathway To Adventure 456                                   124 S Spring Ave                                                 La Grange, IL 60525                                                                                         First Class Mail
Chartered Organization         St Francis Xavier Mens Club                                            Pathway To Adventure 456                                   145 N Waiola Ave                                                 La Grange, IL 60525‐1866                                                                                    First Class Mail
Chartered Organization         St Francis Xavier Parents For Scouting                                 Heart of America Council 307                               1211 W 68th Ter                                                  Kansas City, MO 64113‐1903                                                                                  First Class Mail
Chartered Organization         St Francis Xavier Rc Church                                            French Creek Council 532                                   8880 Grubb Rd                                                    Mckean, PA 16426                                                                                            First Class Mail
Chartered Organization         St Francis Xavier Rc Church                                            French Creek Council 532                                   8880 Main St                                                     Mckean, PA 16426‐1408                                                                                       First Class Mail
Chartered Organization         St Francis Xavier Roman Catholic Church                                Greater New York Councils, Bsa 640                         225 6th Ave                                                      Brooklyn, NY 11215‐1235                                                                                     First Class Mail
Chartered Organization         St Francis Xavier Roman Catholic Church                                Lincoln Heritage Council 205                               155 Stringer Ln                                                  Mount Washington, KY 40047‐7354                                                                             First Class Mail
Voting Party                   St Francis Xavier Roman Catholic Church                                c/o Carella, Byrne, Et Al                                  Attn: Charles M Carella Esq                                      5 Becker Farm Rd                  Roseland, NJ 07068                  cmcarella@carellabyrne.com            Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Francis Xavier Roman Catholic Church Metairie, Louisiana            Attn: Susan A Zeringue                                     7887 Walmsley Ave                                                New Orleans, LA 70125                                                 szeringue@arch‐no.org                 Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Francis Xavier School                                               Green Mountain 592                                         5 Saint Peter St                                                 Winooski, VT 05404‐1316                                                                                     First Class Mail
Voting Party                   St Francis Xavier's Roman Catholic Congregation Inc                    c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201                 moakey@gejlaw.com                     Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Francis, Tetons Episc Ch                                            Grand Teton Council 107                                    20 Alta School Rd                                                Alta, WY 83414‐4518                                                                                         First Class Mail
Chartered Organization         St Francisville Christian Church                                       Buffalo Trace 156                                          Rr 1                                                             St Francisville, IL 62460                                                                                   First Class Mail
Chartered Organization         St Francisville Lodge 588                                              Mississippi Valley Council 141 141                         572 N Martin St                                                  Wayland, MO 63475                                                                                           First Class Mail
Voting Party                   St Francisville Umc                                                    Attn: Daniel Hixon                                         P.O. Box 2908                                                    St Francisville, LA 70775                                             revhixon@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Francois County Board For The Dev‐Dis                               Greater St Louis Area Council 312                          68 N Washington St                                               Farmington, MO 63640                                                                                        First Class Mail
Chartered Organization         St Francois County Vfw Post 2426                                       Greater St Louis Area Council 312                          399 W Oak St                                                     Desloge, MO 63601‐3408                                                                                      First Class Mail
Chartered Organization         St Gabriel Catholic Ch ‐ Parish Council                                Bay‐Lakes Council 635                                      900 Geiger St                                                    Neenah, WI 54956‐2302                                                                                       First Class Mail
Chartered Organization         St Gabriel Catholic Church                                             Mecklenburg County Council 415                             3016 Providence Rd                                               Charlotte, NC 28211‐2741                                                                                    First Class Mail
Chartered Organization         St Gabriel Catholic Church                                             Potawatomi Area Council 651                                1200 Saint Gabriel Way                                           Hubertus, WI 53033‐9492                                                                                     First Class Mail
Chartered Organization         St Gabriel Catholic Church                                             Bay‐Lakes Council 635                                      900 Geiger St                                                    Neenah, WI 54956‐2302                                                                                       First Class Mail
Chartered Organization         St Gabriel Church                                                      Mecklenburg County Council 415                             3016 Providence Rd                                               Charlotte, NC 28211‐2741                                                                                    First Class Mail
Chartered Organization         St Gabriel Holy Name Society                                           Greater Niagara Frontier Council 380                       5271 Clinton St                                                  Elma, NY 14059‐9428                                                                                         First Class Mail
Chartered Organization         St Gabriel Of The Sorrowful Mother                                     Chester County Council 539                                 P.O. Box 709                                                     Avondale, PA 19311‐0709                                                                                     First Class Mail
Chartered Organization         St Gabriel Of The Sorrowfull Mother                                    East Carolina Council 426                                  3250 Dickinson Ave                                               Greenville, NC 27834‐0885                                                                                   First Class Mail
Chartered Organization         St Gabriel Parish Youth Ministry                                       Lake Erie Council 440                                      9925 Johnnycake Ridge Rd                                         Mentor, OH 44060‐6727                                                                                       First Class Mail
Chartered Organization         St Gabriel Roman Catholic Church                                       Lincoln Heritage Council 205                               5505 Bardstown Rd                                                Louisville, KY 40291‐1909                                                                                   First Class Mail
Chartered Organization         St Gabriel Roman Catholic Church                                       Lake Erie Council 440                                      9920 Johnnycake Ridge Rd                                         Mentor, OH 44060‐6728                                                                                       First Class Mail
Voting Party                   St Gabriel Roman Catholic Congregation Inc                             c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201                 moakey@gejlaw.com                     Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Gabriel School                                                      Dan Beard Council, Bsa 438                                 18 W Sharon Rd                                                   Cincinnati, OH 45246‐4323                                                                                   First Class Mail
Chartered Organization         St Gabriel School Pta                                                  Crossroads of America 160                                  224 W 9th St                                                     Connersville, IN 47331‐2074                                                                                 First Class Mail
Chartered Organization         St Gabriel The Archangel Catholic Church                               Grand Canyon Council 010                                   32648 N Cave Creek Rd                                            Cave Creek, AZ 85331‐5540                                                                                   First Class Mail
Chartered Organization         St Gabriel The Archangel Catholic Church                               Circle Ten Council 571                                     110 Saint Gabriel Way                                            Mckinney, TX 75071‐6053                                                                                     First Class Mail
Chartered Organization         St Gabriel Womens Club                                                 Northern Star Council 250                                  6 Interlachen Rd                                                 Hopkins, MN 55343‐8548                                                                                      First Class Mail
Chartered Organization         St Gabriels Catholic Church                                            Las Vegas Area Council 328                                 2250 E Maule Ave                                                 Las Vegas, NV 89119‐4607                                                                                    First Class Mail
Chartered Organization         St Gabriels Episcopal Church                                           Hawk Mountain Council 528                                  1188 Ben Franklin Hwy E                                          Douglassville, PA 19518‐1803                                                                                First Class Mail
Chartered Organization         St Gabriels Episcopal Church                                           Central Florida Council 083                                414 Pine St                                                      Titusville, FL 32796‐3542                                                                                   First Class Mail
Voting Party                   St Gabriels Episcopal Church                                           Attn: Elaine Dorr                                          68 Main St                                                       E Berlin, CT 06023                                                    stgabrielseb@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Gabriel's Episcopal Church Douglassville, Pennsylvania              Attn: Sally Heist                                          P.O. Box 396                                                     1188 Ben Franklin Hwy E           Douglassville, PA 19518             office@stgabriels.us                  Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Gabriel'S Parish                                                    Potawatomi Area Council 651                                1200 Saint Gabriel Way                                           Hubertus, WI 53033‐9492                                                                                     First Class Mail
Chartered Organization         St Gabriels R C Church                                                 Greater Niagara Frontier Council 380                       5271 Clinton St                                                  Elma, NY 14059‐9428                                                                                         First Class Mail
Chartered Organization         St Gabriels Roman Catholic Church                                      Cradle of Liberty Council 525                              233 Mohawk Ave                                                   Norwood, PA 19074‐1208                                                                                      First Class Mail
Chartered Organization         St Gall Catholic Church                                                Three Fires Council 127                                    120 W Shannon St                                                 Elburn, IL 60119‐8220                                                                                       First Class Mail
Chartered Organization         St Genevieve Catholic Church                                           Southeast Louisiana Council 214                            815 Barbier Ave                                                  Thibodaux, LA 70301‐6533                                                                                    First Class Mail
Chartered Organization         St Genevieves Rc Church ‐ Cyo                                          Patriots Path Council 358                                  200 Monmouth Rd                                                  Elizabeth, NJ 07208‐1413                                                                                    First Class Mail
Chartered Organization         St George Antiochian Orthodox Church                                   Great Trail 433                                            3204 Ridgewood Rd                                                Fairlawn, OH 44333‐3116                                                                                     First Class Mail
Chartered Organization         St George Catholic Church                                              Istrouma Area Council 211                                  7808 Saint George Dr                                             Baton Rouge, LA 70809‐4663                                                                                  First Class Mail
Chartered Organization         St George Catholic Church                                              Northern Lights Council 429                                P.O. Box 217                                                     Cooperstown, ND 58425‐0217                                                                                  First Class Mail
Chartered Organization         St George Catholic Church                                              Great Rivers Council 653                                   611 E Main St                                                    Linn, MO 65051‐9502                                                                                         First Class Mail
Chartered Organization         St George Catholic Church                                              Flint River Council 095                                    771 Roscoe Rd                                                    Newnan, GA 30263‐4718                                                                                       First Class Mail
Chartered Organization         St George Catholic Church                                              Chief Seattle Council 609                                  5117 13th Ave S                                                  Seattle, WA 98108‐2309                                                                                      First Class Mail
Chartered Organization         St George Catholic Church                                              Utah National Parks 591                                    259 W 200 N                                                      St George, UT 84770‐2705                                                                                    First Class Mail
Chartered Organization         St George Catholic Church                                              Pathway To Adventure 456                                   6707 175th St                                                    Tinley Park, IL 60477‐4041                                                                                  First Class Mail
Chartered Organization         St George Coptic Orthodox Church                                       Chief Seattle Council 609                                  13216 NE 100th St                                                Kirkland, WA 98033‐5234                                                                                     First Class Mail
Chartered Organization         St George Elks Lodge Bpoe 1743                                         Utah National Parks 591                                    630 W 1250 N                                                     St George, UT 84770‐2682                                                                                    First Class Mail
Voting Party                   St George Episcopal Church                                             Attn: Arden Mclean                                         6904 West Ave                                                    San Antonio, TX 78213                                                 kearle@saintgeorgechurch.org          Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St George Greek Orthodox Cathedral                                     Daniel Webster Council, Bsa 330                            650 Hanover St                                                   Manchester, NH 03104‐5306                                                                                   First Class Mail
Chartered Organization         St George Greek Orthodox Church                                        Connecticut Yankee Council Bsa 072                         238 W Rocks Rd                                                   Norwalk, CT 06851‐1133                                                                                      First Class Mail
Chartered Organization         St George P T O Assoc                                                  French Creek Council 532                                   1612 Bryant St                                                   Erie, PA 16509‐2468                                                                                         First Class Mail
Chartered Organization         St George Rc Church                                                    Connecticut Yankee Council Bsa 072                         33 Whitfield St                                                  Guilford, CT 06437‐2631                                                                                     First Class Mail
Chartered Organization         St George Rcc                                                          Narragansett 546                                           12 Highland Ave                                                  Westport, MA 02790‐2201                                                                                     First Class Mail
Chartered Organization         St George Youth And Scouting Council                                   Pine Tree Council 218                                      P.O. Box 332                                                     Tenants Harbor, ME 04860‐0332                                                                               First Class Mail
Voting Party                   St George's (Central Falls)                                            c/o The Tamposi Law Group, PC                              Attn: Peter N Tamposi                                            159 Main St                       Nashua, NH 03060                    peter@thetamposilawgroup.com          Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St George's Church                                                     Chickasaw Council 558                                      2425 S Germantown Rd                                             Germantown, TN 38138‐5946                                                                                   First Class Mail
Chartered Organization         St Georges Episcopal Church                                            Cradle of Liberty Council 525                              1 W Ardmore Ave                                                  Ardmore, PA 19003‐1017                                                                                      First Class Mail
Chartered Organization         St Georges Episcopal Church                                            Twin Rivers Council 364                                    912 Route 146                                                    Clifton Park, NY 12065‐3702                                                                                 First Class Mail
Chartered Organization         St Georges Episcopal Church                                            Theodore Roosevelt Council 386                             319 Front St                                                     Hempstead, NY 11550‐4024                                                                                    First Class Mail
Chartered Organization         St Georges Episcopal Church                                            Middle Tennessee Council 560                               4715 Harding Pike                                                Nashville, TN 37205‐2809                                                                                    First Class Mail
Chartered Organization         St George's Episcopal Church                                           Cradle of Liberty Council 525                              1 W Ardmore Ave                                                  Ardmore, PA 19003‐1017                                                                                      First Class Mail
Chartered Organization         St George's Episcopal Church                                           Chickasaw Council 558                                      2425 S Germantown Rd                                             Germantown, TN 38138‐5946                                                                                   First Class Mail
Chartered Organization         St George's Episcopal Church                                           Middle Tennessee Council 560                               4715 Harding Pike                                                Nashville, TN 37205‐2809                                                                                    First Class Mail
Chartered Organization         St George's Episcopal Church                                           National Capital Area Council 082                          19165 Poplarhill Lane                                            Valley Lee, MD 20692                                                                                        First Class Mail
Voting Party                   St George's Episcopal Church                                           635 Old Wilder Rd                                          Hilton, NY 14668                                                                                                                       stgeorges@frontiernet.net             Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St George's Episcopal Church                                           2434 Cape Horn Rd                                          P.O. Box 255                                                     Hampstead, MD 21074                                                   stgeorgeepiscopal@comcast.net         Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St George's Episcopal Church & Center                                  Attn: Hyacinthia Becton                                    21 W 22nd St                                                     Riviera Beach, FL 33404                                               info@saintgeorgescenter.org           Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St George's Episcopal Church (Central Falls)                           c/o The Tamposi Law Group, PC                              Attn: Peter N Tamposi                                            159 Main St                       Nashua, NH 03060                    peter@thetamposilawgroup.com          Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St George's Episcopal Church At Clarksdale, Miss                       Attn: Marcus M Wilson                                      190 E Capitol St, Ste 650                                        Jackson, MS 39201                                                     mwilson@blswlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St George's Episcopal Church At Clarksdale, Miss                       Attn: Jerry Hudson                                         106 Sharkey                                                      Clarksdale, MS 38614                                                  jhudsons@bellsouth.net                Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St George's Episcopal Church Newport News VA                           Attn: Edward Gardner                                       15446 Warwick Blvd                                               Newport News, VA 23608                                                stgeorges.nn@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St George's Episcopal Church Newport News VA                           c/o Diocese of S Va                                        Attn: Comptroller                                                11827 Canon Blvd, Ste 101         Newport News, VA 23606              rhoffman@diosova.org                  Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St George's Episcopal Church, Austin TX                                Attn: Melissa Eason Brackin                                4301 N I‐35                                                      Austin, TX 78722                                                      melissaaeason@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St George's Episcopal Church, Hempstead, NY (Pack 300)                 319 Front St                                               Hempstead, NY 11550                                                                                                                    ajungsojwal@stgeorges‐hempstead.org   Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St George's Episcopal Church, York Harbor                              c/o The Episcopal Diocese of Maine / Martin                P.O. Box 4036                                                    Portland, ME 04101                                                    bmartin@episcopalmaine.org            Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St George's Episcopal Day School                                       Attn: Jerry Hudson                                         106 Sharkey                                                      Clarksdale, MS 38614                                                  jhudsons@bellsouth.net                Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St George's Episcopal Day School                                       Attn: Marcus M Wilson                                      190 E Capitol St, Ste 650                                        Jackson, MS 39201                                                     jhudsons@bellsouth.net                Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St George's Independent School                                         Chickasaw Council 558                                      8250 Poplar Ave                                                  Germantown, TN 38138‐6139                                                                                   First Class Mail
Voting Party                   St George's Methodist Episcopal Church Inc ‐ St Georges                c/o Bradley Arant Boult Cummings, LLP                      Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St George's Umc                                                        c/o Bradley Arant Boult Cummings, LLP                      Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200          Tampa, FL 33602                     erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Georges Utd Methodist Church                                        Del Mar Va 081                                             P.O. Box 145                                                     Saint Georges, DE 19733‐0145                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                               Page 350 of 442
                                                                                  Case 20-10343-LSS                                                           Doc 8171                                            Filed 01/06/22                                                         Page 366 of 457
                                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                                      Service List
                                                                                                                                                                                               Served as set forth below

        Description                                                       Name                                                                                                                     Address                                                                                                                    Email              Method of Service
Chartered Organization         St Georges Utd Methodist Church                               Del Mar Va 081                                             109 Broad St                                                     Saint Georges, DE 19733‐2001                                                                                 First Class Mail
Chartered Organization         St Gerald Holy Name Society                                   Pathway To Adventure 456                                   9310 S 55th Ct                                                   Oak Lawn, IL 60453‐2314                                                                                      First Class Mail
Chartered Organization         St Geralds School                                             Mid‐America Council 326                                    7857 Lakeview St                                                 Ralston, NE 68127‐2832                                                                                       First Class Mail
Chartered Organization         St Gerard Catholic Church                                     Northern Star Council 250                                  9600 Regent Ave N                                                Brooklyn Park, MN 55443‐1401                                                                                 First Class Mail
Chartered Organization         St Gerard Catholic Church                                     Black Swamp Area Council 449                               240 W Robb Ave                                                   Lima, OH 45801‐2847                                                                                          First Class Mail
Chartered Organization         St Gerard Majella Church                                      Greater St Louis Area Council 312                          1969 Dougherty Ferry Rd                                          Saint Louis, MO 63122‐3538                                                                                   First Class Mail
Chartered Organization         St Gerard Majella Rc Church                                   Suffolk County Council Inc 404                             300 Terryville Rd                                                Port Jefferson Station, NY 11776‐2925                                                                        First Class Mail
Chartered Organization         St Gerard Roman Catholic Church                               Water and Woods Council 782                                4437 W Willow Hwy                                                Lansing, MI 48917‐2138                                                                                       First Class Mail
Chartered Organization         St Gerards Majella Roman Catholic Church                      Laurel Highlands Council 527                               530 Hamil Rd                                                     Verona, PA 15147‐2908                                                                                        First Class Mail
Chartered Organization         St Germain Evangelical Free Church                            Samoset Council, Bsa 627                                   6065 State Hwy 70 E                                              Saint Germain, WI 54558‐8703                                                                                 First Class Mail
Chartered Organization         St Germaine Catholic Church                                   Pathway To Adventure 456                                   9711 S Kolin Ave                                                 Oak Lawn, IL 60453‐3544                                                                                      First Class Mail
Chartered Organization         St Gertrude Catholic Church                                   Pathway To Adventure 456                                   1420 W Granville Ave                                             Chicago, IL 60660‐1810                                                                                       First Class Mail
Chartered Organization         St Gertrude Catholic Church School                            South Texas Council 577                                    400 E Caesar Ave                                                 Kingsville, TX 78363‐6319                                                                                    First Class Mail
Chartered Organization         St Gertrude Roman Catholic Church                             Dan Beard Council, Bsa 438                                 7630 Shawnee Run Rd                                              Cincinnati, OH 45243‐3009                                                                                    First Class Mail
Chartered Organization         St Gertrude Roman Catholic Church                             Dan Beard Council, Bsa 438                                 7630 Shawnee Run Rd                                              Madeira, OH 45243‐3009                                                                                       First Class Mail
Voting Party                   St Gertrude Roman Catholic Church, Des Allemands, Louisiana   Attn: Susan A Zeringue, General Counsel                    7887 Walmsley Ave                                                New Orleans, LA 70125                                                     szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Gertrude School                                            Greater St Louis Area Council 312                          6520 Hwy Yy                                                      Washington, MO 63090‐4071                                                                                    First Class Mail
Chartered Organization         St Gertrudes Catholic Church                                  Theodore Roosevelt Council 386                             28 School St                                                     Bayville, NY 11709‐1931                                                                                      First Class Mail
Chartered Organization         St Gertude Catholic Church                                    Southeast Louisiana Council 214                            17292 Hwy 631                                                    Des Allemands, LA 70030‐4400                                                                                 First Class Mail
Voting Party                   St Giles Episcopal Church                                     Attn: Thomas Page & James Brooks                           1417 Kingsport Ct                                                Northbrook, IL 60062                                                      tom.page@bfkn.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Giles Episcopal Church                                     Attn: James Brooks, Senior Warden                          3706 Oak Ave                                                     Northbrook, IL 60062                                                      pro.union@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Giles' Episcopal Church, Jefferson                         c/o The Episcopal Diocese of Maine / Martin                P.O. Box 4036                                                    Portland, ME 04101                                                        bmartin@episcopalmaine.org         Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Giles Presbyterian Church                                  Blue Ridge Council 551                                     1021 Hudson Rd                                                   Greenville, SC 29615‐2703                                                                                    First Class Mail
Voting Party                   St Giles Presbyterian Church                                  Attn: Dave Gospodarek                                      5101 Oak Park Rd                                                 Raleigh, NC 27612                                                         davegospo@greyhouse.net            Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Giles Roman Catholic Church                                Pathway To Adventure 456                                   1025 Columbian Ave                                               Oak Park, IL 60302‐1327                                                                                      First Class Mail
Chartered Organization         St Gregory Barbarigo                                          Hudson Valley Council 374                                  21 Cinder Rd                                                     Garnerville, NY 10923‐1131                                                                                   First Class Mail
Chartered Organization         St Gregory The Great Catholic Church                          South Florida Council 084                                  200 N University Dr                                              Plantation, FL 33324‐2018                                                                                    First Class Mail
Chartered Organization         St Gregory The Great Catholic Church                          Alamo Area Council 583                                     700 Dewhurst Rd                                                  San Antonio, TX 78213‐3416                                                                                   First Class Mail
Chartered Organization         St Gregory The Great Catholic Church                          San Diego Imperial Council 049                             11451 Blue Cypress Dr                                            San Diego, CA 92131‐3772                                                                                     First Class Mail
Chartered Organization         St Gregory The Great Catholic Church                          Tidewater Council 596                                      5345 Virginia Beach Blvd                                         Virginia Beach, VA 23462‐1889                                                                                First Class Mail
Chartered Organization         St Gregory The Great Catholic Church                          Greater Los Angeles Area 033                               13935 Telegraph Rd                                               Whittier, CA 90604‐2536                                                                                      First Class Mail
Voting Party                   St Gregory The Great Catholic Church                          c/o Archdiocese of Los Angeles                             Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                      Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Gregory The Great Church                                   Greater New York Councils, Bsa 640                         24220 88th Ave                                                   Bellerose, NY 11426‐1222                                                                                     First Class Mail
Chartered Organization         St Gregory The Great Congregation                             Three Harbors Council 636                                  3160 S 63rd St                                                   Milwaukee, WI 53219‐4113                                                                                     First Class Mail
Chartered Organization         St Gregory The Great Parish                                   Greater Niagara Frontier Council 380                       100 Saint Gregory Ct                                             Williamsville, NY 14221‐2696                                                                                 First Class Mail
Chartered Organization         St Gregory The Great R C Church                               Connecticut Yankee Council Bsa 072                         85 Great Plain Rd                                                Danbury, CT 06811‐3927                                                                                       First Class Mail
Chartered Organization         St Gregory The Great R C Church                               Washington Crossing Council 777                            4620 Nottingham Way                                              Hamilton Square, NJ 08690‐3820                                                                               First Class Mail
Chartered Organization         St Gregory The Great R C Church                               Greater Niagara Frontier Council 380                       200 Saint Gregory Ct                                             Williamsville, NY 14221‐2632                                                                                 First Class Mail
Voting Party                   St Gregory The Great Roman Catholic Congregation Inc          c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                            218 N Charles St, Ste 400               Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Gregory The Great Sr                                       Greater New York Councils, Bsa 640                         2520 Church Ave                                                  Brooklyn, NY 11226‐4006                                                                                      First Class Mail
Chartered Organization         St Gregorys Catholic Church                                   Great Alaska Council 610                                   P.O. Box 495                                                     Sitka, AK 99835‐0495                                                                                         First Class Mail
Chartered Organization         St Gregorys Episcopal Church                                  President Gerald R Ford 781                                1200 Seminole Rd                                                 Norton Shores, MI 49441‐4347                                                                                 First Class Mail
Chartered Organization         St Gregory'S Episcopal Church                                 Denver Area Council 061                                    6653 W Chatfield Ave                                             Littleton, CO 80128‐5834                                                                                     First Class Mail
Voting Party                   St Gregory's Episcopal Church                                 Attn: Michael Kevin Fincher                                6201 E Willow St                                                 Long Beach, CA 90815                                                      rector@stgregoryschurch.com        Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Gregorys Parish R C Church                                 French Creek Council 532                                   48 S Pearl St                                                    North East, PA 16428                                                                                         First Class Mail
Chartered Organization         St Gregorys Roman Catholic Church                             The Spirit of Adventure 227                                2223 Dorchester Ave                                              Dorchester Center, MA 02124‐5623                                                                             First Class Mail
Chartered Organization         St Haralambos Greek Orthodox Church                           Pathway To Adventure 456                                   7373 N Caldwell Ave                                              Niles, IL 60714‐4503                                                                                         First Class Mail
Chartered Organization         St Hedwig Catholic Church                                     Orange County Council 039                                  11482 Los Alamitos Blvd                                          Los Alamitos, CA 90720‐3901                                                                                  First Class Mail
Voting Party                   St Hedwig's Church                                            c/o Westerman Ball Ederer Miller Zucker & Sharfstein LLP   Attn: Jw/Wch                                                     1201 Rxr Plz                            Uniondale, NY 11556               wheuer@westermanllp.com            Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Hedwig'S Church School                                     Orange County Council 039                                  11482 Los Alamitos Blvd                                          Los Alamitos, CA 90720‐3901                                                                                  First Class Mail
Chartered Organization         St Helen Catholic Church                                      Miami Valley Council, Bsa 444                              605 Granville Pl                                                 Dayton, OH 45431‐2703                                                                                        First Class Mail
Chartered Organization         St Helen Catholic Church                                      Capitol Area Council 564                                   2700 E University Ave                                            Georgetown, TX 78626‐7300                                                                                    First Class Mail
Chartered Organization         St Helen Catholic Church                                      Water and Woods Council 782                                2445 N Charles St                                                Saginaw, MI 48602‐5009                                                                                       First Class Mail
Voting Party                   St Helen Catholic Church                                      Attn: Rev Hai Nguyen                                       6225 E US 290 Hwy Svrd Eb                                        Austin, TX 78723                                                          ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Helen Catholic Church                                      Attn: Rev Hai Nguyen                                       2700 E University Ave                                            Georgetown, TX 78626                                                                                         First Class Mail
Chartered Organization         St Helena Community Assoc                                     Baltimore Area Council 220                                 6509 Colgate Ave                                                 Baltimore, MD 21222‐4004                                                                                     First Class Mail
Voting Party                   St Helena Parish                                              Attn: Andre L Kydala                                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                            First Class Mail
Chartered Organization         St Helena Roman Catholic Church                               Greater New York Councils, Bsa 640                         1315 Olmstead Ave                                                Bronx, NY 10462‐4405                                                                                         First Class Mail
Voting Party                   St Helena School                                              Attn: Andre L Kydala                                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                         kydalalaw@aim.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Helenas Catholic Church                                    Conquistador Council Bsa 413                               100 E Bender Blvd                                                Hobbs, NM 88240‐2302                                                                                         First Class Mail
Chartered Organization         St Helenas Episcopal Church                                   Alamo Area Council 583                                     410 N Main St                                                    Boerne, TX 78006‐2040                                                                                        First Class Mail
Chartered Organization         St Helena'S Episcopal Church                                  Pathway To Adventure 456                                   7600 Wolf Rd                                                     Burr Ridge, IL 60527‐8041                                                                                    First Class Mail
Chartered Organization         St Helenas Roman Catholic Church                              Cradle of Liberty Council 525                              6100 N 5th St                                                    Philadelphia, PA 19120‐1423                                                                                  First Class Mail
Chartered Organization         St Helen'S Catholic Church                                    Grand Canyon Council 010                                   5510 W Cholla St                                                 Glendale, AZ 85304‐3322                                                                                      First Class Mail
Chartered Organization         St Helen'S Catholic Church                                    Bay Area Council 574                                       2209 Old Alvin Rd                                                Pearland, TX 77581‐4425                                                                                      First Class Mail
Chartered Organization         St Helens Lions Club                                          Cascade Pacific Council 492                                58350 Lindsay Ln                                                 Warren, OR 97053‐9300                                                                                        First Class Mail
Chartered Organization         St Helens Rc Church                                           Greater New York Councils, Bsa 640                         15710 83rd St                                                    Howard Beach, NY 11414‐2611                                                                                  First Class Mail
Chartered Organization         St Helens Roman Catholic Church                               Greater New York Councils, Bsa 640                         15710 83rd St                                                    Howard Beach, NY 11414‐2611                                                                                  First Class Mail
Chartered Organization         St Henry Catholic Church                                      Indian Nations Council 488                                 P.O. Box 181                                                     Owasso, OK 74055‐0181                                                                                        First Class Mail
Chartered Organization         St Henry Holy Name Society                                    Dan Beard Council, Bsa 438                                 3813 Dixie Hwy                                                   Elsmere, KY 41018‐1809                                                                                       First Class Mail
Chartered Organization         St Henrys                                                     Miami Valley Council, Bsa 444                              6696 Springboro Pike                                             Dayton, OH 45449‐3414                                                                                        First Class Mail
Chartered Organization         St Henrys Catholic Church                                     Middle Tennessee Council 560                               6401 Harding Pike                                                Nashville, TN 37205‐4011                                                                                     First Class Mail
Chartered Organization         St Henrys Congregation                                        Potawatomi Area Council 651                                412 N 4th St                                                     Watertown, WI 53094‐3867                                                                                     First Class Mail
Chartered Organization         St Henrys Parish                                              Mid Iowa Council 177                                       221 W Olive St                                                   Marshalltown, IA 50158‐4248                                                                                  First Class Mail
Chartered Organization         St Hilary Episcopal Church                                    Southwest Florida Council 088                              5011 Mcgregor Blvd                                               Fort Myers, FL 33901‐8840                                                                                    First Class Mail
Chartered Organization         St Hilarys Roman Catholic School                              Pathway To Adventure 456                                   5614 N Fairfield Ave                                             Chicago, IL 60659‐4817                                                                                       First Class Mail
Chartered Organization         St Hubert Catholic Church                                     Pathway To Adventure 456                                   729 Grand Canyon St                                              Hoffman Estates, IL 60169‐3226                                                                               First Class Mail
Chartered Organization         St Hugh Catholic School                                       South Florida Council 084                                  3460 Royal Rd                                                    Miami, FL 33133‐5813                                                                                         First Class Mail
Chartered Organization         St Hugo Of The Hills Catholic Church                          Great Lakes Fsc 272                                        2215 Opdyke Rd                                                   Bloomfield Hills, MI 48304‐2218                                                                              First Class Mail
Chartered Organization         St Hyacinth Basilica                                          Pathway To Adventure 456                                   3640 W Wolfram St                                                Chicago, IL 60618‐7318                                                                                       First Class Mail
Chartered Organization         St Hyacinth Catholic Church                                   Sam Houston Area Council 576                               2921 Center St                                                   Deer Park, TX 77536‐4942                                                                                     First Class Mail
Chartered Organization         St Ignatius Catholic Church                                   Mobile Area Council‐Bsa 004                                3704 Spring Hill Ave                                             Mobile, AL 36608‐5702                                                                                        First Class Mail
Chartered Organization         St Ignatius Catholic Church                                   Greater Tampa Bay Area 089                                 715 E Orange St                                                  Tarpon Springs, FL 34689‐4208                                                                                First Class Mail
Chartered Organization         St Ignatius Church                                            Northeastern Pennsylvania Council 501                      339 N Maple Ave                                                  Kingston, PA 18704‐3316                                                                                      First Class Mail
Chartered Organization         St Ignatius College Prepartory School                         Longhorn Council 662                                       8109 Shelton Dr                                                  Fort Worth, TX 76120‐5319                                                                                    First Class Mail
Chartered Organization         St Ignatius Lds Church                                        Montana Council 315                                        P.O. Box 166                                                     St Ignatius, MT 59865‐0166                                                                                   First Class Mail
Chartered Organization         St Ignatius Loyola                                            Hawk Mountain Council 528                                  2810 Saint Albans Dr                                             Sinking Spring, PA 19608‐1028                                                                                First Class Mail
Chartered Organization         St Ignatius Loyola Catholic Church                            Dan Beard Council, Bsa 438                                 5222 N Bend Rd                                                   Cincinnati, OH 45247‐8004                                                                                    First Class Mail
Chartered Organization         St Ignatius Loyola Catholic Church                            Sam Houston Area Council 576                               7810 Cypresswood Dr                                              Spring, TX 77379‐7101                                                                                        First Class Mail
Chartered Organization         St Ignatius Loyola Church                                     Hawk Mountain Council 528                                  2810 Saint Albans Dr                                             Sinking Spring, PA 19608‐1028                                                                                First Class Mail
Chartered Organization         St Ignatius Loyola Parish                                     Theodore Roosevelt Council 386                             129 Broadway                                                     Hicksville, NY 11801‐4234                                                                                    First Class Mail
Voting Party                   St Ignatius Loyola, Urbana, Roman Catholic Congregation Inc   c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                            218 N Charles St, Ste 400               Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Ignatius Martyr Catholic Church                            Capitol Area Council 564                                   2309 Euclid Ave                                                  Austin, TX 78704‐5515                                                                                        First Class Mail
Voting Party                   St Ignatius Martyr Catholic Church Austin TX                  c/o Bsa Coordinator                                        Attn: Chancellor                                                 6225 E US 290 Hwy Svrd Eb               Austin, TX 78723                  ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Ignatius Martyr Catholic Church Austin TX                  Attn: Rev John Doughtery                                   2309 Euclid Ave                                                  Austin, TX 78704                                                                                             First Class Mail
Chartered Organization         St Ignatius Of Loyola Catholic Church                         National Capital Area Council 082                          4103 Prices Distillery Rd                                        Ijamsville, MD 21754‐9524                                                                                    First Class Mail
Chartered Organization         St Ignatius Roman Catholic Church                             Baltimore Area Council 220                                 533 E Jarrettsville Rd                                           Forest Hill, MD 21050‐1603                                                                                   First Class Mail
Voting Party                   St Ignatius' Roman Catholic Congregation Inc                  c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                            218 N Charles St, Ste 400               Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Ignatius School                                            Evangeline Area 212                                        180 Church St                                                    Grand Coteau, LA 70541                                                                                       First Class Mail
Voting Party                   St Ignatius', Hickory, Roman Catholic Congregation Inc        Attn: Matthew W Oakey                                      218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                       moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Ignatius', Hickory, Roman Catholic Congregation Inc        c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                            218 N Charles St, Ste 400               Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Irenaeus Catholic Church                                   Orange County Council 039                                  5201 Evergreen Ave                                               Cypress, CA 90630‐2951                                                                                       First Class Mail
Chartered Organization         St Irene's Catholic Community Of Faith                        Three Fires Council 127                                    28W531 Warrenville Rd                                            Warrenville, IL 60555                                                                                        First Class Mail
Chartered Organization         St Isaac Jogues Catholic Church                               Garden State Council 690                                   3 Lord Pl                                                        Marlton, NJ 08053‐1960                                                                                       First Class Mail
Chartered Organization         St Isaac Jogues Catholic Church                               Central Florida Council 083                                4301 S Chickasaw Trl                                             Orlando, FL 32829‐8753                                                                                       First Class Mail
Chartered Organization         St Isaac Jogues Men'S Club                                    Great Lakes Fsc 272                                        21100 Madison St                                                 Saint Clair Shores, MI 48081‐3389                                                                            First Class Mail
Chartered Organization         St Isaac Jogues Roman Catholic Church                         Baltimore Area Council 220                                 9215 Old Harford Rd                                              Baltimore, MD 21234‐1709                                                                                     First Class Mail
Voting Party                   St Isaac Jogues Roman Catholic Congregation, Inc              Attn: Matthew W Oakey                                      218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                       moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Isaac Jogues Roman Catholic Congregation, Inc              c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                            218 N Charles St, Ste 400               Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Isaac Jogues School                                        Pathway To Adventure 456                                   306 W 4th St                                                     Hinsdale, IL 60521‐4028                                                                                      First Class Mail
Chartered Organization         St Isidore School                                             Mt Diablo‐Silverado Council 023                            4315 La Gonda Way                                                Danville, CA 94526                                                                                           First Class Mail
Chartered Organization         St Isidores Roman Catholic Church                             Washington Crossing Council 777                            531 W Broad St                                                   Quakertown, PA 18951‐1215                                                                                    First Class Mail
Chartered Organization         St Ita Roman Catholic Church                                  Pathway To Adventure 456                                   1220 W Catalpa Ave                                               Chicago, IL 60640‐1311                                                                                       First Class Mail
Chartered Organization         St Jacobs Church                                              Black Swamp Area Council 449                               P.O. Box 258                                                     Payne, OH 45880‐0258                                                                                         First Class Mail
Chartered Organization         St Jacobs Lutheran Church                                     Buckeye Council 436                                        1460 State St NE                                                 N Canton, OH 44721‐1046                                                                                      First Class Mail
Chartered Organization         St Jacobs Lutheran Church                                     New Birth of Freedom 544                                   P.O. Box 216                                                     York New Salem, PA 17371‐0216                                                                                First Class Mail
Chartered Organization         St Jacobs Utd Church Of Christ                                New Birth of Freedom 544                                   100 E George St                                                  York New Salem, PA 17371                                                                                     First Class Mail
Voting Party                   St James Academy                                              Attn: Charlotte Riggs                                      3100 Monkton Rd                                                  Monkton, MD 21111                                                         criggs@saintjamesacademy.org       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St James African Methodist Episcopal                          French Creek Council 532                                   236 E 11th St                                                    Erie, PA 16503‐1010                                                                                          First Class Mail
Voting Party                   St James Basking Ridge Parish                                 Attn: Andre L Kydala                                       54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                            First Class Mail
Voting Party                   St James Boonsboro, Roman Catholic Congregation, Inc          Attn: Matthew W Oakey                                      218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                       moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St James Catholic Church                                      Lincoln Heritage Council 205                               307 W Dixie Ave                                                  Elizabethtown, KY 42701‐1701                                                                                 First Class Mail
Chartered Organization         St James Catholic Church                                      National Capital Area Council 082                          905 Park Ave                                                     Falls Church, VA 22046‐3104                                                                                  First Class Mail
Chartered Organization         St James Catholic Church                                      Heart of America Council 307                               309 S Stewart Rd                                                 Liberty, MO 64068‐9599                                                                                       First Class Mail
Chartered Organization         St James Catholic Church                                      Pennsylvania Dutch Council 524                             505 Woodcrest Ave                                                Lititz, PA 17543‐8461                                                                                        First Class Mail
Chartered Organization         St James Catholic Church                                      Water and Woods Council 782                                1010 S Lansing St                                                Mason, MI 48854‐1920                                                                                         First Class Mail
Chartered Organization         St James Catholic Church                                      Flint River Council 095                                    1000 Hwy 155 N                                                   Mcdonough, GA 30252‐5592                                                                                     First Class Mail
Chartered Organization         St James Catholic Church                                      Flint River Council 095                                    1000 Hwy 155 N                                                   Mcdonough, GA 30252‐5592                                                                                     First Class Mail
Chartered Organization         St James Catholic Church                                      Cascade Pacific Council 492                                1145 NE 1st St                                                   Mcminnville, OR 97128‐6064                                                                                   First Class Mail
Chartered Organization         St James Catholic Church                                      Greater St Louis Area Council 312                          405 W Madison St                                                 Millstadt, IL 62260‐1425                                                                                     First Class Mail
Chartered Organization         St James Catholic Church                                      Trapper Trails 589                                         495 N Harrison Blvd                                              Ogden, UT 84404‐4100                                                                                         First Class Mail
Chartered Organization         St James Catholic Church                                      Pathway To Adventure 456                                   22412 Torrence Ave                                               Sauk Village, IL 60411                                                                                       First Class Mail
Chartered Organization         St James Catholic Church                                      Alamo Area Council 583                                     510 S Camp St                                                    Seguin, TX 78155‐6411                                                                                        First Class Mail
Chartered Organization         St James Catholic Church                                      San Diego Imperial Council 049                             625 S Nardo Ave                                                  Solana Beach, CA 92075‐2307                                                                                  First Class Mail
Chartered Organization         St James Catholic Church                                      Sam Houston Area Council 576                               22800 Aldine Westfield Rd                                        Spring, TX 77373‐6565                                                                                        First Class Mail
Chartered Organization         St James Catholic Church                                      Yocona Area Council 748                                    845 Lakeshire Dr                                                 Tupelo, MS 38804‐1117                                                                                        First Class Mail
Chartered Organization         St James Catholic Parents For Scouting                        Pony Express Council 311                                   5814 King Hill Ave                                               Saint Joseph, MO 64504‐1511                                                                                  First Class Mail
Chartered Organization         St James Catholic Parish                                      Potawatomi Area Council 651                                830 County Rd Nn E                                               Mukwonago, WI 53149‐1014                                                                                     First Class Mail
Chartered Organization         St James Catholic School                                      Last Frontier Council 480                                  1224 SW 41st St                                                  Oklahoma City, OK 73109‐3124                                                                                 First Class Mail
Chartered Organization         St James Christian Methodist Episcopal                        Pine Burr Area Council 304                                 705 Country Club Rd                                              Hattiesburg, MS 39401‐7629                                                                                   First Class Mail
Chartered Organization         St James Church                                               Hudson Valley Council 374                                  P.O. Box 300                                                     Hyde Park, NY 12538‐0300                                                                                     First Class Mail
Chartered Organization         St James Church                                               Lincoln Heritage Council 205                               3535 Taylor Blvd                                                 Louisville, KY 40215‐2642                                                                                    First Class Mail
Chartered Organization         St James Cme                                                  Water and Woods Council 782                                P.O. Box 416                                                     Flint, MI 48501‐0416                                                                                         First Class Mail
Chartered Organization         St James Epiocopal Church                                     Andrew Jackson Council 303                                 3921 Oakridge Dr                                                 Jackson, MS 39216‐3412                                                                                       First Class Mail
Chartered Organization         St James Episcopal                                            National Capital Area Council 082                          73 Culpeper St                                                   Warrenton, VA 20186‐3321                                                                                     First Class Mail
Chartered Organization         St James Episcopal Church                                     Tukabatchee Area Council 005                               347 S Central Ave                                                Alexander City, AL 35010‐2579                                                                                First Class Mail
Chartered Organization         St James Episcopal Church                                     Istrouma Area Council 211                                  208 N 4th St                                                     Baton Rouge, LA 70801‐1403                                                                                   First Class Mail
Chartered Organization         St James Episcopal Church                                     Daniel Boone Council 414                                   424 W State St                                                   Black Mountain, NC 28711‐3345                                                                                First Class Mail
Chartered Organization         St James Episcopal Church                                     Sam Houston Area Council 576                               1803 Highland Hollow Dr                                          Conroe, TX 77304‐4092                                                                                        First Class Mail
Chartered Organization         St James Episcopal Church                                     Middle Tennessee Council 560                               205 Church St                                                    Dickson, TN 37055‐1303                                                                                       First Class Mail
Chartered Organization         St James Episcopal Church                                     Hudson Valley Council 374                                  1 Saint James Pl                                                 Goshen, NY 10924‐2013                                                                                        First Class Mail
Chartered Organization         St James Episcopal Church                                     Daniel Boone Council 414                                   766 N Main St                                                    Hendersonville, NC 28792‐5078                                                                                First Class Mail
Chartered Organization         St James Episcopal Church                                     Chief Seattle Council 609                                  24447 94th Ave S                                                 Kent, WA 98030‐4746                                                                                          First Class Mail
Chartered Organization         St James Episcopal Church                                     Greater Los Angeles Area 033                               3903 Wilshire Blvd                                               Los Angeles, CA 90010‐3301                                                                                   First Class Mail
Chartered Organization         St James Episcopal Church                                     Five Rivers Council, Inc 375                               30 E Wellsboro St                                                Mansfield, PA 16933‐1121                                                                                     First Class Mail
Chartered Organization         St James Episcopal Church                                     National Capital Area Council 082                          11815 Seven Locks Rd                                             Potomac, MD 20854‐3340                                                                                       First Class Mail
Chartered Organization         St James Episcopal Church                                     Heart of Virginia Council 602                              1205 W Franklin St                                               Richmond, VA 23220‐3711                                                                                      First Class Mail
Chartered Organization         St James Episcopal Church                                     Northern New Jersey Council, Bsa 333                       514 Abbott Ave                                                   Ridgefield, NJ 07657‐2413                                                                                    First Class Mail
Chartered Organization         St James Episcopal Church                                     Northern New Jersey Council, Bsa 333                       Abbott Ave                                                       Ridgefield, NJ 07675                                                                                         First Class Mail
Chartered Organization         St James Episcopal Church                                     Grand Canyon Council 010                                   975 E Warner Rd                                                  Tempe, AZ 85284‐3232                                                                                         First Class Mail
Chartered Organization         St James Episcopal Church                                     Northern New Jersey Council, Bsa 333                       581 Valley Rd                                                    Upper Montclair, NJ 07043‐1826                                                                               First Class Mail
Voting Party                   St James Episcopal Church                                     P.O. Box 249                                               Clovis, NM 88102                                                                                                                           stjamesrector@plateautel.net       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St James Episcopal Church                                     8407 Broadway                                              Elmhurst, NY 11373                                                                                                                         stjameselmhurst@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St James Episcopal Church                                     32 Main St                                                 Westernport, MD 26710                                                                                                                      stjames.westernport@mail.com       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St James Episcopal Church                                     305 Main St                                                Oneonta, NY 13820                                                                                                                          Sjrector@stny.rr.com               Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St James Episcopal Church                                     P.O. Box 1126                                              Del Rio, TX 78841                                                                                                                          salrocdelrio@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                      Page 351 of 442
                                                                                     Case 20-10343-LSS                                                                 Doc 8171                                      Filed 01/06/22                                                      Page 367 of 457
                                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                                         Service List
                                                                                                                                                                                                  Served as set forth below

        Description                                                          Name                                                                                                                     Address                                                                                                              Email               Method of Service
Voting Party                   St James Episcopal Church                                                   1941 Webberville Rd                                   Austin, TX 78721                                                                                                                  rector@stjamesaustin.org         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church                                                   Attn: Bonnie Morris                                   405 E Main St                                              Batavia, NY 14020                                                      rector.stjames@outlook.com       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church                                                   514 14th St                                           Paso Robles, CA 93446                                                                                                             office@stjamespasorobles.com     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church                                                   5614 Old Mill Rd                                      Alexandria, VA 22309                                                                                                              office@stjamesmv.org             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church                                                   Attn: Rev John Coleman                                100 St James Pl                                            Eufaula, AL 36027                                                      johnccoleman@mac.com             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church                                                   Attn: James E Blaisel                                 14216 Nys 9N                                               Au Sable Forks, NY 12912                                                                                First Class Mail
Chartered Organization         St James' Episcopal Church                                                  Cradle of Liberty Council 525                         3768 Germantown Pike                                       Collegeville, PA 19426‐3151                                                                             First Class Mail
Chartered Organization         St James' Episcopal Church                                                  San Francisco Bay Area Council 028                    37051 Cabrillo Dr                                          Fremont, CA 94536‐5721                                                                                  First Class Mail
Voting Party                   St James' Episcopal Church                                                  3129 Southmore Blvd                                   Houston, TX 77004                                                                                                                 staff@stjameshouston.org         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James' Episcopal Church                                                  Attn: Rev John Coleman                                100 St James Pl                                            Eufaula, AL 36027                                                      sremington@clarkpartington.com   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James' Episcopal Church                                                  1307 N Main St                                        Mount Airy, MD 21771                                                                                                              rector@stjamesmtairy.org         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James' Episcopal Church                                                  Attn: The Rev Paul K Anderson                         302 West Ave                                               P.O. Box 85                        Cedartown, GA 30125                 FatherKemper@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church (Woonsocket)                                      c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                      159 Main St                        Nashua, NH 03060                    peter@thetamposilawgroup.com     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James' Episcopal Church In San Francisco, California                     Attn: John Kirkley                                    4620 California St                                         San Francisco, CA 94118                                                john@stjamessf.org               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James' Episcopal Church In San Francisco, California                     c/o Borowsky & Hayes LLP                              Attn: Christopher Hayes                                    101 Mission St, Ste 1640           San Francisco, CA 94105             christopher.hayes@borowsky.com   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church Jackson                                           Attn: Marcus M Wilson                                 190 E Capitol St, Ste 650                                  Jackson, MS 39201                                                      mwilson@blswlaw.com              Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church Jackson                                           Attn: Leigh Grady                                     3921 Oak Ridge Dr                                          Jackson, MS 39216                                                      grafam1487@aol.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church Of Baton Rouge, Louisiana                         St James Episcopal Church of Baton Rouge, Louisiana   205 N 4th St                                               Baton Rouge, LA 70801                                                  cduncan@stjamesbr.org            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church Of Baton Rouge, Louisiana                         205 N 4th St                                          Baton Rouge, LA 70801                                                                                                             cduncan@stjamesbr.org            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church Painesville Ohio                                  Attn: Vanessa Clark                                   131 N State St                                             Painesville, OH 44077                                                  rector@stjamesoh.org             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church Potomac MD                                        Attn: Rector                                          11815 Seven Locks Rd                                       Potomac, MD 20854                                                      office@stjameespotomac.org       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church, Bedford, PA                                      c/o St James Episcopal Church                         309 S Richard St                                           Bedford, PA 15522                                                      jeffbassette@outlook.com         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James' Episcopal Church, Greenville, Mississippi                         Attn: Marcus M Wilson                                 190 E Capitol St, Ste 650                                  Jackson, MS 39201                                                      mwilson@blswlaw.com              Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James' Episcopal Church, Greenville, Mississippi                         Attn: Brad Jones                                      1026 S Washington Ave                                      Greenville, MS 38701                                                   brj@wlburle.com                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Episcopal Church, Painesville Ohio                                 131 N State St                                        Painesville, OH 44077                                                                                                             rector@stjamesoh.org             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St James Episcopal Parish                                                   Baltimore Area Council 220                            5757 Solomons Island Rd                                    Lothian, MD 20711                                                                                       First Class Mail
Chartered Organization         St James Episcopal Parish                                                   Baltimore Area Council 220                            5757 Solomons Island Rd                                    Lothian, MD 20711‐9707                                                                                  First Class Mail
Voting Party                   St James Episcopal School                                                   602 Carancahua St                                     Corpus Christi, TX 78401                                                                                                          galenhoffstadt@sjes.org          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St James Evangelical Lutheran Church                                        Erie Shores Council 460                               165 Timmons Rd                                             Bradner, OH 43406‐9728                                                                                  First Class Mail
Chartered Organization         St James Evangelical Lutheran Church                                        Indian Waters Council 553                             1358 S Lake Dr                                             Lexington, SC 29073‐8353                                                                                First Class Mail
Voting Party                   St James Evangelical Lutheran Church Of Johnston, Iowa                      5665 Merle Hay Rd                                     Johnston, IA 50131                                                                                                                pastor@stjamesjohnston.org       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Evangelical Lutheran Church Of Johnston, Iowa                      c/o Davis Brown Law Firm                              Attn: Julie Johnson Mclean                                 215 10th St, Ste 1300              Des Moines, IA 50309                juliemclean@davisbrownlaw.com    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St James Lutheran Church                                                    Northern Star Council 250                             3650 Williams Dr                                           Burnsville, MN 55337‐1765                                                                               First Class Mail
Chartered Organization         St James Lutheran Church                                                    Northern Star Council 250                             3650 Williams Dr                                           Burnsville, MN 55337‐1765                                                                               First Class Mail
Chartered Organization         St James Lutheran Church                                                    Simon Kenton Council 441                              5660 Trabue Rd                                             Columbus, OH 43228‐9500                                                                                 First Class Mail
Chartered Organization         St James Lutheran Church                                                    Central N Carolina Council 416                        104 Union St S                                             Concord, NC 28025‐5012                                                                                  First Class Mail
Chartered Organization         St James Lutheran Church                                                    Central N Carolina Council 416                        P.O. Box 684                                               Concord, NC 28026‐0684                                                                                  First Class Mail
Chartered Organization         St James Lutheran Church                                                    Occoneechee 421                                       1424 Morganton Rd                                          Fayetteville, NC 28305‐4734                                                                             First Class Mail
Chartered Organization         St James Lutheran Church                                                    New Birth of Freedom 544                              P.O. Box 4596                                              Gettysburg, PA 17325‐4596                                                                               First Class Mail
Chartered Organization         St James Lutheran Church                                                    New Birth of Freedom 544                              126 E Market St                                            Hallam, PA 17406‐1104                                                                                   First Class Mail
Chartered Organization         St James Lutheran Church                                                    Jersey Shore Council 341                              1341 Mays Landing Rd                                       Hammonton, NJ 08037‐9135                                                                                First Class Mail
Chartered Organization         St James Lutheran Church                                                    San Diego Imperial Council 049                        866 Imperial Beach Blvd                                    Imperial Beach, CA 91932‐2703                                                                           First Class Mail
Chartered Organization         St James Lutheran Church                                                    San Diego Imperial Council 049                        866 Imperial Beach Blvd                                    Imperial Beach, CA 91932‐2703                                                                           First Class Mail
Chartered Organization         St James Lutheran Church                                                    Mid Iowa Council 177                                  5665 Merle Hay Rd                                          Johnston, IA 50131‐1214                                                                                 First Class Mail
Chartered Organization         St James Lutheran Church                                                    Cradle of Liberty Council 525                         93 Kugler Rd                                               Limerick, PA 19468‐1411                                                                                 First Class Mail
Chartered Organization         St James Lutheran Church                                                    Susquehanna Council 533                               P.O. Box 577                                               Pennsdale, PA 17756‐0577                                                                                First Class Mail
Chartered Organization         St James Lutheran Church                                                    Mississippi Valley Council 141 141                    17th & Jefferson                                           Quincy, IL 62301                                                                                        First Class Mail
Chartered Organization         St James Lutheran Church                                                    Suffolk County Council Inc 404                        230 2nd Ave                                                Saint James, NY 11780‐2606                                                                              First Class Mail
Chartered Organization         St James Lutheran Church                                                    Columbia‐Montour 504                                  827 E County Rd                                            Wapwallopen, PA 18660‐1521                                                                              First Class Mail
Voting Party                   St James Lutheran Church                                                    Attn: David Morris                                    1213 US Hwy 22                                             Phillipsburg, NJ 08865                                                 dhmcsm22@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Lutheran Church                                                    6851 Old Ridge Rd                                     Fairview, PA 16415                                                                                                                                                 First Class Mail
Voting Party                   St James Lutheran Church Of Jamestown North Dakota                          Attn: Rev Erik S Weber                                424 1st Ave S                                              Jamestown, ND 58401                                                    stjohns@stjohnslutheran.org      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St James Lutheran School                                                    Pathway To Adventure 456                              2101 N Fremont St                                          Chicago, IL 60614‐4305                                                                                  First Class Mail
Voting Party                   St James Luthern Church                                                     2040 Oakwood Ave Ne                                   Grand Rapids, MI 49505                                                                                                            dale.m.rosema@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Methodist Church                                                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St James Parish                                                             Samoset Council, Bsa 627                              P.O. Box 280                                               Amherst, WI 54406‐0280                                                                                  First Class Mail
Chartered Organization         St James Parish                                                             Potawatomi Area Council 651                           W220N6588 Town Line Rd                                     Menomonee Falls, WI 53051                                                                               First Class Mail
Voting Party                   St James' Parish                                                            Attn: John F Keydel Jr                                5757 Solomons Island Rd                                    Lothian, MD 20711                                                      jkeydel@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St James Parish Women's Club                                                Pathway To Adventure 456                              841 N Arlington Heights Rd                                 Arlington Heights, IL 60004                                                                             First Class Mail
Chartered Organization         St James Parish Women's Club                                                Pathway To Adventure 456                              820 N Arlington Heights Rd                                 Arlington Heights, IL 60004‐5666                                                                        First Class Mail
Chartered Organization         St James Presbyterian Church                                                Mount Baker Council, Bsa 606                          910 14th St                                                Bellingham, WA 98225‐6306                                                                               First Class Mail
Chartered Organization         St James Presbyterian Church                                                Indian Nations Council 488                            11970 S Elm St                                             Jenks, OK 74037‐2049                                                                                    First Class Mail
Chartered Organization         St James Presbyterian Church                                                New Birth of Freedom 544                              1425 Orrs Bridge Rd                                        Mechanicsburg, PA 17050‐2148                                                                            First Class Mail
Chartered Organization         St James Presbyterian Church                                                Great Lakes Fsc 272                                   25350 W 6 Mile Rd                                          Redford, MI 48240‐2105                                                                                  First Class Mail
Chartered Organization         St James Rc Church                                                          Theodore Roosevelt Council 386                        80 Hicksville Rd                                           Seaford, NY 11783‐1008                                                                                  First Class Mail
Chartered Organization         St James Rc Church                                                          Connecticut Yankee Council Bsa 072                    2110 Main St                                               Stratford, CT 06615‐6330                                                                                First Class Mail
Chartered Organization         St James Roman Catholic Church                                              Dan Beard Council, Bsa 438                            3565 Hubble Rd                                             Cincinnati, OH 45247‐6001                                                                               First Class Mail
Chartered Organization         St James Roman Catholic Church                                              French Creek Council 532                              2635 Buffalo Rd                                            Erie, PA 16510‐1421                                                                                     First Class Mail
Chartered Organization         St James Roman Catholic Church                                              Lake Erie Council 440                                 174000 Nwood Ave                                           Lakewood, OH 44107                                                                                      First Class Mail
Chartered Organization         St James Roman Catholic Church                                              Narragansett 546                                      33 Div St                                                  Manville, RI 02838‐1321                                                                                 First Class Mail
Chartered Organization         St James Roman Catholic Church                                              Greater Los Angeles Area 033                          124 N Pacific Coast Hwy                                    Redondo Beach, CA 90277‐3148                                                                            First Class Mail
Chartered Organization         St James Roman Catholic Church                                              Patriots Path Council 358                             45 S Springfield Ave                                       Springfield, NJ 07081‐2301                                                                              First Class Mail
Voting Party                   St James Roman Catholic Church                                              c/o Roman Catholic Archdiocese of Los Angeles         Attn: Margaret Graf                                        3424 Wilshire Blvd                 Los Angeles, CA 90010               legal@la‐archdiocese.org         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James School                                                             Attn: Andre L Kydala                                  54 Old Hwy 22                                              Clinton, NJ 08809                                                                                       First Class Mail
Chartered Organization         St James Seton School                                                       Mid‐America Council 326                               4720 N 90th St                                             Omaha, NE 68134‐2733                                                                                    First Class Mail
Chartered Organization         St James Sports Club                                                        Ozark Trails Council 306                              1300 Sports Club Dr                                        Saint James, MO 65559                                                                                   First Class Mail
Chartered Organization         St James The Apostle                                                        Westchester Putnam 388                                12 Gleneida Ave                                            Carmel, NY 10512‐1701                                                                                   First Class Mail
Chartered Organization         St James The Apostle Catholic Church                                        Three Fires Council 127                               480 S Park Blvd                                            Glen Ellyn, IL 60137‐6864                                                                               First Class Mail
Chartered Organization         St James The Apostle Catholic School                                        Alamo Area Council 583                                907 W Theo Ave                                             San Antonio, TX 78225‐1767                                                                              First Class Mail
Voting Party                   St James The Apostle Episcopal Church                                       Attn: Jerald W Hyche                                  1803 Highland Hollow Dr                                    Conroe, TX 77304                                                       jhyche@stjames‐conroe.org        Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St James The Great Catholic Church                                          Central N Carolina Council 416                        139 Manor Ave Sw                                           Concord, NC 28025‐5742                                                                                  First Class Mail
Chartered Organization         St James The Greater Catholic Church                                        Chippewa Valley Council 637                           2502 11th St                                               Eau Claire, WI 54703‐3742                                                                               First Class Mail
Chartered Organization         St James The Less Catholic Church                                           Simon Kenton Council 441                              1652 Oakland Park Ave                                      Columbus, OH 43224‐3552                                                                                 First Class Mail
Chartered Organization         St James The Less Catholic Church                                           Verdugo Hills Council 058                             4625 Dunsmore Ave                                          La Crescenta, CA 91214‐1812                                                                             First Class Mail
Chartered Organization         St James The Less Catholic Church                                           Verdugo Hills Council 058                             4651 Dunsmore Ave                                          La Crescenta, CA 91214‐1812                                                                             First Class Mail
Voting Party                   St James The Less Catholic Church                                           c/o Roman Catholic Archdiocese of Los Angeles         Attn: Margaret Graf                                        3424 Wilshire Blvd                 Los Angeles, CA 90010               legal@la‐archdiocese.org         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James The Less Parish                                                    Attn: Andre L Kydala                                  54 Old Hwy 22                                              Clinton, NJ 08809                                                                                       First Class Mail
Chartered Organization         St James Umc                                                                Northeast Georgia Council 101                         900 Mize Rd                                                Toccoa, GA 30577‐5853                                                                                   First Class Mail
Voting Party                   St James Umc                                                                c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James Umc 900 Mize St Toccoa, GA 30577                                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James United Methodist Church                                            Attn: Robert James Griesbach                          12470 Old Frederick Rd                                     Marriotsville, MD 21104                                                stjamessec@verizon.net           Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James United Methodist Church                                            11 St James Pl                                        Lynbrook, NY 11563                                                                                                                jamesumc@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James United Methodist Church                                            Attn: Robbie Cox, Treasurer                           P.O. Box 7483                                              Shreveport, LA 71137                                                   hills.family.4306@hotmail.com    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James United Methodist Church                                            c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James United Methodist Church                                            400 Reid St                                           Palaka, FL 32177                                                                                                                                                   First Class Mail
Voting Party                   St James United Methodist Church ‐ Atlanta                                  c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James United Methodist Church ‐ Tulsa, Oklahoma                          Attn: Treasurer, St James Umc                         5050 E 111th St                                            Tulsa, OK 74137                                                        dahargrove4230@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James United Methodist Church Atlanta 4400 Peachtree Dunwood             c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James United Methodist Church Of Darlington, Sc                          Attn: Latonya M Dash                                  312 Pearl St                                               Darlington, SC 29540                                                   lmdash@umcsc.org                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James United Methodist Church Of Darlington, Sc                          Attn: Gregory J Mingo                                 2520 Holly Cir                                             Darlington, SC 29532                                                   gmingo@sc.rr.com                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James United Methodist Church, 1501 Franklin St Bellevue                 c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St James Utd Church Of Christ                                               Cradle of Liberty Council 525                         321 S Limerick Rd                                          Limerick, PA 19468‐1607                                                                                 First Class Mail
Chartered Organization         St James Utd Methodist                                                      Coastal Carolina Council 550                          512 Saint James Ave                                        Goose Creek, SC 29445‐2793                                                                              First Class Mail
Chartered Organization         St James Utd Methodist Ch Bowling Green                                     Lincoln Heritage Council 205                          575 Winfield Dr                                            Bowling Green, KY 42103‐1463                                                                            First Class Mail
Chartered Organization         St James Utd Methodist Ch Little Rock                                       Quapaw Area Council 018                               321 Pleasant Valley Dr                                     Little Rock, AR 72212‐3157                                                                              First Class Mail
Chartered Organization         St James Utd Methodist Church                                               Atlanta Area Council 092                              3000 Webb Bridge Rd                                        Alpharetta, GA 30009‐3744                                                                               First Class Mail
Chartered Organization         St James Utd Methodist Church                                               Bay‐Lakes Council 635                                 100 W Capitol Dr                                           Appleton, WI 54911‐1021                                                                                 First Class Mail
Chartered Organization         St James Utd Methodist Church                                               Atlanta Area Council 092                              4400 Peachtree Dunwoody Rd NE                              Atlanta, GA 30342‐3531                                                                                  First Class Mail
Chartered Organization         St James Utd Methodist Church                                               Pee Dee Area Council 552                              312 Pearl St                                               Darlington, SC 29532‐3813                                                                               First Class Mail
Chartered Organization         St James Utd Methodist Church                                               Rip Van Winkle Council 405                            35 Pearl St                                                Kingston, NY 12401‐4521                                                                                 First Class Mail
Chartered Organization         St James Utd Methodist Church                                               Theodore Roosevelt Council 386                        Saint James Pl & Forest Ave                                Lynbrook, NY 11563                                                                                      First Class Mail
Chartered Organization         St James Utd Methodist Church                                               Miami Valley Council, Bsa 444                         401 Carlwood Dr                                            Miamisburg, OH 45342‐3514                                                                               First Class Mail
Chartered Organization         St James Utd Methodist Church                                               North Florida Council 087                             400 Reid St                                                Palatka, FL 32177‐3734                                                                                  First Class Mail
Chartered Organization         St James Utd Methodist Church                                               Southwest Florida Council 088                         2049 N Honore Ave, Ste A                                   Sarasota, FL 34235‐9138                                                                                 First Class Mail
Chartered Organization         St James Utd Methodist Church                                               Greater Tampa Bay Area 089                            16202 Bruce B Downs Blvd                                   Tampa, FL 33647‐3219                                                                                    First Class Mail
Chartered Organization         St James Utd Methodist Church                                               Northeast Georgia Council 101                         900 Mize Rd                                                Toccoa, GA 30577‐5853                                                                                   First Class Mail
Chartered Organization         St James Utd Methodist Mens                                                 Mid‐America Council 326                               1501 Franklin St                                           Bellevue, NE 68005‐3422                                                                                 First Class Mail
Voting Party                   St James Woodbridge Parish                                                  Attn: Andre L Kydala                                  54 Old Hwy 22                                              Clinton, NJ 08809                                                                                       First Class Mail
Voting Party                   St James, Boonsboro, Roman Catholic Congregation Inc                        c/o Gallagher Evelius & Jones LLP                     Attn: Matthew W Oakey                                      218 N Charles St, Ste 400          Baltimore, MD 21201                 moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James's Episcopal Church                                                 Attn: Robert C T Reed                                 1809 Staples Mill Rd                                       Richmond, VA 23230                                                     Robert.Reed@AllenandAllen.com    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James's Episcopal Church                                                 c/o Thompson Mcmullan Pc                              Attn: William D Prince IV, Esq                             100 Shockoe Slip                   Richmond, VA 23219                  Robert.Reed@AllenandAllen.com    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St James's Episcopal Church                                                 Attn: John F Mccard                                   1205 W Franklin St                                         Richmond, VA 23220                                                     jfmccard@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Jane De Chantal Holy Name Society                                        Pathway To Adventure 456                              5252 S Austin Ave                                          Chicago, IL 60638‐1421                                                                                  First Class Mail
Chartered Organization         St Jane Frances Catholic Church                                             Baltimore Area Council 220                            8499 Virginia Ave                                          Pasadena, MD 21122‐3010                                                                                 First Class Mail
Chartered Organization         St Jane Frances De Chantal Church                                           National Capital Area Council 082                     9701 Old Georgetown Rd                                     Bethesda, MD 20814‐1727                                                                                 First Class Mail
Voting Party                   St Jane Frances De Chantal, Rivera Beach, Roman Catholic Congregation Inc   c/o Gallagher Evelius & Jones LLP                     Attn: Matthew W Oakey                                      218 N Charles St, Ste 400          Baltimore, MD 21201                 moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Jane Frances Dechantal Church                                            Minsi Trails Council 502                              4049 Hartley Ave                                           Easton, PA 18045‐3790                                                                                   First Class Mail
Voting Party                   St Jane Francis De Chantal, Rivera Beach, Roman Catholic Co                 Attn: Matthew W Oakey                                 218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                    moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Jean Vianney Catholic Church                                             Istrouma Area Council 211                             16166 S Harrells Ferry Rd                                  Baton Rouge, LA 70816‐3101                                                                              First Class Mail
Chartered Organization         St Jeanne De Lestonnac School                                               California Inland Empire Council 045                  32650 Avenida Lestonnac                                    Temecula, CA 92592‐9222                                                                                 First Class Mail
Chartered Organization         St Jeanne De Lestonnac School                                               Orange County Council 039                             16791 E Main St                                            Tustin, CA 92780‐4034                                                                                   First Class Mail
Chartered Organization         St Jerome Catholic Church                                                   South Florida Council 084                             2533 SW 9th Ave                                            Ft Lauderdale, FL 33315‐2601                                                                            First Class Mail
Chartered Organization         St Jerome Catholic Church                                                   Sam Houston Area Council 576                          8825 Kempwood Dr                                           Houston, TX 77080‐4101                                                                                  First Class Mail
Chartered Organization         St Jerome Catholic Church                                                   Longhorn Council 662                                  9820 Chapel Rd                                             Waco, TX 76712‐8141                                                                                     First Class Mail
Voting Party                   St Jerome Catholic Church                                                   Attn: Rev James Ekeocha                               6225 E US 290 Hwy Svrd Eb                                  Austin, TX 78723                                                       ron‐walker@austindiocese.org     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Jerome Catholic Church                                                   Attn: Rev James Ekeocha                               9820 Chapel Rd                                             Waco, TX 76712                                                                                          First Class Mail
Chartered Organization         St Jeromes Catholic Church                                                  National Capital Area Council 082                     5205 43rd Ave                                              Hyattsville, MD 20781‐2001                                                                              First Class Mail
Chartered Organization         St Jerome'S Catholic Church                                                 Grand Canyon Council 010                              10815 N 35th Ave                                           Phoenix, AZ 85029‐4258                                                                                  First Class Mail
Chartered Organization         St Jerome'S Catholic Church                                                 Alamo Area Council 583                                7955 Real Rd                                               San Antonio, TX 78263‐3003                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                         Page 352 of 442
                                                                                 Case 20-10343-LSS                                                  Doc 8171                                            Filed 01/06/22                                                     Page 368 of 457
                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                            Service List
                                                                                                                                                                                     Served as set forth below

        Description                                                       Name                                                                                                           Address                                                                                                                Email              Method of Service
Chartered Organization         St Jeromes Church                                              Mayflower Council 251                           632 Bridge St                                                    Weymouth, MA 02191‐1845                                                                                  First Class Mail
Chartered Organization         St Jeromes Roman Catholic                                      National Capital Area Council 082               5205 43rd Ave                                                    Hyattsville, MD 20781‐2001                                                                               First Class Mail
Chartered Organization         St Joan Of Arc                                                 Great Lakes Fsc 272                             22412 Overlake St                                                Saint Clair Shores, MI 48080‐2405                                                                        First Class Mail
Chartered Organization         St Joan Of Arc Catholic Church                                 Buckeye Council 436                             4940 Tuscarawas St W                                             Canton, OH 44708‐5012                                                                                    First Class Mail
Chartered Organization         St Joan Of Arc Catholic Church                                 Crossroads of America 160                       4217 Central Ave                                                 Indianapolis, IN 46205‐1803                                                                              First Class Mail
Chartered Organization         St Joan Of Arc Catholic Church                                 Sagamore Council 162                            3155 S 200 W                                                     Kokomo, IN 46902‐9611                                                                                    First Class Mail
Chartered Organization         St Joan Of Arc Catholic Church                                 Three Fires Council 127                         820 Div St                                                       Lisle, IL 60532‐2248                                                                                     First Class Mail
Chartered Organization         St Joan Of Arc Catholic Church                                 Garden State Council 690                        100 Willow Bend Rd                                               Marlton, NJ 08053                                                                                        First Class Mail
Chartered Organization         St Joan Of Arc Catholic Church                                 Colonial Virginia Council 595                   315 Harris Grove Ln                                              Yorktown, VA 23692‐4014                                                                                  First Class Mail
Voting Party                   St Joan Of Arc Catholic Church Kokomo IN 46902                 Attn: Matt Mckillip                             610 Lingle Ave                                                   P.O. Box 260                        Lafayette, IN 47902               mmckillip@dol‐in.org               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Joan Of Arc Catholic Congregation Inc                       c/o Gallagher Evelius & Jones LLP               Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St Joan Of Arc Catholic School                                 Gulf Stream Council 085                         501 SW 3rd Ave                                                   Boca Raton, FL 33432‐5923                                                                                First Class Mail
Chartered Organization         St Joan Of Arc Church                                          Lake Erie Council 440                           496 E Washington St                                              Chagrin Falls, OH 44022‐2959                                                                             First Class Mail
Chartered Organization         St Joan Of Arc Church                                          Westmoreland Fayette 512                        3423 National Pike                                               Farmington, PA 15437‐1210                                                                                First Class Mail
Chartered Organization         St Joan Of Arc Church                                          New Birth of Freedom 544                        359 W Areba Ave                                                  Hershey, PA 17033‐1602                                                                                   First Class Mail
Chartered Organization         St Joan Of Arc Holy Name Society                               Greater St Louis Area Council 312               5800 Oleatha Ave                                                 Saint Louis, MO 63139‐1923                                                                               First Class Mail
Chartered Organization         St Joan Of Arc R C C                                           Narragansett 546                                3357 Mendon Rd                                                   Cumberland, RI 02864‐2112                                                                                First Class Mail
Chartered Organization         St Joan Of Arc Roman Catholic Church                           Denver Area Council 061                         12735 W 58th Ave                                                 Arvada, CO 80002‐1107                                                                                    First Class Mail
Chartered Organization         St Joan Of Arc Roman Catholic Church                           California Inland Empire Council 045            15512 6th St                                                     Victorville, CA 92395‐3200                                                                               First Class Mail
Voting Party                   St Joan Of Arc Roman Catholic Church Laplace Louisiana         Attn: Susan Zeringue                            7887 Walmsley Ave                                                New Orleans, LA 70125                                                 szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Joan Of Arc Roman Catholic Congregation Inc                 Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St Joan Of Arc School                                          Potawatomi Area Council 651                     120 Nashotah Rd                                                  Nashotah, WI 53058‐9504                                                                                  First Class Mail
Chartered Organization         St Joan Of Arc School                                          Erie Shores Council 460                         5950 Heatherdowns Blvd                                           Toledo, OH 43614‐4505                                                                                    First Class Mail
Chartered Organization         St John Ame Church                                             Greater St Louis Area Council 312               1908 N Kingshighway Blvd                                         Saint Louis, MO 63113‐1124                                                                               First Class Mail
Voting Party                   St John American Lutheran Church                               1912 W 13th St                                  Sioux Falls, SD 57104                                                                                                                  pastormatchan@msn.com              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St John American Lutheran Church                               c/o Hope Matchan Law                            Attn: Hope Matchan                                               403 W 22nd St                       Sioux Falls, SD 57105             hope@hopematchanlaw.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St John And Paul Catholic Church                               Laurel Highlands Council 527                    2586 Wexford Bayne Rd                                            Sewickley, PA 15143‐8610                                                                                 First Class Mail
Chartered Organization         St John Apostle And Evangelist Church                          Aloha Council, Bsa 104                          95‐370 Kuahelani Ave                                             Mililani, HI 96789‐1103                                                                                  First Class Mail
Chartered Organization         St John Baptist Church                                         Golden Spread Council 562                       2301 NW 14th Ave                                                 Amarillo, TX 79107‐1409                                                                                  First Class Mail
Chartered Organization         St John Baptist Church                                         Northeast Georgia Council 101                   741 Ee Butler Pkwy                                               Gainesville, GA 30501‐4530                                                                               First Class Mail
Chartered Organization         St John Baptist Church                                         Colonial Virginia Council 595                   1397 Penniman Rd                                                 Williamsburg, VA 23185‐5724                                                                              First Class Mail
Chartered Organization         St John Baptist De La Salle Church                             W.L.A.C.C. 051                                  10738 Hayvenhurst Ave                                            Granada Hills, CA 91344‐5150                                                                             First Class Mail
Chartered Organization         St John Baptist De La Salle Church                             W.L.A.C.C. 051                                  16545 Chatsworth St                                              Granada Hills, CA 91344‐6764                                                                             First Class Mail
Voting Party                   St John Baptist De La Salle Church                             c/o Roman Catholic Archdiocese of Los Angeles   Attn: Margaret Graf                                              3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St John Baptist De Lasalle Rc Ch                               Hawk Mountain Council 528                       Holland St                                                       Shillington, PA 19607                                                                                    First Class Mail
Voting Party                   St John Baptist Episcopal Church, Thomaston                    c/o The Episcopal Diocese of Maine / Martin     P.O. Box 4036                                                    Portland, ME 04101                                                    bmartin@episcopalmaine.org         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St John Before Latin Gate Catholic Ch                          Cherokee Area Council 469 469                   715 S Johnstone Ave                                              Bartlesville, OK 74003‐4633                                                                              First Class Mail
Chartered Organization         St John Berchman Catholic School                               Alamo Area Council 583                          1147 Cupples Rd                                                  San Antonio, TX 78226‐1217                                                                               First Class Mail
Chartered Organization         St John Berchmans School                                       Pathway To Adventure 456                        2511 W Logan Blvd                                                Chicago, IL 60647‐1926                                                                                   First Class Mail
Chartered Organization         St John Bosco Catholic Church                                  South Florida Council 084                       1358 NW 1st St                                                   Miami, FL 33125‐5603                                                                                     First Class Mail
Chartered Organization         St John Bosco Catholic School                                  Alamo Area Council 583                          5630 W Commerce St                                               San Antonio, TX 78237‐1313                                                                               First Class Mail
Chartered Organization         St John Bosco Church                                           Lake Erie Council 440                           6480 Pearl Rd                                                    Parma Heights, OH 44130‐2929                                                                             First Class Mail
Chartered Organization         St John Bosco Home & School Assoc                              Pathway To Adventure 456                        7113 Columbia Ave                                                Hammond, IN 46324‐2456                                                                                   First Class Mail
Chartered Organization         St John Bosco Parish                                           Connecticut Yankee Council Bsa 072              731 Main St                                                      Branford, CT 06405‐3616                                                                                  First Class Mail
Chartered Organization         St John Brebeuf Hns/Knights Of Columbus                        Pathway To Adventure 456                        8307 N Harlem Ave                                                Niles, IL 60714‐2616                                                                                     First Class Mail
Chartered Organization         St John Cantius Parish                                         Cradle of Liberty Council 525                   4415 Almond St                                                   Philadelphia, PA 19137‐1610                                                                              First Class Mail
Chartered Organization         St John Catholic Church                                        Cherokee Area Council 469 469                   715 S Johnstone Ave                                              Bartlesville, OK 74003‐4633                                                                              First Class Mail
Chartered Organization         St John Catholic Church                                        Bay‐Lakes Council 635                           413 Saint John St                                                Green Bay, WI 54301‐4116                                                                                 First Class Mail
Chartered Organization         St John Catholic Church                                        Southern Shores Fsc 783                         711 N Francis St                                                 Jackson, MI 49201                                                                                        First Class Mail
Chartered Organization         St John Catholic Church                                        Simon Kenton Council 441                        351 N Market St                                                  Logan, OH 43138‐1228                                                                                     First Class Mail
Chartered Organization         St John Catholic Church                                        Dan Beard Council, Bsa 438                      9080 Cincinnati Dayton Rd                                        West Chester, OH 45069‐3129                                                                              First Class Mail
Voting Party                   St John Catholic Church‐San Marcos, Texas                      c/o Bsa Coordinator                             Attn: Chancellor                                                 6225 E US 290 Hwy Svrd Eb           Austin, TX 78723                  ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St John Catholic Church‐San Marcos, Texas                      Dba St John The                                 Attn: Rev Jairo Lopez                                            624 E Hopkins St                    San Marcos, TX 78666                                                 First Class Mail
Chartered Organization         St John Catholic School Pto                                    Heart of America Council 307                    1208 Kentucky St                                                 Lawrence, KS 66044‐3216                                                                                  First Class Mail
Chartered Organization         St John Chrysostom Church                                      Cradle of Liberty Council 525                   617 S Providence Rd                                              Wallingford, PA 19086‐6939                                                                               First Class Mail
Chartered Organization         St John Chrysostom Church                                      The Spirit of Adventure 227                     4740 Washington St                                               West Roxbury, MA 02132‐2133                                                                              First Class Mail
Chartered Organization         St John Church Unleashed ‐ Southlake                           Longhorn Council 662                            1701 W Jefferson St                                              Grand Prairie, TX 75051‐1445                                                                             First Class Mail
Chartered Organization         St John Coptic Orthodox Church                                 Greater Los Angeles Area 033                    21329 E Cienega Ave                                              Covina, CA 91724‐1415                                                                                    First Class Mail
Chartered Organization         St John De Lasalle Roman Catholic Church                       Greater Niagara Frontier Council 380            8469 Buffalo Ave                                                 Niagara Falls, NY 14304‐4322                                                                             First Class Mail
Chartered Organization         St John Episcopal Church                                       Golden Empire Council 047                       2341 Floral Ave                                                  Chico, CA 95926‐7311                                                                                     First Class Mail
Chartered Organization         St John Episcopal Church                                       Seneca Waterways 397                            54 W Main St                                                     Sodus, NY 14551‐1134                                                                                     First Class Mail
Chartered Organization         St John Episcopal Church                                       Samoset Council, Bsa 627                        330 Mcclellan St                                                 Wausau, WI 54403‐4841                                                                                    First Class Mail
Chartered Organization         St John Eudes Roman Catholic Church                            W.L.A.C.C. 051                                  9901 Mason Ave                                                   Chatsworth, CA 91311‐4525                                                                                First Class Mail
Voting Party                   St John Eudes Roman Catholic Church                            c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St John Evangelical Lutheran Church                            Pathway To Adventure 456                        305 Cir Ave                                                      Forest Park, IL 60130‐1609                                                                               First Class Mail
Chartered Organization         St John Evangelical Lutheran Church                            Susquehanna Council 533                         229 S Broad St                                                   Jersey Shore, PA 17740‐1803                                                                              First Class Mail
Chartered Organization         St John Evangelical Lutheran Church                            Bucktail Council 509                            325 Church St                                                    Johnsonburg, PA 15845‐1513                                                                               First Class Mail
Chartered Organization         St John Evangelical Lutheran Church                            Glaciers Edge Council 620                       307 6th St                                                       Reedsburg, WI 53959‐1213                                                                                 First Class Mail
Chartered Organization         St John Evangelist Catholic Church                             The Spirit of Adventure 227                     174 Humphrey St                                                  Swampscott, MA 01907‐2512                                                                                First Class Mail
Chartered Organization         St John Evangelist Catholic Church                             Stonewall Jackson Council 763                   344 Maple Ave                                                    Waynesboro, VA 22980‐4706                                                                                First Class Mail
Chartered Organization         St John Evangelist Hispanic Committee                          Baltimore Area Council 220                      10431 Twin Rivers Rd                                             Columbia, MD 21044‐2331                                                                                  First Class Mail
Chartered Organization         St John Evangelist R C Church                                  National Capital Area Council 082               10103 Georgia Ave                                                Silver Spring, MD 20902‐5623                                                                             First Class Mail
Voting Party                   St John Evangelists Frederick Rcc Inc                          Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St John Evangelists Long Green Rcc Inc                         Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St John Fisher Chapel Univ Parish                              Great Lakes Fsc 272                             3665 E Walton Blvd                                               Auburn Hills, MI 48326‐2236                                                                              First Class Mail
Voting Party                   St John Fisher Church                                          c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                  Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St John Grace Episcopal Church                                 Attn: Rev Jon F Lavell                          51 Colonial Cir                                                  Buffalo, NY 14222                                                     jonlavelle@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St John K Of C 1286                                            Evangeline Area 212                             P.O. Box 90701                                                   Lafayette, LA 70509‐0701                                                                                 First Class Mail
Chartered Organization         St John Kanty                                                  Greater Niagara Frontier Council 380            101 Swinburne St                                                 Buffalo, NY 14212‐1933                                                                                   First Class Mail
Chartered Organization         St John Lalande Catholic Church                                Heart of America Council 307                    805 NW R D Mize Rd                                               Blue Springs, MO 64015‐3702                                                                              First Class Mail
Chartered Organization         St John Lions Club                                             Pathway To Adventure 456                        P.O. Box 331                                                     Saint John, IN 46373‐0331                                                                                First Class Mail
Chartered Organization         St John Lutheran                                               Flint River Council 095                         1689 US 41 Byp S                                                 Griffin, GA 30224‐3999                                                                                   First Class Mail
Chartered Organization         St John Lutheran Church                                        Baltimore Area Council 220                      Third St & Washburn                                              Baltimore, MD 21225                                                                                      First Class Mail
Chartered Organization         St John Lutheran Church                                        Cornhusker Council 324                          701 N 6th St                                                     Beatrice, NE 68310‐2326                                                                                  First Class Mail
Chartered Organization         St John Lutheran Church                                        Three Rivers Council 578                        2955 S Major Dr                                                  Beaumont, TX 77707‐5121                                                                                  First Class Mail
Chartered Organization         St John Lutheran Church                                        Juniata Valley Council 497                      P.O. Box 216                                                     Bellefonte, PA 16823‐0216                                                                                First Class Mail
Chartered Organization         St John Lutheran Church                                        Sam Houston Area Council 576                    520 N Holland St                                                 Bellville, TX 77418‐1428                                                                                 First Class Mail
Chartered Organization         St John Lutheran Church                                        South Texas Council 577                         301 E Main St                                                    Bishop, TX 78343‐2647                                                                                    First Class Mail
Chartered Organization         St John Lutheran Church                                        Cradle of Liberty Council 525                   1800 Skippack Pike                                               Blue Bell, PA 19422‐1380                                                                                 First Class Mail
Chartered Organization         St John Lutheran Church                                        Rocky Mountain Council 063                      790 Greydene Ave                                                 Canon City, CO 81212‐2662                                                                                First Class Mail
Chartered Organization         St John Lutheran Church                                        Greater St Louis Area Council 312               15800 Manchester Rd                                              Ellisville, MO 63011‐2208                                                                                First Class Mail
Chartered Organization         St John Lutheran Church                                        Samoset Council, Bsa 627                        1104 E 3rd St                                                    Merrill, WI 54452‐2530                                                                                   First Class Mail
Chartered Organization         St John Lutheran Church                                        Juniata Valley Council 497                      101 Mill St                                                      Millheim, PA 16854‐9612                                                                                  First Class Mail
Chartered Organization         St John Lutheran Church                                        Minsi Trails Council 502                        2915 Fireline Rd                                                 Palmerton, PA 18071‐5720                                                                                 First Class Mail
Chartered Organization         St John Lutheran Church                                        Samoset Council, Bsa 627                        120 Forest Ave                                                   Phillips, WI 54555‐1246                                                                                  First Class Mail
Chartered Organization         St John Lutheran Church                                        Erie Shores Council 460                         207 Adams St                                                     Port Clinton, OH 43452‐1134                                                                              First Class Mail
Chartered Organization         St John Lutheran Church                                        Great Lakes Fsc 272                             246 Benjamin St                                                  Romeo, MI 48065‐5184                                                                                     First Class Mail
Chartered Organization         St John Lutheran Church                                        Last Frontier Council 480                       3610 N Union Ave                                                 Shawnee, OK 74804‐2158                                                                                   First Class Mail
Chartered Organization         St John Lutheran Church                                        Erie Shores Council 460                         21142 W Toledo St                                                Williston, OH 43468                                                                                      First Class Mail
Chartered Organization         St John Lutheran Church                                        Erie Shores Council 460                         21140 W Toledo St                                                Williston, OH 43468‐9817                                                                                 First Class Mail
Voting Party                   St John Lutheran Church                                        Attn: Robert Garrett                            119 Harbor Rd                                                    Marmora, NJ 08223                                                     rfygiii@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St John Lutheran Church                                        Attn: Tab Cosgrove                              2580 Mount Rose Ave                                              York, PA 17402                                                        pstrcosgrove@comcast.net           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St John Lutheran Church                                        Attn: Joshua Fite                               2700 Babcock Rd                                                  Green Bay, WI 54313                                                   pastorjosh@stjohnash.org           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St John Lutheran Church                                        Attn: Rick Adamson                              1001 Central Ave                                                 Ocean City, NJ 08226                                                  office@stjohnlutheranoc.org        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St John Lutheran Church                                        Attn: Michael Mccanless                         1004 Kailua Rd                                                   Kailua, HI 96734                                                      karenradius@gmail.com              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St John Lutheran Church                                        Attn: Henry Hales                               6600 Ruth Rd N                                                   Palms, MI 48465                                                       hchales@hotmail.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St John Lutheran Church ‐ Madison                              Sioux Council 733                               122 N Grant Ave                                                  Madison, SD 57042‐3031                                                                                   First Class Mail
Chartered Organization         St John Lutheran Church In America                             Rainbow Council 702                             2650 Plainfield Rd                                               Joliet, IL 60435‐1163                                                                                    First Class Mail
Voting Party                   St John Lutheran Church Inc A Nonprofit Corporation With The   Attn: Kent Hamdorf                              250 Avenida Los Angelos                                          The Villages, FL 32162                                                info@hope2all.org                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St John Lutheran Ptl                                           Black Swamp Area Council 449                    655 Wayne Ave                                                    Defiance, OH 43512‐2659                                                                                  First Class Mail
Chartered Organization         St John Lutheran School                                        Great Lakes Fsc 272                             1011 W University Dr                                             Rochester Hills, MI 48307‐1862                                                                           First Class Mail
Chartered Organization         St John Lutheran School/Church                                 Pathway To Adventure 456                        4939 W Montrose Ave                                              Chicago, IL 60641‐1525                                                                                   First Class Mail
Chartered Organization         St John Methodist Church Hopkinsville                          Lincoln Heritage Council 205                    2808 S Virginia St                                               Hopkinsville, KY 42240‐3757                                                                              First Class Mail
Chartered Organization         St John Missionary Baptist Church                              Middle Tennessee Council 560                    1833 Tiny Town Rd                                                Clarksville, TN 37042‐7210                                                                               First Class Mail
Chartered Organization         St John Missionary Baptist Church                              Last Frontier Council 480                       5700 N Kelley Ave                                                Oklahoma City, OK 73111‐6741                                                                             First Class Mail
Chartered Organization         St John Nepomucene Rc Church                                   Suffolk County Council Inc 404                  1150 Locust Ave                                                  Bohemia, NY 11716‐2164                                                                                   First Class Mail
Chartered Organization         St John Nepomuk Catholic Church                                Last Frontier Council 480                       600 Garth Brooks Blvd                                            Yukon, OK 73099‐3504                                                                                     First Class Mail
Chartered Organization         St John Nepomuk Parish                                         Three Harbors Council 636                       700 English St                                                   Racine, WI 53402‐4722                                                                                    First Class Mail
Chartered Organization         St John Neumann                                                Orange County Council 039                       5101 Alton Pkwy                                                  Irvine, CA 92604‐8605                                                                                    First Class Mail
Chartered Organization         St John Neumann Catholic Church                                Mecklenburg County Council 415                  8451 Idlewild Rd                                                 Charlotte, NC 28227‐1911                                                                                 First Class Mail
Chartered Organization         St John Neumann Catholic Church                                Indian Waters Council 553                       721 Polo Rd                                                      Columbia, SC 29223‐4403                                                                                  First Class Mail
Chartered Organization         St John Neumann Catholic Church                                Indian Waters Council 553                       P.O. Box 23689                                                   Columbia, SC 29224‐3689                                                                                  First Class Mail
Chartered Organization         St John Neumann Catholic Church                                Sam Houston Area Council 576                    2730 Nelwood Dr                                                  Houston, TX 77038‐1025                                                                                   First Class Mail
Chartered Organization         St John Neumann Catholic Church                                Great Smoky Mountain Council 557                633 Saint John Ct                                                Knoxville, TN 37934‐1555                                                                                 First Class Mail
Chartered Organization         St John Neumann Catholic Church                                Northeast Georgia Council 101                   801 Tom Smith Rd SW                                              Lilburn, GA 30047‐2215                                                                                   First Class Mail
Chartered Organization         St John Neumann Catholic Church                                South Florida Council 084                       12125 SW 107th Ave                                               Miami, FL 33176‐4704                                                                                     First Class Mail
Chartered Organization         St John Neumann Catholic Church                                Heart of Virginia Council 602                   2480 Batterson Rd                                                Powhatan, VA 23139‐7513                                                                                  First Class Mail
Chartered Organization         St John Neumann Catholic Church                                Three Fires Council 127                         2900 E Main St                                                   Saint Charles, IL 60174‐2466                                                                             First Class Mail
Voting Party                   St John Neumann Catholic Church                                Attn: Rev Glynn (Bud) Roland                    6225 E US 290 Hwy Svrd Eb                                        Austin, TX 78723                                                      ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St John Neumann Catholic Church                                Rev Glynn (Bud) Roland                          5455 Bee Cave Rd                                                 Austin, TX 78746                                                                                         First Class Mail
Chartered Organization         St John Neumann Catholic Commty                                Church                                          11900 Lawyers Rd                                                 Reston, VA 20191‐4206                                                                                    First Class Mail
Chartered Organization         St John Neumann Catholic School                                Greater St Louis Area Council 312               142 Wilma Dr                                                     Maryville, IL 62062‐5435                                                                                 First Class Mail
Chartered Organization         St John Neumann Church                                         Narragansett 546                                P.O. Box 718                                                     East Freetown, MA 02717‐0718                                                                             First Class Mail
Chartered Organization         St John Neumann Church                                         Northeast Georgia Council 101                   801 Tom Smith Rd SW                                              Lilburn, GA 30047‐2215                                                                                   First Class Mail
Voting Party                   St John Neumann Parish                                         Attn: Andre L Kydala                            54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         St John Neumann Parish & Esitec LLC                            Potawatomi Area Council 651                     1915 Macarthur Rd, Ste 2                                         Waukesha, WI 53188‐5702                                                                                  First Class Mail
Chartered Organization         St John Newmann Catholic                                       Capitol Area Council 564                        5455 Bee Caves Rd                                                West Lake Hills, TX 78746‐5228                                                                           First Class Mail
Chartered Organization         St John Newmann Roman Catholic                                 Grand Canyon Council 010                        11545 E 40th St                                                  Yuma, AZ 85367‐7602                                                                                      First Class Mail
Chartered Organization         St John Of Rochester R C Church                                Seneca Waterways 397                            10 Wickford Way                                                  Fairport, NY 14450‐3132                                                                                  First Class Mail
Chartered Organization         St John Of Rochester R C Church                                Seneca Waterways 397                            8 Wickford Way                                                   Fairport, NY 14450‐3132                                                                                  First Class Mail
Chartered Organization         St John Of The Cross                                           Pathway To Adventure 456                        5100 Wolf Rd                                                     Western Springs, IL 60558‐1816                                                                           First Class Mail
Chartered Organization         St John Of The Cross Parish                                    Pathway To Adventure 456                        708 51st St                                                      Western Springs, IL 60558‐1925                                                                           First Class Mail
Chartered Organization         St John Paul Ii                                                Greater St Louis Area Council 312               7748 Mackenzie Rd                                                Saint Louis, MO 63123‐2719                                                                               First Class Mail
Chartered Organization         St John Paul Ii Catholic Church                                Water and Woods Council 782                     511 W Cornell St                                                 Saginaw, MI 48604‐1311                                                                                   First Class Mail
Voting Party                   St John Paul II Parish                                         Attn: Andre L Kydala                            54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         St John Progressive Baptist Church                             Greater Tampa Bay Area 089                      2504 Chipco St                                                   Tampa, FL 33605‐1358                                                                                     First Class Mail
Voting Party                   St John Regional Catholic School, Inc                          Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@geljaw.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St John Regional Catholic School, Inc                          c/o Gallagher Evelius & Jones LLP               Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St John School                                                 Blue Grass Council 204                          General Delivery                                                 Georgetown, KY 40324                                                                                     First Class Mail
Chartered Organization         St John The Apostle Catholic Church                            Cascade Pacific Council 492                     417 Washington St                                                Oregon City, OR 97045‐2220                                                                               First Class Mail
Chartered Organization         St John The Apostle Catholic Church                            Longhorn Council 662                            7341 Glenview Dr                                                 Richland Hills, TX 76180‐8323                                                                            First Class Mail
Chartered Organization         St John The Apostle Catholic Church                            Tidewater Council 596                           1968 Sandbridge Rd                                               Virginia Beach, VA 23456‐4062                                                                            First Class Mail
Chartered Organization         St John The Apostle Church                                     Quivira Council, Bsa 198                        609 E 4th Ave                                                    Saint John, KS 67576‐1801                                                                                First Class Mail
Chartered Organization         St John The Apostle Rc Church                                  Patriots Path Council 358                       1805 Penbrook Ter                                                Linden, NJ 07036‐5436                                                                                    First Class Mail
Chartered Organization         St John The Apostle Rc Church                                  Patriots Path Council 358                       1805 Penbrook Ter                                                Linden, NJ 07036‐5436                                                                                    First Class Mail
Chartered Organization         St John The Apostle Rc Church                                  Del Mar Va 081                                  506 Seabury Ave                                                  Milford, DE 19963‐2217                                                                                   First Class Mail
Chartered Organization         St John The Baptist                                            Chief Seattle Council 609                       25810 156th Ave SE                                               Covington, WA 98042‐4202                                                                                 First Class Mail
Chartered Organization         St John The Baptist                                            Greater St Louis Area Council 312               10 S Lincoln St                                                  Smithton, IL 62285‐1614                                                                                  First Class Mail
Voting Party                   St John The Baptist                                            c/o Woods Oviatt Gilman LLP                     Attn: Timothy P Lyster, Esq                                      1900 Bausch & Lomb Pl               Rochester, NY 14604               tlyster@woodsoviatt.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St John The Baptist Catholic Church                            Pine Tree Council 218                           132 Mckeen St                                                    Brunswick, ME 04011‐2980                                                                                 First Class Mail
Chartered Organization         St John The Baptist Catholic Church                            Istrouma Area Council 211                       P.O. Box 248                                                     Brusly, LA 70719‐0248                                                                                    First Class Mail
Chartered Organization         St John The Baptist Catholic Church                            Golden Empire Council 047                       435 Chestnut St                                                  Chico, CA 95928‐5209                                                                                     First Class Mail
Chartered Organization         St John The Baptist Catholic Church                            Golden Empire Council 047                       416 Chestnut St                                                  Chico, CA 95928‐5210                                                                                     First Class Mail
Chartered Organization         St John The Baptist Catholic Church                            Dan Beard Council, Bsa 438                      5351 Dry Ridge Rd                                                Cincinnati, OH 45252                                                                                     First Class Mail
Chartered Organization         St John The Baptist Catholic Church                            Dan Beard Council, Bsa 438                      5361 Dry Ridge Rd                                                Cincinnati, OH 45252‐1851                                                                                First Class Mail
Chartered Organization         St John The Baptist Catholic Church                            Orange County Council 039                       1015 Baker St                                                    Costa Mesa, CA 92626‐4113                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                            Page 353 of 442
                                                                                   Case 20-10343-LSS                                                       Doc 8171                                  Filed 01/06/22                                                    Page 369 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                         Service List
                                                                                                                                                                                  Served as set forth below

        Description                                                      Name                                                                                                         Address                                                                                                             Email                 Method of Service
Chartered Organization         St John The Baptist Catholic Church                                           K Columbus                              300 E 11800 S                                          Draper, UT 84020‐9035                                                                                    First Class Mail
Chartered Organization         St John The Baptist Catholic Church                                           Last Frontier Council 480               924 S Littler Ave                                      Edmond, OK 73034‐3967                                                                                    First Class Mail
Chartered Organization         St John The Baptist Catholic Church                                           Anthony Wayne Area 157                  4525 Arlington Ave                                     Fort Wayne, IN 46807‐2601                                                                                First Class Mail
Chartered Organization         St John The Baptist Catholic Church                                           Bay‐Lakes Council 635                   2561 Glendale Ave                                      Green Bay, WI 54313‐6821                                                                                 First Class Mail
Chartered Organization         St John The Baptist Catholic Church                                           Bay‐Lakes Council 635                   2597 Glendale Ave                                      Green Bay, WI 54313‐6821                                                                                 First Class Mail
Chartered Organization         St John The Baptist Catholic Church                                           Longs Peak Council 062                  342 Emery St                                           Longmont, CO 80501                                                                                       First Class Mail
Chartered Organization         St John The Baptist Catholic Church                                           Greater Alabama Council 001             1055 Hughes Rd                                         Madison, AL 35758‐6403                                                                                   First Class Mail
Chartered Organization         St John The Baptist Catholic Church                                           Montana Council 315                     1400 Gerald Ave                                        Missoula, MT 59801‐4230                                                                                  First Class Mail
Chartered Organization         St John The Baptist Catholic Church                                           Northern Star Council 250               835 2nd Ave NW                                         New Brighton, MN 55112‐6842                                                                              First Class Mail
Chartered Organization         St John The Baptist Catholic Church                                           Buffalo Trace 156                       625 Frame Rd                                           Newburgh, IN 47630‐1604                                                                                  First Class Mail
Chartered Organization         St John The Baptist Catholic Church                                           The Spirit of Adventure 227             17 Chestnut St                                         Peabody, MA 01960‐5429                                                                                   First Class Mail
Chartered Organization         St John The Baptist Catholic Church                                           Northern Star Council 250               4625 W 125th St                                        Savage, MN 55378‐1357                                                                                    First Class Mail
Chartered Organization         St John The Baptist Catholic Church                                           Westchester Putnam 388                  670 Yonkers Ave                                        Yonkers, NY 10704‐2622                                                                                   First Class Mail
Chartered Organization         St John The Baptist Catholic Church                                           Istrouma Area Council 211               4727 Mchugh Dr                                         Zachary, LA 70791‐3935                                                                                   First Class Mail
Chartered Organization         St John The Baptist Catholic Community                                        National Capital Area Council 082       12319 New Hampshire Ave                                Silver Spring, MD 20904‐2957                                                                             First Class Mail
Chartered Organization         St John The Baptist Catholic School                                           Dan Beard Council, Bsa 438              508 Park Ave                                           Harrison, OH 45030‐1272                                                                                  First Class Mail
Chartered Organization         St John The Baptist Home & School Assoc                                       Greater Niagara Frontier Council 380    2120 Sandridge Rd                                      Alden, NY 14004                                                                                          First Class Mail
Chartered Organization         St John The Baptist Parish                                                    Three Fires Council 127                 0S233 Church St                                        Winfield, IL 60190                                                                                       First Class Mail
Chartered Organization         St John The Baptist R C Church                                                Northern New Jersey Council, Bsa 333    69 Valley St                                           Hillsdale, NJ 07642‐2053                                                                                 First Class Mail
Chartered Organization         St John The Baptist R C Church                                                Washington Crossing Council 777         4050 Durham Rd                                         Ottsville, PA 18942‐9623                                                                                 First Class Mail
Chartered Organization         St John The Baptist R C Church                                                Leatherstocking 400                     210 E Dominick St                                      Rome, NY 13440‐5914                                                                                      First Class Mail
Chartered Organization         St John The Baptist R C Church                                                Greater Niagara Frontier Council 380    1085 Englewood Ave                                     Town of Tonawanda, NY 14223‐1901                                                                         First Class Mail
Chartered Organization         St John The Baptist Roman Catholic                                            Iroquois Trail Council 376              168 Chestnut St                                        Lockport, NY 14094‐2923                                                                                  First Class Mail
Chartered Organization         St John The Beloved Catholic Church                                           Coastal Carolina Council 550            28 Sumter Ave                                          Summerville, SC 29483‐5948                                                                               First Class Mail
Chartered Organization         St John The Divine Episcopal Church                                           Sam Houston Area Council 576            2450 River Oaks Blvd                                   Houston, TX 77019‐5826                                                                                   First Class Mail
Chartered Organization         St John The Evangelist                                                        Northeastern Pennsylvania Council 501   35 William St                                          Pittston, PA 18640‐2555                                                                                  First Class Mail
Chartered Organization         St John The Evangelist                                                        Mayflower Council 251                   9 Glen Rd                                              Wellesley Hills, MA 02481‐1619                                                                           First Class Mail
Chartered Organization         St John The Evangelist                                                        The Spirit of Adventure 227             320 Winthrop St                                        Winthrop, MA 02152‐3127                                                                                  First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        Lincoln Heritage Council 205            503 5th St                                             Carrollton, KY 41008‐1203                                                                                First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        Baltimore Area Council 220              10431 Twin Rivers Rd                                   Columbia, MD 21044‐2331                                                                                  First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        National Capital Area Council 082       112 E 2nd St                                           Frederick, MD 21701‐5305                                                                                 First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        National Capital Area Council 082       116 E 2nd St                                           Frederick, MD 21701‐5360                                                                                 First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        Lasalle Council 165                     109 W Monroe St                                        Goshen, IN 46526‐3956                                                                                    First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        Longs Peak Council 062                  1515 Hilltop Dr                                        Loveland, CO 80537‐4450                                                                                  First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        Southwest Florida Council 088           625 111th Ave N                                        Naples, FL 34108‐1825                                                                                    First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        Istrouma Area Council 211               15208 Hwy 73                                           Prairieville, LA 70769‐3507                                                                              First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        National Capital Area Council 082       10103 Georgia Ave                                      Silver Spring, MD 20902‐5623                                                                             First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        Seneca Waterways 397                    55 Martha St                                           Spencerport, NY 14559‐1342                                                                               First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        Three Fires Council 127                 502 S Park Blvd                                        Streamwood, IL 60107‐2060                                                                                First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        Cascade Pacific Council 492             8701 NE 119th St                                       Vancouver, WA 98662‐1101                                                                                 First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        Central Florida Council 083             5655 Stadium Pkwy                                      Viera, FL 32940‐8002                                                                                     First Class Mail
Chartered Organization         St John The Evangelist Catholic Church                                        Stonewall Jackson Council 763           329 Walnut Ave                                         Waynesboro, VA 22980‐4715                                                                                First Class Mail
Chartered Organization         St John The Evangelist Church                                                 San Diego Imperial Council 049          1001 Encinitas Blvd                                    Encinitas, CA 92024‐2828                                                                                 First Class Mail
Chartered Organization         St John The Evangelist Church                                                 Istrouma Area Council 211               57805 Main St                                          Plaquemine, LA 70764‐2531                                                                                First Class Mail
Chartered Organization         St John The Evangelist Church                                                 Cape Cod and Islands Cncl 224           841 Shore Rd                                           Pocasset, MA 02559‐1734                                                                                  First Class Mail
Chartered Organization         St John The Evangelist Church                                                 Narragansett 546                        63 Church St                                           Slatersville, RI 02876‐1029                                                                              First Class Mail
Chartered Organization         St John The Evangelist Church H N S                                           Three Harbors Council 636               8500 W Coldspring Rd                                   Milwaukee, WI 53228‐2850                                                                                 First Class Mail
Voting Party                   St John The Evangelist Dunellen Parish                                        Attn: Andre L Kydala                    54 Old Hwy 22                                          Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         St John The Evangelist Greece                                                 Seneca Waterways 397                    2400 W Ridge Rd                                        Rochester, NY 14626‐3043                                                                                 First Class Mail
Chartered Organization         St John The Evangelist Hispanic Ctte                                          Baltimore Area Council 220              10431 Twin Rivers Rd                                   Columbia, MD 21044‐2331                                                                                  First Class Mail
Voting Party                   St John The Evangelist Lambertville                                           Attn: Andre L Kydala                    54 Old Hwy 22                                          Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         St John The Evangelist Mens Club                                              Pathway To Adventure 456                11301 W 93rd Ave                                       Saint John, IN 46373‐9715                                                                                First Class Mail
Chartered Organization         St John The Evangelist Parish                                                 Western Massachusetts Council 234       823 Main St                                            Agawam, MA 01001‐2527                                                                                    First Class Mail
Chartered Organization         St John The Evangelist Parish                                                 Gulf Coast Council 773                  1008 Fortune Ave                                       Panama City, FL 32401‐1951                                                                               First Class Mail
Chartered Organization         St John The Evangelist Rc                                                     Mayflower Council 251                   20 Church St                                           Hopkinton, MA 01748‐1836                                                                                 First Class Mail
Chartered Organization         St John The Evangelist Rc Ch                                                  Northern New Jersey Council, Bsa 333    29 N Washington Ave                                    Bergenfield, NJ 07621‐2125                                                                               First Class Mail
Chartered Organization         St John The Evangelist Rc Ch                                                  Twin Rivers Council 364                 806 Union St                                           Schenectady, NY 12308‐3104                                                                               First Class Mail
Chartered Organization         St John The Evangelist Rc Ch                                                  Baltimore Area Council 220              689 Ritchie Hwy                                        Severna Park, MD 21146‐3920                                                                              First Class Mail
Chartered Organization         St John The Evangelist Rc Church                                              Suffolk County Council Inc 404          25 Ocean Ave                                           Center Moriches, NY 11934‐3601                                                                           First Class Mail
Chartered Organization         St John The Evangelist Roman Catholic                                         Baltimore Area Council 220              689 Ritchie Hwy                                        Severna Park, MD 21146‐3920                                                                              First Class Mail
Voting Party                   St John The Evangelist, Columbia, Roman Catholic Congregation, Incorporated   c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                  218 N Charles St, Ste 400          Baltimore, MD 21201               moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John The Evangelist, Columbia, Roman Catholic Congregation, Incorporated   Attn: Matthew William Oakley            218 N Chalres St, Ste 2200                             Baltimore, MD 21201                                                                                      First Class Mail
Voting Party                   St John The Evangelist, Long Green Valley, Catholic School                    c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                  218 N Charles St, Ste 400          Baltimore, MD 21201               moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John The Evangelist, Long Green Valley, Catholic School Inc.               c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                  218 N Charles St, Ste 400          Baltimore, MD 21201               moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John The Evangelists Long Green Valley, Roman Catholic Congregation Inc    c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                  Baltimore, MD 21201                                                  moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         St John The Theologian Greek Orthodox Ch                                      Northern New Jersey Council, Bsa 333    353 E Clinton Ave                                      Tenafly, NJ 07670‐2319                                                                                   First Class Mail
Chartered Organization         St John UCC, Trenton, IL                                                      Attn: Jacob R Johnson                   21 N Walnut St                                         Trenton, IL 62293                                                                                        First Class Mail
Voting Party                   St John Umc                                                                   Attn: Thomas Greib                      12700 W Hwy 42                                         Prospect, KY 40059                                                   tom@stjohky.com                     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John Umc                                                                   2201 E Broadway Ave                     Maryville, TN 37804                                                                                                         stjohnumcmaryville@gmail.com        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John Umc                                                                   4536 Teays Valley Rd                    Scott Depot, WV 25560                                                                                                       markinsfam@gmail.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John Umc                                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John Umc (Norfolk)                                                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John United Church Of Christ                                               Attn: Joy L Honegger                    307 W Clay St                                          Collinsville, IL 62234                                               office@stjohnucc‐collinsville.com   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John United Church Of Christ                                               c/o Brown Hay & Stephens LLP            Attn: Lorilea Buerkett                                 201 S 5th St                       Springfield, IL 62701             lbuerkett@bhslaw.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John United Church Of Christ                                               Attn: Rev Laurie Hill                   204 7th St                                             Lincoln, IL 62656                                                                                        First Class Mail
Voting Party                   St John United Methodist Church                                               Attn: Lawrence Mitchell Stewart         121 Sullivan Dr                                        Hattiesburg, MS 39401                                                stewartlawrence57@gmail.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John United Methodist Church                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John United Methodist Church ‐ Georgetown                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John United Methodist Church ‐ Georgetown                                  311 E University Ave                    Gerogetown, TX 78626                                                                                                                                            First Class Mail
Voting Party                   St John United Methodist Church Of Lake City                                  Attn: Major Brown III                   1653 Green Rd                                          Lake City, SC 29560                                                  mbrown3@umcsc.org                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John United Methodist Church Of Lake City                                  Attn: Rev Dr Major Brown III            P.O. Box 702                                           Lake City, SC 29560                                                  mbrown3@umcsc.org                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         St John Utd Church Of Christ                                                  Lincoln Douglas School Pto              Blackhawk Area 660                                     1010 S Park Blvd                                                                                         First Class Mail
Chartered Organization         St John Utd Church Of Christ                                                  Dan Beard Council, Bsa 438              520 Fairfield Ave                                      Bellevue, KY 41073‐1014                                                                                  First Class Mail
Chartered Organization         St John Utd Church Of Christ                                                  Greater St Louis Area Council 312       332 Old Sulphur Spring Rd                              Manchester, MO 63021‐5350                                                                                First Class Mail
Chartered Organization         St John Utd Church Of Christ                                                  Greater St Louis Area Council 312       55 W Church St                                         Mascoutah, IL 62258‐2029                                                                                 First Class Mail
Chartered Organization         St John Utd Church Of Christ                                                  Greater St Louis Area Council 312       21 N Walnut St                                         Trenton, IL 62293‐1529                                                                                   First Class Mail
Chartered Organization         St John Utd Methodist Ch Mens Grp                                             Great Alaska Council 610                1801 Omalley Rd                                        Anchorage, AK 99507‐7304                                                                                 First Class Mail
Chartered Organization         St John Utd Methodist Church                                                  Cherokee Area Council 556               3921 Murray Hills Dr                                   Chattanooga, TN 37416‐2923                                                                               First Class Mail
Chartered Organization         St John Utd Methodist Church                                                  South Texas Council 577                 5300 S Alameda St                                      Corpus Christi, TX 78412‐3102                                                                            First Class Mail
Chartered Organization         St John Utd Methodist Church                                                  Indian Waters Council 553               P.O. Box 218                                           Lugoff, SC 29078‐0218                                                                                    First Class Mail
Chartered Organization         St John Utd Methodist Church                                                  Great Smoky Mountain Council 557        2201 E Broadway Ave                                    Maryville, TN 37804‐3036                                                                                 First Class Mail
Chartered Organization         St John Utd Methodist Church Men                                              Sam Houston Area Council 576            400 Jackson St                                         Richmond, TX 77469‐3111                                                                                  First Class Mail
Chartered Organization         St John Utd Methodist Palmers Crossing                                        Pine Burr Area Council 304              629 Sullivan Dr                                        Hattiesburg, MS 39401‐7978                                                                               First Class Mail
Chartered Organization         St John Vianney                                                               Water and Woods Council 782             2319 Bagley St                                         Flint, MI 48504‐4613                                                                                     First Class Mail
Chartered Organization         St John Vianney Catholic Church                                               Illowa Council 133                      4097 18th St                                           Bettendorf, IA 52722‐2120                                                                                First Class Mail
Chartered Organization         St John Vianney Catholic Church                                               Sam Houston Area Council 576            625 Nottingham Oaks Trl                                Houston, TX 77079‐6234                                                                                   First Class Mail
Chartered Organization         St John Vianney Catholic Church                                               Chief Seattle Council 609               10021 NE 124th St                                      Kirkland, WA 98034‐6725                                                                                  First Class Mail
Chartered Organization         St John Vianney Catholic Church                                               Central Florida Council 083             6200 S Orange Blossom Trl                              Orlando, FL 32809‐4612                                                                                   First Class Mail
Chartered Organization         St John Vianney Catholic Church                                               National Capital Area Council 082       105 Vianney Ln                                         Prince Frederick, MD 20678‐4123                                                                          First Class Mail
Chartered Organization         St John Vianney Catholic Church                                               Capitol Area Council 564                3201 Sunrise Rd                                        Round Rock, TX 78665‐9416                                                                                First Class Mail
Chartered Organization         St John Vianney Catholic Church                                               Silicon Valley Monterey Bay 055         4600 Hyland Ave                                        San Jose, CA 95127‐2011                                                                                  First Class Mail
Chartered Organization         St John Vianney Catholic Church                                               Great Lakes Fsc 272                     54045 Schoenherr Rd                                    Shelby Township, MI 48315‐1403                                                                           First Class Mail
Voting Party                   St John Vianney Catholic Church                                               Attn: Rev Thomas Reitmeyer              6225 E US 290 Hwy Svrd Eb                              Austin, TX 78723                                                     ron‐walker@austindiocese.org        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John Vianney Catholic Church                                               Attn: Rev Thomas Reitmeyer              3201 Sunrise                                           Round Rock, TX 78665                                                                                     First Class Mail
Chartered Organization         St John Vianney Church                                                        Narragansett 546                        3655 Diamond Hill Rd                                   Cumberland, RI 02864‐1601                                                                                First Class Mail
Chartered Organization         St John Vianney Church                                                        Aloha Council, Bsa 104                  920 Keolu Dr                                           Kailua, HI 96734‐3842                                                                                    First Class Mail
Chartered Organization         St John Vianney Church                                                        Lake Erie Council 440                   7575 Bellflower Rd                                     Mentor, OH 44060‐3948                                                                                    First Class Mail
Chartered Organization         St John Vianney Church                                                        Greater Niagara Frontier Council 380    2950 Southwestern Blvd                                 Orchard Park, NY 14127‐1451                                                                              First Class Mail
Chartered Organization         St John Vianney Church                                                        Greater Niagara Frontier Council 380    2950 Southwestern Blvd                                 Orchard Park, NY 14127‐1451                                                                              First Class Mail
Chartered Organization         St John Vianney Congregation                                                  Glaciers Edge Council 620               1245 Clark St                                          Janesville, WI 53545‐4903                                                                                First Class Mail
Chartered Organization         St John Vianney Home & School Assoc                                           Patriots Path Council 358               420 Inman Ave                                          Colonia, NJ 07067‐1150                                                                                   First Class Mail
Chartered Organization         St John Vianney Parish                                                        Potawatomi Area Council 651             1755 N Calhoun Rd                                      Brookfield, WI 53005‐5036                                                                                First Class Mail
Chartered Organization         St John Vianney Parish                                                        Katahdin Area Council 216               26 E Main St                                           Fort Kent, ME 04743‐1305                                                                                 First Class Mail
Voting Party                   St John Vianney Parish                                                        Attn: Andre L Kydala                    54 Old Hwy 22                                          Clinton, NJ 08809                                                                                        First Class Mail
Voting Party                   St John Vianney School                                                        Attn: Andre L Kydala                    54 Old Hwy 22                                          Clinton, NJ 08809                                                    kydalalaw@aim.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John Westminster Catholic School Inc                                       c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                  218 N Charles St, Ste 400          Baltimore, MD 21201               moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         St John Xxiii Catholic Parish                                                 Bay‐Lakes Council 635                   1800 N Wisconsin St                                    Port Washington, WI 53074‐1047                                                                           First Class Mail
Voting Party                   St John, Sebring                                                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         St John‐Hill Utd Church Of Christ                                             Hawk Mountain Council 528               620 Hill Church Rd                                     Boyertown, PA 19512‐8389                                                                                 First Class Mail
Voting Party                   St Johns                                                                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         St John's                                                                     Del Mar Va 081                          P.O. Box 236                                           Fruitland, MD 21826‐0236                                                                                 First Class Mail
Voting Party                   St John's                                                                     Attn: William Solomon                                                                                                                                               gpasolomon@gmail.com                Email
Chartered Organization         St Johns Cathedral                                                            Inland Nwest Council 611                127 E 12th Ave                                         Spokane, WA 99202‐1105                                                                                   First Class Mail
Chartered Organization         St John's Cathedral                                                           North Florida Council 087               256 E Church St                                        Jacksonville, FL 32202‐3132                                                                              First Class Mail
Chartered Organization         St Johns Catholic Church                                                      Mississippi Valley Council 141 141      700 Div St                                             Burlington, IA 52601‐5415                                                                                First Class Mail
Chartered Organization         St Johns Catholic Church                                                      Northern Star Council 250               106 N 4th St                                           Darwin, MN 55324‐6016                                                                                    First Class Mail
Chartered Organization         St Johns Catholic Church                                                      Black Swamp Area Council 449            P.O. Box 48                                            Glandorf, OH 45848‐0048                                                                                  First Class Mail
Chartered Organization         St Johns Catholic Church                                                      Voyageurs Area 286                      P.O. Box 549                                           Grand Marais, MN 55604‐0549                                                                              First Class Mail
Chartered Organization         St Johns Catholic Church                                                      Cornhusker Council 324                  7601 Vine St                                           Lincoln, NE 68505‐2141                                                                                   First Class Mail
Chartered Organization         St Johns Catholic Church                                                      Old Hickory Council 427                 340 CC Wright School Rd                                North Wilkesboro, NC 28659                                                                               First Class Mail
Chartered Organization         St Johns Catholic Church                                                      Yocona Area Council 748                 403 University Ave                                     Oxford, MS 38655‐4329                                                                                    First Class Mail
Chartered Organization         St Johns Catholic Church                                                      South Georgia Council 098               800 Gornto Rd                                          Valdosta, GA 31602‐1255                                                                                  First Class Mail
Chartered Organization         St John's Catholic Church                                                     Westark Area Council 016                1900 W Main St                                         Russellville, AR 72801‐2726                                                                              First Class Mail
Voting Party                   St John's Catholic Preparatory School, Inc                                    Attn: Matthew W Oakey                   218 N Charles St, Ste 400                              Baltimore, MD 21201                                                  moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John's Catholic Preparatory School, Inc                                    c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                  218 N Charles St, Ste 400          Baltimore, MD 21201               moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John's Chapel (Cambridge/Cornersville)                                     c/o The Law Office of Andrea Ross       Attn: Andrea Ross, Esq                                 129 N West St, Ste 1               Easton, MD 21601                  Andie@AndieRossLaw.com              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John's Chapel In The Episcopal Diocese Of El Camino Real                   Attn: Gefforrey Holland Sr Warden       1490 Mark Thomas Dr                                    Monterey, CA 93940                                                   stjohnschapel@redshift.com          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         St Johns Christian Church                                                     Cascade Pacific Council 492             8044 N Richmond Ave                                    Portland, OR 97203‐3148                                                                                  First Class Mail
Voting Party                   St John's Church                                                              Attn: Rev Lisa Mason                    4 Fountain Sq                                          Larchmont, NY 10538                                                  revlisa@stjohnslarchmont.org        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St John's Church                                                              Attn: James Derek Harbin                424 Washington St                                      Portsmouth, VA 23704                                                 derek@stjohnsportsmouth.org         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         St John's Church Mahoning                                                     Minsi Trails Council 502                826 Mahoning Dr W                                      Lehighton, PA 18235‐9736                                                                                 First Class Mail
Chartered Organization         St Johns Church Of Knoxville Tn                                               Great Smoky Mountain Council 557        413 Cumberland Ave                                     Knoxville, TN 37902‐2302                                                                                 First Class Mail
Chartered Organization         St John's Church Of Little Canada                                             Northern Star Council 250               380 Little Canada Rd E                                 Little Canada, MN 55117‐1627                                                                             First Class Mail
Chartered Organization         St John's Church On Morgan Hill                                               Minsi Trails Council 502                2720 Morgan Hill Rd                                    Easton, PA 18042‐7061                                                                                    First Class Mail
Chartered Organization         St Johns Country Day School                                                   North Florida Council 087               3100 Doctors Lake Dr                                   Orange Park, FL 32073‐6926                                                                               First Class Mail
Chartered Organization         St Johns County Sheriffs Office                                               North Florida Council 087               4015 Lewis Speedway                                    Saint Augustine, FL 32084‐8611                                                                           First Class Mail
Voting Party                   St Johns Elkton Maryland                                                      595 Lewisville Rd                       Elkton, MD 21921                                                                                                            Timbeardsley@ymail.com              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         St Johns Emergency Services                                                   Grand Canyon Council 010                P.O. Box 1169                                          Saint Johns, AZ 85936‐1169                                                                               First Class Mail
Voting Party                   St John's Epis Church                                                         Eric Long                               P.O. Box 257                                           Roanoke, VA 24002                                                    elong@stjohnsroanoke.org            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         St Johns Episcopal Church                                                     Seneca Waterways 397                    183 N Main St                                          Canandaigua, NY 14424‐1226                                                                               First Class Mail
Chartered Organization         St Johns Episcopal Church                                                     Mecklenburg County Council 415          1623 Carmel Rd                                         Charlotte, NC 28226‐5015                                                                                 First Class Mail
Chartered Organization         St Johns Episcopal Church                                                     Heart of Virginia Council 602           12201 Richmond St                                      Chester, VA 23831‐4440                                                                                   First Class Mail
Chartered Organization         St Johns Episcopal Church                                                     Cradle of Liberty Council 525           576 Concord Rd                                         Glen Mills, PA 19342‐1402                                                                                First Class Mail
Chartered Organization         St Johns Episcopal Church                                                     Heart of Virginia Council 602           505 Cedar Ln                                           Hopewell, VA 23860‐1517                                                                                  First Class Mail
Chartered Organization         St Johns Episcopal Church                                                     National Capital Area Council 082       P.O. Box 457                                           Mclean, VA 22101‐0457                                                                                    First Class Mail
Chartered Organization         St Johns Episcopal Church                                                     National Capital Area Council 082       6715 Georgetown Pike                                   Mclean, VA 22101‐2243                                                                                    First Class Mail
Chartered Organization         St Johns Episcopal Church                                                     Connecticut Rivers Council, Bsa 066     7 Whittlesey Ave                                       New Milford, CT 06776‐3023                                                                               First Class Mail
Chartered Organization         St Johns Episcopal Church                                                     Western Massachusetts Council 234       48 Elm St                                              Northampton, MA 01060‐2903                                                                               First Class Mail
Chartered Organization         St Johns Episcopal Church                                                     Buckskin 617                            West Main St                                           Ripley, WV 25271                                                                                         First Class Mail
Chartered Organization         St Johns Episcopal Church                                                     Blue Ridge Mtns Council 599             P.O. Box 257                                           Roanoke, VA 24002‐0257                                                                                   First Class Mail
Chartered Organization         St Johns Episcopal Church                                                     Indian Nations Council 488              4200 S Atlanta Pl                                      Tulsa, OK 74105‐4331                                                                                     First Class Mail
Chartered Organization         St Johns Episcopal Church                                                     Connecticut Rivers Council, Bsa 066     523 Hartford Tpke Rt30                                 Vernon, CT 06066                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 354 of 442
                                                                                    Case 20-10343-LSS                                                        Doc 8171                                  Filed 01/06/22                                                         Page 370 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                          Name                                                                                                       Address                                                                                                                Email                     Method of Service
Voting Party                   St Johns Episcopal Church                                   c/o Diocese of the Central Gulf Coast ‐ the Episcopal Church Attn: Scott A Remington                               125 E Intendencia St                    Pensacola, FL 32502               sremington@clarkpartington.com        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Johns Episcopal Church                                   Attn: Rev Thomas Heard                                      1707 Government St                                     Mobile, AL 36604                                                          rector@stjohnsmobile.org              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Johns Episcopal Church                                   1458 Locust St                                              Dubuque, IA 52001                                                                                                                office@stjohnsdbq.org                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Johns Episcopal Church                                   Attn: The Rev Christie Hord                                 401 Live Oak Ave                                       Pensacola, FL 32507                                                       christie@stjohnspensacola.org         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Johns Episcopal Church                                   Attn: The Rev Ann Ritonia                                   9120 Frederick Rd                                      Ellicott, MD 21042                                                        aritonia@stjohnsec.org                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St John's Episcopal Church                                  California Inland Empire Council 045                        P.O. Box 152                                           Corona, CA 92878‐0152                                                                                           First Class Mail
Chartered Organization         St John's Episcopal Church                                  Pacific Harbors Council, Bsa 612                            7701 Skansie Ave                                       Gig Harbor, WA 98335‐8330                                                                                       First Class Mail
Chartered Organization         St John's Episcopal Church                                  Monmouth Council, Bsa 347                                   525 Little Silver Point Rd                             Little Silver, NJ 07739‐1768                                                                                    First Class Mail
Chartered Organization         St John's Episcopal Church                                  Last Frontier Council 480                                   P.O. Box 2088                                          Norman, OK 73070‐2088                                                                                           First Class Mail
Chartered Organization         St John's Episcopal Church                                  Aloha Council, Bsa 104                                      911 N Marine Corps Dr                                  Tamuning, GU 96913‐4302                                                                                         First Class Mail
Chartered Organization         St John's Episcopal Church                                  Indian Nations Council 488                                  4200 S Atlanta Pl                                      Tulsa, OK 74105‐4331                                                                                            First Class Mail
Chartered Organization         St John's Episcopal Church                                  Old Hickory Council 427                                     P.O. Box 645                                           Valle Crucis, NC 28691‐0645                                                                                     First Class Mail
Chartered Organization         St John's Episcopal Church                                  Connecticut Rivers Council, Bsa 066                         523 Hartford Tpke                                      Vernon, CT 06066‐4900                                                                                           First Class Mail
Chartered Organization         St John's Episcopal Church                                  Westchester Putnam 388                                      1 Hudson St                                            Yonkers, NY 10701‐3601                                                                                          First Class Mail
Voting Party                   St John's Episcopal Church                                  Attn: Peter C Nicolaysen                                    P.O. Box 7                                             Casper, WY 82602                                                          sue.woods1221@gmail.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  Sue Woods                                                   P.O. Box 846                                           Powell, WY 82435                                                          sue.woods1221@gmail.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  P.O. Box 846                                                Powell, WY 82435                                                                                                                 sue.woods1221@gmail.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  Attn: William Solomon                                       139 Main St                                            Massena, NY 13662                                                         stjohnsmassena@gmail.com              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  226 W State St                                              Sharon, PA 16146                                                                                                                 stjohns@stjohnssharon.org             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  P.O. Box 905                                                Halifax, VA 24558                                                                                                                stjohn@gcronline.com                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  Attn: Rev Canon Sharon Alexander                            692 Poplar Ave                                         Memphis, TN 38105                                                         salexander@episwtn.org                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  Attn: Rev Thomas Heard                                      1707 Government St                                     Mobile, AL 36604                                                          rector@stjohnsmobile.org              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  815 S Broadway                                              La Porte, TX 77571                                                                                                               rector@stjohns‐lapaorte.org           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  Attn: Peter C Nicolaysen                                    P.O. Box 7                                             Casper, WY 82602                                                          petercn@vcn.com                       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  513 12th St                                                 Franklin, PA 16323                                                                                                               motherelizabeth@stjohnsfranklin.org   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  Attn: Michael M Matthews                                    906 S Orleans Ave                                      Tampa, FL 33606                                                           mmatthews@stjohnseagles.org           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  Attn: Mary J Gockley                                        602 N 10th St                                          Broken Bow, NE 68822                                                      mjgockley@hotmail.com                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  Attn: Martha A Moore                                        1630 Palmwood Dr                                       Clearwater, FL 33756                                                      marti_moore_yost@hotmail.com          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  Attn: Dr Lois Garland Patterson, Senior Warden              750 Aurora Ave                                         Naperville, IL 60540                                                      lois.garlandpatterson@gmail.com       Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  c/o Wright, Lindsey & Jennings LLP                          Attn: John R Tisdale                                   200 W Capitol Ave, Ste 2300             Little Rock, AR 72201             jtisdale@wlj.com                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  Attn: Janet M Hoffman                                       431 Lake St                                            Wilson, NY 14172                                                          jmhoffman90@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  P.O. Box 1690                                               Jackson, WY 83001                                                                                                                jimmy@stjohnsjackson.org              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  Attn: Jennene Laurinec                                      308 Cottage Rd                                         Carthage, TX 75633                                                        JenneneL@aol.com                      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  321 W Chestnut St                                           Lancaster, PA 17603                                                                                                              info@stjohns‐lancaster.org            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  Attn: George R Arrants                                      814 Episcopal School Way                               Knoxville, TN 37932                                                       garrants@kramer‐rayson.com            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  P.O. Box 121                                                Delhi, NY 13753                                                                                                                  agarno@hotmail.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church                                  Attn: Carol Wendt Stewart                                   12 E Genesee St                                        Wellsville, NY 14895                                                                                            First Class Mail
Voting Party                   St John's Episcopal Church                                  Joel E Smith                                                3245 Central Ave                                       Memphis, TN 38111                                                                                               First Class Mail
Voting Party                   St John's Episcopal Church                                  Elizabeth Yale                                              513 12th St                                            P.O. Box 550                            Franklin, PA 16323                                                      First Class Mail
Voting Party                   St John's Episcopal Church                                  John R Tisdale                                              707 W Central                                          Harrison, AR 72601                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church ‐ Logan, UT                      Attn: Stephen F Hutchinson                                  75 S 200 E                                             Salt Lake City, UT 84111                                                  shutchinson@episcopal‐ut.org          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St John's Episcopal Church & School                         Orange County Council 039                                   30382 Via Con Dios                                     Rancho Santa Margarita, CA 92688‐1518                                                                           First Class Mail
Chartered Organization         St John's Episcopal Church & School                         Orange County Council 039                                   30382 Via Con Dios                                     Rancho Santa Margarita, CA 92688‐1518                                                                           First Class Mail
Voting Party                   St John's Episcopal Church Clearwater FL                    Attn: Jan Davis, Office Administrator                       1676 S Belcher Rd                                      Clearwater, FL 33764                                                      jandavis.stjohns@gmail.com            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church Cornwall                         c/o Greher Law Offices PC                                   Attn: Andrew N Greher                                  1161 Little Britain Rd, Ste B           New Windsor, NY 12553             greherlawoffices@gmail.com            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church Laurel, Inc                      Attn: Marcus M Wilson                                       190 E Capitol St, Ste 650                              Jackson, MS 39201                                                         mwilson@blswlaw.com                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church Laurel, Inc                      Attn: Richard Burson                                        P.O. Box 1766                                          Laurel, MS 39440                                                          burson@beolaw.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Johns Episcopal Church Of Knoxville                      Attn: George R Arrants                                      814 Episcopal School Way                               Knoxville, TN 37932                                                       garrants@kramer‐rayson.com            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Johns Episcopal Church Of Mankato                        P.O. Box 1119                                               Mankato, MN 56001                                                                                                                tsecott@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church Of Mclean                        Attn: James Reid Stirn                                                                                                                                                                       jrs2esq@aol.com                       Email
Voting Party                   St John's Episcopal Church Of Mclean                        Attn: Joshua D Walters                                      6715 Georgetown Pike                                   P.O. Box 457                            Mclean, VA 22101                  churchmail@stjohnsmclean.org          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church Suffolk Virginia                 828 Kings Hwy                                               Suffolk, VA 23432                                                                                                                rectorstjohns1755@verizon.net         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Johns Episcopal Church Thibodaux                         718 Jackson St                                              Thibodaux, LA 70301                                                                                                              stjohnoffice@bellsouth.net            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church, East Windsor, CT                Attn: Victoria Caroline Miller                              92 Main St                                             East Windsor, CT 06088                                                    victoriamillernh@gmail.com            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church, New Milford, CT                 7 Whittlesey Ave                                            New Milford, CT 06776                                                                                                            polhemus.kim@gmail.com                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church, Ocean Springs, Mississippi      Attn: Marcus M Wilson                                       190 E Capitol St, Ste 650                              Jackson, MS 39201                                                         mwilson@blswlaw.com                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St John's Episcopal Church, Ocean Springs, Mississippi      Attn: Leah Snyder                                           705 Rayburn Ave                                        Ocean Springs, MS 39564                                                   eastbeach@cableone.net                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Johns Episcopal School                                   Circle Ten Council 571                                      848 Harter Rd                                          Dallas, TX 75218‐2751                                                                                           First Class Mail
Voting Party                   St Johns Episicopal Church, New London, Wi                  Episcopal Diocese of Fond Du Lac                            1051 N Lynndale Dr, Ste 1B                             Appleton, WI 54914                                                        diofdl@diofdl.org                     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St John's Episopal Church                                   Patriots Path Council 358                                   11 S Bergen St                                         Dover, NJ 07801‐4634                                                                                            First Class Mail
Chartered Organization         St Johns Ev Lutheran Ch &                                   Algonquin Lions Club                                        300 Jefferson St                                       Algonquin, IL 60102‐2633                                                                                        First Class Mail
Chartered Organization         St Johns Ev Lutheran Church                                 Blackhawk Area 660                                          300 Jefferson St                                       Algonquin, IL 60102‐2633                                                                                        First Class Mail
Chartered Organization         St Johns Evangelical Church                                 Black Swamp Area Council 449                                211 E Carrol St                                        Kenton, OH 43326‐1537                                                                                           First Class Mail
Chartered Organization         St John's Evangelical Lutheran                              Capitol Area Council 564                                    17701 Cameron Rd                                       Pflugerville, TX 78660‐8917                                                                                     First Class Mail
Chartered Organization         St Johns Evangelical Lutheran Church                        New Birth of Freedom 544                                    P.O. Box 270                                           Berrysburg, PA 17005‐0270                                                                                       First Class Mail
Chartered Organization         St Johns Evangelical Lutheran Church                        Hawk Mountain Council 528                                   45 N Reading Ave                                       Boyertown, PA 19512‐1039                                                                                        First Class Mail
Chartered Organization         St Johns Evangelical Lutheran Church                        Hawk Mountain Council 528                                   45 N Reading Ave                                       Boyertown, PA 19512‐1039                                                                                        First Class Mail
Chartered Organization         St Johns Evangelical Lutheran Church                        Minsi Trails Council 502                                    2745 Morgan Hill Rd                                    Easton, PA 18042‐7060                                                                                           First Class Mail
Chartered Organization         St Johns Evangelical Lutheran Church                        Bay‐Lakes Council 635                                       101 W Main St                                          Gillett, WI 54124‐9373                                                                                          First Class Mail
Chartered Organization         St Johns Evangelical Lutheran Church                        Simon Kenton Council 441                                    3220 Columbus St                                       Grove City, OH 43123‐3244                                                                                       First Class Mail
Chartered Organization         St Johns Evangelical Lutheran Church                        Hawk Mountain Council 528                                   E. Main & Maple Sts.                                   Kutztown, PA 19530                                                                                              First Class Mail
Chartered Organization         St Johns Evangelical Lutheran Church                        Susquehanna Council 533                                     300 Queen St                                           Northumberland, PA 17857‐1810                                                                                   First Class Mail
Chartered Organization         St Johns Evangelical Lutheran Church                        Cradle of Liberty Council 525                               3101 Tyson Ave                                         Philadelphia, PA 19149‐2031                                                                                     First Class Mail
Chartered Organization         St Johns Evangelical Lutheran Church                        Northern New Jersey Council, Bsa 333                        145 Mortimer Ave                                       Rutherford, NJ 07070‐1614                                                                                       First Class Mail
Chartered Organization         St Johns Evangelical Lutheran Church                        Abraham Lincoln Council 144                                 2477 W Washington St                                   Springfield, IL 62702‐3438                                                                                      First Class Mail
Voting Party                   St Johns Evangelical Lutheran Church                        Attn: Laura Stephens                                        1430 Melody Lane                                       El Cajon, CA 92019                                                        secretary@sj.sdcoxmail.com            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St John's Evangelical Lutheran Church                       Southern Shores Fsc 783                                     P.O. Box 218                                           Fowlerville, MI 48836‐0218                                                                                      First Class Mail
Chartered Organization         St John's Evangelical Lutheran Church                       Glaciers Edge Council 620                                   100 Oak St                                             Prairie Du Sac, WI 53578‐1548                                                                                   First Class Mail
Chartered Organization         St John's Evangelical Lutheran Church                       Central N Carolina Council 416                              200 W Innes St                                         Salisbury, NC 28144‐4327                                                                                        First Class Mail
Voting Party                   St John's Evangelical Lutheran Church Of Sunnyvale, CA      Attn: Sue Hutchins, Treasurer                               1025 the Dalles Ave                                    Sunnyvale, CA 94087                                                       lettyatstlukechurch@gmail.com         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Johns Faith Ucc                                          Pathway To Adventure 456                                    21302 Maple St                                         Matteson, IL 60443‐2588                                                                                         First Class Mail
Chartered Organization         St John's Hains Utd Church Of Christ                        Hawk Mountain Council 528                                   P.O. Box 148                                           Wernersville, PA 19565‐0148                                                                                     First Class Mail
Chartered Organization         St Johns Holy Angels Rc Ch                                  Del Mar Va 081                                              82 Possum Park Rd                                      Newark, DE 19711‐3858                                                                                           First Class Mail
Chartered Organization         St Johns Holy Name Society                                  Samoset Council, Bsa 627                                    201 W Blodgett St                                      Marshfield, WI 54449‐2004                                                                                       First Class Mail
Voting Party                   St John's Korean United Methodist Church                    Attn: Rev Sang‐Yeon Cho                                     2600 Massachusetts Ave                                 Lexington, MA 02421                                                       sangyean@hotmail.com                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Johns Lutheran                                           Black Hills Area Council 695 695                            13275 Fall River Rd                                    Hot Springs, SD 57747‐7238                                                                                      First Class Mail
Chartered Organization         St Johns Lutheran                                           Central N Carolina Council 416                              200 W Innes St                                         Salisbury, NC 28144‐4327                                                                                        First Class Mail
Chartered Organization         St Johns Lutheran Ch/Lutheran Sch Assoc                     Greater St Louis Area Council 312                           2727 N Union Blvd                                      Decatur, IL 62526‐3247                                                                                          First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Bay‐Lakes Council 635                                       1209 W Cir Dr                                          Beaver Dam, WI 53916‐1207                                                                                       First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Hawk Mountain Council 528                                   1035 Old River Rd                                      Birdsboro, PA 19508‐8336                                                                                        First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Hawk Mountain Council 528                                   1035 Old River Rd                                      Birdsboro, PA 19508‐8336                                                                                        First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Greater New York Councils, Bsa 640                          155 Milton St                                          Brooklyn, NY 11222‐2501                                                                                         First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Black Swamp Area Council 449                                655 Wayne Ave                                          Defiance, OH 43512‐2659                                                                                         First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Mid‐America Council 326                                     902 Montague St                                        Dunlap, IA 51529‐1151                                                                                           First Class Mail
Chartered Organization         St Johns Lutheran Church                                    East Liverpool                                              400 Hill Blvd                                          East Liverpool, OH 43920‐4224                                                                                   First Class Mail
Chartered Organization         St Johns Lutheran Church                                    New Birth of Freedom 544                                    13 E Main St                                           Fairfield, PA 17320‐8966                                                                                        First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Seneca Waterways 397                                        153 Church Ave                                         Farmington, NY 14425‐7025                                                                                       First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Black Swamp Area Council 449                                1701 Tiffin Ave                                        Findlay, OH 45840‐6846                                                                                          First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Northeast Iowa Council 178                                  P.O. Box 819                                           Guttenberg, IA 52052‐0819                                                                                       First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Northeast Iowa Council 178                                  203 Pearl St                                           Guttenberg, IA 52052‐9120                                                                                       First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Hawk Mountain Council 528                                   Church & Pine Sts                                      Hamburg, PA 19526                                                                                               First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Hawk Mountain Council 528                                   99 Church St                                           Hamburg, PA 19526‐1213                                                                                          First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Hawk Mountain Council 528                                   Main & Maple Sts                                       Kutztown, PA 19530                                                                                              First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Northern Star Council 250                                   20165 Heath Ave                                        Lakeville, MN 55044                                                                                             First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Hoosier Trails Council 145 145                              4937 State Rd 48                                       Lawrenceburg, IN 47025                                                                                          First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Mid‐America Council 326                                     201 1st Ave Nw                                         Le Mars, IA 51031‐3223                                                                                          First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Hoosier Trails Council 145 145                              202 NW 1st St                                          Loogootee, IN 47553                                                                                             First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Theodore Roosevelt Council 386                              1 Van Roo Ave                                          Merrick, NY 11566‐3111                                                                                          First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Hawk Mountain Council 528                                   33 S Church St                                         Mohnton, PA 19540‐1701                                                                                          First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Northern Star Council 250                                   1416 Fairview Ln                                       Mound, MN 55364                                                                                                 First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Buckeye Council 436                                         203 E Mansfield St                                     New Washington, OH 44854‐9512                                                                                   First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Northern Star Council 250                                   500 3rd St W                                           Northfield, MN 55057‐1717                                                                                       First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Orange County Council 039                                   154 S Shaffer St                                       Orange, CA 92866‐1609                                                                                           First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Glaciers Edge Council 620                                   625 E Netherwood St                                    Oregon, WI 53575‐1222                                                                                           First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Miami Valley Council, Bsa 444                               248 Wood St                                            Piqua, OH 45356‐3565                                                                                            First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Bay‐Lakes Council 635                                       222 Stafford St                                        Plymouth, WI 53073‐1839                                                                                         First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Blue Ridge Council 551                                      P.O. Box 198                                           Pomaria, SC 29126‐0198                                                                                          First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Coastal Georgia Council 099                                 301 N Columbia Ave                                     Rincon, GA 31326‐6818                                                                                           First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Hawk Mountain Council 528                                   112 W Main St                                          Ringtown, PA 17967                                                                                              First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Longs Peak Council 062                                      2220 Broadway                                          Scottsbluff, NE 69361‐1970                                                                                      First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Hawk Mountain Council 528                                   4125 Penn Ave                                          Sinking Spring, PA 19608‐1172                                                                                   First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Miami Valley Council, Bsa 444                               122 W National Rd                                      Vandalia, OH 45377‐1935                                                                                         First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Seneca Waterways 397                                        888 County Rd 9                                        Victor, NY 14564‐9349                                                                                           First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Garden State Council 690                                    1002 S Main St                                         Williamstown, NJ 08094‐2088                                                                                     First Class Mail
Chartered Organization         St Johns Lutheran Church                                    Washington Crossing Council 777                             1203 Pine Grove Rd                                     Yardley, PA 19067‐3307                                                                                          First Class Mail
Voting Party                   St Johns Lutheran Church                                    Attn: Robert D Walters                                      305 E Elizabeth St                                     Fort Collins, CO 80524                                                    robertdalewalters@gmail.com           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Johns Lutheran Church                                    Attn: Council President                                     5952 Franconia Rd                                      Alexandria, VA 22310                                                      council.president@sjlc.com            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St John's Lutheran Church                                   Minsi Trails Council 502                                    37 S 5th St                                            Allentown, PA 18101‐1607                                                                                        First Class Mail
Chartered Organization         St John's Lutheran Church                                   Southern Sierra Council 030                                 4500 Buena Vista Rd                                    Bakersfield, CA 93311‐9702                                                                                      First Class Mail
Chartered Organization         St John's Lutheran Church                                   Potawatomi Area Council 651                                 20275 Davidson Rd                                      Brookfield, WI 53045‐3552                                                                                       First Class Mail
Chartered Organization         St John's Lutheran Church                                   Buffalo Trace 156                                           P.O. Box 84                                            Dubois, IN 47527‐0084                                                                                           First Class Mail
Chartered Organization         St John's Lutheran Church                                   Minsi Trails Council 502                                    P.O. Box 4152                                          Jim Thorpe, PA 18229‐4152                                                                                       First Class Mail
Chartered Organization         St John's Lutheran Church                                   Mid‐America Council 326                                     201 1st Ave Nw                                         Le Mars, IA 51031‐3223                                                                                          First Class Mail
Chartered Organization         St John's Lutheran Church                                   Three Fires Council 127                                     215 S Lincoln St                                       Lombard, IL 60148‐2510                                                                                          First Class Mail
Chartered Organization         St John's Lutheran Church                                   Great Rivers Council 653                                    1000 Dorcas St                                         Mexico, MO 65265‐1129                                                                                           First Class Mail
Chartered Organization         St John's Lutheran Church                                   Hawk Mountain Council 528                                   33 S Church St                                         Mohnton, PA 19540‐1701                                                                                          First Class Mail
Chartered Organization         St John's Lutheran Church                                   Hawk Mountain Council 528                                   222 S Tulpehocken St                                   Pine Grove, PA 17963‐1014                                                                                       First Class Mail
Chartered Organization         St John's Lutheran Church                                   Minsi Trails Council 502                                    P.O. Box 2                                             Saint Johns, PA 18247‐0002                                                                                      First Class Mail
Chartered Organization         St John's Lutheran Church                                   Hawk Mountain Council 528                                   4125 Penn Ave                                          Sinking Spring, PA 19608‐1172                                                                                   First Class Mail
Chartered Organization         St John's Lutheran Church                                   Palmetto Council 549                                        415 S Pine St                                          Spartanburg, SC 29302‐2752                                                                                      First Class Mail
Chartered Organization         St John's Lutheran Church                                   Samoset Council, Bsa 627                                    B3750 State Hwy 13                                     Spencer, WI 54479                                                                                               First Class Mail
Chartered Organization         St John's Lutheran Church                                   Seneca Waterways 397                                        888 County Rd 9                                        Victor, NY 14564‐9349                                                                                           First Class Mail
Chartered Organization         St John's Lutheran Church                                   Chief Cornplanter Council, Bsa 538                          200 Pleasant Dr                                        Warren, PA 16365‐3350                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 355 of 442
                                                                                   Case 20-10343-LSS                                       Doc 8171                                  Filed 01/06/22                                                   Page 371 of 457
                                                                                                                                                                        Exhibit B
                                                                                                                                                                         Service List
                                                                                                                                                                  Served as set forth below

        Description                                                         Name                                                                                      Address                                                                                                             Email                Method of Service
Voting Party                   St John's Lutheran Church                                     c/o Weld Riley, SC                      Attn: William E Wallo                                  P.O. Box 1030                      Eau Claire, WI 54702             wwallo@weldriley.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's Lutheran Church                                     Attn: Thomas Walther                    1804 Highland Ave                                      Eau Claire, WI 54701                                                tomandlav1@outlook.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's Lutheran Church                                     Attn: President & Jacob Allstaedt       47 Winthrop St                                         Williston Park, NY 11596                                            pastor@stjohns‐wp.org               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's Lutheran Church                                     Attn: Gregory P. Miller                                                                                                                                            millergp@rcn.com                    Email
Voting Party                   St John's Lutheran Church                                     1301 Milnwood Rd                        Farmville, VA 23901                                                                                                        jbpprinting@gmail.com               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Johns Lutheran Church ‐ Dickinson                          Northern Lights Council 429             146 6th Ave W                                          Dickinson, ND 58601‐5009                                                                                First Class Mail
Chartered Organization         St Johns Lutheran Church ‐ Massillon                          Buckeye Council 436                     1900 Wales Rd Ne                                       Massillon, OH 44646‐4194                                                                                First Class Mail
Chartered Organization         St Johns Lutheran Church And School                           Denver Area Council 061                 700 S Franklin St                                      Denver, CO 80209‐4505                                                                                   First Class Mail
Chartered Organization         St Johns Lutheran Church And School                           Three Fires Council 127                 101 N Spring St                                        Elgin, IL 60120‐5519                                                                                    First Class Mail
Chartered Organization         St Johns Lutheran Church Elca                                 Chippewa Valley Council 637             1804 Highland Ave                                      Eau Claire, WI 54701‐4343                                                                               First Class Mail
Chartered Organization         St Johns Lutheran Church Of Amherst                           Greater Niagara Frontier Council 380    6540 Main St                                           Williamsville, NY 14221‐5847                                                                            First Class Mail
Voting Party                   St John's Lutheran Church Of Coplay, PA                       Attn: Gregory Miller                    18 S 3rd St                                            Coplay, PA 18037                                                    stjohnscoplay@rcn.com               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Johns Lutheran Church Of Jamestown ND                      Attn: Rev Erik S Weber                  424 1st Ave S                                          Jamestown, ND 58401                                                 stjohns@st‐johnslutheran.org        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's Lutheran Church Of Northfield MN                    500 W 3rd St                            Northfield, MN 55057                                                                                                       mitz402@gmail.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Johns Lutheran Highland Church                             Laurel Highlands Council 527            311 Cumberland Rd                                      Pittsburgh, PA 15237‐5409                                                                               First Class Mail
Chartered Organization         St John's Lutheran School                                     Three Fires Council 127                 220 S Lincoln Ave                                      Lombard, IL 60148‐2511                                                                                  First Class Mail
Chartered Organization         St Johns Lutheran School Parents                              At Work For Our School                  109 N Spring St                                        Elgin, IL 60120‐5519                                                                                    First Class Mail
Chartered Organization         St Johns Masonic Lodge 45                                     Flint River Council 095                 P.O. Box 1030                                          Jackson, GA 30233‐0022                                                                                  First Class Mail
Chartered Organization         St John's Masons Lodge 105                                    Water and Woods Council 782             915 W State St                                         Saint Johns, MI 48879‐1403                                                                              First Class Mail
Chartered Organization         St Johns Methodist Church                                     Las Vegas Area Council 328              1730 Kino Ave                                          Kingman, AZ 86409‐3083                                                                                  First Class Mail
Chartered Organization         St Johns Methodist Church                                     Baltimore Area Council 220              216 W Seminary Ave                                     Lutherville, MD 21093‐5337                                                                              First Class Mail
Chartered Organization         St Johns Methodist Men                                        National Capital Area Council 082       5312 Backlick Rd                                       Springfield, VA 22151‐3313                                                                              First Class Mail
Chartered Organization         St Johns Military Sch Historical Museum                       Coronado Area Council 192               110 W Otis Ave                                         Salina, KS 67401‐8713                                                                                   First Class Mail
Chartered Organization         St Johns Missionary Baptist Church                            Coronado Area Council 192               215 S Chicago St                                       Salina, KS 67401‐3859                                                                                   First Class Mail
Voting Party                   St John's Mt Washington                                       Attn: Devon Ellison                     2211 W Rogers Ave                                      Baltimore, MD 21209                                                 admin@stjohnsmtwashington.org       Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's Of Lattingtown                                      325 Lattingtown Rd                      Locust Valley, NY 11560                                                                                                                                        First Class Mail
Chartered Organization         St Johns Parish                                               Juniata Valley Council 497              134 E Bishop St                                        Bellefonte, PA 16823‐1975                                                                               First Class Mail
Chartered Organization         St Johns Parish Day School Inc                                Greater Tampa Bay Area 089              906 S Orleans Ave                                      Tampa, FL 33606‐2941                                                                                    First Class Mail
Voting Party                   St John's Parish In Chula Vista, CA                           Attn: Kirby Smith                       2083 Sunset Cliffs Blvd                                San Diego, CA 92107                                                 ksmith@edsd.org                     Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's Parish In Chula Vista, CA                           c/o Sullivan Hill Rez & Engel           Attn: James P Hill, Esq                                600 B St, Ste 1700                 San Diego, CA 92101              hill@sullivanhill.com               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Johns Parish Of Aurora County                              Sioux Council 733                       P.O. Box 430                                           Plankinton, SD 57368‐0430                                                                               First Class Mail
Chartered Organization         St Johns Parish Youth Council                                 Western Massachusetts Council 234       823 Main St                                            Agawam, MA 01001‐2527                                                                                   First Class Mail
Chartered Organization         St Johns Presbyterian Church                                  Sam Houston Area Council 576            5020 W Bellfort St                                     Houston, TX 77035‐3229                                                                                  First Class Mail
Chartered Organization         St Johns Presbyterian Church                                  North Florida Council 087               4275 Herschel St                                       Jacksonville, FL 32210‐2207                                                                             First Class Mail
Chartered Organization         St Johns Presbyterian Church                                  Nevada Area Council 329                 1070 W Plumb Ln                                        Reno, NV 89509‐3633                                                                                     First Class Mail
Chartered Organization         St John's Presbyterian Church                                 Chester County Council 539              217 Berkley Rd                                         Devon, PA 19333‐1513                                                                                    First Class Mail
Chartered Organization         St John's Presbyterian Church                                 W.L.A.C.C. 051                          11000 National Blvd                                    Los Angeles, CA 90064‐4028                                                                              First Class Mail
Voting Party                   St John's Presbyterian Church Of Rancho Park                  Attn: Steven Craig                      11000 National Blvd                                    Los Angeles, CA 90064                                               steven.craig@stjohnspres.org        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's Presbyterian Church Of Rancho Park                  Attn: Steven Craig                      1100 National Blvd                                     Los Angeles, CA 90064                                               steven.craig@stjohnpres.org         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's Presbyterian Church Of Rancho Park                  Attn: Clark Brown                       2610 1/2 Abbot Kinney Blvd                             Venice, CA 90291                                                    clarkbrown@jcbjrlaw.com             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Johns Protestant Episcopal Church                          149‐49 Sanford Ave                      Flushing, NY 11355                                                                                                         dariopalasi@aol.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Johns River Base At Echockotee                             Watersports                             2513 Doctors Lake Dr                                   Orange Park, FL 32073‐6111                                                                              First Class Mail
Chartered Organization         St Johns Roman Catholic Church                                Black Swamp Area Council 449            510 Jackson Ave                                        Defiance, OH 43512‐2125                                                                                 First Class Mail
Chartered Organization         St Johns Roman Catholic Church                                Connecticut Rivers Council, Bsa 066     10 Railroad Ave                                        Plainfield, CT 06374‐1215                                                                               First Class Mail
Chartered Organization         St Johns Roman Catholic Church                                Connecticut Rivers Council, Bsa 066     10 Railroad Ave                                        Plainfield, CT 06374‐1215                                                                               First Class Mail
Chartered Organization         St Johns Roman Catholic Church                                Connecticut Rivers Council, Bsa 066     22 Maple Ave                                           Uncasville, CT 06382‐2345                                                                               First Class Mail
Chartered Organization         St Johns Roman Catholic Church                                Baltimore Area Council 220              43 Monroe St                                           Westminster, MD 21157‐4562                                                                              First Class Mail
Chartered Organization         St Johns School                                               South Georgia Council 098               800 Gornto Rd                                          Valdosta, GA 31602‐1255                                                                                 First Class Mail
Voting Party                   St John's Turnersville                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Johns Ucc Of San Francisco                                 501 Laguna Honda Blvd                   San Francisco, CA 94127                                                                                                    hillgraph@gmail.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Johns Umc                                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's Umc                                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's Umc (3180)                                          c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's Umc 2626 Arizona                                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's Umc Baton Rouge                                     Attn: Trustee Chair                     230 Renee Dr                                           Baton Rouge, LA 70810                                               office@stjohnsbr.org                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's Umc, Harrisonville                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Johns Umc, Santa Fe                                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Johns United Methodist Church                              Attn: Linda Groft                       P.O. Box 185                                           Hampstead, MD 21074                                                 nccpumc@gmail.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Johns United Methodist Church                              Attn: John R Motley                     729 Kendall Dr                                         Nashville, TN 37209                                                 motleyjohn@bellsouth.net            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Johns United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Johns United Methodist Church                              6300 Charlotte Pike                     Nashville, TN 37209                                                                                                                                            First Class Mail
Voting Party                   St John's United Methodist Church                             Attn: Christine Jones                   216 W Seminary Ave                                     Lutherville, MD 21093                                               pastornickbufano@gmail.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church                             Attn: Duane Roth                        2140 Allandale                                         Austin, TX 78756                                                    duane@stjohnsaustin.org             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church                             Attn: Janet Warfield, Treasurer         28 Cataract Ave                                        Dover, NH 03820                                                     churchoffice.sjumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church                             Attn: Chris Greene                      515 S Mcduffie St                                      Anderson, SC 29624                                                  chris@stjohnsanderson.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church                             Attn: Bruce D Hamende                   P.O. Box 271216                                        Corpus Christi, TX 78427                                            bruce.hamende@gmail.com             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church                             2105 Stuart Ave                         Valley Stream, NY 11580                                                                                                    admin@stjohnsumce.org               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church Des Moines IA               Attn: Rosemary Johnson                  4700 SW 14th St                                        Des Moines, IA 50315                                                cpaxix@aol.com                      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church Of Davenport, Iowa          Attn: Jeffrey Mark Dadisman             109 E 14th St                                          Davenport, IA 52803                                                 revjeffdadisman@stjohnsumcdav.org   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church Of Fort Mill                Attn: John Vaughan                      130 Tom Hall St                                        Fort Mill, SC 29715                                                 mvaughan5859@gmail.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church Of Fort Mill                Attn: John Vaughan                      1907 Bellflower Dr                                     Fort Mill, SC 29715                                                 mvaughan5859@gmail.com              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church Of Norway, South Carolina   Attn: Rev Nicholas Perez                207 St Johns Ave                                       Norway, SC 29113                                                    ndperez@umcsc.org                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church Of Norway, South Carolina   Attn: Nicholas Perez                    217 St Johns Ave                                       Norway, SC 29113                                                    ndperez@umcsc.org                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church, Inc Of Kershaw County      Attn: Johnnie B Shirley                 1423 Horsehead Rd                                      Lugoff, SC 29078                                                    shirleyjb6573@gmail.com             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church, Inc Of Kershaw County      Attn: Kay G Crowe                       1613 Main St                                           Columbia, SC 29201                                                  chancellor@umcsc.org                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St John's United Methodist Church, Inc Of Kershaw County      Attn: Johnnie B Shirley                 P.O. Box 218                                           Lugoff, SC 29078                                                                                        First Class Mail
Chartered Organization         St Johns Utd Ch Christ Farmersville                           Minsi Trails Council 502                8065 William Penn Hwy                                  Easton, PA 18045‐2938                                                                                   First Class Mail
Chartered Organization         St John's Utd Church                                          Lasalle Council 165                     225 W Lincoln Ave                                      Chesterton, IN 46304‐2404                                                                               First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 Strasburg                               Buckeye Council 436                                    516 N Wooster Ave                                                                                       First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 Hoosier Trails Council 145 145          300 N Huntersville Rd                                  Batesville, IN 47006‐9202                                                                               First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 Blackhawk Area 660                      401 N Main St                                          Belvidere, IL 61008‐2723                                                                                First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 New Birth of Freedom 544                1811 Lincoln Way E                                     Chambersburg, PA 17202‐3349                                                                             First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 Minsi Trails Council 502                139 N 4th St                                           Emmaus, PA 18049‐2732                                                                                   First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 Blackhawk Area 660                      1010 S Park Blvd                                       Freeport, IL 61032‐4657                                                                                 First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 Westmoreland Fayette 512                1230 Brownstone Rd                                     Larimer, PA 15647                                                                                       First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 Rainbow Council 702                     11100 2nd St                                           Mokena, IL 60448‐1512                                                                                   First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 Minsi Trails Council 502                183 S Broad St                                         Nazareth, PA 18064‐2153                                                                                 First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 Dan Beard Council, Bsa 438              415 Park Ave                                           Newport, KY 41071‐1792                                                                                  First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 Hawk Mountain Council 528               236 E Market St                                        Orwigsburg, PA 17961‐1906                                                                               First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 New Birth of Freedom 544                161 N Main St                                          Red Lion, PA 17356‐1708                                                                                 First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 New Birth of Freedom 544                161 N Main St                                          Red Lion, PA 17356‐1708                                                                                 First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 Sam Houston Area Council 576            1513 West St                                           Rosenberg, TX 77471‐3159                                                                                First Class Mail
Chartered Organization         St Johns Utd Church Of Christ                                 Susquehanna Council 533                 117 N 8th St                                           Shamokin, PA 17872‐5608                                                                                 First Class Mail
Chartered Organization         St John's Utd Church Of Christ                                Crossroads of America 160               7031 S East St                                         Indianapolis, IN 46227‐8515                                                                             First Class Mail
Chartered Organization         St John's Utd Church Of Christ                                Minsi Trails Council 502                1415 Rising Sun Rd                                     Laurys Station, PA 18059‐1112                                                                           First Class Mail
Chartered Organization         St John's Utd Church Of Christ                                Lasalle Council 165                     101 St John Rd                                         Michigan City, IN 46360‐7329                                                                            First Class Mail
Chartered Organization         St John's Utd Church Of Christ                                Lasalle Council 165                     200 W Buffalo St                                       New Buffalo, MI 49117‐1808                                                                              First Class Mail
Chartered Organization         St John's Utd Church Of Christ                                Hawk Mountain Council 528               150 Pine St                                            Tamaqua, PA 18252‐1409                                                                                  First Class Mail
Chartered Organization         St Johns Utd Church Of Christ ‐ Dover                         Buckeye Council 436                     409 N Wooster Ave                                      Dover, OH 44622‐2860                                                                                    First Class Mail
Chartered Organization         St Johns Utd Methodist Ch Georgetown                          Capitol Area Council 564                311 E University Ave                                   Georgetown, TX 78626‐6812                                                                               First Class Mail
Chartered Organization         St Johns Utd Methodist Church                                 Great Swest Council 412                 2626 Arizona St NE                                     Albuquerque, NM 87110‐3337                                                                              First Class Mail
Chartered Organization         St Johns Utd Methodist Church                                 Great Alaska Council 610                1801 Omalley Rd                                        Anchorage, AK 99507‐7304                                                                                First Class Mail
Chartered Organization         St Johns Utd Methodist Church                                 Istrouma Area Council 211               230 Renee Dr                                           Baton Rouge, LA 70810‐4059                                                                              First Class Mail
Chartered Organization         St Johns Utd Methodist Church                                 Del Mar Va 081                          P.O. Box 82                                            Charlestown, MD 21914‐0082                                                                              First Class Mail
Chartered Organization         St Johns Utd Methodist Church                                 Illowa Council 133                      109 E 14th St                                          Davenport, IA 52803‐4507                                                                                First Class Mail
Chartered Organization         St Johns Utd Methodist Church                                 Greater St Louis Area Council 312       7372 Marine Rd                                         Edwardsville, IL 62025‐4548                                                                             First Class Mail
Chartered Organization         St Johns Utd Methodist Church                                 New Birth of Freedom 544                165 Firehouse Rd                                       Grantville, PA 17028‐8727                                                                               First Class Mail
Chartered Organization         St Johns Utd Methodist Church                                 Middle Tennessee Council 560            6300 Charlotte Pike                                    Nashville, TN 37209‐2927                                                                                First Class Mail
Chartered Organization         St Johns Utd Methodist Church                                 Palmetto Council 549                    321 S Oakland Ave                                      Rock Hill, SC 29730‐4543                                                                                First Class Mail
Chartered Organization         St Johns Utd Methodist Church                                 Del Mar Va 081                          P.O. Box 299                                           Seaford, DE 19973‐0299                                                                                  First Class Mail
Chartered Organization         St Johns Utd Methodist Church                                 Buckskin 617                            335 Church St                                          Spencer, WV 25276‐1809                                                                                  First Class Mail
Chartered Organization         St Johns Utd Methodist Church                                 Stonewall Jackson Council 763           1716 N Augusta St                                      Staunton, VA 24401‐2429                                                                                 First Class Mail
Chartered Organization         St John's Utd Methodist Church                                Blue Ridge Council 551                  515 N Mcduffie St                                      Anderson, SC 29621‐5528                                                                                 First Class Mail
Chartered Organization         St John's Utd Methodist Church                                Palmetto Council 549                    130 Tom Hall St                                        Fort Mill, SC 29715‐1850                                                                                First Class Mail
Chartered Organization         St John's Utd Methodist Church                                Indian Waters Council 553               45 Roseborough Rd                                      Lugoff, SC 29078                                                                                        First Class Mail
Chartered Organization         St John's Utd Methodist Church                                Southwest Florida Council 088           6611 Proctor Rd                                        Sarasota, FL 34241‐9622                                                                                 First Class Mail
Chartered Organization         St John's Utd Methodist Church                                Stonewall Jackson Council 763           1716 N Augusta St                                      Staunton, VA 24401‐2429                                                                                 First Class Mail
Chartered Organization         St Johns Utd Methodist Men                                    National Capital Area Council 082       5312 Backlick Rd                                       Springfield, VA 22151‐3313                                                                              First Class Mail
Chartered Organization         St Johns Utd Methodist Mens Club                              Lincoln Heritage Council 205            12700 W Hwy 42                                         Prospect, KY 40059‐9143                                                                                 First Class Mail
Voting Party                   St John's Westminster Roman Catholic Congregation, Inc        c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                  218 N Charles St, Ste 400          Baltimore, MD 21201              moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Johns Westminster Union Church                             Dan Beard Council, Bsa 438              1085 Neeb Rd                                           Cincinnati, OH 45233‐4106                                                                               First Class Mail
Voting Party                   St John's, Mt Washington                                      2211 W Rogers Ave                       Baltimore, MD 21209                                                                                                        admin@stjohnsmtwashington.org       Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Johns/St Josephs Cathedral                                 Ore‐Ida Council 106 ‐ Bsa 106           775 N 8th St                                           Boise, ID 83702‐5520                                                                                    First Class Mail
Chartered Organization         St Joseph Academy, Inc                                        Three Harbors Council 636               1600 W Oklahoma Ave                                    Milwaukee, WI 53215‐4518                                                                                First Class Mail
Chartered Organization         St Joseph Alternative School                                  Lincoln Heritage Council 205            2823 Frankfort Ave                                     Louisville, KY 40206‐2639                                                                               First Class Mail
Chartered Organization         St Joseph Ame Church                                          Occoneechee 421                         2521 Fayetteville St                                   Durham, NC 27707‐4125                                                                                   First Class Mail
Chartered Organization         St Joseph And Paul Catholic Church                            Lincoln Heritage Council 205            609 E 4th St                                           Owensboro, KY 42303‐3315                                                                                First Class Mail
Chartered Organization         St Joseph Athletic Assoc                                      Three Harbors Council 636               12200 W Center St                                      Milwaukee, WI 53222                                                                                     First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Golden Spread Council 562               4122 S Bonham St                                       Amarillo, TX 79110‐1113                                                                                 First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Bay‐Lakes Council 635                   404 W Lawrence St                                      Appleton, WI 54911‐5817                                                                                 First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Cornhusker Council 324                  P.O. Box 406                                           Auburn, NE 68305‐0406                                                                                   First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Daniel Webster Council, Bsa 330         96 Main St                                             Belmont, NH 03220                                                                                       First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Sam Houston Area Council 576            600 E 26th St                                          Bryan, TX 77803‐4021                                                                                    First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Dan Beard Council, Bsa 438              4011 Alexandria Pike                                   Cold Spring, KY 41076‐2023                                                                              First Class Mail
Chartered Organization         St Joseph Catholic Church                                     South Texas Council 577                 710 S 19th St                                          Corpus Christi, TX 78405‐1520                                                                           First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Great Trail 433                         215 Falls Ave                                          Cuyahoga Falls, OH 44221‐3907                                                                           First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Rio Grande Council 775                  114 W Fay St                                           Edinburg, TX 78539‐4327                                                                                 First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Westark Area Council 016                1722 N Starr Dr                                        Fayetteville, AR 72701‐2937                                                                             First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Westark Area Council 016                1722 N Starr Dr                                        Fayetteville, AR 72701‐2937                                                                             First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Black Swamp Area Council 449            135 N Water St                                         Fort Jennings, OH 45844‐9658                                                                            First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Istrouma Area Council 211               15710 La Hwy 16                                        French Settlement, LA 70733‐2411                                                                        First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Holy Name Society                       936 9th St                                             Green Bay, WI 54304‐3439                                                                                First Class Mail
Chartered Organization         St Joseph Catholic Church                                     National Capital Area Council 082       750 Peachtree St                                       Herndon, VA 20170‐3700                                                                                  First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Southern Shores Fsc 783                 440 E Washington St                                    Howell, MI 48843‐2347                                                                                   First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Chief Seattle Council 609               220 Mt Park Blvd Sw                                    Issaquah, WA 98027‐3610                                                                                 First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Buffalo Trace 156                       1020 Kundeck St                                        Jasper, IN 47546‐1917                                                                                   First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Buffalo Trace 156                       1029 Kundeck St                                        Jasper, IN 47546‐1918                                                                                   First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Blue Mountain Council 604               520 S Garfield St                                      Kennewick, WA 99336‐5566                                                                                First Class Mail
Chartered Organization         St Joseph Catholic Church                                     Great Lakes Fsc 272                     715 N Lapeer Rd                                        Lake Orion, MI 48362‐1530                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                         Page 356 of 442
                                                                                    Case 20-10343-LSS                                                                         Doc 8171                                            Filed 01/06/22                                                    Page 372 of 457
                                                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                                                      Service List
                                                                                                                                                                                                               Served as set forth below

        Description                                                          Name                                                                                                                                  Address                                                                                                               Email              Method of Service
Chartered Organization         St Joseph Catholic Church                                                         Heart of America Council 307                           747 Osage St                                                     Leavenworth, KS 66048‐1857                                                                              First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Middle Tennessee Council 560                           1225 Gallatin Pike S                                             Madison, TN 37115‐4612                                                                                  First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Great Trail 433                                        11045 Saint Joseph Blvd                                          Mantua, OH 44255‐9457                                                                                   First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Shenandoah Area Council 598                            366 S Queen St                                                   Martinsburg, WV 25401                                                                                   First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         New Birth of Freedom 544                               400 E Simpson St                                                 Mechanicsburg, PA 17055‐6507                                                                            First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Evangeline Area 212                                    P.O. Box 299                                                     Milton, LA 70558‐0299                                                                                   First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Great Smoky Mountain Council 557                       P.O. Box 387                                                     Norris, TN 37828‐0387                                                                                   First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Hoosier Trails Council 145 145                         629 Clay St                                                      North Vernon, IN 47265‐1108                                                                             First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         1011 1st St                                            Patterson, LA 70392                                                                                                                                                      First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Buffalo Trace 156                                      215 S Elliott St                                                 Olney, IL 62450‐2740                                                                                    First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Istrouma Area Council 211                              P.O. Box 129                                                     Paulina, LA 70763‐0129                                                                                  First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Orange County Council 039                              717 N Bradford Ave                                               Placentia, CA 92870‐4514                                                                                First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Greater St Louis Area Council 312                      802 Middle St                                                    Prairie Du Rocher, IL 62277‐2138                                                                        First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Tukabatchee Area Council 005                           511 N Memorial Dr                                                Prattville, AL 36067‐2133                                                                               First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Illowa Council 133                                     250 S Faith St                                                   Preston, IA 52069‐9730                                                                                  First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Buffalo Trace 156                                      410 S Race St                                                    Princeton, IN 47670‐2508                                                                                First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Evangeline Area 212                                    401 S Adams Ave                                                  Rayne, LA 70578‐5839                                                                                    First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Circle Ten Council 571                                 600 S Jupiter Rd                                                 Richardson, TX 75081‐4756                                                                               First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Northern Star Council 250                              139000 Biscayne Ave W                                            Rosemount, MN 55068                                                                                     First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Water and Woods Council 782                            109 Linden St                                                    Saint Johns, MI 48879‐1837                                                                              First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Inland Nwest Council 611                               601 S Lincoln Ave                                                Sandpoint, ID 83864‐2324                                                                                First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Heart of America Council 307                           5901 Flint St                                                    Shawnee Mission, KS 66203‐2700                                                                          First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Crossroads of America 160                              125 E Broadway St                                                Shelbyville, IN 46176‐1441                                                                              First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Norwela Council 215                                    211 Atlantic Ave                                                 Shreveport, LA 71105‐3026                                                                               First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Pushmataha Area Council 691                            607 University Dr                                                Starkville, MS 39759‐3439                                                                               First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Black Swamp Area Council 449                           309 Perry St                                                     Wapakoneta, OH 45895‐2118                                                                               First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Blue Grass Council 204                                 248 S Main St                                                    Winchester, KY 40391‐2470                                                                               First Class Mail
Chartered Organization         St Joseph Catholic Church                                                         Cornhusker Council 324                                 505 N East Ave                                                   York, NE 68467‐3734                                                                                     First Class Mail
Voting Party                   St Joseph Catholic Church                                                         Rev Bradford Hernandez                                 1300 Old Hwy 20                                                  Manor, TX 78653.                                                     ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Joseph Catholic Church                                                         Attn: Rev Bradford Hernandez                           6225 E US 290 Hwy Svrd Eb                                        Austin, TX 78723                                                     ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Joseph Catholic Church ‐ Boosters                                              Erie Shores Council 460                                104 W Broadway St                                                Maumee, OH 43537‐2137                                                                                   First Class Mail
Chartered Organization         St Joseph Catholic Church ‐ Manchester                                            Greater St Louis Area Council 312                      567 Saint Joseph Ln                                              Manchester, MO 63021‐5316                                                                               First Class Mail
Chartered Organization         St Joseph Catholic Church Kimmswick                                               Greater St Louis Area Council 312                      6020 Old Antonia Rd                                              Imperial, MO 63052‐2268                                                                                 First Class Mail
Chartered Organization         St Joseph Catholic Community                                                      Longhorn Council 662                                   1927 SW Green Oaks Blvd                                          Arlington, TX 76017‐2734                                                                                First Class Mail
Chartered Organization         St Joseph Catholic Community                                                      Baltimore Area Council 220                             915 Liberty Rd                                                   Eldersburg, MD 21784‐7933                                                                               First Class Mail
Chartered Organization         St Joseph Catholic Parish                                                         Samoset Council, Bsa 627                               208 N Park Ave                                                   Crandon, WI 54520‐1351                                                                                  First Class Mail
Chartered Organization         St Joseph Catholic Parish Council                                                 Southern Shores Fsc 783                                211 Church St                                                    Saint Joseph, MI 49085‐1128                                                                             First Class Mail
Chartered Organization         St Joseph Church                                                                  The Spirit of Adventure 227                            790 Salem St                                                     Malden, MA 02148‐4415                                                                                   First Class Mail
Chartered Organization         St Joseph Church                                                                  Rainbow Council 702                                    P.O. Box 171                                                     Manhattan, IL 60442‐0171                                                                                First Class Mail
Chartered Organization         St Joseph Church                                                                  Lasalle Council 165                                    225 S Mill St                                                    Mishawaka, IN 46544‐2002                                                                                First Class Mail
Chartered Organization         St Joseph Church                                                                  Central Florida Council 083                            5320 Babcock St Ne                                               Palm Bay, FL 32905‐5016                                                                                 First Class Mail
Chartered Organization         St Joseph Church                                                                  Lasalle Council 165                                    226 N Hill St                                                    South Bend, IN 46617‐2720                                                                               First Class Mail
Chartered Organization         St Joseph Church                                                                  Erie Shores Council 460                                5373 Main St                                                     Sylvania, OH 43560‐2138                                                                                 First Class Mail
Chartered Organization         St Joseph Church ‐ Cottleville                                                    Greater St Louis Area Council 312                      1355 Motherhead Rd                                               Saint Charles, MO 63304‐7686                                                                            First Class Mail
Chartered Organization         St Joseph Church, Cottleville                                                     Greater St Louis Area Council 312                      1355 Motherhead Rd                                               Saint Charles, MO 63304‐7686                                                                            First Class Mail
Chartered Organization         St Joseph Co‐Cathedral                                                            Southeast Louisiana Council 214                        P.O. Box 966                                                     Thibodaux, LA 70302‐0966                                                                                First Class Mail
Chartered Organization         St Joseph Congregation                                                            Three Harbors Council 636                              12130 W Hadley St                                                Milwaukee, WI 53222‐4024                                                                                First Class Mail
Chartered Organization         St Joseph Episcopal Church                                                        Denver Area Council 061                                11202 W Jewell Ave                                               Lakewood, CO 80232‐6140                                                                                 First Class Mail
Voting Party                   St Joseph First United Methodist Church                                           Attn: Treasurer                                        2950 Lakeview                                                    St. Joseph, MI 49085                                                 office@sjfirstumc.org              Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Joseph Halfway Roman Catholic Congregation, Inc                                Attn: Matthew W Oakey                                  218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Joseph Halfway Roman Catholic Congregation, Inc                                c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Joseph Hillsboro Parish                                                        Attn: Andre L Kydala                                   54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                       First Class Mail
Chartered Organization         St Joseph Husband Mary Rc Ch                                                      Las Vegas Area Council 328                             7260 W Sahara Ave                                                Las Vegas, NV 89117‐2815                                                                                First Class Mail
Chartered Organization         St Joseph Imperial                                                                Greater St Louis Area Council 312                      6024 Old Antonia Rd                                              Imperial, MO 63052‐2268                                                                                 First Class Mail
Chartered Organization         St Joseph Indian School                                                           Sioux Council 733                                      1301 N Main St                                                   Chamberlain, SD 57325‐1656                                                                              First Class Mail
Chartered Organization         St Joseph Korean Catholic Center                                                  W.L.A.C.C. 051                                         20124 Saticoy St                                                 Winnetka, CA 91306‐2507                                                                                 First Class Mail
Chartered Organization         St Joseph Lions Club                                                              Central Minnesota 296                                  29456 Kale Ct                                                    Saint Joseph, MN 56374‐9605                                                                             First Class Mail
Chartered Organization         St Joseph Marello Parish                                                          Golden Empire Council 047                              7200 Auburn Folsom Rd                                            Granite Bay, CA 95746‐7319                                                                              First Class Mail
Chartered Organization         St Joseph Masonic Lodge 970                                                       Prairielands 117                                       P.O. Box 951                                                     Saint Joseph, IL 61873‐0951                                                                             First Class Mail
Chartered Organization         St Joseph Mens Club                                                               San Francisco Bay Area Council 028                     43148 Mission Blvd                                               Fremont, CA 94539‐5326                                                                                  First Class Mail
Voting Party                   St Joseph North Plainfield Parish                                                 Attn: Andre L Kydala                                   54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                       First Class Mail
Voting Party                   St Joseph Of Arimathea Episcopal Church                                           Attn: Priest St Joseph of Arimathea Episcopal Church   103 Country Club Dr                                              Hendersonville, TN 37075                                             robert@mysa.org                    Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Joseph Of The Lakes Catholic Churc                                             Northern Star Council 250                              171 Elm St                                                       Lino Lakes, MN 55014‐1271                                                                               First Class Mail
Chartered Organization         St Joseph Pack 9                                                                  Chief Seattle Council 609                              732 18th Ave E                                                   Seattle, WA 98112‐3928                                                                                  First Class Mail
Chartered Organization         St Joseph Parish                                                                  Quapaw Area Council 018                                1115 College Ave                                                 Conway, AR 72032‐6516                                                                                   First Class Mail
Chartered Organization         St Joseph Parish                                                                  Southern Shores Fsc 783                                3430 Dover St                                                    Dexter, MI 48130‐1257                                                                                   First Class Mail
Chartered Organization         St Joseph Parish                                                                  Buffalo Trace 156                                      1029 Kundeck St                                                  Jasper, IN 47546‐1918                                                                                   First Class Mail
Chartered Organization         St Joseph Parish                                                                  Northeast Illinois 129                                 121 E Maple Ave                                                  Libertyville, IL 60048‐2231                                                                             First Class Mail
Chartered Organization         St Joseph Parish                                                                  Mid‐America Council 326                                510 Tipton St                                                    Salix, IA 51052‐7714                                                                                    First Class Mail
Chartered Organization         St Joseph Parish                                                                  Great Lakes Fsc 272                                    830 S Lafayette St                                               South Lyon, MI 48178‐1438                                                                               First Class Mail
Voting Party                   St Joseph Parish (Battle Creek)                                                   Attn: Father Christopher Ankley                        61 23rd St N                                                     Battle Creek, MI 49015                                               frchris@bcacs.org                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Joseph Parish Austintown                                                       Great Trail 433                                        4545 New Rd                                                      Youngstown, OH 44515‐3812                                                                               First Class Mail
Voting Party                   St Joseph Parish Boundbrook                                                       Attn: Andre L Kydala                                   54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                       First Class Mail
Voting Party                   St Joseph Parish Carteret                                                         Attn: Andre L Kydala                                   54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                       First Class Mail
Chartered Organization         St Joseph R C Church                                                              Theodore Roosevelt Council 386                         130 5th St                                                       Garden City, NY 11530‐5953                                                                              First Class Mail
Voting Party                   St Joseph Raritan Parish                                                          Attn: Andre L Kydala                                   54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                       First Class Mail
Chartered Organization         St Joseph Rc Church                                                               Connecticut Yankee Council Bsa 072                     8 Robinson Ave                                                   Danbury, CT 06810‐5517                                                                                  First Class Mail
Voting Party                   St Joseph Rc Church                                                               Attn: Rev Michael J Rieder                             45 Church St                                                     Ronkonkoma, NY 11779                                                 pastor@stjoronk.org                Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Joseph Rc Church New Paltz                                                     Rip Van Winkle Council 405                             34 S Chestnut St                                                 New Paltz, NY 12561‐1914                                                                                First Class Mail
Chartered Organization         St Joseph Rcc                                                                     Narragansett 546                                       854 Providence St                                                West Warwick, RI 02893‐1140                                                                             First Class Mail
Chartered Organization         St Joseph Roman Catholic Church                                                   Lake Erie Council 440                                  200 Saint Joseph Dr                                              Amherst, OH 44001‐1663                                                                                  First Class Mail
Chartered Organization         St Joseph Roman Catholic Church                                                   Narragansett 546                                       1303 Mendon Rd                                                   Cumberland, RI 02864‐4873                                                                               First Class Mail
Chartered Organization         St Joseph Roman Catholic Church                                                   Columbia‐Montour 504                                   18 Center St                                                     Danville, PA 17821                                                                                      First Class Mail
Chartered Organization         St Joseph Roman Catholic Church                                                   Hawk Mountain Council 528                              7 S Broad Mountain Ave                                           Frackville, PA 17931‐1800                                                                               First Class Mail
Chartered Organization         St Joseph Roman Catholic Church                                                   Northern New Jersey Council, Bsa 333                   767 Prospect St                                                  Maplewood, NJ 07040‐3520                                                                                First Class Mail
Chartered Organization         St Joseph Roman Catholic Church                                                   Northern New Jersey Council, Bsa 333                   305 Elm St                                                       Oradell, NJ 07649‐2238                                                                                  First Class Mail
Chartered Organization         St Joseph Roman Catholic Church ‐ Canton                                          Buckeye Council 436                                    2427 Tuscarawas St W                                             Canton, OH 44708‐4739                                                                                   First Class Mail
Chartered Organization         St Joseph School                                                                  Northern New Jersey Council, Bsa 333                   305 Elm St                                                       Oradell, NJ 07649‐2238                                                                                  First Class Mail
Chartered Organization         St Joseph School Parent Teacher Org                                               Lincoln Heritage Council 205                           320 W Stephen Foster Ave                                         Bardstown, KY 40004‐1421                                                                                First Class Mail
Chartered Organization         St Joseph School Pta                                                              Pathway To Adventure 456                               5641 S 73rd Ave                                                  Summit, IL 60501‐1363                                                                                   First Class Mail
Chartered Organization         St Joseph St Thomas Rc Ch                                                         Greater New York Councils, Bsa 640                     6097 Amboy Rd                                                    Staten Island, NY 10309‐3120                                                                            First Class Mail
Chartered Organization         St Joseph The Worker                                                              Ozark Trails Council 306                               1796 N State Hwy Nn                                              Ozark, MO 65721‐6620                                                                                    First Class Mail
Chartered Organization         St Joseph The Worker Catholic Church                                              California Inland Empire Council 045                   10816 Mountain View Ave                                          Loma Linda, CA 92354‐2511                                                                               First Class Mail
Chartered Organization         St Joseph The Worker Catholic Church                                              Northern Star Council 250                              7180 Hemlock Ln N                                                Maple Grove, MN 55369‐5569                                                                              First Class Mail
Chartered Organization         St Joseph The Worker Catholic Church                                              Ozark Trails Council 306                               1796 N State Hwy Nn                                              Ozark, MO 65721‐6620                                                                                    First Class Mail
Chartered Organization         St Joseph The Worker Catholic Parish                                              Ohio River Valley Council 619                          229 California Ave                                               Weirton, WV 26062‐3771                                                                                  First Class Mail
Chartered Organization         St Joseph The Worker R C Church                                                   Minsi Trails Council 502                               1879 Applewood Dr                                                Orefield, PA 18069‐9536                                                                                 First Class Mail
Chartered Organization         St Joseph The Workman Rc Cathedral                                                Gateway Area 624                                       530 Main St                                                      La Crosse, WI 54601‐4033                                                                                First Class Mail
Voting Party                   St Joseph Washington Parish                                                       Attn: Andre L Kydala                                   54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                       First Class Mail
Voting Party                   St Joseph, Fullerton Roman Catholic Congregation Inc                              c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Josephat'S Roman Catholic Church                                               Greater New York Councils, Bsa 640                     3432 210th St                                                    Bayside, NY 11361‐1457                                                                                  First Class Mail
Voting Party                   St Josephat's Roman Catholic Church Of Cheektowaga NY                             c/o Woods Oviatt Gilman LLP                            Attn: Timothy P Lyster, Esq                                      1900 Bausch & Lomb Pl              Rochester, NY 14604               tlyster@woodsoviatt.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        Pony Express Council 311                               1001 N 2nd St                                                    Atchison, KS 66002‐1430                                                                                 First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        Indian Waters Council 553                              3512 Devine St                                                   Columbia, SC 29205‐1904                                                                                 First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        Glaciers Edge Council 620                              1660 Endl Blvd                                                   Fort Atkinson, WI 53538‐2855                                                                            First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        Greater Alabama Council 001                            2300 Beasley Ave NW                                              Huntsville, AL 35816‐4004                                                                               First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        North Florida Council 087                              11730 Old Saint Augustine Rd                                     Jacksonville, FL 32258‐2002                                                                             First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        Cornhusker Council 324                                 7607 Trendwood Dr                                                Lincoln, NE 68506‐6544                                                                                  First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        Long Beach Area Council 032                            6180 E Willow St                                                 Long Beach, CA 90815‐2245                                                                               First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        Atlanta Area Council 092                               87 Lacy St NW                                                    Marietta, GA 30060‐1111                                                                                 First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        Hawkeye Area Council 172                               1790 14th St                                                     Marion, IA 52302‐2201                                                                                   First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        Shenandoah Area Council 598                            233 S Queen St                                                   Martinsburg, WV 25401‐3213                                                                              First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        The Spirit of Adventure 227                            1382 Highland Ave                                                Needham, MA 02492‐2614                                                                                  First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        Black Swamp Area Council 449                           36 Melmore St                                                    Tiffin, OH 44883‐3043                                                                                   First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        Knights of Columbus                                    625 S Elliott Ave                                                Wenatchee, WA 98801‐3195                                                                                First Class Mail
Chartered Organization         St Josephs Catholic Church                                                        Greater Tampa Bay Area 089                             532 Ave M Nw                                                     Winter Haven, FL 33881‐2373                                                                             First Class Mail
Voting Party                   St Josephs Catholic Church                                                        c/o Archdiocese of Los Angeles                         Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                 Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Joseph's Catholic Church                                                       Pathway To Adventure 456                               4824 Highland Ave                                                Downers Grove, IL 60515‐3615                                                                            First Class Mail
Chartered Organization         St Joseph's Catholic Church                                                       Chickasaw Council 558                                  412 Main St                                                      Greenville, MS 38701‐4042                                                                               First Class Mail
Chartered Organization         St Joseph's Catholic Church                                                       Chippewa Valley Council 637                            910 Wilson Ave                                                   Menomonie, WI 54751‐2742                                                                                First Class Mail
Chartered Organization         St Joseph's Catholic Church                                                       Greater Yosemite Council 059                           1813 Oakdale Rd                                                  Modesto, CA 95355‐2901                                                                                  First Class Mail
Chartered Organization         St Joseph's Catholic Church                                                       Baltimore Area Council 220                             1283 Odenton Rd                                                  Odenton, MD 21113‐1628                                                                                  First Class Mail
Chartered Organization         St Josephs Catholic Church ‐ Dover                                                Buckeye Council 436                                    613 N Tuscarawas Ave                                             Dover, OH 44622‐2837                                                                                    First Class Mail
Chartered Organization         St Josephs Catholic Church Holy Name                                              Northeast Iowa Council 178                             10204 Key West Dr B                                              Dubuque, IA 52003‐8936                                                                                  First Class Mail
Chartered Organization         St Josephs Catholic School                                                        Chester County Council 539                             460 Manor Ave                                                    Downingtown, PA 19335‐2545                                                                              First Class Mail
Chartered Organization         St Josephs Catholic School                                                        Greater Tampa Bay Area 089                             2200 N Gomez Ave                                                 Tampa, FL 33607‐3244                                                                                    First Class Mail
Chartered Organization         St Josephs Church                                                                 Pennsylvania Dutch Council 524                         440 Saint Joseph St                                              Lancaster, PA 17603‐5252                                                                                First Class Mail
Chartered Organization         St Joseph's Church                                                                National Capital Area Council 082                      47 Depaul St                                                     Emmitsburg, MD 21727‐9160                                                                               First Class Mail
Chartered Organization         St Joseph's Church ‐ Moorhead                                                     Northern Lights Council 429                            218 10th St S                                                    Moorhead, MN 56560‐2853                                                                                 First Class Mail
Voting Party                   St Joseph's Episcopal Church Buena Park, CA                                       c/o Rector, Vestry, & Wardens                          8300 Valley View St                                              Buena Park, CA 90620                                                 stjosephs8300@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Josephs Highbridge Parish                                                      Attn: Andre L Kydala                                   54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                       First Class Mail
Chartered Organization         St Josephs Home & School Assoc                                                    Central Georgia Council 096                            905 High St                                                      Macon, GA 31201‐2034                                                                                    First Class Mail
Chartered Organization         St Joseph's Hospital & Health Center                                              Northern Lights Council 429                            2500 Fairway St                                                  Dickinson, ND 58601‐2639                                                                                First Class Mail
Chartered Organization         St Josephs Knights Of Columbus                                                    Inland Nwest Council 611                               3720 E Colbert Rd                                                Colbert, WA 99005‐9661                                                                                  First Class Mail
Chartered Organization         St Josephs Odenton Rc Congreg ,Inc                                                Baltimore Area Council 220                             1283 Odenton Rd                                                  Odenton, MD 21113‐1628                                                                                  First Class Mail
Voting Party                   St Joseph's Odenton Roman Catholic Congregation Inc                               c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Josephs On Carrollton Manor, Roman Catholic Church Congregation Incorporated   Attn: Matthew W Oakey                                  218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Joseph'S Parish                                                                Pacific Harbors Council, Bsa 612                       157 SW 6th St                                                    Chehalis, WA 98532‐3203                                                                                 First Class Mail
Chartered Organization         St Joseph'S Parish ‐ Rice Lake                                                    Chippewa Valley Council 637                            111 W Marshall St                                                Rice Lake, WI 54868‐1648                                                                                First Class Mail
Chartered Organization         St Josephs Parish Council                                                         Samoset Council, Bsa 627                               208 N Park Ave                                                   Crandon, WI 54520‐1351                                                                                  First Class Mail
Chartered Organization         St Joseph'S Parish Council                                                        Samoset Council, Bsa 627                               807 W Lake St                                                    Friendship, WI 53934‐9261                                                                               First Class Mail
Voting Party                   St Joseph's Passionist Monastery Roman Catholic Congregation, Inc                 c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Joseph'S Rc Church Of Ronkonkoma                                               Suffolk County Council Inc 404                         45 Church St                                                     Ronkonkoma, NY 11779‐3301                                                                               First Class Mail
Chartered Organization         St Josephs Roman Catholic Church                                                  Cradle of Liberty Council 525                          3255 Concord Rd                                                  Aston, PA 19014‐1938                                                                                    First Class Mail
Chartered Organization         St Josephs Roman Catholic Church                                                  Baltimore Area Council 220                             8420 Belair Rd                                                   Baltimore, MD 21236‐3019                                                                                First Class Mail
Chartered Organization         St Josephs Roman Catholic Church                                                  Baltimore Area Council 220                             101 Church Ln                                                    Cockeysville, MD 21030‐4903                                                                             First Class Mail
Chartered Organization         St Josephs Roman Catholic Church                                                  Baltimore Area Council 220                             105 Church Ln                                                    Cockeysville, MD 21030‐4903                                                                             First Class Mail
Chartered Organization         St Josephs Roman Catholic Church                                                  Baltimore Area Council 220                             915 Liberty Rd                                                   Eldersburg, MD 21784‐7933                                                                               First Class Mail
Chartered Organization         St Josephs Roman Catholic Church                                                  Pennsylvania Dutch Council 524                         440 Saint Joseph St                                              Lancaster, PA 17603‐5252                                                                                First Class Mail
Chartered Organization         St Josephs Roman Catholic Church                                                  Del Mar Va 081                                         115 Cleaver Farms Rd                                             Middletown, DE 19709‐1619                                                                               First Class Mail
Chartered Organization         St Josephs Roman Catholic Church                                                  Connecticut Rivers Council, Bsa 066                    37 Squire St                                                     New London, CT 06320‐4859                                                                               First Class Mail
Chartered Organization         St Josephs Roman Catholic Church                                                  Narragansett 546                                       5 Mann Ave                                                       Newport, RI 02840‐2708                                                                                  First Class Mail
Chartered Organization         St Josephs Roman Catholic Church                                                  Seneca Waterways 397                                   43 Gebhardt Rd                                                   Penfield, NY 14526‐1301                                                                                 First Class Mail
Chartered Organization         St Josephs Roman Catholic Church                                                  Twin Rivers Council 364                                236 1st St                                                       Scotia, NY 12302                                                                                        First Class Mail
Chartered Organization         St Josephs Roman Catholic Church                                                  Washington Crossing Council 777                        1795 Columbia Ave                                                Warrington, PA 18976‐2506                                                                               First Class Mail
Chartered Organization         St Joseph'S Roman Catholic Church                                                 Mayflower Council 251                                  272 Main St                                                      Kingston, MA 02364‐1922                                                                                 First Class Mail
Voting Party                   St Josephs Roman Catholic Cong Inc                                                c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Joseph'S School                                                                Yucca Council 573                                      1300 Lamar St                                                    El Paso, TX 79903‐2836                                                                                  First Class Mail
Chartered Organization         St Joseph'S School                                                                Pathway To Adventure 456                               5641 S 73rd Ave                                                  Summit, IL 60501‐1363                                                                                   First Class Mail
Voting Party                   St Josephs Skykesville, Roman Catholic Congregation, Inc                          Attn: Matthew W Oakey                                  218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Joseph's Sykesville Roman Catholic Congregation Inc                            c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Josephs Taneytown Roman Catholic Congregation Inc                              c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Josephs Washington                                                             Address Redacted                                                                                                                                                                             Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Josephs, Fullerton, Roman Catholic Congregation, Inc                           c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201               moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Josephs, Taneytown Roman Catholic Congregation, Inc                            Attn: Matthew W Oakey                                  218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Josephs, Texas Roman Catholic Congregation, Inc                                Attn: Matthew W Oakey                                  218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Josephs, Texas Roman Catholic Congregation, Inc                                c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                      Page 357 of 442
                                                                                Case 20-10343-LSS                                                                       Doc 8171                                             Filed 01/06/22                                                     Page 373 of 457
                                                                                                                                                                                                                Exhibit B
                                                                                                                                                                                                                 Service List
                                                                                                                                                                                                          Served as set forth below

        Description                                                      Name                                                                                                                                 Address                                                                                                                                    Email              Method of Service
Voting Party                   St Joseph's‐on‐Carrollton Manor, Roman Catholic Church Congregation, Incorporated   Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                                       moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Jude Catholic Chruch                                                             Norwela Council 215                             4700 Palmetto Rd                                                 Benton, LA 71006‐9712                                                                                                        First Class Mail
Chartered Organization         St Jude Catholic Church                                                             Circle Ten Council 571                          1515 N Greenville Ave                                            Allen, TX 75002‐8616                                                                                                         First Class Mail
Chartered Organization         St Jude Catholic Church                                                             Norwela Council 215                             4700 Palmetto Rd                                                 Benton, LA 71006‐9712                                                                                                        First Class Mail
Chartered Organization         St Jude Catholic Church                                                             Gulf Stream Council 085                         21689 Toledo Rd                                                  Boca Raton, FL 33433‐7879                                                                                                    First Class Mail
Chartered Organization         St Jude Catholic Church                                                             Cherokee Area Council 556                       930 Ashland Ter                                                  Chattanooga, TN 37415‐3554                                                                                                   First Class Mail
Chartered Organization         St Jude Catholic Church                                                             Anthony Wayne Area 157                          2130 Pemberton Dr                                                Fort Wayne, IN 46805‐4628                                                                                                    First Class Mail
Chartered Organization         St Jude Catholic Church                                                             Crossroads of America 160                       5353 Mcfarland Rd                                                Indianapolis, IN 46227‐7003                                                                                                  First Class Mail
Chartered Organization         St Jude Catholic Church                                                             W D Boyce 138                                   10811 N Knoxville Ave                                            Peoria, IL 61615‐1145                                                                                                        First Class Mail
Chartered Organization         St Jude Men's Club                                                                  Lake Erie Council 440                           590 Poplar St                                                    Elyria, OH 44035‐3951                                                                                                        First Class Mail
Chartered Organization         St Jude Of The Lake                                                                 Northern Star Council 250                       700 Mahtomedi Ave                                                Mahtomedi, MN 55115‐1673                                                                                                     First Class Mail
Chartered Organization         St Jude Parish                                                                      Bay‐Lakes Council 635                           1025 W 5th Ave                                                   Oshkosh, WI 54902‐5727                                                                                                       First Class Mail
Voting Party                   St Jude Parish Blairstown                                                           Attn: Andre L Kydala                            54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                                            First Class Mail
Chartered Organization         St Jude Rc Church                                                                   Connecticut Yankee Council Bsa 072              707 Monroe Tpke                                                  Monroe, CT 06468‐2380                                                                                                        First Class Mail
Chartered Organization         St Jude Roman Catholic Church                                                       Patriots Path Council 358                       17 Mount Olive Rd                                                Budd Lake, NJ 07828‐3007                                                                                                     First Class Mail
Chartered Organization         St Jude Roman Catholic Church                                                       Dan Beard Council, Bsa 438                      5924 Bridgetown Rd                                               Cincinnati, OH 45248‐3108                                                                                                    First Class Mail
Chartered Organization         St Jude Roman Catholic Church                                                       Northeastern Pennsylvania Council 501           420 S Mountain Blvd                                              Mountain Top, PA 18707‐1918                                                                                                  First Class Mail
Chartered Organization         St Jude Shrine Of The West Church                                                   San Diego Imperial Council 049                  3785 Boston Ave                                                  San Diego, CA 92113‐3216                                                                                                     First Class Mail
Chartered Organization         St Jude Thaddeus Parish                                                             Water and Woods Council 782                     614 Pine St                                                      Essexville, MI 48732‐1428                                                                                                    First Class Mail
Chartered Organization         St Jude The Apostle                                                                 Three Harbors Council 636                       800 Glenview Ave                                                 Milwaukee, WI 53213‐3308                                                                                                     First Class Mail
Chartered Organization         St Jude The Apostle                                                                 Narragansett 546                                249 Whittenton St                                                Taunton, MA 02780‐1735                                                                                                       First Class Mail
Chartered Organization         St Jude The Apostle Catholic Church                                                 Istrouma Area Council 211                       9150 Highland Rd                                                 Baton Rouge, LA 70810‐4019                                                                                                   First Class Mail
Chartered Organization         St Jude The Apostle Catholic Church                                                 Quapaw Area Council 018                         2403 Mcarthur Dr                                                 Jacksonville, AR 72076‐2490                                                                                                  First Class Mail
Chartered Organization         St Jude The Apostle R C Church                                                      French Creek Council 532                        2801 W 6th St                                                    Erie, PA 16505‐4016                                                                                                          First Class Mail
Chartered Organization         St Jude The Apostle School                                                          Three Harbors Council 636                       822 Glenview Ave                                                 Milwaukee, WI 53213‐3308                                                                                                     First Class Mail
Chartered Organization         St Judes Catholic Church                                                            Ventura County Council 057                      32032 Lindero Canyon Rd                                          Westlake Village, CA 91361‐4224                                                                                              First Class Mail
Voting Party                   St Judes Catholic Church                                                            c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010                                   legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Jude'S Catholic Church                                                           Yucca Council 573                               4006 Hidden Way                                                  El Paso, TX 79922‐1341                                                                                                       First Class Mail
Chartered Organization         St Jude'S Catholic Church                                                           Anthony Wayne Area 157                          2130 Pemberton Dr                                                Fort Wayne, IN 46805‐4628                                                                                                    First Class Mail
Voting Party                   St Jude's Episcopal Church                                                          Attn: Thomas Kim Moran                          124 Macamley St                                                  Buffalo, NY 14220                                                                         tk152@aol.com                      Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Jude'S Episcopal Church                                                          Attn: Cheryl Smith Fisher                       1100 Rand Bldg                                                   14 Lafayette Sq                   Buffalo, NY 14203                                       cfisher@magavern.com               Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Jude's Episcopal Church Inc                                                      815 E Graves Ave                                Orange City, FL 32763                                                                                                                                                                         First Class Mail
Chartered Organization         St Judes Parish Hall                                                                Montana Council 315                             440 7th Ave                                                      Havre, MT 59501‐4009                                                                                                         First Class Mail
Chartered Organization         St Judes Roman Catholic Church                                                      Atlanta Area Council 092                        7171 Glenridge Dr                                                Atlanta, GA 30328‐2630                                                                                                       First Class Mail
Chartered Organization         St Judes School                                                                     Lasalle Council 165                             19657 Hildebrand St                                              South Bend, IN 46614‐5522                                                                                                    First Class Mail
Voting Party                   St Julia Catholic Church                                                            Attn: Rev Efrain Villanueva                     6225 E US 290 Hwy Svrd Eb                                        Austin, TX 78723                                                                          ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Julia Catholic Church                                                            Attn: Rev Efrain Villanueva                     3010 Lyons Rd                                                    Austin, TX 78702                                                                                                             First Class Mail
Chartered Organization         St Julia Parish Weston/Lincoln                                                      The Spirit of Adventure 227                     374 Boston Post Rd                                               Weston, MA 02493‐1512                                                                                                        First Class Mail
Voting Party                   St Julian Of Norwich Episcopal Church                                               7700 Cat Hollow Dr, 204                         Round Rock, TX 78681                                                                                                                                       mbrandon@stjuliansaustin.org       Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Juliana Roman Catholic Church                                                    Pathway To Adventure 456                        7200 N Osceola Ave                                               Chicago, IL 60631‐4353                                                                                                       First Class Mail
Chartered Organization         St Julians Episcopal Church                                                         Atlanta Area Council 092                        5400 Stewart Mill Rd                                             Douglasville, GA 30135‐2545                                                                                                  First Class Mail
Chartered Organization         St Julias Church                                                                    Mayflower Council 251                           374 Boston Post Rd                                               Weston, MA 02493‐1512                                                                                                        First Class Mail
Chartered Organization         St Julie Billiart Church                                                            Ventura County Council 057                      2475 Borchard Rd                                                 Newbury Park, CA 91320‐3258                                                                                                  First Class Mail
Voting Party                   St Julie Billiart Church                                                            c/o Roman Catholic Archdiocese of Los Angeles   Attn: Margaret Graf                                              3424 Wilshire Blvd                Los Angeles, CA 90010                                   legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Justin                                                                           Sam Houston Area Council 576                    13350 Ashford Point Dr                                           Houston, TX 77082‐5100                                                                                                       First Class Mail
Chartered Organization         St Justin Catholic Church                                                           Greater St Louis Area Council 312               11910 Eddie and Park Rd                                          Saint Louis, MO 63126‐2908                                                                                                   First Class Mail
Chartered Organization         St Justin Martyr Church                                                             Orange County Council 039                       2050 W Ball Rd                                                   Anaheim, CA 92804‐5415                                                                                                       First Class Mail
Chartered Organization         St Justin Parish Community                                                          Silicon Valley Monterey Bay 055                 2655 Homestead Rd                                                Santa Clara, CA 95051‐5322                                                                                                   First Class Mail
Chartered Organization         St Justin The Martyr Parish                                                         Greater St Louis Area Council 312               11910 Eddie and Park Rd                                          Saint Louis, MO 63126‐2908                                                                                                   First Class Mail
Chartered Organization         St Katharine Drexel Catholic Church                                                 Tidewater Council 596                           154 Maple Rd                                                     Maple, NC 27956‐9700                                                                                                         First Class Mail
Chartered Organization         St Katharine Drexel Church                                                          National Capital Area Council 082               8428 Opossumtown Pike                                            Frederick, MD 21702‐2408                                                                                                     First Class Mail
Chartered Organization         St Katharine Drexel Mens Society                                                    Bay‐Lakes Council 635                           2401 Main Ave                                                    Kaukauna, WI 54130‐3518                                                                                                      First Class Mail
Chartered Organization         St Katharine Drexel Men'S Society                                                   Bay‐Lakes Council 635                           2400 Main Ave                                                    Kaukauna, WI 54130‐3519                                                                                                      First Class Mail
Chartered Organization         St Katharine Drexel Parish                                                          Sioux Council 733                               1800 S Katie Ave, Ste 1                                          Sioux Falls, SD 57106‐4829                                                                                                   First Class Mail
Chartered Organization         St Katharine Of Siena Church                                                        Cradle of Liberty Council 525                   104 S Aberdeen Ave                                               Wayne, PA 19087‐4102                                                                                                         First Class Mail
Chartered Organization         St Katharines Of Siena Church                                                       Cradle of Liberty Council 525                   104 S Aberdeen Ave                                               Wayne, PA 19087‐4102                                                                                                         First Class Mail
Chartered Organization         St Katherine Drexel Rc Ch                                                           National Capital Area Council 082               8482 Opossumtown Pike                                            Frederick, MD 21702                                                                                                          First Class Mail
Voting Party                   St Katherine Drexel Roman Catholic Congregation, Inc                                Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                                       moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Kevin Catholic Church And School                                                 South Florida Council 084                       12525 SW 42nd St                                                 Miami, FL 33175‐2927                                                                                                         First Class Mail
Chartered Organization         St Kevins Catholic Church                                                           Narragansett 546                                333 Sandy Ln                                                     Warwick, RI 02889‐4325                                                                                                       First Class Mail
Chartered Organization         St Kevins Roman Catholic Church                                                     Greater New York Councils, Bsa 640              4521 194th St                                                    Flushing, NY 11358‐3533                                                                                                      First Class Mail
Chartered Organization         St Kilian Catholic Church                                                           Bay‐Lakes Council 635                           428 Forest St                                                    Hartford, WI 53027‐1016                                                                                                      First Class Mail
Chartered Organization         St Kilian Catholic Church                                                           Orange County Council 039                       26872 Estanciero Dr                                              Mission Viejo, CA 92691‐5501                                                                                                 First Class Mail
Chartered Organization         St Kilian Church                                                                    Samoset Council, Bsa 627                        Hwy 10 Box A                                                     Blenker, WI 54415                                                                                                            First Class Mail
Chartered Organization         St Kilian Womens Guild                                                              Theodore Roosevelt Council 386                  485 Conklin St                                                   Farmingdale, NY 11735‐2615                                                                                                   First Class Mail
Chartered Organization         St Kitts Veterinary Clinic ‐ East Sparta                                            Buckeye Council 436                             10025 Cleveland Ave S                                            East Sparta, OH 44626                                                                                                        First Class Mail
Chartered Organization         St Laurence Catholic Church                                                         Sam Houston Area Council 576                    3100 Sweetwater Blvd                                             Sugar Land, TX 77479‐2630                                                                                                    First Class Mail
Chartered Organization         St Laurence Church                                                                  Longhorn Council 662                            519 N Kimball Ave                                                Southlake, TX 76092‐6644                                                                                                     First Class Mail
Chartered Organization         St Laurence Parish                                                                  Three Fires Council 127                         565 Standish St                                                  Elgin, IL 60123‐6357                                                                                                         First Class Mail
Chartered Organization         St Lawrence Catholic Church                                                         Crossroads of America 160                       4650 N Shadeland Ave                                             Indianapolis, IN 46226‐2627                                                                                                  First Class Mail
Chartered Organization         St Lawrence Catholic Church                                                         Calcasieu Area Council 209                      5505 Pine Island Hwy                                             Jennings, LA 70546‐8855                                                                                                      First Class Mail
Chartered Organization         St Lawrence Catholic Church                                                         Buffalo Trace 156                               1006 Collins Ave                                                 Lawrenceville, IL 62439‐3230                                                                                                 First Class Mail
Chartered Organization         St Lawrence Catholic Church                                                         South Florida Council 084                       2200 NE 191st St                                                 Miami, FL 33180‐2121                                                                                                         First Class Mail
Chartered Organization         St Lawrence Catholic Church                                                         Alamo Area Council 583                          236 E Petaluma Blvd                                              San Antonio, TX 78221‐3335                                                                                                   First Class Mail
Chartered Organization         St Lawrence Catholic Church                                                         Louisiana Purchase Council 213                  P.O. Box 554                                                     Swartz, LA 71281‐0554                                                                                                        First Class Mail
Chartered Organization         St Lawrence Catholic Church                                                         Greater Tampa Bay Area 089                      5225 N Himes Ave                                                 Tampa, FL 33614‐6623                                                                                                         First Class Mail
Chartered Organization         St Lawrence Church                                                                  Sagamore Council 162                            1916 Meharry St                                                  Lafayette, IN 47904‐1442                                                                                                     First Class Mail
Chartered Organization         St Lawrence Episcopal Church                                                        Northeast Illinois 129                          125 W Church St                                                  Libertyville, IL 60048‐2149                                                                                                  First Class Mail
Chartered Organization         St Lawrence Lodge 111 F & Am                                                        Longhouse Council 373                           P.O. Box 248                                                     Canton, NY 13617‐0248                                                                                                        First Class Mail
Chartered Organization         St Lawrence Martyr Church                                                           Narragansett 546                                110 Summer St                                                    New Bedford, MA 02740‐5243                                                                                                   First Class Mail
Chartered Organization         St Lawrence Martyr Church                                                           Greater Los Angeles Area 033                    1940 S Prospect Ave                                              Redondo Beach, CA 90277‐6003                                                                                                 First Class Mail
Voting Party                   St Lawrence Martyr Church                                                           c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010                                   legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Lawrence O Toole R C Church                                                      Connecticut Rivers Council, Bsa 066             494 New Britain Ave                                              Hartford, CT 06106‐3735                                                                                                      First Class Mail
Chartered Organization         St Lawrence Of Brindisi                                                             Greater Los Angeles Area 033                    10044 Compton Ave                                                Los Angeles, CA 90002‐2851                                                                                                   First Class Mail
Chartered Organization         St Lawrence Parish And School                                                       Great Lakes Fsc 272                             44429 Utica Rd                                                   Utica, MI 48317‐5466                                                                                                         First Class Mail
Chartered Organization         St Lawrence Parish Church                                                           Silicon Valley Monterey Bay 055                 1971 Saint Lawrence Dr                                           Santa Clara, CA 95051‐2129                                                                                                   First Class Mail
Voting Party                   St Lawrence Parish Lawrence Harbor                                                  Attn: Andre L Kydala                            54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                                            First Class Mail
Chartered Organization         St Lawrence Rc Church                                                               Connecticut Yankee Council Bsa 072              207 Main St                                                      West Haven, CT 06516‐4534                                                                                                    First Class Mail
Chartered Organization         St Lawrence Roman Catholic Church                                                   Dan Beard Council, Bsa 438                      3680 Warsaw Ave                                                  Cincinnati, OH 45205‐1759                                                                                                    First Class Mail
Chartered Organization         St Lawrence Roman Catholic Church                                                   Lincoln Heritage Council 205                    1925 Lewiston Dr                                                 Louisville, KY 40216‐2523                                                                                                    First Class Mail
Chartered Organization         St Lawrence Roman Catholic Church                                                   Seneca Waterways 397                            1000 N Greece Rd                                                 Rochester, NY 14626‐1031                                                                                                     First Class Mail
Voting Party                   St Lawrences Jessup Rcc Inc                                                         Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                                       moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Lawrences Jessup, Roman Catholic Congregation, Inc                               Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                                       moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Leo Catholic Church                                                              Old Hickory Council 427                         335 Springdale Ave                                               Winston Salem, NC 27104‐3124                                                                                                 First Class Mail
Chartered Organization         St Leo Seton Cath Schl                                                              Evangeline Area 212                             502 Saint Leo St                                                 Lafayette, LA 70501‐1238                                                                                                     First Class Mail
Chartered Organization         St Leo The Great Catholic Church                                                    National Capital Area Council 082               3700 Old Lee Hwy                                                 Fairfax, VA 22030‐1806                                                                                                       First Class Mail
Chartered Organization         St Leo The Great Catholic Church                                                    National Capital Area Council 082               3700 Old Lee Hwy                                                 Fairfax, VA 22030‐1806                                                                                                       First Class Mail
Chartered Organization         St Leo The Great School                                                             Silicon Valley Monterey Bay 055                 1051 W San Fernando St                                           San Jose, CA 95126‐3061                                                                                                      First Class Mail
Chartered Organization         St Leonard Catholic Community                                                       Lincoln Heritage Council 205                    440 Zorn Ave                                                     Louisville, KY 40206‐1417                                                                                                    First Class Mail
Chartered Organization         St Leonard Holy Name Society                                                        Pathway To Adventure 456                        3318 Clarence Ave                                                Berwyn, IL 60402‐3752                                                                                                        First Class Mail
Chartered Organization         St Leonards Home & School Assoc                                                     Potawatomi Area Council 651                     W173S7777 Wwood Dr                                               Muskego, WI 53150                                                                                                            First Class Mail
Chartered Organization         St Leo'S Rc Church                                                                  Shenandoah Area Council 598                     P.O. Box 93                                                      Inwood, WV 25428‐0093                                                                                                        First Class Mail
Chartered Organization         St Leos Roman Catholic Church                                                       Greater Niagara Frontier Council 380            885 Sweet Home Rd                                                Amherst, NY 14226‐1433                                                                                                       First Class Mail
Chartered Organization         St Leos Roman Catholic Church                                                       Northern New Jersey Council, Bsa 333            324 Market St                                                    Elmwood Park, NJ 07407‐2018                                                                                                  First Class Mail
Chartered Organization         St Leos Roman Catholic Church                                                       Bucktail Council 509                            111 Depot St                                                     Ridgway, PA 15853‐1304                                                                                                       First Class Mail
Voting Party                   St Leo's Roman Catholic Congregation Inc                                            c/o Gallagher Evelius & Jones LLP               Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201                                     moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Leos Roman Catholic Congregation, Inc                                            Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                                       moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Liborius Church                                                                  Pathway To Adventure 456                        71 W 35th St                                                     Steger, IL 60475‐1601                                                                                                        First Class Mail
Chartered Organization         St Linus Church                                                                     Mayflower Council 251                           119 Hartford St                                                  Natick, MA 01760‐2423                                                                                                        First Class Mail
Chartered Organization         St Linus Roman Catholic Church                                                      Pathway To Adventure 456                        10300 Lawler Ave                                                 Oak Lawn, IL 60453‐4715                                                                                                      First Class Mail
Chartered Organization         St Louis Catholic Academy                                                           Greater St Louis Area Council 312               4720 Carter Ave                                                  Saint Louis, MO 63115‐2238                                                                                                   First Class Mail
Chartered Organization         St Louis Catholic Church                                                            National Capital Area Council 082               2907 Popkins Ln                                                  Alexandria, VA 22306‐1823                                                                                                    First Class Mail
Chartered Organization         St Louis Catholic Church                                                            Southeast Louisiana Council 214                 2226 Bayou Blue Rd                                               Houma, LA 70364‐2169                                                                                                         First Class Mail
Chartered Organization         St Louis Catholic Church                                                            Chickasaw Council 558                           203 S White Station Rd                                           Memphis, TN 38117‐3438                                                                                                       First Class Mail
Chartered Organization         St Louis Catholic Church                                                            Abraham Lincoln Council 144                     311 S Elm St                                                     Nokomis, IL 62075‐1310                                                                                                       First Class Mail
Chartered Organization         St Louis Catholic Church                                                            Dan Beard Council, Bsa 438                      210 N Broadway                                                   Owensville, OH 45160                                                                                                         First Class Mail
Chartered Organization         St Louis Catholic Church                                                            South Florida Council 084                       7270 SW 120th St                                                 Pinecrest, FL 33156‐4659                                                                                                     First Class Mail
Chartered Organization         St Louis Catholic Church                                                            Suwannee River Area Council 664                 P.O. Box 4172                                                    Tallahassee, FL 32315‐4172                                                                                                   First Class Mail
Voting Party                   St Louis Catholic Church Austin TX                                                  c/o Bsa Coordinator                             Attn: Chancellor                                                 6225 E US 290 Hwy Svrd Eb         Austin, TX 78723                                        ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Louis Catholic Church Austin TX                                                  Attn: Rev Matthew Kinney                        7601 Burnet Rd                                                   Austin, TX 78757                                                                                                             First Class Mail
Voting Party                   St Louis Catholic Church School Association                                         Attn: Chancellor                                6225 E US 290 Hwy Svrd Eb                                        Austin, TX 78723                                                                          ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Louis Catholic School Assoc                                                      Capitol Area Council 564                        2114 Saint Joseph Blvd                                           Austin, TX 78757‐1214                                                                                                        First Class Mail
Chartered Organization         St Louis County Police                                                              Greater St Louis Area Council 312               232 Vance Rd                                                     Valley Park, MO 63088‐1575                                                                                                   First Class Mail
Chartered Organization         St Louis County Police 4Th Precinct                                                 Greater St Louis Area Council 312               3031 Telegraph Rd                                                Saint Louis, MO 63125‐5547                                                                                                   First Class Mail
Chartered Organization         St Louis County Sheriff Explorer Post                                               Voyageurs Area 286                              2030 N Arlington Ave                                             Duluth, MN 55811‐2030                                                                                                        First Class Mail
Voting Party                   St Louis De Monfort Catholic Church                                                 c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                Los Angeles, CA 90010                                   legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Louis De Montfort Catholic Church                                                Los Padres Council 053                          5075 Harp Rd                                                     Santa Maria, CA 93455‐5117                                                                                                   First Class Mail
Chartered Organization         St Louis De Montfort Catholic School                                                Crossroads of America 160                       11421 Hague Rd                                                   Fishers, IN 46038‐1876                                                                                                       First Class Mail
Chartered Organization         St Louis Demonfort Rc Church                                                        Suffolk County Council Inc 404                  75 New York Ave                                                  Sound Beach, NY 11789‐2506                                                                                                   First Class Mail
Chartered Organization         St Louis King Of France Catholic Church                                             Southeast Louisiana Council 214                 1609 Carrollton Ave                                              Metairie, LA 70005‐1409                                                                                                      First Class Mail
Chartered Organization         St Louis Metro Police Dept                                                          Greater St Louis Area Council 312               1200 Clark Ave                                                   Saint Louis, MO 63103‐2801                                                                                                   First Class Mail
Chartered Organization         St Louis Park Lions Club                                                            Northern Star Council 250                       5801 Minnetonka Blvd                                             St Louis Park, MN 55416‐2101                                                                                                 First Class Mail
Chartered Organization         St Louis Park Police Dept                                                           Northern Star Council 250                       3015 Raleigh Ave                                                 St Louis Park, MN 55416‐5705                                                                                                 First Class Mail
Chartered Organization         St Louis Pubilc Schools                                                             Humboldt Academy of Higher Learning             2516 S 9th St                                                    Saint Louis, MO 63104‐4711                                                                                                   First Class Mail
Chartered Organization         St Louis Public Schools‐Mullanphy LLC                                               Greater St Louis Area Council 312               4221 Shaw Blvd                                                   Saint Louis, MO 63110‐3526                                                                                                   First Class Mail
Voting Party                   St Louis Roman Catholic Congregation, Inc                                           Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                                       moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Louis Roman Catholic Congregation, Inc                                           c/o Gallagher Evelius & Jones LLP               Attn: Matthew W Oakey                                            218 N Charles St, Ste 400         Baltimore, MD 21201                                     moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Louis The King                                                                   Bay‐Lakes Council 635                           264 Silver Creek Rd                                              Marquette, MI 49855‐9338                                                                                                     First Class Mail
Chartered Organization         St Louise Catholic Church                                                           Chief Seattle Council 609                       141 156th Ave Se                                                 Bellevue, WA 98007‐5305                                                                                                      First Class Mail
Chartered Organization         St Louise De Marillac Church                                                        Greater Los Angeles Area 033                    1720 E Covina Blvd                                               Covina, CA 91724‐1640                                                                                                        First Class Mail
Voting Party                   St Louise de Marillac Church                                                        c/o Roman Catholic Archdiocese of Los Angeles   Attn: Margaret Graf                                              3424 Wilshire Blvd                Los Angeles, CA 90010                                   legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Louise De Marillac Holy Name Society                                             Pathway To Adventure 456                        1144 Harrison Ave                                                La Grange Park, IL 60526‐1333                                                                                                First Class Mail
Chartered Organization         St Louise De Marillac Roman Catholic                                                Laurel Highlands Council 527                    312 Mcmurray Rd                                                  Pittsburgh, PA 15241‐1616                                                                                                    First Class Mail
Chartered Organization         St Louise De Marillac Roman Catholic                                                Laurel Highlands Council 527                    320 Mcmurray Rd                                                  Pittsburgh, PA 15241‐1616                                                                                                    First Class Mail
Chartered Organization         St Lucie County Fire Dept                                                           Gulf Stream Council 085                         5160 NW Milner Dr                                                Port St Lucie, FL 34983‐3392                                                                                                 First Class Mail
Chartered Organization         St Lucie County Sheriff                                                             Gulf Stream Council 085                         4700 W Midway Rd                                                 Fort Pierce, FL 34981‐4825                                                                                                   First Class Mail
Chartered Organization         St Lucie County Sheriffs Dept                                                       Gulf Stream Council 085                         4700 W Midway Rd                                                 Fort Pierce, FL 34981‐4825                                                                                                   First Class Mail
Chartered Organization         St Lucy Home And School Assoc                                                       Three Harbors Council 636                       3035 Drexel Ave                                                  Racine, WI 53403‐3406                                                                                                        First Class Mail
Chartered Organization         St Lucys Church                                                                     Silicon Valley Monterey Bay 055                 2350 Winchester Blvd                                             Campbell, CA 95008‐4002                                                                                                      First Class Mail
Chartered Organization         St Lucys Home And School Assoc                                                      Three Harbors Council 636                       3035 Drexel Ave                                                  Racine, WI 53403‐3406                                                                                                        First Class Mail
Chartered Organization         St Luke & St Peter'S Episcopal Church                                               Central Florida Council 083                     2745 Canoe Creek Rd                                              Saint Cloud, FL 34772‐6502                                                                                                   First Class Mail
Chartered Organization         St Luke Ame Zion Church                                                             Cape Fear Council 425                           709 Church St                                                    Wilmington, NC 28401‐5231                                                                                                    First Class Mail
Chartered Organization         St Luke Catholic Church                                                             Tecumseh 439                                    1440 N Fairfield Rd                                              Beavercreek, OH 45432‐2638                                                                                                   First Class Mail
Chartered Organization         St Luke Catholic Church                                                             Mecklenburg County Council 415                  13700 Lawyers Rd                                                 Mint Hill, NC 28227‐6517                                                                                                     First Class Mail
Chartered Organization         St Luke Catholic Church                                                             Chief Seattle Council 609                       322 N 175th St                                                   Shoreline, WA 98133‐4704                                                                                                     First Class Mail
Voting Party                   St Luke Episcopal Church ‐ Geauga County                                            11519 Wilson Mills Rd, Box 244                  Chardon, OH 44024                                                                                                                                          stlukechardon@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         St Luke Evangelical Lutheran Church                                                 Pennsylvania Dutch Council 524                  1432 Heidelberg Ave                                              Schaefferstown, PA 17088‐6900                                                                                                First Class Mail
Voting Party                   St Luke Evangelical Lutheran Church 00835                                           c/o Burns White LLC                             Attn: Maria Granaudo Gesty                                       Delaware Corp Center I            1 Righter Pkwy, Ste 130      Wilmington, DE 19803       mrgranaudo@burnswhite.com          Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Luke Evangelical Lutheran Church 00835                                           c/o Burns White LLC                             Attn: Angela A Cronk                                             100 Four Falls, Ste 515           1001 Conshohocken State Rd   W Conshohocken, PA 19428   aacronk@burnswhite.com             Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St Luke Evangelical Lutheran Church 00835                                           c/o Board of Trustees                           Attn: Scott Moyer                                                2398 Magnolia Dr                  Gilbertsville, PA 19525                                                                    First Class Mail
Chartered Organization         St Luke Lutheran Church                                                             Mecklenburg County Council 415                  3200 Park Rd                                                     Charlotte, NC 28209‐2004                                                                                                     First Class Mail
Chartered Organization         St Luke Lutheran Church                                                             Northern Star Council 250                       7000 Hinton Ave S                                                Cottage Grove, MN 55016‐1809                                                                                                 First Class Mail
Chartered Organization         St Luke Lutheran Church                                                             Suffolk County Council Inc 404                  20 Candlewood Path                                               Dix Hills, NY 11746‐5304                                                                                                     First Class Mail
Chartered Organization         St Luke Lutheran Church                                                             Cradle of Liberty Council 525                   35 Wilson Ave                                                    Gilbertsville, PA 19525‐9291                                                                                                 First Class Mail
Chartered Organization         St Luke Lutheran Church                                                             Westchester Putnam 388                          95 Eastchester Rd                                                New Rochelle, NY 10801‐1206                                                                                                  First Class Mail
Chartered Organization         St Luke Lutheran Church                                                             Susquehanna Council 533                         1400 Market St                                                   Williamsport, PA 17701‐1722                                                                                                  First Class Mail
Voting Party                   St Luke Lutheran Church                                                             5312 Comercio Way                               Woodland Hills, CA 91364                                                                                                                                   pastor.st.luke@outlook.com         Email
                                                                                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                 Page 358 of 442
                                                                                     Case 20-10343-LSS                                                             Doc 8171                                             Filed 01/06/22                                                       Page 374 of 457
                                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                                            Service List
                                                                                                                                                                                                     Served as set forth below

        Description                                                      Name                                                                                                                            Address                                                                                                                  Email               Method of Service
Voting Party                   St Luke Lutheran Church And Early Childhood Center             Attn: James R Pappas, Council President                        20 Candlewood Path                                                Dix Hills, NY 11725                                                     jrpcpa68@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke Methodist                                              c/o Bradley Arant Boult Cummings, LLP                          Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke Methodist                                              11810 Burke St                                                 Omaha, NE 68154                                                                                                                                                               First Class Mail
Chartered Organization         St Luke Methodist Church                                       Tuscarora Council 424                                          1608 E Pine St                                                    Goldsboro, NC 27530‐6136                                                                                    First Class Mail
Chartered Organization         St Luke Presbyterian Church                                    Heart of America Council 307                                   4301 NE Vivion Rd                                                 Kansas City, MO 64119‐2838                                                                                  First Class Mail
Chartered Organization         St Luke Presbyterian Church                                    Central Florida Council 083                                    1255 Knox Mcrae Dr                                                Titusville, FL 32780‐6115                                                                                   First Class Mail
Voting Party                   St Luke Protestant Episcopal Church Of Geauga County           Attn: Christoper Mccann                                        Box 244                                                           11519 William Mills Rd                Chardon, OH 44024                 stlukechardon@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Luke Roman Catholic Church                                  French Creek Council 532                                       421 E 38th St                                                     Erie, PA 16504‐1621                                                                                         First Class Mail
Chartered Organization         St Luke The Evangelist Catholic Church                         Sam Houston Area Council 576                                   11011 Hall Rd                                                     Houston, TX 77089‐2930                                                                                      First Class Mail
Chartered Organization         St Luke The Evangelist R C Church                              Cradle of Liberty Council 525                                  2316 Fairhill Ave                                                 Glenside, PA 19038‐4107                                                                                     First Class Mail
Voting Party                   St Luke The Evangelist Roman Catholic Church, Slidell, LA      Attn: Susan A Zeringue, General Counsel                        7887 Walmsley Ave                                                 New Orleans, LA 70125                                                                                       First Class Mail
Chartered Organization         St Luke The Evangelist School                                  Mid Iowa Council 177                                           1102 NW Weigel Dr                                                 Ankeny, IA 50023‐7404                                                                                       First Class Mail
Voting Party                   St Luke Umc ‐ Lincoln                                          c/o Bradley Arant Boult Cummings, LLP                          Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Luke Union Church                                           W D Boyce 138                                                  2101 E Washington St                                              Bloomington, IL 61701‐4320                                                                                  First Class Mail
Voting Party                   St Luke United Methodist Church                                Attn: Dr Olivia Poole                                          201 Heath St                                                      Enterprise, AL 36330                                                    stlukeenterprise@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke United Methodist Church                                Attn: Melody Traylor                                           2605 Skyland Blvd E                                               Tuscaloosa, AL 35405                                                    mtraylor42@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke United Methodist Church                                Attn: Cathy Pitcock                                            2781 W Ave N                                                      San Angelo, TX 76904                                                    main@stluke‐sanangelo.org           Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke United Methodist Church                                Attn: Kelly Pridgen                                            P.O. Box 867                                                      Columbus, GA 31902                                                      kpridgen@stlukeum.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke United Methodist Church Austin                         Attn: Rev Bonnie Lee How                                       1306 W Lynn St                                                    Austin, TX 78703                                                        stluketexas@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke United Methodist Church Of Walhalla, Inc               Attn: Svetlana R Cartner                                       607 E Main St                                                     Walhalla, SC 29691                                                      svetlana.cartner@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Luke Utd Methodist Church                                   Chattahoochee Council 091                                      1104 2nd Ave                                                      Attention: John Laska, Bsa                                                                                  First Class Mail
Chartered Organization         St Luke Utd Methodist Church                                   Chattahoochee Council 091                                      P.O. Box 867                                                      Attention: John Laska, Bsa Troop 35                                                                         First Class Mail
Chartered Organization         St Luke Utd Methodist Church                                   Buckskin 617                                                   320 E Main St                                                     Harrisville, WV 26362‐1206                                                                                  First Class Mail
Chartered Organization         St Luke Utd Methodist Church                                   Palmetto Council 549                                           128 Providence Rd                                                 Lancaster, SC 29720‐9559                                                                                    First Class Mail
Chartered Organization         St Luke Utd Methodist Church                                   Gulf Coast Council 773                                         1394 E Nine Mile Rd                                                                                                                                                           First Class Mail
Chartered Organization         St Luke Utd Methodist Church                                   Mid‐America Council 326                                        11810 Burke St                                                    Omaha, NE 68154‐2235                                                                                        First Class Mail
Chartered Organization         St Luke Utd Methodist Church                                   Occoneechee 421                                                2916 Wicker St                                                    Sanford, NC 27330‐7655                                                                                      First Class Mail
Chartered Organization         St Luke Utd Methodist Church                                   Juniata Valley Council 497                                     11927 Taylor Rd                                                   Shade Gap, PA 17255‐8902                                                                                    First Class Mail
Chartered Organization         St Luke Utd Methodist Church                                   Yocona Area Council 748                                        1400 Clayton Ave                                                  Tupelo, MS 38804‐1702                                                                                       First Class Mail
Chartered Organization         St Lukes & Messiah Lutheran Churches                           Laurel Highlands Council 527                                   144 Jubilee St                                                    Rockwood, PA 15557                                                                                          First Class Mail
Chartered Organization         St Lukes Ame Church                                            Heart of America Council 307                                   900 New York St                                                   Lawrence, KS 66044‐2750                                                                                     First Class Mail
Chartered Organization         St Lukes Asbury Utd Methodist Church                           Last Frontier Council 480                                      1320 SW 38th St                                                   Oklahoma City, OK 73119‐3801                                                                                First Class Mail
Chartered Organization         St Lukes Catholic Church                                       Circle Ten Council 571                                         202 S Macarthur Blvd                                              Irving, TX 75060‐2708                                                                                       First Class Mail
Chartered Organization         St Lukes Catholic Church                                       Alamo Area Council 583                                         4603 Manitou                                                      San Antonio, TX 78228‐1835                                                                                  First Class Mail
Chartered Organization         St Lukes Catholic Church                                       Greater Los Angeles Area 033                                   5406 Cloverly Ave                                                 Temple City, CA 91780                                                                                       First Class Mail
Chartered Organization         St Lukes Catholic Church                                       Greater Los Angeles Area 033                                   5605 Cloverly Ave                                                 Temple City, CA 91780‐2540                                                                                  First Class Mail
Voting Party                   St Lukes Catholic Church                                       c/o Archdiocese of Los Angeles                                 Attn: Margaret Graf, General Counsel                              3424 Wilshire Blvd                    Los Angeles, CA 90010             legal@la‐archdiocese.org            Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Lukes Catholic Church                                       c/o Archdiocese of Los Angeles                                 Attn: Margaret Graf, General Counsel                              3424 Wilshire Blvd                    Los Angeles, CA 90010             erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Lukes Catholic School                                       Crossroads of America 160                                      7650 N Illinois St                                                Indianapolis, IN 46260‐3621                                                                                 First Class Mail
Voting Party                   St Luke's Chapel (Queenstown)                                  c/o The Law Office of Andrea Ross                              Attn: Andrea Ross, Esq                                            129 N West St, Ste 1                  Easton, MD 21601                  Andie@AndieRossLaw.com              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Lukes Church                                                Connecticut Rivers Council, Bsa 066                            141 Maple St                                                      Ellington, CT 06029‐3332                                                                                    First Class Mail
Voting Party                   St Luke's Church                                               1101 Bay Ridge Ave                                             Annapolis, MD 21403                                                                                                                       office@stlukeseastport.org          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Denison                                              Attn: Donald Perschall                                         427 W Woodard St                                                  Denison, TX 75020                                                       graycoparson@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Lukes Episcopal Church                                      Lincoln Heritage Council 205                                   1206 Maple Ln                                                     Anchorage, KY 40223‐2406                                                                                    First Class Mail
Chartered Organization         St Lukes Episcopal Church                                      Pine Tree Council 218                                          P.O. Box 249                                                      Farmington, ME 04938‐0249                                                                                   First Class Mail
Chartered Organization         St Lukes Episcopal Church                                      Cascade Pacific Council 492                                    120 SW Towle Ave                                                  Gresham, OR 97080‐6750                                                                                      First Class Mail
Chartered Organization         St Lukes Episcopal Church                                      Northern Star Council 250                                      615 Vermillion St                                                 Hastings, MN 55033‐1939                                                                                     First Class Mail
Chartered Organization         St Lukes Episcopal Church                                      Overland Trails 322                                            2304 2nd Ave                                                      Kearney, NE 68847‐5317                                                                                      First Class Mail
Chartered Organization         St Lukes Episcopal Church                                      Central Florida Council 083                                    5555 N Tropical Trl                                               Merritt Island, FL 32953‐7202                                                                               First Class Mail
Chartered Organization         St Lukes Episcopal Church                                      Central Florida Council 083                                    P.O. Box 541025                                                   Merritt Island, FL 32954‐1025                                                                               First Class Mail
Chartered Organization         St Lukes Episcopal Church                                      Grand Canyon Council 010                                       2000 Shepherds Ln                                                 Prescott, AZ 86301‐6143                                                                                     First Class Mail
Chartered Organization         St Lukes Episcopal Church                                      Coastal Georgia Council 099                                    155 Goshen Rd                                                     Rincon, GA 31326‐5546                                                                                       First Class Mail
Chartered Organization         St Lukes Episcopal Church                                      Alamo Area Council 583                                         11 Saint Lukes Ln                                                 San Antonio, TX 78209‐4445                                                                                  First Class Mail
Chartered Organization         St Lukes Episcopal Church                                      Theodore Roosevelt Council 386                                 253 Glen Ave                                                      Sea Cliff, NY 11579‐1544                                                                                    First Class Mail
Chartered Organization         St Lukes Episcopal Church                                      Heart of America Council 307                                   5325 Nieman Rd                                                    Shawnee, KS 66203‐1939                                                                                      First Class Mail
Chartered Organization         St Lukes Episcopal Church                                      Connecticut Rivers Council, Bsa 066                            915 Main St                                                       South Glastonbury, CT 06073‐2230                                                                            First Class Mail
Voting Party                   St Lukes Episcopal Church                                      c/o Diocese of the Central Gulf Coast ‐ the Episcopal Church   Attn: Scott A Remington                                           125 E Intendencia St                  Pensacola, FL 32502               sremington@clarkpartington.com      Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Lukes Episcopal Church                                      Attn: Holly Cooper                                             5318 Palma Ave                                                    Atascadero, CA 93422                                                    office@stlukesatascadero.org        Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Lukes Episcopal Church                                      Attn: Sr Warden Marilyn Fisher                                 1050 Azalea Rd                                                    Mobile, AL 36693                                                        marifish@me.com                     Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Lukes Episcopal Church                                      Attn: Christopher M Decatur                                    1349 W 78th St                                                    Cleveland, OH 44102                                                     clergy.stluke.cleveland@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Luke'S Episcopal Church                                     National Capital Area Council 082                              8009 Fort Hunt Rd                                                 Alexandria, VA 22308‐1207                                                                                   First Class Mail
Chartered Organization         St Luke'S Episcopal Church                                     Longs Peak Council 062                                         2000 Stover St                                                    Fort Collins, CO 80525‐1545                                                                                 First Class Mail
Voting Party                   St Luke's Episcopal Church                                     Attn: Margaret Boyd                                            202 N North St                                                    Seaford, DE 19973                                                       stlukesepis@comcast.net             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church                                     Attn: Dionne Williams                                          777 E 222nd St                                                    Bronx, NY 10467                                                         st.lukeschurch@optimum.net          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church                                     777 E 2nd St                                                   Bronx, NY 10467                                                                                                                           st.lukeschurch@optimum.net          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church                                     Attn: Sr Warden Marilyn Fisher                                 1050 Azalea Rd                                                    Mobile, AL 36693                                                        sremington@clarkpartington.com      Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church                                     Attn: Susie Pepitone                                           5923 Royal Ln                                                     Dallas, TX 75230                                                        spepitone@stlukesdallas.org         Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church                                     Attn: Rector                                                   131 W Council St                                                  Salisbury, NC 28144                                                     rblack@stlukessalisbury.net         Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke'S Episcopal Church                                     Attn: Marcia Lambert                                           5555 N Tropical Trail                                             Merritt Island, FL 32953                                                lletrain@aol.com                    Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church                                     Attn: Mavis Hall                                               320 Ave A                                                         Plattsmouth, NE 68048                                                   lion.mavis.hall@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church                                     c/o Wright, Lindsey & Jennings LLP                             Attn: John R Tisdale                                              200 W Capitol Ave, Ste 2300           Little Rock, AR 72201             jtisdale@wlj.com                    Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church                                     Attn: William E Wolfe                                          30137 Country Club Rd                                             Courtland, VA 23837                                                     jbfwsjj@aol.com                     Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church                                     Attn: George Arrants                                           814 Episcopal School Way                                          Knoxville, TN 37932                                                     garrants@kramer‐rayson.com          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church                                     Attn: Charles Bryan Owen                                       8833 Goodwood Blvd                                                Baton Rouge, LA 70806                                                   frbryanowen@stlukesbr.org           Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church                                     Aka St. Luke's Church                                          Father Matthew Baker, St Lukes Church                             4 St Lukes Church                     Cambridge, NY 12816               fathermbaker@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church                                     Attn: Christopher Decatur                                      1349 W 78th St                                                    Cleveland, OH 44102                                                     clergy.stluke.cleveland@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke'S Episcopal Church                                     John R Tisdale                                                 4601 John F Kennedy Blvd                                          North Little Rock, AR 72116                                                                                 First Class Mail
Voting Party                   St Luke'S Episcopal Church Fairport NY                         Attn: Kenneth R Pepin                                          1 Kerry Hill                                                      77 Country Corner Ln                  Fairport, NY 14450                kenstlfpt@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Lukes Episcopal Church Grayson                              Circle Ten Council 571                                         427 W Woodard St                                                  Denison, TX 75020‐3138                                                                                      First Class Mail
Voting Party                   St Luke's Episcopal Church Inc                                 Attn: Rev Dr David Gortner                                     501 E Wallace Ave                                                 Coeur D'Alene, ID 83814                                                 priest@stlukescda.org               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church Of Courtenay                        P.O. Box 541025                                                Merritt Island, FL 32954                                                                                                                  stlukesmi@cfl.rr.com                Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Church, Wilton                             c/o The Episcopal Diocese of Maine / Martin                    P.O. Box 4036                                                     Portland, ME 04101                                                      bmartin@episcopalmaine.org          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Episcopal Mission Church, Hot Springs, SD            c/o Cadwell Sanford Deibert & Garry LLP                        Attn: Steven W Stanford                                           200 E 10th St, Ste 200                Sioux Falls, SD 57104             ssanford@cadlaw.com                 Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Lukes Episcopal Parish                                      Del Mar Va 081                                                 P.O. Box 38                                                       Church Hill, MD 21623‐0038                                                                                  First Class Mail
Chartered Organization         St Lukes Episopal Church                                       Patriots Path Council 358                                      17 Oak Ave                                                        Metuchen, NJ 08840‐1529                                                                                     First Class Mail
Chartered Organization         St Lukes Epsicopal Church Mens Club                            Mobile Area Council‐Bsa 004                                    980 Azalea Rd                                                     Mobile, AL 36693‐2804                                                                                       First Class Mail
Chartered Organization         St Lukes Evangelical Lutheran                                  National Capital Area Council 082                              1100 N Main St                                                    Culpeper, VA 22701‐2163                                                                                     First Class Mail
Chartered Organization         St Lukes Evangelical Lutheran Church                           Baltimore Area Council 220                                     800 W 36th St                                                     Baltimore, MD 21211‐2537                                                                                    First Class Mail
Chartered Organization         St Lukes Evangelical Lutheran Church                           Baltimore Area Council 220                                     1805 Dundalk Ave                                                  Baltimore, MD 21222‐2904                                                                                    First Class Mail
Chartered Organization         St Lukes Evangelical Lutheran Church                           Erie Shores Council 460                                        20 S Yondota Rd                                                   Curtice, OH 43412‐9486                                                                                      First Class Mail
Chartered Organization         St Lukes Evangelical Lutheran Church                           National Capital Area Council 082                              17740 Muncaster Rd                                                Rockville, MD 20855‐1322                                                                                    First Class Mail
Voting Party                   St Lukes Hickory                                               c/o Bradley Arant Boult Cummings, LLP                          Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Lukes Hospital                                              Erie Shores Council 460                                        5901 Monclova Rd                                                  Maumee, OH 43537‐1841                                                                                       First Class Mail
Chartered Organization         St Luke'S Hospital                                             Greater St Louis Area Council 312                              232 S Woods Mill Rd                                               Chesterfield, MO 63017‐3406                                                                                 First Class Mail
Chartered Organization         St Lukes Hospital‐Anderson Campus Day                          Minsi Trails Council 502                                       1872 St Lukes Blvd                                                Easton, PA 18045‐5669                                                                                       First Class Mail
Chartered Organization         St Lukes Lutheran Church                                       Baltimore Area Council 220                                     1803 Dundalk Ave                                                  Baltimore, MD 21222‐2904                                                                                    First Class Mail
Chartered Organization         St Lukes Lutheran Church                                       Columbia‐Montour 504                                           9 St Lukes Way                                                    Bloomsburg, PA 17815‐9506                                                                                   First Class Mail
Chartered Organization         St Lukes Lutheran Church                                       Mid‐America Council 326                                        211 E 2nd St                                                      Emerson, NE 68733‐3643                                                                                      First Class Mail
Chartered Organization         St Lukes Lutheran Church                                       Theodore Roosevelt Council 386                                 145 Prospect St                                                   Farmingdale, NY 11735‐3408                                                                                  First Class Mail
Chartered Organization         St Lukes Lutheran Church                                       Glaciers Edge Council 620                                      7337 Hubbard Ave                                                  Middleton, WI 53562‐3115                                                                                    First Class Mail
Chartered Organization         St Lukes Lutheran Church                                       Three Fires Council 127                                        63 Fernwood Rd                                                    Montgomery, IL 60538‐2009                                                                                   First Class Mail
Chartered Organization         St Lukes Lutheran Church                                       Baltimore Area Council 220                                     701 Green Valley Rd                                               New Windsor, MD 21776                                                                                       First Class Mail
Chartered Organization         St Lukes Lutheran Church                                       Cradle of Liberty Council 525                                  Rte 73 & Neiffer Rd                                               Obelisk, PA 19492                                                                                           First Class Mail
Chartered Organization         St Lukes Lutheran Church                                       Central Florida Council 083                                    2021 W State Rd 426                                               Oviedo, FL 32765‐8524                                                                                       First Class Mail
Chartered Organization         St Lukes Lutheran Church                                       Blue Ridge Council 551                                         4056 Saint Lukes Church Rd                                        Prosperity, SC 29127‐7196                                                                                   First Class Mail
Chartered Organization         St Lukes Lutheran Church                                       Mt Diablo‐Silverado Council 023                                2491 San Miguel Dr                                                Walnut Creek, CA 94596‐6005                                                                                 First Class Mail
Chartered Organization         St Luke'S Lutheran Church                                      Great Trail 433                                                2121 6th St                                                       Cuyahoga Falls, OH 44221‐3103                                                                               First Class Mail
Chartered Organization         St Luke'S Lutheran Church                                      Cradle of Liberty Council 525                                  Rr 73 Box Neiffer Rd                                              Obelisk, PA 19435                                                                                           First Class Mail
Chartered Organization         St Luke'S Lutheran Church                                      Blue Ridge Council 551                                         4056 Saint Lukes Church Rd                                        Prosperity, SC 29127‐7196                                                                                   First Class Mail
Chartered Organization         St Luke'S Lutheran Church                                      Silicon Valley Monterey Bay 055                                1025 the Dalles Ave                                               Sunnyvale, CA 94087‐4035                                                                                    First Class Mail
Chartered Organization         St Lukes Lutheran Church And School                            National Capital Area Council 082                              1200 Rixeyville Rd                                                Culpeper, VA 22701                                                                                          First Class Mail
Chartered Organization         St Lukes Lutheran School                                       Three Fires Council 127                                        63 Fernwood Rd                                                    Montgomery, IL 60538‐2009                                                                                   First Class Mail
Chartered Organization         St Lukes Methodist Church                                      Del Mar Va 081                                                 100 S 5th Ave                                                     Denton, MD 21629‐1305                                                                                       First Class Mail
Chartered Organization         St Lukes Methodist Church                                      Piedmont Council 420                                           52 16th Ave Nw                                                    Hickory, NC 28601‐2534                                                                                      First Class Mail
Chartered Organization         St Lukes Methodist Church                                      Buffalo Trail Council 567                                      3011 W Kansas Ave                                                 Midland, TX 79701‐5524                                                                                      First Class Mail
Voting Party                   St Lukes On The Hill                                           40 Mcbride Rd                                                  Mechanicville, NY 12118                                                                                                                   stlukesonthehill@biznycap.rr.com    Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Luke'S On The Lake Episcopal Church                         Capitol Area Council 564                                       5600 Ranch Rd 620 N                                               Austin, TX 78732‐1823                                                                                       First Class Mail
Chartered Organization         St Luke'S On The Lake Episcopal Church                         Capitol Area Council 564                                       5600 Ranch Rd 620 N                                               Austin, TX 78732‐1823                                                                                       First Class Mail
Chartered Organization         St Lukes Presbyterian Church                                   Atlanta Area Council 092                                       1978 Mount Vernon Rd                                              Dunwoody, GA 30338‐4617                                                                                     First Class Mail
Chartered Organization         St Lukes Presbyterian Church                                   Sam Houston Area Council 576                                   8915 Timberside Dr                                                Houston, TX 77025‐3738                                                                                      First Class Mail
Voting Party                   St Luke's Protestant Episcopal Church Of Wenatchee, Washingt   Attn: The Rev Frances Twiggs                                   428 King St                                                       Wenatchee, WA 98801                                                     stlukes@nwi.net                     Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Luke'S Rc Church                                            Suffolk County Council Inc 404                                 266 Wicks Rd                                                      Brentwood, NY 11717‐1129                                                                                    First Class Mail
Chartered Organization         St Lukes Roman Catholic Church                                 Greater New York Councils, Bsa 640                             1632 Clintonville St                                              Whitestone, NY 11357                                                                                        First Class Mail
Chartered Organization         St Lukes Roman Catholic Church                                 Greater New York Councils, Bsa 640                             1634 Clintonville St                                              Whitestone, NY 11357‐2623                                                                                   First Class Mail
Voting Party                   St Lukes Roman Catholic Congregation, Inc                      Attn: Matthew W Oakey                                          218 N Charles St, Ste 400                                         Baltimore, MD 21201                                                     moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Roman Catholic Congregation, Inc                     Attn: Matthew W Oakey                                          218 N Charles St, Ste 400                                         Baltimore, MD 21201                                                     moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's St Petersburg                                        c/o Bradley Arant Boult Cummings, LLP                          Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Lukes U C C Mens Brotherhood                                Three Harbors Council 636                                      2200 18th Ave                                                     South Milwaukee, WI 53172‐2304                                                                              First Class Mail
Voting Party                   St Lukes Umc                                                   c/o Bradley Arant Boult Cummings, LLP                          Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's Umc Martinsburg, WV                                  Attn: Ruthanne Thompson                                        700 New York Ave                                                  Martinsburg, WV 25401                                                   stlukesumc700@comcast.net           Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Lukes Umc Of Kokomo                                         Attn: G Scott Pattison                                         700 E Southway Blvd                                               Kokomo, IN 46902                                                        office@stlukesumc.net               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's United Methodist Church                              Attn: Rev Tabitha Nelson                                       6325 W Main St                                                    Maryville, IL 62062                                                     office@stlukesmaryville.org         Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP                          Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200              Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's United Methodist Church                              Attn: Benjamin Bagley                                          401 E Main St                                                     Kilgore, TX 75662                                                       benbagley1987@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St Luke's United Methodist Church                              Attn: Secretary/Treasurer And/Or Pastor                        3011 W Kansas Ave                                                 Midland, TX 79701                                                                                           First Class Mail
Voting Party                   St Luke's United Methodist Church, Inc                         Attn: Dir of Finance                                           8817 S Broadway                                                   Highlands Ranch, CO 80129                                               rex@stlukeshr.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         St Luke'S University Health Network                            Minsi Trails Council 502                                       240 Union Station Plz                                             Bethlehem, PA 18015‐1281                                                                                    First Class Mail
Chartered Organization         St Lukes Utd Church Of Christ                                  Cradle of Liberty Council 525                                  200 W Main St                                                     Trappe, PA 19426‐2007                                                                                       First Class Mail
Chartered Organization         St Lukes Utd Methodist Church                                  Christ Church St Michaels                                      Del Mar Va 081                                                    103 Willow St                                                                                               First Class Mail
Chartered Organization         St Lukes Utd Methodist Church                                  Blue Ridge Mtns Council 599                                    3090 N Main St                                                    Danville, VA 24540‐1741                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                            Page 359 of 442
                                                                                   Case 20-10343-LSS                                            Doc 8171                                            Filed 01/06/22                                                       Page 375 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                        Name                                                                                                      Address                                                                                                                  Email              Method of Service
Chartered Organization         St Lukes Utd Methodist Church                              Andrew Jackson Council 303                      621 Duling Ave                                                   Jackson, MS 39216‐4012                                                                                     First Class Mail
Chartered Organization         St Lukes Utd Methodist Church                              Attention: Caroline Cron                        Sam Houston Area Council 576                                     P.O. Box 22013                       Houston, TX 77227‐2013                                                First Class Mail
Chartered Organization         St Lukes Utd Methodist Church                              Heart of Virginia Council 602                   4101 Fordham Rd                                                  Richmond District                                                                                          First Class Mail
Chartered Organization         St Lukes Utd Methodist Church                              Greater Tampa Bay Area 089                      4444 5th Ave N                                                   St Petersburg, FL 33713‐6204                                                                               First Class Mail
Chartered Organization         St Lukes Utd Methodist Church                              Colonial Virginia Council 595                   300 Ella Taylor Rd                                               Yorktown, VA 23692‐3236                                                                                    First Class Mail
Chartered Organization         St Lukes Utd Methodist Men                                 Central Florida Council 083                     4851 S Apopka Vineland Rd                                        Orlando, FL 32819‐3128                                                                                     First Class Mail
Chartered Organization         St Lukes Utd Methodist Mens Club                           Heart of America Council 307                    9420 James A Reed Rd                                             Kansas City, MO 64138‐4628                                                                                 First Class Mail
Chartered Organization         St Luke'S Warren Hospital Inc                              Minsi Trails Council 502                        185 Roseberry St                                                 Phillipsburg, NJ 08865‐1690                                                                                First Class Mail
Voting Party                   St Luke‐Simpson Limited Methodist Church                   Attn: Rev Dr John Robert Black                  1500 Country Club Rd                                             Lake Charles, LA 70605                                                  stlukesimpson@stlukesimpson.org    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Madeleine Sophie Rc Ch                                  Twin Rivers Council 364                         3500 Carman Rd                                                   Schenectady, NY 12303‐5320                                                                                 First Class Mail
Chartered Organization         St Madelines Roman Catholic Church                         Cradle of Liberty Council 525                   110 Park St                                                      Ridley Park, PA 19078‐3309                                                                                 First Class Mail
Voting Party                   St Magdalen De Pazi Parish                                 Attn: Andre L Kydala                            54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                          First Class Mail
Chartered Organization         St Malachy Catholic Church                                 Crossroads of America 160                       9833 E County Rd 750 N                                           Brownsburg, IN 46112‐9633                                                                                  First Class Mail
Chartered Organization         St Malachy'S Catholic Church                               Laurel Highlands Council 527                    343 Forest Grove Rd                                              Coraopolis, PA 15108‐3761                                                                                  First Class Mail
Chartered Organization         St Margaret Catholic School                                Calcasieu Area Council 209                      2510 Enterprise Blvd                                             Lake Charles, LA 70601‐7674                                                                                First Class Mail
Chartered Organization         St Margaret Episcopal Church                               Orange County Council 039                       31641 La Novia Ave                                               San Juan Capistrano, CA 92675‐2752                                                                         First Class Mail
Chartered Organization         St Margaret Mary                                           Mid‐America Council 326                         6116 Dodge St                                                    Omaha, NE 68132‐2114                                                                                       First Class Mail
Chartered Organization         St Margaret Mary Alacoque Church                           Greater St Louis Area Council 312               4900 Ringer Rd                                                   Saint Louis, MO 63129‐1751                                                                                 First Class Mail
Chartered Organization         St Margaret Mary Catholic Church                           Capitol Area Council 564                        1101 W New Hope Dr                                               Cedar Park, TX 78613‐6703                                                                                  First Class Mail
Chartered Organization         St Margaret Mary Catholic Church                           Three Harbors Council 636                       3970 N 92nd St                                                   Milwaukee, WI 53222‐2506                                                                                   First Class Mail
Chartered Organization         St Margaret Mary Catholic Church                           Three Fires Council 127                         1450 Green Trails Dr                                             Naperville, IL 60540‐8359                                                                                  First Class Mail
Chartered Organization         St Margaret Mary Catholic Church                           Bay‐Lakes Council 635                           439 Washington Ave                                               Neenah, WI 54956‐3340                                                                                      First Class Mail
Chartered Organization         St Margaret Mary Catholic Church                           Southeast Louisiana Council 214                 1050 Robert Blvd                                                 Slidell, LA 70458‐2078                                                                                     First Class Mail
Voting Party                   St Margaret Mary Catholic Church Sedar Park TX             c/o Bsa Coordinator                             Attn: Chancellor                                                 6225 E US 290 Hwy Svrd Eb            Austin, TX 78723                   ron‐walker@austindiocese.org       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Margaret Mary Catholic Church Sedar Park TX             Attn: Rev Luis Alberto Caceres                  1101 W New Hope Dr                                               Cedar Park, TX 78613                                                                                       First Class Mail
Chartered Organization         St Margaret Mary Church                                    New Birth of Freedom 544                        2848 Herr St                                                     Harrisburg, PA 17103‐1817                                                                                  First Class Mail
Chartered Organization         St Margaret Mary Holy Name Society                         Greater Los Angeles Area 033                    25511 Eshelman Ave                                               Lomita, CA 90717‐2621                                                                                      First Class Mail
Voting Party                   St Margaret Mary Holy Name Society                         c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                   Los Angeles, CA 90010              legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Margaret Mary Roman Catholic Church                     Lincoln Heritage Council 205                    7813 Shelbyville Rd                                              Louisville, KY 40222‐5413                                                                                  First Class Mail
Chartered Organization         St Margaret Mary Roman Catholic Church                     Laurel Highlands Council 527                    1 Parish Pl                                                      Moon Twp, PA 15108‐2617                                                                                    First Class Mail
Chartered Organization         St Margaret Mary Roman Catholic Church                     Central Florida Council 083                     526 N Park Ave                                                   Winter Park, FL 32789‐3208                                                                                 First Class Mail
Chartered Organization         St Margaret Marys Catholic Church                          Alamo Area Council 583                          1314 Fair Ave                                                    San Antonio, TX 78223‐1438                                                                                 First Class Mail
Chartered Organization         St Margaret Of Scotland                                    Greater St Louis Area Council 312               3854 Flad Ave                                                    Saint Louis, MO 63110‐4024                                                                                 First Class Mail
Chartered Organization         St Margaret Of York Catholic Church                        Dan Beard Council, Bsa 438                      9499 Columbia Rd                                                 Loveland, OH 45140‐1560                                                                                    First Class Mail
Chartered Organization         St Margaret Of York Catholic School                        Dan Beard Council, Bsa 438                      9495 Columbia Rd                                                 Loveland, OH 45140‐1560                                                                                    First Class Mail
Chartered Organization         St Margaret Parish                                         The Spirit of Adventure 227                     374 Stevens St                                                   Lowell, MA 01851‐3607                                                                                      First Class Mail
Chartered Organization         St Margaret Roman Catholic Church                          Greater New York Councils, Bsa 640              6605 79th Pl                                                     Middle Village, NY 11379‐2722                                                                              First Class Mail
Chartered Organization         St Margaret Scotland Rc Ch                                 Del Mar Va 081                                  2431 Frazer Rd                                                   Newark, DE 19702‐3817                                                                                      First Class Mail
Chartered Organization         St Margaret Scotland Rc Ch                                 Laurel Highlands Council 527                    310 Mansfield Ave                                                Pittsburgh, PA 15220‐2902                                                                                  First Class Mail
Chartered Organization         St Margarets Catholic Church                               Narragansett 546                                1098 Pawtucket Ave                                               Rumford, RI 02916‐1845                                                                                     First Class Mail
Chartered Organization         St Margaret'S Church                                       Baden‐Powell Council 368                        14 Copeland Ave                                                  Homer, NY 13077‐1619                                                                                       First Class Mail
Voting Party                   St Margaret'S Church, Palm Desert                          Attn: Kirby Smith                               2083 Sunset Cliffs Blvd                                          San Diego, CA 92107                                                     ksmith@edsd.org                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Margaret's Church, Palm Desert                          c/o Sullivan Hill Rez & Engel                   Attn: James P Hill, Esq                                          600 B St, Ste 1700                   San Diego, CA 92101                hill@sullivanhill.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Margarets Episcopal Church                              Heart of America Council 307                    5700 W 6th St                                                    Lawrence, KS 66049‐4829                                                                                    First Class Mail
Chartered Organization         St Margarets Episcopal Church                              California Inland Empire Council 045            47535 Hwy 74                                                     Palm Desert, CA 92260‐5946                                                                                 First Class Mail
Voting Party                   St Margaret's Episcopal Church                             Attn: Barbara Baugh                             5310 Stahl Rd                                                    San Antonio, TX 78247                                                   gretchen@stmargs.org               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Margaret's Episcopal Church Of Baton Rouge              Attn: Revtommy J Dillion                        12663 Perkins Rd                                                 Baton Rouge, TX 70810‐1909                                              rector@saintmargarets.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Margaret's Episcopal Church Of Inverness, FL, Inc       114 N Osceola Ave                               Inverness, FL 34450                                                                                                                      stmaggies@tampabay.rr.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Margarets Mens Club                                     Great Lakes Fsc 272                             21101 E 13 Mile Rd                                               Saint Clair Shores, MI 48082‐1557                                                                          First Class Mail
Chartered Organization         St Margarets Roman Catholic Church                         Baltimore Area Council 220                      141 N Hickory Ave                                                Bel Air, MD 21014‐3239                                                                                     First Class Mail
Voting Party                   St Margaret's Roman Catholic Congregation, Incorporated    Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                     moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Margarets School                                        Longhouse Council 373                           200 Roxboro Rd                                                   Mattydale, NY 13211                                                                                        First Class Mail
Chartered Organization         St Marguerite D Youville Catholic Miss                     Northeast Georgia Council 101                   85 Gloster Rd Nw                                                 Lawrenceville, GA 30044‐6784                                                                               First Class Mail
Chartered Organization         St Marguerite D Youville Parish                            The Spirit of Adventure 227                     1340 Lakeview Ave                                                Dracut, MA 01826‐3436                                                                                      First Class Mail
Chartered Organization         St Maria Goretti Catholic Church                           Longhorn Council 662                            1200 S Davis Dr                                                  Arlington, TX 76013‐2321                                                                                   First Class Mail
Chartered Organization         St Maria Goretti Catholic Church                           Glaciers Edge Council 620                       5405 Flad Ave                                                    Madison, WI 53711‐3512                                                                                     First Class Mail
Chartered Organization         St Maria Goretti Catholic Church                           Crossroads of America 160                       17102 Spring Mill Rd                                             Westfield, IN 46074‐9673                                                                                   First Class Mail
Chartered Organization         St Maria Goretti Church                                    Long Beach Area Council 032                     3954 Palo Verde Ave                                              Long Beach, CA 90808‐2223                                                                                  First Class Mail
Chartered Organization         St Maria Goretti Church                                    Silicon Valley Monterey Bay 055                 2980 Senter Rd                                                   San Jose, CA 95111‐1251                                                                                    First Class Mail
Voting Party                   St Maria Goretti Church                                    c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                   Los Angeles, CA 90010              legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Maria Goretti High School, Inc                          Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                     moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Maria Goretti Roman Catholic Church                     Cradle of Liberty Council 525                   1601 Derstine Rd                                                 Hatfield, PA 19440‐1747                                                                                    First Class Mail
Chartered Organization         St Mariana De Paredes Church                               Greater Los Angeles Area 033                    7922 Passons Blvd                                                Pico Rivera, CA 90660‐4700                                                                                 First Class Mail
Voting Party                   St Mariana De Paredes Church                               c/o Roman Catholic Archdiocese of Los Angeles   Attn: Margaret Graf                                              3424 Wilshire Blvd                   Los Angeles, CA 90010              legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Marianne De Paredes Church                              Greater Los Angeles Area 033                    7922 Passons Blvd                                                Pico Rivera, CA 90660‐4700                                                                                 First Class Mail
Voting Party                   St Marianne De Paredes Church                              c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                   Los Angeles, CA 90010              legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Maries River Railroad                                   Inland Nwest Council 611                        318 N 10th St                                                    St Maries, ID 83861‐1750                                                                                   First Class Mail
Chartered Organization         St Marina Coptic Orthodox Church                           Orange County Council 039                       5 Wrigley                                                        Irvine, CA 92618‐2711                                                                                      First Class Mail
Voting Party                   St Mark And All Saints Episcopal Church                    c/o Ford, Flower, Hasbrouck & Loefflad          Attn: Robert A Loefflad, Esq                                     P.O. Box 405                         Linwood, NJ 08221                  rloefflad@ffhlaw.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Mark Catholic Church                                    Mecklenburg County Council 415                  14740 Stumptown Rd                                               Huntersville, NC 28078‐9569                                                                                First Class Mail
Chartered Organization         St Mark Catholic Church                                    Greater St Louis Area Council 312               8300 Morganford Rd                                               Saint Louis, MO 63123‐6815                                                                                 First Class Mail
Chartered Organization         St Mark Catholic Church                                    South Florida Council 084                       5601 S Flamingo Rd                                               Southwest Ranches, FL 33330‐3203                                                                           First Class Mail
Chartered Organization         St Mark Catholic Church                                    National Capital Area Council 082               9970 Vale Rd                                                     Vienna, VA 22181‐4005                                                                                      First Class Mail
Chartered Organization         St Mark Catholic Church                                    Cape Fear Council 425                           1011 Eastwood Rd                                                 Wilmington, NC 28403‐1905                                                                                  First Class Mail
Chartered Organization         St Mark Catholic School                                    South Florida Council 084                       5601 S Flamingo Rd                                               Southwest Ranches, FL 33330‐3203                                                                           First Class Mail
Chartered Organization         St Mark Church                                             Laurel Highlands Council 527                    410 6th Ave                                                      Altoona, PA 16602‐2618                                                                                     First Class Mail
Chartered Organization         St Mark Church                                             Blue Grass Council 204                          628 W Main St                                                    Richmond, KY 40475                                                                                         First Class Mail
Voting Party                   St Mark Cleburne                                           c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark Cleburne                                           1109 W Henderson                                Ckeburne, TX 76033                                                                                                                                                          First Class Mail
Chartered Organization         St Mark Evangelical Lutheran Church                        Pathway To Adventure 456                        11007 S 76th Ave                                                 Worth, IL 60482‐1192                                                                                       First Class Mail
Chartered Organization         St Mark Lutheran Church                                    Great Alaska Council 610                        3230 Lake Otis Pkwy                                              Anchorage, AK 99508‐4570                                                                                   First Class Mail
Chartered Organization         St Mark Lutheran Church                                    Great Trail 433                                 1330 N Carpenter Rd                                              Brunswick, OH 44212‐3113                                                                                   First Class Mail
Chartered Organization         St Mark Lutheran Church                                    President Gerald R Ford 781                     1934 52nd St SE                                                  Kentwood, MI 49508‐4915                                                                                    First Class Mail
Chartered Organization         St Mark Lutheran Church                                    Greater Niagara Frontier Council 380            1135 Oliver St                                                   North Tonawanda, NY 14120‐2637                                                                             First Class Mail
Chartered Organization         St Mark Lutheran Church Of Annville                        Pennsylvania Dutch Council 524                  200 E Main St                                                    Annville, PA 17003‐1505                                                                                    First Class Mail
Chartered Organization         St Mark Methodist Church                                   Pine Burr Area Council 304                      3350 28th St                                                     Gulfport, MS 39501‐4806                                                                                    First Class Mail
Chartered Organization         St Mark Methodist Church                                   Blue Ridge Council 551                          616 Quincy Rd                                                    Seneca, SC 29678‐3820                                                                                      First Class Mail
Chartered Organization         St Mark Parish                                             Samoset Council, Bsa 627                        602 Military Rd                                                  Rothschild, WI 54474‐1525                                                                                  First Class Mail
Chartered Organization         St Mark Parish Church                                      Chief Seattle Council 609                       18033 15th Ave NE                                                Shoreline, WA 98155‐3813                                                                                   First Class Mail
Chartered Organization         St Mark Presbyterian Church                                Greater St Louis Area Council 312               601 Claymont Dr                                                  Ballwin, MO 63011‐2443                                                                                     First Class Mail
Chartered Organization         St Mark Presbyterian Church                                Texas Swest Council 741                         2506 Johnson Ave                                                 San Angelo, TX 76904‐5444                                                                                  First Class Mail
Chartered Organization         St Mark Roman Catholic Church                              Greater Niagara Frontier Council 380            401 Woodward Ave                                                 Buffalo, NY 14214‐1937                                                                                     First Class Mail
Chartered Organization         St Mark Roman Catholic Church                              Baltimore Area Council 220                      30 Melvin Ave                                                    Catonsville, MD 21228‐4424                                                                                 First Class Mail
Chartered Organization         St Mark School                                             Connecticut Yankee Council Bsa 072              500 Wigwam Ln                                                    Stratford, CT 06614‐2491                                                                                   First Class Mail
Chartered Organization         St Mark The Evangelist Catholic Church                     Last Frontier Council 480                       P.O. Box 722217                                                  Norman, OK 73070‐8675                                                                                      First Class Mail
Chartered Organization         St Mark The Evangelist Catholic Church                     Greater Tampa Bay Area 089                      9724 Cross Creek Blvd                                            Tampa, FL 33647‐2594                                                                                       First Class Mail
Chartered Organization         St Mark The Evangelist Church                              Patriots Path Council 358                       59 Spring Ln                                                     Long Valley, NJ 07853‐3550                                                                                 First Class Mail
Chartered Organization         St Mark The Evangelist R C Church                          French Creek Council 532                        695 Smithson Ave                                                 Erie, PA 16511‐2064                                                                                        First Class Mail
Chartered Organization         St Mark The Evangelist School                              Greater New York Councils, Bsa 640              55 W 138th St                                                    New York, NY 10037‐1711                                                                                    First Class Mail
Voting Party                   St Mark Umc                                                c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark United Methodist Church                            Attn: Financial Secretary, St Mark UMC          301 W Pecan Blvd                                                 McAllen, TX 78501                                                       wprescher@riotx.org                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark United Methodist Church                            601 W Braker Ln                                 Austin, TX 78753                                                                                                                         stmarkaustin@gmail.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark United Methodist Church                            3942 La Colina Rd                               Santa Barbara, CA 93110                                                                                                                  pastor@stmarkunited.org            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark United Methodist Church (Knox)                     Attn: Treasurer, St Mark Umc                    7001 S Northshore Dr                                             Knoxville, TN 37919                                                     office@stmarkknox.org              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark United Methodist Church (Knox)                     Attn: Treasurer                                 P.O. Box 11007                                                   Knoxville, TN 37939‐1007                                                                                   First Class Mail
Voting Party                   St Mark United Methodist Church (South Carolina)           Attn: Rev Michelle D Cockcroft                  413 Geddes Ave                                                   Charleston, SC 29407                                                    mdcockcroft@umcsc.org              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark United Methodist Church Of Columbus Georgia, Inc   Attn: Kenneth Roberts, Church Administrator     6795 Whitesville Rd                                              Columbus, GA 31904                                                      kenny@stmarkumc.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark United Methodist Church of Greenville Inc          Attn: Steve Byce                                109 Seattle Slew Ln                                              Greenville, SC 29617                                                                                       First Class Mail
Voting Party                   St Mark United Methodist Church of Greenville Inc          Attn: Dorothy McConnell                         306 N Franklin Rd                                                Greenville, SC 29609                                                                                       First Class Mail
Voting Party                   St Mark United Methodist Church/ Gulfport                  Attn: Rev Rapheal D Johnson                     3350 28th St                                                     Gulfport, MS 39501                                                      johnsonrapheal@bellsouth.net       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Mark Utd Church Of Christ                               Greater St Louis Area Council 312               1861 Missouri State Rd                                           Arnold, MO 63010‐2013                                                                                      First Class Mail
Chartered Organization         St Mark Utd Methodist Church                               Greater Alabama Council 001                     1320 Golden Springs Rd                                           Anniston, AL 36207‐6978                                                                                    First Class Mail
Chartered Organization         St Mark Utd Methodist Church                               Georgia‐Carolina 093                            2367 Washington Rd                                               Augusta, GA 30904‐3164                                                                                     First Class Mail
Chartered Organization         St Mark Utd Methodist Church                               Pathway To Adventure 456                        8441 S Saint Lawrence Ave                                        Chicago, IL 60619‐6022                                                                                     First Class Mail
Chartered Organization         St Mark Utd Methodist Church                               Blue Ridge Council 551                          550 Hwy 72 Bypass                                                Greenwood, SC 29649‐1300                                                                                   First Class Mail
Chartered Organization         St Mark Utd Methodist Church                               Washington Crossing Council 777                 465 Paxson Ave                                                   Hamilton Square, NJ 08690‐1914                                                                             First Class Mail
Chartered Organization         St Mark Utd Methodist Church                               Rainbow Council 702                             1200 W Calista St                                                Kankakee, IL 60901‐3313                                                                                    First Class Mail
Chartered Organization         St Mark Utd Methodist Church                               Rio Grande Council 775                          301 Pecan Blvd                                                   Mcallen, TX 78501‐2354                                                                                     First Class Mail
Chartered Organization         St Mark Utd Methodist Church                               Tidewater Council 596                           4320 Twin Pines Rd                                               Portsmouth, VA 23703‐1635                                                                                  First Class Mail
Chartered Organization         St Mark Youth Enrichment                                   Northeast Iowa Council 178                      1201 Locust St                                                   Dubuque, IA 52001‐4709                                                                                     First Class Mail
Voting Party                   St Mark's & All Saints Episcopal Church                    311 Ontario St                                  Buffalo, NY 14207                                                                                                                        rev.roseynogal@gmail.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark's At The Crossing                                  131 W Malaga Rd                                 Williamstown, NJ 08094                                                                                                                                                      First Class Mail
Chartered Organization         St Marks At The Crossing Episc Ch                          Garden State Council 690                        131 W Malaga Rd                                                  Williamstown, NJ 08094‐3852                                                                                First Class Mail
Chartered Organization         St Marks Cathedral School                                  Norwela Council 215                             2785 Fairfield Ave                                               Shreveport, LA 71104‐2984                                                                                  First Class Mail
Chartered Organization         St Marks Catholic Church                                   Water and Woods Council 782                     P.O. Box 131                                                     Au Gres, MI 48703‐0131                                                                                     First Class Mail
Chartered Organization         St Marks Catholic Church                                   Ore‐Ida Council 106 ‐ Bsa 106                   7960 W Northview St                                              Boise, ID 83704‐7242                                                                                       First Class Mail
Chartered Organization         St Marks Catholic Church                                   Baltimore Area Council 220                      812 Reckord Rd                                                   Fallston, MD 21047‐2440                                                                                    First Class Mail
Chartered Organization         St Marks Catholic Church                                   Circle Ten Council 571                          1201 Alma Dr                                                     Plano, TX 75075‐7114                                                                                       First Class Mail
Chartered Organization         St Marks Catholic Church                                   National Capital Area Council 082               9970 Vale Rd                                                     Vienna, VA 22181‐4005                                                                                      First Class Mail
Chartered Organization         St Marks Catholic School                                   Circle Ten Council 571                          1201 Alma Dr                                                     Plano, TX 75075‐7114                                                                                       First Class Mail
Chartered Organization         St Marks Church                                            Three Fires Council 127                         320 Franklin St                                                  Geneva, IL 60134‐2639                                                                                      First Class Mail
Voting Party                   St Mark's Church                                           754 Montauk Hwy                                 Islip, NY 11751                                                                                                                          stmrks@optonline.net               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark's Church                                           33‐50 82nd St                                   Jackson Heights, NY 11372                                                                                                                stmarksjh@gmail.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark's Church Of Aberdeen                               c/o Cadwell Sanford Deibert & Garry LLP         Attn: Steven W Sanford                                           200 E 10th St, Ste 200               Sioux Falls, SD 57104              ssanford@cadlaw.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Marks Episcopal Cathedral                               Attn: Timothy Miles Kingsley                    519 Oak Grove St                                                 Minneapolis, MN 55403                                                   timk@ourcathedral.org              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Marks Episcopal Church                                  Greater Los Angeles Area 033                    1014 E Altadena Dr                                               Altadena, CA 91001‐2041                                                                                    First Class Mail
Chartered Organization         St Marks Episcopal Church                                  Three Fires Council 127                         393 N Main St                                                    Glen Ellyn, IL 60137‐5068                                                                                  First Class Mail
Chartered Organization         St Marks Episcopal Church                                  Suffolk County Council Inc 404                  754 Main St                                                      Islip, NY 11751‐3650                                                                                       First Class Mail
Chartered Organization         St Marks Episcopal Church                                  Greater New York Councils, Bsa 640              3350 82nd St                                                     Jackson Heights, NY 11372‐1436                                                                             First Class Mail
Chartered Organization         St Marks Episcopal Church                                  North Florida Council 087                       4129 Oxford Ave                                                  Jacksonville, FL 32210‐4425                                                                                First Class Mail
Chartered Organization         St Marks Episcopal Church                                  Connecticut Yankee Council Bsa 072              111 Oenoke Rdg                                                   New Canaan, CT 06840‐4105                                                                                  First Class Mail
Chartered Organization         St Marks Episcopal Church                                  Gulf Stream Council 085                         3395 Burns Rd                                                    Palm Beach Gardens, FL 33410‐4322                                                                          First Class Mail
Chartered Organization         St Marks Episcopal Church                                  Greater Tampa Bay Area 089                      13312 Cain Rd                                                    Tampa, FL 33625‐4004                                                                                       First Class Mail
Voting Party                   St Marks Episcopal Church                                  Attn: Carole Elizabeth Martinez                 3245 Manhattan Blvd                                              Harvey, LA 70058                                                        noladreamer@cox.net                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Marks Episcopal Church                                  Carole Elizabeth Martinez                       3245 Manhattan Blvd                                              Harvey, LA 70058                                                        noladreamer@cox.net                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Mark's Episcopal Church                                 Three Rivers Council 578                        680 Calder St                                                    Beaumont, TX 77701‐2303                                                                                    First Class Mail
Chartered Organization         St Mark's Episcopal Church                                 North Florida Council 087                       P.O. Box 370                                                     Palatka, FL 32178‐0370                                                                                     First Class Mail
Chartered Organization         St Mark's Episcopal Church                                 Crossroads of America 160                       710 E Buchanan St                                                Plainfield, IN 46168‐1514                                                                                  First Class Mail
Voting Party                   St Mark's Episcopal Church                                 Rick Veit                                       1908 Central Ave                                                 Casper, WY 82602                                                        rickfveit@aol.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark's Episcopal Church                                 Attn: Elizabeth Gardner                         6744 S Kings Hwy                                                 Alexandria, VA 22306                                                    rector@stmarksalex.org             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark's Episcopal Church                                 Attn: Peter C Nicolaysen                        P.O. Box 7                                                       Casper, WY 82602                                                        petercn@vcn.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark's Episcopal Church                                 c/o Wright, Lindsey & Jennings LLP              Attn: John R Tisdale                                             200 W Capitol Ave, Ste 2300          Little Rock, AR 72201              jtisdale@wlj.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Mark's Episcopal Church                                 John R Tisdale                                  1000 Mississippi Ave                                             Little Rock, AR 72207                                                                                      First Class Mail
Voting Party                   St Mark's Episcopal Church ‐ Johnstown                     Attn: Suzanne L Dewalt                          535 Smithfield St, Ste 300                                       Pittsburgh, PA 15222                                                    sld@sgkpc.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 360 of 442
                                                                                    Case 20-10343-LSS                                       Doc 8171                                          Filed 01/06/22                                                     Page 376 of 457
                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                  Service List
                                                                                                                                                                           Served as set forth below

        Description                                                          Name                                                                                              Address                                                                                                                          Email                    Method of Service
Voting Party                   St Mark's Episcopal Church ‐ Johnstown                         Attn: The Rev Canon Kimberly Karashin   325 Oliver Ave, Ste 300                                        Pittsburgh, PA 15222                                                                kkarashin@episcopalpgh.org           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Mark's Episcopal Church (Palatka)                           c/o Rogers Towers, Pa                   Attn: Betsy C Cox, Esq                                         1301 Riverplace Blvd, Ste 1500     Jacksonville, FL 32207                           frbobmarsh@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Mark's Episcopal Church (Palatka)                           Robert Marsh                            P.O. Box 370                                                   Palatka, FL 32178                                                                   frbobmarsh@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Marks Episcopal Church Basking Ridge NJ                     Attn: Joan Graff                        140 S Finely Ave                                               Basking Ridge, NJ 07920                                                             saintmarks.br@verizon.net            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Marks Episcopal Church Beaumont TX                          Attn: James M Black Chancellor          3535 Calder Ave, Ste 300                                       Beaumont, TX 77706                                                                  jblack@jamesmblack.com               Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Mark's Episcopal Church Huntersville, NC                    8600 Mt. Holly‐Huntersville Rd          Huntersville, NC 28078                                                                                                                             life@stmarksnc.org                   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Marks Episcopal Church Little Rock                          Quapaw Area Council 018                 1000 N Mississippi St                                          Little Rock, AR 72207‐5982                                                                                               First Class Mail
Voting Party                   St Marks Epsicopal Church                                      Attn: Patrick Miller                    3816 Bellaire Blvd                                             Houston, TX 77025                                                                   patrick.miller@stmarks‐houston.org   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Marks Evangelical Lutheran Church                           Juniata Valley Council 497              573 Alfarata Rd                                                Lewistown, PA 17044‐7005                                                                                                 First Class Mail
Chartered Organization         St Marks Evangelical Lutheran Church                           New Birth of Freedom 544                117 W Keller St                                                Mechanicsburg, PA 17055‐6336                                                                                             First Class Mail
Chartered Organization         St Marks Evangelical Lutheran Church                           Northeast Illinois 129                  3350 N Delany Rd                                               Waukegan, IL 60087‐1343                                                                                                  First Class Mail
Voting Party                   St Marks Fallston, Roman Catholic Congregation, Inc            Attn: Matthew W Oakey                   218 N Charles St, Ste 400                                      Baltimore, MD 21201                                                                 moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Marks Lutheran Brotherhood In Cuero                         (Elca)                                  P.O. Box 248                                                   Cuero, TX 77954‐0248                                                                                                     First Class Mail
Chartered Organization         St Marks Lutheran Church                                       Longhouse Council 373                   2840 Cold Springs Rd                                           Baldwinsville, NY 13027‐9003                                                                                             First Class Mail
Chartered Organization         St Marks Lutheran Church                                       Hawk Mountain Council 528               5 Brooke Mnr                                                   Birdsboro, PA 19508‐2201                                                                                                 First Class Mail
Chartered Organization         St Marks Lutheran Church                                       Cradle of Liberty Council 525           508 Harry St                                                   Conshohocken, PA 19428‐1733                                                                                              First Class Mail
Chartered Organization         St Marks Lutheran Church                                       Susquehanna Council 533                 225 N Market St                                                Elysburg, PA 17824‐9672                                                                                                  First Class Mail
Chartered Organization         St Marks Lutheran Church                                       Northern Lights Council 429             715 24th Ave S                                                 Grand Forks, ND 58201‐6955                                                                                               First Class Mail
Chartered Organization         St Marks Lutheran Church                                       Greater Los Angeles Area 033            2323 Las Lomitas Dr                                            Hacienda Heights, CA 91745‐4414                                                                                          First Class Mail
Chartered Organization         St Marks Lutheran Church                                       Mason Dixon Council 221                 601 Washington Ave                                             Hagerstown, MD 21740‐4635                                                                                                First Class Mail
Chartered Organization         St Marks Lutheran Church                                       Glaciers Edge Council 620               324 S Sanborn Ave                                              Jefferson, WI 53549‐1762                                                                                                 First Class Mail
Chartered Organization         St Marks Lutheran Church                                       Piedmont Council 420                    454 Fieldstone Rd                                              Mooresville, NC 28115‐2724                                                                                               First Class Mail
Chartered Organization         St Marks Lutheran Church                                       Northern Star Council 250               2499 Helen St N                                                North Saint Paul, MN 55109‐2447                                                                                          First Class Mail
Chartered Organization         St Marks Lutheran Church                                       Northern Star Council 250               28595 Randolph Blvd                                            Randolph, MN 55065‐9613                                                                                                  First Class Mail
Chartered Organization         St Marks Lutheran Church                                       Conquistador Council Bsa 413            2911 N Main St                                                 Roswell, NM 88201‐6673                                                                                                   First Class Mail
Chartered Organization         St Marks Lutheran Church                                       National Capital Area Council 082       5800 Backlick Rd                                               Springfield, VA 22150‐3218                                                                                               First Class Mail
Chartered Organization         St Marks Lutheran Church                                       Erie Shores Council 460                 611 Woodville Rd                                               Toledo, OH 43605‐2647                                                                                                    First Class Mail
Voting Party                   St Marks Lutheran Church                                       Attn: Kelly J Rauch                     120 W Main St, Ste 100                                         Van Wert, OH 45891                                                                  kelly.rauchlaw@gmail.com             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Mark's Lutheran Church                                      Erie Shores Council 460                 315 S College Dr                                               Bowling Green, OH 43402‐4001                                                                                             First Class Mail
Chartered Organization         St Mark's Lutheran Church                                      Greater St Louis Area Council 312       442 W 4th St                                                   Eureka, MO 63025‐1804                                                                                                    First Class Mail
Chartered Organization         St Mark's Lutheran Church                                      National Capital Area Council 082       5800 Backlick Rd                                               Springfield, VA 22150‐3218                                                                                               First Class Mail
Chartered Organization         St Mark's Lutheran Church                                      National Capital Area Council 082       5800 Backlick Rd                                               Springfield, VA 22150‐3218                                                                                               First Class Mail
Chartered Organization         St Marks Lutheran Church (Elca)                                Northern Lights Council 429             715 24th Ave S                                                 Grand Forks, ND 58201‐6955                                                                                               First Class Mail
Chartered Organization         St Marks Methodist Church                                      Last Frontier Council 480               8140 NW 36th St                                                Bethany, OK 73008‐3526                                                                                                   First Class Mail
Chartered Organization         St Marks Methodist Church                                      Black Warrior Council 006               1421 Mcfarland Blvd                                            Northport, AL 35476‐3237                                                                                                 First Class Mail
Chartered Organization         St Mark's Methodist Church                                     Yucca Council 573                       5005 Love Rd                                                   El Paso, TX 79922‐1725                                                                                                   First Class Mail
Voting Party                   St Marks On The Campus Episcopal Church                        Attn: Charles Peek                      1309 R St                                                      Lincoln, NE 68508                                                                   smoc.office@stmarksepiscopal.org     Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Marks Parents For Catholic Scouting                         Heart of America Council 307            3736 S Lees Summit Rd                                          Independence, MO 64055‐3801                                                                                              First Class Mail
Chartered Organization         St Marks Parish                                                Ore‐Ida Council 106 ‐ Bsa 106           7503 W Northview St                                            Boise, ID 83704‐7235                                                                                                     First Class Mail
Chartered Organization         St Marks Parish                                                Three Harbors Council 636               7117 14th Ave                                                  Kenosha, WI 53143‐5447                                                                                                   First Class Mail
Chartered Organization         St Marks Presbyterian Church                                   Central Florida Council 083             1021 Palm Springs Dr                                           Altamonte Springs, FL 32701‐7814                                                                                         First Class Mail
Chartered Organization         St Marks Presbyterian Church                                   Greater Tampa Bay Area 089              7922 State Rd 52                                               Hudson, FL 34667‐6723                                                                                                    First Class Mail
Chartered Organization         St Marks R C Church                                            Seneca Waterways 397                    54 Kuhn Rd                                                     Rochester, NY 14612‐1438                                                                                                 First Class Mail
Chartered Organization         St Marks Roman Catholic Church                                 Lake Erie Council 440                   15800 Montrose Ave                                             Cleveland, OH 44111‐1084                                                                                                 First Class Mail
Voting Party                   St Marks Roman Catholic Congregation, Inc                      Attn: Matthew W Oakey                   218 N Charles St, Ste 400                                      Baltimore, MD 21201                                                                 moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Marks School                                                Circle Ten Council 571                  10600 Preston Rd                                               Dallas, TX 75230‐4047                                                                                                    First Class Mail
Chartered Organization         St Marks School Of Texas                                       Circle Ten Council 571                  10600 Preston Rd                                               Dallas, TX 75230‐4047                                                                                                    First Class Mail
Chartered Organization         St Marks The Evangelist Catholic Church                        Greater Alabama Council 001             7840 Cahaba Valley Rd                                          Birmingham, AL 35242                                                                                                     First Class Mail
Chartered Organization         St Marks The Evangelist Catholic Church                        Alamo Area Council 583                  1602 Thousand Oaks Dr                                          San Antonio, TX 78232‐2338                                                                                               First Class Mail
Voting Party                   St Marks Umc                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Marks Umc                                                   Attn: Dennis Arnold                     2206 Luau St                                                   Mesquite, TX 75150                                                                  darnold66@att.net                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Marks Umc                                                   Attn: Beth Cox, Chairman of Trustees    400 Grants Ferry Rd                                            Brandon, MS 39047                                                                   bcox24@bellsouth.net                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Mark's Umc                                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Marks Umc (Petersburg)                                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Mark's Umc Men's Club                                       Middle Tennessee Council 560            1267 N Rutherford Blvd                                         Murfreesboro, TN 37130‐3162                                                                                              First Class Mail
Voting Party                   St Marks United Methodist                                      Attn: Linda Whetstone                   800 S Main St                                                  Findlay, OH 45840                                                                   lwhetstone@stmarksfindlay.org        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Marks United Methodist Church                               Attn: Steven A Dix                      805 S Church St, Ste 18                                        Murfeesboro, TN 37130                                                               steve@dixmassey.com                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Marks United Methodist Church                               Attn: Cindy Briggs‐Biondi               900 Washington St E                                            Charleston, WV 25301                                                                pastor@saintmarkswv.org              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Marks United Methodist Church                               Attn: Tim Davis                         701 Mississippi Ave                                            Chattanooga, TN 37405                                                               office@stmarkschattanooga.com        Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Marks United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Marks United Methodist Church                               2030 N Hwy A1A                          Indialantic, FL 32903                                                                                                                                                                   First Class Mail
Voting Party                   St Mark's United Methodist Church                              Attn: Morais Quissico                   2017 Beverley Rd                                               Brooklyn, NY 11226                                                                  stmarkumcbrooklyn@gmail.com          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Mark's United Methodist Church                              1110 N Metcalf St                       Lima, OH 45801                                                                                                                                     limastmarks@gmail.com                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Mark's United Methodist Church                              Attn: Treasurer, St Marks Umc           4601 Fairfield Ave                                             Fairfield, OH 45014                                                                 fairfieldstmarksfinance@gmail.com    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Mark's United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Mark's United Methodist Church ‐ Wilmington                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200           Tampa, FL 33602                                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Mark's United Methodist Church Carmel IN                    Attn: Stephanie Solesky                 4780 E 126th St                                                Carmel, IN 46033                                                                    ssolesky@stmarkscarmel.org           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Marks United Methodist Church Raleigh, Nc                   Attn: Todd Jones                        421 N Blount St                                                Raleigh, NC 27601                                                                   tjones@andersonandjones.com          Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Marks United Methodist Church, Rockville Centre, New York   200 Hempstead Ave                       Rockville Centre, NY 11570                                                                                                                         birkbny@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Marks Utd Church Of Christ                                  Lincoln Heritage Council 205            222 E Spring St                                                New Albany, IN 47150‐3423                                                                                                First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Hoosier Trails Council 145 145          100 N State Rd 46                                              Bloomington, IN 47408‐4298                                                                                               First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Andrew Jackson Council 303              400 Grants Ferry Rd                                            Brandon, MS 39047‐9036                                                                                                   First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Cradle of Liberty Council 525           2220 Sproul Rd                                                 Broomall, PA 19008‐2266                                                                                                  First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Blue Ridge Mtns Council 599             19 Cedar Ridge Dr                                              Daleville, VA 24083‐3072                                                                                                 First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Del Mar Va 081                          100 Peach Blossom Ln                                           Easton, MD 21601‐2542                                                                                                    First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Yucca Council 573                       5005 Love Rd                                                   El Paso, TX 79922‐1725                                                                                                   First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Black Swamp Area Council 449            800 S Main St                                                  Findlay, OH 45840‐3004                                                                                                   First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Blue Ridge Council 551                  304 N Franklin Rd                                              Greenville, SC 29609                                                                                                     First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Heart of America Council 307            603 N Jennings Rd                                              Independence, MO 64056‐1815                                                                                              First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Hawkeye Area Council 172                2675 E Washington St                                           Iowa City, IA 52245‐3727                                                                                                 First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Cornhusker Council 324                  8550 Pioneers Blvd                                             Lincoln, NE 68520‐1306                                                                                                   First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Circle Ten Council 571                  3117 Motley Dr                                                 Mesquite, TX 75150‐3441                                                                                                  First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Heart of Virginia Council 602           11551 Lucks Ln                                                 Midlothian, VA 23114‐1220                                                                                                First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Heart of America Council 307            6422 Santa Fe Dr                                               Overland Park, KS 66202‐3920                                                                                             First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Occoneechee 421                         4801 Six Forks Rd                                              Raleigh, NC 27609‐5205                                                                                                   First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Alamo Area Council 583                  1902 Vance Jackson Rd                                          San Antonio, TX 78213‐4455                                                                                               First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  San Diego Imperial Council 049          3502 Clairemont Dr                                             San Diego, CA 92117‐5939                                                                                                 First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Northwest Texas Council 587             4319 Mcniel Ave                                                Wichita Falls, TX 76308‐2642                                                                                             First Class Mail
Chartered Organization         St Marks Utd Methodist Church                                  Del Mar Va 081                          1700 Limestone Rd                                              Wilmington, DE 19804‐4100                                                                                                First Class Mail
Chartered Organization         St Mark's Utd Methodist Church                                 Last Frontier Council 480               8140 NW 36th St                                                Bethany, OK 73008‐3526                                                                                                   First Class Mail
Chartered Organization         St Marks Utd Methodist Church Orinda                           Mt Diablo‐Silverado Council 023         451 Moraga Way                                                 Orinda, CA 94563‐4021                                                                                                    First Class Mail
Chartered Organization         St Marks Utd Methodist Men                                     Louisiana Purchase Council 213          600 Hwy 139                                                    Monroe, LA 71203‐4260                                                                                                    First Class Mail
Chartered Organization         St Marks Utd Methodist Mens Group                              Crossroads of America 160               4780 E 126th St                                                Carmel, IN 46033‐2408                                                                                                    First Class Mail
Chartered Organization         St Martha Catholic Church                                      Sam Houston Area Council 576            4301 Woodridge Pkwy                                            Porter, TX 77365‐7709                                                                                                    First Class Mail
Chartered Organization         St Martha Church                                               Southeast Louisiana Council 214         2555 Apollo Ave                                                Harvey, LA 70058‐3087                                                                                                    First Class Mail
Chartered Organization         St Martha Roman Catholic Church                                Lincoln Heritage Council 205            2825 Klondike Ln                                               Louisville, KY 40218‐1661                                                                                                First Class Mail
Voting Party                   St Martha Roman Catholic Church                                Attn: Susan Zeringue                    7887 Walmsley Ave                                              New Orleans, LA 70125                                                               szeringue@arch‐no.org                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Martha Roman Catholic Church Harvey LA                      c/o Archdiocese of New Orleans          Attn: Susan Zeringue                                           7887 Walmsley Ave                  New Orleans, LA 70125                            szeringue@arch‐no.org                Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Martha'S Catholic Church                                    California Inland Empire Council 045    37200 Whitewood Rd                                             Murrieta, CA 92563‐5040                                                                                                  First Class Mail
Chartered Organization         St Marthas Church                                              Narragansett 546                        2595 Pawtucket Ave                                             East Providence, RI 02914‐3224                                                                                           First Class Mail
Chartered Organization         St Martha'S Episcopal Church                                   Denver Area Council 061                 P.O. Box 271                                                   Westminster, CO 80036‐0271                                                                                               First Class Mail
Chartered Organization         St Martin De Porres Catholic Church                            Capitol Area Council 564                P.O. Box 1062                                                  Dripping Springs, TX 78620‐1062                                                                                          First Class Mail
Voting Party                   St Martin De Porres Catholic Church‐Dripping Springs, Texas    Rev Justin Nguyen                       230 Post Oak Dr                                                Dripping Springs, TX 78620                                                          ron‐walker@austindiocese.org         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Martin De Porres Catholic Church‐Dripping Springs, Texas    Attn: Chancellor, BSA Coordinator       6225 E US 290 Hwy Svrd Eb                                      Austin, TX 78723                                                                    ron‐walker@austindiocese.org         Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Martin De Porres Church                                     Orange County Council 039               19767 Yorba Linda Blvd                                         Yorba Linda, CA 92886‐2802                                                                                               First Class Mail
Chartered Organization         St Martin Deporres                                             Theodore Roosevelt Council 386          530 Hempstead Blvd                                             Uniondale, NY 11553‐2116                                                                                                 First Class Mail
Chartered Organization         St Martin Deporres Catholic Church                             Great Lakes Fsc 272                     31555 Hoover Rd                                                Warren, MI 48093‐1718                                                                                                    First Class Mail
Chartered Organization         St Martin Deporres Church                                      Greater Niagara Frontier Council 380    555 Northampton St                                             Buffalo, NY 14208‐2524                                                                                                   First Class Mail
Chartered Organization         St Martin In The Field                                         Greater Niagara Frontier Council 380    2587 Baseline Rd                                               Grand Island, NY 14072‐1656                                                                                              First Class Mail
Voting Party                   St Martin In The Fields Episcopal Church                       Attn: Rev Monica Mainwaring             3110 Ashford Dunwoody Rd                                       Atlanta, GA 30319                                                                   mmainwaring@stmartins.org            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Martin Lions Club                                           Pine Burr Area Council 304              Lemoyne Blvd                                                   Biloxi, MS 39532                                                                                                         First Class Mail
Chartered Organization         St Martin Lions Club                                           Pine Burr Area Council 304              12404 Cambridge Blvd                                           Ocean Springs, MS 39564‐2737                                                                                             First Class Mail
Chartered Organization         St Martin Of Tours                                             Great Trail 433                         1800 Station Rd                                                Valley City, OH 44280‐9511                                                                                               First Class Mail
Chartered Organization         St Martin Of Tours Catholic Church                             San Diego Imperial Council 049          7710 El Cajon Blvd                                             La Mesa, CA 91942‐6932                                                                                                   First Class Mail
Chartered Organization         St Martin Of Tours Catholic Church                             Silicon Valley Monterey Bay 055         200 Oconnor Dr                                                 San Jose, CA 95128‐1640                                                                                                  First Class Mail
Chartered Organization         St Martin Of Tours Catholic School                             W.L.A.C.C. 051                          11955 W Sunset Blvd                                            Los Angeles, CA 90049‐4220                                                                                               First Class Mail
Chartered Organization         St Martin Of Tours Church                                      Lake Erie Council 440                   14600 Turney Rd                                                Maple Heights, OH 44137‐4781                                                                                             First Class Mail
Chartered Organization         St Martin Of Tours Roman Cath Church                           Cradle of Liberty Council 525           5450 Roosevelt Blvd                                            Philadelphia, PA 19124‐1045                                                                                              First Class Mail
Chartered Organization         St Martin Utd Church Of Christ                                 Greater St Louis Area Council 312       7890 Dittmer Ridge Rd                                          Dittmer, MO 63023‐1112                                                                                                   First Class Mail
Chartered Organization         St Martins Catholic Church                                     National Capital Area Council 082       201 S Frederick Ave                                            Gaithersburg, MD 20877‐2309                                                                                              First Class Mail
Chartered Organization         St Martins Catholic Church                                     Great Rivers Council 653                7148 Business 50 W                                             Jefferson City, MO 65109‐3034                                                                                            First Class Mail
Chartered Organization         St Martins Catholic Church                                     Great Trail 433                         1824 Station Rd                                                Valley City, OH 44280‐9522                                                                                               First Class Mail
Chartered Organization         St Martins Catholic Com                                        National Capital Area Council 082       201 S Frederick Ave                                            Gaithersburg, MD 20877‐2309                                                                                              First Class Mail
Chartered Organization         St Martins Episcopal Church                                    Sam Houston Area Council 576            717 Sage Rd                                                    Houston, TX 77056‐2111                                                                                                   First Class Mail
Chartered Organization         St Martins Episcopal Church                                    Greater St Louis Area Council 312       P.O. Box 31006                                                 Saint Louis, MO 63131‐0006                                                                                               First Class Mail
Voting Party                   St Martins Episcopal Church                                    Samuel Cody Blankenship                 257 E Milton St                                                Lebanon, OR 97355                                                                   sblankenship320@gmail.com            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Martins Episcopal Church                                    c/o Squire Patton Boggs (Us) LLP        Attn: Mark A Salzberg                                          2550 M St NW                       Washington, DC 20037                             sblankenship320@gmail.com            Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Martin's Episcopal Church                                   Greater St Louis Area Council 312       15764 Clayton Rd                                               Ellisville, MO 63011‐2330                                                                                                First Class Mail
Voting Party                   St Martin's Episcopal Church                                   136 Rivet St                            New Bedford, MA 02744                                                                                                                              stmartinsnb.secretary@gmail.com      Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Martin's Episcopal Church                                   9000 St Martins Ln                      Richmond, VA 23294                                                                                                                                 saintmartinsec@gmail.com             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Martin's Episcopal Church                                   6295 Chagrin River Rd                   Chagrin Falls, OH 44022                                                                                                                            saintmartinschagrinfalls@gmail.com   Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Martin's Episcopal Church                                   Attn: The Rev M E Eccles                1095 E Thacker St                                              Des Plaines, IL 60016                                                               rev.m.e.eccles@gmail.com             Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Martin's Episcopal Church                                   St Martins Episcopal Church             2216 Metairie Rd                                               Metarie, LA 70001                                                                   rector@stmepiscopal.com              Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Martin's Episcopal Church Williamsburg VA                   c/o Sands Anderson Pc                   Attn: Eric C Howlett                                           1111 E Main St, Ste 2400           P.O. Box 1998               Richmond, VA 23218   ehowlett@sandsanderson.com           Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Martin's Episcopal Church Williamsburg VA                   Attn: Rev Catherine Tyndall Boyd        1333 Jamestown Rd                                              Williamsburg, VA 23185                                                              cathy@martinburg.org                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   St Martins Episcopal Church, Houston                           Attn: Andrew R Harvin                   440 Louisiana St, Ste 2300                                     Houston, TX 77002                                                                   aharvin@drhrlaw.com                  Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Martins Episcopal School                                    Atlanta Area Council 092                3110 Ashford Dunwoody Rd NE, Ste A                             Brookhaven, GA 30319‐2971                                                                                                First Class Mail
Chartered Organization         St Martins Evangelical Lutheran Church                         Baltimore Area Council 220              1120 Spa Rd                                                    Annapolis, MD 21403‐1012                                                                                                 First Class Mail
Chartered Organization         St Martins Evangelical Lutheran Church                         Seneca Waterways 397                    P.O. Box 8057                                                  Webster, NY 14580                                                                                                        First Class Mail
Chartered Organization         St Martins In The Fields                                       Longhorn Council 662                    223 S Pearson Lane                                             Southlake, TX 76092                                                                                                      First Class Mail
Voting Party                   St Martins In The Fields Episcopal Church                      2587 Baseline Rd                        Grand Island, NY 14072                                                                                                                             cfisher@magavern.com                 Email
                                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         St Martins Lutheran Church                                     Black Swamp Area Council 449            203 S Defiance St                                              Archbold, OH 43502‐1408                                                                                                  First Class Mail
Chartered Organization         St Martin's Lutheran Church                                    Central N Carolina Council 416          P.O. Box 429                                                   Oakboro, NC 28129‐0429                                                                                                   First Class Mail
Chartered Organization         St Martins Roman Catholic Church                               Greater Niagara Frontier Council 380    1140 Abbott Rd                                                 Buffalo, NY 14220‐2752                                                                                                   First Class Mail
Chartered Organization         St Martins Utd Church Of Christ                                Greater St Louis Area Council 312       7890 Dittmer Ridge Rd                                          Dittmer, MO 63023‐1112                                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                  Page 361 of 442
                                                                                  Case 20-10343-LSS                                                               Doc 8171                                            Filed 01/06/22                                                     Page 377 of 457
                                                                                                                                                                                                         Exhibit B
                                                                                                                                                                                                          Service List
                                                                                                                                                                                                   Served as set forth below

        Description                                                        Name                                                                                                                        Address                                                                                                                Email              Method of Service
Voting Party                   St Martin's‐In‐The‐Field Episcopal Church                     Attn: Matthew Hanisian                                         375 Benfield Rd                                                  Severna Park, MD 21146                                                  rector@stmartinsinthefield.org   Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Mary & St Athanasius Coptic Orthodox                       W.L.A.C.C. 051                                                 17431 Roscoe Blvd                                                Northridge, CA 91325‐3903                                                                                First Class Mail
Chartered Organization         St Mary & St Martha Bethany Episc Ch                          Northeast Georgia Council 101                                  4346 Ridge Rd                                                    Buford, GA 30519‐1853                                                                                    First Class Mail
Chartered Organization         St Mary & St Martha Of Bethany                                Northeast Georgia Council 101                                  4346 Ridge Rd                                                    Buford, GA 30519‐1853                                                                                    First Class Mail
Chartered Organization         St Mary Arts And Humanities Council                           Evangeline Area 212                                            P.O. Box 2119                                                    Morgan City, LA 70381‐2119                                                                               First Class Mail
Chartered Organization         St Mary Basha Catholic School                                 Grand Canyon Council 010                                       200 W Galveston St                                               Chandler, AZ 85225‐6744                                                                                  First Class Mail
Chartered Organization         St Mary Basilica                                              Andrew Jackson Council 303                                     107 S Union St                                                   Natchez, MS 39120‐3354                                                                                   First Class Mail
Chartered Organization         St Mary Catholic Church                                       Cornhusker Council 324                                         580 I St                                                         David City, NE 68632‐1368                                                                                First Class Mail
Chartered Organization         St Mary Catholic Church                                       Quivira Council, Bsa 198                                       2300 E Meadowlark Blvd                                           Derby, KS 67037‐4033                                                                                     First Class Mail
Chartered Organization         St Mary Catholic Church                                       Black Swamp Area Council 449                                   P.O. Box 355                                                     Edgerton, OH 43517‐0355                                                                                  First Class Mail
Chartered Organization         St Mary Catholic Church                                       Mayflower Council 251                                          1 Church Sq                                                      Franklin, MA 02038‐1896                                                                                  First Class Mail
Chartered Organization         St Mary Catholic Church                                       Blackhawk Area 660                                             10307 Dundee Rd                                                  Huntley, IL 60142‐9754                                                                                   First Class Mail
Chartered Organization         St Mary Catholic Church                                       Buffalo Trace 156                                              P.O. Box 67                                                      Ireland, IN 47545‐0067                                                                                   First Class Mail
Chartered Organization         St Mary Catholic Church                                       Hawkeye Area Council 172                                       1749 Racine Ave NE                                               Solon, IA 52333‐9638                                                                                     First Class Mail
Chartered Organization         St Mary Catholic Church                                       Lake Erie Council 440                                          731 Exchange St                                                  Vermilion, OH 44089‐1375                                                                                 First Class Mail
Chartered Organization         St Mary Catholic Church                                       Great Lakes Fsc 272                                            34530 W Michigan Ave                                             Wayne, MI 48184‐1748                                                                                     First Class Mail
Chartered Organization         St Mary Catholic Community School                             Pathway To Adventure 456                                       321 E Joliet St                                                  Crown Point, IN 46307‐4003                                                                               First Class Mail
Chartered Organization         St Mary Catholic Parish                                       Longs Peak Council 062                                         2215 23rd Ave                                                    Greeley, CO 80634‐6632                                                                                   First Class Mail
Chartered Organization         St Mary Catholic School                                       Crossroads of America 160                                      226 E 5th St                                                     Rushville, IN 46173‐1625                                                                                 First Class Mail
Chartered Organization         St Mary Church                                                Dan Beard Council, Bsa 438                                     2853 Erie Ave                                                    Cincinnati, OH 45208‐2321                                                                                First Class Mail
Chartered Organization         St Mary Church                                                Sioux Council 733                                              2000 S 4th Ave                                                   Sioux Falls, SD 57105‐3131                                                                               First Class Mail
Chartered Organization         St Mary Church                                                Mt Diablo‐Silverado Council 023                                2039 Mt Diablo Blvd                                              Walnut Creek, CA 94596‐4301                                                                              First Class Mail
Chartered Organization         St Mary Church                                                Connecticut Rivers Council, Bsa 066                            42 Spring St                                                     Windsor Locks, CT 06096‐2311                                                                             First Class Mail
Voting Party                   St Mary Episcopal Church                                      Attn: The Rev Frances M Holliday, Rector of St Mary            210 Mchenry                                                      Crystal Lake, IL 60014                                                  fran@stmarysepiscopalcl.org      Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Mary Gate Of Heaven Rcc                                    Greater New York Councils, Bsa 640                             10312 101st Ave                                                  Ozone Park, NY 11416‐2624                                                                                First Class Mail
Chartered Organization         St Mary Help Of Christians Church                             Georgia‐Carolina 093                                           219 York St SE                                                   Aiken, SC 29801‐7126                                                                                     First Class Mail
Chartered Organization         St Mary Immaculate Parish                                     Rainbow Council 702                                            15629 S Route 59                                                 Plainfield, IL 60544‐2695                                                                                First Class Mail
Chartered Organization         St Mary Magdalen                                              Southern Shores Fsc 783                                        2201 S Old US Hwy 23                                             Brighton, MI 48114‐7609                                                                                  First Class Mail
Chartered Organization         St Mary Magdalen Catholic Church                              Evangeline Area 212                                            P.O. Box 1507                                                    Abbeville, LA 70511‐1507                                                                                 First Class Mail
Chartered Organization         St Mary Magdalen Catholic Church                              President Gerald R Ford 781                                    1253 52nd St Se                                                  Grand Rapids, MI 49508‐4801                                                                              First Class Mail
Chartered Organization         St Mary Magdalen Catholic Church                              Southeast Louisiana Council 214                                6425 W Metairie Ave                                              Metairie, LA 70003‐4327                                                                                  First Class Mail
Chartered Organization         St Mary Magdalen Catholic Church                              Greater St Louis Area Council 312                              2618 S Brentwood Blvd                                            Saint Louis, MO 63144‐2324                                                                               First Class Mail
Chartered Organization         St Mary Magdalen Church                                       Central Florida Council 083                                    861 Maitland Ave                                                 Altamonte Springs, FL 32701‐6847                                                                         First Class Mail
Chartered Organization         St Mary Magdalen Church                                       Greater St Louis Area Council 312                              2618 S Brentwood Blvd                                            Brentwood, MO 63144‐2324                                                                                 First Class Mail
Chartered Organization         St Mary Magdalen Church                                       Connecticut Rivers Council, Bsa 066                            145 Buckingham St                                                Oakville, CT 06779‐1728                                                                                  First Class Mail
Chartered Organization         St Mary Magdalen Parish                                       Alamo Area Council 583                                         1710 Clower                                                      San Antonio, TX 78201‐3540                                                                               First Class Mail
Chartered Organization         St Mary Magdalen Parish (Rc)                                  Mount Baker Council, Bsa 606                                   8717 7th Ave Se                                                  Everett, WA 98208‐2041                                                                                   First Class Mail
Chartered Organization         St Mary Magdalen Roman Catholic Church                        Del Mar Va 081                                                 7 Sharpley Rd                                                    Wilmington, DE 19803‐2940                                                                                First Class Mail
Voting Party                   St Mary Magdalen Roman Catholic Church, Metairie, Louisiana   Attn: Susan A Zeringue, General Counsel                        7887 Walmsley Ave                                                New Orleans, LA 70125                                                   szeringue@arch‐no.org            Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Mary Magdalene Catholic Church                             Blue Ridge Council 551                                         2252 Woodruff Rd                                                 Simpsonville, SC 29681‐5438                                                                              First Class Mail
Chartered Organization         St Mary Magdalene Catholic Church                             Blue Ridge Council 551                                         2252 Woodruff Rd                                                 Simpsonville, SC 29681‐5438                                                                              First Class Mail
Chartered Organization         St Mary Magdalene Catholic Church                             Bay‐Lakes Council 635                                          N2845 Shadow Rd                                                  Waupaca, WI 54981                                                                                        First Class Mail
Chartered Organization         St Mary Magdalene Catholic School                             Sam Houston Area Council 576                                   530 Ferguson St                                                  Humble, TX 77338‐8018                                                                                    First Class Mail
Chartered Organization         St Mary Magdalene Church                                      Occoneechee 421                                                625 Magdala Pl                                                   Apex, NC 27502‐6885                                                                                      First Class Mail
Chartered Organization         St Mary Magdalene Episcopal Church                            Middle Tennessee Council 560                                   P.O. Box 150                                                     Fayetteville, TN 37334‐0150                                                                              First Class Mail
Chartered Organization         St Mary Magdelene Catholic Church                             Blue Ridge Council 551                                         2252 Woodruff Rd                                                 Simpsonville, SC 29681‐5438                                                                              First Class Mail
Chartered Organization         St Mary Mother Of The Church                                  Hudson Valley Council 374                                      103 Jackson St                                                   Fishkill, NY 12524‐1117                                                                                  First Class Mail
Chartered Organization         St Mary Mother Of The Church                                  Evangeline Area 212                                            419 Doucet Rd                                                    Lafayette, LA 70503‐3449                                                                                 First Class Mail
Chartered Organization         St Mary Mystical Rose Church                                  Great Lakes Fsc 272                                            24040 Armada Ridge Rd                                            Armada, MI 48005‐4683                                                                                    First Class Mail
Chartered Organization         St Mary Of Carmel Catholic School                             Circle Ten Council 571                                         1716 Singleton Blvd                                              Dallas, TX 75212‐3855                                                                                    First Class Mail
Voting Party                   St Mary Of Czestochowa                                        Attn: Andre L Kydala                                           54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         St Mary Of Nazareth                                           Mid Iowa Council 177                                           4600 Meredith Dr                                                 Des Moines, IA 50310‐3760                                                                                First Class Mail
Chartered Organization         St Mary Of The Angels                                         Bay‐Lakes Council 635                                          645 S Irwin Ave                                                  Green Bay, WI 54301‐3342                                                                                 First Class Mail
Chartered Organization         St Mary Of The Angels Rc Church                               Allegheny Highlands Council 382                                202 S Union St                                                   Olean, NY 14760‐3636                                                                                     First Class Mail
Chartered Organization         St Mary Of The Assumption                                     Dan Beard Council, Bsa 438                                     8246 E Main St                                                   Alexandria, KY 41001‐1394                                                                                First Class Mail
Chartered Organization         St Mary Of The Assumption Catholic Ch                         Anthony Wayne Area 157                                         414 Madison St                                                   Decatur, IN 46733‐1615                                                                                   First Class Mail
Chartered Organization         St Mary Of The Assumption Church                              Greater Los Angeles Area 033                                   7215 Newlin Ave                                                  Whittier, CA 90602‐1266                                                                                  First Class Mail
Voting Party                   St Mary Of The Assumption Church                              c/o Archdiocese of Los Angeles                                 Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                 Los Angeles, CA 90010                legal@la‐archdiocese.org         Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Mary Of The Assumption Rc Church                           Patriots Path Council 358                                      144 Washington Ave                                               Elizabeth, NJ 07202‐3459                                                                                 First Class Mail
Chartered Organization         St Mary Of The Assumption Rcc                                 Del Mar Va 081                                                 P.O. Box 1240                                                    Hockessin, DE 19707‐5240                                                                                 First Class Mail
Chartered Organization         St Mary Of The Bay                                            Narragansett 546                                               645 Main St                                                      Warren, RI 02885‐4318                                                                                    First Class Mail
Chartered Organization         St Mary Of The Falls                                          Lake Erie Council 440                                          25615 Bagley Rd                                                  Olmsted Falls, OH 44138‐1915                                                                             First Class Mail
Chartered Organization         St Mary Of The Hills Catholic Church                          Great Lakes Fsc 272                                            2675 John R Rd                                                   Rochester Hills, MI 48307‐4652                                                                           First Class Mail
Chartered Organization         St Mary Of The Hills Parish                                   The Spirit of Adventure 227                                    250 Brook Rd                                                     Milton, MA 02186‐2104                                                                                    First Class Mail
Chartered Organization         St Mary Of The Knobs Catholic Church                          Lincoln Heritage Council 205                                   3033 Martin Rd                                                   Floyds Knobs, IN 47119‐9107                                                                              First Class Mail
Chartered Organization         St Mary Of The Lake Holy Name Society                         Greater Niagara Frontier Council 380                           5320 Lake Shore Rd                                               Hamburg, NY 14075                                                                                        First Class Mail
Chartered Organization         St Mary Of The Lakes Catholic Church                          Garden State Council 690                                       40 Jackson Rd                                                    Medford, NJ 08055‐9200                                                                                   First Class Mail
Chartered Organization         St Mary Of The Mills Church                                   National Capital Area Council 082                              114 Saint Marys Pl                                               Laurel, MD 20707‐4026                                                                                    First Class Mail
Chartered Organization         St Mary Of The Rosary Parish                                  Inland Nwest Council 611                                       P.O. Box 26                                                      Chewelah, WA 99109‐0026                                                                                  First Class Mail
Chartered Organization         St Mary Of The Snow Rc Church                                 Rip Van Winkle Council 405                                     36 Cedar St                                                      Saugerties, NY 12477‐1710                                                                                First Class Mail
Chartered Organization         St Mary Of The Wood Catholic Church                           President Gerald R Ford 781                                    150 W Church Rd                                                  Twin Lake, MI 49457‐9174                                                                                 First Class Mail
Voting Party                   St Mary Of The Woods Chapel, Twin Lake                        c/o Warner Norcross & Judd LLP                                 Attn: Elisabeth M Von Eitzen                                     150 Ottawa Ave NW, Ste 1500        Grand Rapids, MI 49503               evoneitzen@wnj.com               Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Mary Of The Woods Church                                   W D Boyce 138                                                  407 S Walnut St                                                  Princeville, IL 61559‐9211                                                                               First Class Mail
Chartered Organization         St Mary On The Hill Catholic Church                           Georgia‐Carolina 093                                           1420 Monte Sano Ave                                              Augusta, GA 30904‐5360                                                                                   First Class Mail
Voting Party                   St Mary Ostrabama Parish                                      Attn: Andre L Kydala                                           54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         St Mary Parish                                                Pathway To Adventure 456                                       10 N Buffalo Grove Rd                                            Buffalo Grove, IL 60089‐1702                                                                             First Class Mail
Chartered Organization         St Mary Parish                                                Daniel Webster Council, Bsa 330                                32 Pearl St                                                      Claremont, NH 03743‐2552                                                                                 First Class Mail
Chartered Organization         St Mary Parish                                                Silicon Valley Monterey Bay 055                                11 1st St                                                        Gilroy, CA 95020‐5128                                                                                    First Class Mail
Voting Party                   St Mary Parish Alpha                                          Attn: Andre L Kydala                                           54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         St Mary Parish School                                         Golden Empire Council 047                                      1351 58th St                                                     Sacramento, CA 95819‐4240                                                                                First Class Mail
Voting Party                   St Mary Parish South Amboy                                    Attn: Andre L Kydala                                           54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         St Mary Roman Catholic Church                                 Great Lakes Fsc 272                                            628 S Lafayette Ave                                              Royal Oak, MI 48067‐2520                                                                                 First Class Mail
Chartered Organization         St Mary Roman Catholic Church                                 Cradle of Liberty Council 525                                  40 Spring Mount Rd                                               Schwenksville, PA 19473‐1739                                                                             First Class Mail
Chartered Organization         St Mary Star Of The Sea Hns                                   Pathway To Adventure 456                                       6435 S Kilbourn Ave                                              Chicago, IL 60629‐5503                                                                                   First Class Mail
Chartered Organization         St Mary Star Of The Sea School                                Colonial Virginia Council 595                                  14 N Willard Ave                                                 Hampton, VA 23663‐1721                                                                                   First Class Mail
Voting Party                   St Mary Stoney Hill Parish                                    Attn: Andre L Kydala                                           54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                        First Class Mail
Chartered Organization         St Mary, Mother Of The Redeemer                               Connecticut Rivers Council, Bsa 066                            69 Groton Long Point Rd                                          Groton, CT 06340‐4805                                                                                    First Class Mail
Chartered Organization         St Mary, Star Of The Sea                                      Connecticut Rivers Council, Bsa 066                            16 Bidwell Sq                                                    Unionville, CT 06085‐1116                                                                                First Class Mail
Voting Party                   St Mary/St Jerome Parish, Custer                              c/o Warner Norcross & Judd LLP                                 Attn: Elisabeth M Von Eitzen                                     150 Ottawa Ave NW, Ste 1500        Grand Rapids, MI 49503               evoneitzen@wnj.com               Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Marys Annapolis Roman Catholic Congregation Inc            Attn: Matthew W Oakey                                          218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                     moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Marys Annapolis, Roman Catholic Congregation, Inc          Attn: Matthew W Oakey                                          218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                     moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Marys Carle Place                                          Attn: Sean Wallace                                             52 Titus Ave                                                     Carle Pl, NY 11514                                                      stmaryschurchcp@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Mary's Cathedral Catholic Church                           South Florida Council 084                                      7525 NW 2nd Ave                                                  Miami, FL 33150‐3529                                                                                     First Class Mail
Chartered Organization         St Marys Cathedral Parish                                     Sagamore Council 162                                           1207 Columbia St                                                 Lafayette, IN 47901‐1521                                                                                 First Class Mail
Chartered Organization         St Marys Catholic Cathedral                                   Golden Spread Council 562                                      1200 S Washington St                                             Amarillo, TX 79102‐1645                                                                                  First Class Mail
Chartered Organization         St Marys Catholic Church                                      Auburndale Lions Club                                          5866 Main St                                                     Auburndale, WI 54412‐9003                                                                                First Class Mail
Chartered Organization         St Marys Catholic Church                                      Simon Kenton Council 441                                       61 S Paint St                                                    Chillicothe, OH 45601‐3213                                                                               First Class Mail
Chartered Organization         St Marys Catholic Church                                      Three Rivers Council 578                                       702 E Houston St                                                 Cleveland, TX 77327‐4631                                                                                 First Class Mail
Chartered Organization         St Marys Catholic Church                                      Black Swamp Area Council 449                                   707 Jefferson Ave                                                Defiance, OH 43512‐2860                                                                                  First Class Mail
Chartered Organization         St Marys Catholic Church                                      Greater St Louis Area Council 312                              1802 Madison Ave                                                 Edwardsville, IL 62025‐2620                                                                              First Class Mail
Chartered Organization         St Marys Catholic Church                                      Potawatomi Area Council 651                                    1260 Church St                                                   Elm Grove, WI 53122‐1767                                                                                 First Class Mail
Chartered Organization         St Marys Catholic Church                                      Blue Ridge Council 551                                         338 W Washington St                                              Greenville, SC 29601‐1919                                                                                First Class Mail
Chartered Organization         St Marys Catholic Church                                      Black Swamp Area Council 449                                   316 Chicago Ave                                                  Holgate, OH 43527‐7710                                                                                   First Class Mail
Chartered Organization         St Marys Catholic Church                                      Mayflower Council 251                                          8 Church St                                                      Holliston, MA 01746‐2120                                                                                 First Class Mail
Chartered Organization         St Marys Catholic Church                                      West Tennessee Area Council 559                                1665 US Hwy 45 Byp                                               Jackson, TN 38305‐4414                                                                                   First Class Mail
Chartered Organization         St Marys Catholic Church                                      Ozark Trails Council 306                                       3035 S Central City Rd                                           Joplin, MO 64804‐8165                                                                                    First Class Mail
Chartered Organization         St Marys Catholic Church                                      Three Harbors Council 636                                      7307 40th Ave                                                    Kenosha, WI 53142‐1923                                                                                   First Class Mail
Chartered Organization         St Marys Catholic Church                                      Denver Area Council 061                                        6853 S Prince St                                                 Littleton, CO 80120‐3535                                                                                 First Class Mail
Chartered Organization         St Marys Catholic Church                                      The Spirit of Adventure 227                                    8 S Common St                                                    Lynn, MA 01902‐4407                                                                                      First Class Mail
Chartered Organization         St Marys Catholic Church                                      Buckeye Council 436                                            206 Cherry Rd Ne                                                 Massillon, OH 44646‐5540                                                                                 First Class Mail
Chartered Organization         St Marys Catholic Church                                      Glaciers Edge Council 620                                      837 Parkview Dr                                                  Milton, WI 53563‐1716                                                                                    First Class Mail
Chartered Organization         St Marys Catholic Church                                      Denver Area Council 061                                        1855 Saint Marys Dr                                              Montrose, CO 81401‐5011                                                                                  First Class Mail
Chartered Organization         St Marys Catholic Church                                      Greater St Louis Area Council 312                              115 N 14th St                                                    Mount Vernon, IL 62864‐3711                                                                              First Class Mail
Chartered Organization         St Marys Catholic Church                                      Quivira Council, Bsa 198                                       106 E 8th St                                                     Newton, KS 67114‐1802                                                                                    First Class Mail
Chartered Organization         St Marys Catholic Church                                      Water and Woods Council 782                                    1505 Ballentine St                                               Port Huron, MI 48060‐2076                                                                                First Class Mail
Chartered Organization         St Marys Catholic Church                                      Heart of Virginia Council 602                                  9505 Gayton Rd                                                   Richmond, VA 23229‐5319                                                                                  First Class Mail
Chartered Organization         St Marys Catholic Church                                      Pathway To Adventure 456                                       126 Herrick Rd                                                   Riverside, IL 60546‐2015                                                                                 First Class Mail
Chartered Organization         St Marys Catholic Church                                      Coronado Area Council 192                                      230 E Cloud St                                                   Salina, KS 67401‐6402                                                                                    First Class Mail
Chartered Organization         St Marys Catholic Church                                      Lake Erie Council 440                                          429 Central Ave                                                  Sandusky, OH 44870‐2435                                                                                  First Class Mail
Chartered Organization         St Marys Catholic Church                                      Greater Tampa Bay Area 089                                     15520 N Blvd                                                     Tampa, FL 33613‐1122                                                                                     First Class Mail
Chartered Organization         St Marys Catholic Church                                      Bay Area Council 574                                           1604 Ave N                                                       Texas City, TX 77590                                                                                     First Class Mail
Chartered Organization         St Marys Catholic Church                                      Potawatomi Area Council 651                                    225 S Hartwell Ave                                               Waukesha, WI 53186‐6402                                                                                  First Class Mail
Chartered Organization         St Mary's Catholic Church                                     Blue Ridge Mtns Council 599                                    1205 Old Mill Rd                                                 Blacksburg, VA 24060‐3705                                                                                First Class Mail
Chartered Organization         St Mary's Catholic Church                                     Grand Canyon Council 010                                       230 W Galveston St                                               Chandler, AZ 85225‐6745                                                                                  First Class Mail
Chartered Organization         St Mary's Catholic Church                                     Simon Kenton Council 441                                       684 S 3rd St                                                     Columbus, OH 43206‐1028                                                                                  First Class Mail
Chartered Organization         St Mary's Catholic Church                                     Bay‐Lakes Council 635                                          P.O. Box 70                                                      De Pere, WI 54115‐0070                                                                                   First Class Mail
Chartered Organization         St Mary's Catholic Church                                     Three Fires Council 127                                        302 Fisk Ave                                                     Dekalb, IL 60115‐3321                                                                                    First Class Mail
Chartered Organization         St Mary's Catholic Church                                     Blue Ridge Council 551                                         338 W Washington St                                              Greenville, SC 29601‐1919                                                                                First Class Mail
Chartered Organization         St Mary's Catholic Church                                     San Diego Imperial Council 049                                 426 E 7th St                                                     National City, CA 91950‐2322                                                                             First Class Mail
Chartered Organization         St Mary's Catholic Church                                     Lasalle Council 165                                            219 S State St                                                   Niles, MI 49120‐2862                                                                                     First Class Mail
Chartered Organization         St Mary's Catholic Church                                     Three Fires Council 127                                        244 Waterman St                                                  Sycamore, IL 60178‐2141                                                                                  First Class Mail
Chartered Organization         St Mary's Catholic Church                                     Longhorn Council 662                                           1018 S 7th St                                                    Temple, TX 76504‐5611                                                                                    First Class Mail
Chartered Organization         St Mary's Catholic Church                                     Trapper Trails 589                                             4050 S 3900 W                                                    West Haven, UT 84401‐9503                                                                                First Class Mail
Chartered Organization         St Mary's Catholic Church ‐ Menasha                           Bay‐Lakes Council 635                                          528 2nd St                                                       Menasha, WI 54952‐3112                                                                                   First Class Mail
Voting Party                   St Marys Catholic Church Austin TX                            c/o Bsa Coordinator                                            Attn: Chancellor                                                 6225 E US 290 Hwy Svrd Eb          Austin, TX 78723                     ron‐walker@austindiocese.org     Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Marys Catholic Church Austin TX                            Attn: Rev Kurtis Wiedenfeld                                    1018 S 7th St                                                    Temple, TX 76504                                                                                         First Class Mail
Chartered Organization         St Marys Catholic Church Mens Club                            Arbuckle Area Council 468                                      101 E St Sw                                                      Ardmore, OK 73401‐4735                                                                                   First Class Mail
Chartered Organization         St Marys Catholic Church/Mens Club                            Lake Erie Council 440                                          8560 Mentor Ave                                                  Mentor, OH 44060‐5822                                                                                    First Class Mail
Chartered Organization         St Marys Catholic School                                      Rio Grande Council 775                                         1300 E Los Ebanos Blvd                                           Brownsville, TX 78520‐8631                                                                               First Class Mail
Chartered Organization         St Marys Catholic School                                      National Capital Area Council 082                              2182 Queen St                                                    Christiansted, VI 00820‐4848                                                                             First Class Mail
Chartered Organization         St Marys Catholic School                                      Hoosier Trails Council 145 145                                 1331 Hunter Robbins Way                                          Greensburg, IN 47240‐8014                                                                                First Class Mail
Chartered Organization         St Mary's Catholic School                                     Longs Peak Council 062                                         2200 Oneil Ave                                                   Cheyenne, WY 82001‐3514                                                                                  First Class Mail
Chartered Organization         St Marys Catholic School Cathedral                            Greater St Louis Area Council 312                              629 William St                                                   Cape Girardeau, MO 63703‐6242                                                                            First Class Mail
Chartered Organization         St Marys Ch‐ Balboa Heights                                   Panama Canal Area                                              National Capital Area Council 082                                Balboa Heights St Paul St          P.O. Box 0843‐03070         Panama                                    First Class Mail
Chartered Organization         St Marys Church                                               Baltimore Area Council 220                                     109 Duke of Gloucester St                                        Annapolis, MD 21401‐2528                                                                                 First Class Mail
Chartered Organization         St Marys Church                                               Lake Erie Council 440                                          411 North St                                                     Chardon, OH 44024                                                                                        First Class Mail
Chartered Organization         St Marys Church                                               Twin Rivers Council 364                                        East St                                                          Galway, NY 12074                                                                                         First Class Mail
Chartered Organization         St Marys Church                                               Twin Rivers Council 364                                        62 Warren St Fl 3                                                Glens Falls, NY 12801‐4530                                                                               First Class Mail
Chartered Organization         St Marys Church                                               Mason Dixon Council 221                                        224 W Washington St                                              Hagerstown, MD 21740‐4712                                                                                First Class Mail
Chartered Organization         St Marys Church                                               Western Massachusetts Council 234                              519 Longmeadow St                                                Longmeadow, MA 01106‐2211                                                                                First Class Mail
Chartered Organization         St Marys Church                                               Blackhawk Area 660                                             1401 N Richmond Rd                                               Mchenry, IL 60050‐1459                                                                                   First Class Mail
Chartered Organization         St Marys Church                                               Mobile Area Council‐Bsa 004                                    1453 Old Shell Rd                                                Mobile, AL 36604‐2224                                                                                    First Class Mail
Chartered Organization         St Marys Church                                               Southern Shores Fsc 783                                        127 N Monroe St                                                  Monroe, MI 48162‐2628                                                                                    First Class Mail
Chartered Organization         St Marys Church                                               Great Smoky Mountain Council 557                               327 Vermont Ave                                                  Oak Ridge, TN 37830‐6426                                                                                 First Class Mail
Chartered Organization         St Marys Church                                               Inland Nwest Council 611                                       304 S Adams Rd                                                   Spokane Valley, WA 99216‐3112                                                                            First Class Mail
Chartered Organization         St Marys Church                                               President Gerald R Ford 781                                    406 E Savidge St                                                 Spring Lake, MI 49456‐1700                                                                               First Class Mail
Chartered Organization         St Mary's Church                                              Suffolk County Council Inc 404                                 175 Broadway                                                     Amityville, NY 11701‐2703                                                                                First Class Mail
Chartered Organization         St Mary's Church                                              Tuscarora Council 424                                          1000 N Jefferson Ave                                             Goldsboro, NC 27530‐3141                                                                                 First Class Mail
Chartered Organization         St Mary's Church                                              Buffalo Trace 156                                              317 N Washington St                                              Huntingburg, IN 47542‐1456                                                                               First Class Mail
Chartered Organization         St Mary's Church                                              Blackhawk Area 660                                             10307 Dundee Rd                                                  Huntley, IL 60142‐9754                                                                                   First Class Mail
Chartered Organization         St Mary's Church                                              Northern New Jersey Council, Bsa 333                           91 Home Ave                                                      Rutherford, NJ 07070‐1729                                                                                First Class Mail
Chartered Organization         St Mary's Church                                              Hudson Valley Council 374                                      2 Father Tierney Cir                                             Washingtonville, NY 10992‐1226                                                                           First Class Mail
Chartered Organization         St Mary's Church                                              Hudson Valley Council 374                                      2 Father Tierney Cir                                             Washingtonville, NY 10992‐1226                                                                           First Class Mail
Chartered Organization         St Mary's Church                                              Pine Tree Council 218                                          P.O. Box 368                                                     Wells, ME 04090‐0368                                                                                     First Class Mail
Chartered Organization         St Marys Congregation                                         Potawatomi Area Council 651                                    225 W Newhall Ave                                                Waukesha, WI 53186‐6013                                                                                  First Class Mail
Chartered Organization         St Marys Council Of Catholic Women                            Pathway To Adventure 456                                       444 Wilson St                                                    Downers Grove, IL 60515‐3846                                                                             First Class Mail
Chartered Organization         St Marys County Lodge 2092 Bpoe                               National Capital Area Council 082                              45779 Fire Dept Ln                                               Lexington Park, MD 20653                                                                                 First Class Mail
Chartered Organization         St Marys Elk Lodge                                            Muskingum Valley Council, Bsa 467                              P.O. Box 491                                                     Saint Marys, WV 26170‐0491                                                                               First Class Mail
Chartered Organization         St Mary's Episcopal                                           Evangeline Area 212                                            P.O. Box 95                                                      Franklin, LA 70538‐0095                                                                                  First Class Mail
Chartered Organization         St Marys Episcopal Church                                     Great Alaska Council 610                                       2222 E Tudor Rd                                                  Anchorage, AK 99507‐1072                                                                                 First Class Mail
Chartered Organization         St Marys Episcopal Church                                     Laurel Highlands Council 527                                   509 6th St                                                       Charleroi, PA 15022‐1367                                                                                 First Class Mail
Chartered Organization         St Marys Episcopal Church                                     Garden State Council 690                                       501 Green St                                                     Haddon Heights, NJ 08035‐1903                                                                            First Class Mail
Chartered Organization         St Marys Episcopal Church                                     Orange County Council 039                                      428 Park Ave                                                     Laguna Beach, CA 92651‐2337                                                                              First Class Mail
Chartered Organization         St Marys Episcopal Church                                     Pacific Harbors Council, Bsa 612                               10630 Gravelly Lake Dr SW                                        Lakewood, WA 98499‐1328                                                                                  First Class Mail
Chartered Organization         St Marys Episcopal Church                                     Connecticut Rivers Council, Bsa 066                            41 Park St                                                       Manchester, CT 06040‐5913                                                                                First Class Mail
Chartered Organization         St Marys Episcopal Church                                     Narragansett 546                                               324 E Main Rd                                                    Portsmouth, RI 02871‐2113                                                                                First Class Mail
Voting Party                   St Marys Episcopal Church                                     c/o Diocese of the Central Gulf Coast ‐ the Episcopal Church   Attn: Scott A Remington                                          125 E Intendencia St               Pensacola, FL 32502                  sremington@clarkpartington.com   Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Marys Episcopal Church                                     Attn: Sr Warden Mark Starr                                     6849 Oak St                                                      Milton, FL 32570                                                        markstarr44@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Mary's Episcopal Church                                    Overland Trails 322                                            212 S Clark St                                                   Bassett, NE 68714‐6042                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                          Page 362 of 442
                                                                                     Case 20-10343-LSS                                       Doc 8171                                    Filed 01/06/22                                                   Page 378 of 457
                                                                                                                                                                            Exhibit B
                                                                                                                                                                             Service List
                                                                                                                                                                      Served as set forth below

        Description                                                         Name                                                                                          Address                                                                                                             Email                Method of Service
Chartered Organization         St Mary's Episcopal Church                                      Overland Trails 322                     88486 440th Ave                                          Bassett, NE 68714‐6156                                                                                  First Class Mail
Chartered Organization         St Mary's Episcopal Church                                      Last Frontier Council 480               325 E 1st St                                             Edmond, OK 73034‐4544                                                                                   First Class Mail
Chartered Organization         St Mary's Episcopal Church                                      De Soto Area Council 013                512 Champagnolle Rd                                      El Dorado, AR 71730‐4732                                                                                First Class Mail
Chartered Organization         St Mary's Episcopal Church                                      601 N Kelly, Ste, 107                   Edmond, OK 73003                                                                                                                                                 First Class Mail
Voting Party                   St Mary's Episcopal Church                                      P.O. Box 95                             Franklin, LA 70538                                                                                                            stephen.h.crawford@gmail.com       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church                                      Attn: Sr Warden Mark Starr              6849 Oak St                                              Milton, FL 32570                                                     sremington@clarkpartington.com     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church                                      Attn: Randall F Goeke                   212 Clark St                                             P.O. Box 361                     Bassett, NE 68714                   randygoete@hotmail.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church                                      Attn: Randall F Goeke                   212 Clark St                                             P.O. Box 361                     Bassett, NE 68714                   randygoeke@hotmail.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church                                      Attn: John Tisdale                      200 W Capitol Ave, Ste 2300                              Little Rock, AR 72201                                                jtisdale@wlj.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church                                      c/o Wright, Lindsey & Jennings LLP      Attn: John R Tisdale                                     200 W Capitol Ave, Ste 2300      Little Rock, AR 72201               jtisdale@wlj.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church                                      216 Orange Ave                          Daytona Beach, FL 32114                                                                                                       fr.jason@cfl.rr.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church                                      Anna Patrick Brawley                    170 St Andrews Rd                                        P.O. Box 1487                    Irmo, SC 29063                      anna.brawley@stmaryscolumbia.org   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church                                      Attn: The Rev Rohani Weger              24 N Masonic St                                          Bellville, TX 77418                                                                                     First Class Mail
Voting Party                   St Mary's Episcopal Church                                      John R Tisdale                          512 Champagnolle                                         El Dorado, AR 71730‐4732                                                                                First Class Mail
Voting Party                   St Mary's Episcopal Church                                      John Tisdale                            512 Champagnolle                                         El Dorado, AR 71730‐4732                                                                                First Class Mail
Voting Party                   St Mary's Episcopal Church (Portsmouth)                         c/o The Tamposi Law Group, PC           Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                    peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church In Lampasas, TX                      Attn: Rev William Fowler                501 S Chestnut St                                        Lampasas, TX 76550                                                   revbill@ourstmarys.org             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church, Edmond, Oklahoma                    Attn: Thomas G Ferguson Jr              941 E Builton Rd                                         Oklahoma City, OK 73114                                              Tferg@wffatty.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church, Enterprise, Mississippi             Attn: Marcus M Wilson                   190 E Capitol St, Ste 650                                Jackson, MS 39201                                                    bponder@dioms.org                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church, Enterprise, Mississippi             Attn: James B Ponder                    P.O. Box 177                                             Enterprise, MS 39330                                                 bponder@dioms.org                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church, Manchester, CT                      Attn: The Rev Ann Lovejoy Johnson       41 Park St                                               Manchester, CT 06042                                                 revalovejoy@gmail.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church, Vicksburg, Mississippi              Attn: Marcus M Wilson                   190 E Capitol St, Ste 650                                Jackson, MS 39201                                                    mwilson@blswlaw.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church, Vicksburg, Mississippi              Attn: James B Ponder                    900 1st N St                                             Vicksburg, MS 39183                                                  bponder@dioms.org                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mary's Episcopal Church, Woodlawn                            Attn: David Carroll                     5610 Dogwood Rd                                          Baltimore, MD 21207                                                  prospecths@aol.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St Marys Evangelical Lutheran Church                            Baltimore Area Council 220              3798 Littlestown Pike                                    Westminster, MD 21158                                                                                   First Class Mail
Chartered Organization         St Marys H & S Assoc                                            Three Harbors Council 636               9553 W Edgerton Ave                                      Hales Corners, WI 53130‐1527                                                                            First Class Mail
Voting Party                   St Mary's Hagerstown Roman Catholic Congregation Incorporated   Attn: Matthew W Oakey                   218 N Charles St, Ste 400                                Baltimore, MD 21201                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Marys Hagertown, Roman Catholic Congregation, Inc            Attn: Matthew W Oakey                   218 N Charles St, Ste 400                                Baltimore, MD 21201                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St Marys Hall                                                   Alamo Area Council 583                  9401 Starcrest Dr                                        San Antonio, TX 78217‐4162                                                                              First Class Mail
Chartered Organization         St Mary's Health Care System, Inc                               Northeast Georgia Council 101           1230 Baxter St                                           Athens, GA 30606‐3712                                                                                   First Class Mail
Chartered Organization         St Marys Holy Name Society                                      Pathway To Adventure 456                525 N Broad St                                           Griffith, IN 46319‐2225                                                                                 First Class Mail
Chartered Organization         St Marys Home & School                                          Blackhawk Area 660                      130 W Cedar St                                           Platteville, WI 53818‐2457                                                                              First Class Mail
Chartered Organization         St Marys Hospital                                               Twin Rivers Council 364                 427 Guy Park Ave                                         Amsterdam, NY 12010‐1064                                                                                First Class Mail
Chartered Organization         St Marys Immaculate Conception                                  Three Harbors Council 636               108 Mchenry St                                           Burlington, WI 53105‐1826                                                                               First Class Mail
Chartered Organization         St Marys Immaculate Conception                                  Buckeye Council 436                     527 Beall Ave                                            Wooster, OH 44691‐3523                                                                                  First Class Mail
Chartered Organization         St Marys In The Hills                                           Great Lakes Fsc 272                     2512 Joslyn Ct                                           Lake Orion, MI 48360‐1938                                                                               First Class Mail
Chartered Organization         St Marys International School                                   Far E Council 803                       1‐16‐19 Seta                                             Setagaya‐Ku                      Tokyo, 15800                Japan                                      First Class Mail
Chartered Organization         St Marys International School                                   Far E Council 803                       1‐6‐19 Seta                                              Setagaya‐Ku                      Tokyo, 15886                Japan                                      First Class Mail
Chartered Organization         St Marys In‐The‐Hills Episcopal Church                          Great Lakes Fsc 272                     2512 Joslyn Ct                                           Lake Orion, MI 48360‐1938                                                                               First Class Mail
Chartered Organization         St Marys Lutheran Church Elca                                   Three Harbors Council 636               2001 80th St                                             Kenosha, WI 53143‐5866                                                                                  First Class Mail
Chartered Organization         St Mary's Nativity Church                                       Southeast Louisiana Council 214         3500 Hwy 1                                               Raceland, LA 70394‐3403                                                                                 First Class Mail
Chartered Organization         St Marys Of Gostyn                                              Pathway To Adventure 456                444 Wilson St                                            Downers Grove, IL 60515‐3846                                                                            First Class Mail
Chartered Organization         St Mary's Of Hannah                                             President Gerald R Ford 781             2912 W M 113                                             Kingsley, MI 49649‐9728                                                                                 First Class Mail
Chartered Organization         St Marys Of Hannah School                                       President Gerald R Ford 781             2912 W M 113                                             Kingsley, MI 49649‐9728                                                                                 First Class Mail
Chartered Organization         St Marys Of The Lake                                            Greater Niagara Frontier Council 380    4737 Lake Shore Rd                                       Hamburg, NY 14075‐3308                                                                                  First Class Mail
Chartered Organization         St Marys Parents For Catholic Scouting                          Heart of America Council 307            2422 N Mcbride Ave                                       Sugar Creek, MO 64050‐1218                                                                              First Class Mail
Chartered Organization         St Marys Parish                                                 The Spirit of Adventure 227             94 Andover St 133                                        Georgetown, MA 01833‐1903                                                                               First Class Mail
Chartered Organization         St Marys Parish                                                 Inland Nwest Council 611                304 S Adams Rd                                           Spokane Valley, WA 99216‐3112                                                                           First Class Mail
Chartered Organization         St Marys Parish                                                 Western Massachusetts Council 234       30 Bartlett St                                           Westfield, MA 01085‐3006                                                                                First Class Mail
Chartered Organization         St Mary's Parish                                                Potawatomi Area Council 651             N89W16297 Cleveland Ave                                  Menomonee Falls, WI 53051                                                                               First Class Mail
Chartered Organization         St Mary's Parish                                                National Capital Area Council 082       P.O. Box 207                                             St Marys City, MD 20686‐0207                                                                            First Class Mail
Chartered Organization         St Marys Parish Our Lady Perpetual Help                         Cascade Pacific Council 492             706 Ellsworth St SW                                      Albany, OR 97321‐2366                                                                                   First Class Mail
Voting Party                   St Marys Petersville, Roman Catholic Congregation, Inc          Attn: Matthew W Oakey                   218 N Charles St, Ste 400                                Baltimore, MD 21201                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St Marys Piscataway Catholic Church                             National Capital Area Council 082       13401 Piscataway Rd                                      Clinton, MD 20735‐4564                                                                                  First Class Mail
Voting Party                   St Mary's Protestant Episcopal Church, Shelter Island           26 St Marys Rd 1660                     Shelter Island, NY 11964                                                                                                      frmccarron@aol.com                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St Marys R C C                                                  Narragansett 546                        148 Sycamore St                                          Fairhaven, MA 02719‐4569                                                                                First Class Mail
Chartered Organization         St Marys Rc Church                                              Patriots Path Council 358               425 W Blackwell St                                       Dover, NJ 07801‐2522                                                                                    First Class Mail
Chartered Organization         St Marys Rc Church                                              Greater Niagara Frontier Council 380    6919 Transit Rd                                          East Amherst, NY 14051‐1302                                                                             First Class Mail
Chartered Organization         St Marys Rc Church                                              Theodore Roosevelt Council 386          1300 Nern Blvd                                           Manhasset, NY 11030                                                                                     First Class Mail
Chartered Organization         St Marys Rc Church                                              Narragansett 546                        14 Park St                                               North Attleboro, MA 02760‐1209                                                                          First Class Mail
Chartered Organization         St Mary's Rc Church                                             Suffolk County Council Inc 404          20 Harrison Ave                                          East Islip, NY 11730‐2303                                                                               First Class Mail
Chartered Organization         St Mary's Rc Church                                             Greater Niagara Frontier Council 380    6919 Transit Rd                                          Swormville, NY 14051‐1302                                                                               First Class Mail
Chartered Organization         St Marys Rc Church & Closter Elks                               Northern New Jersey Council, Bsa 333    20 Legion Pl                                             Closter, NJ 07624‐2095                                                                                  First Class Mail
Chartered Organization         St Marys Rcc ‐ Middletown                                       Connecticut Rivers Council, Bsa 066     79 S Main St                                             Middletown, CT 06457‐3606                                                                               First Class Mail
Chartered Organization         St Marys Rcc Bristol                                            Narragansett 546                        330 Wood St                                              Bristol, RI 02809‐3208                                                                                  First Class Mail
Chartered Organization         St Marys Rectory                                                Buffalo Trace 156                       317 N Washington St                                      Huntingburg, IN 47542‐1456                                                                              First Class Mail
Chartered Organization         St Marys Road Utd Methodist Church                              Chattahoochee Council 091               3993 Saint Marys Rd                                      Columbus, GA 31907‐6237                                                                                 First Class Mail
Chartered Organization         St Marys Roman Catholic                                         W D Boyce 138                           527 W Jackson St                                         Bloomington, IL 61701‐4981                                                                              First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Longhouse Council 373                   47 Syracuse St                                           Baldwinsville, NY 13027‐2930                                                                            First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Baltimore Area Council 220              5502 York Rd                                             Baltimore, MD 21212‐3805                                                                                First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Jersey Shore Council 341                P.O. Box 609                                             Barnegat, NJ 08005‐0609                                                                                 First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Lake Erie Council 440                   250 Kraft St                                             Berea, OH 44017‐1449                                                                                    First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  The Spirit of Adventure 227             25 North Rd                                              Chelmsford, MA 01824‐2723                                                                               First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Connecticut Rivers Council, Bsa 066     34 N Main St                                             Jewett City, CT 06351‐2012                                                                              First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Narragansett 546                        330 Pratt St                                             Mansfield, MA 02048‐1581                                                                                First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Hudson Valley Council 374               46 Ball St                                               Port Jervis, NY 12771‐2404                                                                              First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Connecticut Rivers Council, Bsa 066     15 Marshall St                                           Putnam, CT 06260‐1403                                                                                   First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Baltimore Area Council 220              1021 Saint Marys Rd                                      Pylesville, MD 21132‐1811                                                                               First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Crossroads of America 160               815 W Main St                                            Richmond, IN 47374‐4075                                                                                 First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Connecticut Rivers Council, Bsa 066     940 Hopmeadow St                                         Simsbury, CT 06070‐1819                                                                                 First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Black Swamp Area Council 449            85 S Sandusky St                                         Tiffin, OH 44883‐2140                                                                                   First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Westmoreland Fayette 512                61 N Mount Vernon Ave                                    Uniontown, PA 15401‐2852                                                                                First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Narragansett 546                        71 Mendon St                                             Uxbridge, MA 01569‐1500                                                                                 First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Twin Rivers Council 364                 119 Broad St                                             Waterford, NY 12188‐2344                                                                                First Class Mail
Chartered Organization         St Marys Roman Catholic Church                                  Mayflower Council 251                   130 South St                                             Wrentham, MA 02093‐2125                                                                                 First Class Mail
Chartered Organization         St Mary's Roman Catholic Church                                 Baltimore Area Council 220              109 Duke of Gloucester St                                Annapolis, MD 21401‐2528                                                                                First Class Mail
Chartered Organization         St Mary's Roman Catholic Church                                 Buckeye Council 436                     251 N Main St                                            Marion, OH 43302‐3031                                                                                   First Class Mail
Chartered Organization         St Mary's Roman Catholic Church                                 Mountaineer Area 615                    P.O. Box 4204                                            Morgantown, WV 26504‐4204                                                                               First Class Mail
Voting Party                   St Marys Roman Catholic Congregation, Inc                       Attn: Matthew W Oakey                   218 N Charles St, Ste 400                                Baltimore, MD 21201                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St Marys Sacred Heart Hospital                                  Northeast Georgia Council 101           367 Clear Creek Pkwy                                     Lavonia, GA 30553‐4173                                                                                  First Class Mail
Chartered Organization         St Mary's School                                                Great Swest Council 412                 224 7th St Nw                                            Albuquerque, NM 87102‐3147                                                                              First Class Mail
Chartered Organization         St Mary's School                                                Capitol Area Council 564                910 San Jacinto Blvd                                     Austin, TX 78701‐2416                                                                                   First Class Mail
Chartered Organization         St Mary's School                                                Crater Lake Council 491                 816 Black Oak Dr                                         Medford, OR 97504‐8504                                                                                  First Class Mail
Chartered Organization         St Mary's Star Of The Sea Church                                San Diego Imperial Council 049          609 Pier View Way                                        Oceanside, CA 92054‐2816                                                                                First Class Mail
Chartered Organization         St Mary's‐ Stony Hill Rc Church                                 c/o Rev. Brian J. Nolan                 225 Mountain Blvd                                        Watchung, NJ 07069‐6203                                                                                 First Class Mail
Voting Party                   St Mary's The Virgin Episcopal Church                           Attn: Jane Reese                        118 W Bayview Ave                                        Pleasantville, NJ 08232                                              stmaryspleasantville@gmail.com     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Marys United Methodist Church Inc                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                     erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Marys United Methodist Church Inc                            211 N 7th St                            St Marys, KS 66536                                                                                                                                               First Class Mail
Chartered Organization         St Marys Utd Methodist Church                                   Muskingum Valley Council, Bsa 467       104 Washington St                                        Saint Marys, WV 26170‐1039                                                                              First Class Mail
Chartered Organization         St Mary's Utd Methodist Church                                  Buckskin 617                            P.O. Box 3432                                            Beckley, WV 25801‐1932                                                                                  First Class Mail
Chartered Organization         St Marys Visitation Rc Ch                                       Northeastern Pennsylvania Council 501   1090 Carmalt St                                          Dickson City, PA 18519‐1202                                                                             First Class Mail
Voting Party                   St Mary's, Pylesville, Roman Catholic Congregation, Inc         Attn: Matthew W Oakey                   218 N Charles St, Ste 400                                Baltimore, MD 21201                                                  moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Mathews United Methodist Church                              Attn: Stanley Ferguson                  1360 S Wendy Dr                                          Newbury Park, CA 91320                                               Newburyparkchurch@gmail.com        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St Mathews Utd Methodist Chruch                                 Alamo Area Council 583                  2738 Macarthur Vw                                        San Antonio, TX 78217‐4503                                                                              First Class Mail
Voting Party                   St Mathias School                                               Attn: Andre L Kydala                    54 Old Hwy 22                                            Clinton, NJ 08809                                                                                       First Class Mail
Chartered Organization         St Matthew Ame Church                                           Northern New Jersey Council, Bsa 333    336 Oakwood Ave                                          Orange, NJ 07050‐3284                                                                                   First Class Mail
Chartered Organization         St Matthew Baptist Church                                       Coastal Carolina Council 550            2005 Reynolds Ave                                        Charleston, SC 29405‐7874                                                                               First Class Mail
Voting Party                   St Matthew By The Lake Church, Inc.                             c/o Plews Shadley Racher & Braun LLP    Attn: Josh S Tatum                                       1346 N Delaware St               Indianapolis, IN 46202              jtatum@psrb.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St Matthew Cathedral                                            Lasalle Council 165                     1701 Miami St                                            South Bend, IN 46613‐2819                                                                               First Class Mail
Chartered Organization         St Matthew Catholic Church                                      Prairielands 117                        1303 Lincolnshire Dr                                     Champaign, IL 61821‐5505                                                                                First Class Mail
Chartered Organization         St Matthew Catholic Church                                      Mecklenburg County Council 415          8015 Ballantyne Commons Pkwy                             Charlotte, NC 28277‐2463                                                                                First Class Mail
Chartered Organization         St Matthew Catholic Church                                      Occoneechee 421                         1001 Mason Rd                                            Durham, NC 27712‐9125                                                                                   First Class Mail
Chartered Organization         St Matthew Catholic Church                                      Middle Tennessee Council 560            535 Sneed Rd W                                           Franklin, TN 37069‐9003                                                                                 First Class Mail
Chartered Organization         St Matthew Catholic Church                                      Sam Houston Area Council 576            9915 Hollister St                                        Houston, TX 77040‐1702                                                                                  First Class Mail
Chartered Organization         St Matthew Catholic Church                                      Jayhawk Area Council 197                2700 SE Virginia Ave                                     Topeka, KS 66605‐1366                                                                                   First Class Mail
Chartered Organization         St Matthew Catholic School                                      Middle Tennessee Council 560            535 Sneed Rd W                                           Franklin, TN 37069‐9003                                                                                 First Class Mail
Chartered Organization         St Matthew Church                                               Great Trail 433                         2603 Benton St                                           Akron, OH 44312‐1630                                                                                    First Class Mail
Chartered Organization         St Matthew Church                                               Laurel Highlands Council 527            1105 Cameron Ave                                         Tyrone, PA 16686                                                                                        First Class Mail
Chartered Organization         St Matthew Elementary School                                    Cascade Pacific Council 492             221 SE Walnut St                                         Hillsboro, OR 97123‐4424                                                                                First Class Mail
Chartered Organization         St Matthew Episcopal Church Mens Group                          Longhouse Council 373                   P.O. Box 367                                             Moravia, NY 13118‐0367                                                                                  First Class Mail
Chartered Organization         St Matthew Evangelical Lutheran Church                          Laurel Highlands Council 527            P.O. Box 356                                             Martinsburg, PA 16662‐0356                                                                              First Class Mail
Chartered Organization         St Matthew Lutheran Church                                      Cascade Pacific Council 492             10390 SW Canyon Rd                                       Beaverton, OR 97005‐1917                                                                                First Class Mail
Chartered Organization         St Matthew Lutheran Church                                      Chattahoochee Council 091               4026 Macon Rd                                            Columbus, GA 31907‐2210                                                                                 First Class Mail
Chartered Organization         St Matthew Lutheran Church                                      New Birth of Freedom 544                30 W Chestnut St                                         Hanover, PA 17331‐2416                                                                                  First Class Mail
Chartered Organization         St Matthew Lutheran Church                                      Pathway To Adventure 456                24500 N Old Mchenry Rd                                   Hawthorn Woods, IL 60047‐8424                                                                           First Class Mail
Chartered Organization         St Matthew Lutheran Church                                      Dan Beard Council, Bsa 438              4411 Hamilton Richmond Rd                                Oxford, OH 45056‐9458                                                                                   First Class Mail
Chartered Organization         St Matthew Lutheran Church                                      Washington Crossing Council 777         3668 Ridge Rd                                            Perkasie, PA 18944‐3940                                                                                 First Class Mail
Chartered Organization         St Matthew Lutheran Church                                      Mt Diablo‐Silverado Council 023         399 Wiget Ln                                             Walnut Creek, CA 94598‐3411                                                                             First Class Mail
Chartered Organization         St Matthew Lutheran Church                                      Cascade Pacific Council 492             716 Washougal River Rd                                   Washougal, WA 98671‐1506                                                                                First Class Mail
Chartered Organization         St Matthew Lutheran Church                                      New Birth of Freedom 544                839 W Market St                                          York, PA 17401‐3607                                                                                     First Class Mail
Voting Party                   St Matthew Lutheran Church                                      Attn: Tim Morin                         3785 Plr Corp Dr                                         Rocklin, CA 95767                                                    office@stmatthewrocklin.com        Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St Matthew Parish                                               Chief Seattle Council 609               1240 NE 127th St                                         Seattle, WA 98125‐4021                                                                                  First Class Mail
Voting Party                   St Matthew Rc Church                                            c/o Cullen and Dykman LLP               Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530               mroseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St Matthew Roman Catholic Church                                Crossroads of America 160               4100 E 56th St                                           Indianapolis, IN 46220‐5504                                                                             First Class Mail
Chartered Organization         St Matthew The Apostle Catholic Church                          Southeast Louisiana Council 214         10021 Jefferson Hwy                                      River Ridge, LA 70123‐2443                                                                              First Class Mail
Chartered Organization         St Matthew The Apostle Parish                                   Patriots Path Council 358               335 Dover Chester Rd                                     Randolph, NJ 07869‐3915                                                                                 First Class Mail
Voting Party                   St Matthew The Apostle Parish                                   Attn: Andre L Kydala                    54 Old Hwy 22                                            Clinton, NJ 08809                                                                                       First Class Mail
Voting Party                   St Matthew United Methodist Church                              St Matthew Umc                          101 Avon Beach Rd                                        Baltimore, MD 21222                                                  cassendrapatterson176@yahoo.com    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Matthew United Methodist Church Belleville, Il               Attn: Dan Harry                         1200 Moreland Dr                                         Belleville, IL 62223                                                 dharry@stmatthewumc.org            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St Matthew Utd Methodist Church                                 Crossroads of America 160               1951 Wilshire Dr                                         Frankfort, IN 46041‐3258                                                                                First Class Mail
Chartered Organization         St Matthew Utd Methodist Church                                 Andrew Jackson Council 303              7427 Old Canton Rd                                       Madison, MS 39110‐8694                                                                                  First Class Mail
Chartered Organization         St Matthew Utd Methodist Church                                 Grand Canyon Council 010                2540 W Baseline Rd                                       Mesa, AZ 85202‐5403                                                                                     First Class Mail
Voting Party                   St Matthew's & St Joseph'S Episcopal Church                     8850 Woodward Ave                       Detroit, MI 48202                                                                                                             smsjepiscopalchurch@gmail.com      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St Matthew's By The Bridge Episcopal Church                     Attn: Harvey Nicholson                  501 Railroad St                                          Iowa Falls, IA 50126                                                 hnnich@gmail.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         St Matthew's Cathedral                                          Lasalle Council 165                     1701 Miami St                                            South Bend, IN 46613‐2819                                                                               First Class Mail
Chartered Organization         St Matthews Catholic Church                                     California Inland Empire Council 045    2140 W Ontario Ave                                       Corona, CA 92882‐5651                                                                                   First Class Mail
Chartered Organization         St Matthews Catholic Church                                     North Florida Council 087               1773 Blanding Blvd                                       Jacksonville, FL 32210‐1901                                                                             First Class Mail
Chartered Organization         St Matthews Catholic Church                                     Water and Woods Council 782             510 W Cornell St                                         Saginaw, MI 48604                                                                                       First Class Mail
Chartered Organization         St Matthews Catholic Church                                     Alamo Area Council 583                  10703 Wurzbach Rd                                        San Antonio, TX 78230‐2431                                                                              First Class Mail
Chartered Organization         St Matthews Catholic Church                                     Pacific Skyline Council 031             1 Notre Dame Ave                                         San Mateo, CA 94402‐2359                                                                                First Class Mail
Chartered Organization         St Matthews Catholic Church                                     Pathway To Adventure 456                1001 E Schaumburg Rd                                     Schaumburg, IL 60194‐3650                                                                               First Class Mail
Chartered Organization         St Matthew's Catholic Church                                    Alamo Area Council 583                  P.O. Box 670                                             Jourdanton, TX 78026‐0670                                                                               First Class Mail
Chartered Organization         St Matthews Elementary                                          Lincoln Heritage Council 205            601 Browns Ln                                            Louisville, KY 40207‐4043                                                                               First Class Mail
Chartered Organization         St Matthews Episcipal Church                                    Middle Tennessee Council 560            105 Edgewood Ave                                         Mcminnville, TN 37110‐1565                                                                              First Class Mail
Chartered Organization         St Matthews Episcipal Church                                    Middle Tennessee Council 560            105 Edgewood Ave                                         Mcminnville, TN 37110‐1565                                                                              First Class Mail
Chartered Organization         St Matthew's Episcopal Cathedral                                Longs Peak Council 062                  104 S 4th St                                             Laramie, WY 82070‐3102                                                                                  First Class Mail
Chartered Organization         St Matthews Episcopal Church                                    Quapaw Area Council 018                 1112 Alcoa Rd                                            Benton, AR 72015‐3502                                                                                   First Class Mail
Chartered Organization         St Matthews Episcopal Church                                    W D Boyce 138                           1920 E Oakland Ave                                       Bloomington, IL 61701‐5755                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                             Page 363 of 442
                                                                                     Case 20-10343-LSS                                                          Doc 8171                                             Filed 01/06/22                                                     Page 379 of 457
                                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                                         Service List
                                                                                                                                                                                                  Served as set forth below

        Description                                                         Name                                                                                                                      Address                                                                                                                Email                      Method of Service
Chartered Organization         St Matthews Episcopal Church                                 Oregon Trail Council 697                                       4110 River Rd                                                    Eugene, OR 97404‐1235                                                                                            First Class Mail
Chartered Organization         St Matthews Episcopal Church                                 Northeast Illinois 129                                         2120 Lincoln St                                                  Evanston, IL 60201‐2282                                                                                          First Class Mail
Chartered Organization         St Matthews Episcopal Church                                 Crossroads of America 160                                      8320 E 10th St                                                   Indianapolis, IN 46219‐5331                                                                                      First Class Mail
Chartered Organization         St Matthews Episcopal Church                                 Narragansett 546                                               87 Narragansett Ave                                              Jamestown, RI 02835‐1149                                                                                         First Class Mail
Chartered Organization         St Matthews Episcopal Church                                 Middle Tennessee Council 560                                   105 Edgewood Ave                                                 Mcminnville, TN 37110‐1565                                                                                       First Class Mail
Chartered Organization         St Matthews Episcopal Church                                 W.L.A.C.C. 051                                                 1031 Bienveneda Ave                                              Pacific Palisades, CA 90272‐2314                                                                                 First Class Mail
Chartered Organization         St Matthews Episcopal Church                                 Golden Spread Council 562                                      727 W Browning Ave                                               Pampa, TX 79065‐6204                                                                                             First Class Mail
Chartered Organization         St Matthews Episcopal Church                                 Denver Area Council 061                                        19580 Pilgrims Pl                                                Parker, CO 80138‐7354                                                                                            First Class Mail
Chartered Organization         St Matthews Episcopal Church                                 Northeast Georgia Council 101                                  1520 Oak Rd                                                      Snellville, GA 30078‐2230                                                                                        First Class Mail
Voting Party                   St Matthews Episcopal Church                                 c/o Diocese of the Central Gulf Coast ‐ the Episcopal Church   Attn: Scott A Remington                                          125 E Intendencia St               Pensacola, FL 32502                sremington@clarkpartington.com             Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthews Episcopal Church                                 Attn: Sr Warden Ruth Nallick                                   P.O. Box 63                                                      Chipley, FL 32428                                                     ruthnallick@hotmail.com                    Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Matthew's Episcopal Church                                Central Florida Council 083                                    5873 N Dean Rd                                                   Orlando, FL 32817‐3201                                                                                           First Class Mail
Chartered Organization         St Matthew's Episcopal Church                                W.L.A.C.C. 051                                                 1031 Bienveneda Ave                                              Pacific Palisades, CA 90272‐2314                                                                                 First Class Mail
Voting Party                   St Matthew's Episcopal Church                                Attn: Whitney Sawyer                                           1101 Forest Ave                                                  Henrico, VA 23229                                                     whitney@stmattsrva.org                     Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthew's Episcopal Church                                Attn: Douglas Webster                                          8134 Mesa Dr                                                     Austin, TX 78759                                                      websterdtx@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthew's Episcopal Church                                2620 Crestview Dr                                              Edinburg, TX 78539                                                                                                                     parishstmattrgv@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthew's Episcopal Church                                c/o Wright, Lindsey & Jennings LLP                             Attn: John R Tisdale                                             200 W Capitol Ave, Ste 2300        Little Rock, AR 72201              jtisdale@wlj.com                           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthew's Episcopal Church                                P.O. Box 303                                                   Oakland, MD 21550                                                                                                                      episcopalchurchingarrettcounty@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthew's Episcopal Church                                John R Tisdale                                                 1112 Alcoa Rd                                                    Benton, AR 72015‐3502                                                                                            First Class Mail
Chartered Organization         St Matthews Episcopal Church/Snellville                      Northeast Georgia Council 101                                  1520 Oak Rd                                                      Snellville, GA 30078‐2230                                                                                        First Class Mail
Chartered Organization         St Matthews Fathers Club                                     Patriots Path Council 358                                      81 Seymour Ave                                                   Edison, NJ 08817‐3747                                                                                            First Class Mail
Chartered Organization         St Matthews Holy Name Society                                Three Harbors Council 636                                      9329 S Chicago Rd                                                Oak Creek, WI 53154‐4833                                                                                         First Class Mail
Chartered Organization         St Matthews Lutheran Church                                  Chester County Council 539                                     2440 Conestoga Rd                                                Chester Springs, PA 19425‐3600                                                                                   First Class Mail
Chartered Organization         St Matthews Lutheran Church                                  New Birth of Freedom 544                                       30 W Chestnut St                                                 Hanover, PA 17331‐2416                                                                                           First Class Mail
Chartered Organization         St Matthews Lutheran Church                                  Central N Carolina Council 416                                 9275 Bringle Ferry Rd                                            Salisbury, NC 28146‐9546                                                                                         First Class Mail
Chartered Organization         St Matthews Lutheran Church                                  Cradle of Liberty Council 525                                  400 Lynbrooke Rd                                                 Springfield, PA 19064‐3512                                                                                       First Class Mail
Chartered Organization         St Matthews Lutheran Church                                  Great Salt Lake Council 590                                    2654 W Builders Dr                                               Taylorsville, UT 84129‐1530                                                                                      First Class Mail
Chartered Organization         St Matthews Lutheran Church                                  Minsi Trails Council 502                                       222 Church St                                                    Weissport, PA 18235‐9017                                                                                         First Class Mail
Chartered Organization         St Matthews Lutheran Church                                  Cape Fear Council 425                                          612 S College Rd                                                 Wilmington, NC 28403‐3202                                                                                        First Class Mail
Chartered Organization         St Matthews Lutheran Church                                  National Capital Area Council 082                              12351 All Saints Pl                                              Woodbridge, VA 22192‐3378                                                                                        First Class Mail
Voting Party                   St Matthew's Lutheran Church Of Woodbridge, VA               Attn: Rev Scott E Zimmerer                                     12351 All Saints Pl                                              Woodbridge, VA 22192                                                  szmmrr@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Matthews Methodist Church                                 Piedmont Council 420                                           201 Shady Rest Rd                                                Morganton, NC 28655‐4637                                                                                         First Class Mail
Voting Party                   St Matthew's Parish                                          3887 27 1/2 Rd                                                 Grand Junction, CO 81506                                                                                                               fathersdgood@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthew's Parish                                          c/o Messner Reeves LLP                                         Attn: Deanne Stodden                                             1430 Wynkoop St, Ste 300           Denver, CO 80202                   bankruptcy@messner.com                     Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Matthew's Rc Church                                       Suffolk County Council Inc 404                                 35 N Service Rd                                                  Dix Hills, NY 11746‐5315                                                                                         First Class Mail
Chartered Organization         St Matthews Roman Catholic Church                            Connecticut Rivers Council, Bsa 066                            120 Church Ave                                                   Bristol, CT 06010‐6750                                                                                           First Class Mail
Chartered Organization         St Matthews Roman Catholic Church                            Narragansett 546                                               1303 Elmwood Ave                                                 Cranston, RI 02910‐2200                                                                                          First Class Mail
Voting Party                   St Matthew's Roman Catholic Congregation, Inc                Attn: Matthew W Oakey                                          218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                          Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Matthews School                                           Tidewater Council 596                                          3316 Sandra Ln                                                   Virginia Beach, VA 23464‐1736                                                                                    First Class Mail
Voting Party                   St Matthews School                                           Attn: Andre L Kydala                                           54 Old Hwy 22                                                    Clinton, NJ 08809                                                     kydalalaw@aim.com                          Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthews Umc                                              c/o Bradley Arant Boult Cummings, LLP                          Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthews Umc                                              Attn: Don Genson                                               14900 Annapolis Rd                                               Bowie, MD 20715                                                       dongenson@stmatthewsbowre.org              Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthews Umc                                              7427 Old Canton Rd                                             Madison, MS 39110                                                                                                                      Brian@stumc.org                            Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthew's Umc                                             c/o Bradley Arant Boult Cummings, LLP                          Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Matthews Umc Of Valley Forge                              Chester County Council 539                                     600 Walker Rd                                                    Wayne, PA 19087‐1420                                                                                             First Class Mail
Voting Party                   St Matthew's Umc Of Valley Forge                             c/o Bradley Arant Boult Cummings, LLP                          Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthews United Methodist Church                          Attn: William Smith                                            435 Central St                                                   Acton, MA 01720                                                       trustees@saint‐matthews.org                Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthews United Methodist Church                          Attn: Steven Murray                                            92 Newton Rd                                                     Plaistow, NH 03865                                                    Steve@rock‐church.org                      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthews United Methodist Church                          Attn: Dave Felps                                               2738 Macarthur View                                              San Antonio, TX 78217                                                 pastordave@stmattssa.org                   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthews United Methodist Church                          Attn: Kathy Ehinger                                            1460 E 500 N                                                     Columbia City, IN 46725                                               kathysehinger@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthews United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP                          Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthew's United Methodist Church                         6017 Camphor St                                                Metairie, LA 70003                                                                                                                     pastor@stmatthewsumc.com                   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthew's United Methodist Church, Hacienda Heights       Attn: Pastor, St Matthews Umc                                  15653 Newton St                                                  Hacienda Heights, CA 91745                                            smumchh@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthews United Methodist Church, Inc                     Attn: Administrator                                            319 Browns Ln                                                    Louisville, KY 40207                                                  mwatts@stmumc.org                          Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Matthews Utd Methodist                                    Old N State Council 070                                        600 E Florida St                                                 Greensboro, NC 27406‐3139                                                                                        First Class Mail
Chartered Organization         St Matthew's Utd Methodist                                   Southeast Louisiana Council 214                                6017 Camphor St                                                  Metairie, LA 70003‐3657                                                                                          First Class Mail
Chartered Organization         St Matthews Utd Methodist Church                             Attn: Admin Assistant                                          Greater Los Angeles Area 033                                     15653 Newton St                                                                                                  First Class Mail
Chartered Organization         St Matthews Utd Methodist Church                             National Capital Area Council 082                              8617 Little River Tpke                                           Annandale, VA 22003‐3604                                                                                         First Class Mail
Chartered Organization         St Matthews Utd Methodist Church                             Baltimore Area Council 220                                     101 Avon Beach Rd                                                Baltimore, MD 21222‐6105                                                                                         First Class Mail
Chartered Organization         St Matthews Utd Methodist Church                             National Capital Area Council 082                              14900 Annapolis Rd                                               Bowie, MD 20715‐1802                                                                                             First Class Mail
Chartered Organization         St Matthews Utd Methodist Church                             Great Lakes Fsc 272                                            30900 6 Mile Rd                                                  Livonia, MI 48152‐3491                                                                                           First Class Mail
Chartered Organization         St Matthews Utd Methodist Church                             Andrew Jackson Council 303                                     7427 Old Canton Rd                                               Madison, MS 39110‐8694                                                                                           First Class Mail
Chartered Organization         St Matthews Utd Methodist Church                             Alamo Area Council 583                                         2738 Macarthur Vw                                                San Antonio, TX 78217‐4503                                                                                       First Class Mail
Chartered Organization         St Matthias Catholic Church                                  Simon Kenton Council 441                                       1582 Ferris Rd                                                   Columbus, OH 43224‐2115                                                                                          First Class Mail
Chartered Organization         St Matthias Church                                           Pathway To Adventure 456                                       4927 N Claremont Ave                                             Chicago, IL 60625‐1911                                                                                           First Class Mail
Chartered Organization         St Matthias Church                                           Pikes Peak Council 060                                         18320 Furrow Rd                                                  Monument, CO 80132‐8790                                                                                          First Class Mail
Chartered Organization         St Matthias Church                                           Greater Los Angeles Area 033                                   7056 Washington Ave                                              Whittier, CA 90602‐1415                                                                                          First Class Mail
Voting Party                   St Matthias Episcopal Church                                 Attn: Paul A Pittelli                                          6400 Belair Rd                                                   Baltimore, MD 21206                                                   ppittelli@comcast.net                      Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthias Episcopal Church                                 Attn: Brenda Overfield                                         111300 W Huguenot Rd                                             Midlothian, VA 23113                                                  mark.jenkins@tmatmidl.com                  Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthias Episcopal Church                                 Attn: William B Garrison                                       7056 Washington Ave                                              Whittier, CA 90602                                                    bill@stmatthiaswhittier.org                Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthias Episcopal Church                                 Attn: William Garrison                                         7056 Washington Ave                                              Whttier, CA 90602                                                     bill@stmatthiaswhittier.org                Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Matthias' Episcopal Church                                374 Main St                                                    East Aurora, NY 14052                                                                                                                  stmattiasrector@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Matthias Home & School Assoc                              Three Harbors Council 636                                      9300 W Beloit Rd                                                 Milwaukee, WI 53227‐4313                                                                                         First Class Mail
Voting Party                   St Matthias Parish                                           Attn: Andre L Kydala                                           54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                                First Class Mail
Chartered Organization         St Matthias R C Church                                       Moraine Trails Council 500                                     426 E Main St                                                    Evans City, PA 16033‐1229                                                                                        First Class Mail
Chartered Organization         St Matthias R C Church                                       Greater New York Councils, Bsa 640                             5815 Catalpa Ave                                                 Ridgewood, NY 11385‐5001                                                                                         First Class Mail
Chartered Organization         St Matthias Roman Catholic Church                            Greater New York Councils, Bsa 640                             5815 Catalpa Ave                                                 Ridgewood, NY 11385‐5001                                                                                         First Class Mail
Chartered Organization         St Matthias School                                           Simon Kenton Council 441                                       1582 Ferris Rd                                                   Columbus, OH 43224‐2115                                                                                          First Class Mail
Voting Party                   St Matthias Umc                                              c/o Bradley Arant Boult Cummings, LLP                          Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Maximilian Kolbe Catholic                                 W.L.A.C.C. 051                                                 5801 Kanan Rd                                                    Westlake Village, CA 91362‐5499                                                                                  First Class Mail
Chartered Organization         St Maximilian Kolbe Catholic Church                          Dan Beard Council, Bsa 438                                     5720 Hamilton Mason Rd                                           Liberty Twp, OH 45011‐1308                                                                                       First Class Mail
Chartered Organization         St Maximilian Kolbe Catholic Church                          Central Florida Council 083                                    1501 N Alafaya Trl                                               Orlando, FL 32828‐5903                                                                                           First Class Mail
Chartered Organization         St Maximilian Kolbe Catholic Church                          South Florida Council 084                                      701 N Hiatus Rd                                                  Pembroke Pines, FL 33026‐4034                                                                                    First Class Mail
Chartered Organization         St Maximilian Kolbe Catholic Community                       Sam Houston Area Council 576                                   10135 West Rd                                                    Houston, TX 77064‐5361                                                                                           First Class Mail
Chartered Organization         St Maximilian Kolbe Parish                                   Iroquois Trail Council 376                                     18 W Main St                                                     Corfu, NY 14036‐9546                                                                                             First Class Mail
Voting Party                   St Maximillian Kolbe Catholic                                c/o Archdiocese of Los Angeles                                 Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                 Los Angeles, CA 90010              legal@la‐archdiocese.org                   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Maximillian Kolbe Church                                  Dan Beard Council, Bsa 438                                     5720 Hamilton Mason Rd                                           Liberty Twp, OH 45011‐1308                                                                                       First Class Mail
Chartered Organization         St Meinrad Catholic Church                                   Buffalo Trace 156                                              P.O. Box 8                                                       Saint Meinrad, IN 47577‐0008                                                                                     First Class Mail
Chartered Organization         St Meinrad Catholic Church                                   Buffalo Trace 156                                              19630 N 4th St                                                   Saint Meinrad, IN 47577‐9805                                                                                     First Class Mail
Chartered Organization         St Mel Church                                                W.L.A.C.C. 051                                                 20870 Ventura Blvd                                               Woodland Hills, CA 91364‐2318                                                                                    First Class Mail
Voting Party                   St Mel Church                                                c/o Archdiocese of Los Angeles                                 Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                 Los Angeles, CA 90010              legal@la‐archdiocese.org                   Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Mel Parish                                                Golden Empire Council 047                                      P.O. Box 1180                                                    Fair Oaks, CA 95628‐1180                                                                                         First Class Mail
Chartered Organization         St Michael & All Angel Episcopal Church                      Atlanta Area Council 092                                       6780 James B Rivers Dr                                           Stone Mtn, GA 30083‐2249                                                                                         First Class Mail
Chartered Organization         St Michael & All Angels                                      Atlanta Area Council 092                                       6780 James B Rivers Dr                                           Stone Mountain, GA 30083‐2249                                                                                    First Class Mail
Chartered Organization         St Michael & All Angels Episc Ch                             Tukabatchee Area Council 005                                   5941 Main St                                                     Millbrook, AL 36054‐1878                                                                                         First Class Mail
Chartered Organization         St Michael & All Angels Episcopal Church                     Heart of America Council 307                                   6630 Nall Ave                                                    Shawnee Mission, KS 66202‐4325                                                                                   First Class Mail
Chartered Organization         St Michael Academy                                           North Florida Council 087                                      228 N 4th St                                                     Fernandina Beach, FL 32034‐4128                                                                                  First Class Mail
Voting Party                   St Michael And All Angels' Episcopal Church, Millbrook       Attn: Rev Rob Morpeth, Diocese of Alabama                      521 N 20th St                                                    Birmingham, AL 35203                                                  rmorpeth@dioala.org                        Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Michael And All Angels' Episcopal Church, Millbrook, Al   Attn: the Rev Mark E Waldo, Jr                                 P.O. Box 586                                                     Millbrook, AL 36054‐0012                                              mark@stmichaelandallangels.com             Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Michael Archangel Church                                  Washington Crossing Council 777                                66 Levittown Pkwy                                                Levittown, PA 19054‐3501                                                                                         First Class Mail
Chartered Organization         St Michael Catholic Church                                   Longhorn Council 662                                           3713 Harwood Rd                                                  Bedford, TX 76021‐4013                                                                                           First Class Mail
Chartered Organization         St Michael Catholic Church                                   Circle Ten Council 571                                         950 Trails Pkwy                                                  Garland, TX 75043‐5646                                                                                           First Class Mail
Chartered Organization         St Michael Catholic Church                                   Sam Houston Area Council 576                                   1801 Sage Rd                                                     Houston, TX 77056‐3502                                                                                           First Class Mail
Chartered Organization         St Michael Catholic Church                                   Lake Erie Council 440                                          6906 Chestnut Rd                                                 Independence, OH 44131‐3336                                                                                      First Class Mail
Chartered Organization         St Michael Catholic Church                                   Southern Shores Fsc 783                                        502 W Front St                                                   Monroe, MI 48161‐2424                                                                                            First Class Mail
Chartered Organization         St Michael Catholic Church                                   Greater St Louis Area Council 312                              7622 Sutherland Ave                                              Saint Louis, MO 63119‐2855                                                                                       First Class Mail
Chartered Organization         St Michael Catholic Church                                   Laurel Highlands Council 527                                   P.O. Box 103                                                     Saint Michael, PA 15951‐0103                                                                                     First Class Mail
Chartered Organization         St Michael Catholic Church                                   Simon Kenton Council 441                                       5750 N High St                                                   Worthington, OH 43085‐3917                                                                                       First Class Mail
Voting Party                   St Michael Catholic Church, Coopersville                     c/o Warner Norcross & Judd LLP                                 Attn: Elisabeth M Von Eitzen                                     150 Ottawa Ave NW, Ste 1500        Grand Rapids, MI 49503             evoneitzen@wnj.com                         Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Michael Church                                            Dan Beard Council, Bsa 438                                     11144 Spinner Ave                                                Cincinnati, OH 45241‐2632                                                                                        First Class Mail
Chartered Organization         St Michael Fire                                              Northern Star Council 250                                      216 Main St S                                                    Saint Michael, MN 55376‐9671                                                                                     First Class Mail
Chartered Organization         St Michael Holy Name Society                                 Pathway To Adventure 456                                       1 E Wilhelm St                                                   Schererville, IN 46375‐2492                                                                                      First Class Mail
Chartered Organization         St Michael Lions Club                                        Northern Star Council 250                                      P.O. Box 355                                                     Saint Michael, MN 55376‐0355                                                                                     First Class Mail
Chartered Organization         St Michael Lutheran Church                                   Blue Ridge Mtns Council 599                                    2308 Merrimac Rd                                                 Blacksburg, VA 24060‐3756                                                                                        First Class Mail
Chartered Organization         St Michael Lutheran Church                                   Baltimore Area Council 220                                     9534 Belair Rd                                                   Nottingham, MD 21236‐1508                                                                                        First Class Mail
Chartered Organization         St Michael Lutheran Church Of Canton Twp                     School                                                         7000 N Sheldon Rd                                                Canton, MI 48187‐2753                                                                                            First Class Mail
Chartered Organization         St Michael Lutheran School                                   Southern Shores Fsc 783                                        7211 Oakland Dr                                                  Portage, MI 49024‐4151                                                                                           First Class Mail
Chartered Organization         St Michael Men'S Club                                        Denver Area Council 061                                        19099 E Floyd Ave                                                Aurora, CO 80013‐3703                                                                                            First Class Mail
Chartered Organization         St Michael Parish                                            Ohio River Valley Council 619                                  1225 National Rd                                                 Wheeling, WV 26003‐5707                                                                                          First Class Mail
Chartered Organization         St Michael Parish Livonia                                    Great Lakes Fsc 272                                            11441 Hubbard St                                                 Livonia, MI 48150‐2763                                                                                           First Class Mail
Chartered Organization         St Michael Parish School                                     Chickasaw Council 558                                          3880 Forrest Ave                                                 Memphis, TN 38122‐3808                                                                                           First Class Mail
Chartered Organization         St Michael Roman Catholic Church                             Water and Woods Council 782                                    345 Edwards St                                                   Grand Ledge, MI 48837‐2110                                                                                       First Class Mail
Chartered Organization         St Michael Roman Catholic Church                             Lincoln Heritage Council 205                                   3705 Stone Lakes Dr                                              Louisville, KY 40299‐5495                                                                                        First Class Mail
Chartered Organization         St Michael Roman The Arc Angel Church                        Baltimore Area Council 220                                     2 Willow Ave                                                     Baltimore, MD 21206‐1112                                                                                         First Class Mail
Chartered Organization         St Michael School                                            Dan Beard Council, Bsa 438                                     300 Market St                                                    Ripley, OH 45167‐1128                                                                                            First Class Mail
Chartered Organization         St Michael The Archangel Catholic Church                     Occoneechee 421                                                804 High House Rd                                                Cary, NC 27513‐3507                                                                                              First Class Mail
Chartered Organization         St Michael The Archangel Catholic Church                     Circle Ten Council 571                                         950 Trails Pkwy                                                  Garland, TX 75043‐5646                                                                                           First Class Mail
Chartered Organization         St Michael The Archangel Catholic Church                     Circle Ten Council 571                                         2910 Corn Valley Rd                                              Grand Prairie, TX 75052‐5259                                                                                     First Class Mail
Chartered Organization         St Michael The Archangel Catholic Church                     Aloha Council, Bsa 104                                         75‐5769 Alii Dr                                                  Kailua Kona, HI 96740                                                                                            First Class Mail
Chartered Organization         St Michael The Archangel Catholic Parish                     Heart of America Council 307                                   14201 Nall Ave                                                   Overland Park, KS 66223‐2984                                                                                     First Class Mail
Chartered Organization         St Michael The Archangel Church                              Grand Canyon Council 010                                       25394 N Poseidon Rd                                              Florence, AZ 85132‐5529                                                                                          First Class Mail
Voting Party                   St Michael The Archangel Church, Muskegon                    c/o Warner Norcross & Judd LLP                                 Attn: Elisabeth M Von Eitzen                                     150 Ottawa Ave NW, Ste 1500        Grand Rapids, MI 49503             evoneitzen@wnj.com                         Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Michael's Anglican Parish Ridgecrest, California          c/o Ragghianti Freitas LLP                                     Attn: Michael O Glass Esq                                        1101 5th Ave, Ste 100              San Rafael, CA 94901               mglass@rflawllp.com                        Email
                                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Michaels Catholic Church                                  Black Swamp Area Council 449                                   750 Bright Rd                                                    Findlay, OH 45840‐6946                                                                                           First Class Mail
Chartered Organization         St Michaels Catholic Church                                  Miami Valley Council, Bsa 444                                  33 Elm St                                                        Fort Loramie, OH 45845‐9396                                                                                      First Class Mail
Chartered Organization         St Michaels Catholic Church                                  Heart of Virginia Council 602                                  4491 Springfield Rd                                              Glen Allen, VA 23060‐3414                                                                                        First Class Mail
Chartered Organization         St Michaels Catholic Church                                  Black Swamp Area Council 449                                   206 N Broad St                                                   Kalida, OH 45853                                                                                                 First Class Mail
Chartered Organization         St Michaels Catholic Church                                  Bay Area Council 574                                           100 Oak Dr S                                                     Lake Jackson, TX 77566‐5630                                                                                      First Class Mail
Chartered Organization         St Michaels Catholic Church                                  South Plains Council 694                                       316 E Washington St                                              Levelland, TX 79336‐2611                                                                                         First Class Mail
Chartered Organization         St Michaels Catholic Church                                  Baltimore Area Council 220                                     1125 Saint Michaels Rd                                           Mount Airy, MD 21771‐3235                                                                                        First Class Mail
Chartered Organization         St Michaels Catholic Church                                  Circle Ten Council 571                                         1403 E 1st St                                                    Mt Pleasant, TX 75455‐4715                                                                                       First Class Mail
Chartered Organization         St Michaels Catholic Church                                  The Spirit of Adventure 227                                    196 Main St                                                      North Andover, MA 01845‐2509                                                                                     First Class Mail
Chartered Organization         St Michaels Catholic Church                                  Pathway To Adventure 456                                       14327 Highland Ave                                               Orland Park, IL 60462‐2433                                                                                       First Class Mail
Chartered Organization         St Michaels Catholic Church                                  San Diego Imperial Council 049                                 15546 Pomerado Rd                                                Poway, CA 92064‐2404                                                                                             First Class Mail
Chartered Organization         St Michaels Catholic Church                                  Northern Star Council 250                                      611 3rd St S                                                     Stillwater, MN 55082‐4908                                                                                        First Class Mail
Chartered Organization         St Michaels Catholic Church                                  Longhouse Council 373                                          4782 W Seneca Tpke                                               Syracuse, NY 13215‐2127                                                                                          First Class Mail
Chartered Organization         St Michael'S Catholic Church                                 Lincoln Heritage Council 205                                   101 Saint Michaels Dr                                            Charlestown, IN 47111‐1635                                                                                       First Class Mail
Chartered Organization         St Michael'S Catholic Church                                 Evangeline Area 212                                            224 W 5th St                                                     Crowley, LA 70526‐4333                                                                                           First Class Mail
Chartered Organization         St Michael'S Catholic Church                                 Mid‐America Council 326                                        1503 10th St                                                     Harlan, IA 51537‐1646                                                                                            First Class Mail
Chartered Organization         St Michael'S Catholic Church                                 South Florida Council 084                                      2987 W Flagler St                                                Miami, FL 33135‐1338                                                                                             First Class Mail
Chartered Organization         St Michael'S Catholic Church                                 Great Rivers Council 653                                       13321 Railroad Ave                                               Russellville, MO 65074‐1120                                                                                      First Class Mail
Chartered Organization         St Michaels Catholic Church ‐ Men's Club                     Buckeye Council 436                                            3430 Saint Michaels Blvd NW                                      Canton, OH 44718‐3015                                                                                            First Class Mail
Chartered Organization         St Michaels Catholic Church ‐ Men's Club                     Northern Lights Council 429                                    520 N 6th St                                                     Grand Forks, ND 58203‐3231                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                         Page 364 of 442
                                                                                    Case 20-10343-LSS                                                              Doc 8171                                            Filed 01/06/22                                                      Page 380 of 457
                                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                                           Service List
                                                                                                                                                                                                    Served as set forth below

        Description                                                       Name                                                                                                                          Address                                                                                                                 Email                  Method of Service
Chartered Organization         St Michaels Catholic School                                    Chickasaw Council 558                                          P.O. Box 899                                                     West Memphis, AR 72303‐0899                                                                                   First Class Mail
Chartered Organization         St Michael'S Catholic School                                   Chickasaw Council 558                                          405 N Missouri St                                                West Memphis, AR 72301‐3143                                                                                   First Class Mail
Chartered Organization         St Michaels Church                                             Great Trail 433                                                300 N Broad St                                                   Canfield, OH 44406‐1254                                                                                       First Class Mail
Chartered Organization         St Michaels Church                                             Denver Area Council 061                                        628 Meeker St                                                    Delta, CO 81416‐1923                                                                                          First Class Mail
Chartered Organization         St Michaels Church                                             Hawk Mountain Council 528                                      529 Saint Michaels Rd                                            Hamburg, PA 19526‐8023                                                                                        First Class Mail
Chartered Organization         St Michaels Church                                             Overland Trails 322, 7th & Creighton                           Hastings, NE 68901                                                                                                                                                             First Class Mail
Chartered Organization         St Michael'S Church                                            French Creek Council 532                                       85 N High St                                                     Greenville, PA 16125‐2433                                                                                     First Class Mail
Chartered Organization         St Michael'S Church                                            Laurel Highlands Council 527                                   301 Spruce St                                                    Hollidaysburg, PA 16648‐1511                                                                                  First Class Mail
Voting Party                   St Michael's Clear Spring Roman Catholic Congregation Inc      c/o Gallagher Evelius & Jones LLP                              Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201                moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         St Michaels Episcopal Church                                   Capitol Area Council 564                                       1500 N Capital of Texas Hwy                                      Austin, TX 78746‐3320                                                                                         First Class Mail
Chartered Organization         St Michaels Episcopal Church                                   San Diego Imperial Council 049                                 2775 Carlsbad Blvd                                               Carlsbad, CA 92008‐2210                                                                                       First Class Mail
Chartered Organization         St Michaels Episcopal Church                                   Golden Empire Council 047                                      2140 Mission Ave                                                 Carmichael, CA 95608‐5635                                                                                     First Class Mail
Chartered Organization         St Michaels Episcopal Church                                   The Spirit of Adventure 227                                    112 Randolph Ave                                                 Milton, MA 02186‐3401                                                                                         First Class Mail
Chartered Organization         St Michaels Episcopal Church                                   Connecticut Rivers Council, Bsa 066                            210 Church St                                                    Naugatuck, CT 06770‐4120                                                                                      First Class Mail
Chartered Organization         St Michaels Episcopal Church                                   Crossroads of America 160                                      444 S Harbour Dr                                                 Noblesville, IN 46062‐9107                                                                                    First Class Mail
Chartered Organization         St Michaels Episcopal Church                                   Heart of Virginia Council 602                                  8706 Quaker Ln                                                   North Chesterfield, VA 23235‐2918                                                                             First Class Mail
Chartered Organization         St Michaels Episcopal Church                                   Coastal Georgia Council 099                                    3101 Waters Ave                                                  Savannah, GA 31404‐6259                                                                                       First Class Mail
Voting Party                   St Michaels Episcopal Church                                   4499 Sharp Rd                                                  Mandeville, LA 70471                                                                                                                    rector@stmichaelsla.org                Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         St Michael'S Episcopal Church                                  Middle Tennessee Council 560                                   640 N Washington Ave                                             Cookeville, TN 38501‐2659                                                                                     First Class Mail
Chartered Organization         St Michael'S Episcopal Church                                  Last Frontier Council 480                                      1601 W Imhoff Rd                                                 Norman, OK 73072‐7408                                                                                         First Class Mail
Chartered Organization         St Michael'S Episcopal Church                                  Central Florida Council 083                                    2500 N Westmoreland Dr                                           Orlando, FL 32804‐4937                                                                                        First Class Mail
Chartered Organization         St Michael'S Episcopal Church                                  Three Harbors Council 636                                      4701 Erie St                                                     Racine, WI 53402‐2513                                                                                         First Class Mail
Chartered Organization         St Michael'S Episcopal Church                                  Monmouth Council, Bsa 347                                      3402 Woodfield Ave                                               Wall Township, NJ 07719‐4722                                                                                  First Class Mail
Voting Party                   St Michael's Episcopal Church                                  Attn: Timothy Matlack                                          1132 N Ivanhoe St                                                Arlington, VA 22205                                                    parishoffice@stmichaelsarlington.org   Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St Michael's Episcopal Church                                  Attn: John Newton                                              1500 N Cap of Tx Hwy                                             Austin, TX 78746                                                       parishadmin@st‐michaels.org            Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St Michael's Episcopal Church                                  Attn: Diane Hamilton, Warden                                   60 2nd St                                                        Geneseo, NY 14454                                                      dianelhamilton@me.com                  Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St Michael's Episcopal Church Tbd                              Attn: Caroline Haynes                                          1132 N Ivanhoe St                                                Arlington, VA 22205                                                    parishoffice@StMichaelsArlington.org   Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         St Michael'S Estates Homeowners Assoc                          Circle Ten Council 571                                         220 Saint Michaels Way                                           Rockwall, TX 75032‐7245                                                                                       First Class Mail
Chartered Organization         St Michaels Lutheran Church                                    Pathway To Adventure 456                                       500 E 31st St                                                    La Grange Park, IL 60526‐5454                                                                                 First Class Mail
Chartered Organization         St Michaels Lutheran Church                                    Washington Crossing Council 777                                25 E Church St                                                   Sellersville, PA 18960‐2434                                                                                   First Class Mail
Chartered Organization         St Michael'S Men'S Club                                        Bay‐Lakes Council 635                                          401 W Kaye Ave                                                   Marquette, MI 49855‐2707                                                                                      First Class Mail
Chartered Organization         St Michael'S Parents' Org                                      Three Fires Council 127                                        315 W Illinois St                                                Wheaton, IL 60187                                                                                             First Class Mail
Chartered Organization         St Michaels Parish                                             Connecticut Rivers Council, Bsa 066                            210 Church St                                                    Naugatuck, CT 06770‐4120                                                                                      First Class Mail
Chartered Organization         St Michael'S Parish                                            Sioux Council 733                                              1600 S Marion Rd                                                 Sioux Falls, SD 57106‐0437                                                                                    First Class Mail
Chartered Organization         St Michaels Parish Council                                     Crossroads of America 160                                      519 Jefferson Blvd                                               Greenfield, IN 46140‐1860                                                                                     First Class Mail
Chartered Organization         St Michaels Roman Catholic Church                              Western Massachusetts Council 234                              127 Maple St                                                     East Longmeadow, MA 01028‐2720                                                                                First Class Mail
Chartered Organization         St Michaels Roman Catholic Church                              Narragansett 546                                               60 Liberty St                                                    Pawcatuck, CT 06379‐1647                                                                                      First Class Mail
Chartered Organization         St Michael'S Roman Catholic Church                             Patriots Path Council 358                                      40 Alden St                                                      Cranford, NJ 07016‐2107                                                                                       First Class Mail
Chartered Organization         St Michael'S Roman Catholic Church                             French Creek Council 532                                       85 N High St                                                     Greenville, PA 16125‐2433                                                                                     First Class Mail
Chartered Organization         St Michael'S The Archangel                                     National Capital Area Council 082                              824 Pershing Dr                                                  Silver Spring, MD 20910‐4443                                                                                  First Class Mail
Voting Party                   St Michael's, Clear Spring, Roman Catholic Congregation, Inc   Attn: Matthew W Oakey                                          218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St Michael's, Clear Spring, Roman Catholic Congregation, Inc   c/o Gallagher Evelius & Jones LLP                              Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201                moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St Michael‐St Clement School, Inc                              Attn: Matthew W Oakey                                          218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         St Mina Coptic Church                                          Middle Tennessee Council 560                                   476 Mcmurray Dr                                                  Nashville, TN 37211‐5363                                                                                      First Class Mail
Chartered Organization         St Miriam Catholic Apostolic Church                            Cradle of Liberty Council 525                                  654 Bethlehem Pike                                               Flourtown, PA 19031‐1301                                                                                      First Class Mail
Chartered Organization         St Monica Catholic Church                                      Circle Ten Council 571                                         9933 Midway Rd                                                   Dallas, TX 75220‐1918                                                                                         First Class Mail
Chartered Organization         St Monica Catholic Church                                      Last Frontier Council 480                                      2001 N Wern Ave                                                  Edmond, OK 73012                                                                                              First Class Mail
Chartered Organization         St Monica Catholic Church                                      Last Frontier Council 480                                      2001 N Wern Ave                                                  Edmond, OK 73012                                                                                              First Class Mail
Chartered Organization         St Monica Catholic Church                                      Greater St Louis Area Council 312                              12136 Olive Blvd                                                 Saint Louis, MO 63141‐6629                                                                                    First Class Mail
Chartered Organization         St Monica Church                                               The Spirit of Adventure 227                                    212 Lawrence St                                                  Methuen, MA 01844‐3852                                                                                        First Class Mail
Chartered Organization         St Monica Congregation                                         Three Harbors Council 636                                      160 E Silver Spring Dr                                           Milwaukee, WI 53217‐4701                                                                                      First Class Mail
Chartered Organization         St Monica Parish                                               Southern Shores Fsc 783                                        4408 S Westnedge Ave                                             Kalamazoo, MI 49008‐3210                                                                                      First Class Mail
Chartered Organization         St Monica Roman Catholic Church                                Pathway To Adventure 456                                       5136 N Nottingham Ave                                            Chicago, IL 60656‐3639                                                                                        First Class Mail
Chartered Organization         St Monica Roman Catholic Church                                Lake Erie Council 440                                          13623 Rockside Rd                                                Garfield Hts, OH 44125‐5173                                                                                   First Class Mail
Chartered Organization         St Monica Roman Catholic Church                                Northeastern Pennsylvania Council 501                          363 W 8th St                                                     West Wyoming, PA 18644‐1613                                                                                   First Class Mail
Chartered Organization         St Monicas Catholic Ch Mens Club                               Mt Diablo‐Silverado Council 023                                1001 Camino Pablo                                                Moraga, CA 94556‐1831                                                                                         First Class Mail
Chartered Organization         St Monicas Episcopal Church                                    Southwest Florida Council 088                                  7070 Immokalee Rd                                                Naples, FL 34119‐9076                                                                                         First Class Mail
Chartered Organization         St Monicas Recreation Center                                   Dan Beard Council, Bsa 438                                     10022 Chester Rd                                                 Cincinnati, OH 45215‐1505                                                                                     First Class Mail
Chartered Organization         St Mother Teresa Of Calcutta Church                            California Inland Empire Council 045                           31579 Vintners Pointe Ct                                         Winchester, CA 92596‐8318                                                                                     First Class Mail
Chartered Organization         St Nektarios Greek Orthodox Church                             Mecklenburg County Council 415                                 5108 Kuykendall Rd                                               Charlotte, NC 28270‐0269                                                                                      First Class Mail
Chartered Organization         St Nektarios Greek Orthodox Church                             Mecklenburg County Council 415                                 5108 Kuykendall Rd                                               Charlotte, NC 28270‐0269                                                                                      First Class Mail
Chartered Organization         St Nicholas Episcopal Church                                   Chattahoochee Council 091                                      P.O. Box 752                                                     Hamilton, GA 31811‐0752                                                                                       First Class Mail
Chartered Organization         St Nicholas Greek Orthodox Church                              Greater New York Councils, Bsa 640                             19610 Nern Blvd                                                  Flushing, NY 11358                                                                                            First Class Mail
Chartered Organization         St Nicholas Greek Orthodox Church                              Greater Tampa Bay Area 089                                     18 Hibiscus St                                                   Tarpon Springs, FL 34689‐3408                                                                                 First Class Mail
Chartered Organization         St Nicholas Of Myra                                            Narragansett 546                                               499 Spring St                                                    North Dighton, MA 02764‐1375                                                                                  First Class Mail
Voting Party                   St Nicholas Of Tolentine                                       Attn: Monsignor Joseph Lamorte                                 1011 1st Ave                                                     New York, NY 10022                                                     KRoss@mcgivneyandkluger.com            Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         St Nicholas Of Tolentine Holy Name Socty                       Pathway To Adventure 456                                       3721 W 62nd St                                                   Chicago, IL 60629‐4014                                                                                        First Class Mail
Chartered Organization         St Nicholas Of Tolentine Rc Church                             Greater New York Councils, Bsa 640                             15075 Goethals Ave                                               Jamaica, NY 11432‐1040                                                                                        First Class Mail
Voting Party                   St Nicholas On The Hudson                                      P.O. Box 490                                                   Hughsonville, NY 12537                                                                                                                  stnicholasnewhamburg@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         St Nicholas Roman Catholic Church                              Laurel Highlands Council 527                                   P.O. Box 37                                                      Nicktown, PA 15762‐0037                                                                                       First Class Mail
Chartered Organization         St Nicholas Roman Catholic Church                              Minsi Trails Council 502                                       1152 Oak Rd                                                      Walnutport, PA 18088‐9728                                                                                     First Class Mail
Chartered Organization         St Nicholas Roman Catholic Church                              Northeastern Pennsylvania Council 501                          226 S Washington St                                              Wilkes Barre, PA 18701‐2801                                                                                   First Class Mail
Chartered Organization         St Nicholas Russian Orthodox Church                            Great Trail 433                                                755 S Cleveland Ave                                              Mogadore, OH 44260‐1584                                                                                       First Class Mail
Chartered Organization         St Norbert Catholic Church                                     Greater St Louis Area Council 312                              16455 New Halls Ferry Rd                                         Florissant, MO 63031‐1131                                                                                     First Class Mail
Chartered Organization         St Norbert'S Catholic Church                                   Orange County Council 039                                      300 E Taft Ave                                                   Orange, CA 92865‐4330                                                                                         First Class Mail
Chartered Organization         St Norberts Roman Catholic Mens Club                           Northeast Illinois 129                                         1809 Walters Ave                                                 Northbrook, IL 60062‐4534                                                                                     First Class Mail
Chartered Organization         St Odilia Catholic Church                                      Northern Star Council 250                                      3495 Victoria St N                                               Shoreview, MN 55126‐3813                                                                                      First Class Mail
Chartered Organization         St Olaf Lutheran Church Men                                    Northern Lights Council 429, 6th St Ne                         Devils Lake, ND 58301                                                                                                                                                          First Class Mail
Chartered Organization         St Olaf Luthern Church                                         Northern Lights Council 429, 6th St Ne                         Devils Lake, ND 58301                                                                                                                                                          First Class Mail
Chartered Organization         St Olaf Patron Of Norway                                       Colonial Virginia Council 595                                  104 Norge Ln                                                     Williamsburg, VA 23188‐7229                                                                                   First Class Mail
Chartered Organization         St Olaf'S Cub Scout Pack 4030                                  Great Salt Lake Council 590                                    1793 S Orchard Dr                                                Bountiful, UT 84010‐5411                                                                                      First Class Mail
Voting Party                   St Olafs Episcopal Church                                      Episcopal Diocese of Fond Du Lac                               1051 N Lynndale Dr, Apt B                                        Appleton, WI 54914                                                                                            First Class Mail
Chartered Organization         St Oliver Plunkett Church                                      Northeast Georgia Council 101                                  3200 Brooks Dr                                                   Snellville, GA 30078‐3552                                                                                     First Class Mail
Chartered Organization         St Padre Pio Catholic Church                                   Alamo Area Council 583                                         20770 US Hwy 281 N, Ste 108                                      San Antonio, TX 78258‐7500                                                                                    First Class Mail
Chartered Organization         St Pancras R C Church                                          Greater New York Councils, Bsa 640                             7222 68th St                                                     Glendale, NY 11385‐7231                                                                                       First Class Mail
Chartered Organization         St Pancratius Knights Of Columbus                              Long Beach Area Council 032                                    3519 Saint Pancratius Pl                                         Lakewood, CA 90712‐1416                                                                                       First Class Mail
Chartered Organization         St Pascal Holy Name Society                                    Pathway To Adventure 456                                       3935 N Melvina Ave                                               Chicago, IL 60634‐2527                                                                                        First Class Mail
Chartered Organization         St Pascals Mens Club                                           Northern Star Council 250                                      1757 Conway St                                                   Saint Paul, MN 55106‐5938                                                                                     First Class Mail
Chartered Organization         St Paschal Baylon                                              Lake Erie Council 440                                          5384 Wilson Mills Rd                                             Highland Heights, OH 44143‐3023                                                                               First Class Mail
Chartered Organization         St Paschal Baylon Church Mens Club                             Ventura County Council 057                                     154 E Janss Rd                                                   Thousand Oaks, CA 91360‐3323                                                                                  First Class Mail
Voting Party                   St Paschal Baylon Church Mens Club                             c/o Archdiocese of Los Angeles                                 Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                  Los Angeles, CA 90010              legal@la‐archdiocese.org               Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         St Patricia Parish                                             Pathway To Adventure 456                                       9000 S 86th Ave                                                  Hickory Hills, IL 60457‐1351                                                                                  First Class Mail
Chartered Organization         St Patricia Pto                                                President Gerald R Ford 781                                    96 S Div St P. St Clair Elementary                                                                                                                                             First Class Mail
Chartered Organization         St Patrick Catholic Church                                     President Gerald R Ford 781                                    4333 Parnell Ave NE                                              Ada, MI 49301‐9759                                                                                            First Class Mail
Chartered Organization         St Patrick Catholic Church                                     Istrouma Area Council 211                                      12424 Brogdon Ln                                                 Baton Rouge, LA 70816‐4801                                                                                    First Class Mail
Chartered Organization         St Patrick Catholic Church                                     Southern Shores Fsc 783                                        711 Rickett Rd                                                   Brighton, MI 48116‐1824                                                                                       First Class Mail
Chartered Organization         St Patrick Catholic Church                                     Black Swamp Area Council 449                                   610 S Portland St                                                Bryan, OH 43506‐2057                                                                                          First Class Mail
Chartered Organization         St Patrick Catholic Church                                     Occoneechee 421                                                2840 Village Dr                                                  Fayetteville, NC 28304‐3813                                                                                   First Class Mail
Chartered Organization         St Patrick Catholic Church                                     Lincoln Heritage Council 205                                   1000 N Beckley Station Rd                                        Louisville, KY 40245‐4550                                                                                     First Class Mail
Chartered Organization         St Patrick Catholic Church                                     East Texas Area Council 585                                    2118 Lowery St                                                   Lufkin, TX 75901‐1316                                                                                         First Class Mail
Chartered Organization         St Patrick Catholic Church                                     Northern Star Council 250                                      19921 Nightingale St NW                                          Oak Grove, MN 55011‐9204                                                                                      First Class Mail
Chartered Organization         St Patrick Catholic Church                                     Three Fires Council 127                                        6N487 Crane Rd                                                   St Charles, IL 60175                                                                                          First Class Mail
Chartered Organization         St Patrick Catholic Church                                     The Spirit of Adventure 227                                    9 Pomeworth St                                                   Stoneham, MA 02180‐2025                                                                                       First Class Mail
Chartered Organization         St Patrick Catholic Church                                     Miami Valley Council, Bsa 444                                  409 E Main St                                                    Troy, OH 45373‐3412                                                                                           First Class Mail
Chartered Organization         St Patrick Catholic Church And School                          Lasalle Council 165                                            638 N Calumet Rd                                                 Chesterton, IN 46304‐1502                                                                                     First Class Mail
Voting Party                   St Patrick Catholic Church Hutto TX                            c/o Bsa Coordinator                                            Attn: Chancellor                                                 6225 E US 290 Hwy Svrd Eb           Austin, TX 78723                   ron‐walker@austindiocese.org           Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St Patrick Catholic Church Hutto TX                            Attn: Rev Brian Eilers                                         2500 Limmer Lp                                                   Hutto, TX 78634                                                                                               First Class Mail
Chartered Organization         St Patrick Catholic Of Mt Dora                                 Central Florida Council 083                                    6803 Old Hwy 441 S                                               Mount Dora, FL 32757‐7050                                                                                     First Class Mail
Chartered Organization         St Patrick Church                                              Black Swamp Area Council 449                                   P.O. Box 226                                                     Bascom, OH 44809‐0226                                                                                         First Class Mail
Chartered Organization         St Patrick Church                                              South Texas Council 577                                        3350 S Alameda St                                                Corpus Christi, TX 78411‐1821                                                                                 First Class Mail
Chartered Organization         St Patrick Church                                              Heart of America Council 307                                   1357 NE 42nd Ter                                                 Kansas City, MO 64116‐2228                                                                                    First Class Mail
Chartered Organization         St Patrick Church                                              Golden Empire Council 047                                      3109 Sacramento St                                               Placerville, CA 95667‐5523                                                                                    First Class Mail
Chartered Organization         St Patrick Church Mens Club                                    Circle Ten Council 571                                         9643 Ferndale Rd                                                 Dallas, TX 75238‐2736                                                                                         First Class Mail
Chartered Organization         St Patrick Church Mens Club                                    Great Lakes Fsc 272                                            9086 Hutchins St                                                 White Lake, MI 48386‐3331                                                                                     First Class Mail
Chartered Organization         St Patrick Parish                                              Ozark Trails Council 306                                       17 Saint Patrick Ln                                              Rolla, MO 65401‐2262                                                                                          First Class Mail
Voting Party                   St Patrick Parish, Ada                                         c/o Warner Norcross & Judd LLP                                 Attn: Elisabeth M Von Eitzen                                     150 Ottawa Ave NW, Ste 1500         Grand Rapids, MI 49503             evoneitzen@wnj.com                     Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         St Patrick Proto‐Cathedral                                     Silicon Valley Monterey Bay 055                                389 E Santa Clara St                                             San Jose, CA 95113‐1912                                                                                       First Class Mail
Chartered Organization         St Patrick Roman Catholic Church                               Laurel Highlands Council 527                                   317 W Pike St                                                    Canonsburg, PA 15317‐1144                                                                                     First Class Mail
Chartered Organization         St Patrick Roman Catholic Church                               Greater St Louis Area Council 312                              407 E Eldorado St                                                Decatur, IL 62523‐1038                                                                                        First Class Mail
Voting Party                   St Patricks Belvidere                                          Attn: Andre L Kydala                                           54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                             First Class Mail
Chartered Organization         St Patricks Catholic Church                                    Mid‐America Council 326                                        20500 W Maple Rd                                                 Elkhorn, NE 68022‐1103                                                                                        First Class Mail
Chartered Organization         St Patricks Catholic Church                                    Occoneechee 421                                                2844 Village Dr                                                  Fayetteville, NC 28304‐3813                                                                                   First Class Mail
Chartered Organization         St Patricks Catholic Church                                    North Florida Council 087                                      500 NE 16th Ave                                                  Gainesville, FL 32601‐3773                                                                                    First Class Mail
Chartered Organization         St Patricks Catholic Church                                    Choctaw Area Council 302                                       2601 Davis St                                                    Meridian, MS 39301‐5701                                                                                       First Class Mail
Chartered Organization         St Patricks Catholic Church                                    Overland Trails 322                                            415 N Chestnut St                                                North Platte, NE 69101‐6954                                                                                   First Class Mail
Chartered Organization         St Patricks Catholic Church                                    National Capital Area Council 082                              4101 Norbeck Rd                                                  Rockville, MD 20853‐1870                                                                                      First Class Mail
Chartered Organization         St Patricks Catholic Church                                    National Capital Area Council 082                              4101 Norbeck Rd                                                  Rockville, MD 20853‐1870                                                                                      First Class Mail
Chartered Organization         St Patrick's Catholic Church                                   San Diego Imperial Council 049                                 3821 Adams St                                                    Carlsbad, CA 92008‐3404                                                                                       First Class Mail
Chartered Organization         St Patrick's Catholic Church                                   Mid‐America Council 326                                        215 N 7th St                                                     Missouri Valley, IA 51555‐1825                                                                                First Class Mail
Chartered Organization         St Patrick's Catholic Church                                   Overland Trails 322                                            415 N Chestnut St                                                North Platte, NE 69101‐6954                                                                                   First Class Mail
Chartered Organization         St Patrick's Catholic Church                                   San Diego Imperial Council 049                                 3821 Adams Ave                                                   San Diego, CA 92116‐2227                                                                                      First Class Mail
Chartered Organization         St Patricks Catholic Church Mens Club                          Attn: Scott Thompson                                           9643 Ferndale Rd                                                 Dallas, TX 75238‐2736                                                                                         First Class Mail
Chartered Organization         St Patricks Catholic Mens Club                                 Circle Ten Council 571                                         9642 Ferndale Rd                                                 Dallas, TX 75238‐2737                                                                                         First Class Mail
Chartered Organization         St Patricks Church                                             Northeast Illinois 129                                         15000 W Wadsworth Rd                                             Wadsworth, IL 60083‐9502                                                                                      First Class Mail
Chartered Organization         St Patrick's Church                                            Western Massachusetts Council 234                              15 School St                                                     South Hadley, MA 01075                                                                                        First Class Mail
Chartered Organization         St Patrick's Episcopal                                         North Florida Council 087                                      1221 State Rd 13                                                 Saint Johns, FL 32259‐3184                                                                                    First Class Mail
Chartered Organization         St Patricks Episcopal Church                                   Greater Niagara Frontier Council 380                           1395 George Urban Blvd                                           Cheektowaga, NY 14225‐3807                                                                                    First Class Mail
Chartered Organization         St Patricks Episcopal Church                                   Ventura County Council 057                                     1 Church Rd                                                      Thousand Oaks, CA 91362‐1809                                                                                  First Class Mail
Voting Party                   St Patricks Episcopal Church                                   c/o Diocese of the Central Gulf Coast ‐ the Episcopal Church   Attn: Scott A Remington                                          125 E Intendencia St                Pensacola, FL 32502                sremington@clarkpartington.com         Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St Patricks Episcopal Church                                   Attn: Lynn Ferren                                              P.O. Box 36943                                                   Panama City, FL 32412                                                  llmmff@aol.com                         Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         St Patrick's Episcopal Church                                  National Capital Area Council 082                              4700 Whitehaven Pkwy NW                                          Washington, DC 20007‐1554                                                                                     First Class Mail
Voting Party                   St Patrick's Episcopal Church                                  1322 Church St                                                 Zachary, LA 70791                                                                                                                       beth.kimmell@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St Patrick's Episcopal Church, Ocala                           Attn: Sarah Caprani                                            1017 E Robinson St                                               Orlando, FL 32801                                                      scaprani@cfdiocese.org                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         St Patricks Heatherdowns Catholic Ch                           Erie Shores Council 460                                        4201 Heatherdowns Blvd                                           Toledo, OH 43614‐3019                                                                                         First Class Mail
Chartered Organization         St Patricks Ladies Guild                                       Western Massachusetts Council 234                              30 Main St                                                       South Hadley, MA 01075‐2744                                                                                   First Class Mail
Chartered Organization         St Patricks Parish                                             Greater St Louis Area Council 312                              405 S Church St                                                  Wentzville, MO 63385‐1606                                                                                     First Class Mail
Chartered Organization         St Patrick's Parish                                            Twin Rivers Council 364                                        17 S Park St                                                     Cambridge, NY 12816‐1248                                                                                      First Class Mail
Chartered Organization         St Patrick's Parish                                            Pacific Harbors Council, Bsa 612                               1122 N J St                                                      Tacoma, WA 98403‐2128                                                                                         First Class Mail
Chartered Organization         St Patricks Parish Council‐Catholic                            Blackhawk Area 660                                             3500 Washington St                                               Mchenry, IL 60050‐4457                                                                                        First Class Mail
Chartered Organization         St Patricks R C C                                              Narragansett 546                                               82 High St                                                       Wareham, MA 02571‐2014                                                                                        First Class Mail
Voting Party                   St Patrick's R C Church (Bay Shore, NY)                        c/o Cullen and Dykman LLP                                      Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd          Garden City, NY 11530              mroseman@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         St Patrick's Rc Church Of Bay Shore                            Suffolk County Council Inc 404                                 9 N Clinton Ave                                                  Bay Shore, NY 11706‐7821                                                                                      First Class Mail
Chartered Organization         St Patrick's Rc Church Of Huntington                           Suffolk County Council Inc 404                                 400 W Main St                                                    Huntington, NY 11743‐3208                                                                                     First Class Mail
Chartered Organization         St Patricks Rc Church Of Smithtown                             Suffolk County Council Inc 404                                 280 E Main St                                                    Smithtown, NY 11787‐2920                                                                                      First Class Mail
Chartered Organization         St Patricks Roman Catholic Church                              New Birth of Freedom 544                                       152 E Pomfret St                                                 Carlisle, PA 17013‐3314                                                                                       First Class Mail
Chartered Organization         St Patricks Roman Catholic Church                              Hawk Mountain Council 528                                      319 Mahantongo St                                                Pottsville, PA 17901‐3012                                                                                     First Class Mail
Chartered Organization         St Patricks Roman Catholic Church                              Inland Nwest Council 611                                       505 W Saint Thomas More Way                                      Spokane, WA 99208‐6026                                                                                        First Class Mail
Chartered Organization         St Patricks Roman Catholic Church                              Inland Nwest Council 611                                       5021 N Nelson St                                                 Spokane, WA 99217‐6161                                                                                        First Class Mail
Chartered Organization         St Patricks Roman Catholic Church                              Westchester Putnam 388                                         137 Moseman Rd                                                   Yorktown Heights, NY 10598‐4806                                                                               First Class Mail
Chartered Organization         St Patrick's Roman Catholic Church                             Patriots Path Council 358                                      41 Oliver St                                                     Chatham, NJ 07928‐2373                                                                                        First Class Mail
Chartered Organization         St Patrick's Roman Catholic Church                             Chester County Council 539                                     104 Channing Ave                                                 Malvern, PA 19355                                                                                             First Class Mail
Voting Party                   St Patrick's Roman Catholic Congregation, Inc                  Attn: Matthew W Oakey                                          218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St Patrick's Roman Catholic Congregation, Inc                  c/o Gallagher Evelius & Jones LLP                              Attn: Matthew W Oakey                                            218 N Charles St, Ste 400           Baltimore, MD 21201                moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St Patrick's, Havre De Grace, Roman Catholic Congregation, I   Attn: Matthew W Oakey                                          218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St Patrick's, Little Orleans, Roman Catholic Congregation, I   Attn: Matthew W Oakey                                          218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St Paul                                                        c/o Bradley Arant Boult Cummings, LLP                          Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                           Page 365 of 442
                                                                                  Case 20-10343-LSS                                         Doc 8171                                             Filed 01/06/22                                                       Page 381 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                        Name                                                                                                   Address                                                                                                                  Email                 Method of Service
Voting Party                   St Paul ‐ Jacksonville                                        c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul & St Andrew Episcopal Church                          Attn: Keith Gentry                        512 S Broad St                                                   P.O. Box 248                         Kenbridge, VA 23944                priest@stpaul‐standrew.org            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul African Methodist Episc Ch                            South Texas Council 577                   531 W Warren Ave                                                 Kingsville, TX 78363‐5324                                                                                     First Class Mail
Chartered Organization         St Paul African Methodist Episc Ch                            Middle Tennessee Council 560              3340 W Hamilton Ave                                              Nashville, TN 37218‐2208                                                                                      First Class Mail
Chartered Organization         St Paul Alumni Mentor Assoc                                   Westark Area Council 016                  P.O. Box 334                                                     Elkins, AR 72727‐0334                                                                                         First Class Mail
Chartered Organization         St Paul Ame Church                                            Greater Alabama Council 001               300 4th Ct N                                                     Birmingham, AL 35204‐4414                                                                                     First Class Mail
Chartered Organization         St Paul Ame Church                                            Indian Waters Council 553                 835 Kennerly Rd                                                  Irmo, SC 29063‐8810                                                                                           First Class Mail
Chartered Organization         St Paul American Legion                                       Overland Trails 322                       804 Howard Ave                                                   Saint Paul, NE 68873‐2049                                                                                     First Class Mail
Chartered Organization         St Paul Baptist Church                                        Mecklenburg County Council 415            1401 Allen St                                                    Charlotte, NC 28205‐2832                                                                                      First Class Mail
Chartered Organization         St Paul Baptist Church                                        W D Boyce 138                             114 W Forrest Hill Ave                                           Peoria, IL 61604‐1641                                                                                         First Class Mail
Chartered Organization         St Paul Blvd Fire Assoc                                       Seneca Waterways 397                      433 Cooper Rd                                                    Rochester, NY 14617‐3010                                                                                      First Class Mail
Chartered Organization         St Paul Catholic Church                                       Pathway To Adventure 456                  2127 W 22nd Pl                                                   Chicago, IL 60608‐4003                                                                                        First Class Mail
Chartered Organization         St Paul Catholic Church                                       Greater St Louis Area Council 312         15 Forest Knoll Dr                                               Fenton, MO 63026‐3105                                                                                         First Class Mail
Chartered Organization         St Paul Catholic Church                                       North Florida Council 087                 224 5th St N                                                     Jacksonville Beach, FL 32250‐5527                                                                             First Class Mail
Chartered Organization         St Paul Catholic Church                                       Samoset Council, Bsa 627                  603 4th St                                                       Mosinee, WI 54455‐1638                                                                                        First Class Mail
Chartered Organization         St Paul Catholic Church                                       Heart of America Council 307              21650 W 115th Ter                                                Olathe, KS 66061‐5783                                                                                         First Class Mail
Chartered Organization         St Paul Catholic Church                                       Gulf Coast Council 773                    1700 Conway Dr                                                   Pensacola, FL 32503‐6219                                                                                      First Class Mail
Chartered Organization         St Paul Catholic Church                                       Alamo Area Council 583                    350 Sutton Dr                                                    San Antonio, TX 78228‐3168                                                                                    First Class Mail
Chartered Organization         St Paul Catholic Church                                       Greater Tampa Bay Area 089                12708 N Dale Mabry Hwy                                           Tampa, FL 33618‐2802                                                                                          First Class Mail
Chartered Organization         St Paul Catholic Church                                       Buffalo Trace 156                         814 Jefferson St                                                 Tell City, IN 47586‐1708                                                                                      First Class Mail
Chartered Organization         St Paul Catholic Church                                       Simon Kenton Council 441                  313 N State St                                                   Westerville, OH 43082‐8825                                                                                    First Class Mail
Voting Party                   St Paul Catholic Church Austin TX                             c/o Bsa Coordinator                       Attn: Chancellor                                                 6225 E US 290 Hwy Svrd Eb            Austin, TX 78723                   ron‐walker@austindiocese.org          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul Catholic Church Austin TX                             Attn: Rev Johnson Nellissery              10000 David Moore Dr                                             Austin, TX 78748                                                                                              First Class Mail
Voting Party                   St Paul Catholic Church, Tell City, Inc                       Attn: John S Mercer                       1400 N Meridian St                                               Indianapolis, IN 46202                                                  jsmercer@indylegal.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul Ccw‐St Pauls & Tell City Jaycees                      Buffalo Trace 156                         1111 34th St                                                     Tell City, IN 47586‐2669                                                                                      First Class Mail
Chartered Organization         St Paul Chong Hasang Catholic Church                          Longhorn Council 662                      1000 E Fm 2410 Rd                                                Harker Heights, TX 76548‐6844                                                                                 First Class Mail
Voting Party                   St Paul Chong Hasang Catholic Church                          Attn: Chancellor                          6225 E US 290 Hwy Svrd Eb                                        Austin, TX 78723                                                        ron‐walker@austindiocese.org          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul Chong Hasang Catholic Church                          Attn: Rev Richard O'Rourke                1000 E Fm 2410                                                   Harker Heights, TX 76548                                                                                      First Class Mail
Chartered Organization         St Paul Christian Academy                                     Middle Tennessee Council 560              5033 Hillsboro Pike                                              Nashville, TN 37215‐3700                                                                                      First Class Mail
Chartered Organization         St Paul City School                                           Northern Star Council 250                 643 Virginia St                                                  Saint Paul, MN 55103‐1758                                                                                     First Class Mail
Chartered Organization         St Paul Community Church                                      Pathway To Adventure 456                  18200 Dixie Hwy                                                  Homewood, IL 60430‐2219                                                                                       First Class Mail
Voting Party                   St Paul Cumc                                                  Attn: David Wells                         8221 Miami Rd                                                    Cincinnati, OH 45243                                                    finance@stpaulcumc.org                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul Douglas Missionary Baptist Ch                         Chickasaw Council 558                     1543 Brookins St                                                 Memphis, TN 38108‐1834                                                                                        First Class Mail
Chartered Organization         St Paul Episcopal Church                                      Circle Ten Council 571                    624 Ovilla Rd                                                    Waxahachie, TX 75167‐4801                                                                                     First Class Mail
Chartered Organization         St Paul Evangelical Lutheran Church                           Washington Crossing Council 777           79 One Mile Rd Ext                                               East Windsor, NJ 08520‐2503                                                                                   First Class Mail
Chartered Organization         St Paul Evangelical Lutheran Church                           Greenwich 067                             286 Delavan Ave                                                  Greenwich, CT 06830‐5946                                                                                      First Class Mail
Chartered Organization         St Paul Evangelical Lutheran Church                           Seneca Waterways 397                      158 East Ave                                                     Hilton, NY 14468‐1318                                                                                         First Class Mail
Chartered Organization         St Paul Evangelical Lutheran Church                           Pennsylvania Dutch Council 524            200 W Orange St                                                  Lititz, PA 17543‐1813                                                                                         First Class Mail
Chartered Organization         St Paul Evangelical Lutheran Church                           Northeast Iowa Council 178                401 S Egbert St                                                  Monona, IA 52159‐8232                                                                                         First Class Mail
Chartered Organization         St Paul Evangelical Lutheran Church                           Great Lakes Fsc 272                       201 Elm St                                                       Northville, MI 48167‐1260                                                                                     First Class Mail
Voting Party                   St Paul Evangelical Lutheran Church Of Ft Lauderdale FL Inc   Attn: Steven Larson Jones                 580 Indian Trace                                                 Weston, FL 33326                                                        jane@stpaulweston.org                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul Fire Dept                                             Northern Star Council 250                 645 Randolph Ave                                                 Saint Paul, MN 55102‐3523                                                                                     First Class Mail
Chartered Organization         St Paul Freewill Baptist Church                               Tuscarora Council 424                     14061 Hobbton Hwy                                                Newton Grove, NC 28366                                                                                        First Class Mail
Chartered Organization         St Paul High School                                           Greater Los Angeles Area 033              9635 Greenleaf Ave                                               Santa Fe Springs, CA 90670‐3001                                                                               First Class Mail
Chartered Organization         St Paul Lutheran ‐ Men Of The Church                          Glaciers Edge Council 620                 617 Saint Lawrence Ave                                           Beloit, WI 53511‐5326                                                                                         First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Three Fires Council 127                   37 W Army Trail Blvd                                             Addison, IL 60101‐3501                                                                                        First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Glaciers Edge Council 620                 727 8th St                                                       Baraboo, WI 53913‐1794                                                                                        First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Gulf Stream Council 085                   701 W Palmetto Park Rd                                           Boca Raton, FL 33486‐3561                                                                                     First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Miami Valley Council, Bsa 444             P.O. Box 508                                                     Botkins, OH 45306‐0508                                                                                        First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Pathway To Adventure 456                  5650 N Canfield Ave                                              Chicago, IL 60631‐3318                                                                                        First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Hoosier Trails Council 145 145            6045 E State St                                                  Columbus, IN 47201‐9666                                                                                       First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Simon Kenton Council 441                  55 Pasadena Ave                                                  Columbus, OH 43228‐1138                                                                                       First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Baden‐Powell Council 368                  49 Hamlin St                                                     Cortland, NY 13045‐1706                                                                                       First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Northeast Iowa Council 178                2025 Jackson St                                                  Dubuque, IA 52001‐3520                                                                                        First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Western Massachusetts Council 234         181 Elm St                                                       East Longmeadow, MA 01028‐1265                                                                                First Class Mail
Chartered Organization         St Paul Lutheran Church                                       W D Boyce 138                             326 S Oak St                                                     Forrest, IL 61741‐9677                                                                                        First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Rio Grande Council 775                    602 Morgan Blvd                                                  Harlingen, TX 78550‐5143                                                                                      First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Greater Niagara Frontier Council 380      453 Old Falls Blvd                                               North Tonawanda, NY 14120‐3107                                                                                First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Cascade Pacific Council 492               3880 SE Brooklyn St                                              Portland, OR 97202‐1674                                                                                       First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Pathway To Adventure 456                  5201 Galitz St                                                   Skokie, IL 60077‐2737                                                                                         First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Capitol Area Council 564                  401 W 7th St                                                     Taylor, TX 76574‐2703                                                                                         First Class Mail
Chartered Organization         St Paul Lutheran Church                                       South Florida Council 084                 580 Indian Trce                                                  Weston, FL 33326‐3366                                                                                         First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Northern Star Council 250                 5879 Wyoming Trl                                                 Wyoming, MN 55092‐9318                                                                                        First Class Mail
Chartered Organization         St Paul Lutheran Church                                       Dan Beard Council, Bsa 438                106 Maple St                                                     Wyoming, OH 45215‐4811                                                                                        First Class Mail
Voting Party                   St Paul Lutheran Church                                       Attn: Will Zitterich                      610 15th St                                                      Ames, IA 50010                                                          Wzitterich@mchsi.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul Lutheran Church                                       10700 SW 56th St                          Miami, FL 33165                                                                                                                          stpaullutheranmia@bellsouth.net       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul Lutheran Church                                       Attn: Sandy Catt                          P.O. Box 847                                                     312 1st Ave SW                       Castle Rock, WA 98611              stpaulcr1@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul Lutheran Church                                       Attn: Robert Myallis                      200 W Orange St                                                  Lititz, PA 17543                                                        office@stpaullititz.net               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul Lutheran Church Trenton                               Great Lakes Fsc 272                       2550 Edsel St                                                    Trenton, MI 48183‐2558                                                                                        First Class Mail
Chartered Organization         St Paul Lutheran Church Youth Committee                       Lake Erie Council 440                     2211 Mills St                                                    Sandusky, OH 44870‐7700                                                                                       First Class Mail
Chartered Organization         St Paul Lutheran Mens Club                                    Greater St Louis Area Council 312         6550 Old State Route 21                                          Imperial, MO 63052‐2917                                                                                       First Class Mail
Chartered Organization         St Paul Lutheran Mens Club Of Jackson                         Greater St Louis Area Council 312         223 W Adams St                                                   Jackson, MO 63755‐2017                                                                                        First Class Mail
Chartered Organization         St Paul Mens Club                                             Greater St Louis Area Council 312         15 Forest Knoll Dr                                               Fenton, MO 63026‐3105                                                                                         First Class Mail
Chartered Organization         St Paul Methodist Church                                      Coastal Carolina Council 550              P.O. Box 550                                                     Ridgeland, SC 29936‐2610                                                                                      First Class Mail
Chartered Organization         St Paul Methodist Mens Club                                   Blue Ridge Mtns Council 599               220 W Main St                                                    Christiansburg, VA 24073‐2946                                                                                 First Class Mail
Chartered Organization         St Paul Of The Cross Catholic Church                          Anthony Wayne Area 157                    315 S Line St                                                    Columbia City, IN 46725‐2421                                                                                  First Class Mail
Chartered Organization         St Paul Of The Cross Catholic Church                          Pathway To Adventure 456                  324 S Washington Ave                                             Park Ridge, IL 60068                                                                                          First Class Mail
Chartered Organization         St Paul Of The Cross Catholic Church                          Pathway To Adventure 456                  320 S Washington Ave                                             Park Ridge, IL 60068‐4242                                                                                     First Class Mail
Chartered Organization         St Paul Of The Cross R C Church                               Northern New Jersey Council, Bsa 333      156 Hancock Ave                                                  Jersey City, NJ 07307‐2018                                                                                    First Class Mail
Chartered Organization         St Paul On The Lake                                           Great Lakes Fsc 272                       157 Lake Shore Rd                                                Grosse Pointe Farms, MI 48236‐3760                                                                            First Class Mail
Chartered Organization         St Paul Police Dept                                           Northern Star Council 250                 367 Grove St                                                     Saint Paul, MN 55101‐2416                                                                                     First Class Mail
Chartered Organization         St Paul Presbyterian Church                                   Mid Iowa Council 177                      6426 Merle Hay Rd                                                Johnston, IA 50131‐1229                                                                                       First Class Mail
Chartered Organization         St Paul Roman Catholic Church                                 Minsi Trails Council 502                  920 S 2nd St                                                     Allentown, PA 18103‐3402                                                                                      First Class Mail
Chartered Organization         St Paul Roman Catholic Church                                 Moraine Trails Council 500                128 N Mckean St                                                  Butler, PA 16001‐4938                                                                                         First Class Mail
Chartered Organization         St Paul Roman Catholic Church                                 Dan Beard Council, Bsa 438                7301 Dixie Hwy                                                   Florence, KY 41042‐2126                                                                                       First Class Mail
Chartered Organization         St Paul Rotary Club                                           Overland Trails 322                       505 N St                                                         Saint Paul, NE 68873‐1231                                                                                     First Class Mail
Chartered Organization         St Paul School                                                Illowa Council 133                        322 W Washington St                                              Macomb, IL 61455‐2119                                                                                         First Class Mail
Chartered Organization         St Paul School                                                Washington Crossing Council 777           218 Nassau St                                                    Princeton, NJ 08542‐4604                                                                                      First Class Mail
Chartered Organization         St Paul Schs Grand Lodge Masons Mn                            Northern Star Council 250                 11501 Masonic Home Dr                                            Bloomington, MN 55437‐3661                                                                                    First Class Mail
Chartered Organization         St Paul The Apostle                                           Westchester Putnam 388                    77 Lee Ave                                                       Yonkers, NY 10705‐4731                                                                                        First Class Mail
Chartered Organization         St Paul The Apostle Catholic Church                           Katahdin Area Council 216                 217 York St                                                      Bangor, ME 04401                                                                                              First Class Mail
Chartered Organization         St Paul The Apostle Catholic Church                           California Inland Empire Council 045      14085 Peyton Dr                                                  Chino Hills, CA 91709‐1610                                                                                    First Class Mail
Chartered Organization         St Paul The Apostle Catholic Church                           South Texas Council 577                   2233 Waldron Rd                                                  Corpus Christi, TX 78418‐4634                                                                                 First Class Mail
Chartered Organization         St Paul The Apostle Catholic Church                           Old N State Council 070                   2715 Horse Pen Creek Rd                                          Greensboro, NC 27410‐9403                                                                                     First Class Mail
Chartered Organization         St Paul The Apostle Catholic Church                           South Florida Council 084                 2700 NE 36th St                                                  Lighthouse Point, FL 33064‐8504                                                                               First Class Mail
Chartered Organization         St Paul The Apostle Catholic Church                           Louisiana Purchase Council 213            1879 Leglise St                                                  Mansura, LA 71350                                                                                             First Class Mail
Chartered Organization         St Paul The Apostle Catholic Church                           Circle Ten Council 571                    709 James Dr                                                     Richardson, TX 75080‐6028                                                                                     First Class Mail
Chartered Organization         St Paul The Apostle Catholic Church                           Circle Ten Council 571                    720 S Floyd Rd                                                   Richardson, TX 75080‐7403                                                                                     First Class Mail
Voting Party                   St Paul The Apostle Catholic Church Grand Rapids              c/o Warner Norcross & Judd LLP            Attn: Elisabeth M Von Eitzen                                     150 Ottawa Ave NW, Ste 1500          Grand Rapids, MI 49503             evoneitzen@wnj.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul The Apostle Ch‐Knights Columbus                       Northeast Illinois 129                    6401 Gages Lake Rd                                               Gurnee, IL 60031‐4752                                                                                         First Class Mail
Chartered Organization         St Paul The Apostle Church                                    Illowa Council 133                        916 E Rusholme St                                                Davenport, IA 52803‐2548                                                                                      First Class Mail
Chartered Organization         St Paul The Apostle Church                                    Middle Tennessee Council 560              103 Lemont Ln                                                    Tullahoma, TN 37388‐4623                                                                                      First Class Mail
Voting Party                   St Paul The Apostle Church School                             c/o Archdiocese of Los Angeles            Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                   Los Angeles, CA 90010              legal@la‐archdiocese.org              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul The Apostle Church/School                             W.L.A.C.C. 051                            1536 Selby Ave                                                   Los Angeles, CA 90024‐5714                                                                                    First Class Mail
Voting Party                   St Paul The Apostle Church/School                             c/o Archdiocese of Los Angeles            Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                   Los Angeles, CA 90010              legal@la‐archdiocese.org              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul The Apostle Orthodox Church                           Las Vegas Area Council 328                5400 Annie Oakley Dr                                             Las Vegas, NV 89120‐2024                                                                                      First Class Mail
Chartered Organization         St Paul The Apostle Roman Catholic                            Westchester Putnam 388                    602 Mclean Ave                                                   Yonkers, NY 10705‐4766                                                                                        First Class Mail
Voting Party                   St Paul The Apostle Roman Catholic Congregation Inc           Attn: Matthew W Oakey                     218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                     moakey@gejlaw.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul Ucc & Wapakoneta Noon Optimist                        Black Swamp Area Council 449              P.O. Box 147                                                     Wapakoneta, OH 45895‐0147                                                                                     First Class Mail
Voting Party                   St Paul Umc                                                   Attn: Rev Dr P Shane Green 210            2101 Wildwood Ave                                                Columbus, GA 31906                                                      shane@stpaulunitedmethodist.com       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul Umc                                                   Attn: Marilyn Houser                      301 E Main St                                                    New Paris, OH 45347                                                     maemae4773@hotmail.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul Umc                                                   c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    ERICE@BRADLEY.COM                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul Umc                                                   Attn: Treasurer                           2700 N Roxboro St                                                Durham, NC 27704                                                        CMURSTEN@NCCUMC.ORG                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul Umc ‐ Marietta                                        c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul Umc ‐ Marietta                                        244 Kurtz Rd                              Marrietta, GA 30066                                                                                                                                                            First Class Mail
Voting Party                   St Paul Umc 220                                               c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul Umc‐Hurst TX                                          c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul Umc‐Hurst TX                                          852 W Bedford Euless Rd                   Hurst, TX                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul Un Methodist Ch & Mens Brthrhood                      c/o Todd Pliner                           341 Wilson Ave                                                   Green Bay, WI 54303‐3016                                                                                      First Class Mail
Voting Party                   St Paul United Methodist Church                               Attn: Bill Cummings                       2949 Davies Plantation Rd                                        Lakeland, TN 38002                                                      terrybill@comecast.net                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul United Methodist Church                               Attn: Treasurer/Secretary And/Or Pastor   4317 W Interstate 40                                             Amarillo, TX 79106                                                      rmedearis@lubbocklawfirm.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul United Methodist Church                               c/o Field, Manning, Stone, Hawthor        Attn: Robert A. (Andy) Aycock                                    2112 Indiana Ave                     Lubbock                            rmedearis@lubbocklawfirm.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul United Methodist Church                               Attn: Ken Graetz                          341 Wilson Ave                                                   Green Bay, WI 54303                                                     office@stpaulsumcgb.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul United Methodist Church                               P.O. Box 909                              Ocean Springs, MS 39566                                                                                                                  e79r84h51@cabieone.net                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul United Methodist Church                               Attn: Rev Debra San Pablo                 173‐01 108th Ave                                                 Jamaica, NY 11433                                                       debra.williams@nyac‐umc.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul United Methodist Church                               Attn: Rodney Shamery                      P.O. Box 1009                                                    Tuscaloosa, AL 35401                                                    churchadmin@stpaulumctuscaloosa.org   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul United Methodist Church                               Attn: Don Alford                          P.O. Box 241                                                     Thayer, MO 65791                                                        alfarm@centurylink.net                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul United Methodist Church ‐ Kingstree, LLC              Attn: Rev Jerry L Gadsden                 3733 Thurgood Marshall Hwy                                       Kingstree, SC 29556                                                     jlgadsden@umcsc.org                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul United Methodist Church Of Florence                   Attn: Scott Bratton                       1629 W Palmetto St                                               Florence, SC 29501                                                      proudgrand.pastorscott@gmail.com      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul United Methodist Church Of Largo                      c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200             Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul United Methodist Triana                               Attn: Tiwirai Kufarimai                   134 9th St                                                       Madison, AL 35756                                                       trianaumc@gmai.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul Utd Ch Christ (St Clair)                              Greater St Louis Area Council 312         123 E Dee St                                                     Lebanon, IL 62254‐1622                                                                                        First Class Mail
Chartered Organization         St Paul Utd Church Of Christ                                  Dan Beard Council, Bsa 438                6997 Hamilton Ave                                                Cincinnati, OH 45231‐5238                                                                                     First Class Mail
Chartered Organization         St Paul Utd Church Of Christ                                  Dan Beard Council, Bsa 438                5312 Old Blue Rock Rd                                            Cincinnati, OH 45247‐2718                                                                                     First Class Mail
Chartered Organization         St Paul Utd Church Of Christ                                  Black Swamp Area Council 449              119 N Franklin St                                                New Bremen, OH 45869‐1314                                                                                     First Class Mail
Chartered Organization         St Paul Utd Church Of Christ                                  Greater St Louis Area Council 312         903 Meier Rd                                                     Old Monroe, MO 63369‐2408                                                                                     First Class Mail
Chartered Organization         St Paul Utd Church Of Christ                                  Pathway To Adventure 456                  144 E Palatine Rd                                                Palatine, IL 60067‐5110                                                                                       First Class Mail
Chartered Organization         St Paul Utd Church Of Christ                                  Greater St Louis Area Council 312         200 N Main St                                                    Waterloo, IL 62298‐1248                                                                                       First Class Mail
Chartered Organization         St Paul Utd Methodist Ch                                      Chattahoochee Council 091                 P.O. Box 5116                                                    Columbus, GA 31906‐0116                                                                                       First Class Mail
Chartered Organization         St Paul Utd Methodist Ch Little Rock                          Quapaw Area Council 018                   2223 Durwood Rd                                                  Little Rock, AR 72207‐3428                                                                                    First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Texas Trails Council 561                  525 Beech St                                                     Abilene, TX 79601‐4919                                                                                        First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Atlanta Area Council 092                  501 Grant St Se                                                  Atlanta, GA 30312‐3115                                                                                        First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Pine Burr Area Council 304                696 Martin Luther King Blvd                                      Biloxi, MS 39530                                                                                              First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Hoosier Trails Council 145 145            4201 W 3rd St                                                    Bloomington, IN 47404‐4880                                                                                    First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Three Rivers Council 578                  1155 W Round Bunch Rd                                            Bridge City, TX 77611‐2360                                                                                    First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Chattahoochee Council 091                 P.O. Box 5116                                                    Columbus, GA 31906‐0116                                                                                       First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Greater St Louis Area Council 312         10 N Center St                                                   East Alton, IL 62024‐1708                                                                                     First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Pee Dee Area Council 552                  1629 W Palmetto St                                               Florence, SC 29501‐4133                                                                                       First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Longhorn Council 662                      852 W Bedford Euless Rd                                          Hurst, TX 76053‐3859                                                                                          First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  North Florida Council 087                 8264 Lone Star Rd                                                Jacksonville, FL 32211‐5162                                                                                   First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  National Capital Area Council 082         11000 Hg Trueman Rd                                              Lusby, MD 20657‐2848                                                                                          First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Buffalo Trail Council 567                 4501 Thomason Dr                                                 Midland, TX 79703‐6946                                                                                        First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Blue Ridge Council 551                    P.O. Box 66                                                      Ninety Six, SC 29666‐0066                                                                                     First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Palmetto Council 549                      1320 Fernwood‐Glen‐Dale Rd                                                                                                                                                     First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Cape Fear Council 425                     P.O. Box 622                                                     Tabor City, NC 28463‐0622                                                                                     First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  Quivira Council, Bsa 198                  1356 N Broadway Ave                                              Wichita, KS 67214‐2829                                                                                        First Class Mail
Chartered Organization         St Paul Utd Methodist Church                                  National Capital Area Council 082         1400 G St                                                        Woodbridge, VA 22191‐1605                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 366 of 442
                                                                                    Case 20-10343-LSS                                                          Doc 8171                                  Filed 01/06/22                                                        Page 382 of 457
                                                                                                                                                                                            Exhibit B
                                                                                                                                                                                             Service List
                                                                                                                                                                                      Served as set forth below

        Description                                                          Name                                                                                                         Address                                                                                                                 Email                       Method of Service
Chartered Organization         St Paul Utd Methodist Men                                     Blue Ridge Mtns Council 599                                 220 W Main St                                          Christiansburg, VA 24073‐2946                                                                                      First Class Mail
Voting Party                   St Paul Willingboro                                           c/o Bradley Arant Boult Cummings, LLP                       Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                       erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         St Paul`s Episcopal Church                                    Greater Niagara Frontier Council 380                        4275 Harris Hill Rd                                    Buffalo, NY 14221‐7437                                                                                             First Class Mail
Voting Party                   St Paul‐Calvary Umc (0893)                                    c/o Bentz Law Firm                                          Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200         Pittsburgh, PA 15228                  lspagnolo@bentzlaw.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         St Pauls Catholic Church                                      Capitol Area Council 564                                    10000 David Moore Dr                                   Austin, TX 78748‐1421                                                                                              First Class Mail
Chartered Organization         St Pauls Catholic Church                                      Greater New York Councils, Bsa 640                          234 Congress St                                        Brooklyn, NY 11201‐6416                                                                                            First Class Mail
Chartered Organization         St Pauls Catholic Church                                      Narragansett 546                                            116 Danielson Pike                                     Foster, RI 02825‐1468                                                                                              First Class Mail
Chartered Organization         St Pauls Catholic Church                                      Potawatomi Area Council 651                                 P.O. Box 95                                            Genesee Depot, WI 53127‐0095                                                                                       First Class Mail
Chartered Organization         St Pauls Catholic Church                                      Ore‐Ida Council 106 ‐ Bsa 106                               1515 8th St S                                          Nampa, ID 83651‐4703                                                                                               First Class Mail
Chartered Organization         St Pauls Catholic Church                                      Twin Valley Council Bsa 283                                 P.O. Box 428                                           Nicollet, MN 56074‐0428                                                                                            First Class Mail
Chartered Organization         St Pauls Catholic Church                                      Buckeye Council 436                                         241 S Main St                                          North Canton, OH 44720‐3023                                                                                        First Class Mail
Chartered Organization         St Pauls Catholic Church                                      Potawatomi Area Council 651                                 S38W31602 Wern Way                                     Waukesha, WI 53189                                                                                                 First Class Mail
Chartered Organization         St Paul's Catholic Church                                     Great Trail 433                                             1580 Brown St                                          Akron, OH 44301‐2757                                                                                               First Class Mail
Chartered Organization         St Paul's Catholic Church                                     Greater New York Councils, Bsa 640                          234 Congress St                                        Brooklyn, NY 11201‐6416                                                                                            First Class Mail
Chartered Organization         St Paul's Catholic Church                                     President Gerald R Ford 781                                 20811 Washington Ave                                   Onaway, MI 49765‐8635                                                                                              First Class Mail
Chartered Organization         St Paul's Catholic Church                                     Greater Tampa Bay Area 089                                  1800 12th St N                                         St Petersburg, FL 33704‐4042                                                                                       First Class Mail
Chartered Organization         St Pauls Catholic School Rcc                                  Narragansett 546                                            1789 Broad St                                          Cranston, RI 02905‐3533                                                                                            First Class Mail
Chartered Organization         St Pauls Chapel Church Utd Methodist                          New Birth of Freedom 544                                    3050 Cape Horn Rd                                      Red Lion, PA 17356‐9068                                                                                            First Class Mail
Chartered Organization         St Paul's Chapel Church Utd Methodist                         New Birth of Freedom 544                                    3050 Cape Horn Rd                                      Troop 155                                                                                                          First Class Mail
Chartered Organization         St Paul's Chapel Episcopal Church                             Mobile Area Council‐Bsa 004                                 P.O. Box 2                                             Magnolia Springs, AL 36555‐0002                                                                                    First Class Mail
Chartered Organization         St Pauls Christian Church                                     Occoneechee 421                                             3331 Blue Ridge Rd                                     Raleigh, NC 27612‐8012                                                                                             First Class Mail
Chartered Organization         St Paul's Christian Women                                     Central Minnesota 296                                       1125 11th Ave N                                        Saint Cloud, MN 56303‐2822                                                                                         First Class Mail
Chartered Organization         St Paul's Church                                              Coastal Carolina Council 550                                111 Waring St                                          Summerville, SC 29483‐4350                                                                                         First Class Mail
Voting Party                   St Paul's Church In The City Of Albany                        21 Hackett Blvd                                             Albany, NY 12208                                                                                                                jcondo604@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Church, Bantam, Connecticut                         St Pauls Church                                             802 Bantam Rd                                          P.O. Box 449                       Bantam, CT 06750                      officestpauls@optonline.net               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         St Pauls E L C A                                              Winnebago Council, Bsa 173                                  301 1st St Nw                                          Waverly, IA 50677‐2611                                                                                             First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     South Georgia Council 098                                   212 N Jefferson St                                     Albany, GA 31701‐2523                                                                                              First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Connecticut Yankee Council Bsa 072                          174 Whisconier Rd                                      Brookfield, CT 06804‐3307                                                                                          First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Greater New York Councils, Bsa 640                          157 Saint Pauls Pl                                     Brooklyn, NY 11226‐2708                                                                                            First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Crossroads of America 160                                   6050 N Meridian St                                     Indianapolis, IN 46208‐1549                                                                                        First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Blue Mountain Council 604                                   1609 W 10th Ave                                        Kennewick, WA 99336‐5200                                                                                           First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Baden‐Powell Council 368                                    276 Church St                                          Montrose, PA 18801‐1271                                                                                            First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Middle Tennessee Council 560                                116 N Academy St                                       Murfreesboro, TN 37130‐3717                                                                                        First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Miami Valley Council, Bsa 444                               33 W Dixon Ave                                         Oakwood, OH 45419‐3431                                                                                             First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Miami Valley Council, Bsa 444                               33 W Dixon Ave                                         Oakwood, OH 45419‐3431                                                                                             First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Baden‐Powell Council 368                                    117 Main St                                            Owego, NY 13827‐1587                                                                                               First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Capitol Area Council 564                                    511 E Pflugerville Pkwy                                Pflugerville, TX 78660‐1904                                                                                        First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Laurel Highlands Council 527                                1066 Washington Rd                                     Pittsburgh, PA 15228‐2061                                                                                          First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     National Capital Area Council 082                           25 Church St                                           Prince Frederick, MD 20678‐4116                                                                                    First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Cascade Pacific Council 492                                 1444 Liberty St Se                                     Salem, OR 97302‐4344                                                                                               First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Mason Dixon Council 221                                     209 W Main St                                          Sharpsburg, MD 21782‐1743                                                                                          First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Norwela Council 215                                         275 Southfield Rd                                      Shreveport, LA 71105‐3608                                                                                          First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Connecticut Yankee Council Bsa 072                          145 Main St                                            Southington, CT 06489‐2505                                                                                         First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Ventura County Council 057                                  3290 Loma Vista Rd                                     Ventura, CA 93003‐3002                                                                                             First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Blue Mountain Council 604                                   323 Catherine St                                       Walla Walla, WA 99362‐3021                                                                                         First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Seneca Waterways 397                                        101 E Williams St                                      Waterloo, NY 13165‐1458                                                                                            First Class Mail
Chartered Organization         St Pauls Episcopal Church                                     Connecticut Rivers Council, Bsa 066                         294 Main St S                                          Woodbury, CT 06798‐3409                                                                                            First Class Mail
Voting Party                   St Pauls Episcopal Church                                     31 Rider Ave                                                Patchogue, NY 11772                                                                                                             stpaulspatchogue@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Pauls Episcopal Church                                     c/o Diocese of the Central Gulf Coast ‐ the Episcopal Church Attn: Scott A Remington                               125 E Intendencia St               Pensacola, FL 32502                   sremington@clarkpartington.com            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Pauls Episcopal Church                                     Attn: Pam O'Halloran                                        40 Haskel Dr                                           Cleveland Heights, OH 44108                                              pohalloran@stpauls‐church.org             Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Pauls Episcopal Church                                     Attn: Rev Eric Zubler                                       P.O. Box 22                                            Magnolia Springs, AL 36555                                               eric_zubler@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Pauls Episcopal Church                                     Attn: The Rev Elizabeth Frank, Interim Rector               317 E Liberty St                                       Medina, OH 44256                                                         coffice@stpauls‐medina.org                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         St Paul's Episcopal Church                                    Great Trail 433                                             1361 W Market St                                       Akron, OH 44313‐7123                                                                                               First Class Mail
Chartered Organization         St Paul's Episcopal Church                                    Quapaw Area Council 018                                     623 Water St                                           Batesville, AR 72501‐4624                                                                                          First Class Mail
Chartered Organization         St Paul's Episcopal Church                                    Lake Erie Council 440                                       2747 Fairmount Blvd                                    Cleveland Heights, OH 44106‐3606                                                                                   First Class Mail
Chartered Organization         St Paul's Episcopal Church                                    Northern Lights Council 429                                 319 S 5th St                                           Grand Forks, ND 58201‐4607                                                                                         First Class Mail
Chartered Organization         St Paul's Episcopal Church                                    Lasalle Council 165                                         1001 Michigan Ave                                      La Porte, IN 46350‐3506                                                                                            First Class Mail
Chartered Organization         St Paul's Episcopal Church                                    Patriots Path Council 358                                   29 Hillview Ave                                        Morris Plains, NJ 07950‐2114                                                                                       First Class Mail
Chartered Organization         St Paul's Episcopal Church                                    Longhorn Council 662                                        517 Columbus Ave                                       Waco, TX 76701‐1323                                                                                                First Class Mail
Voting Party                   St Paul's Episcopal Church                                    P.O. Box 28                                                 Pflugerville, TX 78691                                                                                                          treasurer@stpaulspflugerville.org         Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Thomas P Mcdowell                                     520 Summit St                                          Winston Salem, NC 27101                                                  tmcdowell@stpauls‐ws.org                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Charles Maynard                                       65 N Main St                                           Wallingford, CT 06492                                                    stpaulswallingford@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Charles Maynard                                       65 N Main St                                           Walingford, CT 06492                                                     stpaulswallingford@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Jill Beimdierk                                        218 S 2nd St                                           Smithfield, NC 27577                                                     stpaulsnc@nc.rr.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Christopher Weis                                      1307 W 5th St                                          Freeport, TX 77541                                                       stpaulsfreeport@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Rev Robert Courtney                                   6249 Canal Blvd                                        New Orleans, LA 70124                                                    rcourtney@stpauls‐lakeview.org            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Vicki Zust                                            4275 Harris Hill Rd                                    Williamsville, NY 14221                                                  paulrector@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    1626 Taft St                                                Brownsville, TX 78521                                                                                                           pastor@sanpablobr.org                     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Justin Matthew Mcintosh                               P.O. Box 37                                            Ivy, VA 22945                                                            office@stpaulsivy.org                     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Margaret D'Anieri                                     87 W Main St                                           Norwalk, OH 44857                                                        office@stpaulnorwalk.org                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    87 W Main St                                                Norwalk, OH 44857                                                                                                               office@stpaulnorwalk.org                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    c/o Wright, Lindsey & Jennings LLP                          Attn: John R Tisdale                                   200 W Capitol Ave, Ste 2300        Little Rock, AR 72201                 jtisdale@wlj.com                          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Richard L Hamlin                                      6258 County Rd, 31A                                    Friendship, NY 14739                                                     hamlinhill@verizon.net                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Rev Elizabeth Frank, Interim Rector                   317 E Liberty St                                       Medina, OH 44256                                                         coffice@stpauls‐medina.org                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Curtis Farr                                           661 Old Post Rd                                        Fairfield, CT 06824                                                      cfarr@stpaulsfairfield.org                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Richard L Hamlin                                      P.O. Box 442                                           Angelica, NY 14709                                                       angelica.ink@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Linda Cook                                            1018 E Grayson St                                      San Antonio, TX 78208                                                    admin@stpauls‐satx.org                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church                                    Attn: Connor Newlun                                         18383 Graasyview Pl                                    Round Hill, VA 20141                                                                                               First Class Mail
Voting Party                   St Paul's Episcopal Church                                    John R Tisdale                                              P.O. Box 2255                                          Batesville, AR 72503                                                                                               First Class Mail
Voting Party                   St Paul's Episcopal Church ‐ Mt Lebanon                       Attn: The Rev Canon Kimberly Karashin                       325 Oliver Ave, Ste 300                                Pittsburgh, PA 15222                                                                                               First Class Mail
Voting Party                   St Paul's Episcopal Church ‐ Mt Lebanon                       Attn: Suzanne L Dewalt                                      535 Smithfield St, Ste 300                             Pittsburgh, PA 15222                                                                                               First Class Mail
Voting Party                   St Paul's Episcopal Church ‐ Pv NY                            Attn: Marilyn Kirchner, Treasurer                           P.O. Box 1449                                          808 Traver Rd                      Pleasant Valley, NY 12569             stpaulspv@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church ‐ Vernal, UT                       Attn: Stephen F Hutchinson                                  75 S 20 E                                              Salt Lake City, UT 84111                                                 shutchinson@episcopal‐ut.org              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church ‐ Vernal, Utah                     c/o Episcopal Diocese of Utah                               Attn: Chancellor                                       75 S 200 E                         Salt Lake City, UT 84111              shutchinson@episcopal‐ut.org              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church (Wells)                            c/o The Tamposi Law Group, PC                               Attn: Peter N Tamposi                                  159 Main St                        Nashua, NH 03060                      peter@thetamposilawgroup.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church Athens Tennessee                   George Henry Krauss, Jr                                     123 S Jackson St                                       P.O. Box 326                       Athens, TN 37371‐0326                 geokrauss@yahoo.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church Athens Tennessee                   Attn: George R Arrants, Esq                                 814 Episcopal School Way                               Knoxville, TN 37932                                                      geokrauss@yahoo.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         St Paul's Episcopal Church Elko                               Nevada Area Council 329                                     777 Sage St                                            Elko, NV 89801‐3318                                                                                                First Class Mail
Voting Party                   St Paul's Episcopal Church Franklin TN                        Attn: The Rev W R Mccrown                                   510 W Main St                                          Franklin, TN 37064                                                       rusty@stpaulsfranklin.com                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church In Walnut Creek, California        Attn: The Rev Krista Fregoso                                1924 Trinity Ave                                       Walnut Creek, CA 94596                                                   kfregoso@stpaulswc.org                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         St Pauls Episcopal Church Mens' Club                          Connecticut Yankee Council Bsa 072                          174 Whisconier Rd                                      Brookfield, CT 06804‐3307                                                                                          First Class Mail
Chartered Organization         St Paul's Episcopal Church Men'S Club                         Voyageurs Area 286                                          1710 E Superior St                                     Duluth, MN 55812‐2045                                                                                              First Class Mail
Voting Party                   St Paul's Episcopal Church Of Akron, Ohio                     Attn: Rev Mark J Pruitt                                     1361 W Market St                                       Akron, OH 44313                                                          mpruitt@stpaulsakron.org                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church Of Akron, Ohio                     Attn: Rev. Mark J Pruitt                                    1361 W Market St                                       Akron, OH 44313                                                          mpruitt@stpaulsakron.org                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church Of Maumee, Ohio                    Attn: Reverend J Paul Board, Rector                         310 Elizabeth St                                       Maumee, OH 43527                                                         paul@stpaulsmaumee.org                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Pauls Episcopal Church Of Murfreesboro Tennessee Inc       Attn: Rev Dr Kristine Blaess                                116 N Academy St                                       Murfreesboro, TN 37130                                                   kristine.blaess@stpaulsmurfreesboro.org   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church Of Naples, Inc.                    Attn: Thomas Andrew Thoeni                                  3901 Davis Blvd                                        Naples, FL 34104                                                         welcome@saintpaulsnaples.org              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church Prince Frederick, MD               25 Church St                                                Prince Frederick, MD 20678                                                                                                      dsbowen@earthlink.net                     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Pauls Episcopal Church Rochester NY                        Attn: Rev Robert Picken                                     25 Westminster Rd                                      Rochester, NY 14607                                                      Rick@richardjharrison.com                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church Sharpsburg, MD                     Attn: Connor Newlun                                         P.O. Box 364                                           Sharpsburg, MD 21782                                                     cjnewlun@gmail.com                        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Pauls Episcopal Church, A Utah Nonprofit Corporation       Attn: Stephen F Hutchinson                                  75 S 200 E                                             Salt Lake City, UT 84111                                                 shutchinson@episcopal‐ut.org              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church, Bound Brook, NJ                   Attn: Irene Parker                                          214 Church St                                          Bound Brook, NJ 08805                                                    stpaulscc6@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church, Brunswick                         c/o The Episcopal Diocese of Maine / Martin                 P.O. Box 4036                                          Portland, ME 04101                                                       bmartin@episcopalmaine.org                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church, Fort Fairfield                    c/o The Episcopal Diocese of Maine / Martin                 P.O. Box 4036                                          Portland, ME 04101                                                       bmartin@episcopalmaine.org                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church, Monroe NC                         Attn: Charlotte Jenkins                                     P.O. Box 293                                           Monroe, NC 28111                                                         cgj711@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church, Suffolk, VA                       Attn: Keith Emerson                                         213 N Main St                                          Suffolk, VA 23434                                                        keith@saintpauls‐suffolk.org              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Episcopal Church/Daphne                             Attn: William H Harrison III                                28788 N Main St                                        Daphne, AL 36526                                                         officestpaulsdaphne@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         St Pauls Episcopal School                                     Mobile Area Council‐Bsa 004                                 161 Dogwood Ln                                         Mobile, AL 36608‐1301                                                                                              First Class Mail
Chartered Organization         St Paul'S Ev Lutheran Church                                  Bay‐Lakes Council 635                                       730 County Rd Pp                                       Sheboygan Falls, WI 53085                                                                                          First Class Mail
Chartered Organization         St Paul's Ev Lutheran Church                                  c/o Rev Mark Janzen                                         730 County Rd Ppp                                      Sheboygan Falls, WI 53085‐1864                                                                                     First Class Mail
Voting Party                   St Paul's Evangelical Church Of Tracy, California And Bella   Attn: Kal Waetzig                                           1635 Chester Dr                                        Tracy, CA 95376                                                                                                    First Class Mail
Chartered Organization         St Pauls Evangelical Covenant Church                          Pathway To Adventure 456                                    3342 Calwagner St                                      Franklin Park, IL 60131‐2127                                                                                       First Class Mail
Chartered Organization         St Pauls Evangelical Lutheran Church                          Greater New York Councils, Bsa 640                          2801 W 8th St                                          Brooklyn, NY 11224‐3603                                                                                            First Class Mail
Chartered Organization         St Pauls Evangelical Lutheran Church                          Cradle of Liberty Council 525                               Easton Rd & Mt Carmel                                  Glenside, PA 19038                                                                                                 First Class Mail
Chartered Organization         St Pauls Evangelical Lutheran Church                          New Birth of Freedom 544                                    530 Bridge St                                          New Cumberland, PA 17070‐1957                                                                                      First Class Mail
Chartered Organization         St Pauls Evangelical Lutheran Church                          Black Swamp Area Council 449                                601 Flat Rock Dr                                       Paulding, OH 45879‐9241                                                                                            First Class Mail
Chartered Organization         St Pauls Evangelical Lutheran Church                          Cradle of Liberty Council 525                               5900 N 5th St                                          Philadelphia, PA 19120‐1824                                                                                        First Class Mail
Chartered Organization         St Pauls Evangelical Lutheran Church                          W D Boyce 138                                               509 E Broadway St                                      Streator, IL 61364‐2304                                                                                            First Class Mail
Chartered Organization         St Paul's Evangelical Lutheran Church                         New Birth of Freedom 544                                    25 W Franklin St                                       Biglerville, PA 17307‐9823                                                                                         First Class Mail
Chartered Organization         St Paul's Evangelical Lutheran Church                         Greater New York Councils, Bsa 640                          2801 W 8th St                                          Brooklyn, NY 11224‐3603                                                                                            First Class Mail
Chartered Organization         St Paul's Evangelical Lutheran Church                         Buckeye Council 436                                         2307 State Route 602                                   North Robinson, OH 44827‐9711                                                                                      First Class Mail
Chartered Organization         St Paul's Evangelical Lutheran Church                         Leatherstocking 400                                         P.O. Box 491                                           Richmondville, NY 12149‐0491                                                                                       First Class Mail
Chartered Organization         St Paul's Evangelical Lutheran Church                         New Birth of Freedom 544                                    201 S Main St                                          Spring Grove, PA 17362‐1046                                                                                        First Class Mail
Voting Party                   St Paul's Evangelical Lutheran Church                         Attn: Rev Adam C Wiegand, Pastor                            149 Lake Ave                                           Saratoga Springs, NY 12866                                               pastoradam@spalutheran.org                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   St Paul's Evangelical Lutheran Church Of Beachwood, NJ        Attn: Clifford P Yannone                                    2 Hooper Ave                                           Toms River, NJ 08753                                                     cyannone@starkeykelly.com                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         St Pauls Greek Orthodox Church                                Theodore Roosevelt Council 386                              110 Cathedral Ave                                      Hempstead, NY 11550‐2050                                                                                           First Class Mail
Voting Party                   St Pauls Greek Orthodox Church                                4949 Alton Pkwy                                             Irvine, CA 92604                                                                                                                                                          First Class Mail
Chartered Organization         St Paul's Lutheran                                            Longswamp United Church of Christ                           50 Luther Dr                                           Mertztown, PA 19539                                                                                                First Class Mail
Chartered Organization         St Paul's Lutheran                                            Greater St Louis Area Council 312                           12345 Manchester Rd                                    Saint Louis, MO 63131‐4316                                                                                         First Class Mail
Chartered Organization         St Paul's Lutheran Blue Church                                Minsi Trails Council 502                                    5900 Applebutter Hill Rd                               Coopersburg, PA 18036‐9502                                                                                         First Class Mail
Chartered Organization         St Paul's Lutheran Chruch                                     Colonial Virginia Council 595                               807 W Mercury Blvd                                     Hampton, VA 23666‐4320                                                                                             First Class Mail
Chartered Organization         St Pauls Lutheran Church                                      Pennsylvania Dutch Council 524                              P.O. Box 385                                           Adamstown, PA 19501‐0385                                                                                           First Class Mail
Chartered Organization         St Pauls Lutheran Church                                      Mid Iowa Council 177                                        335 N 8th St                                           Albia, IA 52531‐1328                                                                                               First Class Mail
Chartered Organization         St Pauls Lutheran Church                                      President Gerald R Ford 781                                 727 S 2nd Ave                                          Alpena, MI 49707‐3852                                                                                              First Class Mail
Chartered Organization         St Pauls Lutheran Church                                      Jersey Shore Council 341                                    130 Cable Ave                                          Beachwood, NJ 08722‐4040                                                                                           First Class Mail
Chartered Organization         St Pauls Lutheran Church                                      Erie Shores Council 460                                     17050 Middleton Pike                                   Bowling Green, OH 43402‐9443                                                                                       First Class Mail
Chartered Organization         St Pauls Lutheran Church                                      Nevada Area Council 329                                     1201 N Saliman Rd                                      Carson City, NV 89701‐3240                                                                                         First Class Mail
Chartered Organization         St Pauls Lutheran Church                                      Piedmont Council 420                                        531 Hardin Rd                                          Dallas, NC 28034‐7504                                                                                              First Class Mail
Chartered Organization         St Pauls Lutheran Church                                      Chester County Council 539                                  104 S Village Ave                                      Exton, PA 19341‐1215                                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                             Page 367 of 442
                                                                                   Case 20-10343-LSS                                                         Doc 8171                                  Filed 01/06/22                                                      Page 383 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                         Name                                                                                                        Address                                                                                                                Email                             Method of Service
Chartered Organization         St Pauls Lutheran Church                                            Overland Trails 322                                 1515 S Harrison St                                     Grand Island, NE 68803‐6358                                                                                             First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Overland Trails 322                                 1515 S Harrison St                                     Grand Island, NE 68803‐6358                                                                                             First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Garden State Council 690                            910 Marne Hwy                                          Hainesport, NJ 08036‐2666                                                                                               First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Southern Shores Fsc 783                             7701 M‐36                                              Hamburg, MI 48139                                                                                                       First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Winnebago Council, Bsa 173                          P.O. Box 433                                           Hampton, IA 50441‐0433                                                                                                  First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Northern Star Council 250                           P.O. Box 8                                             Hanover, MN 55341‐0008                                                                                                  First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Northeastern Pennsylvania Council 501               405 Church St                                          Hawley, PA 18428‐1315                                                                                                   First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Greater Yosemite Council 059                        701 S Pleasant Ave                                     Lodi, CA 95240‐4733                                                                                                     First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Buckeye Council 436                                 127 Cherry Rd NE                                       Massillon, OH 44646‐5537                                                                                                First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Samoset Council, Bsa 627                            321 N Park Ave                                         Medford, WI 54451‐1420                                                                                                  First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Del Mar Va 081                                      701 S College Ave                                      Newark, DE 19713‐1304                                                                                                   First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Piedmont Council 420                                3761 Startown Rd                                       Newton, NC 28658‐9257                                                                                                   First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Piedmont Council 420                                3761 Startown Rd                                       Newton, NC 28658‐9257                                                                                                   First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Cornhusker Council 324, 20th & Towle                Falls City, NE 68355                                                                                                                                                           First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Orange County Council 039                           901 E Heim Ave                                         Orange, CA 92865‐2817                                                                                                   First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Crossroads of America 160                           121 S 18th St                                          Richmond, IN 47374‐5656                                                                                                 First Class Mail
Chartered Organization         St Pauls Lutheran Church                                            Minsi Trails Council 502                            418 Berwick St                                         White Haven, PA 18661‐1305                                                                                              First Class Mail
Voting Party                   St Pauls Lutheran Church                                            Attn: Kalvin Waetzig                                1635 Chester Dr                                        Tracy, CA 95376                                                        kwaetzig@stpaulstracy.org                        Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Pauls Lutheran Church                                            Kalvin L Waetzig                                    1635 Chester Dr                                        Tracy, CA 95376                                                        kwaetzig@stpaulstracy.org                        Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul's Lutheran Church                                           French Creek Council 532                            201 E South St                                         Corry, PA 16407‐1916                                                                                                    First Class Mail
Chartered Organization         St Paul's Lutheran Church                                           Occoneechee 421                                     1200 W Cornwallis Rd                                   Durham, NC 27705‐5731                                                                                                   First Class Mail
Chartered Organization         St Paul's Lutheran Church                                           Suffolk County Council Inc 404                      120 Vernon Valley Rd                                   East Northport, NY 11731‐1410                                                                                           First Class Mail
Chartered Organization         St Paul's Lutheran Church                                           Minsi Trails Council 502                            139 Craigs Meadow Rd                                   East Stroudsburg, PA 18301‐7721                                                                                         First Class Mail
Chartered Organization         St Paul's Lutheran Church                                           Baltimore Area Council 220                          11795 Scaggsville Rd                                   Fulton, MD 20759‐2211                                                                                                   First Class Mail
Chartered Organization         St Paul's Lutheran Church                                           New Birth of Freedom 544                            127 York St                                            Hanover, PA 17331‐3127                                                                                                  First Class Mail
Chartered Organization         St Paul's Lutheran Church                                           Water and Woods Council 782                         200 N Cedar St                                         Imlay City, MI 48444‐1124                                                                                               First Class Mail
Chartered Organization         St Paul's Lutheran Church                                           Erie Shores Council 460                             112 E Wayne St                                         Maumee, OH 43537‐3348                                                                                                   First Class Mail
Chartered Organization         St Paul's Lutheran Church                                           National Capital Area Council 082                   37707 New Market Turner Rd                             Mechanicsville, MD 20659‐3075                                                                                           First Class Mail
Chartered Organization         St Paul's Lutheran Church                                           Abraham Lincoln Council 144                         103 N Main St                                          P.O. Box 266                      Hillsboro, IL 62049‐0266                                                              First Class Mail
Chartered Organization         St Paul's Lutheran Church                                           W D Boyce 138                                       1427 W Lake Ave                                        Peoria, IL 61614‐5803                                                                                                   First Class Mail
Chartered Organization         St Paul's Lutheran Church                                           Mid‐America Council 326                             527 Main St                                            Rockwell City, IA 50579‐1421                                                                                            First Class Mail
Chartered Organization         St Paul's Lutheran Church                                           Westchester Putnam 388                              761 King St                                            Rye Brook, NY 10573‐1814                                                                                                First Class Mail
Voting Party                   St Paul's Lutheran Church                                           Attn: Byanca Smith                                  1250 E Heim Ave                                        Orange, CA 92865                                                       byanca.smith@splsorange.org                      Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Pauls Lutheran Church Eica                                       Buckeye Council 436                                 29 Spruce St                                           Leetonia, OH 44431‐1284                                                                                                 First Class Mail
Chartered Organization         St Paul's Lutheran Family                                           Nevada Area Council 329                             1201 N Saliman Rd                                      Carson City, NV 89701‐3240                                                                                              First Class Mail
Chartered Organization         St Paul's Lutheran Mens Club                                        W D Boyce 138                                       121 N Pearl St                                         Havana, IL 62644‐1409                                                                                                   First Class Mail
Voting Party                   St Paul's Ocean Grove                                               c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul's Of Summerville                                            Coastal Carolina Council 550                        111 Waring St                                          Summerville, SC 29483‐4350                                                                                              First Class Mail
Voting Party                   St Paul's Parish Of Walla Walla                                     Attn: Rev David Sibley                              323 Catherine St                                       Walla Walla, WA 99362                                                  davids@stpaulsww.org                             Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul's Presbyterian Church                                       Sam Houston Area Council 576                        P.O. Box 389                                           Needville, TX 77461‐0389                                                                                                First Class Mail
Voting Party                   St Paul's Protestant Episcopal Church                               1710 E Superior St                                  Duluth, MN 55812                                                                                                              natalie@stpaulsduluth.org                        Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Pauls Roman Catholic Church                                      Narragansett 546                                    48 Saint Paul St                                       Blackstone, MA 01504‐2243                                                                                               First Class Mail
Chartered Organization         St Pauls Roman Catholic Church                                      Buckeye Council 436                                 935 E State St                                         Salem, OH 44460‐2225                                                                                                    First Class Mail
Chartered Organization         St Paul's Roman Catholic Church                                     Greenwich 067                                       84 Sherwood Ave                                        Greenwich, CT 06831‐3269                                                                                                First Class Mail
Chartered Organization         St Paul's Roman Catholic Church                                     Northern New Jersey Council, Bsa 333                200 Wyckoff Ave                                        Ramsey, NJ 07446‐2254                                                                                                   First Class Mail
Chartered Organization         St Paul's Roman Catholic Church & School                            Lasalle Council 165                                 P.O. Box 1475                                          Valparaiso, IN 46384‐1475                                                                                               First Class Mail
Chartered Organization         St Paul's Roman Catholic Parish Phoenix                             Grand Canyon Council 010                            330 W Coral Gables Dr                                  Phoenix, AZ 85023‐3606                                                                                                  First Class Mail
Voting Party                   St Paul's Sandy Ridge (00176597)                                    c/o Bentz Law Firm                                  Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com                           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Paul's School                                                    Sequoia Council 027                                 6101 W Goshen Ave                                      Visalia, CA 93291‐9250                                                                                                  First Class Mail
Chartered Organization         St Pauls Ucc                                                        Greater St Louis Area Council 312                   103 S 2nd St                                           Marthasville, MO 63357‐1364                                                                                             First Class Mail
Voting Party                   St Pauls Umc                                                        c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's Umc                                                       c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Pauls Umc Of Padillion                                           c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Pauls Umc Of Padillion                                           324 S Jackson St                                    Papillion, NE 68046                                                                                                                                                            First Class Mail
Voting Party                   St Paul's Umc Oneida                                                Attn: Lynne Mondrick                                551 Sayles St                                          Oneida, NY 13421                                                       stpaulsumconeida@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Pauls Umc Pine Grove Pa 19 E Pottsville St, Pine Grove PA        c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Pauls Umc Pine Grove Pa 19 E Pottsville St, Pine Grove PA        19 E Pottsville St                                  Pine Grove, PA 17963                                                                                                                                                           First Class Mail
Voting Party                   St Paul's Umc Poseyville, Indiana                                   Attn: Josie Davis, Treasurer                        P.O. Box 38                                            Poseyville, IN 47633                                                   david.warren@inumc.org                           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's Umc Warrington                                            Attn: Dana Lortie                                   2131 Palomino Dr                                       Warrington, PA 18929                                                   stpaulsumcwarrington@aol.com                     Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         St Pauls Union Church                                               Pathway To Adventure 456                            1960 W 94th St                                         Chicago, IL 60643‐6329                                                                                                  First Class Mail
Voting Party                   St Paul's United Church Of Christ                                   Attn: Richard Rockershousen                         5739 Dunham Rd                                         Downers Grove, IL 60516                                                rockershousen@yahoo.com                          Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Pauls United Methodist Church                                    Attn: Terry Atwood                                  512 Logan St                                           Helena, MT 59601                                                       terry@atwoodarts.com                             Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Pauls United Methodist Church                                    Attn: Robert Allen Stewart                          335 Smyth Rd                                           Manchester, NH 03104                                                   stpauls@umcnh.comcastbiz.net                     Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Pauls United Methodist Church                                    Attn: Rev David Eardley                             620 Romero St                                          Rochester, MN 48307                                                    deardley@stpaulsrochester.org                    Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Pauls' United Methodist Church                                   c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church                                   Attn: Treasurer, Saint Pauls Umc                    2000 Shuterlee Mill Rd                                 Staunton, VA 24401                                                     stpaulumc2@gmail.com                             Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church                                   Attn: Matthew A Paugh                               318 E Oak St                                           Oakland, MD 21550                                                      stpaulsumcoakland@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church                                   Attn: Bonnie Ostenson, Treasurer                    1000 5th Ave Ne                                        Jamestown, ND 58401                                                    stpaulsjamestown@gmail.com; jennrowy@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church                                   Attn: Phyllis Dunham & Jee Hae Song                 2200 Valley Dr                                         Syracuse, NY 13207                                                     stpaulscny@gmail.com                             Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church                                   St Pauls Umc ‐ Treasurer                            P.O. Box 278                                           Nitro, WV 25143                                                        stpauls.nitro@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church                                   Attn: Pastor Bette Sohm                             270 Main St                                            Northport, NY 11768                                                    SPUMC@optimum.net                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church                                   Attn: Karen Gold                                    11 Church St                                           St Albans, VT 05478                                                    saintpaulsvt@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church                                   Attn: Ken Macmillen, Wendy Harwood, George Bailey   884 Kempton St                                         New Bedford, MA 02740                                                  pastorkenmac@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church                                   c/o Eto Law LLC                                     Attn: El Parker III                                    P.O. Box 804                      Etowah, TN 37331                     etolaw@bellsouth.net                             Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church                                   c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church                                   Attn: Cynthia Lunine Chr, Board of Trustees         402 N Aurora St                                        Ithaca, NY 14850                                                       clunine@gmail.com                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church                                   P.O. Box 581                                        Etowah, TN 37331                                                                                                                                                               First Class Mail
Voting Party                   St Paul's United Methodist Church ‐ Cambridge                       c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church ‐ Oxnard                          Attn: Church Administrator                          1800 South C St                                        Oxnard, CA 93033                                                       admin.asst@stpauls‐oxnard.org                    Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church ‐ Wilmington                      c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church 300 W Sunset Ave Greensboro, MD   c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church Brookly                           Attn: St Pauls Umc Vanderveer Park                  3714 Ave D                                             Brooklyn, NY 11203                                                     spumcbklyn@verizon.net                           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Pauls United Methodist Church Millbury                           Attn: Rev James Nevel                               1429 S St                                              Millbury, OH 43447                                                     jamesnevel65@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church Of Kensington                     Attn: Michelle Gregonis                             10401 Armory Ave                                       Kensington, MD 20895                                                   mgregonis@stpaulsk.org                           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church Of Mountville PA                  100 W Main St                                       Mountville, PA 17554                                                                                                                                                           First Class Mail
Voting Party                   St Paul's United Methodist Church Of Mountville Pa 100 W Mai        c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Pauls United Methodist Church Of Odessa DE                       Attn: Charles C Miller                              406 Main St                                            P.O. Box 253                      Odessa, DE 19730                     cmiller@ecsi‐del.com                             Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church West Deptford                     c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                      erice@bradley.com                                Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church, Raymore, MO                      Attn: Richard Hime, Trustees Representative         P.O. Box 377                                           Raymore, MO 64083                                                      rhimeros@gmail.com                               Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Church, Reno                             Attn: Treasurer & Susan L Foster                    1660 Grandview Ave                                     Reno, NV 89503                                                         office@stpaulsumcreno.org                        Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Paul's United Methodist Millbury                                 Attn: Rev James Nevel                               1910 E Broadway                                        Northwood, OH 43619                                                    jamesnevel65@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St Pauls Untied Methodist Church                                    7740 Lackman Rd                                     Lenexa, KS 66217                                                                                                                                                               First Class Mail
Chartered Organization         St Pauls Utd Church                                                 Hawk Mountain Council 528                           5 W Arch St                                            Fleetwood, PA 19522‐1319                                                                                                First Class Mail
Chartered Organization         St Pauls Utd Church                                                 Miami Valley Council, Bsa 444                       707 N Ohio Ave                                         Sidney, OH 45365‐2129                                                                                                   First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Dan Beard Council, Bsa 438                          1 N Jefferson St                                       Alexandria, KY 41001‐1209                                                                                               First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Pennsylvania Dutch Council 524                      P.O. Box 177                                           Bowmansville, PA 17507‐0177                                                                                             First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Columbia‐Montour 504                                164 Picnic Grove Rd                                    Catawissa, PA 17820‐8668                                                                                                First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       New Birth of Freedom 544                            205 W Main St                                          Dallastown, PA 17313‐2011                                                                                               First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Hawk Mountain Council 528                           1315 Old Swede Rd                                      Douglassville, PA 19518                                                                                                 First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Hawk Mountain Council 528                           1979 Weavertown Rd                                     Douglassville, PA 19518‐8950                                                                                            First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Buffalo Trace 156                                   8701 Big Cynthiana Rd                                  Evansville, IN 47720‐7678                                                                                               First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Greater St Louis Area Council 312                   7 N Belleville St                                      Freeburg, IL 62243‐1338                                                                                                 First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Great Rivers Council 653                            P.O. Box 352                                           Hermann, MO 65041‐0352                                                                                                  First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Greater St Louis Area Council 312                   101 S 2nd St                                           Marthasville, MO 63357‐1364                                                                                             First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Potawatomi Area Council 651                         N89W16856 Appleton Ave                                 Menomonee Falls, WI 53051                                                                                               First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Minsi Trails Council 502                            1856 Lincoln Ave                                       Northampton, PA 18067                                                                                                   First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Cradle of Liberty Council 525                       927 N Franklin St                                      Pottstown, PA 19464‐4021                                                                                                First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Black Swamp Area Council 449                        201 N Perry St                                         Saint Marys, OH 45885‐2115                                                                                              First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Minsi Trails Council 502                            787 Almond Rd                                          Walnutport, PA 18088                                                                                                    First Class Mail
Chartered Organization         St Pauls Utd Church Of Christ                                       Illowa Council 133                                  315 N Main St                                          Wheatland, IA 52777‐7724                                                                                                First Class Mail
Chartered Organization         St Paul's Utd Church Of Christ                                      Hawk Mountain Council 528                           1235 Summer Hill Rd                                    Auburn, PA 17922‐9030                                                                                                   First Class Mail
Chartered Organization         St Paul's Utd Church Of Christ                                      Hawk Mountain Council 528                           300 W 1st St                                           Birdsboro, PA 19508‐2207                                                                                                First Class Mail
Chartered Organization         St Paul's Utd Church Of Christ                                      Pathway To Adventure 456                            5739 Dunham Rd                                         Downers Grove, IL 60516‐1245                                                                                            First Class Mail
Chartered Organization         St Paul's Utd Church Of Christ                                      Chester County Council 539                          101 Worthington Rd                                     Exton, PA 19341‐1440                                                                                                    First Class Mail
Chartered Organization         St Paul's Utd Church Of Christ                                      Hawk Mountain Council 528                           5 W Arch St                                            Fleetwood, PA 19522‐1319                                                                                                First Class Mail
Chartered Organization         St Paul's Utd Church Of Christ                                      Bay‐Lakes Council 635                               1250 Leonard Point Rd                                  Oshkosh, WI 54904‐9324                                                                                                  First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Mid Iowa Council 177                                Community Center                                       104 S Columbus St                                                                                                       First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Great Swest Council 412                             9500 Constitution Ave NE                               Albuquerque, NM 87112‐5111                                                                                              First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Daniel Boone Council 414                            223 Hillside St                                        Asheville, NC 28801‐1317                                                                                                First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Columbia‐Montour 504                                1000 Orange St                                         Berwick, PA 18603‐3514                                                                                                  First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Longs Peak Council 062                              4215 Grinnell Ave                                      Boulder, CO 80305‐6608                                                                                                  First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       New Birth of Freedom 544                            750 Norland Ave                                        Chambersburg, PA 17201‐4218                                                                                             First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Tidewater Council 596                               437 Providence Rd                                      Chesapeake, VA 23325‐4602                                                                                               First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Black Swamp Area Council 449                        400 Wayne Ave                                          Defiance, OH 43512‐2643                                                                                                 First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Great Smoky Mountain Council 557                    P.O. Box 581                                           Etowah, TN 37331‐0581                                                                                                   First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       President Gerald R Ford 781                         3334 Breton Rd Se                                      Grand Rapids, MI 49512‐2710                                                                                             First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Heart of America Council 307                        7740 Lackman Rd                                        Lenexa, KS 66217‐9424                                                                                                   First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Five Rivers Council, Inc 375                        P.O. Box 121                                           Liberty, PA 16930‐0121                                                                                                  First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Cape Fear Council 425                               P.O. Box 429                                           Maxton, NC 28364‐0429                                                                                                   First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Central Florida Council 083                         1591 Highland Ave                                      Melbourne, FL 32935‐6520                                                                                                First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Louisiana Purchase Council 213                      1901 Lexington Ave                                     Monroe, LA 71201‐3437                                                                                                   First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Del Mar Va 081                                      P.O. Box 253                                           Odessa, DE 19730‐0253                                                                                                   First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Mid‐America Council 326                             324 S Jackson St                                       Papillion, NE 68046‐2402                                                                                                First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Hawk Mountain Council 528                           19 E Pottsville St                                     Pine Grove, PA 17963‐1506                                                                                               First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Hawk Mountain Council 528                           21 E Pottsville St                                     Pine Grove, PA 17963‐1506                                                                                               First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Buffalo Trace 156                                   P.O. Box 38                                            Poseyville, IN 47633‐0038                                                                                               First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Heart of America Council 307                        P.O. Box 377                                           Raymore, MO 64083‐0377                                                                                                  First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Great Lakes Fsc 272                                 620 Romeo Rd                                           Rochester, MI 48307‐1773                                                                                                First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Palmetto Council 549                                1320 Fernwood Glendale Rd                              Spartanburg, SC 29307‐2304                                                                                              First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Juniata Valley Council 497                          250 E College Ave                                      State College, PA 16801‐4747                                                                                            First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Samoset Council, Bsa 627                            600 Wilshire Blvd                                      Stevens Point, WI 54481‐2218                                                                                            First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Baltimore Area Council 220                          7538 Main St                                           Sykesville, MD 21784‐7361                                                                                               First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Washington Crossing Council 777                     2131 Palomino Dr                                       Warrington, PA 18976‐2179                                                                                               First Class Mail
Chartered Organization         St Pauls Utd Methodist Church                                       Del Mar Va 081                                      1314 Foulk Rd                                          Wilmington, DE 19803‐2726                                                                                               First Class Mail
Chartered Organization         St Paul's Utd Methodist Church                                      Great Swest Council 412                             9500 Constitution Ave NE                               Albuquerque, NM 87112‐5111                                                                                              First Class Mail
Chartered Organization         St Paul's Utd Methodist Church                                      Greater St Louis Area Council 312                   10 N Center St                                         East Alton, IL 62024‐1708                                                                                               First Class Mail
Chartered Organization         St Paul's Utd Methodist Church                                      Greater Tampa Bay Area 089                          1199 Highland Ave N                                    Largo, FL 33770‐1612                                                                                                    First Class Mail
Chartered Organization         St Paul's Utd Methodist Church                                      Southern Shores Fsc 783                             P.O. Box 456                                           Lawton, MI 49065‐0456                                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 368 of 442
                                                                                    Case 20-10343-LSS                                                Doc 8171                                            Filed 01/06/22                                                      Page 384 of 457
                                                                                                                                                                                            Exhibit B
                                                                                                                                                                                             Service List
                                                                                                                                                                                      Served as set forth below

        Description                                                       Name                                                                                                            Address                                                                                                                 Email              Method of Service
Chartered Organization         St Paul's Utd Methodist Church                                  Pennsylvania Dutch Council 524                  100 W Main St                                                    Mountville, PA 17554‐1634                                                                                 First Class Mail
Chartered Organization         St Paul's Utd Methodist Church                                  North Florida Council 087                       800 SE 41st Ave                                                  Ocala, FL 34471‐4870                                                                                      First Class Mail
Chartered Organization         St Paul's Utd Methodist Church                                  New Birth of Freedom 544                        45 1st Ave                                                       Red Lion, PA 17356‐1703                                                                                   First Class Mail
Chartered Organization         St Pauls Utd Methodist Men                                      National Capital Area Council 082               10401 Armory Ave                                                 Kensington, MD 20895‐3994                                                                                 First Class Mail
Chartered Organization         St Paul's Utd Methodist Men                                     National Capital Area Council 082               10401 Armory Ave                                                 Kensington, MD 20895‐3994                                                                                 First Class Mail
Chartered Organization         St Pauls Waccamaw Utd Methodist Ch                              Coastal Carolina Council 550                    180 Saint Pauls Pl                                               Pawleys Island, SC 29585‐8178                                                                             First Class Mail
Voting Party                   St Paul's‐The Springs United Methodist Church                   Attn: Timothy O'Brien                           600 Wilshire Blvd                                                Stevens Point, WI 54481                                                stpauls@stevenspointumc.org        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Peter & Paul Catholic Church                                 South Florida Council 084                       900 SW 26th Rd                                                   Miami, FL 33129‐2248                                                                                      First Class Mail
Chartered Organization         St Peter & Paul Catholic Church                                 Alamo Area Council 583                          386 N Castell Ave                                                New Braunfels, TX 78130‐5021                                                                              First Class Mail
Chartered Organization         St Peter & Paul Catholic Church                                 Central Florida Council 083                     5300 Old Howell Branch Rd                                        Winter Park, FL 32792‐9323                                                                                First Class Mail
Chartered Organization         St Peter & Paul Roman Catholic Church                           Garden State Council 690                        P.O. Box 1022                                                    Turnersville, NJ 08012‐0842                                                                               First Class Mail
Chartered Organization         St Peter & St George Coptic Orthodox                            Lake Erie Council 440                           25800 Hilliard Blvd                                              Westlake, OH 44145‐3312                                                                                   First Class Mail
Chartered Organization         St Peter And All Saints Episcopal Church                        Heart of America Council 307                    100 E Red Bridge Rd                                              Kansas City, MO 64114‐5412                                                                                First Class Mail
Chartered Organization         St Peter And Paul Catholic Church                               Sioux Council 733                               304 N Euclid Ave                                                 Pierre, SD 57501‐2107                                                                                     First Class Mail
Voting Party                   St Peter And Paul Parish                                        Attn: Andre L Kydala                            54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                         First Class Mail
Chartered Organization         St Peter And Paul Youth Ministry                                Golden Empire Council 047                       4450 Granite Dr                                                  Rocklin, CA 95677‐2130                                                                                    First Class Mail
Chartered Organization         St Peter And St Paul Church                                     California Inland Empire Council 045            9135 Banyan St                                                   Alta Loma, CA 91737‐2838                                                                                  First Class Mail
Chartered Organization         St Peter And St Paul Episcopal Church                           Atlanta Area Council 092                        1675 Johnson Ferry Rd                                            Marietta, GA 30062                                                                                        First Class Mail
Chartered Organization         St Peter Catholic Church                                        Alamo Area Council 583                          202 W Kronkosky St                                               Boerne, TX 78006‐2611                                                                                     First Class Mail
Chartered Organization         St Peter Catholic Church                                        Three Fires Council 127                         1891 Kaneville Rd                                                Geneva, IL 60134‐1801                                                                                     First Class Mail
Chartered Organization         St Peter Catholic Church                                        Greater St Louis Area Council 312               243 W Argonne Dr                                                 Kirkwood, MO 63122‐4203                                                                                   First Class Mail
Chartered Organization         St Peter Catholic Church                                        Mississippi Valley Council 141 141              2600 Maine St                                                    Quincy, IL 62301‐4409                                                                                     First Class Mail
Chartered Organization         St Peter Catholic Church                                        Greater St Louis Area Council 312               243 W Argonne Dr                                                 Saint Louis, MO 63122‐4203                                                                                First Class Mail
Chartered Organization         St Peter Catholic Church                                        Sagamore Council 162                            401 N Monticello St                                              Winamac, IN 46996‐1327                                                                                    First Class Mail
Chartered Organization         St Peter Catholic Church ‐ Cameron                              Chippewa Valley Council 637                     1618 20th St                                                     Cameron, WI 54822                                                                                         First Class Mail
Chartered Organization         St Peter Chanel Catholic Church                                 Atlanta Area Council 092                        11330 Woodstock Rd                                               Roswell, GA 30075‐2548                                                                                    First Class Mail
Chartered Organization         St Peter Church                                                 Northeast Illinois 129                          557 Lake St                                                      Antioch, IL 60002‐1443                                                                                    First Class Mail
Chartered Organization         St Peter Claver Catholic Church                                 Southeast Louisiana Council 214                 1910 Ursulines Ave                                               New Orleans, LA 70116‐2151                                                                                First Class Mail
Chartered Organization         St Peter Claver Catholic Church                                 Northern Star Council 250                       375 Oxford St N                                                  Saint Paul, MN 55104‐4734                                                                                 First Class Mail
Chartered Organization         St Peter Claver Catholic Church                                 Bay‐Lakes Council 635                           1444 S 11th St                                                   Sheboygan, WI 53081‐5314                                                                                  First Class Mail
Chartered Organization         St Peter Claver Catholic Church                                 Ventura County Council 057                      2380 Stow St                                                     Simi Valley, CA 93063                                                                                     First Class Mail
Chartered Organization         St Peter Claver Catholic Church                                 East Texas Area Council 585                     1403 N Tenneha Ave                                               Tyler, TX 75702‐4341                                                                                      First Class Mail
Voting Party                   St Peter Claver Catholic Church                                 c/o Archdiocese of Los Angeles                  Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                   Los Angeles, CA 90010             legal@la‐archdiocese.org           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter Claver Roman Catholic Church, New Orleans, Louisiana   Attn: Susan Zeringue, General Counsel           7887 Walmsley Ave                                                New Orleans, LA 70125                                                  szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter Claver's Roman Catholic Congregation, Inc              Attn: Matthew W Oakey                           218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                    moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Peter Episcopal Church                                       Lake Erie Council 440                           4901 Main Ave                                                    Ashtabula, OH 44004‐7018                                                                                  First Class Mail
Voting Party                   St Peter Episcopal Church, Ashtabula, OH                        Attn: Peter Nielsen, III                        4901 Main Ave                                                    Ashtabula, OH 44005                                                                                       First Class Mail
Chartered Organization         St Peter Evangelical Lutheran Church                            Baltimore Area Council 220                      7834 Eern Ave                                                    Baltimore, MD 21224                                                                                       First Class Mail
Chartered Organization         St Peter Evangelical Lutheran Church                            Lake Erie Council 440                           243 Benedict Ave                                                 Norwalk, OH 44857‐2345                                                                                    First Class Mail
Voting Party                   St Peter Evangelical Lutheran Church                            Attn: Lillian Tomecek, Treasurer                7834 Eastern Ave                                                 Baltimore, MD 21224                                                    bkspelc@verizon.net                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Peter Home And School Org                                    Glaciers Edge Council 620                       320 Elmwood Ave                                                  South Beloit, IL 61080‐1929                                                                               First Class Mail
Chartered Organization         St Peter Lutheran Church                                        Sam Houston Area Council 576                    3000 9th St                                                      Bay City, TX 77414‐5457                                                                                   First Class Mail
Chartered Organization         St Peter Lutheran Church                                        Denver Area Council 061                         9300 E Belleview Ave                                             Greenwood Village, CO 80111‐3403                                                                          First Class Mail
Chartered Organization         St Peter Lutheran Church                                        Pathway To Adventure 456                        202 E Schaumburg Rd                                              Schaumburg, IL 60194‐3517                                                                                 First Class Mail
Chartered Organization         St Peter Lutheran Church                                        Pathway To Adventure 456                        208 E Schaumburg Rd                                              Schaumburg, IL 60194‐3517                                                                                 First Class Mail
Chartered Organization         St Peter Lutheran Church                                        Shenandoah Area Council 598                     Hwy 340 N                                                        Shenandoah, VA 22849                                                                                      First Class Mail
Chartered Organization         St Peter Lutheran Laymens League                                Pathway To Adventure 456                        111 W Olive St                                                   Arlington Heights, IL 60004‐4766                                                                          First Class Mail
Chartered Organization         St Peter Of Alcantara                                           Theodore Roosevelt Council 386                  1321 Port Washington Blvd                                        Port Washington, NY 11050‐3016                                                                            First Class Mail
Chartered Organization         St Peter Prince/Apostle Catholic Church                         Alamo Area Council 583                          111 Barilla Pl                                                   San Antonio, TX 78209‐5823                                                                                First Class Mail
Chartered Organization         St Peter Rc Church                                              Chester County Council 539                      2835 Manor Rd                                                    West Brandywine, PA 19320‐1209                                                                            First Class Mail
Chartered Organization         St Peter School                                                 Istrouma Area Council 211                       130 E Temperance St                                              Covington, LA 70433‐3128                                                                                  First Class Mail
Voting Party                   St Peter The Aapostle New Brunswick Parish                      Attn: Andre L Kydala                            54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                         First Class Mail
Chartered Organization         St Peter The Apostle                                            Lincoln Heritage Council 205                    5431 Johnsontown Rd                                              Louisville, KY 40272‐3463                                                                                 First Class Mail
Chartered Organization         St Peter The Apostle                                            Lincoln Heritage Council 205                    10800 Beatrice Way                                               Louisville, KY 40272‐4003                                                                                 First Class Mail
Chartered Organization         St Peter The Apostle Catholic Church                            Alamo Area Council 583                          202 W Kronkosky St                                               Boerne, TX 78006‐2611                                                                                     First Class Mail
Chartered Organization         St Peter The Apostle Catholic Church                            Greater Alabama Council 001                     2061 Patton Chapel Rd                                            Vestavia Hills, AL 35216‐5781                                                                             First Class Mail
Chartered Organization         St Peter The Apostle Catholic Church                            Quivira Council, Bsa 198                        11000 Southwest Blvd                                             Wichita, KS 67215‐8740                                                                                    First Class Mail
Chartered Organization         St Peter The Apostle Catholic Parish                            San Diego Imperial Council 049                  450 S Stage Coach Ln                                             Fallbrook, CA 92028‐2457                                                                                  First Class Mail
Chartered Organization         St Peter The Apostle Church                                     Patriots Path Council 358                       179 Baldwin Rd                                                   Parsippany, NJ 07054‐2005                                                                                 First Class Mail
Chartered Organization         St Peter The Apostle Parish                                     Del Mar Va 081                                  521 Harmony St                                                   New Castle, DE 19720‐4557                                                                                 First Class Mail
Chartered Organization         St Peter The Apostle Rc Ch                                      Northern New Jersey Council, Bsa 333            445 5th Ave                                                      River Edge, NJ 07661‐1203                                                                                 First Class Mail
Chartered Organization         St Peter The Apostle Rc Ch                                      Northern New Jersey Council, Bsa 333            445 5th Ave                                                      River Edge, NJ 07661‐1203                                                                                 First Class Mail
Chartered Organization         St Peter The Fisherman ‐ Mens Club                              Bay‐Lakes Council 635                           3210 Tannery Rd                                                  Two Rivers, WI 54241‐1648                                                                                 First Class Mail
Voting Party                   St Peter The Fisherman Episcopal Church                         4220 Saxon Dr                                   New Smyrna Beach, FL 32169                                                                                                              claire@stpetersnet.net             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter Umc                                                    Attn: Kim Welsch                                6507 Moon Rd                                                     Columbus, GA 31909‐3242                                                kimstpeterumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Peter Utd Church Of Christ                                   Sam Houston Area Council 576                    9022 Long Point Rd                                               Houston, TX 77055‐4610                                                                                    First Class Mail
Chartered Organization         St Peter Utd Church Of Christ                                   Pathway To Adventure 456                        47 Church St                                                     Lake Zurich, IL 60047‐1563                                                                                First Class Mail
Chartered Organization         St Peter Utd Church Of Christ                                   Chester County Council 539                      1920 Ridge Rd                                                    Pottstown, PA 19465‐8834                                                                                  First Class Mail
Chartered Organization         St Peter Utd Church Of Christ                                   Greater St Louis Area Council 312               415 Madison St                                                   Red Bud, IL 62278‐1015                                                                                    First Class Mail
Chartered Organization         St Peter Utd Church Of Christ                                   Greater St Louis Area Council 312               415 Madison St                                                   Red Bud, IL 62278‐1015                                                                                    First Class Mail
Chartered Organization         St Peter Vietnamese Catholic Church                             Circle Ten Council 571                          10038 Beckleycrest Ave                                           Dallas, TX 75232‐5912                                                                                     First Class Mail
Chartered Organization         St Peters & St Marys Roman Catholic                             Simon Kenton Council 441                        122 Church St                                                    Chillicothe, OH 45601‐2405                                                                                First Class Mail
Chartered Organization         St Peters Anglican Cathedral                                    Suwannee River Area Council 664                 4784 Thomasville Rd                                              Tallahassee, FL 32309‐2528                                                                                First Class Mail
Chartered Organization         St Peters Anglican Church                                       Greater Alabama Council 001                     3207 Montevallo Rd                                               Mountain Brk, AL 35223‐1183                                                                               First Class Mail
Chartered Organization         St Peter's Baptist Church                                       Heart of Virginia Council 602                   2040 Mountain Rd                                                 Glen Allen, VA 23060‐2228                                                                                 First Class Mail
Chartered Organization         St Peters By The Sea                                            Suffolk County Council Inc 404                  500 W Montauk Hwy                                                Bay Shore, NY 11706‐8219                                                                                  First Class Mail
Chartered Organization         St Peters By The Sea Church                                     Narragansett 546                                72 Central St                                                    Narragansett, RI 02882‐3647                                                                               First Class Mail
Voting Party                   St Peter's By The Sea Epis Church                               Wiliam Crawford                                 Same                                                             Same                                                                                                      First Class Mail
Voting Party                   St Peter's By The Sea Episcopal Church                          William Edward Crawford                         500 S Country Rd                                                 Bay Shore, NY 11706                                                    drydock1@verizon.net               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter's By The Sea Episcopal Church                          600 S Country Rd                                Bay Shore, NY 11706                                                                                                                     drydock1@verizon.net               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Peter's By The Sea Presbyterian Ch                           Greater Los Angeles Area 033                    6410 Palos Verdes Dr S                                           Rancho Palos Verdes, CA 90275‐5836                                                                        First Class Mail
Voting Party                   St Peter's By The Sea United Methodist Church                   Attn: Todd Becker                               1541 Waldron Rd                                                  Corpus Christi, TX 78418                                               todd_kim_becker@hotmail.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter's By‐The‐Lake Episcopal Church, Inc                    Attn: Ginger Perdue                             P.O. Box 5026                                                    Brandon, MS 39047                                                      stpeteoffice@bellsouth.net         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter's By‐The‐Lake Episcopal Church, Inc                    Attn: Marcus M Wilson                           190 E Capitol St, Ste 650                                        Jackson, MS 39201                                                      mwilson@blswlaw.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Peters Cathedral                                             Blackhawk Area 660                              1243 N Church St                                                 Rockford, IL 61103‐6240                                                                                   First Class Mail
Chartered Organization         St Peters Catholic Church                                       Utah National Parks 591                         634 N 600 E                                                      American Fork, UT 84003‐1382                                                                              First Class Mail
Chartered Organization         St Peters Catholic Church                                       Evangeline Area 212                             P.O. Box 40                                                      Carencro, LA 70520‐0040                                                                                   First Class Mail
Chartered Organization         St Peters Catholic Church                                       Central Florida Council 083                     359 W New York Ave                                               Deland, FL 32720‐5425                                                                                     First Class Mail
Chartered Organization         St Peters Catholic Church                                       Northern Star Council 250                       1250 S Shore Dr                                                  Forest Lake, MN 55025‐1933                                                                                First Class Mail
Chartered Organization         St Peters Catholic Church                                       East Carolina Council 426                       2700 E 4th St                                                    Greenville, NC 27858‐1712                                                                                 First Class Mail
Chartered Organization         St Peters Catholic Church                                       East Carolina Council 426                       121 Harell St                                                    Greenville, NC 27858‐8679                                                                                 First Class Mail
Chartered Organization         St Peters Catholic Church                                       Miami Valley Council, Bsa 444                   6185 Chambersburg Rd                                             Huber Heights, OH 45424‐3856                                                                              First Class Mail
Chartered Organization         St Peters Catholic Church                                       Sequoia Council 027                             870 N Lemoore Ave                                                Lemoore, CA 93245‐2333                                                                                    First Class Mail
Chartered Organization         St Peters Catholic Church                                       Cornhusker Council 324                          4500 Duxhall Dr                                                  Lincoln, NE 68516‐2860                                                                                    First Class Mail
Chartered Organization         St Peters Catholic Church                                       Longhorn Council 662                            P.O. Box 148                                                     Lindsay, TX 76250‐0148                                                                                    First Class Mail
Chartered Organization         St Peters Catholic Church                                       Buckeye Council 436                             104 W 1st St                                                     Mansfield, OH 44902‐2104                                                                                  First Class Mail
Chartered Organization         St Peters Catholic Church                                       Northern Star Council 250                       P.O. Box 50679                                                   Mendota, MN 55150‐0679                                                                                    First Class Mail
Chartered Organization         St Peters Catholic Church                                       Garden State Council 690                        43 W Maple Ave                                                   Merchantville, NJ 08109‐5141                                                                              First Class Mail
Chartered Organization         St Peters Catholic Church                                       Great Lakes Fsc 272                             98 New St                                                        Mt Clemens, MI 48043‐5618                                                                                 First Class Mail
Chartered Organization         St Peters Catholic Church                                       Lake Erie Council 440                           35777 Center Ridge Rd                                            North Ridgeville, OH 44039‐3064                                                                           First Class Mail
Chartered Organization         St Peters Catholic Church                                       Greater St Louis Area Council 312               243 W Argonne Dr                                                 St Louis, MO 63122‐4203                                                                                   First Class Mail
Chartered Organization         St Peters Catholic Church                                       Cascade Pacific Council 492                     P.O. Box 41                                                      The Dalles, OR 97058‐0041                                                                                 First Class Mail
Chartered Organization         St Peters Catholic Church                                       National Capital Area Council 082               313 2nd St Se                                                    Washington, DC 20003‐1902                                                                                 First Class Mail
Chartered Organization         St Peter's Catholic Church                                      Utah National Parks 591                         634 N 600 E                                                      American Fork, UT 84003‐1382                                                                              First Class Mail
Chartered Organization         St Peter's Catholic Church                                      Oregon Trail Council 697                        1150 Maxwell Rd                                                  Eugene, OR 97404‐2137                                                                                     First Class Mail
Chartered Organization         St Peter's Catholic Church                                      Bay‐Lakes Council 635                           200 E Washington St                                              Slinger, WI 53086‐9597                                                                                    First Class Mail
Chartered Organization         St Peter's Catholic Church                                      Green Mountain 592                              85 S Maple St                                                    Vergennes, VT 05491‐1225                                                                                  First Class Mail
Chartered Organization         St Peters Catholic Church For Pack                              East Carolina Council 426                       2700 E 4th St                                                    Greenville, NC 27858‐1712                                                                                 First Class Mail
Chartered Organization         St Peters Church                                                Northern Star Council 250                       2600 Margaret St N                                               North St Paul, MN 55109‐2361                                                                              First Class Mail
Chartered Organization         St Peters Church                                                Inland Nwest Council 611                        3520 E 18th Ave                                                  Spokane, WA 99223‐3814                                                                                    First Class Mail
Voting Party                   St Peters Church Lithgow                                        Attn: James A Florack                           50 Central Park W, Apt 3A                                        New York, NY 10023                                                     james.florack@davispolk.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peters Church Lithgow                                        Attn: Rev Jake Dell                             P.O. Box 1502                                                    Millbrook, NY 12545                                                    jakedell@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter's Church Lithgow                                       Attn: James Florack                             50 Central Park W, Apt 3A                                        New York, NY 10023                                                     james.florack@davispolk.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter's Church Lithgow                                       P.O. Box 1502                                   Millbrook, NY 12545                                                                                                                     jakedell@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Peters Church Mens Club                                      Buckeye Council 436                             726 Cleveland Ave Nw                                             Canton, OH 44702‐1808                                                                                     First Class Mail
Chartered Organization         St Peter's Church Of Waldorf                                    National Capital Area Council 082               3320 Saint Peters Dr                                             Waldorf, MD 20601‐2359                                                                                    First Class Mail
Chartered Organization         St Peter's Church Of Waldorf                                    National Capital Area Council 082               3320 Saint Peters Dr                                             Waldorf, MD 20601‐2359                                                                                    First Class Mail
Chartered Organization         St Peters Elementary School Pta                                 Greater St Louis Area Council 312               400 Mcmenamy Rd                                                  St Peters, MO 63376‐1510                                                                                  First Class Mail
Chartered Organization         St Peters Episc Ch, Livingston, Nj                              Northern New Jersey Council, Bsa 333            94 E Mt Pleasant Ave                                             Livingston, NJ 07039‐3004                                                                                 First Class Mail
Chartered Organization         St Peters Episcopal                                             National Capital Area Council 082               P.O. Box 546                                                     Purcellville, VA 20134‐0546                                                                               First Class Mail
Chartered Organization         St Peters Episcopal Church                                      National Capital Area Council 082               P.O. Box 7974                                                    Christiansted, VI 00823‐7974                                                                              First Class Mail
Chartered Organization         St Peters Episcopal Church                                      Middle Tennessee Council 560                    311 W 7th St                                                     Columbia, TN 38401‐3132                                                                                   First Class Mail
Chartered Organization         St Peters Episcopal Church                                      Patriots Path Council 358                       183 Rector St                                                    Perth Amboy, NJ 08861‐4739                                                                                First Class Mail
Chartered Organization         St Peters Episcopal Church                                      Laurel Highlands Council 527                    4048 Brownsville Rd                                              Pittsburgh, PA 15227‐3420                                                                                 First Class Mail
Chartered Organization         St Peters Episcopal Church                                      Connecticut Rivers Council, Bsa 066             99 Sand Hill Rd                                                  South Windsor, CT 06074‐2023                                                                              First Class Mail
Voting Party                   St Peters Episcopal Church                                      Attn: Peter C Nicolaysen                        P.O. Box 7                                                       Casper, WY 82602                                                       petercn@vcn.com                    Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Peter's Episcopal Church                                     National Capital Area Council 082               P.O. Box 546                                                     Purcellville, VA 20134‐0546                                                                               First Class Mail
Chartered Organization         St Peter's Episcopal Church                                     Great Alaska Council 610                        P.O. Box 676                                                     Seward, AK 99664‐0676                                                                                     First Class Mail
Voting Party                   St Peter's Episcopal Church                                     2400 Middle Rd                                  Bettendorf, IA 52722                                                                                                                    saintpetersbettendorf@gmail.com    Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter's Episcopal Church                                     Attn: Shawn Slother                             140 Rainbow Blvd                                                 Niagara Falls, NY 14303                                                office@stpetersniagarafalls.org    Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter's Episcopal Church                                     Attn: Joel Dingman                              1 S Tschirgi St                                                  Sheridan, WY 82801                                                     joel@stpeterssheridan.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter's Episcopal Church                                     Attn: George R Arrants, Esq                     814 Episcopal School Way                                         Knoxville, TN 37932                                                    bylindabell@gmail.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter's Episcopal Church                                     Bylinda Bell                                    848 Ashland Ter                                                  Chattanooga, TN 37415                                                  bylindabell@gmail.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter's Episcopal Church, Brenham, TX                        Attn: Stephen F Whaley                          2310 Airline Dr                                                  Brenham, TX 77833                                                      frstephen@stpetersbrenham.org      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peter's Episcopal Church, Portland                           c/o The Episcopal Diocese of Maine / Martin     P.O. Box 4036                                                    Portland, ME 04101                                                     bmartin@episcopalmaine.org         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Peters Evangelical Lutheran Church                           Cradle of Liberty Council 525                   3025 Church Rd                                                   Lafayette Hill, PA 19444‐1707                                                                             First Class Mail
Chartered Organization         St Peters Evangelical Lutheran Church                           Simon Kenton Council 441                        105 E Mulberry St                                                Lancaster, OH 43130‐3012                                                                                  First Class Mail
Chartered Organization         St Peters Evangelical Lutheran Church                           Hawk Mountain Council 528                       1931 Wiconisco St                                                Tower City, PA 17980‐1706                                                                                 First Class Mail
Voting Party                   St Peters Evangelical Lutheran Church                           Attn: Richard Skelly, Finance Committee Chair   1933 Hanover Ave                                                 Allentown, PA 18109‐8151                                               psufan70@aol.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Peters Evangelical United Ch Christ                          Ozark Trails Council 306                        P.O. Box 250                                                     Billings, MO 65610‐0250                                                                                   First Class Mail
Chartered Organization         St Peters Friends Of Scouting                                   Heart of America Council 307                    208 W 70th Ter                                                   Kansas City, MO 64113‐2560                                                                                First Class Mail
Chartered Organization         St Peters Holy Name Society                                     Samoset Council, Bsa 627                        400 4th Ave                                                      Stevens Point, WI 54481‐1619                                                                              First Class Mail
Chartered Organization         St Peters Lutheran Church                                       Southern Shores Fsc 783                         1079 Riverside Dr                                                Battle Creek, MI 49015‐4735                                                                               First Class Mail
Chartered Organization         St Peters Lutheran Church                                       Northeast Iowa Council 178                      3200 Asbury Rd                                                   Dubuque, IA 52001‐8405                                                                                    First Class Mail
Chartered Organization         St Peters Lutheran Church                                       Black Swamp Area Council 449                    P.O. Box 205                                                     Edon, OH 43518‐0205                                                                                       First Class Mail
Chartered Organization         St Peters Lutheran Church                                       Blackhawk Area 660                              1075 Adams St                                                    Fennimore, WI 53809‐1800                                                                                  First Class Mail
Chartered Organization         St Peters Lutheran Church                                       Susquehanna Council 533                         1 W St                                                           Freeburg, PA 17827                                                                                        First Class Mail
Chartered Organization         St Peters Lutheran Church                                       Susquehanna Council 533                         Kreamer Ave                                                      Kreamer, PA 17833                                                                                         First Class Mail
Chartered Organization         St Peters Lutheran Church                                       Greater Yosemite Council 059                    2400 Oxford Way                                                  Lodi, CA 95242‐2854                                                                                       First Class Mail
Chartered Organization         St Peters Lutheran Church                                       Glaciers Edge Council 620                       345 N Pine St                                                    Reedsburg, WI 53959‐1667                                                                                  First Class Mail
Voting Party                   St Peters Lutheran Church                                       1201 Courthouse Rd                              Stafford, VA 22554                                                                                                                      klp@kaneperry.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Peters Lutheran Church Elgin ‐ Elca                          Capitol Area Council 564                        P.O. Box 187                                                     Elgin, TX 78621‐0187                                                                                      First Class Mail
Chartered Organization         St Peters Lutheran Church L W M L                               Piedmont Council 420                            6175 St Peters Church Rd                                         Conover, NC 28613‐8752                                                                                    First Class Mail
Chartered Organization         St Peters Lutheran Laymens League                               Piedmont Council 420                            6175 St Peters Church Rd                                         Conover, NC 28613‐8752                                                                                    First Class Mail
Chartered Organization         St Peters Lutheran School                                       Great Lakes Fsc 272                             17051 24 Mile Rd                                                 Macomb, MI 48042‐2902                                                                                     First Class Mail
Chartered Organization         St Peters Methodist Church                                      Columbia‐Montour 504                            240 Sunbury Rd                                                   Riverside, PA 17868                                                                                       First Class Mail
Chartered Organization         St Peters Methodist Church‐Mens Bible Cl                        Columbia‐Montour 504                            240 Sunbury Rd                                                   Riverside, PA 17868                                                                                       First Class Mail
Chartered Organization         St Peters Parish Catholic Church                                National Capital Area Council 082               313 2nd St Se                                                    Washington, DC 20003‐1902                                                                                 First Class Mail
Voting Party                   St Peters Parish In Del Mar, CA                                 Attn: Kirby Smith                               2083 Sunset Cliffs Blvd                                          San Diego, CA 92107                                                    ksmith@edsd.org                    Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Peters Parish In Del Mar, CA                                 c/o Sullivan Hill Rez & Engel                   Attn: James P Hill, Esq                                          600 B St, Ste 1700                   San Diego, CA 92101               hill@sullivanhill.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Peters R C Church                                            Hudson Valley Council 374                       115 Broadway                                                     Haverstraw, NY 10927‐1143                                                                                 First Class Mail
Chartered Organization         St Peters R C Church                                            Narragansett 546                                350 Fair St                                                      Warwick, RI 02888‐3719                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                             Page 369 of 442
                                                                                    Case 20-10343-LSS                                      Doc 8171                                            Filed 01/06/22                                                     Page 385 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                          Name                                                                                               Address                                                                                                                 Email              Method of Service
Voting Party                   St Peters R C Church, Covington, LA                         Attn: Susan A Zeringue, General Counsel   7877 Walmsley Ave                                                New Orleans, LA 70125                                                 szeringue@arch‐no.org               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Peters United Church Of Christ                           Prairielands 117                          905 S Russell St                                                 Champaign, IL 61821‐4419                                                                                  First Class Mail
Chartered Organization         St Peters United Church Of Christ                           Prairielands 117                          905 S Russell St                                                 Champaign, IL 61821‐4419                                                                                  First Class Mail
Voting Party                   St Peters United Methodist Church                           Attn: Holly Gibson                        20775 Kingsland Blvd                                             Katy, TX 77450                                                        hgibson@stpkaty.org                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Peters United Methodist Church ‐ Ocean City              c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Peters United Methodist Men                              Gulf Stream Council 085                   12200 Forest Hill Blvd                                           Wellington, FL 33414‐5795                                                                                 First Class Mail
Chartered Organization         St Peters University Hospital                               Patriots Path Council 358                 254 Eon Ave                                                      New Brunswick, NJ 08901                                                                                   First Class Mail
Chartered Organization         St Peters Utd Church Of Christ                              Lake Erie Council 440                     582 Church St                                                    Amherst, OH 44001‐2208                                                                                    First Class Mail
Chartered Organization         St Peters Utd Church Of Christ                              Three Fires Council 127                   125 W Church St                                                  Elmhurst, IL 60126‐3326                                                                                   First Class Mail
Chartered Organization         St Peters Utd Church Of Christ                              Hawk Mountain Council 528                 275 S Tulpehocken St                                             Pine Grove, PA 17963‐1039                                                                                 First Class Mail
Chartered Organization         St Peters Utd Church Of Christ                              Hawk Mountain Council 528                 277 S Tulpehocken St                                             Pine Grove, PA 17963‐1039                                                                                 First Class Mail
Chartered Organization         St Peters Utd Church Of Christ                              Greater St Louis Area Council 312         20 E 5th St                                                      Washington, MO 63090‐2604                                                                                 First Class Mail
Chartered Organization         St Peters Utd Church Of Christ                              Hawk Mountain Council 528                 2901 Curtis Rd                                                   West Lawn, PA 19609‐1305                                                                                  First Class Mail
Chartered Organization         St Peters Utd Church Of Christ                              Hawk Mountain Council 528                 Curtis Rd & Dwight                                               Wilshire                           Reading, PA 19608                                                      First Class Mail
Chartered Organization         St Peters Utd Methodist Church                              Chief Seattle Council 609                 17222 NE 8th St                                                  Bellevue, WA 98008‐4122                                                                                   First Class Mail
Chartered Organization         St Peters Utd Methodist Church                              Buffalo Trace 156                         2800 St Philip Rd S                                              Evansville, IN 47712‐9553                                                                                 First Class Mail
Chartered Organization         St Peters Utd Methodist Church                              Heart of Virginia Council 602             15599 Mountain Rd                                                Montpelier, VA 23192‐2912                                                                                 First Class Mail
Voting Party                   St Peter's, Hancock, R C Congregation, Inc                  Attn: Matthew W Oakey                     218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Peter's, Libertytown, R C Congregation, Inc              Attn: Matthew W Oakey                     218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Petersburg Fire Dept                                     Greater Tampa Bay Area 089                400 Mlk St N                                                     St Petersburg, FL 33701‐4419                                                                              First Class Mail
Voting Party                   St Petersburg First United Methodist Church                 c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Petersburg First United Methodist Church                 212 3rd St N St                           Petersburg, FL 33701                                                                                                                                                       First Class Mail
Chartered Organization         St Petersburg Police Dept                                   Greater Tampa Bay Area 089                1300 1st Ave N                                                   St Petersburg, FL 33705‐1509                                                                              First Class Mail
Chartered Organization         St Petri Lutheran Church                                    Erie Shores Council 460                   3120 S Byrne Rd                                                  Toledo, OH 43614‐5326                                                                                     First Class Mail
Chartered Organization         St Philip & St James School                                 Minsi Trails Council 502                  137 Roseberry St                                                 Phillipsburg, NJ 08865‐1629                                                                               First Class Mail
Voting Party                   St Philip And James R C Congregation, Inc                   Attn: Matthew W Oakey                     218 N Charles St, Ste 400                                        Baltimore, MD 21201                                                   moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Philip Benizi Catholic Church                            Atlanta Area Council 092                  591 Flint River Rd                                               Jonesboro, GA 30238‐3413                                                                                  First Class Mail
Chartered Organization         St Philip Catholic Church                                   Middle Tennessee Council 560              113 2nd Ave S                                                    Franklin, TN 37064‐2653                                                                                   First Class Mail
Chartered Organization         St Philip Catholic School                                   Last Frontier Council 480                 1121 Felix Pl                                                    Midwest City, OK 73110‐5331                                                                               First Class Mail
Voting Party                   St Philip Episcopal Church                                  Attn: Rev Canon Sharon Alexander          692 Poplar Ave                                                   Memphis, TN 38105                                                     salexander@episwtn.org              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Philip Episcopal Church                                  Attn: Dwight L Wagner                     9380 Davles Plantation Rd                                        Barlett, TN 38133                                                                                         First Class Mail
Chartered Organization         St Philip Lutheran Church                                   Denver Area Council 061                   7531 S Kendall Blvd                                              Littleton, CO 80128‐7060                                                                                  First Class Mail
Chartered Organization         St Philip Lutheran Church                                   Occoneechee 421                           7304 Falls of Neuse Rd                                           Raleigh, NC 27615‐5313                                                                                    First Class Mail
Chartered Organization         St Philip Neri                                              Baltimore Area Council 220                6405 S Orchard Rd                                                Linthicum, MD 21090‐2628                                                                                  First Class Mail
Chartered Organization         St Philip Neri Catholic Church                              Southeast Louisiana Council 214           6500 Kawanee Ave                                                 Metairie, LA 70003‐3229                                                                                   First Class Mail
Chartered Organization         St Philip Neri Catholic School                              Crossroads of America 160                 545 Eern Ave                                                     Indianapolis, IN 46201                                                                                    First Class Mail
Chartered Organization         St Philip Neri R C Church                                   Cradle of Liberty Council 525             1325 Klinerd Rd                                                  Pennsburg, PA 18073‐1718                                                                                  First Class Mail
Voting Party                   St Philip Neri R C Church, Metairie, LA                     Attn: Susan A Zeringue                    7887 Walmsley Ave                                                New Orleans, LA 70125                                                 szeringue@arch‐no.org               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Philip Neri R C Church, Metairie, LA                     Attn: Susan A Zeringue, General Counsel   7887 Walmsley Ave                                                New Orleans, LA 70125                                                 szeringue@arch‐no.org               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Philip Neri R C Congregation, Inc                        c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Philip Neri School                                       Mid‐America Council 326                   8202 N 31st St                                                   Omaha, NE 68112‐2102                                                                                      First Class Mail
Voting Party                   St Philip Neri School                                       c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Philip Presbyterian Church                               Attn: Greg Goria                          745 W Pipeline Rd                                                Hurst, TX 76053‐4927                                                  gregg@stphil.org                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Philip St James Pburg                                    Attn: Andre L Kydala                      54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                         First Class Mail
Chartered Organization         St Philip The Apostle Catholic Church                       South Texas Council 577                   3513 Cimarron Blvd                                               Corpus Christi, TX 78414‐3635                                                                             First Class Mail
Chartered Organization         St Philip The Apostle Catholic Church                       Pennsylvania Dutch Council 524            2111 Millersville Pike                                           Lancaster, PA 17603‐6216                                                                                  First Class Mail
Chartered Organization         St Philip The Apostle Church                                Connecticut Rivers Council, Bsa 066       64 Pompey Hollow Rd                                              Ashford, CT 06278‐1541                                                                                    First Class Mail
Chartered Organization         St Philip The Apostle Church                                Connecticut Rivers Council, Bsa 066       64 Pompey Hollow Rd                                              Ashford, CT 06278‐1541                                                                                    First Class Mail
Chartered Organization         St Philip The Apostle Church                                Southern Sierra Council 030               7100 Stockdale Hwy                                               Bakersfield, CA 93309‐1314                                                                                First Class Mail
Chartered Organization         St Philip The Apostle RC Ch                                 Northern New Jersey Council, Bsa 333      797 Valley Rd                                                    Clifton, NJ 07013‐2216                                                                                    First Class Mail
Voting Party                   St Philip The Deacon Episcopal Church                       Attn: Maria Mcdowell                      120 NE Knott St                                                  Portland, OR 97218                                                    office@stphilipthedeacon.org        Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Philip The Deacon Lutheran Church                        Northern Star Council 250                 17205 County Rd 6                                                Plymouth, MN 55447‐3043                                                                                   First Class Mail
Chartered Organization         St Philips Catholic Church                                  Greater Los Angeles Area 033              151 S Hill Ave                                                   Pasadena, CA 91106‐3401                                                                                   First Class Mail
Voting Party                   St Philips Catholic Church                                  c/o Archdiocese of Los Angeles            Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                 Los Angeles, CA 90010              legal@la‐archdiocese.org            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Philips Church                                           Voyageurs Area 286                        702 Beltrami Ave Nw                                              Bemidji, MN 56601‐3046                                                                                    First Class Mail
Chartered Organization         St Philips Elementary School                                Dan Beard Council, Bsa 438                1400 Mary Ingles Hwy                                             Melbourne, KY 41059‐9766                                                                                  First Class Mail
Chartered Organization         St Philips Episcopal Church                                 Greater New York Councils, Bsa 640        1072 80th St                                                     Brooklyn, NY 11228‐2620                                                                                   First Class Mail
Chartered Organization         St Philips Episcopal Church                                 Circle Ten Council 571                    6400 Stonebrook Pkwy                                             Frisco, TX 75034‐5711                                                                                     First Class Mail
Chartered Organization         St Philips Episcopal Church                                 Andrew Jackson Council 303                5400 Old Canton Rd                                               Jackson, MS 39211‐4277                                                                                    First Class Mail
Chartered Organization         St Philips Episcopal Church                                 Ozark Trails Council 306                  706 Byers Ave                                                    Joplin, MO 64801‐4304                                                                                     First Class Mail
Chartered Organization         St Philips Episcopal Church                                 Middle Tennessee Council 560              85 Fairway Dr                                                    Nashville, TN 37214‐2148                                                                                  First Class Mail
Voting Party                   St Philips Episcopal Church                                 3643 Aurora Dr                            New Orleans, LA 70131                                                                                                                  stphilpsno@msn.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Philips Episcopal Church                                 265 Decatur St                            Brooklyn, NY 11233‐1704                                                                                                                stphilipschurch@optonline.net       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Philips Episcopal Church                                 Attn: Michael Hughes                      15 Fernhill Ave                                                  Buffalo, NY 14215                                                     sferocezco@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Philips Episcopal Church                                 730 Bestgate Rd                           Annapolis, MD 21401                                                                                                                    saintphillips@verizon.net           Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Philips Episcopal Church                                 Attn: Ike Jones, Jr                       1310 Pecan Valley Dr                                             San Antonio, TX 78210                                                 saintphilips1310@att.net            Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Philips Episcopal Church, Dyker Heights                  1072 80th St                              Brooklyn, NY 11228                                                                                                                     stphilips06@aol.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Philips Lutheran Church                                  Northern Star Council 250                 1401 15th St W                                                   Hastings, MN 55033‐2437                                                                                   First Class Mail
Chartered Organization         St Philips School And Community Center                      Circle Ten Council 571                    1600 Pennsylvania Ave                                            Dallas, TX 75215‐3239                                                                                     First Class Mail
Chartered Organization         St Philips Utd Methodist Church                             Capitol Area Council 564                  16321 S Great Oaks Dr                                            Round Rock, TX 78681‐3659                                                                                 First Class Mail
Voting Party                   St Phillip & St Andrew Episcopal Church (Coventry)          c/o The Tamposi Law Group, PC             Attn: Peter N Tamposi                                            159 Main St                        Nashua, NH 03060                   peter@thetamposilawgroup.com        Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Phillip Neri Catholic Church                             Palmetto Council 549                      292 Munn Rd                                                      Fort Mill, SC 29715‐9437                                                                                  First Class Mail
Chartered Organization         St Phillip Neri RC Church                                   Cradle of Liberty Council 525             427 Ridge Pike                                                   Lafayette Hill, PA 19444                                                                                  First Class Mail
Chartered Organization         St Phillip The Apostle Church                               Circle Ten Council 571                    8131 Military Pkwy                                               Dallas, TX 75227‐4302                                                                                     First Class Mail
Chartered Organization         St Phillip, St Joseph & St Jerome Parish                    Southern Shores Fsc 783                   92 Capital Ave Ne                                                Battle Creek, MI 49017‐3526                                                                               First Class Mail
Chartered Organization         St Philomena Catholic Church                                W D Boyce 138                             Peoria Il                                                        Peoria, IL 61604                                                                                          First Class Mail
Chartered Organization         St Philomena Catholic Church                                W D Boyce 138                             1000 W Albany Ave                                                Peoria, IL 61604‐1419                                                                                     First Class Mail
Chartered Organization         St Philomenas R C Church                                    Northern New Jersey Council, Bsa 333      386 S Livingston Ave                                             Livingston, NJ 07039‐3914                                                                                 First Class Mail
Chartered Organization         St Philopateer Coptic Orthodox Chruch                       Circle Ten Council 571                    1450 E Campbell Rd                                               Richardson, TX 75081‐1939                                                                                 First Class Mail
Chartered Organization         St Pius Catholic Church                                     Great Rivers Council 653                  210 S Williams St                                                Moberly, MO 65270‐3432                                                                                    First Class Mail
Chartered Organization         St Pius Catholic Church                                     Rio Grande Council 775                    600 S Oklahoma Ave                                               Weslaco, TX 78596‐6928                                                                                    First Class Mail
Chartered Organization         St Pius Elementary School                                   Evangeline Area 212                       205 E Bayou Pkwy                                                 Lafayette, LA 70508‐4105                                                                                  First Class Mail
Chartered Organization         St Pius Parish Council                                      National Capital Area Council 082         3300 Moreland Pl                                                 Bowie, MD 20715‐1843                                                                                      First Class Mail
Chartered Organization         St Pius R C Church                                          Narragansett 546                          55 Elmhurst Ave                                                  Providence, RI 02908‐2804                                                                                 First Class Mail
Chartered Organization         St Pius Tenth Catholic Church Owensboro                     Lincoln Heritage Council 205              3512 E 6th St                                                    Owensboro, KY 42303‐0653                                                                                  First Class Mail
Chartered Organization         St Pius V Catholic Church                                   The Spirit of Adventure 227               215 Maple St                                                     Lynn, MA 01904‐2709                                                                                       First Class Mail
Chartered Organization         St Pius V R C Church                                        North Florida Council 087                 2110 Blue Ave                                                    Jacksonville, FL 32209‐5553                                                                               First Class Mail
Voting Party                   St Pius V R C Congregation, Inc                             c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Pius X And St Elizabeth Ann Seton                        Hawkeye Area Council 172                  1350 Lyndhurst Dr                                                Hiawatha, IA 52233‐1865                                                                                   First Class Mail
Chartered Organization         St Pius X Catholic Ch‐Holy Name Society                     Three Fires Council 127                   1025 E Madison St                                                Lombard, IL 60148‐3116                                                                                    First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Bay‐Lakes Council 635                     500 W Marquette St                                               Appleton, WI 54911‐1917                                                                                   First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Baltimore Area Council 220                6428 York Rd                                                     Baltimore, MD 21212‐2111                                                                                  First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Inland Nwest Council 611                  625 E Haycraft Ave                                               Coeur D Alene, ID 83815‐4964                                                                              First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Atlanta Area Council 092                  2621 Hwy 20 Se                                                   Conyers, GA 30013‐2424                                                                                    First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Circle Ten Council 571                    3030 Gus Thomasson Rd                                            Dallas, TX 75228‐3104                                                                                     First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Dan Beard Council, Bsa 438                348 Dudley Pike                                                  Edgewood, KY 41017‐2609                                                                                   First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Lasalle Council 165                       52553 Fir Rd                                                     Granger, IN 46530‐9162                                                                                    First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Old N State Council 070                   2210 N Elm St                                                    Greensboro, NC 27408‐5118                                                                                 First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Three Fires Council 127                   1025 E Madison St                                                Lombard, IL 60148‐3116                                                                                    First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Southeast Louisiana Council 214           6666 Spanish Fort Blvd                                           New Orleans, LA 70124‐4324                                                                                First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Tidewater Council 596                     7800 Halprin Dr                                                  Norfolk, VA 23518‐4408                                                                                    First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Mid‐America Council 326                   6905 Blondo St                                                   Omaha, NE 68104‐4636                                                                                      First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Cascade Pacific Council 492               1280 NW Saltzman Rd                                              Portland, OR 97229‐5642                                                                                   First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Grand Columbia Council 614                805 Central Ave S                                                Quincy, WA 98848                                                                                          First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Simon Kenton Council 441                  1051 Waggoner Rd                                                 Reynoldsburg, OH 43068‐9719                                                                               First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Illowa Council 133                        2502 29th Ave                                                    Rock Island, IL 61201‐5445                                                                                First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Alamo Area Council 583                    3303 Urban Crest Dr                                              San Antonio, TX 78209‐3153                                                                                First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Indian Nations Council 488                1727 S 75th East Ave                                             Tulsa, OK 74112‐7719                                                                                      First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Mid Iowa Council 177                      3663 66th St                                                     Urbandale, IA 50322‐3408                                                                                  First Class Mail
Chartered Organization         St Pius X Catholic Church                                   Northern Star Council 250                 3878 Highland Ave                                                White Bear Lake, MN 55110‐4240                                                                            First Class Mail
Voting Party                   St Pius X Catholic Church Of Rochester, MN                  Meier, Kennedy & Quinn, Chtd              445 Minnesota St                                                 Town Sq Tower, Ste 2200            St. Paul, MN 55101                 jgunderson@mkqlaw.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Pius X Catholic School                                   Yucca Council 573                         1007 Geronimo Dr                                                 El Paso, TX 79905‐2148                                                                                    First Class Mail
Chartered Organization         St Pius X Church                                            South Texas Council 577                   5620 Gollihar Rd                                                 Corpus Christi, TX 78412‐3367                                                                             First Class Mail
Chartered Organization         St Pius X Church                                            Yucca Council 573                         1007 Geronimo Dr                                                 El Paso, TX 79905‐2148                                                                                    First Class Mail
Chartered Organization         St Pius X Church                                            Twin Rivers Council 364                   23 Crumitie Rd                                                   Loudonville, NY 12211‐2048                                                                                First Class Mail
Chartered Organization         St Pius X Congregation                                      Three Harbors Council 636                 2506 N Wauwatosa Ave                                             Milwaukee, WI 53213‐1135                                                                                  First Class Mail
Chartered Organization         St Pius X Freshman Class                                    Greater St Louis Area Council 312         1030 St Pius Dr                                                  Festus, MO 63028‐3746                                                                                     First Class Mail
Chartered Organization         St Pius X Parish                                            Mt Baker Council, Bsa 606                 22301 58th Ave W                                                 Mountlake Terrace, WA 98043‐3825                                                                          First Class Mail
Chartered Organization         St Pius X Parish                                            Great Lakes Fsc 272                       14101 Superior St                                                Southgate, MI 48195‐6600                                                                                  First Class Mail
Chartered Organization         St Pius X R C Church                                        Cradle of Liberty Council 525             220 Lawrence Rd                                                  Broomall, PA 19008‐3219                                                                                   First Class Mail
Chartered Organization         St Pius X R C Church                                        Cradle of Liberty Council 525             200 Lawrence Rd                                                  Broomall, PA 19008‐3225                                                                                   First Class Mail
Chartered Organization         St Pius X R C Church                                        Theodore Roosevelt Council 386            1 St Pius Ct X                                                   Plainview, NY 11803‐4041                                                                                  First Class Mail
Chartered Organization         St Pius X R C Church                                        Seneca Waterways 397                      3001 Chili Ave                                                   Rochester, NY 14624                                                                                       First Class Mail
Chartered Organization         St Pius X R C Church                                        Seneca Waterways 397                      3010 Chili Ave                                                   Rochester, NY 14624‐4533                                                                                  First Class Mail
Chartered Organization         St Pius X R C Church                                        Cape Cod and Islands Cncl 224             5 Barbara St                                                     South Yarmouth, MA 02664‐3025                                                                             First Class Mail
Chartered Organization         St Pius X R C Church                                        Narragansett 546                          44 Elm St                                                        Westerly, RI 02891‐2124                                                                                   First Class Mail
Voting Party                   St Pius X R C Church, New Orleans, LA                       Attn: Susan Zeringue, General Counsel     7887 Walmsley Ave                                                New Orleans, LA 70125                                                 szeringue@arch‐no.org               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   St Pius X R C Congregation, Inc                             c/o Gallagher Evelius & Jones LLP         Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Priscilla Church                                         Great Lakes Fsc 272                       19120 Purlingbrook St                                            Livonia, MI 48152‐1902                                                                                    First Class Mail
Chartered Organization         St Raphael Catholic Church                                  Lake Erie Council 440                     525 Dover Center Rd                                              Bay Village, OH 44140‐2360                                                                                First Class Mail
Chartered Organization         St Raphael Catholic Church                                  Three Fires Council 127                   1215 Modaff Rd                                                   Naperville, IL 60540‐7818                                                                                 First Class Mail
Chartered Organization         St Raphael Catholic Church                                  Westark Area Council 016                  1386 S West End St                                               Springdale, AR 72764‐0900                                                                                 First Class Mail
Chartered Organization         St Raphael Church                                           Daniel Webster Council, Bsa 330           103 Walker St                                                    Manchester, NH 03102‐4566                                                                                 First Class Mail
Chartered Organization         St Raphael Mens Club                                        Greater St Louis Area Council 312         6047 Bishops Pl                                                  St Louis, MO 63109‐3342                                                                                   First Class Mail
Chartered Organization         St Raphael School                                           National Capital Area Council 082         1513 Dunster Rd                                                  Rockville, MD 20854‐6154                                                                                  First Class Mail
Chartered Organization         St Raphael School                                           Los Padres Council 053                    160 St Josephs St                                                Santa Barbara, CA 93111‐2309                                                                              First Class Mail
Chartered Organization         St Raphael Svc Ctte, Parish Council                         Lincoln Heritage Council 205              2141 Lancashire Ave                                              Louisville, KY 40205‐2957                                                                                 First Class Mail
Chartered Organization         St Raphaels Catholic Church                                 Northern Star Council 250                 7301 Bass Lake Rd                                                Crystal, MN 55428‐3826                                                                                    First Class Mail
Chartered Organization         St Raphaels Catholic Church                                 Montana Council 315                       402 3 Ave N                                                      Glasgow, MT 59230                                                                                         First Class Mail
Chartered Organization         St Raphaels Catholic Church                                 Bay‐Lakes Council 635                     830 S Westhaven Dr                                               Oshkosh, WI 54904‐7977                                                                                    First Class Mail
Chartered Organization         St Raphaels Catholic Church                                 Occoneechee 421                           5801 Falls of Neuse Rd                                           Raleigh, NC 27609‐4043                                                                                    First Class Mail
Chartered Organization         St Raphaels Church                                          Voyageurs Area 286                        5779 Seville Rd                                                  Duluth, MN 55811‐9661                                                                                     First Class Mail
Voting Party                   St Raphaels Church                                          Attn: John Adler                          5601 Williams Dr                                                 Fort Myers Beach, FL 33931                                                                                First Class Mail
Chartered Organization         St Raphaels Parish                                          Voyageurs Area 286                        5779 Seville Rd                                                  Duluth, MN 55811‐9661                                                                                     First Class Mail
Chartered Organization         St Raphaels Parish Mens Club                                Yucca Council 573                         2301 Zanzibar Rd                                                 El Paso, TX 79925‐6310                                                                                    First Class Mail
Chartered Organization         St Raphaels R C Church                                      National Capital Area Council 082         1513 Dunster Rd                                                  Rockville, MD 20854‐6154                                                                                  First Class Mail
Chartered Organization         St Raphaels R C Church                                      Greater Tampa Bay Area 089                1376 Snell Isle Blvd Ne                                          St Petersburg, FL 33704‐2427                                                                              First Class Mail
Chartered Organization         St Raphaels RC Church                                       Theodore Roosevelt Council 386            600 Newbridge Rd                                                 East Meadow, NY 11554‐5215                                                                                First Class Mail
Chartered Organization         St Raphaels School                                          Yucca Council 573                         11809 Pueblo Lindo Ct                                            El Paso, TX 79936‐3714                                                                                    First Class Mail
Chartered Organization         St Raymond Catholic Church                                  South Florida Council 084                 3475 SW 17th St                                                  Miami, FL 33145‐1718                                                                                      First Class Mail
Chartered Organization         St Raymond Catholic Parish                                  San Francisco Bay Area Council 028        11555 Shannon Ave                                                Dublin, CA 94568‐1376                                                                                     First Class Mail
Chartered Organization         St Raymond Church                                           Pathway To Adventure 456                  301 S I Oka Ave                                                  Mt Prospect, IL 60056‐3007                                                                                First Class Mail
Voting Party                   St Raymond Of Penyafort                                     c/o Cullen and Dykman LLP                 Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd         Garden City, NY 11530              mroseman@cullenllp.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         St Raymonds Cathedral                                       Rainbow Council 702                       604 N Raynor Ave                                                 Joliet, IL 60435‐6028                                                                                     First Class Mail
Chartered Organization         St Raymonds Catholic Church                                 Abraham Lincoln Council 144               306 S Mcelroy                                                    P.O. Box 349                       Raymond, IL 62560‐0349                                                 First Class Mail
Chartered Organization         St Raymonds Elementary School                               Greater New York Councils, Bsa 640        2380 E Tremont Ave                                               Bronx, NY 10462‐6361                                                                                      First Class Mail
Chartered Organization         St Raymonds RC Church                                       Theodore Roosevelt Council 386            263 Atlantic Ave                                                 East Rockaway, NY 11518‐1171                                                                              First Class Mail
Chartered Organization         St Regis Parents For Scouting                               Heart of America Council 307              8408 Hawthorne Pl                                                Raytown, MO 64138‐3392                                                                                    First Class Mail
Chartered Organization         St Richard School                                           Pathway To Adventure 456                  5025 S Kenneth Ave                                               Chicago, IL 60632‐4535                                                                                    First Class Mail
Chartered Organization         St Richards Catholic Church                                 Hawk Mountain Council 528                 799 Barnesville Dr                                               Barnesville, PA 18214‐2616                                                                                First Class Mail
Chartered Organization         St Richards Catholic Church                                 Andrew Jackson Council 303                1242 Lynwood Dr                                                  Jackson, MS 39206‐6127                                                                                    First Class Mail
Chartered Organization         St Richards Catholic Church                                 Andrew Jackson Council 303                P.O. Box 16547                                                   Jackson, MS 39236‐6547                                                                                    First Class Mail
Chartered Organization         St Richards Episcopal School                                Crossroads of America 160                 33 E 33rd St                                                     Indianapolis, IN 46205‐3401                                                                               First Class Mail
Chartered Organization         St Richards Parish                                          Erie Shores Council 460                   333 Brookside Dr                                                 Swanton, OH 43558‐1062                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 370 of 442
                                                                                  Case 20-10343-LSS                                     Doc 8171                                            Filed 01/06/22                                                     Page 386 of 457
                                                                                                                                                                               Exhibit B
                                                                                                                                                                                Service List
                                                                                                                                                                         Served as set forth below

        Description                                                        Name                                                                                              Address                                                                                                                Email               Method of Service
Chartered Organization         St Rita Catholic Church                                   Southeast Louisiana Council 214          160 Imperial Woods Dr                                            Harahan, LA 70123‐4919                                                                                    First Class Mail
Chartered Organization         St Rita Catholic Church                                   Lincoln Heritage Council 205             8709 Preston Hwy                                                 Louisville, KY 40219‐4413                                                                                 First Class Mail
Chartered Organization         St Rita Catholic Church                                   Gulf Coast Council 773                   137 Moll Dr                                                      Santa Rosa Beach, FL 32459‐4208                                                                           First Class Mail
Chartered Organization         St Rita Catholic Church                                   Greater Los Angeles Area 033             322 N Baldwin Ave                                                Sierra Madre, CA 91024‐1213                                                                               First Class Mail
Chartered Organization         St Rita Of Cascia Church                                  Three Fires Council 127                  750 Old Indian Trl                                               Aurora, IL 60506‐2108                                                                                     First Class Mail
Chartered Organization         St Rita R C Church                                        Baltimore Area Council 220               2903 Dunleer Rd                                                  Dundalk, MD 21222‐5113                                                                                    First Class Mail
Chartered Organization         St Ritas Catholic Church                                  Longhorn Council 662                     5550 E Lancaster Ave                                             Fort Worth, TX 76112‐6429                                                                                 First Class Mail
Chartered Organization         St Ritas Catholic Church                                  Three Harbors Council 636                2318 S 61st St                                                   Milwaukee, WI 53219‐2135                                                                                  First Class Mail
Chartered Organization         St Ritas Catholic Church                                  Three Harbors Council 636                4339 Douglas Ave                                                 Racine, WI 53402‐2956                                                                                     First Class Mail
Chartered Organization         St Ritas Catholic Church                                  San Diego Imperial Council 049           5124 Churchward St                                               San Diego, CA 92114‐3718                                                                                  First Class Mail
Chartered Organization         St Ritas R C Church                                       Three Harbors Council 636                4433 Douglas Ave                                                 Racine, WI 53402‐2708                                                                                     First Class Mail
Chartered Organization         St Ritas R C Church                                       Seneca Waterways 397                     1008 Maple Dr                                                    Webster, NY 14580‐1726                                                                                    First Class Mail
Voting Party                   St Ritas R C Congregation, Inc                            c/o Gallagher Evelius & Jones LLP        Attn: Matthew Oakey                                              218 N Charles St, Ste 400          Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Ritas R C Congregation, Inc                            c/o Gallagher Evelius & Jones LLP        Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Robert Bellarmine Catholic Church                      The Spirit of Adventure 227              198 Haggetts Pond Rd                                             Andover, MA 01810‐4218                                                                                    First Class Mail
Chartered Organization         St Robert Bellarmine Catholic Church                      Nevada Area Council 329                  625 Desert Shadows Ln                                            Fernley, NV 89408‐9205                                                                                    First Class Mail
Chartered Organization         St Robert Bellarmine Catholic Church                      Narragansett 546                         1804 Atwood Ave                                                  Johnston, RI 02919‐3244                                                                                   First Class Mail
Chartered Organization         St Robert Bellarmine Catholic Church                      Ozark Trails Council 306                 367 Old Route 66                                                 St Robert, MO 65584‐4629                                                                                  First Class Mail
Chartered Organization         St Robert Bellarmine Church                               Holy Name Society                        1640 Fawcett Ave                                                 White Oak, PA 15131‐1802                                                                                  First Class Mail
Chartered Organization         St Robert Bellarmine Church And School                    Pathway To Adventure 456                 4646 N Austin Ave                                                Chicago, IL 60630‐3157                                                                                    First Class Mail
Chartered Organization         St Robert Bellarmine Parish                               Mid‐America Council 326                  11802 Pacific St                                                 Omaha, NE 68154‐3470                                                                                      First Class Mail
Chartered Organization         St Robert Bellarmine R C Church                           Greater New York Councils, Bsa 640       5615 213th St                                                    Bayside Hills, NY 11364‐1825                                                                              First Class Mail
Chartered Organization         St Robert Bellarmine R C Church                           Greater New York Councils, Bsa 640       5615 213th St                                                    Bayside Hills, NY 11364‐1825                                                                              First Class Mail
Chartered Organization         St Robert Bellarmine R C Church                           Laurel Highlands Council 527             1313 5th Ave                                                     East Mc Keesport, PA 15035‐1603                                                                           First Class Mail
Chartered Organization         St Robert Of Newminster Catholic Church                   President Gerald R Ford 781              6477 Ada Dr Se                                                   Ada, MI 49301‐7891                                                                                        First Class Mail
Voting Party                   St Robert Of Newminster Parish, Ada                       c/o Warner Norcross & Judd LLP           Attn: Elisabeth M Von Eitzen                                     150 Ottawa Ave NW, Ste 1500        Grand Rapids, MI 49503             evoneitzen@wnj.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Roberts Catholic Church Mens Club                      Water and Woods Council 782              310 N Cherry St                                                  Flushing, MI 48433‐1673                                                                                   First Class Mail
Chartered Organization         St Roberts Catholic Mens Club                             Water and Woods Council 782              301 N Cherry St                                                  Flushing, MI 48433                                                                                        First Class Mail
Chartered Organization         St Roberts Church                                         Three Harbors Council 636                2200 E Capitol Dr                                                Milwaukee, WI 53211‐2105                                                                                  First Class Mail
Chartered Organization         St Rocco Parish                                           Chester County Council 539               9016 Gap Newport Pike                                            Avondale, PA 19311‐9714                                                                                   First Class Mail
Chartered Organization         St Rocco R C Church                                       Northern New Jersey Council, Bsa 333     4206 Kennedy Blvd                                                Union City, NJ 07087‐2617                                                                                 First Class Mail
Chartered Organization         St Roch Parish                                            Greater St Louis Area Council 312        6052 Waterman Blvd                                               St Louis, MO 63112‐1314                                                                                   First Class Mail
Chartered Organization         St Rose Catholic Church                                   Black Swamp Area Council 449             479 N West St                                                    Lima, OH 45801‐4252                                                                                       First Class Mail
Chartered Organization         St Rose Catholic Church                                   Erie Shores Council 460                  215 E Front St                                                   Perrysburg, OH 43551‐2129                                                                                 First Class Mail
Chartered Organization         St Rose Delima Church                                     Western Massachusetts Council 234        600 Grattan St                                                   Chicopee, MA 01020‐1560                                                                                   First Class Mail
Chartered Organization         St Rose Lima Catholic Church                              Ventura County Council 057               1305 Royal Ave                                                   Simi Valley, CA 93065‐3330                                                                                First Class Mail
Chartered Organization         St Rose Lima RC Ch Short Hills                            Northern New Jersey Council, Bsa 333     50 Short Hills Ave                                               Short Hills, NJ 07078‐2529                                                                                First Class Mail
Chartered Organization         St Rose Of Lima ‐ Catholic Church                         Trapper Trails 589                       210 Chapel St                                                    Layton, UT 84041‐4380                                                                                     First Class Mail
Chartered Organization         St Rose Of Lima Catholic Church                           San Diego Imperial Council 049           293 H St                                                         Chula Vista, CA 91910‐4703                                                                                First Class Mail
Chartered Organization         St Rose Of Lima Catholic Church                           Crossroads of America 160                114 Lancelot Dr                                                  Franklin, IN 46131‐9070                                                                                   First Class Mail
Chartered Organization         St Rose Of Lima Catholic Church                           Sam Houston Area Council 576             3600 Brinkman St                                                 Houston, TX 77018‐6329                                                                                    First Class Mail
Chartered Organization         St Rose Of Lima Catholic Church                           South Florida Council 084                415 NE 105th St                                                  Miami Shores, FL 33138‐2000                                                                               First Class Mail
Chartered Organization         St Rose Of Lima Catholic Church                           Gulf Coast Council 773                   6451 Park Ave                                                    Milton, FL 32570‐4287                                                                                     First Class Mail
Chartered Organization         St Rose Of Lima Catholic Church                           Middle Tennessee Council 560             1601 N Tennessee Blvd                                            Murfreesboro, TN 37130‐1651                                                                               First Class Mail
Chartered Organization         St Rose Of Lima Church                                    Pine Tree Council 218                    1 Church St                                                      Jay, ME 04239‐1801                                                                                        First Class Mail
Chartered Organization         St Rose Of Lima Church                                    Pine Tree Council 218                    1 Church St                                                      Jay, ME 04239‐1801                                                                                        First Class Mail
Chartered Organization         St Rose Of Lima Church                                    Longhouse Council 373                    407 S Main St                                                    Syracuse, NY 13212‐2811                                                                                   First Class Mail
Voting Party                   St Rose Of Lima Oxford Parish                             Attn: Andre L Kydala                     54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                         First Class Mail
Chartered Organization         St Rose Of Lima Parish                                    Northern Star Council 250                2048 Hamline Ave N                                               Roseville, MN 55113‐5855                                                                                  First Class Mail
Chartered Organization         St Rose Of Lima R C Church                                Northeastern Pennsylvania Council 501    Church St                                                        Carbondale, PA 18407                                                                                      First Class Mail
Chartered Organization         St Rose Of Lima R C Church                                Northeastern Pennsylvania Council 501    6 N Church St                                                    Carbondale, PA 18407‐2323                                                                                 First Class Mail
Chartered Organization         St Rose Of Lima R C Church                                Monmouth Council, Bsa 347                16 Mclean St                                                     Freehold, NJ 07728‐2111                                                                                   First Class Mail
Voting Party                   St Rose Of Lima R C Congregation, Inc                     c/o Gallagher Evelius & Jones LLP        Attn: Matthew W Oakey                                            218 N Charles St, Ste 400          Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Rose Of Lima RC Church                                 Theodore Roosevelt Council 386           2 Bayview Ave                                                    Massapequa, NY 11758‐7214                                                                                 First Class Mail
Chartered Organization         St Rose Of Lima RC Church                                 Connecticut Yankee Council Bsa 072       46 Church Hill Rd                                                Newtown, CT 06470‐1623                                                                                    First Class Mail
Chartered Organization         St Rose Of Lima School                                    Cradle of Liberty Council 525            1522 N Wanamaker St                                              Philadelphia, PA 19131‐3828                                                                               First Class Mail
Chartered Organization         St Rose Philippine Duchesne                               Greater St Louis Area Council 312        1210 Paddock Dr                                                  Florissant, MO 63033‐3500                                                                                 First Class Mail
Chartered Organization         St Rose Phillippine Duchesne                              Grand Canyon Council 010                 2825 W Rose Canyon Cir                                           Anthem, AZ 85086‐2316                                                                                     First Class Mail
Chartered Organization         St Rose R C Church                                        Great Trail 433                          48 E Main St                                                     Girard, OH 44420‐2601                                                                                     First Class Mail
Chartered Organization         St Sabina Academy                                         Pathway To Adventure 456                 7801 S Throop St                                                 Chicago, IL 60620‐3758                                                                                    First Class Mail
Chartered Organization         St Sabina Catholic Church                                 Greater St Louis Area Council 312        1625 Swallow Ln                                                  Florissant, MO 63031‐3420                                                                                 First Class Mail
Chartered Organization         St Sabina Catholic Church                                 Greater St Louis Area Council 312        1365 Harkee Dr                                                   Florissant, MO 63031‐3434                                                                                 First Class Mail
Chartered Organization         St Sabina Catholic Church Belton                          Heart of America Council 307             700 Trevis Ave                                                   Belton, MO 64012‐1896                                                                                     First Class Mail
Chartered Organization         St Sabina Mens Activities Club                            Great Lakes Fsc 272                      25555 Ann Arbor Trl                                              Dearborn Heights, MI 48127                                                                                First Class Mail
Chartered Organization         St Sabina Mens Club                                       Great Lakes Fsc 272                      25555 Ann Arbor Trl                                              Dearborn Heights, MI 48127                                                                                First Class Mail
Chartered Organization         St Scholastica Catholic Church                            Longs Peak Council 062                   615 Main St                                                      Erie, CO 80516‐8716                                                                                       First Class Mail
Chartered Organization         St Scholastica Catholic Church                            Three Fires Council 127                  7800 Janes Ave                                                   Woodridge, IL 60517‐3520                                                                                  First Class Mail
Chartered Organization         St Sebastian Booster Club                                 Great Lakes Fsc 272                      3965 Merrick St                                                  Dearborn Heights, MI 48125‐2847                                                                           First Class Mail
Chartered Organization         St Sebastian Booster Club                                 Great Lakes Fsc 272                      3965 Merrick St                                                  Dearborn Heights, MI 48125‐2847                                                                           First Class Mail
Chartered Organization         St Sebastian By‐The Sea‐ Episc Ch                         Central Florida Council 083              2010 Oak St                                                      Melbourne Beach, FL 32951‐2713                                                                            First Class Mail
Chartered Organization         St Sebastian Catholic Church                              Gulf Stream Council 085                  13075 US Hwy 1                                                   Sebastian, FL 32958‐3734                                                                                  First Class Mail
Chartered Organization         St Sebastian Catholic Church                              Gulf Stream Council 085                  13075 US Hwy 1                                                   Sebastian, FL 32958‐3734                                                                                  First Class Mail
Chartered Organization         St Sebastian Church                                       Ventura County Council 057               235 N 9th St                                                     Santa Paula, CA 93060‐2103                                                                                First Class Mail
Voting Party                   St Sebastian Church                                       c/o Archdiocese of Los Angeles           Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd                 Los Angeles, CA 90010              legal@la‐archdiocese.org            Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Sebastian R C Church                                   Great Trail 433                          476 Mull Ave                                                     Akron, OH 44320‐1213                                                                                      First Class Mail
Chartered Organization         St Sebastian R C Church                                   Laurel Highlands Council 527             801 Broad Ave                                                    Belle Vernon, PA 15012‐1608                                                                               First Class Mail
Chartered Organization         St Sebastian R C Church                                   Laurel Highlands Council 527             311 Siebert Rd                                                   Pittsburgh, PA 15237‐2819                                                                                 First Class Mail
Chartered Organization         St Sebastians Home & School Assoc                         Three Harbors Council 636                5400 W Washington Blvd                                           Milwaukee, WI 53208‐1643                                                                                  First Class Mail
Chartered Organization         St Simon & Jude                                           Orange County Council 039                20444 Magnolia St                                                Huntington Beach, CA 92646‐5212                                                                           First Class Mail
Chartered Organization         St Simon & Jude Catholic Church                           Sam Houston Area Council 576             26777 Glen Loch Dr                                               The Woodlands, TX 77381‐2921                                                                              First Class Mail
Chartered Organization         St Simon Episcopal Church                                 Pathway To Adventure 456                 717 W Kirchhoff Rd                                               Arlington Heights, IL 60005‐2339                                                                          First Class Mail
Chartered Organization         St Simon Holy Name Society                                Greater St Louis Area Council 312        11011 Mueller Rd                                                 St Louis, MO 63123‐6942                                                                                   First Class Mail
Voting Party                   St Simon Parish, Ludington                                c/o Warner Norcross & Judd LLP           Attn: Elisabeth M Von Eitzen                                     150 Ottawa Ave NW, Ste 1500        Grand Rapids, MI 49503             evoneitzen@wnj.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Simon The Apostle Catholic Church                      Crossroads of America 160                8155 Oaklandon Rd                                                Indianapolis, IN 46236‐8578                                                                               First Class Mail
Chartered Organization         St Simons Catholic Church                                 President Gerald R Ford 781              702 E Bryant Rd                                                  Ludington, MI 49431‐1572                                                                                  First Class Mail
Voting Party                   St Simons Episcopal Church                                Attn: Rev Twila Smith                    200 Cazenovia St                                                 Buffalo, NY 14210                                                     rector@ssbuffalo.org                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Stanislaus & Nativity Bvm                              Greater New York Councils, Bsa 640       10141 91st St                                                    Ozone Park, NY 11416‐2227                                                                                 First Class Mail
Chartered Organization         St Stanislaus Holy Name Society                           Pathway To Adventure 456                 808 W 150th St                                                   East Chicago, IN 46312‐3603                                                                               First Class Mail
Chartered Organization         St Stanislaus Holy Name Society                           Samoset Council, Bsa 627                 838 Fremont St                                                   Stevens Point, WI 54481‐3176                                                                              First Class Mail
Voting Party                   St Stanislaus Kostka Catholic Church                      c/o Woods Oviatt Gilman LLP              Attn: Timothy P Lyster, Esq                                      1900 Bausch & Lomb Pl              Rochester, NY 14604                tlyster@woodsoviatt.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stanislaus Kostka Parish                               Attn: Andre L Kydala                     54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                         First Class Mail
Chartered Organization         St Stanislaus Kostka School                               Pathway To Adventure 456                 1255 N Noble St                                                  Chicago, IL 60642‐3336                                                                                    First Class Mail
Chartered Organization         St Stanislaus Of Kostka Holy Name Rcc                     Greater New York Councils, Bsa 640       5715 61st St                                                     Maspeth, NY 11378‐2713                                                                                    First Class Mail
Chartered Organization         St Stanislaus Polish Natl Catholic Ch                     Northeastern Pennsylvania Council 501    529 E Locust St                                                  Scranton, PA 18505‐1754                                                                                   First Class Mail
Chartered Organization         St Stanislaus R C Church                                  Cradle of Liberty Council 525            51 Lansdale Ave                                                  Lansdale, PA 19446‐2972                                                                                   First Class Mail
Voting Party                   St Stanislaus School                                      Attn: Andre L Kydala                     54 Old Hwy 22                                                    Clinton, NJ 08809                                                     kydalalaw@aim.com                   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Stephan The Martyr Catholic Church                     Mid‐America Council 326                  16701 S St                                                       Omaha, NE 68135‐2309                                                                                      First Class Mail
Voting Party                   St Stephen                                                c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200           Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Stephen A M E Church                                   Mobile Area Council‐Bsa 004              2707 Josephine St                                                Mobile, AL 36607‐1627                                                                                     First Class Mail
Chartered Organization         St Stephen Ame Church                                     Mobile Area Council‐Bsa 004              2707 Josephine St                                                Mobile, AL 36607‐1627                                                                                     First Class Mail
Chartered Organization         St Stephen Catholic Church                                Greater Tampa Bay Area 089               101138 St Stephens Cir                                           Riverview, FL 33569                                                                                       First Class Mail
Voting Party                   St Stephen Catholic Church, Grand Rapids                  c/o Warner Norcross & Judd LLP           Attn: Elisabeth M Von Eitzen                                     150 Ottawa Ave NW, Ste 1500        Grand Rapids, MI 49503             evoneitzen@wnj.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Stephen Catholic Community                             Middle Tennessee Council 560             14544 Lebanon Rd                                                 Old Hickory, TN 37138‐4648                                                                                First Class Mail
Chartered Organization         St Stephen Church                                         Muskingum Valley Council, Bsa 467        1036 Belford St                                                  Caldwell, OH 43724‐1006                                                                                   First Class Mail
Chartered Organization         St Stephen Church                                         Connecticut Yankee Council Bsa 072       6948 Main St                                                     Trumbull, CT 06611‐1340                                                                                   First Class Mail
Chartered Organization         St Stephen Church                                         Great Trail 433                          44 Britton St                                                    West Salem, OH 44287‐9318                                                                                 First Class Mail
Chartered Organization         St Stephen Episcopal Church                               Great Lakes Fsc 272                      2803 1st St                                                      Wyandotte, MI 48192‐5113                                                                                  First Class Mail
Voting Party                   St Stephen Evangelical Lutheran Church                    St Stephan Evangelical Lutheran Church   8400 France Ave S                                                Bloomington, MN 55431‐1519                                            proyer@ststephen.net                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Stephen Holy Name Society                              Greater St Louis Area Council 312        3949 Wilmington Ave                                              St Louis, MO 63116‐3222                                                                                   First Class Mail
Chartered Organization         St Stephen Lutheran Church                                Northern Star Council 250                8400 France Ave S                                                Bloomington, MN 55431‐1519                                                                                First Class Mail
Chartered Organization         St Stephen Lutheran Church                                Cascade Pacific Council 492              290 W Gloucester St                                              Gladstone, OR 97027‐2035                                                                                  First Class Mail
Chartered Organization         St Stephen Lutheran Church                                Central Florida Council 083              2140 W State Rd 434                                              Longwood, FL 32779‐5007                                                                                   First Class Mail
Chartered Organization         St Stephen Lutheran Church                                New Birth of Freedom 544                 30 W Main St                                                     New Kingstown, PA 17072                                                                                   First Class Mail
Chartered Organization         St Stephen Lutheran Church                                Great Trail 433                          3725 Kent Rd                                                     Stow, OH 44224‐4630                                                                                       First Class Mail
Chartered Organization         St Stephen Lutheran Church Men                            Indian Waters Council 553                119 N Church St                                                  Lexington, SC 29072‐2807                                                                                  First Class Mail
Chartered Organization         St Stephen Martyr R C Church                              Lincoln Heritage Council 205             2931 Pindell Ave                                                 Louisville, KY 40217‐1752                                                                                 First Class Mail
Chartered Organization         St Stephen Missionary Baptist Church                      Old Hickory Council 427                  5000 Noble St                                                    Winston Salem, NC 27105‐3120                                                                              First Class Mail
Chartered Organization         St Stephen Missionary Baptist Church                      Old Hickory Council 427                  5000 Noble St                                                    Winston Salem, NC 27105‐3120                                                                              First Class Mail
Chartered Organization         St Stephen Presbyterian Church                            Longhorn Council 662                     2700 Mcpherson Ave                                               Fort Worth, TX 76109‐1450                                                                                 First Class Mail
Chartered Organization         St Stephen Presbyterian Church                            Central Florida Council 083              8601 Lake Underhill Rd                                           Orlando, FL 32825‐3681                                                                                    First Class Mail
Voting Party                   St Stephen Protomartyer                                   Attn: Andre L Kydala                     54 Old Hwy 22                                                    Clinton, NJ 08809                                                                                         First Class Mail
Chartered Organization         St Stephen R C Church                                     French Creek Council 532                 210 Reed St                                                      Oil City, PA 16301‐2702                                                                                   First Class Mail
Voting Party                   St Stephen Umc                                            Attn: Rev Debora Christensen             3981 Macon Rd                                                    Memphis, TN 38122                                                     ststephen3981@gmail.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephen Umc                                            Attn: Johnie Allen Jr                    213 S Yazoo St                                                   Yazoo City, MS 39194                                                  pastorjohnallenumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephen Umc                                            Attn: Johnie L Allen Jr                  414 E Jefferson St                                               Yazoo City, MS 39194                                                  pastorjohnallenumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         St Stephen United Methodist Church                        Chickasaw Council 558                    3981 Macon Rd                                                    Memphis, TN 38122‐2322                                                                                    First Class Mail
Chartered Organization         St Stephen Utd Church Of Christ                           Lincoln Heritage Council 205             1875 Farnsley Rd                                                 Louisville, KY 40216‐4701                                                                                 First Class Mail
Chartered Organization         St Stephen Utd Methodist Church                           Mecklenburg County Council 415           6800 Sardis Rd                                                   Charlotte, NC 28270‐6054                                                                                  First Class Mail
Chartered Organization         St Stephens & St Agnes School                             National Capital Area Council 082        4401 W Braddock Rd                                               Alexandria, VA 22304‐1009                                                                                 First Class Mail
Chartered Organization         St Stephens & St Agnes Schools                            National Capital Area Council 082        400 Fontaine St                                                  Alexandria, VA 22302‐3701                                                                                 First Class Mail
Chartered Organization         St Stephens Anglican Catholic Church                      Northeast Georgia Council 101            800 Timothy Rd                                                   Athens, GA 30606‐3837                                                                                     First Class Mail
Chartered Organization         St Stephens Anglican Church                               Northeast Georgia Council 101            800 Timothy Rd                                                   Athens, GA 30606‐3837                                                                                     First Class Mail
Chartered Organization         St Stephens Catholic Church                               Northern Star Council 250                525 Jackson St                                                   Anoka, MN 55303‐2353                                                                                      First Class Mail
Chartered Organization         St Stephens Catholic Church                               President Gerald R Ford 781              750 Gladstone Dr Se                                              Grand Rapids, MI 49506‐2821                                                                               First Class Mail
Chartered Organization         St Stephens Catholic Church                               Buffalo Trail Council 567                4601 Neely Ave                                                   Midland, TX 79707‐5213                                                                                    First Class Mail
Chartered Organization         St Stephens Episcopal Church                              Westchester Putnam 388                   50 Bedford Rd                                                    Armonk, NY 10504‐1830                                                                                     First Class Mail
Chartered Organization         St Stephens Episcopal Church                              Marin Council 035                        3 Bayview Ave                                                    Belvedere, CA 94920‐2302                                                                                  First Class Mail
Chartered Organization         St Stephens Episcopal Church                              Baltimore Area Council 220               1110 St Stephens Church Rd                                       Crownsville, MD 21032‐1908                                                                                First Class Mail
Chartered Organization         St Stephens Episcopal Church                              French Creek Council 532                 1070 Dutch Rd                                                    Fairview, PA 16415‐1627                                                                                   First Class Mail
Chartered Organization         St Stephens Episcopal Church                              Greater St Louis Area Council 312        33 N Clay Ave                                                    Ferguson, MO 63135‐2418                                                                                   First Class Mail
Chartered Organization         St Stephens Episcopal Church                              Silicon Valley Monterey Bay 055          651 Broadway                                                     Gilroy, CA 95020‐4304                                                                                     First Class Mail
Chartered Organization         St Stephens Episcopal Church                              Sam Houston Area Council 576             1805 W Alabama St                                                Houston, TX 77098‐2601                                                                                    First Class Mail
Chartered Organization         St Stephens Episcopal Church                              Longs Peak Council 062                   1303 S Bross Ln                                                  Longmont, CO 80501‐6803                                                                                   First Class Mail
Chartered Organization         St Stephens Episcopal Church                              Garden State Council 690                 51 N Main St                                                     Mullica Hill, NJ 08062‐9414                                                                               First Class Mail
Chartered Organization         St Stephens Episcopal Church                              Great Smoky Mountain Council 557         212 N Tulane Ave                                                 Oak Ridge, TN 37830‐6308                                                                                  First Class Mail
Chartered Organization         St Stephens Episcopal Church                              Heart of Virginia Council 602            6000 Grove Ave                                                   Richmond, VA 23226‐2601                                                                                   First Class Mail
Chartered Organization         St Stephens Episcopal Church                              Garden State Council 690                 324 Bridgeboro St                                                Riverside, NJ 08075‐3205                                                                                  First Class Mail
Chartered Organization         St Stephens Episcopal Church                              Jersey Shore Council 341                 367 Route 9                                                      Waretown, NJ 08758‐1702                                                                                   First Class Mail
Chartered Organization         St Stephens Episcopal Church                              Jersey Shore Council 341                 180 Route 539                                                    Whiting, NJ 08759‐1248                                                                                    First Class Mail
Voting Party                   St Stephens Episcopal Church                              Attn: David Peoples                      1820 E County Rd 540A                                            Lakeland, FL 33813‐3737                                               ststoffice@gmail.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephens Episcopal Church                              Attn: Dustin Barrows                     4102 S New Braunfels Ave, Ste 110                                San Antonio, TX 78223                                                 StStephensSA@yahoo.com              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephens Episcopal Church                              50 Bedford Rd                            Armonk, NY 10504                                                                                                                       office@ststephensarmonk.com         Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephens Episcopal Church                              50 Bedford Rd                            Armonk, NY 10504                                                                                                                       offce@ststephensamonk.org           Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephens Episcopal Church                              Attn: John Adams                         422 W 2nd St                                                     Grand Island, ME 68801                                                lynne@ststephengi.org               Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephens Episcopal Church                              Attn: Nancy Cooke‐Jenkins                6000 Fm 3237, Unit A                                             Wimberley, TX 78676                                                   jwatson@ststeve.org                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephens Episcopal Church                              c/o Davidoff Hutcher & Citron LLP        Attn: James B Glucksman                                          605 3rd Ave                        New York, NY 10158                 jbg@dhclegal.com                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephens Episcopal Church                              Attn: Kathy Knight, Warden               Attn: Colleen Brooks, Treasurer                                  49‐51 N Main St                    Mullica Hill, NJ 08062             info@reddoorchurch.com              Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephens Episcopal Church (Mardela)                    c/o The Law Office of Andrea Ross        Attn: Andrea Ross, Esq                                           129 N West St, Ste 1               Easton, MD 21601                   Patrick@DioceseofEaston.org         Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephens Episcopal Church In Belvedere, CA             Attn: The Rev Phillip Ellsworth          3 Bayview Ave                                                    Belvedere, CA 94920                                                   fr.ellsworth@ststephenschurch.org   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephens Episcopal Church Of Oak Ridge, TN             Attn: George R Arrants, Esq              814 Episcopal School Way                                         Knoxville, TN 37932                                                   garrants@kramer‐rayson.com          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephens Episcopal Church, Delmar, Ny                  Attn: Scott Arthur Garno                 16 Elsmere Ave                                                   Delmar, NY 12054                                                      ststephensdelmar@gmail.com          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   St Stephens Episcopal Church, Richmond VA                 c/o Burtch Law Pllc                      Attn: Jack W Burtch, Jr                                          1802 Bayberry Ct, Ste 302          Richmond, VA 23226                 jb@burtchlaw.com                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                Page 371 of 442
                                                                                   Case 20-10343-LSS                                                        Doc 8171                                    Filed 01/06/22                                                        Page 387 of 457
                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                            Service List
                                                                                                                                                                                     Served as set forth below

        Description                                                         Name                                                                                                         Address                                                                                                                  Email              Method of Service
Voting Party                   St Stephens Episcopal Church, Richmond VA                                      Attn: Parish Administrator              6000 Grove Ave                                           Richmond, VA 23226‐2601                                                  blee@ststephensrva.org            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Stephens Episcopal School Harrisburg Pa                                     Attn: Eugene N Mchugh                   225 Grandview Ave, 5th Fl                                Camp Hill, PA 17011                                                      emchugh@tthlaw.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Stephens Evangelical Lutheran Church                                        Twin Rivers Council 364                 751 County Route 7                                       East Schodack, NY 12063                                                                                    First Class Mail
Chartered Organization         St Stephens Fire Dept                                                          Piedmont Council 420                    4060 Springs Rd                                          Conover, NC 28613‐7796                                                                                     First Class Mail
Chartered Organization         St Stephens Lutheran Church                                                    Hawkeye Area Council 172                610 31st St Se                                           Cedar Rapids, IA 52403‐3021                                                                                First Class Mail
Chartered Organization         St Stephens Lutheran Church                                                    Golden Empire Council 047               1001 Olson Ln                                            El Dorado Hills, CA 95762‐4307                                                                             First Class Mail
Chartered Organization         St Stephens Lutheran Church                                                    Central N Carolina Council 416          4401 St Stephens Church Rd                               Gold Hill, NC 28071‐9422                                                                                   First Class Mail
Chartered Organization         St Stephens Lutheran Church                                                    Glaciers Edge Council 620               5700 Pheasant Hill Rd                                    Monona, WI 53716‐3118                                                                                      First Class Mail
Chartered Organization         St Stephens Lutheran Church                                                    Northern Star Council 250               1575 Charlton St                                         West St Paul, MN 55118‐2907                                                                                First Class Mail
Chartered Organization         St Stephens Lutheran Church                                                    Garden State Council 690                230 N Evergreen Ave                                      Woodbury, NJ 08096‐1800                                                                                    First Class Mail
Voting Party                   St Stephens Memorial Episcopal Church                                          Attn: Salli Gordon, Jr Warden           118 Woolmans Ln                                          Mt Laurel, NJ 08054                                                      sallijane@comcast.net             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Stephens Parish Council                                                     Samoset Council, Bsa 627                1401 Clark St                                            Stevens Point, WI 54481‐2906                                                                               First Class Mail
Chartered Organization         St Stephens Parish Life                                                        Chief Seattle Council 609               13055 SE 192nd St                                        Renton, WA 98058‐7604                                                                                      First Class Mail
Chartered Organization         St Stephens Presbyterian Church                                                Last Frontier Council 480               2424 NW 50th St                                          Oklahoma City, OK 73112‐8042                                                                               First Class Mail
Chartered Organization         St Stephens R C Church                                                         Baltimore Area Council 220              P.O. Box 62                                              Bradshaw, MD 21087‐0062                                                                                    First Class Mail
Chartered Organization         St Stephens R C Church                                                         Greater Niagara Frontier Council 380    2100 Baseline Rd                                         Grand Island, NY 14072‐2059                                                                                First Class Mail
Voting Party                   St Stephens R C Congregation, Inc                                              c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                    218 N Charles St, Ste 400             Baltimore, MD 21201                moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Stephens Umc                                                                Attn: Theodore Ximba                    5160 Washington St                                       West Roxbury, MA 02132                                                   ttximba@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Stephens Umc                                                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200              Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Stephens Umc Marblehead Ma Commonwealth Bast District                       Attn: Ross Johnson                      67 Cornell Blvd                                          Marblehead, MA 01945                                                                                       First Class Mail
Chartered Organization         St Stephens United Methodist Church                                            Great SW Council 412                    4601 Juan Tabo Blvd Ne                                   Albuquerque, NM 87111‐2626                                                                                 First Class Mail
Chartered Organization         St Stephens United Methodist Church                                            Great SW Council 412                    4601 Juan Tabo Blvd Ne                                   Albuquerque, NM 87111‐2626                                                                                 First Class Mail
Voting Party                   St Stephens United Methodist Church                                            Attn: Theodore Ximba                    5160 Washington St                                       West Roxbury, MA 02132                                                   ttximba@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Stephens United Methodist Church Marblehead Ma Commonwealth Bast District   Attn: Ross Johnson                      18 Cedar St                                              Marblehead, MA 01945                                                     ross.thomas.johnson@gmail.com     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Stephens Utd Church Of Christ                                               Samoset Council, Bsa 627                903 E 2nd St                                             Merrill, WI 54452‐2520                                                                                     First Class Mail
Chartered Organization         St Stephens Utd Methodist Church                                               Indian Nations Council 488              400 W New Orleans St                                     Broken Arrow, OK 74011‐2207                                                                                First Class Mail
Chartered Organization         St Stephens Utd Methodist Church                                               National Capital Area Council 082       9203 Braddock Rd                                         Burke, VA 22015‐1613                                                                                       First Class Mail
Chartered Organization         St Stephens Utd Methodist Church                                               Sam Houston Area Council 576            2003 W 43rd St                                           Houston, TX 77018‐3009                                                                                     First Class Mail
Chartered Organization         St Stephens Utd Methodist Church                                               The Spirit of Adventure 227             67 Cornell Rd                                            Marblehead, MA 01945‐2143                                                                                  First Class Mail
Voting Party                   St Stephen's‐Severn Parish                                                     Attn: Victor Hailey                     1110 St Stephens Church Rd                               Crownsville, MD 21032                                                    fatherhailey@gmail.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Susanna Catholic Church                                                     Dan Beard Council, Bsa 438              616 Reading Rd                                           Mason, OH 45040‐2191                                                                                       First Class Mail
Chartered Organization         St Susanna Catholic Church                                                     Crossroads of America 160               1210 E Main St                                           Plainfield, IN 46168‐1763                                                                                  First Class Mail
Chartered Organization         St Sylvester Catholic Church                                                   Gulf Coast Council 773                  6464 Gulf Breeze Pkwy                                    Gulf Breeze, FL 32563‐7003                                                                                 First Class Mail
Chartered Organization         St Sylvesters R C Church                                                       Laurel Highlands Council 527            3754 Brownsville Rd                                      Pittsburgh, PA 15227‐3555                                                                                  First Class Mail
Chartered Organization         St Sylvesters R C Church                                                       Greater New York Councils, Bsa 640      854 Targee St                                            Staten Island, NY 10304‐4517                                                                               First Class Mail
Chartered Organization         St Sylvesters R C Church                                                       Greater New York Councils, Bsa 640      854 Targee St                                            Staten Island, NY 10304‐4517                                                                               First Class Mail
Chartered Organization         St Symphorosa R C Church                                                       Pathway To Adventure 456                6135 S Austin Ave                                        Chicago, IL 60638‐4319                                                                                     First Class Mail
Chartered Organization         St Tammany Parish Sheriff Office                                               Southeast Louisiana Council 214         300 Brownswitch Rd                                       Slidell, LA 70458‐1010                                                                                     First Class Mail
Chartered Organization         St Tarcissus Holy Name Society                                                 Pathway To Adventure 456                6020 W Ardmore Ave                                       Chicago, IL 60646‐5320                                                                                     First Class Mail
Chartered Organization         St Teresa Benedicta Of The Cross                                               Hoosier Trails Council 145 145          23455 Gavin Ln                                           Lawrenceburg, IN 47025‐7484                                                                                First Class Mail
Chartered Organization         St Teresa Catholic Church (St Clair)                                           Greater St Louis Area Council 312       1201 Lebanon Ave                                         Belleville, IL 62221‐4019                                                                                  First Class Mail
Chartered Organization         St Teresa Home & School Assc                                                   South Florida Council 084               2701 Indian Mound Trl                                    Coral Gables, FL 33134‐5553                                                                                First Class Mail
Chartered Organization         St Teresa Of Avila Catholic Parish                                             Nevada Area Council 329                 3000 N Lompa Ln                                          Carson City, NV 89706‐1093                                                                                 First Class Mail
Chartered Organization         St Teresa Of Avila Church                                                      Laurel Highlands Council 527            1000 Avila Ct                                            Pittsburgh, PA 15237‐2127                                                                                  First Class Mail
Chartered Organization         St Teresa Of Avila R C Church                                                  Dan Beard Council, Bsa 438              1175 Overlook Ave                                        Cincinnati, OH 45238‐4403                                                                                  First Class Mail
Chartered Organization         St Teresa Of Avila R C Church                                                  Patriots Path Council 358               306 Morris Ave                                           Summit, NJ 07901‐2554                                                                                      First Class Mail
Chartered Organization         St Teresa Of The Child Jesus Church                                            Narragansett 546                        Newport Ave                                              Rectory                               Pawtucket, RI 02861                                                  First Class Mail
Chartered Organization         St Teresa R C Church                                                           Greater New York Councils, Bsa 640      5020 45th St                                             Woodside, NY 11377‐7322                                                                                    First Class Mail
Chartered Organization         St Teresas Catholic Church                                                     South Georgia Council 098               421 Edgewood Ln                                          Albany, GA 31707‐3909                                                                                      First Class Mail
Chartered Organization         St Teresas Catholic Church                                                     Cornhusker Council 324                  735 S 36th St                                            Lincoln, NE 68510‐1666                                                                                     First Class Mail
Chartered Organization         St Teresas Church                                                              Greater New York Councils, Bsa 640      1634 Victory Blvd                                        Staten Island, NY 10314‐3504                                                                               First Class Mail
Chartered Organization         St Thecla Parish                                                               Great Lakes Fsc 272                     20740 S Nunneley Rd                                      Clinton Township, MI 48035‐1628                                                                            First Class Mail
Chartered Organization         St Thecla R C Church                                                           Pathway To Adventure 456                6725 W Devon Ave                                         Chicago, IL 60631‐2005                                                                                     First Class Mail
Voting Party                   St Theodore Parish                                                             Attn: Andre L Kydala                    54 Old Hwy 22                                            Clinton, NJ 08809                                                                                          First Class Mail
Chartered Organization         St Theresa                                                                     Aloha Council, Bsa 104                  712 N School St                                          Honolulu, HI 96817‐3098                                                                                    First Class Mail
Chartered Organization         St Theresa Catholic Church                                                     Atlanta Area Council 092                4401 Prestley Mill Rd                                    Douglasville, GA 30135‐1212                                                                                First Class Mail
Chartered Organization         St Theresa Catholic Church                                                     Heart of Virginia Council 602           709 Buffalo St                                           Farmville, VA 23901‐1109                                                                                   First Class Mail
Chartered Organization         St Theresa Catholic Church                                                     Pacific Harbors Council, Bsa 612        3939 SW 331st St                                         Federal Way, WA 98023‐2638                                                                                 First Class Mail
Chartered Organization         St Theresa Catholic Church                                                     Coastal Carolina Council 550            11001 Dorchester Rd                                      Summerville, SC 29485‐6306                                                                                 First Class Mail
Chartered Organization         St Theresa Church                                                              National Capital Area Council 082       21370 St Theresa Ln                                      Ashburn, VA 20147‐5344                                                                                     First Class Mail
Chartered Organization         St Theresa Of Avila Catholic Church                                            Istrouma Area Council 211               1022 N Burnside Ave                                      Gonzales, LA 70737‐2551                                                                                    First Class Mail
Chartered Organization         St Theresa Parent Teacher Club                                                 Mid Iowa Council 177                    5810 Carpenter Ave                                       Des Moines, IA 50311‐2026                                                                                  First Class Mail
Chartered Organization         St Theresa Parish                                                              Daniel Webster Council, Bsa 330         158 Old W Hopkinton Rd                                   Henniker, NH 03242                                                                                         First Class Mail
Chartered Organization         St Theresa Parish And School                                                   Grand Canyon Council 010                5045 E Thomas Rd                                         Phoenix, AZ 85018‐7912                                                                                     First Class Mail
Chartered Organization         St Theresa R C Church                                                          New Birth of Freedom 544                1300 Bridge St                                           New Cumberland, PA 17070‐1115                                                                              First Class Mail
Chartered Organization         St Theresa RC Church                                                           Connecticut Yankee Council Bsa 072      5301 Main St                                             Trumbull, CT 06611‐4158                                                                                    First Class Mail
Chartered Organization         St Theresa School                                                              Greater New York Councils, Bsa 640      2872 St Theresa Ave                                      Bronx, NY 10461‐4153                                                                                       First Class Mail
Chartered Organization         St Theresa School Board                                                        Pathway To Adventure 456                445 N Benton St                                          Palatine, IL 60067‐3501                                                                                    First Class Mail
Chartered Organization         St Theresas Catholic Church                                                    National Capital Area Council 082       21371 St Theresa Ln                                      Ashburn, VA 20147‐5345                                                                                     First Class Mail
Chartered Organization         St Theresas Catholic Church                                                    Capitol Area Council 564                4311 Small Dr                                            Austin, TX 78731‐3634                                                                                      First Class Mail
Chartered Organization         St Theresas Catholic Church                                                    Mid Iowa Council 177                    1230 Merle Hay Rd                                        Des Moines, IA 50311‐2043                                                                                  First Class Mail
Chartered Organization         St Theresas Catholic Church                                                    Quapaw Area Council 018                 629 Baseline Rd                                          Little Rock, AR 72209                                                                                      First Class Mail
Chartered Organization         St Theresas Catholic Church                                                    Sam Houston Area Council 576            1200 7th St                                              Sugar Land, TX 77478‐2773                                                                                  First Class Mail
Voting Party                   St Theresas Catholic Church Austin Tx                                          c/o Bsa Coordinator                     Attn: Chancellor                                         6225 E US 290 Hwy Svrd Eb             Austin, TX 78723                   ron‐walker@austindiocese.org      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Theresas Catholic Church Austin Tx                                          Attn: Rev Larry Covington               4311 Small Dr                                            Austin, TX 78731                                                                                           First Class Mail
Chartered Organization         St Theresas Parish                                                             The Spirit of Adventure 227             63 Winter St                                             North Reading, MA 01864‐2264                                                                               First Class Mail
Chartered Organization         St Theresas R C Church                                                         The Spirit of Adventure 227             470 Boston Rd                                            Billerica, MA 01821‐2706                                                                                   First Class Mail
Chartered Organization         St Theresas R C Church                                                         Patriots Path Council 358               541 Washington Ave                                       Kenilworth, NJ 07033‐1255                                                                                  First Class Mail
Chartered Organization         St Therese Catholic Church                                                     President Gerald R Ford 781             128 Cedar St                                             Wayland, MI 49348‐1302                                                                                     First Class Mail
Chartered Organization         St Therese Catholic Church                                                     South Texas Council 577                 315 Pugh St                                              Woodsboro, TX 78393                                                                                        First Class Mail
Chartered Organization         St Therese Catholic Church                                                     South Texas Council 577                 315 Pugh St                                              Woodsboro, TX 78393                                                                                        First Class Mail
Chartered Organization         St Therese Catholic School                                                     Great SW Council 412                    311 Shropshire Pl Nw                                     Albuquerque, NM 87107‐2310                                                                                 First Class Mail
Chartered Organization         St Therese Church                                                              Black Hills Area Council 695 695        532 Adams St                                             Rapid City, SD 57701‐0893                                                                                  First Class Mail
Chartered Organization         St Therese Church Holy Name Society                                            Dan Beard Council, Bsa 438              11 Temple Pl                                             Southgate, KY 41071‐3133                                                                                   First Class Mail
Chartered Organization         St Therese De Lisieux Catholic Church                                          Gulf Stream Council 085                 11800 Lake Worth Rd                                      Wellington, FL 33449‐8654                                                                                  First Class Mail
Chartered Organization         St Therese L Isieux Parish                                                     Pine Tree Council 218                   10 St Ignatius St                                        Sanford, ME 04073‐3319                                                                                     First Class Mail
Chartered Organization         St Therese Of Carmel Catholic Church                                           San Diego Imperial Council 049          4355 Del Mar Trails Rd                                   San Diego, CA 92130‐2296                                                                                   First Class Mail
Voting Party                   St Therese Of Lisieux                                                          c/o Warner Norcross Judd LLP            Attn: Elisabeth M Von Eitzen                             150 Ottawa Ave NW, Ste 1500           Grand Rapids, MI 49503             evoneitzen@wnj.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Therese Of Lisieux                                                          Attn: Deacon Jeff Ryan                  128 Cedar St                                             Wayland, MI 49348                                                        dcnjeffryan@gmail.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Therese Of Lisieux Carmelite Parish                                         Northern New Jersey Council, Bsa 333    120 Monroe Ave                                           Cresskill, NJ 07626‐1405                                                                                   First Class Mail
Chartered Organization         St Therese Parish                                                              San Diego Imperial Council 049          6400 St Therese Way                                      San Diego, CA 92120‐3018                                                                                   First Class Mail
Chartered Organization         St Therese R C Church                                                          Lake Erie Council 440                   5276 E 105th St                                          Garfield Heights, OH 44125‐2602                                                                            First Class Mail
Chartered Organization         St Therese R C Church                                                          Laurel Highlands Council 527            1 St Therese Ct                                          Munhall, PA 15120‐3701                                                                                     First Class Mail
Chartered Organization         St Therese Scout Parents, Inc                                                  Heart of America Council 307            P.O. Box 14342                                           Parkville, MO 64152‐7342                                                                                   First Class Mail
Chartered Organization         St Thomas Aquinas                                                              Greater New York Councils, Bsa 640      1550 Hendrickson St                                      Brooklyn, NY 11234‐3514                                                                                    First Class Mail
Chartered Organization         St Thomas Aquinas                                                              Water and Woods Council 782             955 Alton Rd                                             East Lansing, MI 48823‐2749                                                                                First Class Mail
Chartered Organization         St Thomas Aquinas Catholic Church                                              Atlanta Area Council 092                535 Rucker Rd                                            Alpharetta, GA 30004‐4048                                                                                  First Class Mail
Chartered Organization         St Thomas Aquinas Catholic Church                                              Grand Canyon Council 010                13720 W Thomas Rd                                        Avondale, AZ 85392‐1001                                                                                    First Class Mail
Chartered Organization         St Thomas Aquinas Catholic Church                                              Cascade Pacific Council 492             324 NE Oak St                                            Camas, WA 98607‐1439                                                                                       First Class Mail
Chartered Organization         St Thomas Aquinas Catholic Church                                              Mid Iowa Council 177                    210 Route 63 Hwy                                         Indianola, IA 50125                                                                                        First Class Mail
Chartered Organization         St Thomas Aquinas Catholic Church                                              Greater Tampa Bay Area 089              8320 Old County Rd 54                                    New Port Richey, FL 34653‐6415                                                                             First Class Mail
Chartered Organization         St Thomas Aquinas Catholic Church                                              Central Florida Council 083             700 Brown Chapel Rd                                      St Cloud, FL 34769‐2042                                                                                    First Class Mail
Chartered Organization         St Thomas Aquinas Catholic Church                                              Northern Star Council 250               920 Holley Ave                                           St Paul Park, MN 55071‐1581                                                                                First Class Mail
Chartered Organization         St Thomas Aquinas Catholic Church                                              Quivira Council, Bsa 198                1321 N Stratford Ln                                      Wichita, KS 67206‐1313                                                                                     First Class Mail
Voting Party                   St Thomas Aquinas Catholic Church                                              Attn: Rev Albert Laforet                6225 E US 290 Hwy Svrd Eb                                Austin, TX 78723                                                         ron‐walker@austindiocese.org      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Aquinas Catholic Church                                              Attn: Rev Albert Laforet                2541 Earl Rudder Frwy                                    College Station, TX 77845                                                                                  First Class Mail
Chartered Organization         St Thomas Aquinas Church                                                       Baltimore Area Council 220              1008 W 37th St                                           Baltimore, MD 21211‐1801                                                                                   First Class Mail
Chartered Organization         St Thomas Aquinas Church                                                       Three Harbors Council 636               301 S 1st St                                             Waterford, WI 53185                                                                                        First Class Mail
Chartered Organization         St Thomas Aquinas Church                                                       Muskingum Valley Council, Bsa 467       144 N 5th St                                             Zanesville, OH 43701‐3506                                                                                  First Class Mail
Chartered Organization         St Thomas Aquinas Dar Catholic Church                                          Great SW Council 412                    1502 Sara Rd Se                                          Rio Rancho, NM 87124‐1848                                                                                  First Class Mail
Chartered Organization         St Thomas Aquinas Holy Name Society                                            Circle Ten Council 571                  6306 Kenwood Ave                                         Dallas, TX 75214‐3018                                                                                      First Class Mail
Chartered Organization         St Thomas Aquinas Holy Name Society                                            Circle Ten Council 571                  6347 Velasco Ave                                         Dallas, TX 75214‐3343                                                                                      First Class Mail
Chartered Organization         St Thomas Aquinas R C Church                                                   Mecklenburg County Council 415          1400 Suther Rd                                           Charlotte, NC 28213‐0551                                                                                   First Class Mail
Voting Party                   St Thomas Aquinas R C Congregation, Inc                                        c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                    218 N Charles St, Ste 400             Baltimore, MD 21201                moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Aquinas School, Inc                                                  c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                    218 N Charles St, Ste 400             Baltimore, MD 21201                moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Thomas Church                                                               Hawk Mountain Council 528               536 N Main St                                            Bernville, PA 19506‐9513                                                                                   First Class Mail
Chartered Organization         St Thomas Church                                                               Dan Beard Council, Bsa 438              500 S Fort Thomas Ave                                    Fort Thomas, KY 41075                                                                                      First Class Mail
Chartered Organization         St Thomas Church                                                               Dan Beard Council, Bsa 438              26 E Villa Pl                                            Fort Thomas, KY 41075‐2223                                                                                 First Class Mail
Voting Party                   St Thomas Church                                                               Attn: Allen William Cooper              60 Church St, Apt 6                                      Saranoa Lake, NY 12983                                                   twocoops23@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Church                                                               St Thomas' Church                       8 Brentwood Ave                                          Tupper Lake, NY 12986‐1513                                               twocoops23@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Church                                                               Attn: Linda Kreussling                  298 Conklin St                                           Farmingdale, NY 11735‐2609                                               stthomaschurch1@verizon.net       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Church‐Garrison Forest                                               232 St Thomas Ln                        Owings Mills, MD 21117                                                                                                            bparks@stthomaschurch.us          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Thomas Episc Ch Farmingdale                                                 Theodore Roosevelt Council 386          298 Conklin St                                           Farmingdale, NY 11735‐2609                                                                                 First Class Mail
Voting Party                   St Thomas Episcopal Ch / Episcopal Diocese Of East Carolina                    424 Church St W                         Ahoskie, NC 27910                                                                                                                 jeff@saintthomasahoskie.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Ch / Episcopal Diocese Of East Carolina                    Attn: Jeffrey A Douglas                 P.O. Box 263                                             Ahoskie, NC 27910                                                        jeff@saintthomasahoskie.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Ch / Episcopal Diocese Of East Carolina                    Attn: Joan C Geiszler‐Ludlum            705 Doctors Dr                                           Kinston, NC 28501                                                        jcgl@ec.rr.com                    Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Thomas Episcopal Church                                                     Southern Shores Fsc 783                 16 Van Buren St E                                        Battle Creek, MI 49017‐3916                                                                                First Class Mail
Chartered Organization         St Thomas Episcopal Church                                                     Connecticut Yankee Council Bsa 072      95 Greenwood Ave                                         Bethel, CT 06801‐2528                                                                                      First Class Mail
Chartered Organization         St Thomas Episcopal Church                                                     Greater Alabama Council 001             12200 Bailey Cove Rd Se                                  Huntsville, AL 35803‐2641                                                                                  First Class Mail
Chartered Organization         St Thomas Episcopal Church                                                     Baltimore Area Council 220              2216 Pot Spring Rd                                       Lutherville Timonium, MD 21093‐2724                                                                        First Class Mail
Chartered Organization         St Thomas Episcopal Church                                                     Chief Seattle Council 609               P.O. Box 124                                             Medina, WA 98039‐0124                                                                                      First Class Mail
Chartered Organization         St Thomas Episcopal Church                                                     Bay‐Lakes Council 635                   226 Washington St                                        Menasha, WI 54952‐3353                                                                                     First Class Mail
Chartered Organization         St Thomas Episcopal Church                                                     Alamo Area Council 583                  1416 N 1604 E                                            San Antonio, TX 78232                                                                                      First Class Mail
Chartered Organization         St Thomas Episcopal Church                                                     Dan Beard Council, Bsa 438              100 Miami Ave                                            Terrace Park, OH 45174‐1175                                                                                First Class Mail
Chartered Organization         St Thomas Episcopal Church                                                     Twin Rivers Council 364                 8 Brentwood Ave                                          Tupper Lake, NY 12986‐1513                                                                                 First Class Mail
Voting Party                   St Thomas Episcopal Church                                                     6 Commonwealth Blvd                     Bellerose Village, NY 01101                                                                                                       stthomasbellerose@verizon.net     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church                                                     Attn: Peter C Nicolaysen                P.O. Box 7                                               Casper, WY 82602                                                         petercn@vcn.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church                                                     317 S Mary St                           Eustis, FL 32726                                                                                                                  office@stthomaseustis.com         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church                                                     122 Liberty St                          Bath, NY 14810                                                                                                                    office@stthomasbath.org           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church                                                     Attn: Gregory Bellos                    1416 N Loop 1604 E                                       San Antonio, TX 78232                                                    kstephens@tom1604.org             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church                                                     Attn: John C Bradley                    67 E Main St                                             Hornell, NY 14843                                                        johnclint@gmail.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church                                                     Attn: George R Arrants, Esq             814 Episcopal School Wy                                  Knoxville, TN 37932                                                      garrants@kramer‐rayson.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church                                                     Attn: Rev Angela Cortinas               906 George Bush Dr                                       College Station, TX 77840‐3056                                           churchoffice@stthomasbcs.org      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church                                                     P O Box 608                             Rawlins, WY 82301                                                                                                                 cbepp@hotmail.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church                                                     Attn: Bruce Ragon                       5401 Tiffany Ln                                          Knoxville, TN 37912                                                      bragon45@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church                                                     233 Mann Dr                             Chesapeake, VA 23322                                                                                                              admin@stthomaschesapeake.org      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church Menasha, Wi                                         c/o Episcopal Diocese of Fond Du Lac    Attn: Gordon Stillings                                   490 Rainbow Beach Rd                  Neenah, WI 54956                   gordon@stillingslaw.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church Menasha, Wi                                         c/o Episcopal Diocese of Fond Du Lac    1051 N Lynndale Dr                                       Appleton, WI 54914                                                       diofdl@diofdl.org                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas' Episcopal Church, Homestead Towson                                  Attn: Loree Penner                      2216 Pot Spring Rd                                       Timonium, MD 21093                                                       lapenner@gmail.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church, Inc                                                Attn: Skip Giffin                       5303 Diamondhead Cir                                     Diamondhead, MS 39525                                                    skipg@cableone.net                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St Thomas Episcopal Church, Inc                                                Attn: Marcus M Wilson                   190 E Capitol St, Ste 650                                Jackson, MS 39201                                                        mwilson@blswlaw.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         St Thomas Episcopal Parish                                                     South Florida Council 084               5690 N Kendall Dr                                        Coral Gables, FL 33156‐2132                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                            Page 372 of 442
                                                                                  Case 20-10343-LSS                                       Doc 8171                                    Filed 01/06/22                                                    Page 388 of 457
                                                                                                                                                                         Exhibit B
                                                                                                                                                                          Service List
                                                                                                                                                                   Served as set forth below

        Description                                                        Name                                                                                        Address                                                                                                          Email                  Method of Service
Voting Party                   St Thomas Housing Corp                                    Attn: James Gadsden                        168 W Boston Post Rd                                     Mamaroneck, NY 10543                                                 office@saintthomasmmk.org         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Thomas Housing Corp                                    168 W Boston Post Rd                       Mamaroneck, NY 10543                                                                                                          office@saintthomasmmk.org         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Thomas Lutheran Church                                 Jersey Shore Council 341                   135 Salmon St                                            Brick, NJ 08723‐3456                                                                                   First Class Mail
Voting Party                   St Thomas Lutheran Church                                 23801 Kelly Rd                             Eastpointe, MI 48021                                                                                                          churchoffice@stl‐eastpointe.org   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Thomas Mens Club                                       W D Boyce 138                              4229 N Monroe Ave                                        Peoria Heights, IL 61616‐7640                                                                          First Class Mail
Chartered Organization         St Thomas More Cathedral                                  National Capital Area Council 082          3901 Cathedral Ln                                        Arlington, VA 22203‐3600                                                                               First Class Mail
Chartered Organization         St Thomas More Catholic Church                            Bay‐Lakes Council 635                      1810B N Mcdonald St                                      Appleton, WI 54911                                                                                     First Class Mail
Chartered Organization         St Thomas More Catholic Church                            Capitol Area Council 564                   10205 N Fm 620 Rd                                        Austin, TX 78726‐2210                                                                                  First Class Mail
Chartered Organization         St Thomas More Catholic Church                            Istrouma Area Council 211                  11441 Goodwood Blvd                                      Baton Rouge, LA 70815‐6222                                                                             First Class Mail
Chartered Organization         St Thomas More Catholic Church                            Sioux Council 733                          1700 8th St S                                            Brookings, SD 57006‐3501                                                                               First Class Mail
Chartered Organization         St Thomas More Catholic Church                            Occoneechee 421                            940 Carmichael St                                        Chapel Hill, NC 27514‐4203                                                                             First Class Mail
Chartered Organization         St Thomas More Catholic Church                            Three Fires Council 127                    215 Thomas More Dr                                       Elgin, IL 60123‐5054                                                                                   First Class Mail
Chartered Organization         St Thomas More Catholic Church                            Denver Area Council 061                    8035 S Quebec St                                         Englewood, CO 80112‐3118                                                                               First Class Mail
Chartered Organization         St Thomas More Catholic Church                            Sam Houston Area Council 576               10330 Hillcroft St                                       Houston, TX 77096‐4702                                                                                 First Class Mail
Chartered Organization         St Thomas More Catholic Church                            Great Salt Lake Council 590                3015 E Creek Rd                                          Sandy, UT 84093‐6575                                                                                   First Class Mail
Chartered Organization         St Thomas More Catholic Church                            Southwest Florida Council 088              2506 Gulf Gate Dr                                        Sarasota, FL 34231‐5731                                                                                First Class Mail
Voting Party                   St Thomas More Catholic Church                            Attn: Chancellor                           6225 E US 290 Hwy Svrd Eb                                Austin, TX 78723                                                     ron‐walker@austindiocese.org      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Thomas More Catholic Church                            Attn: Rev Michael O'Connor                 10205 N Fm 620                                           Austin, TX 78726                                                                                       First Class Mail
Chartered Organization         St Thomas More Catholic Community                         Las Vegas Area Council 328                 130 N Pecos Rd                                           Henderson, NV 89074‐3333                                                                               First Class Mail
Chartered Organization         St Thomas More Center                                     Denver Area Council 061                    8035 S Quebec St                                         Centennial, CO 80112‐3118                                                                              First Class Mail
Chartered Organization         St Thomas More Church                                     Lake Erie Council 440                      4170 N Amber Dr                                          Brooklyn, OH 44144‐1328                                                                                First Class Mail
Chartered Organization         St Thomas More Church                                     Dan Beard Council, Bsa 438                 800 Ohio Pike                                            Cincinnati, OH 45245‐2219                                                                              First Class Mail
Chartered Organization         St Thomas More Church                                     Suffolk County Council Inc 404             115 Kings Hwy                                            Hauppauge, NY 11788‐4204                                                                               First Class Mail
Chartered Organization         St Thomas More Holy Name Society                          Pathway To Adventure 456                   8501 Calumet Ave                                         Munster, IN 46321‐2522                                                                                 First Class Mail
Chartered Organization         St Thomas More Newman Center                              Great Rivers Council 653                   602 Turner Ave                                           Columbia, MO 65201‐4222                                                                                First Class Mail
Chartered Organization         St Thomas More Parents For Scouting, Inc                  Heart of America Council 307               11822 Holmes Rd                                          Kansas City, MO 64131‐3843                                                                             First Class Mail
Chartered Organization         St Thomas More Parish                                     Minsi Trails Council 502                   1040 Flexer Ave                                          Allentown, PA 18103‐5533                                                                               First Class Mail
Chartered Organization         St Thomas More Parish                                     Dan Beard Council, Bsa 438                 800 Ohio Pike                                            Cincinnati, OH 45245‐2219                                                                              First Class Mail
Chartered Organization         St Thomas More Parish Council                             Northern Star Council 250                  1079 Summit Ave                                          St Paul, MN 55105‐3004                                                                                 First Class Mail
Chartered Organization         St Thomas More R C Church                                 Monmouth Council, Bsa 347                  186 Gordons Corner Rd                                    Manalapan, NJ 07726‐3323                                                                               First Class Mail
Voting Party                   St Thomas More R C Congregation, Inc                      c/o Gallagher Evelius & Jones LLP          Attn: Matthew W Oakey                                    218 N Charles St, Ste 400         Baltimore, MD 21201                moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Thomas More School                                     Greater Los Angeles Area 033               2510 S Fremont Ave                                       Alhambra, CA 91803‐4321                                                                                First Class Mail
Chartered Organization         St Thomas More School                                     Three Fires Council 127                    1625 W Highland Ave                                      Elgin, IL 60123‐5137                                                                                   First Class Mail
Chartered Organization         St Thomas Of Canterbury                                   Suffolk County Council Inc 404             90 Edgewater Ave                                         Smithtown, NY 11787‐3467                                                                               First Class Mail
Chartered Organization         St Thomas Of Villanova                                    The Spirit of Adventure 227                11 Hardin St                                             Wilmington, MA 01887                                                                                   First Class Mail
Chartered Organization         St Thomas Parish Mens Club                                W D Boyce 138                              904 E Lake Ave                                           Peoria Heights, IL 61616‐6360                                                                          First Class Mail
Chartered Organization         St Thomas Presbyterian Church                             Sam Houston Area Council 576               14100 Memorial Dr                                        Houston, TX 77079‐6825                                                                                 First Class Mail
Chartered Organization         St Thomas School                                          Prairielands 117                           311 E Madison St                                         Philo, IL 61864‐9652                                                                                   First Class Mail
Chartered Organization         St Thomas Smc Church                                      Cradle of Liberty Council 525              608 Welsh Rd                                             Philadelphia, PA 19115‐2821                                                                            First Class Mail
Chartered Organization         St Thomas The Apostle                                     Twin Rivers Council 364                    35 Adams Pl                                              Delmar, NY 12054‐1926                                                                                  First Class Mail
Voting Party                   St Thomas The Apostle                                     18300 Upper Bay Rd                         Houston, TX 77058                                                                                                             RECTOR@GMAIL.COM                  Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Thomas The Apostle Catholic Church                     Golden Spread Council 562                  4100 S Coulter St                                        Amarillo, TX 79109‐5043                                                                                First Class Mail
Chartered Organization         St Thomas The Apostle Catholic Church                     Lasalle Council 165                        1405 N Main St                                           Elkhart, IN 46514‐3224                                                                                 First Class Mail
Chartered Organization         St Thomas The Apostle Catholic Church                     Sam Houston Area Council 576               1603 Ave N                                               Huntsville, TX 77340‐4441                                                                              First Class Mail
Chartered Organization         St Thomas The Apostle Catholic Church                     Great Smoky Mountain Council 557           1580 St Thomas Way                                       Lenoir City, TN 37772‐4475                                                                             First Class Mail
Chartered Organization         St Thomas The Apostle Catholic Church                     Three Fires Council 127                    1500 Brookdale Rd                                        Naperville, IL 60563‐2129                                                                              First Class Mail
Chartered Organization         St Thomas The Apostle Catholic Church                     Grand Canyon Council 010                   4510 N 24th St                                           Phoenix, AZ 85016‐5202                                                                                 First Class Mail
Chartered Organization         St Thomas The Apostle Catholic Church                     Grand Canyon Council 010                   2312 E Campbell Ave                                      Phoenix, AZ 85016‐5526                                                                                 First Class Mail
Chartered Organization         St Thomas The Apostle Catholic Church                     California Inland Empire Council 045       3774 Jackson St                                          Riverside, CA 92503‐4359                                                                               First Class Mail
Voting Party                   St Thomas The Apostle Catholic Church                     c/o Warner Norcross & Judd LLP             Attn: Elisabeth M Von Eitzen                             150 Ottawa Ave NW, Ste 1500       Grand Rapids, MI 49503             evoneitzen@wnj.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Thomas The Apostle Catholic Parish, Grand Rapids       c/o Warner Norcross & Judd LLP             Attn: Elisabeth M Von Eitzen                             150 Ottawa Ave NW, Ste 1500       Grand Rapids, MI 49503             evoneitzen@wnj.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Thomas The Apostle Church                              Southern Shores Fsc 783                    530 Elizabeth St                                         Ann Arbor, MI 48104‐1222                                                                               First Class Mail
Chartered Organization         St Thomas The Apostle Church                              Lasalle Council 165                        1405 N Main St                                           Elkhart, IN 46514‐3224                                                                                 First Class Mail
Chartered Organization         St Thomas The Apostle Church                              Cradle of Liberty Council 525              430 Valleybrook Rd                                       Glen Mills, PA 19342‐9408                                                                              First Class Mail
Chartered Organization         St Thomas The Apostle Church                              Northern Star Council 250                  2914 W 44th St                                           Minneapolis, MN 55410‐1551                                                                             First Class Mail
Chartered Organization         St Thomas The Apostle Episcopal Church                    Sam Houston Area Council 576               18300 Upper Bay Rd                                       Houston, TX 77058‐4110                                                                                 First Class Mail
Chartered Organization         St Thomas The Apostle Episcopal Church                    Heart of America Council 307               12251 Antioch Rd                                         Overland Park, KS 66213‐1517                                                                           First Class Mail
Chartered Organization         St Thomas The Apostle Parish                              Great Lakes Fsc 272                        31530 Beechwood St                                       Garden City, MI 48135‐1935                                                                             First Class Mail
Chartered Organization         St Thomas The Apostle R C Church                          Northern New Jersey Council, Bsa 333       60 Byrd Ave                                              Bloomfield, NJ 07003‐4433                                                                              First Class Mail
Chartered Organization         St Thomas The Apostle RC Church                           Connecticut Yankee Council Bsa 072         203 East Ave                                             Norwalk, CT 06855‐1216                                                                                 First Class Mail
Voting Party                   St Thomas The Apostle School                              Attn: Andre L Kydala                       54 Old Hwy 22                                            Clinton, NJ 08809                                                                                      First Class Mail
Voting Party                   St Thomas The Aspostle                                    Attn: Andre L Kydala                       54 Old Hwy 22                                            Clinton, NJ 08809                                                                                      First Class Mail
Voting Party                   St Thomas Umc                                             c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Thomas Utd Church Of Christ                            New Birth of Freedom 544                   6490 Linglestown Rd                                      Harrisburg, PA 17112‐1215                                                                              First Class Mail
Chartered Organization         St Timothy Catholic Church                                Grand Canyon Council 010                   1730 W Guadalupe Rd                                      Mesa, AZ 85202‐7424                                                                                    First Class Mail
Chartered Organization         St Timothy Catholic Church                                South Florida Council 084                  5400 SW 102nd Ave                                        Miami, FL 33165‐7100                                                                                   First Class Mail
Chartered Organization         St Timothy Church                                         Simon Kenton Council 441                   1088 Thomas Ln                                           Columbus, OH 43220‐5047                                                                                First Class Mail
Chartered Organization         St Timothy Community Church                               Pathway To Adventure 456                   1600 W 25th Ave                                          Gary, IN 46404‐3501                                                                                    First Class Mail
Chartered Organization         St Timothy Cumberland Presbyterian Ch                     Longhorn Council 662                       3001 Forest Ridge Dr                                     Bedford, TX 76021‐3451                                                                                 First Class Mail
Chartered Organization         St Timothy Episcopal Church                               Mt Diablo‐Silverado Council 023            1550 Diablo Rd                                           Danville, CA 94526‐1952                                                                                First Class Mail
Chartered Organization         St Timothy Episcopal Church                               National Capital Area Council 082          3601 Alabama Ave Se                                      Washington, DC 20020‐2425                                                                              First Class Mail
Chartered Organization         St Timothy Lutheran Church                                New Birth of Freedom 544                   4200 Carlisle Pike                                       Camp Hill, PA 17011‐4161                                                                               First Class Mail
Chartered Organization         St Timothy Lutheran Church                                Sam Houston Area Council 576               14225 Hargrave Rd                                        Houston, TX 77070‐3843                                                                                 First Class Mail
Chartered Organization         St Timothy Lutheran Church                                Long Beach Area Council 032                4645 Woodruff Ave                                        Lakewood, CA 90713‐2555                                                                                First Class Mail
Chartered Organization         St Timothy Lutheran Church                                Three Fires Council 127                    1313 N Mill St                                           Naperville, IL 60563‐2522                                                                              First Class Mail
Chartered Organization         St Timothy Lutheran Church                                Cradle of Liberty Council 525              7965 Fillmore St                                         Philadelphia, PA 19111‐2255                                                                            First Class Mail
Voting Party                   St Timothy Lutheran Church                                Attn: Melvin F Suelzle                     16431 52nd Ave W                                         Edmonds, WA 98026                                                                                      First Class Mail
Chartered Organization         St Timothy Parish                                         Simon Kenton Council 441                   1088 Thomas Ln                                           Columbus, OH 43220‐5047                                                                                First Class Mail
Chartered Organization         St Timothy Parish                                         Dan Beard Council, Bsa 438                 10272 US Hwy 42                                          Union, KY 41091‐9591                                                                                   First Class Mail
Voting Party                   St Timothy R C Congregation, Inc                          c/o Gallagher Evelius & Jones LLP          Attn: Matthew W Oakey                                    218 N Charles St, Ste 400         Baltimore, MD 21201                moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Timothy School                                         National Capital Area Council 082          13809 Poplar Tree Rd                                     Chantilly, VA 20151‐2514                                                                               First Class Mail
Chartered Organization         St Timothy United Methodist Ch‐E Campus                   Istrouma Area Council 211                  335 Asbury Dr                                            Mandeville, LA 70471‐3136                                                                              First Class Mail
Voting Party                   St Timothy United Methodist Church ‐Stone Mountain        c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Timothy Utd Methodist Church                           Sam Houston Area Council 576               8787 N Houston Rosslyn Rd                                Houston, TX 77088‐6430                                                                                 First Class Mail
Chartered Organization         St Timothy Utd Methodist Church                           Atlanta Area Council 092                   5365 Memorial Dr                                         Stone Mountain, GA 30083‐3212                                                                          First Class Mail
Chartered Organization         St Timothy Youth Ministries                               National Capital Area Council 082          13807 Poplar Tree Rd                                     Chantilly, VA 20151‐2514                                                                               First Class Mail
Chartered Organization         St Timothys Anglican Church                               Sam Houston Area Council 576               6819 Louetta Rd                                          Spring, TX 77379‐7418                                                                                  First Class Mail
Chartered Organization         St Timothys Catholic Church                               Orange County Council 039                  29102 Crown Valley Pkwy                                  Laguna Niguel, CA 92677‐1865                                                                           First Class Mail
Chartered Organization         St Timothys Catholic Church                               Heart of Virginia Council 602              413 St Timothy Ln                                        Tappahannock, VA 22560‐5400                                                                            First Class Mail
Chartered Organization         St Timothys Episcopal                                     Cherokee Area Council 556                  630 Mississippi Ave                                      Signal Mountain, TN 37377‐2293                                                                         First Class Mail
Chartered Organization         St Timothys Episcopal Church                              Dan Beard Council, Bsa 438                 8101 Beechmont Ave                                       Cincinnati, OH 45255‐3190                                                                              First Class Mail
Chartered Organization         St Timothys Episcopal Church                              East Carolina Council 426                  107 Louis St                                             Greenville, NC 27858‐8660                                                                              First Class Mail
Chartered Organization         St Timothys Episcopal Church                              San Diego Imperial Council 049             10125 Azuaga St                                          San Diego, CA 92129‐4000                                                                               First Class Mail
Chartered Organization         St Timothys Episcopal Church                              San Diego Imperial Council 049             10125 Azuaga St                                          San Diego, CA 92129‐4000                                                                               First Class Mail
Chartered Organization         St Timothys Episcopal Church                              Chickasaw Council 558                      8245 Getwell Rd                                          Southaven, MS 38672‐6373                                                                               First Class Mail
Voting Party                   St Timothys Episcopal Church                              200 Oyster Creek Dr                        Lake Jackson, TX 77566                                                                                                        revgenrazim@gmail.com             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Timothys Episcopal Church                              Attn: Fr Richard Bardusch, Rector          432 Van Buren St                                         Herndon, VA 20170                                                    rbardusch@saint‐timothys.org      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Timothys Episcopal Church                              Attn: Marcus M Wilson                      190 E Capitol St, Ste 650                                Jackson, MS 39201                                                    mwilson@blswlaw.com               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Timothys Episcopal Church                              Attn: Debbie Webb                          P.O. Box 325                                             Southaven, MS 38671‐0325                                             keithanddebbie388@gmail.com       Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Timothys Evangelical Lutheran Church                   Indian Waters Council 553                  1301 Mill St                                             Camden, SC 29020‐2932                                                                                  First Class Mail
Chartered Organization         St Timothys Lutheran Church                               Minsi Trails Council 502                   140 S Ott St                                             Allentown, PA 18104‐6122                                                                               First Class Mail
Chartered Organization         St Timothys Lutheran Church                               Silicon Valley Monterey Bay 055            5100 Camden Ave                                          San Jose, CA 95124‐5754                                                                                First Class Mail
Chartered Organization         St Timothys R C Church                                    Cradle of Liberty Council 525              3001 Levick St                                           Philadelphia, PA 19149‐3135                                                                            First Class Mail
Voting Party                   St Timothys School, Inc                                   4523 Six Forks Rd                          Raleigh, NC 27609                                                                                                             ttnnesz@sttmothys.org             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Timothys St Lutheran                                   Sam Houston Area Council 576               14225 Hargrave Rd                                        Houston, TX 77070‐3843                                                                                 First Class Mail
Chartered Organization         St Tobias Catholic Church                                 Bucktail Council 509                       1121 Hewitt St                                           Brockway, PA 15824‐1808                                                                                First Class Mail
Voting Party                   St Ursula School, Inc                                     Attn: Matthew W Oakey                      218 N Charles St, Ste 400                                Baltimore, MD 21201                                                  moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Ursula Villa                                           Dan Beard Council, Bsa 438                 3660 Vineyard Pl                                         Cincinnati, OH 45226‐1727                                                                              First Class Mail
Chartered Organization         St Ursulas R C Church                                     Baltimore Area Council 220                 8801 Harford Rd                                          Baltimore, MD 21234‐4121                                                                               First Class Mail
Voting Party                   St Ursulas R C Congregation, Inc                          Attn: Matthew W Oakey                      218 N Charles St, Ste 400                                Baltimore, MD 21201                                                  moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Veronica Church                                        Dan Beard Council, Bsa 438                 4473 Mt Carmel Tobasco Rd                                Cincinnati, OH 45244‐2225                                                                              First Class Mail
Chartered Organization         St Veronicas Parish ‐ Usher Society                       Three Harbors Council 636                  353 E Norwich St                                         Milwaukee, WI 53207‐4415                                                                               First Class Mail
Chartered Organization         St Veronicas R C Church                                   Monmouth Council, Bsa 347                  4215 US Hwy 9                                            Howell, NJ 07731‐3378                                                                                  First Class Mail
Voting Party                   St Veronicas R C Congregation, Inc                        Attn: Matthew W Oakey                      218 N Charles St, Ste 400                                Baltimore, MD 21201                                                  moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Viator R C Church                                      Pathway To Adventure 456                   4170 W Addison St                                        Chicago, IL 60641‐3913                                                                                 First Class Mail
Chartered Organization         St Viators Catholic Church                                Las Vegas Area Council 328                 2461 E Flamingo Rd                                       Las Vegas, NV 89121‐5273                                                                               First Class Mail
Chartered Organization         St Victors Catholic Church                                Silicon Valley Monterey Bay 055            3108 Sierra Rd                                           San Jose, CA 95132‐2854                                                                                First Class Mail
Chartered Organization         St Vincent Catholic Church                                Anthony Wayne Area 157                     1502 E Wallen Rd                                         Fort Wayne, IN 46825‐2850                                                                              First Class Mail
Chartered Organization         St Vincent Catholic Mens Assoc                            Greater St Louis Area Council 312          1919 Ritter Dr                                           Cape Girardeau, MO 63701‐4530                                                                          First Class Mail
Chartered Organization         St Vincent De Paul Catholic Church                        Quivira Council, Bsa 198                   123 N Andover Rd                                         Andover, KS 67002‐9637                                                                                 First Class Mail
Chartered Organization         St Vincent De Paul Catholic Church                        Capitol Area Council 564                   9500 Neenah Ave                                          Austin, TX 78717‐5338                                                                                  First Class Mail
Chartered Organization         St Vincent De Paul Catholic Church                        Mecklenburg County Council 415             6828 Old Reid Rd                                         Charlotte, NC 28210‐4625                                                                               First Class Mail
Chartered Organization         St Vincent De Paul Catholic Church                        Sam Houston Area Council 576               6800 Buffalo Speedway                                    Houston, TX 77025‐1405                                                                                 First Class Mail
Chartered Organization         St Vincent De Paul Catholic Church                        Ohio River Valley Council 619              21 Rosary Rd                                             New Martinsville, WV 26155‐1601                                                                        First Class Mail
Chartered Organization         St Vincent De Paul Catholic Church                        Westark Area Council 016                   1416 W Poplar St                                         Rogers, AR 72758‐4141                                                                                  First Class Mail
Chartered Organization         St Vincent De Paul Catholic Church                        Alamo Area Council 583                     4222 SW Loop 410                                         San Antonio, TX 78227‐4445                                                                             First Class Mail
Voting Party                   St Vincent De Paul Catholic Church                        Attn: Bsa Coordinator (Attn: Chancellor)   6225 E US 290 Hwy Svrd Eb                                Austin, TX 78723                                                     ron‐walker@austindiocese.org      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St Vincent De Paul Catholic Church                        Rev Edward Kokarchik                       9500 Neenha Ave                                          Austin, TX 78717                                                     ron‐walker@austindiocese.org      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Vincent De Paul Church                                 Ohio River Valley Council 619              21 Rosary Rd                                             New Martinsville, WV 26155‐1601                                                                        First Class Mail
Chartered Organization         St Vincent De Paul Church                                 Westark Area Council 016                   1416 W Poplar St                                         Rogers, AR 72758‐4141                                                                                  First Class Mail
Chartered Organization         St Vincent De Paul Elementary School                      Samoset Council, Bsa 627                   831 12th St S                                            Wisconsin Rapids, WI 54494‐5329                                                                        First Class Mail
Chartered Organization         St Vincent De Paul Mens Club                              W D Boyce 138                              7535 N Knoxville Ave                                     Peoria, IL 61614‐2073                                                                                  First Class Mail
Chartered Organization         St Vincent De Paul Parish                                 Narragansett 546                           1 St Johns Pl                                            Attleboro, MA 02703‐2249                                                                               First Class Mail
Chartered Organization         St Vincent De Paul Parish Council                         Denver Area Council 061                    2375 E Arizona Ave                                       Denver, CO 80210‐1924                                                                                  First Class Mail
Chartered Organization         St Vincent De Paul R C Church                             Northern New Jersey Council, Bsa 333       979 Ave C                                                Bayonne, NJ 07002‐3055                                                                                 First Class Mail
Chartered Organization         St Vincent De Paul R C Church                             Narragansett 546                           6 St Vincent De Paul St                                  Coventry, RI 02816‐8156                                                                                First Class Mail
Voting Party                   St Vincent De Paul R C Congregation, Inc                  Attn: Matthew W Oakey                      218 N Charles St, Ste 400                                Baltimore, MD 21201                                                  moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Vincent De Paul RC Parish                              Theodore Roosevelt Council 386             1510 Depaul St                                           Elmont, NY 11003‐1900                                                                                  First Class Mail
Chartered Organization         St Vincent Depaul                                         Samoset Council, Bsa 627                   820 13th St S                                            Wisconsin Rapids, WI 54494‐5336                                                                        First Class Mail
Chartered Organization         St Vincent Depaul Catholic Church                         Lake Erie Council 440                      13400 Lorain Ave                                         Cleveland, OH 44111‐3432                                                                               First Class Mail
Chartered Organization         St Vincent Depaul Catholic Church                         Mid‐America Council 326                    14330 Eagle Run Dr                                       Omaha, NE 68164‐5425                                                                                   First Class Mail
Voting Party                   St Vincent Depaul Catholic Church, Bedford, Inc           Attn: John S Mercer                        1400 N Meridian St                                       Indianapolis, IN 46202                                               jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Vincent Depaul Mens Club                               W D Boyce 138                              6001 N University St                                     Peoria, IL 61614‐4164                                                                                  First Class Mail
Chartered Organization         St Vincent Depaul Parish                                  Pacific Harbors Council, Bsa 612           30525 8th Ave S                                          Federal Way, WA 98003‐4100                                                                             First Class Mail
Chartered Organization         St Vincent Depaul R C Church                              New Birth of Freedom 544                   220 3rd St                                               Hanover, PA 17331‐2325                                                                                 First Class Mail
Chartered Organization         St Vincent Depaul R C Church                              Baden‐Powell Council 368                   465 Clubhouse Rd                                         Vestal, NY 13850                                                                                       First Class Mail
Chartered Organization         St Vincent Elementary School                              Great Trail 433                            17 S Maple St                                            Akron, OH 44303‐2119                                                                                   First Class Mail
Chartered Organization         St Vincent Ferrer Catholic Church                         Dan Beard Council, Bsa 438                 7754 Montgomery Rd                                       Cincinnati, OH 45236‐4326                                                                              First Class Mail
Chartered Organization         St Vincent Ferrer R C Church                              Connecticut Rivers Council, Bsa 066        1006 New Haven Rd                                        Naugatuck, CT 06770‐4731                                                                               First Class Mail
Chartered Organization         St Vincent Ferrer School                                  Pathway To Adventure 456                   1515 Lathrop Ave                                         River Forest, IL 60305‐1121                                                                            First Class Mail
Chartered Organization         St Vincent Indianapolis Hospital                          Crossroads of America 160                  2001 W 86th St                                           Indianapolis, IN 46260‐1902                                                                            First Class Mail
Chartered Organization         St Vincent Medical Center                                 Greater Los Angeles Area 033               12408 Deerbrook Ln                                       Los Angeles, CA 90049‐1912                                                                             First Class Mail
Chartered Organization         St Vincent Pallotti                                       Three Harbors Council 636                  201 N 76th St                                            Milwaukee, WI 53213‐3531                                                                               First Class Mail
Chartered Organization         St Vincents Cathedral And School                          Longhorn Council 662                       1300 Forest Ridge Dr                                     Bedford, TX 76022‐6770                                                                                 First Class Mail
Chartered Organization         St Vincents Pto                                           Mississippi Valley Council 141 141         2981 Plank Rd                                            Keokuk, IA 52632‐2310                                                                                  First Class Mail
Chartered Organization         St Vivian Church                                          Dan Beard Council, Bsa 438                 7600 Winton Rd                                           Cincinnati, OH 45224‐1335                                                                              First Class Mail
Chartered Organization         St Walters Catholic Church                                Three Fires Council 127                    130 W Pine Ave                                           Roselle, IL 60172‐2135                                                                                 First Class Mail
Chartered Organization         St Wenceslaus Catholic Church                             Greater St Louis Area Council 312          3014 Oregon Ave                                          St Louis, MO 63118‐1412                                                                                First Class Mail
Voting Party                   St Wenceslaus' R C Congregation, Inc                      Attn: Matthew W Oakey                      218 N Charles St, Ste 400                                Baltimore, MD 21201                                                  moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         St Wendel Catholic Church                                 Knights of St John                         4725 St Wendel Cynthiana Rd                              Wadesville, IN 47638‐9610                                                                              First Class Mail
Chartered Organization         St Wendelin R C Church                                    Black Swamp Area Council 449               222 N Wood St                                            Fostoria, OH 44830                                                                                     First Class Mail
Chartered Organization         St William Catholic Church                                Montana Council 315                        705 Scott St W                                           Livingston, MT 59030                                                                                   First Class Mail
Voting Party                   St William Catholic Church                                Attn: Chancellor                           6225 E US 290 Hwy Svrd Eb                                Austin, TX 78723                                                     ron‐walker@austindiocese.org      Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   St William Catholic Church                                Attn: Rev Dean Willhelm                    620 Round Rock W Dr                                      Round Rock, TX 78681                                                                                   First Class Mail
Voting Party                   St William Of York R C Congregation, Inc                  Attn: Matthew W Oakey                      218 N Charles St, Ste 400                                Baltimore, MD 21201                                                  moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                          Page 373 of 442
                                                                                   Case 20-10343-LSS                                                     Doc 8171                                    Filed 01/06/22                                                   Page 389 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                         Service List
                                                                                                                                                                                  Served as set forth below

        Description                                                        Name                                                                                                       Address                                                                                                             Email                    Method of Service
Chartered Organization         St William R C Church                                         Cradle of Liberty Council 525                         6200 Rising Sun Ave                                      Philadelphia, PA 19111‐5621                                                                                 First Class Mail
Chartered Organization         St William The Abbot RC Church                                Theodore Roosevelt Council 386                        2000 Jackson Ave                                         Seaford, NY 11783‐2628                                                                                      First Class Mail
Chartered Organization         St Williams                                                   Pathway To Adventure 456                              2600 N Sayre Ave                                         Chicago, IL 60707‐1744                                                                                      First Class Mail
Chartered Organization         St Williams Parish                                            Glaciers Edge Council 620                             1815 Ravine St                                           Janesville, WI 53548‐3444                                                                                   First Class Mail
Chartered Organization         St Williams Parish                                            Great Lakes Fsc 272                                   531 Common St                                            Walled Lake, MI 48390‐3417                                                                                  First Class Mail
Chartered Organization         St Williams R C Church                                        The Spirit of Adventure 227                           1351 Main St                                             Tewksbury, MA 01876‐2039                                                                                    First Class Mail
Chartered Organization         St Xavier Catholic Youth Org                                  Coronado Area Council 192                             218 N Washington St                                      Junction City, KS 66441‐2909                                                                                First Class Mail
Chartered Organization         St Xavier High School                                         Lincoln Heritage Council 205                          1609 Poplar Level Rd                                     Louisville, KY 40217‐1343                                                                                   First Class Mail
Chartered Organization         St Zachary Parish                                             Pathway To Adventure 456                              567 W Algonquin Rd                                       Des Plaines, IL 60016‐5702                                                                                  First Class Mail
Voting Party                   St, James Church (Sunapee)                                    c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Adalberts R C Congregation, Inc                           Attn: Matthew W Oakey                                 218 N Charles St, Ste 400                                Baltimore, MD 21201                                                 moakey@gejlaw.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Adalberts R C Congregation, Inc                           c/o Gallagher Evelius & Jones LLP                     Attn: Matthew W Oakey                                    218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Agnes Catholic Church, Nashville, Inc                     Attn: John S Mercer                                   1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Agnes Episcopal Church                                    Attn: Scott Walker                                    3840 Lakeview Dr                                         Sebring, FL 33870                                                   stagnes@stagnessebring.org              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Agnes R C Congregation, Inc                               Attn: Matthew W Oakey                                 218 N Charles St, Ste 400                                Baltimore, MD 21201                                                 moakey@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Agnes R.C. Church                                         c/o Cullen and Dykman LLP                             Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Aidans Episcopal Church                                   Attn: Pamela Rosenow Belote                           3201 Edinburgh Dr                                        Virginia Beach, VA 23452                                            secretary@aidanvbva.net                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Aidans Episcopal Church Of Boulder                        c/o Messner Reeves LLP                                Attn: Deanne R. Stodden                                  1430 Wynkoop St, Ste 300         Denver, CO 80202                   bankruptcy@messner.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Aidans Episcopal Church Of Boulder                        2425 Colorado Ave                                     Boulder, CO 80302                                                                                                                                                    First Class Mail
Voting Party                   St. Albans Episcopal Church                                   Attn: Judith Connie Dalmasso                          3510 W Central Park Ave                                  Davenport, IA 52804                                                 stalbansqc@q.com                        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Albans Episcopal Church                                   Attn: Linda S Lilley                                  1810 Elm St                                              El Paso, TX 79930                                                   stalbans.elpaso@gmail.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Albans Episcopal Church                                   P O Box 368                                           Manchaca, TX 78652                                                                                                           seniorwarden@stalbansaustin.org         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Albans Episcopal Church                                   Attn: Jessica Ewell & Rev Carmen Germino              301 Caldwell Ln                                          Davidson, NC 28036                                                  parishadmin@saintalbansdavidson.org     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Albans Episcopal Church                                   Attn: Greg Quisenberry                                1417 E Austin Ave                                        Harlingen, TX 78550                                                 nnewman@staec.org                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Albans Episcopal Church                                   Attn: The Rev Jeffrey Scott Shankles                  6800 Columbia Pike                                       Annandale, VA 22003                                                 info@stalbansva.org                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Albans Episcopal Church                                   Attn: John Manford Gullett                            P.O. Box 1125                                            Auburndale, FL 33823                                                fr.john@stalbansauburndale.com          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Albans Episcopal Church                                   Attn: Harold Ritchie                                  P.O. Box 997                                             Chiefland, FL 32626                                                 FatherRitchie@aol.com                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Albans Episcopal Church                                   c/o Rogers Towers, Pa                                 Attn: Betsy C Cox, Esq                                   1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207             bcox@rtlaw.com                          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Albans Episcopal Church                                   301 Range St                                          Manistique, MI 49854                                                                                                                                                 First Class Mail
Voting Party                   St. Albans Episcopal Church, Arlington, Texas                 Attn: The Reverend Canon Janet Waggoner               P.O. Box 8695                                            Fort Worth, TX 76124                                                janet.waggoner@edfw.org                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Albans Episcopal Church, Syracuse                         Attn: Martha L Berry                                  P.O. Box 3520                                            Syracuse, NY 13220‐3520                                             stalbans.syr@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Alban's Episcopal Church, Waco, TX                        Attn: Aaron M G Zimmerman                             2900 W Waco Dr                                           Waco, TX 76710                                                      aaron@stalbanswaco.org                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Albans Episcopal Day School                               Attn: Leslie Ankele                                   1417 E Austin Ave                                        Harlingen, TX 78550                                                 tlamon@stalbansharlingen.org            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Aloysius Church                                           c/o Cullen and Dykman LLP                             Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Alphonsus Parish, Grand Rapids                            c/o Warner Norcross & Judd LLP                        Attn: Elisabeth M Von Eitzen                             150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Alphonsus Rodriguez, Woodstock                            Roman Catholic Congregation, Inc                      Attn: Matthew W Oakey                                    218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Ambrose Catholic Church, Seymour, Inc                     Attn: John S Mercer                                   1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Ambrose, 2801 Lincoln St. Anderson, In 46016              Attn: Matt Mckillip                                   610 Lingle Ave                                           P.O. Box 260                     Lafayette, IN 47902                mmckillip@dol‐in.org                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrew By‐The‐Sea United Methodist Church, Inc            Attn: Jeff Locker                                     20 Pope Ave                                              Hilton Head, SC 29928                                               jlocker@nexsenpruet.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrew Presbyterian Church                                1390 Franklin Rd                                      Yuba City, CA 95993                                                                                                          scauchi@standrewpcusa.org               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrew Presbyterian Church                                Attn: Finley Graves                                   300 W Oak St                                             Denton, TX 76201                                                    richard@standrewdenton.com              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrew R.C. Church                                        c/o Cullen and Dykman LLP                             Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrew The Apostle Catholic Church, Indianapolis, Inc     Attn: John S Mercer                                   1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrew The Apostle R C Church, New Orleans, LA            Attn: Susan A Zeringue, General Counsel               7887 Walmsley Ave                                        New Orleans, LA 70125                                               szeringue@arch‐no.org                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrew The Apostle R C Church, New Orleans, LA            Attn: Susan Zeringue                                  7887 Walmsley Ave                                        New Orleans, LA 70125                                               szeringue@arch‐no.org                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrew United Methodist Church                            Attn: James Verstreate                                350 N Fairfield Rd                                       Beavercreek, OH 45430                                               office@standrewchurch.org               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrew United Methodist Church                            9203 S University Blvd                                Highlands Ranch, CO 80126                                                                                                    info@gostandrew.com                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrew United Methodist Church                            Attn: Walter White                                    350 N Fairfield Rd                                       Beavercreek, OH 45430                                                                                       First Class Mail
Voting Party                   St. Andrews (Hopkinton)                                       c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews By The Sea (Rye)                                  c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews By The Sea Episcopal Church (Little Compton)      c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Chapel (North Adams)                              c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Church                                            Attn: Marcus M Wilson                                 190 E Capitol St, Ste 650                                Jackson, MS 39201                                                   mwilson@blswlaw.com                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Church                                            Attn: Joseph M Surkin                                 P.O. Box 1366                                            Jackson, MS 39216‐1366                                              jmsurkin@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Church (Longmeadow)                               c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Church (New London)                               c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  6401 Wornall Terr                                     Kansas City, MO 64113                                                                                                        tjthum@bclplaw.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  Attn: Terry Allan Jackson                             2067 5th Ave                                             New York, NY 10035                                                  standrewsharlem@live.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  Attn: Terry Jackson                                   2067 5th Ave                                             New York, NY 10035                                                  standrewsharlem@live.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  Attn: Dina Van Klaveren                               P.O. Box 52                                              Glenwood, MD 21738                                                  standrewsglenwood@gmail.com             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  Attn: Dale W Plummer                                  505 N Pennsylvania Ave                                   Roswell, NM 88201                                                   standrewschurch@cableone.net            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  45 Main St                                            Newport News, VA 23601                                                                                                       saec0371@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  Attn: Mark Richard Flinchbaugh                        20 Catlin St                                             Meriden, CT 06450                                                   priest@standrewsmeriden.necoxmail.com   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  Attn: Kimberly Rathburn, Parish Administrator         2105 W Market St                                         Greensboro, NC 27403                                                parish@standrewsgso.org                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  169 Belleville Rd                                     New Bedford, MA 02745                                                                                                        office@standrewsnb.org                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  Attn: Kathie Danielson                                5720 Urbandale Ave                                       Des Moines, IA 50310                                                ndrew5720@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  1382 Middletown Ave                                   P.O. Box 96                                              Northford, CT 06472                                                 nanmonde@comcast.net                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  c/o Squire Patton Boggs (Us) LLP                      Attn: Mark A Salzberg                                    2550 M St NW                     Washington, DC 20037               mark.salzberg@squirepb.com              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  Attn: Lisa Meirow                                     7801 Lone Star Rd                                        Jacksonville, FL 32211                                              lisa@standrewsjax.com                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  Attn: John Rohrs                                      1009 W Princess Anne Rd                                  Norfolk, VA 23507                                                   jrohrs@standrewsnorfolk.org             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  Attn: John B Pollock                                  2005 Arendell St                                         Morehead City, NC 28557                                             JBPollock1912@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  Attn: Joan Geiszler‐Ludlum                            2720 Columbia Ave                                        Wilmington, NC 28403                                                JBPollock1912@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  Attn: Gary Neagel                                     232 Durham Rd                                            Madison, CT 06443                                                   gnaegel@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  c/o Rogers Towers, Pa                                 Attn: Betsy C Cox, Esq                                   1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207             bcox@rtlaw.com                          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church                                  Attn: The Rev William Packard                         6509 Sydenstricker Rd                                    Burke, VA 22015                                                     admin2@standrews.net                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church ‐ Highland Park                  Attn: The Rev Canon Kimberly Karashin                 325 Oliver Ave, Ste 300                                  Pittsburgh, PA 15222                                                sld@sgkpc.com                           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church ‐ Highland Park                  Attn: The Rev Canon Kimberly Karashin                 325 Oliver Ave, Ste 300                                  Pittsburgh, PA 15222                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church (Colchester)                     c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church (Diocese Of Chicago)             Attn: Rev Gregg Morris                                1125 Franklin St                                         Downers Grove, IL 60515                                             gmorris@saintandrewschurch.net          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church (Hurlock)                        c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                   129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church (Princess Anne)                  c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                   129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church (St. Johnsbury)                  c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church And School                       Attn: Daniel C Gunn                                   419 South St                                             New Providence, NJ 07974                                            rector@standrewschurch.org              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church Of Madison                       Attn: Fr Andrew Jones                                 1833 Regent St                                           Madison, WI 53726                                                   rector@standrews‐madison.org            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church Of Tooledo, Ohio                 St Andrews Episcopal Church                           2770 W Central Ave                                       Toledo, OH 43606                                                    standrews419@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church, Framingham, Ma                  Attn: Julie Ann Carson                                3 Maple St                                               Framingham, MA 01702                                                jcarson@standrewsframma.org             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church, Mckinney, Texas                 Attn: Rev Andrew Van Kirk                             6400 Mckinney Ranch Pkwy                                 Mckinney, TX 75070                                                  andrewv@standrewsonline.net             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church, New Berlin                      Attn: Martha L Berry                                  P.O. Box 3520                                            Syracuse, NY 13220‐3520                                             frstevecny@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Episcopal Church, Scotia, New York                Attn: Gale George, Secretary                          50 Sacandaga Rd                                          Scotia, NY 12302                                                    kmccart343@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews In The Valley (Tamworth)                          c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Lutheran Church                                   Attn: Richard Madarasz                                30 Brooksite Dr                                          Smithtown, NY 11787                                                 standrewslutheran@verizon.net           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Lutheran Church (Elca)                            Attn: Council President                               11555 National Blvd                                      Los Angeles, CA 90064                                               office@standrews‐wla.org                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Parish United Methodist Church, Inc               Attn: Jon Mccall                                      3161 Cold Harbor Way                                     Charleston, SC 29414                                                jon81.mccall@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Presbyterian Church                               Attn: Brad Van Allen                                  3228 SW Sunset Blvd                                      Portland, OR 97239                                                  bva@nwpaperbox.com                      Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Presbyterian Church, Winston‐Salem, Nc Pc (Usa)   Attn: Jennifer Susan Rimes                            357 Old Hollow Rd                                        Winston‐Salem, NC 27105                                             office.manager@standrewsnc.org          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Presbyterian Church, Winston‐Salem, Nc Pc (Usa)   357 Old Hollow Rd                                     Winston‐Salem, NC 27105                                                                                                      office.manager@standrewsnc.org          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Schools                                           Attn: Ruth Reilly Fletcher                            224 Queen Emma St                                        Honolulu, HI 96813                                                  rfletcher@standrewsschools.org          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Schools                                           Attn: Mark A Salzberg, Squire Patton Boggs (Us) LLP   2550 M St, Nw                                            Washington, DC 20037                                                mark.salzberg@squirepb.com              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews Umc                                               Attn: John Quimby                                     1230 Townsend Ave                                        New Haven, CT 06513                                                 johnboat803@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews United Methodist Church                           Attn: Meaghan Rohlfs                                  722 Robinhood Pl                                         San Antonio, TX 78209                                               mrohlfs@saumc.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews United Methodist Church                           Attn: Rev Jeff Childress                              309 Pelzer Hwy.                                          Easley, SC 29642                                                    jwchildress@umcsc.org                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Andrews United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 374 of 442
                                                                                    Case 20-10343-LSS                                                    Doc 8171                                    Filed 01/06/22                                                   Page 390 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                         Service List
                                                                                                                                                                                  Served as set forth below

        Description                                                     Name                                                                                                          Address                                                                                                         Email                       Method of Service
Voting Party                   St. Andrews United Methodist Church (183638)                c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Andrews United Methodist Church Baton Rouge             Attn: Trustees, St Andrews United Methodist Church      17510 Monitor Ave                                        Baton Rouge, LA 70817                                               kagnew@saumcbr.com                     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Angela Merici R C Church, Metairie, LA                  Attn: Susan Zeringue, General Counsel                   7887 Walmsley Ave                                        New Orleans, LA 70125                                               szeringue@arch‐no.org                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Ann Catholic Church (Augusta)                           c/o Warner Norcross & Judd LLP                          Attn: Elisabeth M Von Eitzen                             150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com                     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Ann Catholic Church, Indianapolis, Inc                  Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Ann Catholic Church, Jennings County, Inc               Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Ann R C Church And Shrine, Metairie, La                 Attn: Susan Zeringue                                    7887 Walmsley Ave                                        New Orleans, LA 70125                                               szeringue@arch‐no.org                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Ann, Hagerstown, R C Congregation, Inc                  c/o Gallagher Evelius & Jones LLP                       Attn: Matthew W Oakey                                    218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Annas Episcopal Church In Antioch, CA                   Attn: The Rev Jane Stratford                            301 E 13th St                                            Antioch, CA 94509                                                   jane@saintannas.org                    Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Annes Episcopal Church                                  9870 West Fort Island Trl                               Crystal River, FL 34429                                                                                                      stannescommunications@gmail.com        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Annes Episcopal Church                                  c/o Law Offices of Skip Jennings, P C                   Attn: Richard C E Jennings                               115 W Oglethorpe Ave             Savannah, GA 31401                 skipjenningspc@comcast.net             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Annes Episcopal Church                                  P O Box 889                                             Tifton, GA 31793                                                                                                                                                    First Class Mail
Voting Party                   St. Annes RC Church                                         88 2nd St                                               Brentwood, NY 11717                                                                                                                                                 First Class Mail
Voting Party                   St. Anns Avilton, R C Congregation, Inc                     c/o Gallagher Evelius & Jones LLP                       Attn: Matthew W Oakey                                    218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anns By The Sea Episcopal Church (Block Island)         c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Ann's Church Of Morrisania                              Attn: Rev Overall                                       295 St Ann's Ave                                         Bronx, NY 10454                                                     overallmartha@me.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Ann's Church Of Morrisania                              Attn: Rev Overall                                       295 St Anns Ave                                          Bronx, NY 10454                                                     ktorge@mcgivneyandkluger.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anselms Episcopal Church                                Attn: Louis Robert Pokorny                              4 Woodville Rd                                           Shoreham, NY 11786                                                  parishoffice@stanselmsofshoreham.org   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anselms Episcopal Church                                Attn: Louis Robert Pokorny                              P.O. Box 608                                             Shoreham, NY 11786                                                  parishoffice@stanselmsofshoreham.org   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anselms Episcopal Church In Lafayette, CA               Attn: The Rev John D Sutton                             682 Michael Ln                                           Lafayette, CA 94549                                                 suttonj@comcast.net                    Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anthony Catholic Church, Indianapolis, Inc              Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anthony Marie De Claret Catholic Church‐Kyle, Texas     Reve Uche Andeh                                         801 N Burleson St                                        Kyle, TX 78640                                                      ron‐walker@austindiocese.org           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anthony Marie De Claret Catholic Church‐Kyle, Texas     c/o Bsa Coordinator                                     Attn: Chancellor                                         6225 E US 290 Hwy Svrd Eb        Austin, TX 78723                   ron‐walker@austindiocese.org           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anthony Of Padua Catholic Church, Clarksville, Inc      Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anthony Of Padua Catholic Community, Grand Rapids       c/o Warner Norcross & Judd LLP                          Attn: Elisabeth M Von Eitzen                             150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com                     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anthony Of Padua R C Church, Luling, La                 Attn: Susan Zeringue                                    7887 Walmsley Ave                                        New Orleans, LA 70125                                               szeringue@arch‐no.org                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anthony Of Padua R C Congregation, Inc                  c/o Gallagher Evelius & Jones LLP                       Attn: Matthew W Oakey                                    218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anthony Of Padua RC Church (East Northport, Ny)         c/o Cullen and Dykman LLP                               Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anthony Of Padua RC Church (Rocky Point, Ny)            c/o Cullen and Dykman LLP                               Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anthonys Church                                         c/o Cullen and Dykman LLP                               Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Anthonys Shrine, Emmitsburg, R C Congregation, Inc      c/o Gallagher Evelius & Jones LLP                       Attn: Matthew W Oakey                                    218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Athanasius' R C Congregation, Inc                       c/o Gallagher Evelius & Jones LLP                       Attn: Matthew W Oakey                                    218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Augustine (Kalamazoo)                                   c/o Warner Norcross & Judd LLP                          Attn: Elisabeth M Von Eitzen                             150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com                     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Augustine Catholic Church, Jeffersonville, Inc          Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Augustine Church (Chesapeake City)                      c/o The Law Office of Andrea Ross                       Attn: Andrea Ross, Esq                                   129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Augustine School, Inc                                   Attn: Matthew W Oakey                                   218 N Charles St, Ste 400                                Baltimore, MD 21201                                                 moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Augustines Church                                       Attn: Jennifer Owen                                     6 Old Post Rd N                                          Croton‐On‐Hudson, NY 10520                                          rector@stacroton.org                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Augustines Episcopal Church                             Attn: Lawrence Melvin Womack                            4301 Ave D                                               Brooklyn, NY 11203                                                  rector@staugustinesbrooklyn.org        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Augustines Episcopal Church (Kingston)                  c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Augustines Episcopal Church, Inc                        c/o Pfeifer Morgan & Stesiak                            Attn: Ryan G. Milligan                                   53600 N Ironwood Rd              South Bend, IN 46635               Rmilligan@pilawyers.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Augustines Episcopal Church, Inc                        Attn: Priest In Charge                                  2425 W 19th Ave                                          Gary, IN 46404                                                      cempspecialevent@gmail.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas By The Bay Episcopal Church                    Attn: Sr Warden                                         13 W Bates Ave                                           P.O. Box 77                      Villas, NJ 08251                   SaintBarnabasVillas@comcast.net        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Catholic Church, Indianapolis, Inc             Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Church (Berlin)                                c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Episcopal Church                               Attn: Cindy Scroggins                                   601 W Creek Dr                                           Fredericksburg, TX 78624                                            stbarnabasfbg@gmail.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Episcopal Church                               Attn: Robert L Keim                                     301 Trinity Ave                                          Arroyo Grande, CA 93420                                             rob.stbarnabas@gmail.com               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Episcopal Church                               319 W Wisconsin Ave                                     Deland, FL 32720                                                                                                             brian@stbarnabaschurchdeland.org       Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Episcopal Church ‐ Brackenridge                Attn: The Rev Canon Kimberly Karashin                   325 Oliver Ave, Ste 300                                  Pittsburgh, PA 15222                                                sld@sgkpc.com                          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas' Episcopal Church ‐ Millcreek                  c/o L E York Law                                        Attn: Lydia E York, Esq                                  182 Belmont Dr                   Wilmington, DE 19808               lydia@leyorklaw.com                    Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Episcopal Church (Warwick)                     c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas' Episcopal Church Roanoke, Al                  Attn: Linda Caypless                                    809 Rock Mills Rd                                        Roanoke, AL 36274‐5347                                              220stewart@charter.net                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas' Episcopal Church Roanoke, Al                  c/o Diocese of Alabama                                  Attn: Rev Rob Morpeth                                    521 N 20th St                    Birmingham, AL 35203               220stewart@charter.net                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Episcopal Church(Norwich)                      c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Episcopal Church, Bay Village Oh               Attn: Rev Alexander Martin                              468 Bradley Rd                                           Bay Village, OH 44140                                               fralex@stbarnabasbv.org                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Episcopal Church, Brackenridge                 Attn: The Rev Canon Kimberly Karashin                   325 Oliver Ave, Ste 300                                  Pittsburgh, PA 15222                                                sld@sgkpc.com                          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Lutheran Church                                Attn: Sally A Skalany                                   8901 Cary Algonquin Rd                                   Cary, IL 60013                                                      pastor@stbarnabas‐cary.org             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Lutheran Church                                8901 Cary Algonquin Rd                                  Cary, IL 60013                                                                                                               pastor@stbarnabas‐cary.org             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Parish                                         Attn: Rector/Senior Warden                              2201 SW Vermont St                                       Portland, OR 97214                                                  rectorstbarnabas@gmail.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas Parish                                         Attn: Sean Scott Wall                                   2201 SW Vermont St                                       Portland, OR 97214                                                  rectorstbarnabas@gmail.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas R C Church Society Of Cheektowaga, N           c/o Woods Oviatt Gilman LLP                             Attn: Timothy P Lyster, Esq                              1900 Bausch & Lomb Pl            Rochester, NY 14604                tlyster@woodsoviatt.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Barnabas The Apostle                                    c/o Cullen and Dykman LLP                               Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Bartholomew Catholic Church, Columbus, Inc              Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Bartholomew Protestant Episcopal Church, Inc            Attn: Stephen Secaur                                    435 Som Center Rd                                        Mayfield Village, OH 44143                                          saintbartohio@gmail.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Bartholomews (Green Hill)                               c/o The Law Office of Andrea Ross                       Attn: Andrea Ross, Esq                                   129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Bartholomews Church In The City Of New York             Attn: Patrick A Macmurray                               325 Park Ave                                             New York, NY 10022                                                  dwolfe@stbarts.org                     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Bartholomews Episcopal Church                           Attn: Michael Moore                                     1989 Route 70 East                                       Cherry Hill, NJ 08003                                               sptgpeagle@aol.com                     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Bartholomews Episcopal Church                           Attn: Fr Joel Prather                                   N27W24000 Paul Ct                                        Pewaukee, WI 53072                                                  pastor@stbartspewaukee.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Bartholomews Episcopal Church In Livermore, CA          Attn: The Rev Andy Lobban                               678 Enos Way                                             Livermore, CA 94551                                                 rector@saintbartslivermore.com         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Bedes Episcopal Church, Inc                             Attn: Rev S Chadwick Vaughn, Rector                     2601 Henderson Mill Rd                                   Atlanta, GA 30345                                                   cvaughn@stbedes.org                    Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Benedict Catholic Church, Terre Haute, Inc              Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Benilde R C Church, Metairie, La                        Attn: Susan Zeringue                                    7887 Walmsley Ave                                        New Orleans, LA 70125                                               szeringue@arch‐no.org                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Bernard Catholic Church, Frenchtown, Inc                Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Bernard Parish, Irons                                   c/o Warner Norcross & Judd LLP                          Attn: Elisabeth M Von Eitzen                             150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com                     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Boniface Catholic Church, Fulda, Inc                    Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Boniface Church                                         5615 Midnight Pass Rd                                   Sarasota, FL 34242                                                                                                           rector@bonifacechurch.org              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Boniface Episcopal Church                               Attn: Diane L Deblasio                                  100 46th St                                              Lindenhurst, NY 11757                                               StBonifaceMainz@optonline.net          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Boniface R.C. Church                                    c/o Cullen and Dykman LLP                               Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Brendans Episcopal Church ‐ Franklin Park               Attn: The Rev Canon Kimberly Karashin                   325 Oliver Ave, Ste 300                                  Pittsburgh, PA 15222                                                                                       First Class Mail
Voting Party                   St. Brendans Episcopal Church, Franklin Park                Attn: the Rev Canon Kimberly Karashim                   325 Oliver Ave, Ste 300                                  Pittsburgh, PA 15222                                                sld@sgkpc.com                          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Bridget Catholic Church, Liberty, Inc                   Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Bridgets Rom. Cath. Church Society Of Newfane, Ny       c/o Woods Oviatt Gilman LLP                             Attn: Timothy P Lyster, Esq                              1900 Bausch & Lomb Pl            Rochester, NY 14604                tlyster@woodsoviatt.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Brigid R.C. Church                                      c/o Westerman Ball Ederer Miller Zucker & Sharfstein    Attn: William C Heuer                                    1201 Rxr Plz                     Uniondale, NY 11556                wheuer@westermanllp.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Catharine R C Church                                    c/o Carella, Byrne, Cecchi Olstein Brody & Agnello PC   Attn: Charles M Carella, Esq                             5 Becker Farm Rd                 Roseland, NJ 07068                 cmcarella@carellabyrne.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Catherine Of Siena Catholic Parish (Portage)            Attn: Alan Demars                                       1150 West Centre Ave                                     Portage, MI 49024                                                   ademars@stcatherinesiena.org           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Catherine Of Siena Parish, Decatur County, Inc          Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Catherine Of Sienna                                     c/o Cullen and Dykman LLP                               Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Catherine Of Sienna R C Church, Metairie, La            Attn: Susan Zeringue                                    7887 Walmsley Ave                                        New Orleans, LA 70125                                               szeringue@arch‐no.org                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Catherines Episcopal Church                             Attn: Michael Armstrong                                 4758 Shelby Ave                                          Jacksonville, FL 32210                                              frmother@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Catherines Episcopal Church                             c/o Rogers Towers, Pa                                   Attn: Betsy C Cox, Esq                                   1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207             bcox@rtlaw.com                         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Catherines Episcopal Church, Chelsea, Al                Attn: Rev Rob Morpeth                                   521 N 20th St                                            Birmingham, AL 35203                                                rmorpeth@dioala.org                    Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Catherines R C Church                                   c/o Woods Oviatt Gilman LLP                             Attn: Timothy P Lyster, Esq                              1900 Bausch & Lomb Pl            Rochester, NY 14604                tlyster@woodsoviatt.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Charles Borromeo Catholic Church, Bloomington, Inc      Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Charles: Baker                                          Attn: Mary Zajac                                        307 Cedar Ave                                            St Charles, IL 60174                                                pastormary@bakermemorialchurch.org     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Christopher Catholic Church, Indianapolis, Inc          Attn: John S Mercer                                     1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Christophers (Hampstead)                                c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Christophers Church (Chicopee)                          c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   St. Christophers Episcopal Church                           6320 Hanover Ave                                        Springfield, VA 22150                                                                                                        sccparisha@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 375 of 442
                                                                                       Case 20-10343-LSS                                                        Doc 8171                                         Filed 01/06/22                                                   Page 391 of 457
                                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                                     Service List
                                                                                                                                                                                              Served as set forth below

        Description                                                             Name                                                                                                              Address                                                                                                           Email                   Method of Service
Voting Party                   St. Christophers Episcopal Church                                  7900 W Lovers Ln                                        Dallas, TX 75225                                                                                                                  rector@stchristophersdallas.com      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Christophers Episcopal Church                                  Attn: Mary Virginia Jacocks                             P.O. Box 600                                                  Swansboro, NC 28584                                                 jacocks@ec.rr.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Christophers Episcopal Church                                  Attn: Beverly Ann Moore‐Tasy                            207 E Permian Dr                                              Hobbs, NM 88240                                                     church@stchristophershobbs.com       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Christophers Episcopal Church (Spartanburg, Sc)                Attn: Alexander Hray Jr                                 400 Dupre Dr                                                  Spartanburg, SC 29307                                               lex@lexhray.com                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Christophers Episcopal Church Of The Ascension                 Attn: Marcus M Wilson                                   190 E Capitol St, Ste 650                                     Jackson, MS 39201                                                   mwilson@blswlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Christophers Episcopal Church Of The Ascension                 Attn: James B Ponder                                    643 Beasley Rd                                                Jackson, MS 39206                                                   bponder@dioms.org                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Christophers Episcopal Church, Fort Worth, Texas               Attn: The Reverend Canon Janet Waggoner                 P.O. Box 8695                                                 Fort Worth, TX 76124                                                janet.waggoner@edfw.ord              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Christophers Episcopal Church, Havelock Nc                     P O Box 626                                             Havelock, NC 28532                                                                                                                StChristophersHavelock@gmail.com     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Christophers Episcopal Church, Havelock Nc                     Attn: St Christophers Episcopal Church                  P.O. Box 626                                                  Havelock, NC 28532                                                  StChristophersHavelock@gmail.com     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Christophers Episcopal Church, Killeen,Texas                   Attn: Fr Steve Karcher, Jd                              2800 Trimmier Rd                                              Killen, TX 76542                                                    st.chris.killeen@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Christophers RC Church                                         c/o Cullen and Dykman LLP                               Attn: Matthew G Roseman                                       100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Clare Of Assisi Episcopal Church                               2309 Packard St                                         Ann Arbor, MI 48104                                                                                                               lklimach@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Clares Episcopal Church In Pleasanton, CA                      Attn: The Rev Ron Culmer                                3350 Hopyard Rd                                               Pleasanton, CA 94588                                                onebreadonecup@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Clares R C Congregation, Inc                                   c/o Gallagher Evelius & Jones LLP                       Attn: Matthew W Oakey                                         218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Clement Of Rome Roman Chatholic Church, Metairie, Louuisiana   Attn: Susan A Zeringue                                  7887 Walmsley Ave                                             New Orleans, LA 70125                                               szeringue@arch‐no.org                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Clements Episcopal Church                                      c/o Episcopal Diocese of Northwestern Pa                Attn: Sean Rowe                                               145 W 6th St                     Erie, PA 16501                     cdougan@dionwpa.org                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Clements Episcopal Church                                      4300 Harrison                                           Inkster, MI 48141                                                                                                                                                      First Class Mail
Voting Party                   St. Clements Episcopal Church (Massey)                             c/o The Law Office of Andrea Ross                       Attn: Andrea Ross, Esq                                        129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Cletus Catholic Church, Gretna, LA                             Attn: Susan A Zeringue, General Counsel                 7887 Walmsley Ave                                             New Orleans, LA 70125                                               szeringue@arch‐no.org                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Columba Episcopal Church                                       451 W 52nd St                                           Marathon, FL 33050                                                                                                                stcolumbamarathon.office@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Columba Episcopal Church                                       c/o Diocese of East Tennessee                           Attn: Brain Cole                                              607 Greenfield Pl                Bristol, TN 37620                                                       First Class Mail
Voting Party                   St. Columbas Chapel Episcopal Church (Middleton)                   c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Davids By The Sea Episcopal Church                             600 4th St S                                            Cocoa Beach, FL 32931                                                                                                             porterctaylor@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Davids Church (Feeding Hills)                                  c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Davids Church (Salem)                                          c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Davids Episcopal Church                                        c/o Diocese of Central Florida                          Attn: Rev Canon Scott Holcombe                                1017 E Robinson St               Orlando, FL 32801                  sholcombe@cfdiocese.org              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Davids Episcopal Church                                        Attn: Rev Joshua D Nelson                               26824 County Rd 4                                             Elkhart, IN 46514                                                   rmilligan@pilawyers.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Davids Episcopal Church                                        Attn: Allan M Steed                                     43600 Russell Branch Pkwy                                     Ashburn, VA 20147                                                   property@sdlife.org                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Davids Episcopal Church                                        Attn: Thomas Bagnall                                    P.O. Box 125                                                  Aylett, VA 23009                                                    info@stdavissaylett.church           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Davids Episcopal Church                                        Attn: Thomas Bagnall                                    P.O. Box 125                                                  Aylett, VA 23009                                                    info@stdavidsaylett.church           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Davids Episcopal Church                                        Attn: Fr Chris Yaw                                      16200 W 12 Mile Rd                                            Southfield, MI 48076                                                chris@stdavidssf.org                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Davids Episcopal Church Lincoln Ne                             8800 Holdrege St                                        Lincoln, NE 68505                                                                                                                 stdavidlincoln@inebraska.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Davids Episcopal Church, Inc                                   Attn: Benjamin D Bailey                                 800 Battery Ave Se, Ste 100                                   Atlanta, GA 30339                                                   ben@cmblaw.com                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Davids On The Hill Episcopal Church (Cranston)                 c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Dominic Catholic Church                                        c/o Cullen and Dykman LLP                               Attn: Matthew G Roseman                                       100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Dominics R C Church, New Orleans, LA                           Attn: Susan Zeringue, General Counsel                   7887 Walmsley Ave                                             New Orleans, LA 70125                                               szeringue@arch‐no.org                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Dunstans Episcopal Church                                      1830 Kirby Rd                                           Mclean, VA 22101                                                                                                                  rector@stdunstans.net                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Dunstans Episcopal Church                                      Attn: Parish Administrator                              28005 Robinson Canyon Rd                                      Carmel, CA 93923                                                    office@stdcv.org                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Dunstans Episcopal Church                                      14301 Stuebner Airline Rd                               Houston, TX 77069                                                                                                                                                      First Class Mail
Voting Party                   St. Dunstans Episcopal Church (Waitsfield)                         c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Edward The Confessor Church                                    c/o Cullen and Dykman LLP                               Attn: Matthew G Roseman                                       100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Edwards Episcopal Church                                       Attn: Mark Alan Lafler                                  460 N Grandview St                                            Mt Dora, FL 32757                                                   stedwardschurch@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Edwards Episcopal Church, Inc                                  Attn: Jeannette Best‐Nunez, Secretary                   P.O. Box 351                                                  Lawrenceville, GA 30046                                             nharrison@deminglaw.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Elizabeth Ann Seton Catholic Church, Richmond, Inc             Attn: John S Mercer                                     1400 N Meridian St                                            Indianapolis, IN 46202                                              jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Elizabeth Of Hungary Catholic Church, Cambridge City, Inc      Attn: John S Mercer                                     1400 N Meridian St                                            Indianapolis, IN 46202                                              jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Elizabeth Of Hungary R.C. Church                               c/o Cullen and Dykman LLP                               Attn: Matthew G Roseman                                       100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Elizabeths Episcopal Church                                    1 Morse Rd                                              Sudbury, MA 01776                                                                                                                 office@st‐elizabeths.org             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Elizabeths Episcopal Church                                    Attn: Kyle T Lewis                                      110 Sugarwood Dr                                              Knoxville, TN 37922                                                 ktlewis@mindspring.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Elizabeths Episcopal Church                                    Attn: David Gierlach                                    720 N King St                                                 Honolulu, HI 96817                                                  david.gierlach@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Elizabeths Episcopal Church                                    c/o Squire Patton Boggs (Us) LLP                        Attn: Mark A Salzberg                                         2550 M St NW                     Washington, DC 20037               david.gierlach@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Elizabeths Episcopal Church (Hope Valley)                      c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Frances Cabrini Church                                         c/o Cullen and Dykman LLP                               Attn: Matthew G Roseman                                       100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Catholic Church, Henryville, Inc                       Attn: John S Mercer                                     1400 N Meridian St                                            Indianapolis, IN 46202                                              jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Chapel (Marlborough)                                   c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Church (Holden)R)                                      c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Church Stamford Connecticut                            Attn: Cathleen L Ostuw                                  503 Old Long Ridge Rd                                         Stamford, CT 06903                                                  stfrancisstamford@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis De Sales Catholic Church                               c/o Cullen and Dykman LLP                               Attn: Matthew G Roseman                                       100 Quentin Roosevelt Blvd       Garden City, NY 11530              MRoseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis De Sales Catholic Church, Norton Shores                c/o Warner Norcross & Judd LLP                          Attn: Elisabeth M Von Eitzen                                  150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis De Sales Parish, Holland                               c/o Warner Norcross & Judd LLP                          Attn: Elisabeth M Von Eitzen                                  150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Episcopal Church                                       Attn: The Rev Alex Lenzo                                2093 Cabezon Rd                                               Rio Rancho, NM 87124                                                stfechurch@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Episcopal Church                                       Attn: Regina Marie Hurley                               2903 Cabezon Rd                                               Rio Rancho, NM 87124                                                stfechurch@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Episcopal Church                                       Attn: Dianne Sowell                                     158 W Norris Rd                                               Norris, TN 37828                                                    sowell83@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Episcopal Church                                       Attn: Stuart A Bates                                    345 Piney Point Rd                                            Houston, TX 77024                                                   sbates@stfranchishouston.org         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Episcopal Church                                       Attn: The Rev Timothy Backus                            1 St Francis Dr                                               Gulf Breeze, FL 32561                                               revbackus@stfrancisgulfbreeze.org    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Episcopal Church                                       c/o Kramer Rayson LLP                                   Attn: George Arrants                                          814 Episcopal School Way         Knoxville, TN 37932                garrants@kramer‐rayson.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Episcopal Church                                       Attn: Rev Ben R Wells                                   432 Forest Hill Rd                                            Macon, GA 31210                                                     ben@stfrancismacon.org               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Episcopal Church (Coventry)                            c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Episcopal Church Of Turlock, CA                        c/o Ragghianti Freitas LLP                              Attn: Michael O Glass, Esq                                    1101 5th Ave, Ste 100            San Rafael, CA 94901               mglass@rflawllp.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Episcopal Church Of Turlock, CA                        c/o Ragghianti Freitas LLP                              Attn: Michael O. Glass, Esq.                                  1101 5th Ave, Ste 100            San Rafael, CA 94901               mglass@rflawllp.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis In‐The‐Field Episcopal Church                          Attn: Michael Ellis                                     895 Palm Valley Rd                                            Ponte Vedra Beach, FL 32081                                         frmellis@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis In‐The‐Field Episcopal Church                          c/o Rogers Towers, Pa                                   Attn: Betsy C Cox, Esq                                        1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207             bcox@rtlaw.com                       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Of Assisi Episcopal Church                             c/o Episcopal Diocese of Northwestern Pa                Attn: Sean Rowe                                               145 W 6th St                     Erie, PA 16501                     cdougan@dionwpa.org                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Of The Prairie Episcopal Church                        Attn: Tim Boyd                                          357 Willow Creek Dr                                           Wright, WY 82732                                                    revsallyb@q.com                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Xavier Church                                          Attn: Monsignor Joseph Lamorte                          1011 1st Ave                                                  New York, NY 10022                                                  Msgr.Joseph.LaMorte@archny.org       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Xavier Germ R C Congregation                           c/o Woods Oviatt Gilman LLP                             Attn: Timothy P Lyster, Esq                                   1900 Bausch & Lomb Pl            Rochester, NY 14604                tlyster@woodsoviatt.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Francis Xavier R C Church                                      c/o Carella, Byrne, Cecchi Olstein Brody & Agnello PC   Attn: Charles M Carella, Esq                                  5 Becker Farm Rd                 Roseland, NJ 07068                 cmcarella@carellabyrne.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Gabriel Catholic Church, Connersville, Inc                     Attn: John S Mercer                                     1400 N Meridian St                                            Indianapolis, IN 46202                                              jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Gabriel The Archangel Catholic Church, Indianapolis, Inc       Attn: John S Mercer                                     1400 N Meridian St                                            Indianapolis, IN 46202                                              jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Gabriels Episcopal Church                                      124 Front St                                            Marion, MA 02738                                                                                                                  stgabrielsmarion@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Gabriels Episcopal Church                                      Attn: Rev Kathleen Elaine Dorr                          68 Main St                                                    East Berlin, CT 06023                                               stgabrielseb@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Gabriels Episcopal Church                                      Attn: Donovan I Leys                                    331 Hawthorne St                                              Brooklyn, NY 11225                                                  stgabrielschurchbrooklyn@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Gabriels Episcopal Church                                      331 Hawthorne St                                        Brooklyn, NY 11225                                                                                                                stgabrielschurchbrooklyn@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Gabriels Episcopal Church                                      c/o Rogers Towers, Pa                                   Attn: Betsy C Cox, Esq                                        1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207             Eejones72@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Gabriels Episcopal Church                                      Attn: Eddie Jones, Jr                                   P.O. Box 12252                                                Jacksonville, FL 32209                                              Eejones72@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Gabriels Episcopal Church, Titusville, Fl                      Attn: Edwin L Hill                                      414 Pine St                                                   Titusville, FL 32796                                                office@stgabriels.church             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. George Episcopal Church                                        Attn: Arden Mclean                                      6904 West Ave                                                 San Antonio, TX 78213                                               ardenmclean@sbcglobal.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Georges (Durham)                                               c/o The Tamposi Law Group, PC                           Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Georges Church Flushing                                        13532 38th Ave                                          Flushing, NY 11354                                                                                                                flushingsaintgeorge@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Georges Episcopal Church                                       Attn: Michael J Woods                                   915 N Oakland St                                              Arlington, VA 22203                                                 woodsmichaelj@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Georges Episcopal Church                                       P O Box 255                                             Hampstead, MD 21074                                                                                                               stgeorgesepiscopal@comcast.net       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Georges Episcopal Church                                       Attn: William James Stowell                             393 Tucker Hill Rd                                            Middlebury, CT 06762                                                saintgeorgesct@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Georges Episcopal Church                                       Attn: Paul H Castelli                                   801 E Commerce S                                              Milford, MI 48341                                                   priest@stgeorgesmilford.org          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Georges Episcopal Church                                       Attn: Gregory Charles Syler                             19165 Poplar Hill Ln, P.O. Box 87                             Valley Lee, MD 20692                                                greg@stgeorgesvl.org                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Georges Episcopal Church                                       19167 Poplar Hill Ln, P O Box 30                        Valley Lee, MD 20692                                                                                                              greg@stgeorgesvl.org                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Georges Episcopal Church                                       P O Box 162                                             Middlebury, CT 06762                                                                                                                                                   First Class Mail
Voting Party                   St. Georges Episcopal Church Astoria                               14‐02 27th Ave                                          Astoria, NY 11102                                                                                                                 stgeorge.astoria@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Georges Episcopal Church, Germantown                           Attn: The Rev Canon Sharon Alexander                    692 Poplar Ave                                                Memphis, TN 38105                                                   salexander@episwtn.org               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                     Page 376 of 442
                                                                                    Case 20-10343-LSS                                                          Doc 8171                                                 Filed 01/06/22                                                  Page 392 of 457
                                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                                           Service List
                                                                                                                                                                                                    Served as set forth below

        Description                                                       Name                                                                                                                           Address                                                                                                         Email                        Method of Service
Voting Party                   St. George's Episcopal Church, Hempstead, NY (Pack 300)        Attn: Ajung Soswal                                         319 Front St                                                          Hempstead, NY 11550                                                ajungsojwal@stgeorges‐hempstead.org      Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Georges Episcopal Day School                               Attn: Jerry Hudson                                         106 Sharkey                                                           Clarksdale, MS 38614                                               jhudsons@bellsouth.net                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Gerard Majella R.C. Parish                                 c/o Cullen and Dykman LLP                                  Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd      Garden City, NY 11530              MRoseman@cullenllp.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Gertrude R C Church, Des Allemands, La                     Attn: Susan Zeringue                                       7887 Walmsley Ave                                                     New Orleans, LA 70125                                              szeringue@arch‐no.org                    Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Gertrudes Catholic Church                                  c/o Westerman Ball Ederer Miller Zucker & Sharfstein       Attn: Jw/Wch                                                          1201 Rxr Plz                    Uniondale, NY 11556                wheuer@westermanllp.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Gertrudes Church                                           c/o Cullen and Dykman LLP                                  Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd      Garden City, NY 11530              MRoseman@cullenllp.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Gregorys Episcopal Church                                  Attn: Rev Anne B Jolly                                     815 Wilmot Rd                                                         Deerfield, IL 60015                                                anne@stgregoryschurch.org                Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Helena Parish                                              Attn: Monsignor Joseph Lamorte                             1011 1st Ave                                                          New York, NY 10022                                                 Msgr.Joseph.LaMorte@archny.org           Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Helenas Chapel (Lenox)                                     c/o The Tamposi Law Group, PC                              Attn: Peter N Tamposi                                                 159 Main St                     Nashua, NH 03060                   peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Helenas Episcopal Church And School                        Attn: Erin Barton                                          410 N Main St                                                         Boerne, TX 78006                                                   ann@sthelenas.net                        Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Hugh Of Lincoln R.C. Church                                c/o Cullen and Dykman LLP                                  Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd      Garden City, NY 11530              MRoseman@cullenllp.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Hyacinth Catholic Church                                   c/o Westerman Ball Ederer Miller Zucker & Sharfstein LLP   Attn: William C Heuer                                                 1201 Rxr Plz                    Uniondale, NY 11556                wheuer@westermanllp.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Igantius Loyola, Urbana, R C Congregation, Inc             c/o Gallagher Evelius & Jones LLP                          Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400       Baltimore, MD 21201                moakey@gejlaw.com                        Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Ignatius Loyola                                            c/o Westerman Ball Ederer Miller Zucker & Sharfstein       Attn: Jw/Wch                                                          1201 Rxr Plz                    Uniondale, NY 11556                wheuer@westermanllp.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Ignatius Martyr Church                                     c/o Westerman Ball Ederer Miller Zucker & Sharfstein       Attn: William C Heuer                                                 1201 Rxr Plz                    Uniondale, NY 11556                wheuer@westermanllp.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Isidore R C Church                                         Attn: Theresa A Driscoll                                   622 Polaski St                                                        Riverhead, NY 11901                                                                                         First Class Mail
Voting Party                   St. Isidore The Farmer Catholic Church, Bristow, Inc           Attn: John S Mercer                                        1400 N Meridian St                                                    Indianapolis, IN 46202                                             jsmercer@indylegal.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James (Keene)                                              c/o The Tamposi Law Group, PC                              Attn: Peter N Tamposi                                                 159 Main St                     Nashua, NH 03060                   peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James (Laconia I)                                          c/o The Tamposi Law Group, PC                              Attn: Peter N Tamposi                                                 159 Main St                     Nashua, NH 03060                   peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James (Laconia)                                            c/o The Tamposi Law Group, PC                              Attn: Peter N Tamposi                                                 159 Main St                     Nashua, NH 03060                   peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James (Woonsocket)                                         c/o The Tamposi Law Group, PC                              Attn: Peter N Tamposi                                                 159 Main St                     Nashua, NH 03060                   peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Church                                               c/o Cullen and Dykman LLP                                  Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd      Garden City, NY 11530              MRoseman@cullenllp.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Church                                               c/o Ragghianti Freitas LLP                                 Attn: Michael Glass                                                   1101 5th Ave, Ste 100           San Rafael, CA 94901               mglass@rflawllp.com                      Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Church                                               c/o Ragghianti Freitas LLP                                 Attn: Michael O. Glass, Esq.                                          1101 5th Ave, Ste 100           San Rafael, CA 94901               mglass@rflawllp.com                      Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Church (Greenfield)                                  c/o The Tamposi Law Group, PC                              Attn: Peter N Tamposi                                                 159 Main St                     Nashua, NH 03060                   peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Church (Gt. Barrington)                              c/o The Tamposi Law Group, PC                              Attn: Peter N Tamposi                                                 159 Main St                     Nashua, NH 03060                   peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church                                     Attn: Dustin Trowbridge                                    25 West St                                                            Danbury, CT 06810                                                  welcome@saintjamesdanbury.org            Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church                                     260 Beaver Dam Rd                                          Brookhaven, NY 11719                                                                                                                     stjamesbrookhaven@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church                                     c/o Law Offices of Skip Jennings, P C                      Attn: Richard C E Jennings                                            115 W Oglethorpe Ave            Savannah, GA 31401                 skipjenningspc@comcast.net               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church                                     Attn: Beth Kohlmeyer Mallon                                11511 SW Bull Mountain Rd                                             Tigard, OR 97224                                                   revbethstjamestigard@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church                                     Attn: Ruben Fabian Ortiz                                   62 E Grand Ave                                                        New Haven, CT 06513                                                office@stjamesnewhaven.org               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church                                     204 Lee St                                                 Leesburg, FL 34748                                                                                                                       office@stjames‐leesburg.org              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church                                     Attn: Mark A Salzberg, Squire Patton Boggs (Us) LLP        2550 M St, Nw                                                         Washington, DC 20037                                               mark.salzberg@squirepb.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church                                     Attn: James Gadsden                                        296 Titicus Rd                                                        North Salem, NY 10560                                              garrett@stjamesns.org                    Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church                                     296 Titicus Rd                                             N Salem, NY 10560                                                                                                                        garrett@stjamesns.org                    Email
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Voting Party                   St. James Episcopal Church                                     44 S Halifax Dr                                            Ormond Beach, FL 32176                                                                                                                   frroy2012@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church                                     Attn: Mr Frederick R Williams                              14 Cornwall St Nw                                                     Leesburg, VA 20176                                                 fredwilliams5447@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church                                     306 North Court St                                         Quitman, GA 31643                                                                                                                                                                 First Class Mail
Voting Party                   St. James Episcopal Church                                     533 Bingham Ave                                            Sault Sainte Marie, MI 49783                                                                                                                                                      First Class Mail
Voting Party                   St. James Episcopal Church ‐ Penn Hills                        Attn: The Rev Canon Kimberly Karashin                      325 Oliver Ave, Ste 300                                               Pittsburgh, PA 15222                                               sld@sgkpc.com                            Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church ‐ Penn Hills                        Attn: The Rev Canon Kimberly Karashin                      325 Oliver Ave, Ste 300                                               Pittsburgh, PA 15222                                                                                        First Class Mail
Voting Party                   St. James Episcopal Church (Arlington)                         c/o The Tamposi Law Group, PC                              Attn: Peter N Tamposi                                                 159 Main St                     Nashua, NH 03060                   peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church (Essex Junction)                    c/o The Tamposi Law Group, PC                              Attn: Peter N Tamposi                                                 159 Main St                     Nashua, NH 03060                   peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James' Episcopal Church (North Providence)                 c/o The Tamposi Law Group, PC                              Attn: Peter N Tamposi                                                 159 Main St                     Nashua, NH 03060                   peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church (Port Deposit)                      c/o The Law Office of Andrea Ross                          Attn: Andrea Ross, Esq                                                129 N West St, Ste 1            Easton, MD 21601                   Patrick@DioceseofEaston.org              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church (Woodstock)                         c/o The Tamposi Law Group, PC                              Attn: Peter N Tamposi                                                 159 Main St                     Nashua, NH 03060                   peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church Edison N.J.                         Attn: Mary L Testori                                       2136 Woodbrdge Ave                                                    Edison, NJ 08817                                                   info@stjamesedison.org                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church In Fremont, Alameda County, Calif   Attn: The Rev Lori A Walton                                P.O. Box 457                                                          Fremont, CA 94537                                                  lori@saintj.com                          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church Mill Creek Hundred                  Attn: Rector                                               2116 St James Church Rd                                               Wilmington, DE 19808                                               rector@stjamesmillcreek.comcastbiz.net   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church Of Knoxville, Tennessee             Attn: C L Creech                                           1101 N Broadway                                                       Knoxville, TN 37917                                                leecreech02@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church Of Knoxville, Tennessee             Attn: George R Arrants, Esq                                814 Episcopal School Way                                              Knoxville, TN 37932                                                garrants@kramer‐rayson.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church Of West Bend                        Attn: Rev Maureen Martin                                   148 8th Ave                                                           West Bend, WI 53095                                                mtrmaureen@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church, Alexander City, Al                 Attn: the Rev Rob St Germain‐Iler                          347 S Central Ave                                                     Alexander City, AL 35010‐2579                                      frrob7@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church, Alexander City, Al                 Attn: Rev Rob Morpeth, Diocese of Alabama                  521 N 20th St                                                         Birmingham, AL 35203                                               frrob7@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church, Black Mountain, NC                 Address Redacted                                                                                                                                                                                    Email Address Redacted                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James' Episcopal Church, Dexter, Mi                        Attn: Julie C Lowery                                       3279 Broad St                                                         Dexter, MI 48130                                                   julie.lowery13@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James' Episcopal Church, Dexter, Mi                        Attn: Julie C Lowery                                       4600 Walsh Rd                                                         Whitmore Lake, MI 48189                                            julie.lowery13@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church, Manitowoc, Wi                      c/o Episcopal Diocese of Fond Du Lac                       Attn: Gordon E Stillings                                              P.O. Box 98                     Neenah, WI 54956                   gordon@stillingslaw.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Episcopal Church, Manitowoc, Wi                      Attn: Episcopal Diocese of Fond Du Lac                     1051 N Lynndale Dr, Ste 1B                                            Appleton, WI 54914                                                 diofdl@diofdl.org                        Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James' Episcopal Church, Texarkana, Tx                     Attn: Fr David Halt                                        413 Olive St                                                          Texarkana, TX 75501                                                rector@saintjamestxk.org                 Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James' Episcopal Church, Watkins Glen, Ny                  St James' Episcopal Church                                 Kathleen Lamoreaux                                                    112 6th St                      Watkins Glen, NY 14891             kalamoreaux@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Evangelical Lutheran Church                          c/o Plews Shadley Racher & Braun LLP                       Attn: Josh S Tatum                                                    1346 N Delaware St              Indianapolis, IN 46202             jtatum@psrb.com                          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Lutheran Church                                      Attn: Daniel Raymond Roll                                  6951 Jamelia Ct                                                       Fairview, PA 16415                                                 drrolle@finishthompson.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Luthern Church                                       Attn: Dale Rosema                                          2040 Oakwood Ave Ne                                                   Grand Rapids, MI 49505                                             dale.m.rosema@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Memorial Episcopal Church                            c/o Episcopal Diocese of Northwestern Pa                   Attn: Sean Rowe                                                       145 W 6th St                    Erie, PA 16501                     cdougan@dionwpa.org                      Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James RC Church                                            c/o Cullen and Dykman LLP                                  Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd      Garden City, NY 11530              MRoseman@cullenllp.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Umc                                                  Attn: John G Hawkins                                       570 Rte 131 Main St                                                   Proctorsville, VT 05153                                            stjamesumcvt@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Umc                                                  Attn: John G Hawkins                                       P.O. Box 113                                                          Proctorsville, VT 05153                                            stjamesumcvt@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James Umc, Tarboro, Nc                                     Attn: Wayne S Boyette                                      204 W Park Ave                                                        Tarboro, NC 27886                                                  unctarheel1984@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James United Methodist Church                              2000 E 6th St                                              Greenville, NC 27858                                                                                                                     tyrone@stjconnect.org                    Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James United Methodist Church                              Attn: Richard Woofter                                      213 N Lanford Rd                                                      Spartanburg, SC 29301                                              stjamesumcsecretary@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James United Methodist Church                              Attn: Robin House                                          P.O. Box 895                                                          Merrimack, NH 03054                                                stjamesmrmk@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James United Methodist Church                              Attn: Randy Wissinger                                      2372 Sydneys Bend Dr                                                  Miamisburg, OH 45342                                               rwissinger@aol.com                       Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James United Methodist Church                              Attn: Pastor Caleb Wheat                                   575 Winfield Dr                                                       Bowling Green, KY 42103                                            pastor@stjamesbg.org                     Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James United Methodist Church                              Attn: Harrison Bell                                        9045 Vaughn Rd                                                        Montgomery, AL 36117                                               harrison@sjlife.com                      Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James United Methodist Church                              Attn: Gayle Bohannon                                       321 Pleasant Valley Dr                                                Little Rock, AR 72212                                              gayle@stjamesLR.org                      Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James United Methodist Church                              Attn: Trustee Chair, St James Umc                          1430 Ellis Blvd Nw                                                    Cedar Rapids, IA 52405                                             crstjamesumc@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James United Methodist Church Of Goose Creek, Sc           Attn: Virginia Byrne                                       512 St James Blvd                                                     Goose Creek, SC 29445                                              St_JamesUMC@comcast.net                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. James United Methodist Church Sioux City, Ia               Attn: Vern Yates                                           2032 S Cypress                                                        Sioux City, IA 51106                                               scsaintjames@aol.com                     Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Jamess Episcopal Church                                    1991 Massachusetts Ave                                     Cambridge, MA 02140                                                                                                                      office@stjamescambridge.org              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Joachims Church                                            c/o Jw/Wch                                                 Attn: Westerman Ball Ederer Miller Zucker & Sharfstein                1201 Rxr Plz                    Uniondale, NY 11556                wheuer@westermanllp.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Joan Of Arc Catholic Church, Indianapolis, Inc             Attn: John S Mercer                                        1400 N Meridian St                                                    Indianapolis, IN 46202                                             jsmercer@indylegal.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Joan Of Arc R C Church, Laplace, La                        Attn: Susan Zeringue                                       7887 Walmsley Ave                                                     New Orleans, LA 70125                                              szeringue@arch‐no.org                    Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John American Lutheran Church                              c/o Hope Matchan Law                                       Attn: Hope Elizabeth Matchan                                          1912 W 13th St                  Sioux Falls, SD 57104              pastormatchan@msn.com                    Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John Ev. Lutheran Church ‐ Reedsburg, Wi                   Attn: Curt Brekke                                          307 6th St                                                            Reedsburg, WI 53959                                                vicki@sjrdb.com                          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John Evangelical Lutheran Church                           Attn: James A Sass, President                              207 Adams St                                                          Port Clinton, OH 43452                                             stjohnportclinton@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John Lutheran Church                                       Attn: Thomas Hintz                                         45 Highland Ave                                                       Wallingford, CT 06492                                              tehintz@snet.net                         Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John Lutheran Church                                       Attn: Cindy Warmbier‐Meyer                                 1700 Lost Dauphin Rd                                                  De Pere, WI 54115                                                  pastorcindy@stjohndepere.org             Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John Lutheran Church ‐ Champaign                           Attn: Rochelle A Funderburg                                P.O. Box 6750                                                         306 W Church St                 Champaign, IL 61820                rfunderburg@meyercapel.com               Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John Lutheran Church Lawrenceburg, Indiana                 c/o Plews Shadley Racher & Braun LLP                       Attn: Josh S Tatum                                                    1346 N Delaware St              Indianapolis, IN 46202             jtatum@psrb.com                          Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John Lutheran Church, Inc                                  Attn: Thomas Hintz                                         520 Paddock Ave                                                       Meriden, CT 06450                                                  office@saintjohnmeriden.org              Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John Nepomucene                                            c/o Cullen and Dykman LLP                                  Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd      Garden City, NY 11530              MRoseman@cullenllp.com                   Email
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Voting Party                   St. John Of God R C Church                                     c/o Westerman Ball Ederer Miller Zucker & Sharfstein       Attn: Jw/Wch                                                          1201 Rxr Plz                    Uniondale, NY 11556                wheuer@westermanllp.com                  Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John Paul II Catholic Church Sellersburg Inc               Attn: John S Mercer                                        1400 N Meridian St                                                    Indianapolis, IN 46202                                             jsmercer@indylegal.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Apostle Catholic Church, Bloomington, Inc         Attn: John S Mercer                                        1400 N Meridian St                                                    Indianapolis, IN 46202                                             jsmercer@indylegal.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Baptist Catholic Church, Osgood, Inc              Attn: John S Mercer                                        1400 N Meridian St                                                    Indianapolis, IN 46202                                             jsmercer@indylegal.com                   Email
                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Baptist Church                                    c/o Cullen and Dykman LLP                                  Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd      Garden City, NY 11530              mroseman@cullenllp.com                   Email
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In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                            Page 377 of 442
                                                                                   Case 20-10343-LSS                                                      Doc 8171                                    Filed 01/06/22                                                     Page 393 of 457
                                                                                                                                                                                         Exhibit B
                                                                                                                                                                                          Service List
                                                                                                                                                                                   Served as set forth below

        Description                                                         Name                                                                                                       Address                                                                                                               Email                    Method of Service
Voting Party                   St. John The Baptist Episcopal Church                          Attn: Gabriela Marquez                                2461 Grove Ave                                           Corona, CA 92882                                                      socallawgrl@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Baptist Episcopal Church                          P O Box 152                                           Corona, CA 92878                                                                                                               saintjohnsrector@gmail.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Baptist Episcopal Church (Hardwick)               c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                     peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Baptist Episcopal Church, Wausau, Wi              Attn: Episcopal Diocese of Fond Du Lac                1051 N Lynndale Dr, Ste 1B                               Appleton, WI 54914                                                    gordon@stillingslaw.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Evagelist Church                                  c/o Woods Oviatt Gilman LLP                           Attn: Timothy P Lyster, Esq                              1900 Bausch & Lomb Pl            Rochester, NY 14604                  tlyster@woodsoviatt.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Evangelist                                        c/o Cullen and Dykman LLP                             Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530                mroseman@cullenllp.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Evangelist Catholic Church, Indianapolis, Inc     Attn: John S Mercer                                   1400 N Meridian St                                       Indianapolis, IN 46202                                                jsmercer@indylegal.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Evangelist Episcopal Church                       Attn: Rev Terri Peterson                              226 W Lexington Ave                                      Elkhart, IN 46516                                                     rmilligan@pilawyers.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Evangelist R.C. Church                            c/o Cullen and Dykman LLP                             Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530                mroseman@cullenllp.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Evangelist, Columbia, R C Congregation, Inc       Attn: Matthew W Oakey                                 218 N Charles St, Ste 400                                Baltimore, MD 21201                                                   moakey@gejlaw.com                       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Evangelist, Severna Park, R C Congregation, Inc   Attn: Matthew W Oakey                                 218 N Charles St, Ste 400                                Baltimore, MD 21201                                                   moakey@gejlaw.com                       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Evangelist, Severna Park, R C Congregation, Inc   c/o Gallagher Evelius & Jones LLP                     Attn: Matthew W Oakey                                    218 N Charles St, Ste 400        Baltimore, MD 21201                  moakey@gejlaw.com                       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John The Evangelist's,Frederick, R C Congregation, Inc     Attn: Matthew W Oakey                                 Attn: Matthew W Oakey                                    218 N Charles St, Ste 400        Baltimore, MD 21201                  moakey@gejlaw.com                       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John United Church Of Christ                               Attn: Joy Honegger                                    307 West Clay St                                         Collinsville, IL 62234                                                office@stjohnucc‐collinsville.com       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John United Methodist Church                               Attn: Robert D Cole                                   3911 Grand Central Ave                                   Vienna, WV 26105                                                      rdeancole@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John Vianney Catholic Church, Wyoming                      c/o Warner Norcross & Judd LLP                        Attn: Elisabeth M Von Eitzen                             150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503               evoneitzen@wnj.com                      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John Vianney R C Church Society Of Orchard Pa              c/o Woods Oviatt Gilman LLP                           Attn: Timothy P Lyster, Esq                              1900 Bausch & Lomb Pl            Rochester, NY 14604                  tlyster@woodsoviatt.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Boyertown Evangelical Lutheran Church Of America     Attn: Robert Machamer                                 45 N Reading Ave                                         Boyertown, PA 19512                                                   bmachamer@stjohnsboyertown.org          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns By The Bay (Betterton)                               c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                   129 N West St, Ste 1             Easton, MD 21601                     Patrick@DioceseofEaston.org             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Church                                               Attn: Rev Lisa Mason                                  4 Fountain Sq                                            Larchmont, NY 10538                                                   revlisa@stjohnslarchmont.org            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Church                                               Attn: Margaret L Shields                              224 Waverly Pl                                           New York, NY 10014                                                    counsel@stjvny.org                      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Church (Athol)                                       c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                     peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Church (Northampton)                                 c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                     peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Church (Portsmouth)                                  c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                     peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Church (Walpole)                                     c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                     peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Church (Williamstown)                                c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                     peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Church, Vernon Ct                                    Attn: Kevin D Fenner                                  523 Hartford Tpke                                        Vernon, CT 06066                                                      treasurer@stjohnsvernonct.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Church/Holy Spirit (Sutton)                          c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                     peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Virginia Jarrett                                1 Mountain Ave Sw                                        Roanoke, VA 24016                                                     vjarrett@investdavenport.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Rev, Maureen Lederman                           129 Ledge Hill Rd                                        Guilford, CT 06437                                                    stjohnsnorthguilford@gmail.com          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Regina L Bautista                               P.O. Box 98                                              Marietta, PA 17547                                                    stjohnsmarietta@comcast.net             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     290 Old Haw Creek Rd                                  Asheville, NC 28805                                                                                                            stjohnsasheville@gmail.com              Email
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Voting Party                   St. Johns Episcopal Church                                     Attn: Adam Trambley                                   226 W State St                                           Sharon, PA 16146                                                      stjohns@stjohnssharon.org               Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Timothy James Rogers                            322 S Franklin St                                        Holbrook, MA 02343                                                    stjohns.holbrook@gmail.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Rev Christie Hord                               401 Live Oak Ave                                         Pensacola, FL 32507                                                   sremington@clarkpartington.com          Email
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Voting Party                   St. Johns Episcopal Church                                     P O Box 400                                           Green River, WY 82935                                                                                                          rlauritzen62@gmail.com                  Email
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Voting Party                   St. Johns Episcopal Church                                     834 Durham Rd                                         Wake Forest, NC 27587                                                                                                          rector@stjohnswf.com                    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     237 Pleasant St, P O Box 287                          Franklin, MA 02038                                                                                                             rector@stjohnsfranklinma.org            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: David Hefling                                   183 N Main St                                            Canandaigua, NY 14424                                                 rector@rochester.rr.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Peter Nicolaysen                                P.O. Box 7                                               Casper, WY 82602                                                      petercn@vcn.com                         Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Elizabeth Yale                                  513 12th St                                              Franklin, PA 16323                                                    motherelizabeth@stjohnsfranklin.org     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Ali Alter                                       2500 N 10th St                                           Mcallen, TX 78501                                                     mgalindo@stjohns‐mcallen.org            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Mark A Salzberg, Squire Patton Boggs (Us) LLP   2550 M St, Nw                                            Washington, DC 20037                                                  mark.salzberg@squirepb.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Kathy Mcbride                                   628 Main St                                              Stamford, CT 06901                                                    Kmcbride@stjohns‐stamford.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     c/o Squire Patton Boggs (Us) LLP                      Attn: Mark A Salzberg                                    2550 M St NW                     Washington, DC 20037                 kerith.harding@gmail.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Pauline Samuel                                  137‐67 Belknap St                                        Springfield Gardens, NY 11413                                         info@stjohns‐springfieldgardensny.org   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: George Yu‐Fu King                               900 Jackson St, Ste 570                                  Dallas, TX 75202                                                      gking@chfirm.com                        Email
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Voting Party                   St. Johns Episcopal Church                                     120 1st St Ne                                         Mason City, IA 50401                                                                                                           fatherbenitz@gmail.com                  Email
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Voting Party                   St. Johns Episcopal Church                                     610 Young St                                          Melbourne, FL 32904                                                                                                            eric@stjohnsmlb.org                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     c/o Edmondson‐Korom Law LLC                           27 Greenhalge Ave                                        Everett, MA 02149                                                     edmondsonlaw@outlook.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     c/o Rogers Towers, Pa                                 Attn: Betsy C Cox, Esq                                   1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207               deanmoorehead@jaxcatheral.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Rev Duncan A Burns                              12 Prospect St                                           Huntington, NY 11743                                                  dburns@stjohnshuntington.org            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Cynthia Kiebala                                 280 E Center St                                          P.O. Box 699                     Medina, NY 14103                     cfisher@magavern.com                    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Edward R Monk                                   101 N 14th St                                            Corsicana, TX 75110                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Attn: Kerith Harding                                  8992 Kula Hwy                                            Kula, HI 96790                                                                                                First Class Mail
Voting Party                   St. Johns Episcopal Church                                     Ruth Lauritzen                                        P.O. Box 400                                             Green River, WY 82935                                                                                         First Class Mail
Voting Party                   St. Johns Episcopal Church ‐ Logan, Utah                       c/o Episcopal Diocese of Utah                         Attn: Chancellor                                         75 S 200 E                       Salt Lake City, UT 84111             shutchinson@episcopal‐ut.org            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church (Barrington)                        c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                     peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church (Essex, Ny)                         c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                     peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church (Randolph)                          c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                     peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church Charlotte, Nc                       Attn: John Horn                                       1623 Carmel Rd                                           Charlotte, NC 28226                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church In Oakland, CA                      Attn: The Rev Scott Denman                            1707 Gouldin Rd                                          Oakland, CA 94611                                                     rector@stjohnsoakland.org               Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church Of Mclean, Va                       Attn: Rev Joshua D Walters                            6715 Georgetown Pike                                     Mclean, VA 22101                                                      churchmail@stjohnsmclean.org            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church Sodus, Ny                           54 W Main St                                          Sodus, NY 14551                                                                                                                williamamckee@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church, A/K/A St. Johns Cathedral          Attn: Katherine Moorehead                             256 E Church St                                          Jacksonville, FL 32202                                                deanmoorehead@jaxcatheral.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church, Cape Vincent, New York             Attn: Martha L Berry                                  P.O. Box 3520                                            Syracuse, NY 13220‐3520                                               st.johnschurch352@hotmail.com           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church, Center, Tx                         St Johns Episcopal Church                             P.O. Box 1026                                            Center, TX 75935                                                      cduvon@gmail.com                        Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church, Iron River                         527 N 2nd Ave                                         Iron River, MI 49935                                                                                                                                                   First Class Mail
Voting Party                   St. Johns Episcopal Church, Ithaca, New York                   Attn: Martha L Berry                                  P.O. Box 3520                                            Syracuse, NY 13220‐3520                                               stjohns@clarityconnect.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church, Keokuk, Iowa                       St Johns Episcopal Church                             208 N 4th St                                             Keokuk, IA 52632                                                      stjohnskeokukiowa@gmail.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church, Kingston, Ny 12401                 Attn: Treasurer                                       207 Albony Ave                                           Kingston, NY 12401                                                    stjohnskingston@aol.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church, Marcellus                          Attn: Martha L Berry                                  P.O. Box 3520                                            Syracuse, NY 13220‐3520                                               sj15@windstream.net                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church, Munising                           121 W Onota St                                        Munising, MI 49862                                                                                                                                                     First Class Mail
Voting Party                   St. Johns Episcopal Church, Negaunee                           101 W Main St                                         Negaunee, MI 49866                                                                                                                                                     First Class Mail
Voting Party                   St. Johns Episcopal Church, Tuckahoe                           100 Underhill St                                      Yonkers, NY 10710                                                                                                              stjohnstuckahoe@gmail.com               Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church, Vernon Ct                          Attn: Kevin D Fenner                                  523 Hartford Tpke                                        Vernon, CT 06066                                                      treasurer@stjohnsvernonct.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Episcopal Church, Waynesboro, Virginia               Attn: The Rev Benjamin R Badgett                      P.O. Box 945                                             Waynesboro, VA 22980                                                  rector.stjohnsepiscopal@gmail.com       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Evangelical Lutheran Chruch                          Attn: Richard K Oberle                                1002 S Main St                                           Williamstown, NJ 08094                                                roberle4@comcast.net                    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Evangelical Lutheran Church                          Attn: Virginia Crossin                                P.O. Box 1031                                            Wilkes‐Barre, PA 18703                                                vcrossin@yahoo.com                      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Evangelical Lutheran Church                          Attn: Timothy J Kramer                                3521 Linda Vista Ave                                     Napa, CA 94558                                                        tjkusafa82@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Evangelical Lutheran Church                          Attn: Daniel Cohn                                     159 Route 26A                                            Stuyvesant, NY 12173                                                  stjohnsstuyvesant@gmail.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Evangelical Lutheran Church                          4501 7th Ave                                          Rock Island, IL 61201                                                                                                          office@stjohnsri.org                    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Evangelical Lutheran Church                          201 E Main St                                         Kutztown, PA 19530                                                                                                             kmiller1079@aol.com                     Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Evangelical Lutheran Church                          Attn: Diana L Anderson, Esq                           512 Main St                                              Toms River, NJ 08753                                                  Diana@DianaAndersonEsquire.com          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Evangelical Lutheran Church                          1 Front St Plz                                        P.O. Box 5                                               Mohnton, PA 19540                                                     bradgr.otm@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Evangelical Lutheran Church Of Grove City, Ohio      Attn: Pastor Seth Jersild                             3220 Columbus St                                         Grove City, OH 43123                                                  sj@stjohnsgc.org                        Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Evangelical Lutheran Church, Rutherford, Nj          Attn: Diana L Anderson, Esq                           512 Main St                                              Toms River, NJ 08753                                                  Diana@DianaAndersonEsquire.com          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns In The Mountains (Stowe)                             c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                     peter@thetamposilawgroup.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Lutheran Church                                      Attn: President Bill Schneeloch                       60 Broad St                                              Westfield, MA 01085                                                   president@stjohnswestfield.org          Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. John's Lutheran Church                                     Attn: Lisa Arrington Pastor                           3911 Sweet Air Rd                                        Phoenix, MD 21131                                                     office@stjohnssweetair.org              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Lutheran Church & School                             2415 Silas Creek Pkwy                                 Winston‐Salem, NC 27127                                                                                                        hbullock@stjohnsws.org                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Lutheran Church Of Orange, Ca                        Attn: Elizabeth (Betsy) Kunau                         154 S Shaffer                                            Orange, CA 92866                                                      bkunau@stjohnsorange.org                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Parish In Chula Vista, Ca                            Attn: James P Hill, Esq, Sullivan Hill Rez & Engel    600 B St, Ste 1700                                       San Diego, CA 92101                                                   hill@sullivanhill.com                   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Presbyterian Church Of Berkeley                      Attn: S Bradley Perkins                               Seyfarth Shaw LLP                                        560 Mission St, Ste 3100         San Francisco, CA 94105              bperkins@seyfarth.com                   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns School                                               Attn: Patricia Anne Bennett                           911 Marine Dr                                            Tumon, GU 96913                                                       pbennett@stjohnsguam.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns School                                               Attn: Mark A Salzberg, Squire Patton Boggs (Us) LLP   2550 M St Nw                                             Washington, DC 20037                                                  mark.salzberg@squirepb.com              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Umc                                                  Attn: Robert Turner                                   7372 Marine Rd                                           Edwardsville, IL 62025                                                rmturner2018@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   St. Johns Umc                                                  Attn: Chuck Martindill                                525 North Rd                                             Lancaster, NH 03584                                                                                           First Class Mail
Voting Party                   St. Johns Umc (3180)                                           c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                          Page 378 of 442
                                                                                    Case 20-10343-LSS                                                     Doc 8171                                                 Filed 01/06/22                                                    Page 394 of 457
                                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                                      Service List
                                                                                                                                                                                               Served as set forth below

        Description                                                          Name                                                                                                                   Address                                                                                                                           Email                 Method of Service
Voting Party                   St. Johns Umc, Spencer, Wv                                    Attn: Carl Tribett                                     333 Church St                                                         Spencer, WV 25276                                                                    carlanddona@frontier.com          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church                             Attn: Stephanie Hughes                                 8200 25th Ave N                                                       Texas City, TX 77591                                                                 shughes@stjohnsumctc.org          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church                             Attn: Raymon Puente                                    P.O. Box 168                                                          Rockdale, TX 76567                                                                   saintjohnsumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church                             Attn: Chuck Martindill                                 795 Meadows Rd                                                        Jefferson, NH 03583                                                                  mdill@hal‐pc.org                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church                             Leslie D Koll                                          1304 97th Ave Se                                                      Wimbledon, ND 58492                                                                  ldkoll@daktel.com                 Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church                             St Johns U M C                                         P.O. Box 25                                                           Wimbledon, ND 58492                                                                  ldkoll@daktel.com                 Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200         Tampa, FL 33602                                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church                             Attn: Pastor                                           2002 Bandera Rd                                                       San Antonio, TX 78228                                                                carlouise@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church                             Attn: Secretary/Treasurer And/Or Pastor                1501 University Ave                                                   Lubbock, TX 79401                                                                                                      First Class Mail
Voting Party                   St. Johns United Methodist Church                             Attn: Maria Sanchez                                    5312 Backlick Rd                                                      Springfield, VA 22151                                                                                                  First Class Mail
Voting Party                   St. Johns United Methodist Church ‐ Spencer, Wv               Attn: Carol Williams Treasurer                         335 Church St                                                         Spencer, WV 25276                                                                    tandcwilliams@suddenlink.net      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church (171015)                    c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200       Pittsburgh, PA 15228                                lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church (Az)                        c/o Clarke Law Firm, Plc                               Attn: Marilee Miller Clarke                                           8141 E Indian Bend Rd, Ste 105   Scottsdale, AZ 85250                                marilee@clarkelawaz.com           Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church Of Aiken                    Attn: Dr Tim Mcclendon                                 104 Newberry St Nw                                                    Aiken, SC 29801                                                                      tmcclendon@stjohns‐umc.org        Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church Of Rock Hill, Sc            Attn: David Surrett                                    321 S Oakland Ave                                                     Rock Hill, SC 29730                                                                  dsurrett@stjohnsrh.org            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church Of Winter Haven, Inc        c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200         Tampa, FL 33602                                     erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church, Los Angeles                Sandra M Winston                                       1715 Santa Ana Blvd N                                                 Los Angeles, CA 90002                                                                wattsumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Johns United Methodist Church, Los Angeles                Attn: Treasurer                                        1715 Santa Ana Blvd, North                                            Los Angeles, CA 90002                                                                wattsumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. John's, Mt. Washington                                    Attn: Devon Rae Holmes Ellison                         2211 W Rogers Ave                                                     Baltimore, MD 21122                                                                  admin@stjohnsmtwashington.org     Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. John's, Savannah                                          1 West Macon St                                        Savannah, GA 31401                                                                                                                                                                           First Class Mail
Voting Party                   St. Joseph Catholic Church, 319 E South St Lebanon, In        Attn: Matt Mckillip                                    610 Lingle Ave                                                        P.O. Box 260                     Lafayette, IN 47902                                 mmckillip@dol‐in.org              Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Joseph Catholic Church, Corydon, Inc                      Attn: John S Mercer                                    1400 N Meridian St                                                    Indianapolis, IN 46202                                                               jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Joseph Catholic Church, Jennings County, Inc              Attn: John S Mercer                                    1400 N Meridian St                                                    Indianapolis, IN 46202                                                               jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Joseph Parish                                             c/o Jw/Wch                                             Attn: Westerman Ball Ederer Miller Zucker & Sharfstein                1201 Rxr Plz                     Uniondale, NY 11556                                 wheuer@westermanllp.com           Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Joseph The Worker RC Church                               Attn: Theresa A Driscoll                               510 Naragansett Ave                                                   E Patchogue, NY 11772                                                                                                  First Class Mail
Voting Party                   St. Joseph United Methodist Church                            Attn: Pastor Mitch Norwood                             6004 Reed Rd                                                          Fort Wayne, IN 46835                                                                 mnorwood@stjoemin.com             Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Joseph University Catholic Church, Terre Haute, Inc       Attn: John S Mercer                                    1400 N Meridian St                                                    Indianapolis, IN 46202                                                               jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Josephs Church (Kings Park, Ny)                           c/o Cullen and Dykman LLP                              Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd       Garden City, NY 11530                               mroseman@cullenllp.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Josephs Episcopal Church                                  Attn: Kassinda Ellis                                   99‐10 217th Ln                                                        Queens Village, NY 11429                                                             kassindaellis@stjosephqv.org      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Josephs Episcopal Church Of Lakewood                      11202 W Jewell Ave                                     Lakewood, CO 80232                                                                                                                                         revquinn@me.com                   Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Josephs R C Congregation, Inc                             c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                                 218 N Charles St, Ste 400        Baltimore, MD 21201                                 moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Jude Catholic Church, Indianapolis, Inc                   Attn: John S Mercer                                    1400 N Meridian St                                                    Indianapolis, IN 46202                                                               jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Jude Catholic Church, Spencer, Inc                        Attn: John S Mercer                                    1400 N Meridian St                                                    Indianapolis, IN 46202                                                               jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Jude The Apostle Episcopal Church                         Attn: Scott Rotondo                                    20920 Mcclellan Rd                                                    Cupertino, CA 95014                                                                  treasurer@saintjudes.org          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Judes Church (Franklin)                                   c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                                    peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Judes Episcopal Church Of Niceville                       Attn: Cathy Self                                       200 Partin Dr                                                         Niceville, FL 32578                                                                  bobandcathyself@cox.net           Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Killians Parish                                           c/o Jw/Wch                                             Attn: Westerman Ball Ederer Miller Zucker & Sharfstein                1201 Rxr Plz                     Uniondale, NY 11556                                 wheuer@westermanllp.com           Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Ladislaus R.C. Church                                     c/o Cullen and Dykman LLP                              Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd       Garden City, NY 11530                               mroseman@cullenllp.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lawrence Catholic Church, Lawrence, Inc                   Attn: John S Mercer                                    1400 N Meridian St                                                    Indianapolis, IN 46202                                                               jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lawrence Catholic Church, Muncie, In 47305                Attn: Matt Mckillip                                    610 Lingle Ave, P.O. Box 260                                          Lafayette, IN 47902                                                                  mmckillip@dol‐in.org              Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lawrence Church, Lafayette, In 47904                      Attn: Matt Mckillip                                    610 Lingle Ave, P.O. Box 260                                          Lafayette, IN 47902                                                                  mmckillip@dol‐in.org              Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lawrence School                                           Attn: Monsignor Joseph Lamorte                         1011 1st Ave                                                          New York, NY 10022                                                                   Msgr.Joseph.LaMorte@archny.org    Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lawrence The Martyr R C Church                            c/o Westerman Ball Ederer Miller Zucker & Sharfstein   c/o Jw/Wch                                                            1201 Rxr Plz                     Uniondale, NY 11556                                 wheuer@westermanllp.com           Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Louis Catholic Church, Batesville, Inc                    Attn: John S Mercer                                    1400 N Meridian St                                                    Indianapolis, IN 46202                                                               jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Louis De Montfort RC Church                               c/o Cullen and Dykman LLP                              Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd       Garden City, NY 11530                               mroseman@cullenllp.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke Catholic Church Indianapolis, Inc                    Attn: John S Mercer                                    1400 N Meridian St                                                    Indianapolis, IN 46202                                                               jsmercer@indylegal.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke Community United Methodist Church                    Attn: Rev Lynda Mayberry                               5710 E R L Thornton Freeway                                           Dallas, TX 75223                                                                     lmayberry@slcumc.org              Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke Evangelical Lutheran Church                          Attn: John Mueller                                     905 Mendocino Ave                                                     Santa Rosa, CA 95401                                                                 pastorj@stluke‐lcms.org           Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke Evangelical Lutheran Church, 00835                   c/o Burns White LLC                                    Attn: Maria Granaudo Gesty                                            Delaware Corporate Ctr I         1 Righter Pkwy, Ste 130      Wilmington, DE 19803   mrgranaudo@burnswhite.com         Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke Evangelical Lutheran Church, 00835                   Attn: Angela Cronk                                     100 Four Falls, Ste 515                                               1001 Conshohocken State Rd       W Conshohocken, PA 19428                            aacronk@burnswhite.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke Evangelical Lutheran Church, 00835                   c/o Board of Trustees of St Luke                       Attn: Scott Moyer                                                     2398 Magnolia Dr                 Gilbertsville, PA 19525                                                               First Class Mail
Voting Party                   St. Luke Lutheran Church Of Sunnyvale, CA                     Attn: Ron Zichterman Or Current Council President      1025 the Dalles Ave                                                   Sunnyvale, CA 94087                                                                  lettyatstlukechurch@gmail.com     Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke The Evangelist Episcopal Church Houston, Tx          Attn: Rev Marcia L Sadberry                            3530 Wheeler St                                                       Houston, TX 77004                                                                    msadberry@stlukehouston.org       Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke The Evangelist Roman Catholc Church, Slidell, La     Attn: Susan Zeringue                                   7887 Walmsley Ave                                                     New Orleans, LA 70125                                                                szeringue@arch‐no.org             Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke United Methodist Church                              Attn: Edward L Rothe, Jr                               302 Dunlap Dr                                                         Hartsville, SC 29550                                                                 stlukeumc@roadrunner.com          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke United Methodist Church                              1400 Clayton Ave                                       Tupelo, MS 38804                                                                                                                                           rob@stluketupelo.org              Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke United Methodist Church                              Attn: John Poovey                                      365 Gray Fox Lane                                                     Lancaster, SC 29720                                                                  johnpoovey803@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke United Methodist Church                              Attn: Lynne Christoper, Attorney & Trustee             P.O. Box 1762                                                         Tupelo, MS 38802                                                                     christopher.lynne@yahoo.com       Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke United Methodist Church                              c/o Post, Foushee & Patton                             Attn: Norman C. Post, Jr, Attorney                                    205 Courtland Dr                 Sanford, NC 27330                                   chip@centralcarolinalawyers.com   Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke United Methodist Church                              Attn: Kay G Crowe                                      1613 Main St                                                          Columbia, SC 29201                                                                   chancellor@umcsc.org              Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke United Methodist Church                              Attn: Kelly F Pridgen                                  1104 2nd Ave                                                          Columbus, GA 31902                                                                                                     First Class Mail
Voting Party                   St. Luke United Methodist Church Enterprise Al                c/o Smith Kessler Smith LLC                            Attn: Patrick Smith, Atty                                             1550 W 2nd St, Ste A‐4           Gulf Shores, AL 36542                               psmith@skslaw.com                 Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke United Methodist Church Pine Bluff                   Attn: Brenda Stanton                                   32 School St                                                          Pine Bluff, AR 71602                                                                 lraines@fridayfirm.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke United Methodist Church, By Merger Pulaski Heights   c/o Friday, Eldredge & Clark LLP                       Attn: Lindsey Emerson Raines                                          400 W Capitol Ave, Ste 2000      Little Rock, AR 72201                               lraines@fridayfirm.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke United Methodist Church, By Merger Pulaski Heights   Attn: Jay Clark                                        4823 Woodlawn St                                                      Little Rock, AR 72205                                                                jclark@phumc.com                  Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes (Charlestown)                                       c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                                    peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes (Shade Gap) Umc (178778)                            c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200       Pittsburgh, PA 15228                                lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Church                                              Attn: Diana Elizabeth Carroll                          1101 Bay Ridge Ave                                                    Annapolis, MD 21403                                                                  office@stlukeseastport.org        Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Church (Haverhill)                                  c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                                    peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Church (Worcester)                                  c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                                    peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church                                    Attn: Margaret Boyd                                    202 N North St                                                        Seaford, DE 19973                                                                    stlukesepis@comcast.net           Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church                                    Attn: Martha Ruth Kester                               3424 Forest Ave                                                       Des Moines IA 50311                                                                  stlukesdsm@netins.net             Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church                                    3424 Forest Ave                                        Des Moines, IA 50311                                                                                                                                       stlukesdsm@netins.net             Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church                                    465 First Parish Rd                                    Scituate, MA 02066                                                                                                                                         stlukepriestnfs@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church                                    Attn: Elizabeth Ann Brooks Harden                      14 State St                                                           Brockport, NY 14420                                                                  revelizabethslb@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church                                    St Lukes Rector and Wardens                            1737 Hillandale Rd                                                    Durham, NC 27705                                                                     rector@stlukesdurham.org          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church                                    1270 Poplar St                                         Denver, CO 80220                                                                                                                                           rector@stlukesdenver.org          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church                                    Attn: Rev Casey Rohleder                               700 Lincoln Ave                                                       Wamego, KS 66547                                                                     mothercasey@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church                                    Attn: Jesse William Lebus                              253 Glen St                                                           Sea Cliff, NY 11579                                                                  Jesse@saintlukes‐seacliff.org     Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church                                    A/K/A St Luke's Church                                 Attn: Father Matthew Baker                                            4 St Lukes Pl                    Cambridge, NY 12816                                 fathermbaker@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church                                    Attn: Seth Mccabe                                      11 St Lukes Ln                                                        San Antonio, TX 78209                                                                church@stlukes‐sa.net             Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church                                    Attn: Rev Luke Fodor                                   410 N Main St                                                         Jamestown, NY 14701                                                                  cfisher@magavern.com              Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church                                    c/o Episcopal Diocese of Northwestern Pa               Attn: An Rowe                                                         145 W 6th St                     Erie, PA 16501                                      cdougan@dionwpa.org               Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Luke's Episcopal Church                                   2245 Huguenot Trl                                      Powhatan, VA 23139                                                                                                                                         admin@stlukespowhatan.org         Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church (Alburgh)                          c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                                    peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church (Chester)                          c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                                    peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church (Church Hill)                      c/o The Law Office of Andrea Ross                      Attn: Andrea Ross, Esq                                                129 N West St, Ste 1             Easton, MD 21601                                    Patrick@DioceseofEaston.org       Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church (East Greenwich)                   c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                                    peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church (Pawtucket)                        c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                                    peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church (St. Albans)                       c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                                    peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church Fairport Ny                        P O Box 146                                            77 Country Corner Ln                                                  Fairport, NY 14450                                                                   slukefpt@frontiernet.net          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church Of Bayview                         Attn: Fr Jason Lavann                                  3200 S Herman St                                                      Milwaukee, WI 53207                                                                  jason.lavann@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church Of Fort Collins                    2000 Stover St                                         Fort Collins, CO 80525                                                                                                                                     bankruptcy@messner.com            Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church, Mountain Brook, Alabama, Inc      Attn: George C Pelekis, III                            3736 Montrose Rd                                                      Birmingham, AL 35213‐3832                                                            gpelekis@saint‐lukes.com          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church, Mountain Brook, Alabama, Inc      Attn: Rev Rob Morpeth, Diocese of Alabama              521 N 20th St                                                         Birmingham, AL 35203                                                                 gpelekis@saint‐lukes.com          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Church, Stephenville, Texas               Attn: The Reverend Canon Janet Waggoner                P.O. Box 8695                                                         Fort Worth, TX 76124                                                                 janet.waggoner@edfw.org           Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Episcopal Mission (Fair Haven)                      c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                                    peter@thetamposilawgroup.com      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   St. Lukes Evangelical Lutheran Church                         Attn: Michael D Begey                                  2021 W Sr 426                                                         Oviedo, FL 32765                                                                     cao@sllcs.org                     Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                       Page 379 of 442
                                                                                   Case 20-10343-LSS                                                     Doc 8171                                    Filed 01/06/22                                                   Page 395 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                         Service List
                                                                                                                                                                                  Served as set forth below

        Description                                                       Name                                                                                                        Address                                                                                                         Email                     Method of Service
Voting Party                   St. Lukes In The Meadow Episcopal Church, Fort Worth, Texas   Attn: The Reverend Canon Janet Waggoner               P.O. Box 8695                                            Fort Worth, TX 76124                                                janet.waggoner@edfw.org              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes Lutheran Church                                     Attn: Beth King                                       P.O. Box 447                                             New Windsor, MD 21776                                               stlukes5@verizon.net                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Luke's Lutheran Church                                    3206 Big Road                                         Zeiglerville, PA 19492                                                                                                       office@stlukeslutheran.church        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Luke's Lutheran Church                                    Dennis Faust                                          3206 Big Road                                            Zeiglerville, PA 19492                                              luckytownd@comcast.net               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Luke's Lutheran Church                                    Attn: Dennis Faust                                    552 Neiffer Road                                         Schwenksville, PA 19473                                             luckytownd@comcast.net               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes Lutheran Church (Community Of Christ ‐ St. Lukes)   Attn: Jonathan Mcvety, Dir of Operations              515 S 312th St                                           Federal Way, WA 98003                                               jmcvety@stlukes‐church.com           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes Lutheran Church Of Washington N.J.                  P O Box 264                                           Washington, NJ 07882                                                                                                         Stlikeswashington@verizon.net        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes On The Lake Episcopal Church                        Attn: Justin Yawn                                     5600 Rr620 N                                             Austin, TX 78732                                                    jyawn@stlukesothelake.org            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes Protestant Episcopal Church                         253 Glen Ave                                          Sea Cliff, NY 11579                                                                                                          jesse@saintlukes‐seacliff.org        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes R.C. Church                                         c/o Cullen and Dykman LLP                             Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              mroseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Luke's UMC                                                Attn: Bruce Camero                                    63 E Broadway                                            Derry, NH 03038                                                     stlukesumc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes United Methodist Church                             Attn: Secretary/Treasurer And/Or Pastor               3708 45th St                                             Lubbock, TX 79413                                                   rmedearis@lubbocklawfirm.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes United Methodist Church                             Attn: Board of Trustees Chair                         480 S Highland                                           Memphis, TN 38111                                                   phyllispgay@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes United Methodist Church                             Phyllis Gay                                           4947 Southern Cv                                         Memphis, TN 38117                                                   phyllispgay@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes United Methodist Church                             Attn: Pastor Stephanie Schlimm                        1199 Main St                                             Dubuque, IA 52001                                                   pastorstephanie.umc@gmail.com        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes United Methodist Church                             Attn: Rev Steve Williams/Sandra Taylor                9420 James A Reed Rd                                     Kansas City, MO 64138                                               pastor.stlukeskc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes United Methodist Church                             8817 S Broadway                                       Highlands Ranch, CO 80129                                                                                                    office@stlukeshr.com                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes United Methodist Church                             Attn: Nancy E Lange                                   100 W 86th St                                            Indianapolis, IN 46260                                              langen@stlukesumc.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes United Methodist Church                             Attn: Ken Mckay                                       1301 Mckinney St, Ste 3700                               Houston, TX 77027                                                   kmckay@bakerdonelson.com             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes United Methodist Church (Houston, Texas)            Attn: Kenneth E Mckay, Chairman                       3471 Westheimer Rd                                       Houston, TX 77027                                                   kmckay@bakerdonelson.com             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes United Methodist Church Of St Michaels, Maryland    c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes United Methodist Church Reisterstown                Attn: Deborah Martin                                  52 Bond Ave                                              Reisterstown, MD 21136                                              dejuma3@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Lukes United Methodist Church, Inc                        Attn: Phil Greenwald                                  222 NW 15th St                                           Oklahoma City, OK 73103                                             pgreenwald@stlukesokc.org            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Malachy Catholic Church, Brownsburg, Inc                  Attn: John S Mercer                                   1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Margaret Mary Catholic Church, Terre Haute, Inc           Attn: John S Mercer                                   1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Margaret Mary R C Church, Slidell, LA                     Attn: Susan Zeringue, General Counsel                 7887 Walmsley Ave                                        New Orleans, LA 70125                                               szeringue@arch‐no.org                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Margaret Mary R C Church, Slidell, LA                     Attn: Suzan A Zeringue, General Counsel               7887 Walmsley Ave                                        New Orleans, LA 70125                                               szeringue@arch‐no.org                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Margaret Of Scotland                                      8700 Hwy 72                                           Sarasota, FL 34241                                                                                                           stmargaret8700@gmail.com             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Margaret Of Scotland Church                               c/o Cullen and Dykman LLP                             Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              mroseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Margarets Church                                          c/o Woods Oviatt Gilman LLP                           Attn: Timothy P Lyster, Esq                              1900 Bausch & Lomb Pl            Rochester, NY 14604                tlyster@woodsoviatt.com              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Margarets Episcopal Church                                Attn: Rector Todd Dill                                8515 Rea Rd                                              Waxhaw, NC 28173                                                    parishadmin@saintmargarets.net       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Margarets Episcopal Church (Cambridge)                    c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                   129 N West St, Ste 1             Easton, MD 21601                   Patrick@DioceseofEaston.org          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Margarets Episcopal Church, Longwood                      Attn: Theodora N Brooks                               940 E 156th St                                           Bronx, NY 10455                                                     smecbx@verizon.net                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Margarets Episcopal Church, Palm Desert                   Attn: James P Hill, Esq, Sullivan Hill Rez & Engel    600 B St, Ste 1700                                       San Diego, CA 92101                                                 hill@sullivanhill.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Maria Goretti Church, Westfield, In 46074                 Attn: Matt Mckillip                                   610 Lingle Ave, P.O. Box 260                             Lafayette, IN 47902                                                 mmckillip@dol‐in.org                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Mark And All Saints Episcopal Church                      Attn: Stanley Kozlowski                               429 S Pitney Rd                                          Galloway, NJ 08205‐9780                                             smastreasurer@aol.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Mark And All Saints Episcopal Church                      429 S Pitney Rd                                       Galloway, NJ 08205‐9780                                                                                                      smastreasurer@aol.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Mark Episcopal Church                                     Attn: Joel Lee Williams                               P.O. Box 446                                             Troy, AL 36081                                                      jlwlaw@troycable.net                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Mark Lutheran Church                                      Attn: Darrin George Labensky                          2109 College St Se                                       Lacey, WA 98503                                                     darrin.labensky@stmarklacey.org      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Mark The Evangelist Catholic Church, Indianapolis, Inc    Attn: John S Mercer                                   1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Mark Umc                                                  Attn: Chang Jeong                                     6144 Amboy Rd                                            Staten Island, NY 10309                                             jchoon67@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Mark United Methodist Church (Louisville, Ky)             Attn: Pastor Jack W Steiner, Jr                       4611 Lowe Rd                                             Louisville, KY 40220                                                jack@steiner.win.net                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Mark United Methodist Church Of Seneca, S.C.              Attn: Robert S Rider                                  616 Quincy Rd                                            Seneca, SC 29678                                                    riderrs2011@gmail.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Mark United Methodist Church Of Seneca, S.C.              Attn: Russ Larson                                     903 Carrigan Ct                                          Seneca, SC 29672                                                    riderrs2011@gmail.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks (Kingston)                                          c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                   129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks And St. Johns Episcopal Church, Rochester, N.Y.     Attn: The Rev'd Cynthia Rasmussen                     1245 Culver Rd                                           Rochester, NY 14609                                                 rasmussen.cynthia@gmail.com          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Catholic Church, Perry County, Inc                  Attn: John S Mercer                                   1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Church                                              Attn: Philip Noah Labelle                             27 Main St                                               Southborough, MA 01772                                              office@stmarks‐sb.org                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Church ‐ Ashland                                    c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Church (East Longmeadow)                            c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Church (Leominster)                                 c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Church (Northumberland)                             c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Church (Worcester)                                  c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Church‐In‐The‐Bowery                                Attn: Anne Sawyer                                     131 E 10th St                                            New York, NY 10003                                                  ktorge@mcgivneyandkluger.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church                                    Attn: Zac Gunnar Koons                                2128 Barton Hills Dr                                     Austin, TX 78704                                                    zac@stmarksaustin.org                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church                                    2128 Barton Hills Dr                                  Austin, TX 78704                                                                                                             zac@stmarksaustin.org                Email
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Voting Party                   St. Marks Episcopal Church                                    90 Main St                                            New Britain, CT 06051                                                                                                        parishoffice@stmarksnewbritain.org   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church                                    Attn: Barbara A Campbell                              P.O. Box 1538                                            New Britain, CT 06051                                               parishoffice@stmarksnewbritain.org   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church                                    Paul Lillie                                           539 Kapahulu Ave                                         Honolulu, HI 96815                                                  office@stmarkshonolulu.org           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church                                    Attn: Canon Angela Ifill                              102 N 9th St                                             Haines City, FL 33844                                               office@stmarkshc.com                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church                                    Attn: Mark A Salzberg, Squire Patton Boggs (Us) LLP   2550 M St Nw                                             Washington, DC 20037                                                mark.salzberg@squirepb.com           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church                                    Attn: Jill Sautkulis                                  111 Oenoke Ridge                                         New Canaan, CT 06840                                                jsautkulis@stmarksnewcanaan.org      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church                                    520 N Arthur Ashe Blvd                                Richmond, VA 23220                                                                                                           denisriva@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church                                    Attn: Colleen O' Connor                               1 E Main St                                              Leroy, NY 14482                                                     cfisher@magavern.com                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church                                    Attn: John Seib                                       61 Payne Ave                                             North Tonawanda, NY 14120                                           cfisher@magavern.com                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church                                    Attn: Rev John A Marshall                             6595 E Quaker St                                         Orchard Park, NY 14127                                              cfisher@magavern.com                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church                                    c/o Episcopal Diocese of Northwestern Pa              Attn: Sean Rowe                                          145 W 6th St                     Erie, PA 16501                     cdougan@dionwpa.org                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church                                    Attn: Fran Quinnell                                   809 Crystal Ave                                          Crystal Falls, MI 49920                                                                                  First Class Mail
Voting Party                   St. Marks Episcopal Church ‐ Johnstown                        Attn: The Rev Canon Kimberly Karashin                 325 Oliver Ave, Ste 300                                  Pittsburgh, PA 15222                                                sld@sgkpc.com                        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church ‐ Newark, Ny                       400 S Main St                                         Newark, NY 14513                                                                                                             reverend@stmarknewark.org            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church & Academy                          4 Church St                                           Cocoa, FL 32922                                                                                                              rev.garyleon@gmail.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church (Jacksonville)                     Attn: Thomas P Murray                                 4129 Oxford Ave                                          Jacksonville, FL 32210                                              tmurray@stmarksjacksonville.org      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church (Jacksonville)                     c/o Rogers Towers, Pa                                 Attn: Betsy C Cox, Esq                                   1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207             tmurray@stmarksjacksonville.org      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church (Newport)                          c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church (Perryville)                       c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                   129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church (Springfield)                      c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church (Warwick)                          c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church Of Milwaukee                       Attn: Rev Ian Burch                                   2618 N Hackett Ave                                       Milwaukee, WI 53211                                                 ian@stmarksmilwaukee.org             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church Of Tampa Inc                       Attn: Robert Douglas                                  13312 Cain Rd                                            Tampa, FL 33625                                                     Bdouglas@stmarkstampa.org            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church, Birmingham, Al                    Attn: the Rev Jayne Collins Pool                      228 Dennison Ave Sw                                      Birmingham, AL 35211                                                j2kpool@me.com                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church, Birmingham, Al                    Attn: Rev Morpeth, Diocese of Alabama                 521 N 20th St                                            Birmingham, AL 35203                                                j2kpool@me.com                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church, Bridgewater                       Attn: Blanchette W Bailey                             P.O. Box 143                                             Bridgewater, CT 06752                                               smbridgewater@gmail.com              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Episcopal Church, Inc Of Plainfield, Indiana        c/o Plews Shadley Racher & Braun LLP                  Attn: Todd G Relue                                       1346 N Delaware St               Indianapolis, IN 46202             trelue@psrb.com                      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Evangelical Lutheran Church                         454 Fieldstone Rd                                     Mooresville, NC 28115                                                                                                        office@saintmarkslutheran.com        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Evangelical Lutheran Church                         Attn: Charles F Barone, Attorney                      570 Williamson Rd, Ste A                                 Mooresville, NC 28117                                               cbarone@baronelawofficespc.com       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Lutheran Church                                     Attn: Kelly J Rauch                                   120 W Main St, Ste 100                                   Van Wert, OH 45891                                                  kelly.rauchlaw@gmail.com             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Lutheran Church ‐ Yonkers, Ny                       Attn: Rev Robert Boehler                              7 St Marks Pl                                            Yonkers, NY 10704                                                   pastor@stmarkslutheranyonkers.org    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Lutheran Church By The Narrows                      Attn: Jennifer Droubay                                6730 N 17th St                                           Tacoma, WA 98406                                                    jennifer.droubay@smlutheran.org      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Lutheran Church Of Bowling Green, Ohio              315 S College Dr                                      Bowling Green, OH 43402                                                                                                      mike@stmarksbg.org                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Parish, Medford, Oregon                             Attn: Richard Thierolf                                Two N Oakdale Ave                                        Medford, OR 97501                                                   rthierolf@jtdlegal.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks RC Church                                           c/o Cullen and Dykman LLP                             Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              mroseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Umc                                                 Attn: John C Collins                                  4324 E Cricket Knl                                       Bloomington, IN 47401                                               jccollin@indiana.edu                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks Umc Bloomington In                                  Attn: Treasurer                                       100 N Hwy 46 Bypass                                      Bloomington, IN 47408                                               office@smumc.church                  Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks United Methodist Church                             Attn: Thomas Danklefsen                               2650 Columbus St                                         Grove City, OH 43123                                                tomd@gcumc.org                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks United Methodist Church                             Attn: Peggy Willoughby, St Marks Umc                  8255 Winchester Rd                                       Memphis, TN 38125                                                   stmarksmem@bellsouth.net             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   St. Marks United Methodist Church                             Attn: Tyla Kelly, Secretary                           808 3rd St                                               Camanche, IA 52730                                                  stmarkscamanche@gmail.com            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 380 of 442
                                                                                    Case 20-10343-LSS                                                            Doc 8171                                                 Filed 01/06/22                                                   Page 396 of 457
                                                                                                                                                                                                             Exhibit B
                                                                                                                                                                                                             Service List
                                                                                                                                                                                                      Served as set forth below

        Description                                                          Name                                                                                                                          Address                                                                                                             Email               Method of Service
Voting Party                   St. Marks United Methodist Church                              35 Church St                                                 Napanoch, NY 12458                                                                                                                        sejin.cha@nyac‐umc.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church                              Attn: Keith Cressman                                         8140 NW 36                                                            Bethany, OK 73008                                                   pastorkeith@stmarksbethany.com     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church                              Attn: Treasurer, St Marks Methodist Church                   8140 NW 36                                                            Bethany, OK 73008                                                   pastorkeith@stmarksbethany.com     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church                              Attn: Senior Pastor                                          600 Pecore St                                                         Houston, TX 77009                                                   pastor@smumc.org                   Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church                              Attn: Senior Pastor                                          3811 N Main St                                                        Baytown, TX 77521                                                   kennmunn@stmarksbaytown.com        Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church                              Attn: Rev Lori Hartman                                       49‐55 Edgecombe Ave                                                   New York, NY 10030                                                  jgardner@bpslaw.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church                              Attn: Dawn Dimanna                                           60 Government St                                                      Kittery, ME 03904                                                   gr8cewins@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church                              Attn: Doug Bertrand                                          528 Mill Ridge Rd                                                     Clinton, IA 52732                                                   doug.bertrand@carpetbrandusa.net   Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church                              Attn: Dana Havron                                            1101 Jasper Dr                                                        Marshall, TX 75672                                                  dhavron79@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church                              Attn: David Allen Hubbard                                    302 Maple St                                                          Belpre, OH 45714                                                    davehubbard24@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church                              Attn: Rick Backus                                            809 4th St                                                            Marietta, OH 45750                                                  davehubbard24@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church                              Attn: Nick Ulah                                              4700 Johnson Ave Nw                                                   Cedar Rapids, IA 52405                                                                                 First Class Mail
Voting Party                   St. Marks United Methodist Church Of Iowa City                 Attn: Robert W Kesselring                                    2675 E Washington St                                                  Iowa City, IA 52245                                                 office@stmarks‐umc.net             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church of Sacramento                Attn: Pastor                                                 2391 St Marks Way                                                     Sacramento, CA 95864                                                jeychaner@stmarksumc.com           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church Of San Antonio, Inc          Attn: Trustees                                               1902 Vance Jackson                                                    San Antonio, TX 78213                                               stmarksumc@grandecom.net           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marks United Methodist Church, Goshen, Indiana             Attn: Jo Geleske, Administrative Council Chairperson         65825 County Rd 7                                                     Goshen, IN 46526                                                    ejgeleske@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Martha R C Parish Of Depew, Ny                             c/o Woods Oviatt Gilman LLP                                  Attn: Timothy P Lyster, Esq                                           1900 Bausch & Lomb Pl            Rochester, NY 14604                tlyster@woodsoviatt.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marthas Episcopal Church, Inc                              Attn: Jarrod D Reece                                         780 Pinnacle Dr                                                       Papillion, NE 68046                                                 stmarthaspapillion@gmail.com       Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marthas RC Church                                          c/o Cullen and Dykman LLP                                    Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd       Garden City, NY 11530              mroseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Martin Of Tours                                            c/o Jw/Wch                                                   Attn: Westerman Ball Ederer Miller Zucker & Sharfstein                1201 Rxr Plz                     Uniondale, NY 11556                wheuer@westermanllp.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Martin Of Tours                                            c/o Cullen and Dykman LLP                                    Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd       Garden City, NY 11530              mroseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Martin Of Tours Catholic Church, Martinsville, Inc         Attn: John S Mercer                                          1400 N Meridian St                                                    Indianapolis, IN 46202                                              jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Martin‐In‐The‐Fields Episcopal Church, Keller, Texas       Attn: The Reverend Canon Janet Waggoner                      P.O. Box 8695                                                         Fort Worth, TX 76124                                                janet.waggoner@edfw.org            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Martins Episcopal Church (Fairlee)                         c/o The Tamposi Law Group, PC                                Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Martins Episcopal Church (Providence)                      c/o The Tamposi Law Group, PC                                Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Martins Episcopal Church (Showell)                         c/o the Episcopal Diocese of Easton                          Attn: Patrick A. Collins                                              314 N St                         Easton, MD 21601                   Patrick@DioceseofEaston.org        Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Martins Episcopal Church (Showell)                         c/o The Law Office of Andrea Ross                            Attn: Andrea Ross, Esq                                                129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Martins In‐The‐Fields Episcopal Church                     Attn: Nicholas Evancho                                       2587 Baseline Rd                                                      Grand Island, NY 14072                                              frevancho@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary Annes Episcopal Church (North East)                   c/o The Law Office of Andrea Ross                            Attn: Andrea Ross, Esq                                                129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary Catholic Church, Greensburg, Inc                      Attn: John S Mercer                                          1400 N Meridian St                                                    Indianapolis, IN 46202                                              jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary Catholic Church, Rushville, Inc                       Attn: John S Mercer                                          1400 N Meridian St                                                    Indianapolis, IN 46202                                              jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary Church, 2300 W. Jackson St. Muncie, In 47303          Attn: Matt Mckillip                                          610 Lingle Ave, P.O. Box 260                                          Lafayette, IN 47902                                                 mmckillip@dol‐in.org               Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary Immaculate Conception Catholic Church, Aurora, Inc    Attn: John S Mercer                                          1400 N Meridian St                                                    Indianapolis, IN 46202                                              jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary Magdaen R C Church, Metairie, La                      Attn: Susan Zeringue                                         7887 Walmsley Ave                                                     New Orleans, LA 70125                                               szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary Magdalen Parish, Kentwood                             c/o Warner Norcross & Judd LLP                               Attn: Elisabeth M Von Eitzen                                          150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com                 Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary Magdalene Episcopal Church                            Attn: Larry Ehren                                            16808 Holmes Rd (S State Route D)                                     Belton, MO 64012                                                    lgehren@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary Magdalene Episcopal Church                            Attn: David Powell                                           2345 Grand Blvd                                                       Kansas City, MO 64108                                               david.powell@lathropgpm.com        Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary Magdalene Episcopal Church, Wheaton Parish            Attn: Michele Glidden                                        3820 Aspen Hill Rd                                                    Silver Spring, MD 20906                                             finance@stmarymagdalene‐md.org     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary Of The Angels Episcopal Church                        6316 Matchett Rd                                             Orlando, FL 32809                                                                                                                         kbartle@stmaryangels.org           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary Of The Annunciation Catholic Church, Navilleton, In   Attn: John S Mercer                                          1400 N Meridian St                                                    Indianapolis, IN 46202                                              jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary The Virgin Episcopal Church (Pocomoke City)           c/o The Law Office of Andrea Ross                            Attn: Andrea Ross, Esq                                                129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary‐Of‐The‐Knobs Catholic Church, Floyds Knobs, Inc       Attn: John S Mercer                                          1400 N Meridian St                                                    Indianapolis, IN 46202                                              jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary‐Of‐The‐Woods Catholic Church, Inc                     Attn: John S Mercer                                          1400 N Meridian St                                                    Indianapolis, IN 46202                                              jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys By‐The‐Sea Episcopal Church                          146 12th St                                                  Pacific Grove, CA 93950                                                                                                                   elizabethmccorkle@yahoo.com        Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Catholic Church, Marne                               c/o Warner Norcross & Judd LLP                               Attn: Elisabeth M Von Eitzen                                          150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com                 Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Catholic Church, Spring Lake                         c/o Warner Norcross & Judd LLP                               Attn: Elisabeth M Von Eitzen                                          150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com                 Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Church                                               c/o Woods Oviatt Gilman LLP                                  Attn: Timothy P Lyster, Esq                                           1900 Bausch & Lomb Pl            Rochester, NY 14604                tlyster@woodsoviatt.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church                                     Thomas Paine Hopfengardner Warren                            800 Rountree St                                                       Kinston, NC 28501                                                   tomwarren@stmaryskinston.com       Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church                                     Attn: John Robert Shirley                                    315 Lake Shore Rd                                                     Lake Ronkonkoma, NY 11779                                           stmarysrector@optimum.net          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church                                     Attn: Amy Slater                                             P.O. Box 1346                                                         Green Cove Springs, FL 32043                                        Revamyslater@smgcs.church          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church                                     Attn: Mark A Salzberg, Squire Patton Boggs (Us) LLP          2550 M St, Nw                                                         Washington, DC 20037                                                mark.salzberg@squirepb.com         Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church                                     1734 Grant St, P O Box 72                                    Blair, NE 68008                                                                                                                           kculp113@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church                                     Attn: Joan C Geiszler‐Ludlum                                 P.O. Box 1336                                                         Kinston, NC 28503                                                   jcgl@ec.rr.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church                                     Attn: Jay Meyers, Esq                                        10055 Yamato Rd, Ste 110                                              Boca Raton, FL 33498                                                jay.mblaw@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church                                     347 Davis Ave                                                Staten Island, NY 10310                                                                                                                   jay.mblaw@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church                                     Attn: Robert Bingham Powell                                  1300 Pearl St                                                         Eugene, OR 97405                                                    Bingham@saint‐marys.org            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church                                     c/o Rogers Towers, Pa                                        Attn: Betsy C Cox, Esq                                                1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207             bcox@rtlaw.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church (East Providence)                   c/o The Tamposi Law Group, PC                                Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church (Tyaskin)                           c/o The Law Office of Andrea Ross                            Attn: Andrea Ross, Esq                                                129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church, Columbia, Sc                       Attn: The Rev Anna Brawley, Rector                           P.O. Box 1487                                                         Irmo, SC 29063                                                      anna.brawley@stmaryscolumbia.org   Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church, Cypress                            P O Box 1542                                                 Cypress, TX 77410                                                                                                                         johnakard+smec@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church, Limited                            Attn: Rev Philippa Lindwright                                P.O. Box 126                                                          Dousman, WI 53118                                                   motherpippa@milwpc.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church, Park Ridge                         Attn: Parish Administrator                                   306 S Prospect Ave                                                    Park Ridge, IL 60068                                                parishadmin@stmaryspr.org          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Episcopal Church, Vicksburg, Mississippi             Attn: James B Ponder                                         900 First North St                                                    Vicksburg, MS 39183                                                 bponder@dioms.org                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys In The Highlands                                     Attn: The Rev Steve Schunk, Priest‐In‐Charge                 1 Chestnut St                                                         Cold Spring, NY 10516                                               stmaryscoldspring@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys In The Mountains Episcopal Church (Wilmington)       c/o The Tamposi Law Group, PC                                Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys On The Highlands Episcopal Church, Birmingham,Al     c/o Diocese of Alabama                                       Attn: Rev Rob Morpeth                                                 521 N 20th St                    Birmingham, AL 35203               rmorpeth@dioala.org                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys On The Highlands Episcopal Church, Birmingham,Al     Attn: Amelia K Steindorff                                    1910 12th Ave S                                                       Birmingham, AL 35205‐3804                                           asteindorff@rrllaw.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Parish (Episcopal )(Northfield)                      c/o The Tamposi Law Group, PC                                Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Parish, Napa                                         Attn: Robin Denney                                           1917 3rd St                                                           Napa, CA 94559                                                      robin@stmarysnapa.org              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Pylesville, R C Congregation, Inc                    Attn: Matthew W Oakey                                        218 N Charles St, Ste 400                                             Baltimore, MD 21201                                                 moakey@gejlaw.com                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys R.C. Church                                          c/o Cullen and Dykman LLP                                    Attn: Matthew G Roseman                                               100 Quentin Roosevelt Blvd       Garden City, NY 11530              mroseman@cullenllp.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys Rd United Methodist Church                           3993 St Marys Rd                                             Columbus, GA 31907                                                                                                                        stmarysrd@theroadumc.org           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Mary's Roman Catholic Church                               Attn: Charles J Adams                                        3500 Sunrise Hwy, Bldg 300                                            Great River, NY 11739                                               cjadams@pfapc.com                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Marys United Methodist Church                              Attn: Randy Nutter                                           104 Washington St, P.O. Box 100                                       St. Marys, WV 26170                                                 smumcwv@outlook.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthew Catholic Church, Indianapolis, Inc                 Attn: John S Mercer                                          1400 N Meridian St                                                    Indianapolis, IN 46202                                              jsmercer@indylegal.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthew Lutheran Church                                    Attn: Rev James E Dorner II                                  75 Whitehall Rd                                                       Albany, NY 12209                                                                                       First Class Mail
Voting Party                   St. Matthew The Apostle R C Church,                            Attn: Susan A Zeringue, General Counsel                      7887 Walmsley Ave                                                     New Orleans, LA 70125                                               szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthew The Apostle R C Church, Metairie, LA               Attn: Susan Zeringue                                         7887 Walmsley Ave                                                     New Orleans, LA 70125                                               szeringue@arch‐no.org              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthew United Methodist Church                            Attn: Rachel Smith                                           120 E 3rd St                                                          Weston, WV 26452                                                    stmatthewweston@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthew United Methodist Church                            1000 N Orleans                                               Chicago, IL 60610                                                                                                                         rodneycwalker@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthew United Methodist Church (Az)                       c/o Clarke Law Firm, Plc                                     Attn: Marilee Miller Clarke                                           8141 E Indian Bend Rd, Ste 105   Scottsdale, AZ 85250               marilee@clarkelawaz.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthew United Methodist Church, Inc                       St Matthew United Methodist Church                           300 N Air Depot Blvd                                                  Midwest City, OK 73110                                              associate@stmatthew.org            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthews (Goffstown)                                       c/o The Tamposi Law Group, PC                                Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthews Chapel (Sugar Hill)                               c/o The Tamposi Law Group, PC                                Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthews Church (Worcester)                                c/o The Tamposi Law Group, PC                                Attn: Peter N Tamposi                                                 159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com       Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  P O Box 628                                                  Hillsborough, NC 27278                                                                                                                    welcome@matthewshillsborough.org   Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  129 Old Loudon Rd                                            Latham, NY 12110                                                                                                                          stmatthewslatham@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  Attn: Rev Patsy Barham                                       214 College St                                                        Henderson, TX 75654                                                 stmatthew's@suddenlinkmail.com     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  c/o Diocese of the Central Gulf Coast the Episcopal Church   Attn: Scott A Remington                                               125 E Intendencia St             Pensacola, FL 32502                sremington@clarkpartington.com     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  Attn: Ruth Nallick                                           P.O. Box 63                                                           Chipley, FL 32428                                                   ruthnallick@hotmail.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  104 S 4Th                                                    Laramie, WY 82070                                                                                                                         revbriangross@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  Attn: Peter Nicolaysen                                       P.O. Box 7                                                            Casper, WY 82602                                                    petercn@vcn.com                    Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  Attn: Stephanie Pace                                         9549 Highland Dr                                                      Brecksville, OH 44141                                               officemanager05@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  9549 Highland Dr                                             Brecksville, OH 44141                                                                                                                     officemanager05@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  Attn: Ellen Yelverton                                        810 Kitty Hawk Rd                                                     Universal City, TX 78148                                            office@stmatts‐uc.org              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                              Page 381 of 442
                                                                                       Case 20-10343-LSS                                              Doc 8171                                      Filed 01/06/22                                                   Page 397 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                             Name                                                                                                 Address                                                                                                         Email                       Method of Service
Voting Party                   St. Matthews Episcopal Church                                  P O Box 2187                                      Chesterfield, VA 23832                                                                                                         office@stmatthewsbeachroad.org         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  2325 S 24th St                                    Lincoln, NE 68502                                                                                                              motheramandagott@gmail.com             Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  Attn: Marissa Rohrbach                            36 New Canaan Rd                                           Wilton, CT 06897                                                    marissa@stmatthewswilton.org           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  Attn: The Rev Alan Kim Webster                    36 Norwood Rd                                              Charleston, WV 25314                                                kwebster229@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthews Episcopal Church                                  Attn: Dorothy Henderson Wood                      210 St Marys Rd                                            Hillsborough, NC 27278                                                                                     First Class Mail
Voting Party                   St. Matthews Episcopal Church (Enosburg Falls)                 c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                      159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthews Episcopal Church (Jamestown)                      c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                      159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthews Episcopal Church Of Kenosha                       Attn: Rev Matthew Buterbaugh                      5900 7th Ave                                               Kenosha, WI 53140                                                   rector.stmatts@gmail.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthews Episcopal Church, Eugene Oregon                   Attn: Steven M Ellis                              4110 River Rd                                              Eugene, OR 97404                                                    stmatthewseugeneoregon@gmail.com       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthews Episcopal Church, Liverpool, New York             Attn: Martha L Berry                              P.O. Box 3520                                              Syracuse, NY 13220‐3520                                             stmatthews_office@verizon.net          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthews Episcopal Church, Moravia, New York               P O Box 3520                                      Syracuse, NY 13220‐3520                                                                                                        marthalberry@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthews R C Congregation, Inc                             Attn: Matthew W Oakey                             218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                 moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthews Umc                                               Attn: Treasurer St Matthews Umc                   8617 Little River Turnpike                                 Annandale, VA 22003                                                 churchoffice@stmatthewsumc.org         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthews Umc Livonia                                       Attn: Kelly Roulier, Treasurer                    30900 Six Mile Rd                                          Livonia, MI 48152                                                   roulierk@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthews United Methodist Church                           Attn: Rev Virginia Wall                           4300 N Shepherd Dr                                         Houston, TX 77018                                                   office@stmatthewsmethodist.org         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Matthias Episcopal, Inc                                    Attn: The Rev Scott M Harding                     995 E Tugalo St                                            Toccoa, GA 30577                                                    fatherscott@me.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Maurice Catholic Church, Napoleon, Inc                     Attn: John S Mercer                               1400 N Meridian St                                         Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Meinrad Catholic Church, Inc                               Attn: John S Mercer                               1400 N Meridian St                                         Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael ‐ St. Clement School, Inc                          Attn: Matthew W Oakey                             218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                 moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael & All Angels Episcopal Church                      Attn: R Kevin Kelly                               3101 Waters Ave                                            Savannah, GA 31404                                                  office@stmichaelsavannah.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael & All Angels Episcopal Church                      Attn: Monte Giddings                              6630 Nall Ave                                              Mission, KS 66202                                                   montegiddings@gmail.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael & All Angels Episcopal Church, Inc                 Attn: Rev Matthew Cowden                          53720 N Ironwood Rd                                        South Bend, IN 46635                                                rmilligan@pilawyers.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael And All Angels Episcopal Church                    1325 Champaign Rd                                 Lincoln Park, MI 48146                                                                                                         pmillerphd@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael And All Angels' Episcopal Church, Columbia, Sc     Attn: John Phillips Senior Warden, Or Successor   6408 Bridgewood Rd                                         Columbia, SC 29206                                                  office@saintmichaelepiscopal.org       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael Catholic Church, Bradford, Inc                     Attn: John S Mercer                               1400 N Meridian St                                         Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael Church, Remus                                      c/o Warner Norcross & Judd LLP                    Attn: Elisabeth M Von Eitzen                               150 Ottawa Ave NW, Ste 1500      Grand Rapids, MI 49503             evoneitzen@wnj.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael Lutheran Church                                    Attn: Lead Pastor                                 9534 Belair Rd                                             Baltimore, MD 21236                                                 office@stmichaelperryhall.org          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael The Archangel Catholic Church, Brookville, Inc     Attn: John S Mercer                               1400 N Meridian St                                         Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael The Archangel Catholic Church, Indianapolis, Inc   Attn: John S Mercer                               1400 N Meridian St                                         Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael The Archangel, Overlea, R C Congregation, Inc      Attn: Matthew W Oakey                             218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                 moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael The Archangel, Overlea, R C Congregration, Inc     Attn: Matthew W Oakey                             218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                 moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels And All Angels Episcopal Church, Anniston, Al     Attn: Rev Rob Morpeth, Diocese of Alabama         521 N 20th St                                              Birmingham, AL 35203                                                dhodnett@stmichaelsanniston.org        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels And All Angels Episcopal Church, Anniston, Al     Attn: David Hodnett                               P.O. Box 1884                                              Anniston, AL 36202‐1884                                             dhodnett@stmichaelsanniston.org        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Anglican Parish, Ridgecrest, CA                   c/o Ragghianti Freitas LLP                        Attn: Michael O. Glass, Esq                                1101 5th Ave, Ste 100            San Rafael, CA 94901               mglass@rflawllp.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Church                                            Attn: Eden R Bucher                               529 St Michaels Rd                                         Hamburg, PA 19526                                                   pachieffan@me.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Church (Worcester)                                c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                      159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Episcopal Church                                  Attn: Fr Rick Luoni                               2499 N Westmoreland Dr                                     Orlando, FL 32804                                                   rluoni@stmichaelschurch.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Episcopal Church                                  Timothy Davis Matlack                             1132 North Ivanhoe St                                      Arlington, VI 22205                                                 parishoffice@stmichaelsarlington.org   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Episcopal Church                                  1132 N Ivanhoe St                                 Arlington, VI 22205                                                                                                            parishoffice@stmichaelsarlington.com   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Episcopal Church                                  Attn: Diane Hamilton, Warden                      60 2nd St                                                  Geneseo, NY 14454                                                   dianelhamilton@me.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Episcopal Church                                  Attn: David Paul Sousa                            700 Spring Forest Rd, Ste 400                              Raleigh, NC 27609                                                   david.sousa@curi.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael's Episcopal Church ‐ Naugatuck, CT.                210 Church St                                     Naugatuck, CT 06770                                                                                                            stmichaelsnaugatuck@gmail.com          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Episcopal Church (Brattleboro)                    c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                      159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Episcopal Church (Bristol)                        c/o The Tamposi Law Group, PC                     Attn: Peter N Tamposi                                      159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Episcopal Church Of Carmichael                    Attn: The Very Rev Mary Claugus                   2140 Mission Ave                                           Carmichael, CA 95608                                                revmary@stmichaelscarmichael.org       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Episcopal Church Of Racine                        Attn: Rev Lars Skoglund                           4701 Erie St                                               Caledonia, WI 53402                                                 ldskoglund@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Episcopal Church, Barrington, Il                  Attn: Kirk Chan, Senior Warden                    647 Dundee Ave                                             Barrington, IL 60010                                                kchan@powerconstruction.net            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Episcopal Church, Fayette, Al                     Attn: Rev Rob Morpeth Diocese of Alabama          521 N 20th St                                              Birmingham, AL 35203                                                rmorpeth@dioala.org                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Episcopal Church, Fayette, Al                     Attn: Jane Newman                                 431 10th St Sw                                             Fayette, AL 35555‐1834                                              janenewman523@gmail.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Episcopal Church, Raleigh, Nc                     Attn: Gregory Jones, Rector                       1520 Canterbury Rd                                         Raleigh, NC 27608                                                   david.sousa@curi.com                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Parish                                            Attn: Hall Kirkham                                112 Randolph Ave                                           Milton, MA 02186                                                    mail@stmichaelsmilton.org              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Protestant Episcopal Church                       Attn: Katsky Korins LLP                           605 3rd Ave                                                New York, NY 10158                                                  rabrams@katskykorins.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Protestant Episcopal Church                       c/o Katsky Korins LLP                             Attn: Katharine Flexer                                     605 3rd Ave                      New York, NY 10158                 rabrams@katskykorins.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels Protestant Episcopal Church                       Attn: Katharine Flexer                            225 W 99th St                                              New York, NY 10025                                                  kflexer@saintmichaelschurch.org        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michaels United Methodist Church (Az)                      c/o Clarke Law Firm, Plc                          Attn: Marilee Miller Clarke                                8141 E Indian Bend Rd, Ste 105   Scottsdale, AZ 85250               marilee@clarkelawaz.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Michael's, Poplar Springs, R C Congregation, Inc           Attn: Matthew W Oakey                             218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                 moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Monica Catholic Church, Indianapolis, Inc                  Attn: John S Mercer                               1400 N Meridian St                                         Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Monica Catholic School (Kalamazoo)                         Attn: Jordon T Beery                              530 West Kilgore Rd                                        Kalamazoo, MI 49008                                                 jbeery@stmonicakzoo.org                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Monica Church                                              c/o Woods Oviatt Gilman LLP                       Attn: Timothy P Lyster, Esq                                1900 Bausch & Lomb Pl            Rochester, NY 14604                tlyster@woodsoviatt.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Nersess Armenian Seminary                                  Attn: Mardiros Chevian                            486 Bedford Rd                                             Armonk, NY 10504                                                    hjclawyer@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Nersess Armenian Seminary                                  Attn: Mardiros Chevian                            486 Bedford Rd                                             Armonk, NY 10504                                                                                           First Class Mail
Voting Party                   St. Nicholas Catholic Church, Sunman, Inc                      Attn: John S Mercer                               1400 N Meridian St                                         Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patrick Catholic Church, Indianapolis, Inc                 Attn: John S Mercer                               1400 N Meridian St                                         Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patricks Episcopal Church                                  Attn: Ronnie Willerer                             1221 Sr 13                                                 Fruit Cove, FL 32259                                                stpatricksinst.johns@gmail.com         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patricks Episcopal Church                                  c/o Diocese of the Central Gulf Coast             Attn: Scott A Remington                                    125 E Intendencia St             Pensacola, FL 32502                sremington@clarkpartington.com         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patricks Episcopal Church                                  Attn: Gregory P Marshall                          1434 E 13 Mile Rd                                          Madison Heights, MI 48071                                           paul.leclair143@gmail.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patricks Episcopal Church                                  Attn: Lynn Ferren                                 P.O. Box 36943                                             Panama City, FL 32412                                               llmmff@aol.com                         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patricks Episcopal Church                                  Attn: Ronnie Willerer                             1301 Riverplace Blvd, Ste 1500                             Jacksonville, FL 32207                                              bcox@rtlaw.com                         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patricks Episcopal Church, Pagosa Springs                  225 S Pagosa Blvd                                 Pagosa Springs, CO 81147                                                                                                       annlynburns@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patricks R C Congregation, Inc                             Attn: Matthew W Oakey                             218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                 moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patricks R C Congregation, Inc                             c/o Gallagher Evelius & Jones LLP                 Attn: Matthew W Oakey                                      218 N Charles St, Ste 400        Baltimore, MD 21201                moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patricks R.C. Church (Glen Cove, Ny)                       c/o Cullen and Dykman LLP                         Attn: Matthew G Roseman                                    100 Quentin Roosevelt Blvd       Garden City, NY 11530              mroseman@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patricks R.C. Church (Smithtown, Ny)                       c/o Cullen and Dykman LLP                         Attn: Matthew G Roseman                                    100 Quentin Roosevelt Blvd       Garden City, NY 11530              mroseman@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patricks R.C. Church (Southold, Ny)                        c/o Cullen and Dykman LLP                         Attn: Matthew G Roseman                                    100 Quentin Roosevelt Blvd       Garden City, NY 11530              mroseman@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patrick's, Havre De Grace, R C Congregation, Inc           Attn: Matthew W Oakey                             218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                 moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Patrick's, Little Orleans, R C Congregation, Inc           Attn: Matthew W Oakey                             218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                 moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul Catholic Center, Bloomington, Inc                     Attn: John S Mercer                               1400 N Meridian St                                         Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul Catholic Parish, Marion, In 46952                     Attn: Matt Mckillip                               610 Lingle Ave                                             P.O. Box 260                     Lafayette, IN 47902                mmckillip@dol‐in.org                   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul Evangelical Lutheran Church                           Attn: Roger Quay                                  125 N Eastwood Ave                                         Lancaster, OH 43130                                                 st.paul.lanc.oh@gmail.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul Evangelical Lutheran Church                           201 W Louther St                                  Carlisle, PA 17013                                                                                                             churchoffice@stpaulcarlisle.org        Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul Evangelical Lutheran Church Of Bethpage, Inc          Attn: Joseph Andruzzi                             326 Broadway, Ste 200                                      Bethpage, NY 11714                                                  jcandruzzi@andruzzilawoffice.com       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul Evangelical Lutheran Church Of Hamburg, Michigan      7701 E Mi State Rd 36                             Whitmore Lake, MI 48189                                                                                                        legal@stpaulhamburg.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul Evangelical Lutheran Church, Inc                      St Paul Lutheran Church                           730 Cty Rd Ppp                                             Sheboygan Falls, WI 53085                                           stefaniet@stpaulfalls.com              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul Lutheran Church                                       Attn: Treasurer                                   17 2nd St NE, P.O. Box 433                                 Hampton, IA 50441                                                   splchampton@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul Lutheran Church                                       Attn: Pres Dawn Tomasini                          21 Still Rd                                                Monroe, NY 10950                                                                                           First Class Mail
Voting Party                   St. Paul Lutheran Church Of Ogden, Utah                        Attn: Dina Scheifl                                3329 Harrison Blvd                                         Ogden, UT 84403                                                     businessoffice@stpaulutah.org          Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul Lutheran Church Of Rehburg                            Attn: Marilyn Blakey                              4450 Fm 1948 N                                             Burton, TX 77835                                                    marilyn@stpaulrehburg.org              Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul Lutheran Church Of Wyoming, Minnesota                 c/o Miller & Stevens PA                           Attn: Thomas F Miller                                      92 Lake St S                     Forest Lake, MN 55025              tom@millerstevens.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul The Apostle Catholic Church, Putnam County, Inc       Attn: John S Mercer                               1400 N Meridian St                                         Indianapolis, IN 46202                                              jsmercer@indylegal.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul The Apostle R C Congregation, Inc                     Attn: Matthew W Oakey                             218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                 moakey@gejlaw.com                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul United Methodist Church                               Attn: Robert Cicigoi                              105 N 10th St                                              Thayer, MO 65791                                                    rjamescc@centurylink.net               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul United Methodist Church                               Attn: David Ruehr                                 700 W 8th St                                               El Dorado, AR 71730                                                 pastor@stpauleldoradoar.org            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul United Methodist Church                               Attn: Heather Thompson                            2223 Durwood Rd                                            Little Rock, AR 72207                                               lraines@fridayfirm.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul United Methodist Church                               Attn: Steve Poarch                                4100 Grand Ave                                             Fort Smith, AR 72904                                                lraines@fridayfirm.com                 Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul United Methodist Church                               Attn: Christine Avedisian                         21720 Laytonsville Rd                                      Laytonsville, MD 20882                                              kwillnewton91@gmail.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul United Methodist Church                               Attn: Finance Administrator                       18681 Hwy 59                                               Country Club, MO 64505                                              finance@stpaulchurchonline.org         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   St. Paul United Methodist Church                               Attn: Donna Wells                                 2419 Old Hwy 246 S                                         Greenwood, SC 29646                                                 dcwells@greenwood.net                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 382 of 442
                                                                                    Case 20-10343-LSS                                                  Doc 8171                                   Filed 01/06/22                                                      Page 398 of 457
                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                      Service List
                                                                                                                                                                               Served as set forth below

        Description                                                          Name                                                                                                  Address                                                                                                                 Email                    Method of Service
Voting Party                   St. Paul United Methodist Church                            Attn: Donna Wells                                     301 N Cambridge St                                      Ninety Six, SC 29666                                                   dcwells@greenwood.net                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Paul United Methodist Church                            Attn: Council Chair Robert D Walker                   204 E Chestnut St                                       Goldsboro, NC 27530                                                    bobwalkernc@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Paul United Methodist Church (177901)                   c/o Bentz Law Firm                                    Attn: Sean Bollman                                      680 Washington Rd, Ste 200       Pittsburgh, PA 15228                  STBollman@bentzlaw.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Paul United Methodist Church (177901)                   c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200       Pittsburgh, PA 15228                  lspagnolo@bentzlaw.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Paul United Methodist Church (184770)                   c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200       Pittsburgh, PA 15228                  lspagnolo@bentzlaw.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Paul United Methodist Church Of New Ellenton, Sc        Attn: Melinda G Brinkley                              600 Main St S                                           New Ellenton, SC 29809                                                 brink_m@bellsouth.net                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Paul United Methodist Church Of Tabor City, Inc         Attn: O Richard Wright, Jr                            P.O. Box 457                                            Tabor City, NC 28463                                                   richardwright@wwpemlaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Paul United Methodist Church Of Tebor City, Inc         Attn: O Richard Wright Jr                             P.O. Box 457                                            Tabor City, NC 28463                                                   richardwright@wwpenlaw.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Paul United Methodist Church Of Tebow City, Inc         Attn: O Richard Wright Jr                             P.O. Box 457                                            Tabor City, NC 28463                                                                                            First Class Mail
Voting Party                   St. Paul United Methodist Church Saluda                     Susan Maddox                                          102 E Butler Ave                                        Saluda, SC 29138                                                       sbmaddox@umcsc.org                       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Paul United Methodist Church Saluda                     Attn: Rev Susan Maddox                                618 Bonham Rd                                           Saluda, SC 29138                                                       sbmaddox@umcsc.org                       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Paul United Methodist Church, Bridge City, Texas        Attn: Pastor, St Paul Umc                             1155 W Roundbunch Rd                                    Bridge City, TX 77611                                                  pastor@stpaulfamily.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Paul United Methodist Church‐Grant Park, Inc            c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200         Tampa, FL 33602                       erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Paul United Methodist Church‐Grant Park, Inc            501 Grant St Se                                       Atlanta, GA 30312                                                                                                                                                       First Class Mail
Voting Party                   St. Paul United Methosdist Church                           Attn: Nicole Farmer                                   2000 Douglass Blvd                                      Louisville, KY 40205                                                                                            First Class Mail
Voting Party                   St. Pauls (Concord)                                         c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                   159 Main St                      Nashua, NH 03060                      peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls (Lancaster)                                       c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                   159 Main St                      Nashua, NH 03060                      peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Anglican Parish, Bakersfield, CA                  c/o Ragghianti Freitas LLP                            Attn: Michael O Glass, Esq                              1101 5th Ave, Ste 100            San Rafael, CA 94901                  mglass@rflawllp.com                      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Anglican Parish, Bakersfield, CA                  c/o Ragghianti Freitas LLP                            Attn: Michael O. Glass, Esq                             1101 5th Ave, Ste 100            San Rafael, CA 94901                  mglass@rflawllp.com                      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls By‐The‐Sea Episcopal Church                       Attn: Connie Louanne Loch                             465 11th Ave N                                          Jacksonville Beach, FL 32250                                           loulockspbts@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls By‐The‐Sea Episcopal Church                       c/o Rogers Towers, Pa                                 Attn: Betsy C Cox, Esq                                  1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207                loulockspbts@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls By‐The‐Sea Episcopal Church (Ocean City)          c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                  129 N West St, Ste 1             Easton, MD 21601                      Andie@AndieRossLaw.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Church                                            40 Ganung Dr                                          Ossining, NY 10562                                                                                                             stpaulsganung@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Church                                            Attn: Tuesday Rupp                                    317 Main St S                                           Woodbury, CT 06798                                                     rector@stpaulswoodbury.org               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Church                                            15 St Paul St                                         Brookline, MA 02446                                                                                                            jmello@stpaulsbrookline.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Church (Gardner)                                  c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                   159 Main St                      Nashua, NH 03060                      peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Church (Holyoke)                                  c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                   159 Main St                      Nashua, NH 03060                      peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Church (Stockbridge)                              c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                   159 Main St                      Nashua, NH 03060                      peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Church Selma                                      Attn: Rev Rob Morpeth                                 521 N 20th St                                           Birmingham, AL 35203                                                   rmorpeth@dioala.org                      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Church Selma                                      aka St Paul's Episcopal Church, Se                    Attn: Grace Hobbs                                       P.O. Box 1306                    Selma, AL 36702‐1306                  ggh@hhpclaw.com                          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Center (Hebron)                         c/o the Episcopal Diocese of Easton                   Attn: Patrick A. Collins                                314 N St                         Easton, MD 21601                      Patrick@DioceseofEaston.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Center (Hebron)                         c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                  129 N West St, Ste 1             Easton, MD 21601                      Andie@AndieRossLaw.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Elizabeth Ator Garrison                         314 N Henderson Blvd                                    Kilgore, TX 75662                                                      stpaulsepiscopalchurch@gmail.com         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Elizabeth Garrison                              314N Henderson Blvd                                     Kigore, TX 75662                                                       stpaulsepiscopalchrch@gmail.com          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Anne Decker Emry                                1444 Liberty St Se                                      Salem, OR 97302                                                        stpauls@stpaulsoregon.org                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  40 Ganung Dr                                          Ossining, NY 10562                                                                                                             srpaulsganung@gmail.com                  Email
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Voting Party                   St. Pauls Episcopal Church                                  c/o Diocese of the Central Gulf Coast                 Attn: Scott A Remington                                 125 E Intendencia St             Pensacola, FL 32502                   sremington@clarkpartington.com           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Richard Graves                                  201 E Church St                                         Marshalltown, IA 50158                                                 richardg641@outlook.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Raja B Zabaneh                                        5616 Atlantic Blvd                                      Jacksonville, FL 32207                                                 Revraja2003@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Pam O'Halloran                                  40 Haskell Dr                                           Cleveland Heights, OH 44108                                            pohalloran@stpauls‐church.org            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Peter J Madison                                 7 Sleator Dr                                            Ossining, NY 10562                                                     peter.madison@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Peter J Madison                                 7 Sleator Dr                                            Ossining, NY 10562                                                     p.j.madison10562@gmail.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Mark Debald                                     161 Mansion St                                          Poughkeepsie, NY 12601                                                 office@stpaulspoughkeepsie.org           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Rev Rodney Roehner                              1650 Live Oak St                                        New Smyrna Beach, FL 32168                                             office@stpaulsnsb.org                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  28 Highland Rd                                        Glen Cove, NY 11542                                                                                                            office@stpaulsgc.org                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Mark A Salzberg, Squire Patton Boggs (Us) LLP   2550 M St, Nw                                           Washington, DC 20037                                                   mark.salzberg@squirepb.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Rev Jonathan R Thomas Co‐Rector                 3601 N North St                                         Peoria, IL 61604                                                       jthomas@stpualspeoria.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: The Rev John Riggin                             4051 Old Shell Rd                                       Mobile, AL 33608                                                       john@stpmobile.com                       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  8320 Jack Finney Blvd                                 Greenville, TX 75402                                                                                                           fathernickfunk@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Rev Eric Zuber                                  P.O. Box 22                                             Magnolia Springs, AL 36555                                             eric_zubler@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Christopher Scott Wendell                       100 Pine Hill Rd                                        Bedford, MA 01730                                                      chris@stpaulsbedford.org                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Richard Elberfeld                               00 S Erie St                                            Maryville, NY 14757                                                    cfisher@magavern.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  Attn: Marcie Lynch                                    400 Ridge St                                            Lewiston, NY 14092                                                     cfisher@magavern.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  591 E Main St                                         Springville, NY 14141                                                                                                          cfisher@magavern.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  6188 Main St                                          Stafford, NY 14143                                                                                                             cfisher@magavern.com                     Email
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Voting Party                   St. Pauls Episcopal Church                                  c/o Rogers Towers, Pa                                 Attn: Betsy C Cox, Esq                                  1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207                bcox@rtlaw.com                           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  201 E Ridge St                                        Marquette, MI 49855                                                                                                                                                     First Class Mail
Voting Party                   St. Pauls Episcopal Church                                  206 E 2nd St                                          Weston, WV 26452                                                                                                                                                        First Class Mail
Voting Party                   St. Paul's Episcopal Church                                 Attn: Rich Wolkiewicz                                 815 E Grace St                                          Richmond, VA 23219                                                     rwolkiewicz@stpaulsrva.org               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church ‐ Chester, New York              101 Main St                                           Chester, NY 10918                                                                                                              aprev7@hotmail.com                       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church ‐ Kittanning                     Attn: The Rev Canon Kimberly Karashin                 325 Oliver Ave, Ste 300                                 Pittsburgh, PA 15222                                                   sld@sgkpc.com                            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church ‐ Kittanning                     Attn: The Rev Canon Kimberly Karashin                 325 Oliver Ave, Ste 300                                 Pittsburgh, PA 15222                                                                                            First Class Mail
Voting Party                   St. Pauls Episcopal Church ‐ Mt. Lebanon                    Attn: The Rev Canon Kimberly Karashin                 325 Oliver Ave, Ste 300                                 Pittsburgh, PA 15222                                                   sld@sgkpc.com                            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church ‐ Pleasant Valley, New York      Attn: Marilyn Kirchner, Treasurer                     808 Traver Rd                                           P.O. Box 1449                    Pleasant Valley, NY 12569             jsymer@sspp‐law.com                      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (Berlin)                         c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                  129 N West St, Ste 1             Easton, MD 21601                      Andie@AndieRossLaw.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (Canaan)                         c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                   159 Main St                      Nashua, NH 03060                      peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (Centreville)                    c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                  129 N West St, Ste 1             Easton, MD 21601                      Andie@AndieRossLaw.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (Dedham)                         59 Court St                                           Dedham, MA 02026                                                                                                               mharpernixon@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (Marion Station)                 c/o the Episcopal Diocese of Easton                   Attn: Patrick A. Collins                                314 N St                         Easton, MD 21601                      Patrick@DioceseofEaston.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (Marion Station)                 c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                  129 N West St, Ste 1             Easton, MD 21601                      Andie@AndieRossLaw.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (North Kingstown)                c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                   159 Main St                      Nashua, NH 03060                      peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (Pawtucket)                      c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                   159 Main St                      Nashua, NH 03060                      peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (Portsmouth)                     c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                   159 Main St                      Nashua, NH 03060                      peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (Spring Hill)                    c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                  129 N West St, Ste 1             Easton, MD 21601                      Patrick@DioceseofEaston.org              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (Trappe)                         c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                  129 N West St, Ste 1             Easton, MD 21601                      Andie@AndieRossLaw.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (Vergennes)                      c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                   159 Main St                      Nashua, NH 03060                      peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (Vienna)                         c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                  129 N West St, Ste 1             Easton, MD 21601                      Andie@AndieRossLaw.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (White River Junction)           c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                   159 Main St                      Nashua, NH 03060                      peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church (Windsor)                        c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                   159 Main St                      Nashua, NH 03060                      peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church Brookfield Ct 06804              Attn: David Williams                                  174 Whisconier Rd                                       Brookfield, CT 06804                                                   dwilliams@dsw‐ap.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church In Burlingame, CA                Attn: The Rev Thomas Skillings                        415 El Camino Real                                      Burlingame, CA 94010                                                   tskillings@stpaulsburlingame.org         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church Laporte, In                      Attn: Rev Michelle Walker                             708 Harrison St                                         La Porte, IN 46350                                                     rmilligan@pilawyers.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church Of Akron, Oh                     Attn: Rev Mark Pruitt                                 1361 W Market St                                        Akron, OH 44313                                                        mpruitt@stpaulsakron.org                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church Of Cary                          221 Union St                                          Cary, NC 27511                                                                                                                 frankclaney@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Paul's Episcopal Church of Maumee, OH                   Attn: J Paul Board                                    310 Elizabeth St                                        Maumee, OH 43537                                                       paul@stpaulsmaumee.org                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church Of Walnut Creek, CA              Attn: Christopher H Hart                              411 30th St, Ste 408                                    Oakland, CA 94609                                                      chart@nutihart.com                       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church Of Walnut Creek, CA              Attn: Christopher Hart                                411 30th St, Ste 408                                    Oakland, CA 94609                                                      chart@nutihart.com                       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church Of Watertown                     Attn: Rev Kevin Huddleston                            413 2nd St                                              Watertown, WI 53094                                                    huddleston@diomil.org                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church, Albany, Ga                      212 N Jefferson St                                    Albany, GA 31701                                                                                                               tblakey@kelleylovett.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church, Endicott, New York              P O Box 3520                                          Syracuse, NY 13220‐3520                                                                                                                                                 First Class Mail
Voting Party                   St. Pauls Episcopal Church, Mchenry, Il                     Attn: Beth Lukas, Senior Warden                       115 Indian Hill Trail                                   Crystal Lake, IL 60012                                                 gramlukas2@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church, Orange, Texas                   Attn: Keith F Giblin                                  300 Willow St                                           Beaumont, TX 77701                                                     keith_giblin@txed.us.courts.gov          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church, Owego, New York                 Attn: Martha L Berry                                  P.O. Box 3520                                           Syracuse, NY 13220‐3520                                                st.paulowego@stny.rr.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church, Oxford, New York                Attn: Martha L Berry                                  P.O. Box 3520                                           Syracuse, NY 13220‐3520                                                stpauls@citilink.net                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Church, Waterloo, New York              P O Box 3520                                          Syracuse, NY 13220‐3520                                                                                                        marthalberry@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Parish In Hopkinton, Massachusetts      61 Wood St                                            Hopkinton, MA 01748                                                                                                            stpaulhopkinton@gmail.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Episcopal Society                                 Attn: Stephanie Johnson                               200 Riverside Dr                                        Riverside, CT 06878                                                    stephanie.johnson@stpaulsriverside.org   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Evangelical Lutheran Church                       P O Box 47                                            Red Hill, PA 18076                                                                                                             stpaulredhill@comcast.net                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   St. Pauls Evangelical Lutheran Church                       Attn: Pastor Philip Geleske                           305 W 3rd St                                            Brenham, TX 77833                                                      phil@stpaulsbrenham.org                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                      Page 383 of 442
                                                                                     Case 20-10343-LSS                                                   Doc 8171                                    Filed 01/06/22                                                   Page 399 of 457
                                                                                                                                                                                        Exhibit B
                                                                                                                                                                                         Service List
                                                                                                                                                                                  Served as set forth below

        Description                                                           Name                                                                                                    Address                                                                                                          Email                              Method of Service
Voting Party                   St. Pauls Evangelical Lutheran Church                         Philip Jeffrey Geleske                                305 West 3rd St                                          Brenham, TX 77833                                                   phil@stpaulsbrenham.org                        Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Evangelical Lutheran Church Jersey City, Nj 07306   Attn: Diana L Anderson, Esq                           512 Main St                                              Toms River, NJ 08753                                                                                               First Class Mail
Voting Party                   St. Pauls Evangelical Lutheran Church Of Beachwood, Nj        Attn: Clifford P Yannone                              2 Hooper Ave                                             Toms River, NJ 08753                                                cyannone@starkeykelly.com                      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Evangelical Lutheran Church Of Fulton, Maryland     Attn: Senior Pastor                                   11795 Rte 216                                            Fulton, MD 20759                                                    jameshgale@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Evangelical Lutheran Church Of Richmond, Inc        c/o Plews Shadley Racher & Braun LLP                  Attn: Joshua S Tatum                                     1346 N Delaware St               Indianapolis, IN 46202             jtatum@psrb.com                                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Evangelical Lutheran Congregation                   Attn: Steven L Wetzel                                 P.O. Box 117                                             Mertztown, PA 19539                                                 Steve@wetzelent.com                            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Evangelical Lutheran Congregation Mertztown, Pa.    Attn: Steven L Wetzel                                 50 Luther Dr                                             Mertztown, PA 19539                                                 stpaulofficeadmin@ptd.net                      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Evangelical Lutheran Congregation Mertztown, Pa.    St Pauls Evangelical Lutheran Congregation            50 Luther Dr                                             P.O. Box 117                     Mertztown, PA 19539                Steve@wetzelent.com                            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Kent Episcopal Church (Chestertown/Fairlee)         c/o the Episcopal Diocese of Easton                   Attn: Patrick A. Collins                                 314 N St                         Easton, MD 21601                   Patrick@DioceseofEaston.org                    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Kent Episcopal Church (Chestertown/Fairlee)         c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                   129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Lutheran                                            Attn: Joseph Milano                                   1385 Broadway 12th Fl                                    New York, NY 10018                                                  JMilano@cbmslaw.com                            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Lutheran Church                                     Attn: Mike Serve                                      28 Lincoln Ave                                           Pittsford, NY 14534                                                 stpauls@stpaulspittsford.org                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Lutheran Church                                     8227 Hamilton Blvd                                    Breinigsville, PA 18031                                                                                                      cnsjk@rcn.com                                  Email
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Voting Party                   St. Pauls Lutheran Church Of Smithfield                       Attn: Laura Pride                                     139 Craigs Meadow Rd                                     East Stroudsburg, PA 18301                                          stpaulscraigsmeadow@verizon.net                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Methodist Church (09430)                            c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Nauvoo (183354)                                     c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Presbyterian Church                                 Attn: Diane Green                                     433 Park Ave                                             Laurel Springs, NJ 08021                                            info@drinkwatergoldsteinlaw.com                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls R C Church Society Of Kenmore                       c/o Woods Oviatt Gilman LLP                           Attn: Timothy P Lyster, Esq                              1900 Bausch & Lomb Pl            Rochester, NY 14604                tlyster@woodsoviatt.com                        Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Third Lutheran Church                               2561 Newburg Rd                                       Easton, PA 18045                                                                                                             sp3office@ptd.net                              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Umc                                                 Peggy M Edvenson                                      5374 Effingham Dr Se                                     Kentwood, MI 49508                                                  pedvenson@gmail.com                            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Umc                                                 Mary L Ricketts                                       35 E All Saints St, Unit 118                             Frederick, MD 21701                                                 maryricketts622@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Umc And Wesley Foundation (181641)                  c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Umc Boulder                                         Attn: Treasurer                                       4215 Grinnell Ave                                        Boulder, CO 80305                                                   office@saintpaulsboulder.org                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Umc Oneida                                          Attn: Lynne M Mondrick                                P.O. Box 296                                             Oneida, NY 13421                                                    stpaulsumconeida@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Church Of Christ, Trexlertown                St Pauls United Church of Christ                      1249 Trexlertown Rd                                      P.O. Box 336                     Trexlertown, PA 18087              stpaulsucc@trexucc.org                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church                             Attn: Business Administrator, Veronica Pearce         5501 Main St                                             Houston, TX 77004                                                   vpearce@stpaulshouston.org                     Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church                             Attn: Jeanette Fedosky                                201 S Monroe St                                          Monroe, MI 48161                                                    stpaulsmonroe@sbcglobal.net                    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church                             Attn: Trustee                                         202 N 3rd St                                             Okemah, OK 74859                                                    spumcsecretary@sbcglobal.net                   Email
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Voting Party                   St. Pauls United Methodist Church                             Attn: Kerry Attn: Kyle Clark                          202 North 3rd St                                         Olemah, OK 74859                                                    spumcsecretary@sbcglobal.net                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church                             Attn: Joan Mckerr                                     288 Main St                                              Northport, NY 11768                                                 spumc@optimum.net                              Email
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Voting Party                   St. Pauls United Methodist Church                             288 Main St                                           Northport, NY 11768                                                                                                          spumc@optimum.net                              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church                             Attn: Rev Jason Thornton                              910 E N St                                               Manteca, CA 95336                                                   pastor@stpaulsmanteca.org                      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church                             Attn: Maureen Wiseman                                 910 NW 38th St                                           Lawton, OK 73505                                                    pastor@stpaulslawton.org                       Email
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Voting Party                   St. Pauls United Methodist Church                             Attn: David Horst                                     P.O. Box 251                                             Smithsburg, MD 21783                                                maryricketts622@gmail.com                      Email
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Voting Party                   St. Pauls United Methodist Church                             Attn: Joe N Pierce                                    1705 W Beech Ave                                         Duncan, OK 73533                                                    joepiercedph@gmail.com                         Email
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Voting Party                   St. Pauls United Methodist Church                             Attn: Jo Ann Sterling                                 9910 E Gore Blvd                                         Lawton, OK 73501‐9601                                               jasterling68@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church                             Attn: Treasurer                                       12 Marlborough St                                        Newport, RI 02840                                                   jaegil.lee@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church                             Attn: Rev Dr David Henry                              200 Redwood Ave                                          Inwood, NY 11096                                                    Inwoodstumc@aol.com                            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church                             Attn: Treasurer, St Pauls Umc                         3334 Breton Rd Se                                        Kentwood, MI 49512                                                  grstpaulsumc@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church                             Attn: Stuart Alan Rains                               1442 S Quaker                                            Tulsa, OK 74120                                                                                                    First Class Mail
Voting Party                   St. Paul's United Methodist Church                            Eleazar Partida                                       12002 Cameron Way                                        Maxton, NC 28364                                                    epartida@nccumc.org                            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church (182838)                    c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church (189817)                    c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church (Az)                        c/o Clarke Law Firm, Plc                              Attn: Marilee Miller Clarke                              8141 E Indian Bend Rd, Ste 105   Scottsdale, AZ 85250               marilee@clarkelawaz.com                        Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Paul's United Methodist Church (Maxton)                   Attn: Eleazar Partida, Pastor                         12001 Cameron Way                                        Maxton, NC 28364                                                    epartida@nccumc.org                            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church Middletown, Ny              Attn: Michele Duggan (Or Finance Chair)               58 West Main St                                          Middletown, NY 10940                                                stpaulsumcmiddletown@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church Of Sykesville, Maryland     7538 Main St                                          Sykesville, MD 21784                                                                                                         admin@stpaulssykesville.org                    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church, Cambridge, Maryland        c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls United Methodist Church. Waterloo                   Attn: Marcia Truax                                    207 West Louise St                                       Waterloo, IA 50703                                                  stpaulsumcwaterloo@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Pauls Waccamaw United Methodist Church                    Attn: Alan Walters                                    180 St Pauls Pl                                          Pawleys Island, SC 29585                                            alnwltrs@aol.com                               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peter & St. Paul Episcopal Church                         Attn: Mike Schroeder                                  2310 N Stewart Rd                                        Mission, TX 78574                                                   secretary@peterpaul.org                        Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peter And All Saints Episcopal Church                     Attn: Jonathan Frazier                                100 E Red Bridge Rd                                      Kansas City, MO 64114                                               rector@stpaas.org                              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peter And All Saints Episcopal Church                     Attn: David Powell                                    2345 Grand Blvd                                          Kansas City, MO 64108                                               david.powell@lathropgpm.com                    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peter Catholic Church, Franklin County, Inc               Attn: John S Mercer                                   1400 N Meridian St                                       Indianapolis, IN 46202                                              jsmercer@indylegal.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peter Church, 401 N. Monticello St. Winamac, In 46996     Attn: Matt Mckillip                                   610 Lingle Ave, P.O. Box 260                             Lafayette, IN 47902                                                 mmckillip@dol‐in.org                           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peter Claver R C Church, New Orleans, LA                  Attn: Susan Zeringue, General Counsel                 7887 Walmsley Ave                                        New Orleans, LA 70125                                               szeringue@arch‐no.org                          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peter Clavers R C Congregation, Inc                       Attn: Matthew W Oakey                                 218 N Charles St, Ste 400                                Baltimore, MD 21201                                                 moakey@gejlaw.com                              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peter Episcopal Church, Ashtabula, Ohio                   Attn: Peter W Nielsen                                 4901 Main Ave                                            Ashtabula, OH 44004                                                 frpeter@stpetersashtabula.org                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peter Of Alcantara R.C. Church                            c/o Cullen and Dykman LLP                             Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              mroseman@cullenllp.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peter The Apostle Church                                  c/o Cullen and Dykman LLP                             Attn: Matthew G Roseman                                  100 Quentin Roosevelt Blvd       Garden City, NY 11530              mroseman@cullenllp.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters                                                    c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters                                                    12200 Forest Hill Blvd                                Wellington, FL 33414                                                                                                                                                        First Class Mail
Voting Party                   St. Peters By The Sea Episcopal Church                        435 Front St                                          Eagle Harbor, MI 49950                                                                                                       timothyquinnell@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters By The Sea Episcopal Church                        Attn: Wiliam Crawford                                 500 S Country Rd                                         Bay Shore, NY 11706                                                 drydock1@verizon.net                           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters By The Sea Episcopal Church (Narragansett)         c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Church (Londonderry)                               c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Church (Springfield)                               c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   Attn: Velma K Lee                                     1317 Queen Emma St                                       Honolulu, HI 96813                                                  vklee2014@gmail.com                            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   24 St Peter St                                        Salem, MA 01970                                                                                                              priest@stpeters‐sanpedro.org                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   Attn: Leigh Dixon, Parish Administrator               115 W 7th St                                             Charlotte, NC 28202                                                 pierce@st‐peters.org                           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   Attn: Danielle Morrison                               910 Hudson Rd                                            Greenville, SC 29615                                                parishadministrator@stpetersgreenvillesc.net   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   137‐28 244th St                                       Rosedale, NY 11422                                                                                                           office@stpetersrosedale.org                    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   Attn: Mickey Horany                                   320 St Peter St                                          Kerrville, TX 78028                                                 office@stpeterskerrville.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   188 Rector St                                         Perth Amboy, NJ 08861                                                                                                        office@stpetersepiscopal.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   Attn: Mark A Salzberg, Squire Patton Boggs (Us) LLP   2550 M St, Nw                                            Washington, DC 20037                                                mark.salzberg@squirepb.com                     Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   Attn: Leigh Dixon                                     115 W 7th St                                             Charlotte, NC 28202                                                 ldixon@st‐peters.org                           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   700 Rinehart Rd                                       Lake Mary, FL 32746                                                                                                          frjeremy@stpeterslakemary.org                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   Attn: Wanda Mason, Treasurer                          601 Colonial Ave                                         Colonial Beach, VA 22443                                            closings@ltwestmoreland.com                    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   Valerie L Balling                                     1 Hartford Rd                                            Medford, NJ 08055                                                   canonballing@stpetersmedford.org               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   Attn: Deborah J Fox                                   1648 W 9th St                                            San Pedro, CA 90732                                                 administrator@StPetersSanPedro.org             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church                                   1648 W 9th St                                         San Pedro, CA 90732                                                                                                          administrator@StPetersSanPedro.org             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church ‐ Brentwood                       Attn: The Rev Canon Kimberly Karashin                 325 Oliver Ave, Ste 300                                  Pittsburgh, PA 15222                                                sld@sgkpc.com                                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church ‐ Brentwood                       Attn: The Rev Canon Kimberly Karashin                 325 Oliver Ave, Ste 300                                  Pittsburgh, PA 15222                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church (Bennington)                      c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church (Fernandina Beach)                Marcia King                                           801 Atlantic Blvd                                        Fernandina Beach, FL 32034                                          marciacking@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church (Fernandina Beach)                c/o Rogers Towers, Pa                                 Attn: Betsy C Cox, Esq                                   1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207             bcox@rtlaw.com                                 Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church (Jacksonville)                    Attn: James Barnhill                                  5042 Timuquana Rd                                        Jacksonville, FL 32210                                              jbarnhill@stpetersjax.org                      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church (Jacksonville)                    c/o Rogers Towers, Pa                                 Attn: Betsy C Cox, Esq                                   1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207             bcox@rtlaw.com                                 Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church (Lyndonville)                     c/o The Tamposi Law Group, PC                         Attn: Peter N Tamposi                                    159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church (Salisbury)                       c/o The Law Office of Andrea Ross                     Attn: Andrea Ross, Esq                                   129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church Of Fort Atkinson                  Attn: Mother Mindy Valentine Davis                    302 Merchants Ave                                        Fort Atkinson, WI 53538                                             mothermindystjames@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church, Henrietta, Ny                    Attn: Mary C Horton                                   3825 E Henrietta Rd                                      Henrietta, NY 14467                                                 office@stpetershenrietta.org                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church, Henrietta, Ny                    Attn: Mary C Horton                                   3825 E Henrietta Rd                                      Henrietta, NY 14467                                                 daveandcolleen82@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church, Pasadena, Tx                     705 Williams St                                       Pasadena, TX 77536                                                                                                           sanpedro.stpeters@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church, Talladega, Al                    Attn: Rev Rob Morpeth, Diocese of Alabama,            521 N 20th St                                            Birmingham, AL 35203                                                rmorpeth@dioala.org                            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   St. Peters Episcopal Church, Talladega, Al                    David Roberts                                         P.O. Box 208                                             Talladega, AL 35161                                                 josijami@bellsouth.net                         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                         Page 384 of 442
                                                                                      Case 20-10343-LSS                                                   Doc 8171                                            Filed 01/06/22                                                Page 400 of 457
                                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                                  Service List
                                                                                                                                                                                           Served as set forth below

        Description                                                            Name                                                                                                            Address                                                                                                           Email               Method of Service
Voting Party                   St. Peters Evangelical Lutheran Church                        Attn: Joseph Milano                                    1385 Broadway 12th Fl                                            New York, NY 10018                                               jmilano@cbmslaw.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Peters Lutheran Church                                    3025 Church Rd                                         Lafayette Hill, PA 19444‐1707                                                                                                     davestett@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Peters Parish Church                                      Attn: Sheila Gregory Mitchell                          8400 St Peters Ln                                                New Kent, VA 23124                                               stpeters.admin1@gmail.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Peters Parish In Del Mar, Ca                              Attn: James P Hill, Esq, Sullivan Hill Rez & Engel     600 B St, Ste 1700                                               San Diego, CA 92101                                              hill@sullivanhill.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Peters R C Church, Covington, La                          Attn: Susana A Zeringue                                7887 Walmsley Ave                                                New Orleans, LA 70125                                            szeringue@arch‐no.org               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Peters Trinity Church                                     Attn: Scott Nelson                                     160 Main St                                                      Thomaston, CT 06787                                              church@sptt.org                     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Peters United Methodist Church                            Attn: Holly Gibson                                     20775 Kingsland Blvd                                             Katy, TX 77450                                                   hgibson@stpkaty.org                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Peters United Methodist Church (180203)                   c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200    Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Peter's, Hancock, R C Congregation, Inc                   Attn: Matthew W Oakey                                  218 N Charles St, Ste 400                                        Baltimore, MD 21201                                              moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Peter's, Libertytown, R C Congregation, Inc               Attn: Matthew W Oakey                                  218 N Charles St, Ste 400                                        Baltimore, MD 21201                                              moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philip And James R C Congregation, Inc                    Attn: Matthew W Oakey                                  218 N Charles St, Ste 400                                        Baltimore, MD 21201                                              moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philip Neri                                               c/o Westerman Ball Ederer Miller Zucker & Sharfstein   Attn: Jw/Wch                                                     1201 Rxr Plz                  Uniondale, NY 11556                wheuer@westermanllp.com             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philip Neri Catholic Church, Indianapolis, Inc            Attn: John S Mercer                                    1400 N Meridian St                                               Indianapolis, IN 46202                                           jsmercer@indylegal.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philip Neri R C Church                                    Attn: Charles J Adams                                  3500 Sunrise Hwy, Bldg 300                                       Great River, NY 11739                                            cjadams@pfapc.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philip Neri R C Congregation, Inc                         Attn: Matthew W Oakey                                  218 N Charles St, Ste 400                                        Baltimore, MD 21201                                              moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philip R C Church                                         Attn: Father James Richardson                          112 Capital Ave, Ne                                              Battle Creek, MI 49017                                                                               First Class Mail
Voting Party                   St. Philip The Apostle Episcopal Church In Scotts Valley      Attn: Marcus Granger‐Jones                             5271 Scotts Valley Dr                                            Scotts Valley, CA 95066                                          seniorwarden@stphilip‐sv.net        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philip The Deacon Lutheran Church                         Attn: Tim Westermeyer                                  17205 County Rd Six                                              Plymouth, MN 55447                                               twestermeyer@spdlc.org              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philips Episcopal Church                                  Attn: Frank Sierra                                     706 Byers Ave                                                    Joplin, MO 64801                                                 stphiliprector@aol.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philips Episcopal Church                                  Attn: Eric Matthew Williams                            100 Romeo Rd                                                     Rochester, MI 48307                                              info@stpfeeds.org                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philips Episcopal Church                                  Attn: David Poweel                                     2345 Grand Blvd                                                  Kansas City, MO 64108                                            david.powell@lathropgpm.com         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philips Episcopal Church (Quantico)                       c/o The Law Office of Andrea Ross                      Attn: Andrea Ross, Esq                                           129 N West St, Ste 1          Easton, MD 21601                   Andie@AndieRossLaw.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philips Episcopal Church, Frisco, Texas                   Attn: Rev Cn Michael R Gilton                          6400 Stonebrook Pkwy                                             Frisco, TX 75034                                                 michael@stphilipsfrisco.org         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philips Episcopal Church, Inc                             Attn: The Reverend Dr Mary E Conroy                    1121 Andalusia Ave                                               Coral Gables, FL 33134                                           mconroy@saintphilips.net            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philips Episcopal School                                  Attn: Alan Lenz                                        105 N Adams St                                                   Beeville, TX 78102                                               alenz@spepiscopalschool.org         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philips United Methodist Church                           Attn: Rev Lisa Callaway                                5501 Beechnut                                                    Houston, TX 77096                                                lcallaway@spumchou.org              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Philips United Methodist Church                           Attn: Bob Adams                                        3717 Broadway Blvd                                               Garland, TX 75043                                                bob@adamsfam5.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Phillip Neri School, Inc                                  c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400     Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Phillips Church (Easthampton)                             c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                            159 Main St                   Nashua, NH 03060                   peter@thetamposilawgroup.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Pius V Catholic Church, Troy, Inc                         Attn: John S Mercer                                    1400 N Meridian St                                               Indianapolis, IN 46202                                           jsmercer@indylegal.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Pius V R C Congregation, Inc                              c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400     Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Pius X Catholic Church, Indianapolis, Inc                 Attn: John S Mercer                                    1400 N Meridian St                                               Indianapolis, IN 46202                                           jsmercer@indylegal.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Pius X R C Church, New Orleans, LA                        Attn: Susan Zeringue, General Counsel                  7887 Walmsley Ave                                                New Orleans, LA 70125                                            szeringue@arch‐no.org               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Pius X R C Congregation, Inc                              Attn: Matthew W Oakey                                  218 N Charles St, Ste 400                                        Baltimore, MD 21201                                              moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Raphael Parish                                            c/o Cullen and Dykman LLP                              Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd    Garden City, NY 11530              mroseman@cullenllp.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Raphaels Episcopal Church                                 Attn: Dave Sevigny                                     3472 Rabbits Foot Trl                                            Lexington, KY 40503                                              thekydude@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Raphaels Episcopal Church                                 1891 Parkers Mill Rd                                   Lexington KY 40504                                                                                                                                                    First Class Mail
Voting Party                   St. Richards Episcopal Church                                 1420 E Palm Valley Blvd                                Round Rock, TX 78665                                                                                                              cameron.nations@strichards.org      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Richards Episcopal School, Inc                            c/o Plews Shadley Racher & Braun LLP                   Attn: Todd G Relue                                               1346 N Delaware St            Indianapolis, IN 46202             trelue@psrb.com                     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Rita Catholic Church, Indianapolis, Inc                   Attn: John S Mercer                                    1400 N Meridian St                                               Indianapolis, IN 46202                                           jsmercer@indylegal.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Rita R C Church, Harahan, LA                              Attn: Susan A Zeringue                                 7887 Walmsley Ave                                                New Orleans, LA 70125                                            szeringue@arch‐no.org               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Roch Catholic Church, Indianapolis, Inc                   Attn: John S Mercer                                    1400 N Meridian St                                               Indianapolis, IN 46202                                           jsmercer@indylegal.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Rosalie R C Church                                        31 E Montauk Hwy                                       Hampton Bays, NY 11946                                                                                                                                                First Class Mail
Voting Party                   St. Rose Lima Catholic Church                                 c/o Archdiocese of Los Angeles                         Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd            Los Angeles, CA 90010              legal@la‐archdiocese.org            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Rose Of Lima Catholic Church, Franklin, Inc               Attn: John S Mercer                                    1400 N Meridian St                                               Indianapolis, IN 46202                                           jsmercer@indylegal.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Rose Of Lima Church                                       c/o Cullen and Dykman LLP                              Attn: Matthew G Roseman                                          100 Quentin Roosevelt Blvd    Garden City, NY 11530              mroseman@cullenllp.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Rose Of Lima R C Congregation, Inc                        Attn: Matthew W Oakey                                  218 N Charles St, Ste 400                                        Baltimore, MD 21201                                              moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Simon The Apostle Catholic Church, Indianapolis, Inc      Attn: John S Mercer                                    1400 N Meridian St                                               Indianapolis, IN 46202                                           jsmercer@indylegal.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Simons Episcopal Church                                   Attn: Jane M Weston                                    P.O. Box 102                                                     Conyers, GA 30012                                                jweston@stsimonsconyers.org         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Simons On The Sound Episcopal Church                      Attn: Michelle Anchors                                 2113 Lewis Turner Blvd, Ste 100                                  Fort Walton Beach, FL 32547                                      manchors@anchorsgordon.com          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Church                                           Attn: The Rev Lauren T Mcleavey                        9 Carlton Ave                                                    Port Washington, NY 11050                                        john.longmire65@gmail.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Church (Pittsfield)                              c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                            159 Main St                   Nashua, NH 03060                   peter@thetamposilawgroup.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Church (Westborough)                             c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                            159 Main St                   Nashua, NH 03060                   peter@thetamposilawgroup.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Chapel (Cecilton)                      c/o The Law Office of Andrea Ross                      Attn: Andrea Ross, Esq                                           129 N West St, Ste 1          Easton, MD 21601                   Andie@AndieRossLaw.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church                                 351 Main St                                            Ridgefield, CT 06877                                                                                                              waltopp@ststephens‐ridgefield.org   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church                                 350 Chili Ave                                          Rochester, NY 14611                                                                                                               ststephensoffice@frontier.com       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church                                 Attn: Harold Mayo                                      3900 Mechanicsville Rd                                           Whitehall, PA 18052                                              saintste@ptd.net                    Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church                                 Attn: Pilar Parnell                                    P.O. Box 40                                                      Heathsville, VA 22473‐0040                                       pilar@ststephensheathsville.org     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church                                 Attn: The Reverend Pilar Parnell                       P.O. Box 40                                                      Heathsville, VA 22473‐0040                                       pilar@ststephensheathsville.org     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church                                 Attn: John Bernson                                     50 Bedford Rd                                                    Armonk, NY 10504                                                 office@ststephensarmonk.org         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church                                 223 E 4th St N                                         Newton, IA 50208                                                                                                                  melrobjam@aol.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church                                 c/o Davidoff Hutcher & Citron LLP                      Attn: James B Glucksman                                          605 3rd Ave                   New York, NY 10158                 jbglucksman@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church                                 Attn: John Bernson                                     50 Bedford Rd                                                    Armonk, NY 10504‐1830                                            jbg@dhclegal.com                    Email
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Voting Party                   St. Stephens Episcopal Church                                 c/o Davidoff Hutcher & Citron                          Attn: John Bernson                                               120 Bloomingdale Rd           White Plains, NY 10605             jbg@dhclegal.com                    Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church                                 Attn: Rev Kim Rossi                                    109 S Berry St                                                   Olean, NY 14760                                                  cfisher@magavern.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church                                 c/o Episcopal Diocese of Northwestern Pa               Attn: Sean Rowe                                                  145 W 6th St                  Erie, PA 16501                     cdougan@dionwpa.org                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephen's Episcopal Church                                50 Bedford Rd                                          Armonk, NY 10504                                                                                                                  offce@ststephensarmonk.org          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephen's Episcopal Church                                c/o Davidoff Hutcher & Citron                          Attn: John Bernson                                               120 Bloomingdale Rd           White Plains, NY 10605             jbg@dhclegal.com                    Email
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Voting Party                   St. Stephens Episcopal Church ‐ Mckeesport                    Attn: The Rev Canon Kimberly Karashin                  325 Oliver Ave, Ste 300                                          Pittsburgh, PA 15222                                             sld@sgkpc.com                       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church ‐ Mckeesport                    Attn: The Rev Canon Kimberly Karashin                  325 Oliver Ave, Ste 300                                          Pittsburgh, PA 15222                                                                                 First Class Mail
Voting Party                   St. Stephens Episcopal Church ‐ Wilkinsburg                   Attn: The Rev Canon Kimberly Karashin                  325 Oliver Ave, Ste 300                                          Pittsburgh, PA 15222                                             sld@sgkpc.com                       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church ‐ Wilkinsburg                   Attn: The Rev Canon Kimberly Karashin                  325 Oliver Ave, Ste 300                                          Pittsburgh, PA 15222                                                                                 First Class Mail
Voting Party                   St. Stephens Episcopal Church (Earleville)                    c/o The Law Office of Andrea Ross                      Attn: Andrea Ross, Esq                                           129 N West St, Ste 1          Easton, MD 21601                   Andie@AndieRossLaw.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church (East New Market)               c/o the Episcopal Diocese of Easton                    Attn: Patrick A. Collins                                         314 N St                      Easton, MD 21601                   Patrick@DioceseofEaston.org         Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church (East New Market)               c/o The Law Office of Andrea Ross                      Attn: Andrea Ross, Esq                                           129 N West St, Ste 1          Easton, MD 21601                   Andie@AndieRossLaw.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church (Middlebury)                    c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                            159 Main St                   Nashua, NH 03060                   peter@thetamposilawgroup.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church (Providence)                    c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                            159 Main St                   Nashua, NH 03060                   peter@thetamposilawgroup.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church Detour                          c/o Quinnell Law Firm Pllc                             Attn: Timothy C Quinnell                                         419 W Washington St           Marquette, MI 49855                timothyquinnell@gmail.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church Detour                          124 E Ontario St                                       Detour Village, MI 49725                                                                                                                                              First Class Mail
Voting Party                   St. Stephens Episcopal Church In Orinda, CA                   Attn: The Rev Dr, Stephen Hassett                      66 St Stephens Dr                                                Orinda, CA 94563                                                 steve@ststephensorinda.org          Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church In Wyandotte                    2803 1st St                                            Wyandotte, MI 48192                                                                                                               aandrea1234@gmail.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church Of Longmont, Colorado           Attn: Deanne R Stodden                                 1303 S Bross Ln                                                  Longmont, CO 80501                                               nelsonis@pobox.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church, Birmingham, Al                 Attn: Rev Rob Morpeth, Diocese of Alabama              521 N 20th St                                                    Birmingham, AL 35203                                             rmorpeth@dioala.org                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church, Durham, Nc                     Attn: Robert K Kaynor                                  82 Kimberly Dr                                                   Durham, NC 27707                                                 office@ssecdurham.org               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church, Escanaba                       500 Ogden Ave                                          Escanaba, MI 49829                                                                                                                timothyquinnell@gmail.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church, Huntsville, Al                 Attn: Rev Rob Morpeth, Diocese of Alabama              521 N 20th St                                                    Birmingham, AL 35203                                             rmorpeth@dioala.org                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church, Huntsville, Al                 The Rev Jeffrey K Evans                                8020 Whitesburg Dr, Se                                           Huntsville, AL 35802                                             revjeffevans@gmail.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church, Hurst, Texas                   Attn: The Reverend Canon Janet Waggoner                P.O. Box 8695                                                    Fort Worth, TX 76124                                             janet.waggoner@edfw.org             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Church, Inc                            c/o Foshee Mcmullen Law Grp LLC                        Rebecca Howington                                                P.O. Box 1070                 Milledgville, GA 31059             rhfoshee@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Episcopal Mission (Colebrook)                    c/o The Tamposi Law Group, PC                          Attn: Peter N Tamposi                                            159 Main St                   Nashua, NH 03060                   peter@thetamposilawgroup.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Lutheran Church                                  Attn: David L Marner Jr                                615 2nd St Sw                                                    Cedar Rapids, IA 52404                                           dmarner@nazettelaw.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Lutheran Church Gold Hill, Inc                   Attn: Timothy L Honeycutt, Treasurer                   4401 St Stephens Church Rd                                       Gold Hill, NC 28071‐9422                                         tlhoneycutt@aol.com                 Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens R C Congregation, Inc                            c/o Gallagher Evelius & Jones LLP                      Attn: Matthew W Oakey                                            218 N Charles St, Ste 400     Baltimore, MD 21201                moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Umc                                              146 W 228th St                                         Bronx, NY 10463                                                                                                                   ststephensumcbronx@gmail.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Umc ‐ Albuquerque, Nm                            4601 Juan Tabo Blvd Ne                                 Albuquerque, NM 87111                                                                                                             jrech@ssumc.com                     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens Umc Albuquerque Nm                               Attn: Finance Administrator                            4601 Juan Tabo Blvd Ne                                           Albuquerque, NM 87111                                            jrech@ssumc.com                     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Stephens United Methodist Church                          Attn: Jessica Ellis, CFO                               475 Riverside Dr, Ste 1922                                       New York, NY 10115                                               jellis@umcitysociety.org            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   St. Susanna Catholic Church, Plainfield, Inc                  Attn: John S Mercer                                    1400 N Meridian St                                               Indianapolis, IN 46202                                           jsmercer@indylegal.com              Email
                                                                                                                                                                                                                                                                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                  Page 385 of 442
                                                                                      Case 20-10343-LSS                                        Doc 8171                                      Filed 01/06/22                                                  Page 401 of 457
                                                                                                                                                                                Exhibit B
                                                                                                                                                                                 Service List
                                                                                                                                                                          Served as set forth below

        Description                                                            Name                                                                                           Address                                                                                                        Email                     Method of Service
Voting Party                   St. Sylvester R C Church                                      Attn: Monsignor Joseph Lamorte              1011 1st Ave                                               New York, NY 10022                                                 Msgr.Joseph.LaMorte@archny.org       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Sylvester R.C. Church                                     c/o Cullen and Dykman LLP                   Attn: Matthew G Roseman                                    100 Quentin Roosevelt Blvd       Garden City, NY 11530             mroseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Teresa Benedicta Of The Cross, Bright, Inc                Attn: John S Mercer                         1400 N Meridian St                                         Indianapolis, IN 46202                                             jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Teresas R C Church Society Of Buffalo, Ny                 c/o Woods Oviatt Gilman LLP                 Attn: Timothy P Lyster, Esq                                1900 Bausch & Lomb Pl            Rochester, NY 14604               tlyster@woodsoviatt.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Theodores Episcopal Church                                c/o Wright, Lindsey & Jennings LLP          Attn: John R Tisdale                                       200 W Capitol Ave, Ste 2300      Little Rock, AR 72201             jtisdale@wlj.com                     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Theodores Episcopal Church                                Attn: John R Tisdale                        1001 Kingsland Rd                                          Bella Vista, AR 72714                                                                                   First Class Mail
Voting Party                   St. Theresa Parish Claim                                      Attn: Monsignor Joseph Lamorte              1011 1st Ave                                               New York, NY 10022                                                 kspero@mcgivneyandkluger.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Therese Of Lisieux Church                                 c/o Cullen and Dykman LLP                   Attn: Matthew G Roseman                                    100 Quentin Roosevelt Blvd       Garden City, NY 11530             mroseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Therese Of The Infant Jesus Catholic Church               Attn: John S Mercer                         1400 N Meridian St                                         Indianapolis, IN 46202                                             jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas & Grace Episcopal Church (Brandon)                 c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                      159 Main St                      Nashua, NH 03060                  peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas (Dover)                                            c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                      159 Main St                      Nashua, NH 03060                  peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas (Hanover)                                          c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                      159 Main St                      Nashua, NH 03060                  peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Aquinas R C Congregation, Inc                      c/o Gallagher Evelius & Jones LLP           Attn: Matthew W Oakey                                      218 N Charles St, Ste 400        Baltimore, MD 21201               moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Aquinas School, Inc                                c/o Gallagher Evelius & Jones LLP           218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church                                   Attn: Bruce Thomas Heyvaert                 312 N Steele St                                            Sanford, NC 27330                                                  stthomas@icloud.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church                                   Attn: Thomas P Roche                        301 St Thomas Rd                                           Lancaster, PA 17601                                                saintthomaschurch@comcast.net        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church                                   231 Sunset Ave                              Sunnyvale, CA 94086                                                                                                           office@stthomas‐svale.us             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church                                   315 Lindsey St                              Reidsville, NC 27320                                                                                                          office.sthomasreidsville@gmail.com   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church                                   2201 Dexter St                              Denver, CO 80207                                                                                                              judithswinnerton@msn.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church                                   P O Box 25                                  Beattyville, KY 41311                                                                                                         bkibler@diolex.org                   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church                                   c/o Messner Reeves LLP                      Attn: Deanne R. Stodden                                    1430 Wynkoop St, Ste 300         Denver, CO 80202                  bankruptcy@messner.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas' Episcopal Church                                  Attn: Norma Schmidt                         61 Partridge Ln                                            Fairfield, CT 06824                                                                                     First Class Mail
Voting Party                   St. Thomas' Episcopal Church (Of Rochester, New York)         Attn: Devin Palmer, Esq Boylan Code LLP     145 Culver Rd, Ste 100                                     Rochester, NY 14620                                                dpalmer@boylancode.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church (Wood River Junction)             c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                      159 Main St                      Nashua, NH 03060                  peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church Greenville)                       c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                      159 Main St                      Nashua, NH 03060                  peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church, Berea, Oh                        Attn: the Rev David Radzik Rector           50 E Bagley Rd                                             Berea, OH 44017                                                    rector@stthomaschurch‐berea.org      Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church, Birmingham, Al                   Attn: Rev Rob Morpeth, Diocese of Alabama   521 N 20th St                                              Birmingham, AL 35203                                               rmorpeth@dioala.org                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church, Birmingham, Al                   The Rev Josiah Rengers                      2870 Acton Rd                                              Birmingham, AL 35243‐2502                                          rector@stthomasepiscopal.net         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church, Huntsville, Al                   The Rev Paul G Pradat                       12200 Bailey Cove Rd, Se                                   Huntsville, AL 35803‐2641                                          rector@stthomashuntsville.org        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Episcopal Church, Huntsville, Al                   Attn: Rev Rob Morpeth, Diocese of Alabama   521 N 20th St                                              Birmingham, AL 35203                                               rector@stthomashuntsville.org        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Evangelical Lutheran Church                        Attn: Diana Anderson                        512 Main St                                                Toms River, NJ 08753                                               Diana@DianaAndersonEsquire.com       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Memorial Episcopal Church ‐ Oakmont                Attn: The Rev Canon Kimberly Karashin       325 Oliver Ave, Ste 300                                    Pittsburgh, PA 15222                                               sld@sgkpc.com                        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas Memorial Episcopal Church ‐ Oakmont                Attn: The Rev Canon Kimberly Karashin       325 Oliver Ave, Ste 300                                    Pittsburgh, PA 15222                                                                                    First Class Mail
Voting Party                   St. Thomas More Catholic Church, Mooresville, Inc             Attn: John S Mercer                         1400 N Meridian St                                         Indianapolis, IN 46202                                             jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas More R C Congregation, Inc                         c/o Gallagher Evelius & Jones LLP           Attn: Matthew W Oakey                                      218 N Charles St, Ste 400        Baltimore, MD 21201               moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas More R.C. Church                                   c/o Cullen and Dykman LLP                   Attn: Matthew G Roseman                                    100 Quentin Roosevelt Blvd       Garden City, NY 11530             mroseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas The Apostle Church                                 24 Westminster Rd                           W Hempstead, NY 11552                                                                                                         tdriscoll@moritthock.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas The Apostle, Fortville, Inc                        Attn: John S Mercer                         1400 N Meridian St                                         Indianapolis, IN 46202                                             jsmercer@indylegal.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Thomas United Methodist Church                            2 S 511 Il, Rt 53                           Glen Ellyn, IL 60137                                                                                                          dr.daniel.diss@gmail.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Timothy Episcopal Church                                  Attn: Neville J Crichlow                    1457 Barn Owl Loop                                         Sanford, FL 32773                                                  njcrichlow@gmail.com                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Timothy Episcopal Church                                  Attn: Neville Crichlow                      381 N Lincoln St                                           Daytona Beach, FL 32114                                            njcrichlow@gmail.com                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Timothy R C Congregation, Inc                             Attn: Matthew W Oakey                       218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Timothys (Lancaster)                                      c/o The Tamposi Law Group, PC               Attn: Peter N Tamposi                                      159 Main St                      Nashua, NH 03060                  peter@thetamposilawgroup.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Timothys Episcopal                                        Attn: John Porter‐Acee                      107 Louis St                                               Greenville, NC 27858                                               johnpa@st‐tim.org                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Timothys Episcopal Church                                 Attn: Sr Warden                             P.O. Box 1527                                              Wilson, NC 27894                                                   Parish@sttimothyswilson.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Timothys Episcopal Church                                 1020 24th St                                West Des Moines, IA 50266                                                                                                     office@sttimothysiowa.org            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Timothys Episcopal Church                                 1401 E Dry Creek Rd                         Centennial, CO 80122                                                                                                          dennis4627@aol.com                   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Timothys Episcopal Church                                 c/o Messner Reeves LLP                      Attn: Deanne R. Stodden                                    1430 Wynkoop St, Ste 300         Denver, CO 80202                  bankruptcy@messner.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Timothys Greenville, Episcopal Diocese Of East Carolina   Attn: Joan Geiszler‐Ludlum                  P.O. Box 1336                                              Kinston, NC 28503                                                  johnpa@st‐tim.org                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Timothys School, Inc                                      Attn: Timothy Tinnesz                       4523 Six Forks Rd                                          Raleigh, SC 27609                                                  ttinnesz@sttimothys.org              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Timothys Umc                                              Attn: Office Manager                        3220 Terrace Dr                                            Cedar Falls, IA 50613                                              yakishalang@gmail.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Timothys Umc                                              Attn: Alan G Yakish                         5221 Sweet Basil Ln                                        Cedar Falls, IA 50613                                              yakishalang@gmail.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Ursula School, Inc                                        Attn: Matthew W Oakey                       218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Ursulas R C Congregation, Inc                             Attn: Matthew W Oakey                       218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Veronicas R C Congregation, Inc                           Attn: Matthew W Oakey                       218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Vincent De Paul Parish                                    c/o Cullen and Dykman LLP                   Attn: Matthew G Roseman                                    100 Quentin Roosevelt Blvd       Garden City, NY 11530             mroseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Vincent De Paul Parish (Babylon, Ny)                      c/o Cullen and Dykman LLP                   Attn: Matthew G Roseman                                    100 Quentin Roosevelt Blvd       Garden City, NY 11530             mroseman@cullenllp.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Vincent De Paul R C Congregation, Inc                     Attn: Matthew W Oakey                       218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Wenceslaus' R C Congregation, Inc                         Attn: Matthew W Oakey                       218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. Wilfrid Of York, The Episcopal Church Huntington Beach    Attn: Rev Steve Swartzell                   18631 Chapel Ln                                            Huntington Beach, CA 92646                                         steve@stwilfirdschurch.org           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St. William Of York R C Congregation,Inc                      Attn: Matthew W Oakey                       218 N Charles St, Ste 400                                  Baltimore, MD 21201                                                moakey@gejlaw.com                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St.Davids Episcopal Church                                    Carolyn Elf Beranek                         12080 Cameron Way                                          Maxton, NC 28364                                                   beranekjcd@earthlink.net             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St.Davids Episcopal Church                                    P O Box 334                                 Laurinburg, NC 28353                                                                                                          beranekjcd@earthlink.net             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   St.Theodores Episcopal Church                                 Attn: John Tisdale                          200 W Capitol Ave, Ste 2300                                Little Rock, AR 72201                                              jtisdale@wlj.com                     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Stacy Concerned Citizens Group                                Northern Star Council 250                   P.O. Box 244                                               Stacy, MN 55079‐0244                                                                                    First Class Mail
Chartered Organization         Stacy Lions Club                                              Northern Star Council 250                   30385 Forest Blvd                                          Stacy, MN 55079                                                                                         First Class Mail
Chartered Organization         Stafford County Christian Church                              National Capital Area Council 082           1813 Mountain View Rd                                      Stafford, VA 22554‐6616                                                                                 First Class Mail
Chartered Organization         Stafford Crossing Community Church                            National Capital Area Council 082           1420 Forbes St                                             Fredericksburg, VA 22405‐1419                                                                           First Class Mail
Chartered Organization         Stafford Fire Dept 1                                          Connecticut Rivers Council, Bsa 066         P.O. Box 147A                                              Staffordville, CT 06077‐0147                                                                            First Class Mail
Chartered Organization         Stafford Police                                               Sam Houston Area Council 576                2702 S Main St                                             Stafford, TX 77477‐5528                                                                                 First Class Mail
Chartered Organization         Stallbrook Pto                                                Mayflower Council 251                       342 Hartford Ave                                           Bellingham, MA 02019‐1213                                                                               First Class Mail
Voting Party                   Stallsville United Methodist Church                           Attn: Rolland Fitch                         255 Stallsville Rd                                         Summerville, SC 29485                                              scouting@stallsvilleumc.org          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Stallsville United Methodist Mens Club                        Coastal Carolina Council 550                255 Stallsville Rd                                         Summerville, SC 29485‐4941                                                                              First Class Mail
Chartered Organization         Stamford American International School                        Far E Council 803                           1 Woodleigh Lane                                           Singapore, 347691                Singapore                                                              First Class Mail
Voting Party                   Stamford United Methodist Church                              Attn: Debra Coager                          P.O. Box 133                                               88 Main St                       Stamford, NY 12767                dgcoager.dds@gmail.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Stamford Volunteer Fire Dept                                  Leatherstocking 400                         111 Main St                                                Stamford, NY 12167‐1140                                                                                 First Class Mail
Chartered Organization         Stamping Ground Elem/Pta                                      Blue Grass Council 204                      3233 Main St                                               Stamping Ground, KY 40379‐9791                                                                          First Class Mail
Chartered Organization         Stan K Doty Dds                                               Black Swamp Area Council 449                811 S Main St                                              Findlay, OH 45840‐3003                                                                                  First Class Mail
Voting Party                   Stanberry Mo Umc                                              Attn: Jackie Cameron Treasurer              508 N Park                                                 Stanberry, MO 64489                                                jackiecameron72@yahoo.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Standing Stone Chapter 201                                    Juniata Valley Council 497                  6392 Leister Ln                                            Huntingdon, PA 16652‐7557                                                                               First Class Mail
Chartered Organization         Standish Commty                                               United Methodist Church                     201 S Forest St                                            Standish, MI 48658‐9528                                                                                 First Class Mail
Chartered Organization         Standish Congregational Church                                Pine Tree Council 218                       P.O. Box 68                                                Standish, ME 04084‐0068                                                                                 First Class Mail
Chartered Organization         Standish Lions Club                                           Pine Tree Council 218                       P.O. Box 286                                               Standish, ME 04084‐0286                                                                                 First Class Mail
Chartered Organization         Standre Bessette Parish                                       Daniel Webster Council, Bsa 330             291 Union Ave                                              Laconia, NH 03246‐3122                                                                                  First Class Mail
Chartered Organization         Standrews Episcopal Church                                    Daniel Webster Council, Bsa 330             P.O. Box 436                                               Tamworth, NH 03886‐0436                                                                                 First Class Mail
Chartered Organization         Stanford Heights Fire Dept                                    Twin Rivers Council 364                     2240 Central Ave                                           Schenectady, NY 12304‐4381                                                                              First Class Mail
Chartered Organization         Stanford Heights Fire Dept                                    Twin Rivers Council 364                     2240 Central Ave                                           Schenectady, NY 12304‐4381                                                                              First Class Mail
Chartered Organization         Stanford Rotary Club                                          Blue Grass Council 204                      326 Choctaw Trl                                            Stanford, KY 40484‐1019                                                                                 First Class Mail
Chartered Organization         Stanford Uni Dept Public Safety                               Pacific Skyline Council 031                 711 Serra St                                               Stanford, CA 94305‐7203                                                                                 First Class Mail
Voting Party                   Stanhope United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200         Tampa, FL 33602                   ERICE@BRADLEY.COM                    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Stanislaus Consolidated Fire P D                              Greater Yosemite Council 059                3324 Topeka St                                             Riverbank, CA 95367‐2330                                                                                First Class Mail
Voting Party                   Stanley A. Hirtle                                             1230 Amherst Pl                             Dayton, OH 45406                                                                                                              shirtle@sbcglobal.net                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Stanley Congregational Church, Ucc                            Patriots Path Council 358                   94 Fairmount Ave                                           Chatham, NJ 07928‐2338                                                                                  First Class Mail
Chartered Organization         Stanley Elementary Pto                                        The Spirit of Adventure 227                 250 South St                                               Waltham, MA 02453‐2707                                                                                  First Class Mail
Chartered Organization         Stanley Lions Club                                            Chippewa Valley Council 637                 518 W Maple St                                             Stanley, WI 54768‐1065                                                                                  First Class Mail
Chartered Organization         Stanley Methodist Church                                      Piedmont Council 420                        217 N Main St                                              Stanley, NC 28164‐1722                                                                                  First Class Mail
Chartered Organization         Stanley School Pto                                            Heart of America Council 307                6121 W 158th St                                            Stanley, KS 66223‐3474                                                                                  First Class Mail
Chartered Organization         Stanley United Methodist Church                               Piedmont Council 420                        217 N Main St                                              Stanley, NC 28164‐1722                                                                                  First Class Mail
Chartered Organization         Stanley White Presbyterian Church                             East Carolina Council 426                   601 Ashton St                                              Roanoke Rapids, NC 27870‐2307                                                                           First Class Mail
Chartered Organization         Stanly County Family Ymca                                     Central N Carolina Council 416              412 N 1st St                                               Albemarle, NC 28001                                                                                     First Class Mail
Chartered Organization         Stanthony R C Church                                          Daniel Webster Council, Bsa 330             172 Belmont St                                             Manchester, NH 03103‐4452                                                                               First Class Mail
Chartered Organization         Stanton County Fair Board                                     Mid‐America Council 326                     702 Locust St Us                                           Stanton, NE 68779                                                                                       First Class Mail
Chartered Organization         Stanton Reformed Church                                       Washington Crossing Council 777             P.O. Box 114                                               Stanton, NJ 08885‐0114                                                                                  First Class Mail
Chartered Organization         Stanwood Free Methodist Church                                President Gerald R Ford 781                 7486 Stanwood Dr                                           Stanwood, MI 49346‐9476                                                                                 First Class Mail
Chartered Organization         Stanwood Lions Club                                           Mt Baker Council, Bsa 606                   P.O. Box 1211                                              Stanwood, WA 98292‐1211                                                                                 First Class Mail
Chartered Organization         Stanwood‐Camano Kiwanis                                       Mt Baker Council, Bsa 606                   P.O. Box 583                                               Stanwood, WA 98292‐0583                                                                                 First Class Mail
Voting Party                   Staples                                                       P O Box 660406                              Dallas, TX 75266‐0406                                                                                                                                              First Class Mail
Voting Party                   Staples Business Credit                                       P O Box 105638                              Atlanta, GA 30348‐5638                                                                                                                                             First Class Mail
Chartered Organization         Staples Rotary Club                                           Central Minnesota 296                       P.O. Box 40                                                Staples, MN 56479‐0040                                                                                  First Class Mail
Voting Party                   Staples, Inc                                                  dba Staples Contract & Commerc              P.O. Box 660409                                            Dallas, TX 75266‐0409                                                                                   First Class Mail
Firm                           Stapleton Clark, LLC                                          Stephen Stapleton                           207 S. 95th Street                                         Omaha, NE 68114                                                    stephen@stapletonclark.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Star 2Nd Ward ‐ Burley West Stake                             Snake River Council 111                     100 S 200 W                                                Burley, ID 83318                                                                                        First Class Mail
Voting Party                   Star City First United Methodist Church                       Attn: Melissa Keahey                        300 Washington St                                          Star City, AR 71667                                                starcity.fumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Star City United Methodist Church                             Attn: William H Peppers                     3170 E 800 S                                               Star City, IN 46985                                                billpeppers@outlook.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Star City Utd Methodist Church                                Sagamore Council 162                        2347 E Main St                                             Star City, IN 46985‐8952                                                                                First Class Mail
Chartered Organization         Star Of Bethlehem Lutheran Church                             Minsi Trails Council 502                    514 3rd Ave                                                Bethlehem, PA 18018‐5504                                                                                First Class Mail
Chartered Organization         Star Presbyterian Church                                      Central N Carolina Council 416              766 Tarry Church Rd                                        Star, NC 27356‐7950                                                                                     First Class Mail
Voting Party                   Star Stationers                                               P O Box 690070                              Charlotte, NC 28227‐7001                                                                                                                                           First Class Mail
Chartered Organization         Star Tv & Appliance                                           Sam Houston Area Council 576                13955 Murphy Rd, Ste 125                                   Stafford, TX 77477‐4914                                                                                 First Class Mail
Chartered Organization         Star Ward‐ Burley West Stake                                  Snake River Council 111                     100 S 200 W                                                Burley, ID 83318                                                                                        First Class Mail
Chartered Organization         Starbuck Middle Lighted Schoolhouse                           Three Harbors Council 636                   3109 Mt Pleasant St                                        Racine, WI 53404‐1511                                                                                   First Class Mail
Chartered Organization         Star‐C Programs                                               Atlanta Area Council 092                    1201 Peachtree St NE, Ste 1110                             Atlanta, GA 30361‐3512                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                 Page 386 of 442
                                                                                   Case 20-10343-LSS                                                   Doc 8171                                    Filed 01/06/22                                                      Page 402 of 457
                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                       Service List
                                                                                                                                                                                Served as set forth below

        Description                                                         Name                                                                                                    Address                                                                                                                Email                Method of Service
Voting Party                   Starclaire House Of Flowers                                1421 Emerywood Dr                                       Charlotte, NC 28210‐4105                                                                                                                                           First Class Mail
Chartered Organization         Stardust Drive In Theatre                                  Middle Tennessee Council 560                            P.O. Box 968                                            Lebanon, TN 37088‐0968                                                                                     First Class Mail
Firm                           Stark & Stark, PC                                          Michael G. Donahue                                      993 Lenox Dr                                            Lawrenceville, NJ 08648                                                mdonahue@stark‐stark.com            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Stark County Park District                                 Ranger Headquarters                                     5300 Tyner Ave Nw                                       Canton, OH 44708‐5041                                                                                      First Class Mail
Chartered Organization         Stark County Sheriff Office                                Buckeye Council 436                                     4500 Atlantic Blvd Ne                                   Canton, OH 44705‐4374                                                                                      First Class Mail
Voting Party                   Stark Umc                                                  c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Stark United Methodist Church ‐ Jackson                    c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Starkdale Presbyterian Church                              Ohio River Valley Council 619                           4600 Sunset Blvd                                        Steubenville, OH 43953‐3422                                                                                First Class Mail
Chartered Organization         Starke First Utd Methodist Church                          North Florida Council 087                               200 N Walnut St                                         Starke, FL 32091‐3227                                                                                      First Class Mail
Chartered Organization         Starke Rotary Club                                         North Florida Council 087                               Call St                                                 Starke, FL 32091                                                                                           First Class Mail
Chartered Organization         Starkville Rotary Club                                     Pushmataha Area Council 691                             P.O. Box 80002                                          Starkville, MS 39759‐0002                                                                                  First Class Mail
Chartered Organization         Starlight Christian Youth Leadership Cor                   Denver Area Council 061                                 6657 W Ottawa Ave, Ste B5                               Littleton, CO 80128‐4500                                                                                   First Class Mail
Chartered Organization         Starms Discovery Learning Center                           Three Harbors Council 636                               2035 N 25th St                                          Milwaukee, WI 53205‐1000                                                                                   First Class Mail
Voting Party                   Starnes Pallet Service, Inc                                Attn: Meghan Marie Starnes Moore                        4000 Jeff Adams Dr                                      Charlotte, NC 28206                                                    steve@starnespallet.com             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Starnes Pallet Service, Inc                                Attn: Meghan Starnes                                    P.O. Box 5484                                           Charlotte, NC 28299‐5484                                               steve@starnespallet.com             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Starr School                                               Erie Shores Council 460                                 3230 Starr Ave                                          Oregon, OH 43616‐2356                                                                                      First Class Mail
Voting Party                   Starrett Memorial United Methodist Church                  Attn: Pastor                                            40 Island St                                            Athol, MA 01331                                                        office@starrettmemorialumc.org      Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Stary‐Yerka VFW Post 5727                                  Gamehaven 299                                           25 E 1st St                                             Zumbrota, MN 55992‐1555                                                                                    First Class Mail
Chartered Organization         State Bank Of The Lakes                                    Blackhawk Area 660                                      1906 Holian Dr                                          Spring Grove, IL 60081‐7919                                                                                First Class Mail
Chartered Organization         State Center Fire & Ems                                    Mid Iowa Council 177                                    127 Main St W                                           State Center, IA 50247‐7769                                                                                First Class Mail
Chartered Organization         State College Presbyterian Church                          Juniata Valley Council 497                              132 W Beaver Ave                                        State College, PA 16801‐4815                                                                               First Class Mail
Voting Party                   State Electric Supply Co                                   P O Box 890889                                          Charlotte, NC 28289‐0889                                                                                                                                           First Class Mail
Chartered Organization         State Farm Insurance ‐ Dave Hatch                          Sequoia Council 027                                     1437 W Shaw Ave                                         Fresno, CA 93711‐3608                                                                                      First Class Mail
Voting Party                   State Insurance Fund Corp                                  P O Box 365028                                          San Jose, PR 00936                                                                                                             alejandro.suarez@fondopr.com        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         State Road School Pto                                      Gateway Area 624                                        3900 Pammel Creek Rd                                    La Crosse, WI 54601                                                                                        First Class Mail
Chartered Organization         State Road Volunteer Fire Dept                             Old Hickory Council 427                                 P.O. Box 1                                              State Rd, NC 28676‐0001                                                                                    First Class Mail
Voting Party                   State Street United Methodist Church                       300 W Valley Dr                                         Bristol, VA 24201                                                                                                              churchoffice@state‐street.org       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   State Street United Methodist Church, Inc                  1101 State St                                           Bowlins Green, KY 42102                                                                                                        jcas@twc.com                        Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         State Street United Methodist Men                          Lincoln Heritage Council 205                            1101 State St                                           Bowling Green, KY 42101‐2648                                                                               First Class Mail
Chartered Organization         State Street Utd Methodist Church                          Longhouse Council 373                                   357 State St                                            Fulton, NY 13069‐2537                                                                                      First Class Mail
Chartered Organization         Statesboro New Covenant Church                             Coastal Georgia Council 099                             108 Lakeland Dr                                         Statesboro, GA 30458‐4639                                                                                  First Class Mail
Chartered Organization         Statesville Police Dept                                    Piedmont Council 420                                    330 S Tradd St                                          Statesville, NC 28677‐5843                                                                                 First Class Mail
Chartered Organization         Statewide Roofing, Inc                                     Suffolk County Council Inc 404                          2120 5th Ave                                            Ronkonkoma, NY 11779‐6906                                                                                  First Class Mail
Chartered Organization         Station Camp Elementary Pto                                Middle Tennessee Council 560                            1020 Bison Trl                                          Gallatin, TN 37066‐8460                                                                                    First Class Mail
Chartered Organization         Staunton Bridge Community Center                           Blue Ridge Council 551                                  4806 Old Spartanburg Rd                                 Taylors, SC 29687‐4228                                                                                     First Class Mail
Chartered Organization         Staunton Chamber Of Commerce                               Greater St Louis Area Council 312                       229 W Main St                                           Staunton, IL 62088‐1454                                                                                    First Class Mail
Voting Party                   Staves Memorial Umc                                        Attn: Terri Pollard                                     1241 E 33rd St                                          Des Moines, IA 50317                                                   tasampollard@netzero.com            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Staves Memorial Umc                                        Attn: Finance Chair                                     2747 E Madison Ave                                      Des Moines, IA 50317                                                   Tasampollard@netzero.com            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Stavros Center For Independent Living                      Western Massachusetts Council 234                       210 Old Farm Rd                                         Amherst, MA 01002‐2704                                                                                     First Class Mail
Voting Party                   Staybridge Suites Las Colinas                              c/o Staybridge, Suites ‐ Dallas Las Colinas, TX; HPT    1201 Exec Cir                                           Irving, TX 75038                                                       Dondi.Santoya@ihg.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Stbernards RC Church                                       Greater New York Councils, Bsa 640                      2055 E 69th St                                          Brooklyn, NY 11234‐6015                                                                                    First Class Mail
Chartered Organization         Stcatherine R C Church                                     Daniel Webster Council, Bsa 330                         207 Hemlock St                                          Manchester, NH 03104‐3248                                                                                  First Class Mail
Chartered Organization         Stchristopher R C Church                                   Daniel Webster Council, Bsa 330                         62 Manchester St                                        Nashua, NH 03064‐6201                                                                                      First Class Mail
Voting Party                   Stealey United Methodist Church                            Attn: Treasurer                                         521 Milford St                                          Clarksburg, WV 26301                                                   stealeyumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Steam Academy Of Warren                                    Great Trail 433                                         261 Elm Rd Ne                                           Warren, OH 44483‐5003                                                                                      First Class Mail
Chartered Organization         Steamboat Springs Kiwanis Club                             Denver Area Council 061                                 P.O. Box 772514                                         Steamboat Springs, CO 80477‐2514                                                                           First Class Mail
Chartered Organization         Stearns County Sheriffs Office                             Central Minnesota 296                                   807 Courthouse Sq                                       St Cloud, MN 56303‐4820                                                                                    First Class Mail
Firm                           Steckler Wayne Cochean Cherry PLLC                         Bruce Steckley                                          10720 Hillcrest Rd Ste 1045                             Dallas, TX 75230                                                       Judgestick@gmail.com                Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Steel Workers Of America Local 1899                        Greater St Louis Area Council 312                       2014A State St                                          Granite City, IL 62040‐4632                                                                                First Class Mail
Voting Party                   Steelcon Supply Co                                         Attn: Donna Zandlo                                      265 Industrial Dr                                       Beckley, WV 25801                                                      dzandlo@raighmine.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Steele Creek Athletic Assoc                                Mecklenburg County Council 415                          13530 Choate Cir                                        Charlotte, NC 28273                                                                                        First Class Mail
Voting Party                   Steele Creek Presbyterian Church At Pleasant Hill, Inc     Attn: Jeff Pinkston & William L Harraman                15000 S Tryon St                                        Charlotte, NC 28278                                                    jeff@steelecreekchurch.org          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Steele Memorial United Methodist Church                    Attn: Trustees, Eddie Smith                             733 Shaw St                                             P.O. Box 346                       Barboursville, WV 25504             church@steelememorial.com           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Steele Street School Pto                                   Water and Woods Council 782                             531 Steele St                                           Mason, MI 48854‐1950                                                                                       First Class Mail
Chartered Organization         Steelton Highspire Senior High School                      New Birth of Freedom 544                                250 Reynders St                                         Steelton, PA 17113‐2463                                                                                    First Class Mail
Chartered Organization         Steelville Presbyterian Church                             Greater St Louis Area Council 312                       P.O. Box 860                                            Steelville, MO 65565‐0860                                                                                  First Class Mail
Chartered Organization         Steeple Run Home & School Assoc                            Three Fires Council 127                                 6S151 Steeple Run Dr                                    Naperville, IL 60540                                                                                       First Class Mail
Voting Party                   Steffon Arrington, Pastor                                  Spring Woods United Methodist Church                    1711 Cypress Creek Pkwy                                 Houston, TX 77090                                                      sarrington@springwoodsumc.org       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Steger Fire Dept                                           Pathway To Adventure 456                                35 W 34th St                                            Steger, IL 60475‐1013                                                                                      First Class Mail
Chartered Organization         Steger Kiwanis Club                                        Pathway To Adventure 456                                P.O. Box 236                                            Steger, IL 60475‐0236                                                                                      First Class Mail
Voting Party                   Steidley Law Firm, Pc                                      Larry Russell Steidley, Jr                              319 W 1st St                                            P.O. Box 98                        Claremore, OK 74108‐0098            debbie@steidleylaw.com              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Steilacoom Community Church                                Pacific Harbors Council, Bsa 612                        P.O. Box 1026                                           Steilacoom, WA 98388                                                                                       First Class Mail
Chartered Organization         Steilacoom Community Church                                Pacific Harbors Council, Bsa 612                        1603 Rainier St                                         Steilacoom, WA 98388‐2111                                                                                  First Class Mail
Firm                           Steinberg Burtker & Grossman Ltd                           Richard J. Grossman                                     1847 N. Orchard Street                                  Chicago, IL 60614                                                      rickgrossman@lawyer.com             Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Steinberg, Symer & Platt, LLP                              Attn: Jonathan E Symer                                  27 Garden St                                            Poughkeepsie, NY 12603                                                 jsymer@sspp‐law.com                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Steiner Ranch Master Assoc                                 Capitol Area Council 564                                12550 Country Trl                                       Austin, TX 78732‐1605                                                                                      First Class Mail
Chartered Organization         Stella Maris Catholic Church                               Coastal Carolina Council 550                            P.O. Box 280                                            Sullivans Island, SC 29482‐0280                                                                            First Class Mail
Chartered Organization         Stella Utd Methodist Church                                Ozark Trails Council 306                                853 Carter St                                           Stella, MO 64867                                                                                           First Class Mail
Chartered Organization         Stem Academy                                               National Capital Area Council 082                       21042 Lowell Ct                                         Sterling, VA 20164‐2437                                                                                    First Class Mail
Chartered Organization         Stem Adventures LLC                                        Northern New Jersey Council, Bsa 333                    720 Monroe St 6314B                                     Hoboken, NJ 07030‐6315                                                                                     First Class Mail
Chartered Organization         Stem Avengers                                              Circle Ten Council 571                                  6494 Kasba Ln                                           Frisco, TX 75035‐0461                                                                                      First Class Mail
Chartered Organization         Stem Gems                                                  Circle Ten Council 571                                  13256 Bigelow Ln                                        Frisco, TX 75035‐0782                                                                                      First Class Mail
Chartered Organization         Stem Middle Prep Academy                                   Middle Tennessee Council 560                            1162 Foster Ave                                         Nashville, TN 37210‐4428                                                                                   First Class Mail
Chartered Organization         Stem Prep Academy Bio Tn                                   Middle Tennessee Council 560                            1162 Foster Ave                                         Nashville, TN 37210‐4428                                                                                   First Class Mail
Chartered Organization         Stem Scouts Committee                                      Silicon Valley Monterey Bay 055                         970 W Julian St                                         San Jose, CA 95126‐2719                                                                                    First Class Mail
Chartered Organization         Step Academy                                               Northern Star Council 250                               835 5th St E                                            St Paul, MN 55106‐5199                                                                                     First Class Mail
Chartered Organization         Step Ahead Academy                                         Crossroads of America 160                               3200 E Raymond St                                       Indianapolis, IN 46203‐4766                                                                                First Class Mail
Chartered Organization         Step‐By‐Step, Inc                                          Laurel Highlands Council 527                            270 Curry Hollow Rd                                     Pittsburgh, PA 15236‐4633                                                                                  First Class Mail
Voting Party                   Stephen C Albery                                           3510 Lakeshore                                          Waterford, MI 48329                                                                                                                                                First Class Mail
Voting Party                   Stephen E Barnes                                           Address Redacted                                                                                                                                                                       Email Address Redacted              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Stephen E Marrs                                            P O Box 337                                             Blossom, TX 75416                                                                                                              steve.marrs@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Stephen W Owen                                             c/o Boy Scouts of America                               Attn: Chase Koontz                                      1325 W Walnut Hill Ln              Irving, TX 75015                    chase.koontz@scouting.org           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Stephen Walter Humphrey, Jr                                29025 Livingston Dr                                     Mechanicsville, MD 20659                                                                                                       preacher.steve.humphrey@gmail.com   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Stephens City Moose Lodge 2483                             Shenandoah Area Council 598                             357 Fairfax Pike                                        Stephens City, VA 22655                                                                                    First Class Mail
Voting Party                   Stephens City Umc                                          c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Stephens City United Methodist Church                      Attn: Trustees, Stephens City United Methodist Church   5291 Main St                                            P.O. Box 428                       Stephens City, VA 22655             jmoore@stephenscityumchurch.com     Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Stephens City Utd Methodist Church                         Shenandoah Area Council 598                             P.O. Box 428                                            Stephens City, VA 22655‐0428                                                                               First Class Mail
Chartered Organization         Stephens County Fire Services                              Northeast Georgia Council 101                           P.O. Box 386                                            Toccoa, GA 30577‐1406                                                                                      First Class Mail
Chartered Organization         Stephens County Hospital                                   Northeast Georgia Council 101                           163 Hospital Dr                                         Toccoa, GA 30577‐6820                                                                                      First Class Mail
Chartered Organization         Stephens County Sheriff Office                             Northeast Georgia Council 101                           70 N Alexander St, Ste 205                              Toccoa, GA 30577‐6604                                                                                      First Class Mail
Chartered Organization         Stephensburg Community, Inc                                Lincoln Heritage Council 205                            10601 Leitchfield Rd                                    Stephensburg, KY 42724‐9675                                                                                First Class Mail
Voting Party                   Stephenson United Methodist Church                         Attn: Gene Full                                         805 Liberty St                                          Parkersburg, WV 26101                                                  stephensonumcwv@gmail.com           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Stephenville Lions Club                                    Texas Trails Council 561                                P.O. Box 1891                                           Stephenville, TX 76401‐0033                                                                                First Class Mail
Chartered Organization         Stepney Elementary School Pto                              Connecticut Yankee Council Bsa 072                      180 Old Newtown Rd                                      Monroe, CT 06468‐1106                                                                                      First Class Mail
Chartered Organization         Stepney Volunteer Fire Dept                                Connecticut Yankee Council Bsa 072                      88 Main St                                              Monroe, CT 06468‐1637                                                                                      First Class Mail
Chartered Organization         Stepping Stones Montessori School                          Pine Tree Council 218                                   195 Hallowell Rd                                        Chelsea, ME 04330‐1026                                                                                     First Class Mail
Chartered Organization         Stepstone Academy                                          Lake Erie Council 440                                   3328 Carnegie Ave                                       Cleveland, OH 44115‐2637                                                                                   First Class Mail
Chartered Organization         Sterling Community Center                                  Blue Ridge Council 551                                  113 Minus St                                            Greenville, SC 29601                                                                                       First Class Mail
Chartered Organization         Sterling Consulting And Management, LLC                    Las Vegas Area Council 328                              224 Deer Crossing Way                                   Henderson, NV 89012‐2289                                                                                   First Class Mail
Voting Party                   Sterling Heights First United Methodist Church             Attn: David Lamb                                        11333 16 1/2 Mile Rd                                    Sterling Heights, MI 48312                                             david.lamb0422@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Sterling Hts Police Dept                                   Great Lakes Fsc 272                                     40333 Dodge Park Rd                                     Sterling Heights, MI 48313‐4143                                                                            First Class Mail
Chartered Organization         Sterling Park Christian Church                             National Capital Area Council 082                       800 E Staunton Ave                                      Sterling, VA 20164‐3424                                                                                    First Class Mail
Chartered Organization         Sterling Police Dept                                       Longs Peak Council 062                                  421 N 4th St                                            Sterling, CO 80751‐3311                                                                                    First Class Mail
Chartered Organization         Sterling Police Dept                                       Blackhawk Area 660                                      212 3rd Ave                                             Sterling, IL 61081‐3932                                                                                    First Class Mail
Voting Party                   Sterling United Methodist Church (79002)                   c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Sterling Utd Methodist Church                              National Capital Area Council 082                       304 E Church Rd                                         Sterling, VA 20164‐2926                                                                                    First Class Mail
Chartered Organization         Sterling Volunteer Fire Co 67                              Connecticut Rivers Council, Bsa 066                     225 Main St                                             Sterling, CT 06377‐1813                                                                                    First Class Mail
Chartered Organization         Sterling‐American Legion Post 189                          Heart of New England Council 230                        32 School St                                            Sterling, MA 01564                                                                                         First Class Mail
Chartered Organization         Sterling‐First Church In Sterling                          Heart of New England Council 230                        P.O. Box 40                                             Sterling, MA 01564‐0040                                                                                    First Class Mail
Chartered Organization         Sterlington High School                                    Louisiana Purchase Council 213                          206 High Ave                                            Sterlington, LA 71280‐3267                                                                                 First Class Mail
Chartered Organization         Stetser Elementary School                                  Cradle of Liberty Council 525                           808 E 17th St                                           Chester, PA 19013‐5735                                                                                     First Class Mail
Voting Party                   Stetson Memorial United Methodist Church                   Attn: Robin D Blevins                                   P.O. Box 725, 17 Houlton St                             Patten, ME 04765                                                       revblev.surry@juno.com              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Stetson Memorial United Methodist Church                   Attn: Rev Dan Blevins                                   P.O. Box 680                                            Patten, ME 04765                                                       revblev.patten@gmail.com            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Firm                           Steuerwald Witham & Youngs, LLP                            Edward R. Hannon                                        PO Box 503                                              Danville, IN 46122                                                     ehannon@shwlayers.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Steve A McCloskey                                          Address Redacted                                                                                                                                                                       Email Address Redacted              Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Steve Currens                                              Chair, Board of Trustees                                729 Willowridge Dr                                      Kokomo, IN 46901                                                       rcurrens@aol.com                    Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Steve Hemsley                                              c/o Boy Scouts of America                               Attn: Chase Koontz                                      1325 W Walnut Hill Ln              Irving, TX 75015                    chase.koontz@scouting.org           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Steve L. Wilson                                            435 2nd St, Ste 500                                     Macon, GA 31201                                                                                                                steve.wilson@jonescork.com          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Steve P. Mcgowan                                           c/o Boy Scouts of America                               Attn: Chase Koontz                                      1325 W Walnut Hill Ln              Irving, TX 75015                    chase.koontz@scouting.org           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Steve R Gregory                                            1601 S Adams St, Ste A                                  Fulton, MS 38843                                                                                                                                                   First Class Mail
Voting Party                   Steven C. Pearson                                          11 N Water St, 27th Fl                                  Rsa Tower                                               Mobile, AL 36602                                                       scp@ajlaw.com                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Steven Rendle                                              c/o Boy Scouts of America                               Attn: Chase Koontz                                      1325 W Walnut Hill Ln              Irving, TX 75015                    chase.koontz@scouting.org           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Steven School P T O                                        Connecticut Rivers Council, Bsa 066                     322 Orchard St                                          Rocky Hill, CT 06067‐2021                                                                                  First Class Mail
Voting Party                   Steven W Davis                                             380 Maple Ave                                           Cheshire, CT 06410                                                                                                             steven.w.davis86@gmail.com          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Steven W. Browning Sr.                                     3285 Ramey Dr                                           Zachary, LA 70791                                                                                                              andconsulting@aol.com               Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Steven Weekes                                              c/o Boy Scouts of America                               Attn: Chase Koontz                                      1325 W Walnut Hill Ln              Irving, TX 75015                    chase.koontz@scouting.org           Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Stevens Avenue United Church Of Christ                     Pine Tree Council 218                                   790 Stevens Ave                                         Portland, ME 04103‐2623                                                                                    First Class Mail
Chartered Organization         Stevens Avenue United Church Of Christ                     Pine Tree Council 218                                   790 Stevens Ave                                         Portland, ME 04103‐2623                                                                                    First Class Mail
Chartered Organization         Stevens County Sheriffs Office                             Inland Nwest Council 611                                P.O. Box 186                                            Colville, WA 99114‐0186                                                                                    First Class Mail
Chartered Organization         Stevens Creek Pto                                          Georgia‐Carolina 093                                    3780 Evans To Locks Rd                                  Martinez, GA 30907‐4912                                                                                    First Class Mail
Voting Party                   Stevens Martin Vaughn & Tadych                             Attn: Kenneth Matthew Vaughn                            1101 Haynes St, Ste 100                                 Raleigh, NC 27604                                                      matt@smvt.com                       Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Stevens Memorial United Methodist Church                   Attn: Nikki Edleman                                     8 Shady Ln                                              South Salem, NY 10590                                                  nikki.edleman@nyac‐umc.com          Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Stevens Point Fire Dept                                    Samoset Council, Bsa 627                                1701 Franklin St                                        Stevens Point, WI 54481‐2736                                                                               First Class Mail
Voting Party                   Stevenson United Methodist                                 c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Stevensville United Methodist Church                       Attn: Leonard R Johnson, Treasurer                      216 College St                                          Stevensville, MT 59870                                                 lrkmjohnson@frontier.com            Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Stevensville United Methodist Church                       Attn: Rev David F Hills                                 5506 Ridge Rd                                           Stevensville, MI 49127                                                 dfhills@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Steves Auto Parts LLC                                      1808 Main St E                                          Oak Hill, WV 25901‐2324                                                                                                                                            First Class Mail
Voting Party                   Steward Umc                                                507 Main St                                             Steward, IL 60553                                                                                                              mecthmpsn@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Stewards Of Liberty                                        Utah National Parks 591                                 8744 N West Dr                                          Eagle Mountain, UT 84005‐4138                                                                              First Class Mail
Chartered Organization         Stewardson Strasburg Fire Prot Dist                        Greater St Louis Area Council 312                       P.O. Box 37                                             Stewardson, IL 62463‐0037                                                                                  First Class Mail
Chartered Organization         Stewart Alternative Elementary                             Simon Kenton Council 441                                40 Stewart Ave                                          Columbus, OH 43206‐2548                                                                                    First Class Mail
Chartered Organization         Stewart Avenue Lutheran Church                             Laurel Highlands Council 527                            2810 Brownsville Rd                                     Pittsburgh, PA 15227‐1905                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 387 of 442
                                                                                  Case 20-10343-LSS                                          Doc 8171                                            Filed 01/06/22                                                         Page 403 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                        Name                                                                                                   Address                                                                                                                  Email                                    Method of Service
Chartered Organization         Stewart Business Forms                                        Indian Nations Council 488                 5110 S 95th East Ave                                            Tulsa, OK 74145‐8115                                                                                                             First Class Mail
Voting Party                   Stewart Memorial ‐ Daytona Beach                              c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                                     Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Stewart Memorial ‐ Daytona Beach                              317 N Dr Martin Luther King Jr Blvd        Daytona Beach, FL 32114                                                                                                                                                                          First Class Mail
Chartered Organization         Stewart Simmons Volunteer Fire Dept &                         Deerfield Methodist Mens Club              1184 Deerfield Rd                                               Boone, NC 28607‐8704                                                                                                             First Class Mail
Chartered Organization         Stewarts Creek Elementary School Pto                          Middle Tennessee Council 560               200 Red Hawk Blvd                                               Smyrna, TN 37167‐6753                                                                                                            First Class Mail
Chartered Organization         Stewartstown Lions Club                                       New Birth of Freedom 544                   19779 Dutton Rd                                                 Stewartstown, PA 17363‐7919                                                                                                      First Class Mail
Chartered Organization         Stewartstown Presbyterian Church                              New Birth of Freedom 544                   College Ave                                                     Stewartstown, PA 17363                                                                                                           First Class Mail
Voting Party                   Stewartstown United Methodist (09470)                         c/o Bentz Law Firm                         Attn: Leonard Spagnolo                                          680 Washington Rd, Ste 200              Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Stewartsville Presbyterian Church                             Attn: Charles Nowalk                       50 N Main St                                                    Stewartsville, NJ 08886                                                    sessionclerk.spc@gmail.com                            Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Stewartsville Presbyterian Church                             Attn: Charles Nowalk                       550 N Main St                                                   Stewartsville, NJ 08886‐2036                                               sessionclerk.spc@gmail.com                            Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stewartville Lions Club                                       Gamehaven 299                              208 Highland Ct Se                                              Stewartville, MN 55976‐1454                                                                                                      First Class Mail
Chartered Organization         Stgermain Evangelical Free Church                             Samoset Council, Bsa 627                   6065 State Hwy 70 E                                             St Germain, WI 54558‐8703                                                                                                        First Class Mail
Voting Party                   Stidham United Methodist Church                               Attn: Darin Hendrey                        5300 S 175 W                                                    Lafayette, IN 47909                                                        stidhamumc@yahoo.com                                  Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stigler Eastern Star 16                                       Indian Nations Council 488                 203 NW A St                                                     Stigler, OK 74462‐2029                                                                                                           First Class Mail
Chartered Organization         Stiles Elementary School                                      Simon Kenton Council 441                   4700 Stiles Ave                                                 Columbus, OH 43228‐1954                                                                                                          First Class Mail
Chartered Organization         Stillman Valley Lions                                         Blackhawk Area 660                         P.O. Box 455                                                    Stillman Valley, IL 61084‐0455                                                                                                   First Class Mail
Chartered Organization         Stillman Valley Lions Club                                    Stillman Valley Fireman Assoc              200 S Rural St                                                  Stillman Valley, IL 61084‐9630                                                                                                   First Class Mail
Chartered Organization         Stillwater 1St Ward                                           Church of Jesus Christ Latter‐Day Saints   3312 W 56th St                                                  Stillwater, OK 74074‐2081                                                                                                        First Class Mail
Chartered Organization         Stillwater Diving LLC                                         Potawatomi Area Council 651                2410 Milwaukee St                                               Delafield, WI 53018‐2014                                                                                                         First Class Mail
Chartered Organization         Stillwater First Utd Methodist Church                         Cimarron Council 474                       400 W 7th Ave                                                   Stillwater, OK 74074‐4037                                                                                                        First Class Mail
Voting Party                   Stillwater Highland Park United Methodist Church              Attn: Treasurer Dennis Bertholf            Highland Park Umc                                               524 N Stallard St                       Stillwater, OK 74075                                                                     First Class Mail
Chartered Organization         Stillwater Noon Lions                                         Cimarron Council 474                       524 N Stallard St                                               Stillwater, OK 74075‐8219                                                                                                        First Class Mail
Chartered Organization         Stillwater Utd Church                                         Twin Rivers Council 364                    135 Hudson Ave                                                  Stillwater, NY 12170                                                                                                             First Class Mail
Voting Party                   Stilwell Umc                                                  c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                                     Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stilwell Utd Methodist Church                                 Heart of America Council 307               19335 Metcalf Ave                                               Stilwell, KS 66085‐8536                                                                                                          First Class Mail
Chartered Organization         Stine Elementary School Parents Club                          Southern Sierra Council 030                4300 Wilson Rd                                                  Bakersfield, CA 93309‐4969                                                                                                       First Class Mail
Chartered Organization         Stinesville Lions Club                                        Hoosier Trails Council 145 145             107 S Indiana Ave                                               Bloomington, IN 47405‐7000                                                                                                       First Class Mail
Chartered Organization         Stix Early Childhood Center                                   Greater St Louis Area Council 312          647 Tower Grove Ave                                             St Louis, MO 63110                                                                                                               First Class Mail
Chartered Organization         Stjames Methodist Church                                      Daniel Webster Council, Bsa 330            Dw Hwy                                                          Merrimack, NH 03054                                                                                                              First Class Mail
Chartered Organization         Stjohn Neumann Parish                                         Daniel Webster Council, Bsa 330            708 Milford Rd                                                  Merrimack, NH 03054‐4612                                                                                                         First Class Mail
Chartered Organization         Stjoseph Church                                               Housatonic Council, Bsa 069                50 Fairmont Pl                                                  Shelton, CT 06484‐3044                                                                                                           First Class Mail
Chartered Organization         Stjoseph Halfway RC Congreg                                   Mason Dixon Council 221                    17630 Virginia Ave                                              Hagerstown, MD 21740‐7829                                                                                                        First Class Mail
Chartered Organization         Stjoseph Parish R C Church                                    Golden Empire Council 047                  2040 Walnut Ave                                                 Redding, CA 96001‐2402                                                                                                           First Class Mail
Chartered Organization         Stjoseph R C Church                                           Daniel Webster Council, Bsa 330            777 W Hollis St                                                 Nashua, NH 03062‐3553                                                                                                            First Class Mail
Chartered Organization         Stkathryns R C Church                                         Daniel Webster Council, Bsa 330            4 Dracut Rd                                                     Hudson, NH 03051‐5006                                                                                                            First Class Mail
Chartered Organization         Stmark The Evangelist Catholic Church                         Daniel Webster Council, Bsa 330            1 South Rd                                                      Londonderry, NH 03053‐3814                                                                                                       First Class Mail
Chartered Organization         Stmartin R C Church                                           Daniel Webster Council, Bsa 330            120 Maple St                                                    Somersworth, NH 03878‐1926                                                                                                       First Class Mail
Chartered Organization         Stmatthew Parish                                              Daniel Webster Council, Bsa 330            46 Langdon St                                                   Plymouth, NH 03264‐1438                                                                                                          First Class Mail
Chartered Organization         Stmichael R C Church                                          Daniel Webster Council, Bsa 330            9 Lincoln St                                                    Exeter, NH 03833‐3212                                                                                                            First Class Mail
Chartered Organization         Stober Elementary Pta                                         Denver Area Council 061                    2300 Urban St                                                   Lakewood, CO 80215‐1127                                                                                                          First Class Mail
Firm                           Stobierski & Connor                                           John P. Connor                             337 Main Street                                                 Greenfield, MA 01301                                                       jconnor@stobierski.com                                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stockbridge Medical Services                                  Water and Woods Council 782                125 S Center St                                                 Stockbridge, MI 49285                                                                                                            First Class Mail
Chartered Organization         Stockbridge Presbyterian Church                               Flint River Council 095                    4740 N Henry Blvd                                               Stockbridge, GA 30281‐3525                                                                                                       First Class Mail
Chartered Organization         Stockdale Volunteer Fire Dept                                 Simon Kenton Council 441                   119 State Route 335                                             Beaver, OH 45613‐8801                                                                                                            First Class Mail
Chartered Organization         Stockton Lions Club                                           Greater Yosemite Council 059               P.O. Box 1865                                                   Stockton, CA 95201‐1865                                                                                                          First Class Mail
Chartered Organization         Stockton Lions Club                                           Blackhawk Area 660                         115 W Front Ave                                                 Stockton, IL 61085‐1317                                                                                                          First Class Mail
Chartered Organization         Stockton Police Youth Activities                              Greater Yosemite Council 059               22 E Market St                                                  Stockton, CA 95202‐2802                                                                                                          First Class Mail
Chartered Organization         Stockton Springs Ambulance Dept                               Katahdin Area Council 216                  11 Station St                                                   Stockton Springs, ME 04981                                                                                                       First Class Mail
Chartered Organization         Stockton Unified Police Dept                                  Greater Yosemite Council 059               640 N San Joaquin St                                            Stockton, CA 95202‐2030                                                                                                          First Class Mail
Chartered Organization         Stockton Utd Methodist Church                                 Ozark Trails Council 306                   708 W Hwy 32                                                    Stockton, MO 65785‐9819                                                                                                          First Class Mail
Voting Party                   Stockton: Wesley                                              Attn: Sheila Zink                          127 E Benton                                                    Stockton, IL 61085                                                         wesleyumc25@gmail.com                                 Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stockwell Place Elem School Pto                               Norwela Council 215                        5801 Shed Rd                                                    Bossier City, LA 71111‐5619                                                                                                      First Class Mail
Chartered Organization         Stokes County Sheriffs Dept                                   Old Hickory Council 427                    P.O. Box 118                                                    Danbury, NC 27016‐0118                                                                                                           First Class Mail
Chartered Organization         Stokesburg Methodist Church                                   Old Hickory Council 427                    P.O. Box 444                                                    Walnut Cove, NC 27052‐0444                                                                                                       First Class Mail
Chartered Organization         Stokesburg Methodist Mens Club                                Old Hickory Council 427                    1070 Wildwood Rd                                                Walnut Cove, NC 27052‐6933                                                                                                       First Class Mail
Voting Party                   Stokesburg Umc                                                Attn: Ward Triche (Cor)                    P.O. Box 521                                                    Walnut Cove, NC 27052                                                      wltriche@yahoo.com                                    Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stokesdale Christian Church                                   Old N State Council 070                    8607 Stokesdale St                                              Stokesdale, NC 27357‐9241                                                                                                        First Class Mail
Voting Party                   Stokesdale Umc                                                c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                                     Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stoller Middle School Parent Teacher Org                      Cascade Pacific Council 492                14141 NW Laidlaw Rd                                             Portland, OR 97229‐2350                                                                                                          First Class Mail
Chartered Organization         Stone Bridge Lions Club                                       Baden‐Powell Council 368                   P.O. Box 345                                                    Susquehanna, PA 18847‐0345                                                                                                       First Class Mail
Voting Party                   Stone Chapel Umc                                              Attn: Treasurer Stone Chapel Umc           1448 Stone Chapel Rd                                            New Windsor, MD 21776                                                                                                            First Class Mail
Chartered Organization         Stone Church Community Of Christ                              Heart of America Council 307               1012 W Lexington Ave                                            Independence, MO 64050‐3521                                                                                                      First Class Mail
Chartered Organization         Stone Church Of The Brethren                                  Juniata Valley Council 497                 1623 Moore St                                                   Huntingdon, PA 16652‐2045                                                                                                        First Class Mail
Chartered Organization         Stone Concerned Citizens                                      Water and Woods Council 782                1006 State St                                                   Saginaw, MI 48602‐5662                                                                                                           First Class Mail
Chartered Organization         Stone Gardens Apartments                                      Mississippi Valley Council 141 141         2312 Valley St                                                  Burlington, IA 52601‐1817                                                                                                        First Class Mail
Chartered Organization         Stone Memorial Christian Church                               Blue Ridge Mtns Council 599                3030 Virginia Ave                                               Collinsville, VA 24078‐2276                                                                                                      First Class Mail
Chartered Organization         Stone Oak Business Assoc                                      Alamo Area Council 583                     9801 Mccullough Ave                                             San Antonio, TX 78216‐4610                                                                                                       First Class Mail
Chartered Organization         Stone Ridge Church                                            Grand Canyon Council 010                   6300 E 24th St                                                  Yuma, AZ 85365‐1126                                                                                                              First Class Mail
Chartered Organization         Stone Ridge Construction                                      Grand Teton Council 107                    3367 Trail Canyon Rd                                            Soda Springs, ID 83276‐5225                                                                                                      First Class Mail
Chartered Organization         Stone Robinson Sch Parent                                     Teachers Org                               958 N Milton Rd                                                 Charlottesville, VA 22911‐3612                                                                                                   First Class Mail
Voting Party                   Stone United Methodist Church (89626)                         c/o Bentz Law Firm                         Attn: Leonard Spagnolo                                          680 Washington Rd, Ste 200              Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Stone, Kathy Sue                                              Address Redacted                                                                                                                                                                      Email Address Redacted                                Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Stonebridge United Methodist                                  Attn: Jana Morales                         1800 S Stonebridge Dr                                           Mckinney, TX 75072‐5616                                                    jana@mysumc.org                                       Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stonecreek Christian Church                                   Orange County Council 039                  30161 Avenida De Las Bandera, Ste B                             Rancho Santa Margarita, CA 92688‐2169                                                                                            First Class Mail
Chartered Organization         Stonegate Pta                                                 Orange County Council 039                  100 Honors                                                      Irvine, CA 92620‐2128                                                                                                            First Class Mail
Chartered Organization         Stoner Creek Elementary Pto                                   Middle Tennessee Council 560               1035 N Mt Juliet Rd                                             Mt Juliet, TN 37122‐3313                                                                                                         First Class Mail
Chartered Organization         Stoneville Rotary Club                                        Old N State Council 070                    P.O. Box 634                                                    Stoneville, NC 27048‐0634                                                                                                        First Class Mail
Chartered Organization         Stonewall Baptist Church Bossier                              Norwela Council 215                        807 Eatman St                                                   Bossier City, LA 71111‐3970                                                                                                      First Class Mail
Chartered Organization         Stoney Creek Elem School Pto                                  President Gerald R Ford 781                200 Lantern Dr Nw                                               Comstock Park, MI 49321‐9224                                                                                                     First Class Mail
Chartered Organization         Stoney Point Baptist Church                                   Occoneechee 421                            6554 Rockfish Rd                                                Fayetteville, NC 28306‐7278                                                                                                      First Class Mail
Chartered Organization         Stonington Community Center                                   Connecticut Rivers Council, Bsa 066        P.O. Box 236                                                    Stonington, CT 06378                                                                                                             First Class Mail
Voting Party                   Stonington United Methodist Church                            Attn: Susan M Davenport                    459 Newbury Neck Rd                                             Surry, ME 04684                                                            revsuedave@gmail.com                                  Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Stony Brook Community Church                                  c/o Stony Brook Community Church           Gerald Meyer ‐ Trustee                                          216 Christian Ave                       Stony Brook, NY 11790              stonybrookcommunitychurch@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stony Brook Fire Dept                                         Suffolk County Council Inc 404             147 Main St                                                     Stony Brook, NY 11790‐1911                                                                                                       First Class Mail
Chartered Organization         Stony Creek Elementary Pto                                    Denver Area Council 061                    7203 S Everett St                                               Littleton, CO 80128‐4157                                                                                                         First Class Mail
Chartered Organization         Stony Creek Elementary School Pto                             Crossroads of America 160                  1350 Greenfield Ave                                             Noblesville, IN 46060‐3845                                                                                                       First Class Mail
Chartered Organization         Stony Creek Volunteer Fire Co                                 Twin Rivers Council 364                    42 Harrisburg Rd                                                Stony Creek, NY 12878                                                                                                            First Class Mail
Voting Party                   Stony Hill                                                    c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                                     Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stony Point Christian Church                                  Heart of America Council 307               149 S 78th St                                                   Kansas City, KS 66111‐2909                                                                                                       First Class Mail
Chartered Organization         Stony Point Elementary School Pta                             Hudson Valley Council 374                  7 Gurnee Dr                                                     Stony Point, NY 10980‐1307                                                                                                       First Class Mail
Chartered Organization         Stony Point Ruritan                                           Stonewall Jackson Council 763              2835 Watts Psge                                                 Charlottesville, VA 22911‐5741                                                                                                   First Class Mail
Voting Party                   Stony Point Umc                                               c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                                     Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stonybrook Middle High School                                 Crossroads of America 160                  11300 Stony Brook Dr                                            Indianapolis, IN 46229‐1517                                                                                                      First Class Mail
Chartered Organization         Stonybrook Utd Methodist Church                               Simon Kenton Council 441                   485 Cherry Bottom Rd                                            Gahanna, OH 43230‐2164                                                                                                           First Class Mail
Chartered Organization         Stopher Elementary                                            Lincoln Heritage Council 205               14417 Aiken Rd                                                  Louisville, KY 40245‐4635                                                                                                        First Class Mail
Chartered Organization         Stopher Elementary Parent Teacher Assoc                       Lincoln Heritage Council 205               14417 Aiken Rd                                                  Louisville, KY 40245‐4635                                                                                                        First Class Mail
Chartered Organization         Storehouse Church                                             Cradle of Liberty Council 525              1090 Germantown Pike                                            Plymouth Meeting, PA 19462‐2448                                                                                                  First Class Mail
Chartered Organization         Storey County Volunteer Fire Dept                             Nevada Area Council 329                    P.O. Box 603                                                    Virginia City, NV 89440‐0603                                                                                                     First Class Mail
Chartered Organization         Storm King Engine Co                                          Hudson Valley Council 374                  Hudson St                                                       Cornwall On Hudson, NY 12520                                                                                                     First Class Mail
Chartered Organization         Sto‐Rox Elementary School                                     Laurel Highlands Council 527               300 Ewing Rd                                                    Mc Kees Rocks, PA 15136‐1886                                                                                                     First Class Mail
Chartered Organization         Story City Lds Church                                         Mid Iowa Council 177                       1026 Elm Ave                                                    Story City, IA 50248‐1314                                                                                                        First Class Mail
Chartered Organization         Story Elementary Neighborhood House Clc                       Three Harbors Council 636                  2819 W Richardson Pl                                            Milwaukee, WI 53208‐3547                                                                                                         First Class Mail
Voting Party                   Stoughton United Methodist Church                             Attn: Pastor                               525 Lincoln Ave                                                 Stoughton, WI 53589‐1225                                                   pastor@stoughtonumc10.org                             Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Stout Memorial Umc                                            Attn: Sam Wigal & Greg Bolton              3329 Broad St                                                   Parkersburg, WV 26104                                                      stoutmemorial@gmail.com                               Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stout Memorial United Methodist Church                        Buckskin 617                               3329 Broad St                                                   Parkersburg, WV 26104‐2642                                                                                                       First Class Mail
Chartered Organization         Stow United Methodist Church                                  Great Trail 433                            4880 Fishcreek Rd                                               Stow, OH 44224‐1930                                                                                                              First Class Mail
Chartered Organization         Stpatrick R C Church                                          Daniel Webster Council, Bsa 330            29 Spring St                                                    Nashua, NH 03060‐3453                                                                                                            First Class Mail
Chartered Organization         Stpatricks Church                                             Daniel Webster Council, Bsa 330            16 Amherst St                                                   Milford, NH 03055                                                                                                                First Class Mail
Chartered Organization         Stpauls Episcopal Church                                      Daniel Webster Council, Bsa 330            21 Centre St                                                    Concord, NH 03301‐6301                                                                                                           First Class Mail
Chartered Organization         Stpius X R C Church                                           Daniel Webster Council, Bsa 330            575 Candia Rd                                                   Manchester, NH 03109‐4735                                                                                                        First Class Mail
Chartered Organization         Strafford Elementary                                          Ozark Trails Council 306                   310 W Mccabe St                                                 Strafford, MO 65757‐8206                                                                                                         First Class Mail
Chartered Organization         Stranahan School Pta                                          Erie Shores Council 460                    3840 N Holland Sylvania Rd                                      Toledo, OH 43615‐1008                                                                                                            First Class Mail
Chartered Organization         Strasburg Christian Church                                    Shenandoah Area Council 598                165 High St                                                     Strasburg, VA 22657‐2228                                                                                                         First Class Mail
Chartered Organization         Strasburg Lions                                               Greater St Louis Area Council 312          Po 212                                                          Strasburg, IL 62465                                                                                                              First Class Mail
Chartered Organization         Strasburg Rotary Club                                         Shenandoah Area Council 598                P.O. Box 266                                                    Strasburg, VA 22657‐0266                                                                                                         First Class Mail
Voting Party                   Strasburg Umc                                                 c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                                     Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Strasburg Utd Methodist Church Men                            Shenandoah Area Council 598                361 S Massanutten St                                            Strasburg, VA 22657‐2411                                                                                                         First Class Mail
Voting Party                   Strategic Orient Sourcing                                     Concordia Plaza No 1, Rm 910               Science Museum Rd, Tsim Sha Tsui E                              Kowloon                                 Hong Kong                  China                                                         First Class Mail
Chartered Organization         Strategic Properties                                          Atlanta Area Council 092                   445 Cleveland Ave Se                                            Atlanta, GA 30354‐2200                                                                                                           First Class Mail
Chartered Organization         Stratford Athletic Org                                        Garden State Council 690                   P.O. Box 75                                                     Stratford, NJ 08084‐0075                                                                                                         First Class Mail
Chartered Organization         Stratford Ems                                                 Connecticut Yankee Council Bsa 072         2712 Main St                                                    Stratford, CT 06615‐5816                                                                                                         First Class Mail
Chartered Organization         Stratford Lions Club                                          Samoset Council, Bsa 627                   M646 Staadt Ave                                                 Stratford, WI 54484                                                                                                              First Class Mail
Chartered Organization         Stratford Middle School Pta                                   Three Fires Council 127                    251 Butterfield Dr                                              Bloomingdale, IL 60108‐2397                                                                                                      First Class Mail
Chartered Organization         Stratford Richardson Ymca                                     Mecklenburg County Council 415             1946 West Blvd                                                  Charlotte, NC 28208‐6904                                                                                                         First Class Mail
Chartered Organization         Stratford School Of Morgan Hill                               Silicon Valley Monterey Bay 055            410 Llagas Rd                                                   Morgan Hill, CA 95037‐3028                                                                                                       First Class Mail
Voting Party                   Stratford Umc                                                 c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                                     Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Stratford Umc ‐ Stratford                                     c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                                     Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stratford Utd Methodist Church                                Connecticut Yankee Council Bsa 072         2600 Main St                                                    Stratford, CT 06615‐5852                                                                                                         First Class Mail
Chartered Organization         Stratford Utd Methodist Church                                Garden State Council 690                   122 Union Ave                                                   Stratford, NJ 08084‐1310                                                                                                         First Class Mail
Chartered Organization         Stratham Volunteer Fire Dept                                  Daniel Webster Council, Bsa 330            4 Winnicutt Rd                                                  Stratham, NH 03885                                                                                                               First Class Mail
Chartered Organization         Stratham Volunteer Fire Dept                                  Daniel Webster Council, Bsa 330            4 Winnicutt Rd                                                  Stratham, NH 03885                                                                                                               First Class Mail
Chartered Organization         Strathmoor Presbyterian Church                                Lincoln Heritage Council 205               2201 Hawthorne Ave                                              Louisville, KY 40205‐2618                                                                                                        First Class Mail
Chartered Organization         Strathmore‐Bel Pre Civic Assoc                                National Capital Area Council 082          2701 Bellmawr Ct                                                Silver Spring, MD 20906‐3102                                                                                                     First Class Mail
Chartered Organization         Strathmore‐Bel Pre Civic Assoc                                National Capital Area Council 082          2604 Bainbridge Ln                                              Silver Spring, MD 20906‐5377                                                                                                     First Class Mail
Voting Party                   Stratmoor Hills United Methodist Church                       1705 Cheyenne Meadows Rd                   Colorado Springs, CO 80906                                                                                                                 alane.sheaves@gmail.com                               Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stratton Elementary Pta                                       Pikes Peak Council 060                     2460 Paseo Rd                                                   Colorado Springs, CO 80907‐6552                                                                                                  First Class Mail
Voting Party                   Stratus Midco, Inc                                            210 N Tucker Blvd 6th Fl                   St Louis, MO 63101‐1941                                                                                                                                                                          First Class Mail
Chartered Organization         Strauss Productions LLC                                       Utah National Parks 591                    458 N 1210 E                                                    Spanish Fork, UT 84660‐8435                                                                                                      First Class Mail
Chartered Organization         Strausstown Lions Club                                        Hawk Mountain Council 528                  10 Wilson Ave 6                                                 Bernville, PA 19506‐1100                                                                                                         First Class Mail
Chartered Organization         Strawberry Crest Hs Ajrotc                                    Greater Tampa Bay Area 089                 4691 Gallagher Rd                                               Dover, FL 33527‐4137                                                                                                             First Class Mail
Voting Party                   Strawbridge United Methodist Church                           Attn: Sr Pastor Todd Jordan                5629 Kingwood Dr                                                Kingwood, TX 77345                                                         todd.jordan@strawbridge‐umc.org                       Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Streamwood Fire Dept                                          Three Fires Council 127                    1095 E Schaumburg Rd                                            Streamwood, IL 60107‐1860                                                                                                        First Class Mail
Chartered Organization         Streets To Success                                            Central Georgia Council 096                4002 Vineville Ave                                              Macon, GA 31210                                                                                                                  First Class Mail
Voting Party                   Stringer United Methodist Church                              Attn: Tommy Or Becky Grant                 96 County Rd 17                                                 Stringer, MS 39481                                                                                                               First Class Mail
Voting Party                   Striplin Terrace United Methodist Church                      Attn: Rick Jones                           4170 Striplin Terrace Dr                                        Columbus, GA 31909                                                         rjones1838@aol.com                                    Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stripling Warriors                                            Pacific Harbors Council, Bsa 612           2024 Arena Ct Se                                                Tumwater, WA 98501‐6854                                                                                                          First Class Mail
Chartered Organization         Strode Station Elementary Pto                                 Blue Grass Council 204                     1750 Martin Luther King Jr Dr                                   Winchester, KY 40391‐2813                                                                                                        First Class Mail
Chartered Organization         Stromsburg Lions Club                                         Cornhusker Council 324                     221 Main St                                                     Stromsburg, NE 68666‐3112                                                                                                        First Class Mail
Chartered Organization         Strong And Couragous Youth                                    Great SW Council 412                       8148 Ventana Azul Ave Nw                                        Albuquerque, NM 87114‐5991                                                                                                       First Class Mail
Chartered Organization         Strong Tower Christian Fellowship                             Central Florida Council 083                94 S Ridgewood Ave                                              Ormond Beach, FL 32174‐6353                                                                                                      First Class Mail
Chartered Organization         Strong Tower Church Lafayette Campus                          Middle Tennessee Council 560               402 Tn‐52 Bypass                                                Lafayette, TN 37083                                                                                                              First Class Mail
Voting Party                   Strong United Methodist Church                                Attn: Trustees                             P.O. Box 33                                                     8 Church Hill Rd                        Strong, ME 04983                   aikensl622@gmail.com                                  Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Stronghold Christian Church                                   Atlanta Area Council 092                   724 Rock Chapel Rd                                              Lithonia, GA 30058‐5823                                                                                                          First Class Mail
Voting Party                   Strongsville Historical Society                               Attn: Ruth Brickley                        13305 Pearl Rd                                                  Strongsville, OH 44136                                                     rrbrick@aol.com                                       Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Strongsville Rotary Foundation/ Rotary Club Of Strongsville   Attn: Dan Sage                             7379 Pearl Rd                                                   Middleburg Heights, OH 44130                                               dsage@machor.com                                      Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Strongville United Methodist Church                           Attn: Dave Scavuzzo                        13500 Royalton Rd                                               Strongville, OH 44136‐4646                                                 daves@strongsvilleumc.org; office@strongsvilleumc.org Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Stroud First United Methodist Church                          Attn: Arthur Thompson, Treasurer           324 N 2nd Ave                                                   Stroud, OK 74079                                                           stroudumc@gmail.com                                   Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Stroudsburg Umc                                               c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                                     Email
                                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Stroudsburg Umc                                               547 Main St                                Stroudsburg, PA 18360                                                                                                                                                                            First Class Mail
Voting Party                   Stroudsburg Umc 547 Main St, Stroudsburg Pa                   c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200                Tampa, FL 33602                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 388 of 442
                                                                                Case 20-10343-LSS                                           Doc 8171                                       Filed 01/06/22                                                     Page 404 of 457
                                                                                                                                                                              Exhibit B
                                                                                                                                                                               Service List
                                                                                                                                                                        Served as set forth below

        Description                                                      Name                                                                                               Address                                                                                                                           Email                   Method of Service
Voting Party                   Stroudsburg Umc 547 Main St, Stroudsburg Pa                    547 Main St                             Stroudsburg, PA 18360                                                                                                                                                                First Class Mail
Chartered Organization         Stroudsburg United Methodist Church                            Minsi Trails Council 502                547 Main St                                                 Stroudsburg, PA 18360‐2003                                                                                               First Class Mail
Voting Party                   Stroudsburg: Faith                                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                               erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Stroudsburg: Faith                                             1160 Clause Dr                          Stroudsburg, PA 18360                                                                                                                                                                First Class Mail
Chartered Organization         Structural Products & Ind Supplies                             Greater Los Angeles Area 033            6266 Peachtree St                                           Commerce, CA 90040‐4015                                                                                                  First Class Mail
Chartered Organization         Structuretone, Inc                                             Greater New York Councils, Bsa 640      330 W 34th St Fl 12                                         New York, NY 10001‐2406                                                                                                  First Class Mail
Chartered Organization         Struthers Presbyterian Church                                  Great Trail 433                         110 Poland Ave                                              Struthers, OH 44471‐1724                                                                                                 First Class Mail
Chartered Organization         Strykersville Volunteer Fire Co, Inc                           Iroquois Trail Council 376              594 Minkel Rd                                               Strykersville, NY 14145‐9504                                                                                             First Class Mail
Chartered Organization         Sts Anne & Joachim Catholic Church                             Northern Lights Council 429             5202 25th St S                                              Fargo, ND 58104‐7119                                                                                                     First Class Mail
Chartered Organization         Sts Constantine/Helen Greek Orthodix Ch                        San Diego Imperial Council 049          3459 Manchester Ave                                         Cardiff By the Sea, CA 92007‐1500                                                                                        First Class Mail
Chartered Organization         Sts Constantine/Helen Greek Orthodix Ch                        San Diego Imperial Council 049          3459 Manchester Ave                                         Cardiff By the Sea, CA 92007‐1500                                                                                        First Class Mail
Chartered Organization         Sts Francis & Anne Catholic Church                             Louisiana Purchase Council 213          143 Booner Miller Rd                                        Deville, LA 71328‐9445                                                                                                   First Class Mail
Chartered Organization         Sts Joachim & Ann Catholic Church                              Greater St Louis Area Council 312       4112 Mcclay Rd                                              St Charles, MO 63304‐7918                                                                                                First Class Mail
Chartered Organization         Sts Joachim And Anne Catholic Parish                           Northern Star Council 250               2700 17th Ave E                                             Shakopee, MN 55379‐4443                                                                                                  First Class Mail
Chartered Organization         Sts John & Paul R C Church                                     Narragansett 546                        341 S Main St                                               Coventry, RI 02816‐5911                                                                                                  First Class Mail
Chartered Organization         Sts John And James R C Church                                  Narragansett 546                        20 Washington St                                            West Warwick, RI 02893‐4919                                                                                              First Class Mail
Chartered Organization         Sts Martha And Mary Church                                     Narragansett 546                        354 Bedford St                                              Lakeville, MA 02347‐2107                                                                                                 First Class Mail
Voting Party                   Sts Matthew And Mark Episcopal Church (Barrington)             c/o The Tamposi Law Group, PC           Attn: Peter N Tamposi                                       159 Main St                         Nashua, NH 03060                              peter@thetamposilawgroup.com           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sts Peter & Paul Catholic Church                               Blackhawk Area 660                      410 1st St                                                  Cary, IL 60013‐2757                                                                                                      First Class Mail
Chartered Organization         Sts Peter & Paul Catholic Church                               Buffalo Trace 156                       203 N Vine St                                               Haubstadt, IN 47639                                                                                                      First Class Mail
Chartered Organization         Sts Peter & Paul Catholic Church                               Buffalo Trace 156                       211 N Vine St                                               Haubstadt, IN 47639‐8123                                                                                                 First Class Mail
Chartered Organization         Sts Peter & Paul Catholic Church                               Cimarron Council 474                    P.O. Box 179                                                Kingfisher, OK 73750‐0179                                                                                                First Class Mail
Chartered Organization         Sts Peter And Paul Catholic Church                             Stonewall Jackson Council 763           4309 Thomas Jefferson Pkwy                                  Palmyra, VA 22963‐4150                                                                                                   First Class Mail
Chartered Organization         Sts Peter And Paul R C Church                                  Connecticut Rivers Council, Bsa 066     181 Elizabeth St                                            Norwich, CT 06360‐6137                                                                                                   First Class Mail
Chartered Organization         Sts Philip & James RC Church                                   Chester County Council 539              107 N Ship Rd                                               Exton, PA 19341‐2839                                                                                                     First Class Mail
Chartered Organization         Sts Philip And James RC Church                                 Greater New York Councils, Bsa 640      1160 E 213th St                                             Bronx, NY 10469‐2437                                                                                                     First Class Mail
Voting Party                   Sts Philip And James RC Church                                 c/o Cullen and Dykman LLP               Attn: Matthew G Roseman                                     100 Quentin Roosevelt Blvd          Garden City, NY 11530                         mroseman@cullenllp.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sts Philip And James School                                    Attn: Andre L Kydala                    54 Old Hwy 22                                               Clinton, NJ 08809                                                                                                        First Class Mail
Chartered Organization         Sts Rose And Clement Parish                                    Narragansett 546                        111 Long St                                                 Warwick, RI 02886‐7725                                                                                                   First Class Mail
Chartered Organization         Sts Simon & Jude Parish Council                                Grand Canyon Council 010                6351 N 27th Ave                                             Phoenix, AZ 85017‐1804                                                                                                   First Class Mail
Chartered Organization         Sts Simon & Jude RC Church                                     Chester County Council 539              8 Cavanaugh Ct                                              West Chester, PA 19382‐7905                                                                                              First Class Mail
Voting Party                   Sts. Peter And John Episcopal Church, Auburn                   Attn: Martha L Berry                    P.O. Box 3520                                               Syracuse, NY 13220‐3520                                                           secretary@sspeterandjohn.org           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sts. Peter And Paul R.C. Church                                c/o Moritt Hock & Hamroff LLP           Attn: Theresa A. Driscoll                                   400 Garden City Plz                 Garden City, NY 11530                         tdriscoll@moritthock.com               Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sts. Peter And Paul R.C. Church                                781 Wading River Rd                     Manorville, NY 11949                                                                                                                                                                 First Class Mail
Chartered Organization         Stthomas Aquinas Church                                        Daniel Webster Council, Bsa 330         28 Crystal Ave                                              Derry, NH 03038‐1705                                                                                                     First Class Mail
Chartered Organization         Stthomas Aquinas Church                                        Daniel Webster Council, Bsa 330         26 Crystal Ave                                              Derry, NH 03038‐1706                                                                                                     First Class Mail
Chartered Organization         Stuart Hall School For Boys                                    Southeast Louisiana Council 214         2032 S Carrollton Ave                                       New Orleans, LA 70118‐2969                                                                                               First Class Mail
Chartered Organization         Stuart Middle School                                           Lincoln Heritage Council 205            4601 Valley Station Rd                                      Louisville, KY 40272‐3140                                                                                                First Class Mail
Chartered Organization         Stuart Middle School Builders Club                             Gulf Stream Council 085                 575 SE Georgia Ave                                          Stuart, FL 34994‐2587                                                                                                    First Class Mail
Voting Party                   Stuart Mt Vernon United Methodist Church                       c/o Varley Law Office Plc               Attn: Karen K Varley                                        201 NE 2nd St                       P.O. Box 235               Stuart, IA 50250   varleylaw@iabar.org                    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Stuart Mt Vernon United Methodist Church                       Attn: Bruce Miller                      219 NW 2nd St                                               P.O. Box 127                        Stuart, IA 50250                              stuart‐mountvernon‐umc@iaumc.net       Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Stuart Place Elementary Pta                                    Rio Grande Council 775                  6701 W Business 83                                          Harlingen, TX 78552‐3618                                                                                                 First Class Mail
Chartered Organization         Stuart Police Dept                                             Gulf Stream Council 085                 830 SE Mlk Jr Blvd                                          Stuart, FL 34994‐2408                                                                                                    First Class Mail
Chartered Organization         Stuart Rotary Club                                             Blue Ridge Mtns Council 599             P.O. Box 562                                                Stuart, VA 24171‐0562                                                                                                    First Class Mail
Voting Party                   Stuart Umc                                                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                               erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Stuart/Mt Vernon Methodist Church                              Mid Iowa Council 177                    221 N Harrison St                                           Stuart, IA 50250‐3007                                                                                                    First Class Mail
Chartered Organization         Student Solutions                                              Greater Tampa Bay Area 089              950 Pinewood Ave                                            Lakeland, FL 33815‐4284                                                                                                  First Class Mail
Chartered Organization         Students Of Bruce Elementary                                   Central Georgia Council 096             3660 Houston Ave                                            Macon, GA 31206‐2414                                                                                                     First Class Mail
Chartered Organization         Sturbridge                                                     St Annes and St Patricks Parish         16 Church St                                                Fiskdale, MA 01518‐1111                                                                                                  First Class Mail
Chartered Organization         Sturbridge Champeau                                            Vilandre American Legion Post 109       P.O. Box 83                                                 Fiskdale, MA 01518‐0083                                                                                                  First Class Mail
Chartered Organization         Sturgeon Bay Police Dept                                       Bay‐Lakes Council 635                   421 Michigan St                                             Sturgeon Bay, WI 54235‐2217                                                                                              First Class Mail
Voting Party                   Sturgis First Umc                                              Attn: John Blanchard                    200 Pleasant St                                             Sturgis, MI 49091                                                                                                        First Class Mail
Chartered Organization         Sturgis Police Reserve Assoc                                   Black Hills Area Council 695 695        1400 Main St                                                Sturgis, SD 57785‐1444                                                                                                   First Class Mail
Voting Party                   Stuttgart First United Methodist Church                        Attn: Lee Bradley                       307 E 4th St                                                Stuttgart, AR 72160                                                               secretary@stuttgartfumc.org            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Stv, Inc                                                       Greater New York Councils, Bsa 640      225 Park Ave S                                              New York, NY 10003‐1604                                                                                                  First Class Mail
Chartered Organization         Sublette Rotary Club                                           Santa Fe Trail Council 194              P.O. Box 183                                                Sublette, KS 67877‐0183                                                                                                  First Class Mail
Chartered Organization         Suburban Hospital                                              National Capital Area Council 082       8600 Old Georgetown Rd                                      Bethesda, MD 20814‐1422                                                                                                  First Class Mail
Voting Party                   Suburban Propane                                               P O Box 260                             Whippany, NJ 07981‐0260                                                                                                                       ptango@suburbanpropane.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Succasunna United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                               erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Success Academy                                                Southwest Florida Council 088           3650 Michigan Ave                                           Fort Myers, FL 33916‐2240                                                                                                First Class Mail
Chartered Organization         Success Foundation                                             Chief Seattle Council 609               14220 Interurban Ave S, Ste 134                             Tukwila, WA 98168‐4662                                                                                                   First Class Mail
Voting Party                   Sudbury United Methodist Church                                Attn: Finance Committee Chairperson     251 Old Sudbury Rd                                          Sudbury, MA 01776‐1842                                                            richardjmorris@comcast.net             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sudley Elementary School Pto                                   National Capital Area Council 082       9744 Copeland Dr                                            Manassas, VA 20109‐3074                                                                                                  First Class Mail
Chartered Organization         Sudley Utd Methodist Men                                       National Capital Area Council 082       5308 Sudley Rd                                              Catharpin, VA 20143                                                                                                      First Class Mail
Chartered Organization         Sudlow Intermediate Pta                                        Illowa Council 133                      1414 E Locust St                                            Davenport, IA 52803‐3242                                                                                                 First Class Mail
Voting Party                   Suffern Umc                                                    Address Redacted                                                                                                                                                                      Email Address Redacted                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Suffield Township Fire Dept                                    Great Trail 433                         1256 Waterloo Rd                                            Mogadore, OH 44260‐9579                                                                                                  First Class Mail
Voting Party                   Suffield Ucc                                                   Attn: Karin Wright                      1115 State Rte 43                                           Suffield, OH 44260                                                                suffielduccoffice@gmail.com            Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Suffield Utd Church Of Christ                                  Great Trail 433                         1115 State Route 43                                         Mogadore, OH 44260‐9678                                                                                                  First Class Mail
Chartered Organization         Suffolk County Police Dept 1St Precinct                        Suffolk County Council Inc 404          555 Route 109                                               West Babylon, NY 11704‐5108                                                                                              First Class Mail
Chartered Organization         Suffolk County Police Dept 2Nd Precinct                        Suffolk County Council Inc 404          1071 Park Ave                                               Huntington, NY 11743‐5429                                                                                                First Class Mail
Chartered Organization         Suffolk County Police Dept 3Rd Precinct                        Suffolk County Council Inc 404          1630 5th Ave                                                Bay Shore, NY 11706‐3426                                                                                                 First Class Mail
Chartered Organization         Suffolk County Police Dept 4Th Precinct                        Suffolk County Council Inc 404          Old Willets Path                                            Hauppauge, NY 11788                                                                                                      First Class Mail
Chartered Organization         Suffolk County Police Dept 5Th Precinct                        Suffolk County Council Inc 404          125 Waverly Ave                                             Patchogue, NY 11772‐2148                                                                                                 First Class Mail
Chartered Organization         Suffolk County Police Dept 6Th Precinct                        Suffolk County Council Inc 404          400 Middle Country Rd                                       Selden, NY 11784‐2501                                                                                                    First Class Mail
Chartered Organization         Suffolk County Police Dept 7Th Precinct                        Suffolk County Council Inc 404          1491 William Floyd Pkwy                                     Shirley, NY 11967‐1824                                                                                                   First Class Mail
Chartered Organization         Suffolk County Sheriffs Office                                 Suffolk County Council Inc 404          100 Center Dr                                               Riverhead, NY 11901‐3307                                                                                                 First Class Mail
Chartered Organization         Suffolk Professional Fire & Rescue, Inc                        Colonial Virginia Council 595           P.O. Box 3279                                               Suffolk, VA 23439‐3279                                                                                                   First Class Mail
Chartered Organization         Sugar Creek Baptist Church                                     Sam Houston Area Council 576            13333 Southwest Fwy                                         Sugar Land, TX 77478‐3581                                                                                                First Class Mail
Chartered Organization         Sugar Creek Baptist Church                                     Sam Houston Area Council 576            13333 Southwest Fwy                                         Sugar Land, TX 77478‐3581                                                                                                First Class Mail
Chartered Organization         Sugar Creek Elementary 21St Century                            Greater Alabama Council 001             26595 Salem Minor Hill Rd                                   Lester, AL 35647‐3569                                                                                                    First Class Mail
Voting Party                   Sugar Creek Umc Trustee Chair                                  Attn: Kevin Richard Jones               11712 Catholic Cemetery Rd                                  Glenarm, IL 62536                                                                 kevinjones1911@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sugar Creek United Methodist Church                            Attn: Kevin R Jones                     1022 New City Rd                                            Chatham, IL 62629                                                                 pdinges@sugarcreek.org                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sugar Grove American Legion Post No 758                        Chief Cornplanter Council, Bsa 538      P.O. Box 386                                                Sugar Grove, PA 16350‐0386                                                                                               First Class Mail
Chartered Organization         Sugar Grove Church Of Christ                                   Sam Houston Area Council 576            11600 W Airport Blvd                                        Meadows Pl, TX 77477‐3095                                                                                                First Class Mail
Chartered Organization         Sugar Grove Free Methodist Church                              Chief Cornplanter Council, Bsa 538      210 Jamestown St                                            Sugar Grove, PA 16350                                                                                                    First Class Mail
Voting Party                   Sugar Grove Umc                                                176 Main St                             Sugar Grove, IL 60554                                                                                                                         revtammyscott@gmail.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sugar Grove United Methodist Church (88688)                    c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200          Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sugar Grove Utd Methodist Church                               Three Fires Council 127                 178 Main St                                                 Sugar Grove, IL 60554‐5440                                                                                               First Class Mail
Chartered Organization         Sugar Hill Animal Hospital                                     Northeast Georgia Council 101           5305 Nelson Brogdon Blvd                                    Sugar Hill, GA 30518‐6905                                                                                                First Class Mail
Voting Party                   Sugar Hill United Methodist Church                             Attn: Virginia Kesterson                1621 Sugar Hill Rd                                          Texarkana, AR 71854                                                               sugarhillumc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sugar Hill United Methodist Church                             c/o Friday, Eldredge & Clark LLP        Attn: Lindsey Emerson Raines                                400 W Capitol Ave, Ste 2000         Little Rock, AR 72201                         lraines@fridayfirm.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sugar Hill United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                               erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sugar Hill Utd Methodist Church                                Northeast Georgia Council 101           4600 Nelson Brogdon Blvd                                    Sugar Hill, GA 30518‐3479                                                                                                First Class Mail
Chartered Organization         Sugar Land Baptist Church                                      Sam Houston Area Council 576            16755 Southwest Fwy                                         Sugar Land, TX 77479‐2312                                                                                                First Class Mail
Chartered Organization         Sugar Land Dive Center                                         Sam Houston Area Council 576            3362 Hwy 6                                                  Sugar Land, TX 77478‐4409                                                                                                First Class Mail
Voting Party                   Sugar Land First United Methodist Church                       Attn: Executive Dir, Linda Haskew       431 Eldridge Rd                                             Sugar Land, TX 77478                                                              linda.haskew@sugarlandmethodist.org    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sugar Land Lions Club                                          Sam Houston Area Council 576            P.O. Box 51                                                 Sugar Land, TX 77487‐0051                                                                                                First Class Mail
Voting Party                   Sugar Loaf United Methodist Church                             Attn: Rev Michael H Barry, Jr           1387 Kings Hwy                                              Sugar Loaf, NY 10981                                                              michael.barry@nyac‐umc.com             Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sugar Plain Friends Church                                     Crossroads of America 160               8980 W State Rd 47                                          Thorntown, IN 46071‐9472                                                                                                 First Class Mail
Chartered Organization         Sugar River Utd Methodist Church                               Glaciers Edge Council 620               415 W Verona Ave                                            Verona, WI 53593‐1318                                                                                                    First Class Mail
Chartered Organization         Sugarloaf United Methodist Church                              Atlanta Area Council 092                1795 Old Peachtree Rd                                       Duluth, GA 30097‐3417                                                                                                    First Class Mail
Voting Party                   Sugarloaf United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                               erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sugarloaf United Methodist Church                              1795 Old Peachtree Rd                   Duluth, GA 30097‐3417                                                                                                                                                                First Class Mail
Chartered Organization         Sugaw Creek Recreation Center                                  Mecklenburg County Council 415          943 W Sugar Creek Rd                                        Charlotte, NC 28213‐5872                                                                                                 First Class Mail
Chartered Organization         Suisun Fire Protection District                                Mt Diablo‐Silverado Council 023         445 Jackson St                                              Fairfield, CA 94533‐6129                                                                                                 First Class Mail
Chartered Organization         Suitland Elementary School                                     National Capital Area Council 082       4650 Towne Park Rd                                          Suitland, MD 20746‐1609                                                                                                  First Class Mail
Chartered Organization         Sul Ross Pto                                                   Sam Houston Area Council 576            3300 Pkwy Ter                                               Bryan, TX 77802‐3760                                                                                                     First Class Mail
Chartered Organization         Sulligent Masonic Lodge 532                                    Black Warrior Council 006               P.O. Box 144                                                Sulligent, AL 35586‐0144                                                                                                 First Class Mail
Chartered Organization         Sullivan Ambucs                                                Greater St Louis Area Council 312       P.O. Box 83                                                 Sullivan, IL 61951‐0083                                                                                                  First Class Mail
Chartered Organization         Sullivan County Sheriffs Office                                Sequoyah Council 713                    P.O. Box 589                                                Blountville, TN 37617‐0589                                                                                               First Class Mail
Chartered Organization         Sullivan First Utd Methodist Church                            Crossroads of America 160               107 N Court St                                              Sullivan, IN 47882‐1214                                                                                                  First Class Mail
Chartered Organization         Sullivan Jones VFW Post 7466                                   Twin Rivers Council 364                 25 Veterans St                                              Poestenkill, NY 12140                                                                                                    First Class Mail
Firm                           Sullivan Papam Black McGruth & Collins PC                      Frank Floriani, Esq,                    120 Broadway                                                New York, NY 10279                                                                ffloriani@triallaw1.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sullivan VFW Post 398                                          Greater St Louis Area Council 312       378 S 185                                                   Sullivan, MO 63080                                                                                                       First Class Mail
Voting Party                   Sulphur Bluff United Methodist Church                          Attn: Treasurer                         P.O. Box 33                                                 Sulphur Bluff, TX 75481                                                           aldomoltenitruckinginc@gmaill.com      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sulphur Grove United Methodist                                 Miami Valley Council, Bsa 444           7505 Taylorsville Rd                                        Huber Heights, OH 45424‐6313                                                                                             First Class Mail
Chartered Organization         Sulphur Grove United Methodist Church                          Miami Valley Council, Bsa 444           7505 Taylorsville Rd                                        Huber Heights, OH 45424‐6313                                                                                             First Class Mail
Voting Party                   Sulphur Springs Umc                                            Attn: David Mongold                     1432 Gray‐Sulphur Springs Rd                                Jonesborough, TN 37659                                                            debbie@sulphurspringsumc.com           Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sulphur Springs United Methodist Church                        Attn: Marianne Malatino                 16072 Cr 62                                                 Watertown, NY 13605                                                               malatino16072@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Sulphur Springs United Methodist Church                        Attn: Treasurer                         17151 Cr 62                                                 Watertown, NY 13605                                                               adamsunitedmethodistchurch@gmail.com   Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Sulphur Utd Methodist Church                                   Arbuckle Area Council 468               P.O. Box 657                                                Sulphur, OK 73086‐0657                                                                                                   First Class Mail
Chartered Organization         Sumach Cumberland Presbyterian Church                          Northwest Georgia Council 100           P.O. Box 804                                                Chatsworth, GA 30705‐0804                                                                                                First Class Mail
Chartered Organization         Summer Camp Floodwood Scout Reservation                        Northern New Jersey Council, Bsa 333    25 Ramapo Valley Rd                                         Oakland, NJ 07436‐1709                                                                                                   First Class Mail
Chartered Organization         Summer Camp Lewis                                              Northern New Jersey Council, Bsa 333    25 Ramapo Valley Rd                                         Oakland, NJ 07436‐1709                                                                                                   First Class Mail
Chartered Organization         Summer Camp Staff No‐Be‐Bo‐Sco                                 Northern New Jersey Council, Bsa 333    25 Ramapo Valley Rd                                         Oakland, NJ 07436‐1709                                                                                                   First Class Mail
Chartered Organization         Summer Camp Staff Turrell                                      Northern New Jersey Council, Bsa 333    25 Ramapo Valley Rd                                         Oakland, NJ 07436‐1709                                                                                                   First Class Mail
Chartered Organization         Summer Camp Staff Yaw Paw                                      Northern New Jersey Council, Bsa 333    25 Ramapo Valley Rd                                         Oakland, NJ 07436‐1709                                                                                                   First Class Mail
Chartered Organization         Summer Creek Baptist Church                                    Sam Houston Area Council 576            12159 W Lake Houston Pkwy                                   Houston, TX 77044‐6090                                                                                                   First Class Mail
Voting Party                   Summer Grove United Methodist Church                           Attn: Jerry Waters                      9119 Dean Rd                                                Shreveport, LA 71118‐2859                                                         sgumcoffice@bellsouth.net              Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Summer United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                               erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Summerdale United Methodist Church (178847)                    c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200          Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Summerfield First Baptist Church                               Old N State Council 070                 2300 Scalesville Rd                                         Summerfield, NC 27358‐9702                                                                                               First Class Mail
Voting Party                   Summerfield United Methodist Church                            Attn: Barbara Harris                    110 Clermont Ave                                            Bridgeport, CT 06610                                                              sumc110@outlook.com                    Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Summerhill Eumc (183035)                                       c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200          Pittsburgh, PA 15228                          lspagnolo@bentzlaw.com                 Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Summerside Umc                                                 Dan Beard Council, Bsa 438              638 Old State Route 74                                      Cincinnati, OH 45244‐1420                                                                                                First Class Mail
Chartered Organization         Summersville Baptist Church                                    Buckskin 617                            422 Spruce & Main St                                        Summersville, WV 26651                                                                                                   First Class Mail
Chartered Organization         Summersville Veterans Of Foriegn Wars                          Ozark Trails Council 306                6022 Hwy Kk                                                 Summersville, MO 65571‐6715                                                                                              First Class Mail
Chartered Organization         Summersville VFW Post 7222                                     Ozark Trails Council 306                P.O. Box 131                                                Summersville, MO 65571‐0131                                                                                              First Class Mail
Chartered Organization         Summerville Baptist Church                                     Chattahoochee Council 091               3500 Summerville Rd                                         Phenix City, AL 36867‐2629                                                                                               First Class Mail
Chartered Organization         Summerville Fire Rescue                                        Coastal Carolina Council 550            300 W 2nd North St                                          Summerville, SC 29483‐6538                                                                                               First Class Mail
Voting Party                   Summerville First Umc                                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                               erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   Summerville First United Methodist Church 220 W Washington S   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                               erice@bradley.com                      Email
                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Summerville First United Metodist Church                       Northwest Georgia Council 100           P.O. Box 187                                                Summerville, GA 30747‐0187                                                                                               First Class Mail
Chartered Organization         Summerville Police Dept                                        Coastal Carolina Council 550            300 W 2nd North St                                          Summerville, SC 29483‐6538                                                                                               First Class Mail
Chartered Organization         Summerville Presbyterian Church                                Seneca Waterways 397                    4845 St Paul Blvd                                           Rochester, NY 14617‐1747                                                                                                 First Class Mail
Chartered Organization         Summerville United Methodist Church                            Northwest Georgia Council 100           Summerville, GA 30747                                                                                                                                                                First Class Mail
Chartered Organization         Summit Academy Ptst                                            Dan Beard Council, Bsa 438              1660 Sternblock Ln                                          Cincinnati, OH 45237‐3805                                                                                                First Class Mail
Chartered Organization         Summit Baptist Church                                          Narragansett 546                        1176 Victory Hwy                                            Greene, RI 02827‐1724                                                                                                    First Class Mail
Voting Party                   Summit Chapel United Methodist Church (97502)                  c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200          Pittsburgh, PA 15228                                                                 First Class Mail
Chartered Organization         Summit Christian Center                                        Pacific Harbors Council, Bsa 612        2824 112th St E                                             Tacoma, WA 98445‐5117                                                                                                    First Class Mail
Chartered Organization         Summit Club Of Flower Mound                                    Longhorn Council 662                    709 Crestbrook Dr                                           Flower Mound, TX 75028‐5129                                                                                              First Class Mail
Chartered Organization         Summit County Rotary Club                                      Denver Area Council 061                 P.O. Box 8827                                               Breckenridge, CO 80424‐9002                                                                                              First Class Mail
Chartered Organization         Summit County Sheriffs Office                                  Denver Area Council 061                 P.O. Box 210                                                Breckenridge, CO 80424‐0210                                                                                              First Class Mail
Chartered Organization         Summit Elementary School Pta                                   Potawatomi Area Council 651             1420 Valley Rd                                              Oconomowoc, WI 53066                                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                               Page 389 of 442
                                                                                  Case 20-10343-LSS                                     Doc 8171                                        Filed 01/06/22                                                  Page 405 of 457
                                                                                                                                                                           Exhibit B
                                                                                                                                                                            Service List
                                                                                                                                                                     Served as set forth below

        Description                                                        Name                                                                                          Address                                                                                                          Email                  Method of Service
Chartered Organization         Summit Elementary School Ptso                              Pikes Peak Council 060                  490 Meadow Park Dr                                           Divide, CO 80814‐9227                                                                                  First Class Mail
Chartered Organization         Summit Family Ymca                                         Flint River Council 095                 1765 Hwy 34 E                                                Newnan, GA 30265‐6411                                                                                  First Class Mail
Voting Party                   Summit Heights United Methodist Church                     Attn: Chris Howlett                     7400 Outer Loop                                              Louisville, KY 40228                                               pastor@summitheightsumc.org         Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Summit Hills Baptist Church                                Lincoln Heritage Council 205            4507 Summers Dr                                              Louisville, KY 40229‐3569                                                                              First Class Mail
Voting Party                   Summit Hills Baptist Church                                c/o Kaplan Johnson Abate & Bird LLP     Attn: Tyler R. Yeager                                        710 W Main St, 4th Fl             Louisville, KY 40202             tyeager@kaplanjohnsonlaw.com        Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Summit Hills Baptist Church                                4507 Summers Dr                         Louisville, KY 40229                                                                                                                                                First Class Mail
Voting Party                   Summit Keys LLC                                            dba Mangrove Marina                     200 Florida Ave                                              Tavernier, FL 33070‐2641                                                                               First Class Mail
Chartered Organization         Summit Lake Community Center                               Great Trail 433                         380 W Crosier St                                             Akron, OH 44311‐1914                                                                                   First Class Mail
Chartered Organization         Summit Lodge 213                                           Lake Erie Council 440                   9545 Shepard Rd                                              Twinsburg, OH 44087                                                                                    First Class Mail
Chartered Organization         Summit Lodge No 263                                        Heart of America Council 307            2409 S State Route 291                                       Lees Summit, MO 64082‐2518                                                                             First Class Mail
Chartered Organization         Summit Metro Parks                                         Great Trail 433                         975 Treaty Line Rd                                           Akron, OH 44313‐5837                                                                                   First Class Mail
Chartered Organization         Summit Of Peace Lutheran Church                            Denver Area Council 061                 4661 E 136th Ave                                             Thornton, CO 80602‐7701                                                                                First Class Mail
Chartered Organization         Summit Parent Scouting Committee                           Great Lakes Fsc 272                     28025 Riverbridge Dr                                         Romulus, MI 48174‐2909                                                                                 First Class Mail
Chartered Organization         Summit Parkland Youth Assoc                                Pacific Harbors Council, Bsa 612        315 129th St S                                               Tacoma, WA 98444‐5044                                                                                  First Class Mail
Chartered Organization         Summit Presbyterian Church                                 National Capital Area Council 082       256 Shelton Shop Rd                                          Stafford, VA 22554‐6502                                                                                First Class Mail
Chartered Organization         Summit Ridge 4Th Ward                                      Utah National Parks 591                 591 Summt Ridge Pkwy                                         Santaquin, UT 84655                                                                                    First Class Mail
Chartered Organization         Summit School Pto                                          Gateway Area 624                        1800 Lakeshore Dr                                            La Crosse, WI 54603‐1403                                                                               First Class Mail
Chartered Organization         Summit Station Utd Methodist Church                        Simon Kenton Council 441                6626 Summit Rd Sw                                            Pataskala, OH 43062‐9288                                                                               First Class Mail
Chartered Organization         Summit Station Utd Methodist Church                        Simon Kenton Council 441                6626 Summit Rd Sw                                            Summit Station, OH 43073                                                                               First Class Mail
Chartered Organization         Summit Twp Volunteer Fire Dept                             French Creek Council 532                P.O. Box 251                                                 Harmonsburg, PA 16422‐0251                                                                             First Class Mail
Voting Party                   Summit United Methodist Church                             Attn: Dick Dobbins                      P.O. Box 1942                                                Marshall, TX 75671                                                 rev007dd@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Summit United Methodist Church                             Attn: Jan Benson                        2870 State Rte 10                                            Summit, NY 12175                                                                                       First Class Mail
Voting Party                   Summit United Methodist Church ‐ Middletown                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Summit United Methodist Church (89821)                     c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Summit Utd Methodist Church                                French Creek Council 532                1510 Townhall Rd W                                           Erie, PA 16509‐5052                                                                                    First Class Mail
Chartered Organization         Summit Utd Methodist Church                                Del Mar Va 081                          554 Old Summit Bridge Rd                                     Middletown, DE 19709‐9752                                                                              First Class Mail
Chartered Organization         Summit View Pto                                            Potawatomi Area Council 651             2100 Summit Ave                                              Waukesha, WI 53188‐3107                                                                                First Class Mail
Chartered Organization         Summitt Club                                               Longhorn Council 662                    3631 Long Prarie Rd, Ste 108‐104                             Flower Mound, TX 75028                                                                                 First Class Mail
Chartered Organization         Summitt Elementary Pta                                     Capitol Area Council 564                12207 Brigadoon Ln                                           Austin, TX 78727‐5345                                                                                  First Class Mail
Chartered Organization         Summitville Christian Church                               Crossroads of America 160               P.O. Box 176                                                 Summitville, IN 46070‐0176                                                                             First Class Mail
Chartered Organization         Sumner Civitans Club                                       Old N State Council 070                 2325 Concord Church Rd                                       Greensboro, NC 27406‐8019                                                                              First Class Mail
Chartered Organization         Sumner Community Council                                   Greater St Louis Area Council 312       4248 Cottage Ave                                             St Louis, MO 63113‐2545                                                                                First Class Mail
Chartered Organization         Sumpter Parent Club                                        Cascade Pacific Council 492             6475 13th Ave Se                                             Salem, OR 97306‐1453                                                                                   First Class Mail
Voting Party                   Sumption Prairie United Methodist Church                   Attn: Mary Poczik                       24535 Roosevelt Rd                                           South Bend, IN 46614                                               sumptionumc@yahoo.com               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sumter County Fire Dept                                    Pee Dee Area Council 552                315 N Lafayette Dr                                           Sumter, SC 29150‐4343                                                                                  First Class Mail
Chartered Organization         Sumter County Sheriff Office                               Pee Dee Area Council 552                1281 N Main St                                               Sumter, SC 29153‐2138                                                                                  First Class Mail
Chartered Organization         Sun Blaze Elementary Pta                                   Central Florida Council 083             9101 Randal Park Blvd                                        Orlando, FL 32832‐4918                                                                                 First Class Mail
Voting Party                   Sun City Center United Methodist Church                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sun City Elks Lodge 2559                                   Grand Canyon Council 010                10760 W Union Hills Dr                                       Sun City, AZ 85373‐1500                                                                                First Class Mail
Chartered Organization         Sun City Lodge 72 F&Am                                     Grand Canyon Council 010                18810 N 107th Ave                                            Sun City, AZ 85373‐9742                                                                                First Class Mail
Voting Party                   Sun Glingers                                               Attn: Kenneth Finley                    1697 County Rd 14760                                         Paris, TX 75462                                                    kw.finley@gmail.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sun Life Assurance Co Of Canada                            1 York St                               Toronto, ON M5J 0B6                                          Canada                                                                                                 First Class Mail
Chartered Organization         Sun Ridge Elementary Pto                                   Central Florida Council 083             14455 Sunridge Blvd                                          Winter Garden, FL 34787‐5133                                                                           First Class Mail
Chartered Organization         Sun United Methodist Church                                Istrouma Area Council 211               P.O. Box 928                                                 Sun, LA 70463‐0928                                                                                     First Class Mail
Voting Party                   Sun United Methodist Church                                Attn: Pastor Paul Corse Jr              30487 Driftwood Ln                                           Bush, LA 70431                                                     joycecorse@au.net                   Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sun United Methodist Church                                Pastor Paul Corse Jr                    P.O. Box 928                                                 Sun, LA 70463                                                      joycecorse@aei.net                  Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sun Valley Presbyterian Church                             Glaciers Edge Council 620               1650 Sun Valley Dr                                           Beloit, WI 53511‐3262                                                                                  First Class Mail
Chartered Organization         Sun Valley Youth Center                                    Denver Area Council 061                 1230 Decatur St                                              Denver, CO 80204‐3362                                                                                  First Class Mail
Chartered Organization         Sunbeam School                                             Lake Erie Council 440                   11731 Mt Overlook Ave                                        Cleveland, OH 44120‐1025                                                                               First Class Mail
Voting Party                   Sunbelt Rentals                                            P O Box 409211                          Atlanta, GA 30384‐9211                                                                                                                                              First Class Mail
Voting Party                   Sunbury United Methodist Church                            Attn: Chris Sharlike                    100 W Cherry St                                              Sunbury, OH 43074                                                  csharlike@sunburyumc.org            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Suncook Umc                                                Attn: Dongmyung Shim                    160 Main St                                                  Pembroke, NH 03275                                                 suncookchurch@gmail.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Suncook Valley Explorers                                   Daniel Webster Council, Bsa 330         59 Main St                                                   Pittsfield, NH 03263                                                                                   First Class Mail
Voting Party                   Suncreek United Methodist Church                           Attn: Church Administrator              1517 W Mcdermott Dr                                          Allen, TX 75013                                                    Lucinda@SuncreekUMC.org             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Suncrest Elementary School Pta                             Crossroads of America 160               1608 W Kyger St                                              Frankfort, IN 46041‐1085                                                                               First Class Mail
Chartered Organization         Suncrest Um Church                                         Drummond Chapel Campus                  479 Van Voorhis Rd                                           Morgantown, WV 26505‐3408                                                                              First Class Mail
Voting Party                   Suncrest United Methodist Church                           479 Van Voorhis Rd                      Morgantown, WV 26505                                                                                                            estepunit@gmail.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sunderland Firemans Assoc                                  Western Massachusetts Council 234       105 River Rd                                                 Sunderland, MA 01375‐6901                                                                              First Class Mail
Chartered Organization         Sunderland Mens Club                                       Western Massachusetts Council 234       73 S Plain Rd                                                Sunderland, MA 01375‐9469                                                                              First Class Mail
Voting Party                   Sundown United Methodist Church                            Attn: Seung Jin Hong                    P.O. Box 86                                                  Grahamsville, NY 12740                                             sundownumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sunflower Elementary Pta                                   Heart of America Council 307            8955 Loiret Blvd                                             Lenexa, KS 66219‐1427                                                                                  First Class Mail
Chartered Organization         Sunflower Village Homes Assoc                              Great Lakes Fsc 272                     45800 Hanford Rd                                             Canton, MI 48187‐4785                                                                                  First Class Mail
Chartered Organization         Sunman Community Fish And Game, Inc                        Hoosier Trails Council 145 145          8101 E County Rd 1250 N                                      Sunman, IN 47041‐8249                                                                                  First Class Mail
Chartered Organization         Sunny Hill Elementary School Pto                           Three Fires Council 127                 2500 Helm Rd                                                 Carpentersville, IL 60110‐1329                                                                         First Class Mail
Voting Party                   Sunny Lane United Methodist Church, Inc                    Attn: Donna Alexander Treasurer         2020 S Sunnylane Rd                                          Del City, OK 73115                                                 dalexander@sunnlandeumc.com         Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sunny Side Umc ‐ Sunny Side                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sunny Willow Swim Club                                     Cradle of Liberty Council 525           P.O. Box 79                                                  Willow Grove, PA 19090‐0079                                                                            First Class Mail
Voting Party                   Sunnycrest Um Church                                       Attn: Rev Mark Helm                     1921 W Bradford St                                           Marion, IN 46952                                                   sumc@indy.rr.com                    Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sunnycrest United Methodist Church                         Attn: Eddie Fischer                     4801 W 41 St                                                 Sioux Falls, SD 57106                                              office@sunnycrest.org               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sunnycrest Utd Methodist Church                            Sioux Council 733                       4801 W 41st St                                               Sioux Falls, SD 57106‐1535                                                                             First Class Mail
Chartered Organization         Sunnylane Methodist Church                                 Last Frontier Council 480               2020 S Sunnylane Rd                                          Del City, OK 73115‐3104                                                                                First Class Mail
Chartered Organization         Sunnylane Methodist Church Mens Club                       Last Frontier Council 480               2020 S Sunnylane Rd                                          Del City, OK 73115‐3104                                                                                First Class Mail
Chartered Organization         Sunnyside Alliance Church                                  Del Mar Va 081                          P.O. Box 9                                                   Secretary, MD 21664‐0009                                                                               First Class Mail
Chartered Organization         Sunnyside Booster Club                                     Heart of America Council 307            16025 S Lindenwood Dr                                        Olathe, KS 66062‐4024                                                                                  First Class Mail
Chartered Organization         Sunnyside Elementary School                                Crossroads of America 160               6345 Sunnyside Rd                                            Indianapolis, IN 46236‐9706                                                                            First Class Mail
Chartered Organization         Sunnyside Elementary School As                             Crossroads of America 160               6345 Sunnyside Rd                                            Indianapolis, IN 46236‐9706                                                                            First Class Mail
Chartered Organization         Sunnyside Free Lutheran Church                             Northern Star Council 250               22745 Typo Creek Dr Ne                                       Stacy, MN 55079‐9667                                                                                   First Class Mail
Chartered Organization         Sunnyside Methodist Church                                 Flint River Council 095                 P.O. Box 455                                                 Sunny Side, GA 30284‐0455                                                                              First Class Mail
Chartered Organization         Sunnyside Presbyterian Church                              Grand Columbia Council 614              P.O. Box 373                                                 Sunnyside, WA 98944‐0373                                                                               First Class Mail
Chartered Organization         Sunnyside Reformed Church                                  Greater New York Councils, Bsa 640      4803 Skillman Ave                                            Sunnyside, NY 11104‐1025                                                                               First Class Mail
Chartered Organization         Sunnyside School Pta                                       Housatonic Council, Bsa 069             418 River Rd                                                 Shelton, CT 06484‐4524                                                                                 First Class Mail
Chartered Organization         Sunnyside School Pta                                       Bay‐Lakes Council 635                   720 County Rd C                                              Sobieski, WI 54171‐9797                                                                                First Class Mail
Chartered Organization         Sunnyside School Pto                                       Mississippi Valley Council 141 141      2040 Sunnyside Ave                                           Burlington, IA 52601‐2531                                                                              First Class Mail
Chartered Organization         Sunnyvale Elks 2128                                        Silicon Valley Monterey Bay 055         375 N Pastoria Ave                                           Sunnyvale, CA 94085‐4110                                                                               First Class Mail
Chartered Organization         Sunnyvale Moose Lodge                                      Silicon Valley Monterey Bay 055         905 Kifer Rd                                                 Sunnyvale, CA 94086‐5207                                                                               First Class Mail
Chartered Organization         Sunnyvale Presbyterian Church                              Silicon Valley Monterey Bay 055         728 W Fremont Ave                                            Sunnyvale, CA 94087‐3102                                                                               First Class Mail
Chartered Organization         Sunnyvale Public Safety Dept                               Silicon Valley Monterey Bay 055         700 All America Way                                          Sunnyvale, CA 94086‐7642                                                                               First Class Mail
Chartered Organization         Sunol Business Guild                                       San Francisco Bay Area Council 028      P.O. Box 94                                                  Sunol, CA 94586‐0094                                                                                   First Class Mail
Chartered Organization         Sunridge Apts Charlotte Housing Auth                       Mecklenburg County Council 415          4005 Sunridge Ln                                             Charlotte, NC 28215‐3552                                                                               First Class Mail
Chartered Organization         Sunrise Elementary ‐ Gifw                                  Longhorn Council 662                    4409 Stalcup Rd                                              Fort Worth, TX 76119                                                                                   First Class Mail
Chartered Organization         Sunrise Elementary School                                  Central Florida Council 083             1651 Mara Loma Blvd Se                                       Palm Bay, FL 32909‐1320                                                                                First Class Mail
Chartered Organization         Sunrise Leadership Alliance                                Alamo Area Council 583                  525 County Rd 375                                            San Antonio, TX 78253‐6807                                                                             First Class Mail
Chartered Organization         Sunrise Lions Lacey                                        Pacific Harbors Council, Bsa 612        P.O. Box 3366                                                Lacey, WA 98509‐3366                                                                                   First Class Mail
Chartered Organization         Sunrise Optimist Club Of Lakewood                          Denver Area Council 061                 9364 W Colorado Ave                                          Lakewood, CO 80232‐6407                                                                                First Class Mail
Chartered Organization         Sunrise Police Explorers                                   South Florida Council 084               10440 W Oakland Park Blvd                                    Sunrise, FL 33351‐6822                                                                                 First Class Mail
Chartered Organization         Sunrise Presbyterian Church                                South Florida Council 084               18400 NW 68th Ave                                            Hialeah, FL 33015‐3408                                                                                 First Class Mail
Chartered Organization         Sunrise Presbyterian Church                                Coastal Carolina Council 550            3222 Middle St                                               Sullivans Island, SC 29482‐8649                                                                        First Class Mail
Voting Party                   Sunrise Presbyterian Church Of Salina                      Attn: Todd Davidson                     P.O. Box 1247                                                Salina, KS 67402                                                   davidson@hamptonlaw.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sunrise Presbyterian Church, C/O Administrator             825 E Beloit                            Salina, KS 67401                                                                                                                secretary@sunrisepresbyterian.com   Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sunrise Pto                                                Northern Lights Council 429             3800 Nickerson Ave                                           Bismarck, ND 58503‐5608                                                                                First Class Mail
Chartered Organization         Sunrise Rotary                                             California Inland Empire Council 045    P.O. Box 2332                                                Blue Jay, CA 92317‐2332                                                                                First Class Mail
Chartered Organization         Sunrise Rotary Club                                        East Texas Area Council 585             P.O. Box 8383                                                Tyler, TX 75711‐8383                                                                                   First Class Mail
Chartered Organization         Sunrise Rotary Club                                        Orange County Council 039               18935 Sunny Slope                                            Yorba Linda, CA 92886‐5400                                                                             First Class Mail
Chartered Organization         Sunrise Rotary Of Camarillo                                Ventura County Council 057              P.O. Box 3512                                                Camarillo, CA 93011‐3512                                                                               First Class Mail
Chartered Organization         Sunrise School                                             Laurel Highlands Council 527            550 Aura Dr                                                  Monroeville, PA 15146‐1528                                                                             First Class Mail
Chartered Organization         Sunrise Scouters, Inc                                      South Florida Council 084               P.O. Box 450783                                              Fort Lauderdale, FL 33345‐0783                                                                         First Class Mail
Chartered Organization         Sunrise Square Club 751                                    Suffolk County Council Inc 404          51 Forest Ave                                                West Babylon, NY 11704‐5128                                                                            First Class Mail
Voting Party                   Sunrise United Methodist Church                            2655 Briargate Blvd                     Colorado Springs, CO 80920                                                                                                      chrism@sunriseumc.com               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sunrise United Methodist Church (Az)                       c/o Clarke Law Firm, Plc                Attn: Marilee Miller Clarke                                  8141 E Indian Bend Rd, Ste 105    Scottsdale, AZ 85250             marilee@clarkelawaz.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sunrise United Methodist Church Nc                         Attn: Fred Haggard, Treasurer           105 Mint Julep Way                                           Holly Springs, NC 27540                                            mbschwegel@gmail.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sunrise Utd Methodist Church                               Pacific Harbors Council, Bsa 612        150 S 356th St                                               Federal Way, WA 98003‐8650                                                                             First Class Mail
Chartered Organization         Sunrise Utd Methodist Church                               Occoneechee 421                         5420 Sunset Lake Rd                                          Holly Springs, NC 27540‐3796                                                                           First Class Mail
Chartered Organization         Sunrise Utd Methodist Church                               Northern Star Council 250               7687 Long Lake Rd                                            Mounds View, MN 55112‐4089                                                                             First Class Mail
Chartered Organization         Sunrise Utd Methodist Church                               Grand Canyon Council 010                19234 N 7th Ave                                              Phoenix, AZ 85027‐5682                                                                                 First Class Mail
Chartered Organization         Sunrise Valley Elementary School Pta                       National Capital Area Council 082       10824 Cross School Rd                                        Reston, VA 20191‐5108                                                                                  First Class Mail
Chartered Organization         Sunriser Lions                                             Montana Council 315                     P.O. Box 905                                                 Kalispell, MT 59903‐0905                                                                               First Class Mail
Chartered Organization         Sunrisers Kiwanis Club                                     Pacific Harbors Council, Bsa 612        11828 120th Ave E                                            Puyallup, WA 98374‐2246                                                                                First Class Mail
Chartered Organization         Sunrisers Kiwanis Club Of Corvallis                        Oregon Trail Council 697                1180 NW Country Ct                                           Corvallis, OR 97330‐9551                                                                               First Class Mail
Chartered Organization         Suns Of Tipton Kiwanis                                     Crossroads of America 160               935 Market Rd                                                Tipton, IN 46072‐8414                                                                                  First Class Mail
Chartered Organization         Sunset Bible Church                                        Pacific Harbors Council, Bsa 612        5000 67th Ave W                                              University Place, WA 98467‐2238                                                                        First Class Mail
Chartered Organization         Sunset Business Communications, Inc                        Pee Dee Area Council 552                1001 Antlers Dr                                              Sumter, SC 29150‐3127                                                                                  First Class Mail
Voting Party                   Sunset Canyon Baptist Church                               Attn: Peggy Johnson                     4000 E Hwy 290                                               Dripping Springs, TX 78620                                         peggy@sunsetcanyonchurch.org        Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sunset Canyon Baptist Church                               Attn: Missy Kroll Atwood                301 Country Ln                                               Dripping Springs, TX 78620                                         matwood@germer‐austin.com           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sunset Church Of Christ                                    South Florida Council 084               12001 SW 72nd St                                             Miami, FL 33183‐2711                                                                                   First Class Mail
Voting Party                   Sunset Drive Umc                                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sunset Drive Umc                                           Attn: Beverly H Thompson                161 N Sunset Dr                                              Broadway, VA 22815                                                 bhoovthomp@hotmail.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sunset Drive United Methodist Church                       Attn: Dale Cupp, Head Trustee           P.O. Box 381                                                 Broadway, VA 22815                                                 mcarchitects@verizon.net            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sunset Elementary                                          East Texas Area Council 585             4378 State Hwy 149                                           Beckville, TX 75631                                                                                    First Class Mail
Chartered Organization         Sunset Elementary Pto                                      Cascade Pacific Council 492             9001 NE 95th St                                              Vancouver, WA 98662‐2036                                                                               First Class Mail
Chartered Organization         Sunset Hills Community Club                                Mid‐America Council 326                 9503 Walnut St                                               Omaha, NE 68124‐1155                                                                                   First Class Mail
Chartered Organization         Sunset Hills School Community Club                         Mid‐America Council 326                 9503 Walnut St                                               Omaha, NE 68124‐1155                                                                                   First Class Mail
Chartered Organization         Sunset Hills Utd Presbyterian Church                       Laurel Highlands Council 527            900 Country Club Dr                                          Pittsburgh, PA 15228‐2625                                                                              First Class Mail
Chartered Organization         Sunset Masonic Lodge                                       Cherokee Area Council 469 469           218 N Maple St                                               Nowata, OK 74048‐2626                                                                                  First Class Mail
Chartered Organization         Sunset Park Elementary School                              Central Florida Council 083             12050 Overstreet Rd                                          Windermere, FL 34786‐6666                                                                              First Class Mail
Chartered Organization         Sunset Ridge Pto                                           Heart of America Council 307            8110 W 144th Pl                                              Overland Park, KS 66223‐2190                                                                           First Class Mail
Chartered Organization         Sunset Ridge School Pta                                    Northeast Illinois 129                  525 Sunset Ridge Rd                                          Northfield, IL 60093‐1025                                                                              First Class Mail
Chartered Organization         Sunset School Parent Teacher Org                           San Francisco Bay Area Council 028      1671 Frankfurt Way                                           Livermore, CA 94550‐6146                                                                               First Class Mail
Chartered Organization         Sunset Valley Elementery                                   Westmoreland Fayette 512                11605 Dickens Dr                                             North Huntingdon, PA 15642‐6909                                                                        First Class Mail
Chartered Organization         Sunshine Center, Inc                                       Bay Area Council 574                    1726 21st St                                                 Galveston, TX 77550‐8014                                                                               First Class Mail
Chartered Organization         Sunshine Committee Scouts                                  Indian Nations Council 488              6703 E King St                                               Tulsa, OK 74115‐6829                                                                                   First Class Mail
Chartered Organization         Sunshine Utd Methodist Church                              Simon Kenton Council 441                16 Tygarts Bnd                                               South Shore, KY 41175‐9059                                                                             First Class Mail
Voting Party                   Suntreat                                                   P O Box 562                             Hurley, NM 88043                                                                                                                suntreat@gilanet.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Suntreat Beredagz                                          Attn: Joseph Edend Steren               100 Cortez Ave                                               Hurley, NM 89043                                                   suntreat@gilanet.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Suntree United Methodist                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Suntree Utd Methodist Church                               Central Florida Council 083             7400 N Wickham Rd                                            Melbourne, FL 32940‐7528                                                                               First Class Mail
Chartered Organization         Suny Cobleskill                                            Leatherstocking 400                     1 State Route 7                                              Cobleskill, NY 12043                                                                                   First Class Mail
Chartered Organization         Suny Orange                                                Hudson Valley Council 374               1 Washington Ctr                                             Newburgh, NY 12550‐4626                                                                                First Class Mail
Voting Party                   Superior Building Services, Inc Dba First Maintenance Co   c/o First Maintenance Co of Tulsa       Attn: Bill Farr                                              3458 S 108th Ave, Ste 274         Tulsa, OK 74146                  bill@fmctulsa.com                   Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Superior Elementary School                                 Lake Erie Council 440                   1865 Garfield Rd                                             East Cleveland, OH 44112‐4513                                                                          First Class Mail
Chartered Organization         Superior Lending Assoc                                     Utah National Parks 591                 1031 W Center St, Ste 202                                    Orem, UT 84057‐5205                                                                                    First Class Mail
Chartered Organization         Superstition Foothills Baptist Church                      Grand Canyon Council 010                6338 S Kings Ranch Rd                                        Gold Canyon, AZ 85118‐6882                                                                             First Class Mail
Chartered Organization         Suppers 469, Trinity Presbyterian Ch                       Atlanta Area Council 092                8014 Cumming Hwy 403‐325                                     Canton, GA 30115‐9339                                                                                  First Class Mail
Chartered Organization         Supplee Memorial Presbyterian Church                       Cradle of Liberty Council 525           855 E Welsh Rd                                               Maple Glen, PA 19002‐2929                                                                              First Class Mail
Voting Party                   Supplyone Rockwell, Inc                                    Attn: Brian J Sabin                     Capes Sokol                                                  8182 Maryland Ave, 15th Fl        St. Louis, MO 63105              Sabin@capessokol.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Supplyone Rockwell, Inc                                    Attn: Debbie Morgan                     P.O. Box 74007651                                            Chicago, IL 60674                                                  dmorgan@supplyone.com               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Supporters Of 2911                                         Five Rivers Council, Inc 375            333 E Water St, Ste 200                                      Elmira, NY 14901‐3409                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                            Page 390 of 442
                                                                                 Case 20-10343-LSS                                             Doc 8171                                       Filed 01/06/22                                                        Page 406 of 457
                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                  Service List
                                                                                                                                                                           Served as set forth below

        Description                                                       Name                                                                                                 Address                                                                                                                 Email                     Method of Service
Chartered Organization         Supporters Of Awsu Netopolis Chapter                         Lincoln Heritage Council 205                 708 Westport Rd                                             Elizabethtown, KY 42701‐3819                                                                                     First Class Mail
Chartered Organization         Supporters Of Bsa Troop 278                                  Longs Peak Council 062                       1607 S Elbert Ct                                            Superior, CO 80027‐8007                                                                                          First Class Mail
Chartered Organization         Supporters Of Bsa Troop 278                                  Longs Peak Council 062                       1607 S Elbert Ct                                            Superior, CO 80027‐8007                                                                                          First Class Mail
Chartered Organization         Supporters Of Pack And Troop 714                             Attn: Shawn Harmer                           303 Perrin St                                               Edgerton, MO 64444‐9086                                                                                          First Class Mail
Chartered Organization         Supportive Citizens Of Grove Valley                          Last Frontier Council 480                    20319 Antler Farms Dr                                       Edmond, OK 73012‐0633                                                                                            First Class Mail
Voting Party                   Surf City Baptist Church, Inc                                Attn: Rev Robert Owings Jr                   304 Wilmington Ave                                          Surf City, NC 28445                                                                                              First Class Mail
Voting Party                   Surf City Baptist Church, Inc                                Attn: Reverent Robert E Owings, Jr           304 Wilmington Ave                                          Surf City, NC 28445                                                                                              First Class Mail
Chartered Organization         Surfside Prints, Inc                                         Ventura County Council 057                   2686 Johnson Dr, Ste D                                      Ventura, CA 93003‐7245                                                                                           First Class Mail
Voting Party                   Surfside United Methodist Church                             Attn: Rev Mary V Teasley                     800 13th Ave N                                              Surfside Beach, SC 29575‐4163                                            mvteasley@umcsc.org                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Surgoinsville United Methodist Church                        Attn: Gregory P Pierce                       P.O. Box 134                                                Surgoinsville, TN 37873                                                  pierce7385@bellsouth.net                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Surprise Police Dept                                         Grand Canyon Council 010                     14250 W Statler Plz                                         Surprise, AZ 85374‐7473                                                                                          First Class Mail
Chartered Organization         Surry Youth Leadership                                       Surry Central Hosa                           716 S Main St                                               Dobson, NC 27017‐8593                                                                                            First Class Mail
Chartered Organization         Susan M Duncan Family Ymca                                   Denver Area Council 061                      6350 Eldridge St                                            Arvada, CO 80004‐3616                                                                                            First Class Mail
Voting Party                   Susan Mihanovich                                             Address Redacted                                                                                                                                                                                                          First Class Mail
Chartered Organization         Susanna Wesley United Methodist Church                       Jayhawk Area Council 197                     7433 SW 29th St                                             Topeka, KS 66614‐4700                                                                                            First Class Mail
Voting Party                   Susanna Wesley United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200               Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Susanna Wesley United Methodist Church                       7433 SW 29th St                              Topeka, KS 66614                                                                                                                                                             First Class Mail
Chartered Organization         Susanville Police Dept                                       Nevada Area Council 329                      1801 Main St                                                Susanville, CA 96130‐4518                                                                                        First Class Mail
Chartered Organization         Susanville Volunteer Fire Dept                               Nevada Area Council 329                      1505 Main St                                                Susanville, CA 96130‐4427                                                                                        First Class Mail
Chartered Organization         Susick School Pto                                            Great Lakes Fsc 272                          2200 Castleton Dr                                           Troy, MI 48083‐2675                                                                                              First Class Mail
Voting Party                   Susie Burgess, Treasurer                                     4630 Ashforth Way                            Owings Mills, MD 21117                                                                                                               Sburgess4630@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Susquehanna Community Elementary School                      Baden‐Powell Council 368                     3192 Turnpike St                                            Susquehanna, PA 18847‐8154                                                                                       First Class Mail
Voting Party                   Susquehanna Conference Of The United Methodist Church        c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200             Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Susquehanna Umc (077685)                                     c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200             Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Susquehanna Umc (077685)                                     c/o Bentz Law Firm                           Attn: Sean Bollman                                          680 Washington Rd, Ste 200             Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sussex Kiwanis                                               Patriots Path Council 358                    7 Up A Way Dr                                               Sussex, NJ 07461‐4118                                                                                            First Class Mail
Chartered Organization         Sussex Lions Club                                            Potawatomi Area Council 651                  W220N5393 Town Line Rd                                      Sussex, WI 53089                                                                                                 First Class Mail
Voting Party                   Sussex United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200               Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sussex Utd Methodist Church                                  Patriots Path Council 358                    15 Bank St                                                  Sussex, NJ 07461‐2301                                                                                            First Class Mail
Voting Party                   Sustainable Forestry Initiative, Inc                         2121 K St NW, Ste 750                        Washington, DC 20037‐1908                                                                                                                                                    First Class Mail
Chartered Organization         Sutherland Lions Club                                        Overland Trails 322                          P.O. Box 121                                                Sutherland, NE 69165‐0121                                                                                        First Class Mail
Chartered Organization         Sutherland Ruritan Club                                      Heart of Virginia Council 602                P.O. Box 57                                                 Sutherland, VA 23885‐0057                                                                                        First Class Mail
Voting Party                   Sutherland Ruritan Club                                      P O Box 57                                   Sutherland, VA 23885‐0057                                                                                                            jmbailey111@aol.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sutter Lions Club                                            Golden Empire Council 047                    P.O. Box 503                                                Sutter, CA 95982‐0503                                                                                            First Class Mail
Chartered Organization         Sutton ‐ Fire Dept                                           Heart of New England Council 230             4 Uxbridge Rd                                               Sutton, MA 01590‐1702                                                                                            First Class Mail
Chartered Organization         Sutton ‐ First Congregational Church                         Heart of New England Council 230             Boston Rd At Common                                         Sutton, MA 01590                                                                                                 First Class Mail
Chartered Organization         Sutton ‐ St Marks R C Church                                 Heart of New England Council 230             356 Boston Rd                                               Sutton, MA 01590‐1828                                                                                            First Class Mail
Chartered Organization         Sutton Bible Church                                          Great Alaska Council 610                     P.O. Box 250                                                Sutton, AK 99674‐0250                                                                                            First Class Mail
Chartered Organization         Sutton Fire & Rescue                                         Daniel Webster Council, Bsa 330              P.O. Box 158                                                North Sutton, NH 03260‐0158                                                                                      First Class Mail
Chartered Organization         Suttons Bay Rotary Club                                      President Gerald R Ford 781                  P.O. Box 45                                                 Suttons Bay, MI 49682‐0045                                                                                       First Class Mail
Voting Party                   Suzanne L Dewalt                                             535 Smithfield St, Ste 300                   Pittsburgh, PA 15222                                                                                                                                                         First Class Mail
Voting Party                   Suzanne M. Morrison                                          Address Redacted                                                                                                                                                                  Email Address Redacted                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Suzhou Singapore International School                        Far E Council 803                            208 Zhong Nan St                                            Suzhou,                                China                                                                     First Class Mail
Chartered Organization         Svante Palm Elementary Ace                                   Capitol Area Council 564                     7601 Dixie Dr                                               Austin, TX 78744‐7140                                                                                            First Class Mail
Chartered Organization         Sw Carver County Fire Explorers                              Northern Star Council 250                    907 Serenity Cir                                            Norwood Young America, MN 55397‐4601                                                                             First Class Mail
Chartered Organization         Sw Concerned Parents Of Randolph                             Atlanta Area Council 092                     5320 Campbellton Rd Sw                                      Atlanta, GA 30331‐7714                                                                                           First Class Mail
Chartered Organization         Sw Det Community School                                      Great Lakes Fsc 272                          4001 29th St                                                Detroit, MI 48210‐2601                                                                                           First Class Mail
Chartered Organization         Swagelok Co                                                  Lake Erie Council 440                        29500 Solon Rd                                              Solon, OH 44139‐3449                                                                                             First Class Mail
Voting Party                   Swain United Methodist Church                                Attn: Rev Marion Luce                        4583 Lima Rd                                                Geneseo, NY 14454                                                        umcpastor1@verison.net                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Swainsboro First United Methodist Church                     Attn: David W Unkles                         319 West Main St                                            Swainsboeo, GA 30401                                                     fumcswainsboro@gmail.com                Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Swamp Lutheran Church                                        Pennsylvania Dutch Council 524               275 Swamp Church Rd                                         Reinholds, PA 17569‐9562                                                                                         First Class Mail
Chartered Organization         Swan Hillman School Pto                                      Blackhawk Area 660                           3701 Green Dale Dr                                          Rockford, IL 61109‐1543                                                                                          First Class Mail
Chartered Organization         Swan Lake Memorial Park Cemetery                             Heart of America Council 307                 30000 Valor Dr                                              Grain Valley, MO 64029‐8306                                                                                      First Class Mail
Chartered Organization         Swann‐Gehr Post 197 American Legion                          Blackhawk Area 660                           807 E Exchange St                                           Brodhead, WI 53520                                                                                               First Class Mail
Chartered Organization         Swans Creek Elementary School                                National Capital Area Council 082            17700 Swans Creek Ln                                        Dumfries, VA 22026‐4580                                                                                          First Class Mail
Chartered Organization         Swansboro Utd Methodist Men                                  East Carolina Council 426                    665 W Corbett Ave                                           Swansboro, NC 28584‐8451                                                                                         First Class Mail
Chartered Organization         Swansea Fire Dept                                            Greater St Louis Area Council 312            1350 N Illinois St                                          Swansea, IL 62226‐4230                                                                                           First Class Mail
Voting Party                   Swansea United Methodist Church                              Attn: Rev Christopher M Lollis               117 Cotton Cordell Rd                                       Lexington, SC 29072                                                      cmlollis@umcsc.org                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Swansea United Methodist Church                              Attn: Christopher M Lollis                   305 N Church St                                             Swansea, SC 29160                                                        cmlollis@umcsc.org                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Swanson Elementary School Pto                                Potawatomi Area Council 651                  305 N Calhoun Rd                                            Brookfield, WI 53005‐3401                                                                                        First Class Mail
Chartered Organization         Swansons Moving And Delivery                                 Catalina Council 011                         8300 E Valencia Rd, Unit 6                                  Tucson, AZ 85747‐9140                                                                                            First Class Mail
Chartered Organization         Swanton Chamber Of Commerce                                  Green Mountain 592                           Merchants Row                                               Swanton, VT 05488                                                                                                First Class Mail
Chartered Organization         Swanton Community Center                                     Laurel Highlands Council 527                 P.O. Box 154                                                Swanton, MD 21561‐0154                                                                                           First Class Mail
Chartered Organization         Swanton VFW Post 778                                         Green Mountain 592                           8 Merchants Row                                             Swanton, VT 05488‐1420                                                                                           First Class Mail
Chartered Organization         Swanville Lions Club                                         Central Minnesota 296                        P.O. Box 243                                                Swanville, MN 56382‐0243                                                                                         First Class Mail
Chartered Organization         Swanzey First Congregational Church                          Daniel Webster Council, Bsa 330              679 Old Homestead Hwy                                       Swanzey, NH 03446‐2304                                                                                           First Class Mail
Chartered Organization         Swarthmore Presbyterian Church                               Cradle of Liberty Council 525                727 Harvard Ave                                             Swarthmore, PA 19081‐1802                                                                                        First Class Mail
Firm                           Swartz & Swartz, P.C.                                        Alan L. Cantor, Esq.; David W. Faraci, Esq   10 Marshall Street                                          Boston, MA 02108                                                         acantor@swartzlaw.com                   Email
                                                                                                                                                                                                                                                                              dfaraci@swartzlaw.com                   First Class Mail
Chartered Organization         Swartz Creek Methodist Men‐Methodist                         Water and Woods Council 782                  7400 Miller Rd                                              Swartz Creek, MI 48473‐1430                                                                                      First Class Mail
Chartered Organization         Swc At Academie Lafayette Cherry                             Heart of America Council 307                 2803 E 51st St                                              Kansas City, MO 64130‐2919                                                                                       First Class Mail
Chartered Organization         Swc At Academie Lafayette Oak                                Heart of America Council 307                 6903 Oak St                                                 Kansas City, MO 64113‐2530                                                                                       First Class Mail
Chartered Organization         Swc At Brush Creek Community Center                          Heart of America Council 307                 3801 Brush Creek Blvd                                       Kansas City, MO 64130‐2476                                                                                       First Class Mail
Chartered Organization         Swedish American Hospital                                    Blackhawk Area 660                           1401 E State St                                             Rockford, IL 61104‐2315                                                                                          First Class Mail
Voting Party                   Swedish Evangelical Lutheran St. Johns Church Of Southside   Attn: Sheldon R Brown                        63 Oak Ave S, P.O. Box 859                                  Annandale, MN 55302                                                      brown@annandalelaw.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sweeny First United Methodist Church Of Sweeny               Attn: Dr Arthur W Richardson                 207 E 1st St                                                Sweeny, TX 77480                                                         ibmi@sbcglobal.net                      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sweeny Lions Club                                            Bay Area Council 574                         707 Twin Oak St                                             Sweeny, TX 77480‐1415                                                                                            First Class Mail
Chartered Organization         Sweet Gum Ame Zion Church                                    Tukabatchee Area Council 005                 560 Old Montgomery Hwy                                      Shorter, AL 36075                                                                                                First Class Mail
Chartered Organization         Sweet Haven Worshop LLC                                      Sequoyah Council 713                         19134 US Hwy 23 N                                           Duffield, VA 24244‐3525                                                                                          First Class Mail
Chartered Organization         Sweet Home Middle School Pta                                 Greater Niagara Frontier Council 380         4150 Maple Rd                                               Amherst, NY 14226‐1042                                                                                           First Class Mail
Chartered Organization         Sweet Revenge Bbq Co                                         Lasalle Council 165                          P.O. Box 300                                                New Carlisle, IN 46552‐0300                                                                                      First Class Mail
Chartered Organization         Sweet Valley Church Of Christ                                Northeastern Pennsylvania Council 501        5439 Main Rd                                                Sweet Valley, PA 18656‐2488                                                                                      First Class Mail
Chartered Organization         Sweetwater Vigil Aliance                                     Atlanta Area Council 092                     3161 Cedardale Dr                                           Douglasville, GA 30135‐1916                                                                                      First Class Mail
Chartered Organization         Swenke Pto                                                   Sam Houston Area Council 576                 22400 Fairfield Pl Dr                                       Cypress, TX 77433‐6352                                                                                           First Class Mail
Firm                           Swenson & Shelley, PLLC                                      Kevin Swenson                                107 S. 1470 E Ste 201                                       St George, UT 84790                                                      BSAattorneys@swensonshelley.com         Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Swepsonville Vol Fire Dept, Inc                              Old N State Council 070                      2744 Darrell Newton Dr                                      Graham, NC 27253‐9887                                                                                            First Class Mail
Voting Party                   Swift Memorial United Methodist Church                       P.O. Box 270                                 10 Williston Rd                                             Sagamore Beach, MA 02562                                                 tedann84@verizon.net                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Swift Memorial United Methodist Church                       P.O. Box 270                                 Sagamore Beach, MA 02562                                                                                                             tedann84@verizon.net                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Switlik School                                               Jersey Shore Council 341                     75 W Veterans Hwy                                           Jackson, NJ 08527‐3403                                                                                           First Class Mail
Chartered Organization         Switzer Parent Teacher Org                                   Great Lakes Fsc 272                          53200 Shelby Rd                                             Shelby Township, MI 48316‐2257                                                                                   First Class Mail
Chartered Organization         Swoyersville Volunteer Hose Co                               Northeastern Pennsylvania Council 501        299 Slocum St                                               Swoyersville, PA 18704                                                                                           First Class Mail
Chartered Organization         Sy Lee & Assoc                                               W L A C C 051                                216 S Jackson St, Ste 101                                   Glendale, CA 91205‐1191                                                                                          First Class Mail
Chartered Organization         Sybene Independent Missionary Baptist Ch                     Buckskin 617                                 9231 County Rd 1                                            South Point, OH 45680‐8434                                                                                       First Class Mail
Voting Party                   Sycamore Creek Church                                        Attn: Mark Aupperlee                         105 N Church St                                             P.O. Box 458                           Potterville, MI 48823             markaupperlee@sycamorecreekchurch.org   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sycamore Creek Umc                                           Attn: Mark Aupperlee                         1919 Pennsylvania                                           Lansing, MI 48910                                                        markaupperlee@sycamorecreekchurch.org   Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sycamore Police Dept                                         Three Fires Council 127                      535 Dekalb Ave                                              Sycamore, IL 60178‐1719                                                                                          First Class Mail
Chartered Organization         Sycamore School                                              Crossroads of America 160                    1750 W 64th St                                              Indianapolis, IN 46260‐4417                                                                                      First Class Mail
Chartered Organization         Sycamore Shoals State Historic Area                          Sequoyah Council 713                         1651 W Elk Ave                                              Elizabethton, TN 37643‐3725                                                                                      First Class Mail
Chartered Organization         Sycamore Sportsman Club                                      Three Fires Council 127                      1773 W Motel Rd                                             Sycamore, IL 60178‐3416                                                                                          First Class Mail
Chartered Organization         Sycamore Trail Pts                                           Three Fires Council 127                      1025 Sycamore Ln                                            Bartlett, IL 60103‐5619                                                                                          First Class Mail
Voting Party                   Sycamore Tree United Methodist Church                        1830 Clydesdale St                           Maryville, TN 37804                                                                                                                  carlonsjones@att.net                    Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sycamore United Methodist Church                             160 Johnson Ave                              Sycamore, IL 60178                                                                                                                   pastordan@sycamoreumc.org               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sydenstricker Umc                                            c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200               Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sydenstricker Utd Methodist Church                           National Capital Area Council 082            8507 Hooes Rd                                               Springfield, VA 22153                                                                                            First Class Mail
Chartered Organization         Sydenstricker Utd Methodist Church                           National Capital Area Council 082            8508 Hooes Rd                                               Springfield, VA 22153‐1703                                                                                       First Class Mail
Chartered Organization         Sykesville Lions Club                                        Bucktail Council 509                         P.O. Box 115                                                Sykesville, PA 15865‐0115                                                                                        First Class Mail
Chartered Organization         Sykesville‐Freedom District Fire Dept                        Baltimore Area Council 220                   P.O. Box 275                                                Sykesville, MD 21784‐0275                                                                                        First Class Mail
Chartered Organization         Sylmar Civic Assoc                                           W L A C C 051                                P.O. Box 923491                                             Sylmar, CA 91392‐3491                                                                                            First Class Mail
Voting Party                   Sylva First Umc                                              c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200               Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sylvan Abbey United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200               Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sylvan Hills Church Of Christ                                Quapaw Area Council 018                      117 W Maryland Ave                                          Sherwood, AR 72120‐2822                                                                                          First Class Mail
Voting Party                   Sylvan Hills United Methodist Church                         Attn: Pastor Sara Bayles Charlton            9921 Hwy 107                                                Sherwood, AR 72120                                                       lraines@fridayfirm.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Sylvan Ruritan Club                                          Attn: Jack Patterson                         722 E Greensboro Chapel Hill Rd                             Snow Camp, NC 27349‐9774                                                 jackalamancelumber@gmail.com            Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Sylvania Area Family Services                                Erie Shores Council 460                      5440 Marshall Rd                                            Sylvania, OH 43560‐2030                                                                                          First Class Mail
Chartered Organization         Sylvania Police Dept                                         Erie Shores Council 460                      6635 Maplewood Ave                                          Sylvania, OH 43560‐1934                                                                                          First Class Mail
Chartered Organization         Sylvania Utd Methodist Church                                Erie Shores Council 460                      7000 Erie St                                                Sylvania, OH 43560‐1920                                                                                          First Class Mail
Voting Party                   Syncb/Amazon                                                 P O Box 530958                               Atlanta, GA 30353‐0958                                                                                                                                                       First Class Mail
Chartered Organization         Synovus Bank                                                 Suwannee River Area Council 664              601 N Monroe St                                             Tallahassee, FL 32301‐1261                                                                                       First Class Mail
Chartered Organization         Syosset‐Woodbury Rotary Club                                 Theodore Roosevelt Council 386               31 Meadowbrook Rd                                           Syosset, NY 11791‐2115                                                                                           First Class Mail
Chartered Organization         Syracuse‐Wawasee Rotary                                      Charitable Fndn Inc                          P.O. Box 3                                                  Syracuse, IN 46567‐0003                                                                                          First Class Mail
Chartered Organization         Syska Hennessy Group, Inc                                    Greater New York Councils, Bsa 640           1515 Broadway 15th Fl                                       New York, NY 10036‐8901                                                                                          First Class Mail
Chartered Organization         Syt Global, Inc                                              Cradle of Liberty Council 525                699 Ranstead St, Ste 1                                      Philadelphia, PA 19106‐2334                                                                                      First Class Mail
Chartered Organization         T Clay Wood Elementary School                                National Capital Area Council 082            10600 Kettle Run Rd                                         Nokesville, VA 20181‐1727                                                                                        First Class Mail
Chartered Organization         T G Terry Special Education                                  Circle Ten Council 571                       6661 Greenspan Ave                                          Dallas, TX 75232‐3605                                                                                            First Class Mail
Chartered Organization         T L Pink Pto                                                 Sam Houston Area Council 576                 1001 Collins Rd                                             Richmond, TX 77469‐2756                                                                                          First Class Mail
Chartered Organization         T M Pierce Elementary School                                 Cradle of Liberty Council 525                2300 W Cambria St                                           Philadelphia, PA 19132‐2025                                                                                      First Class Mail
Firm                           T. J Solomon Law Group, PLLC                                 Tanika J. Solomon                            2120 Welch St.                                              Houston, TX 77019                                                        attorney@tjsololaw.com                  Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   T.U.M.C.                                                     P O Box 815                                  Tooele, UT 84074                                                                                                                     tooeleumc@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         T623 Leadership Oversight Panel                              California Inland Empire Council 045         1749 W 13th St                                              Upland, CA 91786‐2151                                                                                            First Class Mail
Chartered Organization         Ta Sims Elementary ‐ Gifw                                    Longhorn Council 662                         3500 Crenshaw Ave                                           Fort Worth, TX 76105‐4019                                                                                        First Class Mail
Chartered Organization         Taberg Volunteer Fire Co                                     Leatherstocking 400                          P.O. Box 26                                                 Taberg, NY 13471‐0026                                                                                            First Class Mail
Chartered Organization         Tabernacle Baptist Church                                    Hawkeye Area Council 172                     2050 12th Ave                                               Coralville, IA 52241‐3013                                                                                        First Class Mail
Chartered Organization         Tabernacle Fire Co                                           Garden State Council 690                     76 Hawkin Rd                                                Tabernacle, NJ 08088‐8733                                                                                        First Class Mail
Chartered Organization         Tabernacle Missionary Baptist Church                         Gulf Stream Council 085                      801 8th St                                                  West Palm Beach, FL 33401‐3607                                                                                   First Class Mail
Chartered Organization         Tabernacle Of The Lord Jesus Christ                          Miami Valley Council, Bsa 444                1502 Waco St                                                Troy, OH 45373‐3834                                                                                              First Class Mail
Chartered Organization         Tabernacle Presbyterian Church                               Crossroads of America 160                    418 E 34th St                                               Indianapolis, IN 46205‐3702                                                                                      First Class Mail
Chartered Organization         Tabernacle Rescue Squad, Inc                                 Garden State Council 690                     134 New Rd                                                  Tabernacle, NJ 08088                                                                                             First Class Mail
Voting Party                   Tabernacle Umc                                               c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200               Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Tabernacle Umc Methodist Mens Club                           National Capital Area Council 082            7310 Old Plank Rd                                           Fredericksburg, VA 22407‐8625                                                                                    First Class Mail
Chartered Organization         Tabernacle United Methodist Church                           Alabama‐Florida Council 003                  4205 S Brannon Stand Rd                                     Taylor, AL 36305‐9103                                                                                            First Class Mail
Voting Party                   Tabernacle United Methodist Church                           Attn: Terry M Carey                          P.O. Box 7111                                               Dothan, AL 36302                                                         tcarey@careyandhamner.com               Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Tabernacle United Methodist Church                           Attn: Timothy Barnes, Trustee Chair          110 Highland Ave                                            Binghamton, NY 13905                                                     tbarnes29@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Tabernacle United Methodist Church                           Attn: Rev Randall L Calcutt                  1307 Yellowstone Dr                                         Florence, SC 29505                                                       rlcalcutt@umcsc.org                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Tabernacle United Methodist Church                           Attn: Randall L Calcutt                      6758 Francis Marion Rd                                      Pamplico, SC 29583                                                       rlcalcutt@umcsc.org                     Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Tabernacle United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200               Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Tabernacle United Methodist Church                           4205 S Brannon Stand Rd                      Dothan, AL 36305                                                                                                                                                             First Class Mail
Chartered Organization         Tabernacle Utd Methodist Church                              Garden State Council 690                     702 Seashore Rd                                             Cape May, NJ 08204‐4626                                                                                          First Class Mail
Chartered Organization         Tabernacle Utd Methodist Church                              Old N State Council 070                      5721 Methodist Rd                                           Greensboro, NC 27406‐9761                                                                                        First Class Mail
Chartered Organization         Tabernacle Utd Methodist Church                              Colonial Virginia Council 595                831 Poquoson Ave                                            Poquoson, VA 23662‐1723                                                                                          First Class Mail
Voting Party                   Tabitha J Nelson                                             6325 W Main St                               Maryville, IL 62062                                                                                                                  pastortabitha@stlukesmaryville.org      Email
                                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Table Mound School Pta                                       Northeast Iowa Council 178                   100 Tower Dr                                                Dubuque, IA 52003‐8074                                                                                           First Class Mail
Chartered Organization         Tabletop Generals LLC                                        Alamo Area Council 583                       2543 Jackson Keller Rd                                      San Antonio, TX 78230‐5246                                                                                       First Class Mail
Voting Party                   Tabor Heights United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200               Tampa, FL 33602                   erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                  Page 391 of 442
                                                                                    Case 20-10343-LSS                                               Doc 8171                                        Filed 01/06/22                                                  Page 407 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                          Name                                                                                                    Address                                                                                                            Email                                  Method of Service
Chartered Organization         Tabor Lutheran Church                                          Connecticut Yankee Council Bsa 072              45 Tabor Dr                                                  Branford, CT 06405‐5225                                                                                                  First Class Mail
Voting Party                   Tabor Lutheran Evangelical Lutheran Church                     Attn: Peter Harding                             45 Tabor Dr                                                  Branford, CT 06405                                                 taborlutheranchurch@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tabor Utd Methodist Church                                     Mid‐America Council 326                         P.O. Box 370                                                 Tabor, IA 51653‐0370                                                                                                     First Class Mail
Voting Party                   Tabor: Woxall                                                  c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                                     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tac Booster Club, Inc                                          Southwest Florida Council 088                   1201 N Beneva Rd                                             Sarasota, FL 34232‐1010                                                                                                  First Class Mail
Chartered Organization         Tacoma Police Dept                                             Pacific Harbors Council, Bsa 612                3701 S Pine St                                               Tacoma, WA 98409‐5735                                                                                                    First Class Mail
Chartered Organization         Tadooley Council 5303 Knights Of Col                           Greater Yosemite Council 059                    112 Reed Rd                                                  Oakdale, CA 95361‐8246                                                                                                   First Class Mail
Chartered Organization         Taduntada Productions LLC                                      Circle Ten Council 571                          408 N Village Dr                                             Mckinney, TX 75071‐7848                                                                                                  First Class Mail
Chartered Organization         Taft Elementary School                                         Pacific Skyline Council 031                     903 10th Ave                                                 Redwood City, CA 94063‐4269                                                                                              First Class Mail
Chartered Organization         Taft Midway Lodge 426 F Am                                     Southern Sierra Council 030                     521 North St                                                 Taft, CA 93268‐2826                                                                                                      First Class Mail
Chartered Organization         Taft Pta                                                       Cimarron Council 474                            1002 Sequoyah Dr                                             Enid, OK 73703‐6925                                                                                                      First Class Mail
Voting Party                   Taft United Methodist Church                                   Attn: Roberta Devine                            630 N St                                                     Taft, CA 93268                                                     taftumc1@gmail.com                                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tafton Fire Co, Inc                                            Northeastern Pennsylvania Council 501           P.O. Box 500                                                 Paupack, PA 18451‐0500                                                                                                   First Class Mail
Voting Party                   Tahlequah First United Methodist Church                        Attn: Matthew D Franks                          300 W Deleware                                               Tahlequah, OK 74464                                                matt.franks@tahlequahumc.org                          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Tahoka United Methodist Church                                 Attn: Secretary / Treasurer and / Or Pastor     P.O. Box 500                                                 Tahoka, TX 79373                                                   rmedearis@lubbocklawfirm.com                          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tahosa Alumni Assoc                                            Denver Area Council 061                         P.O. Box 102938                                              Denver, CO 80250‐2938                                                                                                    First Class Mail
Voting Party                   Tahsin Industrial Corp Usa                                     111 Howard Blvd, Ste 206                        Mt Arlington, NJ 07856‐1315                                                                                                                                                           First Class Mail
Chartered Organization         Tailfin Creations LLC                                          Crater Lake Council 491                         3073 E Evans Creek Rd                                        Rogue River, OR 97537‐5541                                                                                               First Class Mail
Chartered Organization         Taipei Youth Program Assn                                      Far E Council 803                               800 Chung Shan N Rd Sec 6, 11152                             Taipei, 11135                     Taiwan                                                                                 First Class Mail
Chartered Organization         Taishoji Soto Mission                                          Aloha Council, Bsa 104                          275 Kinoole St                                               Hilo, HI 96720‐2944                                                                                                      First Class Mail
Chartered Organization         Take It Outside                                                Heart of America Council 307                    110 S Main St                                                Ottawa, KS 66067‐2328                                                                                                    First Class Mail
Chartered Organization         Takoma Park Presbyterian Church                                National Capital Area Council 082               310 Tulip Ave                                                Takoma Park, MD 20912‐4339                                                                                               First Class Mail
Chartered Organization         Talbott Steam Innovation School Psp                            Pikes Peak Council 060                          401 Dean Dr                                                  Colorado Springs, CO 80911‐2253                                                                                          First Class Mail
Chartered Organization         Talented Tenth Young Inventors                                 Pathway To Adventure 456                        8952 S May St                                                Chicago, IL 60620‐3423                                                                                                   First Class Mail
Chartered Organization         Talkington Boys & Girls Club                                   South Plains Council 694                        2603 Kewanee                                                 Lubbock, TX 79407                                                                                                        First Class Mail
Chartered Organization         Tall Pines Baptist Church                                      Coastal Carolina Council 550                    645 Treeland Dr                                              Ladson, SC 29456‐3581                                                                                                    First Class Mail
Chartered Organization         Tall Ships Portland                                            Pine Tree Council 218                           P.O. Box 517                                                 Portland, ME 04112‐0517                                                                                                  First Class Mail
Voting Party                   Talladega First United Methodist Church                        First United Methodist Church                   400 East St S                                                Talladega, AL 35160                                                firstunitedme260@bellsouth.net; schastain@tcboe.org   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tallahassee Exchange Club                                      Suwannee River Area Council 664                 P.O. Box 1371                                                Tallahassee, FL 32302‐1371                                                                                               First Class Mail
Chartered Organization         Tallahassee Heights United Methodist                           Suwannee River Area Council 664                 3004 Mahan Dr                                                Tallahassee, FL 32308‐5506                                                                                               First Class Mail
Chartered Organization         Tallahassee Heights United Methodist                           Suwannee River Area Council 664                 3004 Mahan Dr                                                Tallahassee, FL 32308‐5506                                                                                               First Class Mail
Chartered Organization         Tallahassee Police Dept                                        Suwannee River Area Council 664                 234 E 7th Ave                                                Tallahassee, FL 32303‐5519                                                                                               First Class Mail
Voting Party                   Tallapoosa First                                               c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                                     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tallassee Fire Dept                                            Tukabatchee Area Council 005                    123 N Ann Ave                                                Tallassee, AL 36078‐1301                                                                                                 First Class Mail
Firm                           Tamaki Law Offices                                             Bryan G Smith                                   1340 N 16th Ave                                              Yakima, WA 98902                                                   julie@tamakilaw.com                                   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Firm                           Tamaki Law Offices                                             Kaitlyn Vail                                    2820 Northup Way #235                                        Bellevue, WA 98004                                                 kvail@tamakilaw.com                                   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tamalpais Valley Community District                            Marin Council 035                               305 Bell Ln                                                  Mill Valley, CA 94941‐4037                                                                                               First Class Mail
Voting Party                   Tamara G Boggs                                                 P O Box 266                                     Plymouth, IN 46563                                                                                                                                                                    First Class Mail
Voting Party                   Tamara L Cox                                                   9351 E 300 S                                    Oxford, IN 47971                                                                                                                tamaralcox04@gmail.com                                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tamarack Hollow                                                Western Massachusetts Council 234               P.O. Box 115                                                 Windsor, MA 01270‐0115                                                                                                   First Class Mail
Chartered Organization         Tamarack Pto                                                   Sequoia Council 027                             1000 S Union Ave                                             Avenal, CA 93204‐2046                                                                                                    First Class Mail
Chartered Organization         Tamkeen                                                        Chief Seattle Council 609                       13016 NE 87th St                                             Kirkland, WA 98033‐5944                                                                                                  First Class Mail
Firm                           Tamming Law                                                    John A. Tamming                                 903 2nd Ave, West                                            Owensound, ON NYJ41H8                                              john@tamminglaw.com                                   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tampa Bay Blvd Pta                                             Greater Tampa Bay Area 089                      3111 N Tampa St                                              Tampa, FL 33603‐5759                                                                                                     First Class Mail
Chartered Organization         Tampa Fire Rescue                                              Greater Tampa Bay Area 089                      808 E Zack St                                                Tampa, FL 33602‐3530                                                                                                     First Class Mail
Chartered Organization         Tampa Housing And Tampa Police Dept                            Greater Tampa Bay Area 089                      1800 N Rome Ave                                              Tampa, FL 33607‐4422                                                                                                     First Class Mail
Chartered Organization         Tampa Housing Authority                                        Greater Tampa Bay Area 089                      110 E Kirby St                                               Tampa, FL 33604‐4125                                                                                                     First Class Mail
Chartered Organization         Tampa Interbay Rotary                                          Greater Tampa Bay Area 089                      P.O. Box 320843                                              Tampa, FL 33679‐2843                                                                                                     First Class Mail
Chartered Organization         Tampa Police Dept                                              Greater Tampa Bay Area 089                      116 S 34th St                                                Tampa, FL 33605‐6260                                                                                                     First Class Mail
Chartered Organization         Tampa Sailing Squadron                                         Greater Tampa Bay Area 089                      P.O. Box 3277                                                Apollo Beach, FL 33572‐1002                                                                                              First Class Mail
Chartered Organization         Tanager Place                                                  Hawkeye Area Council 172                        2309 C St Sw                                                 Cedar Rapids, IA 52404‐3707                                                                                              First Class Mail
Chartered Organization         Tanganyika Wildlife Park                                       Quivira Council, Bsa 198                        1000 S Hawkins Ln                                            Goddard, KS 67052                                                                                                        First Class Mail
Chartered Organization         Tangelo Park Elementary School Pta                             Central Florida Council 083                     5115 Anzio St                                                Orlando, FL 32819‐8407                                                                                                   First Class Mail
Chartered Organization         Tanglewood Elementary                                          Southwest Florida Council 088                   1620 Manchester Blvd                                         Fort Myers, FL 33919‐2018                                                                                                First Class Mail
Chartered Organization         Tanker Airlift Control Ctr Booster Club                        Greater St Louis Area Council 312               402 Scott Dr                                                 Scott Afb, IL 62225‐5325                                                                                                 First Class Mail
Firm                           Tanner & Ortega LLP                                            Hugo Ortega/Howard Tanner                       299 Broadway, Ste 1700                                       New York, NY 10007                                                 hortega@tannerortega.com                              Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tanner Chapel Ame Church                                       Grand Canyon Council 010                        20 S 8th St                                                  Phoenix, AZ 85034‐2241                                                                                                   First Class Mail
Chartered Organization         Tanner Elementary Pto                                          Greater Alabama Council 001                     12067 Dowd St                                                Tanner, AL 35671‐4500                                                                                                    First Class Mail
Chartered Organization         Tanner Williams Utd Methodist Church                           Mobile Area Council‐Bsa 004                     1550 Grand Bay Wilmer Rd N                                   Mobile, AL 36608‐8631                                                                                                    First Class Mail
Chartered Organization         Tanners Grove Utd Methodist Church                             Piedmont Council 420                            P.O. Box 445                                                 Forest City, NC 28043‐0445                                                                                               First Class Mail
Chartered Organization         Tanque Verde Lutheran Church                                   Catalina Council 011                            8625 E Tanque Verde Rd                                       Tucson, AZ 85749‐8918                                                                                                    First Class Mail
Chartered Organization         Tanque Verde Ward ‐ Lds Rincon Stake                           Catalina Council 011                            9555 E Snyder Rd                                             Tucson, AZ 85749                                                                                                         First Class Mail
Chartered Organization         Tanque Verde Youth Services, Inc                               Catalina Council 011                            2141 N Tanque Verde Loop Rd                                  Tucson, AZ 85749‐8533                                                                                                    First Class Mail
Voting Party                   Tanya Acker                                                    c/o Boy Scouts of America                       Attn: Chase Koontz                                           1325 W Walnut Hill Ln             Irving, TX 75015                 chase.koontz@scouting.org                             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tapp Memorial Methodist Church                                 Caddo Area Council 584                          P.O. Box 35                                                  New Boston, TX 75570‐0035                                                                                                First Class Mail
Voting Party                   Tapp Umc                                                       Attn: Rev Tommy Earl Burton                     715 S Mccoy Blvd                                             New Boston, TX 75570                                               tappumcoffice@gmail.com                               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tapply‐Thompson Community Center                               Daniel Webster Council, Bsa 330                 30 N Main St                                                 Bristol, NH 03222‐3512                                                                                                   First Class Mail
Chartered Organization         Taras Corp, Inc                                                Silicon Valley Monterey Bay 055                 573 Hacienda Dr                                              Scotts Valley, CA 95066‐3308                                                                                             First Class Mail
Voting Party                   Target Creative Group, Inc                                     Target Creative Group, Inc                      151 N Nobhill Rd                                             Plantation, FL 33324                                               standon2@aol.com                                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tarheel Challenge Academy                                      Central N Carolina Council 416                  215 N Main St                                                New London, NC 28127‐9186                                                                                                First Class Mail
Chartered Organization         Tarheel Challenge Academy                                      Cape Fear Council 425                           P.O. Box 39                                                  Salemburg, NC 28385‐0039                                                                                                 First Class Mail
Chartered Organization         Tarkio Rotary Club                                             Attn: Craig Livengood                           411 N 9th St                                                 Tarkio, MO 64491‐1283                                                                                                    First Class Mail
Voting Party                   Tarpon Springs First United Methodist Church                   c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                                     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tarrant City School System                                     Greater Alabama Council 001                     1318 Alabama St                                              Tarrant, AL 35217‐3035                                                                                                   First Class Mail
Chartered Organization         Tarrant City School System                                     Greater Alabama Council 001                     1318 Alabama St                                              Tarrant, AL 35217‐3035                                                                                                   First Class Mail
Chartered Organization         Tarrant Co Assn For Christian Scouting                         Longhorn Council 662                            1206 Oakwood Trl                                             Southlake, TX 76092‐9232                                                                                                 First Class Mail
Chartered Organization         Tarrant Elementary After School Program                        Greater Alabama Council 001                     1269 Portland St                                             Birmingham, AL 35217‐3008                                                                                                First Class Mail
Voting Party                   Tarrytown United Methodist Church                              Attn: Business Administrator ‐ Vicki L Aycock   2601 Exposition Blvd                                         Austin, TX 78703                                                   vaycock@tumc.church                                   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tarver Elementary Pto                                          Denver Area Council 061                         3500 Summit Grove Pkwy                                       Thornton, CO 80241‐1322                                                                                                  First Class Mail
Voting Party                   Tascosa Office Machines                                        126 S 2nd St                                    Raton, NM 87740‐3906                                                                                                                                                                  First Class Mail
Chartered Organization         Tates Creek Christian Church                                   Blue Grass Council 204                          3150 Tates Creek Rd                                          Lexington, KY 40502‐2955                                                                                                 First Class Mail
Chartered Organization         Tates Creek Presbyterian Church                                Blue Grass Council 204                          3900 Rapid Run Dr                                            Lexington, KY 40515‐1800                                                                                                 First Class Mail
Chartered Organization         Tau Beta Pi Michigan Gamma Chapter                             Southern Shores Fsc 783                         1301 Beal Ave                                                Ann Arbor, MI 48109‐2122                                                                                                 First Class Mail
Chartered Organization         Taunton Lodge Of Elks 150                                      Narragansett 546                                119 High St                                                  Taunton, MA 02780                                                                                                        First Class Mail
Voting Party                   Taylor Chapel United Methodist Church                          Attn: Lawrence Bennett Ewing                    10145 Maysville Rd                                           Fort Wayne, IN 46835                                               office@taylorchapel.org                               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Taylor Chapel United Methodist Church                          Attn: Trustee Chairman, Taylor Chapel Umc       10145 Maysville Rd                                           Fort Wayne, IN 46835                                               office@taylorchapel.org                               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Taylor Lake Christian Church                                   Sam Houston Area Council 576                    1730 Old Kirby Rd                                            Seabrook, TX 77586‐4707                                                                                                  First Class Mail
Chartered Organization         Taylor Masonic Lodge 98                                        W D Boyce 138                                   119 N Wilmor Rd                                              Washington, IL 61571‐1251                                                                                                First Class Mail
Voting Party                   Taylor Memorial United Methodist Church                        Attn: Anthony Jenkins                           1188 12th St                                                 Oakland, CA 94607                                                  taylorumc@gmail.com                                   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Taylor Mill Elementary School Pta                              Dan Beard Council, Bsa 438                      5907 Taylor Mill Rd                                          Covington, KY 41015‐2362                                                                                                 First Class Mail
Chartered Organization         Taylor Pta                                                     Hawkeye Area Council 172                        720 7th Ave Sw                                               Cedar Rapids, IA 52404‐1921                                                                                              First Class Mail
Chartered Organization         Taylor Regional Hospital                                       Lincoln Heritage Council 205                    1700 Old Lebanon Rd                                          Campbellsville, KY 42718‐9615                                                                                            First Class Mail
Voting Party                   Taylor United Methodist Church (103901)                        c/o Bentz Law Firm                              Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Taylor Utd Methodist Church                                    Laurel Highlands Council 527                    610 Old National Pike                                        Brownsville, PA 15417‐9204                                                                                               First Class Mail
Chartered Organization         Taylors Bridge Grange 1066                                     Tuscarora Council 424                           4716 Taylors Bridge Hwy                                      Clinton, NC 28328‐0620                                                                                                   First Class Mail
Chartered Organization         Taylorsville Presbyterian Church                               Piedmont Council 420                            279 Main Ave Dr                                              Taylorsville, NC 28681‐4287                                                                                              First Class Mail
Voting Party                   Taylorsville Presbyterian Church, Taylorsville, North Caroli   Attn: Paul Irving Sink                          P.O. Box 507                                                 Taylorsville, NC 28681‐0507                                        tayprespastor@hotmail.com                             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Taylorsville Presbyterian Church, Taylorsville, North Caroli   P O Box 507                                     Taylorsville, NC 28681‐0507                                                                                                     tayprepastor@hotmail.com                              Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Taylorville Fire Dept                                          Abraham Lincoln Council 144                     202 N Main St                                                Taylorville, IL 62568‐1947                                                                                               First Class Mail
Chartered Organization         Taymouth Volunteer Fire Dept                                   Water and Woods Council 782                     4343 Birch Run Rd                                            Birch Run, MI 48415‐8738                                                                                                 First Class Mail
Chartered Organization         Tazewell Presbyterian Church                                   Buckskin 617                                    P.O. Box 26                                                  Tazewell, VA 24651‐0026                                                                                                  First Class Mail
Voting Party                   Tbd                                                            Trinity Episcopal Church                        220 Prospect St                                              Torrington, CT 06790                                               trinity.parish.house@snet.net                         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Tbd                                                            Tbd                                             Tbd                                                                                                                             gracecamdenrector15@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tbk Bank                                                       Longs Peak Council 062                          141 Main St                                                  Mead, CO 80542                                                                                                           First Class Mail
Chartered Organization         Tbk Bank Ssb                                                   Pikes Peak Council 060                          P.O. Box 286                                                 Stratton, CO 80836‐0286                                                                                                  First Class Mail
Voting Party                   T‐Bone Racing Enterprises LLC                                  dba Atv Parts Plus                              925 Ewart Ave                                                Beckley, WV 25801‐3750                                                                                                   First Class Mail
Chartered Organization         Tca North Elementary Pto                                       Pikes Peak Council 060                          975 Stout Rd                                                 Colorado Springs, CO 80921‐3801                                                                                          First Class Mail
Chartered Organization         Td Industrial Coverings                                        Great Lakes Fsc 272                             6220 18 1/2 Mile Rd                                          Sterling Heights, MI 48314‐3111                                                                                          First Class Mail
Chartered Organization         Tea Volunteer Fire Dept                                        Sioux Council 733                               P.O. Box 248                                                 Tea, SD 57064‐0248                                                                                                       First Class Mail
Chartered Organization         Teach Fndn‐Sside Early Childhood Ctr                           Pee Dee Area Council 552                        1615 Blanding Dr                                             Hartsville, SC 29550‐5900                                                                                                First Class Mail
Chartered Organization         Teach Foundation‐Thornwell                                     Pee Dee Area Council 552                        214 N 5th St                                                 Hartsville, SC 29550‐4136                                                                                                First Class Mail
Chartered Organization         Teach Foundation‐Washington Street                             Pee Dee Area Council 552                        214 N 5th St                                                 Hartsville, SC 29550‐4136                                                                                                First Class Mail
Chartered Organization         Teach Foundation‐West Hartsville                               Pee Dee Area Council 552                        214 N 5th St                                                 Hartsville, SC 29550‐4136                                                                                                First Class Mail
Chartered Organization         Team Eagle Foundation                                          Patriots Path Council 358                       198 Kings Rd                                                 Madison, NJ 07940‐2238                                                                                                   First Class Mail
Chartered Organization         Team Mildenhall First Sergeant Assoc                           Transatlantic Council, Bsa 802                  Unit 4835 Box 305                                            APO, AE 09459‐4835                                                                                                       First Class Mail
Chartered Organization         Team Shana                                                     Pennsylvania Dutch Council 524                  708 N President Ave                                          Lancaster, PA 17603‐2624                                                                                                 First Class Mail
Chartered Organization         Teaneck Jewish Center                                          Northern New Jersey Council, Bsa 333            70 Sterling Pl                                               Teaneck, NJ 07666‐4419                                                                                                   First Class Mail
Voting Party                   Teaneck United Methodist Church                                c/o Bradley Arant Boult Cummings, LLP           Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                                     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Teaneck Utd Methodist Church                                   Northern New Jersey Council, Bsa 333            201 Degraw Ave                                               Teaneck, NJ 07666‐4055                                                                                                   First Class Mail
Chartered Organization         Teays Valley Presbyterian Church                               Buckskin 617                                    P.O. Box 100                                                 Scott Depot, WV 25560‐0100                                                                                               First Class Mail
Chartered Organization         Teays Valley Ward                                              Buckskin 617                                    1070 Mt Vernon Rd                                            Hurricane, WV 25526                                                                                                      First Class Mail
Chartered Organization         Technology And Business Services, Inc                          Greater Los Angeles Area 033                    12615 193rd St                                               Cerritos, CA 90703‐7281                                                                                                  First Class Mail
Voting Party                   Tecumseh Cncl 439                                              326 S Thompson Ave                              Springfield, OH 45506‐1145                                                                                                                                                            First Class Mail
Chartered Organization         Tecumseh School Parent Teacher Group                           Longhouse Council 373                           5250 Longridge Rd                                            Jamesville, NY 13078‐9730                                                                                                First Class Mail
Chartered Organization         Tecumseh South Pto                                             Jayhawk Area Council 197                        3346 SE Tecumseh Rd                                          Tecumseh, KS 66542‐9559                                                                                                  First Class Mail
Voting Party                   Tecumseh United Methodist Church                               Attn: Duane Koppelman, Treasurer                605 Bishop Reed Dr                                           Tecumseh, MI 49286                                                 tumc@tc3net.com                                       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tecumseh Utd Methodist Church                                  Jayhawk Area Council 197                        334 SE Tecumseh Rd                                           Tecumseh, KS 66542‐9660                                                                                                  First Class Mail
Chartered Organization         Tecumseh‐Harrison Elementary School Pto                        Buffalo Trace 156                               2116 N 2nd St                                                Vincennes, IN 47591‐2440                                                                                                 First Class Mail
Firm                           Tedford & Associates                                           James R. Tedford                                301 E. Colorado Blvd., Ste 520                               Pasadena, CA 91101                                                 Ted@TedfordLaw.com                                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Tedford's, Inc                                                 Twin Rivers Council 364                         3439 State Route 3                                           Saranac, NY 12981‐3295                                                                                                   First Class Mail
Chartered Organization         Teen Challenge Adventure Ranch                                 Westark Area Council 016                        P.O. Box 20                                                  Morrow, AR 72749‐0020                                                                                                    First Class Mail
Chartered Organization         Teen Court / Group Of Citizens                                 Sioux Council 733                               3200 W 49th St                                               Sioux Falls, SD 57106‐2331                                                                                               First Class Mail
Chartered Organization         Teen Court Defendants                                          Sioux Council 733                               415 N Dakota Ave                                             Sioux Falls, SD 57104‐2475                                                                                               First Class Mail
Chartered Organization         Teen Court Of Northeast Louisiana                              Louisiana Purchase Council 213                  P.O. Box 999                                                 Monroe, LA 71210‐0999                                                                                                    First Class Mail
Chartered Organization         Teen Venture Center                                            Buckskin 617                                    217 Railroad Ave                                             Richlands, VA 24641‐2449                                                                                                 First Class Mail
Chartered Organization         Teens At Work                                                  Atlanta Area Council 092                        1622 Ware Ave                                                East Point, GA 30344‐3108                                                                                                First Class Mail
Chartered Organization         Tehachapi First Baptist Church                                 Southern Sierra Council 030                     1049 S Curry St                                              Tehachapi, CA 93561‐2303                                                                                                 First Class Mail
Chartered Organization         Tehachapi Kiwanis Club                                         Southern Sierra Council 030                     P.O. Box 436                                                 Tehachapi, CA 93581‐0436                                                                                                 First Class Mail
Chartered Organization         Tehachapi Police Dept                                          Southern Sierra Council 030                     200 W C St                                                   Tehachapi, CA 93561                                                                                                      First Class Mail
Chartered Organization         Tekoppel Community Group Of Citizens                           Buffalo Trace 156                               247 S Tekoppel Ave                                           Evansville, IN 47712‐4867                                                                                                First Class Mail
Firm                           Telare Law PLLC                                                George E Telquist                               1321 Columbia Park Trail                                     Richland, WA 99352                                                 george@telarelaw.com                                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Telferner United Methodist Church                              Attn: Betty Tullos                              1355 Hiller Rd                                               Inez, TX 77968                                                     alexalvarezut@gmail.com                               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Telferner United Methodist Church                              Attn: Alex Alvarez                              302 Grosvenor St                                             San Antonio, TX 78221                                              alexalvarezut@gmail.com                               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Telford VFW Post 5308                                          Cradle of Liberty Council 525                   395 W Broad St                                               Telford, PA 18969‐1932                                                                                                   First Class Mail
Chartered Organization         Temco Machinery, Inc                                           Three Fires Council 127                         1401 N Farnsworth Ave                                        Aurora, IL 60505‐1611                                                                                                    First Class Mail
Chartered Organization         Temecula CA Highway Patrol                                     California Inland Empire Council 045            27685 Commerce Center Dr                                     Temecula, CA 92590‐2521                                                                                                  First Class Mail
Chartered Organization         Temecula Catalina Island Masonic Lodge                         California Inland Empire Council 045            27895 Diaz Rd, Ste F                                         Temecula, CA 92590‐3480                                                                                                  First Class Mail
Chartered Organization         Temecula Valley Hospital                                       California Inland Empire Council 045            31700 Temecula Pkwy                                          Temecula, CA 92592‐5896                                                                                                  First Class Mail
Chartered Organization         Templar Shooting Sports                                        Middle Tennessee Council 560                    1101 S Jackson St                                            Tullahoma, TN 37388‐4383                                                                                                 First Class Mail
Chartered Organization         Temple Assoc Masonic                                           Three Fires Council 127                         130 Hwy 23                                                   Genoa, IL 60135                                                                                                          First Class Mail
Chartered Organization         Temple Baptist Church                                          Sequoyah Council 713                            P.O. Box 3100                                                Kingsport, TN 37664‐0100                                                                                                 First Class Mail
Chartered Organization         Temple Baptist Church                                          West Tennessee Area Council 559                 9105 E Van Hook St                                           Milan, TN 38358‐6534                                                                                                     First Class Mail
Chartered Organization         Temple Beit Torah                                              Pikes Peak Council 060                          522 E Madison St                                             Colorado Springs, CO 80907‐7029                                                                                          First Class Mail
Chartered Organization         Temple Beth El                                                 Seneca Waterways 397                            139 Winton Rd S                                              Rochester, NY 14610‐2945                                                                                                 First Class Mail
Chartered Organization         Temple Beth El                                                 Western Massachusetts Council 234               979 Dickinson St                                             Springfield, MA 01108‐3118                                                                                               First Class Mail
Chartered Organization         Temple Beth Hillel                                             W L A C C 051                                   12326 Riverside Dr                                           Valley Village, CA 91607‐3608                                                                                            First Class Mail
Chartered Organization         Temple Beth Israel                                             Greater Los Angeles Area 033                    3033 N Towne Ave                                             Pomona, CA 91767‐1511                                                                                                    First Class Mail
Chartered Organization         Temple Beth Shalom                                             Long Beach Area Council 032                     3635 Elm Ave                                                 Long Beach, CA 90807‐4003                                                                                                First Class Mail
Chartered Organization         Temple Beth Sholom                                             Garden State Council 690                        1901 Kresson Rd                                              Cherry Hill, NJ 08003‐2512                                                                                               First Class Mail
Chartered Organization         Temple Beth Sholom                                             Theodore Roosevelt Council 386                  401 Roslyn Rd                                                Roslyn Heights, NY 11577‐2620                                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 392 of 442
                                                                                  Case 20-10343-LSS                                                            Doc 8171                                            Filed 01/06/22                                                        Page 408 of 457
                                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                                       Service List
                                                                                                                                                                                                Served as set forth below

        Description                                                        Name                                                                                                                     Address                                                                                                                        Email                  Method of Service
Chartered Organization         Temple Beth‐El                                                         Central Florida Council 083                        579 N Nova Rd                                                    Ormond Beach, FL 32174‐4445                                                                                          First Class Mail
Chartered Organization         Temple Bnai Torah                                                      Theodore Roosevelt Council 386                     2900 Jerusalem Ave                                               Wantagh, NY 11793‐2025                                                                                               First Class Mail
Voting Party                   Temple City First United Methodist Church                              Attn: Connie Deckon                                5957 Golden West Ave                                             Temple City, CA 91780                                                           pastormartin@templecityumc.org       Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Temple Emanu‐El                                                        Catalina Council 011                               225 N Country Club Rd                                            Tucson, AZ 85716‐5233                                                                                                First Class Mail
Chartered Organization         Temple Israel                                                          Chickasaw Council 558                              1376 E Massey Rd                                                 Memphis, TN 38120‐3228                                                                                               First Class Mail
Chartered Organization         Temple Israel                                                          Greater St Louis Area Council 312                  1 Rabbi Alvan D Rubin Dr                                         St Louis, MO 63141‐7670                                                                                              First Class Mail
Chartered Organization         Temple Lodge 16 Af & Am                                                Connecticut Rivers Council, Bsa 066                9 Country Club Rd                                                Cheshire, CT 06410‐1631                                                                                              First Class Mail
Chartered Organization         Temple Lodge 46                                                        W D Boyce 138                                      2900 W Lake Ave                                                  Peoria, IL 61615‐3718                                                                                                First Class Mail
Chartered Organization         Temple Lodge No25 Af And Am                                            Pine Tree Council 218                              1138 Main St                                                     Readfield, ME 04355‐9998                                                                                             First Class Mail
Chartered Organization         Temple Masonic Lodge                                                   Atlanta Area Council 092                           40 James St                                                      Temple, GA 30179                                                                                                     First Class Mail
Chartered Organization         Temple Of Faith, Inc                                                   Central Florida Council 083                        1028 S Lake Ave                                                  Apopka, FL 32703                                                                                                     First Class Mail
Chartered Organization         Temple Of Prayer                                                       Cradle of Liberty Council 525                      1301 Hilltop Rd                                                  Pottstown, PA 19464                                                                                                  First Class Mail
Chartered Organization         Temple Oheb Shalom                                                     Baltimore Area Council 220                         7310 Park Heights Ave                                            Pikesville, MD 21208‐5436                                                                                            First Class Mail
Chartered Organization         Temple Reyim                                                           Mayflower Council 251                              1860 Washington St                                               Auburndale, MA 02466‐3008                                                                                            First Class Mail
Chartered Organization         Temple Shalom                                                          Southwest Florida Council 088                      23190 Utica Ave                                                  Punta Gorda, FL 33980‐8543                                                                                           First Class Mail
Chartered Organization         Temple Shir Shalom                                                     North Florida Council 087                          3855 NW 8th Ave                                                  Gainesville, FL 32605‐4701                                                                                           First Class Mail
Chartered Organization         Temple Sinai                                                           Cradle of Liberty Council 525                      1401 Limekiln Pike                                               Dresher, PA 19025‐1054                                                                                               First Class Mail
Chartered Organization         Temple Sinai                                                           Las Vegas Area Council 328                         9001 Hillpointe Rd                                               Las Vegas, NV 89134‐6097                                                                                             First Class Mail
Chartered Organization         Temple Terrace Post No 10140 VFW                                       Greater Tampa Bay Area 089                         8414 N 40th St                                                   Tampa, FL 33604‐2436                                                                                                 First Class Mail
Chartered Organization         Temple Terrace Presbyterian                                            Greater Tampa Bay Area 089                         420 Bullard Pkwy                                                 Temple Terrace, FL 33617‐5516                                                                                        First Class Mail
Voting Party                   Temple Terrace United Methodist                                        c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                Tampa, FL 33602                         erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Temple Terrace Utd Methodist Church                                    Greater Tampa Bay Area 089                         5030 E Busch Blvd                                                Tampa, FL 33617‐5459                                                                                                 First Class Mail
Chartered Organization         Temple Utd Methodist Church                                            Chickasaw Council 558                              4404 Sykes Rd                                                    Millington, TN 38053‐8018                                                                                            First Class Mail
Chartered Organization         Templeton‐Holy Cross Church                                            Heart of New England Council 230                   25 Lake Ave                                                      E Templeton, MA 01438                                                                                                First Class Mail
Chartered Organization         Ten Ring Shooting Org                                                  Northern Star Council 250                          12832 Able St Ne                                                 Blaine, MN 55434‐3262                                                                                                First Class Mail
Voting Party                   Ten Sleep United Methodist Church                                      Attn: Donald Dwight Morrison                       425 N Cottonwood St                                              Ten Sleep, WY 82442                                                             office@worlandumc.net                Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Tenafly United Methodist Church ‐ Tenafly                              c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200                Tampa, FL 33602                         erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Tenants Assoc Of Park Spring                                           Chester County Council 539                         1800 Park Springs Blvd                                           Spring City, PA 19475‐1656                                                                                           First Class Mail
Chartered Organization         Tenants Org Of Park Spring                                             Chester County Council 539                         1800 Park Springs Blvd                                           Spring City, PA 19475‐1656                                                                                           First Class Mail
Chartered Organization         Tenbroeck Community Club                                               Greater Alabama Council 001                        3674 Main St                                                     Fyffe, AL 35971                                                                                                      First Class Mail
Chartered Organization         Tenino Lions Club International                                        Pacific Harbors Council, Bsa 612                   P.O. Box 568                                                     Tenino, WA 98589‐0568                                                                                                First Class Mail
Chartered Organization         Tennessee Gun Country                                                  Middle Tennessee Council 560                       1435 Fort Campbell Blvd                                          Clarksville, TN 37042‐3552                                                                                           First Class Mail
Chartered Organization         Tennessee Highway Patrol                                               Middle Tennessee Council 560                       1150 Foster Ave                                                  Nashville, TN 37243‐4400                                                                                             First Class Mail
Chartered Organization         Tennisson Memorial Utd Methodist                                       Circle Ten Council 571                             313 N Church Ave                                                 Mt Pleasant, TX 75455‐4010                                                                                           First Class Mail
Chartered Organization         Tennova Healthcare ‐ Shelbyville                                       Middle Tennessee Council 560                       2835 Hwy 231 N                                                   Shelbyville, TN 37160‐7327                                                                                           First Class Mail
Chartered Organization         Tennova Healthcare‐Clarskville                                         Middle Tennessee Council 560                       651 Dunlop Ln                                                    Clarksville, TN 37040‐5015                                                                                           First Class Mail
Chartered Organization         Tennyson Center For Children                                           Denver Area Council 061                            2950 Tennyson St                                                 Denver, CO 80212‐3029                                                                                                First Class Mail
Chartered Organization         Tenth Legion Mt Valley Ruritan Club                                    Stonewall Jackson Council 763                      1037 Mauzy Athlone Rd                                            Broadway, VA 22815                                                                                                   First Class Mail
Voting Party                   Tenth Legion/Mountain Valley Ruritan                                   Attn: Terry Armentrout                             P.O. Box 348                                                     Lacey Spring, VA 22833                                                          tla387@cs.com                        Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Tenth Street Elementary Sn                                             Crossroads of America 160                          3124 E 10th St                                                   Anderson, IN 46012‐4509                                                                                              First Class Mail
Voting Party                   Teresa S Rentschler                                                    7457 Liberty Ave, P O Box 115                      Fulton, IN 46931                                                                                                                                 rentschlerfam@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Terra Linda Parent Teacher Club                                        Cascade Pacific Council 492                        1998 NW 143rd Ave                                                Portland, OR 97229‐4304                                                                                              First Class Mail
Chartered Organization         Terrace Utd Methodist Church                                           Sam Houston Area Council 576                       1203 Wirt Rd                                                     Houston, TX 77055‐6852                                                                                               First Class Mail
Chartered Organization         Terrace View Long Term Care                                            Nursing Facility                                   462 Grider St                                                    Buffalo, NY 14215‐3021                                                                                               First Class Mail
Chartered Organization         Terrain                                                                Denver Area Council 061                            701 Oakwood Dr                                                   Castle Rock, CO 80104‐1663                                                                                           First Class Mail
Chartered Organization         Terrain                                                                Denver Area Council 061                            701 Oakwood Dr                                                   Castle Rock, CO 80104‐1663                                                                                           First Class Mail
Voting Party                   Terramar Sports, Inc                                                   Attn: Sophia Pelekos                               55 Rue Louvain W, Ste 200                                        Montreal, QC H2N 1A4                                                            sophia.pelekos@lamour.com            Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Terranova Church                                                       Orange County Council 039                          7 Whatney, Ste 1                                                 Irvine, CA 92618‐2839                                                                                                First Class Mail
Chartered Organization         Terraset Parent Teacher Org                                            National Capital Area Council 082                  11411 Ridge Heights Rd                                           Reston, VA 20191‐1309                                                                                                First Class Mail
Chartered Organization         Terre Town Elementary School Pto                                       Crossroads of America 160                          2121 Boston Ave                                                  Terre Haute, IN 47805‐2806                                                                                           First Class Mail
Voting Party                   Terrell, Baugh, Salmon & Born, LLP                                     Attn: Bradley J Salmon                             700 S Green River Rd                                             Evansville, IN 47715                                                            bsalmon@twc.com                      Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Terri Haddock                                                          Address Redacted                                                                                                                                                                                                                         First Class Mail
Voting Party                   Terrie Burch                                                           3321 Arnsby Rd                                     Columbus, OH 43232                                                                                                                               terrielouburch@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Terryberry Company                                                     Attn: Brooke Lange                                 2033 Oak Industrial Dr                                           Grand Rapids, MI 49505                                                          accounts.receivable@terryberry.com   Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Terrycomm                                                              Central Florida Council 083                        P.O. Box 361725                                                  Melbourne, FL 32936‐1725                                                                                             First Class Mail
Chartered Organization         Terrytown Elementary Pto                                               Southeast Louisiana Council 214                    550 E Forest Lawn Dr                                             Terrytown, LA 70056‐4048                                                                                             First Class Mail
Chartered Organization         Terryville Congregational Church                                       Connecticut Rivers Council, Bsa 066                233 Main St                                                      Terryville, CT 06786‐5910                                                                                            First Class Mail
Chartered Organization         Terryville Fire Dept                                                   Suffolk County Council Inc 404                     19 Jayne Blvd                                                    Port Jefferson Station, NY 11776‐2934                                                                                First Class Mail
Chartered Organization         Tesuque Pta                                                            Great SW Council 412                               1555 Bishops Lodge Rd                                            Tesuque, NM 87574                                                                                                    First Class Mail
Chartered Organization         Teton County Volunteer Search And Rescue                               Attn: Mike Estes                                   P.O. Box 3852                                                    Jackson, WY 83001‐3852                                                                                               First Class Mail
Chartered Organization         Teton Stage Lines                                                      Grand Teton Council 107                            5 N 550 W                                                        Blackfoot, ID 83221‐5562                                                                                             First Class Mail
Chartered Organization         Tewksbury Congregational Church                                        The Spirit of Adventure 227                        10 East St                                                       Tewksbury, MA 01876‐1954                                                                                             First Class Mail
Chartered Organization         Texarkana Arkansas Police Dept                                         Caddo Area Council 584                             P.O. Box 1885                                                    Texarkana, TX 75504‐1885                                                                                             First Class Mail
Chartered Organization         Texarkana College Stem                                                 Caddo Area Council 584                             2500 N Robison Rd                                                Texarkana, TX 75599‐0002                                                                                             First Class Mail
Chartered Organization         Texarkana Sunrise Rotary                                               Caddo Area Council 584                             2801 Bethany Ln                                                  Texarkana, TX 75503‐1594                                                                                             First Class Mail
Chartered Organization         Texarkana Texas Police Dept                                            Caddo Area Council 584                             100 N State Line Ave                                             Texarkana, TX 75501‐5677                                                                                             First Class Mail
Chartered Organization         Texas A&M University                                                   San Antonio Police Dept                            1 University Way                                                 San Antonio, TX 78224‐3134                                                                                           First Class Mail
Chartered Organization         Texas A&M University ‐ Texarkana                                       Caddo Area Council 584                             7101 University Ave                                              Texarkana, TX 75503‐0597                                                                                             First Class Mail
Voting Party                   Texas Annual Conference, United Methodist Church                       Attn: Carol Bruse                                  5215 Main St                                                     Houston, TX 77002                                                               cbruse@txcumc.org                    Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Texas Can Academies Farmers Branch                                     Circle Ten Council 571                             2720 Hollandale Ln                                               Farmers Branch, TX 75234‐2035                                                                                        First Class Mail
Chartered Organization         Texas Can Academies Of Pleasant Grove                                  Circle Ten Council 571                             325 W 12th St                                                    Dallas, TX 75208‐6502                                                                                                First Class Mail
Chartered Organization         Texas Carpenters/Millwrights Trng Ttrust                               Sam Houston Area Council 576                       5500 Spencer Hwy                                                 Pasadena, TX 77505‐1518                                                                                              First Class Mail
Chartered Organization         Texas City Fire Dept                                                   Bay Area Council 574                               1725 N Logan St                                                  Texas City, TX 77590‐4930                                                                                            First Class Mail
Chartered Organization         Texas City High School                                                 Bay Area Council 574                               1800 9th Ave N                                                   Texas City, TX 77590‐5473                                                                                            First Class Mail
Chartered Organization         Texas City Independent School District                                 Roosevelt Wilson                                   1401 9th Ave N                                                   Texas City, TX 77590‐5447                                                                                            First Class Mail
Chartered Organization         Texas City Police Dept                                                 Bay Area Council 574                               1004 9th Ave N                                                   Texas City, TX 77590‐7407                                                                                            First Class Mail
Chartered Organization         Texas Juvenille Justice Dept                                           Circle Ten Council 571                             1131 Lavender Rd                                                 Lancaster, TX 75146‐5928                                                                                             First Class Mail
Chartered Organization         Texas Pro Lease LLC                                                    Longhorn Council 662                               11068 S US Hwy 287                                               Rhome, TX 76078‐4802                                                                                                 First Class Mail
Voting Party                   Texas Southwest Council                                                Attn: Devin Koehler                                P.O. Box 1584                                                    San Angelo, TX 76902                                                            devin.koehler@scouting.org           Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Texas Tech Uni Dept Arts & Sciences                                    South Plains Council 694                           1011 Boston Ave                                                  Lubbock, TX 79409‐9833                                                                                               First Class Mail
Chartered Organization         Texas Township Fire Dept                                               Southern Shores Fsc 783                            7110 W Q Ave                                                     Kalamazoo, MI 49009‐5951                                                                                             First Class Mail
Chartered Organization         Texas Trails Council, Bsa                                              Texas Trails Council 561                           3811 N 1st St                                                    Abilene, TX 79603‐6827                                                                                               First Class Mail
Voting Party                   Texas Workforce Commission                                             c/o Office of Attorney General                     Bankruptcy & Collections                                         P.O. Box 12548, Mc‐0008                 Austin, TX 78711                        bankruptcytax@oag.texas.gov          Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Texas Workforce Commission ‐ Rid/Sau                                   Attn: Rick Diaz                                    101 E 15th St, Rm 556                                            Austin, TX 78778‐0001                                                           rid.bankruptcy@twc.state.tx.us       Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Tg Smith Elementary Pta                                                Westark Area Council 016, 40th & Falcon            Springdale, AR 72764                                                                                                                                                                  First Class Mail
Chartered Organization         Thalia Utd Methodist Church                                            Tidewater Council 596                              4321 Virginia Beach Blvd                                         Virginia Beach, VA 23452‐1204                                                                                        First Class Mail
Chartered Organization         Thang Long Youth Education Group                                       Orange County Council 039                          11642 Dorada Ave                                                 Garden Grove, CA 92840‐5452                                                                                          First Class Mail
Chartered Organization         Thang Long Youth Education Group                                       Orange County Council 039                          11642 Dorada Ave                                                 Garden Grove, CA 92840‐5452                                                                                          First Class Mail
Chartered Organization         Thanksgiving Baptist Church                                            Tuscarora Council 424                              6701 Nc Hwy 42 E                                                 Selma, NC 27576‐6127                                                                                                 First Class Mail
Chartered Organization         Thanksgiving Lutheran Church                                           Mid‐America Council 326                            3702 370 Plz                                                     Bellevue, NE 68123‐1206                                                                                              First Class Mail
Voting Party                   Thatcher Passarellla Pc                                                Attn: David A Thatcer                              128 Ganttown Rd                                                  Turnersville, NJ 08012                                                                                               First Class Mail
Chartered Organization         The 1St Congregal Ch                                                   Canton Center                                      184 Cherry Brook Rd                                              Canton, CT 06019‐4510                                                                                                First Class Mail
Chartered Organization         The 1St Congregal Ch In Plympton, Ucc                                  Mayflower Council 251                              254 Main St                                                      Plympton, MA 02367                                                                                                   First Class Mail
Chartered Organization         The 1St Utd Methodist Ch Owasso                                        Indian Nations Council 488                         13800 E 106th St N                                               Owasso, OK 74055‐5970                                                                                                First Class Mail
Chartered Organization         The Abundant Life Church Of Christ                                     Heart of Virginia Council 602                      3700 Goodell Rd                                                  Richmond, VA 23223‐1210                                                                                              First Class Mail
Chartered Organization         The Academy At Shawnee                                                 Lincoln Heritage Council 205                       4001 Herman St                                                   Louisville, KY 40212‐2588                                                                                            First Class Mail
Chartered Organization         The Academy For Teaching & Learning                                    Palmetto Council 549                               109 Hinton St                                                    Chester, SC 29706‐2022                                                                                               First Class Mail
Chartered Organization         The Acushnet Grange 285                                                Narragansett 546                                   Main St                                                          Acushnet, MA 02743                                                                                                   First Class Mail
Chartered Organization         The Adams Center                                                       National Capital Area Council 082                  46903 Sugarland Rd                                               Sterling, VA 20164‐8520                                                                                              First Class Mail
Chartered Organization         The Aftertaste                                                         Northeast Georgia Council 101                      3557 Mcintosh Ln                                                 Snellville, GA 30039‐4842                                                                                            First Class Mail
Chartered Organization         The Al Centreville Post 1995                                           National Capital Area Council 082                  P.O. Box 300                                                     Centreville, VA 20122‐0300                                                                                           First Class Mail
Chartered Organization         The Al Eldred Memorial Post 887                                        Allegheny Highlands Council 382                    P.O. Box 134                                                     Eldred, PA 16731‐0134                                                                                                First Class Mail
Chartered Organization         The Al Failor Wagner Post 421, Inc                                     New Birth of Freedom 544                           28 Shepard Rd                                                    Newville, PA 17241                                                                                                   First Class Mail
Chartered Organization         The Al Failor Wagner Post 421, Inc                                     New Birth of Freedom 544                           P.O. Box 97                                                      Newville, PA 17241‐0097                                                                                              First Class Mail
Chartered Organization         The Al Post 77 Riddle‐Hutcheson                                        Westark Area Council 016                           P.O. Box 2084                                                    Bentonville, AR 72712‐2084                                                                                           First Class Mail
Chartered Organization         The Al Travis Moothart Post 184                                        Cascade Pacific Council 492                        P.O. Box 184                                                     Brownsville, OR 97327‐0184                                                                                           First Class Mail
Voting Party                   The Alexon Group, Inc                                                  1201 Stellar Dr                                    Oxnard, CA 93033                                                                                                                                 dbraun@alexongroup.com               Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Allen Lund Co                                                      Greater Los Angeles Area 033                       4529 Angeles Crest Hwy                                           La Canada, CA 91011‐3247                                                                                             First Class Mail
Chartered Organization         The Aloma Utd Methodist Church                                         Central Florida Council 083                        3045 Aloma Ave                                                   Winter Park, FL 32792‐3702                                                                                           First Class Mail
Chartered Organization         The American Legion Earl Graham Post 159                               Sam Houston Area Council 576                       P.O. Box 326                                                     Bryan, TX 77806‐0326                                                                                                 First Class Mail
Chartered Organization         The American Legion Gold Star Post 191                                 National Capital Area Council 082                  P.O. Box 24                                                      Mt Airy, MD 21771‐0024                                                                                               First Class Mail
Chartered Organization         The American Legion Haggin Post 521                                    Golden Empire Council 047                          6700 8th St                                                      Rio Linda, CA 95673‐2364                                                                                             First Class Mail
Chartered Organization         The American Legion Harry Doble Post 664                               Nevada Area Council 329                            P.O. Box 1112                                                    Chester, CA 96020‐1112                                                                                               First Class Mail
Chartered Organization         The American Legion High Desert Post 56                                Nevada Area Council 329                            P.O. Box 2848                                                    Carson City, NV 89702‐2848                                                                                           First Class Mail
Chartered Organization         The American Legion Post 172                                           Rio Grande Council 775                             321 S Ohio Ave                                                   Mercedes, TX 78570‐3117                                                                                              First Class Mail
Chartered Organization         The American Legion Post 179                                           Marin Council 035                                  120 Veterans Pl                                                  San Anselmo, CA 94960                                                                                                First Class Mail
Chartered Organization         The American Legion Post 25                                            Del Mar Va 081                                     P.O. Box 70                                                      Middletown, DE 19709‐0070                                                                                            First Class Mail
Chartered Organization         The American Legion Post 30                                            Montana Council 315                                31 W Main St                                                     Belgrade, MT 59714‐3716                                                                                              First Class Mail
Chartered Organization         The American Legion Post 356                                           Gulf Coast Council 773                             400 Aberdeen Pkwy                                                Panama City, FL 32405‐6456                                                                                           First Class Mail
Chartered Organization         The American Legion Post 390                                           Rio Grande Council 775                             211 W Hidalgo Ave                                                Raymondville, TX 78580‐3525                                                                                          First Class Mail
Chartered Organization         The American Legion Post 637                                           Golden Empire Council 047                          P.O. Box 1                                                       Citrus Heights, CA 95611‐0001                                                                                        First Class Mail
Voting Party                   The American Lutheran Church Of Windom                                 c/o The American Lutheran Church                   P.O. Box 188                                                     Windom, MN 56101                                                                winalc@windomnet.com                 Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The American School Of The Hague                                       Transatlantic Council, Bsa 802                     Rijksstraatweg 200                                               2241 Bx Wassenaar                       Wassenaar,                Netherlands                                        First Class Mail
Chartered Organization         The American School Of The Hague                                       Transatlantic Council, Bsa 802                     Rijksstraatweg 200                                               2241 Bx Wassenaar                       Wassenaar, 2241           Netherlands                                        First Class Mail
Chartered Organization         The Arc Nature Coast, Inc                                              Greater Tampa Bay Area 089                         6495 Mariner Blvd                                                Spring Hill, FL 34608                                                                                                First Class Mail
Chartered Organization         The Arc Of Wichita County                                              Northwest Texas Council 587                        3115 Buchanan St                                                 Wichita Falls, TX 76308‐1818                                                                                         First Class Mail
Chartered Organization         The Ark Montebello                                                     Attn: Scouting Ministry                            931 S Maple Ave                                                  Montebello, CA 90640‐5411                                                                                            First Class Mail
Chartered Organization         The Arms Room                                                          Bay Area Council 574                               3270 Gulf Fwy                                                    Dickinson, TX 77539                                                                                                  First Class Mail
Chartered Organization         The Associated Church                                                  Gamehaven 299                                      800 Havana Rd                                                    Owatonna, MN 55060‐3637                                                                                              First Class Mail
Chartered Organization         The Assumption, Blessed Virgin Mary                                    Long Beach Area Council 032                        5761 E Colorado St                                               Long Beach, CA 90814‐1900                                                                                            First Class Mail
Voting Party                   The Atonement Lutheran Church                                          1801 Park Court Pl Bldg C                          Santa Ana, CA 92701                                                                                                                              terrirobertson@pacificasynod.org     Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Baden Powell Legacy Foundation                                     Utah National Parks 591                            P.O. Box 903                                                     Vineyard, UT 84059‐0903                                                                                              First Class Mail
Chartered Organization         The Ballardvale Utd Church                                             The Spirit of Adventure 227                        23 Clark Rd                                                      Andover, MA 01810‐5654                                                                                               First Class Mail
Chartered Organization         The Baptist Temple Church                                              Buckskin 617                                       2124 9th Ave                                                     Huntington, WV 25703                                                                                                 First Class Mail
Chartered Organization         The Bareville‐Leola‐Leacock Lions Club                                 Pennsylvania Dutch Council 524                     36 Hillcrest Ave                                                 Leola, PA 17540‐1810                                                                                                 First Class Mail
Chartered Organization         The Barry Robinson Center                                              Tidewater Council 596                              443 Kempsville Rd                                                Norfolk, VA 23502‐4727                                                                                               First Class Mail
Chartered Organization         The Basheer Qusim School Ps 53 Sr                                      Greater New York Councils, Bsa 640                 360 E 168th St                                                   Bronx, NY 10456‐3706                                                                                                 First Class Mail
Chartered Organization         The Bat Cave                                                           Quapaw Area Council 018                            1155 Front St, Ste 5                                             Conway, AR 72032‐4373                                                                                                First Class Mail
Firm                           The Bauer Law Film, LLC                                                Joseph L. Bauer, Jr                                133 South 11th St, Ste 350                                       St. Louis, MO 63102                                                             jbauer@bauerlawstl.com               Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Bayou Church, Inc                                                  c/o Davidson, Meaux, Sonnier, Mcelligott, Fonten   Attn: James J Davidson, III                                      810 S Buchanan St                       Lafayette, LA 70501                     jdavidson@davidsonmeaux.com          Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Beacon Church                                                      Orange County Council 039                          1100 W Town and Country Rd, Ste 1250                             Orange, CA 92868‐4633                                                                                                First Class Mail
Chartered Organization         The Beacon: A United Methodist Church                                  Susquehanna Council 533                            P.O. Box 68                                                      Hughesville, PA 17737‐0068                                                                                           First Class Mail
Voting Party                   The Beacon: A United Methodist Church (179784)                         c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200              Pittsburgh, PA 15228                    lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Bear Creek School                                                  Chief Seattle Council 609                          8905 208th Ave Ne                                                Redmond, WA 98053‐4506                                                                                               First Class Mail
Chartered Organization         The Bethlehem Lutheran Church                                          New Birth of Freedom 544                           126 Church St                                                    Bendersville, PA 17306                                                                                               First Class Mail
Chartered Organization         The Bettendorf Rotary Club                                             Illowa Council 133                                 P.O. Box 133                                                     Bettendorf, IA 52722‐0003                                                                                            First Class Mail
Chartered Organization         The Biome Steam School                                                 Greater St Louis Area Council 312                  P.O. Box 8188                                                    St Louis, MO 63156                                                                                                   First Class Mail
Voting Party                   The Bishop And Diocese Of Colorado, A Colorado Nonprofit Corporation   1300 Washington St                                 Denver, CO 80203                                                                                                                                 alex@episcopalcolorado.org           Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           The Blake Horwitz Law Firm                                             The Blake Horwitz Law Firm                         111 W. Washington St., Ste. 1611                                 Chicago, IL 60602                                                               rkroeger@bhlfattorneys.com           Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Boeing Co                                                          Cradle of Liberty Council 525                      P.O. Box 16858                                                   Philadelphia, PA 19142‐0858                                                                                          First Class Mail
Chartered Organization         The Bolles School/Elementary                                           North Florida Council 087                          7400 San Jose Blvd                                               Jacksonville, FL 32217‐3430                                                                                          First Class Mail
Chartered Organization         The Branch School                                                      Sam Houston Area Council 576                       1424 Sherwood Forest St                                          Houston, TX 77043‐3802                                                                                               First Class Mail
Chartered Organization         The Brandermill Church                                                 Heart of Virginia Council 602                      4500 Millridge Pkwy                                              Midlothian, VA 23112‐4916                                                                                            First Class Mail
Chartered Organization         The Brick Presbyterian Church                                          Greater New York Councils, Bsa 640                 62 E 92nd St                                                     New York, NY 10128‐1316                                                                                              First Class Mail
Chartered Organization         The Bridge Church                                                      Indian Nations Council 488                         11929 S Memorial Dr                                              Bixby, OK 74008‐2030                                                                                                 First Class Mail
Chartered Organization         The Bridge Church                                                      Sequoyah Council 713                               P.O. Box 266                                                     Rogersville, TN 37857‐0266                                                                                           First Class Mail
Chartered Organization         The Bridge Church                                                      Mt Baker Council, Bsa 606                          2500 Lake Ave                                                    Snohomish, WA 98290‐1026                                                                                             First Class Mail
Chartered Organization         The Bridge Community Church                                            Dan Beard Council, Bsa 438                         7906 Alexandria Pike                                             Alexandria, KY 41001‐1190                                                                                            First Class Mail
Chartered Organization         The Bridge Community Church ‐ Stevenson                                Cascade Pacific Council 492                        P.O. Box 389                                                     Stevenson, WA 98648‐0389                                                                                             First Class Mail
Chartered Organization         The Bridge Presbyterian Church                                         Cape Fear Council 425                              497 Olde Waterford Way                                           Belville, NC 28451‐4182                                                                                              First Class Mail
Chartered Organization         The Bridge Presbyterian Church                                         Cape Fear Council 425                              1018 Lake Norman Ln                                              Leland, NC 28451‐9188                                                                                                First Class Mail
Chartered Organization         The Bridge Project Quigg Newton                                        Denver Area Council 061                            4558 Navajo St                                                   Denver, CO 80211‐2439                                                                                                First Class Mail
Chartered Organization         The Bridge Project Westwood                                            Denver Area Council 061                            855 S Irving St                                                  Denver, CO 80219‐3420                                                                                                First Class Mail
Voting Party                   The Bridge United Methodist Church (Az)                                c/o Clarke Law Firm, Plc                           Attn: Marilee Miller Clarke                                      8141 E Indian Bend Rd, Ste 105          Scottsdale, AZ 85250                    marilee@clarkelawaz.com              Email
                                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Bright School                                                      Cherokee Area Council 556                          1950 Mcdade Ln                                                   Chattanooga, TN 37405‐1527                                                                                           First Class Mail
Chartered Organization         The Brinkley Realty Group LLC                                          Atlanta Area Council 092                           4262 Clausell Ct, Ste B                                          Decatur, GA 30035‐1916                                                                                               First Class Mail
Chartered Organization         The Brotherhood St Andrew, Pohick Ch                                   National Capital Area Council 082                  9301 Richmond Hwy                                                Lorton, VA 22079‐1519                                                                                                First Class Mail
Chartered Organization         The Brotherhood‐Denver Utd Methodist Ch                                Piedmont Council 420                               3910 N Hwy 19                                                    Denver, NC 28037                                                                                                     First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                       Page 393 of 442
                                                                                   Case 20-10343-LSS                                                                               Doc 8171                                         Filed 01/06/22                                                        Page 409 of 457
                                                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                                                        Service List
                                                                                                                                                                                                                 Served as set forth below

        Description                                                         Name                                                                                                                                     Address                                                                                                                  Email                Method of Service
Chartered Organization         The Buddhist Church Of San Francisco                                                     San Francisco Bay Area Council 028                   1881 Pine St                                                  San Francisco, CA 94109‐4421                                                                                 First Class Mail
Firm                           The Bugbee Law Firm                                                                      Peter K. Taaffe                                      600 Travis St, Ste 7300                                       Houston, TX 77002                                                        ptaaffe@txattorneys.com             Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         The Burke Arts Council, Inc                                                              Piedmont Council 420                                 115 E Meeting St                                              Morganton, NC 28655‐3548                                                                                     First Class Mail
Chartered Organization         The Burke Centre Conservancy                                                             National Capital Area Council 082                    6060 Burke Centre Pkwy                                        Burke, VA 22015‐3702                                                                                         First Class Mail
Chartered Organization         The Camptown Church                                                                      Five Rivers Council, Inc 375                         P.O. Box 163                                                  Camptown, PA 18815                                                                                           First Class Mail
Chartered Organization         The Canal Winchester Lions Club                                                          Simon Kenton Council 441                             225 E Hocking St                                              Canal Winchester, OH 43110‐1187                                                                              First Class Mail
Firm                           The Carlson Law Firm, PC                                                                 Craig W. Carlson                                     100 East Central Texas Expy.                                  Killeen, TX 76541                                                        cumeller@carlsonattorneys.com       Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         The Carlyle Optimist Club                                                                Greater St Louis Area Council 312                    730 Franklin St                                               Carlyle, IL 62231‐1816                                                                                       First Class Mail
Voting Party                   The Cathedral Church Of St Paul                                                          Attn: Kirby Smith                                    2083 Sunset Cliffs Blvd                                       San Diego, CA 92107                                                      ksmith@sded.org                     Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Cathedral Church Of St Paul                                                          Attn: James P Hill, Esq, Sullivan Hill Rez & Engel   600 B St, Ste 1700                                            San Diego, CA 92101                                                      hill@sullivanhill.com               Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Cathedral Church Of St Paul                                                          c/o Sullivan Hill Rez & Engel                        Attn: James P Hill, Esq                                       600 B St, Ste 1700                       San Diego, CA 92101             Hill@SullivanHill.com               Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Cathedral Church Of St. James, Chicago                                               Attn: Robert Black                                   65 E Huron St                                                 Chicago, IL 60611                                                        rblack@saintjamescathedral.org      Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Cathedral Church Of St. James, Inc                                                   Attn: Rev Brian G Grantz                             117 N Lafayette                                               South Bend, IN 46601                                                     rmilligan@pilawyers.com             Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Cathedral Church Of St. Mark, A Utah Nonprofit Corp                                  Attn: Chancellor, Episcopal Diocese of Utah          75 S 200 E                                                    Salt Lake City, UT 84111                                                 shutchinson@episcopal‐ut.org        Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Cathedral Church Of St. Paul                                                         Attn: S Scott Hunter                                 4800 Woodward Ave                                             Detroit, MI 48201                                                        shunter@detroitcathedral.org        Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Cathedral Of Mary Our Queen R C Congregation,                                        Attn: Matthew W Oakey                                218 N Charles St, Ste 400                                     Baltimore, MD 21201                                                      moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Cathedral Of Mary Our Queen R C Congregation, Inc                                    Attn: Matthew W Oakey                                218 N Charles St, Ste 400                                     Baltimore, MD 21201                                                      moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Cathedral Of St Andrew                                                               Attn: Robert L Fitzpatrick                           229 Queen Emma Sq                                             Honolulu, HI 96813                                                       rlfitzpatrick@episcopalhawaii.org   Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Cathedral Of St John The Evangelist                                                  Attn: Rev Heather Vandeventer                        127 E 12th Ave                                                Spokane, WA 99202                                                        dean@stjohns‐cathedral.org          Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         The Cathedral Of St Thomas More                                                          National Capital Area Council 082                    3901 Cathedral Ln                                             Arlington, VA 22203‐3600                                                                                     First Class Mail
Voting Party                   The Cathedral Of St. Philip                                                              Attn: George Maxwell                                 2744 Peachtree Rd Nw                                          Atlanta, GA 30305                                                        gmaxwell@cathedralATL.org           Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         The Cathedral Of The, Incarnation                                                        Theodore Roosevelt Council 386                       50 Cathedral Ave                                              Garden City, NY 11530‐4435                                                                                   First Class Mail
Voting Party                   The Cathedral Of The, Incarnation In The Diocese Of Long Island                          Attn: Charles Janoff, Esq                            36 Cahtedral Ave                                              Garden City, NY 11530                                                    chancellor@incarnationgc.org        Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         The Catholic Church Of The Holy Trinity                                                  Patriots Path Council 358                            315 1st St                                                    Westfield, NJ 07090‐3317                                                                                     First Class Mail
Chartered Organization         The Catholic Commty                                                                      Of Christ Our Light                                  402 Kings Hwy N                                               Cherry Hill, NJ 08034‐1001                                                                                   First Class Mail
Chartered Organization         The Catholic Commty                                                                      Of the Holy Spirit                                   17 Earlington Ave                                             Mullica Hill, NJ 08062‐9418                                                                                  First Class Mail
Chartered Organization         The Catholic Community Of Meadville                                                      French Creek Council 532                             353 Pine St                                                   Meadville, PA 16335‐3237                                                                                     First Class Mail
Voting Party                   The Catholic Community Of St. Francis Xavier Roman Catholic Congregation, Incorporated   Attn: Matthew W Oakey                                218 N Charles St, Ste 400                                     Baltimore, MD 21201                                                      moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         The Catholic Family Christ The Redeemer                                                  Garden State Council 690                             318 Carl Hasselhan Dr                                         Atco, NJ 08004‐1939                                                                                          First Class Mail
Chartered Organization         The Center For Youth At School 45                                                        Seneca Waterways 397                                 1445 Clifford Ave                                             Rochester, NY 14621‐4220                                                                                     First Class Mail
Voting Party                   The Center Of Itasca                                                                     Attn: Robert P Butler                                400 N Walnut St                                               Itasca, IL 60143                                                         rev.bob.butler@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Centerburg United Methodist Church                                                   Attn: Jim Norris                                     4281 White Rd                                                 Centerburg, OH 43011                                                     jnorris50@embarqmail.com            Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         The Central Christian Church                                                             Simon Kenton Council 441                             1541 S 7th St                                                 Ironton, OH 45638‐2175                                                                                       First Class Mail
Chartered Organization         The Centre For Progressive Dentistry                                                     Grand Canyon Council 010                             9002 E Desert Cove Ave, Ste 101                               Scottsdale, AZ 85260‐6275                                                                                    First Class Mail
Chartered Organization         The Ch In Galloway                                                                       dba Creekside Church                                 5296 Schoolway Dr                                             Hilliard, OH 43026                                                                                           First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Tall Cedars                                          National Capital Area Council 082                             42530 Tall Cedars Pkwy                   Aldie, VA 20152                                                     First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Tukabatchee Area Council 005                         1515 Worthy Pl                                                Alexander City, AL 35010‐2957                                                                                First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Bynum Run Ward                                       1608 Lynndale Ct                                              Bel Air, MD 21014‐5634                                                                                       First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Pine Tree Council 218                                29 Ocean House Rd                                             Cape Elizabeth, ME 04107‐1110                                                                                First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Stonewall Jackson Council 763                        2975 Hydraulic Rd                                             Charlottesville, VA 22901                                                                                    First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Stonewall Jackson Council 763, 1st Ward              Airport Rd                                                    Charlottesville, VA 22901                                                                                    First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Stonewall Jackson Council 763                        1275 Timberwood Blvd                                          Charlottesville, VA 22911‐9095                                                                               First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Pathway To Adventure 456                             402 Longwood Dr                                               Chicago Heights, IL 60411‐1612                                                                               First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Old N State Council 070                              622 S Williamson Ave                                          Elon, NC 27244‐9220                                                                                          First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Old N State Council 070                              622 S Williamson Ave                                          Elon, NC 27244‐9220                                                                                          First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Piedmont Council 420                                 250 Mt Pleasant Church Rd                                     Forest City, NC 28043                                                                                        First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Fort Benton Branch                                   2201 St Charles St                                            Fort Benton, MT 59442                                                                                        First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Buckeye Council 436                                  250 South St                                                  Galion, OH 44833                                                                                             First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Clearfork Ward                                       250 S St Rd                                                   Galion, OH 44833‐9302                                                                                        First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Pony Express Council 311                             211 Ash St                                                    Gallatin, MO 64640‐1185                                                                                      First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Piedmont Council 420                                 2710 Redbud Dr                                                Gastonia, NC 28056                                                                                           First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Cherokee Area Council 469 469                        1104 Lee St                                                   Grove, OK 74344                                                                                              First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Gulfport Ward                                        11148 Klein Rd                                                Gulfport, MS 39560                                                                                           First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Hburg 1st Ward                                       910 S Ave                                                     Harrisonburg, VA 22801                                                                                       First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Hattiesburg                                          2215 Broadway Dr                                              Hattiesburg, MS 39402                                                                                        First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Pine Burr Area Council 304                           1618 Broadway Dr                                              Hattiesburg, MS 39402‐3201                                                                                   First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Pine Burr Area Council 304                           2502 Old Hwy 24                                               Hattiesburg, MS 39402‐8311                                                                                   First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Santa Fe Trail Council 194                           520 E 1st St                                                  Hugoton, KS 67951‐2558                                                                                       First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Great Rivers Council 653                             4618 Henwick Ln                                               Jefferson City, MO 65109‐0108                                                                                First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Mid Iowa Council 177                                 719 S Chestnut St                                             Jefferson, IA 50129‐2708                                                                                     First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Central N Carolina Council 416                       1601 Cooper Ave                                               Kannapolis, NC 28081                                                                                         First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Kannapolis Ward                                      1601 Cooper Ave                                               Kannapolis, NC 28081                                                                                         First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Three Harbors Council 636                            1444 30th Ave                                                 Kenosha, WI 53144‐2944                                                                                       First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Attn: Kernersville Ward                              953 Laplata Dr                                                Kernersville, NC 27284‐9815                                                                                  First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Calcasieu Area Council 209                           127 Sapphire Ln                                               Leesville, LA 71446                                                                                          First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Overland Trails 322                                  1407 W 13th St                                                Lexington, NE 68850‐1109                                                                                     First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Stonewall Jackson Council 763                        1340 Thornhill Rd                                             Lexington, VA 24450‐6013                                                                                     First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Stonewall Jackson Council 763                        1340 Thornhill Rd                                             Lexington, VA 24450‐6013                                                                                     First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Santa Fe Trail Council 194                           1309 N Purdue Ave                                             Liberal, KS 67901‐2357                                                                                       First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Andrew Jackson Council 303                           4078 Hwy 24 W                                                 Mccomb, MS 39648                                                                                             First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Central N Carolina Council 416                       700 E Sunset Dr                                               Monroe, NC 28112‐5865                                                                                        First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  De Soto Area Council 013, 28th & Calion              El Dorado, AR 71730                                                                                                                                                        First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  1323 Crestview Dr                                    Vermillion, SD 57069                                                                                                                                                       First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Odessa Stake‐Odessa Ward                             7851 Lutz Lake Fern Rd                                        Odessa, FL 33556‐4110                                                                                        First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Chicago Stake Orland Park Ward                       13150 S 88th Ave                                              Orland Park, IL 60462‐1400                                                                                   First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Westchester Putnam 388                               801 Kitchawan Rd                                              Ossining, NY 10562                                                                                           First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Pine Tree Council 218                                315 Skeetfield Rd                                             Oxford, ME 04270                                                                                             First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Laurel Highlands Council 527                         46 School St                                                  Pittsburgh, PA 15220‐2717                                                                                    First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Simon Kenton Council 441                             450 N Liberty St                                              Powell, OH 43065‐8063                                                                                        First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Black Hills Area Council 695 695                     2822 Canyon Lake Dr                                           Rapid City, SD 57702‐8112                                                                                    First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  5th Ward                                             1002 16th St Se                                               Rochester, MN 55904‐5379                                                                                     First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  1st Ward                                             1002 16th St Se                                               Rochester, MN 55904‐5379                                                                                     First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  4th Ward                                             2300 Viola Heights Dr Ne                                      Rochester, MN 55905‐0001                                                                                     First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  2nd Ward                                             2300 Viola Heights Dr Ne                                      Rochester, MN 55906                                                                                          First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  2nd Ward                                             2300 Viola Rd Ne                                              Rochester, MN 55906                                                                                          First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  3rd Ward                                             2300 Viola Rd Ne                                              Rochester, MN 55906                                                                                          First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  4th Ward                                             2300 Viola Heights Dr Ne                                      Rochester, MN 55906                                                                                          First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Stonewall Jackson Council 763                        7293 Farley Ln                                                Schuyler, VA 22969‐1640                                                                                      First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Central N Carolina Council 416                       700 E Sunset Dr                                               Spencer, NC 28159                                                                                            First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Pushmataha Area Council 691                          413 Abernathy Dr                                              Starkville, MS 39759‐5590                                                                                    First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Juniata Valley Council 497                           842 W Whitehall Rd                                            State College, PA 16801‐4375                                                                                 First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Juniata Valley Council 497                           842 W Whitehall Rd                                            State College, PA 16801‐4375                                                                                 First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Simon Kenton Council 441                             7655 Lemaster Rd                                              The Plains, OH 45780                                                                                         First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  California Inland Empire Council 045                 12100 Ridgecrest Rd                                           Victorville, CA 92395‐7796                                                                                   First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Calcasieu Area Council 209                           5946 Portie Rd                                                Vidor, TX 77662‐8007                                                                                         First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Longhouse Council 373                                Ives St Rd                                                    Watertown, NY 13601                                                                                          First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Cherokee Branch                                      2205 Bascomb Carmel Rd                                        Woodstock, GA 30189‐2401                                                                                     First Class Mail
Chartered Organization         The Ch Jesus Christ Lds                                                                  Black Warrior Council 006                            512 N Broad St                                                York, AL 36925‐2019                                                                                          First Class Mail
Chartered Organization         The Chapel ‐ Marlboro                                                                    Buckeye Council 436                                  8700 Edison St                                                Louisville, OH 44641‐8329                                                                                    First Class Mail
Voting Party                   The Chapel Of The Cross                                                                  Attn: Dick Taylor                                    304 E Franklin St                                             Chapel Hill, NC 27514                                                    dicktaylor@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         The Charter Hs For Law & Social Justice                                                  Greater New York Councils, Bsa 640                   1960 Dr Martin L King Jr Blvd                                 Bronx, NY 10453‐4402                                                                                         First Class Mail
Chartered Organization         The Chatfield School                                                                     Water and Woods Council 782                          231 Lake Dr                                                   Lapeer, MI 48446‐1661                                                                                        First Class Mail
Voting Party                   The Cheney United Methodist Church                                                       c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200                 Tampa, FL 33602                 erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         The Cherry River Navy, Inc                                                               Buckskin 617                                         P.O. Box 150                                                  Richwood, WV 26261‐0150                                                                                      First Class Mail
Chartered Organization         The Children Of Abraham Foundation, Inc                                                  Central Florida Council 083                          789 Baybreeze Ln                                              Altamonte Springs, FL 32714‐7529                                                                             First Class Mail
Chartered Organization         The Childrens Home Of Reading                                                            Hawk Mountain Council 528                            1010 Centre Ave                                               Reading, PA 19601‐1408                                                                                       First Class Mail
Chartered Organization         The Childrens Museum                                                                     Columbia‐Montour 504                                 2 W 7th St                                                    Bloomsburg, PA 17815‐2603                                                                                    First Class Mail
Chartered Organization         The Christian Church                                                                     Quivira Council, Bsa 198                             817 W Wheatridge Dr                                           Anthony, KS 67003‐2823                                                                                       First Class Mail
Chartered Organization         The Church @ Clayton Crossings                                                           Tuscarora Council 424                                11407 US 70 Business Hwy W                                    Clayton, NC 27520‐2207                                                                                       First Class Mail
Chartered Organization         The Church At Azle, Inc                                                                  Longhorn Council 662                                 1801 S Stewart St                                             Azle, TX 76020‐3068                                                                                          First Class Mail
Chartered Organization         The Church At Jenks                                                                      Indian Nations Council 488                           2101 W 118th St S                                             Jenks, OK 74037‐4368                                                                                         First Class Mail
Chartered Organization         The Church At Liberty Park                                                               Greater Alabama Council 001                          12001 Liberty Pkwy                                            Vestavia, AL 35242‐7510                                                                                      First Class Mail
Voting Party                   The Church At Stone River                                                                Attn: Lana Avera                                     3014 Danville Rd Sw                                           Decatur, AL 35603                                                        lana.avera@churchatstoneriver.com   Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Church At The Cross Of Grapevine, Inc                                                c/o Thompson Coe Cousins & Irons LLP                 Attn: Aaron B Michelsohn                                      700 N Pearl St, 25th Fl                  Dallas, TX 75201                amichelsohn@thompsoncoe.com         Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         The Church At War Hill South Campus                                                      Northeast Georgia Council 101                        17 N Broad St                                                 Winder, GA 30680‐1903                                                                                        First Class Mail
Chartered Organization         The Church At War Hill South Campus                                                      Northeast Georgia Council 101                        116 Sarah St                                                  Winder, GA 30680‐2027                                                                                        First Class Mail
Chartered Organization         The Church At Woodmoor                                                                   Pikes Peak Council 060                               18125 Furrow Rd                                               Monument, CO 80132‐8791                                                                                      First Class Mail
Chartered Organization         The Church In Aurora                                                                     Great Trail 433                                      146 S Chillicothe Rd                                          Aurora, OH 44202‐6801                                                                                        First Class Mail
Voting Party                   The Church Insurance Company                                                             c/o The Church Insurance Co of Vermont               210 South St                                                  Bennington, VT 05201                                                     scaruzzi@cpg.org                    Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Church Insurance Company                                                             210 South St                                         Bennington, VT 05201                                                                                                                   scarucci@cpg.org                    Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Church Insurance Company of Vermont                                                  210 South St                                         Bennington, VT 05201                                                                                                                   scaruzzi@cpg.org                    Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         The Church Of All Saints                                                                 Central Minnesota 296                                42942 125th Ave                                               Holdingford, MN 56340‐9700                                                                                   First Class Mail
Voting Party                   The Church Of Ascension                                                                  Attn: Kevin Morris                                   71 N Village Ave                                              Rockville Centre, NY 11570                                               parishadmin@ascensionrvc.org        Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   The Church Of Christ The King (Episcopal)                                                6490 Carr St                                         Arvada, CO 80004                                                                                                                       bankruptcy@messner.com              Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         The Church Of Holy Apostles                                                              Blackhawk Area 660                                   5211 Bull Valley Rd                                           Mchenry, IL 60050‐7429                                                                                       First Class Mail
Chartered Organization         The Church Of Holy Name Of Jesus Rc                                                      Greater New York Councils, Bsa 640                   245 Prospect Park W                                           Brooklyn, NY 11215‐5807                                                                                      First Class Mail
Chartered Organization         The Church Of Jesus Christ Lds 5Th Ward                                                  Gamehaven 299                                        1002 16th St Se                                               Rochester, MN 55904‐5379                                                                                     First Class Mail
Chartered Organization         The Church Of Jesus Christ Lds, Florence                                                 Pee Dee Area Council 552                             1620 Malden Dr                                                Florence, SC 29505                                                                                           First Class Mail
Chartered Organization         The Church Of Jesus Christ Lds, Florence                                                 Pee Dee Area Council 552                             1620 Malden Dr                                                Florence, SC 29505                                                                                           First Class Mail
Chartered Organization         The Church Of Jesus Christ Lds, Sumter                                                   Pee Dee Area Council 552                             1770 Hwy 15 S                                                 Sumter, SC 29150                                                                                             First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Mountaineer Area 615                                 Rr 1 Box 216M                                                 Beverly, WV 26253                                                                                            First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Cape Cod and Islands Cncl 224                        94 Freemans Way                                               Brewster, MA 02631‐2641                                                                                      First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Northwest Georgia Council 100                        455 Mcdaniel Station Rd Sw                                    Calhoun, GA 30701‐3320                                                                                       First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Washington Crossing Council 777                      9214 Landis Ln                                                East Greenville, PA 18041‐2534                                                                               First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Northern New Jersey Council, Bsa 333                 62 E Forest Ave                                               Englewood, NJ 07631‐4135                                                                                     First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Piedmont Council 420                                 4065 N Center St                                              Hickory, NC 28601                                                                                            First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Piedmont Council 420                                 1050 21st Ave Nw                                              Hickory, NC 28601‐1715                                                                                       First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Coastal Georgia Council 099                          220 Sandy Run Dr                                              Hinesville, GA 31313‐3312                                                                                    First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Three Harbors Council 636                            1444 30th Ave                                                 Kenosha, WI 53144‐2944                                                                                       First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Andrew Jackson Council 303                           P.O. Box 524                                                  Liberty, MS 39645‐0524                                                                                       First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Andrew Jackson Council 303                           P.O. Box 564                                                  Liberty, MS 39645‐0564                                                                                       First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Iroquois Trail Council 376                           6339 Hamm Rd                                                  Lockport, NY 14094                                                                                           First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Northeast Iowa Council 178                           292 Bailey Dr                                                 Manchester, IA 52057‐1844                                                                                    First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Piedmont Council 420                                 901 Bethel Rd                                                 Morganton, NC 28655‐8194                                                                                     First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Pee Dee Area Council 552                             1411 Leroy Ln                                                 Myrtle Beach, SC 29577‐5356                                                                                  First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Rip Van Winkle Council 405                           184 State Route 32 S                                          New Paltz, NY 12561                                                                                          First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Black Warrior Council 006, 18th Ave Nw               Jasper, AL 35501                                                                                                                                                           First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Black Warrior Council 006, 18th Ave Nw               Jasper, AL 35501                                                                                                                                                           First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Northwest Georgia Council 100                        Cedartown, GA 30125                                                                                                                                                        First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Greater Tampa Bay Area 089                           7851 Lutz Lake Fern Rd                                        Odessa, FL 33556‐4110                                                                                        First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Coastal Georgia Council 099                          903 Fort Howard Rd                                            Rincon, GA 31326                                                                                             First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Coastal Georgia Council 099                          613 E Montgomery Xrd                                          Savannah, GA 31406‐4965                                                                                      First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Coastal Georgia Council 099                          1200 King George Blvd                                         Savannah, GA 31419                                                                                           First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Northeastern Pennsylvania Council 501                505 Griffin Pond Rd                                           South Abington Township, PA 18411‐1300                                                                       First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Coastal Georgia Council 099                          113 Hunters Way                                               Statesboro, GA 30461‐4200                                                                                    First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Coastal Georgia Council 099                          617 Ogeechee Dr W                                             Statesboro, GA 30461‐6706                                                                                    First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Northeastern Pennsylvania Council 501                Manor Dr                                                      Trucksville, PA 18708                                                                                        First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Coastal Georgia Council 099                          317 Maple Dr                                                  Vidalia, GA 30474‐8908                                                                                       First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Samoset Council, Bsa 627                             152190 Jonquil Ln                                             Wausau, WI 54401‐5418                                                                                        First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Stonewall Jackson Council 763                        2825 Jefferson Ln                                             Waynesboro, VA 22980‐1552                                                                                    First Class Mail
Chartered Organization         The Church Of Jesus Christ Of Lds                                                        Gamehaven 299                                        120 Pleasant Hill Dr                                          Winona, MN 55987                                                                                             First Class Mail
Chartered Organization         The Church Of Jesus Christ, Lds                                                          Pee Dee Area Council 552                             981 W Carolina Ave                                            Hartsville, SC 29550‐4445                                                                                    First Class Mail
Voting Party                   The Church Of Our Lady Of Peace, Minneapolis, Minnesota                                  c/o Meier, Kennedy & Quinn, Chtd                     445 Minnesota St, Ste 2200                                    St Paul, MN 55101                                                        jgunderson@mkqlaw.com               Email
                                                                                                                                                                                                                                                                                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                        Page 394 of 442
                                                                                  Case 20-10343-LSS                                                                       Doc 8171                                                  Filed 01/06/22                                                       Page 410 of 457
                                                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                                                        Service List
                                                                                                                                                                                                                 Served as set forth below

        Description                                                      Name                                                                                                                                        Address                                                                                                                              Email                       Method of Service
Voting Party                   The Church Of Our Lady Of The Sacred Heart                               Attn: Keith B Caughlin, Esq                                 220 Sterling St                                                        Watertown, NY 13601                                                                       caughlin@schwerzmannwise.com          Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of Our Redeemer                                               Attn: Irene H Labranche                                     39518 John Mosby Hwy                                                   Aldie, VA 20105                                                                           ih.labranche@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of Our Redeemer                                               P O Box 217                                                 Aldie, VA 20105                                                                                                                                                  ih.labranche@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of Our Saviour                                                Attn: Debra Bennett                                         471 Crosby St                                                          Akron, OH 44302                                                                           info@episcopalakron.org               Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of St Alban The Martyr                                        Attn: Keith Voets                                           116‐42 Farmers Blvd                                                    St Albans, NY 11412                                                                       frkeithv@satmqueens.org               Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of St John The Baptist                                        Attn: Treasurer                                             2018 De Witt Ter                                                       Linden, NJ 07036                                                                          st.johns.linden@verizon.net           Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of St John The Divine                                         Attn: Reagan Cocke                                          2450 River Oaks Blvd                                                   Houston, TX 77019                                                                         sboue@sjd.org                         Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Church Of St Joseph                                                  Northern Star Council 250                                   1154 Seminole Ave                                                      West St Paul, MN 55118‐2020                                                                                                     First Class Mail
Chartered Organization         The Church Of St Luke                                                    San Diego Imperial Council 049                              1980 Hillsdale Rd                                                      El Cajon, CA 92019‐3846                                                                                                         First Class Mail
Voting Party                   The Church Of St Luke & St Matthew                                       520 Clinton Ave                                             Brooklyn, NY 11238                                                                                                                                               rector@stlukeandstmatthew.org         Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of St Luke Parish                                             Attn: Andre L Kydala                                        54 Old Hwy 22                                                          Clinton, NJ 08809                                                                                                               First Class Mail
Voting Party                   The Church Of St Mark                                                    1417 Union St                                               Brooklyn, NY 11213                                                                                                                                               kvitet@stmarksbrooklyn.org            Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Church Of St Paul                                                    Westmoreland Fayette 512                                    820 Carbon Rd                                                          Greensburg, PA 15601‐3914                                                                                                       First Class Mail
Chartered Organization         The Church Of St Therese Of Deephaven                                    Northern Star Council 250                                   18323 Minnetonka Blvd                                                  Wayzata, MN 55391‐3231                                                                                                          First Class Mail
Voting Party                   The Church Of St. Andrew                                                 Attn: Jay Meyers, Esq                                       10055 Yamato Rd, Ste 110                                               Boca Raton, FL 33498                                                                      jay.mblaw@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of St. Andrew                                                 40 Old Mill Rd                                              Staten Island, NY 10306                                                                                                                                          csarector@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of St. John The Evangelist, Chico, CA                         Attn: Richard B Yale                                        2341 Floral Ave                                                        Chico, CA 95926                                                                           rbyale@att.net                        Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of St. Martin                                                 Attn: Julie Diane Knudsen                                   1324 Estaban Ct                                                        Davis, CA 95618                                                                           dianek@calnevumc.org                  Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of St. Martin                                                 Attn: Julie Diane Knudsen                                   640 Hawthorn Ln                                                        Davis, CA 95616                                                                           dianek@calnevumc.org                  Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Church Of The Annunciation                                           Westchester Putnam 388                                      470 Westchester Ave                                                    Tuckahoe, NY 10707‐1326                                                                                                         First Class Mail
Voting Party                   The Church Of The Ascension                                              Attn: Andrea S Morse Esq                                    391 Forest Ave                                                         Staten Island, NY 10301                                                                   asmorselaw@mindspring.com             Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Church Of The Ascension Episcopal                                    Piedmont Council 420                                        726 1st Ave Nw                                                         Hickory, NC 28601‐6062                                                                                                          First Class Mail
Voting Party                   The Church Of The Ascension In The City Of New York                      12 W 11th St                                                New York, NY 10011                                                                                                                                               info@ascensionnyc.org                 Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Church Of The Assumption Bvm                                         Patriots Path Council 358                                   91 Maple Ave                                                           Morristown, NJ 07960‐5222                                                                                                       First Class Mail
Chartered Organization         The Church Of The Blessed Sacrament                                      Greater New York Councils, Bsa 640                          152 W 71st St                                                          New York, NY 10023‐4005                                                                                                         First Class Mail
Chartered Organization         The Church Of The Blessed Sacrament                                      Greater New York Councils, Bsa 640                          152 W 71st St                                                          New York, NY 10023‐4005                                                                                                         First Class Mail
Chartered Organization         The Church Of The Epiphany                                               Northern Star Council 250                                   1900 111th Ave Nw                                                      Coon Rapids, MN 55433‐3728                                                                                                      First Class Mail
Chartered Organization         The Church Of The Epiphany                                               Aloha Council, Bsa 104                                      1041 10th Ave                                                          Honolulu, HI 96816‐2210                                                                                                         First Class Mail
Chartered Organization         The Church Of The Epiphany                                               National Capital Area Council 082                           3301 Hidden Meadow Dr                                                  Oak Hill, VA 20171‐4068                                                                                                         First Class Mail
Voting Party                   The Church Of The Epiphany                                               Attn: Timothy D Blackburn                                   800 Hermitage Rd                                                       Richmond, VA 23228                                                                        epiphanyrichmond@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of The Epiphany                                               Attn: Jimmie S Deppe                                        3285 Buffalo Rd                                                        Rochester, NY 14624                                                                       coerector1@frontier.com               Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Church Of The Epiphany Of The Lord                                   Last Frontier Council 480                                   7336 W Britton Rd                                                      Oklahoma City, OK 73132‐1505                                                                                                    First Class Mail
Voting Party                   The Church Of The Good Samaritan                                         c/o Kramer Rayson LLP                                       Attn: George Arrants                                                   814 Episcopal School Way           Knoxville, TN 37932                                    garrants@kramer‐rayson.com            Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of The Good Samaritan                                         Carol Anne Long                                             425 N Cedar Bluff Rd                                                   Knoxville, TN 37923‐3699                                                                  carolannelong@comcast.net             Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Church Of The Good Shepherd                                          Northeast Georgia Council 101                               3740 Holtzclaw Rd                                                      Cumming, GA 30041‐3502                                                                                                          First Class Mail
Voting Party                   The Church Of The Good Shepherd                                          Attn: Nora Bryant & Andrea Smith                            732 Donlon Pl                                                          West Hempstead, NY 11552                                                                  gdshepherd732@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of The Good Shepherd, Inc                                     533 E Main St                                               Lexington, KY 40508                                                                                                                                              hharrison@goodshepherdlex.org         Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of The Good Shepherd, Lancaster, Sc, Umc                      Attn: Timothy Espar                                         P.O. Box 1082                                                          Lancaster, SC 29721                                                                       tespar@umcsc.org                      Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of The Good Shepherd, Lookout Mountain Tennesse               Attn: George Robinson                                       P.O. Box 145                                                           211 Franklin Rd                    Lookout Mountain, TN 37350‐1223                        george.robinson@tfit.com              Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Church Of The Holy Cross                                             Coastal Carolina Council 550                                299 Seven Farms Dr                                                     Daniel Island, SC 29492                                                                                                         First Class Mail
Voting Party                   The Church Of The Holy Faith                                             Attn: Robin Dennis Dodge                                    311 E Palace Ave                                                       Santa Fe, NM 87501                                                                        fr.robin@holyfaithchurchsf.org        Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of The Holy Trinity                                           Attn: Rector                                                316 E 88th St                                                          New York, NY 10128                                                                        jfbeddingfield@holytrinity‐nyc.org    Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Church Of The Lds                                                    Cimarron Council 474                                        419 N Eisenhower St                                                    Enid, OK 73703‐3814                                                                                                             First Class Mail
Voting Party                   The Church Of The Nativity, Greenwood                                    Attn: Perry Whites                                          P.O. Box 1006                                                          Greenwood, MS 38930                                                                       pwhites_66@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of The Nativity, Greenwood                                    Attn: Marcus M Wilson                                       190 E Capitol St, Ste 650                                              Jackson, MS 39201                                                                         mwilson@blswlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of The Nativity, Inc                                          Attn: Laura Wood                                            P.O. Box 2356                                                          Fort Oglethorpe, GA 30742                                                                 ginnycotton9@epbfi.com                Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of The Nativity, Inc                                          Attn: George R Arrants, Esq                                 814 Episcopal School Way                                               Knoxville, TN 37932                                                                       garrants@kramer‐rayson.com            Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of The Redeemer                                               Attn: Charlotte Wells                                       241 SE 2nd St                                                          Pendleton, OR 97801                                                                       rector.pendletonepiscopal@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of The Resurrection, Copley Parish                            P O Box 222                                                 Joppa, MD 21085                                                                                                                                                  gunpowderhundred@aol.com              Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Church Of The Sacred Heart                                           Northern New Jersey Council, Bsa 333                        15 Forest Pl                                                           Rochelle Park, NJ 07662‐3718                                                                                                    First Class Mail
Voting Party                   The Church Of The Sacred Heart Of Jesus                                  c/o Woods Oviatt Gilman LLP                                 Attn: Timothy P Lyster, Esq                                            1900 Bausch & Lomb Pl              Rochester, NY 14604                                    tlyster@woodsoviatt.com               Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Church Of The Saviour                                                Lake Erie Council 440                                       2537 Lee Rd                                                            Cleveland Heights, OH 44118‐4136                                                                                                First Class Mail
Voting Party                   The Church Of The Straits                                                Attn: David Wallis                                          307 N Huron Ave                                                        P.O. Box 718                       Mackinaw City, MI 49701                                davidloveslisa87@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Of The Transfiguration                                        27640 Hwy 74                                                Evergreen, CO 80538                                                                                                                                              bankruptcy@messner.com                Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Wardens & Vestrymen Of Christs Church Pensacola               c/o Diocese of the Central Gulf Coast ‐ the Episcopal Church Attn: Scott A Remington                                               125 E Intendencia St               Pensacola, FL 32502                                    sremington@clarkpartington.com        Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Wardens & Vestrymen Of Christs Church Pensacola               Attn: Sr Warden Robert Stumph                               P.O. Box 12683                                                         Pensacola, FL 32591                                                                       r.stumpf@att.net                      Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Wardens And Vestrymen                                         c/o Diocese of the Central Gulf Coast                       Attn: Scott A Remington                                                125 E Intendencia St               Pensacola, FL 32502                                    sremington@clarkpartington.com        Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Church Wardens And Vestrymen Of Christs Church In Pensacola          Attn: Sr Warden R Stumph                                    P.O. Box 12683                                                         Pensacola, FL 32591                                                                       r.stumpf@att.net                      Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Church Without Walls                                                 Sam Houston Area Council 576                                5725 Queenston Blvd                                                    Houston, TX 77084‐6409                                                                                                          First Class Mail
Firm                           The Cifarelli Law Firm, LLP                                              Thomas Cifarelli                                            7700 Irvine Center Dr, Ste. 150                                        Irvine, CA 92618                                                                          tomc@cifarellilaw.com                 Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Citizens Of Ingleside                                                Central Georgia Council 096                                 3290 Ingleside Ave                                                     Macon, GA 31204‐1968                                                                                                            First Class Mail
Voting Party                   The Coffee‐Klatsch Patrol, Inc                                           Attn: Dennis O'Connell                                      25 Laurel St                                                           Corning, NY 14830‐1937                                                                    doconn24@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Colony Police Dept                                                   Longhorn Council 662                                        5151 N Colony Blvd                                                     The Colony, TX 75056‐1219                                                                                                       First Class Mail
Chartered Organization         The Columbia Utd Methodist Church                                        Lake Erie Council 440                                       25484 Royalton Rd                                                      Columbia Station, OH 44028‐9043                                                                                                 First Class Mail
Chartered Organization         The Columubian Center Of Owatonna                                        Gamehaven 299                                               820 S Elm Ave                                                          Owatonna, MN 55060‐3337                                                                                                         First Class Mail
Chartered Organization         The Community Building Institute                                         Dan Beard Council, Bsa 438                                  800 Lafayette Ave                                                      Middletown, OH 45044‐7335                                                                                                       First Class Mail
Chartered Organization         The Community Church Of Harrington Park                                  Northern New Jersey Council, Bsa 333                        1 Spring St                                                            Harrington Park, NJ 07640‐1510                                                                                                  First Class Mail
Voting Party                   The Community Church Of Mountain Lakes                                   Attn: George Jackson                                        48 Briarcliff Rd                                                       Mountain Lakes, NJ 07046                                                                  jacksong@optionline.net               Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Community Presbyterian Church                                        Northern New Jersey Council, Bsa 333                        145 Carletondale Rd                                                    Ringwood, NJ 07456‐1611                                                                                                         First Class Mail
Chartered Organization         The Computer Guy Of Heber Springs, Inc                                   Quapaw Area Council 018                                     105 N 3rd St                                                           Heber Springs, AR 72543‐3036                                                                                                    First Class Mail
Chartered Organization         The Congregal Ch In Killingworth                                         Connecticut Rivers Council, Bsa 066                         Rte 81                                                                 Killingworth, CT 06419                                                                                                          First Class Mail
Voting Party                   The Congregational Church In Killingworth                                273 Route 81                                                Killingworth, CT 06419                                                                                                                                           kwcongchurch@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Congregational Church Of Batavia                                     Three Fires Council 127                                     21 S Batavia Ave                                                       Batavia, IL 60510‐2448                                                                                                          First Class Mail
Chartered Organization         The Congregational Church Of Christ                                      Piedmont Council 420                                        210 Melrose Ave                                                        Tryon, NC 28782‐3329                                                                                                            First Class Mail
Chartered Organization         The Congregational Church Of Huntington                                  Suffolk County Council Inc 404                              P.O. Box 304                                                           Huntington, NY 11743‐0304                                                                                                       First Class Mail
Voting Party                   The Congregational Church Of Naugatuck Ucc                               9 Div St                                                    Naugatuck, CT 06770                                                                                                                                              administrator@congonaug.org           Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Connectictut Constitution Council                                    Connecticut Rivers Council, Bsa 066                         P.O. Box 42                                                            North Stonington, CT 06359‐0042                                                                                                 First Class Mail
Voting Party                   The Convention Of The Protestant Episcopal Church In The Diocese Of TN   Attn: Rev Canon Joseph B Howard                             370 Woodmont Blvd                                                      Nashville, TN 37215                                                                       jhoward@edtn.org                      Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Coral Gables Kiwanis Youth Fndn, Inc                                 South Florida Council 084                                   333 Aragon Ave, Apt 806                                                Coral Gables, FL 33134‐5070                                                                                                     First Class Mail
Chartered Organization         The Cornerstone Church                                                   Rainbow Council 702                                         855 W 5000N Rd                                                         Bourbonnais, IL 60914‐4477                                                                                                      First Class Mail
Voting Party                   The Corporation Of The Brick Presbyterian Church                         Attn: Donald L Nagle                                        62 E 92nd St                                                           New York, NY 10128                                                                        dnagle@brickchurch.org                Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Corporation Of The Brick Presbyterian Church In The City             Attn: Don Nagle                                             62 E 92nd St                                                           New York, NY 10128                                                                        dnagle@brickchurch.org                Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Corporation Of The Episcopal Church In Utah                          A Utah Nonprofit Corp                                       Attn: Chancellor, Epsicoal Diocese of Utah                             75 S 200 E                         Salt Lake City, UT 84111                               shutchinson@episcopal‐ut.org          Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Cosmopolitan Club                                                    Coastal Georgia Council 099                                 3961 Cay Creek Rd                                                      Midway, GA 31320‐5319                                                                                                           First Class Mail
Chartered Organization         The Creative Center, Inc                                                 Mid‐America Council 326                                     10826 Emmet St                                                         Omaha, NE 68164‐2911                                                                                                            First Class Mail
Chartered Organization         The Crossing Baptist Church                                              Circle Ten Council 571                                      1060 Clay Mathis Rd                                                    Mesquite, TX 75181‐1070                                                                                                         First Class Mail
Chartered Organization         The Crossing Community Church                                            Gulf Stream Council 085                                     8103 Indrio Rd                                                         Fort Pierce, FL 34951‐1609                                                                                                      First Class Mail
Chartered Organization         The Dads Club                                                            Verdugo Hills Council 058                                   1728 Canada Blvd                                                       Glendale, CA 91208‐2913                                                                                                         First Class Mail
Voting Party                   The Dalles First United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP                       Attn: Edwin G Rice                                                     100 N Tampa St, Ste 2200           Tampa, FL 33602                                        erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Dawes Arboretum                                                      Simon Kenton Council 441                                    7770 Jacksontown Rd                                                    Newark, OH 43056‐9772                                                                                                           First Class Mail
Voting Party                   The Diocese Of Bethlehem, Inc                                            Attn: Clayton Davidson                                      100 Pine St Fl 2                                                       P.O. Box 1166                      Harrisburg, PA 17108                                   cdavidson@mcneeslaw.com               Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of Buffalo, N.Y.                                             Attn: Randall D White, Esq, Connors LLP                     1000 Liberty Bldg                                                      Buffalo, NY 14202                                                                         rdw@connorsllp.com                    Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of Camden, New Jersey                                        Attn: Richard D Trenk                                       75 Livingston Ave 2nd Fl                                               Roseland, NJ 07068                                                                        rtrenk@msbnj.com                      Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of Camden, New Jersey                                        Attn: Robert Hughes                                         631 Market St                                                          Camden, NJ 08102                                                                                                                First Class Mail
Voting Party                   The Diocese Of Los Angeles, The Episcopal Church                         Attn: Mark A Salzberg, Squire Patton Boggs (Us) LLP         2550 M St, Nw                                                          Washington, DC 20037                                                                      mark.salzberg@squirepb.com            Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of Los Angeles, The Episcopal Church                         Attn: John Harvey Taylor                                    840 Echo Park Ave                                                      Los Angeles, CA 90026                                                                     jtaylor@ladiocese.org                 Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of Northern Indiana Of Episcopal Church, Inc                 Attn: Dr Douglas Sparks                                     117 N Lafayette Blvd                                                   South Bend, IN 46601                                                                      Rmilligan@pilawyers.com               Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of Olympia, Inc                                              Attn: Hillis Clark Martin & Peterson P S                    999 3rd Ave, Ste 4600                                                  Seattle, WA 98104                                                                         brian.free@hcmp.com                   Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of Olympia, Inc                                              c/o Hillis Clark Martin & Peterson P S                      Attn: Brian C. Free                                                    999 3rd Ave, Ste 4600              Seattle, WA 91804                                      brian.free@hcmp.com                   Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of Rochester, New York                                       c/o Harris Beach Pllc                                       Attn: Philip G Spellane, Esq                                           99 Garnsey Rd                      Pittsford, NY 14534                                    pspellane@harrisbeach.com             Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of South Dakota                                              c/o Cadwell Sanford Deibert & Garry LLP                     Attn: Steven W Sanford                                                 200 E 10th St, Ste 200             Sioux Falls, SD 57104                                  ssanford@cadlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of Southeast Florida, Inc                                    c/o Shutts & Bowen LLP                                      Attn: J. Thomas Cookson                                                200 S Biscayne Blvd, Ste 4100      Miami, FL 33131                                        tcookson@shutts.com                   Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of Southeast Florida, Inc                                    525 NE 15th St                                              Miami, FL 33132                                                                                                                                                  tcookson@shutts.com                   Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of Southern Ohio                                             Attn: Rev Canon John Johanssen                              412 Sycamore St                                                        Cincinnati, OH 45202                                                                      bkatz@fbtlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of The Episcopal Church Of Louisiana                         Attn: Covert Geary                                          201 St Charles Ave                                                     New Orleans, LA 70170                                                                     mthompson@edola.org                   Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Diocese Of Trenton                                                   Attn: Steven P Goodell Esq                                  3840 Quakerbridge Rd, Ste 200                                          Hamilton, NJ 08619                                                                        sgoodell@parkermccay.com              Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Discovery Center                                                     Sequoia Council 027                                         1944 N Winery Ave                                                      Fresno, CA 93703‐2829                                                                                                           First Class Mail
Chartered Organization         The Dive Club International                                              Suffolk County Council Inc 404                              1340 Illinois Ave                                                      Bay Shore, NY 11706‐5119                                                                                                        First Class Mail
Chartered Organization         The Dowd Center                                                          Simon Kenton Council 441                                    651 W Broad St                                                         Columbus, OH 43215‐2749                                                                                                         First Class Mail
Chartered Organization         The Dragon Hill Lodge                                                    Far E Council 803                                           7 Yongsandong 5 Sa Ga                                                  Yongsan Gu                         Seoul                             Korea, Republic Of                                         First Class Mail
Chartered Organization         The Drongesen Group                                                      Oregon Trail Council 697                                    655 W 1st Ave                                                          Junction City, OR 97448‐1307                                                                                                    First Class Mail
Voting Party                   The Dryden United Methodist Church                                       Attn: Rev Pamela Carey Pastor                               9 E Main St                                                            P.O. Box 193                       Dryden, NY 13053                                       drydenumc@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Duck Company                                                         Attn: Nathan Jeremiah Carey                                 5601 Gray St                                                           Arvada, CO 80002                                                                          ncarey@duckco.com                     Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Duncan M Gray Episcopal Camp And Conference Center                   Attn: James B Ponder                                        1530 Way Rd                                                            Canton, MS 39046                                                                          bponder@dioms.org                     Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The Duncan M Gray Episcopal Camp And Conference Center                   Attn: Marcus M Wilson                                       190 E Capitol St, Ste 650                                              Jackson, MS 39201                                                                         bponder@dioms.org                     Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         The Eagles Club                                                          Pikes Peak Council 060                                      2354 Fairchild Dr 6H101                                                Usaf Academy, CO 80840‐6208                                                                                                     First Class Mail
Chartered Organization         The Edneyville Grange                                                    Daniel Boone Council 414                                    29 Arabian Ln                                                          Hendersonville, NC 28792‐7632                                                                                                   First Class Mail
Chartered Organization         The Elks Lodge 2399                                                      Las Vegas Area Council 328                                  3532 Mcculloch Blvd N                                                  Lake Havasu City, AZ 86406‐4124                                                                                                 First Class Mail
Voting Party                   The Emmanuel Baptist Church Of Overland Park, Kansas                     P O Box 75037                                               Wichita, KS 67275                                                                                                                                                Mail@KsAdvocates.com                  Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The English Evangelical Lutheran Church Of Our Saviour                   Attn: Robert A Carpentier                                   1 Pleasant Ave                                                         Port Washington, NY 11050                                                                 rcarpentier@racpclegal.com            Email
                                                                                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   The English Evangelical Lutheran Church Of Our Saviour                   Attn: Robert A Carpentier Pc                                1 Pleasant Ave                                                         P.O. Box 1424                      Port Washington, NY 11050                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                        Page 395 of 442
                                                                                     Case 20-10343-LSS                                                               Doc 8171                                   Filed 01/06/22                                                     Page 411 of 457
                                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                                    Service List
                                                                                                                                                                                             Served as set forth below

        Description                                                       Name                                                                                                                   Address                                                                                                               Email                   Method of Service
Voting Party                   The English Evangelical Lutheran Church Of Our Saviour                    Attn: Robert A Carpentier                             12 Franklin Ave                                         Port Washington, NY 11050                                                                                    First Class Mail
Chartered Organization         The Enlisted Assoc Chapter 46                                             Longs Peak Council 062                                P.O. Box 1864                                           Cheyenne, WY 82003‐1864                                                                                      First Class Mail
Chartered Organization         The Episc Ch St Francis Assisi                                            Greater Alabama Council 001                           3545 Cahaba Valley Rd                                   Pelham, AL 35124‐3527                                                                                        First Class Mail
Chartered Organization         The Episc Ch, Good Shepherd                                               Circle Ten Council 571                                11122 Midway Rd                                         Dallas, TX 75229‐4118                                                                                        First Class Mail
Voting Party                   The Episcopal Bishop Of CA, A Corporation Sole                            Attn: James Forsyth                                   1055 Taylor St                                          San Francisco, CA 94108                                               jimf@diocal.org                        Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Cathedral Of The, Incarnation                               Attn: Rob Boulter                                     4 E University Pkwy                                     Baltimore, MD 21218                                                   office@incarnationbmore.org            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church                                                      c/o Diocese of the Central Gulf Coast                 Attn: Scott A Remington                                 125 E Intendencia St             Pensacola, FL 32502                  sremington@clarkpartington.com         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church                                                      Norman Kurt Barnes                                    815 2nd Ave                                             New York, NY 10017                                                    kbarnes@episcopalchurch.org            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church                                                      c/o Squire Patton Boggs (Us) LLP                      Attn: Mark A Salzberg                                   2550 M St NW                     Washington, DC 20037                 kbarnes@episcopalchurch.org            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church In Hawai'I                                           Attn: Robert L Fitzpatrick                            229 Queen Emma Sq                                       Honolulu, HI 96813                                                    rlfitzpatrick@episcopalhawaii.org      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church In Hawai'i                                           Attn: Mark A Salzberg, Squire Patton Boggs (Us) LLP   2550 M St Nw                                            Washington, DC 20037                                                  mark.salzberg@squirepb.com             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church In The Diocese Of CA                                 Attn: James Forsyth                                   1055 Taylor St                                          San Francisco, CA 94108                                               jimf@diocal.org                        Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church In The Diocese of El Camino Real                     Diocese of El Camino Real, Attn: Chancellor           P.O. Box 689                                            Salinas, CA 93902                                                     chancellor@realepiscopal.org           Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church In The Diocese Of Florida, Inc                       Attn: Samuel Johnson Howard                           325 N Market St                                         Jacksonville, FL 32202                                                jhoward@diocesefl.org                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church In The Diocese Of Florida, Inc                       c/o Rogers Towers, Pa                                 Attn: Betsy C Cox, Esq                                  1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207               bcox@rtlaw.com                         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church In The Diocese Of Lexington, Inc                     P O Box 610                                           Lexington, KY 40588                                                                                                           diolex@diolex.org                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church In The Diocese Of N CA                               Attn: Barbara Jewell                                  350 University Ave, Ste 280                             Sacramento, CA 95825                                                  Jacqi@norcalepiscopal.org              Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church In The Diocese Of N CA                               Attn: Barbara Jewell                                  438 Lori Dr                                             Benicia, CA 94510                                                     bjewell@gagenmccoy.com                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Episcopal Church Of                                                   St Martin In the Fields, Inc                          3110 Ashford Dunwoody Rd Ne                             Brookhaven, GA 30319‐2972                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of Christ The King                                   1930 Brookdale Rd                                     Windsor Mill, MD 21244                                                                                                                                               First Class Mail
Chartered Organization         The Episcopal Church Of St Anne                                           Greater Yosemite Council 059                          1020 W Lincoln Rd                                       Stockton, CA 95207‐2516                                                                                      First Class Mail
Voting Party                   The Episcopal Church Of St Francis Of Assisi In Novato, Ca                c/o Borowsky & Hayes LLP                              Attn: Christopher Hayes                                 101 Mission St, Ste 1640         San Francisco, CA 94105              christopher.hayes@borowsky.com         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of St Francis Of Assisi In Novato, Cal               Attn: Stacey Grossman                                 967 5th St                                              Novato, CA 94945                                                      christopher.hayes@borowsky.com         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of St Francis Of Assisi Indian Springs               c/o Diocese of Alabama                                Attn: Rev Rob Morpeth                                   521 N 20th St                    Birmingham, AL 35203                 rmorpeth@dioala.org                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of St Francis Of Assisi Indian Springs               Attn: Rev James L Mcadans                             3545 Cahaba Valley Rd                                   Indian Springs, AL 35124                                              rector@saintfrancisindiansprings.org   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of St James The Less                                 10 Church Ln                                          Scarsdale, NY 10583                                                                                                           finance@stjamesscarsdale.org           Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of St Mary The Virgin In San Francis                 Attn: Christopher J Hayes                             2325 Union St                                           San Francisco, CA 94123                                               david@smvsf.org                        Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of St Peter + St Paul, Inc                           Attn: Thomas Mimms Jr                                 1795 Johnson Ferry Rd                                   Marietta, GA 30062                                                    tpnmphrey@peterandpaul.org             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of St. Andrew, Inc                                   Attn: Rev Richard Lightsey                            602 W Superior St                                       Kokomo, IN 46901                                                      rmilligan@pilawyers.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of St. Andrew‐The‐Apostle                            Attn: Kirby Smith                                     2083 Sunset Cliffs Blvd                                 San Diego, CA 92107                                                   ksmith@edsd.org                        Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of St. Andrew‐The‐Apostle                            Attn: James P Hill, Esq, Sullivan Hill Rez & Engel    600 B St, Ste 1700                                      San Diego, CA 92101                                                   hill@sullivanhill.com                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of St. Andrew‐The‐Apostle                            c/o Sullivan Hill Rez & Engel                         Attn: James P Hill, Esq                                 600 B St, Ste 1700               San Diego, CA 92101                  hill@sullivanhill.com                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of St. James The Less                                Attn: Astrid Joy Storm                                10 Church Ln                                            Scarsdale, NY 10583                                                   finance@stjamesscarsdale.org           Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of St. Michael The Archangel                         2025 Bellefonte Dr                                    Lexington, KY 40503                                                                                                           rector@saint‐michaels.org              Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of St. Simon & St. Jude, Irmo, Sc                    Attn: The Rev Mark Abdelnour                          1110 Kinley Rd                                          Irmo, SC 29063‐9633                                                   frmark@ecsssj.org                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Advent                                        Attn: Rick Effinger                                   815 Piedmont Dr                                         Tallahassee, FL 32312                                                 frick@advent‐church.org                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Advent                                        c/o Rogers Towers, Pa                                 Attn: Betsy C Cox, Esq                                  1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207               bcox@rtlaw.com                         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Advent                                        9629 Norfolk Ave                                      Norfolk, VA 23503                                                                                                             adventnorfolk@msn.com                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Episcopal Church Of The Annunciation                                  Longhorn Council 662                                  P.O. Box 292967                                         Lewisville, TX 75029‐2967                                                                                    First Class Mail
Chartered Organization         The Episcopal Church Of The Ascension                                     Greater Alabama Council 001                           1912 Canyon Rd                                          Vestavia Hills, AL 35216‐1753                                                                                First Class Mail
Voting Party                   The Episcopal Church Of The Ascension                                     Attn: Marcus M Wilson                                 190 E Capitol St, Ste 650                               Jackson, MS 39201                                                     mwilson@blswlaw.com                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Ascension                                     Attn: Matthew Martin Gorman                           25 E Laurel Ave                                         Sierra Madre, CA 91024                                                mab@ascension‐sierramadre.com          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Ascension                                     The Episcopal Diocese of Western North Carolina       900B Centre Park Dr                                     Asheville, NC 28805                                                   greg@h2lawgroup.com                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Ascension                                     c/o Hilderbran Hitchcock, PA                          Attn: Gregory Hilderbran                                301 College St, Ste 110          Asheville, NC 28801                  greg@h2lawgroup.com                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Ascension                                     c/o Ghma Law                                          Attn: David R Hillier                                   P.O. Box 3235                    Asheville, NC 28802                  dhillier@ghma.law                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Ascension                                     Attn: Barbara Hammer                                  3600 Arlington Loop                                     Hattiesburg, MS 39402                                                 barbarajhammer@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Ascension, Birmingham, Al                     Diocese of Alabama,Attn: Rev Rob Morpeth              521 N 20th St                                           Birmingham, AL 35203                                                  rmorpeth@dioala.org                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Ascension, Birmingham, Al                     Attn: The Rev Jack Alvey                              1912 Canyon Rd                                          Vestavia Hills, AL 35216                                              jackalvey@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Ascension, Montgomery, Al                     Attn: Rev Rob Morpeth, Diocese of Alabama             521 N 20th St                                           Birmingham, AL 35203                                                  rmorpeth@dioala.org                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Ascension, Montgomery, Al                     Attn: Andrew M Akin                                   315 Clanton Rd                                          Montgomery, AL 36104‐5598                                             andrewmacakin@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Creator                                       Attn: Robert M Blanton                                1445 Clinton‐Raymond Rd                                 Clinton, MS 39056                                                     rmblanton1@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Creator                                       Attn: Marcus M Wilson                                 190 E Capitol St, Ste 650                               Jackson, MS 39201                                                     mwilson@blswlaw.com                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Creator                                       Attn: Robert Blanton                                  1445 Clinton‐Raymond Rd                                 Clinton, MS 39056                                                     mblanton1@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Ephiphany                                     Attn: the Rev Aaron D Raulerson                       P.O. Box 116                                            Guntersville, AL 35976‐0116                                           fatheraaron@epiphanyguntersville.org   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Episcopal Church Of The Epiphany                                      Circle Ten Council 571                                421 Custer Rd                                           Richardson, TX 75080‐5628                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Epiphany                                      Attn: Senior Warden                                   3301 Hidden Meadow Dr                                   Oak Hill, VA 20171                                                    srwarden@epiphanyec.org                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Epiphany                                      Attn: James Burton Palmer                             115 Jefferson Ave                                       Danville, VA 24541‐1934                                               epiphany.danville.office@gmail.com     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Epiphany, Guntersville, Al                    Attn: Rob Morpeth, Diocese of Alabama                 521 N 20th St                                           Birmingham, AL 35203                                                  fatheraaron@epiphanyguntersville.org   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Good Shepherd                                 Attn: Stephen Hutchinson                              75 S 200 E                                              Salt Lake City, UT 84111                                              shutchinson@episcopal‐ut.org           Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Good Shepherd                                 4206 Springhill Ave                                   Richmond, VA 23225                                                                                                            info@goodshepherdrichmond.org          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Good Shepherd                                 Channing Robinson Smith                               3201 Windor Rd                                          Austin, TX 78703                                                      channing@gsaustin.org                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Good Shepherd                                 P O Box 5176                                          Austin, TX 78763                                                                                                              channing@gsaustin.org                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Good Shepherd Of Lake Wales Florida           221 S 4th St                                          Lake Wales, FL 33853                                                                                                          office@goodshepherdnews.com            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Good Shepherd, A Utah Nonprofit Corporation   c/o Episcopal Diocese of Utah                         Attn: Chancellor                                        75 S 200 E                       Salt Lake City, UT 84111             shutchinson@episcopal‐ut.org           Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Good Shepherd, Sioux Falls, Sd                c/o Cadwell Sanford Deibert & Garry LLP               Attn: Steven W Sanford                                  200 E 10th St, Ste 200           Sioux Falls, SD 57104                ssanford@cadlaw.com                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Heavenly Rest                                 Attn: Tapua D Tunduwani                               1085 5th Ave                                            New York, NY 10128                                                    ttunduwani@heavenlyrest.org            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Holy Comforter, Charlotte, Nc                 Attn: Mary Lindsay Evans                              2919 Wheelock Rd                                        Charlotte, NC 28211                                                   mlevans@lodestarlaw.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Holy Comforter, Charlotte, Nc                 Attn: Holy Comforter Parish Administrator             2701 Park Rd                                            Charlotte, NC 28209                                                   hollyw@holycomforter‐charlotte.org     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Episcopal Church Of The Holy Spirit                                   Alamo Area Council 583                                11093 Bandera Rd                                        San Antonio, TX 78250‐6814                                                                                   First Class Mail
Voting Party                   The Episcopal Church Of The Redeemer                                      Attn: David James Ware                                5603 N Charles St                                       Baltimore, MD 21210                                                   dware@redeemerbaltimore.org            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Resurrection                                  251 E Lake Brantley Dr                                Longwood, FL 32779                                                                                                            tgarland@resurrectionlongwood.org      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Resurrection                                  Attn: Harry Carling Fogler III                        3220 Lexington Rd                                       Nicholasville, KY 40356                                               resurrection@outlook.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Resurrection In Pleasant Hill, C              Attn: The Rev Liz Tichenor                            399 Gregory Ln                                          Pleasant Hill, CA 94523                                               liz@resurrectionph.org                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Church Of The Resurrection In White County                  1755 Duncan Bridge Rd                                 Sautee, GA 30571                                                                                                              frscott3@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Episcopal Church Of Transfiguration                                   National Capital Area Council 082                     13925 New Hampshire Ave                                 Silver Spring, MD 20904‐6218                                                                                 First Class Mail
Voting Party                   The Episcopal Collegiate School                                           Attn: Wright Lindsey Jennings                         Attn: John R Tisdale                                    200 W Capitol Ave, Ste 2300      Little Rock, AR 72201                jtisdale@wlj.com                       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Collegiate School                                           Attn: John R Tisdale                                  1701 Cantrell Rd                                        Little Rock, AR 72201                                                                                        First Class Mail
Voting Party                   The Episcopal Diocese Of Arizona Et Al                                    Attn: Jennifer A Reddall                              114 W Roosevelt St                                      Phoenix, AZ 85003                                                     bishopreddal@azdiocese.org             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Arizona, Et Al.                                  c/o Snell & Wilmer LLP                                400 E Van Buren St                                      Phoenix, AZ 85004                                                     breeves@swlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Arizona, Et Al.                                  c/o Snell & Wilmer LLP                                Attn: Jennifer A. Reddal                                400 E Van Buren St               Phoenix, AZ 85004                    breeves@swlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Arkansas                                         Attn: Wright Lindsay Jennings                         Attn: John Tisdale                                      200 W Capitol Ave, Ste 2300      Little Rock, AR 72201                jtisdale@wlj.com                       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Arkansas                                         Attn: John Tisdale                                    P.O. Box 164688                                         Little Rock, AR 72716                                                                                        First Class Mail
Voting Party                   The Episcopal Diocese Of Atlanta, Inc                                     Attn: Richard P Perry, Esq                            1173 Canton St                                          Roswell, GA 30076                                                     rperryesq@aol.com                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Central Pennsylvania                             Attn: Clayton Davidson                                100 Pine St Fl 2                                        P.O. Box 1166                    Harrisburg, PA 17108                 cdavidson@mcneeslaw.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese of CT and Affiliated Parishes                       c/o The Episcopal Church In Connecticut               Attn: Rev Matt Handi                                    290 Pratt St, Ste 52 3rd Fl      Meriden, CT 06450                    mhandi@episcopalct.org                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Easton                                           Attn: Patrick A Collins                               314 North St                                            Easton, MD 21601                                                      Patrick@DioceseofEaston.org            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Kansas                                           Attn: Patrick Funston                                 835 SW Polk St                                          Topeka, KS 66612                                                      apfunston@episcopal‐ks.org             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Louisiana                                        Attn: Morris Thompson Jr                              1623 7th St                                             New Orleans, LA 70115                                                                                        First Class Mail
Voting Party                   The Episcopal Diocese Of Maine                                            c/o The Episcopal Diocese of Maine / Martin           P.O. Box 4036                                           Portland, ME 04101                                                    bmartin@episcopalmaine.org             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Maryland                                         Attn: Neal C Baroody                                  201 N Charles St, Ste 2102                              Baltimore, MD 21201                                                   nbaroody@aol.com                       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Mississippi                                      Attn: Marcus M Wilson                                 190 E Capitol St, Ste 650                               Jackson, MS 39201                                                     bponder@dioms.org                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Mississippi                                      Attn: James B Ponder                                  P.O. Box 23107                                          Jackson, MS 39225‐3107                                                bponder@dioms.org                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of New York                                         Attn: Esslie Hughes                                   1047 Amsterdam Ave                                      New York, NY 10025                                                    ehughes@dioceseny.org                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of New York                                         c/o Mcgivney, Kluger, Clark & Intoccia, P C           Attn: Kevin D. Torge, Esq.                              80 Broad St, 23rd Fl             New York, NY 10004                                                          First Class Mail
Voting Party                   The Episcopal Diocese Of Oklahoma, Inc                                    Attn: Rt Rev Poulson Reed                             924 N Robinson St                                       Oklahoma City, OK 73102                                               lgraft@epiok.org                       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Oregon                                           Michael C Dotten                                      568 9th St                                              Lake Oswego, OR 97034                                                 mcdotten@msn.com                       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Oregon                                           Attn: Mark A Salzberg, Squire Patton Boggs (Us) LLP   2550 M St, Nw                                           Washington, DC 20037                                                  mark.salzberg@squirepb.com             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of San Diego                                        Attn: Kirby Smith                                     2083 Sunset Cliffs Blvd                                 San Diego, CA 92107                                                   ksmith@edsd.org                        Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of San Diego                                        Rev Kirby M Smith                                     2083 Sunset Cliffs Blvd                                 San Diego, CA 92107                                                   ksmith@edsd.org                        Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of San Diego                                        Attn: James P Hill, Esq, Sullivan Hill Rez & Engel    600 B St, Ste 1700                                      San Diego, CA 92101                                                   hill@sullivanhill.com                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of San Diego                                        c/o Sullivan Hill Rez & Engel                         Attn: James Hill, Esq                                   600 B St, Ste 1700               San Diego, CA 92101                  hill@sullivanhill.com                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Spokane, Inc                                     Attn: Bishop Gretchen Rehberg                         245 E 13th Ave                                          Spokane, WA 99202                                                     office@apokanediocess.org              Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Episcopal Diocese Of Upper South Carolina                             Attn: The Rt Rev W Andrew Waldo                       1115 Marion St                                          Columbia, SC 29201                                                    awaldo8@edusc.org                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                    Page 396 of 442
                                                                                       Case 20-10343-LSS                                                      Doc 8171                                     Filed 01/06/22                                                      Page 412 of 457
                                                                                                                                                                                              Exhibit B
                                                                                                                                                                                               Service List
                                                                                                                                                                                        Served as set forth below

        Description                                                             Name                                                                                                        Address                                                                                                                Email                  Method of Service
Voting Party                   The Episcopal Diocese Of Vermont                                c/o The Tamposi Law Group, PC                            Attn: Peter N Tamposi                                     159 Main St                         Nashua, NH 03060                   peter@tlgnh.com                       Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Episcopal Diocese Of West Tennessee                         Attn: Rev Canon Sharon Alexander                         692 Poplar Ave                                            Memphis, TN 38105                                                      salexander@episwtn.org                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Episcopal Diocese Of Western North Carolina                 900B Centrepark Dr                                       Asheville, NC 28805                                                                                                              greg@h2lawgroup.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Episcopal Diocese Of Western North Carolina                 Attn: Hilderbran Hitchcock, Pa                           301 College St, Ste 110                                   Asheville, NC 28801                                                    dhillier@ghma.law                     Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Episcopal Society Of St. Mary's                             Attn: Cecile Tucker                                      258 Concord St                                            Newton, MA 02462                                                       office@st‐marys‐episcopal.org         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Evangelical Lutheran Church                                 Northern New Jersey Council, Bsa 333                     233 S Highwood Ave                                        Glen Rock, NJ 07452‐1800                                                                                     First Class Mail
Voting Party                   The Evangelical Lutheran Church                                 c/o Capell Barnett Matalon & Schoenfeld LLP              Attn: Joseph Milano                                       1385 Broadway, 12th Fl              New York, NY 10018                 JMilano@cbmslaw.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Evangelical Lutheran Church In The Foothills                Attn: David Haxton                                       1700 Foothill Blvd                                        La Canada Flintridge, CA 91011                                         david.haxton@ymail.com                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Evangelical Lutheran Church Of The Prince Of Peace          8212 Philadelphia Rd                                     Baltimore, MD 21237                                                                                                              bldejong@verizon.net                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Evangelical Lutheran Church Of The, Incarnation             Attn: Pastor Emily Willhide                              3005 Devine St                                            Columbia, SC 29290                                                     pastoremily@incarnationlutheran.com   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Evergreen Community                                         Cascade Pacific Council 492                              935 NE 33rd Ave                                           Portland, OR 97232‐2516                                                                                      First Class Mail
Chartered Organization         The Evolution At Hyde Vly                                       dba Hyde Valley Umc                                      202 W Hyde Park Ave                                       St Joseph, MO 64504‐2056                                                                                     First Class Mail
Voting Party                   The Falls Church Episcopal                                      Attn: The Rev E Lucius Anderson III                      115 E Fairfax St                                          Falls Church, VA 22046‐2903                                            aanderson@thefallschurch.org          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Falls Church Episcopal Church                               National Capital Area Council 082                        115 E Fairfax St                                          Falls Church, VA 22046‐2903                                                                                  First Class Mail
Chartered Organization         The Family Church                                               North Florida Council 087                                2022 SW 122nd St                                          Gainesville, FL 32607‐1024                                                                                   First Class Mail
Chartered Organization         The Family Church                                               Louisiana Purchase Council 213                           100 E Boundary Ave                                        Winnfield, LA 71483‐3108                                                                                     First Class Mail
Chartered Organization         The Family School ‐ Ps 433 Sr                                   Greater New York Councils, Bsa 640                       1116 Sheridan Ave                                         Bronx, NY 10456‐4903                                                                                         First Class Mail
Chartered Organization         The Federated Church Of Brookston                               Sagamore Council 162                                     202 S Wood St                                             Brookston, IN 47923‐8065                                                                                     First Class Mail
Voting Party                   The Federated Church Of Columbus, Nebraska                      Attn: Clark Grant                                        P.O. Box 455                                              1464 27th Ave                       Columbus, NE 68602                 clark@grantattorney.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Federated Church Of Masonville                              c/o Coughlin & Gerhart LLP                               Attn: Keith A Gorgos, Esq                                 99 Corporate Dr                     Binghamton, NY 13904               kgorgos@cglawoffices.com              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Federated Church Of Stillwater                              Attn: Tracy Anna Reeves                                  P.O. Box 386                                              Stillwater, ME 04468                                                   treeves117@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Fellowship Of San Antonio                                   Alamo Area Council 583                                   23755 Canyon Golf Rd                                      San Antonio, TX 78258‐4926                                                                                   First Class Mail
Chartered Organization         The Filling Fork                                                North Florida Council 087                                102 Suwannee Ave Sw                                       Branford, FL 32008‐2749                                                                                      First Class Mail
Chartered Organization         The Firing Pin LLC                                              Iroquois Trail Council 376                               8240 Buffalo Rd                                           Bergen, NY 14416‐9444                                                                                        First Class Mail
Chartered Organization         The Firs Bible And Missionary Conference                        Mt Baker Council, Bsa 606                                4605 Cable St                                             Bellingham, WA 98229‐2618                                                                                    First Class Mail
Chartered Organization         The First Baptist Church                                        Tuscarora Council 424                                    202 S 4th St                                              Smithfield, NC 27577‐4554                                                                                    First Class Mail
Voting Party                   The First Baptist Church Of Lafayette, LA, Inc                  Attn: James J Davidson, III                              810 S Buchanan St                                         Lafayette, LA 70501                                                    jdavidson@davisonmeaux.com            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The First Baptist Church Of Lebanon                             Crossroads of America 160                                207 E Washington St                                       Lebanon, IN 46052‐2211                                                                                       First Class Mail
Voting Party                   The First Baptist Church Of Monroe, Ga, Inc                     Attn: Rev Gordon Davidson                                202 Mcdaniel St                                           Monroe, GA 30655                                                       gordon@fbcmonroe.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The First Baptist Church Of Randolph                            Mayflower Council 251                                    528 N Main St                                             Randolph, MA 02368‐3706                                                                                      First Class Mail
Chartered Organization         The First Christian Church                                      Last Frontier Council 480                                202 S 6th St                                              Chickasha, OK 73018‐3422                                                                                     First Class Mail
Chartered Organization         The First Christian Church                                      Great Smoky Mountain Council 557                         328 W Rockwood St                                         Rockwood, TN 37854‐2244                                                                                      First Class Mail
Voting Party                   The First Christian Church Of Iowa City, Iowa                   Attn: J K Robison                                        900 Lincolnshire Pl                                       Coralville, IA 52241                                                   icdisciple.pastor@gmail.com           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The First Church In Wenham                                      The Spirit of Adventure 227                              1 Arbor St                                                Wenham, MA 01984‐1401                                                                                        First Class Mail
Chartered Organization         The First Church Of Swampscott                                  The Spirit of Adventure 227                              40 Monument Ave                                           Swampscott, MA 01907‐1948                                                                                    First Class Mail
Chartered Organization         The First Church Windsor                                        Connecticut Rivers Council, Bsa 066                      107 Palisado Ave                                          Windsor, CT 06095‐2514                                                                                       First Class Mail
Chartered Organization         The First Congregational Church Of                              Cape Cod and Islands Cncl 224                            329 Route 6A                                              Yarmouth Port, MA 02675‐1817                                                                                 First Class Mail
Voting Party                   The First Congregational United Church Of Christ Of Sarasota    Attn: Rev Dr Wes Bixby                                   1031 S Euclid Ave                                         Sarasota, FL 34237                                                     pastor@uccsarasota.com                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First English Lutheran Church Richmond, Indiana             c/o Plews Shadley Racher & Braun LLP                     Attn: Josh S Tatum                                        1346 N Delaware St                  Indianapolis, IN 46202             jtatum@psrb.com                       Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First Federated Church Of Peoria                            Attn: Robert H Shultz, Jr                                3601 N Sheridan Rd                                        Peoria, IL 61604                                                       info@ffcpeoria.com                    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First Federated Church Of Peoria                            Attn: Senior Pastor                                      3601 N Sheridan Rd                                        Peoria, IL 61614                                                       barneyshultz52@gmail.com              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The First Presbyterian Church                                   Greater Niagara Frontier Council 380                     9 Paine St                                                East Aurora, NY 14052‐2355                                                                                   First Class Mail
Chartered Organization         The First Presbyterian Church                                   Patriots Path Council 358                                16 Hilltop Rd                                             Mendham, NJ 07945‐1215                                                                                       First Class Mail
Voting Party                   The First Presbyterian Church                                   Attn: Michael Talbert                                    700 Chmeketa St Ne                                        Salem, OR 97301                                                        talbert.michael@earthlink.net         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The First Presbyterian Church Mens Club                         Pathway To Adventure 456                                 302 N Dunton Ave                                          Arlington Heights, IL 60004‐5906                                                                             First Class Mail
Voting Party                   The First Presbyterian Church Of Dutch Neck                     Attn: Pastor Jan Willem Van Der Werff                    154 S Mill Rd                                             West Windsor, NJ 08550                                                 pastor@dutchneckpresbyterian.com      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First Presbyterian Church Of Marietta, Inc                  Attn: Roderick H Martin                                  279 Washington Ave Ne                                     Marietta, GA 30060‐1980                                                rmartin@cutdebt.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First Presbyterian Church Of Marietta, Inc                  c/o Roderick H Martin Law, Pc                            Attn: Roderick H Martin                                   279 Washington Ave Ne               Marietta, GA 30060                 rmartin@cutdebt.com                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First Presbyterian Church Of Marietta, Inc                  Attn: Andy Workman                                       189 Church St Ne                                          Marietta, GA 30060                                                     andyworkman@fpcmarietta.org           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First Presbyterian Church Of Pleasant Valley                Attn: Gary L Murphy                                      453 Bangall Amenia Rd                                     Stanfordville, NY 12581                                                garymurphy@millertonlawyer.com        Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First Presbyterian Church Of Pleasant Valley                Attn: Gary Murphy                                        453 Bangall Amenia Rd                                     Stanfordville, NY 12581                                                garymurphy@millertonlawyer.com        Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The First Presbyterian Church Of Sparta                         Patriots Path Council 358                                32 Main St                                                Sparta, NJ 07871‐1904                                                                                        First Class Mail
Voting Party                   The First Presbyterian Church Of Urbana, Ohio                   Attn: Ed Evans                                           116 W Court St                                            Urbana, OH 43078                                                       evansel@ctcn.net                      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The First Reformed Church                                       Westchester Putnam 388                                   18 Farragut Ave                                           Hastings On Hudson, NY 10706‐2305                                                                            First Class Mail
Voting Party                   The First Southern Baptist Church Of Coffeyville                P O Box 75037                                            Wichita, KS 67275                                                                                                                Mail@KsAdvocates.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First Umc Of Richmond Hill                                  112‐14 107th Ave                                         South Richmond Hill, NY 11419                                                                                                    umcrh@hotmail.com                     Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Canon City, Co             Attn: Susan Campton, Financial Secretary                 801 Main St                                               Canon City, CO 81212                                                   accounts@canonumc.org                 Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Decorah                    Stephen Rarick                                           P.O. Box 221                                              302 W Bdwy St                       Decorah, IA 52101                  DFUMC.Tres@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Duncan, Oklahoma           Attn: Church Business Administrator                      2300 N Country Club Rd                                    Duncan, OK 73533                                                       finance@duncanfumc.org                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Franklin, Inc              Attn: Julie Marie Fuller                                 120 Aldersgate Way                                        Franklin, TN 37064                                                     dhouck@franklinfumc.org               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Iowa City, Iowa            Attn: Hilary Biancuzzo, Treasurer                        214 E Jefferson St                                        Iowa City, IA 52245                                                    jellingson@icfirstchurch.org          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Jacksboro, Texas           Attn: Judy Craft                                         406 N Main St                                             Jacksboro, TX 76458                                                    jfumc@sbcglobal.net                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Lowell                     Attn: Treasurer, 1st United Methodist Church of Lowell   621 E Main St                                             Lowell, MI 49331                                                       office@lowellumc.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Marionville                Attn: Treasurer                                          P.O. Box 519                                              Marionville, MO 65705                                                  marionvilleumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Marionville                Attn: Dale Ebert                                         1743 State Hwy 413                                        Billings, MO 65610                                                     debert2@msn.com                       Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Mineola, Texas             Attn: Paul Thomasson                                     612 N Newsom                                              Mineola, TX 75773                                                      mineolafumc@suddenlinkmail.com        Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Plymouth                   Attn: Richard Anderson, Trustee                          45201 N Territorial Rd                                    Plymouth, MI 48170                                                     roape1@aol.com                        Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Plymouth                   c/o Dillon & Dillon, Plc                                 Attn: Paul J. Dillon                                      9429 S Main St                      Plymouth, MI 48170                 pjdillon@ddplc.net                    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Sallisaw Oklahoma, Inc     c/o Sallisaw First United Methodist Church               Attn: Lisa Lessley                                        P.O. Box 887                        Sallisaw, OK 74955                 sallisawfumc@diamondnet.us            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church of Sallisaw, Oklahoma Inc.l   P.O. Box 887                                             Sallisaw, OK 74955                                                                                                               sallisawfumc@diamondnet.us            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Troy Ohio                  Attn: Ed Butcher                                         110 Franklin St                                           Troy, OH 45373                                                         ebutcher1@woh.rr.com                  Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Warrensburg                Attn: Stephen J Andrews                                  42 King St                                                Warrensburg, NY 12885                                                  pastorsteve6@gmail.com                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Of Warrensburg                3890 Main St                                             Warrensburg, NY 12885                                                                                                            pastorsteve6@gmail.com                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church Roscoe Texas                  Attn: Secretary/Treasurer And/Or Pastor                  P.O. Box 489                                              Roscoe, TX 79545                                                                                             First Class Mail
Voting Party                   The First United Methodist Church, Inc                          Attn: Dirk Weiss                                         804 N Jefferson St                                        Junction City, KS 66441                                                jclstumchurch@gmail.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church, Stockton                     c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Methodist Church, Stockton                     204 N Elm St                                             Stockton, KS 67669                                                                                                                                                     First Class Mail
Voting Party                   The First United Presbyterian Congregation Of Oneonta, N.Y.     Attn: Coughlin & Gerhart LLP;Attn: : Keith A Gorgos      99 Corporate Dr                                           Binghamton, NY 13904                                                   kgorgos@cglawoffices.com              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The First United Presbyterian Congregation Of Oneonta, N.Y.     c/o Coughlin & Gerhart LLP                               Attn: Keith A Gorgos                                      99 Corporate Dr                     Binghamton, NY 13904               kgorgos@cglawoffices.com              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The First Utd Methodist Church                                  Longhorn Council 662                                     114 Paula Dr                                              Joshua, TX 76058‐3081                                                                                        First Class Mail
Chartered Organization         The First Utd Methodist Church                                  Connecticut Rivers Council, Bsa 066                      8 Church St                                               Stafford Springs, CT 06076‐1414                                                                              First Class Mail
Firm                           The Fitch Law Firm                                              John Fitch                                               900 Michigan Ave                                          Columbus, Ohio 43215                                                   John@TheFitchLawFirm.com              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Fl Conf Umc Ctte On New Ch Dvt, Inc                         Greater Tampa Bay Area 089                               450 Martin L King Jr Ave                                  Lakeland, FL 33815‐1522                                                                                      First Class Mail
Chartered Organization         The Flying Tigers Parent Assn                                   Golden Eagle                                             5662 W 8200 S                                             West Jordan, UT 84081‐5880                                                                                   First Class Mail
Chartered Organization         The Fort Bend Church                                            Sam Houston Area Council 576                             P.O. Box 1057                                             Sugar Land, TX 77487‐1057                                                                                    First Class Mail
Chartered Organization         The Foundry School                                              Flint River Council 095                                  104 Parsons Pl                                            Peachtree City, GA 30269‐2223                                                                                First Class Mail
Chartered Organization         The Franklin Lakes Utd Methodist Ch                             Northern New Jersey Council, Bsa 333                     454 Pulis Ave                                             Franklin Lakes, NJ 07417‐1324                                                                                First Class Mail
Chartered Organization         The Freedom Networks                                            Great Lakes Fsc 272                                      17558 Mitchell St                                         Detroit, MI 48212‐1085                                                                                       First Class Mail
Chartered Organization         The Friends Of Camp Baker                                       Oregon Trail Council 697                                 1300 SE Magnolia Dr                                       Roseburg, OR 97470‐4313                                                                                      First Class Mail
Chartered Organization         The Friends Of Camp Whitsett                                    W L A C C 051                                            P.O. Box 14092                                            Van Nuys, CA 91409‐4092                                                                                      First Class Mail
Chartered Organization         The Friends Of Pack 324                                         Grand Canyon Council 010                                 4601 N 34th St                                            Phoenix, AZ 85018‐3320                                                                                       First Class Mail
Chartered Organization         The Friends Of Pack 365                                         Gulf Stream Council 085                                  22356 Collington Dr                                       Boca Raton, FL 33428‐4744                                                                                    First Class Mail
Chartered Organization         The Gahanna American Legion Post 797                            Simon Kenton Council 441                                 P.O. Box 30843                                            Columbus, OH 43230‐0843                                                                                      First Class Mail
Chartered Organization         The Garage And Community Center                                 Chester County Council 539                               122 Rosehill Ave                                          West Grove, PA 19390‐1215                                                                                    First Class Mail
Chartered Organization         The Garage Community Youth Center                               Chester County Council 539                               122 Rosehill Ave                                          West Grove, PA 19390‐1215                                                                                    First Class Mail
Voting Party                   The Garden At Gethsemane Umc                                    Attn: Treasurer                                          1201 W Mcgalliard Rd                                      Muncie, IN 47303                                                       gumchurch@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Garlands Of Barrington                                      Pathway To Adventure 456                                 6000 Garlands Ln                                          Barrington, IL 60010‐6029                                                                                    First Class Mail
Chartered Organization         The Garrison Fish And Game Club, Inc                            Westchester Putnam 388                                   P.O. Box 366                                              Garrison, NY 10524‐0366                                                                                      First Class Mail
Chartered Organization         The Gate Of Lenoir County                                       East Carolina Council 426                                P.O. Box 638                                              Kinston, NC 28502‐0638                                                                                       First Class Mail
Voting Party                   The Gathering At Scott Memorial                                 c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Globe Academy                                               Atlanta Area Council 092                                 2225 Heritage Dr Ne                                       Atlanta, GA 30345‐3534                                                                                       First Class Mail
Chartered Organization         The Good News Community Church                                  Mid‐America Council 326                                  1010 Julia St                                             Okoboji, IA 51355‐2565                                                                                       First Class Mail
Chartered Organization         The Good Shepherd Catholic Church                               Central Florida Council 083                              5900 Oleander Dr                                          Orlando, FL 32807‐3433                                                                                       First Class Mail
Chartered Organization         The Good Shepherd Catholic Montessori                           Dan Beard Council, Bsa 438                               4460 Berwick St                                           Cincinnati, OH 45227‐3355                                                                                    First Class Mail
Voting Party                   The Good Shepherd United Church Of Christ                       17750 S La Canada Dr                                     Sahuarita, AZ 85629                                                                                                              SeeYou@thegoodshepherducc.org         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Good Steward                                                Los Padres Council 053                                   3440 Monterey Rd                                          Atascadero, CA 93422‐1869                                                                                    First Class Mail
Chartered Organization         The Goodyear Tire & Rubber Co                                   Great Trail 433                                          200 Innovation Way                                        Akron, OH 44316‐0001                                                                                         First Class Mail
Chartered Organization         The Grace Works                                                 Pacific Harbors Council, Bsa 612                         7945 Steilacoom Rd Se                                     Lacey, WA 98503‐1936                                                                                         First Class Mail
Chartered Organization         The Graham School                                               Simon Kenton Council 441                                 3950 Indianola Ave                                        Columbus, OH 43214‐3167                                                                                      First Class Mail
Chartered Organization         The Greater Enrichment Program                                  Ashley Park Elementary                                   2025 Patton Ave                                           Charlotte, NC 28216                                                                                          First Class Mail
Chartered Organization         The Greater Travelers Rest Baptist Ch                           Atlanta Area Council 092                                 4650 Flat Shoals Pkwy                                     Decatur, GA 30034‐5000                                                                                       First Class Mail
Voting Party                   The Greenville First United Methodist Church                    Attn: Jeffrey C Williams, Pastor                         204 W Cass St                                             Greevnille, MI 48838                                                   jeffwrev@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Grove                                                       Grand Canyon Council 010                                 2777 S Gilbert Rd                                         Chandler, AZ 85286‐5170                                                                                      First Class Mail
Chartered Organization         The Grove Church                                                Daniel Boone Council 414                                 1127 Franklin Grove Church Rd                             Bryson City, NC 28713‐7925                                                                                   First Class Mail
Chartered Organization         The Grove Community Church                                      California Inland Empire Council 045                     19900 Grove Community Dr                                  Riverside, CA 92508‐8114                                                                                     First Class Mail
Chartered Organization         The Grove Utd Methodist Church                                  Northern Star Council 250                                7465 Steepleview Rd                                       Woodbury, MN 55125‐1533                                                                                      First Class Mail
Chartered Organization         The Grtr Enricht Progmvmt Charter Sch                           Mecklenburg County Council 415                           2035 Patton Ave                                           Charlotte, NC 28216‐5023                                                                                     First Class Mail
Chartered Organization         The Grundy Foundation                                           Attn: Gene Williams                                      680 Radcliffe St                                          Bristol, PA 19007‐5136                                                                                       First Class Mail
Chartered Organization         The Gym                                                         Northern Star Council 250                                780 S Plaza Dr                                            Mendota Heights, MN 55120‐1503                                                                               First Class Mail
Chartered Organization         The Hancock Lodge 20                                            Mississippi Valley Council 141 141                       235 N Washington St                                       Carthage, IL 62321‐1135                                                                                      First Class Mail
Chartered Organization         The Hardy Center, Inc                                           Simon Kenton Council 441                                 1743 E Lakeview Ave                                       Columbus, OH 43224‐4332                                                                                      First Class Mail
Voting Party                   The Harvest United Methodist Church                             Attn: Pastor Jeff Mcdowell                               9029 Sienna Ranch Rd                                      Missouri City, TX 77459                                                jeffmcdowell@harvestumc.org           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Hebron Education Foundation                                 Connecticut Rivers Council, Bsa 066                      580 Gilead St                                             Hebron, CT 06248‐1314                                                                                        First Class Mail
Chartered Organization         The Higginsville Lions Club                                     Heart of America Council 307                             11051 St Marys Rd                                         Higginsville, MO 64037‐8254                                                                                  First Class Mail
Chartered Organization         The High Adventure Club                                         Lake Erie Council 440                                    601 Clinton Ln                                            Highland Hts, OH 44143‐1962                                                                                  First Class Mail
Chartered Organization         The High Road On Dawson                                         Capitol Area Council 564                                 700 Dawson Rd                                             Austin, TX 78704‐1632                                                                                        First Class Mail
Chartered Organization         The Highlands Community Of Christ                               Heart of America Council 307                             7615 N Platte Purchase Dr                                 Kansas City, MO 64118‐1044                                                                                   First Class Mail
Chartered Organization         The Highlands Day School Foundation                             Greater Alabama Council 001                              4901 Old Leeds Rd                                         Mountain Brk, AL 35213‐1807                                                                                  First Class Mail
Chartered Organization         The Historic Mt Zion Missionary Baptist                         South Florida Council 084                                301 NW 9th St                                             Miami, FL 33136‐3315                                                                                         First Class Mail
Chartered Organization         The Hitchiti Dance Society, Inc                                 Gulf Stream Council 085                                  15439 95th Ln N                                           West Palm Beach, FL 33412‐1770                                                                               First Class Mail
Chartered Organization         The Hive House                                                  East Carolina Council 426                                103 Mitchell St                                           Lewiston, NC 27849                                                                                           First Class Mail
Chartered Organization         The Hobby Corner                                                Hawkeye Area Council 172                                 1606 Sycamore St                                          Iowa City, IA 52240‐6044                                                                                     First Class Mail
Chartered Organization         The Holy Family Catholic Church                                 Greater Los Angeles Area 033                             1501 Fremont Ave                                          South Pasadena, CA 91030‐3824                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                               Page 397 of 442
                                                                                   Case 20-10343-LSS                                            Doc 8171                                          Filed 01/06/22                                                    Page 413 of 457
                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                      Service List
                                                                                                                                                                               Served as set forth below

        Description                                                         Name                                                                                                   Address                                                                                                             Email              Method of Service
Voting Party                   The Hope United Methodist Church                               4069 W Sylvania Ave                         Toledo, OH 43623                                                                                                                    cfwrew1@bex.net                  Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Huntington Chapel                                          Housatonic Council, Bsa 069                 177 Ripton Rd                                                  Shelton, CT 06484‐2631                                                                                First Class Mail
Chartered Organization         The Huntington Community First Aid Squad                       Suffolk County Council Inc 404              2 Railroad St                                                  Huntington Station, NY 11746‐1231                                                                     First Class Mail
Voting Party                   The Huntsville United Methodist Church                         Attn: Tonya Thomas                          6611 Fruit St P.O. Box 235                                     Huntsville, OH 43324                                                 huntsvilleumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Imaginarium Group, Inc                                     Southwest Florida Council 088               2000 Cranford Ave                                              Fort Myers, FL 33916‐4006                                                                             First Class Mail
Chartered Organization         The Immanuel Temple                                            South Florida Council 084                   7040 Pines Blvd                                                Pembroke Pines, FL 33024‐7347                                                                         First Class Mail
Chartered Organization         The International School Of Azerbaijan                         Transatlantic Council, Bsa 802              Stonepay Royal Park                                            Yeni Yasamal                        Azerbaijan                                                        First Class Mail
Chartered Organization         The International School Of Brussels                           Transatlantic Council, Bsa 802              Kattenberg 19                                                  Brussels, 1170                      Belgium                                                           First Class Mail
Chartered Organization         The Irvine Ranch Outdoor Education Ctr                         Orange County Council 039                   2 Irvine Park Rd                                               Orange, CA 92869‐1000                                                                                 First Class Mail
Voting Party                   The Island School                                              c/o Squire Patton Boggs (Us) LLP            Attn: Mark A Salzberg                                          2550 M St NW                        Washington, DC 20037             mark.salzberg@squirepb.com       Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Izaak Walton League Arlington                              Fairfax Chapter                             P.O. Box 366                                                   Centreville, VA 20122‐0366                                                                            First Class Mail
Chartered Organization         The Izaak Walton League Of America                             National Capital Area Council 082           P.O. Box 118                                                   Damascus, MD 20872‐0118                                                                               First Class Mail
Chartered Organization         The Izaakwalton League Prince William Ch                       National Capital Area Council 082           P.O. Box 366                                                   Centreville, VA 20122‐0366                                                                            First Class Mail
Chartered Organization         The Jefferson Historical Society                               Leatherstocking 400                         2 Creamery St                                                  Jefferson, NY 12093                                                                                   First Class Mail
Voting Party                   The John Carroll School, Inc                                   Attn: Matthew W Oakey                       218 N Charles St, Ste 400                                      Baltimore, MD 21201                                                  moaky@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The John Carroll School, Inc                                   Attn: Matthew W Oakey                       218 N Charles St, Ste 400                                      Baltimore, MD 21201                                                  moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The John Wesley United Methodist Church                        Attn: John Wesley Umc                       1927 W Kemper                                                  Cincinnati, OH 45240                                                 christie@jwumc.com               Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Jones County Kiwanis Club                                  Central Georgia Council 096                 P.O. Box 128                                                   Gray, GA 31032‐0128                                                                                   First Class Mail
Voting Party                   The Journey (3400)                                             c/o Bentz Law Firm                          Attn: Leonard Spagnolo                                         680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Journey (3400)                                             c/o Bentz Law Firm                          Attn: Sean Bollman                                             680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Journey United Methodist Church                            Attn: Jeff Warrick                          15361 Hwy 5, Ste B                                             Cabot, AR 72023                                                      pastorjeff@journeyumc.com        Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Journey Utd Methodist                                      Quapaw Area Council 018                     15361 Hwy 5, Apt B                                             Cabot, AR 72023‐5144                                                                                  First Class Mail
Chartered Organization         The Kaust School                                               Transatlantic Council, Bsa 802              4700 Kaust Box 1512                                            Thuwal, 23955                       Saudi Arabia                                                      First Class Mail
Firm                           The Keane Law Firm, P.C.                                       Christopher J. Keane                        8605 Santa Monica Blvd. #23851                                 Los Angeles, CA 90069                                                ckeane@keanelaw.com              Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Kindezi School West                                        Atlanta Area Council 092                    286 Wilson Mill Rd Sw                                          Atlanta, GA 30331‐4122                                                                                First Class Mail
Voting Party                   The Kirkersville United Methodist Church                       Attn: Treasurer                             180 E Main St, Box 7                                           Kirkersville, OH 43033                                               garnott1@columbus.rr.com         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Kiwanis Club Of Coral Gables                               South Florida Council 084                   333 Aragon Ave, Apt 806                                        Coral Gables, FL 33134‐5070                                                                           First Class Mail
Chartered Organization         The Kiwanis Club Of Lindsborg                                  Quivira Council, Bsa 198                    P.O. Box 502                                                   Lindsborg, KS 67456‐0502                                                                              First Class Mail
Firm                           The Kryder Law Group LLC                                       Justin Hare                                 134 N. LaSalle St., Ste. 1515                                  Chicago, IL 60602                                                    jhare@kryderlaw.com              Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Lake Of The Woods Church                                   Stonewall Jackson Council 763               1 Church Ln                                                    Locust Grove, VA 22508‐5742                                                                           First Class Mail
Chartered Organization         The Lakeway Church                                             Capitol Area Council 564                    2203 Lakeway Blvd                                              Lakeway, TX 78734‐5133                                                                                First Class Mail
Firm                           The Lambrou Law Firm, PC                                       Lambros Lambrou                             45 Broadway, 31st floor                                        New York, NY 10006                                                   LL@LLLAWPC.COM                   Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           The Lambrou Law Firm, PC                                       Lambros Lambrou                             45 Broadway, Ste 3120                                          Manhattan, NY 10006                                                                                   First Class Mail
Chartered Organization         The Lamplighter School                                         Circle Ten Council 571                      11611 Inwood Rd                                                Dallas, TX 75229‐3022                                                                                 First Class Mail
Firm                           The Law Office of Andrew R Pavlinski                           Andrew R Pavlinski                          401 Spring St                                                  Del Rio, TX 78840                                                    apavlinski@pav‐law.com           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           The Law Office of Bruce W. Slane, P.C                          Jeremy D. Barberi, Esq                      188 East Post RD, Ste 205                                      White Plains, NY 10601                                               jeremy@slane‐law.com             Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           The Law Office of L. Paul Mankin                               L. Paul Mankin, Esq.                        4655 Cass Street, Ste 410                                      San Diego, CA 92109                                                  pmankin@paulmankin.com           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           The Law office of Mark young                                   Mark Young                                  45 Exchange Blvd, Ste 802                                      Rochester, NY 14614                                                  mark@markyounglaw.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           The Law Office of Megan M. Lewis                               Megan M. Lewis                              11715 Fox Road, Ste 400‐164                                    Indianapolis, IN 46236                                               megan@lewislaw.biz               Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           The Law Offices of David E Drivon                              David E Divon                               2904 Pacific Ave                                               Stockton, CA 95204                                                   ddrivon@comcast.net              Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           The Law Offices of Eugene K. Hollander                         Eugene K. Hollander                         230 W. Monroe, Ste 1900                                        Chicago, IL 60606                                                    ehollander@ekhlaw.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           The Law Offices of Joshua E. Slavin, LLC                       Joshua Slavin                               PO Box 762                                                     Mount Pleasant, SC 29465                                             josh@attorneycarolina.com        Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Law Offices Of Raquel Y. Gordon, Esq, LLC                  Raquel Yvette Gordon                        P.O. Box 17598 81632                                           Baltimore, MD 21297                                                  raquel.gordon@rygordonlaw.com    Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Lead Foundation                                            Northeast Georgia Council 101               468 Musical Ct                                                 Lawrenceville, GA 30044‐7457                                                                          First Class Mail
Chartered Organization         The Leadership Assoc Of Parents                                Orange County Council 039                   1725 Nogales St, Ste 103                                       Rowland Heights, CA 91748‐2918                                                                        First Class Mail
Chartered Organization         The Learning Ladder                                            Lincoln Heritage Council 205                6408 N Preston Hwy                                             Louisville, KY 40229‐4481                                                                             First Class Mail
Voting Party                   The Lenexa United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           The Lewis Law Group                                            Christopher Lewis                           1115 S.E. Ocean Blvd                                           Stuart, FL 34996                                                     clewis@lewislawgrouppa.com       Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Liberty Christian Church (Disciples Of Christ)Of Liberty   Attn: Treasurer ‐ L Keith                   427 E Kansas St                                                Liberty, MO 64068                                                    office@lccdoc.org                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Lighthouse Church                                          Sam Houston Area Council 576                6650 Rankin Rd                                                 Humble, TX 77396‐1320                                                                                 First Class Mail
Chartered Organization         The Lions Club                                                 Buckskin 617                                P.O. Box 99                                                    Harrisville, WV 26362‐0099                                                                            First Class Mail
Voting Party                   The Lions Club Of Annandale, Minnesota                         Attn: Sheldon R Brown                       63 Oak Ave S                                                   P.O. Box 859                        Annandale, MN 55302              brown@annandalelaw.com           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Literacy Imperative                                        Great Smoky Mountain Council 557            201 Harriet Tubman St                                          Knoxville, TN 37915‐1322                                                                              First Class Mail
Chartered Organization         The Little Country Church                                      Simon Kenton Council 441                    500 E Market St                                                Baltimore, OH 43105‐1331                                                                              First Class Mail
Chartered Organization         The Living Well                                                Buckeye Council 436                         1620 Maple Ave                                                 Wellsville, OH 43968                                                                                  First Class Mail
Chartered Organization         The Lodge Of Gunter Hollow                                     Middle Tennessee Council 560                149 Gunter Hollow Rd                                           Fayetteville, TN 37334‐6126                                                                           First Class Mail
Chartered Organization         The Lomond Assoc                                               Lake Erie Council 440                       P.O. Box 201814                                                Shaker Heights, OH 44120‐8113                                                                         First Class Mail
Voting Party                   The Loris First United Methodist Church                        Attn: Spencer Baxter                        3507 Broad St                                                  Loris, SC 29569                                                      spencerbaxter278@gmail.com       Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Loris First United Methodist Church                        Attn: Spencer Baxter                        P.O. Box 642                                                   Tabor City, NC 29463                                                 spencerbaxter278@gmail.com       Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Lovett School                                              Atlanta Area Council 092                    4075 Paces Ferry Rd Nw                                         Atlanta, GA 30327‐3009                                                                                First Class Mail
Firm                           The Luibrand Firm                                              Kevin Luibrand                              950 New Loudenrd, Ste 270                                      Latham, NY 12110                                                                                      First Class Mail
Chartered Organization         The Lutheran Ch & Sch Our Saviour                              Greater New York Councils, Bsa 640          1734 Williamsbridge Rd                                         Bronx, NY 10461‐6204                                                                                  First Class Mail
Chartered Organization         The Lutheran Ch, Atonement‐Mens Club                           Greater St Louis Area Council 312           1285 N New Florissant Rd                                       Florissant, MO 63031‐4511                                                                             First Class Mail
Voting Party                   The Lutheran Church & School Of Our Saviour ‐ The Bronx, Ny    Attn: Matthew Ryan Gonzalez                 1734 Williamsbridge Rd                                         The Bronx, NY 10461                                                  mgonzalez@oursaviourbronx.org    Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Lutheran Church Of Our Saviour                             Seneca Waterways 397                        2415 Chili Ave                                                 Rochester, NY 14624‐3320                                                                              First Class Mail
Voting Party                   The Lutheran Church Of Our Saviours Atonement                  178 Bennett Ave                             New York, NY 10040                                                                                                                  pastor@osanyc.org                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Lutheran Church Of St Andrew                               Attn: Greg Twombley                         15300 New Hampshire Ave                                        Silver Spring, MD 20905                                              gtwombley@mystandrew.org         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Lutheran Church Of The Good Shepherd                       Attn: Jim Howeth                            1601 N St Se                                                   Olympia, WA 98501                                                    jim@gsolympia.org                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Lutheran Church Of The Good Shepherd                       Attn: Lindsay Guckert Treasurer             1515 Emmorton Rd                                               Bel Air, MD 21014                                                    council_president@lcgselca.org   Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Lutheran Church Of The Holy Spirit                         Jersey Shore Council 341                    333 N Main St                                                  Manahawkin, NJ 08050‐3015                                                                             First Class Mail
Chartered Organization         The Lutheran‐Presbyterian Parish                               Inland Nwest Council 611                    P.O. Box 306                                                   Potlatch, ID 83855‐0306                                                                               First Class Mail
Chartered Organization         The Manahawkin Utd Methodist Church                            Jersey Shore Council 341                    P.O. Box 487                                                   Manahawkin, NJ 08050‐0487                                                                             First Class Mail
Chartered Organization         The Marion & Aaron Gural Jcc                                   Theodore Roosevelt Council 386              207 Grove Ave                                                  Cedarhurst, NY 11516‐1715                                                                             First Class Mail
Voting Party                   The Marshfield Rod & Gun Club, Inc                             300 School St, P O Box 831                  Marshfield, MA 02050                                                                                                                dvdgrnwd@hotmail.com             Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Martin Kiwanis Club                                        West Tennessee Area Council 559             P.O. Box 583                                                   Martin, TN 38237‐0583                                                                                 First Class Mail
Chartered Organization         The Masters School                                             Capitol Area Council 564                    P.O. Box 1407                                                  San Marcos, TX 78667‐1407                                                                             First Class Mail
Firm                           The Mastromarco Firm                                           Kevin J. Kelly                              1024 N. Michigan Ave                                           Saginaw, MI 48602                                                    kkelly@mastromarcofirm.com       Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Mcfaden Bible Cl‐1St Presby Church                         Shenandoah Area Council 598                 116 Loudoun St Mall                                            Winchester, VA 22601                                                                                  First Class Mail
Chartered Organization         The Mcintosh Law Firm                                          Mecklenburg County Council 415              209 Delburg St, Ste 203                                        Davidson, NC 28036‐6907                                                                               First Class Mail
Chartered Organization         The Mclean Islamic Center                                      National Capital Area Council 082           8800 Jarrett Valley Dr                                         Vienna, VA 22182‐1700                                                                                 First Class Mail
Chartered Organization         The Meadows Community Assoc                                    Denver Area Council 061                     3033 E 1st Ave, Ste 840                                        Denver, CO 80206‐5617                                                                                 First Class Mail
Firm                           The Meneo Law Group                                            Ron Meneo Esq                               234 Church St, 6th Fl                                          New Haven, CT 06510                                                  rmm@meneolawgroup.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Mens Club                                                  Grant United Methodist Church               79 Fleetwood St                                                Presque Isle, ME 04769‐3030                                                                           First Class Mail
Chartered Organization         The Mens Club, 1St Methodist Ch                                Central Georgia Council 096                 366 Log Cabin Rd Ne                                            Milledgeville, GA 31061‐7726                                                                          First Class Mail
Voting Party                   The Methodist Church Of Cape St. Claire                        Attn: Dorothy Ballard, Treasurer            855 Chestnut Tree Dr                                           Annapolis, MD 21409                                                  treasurer@capeumc.org            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Methodist Episcopal Church Of Bellport                     Attn: Rev Suhee Kim Or Mr Michael Bilecki   185 S Country Rd                                               Bellport, NY 11713                                                   bellportumc@optimum.net          Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Methodist Temple                                           Buffalo Trace 156                           2109 Lincoln Ave                                               Evansville, IN 47714‐1611                                                                             First Class Mail
Chartered Organization         The Militello Law Firm                                         Seneca Waterways 397                        2480 Browncroft Blvd                                           Rochester, NY 14625‐1435                                                                              First Class Mail
Chartered Organization         The Mill At Anselma Preservation &                             Educational Trust Inc                       1730 Conestoga Rd                                              Chester Springs, PA 19425‐1810                                                                        First Class Mail
Chartered Organization         The Milligan Group Intl                                        Pacific Harbors Council, Bsa 612            13605 114th Ave E                                              Puyallup, WA 98374‐3932                                                                               First Class Mail
Chartered Organization         The Mix @ Arbor Place                                          Pennsylvania Dutch Council 524              520 North St                                                   Lancaster, PA 17602‐4430                                                                              First Class Mail
Firm                           The Moody Law Firm, Inc                                        Willard J. Moody Jr                         500 Crawford St. Ste 200                                       Portsmouth, VA 23704                                                 courtney@moodyrrlaw.com          Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Morris Law Firm                                            Circle Ten Council 571                      702 S Beckley Ave                                              Dallas, TX 75203‐2804                                                                                 First Class Mail
Voting Party                   The Most Precious Blood R C Congregation, Inc                  Attn: Matthew W Oakey                       218 N Charles St, Ste 400                                      Baltimore, MD 21201                                                  moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Mt Olive Utd Methodist Church                              Sagamore Council 162                        2015 N 300 W                                                   Marion, IN 46952‐9254                                                                                 First Class Mail
Chartered Organization         The Mt Washington School                                       Baltimore Area Council 220                  1801 Sulgrave Ave                                              Baltimore, MD 21209‐4515                                                                              First Class Mail
Chartered Organization         The National Presbyterian Church                               National Capital Area Council 082           4101 Nebraska Ave Nw                                           Washington, DC 20016‐2735                                                                             First Class Mail
Chartered Organization         The Nbo Scout Training Team                                    Sam Houston Area Council 576                8708 Technology Forest Pl, Ste 100                             The Woodlands, TX 77381‐1184                                                                          First Class Mail
Chartered Organization         The Nebraska Medical Center                                    Mid‐America Council 326                     988144 Nebraska Medical Ctr                                    Omaha, NE 68198‐8144                                                                                  First Class Mail
Voting Party                   The Nehemiah Mission                                           Attn: James Szakacs                         6515 Bridge Ave                                                Cleveland, OH 44102                                                  JFS5487@GMAIL.COM                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Nepal Project                                              Central N Carolina Council 416              5101 Sugar and Wine Rd                                         Monroe, NC 28110‐1052                                                                                 First Class Mail
Chartered Organization         The Nett At Berkmar                                            Northeast Georgia Council 101               678 Pleasant Hill Rd Nw                                        Lilburn, GA 30047                                                                                     First Class Mail
Voting Party                   The Nett Church‐ Lawrenceville                                 c/o Bradley Arant Boult Cummings, LLP       Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Nett Church‐ Lawrenceville                                 444 Bethesda Church Rd                      Lawrenceville, GA 30044                                                                                                                                              First Class Mail
Chartered Organization         The New American School                                        Denver Area Council 061                     5806 W Alameda Ave                                             Lakewood, CO 80226‐3533                                                                               First Class Mail
Chartered Organization         The New Reidsville Housing Authority                           Old N State Council 070                     924 3rd Ave                                                    Reidsville, NC 27320‐4440                                                                             First Class Mail
Firm                           The Newberger Firm, P.A and Jacobs & Crumplar P.A.             Raeann Warner Esquire                       750 Shipyard Dr, Ste 200                                       Wilmington, DE 19801                                                 info@neubergerlaw.com            Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Nogales Lions Club                                         Catalina Council 011                        P.O. Box 669                                                   Nogales, AZ 85628‐0669                                                                                First Class Mail
Voting Party                   The Nor'Kirk‐Presbyterian Of Carrollton Texas                  Attn: Susan G Morris                        2816 Quail Ridge Dr                                            Carrollton, TX 75006                                                 susanmorrislaw@gmail.com         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Nor'Kirk‐Presbyterian Of Carrollton, Texas                 Attn: Susan G Morris                        2816 Quail Ridge Dr                                            Carrollton, TX 75006                                                 susanmorrislaw@gmail.com         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Norris Revocable Trust                                     W L A C C 051                               38745 Sunnyvale St                                             Palmdale, CA 93551‐4610                                                                               First Class Mail
Voting Party                   The North Charlestown United Methodist Church                  Attn: Caryl Mcpherson                       397 River Rd                                                   Charlestown, NY 03603                                                cjmcphe@hotmail.com              Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Nyack Foundation, Inc                                      Hudson Valley Council 374                   P.O. Box 804                                                   Nyack, NY 10960‐0804                                                                                  First Class Mail
Chartered Organization         The Oaks Of Riverview ‐ Tha                                    Greater Tampa Bay Area 089                  110 E Kirby St                                                 Tampa, FL 33604‐4125                                                                                  First Class Mail
Firm                           The O'Brien Law Firm PC                                        Grant C Boyd                                815 Geyer Ave                                                  St. Louis, MO 63104                                                  Boyd@obrienlawfirm.com           Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Ojai Utd Methodist Church                                  Ventura County Council 057                  120 Church Rd                                                  Ojai, CA 93023‐3118                                                                                   First Class Mail
Chartered Organization         The Open Door Congregational Church                            Inland Nwest Council 611                    P.O. Box 1509                                                  Deer Park, WA 99006‐1509                                                                              First Class Mail
Chartered Organization         The Optimist Club Of Dundalk                                   Baltimore Area Council 220                  4528 N Point Blvd                                              Edgemere, MD 21219‐1006                                                                               First Class Mail
Chartered Organization         The Optimist Club Of Dundalk, Inc                              Baltimore Area Council 220                  4528 N Point Blvd                                              Baltimore, MD 21219‐1006                                                                              First Class Mail
Voting Party                   The Orb Factory Ltd                                            225 Herring Cove Rd                         Halifax, NS B3P 1L3                                            Canada                                                                                                First Class Mail
Chartered Organization         The Outdoor Committee                                          Pacific Skyline Council 031                 1150 Chess Dr                                                  Foster City, CA 94404‐1107                                                                            First Class Mail
Chartered Organization         The Owl Post                                                   Montana Council 315                         6100 Lakeview Dr                                               Helena, MT 59602‐9135                                                                                 First Class Mail
Chartered Organization         The Owl Post                                                   Montana Council 315                         P.O. Box 553                                                   Helena, MT 59624‐0553                                                                                 First Class Mail
Voting Party                   The Pack Shack, Inc                                            P O Box 598                                 Eagar, AZ 85925‐0598                                                                                                                                                 First Class Mail
Chartered Organization         The Palisades Community Church                                 National Capital Area Council 082           5200 Cathedral Ave Nw                                          Washington, DC 20016‐2665                                                                             First Class Mail
Firm                           The Pantich Law Group PC                                       Esther Panitch                              4243 Dunwoody Club Drive, Ste 201                              Atlanta, GA 30350                                                    esther@panitchlawgroup.com       Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Parents Of Pack 344                                        Grand Canyon Council 010                    16558 N 104th Way                                              Scottsdale, AZ 85255‐2463                                                                             First Class Mail
Chartered Organization         The Parents Of Troop 303                                       W L A C C 051                               29072 Gladiolus Dr                                             Canyon Country, CA 91387‐1828                                                                         First Class Mail
Chartered Organization         The Parents Of Troop 319                                       Verdugo Hills Council 058                   3859 4th Ave                                                   La Crescenta, CA 91214‐2318                                                                           First Class Mail
Voting Party                   The Parents Of Troop 444                                       Attn: Alison K Schuler                      632 Cougar Loop Ne                                             Albuquerque, NM 87122                                                akschuler1969@gmail.com          Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Parents Of Troop 517                                       Pathway To Adventure 456                    P.O. Box 342                                                   St John, IN 46373‐0342                                                                                First Class Mail
Voting Party                   The Parish Church Of St Charles The Martyr                     505 E 8th Ave                               Fort Morgan, CO 80701                                                                                                               officescec@gmail.com             Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Parish Church Of St Jerome                                 Indian Nations Council 488                  205 W King St                                                  Tulsa, OK 74106‐5156                                                                                  First Class Mail
Chartered Organization         The Parish Community Of St Joseph                              Northern Star Council 250                   8701 36th Ave N                                                New Hope, MN 55427‐1769                                                                               First Class Mail
Voting Party                   The Parish Of All Saints                                       Attn: Rev Jane Schmoetzer                   1322 Kimball Ave                                               Richland, WA 99354                                                   rector@allsaintsrichland.org     Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Parish Of Calvary Episcopal Church                         Attn: Elizabeth Ann Alexander               P.O. Box 109                                                   Ashland, KY 41105                                                    calvaryashland@gmail.com         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Parish Of Calvary Episcopal Church Of Ashland, Inc         P.O. Box 109                                Ashland, KY 41105                                                                                                                   calvaryashland@gmail.com         Email
                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Parish Of Christ Church                                    The Spirit of Adventure 227                 25 Central St                                                  Andover, MA 01810‐3737                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                      Page 398 of 442
                                                                                  Case 20-10343-LSS                                                                 Doc 8171                                       Filed 01/06/22                                                 Page 414 of 457
                                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                                       Service List
                                                                                                                                                                                                Served as set forth below

        Description                                                       Name                                                                                                                      Address                                                                                                                             Email                  Method of Service
Voting Party                   The Parish Of Christ Church In The Town Of Greenwich                      Attn: Craig Cecere Exec Dir                          254 E Putnam Ave                                            Greenwich, CT 06830                                                                   ccecere@christchurchgreenwich.org   Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of Christ The Redeemer                                         Attn: Andrew Des Rault                               1415 Pelhamdale Ave                                         Pelham, NY 10803                                                                      marie@christchurchpelham.org        Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of Christ The Redeemer                                         Attn: Marie Main, Parish Administrator               1415 Pelhamdale Ave                                         Pelham, NY 10803                                                                      andrew.desrault@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of St Gregory (Episcopal)                                      6653 W Chatfield Ave                                 Littleton, CO 80128                                                                                                                               bankruptcy@messner.com              Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of St James                                                    Attn: John Anthony Satula                            120 Main St Box 25                                          Amesbury, MA 01913                                                                    stjames.frjohn@verizon.net          Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of St Matthew                                                  1031 Bienveneda Ave                                  Pacific Palisades, CA 90272                                                                                                                       office@stmatthews.com               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of St Paul In The Desert                                       Attn: Kirby Smith                                    2083 Sunset Cliffs Blvd                                     San Diego, CA 92107                                                                   ksmith@edsd.org                     Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of St Paul In The Desert                                       c/o Sullivan Hill Rez & Engel                        Attn: James P Hill, Esq                                     600 B St, Ste 1700             San Diego, CA 92101                                    hill@sullivanhill.com               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of St Pauls On The Green, Norwalk, Ct                          Attn: Anne M Watkins                                 60 East Ave                                                 Norwalk, CT 06851                                                                     admin@stpaulsnorwalk.org            Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of St. Christopher By The River                                Attn: Charles Marston                                7601 Old Mill Rd                                            Gates Mills, OH 44040                                                                 stchrisbytheriver@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of St. Luke The Physician                                      Attn: Sara Nichole Cosca‐Warfield                    120 SW Towle Ave                                            Gresham, OR 97080                                                                     revsara@saintlukesgresham.org       Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of St. Michael's‐By‐The‐Sea Episcopal                          Attn: Kirby Smith                                    2083 Sunset Cliffs Blvd                                     San Diego, CA 92107                                                                   ksmith@edsd.org                     Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of St. Michael's‐By‐The‐Sea Episcopal                          c/o Sullivan Hill Rez & Engel                        Attn: James P Hill, Esq                                     600 B St, Ste 1700             San Diego, CA 92101                                    hill@sullivanhill.com               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of St. Michael's‐By‐The‐Sea Episcopal Church In Carlsbad, Ca   c/o Sullivan Hill Rez & Engel                        Attn: James P. Hill, Esq                                    600 B St, Ste 1700             San Diego, CA 92101                                    hill@sullivanhill.com               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of St. Paul In The Desert                                      Attn: James P Hill, Esq, Sullivan Hill Rez & Engel   600 B St, Ste 1700                                          San Diego, CA 92101                                                                   hill@sullivanhill.com               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of St. Stephans Episcopal Church Of Spokane,                   Attn: The Rev Bill Osborne                           5720 S Perry St                                             Spokane, WA 99223                                                                     office@ststephens‐spokane.com       Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of The Good Shepherd                                           Attn: Kirby Smith                                    2083 Sunset Cliffs Blvd                                     San Diego, CA 92107                                                                   ksmith@edsd.org                     Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of The Good Shepherd                                           Attn: James P Hill, Esq, Sullivan Hill Rez & Engel   600 B St, Ste 1700                                          San Diego, CA 92101                                                                   hill@sullivanhill.com               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of The Good Shepherd                                           c/o Sullivan Hill Rez & Engel                        Attn: James P Hill, Esq                                     600 B St, Ste 1700             San Diego, CA 92101                                    hill@sullivanhill.com               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of The Mediator‐Redeemer, Pike County, Mississippi             Attn: George H Leggett III                           P.O. Box 1001                                               Mccomb, MS 39649‐1001                                                                 leggettchip@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Parish Of The Mediator‐Redeemer, Pike County, Mississippi             Attn: Marcus M Wilson                                190 E Capitol St, Ste 650                                   Jackson, MS 39201                                                                                                         First Class Mail
Chartered Organization         The Parish St Mary Magdalene Catholic Ch                                  Grand Canyon Council 010                             2654 E Williams Field Rd                                    Gilbert, AZ 85295‐1826                                                                                                    First Class Mail
Voting Party                   The Parishes, Schools & Affiliates Of The Diocese Of Trenton              Attn: Steven P Goodell Esq                           3840 Quakerbridge Rd, Ste 200                               Hamilton, NJ 08619                                                                    sgoodell@parkermccay.com            Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Park Church                                                           Mecklenburg County Council 415                       6029 Beatties Ford Rd                                       Charlotte, NC 28216‐2205                                                                                                  First Class Mail
Chartered Organization         The Park Church Utd Methodist                                             Dan Beard Council, Bsa 438                           69 W Foster Maineville Rd                                   Maineville, OH 45039                                                                                                      First Class Mail
Chartered Organization         The Pastime Club                                                          Patriots Path Council 358                            3 Hilltop Rd                                                Mendham, NJ 07945‐1259                                                                                                    First Class Mail
Chartered Organization         The Patrick School                                                        Patriots Path Council 358                            547 Morris Ave                                              Elizabeth, NJ 07208‐1985                                                                                                  First Class Mail
Chartered Organization         The Peoples Church                                                        Water and Woods Council 782                          200 W Grand River Ave                                       East Lansing, MI 48823‐4212                                                                                               First Class Mail
Voting Party                   The Peoples Church Of East Lansing, Michigan                              Attn: George Brookover, P C                          1005 Abbot Rd                                               East Lansing, MI 48823                                                                g.brookover@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Peoples Community Baptist Church                                      National Capital Area Council 082                    31 Norwood Rd                                               Silver Spring, MD 20905‐3875                                                                                              First Class Mail
Chartered Organization         The Philadelphia Academy Charter School                                   Cradle of Liberty Council 525                        11000 Roosevelt Blvd                                        Philadelphia, PA 19116‐3961                                                                                               First Class Mail
Chartered Organization         The Pickerington Lions Club 564                                           Simon Kenton Council 441                             8090 Busey Rd                                               Pickerington, OH 43147‐9662                                                                                               First Class Mail
Chartered Organization         The Piedmont Community Church                                             Piedmont Council 042                                 400 Highland Ave                                            Piedmont, CA 94611‐4043                                                                                                   First Class Mail
Chartered Organization         The Piedmont Rotary Club                                                  Piedmont Council 042                                 132 Caperton Ave                                            Piedmont, CA 94611‐3803                                                                                                   First Class Mail
Voting Party                   The Pine Shores Presbyterian Church, Inc                                  c/o Law Offices of Melody Genson                     2750 Ringling Blvd, Ste 3                                   Sarasota, FL 34237                                                                    melodygenson@verizon.net            Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Pine Shores Presbyterian Church, Inc                                  6135 Beechwood Ave                                   Sarasota, FL 34231                                                                                                                                                                    First Class Mail
Voting Party                   The Platt Springs United Methodist Church                                 Attn: Mary Ann Nielson                               3215 Platt Springs Rd                                       West Columbia, SC 29170                                                               ubandauntiem@hotmail.com            Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Platt Springs United Methodist Church                                 Attn: Mary Ann Nielson                               900 Woodfield Rd                                            West Columbia, SC 29169                                                               ubandauntiem@hotmail.com            Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Point Church                                                          Crossroads of America 160                            2578 Donica Rd                                              Greenwood, IN 46143‐9520                                                                                                  First Class Mail
Voting Party                   The Porch Church                                                          Attn: William Wyman Kallhoff                         19401 E Chenango Dr                                         Centennial, CO 80015                                                                  office@theporchchurch.tv            Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Porch Church                                                          19401 E Chenango Dr                                  Centennial, CO 80015                                                                                                                              office@theporchchurch.tv            Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Power Center Of Hope                                                  Pathway To Adventure 456                             521 W 65th St                                               Chicago, IL 60621‐2621                                                                                                    First Class Mail
Chartered Organization         The Presbyterian Church                                                   Bucktail Council 509                                 119 N 2nd St                                                Clearfield, PA 16830‐2552                                                                                                 First Class Mail
Chartered Organization         The Presbyterian Church                                                   Jersey Shore Council 341                             1070 Hooper Ave                                             Toms River, NJ 08753‐8321                                                                                                 First Class Mail
Chartered Organization         The Presbyterian Church                                                   Westchester Putnam 388                               39 N Broadway                                               White Plains, NY 10601‐1602                                                                                               First Class Mail
Chartered Organization         The Presbyterian Church At Hammonton                                      Jersey Shore Council 341                             326 Bellevue Ave                                            Hammonton, NJ 08037‐1929                                                                                                  First Class Mail
Chartered Organization         The Presbyterian Church In Geneva                                         Seneca Waterways 397                                 24 Park Pl                                                  Geneva, NY 14456‐2817                                                                                                     First Class Mail
Voting Party                   The Presbyterian Church In Westfield                                      Attn: Lou Ann Kaplonski                              140 Mountain Ave                                            Westfield, NJ 07090                                                                   lkaploski@westfieldpc.org           Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Presbyterian Church In Westfield                                      Attn: Lou Ann Kaplonski                              140 Mountain Ave                                            Westfield, NJ 07090                                                                   lkaplonski@westfieldpc.org          Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Presbyterian Church In Westfield                                      Attn: Ellen O'Connell                                600 Parsippany Rd, Ste 204                                  Parsippany, NJ 07054                                                                  lkaplonski@westfieldpc.org          Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Presbyterian Church In Westfield                                      140 Mountain Ave                                     Westfield, NJ 07090                                                                                                                               lkaplonski@westfieldpc.org          Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Presbyterian Church In Westfield                                      Attn: Ellen O'Connell                                600 Parsippany Rd, Ste 204                                  Parsippany, NJ 07054                                                                  eoconnell@iwwt.law                  Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Presbyterian Church Of Easton                                         Del Mar Va 081                                       617 N Washington St                                         Easton, MD 21601‐3730                                                                                                     First Class Mail
Voting Party                   The Presbyterian Church Of Kane                                           Attn: Lori Fiscus                                    103 Greeves St                                              Kane, PA 16735                                                                        presbykane@verizon.net              Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Presbyterian Church Of Marion Center                                  Laurel Highlands Council 527                         206 High St                                                 Marion Center, PA 15759                                                                                                   First Class Mail
Chartered Organization         The Presbyterian Church Of Prospect                                       Moraine Trails Council 500                           P.O. Box 285                                                Prospect, PA 16052‐0285                                                                                                   First Class Mail
Chartered Organization         The Presbyterian Church Of Sewickley                                      Laurel Highlands Council 527                         414 Grant St                                                Sewickley, PA 15143‐1231                                                                                                  First Class Mail
Chartered Organization         The Presbyterian Church Of St Albans                                      Greater New York Councils, Bsa 640                   19004 119th Ave                                             St Albans, NY 11412‐3325                                                                                                  First Class Mail
Voting Party                   The Presbyterian Church Of Toms River, New Jersey                         1070 Hooper Ave                                      Toms River, NJ 08753‐8321                                                                                                                         Clerk@pctr.org                      Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Presbyterian Church Of Upper Montclair                                Attn: Denise Silecchia                               53 Norwood Ave                                              Upper Montclair, NJ 07043                                                             lauraphillips1981@outlook.com       Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Presbyterian Church Of Upper Montclair                                Attn: Denise Silecchia                               53 Norwood Ave                                              Upper Montclair, NJ 07043                                                             lauraphillips@1981@outlook.com      Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Presbyterian Church Of Willingboro                                    494 Beverly Rancocas Rd                              Willingboro, NJ 08046                                                                                                                             wbpresbychurch@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Presbytery Of Western North Carolina, Inc                             c/o Young, Morphis, Bach & Taylor LLP                Attn: Jimmy Summerlin, Jr                                   P.O. Drawer 2428               Hickory, NC 28603                                      jimmys@hickorylaw.com               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Presbytery Of Western North Carolina, Inc                             114 Silver Creek Rd                                  Morganton, NC 28655                                                                                                                               jimmys@hickorylaw.com               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Preserve At Stone Oak Hoa                                             Capitol Area Council 564                             4021 Enchanted Rock Cv                                      Round Rock, TX 78681‐1127                                                                                                 First Class Mail
Chartered Organization         The Principia School                                                      Greater St Louis Area Council 312                    13201 Clayton Rd                                            St Louis, MO 63131‐1002                                                                                                   First Class Mail
Chartered Organization         The Promise Utd Methodist Church                                          Crossroads of America 160                            12648 E 116th St                                            Fishers, IN 46037‐7602                                                                                                    First Class Mail
Voting Party                   The Protestant Episcopal Church Of The Nativity                           Attn: Rev Beverly Hosea                              731 8th St                                                  Lewiston, ID 83501                                                                    office@nativitylewiston.com         Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Protestant Episcopal Diocese Of Kentucky                              425 S 2nd St                                         Louisville, KY 40202                                                                                                                              bishopwhite@episcopalky.org         Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Protestant Episcopal Diocese Of Kentucky                              c/o Cole & Moore, Psc                                921 College St                                              P.O. Box 10240                 Bowling Green, KY 42102‐7240                                                               First Class Mail
Voting Party                   The Protestant Episcopal Society Of Christs Church, Quincy                12 Quincy Ave                                        Quincy, MA 02169                                                                                                                                  cbrown@christchurchquincy.org       Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Qbe Foundation, Inc                                                   National Capital Area Council 082                    14600 Washington St                                         Haymarket, VA 20169‐4980                                                                                                  First Class Mail
Voting Party                   The Queen Of Peace R C Church Society Of Buffalo                          c/o Woods Oviatt Gilman LLP                          Attn: Timothy P Lyster, Esq                                 1900 Bausch & Lomb Pl          Rochester, NY 14604                                    tlyster@woodsoviatt.com             Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The R C Church Of The Archdiocese Of New Orleans                          Attn: Susan A Zeringue, General Counsel              7887 Walmsley Ave                                           New Orleans, LA 70125                                                                 szeringue@arch‐no.org               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The R C Church Of The Archdiocese Of New Orleans                          Attn: Susan Zeringue                                 7887 Walmsley Ave                                           New Orleans, LA 70125                                                                 szeringue@arch‐no.org               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The R C Diocese Of Brooklyn, New York                                     Attn: Vy Rev Patrick J Keating Esq                   310 Prospect Park W                                         Brooklyn, NY 11201                                                                    pkeating@diobrook.org               Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The R C Diocese Of Syracuse, New York                                     c/o Mackenzie Hughes LLP                             Attn: Neil J Smith, Esq                                     440 S Warren St, Ste 400       Syracuse, NY 13202                                     nsmith@mackenziehughes.com          Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The R C Diocese Of Toledo In America                                      Attn: Thomas J Antonini                              1933 Spielbusch Ave                                         Toledo, OH 43604                                                                      tantonini@toledodiocese.org         Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Radburn Assoc                                                         Northern New Jersey Council, Bsa 333                 29‐20 Fair Lawn Ave                                         Fair Lawn, NJ 07410‐3406                                                                                                  First Class Mail
Firm                           The Ragland Law Firm                                                      Robert Allen Ragland                                 1916 R St., NW Ste #308                                     Washington, DC 20009                                                                  orlandrr@aol.com                    Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Rccg Isaac Generation Assembly                                        Sam Houston Area Council 576                         10330 Sugar Branch Dr                                       Houston, TX 77036‐8451                                                                                                    First Class Mail
Voting Party                   The Rector Wardens And Vestry Of St. Lukes Episcopal Church               c/o Plews Shadley Racher & Braun LLP                 Attn: Todd G Relue                                          1346 N Delaware St             Indianapolis, IN 46202                                 trelue@psrb.com                     Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector Wardens And Vestrymen Christ Protestant                        c/o Plews Shadley Racher & Braun LLP                 Attn: Todd G Relue                                          1346 N Delaware St             Indianapolis, IN 46202                                 trelue@psrb.com                     Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector Wardens And Vestrymen Of Epiphany Parish In Vacaville          c/o Church of the Epiphany                           300 West St                                                 Vacaville, CA 95688                                                                   erjones@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector Wardens And Vestrymen Of Holy Trinity Church                   Attn: Parish Treasurer                               90 Leonardine Ave                                           South River, NJ 08882                                                                 ParishAdmin@holytrinitysr.org       Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector Wordens & Vestry                                               Attn: Karen Ann Campbell                             5 Hampton St                                                Soy Harbor, NY 11963                                                                  info@christchurchshny.org           Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Church Wardens & Vestrymen Of St; Mark's, Geneva              Attn: Rev Dr Mark A Tusken                           320 Franklin St                                             Geneva, IL 60134                                                                      mtusken@stmarks‐geneva.org          Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Church Wardens And Vestrymen Of Grace Episcopal               Grace Episcopal Church In Gainesville, Georgia       c/o Hulsey, Oliver, & Mahar LLP                             Attn: Jason Voyles             P.O. Box 1457                  Gainesville, GA 30503   jev@homlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Church Wardens, And Vestrymen Of Trinity Church               Attn: Shari Patrick                                  Trinity Church Wall St                                      76 Trinity Pl                  New York, NY 10006                                     spatrick@trinitywallstreet.org      Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Churchwardens & Vestrymen St Matthews Episcopal               Attn: The Rev Charles A De Kay, Rector               901 Forest Ave, 1E                                          Evanston, IL 60201                                                                    c.de.kay@hotmail.com                Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Warden And Vestry Of St Marks Parish, In Glendale             1020 N Brand Blvd                                    Glendale, CA 91202                                                                                                                                mark@saintmarks.la                  Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens & Vestry Of St. Pauls Episcopal Church                c/o Plews Shadley Racher & Braun LLP                 Attn: Todd G Relue                                          1346 N Delaware St             Indianapolis, IN 46202                                 trelue@psrb.com                     Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens + Vetry                                               5 Hampton St                                         Soy Harbor, NY 11963                                                                                                                              info@christchurchshny.org           Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens + Vetry                                               P O Box 570                                          Soy Harbor, NY 11963                                                                                                                                                                  First Class Mail
Voting Party                   The Rector, Wardens And Vestry Of St Pauls Episcopal Church               St Pauls Episcopal Church                            414 E Broad St                                              Westfield, NJ 07090                                                                   parishoffice@stpaulswestfield.org   Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens And Vestry Of St. Davids Church                       Attn: David Thomsson Finance Chair                   90 S Main St                                                Cranbury, NJ 08512                                                                    dthomsson@live.com                  Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens And Vestry Of St. Pauls Parish, Benicia               Attn: Yann Jouvenot, Senior Warde                    120 East J St                                               Benicia, CA 94510                                                                     admin@stpaulsbenicia.org            Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens And Vestrymen                                         Of The Parish Of The Church Of The Mediator, Inc     Attn: Marcus M Wilson                                       190 E Capitol St, Ste 650      Jackson, MS 39201                                      mwilson@blswlaw.com                 Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens And Vestrymen Of Grace Parish In Suisun               Attn: Kim Worthen                                    1405 Kentucky St                                            Fairfield, CA 94533                                                                   gracechurchff@sbcglobal.net         Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens And Vestrymen Of St Johns Episcopal Pa                Attn: The Rev Chris Rankin‐Williams                  P.O. Box 217                                                Ross, CA 94957                                                                        crw@stjohnsross.org                 Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens And Vestrymen Of St. Stephens Church, Whiting         Attn: Gerianne Murphy (Treasurer)                    180 Route 539                                               Whiting, NJ 08759‐1248                                                                houseofpink7@gmail.com              Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens And Vestrymen Of The Parish Of The Churc              Attn: Ann Glazar                                     P.O. Box 3400                                               Meridian, MS 39303                                                                    razalg@att.net                      Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens, & Vestrymen Of Trinity Parish Folsom Ca              Attn: Trinity Episcopal Church                       801 Figueroa St                                             Folsom, CA 95630                                                                      trinity@trinityfolsom.org           Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens, And Vestry Of Christ Church Parish                   Attn: Margaret Gardner, Christ Episcopal Church      P.O. Box 861                                                Eureka, CA 95502‐0861                                                                 christchurcheureka@gmail.com        Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens, And Vestry Of St. Pauls Parish                       c/o Ragghianti Freitas LLP                           Attn: Michael O Glass, Esq                                  1101 5th Ave, Ste 100          San Rafael, CA 94901                                   mglass@rflawllp.com                 Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens, And Vestry Of St. Pauls Parish                       c/o Ragghianti Freitas LLP                           Attn: Michael O. Glass, Esq.                                1101 5th Ave, Ste 100          San Rafael, CA 94901                                   mglass@rflawllp.com                 Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector, Wardens, And Vestrymen Of Grace Episcopal Church              Attn: Rev Amy Denney Zuniga                          1314 Spring St                                              St. Helena, CA 94574                                                                  revamy@grace‐episcopal.org          Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Rector. Wardens And Vestry Of Trinity (Sutter Creek)                  Attn: Paul Arthur Colbert                            430 State Hwy 49                                            Sutter Creek, CA 95685                                                                frpaul@trinitysuttercreek.org       Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         The Reformed Church                                                       Sioux Council 733                                    1209 Thresher Dr                                            Dell Rapids, SD 57022‐1030                                                                                                First Class Mail
Chartered Organization         The Reformed Church Of The Tarrytowns                                     Westchester Putnam 388                               42 N Broadway                                               Tarrytown, NY 10591‐3206                                                                                                  First Class Mail
Chartered Organization         The Regis School Of The Sacred Heart                                      Sam Houston Area Council 576                         7330 Westview Dr                                            Houston, TX 77055‐5122                                                                                                    First Class Mail
Chartered Organization         The Reserves Apartment                                                    Indian Waters Council 553                            2000 Faraway Dr                                             Columbia, SC 29223‐3871                                                                                                   First Class Mail
Voting Party                   The Resurrection Of Our Lord R C Congregation, Inc                        Attn: Matthew W Oakey                                218 N Charles St, Ste 400                                   Baltimore, MD 21201                                                                   moakey@gejlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   The Retreat House At Hillsboro                                            c/o The Law Office of Andrea Ross                    Attn: Andrea Ross, Esq                                      129 N West St, Ste 1           Easton, MD 21601                                       Patrick@DioceseofEaston.org         Email
                                                                                                                                                                                                                                                                                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                       Page 399 of 442
                                                                                    Case 20-10343-LSS                                                                    Doc 8171                                   Filed 01/06/22                                                   Page 415 of 457
                                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                                        Service List
                                                                                                                                                                                                 Served as set forth below

        Description                                                       Name                                                                                                                       Address                                                                                                          Email               Method of Service
Voting Party                   The Rev Mark D Wilkinson                                                   St Pauls Episcopal Church                                5373 Franz Rd                                           Katy, TX 77493                                                      mwilkinson@stpaulskaty.org      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Reverend Patricia Downing                                              Attn: Patricia Steinecke Downing                         1108 N Adams St                                         Wilmington, DE 19801                                                patricia@trinityparishde.org    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Ritter Law Office L.L.C.                                               Attn: Susan E Iacovone                                   P.O. Box 320                                            Bridgeton, NJ 08302                                                 siacovone@ritterlawoffice.com   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The River Church                                                           Chippewa Valley Council 637                              P.O. Box 442                                            Minong, WI 54859‐0442                                                                               First Class Mail
Chartered Organization         The River Of Life Church                                                   Alamo Area Council 583                                   3302 E Southcross Blvd                                  San Antonio, TX 78223‐1922                                                                          First Class Mail
Chartered Organization         The Rock Baptist Church                                                    Atlanta Area Council 092                                 P.O. Box 519                                            Rex, GA 30273‐0519                                                                                  First Class Mail
Chartered Organization         The Rock Church Okc                                                        Last Frontier Council 480                                6801 S Anderson Rd                                      Oklahoma City, OK 73150‐6309                                                                        First Class Mail
Chartered Organization         The Rod & Gun Club Of New Bedford                                          Narragansett 546                                         1405 N Hixville Rd                                      North Dartmouth, MA 02747‐1111                                                                      First Class Mail
Voting Party                   The Romand Catholic Diocese Of Ogdensburg                                  c/o Schwerzmann & Wise Pc                                Attn: Keith B Caughlin, Esq                             220 Sterling St                   Watertown, NY 13601               caughlin@schwerzmannwise.com    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Rotary Club Of Berkeley Heights                                        Patriots Path Council 358                                P.O. Box 2                                              Berkeley Heights, NJ 07922‐0002                                                                     First Class Mail
Chartered Organization         The Rotary Club Of Georgetown                                              Capitol Area Council 564                                 410 E University Ave 6825                               Georgetown, TX 78626‐6825                                                                           First Class Mail
Chartered Organization         The Rotary Club Of Georgetown                                              Capitol Area Council 564                                 P.O. Box 921                                            Georgetown, TX 78627‐0921                                                                           First Class Mail
Chartered Organization         The Rotary Club Of Hermosa Beach, Inc                                      Greater Los Angeles Area 033                             2521 Valley Dr 204                                      Hermosa Beach, CA 90254‐2653                                                                        First Class Mail
Chartered Organization         The Rotary Club Of Kalispell                                               Montana Council 315                                      P.O. Box 481                                            Kalispell, MT 59903‐0481                                                                            First Class Mail
Chartered Organization         The Rotary Club Of Northmont                                               Miami Valley Council, Bsa 444                            8137 N Main St                                          Englewood, OH 45415‐1703                                                                            First Class Mail
Chartered Organization         The Rotary Club Of Snoqualmie Valley                                       Chief Seattle Council 609                                P.O. Box 1463                                           North Bend, WA 98045‐1463                                                                           First Class Mail
Chartered Organization         The Rotary Club, Broadmoor Distr                                           Pikes Peak Council 060                                   P.O. Box 38572                                          Colorado Springs, CO 80937‐8572                                                                     First Class Mail
Chartered Organization         The Run The Race Club                                                      Simon Kenton Council 441                                 874 Helenhurst Ct                                       Westerville, OH 43081‐1908                                                                          First Class Mail
Chartered Organization         The Salvation Army                                                         Simon Kenton Council 441                                 760 Worthington Woods Blvd                              Columbus, OH 43085‐5715                                                                             First Class Mail
Chartered Organization         The Salvation Army                                                         Daniel Webster Council, Bsa 330                          18 Folsom Rd                                            Derry, NH 03038‐1402                                                                                First Class Mail
Chartered Organization         The Salvation Army                                                         Montana Council 315                                      1000 17th Ave S                                         Great Falls, MT 59405‐4522                                                                          First Class Mail
Chartered Organization         The Salvation Army                                                         President Gerald R Ford 781                              1281 Shonat St                                          Muskegon, MI 49442‐5363                                                                             First Class Mail
Chartered Organization         The Salvation Army                                                         San Diego Imperial Council 049                           3935 Lake Blvd                                          Oceanside, CA 92056‐4657                                                                            First Class Mail
Chartered Organization         The Salvation Army                                                         W D Boyce 138                                            243 Derby St                                            Pekin, IL 61554‐5505                                                                                First Class Mail
Chartered Organization         The Salvation Army                                                         South Georgia Council 098                                320 Smithland Pl                                        Valdosta, GA 31601‐5712                                                                             First Class Mail
Chartered Organization         The Salvation Army Belmont County                                          Ohio River Valley Council 619                            P.O. Box 489                                            Bellaire, OH 43906‐0489                                                                             First Class Mail
Chartered Organization         The Salvation Army Boston Kroc Center                                      The Spirit of Adventure 227                              650 Dudley St                                           Dorchester, MA 02125‐2607                                                                           First Class Mail
Chartered Organization         The Salvation Army Citadel                                                 Dan Beard Council, Bsa 438                               3503 Warsaw Ave                                         Cincinnati, OH 45205‐1871                                                                           First Class Mail
Chartered Organization         The Salvation Army Covington                                               Dan Beard Council, Bsa 438                               1806 Scott Blvd                                         Covington, KY 41014‐1221                                                                            First Class Mail
Chartered Organization         The Salvation Army Huntingdon                                              Juniata Valley Council 497                               2514 Shadyside Ave                                      Huntingdon, PA 16652‐2934                                                                           First Class Mail
Chartered Organization         The Salvation Army Hyannis Corps                                           Cape Cod and Islands Cncl 224                            P.O. Box 369                                            Hyannis, MA 02601‐0369                                                                              First Class Mail
Chartered Organization         The Salvation Army Memorial Commty                                         Center                                                   2110 N Queen St                                         Kinston, NC 28501‐1623                                                                              First Class Mail
Chartered Organization         The Salvation Army Oceanside Corps                                         San Diego Imperial Council 049                           3935 Lake Blvd                                          Oceanside, CA 92056‐4657                                                                            First Class Mail
Chartered Organization         The Salvation Army Of Amarillo                                             Golden Spread Council 562                                P.O. Box 2490                                           Amarillo, TX 79105‐2490                                                                             First Class Mail
Chartered Organization         The Salvation Army Pahrump                                                 Las Vegas Area Council 328                               721 Buol Rd                                             Pahrump, NV 89048‐4658                                                                              First Class Mail
Chartered Organization         The Salvation Army Ray/Joan Kroc Ctr Sf                                    San Francisco Bay Area Council 028                       240 Turk St                                             San Francisco, CA 94102‐3808                                                                        First Class Mail
Chartered Organization         The Salvation Army Service Extension                                       Mid Iowa Council 177                                     505 W Main St                                           Ottumwa, IA 52501‐2334                                                                              First Class Mail
Chartered Organization         The Salvation Army Sheboygan                                               Bay‐Lakes Council 635                                    P.O. Box 1207                                           Sheboygan, WI 53082‐1207                                                                            First Class Mail
Chartered Organization         The Salvation Army‐Bedford Stuyvesant                                      Greater New York Councils, Bsa 640                       601 Lafayette Ave                                       Brooklyn, NY 11216‐1019                                                                             First Class Mail
Chartered Organization         The Sanctuary At Kingdom Square                                            National Capital Area Council 082                        9171 Central Ave                                        Capitol Heights, MD 20743‐3837                                                                      First Class Mail
Chartered Organization         The Sandersville Lions Club                                                Central Georgia Council 096                              P.O. Box 1134                                           Sandersville, GA 31082‐1134                                                                         First Class Mail
Chartered Organization         The Scalawags                                                              Cascade Pacific Council 492                              30290 Berlin Rd                                         Lebanon, OR 97355‐9730                                                                              First Class Mail
Voting Party                   The School of the Incarnation, Inc                                         Attn: Matthew W Oakey                                    218 N Charles St, Ste 400                               Baltimore, MD 21201                                                 moakey@gejlaw.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Scouting Ministry 771, Inc                                             Longhorn Council 662                                     4300 Bordeaux Way                                       Flower Mound, TX 75022‐7056                                                                         First Class Mail
Chartered Organization         The Scouting Parents Western Avenue Sch                                    Three Fires Council 127                                  2041 Bent Tree Dr                                       Geneva, IL 60134‐4308                                                                               First Class Mail
Chartered Organization         The Seabrook Assoc                                                         Sam Houston Area Council 576                             P.O. Box 1107                                           Seabrook, TX 77586‐1107                                                                             First Class Mail
Chartered Organization         The Sedalia Center                                                         Blue Ridge Mtns Council 599                              1108 Sedalia School Rd                                  Big Island, VA 24526‐2999                                                                           First Class Mail
Chartered Organization         The Session Of Brevard‐Davidson River                                      Daniel Boone Council 414                                 249 E Main St                                           Brevard, NC 28712‐3723                                                                              First Class Mail
Chartered Organization         The Session‐Trinity Presbyterian Church                                    Great Rivers Council 653                                 1600 Rollins Rd                                         Columbia, MO 65203‐1756                                                                             First Class Mail
Chartered Organization         The Settlement Preschool & Kindergarten                                    Middle Tennessee Council 560                             2724 Trenton Rd                                         Clarksville, TN 37040‐5818                                                                          First Class Mail
Chartered Organization         The Shadyside Community Center                                             Baltimore Area Council 220                               1431 Snug Harbor Rd                                     Shady Side, MD 20764‐9729                                                                           First Class Mail
Chartered Organization         The Shores Homeowners Assoc                                                Circle Ten Council 571                                   P.O. Box 75087                                          Rockwall, TX 75087                                                                                  First Class Mail
Voting Party                   The Shrine Of The Sacred Heart Roman Catholic Congregation, Incorporated   Attn: Matthew W Oakey                                    218 N Charles St, Ste 400                               Baltimore, MD 21201                                                 moakey@gejlaw.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Shrine Of The Sacred Heart Roman Catholic Congregation, Incorporated   c/o Gallagher Evelius & Jones LLP                        Attn: Matthew W Oakey                                   218 N Charles St, Ste 400         Baltimore, MD 21201               moakey@gejlaw.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           The Simpson Tuegel Law Firm, PLLC                                          Michelle Simpson Tuegel                                  3301 Elm St                                             Dallas, TX 75226                                                    michelle@stfirm.com             Email
                                                                                                                                                                                                                                                                                               maziz@awtxlaw.com               First Class Mail
                                                                                                                                                                                                                                                                                               sweiss@seegerweiss.com
Chartered Organization         The Soaring Hawks Foundation                                               Dan Beard Council, Bsa 438                               3236 Columbia Pkwy                                      Cincinnati, OH 45226‐1042                                                                           First Class Mail
Chartered Organization         The Springs Church Of South Mississippi                                    Pine Burr Area Council 304                               4664 Hwy 589                                            Sumrall, MS 39482‐3932                                                                              First Class Mail
Chartered Organization         The St Philips Lutheran Church                                             Pee Dee Area Council 552                                 6200 N Kings Hwy                                        Myrtle Beach, SC 29572‐3001                                                                         First Class Mail
Voting Party                   The St. Timothy United Methodist Church                                    Attn: E C Otillio, Jr, Lay Leader                        335 Asbury Dr                                           Mandeville, LA 70471                                                dotillio@bellsouth.net          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Stone Garage, Inc                                                      Chester County Council 539                               115 S Union St                                          Kennett Square, PA 19348‐3117                                                                       First Class Mail
Chartered Organization         The Streetsboro Utd Methodist Church                                       Great Trail 433                                          8940 State Route 43                                     Streetsboro, OH 44241‐5771                                                                          First Class Mail
Chartered Organization         The Study Hall                                                             Atlanta Area Council 092                                 P.O. Box 6717                                           Atlanta, GA 30315‐0717                                                                              First Class Mail
Chartered Organization         The Sulzbacher Center                                                      North Florida Council 087                                611 E Adams St                                          Jacksonville, FL 32202‐2847                                                                         First Class Mail
Voting Party                   The Summit Church                                                          Attn: Robin Dawson                                       3381 NW Chipman Rd                                      Lees Summit, MO 64081                                               rdawson@reachingthesummit.com   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Summit Country Day School, Inc                                         Dan Beard Council, Bsa 438                               2161 Grandin Rd                                         Cincinnati, OH 45208‐3359                                                                           First Class Mail
Voting Party                   The Sutherland Ruritan Club, Inc                                           Attn: John Bailey                                        3028 Oxford Dr                                          Sutherland, VA 23885                                                                                First Class Mail
Voting Party                   The Tamposi Law Group, P.C.                                                Peter N Tamposi                                          159 Main St                                             Nashua, NH 03060                                                    peter@thetamposilawgroup.com    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Tatnall School                                                         Del Mar Va 081                                           1501 Barley Mill Rd                                     Wilmington, DE 19807‐2231                                                                           First Class Mail
Chartered Organization         The Temple                                                                 Lincoln Heritage Council 205                             5101 US Hwy 42                                          Louisville, KY 40241‐6016                                                                           First Class Mail
Chartered Organization         The Texas Chautauqua Assoc                                                 Capitol Area Council 564                                 710 Wonder St                                           Round Rock, TX 78681‐4144                                                                           First Class Mail
Chartered Organization         The Time Corners Kiwanis Club                                              Anthony Wayne Area 157                                   12525 Rockridge Pl                                      Fort Wayne, IN 46814‐9508                                                                           First Class Mail
Chartered Organization         The Timmerman School                                                       Indian Waters Council 553                                2219 Atascadero Dr                                      Columbia, SC 29206‐1420                                                                             First Class Mail
Voting Party                   The Towson Presbyterian Church                                             c/o Pike & Giliss LLC                                    Attn: David Gilliss                                     600 Washington Ave, Ste 303       Towson, MD 21204                  gilliss@pikegilliss.com         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Towson Presbyterian Church                                             c/o Pike & Gilliss LLC                                   Attn: David Gilliss                                     600 Washington Ave, Ste 303       Towson, MD 21204                  gilliss@pikegilliss.com         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Traditional Congregration Mt Dora                                      Central Florida Council 083                              848 N Donnelly St                                       Mt Dora, FL 32757‐4836                                                                              First Class Mail
Chartered Organization         The Treo At Encore Of The Tha                                              Greater Tampa Bay Area 089                               1101 Ray Charles Blvd                                   Tampa, FL 33602‐3016                                                                                First Class Mail
Chartered Organization         The Trinity Utd Methodist                                                  Black Swamp Area Council 449                             137 E High St                                           Hicksville, OH 43526‐1159                                                                           First Class Mail
Voting Party                   The Trustees Of Church Property Of The Diocese of New Jersey               Attn: Canon Jones                                        808 W State St                                          Trenton, NJ 08618                                                   pjones@dioceseofnj.org          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Trustees Of Jackson United Methodist Church                            Jackson United Methodist Church                          P.O. Box 1880                                           409 E 3rd St                      Jackson, GA 30233                 dkinkade1950@gmail.com          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Trustees Of St. Pauls Church In Troy, New York                         Attn: Michael Gorchov                                    58 3rd St, P.O. Box 868                                 Troy, NY 12181                                                      frmichael@stpaulstroy.org       Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Trustees Of The Diocese Of Albany                                      580 Burton Rd                                            Greenwich, NY 12834                                                                                                         diocese@albanydiocese.org       Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Trustees Of The Episcopal Church                                       c/o Diocese of Eau Claire Inc                            Attn: Treasurer                                         510 S Farwell                     Eau Claire, WI 54701                                              First Class Mail
Voting Party                   The Trustees Of The Episcopal Church In The Diocese Of Eau Claire          c/o Ruder Ware Llsc                                      Attn: Randi Osberg                                      402 Graham Ave, 6th Fl            Eau Claire, WI 54701              rosberg@ruderware.com           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Trustees Of The Protestant Episcopal Church, Diocese De                Attn: The Rev Canon Martha Kirkpatrick                   913 Wilson Rd                                           Wilmington, DE 19803                                                mkirkpatrick@delaware.church    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Umc Of Mt. Vernon                                                      Terra Lynne Amundson                                     304 1st St Sw                                           Mt Vernon, IA 52314                                                 pastorterra@umcmv.com           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Umc Of New City                                                        c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Umc Of St. Thomas (182155)                                             c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Uni Ch After Sch Program                                               Erie Shores Council 460                                  4747 Hill Ave                                           Toledo, OH 43615‐5305                                                                               First Class Mail
Voting Party                   The Union Church                                                           Attn: Paul Edward Hill                                   44 Balmville Rd                                         Newburgh, NY 12550                                                  newburghunionchurch@gmail.com   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Union Church                                                           44 Balmville Rd                                          Newburgh, NY 12550                                                                                                          newburghunionchurch@gmail.com   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The United Methodist Ch W Covina                                           Greater Los Angeles Area 033                             718 S Azusa Ave                                         West Covina, CA 91791‐2602                                                                          First Class Mail
Chartered Organization         The United Methodist Ch Yorba Linda                                        Orange County Council 039                                19002 Yorba Linda Blvd                                  Yorba Linda, CA 92886‐2729                                                                          First Class Mail
Chartered Organization         The United Methodist Church                                                Longhouse Council 373                                    34 Grove St                                             Gouverneur, NY 13642‐1448                                                                           First Class Mail
Voting Party                   The United Methodist Church                                                Attn: Hattie Gwen Taylor                                 390 Gallop Rd                                           North Bangor, NY 12966                                              yellowhat42@gmail.com           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church                                                Attn: Harry Neidig                                       786 John Brown Farm Rd                                  Harpers Ferry, WV 25425                                             harryneidig@vaumc.org           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church                                                c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church                                                102 E Harper                                             Tribune, KS 67879                                                                                                                                           First Class Mail
Voting Party                   The United Methodist Church Of Alliance 704 Vox Butte Ave, N               c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Berea                                       Attn: Mark P Williams                                    170 Seminary St                                         Berea, OH 44017‐1954                                                info@umcb.org                   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Big Bear Lake                               c/o East District Union of the Umc                       Attn: John Dandurand                                    918 N Euclid Ave                  Ontario, CA 91762                 eastdistrict@calpacumc.org      Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of De Soto                                     c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Dexter                                      Dexter United Methodist Church                           7643 Huron River Dr                                     Dexter, MI 48169                                                    admin@dexterumc.org             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Edgerton                                    Attn: Trustees ‐ Edgerton Umc                            P.O. Box 699                                            Edgerton, OH 43517                                                  secretary@edgertonchurch.com    Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Enfield                                     United Methodist Church of Enfield                       41 Brainard Rd                                          Enfield, CT 06082                                                   churchoffice@umce.org           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Frankston                                   P O Box 355                                              Frankston, TX 75763                                                                                                         umcfrankston@umcfrankston.org   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Holyoke, S Hadley And Granb                 Peter Francis Milloy                                     30 Carew St                                             South Hadley, MA 01075                                              pmilloy59@gmail.com             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Holyoke, S Hadley And Granby                Attn: Peter F Milloy                                     74 Pine Grove Dr                                        South Hadley, MA 01075                                              pmilloy59@gmail.com             Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Hyde Park                                   Attn: Kregg Gabor                                        1 Church St                                             Hyde Park, NY 12538‐1601                                            umchpny@gmail.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Mantua                                      c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Marthas Vineyard                            Attn: John B Freeman                                     35 Clinton Ave                                          P.O. Box 28                       Oaks Bluff, MA 02557              johnfreem@aol.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Mt. Vernon                                  Attn: Mike Kragenbrink                                   707 5th Ave Nw                                          Mt. Vernon, IA 52314‐1110                                           pastorterra@umcmv.com           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of New Lenox                                   339 W Haven Ave                                          New Lenox, IL 60451                                                                                                         office@umcnl.com                Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Peekskill                                   Attn: Trustees of United Methodist Church of Peekskill   1040 Main St                                            Peekskill, NY 10566                                                 office@umcpeekskill.com         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Peterborough                                Attn: Greg Robidoux                                      43 Concord St                                           Peterborough, NH 03458                                              treasurer@peterboroughumc.org   Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Savage                                      Attn: Patricia Riley                                     9050 Baltimore St                                       Savage, MD 20763‐9647                                               office@umcsavage.org            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Summit                                      c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   ERICE@BRADLEY.COM               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of The Abundant Harvest                        Attn: President of Trustees                              12373 Maple Ridge Rd                                    Medina, NY 14103                                                    gemccaffery@gmail.com           Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of The Covenant                                Attn: Matthew Conn Treasurer                             10001 Coldwater Rd                                      Fort Wayne, IN 46825                                                office@covenantumc.net          Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of Waterbury                                   Attn: Rev Sandra B Mantz                                 250 Country Club Rd                                     Waterbury, CT 06708                                                 sbmantz@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of West Sand Lake                              c/o Salem United Methodist Church                        Attn: Carl Markussen                                    P.O. Box 475                      W Sand Lake, NY 12196             salemumcwsl@hotmail.com         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church Of West Sand Lake                              Attn: Christina Desmond                                  201 Shaver Rd                                           W Sand Lake, NY 12196                                               cdmusic600@gmail.com            Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church, Anthony, Kansas                               c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Methodist Church, Anthony, Kansas                               225 N Bluff Ave                                          Anthony, KS 67003                                                                                                                                           First Class Mail
Voting Party                   The United Methodist Foundation Of Chagrin Falls                           Attn: Dan Spisak, Chair, Trustees                        20 S Franklin St                                        Chagrin Falls, OH 44022                                             chris@itcohio.com               Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Ministry Of Delhi                                               Attn: Laura Clark, Treasurer                             1 Church St                                             Delhi, NY 13753                                                     office@umdelhi.org              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Presbyterian Church Of Walton                                   Carl Joseph Mugglin                                      58 East St                                              Walton, NY 13856                                                    upresch@frontiernet.net         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The United Presbyterian Church Of Walton                                   58 E St                                                  Walton, NY 13856                                                                                                            upresch@frontiernet.net         Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   The Untied Methodist Church Of Dwight                                      Attn: Mary Arnold                                        701 S Columbia St                                       Dwight, IL 60420                                                    info@dwightumc.org              Email
                                                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         The Ups Store 6841                                                         Gulf Coast Council 773                                   16400 US Hwy 331 S, Ste B2                              Freeport, FL 32439‐4192                                                                             First Class Mail
Chartered Organization         The Us Stem Foundation                                                     National Capital Area Council 082                        7371 Atlas Walk Way 242                                 Gainesville, VA 20155‐2992                                                                          First Class Mail
Chartered Organization         The Utd Methodist Church                                                   Northern New Jersey Council, Bsa 333                     8 Academy Rd                                            Caldwell, NJ 07006‐5401                                                                             First Class Mail
Chartered Organization         The Utd Methodist Church                                                   Arbuckle Area Council 468                                401 N Willow St                                         Pauls Valley, OK 73075‐2231                                                                         First Class Mail
Chartered Organization         The Utd Methodist Church                                                   Central Florida Council 083                              450 Lee Ave                                             Satellite Beach, FL 32937‐2910                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                        Page 400 of 442
                                                                                  Case 20-10343-LSS                                                            Doc 8171                                           Filed 01/06/22                                                    Page 416 of 457
                                                                                                                                                                                                     Exhibit B
                                                                                                                                                                                                      Service List
                                                                                                                                                                                               Served as set forth below

        Description                                                        Name                                                                                                                    Address                                                                                                             Email                  Method of Service
Chartered Organization         The Utd Methodist Church At Lakewood                               Pacific Harbors Council, Bsa 612                       6900 Steilacoom Blvd Sw                                         Lakewood, WA 98499‐1944                                                                                   First Class Mail
Chartered Organization         The Utd Methodist Church Of Chartley                               Narragansett 546                                       76 S Worcester St                                               Norton, MA 02766‐2101                                                                                     First Class Mail
Chartered Organization         The Venues                                                         Ozark Trails Council 306                               2616E Battlefied Rd                                             Springfield, MO 65804                                                                                     First Class Mail
Chartered Organization         The Verland Foundation                                             Laurel Highlands Council 527                           212 Iris Rd                                                     Sewickley, PA 15143‐2402                                                                                  First Class Mail
Chartered Organization         The Verland Foundation Cla                                         Laurel Highlands Council 527                           934 Brodhead Rd                                                 Coraopolis, PA 15108‐2348                                                                                 First Class Mail
Voting Party                   The Versailles United Methodist Church                             Attn: William Kling                                    210 N Monroe                                                    Versailles, MO 65084                                                 versaillesmoumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   The Vestry Of Christ Episcopal Church Of Valdosta, Inc             c/o Law Offices of Skip Jennings, P C                  Attn: Richard C E Jennings                                      115 W Oglethorpe Ave                Savannah, GA 31401               skipjenningspc@comcast.net           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   The Vestry Of Deer Creek Parish, Grace Memorial Episcopal Church   Attn: Rev List Bornt                                   1022 Main St                                                    P.O. Box 35                         Darlington, MD 21034             gracememorial.darlington@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         The Vestry Of St Lukes Episcopal                                   Greater Alabama Council 001                            3736 Montrose Rd                                                Mountain Brk, AL 35213‐3832                                                                               First Class Mail
Chartered Organization         The Vestry Of St Pauls Episcopal Church                            Patriots Path Council 358                              414 E Broad St                                                  Westfield, NJ 07090‐2124                                                                                  First Class Mail
Voting Party                   The Vestry Of St Thomas Episcopal Parish, Upper Marlboro, Md       Attn: Peter M Antoci                                   14300 St Thomas Church Rd                                       Upper Marlboro, MD 20772                                             rector@stthomascroom.org             Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   The Vestry Of St. David's                                          Attn: Rev Scott P Bellows                              4700 Roland Ave                                                 Baltimore, MD 21210                                                  twebb@milesstockbridge.com           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   The Vestry Of The Church Of The Nativity, Cedarcroft               Attn: Neal C Baroody                                   201 N Charles St, Ste 2102                                      Baltimore, MD 21201                                                  nbaroody@aol.com                     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         The VFW Post 9334                                                  Transatlantic Council, Bsa 802                         Cmr 411 Box 2416                                                APO, AE 09112‐0025                                                                                        First Class Mail
Chartered Organization         The Victory Celebration Church                                     North Florida Council 087                              3220 New Berlin Rd                                              Jacksonville, FL 32226‐1830                                                                               First Class Mail
Chartered Organization         The View First Baptist Church                                      Greater St Louis Area Council 312                      725 S Lewis Ln                                                  Carbondale, IL 62901‐3344                                                                                 First Class Mail
Chartered Organization         The Village Church                                                 North Florida Council 087                              4225 Pacetti Rd                                                 St Augustine, FL 32092‐3418                                                                               First Class Mail
Voting Party                   The Village Church Of Bayville                                     Attn: Trustees                                         9 Mountain Ave                                                  Bayville, NY 11709                                                   villagechurch@verizon.net            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         The Village Presbyterian Church                                    San Diego Imperial Council 049                         P.O. Box 704                                                    Rancho Santa Fe, CA 92067‐0704                                                                            First Class Mail
Voting Party                   The Vine United Methodist Church ‐ Hoschton                        c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         The Vine Utd Methodist Church                                      Northeast Georgia Council 101                          6553 Spout Springs Rd                                           Flowery Branch, GA 30542‐5527                                                                             First Class Mail
Chartered Organization         The Wagnalls Memorial                                              Simon Kenton Council 441                               150 E Columbus St                                               Lithopolis, OH 43136                                                                                      First Class Mail
Chartered Organization         The Walker School                                                  Atlanta Area Council 092                               700 Cobb Pkwy N                                                 Marietta, GA 30062‐2404                                                                                   First Class Mail
Voting Party                   The Wardens And Vestry Of St. Johns Church In Savannah, Inc        c/o Law Offices of Skip Jennings, P C                  Attn: Richard C E Jennings                                      115 W Oglethorpe Ave                Savannah, GA 31401               skipjenningspc@comcast.net           Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   The Wardens Vestory Of Trinity Episcopal Church ‐ Saugerties       Attn: Stephen Shafer                                   32 Church St                                                    Saugerties, NY 12477                                                 sqs1@columbia.edu                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   The Wardens Vestory Of Trinity Episcopal Church ‐ Saugerties       Attn: Stephen Shaffer                                  32 Church St                                                    Saugerties, NY 12477                                                 sqs1@columbia.edu                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   The Way Woodstock Umc                                              c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           The Webster Law Firm                                               Attn: Jason Webster                                    6200 Savoy Drive, Ste #150                                      Houston, TX 77036                                                    bsc@thewebsterlawfirm.com            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         The Weiss School Pto                                               Gulf Stream Council 085                                4176 Burns Rd                                                   Palm Beach Gardens, FL 33410‐4618                                                                         First Class Mail
Chartered Organization         The Well At Lewisburg                                              Chickasaw Council 558                                  56 Vaughn Ln                                                    Olive Branch, MS 38654‐8990                                                                               First Class Mail
Chartered Organization         The Wellsville Foundation                                          Trapper Trails 589                                     P.O. Box 166                                                    Wellsville, UT 84339‐0166                                                                                 First Class Mail
Chartered Organization         The West Jefferson Methodist Church                                Simon Kenton Council 441                               58 S Center St                                                  West Jefferson, OH 43162‐1559                                                                             First Class Mail
Chartered Organization         The Westhaven Foundation                                           Middle Tennessee Council 560                           188 Front St 25                                                 Franklin, TN 37064‐5078                                                                                   First Class Mail
Chartered Organization         The Westminster Schools                                            Atlanta Area Council 092                               1424 W Paces Ferry Rd Nw                                        Atlanta, GA 30327‐2428                                                                                    First Class Mail
Chartered Organization         The Westminster Schools                                            Atlanta Area Council 092                               1424 W Paces Ferry Rd Nw                                        Atlanta, GA 30327‐2428                                                                                    First Class Mail
Chartered Organization         The Westside Foundation                                            Mid‐America Council 326                                1101 S 90th St                                                  Omaha, NE 68124‐1201                                                                                      First Class Mail
Chartered Organization         The Westview School                                                Sam Houston Area Council 576                           1830 Kersten Dr                                                 Houston, TX 77043‐3118                                                                                    First Class Mail
Chartered Organization         The Westwood First Presbyterian Church                             Dan Beard Council, Bsa 438                             3011 Harrison Ave                                               Cincinnati, OH 45211‐5701                                                                                 First Class Mail
Chartered Organization         The Westwood First Presbyterian Church                             Dan Beard Council, Bsa 438                             3011 Harrison Ave                                               Cincinnati, OH 45211‐5701                                                                                 First Class Mail
Chartered Organization         The Windermere Union Church‐Church Of                              Central Florida Council 083                            10710 Park Ridge Gotha Rd                                       Windermere, FL 34786‐7919                                                                                 First Class Mail
Chartered Organization         The Winston School                                                 Alamo Area Council 583                                 8565 Ewing Halsell Dr                                           San Antonio, TX 78229‐3718                                                                                First Class Mail
Chartered Organization         The Woodlands Commty                                               Presbyterian Church                                    4881 W Panther Creek Dr                                         The Woodlands, TX 77381‐2536                                                                              First Class Mail
Voting Party                   The Woodlands United Methodist Church                              Attn: Danielle Johnson                                 2200 Lake Woodlands Dr                                          The Woodlands, TX 77380                                              djohnson@twumc.org                   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   The Woods United Methodist Church                                  Attn: Charles Lamb                                     1350 Bardin Rd                                                  Grand Prairie, TX 75052‐1416                                         chasdlamb@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         The World Bird Sanctuary                                           Greater St Louis Area Council 312                      125 Bald Eagle Ridge Rd                                         Valley Park, MO 63088‐2036                                                                                First Class Mail
Chartered Organization         The Wyckoff Reformed Church                                        Northern New Jersey Council, Bsa 333                   580 Wyckoff Ave                                                 Wyckoff, NJ 07481‐1200                                                                                    First Class Mail
Chartered Organization         The Wyckoff Reformed Church                                        Northern New Jersey Council, Bsa 333                   580 Wyckoff Ave                                                 Wyckoff, NJ 07481‐1200                                                                                    First Class Mail
Chartered Organization         The Yearlings Club                                                 Lincoln Heritage Council 205                           4309 W Broadway                                                 Louisville, KY 40211‐3122                                                                                 First Class Mail
Firm                           The Zalkin Law Firm, P.C.                                          Devin M. Storey                                        10590 W Ocean Air Drive, Ste 125                                San Diego, CA 92130                                                  dms@zalkin.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         The Zuni Youth Enrichment Project                                  Great SW Council 412                                   P.O. Box 467                                                    Zuni, NM 87327‐0467                                                                                       First Class Mail
Voting Party                   The, Inc Trustees Of The Diocese Of Bethlehem, Inc                 Attn: Clayton Davidson                                 100 Pine St Fl 2                                                P.O. Box 1166                       Harrisburg, PA 17108             cdavidson@mcneeslaw.com              Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Thear Suzuki                                                       c/o Boy Scouts of America                              Attn: Chase Koontz                                              1325 W Walnut Hill Ln               Irving, TX 75015                 chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Theiss Pto, Inc                                                    Sam Houston Area Council 576                           18231 Theiss Mail Route Rd                                      Spring, TX 77379‐6117                                                                                     First Class Mail
Chartered Organization         Thelma Barker Elementary                                           West Tennessee Area Council 559                        1470 Ashport Rd                                                 Jackson, TN 38305‐8710                                                                                    First Class Mail
Chartered Organization         Theodore High School Jrotc                                         Mobile Area Council‐Bsa 004                            6201 Swedetown Rd N                                             Theodore, AL 36582‐6266                                                                                   First Class Mail
Chartered Organization         Theodore Jameson Elementary School                                 Northern Lights Council 429                            3315 University Dr                                              Bismarck, ND 58504‐7565                                                                                   First Class Mail
Voting Party                   Theodore Roosevelt Council, Inc                                    Attn: Christopher M Coscia                             544 Broadway                                                    Massapequa, NY 11758                                                 chris.coscia@scouting.org            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Theodore Roosevelt Elementary Pto                                  1001 S Fairview Ave                                    Park Ridge, IL 60068                                                                                                                 prrooseveltpto@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Theodore Roosevelt Lodge 219                                       Patriots Path Council 358                              P.O. Box 296                                                    Carteret, NJ 07008‐0296                                                                                   First Class Mail
Chartered Organization         Theodore Roosevelt Middle School                                   Verdugo Hills Council 058                              222 E Acacia Ave                                                Glendale, CA 91205‐6101                                                                                   First Class Mail
Chartered Organization         Theodore Roosevelt Parent Teacher Org                              Coronado Area Council 192                              14th & Houston                                                  Manhattan, KS 66502                                                                                       First Class Mail
Chartered Organization         Theodore Utd Methodist Church                                      Mobile Area Council‐Bsa 004                            6255 Swedetown Rd N                                             Theodore, AL 36582‐6255                                                                                   First Class Mail
Voting Party                   Theressa Hoover Memorial United Methodist Church                   Attn: Carleena Jones                                   4000 West 13th St                                               Little Rock, AR 72204                                                cjones@bcdinc.org                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Thermo Fisher Scientific                                           Gulf Stream Council 085                                1400 Northpoint Pkwy                                            West Palm Beach, FL 33407‐1976                                                                            First Class Mail
Chartered Organization         Thermon Manufacturing Co                                           Capitol Area Council 564                               100 Thermon Dr                                                  San Marcos, TX 78666‐5947                                                                                 First Class Mail
Chartered Organization         Theron Jones Community                                             Caddo Area Council 584                                 2600 W 15th St                                                  Texarkana, TX 75501‐4266                                                                                  First Class Mail
Chartered Organization         Theron Jones Early Literacy Center                                 Caddo Area Council 584                                 2600 W 15th St                                                  Texarkana, TX 75501‐4266                                                                                  First Class Mail
Chartered Organization         Theta Omicron Pika Housing Corp                                    Crossroads of America 160                              868 N 7th St                                                    Terre Haute, IN 47807‐2016                                                                                First Class Mail
Voting Party                   Thetford Center United Methodist Church                            Attn: Keith Cregar, Administrative Board Chairperson   P.O. Box 190                                                    Genesee, MI 48437                                                    geneseethetford@outlook.com          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Thiel Law Office PLLC                                              Matthew B Thiel                                        327 West Pine Street                                            Missoula, MT 59802                                                   matt@thiellaw.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Thiells Garnerville Umc                                            Hudson Valley Council 374                              102 Rosman Rd                                                   Thiells, NY 10984‐1329                                                                                    First Class Mail
Voting Party                   Thiells Garnerville Umc ‐ Thiells                                  c/o Bradley Arant Boult Cummings, LLP                  Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Thin Blue Line Foundation                                          Sam Houston Area Council 576                           P.O. Box 534                                                    Huffman, TX 77336‐0534                                                                                    First Class Mail
Chartered Organization         Third Baptist Church Of Chicago                                    Pathway To Adventure 456                               1551 W 95th St                                                  Chicago, IL 60643‐1329                                                                                    First Class Mail
Chartered Organization         Third Circuit Court                                                Great Lakes Fsc 272                                    2 Woodward Ave, Rm 711                                          Detroit, MI 48226‐3461                                                                                    First Class Mail
Chartered Organization         Third Congregational Church                                        Connecticut Rivers Council, Bsa 066                    94 Miner St                                                     Middletown, CT 06457‐1747                                                                                 First Class Mail
Chartered Organization         Third District Volunteer Fire Dept                                 Southeast Louisiana Council 214                        10423 Jefferson Hwy                                             River Ridge, LA 70123‐1809                                                                                First Class Mail
Chartered Organization         Third Presbyterian Church                                          Seneca Waterways 397                                   4 Meigs St                                                      Rochester, NY 14607‐2013                                                                                  First Class Mail
Chartered Organization         Third Presbyterian Church                                          Blackhawk Area 660                                     1221 Custer Ave                                                 Rockford, IL 61103‐4667                                                                                   First Class Mail
Chartered Organization         Third Presbyterian Church                                          Westmoreland Fayette 512                               425 Union St                                                    Uniontown, PA 15401‐4836                                                                                  First Class Mail
Chartered Organization         Third Reformed Church                                              Twin Rivers Council 364                                20 Ten Eyck Ave                                                 Albany, NY 12209‐1518                                                                                     First Class Mail
Chartered Organization         Third Street Academy                                               East Carolina Council 426                              600 W 3rd St                                                    Greenville, NC 27834‐1926                                                                                 First Class Mail
Chartered Organization         Thirty‐Six Club                                                    Connecticut Rivers Council, Bsa 066                    Sr 156                                                          Waterford, CT 06385                                                                                       First Class Mail
Chartered Organization         Thirty‐Six Club                                                    Connecticut Rivers Council, Bsa 066                    Sr 156                                                          Waterford, CT 06385                                                                                       First Class Mail
Chartered Organization         Thoburn United Methodist Church                                    Ohio River Valley Council 619                          P.O. Box 4                                                      St Clairsville, OH 43950‐0004                                                                             First Class Mail
Chartered Organization         Thomas & Hutton Engineering                                        Coastal Georgia Council 099                            50 Park of Commerce Way                                         Savannah, GA 31405‐1358                                                                                   First Class Mail
Chartered Organization         Thomas A Edison Charter School                                     Del Mar Va 081                                         2200 N Locust St                                                Wilmington, DE 19802‐4429                                                                                 First Class Mail
Chartered Organization         Thomas A Hendricks Pto                                             Crossroads of America 160                              1111 St Joseph St                                               Shelbyville, IN 46176‐3241                                                                                First Class Mail
Firm                           Thomas A. Clarke                                                   Thomas A. Clarke                                       8026 Vantage Drive, Ste 105                                     San Antonio, TX 78230                                                tclarkeatty7@aol.com                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Thomas Blades Elementary Pto                                       Greater St Louis Area Council 312                      5140 Patterson Rd                                               St Louis, MO 63129‐2442                                                                                   First Class Mail
Voting Party                   Thomas Boyd                                                        Address Redacted                                                                                                                                                                                                                 First Class Mail
Voting Party                   Thomas C Edwards                                                   c/o Boy Scouts of America                              Attn: Chase Koontz                                              1325 W Walnut Hill Ln               Irving, TX 75015                 chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Thomas Daley                                                       Address Redacted                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Thomas Edison Pta                                                  Greater Niagara Frontier Council 380                   236 Grayton Rd                                                  Tonawanda, NY 14150‐8620                                                                                  First Class Mail
Chartered Organization         Thomas Edison School                                               Northern New Jersey Council, Bsa 333                   507 5th St                                                      Union City, NJ 07087‐2834                                                                                 First Class Mail
Chartered Organization         Thomas Elementary School Pto                                       Simon Kenton Council 441                               4671 Tuttle Rd                                                  Dublin, OH 43017‐3575                                                                                     First Class Mail
Firm                           Thomas F. Godfrey                                                  Thomas F. Godfrey                                      3 Bristol Dr.                                                   Michigan City, IN 46360                                              tgodfreylaw@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Thomas H Clapham American Legion No 410                            Susquehanna Council 533                                320 Chestnut St                                                 Mifflinburg, PA 17844‐1318                                                                                First Class Mail
Voting Party                   Thomas Hjellming                                                   Address Redacted                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Thomas Hooker Elementary Ptg                                       Connecticut Yankee Council Bsa 072                     34 Ridgewood Rd                                                 Meriden, CT 06450‐4443                                                                                    First Class Mail
Chartered Organization         Thomas Jefferson Elementary School Pta                             Lasalle Council 165                                    1700 Roosevelt Rd                                               Valparaiso, IN 46383‐3700                                                                                 First Class Mail
Chartered Organization         Thomas Jefferson Elementary School Pto                             Sam Houston Area Council 576                           5000 Sharman St                                                 Houston, TX 77009‐2651                                                                                    First Class Mail
Chartered Organization         Thomas Jefferson High School                                       Denver Area Council 061                                3950 S Holly St                                                 Denver, CO 80237‐1117                                                                                     First Class Mail
Chartered Organization         Thomas Jefferson Middle School                                     Lincoln Heritage Council 205                           4401 Rangeland Rd                                               Louisville, KY 40219‐5409                                                                                 First Class Mail
Voting Party                   Thomas Kane Striffler                                              537 Meadow Dr                                          Caro, MI 48723                                                                                                                       tstriff@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Thomas L Marsalis Elementary                                       Circle Ten Council 571                                 5640 S Marsalis Ave                                             Dallas, TX 75241‐1903                                                                                     First Class Mail
Firm                           THOMAS LaBARBERA COUNSELORS at LAW, P.C.                           Ms. Kathleen R. Thomas, Esq.                           11 Broadway, Ste # 615                                          New York, NY 10004                                                   kat@tlcpc.law                        Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Thomas Law Offices                                                 Louis Schneider, Tad Thomas, Lindsay Cordes            9418 Norton Commons Blvd., Ste. 200                             Louisville, KY 40059                                                 lou.schneider@thomaslawoffices.com   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Thomas Martin                                                      Address Redacted                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Thomas Mihalis Memorial VFW Post 1079                              Lake Erie Council 440                                  500 Abbe Rd S                                                   Elyria, OH 44035‐6302                                                                                     First Class Mail
Chartered Organization         Thomas P Ryan Community Center                                     Seneca Waterways 397                                   530 Webster Ave                                                 Rochester, NY 14609‐4732                                                                                  First Class Mail
Chartered Organization         Thomas Presbyterian Church                                         Laurel Highlands Council 527                           1068 Linden Rd                                                  Eighty Four, PA 15330‐2529                                                                                First Class Mail
Voting Party                   Thomas R Meyering                                                  Address Redacted                                                                                                                                                                            Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Thomas R Yarboro                                                   c/o Boy Scouts of America                              Attn: Chase Koontz                                              1325 W Walnut Hill Ln               Irving, TX 75015                 chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Thomas R. Murphy, LLC                                              Thomas R. Murphy                                       133 Washington Street, 2fl                                      Salem, MA 01970                                                      trumurphy@trmlaw.net                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Thomas Roberts                                                     Address Redacted                                                                                                                                                                                                                 First Class Mail
Voting Party                   Thomas S Bain                                                      Address Redacted                                                                                                                                                                            Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Thomas Township Police Dept                                        Water and Woods Council 782                            8215 Shields Dr                                                 Saginaw, MI 48609‐4820                                                                                    First Class Mail
Voting Party                   Thomas United Methodist Church                                     Attn: Jay Bunting                                      P.O. Box 496                                                    Davis, WV 26260                                                      padrej@gmx.com                       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Thomas Varnell                                                     26200 Perdido Beach Blvd, Apt 1506                     Orange Beach, AL 36561                                                                                                               tomvarnell62@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Thomas Varnell                                                     Address Redacted                                                                                                                                                                            Email Address Redacted               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Thomas W Cook                                                      Address Redacted                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Thomas Walker Volunteer Fire Dept                                  Sequoyah Council 713                                   Old Hwy 58                                                      Ewing, VA 24248                                                                                           First Class Mail
Chartered Organization         Thomas Woods American Legion Post 223                              Winnebago Council, Bsa 173                             113 E 1st St                                                    Sumner, IA 50674‐1429                                                                                     First Class Mail
Chartered Organization         Thomaston Fire Dept                                                Connecticut Rivers Council, Bsa 066                    245 S Main St                                                   Thomaston, CT 06787‐1813                                                                                  First Class Mail
Voting Party                   Thomasville First United Methodist Church                          Attn: Floyd White                                      P.O. Box 975                                                    Thomasville, GA 31799                                                fwhite@tfumc.com                     Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Thomasville Heights                                                Purpose Built Schools                                  1820 Henry Thomas Dr Se                                         Atlanta, GA 30315‐5614                                                                                    First Class Mail
Chartered Organization         Thomasville United Methodist Church                                Mobile Area Council‐Bsa 004                            P.O. Box 185                                                    Thomasville, AL 36784‐0185                                                                                First Class Mail
Voting Party                   Thomasville United Methodist Church                                Attn: Larry Teasley                                    110 Old Hwy 5 N                                                 Thomasville, AL 36784                                                phillipmasonattt@bellsouth.net       Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Thomasville United Methodist Church                                Attn: Phillip Mason                                    507 Mosley Ave                                                  Thomasville, AL 36784                                                                                     First Class Mail
Chartered Organization         Thompson Road Baptist Church                                       Southeast Louisiana Council 214                        59008 Hwy 433                                                   Slidell, LA 70460‐3040                                                                                    First Class Mail
Voting Party                   Thompsongas, LLC                                                   Attn: Jennifer Sine                                    5260 Westview Dr, No 200                                        Frederick, MD 21703‐8512                                             jsine@thomsongas.com                 Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Thompsontown Amvets Post 122                                       Juniata Valley Council 497                             P.O. Box 71                                                     Thompsontown, PA 17094‐0071                                                                               First Class Mail
Voting Party                   Thomson Reuters West                                               Payment Center                                         P.O. Box 6292                                                   Carol Stream, IL 60197‐6292                                                                               First Class Mail
Voting Party                   Thomson Umc                                                        Attn: Kimberly D Chapman                               P.O. Box 517                                                    Thomson, IL 61285                                                    kchap717@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Thornapple Elem School Pto                                         President Gerald R Ford 781                            6932 Bridgewater Dr Se                                          Grand Rapids, MI 49546‐9722                                                                               First Class Mail
Chartered Organization         Thorne Elementary School Stem Program                              Great Lakes Fsc 272                                    25251 Annapolis St                                              Dearborn Heights, MI 48125‐1815                                                                           First Class Mail
Voting Party                   Thornhurst United Methodist Church (321 30341)                     c/o Bentz Law Firm                                     Attn: Leonard Spagnolo                                          680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Thornridge Community Church                                        Washington Crossing Council 777                        7 Thornridge Pl                                                 Levittown, PA 19054‐2306                                                                                  First Class Mail
Chartered Organization         Thornton Anesthesia LLC                                            Bay‐Lakes Council 635                                  W8710 Birdie Ln                                                 Beaver Dam, WI 53916                                                                                      First Class Mail
Voting Party                   Thornton Good Shepherd United Methodist Church                     Attn: Treasurer                                        3960 E 128th Ave                                                Thornton, CO 80241                                                   nsgreen102@msn.com                   Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Thornton Heights United Methodist Church                           Attn: Rich Hughen                                      100 Westbrook St                                                South Portland, ME 04106‐5234                                        secretarythumc@maine.rr.com          Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Firm                           Thornton Law Firm LLP                                              Brian J. Freer                                         One Lincoln St., 13th Floor                                     Boston, MA 02111                                                     bfreer@tenlaw.com                    Email
                                                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Thornton Police Dept                                               Denver Area Council 061                                9551 Civic Center Dr                                            Thornton, CO 80229‐4326                                                                                   First Class Mail
Chartered Organization         Thornton Rotary                                                    Denver Area Council 061                                P.O. Box 958                                                    Eastlake, CO 80614‐0958                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                      Page 401 of 442
                                                                                  Case 20-10343-LSS                                        Doc 8171                                            Filed 01/06/22                                                  Page 417 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                        Name                                                                                                 Address                                                                                                                           Email              Method of Service
Voting Party                   Thornton, Matthew                                              Address Redacted                                                                                                                                                                           Email Address Redacted           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Thornville Masonic Lodge 521                                   Muskingum Valley Council, Bsa 467       44 E Columbus St                                                Thornville, OH 43076                                                                                                First Class Mail
Chartered Organization         Thornwood Fire Co 1                                            Westchester Putnam 388                  770 Commerce St                                                 Thornwood, NY 10594‐1003                                                                                            First Class Mail
Chartered Organization         Thornydale Ward ‐ Lds Tucson West Stake                        Catalina Council 011                    3530 W Magee Rd                                                 Tucson, AZ 85741‐1126                                                                                               First Class Mail
Chartered Organization         Thorofare Volunteer Fire Co 1                                  Garden State Council 690                P.O. Box 63                                                     West Deptford, NJ 08086‐0063                                                                                        First Class Mail
Chartered Organization         Thorp Lions Club                                               Chippewa Valley Council 637             General Delivery                                                Thorp, WI 54771                                                                                                     First Class Mail
Chartered Organization         Thousand Hills Church                                          Longhorn Council 662                    3201 Tower Ridge Dr, Unit A                                     Corinth, TX 76210‐1742                                                                                              First Class Mail
Chartered Organization         Thousand Oaks United Methodist Mens Club                       Ventura County Council 057              1000 E Janss Rd                                                 Thousand Oaks, CA 91360‐5119                                                                                        First Class Mail
Chartered Organization         Thousand Springs ‐ Filer Stake                                 Snake River Council 111                 501 Main St                                                     Buhl, ID 83316‐1230                                                                                                 First Class Mail
Voting Party                   Thrasher Memorial Umc                                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200          Tampa, FL 33602                                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Thrasher Memorial Utd Methodist                                Blue Ridge Mtns Council 599             707 E Washington Ave                                            Vinton, VA 24179‐2146                                                                                               First Class Mail
Chartered Organization         Thread                                                         Baltimore Area Council 220              P.O. Box 1584                                                   Baltimore, MD 21203‐1584                                                                                            First Class Mail
Chartered Organization         Threadgill Elementary School Pto                               Chickasaw Council 558                   1001 Broad St                                                   Greenwood, MS 38930‐6403                                                                                            First Class Mail
Voting Party                   Three Bells United Methodist Church                            Attn: Treasurer                         312 Fugate St                                                   Duffield, VA 24244                                                                 threebellsumc1611@yahoo.com      Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Three Bridges Reformed Church                                  Washington Crossing Council 777         P.O. Box 235                                                    Three Bridges, NJ 08887‐0235                                                                                        First Class Mail
Chartered Organization         Three Chopt Presbyterian Church                                Heart of Virginia Council 602           9315 Three Chopt Rd                                             Richmond, VA 23229‐3957                                                                                             First Class Mail
Voting Party                   Three Chopt Presbyterian Church Of Richmond, Inc               Attn: Clerk of Session Nick Broughton   9315 Three Chopt Rd                                             Richmond, VA 23229                                                                 tcpcclerk@outlook.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Three Fires Council‐Camp Freeland Leslie                       Three Fires Council 127                 415 N 2nd St                                                    St Charles, IL 60174‐1247                                                                                           First Class Mail
Voting Party                   Three Fives Council                                            Attn: Clint Scharff                     415 N 2nd St                                                    Charles, IL 60174                                                                  clint.scharff@scouting.org       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Three Forks United Methodist Church                            Montana Council 315                     P.O. Box 265                                                    Three Forks, MT 59752‐0265                                                                                          First Class Mail
Voting Party                   Three Forks United Methodist Church                            Dianne Phillips                         120 2nd Ave E                                                   Three Forks, MT 59752                                                              2jd3law4@gmail.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Three Forks United Methodist Church                            Attn: Diane Phillips                    P.O. Box 391                                                    Three Forks, MT 59752                                                              2jd3law4@gmail.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Three Forty Two Dads Club                                      Greater Los Angeles Area 033            251 S Lake Ave, Ste 520                                         Pasadena, CA 91101‐4844                                                                                             First Class Mail
Voting Party                   Three Harbors Council, Bsa                                     Attn: Andrew Hardin                     330 S 84th St                                                   Milwaukee, WI 53214‐1468                                                           andrew.hardin@scouting.org       Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Three Hierarchs Greek Orthodox Church                          Greater New York Councils, Bsa 640      1724 Ave P                                                      Brooklyn, NY 11229‐1206                                                                                             First Class Mail
Chartered Organization         Three Hierarchs Greek Orthodox Church                          Greater New York Councils, Bsa 640      1724 Ave P                                                      Brooklyn, NY 11229‐1206                                                                                             First Class Mail
Chartered Organization         Three Lakes Lions Foundation, Inc                              Samoset Council, Bsa 627                P.O. Box 441                                                    Three Lakes, WI 54562‐0441                                                                                          First Class Mail
Voting Party                   Three Oakes Fellowship Umc                                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200          Tampa, FL 33602                                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Three Oaks Middle School                                       c/o Learning For Life                   Attn: April                                                     Southwest Florida Council 088     18500 3 Oaks Pkwy         Fort Myers, FL 33912                                    First Class Mail
Chartered Organization         Three Rivers Kiwanis                                           Katahdin Area Council 216               P.O. Box 143                                                    Milo, ME 04463‐0143                                                                                                 First Class Mail
Voting Party                   Three Springs First Umc (177422)                               c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                          680 Washington Rd, Ste 200        Pittsburgh, PA 15228                             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Three Springs Lions Club                                       Juniata Valley Council 497              P.O. Box 34                                                     Three Springs, PA 17264‐0034                                                                                        First Class Mail
Chartered Organization         Three Steeples Utd Methodist Church                            Twin Rivers Council 364, Route 11       Champlain, NY 12919                                                                                                                                                                 First Class Mail
Chartered Organization         Three Thirteen Parents Club                                    Greater St Louis Area Council 312       12325 Manchester Rd                                             Des Peres, MO 63131‐4316                                                                                            First Class Mail
Chartered Organization         Three Thirteen Parents Club                                    Greater St Louis Area Council 312       1209 Ruth Dr                                                    St Louis, MO 63122‐1021                                                                                             First Class Mail
Chartered Organization         Thrive Christian Church                                        Crossroads of America 160               15091 Towne Rd                                                  Westfield, IN 46074‐9677                                                                                            First Class Mail
Chartered Organization         Thrive Christian Church, Inc                                   Central Florida Council 083             10524 Moss Park Rd, Ste 204                                     Orlando, FL 32832‐5801                                                                                              First Class Mail
Chartered Organization         Thunderbird Lions Club                                         Grand Canyon Council 010                2824 N Power Rd, Ste 113‐278                                    Mesa, AZ 85215‐1720                                                                                                 First Class Mail
Chartered Organization         Thunderbird Outdoor Club‐ Pryor                                Indian Nations Council 488              417 S Elliott St                                                Pryor, OK 74361‐6409                                                                                                First Class Mail
Chartered Organization         Thurber Greenwood Post 1916 VFW                                Glaciers Edge Council 620               P.O. Box 51                                                     Reedsburg, WI 53959‐0051                                                                                            First Class Mail
Chartered Organization         Thurgood Marshall Es                                           Sam Houston Area Council 576            6200 Winfield Rd                                                Houston, TX 77050‐4604                                                                                              First Class Mail
Chartered Organization         Thurmond Community Center, Inc                                 Old Hickory Council 427                 796 US Hwy 21                                                   Thurmond, NC 28683‐9430                                                                                             First Class Mail
Chartered Organization         Thurmont Community Ambulance Service                           National Capital Area Council 082       27 N Church St                                                  Thurmont, MD 21788‐2028                                                                                             First Class Mail
Chartered Organization         Thurmont Lions Club                                            National Capital Area Council 082       105 Dogwood Ave                                                 Thurmont, MD 21788‐1604                                                                                             First Class Mail
Chartered Organization         Thursday Noon Optimist Club                                    Hawkeye Area Council 172                P.O. Box 1506                                                   Cedar Rapids, IA 52406‐1506                                                                                         First Class Mail
Chartered Organization         Thurston School Pto                                            Southern Shores Fsc 783                 2300 Prairie St                                                 Ann Arbor, MI 48105‐1444                                                                                            First Class Mail
Voting Party                   Thys Vanderschoot                                              Address Redacted                                                                                                                                                                                                            First Class Mail
Voting Party                   Tiaa Commercial Finance, Inc                                   P O Box 911608                          Denver, CO 80291‐1608                                                                                                                                                               First Class Mail
Chartered Organization         Tibbals Parents                                                Circle Ten Council 571                  304 Creekside Dr                                                Murphy, TX 75094‐4343                                                                                               First Class Mail
Chartered Organization         Tiburon Baptist Church                                         Marin Council 035                       445 Greenwood Beach Rd                                          Tiburon, CA 94920‐2214                                                                                              First Class Mail
Chartered Organization         Tice Elementary Pto                                            Southwest Florida Council 088           4524 Tice St                                                    Fort Myers, FL 33905‐3526                                                                                           First Class Mail
Chartered Organization         Tichigan Volunteer Fire Co                                     Three Harbors Council 636               8205 Big Bend Rd                                                Waterford, WI 53185‐1257                                                                                            First Class Mail
Voting Party                   Ticonderoga First United Methodist Church                      Attn: Rev Scott Tyler                   1045 Wicker St                                                  Ticonderoga, NY 12883                                                              timethodist@gmail.com            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Tidal Creek Fellowship                                         Coastal Carolina Council 550            290 Brickyard Point Rd S                                        Beaufort, SC 29907‐1233                                                                                             First Class Mail
Voting Party                   Tidewater Council, Virginia Beach, Va                          Attn: Charles R Kubic                   1032 Heatherwood Dr                                             Virginia Beach, VA 23455                                                           kubiccr@msn.com                  Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Tidy Aire, Inc                                                 P O Box 850533                          Richardson, TX 75085‐0533                                                                                                                                                           First Class Mail
Chartered Organization         Tierrasanta Lutheran Church                                    San Diego Imperial Council 049          11240 Clairemont Mesa Blvd                                      San Diego, CA 92124‐1524                                                                                            First Class Mail
Chartered Organization         Tierrasanta Lutheran Church                                    San Diego Imperial Council 049          11240 Clairemont Mesa Blvd                                      San Diego, CA 92124‐1524                                                                                            First Class Mail
Chartered Organization         Tiferet Bet Israel Synagogue                                   Cradle of Liberty Council 525           1920 Skippack Pike                                              Blue Bell, PA 19422‐1309                                                                                            First Class Mail
Chartered Organization         Tiffin Elementary School                                       Simon Kenton Council 441                145 S Bridge St                                                 Chillicothe, OH 45601‐6405                                                                                          First Class Mail
Chartered Organization         Tiffin Elks Lodge 94                                           Black Swamp Area Council 449            106 E Perry St                                                  Tiffin, OH 44883‐2311                                                                                               First Class Mail
Chartered Organization         Tifie Humanitarian                                             Trapper Trails 589                      6100 S Hwy 66                                                   Morgan, UT 84050‐6728                                                                                               First Class Mail
Chartered Organization         Tift Co Sheriffs Office                                        South Georgia Council 098               500 Morgan Dr                                                   Tifton, GA 31794‐4774                                                                                               First Class Mail
Voting Party                   Tigard United Methodist Church                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200          Tampa, FL 33602                                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Tigard Utd Methodist Church                                    Cascade Pacific Council 492             9845 SW Walnut Pl                                               Tigard, OR 97223‐5038                                                                                               First Class Mail
Chartered Organization         Tiger Academy Pta                                              North Florida Council 087               6079 Bagley Rd                                                  Jacksonville, FL 32209‐1805                                                                                         First Class Mail
Chartered Organization         Tiger Bay Management, Inc                                      Greater Los Angeles Area 033            P.O. Box 513                                                    Rye Beach, NH 03871‐0513                                                                                            First Class Mail
Chartered Organization         Tiger Rock Colorado Springs                                    Pikes Peak Council 060                  7615 N Union Blvd                                               Colorado Springs, CO 80920‐3863                                                                                     First Class Mail
Chartered Organization         Tigershark Cs Civil Air Patrol                                 Golden Spread Council 562               11001 Airport Blvd                                              Amarillo, TX 79111‐1203                                                                                             First Class Mail
Chartered Organization         Tilgman‐Angle Smith American Legion 851                        Hudson Valley Council 374               Ballpark Rd                                                     Dingmans Ferry, PA 18328                                                                                            First Class Mail
Chartered Organization         Tillamook Police Cadet Program                                 Cascade Pacific Council 492             207 Madrona Ave                                                 Tillamook, OR 97141‐2410                                                                                            First Class Mail
Chartered Organization         Tillman House                                                  Smyrna First United Methodist Church    940 Concord Rd Se                                               Smyrna, GA 30080‐4204                                                                                               First Class Mail
Chartered Organization         Tilton‐Northfield Rotary Club                                  Daniel Webster Council, Bsa 330         P.O. Box 679                                                    Tilton, NH 03276‐0679                                                                                               First Class Mail
Voting Party                   Tilton‐Northfield United Methodist Church                      Attn: Minchang Lee                      400 W Main St                                                   Tilton, NH 03276                                                                   tiltonnorthfieldumc@gmail.com    Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Tim Herndon Plumbing                                           Greater Tampa Bay Area 089              5314 S Florida Ave                                              Inverness, FL 34450‐7264                                                                                            First Class Mail
Chartered Organization         Timber Creek Elementary Pta                                    Heart of America Council 307            16451 Flint St                                                  Overland Park, KS 66221‐6107                                                                                        First Class Mail
Chartered Organization         Timber Lane Utility District                                   Sam Houston Area Council 576            2727 Allen Pkwy, Ste 1100                                       Houston, TX 77019‐2191                                                                                              First Class Mail
Chartered Organization         Timber Ridge Residential Traetment Ctr                         Shenandoah Area Council 598             1463 New Hope Rd                                                Cross Junction, VA 22625‐2035                                                                                       First Class Mail
Voting Party                   Timberlake United Methodist Church                             Attn: Ryan Reynolds                     21649 Timberlake Rd                                             Lynchburg, VA 24502‐7401                                                           pastorbrad@timberlakeumc.org     Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Timberlin Creek Elementary Pto                                 North Florida Council 087               555 Pine Tree Ln                                                St Augustine, FL 32092‐3027                                                                                         First Class Mail
Chartered Organization         Timberline Church                                              Longs Peak Council 062                  2908 S Timberline Rd                                            Fort Collins, CO 80525‐2402                                                                                         First Class Mail
Voting Party                   Time Warner Cable                                              P O Box 60074                           City of Industry, CA 91716‐0074                                                                                                                                                     First Class Mail
Chartered Organization         Timely Early Age Mentoring                                     Capitol Area Council 564                P.O. Box 15115                                                  Austin, TX 78761                                                                                                    First Class Mail
Chartered Organization         Timken Co ‐ Canton                                             Buckeye Council 436                     1835 Dueber Ave Sw                                              Canton, OH 44706‐2728                                                                                               First Class Mail
Chartered Organization         Timmerman School Pto                                           Jayhawk Area Council 197                2901 Timmerman Dr                                               Emporia, KS 66801‐7748                                                                                              First Class Mail
Voting Party                   Timnath Presbyterian Church                                    P O Box 99                              Timnath, CO 80547                                                                                                                                  staff@timnathpres.org            Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Timonium United Methodist Church                               2300 Pot Spring Rd                      Timonium, MD 20193                                                                                                                                 tumc@timoniumumc.org             Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Timothy C Quinnell                                             c/o Quinnell Law Firm, PLLC             419 W Washington St                                             Marquette, MI 49855                                                                timothyquinnell@gmail.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Timothy C Quinnell                                             Quinnell Law Firm, PLLC                 419 W Washington St                                             Marquette, MI 49855                                                                timothyquinnell@gmail.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Timothy C Quinnell                                             419 W Washington St                     Marquette, MI 49855                                                                                                                                timothyquinnell@gmail.com        Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Timothy Lutheran Church                                        Heart of America Council 307            425 NW R D Mize Rd                                              Blue Springs, MO 64014‐2420                                                                                         First Class Mail
Chartered Organization         Timothy Lutheran Church                                        Buckeye Council 436                     3004 Marion Mt Gilead Rd                                        Marion, OH 43302‐8914                                                                                               First Class Mail
Chartered Organization         Timothy Lutheran Church South                                  Heart of America Council 307            301 E Wyatt Rd                                                  Blue Springs, MO 64014‐5801                                                                                         First Class Mail
Voting Party                   Timothy Southern                                               P O Box 204                             Easton, MA 02334                                                                                                                                   pastortim711@gmail.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Timpanogos Regional Hospital                                   Utah National Parks 591                 750 W 800 N B                                                   Orem, UT 84057‐3660                                                                                                 First Class Mail
Chartered Organization         Timpanogos Valley Theatre                                      Utah National Parks 591                 90 N 100 W                                                      Heber City, UT 84032‐1802                                                                                           First Class Mail
Chartered Organization         Timpeepost No 23 American Legion                               Mid‐America Council 326                 1102 15th St                                                    Spirit Lake, IA 51360‐1301                                                                                          First Class Mail
Chartered Organization         Tims Memorial Presbyterian Church                              Greater Tampa Bay Area 089              601 Sunset Ln                                                   Lutz, FL 33549‐3858                                                                                                 First Class Mail
Chartered Organization         Tindal Activity Center                                         Great Lakes Fsc 272                     10301 W 7 Mile Rd                                               Detroit, MI 48221‐1962                                                                                              First Class Mail
Chartered Organization         Tindley Collegiate Academy ‐ Exploring                         Crossroads of America 160               4010 N Sherman Dr                                               Indianapolis, IN 46226‐4464                                                                                         First Class Mail
Chartered Organization         Tindley Genesis Academy                                        Crossroads of America 160               4020 Meadows Pkwy                                               Indianapolis, IN 46205‐2984                                                                                         First Class Mail
Chartered Organization         Tindley Preparatory Academy ‐ As                               Crossroads of America 160               4010 N Sherman Dr                                               Indianapolis, IN 46226‐4464                                                                                         First Class Mail
Chartered Organization         Tindley Renaissance Academy ‐ As                               Crossroads of America 160               4020 N Sherman Dr                                               Indianapolis, IN 46226‐4464                                                                                         First Class Mail
Chartered Organization         Tindley Summit Academy                                         Crossroads of America 160               3698 Dubarry Rd                                                 Indianapolis, IN 46226‐6048                                                                                         First Class Mail
Chartered Organization         Tinker Scientist & Eng Leadership Assoc                        Last Frontier Council 480               7118 SE 15th St                                                 Midwest City, OK 73110‐5234                                                                                         First Class Mail
Voting Party                   Tinker, James C                                                Address Redacted                                                                                                                                                                                                            First Class Mail
Chartered Organization         Tinkling Spring Presbyterian Church                            Stonewall Jackson Council 763           30 Tinkling Spring Dr                                           Fishersville, VA 22939‐2303                                                                                         First Class Mail
Chartered Organization         Tinley Park Community Church                                   Pathway To Adventure 456                7939 167th St                                                   Tinley Park, IL 60477‐2359                                                                                          First Class Mail
Voting Party                   Tinmouth Community Church                                      Attn: John Hardman‐Zimmerman            289 Main St                                                     Poultney, VT 05764                                                                                                  First Class Mail
Chartered Organization         Tinton Falls Junior Firefighters                               Monmouth Council, Bsa 347               2 Volunteer Way                                                 Tinton Falls, NJ 07753‐7800                                                                                         First Class Mail
Chartered Organization         Tioga First Baptist Church                                     Louisiana Purchase Council 213          1309 Singer Dr                                                  Ball, LA 71405                                                                                                      First Class Mail
Voting Party                   Tiona United Methodist Church (87797)                          c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                          680 Washington Rd, Ste 200        Pittsburgh, PA 15228                             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Tionesta United Methodist Church                               French Creek Council 532                P.O. Box 79                                                     Tionesta, PA 16353‐0079                                                                                             First Class Mail
Voting Party                   Tionesta United Methodist Church (86086)                       c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                          680 Washington Rd, Ste 200        Pittsburgh, PA 15228                             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Tipp City United Methodist Church                              Miami Valley Council, Bsa 444           8 W Main St                                                     Tipp City, OH 45371‐1809                                                                                            First Class Mail
Voting Party                   Tipp City United Methodist Church                              Attn: Joseph Rothstein                  6982 Salon Cir                                                  Huber Heights, OH 45424                                                            jgr3958@gmail.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Tippecanoe County Sheriff Dept                                 Sagamore Council 162                    2640 Duncan Rd                                                  Lafayette, IN 47904‐1045                                                                                            First Class Mail
Chartered Organization         Tipping Point Initiative                                       President Gerald R Ford 781             2531 Barfield Dr Se                                             Grand Rapids, MI 49546‐5507                                                                                         First Class Mail
Chartered Organization         Tipton Elementary School Pto                                   Crossroads of America 160               1099 S Main St                                                  Tipton, IN 46072‐9754                                                                                               First Class Mail
Chartered Organization         Tipton Rotary Club                                             Hawkeye Area Council 172                600 Mulberry St                                                 Tipton, IA 52772‐1835                                                                                               First Class Mail
Chartered Organization         Tipton Rotary Club                                             Crossroads of America 160               345 E 200 S                                                     Tipton, IN 46072‐9205                                                                                               First Class Mail
Voting Party                   Tipton United Methodist Church (1372)                          c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                          680 Washington Rd, Ste 200        Pittsburgh, PA 15228                             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Tipton‐Durant Middle School                                    Tukabatchee Area Council 005            2500 Tipton St                                                  Selma, AL 36701‐7848                                                                                                First Class Mail
Voting Party                   Tishomingo First United Methodist Church                       Attn: Tara Clary                        P.O. Box 26                                                     Tishomingo, OK 73460                                                               tishumc@swbell.net               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Tishomingo Lions Club                                          Arbuckle Area Council 468               P.O. Box 25                                                     Tishomingo, OK 73460‐0025                                                                                           First Class Mail
Chartered Organization         Tishomingo Lions Club                                          Arbuckle Area Council 468               103 N Neshoba St                                                Tishomingo, OK 73460‐1739                                                                                           First Class Mail
Chartered Organization         Titusville Police Dept                                         Central Florida Council 083             1100 John Glenn Blvd                                            Titusville, FL 32780‐7910                                                                                           First Class Mail
Chartered Organization         Tiverton Police Dept                                           Narragansett 546                        20 Industrial Way                                               Tiverton, RI 02878‐3128                                                                                             First Class Mail
Firm                           Tiwald Law, P.C.                                               John Tiwald                             6121 Indian School Road NE, Ste 210                             Albuquerque, NM 87110                                                              john@tiwaldlaw.com               Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Tj Austin Elementary School Pta                                East Texas Area Council 585             1105 W Franklin St                                              Tyler, TX 75702‐4231                                                                                                First Class Mail
Chartered Organization         Tj Davis LLC                                                   Central Florida Council 083             359 Water Oak Ln                                                Ormond Beach, FL 32174‐5829                                                                                         First Class Mail
Chartered Organization         Tjac 372                                                       Black Warrior Council 006               9410 Hwy 82 E                                                   Duncanville, AL 35456‐2052                                                                                          First Class Mail
Firm                           TJC ESQ, psc                                                   Timothy J. Conlon                       76 Westminster Street, Ste 420                                  Providence, RI 02903                                                               tim@tjcesq.com                   Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Tnt Generators                                                 Great Smoky Mountain Council 557        432 Chisholm Trl                                                Knoxville, TN 37919‐7048                                                                                            First Class Mail
Chartered Organization         Toby Farms Middle School                                       Cradle of Liberty Council 525           201 Bridgewater Rd                                              Brookhaven, PA 19015‐2113                                                                                           First Class Mail
Chartered Organization         Tobyhanna Township Volunteer Fire Co                           Minsi Trails Council 502                P.O. Box 388                                                    Pocono Pines, PA 18350‐0388                                                                                         First Class Mail
Voting Party                   Toccoa First Umc                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200          Tampa, FL 33602                                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   Toccoa First United Methodist Church 333 E Tugaloo St Toccoa   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                              100 N Tampa St, Ste 2200          Tampa, FL 33602                                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         Today, Tomorrow, Forever Foundation                            Mt Baker Council, Bsa 606               1801 72nd Pl Se                                                 Everett, WA 98203‐5260                                                                                              First Class Mail
Chartered Organization         Todd Elementary School ‐ Pto                                   Glaciers Edge Council 620               1621 Oakwood Ave                                                Beloit, WI 53511‐5641                                                                                               First Class Mail
Voting Party                   Todd J Desimone                                                25 Glen Eagles Dr                       Larchmont, NY 10538                                                                                                                                                                 First Class Mail
Chartered Organization         Together In Pajaro                                             Silicon Valley Monterey Bay 055         36 Porter Dr                                                    Royal Oaks, CA 95076‐5223                                                                                           First Class Mail
Chartered Organization         Tokyo American Club                                            Far E Council 803                       2‐1‐2 Azabudai                                                  Minato‐Ku                         Tokyo, 10686              Japan                                                   First Class Mail
Chartered Organization         Tokyo American Club                                            Far E Council 803                       4‐25‐46 Takanawa                                                Tokyo, 10686                      Japan                                                                             First Class Mail
Chartered Organization         Toledo Lucas Cnty Police Athletic League                       Erie Shores Council 460                 525 N Erie St                                                   Toledo, OH 43604‐3373                                                                                               First Class Mail
Chartered Organization         Toledo Police Dept                                             Erie Shores Council 460                 525 N Erie St                                                   Toledo, OH 43604‐3373                                                                                               First Class Mail
Chartered Organization         Toledo Police Dept                                             Oregon Trail Council 697                250 W Hwy 20                                                    Toledo, OR 97391‐1243                                                                                               First Class Mail
Chartered Organization         Toledo Second Ward Lds                                         Erie Shores Council 460                 1545 Egate Rd                                                   Toledo, OH 43614                                                                                                    First Class Mail
Chartered Organization         Toledo Smart Adelante                                          617 Western Ave                         Toledo, OH 43609                                                                                                                                                                    First Class Mail
Chartered Organization         Toledo Volunteers                                              Greater St Louis Area Council 312       P.O. Box 127                                                    Toledo, IL 62468‐0127                                                                                               First Class Mail
Chartered Organization         Toll Gate Elementary Pto                                       Simon Kenton Council 441                12183 Tollgate Rd                                               Pickerington, OH 43147‐7863                                                                                         First Class Mail
Chartered Organization         Tolland Fire Explorer Post 40                                  Connecticut Rivers Council, Bsa 066     P.O. Box 827                                                    Tolland, CT 06084‐0827                                                                                              First Class Mail
Chartered Organization         Tolland Middle School                                          Connecticut Rivers Council, Bsa 066     96 Old Post Rd                                                  Tolland, CT 06084‐3325                                                                                              First Class Mail
Chartered Organization         Tolleson Police Dept                                           Grand Canyon Council 010                8350 W Van Buren St                                             Tolleson, AZ 85353‐3219                                                                                             First Class Mail
Chartered Organization         Tolono Utd Methodist Men                                       Prairielands 117                        301 N Bourne St                                                 Tolono, IL 61880‐8307                                                                                               First Class Mail
Chartered Organization         Tolsia High School Jrotc                                       Buckskin 617                            1 Rebel Dr                                                      Fort Gay, WV 25514‐9677                                                                                             First Class Mail
Chartered Organization         Tom Bean Volunteer Fire Dept                                   Circle Ten Council 571                  101 W Garner St                                                 Tom Bean, TX 75489                                                                                                  First Class Mail
Chartered Organization         Tom Joy Tigers                                                 Middle Tennessee Council 560            2201 Jones Ave                                                  Nashville, TN 37207‐4610                                                                                            First Class Mail
Chartered Organization         Tomahawk Elementary Pta                                        Heart of America Council 307            6301 W 78th St                                                  Overland Park, KS 66204‐3102                                                                                        First Class Mail
Chartered Organization         Tomahawk Lions Club                                            Samoset Council, Bsa 627                P.O. Box 754                                                    Tomahawk, WI 54487‐0754                                                                                             First Class Mail
Chartered Organization         Tomahawk Pto Booster Club                                      Heart of America Council 307            13820 S Brougham Dr                                             Olathe, KS 66062‐1972                                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 402 of 442
                                                                                 Case 20-10343-LSS                                     Doc 8171                                         Filed 01/06/22                                                    Page 418 of 457
                                                                                                                                                                           Exhibit B
                                                                                                                                                                            Service List
                                                                                                                                                                     Served as set forth below

        Description                                                       Name                                                                                           Address                                                                                                              Email              Method of Service
Chartered Organization         Tomales Presbyterian Church                               Marin Council 035                       11 Church St                                                  Tomales, CA 94971                                                                                      First Class Mail
Chartered Organization         Tomball Police Dept                                       Sam Houston Area Council 576            400 Fannin St                                                 Tomball, TX 77375‐4618                                                                                 First Class Mail
Voting Party                   Tomball United Methodist Church                           Attn: Pam Mckinney                      1603 Baker Dr                                                 Tomball, TX 77375                                                    pam.mckinney@tomballumc.org       Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Tomek‐Otto American Legion Post 72                        Mid‐America Council 326                 222 N 5th St                                                  Pierce, NE 68767‐1204                                                                                  First Class Mail
Chartered Organization         Tomorrow River Lions Club                                 Samoset Council, Bsa 627                P.O. Box 39                                                   Amherst, WI 54406‐0039                                                                                 First Class Mail
Voting Party                   Tompkinsville Umc (078634)                                c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Toms River Fire Co 2                                      Jersey Shore Council 341                45 W Water St                                                 Toms River, NJ 08753‐7470                                                                              First Class Mail
Chartered Organization         Toney Fire & Rescue Explorers                             Greater Alabama Council 001             P.O. Box 65                                                   Toney, AL 35773‐0065                                                                                   First Class Mail
Voting Party                   Toney United Methodist Church                             Attn: Ginny Satterfield                 5465 Old Railroad Bed Rd                                      P.O. Box 1                          Toney, AL 35773                  trustees@toneyumc.org             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Tonica United Methodist Church                            W D Boyce 138                           P.O. Box 98                                                   Tonica, IL 61370‐0098                                                                                  First Class Mail
Voting Party                   Tonica United Methodist Church                            Attn: Secretary Umc                     423 Wauponis St                                               Tonica, IL 61370                                                     tonicaumc3@yahoo.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Tonys Services Station                                    3 E Sheridan St                         Ely, MN 55731                                                                                                                                                        First Class Mail
Chartered Organization         Tooele Elks 1673                                          Great Salt Lake Council 590             105 S 6th St                                                  Tooele, UT 84074‐2810                                                                                  First Class Mail
Voting Party                   Tooele United Methodist Church                            Attn: Treasurer, Araceli Berdugo        454 W 770 S                                                   Tooele, UT 84074                                                     araceli.melo@yahoo.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Tooele United Methodist Church                            Attn: Araceli Berdugo                   78 E Utah Ave                                                 Tooele, UT 84074                                                     araceli.melo@yahoo.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Top Cut Comic Chicago LLC                                 Pathway To Adventure 456                7122 Ogden Ave, Ste B                                         Berwyn, IL 60402‐3655                                                                                  First Class Mail
Chartered Organization         Topanga Community Club                                    W L A C C 051                           P.O. Box 652                                                  Topanga, CA 90290‐0652                                                                                 First Class Mail
Chartered Organization         Topeka Correctional Facility                              Jayhawk Area Council 197                815 SE Rice Rd                                                Topeka, KS 66607‐2354                                                                                  First Class Mail
Chartered Organization         Topeka High School                                        Jayhawk Area Council 197                800 SW Polk St                                                Topeka, KS 66612‐1637                                                                                  First Class Mail
Chartered Organization         Topeka Police Dept                                        Jayhawk Area Council 197                320 S Kansas Ave, Ste 100                                     Topeka, KS 66603‐3644                                                                                  First Class Mail
Chartered Organization         Topeka Zoo & Conservation Center                          Jayhawk Area Council 197                635 SW Gage Blvd                                              Topeka, KS 66606‐2066                                                                                  First Class Mail
Voting Party                   Topeka: First United Methodist Church                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Torah Day School Of Atlanta                               Atlanta Area Council 092                1985 Lavista Rd Ne                                            Atlanta, GA 30329‐3842                                                                                 First Class Mail
Firm                           TorHoerman Law LLC                                        Eric M. Terry                           210 S. Main St                                                Edwardsville, IL 62025                                               eric@thlawyer.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Firm                           Toriseva law                                              Teresa Toriseva, Esquire                1446 National Rd                                              Wheeling, WV 26003                                                   Justice@torisevalaw.com           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Tormax Usa, Inc                                           Attn: Lee Bates                         P.O. Box 171387                                               San Antonio, TX 78217                                                lbates@tormaxusa.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Torrance Fire Dept                                        Greater Los Angeles Area 033            1701 Crenshaw Blvd                                            Torrance, CA 90501‐3312                                                                                First Class Mail
Chartered Organization         Torrance Police Dept                                      Greater Los Angeles Area 033            3300 Civic Center Dr N                                        Torrance, CA 90503‐5016                                                                                First Class Mail
Chartered Organization         Torrance Rotary                                           Greater Los Angeles Area 033            P.O. Box 4                                                    Torrance, CA 90507‐0004                                                                                First Class Mail
Chartered Organization         Torrence Creek Elementary                                 Mecklenburg County Council 415          14550 Ranson Rd                                               Huntersville, NC 28078‐7002                                                                            First Class Mail
Chartered Organization         Torrey Pines Church                                       San Diego Imperial Council 049          8320 La Jolla Scenic Dr N                                     La Jolla, CA 92037‐2219                                                                                First Class Mail
Chartered Organization         Torrey Pines Kiwanis Club                                 San Diego Imperial Council 049          8677 Villa La Jolla Dr 1144                                   La Jolla, CA 92037‐2354                                                                                First Class Mail
Chartered Organization         Tortolita Ward ‐ Lds Tucson West Stake                    Catalina Council 011                    3500 W Sumter Dr                                              Tucson, AZ 85742‐8680                                                                                  First Class Mail
Chartered Organization         Tortuga Preserve Elementary                               Southwest Florida Council 088           1711 Gunnery Rd N                                             Lehigh Acres, FL 33971‐5853                                                                            First Class Mail
Chartered Organization         Tosh Farms                                                West Tennessee Area Council 559         P.O. Box 308                                                  Henry, TN 38231‐0308                                                                                   First Class Mail
Voting Party                   Totalfunds By Hasler                                      P O Box 30193                           Tampa, FL 33630‐3193                                                                                                                                                 First Class Mail
Chartered Organization         Totem Falls Parents Group                                 Mt Baker Council, Bsa 606               14313 Cascade Dr Se                                           Snohomish, WA 98296‐5263                                                                               First Class Mail
Chartered Organization         Touchette Regional Hospital                               Greater St Louis Area Council 312       5900 Bond Ave                                                 East St Louis, IL 62207‐2326                                                                           First Class Mail
Chartered Organization         Toulon Lions Club                                         Illowa Council 133                      305 S Henderson St                                            Toulon, IL 61483‐5161                                                                                  First Class Mail
Chartered Organization         Toulon Utd Methodist Church                               Illowa Council 133                      228 W Main St                                                 Toulon, IL 61483                                                                                       First Class Mail
Chartered Organization         Towanda Rotary Club                                       Five Rivers Council, Inc 375            428 Main St                                                   Towanda, PA 18848‐1808                                                                                 First Class Mail
Voting Party                   Towanda United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Towers Watson Delaware, Inc                               P O Box 28025                           Chicago, IL 60673‐1280                                                                                                                                               First Class Mail
Chartered Organization         Town & Country Club                                       Northern Lights Council 429             123 2nd St Sw                                                 Rothsay, MN 56579                                                                                      First Class Mail
Chartered Organization         Town & Country Optimist Club                              Capitol Area Council 564                1900 Meadowheath Dr                                           Austin, TX 78729                                                                                       First Class Mail
Chartered Organization         Town Center Elementary Pto                                Circle Ten Council 571                  185 N Heartz Rd                                               Coppell, TX 75019‐2121                                                                                 First Class Mail
Chartered Organization         Town Creek School Pta                                     National Capital Area Council 082       110 Dent Dr                                                   Lexington Park, MD 20653                                                                               First Class Mail
Chartered Organization         Town Hill Methodist Church                                Columbia‐Montour 504                    417 Town Hill Rd                                              Shickshinny, PA 18655‐2343                                                                             First Class Mail
Voting Party                   Town Hill Umc (180373)                                    c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Town Line Lutheran Church                                 Greater Niagara Frontier Council 380    1159 Town Line Rd                                             Alden, NY 14004‐9590                                                                                   First Class Mail
Chartered Organization         Town N Country Memorial Al Post 152                       Greater Tampa Bay Area 089              11211 Sheldon Rd                                              Tampa, FL 33626‐4708                                                                                   First Class Mail
Chartered Organization         Town Of Afton                                             Cherokee Area Council 469 469           P.O. Box 250                                                  Afton, OK 74331‐0250                                                                                   First Class Mail
Chartered Organization         Town Of Bloomsburg                                        Columbia‐Montour 504                    301 E 2nd St                                                  Bloomsburg, PA 17815‐1963                                                                              First Class Mail
Chartered Organization         Town Of Burlington Fire Dept 2                            Three Harbors Council 636               34225 Euclid Dr                                               Burlington, WI 53105‐9202                                                                              First Class Mail
Chartered Organization         Town Of Corinth Emergency Squad                           Twin Rivers Council 364                 600 Palmer Ave                                                Corinth, NY 12822‐1326                                                                                 First Class Mail
Chartered Organization         Town Of Drexel                                            Piedmont Council 420                    102 Church St                                                 Drexel, NC 28619                                                                                       First Class Mail
Chartered Organization         Town Of Drexel                                            Piedmont Council 420                    213 Settlemyre Rd                                             Morganton, NC 28655‐6982                                                                               First Class Mail
Chartered Organization         Town Of Ephratah                                          Twin Rivers Council 364                 3782 State Hwy 10                                             St Johnsville, NY 13452‐2006                                                                           First Class Mail
Voting Party                   Town Of Esopus United Methodist Church                    Attn: Donald J Sutherland               P.O. Box 699                                                  Port Ewen, NY 12466                                                  djsflier@gmail.com                Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Town Of French Camp                                       Pushmataha Area Council 691             Hwy 413                                                       French Camp, MS 39745                                                                                  First Class Mail
Chartered Organization         Town Of Howey In The Hills                                Central Florida Council 083             101 N Palm Ave                                                Howey In the Hills, FL 34737‐3418                                                                      First Class Mail
Chartered Organization         Town Of Kent Police Cadet Corp                            Westchester Putnam 388                  40 Sybils Xing                                                Kent Lakes, NY 10512‐4743                                                                              First Class Mail
Chartered Organization         Town Of Little Elm Fire Dept                              Longhorn Council 662                    100 W Eldorado Pkwy                                           Little Elm, TX 75068‐5060                                                                              First Class Mail
Chartered Organization         Town Of Manlius Police Dept                               Longhouse Council 373                   1 Arkie Albanese Ave                                          Manlius, NY 13104‐1674                                                                                 First Class Mail
Chartered Organization         Town Of Marilla                                           Greater Niagara Frontier Council 380    1740 Two Rod Rd                                               Marilla, NY 14102‐9726                                                                                 First Class Mail
Voting Party                   Town Of Marion, Mississippi                               Attn: Chris Falgout, Attorney           P.O. Box 265                                                  Meridian, MS 39302                                                   cmfatlaw@bellsouth.net            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Town Of Marion, Mississippi                               P O Box 310                             Marion, MS 39342                                                                                                                                                     First Class Mail
Chartered Organization         Town Of Mina                                              Allegheny Highlands Council 382         P.O. Box 38                                                   Findley Lake, NY 14736‐0038                                                                            First Class Mail
Chartered Organization         Town Of Moffat Colorado                                   Rocky Mountain Council 063              401 Lincoln Ave                                               Moffat, CO 81143                                                                                       First Class Mail
Chartered Organization         Town Of Norwood Redevelopment                             Central N Carolina Council 416          116 S Main St                                                 Norwood, NC 28128‐6707                                                                                 First Class Mail
Chartered Organization         Town Of Randall Fire Dept                                 Three Harbors Council 636               9575 336th Ave                                                Twin Lakes, WI 53181                                                                                   First Class Mail
Chartered Organization         Town Of Rock Hall Maryland                                Del Mar Va 081                          5855 N Main St                                                Rock Hall, MD 21661                                                                                    First Class Mail
Chartered Organization         Town Of Sabattus                                          Pine Tree Council 218                   190 Middle Rd                                                 Sabattus, ME 04280‐4225                                                                                First Class Mail
Chartered Organization         Town Of Sophia                                            Buckskin 617                            P.O. Box 700                                                  Sophia, WV 25921‐0700                                                                                  First Class Mail
Chartered Organization         Town Of Tonawanda Police Club                             Greater Niagara Frontier Council 380    1835 Sheridan Dr                                              Buffalo, NY 14223‐1245                                                                                 First Class Mail
Chartered Organization         Town Of Vanleer                                           Middle Tennessee Council 560            4455 Hwy 49 W                                                 Vanleer, TN 37181‐5406                                                                                 First Class Mail
Chartered Organization         Town Of Wilson Black River Fire Dept                      Bay‐Lakes Council 635                   5536 Evergreen Dr                                             Sheboygan, WI 53081‐8735                                                                               First Class Mail
Chartered Organization         Town Of Woodbury Lions Club                               Hudson Valley Council 374               P.O. Box 538                                                  Central Valley, NY 10917‐0538                                                                          First Class Mail
Voting Party                   Town Point United Methodist Church 61 ‐ Chesapeake City   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Town Square, Inc                                          Greater New York Councils, Bsa 640      101 Walton St                                                 Brooklyn, NY 11206‐4311                                                                                First Class Mail
Chartered Organization         Towne And Country Optimist                                Alamo Area Council 583                  234 Harwood Dr                                                San Antonio, TX 78213‐4520                                                                             First Class Mail
Chartered Organization         Townley Elementary ‐ Gifw                                 Longhorn Council 662                    2200 Mcpherson Rd                                             Fort Worth, TX 76140‐9538                                                                              First Class Mail
Chartered Organization         Townsend Boys N Girls Club                                Three Harbors Council 636               3360 N Sherman Blvd                                           Milwaukee, WI 53216‐3559                                                                               First Class Mail
Voting Party                   Townsend, Donald L                                        Address Redacted                                                                                                                                                                                             First Class Mail
Chartered Organization         Townsend‐Congregational Church                            Heart of New England Council 230        3 Brookline St                                                Townsend, MA 01469                                                                                     First Class Mail
Chartered Organization         Townsend‐St Johns Church                                  Heart of New England Council 230        1 School St                                                   Townsend, MA 01469‐1041                                                                                First Class Mail
Chartered Organization         Township Of Middletown E M S                              Monmouth Council, Bsa 347               1 Kings Hwy                                                   Middletown, NJ 07748‐2502                                                                              First Class Mail
Chartered Organization         Township Of Morris Fire Dept                              Patriots Path Council 358               P.O. Box 7603                                                 Convent Station, NJ 07961‐7603                                                                         First Class Mail
Chartered Organization         Township Of Parsippany Police Dept                        Patriots Path Council 358               3339 US Hwy 46                                                Parsippany, NJ 07054‐1226                                                                              First Class Mail
Chartered Organization         Township Of Union Police Dept                             Patriots Path Council 358               981 Caldwell Ave                                              Union, NJ 07083‐6776                                                                                   First Class Mail
Voting Party                   Township United Methodist                                 Attn: Ginny Austin                      P.O. Box 205                                                  Hobart, NY 13788                                                     jamjerjay@hotmail.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Townville Lions Club                                      French Creek Council 532                32089 State Hwy 408                                           Townville, PA 16360‐1909                                                                               First Class Mail
Chartered Organization         Towson Presbyterian Church                                Baltimore Area Council 220              400 W Chesapeake Ave                                          Towson, MD 21204‐4342                                                                                  First Class Mail
Voting Party                   Towson United Methodist Church                            Attn: Kimberly Ayres                    501 Hampton Ln                                                Towson, MD 21286                                                                                       First Class Mail
Chartered Organization         Tr Hoover Center                                          Circle Ten Council 571                  5106 Bexar St                                                 Dallas, TX 75215‐4666                                                                                  First Class Mail
Chartered Organization         Tr Sanders Elementary School Pta                          Chickasaw Council 558                   P.O. Box 366                                                  Hollandale, MS 38748‐0366                                                                              First Class Mail
Voting Party                   Trabuco Presbyterian Church                               31802 Las Amigas                        Trabuco Canyon, CA 92679                                                                                                           michele@trabucopres.com           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Trace M Lund Dds Pc                                       Utah National Parks 591                 1643 N 1100 W                                                 Mapleton, UT 84664‐3349                                                                                First Class Mail
Chartered Organization         Tracey Wyatt Recreation Center                            Atlanta Area Council 092                2300 Godby Rd                                                 College Park, GA 30349‐5041                                                                            First Class Mail
Voting Party                   Tractor Supply Credit Plan                                Dept 30 ‐ 1105082950                    Phoenix, AZ 85062                                                                                                                                                    First Class Mail
Voting Party                   Tracy Atherton                                            Address Redacted                                                                                                                                                           Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Tracy Elks Lodge 2031                                     Greater Yosemite Council 059            P.O. Box 461                                                  Tracy, CA 95378‐0461                                                                                   First Class Mail
Chartered Organization         Tracy Fire Dept                                           Greater Yosemite Council 059            835 N Central Ave                                             Tracy, CA 95376‐4105                                                                                   First Class Mail
Chartered Organization         Tracy Police Dept                                         Greater Yosemite Council 059            1000 Civic Center Dr                                          Tracy, CA 95376‐4079                                                                                   First Class Mail
Voting Party                   Tracy Techau                                              c/o Alston & Bird                       Attn: Will Sugden                                             1201 W Peachtree St                 Atlanta, GA 30309                tracytechau@yahoo.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Tracy Techau                                              1800 Cir 75 Pkwy Se                     Atlanta, GA 30339‐3055                                                                                                                                               First Class Mail
Chartered Organization         Trader Bay Scout Outfitters                               Pathway To Adventure 456                1901 N 73rd Ave                                               Elmwood Park, IL 60707‐3722                                                                            First Class Mail
Chartered Organization         Traders Point Christian Church                            Crossroads of America 160               6590 S Indianapolis Rd                                        Whitestown, IN 46075‐9509                                                                              First Class Mail
Chartered Organization         Traer Utd Presbyterian Church                             Mid Iowa Council 177                    307 Walnut St                                                 Traer, IA 50675‐1133                                                                                   First Class Mail
Voting Party                   Trafalgar Christian Church                                Attn: Amy M Spurgeon                    300 W Pearl St                                                Trafalgar, IN 46181                                                  church@trafalgarchristian.org     Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Trafalgar Christian Church                                Attn: Treasurer                         P.O. Box 147                                                  Trafalgar, IN 46181                                                  church@trafalgarchristian.org     Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Trafalgar United Methodist Church                         Attn: Jeff Wright                       3100 W Stones Crossing Rd                                     Greenwood, IN 46143                                                  jwright0520@gmail.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Trafalgar Utd Methodist Church                            Crossroads of America 160               375 Pleasant St                                               Trafalgar, IN 46181‐9322                                                                               First Class Mail
Chartered Organization         Trail Winds Ward, Denver North Stake                      Denver Area Council 061                 4207 E 130th Dr                                               Thornton, CO 80241‐2281                                                                                First Class Mail
Chartered Organization         Trailblazer Elementary Pta                                Pikes Peak Council 060                  2015 Wickes Rd                                                Colorado Springs, CO 80919‐4815                                                                        First Class Mail
Chartered Organization         Trailblazers                                              Trapper Trails 589                      350 Mansface St                                               Green River, WY 82935‐4904                                                                             First Class Mail
Chartered Organization         Trailblazers/Parent Club                                  Southern Sierra Council 030             7800 Darrin Ave                                               Bakersfield, CA 93308‐7226                                                                             First Class Mail
Chartered Organization         Trailhead Youth Foundation                                Grand Canyon Council 010                P.O. Box 72567                                                Phoenix, AZ 85050‐1027                                                                                 First Class Mail
Chartered Organization         Training Committee                                        Silicon Valley Monterey Bay 055         970 W Julian St                                               San Jose, CA 95126‐2719                                                                                First Class Mail
Chartered Organization         Training Resources Ltd                                    San Diego Imperial Council 049          3980 Sherman St, Ste 100                                      San Diego, CA 92110‐4314                                                                               First Class Mail
Chartered Organization         Tran Md F A C E, Inc                                      Orange County Council 039               8317 Davis St, Unit B                                         Downey, CA 90241‐4918                                                                                  First Class Mail
Voting Party                   Trane Us, Inc                                             P O Box 406469                          Atlanta, GA 30384‐6469                                                                                                                                               First Class Mail
Voting Party                   Tranfiguration Of The Lord Parish                         Attn: Andre L Kydala                    54 Old Hwy 22                                                 Clinton, NJ 08809                                                                                      First Class Mail
Voting Party                   Tranquil United Methodist Church                          Attn: Rev Dr Shawn G Armstrong          1702 Mccormick Hwy                                            Greenwood, SC 29646                                                  shawngarmstrong@gmail.com         Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Tranquility Methodist Church                              Patriots Path Council 358               P.O. Box 15                                                   Tranquility, NJ 07879‐0015                                                                             First Class Mail
Voting Party                   Tranquility Methodist Church                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Trans Tech Systems, Inc                                   Twin Rivers Council 364                 1594 State St, Ste 3                                          Schenectady, NY 12304‐1529                                                                             First Class Mail
Chartered Organization         Transfiguration Catholic Church                           Atlanta Area Council 092                1815 Blackwell Rd                                             Marietta, GA 30066‐2911                                                                                First Class Mail
Chartered Organization         Transfiguration Lutheran Church                           Northern Star Council 250               11000 France Ave S                                            Bloomington, MN 55431‐3856                                                                             First Class Mail
Chartered Organization         Transfiguration Lutheran Church                           Indian Waters Council 553               1301 12th St                                                  Cayce, SC 29033‐3203                                                                                   First Class Mail
Chartered Organization         Transfiguration Lutheran Church                           Seneca Waterways 397                    3760 Culver Rd                                                Rochester, NY 14622‐1152                                                                               First Class Mail
Voting Party                   Transfiguration Of Our Lord Parish                        c/o Woods Oviatt Gilman LLP             Attn: Timothy P Lyster, Esq                                   1900 Bausch & Lomb Pl               Rochester, NY 14604              tlyster@woodsoviatt.com           Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Transfiguration Parish                                    Attn: Stephen Kent Marcoux              13925 New Hampshire Ave                                       Silver Spring, MD 20904‐6218                                         kent@transfig.org                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Transfiguration Parish                                    Attn: The Rev S Kent Marcoux            13925 New Hampshire Ave                                       Silver Spring, MD 20904‐6218                                         kent@transfig.org                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Transfiguration R C Congregation, Inc                     c/o Gallagher Evelius & Jones LLP       Attn: Matthew W Oakey                                         218 N Charles St, Ste 400           Baltimore, MD 21201              moakey@gejlaw.com                 Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Transitions Center                                        Indian Waters Council 553               2025 Main St                                                  Columbia, SC 29201‐2125                                                                                First Class Mail
Voting Party                   Transource                                                P O Box 931898                          Atlanta, GA 31193‐1898                                                                                                                                               First Class Mail
Chartered Organization         Traphill Volunteer Fire Dept                              Old Hickory Council 427                 8899 Traphill Rd                                              Traphill, NC 28685‐9027                                                                                First Class Mail
Voting Party                   Traub Lieberman Straus & Shrewsberry LLP                  Attn: Jonathan R Harwood                Mid‐Westchester Exec Park                                     7 Skyline Dr                        Hawthorne, NY 10532              jharwood@tlsslaw.com              Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Traut Core Knowledge Parent Adv Board                     Longs Peak Council 062                  2515 Timberwood Dr                                            Fort Collins, CO 80528‐8531                                                                            First Class Mail
Chartered Organization         Trautwein School Pto                                      Greater St Louis Area Council 312       5011 Ambs Rd                                                  St Louis, MO 63128‐2919                                                                                First Class Mail
Voting Party                   Travel Document Systems, Inc                              1625 K St Nw                            Washington, DC 20006‐1604                                                                                                                                            First Class Mail
Voting Party                   Travelers Casualty And Surety Company Of America          Attn: Kate K Simon                      P.O. Box 2989                                                 Hartford, CT 06104                                                   kksimon@travelers.com             Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Travelers Rest United Methodist Church                    Attn: Jan Paxton                        19 S Main St                                                  Travelers Rest, SC 29690‐1830                                        jan@trmethodist.net               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Travell School‐Home & School Assoc                        Northern New Jersey Council, Bsa 333    340 Bogert Ave                                                Ridgewood, NJ 07450‐2704                                                                               First Class Mail
Voting Party                   Traverse Bay United Methodist Church                      Attn: Rebecca Frost                     1200 Ramsdell St                                              Traverse City, MI 49684                                              tbumc@traversebaychurch.org       Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Traverse City Area Chamber Of Commerce                    President Gerald R Ford 781             202 E Grandview Pkwy                                          Traverse City, MI 49684‐2610                                                                           First Class Mail
Chartered Organization         Travis Baptist Church                                     South Texas Council 577                 5802 Weber Rd                                                 Corpus Christi, TX 78413‐3967                                                                          First Class Mail
Chartered Organization         Travis Co Constable Pct 2                                 Capitol Area Council 564                10409 Burnet Rd, Ste 150                                      Austin, TX 78758‐4418                                                                                  First Class Mail
Chartered Organization         Travis County Esd 10                                      Capitol Area Council 564                353 S Commons Ford Rd                                         Austin, TX 78733‐4008                                                                                  First Class Mail
Chartered Organization         Travis County Sheriffs Dept                               Capitol Area Council 564                P.O. Box 1748                                                 Austin, TX 78767‐1748                                                                                  First Class Mail
Voting Party                   Travis Park United Methodist Church                       Attn: Senior Pastor                     230 E Travis                                                  San Antonio, TX 78205                                                beth@egsmithlaw.com               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Voting Party                   Travis Park United Methodist Church                       c/o Law Offices of Elizabeth G Smith    6655 First Park Ten Blvd, Ste 240                             San Antonio, TX 78213                                                beth@egsmithlaw.com               Email
                                                                                                                                                                                                                                                                                                      First Class Mail
Chartered Organization         Travis Supply                                             Bucktail Council 509                    938 W Clara St                                                Houtzdale, PA 16651‐1914                                                                               First Class Mail
Voting Party                   Travis, Hugh                                              Address Redacted                                                                                                                                                           Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                      First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                            Page 403 of 442
                                                                                   Case 20-10343-LSS                                               Doc 8171                                   Filed 01/06/22                                                    Page 419 of 457
                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                  Service List
                                                                                                                                                                           Served as set forth below

        Description                                                        Name                                                                                                Address                                                                                                                         Email                        Method of Service
Voting Party                   Treadway Law Firm                                          Attn: Elizabeth B Treadway                         P.O. Box 613                                            Olive Branch, MS 38654                                                             Elizabeth.Treadway@Treadwaylawfirm.com   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Treasure Coast Community Church Tc3                        Gulf Stream Council 085                            20 NE Dixie Hwy                                         Stuart, FL 34994‐1840                                                                                                       First Class Mail
Chartered Organization         Treasure Hills Presbyterian Church                         Rio Grande Council 775                             2120 N Ed Carey Dr                                      Harlingen, TX 78550‐8204                                                                                                    First Class Mail
Chartered Organization         Treasure Valley Traditional Scouters                       Ore‐Ida Council 106 ‐ Bsa 106                      11842 W Tioga St                                        Boise, ID 83709‐3353                                                                                                        First Class Mail
Voting Party                   Treasurer                                                  50 Franklin St                                     Rumford, ME 04276                                                                                                                                                                   First Class Mail
Voting Party                   Treasurer Of Virginia                                      c/o Virginia Dept of the Treasury                  Attn: Vicki D Bridgeman                                 Unclaimed Property Div             P.O. Box 2478              Richmond, VA 23218   jacinda.hardy@trs.virginia.gov           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Treasurer Weston Umc                                       Attn: Donna Ann Galloway                           4193 Weston Rd Box 96                                   Weston, MI 49289                                                                   donagalloway@msn.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Treasurer, St. James Umc, Tarboro, Nc                      211 E St James St                                  Tarboro, NC 27886                                                                                                                          sjumctarboro@live.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Treasurer, Van Orsdel United Methodist Church              410 5th Ave                                        Havre, MT 59501                                                                                                                            voumc@itstriangle.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Tree Of Life Church                                        Southwest Florida Council 088                      2132 Shadowlawn Dr                                      Naples, FL 34112‐4847                                                                                                       First Class Mail
Chartered Organization         Tree Of Life Lutheran Church                               New Birth of Freedom 544                           1492 Linglestown Rd                                     Harrisburg, PA 17110‐2824                                                                                                   First Class Mail
Chartered Organization         Tremont Lions Club                                         W D Boyce 138                                      216 S Sampson St                                        Tremont, IL 61568                                                                                                           First Class Mail
Firm                           Tremont Sheldon Robinson Mahoney P.C.                      Cindy L. Robinson                                  64 Lyon Terrace                                         Bridgeport, CT 06604                                                               crobinson@tremontsheldon.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Tremont United Methodist Church                            1951 Washington Ave                                Bronx, NY 10457                                                                                                                            tremontumc@optonline.net                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Trempealeau Lions Club                                     Gateway Area 624                                   N12564 County Rd M                                      Galesville, WI 54630                                                                                                        First Class Mail
Chartered Organization         Trenary Lions Club                                         Bay‐Lakes Council 635                              General Delivery                                        Trenary, MI 49891                                                                                                           First Class Mail
Voting Party                   Trenholm Road United Methodist Church                      Attn: Joel R Attn: Jones                           3401 Trenholm Rd                                        Columbia, SC 29204                                                                 jrjones@umcsc.org                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trenholm Road United Methodist Church                      Attn: Kay G Crowe                                  1613 Main St                                            Columbia, SC 29201                                                                 chancellor@umcsc.org                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Trenton Elementary Pto                                     Pony Express Council 311                           1716 Hillcrest Dr                                       Trenton, MO 64683‐1117                                                                                                      First Class Mail
Chartered Organization         Trenton Exchange Club                                      Great Lakes Fsc 272                                P.O. Box 98                                             Trenton, MI 48183‐0098                                                                                                      First Class Mail
Chartered Organization         Trenton First United Methodist Church                      Circle Ten Council 571                             P.O. Box 216                                            Trenton, TX 75490‐0216                                                                                                      First Class Mail
Chartered Organization         Trenton Fish And Game Club                                 Leatherstocking 400                                8001 Wood Rd                                            Holland Patent, NY 13354                                                                                                    First Class Mail
Chartered Organization         Trenton Street Baptist Church                              Great Smoky Mountain Council 557                   519 Trenton St                                          Harriman, TN 37748‐2541                                                                                                     First Class Mail
Chartered Organization         Trenton United Methodist Church                            Cherokee Area Council 556                          P.O. Box 6                                              Trenton, GA 30752‐0006                                                                                                      First Class Mail
Chartered Organization         Trenton Utd Methodist                                      Cherokee Area Council 556                          12500 N Main St                                         Trenton, GA 30752‐2227                                                                                                      First Class Mail
Chartered Organization         Trentville Utd Methodist Church                            Great Smoky Mountain Council 557                   9215 Strawberry Plains Pike                             Strawberry Plains, TN 37871‐1241                                                                                            First Class Mail
Chartered Organization         Treptow Post 230                                           Mid‐America Council 326                            207 N 2nd St                                            Cherokee, IA 51012‐1833                                                                                                     First Class Mail
Chartered Organization         Tres Brisas Beef, LLC                                      Grand Canyon Council 010                           P.O. Box 9                                              Camp Verde, AZ 86322‐0009                                                                                                   First Class Mail
Chartered Organization         Trevor Fire Dept                                           Three Harbors Council 636                          11252 254th Ct                                          Trevor, WI 53179‐9138                                                                                                       First Class Mail
Voting Party                   Trevor Lwin                                                Address Redacted                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Treynor Legion Post 725                                    Mid‐America Council 326                            General Delivery                                        Treynor, IA 51575                                                                                                           First Class Mail
Chartered Organization         Treynor Optimists                                          Mid‐America Council 326                            General Delivery                                        Treynor, IA 51575                                                                                                           First Class Mail
Chartered Organization         Tri City Fire Explorers                                    Oregon Trail Council 697                           P.O. Box 1270                                           Myrtle Creek, OR 97457‐0131                                                                                                 First Class Mail
Chartered Organization         Tri City Gun Club                                          Last Frontier Council 480                          P.O. Box 1362                                           Norman, OK 73070‐1362                                                                                                       First Class Mail
Chartered Organization         Tri City VFW Post 2298                                     Three Fires Council 127                            117 S 1st St                                            West Dundee, IL 60118‐2041                                                                                                  First Class Mail
Chartered Organization         Tri Community And Youth Agency                             Suffolk County Council Inc 404                     809 New York Ave                                        Huntington, NY 11743‐4412                                                                                                   First Class Mail
Chartered Organization         Tri Community Utd Methodist Church                         Mid‐America Council 326                            6001 Fontenelle Blvd                                    Omaha, NE 68111‐1142                                                                                                        First Class Mail
Chartered Organization         Tri County Fire Corps                                      Mid‐America Council 326                            1210 Golden Gate Dr                                     Papillion, NE 68046‐2839                                                                                                    First Class Mail
Chartered Organization         Tri County Fire Fighters Local 4965                        Blue Mountain Council 604                          P.O. Box 4124                                           Pasco, WA 99302‐4124                                                                                                        First Class Mail
Voting Party                   Tri M Nguyen                                               Address Redacted                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Tri State Aero, Inc                                        Buffalo Trace 156                                  6101 Flight Line Dr                                     Evansville, IN 47725‐1921                                                                                                   First Class Mail
Chartered Organization         Tri Town Masonic Lodge                                     Baden‐Powell Council 368                           27 N Main St                                            Bainbridge, NY 13733‐1210                                                                                                   First Class Mail
Chartered Organization         Tri Valley Lions Club                                      Hudson Valley Council 374                          State Route 55                                          Grahamsville, NY 12740                                                                                                      First Class Mail
Voting Party                   Triad Native American                                      c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                                 erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Triangle Home And School Assoc                             Patriots Path Council 358                          478 New Center Rd                                       Hillsborough, NJ 08844‐4033                                                                                                 First Class Mail
Chartered Organization         Tribe Of Mic‐O‐Say                                         Pony Express Council 311                           P.O. Box 8157                                           St Joseph, MO 64508‐8157                                                                                                    First Class Mail
Chartered Organization         Tribe Of Tahquitz                                          Long Beach Area Council 032                        P.O. Box 7432                                           Long Beach, CA 90807‐0432                                                                                                   First Class Mail
Chartered Organization         Tribe Of The Silver Tomahawk                               Mississippi Valley Council 141 141                 3007 Flint Hills Dr                                     Burlington, IA 52601‐1754                                                                                                   First Class Mail
Chartered Organization         Tribes Hill Presbyterian                                   Twin Rivers Council 364                            116 Elizabeth St                                        Tribes Hill, NY 12177                                                                                                       First Class Mail
Chartered Organization         Tri‐Boro First Aid Squad                                   Patriots Path Council 358                          P.O. Box 222                                            Butler, NJ 07405‐0222                                                                                                       First Class Mail
Chartered Organization         Tribune United Methodist Church                            Santa Fe Trail Council 194                         P.O. Box 217                                            Tribune, KS 67879‐0217                                                                                                      First Class Mail
Voting Party                   Tri‐Church Parish                                          41 E Main St                                       Brocton, NY 14716                                                                                                                          broctontrichurchparish@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Tri‐Cities Post 6872 VFW                                   Longhorn Council 662                               P.O. Box 315                                            Crowley, TX 76036‐0315                                                                                                      First Class Mail
Chartered Organization         Tri‐City Elks 2541                                         Longs Peak Council 062                             525 Main St                                             Louisville, CO 80027‐2037                                                                                                   First Class Mail
Chartered Organization         Tri‐City Pride Athletic Boosters Club                      Abraham Lincoln Council 144                        324 W Charles St                                        Buffalo, IL 62515‐6267                                                                                                      First Class Mail
Chartered Organization         Tri‐County Animal Clinic                                   West Tennessee Area Council 559                    40 Connie Allen Rd                                      Mc Kenzie, TN 38201‐8704                                                                                                    First Class Mail
Chartered Organization         Tri‐County Baptist Church                                  Great Lakes Fsc 272                                655 S Main St                                           Clawson, MI 48017‐2015                                                                                                      First Class Mail
Chartered Organization         Tri‐County Church                                          Bucktail Council 509                               1881 Old 255 Rd                                         Du Bois, PA 15801‐6045                                                                                                      First Class Mail
Voting Party                   Tri‐County Electric Cooperative, Inc                       P O Box 961032                                     Fort Worth, TX 76161‐0032                                                                                                                                                           First Class Mail
Chartered Organization         Tri‐County Gun Club                                        Cascade Pacific Council 492                        P.O. Box 99                                             Sherwood, OR 97140‐0099                                                                                                     First Class Mail
Chartered Organization         Tri‐County Sportsman League                                Southern Shores Fsc 783                            8640 Moon Rd                                            Saline, MI 48176‐9400                                                                                                       First Class Mail
Voting Party                   Trietsch Memorial United Methodist Church                  Attn: Becky Hornback                               6101 Morriss Rd                                         Flower Mound, TX 75028‐3712                                                        beckyh@tmumc.org                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Tri‐Key                                                    Old N State Council 070                            1803 E Wendover Ave                                     Greensboro, NC 27405‐6872                                                                                                   First Class Mail
Chartered Organization         Tri‐Lakes Christian Church                                 Ozark Trails Council 306                           116 Pathway Rd                                          Branson, MO 65616‐7870                                                                                                      First Class Mail
Voting Party                   Tri‐Lakes United Methodist Church                          Attn: Scott Mccreedy                               20256 Hunting Downe Way                                 Monument, CO 80132                                                                 tlumc@tlumc.org                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Trilakes Utd Methodist Church                              Pikes Peak Council 060                             20268 Hunting Downs Way                                 Monument, CO 80132                                                                                                          First Class Mail
Chartered Organization         Trilby Utd Methodist Church                                Erie Shores Council 460                            5918 Secor Rd                                           Toledo, OH 43623‐1424                                                                                                       First Class Mail
Chartered Organization         Trinidad Elks Lodge                                        Rocky Mountain Council 063                         P.O. Box 77                                             Trinidad, CO 81082‐0077                                                                                                     First Class Mail
Chartered Organization         Trinitarian Congregational Church                          The Spirit of Adventure 227                        72 Elm St                                               North Andover, MA 01845‐2624                                                                                                First Class Mail
Voting Party                   Trinity                                                    c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                                 erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Trinity Academy                                            Potawatomi Area Council 651                        W225N3131 Duplainville Rd                               Pewaukee, WI 53072                                                                                                          First Class Mail
Chartered Organization         Trinity African Methodist Episc Zion Ch                    Laurel Highlands Council 527                       3105 Allendale St                                       Pittsburgh, PA 15204‐1733                                                                                                   First Class Mail
Voting Party                   Trinity Alliance Ohio                                      Attn: Ken Baker                                    990 Sunset                                              Alliance, OH 44601                                                                 kenbaker44601@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Trinity Ame Zion Church                                    Old N State Council 070                            631 E Florida St                                        Greensboro, NC 27406‐3159                                                                                                   First Class Mail
Chartered Organization         Trinity Anglican Episcopal Church                          Twin Rivers Council 364                            19 Woodside Ave                                         Mayfield, NY 12117‐4100                                                                                                     First Class Mail
Chartered Organization         Trinity Area School District                               Laurel Highlands Council 527                       231 Park Ave                                            Washington, PA 15301‐5713                                                                                                   First Class Mail
Voting Party                   Trinity Arlington ‐ Arlington                              c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200           Tampa, FL 33602                                 erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Asbury Umc                                         Attn: Charles David Bergen                         214 Woodside Ln                                         Berkeley Springs, WV 25411                                                         chuck.bergen@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Asbury United Methodist Church                     Attn: Brenda Close                                 P.O. Box 672                                            Berkeley Springs, WV 25411                                                         chuck.bergen@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Trinity Ave Presbyterian Church                            Occoneechee 421                                    927 W Trinity Ave                                       Durham, NC 27701‐1715                                                                                                       First Class Mail
Chartered Organization         Trinity Baptist Church                                     Tuscarora Council 424                              7538 Nc Hwy 50 S                                        Benson, NC 27504‐8609                                                                                                       First Class Mail
Chartered Organization         Trinity Baptist Church                                     Montana Council 315                                1145 Nutter Blvd                                        Billings, MT 59105‐2245                                                                                                     First Class Mail
Chartered Organization         Trinity Baptist Church                                     Tidewater Council 596                              1023 Deep Creek Blvd                                    Chesapeake, VA 23323‐2718                                                                                                   First Class Mail
Chartered Organization         Trinity Baptist Church                                     Longhorn Council 662                               1506 W Main St                                          Gatesville, TX 76528‐1025                                                                                                   First Class Mail
Chartered Organization         Trinity Baptist Church                                     Sam Houston Area Council 576                       10000 Spring Green Blvd                                 Katy, TX 77494‐5916                                                                                                         First Class Mail
Chartered Organization         Trinity Baptist Church                                     Northern Star Council 250                          2220 Edgerton St                                        Maplewood, MN 55117‐1808                                                                                                    First Class Mail
Chartered Organization         Trinity Baptist Church                                     Grand Canyon Council 010                           2130 E University Dr                                    Mesa, AZ 85213‐8305                                                                                                         First Class Mail
Chartered Organization         Trinity Baptist Church                                     Central N Carolina Council 416                     120 Maple Hill Rd                                       Monroe, NC 28110‐8734                                                                                                       First Class Mail
Chartered Organization         Trinity Baptist Church                                     Jayhawk Area Council 197                           16655 W US Hwy 24                                       Wamego, KS 66547‐9657                                                                                                       First Class Mail
Voting Party                   Trinity Baptist Church Sbc Wamego Kansas                   Attn: Eric D Bruce                                 P.O. Box 75037                                          Wichita, KS 67275                                                                  Mail@KsAdvocates.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Bellefonte Umc (180748)                            c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                  680 Washington Rd, Ste 200         Pittsburgh, PA 15228                            lspagnolo@bentzlaw.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Trinity Bible Church                                       Circle Ten Council 571                             400 W Campbell Rd                                       Richardson, TX 75080‐3415                                                                                                   First Class Mail
Voting Party                   Trinity Boscobel United Methodist Church                   Attn: Jean S Oitice                                275 Church St                                           Buchanan, NY 10511                                                                 tbumc1@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Boscobel United Methodist Church                   Attn: Pastor Linda Willey                          277 Church St                                           Buchanan, NY 10511                                                                 tbumc1@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Boscobel United Methodist Church                   275 Church St                                      Buchanan, NY 10511                                                                                                                         tbumc1@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity By The Sea Episcopal Church                        Sue Miles                                          P.O. Box 346                                            Port Aransas, TX 78373                                                             suealiciamiles@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity By The Sea Episcopal Church                        P O Box 348                                        Port Aransas, TX 78373                                                                                                                     churchoffice@trinitybythesea.org         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Cathedral                                          Attn: Julia Goldsmith                              81 N 2nd St                                             San Jose, CA 95113                                                                 julia@trinitysj.org                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Cathedral                                          81 N 2nd St                                        San Jose, CA 95113                                                                                                                         julia@trinitysj.org                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Trinity Catholic School                                    Suwannee River Area Council 664                    706 E Brevard St                                        Tallahassee, FL 32308‐4952                                                                                                  First Class Mail
Chartered Organization         Trinity Christian Academy                                  Circle Ten Council 571                             17001 Addison Rd                                        Addison, TX 75001‐5027                                                                                                      First Class Mail
Chartered Organization         Trinity Christian Center                                   Heart of America Council 307                       5005 N Brighton Ave                                     Kansas City, MO 64119‐3741                                                                                                  First Class Mail
Chartered Organization         Trinity Christian Fellowship                               Blue Grass Council 204                             537 W Main St                                           Morehead, KY 40351‐7623                                                                                                     First Class Mail
Chartered Organization         Trinity Christian School                                   Caddo Area Council 584                             3107 E 58th St                                          Texarkana, AR 71854                                                                                                         First Class Mail
Chartered Organization         Trinity Church                                             Northern New Jersey Council, Bsa 333               141 Broadway                                            Bayonne, NJ 07002‐2459                                                                                                      First Class Mail
Chartered Organization         Trinity Church                                             Old N State Council 070                            5200 W Friendly Ave                                     Greensboro, NC 27410‐4321                                                                                                   First Class Mail
Chartered Organization         Trinity Church                                             Mayflower Council 251                              23 Main St                                              Northborough, MA 01532‐1982                                                                                                 First Class Mail
Chartered Organization         Trinity Church                                             Middle Tennessee Council 560                       3011 Longford Dr                                        Spring Hill, TN 37174‐6200                                                                                                  First Class Mail
Voting Party                   Trinity Church                                             Attn: The Rev Ann Urinoski                         18 Ryers Ln                                             Matawan, NJ 07747                                                                  trinitychurchmatawan@gmail.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church                                             Attn: Nathan H Schwartzberg                        701 S Main St                                           Athens, PA 18810                                                                   nhschwartzberg@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church                                             Attn: The Rev Marguerite Sheehan                   17 Severance St                                         Shelburne Falls, MA 01370                                                          msheehan222@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church                                             P O Box 9                                          Athens, PA 18810                                                                                                                           Information@TrinityAthens.org            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Trinity Church ‐ United Methodist                          Bay‐Lakes Council 635                              308 Oneida St                                           Beaver Dam, WI 53916‐2018                                                                                                   First Class Mail
Voting Party                   Trinity Church (Claremont)                                 c/o The Tamposi Law Group, PC                      Attn: Peter N Tamposi                                   159 Main St                        Nashua, NH 03060                                peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church (Episcopal), Inc                            Attn: Marcus M Wilson                              190 E Capitol St, Ste 650                               Jackson, MS 39201                                                                  mwilson@blswlaw.com                      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church (Episcopal), Inc                            Attn: Jeanne Goff                                  P.O. Box 459                                            Pass Christian, MS 39571                                                           jpplaisance@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church (Hampton)                                   c/o The Tamposi Law Group, PC                      Attn: Peter N Tamposi                                   159 Main St                        Nashua, NH 03060                                peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church (Lenox)                                     c/o The Tamposi Law Group, PC                      Attn: Peter N Tamposi                                   159 Main St                        Nashua, NH 03060                                peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church (Meredith)                                  c/o The Tamposi Law Group, PC                      Attn: Peter N Tamposi                                   159 Main St                        Nashua, NH 03060                                peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church (Milford)                                   c/o The Tamposi Law Group, PC                      Attn: Peter N Tamposi                                   159 Main St                        Nashua, NH 03060                                peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church (Shrewsbury)                                c/o The Tamposi Law Group, PC                      Attn: Peter N Tamposi                                   159 Main St                        Nashua, NH 03060                                peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church (Tilton)                                    c/o The Tamposi Law Group, PC                      Attn: Peter N Tamposi                                   159 Main St                        Nashua, NH 03060                                peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church (Ware)                                      c/o The Tamposi Law Group, PC                      Attn: Peter N Tamposi                                   159 Main St                        Nashua, NH 03060                                peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church (Whitinsville)                              c/o The Tamposi Law Group, PC                      Attn: Peter N Tamposi                                   159 Main St                        Nashua, NH 03060                                peter@thetamposilawgroup.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Trinity Church Of Lake Nona                                Central Florida Council 083                        9218 Cromwell Park Pl                                   Orlando, FL 32827‐7005                                                                                                      First Class Mail
Chartered Organization         Trinity Church Of The Brethren                             Blue Ridge Mtns Council 599                        P.O. Box 128                                            Daleville, VA 24083‐0128                                                                                                    First Class Mail
Chartered Organization         Trinity Church Parish Center                               Greater New York Councils, Bsa 640                 2 Rector St                                             New York, NY 10006‐1819                                                                                                     First Class Mail
Voting Party                   Trinity Church Roslyn                                      Attn: Joanne Izzo                                  1579 Northern Blvd                                      Roslyn, NY 11576                                                                   office@trinityroslyn.org                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church United Methodist                            Attn: Treasurer, Trinity Church United Methodist   229 S State St                                          Kendallville, IN 46755                                                             Carla@cpa‐butler.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church United Methodist Beaver Dam                 Attn: Mark R Cupery, Treasurer                     308 Oneida St                                           Beaver Dam, WI 53916                                                               mcupery@msn.com                          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Church, A Louisiana Nonprofit Corporation          Attn: Andrew R Thayer                              1329 Jackson Ave                                        New Orleans, LA 70130                                                              athayer@trinitynola.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Trinity Cme                                                Georgia‐Carolina 093                               2930 Glenn Hills Dr                                     Augusta, GA 30906‐9523                                                                                                      First Class Mail
Chartered Organization         Trinity Community Church                                   Pathway To Adventure 456                           7022 Riverside Dr                                       Berwyn, IL 60402‐4717                                                                                                       First Class Mail
Chartered Organization         Trinity Community Church                                   Dan Beard Council, Bsa 438                         3850 E Galbraith Rd                                     Cincinnati, OH 45236‐1508                                                                                                   First Class Mail
Chartered Organization         Trinity Community Church                                   Crossroads of America 160                          13801 W Main St                                         Daleville, IN 47334‐9001                                                                                                    First Class Mail
Chartered Organization         Trinity Environmental Academy                              Circle Ten Council 571                             3837 Simpson Stuart Rd                                  Dallas, TX 75241‐4331                                                                                                       First Class Mail
Chartered Organization         Trinity Environmental Academy                              Circle Ten Council 571                             P.O. Box 570975                                         Dallas, TX 75357‐0975                                                                                                       First Class Mail
Chartered Organization         Trinity Episc Ch St Marys Parish                           National Capital Area Council 082                  P.O. Box 207                                            St Marys City, MD 20686‐0207                                                                                                First Class Mail
Voting Party                   Trinity Episcopal Cathedral                                113 N 18th St                                      Omaha, NE 68102                                                                                                                            sking@trinityepiscopal.org               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Episcopal Cathedral                                c/o Wright, Lindsey & Jennings LLP                 Attn: John R Tisdale                                    200 W Capitol Ave, Ste 2300        Little Rock, AR 72201                           jtisdale@wlj.com                         Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Trinity Episcopal Cathedral                                Attn: John R Tisdale                               310 W 17th St                                           Little Rock, AR 72202                                                                                                       First Class Mail
Voting Party                   Trinity Episcopal Cathedral (Easton)                       c/o The Law Office of Andrea Ross                  Attn: Andrea Ross, Esq                                  129 N West St, Ste 1               Easton, MD 21601                                Andie@AndieRossLaw.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                  Page 404 of 442
                                                                                    Case 20-10343-LSS                                                        Doc 8171                                         Filed 01/06/22                                                   Page 420 of 457
                                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                                  Service List
                                                                                                                                                                                           Served as set forth below

        Description                                                          Name                                                                                                              Address                                                                                                              Email                      Method of Service
Voting Party                   Trinity Episcopal Cathedral Parish                          Attn: Andrew Thomas Grosso                                  1100 Sumter St                                                Columbia, SC 29201                                                  agrosso@trinitysc.org                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Cathedral Parish                          c/o Trinity Episcopal Cathedral                             1100 Sumter St                                                Columbia, SC 29205                                                  agrosso@trinitysc.org                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Cathedral, Portland, Oregon               Attn: Leigh Wilson                                          147 NW 19th Ave                                               Portland, OR 97209                                                  leighmwilson@comcast.net                   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Cradle of Liberty Council 525                               708 S Bethlehem Pike                                          Ambler, PA 19002‐5845                                                                                          First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Connecticut Yankee Council Bsa 072                          1109 Main St                                                  Branford, CT 06405‐3715                                                                                        First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Connecticut Rivers Council, Bsa 066                         P.O. Box 276                                                  Brooklyn, CT 06234‐0276                                                                                        First Class Mail
Chartered Organization         Trinity Episcopal Church                                    East Carolina Council 426                                   P.O. Box 332                                                  Chocowinity, NC 27817‐0332                                                                                     First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Chattahoochee Council 091                                   P.O. Box 1146                                                 Columbus, GA 31902‐1146                                                                                        First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Dan Beard Council, Bsa 438                                  16 E 4th St                                                   Covington, KY 41011‐1510                                                                                       First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Golden Empire Council 047                                   801 Figueroa St                                               Folsom, CA 95630‐2404                                                                                          First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Longhorn Council 662                                        3401 Bellaire Dr S                                            Fort Worth, TX 76109‐2133                                                                                      First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Heart of America Council 307                                409 N Liberty St                                              Independence, MO 64050‐2701                                                                                    First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Glaciers Edge Council 620                                   411 E Court St                                                Janesville, WI 53545‐4009                                                                                      First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Western Massachusetts Council 234                           88 Walker St                                                  Lenox, MA 01240‐2725                                                                                           First Class Mail
Chartered Organization         Trinity Episcopal Church                                    East Texas Area Council 585                                 106 N Grove St                                                Marshall, TX 75670‐3237                                                                                        First Class Mail
Chartered Organization         Trinity Episcopal Church                                    North Florida Council 087                                   P.O. Box 361                                                  Melrose, FL 32666‐0361                                                                                         First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Pacific Skyline Council 031                                 330 Ravenswood Ave                                            Menlo Park, CA 94025‐3420                                                                                      First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Golden Empire Council 047                                   201 Nevada St                                                 Nevada City, CA 95959‐2605                                                                                     First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Narragansett 546                                            251 Danielson Pike                                            North Scituate, RI 02857‐1906                                                                                  First Class Mail
Chartered Organization         Trinity Episcopal Church                                    California Inland Empire Council 045                        419 S 4th St                                                  Redlands, CA 92373‐5952                                                                                        First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Housatonic Council, Bsa 069                                 91 Church St                                                  Seymour, CT 06483‐2611                                                                                         First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Connecticut Yankee Council Bsa 072                          651 Pequot Ave                                                Southport, CT 06890‐1366                                                                                       First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Greater St Louis Area Council 312                           318 S Duchesne Dr                                             St Charles, MO 63301‐1655                                                                                      First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Piedmont Council 420                                        801 Henkel Rd                                                 Statesville, NC 28677‐3215                                                                                     First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Of the Woodlands                                            3901 S Panther Creek Dr                                       The Woodlands, TX 77381‐2736                                                                                   First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Of the Woodlands                                            3901 S Panther Creek Dr                                       The Woodlands, TX 77381‐2736                                                                                   First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Shenandoah Area Council 598                                 379 Gay St                                                    Washington, VA 22747                                                                                           First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Shenandoah Area Council 598                                 P.O. Box 124                                                  Washington, VA 22747‐0124                                                                                      First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Tukabatchee Area Council 005                                205 W Bridge St                                               Wetumpka, AL 36092‐2606                                                                                        First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Three Fires Council 127                                     130 N West St                                                 Wheaton, IL 60187‐5062                                                                                         First Class Mail
Chartered Organization         Trinity Episcopal Church                                    Mayflower Council 251                                       47 East St                                                    Wrentham, MA 02093‐1369                                                                                        First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Rev Eric Zile                                         P.O. Box 667                                                  Apalachicola, FL 32329                                              vicar.zile@verizon.net                     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: The Rev Eric Zile                                     P.O. Box 667                                                  Apalachicola, FL 32329                                              vicar.zile@verizon.net                     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Rev Sarah Jane Brockmann                              3 Goddard Ave                                                 Rockland, MA 02370‐2325                                             trinityrockland@verizon.net                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Tony Powell                                                 P.O. Box 361                                                  Melrose, FL 32666                                                   Trinityrector2177@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Leslie Scholtz                                        18 Trinity Pl                                                 Plattsburgh, NY 12901                                               trinityplattsburgh@gmail.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    7 S Highland Ave                                            Ossining, NY 10562                                                                                                                trinityossining@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    7 Providence Rd                                             Brooklyn, CT 06234                                                                                                                trinityepiscopalchurchbrooklyn@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Michael Bartolomeo                                    130 Main St                                                   Northport, NY 11768‐1788                                            trinityech@yahoo.com                       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Susan Treanor                                         137 Trinity Hill Rd                                           Mt. Pocono, PA 18344                                                trinitychurchmp@verizon.net                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Kevin Thomas Powell                                   211 Walnut St                                                 Muscatine, IA 52761                                                 trinity@machlink.com                       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    c/o Diocese of the Central Gulf Coast ‐ the Episcopal Church Attn: Scott A Remington                                      125 E Intendencia St             Pensacola, FL 32502                sremington@clarkpartington.com             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Sare Anuszkiewicz                                     62 W Buffalo St                                               Warsaw, NY 14569                                                    revsarey@gmail.com                         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    P O Box 400                                                 651 Pequot Ave                                                Southport, CT 06890‐1366                                            rector@trinitysouthport.org                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    7474 Washington Blvd                                        Elkridge, MD 20715                                                                                                                rector@trinityelkridge.org                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Heath Nathaniel Boddie                                3552 Morning Glory Ave                                        Baton Rouge, LA 70808‐2865                                          reception@trinitybr.org                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Peter J Madison                                       7 Sleator Dr                                                  Ossining, NY 10562                                                  peter.madison@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Peter J Madison                                       7 Sleator Dr                                                  Ossining, NY 10562                                                  p.j.madison10562@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    47 East St                                                  P.O. Box 55                                                   Wrentham, MA 02093‐1369                                             office@trinitywrentham.org                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    120 Allegheny Ave                                           Towson, MD 21204                                                                                                                  office@trimitychurchtowson.org             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    9325 West St                                                Manassas, VA 20110                                                                                                                info@trinityepiscopalchurch.org            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: The Rev Dr R William Carrol                           906 Padon St                                                  Longview, TX 75601                                                  frbill@trinityparish.org                   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Lillian W Hyde                                        2216 Ball St                                                  Galveston, TX 77550                                                 finance@trinitygalv.org                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Deborah Duguid‐May                                    3450 West Ridge Rd                                            Rochester, NY 14626                                                 deborahduguidmay@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Fr Chris Rodriguez                                    2365 Pine Ave                                                 Vero Beach, FL 32960                                                crodriguez@trinityvero.org                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Shannon Collins                                       261 E Main St                                                 Hamburg, NY 14075                                                   cfisher@magavern.com                       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Bradley M Helmuth                                     202 High St Nevada City, Ca 95959                             Nevada City, CA 95959                                               bhelmuth1969@hotmail.com                   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    Attn: Art Mudge                                             P.O. Box 3                                                    Junction, TX 76849                                                  bent59@verizon.net                         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    c/o Rogers Towers, Pa                                       Attn: Betsy C Cox, Esq                                        1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207             bcox@rtlaw.com                             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    3800 W 20th St                                              Greeley, CO 80631                                                                                                                 bankruptcy@messner.com                     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    36 Main St                                                  Newtown, CT 06470                                                                                                                 awyatt@trinitynewtownct.org                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church                                    520 11th St                                                 Huntington, WV 25701                                                                                                              admin@wvtrinitychurch.org                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church ‐ Fishkill                         Attn: David Bishop                                          1200 Main St, P.O. Box 484                                    Fishkill, NY 12524                                                  info@trinityfishkill.org                   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church ‐ Fishkill                         1200 Main St                                                P.O. Box 484                                                  Fishkill, NY 12524                                                  info@trinityfishkill.org                   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church (Cranston)                         c/o The Tamposi Law Group, PC                               Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church (Elkton)                           c/o The Law Office of Andrea Ross                           Attn: Andrea Ross, Esq                                        129 N West St, Ste 1             Easton, MD 21601                   Andie@AndieRossLaw.com                     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church (Newport)                          c/o The Tamposi Law Group, PC                               Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church (North Scituate)                   c/o The Tamposi Law Group, PC                               Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church (Rutland)                          c/o The Tamposi Law Group, PC                               Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church (Shelburne)                        c/o the Tamposi Law Group, Pc                               Attn: Peter N Tamposi                                         159 Main St                      Nashua, NH 03060                   peter@thetamposilawgroup.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Trinity Episcopal Church Belleville                         Great Lakes Fsc 272                                         11575 Belleville Rd                                           Van Buren Twp, MI 48111‐2401                                                                                   First Class Mail
Voting Party                   Trinity Episcopal Church Mt Airy, Nc                        P O Box 1043                                                Mt Airy, NC 27030‐1043                                                                                                            info@trinitymtairy.com                     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Trinity Episcopal Church Of Edna                            South Texas Council 577                                     P.O. Box 305                                                  Edna, TX 77957‐0305                                                                                            First Class Mail
Voting Party                   Trinity Episcopal Church Of Findlay, Ohio                   Attn: John Drymon                                           519 S Cory St                                                 Findlay, OH 45840                                                   trinfinrector@att.net                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church Of Janesville                      Attn: Rev Kathleen Monson Lutes                             409 E Court St                                                Janesville, WI 53545                                                rev.kathy@trinityjanesville.com            Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church Of Long Green                      Attn: Jessica Sexton                                        12400 Manor Rd                                                P.O. Box 4001                    Glen Arm, MD 21057                 rector@trinitychurchlonggreen.org          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church Of Tulsa, Inc                      Attn: Fr Lee Domenick Rector Trinity Episcopal Church       501 S Cincinnati                                              Tulsa, OK 74103                                                     ldomenick@trinitytulsa.org                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church Of Wauwatosa                       Attn: Rev Gary Manning                                      1717 Church St                                                Wauwatosa, WI 53213                                                 tosapriest@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church Saco                               c/o The Episcopal Diocese of Maine / Martin                 P.O. Box 4036                                                 Portland, ME 04101                                                  bmartin@episcopalmaine.org                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, A Religious Corporation           Attn: Rev T J Freeman                                       611 W Berry                                                   Ft Wayne, IN 46802                                                  rmilligan@pilawyers.com                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Asbury Park, Nj                   Attn: Nicholas Chase Danford                                503 Asbury Ave                                                Asbury Park, NJ 07712                                               frchase@trinitynj.com                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Branford, Ct                      Attn: Rev Sharon Gracen                                     1109 Main St                                                  Branford, CT 06405‐3715                                             trinitychurch@trinitybranford.org          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Brooklyn, Ct                      Attn: Jane Hale                                             P.O. Box 276                                                  Brooklyn, CT 06234                                                  trinityepiscopalchurchbrooklyn@gmail.com   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Demopolis, Al                     William Arrington                                           P.O. Box 560                                                  Demopolis, AL 36732‐0560                                            william.arrington@ipaper.com               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Demopolis, Al                     Attn: Rev Rob Morpeth, Diocese of Alabama                   521 N 20th St                                                 Birmingham, AL 35203                                                rmorpeth@dioala.org                        Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Fayetteville, New York            Attn: Martha L Berry                                        P.O. Box 3520                                                 Syracuse, NY 13220‐3520                                             office@trinityfayetteville.org             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Florence, Al                      Attn: Diocese of Alabama, Attn: Rev Rob Morpeth             521 N 20th St                                                 Birmingham, AL 35203                                                rmorpeth@dioala.org                        Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Florence, Al                      The Rev Dr Callie Plunket‐Brewton                           P.O. Box M                                                    Florence, AL 35630‐4655                                             cplunketbrewton@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Fort Worth, Texas                 Attn: The Reverend Canon Janet Waggoner                     P.O. Box 8695                                                 Fort Worth, TX 76124                                                janet.waggoner@edfw.org                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Gladstone                         901 Dakota Ave                                              Gladstone, MI 49837                                                                                                               timothyquinnell@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Hartford, Ct                      Attn: P Thomas Oberholtzer                                  120 Sigourney St                                              Hartford, CT 06105                                                  office@trinityhartford.org                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Houghton                          205 Montezuma                                               Houghton, MI 49931                                                                                                                                                           First Class Mail
Voting Party                   Trinity Episcopal Church, Lewiston                          c/o The Episcopal Diocese of Maine / Martin                 P.O. Box 4036                                                 Portland, ME 04101                                                  bmartin@episcopalmaine.org                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Mackinac Island                   472 Fort St                                                 Mackinac Island, MI 49757                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Oshkosh, Wi                       Attn: Episcopal Diocese of Fond Du Lac                      1051 N Lynndale Dr, Ste 1B                                    Appleton, WI 54914                                                  diofdl@diofdl.org                          Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Portland                          c/o The Episcopal Diocese of Maine / Martin                 P.O. Box 4036                                                 Portland, ME 04101                                                  bmartin@episcopalmaine.org                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Seneca Falls, New York            Attn: Martha L Berry                                        P.O. Box 3520                                                 Syracuse, NY 13220‐3520                                             trinity13148@verizon.net                   Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, St. Marys Parish                  Attn: Fr John Ball                                          P.O. Box 207                                                  47477 Trinity Church Rd          St. Marys City, MD 20686‐0207      trinitysaintmarys@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Statesville Nc                    Trinity Episcopal Church                                    801 Henkel Rd                                                 Statesville, NC 28677‐3215                                          Trinityrector@bellsouth.net                Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, The Woodlands                     3901 S Panther Creek Dr                                     The Woodlands, TX 77381                                                                                                           gsevick@trinitywoodlands.org               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Torrington, Ct.                   220 Prospect St                                             Torrington, CT 06791                                                                                                              treasurer@trinity‐torrington.org           Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Watertown, New York               P O Box 3520                                                Syracuse, NY 13220‐3520                                                                                                           marthalberry@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Watervliet, Ny 12189              Trinity Episcopal Church                                    1336 1st Ave                                                  Watervliet, NY 12189                                                wendell217@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Wetumpka, Al                      Attn: Warren Jones                                          5375 U.S. Hwy 231                                             Wetumpka, AL 36092‐3168                                             warren@trinitywetumpka.org                 Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Wetumpka, Al                      Attn: Diocese of Alabama, Attn: Rev Rob Morpeth             521 N 20th St                                                 Birmingham, AL 35203                                                rmorpeth@dioala.org                        Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Woodbridge, Nj                    Attn: Rector                                                650 Rahway Ave                                                Woodbridge, NJ 07095                                                rector@trinitywoodbridge.org               Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Church, Woodbridge, Nj                    Attn: Stephen A Kalista Jr                                  573 Linden Ave                                                Woodbridge, NJ 07095                                                kalista227@aol.com                         Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Parish                                    Matt Marino                                                 215 St George St                                              St. Augustine, FL 32084                                             frmatt@trinitysta.org                      Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Parish                                    c/o Rogers Towers, Pa                                       Attn: Betsy C Cox, Esq                                        1301 Riverplace Blvd, Ste 1500   Jacksonville, FL 32207             bcox@rtlaw.com                             Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Trinity Episcopal Parish In Menlo Park                      Attn: Leigh Flesher, Esq                                    330 Ravenswood Ave                                            Menlo Park, CA 94025                                                lcflesher@sbcglobal.net                    Email
                                                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Trinity Episcopal Parish Of Stoughton                       Mayflower Council 251                                       414 Sumner St                                                 Stoughton, MA 02072‐3470                                                                                       First Class Mail
Chartered Organization         Trinity Episcopal Scouts                                    Pine Burr Area Council 304                                  P.O. Box 1483                                                 Hattiesburg, MS 39403‐1483                                                                                     First Class Mail
Chartered Organization         Trinity Episopal School                                     Capitol Area Council 564                                    3901 Bee Caves Rd                                             West Lake Hills, TX 78746‐6403                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                  Page 405 of 442
                                                                                  Case 20-10343-LSS                                         Doc 8171                                   Filed 01/06/22                                                   Page 421 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                        Name                                                                                         Address                                                                                                                Email               Method of Service
Voting Party                   Trinity Epsicopal Cathedral                                  c/o StTheodores Episcopal Church          Attn: John Tisdale                                      200 W Capitol Ave, Ste 2300      Little Rock, AR 72201              jtisdale@wlj.com                      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Trinity Evangelical Congregal Ch                             New Birth of Freedom 544                  165 N 67th St                                           Harrisburg, PA 17111‐4410                                                                                 First Class Mail
Chartered Organization         Trinity Evangelical Luth Church ‐ Tea                        Sioux Council 733                         P.O. Box 62                                             Tea, SD 57064‐0062                                                                                        First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Hawk Mountain Council 528                 1749 S Main St                                          Bechtelsville, PA 19505‐9462                                                                              First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Ohio River Valley Council 619             P.O. Box 221                                            Bridgeport, OH 43912‐0221                                                                                 First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          New Birth of Freedom 544                  2000 Chestnut St                                        Camp Hill, PA 17011‐5409                                                                                  First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          W D Boyce 138                             301 E Chestnut St                                       Canton, IL 61520‐2732                                                                                     First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          New Birth of Freedom 544                  431 Philadelphia Ave                                    Chambersburg, PA 17201‐1665                                                                               First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Westmoreland Fayette 512                  126 E Fairview Ave                                      Connellsville, PA 15425‐3649                                                                              First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Black Swamp Area Council 449              P.O. Box 339                                            Convoy, OH 45832‐0339                                                                                     First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Cradle of Liberty Council 525             235 Summit Ave                                          Fort Washington, PA 19034‐1525                                                                            First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Missouri Synod Lutheran                   1546 N Luther Rd                                        Fremont, NE 68025‐3784                                                                                    First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Minsi Trails Council 502                  100 N Church St                                         Hazleton, PA 18201‐5804                                                                                   First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Theodore Roosevelt Council 386            40 W Nicholai St                                        Hicksville, NY 11801‐3806                                                                                 First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Susquehanna Council 533                   122 S Main St                                           Hughesville, PA 17737‐1405                                                                                First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Northeast Illinois 129                    25519 W Il Route 134                                    Ingleside, IL 60041‐8610                                                                                  First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Minsi Trails Council 502                  175 S 3rd St                                            Lehighton, PA 18235‐2029                                                                                  First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Susquehanna Council 533                   100 Mahoning St                                         Milton, PA 17847‐1510                                                                                     First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Laurel Highlands Council 527              P.O. Box 462                                            New Brighton, PA 15066                                                                                    First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Laurel Highlands Council 527              1001 10th Ave                                           New Brighton, PA 15066‐1617                                                                               First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Pathway To Adventure 456                  9701 Brandt Ave                                         Oak Lawn, IL 60453‐3026                                                                                   First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Washington Crossing Council 777           102 N Hellertown Ave                                    Quakertown, PA 18951‐1596                                                                                 First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Suffolk County Council Inc 404            716 Route 25A                                           Rocky Point, NY 11778‐8764                                                                                First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Los Padres Council 053                    909 N La Cumbre Rd                                      Santa Barbara, CA 93110‐1233                                                                              First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Hawkeye Area Council 172                  120 W 7th St                                            Tipton, IA 52772‐1737                                                                                     First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Hawk Mountain Council 528                 1220 W Maple St                                         Valley View, PA 17983‐9520                                                                                First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Muskingum Valley Council, Bsa 467         128 S 7th St                                            Zanesville, OH 43701‐4304                                                                                 First Class Mail
Chartered Organization         Trinity Evangelical Lutheran Church                          Muskingum Valley Council, Bsa 467         128 S 7th St                                            Zanesville, OH 43701‐4304                                                                                 First Class Mail
Voting Party                   Trinity Evangelical Lutheran Church                          Attn: Inga Edwards                        2520 State Rte, Ste 208                                 Walden, NY 12586                                                    secretary@tlcinwalden.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Evangelical Lutheran Church                          Attn: Cynthia M Weiss                     1000 W Main St                                          Lansdale, PA 19446‐1926                                             lcorr@trinitylansdale.com             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Evangelical Lutheran Church                          c/o Plews Shadley Racher & Braun LLP      Attn: Josh S Tatum                                      1346 N Delaware St               Indianapolis, IN 46202             jtatum@psrb.com                       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Evangelical Lutheran Church                          Address Redacted                                                                                                                                                      Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Evangelical Lutheran Church                          Attn: David A Thatcer                     200 E Clements Bridge Rd                                Runnemede, NJ 08078                                                 dthatcher@thatcherpassarella.com      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Evangelical Lutheran Church                          200 E Clements Bridge Rd                  Runnemede, NJ 08078                                                                                                         dthatcher@thatcherpassarella.com      Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Evangelical Lutheran Church                          Attn: Pastor Andrew Wilson                128 S 7th St                                            Zanesville, OH 43701                                                                                      First Class Mail
Voting Party                   Trinity Evangelical Lutheran Church ‐ The Bronx, Ny          Attn: Matthew Ryan Gonzalez               2125 Watson Ave                                         The Bronx, NY 10472                                                 pastor@trinitylutheranbronx.org       Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Evangelical Lutheran Church And School               Attn: Daniel Lorenz                       521 SW Clay St                                          Portland, OR 97201                                                  blminer521@aol.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Evangelical Lutheran Church Of Maysville             621 Parker Rd                             Maysville, KY 41056                                                                                                         tom@tomclarkeins.com                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Evangelical Lutheran Church Of Maysville, Kentucky   Attn: Matthew Sanning                     224 Main St                                             Augusta, KY 41002                                                   mattsanning1@gmail.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Evangelical Lutheran Church Of Tea, Lincoln Co, Sd   c/o Cadwell Sanford Deibert & Garry LLP   Attn: Steven W Sanford                                  200 E 10th St, Ste 200           Sioux Falls, SD 57104              ssanford@cadlaw.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Evangelical Lutheran Church, Inc                     Attn: Kenneth C Steel III                 2064 Park St                                            Jacksonville, FL 32204                                              steeltriallaw@gmail.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Trinity Friends Church ‐ Lisbon                              Buckeye Council 436                       33937 US Route 30                                       Lisbon, OH 44432                                                                                          First Class Mail
Voting Party                   Trinity Gastonia                                             c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200         Tampa, FL 33602                                                          First Class Mail
Voting Party                   Trinity Heights United Methodist Church (Az)                 c/o Clarke Law Firm, Plc                  Attn: Marilee Miller Clarke                             8141 E Indian Bend Rd, Ste 105   Scottsdale, AZ 85250               marilee@clarkelawaz.com               Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Trinity Heights Utd Methodist Church                         Grand Canyon Council 010                  3600 N 4th St                                           Flagstaff, AZ 86004‐1703                                                                                  First Class Mail
Chartered Organization         Trinity Heights Utd Methodist Church                         Quivira Council, Bsa 198                  1200 Boyd Ave                                           Newton, KS 67114‐1575                                                                                     First Class Mail
Voting Party                   Trinity Hill United Methodist Church                         Attn: John Sims & Aaron John Mansfield    3600 Tates Creek Rd                                     Lexington, KY 40517                                                 john96s@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lagrangeville Umc                                    Attn: Craig Grant, Chair of Finance       6 S Cross Rd                                            Lagrangeville, NY 12540                                             dbeattie@optonline.net                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lexington                                            c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                      100 N Tampa St, Ste 2200         Tampa, FL 33602                    erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lexington                                            902 South Main                            Lexington, NC 27292                                                                                                                                               First Class Mail
Chartered Organization         Trinity Lions Club                                           Sam Houston Area Council 576              P.O. Box 2213                                           Trinity, TX 75862‐2213                                                                                    First Class Mail
Voting Party                   Trinity Lutheran                                             Attn: Roy M Hahn                          810 Heatherwood St                                      Fremont, NE 68025                                                   royhahn@earthlink.net                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lutheran                                             1546 N Luther Rd                          Fremont, NE 68025                                                                                                           anthony.gerber@trinityfremont.org     Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Trinity Lutheran Brotherhood                                 Buckeye Council 436                       4535 Smeltzer Rd                                        Marion, OH 43302‐8436                                                                                     First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Black Swamp Area Council 449              18974 State Route 12                                    Arcadia, OH 44804‐9714                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church                                      New Birth of Freedom 544                  P.O. Box 309                                            Arendtsville, PA 17303‐0309                                                                               First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Greater New York Councils, Bsa 640        3118 37th St                                            Astoria, NY 11103‐3933                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Pony Express Council 311                  603 N 8th St                                            Atchison, KS 66002‐1703                                                                                   First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Istrouma Area Council 211                 10925 Florida Blvd                                      Baton Rouge, LA 70815‐2009                                                                                First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Crater Lake Council 491                   2550 NE Butler Market Rd                                Bend, OR 97701‐9523                                                                                       First Class Mail
Chartered Organization         Trinity Lutheran Church                                      National Capital Area Council 082         11200 Old Georgoetown Rd                                Bethesda, MD 20852                                                                                        First Class Mail
Chartered Organization         Trinity Lutheran Church                                      W D Boyce 138                             801 S Madison St                                        Bloomington, IL 61701‐6464                                                                                First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Inland Nwest Council 611                  6784 Cody St                                            Bonners Ferry, ID 83805‐8504                                                                              First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Central Minnesota 296                     1420 S 6th St                                           Brainerd, MN 56401‐4348                                                                                   First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Black Swamp Area Council 449              P.O. Box 727                                            Bryan, OH 43506‐0727                                                                                      First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Moraine Trails Council 500                120 Sunset Dr                                           Butler, PA 16001‐1332                                                                                     First Class Mail
Chartered Organization         Trinity Lutheran Church                                      W D Boyce 138                             301 E Chestnut St                                       Canton, IL 61520‐2732                                                                                     First Class Mail
Chartered Organization         Trinity Lutheran Church                                      The Spirit of Adventure 227               170 Old Westford Rd                                     Chelmsford, MA 01824‐1215                                                                                 First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Voyageurs Area 286                        231 2nd St Se                                           Cook, MN 55723                                                                                            First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Northern Lights Council 429               205 S Broadway                                          Crookston, MN 56716‐1956                                                                                  First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Chippewa Valley Council 637               1314 E Lexington Blvd                                   Eau Claire, WI 54701‐6434                                                                                 First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Snake River Council 111                   1602 E 1100 S                                           Eden, ID 83325‐5216                                                                                       First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Abraham Lincoln Council 144               P.O. Box 259                                            Edinburg, IL 62531‐0259                                                                                   First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Northeast Illinois 129                    3637 Golf Rd                                            Evanston, IL 60203‐1124                                                                                   First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Longs Peak Council 062                    301 E Stuart St                                         Fort Collins, CO 80525‐1438                                                                               First Class Mail
Chartered Organization         Trinity Lutheran Church                                      President Gerald R Ford 781               955 James St                                            Frankfort, MI 49635‐8300                                                                                  First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Mid‐America Council 326                   1546 N Luther Rd                                        Fremont, NE 68025‐3784                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Quivira Council, Bsa 198                  2701 24th St                                            Great Bend, KS 67530‐2239                                                                                 First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Cascade Pacific Council 492               507 W Powell Blvd                                       Gresham, OR 97030‐7046                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Mason Dixon Council 221                   15 Randolph Ave                                         Hagerstown, MD 21740‐4009                                                                                 First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Abraham Lincoln Council 144               P.O. Box 207                                            Harvel, IL 62538‐0207                                                                                     First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Overland Trails 322                       502 Sanders Ave                                         Hildreth, NE 68947‐5196                                                                                   First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Cherokee Area Council 556                 5001 Hixson Pike                                        Hixson, TN 37343‐3951                                                                                     First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Willow River Parent Group                 1205 6th St                                             Hudson, WI 54016‐1341                                                                                     First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Attn: John Rincones                       8540 E 16th St                                          Indianapolis, IN 46219‐2503                                                                               First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Three Harbors Council 636                 7104 39th Ave                                           Kenosha, WI 53142‐7133                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Gateway Area 624                          1010 Sill St                                            La Crosse, WI 54603‐2451                                                                                  First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Hawk Mountain Council 528                 104 E Abbott St                                         Lansford, PA 18232‐2012                                                                                   First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Miami Valley Council, Bsa 444             511 N Commerce St                                       Lewisburg, OH 45338‐9347                                                                                  First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Northeast Georgia Council 101             1826 Killian Hill Rd Sw                                 Lilburn, GA 30047‐2532                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Three Fires Council 127                   1101 Kimberly Way                                       Lisle, IL 60532‐0008                                                                                      First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Northern Star Council 250                 2060 County Rd 6                                        Long Lake, MN 55356‐9564                                                                                  First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Twin Valley Council Bsa 283               406 W Main St                                           Madelia, MN 56062‐1018                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Glaciers Edge Council 620                 1904 Winnebago St                                       Madison, WI 53704‐5315                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Shenandoah Area Council 598               1643 Pitzers Chapel Rd                                  Martinsburg, WV 25403‐6119                                                                                First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Simon Kenton Council 441                  311 E 6th St                                            Marysville, OH 43040‐1705                                                                                 First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Winnebago Council, Bsa 173                213 N Pennsylvania Ave                                  Mason City, IA 50401‐3442                                                                                 First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Susquehanna Council 533                   6 E Specht St                                           Mc Clure, PA 17841‐9725                                                                                   First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Quivira Council, Bsa 198                  119 N Elm St                                            Mcpherson, KS 67460‐4331                                                                                  First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Greater New York Councils, Bsa 640        6370 Dry Harbor Rd                                      Middle Village, NY 11379‐1977                                                                             First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Sioux Council 733                         918 1st Ave E                                           Mobridge, SD 57601‐1801                                                                                   First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Lake Erie Council 440                     121 W Broad St                                          Monroeville, OH 44847‐9785                                                                                First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Northern Star Council 250                 220 S 13th St                                           Montevideo, MN 56265‐2057                                                                                 First Class Mail
Chartered Organization         Trinity Lutheran Church                                      American Legion Post 21                   210 7th St S                                            Moorhead, MN 56560‐2741                                                                                   First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Winnebago Council, Bsa 173                223 S Water Ave                                         New Hampton, IA 50659‐1461                                                                                First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Mid‐America Council 326                   330 W Halleck St                                        Papillion, NE 68046‐2584                                                                                  First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Hawk Mountain Council 528                 527 Washington St                                       Reading, PA 19601‐3420                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Baltimore Area Council 220                109 Main St                                             Reisterstown, MD 21136‐1211                                                                               First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Baltimore Area Council 220                117 Main St                                             Reisterstown, MD 21136‐1211                                                                               First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Crossroads of America 160                 P.O. Box 606                                            Richmond, IN 47375‐0606                                                                                   First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Hawk Mountain Council 528                 108 S Robeson St                                        Robesonia, PA 19551‐1510                                                                                  First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Three Fires Council 127                   405 Rush St                                             Roselle, IL 60172‐2228                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Greater Los Angeles Area 033              6868 N San Gabriel Blvd                                 San Gabriel, CA 91775‐1044                                                                                First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Occoneechee 421                           525 Carthage St                                         Sanford, NC 27330‐4104                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Coastal Georgia Council 099               12391 Mercy Blvd                                        Savannah, GA 31419‐3436                                                                                   First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Great Rivers Council 653                  3201 Southwest Blvd                                     Sedalia, MO 65301‐6858                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Tukabatchee Area Council 005              1900 Marie Foster St                                    Selma, AL 36703‐2933                                                                                      First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Gateway Area 624                          P.O. Box 188                                            Spring Grove, MN 55974‐0188                                                                               First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Northern Star Council 250                 115 4th St N                                            Stillwater, MN 55082‐4851                                                                                 First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Master Post 217 American Legion           133 Centre Ave                                          Topton, PA 19562‐1002                                                                                     First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Hawk Mountain Council 528                 121 S Home Ave                                          Topton, PA 19562‐1225                                                                                     First Class Mail
Chartered Organization         Trinity Lutheran Church                                      South Texas Council 577                   106 N De Leon St                                        Victoria, TX 77901‐6629                                                                                   First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Bay‐Lakes Council 635                     206 E Badger St                                         Waupaca, WI 54981‐1533                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Minsi Trails Council 502                  2 Jackson Ave                                           West Hazleton, PA 18202‐2102                                                                              First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Hawk Mountain Council 528                 Hill Rd & Walnut St                                     Westernersville, PA 19565                                                                                 First Class Mail
Chartered Organization         Trinity Lutheran Church                                      Greater Los Angeles Area 033              11716 Floral Dr                                         Whittier, CA 90601‐2834                                                                                   First Class Mail
Voting Party                   Trinity Lutheran Church                                      Attn: Michael E Arens                     111 Nassau Ave                                          Islip, NY 11751                                                     trinityislip@optonline.net            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lutheran Church                                      1108 E 8th St                             Duluth, MN 55805                                                                                                            trinity@tlcduluth.org                 Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lutheran Church                                      Attn: Kevin Evensen                       717 Chambers St                                         Ottawa, IL 61350                                                    tlcoffice@trinitylutheranottawa.com   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lutheran Church                                      Attn: Todd Tegethoff                      1400 E 2nd Ave                                          Mitchell, SD 57301                                                  tegethoff6@hotmail.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lutheran Church                                      2194 SE Minter Bridge                     Hillsboro, OR 97123                                                                                                         sandy@trinityhillsboro.com            Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lutheran Church                                      Attn: Peter Bredlau                       1330 13th Ave                                           Moline, IL 61265                                                    pastorpeter@tlcmoline.org             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lutheran Church                                      Attn: Peter Bredlau                       1330 13th St                                            Moline, IL 61265                                                    pastorpeter@tlcmoline.org             Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lutheran Church                                      212 W 12th St                             Grand Island, NE 68801                                                                                                      pastoradam@tlcgi.org                  Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lutheran Church                                      Attn: Joseph Milano                       1385 Broadway ‐ 12th Fl                                 New York, NY 10018                                                  JMilano@cbmslaw.com                   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lutheran Church                                      Attn: Jeffrey E Heimsoth                  323 Scott St                                            Monroe, MI 48161                                                    jheimsoth@trinitylutheranmonroe.org   Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lutheran Church                                      Attn: Eric Wooldridge                     1535 Washington Ave                                     Enumclaw, WA 98022                                                  ericwool@gmail.com                    Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lutheran Church                                      315 E Mill Ave                            Pelican Rapids, MN 56572                                                                                                    eric.schwirian@gmail.com              Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Trinity Lutheran Church                                      William Conger                            2762 Vermilion Dr                                       Cook, MN 55723                                                      billconger73@gmail.com                Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Trinity Lutheran Church ‐ Birchwood                          Chippewa Valley Council 637               501 E Chetac Ave                                        Birchwood, WI 54817‐8836                                                                                  First Class Mail
Chartered Organization         Trinity Lutheran Church ‐ Boyceville                         Chippewa Valley Council 637               1039 Nordveien Dr                                       Boyceville, WI 54725‐9318                                                                                 First Class Mail
Chartered Organization         Trinity Lutheran Church ‐ Carlos                             Northern Lights Council 429               16 N Douglas Ave                                        Carlos, MN 56319                                                                                          First Class Mail
Chartered Organization         Trinity Lutheran Church ‐ Madison                            Sioux Council 733                         203 N Harth Ave                                         Madison, SD 57042‐2216                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church ‐ Moorhead                           Northern Lights Council 429               P.O. Box 188                                            Moorhead, MN 56561‐0188                                                                                   First Class Mail
Chartered Organization         Trinity Lutheran Church ‐ Pelican Rapids                     Northern Lights Council 429               P.O. Box 431                                            Pelican Rapids, MN 56572‐0431                                                                             First Class Mail
Chartered Organization         Trinity Lutheran Church & School                             Crater Lake Council 491                   2550 NE Butler Market Rd                                Bend, OR 97701‐9523                                                                                       First Class Mail
Chartered Organization         Trinity Lutheran Church & School                             Gulf Stream Council 085                   400 N Swinton Ave                                       Delray Beach, FL 33444‐3954                                                                               First Class Mail
Chartered Organization         Trinity Lutheran Church & School                             Central Florida Council 083               3016 W Vine St                                          Kissimmee, FL 34741‐3821                                                                                  First Class Mail
Chartered Organization         Trinity Lutheran Church And School                           Pathway To Adventure 456                  900 Luther Dr                                           Hobart, IN 46342‐5246                                                                                     First Class Mail
Chartered Organization         Trinity Lutheran Church Board Of Youth                       Water and Woods Council 782               3701 Jefferson Ave                                      Midland, MI 48640‐3504                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church Council                              Northern Star Council 250                 13025 Newell Ave                                        Lindstrom, MN 55045‐9401                                                                                  First Class Mail
Chartered Organization         Trinity Lutheran Church Council                              Gateway Area 624                          612 N Water St                                          Sparta, WI 54656‐1109                                                                                     First Class Mail
Chartered Organization         Trinity Lutheran Church Council                              Samoset Council, Bsa 627                  1410 Rogers St                                          Stevens Point, WI 54481‐3048                                                                              First Class Mail
Chartered Organization         Trinity Lutheran Church Dallas                               Cascade Pacific Council 492               320 SE Fir Villa Rd                                     Dallas, OR 97338‐9245                                                                                     First Class Mail
Chartered Organization         Trinity Lutheran Church Hillsboro                            Cascade Pacific Council 492               2194 SE Minter Bridge Rd                                Hillsboro, OR 97123‐5100                                                                                  First Class Mail
Chartered Organization         Trinity Lutheran Church Mens Club                            Greater St Louis Area Council 312         100 N Frederick St                                      Cape Girardeau, MO 63701‐5610                                                                             First Class Mail
Voting Party                   Trinity Lutheran Church Montevideo                           220 S 13th St                             Montevideo, MN 56265                                                                                                        bankruptcycourt@kluverlaw.com         Email
                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Trinity Lutheran Church Of Anaheim Hills                     Orange County Council 039                 4101 E Nohl Ranch Rd                                    Anaheim, CA 92807‐3433                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 406 of 442
                                                                                    Case 20-10343-LSS                                         Doc 8171                                                 Filed 01/06/22                                                    Page 422 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                          Name                                                                                                       Address                                                                                                           Email                   Method of Service
Voting Party                   Trinity Lutheran Church Of Jamestown                        Attn: Rev Kristina Weber                     523 4th Ave Se                                                        Jamestown, ND 58401‐4222                                             connect@trinityjamestown.com        Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Lutheran Church Of Midland                          Attn: Scot C Putzig                          3701 Jefferson Ave                                                    Midland, MI 48640                                                    scputzig@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Lutheran Church Of Paso Robles                      Trinity Lutheran Church                      940 Creston Rd                                                        Paso Robles, CA 93446                                                sanderson@trinitylutheranpaso.org   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity Lutheran Church Of Sheridan                         Greater Wyoming Council 638                  135 Crescent Dr                                                       Sheridan, WY 82801‐4026                                                                                  First Class Mail
Voting Party                   Trinity Lutheran Church Of Stillwater, Minnesota            Attn: Robert Eiselt                          115 4th St N                                                          Stillwater, MN 55082                                                 beiselt@trinitylc.org               Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Lutheran Church Of Valparaiso                       c/o Plews Shadley Racher & Braun LLP         Attn: Josh S Tatum                                                    1346 N Delaware St                Indianapolis, IN 46202             jtatum@psrb.com                     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity Lutheran Church School                              Rocky Mountain Council 063                   701 W Evans Ave                                                       Pueblo, CO 81004‐1523                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran Church Shawnee Campus                      Heart of America Council 307                 21320 Midland Dr                                                      Shawnee, KS 66218‐9000                                                                                   First Class Mail
Voting Party                   Trinity Lutheran Church Susquehanna Council 533             6 E Specht St                                P.O. Box 168                                                          Mcclure, PA 17841                                                    ticmcclure@gmail.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Lutheran Church, Cook, Mn                           Attn: William Conger                         231 2nd St Se                                                         Cook, MN 55723                                                       billconger73@gmail.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Lutheran Church, Tenafly                            Attn: Thomas Loman                           430 Knickerbocker Rd                                                  Tenafly, NJ 07670                                                    lomanlaw@aol.com                    Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity Lutheran Church‐Clinton Township                    Great Lakes Fsc 272                          38900 Harper Ave                                                      Clinton Township, MI 48036‐3222                                                                          First Class Mail
Chartered Organization         Trinity Lutheran Church‐Utica                               Great Lakes Fsc 272                          45160 Van Dyke Ave                                                    Utica, MI 48317‐5578                                                                                     First Class Mail
Chartered Organization         Trinity Lutheran Elca ‐ Yankton                             Sioux Council 733                            403 Broadway Ave                                                      Yankton, SD 57078‐3920                                                                                   First Class Mail
Voting Party                   Trinity Lutheran Evangelical Church Hicksville Ny           Attn: Wayne Hoeberlein                       44 Florence Ave                                                       Oyster Bay, NY 11771                                                 wayne@hoebhome.com                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity Lutheran Mens Group                                 Northern Lights Council 429                  523 4th Ave Se                                                        Jamestown, ND 58401‐4222                                                                                 First Class Mail
Chartered Organization         Trinity Lutheran Of Lake Johanna                            Northern Star Council 250                    3245 New Brighton Rd                                                  Arden Hills, MN 55112‐7914                                                                               First Class Mail
Chartered Organization         Trinity Lutheran School                                     Illowa Council 133                           1122 W Central Park Ave                                               Davenport, IA 52804‐1805                                                                                 First Class Mail
Chartered Organization         Trinity Lutheran School                                     Cascade Pacific Council 492                  5520 NE Killingsworth St                                              Portland, OR 97218‐2416                                                                                  First Class Mail
Chartered Organization         Trinity Lutheran School                                     President Gerald R Ford 781                  1003 S Maple St                                                       Traverse City, MI 49684‐4025                                                                             First Class Mail
Chartered Organization         Trinity Lutheran School                                     Samoset Council, Bsa 627                     501 Stewart Ave                                                       Wausau, WI 54401‐4562                                                                                    First Class Mail
Chartered Organization         Trinity Lutheran School‐Mens Club                           Greater St Louis Area Council 312            100 N Frederick St                                                    Cape Girardeau, MO 63701‐5610                                                                            First Class Mail
Voting Party                   Trinity Memorial                                            c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Memorial Episcopal Church, Binghamton, New York     Attn: Martha L Berry                         P.O. Box 3520                                                         Syracuse, NY 13220‐3520                                              trinity@trinitymemorial.org         Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Memorial Lutheran Church                            535 W Emaus Ave                              Allentown, PA 18103                                                                                                                        tmlcadmn@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity Mens Club‐Trinity Episc Ch                          Housatonic Council, Bsa 069                  91 Church St                                                          Seymour, CT 06483‐2611                                                                                   First Class Mail
Chartered Organization         Trinity Mens Club‐Trinity Episc Ch                          Housatonic Council, Bsa 069                  91 Church St                                                          Seymour, CT 06483‐2611                                                                                   First Class Mail
Chartered Organization         Trinity Methodist Church                                    Circle Ten Council 571                       101 E US Hwy 69                                                       Denison, TX 75021‐6746                                                                                   First Class Mail
Chartered Organization         Trinity Methodist Church                                    Pine Burr Area Council 304                   5009 Lawson Ave                                                       Gulfport, MS 39507                                                                                       First Class Mail
Chartered Organization         Trinity Methodist Church                                    Pine Burr Area Council 304                   5007 Lawson Ave                                                       Gulfport, MS 39507‐4445                                                                                  First Class Mail
Chartered Organization         Trinity Methodist Church                                    Mississippi Valley Council 141 141           P.O. Box 161                                                          Montrose, IA 52639‐0161                                                                                  First Class Mail
Chartered Organization         Trinity Methodist Church                                    Pee Dee Area Council 552                     226 W Liberty St                                                      Sumter, SC 29150‐5116                                                                                    First Class Mail
Chartered Organization         Trinity Methodist Church                                    Winnebago Council, Bsa 173                   1400 W Bremer Ave                                                     Waverly, IA 50677‐2834                                                                                   First Class Mail
Voting Party                   Trinity Methodist Church                                    Attn: Barrington United Methodist Church     98 Algonguin Rd                                                       Algonquin, IL 60010                                                  bumctrustees@barringtonumc.com      Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity Methodist Church Mens Club                          Water and Woods Council 782                  1310 N Main St                                                        Lapeer, MI 48446‐1349                                                                                    First Class Mail
Voting Party                   Trinity Methodist Church Of Conway, S.C.                    Tresco E Shannon                             198 Long Ave                                                          Conway, SC 29528                                                     tshannon@trinityconway.com          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Methodist Church Of Conway, S.C.                    Attn: Rev Tresco E Shannon                   P.O. Box 1072                                                         Conway, SC 29528                                                     tshannon@trinityconway.com          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Methodist Church Of Darlington, Inc                 Attn: William D Altman, II                   126 Pearl St                                                          Darlington, SC 29532                                                 wdaltmanii@umcsc.org                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Methodist Church Of Darlington, Inc                 Attn: Rev William D Altman, II               P.O. Box 16                                                           Darlington, SC 29540                                                 wdaltmanii@umcsc.org                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Methodist Church, Sunnyvale, Ca                     Attn: Jay C Parr, Pastor                     535 Old San Francisco Rd                                              Sunnyvale, CA 94086                                                  pastor@trinityumcsunnyvale.org      Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Mifflin United Methodist Church (183571)            c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity Moravian Church                                     Old Hickory Council 427                      220 E Sprague St                                                      Winston Salem, NC 27127‐3014                                                                             First Class Mail
Voting Party                   Trinity Moravian Church                                     Attn: Treasurer                              7011 Good Luck Rd                                                     New Carrollton, MD 20784                                             trinitymoravianoffice@gmail.com     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Morrisania United Methodist Church                  Attn: Jessica Ellis, CFO                     475 Riverside Dr, Ste 1922                                            New York, NY 10115                                                   jellis@umcitysociety.org            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity Mother Frances Hospital                             Glass Center                                 501 W 32nd St                                                         Tyler, TX 75702‐1210                                                                                     First Class Mail
Voting Party                   Trinity Mullica Hill                                        c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity New Albany United Mehodist Church                   Attn: Rev Chris D Neikirk                    2296 Charlestown Rd                                                   New Albany, IN 47150                                                 chris.neikirk@inumc.org             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity On The Hill Episcopal Church                        Attn: Rev Christopher Adams                  3900 Trinity Dr                                                       Los Alamos, NM 87544                                                 cadams@latoth.org                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity On The Hill Umc                                     Chattahoochee Council 091                    101 N Davis Rd                                                        Lagrange, GA 30241‐1561                                                                                  First Class Mail
Voting Party                   Trinity On The Hill United Methodist Church                 Attn: Nancy Newbrey Business Administrator   1330 Monte Sano Ave                                                   Augusta, GA 30904                                                    nnewbrey@trinityonthehill.net       Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Park United Methodist Church                        Attn: Larry Van Camp                         207 W Park Ave                                                        Greenfield, IN 46140                                                 larry.vancamp@inumc.org             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity Presbyterian Ch Seven Spgs                          Greater Tampa Bay Area 089                   4651 Little Rd                                                        New Port Richey, FL 34655‐1329                                                                           First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Great Alaska Council 610                     12310 Lorraine St                                                     Anchorage, AK 99516‐2147                                                                                 First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 National Capital Area Council 082            5533 16th St N                                                        Arlington, VA 22205‐2749                                                                                 First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Denver Area Council 061                      7755 Vance Dr                                                         Arvada, CO 80003‐2101                                                                                    First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Daniel Boone Council 414                     17 Shawnee Trl                                                        Asheville, NC 28805‐2210                                                                                 First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Atlanta Area Council 092                     3003 Howell Mill Rd Nw                                                Atlanta, GA 30327‐1601                                                                                   First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Moraine Trails Council 500                   107 Staley Ave                                                        Butler, PA 16001‐2429                                                                                    First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Ventura County Council 057                   2304 Antonio Ave                                                      Camarillo, CA 93010‐1415                                                                                 First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Great Rivers Council 653                     1600 Rollins Rd                                                       Columbia, MO 65203‐1756                                                                                  First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Longhorn Council 662                         5500 Morriss Rd                                                       Flower Mound, TX 75028‐3701                                                                              First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 East Carolina Council 426                    206 Miller Blvd                                                       Havelock, NC 28532‐2648                                                                                  First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Daniel Boone Council 414                     900 Blythe St                                                         Hendersonville, NC 28791‐3214                                                                            First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 National Capital Area Council 082            651 Dranesville Rd                                                    Herndon, VA 20170‐3308                                                                                   First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Longhorn Council 662                         1200 Clover Hill Rd                                                   Mansfield, TX 76063‐2527                                                                                 First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Tidewater Council 596                        1600 Colonial Ave                                                     Norfolk, VA 23517‐2020                                                                                   First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Trapper Trails 589                           140 N Tyler Ave                                                       Ogden, UT 84404‐4161                                                                                     First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Central Florida Council 083                  156 Florida Park Dr N                                                 Palm Coast, FL 32137‐8317                                                                                First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Occoneechee 421                              3120 N New Hope Rd                                                    Raleigh, NC 27604‐4948                                                                                   First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Silicon Valley Monterey Bay 055              420 Melrose Ave                                                       Santa Cruz, CA 95062‐1524                                                                                First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Longhorn Council 662                         1452 W Southlake Blvd                                                 Southlake, TX 76092‐5901                                                                                 First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Pushmataha Area Council 691                  607 Hospital Rd                                                       Starkville, MS 39759‐2119                                                                                First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 South Georgia Council 098                    3501 Bemiss Rd                                                        Valdosta, GA 31605‐6074                                                                                  First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Sagamore Council 162                         P.O. Box 248                                                          West Lebanon, IN 47991‐0248                                                                              First Class Mail
Chartered Organization         Trinity Presbyterian Church                                 Quivira Council, Bsa 198                     2258 N Marigold Ln                                                    Wichita, KS 67204‐5513                                                                                   First Class Mail
Voting Party                   Trinity Presbyterian Church                                 Attn: Shelly A Sands                         P.O. Box 6471                                                         Key West, FL 33041                                                   trinitych@bellsouth.net             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Presbyterian Church                                 Attn: Richard George Zielinski               21 S Woodland Ave                                                     East Brunswick, NJ 08816                                             rvielinski@comcast.net              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Presbyterian Church                                 Attn: Richard George Zielinski               367 Cranbury Rd                                                       East Brunswick, NJ 08816‐3084                                        rvielinski@comcast.net              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Presbyterian Church                                 Attn: John Sefcik                            5871 Virginia Pkwy                                                    Mckinney, TX 75071                                                   jsefcik@tpcmckinney.org             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Presbyterian Church                                 Attn: Treasurer                              499 Marlton Pike E                                                    Cherry Hill, NJ 08034                                                Greg@trinpres.org                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Presbyterian Church                                 Attn: Sue Marie Baskette                     630 Park Ave                                                          Prescott, AZ 86303                                                   aztrinityoffice@gmail.com           Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Protestant Episcopal Church                         Trinity Church                               500 Court St                                                          Portsmouth, VA 23704                                                 admin@trinity.org                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity Reformed Church Of Hublersburg                      Juniata Valley Council 497                   378 Hublersburg Rd                                                    Bellefonte, PA 16823‐6549                                                                                First Class Mail
Chartered Organization         Trinity River Mission                                       Circle Ten Council 571                       2060 Singleton Blvd, Ste 104                                          Dallas, TX 75212‐3872                                                                                    First Class Mail
Voting Party                   Trinity Um Church                                           Attn: Carolyn B Coleman, Treasurer           34 James St, P.O. Box 172                                             Piedmont, WV 26750                                                   trinity3x@frontier.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity Umc                                                 Northwest Georgia Council 100                P.O. Box 628                                                          Rome, GA 30162‐0628                                                                                      First Class Mail
Chartered Organization         Trinity Umc                                                 Northwest Georgia Council 100                606 Turner Mccall Blvd Sw                                             Rome, GA 30165‐5624                                                                                      First Class Mail
Voting Party                   Trinity Umc                                                 Attn: William Scott Ingleton                 P.O. Box 1080                                                         Fort Ashby, WV 26719‐1080                                            trinityumc1@atlanticbb.net          Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc                                                 Attn: Chair Finance Committee                375 Broad St                                                          Providence, RI 02907                                                 info@tumc.necoxmail.com             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc                                                 Attn: Eric Stephen Feustel                   28 Bridge St                                                          Colebrook, NH 03576                                                  ericfeustel@comcast.net             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc                                                 c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradly.com                    Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc                                                 c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc                                                 Attn: Treasurer                              124 S 5th St                                                          Rockport, IN 47635                                                                                       First Class Mail
Voting Party                   Trinity Umc                                                 2911 Cameron Mills Rd                        Alexandria, VA 22302                                                                                                                                                           First Class Mail
Voting Party                   Trinity Umc                                                 9061 Washington St                           Amelia, VA 23002                                                                                                                                                               First Class Mail
Voting Party                   Trinity Umc                                                 304 W Oak St                                 Arcadia, FL 34266                                                                                                                                                              First Class Mail
Voting Party                   Trinity Umc                                                 109 Plum St                                  Cape Charles, VA 23310                                                                                                                                                         First Class Mail
Voting Party                   Trinity Umc                                                 6600 Greenyard Rd                            Chester, VA 23831                                                                                                                                                              First Class Mail
Voting Party                   Trinity Umc                                                 409 Arnett Blvd                              Danville, VA 24540                                                                                                                                                             First Class Mail
Voting Party                   Trinity Umc                                                 237 N Water Ave                              Idaho Falls, ID 83402                                                                                                                                                          First Class Mail
Voting Party                   Trinity Umc                                                 9425 Kings Hgwy                              King George, VA 22485                                                                                                                                                          First Class Mail
Voting Party                   Trinity Umc                                                 147 S Main St                                Lexington, VA 24450                                                                                                                                                            First Class Mail
Voting Party                   Trinity Umc                                                 903 Forest Ave                               Richmond, VA 23229                                                                                                                                                             First Class Mail
Voting Party                   Trinity Umc                                                 201 Cedar St                                 Smithfield, VA 23430                                                                                                                                                           First Class Mail
Voting Party                   Trinity Umc ‐ Idaho Falls                                   c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc ‐ Salem                                         c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc ‐ Salem                                         590 Elma Ave Se                              Salem, OR 97317                                                                                                                                                                First Class Mail
Voting Party                   Trinity Umc (03510)                                         c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc (04280)                                         c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc (177320)                                        c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc (4560)                                          c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc (4743)                                          c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc (Lewistown)                                     c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc (Poquoson)                                      c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc (Poquoson)                                      1294 Poquoson Ave                            Poquoson, VA 23662                                                                                                                                                             First Class Mail
Voting Party                   Trinity Umc Arcadia                                         c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc Clearfield (180806)                             c/o Bentz Law Firm                           Attn: Leonard Spagnolo                                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc Grand Island                                    Attn: Charles H Yund                         2100 Whitehaven Rd                                                    Grand Island, NY 14072‐2089                                          cyund@roadrunner.com                Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc King                                            c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc Of Attica                                       Attn: Fraces E White                         75 Main St                                                            Attica, NY 14011                                                     revpamumc@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc Of Coram                                        Attn: Carol E Russell                        P.O. Box 92                                                           Coram, NY 11727                                                      russmalik@optonline.net             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity UMC Of Coram                                        Attn: Carol Russell                          P.O. Box 92                                                           Coram, NY 11727                                                      russmalik@optonline.net             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc Of Elizabethtown, Nc                            P O Box 759                                  901 West Broad St (No Mail Received Here)                             Elizabethtown, NC 28337                                              office@trinityetown.org             Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc Wilmette                                        1024 Lake Ave                                Wilmette, IL 60091                                                                                                                         pastorbrian@trinitywilmette.org     Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Umc, Va                                             c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Trinity Ums                                                 c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity United Church Of Christ                             Canal Fulton                                 Buckeye Council 436                                                   8101 Manchester Ave Nw            Canal Fulton, OH 44614                                                 First Class Mail
Voting Party                   Trinity United Church Of Christ Of East Petersburg, Pa      Attn: Matthew C Samley Esq                   33 N Duke St                                                          Lancaster, PA 17602                                                  MSamley@appelyostzee.com            Email
                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Trinity United Methodist                                    President Gerald R Ford 781                  1100 Lake Dr Se                                                       Grand Rapids, MI 49506‐1538                                                                              First Class Mail
Voting Party                   Trinity United Methodist                                    c/o Bradley Arant Boult Cummings, LLP        Attn: Edwin G Rice                                                    100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 407 of 442
                                                                                    Case 20-10343-LSS                                                     Doc 8171                                         Filed 01/06/22                                                     Page 423 of 457
                                                                                                                                                                                              Exhibit B
                                                                                                                                                                                               Service List
                                                                                                                                                                                        Served as set forth below

        Description                                                        Name                                                                                                             Address                                                                                                                Email               Method of Service
Voting Party                   Trinity United Methodist                                    440 Maxwell Rd                                           Eugene, OR 97040                                                                                                                                                        First Class Mail
Chartered Organization         Trinity United Methodist Church                             National Capital Area Council 082                        2911 Cameron Mills Rd                                         Alexandria, VA 22302‐2518                                                                                 First Class Mail
Chartered Organization         Trinity United Methodist Church                             Heart of Virginia Council 602                            P.O. Box 263                                                  Amelia Court House, VA 23002‐0263                                                                         First Class Mail
Chartered Organization         Trinity United Methodist Church                             Sequoyah Council 713                                     P.O. Box 16                                                   Big Stone Gap, VA 24219‐0016                                                                              First Class Mail
Chartered Organization         Trinity United Methodist Church                             Indian Waters Council 553                                P.O. Box 864                                                  Blythewood, SC 29016‐0864                                                                                 First Class Mail
Chartered Organization         Trinity United Methodist Church                             Indian Waters Council 553                                P.O. Box 864                                                  Blythewood, SC 29016‐0864                                                                                 First Class Mail
Chartered Organization         Trinity United Methodist Church                             Heart of Virginia Council 602                            P.O. Box 233                                                  Buckingham, VA 23921‐0233                                                                                 First Class Mail
Chartered Organization         Trinity United Methodist Church                             Northwest Georgia Council 100                            P.O. Box 1414                                                 Cartersville, GA 30120‐1414                                                                               First Class Mail
Chartered Organization         Trinity United Methodist Church                             Heart of Virginia Council 602                            6600 Greenyard Rd                                             Chester, VA 23831‐1400                                                                                    First Class Mail
Chartered Organization         Trinity United Methodist Church                             French Creek Council 532                                 P.O. Box 88                                                   Conneaut Lake, PA 16316‐0088                                                                              First Class Mail
Chartered Organization         Trinity United Methodist Church                             Suffolk County Council Inc 404                           P.O. Box 92                                                   Coram, NY 11727‐0092                                                                                      First Class Mail
Chartered Organization         Trinity United Methodist Church                             Pennsylvania Dutch Council 524                           420 Main St                                                   Denver, PA 17517‐1426                                                                                     First Class Mail
Chartered Organization         Trinity United Methodist Church                             Lasalle Council 165                                      2715 E Jackson Blvd                                           Elkhart, IN 46516‐5053                                                                                    First Class Mail
Chartered Organization         Trinity United Methodist Church                             Oregon Trail Council 697                                 440 Maxwell Rd                                                Eugene, OR 97404‐2355                                                                                     First Class Mail
Chartered Organization         Trinity United Methodist Church                             Cape Fear Council 425                                    307 Trinity St                                                Fairmont, NC 28340‐1639                                                                                   First Class Mail
Chartered Organization         Trinity United Methodist Church                             Laurel Highlands Council 527                             P.O. Box 1080                                                 Fort Ashby, WV 26719‐1080                                                                                 First Class Mail
Chartered Organization         Trinity United Methodist Church                             North Florida Council 087                                4000 NW 53rd Ave                                              Gainesville, FL 32653‐4405                                                                                First Class Mail
Chartered Organization         Trinity United Methodist Church                             President Gerald R Ford 781                              1100 Lake Dr Se                                               Grand Rapids, MI 49506‐1538                                                                               First Class Mail
Chartered Organization         Trinity United Methodist Church                             Minsi Trails Council 502                                 213 Main St                                                   Hackettstown, NJ 07840‐2019                                                                               First Class Mail
Chartered Organization         Trinity United Methodist Church                             Quivira Council, Bsa 198                                 1602 N Main St                                                Hutchinson, KS 67501‐4008                                                                                 First Class Mail
Chartered Organization         Trinity United Methodist Church                             Anthony Wayne Area 157                                   229 S State St                                                Kendallville, IN 46755‐1766                                                                               First Class Mail
Chartered Organization         Trinity United Methodist Church                             Bay‐Lakes Council 635                                    300 Church St                                                 Lomira, WI 53048‐9566                                                                                     First Class Mail
Chartered Organization         Trinity United Methodist Church                             Shenandoah Area Council 598                              220 W Martin St                                               Martinsburg, WV 25401‐3331                                                                                First Class Mail
Chartered Organization         Trinity United Methodist Church                             Shenandoah Area Council 598                              220 W Martin St                                               Martinsburg, WV 25401‐3331                                                                                First Class Mail
Chartered Organization         Trinity United Methodist Church                             Pathway To Adventure 456                                 605 W Golf Rd                                                 Mt Prospect, IL 60056‐4210                                                                                First Class Mail
Chartered Organization         Trinity United Methodist Church                             Heart of America Council 307                             630 N Cedar St                                                Ottawa, KS 66067‐1802                                                                                     First Class Mail
Chartered Organization         Trinity United Methodist Church                             Cape Fear Council 425                                    P.O. Box 48                                                   Red Springs, NC 28377‐0048                                                                                First Class Mail
Chartered Organization         Trinity United Methodist Church                             Great Lakes Fsc 272                                      18303 Common Rd                                               Roseville, MI 48066‐4608                                                                                  First Class Mail
Chartered Organization         Trinity United Methodist Church                             Colonial Virginia Council 595                            P.O. Box 162                                                  Smithfield, VA 23431‐0162                                                                                 First Class Mail
Chartered Organization         Trinity United Methodist Church                             Colonial Virginia Council 595                            P.O. Box 162                                                  Smithfield, VA 23431‐0162                                                                                 First Class Mail
Chartered Organization         Trinity United Methodist Church                             Palmetto Council 549                                     626 Norwood St                                                Spartanburg, SC 29302‐2040                                                                                First Class Mail
Chartered Organization         Trinity United Methodist Church                             Central Georgia Council 096                              129 S Houston Rd                                              Warner Robins, GA 31088‐3903                                                                              First Class Mail
Chartered Organization         Trinity United Methodist Church                             Anthony Wayne Area 157                                   832 E Center St                                               Warsaw, IN 46580‐3325                                                                                     First Class Mail
Chartered Organization         Trinity United Methodist Church                             Northeast Illinois 129                                   1024 Lake Ave                                                 Wilmette, IL 60091‐1764                                                                                   First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Pastor, Trinity Umc                                137 Main St                                                   Montpelier, VT 05602                                                  yktaurus@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             512 N Mulberry St                                        Mt. Carmel, IL 62863                                                                                                                tumoffice512@gmail.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Graham Nelson Stanley                              615 Viano St                                                  P.O. Box 228                        Pt Pleasant, WV 25550             tumcoffice@suddenlinkmaic.com       Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Treasurer, Trinity United Methodist Church         612 Farmington Falls Rd                                       Farmington, ME 04938‐6440                                             tumcfarmington@gmail.com            Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Pastor Emily Walker                                409 Wilson St                                                 Paris, TN 38242                                                       tumc@trinityumc.us                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Sr Pastor Trinity Umc                              705 W Patrick St                                              Frederick, MD 21701‐4029                                              tumc@trinityfredrick.org            Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Treasurer                                          3610 S 4400 W                                                 W Valley City, UT 84120                                               trinitywestvalleycity@gmail.com     Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: David Smith                                        373 Pocahontas Ave                                            Ronceverte, WV 24970                                                  trinityumc_ronceverte@hotmail.com   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Steven Mulligan/Trustee                            2406 10th Ave                                                 Parkersburg, WV 26101                                                 trinityumc@cascable.net             Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Tumc Treasurer                                     211 N 2nd Ave                                                 Purcell, OK 73080                                                     trinitypurcell@yahoo.com            Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Carolyn M Ruble                                    401 College Ave                                               Bluefield, WV 24701‐4642                                              trinitybluefield@frontiernet.net    Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Nancy Ellen Lott                                   235 Lark St                                                   Albany, NY 12210                                                      trinityalbanyny@gmail.com           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Treasurer Trinity United Methodist Church          235 Lark St                                                   Albany, NY 12210                                                      trinityalbanyny@gmail.com           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Treasurer                                          2330 Plank Rd                                                 Keokuk, IA 52632                                                      treasurer@trinitykeokuk.org         Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Terry Maloy                                        6363 196th St                                                 Albia, IA 52531                                                       tmaloy@aol.com                      Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Susan Garner                                       1101 N Mississippi St                                         Little Rock, AR 72207                                                 susan@tumclr.org                    Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Linda Merry, Treasurer                             209 E Nash St                                                 Southport, NC 28461‐3935                                              southporttrinityumc@gmail.com       Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Sungmin Jeon                                             20 W School St                                                Oakland, ME 04963                                                     smj0301@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Cheryl Campbell                                    412 W Main St                                                 Madison, IN 47750                                                     secretary@trinitymadison.org        Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Roger Henry                                        1117 Benton Ave E                                             Albia, IA 52531                                                       revroghen@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Scott Vanmeter                                     107 E Angelica St                                             Rensselaer, IN 47978                                                  rensselaertrinity@emarqmail.com     Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Rene Perez                                         361 Sumner Ave                                                Springfield, MA 01108‐2309                                            reneperez803@gmail.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Mike Potter                                        1738 Galloway Ave                                             Memphis, TN 38112                                                     r.mike.potter@gmail.com             Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Paul Meador Pastor                                 P.O. Box 8 (1313 State Route 143)                             Coeymans Hollow, NY 12046                                             paul.meador@nyac‐umc.com            Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Wendy Hardin Hermann                               223 N Emerson St                                              Mt Prospect, IL 60056                                                 pastorwendy@trinitymp.org           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Scott Hohn                                         403 Racetrack Rd Nw                                           Fort Walton Beach, FL 32547                                           pastor@trinityfwb.org               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Penny Ford                                         729 Paul W Bryant Dr                                          Tuscaloosa, AL 35401                                                  office@trinityumc.info              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Bob Breslin                                        13700 Schaeffer Rd                                            Germantown, MD 20874                                                  office@trinity‐germantown.org       Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Elizabeth Williams, Treasurer                      1300 West St                                                  Annapolis, MD 21401                                                   office@trinityannapolis.org         Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Iolene Powell                                      24 S Mulberry St                                              Chillicothe, OH 45601‐3325                                            office@movementonmain.org           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Treasurer                                          24 S Mulberry St                                              Chillicothe, OH 45601‐3325                                            office@movementonmain.org           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Office Administrator                               6800 Wurzback Rd                                              San Antonio, TX 78240                                                 ofcadmin@turncsa.net                Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Nancy L Mayr                                       4307 Keith Ln                                                 Chico, CA 95973                                                       nmayr@snowcrest.net                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: John Merkel                                        945 Anderson St                                               Sumter, SC 29153                                                      merkeljohn@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Crystal Tibbs                                      16069 State Hwy 34                                            Piedmont, MO 63957                                                    mail@umctrinity.org                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Lisa A Bell                                        19319 Ranworth Dr                                             Germantown, MD 20874                                                  lisaannettebell@gmail.com           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Treasurer                                          1000 Woodward Ave                                             Ruston, LA 71270                                                      kima@trinityruston.org              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: John R Gerlach                                     180 Park Ave                                                  Windsor, CT 06095‐3343                                                jgerlach316@gmail.com               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             180 Park Ave                                             Windsor, CT 06095‐3343                                                                                                              jgerlach316@gmail.com               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Leona N Tichenor                                   301 Fairbanks                                                 Joliet, IL 60432                                                      ingallsparkumc@sbcglobal.net        Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Trustee Chairperson, Trinity United Methodist Ch   1302 S Clark Rd                                               Duncanville, TX 75137                                                 info@tumcd.org                      Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Rev Susan Roehs                                    609 W Putnam St                                               Fort Wayne, IN 46808                                                  execpastor@trinityumcfw.org         Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Business Secretary                                 1310 N Main                                                   Lapeer, MI 48446                                                      dwwenzel@chartermi.net              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Rev David M Jolly                                  113 Bay St                                                    Bronx, NY 10464                                                       david.jolly@nyac‐umc.com            Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Chris Swiser Registered Agent                      1430 Ellis Blvd Nw                                            Cedar Rapids, IA 52405                                                crstjamesumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Pamela Cunningham                                  5613 Western Ave                                              Knoxville, TN 37921                                                   contact@knoxtrinity.org             Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Nancy L Mayr                                       285 E 5th St                                                  Chico, CA 95928                                                       chicotrinity@yahoo.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Brenda Hennessee                                   607 Airport Rd Sw                                             Huntsville, AL 35802                                                  brenda.hennessee@trinityhsv.org     Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Bill Pike                                          903 Forest Ave                                                Richmond, VA 23229‐6633                                               bpike@trinityumc.net                Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Beverly Robie                                      16760 Carter Rd                                               Bowling Green, OH 43402                                               bev.robie@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             200 N Summit St                                          Bowling Green, OH 43402                                                                                                             bev.robie@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Billieanne Kennedy Trustee Chair Trinity Umc       1820 Broadway St                                              Denver, CO 80202                                                      basmile@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Treasurer                                          424 Smith St                                                  Algonac, MI 48001                                                     3UMCTrinity@att.net                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Joseph James                                       226 W Liberty St                                              Sumter, SC 29150‐5116                                                                                     First Class Mail
Voting Party                   Trinity United Methodist Church                             Attn: Evans Crosby Jackson                               850 Mcallister St                                             Greenville, MS 38701                                                                                      First Class Mail
Voting Party                   Trinity United Methodist Church                             821 S Gordon Rd                                          Austell, GA 30168                                                                                                                                                       First Class Mail
Voting Party                   Trinity United Methodist Church                             430 Eunice                                               El Dorado, KS 67042                                                                                                                                                     First Class Mail
Voting Party                   Trinity United Methodist Church                             5700 Broadway                                            Great Bend, KS 67530                                                                                                                                                    First Class Mail
Voting Party                   Trinity United Methodist Church                             715 Cornelia Ave                                         Lakeland, FL 33815                                                                                                                                                      First Class Mail
Voting Party                   Trinity United Methodist Church                             20 N Shore Rd                                            Marmora, NJ 08223‐1432                                                                                                                                                  First Class Mail
Voting Party                   Trinity United Methodist Church                             100 S 2nd St                                             Millville, NJ 08332‐4204                                                                                                                                                First Class Mail
Voting Party                   Trinity United Methodist Church                             630 N Cedar St                                           Ottawa, KS 66067                                                                                                                                                        First Class Mail
Voting Party                   Trinity United Methodist Church                             75 S Broadway                                            Pennsville, NJ 08070‐2049                                                                                                                                               First Class Mail
Voting Party                   Trinity United Methodist Church                             112 High St                                              Salisbury, MD 21801                                                                                                                                                     First Class Mail
Voting Party                   Trinity United Methodist Church                             120 W Park Ave                                           Tallahassee, FL 32301                                                                                                                                                   First Class Mail
Voting Party                   Trinity United Methodist Church                             7117 Ventnor Ave                                         Ventnor City, NJ 08406‐1924                                                                                                                                             First Class Mail
Voting Party                   Trinity United Methodist Church ‐ Chesapeake City           c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church ‐ Gainesville               c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church ‐ Gainesville               4000 NW 53rd Ave                                         Gainesville, FL 32653                                                                                                                                                   First Class Mail
Voting Party                   Trinity United Methodist Church ‐ Lighthouse Point          c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church ‐ Lighthouse Point          3901 NE 22nd Ave                                         Lighthouse Pt, FL 33064                                                                                                                                                 First Class Mail
Voting Party                   Trinity United Methodist Church ‐ Loveland, Co              Attn: Bryson Lillie                                      363 Morgan Dr                                                 Loveland, CO 80537                                                    reverendbpl@gmail.com               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church ‐ Palatka                   c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church ‐ Palatka                   1400 Husson Ave                                          Palatka, FL 32177                                                                                                                                                       First Class Mail
Voting Party                   Trinity United Methodist Church ‐ Salina                    c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200            Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church ‐ Salina                    901 E Neal                                               Salina, KS 67401                                                                                                                                                        First Class Mail
Voting Party                   Trinity United Methodist Church (02640)                     c/o Benetz Law Firm                                      Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church (02640)                     c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church (100463)                    c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church (100554)                    c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church (102757)                    c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church (177205)                    c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church (181526)                    c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church (182452)                    c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity United Methodist Church (188061)                    c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228                                                  First Class Mail
Voting Party                   Trinity United Methodist Church (4750)                      c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200          Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                               Page 408 of 442
                                                                                    Case 20-10343-LSS                                                  Doc 8171                                    Filed 01/06/22                                                 Page 424 of 457
                                                                                                                                                                                      Exhibit B
                                                                                                                                                                                       Service List
                                                                                                                                                                                Served as set forth below

        Description                                                         Name                                                                                                    Address                                                                                                       Email                  Method of Service
Voting Party                   Trinity United Methodist Church (85801)                        c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church (86428)                        c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church (87888)                        c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church (89080)                        c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church (96804)                        c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church (98745)                        c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church (Az)                           c/o Clarke Law Firm, Plc                           Attn: Marilee Miller Clarke                              8141 E Indian Bend Rd, Ste 105   Scottsdale, AZ 85250             marilee@clarkelawaz.ccom          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church (Martinsburg, WV)              Attn: Ashley Albright                              220 West Martin St                                       Martinsburg, WV 25401                                             umctrinity@comcast.net            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church 606 Turner Mccall Blvd         c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church An Illinois Religious Corp     Attn: William A Alexander                          114 N Benton Rd                                          West Frankfort, IL 62896                                          bjalexalexander@gmail.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church An Illinois Religious Corp     Attn: Joey Dunning, Pastor                         304 N Sunny Slope                                        West Frankfort, IL 62896                                          bjalexalexander@gmail.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Denton Texas                   Attn: Trustees Chair ‐ Mark Vennerholm             633 Hobson Ln                                            Denton, TX 76205                                                  m23vennerholm@gmail.com           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Jacksonville, Nc               Attn: Rev Stephen Smith Pastor                     301 Marine Blvd                                          Jacksonville, NC 28540‐6512                                                                         First Class Mail
Voting Party                   Trinity United Methodist Church Lomira                         Attn: Rom Pegram                                   300 Church St                                            Lomira, WI 53048                                                  churchofficetumc@gmail.com        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Merchantville                  c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Merchantville                  36 W Maple Ave                                     Merchantville, NJ 08109‐5142                                                                                                                                 First Class Mail
Voting Party                   Trinity United Methodist Church Of Andrews, Inc                Attn: Rev Jeff Roper                               207 S Rosemary Ave                                       Andrews, SC 29510                                                 djroper@umcsc.org                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Bennettsville, Inc          Attn: Michael Toms                                 1050 Hwy 38 S                                            Bennettsville, SC 29512                                           tomslegion1@aol.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Bennettsville, Inc          Attn: Michael Toms                                 1578 Hwy 38 N                                            Bennettsville, SC 29512                                           tomslegion1@aol.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Blythewood South Carolina   Attn: Scott W Smoak                                90 Boney Rd                                              Blythewood, SC 29016                                              swsmoak@umcsc.org                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Blythewood South Carolina   Attn: Ed Farnell                                   440 Langford Rd                                          Blythewood, SC 29016                                              eafarnell@gmail.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church of Christ of Watsontown, PA    Address Redacted                                                                                                                                                              Email Address Redacted            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Denver Pa                   Attn: Mike Roney                                   420 Main St                                              Denver, PA 17517                                                  shooter50@farfieldsystems.com     Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Elkhart In, Inc             Attn: Bruce Nowlin, Dir of Ministry Operations     2715 E Jackson Blvd                                      Elkhart, IN 46516                                                 bruce@trinityonjackson.org        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Evansville                  Attn: Todd Gile                                    216 SE 3rd St                                            Evansville, IN 47713                                              tgile40@mac.com                   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Fountain Inn                Attn: Ashley Case                                  403 S Weston St                                          Fountain Inn, SC 29644                                            murray.snow@fitumc.org            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Grand Rapids, MI            Attn: Betsy Weems                                  1100 Lake Dr Se                                          Grand Rapids, MI 49506                                            trdickinson@outlook.com           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Greeneville, Tennessee      Attn: Thomas J Garland Jr                          P.O. Box 1060                                            Greeneville, TN 37745                                             tgarland@milligancoleman.com      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Gulfport, Inc               Attn: Board of Trustees                            5007 Lawson Ave                                          Gulfport, MS 39507                                                office@trinityumc.com             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Hackettstown                c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Hackettstown                213 Main St                                        Hackettstown, NJ 07840‐2019                                                                                                                                  First Class Mail
Voting Party                   Trinity United Methodist Church Of Lapel, Inc                  Attn: Treasurer                                    217 E 7th St                                             P.O. Box 606                     Lapel, IN 46051                  treasurer@trinity‐tlc.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church of Lincoln                     c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Los Osos, CA                Attn: Trustees Chair                               490 Los Osos Valley Rd                                   Los Osos, CA 93402                                                church@trinitylososos.org         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Loveland, Colorado          Attn: Treasurer, Trinity Umc                       801 N Cleveland Ave                                      Loveland, CO 80537                                                pastor@tumc‐loveland.org          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Moberly                     Attn: Larry Berneking Or Current Trustee Chair     P.O. Box 9                                               Moberly, MO 65270                                                                                   First Class Mail
Voting Party                   Trinity United Methodist Church Of Ontario Ca                  c/o East District Union of the Umc                 Attn: John Dandurand                                     918 N Euclid Ave                 Ontario, CA 91762                eastdistrict@calpacumc.org        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Orangeburg South Carolina   Patricia B Lott                                    185 Blvd St Ne                                           Orangeburg, SC 29115                                              lott6813@carolina.rr.com          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Orangeburg South Carolina   Attn: Patricia B Lott                              755 Five Chop Rd                                         Orangeburg, SC 29115                                              lott6813@carolina.rr.com          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Palm Beach Gardens          c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Palm Beach Gardens          9625 N Military Trail                              Palm Beach Garden, FL 33410                                                                                                                                  First Class Mail
Voting Party                   Trinity United Methodist Church Of Pomona                      Attn: Nancy A Williams                             P.O. Box 2942                                            Pomona, CA 91769                                                  churchtumc@verizon.net            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Pooler                      Attn: Candace Kosloske                             320 Benton Dr                                            Pooler, GA 31322                                                  info@trinitypooler.org            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Portland In                 Robert Earl Franks, Jr                             589 W 500 North                                          Bryant, IN 47326                                                  franksrobert42@gmail.com          Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Portland In                 Attn: Trustees, Trinity Umc                        P.O. Box 1264                                            323 S Meridian St                Portland, IN 47371               admin@trinityumcportland.org      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Spartanburg, Sc, Inc        Attn: Lewis Cole                                   626 Norwood St                                           Spartanburg, SC 29302‐2040                                        tumcspbg@gmail.com                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of Whitter                     c/o East District Union of the Umc                 Attn: John Dandurand                                     918 N Euclid Ave                 Ontario, CA 91762                eastdistrict@calpacumc.org        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Of York, Inc                   Attn: Rev Nellie G Cloninger                       22 E Liberty St                                          York, SC 29745                                                    ngcloninger@umcsc.org             Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Roseville                      Attn: Stephen Euper                                18303 Common Rd                                          Roseville, MI 48066                                               rosevilletrinity@gmail.com        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Warner Robins                  Attn: Treasurer                                    129 S Houston Rd                                         Warner Robins, GA 31088                                           jeff@trinitywr.org                Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church White Plains NY                Attn: Elroy Fields                                 130 S Lexington Ave                                      White Plains, NY 10606                                            TrinityUMCWhitePlains@gmail.com   Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church Wilton Ny                      Attn: Trustee Chair, Trinity Umc Wilton            155 Ballard Rd                                           Gansevoort, NY 12831                                              trinityumc155@yahoo.com           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church, Anderson, Inc                 Attn: David Ford                                   1809 N Main St                                           Anderson, SC 29621                                                davidtumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church, Athens, Tn Trustees Chair     Attn: John Dexter Hagaman                          101 E College St                                         Athens, TN 37303                                                                                    First Class Mail
Voting Party                   Trinity United Methodist Church, Bend Ks                       c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradely.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church, Fairmont, Nc                  Attn: Treasurer                                    307 Trinity St                                           Fairmont, NC 28340‐1639                                           wblennon3@gmail.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church, Hartford City, Indiana        Attn: Treasurer, Trinity United Methodist Church   303 N Walnut St                                          Hartford City, IN 47348                                           office@trinityumchc.com           Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church, Hutchinson                    c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church, Hutchinson                    1602 N Main St                                     Hutchinson, KS 67501‐4008                                                                                                                                    First Class Mail
Voting Party                   Trinity United Methodist Church, Inc                           Attn: Frank Cederquist, Trustee                    509 North St                                             Lafayette, IN 47901                                               info@trinitylafayette.org         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church, Joliet                        Trinity United Methodist Church                    303 Fairbanks                                            Joliet, IL 60432                                                  ingallsparkumc@sbcglobal.net      Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church, Madison                       1123 Vilas Ave                                     Madison, WI 53715                                                                                                          trinitychurchmadison@gmail.com    Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church, Mt Prospect                   Mt Prospect: Trinity                               605 W Golf Rd                                            Mt Prospect, IL 60056                                             pastorwendy@trinitymp.org         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church, Rose City, Mi 48654           Trinity United Methodist Church, Treasurer         P.O. Box 130                                             125 W Main St                    Rose City, MI 48654              tumcjay52@gmail.com               Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church, Waverly                       Attn: Business Manager                             1400 W Bremer Ave                                        Waverly, IA 50677                                                 tumcbusmgr@gmail.com              Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity United Methodist Church‐Hudson, Ny                     Attn: Kenneth W Coddington Jr                      555 Joslen Blvd                                          Hudson, NY 12534                                                  trinityhudson1@hotmail.com        Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Trinity United Methodist Mens Club                             Pathway To Adventure 456                           605 W Golf Rd                                            Mt Prospect, IL 60056‐4210                                                                          First Class Mail
Chartered Organization         Trinity United Methodist Men‐Trinity                           Garden State Council 690                           36 W Maple Ave                                           Merchantville, NJ 08109‐5142                                                                        First Class Mail
Voting Party                   Trinity United Methodist Parish                                Attn: Lisa Bonita                                  1 Owens Rd                                               Newburgh, NY 12550                                                trinitynewburgh@gmail.com         Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Trinity Untied Methodist Church (4750)                         c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Trinity Utd Church Of Christ                                   Great Trail 433                                    915 N Main St                                            Akron, OH 44310‐2125                                                                                First Class Mail
Chartered Organization         Trinity Utd Church Of Christ                                   Greater St Louis Area Council 312                  47 N Douglas Ave                                         Belleville, IL 62220‐3927                                                                           First Class Mail
Chartered Organization         Trinity Utd Church Of Christ                                   Minsi Trails Council 502                           81 E North St                                            Bethlehem, PA 18018‐4026                                                                            First Class Mail
Chartered Organization         Trinity Utd Church Of Christ                                   Potawatomi Area Council 651                        4435 N Calhoun Rd                                        Brookfield, WI 53005‐1335                                                                           First Class Mail
Chartered Organization         Trinity Utd Church Of Christ                                   Pennsylvania Dutch Council 524                     2340 State St                                            East Petersburg, PA 17520‐1247                                                                      First Class Mail
Chartered Organization         Trinity Utd Church Of Christ                                   New Birth of Freedom 544                           60 E High St                                             Gettysburg, PA 17325‐2319                                                                           First Class Mail
Chartered Organization         Trinity Utd Church Of Christ                                   Black Swamp Area Council 449                       8919 S State Route 53                                    Mc Cutchenville, OH 44844                                                                           First Class Mail
Chartered Organization         Trinity Utd Church Of Christ                                   Buffalo Trace 156                                  505 Mulberry St                                          Mt Vernon, IN 47620‐1939                                                                            First Class Mail
Chartered Organization         Trinity Utd Church Of Christ                                   Pennsylvania Dutch Council 524                     40 W Pine St                                             Palmyra, PA 17078‐2349                                                                              First Class Mail
Chartered Organization         Trinity Utd Church Of Christ                                   Cradle of Liberty Council 525                      101 S Main St                                            Telford, PA 18969‐1887                                                                              First Class Mail
Chartered Organization         Trinity Utd Church Of Christ                                   Susquehanna Council 533                            602 Main St                                              Watsontown, PA 17777‐1512                                                                           First Class Mail
Chartered Organization         Trinity Utd Church Of Christ                                   Mason Dixon Council 221                            30 W North St                                            Waynesboro, PA 17268‐1257                                                                           First Class Mail
Chartered Organization         Trinity Utd Church Of Christ ‐ Canton                          Buckeye Council 436                                3909 Blackburn Rd Nw                                     Canton, OH 44718‐3213                                                                               First Class Mail
Chartered Organization         Trinity Utd Methodist                                          Longhorn Council 662                               1200 W Green Oaks Blvd                                   Arlington, TX 76013‐8301                                                                            First Class Mail
Chartered Organization         Trinity Utd Methodist                                          Blue Ridge Council 551                             403 S Weston St                                          Fountain Inn, SC 29644                                                                              First Class Mail
Chartered Organization         Trinity Utd Methodist                                          Greater Alabama Council 001                        771 6th St S                                             Sylvania, AL 35988‐2537                                                                             First Class Mail
Chartered Organization         Trinity Utd Methodist Ch Mens Club                             Middle Tennessee Council 560                       2303 Jones Blvd                                          Murfreesboro, TN 37129‐1412                                                                         First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Southwest Florida Council 088                      304 E Oak St                                             Arcadia, FL 34266‐4624                                                                              First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Daniel Boone Council 414                           587 Haywood Rd                                           Asheville, NC 28806‐3553                                                                            First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Great Smoky Mountain Council 557                   100 E College St                                         Athens, TN 37303‐3602                                                                               First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Del Mar Va 081                                     P.O. Box 196                                             Chesapeake City, MD 21915‐0196                                                                      First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Chippewa Valley Council 637                        201 W Central St                                         Chippewa Falls, WI 54729‐2335                                                                       First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Simon Kenton Council 441                           1581 Cambridge Blvd                                      Columbus, OH 43212‐2713                                                                             First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Columbia‐Montour 504                               84 Lombard Ave                                           Danville, PA 17821‐8685                                                                             First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Central Florida Council 083                        306 W Wisconsin Ave                                      Deland, FL 32720‐4133                                                                               First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Quivira Council, Bsa 198                           430 Eunice St                                            El Dorado, KS 67042‐3338                                                                            First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Bay‐Lakes Council 635                              363 S Main St                                            Fond Du Lac, WI 54935‐4949                                                                          First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Mid‐America Council 326                            838 N 25th St M                                          Fort Dodge, IA 50501‐2849                                                                           First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Middle Tennessee Council 560                       2084 Wilson Pike                                         Franklin, TN 37067‐7502                                                                             First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   National Capital Area Council 082                  703 W Patrick St                                         Frederick, MD 21701‐4029                                                                            First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Piedmont Council 420                               1513 Florida St                                          Gastonia, NC 28052‐0704                                                                             First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   National Capital Area Council 082                  13400 Shaffer Rd                                         Germantown, MD 20874                                                                                First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Erie Shores Council 460                            200 E Madison St                                         Gibsonburg, OH 43431‐1404                                                                           First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Mountaineer Area 615                               112 E Main St                                            Glenville, WV 26351‐1117                                                                            First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Greater Niagara Frontier Council 380               2110 Whitehaven Rd                                       Grand Island, NY 14072‐2089                                                                         First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Quivira Council, Bsa 198                           5700 Broadway Ave                                        Great Bend, KS 67530‐3122                                                                           First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Sequoyah Council 713                               524 Tusculum Blvd                                        Greeneville, TN 37745‐3939                                                                          First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Simon Kenton Council 441                           4850 Haughn Rd                                           Grove City, OH 43123‐8574                                                                           First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Greater Alabama Council 001                        1400 Oxmoor Rd                                           Homewood, AL 35209‐3906                                                                             First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   New Birth of Freedom 544                           210 W Main St                                            Hummelstown, PA 17036‐1419                                                                          First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   East Carolina Council 426                          301 N Marine Blvd                                        Jacksonville, NC 28540‐6512                                                                         First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Susquehanna Council 533                            1407 Allegheny St                                        Jersey Shore, PA 17740‐1115                                                                         First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Central N Carolina Council 416                     416 E 1st St                                             Kannapolis, NC 28083‐4597                                                                           First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Great Salt Lake Council 590                        4290 W 5415 S                                            Kearns, UT 84118‐4321                                                                               First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   United Methodist Men                               725 W Dalton Rd                                          King, NC 27021‐7859                                                                                 First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Hudson Valley Council 374                          8 S Cross Rd                                             Lagrangeville, NY 12540‐5702                                                                        First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Cornhusker Council 324                             7130 Kentwell Ln                                         Lincoln, NE 68516‐6569                                                                              First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Garden State Council 690                           20 Route US 9 N                                          Marmora, NJ 08223‐1432                                                                              First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Dan Beard Council, Bsa 438                         5767 Pleasant Hill Rd                                    Milford, OH 45150‐2595                                                                              First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Buffalo Trace 156                                  518 N Mulberry St                                        Mt Carmel, IL 62863‐2044                                                                            First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Buckeye Council 436                                75 E High St                                             Mt Gilead, OH 43338‐1400                                                                            First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Garden State Council 690                           284 Cedar Rd                                             Mullica Hill, NJ 08062‐2504                                                                         First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Crossroads of America 160                          500 S Mulberry St                                        Muncie, IN 47305‐2446                                                                               First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Middle Tennessee Council 560                       2023 Jones Blvd                                          Murfreesboro, TN 37129                                                                              First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Lincoln Heritage Council 205                       2796 Charlestown Rd                                      New Albany, IN 47150‐1987                                                                           First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   New Birth of Freedom 544                           421 Bridge St                                            New Cumberland, PA 17070                                                                            First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Chattahoochee Council 091                          800 2nd Ave                                              Opelika, AL 36801‐4336                                                                              First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Indian Waters Council 553                          185 Blvd St                                              Orangeburg, SC 29115‐6042                                                                           First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Orrville                                           1556 Rex Dr                                              Orrville, OH 44667‐1139                                                                             First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                   Water and Woods Council 782                        720 S Shiawassee St                                      Owosso, MI 48867‐3451                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                       Page 409 of 442
                                                                                   Case 20-10343-LSS                                         Doc 8171                                        Filed 01/06/22                                                      Page 425 of 457
                                                                                                                                                                                Exhibit B
                                                                                                                                                                                 Service List
                                                                                                                                                                          Served as set forth below

        Description                                                         Name                                                                                              Address                                                                                                              Email               Method of Service
Chartered Organization         Trinity Utd Methodist Church                                    Gulf Stream Council 085                  9625 N Military Trl                                         Palm Beach Gardens, FL 33410‐5498                                                                       First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Garden State Council 690                 P.O. Box 171                                                Pennsville, NJ 08070‐0171                                                                               First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Simon Kenton Council 441                 6389 Blacklick Eastern Rd                                   Pickerington, OH 43147‐9267                                                                             First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Lasalle Council 165                      425 S Michigan St                                           Plymouth, IN 46563‐2719                                                                                 First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Buckskin 617                             615 Viand St                                                Point Pleasant, WV 25550‐1127                                                                           First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Allegheny Highlands Council 382          307 N Main St                                               Port Allegany, PA 16743‐1123                                                                            First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Erie Shores Council 460                  135 Adams St                                                Port Clinton, OH 43452‐1132                                                                             First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Tukabatchee Area Council 005             610 Fairview Ave                                            Prattville, AL 36066‐5214                                                                               First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    National Capital Area Council 082        90 Church St                                                Prince Frederick, MD 20678‐4172                                                                         First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Cape Fear Council 425                    204 E 3rd Ave                                               Red Springs, NC 28377‐1431                                                                              First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Laurel Highlands Council 527             434 E Main St                                               Roaring Spring, PA 16673‐1304                                                                           First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Coronado Area Council 192                901 E Neal Ave                                              Salina, KS 67401‐7731                                                                                   First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Great Salt Lake Council 590              P.O. Box 701289                                             Salt Lake City, UT 84170‐1289                                                                           First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Chief Seattle Council 609                100 S Blake Ave                                             Sequim, WA 98382‐3526                                                                                   First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Silicon Valley Monterey Bay 055          581 E Fremont Ave                                           Sunnyvale, CA 94087‐2743                                                                                First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Greater Alabama Council 001              808 East St S                                               Talladega, AL 35160                                                                                     First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Central N Carolina Council 416           234 N Russell St                                            Troy, NC 27371‐3030                                                                                     First Class Mail
Chartered Organization         Trinity Utd Methodist Church                                    Greater Tampa Bay Area 089               33425 State Rd 54                                           Wesley Chapel, FL 33543‐9169                                                                            First Class Mail
Chartered Organization         Trinity Utd Methodist Men                                       National Capital Area Council 082        1205 Dolley Madison Blvd                                    Mclean, VA 22101‐3019                                                                                   First Class Mail
Chartered Organization         Trinity Utd Methodist Men's                                     305 E 4th St                             Kimball, NE 69145                                                                                                                                                   First Class Mail
Chartered Organization         Trinity Utd Presbyterian Church                                 Cradle of Liberty Council 525            360 N Oak Ave                                               Clifton Heights, PA 19018‐1102                                                                          First Class Mail
Chartered Organization         Trinity Utd Presbyterian Church                                 Heart of America Council 307             1400 W Sheley Rd                                            Independence, MO 64052‐3166                                                                             First Class Mail
Chartered Organization         Trinity Utd Presbyterian Church                                 Orange County Council 039                13922 Prospect Ave                                          Santa Ana, CA 92705‐2691                                                                                First Class Mail
Chartered Organization         Trinity Wesleyan Church                                         Andrew Jackson Council 303               6950 S Siwell Rd                                            Byram, MS 39272‐8708                                                                                    First Class Mail
Chartered Organization         Trinity%                                                        Crossroads of America 160                303 N Walnut St                                             Hartford City, IN 47348‐2028                                                                            First Class Mail
Voting Party                   Trinity‐By‐The‐Cove Episcopal Church                            Attn: Carrie Drew, Parish Admin          553 Galleon Dr                                              Naples, FL 34102                                                       egleason@trinitybythecove.com    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trinity‐First Umc Of El Paso                                    c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Trinty Lutheran Church                                          Simon Kenton Council 441                 135 E Mound St                                              Circleville, OH 43113‐1701                                                                              First Class Mail
Chartered Organization         Tristans Acceleration Academy                                   North Florida Council 087                1039 Bains Lake Dr                                          Jacksonville, FL 32218‐8323                                                                             First Class Mail
Chartered Organization         Trisum Sailing Llg                                              Alamo Area Council 583                   1 Boerne Lake Rd                                            Boerne, TX 78006                                                                                        First Class Mail
Chartered Organization         Tri‐Town Fire Dept                                              Allegheny Highlands Council 382          P.O. Box 277                                                Ulysses, PA 16948‐0277                                                                                  First Class Mail
Chartered Organization         Tritt Elementary School                                         Atlanta Area Council 092                 4435 Post Oak Tritt Rd                                      Marietta, GA 30062‐5622                                                                                 First Class Mail
Chartered Organization         Triumph Academy Pto                                             Southern Shores Fsc 783                  3000 Vivian Rd                                              Monroe, MI 48162‐8600                                                                                   First Class Mail
Chartered Organization         Triumph Baptist Church                                          Cradle of Liberty Council 525            1648‐52 W Hunting Park Ave                                  Philadelphia, PA 19140                                                                                  First Class Mail
Voting Party                   Triumph Umc                                                     Attn: Sandra Smith                       759 N 3906th Rd                                             Triumph, IL 61371                                                      sandrasmnth@aol.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Trivalley VFW Post 8449                                         Denver Area Council 061                  P.O. Box 327                                                Bennett, CO 80102‐0327                                                                                  First Class Mail
Voting Party                   Trona Umc                                                       Attn: David Burgeson                     9003 Reseda Blvd 206                                        Northridge, CA 91324                                                                                    First Class Mail
Chartered Organization         Trondhjem Lutheran Church                                       Northern Star Council 250                7525 Garfield Ave                                           Lonsdale, MN 55046‐3410                                                                                 First Class Mail
Chartered Organization         Troop 10 Committee                                              President Gerald R Ford 781              7018 Putney Rd                                              Arcadia, MI 49613‐9600                                                                                  First Class Mail
Chartered Organization         Troop 101 Foundation                                            Longs Peak Council 062                   2614 Van Lennen Ave                                         Cheyenne, WY 82001‐2844                                                                                 First Class Mail
Chartered Organization         Troop 12, Inc                                                   Greater Tampa Bay Area 089               P.O. Box 7                                                  Lutz, FL 33548‐0007                                                                                     First Class Mail
Chartered Organization         Troop 133 Committee                                             Cradle of Liberty Council 525            7016 Windswept Ln                                           Jeffersonville, PA 19403‐1386                                                                           First Class Mail
Voting Party                   Troop 138, Andrew Jackson Council 303, Bsa                      Attn: Conrad Mord, Attorney At Law       P.O. Drawer 311                                             Tylertown, MS 39667                                                    conrad@mordlawfirm.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Troop 1692 Parents Committee                                    Heart of America Council 307             912 W Ryan Rd                                               Grain Valley, MO 64029‐9113                                                                             First Class Mail
Chartered Organization         Troop 17 Activities Committee, Inc                              Greater New York Councils, Bsa 640       4925 87th St                                                Elmhurst, NY 11373‐3941                                                                                 First Class Mail
Chartered Organization         Troop 175 ‐ Midland, Texas, Inc                                 Buffalo Trail Council 567                P.O. Box 5381                                               Midland, TX 79704‐5381                                                                                  First Class Mail
Chartered Organization         Troop 219 Parents Club                                          Mt Diablo‐Silverado Council 023          3844 Happy Valley Rd                                        Lafayette, CA 94549‐2425                                                                                First Class Mail
Chartered Organization         Troop 24, Inc                                                   Colonial Virginia Council 595            38411 Rocky Hock Rd                                         Wakefield, VA 23888‐2899                                                                                First Class Mail
Chartered Organization         Troop 241 Parent Committee                                      Mt Diablo‐Silverado Council 023          1957 Beacon Ridge Ct                                        Walnut Creek, CA 94597‐2964                                                                             First Class Mail
Chartered Organization         Troop 276 The Mtn Men Leadership Project                        California Inland Empire Council 045     210 Whalers Walk                                            San Pedro, CA 90731‐7276                                                                                First Class Mail
Chartered Organization         Troop 3 Alumni Assoc                                            Cathay Post 384 American Legion          1524 Powell St                                              San Francisco, CA 94133‐3806                                                                            First Class Mail
Chartered Organization         Troop 313, Inc                                                  Ore‐Ida Council 106 ‐ Bsa 106            2680 S Eagle Rd, Ste 150                                    Meridian, ID 83642‐6704                                                                                 First Class Mail
Chartered Organization         Troop 333 Parents Assoc                                         San Francisco Bay Area Council 028       1767 41st Ave                                               San Francisco, CA 94122‐4001                                                                            First Class Mail
Voting Party                   Troop 37 Los Altos                                              Attn: Scott Rotondo                      312 Monroe Dr                                               Mountain View, CA 94040                                                rotondo@gmx.com                  Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Troop 425 Boosters                                              Greater Yosemite Council 059             1100 Sherrie Ct                                             Lathrop, CA 95330‐9337                                                                                  First Class Mail
Chartered Organization         Troop 43 Alumni Assoc                                           Yocona Area Council 748                  221 Smith Rd                                                Waterford, MS 38685‐9561                                                                                First Class Mail
Chartered Organization         Troop 437, Inc                                                  Circle Ten Council 571                   2205 Molly Ln                                               Plano, TX 75074‐3578                                                                                    First Class Mail
Chartered Organization         Troop 437, Inc                                                  Attn: Hunter Miller                      926 Wedgewood Way                                           Richardson, TX 75080‐4043                                                                               First Class Mail
Chartered Organization         Troop 44 Matunuck Alumni Assoc                                  Narragansett 546                         40 Wild Rose Ct                                             Wakefield, RI 02879‐5480                                                                                First Class Mail
Chartered Organization         Troop 457 Of Greenwood Village,Inc                              Denver Area Council 061                  5625 S Newport St                                           Greenwood Village, CO 80111‐1711                                                                        First Class Mail
Chartered Organization         Troop 565 Friends Of Scouting                                   Denver Area Council 061                  10214 Charissglen Ln                                        Highlands Ranch, CO 80126‐5534                                                                          First Class Mail
Chartered Organization         Troop 692 Parents Committee                                     Heart of America Council 307             2535 NE Springbrook St                                      Blue Springs, MO 64014‐1441                                                                             First Class Mail
Chartered Organization         Troop 692 Parents Committee, Inc                                Heart of America Council 307             912 W Ryan Rd                                               Grain Valley, MO 64029‐9113                                                                             First Class Mail
Chartered Organization         Troop 71 Building Assoc, Inc                                    Monmouth Council, Bsa 347                70 Larkin Pl                                                Oakhurst, NJ 07755                                                                                      First Class Mail
Chartered Organization         Troop 76 Assoc                                                  Pacific Skyline Council 031              1078 Morningside Dr                                         Sunnyvale, CA 94087‐1628                                                                                First Class Mail
Chartered Organization         Troop 874 Trailblazing Parents Assoc                            Mt Diablo‐Silverado Council 023          609 Royal Coach Ct                                          San Ramon, CA 94582‐5644                                                                                First Class Mail
Chartered Organization         Troop One Stow Alumni, Inc                                      Mayflower Council 251                    P.O. Box 75                                                 Stow, MA 01775‐0075                                                                                     First Class Mail
Chartered Organization         Troop Three Forty‐Six Land Co                                   Heart of America Council 307             201 N Spring St                                             Independence, MO 64050‐2822                                                                             First Class Mail
Chartered Organization         Troop/Post Parents Org, Inc                                     Indian Nations Council 488               112 E College St                                            Broken Arrow, OK 74012‐3909                                                                             First Class Mail
Voting Party                   Trophy Club Country Club                                        500 Trophy Club Dr                       Trophy Club, TX 76262‐5417                                                                                                                                          First Class Mail
Voting Party                   Trophy Club Muds                                                100 Municipal Dr                         Trophy Club, TX 76262‐5420                                                                                                                                          First Class Mail
Chartered Organization         Trophy Club Police Dept                                         Longhorn Council 662                     100 Municipal Dr                                            Trophy Club, TX 76262‐5420                                                                              First Class Mail
Chartered Organization         Trotter Elementary School Pto                                   The Spirit of Adventure 227              135 Humboldt Ave                                            Dorchester, MA 02121‐1260                                                                               First Class Mail
Chartered Organization         Troup County Sheriffs Office                                    Chattahoochee Council 091                130 Sam Walker Dr                                           Lagrange, GA 30241‐7999                                                                                 First Class Mail
Chartered Organization         Troup High School Band                                          Chattahoochee Council 091                1920 Hamilton Rd                                            Lagrange, GA 30241‐6016                                                                                 First Class Mail
Chartered Organization         Troutville Church Of The Brethren                               Blue Ridge Mtns Council 599              P.O. Box 156                                                Troutville, VA 24175‐0156                                                                               First Class Mail
Chartered Organization         Trouvaille Investments                                          Denver Area Council 061                  25 W Dry Creek Cr 600                                       Littleton, CO 80120                                                                                     First Class Mail
Chartered Organization         Troy Fire Dept                                                  Great Lakes Fsc 272                      500 W Big Beaver Rd                                         Troy, MI 48084‐5254                                                                                     First Class Mail
Chartered Organization         Troy Fire Station No 2                                          Great Lakes Fsc 272                      5600 Livernois Rd                                           Troy, MI 48098‐3101                                                                                     First Class Mail
Chartered Organization         Troy First Utd Methodist Church                                 Great Lakes Fsc 272                      6363 Livernois Rd                                           Troy, MI 48098‐1568                                                                                     First Class Mail
Chartered Organization         Troy Fish & Game Club                                           Miami Valley Council, Bsa 444            2618 Lefevre Rd                                             Troy, OH 45373‐2020                                                                                     First Class Mail
Chartered Organization         Troy Kiwanis                                                    Greater St Louis Area Council 312        92 Professional Pkwy                                        Troy, MO 63379‐2822                                                                                     First Class Mail
Chartered Organization         Troy Lions Club                                                 Greater St Louis Area Council 312        P.O. Box 238                                                Troy, IL 62294‐0238                                                                                     First Class Mail
Chartered Organization         Troy Nature Society                                             Great Lakes Fsc 272                      P.O. Box 99302                                              Troy, MI 48099‐9302                                                                                     First Class Mail
Chartered Organization         Troy Police Dept                                                Greater St Louis Area Council 312        116 E Market St                                             Troy, IL 62294‐1510                                                                                     First Class Mail
Chartered Organization         Troy School District 30C                                        Rainbow Council 702                      5800 Theodore Dr                                            Plainfield, IL 60586‐5269                                                                               First Class Mail
Chartered Organization         Troy Township Volunteer Fire Dept                               Lake Erie Council 440                    14019 Nash Rd                                               Burton, OH 44021‐9613                                                                                   First Class Mail
Chartered Organization         Troy Township Volunteer Fire Dept                               Erie Shores Council 460                  P.O. Box 275                                                Luckey, OH 43443‐0275                                                                                   First Class Mail
Chartered Organization         Troy United Methodist Church                                    Longhorn Council 662                     P.O. Box 9                                                  Troy, TX 76579‐0009                                                                                     First Class Mail
Chartered Organization         Troy United Methodist Church                                    Longhorn Council 662                     P.O. Box 9                                                  Troy, TX 76579‐0009                                                                                     First Class Mail
Voting Party                   Troy United Methodist Church                                    c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Troy United Methodist Church                                    Attn: Pastor Andy Adams                  407 Edwardsville Rd                                         Troy, IL 62294                                                         andy@troyumc.org                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Troy‐Webster American Legion Post 240                           Erie Shores Council 460                  335 Park Dr                                                 Luckey, OH 43443‐9642                                                                                   First Class Mail
Voting Party                   Trt Development Company                                         c/o Omni Hotels Mgmt Corp                4001 Maple Ave, Ste 600                                     Dallas, TX 75219                                                       kristen.reinsch@omnihotels.com   Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trt Development Company                                         Attn: Wick Phillips                      Attn: Jason Rudd                                            3131 Mckinney Ave, Ste 100          Dallas, TX 75204                   jason.rudd@wickphillips.com      Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Truck Country                                                   Northeast Iowa Council 178               2099 Southpark Ct, Ste 2                                    Dubuque, IA 52003‐8095                                                                                  First Class Mail
Chartered Organization         Truckee Optimist Club                                           Nevada Area Council 329                  P.O. Box 1859                                               Truckee, CA 96160‐1859                                                                                  First Class Mail
Voting Party                   Trucksville United Methodist Church (080320)                    c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200          Pittsburgh, PA 15228               lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Trucksville Utd Methodist Church                                Northeastern Pennsylvania Council 501    40 Knob Hill Rd                                             Trucksville, PA 18708‐9683                                                                              First Class Mail
Voting Party                   Trudegree                                                       223 Bacon St                             Raton, NM 87740‐9758                                                                                                                                                First Class Mail
Chartered Organization         True Bethel Baptist Church                                      Greater Niagara Frontier Council 380     907 E Ferry St                                              Buffalo, NY 14211‐1423                                                                                  First Class Mail
Chartered Organization         True Deliverance Church                                         Chattahoochee Council 091                P.O. Box 57                                                 Auburn, AL 36831‐0057                                                                                   First Class Mail
Chartered Organization         True Life Baptist Church                                        Greater Alabama Council 001              275 Chickasaw Dr                                            Birmingham, AL 35214‐3681                                                                               First Class Mail
Chartered Organization         True Life Community Church                                      Pikes Peak Council 060                   2525 Canada Dr                                              Colorado Springs, CO 80922‐1162                                                                         First Class Mail
Voting Party                   True Light Lutheran Church                                      Attn: Leon K Moy                         195 Worth St                                                New York, NY 10013‐4323                                                lmoy314@earthlink.net            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   True Light Lutheran Church                                      95 Worth St                              New York City, NY 10013                                                                                                            lmoy314@earthlink.net            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         True Love Christian Ministries                                  Atlanta Area Council 092                 2001 Jabco Ct                                               Lithonia, GA 30058‐5368                                                                                 First Class Mail
Chartered Organization         True North                                                      President Gerald R Ford 781              6308 S Warner Ave                                           Fremont, MI 49412‐9279                                                                                  First Class Mail
Chartered Organization         Truelight Baptist Church                                        Pine Burr Area Council 304               804 N Main St                                               Hattiesburg, MS 39401                                                                                   First Class Mail
Chartered Organization         Truman Elementary Pta                                           Last Frontier Council 480                600 Parkside Rd                                             Norman, OK 73072‐4200                                                                                   First Class Mail
Chartered Organization         Truman Fire Dept                                                Twin Valley Council Bsa 283              101 E Ciro St                                               Truman, MN 56088‐2186                                                                                   First Class Mail
Chartered Organization         Truman Medical Center Lakewood                                  Heart of America Council 307             7900 Lees Summit Rd                                         Kansas City, MO 64139‐1236                                                                              First Class Mail
Chartered Organization         Truman Pta                                                      Illowa Council 133                       5506 N Pine St                                              Davenport, IA 52806‐2631                                                                                First Class Mail
Chartered Organization         Truman Pto                                                      Hawkeye Area Council 172                 441 W Post Rd Nw                                            Cedar Rapids, IA 52405‐3243                                                                             First Class Mail
Chartered Organization         Trumann Lions Club                                              Quapaw Area Council 018                  P.O. Box 1                                                  Trumann, AR 72472‐0001                                                                                  First Class Mail
Voting Party                   Trumansburg United Methodist Church                             Attn: Richard A Peterson                 P.O. Box 628                                                80 E Main St                        Trumansburg, NY 14886              agenergy1903@gmail.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Trumbauersville Lions Club                                      Washington Crossing Council 777          P.O. Box 33                                                 Trumbauersville, PA 18970‐0033                                                                          First Class Mail
Chartered Organization         Trumbull Board Of Education                                     Connecticut Yankee Council Bsa 072       6254 Main St                                                Trumbull, CT 06611‐2096                                                                                 First Class Mail
Chartered Organization         Trumbull County Family Court                                    Great Trail 433                          220 Main Ave Sw                                             Warren, OH 44481‐1011                                                                                   First Class Mail
Chartered Organization         Trumbull Family Fitness                                         Great Trail 433                          210 High St Nw                                              Warren, OH 44481‐1007                                                                                   First Class Mail
Chartered Organization         Truong Giang                                                    Silicon Valley Monterey Bay 055          1161 Ringwood Ct, Ste 130                                   San Jose, CA 95131‐1758                                                                                 First Class Mail
Chartered Organization         Truro Church                                                    National Capital Area Council 082        10520 Main St                                               Fairfax, VA 22030‐3304                                                                                  First Class Mail
Chartered Organization         Truro Homes Assoc                                               National Capital Area Council 082        4146 Elizabeth Ln                                           Annandale, VA 22003‐3648                                                                                First Class Mail
Chartered Organization         Trussville Fire & Rescue                                        Greater Alabama Council 001              421 Cherokee Dr                                             Trussville, AL 35173‐1108                                                                               First Class Mail
Chartered Organization         Trussville Parks & Recreation Board                             Greater Alabama Council 001              5381 Trussville Clay Rd                                     Trussville, AL 35173‐1760                                                                               First Class Mail
Voting Party                   Trustees Of First Methodist Church Of Holyoke                   Attn: Peter F Milloy                     74 Pine Grove Dr                                            South Hadley, MA 01075                                                 pmilloy59@gmail.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trustees Of Peninsula Delaware Annual Conference, Inc           c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trustees Of The Catholic Cathedral Church Of Baltimore          Attn: Matthew W Oakey                    218 N Charles St, Ste 400                                   Baltimore, MD 21201                                                    moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trustees Of The Catholic Cathedral Church Of Baltimore          c/o Gallagher Evelius & Jones LLP        Attn: Matthew W Oakey                                       218 N Charles St, Ste 400           Baltimore, MD 21201                moakey@gejlaw.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trustees Of The Diocese Of Mississippi                          A Mississippi Corporation                Attn: James B Ponder                                        P.O. Box 23107                      Jackson, MS 39225‐3107             bponder@dioms.org                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trustees Of The Diocese Of Mississippi                          A Mississippi Corporation                Attn: Marcus M Wilson                                       190 E Capitol St, Ste 650           Jackson, MS 39201                  bponder@dioms.org                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trustees Of The First Presbyterian Church Of Boynton Beach Fl   First Presbyterian Church                235 SW 6th Ave                                              Boynton Beach, FL 33435                                                fpcboynton@aol.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Trustees Of The Protestant Episcopal Church, Diocese De         Attn: The Rev Canon Martha Kirkpatrick   913 Wilson Rd                                               Wilmington, DE 19803                                                   mkirkpatrick@delaware.church     Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Ts Dock And Lift                                                Northern Lights Council 429              1682 Hwy 10 E                                               Detroit Lakes, MN 56501‐4718                                                                            First Class Mail
Chartered Organization         T‐Shirt Express                                                 Lincoln Heritage Council 205             1307 St Augustine Rd                                        Clarkson, KY 42726‐8645                                                                                 First Class Mail
Chartered Organization         T‐Shirt Express                                                 Lincoln Heritage Council 205             117 W Main St                                               Leitchfield, KY 42754‐1149                                                                              First Class Mail
Chartered Organization         Tst Educational And Community Foundation                        Great Lakes Fsc 272                      27349 Everett St                                            Southfield, MI 48076‐3618                                                                               First Class Mail
Chartered Organization         Tt Knight Middle School                                         Lincoln Heritage Council 205             9803 Blue Lick Rd                                           Louisville, KY 40229‐1841                                                                               First Class Mail
Chartered Organization         Tualatin Lions Club                                             Cascade Pacific Council 492              P.O. Box 24                                                 Tualatin, OR 97062‐0024                                                                                 First Class Mail
Voting Party                   Tualatin Plains Presbyterian Church                             Attn: Business & Finance Elder           30685 NW Scotch Church Rd                                   Hillsboro, OR 97124                                                    Office@oldscotchchurch.org       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Tualatin Scouters                                               Cascade Pacific Council 492              16120 SW Cameron Ct                                         Tigard, OR 97223‐0676                                                                                   First Class Mail
Chartered Organization         Tuckahoe Common School                                          Suffolk County Council Inc 404           468 Magee St                                                Southampton, NY 11968‐3217                                                                              First Class Mail
Chartered Organization         Tuckahoe Police Dept                                            Westchester Putnam 388                   65 Main St                                                  Tuckahoe, NY 10707‐2908                                                                                 First Class Mail
Chartered Organization         Tuckahoe Volunteer Fire Co                                      Garden State Council 690                 2170 Nj 50                                                  Woodbine, NJ 08270                                                                                      First Class Mail
Voting Party                   Tuckaleechee United Methodist Church                            Attn: Richard Rudesill                   7322 Old Tuckaleechee Rd                                    Townsend, TN 37882                                                     tuckaleecheeumc@hotmail.com      Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Firm                           Tucker & Miller LLLP                                            Daniel P. J. Miller                      1440 E. Missouri Ave, Ste C 150                             Phoenix, AZ 85014                                                      dmiller@tucker‐miller.com        Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Tucker County Rotary                                            Mountaineer Area 615                     850 William Ave                                             Davis, WV 26260                                                                                         First Class Mail
Voting Party                   Tucker J Volesky                                                356 Dakota Ave S                         Huron, SD 57350                                                                                                                    tucker.volesky@outlook.com       Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Tucker Street Church                                            West Tennessee Area Council 559          454 Tucker St                                               Dyersburg, TN 38024‐3827                                                                                First Class Mail
Chartered Organization         Tuckerman Fire Dept                                             Quapaw Area Council 018                  P.O. Box 779                                                Tuckerman, AR 72473‐0779                                                                                First Class Mail
Chartered Organization         Tuckertown Fire Dept Auxiliary                                  Narragansett 546                         1116 Ministerial Rd                                         Wakefield, RI 02879‐4820                                                                                First Class Mail
Chartered Organization         Tuckness Productions                                            Heart of America Council 307             7534 Twilight Ln                                            Lenexa, KS 66217‐9501                                                                                   First Class Mail
Voting Party                   Tuckston United Methodist Church, Ga                            c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200            Tampa, FL 33602                    erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Tuckston Utd Methodist Church                                   Northeast Georgia Council 101            4175 Lexington Rd                                           Athens, GA 30605‐2521                                                                                   First Class Mail
Chartered Organization         Tucson Az East Stake                                            Catalina Council 011                     6901 E Kenyon Dr                                            Tucson, AZ 85710‐4711                                                                                   First Class Mail
Chartered Organization         Tucson Optimists Club                                           Catalina Council 011                     1914 W Desert Highlands Dr                                  Oro Valley, AZ 85737‐7034                                                                               First Class Mail
Chartered Organization         Tucson Police Dept                                              Catalina Council 011                     270 S Stone Ave                                             Tucson, AZ 85701‐1917                                                                                   First Class Mail
Chartered Organization         Tuesday Study Club                                              Texas Trails Council 561                 1602 Parker St                                              Goldthwaite, TX 76844‐2540                                                                              First Class Mail
Chartered Organization         Tuggle Elementary School Pta                                    Greater Alabama Council 001              412 12th Ct N                                               Birmingham, AL 35204‐2533                                                                               First Class Mail
Voting Party                   Tujunga United Methodist Church                                 Attn: Thomas Kendall, Pastor             9901 Tujunga Canyon Blvd                                    Tujunga, CA 91042                                                      tumcoffice@gmail.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Tukwila Fire Dept                                               Chief Seattle Council 609                444 Andover Park E                                          Tukwila, WA 98188‐7606                                                                                  First Class Mail
Chartered Organization         Tulare County Fire Dept                                         Sequoia Council 027                      1551 E Success Dr                                           Porterville, CA 93257‐5625                                                                              First Class Mail
Chartered Organization         Tulare County Sheriff                                           Sequoia Council 027                      833 S Akers St                                              Visalia, CA 93277‐9528                                                                                  First Class Mail
Chartered Organization         Tulare Fire Dept                                                Sequoia Council 027                      800 S Blackstone St                                         Tulare, CA 93274‐5759                                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                 Page 410 of 442
                                                                                 Case 20-10343-LSS                                      Doc 8171                                      Filed 01/06/22                                                       Page 426 of 457
                                                                                                                                                                         Exhibit B
                                                                                                                                                                          Service List
                                                                                                                                                                   Served as set forth below

        Description                                                       Name                                                                                         Address                                                                                                                 Email                    Method of Service
Chartered Organization         Tulare Noontime Kiwanis                                  Sequoia Council 027                       P.O. Box 505                                               Tulare, CA 93275‐0505                                                                                           First Class Mail
Chartered Organization         Tulare Police Explorers                                  Sequoia Council 027                       260 S M St                                                 Tulare, CA 93274‐4127                                                                                           First Class Mail
Voting Party                   Tulare United Methodist Church                           Attn: Allison Byerley                     228 W Kern                                                 Tulare, CA 93274                                                        adbyerley@gmail.com                     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tulare Utd Methodist Church                              Sequoia Council 027                       228 W Kern Ave                                             Tulare, CA 93274‐3946                                                                                           First Class Mail
Chartered Organization         Tully Elementary School                                  Lincoln Heritage Council 205              3300 College Dr                                            Louisville, KY 40299‐3607                                                                                       First Class Mail
Chartered Organization         Tully Utd Community Church                               Longhouse Council 373                     Meetinghouse Rd                                            Tully, NY 13159                                                                                                 First Class Mail
Chartered Organization         Tulsa 26 Scouts, Inc                                     Indian Nations Council 488                1701 S Newport Ave                                         Tulsa, OK 74120‐6818                                                                                            First Class Mail
Chartered Organization         Tulsa Boys Home                                          Indian Nations Council 488                2727 S 137th West Ave                                      Sand Springs, OK 74063‐5017                                                                                     First Class Mail
Chartered Organization         Tulsa Dream Center                                       Indian Nations Council 488                200 W 46th St N                                            Tulsa, OK 74126‐6675                                                                                            First Class Mail
Chartered Organization         Tulsa Hills Church Of The Nazarene                       Indian Nations Council 488                840 W 81st St                                              Tulsa, OK 74132‐2715                                                                                            First Class Mail
Chartered Organization         Tulsa Legacy Charter School Primary                      Indian Nations Council 488                105 E 63rd St N                                            Tulsa, OK 74126‐1456                                                                                            First Class Mail
Chartered Organization         Tulsa Moose Lodge 862                                    Indian Nations Council 488                11106 E 7th St                                             Tulsa, OK 74128‐1644                                                                                            First Class Mail
Chartered Organization         Tulsa Police Explorers                                   c/o Tulsa Police Academy                  6066 E 66th St N                                           Tulsa, OK 74117‐1811                                                                                            First Class Mail
Chartered Organization         Tulsa Police Explorers                                   c/o Tulsa Police Academy                  6066 E 66th St N                                           Tulsa, OK 74117‐1811                                                                                            First Class Mail
Voting Party                   Tumc                                                     Attn: Karen S Steele                      P.O. Box 98                                                Tonica, IL 61370                                                        tonicaumc3@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Tumwater United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                       erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tumwater Utd Methodist Church                            Pacific Harbors Council, Bsa 612          1401 Lake Park Dr Sw                                       Tumwater, WA 98512‐6916                                                                                         First Class Mail
Firm                           Tune, Entrekin & White, P.C.                             Joseph P. Rusnak                          316 Deaderick Street, Ste 1700                             Nashville, TN 37238                                                     jrusnak@tewlawfirm.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tung D Nguyen, Md                                        National Capital Area Council 082         6404 Seven Corners Pl, Ste K                               Falls Church, VA 22044‐2034                                                                                     First Class Mail
Chartered Organization         Tung D Nguyen, Md                                        National Capital Area Council 082         6404 Seven Corners Pl, Ste K                               Falls Church, VA 22044‐2034                                                                                     First Class Mail
Voting Party                   Tunica County Rotary Club, Inc                           P O Box 2772                              Tunica, MS 38676                                                                                                                                                           First Class Mail
Chartered Organization         Tunica Rotary Club                                       Chickasaw Council 558                     P.O. Box 1914                                              Tunica, MS 38676‐1914                                                                                           First Class Mail
Voting Party                   Tunica United Methodist Church                           Attn: James Erwin                         1043 School St                                             P.O. Box 1226                     Tunica, MS 38676                      tunicaunitedmethodistchurch@yahoo.com   Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tunica Utd Methodist Church                              Chickasaw Council 558                     P.O. Box 1226                                              Tunica, MS 38676‐1226                                                                                           First Class Mail
Voting Party                   Tunkhannock United Methodist Church (40479)              c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228                  lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tunnel Hill Christian Church And Board                   Lincoln Heritage Council 205              5105 Old Georgetown Rd                                     Georgetown, IN 47122‐9134                                                                                       First Class Mail
Voting Party                   Tunnel Hill Umc                                          c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                       erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Tunnel Hill Umc                                          121 N Varnell Rd                          Tunnel Hill, GA 30755                                                                                                                                                      First Class Mail
Chartered Organization         Tunnel Hill United Methodist Church                      Northwest Georgia Council 100             P.O. Box 146                                               Tunnel Hill, GA 30755‐0146                                                                                      First Class Mail
Chartered Organization         Tunnell Companies Lp                                     Del Mar Va 081                            Long Neck Rd                                               Long Neck, DE 19966                                                                                             First Class Mail
Chartered Organization         Tuolumne County Fire Dept                                Greater Yosemite Council 059              19500 Hillsdale Dr                                         Sonora, CA 95370‐9203                                                                                           First Class Mail
Chartered Organization         Tuolumne County Sheriffs Office                          Greater Yosemite Council 059              28 Lower Sunset Dr                                         Sonora, CA 95370‐4942                                                                                           First Class Mail
Chartered Organization         Tuolumne County Sheriffs Posse                           Greater Yosemite Council 059              16999 Columbia River Dr                                    Sonora, CA 95370‐9111                                                                                           First Class Mail
Voting Party                   Turin Umc                                                c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                       erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Turin Utd Methodist Church                               Flint River Council 095                   20 Long St                                                 Turin, GA 30289                                                                                                 First Class Mail
Chartered Organization         Turkey Hill School Pto                                   Connecticut Yankee Council Bsa 072        441 Turkey Hill Rd                                         Orange, CT 06477‐2218                                                                                           First Class Mail
Voting Party                   Turkey Valley United Methodist Church (183525)           c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228                  lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Turlington Elementary School                             Sam Houston Area Council 576              23400 Hegar Rd                                             Hockley, TX 77447‐7600                                                                                          First Class Mail
Chartered Organization         Turlock Police Dept                                      Greater Yosemite Council 059              244 N Broadway                                             Turlock, CA 95380‐4737                                                                                          First Class Mail
Voting Party                   Turnagain United Methodist Church ‐ Anchorage            c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                       erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Turnagain Utd Methodist Church                           Great Alaska Council 610                  3300 W Northern Lights Blvd                                Anchorage, AK 99517                                                                                             First Class Mail
Chartered Organization         Turnbridge Public Charter                                Baltimore Area Council 220                5504 York Rd                                               Baltimore, MD 21212‐3805                                                                                        First Class Mail
Chartered Organization         Turner Chapel A M E Church                               Atlanta Area Council 092                  492 N Marietta Pkwy Ne                                     Marietta, GA 30060‐8031                                                                                         First Class Mail
Chartered Organization         Turner Christian Church                                  Cascade Pacific Council 492               7871 Marion Rd Se                                          Turner, OR 97392‐9810                                                                                           First Class Mail
Chartered Organization         Turner Construction                                      Mid‐America Council 326                   12506 S 50th St                                            Springfield, NE 68059                                                                                           First Class Mail
Chartered Organization         Turner Elementary School                                 Central Florida Council 083               3175 Jupiter Blvd Se                                       Palm Bay, FL 32909‐4106                                                                                         First Class Mail
Chartered Organization         Turner/Lockhart Elementary Pto                           Sam Houston Area Council 576              3200 Rosedale St                                           Houston, TX 77004‐6211                                                                                          First Class Mail
Chartered Organization         Turner‐Barker Insurance Co                               Pine Tree Council 218                     1 India St                                                 Portland, ME 04101‐4709                                                                                         First Class Mail
Voting Party                   Turning Point United Methodist Church                    Attn: Cam Price                           8372 N Valley Rd                                           Pinson, AL 35126                                                        cam.price@umcna.org                     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Turtle Lake Lions Club                                   Chippewa Valley Council 637               P.O. Box 401                                               Turtle Lake, WI 54889‐0401                                                                                      First Class Mail
Voting Party                   Turtle Lake: Parkview United Methodist Church            Attn: Adam Wayne Woods                    236 Maple St N                                             Turtle Lake, WI 54889                                                   parkviewunitedmethodist@gmail.com       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Turtle Lake: Parkview United Methodist Church            Attn: Treasurer                           P.O. Box 64                                                Turtle Lake, WI 54889                                                   parkviewunitedmethodist@gmail.com       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tuscaloosa Apprentice Committee                          Black Warrior Council 006                 9410 Hwy 82 E                                              Duncanville, AL 35456‐2052                                                                                      First Class Mail
Chartered Organization         Tuscaloosa County High School Jrotc                      Black Warrior Council 006                 12500 Wildcat Dr                                           Northport, AL 35475‐4461                                                                                        First Class Mail
Chartered Organization         Tuscarawas Co Sheriff Dept                               Buckeye Council 436                       2295 Reiser Ave Se                                         New Philadelphia, OH 44663‐3333                                                                                 First Class Mail
Voting Party                   Tuscarora Council                                        Attn: Jason L Smith                       172 Nc Hwy 581 S                                           Goldsboro, NC 27530                                                     jason.smith@scouting.org                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tuscola Rotary Club                                      Prairielands 117                          P.O. Box 21                                                Tuscola, IL 61953‐0021                                                                                          First Class Mail
Chartered Organization         Tuscola United Methodist Church                          Texas Trails Council 561                  P.O. Box 205                                               Tuscola, TX 79562‐0205                                                                                          First Class Mail
Voting Party                   Tuscola United Methodist Church                          Attn: Secretary/Treasurer And/Or Pastor   602 7th St                                                 Tuscola, TX 79562                                                                                               First Class Mail
Chartered Organization         Tuscola Utd Methodist Church                             Prairielands 117                          901 N Prairie St                                           Tuscola, IL 61953‐9254                                                                                          First Class Mail
Voting Party                   Tuscumbia First United Methodist                         Attn: Kathryn Courtney Woodman            104 E 3rd St                                               Tuscumbia, AL 35674                                                     office@tuscumbia.org                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tuskawilla Presbyterian Church                           Central Florida Council 083               3600 Aloma Ave                                             Oviedo, FL 32765‐8534                                                                                           First Class Mail
Voting Party                   Tuskawilla Umc                                           c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                       erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tuskegee Airmen Global Academy                           Atlanta Area Council 092                  16545 S Alvarado Terrace Sw                                Atlanta, GA 30311                                                                                               First Class Mail
Chartered Organization         Tuskegee University                                      Tukabatchee Area Council 005              308 Kresge Center                                          Tuskegee Inst, AL 36088                                                                                         First Class Mail
Chartered Organization         Tustin Presbyterian Church                               Orange County Council 039                 225 W Main St                                              Tustin, CA 92780‐4319                                                                                           First Class Mail
Chartered Organization         Tustin/Santa Ana Rotary                                  Orange County Council 039                 P.O. Box 14                                                Tustin, CA 92781‐0014                                                                                           First Class Mail
Chartered Organization         Tuttle Elementary Pto                                    Southwest Florida Council 088             2863 8th St                                                Sarasota, FL 34237‐3633                                                                                         First Class Mail
Chartered Organization         Tuttle Masonic Lodge 405                                 Last Frontier Council 480                 P.O. Box 386                                               Tuttle, OK 73089‐0386                                                                                           First Class Mail
Voting Party                   Tuttle Road United Methodist Church                      Attn: Linda Brewster, Pastor              52 Tuttle Rd                                               Cumberland, ME 04021                                                    secretary@tuttleroadumc.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tuxedo Park Baptist Church                               Crossroads of America 160                 29 N Grant Ave                                             Indianapolis, IN 46201‐3607                                                                                     First Class Mail
Chartered Organization         Twain Harte Rotary Club                                  Greater Yosemite Council 059              P.O. Box 1462                                              Twain Harte, CA 95383‐1462                                                                                      First Class Mail
Chartered Organization         Tweedle Park And Playground Assoc                        Minsi Trails Council 502                  70 Franklin St                                             Weatherly, PA 18255‐1115                                                                                        First Class Mail
Voting Party                   Twelfth Street Umc (187762)                              c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228                  lspagnolo@bentzlaw.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Twelve Apostles Catholic Church                          Heart of America Council 307              17900 Humphreys Rd                                         Platte City, MO 64079                                                                                           First Class Mail
Chartered Organization         Twelve Corners Presbyterian Church                       Seneca Waterways 397                      1200 Winton Rd S                                           Rochester, NY 14618‐2245                                                                                        First Class Mail
Chartered Organization         Twelve Points Foundation                                 California Inland Empire Council 045      1820 W Orangewood Ave                                      Orange, CA 92868‐2043                                                                                           First Class Mail
Chartered Organization         Twenty First Century Charter School Pto                  Pathway To Adventure 456                  556 Washington St                                          Gary, IN 46402‐1915                                                                                             First Class Mail
Voting Party                   Twenty Palms United Methodist Church                     Attn: Linda Geddis / Joseph Geddis        6250 Mesquite Springs Rd                                   29 Palms, CA 92277                                                      geddis_linda@hotmail.com                Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Twin Chimneys Elementary School Pto                      Greater St Louis Area Council 312         7396 Twin Chimneys Blvd                                    O Fallon, MO 63368‐6112                                                                                         First Class Mail
Chartered Organization         Twin Cities Lions Club                                   Seneca Waterways 397                      3906 State Route 96                                        Shortsville, NY 14548‐9526                                                                                      First Class Mail
Chartered Organization         Twin Cities Rotary Club                                  Pacific Harbors Council, Bsa 612          P.O. Box 6                                                 Chehalis, WA 98532‐0006                                                                                         First Class Mail
Chartered Organization         Twin Cities Ward                                         Greater Yosemite Council 059              972 Vintage Oak Ave                                        Galt, CA 95632‐3061                                                                                             First Class Mail
Voting Party                   Twin City Filter Service, Inc                            2529 25th Ave S                           Minneapolis, MN 55406‐1234                                                                                                                                                 First Class Mail
Chartered Organization         Twin City Lions                                          Greater St Louis Area Council 312         P.O. Box 1                                                 Herculaneum, MO 63048‐0001                                                                                      First Class Mail
Chartered Organization         Twin District Volunteer Fire Co, Inc                     Greater Niagara Frontier Council 380      4999 William St                                            Lancaster, NY 14086‐9665                                                                                        First Class Mail
Chartered Organization         Twin Falls 10Th Ward                                     Twin Falls South Stake                    229 Park Ave                                               Twin Falls, ID 83301‐7640                                                                                       First Class Mail
Chartered Organization         Twin Falls 11Th Ward ‐ Twin Falls Stake                  Snake River Council 111                   723 Hankins Rd                                             Twin Falls, ID 83301                                                                                            First Class Mail
Chartered Organization         Twin Falls 12Th Ward                                     Twin Falls West Stake                     1134 N College Rd                                          Twin Falls, ID 83301                                                                                            First Class Mail
Chartered Organization         Twin Falls 13Th Ward ‐ Twin Falls Stake                  Snake River Council 111                   2085 S Temple Dr                                           Twin Falls, ID 83301                                                                                            First Class Mail
Chartered Organization         Twin Falls 14Th Ward                                     Twin Falls West Stake                     Snake River Council 111                                    824 Caswell Ave W                 Twin Falls, ID 83301‐3625                                                     First Class Mail
Chartered Organization         Twin Falls 14Th Ward                                     Twin Falls West Stake                     824 Caswell Ave W                                          Twin Falls, ID 83301‐3625                                                                                       First Class Mail
Chartered Organization         Twin Falls 15Th Ward ‐Twin Falls Stake                   Snake River Council 111                   2085 S Temple Dr                                           Twin Falls, ID 83301                                                                                            First Class Mail
Chartered Organization         Twin Falls 16Th Ward                                     Twin Falls South Stake                    541 Harrison St                                            Twin Falls, ID 83301                                                                                            First Class Mail
Chartered Organization         Twin Falls 17Th Ward                                     Twin Falls South Stake                    2680 Elizabeth Blvd                                        Twin Falls, ID 83301                                                                                            First Class Mail
Chartered Organization         Twin Falls 1St Ward ‐ Twin Falls Stake                   Snake River Council 111                   847 Eland Dr                                               Twin Falls, ID 83301                                                                                            First Class Mail
Chartered Organization         Twin Falls 2Nd Ward                                      Twin Falls South Stake                    851 Harrison St                                            Twin Falls, ID 83301                                                                                            First Class Mail
Chartered Organization         Twin Falls 3Rd Ward                                      Twin Falls South Stake                    3150 Elizabeth Blvd E                                      Twin Falls, ID 83301                                                                                            First Class Mail
Chartered Organization         Twin Falls 4Th Ward                                      Twin Falls West Stake                     667 Harrison St                                            Twin Falls, ID 83301‐3905                                                                                       First Class Mail
Chartered Organization         Twin Falls 5Th Ward ‐ Twin Falls Stake                   Snake River Council 111                   2085 S Temple Dr                                           Twin Falls, ID 83301                                                                                            First Class Mail
Chartered Organization         Twin Falls 6Th Ward                                      Twin Falls West Stake                     667 Harrison St                                            Twin Falls, ID 83301‐3905                                                                                       First Class Mail
Chartered Organization         Twin Falls 7Th Ward ‐ Twin Falls Stake                   Snake River Council 111                   847 Eastland Dr N                                          Twin Falls, ID 83301‐4359                                                                                       First Class Mail
Chartered Organization         Twin Falls 8Th Ward                                      Twin Falls West Stake                     667 Harrison St                                            Twin Falls, ID 83301‐3905                                                                                       First Class Mail
Chartered Organization         Twin Falls 9Th Ward                                      Twin Falls South Stake                    3150 Elizabeth Blvd                                        Twin Falls, ID 83301                                                                                            First Class Mail
Voting Party                   Twin Falls First United Methodist Church                 c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                       erice@bradley.com                       Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Twin Falls S Stake‐Twin Falls 24Th Ward                  Snake River Council 111                   3485 N 2983 E                                              Twin Falls, ID 83301‐0379                                                                                       First Class Mail
Voting Party                   Twin Falls Umc, Munroe Falls, Oh                         Twin Falls Umc                            60 N River Rd                                              Munroe Falls, OH 44262‐1308                                             twinfallsumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Twin Falls United Methodist Church                       Great Trail 433                           60 N River Rd                                              Munroe Falls, OH 44262‐1308                                                                                     First Class Mail
Chartered Organization         Twin Lakes American Legion Post 544                      Three Harbors Council 636                 P.O. Box 907                                               Twin Lakes, WI 53181‐0907                                                                                       First Class Mail
Voting Party                   Twin Oaks Umc Trustees                                   Attn: Marion Woods, Chairman              8101 Rd 187                                                Oakwood, OH 45873                                                       pjwoods@artelco.net                     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Twin Oaks United Methodist Church                        Attn: Treasurer                           201 E Harmon St                                            P.O. Box 98                       Oakwood, OH 45873                     otoumc@gmail.com                        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Twin Rivers Council                                      253 Washington Ave Ext                    Albany, NY 12205‐5504                                                                                                              mswitzer@bsamail.org                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Twin Rivers Council, Inc, Bsa                            Attn: Roderick C Mcdonald                 One Lincoln Center                                         Syracuse, NY 13202                                                      arivera@bsk.com                         Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Twin Towers Umc                                          Attn: Patricia Yamashita                  1733 Grant                                                 Berkeley, CA 94703                                                      patricia.yamashita@comcast.net          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Twin Towers United Methodist Church                      Attn: Fred Fielding, Finance Chair        1411 Oak St                                                Alameda, CA 94501                                                       twintowers.office@gmail.com             Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Twin Valley Council, Inc Bsa                             Attn: Raymond W Brauer                    810 Madison Ave                                            Mankato, MN 56001                                                       ray.brauer@scouting.org                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Twinsburg Fire Dept                                      Lake Erie Council 440                     10069 Ravenna Rd                                           Twinsburg, OH 44087                                                                                             First Class Mail
Chartered Organization         Twinsburg Police Dept                                    Lake Erie Council 440                     10075 Ravenna Rd                                           Twinsburg, OH 44087‐1718                                                                                        First Class Mail
Chartered Organization         Twinsburg VFW Post 4929                                  Lake Erie Council 440                     9825 Ravenna Rd                                            Twinsburg, OH 44087‐1714                                                                                        First Class Mail
Chartered Organization         Two Foxes Trading Post                                   Capitol Area Council 564                  P.O. Box 671                                               Bastrop, TX 78602‐0671                                                                                          First Class Mail
Chartered Organization         Two Harbors Moose Lodge 1463                             Voyageurs Area 286                        General Delivery                                           Two Harbors, MN 55616                                                                                           First Class Mail
Chartered Organization         Tygh Valley Community Center                             Cascade Pacific Council 492               57594 Havens Ave                                           Tygh Valley, OR 97063‐8700                                                                                      First Class Mail
Chartered Organization         Tyler Elementary School                                  National Capital Area Council 082         14500 John Marshall Hwy                                    Gainesville, VA 20155‐1605                                                                                      First Class Mail
Firm                           Tyler H. Fox, Esq.                                       Tyler H. Fox, Esq.                        135 Antrim St., Unit #2                                    Cambridge, MA 02139                                                     tylerfox@verizon.net                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Tyler Matthew Schmidt                                    3900 San Fernando Rd, Apt 2614            Glendale, CA 91204                                                                                                                 tmschmidt@bellsouth.net                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tyler Police Dept                                        East Texas Area Council 585               711 W Ferguson St                                          Tyler, TX 75702‐5612                                                                                            First Class Mail
Voting Party                   Tyler Road Southern Baptist Church                       Attn: Eric D Bruce                        P.O. Box 75037                                             Wichita, KS 67275                                                       Mail@KsAdvocates.com                    Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Tyler Street United Methodist Church                     Attn: Treasurer, Tyler St Church          927 W 10th St                                              Dallas, TX 75208                                                        jeffgarrett@tylerstreet.church          Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tyler Yacht Club                                         East Texas Area Council 585               P.O. Box 130906                                            Tyler, TX 75713‐0906                                                                                            First Class Mail
Chartered Organization         Tylertown Rotary Club                                    Andrew Jackson Council 303                General Delivery                                           Tylertown, MS 39667                                                                                             First Class Mail
Voting Party                   Tyner Umc                                                Attn: Karen Wheeler                       6805 Standifer Gap Rd                                      Chattanooga, TN 37421                                                   office@tynerumc.com                     Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tyner United Methodist Church                            Cherokee Area Council 556                 6805 Standifer Gap Rd                                      Chattanooga, TN 37421‐1410                                                                                      First Class Mail
Voting Party                   Tyner United Methodist Church                            Attn: Cathy Wesolek                       4503 French St                                             Tyner, IN 46572                                                         cathy.wesolek@inumc.org                 Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Tyngsboro Firefighters Assoc                             The Spirit of Adventure 227               26 Kendall Rd                                              Tyngsboro, MA 01879‐1013                                                                                        First Class Mail
Voting Party                   Tyrone Umc                                               P O Box 206                               Tyrone, OK 73951                                                                                                                   drmingus@att.net                        Email
                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         U S Border Patrol                                        South Texas Council 577                   9001 San Dario Ave                                         Laredo, TX 78045‐7270                                                                                           First Class Mail
Chartered Organization         U S Border Patrol                                        Rio Grande Council 775                    3000 W Military Hwy                                        Mcallen, TX 78503‐5700                                                                                          First Class Mail
Chartered Organization         U S Border Patrol‐Del Rio                                Texas SW Council 741                      2300 E Hwy 90                                              Del Rio, TX 78840‐7338                                                                                          First Class Mail
Chartered Organization         U S Border Patrol‐Eagle Pass N Sta                       Texas SW Council 741                      2285 Del Rio Blvd                                          Eagle Pass, TX 78852‐3316                                                                                       First Class Mail
Chartered Organization         U S Border Patrol‐Eagle Pass S Sta                       Texas SW Council 741                      4156 El Indio Hwy                                          Eagle Pass, TX 78852‐5976                                                                                       First Class Mail
Chartered Organization         U S Customs & Border Protection                          South Florida Council 084                 6601 NW 25th St                                            Miami, FL 33122‐2232                                                                                            First Class Mail
Chartered Organization         U S Customs & Border Protection‐Broward                  South Florida Council 084                 1800 Eller Dr, Ste 300                                     Fort Lauderdale, FL 33316‐4209                                                                                  First Class Mail
Chartered Organization         U S Customs Explorer Post                                Pathway To Adventure 456                  610 S Canal St                                             Chicago, IL 60607‐4523                                                                                          First Class Mail
Chartered Organization         U S Customs‐Del Rio                                      Texas SW Council 741                      3140 Texas Spur 239                                        Del Rio, TX 78840‐9105                                                                                          First Class Mail
Chartered Organization         U S Customs‐Eagle Pass                                   Texas SW Council 741                      160 E Garrison St                                          Eagle Pass, TX 78852‐4861                                                                                       First Class Mail
Voting Party                   U S Postal Service                                       Cmrs‐Pbp                                  P.O. Box 0566                                              Carol Stream, IL 60132‐0566                                                                                     First Class Mail
Chartered Organization         Uaw Local 1853                                           Middle Tennessee Council 560              P.O. Box 459                                               Spring Hill, TN 37174‐0459                                                                                      First Class Mail
Chartered Organization         Uaw Local 2209                                           Anthony Wayne Area 157                    5820 E 900 N                                               Roanoke, IN 46783‐9703                                                                                          First Class Mail
Chartered Organization         Ub Kinsey Commty                                         Elementary School Pto                     800 W 1st St                                               Riviera Beach, FL 33404‐7608                                                                                    First Class Mail
Chartered Organization         Uceda School                                             Las Vegas Area Council 328                320 N Nellis Blvd                                          Las Vegas, NV 89110‐0052                                                                                        First Class Mail
Chartered Organization         Ucp Childrens Learning Center Of Nassau                  Theodore Roosevelt Council 386            380 Washington Ave                                         Roosevelt, NY 11575‐1845                                                                                        First Class Mail
Chartered Organization         Ufcw Local 1625                                          Greater Tampa Bay Area 089                5600 US Hwy 98 N, Ste 3                                    Lakeland, FL 33809‐3100                                                                                         First Class Mail
Chartered Organization         Uhland Elementary School Pta                             Capitol Area Council 564                  2301 High Rd                                               Kyle, TX 78640‐4802                                                                                             First Class Mail
Chartered Organization         Uinta County Peace Officers Assoc                        Trapper Trails 589                        77 County Rd 109                                           Evanston, WY 82930‐9797                                                                                         First Class Mail
Chartered Organization         Ujimaa Foundation                                        San Francisco Bay Area Council 028        3994 Burckhalter Ave                                       Oakland, CA 94605‐2616                                                                                          First Class Mail
Chartered Organization         Ukiah Elks Lodge 1728                                    Redwood Empire Council 041                P.O. Box 32                                                Ukiah, CA 95482‐0032                                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                          Page 411 of 442
                                                                                   Case 20-10343-LSS                                       Doc 8171                                   Filed 01/06/22                                                   Page 427 of 457
                                                                                                                                                                         Exhibit B
                                                                                                                                                                          Service List
                                                                                                                                                                   Served as set forth below

        Description                                                         Name                                                                                       Address                                                                                                            Email              Method of Service
Voting Party                   Ukiah United Methodist Church                                  Attn: Trustee Chair                     P.O. Box 323                                           Ukiah, CA 95482                                                     office@ukiahumc.org              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Ukiah Valley Fire Authority                                    Redwood Empire Council 041              1500 S State St                                        Ukiah, CA 95482‐6709                                                                                 First Class Mail
Chartered Organization         Ukrainian National Home                                        Garden State Council 690                1506 Fairton Rd                                        Millville, NJ 08332‐4606                                                                             First Class Mail
Chartered Organization         Ullenbruch Flowers And Gifts                                   Water and Woods Council 782             1839 Lapeer Ave                                        Port Huron, MI 48060‐4153                                                                            First Class Mail
Chartered Organization         Ulmstead Club, Inc                                             Baltimore Area Council 220              911 Lynch Dr                                           Arnold, MD 21012‐1504                                                                                First Class Mail
Voting Party                   Ulster (141565)                                                c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Ulster County Sheriffs Office                                  Rip Van Winkle Council 405              380 the Blvd                                           Kingston, NY 12401                                                                                   First Class Mail
Voting Party                   Ulster Heights United Methodist Church                         Attn: Sejin Cha                         1264 Ulster Heights Rd                                 Ellenville, NY 12428                                                sejincha@gmail.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Ultimate Scouting Assoc                                        Pine Tree Council 218                   P.O. Box 354                                           Shapleigh, ME 04076‐0354                                                                             First Class Mail
Voting Party                   Ulysses United Methodist Church (07202)                        c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Ulysses Utd Methodist Church                                   Allegheny Highlands Council 382         North St                                               Ulysses, PA 16948                                                                                    First Class Mail
Voting Party                   Um Church Of The Village                                       Attn: Samuel C Winfrey                  201 W 13th St                                          New York, NY 10011                                                  samcw10001@gmail.com             Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Um Insurance Co, Inc And Its Affiliates And Predecessors       Primmer Piper Eggleston & Cramer Pc     500 Main St                                            Burlington, VT 05402                                                rgadapee@primmer.com             Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Umc                                                            Attn: Ricky Huggins                     46100 Lovings Ln                                       Heavener, OK 74937                                                  journey_ricky@yahoo.com          Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Umc At Milltown                                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Umc At Mt Talor                                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Umc First Vineland ‐ Vineland                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Umc Keansburg                                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Umc Of Burlington                                              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Umc Of Burlington                                              207 S 6th St                            Burlington, KS 66839                                                                                                                                        First Class Mail
Voting Party                   Umc Of Red Bank                                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Umc Of The Resurrection Blue Springs                           Heart of America Council 307            601 NE Jefferson St                                    Blue Springs, MO 64014‐2315                                                                          First Class Mail
Chartered Organization         Ume Preparatory Academy                                        Circle Ten Council 571                  3838 Spur 408                                          Dallas, TX 75236‐3294                                                                                First Class Mail
Chartered Organization         Umkc School Of Dentistry                                       Heart of America Council 307            650 E 25th St                                          Kansas City, MO 64108‐2716                                                                           First Class Mail
Chartered Organization         Umm 1St Utd Methodist Ch Cary                                  Occoneechee 421                         117 S Academy St                                       Cary, NC 27511‐3301                                                                                  First Class Mail
Chartered Organization         Umm 1St Utd Methodist Ch Cary                                  Occoneechee 421                         P.O. Box 396                                           Cary, NC 27512‐0396                                                                                  First Class Mail
Chartered Organization         Umphress Road Utd Methodist Church                             Circle Ten Council 571                  7224 Umphress Rd                                       Dallas, TX 75217‐1531                                                                                First Class Mail
Chartered Organization         Umphrey Lee Elementary                                         Circle Ten Council 571                  7808 Racine Dr                                         Dallas, TX 75232‐4302                                                                                First Class Mail
Chartered Organization         Un Methodist Church                                            American Leg Post 682                   602 5th Ave Sw                                         Altoona, IA 50009‐1604                                                                               First Class Mail
Chartered Organization         Una Rotc Cadet Club                                            Greater Alabama Council 001             1 Harrison Plz                                         Florence, AL 35632‐0002                                                                              First Class Mail
Chartered Organization         Unadilla Fire Co                                               Leatherstocking 400                     77 Clifton St                                          Unadilla, NY 13849                                                                                   First Class Mail
Chartered Organization         Unadilla Fire Dept                                             Leatherstocking 400                     P.O. Box                                               Unadilla, NY 13849                                                                                   First Class Mail
Chartered Organization         Unadilla Presbyterian Church                                   Leatherstocking 400                     156 Main St                                            Unadilla, NY 13849                                                                                   First Class Mail
Chartered Organization         Unc Charlotte College Of Engineering                           Mecklenburg County Council 415          9201 University City Blvd                              Charlotte, NC 28223‐0001                                                                             First Class Mail
Chartered Organization         Under Water Adventures                                         Central Florida Council 083             400 W Magnolia St                                      Leesburg, FL 34748‐5840                                                                              First Class Mail
Chartered Organization         Underberg And Kessler                                          Seneca Waterways 397                    300 Bausch and Lomb Pl                                 Rochester, NY 14604‐2702                                                                             First Class Mail
Chartered Organization         Underhill‐Jericho Fire Dept                                    Green Mountain 592                      420 Vt Route 15                                        Underhill, VT 05489                                                                                  First Class Mail
Chartered Organization         Underwater Dive Center, Inc                                    Lake Erie Council 440                   42551 N Ridge Rd                                       Elyria, OH 44035‐1046                                                                                First Class Mail
Chartered Organization         Underwood Lutheran Church                                      Mid‐America Council 326                 10 3rd Ave                                             Underwood, IA 51576‐4912                                                                             First Class Mail
Voting Party                   Underwood Lutheran Church                                      Attn: Pastor Scott Dalen                P.O. Box 9                                             10 3rd Ave                        Underwood, IA 51576               sdalen001@luthersem.edu          Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Underwood Petersville Vol Fire Dept                            Greater Alabama Council 001             4661 Hwy 157                                           Florence, AL 35633‐7877                                                                              First Class Mail
Chartered Organization         Uni Alabama Health Svcs Fndn                                   Greater Alabama Council 001             619 19th St S                                          Birmingham, AL 35233‐1900                                                                            First Class Mail
Chartered Organization         Uni Carillon Utd Methodist Ch                                  Central Florida Council 083             P.O. Box 678841                                        Orlando, FL 32867‐8841                                                                               First Class Mail
Chartered Organization         Uni Christian High Sch Model Un                                Piedmont Council 420                    602 7th Ave Ne                                         Hickory, NC 28601‐3917                                                                               First Class Mail
Chartered Organization         Uni Findlay Animal Science & Prev Vet                          Black Swamp Area Council 449            1000 N Main St                                         Findlay, OH 45840‐3653                                                                               First Class Mail
Chartered Organization         Uni Heights Utd Methodist Ch                                   Atlanta Area Council 092                1267 Balsam Dr                                         Decatur, GA 30033‐2903                                                                               First Class Mail
Chartered Organization         Uni Presbyterian Ch Rochester Hills                            Great Lakes Fsc 272                     1385 S Adams Rd                                        Rochester Hills, MI 48309‐2803                                                                       First Class Mail
Chartered Organization         Uni Rochester Sch Nursing                                      Seneca Waterways 397                    255 Crittenden Blvd                                    Rochester, NY 14642‐0001                                                                             First Class Mail
Chartered Organization         Uni S Florida Sch Health                                       Greater Tampa Bay Area 089              12901 Bruce B Downs Blvd                               Tampa, FL 33612‐4742                                                                                 First Class Mail
Chartered Organization         Unico                                                          Northern New Jersey Council, Bsa 333    42 Linda Vista Ave                                     North Haledon, NJ 07508‐2608                                                                         First Class Mail
Voting Party                   Unifi Equipment Finance, Inc                                   Attn: Julie Dailey                      801 W Ellsworth Rd                                     Ann Arbor, MI 48108                                                 jdailey@teamunifi.com            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union & Willow Grove United Methodist Church                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union 1St Presbyterian Church                                  Moraine Trails Council 500              P.O. Box 217                                           Cowansville, PA 16218‐0217                                                                           First Class Mail
Chartered Organization         Union Arp Church                                               Palmetto Council 549                    3594 Lancaster Hwy                                     Richburg, SC 29729‐9044                                                                              First Class Mail
Voting Party                   Union Avenue United Methodist Church                           Attn: Tyler Kinser, Treasurer           1843 S Union Ave                                       Alliance, OH 44601                                                  kinsertjwz@gmail.com             Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union Baptist Church                                           Norwela Council 215                     P.O. Box 60                                            Belmont, LA 71406‐0060                                                                               First Class Mail
Chartered Organization         Union Baptist Church                                           Occoneechee 421                         904 N Roxboro St                                       Durham, NC 27701‐2458                                                                                First Class Mail
Chartered Organization         Union Baptist Church                                           Colonial Virginia Council 595           9254 Guinea Rd                                         Hayes, VA 23072‐4419                                                                                 First Class Mail
Chartered Organization         Union Baptist Church                                           Old Hickory Council 427                 1200 N Trade St                                        Winston Salem, NC 27101‐1538                                                                         First Class Mail
Voting Party                   Union Center United Methodist Church                           Attn: Rev David Mckinney                128 Maple Dr                                           Endicott, NY 13760‐6301                                             umcgospel@aol.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union Chapel Indy                                              Attn: Lisa Lorentz                      2720 E 86th St                                         Indianapolis, IN 46240                                              lisa@unionchapelindy.org         Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union Chapel Mb Church                                         Greater Alabama Council 001             315 Winchester Rd Ne                                   Huntsville, AL 35811‐1029                                                                            First Class Mail
Voting Party                   Union Chapel Umc                                               c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union Chapel Umc 2625 Pannell Rd Monroe, Ga 30655              c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union Chapel Utd Methodist Church                              Northeast Georgia Council 101           2625 Pannell Rd                                        Monroe, GA 30655‐8704                                                                                First Class Mail
Voting Party                   Union Church (Claremont)                                       c/o The Tamposi Law Group, PC           Attn: Peter N Tamposi                                  159 Main St                       Nashua, NH 03060                  peter@thetamposilawgroup.com     Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union Church In Waban                                          Mayflower Council 251                   14 Collins Rd                                          Waban, MA 02468‐2200                                                                                 First Class Mail
Chartered Organization         Union Church Neffs                                             Minsi Trails Council 502                P.O. Box 66                                            Neffs, PA 18065‐0066                                                                                 First Class Mail
Chartered Organization         Union Church Of Hinsdale                                       Pathway To Adventure 456                137 S Garfield St                                      Hinsdale, IL 60521‐4229                                                                              First Class Mail
Voting Party                   Union Church Of Hinsdale ‐ United Church Of Christ             Attn: Matthew Klein                     324 W Burlington                                       Lagrange, IL 60525                                                  matthew.klein55@gmail.com        Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union City Police Dept                                         San Francisco Bay Area Council 028      34009 Alvarado Niles Rd                                Union City, CA 94587‐4452                                                                            First Class Mail
Chartered Organization         Union City Police Dept                                         Last Frontier Council 480               101 N Elm Ave                                          Union City, OK 73090‐9621                                                                            First Class Mail
Voting Party                   Union City Presbyterian Church                                 Attn: Robert Willert                    37 W High St                                           Union City, PA 16438‐1236                                           bearpc@verizon.net               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union City Rotary Club                                         Southern Shores Fsc 783                 1737 10 1/2 Mile Rd                                    Union City, MI 49094‐9633                                                                            First Class Mail
Chartered Organization         Union City Utd Methodist Church                                Atlanta Area Council 092                6410 Watson St                                         Union City, GA 30291‐1444                                                                            First Class Mail
Chartered Organization         Union Colony Prep School                                       Longs Peak Council 062                  2000 Clubhouse Dr                                      Greeley, CO 80634‐3643                                                                               First Class Mail
Chartered Organization         Union Congregational                                           Seneca Waterways 397, Route 14A         Hall, NY 14463                                                                                                                                              First Class Mail
Chartered Organization         Union Congregational Church                                    Greater Tampa Bay Area 089              106 N Butler Ave                                       Avon Park, FL 33825‐3138                                                                             First Class Mail
Chartered Organization         Union Congregational Church                                    Mayflower Council 251                   105 Pleasant St                                        East Bridgewater, MA 02333‐1319                                                                      First Class Mail
Chartered Organization         Union Congregational Church                                    Mayflower Council 251                   55 Rhoades Ave                                         East Walpole, MA 02032‐1128                                                                          First Class Mail
Chartered Organization         Union Congregational Church                                    The Spirit of Adventure 227             148 Haverhill St                                       North Reading, MA 01864‐2448                                                                         First Class Mail
Chartered Organization         Union Congregational Church                                    Central Florida Council 083             302 N St Clair Abrams Ave                              Tavares, FL 32778‐3065                                                                               First Class Mail
Chartered Organization         Union Congregational Church                                    Daniel Webster Council, Bsa 330         80 Main St                                             Union, NH 03887                                                                                      First Class Mail
Chartered Organization         Union Congregational Church                                    Northern New Jersey Council, Bsa 333    176 Cooper Ave                                         Upper Montclair, NJ 07043‐1811                                                                       First Class Mail
Chartered Organization         Union Congregational Church                                    Northern New Jersey Council, Bsa 333    176 Cooper Ave                                         Upper Montclair, NJ 07043‐1811                                                                       First Class Mail
Chartered Organization         Union Congregational Church Of Oakville                        Connecticut Rivers Council, Bsa 066     167 Buckingham St                                      Oakville, CT 06779‐1728                                                                              First Class Mail
Chartered Organization         Union Congregational Ucc                                       Gulf Stream Council 085                 5088 Summit Blvd                                       West Palm Beach, FL 33415‐3721                                                                       First Class Mail
Voting Party                   Union Congregational United Church Of Christ Of Green Bay Wi   Attn: Gail Hohenstein                   716 S Madison St                                       Green Bay, WI 54301                                                 bridget@unionucc.com             Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union County Sheriff Office                                    Central N Carolina Council 416          3344 Presson Rd                                        Monroe, NC 28112‐9140                                                                                First Class Mail
Chartered Organization         Union County Sheriffs Dept                                     Great Smoky Mountain Council 557        901 Main St                                            Maynardville, TN 37807‐3556                                                                          First Class Mail
Chartered Organization         Union County Shriners Club                                     Great Smoky Mountain Council 557        P.O. Box 303                                           Maynardville, TN 37807‐0303                                                                          First Class Mail
Voting Party                   Union Deposit Umc (187534)                                     c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union Deposit Utd Methodist Church                             New Birth of Freedom 544                34 W Main St                                           Hershey, PA 17033‐2442                                                                               First Class Mail
Chartered Organization         Union Elementary Pto                                           Crossroads of America 160               8707 W US Hwy 36                                       Modoc, IN 47358‐9583                                                                                 First Class Mail
Chartered Organization         Union Ems                                                      Central N Carolina Council 416          P.O. Box 633                                           Monroe, NC 28111‐0633                                                                                First Class Mail
Chartered Organization         Union Evangelical                                              Mayflower Council 251                   25 Dutcher St                                          Hopedale, MA 01747‐1225                                                                              First Class Mail
Chartered Organization         Union Evangelical Church                                       National Capital Area Council 082       Paseo De La Reforma 870                                Mexico City                       Mexico                                                             First Class Mail
Chartered Organization         Union Grove Amish Church                                       Old Hickory Council 427                 3070 Mullis Rd                                         Hamptonville, NC 27020‐7759                                                                          First Class Mail
Chartered Organization         Union Grove Kiwanis                                            Three Harbors Council 636               1133 Pheasant Run                                      Union Grove, WI 53182‐1235                                                                           First Class Mail
Chartered Organization         Union Grove Lions Club                                         Three Harbors Council 636               330 S 84th St                                          Milwaukee, WI 53214‐1468                                                                             First Class Mail
Chartered Organization         Union Grove United Methodist Church                            Piedmont Council 420                    P.O. Box 55                                            Union Grove, NC 28689‐0055                                                                           First Class Mail
Voting Party                   Union Grove United Methodist Church                            Attn: Michael Lee Welsh                 P.O. Box 44                                            Spring Garden, AL 36275                                             mikewelsh91@gmail.com            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union Grove United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union Grove Utd Methodist Church                               Occoneechee 421                         6407 Union Grove Church Rd                             Hillsborough, NC 27278‐8310                                                                          First Class Mail
Chartered Organization         Union Hill Presbyterian Church                                 Patriots Path Council 358               427 Franklin Rd                                        Denville, NJ 07834‐3604                                                                              First Class Mail
Voting Party                   Union Hill Presbyterian Church Of Denville                     Attn: John S Ware Iv                    427 Franklin Rd                                        Denville, NJ 07834                                                  office@unionhillchurch.org       Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union Hill Presbyterian Church Of Denville                     Attn: Ellen O'Connell Esq               600 Parsippany Rd, Ste 204                             Parsippany, NJ 07054                                                office@unionhillchurch.org       Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union Hill Presbyterian Church of Denville                     Attn: John S Ware IV                    600 Parsippany Rd, Ste 204                             Parsippany, NJ 07054                                                eoconnell@iwwt.law               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union Hill Primitive Baptist Church                            Greater Alabama Council 001             2115 Winchester Rd Nw                                  Huntsville, AL 35810‐1644                                                                            First Class Mail
Voting Party                   Union Hill Umc                                                 c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union Hill United Methodist Church 2000 Aj Land Rd Canton, G   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union Hill Utd Methodist Church                                Atlanta Area Council 092                2000 A J Land Rd                                       Canton, GA 30115‐4974                                                                                First Class Mail
Chartered Organization         Union Hill Volunteer Firemens Assoc                            Ambulance                               P.O. Box 112                                           Union Hill, NY 14563‐0112                                                                            First Class Mail
Chartered Organization         Union Hospital                                                 Del Mar Va 081                          106 Bow St                                             Elkton, MD 21921‐5544                                                                                First Class Mail
Voting Party                   Union Japanese Church Of Westchester                           Attn: Yoko Ueda                         6 Greenacres Ave                                       Scarsdale, NY 10583                                                 ujcw.pr@gmail.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union Lions Club                                               Greater St Louis Area Council 312       204 River Rock Dr                                      Union, MO 63084‐3868                                                                                 First Class Mail
Chartered Organization         Union Lutheran Church                                          Central N Carolina Council 416          4770 Bringle Ferry Rd                                  Salisbury, NC 28146‐7106                                                                             First Class Mail
Voting Party                   Union Memorial United Methodist Church                         Carolyn Anderson                        3443 Riva Rd                                           Davidsonville, MD 21035                                             cmanderson71@hotmail.com         Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union Memorial United Methodist Church                         Attn: Janice Seay                       P.O. Box 53                                            Davidsonville, MD 21035                                             cmanderson71@hotmail.com         Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union Missionary Baptist Church                                Crossroads of America 160               100 N Macedonia Ave                                    Muncie, IN 47305                                                                                     First Class Mail
Voting Party                   Union Park Umc                                                 Attn: Treasurer                         2305 E 12th St                                         Des Moines, IA 50316                                                office@unionparkumc.org          Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union Presbyterian Church                                      Garden State Council 690                254 Shell Rd                                           Carneys Point, NJ 08069‐2119                                                                         First Class Mail
Chartered Organization         Union Presbyterian Church                                      Bay‐Lakes Council 635                   P.O. Box 217                                           De Tour Village, MI 49725‐0217                                                                       First Class Mail
Chartered Organization         Union Presbyterian Church                                      Dan Beard Council, Bsa 438              10259 US Hwy 42                                        Union, KY 41091‐9527                                                                                 First Class Mail
Voting Party                   Union Presbyterian Church                                      Attn: David Blevins                     329 N Bent St                                          Powell, WY 82435                                                    unionpcpowell@gmail.com          Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union Presbyterian Church, Inc (Endicott, Ny)                  Attn: Rev Patricia J Raube              200 E Main St                                          Endicott, NY 13760                                                  Pat.Raube@upcendicott.org        Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Union Rotary Club                                              Greater St Louis Area Council 312       1401 W Springfield Ave                                 Union, MO 63084‐1767                                                                                 First Class Mail
Chartered Organization         Union Springs Elem Parent Teacher                              Longhouse Council 373                   255 Wheat St                                           Cayuga, NY 13034‐3225                                                                                First Class Mail
Chartered Organization         Union Stingers Rifle Club Lfl Program                          Palmetto Council 549                    1163 Lakeside Dr                                       Union, SC 29379‐9676                                                                                 First Class Mail
Chartered Organization         Union Temple                                                   South Georgia Council 098               602 N Main St                                          Fitzgerald, GA 31750                                                                                 First Class Mail
Chartered Organization         Union Township Fire                                            Simon Kenton Council 441                12034 Pleasant Valley Rd                               Chillicothe, OH 45601‐9785                                                                           First Class Mail
Chartered Organization         Union United Methodist Church                                  Del Mar Va 081                          301 N Main St                                          Federalsburg, MD 21632‐1008                                                                          First Class Mail
Chartered Organization         Union United Methodist Church                                  Indian Waters Council 553               7582 Woodrow St                                        Irmo, SC 29063‐2831                                                                                  First Class Mail
Voting Party                   Union United Methodist Church                                  1018 Pulaski Rd                         East Northport, NY 11731                                                                                                   UnionUMC@optonline.net           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union United Methodist Church                                  Attn: Ron Schultz                       4321 Co Rd 32                                          Wilsonville, AL 35186                                               rschultz@umcna.org               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union United Methodist Church                                  Attn: Roderic L Mullen                  2212 Nursery Rd                                        Lillington, NC 27546                                                rmullen@nccumc.org               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union United Methodist Church                                  Attn: Tom Lester, Treasurer             690 Edith Ave                                          Noblesville, IN 46060                                               lester0714@comcast.net           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union United Methodist Church                                  Attn: Benny L Anderson                  P.O. Box 316                                           303 E Jackson                     Union, MS 39365                   info.uumcms@gmail.com            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union United Methodist Church                                  Attn: David Jackson                     485 Columbus Ave                                       Boston, MA 02118                                                    finance@unionboston.org          Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union United Methodist Church                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union United Methodist Church                                  Rev Bernadette Logan                    12615 149th St                                         South Ozone Park, NY 11436                                          bministry3@aol.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Union United Methodist Church                                  Attn: Rev Bernadette Logan              126‐22 150th St                                        P.O. Box 200584                   South Ozone Park, NY 11436        bministry15@gamil.com            Email
                                                                                                                                                                                                                                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                          Page 412 of 442
                                                                                   Case 20-10343-LSS                                       Doc 8171                                  Filed 01/06/22                                                    Page 428 of 457
                                                                                                                                                                        Exhibit B
                                                                                                                                                                         Service List
                                                                                                                                                                  Served as set forth below

        Description                                                         Name                                                                                      Address                                                                                                               Email              Method of Service
Voting Party                   Union United Methodist Church Brooklyn                     Attn: Rev Jacqueline Carter                121 New York Ave                                       Brooklyn, NY 11216                                                   umcunionbk@gmail.com               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Union United Methodist Church Of Unity, Maine              Attn: Thomas L Blackstone                  61 Pleasant St                                         Waterville, ME 04901                                                 tlbphd@alum.emory.edu              Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Union United Methodist Church, Inc                         Attn: Bill Gray                            128 King George Way                                    Columbia, SC 29210                                                   hsref376@aol.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Union United Methodist Church, Inc                         Attn: Bill Gray                            7582 Woodrow St                                        Irmo, SC 29063‐2831                                                  hsref376@aol.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Union University Church                                    Attn: Peter Finley                         Five Rivers Council, Inc                               375 Church St                     Alfred, NY 14802                                                      First Class Mail
Chartered Organization         Union Utd Methodist Church                                 Cradle of Liberty Council 525              200 Brookline Blvd                                     Havertown, PA 19083‐3934                                                                                First Class Mail
Chartered Organization         Union Utd Methodist Church                                 Crossroads of America 160                  19090 Deshane Ave                                      Noblesville, IN 46060‐9793                                                                              First Class Mail
Chartered Organization         Union Utd Methodist Church                                 Choctaw Area Council 302                   303 E Jackson Rd                                       Union, MS 39365‐2109                                                                                    First Class Mail
Chartered Organization         Union Utd Methodist Church                                 Greater Alabama Council 001                4320 Hwy 32                                            Wilsonville, AL 35186‐6060                                                                              First Class Mail
Chartered Organization         Union Utd Methodist Mens Club                              Greater St Louis Area Council 312          721 E Main St                                          Belleville, IL 62220‐3943                                                                               First Class Mail
Voting Party                   Union Village United Methodist Church                      Attn: Bertha Brown                         P.O. Box 237                                           Thetford Ctr, VT 05075                                                                                  First Class Mail
Chartered Organization         Union Volunteer Emergency Squad, Inc                       Baden‐Powell Council 368                   8 S Ave B                                              Endwell, NY 13760‐5714                                                                                  First Class Mail
Chartered Organization         Union Volunteer Fire Dept, Inc                             Connecticut Rivers Council, Bsa 066        1049 Buckley Hwy                                       Union, CT 06076‐4802                                                                                    First Class Mail
Voting Party                   Uniondale United Methodist Church                          Attn: Kene Erike                           280 Prince Ave                                         Freeport, NY 11520                                                   kerike@optonline.net               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Uniondale United Methodist Church                          Attn: Kene Erike                           720 Uniondale Ave                                      Uniondale, NY 11553                                                  kerike@optonline.net               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Uniontown Umc                                              Darrell Davis                              4639 Bark Hill Rd                                      Union Bridge, MD 21791                                               24ddavis@gmail.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Uniontown Umc                                              Attn: Sharon Hiner                         3405 Uniontown Rd                                      Westminster, MD 21158                                                                                   First Class Mail
Chartered Organization         Unionville Elementary School Pto                           Hoosier Trails Council 145 145             8144 E State Rd 45                                     Unionville, IN 47468‐9625                                                                               First Class Mail
Chartered Organization         Unionville Presbyterian Church                             Chester County Council 539                 814 Wollaston Rd                                       Kennett Square, PA 19348                                                                                First Class Mail
Voting Party                   Unionville United Methodist Church                         Attn: Marla Pace‐Uumc Treasurer            Attn: Barb Hagerla                                     P.O. Box 244                      Unionville, MO 63565               bhagerla@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   Unionville United Methodist Church (96861)                 c/o Bentz Law Firm                         Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228               lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         Unionville Utd Medthodist Church                           Laurel Highlands Council 527               Rd 1                                                   Rochester, PA 15074                                                                                     First Class Mail
Chartered Organization         Unioto P T O                                               Simon Kenton Council 441                   1565 Egypt Pike                                        Chillicothe, OH 45601‐3974                                                                              First Class Mail
Voting Party                   Uni‐Sim Corporation                                        P O Box 1358                               Windham, ME 04062‐1358                                                                                                                                         First Class Mail
Chartered Organization         Unita County Peace Officers Assoc                          Trapper Trails 589                         496 Remington Dr                                       Evanston, WY 82930‐9067                                                                                 First Class Mail
Chartered Organization         Unitarian Universalist Congreg Gwinnett                    Northeast Georgia Council 101              12 Bethesda Church Rd                                  Lawrenceville, GA 30044‐4236                                                                            First Class Mail
Chartered Organization         Unitarian Universalist Congreg York                        New Birth of Freedom 544                   925 S George St                                        York, PA 17403‐3706                                                                                     First Class Mail
Chartered Organization         Unitarian Universalist Fellowship                          Bell Cnty                                  1726 Morgans Point Rd                                  Belton, TX 76513‐6842                                                                                   First Class Mail
Chartered Organization         Unitarian Universalist Fellowship                          Wayne Cnty                                 3186 Burbank Rd                                        Wooster, OH 44691‐1206                                                                                  First Class Mail
Chartered Organization         United Auto Worker 94                                      Northeast Iowa Council 178                 3450 Central Ave                                       Dubuque, IA 52001‐1104                                                                                  First Class Mail
Chartered Organization         United Auto Workers Local 95                               Glaciers Edge Council 620                  1795 Lafayette St                                      Janesville, WI 53546‐2844                                                                               First Class Mail
Voting Party                   United Brethrens Church On Staten Island                   Attn: Lawrence Johnson                     2205 Richmond Rd                                       Staten Island, NY 10306                                              moraviancemetery@gmail.com         Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   United Brethrens Church On Staten Island                   c/o Hall & Hall LLP                        57 Beach St                                            Staten Island, NY 10304                                              gazzolav@hallandhalllaw.com        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Centenary Methodist                                 Twin Valley Council Bsa 283                501 S 2nd St                                           Mankato, MN 56001‐3705                                                                                  First Class Mail
Chartered Organization         United Christian Church                                    Miami Valley Council, Bsa 444              8611 Hoke Rd                                           Clayton, OH 45315‐9728                                                                                  First Class Mail
Chartered Organization         United Christian Parish                                    National Capital Area Council 082          11508 N Shore Dr                                       Reston, VA 20190‐4316                                                                                   First Class Mail
Voting Party                   United Christian Parish ‐ Reston                           c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Christian Presbyterian Church                       Heart of America Council 307               305 E 4th St                                           Lawson, MO 64062‐9384                                                                                   First Class Mail
Chartered Organization         United Church Of Big Rapids                                President Gerald R Ford 781                120 S State St                                         Big Rapids, MI 49307‐1763                                                                               First Class Mail
Voting Party                   United Church Of Broomfield                                Attn: Gary B Mckee                         825 Kohl St                                            Broomfield, CO 80020                                                 ucbucctreasurer@gmail.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   United Church Of Broomfield                                825 Kohl St                                Broomfield, CO 80020                                                                                                        ucbucctreasurer@gmail.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   United Church Of Canastota                                 Attn: Gregory J Wright                     2623 Carey Hill Rd                                     Chittenango, NY 13037                                                gjw412@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   United Church Of Canastota, Inc                            144 Center St                              Canastota, NY 13032                                                                                                         gjw412@yahoo.com                   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Church Of Chester                                   Connecticut Rivers Council, Bsa 066        29 W Main St                                           Chester, CT 06412‐1384                                                                                  First Class Mail
Chartered Organization         United Church Of Christ                                    Lake Erie Council 440                      32801 Electric Blvd                                    Avon Lake, OH 44012‐1527                                                                                First Class Mail
Chartered Organization         United Church Of Christ                                    Rocky Mountain Council 063                 P.O. Box 610                                           Buena Vista, CO 81211‐0610                                                                              First Class Mail
Chartered Organization         United Church Of Christ                                    Lake Erie Council 440                      P.O. Box 212                                           Conneaut, OH 44030‐0212                                                                                 First Class Mail
Chartered Organization         United Church Of Christ                                    Seneca Waterways 397                       8758 Main St                                           Honeoye, NY 14471                                                                                       First Class Mail
Chartered Organization         United Church Of Christ                                    New Birth of Freedom 544                   104 E Main St                                          Hummelstown, PA 17036‐1617                                                                              First Class Mail
Chartered Organization         United Church Of Christ                                    Daniel Webster Council, Bsa 330            23 Central Sq                                          Keene, NH 03431‐3707                                                                                    First Class Mail
Chartered Organization         United Church Of Christ                                    Great Trail 433                            1400 E Main St                                         Kent, OH 44240‐2874                                                                                     First Class Mail
Chartered Organization         United Church Of Christ                                    Longhouse Council 373                      215 Blackberry Rd                                      Liverpool, NY 13090‐3003                                                                                First Class Mail
Chartered Organization         United Church Of Christ                                    Mayflower Council 251                      Main St                                                Medfield, MA 02052                                                                                      First Class Mail
Chartered Organization         United Church Of Christ                                    Northern Star Council 250                  206 Locust St N                                        Prescott, WI 54021‐1738                                                                                 First Class Mail
Chartered Organization         United Church Of Christ                                    Connecticut Rivers Council, Bsa 066        280 Main St N                                          Southbury, CT 06488                                                                                     First Class Mail
Chartered Organization         United Church Of Christ                                    Green Mountain 592                         4335 Main St                                           Waitsfield, VT 05673                                                                                    First Class Mail
Chartered Organization         United Church Of Christ                                    Pennsylvania Dutch Council 524             2723 Willow St Pike N                                  Willow St, PA 17584‐9531                                                                                First Class Mail
Chartered Organization         United Church Of Christ ‐ Canal Fulton                     Buckeye Council 436                        8101 Manchester Ave Nw                                 Canal Fulton, OH 44614‐8601                                                                             First Class Mail
Chartered Organization         United Church Of Christ ‐ Vermillion                       Sioux Council 733                          226 E Main St                                          Vermillion, SD 57069‐2244                                                                               First Class Mail
Chartered Organization         United Church Of Christ Cong                               Lake Erie Council 440                      P.O. Box 228                                           Vermilion, OH 44089‐0228                                                                                First Class Mail
Chartered Organization         United Church Of Christ Congregation                       Glaciers Edge Council 620                  123 E Washington St                                    Delavan, WI 53115‐1713                                                                                  First Class Mail
Chartered Organization         United Church Of Christ Congregational                     The Spirit of Adventure 227                6 Lexington St                                         Burlington, MA 01803‐3734                                                                               First Class Mail
Chartered Organization         United Church Of Christ Congregational                     Great Trail 433                            217 E Liberty St                                       Medina, OH 44256‐3343                                                                                   First Class Mail
Chartered Organization         United Church Of Christ Congregational                     Seneca Waterways 397                       570 Klem Rd                                            Webster, NY 14580‐1541                                                                                  First Class Mail
Chartered Organization         United Church Of Christ East Goshen                        Chester County Council 539                 1201 N Chester Rd                                      West Chester, PA 19380‐6873                                                                             First Class Mail
Voting Party                   United Church Of Christ In Keene                           23 Central Sq                              Keene, NH 03431‐3707                                                                                                        cbagley@ucckeene.org               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Church Of Christ In North Hampton                   Daniel Webster Council, Bsa 330            295 Atlantic Ave                                       North Hampton, NH 03862‐2103                                                                            First Class Mail
Chartered Organization         United Church Of Christ Parker Hilltop                     Denver Area Council 061                    10926 Democrat Rd                                      Parker, CO 80134‐5019                                                                                   First Class Mail
Voting Party                   United Church Of Christ, Federated                         Attn: Ann Gibert                           4 Church St                                            Webster, MA 01570                                                    asgibert@gmail.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   United Church Of Christ, Federated                         Attn: Ann Sheaffer Gibert                  4 Church St                                            Webster, MA 01570                                                    asgibert@gmail.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Church Of Cornish                                   Daniel Webster Council, Bsa 330            P.O. Box 40                                            Cornish Flat, NH 03746‐0040                                                                             First Class Mail
Chartered Organization         United Church Of Crawfordsville                            Mississippi Valley Council 141 141         P.O. Box 95                                            Crawfordsville, IA 52621‐0095                                                                           First Class Mail
Chartered Organization         United Church Of Fairfax                                   Green Mountain 592                         10 School St                                           Fairfax, VT 05454‐9670                                                                                  First Class Mail
Voting Party                   United Church Of Fairfax                                   Attn: Reverend Katherine Arthaud           P.O. Box 204                                           Fairfax, VT 05454                                                                                       First Class Mail
Voting Party                   United Church Of Ferndale                                  c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                    erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Church Of Geneva                                    Lake Erie Council 440                      75 S Broadway                                          Geneva, OH 44041‐1843                                                                                   First Class Mail
Chartered Organization         United Church Of Hinesburg                                 Green Mountain 592                         Rt 116                                                 Hinesburg, VT 05461                                                                                     First Class Mail
Chartered Organization         United Church Of Hinesburg                                 Green Mountain 592                         P.O. Box 39                                            Hinesburg, VT 05461‐0039                                                                                First Class Mail
Chartered Organization         United Church Of Hyde Park                                 Pathway To Adventure 456                   1448 E 53rd St                                         Chicago, IL 60615‐4512                                                                                  First Class Mail
Voting Party                   United Church Of Idaho Springs                             Attn: J Horner                             P.O. Box 3070                                          Idaho Springs, CO 80452                                              cskennedy46@comcast.net            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   United Church Of Lincoln ‐ Vermont                         23 Quaker St                               Lincoln, VT 05443                                                                                                           jacox1980@yahoo.com                Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Church Of Milton                                    Green Mountain 592                         P.O. Box 107                                           Milton, VT 05468‐0107                                                                                   First Class Mail
Chartered Organization         United Church Of Monmouth                                  Pine Tree Council 218                      772 Main St                                            Monmouth, ME 04259                                                                                      First Class Mail
Voting Party                   United Church Of Monmouth                                  Attn: Gail G Dibiaso, Treasurer            778 Main St                                            P.O. Box 217                      Monmouth, ME 04259                 gdibiaso@roadrunner.com            Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   United Church Of Ovid                                      Attn: Karen Densmore, Treasurer            131 W Front St                                         Ovid, MI 48866                                                       khbatora@gmail.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Church Of Oxford                                    Baden‐Powell Council 368                   P.O. Box 566                                           Oxford, NY 13830‐0566                                                                                   First Class Mail
Chartered Organization         United Church Of Penacook                                  Daniel Webster Council, Bsa 330            21 Merrimack St                                        Penacook, NH 03303‐1419                                                                                 First Class Mail
Voting Party                   United Church Of Randolph                                  Attn: Roberta Hislop, Deacon Chair         P.O. Box 209                                           Randolph, VT 05060                                                   grandmab@exit4.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Church Of Rockville Centre                          Theodore Roosevelt Council 386             430 Morris Ave                                         Rockville Centre, NY 11570‐2039                                                                         First Class Mail
Voting Party                   United Church Of Rocoe                                     Attn: Amy A Tompkins                       2 Church St                                            Roscoe, NY 12776                                                     amy.tompkins@nyac‐umc.com          Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   United Church Of Rogers Park                               c/o Chicago United Church of Rogers Park   1545 W Morse Ave                                       Chicago, IL 60626                                                                                       First Class Mail
Voting Party                   United Church Of South Royalton, Federated                 P O Box 116                                South Royalton, VT 05068                                                                                                    ucsr@myfairpoint.net               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Church Of South Vienna                              Tecumseh 439                               227 E Main St                                          South Vienna, OH 45369                                                                                  First Class Mail
Chartered Organization         United Church Of South Vienna                              Tecumseh 439                               P.O. Box 526                                           South Vienna, OH 45369‐0526                                                                             First Class Mail
Voting Party                   United Church Of Thetford                                  Route 5                                    North Thetford, VT 05054                                                                                                    unitedchurchofthetford@gmail.com   Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   United Church Of Underhill                                 Attn: Rev Jennifer L Mihok                 P.O. Box 265                                           Underhill, VT 05489                                                  pastor@ucu.church                  Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   United Church Of Walsenburg                                Attn: Wanda Faye Stroh, Treasurer          108 Kansas Ave                                         Walsenburg, CO 81089                                                 jfstroh@msn.com                    Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   United Church Of Westville                                 Attn: Rev Young Choi                       34 Harrison St                                         New Haven, CT 06515                                                  shine153@gmail.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   United Churches Of Durham                                  Attn: Pam Huntley                          228 Main St                                            Durham, CT 06422‐2129                                                the.united.churches@snet.net       Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Communities                                         Garden State Council 690                   3700A Cir Dr                                           Joint Base MDl, NJ 08641                                                                                First Class Mail
Chartered Organization         United Community Church Of God                             Laurel Highlands Council 527               124 3rd St                                             Confluence, PA 15424‐2308                                                                               First Class Mail
Voting Party                   United Community Church Of Morrisville Vermont             Attn: Mary Ann Wilson, Treasurer           P.O. Box 475                                           Morrisville, VT 05661                                                mawwilson@aol.com                  Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Community Methodist Church                          Montana Council 315                        413 2nd St S                                           Shelby, MT 59474‐2359                                                                                   First Class Mail
Chartered Organization         United Congregational Church                               Connecticut Rivers Council, Bsa 066        45 Tolland Grn                                         Tolland, CT 06084‐3019                                                                                  First Class Mail
Chartered Organization         United Congregational Church                               Connecticut Rivers Council, Bsa 066        1622 Torringford St                                    Torrington, CT 06790‐3142                                                                               First Class Mail
Chartered Organization         United Day School                                          South Texas Council 577                    1701 San Isidro Pkwy                                   Laredo, TX 78045‐6261                                                                                   First Class Mail
Voting Party                   United Disciples Of Christ Church                          Attn: Rev Steven M Smith                   100 United Disciples Dr                                South Charleston, WV 25309                                           udpastor@suddenlinkmail.com        Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Dr Martin Luther Lutheran Church                    Elca                                       P.O. Box 26                                            Shiner, TX 77984‐0026                                                                                   First Class Mail
Chartered Organization         United Faith Presbyterian Church                           Anthony Wayne Area 157                     1616 W Main St                                         Fort Wayne, IN 46808‐3341                                                                               First Class Mail
Voting Party                   United Federated Church Of Williamstown                    Attn: Nancy Avery                          2426 Rte 14                                            P.O. Box 438                      Williamstown, VT 05679             alvinavery66@gmail.com             Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United First Methodist Chur                                Black Warrior Council 006                  1800 3rd Ave S                                         Jasper, AL 35501‐5314                                                                                   First Class Mail
Voting Party                   United Healthcare                                          22703 Network Pl                           Chicago, IL 60673‐1227                                                                                                                                         First Class Mail
Chartered Organization         United In Christ Lutheran/St Peter Ucc                     Susquehanna Council 533                    P.O. Box 95                                            West Milton, PA 17886‐0095                                                                              First Class Mail
Chartered Organization         United In Faith Lutheran Church                            Pathway To Adventure 456                   6525 W Irving Park Rd                                  Chicago, IL 60634‐2416                                                                                  First Class Mail
Voting Party                   United Japanese Christian Church                           Attn: Rev Akiko Miyake‐Stoner              136 N Villa Ave                                        Clovis, CA 93612                                                     akiko@ujcclife.com                 Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Lubavatcher Yeshiva Of Ocean Pk                     Greater New York Councils, Bsa 640         841 Ocean Pkwy                                         Brooklyn, NY 11230‐2700                                                                                 First Class Mail
Chartered Organization         United Lutheran Church                                     Bay‐Lakes Council 635                      Superior Ave                                           Crystal Falls, MI 49920                                                                                 First Class Mail
Chartered Organization         United Lutheran Church                                     Susquehanna Council 533                    167 Seven Points Rd                                    Sunbury, PA 17801‐7083                                                                                  First Class Mail
Chartered Organization         United Lutheran Church                                     Pacific Harbors Council, Bsa 612           1231 S 76th St                                         Tacoma, WA 98408‐2908                                                                                   First Class Mail
Voting Party                   United Lutheran Church                                     Attn: Carol Wells, Council President       101 E 38th St                                          Tacoma, WA 98404                                                     Scooterwells52@gmail.com           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Voting Party                   United Lutheran Church                                     Attn: Mary Kathryn Sanders                 3606 Tacoma Ave S                                      Tacoma, WA 98418                                                     marysandrs@gmail.com               Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Lutheran Church Of Proctor                          Voyageurs Area 286                         701 3rd Ave                                            Proctor, MN 55810‐2843                                                                                  First Class Mail
Chartered Organization         United Meth Church                                         Overland Trails 322                        424 E 4th St                                           Imperial, NE 69033‐2005                                                                                 First Class Mail
Chartered Organization         United Methodist ‐ Shawano                                 Bay‐Lakes Council 635                      1000 Engel Dr                                          Shawano, WI 54166‐3746                                                                                  First Class Mail
Voting Party                   United Methodist Camp Service                              Attn: Jessica Ellis, CFO                   475 Riverside Dr, Ste 1922                             New York, NY 10115                                                   jellis@umcitysociety.org           Email
                                                                                                                                                                                                                                                                                                    First Class Mail
Chartered Organization         United Methodist Church                                    Pacific Harbors Council, Bsa 612           100 E 2nd St                                           Aberdeen, WA 98520‐5214                                                                                 First Class Mail
Chartered Organization         United Methodist Church                                    Southern Shores Fsc 783                    1245 W Maple Ave                                       Adrian, MI 49221‐1313                                                                                   First Class Mail
Chartered Organization         United Methodist Church                                    President Gerald R Ford 781                409 Trowbridge St                                      Allegan, MI 49010‐1230                                                                                  First Class Mail
Chartered Organization         United Methodist Church                                    Overland Trails 322                        304 7th St                                             Alma, NE 68920‐2183                                                                                     First Class Mail
Chartered Organization         United Methodist Church                                    Ozark Trails Council 306                   P.O. Box 7                                             Aurora, MO 65605‐0007                                                                                   First Class Mail
Chartered Organization         United Methodist Church                                    Blue Mountain Council 604                  1919 2nd St                                            Baker City, OR 97814‐3310                                                                               First Class Mail
Chartered Organization         United Methodist Church                                    Mississippi Valley Council 141 141         745 Bainbridge St                                      Barry, IL 62312‐1205                                                                                    First Class Mail
Chartered Organization         United Methodist Church                                    Patriots Path Council 358                  22 Church St                                           Bernardsville, NJ 07924‐2233                                                                            First Class Mail
Chartered Organization         United Methodist Church                                    Westark Area Council 016                   400 Eureka Ave                                         Berryville, AR 72616‐3836                                                                               First Class Mail
Chartered Organization         United Methodist Church                                    Bucktail Council 509                       P.O. Box 304                                           Big Run, PA 15715‐0304                                                                                  First Class Mail
Chartered Organization         United Methodist Church                                    Northeast Georgia Council 101              P.O. Box 85                                            Blue Ridge, GA 30513‐0002                                                                               First Class Mail
Chartered Organization         United Methodist Church                                    Overland Trails 322                        1000 S 3rd Ave                                         Broken Bow, NE 68822‐3043                                                                               First Class Mail
Chartered Organization         United Methodist Church                                    Jayhawk Area Council 197                   207 S 6th St                                           Burlington, KS 66839‐1709                                                                               First Class Mail
Chartered Organization         United Methodist Church                                    Gamehaven 299                              507 1st Ave Nw                                         Byron, MN 55920‐1402                                                                                    First Class Mail
Chartered Organization         United Methodist Church                                    President Gerald R Ford 781                701 E Div St                                           Cadillac, MI 49601‐2013                                                                                 First Class Mail
Chartered Organization         United Methodist Church                                    Hawkeye Area Council 172                   823 Summit St                                          Center Point, IA 52213‐9224                                                                             First Class Mail
Chartered Organization         United Methodist Church                                    Longhouse Council 373                      Co Rt 12                                               Central Square, NY 13036                                                                                First Class Mail
Chartered Organization         United Methodist Church                                    Pony Express Council 311                   1414 Walnut St                                         Chillicothe, MO 64601‐1359                                                                              First Class Mail
Chartered Organization         United Methodist Church                                    Anthony Wayne Area 157                     750 N Main St                                          Churubusco, IN 46723‐1010                                                                               First Class Mail
Chartered Organization         United Methodist Church                                    Seneca Waterways 397                       1 E Main St                                            Clifton Springs, NY 14432‐1245                                                                          First Class Mail
Chartered Organization         United Methodist Church                                    Inland Nwest Council 611                   S Mill & Canyon                                        Colfax, WA 99111                                                                                        First Class Mail
Chartered Organization         United Methodist Church                                    Inland Nwest Council 611                   P.O. Box 147                                           Colfax, WA 99111‐0147                                                                                   First Class Mail
Chartered Organization         United Methodist Church                                    Ozark Trails Council 306                   330 W Maple St                                         Columbus, KS 66725‐1709                                                                                 First Class Mail
Chartered Organization         United Methodist Church                                    Golden Empire Council 047                  209 N Jefferson St                                     Dixon, CA 95620‐2942                                                                                    First Class Mail
Chartered Organization         United Methodist Church                                    Seneca Waterways 397                       58 Cornelia St                                         Dresden, NY 14441                                                                                       First Class Mail
Chartered Organization         United Methodist Church                                    W D Boyce 138                              701 S Columbia St                                      Dwight, IL 60420‐1652                                                                                   First Class Mail
Chartered Organization         United Methodist Church                                    Cape Cod and Islands Cncl 224              3200 State Hwy                                         Eastham, MA 02642‐2166                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                         Page 413 of 442
                                                                                Case 20-10343-LSS                                    Doc 8171                                Filed 01/06/22                                                Page 429 of 457
                                                                                                                                                                Exhibit B
                                                                                                                                                                 Service List
                                                                                                                                                          Served as set forth below

        Description                                                      Name                                                                                 Address                                                                                                         Email                  Method of Service
Chartered Organization         United Methodist Church                                 Miami Valley Council, Bsa 444           120 N Maple St                                       Eaton, OH 45320‐1826                                                                                  First Class Mail
Chartered Organization         United Methodist Church                                 French Creek Council 532                113 High St                                          Edinboro, PA 16412‐2552                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 San Diego Imperial Council 049          312 S 8th St                                         El Centro, CA 92243‐2907                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Pine Tree Council 218                   238 Harold L Dow Hwy                                 Eliot, ME 03903‐1437                                                                                  First Class Mail
Chartered Organization         United Methodist Church                                 Gateway Area 624                        204 Riverview Dr                                     Elroy, WI 53929‐1048                                                                                  First Class Mail
Chartered Organization         United Methodist Church                                 Bucktail Council 509                    306 S Spruce St                                      Emporium, PA 15834‐1542                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Leatherstocking 400                     P.O. Box 254                                         Esperance, NY 12066‐0254                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Westark Area Council 016                195 Huntsville Rd                                    Eureka Springs, AR 72632‐9730                                                                         First Class Mail
Chartered Organization         United Methodist Church                                 Golden Empire Council 047               9849 Fair Oaks Blvd                                  Fair Oaks, CA 95628‐7012                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Cornhusker Council 324                  605 E St                                             Fairbury, NE 68352‐2325                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Twin Valley Council Bsa 283             119 E 2nd St                                         Fairmont, MN 56031‐2812                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Winnebago Council, Bsa 173              305 S Clark St                                       Forest City, IA 50436‐1917                                                                            First Class Mail
Chartered Organization         United Methodist Church                                 Southwest Florida Council 088           14036 Matanzas Dr                                    Fort Myers, FL 33905‐2236                                                                             First Class Mail
Chartered Organization         United Methodist Church                                 Overland Trails 322                     1302 M St                                            Franklin, NE 68939‐1339                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Longhouse Council 373                   34 Grove St                                          Gouverneur, NY 13642‐1448                                                                             First Class Mail
Chartered Organization         United Methodist Church                                 Overland Trails 322                     500 Warren Ave                                       Grant, NE 69140                                                                                       First Class Mail
Chartered Organization         United Methodist Church                                 Attn: David Crow                        916 5th Ave                                          Grinnell, IA 50112‐1601                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Winnebago Council, Bsa 173              P.O. Box 484                                         Hampton, IA 50441‐0484                                                                                First Class Mail
Chartered Organization         United Methodist Church                                 Daniel Webster Council, Bsa 330         P.O. Box 304                                         Hillsboro, NH 03244‐0304                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Greater Yosemite Council 059            P.O. Box 129                                         Hughson, CA 95326‐0129                                                                                First Class Mail
Chartered Organization         United Methodist Church                                 Overland Trails 322                     4500 Linden Dr                                       Kearney, NE 68847‐2522                                                                                First Class Mail
Chartered Organization         United Methodist Church                                 Trapper Trails 589                      P.O. Box 704                                         Kemmerer, WY 83101‐0704                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Greater Los Angeles Area 033            3205 D St                                            La Verne, CA 91750‐4026                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Glaciers Edge Council 620               912 Geneva St                                        Lake Geneva, WI 53147‐1803                                                                            First Class Mail
Chartered Organization         United Methodist Church                                 Montana Council 315                     512 W Broadway St                                    Lewistown, MT 59457‐2627                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Montana Council 315                     512 W Broadway St                                    Lewistown, MT 59457‐2627                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Iroquois Trail Council 376              P.O. Box 483                                         Lyndonville, NY 14098‐0483                                                                            First Class Mail
Chartered Organization         United Methodist Church                                 Greater Yosemite Council 059            P.O. Box 248                                         Mariposa, CA 95338‐0248                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Gateway Area 624                        614 Suszycki Dr                                      Mauston, WI 53948‐1631                                                                                First Class Mail
Chartered Organization         United Methodist Church                                 Attn: David Lucas                       502 Cherry St                                        Maysville, MO 64469‐9056                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Iroquois Trail Council 376              11004 W Center St Ext                                Medina, NY 14103‐9557                                                                                 First Class Mail
Chartered Organization         United Methodist Church                                 Chippewa Valley Council 637             2709 Bongey Dr                                       Menomonie, WI 54751                                                                                   First Class Mail
Chartered Organization         United Methodist Church                                 Jayhawk Area Council 197                300 E Main St                                        Meriden, KS 66512‐9486                                                                                First Class Mail
Chartered Organization         United Methodist Church                                 President Gerald R Ford 781             111 Church St                                        Middleville, MI 49333‐8000                                                                            First Class Mail
Chartered Organization         United Methodist Church                                 Circle Ten Council 571                  800 S 9th St                                         Midlothian, TX 76065‐3658                                                                             First Class Mail
Chartered Organization         United Methodist Church                                 Cornhusker Council 324                  610 2nd St                                           Milford, NE 68405‐8514                                                                                First Class Mail
Chartered Organization         United Methodist Church                                 Juniata Valley Council 497              P.O. Box K                                           Mill Creek, PA 17060‐0910                                                                             First Class Mail
Chartered Organization         United Methodist Church                                 Monmouth Council, Bsa 347               47 N Main St                                         Milltown, NJ 08850‐1526                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Overland Trails 322                     340 N Newell Ave                                     Minden, NE 68959‐2415                                                                                 First Class Mail
Chartered Organization         United Methodist Church                                 Blackhawk Area 660                      2227 4th St                                          Monroe, WI 53566‐1237                                                                                 First Class Mail
Chartered Organization         United Methodist Church                                 Blackhawk Area 660                      200 W Lincolnway                                     Morrison, IL 61270‐2435                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Allegheny Highlands Council 382         P.O. Box Q                                           Mt Jewett, PA 16740‐0560                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Greater St Louis Area Council 312       1220 W Main St                                       Mt Zion, IL 62549‐1346                                                                                First Class Mail
Chartered Organization         United Methodist Church                                 Ozark Trails Council 306                500 S College St                                     Nevada, MO 64772‐2821                                                                                 First Class Mail
Chartered Organization         United Methodist Church                                 Overland Trails 322                     1600 W E St                                          North Platte, NE 69101‐4957                                                                           First Class Mail
Chartered Organization         United Methodist Church                                 Cape Cod and Islands Cncl 224           40 Trinity Park                                      Oak Bluffs, MA 02568                                                                                  First Class Mail
Chartered Organization         United Methodist Church                                 Greater Yosemite Council 059            1041 Poplar St                                       Oakdale, CA 95361                                                                                     First Class Mail
Chartered Organization         United Methodist Church                                 Oregon Trail Council 697                48137 E 1st St                                       Oakridge, OR 97463‐9704                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Inland Nwest Council 611                337 College Ave                                      Orofino, ID 83544                                                                                     First Class Mail
Chartered Organization         United Methodist Church                                 Great SW Council 412                    P.O. Box 300                                         Pagosa Springs, CO 81147‐0300                                                                         First Class Mail
Chartered Organization         United Methodist Church                                 Blackhawk Area 660                      1065 Lancaster St                                    Platteville, WI 53818‐1131                                                                            First Class Mail
Chartered Organization         United Methodist Church                                 Pony Express Council 311                301 W Broadway St                                    Plattsburg, MO 64477‐1413                                                                             First Class Mail
Chartered Organization         United Methodist Church                                 Blackhawk Area 660                      P.O. Box 217                                         Poplar Grove, IL 61065‐0217                                                                           First Class Mail
Chartered Organization         United Methodist Church                                 Longhouse Council 373                   8510 S St Rd                                         Port Byron, NY 13140                                                                                  First Class Mail
Chartered Organization         United Methodist Church                                 Theodore Roosevelt Council 386          35 Middle Neck Rd                                    Port Washington, NY 11050                                                                             First Class Mail
Chartered Organization         United Methodist Church                                 Allegheny Highlands Council 382         10 N Main St                                         Portville, NY 14770                                                                                   First Class Mail
Chartered Organization         United Methodist Church                                 Gamehaven 299                           212 St Anthony St N                                  Preston, MN 55965‐1133                                                                                First Class Mail
Chartered Organization         United Methodist Church                                 Del Mar Va 081                          107 N Central Ave                                    Ridgely, MD 21660                                                                                     First Class Mail
Chartered Organization         United Methodist Church                                 Cornhusker Council 324                  220 W Pine St                                        Rising City, NE 68658‐3880                                                                            First Class Mail
Chartered Organization         United Methodist Church                                 Daniel Webster Council, Bsa 330         34 S Main St                                         Rochester, NH 03867‐2702                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Crossroads of America 160               128 N Market St                                      Rockville, IN 47872‐1718                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Greater Los Angeles Area 033            26438 Crenshaw Blvd                                  Rolling Hills, CA 90274‐2517                                                                          First Class Mail
Chartered Organization         United Methodist Church                                 Connecticut Yankee Council Bsa 072      92 Church Hill Rd                                    Sandy Hook, CT 06482‐1110                                                                             First Class Mail
Chartered Organization         United Methodist Church                                 W L A C C 051                           26640 Bouquet Canyon Rd                              Saugus, CA 91350‐2355                                                                                 First Class Mail
Chartered Organization         United Methodist Church                                 Mid‐America Council 326                 506 8th Ave                                          Sheldon, IA 51201‐1654                                                                                First Class Mail
Chartered Organization         United Methodist Church                                 Overland Trails 322                     207 A St                                             Shelton, NE 68876‐1790                                                                                First Class Mail
Chartered Organization         United Methodist Church                                 W D Boyce 138                           P.O. Box 147                                         Sheridan, IL 60551‐0147                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Moraine Trails Council 500              Franklin & Maple St                                  Slippery Rock, PA 16057                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Buckskin 617                            202 3rd St E                                         South Point, OH 45680‐9452                                                                            First Class Mail
Chartered Organization         United Methodist Church                                 Anthony Wayne Area 157                  P.O. Box 386                                         South Whitley, IN 46787‐0386                                                                          First Class Mail
Chartered Organization         United Methodist Church                                 Southern Shores Fsc 783                 258 Green St                                         Springport, MI 49284‐9513                                                                             First Class Mail
Chartered Organization         United Methodist Church                                 Pony Express Council 311                508 N Park St                                        Stanberry, MO 64489‐1250                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Quivira Council, Bsa 198                137 N Broadway Ave                                   Sterling, KS 67579‐2130                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Blackhawk Area 660                      P.O. Box 80                                          Steward, IL 60553‐0080                                                                                First Class Mail
Chartered Organization         United Methodist Church                                 Greater St Louis Area Council 312       214 N Cedar St                                       Stewardson, IL 62463                                                                                  First Class Mail
Chartered Organization         United Methodist Church                                 Glaciers Edge Council 620               525 Lincoln Ave                                      Stoughton, WI 53589‐1225                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Patriots Path Council 358               91 Main St                                           Succasunna, NJ 07876‐1417                                                                             First Class Mail
Chartered Organization         United Methodist Church                                 Greater Tampa Bay Area 089              1210 W Del Webb Blvd                                 Sun City Center, FL 33573‐5224                                                                        First Class Mail
Chartered Organization         United Methodist Church                                 Overland Trails 322                     448 N Kansas St                                      Superior, NE 68978‐1851                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Abraham Lincoln Council 144             200 S Walnut St                                      Taylorville, IL 62568‐2244                                                                            First Class Mail
Chartered Organization         United Methodist Church                                 Miami Valley Council, Bsa 444           8 W Main St                                          Tipp City, OH 45371‐1809                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Prairielands 117                        P.O. Box 1                                           Tolono, IL 61880‐0001                                                                                 First Class Mail
Chartered Organization         United Methodist Church                                 Quivira Council, Bsa 198                103 S 4th St                                         Towanda, KS 67144‐8857                                                                                First Class Mail
Chartered Organization         United Methodist Church                                 California Inland Empire Council 045    15150 La Paz Dr                                      Victorville, CA 92395‐3623                                                                            First Class Mail
Chartered Organization         United Methodist Church                                 Seneca Waterways 397                    3671 Walworth Rd                                     Walworth, NY 14568‐9461                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 Trapper Trails 589                      163 W 4800 S                                         Washington Terrace, UT 84405‐6133                                                                     First Class Mail
Chartered Organization         United Methodist Church                                 Connecticut Rivers Council, Bsa 066     305 Main St                                          Watertown, CT 06795‐2209                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Five Rivers Council, Inc 375            36 Main St                                           Wellsboro, PA 16901‐1502                                                                              First Class Mail
Chartered Organization         United Methodist Church                                 Simon Kenton Council 441                36 S Center St                                       West Jefferson, OH 43162‐1502                                                                         First Class Mail
Chartered Organization         United Methodist Church                                 Winnebago Council, Bsa 173              301 Hansen Blvd                                      West Union, IA 52175‐1268                                                                             First Class Mail
Chartered Organization         United Methodist Church                                 Ventura County Council 057              1049 S Westlake Blvd                                 Westlake Village, CA 91361‐3117                                                                       First Class Mail
Chartered Organization         United Methodist Church                                 Mid‐America Council 326                 509 Lincolnway St                                    Woodbine, IA 51579‐1237                                                                               First Class Mail
Chartered Organization         United Methodist Church                                 W D Boyce 138                           112 W Main St                                        Wyanet, IL 61379‐9690                                                                                 First Class Mail
Chartered Organization         United Methodist Church                                 California Inland Empire Council 045    35177 Beech Ave                                      Yucaipa, CA 92399‐3831                                                                                First Class Mail
Voting Party                   United Methodist Church                                 Attn: William Winston Chu               1109 Glenwood Dr                                     Mt Pleasant, MI 48858                                            wmwchu@gmail.com                     Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 Attn: Steven Bruns                      701 Turner St                                        Waynesbro, MS 39367                                              waynesbrofirstmethodist@gmail.com    Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 845 N 5th St                            Spearfish, SD 57783                                                                                                   scott.mckirdy@spearfishumc.org       Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 Ruben Rivera                            651 Lillie St                                        Elgin, IL 60120                                                  ruben.nacho90@yahoo.com              Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 Attn: Laura Alvarez                     P.O. Box 464                                         Point Comfort, TX 77978                                          rev.laura.alvarez@gmail.com          Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 Attn: Jill Colley Robinson              145 Pulp Mill Bridge Rd                              Weybridge, VT 05753                                              rev.jill.colley.robinson@gmail.com   Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 Attn: Jill Elizabeth Colley Robinson    145 Pulp Mill Bridge Rd                              Weybridge, VT 05753                                              rev.jill.colley.robinson@gmail.com   Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 Attn: Rev Gerry Piper                   2 Hillcrest Rd                                       Springfield, VT 05156                                            piperpray4me@netzero.net             Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 Attn: Heather Ryan Bailes Baker         57 Pond St                                           Osterville, MA 02655                                             pastorheather@umcchurches.org        Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 Attn: Pamela Bruns                      96 Cr 17                                             Stringer, MS 39481                                               pamelapbruns@gmail.com               Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 Nicholas G Guay                         86 Summit St                                         Baileyville, ME 04694                                            ngguay68@gmail.com                   Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 Attn: Nema R Lecuyer                    698 Mulberry Lane                                    El Centro, CA 92243                                              nemadean@outlook.com                 Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 Minchang Lee                            2 Bean Hill Rd                                       Northfield, NH 03276                                             mtulmc@gmail.com                     Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 Attn: John Herbert Lucy                 127 Richardson Corner Rd                             Charlton, MA 01507                                               john@cc‐umc.org                      Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church                                 Robel Willson Grant Jr                  1221 Meadowood Rd                                    Colombia, MS 39429                                                                                    First Class Mail
Voting Party                   United Methodist Church                                 Attn: Eddie Ray Todd                    48 Believer Dr                                       Keystone, WV 24868                                                                                    First Class Mail
Voting Party                   United Methodist Church                                 Attn: Eddie Ray Todd                    892 Froglevel Rd                                     Welch, WV 24801                                                                                       First Class Mail
Chartered Organization         United Methodist Church ‐ Beach City                    Buckeye Council 436                     P.O. Box 336                                         Beach City, OH 44608‐0336                                                                             First Class Mail
Chartered Organization         United Methodist Church ‐ Clinton                       Last Frontier Council 480               1001 Frisco Ave                                      Clinton, OK 73601‐3326                                                                                First Class Mail
Chartered Organization         United Methodist Church ‐ Elk City                      Last Frontier Council 480               720 W Country Club Blvd                              Elk City, OK 73644‐1418                                                                               First Class Mail
Chartered Organization         United Methodist Church ‐ Erie                          Longs Peak Council 062                  604 Holbrook St                                      Erie, CO 80516                                                                                        First Class Mail
Chartered Organization         United Methodist Church ‐ Fort Morgan                   Longs Peak Council 062                  117 E Bijou Ave                                      Fort Morgan, CO 80701‐2101                                                                            First Class Mail
Chartered Organization         United Methodist Church ‐ Fort Morgan                   Longs Peak Council 062                  117 E Bijou Ave                                      Fort Morgan, CO 80701‐2101                                                                            First Class Mail
Voting Party                   United Methodist Church ‐ Highbridge                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                   100 N Tampa St, Ste 2200            Tampa, FL 33602              erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         United Methodist Church ‐ Mens Club                     Bay‐Lakes Council 635                   856 Michigan St                                      Sturgeon Bay, WI 54235                                                                                First Class Mail
Chartered Organization         United Methodist Church ‐ Mequon                        Bay‐Lakes Council 635                   11011 N Oriole Ln                                    Mequon, WI 53092‐4915                                                                                 First Class Mail
Chartered Organization         United Methodist Church ‐ Methodist Men                 South Texas Council 577                 111 N Adams St                                       Alice, TX 78332‐4827                                                                                  First Class Mail
Chartered Organization         United Methodist Church ‐ Remington                     Sagamore Council 162                    121 S Ohio St                                        Remington, IN 47977‐8667                                                                              First Class Mail
Chartered Organization         United Methodist Church ‐ Selah                         Grand Columbia Council 614              1061 Selah Loop Rd                                   Selah, WA 98942‐8817                                                                                  First Class Mail
Chartered Organization         United Methodist Church ‐ Suamico                       Bay‐Lakes Council 635                   3266 Lakeview Dr                                     Suamico, WI 54173‐8143                                                                                First Class Mail
Chartered Organization         United Methodist Church & Federated                     Mid‐America Council 326                 2710 14th St                                         Columbus, NE 68601‐4930                                                                               First Class Mail
Chartered Organization         United Methodist Church & Kiwanis Club                  Water and Woods Council 782             2490 W State Rd                                      West Branch, MI 48661‐9213                                                                            First Class Mail
Chartered Organization         United Methodist Church & Knights Of                    Utah National Parks 591                 10 N 200 E                                           Price, UT 84501‐2506                                                                                  First Class Mail
Chartered Organization         United Methodist Church & Tawas Kiwanis                 Water and Woods Council 782             20 E M‐55                                            Tawas City, MI 48763                                                                                  First Class Mail
Chartered Organization         United Methodist Church Admin Board                     Mississippi Valley Council 141 141      3rd and Knox                                         Oquawka, IL 61469                                                                                     First Class Mail
Voting Party                   United Methodist Church At Berlin                       Attn: Sharon Goodermote                 17 S Main St                                         P.O. Box 225                        Berlin, NY 12022             goodermotess@yahoo.com               Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church At Demarest                     c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                   100 N Tampa St, Ste 2200            Tampa, FL 33602              erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church At Shrub Oak                    Attn: Trustees                          1176 E Main St                                       Shrub Oak, NY 10588‐1409                                         umcso.ny@gmail.com                   Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church Bear Creek Camp                 59 S Poplar St                          Marianna, AR 72360                                                                                                    glenn.hicks@arumc.org                Email
                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         United Methodist Church Bear Creek Umc                  Sam Houston Area Council 576            16000 Rippling Water Dr                              Houston, TX 77084‐2908                                                                                First Class Mail
Chartered Organization         United Methodist Church Bushnell                        Illowa Council 133                      390 N Crafford St                                    Bushnell, IL 61422‐1450                                                                               First Class Mail
Chartered Organization         United Methodist Church Central City                    Lincoln Heritage Council 205            200 E Broad St                                       Central City, KY 42330‐1518                                                                           First Class Mail
Chartered Organization         United Methodist Church Chelan                          Grand Columbia Council 614              P.O. Box 1236                                        Chelan, WA 98816‐1236                                                                                 First Class Mail
Chartered Organization         United Methodist Church Dike                            Winnebago Council, Bsa 173              439 Church St                                        Dike, IA 50624‐9628                                                                                   First Class Mail
Voting Party                   United Methodist Church Dove Creek, Co                  Attn: Jackie Nielson                    P.O. Box 628                                         Dove Creek, CO 81324                                             Sallyfury@aol.com                    Email
                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         United Methodist Church Frankston                       East Texas Area Council 585             P.O. Box 355                                         Frankston, TX 75763‐0355                                                                              First Class Mail
Chartered Organization         United Methodist Church Good Fellowship                 Pine Tree Council 218                   P.O. Box 447                                         Naples, ME 04055‐0447                                                                                 First Class Mail
Voting Party                   United Methodist Church Greensboro Bend, Ut             United Methodist Church                 813 Main                                             Greensboro Bend, UT 05842                                                                             First Class Mail
Chartered Organization         United Methodist Church Hawesville                      Lincoln Heritage Council 205            P.O. Box 365                                         Hawesville, KY 42348‐0365                                                                             First Class Mail
Voting Party                   United Methodist Church In Madison                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                   100 N Tampa St, Ste 2200            Tampa, FL 33602              erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         United Methodist Church In Stow                         Great Trail 433                         4880 Fishcreek Rd                                    Stow, OH 44224‐1930                                                                                   First Class Mail
Voting Party                   United Methodist Church In Wayne                        c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                   100 N Tampa St, Ste 2200            Tampa, FL 33602              erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         United Methodist Church Liberty                         Hudson Valley Council 374               170 N Main St                                        Liberty, NY 12754‐1820                                                                                First Class Mail
Chartered Organization         United Methodist Church Magnolia                        Sam Houston Area Council 576            419 Commerce St                                      Magnolia, TX 77355‐8519                                                                               First Class Mail
Chartered Organization         United Methodist Church Mens Club                       Alliance, Longs Peak Council 062        704 Box Butte Ave                                    Alliance, NE 69301‐2938                                                                               First Class Mail
Chartered Organization         United Methodist Church Mens Club                       Andrew Jackson Council 303              P.O. Box 68                                          Forest, MS 39074‐0068                                                                                 First Class Mail
Chartered Organization         United Methodist Church Mens Club                       Snake River Council 111                 805 Main St                                          Gooding, ID 83330‐1622                                                                                First Class Mail
Chartered Organization         United Methodist Church Mens Club                       Heart of America Council 307            209 S Silver St                                      Paola, KS 66071‐1661                                                                                  First Class Mail
Chartered Organization         United Methodist Church Mens Club                       President Gerald R Ford 781             1804 E Mitchell Rd                                   Petoskey, MI 49770‐9686                                                                               First Class Mail
Chartered Organization         United Methodist Church Mens Club                       Last Frontier Council 480               P.O. Box 397                                         Prague, OK 74864‐0397                                                                                 First Class Mail
Chartered Organization         United Methodist Church Murphysboro                     Greater St Louis Area Council 312       1500 Pine St                                         Murphysboro, IL 62966‐2055                                                                            First Class Mail
Chartered Organization         United Methodist Church Northridge                      W L A C C 051                           9650 Reseda Blvd                                     Northridge, CA 91324‐2017                                                                             First Class Mail
Chartered Organization         United Methodist Church Of 29 Palms                     California Inland Empire Council 045    6250 Mesquite Springs Rd                             Twentynine Palms, CA 92277                                                                            First Class Mail
Chartered Organization         United Methodist Church Of Anacortes                    Mt Baker Council, Bsa 606               2200 H Ave                                           Anacortes, WA 98221                                                                                   First Class Mail
Voting Party                   United Methodist Church Of Anacortes                    c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                   100 N Tampa St, Ste 2200            Tampa, FL 33602              erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         United Methodist Church Of Andover                      Lake Erie Council 440                   P.O. Box 207                                         Andover, OH 44003‐0207                                                                                First Class Mail
Chartered Organization         United Methodist Church Of Anna                         Greater St Louis Area Council 312       111 W Monroe St                                      Anna, IL 62906‐1606                                                                                   First Class Mail
Voting Party                   United Methodist Church Of Antioch                      848 Main St                             Antioch, IL 60002                                                                                                     umpastorkatie@gmail.com              Email
                                                                                                                                                                                                                                                                                          First Class Mail
Chartered Organization         United Methodist Church Of Atwater                      Greater Yosemite Council 059            1763 Augusta Ln                                      Atwater, CA 95301‐4280                                                                                First Class Mail
Voting Party                   United Methodist Church Of Atwater                      Attn: William Robert Arnold             2550 Linden St                                       Atwater, CA 95301                                                unitedmethodists@sbcglobal.net       Email
                                                                                                                                                                                                                                                                                          First Class Mail
Voting Party                   United Methodist Church Of Auburn                       Attn: Treasurer                         439 Park Ave                                         Auburn, ME 04210‐8557                                            office@auburnmethodist.org           Email
                                                                                                                                                                                                                                                                                          First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                 Page 414 of 442
                                                                                 Case 20-10343-LSS                                                    Doc 8171                                 Filed 01/06/22                                              Page 430 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                       Name                                                                                                  Address                                                                                                        Email              Method of Service
Voting Party                   United Methodist Church Of Babylon                          Attn: Robert Dunlop                                  21 James St                                           Babylon, NY 11702                                              rkdunlop12@gmail.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Bay Shore                        Attn: Rev Wendy Modeste                              107 E Main St                                         Bay Shore, NY 11706                                            Mwend481@aol.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Belle Plaine                     Quivira Council, Bsa 198                             124 E 10th Ave                                        Belle Plaine, KS 67013‐9118                                                                      First Class Mail
Chartered Organization         United Methodist Church Of Berthoud                         Longs Peak Council 062                               820 9th St                                            Berthoud, CO 80513‐1166                                                                          First Class Mail
Chartered Organization         United Methodist Church Of Berthoud                         Longs Peak Council 062                               820 9th St                                            Berthoud, CO 80513‐1166                                                                          First Class Mail
Voting Party                   United Methodist Church Of Bolton                           Attn: David Martin                                   1041 Boston Tpke                                      Bolton, CT 06043                                               UMCofBoltonCT@comcast.net         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Brady                            Attn: Pastor Brady                                   P.O. Box 1030                                         Brady, TX 76825                                                fumcoffice@fumcbrady.org          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Caddo Mills                      Circle Ten Council 571                               2500 1st St                                           Caddo Mills, TX 75135                                                                            First Class Mail
Voting Party                   United Methodist Church Of Cadillac                         Attn: Bill George                                    1020 E Div St                                         P.O. Box 37                    Cadillac, MI 49601              umccadillac@gmail.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Cadillac                         Attn: Sara Adkin                                     P.O. Box 37                                           Cadillac, MI 49601                                                                               First Class Mail
Chartered Organization         United Methodist Church Of Canfield                         Great Trail 433                                      27 S Broad St                                         Canfield, OH 44406‐1402                                                                          First Class Mail
Voting Party                   United Methodist Church Of Castro Valley                    Attn: Steven David Grant                             14732 Pepperdine St                                   San Leandro, CA 94579                                          grant6925@sbcglobal.net           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Castro Valley                    Attn: Pastor                                         19806 Wisteria St                                     Castro Valley, CA 94546                                        grant6925@sbcglobal.net           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Chagrin Falls                    Attn: Dan Spisak, Chair, Trustees                    20 S Franklin St                                      Chagrin Falls, OH 44022                                        chris@itcohio.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Charleston                       Greater St Louis Area Council 312                    1700 E Marshall St                                    Charleston, MO 63834‐9279                                                                        First Class Mail
Chartered Organization         United Methodist Church Of Cheney                           Quivira Council, Bsa 198                             P.O. Box 237                                          Cheney, KS 67025‐0237                                                                            First Class Mail
Chartered Organization         United Methodist Church Of Cheney                           Quivira Council, Bsa 198                             406 W 3rd Ave                                         Cheney, KS 67025‐2518                                                                            First Class Mail
Voting Party                   United Methodist Church Of Chillicothe,Missouri, Inc        Attn: Pastor Buck Cueni‐Smtih                        1414 Walnut                                           Chillicothe, MO 64601                                          buck@chillicotheumc.org           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Christ                           Quivira Council, Bsa 198                             103 S 4th St                                          Towanda, KS 67144‐8857                                                                           First Class Mail
Voting Party                   United Methodist Church Of Christ                           c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200       Tampa, FL 33602                 erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Christ                           916 Ave F                                            Wisner, NE 68791                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Clearwater                       Quivira Council, Bsa 198                             130 N 1st St                                          Clearwater, KS 67026‐8704                                                                        First Class Mail
Chartered Organization         United Methodist Church Of Clinton                          Connecticut Rivers Council, Bsa 066                  10 Commerce St                                        Clinton, CT 06413‐2017                                                                           First Class Mail
Chartered Organization         United Methodist Church Of Clinton                          Connecticut Rivers Council, Bsa 066                  12 Commerce St                                        Clinton, CT 06413‐2017                                                                           First Class Mail
Chartered Organization         United Methodist Church Of Cochranton                       French Creek Council 532                             114 E Adams St                                        Cochranton, PA 16314‐8604                                                                        First Class Mail
Voting Party                   United Methodist Church Of Cooperstown                      Attn: Dana K Horrell                                 41 Ford Ave                                           Oneonta, NY 13326                                              dkhorrell@gmail.com               Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Cooperstown                      Attn: Dan Evans                                      66 Chestnut St                                        Cooperstown, NY 13326                                          ctownumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Corona                           Attn: Rev Elisa Vicioso                              42‐15 104 St                                          Corona, NY 11368                                               umcDcorona@gmail.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Corona                           Rev Elisa Vicioso                                    42‐15 104 St                                          Corona, NY 11368                                               umcDcorona@gmail.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Corona                           Attn: President Trustees Cumc                        2880 California Ave                                   Corona, CA 92881                                               marctrif@gmail.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Cucamonga                        Attn: Finance Chair Umc Cucamonga                    7690 Archibald Ave                                    Rancho Cucamonga, CA 91730                                     stevkath@aol.com                  Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Danbury                          Attn: Pastor Kimberly Bosley                         5 Clapboard Ridge Rd                                  Danbury, CT 06811                                              danburyumc@sbcglobal.net          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church of Deerfield                        c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200       Tampa, FL 33602                 erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Eagle Valley                     Attn: Louise Carter                                  P.O. Box 546                                          Eagle, CO 81631                                                Office@umcofeaglevalley.org       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of East Meadow                      Attn: Dorett Johnson‐Agu                             470 E Meadow Ave                                      East Meadow, NY 11554                                          eastmeadowumc@optonline.net       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Ebensburg                        Laurel Highlands Council 527                         100 E Highland Ave                                    Ebensburg, PA 15931‐1126                                                                         First Class Mail
Voting Party                   United Methodist Church Of Evergreen                        Attn: Penn Gildersleeve, Trustee Chair Umce          3757 Ponderosa Dr                                     Evergreen, CO 80439                                            office@evergreenUMC.org           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Farmington                       W D Boyce 138                                        187 W Fulton St                                       Farmington, IL 61531‐1131                                                                        First Class Mail
Chartered Organization         United Methodist Church Of Fayetteville                     Longhouse Council 373                                P.O. Box 158                                          Fayetteville, NY 13066‐0158                                                                      First Class Mail
Voting Party                   United Methodist Church Of Fayetteville                     601 E Genesee St                                     P.O. Box 158                                          Fayetteville, NY 13066‐0158                                    contactus@fayettevilleumc.org     Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Floral Park                      Attn: Benjamin Yoo                                   35 Verbena Ave                                        Floral Park, NY 11001                                          umcflpk@aol.com                   Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Fonda‐Fultonville                Attn: Thomas Pullen                                  55 Prospect St                                        Fultonville, NY 12072                                          tompullen@nycap.rr.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church of Gales Ferry                      Attn: Treasurer                                      10 Chapman Ln                                         Gales Ferry, CT 06335                                          pastorbentum@gmail.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Galveston                        Attn: David Duke                                     515 S Maple St                                        P.O. Box 639                   Galveston, IN 46932             david.duke@inumc.org              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Glidden                          Mid‐America Council 326                              110 E US Hwy 30                                       Glidden, IA 51443                                                                                First Class Mail
Voting Party                   United Methodist Church Of Good Fellowship, Naples, Maine   Attn: Seth A Fortie                                  1000 Roosevelt Trl                                    Naples, ME 04055                                               pastorsethfortier@gmail.com       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Hagerman                         c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200       Tampa, FL 33602                 erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Hartford                         Attn: Beth Ann Loveland Sennett, Trustees Chair      571 Farmington Ave                                    Hartford, CT 06105                                             blovelandsennett56@gmail.com      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Hibbing                          Voyageurs Area 286                                   303 E 23rd St                                         Hibbing, MN 55746‐1916                                                                           First Class Mail
Chartered Organization         United Methodist Church Of Hugoton Ks                       Santa Fe Trail Council 194                           828 S Main St                                         Hugoton, KS 67951‐2436                                                                           First Class Mail
Voting Party                   United Methodist Church Of Hygiene                          Attn: Andrew W Ernst Trustee                         P.O. Box 76                                           7542 Hygiene Rd                Hygiene, CO 80533               papa833ernst@gmail.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Islip                            P O Box 507                                          Islip, NY 11751                                                                                                      patdymek@gmail.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Johnstown                        Attn: Treasurer & Richard Bruce Bandy                108 King Ave                                          Johnstown, CO 80534                                            treasurer@johnstown.church        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Kahoka, Inc                      Attn: Shirley Anne Neves                             P.O. Box 67                                           Kahoka, MO 63445                                               sneves221@yahoo.com               Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Kent                             Great Trail 433                                      1435 E Main St                                        Kent, OH 44240‐2888                                                                              First Class Mail
Voting Party                   United Methodist Church Of Kent                             P O Box 646                                          Kent, OH 44240                                                                                                       lynnette@kentmethodist.org        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Kent                             Attn: David Arthur Palmer                            1435 E Main St                                        Kent, OH 44240                                                 davepalmer@kentmethodist.org      Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of La Mirada                        Attn: Paige Eaves                                    15700 Rosecrans Ave                                   La Mirada, CA 90638                                            office@umclamirada.org            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Lake Ronkonkoma                  Attn: Wendy Duffy                                    792 Hawkins Ave                                       Lake Grove, NY 11755                                           cathy@umclr.com                   Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Lamar                            107 S 6th St                                         Lamar, CO 81052                                                                                                      lamarumc@live.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Lander                           Greater Wyoming Council 638                          262 N 3rd St                                          Lander, WY 82520‐2811                                                                            First Class Mail
Voting Party                   United Methodist Church Of Lemars                           901 3rd Ave Se                                       Lemars, IA 51031                                                                                                     office@lemarsumchurch.org         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Lenox Ma                         Attn: John Allen                                     6 Holmes Rd                                           Lenox, MA 01240                                                                                  First Class Mail
Chartered Organization         United Methodist Church Of Libertyville                     Northeast Illinois 129                               429 Brainerd Ave                                      Libertyville, IL 60048‐2107                                                                      First Class Mail
Voting Party                   United Methodist Church Of Libertyville                     Libertyville Umc                                     429 Brainerd Ave                                      Libertyville, IL 60048                                         jay.carr@umcl.org                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Lindsay                          Last Frontier Council 480                            P.O. Box 184                                          Lindsay, OK 73052‐0184                                                                           First Class Mail
Voting Party                   United Methodist Church of Litchfield                       69 West St                                           P.O. Box 65                                           Litchfield, CT 06759                                           matn0202@yahoo.com                Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Los Altos                        Attn: Denise Robinson                                655 Magdalena Ave                                     Los Altos, CA 94024                                            deniserobinson@laumc.org          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Los Banos                        Attn: Catherine Wolf‐Miyamoto                        1031 Iowa St                                          Los Banos, CA 93635                                            umclb@att.net                     Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Lowry City                       Heart of America Council 307                         First and Main                                        Lowry City, MO 64763                                                                             First Class Mail
Voting Party                   United Methodist Church Of Ludington                        Attn: Dawn Mumford Treasurer                         5810 Bryant Rd                                        Ludington, MI 49431                                            ludumctreasurer@gmail.com         Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Macedonia                        Lake Erie Council 440                                1280 E Aurora Rd                                      Macedonia, OH 44056‐1912                                                                         First Class Mail
Voting Party                   United Methodist Church of Macedonia                        Attn: Jill Marlow                                    1280 E Aurora Rd                                      Macedonia, OH 44056                                            jmarlowumc@macedonia.org          Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Madera                           Sequoia Council 027                                  500 Sunset Ave                                        Madera, CA 93637‐3012                                                                            First Class Mail
Voting Party                   United Methodist Church Of Madison                          Attn: Gloria Vanduyn                                 304 N Egan Ave                                        Madison, SD 57042                                              madison.umc@midconework.com       Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Manton                           President Gerald R Ford 781                          102 N Michigan Ave                                    Manton, MI 49663‐8086                                                                            First Class Mail
Voting Party                   United Methodist Church Of Merced                           Attn: Nadine Weisbrod                                899 Yosemite Pkwy                                     Merced, CA 95340                                               nadine@umcmerced.org              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Mims                             Central Florida Council 083                          3302 Green St                                         Mims, FL 32754‐3813                                                                              First Class Mail
Voting Party                   United Methodist Church Of Mitchellville                    Attn: Scott F Meister                                P.O. Box 386                                          Mitchellville, IA 50169‐0386                                   MitchellvilleUMC@gmail.com        Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Monroe                           Attn: Treasurer, United Methodist Church of Monroe   515 Cutlers Farm Rd                                   Monroe, CT 06468                                               umc@umcmonroe.org                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Moose Lake, Minnesota            Attn: Andrew J Stoebner                              120 S 6th St, Ste 2500                                Minneapolis, MN 55402                                          astoebner@lapplibra.cim           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Mt Kisco                         Attn: Ross Porter                                    300 E Main St                                         Mt. Kisco, NY 10549                                            wrproter115@verizon.net           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Neosho                           Ozark Trails Council 306                             P.O. Box 509                                          Neosho, MO 64850‐0509                                                                            First Class Mail
Chartered Organization         United Methodist Church Of New Canaan                       Connecticut Yankee Council Bsa 072                   165 South Ave                                         New Canaan, CT 06840‐5727                                                                        First Class Mail
Voting Party                   United Methodist Church Of New Canaan                       Attn: Roy Turner                                     Umc‐Nc 165 S Ave                                      New Canaan, CT 06840                                           ed.pd2020@gmail.com               Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of New Lenox                        Rainbow Council 702                                  P.O. Box 856                                          New Lenox, IL 60451‐0856                                                                         First Class Mail
Voting Party                   United Methodist Church Of Newton, Newton, Ma               Attn: Paulina Andzie ‐ Quainoo, Treasurer            430 Walnut St                                         Newton, MA 02460                                               umc.newton@gmail.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Nichols Hills                    Last Frontier Council 480                            1212 Bedford Dr                                       Nichols Hills, OK 73116‐6307                                                                     First Class Mail
Chartered Organization         United Methodist Church Of Niota                            Great Smoky Mountain Council 557                     P.O. Box 190                                          Niota, TN 37826‐0190                                                                             First Class Mail
Voting Party                   United Methodist Church Of North Manchester                 Attn: Kandie Quick‐Egner                             306 E 2nd St                                          North Manchester, IN 46962                                     nmumcoffice@gmail.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of North Ontario                    Seneca Waterways 397                                 7200 Ontario Center Rd                                Ontario, NY 14519‐9347                                                                           First Class Mail
Chartered Organization         United Methodist Church Of Novato                           Marin Council 035                                    1473 S Novato Blvd                                    Novato, CA 94947‐4509                                                                            First Class Mail
Chartered Organization         United Methodist Church Of Oak Harbor                       Erie Shores Council 460                              360 E Ottawa St                                       Oak Harbor, OH 43449‐1434                                                                        First Class Mail
Chartered Organization         United Methodist Church Of Old Town                         Katahdin Area Council 216                            629 Stillwater Ave                                    Old Town, ME 04468‐2193                                                                          First Class Mail
Voting Party                   United Methodist Church Of Otsego, MI                       Attn: Administrator/Financial Secretary              223 E Allegan St                                      P.O. Box 443                   Otsego, MI 49078                office@otsegoumc.org              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Palm Springs                     Attn: Susan Feazell, Treasurer                       P.O. Box 2007                                         Palm Springs, CA 92263                                         selmf2@aol.com                    Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Palmdale                         W L A C C 051                                        39055 10th St W                                       Palmdale, CA 93551‐3703                                                                          First Class Mail
Chartered Organization         United Methodist Church Of Piedmont                         Greater St Louis Area Council 312                    Hwy 34 E                                              Piedmont, MO 63957                                                                               First Class Mail
Chartered Organization         United Methodist Church Of Pine Island                      Southwest Florida Council 088                        5701 Pine Island Rd Nw                                Bokeelia, FL 33922‐3135                                                                          First Class Mail
Voting Party                   United Methodist Church Of Pine Island                      c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200       Tampa, FL 33602                 erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Port Washington                  Attn: David Collins                                  35 Middle Neck Rd                                     Port Washington, NY 11050                                      umcpw@umcpw.org                   Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Preemption                       Illowa Council 133                                   2652 170th Ave                                        Preemption, IL 61276                                                                             First Class Mail
Voting Party                   United Methodist Church Of Queensbury                       Attn: Treasurer                                      460 Aviation Rd                                       Queensbury, NY 12804‐2907                                      grampy.lowder@gmail.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Randle                           Pacific Harbors Council, Bsa 612                     P.O. Box 457                                          Randle, WA 98377‐0457                                                                            First Class Mail
Voting Party                   United Methodist Church Of Randle                           c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200       Tampa, FL 33602                 erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Richmond, Missouri, Inc          Attn: James Robert Swafford, President               212 West Main St                                      P.O. Box 406                   Richmond, MO 64085              richmondmoumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Ridgecrest                       Southern Sierra Council 030                          639 N Norma St                                        Ridgecrest, CA 93555‐3504                                                                        First Class Mail
Chartered Organization         United Methodist Church Of Riverton                         Greater Wyoming Council 638                          1116 W Park Ave                                       Riverton, WY 82501‐3245                                                                          First Class Mail
Voting Party                   United Methodist Church Of Rochelle                         709 4th Ave                                          Rochelle, IL 61068                                                                                                   admin@rochelleumc.com             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Round Pond                       Attn: Bethiah Callahan                               1456 State Rt 32                                      Round Pond, ME 04564                                           roc1456@roadrunner.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Round Pond                       R Kelly Harvell                                      2625 Bristol Rd                                       New Harbor, ME 04554                                           PastorHarvell@gmail.com           Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Rumford                          Attn: James Robertson                                724 Forest Ave                                        Rumford, ME 04276                                              kb1yl@myfairpoint.net             Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Sea Cliff                        Attn: Clifford Hetzer, Pres Board of Trustees        59 Upper Sheep Pasture Rd                             East Setauket, NY 11733                                        cliff.hetzer@gmail.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of Sea Isle City                    Garden State Council 690                             4102 Central Ave                                      Sea Isle City, NJ 08243‐1914                                                                     First Class Mail
Voting Party                   United Methodist Church Of Sea Isle City                    c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200       Tampa, FL 33602                 erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Seaford                          Attn: Walter Frederick Cook Iv                       2160 Washington Ave                                   Seaford, NY 11783                                              wcookiv143@gmail.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Seaford                          Attn: Walter Cook                                    264 N Maple St                                        N Massapequa, NY 11758                                         wcookiv143@gmail.com              Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Seaford                          Attn: Joan M Langton                                 2160 Washington Ave                                   Seaford, NY 11783                                              joan.langton@gmail.com            Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Sedan                            c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                    100 N Tampa St, Ste 2200       Tampa, FL 33602                 erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Sedan                            302 N Chautauqua St                                  Sedan, KS 67361                                                                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 415 of 442
                                                                                  Case 20-10343-LSS                                                     Doc 8171                                       Filed 01/06/22                                                 Page 431 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                        Name                                                                                                         Address                                                                                                           Email                     Method of Service
Chartered Organization         United Methodist Church Of Sedgwickville                      Greater St Louis Area Council 312                    1 Main St                                                   Sedgewickville, MO 63781                                                                                   First Class Mail
Voting Party                   United Methodist Church Of Simi Valley                        Attn: Treasurer, Svumc                               2394 Erringer Rd                                            Simi Valley, CA 93065                                             svumc@pacbell.net                        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Church Of Southampton                        Suffolk County Council Inc 404                       160 Main St                                                 Southampton, NY 11968‐4824                                                                                 First Class Mail
Chartered Organization         United Methodist Church Of Springdale                         Connecticut Yankee Council Bsa 072                   1116 Hope St                                                Stamford, CT 06907‐1826                                                                                    First Class Mail
Chartered Organization         United Methodist Church Of St Francis                         Coronado Area Council 192                            P.O. Box 805                                                St Francis, KS 67756‐0805                                                                                  First Class Mail
Chartered Organization         United Methodist Church Of St Thomas                          New Birth of Freedom 544                             P.O. Box 248                                                St Thomas, PA 17252‐0248                                                                                   First Class Mail
Chartered Organization         United Methodist Church Of Strong                             Pine Tree Council 218                                P.O. Box 16                                                 Strong, ME 04983‐0016                                                                                      First Class Mail
Chartered Organization         United Methodist Church Of Succasunna                         Patriots Path Council 358                            91 Main St                                                  Succasunna, NJ 07876‐1417                                                                                  First Class Mail
Chartered Organization         United Methodist Church Of Sumner                             Pacific Harbors Council, Bsa 612                     901 Wood Ave                                                Sumner, WA 98390‐1438                                                                                      First Class Mail
Voting Party                   United Methodist Church Of Swartz Creek                       Attn: Treasurer                                      7400 Miller Rd                                              Swartz Creek, MI 48473                                            receptionist@umc‐sc.org                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church Of The Covenant ‐ Arlington           c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church Of The Covenant ‐ Arlington           3608 Matlock Rd                                      Arlington, TX 76015‐3605                                                                                                                                               First Class Mail
Voting Party                   United Methodist Church Of The Covenant Of Spartanburg, Inc   Attn: Rev Heather Humphries                          723 Gloria Ct                                               Boiling Springs, SC 29316                                         hbhumphries@umcsc.org                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church Of The Covenant Of Spartanburg, Inc   Attn: Heather Attn: Humphries                        9020 Asheville Hwy                                          Spartanburg, SC 29316                                             hbhumphries@umcsc.org                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Church Of The Good Shepherd                  Last Frontier Council 480                            10928 SW 15th St                                            Yukon, OK 73099‐7526                                                                                       First Class Mail
Chartered Organization         United Methodist Church Of The Good Shepherd                  Last Frontier Council 480                            10928 SW 15th St                                            Yukon, OK 73099‐7526                                                                                       First Class Mail
Voting Party                   United Methodist Church Of The Good Shepherd                  Attn: Samuel Greaves ‐ Head Trustee                  10901 Calera Rd                                             Philadelphia, PA 19154                                            secretary@umcgoodshepherd.org            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church Of The Good Shepherd, Newport, Nh     Attn: Donald Dupont                                  42 Cary St                                                  Newport, NH 03773                                                 theduponts42@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church Of The Redeemer                       Attn: Gail Smith                                     1901 Iverson St                                             Temple Hills, MD 20748                                                                                     First Class Mail
Voting Party                   United Methodist Church Of The Servant                        Attn: Randy Shrauner                                 14343 N Mcarthur Blvd                                       Oklahoma City, OK 73142                                           rshrauner@churchoftheservant.com         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church Of Thousand Oaks                      Attn: Robert B Garrett                               1000 Janss                                                  Thousand Oaks, CA 91360                                           rbgar113@juno.com                        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Church Of Tonganoxie                         Heart of America Council 307                         328 E 4th St                                                Tonganoxie, KS 66086‐9217                                                                                  First Class Mail
Chartered Organization         United Methodist Church Of Vero Beach                         Gulf Stream Council 085                              1750 20th St                                                Vero Beach, FL 32960‐3568                                                                                  First Class Mail
Chartered Organization         United Methodist Church Of Villa Grove                        Prairielands 117                                     302 2nd St                                                  Villa Grove, IL 61956‐1308                                                                                 First Class Mail
Chartered Organization         United Methodist Church Of Vista                              San Diego Imperial Council 049                       490 S Melrose Dr                                            Vista, CA 92081‐6620                                                                                       First Class Mail
Voting Party                   United Methodist Church Of Vista                              Attn: Rev Dr Leigh Ann Shaw                          490 S Melrose Ave                                           Vista, CA 92081                                                   umcvista@umcvista.org                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Church Of Waterman                           Three Fires Council 127                              P.O. Box 296                                                Waterman, IL 60556‐0296                                                                                    First Class Mail
Voting Party                   United Methodist Church Of Watertown                          Attn: Mary Woodward                                  305 Main St                                                 Watertown, CT 06795‐2209                                          marywoodward4@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Church Of Waverly                            Middle Tennessee Council 560                         115 W Main St                                               Waverly, TN 37185‐1556                                                                                     First Class Mail
Voting Party                   United Methodist Church Of Webster (Ny)                       Attn: Rev Rick Ladue                                 169 E Main St                                               Webster, NY 14580                                                 rladue@umcwebster.org                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Church Of Wellsville                         Heart of America Council 307                         302 Locust                                                  Wellsville, KS 66092                                                                                       First Class Mail
Voting Party                   United Methodist Church Of West Chester                       c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Church Of West Hartford                      Connecticut Rivers Council, Bsa 066                  1358 New Britain Ave                                        West Hartford, CT 06110‐1633                                                                               First Class Mail
Chartered Organization         United Methodist Church Of West Point                         Heart of Virginia Council 602                        P.O. Box 736                                                West Point, VA 23181‐0736                                                                                  First Class Mail
Chartered Organization         United Methodist Church Of Westbury                           Theodore Roosevelt Council 386                       265 Asbury Ave                                              Westbury, NY 11590‐2000                                                                                    First Class Mail
Chartered Organization         United Methodist Church Of Westfield                          Five Rivers Council, Inc 375                         158 Church St                                               Westfield, PA 16950‐1502                                                                                   First Class Mail
Chartered Organization         United Methodist Church Of Westford                           The Spirit of Adventure 227                          P.O. Box 231                                                Westford, MA 01886‐0008                                                                                    First Class Mail
Voting Party                   United Methodist Church Of Westford                           Attn: Trustee, United Methodist Church of Westford   10 Church St                                                Westford, MA 01886                                                office@umcw.org                          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church Of Westport And Weston                Attn: Board of Trustees                              49 Weston Rd                                                Westport, CT 06880                                                office@westportumc.org                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church Of Wilton                             Attn: Rev Steve Braudt                               1401 Maurer St                                              P.O. Box 57                      Wilton, IA 52778                 PastorSteveBraudt@gmail.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church Of Woodbury                           Attn: Rev Won Tack Lee                               577 Woodbury Rd                                             Woodbury, NY 11797                                                wontack.lee@nyac‐umc.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church Of Worth                              12101 S Harlem Ave                                   Palos Heights, IL 60463                                                                                                       palosumc@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church Of Yucaipa                            35177 Beech Ave                                      Yucaipa, CA 92399                                                                                                             phwhang@sbcglobal.net                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church Pf Jeffersonville Ny                  Attn: Paul Thompson                                  28 Maple Ave                                                Jeffersonville, NY 12748                                          paul.thompson@nyac‐umc.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Church Prosser                               Grand Columbia Council 614                           824 6th St                                                  Prosser, WA 99350‐1441                                                                                     First Class Mail
Chartered Organization         United Methodist Church Redwater                              Caddo Area Council 584                               126 Church St                                               Redwater, TX 75573                                                                                         First Class Mail
Voting Party                   United Methodist Church Sheldon Iowa                          506 8th St                                           Sheldon, IA 51201                                                                                                             dgorter@hotmail.com                      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church Westlake Village                      1049 S Westlake Blvd                                 Westlake Village, CA 91361                                                                                                    Vinia@umcwv.org                          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Church Yucca Valley                          California Inland Empire Council 045                 57273 Onaga Trl                                             Yucca Valley, CA 92284‐3702                                                                                First Class Mail
Voting Party                   United Methodist Church, Branford                             Attn: Rev Kent F Jackson                             811 E Main St                                               Branford, CT 06405                                                kent.jackson@nyac‐umc.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church, Junction Ne                          c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradely.com                        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church, Sayville Ny                          Attn: Richard Allen                                  164 Greene Ave                                              Sayville, NY 11782                                                umcsayville@optonline.net                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Church, Sayville NY                          UMC Sayville                                         Attn: Richard Allen                                         164 Greene Ave                   Sayville, NY 11782               umcsayville@optonline.net                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Church/Rancho Cordova                        Golden Empire Council 047                            2101 Zinfandel Dr                                           Rancho Cordova, CA 95670‐5227                                                                              First Class Mail
Chartered Organization         United Methodist Church‐Administrative                        Blackhawk Area 660                                   1065 Lancaster St                                           Platteville, WI 53818‐1131                                                                                 First Class Mail
Chartered Organization         United Methodist Church‐Beverly Hills                         Great Lakes Fsc 272                                  20000 W 13 Mile Rd                                          Beverly Hills, MI 48025‐5165                                                                               First Class Mail
Voting Party                   United Methodist Church‐Dell Rapids                           Attn: Gennifer Randolph                              505 E 5th St                                                Dell Rapids, SD 57022                                             umcsec@siouxvalley.net                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Church‐West Bloomfield                       Great Lakes Fsc 272                                  4100 Walnut Lake Rd                                         West Bloomfield, MI 48323‐2771                                                                             First Class Mail
Voting Party                   United Methodist Community Church (75686)                     c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200       Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Community House                              President Gerald R Ford 781                          801 Oakland Ave Sw                                          Grand Rapids, MI 49503‐5057                                                                                First Class Mail
Voting Party                   United Methodist Korean Church Of Astoria                     3044 Crescent St                                     Astoria, NY 11102                                                                                                             seongin@gmail.com                        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Lovers Lane Mens Club                        Circle Ten Council 571                               9200 Inwood Rd                                              Dallas, TX 75220‐3901                                                                                      First Class Mail
Chartered Organization         United Methodist Men                                          Pushmataha Area Council 691                          First United Methodist Church                               Aberdeen, MS 39730                                                                                         First Class Mail
Chartered Organization         United Methodist Men                                          Bay‐Lakes Council 635                                325 E Franklin St                                           Appleton, WI 54911‐5436                                                                                    First Class Mail
Chartered Organization         United Methodist Men                                          Overland Trails 322                                  2601 18th Ave                                               Central City, NE 68826‐9761                                                                                First Class Mail
Chartered Organization         United Methodist Men                                          W D Boyce 138                                        1023 N 6th St                                               Chillicothe, IL 61523‐1552                                                                                 First Class Mail
Chartered Organization         United Methodist Men                                          Winnebago Council, Bsa 173                           508 2nd Ave N                                               Clear Lake, IA 50428‐1856                                                                                  First Class Mail
Chartered Organization         United Methodist Men                                          Church of the Foothills                              1014 Highland Ave                                           Duarte, CA 91010‐1939                                                                                      First Class Mail
Chartered Organization         United Methodist Men                                          First United Methodist Church of Dunnellon           21501 W Hwy 40                                              Dunnellon, FL 34431‐6322                                                                                   First Class Mail
Chartered Organization         United Methodist Men                                          Coronado Area Council 192                            12th & Sherman                                              Goodland, KS 67735                                                                                         First Class Mail
Chartered Organization         United Methodist Men                                          Overland Trails 322                                  4190 W Capital Ave                                          Grand Island, NE 68803‐1120                                                                                First Class Mail
Chartered Organization         United Methodist Men                                          Longhorn Council 662                                 Elm St                                                      Hillsboro, TX 76645                                                                                        First Class Mail
Chartered Organization         United Methodist Men                                          Crater Lake Council 491                              607 W Main                                                  Medford, OR 97504                                                                                          First Class Mail
Chartered Organization         United Methodist Men                                          Ozark Trails Council 306                             1600 N Central Ave                                          Monett, MO 65708‐1145                                                                                      First Class Mail
Chartered Organization         United Methodist Men                                          Cornhusker Council 324                               1023 1st Ave                                                Nebraska City, NE 68410‐2315                                                                               First Class Mail
Chartered Organization         United Methodist Men                                          Coronado Area Council 192                            P.O. Box 92                                                 Quinter, KS 67752‐0092                                                                                     First Class Mail
Chartered Organization         United Methodist Men                                          Mid Iowa Council 177                                 106 W South St                                              Richland, IA 52585‐9213                                                                                    First Class Mail
Chartered Organization         United Methodist Men                                          Greater Alabama Council 001                          1105 S Broad St                                             Scottsboro, AL 35768‐2513                                                                                  First Class Mail
Chartered Organization         United Methodist Men                                          Montana Council 315                                  216 College St                                              Stevensville, MT 59870‐2107                                                                                First Class Mail
Chartered Organization         United Methodist Men                                          Mid‐America Council 326                              211 E 3rd St                                                Storm Lake, IA 50588‐2515                                                                                  First Class Mail
Chartered Organization         United Methodist Men                                          Greater Yosemite Council 059                         1660 Arbor Way                                              Turlock, CA 95380‐3508                                                                                     First Class Mail
Chartered Organization         United Methodist Men                                          Three Rivers Council 578                             501 N Main St                                               Vidor, TX 77662‐4939                                                                                       First Class Mail
Chartered Organization         United Methodist Men                                          Heart of America Council 307                         141 E Gay St                                                Warrensburg, MO 64093‐1809                                                                                 First Class Mail
Chartered Organization         United Methodist Men Church Of The Dune                       President Gerald R Ford 781                          717 Sheldon Rd                                              Grand Haven, MI 49417‐1860                                                                                 First Class Mail
Chartered Organization         United Methodist Men Club                                     Coastal Georgia Council 099                          195 Wilmington Island Rd                                    Savannah, GA 31410‐3801                                                                                    First Class Mail
Chartered Organization         United Methodist Men Colville Umc                             Inland Nwest Council 611                             930 S Elm St                                                Colville, WA 99114‐2600                                                                                    First Class Mail
Chartered Organization         United Methodist Men First Umc Sealy                          Sam Houston Area Council 576                         200 Atchison St                                             Sealy, TX 77474‐2304                                                                                       First Class Mail
Chartered Organization         United Methodist Men Of                                       Trinity United Methodist Church                      530 Center Church Rd                                        Mcmurray, PA 15317‐3536                                                                                    First Class Mail
Chartered Organization         United Methodist Men Of                                       Christ United Methodist Church                       5983 Dogwood Dr                                             Milton, FL 32570‐3589                                                                                      First Class Mail
Chartered Organization         United Methodist Men Of Brentwood                             Mt Diablo‐Silverado Council 023                      809 2nd St                                                  Brentwood, CA 94513‐1116                                                                                   First Class Mail
Chartered Organization         United Methodist Men Of Fayette                               Great Rivers Council 653                             409 N Church St                                             Fayette, MO 65248‐1100                                                                                     First Class Mail
Chartered Organization         United Methodist Men Of Northville                            Twin Rivers Council 364                              P.O. Box 476                                                Northville, NY 12134‐0476                                                                                  First Class Mail
Chartered Organization         United Methodist Men Of Ocala West Umc                        North Florida Council 087                            9330 SW 105th St                                            Ocala, FL 34481‐7614                                                                                       First Class Mail
Chartered Organization         United Methodist Men Of Thomasville                           Suwannee River Area Council 664                      P.O. Box 975                                                Thomasville, GA 31799‐0975                                                                                 First Class Mail
Chartered Organization         United Methodist Men Of Trinity Church                        Minsi Trails Council 502                             213 Main St                                                 Hackettstown, NJ 07840‐2019                                                                                First Class Mail
Chartered Organization         United Methodist Men Silver City                              Yucca Council 573                                    300 W College Ave                                           Silver City, NM 88061‐5033                                                                                 First Class Mail
Chartered Organization         United Methodist Men St Luke Methodist                        Pee Dee Area Council 552                             302 Dunlap Dr                                               Hartsville, SC 29550‐4943                                                                                  First Class Mail
Chartered Organization         United Methodist Men Trinity Umc                              Sam Houston Area Council 576                         2600 Holman St                                              Houston, TX 77004‐3234                                                                                     First Class Mail
Chartered Organization         United Methodist Men Umc Cave Spring                          Northwest Georgia Council 100                        P.O. Box 305                                                Cave Spring, GA 30124‐0305                                                                                 First Class Mail
Voting Party                   United Methodist Men, St Lukes Umc ‐ Long Branch              c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Mens                                         South Georgia Council 098                            307 Flint Ave                                               Albany, GA 31701‐2507                                                                                      First Class Mail
Chartered Organization         United Methodist Mens Club                                    Chief Seattle Council 609                            18515 92nd Ave Ne                                           Bothell, WA 98011‐2206                                                                                     First Class Mail
Chartered Organization         United Methodist Mens Club                                    W D Boyce 138                                        1023 N 6th St                                               Chillicothe, IL 61523‐1552                                                                                 First Class Mail
Chartered Organization         United Methodist Mens Club                                    Three Fires Council 127                              37W040 Highland Ave                                         Elgin, IL 60124                                                                                            First Class Mail
Chartered Organization         United Methodist Mens Club                                    Colonial Virginia Council 595                        1 Salt Pond Rd                                              Hampton, VA 23664‐1708                                                                                     First Class Mail
Chartered Organization         United Methodist Mens Club                                    South Texas Council 577                              P.O. Box 688                                                Ingleside, TX 78362‐0688                                                                                   First Class Mail
Chartered Organization         United Methodist Mens Club                                    Montana Council 315                                  300 E Front St                                              Missoula, MT 59804                                                                                         First Class Mail
Chartered Organization         United Methodist Mens Club                                    Longhouse Council 373                                Church St                                                   Moravia, NY 13118                                                                                          First Class Mail
Chartered Organization         United Methodist Mens Club                                    Illowa Council 133                                   P.O. Box 187                                                New Boston, IL 61272                                                                                       First Class Mail
Chartered Organization         United Methodist Mens Club                                    Rainbow Council 702                                  339 W Haven Ave                                             New Lenox, IL 60451‐1612                                                                                   First Class Mail
Chartered Organization         United Methodist Mens Club                                    Katahdin Area Council 216                            726 Stillwater Ave                                          Old Town, ME 04468‐2121                                                                                    First Class Mail
Chartered Organization         United Methodist Mens Club                                    Pathway To Adventure 456                             123 N Plum Grove Rd                                         Palatine, IL 60067‐5230                                                                                    First Class Mail
Chartered Organization         United Methodist Mens Club Heber Springs                      Quapaw Area Council 018                              1099 W Pine St                                              Heber Springs, AR 72543‐2432                                                                               First Class Mail
Chartered Organization         United Methodist Mens Club White Plains                       Occoneechee 421                                      313 SE Maynard Rd                                           Cary, NC 27511‐4511                                                                                        First Class Mail
Chartered Organization         United Methodist Mens Group                                   Montana Council 315                                  121 S Willson Ave                                           Bozeman, MT 59715‐4628                                                                                     First Class Mail
Chartered Organization         United Methodist Mens Group                                   Overland Trails 322                                  2601 18th Ave                                               Central City, NE 68826‐9761                                                                                First Class Mail
Chartered Organization         United Methodist Mens Org                                     Northeast Georgia Council 101                        Lavonia United Methodist Church                             Lavonia, GA 30553                                                                                          First Class Mail
Chartered Organization         United Methodist Mens Org                                     Three Rivers Council 578                             501 N Main St                                               Vidor, TX 77662‐4939                                                                                       First Class Mail
Voting Party                   United Methodist Parish In Bushwick                           Attn: Beverly Kirby                                  1139 Bushwick Ave                                           Brooklyn, NY 11221                                                bushwickparishumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Parish In Bushwick                           Attn: Beverley C Kirby                               1139 Bushwick Ave Bushwick Ave                              Brooklyn, NY 11221                                                bushwickparishumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodist Temple                                       Three Rivers Council 578                             4101 Hwy 73                                                 Port Arthur, TX 77642‐2214                                                                                 First Class Mail
Voting Party                   United Methodist Temple                                       395 S Main St                                        Russellville, KY 42276                                                                                                        methodist.secretary@gmail.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Temple                                       c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Temple Church                                Attn: Treasurer                                      P.O. Box 990                                                Clarksburg, WV 26301                                              umtchurch@gmail.com                      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Temple, Inc                                  Attn: Rebecca L Smith                                5301 S US Hwy 41                                            Terre Haute, IN 47802                                             thumtemple@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Methodist Temple‐Beckley                               Attn: Tom Cushman, Chair of Trustees                 201 Templeview Dr                                           Beckley, WV 25801                                                 umtemple@suddenlinkmail.com              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Methodistchurch In Huntington                          Coldspringharbor                                     180 W Neck Rd                                               Huntington, NY 11743‐2461                                                                                  First Class Mail
Chartered Organization         United Migrant Opportunity Services                           Bay‐Lakes Council 635                                3475 Omro Rd                                                Oshkosh, WI 54904‐7125                                                                                     First Class Mail
Chartered Organization         United Migrant Opportunity Services, Inc                      Bay‐Lakes Council 635                                3475 Omro Rd                                                Oshkosh, WI 54904‐7125                                                                                     First Class Mail
Chartered Organization         United Ministry Church Of Delhi                               Leatherstocking 400                                  46 Church St                                                Delhi, NY 13753                                                                                            First Class Mail
Chartered Organization         United Nations Assoc Of The Phillippines                      Far E Council 803                                    5 Araceli St                                                Gulod Barangay,                  Philippines                                                               First Class Mail
Chartered Organization         United Neighborhood Ctrs                                      Northeastern Pennsylvania Council 501                631 Cedar Ave                                               Scranton, PA 18505‐1211                                                                                    First Class Mail
Chartered Organization         United Outreach Church                                        Norwela Council 215                                  456 Waller Ave                                              Bossier City, LA 71112‐2748                                                                                First Class Mail
Voting Party                   United Parcel Service                                         55 Glenlake Pkwy                                     Atlanta, GA 30328‐3474                                                                                                                                                 First Class Mail
Chartered Organization         United Parents Of Sahuarita                                   Catalina Council 011                                 715 W Camino Curvitas                                       Sahuarita, AZ 85629‐8255                                                                                   First Class Mail
Chartered Organization         United Parish                                                 Sioux Council 733                                    603 S Pearl St                                              Elk Point, SD 57025                                                                                        First Class Mail
Chartered Organization         United Parish In Brookline                                    The Spirit of Adventure 227                          210 Harvard St                                              Brookline, MA 02446‐5003                                                                                   First Class Mail
Voting Party                   United Parish Of Lunenburg Ma                                 Attn: Upl Treasurer                                  39 Main St                                                  Lunenburg, MA 01468                                               unitedparishlunenburg.office@gmail.com   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   United Parish Of Upton                                        Attn: Administrator                                  1 Church St                                                 Upton, MA 01568                                                   unitedparishoffice@yahoo.com             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         United Presbyterian Church                                    Laurel Highlands Council 527                         137 N Walnut St                                             Blairsville, PA 15717‐1349                                                                                 First Class Mail
Chartered Organization         United Presbyterian Church                                    Longhorn Council 662                                 1510 W Westhill Dr                                          Cleburne, TX 76033‐5916                                                                                    First Class Mail
Chartered Organization         United Presbyterian Church                                    New Birth of Freedom 544                             Red Hill Rd                                                 Dauphin, PA 17018                                                                                          First Class Mail
Chartered Organization         United Presbyterian Church                                    Northeast Iowa Council 178                           111 N West St                                               Earlville, IA 52041‐2506                                                                                   First Class Mail
Chartered Organization         United Presbyterian Church                                    Santa Fe Trail Council 194                           1719 E Texas St                                             Garden City, KS 67846‐3662                                                                                 First Class Mail
Chartered Organization         United Presbyterian Church                                    Attn: Clerk of Session                               2400 Washington St                                          Great Bend, KS 67530‐7102                                                                                  First Class Mail
Chartered Organization         United Presbyterian Church                                    Circle Ten Council 571                               5905 Stonewall St                                           Greenville, TX 75402‐6737                                                                                  First Class Mail
Chartered Organization         United Presbyterian Church                                    Hudson Valley Council 374                            25 Orchard St                                               Middletown, NY 10940‐5004                                                                                  First Class Mail
Chartered Organization         United Presbyterian Church                                    Juniata Valley Council 497                           Shirley & Div Sts                                           Mt Union, PA 17066                                                                                         First Class Mail
Chartered Organization         United Presbyterian Church                                    Cornhusker Council 324                               801 G St                                                    Pawnee City, NE 68420‐3643                                                                                 First Class Mail
Chartered Organization         United Presbyterian Church                                    Patriots Path Council 358                            525 E Front St                                              Plainfield, NJ 07060‐2288                                                                                  First Class Mail
Chartered Organization         United Presbyterian Church                                    Voyageurs Area 286                                   229 N 28th St                                               Superior, WI 54880‐5566                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 416 of 442
                                                                                 Case 20-10343-LSS                                               Doc 8171                                    Filed 01/06/22                                                    Page 432 of 457
                                                                                                                                                                                Exhibit B
                                                                                                                                                                                 Service List
                                                                                                                                                                          Served as set forth below

        Description                                                       Name                                                                                                Address                                                                                                           Email                 Method of Service
Voting Party                   United Presbyterian Church Of Cleburne, Inc                   Attn: Kenny Rigoulot                          1510 W Westhill Dr                                       Cleburne, TX 76033                                                   keith@bradleylawyers.com          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         United Presbyterian Church Of Clinton                         Crossroads of America 160                     P.O. Box 206                                             Clinton, IN 47842‐0206                                                                                 First Class Mail
Chartered Organization         United Presbyterian Church Of Guernsey                        Longs Peak Council 062                        P.O. Box 625                                             Guernsey, WY 82214‐0625                                                                                First Class Mail
Voting Party                   United Presbyterian Church Of Lyndhurst                       511 Ridge Rd                                  Lyndhurst, NJ 07071                                                                                                           unitedpress1@verizon.net          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   United Presbyterian Church Of Plainfield                      Attn: Alaric H Tate                           525 E Front St                                           Plainfield, NJ 07060                                                 vze1scmh@verizon.net              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   United Presbyterian Church Of Plainfield                      Attn: Alaric H Tate                           525 East Front St                                        Plainfield, NJ 07060                                                 vze1scmh@verizon.net              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   United Presbyterian Church Of Plainfield                      Attn: Ellen O'Connell Esq                     600 Parsippany Rd, Ste 204                               Parsippany, NJ 07054                                                 eoconnell@iwwt.law                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   United Presbyterian Church Of Plainfield                      Attn: Ellen O'Connell, Esq                    600 Parsippany Rd, Ste 204                               Parsippany, NJ 07054                                                 eoconnell@iwwt.law                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   United Presbyterian Church Of Randolph                        Attn: Mary Myers Or Clerk of Session          186 Main St                                              Randolph, NY 14772                                                   secretary@upcrandolph.org         Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   United Presbyterian Church Of Randolph                        Attn: Molly T Golando                         31 Pellman Pl                                            Lackawanna, NY 14218                                                 mollygolando@yahoo.com            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   United Presbyterian Church of Slatington                      6750 PA Rte 873                               Slatington, PA 18088                                                                                                          upc873@ptd.net                    Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         United Presbyterian Church Of Yardville                       Washington Crossing Council 777               12 Yardville Hamilton Squ Rd                             Hamilton, NJ 08620‐1737                                                                                First Class Mail
Voting Party                   United Presbyterian Of Whitinsville                           Attn: Treasurer ‐ Up Church                   7 Spring St                                              Whitinsville, MA 01588                                               whitinpres@gmail.com              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   United Protestant Church Of Grayslake                         Attn: Ryan B Kiblinger                        54 S Whitney St                                          Grayslake, IL 60030                                                  rbkiblinger@gmail.com             Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         United Reformed Church                                        Patriots Path Council 358                     100 W Main St                                            Somerville, NJ 08876‐2216                                                                              First Class Mail
Chartered Organization         United States Border Patrol                                   San Diego Imperial Council 049                211 W Aten Rd                                            Imperial, CA 92251‐9738                                                                                First Class Mail
Chartered Organization         United States Border Patrol                                   Rio Grande Council 775                        940 Fm 511                                               Olmito, TX 78575‐5213                                                                                  First Class Mail
Chartered Organization         United States Border Patrol                                   Grand Columbia Council 614                    P.O. Box 99                                              Oroville, WA 98844‐0099                                                                                First Class Mail
Chartered Organization         United States Border Patrol                                   Rio Grande Council 775                        730 Border Patrol Ln                                     Rio Grande City, TX 78582‐6560                                                                         First Class Mail
Chartered Organization         United States Border Patrol Campo                             San Diego Imperial Council 049                32355 Old Hwy 80                                         Pine Valley, CA 91962‐4803                                                                             First Class Mail
Chartered Organization         United States Border Patrol Casa Grande                       Catalina Council 011                          396 N Camino Mercado                                     Casa Grande, AZ 85122‐5760                                                                             First Class Mail
Chartered Organization         United States Border Patrol Nogales Stn                       Catalina Council 011                          1500 W La Quinta Rd                                      Nogales, AZ 85621‐4532                                                                                 First Class Mail
Voting Party                   United States File Insurance Company                          Attn: Christopher Celentano                   10 Exchange Pl 9th Fl                                    Jersey City, NJ 07302                                                                                  First Class Mail
Voting Party                   United States Fire Insurance Company                          c/o Ifrah Pllc                                Attn: George Calhoun                                     1717 Pennsylvania Ave NW, Ste 650   Washington, DC 20006             george@ifrahlaw.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   United States Fire Insurance Company                          Attn: Charles Fischette                       250 Commercial St, Ste 5000                              Manchester, NH 03101                                                 charles_fischette@trg.com         Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   United States Fire Insurance Company                          Attn: Christopher Celentano                   10 Exchange Pl, 9th Fl                                   Jersey City, NJ 07302                                                                                  First Class Mail
Chartered Organization         United States Marshals Service                                Greater New York Councils, Bsa 640            500 Pearl St, Ste 400                                    New York, NY 10007‐1316                                                                                First Class Mail
Voting Party                   United States Naval Academy                                   Comptroller Dept                              181 Wainwright Rd                                        Annapolis, MD 21402‐1236                                                                               First Class Mail
Chartered Organization         United Steelworkers Local 1299                                Great Lakes Fsc 272                           11424 W Jefferson Ave                                    River Rouge, MI 48218‐1256                                                                             First Class Mail
Chartered Organization         United Synagogue Of Hoboken                                   Northern New Jersey Council, Bsa 333          115 Park Ave                                             Hoboken, NJ 07030‐3703                                                                                 First Class Mail
Chartered Organization         United Way Of Youngstown‐Mahoning Valley                      Great Trail 433                               255 Watt St                                              Youngstown, OH 44505‐3049                                                                              First Class Mail
Chartered Organization         Unity 1St Ward ‐ Burley Stake                                 Snake River Council 111                       275 S 250 E                                              Burley, ID 83318                                                                                       First Class Mail
Chartered Organization         Unity 2Nd Ward ‐ Burley Stake                                 Snake River Council 111                       250 S 250 E                                              Burley, ID 83318                                                                                       First Class Mail
Chartered Organization         Unity 3Rd Ward ‐ Burley Stake                                 Snake River Council 111                       275 S 250 E                                              Burley, ID 83318                                                                                       First Class Mail
Chartered Organization         Unity Baptist Church                                          Hoosier Trails Council 145 145                7361 Spearsville Rd                                      Morgantown, IN 46160‐8731                                                                              First Class Mail
Voting Party                   Unity Chapel United Methodist Church                          Attn: Mary Carol Smith, Church Secretary      1760 Lost Creek Rd Nw                                    Ramsey, IN 47166                                                     carolunity@aol.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Unity Christian Church                                        Great Rivers Council 653                      104 Baker St                                             Cairo, MO 65239                                                                                        First Class Mail
Chartered Organization         Unity Church For Creative Living                              North Florida Council 087                     2777 Race Track Rd                                       St Johns, FL 32259‐3262                                                                                First Class Mail
Chartered Organization         Unity Church Of The Hills                                     Capitol Area Council 564                      9905 Anderson Mill Rd                                    Austin, TX 78750‐2229                                                                                  First Class Mail
Chartered Organization         Unity Felowship                                               Central Florida Council 083                   14220 Thamhall Way                                       Orlando, FL 32828‐7220                                                                                 First Class Mail
Chartered Organization         Unity Lodge Af And Am 71                                      Montana Council 315                           15482 US Hwy 12 W                                        Roundup, MT 59072‐6224                                                                                 First Class Mail
Chartered Organization         Unity Lodge No 367                                            Three Harbors Council 636                     4320 Washington Rd                                       Kenosha, WI 53144‐4250                                                                                 First Class Mail
Chartered Organization         Unity North Atlanta                                           Atlanta Area Council 092                      4255 Sandy Plains Rd                                     Marietta, GA 30066‐2433                                                                                First Class Mail
Chartered Organization         Unity Presbyterian Church                                     Piedmont Council 420                          8210 Unity Church Rd                                     Denver, NC 28037‐9395                                                                                  First Class Mail
Chartered Organization         Unity Presbyterian Church                                     Palmetto Council 549                          303 Tom Hall St                                          Fort Mill, SC 29715‐2315                                                                               First Class Mail
Chartered Organization         Unity United Methodist Church                                 Katahdin Area Council 216                     P.O. Box 75                                              Unity, ME 04988‐0075                                                                                   First Class Mail
Voting Party                   Unity United Methodist Church                                 1910 E Broadway                               Northwood, OH 43619                                                                                                           jamesnevel65@gmail.com            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Unity Utd Church Of Christ                                    Tukabatchee Area Council 005                  2311 Oxford Dr                                           Montgomery, AL 36111‐2921                                                                              First Class Mail
Chartered Organization         Unity Volunteer Fire Co                                       Katahdin Area Council 216                     P.O. Box 150                                             Unity, ME 04988‐0150                                                                                   First Class Mail
Chartered Organization         Unity Washington Utd Methodist Church                         Del Mar Va 081                                P.O. Box 298                                             Oak St                              Hurlock, MD 21643                                                  First Class Mail
Chartered Organization         Unitypoint Health‐Finley Hospital                             Northeast Iowa Council 178                    350 N Grandview Ave                                      Dubuque, IA 52001‐6388                                                                                 First Class Mail
Voting Party                   Unity‐Washington United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Univ Interamericana De Pr                                     Puerto Rico Council 661                       P.O. Box 191293                                          San Juan, PR 00919‐1293                                                                                First Class Mail
Chartered Organization         Univ Interamericana Recinto Guayama                           Puerto Rico Council 661                       P.O. Box 636                                             Guayama, PR 00785‐0636                                                                                 First Class Mail
Chartered Organization         Univ Of Chicago                                               Pathway To Adventure 456                      5841 S Maryland Ave                                      Chicago, IL 60637‐1443                                                                                 First Class Mail
Voting Party                   Universal City United Methodist Church, Inc                   Attn: Vivian L Wagoner                        90 Winn Ave                                              Universal City, TX 78148                                             vwagoner@ucumctx.org              Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Universal Contractors                                         West Tennessee Area Council 559               P.O. Box 939                                             Union City, TN 38281‐0939                                                                              First Class Mail
Chartered Organization         Universal Daroff Charter School                               Cradle of Liberty Council 525                 5630 Vine St                                             Philadelphia, PA 19139‐1301                                                                            First Class Mail
Chartered Organization         Universal Institute Charter School                            Cradle of Liberty Council 525                 801 S 15th St                                            Philadelphia, PA 19146‐2215                                                                            First Class Mail
Chartered Organization         Universal Vare Charter School                                 Cradle of Liberty Council 525                 2100 S 24th St                                           Philadelphia, PA 19145‐3222                                                                            First Class Mail
Chartered Organization         Universalist Church Of West Hartford                          Connecticut Rivers Council, Bsa 066           433 Fern St                                              West Hartford, CT 06107‐2062                                                                           First Class Mail
Chartered Organization         Universalist Unitarian Church Of Joliet                       Rainbow Council 702                           3401 W Jefferson St                                      Joliet, IL 60431‐4705                                                                                  First Class Mail
Chartered Organization         University Baptist Church                                     Sam Houston Area Council 576                  16106 Middlebrook Dr                                     Houston, TX 77059‐6034                                                                                 First Class Mail
Voting Party                   University Carillon, 1395 Campus View Ct, Oviedo, Fl 32765    c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         University Church Of Chicago                                  Pathway To Adventure 456                      5655 S University Ave                                    Chicago, IL 60637‐1523                                                                                 First Class Mail
Chartered Organization         University Church Of Christ                                   Yucca Council 573                             1555 E University Ave                                    Las Cruces, NM 88001‐5741                                                                              First Class Mail
Chartered Organization         University Church Of Christ, Inc                              Golden Spread Council 562                     3400 Conner Dr                                           Canyon, TX 79015‐4250                                                                                  First Class Mail
Chartered Organization         University Church Of God                                      East Carolina Council 426                     2215 B Stokes Rd                                         Greenville, NC 27858‐9660                                                                              First Class Mail
Voting Party                   University City United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         University City Utd Methodist Church                          Mecklenburg County Council 415                3835 W W T Harris Blvd                                   Charlotte, NC 28269‐3500                                                                               First Class Mail
Chartered Organization         University Cleveland Prep                                     Lake Erie Council 440                         1906 E 40th St                                           Cleveland, OH 44103‐3557                                                                               First Class Mail
Chartered Organization         University Friends Church                                     Quivira Council, Bsa 198                      1840 W University Ave                                    Wichita, KS 67213‐3966                                                                                 First Class Mail
Chartered Organization         University Heights Baptist Church                             Cimarron Council 474                          323 S Knoblock St                                        Stillwater, OK 74074‐3020                                                                              First Class Mail
Voting Party                   University Heights Presbyterian Church                        Attn: Lynne Anne West                         2167 University Ave                                      Bronx, NY 10453                                                      uhpchurch@msn.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   University Heights Presbyterian Church                        Attn: Reverend Lynne Anne West                2167 University Ave                                      Bronx, NY 10453                                                      uhpchurch@msn.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   University Heights United Methodist Church                    Attn: Sharon Cesnik, Business Administrator   4002 Otterbein Ave                                       Indianapolis, IN 46227                                               scesnik@uhumc.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         University Hills Optimist Club                                Denver Area Council 061                       5123 Long Meadow Cir                                     Greenwood Village, CO 80111‐3428                                                                       First Class Mail
Chartered Organization         University Lake School                                        Potawatomi Area Council 651                   P.O. Box 290                                             Hartland, WI 53029‐0290                                                                                First Class Mail
Chartered Organization         University Lake School                                        Potawatomi Area Council 651                   4024 Nagawicka Rd                                        Hartland, WI 53029‐9363                                                                                First Class Mail
Chartered Organization         University Lutheran Church                                    Northern Lights Council 429                   2122 University Ave                                      Grand Forks, ND 58203‐3357                                                                             First Class Mail
Voting Party                   University Lutheran Church Of Hope                            601 13th Ave S E                              Minneapolis, MN 55414                                                                                                         jenn@ulch.org                     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   University Lutheran Church Of Hope, Minneapolis, Minnesota    Attn: Timothy C Abrahamson                    601 13th Ave Se                                          Minneapolis, MN 55414                                                jenn@ulch.org                     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         University Of Akron College Of Biology                        Great Trail 433                               244 Sumner St                                            Akron, OH 44325‐0040                                                                                   First Class Mail
Chartered Organization         University Of Chicago Police Dept                             Pathway To Adventure 456                      850 E 61st St                                            Chicago, IL 60637                                                                                      First Class Mail
Chartered Organization         University Of Cincinnati Medical Ctr                          Dan Beard Council, Bsa 438                    234 Goodman St                                           Cincinnati, OH 45219‐2364                                                                              First Class Mail
Chartered Organization         University Of Evansville                                      Buffalo Trace 156                             1800 Lincoln Ave                                         Evansville, IN 47722‐1000                                                                              First Class Mail
Chartered Organization         University Of Kansas Health System                            St Francis Campus                             1700 SW 7th St                                           Topeka, KS 66606‐2489                                                                                  First Class Mail
Chartered Organization         University Of Nebraska Omaha                                  Mid‐America Council 326                       6001 Dodge St                                            Omaha, NE 68182‐1102                                                                                   First Class Mail
Chartered Organization         University Of North Alabama                                   Greater Alabama Council 001                   1 Harrison Plz                                           Florence, AL 35632‐0002                                                                                First Class Mail
Chartered Organization         University Of South Dakota                                    Sioux Council 733                             1525 S Euclid Ave                                        Sioux Falls, SD 57105‐1519                                                                             First Class Mail
Chartered Organization         University Of Southern Indiana                                Buffalo Trace 156                             8600 University Blvd                                     Evansville, IN 47712‐3534                                                                              First Class Mail
Chartered Organization         University Of Wisconsin‐La Crosse                             Gateway Area 624                              1725 State St                                            La Crosse, WI 54601‐3742                                                                               First Class Mail
Chartered Organization         University Park Dads Club                                     Circle Ten Council 571                        3500 Lovers Ln                                           Dallas, TX 75225                                                                                       First Class Mail
Chartered Organization         University Park Elementary School                             Central Florida Council 083                   500 W University Blvd                                    Melbourne, FL 32901‐6916                                                                               First Class Mail
Voting Party                   University Park United Methodist Church                       Attn: Rev Joe Stobaugh                        4024 Caruth Blvd                                         Dallas, TX 75225                                                     jstobaugh@upumc.org               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   University Park United Methodist Church                       Attn: Andy Dunning                            2180 S University Blvd                                   Denver, CO 80210‐4712                                                adunning@uparkumc.org             Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         University Presbyterian Church                                Sequoia Council 027                           1776 E Roberts Ave                                       Fresno, CA 93710‐6509                                                                                  First Class Mail
Voting Party                   University Presbyterian Church                                Attn: Clerk of Session                        4540 15th Ave Ne                                         Seattle, WA 98105                                                    mcclintock52@gmail.com            Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   University Presbyterian Church                                Attn: Matthew L Boyd                          700 E Maple Rd, Second Fl                                Birmingham, MI 48009                                                 mboyd@tauntlaw.com                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   University Presbyterian Church Fresno                         Attn: Kerry Neal                              1776 E Roberts Ave                                       Fresno, CA 93710                                                     info@upcfresno.org                Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         University School Of Jackson                                  West Tennessee Area Council 559               232 Mcclellan Rd                                         Jackson, TN 38305‐5359                                                                                 First Class Mail
Chartered Organization         University School Of Milwaukee                                Three Harbors Council 636                     2100 W Fairy Chasm Rd                                    Milwaukee, WI 53217‐1510                                                                               First Class Mail
Chartered Organization         University Settlement                                         Lake Erie Council 440                         4800 Broadway Ave                                        Cleveland, OH 44127‐1012                                                                               First Class Mail
Voting Party                   University Umc Redlands                                       Attn: Gary L Wintergerst                      100 S Lasalle St                                         Redlands, CA 92374                                                   gwintergg@gmail.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         University United Methodist Church                            Istrouma Area Council 211                     3350 Dalrymple Dr                                        Baton Rouge, LA 70802‐6914                                                                             First Class Mail
Chartered Organization         University United Methodist Church                            Occoneechee 421                               P.O. Box 728                                             Chapel Hill, NC 27514‐0728                                                                             First Class Mail
Chartered Organization         University United Methodist Church                            Occoneechee 421                               150 E Franklin St                                        Chapel Hill, NC 27514‐3617                                                                             First Class Mail
Chartered Organization         University United Methodist Church                            Longhorn Council 662                          2416 W Berry St                                          Fort Worth, TX 76110‐2818                                                                              First Class Mail
Voting Party                   University United Methodist Church                            Attn: David Notley ‐ Treasurer                3621 Campus Dr                                           College Park, MD 20740                                               office@uumcp.org                  Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   University United Methodist Church                            David P Notley, Jr                            3621 Campus Dr                                           College Park, MD 20740                                               office@uumcp.org                  Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   University United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   University United Methodist Church                            Attn: Treasurer                               18422 Culver Dr                                          Irvine, CA 92612‐2745                                                                                  First Class Mail
Voting Party                   University United Methodist Church ‐ Fort Worth               c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200            Tampa, FL 33602                  erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   University United Methodist Church ‐ Fort Worth               2416 W Berry St                               Fort Worth, TX 76110                                                                                                                                            First Class Mail
Voting Party                   University United Methodist Church (Nv)                       c/o Clarke Law Firm, Plc                      Attn: Marilee Miller Clarke                              8141 E Indian Bend Rd, Ste 105      Scottsdale, AZ 85250             marilee@clarkelawaz.com           Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   University United Methodist Church Chapel Hill                Attn: Dr Creighton Alexander                  150 E Franklin St                                        Chapel Hill, NC 27514‐3617                                           calexander@universityumc.church   Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   University United Methodist Church Of Austin                  Attn: Finance Manager, Uumc Austin            2409 Guadalupe                                           Austin, TX 78705                                                     finance@uumc.org                  Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Voting Party                   University United Methodist Church, Redlands                  Attn: Pastor                                  940 E Colton Ave                                         Redlands, CA 92374                                                   redlandsuumc.office@gmail.com     Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         University Utd Methodist Church                               Las Vegas Area Council 328                    4412 S Maryland Pkwy                                     Las Vegas, NV 89119‐7530                                                                               First Class Mail
Chartered Organization         University Utd Methodist Church                               Coronado Area Council 192                     1509 S Santa Fe Ave                                      Salina, KS 67401‐6159                                                                                  First Class Mail
Chartered Organization         University Utd Methodist Church                               Alamo Area Council 583                        5084 De Zavala Rd                                        San Antonio, TX 78249‐2025                                                                             First Class Mail
Chartered Organization         University Utd Methodist Church                               Jayhawk Area Council 197                      1621 SW College Ave                                      Topeka, KS 66604‐2761                                                                                  First Class Mail
Chartered Organization         University Utd Methodist Church                               Indian Nations Council 488                    500 S College Ave                                        Tulsa, OK 74104                                                                                        First Class Mail
Chartered Organization         University Utd Methodist Church                               Northwest Texas Council 587                   P.O. Box 4244                                            Wichita Falls, TX 76308‐0244                                                                           First Class Mail
Chartered Organization         University Utd Methodist Church                               Northwest Texas Council 587                   3405 Taft Blvd                                           Wichita Falls, TX 76308‐2035                                                                           First Class Mail
Voting Party                   Unknown Local Council                                         Attn: Magne G Gundersen                       1 Scout Way                                              Doylestown, PA 18901‐4890                                            magne.gundersen@scouting.org      Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Uno Aviation Institute                                        Mid‐America Council 326                       Cpacs 120                                                Omaha, NE 68182                                                                                        First Class Mail
Chartered Organization         Uno Computer Tech                                             Mid‐America Council 326                       12401 W Maple Rd                                         Omaha, NE 68164‐1853                                                                                   First Class Mail
Chartered Organization         Uop, Inc                                                      Pathway To Adventure 456                      25 E Algonquin Rd                                        Des Plaines, IL 60016‐6101                                                                             First Class Mail
Chartered Organization         Upland Civic Assoc, Inc                                       Sagamore Council 162                          P.O. Box 147                                             Upland, IN 46989‐0147                                                                                  First Class Mail
Chartered Organization         Upland First Utd Methodist Church                             California Inland Empire Council 045          262 N Euclid Ave                                         Upland, CA 91786‐6037                                                                                  First Class Mail
Chartered Organization         Upland Host Lions Club                                        California Inland Empire Council 045          P.O. Box 766                                             Upland, CA 91785                                                                                       First Class Mail
Chartered Organization         Upland Police Dept                                            California Inland Empire Council 045          1499 W 13th St                                           Upland, CA 91786‐2992                                                                                  First Class Mail
Chartered Organization         Upland Rotary Foundation                                      California Inland Empire Council 045          P.O. Box 701                                             Upland, CA 91785‐0701                                                                                  First Class Mail
Chartered Organization         Uplift Pinnacle Preparatory                                   Circle Ten Council 571                        2510 S Vernon Ave                                        Dallas, TX 75224‐1803                                                                                  First Class Mail
Chartered Organization         Uplift White Rock Hills                                       Circle Ten Council 571                        7370 Valley Glen Dr                                      Dallas, TX 75228‐6807                                                                                  First Class Mail
Chartered Organization         Upper Arlington Lutheran Church                               Simon Kenton Council 441                      2300 Lytham Rd                                           Columbus, OH 43220‐4638                                                                                First Class Mail
Voting Party                   Upper Catskills Larger Parish United Methodist Church         Attn: Donna Leroy                             614 State Rte 10                                         Stamford, NY 12167                                                   Donna.LeRoy@nyac‐umc.com          Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Upper Dublin Lutheran Church                                  Cradle of Liberty Council 525                 411 Susquehanna Rd                                       Ambler, PA 19002‐4947                                                                                  First Class Mail
Chartered Organization         Upper Kanawh Valley Ymca                                      Buckskin 617                                  201 2nd Ave                                              Montgomery, WV 25136‐2435                                                                              First Class Mail
Chartered Organization         Upper King & Queen Ruritan Club                               Heart of Virginia Council 602                 6979 Owens Mill Rd                                       Indian Neck, VA 23148‐2320                                                                             First Class Mail
Voting Party                   Upper Lakes Foods, Inc                                        Viking Bldg                                   801 Industry Ave                                         Cloquet, MN 55720‐1635                                                                                 First Class Mail
Chartered Organization         Upper Lancaster Ruritan Club                                  Heart of Virginia Council 602                 P.O. Box 1                                               Lively, VA 22507‐0001                                                                                  First Class Mail
Chartered Organization         Upper Merion Baptist Church                                   Cradle of Liberty Council 525                 585 General Steuben Rd                                   King of Prussia, PA 19406‐1620                                                                         First Class Mail
Chartered Organization         Upper Moreland Intermediate School Hsa                        Cradle of Liberty Council 525                 3990 Orangemans Rd                                       Hatboro, PA 19040‐2800                                                                                 First Class Mail
Voting Party                   Upper N.Y. Annual Conference Of The United Methodist Church   c/o Harter Secrest & Emery LLP                Attn: Peter H. Abdella                                   1900 Bausch & Lomb Pl               Rochester, NY 14604              pabdella@hselaw.com               Email
                                                                                                                                                                                                                                                                                                           First Class Mail
Chartered Organization         Upper Ridgewood Community Church                              Northern New Jersey Council, Bsa 333          35 Fairmount Rd                                          Ridgewood, NJ 07450‐1509                                                                               First Class Mail
Chartered Organization         Upper Rm At Wesley Heights Utd Methodist                      Heart of America Council 307                  1903 Hardesty Ave                                        Kansas City, MO 64127‐2910                                                                             First Class Mail
Chartered Organization         Upper Room @ Apostolic Ch Jesus Christ                        Heart of America Council 307                  8310 Holmes Rd                                           Kansas City, MO 64131‐2254                                                                             First Class Mail
Chartered Organization         Upper Room At Calvary Temple                                  Heart of America Council 307                  5912 St John Ave                                         Kansas City, MO 64123                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                 Page 417 of 442
                                                                                   Case 20-10343-LSS                                   Doc 8171                                        Filed 01/06/22                                                     Page 433 of 457
                                                                                                                                                                          Exhibit B
                                                                                                                                                                           Service List
                                                                                                                                                                    Served as set forth below

        Description                                                         Name                                                                                        Address                                                                                                              Email              Method of Service
Chartered Organization         Upper Room At Child Development                            Heart of America Council 307            5900 Swope Pkwy                                             Kansas City, MO 64130‐4241                                                                             First Class Mail
Chartered Organization         Upper Room At Covenant Presbyterian                        Heart of America Council 307            5931 Swope Pkwy                                             Kansas City, MO 64130‐4242                                                                             First Class Mail
Chartered Organization         Upper Room At Friendship Baptist Church                    Heart of America Council 307            3530 Chelsea Dr                                             Kansas City, MO 64128‐3500                                                                             First Class Mail
Chartered Organization         Upper Room At Garrison Community Ctr                       Heart of America Council 307            1600 E 17th Ter                                             Kansas City, MO 64108‐1654                                                                             First Class Mail
Chartered Organization         Upper Room At Holy Cross                                   Heart of America Council 307            121 N Quincy Ave                                            Kansas City, MO 64123‐1319                                                                             First Class Mail
Chartered Organization         Upper Room At Macedonia Baptist Church                     Heart of America Council 307            1700 E Linwood Blvd                                         Kansas City, MO 64109‐2002                                                                             First Class Mail
Chartered Organization         Upper Room At Metropolitan Missionary                      Heart of America Council 307            2310 E Linwood Blvd                                         Kansas City, MO 64109‐2146                                                                             First Class Mail
Chartered Organization         Upper Room At Palestine Mbc                                Heart of America Council 307            3916 E 39th St                                              Kansas City, MO 64128                                                                                  First Class Mail
Chartered Organization         Upper Room At Paseo Baptist Church                         Heart of America Council 307            2501 Paseo Blvd                                             Kansas City, MO 64108‐2960                                                                             First Class Mail
Chartered Organization         Upper Room At Police Athletic League                       Heart of America Council 307            1801 White Ave                                              Kansas City, MO 64126‐2439                                                                             First Class Mail
Chartered Organization         Upper Room At Recreation Garrison                          Heart of America Council 307            1600 E 17th Ter                                             Kansas City, MO 64108‐1654                                                                             First Class Mail
Chartered Organization         Upper Room Mary L Kelly Ctr At Hogan Mid                   Heart of America Council 307            300 E 39th St, Ste 4A                                       Kansas City, MO 64111‐1531                                                                             First Class Mail
Chartered Organization         Upper Saddle River Schools Pto                             Northern New Jersey Council, Bsa 333    21 Pembroke Trl                                             Upper Saddle River, NJ 07458‐1901                                                                      First Class Mail
Voting Party                   Ups                                                        P O Box 577                             Carol Stream, IL 60132‐0577                                                                                                                                        First Class Mail
Chartered Organization         Upshur County Sheriffs Dept                                East Texas Area Council 585             405 Titus St                                                Gilmer, TX 75644‐1930                                                                                  First Class Mail
Voting Party                   Ups‐Philadelphia                                           P O Box 7247‐0244                       Philadelphia, PA 19170‐0001                                                                                                                                        First Class Mail
Chartered Organization         Upspring                                                   Dan Beard Council, Bsa 438              P.O. Box 23300                                              Cincinnati, OH 45223‐0300                                                                              First Class Mail
Chartered Organization         Upton ‐ Fire Dept Assoc                                    Heart of New England Council 230        20 Church St                                                Upton, MA 01568‐1535                                                                                   First Class Mail
Chartered Organization         Upton ‐ St Gabriel The Archangel Parish                    Heart of New England Council 230        151 Mendon St                                               Upton, MA 01568‐1437                                                                                   First Class Mail
Chartered Organization         Upton Gun Club                                             Black Hills Area Council 695 695        P.O. Box 291                                                Upton, WY 82730‐0291                                                                                   First Class Mail
Voting Party                   Upton United Methodist Church                              Attn: Curtis Rankin                     834 Pine St                                                 Upton, WY 82730                                                       crankin@rtconnect.net            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Upton United Methodist Church                              Attn: Carla Materi                      P.O. Box 182                                                Upton, WY 82730                                                       bunzey1@yahoo.com                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Urban Act Academy As                                       Crossroads of America 160               1250 E Market St                                            Indianapolis, IN 46202‐3831                                                                            First Class Mail
Chartered Organization         Urban Heights Covenant Church                              Mid Iowa Council 177                    7605 Aurora Ave                                             Urbandale, IA 50322‐1759                                                                               First Class Mail
Chartered Organization         Urban League Of Middle Tennesse‐Napier                     Middle Tennessee Council 560            60 Fairfield Ave                                            Nashville, TN 37210‐2757                                                                               First Class Mail
Chartered Organization         Urban Pathways Charter School                              Laurel Highlands Council 527            914 Penn Ave                                                Pittsburgh, PA 15222‐3713                                                                              First Class Mail
Chartered Organization         Urban Pathways Middle School                               Laurel Highlands Council 527            914 Penn Ave                                                Pittsburgh, PA 15222‐3713                                                                              First Class Mail
Chartered Organization         Urban Scouting Committee                                   New Birth of Freedom 544                1 Baden Powell Ln                                           Mechanicsburg, PA 17050‐2344                                                                           First Class Mail
Chartered Organization         Urban Scouting Committee                                   New Birth of Freedom 544                2139 White St                                               York, PA 17404‐4953                                                                                    First Class Mail
Chartered Organization         Urban Vision                                               Great Trail 433                         749 Blaine Ave                                              Akron, OH 44310‐3035                                                                                   First Class Mail
Chartered Organization         Urbana Friends Church                                      Tecumseh 439                            200 N Rohrer St                                             Urbana, OH 43078                                                                                       First Class Mail
Voting Party                   Urbana Friends Church                                      Attn: Pastor Jacob Hayward              204 N Rohrer St                                             Urbana, OH 43078                                                      pastorjacobhayward@gmail.com     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Urbana Neighborhood Connection Ctr                         Prairielands 117                        1401 E Main St                                              Urbana, IL 61802‐2833                                                                                  First Class Mail
Chartered Organization         Urbana Recreation Council                                  National Capital Area Council 082       3839 Kendall Dr                                             Frederick, MD 21704‐7884                                                                               First Class Mail
Chartered Organization         Urbana Utd Methodist Church                                Tecumseh 439                            238 N Main St                                               Urbana, OH 43078‐1604                                                                                  First Class Mail
Voting Party                   Urbandale United Church Of Christ                          3530 70th St                            Urbandale, IA 50322                                                                                                               staff@urbucc.org                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Uriah Umc (Gardners)                                       c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Ursa Christian Church                                      Mississippi Valley Council 141 141      P.O. Box 37                                                 Ursa, IL 62376‐0037                                                                                    First Class Mail
Chartered Organization         Us Bank Boys & Girls Club                                  Dan Beard Council, Bsa 438              3504 Washington Ave                                         Cincinnati, OH 45229‐2616                                                                              First Class Mail
Chartered Organization         Us Border Partol Fort Brown Station                        Rio Grande Council 775                  3305 S Expressway 83                                        Brownsville, TX 78521‐6761                                                                             First Class Mail
Chartered Organization         Us Border Patrol                                           Conquistador Council Bsa 413            1300 W Richey Ave                                           Artesia, NM 88210‐9420                                                                                 First Class Mail
Chartered Organization         Us Border Patrol                                           Catalina Council 011                    1608 N Kings Hwy                                            Douglas, AZ 85607‐6155                                                                                 First Class Mail
Chartered Organization         Us Border Patrol                                           South Texas Council 577                 11119 Mcpherson Rd                                          Laredo, TX 78045‐6265                                                                                  First Class Mail
Chartered Organization         Us Border Patrol                                           Yucca Council 573                       441 Duncan Hwy                                              Lordsburg, NM 88045‐1231                                                                               First Class Mail
Chartered Organization         Us Border Patrol                                           Catalina Council 011                    2430 S Swan Rd                                              Tucson, AZ 85711‐6565                                                                                  First Class Mail
Chartered Organization         Us Border Patrol Ajo Station                               Catalina Council 011                    850 N Hwy 85                                                Ajo, AZ 85321‐9634                                                                                     First Class Mail
Chartered Organization         Us Border Patrol Brown Field Station                       San Diego Imperial Council 049          7560 Britannia Ct                                           San Diego, CA 92154‐7403                                                                               First Class Mail
Chartered Organization         Us Border Patrol El Cajon Station                          San Diego Imperial Council 049          225 Kenney St                                               El Cajon, CA 92020‐1282                                                                                First Class Mail
Chartered Organization         Us Border Patrol Explorer Post                             Grand Canyon Council 010                4151 S Ave A                                                Yuma, AZ 85365‐5004                                                                                    First Class Mail
Chartered Organization         Us Border Patrol Explorer Post 869                         Catalina Council 011                    2136 S Naco Hwy                                             Bisbee, AZ 85603‐6236                                                                                  First Class Mail
Chartered Organization         Us Border Patrol Gibraltar Station                         Great Lakes Fsc 272                     14801 Middle Gibraltar Rd                                   Gibraltar, MI 48173‐9713                                                                               First Class Mail
Chartered Organization         Us Border Patrol Houlton Station                           Katahdin Area Council 216               591 North St                                                Houlton, ME 04730‐3551                                                                                 First Class Mail
Chartered Organization         Us Border Patrol Sonoita                                   Catalina Council 011                    P.O. Box 37                                                 Sonoita, AZ 85637‐0037                                                                                 First Class Mail
Chartered Organization         Us Border Patrol‐Wellton Station                           Grand Canyon Council 010                10888 S Ave 31 E                                            Wellton, AZ 85356‐6644                                                                                 First Class Mail
Chartered Organization         Us Coast Guard Auxiliary Flotilla 2604                     Piedmont Council 420                    P.O. Box 569                                                Denver, NC 28037‐0569                                                                                  First Class Mail
Chartered Organization         Us Customs & Border Protection                             Dan Beard Council, Bsa 438              4243 Olympic Blvd, Ste 210                                  Erlanger, KY 41018‐3113                                                                                First Class Mail
Chartered Organization         Us Customs & Border Protection                             Central Florida Council 083             9043 Tradeport Dr                                           Orlando, FL 32827‐5373                                                                                 First Class Mail
Chartered Organization         Us Customs & Border Protection                             San Diego Field Office                  406 Virginia Ave                                            San Ysidro, CA 92173                                                                                   First Class Mail
Chartered Organization         Us Customs & Border Protection                             Greater New York Councils, Bsa 640      Jfk Airport Bldg 77                                         Us Customs & Border Protection       Jamaica, NY 11430                                                 First Class Mail
Chartered Organization         Us Customs And Border Protection                           Pathway To Adventure 456                27 Jennie Finch Way                                         Des Plaines, IL 60018‐5244                                                                             First Class Mail
Chartered Organization         Us Customs And Border Protection                           Great Lakes Fsc 272                     477 Michigan Ave                                            Detroit, MI 48226‐2523                                                                                 First Class Mail
Chartered Organization         Us Customs And Border Protection                           Yucca Council 573                       9400 Viscount Blvd                                          El Paso, TX 79925‐7029                                                                                 First Class Mail
Chartered Organization         Us Customs And Border Protection                           Shenandoah Area Council 598             440 Koonce Rd                                               Harpers Ferry, WV 25425‐3126                                                                           First Class Mail
Chartered Organization         Us Customs And Border Protection                           Aloha Council, Bsa 104                  300 Rodgers Blvd, Unit 66                                   Honolulu, HI 96819‐1832                                                                                First Class Mail
Chartered Organization         Us Customs And Border Protection                           Voyageurs Area 286                      2 2nd Ave                                                   International Falls, MN 56649‐2344                                                                     First Class Mail
Chartered Organization         Us Customs And Border Protection                           Greater New York Councils, Bsa 640      1100 Raymond Blvd                                           Newark, NJ 07102‐5234                                                                                  First Class Mail
Chartered Organization         Us Customs And Border Protection                           Green Mountain 592                      480 Welcome Center Rd                                       Swanton, VT 05488‐8887                                                                                 First Class Mail
Chartered Organization         Us Customs Dhs/Cpd                                         Northern Lights Council 429             10980 I29, Ste 2                                            Pembina, ND 58271‐9745                                                                                 First Class Mail
Chartered Organization         Us Customs Service                                         Puerto Rico Council 661                 1 Calle La Puntilla                                         San Juan, PR 00901‐1819                                                                                First Class Mail
Chartered Organization         Us Dept Of Homeland Security                               National Capital Area Council 082       12379 Sunrise Valley Dr, Ste C                              Reston, VA 20191‐3422                                                                                  First Class Mail
Chartered Organization         Us Embassy El Salvador                                     National Capital Area Council 082       Unit 3450 Box 95                                            DPO, AA 34023‐0095                                                                                     First Class Mail
Voting Party                   Us Foods, Inc                                              P O Box 281838                          Atlanta, GA 30384‐1838                                                                                                                                             First Class Mail
Chartered Organization         Us Forest Service                                          W L A C C 051                           30800 Bouquet Canyon Rd                                     Santa Clarita, CA 91390‐1103                                                                           First Class Mail
Chartered Organization         Us Mountain Ranger Assoc                                   Northeast Georgia Council 101           1 Camp Merrill                                              Dahlonega, GA 30533‐1802                                                                               First Class Mail
Chartered Organization         Us Stem                                                    National Capital Area Council 082       7371 Atlas Walk Way                                         Gainesville, VA 20155‐2992                                                                             First Class Mail
Chartered Organization         Us VFW Post 2917                                           Aloha Council, Bsa 104                  P.O. Box 7383                                               Agat, GU 96928‐0383                                                                                    First Class Mail
Chartered Organization         Us VFW Post 970                                            Aloha Council, Bsa 104                  250 Aupaka St                                               Honolulu, HI 96818‐4660                                                                                First Class Mail
Chartered Organization         Us Warriors Outdoors                                       Denver Area Council 061                 11405 W 78th Dr                                             Arvada, CO 80005‐3427                                                                                  First Class Mail
Chartered Organization         Usaf/Roa Mesa Chapter                                      Grand Canyon Council 010                120 N Val Vista Dr, Lot 113                                 Mesa, AZ 85213‐8632                                                                                    First Class Mail
Chartered Organization         Usag‐G Woa                                                 Transatlantic Council, Bsa 802          Gd 33                                                       APO, AE 09112                                                                                          First Class Mail
Chartered Organization         Usc Football Service & Camp Staff                          Indian Waters Council 553               715 Betsy Dr                                                Columbia, SC 29210‐7867                                                                                First Class Mail
Chartered Organization         Uscg Auxiliary Flotilla 081‐07‐04                          Alamo Area Council 583                  5100 John D Ryan Blvd, Apt 2705                             San Antonio, TX 78245‐3515                                                                             First Class Mail
Chartered Organization         Usfs‐ Dalton Fire Station                                  Greater Los Angeles Area 033            1090 Glendora Mountain Rd                                   Glendora, CA 91741‐2302                                                                                First Class Mail
Chartered Organization         Usga Floatilla 2511                                        National Capital Area Council 082       933 Basswood Dr                                             Stafford, VA 22554‐2580                                                                                First Class Mail
Voting Party                   Usi Insurance Services LLC                                 100 Summit Lake Dr, Ste 400             Valhalla, NY 10595‐1362                                                                                                                                            First Class Mail
Chartered Organization         Uss Dorchester VFW Post 8731                               Northern Star Council 250               713 S Cedar St                                              Monticello, MN 55362‐8200                                                                              First Class Mail
Voting Party                   Ust Brand                                                  P O Box 95000‐1007                      Philadelphia, PA 19195‐1107                                                                                                                                        First Class Mail
Chartered Organization         Ut Battelle                                                Great Smoky Mountain Council 557        1 Bethel Valley Rd                                          Oak Ridge, TN 37830‐8050                                                                               First Class Mail
Chartered Organization         Ut Southwestern Medical Ctr                                Circle Ten Council 571                  5323 Harry Hines Blvd                                       Dallas, TX 75390‐7208                                                                                  First Class Mail
Chartered Organization         Utah Gang Investigators Assn                               Great Salt Lake Council 590             1898 W Bridgecrest Cir                                      Salt Lake City, UT 84116‐4150                                                                          First Class Mail
Chartered Organization         Utah Heritage Hwy 89 Alliance                              Utah National Parks 591                 P.O. Box 344                                                Richfield, UT 84701‐0344                                                                               First Class Mail
Voting Party                   Utahville United Methodist Church (188620)                 c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                      680 Washington Rd, Ste 200           Pittsburgh, PA 15228             lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Utd Food & Commercial Workers Local 1625                   Greater Tampa Bay Area 089              705 E Orange St                                             Lakeland, FL 33801‐5029                                                                                First Class Mail
Chartered Organization         Utd Methodist Ch Aldersgate Scouts                         Ufcw Local 1625                         5600 US Hwy 98 N, Ste 3                                     Lakeland, FL 33809                                                                                     First Class Mail
Chartered Organization         Utd Methodist Ch Bonner Spgs                               Heart of America Council 307            425 W Morse Ave                                             Bonner Springs, KS 66012‐1833                                                                          First Class Mail
Chartered Organization         Utd Methodist Ch Marthas Vineyard                          Cape Cod and Islands Cncl 224           P.O. Box 2480                                               Oak Bluffs, MA 02557                                                                                   First Class Mail
Chartered Organization         Utd Methodist Men Renton 1St Utd                           Chief Seattle Council 609               2201 NE 4th St                                              Renton, WA 98056‐4073                                                                                  First Class Mail
Chartered Organization         Utd Methodist Men‐Utd Methodist Ch                         Twin Rivers Council 364                 127 Beekman St                                              Plattsburgh, NY 12901‐1434                                                                             First Class Mail
Chartered Organization         Utd Metropolitan Missionary Baptist Ch                     Old Hickory Council 427                 450 Metropolitan Dr                                         Winston Salem, NC 27101‐4390                                                                           First Class Mail
Chartered Organization         Ute Meadows Elementary Pta                                 Denver Area Council 061                 11050 W Meadows Dr                                          Littleton, CO 80127‐2871                                                                               First Class Mail
Chartered Organization         Utica Church Of Christ                                     Simon Kenton Council 441                115 Central Ave N                                           Utica, OH 43080                                                                                        First Class Mail
Chartered Organization         Utica Community Scouts                                     Andrew Jackson Council 303              1529 Cayuga Rd                                              Utica, MS 39175‐9464                                                                                   First Class Mail
Chartered Organization         Utica Elementary                                           Lincoln Heritage Council 205            210 Maplehurst Dr                                           Jeffersonville, IN 47130‐8545                                                                          First Class Mail
Chartered Organization         Utica Shelby Township Kiwanis                              Great Lakes Fsc 272                     43421 Garfield Rd, Ste 200                                  Clinton Township, MI 48038‐1133                                                                        First Class Mail
Voting Party                   Utica United Methodist Church                              Attn: Donald Dean Gotham                8650 Canal Rd                                               Sterling Heights, MI 48314                                            srpastor@uticaumc.org            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Utica United Methodist Church                              626 North St                            Utica, OH 43080                                                                                                                   jasnyder105@gmail.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Uvalde Baptist Church                                      Sam Houston Area Council 576            901 Uvalde Rd                                               Houston, TX 77015‐3701                                                                                 First Class Mail
Chartered Organization         Uvalde Kiwanis Club                                        Texas SW Council 741                    117 Studer St                                               Uvalde, TX 78801‐4239                                                                                  First Class Mail
Chartered Organization         Uw Eau Claire Hmong Student Assoc                          Chippewa Valley Council 637             220 Davies Center                                           Eau Claire, WI 54701                                                                                   First Class Mail
Chartered Organization         Uwchlan Ambulance Corps                                    Chester County Council 539              70 W Welsh Pool Rd                                          Exton, PA 19341‐1222                                                                                   First Class Mail
Chartered Organization         Uwchlan Hills Elem Sch‐Home & Sch Assn                     Chester County Council 539              50 Peck Rd                                                  Downingtown, PA 19335‐1741                                                                             First Class Mail
Chartered Organization         Uwec Alpha Phi Omega                                       Chippewa Valley Council 637             105 Garfield Ave                                            Eau Claire, WI 54701‐4811                                                                              First Class Mail
Chartered Organization         Uwec Blugold Beginnings                                    Chippewa Valley Council 637             131 Garfield Ave                                            Eau Claire, WI 54701‐4811                                                                              First Class Mail
Chartered Organization         V F W Auxiliary Post 6007 ‐ Plainfield                     Attn: Bernadette Sherman                327 S East St                                               Plainfield, WI 54966‐9617                                                                              First Class Mail
Chartered Organization         V F W Post 10125                                           Golden Empire Council 047               P.O. Box 898                                                Rancho Cordova, CA 95741‐0898                                                                          First Class Mail
Chartered Organization         V F W Post 1230 ‐ Wolf Olson ‐ Sheboygan                   Bay‐Lakes Council 635                   1138 Union Ave                                              Sheboygan, WI 53081‐5939                                                                               First Class Mail
Chartered Organization         V F W Post 1393 ‐ West Bend                                Bay‐Lakes Council 635                   255 E Washington St                                         West Bend, WI 53095‐2525                                                                               First Class Mail
Chartered Organization         V F W Post 152                                             Narragansett 546                        P.O. Box 351                                                North Kingstown, RI 02852‐0351                                                                         First Class Mail
Chartered Organization         V F W Post 2010                                            Longhorn Council 662                    P.O. Box 916                                                Cameron, TX 76520‐0916                                                                                 First Class Mail
Chartered Organization         V F W Post 2778 ‐ Appleton                                 Bay‐Lakes Council 635                   501 N Richmond St                                           Appleton, WI 54911‐4674                                                                                First Class Mail
Chartered Organization         V F W Post 3153 ‐ Chilton                                  Bay‐Lakes Council 635                   Calumet County                                              Post 3153                            Chilton, WI 53014                                                 First Class Mail
Chartered Organization         V F W Post 3358 ‐ Zunker/Held ‐ Slinger                    Bay‐Lakes Council 635                   201 Kettle Moraine Dr S                                     Slinger, WI 53086‐9557                                                                                 First Class Mail
Chartered Organization         V F W Post 3368                                            Westmoreland Fayette 512                416 W Main St                                               Mt Pleasant, PA 15666‐1535                                                                             First Class Mail
Chartered Organization         V F W Post 4117                                            Northeast Iowa Council 178              105 Allamakee St                                            Waukon, IA 52172‐1708                                                                                  First Class Mail
Chartered Organization         V F W Post 6007                                            Bay‐Lakes Council 635                   410 S East St                                               Plainfield, WI 54966‐9616                                                                              First Class Mail
Chartered Organization         V F W Post 6705 ‐ Denmark                                  Bay‐Lakes Council 635                   P.O. Box 482                                                Denmark, WI 54208‐0482                                                                                 First Class Mail
Chartered Organization         V F W Post 7692 ‐ Freedom                                  Bay‐Lakes Council 635                   N3920 State Hwy 55                                          Freedom, WI 54130                                                                                      First Class Mail
Chartered Organization         Va Ave Methodist Church                                    Buckskin 617                            1900 Virginia Ave                                           Bluefield, VA 24605‐1135                                                                               First Class Mail
Chartered Organization         Va Romo VFW Post 3165                                      Bay‐Lakes Council 635                   P.O. Box 111                                                Negaunee, MI 49866‐0111                                                                                First Class Mail
Chartered Organization         Vacaville Community Presbyterian Church                    Golden Empire Council 047               425 Hemlock St                                              Vacaville, CA 95688‐2615                                                                               First Class Mail
Chartered Organization         Vacaville Sunrise Rotary                                   Golden Empire Council 047               560 Main St                                                 Vacaville, CA 95688‐3961                                                                               First Class Mail
Chartered Organization         Vadnais Heights Lions Club                                 Northern Star Council 250               800 County Rd E E                                           Vadnais Heights, MN 55127‐7117                                                                         First Class Mail
Chartered Organization         Vail Baptist Church                                        Denver Area Council 061                 P.O. Box 2676                                               Edwards, CO 81632‐2676                                                                                 First Class Mail
Chartered Organization         Vail Fire And Emergency Services                           Denver Area Council 061                 2399 N Frontage Rd W                                        Vail, CO 81657‐4285                                                                                    First Class Mail
Chartered Organization         Vail School District ‐ Stem Labs                           Catalina Council 011                    13801 E Benson Hwy                                          Vail, AZ 85641‐9074                                                                                    First Class Mail
Chartered Organization         Vail Ward ‐ Lds South Stake                                Catalina Council 011                    1655 S Melpomene Way                                        Tucson, AZ 85748                                                                                       First Class Mail
Chartered Organization         Vails Gate Fire Co                                         Hudson Valley Council 374               P.O. Box 101                                                Vails Gate, NY 12584‐0101                                                                              First Class Mail
Voting Party                   Vails Gate United Methodist Church                         Attn: Carol A Pick                      17 Hill Run Rd                                              Newburgh, NY 12550                                                    ccap137@gmail.com                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Vails Gate United Methodist Church                         P O Box 37                              Vails Gate, NY 12550                                                                                                                                               First Class Mail
Chartered Organization         Val Verde School Police Dept                               California Inland Empire Council 045    975 Morgan St                                               Perris, CA 92571‐3103                                                                                  First Class Mail
Chartered Organization         Val Vista Academy                                          Grand Canyon Council 010                4120 S Val Vista Dr                                         Gilbert, AZ 85297‐4607                                                                                 First Class Mail
Chartered Organization         Valdese First Utd Methodist Church                         Piedmont Council 420                    P.O. Box 637                                                Valdese, NC 28690‐0637                                                                                 First Class Mail
Voting Party                   Vale Umc                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                          100 N Tampa St, Ste 2200             Tampa, FL 33602                  erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Vale United Methodist Church                               National Capital Area Council 082       11528 Vale Rd                                               Oakton, VA 22124‐1342                                                                                  First Class Mail
Chartered Organization         Vale Utd Methodist Church                                  National Capital Area Council 082       11444 Norwegian Mill Ct                                     Oakton, VA 22124‐2254                                                                                  First Class Mail
Chartered Organization         Valencia Ward ‐ Lds South Stake                            Catalina Council 011                    105 N Norton Ave                                            Tucson, AZ 85719‐6021                                                                                  First Class Mail
Chartered Organization         Valencia Way                                               North Florida Council 087               5150 Hollycrest Dr                                          Jacksonville, FL 32205‐7003                                                                            First Class Mail
Chartered Organization         Valentine Utd Methodist                                    Overland Trails 322                     804 E 5th St                                                Valentine, NE 69201‐1613                                                                               First Class Mail
Voting Party                   Valeria Karpen                                             Address Redacted                                                                                                                                                          Email Address Redacted           Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Valerie Worcester                                          118 Main St                             Columbia Falls, ME 04623                                                                                                          valerieworcester47@gmail.com     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Valero Energy Flight Dept                                  Alamo Area Council 583                  1000 Skyplace Blvd                                          San Antonio, TX 78216‐2993                                                                             First Class Mail
Chartered Organization         Valhalla Parents Faculty Assoc                             Mt Diablo‐Silverado Council 023         530 Kiki Dr                                                 Pleasant Hill, CA 94523‐1717                                                                           First Class Mail
Voting Party                   Valhalla United Methodist Church                           Attn: Sal Vaccaro                       200 Columbus Ave                                            Valhalla, NY 10595                                                    salvaccaro1007@gmail.com         Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Valle Crucis Conference Center                             c/o Hilderbran Hitchcock, PA            Attn: Gregory Hilderbran                                    301 College St, Ste 100              Asheville, NC 28801              greg@h2lawgroup.com              Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Valle Lutheran Church                                      Northern Lights Council 429             P.O. Box 66                                                 Rolette, ND 58366‐0066                                                                                 First Class Mail
Chartered Organization         Vallejo Fire Dept                                          Mt Diablo‐Silverado Council 023         1220 Marin St                                               Vallejo, CA 94590‐5144                                                                                 First Class Mail
Chartered Organization         Vallejo Suburban Kiwanis                                   Mt Diablo‐Silverado Council 023         186 Allison Ct                                              Vallejo, CA 94589‐4317                                                                                 First Class Mail
Chartered Organization         Valley Bank Of Helena                                      Attn: Jolene Giarde                     P.O. Box 5269                                               Helena, MT 59604‐5269                                                                                  First Class Mail
Chartered Organization         Valley Bible Evangelical Free Church                       Connecticut Rivers Council, Bsa 066     220 Turkey Hill Rd                                          Haddam, CT 06438‐1275                                                                                  First Class Mail
Chartered Organization         Valley Builders, LLC                                       Crater Lake Council 491                 1121 Sierra Vista St                                        Central Point, OR 97502‐2124                                                                           First Class Mail
Chartered Organization         Valley Care Health System                                  San Francisco Bay Area Council 028      1111 E Stanley Blvd                                         Livermore, CA 94550‐4115                                                                               First Class Mail
Chartered Organization         Valley Catholic Elementary School                          Cascade Pacific Council 492             4420 SW St Marys Dr                                         Beaverton, OR 97078‐2798                                                                               First Class Mail
Voting Party                   Valley Chapel United Methodist Church                      Attn: Beverly Villers                   1511 Pleasant Valley Rd                                     Fairmont, WV 26554                                                    pastorpleasantvalley@gmail.com   Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Valley Christian Church                                    Northern Lights Council 429             611 37th Ave S                                              Moorhead, MN 56560‐5519                                                                                First Class Mail
Chartered Organization         Valley Christian Reformed Church                           Baden‐Powell Council 368                1452 River Rd                                               Binghamton, NY 13901‐5616                                                                              First Class Mail
Chartered Organization         Valley Christian School                                    Inland Nwest Council 611                10212 E 9th Ave                                             Spokane Valley, WA 99206‐6944                                                                          First Class Mail
Chartered Organization         Valley Church                                              President Gerald R Ford 781             5980 Lake Michigan Dr                                       Allendale, MI 49401‐9576                                                                               First Class Mail
Chartered Organization         Valley Church                                              Mid Iowa Council 177                    4343 Fuller Rd                                              West Des Moines, IA 50265‐5319                                                                         First Class Mail
Chartered Organization         Valley City Fire Dept                                      Great Trail 433                         6700 Center Rd                                              Valley City, OH 44280‐9435                                                                             First Class Mail
Chartered Organization         Valley Community Church                                    Rocky Mountain Council 063              4253 Mercantile St                                          Colorado City, CO 81019                                                                                First Class Mail
Chartered Organization         Valley Community Utd Presby Church                         Cascade Pacific Council 492             8060 SW Brentwood St                                        Portland, OR 97225‐2322                                                                                First Class Mail
Chartered Organization         Valley Crest Preserve, Inc                                 Washington Crossing Council 777         14 Allerton Rd                                              Lebanon, NJ 08833‐3209                                                                                 First Class Mail
Chartered Organization         Valley Ctr Fire Protection District                        San Diego Imperial Council 049          28234 Lilac Rd                                              Valley Center, CA 92082‐5413                                                                           First Class Mail
Chartered Organization         Valley Ctr Optimist                                        San Diego Imperial Council 049          13300 Blueberry Hill Ln                                     Valley Center, CA 92082‐5407                                                                           First Class Mail
Chartered Organization         Valley Ctr Optimist Club                                   San Diego Imperial Council 049          P.O. Box 556                                                Valley Center, CA 92082‐0556                                                                           First Class Mail
Chartered Organization         Valley Ctr Utd Methodist Church                            Quivira Council, Bsa 198                560 N Park Ave                                              Valley Center, KS 67147‐2561                                                                           First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                           Page 418 of 442
                                                                                 Case 20-10343-LSS                                       Doc 8171                                         Filed 01/06/22                                                  Page 434 of 457
                                                                                                                                                                             Exhibit B
                                                                                                                                                                              Service List
                                                                                                                                                                       Served as set forth below

        Description                                                       Name                                                                                             Address                                                                                                            Email                 Method of Service
Chartered Organization         Valley Elementary School Pto                              Washington Crossing Council 777            3100 Donallen Dr                                             Bensalem, PA 19020‐1838                                                                                 First Class Mail
Chartered Organization         Valley Falls Rotary Club                                  Jayhawk Area Council 197                   P.O. Box 188                                                 Valley Falls, KS 66088‐0188                                                                             First Class Mail
Chartered Organization         Valley Falls Volunteer Fire Co                            Twin Rivers Council 364                    9 Charles St                                                 Valley Falls, NY 12185                                                                                  First Class Mail
Chartered Organization         Valley Forge Military Academy                             Cradle of Liberty Council 525              1001 Eagle Rd                                                Wayne, PA 19087‐3613                                                                                    First Class Mail
Chartered Organization         Valley Forge Volunteer Fire Co                            Chester County Council 539                 P.O. Box 62                                                  Valley Forge, PA 19481‐0062                                                                             First Class Mail
Chartered Organization         Valley Guns Ii                                            Shenandoah Area Council 598                998 Arden Nollville Rd                                       Inwood, WV 25428‐4091                                                                                   First Class Mail
Chartered Organization         Valley Hanaro Church                                      W L A C C 051                              8131 Tampa Ave                                               Reseda, CA 91335‐1131                                                                                   First Class Mail
Chartered Organization         Valley Hope Ctr                                           Lincoln Heritage Council 205               10801 Deering Rd                                             Louisville, KY 40272‐4127                                                                               First Class Mail
Voting Party                   Valley Korean United Methodist Church                     Attn: Joon Choi                            10408 Balboa Blvd                                            Granada Hills, CA 91344                                            jaedlew@gmail.com                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Valley Lake                                               Northern Lights Council 429                P.O. Box 411                                                 Breckenridge, MN 56520‐0411                                                                             First Class Mail
Chartered Organization         Valley Lodge 145 F & Am                                   Muskingum Valley Council, Bsa 467          4360 N Church Rd Nw                                          Malta, OH 43758‐9440                                                                                    First Class Mail
Chartered Organization         Valley Lodge 95, Ioof                                     Quivira Council, Bsa 198                   2023 Forest Ave                                              Great Bend, KS 67530                                                                                    First Class Mail
Chartered Organization         Valley Loop Services, Inc                                 Tecumseh 439                               2301 Valley Loop Rd                                          Springfield, OH 45504‐4043                                                                              First Class Mail
Chartered Organization         Valley Methodist Mens Club                                Inland Nwest Council 611                   Main & Raymond                                               Spokane, WA 99206                                                                                       First Class Mail
Chartered Organization         Valley Mills Christian Church                             Crossroads of America 160                  5555 Kentucky Ave                                            Indianapolis, IN 46221‐4417                                                                             First Class Mail
Chartered Organization         Valley Of Peace Lutheran Church                           Northern Star Council 250                  4735 Bassett Creek Dr D                                      Golden Valley, MN 55422‐4167                                                                            First Class Mail
Voting Party                   Valley Of Peace Lutheran Church                           Attn: Steve Hoge                           4735 Basset Creek Dr                                         Golden Valley, MN 55422                                            mnfill20@gmail.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Valley Of The Moon Lions Club                             Redwood Empire Council 041                 P.O. Box 1737                                                Sonoma, CA 95476‐1737                                                                                   First Class Mail
Chartered Organization         Valley Park Middle Pto                                    Greater St Louis Area Council 312          1 Main St                                                    Valley Park, MO 63088‐1573                                                                              First Class Mail
Chartered Organization         Valley Park Pta                                           Heart of America Council 307               12301 Lamar Ave                                              Overland Park, KS 66209‐2702                                                                            First Class Mail
Chartered Organization         Valley Presbyterian Church                                Grand Canyon Council 010                   6947 E Mcdonald Dr                                           Paradise Valley, AZ 85253‐5342                                                                          First Class Mail
Voting Party                   Valley Presbyterian Church, An Arizona Non‐Profit Corp.   Attn: Kris Bahr                            6947 E Mcdonald Dr                                           Paradise Valley, AZ 85253                                          krisb@vpc.church                     Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Valley Road School Pta                                    Patriots Path Council 358                  Valley Rd                                                    Clark, NJ 07066                                                                                         First Class Mail
Chartered Organization         Valley School Pto                                         Tecumseh 439                               3601 Jonathon Dr                                             Beavercreek, OH 45434‐5957                                                                              First Class Mail
Chartered Organization         Valley Sportsman Club Of Oliver                           Westmoreland Fayette 512                   3 Oliver Hts                                                 Uniontown, PA 15401‐2435                                                                                First Class Mail
Chartered Organization         Valley Traditional High School                            Lincoln Heritage Council 205               10200 Dixie Hwy                                              Louisville, KY 40272‐3950                                                                               First Class Mail
Chartered Organization         Valley United Methodist Church                            French Creek Council 532                   P.O. Box 304                                                 Conneautville, PA 16406‐0304                                                                            First Class Mail
Voting Party                   Valley United Methodist Church                            Attn: Chuck Pate, Treasurer                1410 Drake Ave Se                                            Huntsville, AL 35802                                               vumcpastor@knology.net               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Valley United Methodist Church                            Attn: Pastor                               4201 Ashworth Rd                                             West Des Moines, IA 50265                                          pastorlee@valleyumc.org              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Valley United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Valley United Methodist Church                            Attn: Treasurer ‐ Valley Umc               5980 Lake Michigan Dr, Ste B                                 Allendale, MI 49401                                                                                     First Class Mail
Voting Party                   Valley United Methodist Church (89103)                    c/o Bentz Law Firm                         Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Valley Utd Methodist Church                               Simon Kenton Council 441                   1123 Hogan St                                                Portsmouth, OH 45662‐6421                                                                               First Class Mail
Chartered Organization         Valley Veterans Assoc                                     Laurel Highlands Council 527               108 E Beaver St                                              Sewickley, PA 15143‐2210                                                                                First Class Mail
Chartered Organization         Valley View Elementary Parent Council                     Southern Shores Fsc 783                    960 Ave A                                                    Springfield, MI 49037‐7604                                                                              First Class Mail
Chartered Organization         Valley View Evangelical Church                            Cascade Pacific Council 492                11501 SE Sunnyside Rd                                        Clackamas, OR 97015‐9317                                                                                First Class Mail
Chartered Organization         Valley View Leadership Adventure Club                     Lake Erie Council 440                      17200 Valleyview Ave                                         Cleveland, OH 44135‐4356                                                                                First Class Mail
Chartered Organization         Valley View Rotary                                        Gateway Area 624                           P.O. Box 545                                                 La Crosse, WI 54602‐0545                                                                                First Class Mail
Chartered Organization         Valley View Utd Methodist Church                          Heart of America Council 307               8412 W 95th St                                               Shawnee Mission, KS 66212‐3241                                                                          First Class Mail
Chartered Organization         Valniteco                                                 California Inland Empire Council 045       7000 W Florida Ave                                           Hemet, CA 92545‐3413                                                                                    First Class Mail
Chartered Organization         Valverde Elementary                                       Denver Area Council 061                    2030 W Alameda Ave                                           Denver, CO 80223‐1923                                                                                   First Class Mail
Chartered Organization         Valwood School                                            South Georgia Council 098                  4380 US Hwy 41 N                                             Hahira, GA 31632                                                                                        First Class Mail
Chartered Organization         Van Asselt Community Ctr                                  Chief Seattle Council 609                  2820 S Myrtle St                                             Seattle, WA 98108‐3953                                                                                  First Class Mail
Chartered Organization         Van Avery Prep                                            California Inland Empire Council 045       29851 Santiago Rd                                            Temecula, CA 92592‐3004                                                                                 First Class Mail
Voting Party                   Van Brocklin‐Florence United Methodist Church             Attn: Dawn Barr                            3582 S Bolton Rd                                             Freeport, IL 61032                                                 dawn.barr@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Van Buren United Methodist Church                         Attn: Lisa Oestreich                       201 S Main St                                                P.O. Box 86                       Van Buren, OH 45889              loestreich@vbumcoh.org               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Van Buren Utd Methodist Church                            Black Swamp Area Council 449               201 S Main St                                                Van Buren, OH 45889                                                                                     First Class Mail
Chartered Organization         Van Holton School Pto                                     Patriots Path Council 358                  Van Holten Rd                                                Bridgewater, NJ 08807                                                                                   First Class Mail
Chartered Organization         Van Horne Lions Club                                      Hawkeye Area Council 172                   104 Elm St                                                   Van Horne, IA 52346‐9843                                                                                First Class Mail
Voting Party                   Van Lindt & Taylor, Esqs.                                 Attn: Robert B Taylor                      271 N Ave, Ste 801                                           New Rochelle, NY 10801                                                                                  First Class Mail
Chartered Organization         Van Meter American Legion                                 Mid Iowa Council 177                       910 Main St                                                  Van Meter, IA 50261‐7715                                                                                First Class Mail
Chartered Organization         Van Meter American Legion Post 403                        Mid Iowa Council 177                       214 Van Buren Dr                                             Van Meter, IA 50261‐9741                                                                                First Class Mail
Voting Party                   Van Meter United Methodist Church                         Attn: John R Armstrong                     100 Hazel St, P.O. Box 149                                   Van Meter, IA 50261                                                jarmstrong@ieee.org                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Van Meter United Methodist Church                         Attn: John R Armstrong, Trustee            P.O. Box 149                                                 Van Meter, IA 50261                                                jarmstrong@ieee.org                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Van Methodist Church                                      Buckskin 617                               4944 Main Hewett Creek Rd                                    Hewett, WV 25108‐9800                                                                                   First Class Mail
Chartered Organization         Van Nuys Airport Optimist Club                            W L A C C 051                              30535 Hasley Canyon Rd                                       Castaic, CA 91384‐3231                                                                                  First Class Mail
Voting Party                   Van Nuys United Methodist Church                          Attn: Juanita Springer                     6260 Tyrone Ave                                              Van Nuys, CA 91401                                                 juanitaa2001@yahoo.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Van Sciver Parent Teacher Assoc                           Garden State Council 690                   625 Rhoads Ave                                               Haddonfield, NJ 08033‐2941                                                                              First Class Mail
Voting Party                   Van United Methodist Church                               Attn: Joanne Williams‐Elliott              P.O. Box 1919                                                Van, TX 75790                                                      van_umc@yahoo.com                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Van United Methodist Church                               Attn: Timothy Allen Spratt                 P.O. Box 263                                                 Van, WV 25206                                                                                           First Class Mail
Voting Party                   Van United Methodist Church                               Attn: Timothy Spratt                       P.O. Box 54                                                  Van, WV 25206                                                                                           First Class Mail
Chartered Organization         Van Wert County Sheriffs Dept                             Black Swamp Area Council 449               113 N Market St                                              Van Wert, OH 45891‐1726                                                                                 First Class Mail
Chartered Organization         Van Wert Fire Dept                                        Black Swamp Area Council 449               515 E Main St                                                Van Wert, OH 45891‐1848                                                                                 First Class Mail
Chartered Organization         Van Zandt‐Guinn Elementary ‐ Gifw                         Longhorn Council 662                       501 Missouri Ave                                             Fort Worth, TX 76104                                                                                    First Class Mail
Firm                           Van Zanten & Onik, LLC                                    Hans van Zaten                             1100 Main Street, Ste 1645                                   Kansas City, MO 64105                                              hvanzanten@vzolaw.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Vance High School                                         Mecklenburg County Council 415             7600 Ibm Dr                                                  Charlotte, NC 28262‐4314                                                                                First Class Mail
Chartered Organization         Vance Memorial Presbyterian                               Ohio River Valley Council 619              905 National Rd                                              Wheeling, WV 26003‐6440                                                                                 First Class Mail
Voting Party                   Vance Weekly                                              306 W Myles Ave                            Pennsboro, WV 26415                                                                                                                                                  First Class Mail
Chartered Organization         Vanceboro Rotary Club                                     East Carolina Council 426                  General Delivery                                             Vanceboro, NC 28586                                                                                     First Class Mail
Voting Party                   Vanceboro Umc                                             180 Wayne Rd                               Vanceboro, NC 28586                                                                                                             billy@whitfords.biz                  Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Vanceboro United Methodist Church                         East Carolina Council 426                  General Delivery                                             637 Farm Life Ave                 Vanceboro, NC 28586                                                   First Class Mail
Voting Party                   Vanceboro United Methodist Church                         Attn: Nicholas Guay                        P.O. Box 18                                                  Vanceboro, ME 04491                                                ngguay68@gmail.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Vanceburg Utd Methodist Church                            Blue Grass Council 204                     104 Front St                                                 Vanceburg, KY 41179‐5410                                                                                First Class Mail
Chartered Organization         Vancleave United Methodist Church                         Pine Burr Area Council 304                 P.O. Box 5141                                                Vancleave, MS 39565‐5141                                                                                First Class Mail
Voting Party                   Vancleave/ Mt Pleasant Umc                                Attn: Charles R Frost III                  13620 Hwy 57                                                 Vancleave, MS 39565                                                                                     First Class Mail
Voting Party                   Vancleave/ Mt Pleasant United Methodist Church            P O Box 5141                               Vancleave, MS 39565                                                                                                             vancleaveumc@mgservices.net          Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Vancouver 1St Ch God‐Mens Ministry                        Cascade Pacific Council 492                3300 NE 78th St                                              Vancouver, WA 98665‐0656                                                                                First Class Mail
Voting Party                   Vancouver First United Methodist Church                   c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Vandalia Div Of Police                                    Miami Valley Council, Bsa 444              245 James E Bohanan Memorial Dr                              Vandalia, OH 45377                                                                                      First Class Mail
Chartered Organization         Vandalia Rotary Club                                      Miami Valley Council, Bsa 444              P.O. Box 344                                                 Vandalia, OH 45377‐0344                                                                                 First Class Mail
Voting Party                   Vanden Bos & Chapman, LLP                                 319 SW Washington, Ste 520                 Portland, OR 972‐4                                                                                                              Doug@vbcattorneys.com                Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Vanderbilt Presbyterian Church                            Southwest Florida Council 088              1225 Piper Blvd                                              Naples, FL 34110‐1252                                                                                   First Class Mail
Chartered Organization         Vanderbilt University Medical Ctr                         Middle Tennessee Council 560               1500 21st Ave S, Ste 1516                                    Nashville, TN 37212‐3137                                                                                First Class Mail
Chartered Organization         Vanderburg Utd Methodist Church                           Piedmont Council 420                       1809 Charlotte Hwy                                           Mooresville, NC 28115‐9465                                                                              First Class Mail
Chartered Organization         Vanderburgh County Sheriffs Office                        Buffalo Trace 156                          3500 N Harlan Ave                                            Evansville, IN 47711‐2300                                                                               First Class Mail
Chartered Organization         Vandergriff Elementary Pto                                Westark Area Council 016                   2200 Vandergriff Ln                                          Fayetteville, AR 72703‐2219                                                                             First Class Mail
Chartered Organization         Vandergrift Boys Lacrosse Booster Club                    Capitol Area Council 564                   P.O. Box 340206                                              Austin, TX 78734‐0004                                                                                   First Class Mail
Chartered Organization         Vanderkamp Ctr                                            Longhouse Council 373                      337 Martin Rd                                                Cleveland, NY 13042‐2127                                                                                First Class Mail
Voting Party                   Vanderveer Park United Methodist Church                   3114 Glenwood Rd                           Brooklyn, NY 11210                                                                                                              Vanderveerpark@optonline.net         Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Vanguard Charter Academy                                  President Gerald R Ford 781                1620 52nd St Sw                                              Wyoming, MI 49519‐9629                                                                                  First Class Mail
Voting Party                   Vanguard Modular Building Systems LLC                     717 Constitution Dr, Ste 100               Exton, PA 19341‐1140                                                                                                                                                 First Class Mail
Voting Party                   Vanhornwsville Umc                                        Attn: Rev James E Barnes II                P.O. Box 111                                                 Vanhornesville, NY 13475                                           jimdadii@gmail.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Vannoy School Parents Club                                c/o Vannoy Elementary School               5100 Vannoy Ave                                              Castro Valley, CA 94546‐2518                                                                            First Class Mail
Chartered Organization         Vanport Volunteer Fire Dept                               Laurel Highlands Council 527               P.O. Box 161                                                 Beaver, PA 15009‐0161                                                                                   First Class Mail
Chartered Organization         Vantage Point Church                                      California Inland Empire Council 045       7557 Scholar Way                                             Eastvale, CA 92880                                                                                      First Class Mail
Voting Party                   Vari Sales Corp                                           1221 S Belt Line Rd, Ste 500               Coppell, TX 75019‐4957                                                                                                                                               First Class Mail
Chartered Organization         Varick Memorial Ame Zion Church                           North Florida Council 087                  7013 Blackard Rd                                             Jacksonville, FL 32211‐5960                                                                             First Class Mail
Chartered Organization         Variety Boys And Girls Club Of Queens                     Greater New York Councils, Bsa 640         2112 30th Rd                                                 Long Island City, NY 11102‐3331                                                                         First Class Mail
Voting Party                   Varina Episcopal Church                                   Attn: Kaaron Kelton Austin                 2385 Mill Rd                                                 Henrico, VA 23231                                                                                       First Class Mail
Voting Party                   Varnell United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Varnell Utd Methodist Church                              Northwest Georgia Council 100              250 Georgia Hwy 2                                            Varnell, GA 30756                                                                                       First Class Mail
Firm                           Varnum LLP                                                Jon Bylsma                                 333 Bridge St                                                Grand Rapids, MI 49504                                             jmbylsma@varnumlaw.com               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Varsity Lakes Middle School                               Southwest Florida Council 088              801 Gunnery Rd N                                             Lehigh Acres, FL 33971‐4906                                                                             First Class Mail
Chartered Organization         Vashon Island Fire & Rescue                               Chief Seattle Council 609                  P.O. Box 1150                                                Vashon, WA 98070‐1150                                                                                   First Class Mail
Voting Party                   Vashon Presbyterian Church                                P O Box 435                                Vashon, WA 98070                                                                                                                vashonpresbyterianchurch@yahoo.com   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Vashon Presbyterian Church                                P.O. Box 435                               Vashon, WA 98070                                                                                                                vashonpresbyterianchurch@yahoo.com   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Vashon Sportsmans Club                                    Chief Seattle Council 609                  19720 Singer Rd Sw                                           Vashon, WA 98070                                                                                        First Class Mail
Voting Party                   Vassalboro United Methodist Church                        Lynne W Murray                             116 Main St                                                  Vassalboro, MN 04989                                               rlmurray@roadrunner.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Vassalboro United Methodist Church                        614 Main St                                Vassalboro, ME 04989‐3113                                                                                                       rlmurray@roadrunner.com              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Vassar First United Methodist Church                      Attn: Mary Ann Mossner                     139 N Main St                                                Vassar, MI 48768                                                   vassarfumc@sbcglobal.net             Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Vaughn Charter Next Century Learning Ctr                  W L A C C 051                              13330 Vaughn St                                              San Fernando, CA 91340‐2216                                                                             First Class Mail
Chartered Organization         Vaughn College Of Aeronautics And Tech                    Greater New York Councils, Bsa 640         8601 23rd Ave                                                East Elmhurst, NY 11369‐1000                                                                            First Class Mail
Chartered Organization         Vb Lions Club & Vb U Meth Church                          Black Swamp Area Council 449               County Rd 236                                                Van Buren, OH 45889                                                                                     First Class Mail
Chartered Organization         Vcu Health System                                         Attn: Karen Hill                           P.O. Box 980066                                              Richmond, VA 23298‐0066                                                                                 First Class Mail
Chartered Organization         Velasco Elementary School                                 Bay Area Council 574                       401 N Gulf Blvd                                              Freeport, TX 77541‐4309                                                                                 First Class Mail
Chartered Organization         Velda Rose Utd Methodist Church                           Grand Canyon Council 010                   5540 E Main St                                               Mesa, AZ 85205‐8720                                                                                     First Class Mail
Chartered Organization         Venia Chapel Church                                       Sequoyah Council 713                       1094 Venia Church Rd                                         Honaker, VA 24260                                                                                       First Class Mail
Chartered Organization         Venice Hongwanji Buddhist Church                          W L A C C 051                              12371 Braddock Dr                                            Culver City, CA 90230‐5869                                                                              First Class Mail
Chartered Organization         Venice Presbyterian Church                                Dan Beard Council, Bsa 438                 P.O. Box 41                                                  Ross, OH 45061‐0041                                                                                     First Class Mail
Chartered Organization         Ventana Ranch Neighborhood Assoc                          Great SW Council 412                       7224 Cascada Rd Nw                                           Albuquerque, NM 87114‐3960                                                                              First Class Mail
Chartered Organization         Ventana Ranch Neightborhood Assoc                         Great SW Council 412                       P.O. Box 65446                                               Albuquerque, NM 87193‐5446                                                                              First Class Mail
Chartered Organization         Ventura Cnty Sheriff Dept E Cnty Sta                      Ventura County Council 057                 2101 E Olsen Rd                                              Thousand Oaks, CA 91360‐6861                                                                            First Class Mail
Chartered Organization         Ventura Cnty Sheriff Dept‐Camarillo Sta                   Ventura County Council 057                 3701 Las Posas Rd                                            Camarillo, CA 93010‐1408                                                                                First Class Mail
Chartered Organization         Ventura County Fire Protection District                   Ventura County Council 057                 165 Durley Ave                                               Camarillo, CA 93010‐8586                                                                                First Class Mail
Chartered Organization         Ventura County Sheriff                                    Santa Clara Valley                         524 Sespe Ave                                                Fillmore, CA 93015‐1917                                                                                 First Class Mail
Chartered Organization         Ventura County Sheriff Dept                               Moorpark Station                           610 Spring Rd                                                Moorpark, CA 93021‐1278                                                                                 First Class Mail
Chartered Organization         Ventura County Sheriff Dept                               Ventura County Council 057                 800 S Victoria Ave                                           Ventura, CA 93009‐0001                                                                                  First Class Mail
Chartered Organization         Ventura County Sheriff Dept ‐ Ojai                        Ventura County Council 057                 402 S Ventura St                                             Ojai, CA 93023‐3249                                                                                     First Class Mail
Chartered Organization         Ventura Downtown Lions Club                               Ventura County Council 057                 P.O. Box 3174                                                Ventura, CA 93006‐3174                                                                                  First Class Mail
Chartered Organization         Ventura Elks Lodge 1430                                   Ventura County Council 057                 2126 Knoll Dr                                                Ventura, CA 93003‐7304                                                                                  First Class Mail
Voting Party                   Ventura First United Methodist Church                     Attn: Office Manager, Kathleen Matarazzo   1338 E Santa Clara St                                        Ventura, CA 93001                                                  office@venturafumc.org               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Venture Back To Nature                                    Sequoyah Council 713                       610 Terry Dr                                                 Richlands, VA 24641‐2692                                                                                First Class Mail
Chartered Organization         Venture Church                                            Longhorn Council 662                       801 Keller Pkwy                                              Keller, TX 76248‐2406                                                                                   First Class Mail
Chartered Organization         Venture Crew 820, Inc                                     Central Florida Council 083                2178 Mosswood Dr                                             Melbourne, FL 32935‐5528                                                                                First Class Mail
Chartered Organization         Vera G Scott Elementary School Pta                        Pikes Peak Council 060                     6175 Whetstone Dr                                            Colorado Springs, CO 80923‐7552                                                                         First Class Mail
Voting Party                   Verbank Umc                                               Attn: Kathleen Meyerson                    P.O. Box 25                                                  Verbank, NY 12585                                                  kgmeyerson@yahoo.com                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Verbank United Methodist Church                           Attn: Sarah Cross                          8 Clove Rd                                                   Verbank, NY 12585                                                  sajcross@optonline.net               Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Verdad Y Vida Clearwater Umc                              c/o Bradley Arant Boult Cummings, LLP      Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Verde Elementary Pta                                      3300 N Military Trl                        Boca Raton, FL 33431                                                                                                                                                 First Class Mail
Chartered Organization         Verde Valley Moose Lodge 1449                             Grand Canyon Council 010                   1051 S Broadway                                              Clarkdale, AZ 86324‐3119                                                                                First Class Mail
Voting Party                   Verdigris United Methodist Church                         Attn: Treasurer                            8936 E 530 Rd                                                Claremore, OK 74019                                                pastor@verdigrisumc.org              Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Verdugo Hills                                             Attn: Michael Hale                         1325 Grandview Ave                                           Glendale, CA 91201                                                 michael.hale@scouting.org            Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Vergennes United Methodist Church                         Attn: Michael Doran                        3 Country Commons 3A, Hopkins Rd                             Vergennes, VT 05491                                                mkdoran9@gmail.com                   Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Vergennes United Methodist Church                         Attn: Michael Doran                        129 Main St                                                  Vergennes, VT 05491                                                                                     First Class Mail
Voting Party                   Veristitch, Inc                                           Attn: Edward Russell                       3894 Granite St                                              Terrell, NC 28682                                                  Larry@veristitch.com                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Verizon Wireless                                          P O Box 660108                             Dallas, TX 75266‐0108                                                                                                                                                First Class Mail
Chartered Organization         Vermilion Church Of The Nazarene                          Lake Erie Council 440                      14907 Kneisel Rd                                             Vermilion, OH 44089‐9542                                                                                First Class Mail
Chartered Organization         Vermilion County Pheaasants Forever                       Prairielands 117                           29 Champaign                                                 Westville, IL 61883‐1005                                                                                First Class Mail
Chartered Organization         Vermilion Evangelical & Reformed Church                   Lake Erie Council 440                      752 Grand St                                                 Vermilion, OH 44089‐1319                                                                                First Class Mail
Chartered Organization         Vermilion Fire Dept                                       Lake Erie Council 440                      385 Overlook Rd                                              Vermilion, OH 44089‐2342                                                                                First Class Mail
Chartered Organization         Vermont State Police                                      Green Mountain 592                         96 Airport Rd                                                Shaftsbury, VT 05262‐9601                                                                               First Class Mail
Voting Party                   Vermont Umc                                               Attn: Jeremy Mcmillan                      1817 Bloomingdale Rd                                         Kingsport, TN 37660                                                jeremymcm1@gmail.com                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Vermont United Methodist Church                           1813 Bloomingdale Rd                       Kingsport, TN 37660                                                                                                             jeremymcm1@gmail.com                 Email
                                                                                                                                                                                                                                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                              Page 419 of 442
                                                                                    Case 20-10343-LSS                                   Doc 8171                                              Filed 01/06/22                                                      Page 435 of 457
                                                                                                                                                                                 Exhibit B
                                                                                                                                                                                  Service List
                                                                                                                                                                           Served as set forth below

        Description                                                          Name                                                                                              Address                                                                                                              Email                    Method of Service
Chartered Organization         Vermontville Lions Club                                     Water and Woods Council 782             7160 N Ionia Rd                                                   Vermontville, MI 49096‐9768                                                                                  First Class Mail
Chartered Organization         Verndale Lions Club                                         Central Minnesota 296                   P.O. Box 135                                                      Verndale, MN 56481‐0135                                                                                      First Class Mail
Voting Party                   Vernis & Bowling Of The Fl Keys                             1680 NE 135th St                        North Miami, FL 33181‐1725                                                                                                                                                     First Class Mail
Chartered Organization         Vernon Baptist Church                                       Hoosier Trails Council 145 145          P.O. Box 395                                                      Vernon, IN 47282‐0395                                                                                        First Class Mail
Chartered Organization         Vernon Fire Dept                                            Potawatomi Area Council 651             W230S9175 Nevins St                                               Big Bend, WI 53103                                                                                           First Class Mail
Voting Party                   Vernon First United Methodist Church                        Attn: Gene Lankford                     P.O. Box 608                                                      Vernon, AL 35592                                                       gene.lankford@umcna.org               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Vernon Hills Police Dept                                    Northeast Illinois 129                  754 Lakeview Pkwy                                                 Vernon Hills, IL 60061‐1834                                                                                  First Class Mail
Chartered Organization         Vernon Police Dept                                          Connecticut Rivers Council, Bsa 066     725 Hartford Tpke                                                 Vernon Rockville, CT 06066‐5115                                                                              First Class Mail
Chartered Organization         Vernon Twp Fire Dept Co No 1                                Patriots Path Council 358               P.O. Box 461                                                      Vernon, NJ 07462‐0461                                                                                        First Class Mail
Voting Party                   Vernon Umc                                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200             Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Vernon United Methodist Church                              Attn: Peter Schilling                   1100 Hartgoard Tpke, Apt 571                                      Vernon, CT 06066                                                       vernonunitedmethodist@gmail.com       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Vernon Volunteer Fire Dept                                  Green Mountain 592                      P.O. Box 443                                                      Vernon, VT 05354‐0443                                                                                        First Class Mail
Chartered Organization         Vernon Volunteer Fire Services                              Connecticut Rivers Council, Bsa 066     P.O. Box 54                                                       Vernon, CT 06066‐0054                                                                                        First Class Mail
Voting Party                   Verona Umc                                                  c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200             Tampa, FL 33602                   erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Verona United Methodist Church                              Stonewall Jackson Council 763           P.O. Box 47                                                       Verona, VA 24482‐0047                                                                                        First Class Mail
Voting Party                   Verona United Methodist Church                              Attn: Treasurer                         5694 E Main St                                                    Verona, NY 13478                                                                                             First Class Mail
Chartered Organization         Verona Utd Methodist Church                                 Stonewall Jackson Council 763           406 Lee Hwy                                                       Verona, VA 24482                                                                                             First Class Mail
Chartered Organization         Verona Volunteer Fire Dept, Inc                             Leatherstocking 400                     1 Volunteer Ave                                                   Verona, NY 13478                                                                                             First Class Mail
Chartered Organization         Verrado Assembly                                            Grand Canyon Council 010                1495 S Verrado Way                                                Buckeye, AZ 85326‐9215                                                                                       First Class Mail
Chartered Organization         Versailles Kiwanis Club                                     Blue Grass Council 204                  P.O. Box 1583                                                     Versailles, KY 40383‐5583                                                                                    First Class Mail
Chartered Organization         Versailles Lions Club                                       Mississippi Valley Council 141 141      P.O. Box 242                                                      Versailles, IL 62378‐0242                                                                                    First Class Mail
Chartered Organization         Versailles Lions Club                                       Miami Valley Council, Bsa 444           106 S Center St                                                   Versailles, OH 45380‐1213                                                                                    First Class Mail
Voting Party                   Versailles United Methodist Church                          Attn: Pastor Greaves                    P.O. Box 374                                                      Versailles, CT 06383                                                   pastorwanda@hotmail.com               Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Versailles United Methodist Church, Versailles, Kentucky    Attn: Tim Thompson, Senior Pastor       230 Paynes Mill Rd                                                Versailles, KY 40383                                                   revtim59@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Versailles Utd Methodist Church                             Blue Grass Council 204                  110 Court St                                                      Versailles, KY 40383‐1281                                                                                    First Class Mail
Chartered Organization         Versailles Utd Methodist Church                             Great Rivers Council 653                210 N Monroe St                                                   Versailles, MO 65084‐1219                                                                                    First Class Mail
Chartered Organization         Versailles Vets Club                                        Miami Valley Council, Bsa 444           106 S Center St                                                   Versailles, OH 45380‐1213                                                                                    First Class Mail
Chartered Organization         Versia Williams Elementary ‐ Gfwar                          Longhorn Council 662                    901 Baurline St                                                   Fort Worth, TX 76111‐1023                                                                                    First Class Mail
Chartered Organization         Verve Church                                                Las Vegas Area Council 328              7850 Dean Martin Dr, Ste 503                                      Las Vegas, NV 89139‐6606                                                                                     First Class Mail
Chartered Organization         Vestaburg Lions Club                                        President Gerald R Ford 781             P.O. Box 262                                                      Vestaburg, MI 48891‐0262                                                                                     First Class Mail
Voting Party                   Vestal Center United Methodist Church                       Attn: Richard Kevin Schmalz             2224 Kathleen Dr                                                  Vestal, NY 13850                                                       kschmalz@binghamtonwireless.com       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Vestal Ctr Methodist Church                                 Baden‐Powell Council 368                478 W Hill Rd                                                     Vestal, NY 13850‐3709                                                                                        First Class Mail
Chartered Organization         Vestal Methodist Church                                     Baden‐Powell Council 368                328 Main St                                                       Vestal, NY 13850‐1534                                                                                        First Class Mail
Voting Party                   Vestal United Methodist Church                              Attn: Don Wenzinger                     328 Main St                                                       Vestal, NY 13850‐1534                                                  ehrhardt@stny.rr.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Vestavia Hills United Methodist Church                      Greater Alabama Council 001             2061 Kentucky Ave                                                 Vestavia Hills, AL 35216‐1907                                                                                First Class Mail
Voting Party                   Vestavia Hills United Methodist Church                      Attn: Gary Wyatt                        2061 Kentucky Ave                                                 Birmingham, AL 35216                                                   gwyatt@vhumc.org                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Vestry Of Holy Trinity Parish                               Attn: Kathleen T Hall                   Mt St Alban, Church House                                         Washington, DC 20016                                                   awalter@edow.org                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Vestry Of St James Episcopal Church                         Attn: Joseph Cochran                    3100 Monkton Rd                                                   Monkton, MD 21111                                                      rector@saintjames.org                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Vestry of St Patricks Parish In The District Of Columbia    c/o St Patricks Episcopal Church        Attn: Kurt Gerhard                                                4700 Whitehaven Pkwy NW              Washington, DC 20007              churchoffice@stpatrickschurchdc.org   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Veteran Advocates Of Ore‐Ida                                Ore‐Ida Council 106 ‐ Bsa 106           484 SW 4th Ave                                                    Ontario, OR 97914‐2622                                                                                       First Class Mail
Chartered Organization         Veterans Ctr Of Menomonie                                   Chippewa Valley Council 637             E4710 County Rd Bb                                                Menomonie, WI 54751                                                                                          First Class Mail
Chartered Organization         Veterans Elementary Men Of Valor                            Central Georgia Council 096             4901 Faubus Ave                                                   Macon, GA 31204‐6303                                                                                         First Class Mail
Chartered Organization         Veterans Elementary Ptc                                     Southern Sierra Council 030             6301 Old Farm Rd                                                  Bakersfield, CA 93312‐5470                                                                                   First Class Mail
Chartered Organization         Veterans Helping Veterans                                   Great SW Council 412                    P.O. Box 4915                                                     Gallup, NM 87305‐4915                                                                                        First Class Mail
Chartered Organization         Veterans Memorial 21St Century Program                      Narragansett 546                        150 Fuller Ave                                                    Central Falls, RI 02863‐1922                                                                                 First Class Mail
Chartered Organization         Veterans Memorial Assoc Of Congers                          Hudson Valley Council 374               65 Lake Rd                                                        Congers, NY 10920‐2323                                                                                       First Class Mail
Chartered Organization         Veterans Memorial Assoc Of Congers, Inc                     Hudson Valley Council 374               P.O. Box 161                                                      Congers, NY 10920‐0161                                                                                       First Class Mail
Chartered Organization         Veterans Memorial Post 205                                  Pine Tree Council 218                   400 Eern Ave                                                      Augusta, ME 04330                                                                                            First Class Mail
Chartered Organization         Veterans Of Foreign Affairs Post 1481                       Trapper Trails 589                      907 W 12th St                                                     Ogden, UT 84404‐5409                                                                                         First Class Mail
Chartered Organization         Veterans Org Post 4222                                      Evangeline Area 212                     1504 Sandra St                                                    Morgan City, LA 70380‐2138                                                                                   First Class Mail
Chartered Organization         Veterans Service                                            Chester County Council 539              208 E State St                                                    Kennett Square, PA 19348‐3112                                                                                First Class Mail
Chartered Organization         Veterens Of Foreign Wars Post 8762                          Golden Empire Council 047               905 Drever St                                                     West Sacramento, CA 95691‐3318                                                                               First Class Mail
Chartered Organization         Vetrans Of Foreign Wars Post 3312                           Black Hills Area Council 695 695        P.O. Box 276                                                      Belle Fourche, SD 57717‐0276                                                                                 First Class Mail
Chartered Organization         Vets Fgn Wars Edward Kuhlman                                Post 7168                               18615 Watts Valley Rd                                             Sanger, CA 93657‐9254                                                                                        First Class Mail
Chartered Organization         Vets Foreign Wars Cherrland Post 2780                       President Gerald R Ford 781             3400 Veterans Dr                                                  Traverse City, MI 49684‐4511                                                                                 First Class Mail
Chartered Organization         Vets Foreign Wars Sgt Frank Lillard Post                    Silicon Valley Monterey Bay 055         599 Bitterwater Rd                                                King City, CA 93930‐2608                                                                                     First Class Mail
Chartered Organization         Vets Foreign Wars State Illinois                            Northeast Illinois 129                  S Main St                                                         Wauconda, IL 60084                                                                                           First Class Mail
Chartered Organization         Vets Foreign Wars‐Castro Vly Post                           San Francisco Bay Area Council 028      20835 Rutledge Rd                                                 Castro Valley, CA 94546‐5418                                                                                 First Class Mail
Chartered Organization         Vets Of Foreign Wars Nisei Post 8985                        Golden Empire Council 047               1514 4th St                                                       Sacramento, CA 95814                                                                                         First Class Mail
Chartered Organization         Vets Of Foreign Wars Nisei Post 8985                        Golden Empire Council 047               1515 4th St                                                       Sacramento, CA 95814‐5322                                                                                    First Class Mail
Voting Party                   Vf Outdoor / Smartwool                                      Vf Outdoor, Inc                         32842 Collection Center Dr                                        Chicago, IL 60693‐0328                                                                                       First Class Mail
Voting Party                   Vf Outdoor, Inc                                             13911 Collections Ctr Dr                Chicago, IL 60693‐0001                                                                                                                                                         First Class Mail
Chartered Organization         VFW                                                         Black Swamp Area Council 449            P.O. Box 974                                                      Antwerp, OH 45813‐0974                                                                                       First Class Mail
Chartered Organization         VFW                                                         Far E Council 803                       Psc 704 Box 3229                                                  Apo, AP 96338‐0033                                                                                           First Class Mail
Chartered Organization         VFW                                                         Winnebago Council, Bsa 173              204 E Main St                                                     Belmond, IA 50421‐1123                                                                                       First Class Mail
Chartered Organization         VFW                                                         Chief Seattle Council 609               P.O. Box 13034                                                    Burton, WA 98013‐0034                                                                                        First Class Mail
Chartered Organization         VFW                                                         Southern Shores Fsc 783                 P.O. Box 15                                                       Carleton, MI 48117‐0015                                                                                      First Class Mail
Chartered Organization         VFW                                                         Northern Star Council 250               1919 Coon Rapids Blvd Nw                                          Coon Rapids, MN 55433‐4707                                                                                   First Class Mail
Chartered Organization         VFW                                                         Northeast Illinois 129                  703 N US Hwy 12                                                   Fox Lake, IL 60020‐1285                                                                                      First Class Mail
Chartered Organization         VFW                                                         Far E Council 803                       Psc 473 Box 129                                                   Fpo, AP 96349‐0002                                                                                           First Class Mail
Chartered Organization         VFW                                                         Northern Star Council 250               705 14th St E                                                     Glencoe, MN 55336‐1596                                                                                       First Class Mail
Chartered Organization         VFW                                                         Northern Lights Council 429             302 4th St Se                                                     Hillsboro, ND 58045‐4908                                                                                     First Class Mail
Chartered Organization         VFW                                                         Silicon Valley Monterey Bay 055         649 San Benito St                                                 Hollister, CA 95023‐3952                                                                                     First Class Mail
Chartered Organization         VFW                                                         Greater Tampa Bay Area 089              9398 US Hwy 98 N                                                  Lakeland, FL 33809‐1012                                                                                      First Class Mail
Chartered Organization         VFW                                                         Inland Nwest Council 611                1104 Warner Ave                                                   Lewiston, ID 83501‐5329                                                                                      First Class Mail
Chartered Organization         VFW                                                         Blue Grass Council 204                  1494 Leestown Rd                                                  Lexington, KY 40511‐2040                                                                                     First Class Mail
Chartered Organization         VFW                                                         Sagamore Council 162                    503 N 3rd St                                                      Monticello, IN 47960‐1962                                                                                    First Class Mail
Chartered Organization         VFW                                                         Longhorn Council 662                    136 S Ash St                                                      Muenster, TX 76252                                                                                           First Class Mail
Chartered Organization         VFW                                                         Mid‐America Council 326                 316 W Braasch Ave                                                 Norfolk, NE 68701‐4114                                                                                       First Class Mail
Chartered Organization         VFW                                                         Mid‐America Council 326                 P.O. Box 152                                                      North Bend, NE 68649‐0152                                                                                    First Class Mail
Chartered Organization         VFW                                                         Green Mountain 592                      Post 9653                                                         Pleasant St                          Morrisville, VT 05661                                                   First Class Mail
Chartered Organization         VFW                                                         Patriots Path Council 358               66 Fox Ridge Rd                                                   Sparta, NJ 07871‐1110                                                                                        First Class Mail
Chartered Organization         VFW                                                         California Inland Empire Council 045    29845 Camino Del Sol Dr                                           Temecula, CA 92592‐2114                                                                                      First Class Mail
Chartered Organization         VFW                                                         Winnebago Council, Bsa 173              803 S Main St                                                     Tripoli, IA 50676‐9655                                                                                       First Class Mail
Chartered Organization         VFW                                                         Northern Star Council 250               P.O. Box 330                                                      Willmar, MN 56201‐0330                                                                                       First Class Mail
Chartered Organization         VFW                                                         Greater Tampa Bay Area 089              2441 7th St Sw                                                    Winter Haven, FL 33880‐4304                                                                                  First Class Mail
Chartered Organization         VFW ‐ Ashland 1067                                          Buckeye Council 436                     125 E Main St                                                     Ashland, OH 44805‐2346                                                                                       First Class Mail
Chartered Organization         VFW ‐ Davis Post 6949                                       Golden Empire Council 047               P.O. Box 415                                                      Davis, CA 95617‐0415                                                                                         First Class Mail
Chartered Organization         VFW ‐ New Philadelphia 1445                                 Buckeye Council 436                     P.O. Box 605                                                      New Philadelphia, OH 44663‐0605                                                                              First Class Mail
Chartered Organization         VFW ‐ Post 2381                                             Nevada Area Council 329                 1205 Main St                                                      Susanville, CA 96130‐4445                                                                                    First Class Mail
Chartered Organization         VFW ‐ Post 2718                                             Theodore Roosevelt Council 386          68 Lincoln Rd                                                     Franklin Square, NY 11010‐3617                                                                               First Class Mail
Chartered Organization         VFW ‐ Post 816                                              Daniel Webster Council, Bsa 330         P.O. Box 562                                                      Littleton, NH 03561‐0562                                                                                     First Class Mail
Chartered Organization         VFW 10140                                                   Greater Tampa Bay Area 089              8414 N 40th St                                                    Tampa, FL 33604‐2436                                                                                         First Class Mail
Chartered Organization         VFW 1146                                                    Great Lakes Fsc 272                     28404 Jefferson Ave                                               St Clair Shores, MI 48081‐2570                                                                               First Class Mail
Chartered Organization         VFW 12138                                                   Aloha Council, Bsa 104                  5787 Erne Ave A                                                   Ewa Beach, HI 96706‐3255                                                                                     First Class Mail
Chartered Organization         VFW 1216                                                    Twin Valley Council Bsa 283             300 4th Ave Ne                                                    Austin, MN 55912‐3368                                                                                        First Class Mail
Chartered Organization         VFW 2105 & Utd Methodist Church                             Oregon Trail Council 697                710 Smith St                                                      Harrisburg, OR 97446                                                                                         First Class Mail
Chartered Organization         VFW 3848                                                    Las Vegas Area Council 328              401 W Lake Mead Pkwy                                              Henderson, NV 89015‐7015                                                                                     First Class Mail
Chartered Organization         VFW 4084                                                    Southern Sierra Council 030             117 N Alvord St                                                   Ridgecrest, CA 93555‐3815                                                                                    First Class Mail
Chartered Organization         VFW 524                                                     Five Rivers Council, Inc 375            281 Baker St                                                      Corning, NY 14830‐1621                                                                                       First Class Mail
Chartered Organization         VFW 5917                                                    Rainbow Council 702                     216 Plymouth Ln                                                   Bolingbrook, IL 60440‐1923                                                                                   First Class Mail
Chartered Organization         VFW 5990 Avra Valley/Marana                                 Catalina Council 011                    15850 W El Tiro Rd                                                Marana, AZ 85653‐9492                                                                                        First Class Mail
Chartered Organization         VFW 7721 Golden Gate                                        Southwest Florida Council 088           800 Neffs Way                                                     Naples, FL 34119‐4070                                                                                        First Class Mail
Chartered Organization         VFW 8375 Brandes Memorial Post                              Three Harbors Council 636               P.O. Box 952                                                      Silver Lake, WI 53170‐0952                                                                                   First Class Mail
Chartered Organization         VFW 8641                                                    Daniel Webster Council, Bsa 330         282 Daniel Webster Hwy                                            Merrimack, NH 03054                                                                                          First Class Mail
Chartered Organization         VFW 8785                                                    Circle Ten Council 571                  509 W Main St                                                     Mesquite, TX 75149‐4109                                                                                      First Class Mail
Chartered Organization         VFW 9644 Auxillary                                          Denver Area Council 061                 2680 W Hampden Ave                                                Sheridan, CO 80110‐1906                                                                                      First Class Mail
Chartered Organization         VFW Adams Budz Post Home, Inc                               Western Massachusetts Council 234       Park St                                                           Housatonic, MA 01236                                                                                         First Class Mail
Chartered Organization         VFW Ar Post 2952                                            Westark Area Council 016                1006 N Thompson St                                                Springdale, AR 72764‐3106                                                                                    First Class Mail
Chartered Organization         VFW Aux Post 6751                                           Anthony Wayne Area 157                  P.O. Box 423                                                      Geneva, IN 46740‐0423                                                                                        First Class Mail
Chartered Organization         VFW Auxilary 12058                                          Capitol Area Council 564                191 Greenbrier Dr                                                 Kyle, TX 78640‐5726                                                                                          First Class Mail
Chartered Organization         VFW Auxiliary ‐ Ada                                         Northern Lights Council 429             415 W Main St                                                     Ada, MN 56510‐1253                                                                                           First Class Mail
Chartered Organization         VFW Auxiliary Post 3987                                     Greater St Louis Area Council 312       378 S Hwy 185                                                     Sullivan, MO 63080‐1327                                                                                      First Class Mail
Chartered Organization         VFW Barney Figueroa Post 6271                               Catalina Council 011                    233 E 5th St                                                      Benson, AZ 85602‐6604                                                                                        First Class Mail
Chartered Organization         VFW Benbrook Post 10429                                     Longhorn Council 662                    1000 Stevens Dr                                                   Benbrook, TX 76126‐4402                                                                                      First Class Mail
Chartered Organization         VFW Bowersock Brothers Post 6772                            Black Swamp Area Council 449            130 S Broadway St                                                 Spencerville, OH 45887                                                                                       First Class Mail
Chartered Organization         VFW Casey Joyce Post 4380                                   Circle Ten Council 571                  221 W Parker Rd, Ste 550                                          Plano, TX 75023‐6908                                                                                         First Class Mail
Chartered Organization         VFW Century Post 503                                        Pathway To Adventure 456                5101 Belmont Rd                                                   Downers Grove, IL 60515‐4327                                                                                 First Class Mail
Chartered Organization         VFW Conrad Osthum Post 141                                  Gamehaven 299                           601A 2nd St                                                       Kenyon, MN 55946                                                                                             First Class Mail
Chartered Organization         VFW David G Snyder Post 8681                                Greater Tampa Bay Area 089              18940 Drayton St                                                  Spring Hill, FL 34610‐7010                                                                                   First Class Mail
Chartered Organization         VFW Donald Michels Jr Post 6180                             Greater Tampa Bay Area 089              11551 Osceola Dr                                                  New Port Richey, FL 34654‐1334                                                                               First Class Mail
Chartered Organization         VFW Edwin Frohmader Post 1879                               Glaciers Edge Council 620               N 2074 Vets Ln                                                    Fort Atkinson, WI 53538                                                                                      First Class Mail
Chartered Organization         VFW Elwood Perkins Post 8336                                Las Vegas Area Council 328              P.O. Box 1235                                                     Logandale, NV 89021‐1235                                                                                     First Class Mail
Chartered Organization         VFW Faith Gray Mcardle Post 4584                            Westmoreland Fayette 512                115 River Ave                                                     Masontown, PA 15461‐1635                                                                                     First Class Mail
Chartered Organization         VFW Fisher Hewin Post 6249                                  Suffolk County Council Inc 404          King and Garland Rd                                               Rocky Point, NY 11778                                                                                        First Class Mail
Chartered Organization         VFW Gardnerville                                            Nevada Area Council 329                 Patricia                                                          Gardnerville, NV 89460                                                                                       First Class Mail
Chartered Organization         VFW Granite Post 428                                        Central Minnesota 296                   9 18th Ave N                                                      St Cloud, MN 56303‐4545                                                                                      First Class Mail
Chartered Organization         VFW Henderschott Manness Post 374                           Iroquois Trail Council 376              550 Main St                                                       Arcade, NY 14009‐1036                                                                                        First Class Mail
Chartered Organization         VFW Hill 303 Memorial Post 10033                            Far E Council 803, Unit 15748 Box 549   APO, AP 96260                                                                                                                                                                  First Class Mail
Chartered Organization         VFW Hulet Bravender Post 5587                               Great Lakes Fsc 272                     201 Airport Dr                                                    Holly, MI 48442‐1246                                                                                         First Class Mail
Chartered Organization         VFW Jack E Carleton Post 2111                               San Diego Imperial Council 049          299 I St                                                          Chula Vista, CA 91910‐5622                                                                                   First Class Mail
Chartered Organization         VFW John Boyd Post 7318                                     Occoneechee 421                         615 S Page St                                                     Southern Pines, NC 28387‐5836                                                                                First Class Mail
Chartered Organization         VFW Leblanc‐Junkins Post 9699                               Katahdin Area Council 216               P.O. Box 520                                                      Ashland, ME 04732‐0520                                                                                       First Class Mail
Chartered Organization         VFW Linden Tripkos Memorial 6654                            Heart of America Council 307            P.O. Box 651                                                      De Soto, KS 66018‐0651                                                                                       First Class Mail
Chartered Organization         VFW Lone Star Post 2150                                     Circle Ten Council 571                  1710 N Church St                                                  Mckinney, TX 75069‐1810                                                                                      First Class Mail
Chartered Organization         VFW Mattatuck Post 8075                                     Connecticut Rivers Council, Bsa 066     218 Cheshire Rd                                                   Prospect, CT 06712                                                                                           First Class Mail
Chartered Organization         VFW Memorial Park Post 764                                  Laurel Highlands Council 527            460 Valley Brook Rd                                               Canonsburg, PA 15317‐3327                                                                                    First Class Mail
Chartered Organization         VFW Memorial Post 10184                                     Patriots Path Council 358               10 Glenwood Ave                                                   Lake Hiawatha, NJ 07034‐1002                                                                                 First Class Mail
Chartered Organization         VFW Memorial Post 4956                                      Ozark Trails Council 306                P.O. Box 407                                                      Crocker, MO 65452‐0407                                                                                       First Class Mail
Chartered Organization         VFW Memorial Post 7333                                      Patriots Path Council 358               Carrell Rd                                                        Randolph, NJ 07869                                                                                           First Class Mail
Chartered Organization         VFW Memorial Post 8677                                      Greater St Louis Area Council 312       5325 N Illinois St                                                Fairview Heights, IL 62208‐3507                                                                              First Class Mail
Chartered Organization         VFW Memorial Post 8724                                      Laurel Highlands Council 527            1665 Newry Ln                                                     Duncansville, PA 16635‐4613                                                                                  First Class Mail
Chartered Organization         VFW Montgomery Memorial Post 7452                           Three Fires Council 127                 121 N River St                                                    Montgomery, IL 60538‐1315                                                                                    First Class Mail
Chartered Organization         VFW Mt Blanca Post 899                                      Rocky Mountain Council 063              519 Main St                                                       Alamosa, CO 81101‐2643                                                                                       First Class Mail
Chartered Organization         VFW Oconnor Regenwether Post 3633                           Illowa Council 133                      18777 137th St                                                    Maquoketa, IA 52060‐9056                                                                                     First Class Mail
Chartered Organization         VFW Of Beresford Post 2975                                  Sioux Council 733                       206 N 16th St                                                     Beresford, SD 57004‐1504                                                                                     First Class Mail
Chartered Organization         VFW Of Greencastle                                          Mason Dixon Council 221                 408 S Washington St                                               Greencastle, PA 17225‐1338                                                                                   First Class Mail
Chartered Organization         VFW Of Ohio Post 4027                                       Muskingum Valley Council, Bsa 467       P.O. Box 403                                                      Mt Vernon, OH 43050‐0403                                                                                     First Class Mail
Chartered Organization         VFW Of Usa Albritton Carter Post 5442                       Louisiana Purchase Council 213          100 Hudson Rd                                                     Farmerville, LA 71241‐7938                                                                                   First Class Mail
Chartered Organization         VFW Of Vermillion 3061                                      Sioux Council 733                       421 S University St                                               Vermillion, SD 57069‐3122                                                                                    First Class Mail
Chartered Organization         VFW Of Yankton                                              Sioux Council 733                       209 Cedar St                                                      Yankton, SD 57078‐4387                                                                                       First Class Mail
Chartered Organization         VFW Old Settlers Post 4659                                  Great Lakes Fsc 272                     8311 Wilson St                                                    Shelby Township, MI 48316‐2633                                                                               First Class Mail
Chartered Organization         VFW Oxbow Post 4156 Auxilliary                              Great Lakes Fsc 272                     321 Union Lake Rd                                                 White Lake, MI 48386‐3169                                                                                    First Class Mail
Chartered Organization         VFW Pat Hannon Post 4666                                    Denver Area Council 061                 5748 S Gallup St                                                  Littleton, CO 80120‐2114                                                                                     First Class Mail
Chartered Organization         VFW Peter Graham Post 2948                                  Voyageurs Area 286                      1416 3rd Ave E                                                    International Falls, MN 56649‐2928                                                                           First Class Mail
Chartered Organization         VFW Pioneer Post 2121                                       Longs Peak Council 062                  2514 7th Ave                                                      Greeley, CO 80631‐8404                                                                                       First Class Mail
Chartered Organization         VFW Post 1                                                  Denver Area Council 061                 P.O. Box 13170                                                    Denver, CO 80201‐4570                                                                                        First Class Mail
Chartered Organization         VFW Post 10003                                              Crossroads of America 160               12863 Old Meridian St                                             Carmel, IN 46032‐8704                                                                                        First Class Mail
Chartered Organization         VFW Post 10047                                              Las Vegas Area Council 328              4082 Paramount St                                                 Las Vegas, NV 89115‐2330                                                                                     First Class Mail
Chartered Organization         VFW Post 10054                                              Las Vegas Area Council 328              4651 Homestead Rd                                                 Pahrump, NV 89048‐6900                                                                                       First Class Mail
Chartered Organization         VFW Post 10094                                              Greater Tampa Bay Area 089              P.O. Box 133                                                      Indian Rocks Beach, FL 33785‐0133                                                                            First Class Mail
Chartered Organization         VFW Post 10139                                              Central Florida Council 083             P.O. Box 660192                                                   Chuluota, FL 32766                                                                                           First Class Mail
Chartered Organization         VFW Post 10154                                              Aloha Council, Bsa 104                  46‐280 Heeia St                                                   Kaneohe, HI 96744‐4148                                                                                       First Class Mail
Chartered Organization         VFW Post 10169                                              Connecticut Rivers Council, Bsa 066     P.O. Box 304                                                      Durham, CT 06422‐0304                                                                                        First Class Mail
Chartered Organization         VFW Post 10209                                              Greater Tampa Bay Area 089              14736 Edward R Noll Dr                                            Spring Hill, FL 34609‐6201                                                                                   First Class Mail
Chartered Organization         VFW Post 10210                                              Gulf Stream Council 085                 815 Louisiana Ave                                                 Sebastian, FL 32958‐4111                                                                                     First Class Mail
Chartered Organization         VFW Post 10216 Osan                                         Far E Council 803                       Boy Scout Troop 86                                                APO, AP 96278                                                                                                First Class Mail
Chartered Organization         VFW Post 10223                                              Amalia Mayoral                          Unit 15212 Box 1422 Far E Council 803                             Apo, AP 96271‐5212                                                                                           First Class Mail
Chartered Organization         VFW Post 10223 Camp Hump                                    Far E Council 803, Unit 15215 Box 20    APO, AP 96271                                                                                                                                                                  First Class Mail
Chartered Organization         VFW Post 10236                                              Northeast Illinois 129                  1526 Chapel Ct                                                    Northbrook, IL 60062‐4650                                                                                    First Class Mail
Chartered Organization         VFW Post 1024                                               Chief Seattle Council 609               216 S Francis St                                                  Port Angeles, WA 98362‐3800                                                                                  First Class Mail
Chartered Organization         VFW Post 10245                                              Pacific Skyline Council 031             555 Buel Ave                                                      Pacifica, CA 94044‐3204                                                                                      First Class Mail
Chartered Organization         VFW Post 10254                                              Catalina Council 011                    10111 S Sasabe Rd                                                 Tucson, AZ 85736‐1226                                                                                        First Class Mail
Chartered Organization         VFW Post 1027                                               Mayflower Council 251                   3 Palmieri Dr                                                     Hudson, MA 01749‐1414                                                                                        First Class Mail
Chartered Organization         VFW Post 10281                                              Lincoln Heritage Council 205            129 Pawley Ln                                                     Rineyville, KY 40162‐9701                                                                                    First Class Mail
Chartered Organization         VFW Post 10300                                              Inland Nwest Council 611                P.O. Box 386                                                      Potlatch, ID 83855‐0386                                                                                      First Class Mail
Chartered Organization         VFW Post 1040                                               Mt Baker Council, Bsa 606               P.O. Box 45                                                       Lynnwood, WA 98046‐0045                                                                                      First Class Mail
Chartered Organization         VFW Post 10406                                              Gateway Area 624                        100 Michaels St                                                   Cochrane, WI 54622                                                                                           First Class Mail
Chartered Organization         VFW Post 10427                                              Capitol Area Council 564                8760 Ranch Rd 2243                                                Leander, TX 78641‐1623                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                  Page 420 of 442
                                                                                 Case 20-10343-LSS                                   Doc 8171                                      Filed 01/06/22                                          Page 436 of 457
                                                                                                                                                                      Exhibit B
                                                                                                                                                                       Service List
                                                                                                                                                                Served as set forth below

        Description                                                       Name                                                                                      Address                                                                                  Email              Method of Service
Chartered Organization         VFW Post 1046                                            Mayflower Council 251                   283 N Quincy St                                           Brockton, MA 02302‐1937                                                    First Class Mail
Chartered Organization         VFW Post 10460                                           Longhorn Council 662                    501 Thompson Dr                                           Lake Dallas, TX 75065‐3639                                                 First Class Mail
Chartered Organization         VFW Post 10557                                           Transatlantic Council, Bsa 802          Cmr 414                                                   General Delivery                 APO, AE 09173                             First Class Mail
Chartered Organization         VFW Post 10568                                           Chippewa Valley Council 637             N8593 County Rd M                                         Springbrook, WI 54875                                                      First Class Mail
Chartered Organization         VFW Post 10580 Fort Stevens                              Cascade Pacific Council 492             91727 Sunnyside Rd                                        Warrenton, OR 97146‐7214                                                   First Class Mail
Chartered Organization         VFW Post 10614                                           Transatlantic Council, Bsa 802          Unit 23152                                                APO, AE 09067‐3152                                                         First Class Mail
Chartered Organization         VFW Post 10614 Kaiserslautern                            Transatlantic Council, Bsa 802          Unit 23152                                                APO, AE 09067‐3152                                                         First Class Mail
Chartered Organization         VFW Post 10657                                           Heart of Virginia Council 602           11568 Cedar Ln                                            Ashland, VA 23005‐7743                                                     First Class Mail
Chartered Organization         VFW Post 10692                                           Transatlantic Council, Bsa 802          Cmr 415                                                   Box                              APO, AE 09114                             First Class Mail
Chartered Organization         VFW Post 10692 Grafenwoehr                               Transatlantic Council, Bsa 802          Cmr 415 Box 3470                                          APO, AE 09114‐0035                                                         First Class Mail
Chartered Organization         VFW Post 10789                                           Mt Diablo‐Silverado Council 023         P.O. Box 1326                                             Brentwood, CA 94513‐3326                                                   First Class Mail
Chartered Organization         VFW Post 10810                                           Transatlantic Council, Bsa 802          Cmr 480 Box 985                                           APO, AE 09128                                                              First Class Mail
Chartered Organization         VFW Post 10810                                           Transatlantic Council, Bsa 802          Cmr 480 Box General Delivery                              APO, AE 09128                                                              First Class Mail
Chartered Organization         VFW Post 10810 Stuttgart Post                            Transatlantic Council, Bsa 802          Cmr 480 Box General Delivery                              APO, AE 09128                                                              First Class Mail
Chartered Organization         VFW Post 10906                                           Heart of America Council 307            7027 N Locust St                                          Kansas City, MO 64118‐2556                                                 First Class Mail
Chartered Organization         VFW Post 11038 Aspinall‐Bair‐Stober                      Three Harbors Council 636               P.O. Box 437                                              Rochester, WI 53167‐0437                                                   First Class Mail
Chartered Organization         VFW Post 1111                                            Hoosier Trails Council 145 145          411 S Indiana St                                          Mooresville, IN 46158‐1711                                                 First Class Mail
Chartered Organization         VFW Post 1114                                            Buffalo Trace 156                       110 N Wabash Ave                                          Evansville, IN 47712‐5145                                                  First Class Mail
Chartered Organization         VFW Post 11173                                           Old Hickory Council 427                 1449 Lackey Rd                                            Danbury, NC 27016‐7144                                                     First Class Mail
Chartered Organization         VFW Post 1127                                            Crossroads of America 160               6777W St Rd 340                                           Brazil, IN 47834                                                           First Class Mail
Chartered Organization         VFW Post 11326                                           Inland Nwest Council 611                P.O. Box 338                                              Cheney, WA 99004‐0338                                                      First Class Mail
Chartered Organization         VFW Post 11374                                           Coronado Area Council 192               P.O. Box 218                                              Ogden, KS 66517‐0218                                                       First Class Mail
Chartered Organization         VFW Post 11388                                           San Diego Imperial Council 049          P.O. Box 500902                                           San Diego, CA 92150‐0902                                                   First Class Mail
Chartered Organization         VFW Post 1140                                            Central Minnesota 296                   111 1st St S                                              Long Prairie, MN 56347                                                     First Class Mail
Chartered Organization         VFW Post 11402 ‐ Lacey                                   Pacific Harbors Council, Bsa 612        P.O. Box 5458                                             Lacey, WA 98509‐5458                                                       First Class Mail
Chartered Organization         VFW Post 11406                                           North Florida Council 087               17 Ponce Blvd N                                           Jacksonville, FL 32218‐2634                                                First Class Mail
Chartered Organization         VFW Post 1146 Cpl Walter F Bruce                         Great Lakes Fsc 272                     28404 Jefferson Ave                                       St Clair Shores, MI 48081‐2570                                             First Class Mail
Chartered Organization         VFW Post 1166                                            Rocky Mountain Council 063              16791 County Rd 306                                       Buena Vista, CO 81211‐9703                                                 First Class Mail
Chartered Organization         VFW Post 12024                                           Sam Houston Area Council 576            P.O. Box 8341                                             The Woodlands, TX 77387‐8341                                               First Class Mail
Chartered Organization         VFW Post 12058                                           Capitol Area Council 564                P.O. Box 2725                                             Kyle, TX 78640‐1819                                                        First Class Mail
Chartered Organization         VFW Post 12061                                           Utah National Parks 591                 244 S 400 W                                               Payson, UT 84651‐2441                                                      First Class Mail
Chartered Organization         VFW Post 12134                                           Nevada Area Council 329                 P.O. Box 19078                                            Reno, NV 89511‐0841                                                        First Class Mail
Chartered Organization         VFW Post 12138                                           Aloha Council, Bsa 104                  91‐1083 Waiemi St                                         Ewa Beach, HI 96706                                                        First Class Mail
Chartered Organization         VFW Post 1241 (Piasa)                                    Greater St Louis Area Council 312       120 E Henry St                                            Staunton, IL 62088‐1911                                                    First Class Mail
Chartered Organization         VFW Post 1274                                            Mayflower Council 251                   113 W Central St                                          Natick, MA 01760‐4310                                                      First Class Mail
Chartered Organization         VFW Post 1308 (Piasa Bird)                               Greater St Louis Area Council 312       4445 Alby St                                              Alton, IL 62002‐5916                                                       First Class Mail
Chartered Organization         VFW Post 1324 Oregon City                                Cascade Pacific Council 492             211 Tumwater Dr                                           Oregon City, OR 97045‐2900                                                 First Class Mail
Chartered Organization         VFW Post 1326                                            Northern Lights Council 429             1235 S 12th St                                            Bismarck, ND 58504‐6633                                                    First Class Mail
Chartered Organization         VFW Post 133                                             Monmouth Council, Bsa 347               485 Cranbury Rd                                           East Brunswick, NJ 08816‐3610                                              First Class Mail
Chartered Organization         VFW Post 1349                                            Tukabatchee Area Council 005            1077 S Memorial Dr                                        Prattville, AL 36067‐6221                                                  First Class Mail
Chartered Organization         VFW Post 1381                                            Crater Lake Council 491                 810 H St                                                  Crescent City, CA 95531‐3750                                               First Class Mail
Chartered Organization         VFW Post 1384                                            Theodore Roosevelt Council 386          675 W Park Ave                                            Long Beach, NY 11561‐2943                                                  First Class Mail
Chartered Organization         VFW Post 1385                                            Narragansett 546                        P.O. Box 204                                              Uxbridge, MA 01569‐0204                                                    First Class Mail
Chartered Organization         VFW Post 1452                                            Water and Woods Council 782             10380 N Saginaw Rd                                        Clio, MI 48420‐1653                                                        First Class Mail
Chartered Organization         VFW Post 1487                                            Golden Empire Council 047               110 Park Dr                                               Roseville, CA 95678‐2749                                                   First Class Mail
Chartered Organization         VFW Post 1503                                            National Capital Area Council 082       14631 Minnieville Rd                                      Dale City, VA 22193‐3217                                                   First Class Mail
Chartered Organization         VFW Post 1508                                            California Inland Empire Council 045    21180 Waite St                                            Wildomar, CA 92595‐8467                                                    First Class Mail
Chartered Organization         VFW Post 1525 (Herms)                                    Mt Diablo‐Silverado Council 023         1821 Yolanda Cir                                          Clayton, CA 94517‐1061                                                     First Class Mail
Chartered Organization         VFW Post 1533                                            Alamo Area Council 583                  107 Elmhurst Ave                                          San Antonio, TX 78209‐6524                                                 First Class Mail
Chartered Organization         VFW Post 1537                                            Greater Yosemite Council 059            P.O. Box 1123                                             Tracy, CA 95378‐1123                                                       First Class Mail
Chartered Organization         VFW Post 1564                                            Chester County Council 539              200 Starr St                                              Phoenixville, PA 19460                                                     First Class Mail
Chartered Organization         VFW Post 1585                                            Mt Baker Council, Bsa 606               625 N State St                                            Bellingham, WA 98225‐5331                                                  First Class Mail
Chartered Organization         VFW Post 1647                                            Central Minnesota 296                   309 S 6th St                                              Brainerd, MN 56401‐3537                                                    First Class Mail
Chartered Organization         VFW Post 1656                                            Northern Star Council 250               710 W 2nd St                                              Madison, MN 56256‐1324                                                     First Class Mail
Chartered Organization         VFW Post 1672                                            Connecticut Rivers Council, Bsa 066     11 Avery Rd                                               New Milford, CT 06776‐2301                                                 First Class Mail
Chartered Organization         VFW Post 1683                                            Hawkeye Area Council 172                14495 190th St                                            Monticello, IA 52310‐7697                                                  First Class Mail
Chartered Organization         VFW Post 17                                              Sioux Council 733                       P.O. Box 334                                              Aberdeen, SD 57402‐0334                                                    First Class Mail
Chartered Organization         VFW Post 1704 Louie E Higdon                             Grand Canyon Council 010                707 S Broad St                                            Globe, AZ 85501‐2615                                                       First Class Mail
Chartered Organization         VFW Post 1738                                            Heart of America Council 307            901 E 23rd St S                                           Independence, MO 64055‐1611                                                First Class Mail
Chartered Organization         VFW Post 1771 Mile High                                  Longs Peak Council 062                  110 E S Boulder Rd                                        Lafayette, CO 80026‐1949                                                   First Class Mail
Chartered Organization         VFW Post 1773                                            Heart of America Council 307            104 Walnut Hills Dr                                       Carrollton, MO 64633‐7192                                                  First Class Mail
Chartered Organization         VFW Post 1788 Of Rockland                                Mayflower Council 251                   22 Church St                                              Rockland, MA 02370‐1848                                                    First Class Mail
Chartered Organization         VFW Post 1791                                            Northern Star Council 250               620 Creek Rd                                              Chaska, MN 55318‐1802                                                      First Class Mail
Chartered Organization         VFW Post 1822                                            Mayflower Council 251                   22 Seven Hills Rd                                         Plymouth, MA 02360‐4634                                                    First Class Mail
Chartered Organization         VFW Post 1839                                            Three Rivers Council 578                General Delivery                                          Cleveland, TX 77327                                                        First Class Mail
Chartered Organization         VFW Post 1863                                            Lake Erie Council 440                   6340 Melbury Ave                                          Solon, OH 44139‐3615                                                       First Class Mail
Chartered Organization         VFW Post 1865                                            Three Harbors Council 636               6618 39th Ave                                             Kenosha, WI 53142‐7122                                                     First Class Mail
Chartered Organization         VFW Post 1901                                            Northern Star Council 250               P.O. Box 278                                              Montrose, MN 55363‐0278                                                    First Class Mail
Chartered Organization         VFW Post 1915                                            Gateway Area 624                        24423 3rd St                                              Trempealeau, WI 54661‐9155                                                 First Class Mail
Chartered Organization         VFW Post 1917                                            San Francisco Bay Area Council 028      37154 2nd St                                              Fremont, CA 94536‐2836                                                     First Class Mail
Chartered Organization         VFW Post 1924                                            San Diego Imperial Council 049          1175 Old Stage Rd                                         Fallbrook, CA 92028‐3463                                                   First Class Mail
Chartered Organization         VFW Post 1927 Woodland                                   Cascade Pacific Council 492             P.O. Box 366                                              Woodland, WA 98674‐0400                                                    First Class Mail
Chartered Organization         VFW Post 1929                                            Redwood Empire Council 041              P.O. Box 1929                                             Petaluma, CA 94952                                                         First Class Mail
Chartered Organization         VFW Post 1949 ‐ Enumclaw                                 Pacific Harbors Council, Bsa 612        P.O. Box 14                                               Enumclaw, WA 98022‐0014                                                    First Class Mail
Chartered Organization         VFW Post 1956 Menifee                                    California Inland Empire Council 045    P.O. Box 321                                              Menifee, CA 92586‐0321                                                     First Class Mail
Chartered Organization         VFW Post 1963                                            Garden State Council 690                301 John F Kennedy Blvd                                   Sea Isle City, NJ 08243‐1933                                               First Class Mail
Chartered Organization         VFW Post 1974                                            Lake Erie Council 440                   4305 Woodrow Ave                                          Parma, OH 44134‐3839                                                       First Class Mail
Chartered Organization         VFW Post 1981                                            Sequoia Council 027                     2026 N Granada Dr                                         Madera, CA 93637‐9461                                                      First Class Mail
Chartered Organization         VFW Post 1982                                            Evangeline Area 212                     P.O. Box 10623                                            New Iberia, LA 70562‐0623                                                  First Class Mail
Chartered Organization         VFW Post 1989                                            Laurel Highlands Council 527            824 Indian Springs Rd                                     Indiana, PA 15701‐3555                                                     First Class Mail
Chartered Organization         VFW Post 2017 Uss Jacob Jones                            The Spirit of Adventure 227             P.O. Box 427                                              Dedham, MA 02027‐0427                                                      First Class Mail
Chartered Organization         VFW Post 2027                                            Cimarron Council 474                    5505 W 6th Ave                                            Stillwater, OK 74074‐1129                                                  First Class Mail
Chartered Organization         VFW Post 2059                                            Alamo Area Council 583                  3202 Ackerman Rd                                          Kirby, TX 78219‐1502                                                       First Class Mail
Chartered Organization         VFW Post 210                                             Northern Star Council 250               P.O. Box 308                                              Lakeville, MN 55044‐0308                                                   First Class Mail
Chartered Organization         VFW Post 2102                                            Laurel Highlands Council 527            2102 Main St                                              Wardensville, WV 26851                                                     First Class Mail
Chartered Organization         VFW Post 2113 ‐ Depere                                   Bay‐Lakes Council 635                   2152 Dollar Rd                                            De Pere, WI 54115‐9712                                                     First Class Mail
Chartered Organization         VFW Post 212                                             Allegheny Highlands Council 382         94 Barbour St                                             Bradford, PA 16701‐1905                                                    First Class Mail
Chartered Organization         VFW Post 2195                                            Circle Ten Council 571                  600 E Main St                                             Allen, TX 75002‐3033                                                       First Class Mail
Chartered Organization         VFW Post 2195                                            Circle Ten Council 571                  P.O. Box 284                                              Allen, TX 75013‐0005                                                       First Class Mail
Chartered Organization         VFW Post 220                                             Jersey Shore Council 341                P.O. Box 689                                              Mays Landing, NJ 08330‐0689                                                First Class Mail
Chartered Organization         VFW Post 2207                                            Crater Lake Council 491                 272 Franklin Ave                                          Fortuna, CA 95540‐2532                                                     First Class Mail
Chartered Organization         VFW Post 2224 ‐ Puyallup Valley                          Pacific Harbors Council, Bsa 612        120 2nd St Ne                                             Puyallup, WA 98372‐3026                                                    First Class Mail
Chartered Organization         VFW Post 2227                                            Samoset Council, Bsa 627                209 N 1st St                                              Colby, WI 54421‐9633                                                       First Class Mail
Chartered Organization         VFW Post 2269                                            Great Lakes Fsc 272                     2652 Loon Lake Rd                                         Wixom, MI 48393‐1250                                                       First Class Mail
Chartered Organization         VFW Post 2272                                            Water and Woods Council 782             923 N Saginaw St                                          Durand, MI 48429‐1265                                                      First Class Mail
Chartered Organization         VFW Post 2280 Honor Guard                                Mid‐America Council 326                 P.O. Box 1105                                             Bellevue, NE 68005‐1105                                                    First Class Mail
Chartered Organization         VFW Post 2323                                            W L A C C 051                           17522 Chatsworth St                                       Granada Hills, CA 91344‐5719                                               First Class Mail
Chartered Organization         VFW Post 2345                                            Mountaineer Area 615                    P.O. Box 285                                              Tunnelton, WV 26444‐0285                                                   First Class Mail
Chartered Organization         VFW Post 2359 Charles W Davis                            The Spirit of Adventure 227             5 Conant St                                               Danvers, MA 01923‐2902                                                     First Class Mail
Chartered Organization         VFW Post 239                                             Chief Seattle Council 609               190 Dora Ave                                              Bremerton, WA 98312‐3658                                                   First Class Mail
Chartered Organization         VFW Post 2462                                            Baltimore Area Council 220              1720 Bayside Beach Rd                                     Pasadena, MD 21122‐3506                                                    First Class Mail
Chartered Organization         VFW Post 2485 District 7 Dept Of Pac                     Far E Council 803                       310 Santol Rd                                             Angeles City,                    Philippines                               First Class Mail
Chartered Organization         VFW Post 2494                                            Circle Ten Council 571                  3375 N Belt Line Rd                                       Irving, TX 75062                                                           First Class Mail
Chartered Organization         VFW Post 2494                                            Circle Ten Council 571                  3375 N Belt Line Rd                                       Irving, TX 75062                                                           First Class Mail
Chartered Organization         VFW Post 2498 Lt Mason H Carter                          The Spirit of Adventure 227             20 Junction St                                            Needham, MA 02492‐2920                                                     First Class Mail
Chartered Organization         VFW Post 2503                                            Mid‐America Council 326                 8904 Military Rd                                          Omaha, NE 68134‐1851                                                       First Class Mail
Chartered Organization         VFW Post 2541                                            Mid‐America Council 326                 414 E State St                                            Algona, IA 50511‐2740                                                      First Class Mail
Chartered Organization         VFW Post 2543                                            Mid‐America Council 326                 136 S 6th St                                              Plattsmouth, NE 68048                                                      First Class Mail
Chartered Organization         VFW Post 2553                                            Twin Valley Council Bsa 283             P.O. Box 23                                               Redwood Falls, MN 56283‐0023                                               First Class Mail
Chartered Organization         VFW Post 2566                                            Transatlantic Council, Bsa 802          Cmr 405 Box 7503                                          APO, AE 09034‐0076                                                         First Class Mail
Chartered Organization         VFW Post 2571                                            Green Mountain 592                      97 S Main St                                              White River Junction, VT 05001                                             First Class Mail
Chartered Organization         VFW Post 2593                                            Greater St Louis Area Council 312       2301 Church Rd                                            Arnold, MO 63010‐2109                                                      First Class Mail
Chartered Organization         VFW Post 2632                                            National Capital Area Council 082       23282 Three Notch Rd                                      California, MD 20619                                                       First Class Mail
Chartered Organization         VFW Post 2645                                            Great Lakes Fsc 272                     19301 W 12 Mile Rd                                        Lathrup Village, MI 48076‐2557                                             First Class Mail
Chartered Organization         VFW Post 27, Wiesbaden                                   Transatlantic Council, Bsa 802          Cmr 467 Box Gd                                            APO, AE 09096                                                              First Class Mail
Chartered Organization         VFW Post 27, Wiesbaden                                   Transatlantic Council, Bsa 802          Unit 4355                                                 APO, AE 09096                                                              First Class Mail
Chartered Organization         VFW Post 27, Wiesbaden                                   Transatlantic Council, Bsa 802          Cmr 467                                                   Box 7000                         APO, AE 09096                             First Class Mail
Chartered Organization         VFW Post 2717‐Ely                                        Voyageurs Area 286                      2 W Sheridan St                                           Ely, MN 55731‐1217                                                         First Class Mail
Chartered Organization         VFW Post 2718                                            Theodore Roosevelt Council 386          68 Lincoln Rd                                             Franklin Square, NY 11010‐3617                                             First Class Mail
Chartered Organization         VFW Post 2727                                            San Francisco Bay Area Council 028      200 Grand Ave                                             Oakland, CA 94610‐4534                                                     First Class Mail
Chartered Organization         VFW Post 2777 & Marines Taking Care Kids                 Water and Woods Council 782             2260 S Belsay Rd                                          Burton, MI 48519‐1214                                                      First Class Mail
Chartered Organization         VFW Post 2801 Villa Park                                 Three Fires Council 127                 39 E St Charles Rd                                        Villa Park, IL 60181‐2411                                                  First Class Mail
Chartered Organization         VFW Post 283                                             Northeastern Pennsylvania Council 501   757 Wyoming Ave                                           Kingston, PA 18704‐3832                                                    First Class Mail
Chartered Organization         VFW Post 2838                                            Pathway To Adventure 456                P.O. Box 955                                              Westmont, IL 60559‐0955                                                    First Class Mail
Chartered Organization         VFW Post 2848 Kilchis‐Tillamook Bay                      Cascade Pacific Council 492             P.O. Box 3152                                             Bay City, OR 97107‐3152                                                    First Class Mail
Chartered Organization         VFW Post 2859 (Piasa)                                    Greater St Louis Area Council 312       231 E Edwardsville Rd                                     Wood River, IL 62095‐1555                                                  First Class Mail
Chartered Organization         VFW Post 2876                                            Prairielands 117                        9 S Main St                                               Villa Grove, IL 61956‐1522                                                 First Class Mail
Chartered Organization         VFW Post 2924                                            California Inland Empire Council 045    10184 Hesperia Rd                                         Hesperia, CA 92345‐2648                                                    First Class Mail
Chartered Organization         VFW Post 2925 ‐ Berlin                                   Bay‐Lakes Council 635                   420 N Wisconsin St                                        Berlin, WI 54923‐1104                                                      First Class Mail
Chartered Organization         VFW Post 296                                             Connecticut Rivers Council, Bsa 066     P.O. Box 325                                              Winsted, CT 06098‐0325                                                     First Class Mail
Chartered Organization         VFW Post 2964                                            President Gerald R Ford 781             129 E Osceola Ave                                         Reed City, MI 49677‐1327                                                   First Class Mail
Chartered Organization         VFW Post 3000                                            W L A C C 051                           4342 W Ave L                                              Lancaster, CA 93536‐4210                                                   First Class Mail
Chartered Organization         VFW Post 3000 Auxillary                                  W L A C C 051                           4342 W Ave L                                              Lancaster, CA 93536‐4210                                                   First Class Mail
Chartered Organization         VFW Post 3010                                            Golden Empire Council 047               541 5th St                                                Lincoln, CA 95648‐1847                                                     First Class Mail
Chartered Organization         VFW Post 3012                                            Grand Teton Council 107                 203 N 5th W                                               Rexburg, ID 83440                                                          First Class Mail
Chartered Organization         VFW Post 308                                             Connecticut Yankee Council Bsa 072      18 Tinkerfield Rd                                         Newtown, CT 06470‐2334                                                     First Class Mail
Chartered Organization         VFW Post 3087                                            Water and Woods Council 782             G4138 Corunna Rd                                          Flint, MI 48532                                                            First Class Mail
Chartered Organization         VFW Post 3127 Of Chaffee                                 Greater St Louis Area Council 312       217 S Frisco St                                           Chaffee, MO 63740‐1038                                                     First Class Mail
Chartered Organization         VFW Post 3153 ‐ Chilton                                  Bay‐Lakes Council 635                   1041 E Chestnut St                                        Chilton, WI 53014‐1611                                                     First Class Mail
Chartered Organization         VFW Post 3168                                            Ozark Trails Council 306                26050 Swindell Dr                                         Richland, MO 65556‐7581                                                    First Class Mail
Chartered Organization         VFW Post 318 ‐ Olympia                                   Pacific Harbors Council, Bsa 612        2902 Martin Way E                                         Olympia, WA 98506‐4908                                                     First Class Mail
Chartered Organization         VFW Post 3227                                            Central Florida Council 083             801 Maryland Ave                                          St Cloud, FL 34769‐3458                                                    First Class Mail
Chartered Organization         VFW Post 323/1St Presbyterian Church                     Northern Star Council 250               6201 Osgood Ave N                                         Stillwater, MN 55082‐6137                                                  First Class Mail
Chartered Organization         VFW Post 3256                                            President Gerald R Ford 781             9370 Walsh Rd                                             Montague, MI 49437‐8517                                                    First Class Mail
Chartered Organization         VFW Post 3283                                            Miami Valley Council, Bsa 444           5074 Nebraska Ave                                         Huber Heights, OH 45424‐6126                                               First Class Mail
Chartered Organization         VFW Post 3377                                            Capitol Area Council 564                P.O. Box 808                                              Manchaca, TX 78652‐0808                                                    First Class Mail
Chartered Organization         VFW Post 3386                                            Inland Nwest Council 611                P.O. Box 149                                              Airway Heights, WA 99001‐0149                                              First Class Mail
Chartered Organization         VFW Post 3404                                            Ozark Trails Council 306                1136 E Atlantic St                                        Springfield, MO 65803‐3225                                                 First Class Mail
Chartered Organization         VFW Post 3436                                            Chief Seattle Council 609               4630 167th Ave Se                                         Bellevue, WA 98006‐5837                                                    First Class Mail
Chartered Organization         VFW Post 352                                             Aloha Council, Bsa 104                  P.O. Box 894513                                           Mililani, HI 96789‐8326                                                    First Class Mail
Chartered Organization         VFW Post 3533                                            Mid‐America Council 326                 41553 170th Ave                                           Laurens, IA 50554‐8655                                                     First Class Mail
Chartered Organization         VFW Post 3619                                            Calcasieu Area Council 209              P.O. Box 711                                              Deridder, LA 70634‐0711                                                    First Class Mail
Chartered Organization         VFW Post 3631                                            Denver Area Council 061                 18545 E Colfax Ave                                        Aurora, CO 80011‐6101                                                      First Class Mail
Chartered Organization         VFW Post 3649                                            Indian Nations Council 488              105 NW 1st St                                             Wilburton, OK 74578                                                        First Class Mail
Chartered Organization         VFW Post 3693                                            Istrouma Area Council 211               42430 Church Point Rd                                     Gonzales, LA 70737                                                         First Class Mail
Chartered Organization         VFW Post 3723                                            Gamehaven 299                           1226 Bellflower Ln                                        Owatonna, MN 55060‐5112                                                    First Class Mail
Chartered Organization         VFW Post 3724                                            Water and Woods Council 782             3540 W Huron Rd                                           Standish, MI 48658‐9162                                                    First Class Mail
Chartered Organization         VFW Post 3736                                            President Gerald R Ford 781             709 Plum St                                               Grayling, MI 49738‐1223                                                    First Class Mail
Chartered Organization         VFW Post 3755                                            Overland Trails 322                     P.O. Box 213                                              Ogallala, NE 69153‐0213                                                    First Class Mail
Chartered Organization         VFW Post 3770                                            Ozark Trails Council 306                8783 Canary Ln                                            Mountain Grove, MO 65711                                                   First Class Mail
Chartered Organization         VFW Post 3777 Rfd 5 / Twin Cities Lions                  Greater St Louis Area Council 312       P.O. Box 265                                              Festus, MO 63028‐0265                                                      First Class Mail
Chartered Organization         VFW Post 3783                                            San Diego Imperial Council 049          2247 Kelly Ave                                            Ramona, CA 92065‐3017                                                      First Class Mail
Chartered Organization         VFW Post 3783 Ramona                                     San Diego Imperial Council 049          2247 Kelly Ave                                            Ramona, CA 92065‐3017                                                      First Class Mail
Chartered Organization         VFW Post 3795                                            San Diego Imperial Council 049          212 W Mission Rd                                          San Marcos, CA 92069‐1642                                                  First Class Mail
Chartered Organization         VFW Post 3838                                            Greater St Louis Area Council 312       1049 N Kingshighway St                                    Cape Girardeau, MO 63701‐3502                                              First Class Mail
Chartered Organization         VFW Post 3838 Of Cape Girardeau                          Greater St Louis Area Council 312       1049 N Kingshighway St                                    Cape Girardeau, MO 63701‐3502                                              First Class Mail
Chartered Organization         VFW Post 387                                             Lake Erie Council 440                   3580 W 140th St                                           Cleveland, OH 44111‐2410                                                   First Class Mail
Chartered Organization         VFW Post 3873 ‐ Judd Kendall                             Three Fires Council 127                 908 Jackson Ave                                           Naperville, IL 60540‐5213                                                  First Class Mail
Chartered Organization         VFW Post 388                                             Samoset Council, Bsa 627                P.O. Box 388                                              Wausau, WI 54402‐0388                                                      First Class Mail
Chartered Organization         VFW Post 3892                                            Longhorn Council 662                    1407 E Veterans Memorial Blvd                             Killeen, TX 76541                                                          First Class Mail
Chartered Organization         VFW Post 3901                                            Water and Woods Council 782             1005 Pointe Tremble Rd                                    Algonac, MI 48001‐1612                                                     First Class Mail
Chartered Organization         VFW Post 3928                                            Mt Diablo‐Silverado Council 023         1150 1st St                                               Benicia, CA 94510‐3221                                                     First Class Mail
Chartered Organization         VFW Post 3966                                            Alamo Area Council 583                  P.O. Box 594                                              Devine, TX 78016‐0594                                                      First Class Mail
Chartered Organization         VFW Post 3970                                            Oregon Trail Council 697, 2nd and Oak   Oakland, OR 97462                                                                                                                    First Class Mail
Chartered Organization         VFW Post 3973 Molalla                                    Cascade Pacific Council 492             P.O. Box 158                                              Molalla, OR 97038‐0158                                                     First Class Mail
Chartered Organization         VFW Post 4008                                            Longhorn Council 662                    1311 S Pearl St                                           Belton, TX 76513                                                           First Class Mail
Chartered Organization         VFW Post 4011                                            Circle Ten Council 571                  P.O. Box 9032                                             Greenville, TX 75404‐9032                                                  First Class Mail
Chartered Organization         VFW Post 4012                                            Great Lakes Fsc 272                     438 S Main St                                             Northville, MI 48167‐1647                                                  First Class Mail
Chartered Organization         VFW Post 4012 Northville                                 Great Lakes Fsc 272                     438 S Main St                                             Northville, MI 48167‐1647                                                  First Class Mail
Chartered Organization         VFW Post 4015 Newberg                                    Cascade Pacific Council 492             111 S Howard St                                           Newberg, OR 97132‐3067                                                     First Class Mail
Chartered Organization         VFW Post 4087                                            Water and Woods Council 782             9474 Lapeer Rd                                            Davison, MI 48423‐1755                                                     First Class Mail
Chartered Organization         VFW Post 4090                                            Water and Woods Council 782             1324 E Bridge St                                          Portland, MI 48875‐1602                                                    First Class Mail
Chartered Organization         VFW Post 41                                              Longs Peak Council 062                  305 Cleveland Ave                                         Loveland, CO 80537‐5505                                                    First Class Mail
Chartered Organization         VFW Post 41 ‐ Loveland                                   Longs Peak Council 062                  P.O. Box 141                                              Loveland, CO 80539‐0141                                                    First Class Mail
Chartered Organization         VFW Post 4129                                            Laurel Highlands Council 527            603 Lower Main St                                         Saxton, PA 16678‐1045                                                      First Class Mail
Chartered Organization         VFW Post 4159                                            President Gerald R Ford 781             P.O. Box 774                                              Roscommon, MI 48653‐0774                                                   First Class Mail
Chartered Organization         VFW Post 4182                                            Great Rivers Council 653                108 State Hwy 100 W                                       Hermann, MO 65041‐1526                                                     First Class Mail
Chartered Organization         VFW Post 4183                                            Greater St Louis Area Council 312       1516 Old State Route 158                                  Belleville, IL 62221‐8607                                                  First Class Mail
Chartered Organization         VFW Post 4194                                            Gulf Stream Council 085                 2464 SE Veterans Ave                                      Stuart, FL 34994‐4441                                                      First Class Mail
Chartered Organization         VFW Post 4219                                            Greater St Louis Area Council 312       6030 N Hwy 94                                             St Charles, MO 63301                                                       First Class Mail
Chartered Organization         VFW Post 423                                             Southern Shores Fsc 783                 3230 S Wagner Rd                                          Ann Arbor, MI 48103‐9719                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                       Page 421 of 442
                                                                                 Case 20-10343-LSS                                  Doc 8171                                          Filed 01/06/22                                 Page 437 of 457
                                                                                                                                                                         Exhibit B
                                                                                                                                                                          Service List
                                                                                                                                                                   Served as set forth below

        Description                                                       Name                                                                                         Address                                                                         Email              Method of Service
Chartered Organization         VFW Post 4238                                            Ozark Trails Council 306               P.O. Box 1125                                                 Dixon, MO 65459‐1125                                              First Class Mail
Chartered Organization         VFW Post 4254 Auxillary                                  Southwest Florida Council 088          10972 K Nine Dr                                               Bonita Springs, FL 34135‐6861                                     First Class Mail
Chartered Organization         VFW Post 4278 Schick‐Ogle Camas                          Cascade Pacific Council 492            P.O. Box 579                                                  Camas, WA 98607‐0579                                              First Class Mail
Chartered Organization         VFW Post 4282                                            Greater St Louis Area Council 312      P.O. Box 13                                                   Perryville, MO 63775‐0013                                         First Class Mail
Chartered Organization         VFW Post 4289 Winter Haven                               Greater Tampa Bay Area 089             2441 7th St Sw                                                Winter Haven, FL 33880‐4304                                       First Class Mail
Chartered Organization         VFW Post 4308                                            Northeast Illinois 129                 130 E Grand Ave                                               Lake Villa, IL 60046‐7827                                         First Class Mail
Chartered Organization         VFW Post 4343                                            Longs Peak Council 062                 3216 S Greeley Hwy                                            Cheyenne, WY 82007‐3664                                           First Class Mail
Chartered Organization         VFW Post 4351                                            North Florida Council 087              96086 Wades Pl                                                Fernandina Beach, FL 32034‐0292                                   First Class Mail
Chartered Organization         VFW Post 4372                                            Buffalo Trail Council 567              208 E Vfw Ln                                                  Odessa, TX 79762‐3674                                             First Class Mail
Chartered Organization         VFW Post 4409                                            Heart of America Council 307           1804 N Commercial St                                          Harrisonville, MO 64701‐1266                                      First Class Mail
Chartered Organization         VFW Post 4437                                            Gulf Coast Council 773                 25 S 25th St                                                  Defuniak Springs, FL 32435‐1412                                   First Class Mail
Chartered Organization         VFW Post 4437                                            Gulf Coast Council 773                 25 S 25th St                                                  Defuniak Springs, FL 32435‐1412                                   First Class Mail
Chartered Organization         VFW Post 4443                                            Capitol Area Council 564               7614 Thomas Springs Rd                                        Austin, TX 78736‐2812                                             First Class Mail
Chartered Organization         VFW Post 4452 Of Cannon Falls                            Gamehaven 299                          P.O. Box 12                                                   Cannon Falls, MN 55009‐0012                                       First Class Mail
Chartered Organization         VFW Post 4480                                            Chester County Council 539             406 4th Ave                                                   Parkesburg, PA 19365‐1410                                         First Class Mail
Chartered Organization         VFW Post 4487                                            Narragansett 546                       52 Underwood Ln                                               Middletown, RI 02842‐4850                                         First Class Mail
Chartered Organization         VFW Post 4488                                            Chickasaw Council 558                  220 V F W Rd                                                  Grenada, MS 38901‐7919                                            First Class Mail
Chartered Organization         VFW Post 454                                             W D Boyce 138                          1006 E Lincoln St                                             Bloomington, IL 61701‐7228                                        First Class Mail
Chartered Organization         VFW Post 4551                                            Northeast Illinois 129                 75 North Ave                                                  Antioch, IL 60002‐2491                                            First Class Mail
Chartered Organization         VFW Post 4561                                            Winnebago Council, Bsa 173             Hwy 9 W                                                       Cresco, IA 52136                                                  First Class Mail
Chartered Organization         VFW Post 4574                                            Arbuckle Area Council 468              529 S Washington St                                           Ardmore, OK 73401‐7046                                            First Class Mail
Chartered Organization         VFW Post 4582                                            Northern Lights Council 429            P.O. Box 190                                                  Starbuck, MN 56381‐0190                                           First Class Mail
Chartered Organization         VFW Post 4600                                            Blackhawk Area 660                     3002 W Il Route 120                                           Mchenry, IL 60051‐4571                                            First Class Mail
Chartered Organization         VFW Post 4646                                            President Gerald R Ford 781            P.O. Box 152                                                  Lyons, MI 48851‐0152                                              First Class Mail
Chartered Organization         VFW Post 4647                                            Golden Empire Council 047              3300 U St                                                     Antelope, CA 95843‐2520                                           First Class Mail
Chartered Organization         VFW Post 4676                                            Alamo Area Council 583                 202 W Aviation Blvd                                           Universal City, TX 78148‐4303                                     First Class Mail
Chartered Organization         VFW Post 4699                                            Monmouth Council, Bsa 347              575 Jernee Mill Rd                                            Sayreville, NJ 08872‐1754                                         First Class Mail
Chartered Organization         VFW Post 4703                                            Jersey Shore Council 341               54 Magnolia Dr                                                Jackson, NJ 08527‐3846                                            First Class Mail
Chartered Organization         VFW Post 4706                                            Atlanta Area Council 092               5362 Covington Hwy                                            Decatur, GA 30035‐2203                                            First Class Mail
Chartered Organization         VFW Post 4709                                            Sam Houston Area Council 576           P.O. Box 122                                                  Conroe, TX 77305‐0122                                             First Class Mail
Chartered Organization         VFW Post 4743                                            Twin Valley Council Bsa 283            405 N Hwy 86                                                  Lakefield, MN 56150‐1226                                          First Class Mail
Chartered Organization         VFW Post 4837 And Auxilliary                             Water and Woods Council 782            2942 Main St                                                  Marlette, MI 48453‐1138                                           First Class Mail
Chartered Organization         VFW Post 4868                                            Winnebago Council, Bsa 173             219 Main Ave                                                  Clear Lake, IA 50428‐1822                                         First Class Mail
Chartered Organization         VFW Post 491                                             Washington Crossing Council 777        9 Fisher Pl                                                   Hamilton, NJ 08620‐2619                                           First Class Mail
Chartered Organization         VFW Post 4931 Dept Of Ohio                               Simon Kenton Council 441               2436 Walcutt Rd                                               Columbus, OH 43228‐9618                                           First Class Mail
Chartered Organization         VFW Post 4939                                            West Tennessee Area Council 559        9750 Cherrywood Ave                                           Mc Kenzie, TN 38201‐2621                                          First Class Mail
Chartered Organization         VFW Post 4992                                            Chief Seattle Council 609              980 Box 186                                                   Silverdale, WA 98383                                              First Class Mail
Chartered Organization         VFW Post 5010                                            Minsi Trails Council 502               341 Centre St                                                 Freeland, PA 18224‐2120                                           First Class Mail
Chartered Organization         VFW Post 5095                                            Connecticut Rivers Council, Bsa 066    20 N Maple St                                                 East Hampton, CT 06424‐1014                                       First Class Mail
Chartered Organization         VFW Post 51 Auxiliary                                    Inland Nwest Council 611               300 W Mission Ave                                             Spokane, WA 99201‐2366                                            First Class Mail
Chartered Organization         VFW Post 5119                                            Washington Crossing Council 777        179 Main St                                                   Glen Gardner, NJ 08826‐3607                                       First Class Mail
Chartered Organization         VFW Post 5252                                            Northern Lights Council 429            General Delivery                                              Pelican Rapids, MN 56572                                          First Class Mail
Chartered Organization         VFW Post 5255                                            Northeast Georgia Council 101          368 Grayson Hwy                                               Lawrenceville, GA 30046‐6328                                      First Class Mail
Chartered Organization         VFW Post 5290                                            Atlanta Area Council 092               1432 Vfw Dr Sw                                                Conyers, GA 30012                                                 First Class Mail
Chartered Organization         VFW Post 5327 Of Wentzville                              Greater St Louis Area Council 312      1414 Hwy Z                                                    Wentzville, MO 63385‐4505                                         First Class Mail
Chartered Organization         VFW Post 5408                                            Atlanta Area Council 092               4764 Cobb Pkwy Nw                                             Acworth, GA 30101                                                 First Class Mail
Chartered Organization         VFW Post 5448                                            Flint River Council 095                1205 W Poplar St                                              Griffin, GA 30224‐2136                                            First Class Mail
Chartered Organization         VFW Post 547                                             Iroquois Trail Council 376             67 Hopkins St                                                 Mt Morris, NY 14510‐1333                                          First Class Mail
Chartered Organization         VFW Post 5518                                            Central Minnesota 296                  P.O. Box 66                                                   Elk River, MN 55330‐0066                                          First Class Mail
Chartered Organization         VFW Post 5538                                            Leatherstocking 400                    105 Park Ave                                                  Boonville, NY 13309‐1319                                          First Class Mail
Chartered Organization         VFW Post 5540                                            Longhouse Council 373                  70 Culvert St                                                 Phoenix, NY 13135‐1941                                            First Class Mail
Chartered Organization         VFW Post 5547 Midcounty Post                             Cornhusker Council 324                 527 5th St                                                    Syracuse, NE 68446                                                First Class Mail
Chartered Organization         VFW Post 5580                                            Pacific Harbors Council, Bsa 612       P.O. Box 1396                                                 Yelm, WA 98597‐1396                                               First Class Mail
Chartered Organization         VFW Post 5598                                            President Gerald R Ford 781            511 68th Ave N                                                Coopersville, MI 49404‐9704                                       First Class Mail
Chartered Organization         VFW Post 5612                                            Bay‐Lakes Council 635                  337 Stafford St                                               Plymouth, WI 53073‐1242                                           First Class Mail
Chartered Organization         VFW Post 5658 Auxiliary                                  Mobile Area Council‐Bsa 004            24730 US Hwy 98                                               Elberta, AL 36530                                                 First Class Mail
Chartered Organization         VFW Post 5665                                            Black Swamp Area Council 449           P.O. Box 4587                                                 Sherwood, OH 43556‐0587                                           First Class Mail
Chartered Organization         VFW Post 5691                                            Greater St Louis Area Council 312      1234 Vandalia St                                              Collinsville, IL 62234‐4059                                       First Class Mail
Chartered Organization         VFW Post 5700                                            Washington Crossing Council 777        140 Dutch Neck Rd                                             Hightstown, NJ 08520‐4513                                         First Class Mail
Chartered Organization         VFW Post 5766                                            Lincoln Heritage Council 205           P.O. Box 134                                                  Hartford, KY 42347‐0134                                           First Class Mail
Chartered Organization         VFW Post 5788                                            Rainbow Council 702                    1026 E 9th St                                                 Lockport, IL 60441‐3218                                           First Class Mail
Chartered Organization         VFW Post 5790                                            Greater St Louis Area Council 312      21294 Route 138                                               Mt Olive, IL 62069‐2608                                           First Class Mail
Chartered Organization         VFW Post 5796                                            Suffolk County Council Inc 404         40 Church St                                                  Kings Park, NY 11754‐2701                                         First Class Mail
Chartered Organization         VFW Post 5857                                            President Gerald R Ford 781            3685 Veterans Dr                                              Onaway, MI 49765                                                  First Class Mail
Chartered Organization         VFW Post 5867                                            San Diego Imperial Council 049         12650 Lindo Ln                                                Lakeside, CA 92040‐4212                                           First Class Mail
Chartered Organization         VFW Post 587                                             Black Swamp Area Council 449           214 N Water St                                                Paulding, OH 45879‐1246                                           First Class Mail
Chartered Organization         VFW Post 5896, Farmington Mo                             Greater St Louis Area Council 312      814 E Karsch Blvd                                             Farmington, MO 63640‐3024                                         First Class Mail
Chartered Organization         VFW Post 5896, Farmington Mo                             Greater St Louis Area Council 312      814 E Karsch Blvd                                             Farmington, MO 63640‐3024                                         First Class Mail
Chartered Organization         VFW Post 5901                                            Heart of America Council 307           P.O. Box 683                                                  Ottawa, KS 66067‐0683                                             First Class Mail
Chartered Organization         VFW Post 591                                             Connecticut Yankee Council Bsa 072     23 Prince St                                                  Wallingford, CT 06492‐4119                                        First Class Mail
Chartered Organization         VFW Post 5923                                            Great Rivers Council 653               65 Vfw Rd                                                     Camdenton, MO 65020                                               First Class Mail
Chartered Organization         VFW Post 5969                                            Black Hills Area Council 695 695       P.O. Box 443                                                  Deadwood, SD 57732‐0443                                           First Class Mail
Chartered Organization         VFW Post 6008                                            Longhorn Council 662                   725 Sun Valley Blvd                                           Hewitt, TX 76643‐3535                                             First Class Mail
Chartered Organization         VFW Post 6024                                            Orange County Council 039              21001 Rancho Trabuco                                          Rancho Santa Margarita, CA 92688‐3444                             First Class Mail
Chartered Organization         VFW Post 6056                                            Southern Shores Fsc 783                230 Mechanic St                                               Springport, MI 49284‐9751                                         First Class Mail
Chartered Organization         VFW Post 6063                                            Jersey Shore Council 341               210 Court House Ln                                            Toms River, NJ 08753‐7612                                         First Class Mail
Chartered Organization         VFW Post 607                                             President Gerald R Ford 781            1316 W 3rd St                                                 Rogers City, MI 49779‐1208                                        First Class Mail
Chartered Organization         VFW Post 6152                                            Sequoia Council 027                    1551 6th Ave Dr                                               Kingsburg, CA 93631‐1730                                          First Class Mail
Chartered Organization         VFW Post 6152                                            Sequoia Council 027                    1300 California St                                            Kingsburg, CA 93631‐2222                                          First Class Mail
Chartered Organization         VFW Post 6218                                            Lincoln Heritage Council 205           P.O. Box 431                                                  Edmonton, KY 42129‐0431                                           First Class Mail
Chartered Organization         VFW Post 6274                                            Greater St Louis Area Council 312      115 Mimosa Ln                                                 Ballwin, MO 63011‐3076                                            First Class Mail
Chartered Organization         VFW Post 6298                                            San Francisco Bay Area Council 028     P.O. Box 65                                                   Pleasanton, CA 94566‐0006                                         First Class Mail
Chartered Organization         VFW Post 6298                                            San Francisco Bay Area Council 028     301 Main St                                                   Pleasanton, CA 94566‐7324                                         First Class Mail
Chartered Organization         VFW Post 63                                              Ore‐Ida Council 106 ‐ Bsa 106          P.O. Box 8966                                                 Boise, ID 83707‐2966                                              First Class Mail
Chartered Organization         VFW Post 63                                              Ore‐Ida Council 106 ‐ Bsa 106          8931 W Ardene St                                              Boise, ID 83709‐2686                                              First Class Mail
Chartered Organization         VFW Post 6309                                            Silicon Valley Monterey Bay 055        74 W 6th St                                                   Gilroy, CA 95020‐6110                                             First Class Mail
Chartered Organization         VFW Post 6352 & Auxillary                                Samoset Council, Bsa 627               213222 State Hwy 97                                           Stratford, WI 54484‐4407                                          First Class Mail
Chartered Organization         VFW Post 6393                                            Washington Crossing Council 777        1444 Yardley Newtown Rd                                       Yardley, PA 19067‐4044                                            First Class Mail
Chartered Organization         VFW Post 6441                                            Capitol Area Council 564               P.O. Box 826                                                  Wimberley, TX 78676‐0826                                          First Class Mail
Chartered Organization         VFW Post 6445                                            Georgia‐Carolina 093                   P.O. Box 175                                                  Harlem, GA 30814‐0175                                             First Class Mail
Chartered Organization         VFW Post 6504 Auxiliary                                  Greater St Louis Area Council 312      406 Veterans Dr                                               Waterloo, IL 62298‐1134                                           First Class Mail
Chartered Organization         VFW Post 6579                                            Water and Woods Council 782            P.O. Box 163                                                  New Lothrop, MI 48460‐0163                                        First Class Mail
Chartered Organization         VFW Post 6590                                            Garden State Council 690               P.O. Box 265                                                  Cookstown, NJ 08511‐0265                                          First Class Mail
Chartered Organization         VFW Post 6611                                            Allegheny Highlands Council 382        221 Germania St Ext                                           Galeton, PA 16922‐9701                                            First Class Mail
Chartered Organization         VFW Post 6615                                            Minsi Trails Council 502               3 Vfw Rd                                                      White Haven, PA 18661‐3216                                        First Class Mail
Chartered Organization         VFW Post 6624                                            Longs Peak Council 062                 3501 State St                                                 Evans, CO 80620‐2123                                              First Class Mail
Chartered Organization         VFW Post 6624/Moose Lodge 909                            Longs Peak Council 062                 3501 State St                                                 Evans, CO 80620‐2123                                              First Class Mail
Chartered Organization         VFW Post 6643 Freetown Memorial Post                     Narragansett 546                       P.O. Box 511                                                  East Freetown, MA 02717‐0511                                      First Class Mail
Chartered Organization         VFW Post 6650                                            Jersey Shore Council 341               1501 Bay Ave                                                  Ocean City, NJ 08226‐3151                                         First Class Mail
Chartered Organization         VFW Post 6663                                            Three Fires Council 127                P.O. Box 296                                                  Glen Ellyn, IL 60138‐0296                                         First Class Mail
Chartered Organization         VFW Post 6695                                            Great Lakes Fsc 272                    1426 S Mill St                                                Plymouth, MI 48170‐4321                                           First Class Mail
Chartered Organization         VFW Post 6753 ‐ Howard S Lines                           Five Rivers Council, Inc 375           Knoxville Area Youth Organization                             Knoxville, PA 16928                                               First Class Mail
Chartered Organization         VFW Post 6763                                            Patriots Path Council 358              Vfw Post 6763                                                 South Plainfield, NJ 07080                                        First Class Mail
Chartered Organization         VFW Post 6849                                            Silicon Valley Monterey Bay 055        P.O. Box 7253                                                 Spreckels, CA 93962‐7253                                          First Class Mail
Chartered Organization         VFW Post 6851                                            Connecticut Rivers Council, Bsa 066    104 S Canaan Rd                                               Canaan, CT 06018‐2502                                             First Class Mail
Chartered Organization         VFW Post 6858                                            Blackhawk Area 660                     804 E Exchange St                                             Brodhead, WI 53520                                                First Class Mail
Chartered Organization         VFW Post 6885                                            W L A C C 051                          16208 Sierra Hwy                                              Canyon Country, CA 91351‐1410                                     First Class Mail
Chartered Organization         VFW Post 6917                                            Yucca Council 573                      5485 Battaan Memorial W                                       Las Cruces, NM 88012                                              First Class Mail
Chartered Organization         VFW Post 6919                                            Lasalle Council 165                    108 E Washington St                                           Culver, IN 46511‐1532                                             First Class Mail
Chartered Organization         VFW Post 6935                                            Blue Grass Council 204                 P.O. Box 293                                                  Harrodsburg, KY 40330‐0293                                        First Class Mail
Chartered Organization         VFW Post 6992                                            Central Minnesota 296                  901 N Benton Dr                                               Sauk Rapids, MN 56379‐1547                                        First Class Mail
Chartered Organization         VFW Post 7050                                            Central Minnesota 296                  416 E Main St                                                 Melrose, MN 56352‐1166                                            First Class Mail
Chartered Organization         VFW Post 7108                                            Alamo Area Council 583                 P.O. Box 324                                                  Helotes, TX 78023‐0324                                            First Class Mail
Chartered Organization         VFW Post 7108                                            Alamo Area Council 583                 P.O. Box 324                                                  Helotes, TX 78023‐0324                                            First Class Mail
Chartered Organization         VFW Post 7116                                            Coastal Georgia Council 099            112 N Community Dr                                            Sylvania, GA 30467‐1910                                           First Class Mail
Chartered Organization         VFW Post 7119                                            Crossroads of America 160              6525 Lee Rd                                                   Indianapolis, IN 46236‐9774                                       First Class Mail
Chartered Organization         VFW Post 7122                                            Greater Tampa Bay Area 089             8237 S Florida Ave                                            Floral City, FL 34436‐3112                                        First Class Mail
Chartered Organization         VFW Post 7155                                            Cradle of Liberty Council 525          301 W 3rd Ave                                                 Trappe, PA 19426                                                  First Class Mail
Chartered Organization         VFW Post 7244                                            Golden Empire Council 047              868 Arbor Oaks Dr                                             Vacaville, CA 95687‐5246                                          First Class Mail
Chartered Organization         VFW Post 7244                                            Golden Empire Council 047              549 Merchant St                                               Vacaville, CA 95688‐4511                                          First Class Mail
Chartered Organization         VFW Post 725                                             Rainbow Council 702                    P.O. Box 216                                                  Mokena, IL 60448‐0216                                             First Class Mail
Chartered Organization         VFW Post 7302                                            Water and Woods Council 782            17595 Gratiot Rd                                              Hemlock, MI 48626‐8633                                            First Class Mail
Chartered Organization         VFW Post 7376                                            Moraine Trails Council 500             572 W Main St                                                 Saxonburg, PA 16056                                               First Class Mail
Chartered Organization         VFW Post 7397                                            Heart of America Council 307           9550 Pflumm Rd                                                Shawnee Mission, KS 66215‐1263                                    First Class Mail
Chartered Organization         VFW Post 7402                                            Atlanta Area Council 092               P.O. Box 157                                                  Buchanan, GA 30113‐0157                                           First Class Mail
Chartered Organization         VFW Post 7439                                            President Gerald R Ford 781            Old US 27 S                                                   Indian River, MI 49749                                            First Class Mail
Chartered Organization         VFW Post 75                                              Mt Diablo‐Silverado Council 023        400 Hartz Ave                                                 Danville, CA 94526‐3804                                           First Class Mail
Chartered Organization         VFW Post 7564                                            Northern Lights Council 429            308 Sheyenne St                                               West Fargo, ND 58078                                              First Class Mail
Chartered Organization         VFW Post 7573                                            Great Lakes Fsc 272                    35011 23 Mile Rd                                              New Baltimore, MI 48047‐3649                                      First Class Mail
Chartered Organization         VFW Post 7573 Lempke‐Blackwell                           Great Lakes Fsc 272                    35011 23 Mile Rd                                              New Baltimore, MI 48047‐3649                                      First Class Mail
Chartered Organization         VFW Post 7589                                            National Capital Area Council 082      9268 Matthew Dr                                               Manassas Park, VA 20111‐2446                                      First Class Mail
Chartered Organization         VFW Post 76                                              Alamo Area Council 583                 10 10th St                                                    San Antonio, TX 78215‐1536                                        First Class Mail
Chartered Organization         VFW Post 7647                                            Lake Erie Council 440                  30036 Lorain Rd                                               North Olmsted, OH 44070‐3920                                      First Class Mail
Chartered Organization         VFW Post 7662                                            Northern Star Council 250              421 3rd St                                                    Farmington, MN 55024‐1354                                         First Class Mail
Chartered Organization         VFW Post 7720                                            Northeast Georgia Council 101          423 Vfw Post Rd                                               Cornelia, GA 30531‐7130                                           First Class Mail
Chartered Organization         VFW Post 7728                                            National Capital Area Council 082      12496 Harpers Run Rd                                          Bealeton, VA 22712                                                First Class Mail
Chartered Organization         VFW Post 7766                                            San Diego Imperial Council 049         12463 Rancho Bernardo Rd 531                                  San Diego, CA 92128‐2143                                          First Class Mail
Chartered Organization         VFW Post 7788                                            Connecticut Yankee Council Bsa 072     422 Naugatuck Ave                                             Milford, CT 06460‐5403                                            First Class Mail
Chartered Organization         VFW Post 7798                                            Trapper Trails 589                     P.O. Box 233                                                  Mountain View, WY 82939‐0233                                      First Class Mail
Chartered Organization         VFW Post 7807                                            Northeast Georgia Council 101          P.O. Box 927                                                  Hiawassee, GA 30546‐0927                                          First Class Mail
Chartered Organization         VFW Post 7822                                            Greater St Louis Area Council 312      P.O. Box 214                                                  Puxico, MO 63960‐0214                                             First Class Mail
Chartered Organization         VFW Post 7829                                            Pikes Peak Council 060                 1865 Woodmoor Dr                                              Monument, CO 80132‐9066                                           First Class Mail
Chartered Organization         VFW Post 7830                                            Coronado Area Council 192              P.O. Box 264                                                  Jewell, KS 66949‐0264                                             First Class Mail
Chartered Organization         VFW Post 7916                                            National Capital Area Council 082      204 Mill St                                                   Occoquan, VA 22125‐7730                                           First Class Mail
Chartered Organization         VFW Post 7916                                            National Capital Area Council 082      204 Mill St                                                   Occoquan, VA 22125‐7730                                           First Class Mail
Chartered Organization         VFW Post 7916                                            National Capital Area Council 082      204 Mill St                                                   Occoquan, VA 22125‐7730                                           First Class Mail
Chartered Organization         VFW Post 796                                             Water and Woods Council 782            1711 Pine Grove Ave                                           Port Huron, MI 48060‐3119                                         First Class Mail
Chartered Organization         VFW Post 7968                                            Grand Canyon Council 010               250 S Phelps Dr                                               Apache Junction, AZ 85120‐6715                                    First Class Mail
Chartered Organization         VFW Post 806                                             Central Minnesota 296                  133 N Rum River Dr                                            Princeton, MN 55371‐1616                                          First Class Mail
Chartered Organization         VFW Post 8063                                            Mt Diablo‐Silverado Council 023        3780 Mt Diablo Blvd                                           Lafayette, CA 94549‐3601                                          First Class Mail
Chartered Organization         VFW Post 8064 ‐ Akron                                    Longs Peak Council 062                 275 E 1st St                                                  Akron, CO 80720‐1503                                              First Class Mail
Chartered Organization         VFW Post 8093                                            Central Florida Council 083            351 S Beall Blvd                                              Debary, FL 32713‐3716                                             First Class Mail
Chartered Organization         VFW Post 8108                                            Greater Tampa Bay Area 089             P.O. Box 2513                                                 Riverview, FL 33568‐2513                                          First Class Mail
Chartered Organization         VFW Post 8175                                            Del Mar Va 081                         208 W High St                                                 Elkton, MD 21921‐5245                                             First Class Mail
Chartered Organization         VFW Post 8180                                            Far E Council 803                      Psc 450 Box 515                                               Apo, AP 96206‐0006                                                First Class Mail
Chartered Organization         VFW Post 8185 Jerry Skrivanek                            Del Mar Va 081                         P.O. Box 44                                                   Port Deposit, MD 21904‐0044                                       First Class Mail
Chartered Organization         VFW Post 8195                                            South Florida Council 084              4414 Pembroke Rd                                              Hollywood, FL 33021‐8106                                          First Class Mail
Chartered Organization         VFW Post 822 Mens Auxiliary                              Water and Woods Council 782            G‐5065 S Saginaw Rd                                           Flint, MI 48507                                                   First Class Mail
Chartered Organization         VFW Post 8273                                            Circle Ten Council 571                 P.O. Box 2848                                                 Frisco, TX 75034‐0054                                             First Class Mail
Chartered Organization         VFW Post 8276                                            Del Mar Va 081                         200 W State St                                                Delmar, MD 21875‐1503                                             First Class Mail
Chartered Organization         VFW Post 828                                             Illowa Council 133                     101 S Linwood Ave                                             Davenport, IA 52802‐1722                                          First Class Mail
Chartered Organization         VFW Post 8300                                            Suffolk County Council Inc 404         330 N Dunton Ave                                              East Patchogue, NY 11772‐5554                                     First Class Mail
Chartered Organization         VFW Post 8315                                            Alamo Area Council 583                 1000 Fm 78                                                    Schertz, TX 78154‐2009                                            First Class Mail
Chartered Organization         VFW Post 8343                                            Three Harbors Council 636              7740 W View Dr                                                Wind Lake, WI 53185‐1942                                          First Class Mail
Chartered Organization         VFW Post 8349                                            The Spirit of Adventure 227            26 River St                                                   Methuen, MA 01844‐3032                                            First Class Mail
Chartered Organization         VFW Post 8422‐Smyrna                                     Middle Tennessee Council 560           P.O. Box 95                                                   Smyrna, TN 37167‐0095                                             First Class Mail
Chartered Organization         VFW Post 8547                                            California Inland Empire Council 045   22616 Alessandro Blvd                                         Moreno Valley, CA 92553‐8505                                      First Class Mail
Chartered Organization         VFW Post 8577                                            Longhorn Council 662                   1506 Veterans Ave                                             Copperas Cove, TX 76522‐2781                                      First Class Mail
Chartered Organization         VFW Post 8647                                            Allegheny Highlands Council 382        P.O. Box 72                                                   Mayville, NY 14757‐0072                                           First Class Mail
Chartered Organization         VFW Post 8675/American Legion Post 49                    Five Rivers Council, Inc 375           1 Veterans Dr                                                 Troy, PA 16947                                                    First Class Mail
Chartered Organization         VFW Post 8680                                            California Inland Empire Council 045   8751 Industrial Ln                                            Rancho Cucamonga, CA 91730‐4527                                   First Class Mail
Chartered Organization         VFW Post 8681                                            Greater Tampa Bay Area 089             18940 Brayton St                                              Spring Hill, FL 34610                                             First Class Mail
Chartered Organization         VFW Post 8686                                            Lake Erie Council 440                  577 Harris Rd                                                 Sheffield Lake, OH 44054‐1409                                     First Class Mail
Chartered Organization         VFW Post 8720                                            Istrouma Area Council 211              21470 Mire Dr                                                 Abita Springs, LA 70420‐3118                                      First Class Mail
Chartered Organization         VFW Post 8734                                            Allegheny Highlands Council 382        5460 Route 353                                                Little Valley, NY 14755                                           First Class Mail
Chartered Organization         VFW Post 878 Of Blooming Prairie                         Gamehaven 299                          P.O. Box 211                                                  Blooming Prairie, MN 55917‐0211                                   First Class Mail
Chartered Organization         VFW Post 8787                                            Capitol Area Council 564               500 V F W Rd                                                  Austin, TX 78753‐1904                                             First Class Mail
Chartered Organization         VFW Post 8787                                            Capitol Area Council 564               8503 N Interstate 35                                          Austin, TX 78753‐5722                                             First Class Mail
Chartered Organization         VFW Post 8793                                            Twin Rivers Council 364                P.O. Box 147                                                  Ellenburg Depot, NY 12935‐0147                                    First Class Mail
Chartered Organization         VFW Post 8800                                            Alamo Area Council 583                 7755 Lorine Dr                                                Canyon Lake, TX 78133                                             First Class Mail
Chartered Organization         VFW Post 888                                             California Inland Empire Council 045   P.O. Box 238                                                  Perris, CA 92572‐0238                                             First Class Mail
Chartered Organization         VFW Post 8890                                            Illowa Council 133                     1810 1st St                                                   East Moline, IL 61244‐2410                                        First Class Mail
Chartered Organization         VFW Post 8900                                            Sequoia Council 027                    3585 N Blythe Ave                                             Fresno, CA 93722‐6304                                             First Class Mail
Chartered Organization         VFW Post 891 / Sgt Daniel Frank Hyatt Sr                 Daniel Boone Council 414               P.O. Box 17754                                                Asheville, NC 28816‐7754                                          First Class Mail
Chartered Organization         VFW Post 8971                                            Evangeline Area 212                    P.O. Box 492                                                  Eunice, LA 70535‐0492                                             First Class Mail
Chartered Organization         VFW Post 91                                              Pacific Harbors Council, Bsa 612       2000 S Union Ave                                              Tacoma, WA 98405‐1024                                             First Class Mail
Chartered Organization         VFW Post 9111                                            Monmouth Council, Bsa 347              11 Henderson Rd                                               Kendall Park, NJ 08824‐1502                                       First Class Mail
Chartered Organization         VFW Post 912                                             Sam Houston Area Council 576           8204 N Main St                                                Baytown, TX 77521‐9506                                            First Class Mail
Chartered Organization         VFW Post 9122                                            Andrew Jackson Council 303             2472 Simpson Hwy 49                                           Mendenhall, MS 39114‐6182                                         First Class Mail
Chartered Organization         VFW Post 9133                                            East Carolina Council 426              1450 Piney Green Rd                                           Jacksonville, NC 28546‐4562                                       First Class Mail
Chartered Organization         VFW Post 9143                                            Northeast Georgia Council 101          1045 Dahlonega Hwy                                            Cumming, GA 30040‐4523                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                          Page 422 of 442
                                                                                   Case 20-10343-LSS                                                Doc 8171                                                Filed 01/06/22                                                   Page 438 of 457
                                                                                                                                                                                               Exhibit B
                                                                                                                                                                                               Service List
                                                                                                                                                                                        Served as set forth below

        Description                                                          Name                                                                                                             Address                                                                                                           Email              Method of Service
Chartered Organization         VFW Post 9167                                                Circle Ten Council 571                             P.O. Box 601                                                        Princeton, TX 75407‐0601                                                                             First Class Mail
Chartered Organization         VFW Post 9168                                                Longhorn Council 662                               997 E State Hwy 121                                                 Lewisville, TX 75057‐4402                                                                            First Class Mail
Chartered Organization         VFW Post 9222 Berkley                                        Great Lakes Fsc 272                                3025 Coolidge Hwy                                                   Berkley, MI 48072‐1647                                                                               First Class Mail
Chartered Organization         VFW Post 9299                                                Longhorn Council 662                               P.O. Box 422                                                        Alvarado, TX 76009‐0422                                                                              First Class Mail
Chartered Organization         VFW Post 9334                                                Transatlantic Council, Bsa 802                     Vilseck                                                             Cmr 411 Box 42                    APO, AE 09112                                                      First Class Mail
Chartered Organization         VFW Post 9362                                                Glaciers Edge Council 620                          P.O. Box 2                                                          Sun Prairie, WI 53590‐0002                                                                           First Class Mail
Chartered Organization         VFW Post 9363                                                Great Lakes Fsc 272                                25570 Telegraph Rd                                                  Flat Rock, MI 48134‐1012                                                                             First Class Mail
Chartered Organization         VFW Post 9375                                                Southern Sierra Council 030                        21016 Neuralia Rd                                                   California City, CA 93505‐1905                                                                       First Class Mail
Chartered Organization         VFW Post 9399                                                Grand Canyon Council 010                           133 N Saguaro Dr                                                    Apache Junction, AZ 85120‐3749                                                                       First Class Mail
Chartered Organization         VFW Post 9430 11329                                          Chief Seattle Council 609                          7421 S 126th St                                                     Seattle, WA 98178‐4363                                                                               First Class Mail
Chartered Organization         VFW Post 9439                                                Greater Wyoming Council 638                        1800 Bryan Stock Trl                                                Casper, WY 82601‐6819                                                                                First Class Mail
Chartered Organization         VFW Post 9455                                                Water and Woods Council 782                        519 S Chipman St                                                    Owosso, MI 48867‐3368                                                                                First Class Mail
Chartered Organization         VFW Post 9474 Streets‐Pike                                   Mt Baker Council, Bsa 606                          2254 Hawthorne St                                                   Ferndale, WA 98248‐9247                                                                              First Class Mail
Chartered Organization         VFW Post 9482 Copiague                                       Suffolk County Council Inc 404                     270 Trouville Rd                                                    Copiague, NY 11726‐3016                                                                              First Class Mail
Chartered Organization         VFW Post 9503                                                Jersey Shore Council 341                           383 Veterans Blvd                                                   Bayville, NJ 08721‐3325                                                                              First Class Mail
Chartered Organization         VFW Post 9509                                                Coastal Carolina Council 550                       1142 S Live Oak Dr                                                  Moncks Corner, SC 29461‐7206                                                                         First Class Mail
Chartered Organization         VFW Post 9539                                                Palmetto Council 549                               325 Carolina Dr Ext                                                 Spartanburg, SC 29376                                                                                First Class Mail
Chartered Organization         VFW Post 9555 Yokota                                         Far E Council 803                                  Yokota Air Base                                                     APO, AP 96328                                                                                        First Class Mail
Chartered Organization         VFW Post 9571                                                Great Trail 433                                    11397 Ellsworth Rd                                                  Ellsworth, OH 44416                                                                                  First Class Mail
Chartered Organization         VFW Post 9607                                                Twin Valley Council Bsa 283                        1413 2nd Ave                                                        Mountain Lake, MN 56159‐1423                                                                         First Class Mail
Chartered Organization         VFW Post 9644                                                Denver Area Council 061                            2680 W Hampden Ave                                                  Englewood, CO 80110‐1906                                                                             First Class Mail
Chartered Organization         VFW Post 9644 Mens Auxillary                                 Denver Area Council 061                            2680 W Hampden Ave                                                  Englewood, CO 80110‐1906                                                                             First Class Mail
Chartered Organization         VFW Post 9650                                                Golden Empire Council 047                          West Center St                                                      Anderson, CA 96007                                                                                   First Class Mail
Chartered Organization         VFW Post 9713                                                Twin Valley Council Bsa 283                        1900 N Riverfront Dr                                                Mankato, MN 56001‐3128                                                                               First Class Mail
Chartered Organization         VFW Post 9723 Okinawajapan                                   Far E Council 803                                  Psc 556 Box 776                                                     Apo, AP 96386‐0008                                                                                   First Class Mail
Chartered Organization         VFW Post 9723 Okinawajapan                                   Far E Council 803                                  Okinawa/Lcpl. Frank C. Allen Memorial Post 9723                     Fpo, AP 96372                                                                                        First Class Mail
Chartered Organization         VFW Post 976                                                 Greater St Louis Area Council 312                  123 W Market St A                                                   Troy, IL 62294‐1418                                                                                  First Class Mail
Chartered Organization         VFW Post 9760                                                Shenandoah Area Council 598                        P.O. Box 331                                                        Berryville, VA 22611‐0331                                                                            First Class Mail
Chartered Organization         VFW Post 9871                                                Lake Erie Council 440                              6805 Lear Nagle Rd                                                  North Ridgeville, OH 44039‐3235                                                                      First Class Mail
Chartered Organization         VFW Post 9885                                                Great Lakes Fsc 272                                6440 N Hix Rd                                                       Westland, MI 48185‐1959                                                                              First Class Mail
Chartered Organization         VFW Post 9907                                                Grand Canyon Council 010                           381 N Central Ave                                                   Show Low, AZ 85901‐4731                                                                              First Class Mail
Chartered Organization         VFW Post 9914                                                Great Lakes Fsc 272                                3200 N Duck Lake Rd                                                 Highland, MI 48356‐2328                                                                              First Class Mail
Chartered Organization         VFW Post 9948                                                Three Harbors Council 636                          7802 Durand Ave                                                     Mt Pleasant, WI 53177‐1901                                                                           First Class Mail
Chartered Organization         VFW Post 9972                                                Catalina Council 011                               549 Veterans Dr                                                     Sierra Vista, AZ 85635‐1787                                                                          First Class Mail
Chartered Organization         VFW Post 9981                                                Great Alaska Council 610                           9191 Old Seward Hwy                                                 Anchorage, AK 99515‐2037                                                                             First Class Mail
Chartered Organization         VFW Post Horne‐Mudlitz                                       Potawatomi Area Council 651                        W232N6342 Waukesha Ave                                              Sussex, WI 53089                                                                                     First Class Mail
Chartered Organization         VFW Post Menge 6756                                          Great Lakes Fsc 272                                Cpl. Richard W Menge Vfw Post 6756                                  Center Line, MI 48015                                                                                First Class Mail
Chartered Organization         VFW Romulus                                                  Great Lakes Fsc 272                                18995 Hannan Rd                                                     New Boston, MI 48164                                                                                 First Class Mail
Chartered Organization         VFW Rushmore Post 1273                                       Black Hills Area Council 695 695                   420 Main St                                                         Rapid City, SD 57701‐2732                                                                            First Class Mail
Chartered Organization         VFW Samuel Cimino Post                                       Allegheny Highlands Council 382                    13 N Main St                                                        Silver Creek, NY 14136‐1050                                                                          First Class Mail
Chartered Organization         VFW Sgt John W Cooke Post 395                                Suffolk County Council Inc 404                     P.O. Box 126                                                        St James, NY 11780‐0126                                                                              First Class Mail
Chartered Organization         VFW Stone City Post 2199                                     Rainbow Council 702                                124 Stone City Dr                                                   Joliet, IL 60436‐9561                                                                                First Class Mail
Chartered Organization         VFW Thomas J Kavanaugh Post 2290                             Patriots Path Council 358                          600 Washington Ave                                                  Manville, NJ 08835‐1857                                                                              First Class Mail
Chartered Organization         VFW Victory Post 414                                         Suffolk County Council Inc 404                     437 Main St                                                         Center Moriches, NY 11934‐3512                                                                       First Class Mail
Chartered Organization         VFW Wade Burns Post 7279                                     Suffolk County Council Inc 404                     560 N Delaware Ave                                                  Lindenhurst, NY 11757‐3411                                                                           First Class Mail
Chartered Organization         VFW Wilde Post 3728                                          Sioux Council 733                                  P.O. Box 525                                                        Freeman, SD 57029‐0525                                                                               First Class Mail
Chartered Organization         VFW William B Doughty Post 5723                              Pine Tree Council 218                              3 Cook St                                                           Jackman, ME 04945‐3012                                                                               First Class Mail
Chartered Organization         VFW Winter Springs Post 5405                                 Central Florida Council 083                        420 N Edgemon Ave                                                   Winter Springs, FL 32708‐2539                                                                        First Class Mail
Chartered Organization         VFW, Post 1351                                               Mt Diablo‐Silverado Council 023                    930 Ward St                                                         Martinez, CA 94553‐1708                                                                              First Class Mail
Chartered Organization         VFW, Post 7743                                               Coronado Area Council 192                          427 W New Hampshire St                                              Osborne Memorial                  Osborne, KS 67473                                                  First Class Mail
Chartered Organization         VFW, Vicenza It                                              Transatlantic Council, Bsa 802                     Cmr 427 Box 641                                                     APO, AE 09630                                                                                        First Class Mail
Chartered Organization         VFW, Walsh Post No 4499                                      President Gerald R Ford 781                        1211 28th St                                                        Manistee, MI 49660‐2413                                                                              First Class Mail
Chartered Organization         VFW5520 Faith Utd Methodist Pack 147                         Prairielands 117                                   1719 S Prospect Ave                                                 Champaign, IL 61820‐7041                                                                             First Class Mail
Chartered Organization         Vickers Elementary                                           South Texas Council 577                            708 Glascow St                                                      Victoria, TX 77904‐2818                                                                              First Class Mail
Chartered Organization         Vickery Creek Elementary Pta                                 Northeast Georgia Council 101                      6280 Post Rd                                                        Cumming, GA 30040‐7378                                                                               First Class Mail
Voting Party                   Vicki D. Riddle, As Admin. Council Chair, Not Individually   122 the Pointe Dr                                  Ringgold, GA 30736                                                                                                                      vicki.riddle@yahoo.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Vickies Hidden Treasures                                     Bay Area Council 574                               11 S Algeria St                                                     Texas City, TX 77591‐3832                                                                            First Class Mail
Chartered Organization         Vicksburg Cncl 898, Knights Of Columbus                      Andrew Jackson Council 303                         P.O. Box 802425                                                     Vicksburg, MS 39182‐0425                                                                             First Class Mail
Chartered Organization         Vicksburg Cncl 898, Knights Of Columbus                      Andrew Jackson Council 303                         P.O. Box 820425                                                     Vicksburg, MS 39182‐0425                                                                             First Class Mail
Voting Party                   Vicksburg United Methodist Church                            Attn: Marshall Linebaugh                           217 S Main St                                                       Vicksburg, MI 49097                                                 reception@vicksburgumc.org       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Vicksburg Utd Methodist Church                               Southern Shores Fsc 783                            7794 Ts Ave E                                                       Scotts, MI 49088‐9748                                                                                First Class Mail
Chartered Organization         Victaulic Co Of America                                      Minsi Trails Council 502                           4901 Kesslersville Rd                                               Easton, PA 18040‐6714                                                                                First Class Mail
Chartered Organization         Victor Candlin American Legion Post 18                       Longs Peak Council 062                             P.O. Box 337180                                                     Greeley, CO 80633‐0620                                                                               First Class Mail
Chartered Organization         Victor L Bracone VFW Post 5913                               Hudson Valley Council 374                          8 School St                                                         Wappingers Falls, NY 12590‐1918                                                                      First Class Mail
Chartered Organization         Victor Lions Club                                            Hawkeye Area Council 172                           623 Williams St                                                     Victor, IA 52347‐9797                                                                                First Class Mail
Chartered Organization         Victor Lions Club                                            Seneca Waterways 397                               P.O. Box 85                                                         Victor, NY 14564‐0085                                                                                First Class Mail
Chartered Organization         Victor Transmission                                          W L A C C 051                                      1246 San Fernando Rd                                                San Fernando, CA 91340‐3212                                                                          First Class Mail
Chartered Organization         Victor Valley Parent Assoc                                   California Inland Empire Council 045               P.O. Box 2127                                                       Victorville, CA 92393‐2127                                                                           First Class Mail
Chartered Organization         Victor Valley Womens Club                                    California Inland Empire Council 045               P.O. Box 2469                                                       Victorville, CA 92393‐2469                                                                           First Class Mail
Chartered Organization         Victoria Christian Church                                    Heart of Virginia Council 602                      2100 Lee Ave                                                        Victoria, VA 23974                                                                                   First Class Mail
Voting Party                   Victoria E Navaro                                            Address Redacted                                                                                                                                                                                                            First Class Mail
Chartered Organization         Victoria Hills Community Church                              Blue Ridge Council 551                             209 Victor Ave                                                      Greer, SC 29651                                                                                      First Class Mail
Chartered Organization         Victoria Lions Club                                          Northern Star Council 250                          P.O. Box 315                                                        Victoria, MN 55386‐0315                                                                              First Class Mail
Chartered Organization         Victoria Police Dept                                         South Texas Council 577                            306 S Bridge St                                                     Victoria, TX 77901‐8004                                                                              First Class Mail
Chartered Organization         Victoria Presbyterian Church                                 California Inland Empire Council 045               6091 Victoria Ave                                                   Riverside, CA 92506‐4541                                                                             First Class Mail
Chartered Organization         Victoria Rotary Club                                         South Texas Council 577                            P.O. Box 7114                                                       Victoria, TX 77903‐7114                                                                              First Class Mail
Chartered Organization         Victory Baptist Church Of Myrtle Beach                       Pee Dee Area Council 552                           950 38th Ave N                                                      Myrtle Beach, SC 29577‐2830                                                                          First Class Mail
Chartered Organization         Victory Bible Church Of Hammonton                            Jersey Shore Council 341                           P.O. Box 833                                                        Hammonton, NJ 08037‐0833                                                                             First Class Mail
Chartered Organization         Victory Congregational Methodist Church                      Andrew Jackson Council 303                         125 Hwy 469 N                                                       Florence, MS 39073                                                                                   First Class Mail
Chartered Organization         Victory Elementary School                                    National Capital Area Council 082                  12001 Tygart Lake Dr                                                Bristow, VA 20136‐6120                                                                               First Class Mail
Voting Party                   Victory Memorial Umc                                         Attn: Rev David Desmond Player                     523 N Roosevelt                                                     Guymon, OK 73942                                                    vmpastor@victorymemorial.org     Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Victory Memorial Utd Methodist Church                        Golden Spread Council 562                          P.O. Box 881                                                        Guymon, OK 73942‐0881                                                                                First Class Mail
Chartered Organization         Victory Pointe Boys And Girls Club                           North Florida Council 087                          6750 Ramona Blvd                                                    Jacksonville, FL 32205‐0702                                                                          First Class Mail
Chartered Organization         Victory Villa Baptist Church                                 Baltimore Area Council 220                         75 Chandelle Rd                                                     Middle River, MD 21220‐3541                                                                          First Class Mail
Chartered Organization         Victory World Christian School                               Northeast Georgia Council 101                      5905 Brook Hollow Pkwy                                              Norcross, GA 30071‐3533                                                                              First Class Mail
Chartered Organization         Vidalia Kiwanis Club                                         Coastal Georgia Council 099                        P.O. Box 1183                                                       Vidalia, GA 30475‐1183                                                                               First Class Mail
Voting Party                   Vidalia United Methodist Church                              Attn: Stuart Sherman                               411 Georgia St                                                      Vidalia, LA 71373                                                   preacherdude318@yahoo.com        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Vidalia United Methodist Church                              P O Box 296                                        Vidalia, LA 71373                                                                                                                       preacherdude318@yahoo.com        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Vidor Law Enforcement Explorers                              Three Rivers Council 578                           695 E Railroad St                                                   Vidor, TX 77662‐5805                                                                                 First Class Mail
Chartered Organization         Vieau School ‐ Clc                                           Three Harbors Council 636                          823 S 4th St                                                        Milwaukee, WI 53204‐1724                                                                             First Class Mail
Chartered Organization         Viejas Fire Dept                                             San Diego Imperial Council 049                     19860 Viejas Grade Rd                                               Alpine, CA 91901‐1681                                                                                First Class Mail
Chartered Organization         Vienna Baptist Church                                        Buckskin 617                                       3400 Grand Central Ave                                              Vienna, WV 26105‐1650                                                                                First Class Mail
Chartered Organization         Vienna First Baptist Church                                  Greater St Louis Area Council 312                  P.O. Box 727                                                        Vienna, IL 62995‐0727                                                                                First Class Mail
Chartered Organization         Vienna Presbyterian Church                                   National Capital Area Council 082                  124 Park St Ne                                                      Vienna, VA 22180‐4601                                                                                First Class Mail
Chartered Organization         Vienna United Methodist Church                               Leatherstocking 400                                P.O. Box 64                                                         North Bay, NY 13123‐0064                                                                             First Class Mail
Chartered Organization         Vienna United Methodist Church                               Minsi Trails Council 502                           P.O. Box 34                                                         Vienna, NJ 07880‐0034                                                                                First Class Mail
Chartered Organization         Viers Mill Baptist Church                                    National Capital Area Council 082                  12221 Veirs Mill Rd                                                 Silver Spring, MD 20906‐4564                                                                         First Class Mail
Chartered Organization         Viet                                                         Southeast Louisiana Council 214                    13435 Granville St                                                  New Orleans, LA 70129‐1210                                                                           First Class Mail
Chartered Organization         Vietnam Committee On Scouting                                Golden Empire Council 047                          P.O. Box 163                                                        Fair Oaks, CA 95628‐0163                                                                             First Class Mail
Chartered Organization         Vietnam Veterans Assoc Chapter 794                           Greater St Louis Area Council 312                  P.O. Box 2700                                                       Florissant, MO 63032‐2700                                                                            First Class Mail
Chartered Organization         Vietnam Veterans Assoc/Chp 786                               Black Warrior Council 006                          P.O. Box 1032                                                       Winfield, AL 35594‐1032                                                                              First Class Mail
Chartered Organization         Vietnam Veterans Chapter 794                                 Greater St Louis Area Council 312                  P.O. Box 2700                                                       Florissant, MO 63032‐2700                                                                            First Class Mail
Chartered Organization         Vietnam Veterans Of America ‐ Chap 351                       Bay‐Lakes Council 635                              P.O. Box 1862                                                       Appleton, WI 54912‐1862                                                                              First Class Mail
Chartered Organization         Vietnam Veterans Of America ‐ Chap 351                       Bay‐Lakes Council 635                              N2241 Mayflower Rd                                                  Appleton, WI 54913                                                                                   First Class Mail
Chartered Organization         Vietnam Veterans Of America Chapter 292                      Three Rivers Council 578                           P.O. Box 1071                                                       Beaumont, TX 77704‐1071                                                                              First Class Mail
Chartered Organization         Vietnam Veterens Of America Ch925                            Pee Dee Area Council 552                           P.O. Box 16142                                                      Surfside Beach, SC 29587‐6142                                                                        First Class Mail
Chartered Organization         View 1St Ward ‐ Oakley Stake                                 Snake River Council 111                            551 E 400 S                                                         Burley, ID 83318‐5627                                                                                First Class Mail
Chartered Organization         View 2Nd Ward ‐ Oakley Stake                                 Snake River Council 111                            550 S 490 E                                                         Burley, ID 83318                                                                                     First Class Mail
Chartered Organization         View Acres Pto                                               Cascade Pacific Council 492                        4828 SE View Acres Rd                                               Portland, OR 97267‐3019                                                                              First Class Mail
Chartered Organization         Vigilant Fire Co                                             Greater Niagara Frontier Council 380               666 Main St                                                         West Seneca, NY 14224‐3032                                                                           First Class Mail
Chartered Organization         Vigilant Hose Co 1                                           Laurel Highlands Council 527                       1800 Romine Ave                                                     Mckeesport, PA 15133‐3347                                                                            First Class Mail
Chartered Organization         Vigilant Hose Co Of Port Vue                                 Laurel Highlands Council 527                       1800 Romine Ave                                                     Mckeesport, PA 15133‐3347                                                                            First Class Mail
Voting Party                   Vigna Information System LLC                                 5105 Mystic Hollow Ct                              Flower Mound, TX 75028‐5605                                                                                                                                              First Class Mail
Chartered Organization         Vigo County Conservation Club, Inc                           Crossroads of America 160                          10382 Grotto Rd                                                     Terre Haute, IN 47805‐9785                                                                           First Class Mail
Chartered Organization         Viking Bow & Gun Club, Inc                                   Bay‐Lakes Council 635                              P.O. Box 346                                                        Valders, WI 54245‐0346                                                                               First Class Mail
Chartered Organization         Villa Madonna Academy                                        Dan Beard Council, Bsa 438                         2500 Amsterdam Rd                                                   Villa Hills, KY 41017‐5316                                                                           First Class Mail
Chartered Organization         Villa Maria Academy                                          Greater New York Councils, Bsa 640                 3335 Country Club Rd                                                Bronx, NY 10465‐1252                                                                                 First Class Mail
Chartered Organization         Villa Maria Academy, Inc                                     Greater New York Councils, Bsa 640                 3335 Country Club Rd                                                Bronx, NY 10465‐1252                                                                                 First Class Mail
Chartered Organization         Villa Of Hope                                                Seneca Waterways 397                               3300 Dewey Ave                                                      Rochester, NY 14616‐3741                                                                             First Class Mail
Chartered Organization         Villa Park Police Dept                                       Three Fires Council 127                            40 S Ardmore Ave                                                    Villa Park, IL 60181‐2610                                                                            First Class Mail
Voting Party                   Villa Rica First United Methodist Church, Ga                 c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Villa Rica First Utd Methodist Church                        Atlanta Area Council 092                           1789 Carrollton Villa Rica Hwy                                      Villa Rica, GA 30180‐4902                                                                            First Class Mail
Chartered Organization         Villa Rica Lions Club                                        Atlanta Area Council 092                           56 Blackstock Rd                                                    Villa Rica, GA 30180‐4719                                                                            First Class Mail
Chartered Organization         Villa Rica Police Dept                                       Atlanta Area Council 092                           101 Main St                                                         Villa Rica, GA 30180‐2007                                                                            First Class Mail
Chartered Organization         Villa Rica Ward                                              Atlanta Area Council 092                           205 Ensign Dr                                                       Dallas, GA 30157‐1784                                                                                First Class Mail
Chartered Organization         Village Antioch Presbyterian Church                          Heart of America Council 307                       14895 Antioch Rd                                                    Overland Park, KS 66221‐9605                                                                         First Class Mail
Chartered Organization         Village Christian School                                     Verdugo Hills Council 058                          8930 Village Ave                                                    Sun Valley, CA 91352‐2129                                                                            First Class Mail
Chartered Organization         Village Church Of La Grange Park Ucc                         Pathway To Adventure 456                           1150 Meadowcrest Rd                                                 La Grange Park, IL 60526‐1027                                                                        First Class Mail
Chartered Organization         Village Elementary School Pto                                Jayhawk Area Council 197                           2302 W 15th Ave                                                     Emporia, KS 66801‐6004                                                                               First Class Mail
Chartered Organization         Village Heights Commty                                       Of Christ Church                                   1009 N Farview Dr                                                   Independence, MO 64056‐1048                                                                          First Class Mail
Voting Party                   Village Lutheran Church And The Chapel School                Attn: Rev Dr Robert Hartwell, Pastor and Trustee   172 White Plains Rd                                                 Bronxville, NY 10708                                                VLCMAIL@VLC‐NY.ORG               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Village Meadows Baptist Church                               Catalina Council 011                               1407 El Camino Real                                                 Sierra Vista, AZ 85635‐4286                                                                          First Class Mail
Chartered Organization         Village Oaks Common Area Assoc                               Great Lakes Fsc 272                                22859 Brookforest                                                   Novi, MI 48375‐4426                                                                                  First Class Mail
Chartered Organization         Village Of Athens                                            Rip Van Winkle Council 405                         2 1st St                                                            Athens, NY 12015‐1340                                                                                First Class Mail
Chartered Organization         Village Of Camillus                                          Longhouse Council 373                              37 Main St                                                          Camillus, NY 13031‐1127                                                                              First Class Mail
Voting Party                   Village Of Cimarron                                          P O Box 654                                        Cimarron, NM 87714‐0654                                                                                                                                                  First Class Mail
Chartered Organization         Village Of Depew Fire Dept                                   Greater Niagara Frontier Council 380               85 Manitou St                                                       Depew, NY 14043‐3756                                                                                 First Class Mail
Chartered Organization         Village Of Grafton ‐ Fire Dept                               Bay‐Lakes Council 635                              1431 13th Ave                                                       Grafton, WI 53024‐1939                                                                               First Class Mail
Chartered Organization         Village Of Lake Zurich Police Dept                           c/o Lz Police Dept                                 200 Mohawk Trl                                                      Lake Zurich, IL 60047‐2449                                                                           First Class Mail
Chartered Organization         Village Of Mamaroneck Fire Dept                              Westchester Putnam 388                             123 Mamaroneck Ave                                                  Mamaroneck, NY 10543‐3760                                                                            First Class Mail
Chartered Organization         Village Of Mukwonago Police Dept                             Potawatomi Area Council 651                        627 S Rochester St                                                  Mukwonago, WI 53149‐1619                                                                             First Class Mail
Chartered Organization         Village Of Oxford Fire Dept                                  Baden‐Powell Council 368                           P.O. Box 570                                                        Oxford, NY 13830‐0570                                                                                First Class Mail
Chartered Organization         Village Of Quogue Fire Dept                                  Suffolk County Council Inc 404                     117 Jessup Ave                                                      Quogue, NY 11959‐4244                                                                                First Class Mail
Chartered Organization         Village Of Scarsdale Fire Dept                               Westchester Putnam 388                             50 Tompkins Rd                                                      Scarsdale, NY 10583‐2841                                                                             First Class Mail
Chartered Organization         Village Of Searights                                         Westmoreland Fayette 512                           302 Village of Searights                                            Uniontown, PA 15401‐9018                                                                             First Class Mail
Chartered Organization         Village Of South Salem Town Council                          Simon Kenton Council 441                           P.O. Box 29                                                         South Salem, OH 45681‐0029                                                                           First Class Mail
Chartered Organization         Village Of Walbridge                                         Erie Shores Council 460                            704 N Main St                                                       Walbridge, OH 43465‐1040                                                                             First Class Mail
Chartered Organization         Village Of Willowbrook                                       Pathway To Adventure 456                           7760 S Quincy St                                                    Willowbrook, IL 60527‐5532                                                                           First Class Mail
Chartered Organization         Village Prep Willard                                         Lake Erie Council 440                              2220 W 95th St                                                      Cleveland, OH 44102‐3762                                                                             First Class Mail
Chartered Organization         Village Presbyterian Church                                  Northeast Illinois 129                             1300 Shermer Rd                                                     Northbrook, IL 60062‐4577                                                                            First Class Mail
Chartered Organization         Village Presbyterian Church                                  Heart of America Council 307                       6641 Mission Rd                                                     Prairie Village, KS 66208‐1702                                                                       First Class Mail
Chartered Organization         Village School Psa                                           Monmouth Council, Bsa 347                          67 Mccampbell Rd                                                    Holmdel, NJ 07733‐2231                                                                               First Class Mail
Chartered Organization         Village Tech School                                          Circle Ten Council 571                             1010 E Parkerville Rd                                               Cedar Hill, TX 75104‐7100                                                                            First Class Mail
Voting Party                   Village United Methodist Church                              Attn: Chris Hemund                                 200 Carmona Rd                                                      Hot Springs Village, AR 71909                                       lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Village United Methodist Church ‐ N Lauderdale               c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Villages Of Kapolei Assoc                                    Aloha Council, Bsa 104                             91‐1111 Kamaaha Loop                                                Kapolei, HI 96707                                                                                    First Class Mail
Chartered Organization         Villages Of The Mills Northeast Hoa                          Crossroads of America 160                          3615 Sherman Forest Dr                                              Indianapolis, IN 46205‐3356                                                                          First Class Mail
Chartered Organization         Villas Elementary                                            Southwest Florida Council 088                      8385 Beacon Blvd                                                    Fort Myers, FL 33907‐3002                                                                            First Class Mail
Voting Party                   Villisca Umc                                                 Attn: Treasurer                                    203 S 3Rd                                                           Villisca, IA 50864                                                  jessica.jacobsen@iaumc.net       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Vilonia United Methodist Church                              Attn: Donna Lewis                                  P.O. Box 460                                                        Vilonia, AR 72173                                                   umcvilonia@gmail.com             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Vilonia United Methodist Church                              c/o Friday, Eldredge & Clark LLP                   Attn: Lindsey Emerson Raines                                        400 W Capitol Ave, Ste 2000       Little Rock, AR 72201             lraines@fridayfirm.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Vilonia Utd Methodist Church                                 Quapaw Area Council 018                            1112 Main St                                                        Vilonia, AR 72173‐8072                                                                               First Class Mail
Firm                           Vinas & Deluca, PlIc                                         Francisco J. Vinas                                 9200 S. Dadeland Blvd. Ste 400                                      Miami, FL 33156                                                     FJV@VDLegal.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Vincennes University                                         Buffalo Trace 156                                  1002 N 1st St                                                       Vincennes, IN 47591‐1504                                                                             First Class Mail
Voting Party                   Vincent United Methodist ‐ Nutley                            c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Vincent United Methodist Church                              1024 2nd St Se                                     Minot, ND 58701                                                                                                                         office@vincentumc.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Vincent Utd Methodist Church                                 Northern New Jersey Council, Bsa 333               100 Vincent Pl                                                      Nutley, NJ 07110‐2717                                                                                First Class Mail
Voting Party                   Vincentown Umc                                               c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                  100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Vincentown Utd Methodist Church                              Garden State Council 690                           97 Main St                                                          Southampton, NJ 08088‐8869                                                                           First Class Mail
Chartered Organization         Vine And Branches Lutheran Church                            National Capital Area Council 082                  25615 Lennox Hale Dr                                                Aldie, VA 20105‐3249                                                                                 First Class Mail
Chartered Organization         Vine Congregational Church                                   Cornhusker Council 324                             1800 Twin Ridge Rd                                                  Lincoln, NE 68506‐2355                                                                               First Class Mail
Voting Party                   Vine Congregational United Church Of Christ, Inc             Attn: John C Hahn                                  1800 Twin Ridge Rd                                                  Lincoln, NE 68506‐2355                                              joan.humphrey27@gmail.com        Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Vine Grove Utd Methodist Church                              Lincoln Heritage Council 205                       306 High St                                                         Vine Grove, KY 40175‐1112                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                Page 423 of 442
                                                                                 Case 20-10343-LSS                                         Doc 8171                                            Filed 01/06/22                                                  Page 439 of 457
                                                                                                                                                                                  Exhibit B
                                                                                                                                                                                   Service List
                                                                                                                                                                            Served as set forth below

        Description                                                       Name                                                                                                  Address                                                                                                             Email                    Method of Service
Voting Party                   Vine United Methodist Church                                Attn: Jeffrey Cox                         2501 Gallows Rd                                                  Dunn Loring, VA 22027                                              jec7576@gmail.com                        Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Vineland United Methodist Church                            Attn: Richard G Calhoun                   1587 36th Ln                                                     Pueblo, CO 81006                                                   vinelandchurch@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Vineville United Methodist Church                           Attn: Church Administrator                2045 Vineville Ave                                               Macon, GA 31204                                                    ahestley@vinevillemethodist.org          Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Vineyard Church                                             Tecumseh 439                              4051 Indian Ripple Rd                                            Beavercreek, OH 45440‐3232                                                                                  First Class Mail
Chartered Organization         Vineyard Church Of Salinas                                  Silicon Valley Monterey Bay 055           1122 E Alisal St                                                 Salinas, CA 93905‐2716                                                                                      First Class Mail
Chartered Organization         Vineyard Ward                                               Greater Yosemite Council 059              1510 W Century Blvd                                              Lodi, CA 95242‐4551                                                                                         First Class Mail
Voting Party                   Vinita First United Methodist Church                        Attn: Joyce Nowlin                        314 W Canadian Ave                                               Vinita, OK 74301                                                   1fumcv@sbcglobal.net                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Vinita Masonic Lodge 5                                      Cherokee Area Council 469 469             237 N Foreman St                                                 Vinita, OK 74301‐2919                                                                                       First Class Mail
Chartered Organization         Vinnell Arabia LLC                                          Transatlantic Council, Bsa 802            P.O. Box 5396                                                    Riyadh,                                                                                                     First Class Mail
Voting Party                   Vinson & Elkins LLP                                         P O Box 301019                            Dallas, TX 75303‐1019                                                                                                                                                        First Class Mail
Chartered Organization         Vinton Lions Club                                           Hawkeye Area Council 172                  205 W 4th St                                                     Vinton, IA 52349‐1123                                                                                       First Class Mail
Chartered Organization         Vinton Noon Kiwanis Club                                    Hawkeye Area Council 172                  509 W 12th St                                                    Vinton, IA 52349‐1411                                                                                       First Class Mail
Chartered Organization         Viola Blythe Community Service Ctr                          San Francisco Bay Area Council 028        P.O. Box 362                                                     Newark, CA 94560‐0362                                                                                       First Class Mail
Chartered Organization         Viola Rod And Gun Club, Inc                                 Hudson Valley Council 374                 26 Forest Dr                                                     Hyde Park, NY 12538                                                                                         First Class Mail
Chartered Organization         Violet Township Fire Dept                                   Simon Kenton Council 441                  8700 Refugee Rd                                                  Pickerington, OH 43147‐9572                                                                                 First Class Mail
Chartered Organization         Virgil I Grissom Elementary                                 Sam Houston Area Council 576              4900 Simsbrook Dr                                                Houston, TX 77045‐5321                                                                                      First Class Mail
Chartered Organization         Virgin Island Police Dept                                   National Capital Area Council 082         P.O. Box 503241                                                  St Thomas, VI 00805‐3241                                                                                    First Class Mail
Chartered Organization         Virgin Mary & St Pachomius                                  Coptic Orthodox Ch                        3 Swim Club Rd                                                   Stony Point, NY 10980‐3510                                                                                  First Class Mail
Voting Party                   Virginia Avenue United Methodist Church                     Attn: Pastor                              1127 Virginia Ave                                                Bristol, TN 37620                                                  vaaveumc@btes.tv                         Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Virginia Beach Moose Family Ctr 1198                        Tidewater Council 596                     3133 Shipps Corner Rd                                            Virginia Beach, VA 23453‐2925                                                                               First Class Mail
Voting Party                   Virginia Beach Umc                                          c/o Bradley Arant Boult Cummings, LLP     Attn: Edwin G Rice                                               100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com                        Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Virginia Beach Utd Methodist Church                         Tidewater Council 596                     212 19th St                                                      Virginia Beach, VA 23451‐3302                                                                               First Class Mail
Voting Party                   Virginia C Bossley/North Branch United Methodist Church24   Attn: Virginia C Bossley                  24 Highview Ave                                                  Liberty, NY 12754                                                  northernmanatee@msn.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Virginia Edwards Cummunity Ctr                              Southern Shores Fsc 783                   925 Buss Ave                                                     Benton Harbor, MI 49022‐7201                                                                                First Class Mail
Chartered Organization         Virginia Fire Dept                                          Voyageurs Area 286                        115 N 4th Ave                                                    Virginia, MN 55792‐2520                                                                                     First Class Mail
Voting Party                   Virginia Point United Methodist Church                      Attn: Louis Bothe                         1386 Cr, 1200                                                    Savoy, TX 75479                                                    lou@texomaeducators.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Virginia Run Homeowners Assoc                               National Capital Area Council 082         15355 Wetherburn Ct                                              Centreville, VA 20120‐3743                                                                                  First Class Mail
Chartered Organization         Virginia Tech Corps Of Cadets                               Blue Ridge Mtns Council 599               Eagle Scout Assoc                                                Lane Hall, Rm 141                Blacksburg, VA 24061                                                       First Class Mail
Voting Party                   Virginia United Methodist Church                            Michael Brandon Tolbert                   25401 Smith Grove Rd                                             N. Dinwiddie, VA 23803                                             pastormtolbert@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Virginia Utd Methodist Church                               Abraham Lincoln Council 144               401 E Broadway St                                                Virginia, IL 62691‐1212                                                                                     First Class Mail
Voting Party                   Virginia Wingard Memorial United Methodist Church           Attn: Carolyn M Jackson & Beth Faulk      1500 Broad River Rd                                              Columbia, SC 29210                                                 carolyn@virginiawingardumc.com           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Virtue Cumberland Presbyterian Church                       Great Smoky Mountain Council 557          725 Virtue Rd                                                    Knoxville, TN 37934‐5342                                                                                    First Class Mail
Chartered Organization         Visalia Breakfast Rotary                                    Sequoia Council 027                       2402 W Main St                                                   Visalia, CA 93291‐4521                                                                                      First Class Mail
Chartered Organization         Visalia Kiwanis                                             Sequoia Council 027                       P.O. Box 942                                                     Visalia, CA 93279‐0942                                                                                      First Class Mail
Chartered Organization         Visalia Police Dept                                         Sequoia Council 027                       303 S Johnson St                                                 Visalia, CA 93291‐6135                                                                                      First Class Mail
Chartered Organization         Visalia Sportsmans Assoc                                    Sequoia Council 027                       536 E Roosevelt Ave                                              Visalia, CA 93291                                                                                           First Class Mail
Voting Party                   Visalia United Methodist Church                             Attn: Bus Operations Manager              P.O. Box 7360                                                    Visalia, CA 93290                                                  visaliaumc@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Visalia Utd Methodist Church                                Sequoia Council 027                       5200 W Caldwell Ave                                              Visalia, CA 93277‐9204                                                                                      First Class Mail
Chartered Organization         Vision Communications                                       Southeast Louisiana Council 214           P.O. Box 188                                                     Larose, LA 70373‐0188                                                                                       First Class Mail
Chartered Organization         Vision Of Faith Church                                      Indian Nations Council 488                8730 S Lynn Lane Rd                                              Broken Arrow, OK 74012‐9614                                                                                 First Class Mail
Chartered Organization         Vision Of Hope Umc                                          Stonewall Jackson Council 763             1723 Port Republic Rd                                            Rockingham, VA 22801‐3535                                                                                   First Class Mail
Chartered Organization         Vision Source                                               Las Vegas Area Council 328                4840 E Bonanza Rd, Ste 6                                         Las Vegas, NV 89110‐3453                                                                                    First Class Mail
Chartered Organization         Vision Wifi                                                 Grand Teton Council 107                   977 W 100 N                                                      Blackfoot, ID 83221‐5318                                                                                    First Class Mail
Chartered Organization         Visitation Catholic Parish And School                       Pacific Harbors Council, Bsa 612          3314 S 58th St                                                   Tacoma, WA 98409‐5306                                                                                       First Class Mail
Chartered Organization         Visitation Catholic School                                  Cascade Pacific Council 492               4189 NW Visitation Rd                                            Forest Grove, OR 97116‐8068                                                                                 First Class Mail
Chartered Organization         Visitation Church                                           Greater Los Angeles Area 033              6561 W 88th St                                                   Los Angeles, CA 90045‐3772                                                                                  First Class Mail
Voting Party                   Visitation Church                                           c/o Archdiocese of Los Angeles            Attn: Margaret Graf, General Counsel                             3424 Wilshire Blvd               Los Angeles, CA 90010             legal@la‐archdiocese.org                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Visitation Of Our Lady Catholic Church                      Southeast Louisiana Council 214           3500 Ames Blvd                                                   Marrero, LA 70072‐5634                                                                                      First Class Mail
Voting Party                   Visitation Of Our Lady R C Church, Marrero, LA              Attn: Susan A Zeringue, General Counsel   7887 Walmsley Ave                                                New Orleans, LA 70125                                              szeringue@arch‐no.org                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Visitation Of Our Lady R C Church,La                        c/o Archdiocese of New Orleans            Attn: Susan Zeringue                                             7887 Walmsley Ave                New Orleans, LA 70125             szeringue@arch‐no.org                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Visitation Parish Council                                   Three Fires Council 127                   851 S York St                                                    Elmhurst, IL 60126‐4456                                                                                     First Class Mail
Chartered Organization         Visitation, Blessed Virgin Mary Parish                      Cradle of Liberty Council 525             196 N Trooper Rd                                                 Norristown, PA 19403‐2600                                                                                   First Class Mail
Chartered Organization         Vista Academy                                               Denver Area Council 061                   4800 Telluride St Bldg 6                                         Denver, CO 80249‐6803                                                                                       First Class Mail
Voting Party                   Vista De La Montana United Methodist Church (Az)            c/o Clarke Law Firm, Plc                  Attn: Marilee Miller Clarke                                      8141 E Indian Bend Rd, Ste 105   Scottsdale, AZ 85250              marilee@clarkelawaz.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Vista De La Montana Utd Methodist Ch                        Catalina Council 011                      3001 E Miravista Ln                                              Tucson, AZ 85739‐9335                                                                                       First Class Mail
Chartered Organization         Vista Del Futuro Charter School                             Yucca Council 573                         1671 Bob Hope Dr                                                 El Paso, TX 79936‐0438                                                                                      First Class Mail
Voting Party                   Vista Outdoor Sales LLC                                     dba Gold Tip                              9200 Cody St                                                     Overland Park, KS 66214‐1734                                                                                First Class Mail
Voting Party                   Vista Ridge United Methodist Church                         Attn: Bill Burden                         2901 Denton Tap Rd                                               Lewisville, TX 75067                                               bill@vrumc.org                           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Vista Volunteer Fire Dept                                   Westchester Putnam 388                    377 Smith Ridge Rd                                               South Salem, NY 10590‐2327                                                                                  First Class Mail
Chartered Organization         Vista Ysleta Utd Methodist Church                           Yucca Council 573                         11860 Rojas Dr                                                   El Paso, TX 79936‐7419                                                                                      First Class Mail
Chartered Organization         Vivian B Adams Pta                                          Alabama‐Florida Council 003               2047 Stuart Tarter Rd                                            Ozark, AL 36360‐7557                                                                                        First Class Mail
Chartered Organization         Vk Foundation                                               San Diego Imperial Council 049            7305 Calle Conifera                                              Carlsbad, CA 92009‐8695                                                                                     First Class Mail
Chartered Organization         Vly Presbyterian Ch Portola Vly                             Pacific Skyline Council 031               945 Portola Rd                                                   Portola Valley, CA 94028‐7208                                                                               First Class Mail
Chartered Organization         Vmp Foundation, Inc                                         Three Harbors Council 636                 3023 S 84th St                                                   West Allis, WI 53227‐3703                                                                                   First Class Mail
Chartered Organization         Vogt Elementary School Pto                                  Greater St Louis Area Council 312         200 Church St                                                    St Louis, MO 63135‐2413                                                                                     First Class Mail
Chartered Organization         Voice Of Vietnamese Americans                               National Capital Area Council 082         3107 Collie Ln                                                   Falls Church, VA 22044‐2613                                                                                 First Class Mail
Chartered Organization         Voigts Bus Companies                                        Central Minnesota 296                     P.O. Box 1                                                       St Cloud, MN 56302‐0001                                                                                     First Class Mail
Chartered Organization         Volga Community Fire Dept                                   Northeast Iowa Council 178                300 Lafayette St                                                 Volga, IA 52077‐7707                                                                                        First Class Mail
Chartered Organization         Volunteer Fire Dep Fayal                                    Voyageurs Area 286                        4375 Shady Ln                                                    Eveleth, MN 55734‐4032                                                                                      First Class Mail
Chartered Organization         Volunteer Medical Services Corps                            Cradle of Liberty Council 525             175 Medical Campus Dr                                            Lansdale, PA 19446‐1260                                                                                     First Class Mail
Chartered Organization         Volunteers Of Fenton Police Dept                            Water and Woods Council 782               311 S Leroy St                                                   Fenton, MI 48430‐2162                                                                                       First Class Mail
Chartered Organization         Volunters Of America                                        Nevada Area Council 329                   335 Record St                                                    Reno, NV 89512‐3327                                                                                         First Class Mail
Chartered Organization         Voluntown Fire Dept                                         Connecticut Rivers Council, Bsa 066       Rr 165                                                           Voluntown, CT 06384                                                                                         First Class Mail
Chartered Organization         Voluntown Peace Trust                                       Connecticut Rivers Council, Bsa 066       539 Beach Pond Rd                                                Voluntown, CT 06384‐1905                                                                                    First Class Mail
Chartered Organization         Voluntown Scouts, Inc                                       Connecticut Rivers Council, Bsa 066       286 Shetucket Tpke                                               Voluntown, CT 06384‐1412                                                                                    First Class Mail
Chartered Organization         Volusia County Sheriffs Office                              Central Florida Council 083               1691 Providence Blvd                                             Deltona, FL 32725‐4928                                                                                      First Class Mail
Chartered Organization         Von Oven Scout Reservation, Inc                             Three Fires Council 127                   1621 Fender Rd                                                   Naperville, IL 60565‐2758                                                                                   First Class Mail
Voting Party                   Vortex Colorado, Inc                                        File 1525                                 1801 W Olympic Blvd                                              Pasadena, CA 91199‐1525                                                                                     First Class Mail
Firm                           Voss & Johnson                                              Edgar C. Johnson, Jr                      7532 Glen Albens Circle                                          Dallas, TX 75225                                                   edgarcjohnson@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Voyageurs Area Council                                      Attn: Michael Jenkins                     3877 Stebner Rd                                                  Hermantown, MN 55811                                               michael.jenkins@scouting.org             Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Vtex Commerce Cloud Solutions                               501 E Las Olas Blvd, 3rd Fl Vtex          Ft Lauderdale, FL 33301                                                                                                                                                      First Class Mail
Chartered Organization         Vumc Laboraties                                             Middle Tennessee Council 560              1301 Medical Center Dr Tvc 4605                                  Nashville, TN 37232‐0028                                                                                    First Class Mail
Chartered Organization         W B Strong Fire Co, Inc                                     Baden‐Powell Council 368                  Union St                                                         Freeville, NY 13068                                                                                         First Class Mail
Chartered Organization         W Boylston                                                  Masonic Charityand Education Assoc Inc    P.O. Box 225                                                     West Boylston, MA 01583‐0225                                                                                First Class Mail
Chartered Organization         W Brookfield                                                Our Lady of the Sacred Heart              10 Mill Rd                                                       West Brookfield, MA 01585                                                                                   First Class Mail
Chartered Organization         W Brookfield                                                Wickaboag Sportsmans Club                 P.O. Box 462                                                     West Brookfield, MA 01585‐0462                                                                              First Class Mail
Voting Party                   W D Boyce Cncl 138                                          614 NE Madison Ave                        Peoria, IL 61603‐3886                                                                                                                                                        First Class Mail
Chartered Organization         W Dan Hauser Dds                                            Ore‐Ida Council 106 ‐ Bsa 106             4603 Skyway St, Ste 101                                          Caldwell, ID 83605‐6054                                                                                     First Class Mail
Chartered Organization         W Douglas Cnty Fire Prot Distr                              Denver Area Council 061                   4037 W Platte Ave                                                Sedalia, CO 80135                                                                                           First Class Mail
Chartered Organization         W J Turner Elementary ‐ Gfwar                               Longhorn Council 662                      3000 NW 26th St                                                  Fort Worth, TX 76106‐4901                                                                                   First Class Mail
Chartered Organization         W R Cannon United Methodist Church                          Northeast Georgia Council 101             2424 Webb Gin House Rd                                           Snellville, GA 30078‐2042                                                                                   First Class Mail
Chartered Organization         W R Cannon United Methodist Church                          Northeast Georgia Council 101             2424 Webb Gin House Rd                                           Snellville, GA 30078‐2042                                                                                   First Class Mail
Voting Party                   W R Kellegrew                                               286 Chestnut St                           Clinton, MA 01510                                                                                                                   bkellegrew@comcast.net                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         W Ralph Mcnulty VFW Post 214                                Laurel Highlands Council 527              318 52nd St                                                      Pittsburgh, PA 15201‐2501                                                                                   First Class Mail
Chartered Organization         W Smith Junior Pto                                          Southeast Louisiana Council 214           6701 E St Bernard Hwy                                            Violet, LA 70092‐3444                                                                                       First Class Mail
Chartered Organization         W T Lewis Elementary School Boosters                        Norwela Council 215                       4701 Modica Lott Rd                                              Bossier City, LA 71111‐7219                                                                                 First Class Mail
Chartered Organization         W Terrace Parent Supp Grp Special Needs                     Buffalo Trace 156                         8000 W Terrace Dr                                                Evansville, IN 47712‐3064                                                                                   First Class Mail
Voting Party                   W V Secretary Of State                                      1615 Washington St E                      Charleston, WV 25311‐2126                                                                                                                                                    First Class Mail
Chartered Organization         W W Bushman Special Education                               Circle Ten Council 571                    4200 Bonnie View Rd                                              Dallas, TX 75216‐6608                                                                                       First Class Mail
Voting Party                   W. Pa Annual Conference Of The United Methodist Church      c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200       Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   W. Tyler Chastain                                           c/o Bernstein, Stair & McAdams, LLP       116 Agnes Rd                                                     Knoxville, TN 37919                                                wtylerc@bsmlaw.com                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   W.W. Grainger Inc                                           Attn: Marcia Heck                         401 S Wright Rd, W4W R47                                         Janesville, WI 53546                                               marcia.heck@grainger.com                 Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wa Dept Of Veterans Affairs                                 Wa Soldiers Home                          1301 Orting Kapowsin Hwy E                                       Orting, WA 98360‐9550                                                                                       First Class Mail
Chartered Organization         Wabash Conservation Club, Inc                               Sagamore Council 162                      5000 W Millcreek Pike                                            Wabash, IN 46992‐9603                                                                                       First Class Mail
Chartered Organization         Wabash Elks Lodge 471                                       Sagamore Council 162                      P.O. Box 263                                                     Wabash, IN 46992‐0263                                                                                       First Class Mail
Voting Party                   Wabash First United Methodist Church                        Attn: Melvin Rennaker                     110 N Cass St, P.O. Box 605                                      Wabash, IN 46992                                                   treasurer.wabfirstumc@cinergymetro.net   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wabash Valley After School Program                          Crossroads of America 160                 501 S 25th St                                                    Terre Haute, IN 47803‐2603                                                                                  First Class Mail
Chartered Organization         Waco Montessori School                                      Longhorn Council 662                      1920 Columbus Ave                                                Waco, TX 76701‐1033                                                                                         First Class Mail
Chartered Organization         Waco Police Dept                                            Longhorn Council 662                      3115 Pine Ave                                                    Waco, TX 76708‐3247                                                                                         First Class Mail
Chartered Organization         Waconia Lions Club                                          Northern Star Council 250                 P.O. Box 21                                                      Waconia, MN 55387‐0021                                                                                      First Class Mail
Chartered Organization         Wacousta Commty                                             United Methodist Church                   9180 W Herbison Rd                                               Eagle, MI 48822‐9785                                                                                        First Class Mail
Voting Party                   Wacousta Community United Methodist Church                  Attn: Alan Cheney                         9180 W Herbison Rd                                               Eagle, MI 48822‐9785                                               Treasurer@wacoustaumc.org                Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Waddy Riritan Club                                          Attn: Gregory Alan Darst                  1171 Kings Hwy                                                   P.O. Box 85                      Waddy, KY 40076                                                            First Class Mail
Chartered Organization         Waddy Ruritan Club                                          Lincoln Heritage Council 205              1171 Kings Hwy                                                   Waddy, KY 40076‐6010                                                                                        First Class Mail
Voting Party                   Waddy Ruritan Club                                          Attn: Gregory Darst                       3476 Waddy Rd                                                    Waddy, KY 40076                                                    gdarst@twc.com                           Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Wade Chapel United Methodist Church                         Attn: Travis Hoffman                      820 Grandview Ridge Rd                                           Red House, WV 25168                                                travis@tyreeembree.com                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wadena Lions Club                                           Central Minnesota 296                     1038 Juniper Ave                                                 Wadena, MN 56482‐1019                                                                                       First Class Mail
Chartered Organization         Wadesboro Housing Authority                                 Central N Carolina Council 416            200 W Short Plz                                                  Wadesboro, NC 28170‐2944                                                                                    First Class Mail
Chartered Organization         Wading River Fire Dept                                      Suffolk County Council Inc 404            1503 N Country Rd                                                Wading River, NY 11792‐1640                                                                                 First Class Mail
Voting Party                   Wading River North Shore United Methodist Church            Attn: Barbara Yatauro                     260 Route 25A                                                    Wading River, NY 11792                                             nsumc@optonline.net                      Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wadsworth Magnet School Pta                                 Atlanta Area Council 092                  3039 Santa Monica Dr                                             Decatur, GA 30032‐3627                                                                                      First Class Mail
Chartered Organization         Wadsworth Masonic Lodge 385                                 Great Trail 433                           660 High St                                                      Bruce Sours                      Wadsworth, OH 44281                                                        First Class Mail
Voting Party                   Wageworks, Inc                                              1825 S Grant St, Ste 725                  San Mateo, CA 94402‐7021                                                                                                                                                     First Class Mail
Chartered Organization         Waggoner Pto                                                Grand Canyon Council 010                  1050 E Carver Rd                                                 Tempe, AZ 85284‐2447                                                                                        First Class Mail
Voting Party                   Waggoners United Methodist Church (178927)                  c/o Bentz Law Firm                        Attn: Leonard Spagnolo                                           680 Washington Rd, Ste 200       Pittsburgh, PA 15228              lspagnolo@bentzlaw.com                   Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wagnalls Memorial                                           Simon Kenton Council 441                  150 Columbus St                                                  Lithopolis, OH 43136                                                                                        First Class Mail
Firm                           Wagner Reese LLP                                            Jeffrey S. Gibson                         11939 N. Meridian Street                                         Carmel, IN 46032                                                   jgibson@wagnerreese.com                  Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wagner Rotary                                               Sioux Council 733                         39322 Sd Hwy 46                                                  Wagner, SD 57380‐7128                                                                                       First Class Mail
Voting Party                   Wagner United Methodist Church                              406 SW 1st St                             Wagner, SD 57380                                                                                                                    wagtynumc@hcinet.net                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Wagner Untied Methodist Church                              Attn: Dennis E Permann                    P.O. Box 757                                                     Wagner, SD 57380                                                   wagtynumc@heinet.net                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wagon Wheel                                                 Attn: Ed Trompeter                        9824 Hwy K7                                                      Atchison, KS 66002‐8299                                                                                     First Class Mail
Chartered Organization         Wagon Wheel Grocery                                         Oregon Trail Council 697                  69845 Wildwood Rd                                                North Bend, OR 97459‐8644                                                                                   First Class Mail
Chartered Organization         Wagram Utd Methodist Church                                 Simon Kenton Council 441                  9535 Mink St Sw                                                  Etna, OH 43068‐3303                                                                                         First Class Mail
Chartered Organization         Wagstaff, Inc                                               Inland Nwest Council 611                  N 3910 Flora Rd                                                  Spokane, WA 99216                                                                                           First Class Mail
Voting Party                   Wahiawa United Methodist Church                             Attn: James Higa                          1445 California Ave                                              Wahiawa, HI 96786                                                  office@wahuawumc.org                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wahpeton Friends, Inc                                       Denver Area Council 061                   1364 W 101st Ave                                                 Northglenn, CO 80260‐6218                                                                                   First Class Mail
Chartered Organization         Waiakea Lions Club                                          Aloha Council, Bsa 104                    P.O. Box 1895                                                    Hilo, HI 96721‐1895                                                                                         First Class Mail
Chartered Organization         Waiakea Lions Club                                          Aloha Council, Bsa 104                    56 Pamala Pl                                                     Pahoa, HI 96778                                                                                             First Class Mail
Chartered Organization         Waianae Store                                               Aloha Council, Bsa 104                    85‐863 Farrington Hwy                                            Waianae, HI 96792‐2440                                                                                      First Class Mail
Chartered Organization         Waikoloa Lion Club                                          Aloha Council, Bsa 104                    68‐1754 Melia St, Apt B212                                       Waikoloa, HI 96738                                                                                          First Class Mail
Chartered Organization         Wailuku Elementary School Pta                               Aloha Council, Bsa 104                    355 S High St                                                    Wailuku, HI 96793‐2103                                                                                      First Class Mail
Chartered Organization         Wailuku Hongwanji Mission‐Buddhist                          Aloha Council, Bsa 104                    1828 E Vineyard St                                               Wailuku, HI 96793‐1816                                                                                      First Class Mail
Chartered Organization         Waipuna Chapel                                              Aloha Council, Bsa 104                    Rr3 Box 600                                                      Kula, HI 96790                                                                                              First Class Mail
Chartered Organization         Waipuna Chapel                                              Aloha Council, Bsa 104                    17 Omaopio Rd                                                    Kula, HI 96790‐8832                                                                                         First Class Mail
Voting Party                   Waiting Room Subscription Services, LLC                     653 W Fallbrook Ave, Ste 101              Fresno, CA 93711                                                                                                                    accounting@360mediadirect.com            Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Waitsfield United Church Of Christ                          4355 Main St, Box 16                      Waitsfield, VT 05673                                                                                                                jajamieson@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wakarusa United Methodist Church                            Lasalle Council 165                       P.O. Box 414                                                     Wakarusa, IN 46573‐0414                                                                                     First Class Mail
Voting Party                   Wakarusa United Methodist Church                            Wakarusa Umc                              P.O. Box 414                                                     Wakarusa, IN 46573                                                 wakarusaumc@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wake Chapel Church                                          Occoneechee 421                           3805 Tarheel Club Rd                                             Raleigh, NC 27604‐9665                                                                                      First Class Mail
Chartered Organization         Wake Forest Police Dept                                     Occoneechee 421                           225 S Taylor St                                                  Wake Forest, NC 27587‐2794                                                                                  First Class Mail
Chartered Organization         Wake Forest Presbyterian Church                             Occoneechee 421                           12605 Capital Blvd                                               Wake Forest, NC 27587‐7490                                                                                  First Class Mail
Chartered Organization         Wake Forest Presbyterian Church                             Occoneechee 421                           12605 Capital Blvd                                               Wake Forest, NC 27587‐7490                                                                                  First Class Mail
Voting Party                   Wake Forest United Methodist Church                         Attn: Treasurer                           905 S Main St                                                    Wake Forest, NC 27587                                              dwarren@nccumc.org                       Email
                                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wakefield Baptist Fellowship                                Coronado Area Council 192                 P.O. Box 174                                                     Wakefield, KS 67487‐0174                                                                                    First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                   Page 424 of 442
                                                                                   Case 20-10343-LSS                                        Doc 8171                                    Filed 01/06/22                                                  Page 440 of 457
                                                                                                                                                                           Exhibit B
                                                                                                                                                                            Service List
                                                                                                                                                                     Served as set forth below

        Description                                                         Name                                                                                         Address                                                                                                        Email                Method of Service
Voting Party                   Wakefield Grace United Methodist Church                       Attn: Henderson Brathwaite               4750 White Plains Rd                                     Bronx, NY 10470                                                    church@wakefieldgraceumc.org    Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Wakefield Grace United Methodist Church                       Attn: Jessica Ellis, CFO                 475 Riverside Dr, Ste 1922                               New York, NY 10115                                                 bshillady@umcitysociety.org     Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Wakefield Lynnfield United Methodist Church                   c/o Lucas Law Group LLC                  Attn: David R. Lucas, Esq.                               One Nelson Terrace, Ste D        Melrose, MA 02176                 DLucas@LucasLawGroupLLC.com     Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Wakefield Umc                                                 c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wakefield‐Lynnfield Utd Methodist                             The Spirit of Adventure 227              273 Vernon St                                            Wakefield, MA 01880‐1951                                                                           First Class Mail
Chartered Organization         Wakelee School P T A                                          Connecticut Rivers Council, Bsa 066      12 Hemple Dr                                             Wolcott, CT 06716‐1714                                                                             First Class Mail
Chartered Organization         Wakeman Congregational Church ‐ Ucc                           Lake Erie Council 440                    14 Abbott St                                             Wakeman, OH 44889‐9306                                                                             First Class Mail
Voting Party                   Wakita United Methodist Church                                P O Box 425                              Wakita, OK 73771                                                                                                            gasgas@pldi.net                 Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Walcott American Legion Post 548                              Illowa Council 133                       121 W Bryant St                                          Walcott, IA 52773‐7789                                                                             First Class Mail
Chartered Organization         Walden Community Church                                       Sam Houston Area Council 576             12400 Walden Rd                                          Montgomery, TX 77356‐7910                                                                          First Class Mail
Chartered Organization         Walden Fire Dept                                              Hudson Valley Council 374                230 Old Orange Ave                                       Walden, NY 12586‐2034                                                                              First Class Mail
Chartered Organization         Walden School                                                 Lincoln Heritage Council 205             4238 Westport Rd                                         Louisville, KY 40207‐2223                                                                          First Class Mail
Voting Party                   Walden Umc                                                    Attn: Gail Ambrosetti                    499 Lakeside Rd                                          Newburgh, NY 12550                                                 gail.ambrosetti@gmail.com       Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Walden United Methodist Church                                Attn: Diane Cochran                      20 Cabot Rd                                              Hardwick, VT 05834                                                 Pastorkyu@charter.net           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Waldensian Presbyterian Church                                Piedmont Council 420                     P.O. Box 216                                             Valdese, NC 28690‐0216                                                                             First Class Mail
Chartered Organization         Waldensian Presbyterian Church                                Piedmont Council 420                     109 Main St E                                            Valdese, NC 28690‐2807                                                                             First Class Mail
Chartered Organization         Waldoboro Scout Assoc                                         Pine Tree Council 218                    190 Beechwood St                                         Warren, ME 04864‐4100                                                                              First Class Mail
Chartered Organization         Waldoboro Scout Assoc                                         Pine Tree Council 218                    190 Beechwood St                                         Warren, ME 04864‐4100                                                                              First Class Mail
Chartered Organization         Waldolf Elks Lodge 2421                                       National Capital Area Council 082        2210 Old Washington Rd                                   Waldorf, MD 20601‐3174                                                                             First Class Mail
Chartered Organization         Waldport Lions Club                                           Oregon Trail Council 697                 P.O. Box 660                                             Waldport, OR 97394‐0660                                                                            First Class Mail
Chartered Organization         Waldron Baptist Church                                        Crossroads of America 160                P.O. Box 36                                              Shelbyville, IN 46176‐0036                                                                         First Class Mail
Chartered Organization         Waldron Community Club, Inc                                   Crossroads of America 160                6496 N 75 W                                              Shelbyville, IN 46176‐9738                                                                         First Class Mail
Voting Party                   Waldron United Methodist                                      Attn: Roger Rice                         P.O. Box 279                                             Waldron, AR 72958                                                  rogerrice@arumc.org             Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Waldron United Methodist                                      c/o Friday, Eldredge & Clark LLP         Attn: Lindsey Emerson Raines                             400 W Capitol Ave, Ste 2000      Little Rock, AR 72201             lraines@fridayfirm.com          Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Waldron United Methodist Church                               Westark Area Council 016                 P.O. Box 279                                             Waldron, AR 72958‐0279                                                                             First Class Mail
Chartered Organization         Waldwick Lions Club                                           Northern New Jersey Council, Bsa 333     P.O. Box 156                                             Waldwick, NJ 07463‐0156                                                                            First Class Mail
Chartered Organization         Waldwick Lions Club                                           Northern New Jersey Council, Bsa 333     50 Grove St                                              Waldwick, NJ 07463‐2013                                                                            First Class Mail
Voting Party                   Waldwick United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Waldwick Utd Methodist Church                                 Northern New Jersey Council, Bsa 333     Franklin Tpke                                            Waldwick, NJ 07463                                                                                 First Class Mail
Chartered Organization         Wales Baptist Church                                          Western Massachusetts Council 234        23 Main St                                               Wales, MA 01081‐9777                                                                               First Class Mail
Chartered Organization         Wales Ctr Vol Fire Co                                         Greater Niagara Frontier Council 380     12300 Big Tree Rd                                        Wales Center, NY 14167                                                                             First Class Mail
Chartered Organization         Wales Elementary School Pto                                   Potawatomi Area Council 651              219 N Oak Crest Dr                                       Wales, WI 53183‐9705                                                                               First Class Mail
Chartered Organization         Wales‐Genesee Lions Club                                      Potawatomi Area Council 651              S42W31400 5th 83                                         Genesee Depot, WI 53127                                                                            First Class Mail
Voting Party                   Waleska Umc                                                   c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Waleska United Methodist Church 7340 Reinhardt College Pkwy   c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Waleska Utd Methodist Church                                  Atlanta Area Council 092                 7340 Reinhardt College Pkwy                              Waleska, GA 30183                                                                                  First Class Mail
Chartered Organization         Walhalla Volunteer Fire Dept                                  Blue Ridge Council 551                   207 E North Broad St                                     Walhalla, SC 29691‐1909                                                                            First Class Mail
Chartered Organization         Walker Baptist Medical Ctr                                    Black Warrior Council 006                P.O. Box 3547                                            Jasper, AL 35502‐3547                                                                              First Class Mail
Voting Party                   Walker Chapel Umc                                             c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Walker Chapel United Methodist Church                         Attn: Farris Mccrary                     P.O. Box 986                                             Fultondale, AL 35068                                               bradisw1@gmail.com              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Walker Chapel Utd Methodist Church                            National Capital Area Council 082        4102 N Glebe Rd                                          Arlington, VA 22207                                                                                First Class Mail
Chartered Organization         Walker Charter Academy Pto                                    President Gerald R Ford 781              1801 3 Mile Rd Nw                                        Grand Rapids, MI 49544‐1445                                                                        First Class Mail
Chartered Organization         Walker County Emergency Services                              Cherokee Area Council 556                P.O. Box 130                                             Chickamauga, GA 30707‐0130                                                                         First Class Mail
Chartered Organization         Walker County Sheriff Office                                  Black Warrior Council 006                2001 2nd Ave S                                           Jasper, AL 35501‐5805                                                                              First Class Mail
Chartered Organization         Walker County Special Needs                                   Black Warrior Council 006                110 School Rd                                            Cordova, AL 35550‐1104                                                                             First Class Mail
Chartered Organization         Walker Farms                                                  Circle Ten Council 571                   1563 County Rd 1135                                      Ravenna, TX 75476‐5421                                                                             First Class Mail
Chartered Organization         Walker Lions Club                                             Hawkeye Area Council 172                 P.O. Box 7                                               Walker, IA 52352‐0007                                                                              First Class Mail
Voting Party                   Walkersville United Methodist Church                          Attn: Nancy Jones, Treasurer             22 Main St                                               Walkersville, MD 21793‐8515                                        finance@walkersvilleumc.org     Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Walkertown Middle School                                      Old Hickory Council 427                  5240 Sullivantown Rd                                     Walkertown, NC 27051‐9415                                                                          First Class Mail
Chartered Organization         Walkill Valley Memorial Post 8441 VFW                         Patriots Path Council 358                P.O. Box 414                                             Vernon, NJ 07462‐0414                                                                              First Class Mail
Chartered Organization         Wall Brethren Church                                          Texas SW Council 741                     P.O. Box 195                                             Wall, TX 76957‐0195                                                                                First Class Mail
Voting Party                   Wall Street United Methodist Church, Inc                      Attn: Financial Secretary Wall St Umc    240 Wall St                                              Jeffersonville, IN 47130                                           wallstumcfs@outlook.com         Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wallace Jeffers Post                                          Iroquois Trail Council 376               753 Main St                                              Castile, NY 14427                                                                                  First Class Mail
Chartered Organization         Wallace Pruitt Recreation Ctr                                 Mecklenburg County Council 415           440 Wesley Heights Way                                   Charlotte, NC 28208‐4477                                                                           First Class Mail
Chartered Organization         Wallace Rotary Club                                           Tuscarora Council 424                    P.O. Box 404                                             Wallace, NC 28466‐0404                                                                             First Class Mail
Chartered Organization         Wallace Rotary Club                                           Tuscarora Council 424                    316 E Murray St                                          Wallace, NC 28466‐2317                                                                             First Class Mail
Voting Party                   Wallace Wesleyan Church                                       Attn: William M Spencer                  61145 State Rte 415                                      Avoca, NY 14809                                                    PastorBillWWC@stny.rr.com       Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Walled Lake Fire Dept                                         Great Lakes Fsc 272                      1499 E West Maple Rd                                     Walled Lake, MI 48390‐3732                                                                         First Class Mail
Voting Party                   Walled Lake Umc                                               Attn: Pastor Kenny Walkup                313 E Northport St                                       Walled Lake, MI 48390                                              revkenny@walledlakeumc.org      Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Walled Lake Utd Methodist Church                              Great Lakes Fsc 272                      313 Northport St                                         Walled Lake, MI 48390‐3547                                                                         First Class Mail
Voting Party                   Waller Umc (179385)                                           c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228              lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Waller United Methodist Church                                Attn: Rev Catherine Beasley              1206 Smith St                                            Waller, TX 77484                                                   cathy‐wumc@outlook.com          Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Waller Vol Fire Dept                                          Sam Houston Area Council 576             612 Walnut St                                            Waller, TX 77484                                                                                   First Class Mail
Chartered Organization         Waller Williams Elementary                                    Lincoln Heritage Council 205             2415 Rockford Ln                                         Louisville, KY 40216‐2353                                                                          First Class Mail
Chartered Organization         Wallers Baptist Church                                        National Capital Area Council 082        4001 Partlow Rd                                          Partlow, VA 22534                                                                                  First Class Mail
Chartered Organization         Wallingford Dept Of Fire Services                             Connecticut Yankee Council Bsa 072       75 Masonic Ave                                           Wallingford, CT 06492‐3019                                                                         First Class Mail
Chartered Organization         Wallingford Presbyterian Church                               Cradle of Liberty Council 525            110 E Brookhaven Rd                                      Wallingford, PA 19086‐6327                                                                         First Class Mail
Chartered Organization         Wallington Fire Dept                                          Northern New Jersey Council, Bsa 333     115 Johnson Ave                                          Wallington, NJ 07057‐2219                                                                          First Class Mail
Chartered Organization         Wallis Lions Club                                             Sam Houston Area Council 576             P.O. Box 134                                             Wallis, TX 77485‐0134                                                                              First Class Mail
Chartered Organization         Wallkill Hook Ladder And Hose                                 Rip Van Winkle Council 405               P.O. Box 460                                             Wallkill, NY 12589‐0460                                                                            First Class Mail
Chartered Organization         Wallkill Reformed Church                                      Rip Van Winkle Council 405               P.O. Box 54                                              Wallkill, NY 12589‐0054                                                                            First Class Mail
Voting Party                   Walmsley Boulevard Umc                                        c/o Bradley Arant Boult Cummings, LLP    Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200         Tampa, FL 33602                   erice@bradley.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Walnut Blessing Church                                        Greater Los Angeles Area 033             20801 La Puente Rd                                       Walnut, CA 91789‐2096                                                                              First Class Mail
Chartered Organization         Walnut Commty Club                                            Amvets Post 45 Iowa Dept                 607 Highland St                                          Walnut, IA 51577‐3060                                                                              First Class Mail
Chartered Organization         Walnut Creek Parents Assoc                                    Simon Kenton Council 441                 5600 Grand Oak Blvd                                      Galena, OH 43021‐9046                                                                              First Class Mail
Chartered Organization         Walnut Creek Presbyterian Church                              Mt Diablo‐Silverado Council 023          1720 Oakland Blvd                                        Walnut Creek, CA 94598                                                                             First Class Mail
Chartered Organization         Walnut Creek Pto                                              Mid‐America Council 326                  720 Fenwick St                                           Papillion, NE 68046‐3122                                                                           First Class Mail
Chartered Organization         Walnut Grove Baptist Church                                   Mid‐America Council 326                  1001 N 29th St                                           Council Bluffs, IA 51501‐0755                                                                      First Class Mail
Chartered Organization         Walnut Grove Parent Teacher Org                               Heart of America Council 307             11800 S Pflumm Rd                                        Olathe, KS 66062‐9659                                                                              First Class Mail
Chartered Organization         Walnut Grove Utd Methodist Church                             Northeast Georgia Council 101            940 Church Way                                           Loganville, GA 30052‐4400                                                                          First Class Mail
Chartered Organization         Walnut Hill Community Church                                  Connecticut Rivers Council, Bsa 066      274 Bunker Hill Ave                                      Waterbury, CT 06708‐1935                                                                           First Class Mail
Chartered Organization         Walnut Hill Elementary Pta                                    Circle Ten Council 571                   10115 Midway Rd                                          Dallas, TX 75229‐6230                                                                              First Class Mail
Voting Party                   Walnut Hill United Methodist Church                           975 Rathmell Rd                          Columbus, OH 43207                                                                                                          jjulien211@gmail.com            Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Walnut Hills Civic Assoc                                      Denver Area Council 061                  P.O. Box 3436                                            Englewood, CO 80155‐3436                                                                           First Class Mail
Chartered Organization         Walnut Hills Elementary Pto                                   Mid Iowa Council 177                     4240 156th St                                            Urbandale, IA 50323‐2203                                                                           First Class Mail
Voting Party                   Walnut Hills United Methodist Church                          c/o Davis Brown Law Firm                 Attn: Julie Johnson Mclean                               215 10th St, Ste 1300            Des Moines, IA 50309              juliemclean@davisbrownlaw.com   Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Walnut Hills United Methodist Church                          12321 Hickman Rd                         Urbandale, IA 50323                                                                                                         bev@whumc.org                   Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Walnut Park District                                          W D Boyce 138                            P.O. Box 364                                             Walnut, IL 61376‐0364                                                                              First Class Mail
Chartered Organization         Walnut Park District                                          W D Boyce 138                            P.O. Box 536                                             Walnut, IL 61376‐0536                                                                              First Class Mail
Voting Party                   Walnut Ridge First United Methodist Church                    Attn: Sharon Kary                        P.O. Box 66                                              Walnut Ridge, AR 72476                                             wrfumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Walnut St Methodist Church                                    Juniata Valley Council 497               203 N Walnut St                                          Burnham, PA 17009‐1637                                                                             First Class Mail
Chartered Organization         Walnut St School Pto                                          Jersey Shore Council 341                 60 Walnut St                                             Toms River, NJ 08753‐5265                                                                          First Class Mail
Chartered Organization         Walnut Street Elementary School Ptfs                          Cradle of Liberty Council 525            224 S 6th St                                             Darby, PA 19023‐2404                                                                               First Class Mail
Voting Party                   Walnut Street Umc (Burnham)                                   c/o Bentz Law Firm                       Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200       Pittsburgh, PA 15228              lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Walnut Umc                                                    Attn: David Poust                        111 E Liberty                                            Walnut, IL 61376                                                   dwpoust@gmail.com               Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Walnut Youth Development League                               Yocona Area Council 748                  130 James St                                             Walnut, MS 38683‐9222                                                                              First Class Mail
Chartered Organization         Walpole Fire Dept                                             Daniel Webster Council, Bsa 330          Old Bellows Falls Rd                                     Walpole, NH 03608                                                                                  First Class Mail
Chartered Organization         Walpole Lions Club                                            Mayflower Council 251                    360 High St                                              Walpole, MA 02081‐2159                                                                             First Class Mail
Chartered Organization         Walpole Sportsmans Assoc, Inc                                 Mayflower Council 251                    P.O. Box 91                                              Walpole, MA 02081‐0091                                                                             First Class Mail
Chartered Organization         Walsh School Pto                                              Connecticut Rivers Council, Bsa 066      55 Dikeman St                                            Waterbury, CT 06704‐3903                                                                           First Class Mail
Chartered Organization         Walt Disney Parent Org                                        Seneca Waterways 397                     175 Coldwater Rd                                         Rochester, NY 14624‐2445                                                                           First Class Mail
Chartered Organization         Walt Disney Pto                                               Mid‐America Council 326                  5717 S 112th St                                          Omaha, NE 68137‐3652                                                                               First Class Mail
Chartered Organization         Walter Butler Community Ctr                                   Central Florida Council 083              475 N Williams Ave                                       Titusville, FL 32796‐2551                                                                          First Class Mail
Voting Party                   Walter Cecil Loague                                           14 N May St                              Aurora, IL 60506                                                                                                            wesleyumcaurora@gmail.com       Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Walter E Cole American Legion Post 187                        Occoneechee 421                          225 E Holding Ave                                        Wake Forest, NC 27587‐2927                                                                         First Class Mail
Chartered Organization         Walter G Byers                                                Mecklenburg County Council 415           1415 Hamilton St                                         Charlotte, NC 28206‐2916                                                                           First Class Mail
Chartered Organization         Walter G Byers Middle                                         Mecklenburg County Council 415           1415 Hamilton St                                         Charlotte, NC 28206‐2916                                                                           First Class Mail
Chartered Organization         Walter P Carter Elementary/Middle School                      Baltimore Area Council 220               820 E 43rd St                                            Baltimore, MD 21212‐4906                                                                           First Class Mail
Chartered Organization         Walter R Craig Post 60‐American Legion‐                       Blackhawk Area 660                       215 N Main St                                            Memorial Hall                    Rockford, IL 61101                                                First Class Mail
Chartered Organization         Walter Scott Erickson Al Post 557                             Central Minnesota 296                    23659 Forest Rd                                          Deerwood, MN 56444                                                                                 First Class Mail
Chartered Organization         Walterboro Elks Lodge 1988                                    Coastal Carolina Council 550             P.O. Box 202                                             Walterboro, SC 29488‐0025                                                                          First Class Mail
Chartered Organization         Walters Church Of The Nazarene                                Last Frontier Council 480                210 E Colorado St                                        Walters, OK 73572                                                                                  First Class Mail
Chartered Organization         Walterville Grange 416                                        Oregon Trail Council 697                 P.O. Box 262                                             Walterville, OR 97489‐0262                                                                         First Class Mail
Chartered Organization         Waltham Presbyterian Church                                   W D Boyce 138                            809 N 3450th Rd                                          Utica, IL 61373‐9733                                                                               First Class Mail
Chartered Organization         Walton County Sheriffs Dept                                   Northeast Georgia Council 101            1425 S Madison Ave                                       Monroe, GA 30655‐2815                                                                              First Class Mail
Chartered Organization         Walton Crossing                                               Atlanta Area Council 092                 2181 Newmarket Pkwy Se                                   Marietta, GA 30067‐8770                                                                            First Class Mail
Chartered Organization         Walton Fire Assoc                                             Dan Beard Council, Bsa 438               P.O. Box 7                                               Walton, KY 41094‐0007                                                                              First Class Mail
Chartered Organization         Walton Fire Dept                                              Leatherstocking 400                      59 West St                                               Walton, NY 13856‐1042                                                                              First Class Mail
Chartered Organization         Walton Lions Club                                             Sagamore Council 162                     807 Bates St                                             Logansport, IN 46947‐2528                                                                          First Class Mail
Chartered Organization         Walworth Rotary Club                                          Glaciers Edge Council 620                W5685 Bonner Ln                                          Walworth, WI 53184                                                                                 First Class Mail
Chartered Organization         Wamba Caravan 89 Alhambra                                     Laurel Highlands Council 527             P.O. Box 432                                             Cumberland, MD 21501‐0432                                                                          First Class Mail
Chartered Organization         Wamego Lions Club                                             Jayhawk Area Council 197                 2020 Cat Creek Cir                                       Wamego, KS 66547‐9003                                                                              First Class Mail
Chartered Organization         Wamesit Masonic Assoc                                         The Spirit of Adventure 227              P.O. Box 35                                              Tewksbury, MA 01876‐0035                                                                           First Class Mail
Chartered Organization         Wanamassa Elementary School Pta                               Monmouth Council, Bsa 347                901 Bendermere Ave                                       Ocean, NJ 07712‐4103                                                                               First Class Mail
Chartered Organization         Wanamingo Firefighters Relief Assoc                           Gamehaven 299                            P.O. Box 304                                             Wanamingo, MN 55983‐0304                                                                           First Class Mail
Chartered Organization         Wanamingo Lutheran Church                                     Gamehaven 299                            P.O. Box 318                                             Wanamingo, MN 55983‐0318                                                                           First Class Mail
Chartered Organization         Wanda Gray Elementary School Pta                              Ozark Trails Council 306                 2101 W Plainview Rd                                      Springfield, MO 65810‐3011                                                                         First Class Mail
Chartered Organization         Wantagh Fire Dept                                             Theodore Roosevelt Council 386           2995 Jerusalem Ave                                       Wantagh, NY 11793‐2020                                                                             First Class Mail
Chartered Organization         Wantagh Memorial Congregational Church                        Theodore Roosevelt Council 386           1845 Wantagh Ave                                         Wantagh, NY 11793‐3909                                                                             First Class Mail
Chartered Organization         Wapello Presbyterian Church                                   Mississippi Valley Council 141 141       127 N Main St                                            Wapello, IA 52653‐1532                                                                             First Class Mail
Voting Party                   Waples Memorial United Methodist Church                       Attn: Justin Miller                      830 W Main St                                            Denison, TX 75020                                                  jmiller@waplesumc.org           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wapping Community Church                                      Connecticut Rivers Council, Bsa 066      1790 Ellington Rd                                        South Windsor, CT 06074‐2708                                                                       First Class Mail
Chartered Organization         Wapping Elementary School                                     Connecticut Rivers Council, Bsa 066      91 Ayers Rd                                              South Windsor, CT 06074‐2036                                                                       First Class Mail
Chartered Organization         Waquoit Congregational Church                                 Cape Cod and Islands Cncl 224            15 Parsons Ln                                            East Falmouth, MA 02536‐5506                                                                       First Class Mail
Voting Party                   War United Methodist Church                                   Attn: Sue Powers                         93 Warfcreek Rd                                          War, WV 24892                                                                                      First Class Mail
Voting Party                   Wardens & Vestryman Of St. Marks Pro‐Cathedral Of Hastings    Attn: St Marks Episcopal Pro‐Cathedral   422 N Burlington St                                      Hastings, NE 68901                                                 mhe224@yahoo.com                Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Wardensville United Methodist Church                          Attn: Melanie Walker                     1255 N Mountain Rd                                       Wardensville, WV 26851                                             ewalker@fronteirnet.net         Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Wards Chapel United Methodist Church                          Attn: William Showman                    11023 Liberty Rd                                         Randallstown, MD 21133                                             bshowman170@gmail.com           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Wardsville Lions Club                                         Great Rivers Council 653                 3505 E Route M                                           Jefferson City, MO 65109                                                                           First Class Mail
Chartered Organization         Ware ‐ Amvets Post 2577                                       Heart of New England Council 230         81 Greenwich Rd                                          Ware, MA 01082‐9227                                                                                First Class Mail
Chartered Organization         Ware ‐ Nenameseck Sportsmens Club                             Heart of New England Council 230         P.O. Box 284                                             Palmer, MA 01069‐0284                                                                              First Class Mail
Chartered Organization         Ware Earl A Howe                                              American Legion Post 123                 45 Maple St                                              Ware, MA 01082‐1560                                                                                First Class Mail
Chartered Organization         Ware Episcopal Ch & 1St Presbyterian Ch                       Colonial Virginia Council 595            P.O. Box 616                                             Gloucester, VA 23061‐0616                                                                          First Class Mail
Voting Party                   Ware Episcopal Church                                         P O Box 616                              Gloucester, VA 23061‐0616                                                                                                   rector@warechurch.org           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Voting Party                   Ware Episcopal Church                                         Attn: Scott Parnell                      P.O. Box 616                                             Gloucester, VA 23061‐0616                                          rector@warechurch.org           Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Ware Shoals Fire Dept                                         Blue Ridge Council 551                   39 E Main St                                             Ware Shoals, SC 29692‐1350                                                                         First Class Mail
Chartered Organization         Ware Shoals Lion Club                                         Blue Ridge Council 551                   42 Sparks Ave                                            Ware Shoals, SC 29692‐1626                                                                         First Class Mail
Chartered Organization         Ware Shoals Lions Club                                        Blue Ridge Council 551                   P.O. Box 478                                             Ware Shoals, SC 29692‐0478                                                                         First Class Mail
Chartered Organization         Wares Chapel Utd Methodist Church                             Miami Valley Council, Bsa 444            1060 Foos Rd                                             West Manchester, OH 45382‐9757                                                                     First Class Mail
Chartered Organization         Warm Springs Cabana Club                                      San Francisco Bay Area Council 028       251 Goldenrain Ave                                       Fremont, CA 94539‐7614                                                                             First Class Mail
Chartered Organization         Warner Fire Rescue                                            Indian Nations Council 488               P.O. Box 170                                             Warner, OK 74469‐0170                                                                              First Class Mail
Chartered Organization         Warner Grange 117                                             Cascade Pacific Council 492              10100 S New Era Rd                                       Canby, OR 97013                                                                                    First Class Mail
Voting Party                   Warner Norcross + Judd LLP                                    Attn: Elisabeth M Von Eitzen             150 Ottawa Ave, Nw, Ste 1500                             Grand Rapids, MI 49503                                             evoneitzen@wnj.com              Email
                                                                                                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Warners Volunteer Fire Dept                                   Longhouse Council 373                    6444 Newport Rd                                          Warners, NY 13164‐9705                                                                             First Class Mail
Voting Party                   Warnerville United Methodist Church                           Attn: Sue Lockwood                       P.O. Box 366                                             Warnerville, NY 12187                                              pastor.anna.cole@gmail.com      Email
                                                                                                                                                                                                                                                                                                  First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                            Page 425 of 442
                                                                               Case 20-10343-LSS                                                 Doc 8171                                           Filed 01/06/22                                                          Page 441 of 457
                                                                                                                                                                                       Exhibit B
                                                                                                                                                                                        Service List
                                                                                                                                                                                 Served as set forth below

        Description                                                     Name                                                                                                         Address                                                                                                                    Email              Method of Service
Chartered Organization         Warren ‐ Firemans Assoc                                Heart of New England Council 230                      P.O. Box 608                                                   Warren, MA 01083‐0608                                                                                        First Class Mail
Chartered Organization         Warren / Holyfield Boys & Girls Club                   Atlanta Area Council 092                              790 Berne St Se                                                Atlanta, GA 30316‐1802                                                                                       First Class Mail
Chartered Organization         Warren Amercian Legion Post 27                         Northern Lights Council 429                           424 N 1st St                                                   Warren, MN 56762‐1205                                                                                        First Class Mail
Chartered Organization         Warren American Legion Post 27                         Northern Lights Council 429                           424 N 1st St                                                   Warren, MN 56762‐1205                                                                                        First Class Mail
Chartered Organization         Warren American Legion/Warren Lions Club               Blackhawk Area 660                                    811 Anson St                                                   Warren, IL 61087‐9751                                                                                        First Class Mail
Chartered Organization         Warren Central High School                             Crossroads of America 160                             9500 E 16th St                                                 Indianapolis, IN 46229‐2008                                                                                  First Class Mail
Chartered Organization         Warren City Police Dept                                Chief Cornplanter Council, Bsa 538                    318 W 3rd Ave                                                  Warren, PA 16365‐2380                                                                                        First Class Mail
Chartered Organization         Warren Community Church                                Catalina Council 011                                  201 Arizona St                                                 Bisbee, AZ 85603‐1805                                                                                        First Class Mail
Chartered Organization         Warren County Fire Assocation                          Occoneechee 421                                       P.O. Box 563                                                   Warrenton, NC 27589‐0563                                                                                     First Class Mail
Chartered Organization         Warren County Historical Society                       Sagamore Council 162                                  408 State Rd 28 E                                              Williamsport, IN 47993‐1069                                                                                  First Class Mail
Chartered Organization         Warren Easton Football                                 Southeast Louisiana Council 214                       3019 Canal St                                                  New Orleans, LA 70119‐6305                                                                                   First Class Mail
Chartered Organization         Warren Elementary School Pta                           Muskingum Valley Council, Bsa 467                     16855 State Route 550                                          Marietta, OH 45750‐6412                                                                                      First Class Mail
Voting Party                   Warren Fields                                          Address Redacted                                                                                                                                                                                                                  First Class Mail
Chartered Organization         Warren G Harding Masonic Lodge 260                     Chief Seattle Council 609                             P.O. Box 181                                                   Poulsbo, WA 98370‐0181                                                                                       First Class Mail
Chartered Organization         Warren Garden Club                                     Great Lakes Fsc 272                                   13039 Burgundy Ave                                             Warren, MI 48089‐1311                                                                                        First Class Mail
Chartered Organization         Warren Hunterdon Christian Homeschoolers               Minsi Trails Council 502                              14 Spring Run Ln                                               Stewartsville, NJ 08886‐3022                                                                                 First Class Mail
Voting Party                   Warren Keith Knox                                      585 Mckay Rd                                          Bolivia, NC 28422                                                                                                                         keith.knox001@yahoo.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Warren Kiwanis Club                                    Great Trail 433                                       P.O. Box 891                                                   Warren, OH 44482‐0891                                                                                        First Class Mail
Chartered Organization         Warren Lions Club                                      Blackhawk Area 660                                    419 Staver St                                                  Warren, IL 61087‐9454                                                                                        First Class Mail
Chartered Organization         Warren Lyons Club                                      Great Lakes Fsc 272                                   14628 Maisano Dr                                               Sterling Heights, MI 48312‐6724                                                                              First Class Mail
Voting Party                   Warren Ozanne                                          1321 Gristmill Ln                                     Prosper, TX 75009                                                                                                                         sloan@ozanne.us                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Warren Point Pres Church                               Northern New Jersey Council, Bsa 333                  17th St & Broadway                                             Fair Lawn, NJ 07410                                                                                          First Class Mail
Chartered Organization         Warren Police Dept                                     Great Lakes Fsc 272                                   29900 S Civic Center Blvd                                      Warren, MI 48093‐2377                                                                                        First Class Mail
Chartered Organization         Warren Student Union                                   Chief Cornplanter Council, Bsa 538                    330 Hickory St                                                 Warren, PA 16365‐2231                                                                                        First Class Mail
Chartered Organization         Warren Tech Fire Science & 1St Responder               Denver Area Council 061                               13300 W 2nd Pl                                                 Lakewood, CO 80228‐1254                                                                                      First Class Mail
Chartered Organization         Warren Technical High School                           Atlanta Area Council 092                              3075 Alton Rd                                                  Atlanta, GA 30341‐4301                                                                                       First Class Mail
Chartered Organization         Warren Township Police Dept                            Patriots Path Council 358                             44 Mountain Blvd                                               Warren, NJ 07059‐2652                                                                                        First Class Mail
Chartered Organization         Warren Twp Trustees And Warren Twp Vol                 Muskingum Valley Council, Bsa 467                     95 Coffman Rd                                                  Marietta, OH 45750‐6421                                                                                      First Class Mail
Voting Party                   Warren United Methodist Church                         101 E Jefferson St                                    Warren, IL 61087                                                                                                                          rbronkema18@gmail.com             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Warren United Methodist Church                         David Christopher Palmer                              186 Whiteface Rd                                               North Sandwich, NH 03259                                                   debugpaltal@gmail.com             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Warren United Methodist Church                         Attn: Carole Elliot                                   P.O. Box 246                                                   Warren, NH 03279                                                           carole@kematrans.com              Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Warren Utd Methodist Church                            Calcasieu Area Council 209                            1800 Orchid St                                                 Lake Charles, LA 70601‐7748                                                                                  First Class Mail
Voting Party                   Warren Vandewark                                       3675 Mead Rd                                          Jamestown, NY 14701                                                                                                                       dynamicwv@gmail.com               Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Warren Woods Baptist Church                            Great Lakes Fsc 272                                   14251 E 12 Mile Rd                                             Warren, MI 48088‐3810                                                                                        First Class Mail
Chartered Organization         Warrenton Methodist Church                             National Capital Area Council 082                     341 Church St                                                  Warrenton, VA 20186‐2713                                                                                     First Class Mail
Chartered Organization         Warrenton Police Dept                                  Greater St Louis Area Council 312                     200 W Booneslick Rd                                            Warrenton, MO 63383‐1915                                                                                     First Class Mail
Chartered Organization         Warrenton Presbyterian Church                          National Capital Area Council 082                     91 Main St                                                     Warrenton, VA 20186‐3422                                                                                     First Class Mail
Voting Party                   Warrenton Umc                                          c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Warrenton United Methodist Church                      National Capital Area Council 082                     341 Church St                                                  Warrenton, VA 20186‐2713                                                                                     First Class Mail
Chartered Organization         Warrenville Memorial VFW Post 8081                     Three Fires Council 127                               3S371 Mignin Dr                                                Warrenville, IL 60555                                                                                        First Class Mail
Chartered Organization         Warrenville Police Dept                                Three Fires Council 127                               3S245 Warren Ave                                               Warrenville, IL 60555                                                                                        First Class Mail
Chartered Organization         Warrior Academy                                        Mid‐America Council 326                               2404 Denver St                                                 Schuyler, NE 68661‐1187                                                                                      First Class Mail
Chartered Organization         Warrior Supporters Parents Club                        Greater St Louis Area Council 312                     1340 W Outer 21 Rd                                             Arnold, MO 63010‐3247                                                                                        First Class Mail
Voting Party                   Warriors Mark Umc (1672)                               c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                         680 Washington Rd, Ste 200              Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Warriors Mark Umc (1672)                               c/o Bentz Law Firm                                    Attn: Sean Bollman                                             680 Washington Rd, Ste 200              Pittsburgh, PA 15228               lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Warriors Mark United Methodist Church                  Laurel Highlands Council 527                          P.O. Box 134                                                   Warriors Mark, PA 16877‐0134                                                                                 First Class Mail
Chartered Organization         Warroad Branch, Winnipeg Mb Stake                      Northern Lights Council 429                           29786 600th Ave                                                Warroad, MN 56763‐9531                                                                                       First Class Mail
Chartered Organization         Warsaw Christian Church                                Dan Beard Council, Bsa 438                            207 W High St                                                  Warsaw, KY 41095‐2082                                                                                        First Class Mail
Chartered Organization         Warsaw Fire Dept                                       Iroquois Trail Council 376                            P.O. Box 229                                                   Warsaw, NY 14569‐0229                                                                                        First Class Mail
Chartered Organization         Warsaw Kiwanis Club                                    Iroquois Trail Council 376                            44 Brooklyn St                                                 Warsaw, NY 14569‐1410                                                                                        First Class Mail
Chartered Organization         Warsaw Lions Club                                      Attn: Perry Harrison                                  Mississippi Valley Council 141 141                             Harrison St                             Warsaw, IL 62379                                                     First Class Mail
Chartered Organization         Warsaw Lions Club                                      Attn: Louie Zinn                                      315 Clay St                                                    Warsaw, IL 62379‐1017                                                                                        First Class Mail
Chartered Organization         Warsaw Lions Club                                      Great Rivers Council 653                              P.O. Box 1985                                                  Warsaw, MO 65355‐1985                                                                                        First Class Mail
Chartered Organization         Warsaw Lions Club                                      Muskingum Valley Council, Bsa 467                     P.O. Box 56                                                    Warsaw, OH 43844‐0056                                                                                        First Class Mail
Chartered Organization         Warsaw Lodge Number 549 F And Am                       Iroquois Trail Council 376                            75 S Main St                                                   Warsaw, NY 14569‐1571                                                                                        First Class Mail
Voting Party                   Warsaw Trinity United Methodist Church                 Attn: Lu Ann Gaisford                                 832 E Center St                                                Warsaw, IN 46580                                                           luann.gaisford@gmail.com          Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Warsaw United Methodist Church                         Attn: Arlene Roberts, Chair of Trustees               130 E Church St                                                Warsaw, OH 43844                                                           ashleyelaine7@yahoo.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Warsaw Utd Methodist Church                            Heart of Virginia Council 602                         287 Main St                                                    Warsaw, VA 22572                                                                                             First Class Mail
Chartered Organization         Warwick Community Ambulance Assoc, Inc                 Pennsylvania Dutch Council 524                        151 North Ln                                                   Lititz, PA 17543‐1505                                                                                        First Class Mail
Chartered Organization         Warwick Lions                                          Colonial Virginia Council 595                         1 Singleton Dr                                                 Hampton, VA 23666‐1590                                                                                       First Class Mail
Chartered Organization         Warwick Lions Club                                     Hudson Valley Council 374                             P.O. Box 208                                                   Warwick, NY 10990‐0208                                                                                       First Class Mail
Voting Party                   Warwick Memorial Umc                                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Warwick Memorial United Methodist Church               Colonial Virginia Council 595                         38 Hoopes Rd                                                   Newport News, VA 23602‐5212                                                                                  First Class Mail
Chartered Organization         Warwick Memorial United Methodist Men                  Colonial Virginia Council 595                         38 Hoopes Rd                                                   Newport News, VA 23602‐5212                                                                                  First Class Mail
Chartered Organization         Warwick Moose Lodge 1711                               Colonial Virginia Council 595                         1711 Warwick Moose Ln                                          Newport News, VA 23606‐1773                                                                                  First Class Mail
Chartered Organization         Warwick Police Dept                                    Narragansett 546                                      99 Veterans Memorial Dr                                        Warwick, RI 02886‐4617                                                                                       First Class Mail
Voting Party                   Warwick United Methodist Church                        Attn: Pastor Jennifer Morrow                          135 Forester Ave                                               Warwick, NY 10990                                                          wumc135@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Warwood United Methodist                               Attn: Sharon Miller                                   1438 Warwood Ave                                               Wheeling, WV 26003                                                         shrmiller5@aol.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Warwood United Methodist Church                        Ohio River Valley Council 619                         1438 Warwood Ave                                               Wheeling, WV 26003‐7134                                                                                      First Class Mail
Chartered Organization         Wasatch Forestry Solution LLC                          Utah National Parks 591                               2667 E Hwy 6                                                   Price, UT 84501‐9300                                                                                         First Class Mail
Chartered Organization         Wasatch Front Scouting                                 Great Salt Lake Council 590                           13953 S Rosaleen Ln                                            Herriman, UT 84096‐1750                                                                                      First Class Mail
Chartered Organization         Wasatch Presbyterian Church                            Great Salt Lake Council 590                           1626 S 1700 E                                                  Salt Lake City, UT 84108‐2662                                                                                First Class Mail
Chartered Organization         Wasatch Tech Group, Inc                                Utah National Parks 591                               1171 Expressway Ln                                             Spanish Fork, UT 84660‐1331                                                                                  First Class Mail
Chartered Organization         Wasatch Youth Leadership Foundation                    Utah National Parks 591                               458 E 100 N                                                    Heber City, UT 84032‐1705                                                                                    First Class Mail
Chartered Organization         Wasco Elks Lodge 2419                                  Southern Sierra Council 030                           P.O. Box 824                                                   Wasco, CA 93280‐0824                                                                                         First Class Mail
Chartered Organization         Wasco School Pto                                       Three Fires Council 127                               P.O. Box 83                                                    Wasco, IL 60183‐0083                                                                                         First Class Mail
Chartered Organization         Washburn Rotary Club                                   Katahdin Area Council 216                             P.O. Box 471                                                   Washburn, ME 04786‐0471                                                                                      First Class Mail
Chartered Organization         Washington Assoc Of Future Firefighters                Chief Seattle Council 609                             9401 Myers Way S                                               Seattle, WA 98108‐4932                                                                                       First Class Mail
Chartered Organization         Washington Assoc, Inc Of Warren                        Narragansett 546                                      39 Baker St                                                    Warren, RI 02885‐3101                                                                                        First Class Mail
Chartered Organization         Washington City Lions Club                             Utah National Parks 591                               1733 Cottam Ct                                                 St George, UT 84790‐2276                                                                                     First Class Mail
Chartered Organization         Washington County Moose Family Ctr 1966                Sequoyah Council 713                                  P.O. Box 321                                                   Abingdon, VA 24212‐0321                                                                                      First Class Mail
Chartered Organization         Washington County Sheriff &                            Plymouth Police Office                                132 E Water St                                                 Plymouth, NC 27962‐1330                                                                                      First Class Mail
Chartered Organization         Washington County Sheriff Office                       Cascade Pacific Council 492                           P.O. Box 513                                                   Hillsboro, OR 97123‐0513                                                                                     First Class Mail
Chartered Organization         Washington County Sheriffs Office                      Utah National Parks 591                               750 S 5400 W                                                   Hurricane, UT 84737                                                                                          First Class Mail
Chartered Organization         Washington County Sheriffs Office                      Northern Star Council 250                             15015 62nd St N                                                Stillwater, MN 55082‐6804                                                                                    First Class Mail
Chartered Organization         Washington El Friends‐Mt Carmel Lutheran               Attn: Jamie Larson‐Mcloone                            8424 W Center St                                               Milwaukee, WI 53222‐4712                                                                                     First Class Mail
Chartered Organization         Washington Elementary School                           Concerned Parents Pack 251                            300 N San Marino Ave                                           San Gabriel, CA 91775‐2912                                                                                   First Class Mail
Chartered Organization         Washington Elementary School Pta                       Greater Alabama Council 001                           115 4th Ave S                                                  Birmingham, AL 35205‐3023                                                                                    First Class Mail
Chartered Organization         Washington Elementary School Pta                       Mid‐America Council 326                               P.O. Box 1763                                                  Norfolk, NE 68702‐1763                                                                                       First Class Mail
Chartered Organization         Washington Ethical Society                             National Capital Area Council 082                     7750 16th St Nw                                                Washington, DC 20012‐1462                                                                                    First Class Mail
Chartered Organization         Washington Family Resource Ctr                         Connecticut Rivers Council, Bsa 066                   685 Baldwin St                                                 Waterbury, CT 06706‐1507                                                                                     First Class Mail
Voting Party                   Washington Farms Umc                                   c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Washington Fields 15Th Ward                            Utah National Parks 591                               2562 S 400 W                                                   Washington, UT 84780‐2276                                                                                    First Class Mail
Chartered Organization         Washington Gifted Academy Pto                          Blackhawk Area 660                                    1421 West St                                                   Rockford, IL 61102‐3232                                                                                      First Class Mail
Chartered Organization         Washington Heights Baptist Church                      Trapper Trails 589                                    1770 E 6200 S                                                  Ogden, UT 84405‐5249                                                                                         First Class Mail
Chartered Organization         Washington High School                                 East Carolina Council 426                             400 Slatestone Rd                                              Washington, NC 27889‐9467                                                                                    First Class Mail
Chartered Organization         Washington Hospital Foundation                         San Francisco Bay Area Council 028                    2000 Mowry Ave                                                 Fremont, CA 94538‐1716                                                                                       First Class Mail
Chartered Organization         Washington Kiwanis Club                                Georgia‐Carolina 093                                  P.O. Box 113                                                   Washington, GA 30673‐0113                                                                                    First Class Mail
Firm                           Washington Law Center                                  Ashton K. Dennis                                      15 Oregon Ave, Ste. 210                                        Tacoma, WA 98409                                                           Daniel@washingtonlawcenter.com    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Washington Lions Club                                  Coronado Area Council 192                             1548 17th Rd                                                   Washington, KS 66968‐8405                                                                                    First Class Mail
Chartered Organization         Washington Lions Club                                  Great Lakes Fsc 272                                   58000 Van Dyke Rd                                              Washington, MI 48094‐2762                                                                                    First Class Mail
Chartered Organization         Washington Metropolitan Ame Zion Church                Greater St Louis Area Council 312                     613 N Garrison Ave                                             St Louis, MO 63103‐1324                                                                                      First Class Mail
Chartered Organization         Washington Middle School                               Buffalo Trace 156                                     1801 Washington Ave                                            Evansville, IN 47714‐2159                                                                                    First Class Mail
Chartered Organization         Washington Middle School Pto                           Greater St Louis Area Council 312                     5165 Ambs Rd                                                   St Louis, MO 63128‐2921                                                                                      First Class Mail
Chartered Organization         Washington Mill Pta                                    National Capital Area Council 082                     9100 Cherrytree Dr                                             Alexandria, VA 22309‐2933                                                                                    First Class Mail
Chartered Organization         Washington Montessori                                  Greater St Louis Area Council 312                     1130 N Euclid Ave                                              St Louis, MO 63113‐2010                                                                                      First Class Mail
Chartered Organization         Washington Montessori Elementary                       Southeast Louisiana Council 214                       606 Clay St                                                    Kenner, LA 70062‐7612                                                                                        First Class Mail
Chartered Organization         Washington Optimist Club                               Hawkeye Area Council 172                              P.O. Box 26                                                    Washington, IA 52353‐0026                                                                                    First Class Mail
Chartered Organization         Washington Park Community Ct                           Blackhawk Area 660                                    3617 Delaware St                                               Rockford, IL 61102‐1506                                                                                      First Class Mail
Chartered Organization         Washington Park Community Ctr                          Narragansett 546                                      42 Jillson St                                                  Providence, RI 02905‐2954                                                                                    First Class Mail
Voting Party                   Washington Park United Methodist Church                Attn: Treasurer, Wash Park Umc                        1955 E Arizona Ave                                             Denver, CO 80210                                                           treasurer@washparkumc.org         Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Washington Parks Academy                               Great Lakes Fsc 272                                   11685 Appleton                                                 Redford, MI 48239‐1445                                                                                       First Class Mail
Voting Party                   Washington Pike United Methodist Church                Attn: Richard L Hayes                                 2241 Washington Pike                                           Knoxville, TN 37917                                                        washingtonpike‐umc@comcast.net    Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Washington Pike United Methodist Church                Attn: Richard L Hayes                                 2241 Washington Pike                                           Knoxville, TN 37917                                                                                          First Class Mail
Chartered Organization         Washington Police Dept                                 Greater St Louis Area Council 312                     301 Jefferson St                                               Washington, MO 63090‐2633                                                                                    First Class Mail
Voting Party                   Washington Presbyterian Church                         Attn: Clerk of Session & William Edward Strawbridge   105 S Elm St                                                   Washington, IL 61571                                                       wpcpusa@mtco.com                  Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Washington Rose Elementary                             Theodore Roosevelt Council 386                        2 Rose Ave                                                     Roosevelt, NY 11575‐1431                                                                                     First Class Mail
Chartered Organization         Washington Rotary Club                                 Coronado Area Council 192                             200 W 4th St                                                   Washington, KS 66968‐2124                                                                                    First Class Mail
Chartered Organization         Washington School Parent School Org                    Northern New Jersey Council, Bsa 333                  44 School St                                                   Township of Washington, NJ 07676‐4240                                                                        First Class Mail
Chartered Organization         Washington School Parent Teacher Org                   Patriots Path Council 358                             153 Winthrop Rd                                                Edison, NJ 08817‐3831                                                                                        First Class Mail
Chartered Organization         Washington School Pta                                  Northern Lights Council 429                           1725 Broadway N                                                Fargo, ND 58102‐2238                                                                                         First Class Mail
Chartered Organization         Washington School Pta                                  Patriots Path Council 358                             624 E Broad St                                                 Westfield, NJ 07090‐2118                                                                                     First Class Mail
Chartered Organization         Washington Shores Elementary School Pta                Central Florida Council 083                           944 W Lake Mann Dr                                             Orlando, FL 32805‐3435                                                                                       First Class Mail
Chartered Organization         Washington Street Baptist Church                       Lincoln Heritage Council 205                          721 Washington St                                              Paducah, KY 42003‐1733                                                                                       First Class Mail
Chartered Organization         Washington Street Community Ctr                        Atlanta Area Council 092                              4138 School St Sw                                              Covington, GA 30014‐2721                                                                                     First Class Mail
Voting Party                   Washington Street Umc                                  c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                             100 N Tampa St, Ste 2200                Tampa, FL 33602                    erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Washington Student Teacher Parent                      Water and Woods Council 782                           905 16th St                                                    Marysville, MI 48040‐1626                                                                                    First Class Mail
Chartered Organization         Washington Township Avon Fire Dept                     Crossroads of America 160                             7222 E US Hwy 36                                               Avon, IN 46123‐7777                                                                                          First Class Mail
Chartered Organization         Washington Township Fire Dept                          Garden State Council 690                              213 E Holly Ave                                                Sewell, NJ 08080‐2642                                                                                        First Class Mail
Chartered Organization         Washington Township Parent Teacher Assn                Minsi Trails Council 502                              16 Castle St                                                   Washington, NJ 07882‐4142                                                                                    First Class Mail
Chartered Organization         Washington Township Police                             Garden State Council 690                              1 Mcclure Dr                                                   Sewell, NJ 08080‐1879                                                                                        First Class Mail
Chartered Organization         Washington Township Police Dept                        Patriots Path Council 358                             1 E Springtown Rd                                              Long Valley, NJ 07853‐3342                                                                                   First Class Mail
Chartered Organization         Washington Township Vol Fire Co                        Laurel Highlands Council 527                          Dull and Axton                                                 Streets                                 Belle Vernon, PA 15012                                               First Class Mail
Chartered Organization         Washington Township Vol Fire Dept, Inc                 Lasalle Council 165                                   380 E State Rd 2                                               Valparaiso, IN 46383‐9701                                                                                    First Class Mail
Chartered Organization         Washington Township Volunteer Fire                     Moraine Trails Council 500                            4078 State Route 66                                            Apollo, PA 15613‐1526                                                                                        First Class Mail
Chartered Organization         Washington Twp Fire Dept                               Erie Shores Council 460                               Main St                                                        Tontogany, OH 43565                                                                                          First Class Mail
Chartered Organization         Washington Union Alliance Church                       Moraine Trails Council 500                            2119 W Washington St                                           New Castle, PA 16101‐1146                                                                                    First Class Mail
Chartered Organization         Washington United Methodist                            Buckskin 617                                          P.O. Box 218                                                   Washington, WV 26181‐0218                                                                                    First Class Mail
Voting Party                   Washington United Methodist Church                     10468 Dupont Rd, P O Box 218                          Washington, WV 26181                                                                                                                      pastor@washingtonumc‐wv.org       Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Washington United Methodist Church                     Attn: Treasurer                                       206 W 2nd St                                                   Washington, IA 52353                                                       officewashumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Washington United Methodist Church, Inc                Attn: Gerald Orme                                     1214 Wadsworth St                                              Maysville, KY 41056                                                        frameme1214@gmail.com             Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Washington Utd Methodist Church                        Blue Grass Council 204                                1917 US 68                                                     Maysville, KY 41056                                                                                          First Class Mail
Chartered Organization         Washington VFW                                         Greater St Louis Area Council 312                     811 Jefferson St                                               Washington, MO 63090                                                                                         First Class Mail
Chartered Organization         Washington Volunteer Fire Dept                         Greater St Louis Area Council 312                     P.O. Box 529                                                   Washington, MO 63090‐0529                                                                                    First Class Mail
Chartered Organization         Washington‐Parentteacher‐Activities Ctte               Samoset Council, Bsa 627                              2911 Washington St                                             Wisconsin Rapids, WI 54494‐1602                                                                              First Class Mail
Chartered Organization         Washtenaw Co Sheriff's                                 Southern Shores Fsc 783                               2201 Hogback Rd                                                Ann Arbor, MI 48105‐9732                                                                                     First Class Mail
Chartered Organization         Wasmer Afterschool Program                             Overland Trails 322                                   2808 O Flannagan St                                            Grand Island, NE 68803‐1331                                                                                  First Class Mail
Chartered Organization         Wass Elementary School Pto                             Great Lakes Fsc 272                                   2340 Willard Dr                                                Troy, MI 48085‐4009                                                                                          First Class Mail
Voting Party                   Waste Management                                       Wm Dallas                                             P.O. Box 660345                                                Dallas, TX 75266‐0345                                                                                        First Class Mail
Voting Party                   Waste Management                                       P O Box 13648                                         Philadelphia, PA 19101‐3648                                                                                                                                                 First Class Mail
Chartered Organization         Wat Lao Phothikaram                                    Blackhawk Area 660                                    6925 S Mulford Rd                                              Cherry Valley, IL 61016‐9385                                                                                 First Class Mail
Chartered Organization         Watauga County Sheriffs Dept                           Old Hickory Council 427                               184 Hodges Gap Rd                                              Boone, NC 28607‐8635                                                                                         First Class Mail
Chartered Organization         Watauga Police Dept                                    Longhorn Council 662                                  7101 Whitley Rd                                                Watauga, TX 76148‐2024                                                                                       First Class Mail
Chartered Organization         Watch City Aerie 1047 F O E                            Three Fires Council 127                               325 Raymond St                                                 Gilberts, IL 60136‐9704                                                                                      First Class Mail
Voting Party                   Watchung Ave Presbyterian Church                       Attn: Greta Martin‐Worthy                             170 Watchung Ave                                               N Plainfield, NJ 07060                                                     office@wapc.net                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Watchung Avenue Presbyterian Church                    Attn: Greta Martin‐Worthy                             170 Watchung Ave                                               North Plainfield, NJ 07060                                                 office@wapc.net                   Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Watchung Day Camp                                      Patriots Path Council 358                             1 Saddle Rd                                                    Cedar Knolls, NJ 07927‐1901                                                                                  First Class Mail
Chartered Organization         Watchung Hills Elks Lodge 885                          Patriots Path Council 358                             1 Elks Trl                                                     Warren, NJ 07059‐5630                                                                                        First Class Mail
Chartered Organization         Wate Tv Explorer Post                                  Great Smoky Mountain Council 557                      1306 N Broadway St                                             Knoxville, TN 37917‐6501                                                                                     First Class Mail
Chartered Organization         Water Of Life Community Church                         California Inland Empire Council 045                  7625 East Ave                                                  Fontana, CA 92336‐2901                                                                                       First Class Mail
Voting Party                   Water Of Life Community Church                         14418 Miller Ave, K                                   Fontana, CA 92336                                                                                                                         markb@wateroflifecc.org           Email
                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Waterbrook Brethren Church                             Shenandoah Area Council 598                           4392 Palmyra Church Rd                                         Edinburg, VA 22824‐3429                                                                                      First Class Mail
Chartered Organization         Waterbury Arc                                          Connecticut Rivers Council, Bsa 066                   1929 E Main St                                                 Waterbury, CT 06705‐1851                                                                                     First Class Mail
Voting Party                   Waterbury Center Community Church                      Attn: Treasurer, Waterbury Center Community Church    P.O. Box 216                                                   Waterbury Center, VT 05677                                                 wccc1832@gmail.com                Email
                                                                                                                                                                                                                                                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                        Page 426 of 442
                                                                                   Case 20-10343-LSS                                          Doc 8171                               Filed 01/06/22                                              Page 442 of 457
                                                                                                                                                                        Exhibit B
                                                                                                                                                                         Service List
                                                                                                                                                                  Served as set forth below

        Description                                                        Name                                                                                       Address                                                                                                       Email                 Method of Service
Chartered Organization         Waterbury Police Dept                                      Connecticut Rivers Council, Bsa 066           255 E Main St                                       Waterbury, CT 06702‐2301                                                                           First Class Mail
Chartered Organization         Waterbury/Keeneyville Pto                                  Three Fires Council 127                       355 Rodenburg Rd                                    Roselle, IL 60172‐1646                                                                             First Class Mail
Chartered Organization         Waterdogs Scuba And Safety LLC                             Middle Tennessee Council 560                  681 N Spring St                                     Clarksville, TN 37040‐3141                                                                         First Class Mail
Chartered Organization         Waterfall Canyon Academy                                   Trapper Trails 589                            818 N 950 E                                         Ogden, UT 84404‐3866                                                                               First Class Mail
Voting Party                   Waterford Central United Methodist Church                  Attn: Rev Jack Mannschreck                    3882 Highland Rd                                    Waterford, MI 48328                                            cmc@ameritech.net                   Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waterford Grange No 231                                    Muskingum Valley Council, Bsa 467             3900 Righteous Ridge Rd                             Waterford, OH 45786                                                                                First Class Mail
Chartered Organization         Waterford Lions Club                                       Greater Yosemite Council 059                  P.O. Box 444                                        Waterford, CA 95386‐0444                                                                           First Class Mail
Chartered Organization         Waterford Township Fire Dept                               Garden State Council 690                      2121 Auburn Ave                                     Atco, NJ 08004‐1947                                                                                First Class Mail
Chartered Organization         Waterford Utd Methodist Church                             Muskingum Valley Council, Bsa 467             Main St & Marietta                                  Waterford, OH 45786                                                                                First Class Mail
Chartered Organization         Waterfront Services, Inc                                   Gulf Stream Council 085                       900 10th St                                         Lake Park, FL 33403‐2424                                                                           First Class Mail
Chartered Organization         Waterloo United Methodist Church                           Monmouth Council, Bsa 347                     1215 W Park Ave                                     Ocean, NJ 07712‐7221                                                                               First Class Mail
Voting Party                   Waterloo United Methodist Church                           Attn: Rebecca Pezzul                          21 E Williams St                                    Waterloo, NY 13165                                             WUMC13165@gmail.com                 Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Waterloo United Methodist Church                           Attn: Rev Daniel S Bradley                    122 Alice Page Rd                                   Waterloo, SC 29384                                             dsbradley@umcsc.org                 Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Waterloo United Methodist Church                           Attn: Kay G Crowe                             1613 Main St                                        Columbia, SC 29201                                             chancellor@umcsc.org                Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waterloo Volunteer Fire District                           Greater Alabama Council 001                   P.O. Box 178                                        Waterloo, AL 35677‐0178                                                                            First Class Mail
Voting Party                   Waterman United Methodist Church                           210 W Garfield St                             Waterman, IL 60556                                                                                                 watermanumc@gmail.com               Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waterman Volunteer Fire Dept                               Three Fires Council 127                       P.O. Box 175                                        Waterman, IL 60556‐0175                                                                            First Class Mail
Voting Party                   Watermark Church                                           Attn: Steven Deur                             13060 US Hwy 31                                     Grand Haven, MI 49417                                          deur@sentonmission.com              Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waters Edge Lutheran Church                                Circle Ten Council 571                        P.O. Box 894                                        Frisco, TX 75034‐0015                                                                              First Class Mail
Voting Party                   Waters Edge United Methodist Church (066011)               c/o Bentz Law Firm                            Attn: Leonard Spagnolo                              680 Washington Rd, Ste 200    Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waters Elementary Pta                                      South Plains Council 694                      3006 78th St                                        Lubbock, TX 79423‐1814                                                                             First Class Mail
Voting Party                   Waters Memorial United Methodist Church                    Attn: Janice Moore                            5400 Mackall Rd                                     St Leonard, MD 20685‐2307                                      watersumc@hotmail.com               Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waterstone Community Church                                Denver Area Council 061                       5890 S Alkire St                                    Littleton, CO 80127‐1421                                                                           First Class Mail
Chartered Organization         Watertown Group Of Concerned Citizens                      Middle Tennessee Council 560                  830 Barrett Rd                                      Watertown, TN 37184‐3501                                                                           First Class Mail
Chartered Organization         Watertown Lions Club                                       Northern Star Council 250                     P.O. Box 791                                        Watertown, MN 55388‐0791                                                                           First Class Mail
Chartered Organization         Watertown Police Dept                                      Sioux Council 733                             128 N Maple                                         Watertown, SD 57201‐2557                                                                           First Class Mail
Chartered Organization         Watertown Police Dept                                      Potawatomi Area Council 651                   106 Jones St                                        Watertown, WI 53094‐3737                                                                           First Class Mail
Chartered Organization         Watertown Rotary Club                                      Potawatomi Area Council 651                   1316 Neenah St                                      Watertown, WI 53094‐6521                                                                           First Class Mail
Chartered Organization         Watertown Savings Bank                                     Longhouse Council 373                         111 Clinton St                                      Watertown, NY 13601‐3650                                                                           First Class Mail
Chartered Organization         Watertown Sportsmen, Inc                                   Longhouse Council 373                         P.O. Box 485                                        Watertown, NY 13601‐0485                                                                           First Class Mail
Chartered Organization         Waterville Lions Club                                      Northern Star Council 250                     203 E Bloomer St                                    Morristown, MN 55052‐5156                                                                          First Class Mail
Chartered Organization         Waterville Rotary Club                                     Leatherstocking 400                           Rt 20                                               Sangerfield, NY 13455                                                                              First Class Mail
Chartered Organization         Waterville Rotary Club                                     Erie Shores Council 460                       P.O. Box 212                                        Waterville, OH 43566‐0212                                                                          First Class Mail
Voting Party                   Waterville Union Church                                    Attn: Charles Witherell                       82 Witherell Rd                                     Johnson, VT 05656                                              pjpwitherell@gmail.com              Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Waterville United Methodist Church                         Attn: Treasurer                               102 N 5th St                                        Waterville, OH 43566                                           treasurer@watervilleumc.org         Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Watford City Ward, Bismarck Nd Stake                       Northern Lights Council 429                   P.O. Box 1161                                       Watford City, ND 58854‐1161                                                                        First Class Mail
Chartered Organization         Watkins Elementary School Pto                              Simon Kenton Council 441                      1520 Watkins Rd                                     Columbus, OH 43207‐3320                                                                            First Class Mail
Chartered Organization         Watkins Glen Elks Lodge 1546                               Five Rivers Council, Inc 375                  300 N Madison Ave                                   Watkins Glen, NY 14891‐1028                                                                        First Class Mail
Voting Party                   Watkins Memorial United Methodist Church                   Attn: Treasurer                               9800 Westport Rd                                    Louisville, KY 40241                                           office@watkinsumc.com               Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Watkins Park Community Ctr                                 Middle Tennessee Council 560                  616 17th Ave N                                      Nashville, TN 37203                                                                                First Class Mail
Voting Party                   Watkinsville First UMC (1331 New High Shoals, Ga)          c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200      Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Watkinsville Utd Methodist Church                          Northeast Georgia Council 101                 123 New High Shoals Rd                              Watkinsville, GA 30677‐2459                                                                        First Class Mail
Chartered Organization         Watlow Electric Mfg Co                                     Greater St Louis Area Council 312             12001 Lackland Rd                                   St Louis, MO 63146‐4001                                                                            First Class Mail
Chartered Organization         Watonga Lions Club                                         Cimarron Council 474                          Rt 1 Box 41                                         Watonga, OK 73772                                                                                  First Class Mail
Chartered Organization         Watson School Unite ‐ Parents Org                          Buckeye Council 436                           515 Marion Ave Nw                                   Massillon, OH 44646‐3005                                                                           First Class Mail
Voting Party                   Watsontown Umc (180442)                                    c/o Bentz Law Firm                            Attn: Leonard Spagnolo                              680 Washington Rd, Ste 200    Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Watsontown Utd Methodist Church                            Susquehanna Council 533                       1319 8th St Dr                                      Watsontown, PA 17777‐7935                                                                          First Class Mail
Chartered Organization         Watsonville Buddhist Temple                                Silicon Valley Monterey Bay 055               423 Bridge St                                       Watsonville, CA 95076‐3603                                                                         First Class Mail
Chartered Organization         Watsonville Fire Dept                                      Silicon Valley Monterey Bay 055               372 Airport Blvd                                    Watsonville, CA 95076                                                                              First Class Mail
Chartered Organization         Watsonville Police Dept                                    Silicon Valley Monterey Bay 055               P.O. Box 1930                                       Watsonville, CA 95077‐1930                                                                         First Class Mail
Chartered Organization         Wattles Park Mens Club                                     Southern Shores Fsc 783                       13166 11 Mile Rd                                    Ceresco, MI 49033‐9769                                                                             First Class Mail
Chartered Organization         Wattles School P T O                                       Great Lakes Fsc 272                           3555 Ellenboro Dr                                   Troy, MI 48083‐5116                                                                                First Class Mail
Chartered Organization         Watts Caney Volunteer Fire Dept                            Blue Grass Council 204                        P.O. Box 68                                         Lost Creek, KY 41348‐0068                                                                          First Class Mail
Chartered Organization         Watts Chapel Baptist Church                                Occoneechee 421                               3703 Tryon Rd                                       Raleigh, NC 27606‐4203                                                                             First Class Mail
Voting Party                   Watts Flats Umc                                            P O Box 7                                     Ashville, NY 14710                                                                                                 dynamicwv@gmail.com                 Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Watts Street Baptist Church                                Occoneechee 421                               800 Watts St                                        Durham, NC 27701‐1533                                                                              First Class Mail
Voting Party                   Wattsburg United Methodist Church (89945)                  c/o Bentz Law Firm                            Attn: Leonard Spagnolo                              680 Washington Rd, Ste 200    Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Wauconda Police Deptment                                   Northeast Illinois 129                        311 S Main St                                       Wauconda, IL 60084‐1966                                                                            First Class Mail
Chartered Organization         Waukazoo Pta                                               President Gerald R Ford 781                   1294 W Lakewood Blvd                                Holland, MI 49424‐6221                                                                             First Class Mail
Chartered Organization         Waukee American Legion Post 737                            Mid Iowa Council 177                          410 6th St                                          Waukee, IA 50263‐9518                                                                              First Class Mail
Chartered Organization         Waukee Rotary Club                                         Mid Iowa Council 177                          P.O. Box 991                                        Waukee, IA 50263‐0991                                                                              First Class Mail
Voting Party                   Waukee United Methodist Church                             Attn: Cyndi Craigmile, Financial Controller   P.O. Box 26                                         650 Ashworth Dr               Waukee, IA 50263                 cyndi@waukeechurch.org              Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waukegan School District 60                                Northeast Illinois 129                        1201 N Sheridan Rd                                  Waukegan, IL 60085‐2081                                                                            First Class Mail
Chartered Organization         Waukesha County Sheriff Dept                               Potawatomi Area Council 651                   515 W Moreland Blvd                                 Waukesha, WI 53188‐2428                                                                            First Class Mail
Chartered Organization         Waukesha Kiwanis                                           Potawatomi Area Council 651                   P.O. Box 1072                                       Waukesha, WI 53187‐1072                                                                            First Class Mail
Chartered Organization         Waukesha Noon Kiwanis                                      Potawatomi Area Council 651                   P.O. Box 1072                                       Waukesha, WI 53187‐1072                                                                            First Class Mail
Voting Party                   Waukesha Water Utility                                     Attn: Tina Lynne Kadrich                      P.O. Box 1648                                       Waukesha, WI 53187                                             tkadrich@waukesha‐water.com         Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waupun Area Recreation Project (Warp)                      Bay‐Lakes Council 635                         721 Buwalda Dr                                      Waupun, WI 53963‐9672                                                                              First Class Mail
Voting Party                   Waurika Umc                                                Attn: Janice Bailey Treasurer                 438 E D Ave                                         P.O. Box 67                   Waurika, OK 73573                umcpastoradam@gmail.com             Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Wausau Fire Dept                                           Samoset Council, Bsa 627                      606 E Thomas St                                     Wausau, WI 54403‐6443                                                                              First Class Mail
Chartered Organization         Wausau Flying Service, Inc                                 Samoset Council, Bsa 627                      725 Woods Pl                                        Wausau, WI 54403‐7074                                                                              First Class Mail
Chartered Organization         Wausau Noon Kiwanis                                        Samoset Council, Bsa 627                      5005 County Rd Z                                    Wausau, WI 54403                                                                                   First Class Mail
Chartered Organization         Wausau Window And Wall Systems                             Samoset Council, Bsa 627                      7800 International Dr                               Wausau, WI 54401‐9623                                                                              First Class Mail
Chartered Organization         Wauseon Police Dept                                        Black Swamp Area Council 449                  230 Clinton St, Ste 207                             Wauseon, OH 43567‐1183                                                                             First Class Mail
Voting Party                   Wauwastosa Avenue United Methodist Church                  Attn: Tyler Emerson Pease                     1529 Wauwatosa Ave                                  Wauwatosa, WI 53213                                            WAUMC@sbcglobal.net                 Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Wauwatosa Ave Utd Methodist Church                         Three Harbors Council 636                     1529 N Wauwatosa Ave                                Wauwatosa, WI 53213‐2622                                                                           First Class Mail
Chartered Organization         Waveland Church Of Jesus Christ Of Lds                     Pine Burr Area Council 304                    1911 Mclaurin St                                    Waveland, MS 39576                                                                                 First Class Mail
Chartered Organization         Waverly Belmont Pto                                        Middle Tennessee Council 560                  2301 10th Ave S                                     Nashville, TN 37204‐2402                                                                           First Class Mail
Voting Party                   Waverly First United Methodist Church                      Attn: Darla Stewart                           190 E State St                                      Waverly, IL 62692                                              wavmethodist@royell.org             Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Waverly First United Methodist Church Waverly Tn           Attn: Paul Holtzinger                         115 W Main St                                       Waverly, TN 37185                                              paul.holtzinger@gmail.com           Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waverly First Utd Methodist Church                         Abraham Lincoln Council 144                   190 E State St                                      Waverly, IL 62692‐1151                                                                             First Class Mail
Chartered Organization         Waverly Hall Umc                                           Chattahoochee Council 091                     7580 Ga Hwy 208                                     Waverly Hall, GA 31831‐3046                                                                        First Class Mail
Voting Party                   Waverly Hall Umc                                           Attn: Jim Christian                           P.O. Box 9                                          Waverly Hall, GA 31822                                                                             First Class Mail
Chartered Organization         Waverly Masonic Lodge                                      Baltimore Area Council 220                    5585 Levering Ave                                   Elkridge, MD 21075‐5003                                                                            First Class Mail
Chartered Organization         Waverly Park ‐ Gfwar                                       Longhorn Council 662                          2650 Parkview Dr                                    Fort Worth, TX 76102‐7103                                                                          First Class Mail
Voting Party                   Waverly Umc                                                Attn: Jack C Massey                           4370 Olive Branch Rd                                Greenwood, IN 46143                                            jack.janet@comcast.net              Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Waverly Umc                                                c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200      Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Waverly United Methodist Churc                             Attn: Lesa Paul,Treasurer                     158 Chemung St                                      Waverly, NY 14892‐1341                                         wumcscty@gmail.com                  Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Waverly United Methodist Church                            116 W Kelling                                 Waverly, MO 64096                                                                                                  waverly_umc@yahoo.com               Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Waverly United Methodist Church                            Attn: Treasurer                               8525 Main St                                        Martinsville, IN 46151                                         jack.janet@comcast.net              Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waverly Utd Methodist Church                               Heart of America Council 307                  116 E Kelling Ave                                   Waverly, MO 64096                                                                                  First Class Mail
Chartered Organization         Wavetronix, LLC                                            Utah National Parks 591                       78 E 1700 S                                         Provo, UT 84606‐5642                                                                               First Class Mail
Chartered Organization         Wawayanda Volunteer Fire Co                                Hudson Valley Council 374                     1975 Route 284                                      Slate Hill, NY 10973                                                                               First Class Mail
Voting Party                   Waxham United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200      Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waxhaw Animal Hospital                                     Central N Carolina Council 416                P.O. Box 275                                        Waxhaw, NC 28173‐1043                                                                              First Class Mail
Chartered Organization         Waxhaw Police Dept                                         Central N Carolina Council 416                3620 Providence Rd S                                Waxhaw, NC 28173‐7394                                                                              First Class Mail
Chartered Organization         Waxhaw Un Meth Ch                                          Central N Carolina Council 416                P.O. Box 9                                          Waxhaw, NC 28173‐1038                                                                              First Class Mail
Voting Party                   Waxhaw United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200      Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waxhaw Utd Methodist Church                                Central N Carolina Council 416                200 Mcdonald St                                     Waxhaw, NC 28173                                                                                   First Class Mail
Chartered Organization         Way Faith Community, Inc                                   Ozark Trails Council 306                      903 W Ratella                                       Springfield, MO 65807                                                                              First Class Mail
Chartered Organization         Wayland Scouters, Inc                                      Mayflower Council 251                         25 Parkland Dr                                      Wayland, MA 01778                                                                                  First Class Mail
Chartered Organization         Wayland Temple Baptist Church                              Cradle of Liberty Council 525                 2500 Cecil B Moore Ave                              Philadelphia, PA 19121‐2815                                                                        First Class Mail
Voting Party                   Wayland United Methodist Church                            Attn: Keith Koontz                            200 Church St                                       Wayland, MI 49348                                              tkkohtz@charter.net                 Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Waymart Calvary United Methodist Church (30386)            c/o Bentz Law Firm                            Attn: Leonard Spagnolo                              680 Washington Rd, Ste 200    Pittsburgh, PA 15228             lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                               First Class Mail
Firm                           Wayne A. Gavioli P.C.                                      Wayne A. Gavioli                              101 North Middletown Rd                             Nanuet, NY 10954                                               wgav2@aol.com                       Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Wayne Brock                                                c/o Boy Scouts of America                     Attn: Chase Koontz                                  1325 W Walnut Hill Ln         Irving, TX 75015                 chase.koontz@scouting.org           Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Wayne City First United Methodist Church                   Greater St Louis Area Council 312             106 Race St                                         Wayne City, IL 62895                                                                               First Class Mail
Voting Party                   Wayne City First United Methodist Church                   Attn: Pastor Elton Storey                     106 Race St                                         Wayne City, IN 62895                                           pastorstorey@charter.net            Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Wayne City First United Methodist Church                   Lanny Kirby Smith                             14677 N Wing St                                     Mt Vernon, IL 62864                                            lannysmith@gmail.com                Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Wayne Cnty Society, Handicapped Citizens                   Buckeye Council 436                           266 Oldman Rd                                       Wooster, OH 44691‐8540                                                                             First Class Mail
Chartered Organization         Wayne Co Sheriffs Dept                                     Crossroads of America 160                     200 E Main St                                       Richmond, IN 47374‐4209                                                                            First Class Mail
Voting Party                   Wayne Community Church, Umc                                Attn: Rev Angela Rotherham, Pastor            P.O. Box 300                                        Wayne, ME 04284                                                pastorwayneumc@gmail.com            Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Wayne County Bank                                          Middle Tennessee Council 560                  P.O. Box 247                                        Waynesboro, TN 38485‐0247                                                                          First Class Mail
Chartered Organization         Wayne County Sheriffs Dept                                 Seneca Waterways 397                          7376 State Route 31                                 Lyons, NY 14489‐9172                                                                               First Class Mail
Voting Party                   Wayne M Perry                                              c/o Boy Scouts of America                     Attn: Chase Koontz                                  1325 W Walnut Hill Ln         Irving, TX 75015                 chase.koontz@scouting.org           Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Wayne Pba Local 136                                        Northern New Jersey Council, Bsa 333          475 Valley Rd                                       Wayne, NJ 07470‐3532                                                                               First Class Mail
Chartered Organization         Wayne Presbyterian Church                                  Cradle of Liberty Council 525                 125 E Lancaster Ave                                 Wayne, PA 19087‐3541                                                                               First Class Mail
Chartered Organization         Wayne State University C2 Pipeline                         Great Lakes Fsc 272                           5557 Cass Ave                                       Detroit, MI 48202‐3615                                                                             First Class Mail
Chartered Organization         Wayne Township Fire Dept                                   Crossroads of America 160                     700 N High School Rd                                Indianapolis, IN 46214‐3756                                                                        First Class Mail
Voting Party                   Wayne Umc                                                  c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200      Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Wayne United Methodist Church                              Attn: Darrell Todd Hurley                     P.O. Box 246                                        Wayne, WV 25570                                                toddanddeb2001@msn.com              Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Wayne United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP         Attn: Edwin G Rice                                  100 N Tampa St, Ste 2200      Tampa, FL 33602                  erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Wayne United Methodist Church                              Wayne Umc                                     P.O. Box 56                                         Wayne, OH 43466                                                davey1@davey1.com                   Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Wayne Utd Methodist Church                                 Northern New Jersey Council, Bsa 333          99 Parish Dr                                        Wayne, NJ 07470‐6008                                                                               First Class Mail
Chartered Organization         Wayne Utd Methodist Church                                 Cradle of Liberty Council 525                 210 S Wayne Ave                                     Wayne, PA 19087‐4016                                                                               First Class Mail
Chartered Organization         Wayne Utd Methodist Men                                    Erie Shores Council 460                       206 E Main St                                       Wayne, OH 43466‐9821                                                                               First Class Mail
Chartered Organization         Waynedale Utd Methodist Church                             Anthony Wayne Area 157                        2500 Church St                                      Fort Wayne, IN 46809‐2753                                                                          First Class Mail
Chartered Organization         Waynedale Utd Methodist Church                             Anthony Wayne Area 157                        2501 Church St                                      Fort Wayne, IN 46809‐2753                                                                          First Class Mail
Chartered Organization         Waynes Welding                                             Gulf Coast Council 773                        1277 Leavins Rd                                     Westville, FL 32464‐4005                                                                           First Class Mail
Chartered Organization         Waynesboro Eagles Club, Inc                                Mason Dixon Council 221                       16 E Main St                                        Waynesboro, PA 17268‐1634                                                                          First Class Mail
Voting Party                   Waynesboro First United Methodist Church                   Attn: Steven Bruns                            P.O. Box 468                                        Waynesboro, MS 39367                                           waynesbrofirstmethodist@gmail.com   Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Waynesboro First United Methodist Church                   Attn: Franklin Lane                           P.O. Box 420                                        Waynesboro, GA 30830                                           info@wfumc.org                      Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waynesboro Rotary Club                                     Georgia‐Carolina 093                          P.O. Box 848                                        Waynesboro, GA 30830‐0848                                                                          First Class Mail
Chartered Organization         Waynesburg VFW Post 4793                                   Laurel Highlands Council 527                  445 E Lincoln St                                    Waynesburg, PA 15370‐1928                                                                          First Class Mail
Chartered Organization         Waynesville United Methodist Church                        Dan Beard Council, Bsa 438                    P.O. Box 634                                        Waynesville, OH 45068‐0634                                                                         First Class Mail
Voting Party                   Waynesville United Methodist Church                        Attn: Cheryl Wood & Patrick J Wadleigh        301 Hwy T                                           Waynesville, MO 65583                                          waynesvilleumc@gmail.com            Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Waynesville United Methodist Church                        Attn: Michael E Deborde                       297 N St                                            Waynesville, OH 45068                                          Pastor@waynesvilleumc.org           Email
                                                                                                                                                                                                                                                                                               First Class Mail
Voting Party                   Waynesville United Methodist Church                        Attn: Treasurer, Waynsville UMC               297 North St                                        Waynesville, OH 45068                                          Pastor@waynesvilleumc.org           Email
                                                                                                                                                                                                                                                                                               First Class Mail
Chartered Organization         Waynetown Merchants Assoc                                  Crossroads of America 160                     100 W Washington St                                 Waynetown, IN 47990                                                                                First Class Mail
Chartered Organization         Waynewood Elementary School Pta                            National Capital Area Council 082             1205 Waynewood Blvd                                 Alexandria, VA 22308‐1843                                                                          First Class Mail
Voting Party                   Waynoka United Methodist Church                            Attn: Leon Veazey                             110 S Flynn                                         Waynoka, OK 73860                                                                                  First Class Mail
Chartered Organization         Wayside Altamira Academy                                   Capitol Area Council 564                      220 Foremost Dr                                     Austin, TX 78745‐7324                                                                              First Class Mail
Chartered Organization         Wayside Christian Mission                                  Lincoln Heritage Council 205                  432 E Jefferson St                                  Louisville, KY 40202‐1178                                                                          First Class Mail
Chartered Organization         Wayside Church Of The Nazarene                             Sequoia Council 027                           1929 E Bardsley Ave                                 Tulare, CA 93274‐6048                                                                              First Class Mail
Chartered Organization         Wayside Methodist Church                                   Monmouth Council, Bsa 347                     1215 W Park Ave                                     Ocean, NJ 07712‐7221                                                                               First Class Mail
Chartered Organization         Wayside Methodist Church                                   Buckskin 617                                  3100 Grand Central Ave                              Vienna, WV 26105‐1538                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                         Page 427 of 442
                                                                                 Case 20-10343-LSS                                                                              Doc 8171                                    Filed 01/06/22                                                 Page 443 of 457
                                                                                                                                                                                                               Exhibit B
                                                                                                                                                                                                                Service List
                                                                                                                                                                                                         Served as set forth below

        Description                                                       Name                                                                                                                               Address                                                                                                           Email              Method of Service
Chartered Organization         Wayside Presbyterian Church                                                        French Creek Council 532                                1208 Asbury Rd                                           Erie, PA 16505‐1304                                                                                 First Class Mail
Voting Party                   Wayside Presbyterian Church                                                        Attn: Financial Secretary                               1208 Asbury Rd                                           Erie, PA 16505‐1304                                               steward@wayside‐erie.org          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wayside Presbyterian Church                                                        Attn: Matthew W Mccullough                              100 State St, Ste 700                                    Erie, PA 16507                                                    mmccullough@mijb.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wayside United Methodist Church                                                    Attn: Terry Jeffers                                     P.O. Box 371                                             Clinton, IN 47842                                                 waysideumchurch@gmail.com         Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wayside United Methodist Church                                                    Attn: Darlene Phillips                                  3001 Grand Central Ave                                   Vienna, WV 26105                                                  office@waysideumc.org             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wayside United Methodist Church ‐ Ocean                                            c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200        Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Wayves                                                                             Aloha Council, Bsa 104                                  4491 Kikiaola Pl                                         Kekaha, HI 96752                                                                                    First Class Mail
Chartered Organization         Wayzata Community Church                                                           Northern Star Council 250                               125 Wayzata Blvd E                                       Wayzata, MN 55391‐1794                                                                              First Class Mail
Chartered Organization         Wayzata Community Church Ucc                                                       Northern Star Council 250                               125 Wayzata Blvd E                                       Wayzata, MN 55391‐1794                                                                              First Class Mail
Chartered Organization         Wb Wood                                                                            Greater New York Councils, Bsa 640                      225 Park Ave S                                           New York, NY 10003‐1604                                                                             First Class Mail
Chartered Organization         Wc Ygnacio Vly Commuters Lions Club                                                Mt Diablo‐Silverado Council 023                         20 Menosse Ct                                            Vallejo, CA 94590‐7305                                                                              First Class Mail
Chartered Organization         Wd Kelley Elementary                                                               Cradle of Liberty Council 525                           1601 N 28th St                                           Philadelphia, PA 19121‐2701                                                                         First Class Mail
Voting Party                   We Are One United Methodist Church                                                 Attn: Jerrold Mitchell, Treasurer                       1315 West Mcdowell Rd                                    Jackson, MS 39204                                                 jermit776@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         We Are One Utd Methodist Church                                                    Andrew Jackson Council 303                              1315 W Mcdowell Rd                                       Jackson, MS 39204‐5146                                                                              First Class Mail
Chartered Organization         We Are Roleplayers                                                                 Simon Kenton Council 441                                122 Columbia Ave                                         Wheeling, WV 26003‐5106                                                                             First Class Mail
Chartered Organization         We Baggs VFW Post 9960                                                             East Carolina Council 426                               246 Vfw Rd                                               Swansboro, NC 28584‐8087                                                                            First Class Mail
Chartered Organization         We Who Care Of Marion County, Inc                                                  North Florida Council 087                               535 NE 57th St                                           Ocala, FL 34479‐7605                                                                                First Class Mail
Voting Party                   Weary Davis, Lc                                                                    Attn: Victor A Davis, Jr                                819 N Washington St                                      Junction City, KS 66441                                           vicdavis@wearydavis.com           Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Weatherford Federated Church                                                       Last Frontier Council 480                               302 N Custer St                                          Weatherford, OK 73096‐4916                                                                          First Class Mail
Chartered Organization         Weatherford Police Dept                                                            Longhorn Council 662                                    801 Santa Fe Dr                                          Weatherford, TX 76086‐6526                                                                          First Class Mail
Chartered Organization         Weatherford Rotary Club                                                            Last Frontier Council 480                               P.O. Box 93                                              Weatherford, OK 73096‐0093                                                                          First Class Mail
Chartered Organization         Weaver First Utd Methodist Church                                                  Greater Alabama Council 001                             P.O. Box 1087                                            Weaver, AL 36277‐1087                                                                               First Class Mail
Chartered Organization         Weaver Middle School                                                               Central Georgia Council 096                             2570 Heath Rd                                            Macon, GA 31206‐5259                                                                                First Class Mail
Chartered Organization         Weaver Middle School Jlc                                                           Central Georgia Council 096                             2570 Heath Rd                                            Macon, GA 31206‐5259                                                                                First Class Mail
Chartered Organization         Weaver School Apt                                                                  Northern Star Council 250                               2135 Birmingham St                                       St Paul, MN 55109‐3511                                                                              First Class Mail
Chartered Organization         Weaverland Valley Fire Dept                                                        Pennsylvania Dutch Council 524                          P.O. Box 421                                             Terre Hill, PA 17581‐0421                                                                           First Class Mail
Chartered Organization         Weaverville Lions Club                                                             Golden Empire Council 047                               P.O. Box 386                                             Weaverville, CA 96093‐0386                                                                          First Class Mail
Chartered Organization         Weaverville United Methodist Church                                                Daniel Boone Council 414                                P.O. Box 37                                              Weaverville, NC 28787‐0037                                                                          First Class Mail
Chartered Organization         Web Dubois Academy Family Resource Ctr                                             3307 E Indian Trl                                       Louisville, KY 40213                                                                                                                                         First Class Mail
Chartered Organization         Webb Bridge Ward Roswell Ga Stake                                                  Atlanta Area Council 092                                510 Brannon Rd                                           Cumming, GA 30041‐6436                                                                              First Class Mail
Chartered Organization         Webb County Sheriff Dept                                                           South Texas Council 577                                 902 Victoria St                                          Laredo, TX 78040‐4456                                                                               First Class Mail
Chartered Organization         Webb County Sheriff Explorers Club                                                 South Texas Council 577                                 902 Victoria St                                          Laredo, TX 78040‐4456                                                                               First Class Mail
Voting Party                   Webb Memorial United Methodist Church                                              Attn: Cameron Edwards                                   370 Ky 109                                               Clay, KY 42404                                                    cedwards6868@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Webb Memorial United Methodist Church                                              Attn: Cameron Lee Edwards                               370 Ky 109                                               Clay, KY 42404                                                    cedwards6868@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Webb School                                                                        Great Smoky Mountain Council 557                        9800 Webb School Ln                                      Knoxville, TN 37923‐3307                                                                            First Class Mail
Chartered Organization         Webb School Of Knoxville                                                           Great Smoky Mountain Council 557                        9800 Webb School Ln                                      Knoxville, TN 37923‐3307                                                                            First Class Mail
Chartered Organization         Webber Elementary Pto                                                              Great Lakes Fsc 272                                     3191 W Clarkston Rd                                      Lake Orion, MI 48362‐2055                                                                           First Class Mail
Voting Party                   Webberville United Methodist Church                                                Attn: Larry Salstrom, Finance Chair                     4215 E Holt Rd                                           Webberville, MI 48892                                             larry_salstrom@yahoo.com          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Webbs Chapel Baptist Church                                                        East Carolina Council 426                               2771 Webbs Chapel Rd                                     Macclesfield, NC 27852                                                                              First Class Mail
Chartered Organization         Weber County Pats Program                                                          Trapper Trails 589                                      5470 S 2700 W                                            Roy, UT 84067‐9327                                                                                  First Class Mail
Chartered Organization         Weberwood Elementary School                                                        Buckskin 617                                            732 Gordon Dr                                            Charleston, WV 25303‐2801                                                                           First Class Mail
Chartered Organization         Webster ‐ St Joseph Basilica                                                       Heart of New England Council 230                        53 Whitcomb St                                           Webster, MA 01570‐2433                                                                              First Class Mail
Chartered Organization         Webster Avenue School P T O                                                        Narragansett 546                                        191 Webster Ave                                          Providence, RI 02909‐3817                                                                           First Class Mail
Chartered Organization         Webster City Kiwanis/Rotary                                                        Attn: Richard Peterson                                  1720 Lynx Ave, Apt 201                                   Webster City, IA 50595‐3408                                                                         First Class Mail
Chartered Organization         Webster Fairport Elks Bpoe 2396                                                    Seneca Waterways 397                                    1066 Jackson Rd                                          Webster, NY 14580‐8786                                                                              First Class Mail
Chartered Organization         Webster Fire Dept                                                                  Seneca Waterways 397                                    35 South Ave                                             Webster, NY 14580‐3529                                                                              First Class Mail
Chartered Organization         Webster Groves Presbyterian Church                                                 Greater St Louis Area Council 312                       45 W Lockwood Ave                                        St Louis, MO 63119‐2931                                                                             First Class Mail
Chartered Organization         Webster Hill School P T O                                                          Connecticut Rivers Council, Bsa 066                     125 Webster Hill Blvd                                    West Hartford, CT 06107‐3771                                                                        First Class Mail
Voting Party                   Webster Hills United Methodist Church                                              Attn: Kristin Lamprecht                                 698 W Lockwood                                           Webster Groves, MO 63119                                                                            First Class Mail
Chartered Organization         Webster Police Dept                                                                Seneca Waterways 397                                    1000 Ridge Rd                                            Webster, NY 14580‐2917                                                                              First Class Mail
Chartered Organization         Webster Presbyterian Church                                                        Seneca Waterways 397                                    550 Webster Rd                                           Webster, NY 14580‐9504                                                                              First Class Mail
Chartered Organization         Webster Pta                                                                        Greater St Louis Area Council 312                       108 W Church St                                          Collinsville, IL 62234‐2725                                                                         First Class Mail
Voting Party                   Webster Springs First Methodist Church                                             Attn: Michael Hall                                      120 Church St                                            Webster Springs, WV 26288                                                                           First Class Mail
Voting Party                   Webster United Methodist                                                           600 N Bompart Ave                                       Webster Groves, MO 63119                                                                                                   shrichert@earthlink.net           Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Webster United Methodist Ch Webster Groves                                         Greater St Louis Area Council 312                       600 N Bompart Ave                                        St Louis, MO 63119‐1904                                                                             First Class Mail
Chartered Organization         Webster Utd Church Of Christ                                                       Southern Shores Fsc 783                                 5484 Webster Church Rd                                   Dexter, MI 48130‐9635                                                                               First Class Mail
Voting Party                   Weddington                                                                         c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200        Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Weddington United Methodist Church                                                 Central N Carolina Council 416                          13901 Providence Rd                                      Matthews, NC 28104‐9371                                                                             First Class Mail
Chartered Organization         Weddington United Methodist Church                                                 Central N Carolina Council 416                          13901 Providence Rd                                      Matthews, NC 28104‐9371                                                                             First Class Mail
Voting Party                   Wedgewood United Methodist Church                                                  Attn: Administrative Council Chairperson                2350 Wedgewood Dr                                        Akron, OH 44312                                                   msummers@apvocatings.com          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Wedgwood Presbyterian Church                                                       Chief Seattle Council 609                               8008 35th Ave Ne                                         Seattle, WA 98115‐4815                                                                              First Class Mail
Chartered Organization         Wedgwood School Pto                                                                Garden State Council 690                                236 Hurffville Rd                                        Sewell, NJ 08080‐9417                                                                               First Class Mail
Chartered Organization         Wee Friends Preschool                                                              Trapper Trails 589                                      197 W 500 S                                              Logan, UT 84321‐5220                                                                                First Class Mail
Chartered Organization         Weedville Wesleyan Church                                                          Bucktail Council 509                                    18945 Bennetts Valley Hwy                                Weedville, PA 15868‐3309                                                                            First Class Mail
Chartered Organization         Weeksville Lions Club                                                              Tidewater Council 596                                   2760 Peartree Rd                                         Elizabeth City, NC 27909‐7118                                                                       First Class Mail
Chartered Organization         Weequahic Family Success Ctr                                                       Northern New Jersey Council, Bsa 333                    1065 Bergen St                                           Newark, NJ 07112‐2096                                                                               First Class Mail
Chartered Organization         Wegmans School Of Pharmacy                                                         Seneca Waterways 397                                    3690 East Ave                                            Rochester, NY 14618‐3537                                                                            First Class Mail
Voting Party                   Wehnwood Umc (176085)                                                              c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200      Pittsburgh, PA 15228              lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Weimar Rotary Club                                                                 Sam Houston Area Council 576                            P.O. Box 153                                             Weimar, TX 78962‐0153                                                                               First Class Mail
Voting Party                   Weiner United Methodist Church                                                     Attn: Michael Gillis                                    P.O. Box 6                                               Weiner, AR 72479                                                  mgillis@ricebelt.net              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Weiner United Methodist Church                                                     c/o Friday, Eldredge & Clark LLP                        Attn: Lindsey Emerson Raines                             400 W Capitol Ave, Ste 2000     Little Rock, AR 72201             lraines@fridayfirm.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Weirs United Methodist Church, Attn: Treasurer                                     Attn: Julie Fletcher                                    P.O. 5268                                                Laconia, NH 03247                                                 Weirsumc1@myfairpoint.net         Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Weirsdale Presbyterian Church                                                      North Florida Council 087                               P.O. Box 527                                             Weirsdale, FL 32195‐0527                                                                            First Class Mail
Chartered Organization         Weiser Lions Club                                                                  Ore‐Ida Council 106 ‐ Bsa 106                           11250 Pioneer                                            Weiser, ID 83672                                                                                    First Class Mail
Chartered Organization         Weiser Lions Club                                                                  Ore‐Ida Council 106 ‐ Bsa 106                           P.O. Box 286                                             Weiser, ID 83672‐0286                                                                               First Class Mail
Firm                           Weitz & Luxemberg, P.C                                                             Samantha Breakstone                                     286 Stonebridge Cir                                      Savannah, GA 31419                                                bernie.cerone@gdc.ga.gov          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           Weitz & Luxemberg, P.C                                                             Samantha Breakstone                                     700 Broadway                                             New York, NY 10003                                                sbreakstone@weitzlux.com          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           Weitz & Luxemberg, P.C                                                             Samantha Breakstone                                     9402 Emerald Green Dr.                                   Posharon, TX 77583                                                sbreakstone@weitzlux.com          Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Wekiva Presbyterian Church                                                         Central Florida Council 083                             211 Wekiva Springs Ln                                    Longwood, FL 32779‐3601                                                                             First Class Mail
Voting Party                   Welborne Umc                                                                       c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200        Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Welborne Utd Methodist Church                                                      Heart of Virginia Council 602                           920 Maybeury Dr                                          Richmond, VA 23229‐6254                                                                             First Class Mail
Chartered Organization         Welcome Wesleyan Church                                                            Blue Ridge Council 551                                  1040 Ebenezer Rd                                         Seneca, SC 29672‐0316                                                                               First Class Mail
Voting Party                   Weldon United Methodist Church                                                     Attn: Cherene White                                     49 Oak St, P.O. Box 86                                   Weldon, IL 61882                                                  gwcw1971@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Firm                           Weller Green Toups & Terrell LLP                                                   Mitchel A. Toups                                        2615 Calder Ave. Ste 400                                 Beaumont, TX 77702                                                                                  First Class Mail
Firm                           Weller Green Toups & Terrell LLP and Richardson Patrick Westbrook & Brickman LLC   T. Christopher Tuck                                     1037‐A Chuck Dawley Blvd                                 Mt. Pleasant, SC 29464                                            matoups@wgttlaw.com               Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wellfleet United Methodist Church                                                  Attn: Sieglinde Rogers                                  246 Main St                                              Wellfleet, MA 02667                                                                                 First Class Mail
Chartered Organization         Wellington Community Fair, Inc                                                     Heart of America Council 307                            P.O. Box 15                                              Wellington, MO 64097‐0015                                                                           First Class Mail
Chartered Organization         Wellington Elementary School                                                       Lincoln Heritage Council 205                            4800 Kaufman Ln                                          Louisville, KY 40216‐1152                                                                           First Class Mail
Chartered Organization         Wellington Elementary School Pto                                                   Gulf Stream Council 085                                 13000 Paddock Dr                                         Wellington, FL 33414‐3902                                                                           First Class Mail
Chartered Organization         Wellpet                                                                            Lasalle Council 165                                     1011 W 11th St                                           Mishawaka, IN 46544‐4818                                                                            First Class Mail
Chartered Organization         Wells Branch Community Church                                                      Capitol Area Council 564                                2113 Wells Branch Pkwy                                   Austin, TX 78728‐6970                                                                               First Class Mail
Chartered Organization         Wells Branch Homestead Corp                                                        Capitol Area Council 564                                14611 Wells Port Dr                                      Wells Branch Annex              Austin, TX 78728                                                    First Class Mail
Chartered Organization         Wells Community Boys And Girls Club                                                Anthony Wayne Area 157                                  1532 N Main St                                           Bluffton, IN 46714‐1125                                                                             First Class Mail
Chartered Organization         Wells Congregational Church                                                        Pine Tree Council 218                                   1695 Post Rd                                             Wells, ME 04090                                                                                     First Class Mail
Chartered Organization         Wells Fargo Na                                                                     Mecklenburg County Council 415                          401 S Tryon St                                           Charlotte, NC 28202‐1934                                                                            First Class Mail
Voting Party                   Wells Fargo Vendor Fin Serv                                                        P O Box 70239                                           Philadelphia, PA 19176‐0239                                                                                                                                  First Class Mail
Voting Party                   Wells United Methodist Church                                                      Attn: Susan Hardman‐Zimmerman                           289 Main St                                              Poultney, VT 05764                                                shardman‐zimmerman@susumc.org     Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wellsboro Umc (07430)                                                              c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200      Pittsburgh, PA 15228              lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Wellsburg Elks Lodge 1553                                                          Ohio River Valley Council 619                           P.O. Box 27                                              Wellsburg, WV 26070‐0027                                                                            First Class Mail
Voting Party                   Wellsburg United Methodist Church                                                  Attn: William Watson                                    800 Main St                                              Wellsburg, WV 26070                                               wewalaw@aol.com                   Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Wellspring Anglican Church                                                         Greater Yosemite Council 059                            1548 Cummins Dr                                          Modesto, CA 95358‐6412                                                                              First Class Mail
Chartered Organization         Wellspring Ministries                                                              Ozark Trails Council 306                                2469 N Honeysuckle Way                                   Springfield, MO 65802‐9697                                                                          First Class Mail
Voting Party                   Wellspring United Methodist Church, Inc ‐ Georgetown                               c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200        Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Wellspring Utd Methodist Church                                                    Capitol Area Council 564                                6200 Williams Dr                                         Georgetown, TX 78633‐2015                                                                           First Class Mail
Chartered Organization         Wellstar Spalding Regional Hospital                                                Flint River Council 095                                 601 S 8th St                                             Griffin, GA 30224‐4213                                                                              First Class Mail
Chartered Organization         Wellston Brethren Kaleva School Parents                                            President Gerald R Ford 781                             4400 Highbridge Rd                                       Brethren, MI 49619‐5102                                                                             First Class Mail
Voting Party                   Wellston Hope United Methodist Church                                              3248 Lesmil Rd                                          Wellston, OH 45692                                                                                                         garyst2@frontier.com              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Wellsville Fire Dept                                                               Heart of America Council 307                            730 Main St                                              Wellsville, KS 66092‐8725                                                                           First Class Mail
Voting Party                   Wellsville First United Methodist Church                                           Attn: Truett Sweeting                                   79 Madison St                                            Wellsville, NY 14895                                              truswe@eznet.net                  Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Wellsville Volunteer Fire Co                                                       New Birth of Freedom 544                                95 Community St                                          Wellsville, PA 17365‐9639                                                                           First Class Mail
Chartered Organization         Welsh Congregational Church                                                        Minsi Trails Council 502                                1 S Hazle St                                             Hazle Township, PA 18201                                                                            First Class Mail
Chartered Organization         Wendell 1St Ward ‐ Wendell Stake                                                   Snake River Council 111                                 605 N Idaho St                                           Wendell, ID 83355                                                                                   First Class Mail
Chartered Organization         Wendell 2Nd Ward ‐ Wendell Stake                                                   Snake River Council 111                                 65 N Idaho St                                            Wendell, ID 83355                                                                                   First Class Mail
Chartered Organization         Wendell Stake ‐ Fairfield Ward                                                     Snake River Council 111                                 400 Alturas Ave W                                        Fairfield, ID 83327                                                                                 First Class Mail
Voting Party                   Wendell United Methodist Church                                                    P O Box 1925                                            Wendell, NC 27591                                                                                                          pastor@wendellumc.org             Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wendell United Methodist Church                                                    c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200        Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Wenona Rotary Club                                                                 W D Boyce 138                                           207 Sunset View St                                       Wenona, IL 61377‐8900                                                                               First Class Mail
Chartered Organization         Wenona Rotary Club                                                                 W D Boyce 138                                           5 Cir Dr                                                 Wenona, IL 61377‐9505                                                                               First Class Mail
Chartered Organization         Wenonah Methodist Church                                                           Garden State Council 690                                105 E Willow St                                          Wenonah, NJ 08090‐1946                                                                              First Class Mail
Chartered Organization         Wente Southern Annex Group                                                         San Francisco Bay Area Council 028                      1001 Davis St                                            San Leandro, CA 94577‐1514                                                                          First Class Mail
Chartered Organization         Wentzville Christian Church                                                        Greater St Louis Area Council 312                       1507 Hwy Z                                               Wentzville, MO 63385‐4536                                                                           First Class Mail
Chartered Organization         Wentzville Police Explorers                                                        Greater St Louis Area Council 312                       1019 Schroeder Creek Blvd                                Wentzville, MO 63385‐3531                                                                           First Class Mail
Voting Party                   Wentzville United Methodist Church                                                 Attn: Rev Mark Dumas                                    725 Wall St                                              Wentzcille, MO 63385                                              markdumas@wentzville‐umc.net      Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Wes Family Resource Ctr                                                            Lincoln Heritage Council 205                            4008 State Route 85 E                                    Centertown, KY 42328‐9651                                                                           First Class Mail
Chartered Organization         Wesconnett Utd Methodist Church                                                    North Florida Council 087                               5630 Wesconnett Blvd                                     Jacksonville, FL 32244‐1950                                                                         First Class Mail
Chartered Organization         Wes‐Del Elementary Pto                                                             Crossroads of America 160                               500 E Jackson St                                         Gaston, IN 47342‐8981                                                                               First Class Mail
Chartered Organization         Weslaco 2 Lds Church                                                               Rio Grande Council 775                                  701 Palacios Dr                                          Edinburg, TX 78539‐7813                                                                             First Class Mail
Chartered Organization         Weslaco 2 Lds Church                                                               Rio Grande Council 775                                  210 Southgate Blvd                                       Weslaco, TX 78596‐7002                                                                              First Class Mail
Chartered Organization         Weslaco Border Patrol Station                                                      Rio Grande Council 775                                  1501 E Expressway 83                                     Weslaco, TX 78599‐5014                                                                              First Class Mail
Voting Party                   Wesley Chapel Umc                                                                  Attn: Joe Riddle                                        11025 County Rd 15                                       Florence, AL 35633                                                joe.riddle@umcna.org              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wesley Chapel Umc                                                                  c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200        Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wesley Chapel Umc (Marietta)                                                       c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200        Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wesley Chapel United Methodist Church                                              Attn: Reginald Mann, Trustees Chair Wesley Chapel Umc   9227 River Rd                                            South Chesterfield, VA 23803                                      wesleychapelumc.va@gmail.com      Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wesley Chapel United Methodist Church                                              Attn: Richard Alstott                                   2100 Hwy 150                                             Floyds Knobs, IN 47119                                            secretary@wesleychapel.org        Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wesley Chapel United Methodist Church                                              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200        Tampa, FL 33602                   erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wesley Chapel United Methodist Church (32102473)                                   c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200      Pittsburgh, PA 15228              lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wesley Chapel United Methodist Church Of Lake City                                 Attn: Kay G Crowe                                       1613 Main St                                             Columbia, SC 29201                                                chancellor@umcsc.org              Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wesley Chapel United Methodist Church Of Lake City                                 Attn: Rev Amiri B Hooker                                1814 Citadel St                                          Florence, SC 29505                                                abhooker@umcsc.org                Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Wesley Chapel Utd Methodist Church                                                 Atlanta Area Council 092                                4495 Sandy Plains Rd                                     Marietta, GA 30066‐2437                                                                             First Class Mail
Voting Party                   Wesley Coleman                                                                     c/o Boy Scouts of America                               Attn: Chase Koontz                                       1325 W Walnut Hill Ln           Irving, TX 75015                  chase.koontz@scouting.org         Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Chartered Organization         Wesley Community Ctr, Inc Of Houston                                               Sam Houston Area Council 576                            1410 Lee St                                              Houston, TX 77009‐8228                                                                              First Class Mail
Chartered Organization         Wesley Elementary                                                                  Sam Houston Area Council 576                            800 Dillard St                                           Houston, TX 77091‐2301                                                                              First Class Mail
Chartered Organization         Wesley Free Methodist Church                                                       Crossroads of America 160                               3017 W 8th St                                            Anderson, IN 46011‐1903                                                                             First Class Mail
Chartered Organization         Wesley Freedom United Methodist Church                                             Baltimore Area Council 220                              961 Johnsville Rd                                        Sykesville, MD 21784‐4903                                                                           First Class Mail
Voting Party                   Wesley Freedom United Methodist Church                                             Iattn: an Christopher Collier                           961 Johnsville Rd                                        Sykesville, MD 21784                                              icollier@wesleyfreedom.org        Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail
Voting Party                   Wesley Freedom United Methodist Church                                             Attn: Cindy Hinson, Treasurer                           961 Johnsville Rd                                        Eldersburg, MD 21784                                              chinson@wesleyfreedom.org         Email
                                                                                                                                                                                                                                                                                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                                Page 428 of 442
                                                                                   Case 20-10343-LSS                                                        Doc 8171                                             Filed 01/06/22                                                   Page 444 of 457
                                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                                     Service List
                                                                                                                                                                                              Served as set forth below

        Description                                                        Name                                                                                                                   Address                                                                                                             Email                 Method of Service
Voting Party                   Wesley Grace Umc                                             c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Grove Umc                                             Attn: Karen                                               23612 Woodfield Rd                                                Gaithersburg, MD 20882‐2818                                         pastorkaren24@msn.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Grove Umc                                             Attn: Karen Davis                                         23640 Woodfield Rd                                                Gaithersburg, MD 20882‐2818                                         pastorkaren24@msn.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Grove Umc                                             23640 Woodfield Rd                                        Gaithersburg, MD 20882                                                                                                                pastorkaren24@msn.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Grove United Methodist Church                         Attn: Elizabeth A Lemaster                                1320 Dorsey Rd                                                    Hanover, MD 21076‐1453                                              wgumcoffice@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Grove United Methodist Church                         Attn: J Richard Monarch                                   23640 Woodfield Rd                                                Gaithersburg, MD 20882‐2818                                         WesleyGrove208@verizon.net           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Wesley House Community Ctr                                   Great Smoky Mountain Council 557                          1719 Reynolds St                                                  Knoxville, TN 37921‐4761                                                                                 First Class Mail
Voting Party                   Wesley J Smith                                               c/o Boy Scouts of America                                 Attn: Chase Koontz                                                1325 W Walnut Hill Ln             Irving, TX 75015                  chase.koontz@scouting.org            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Mechanicsburg (178506)                                c/o Bentz Law Firm                                        Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Memorial                                              c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Memorial                                              825 Wesley Dr                                             Statesville, NC 28677                                                                                                                                                      First Class Mail
Voting Party                   Wesley Memorial                                              6100 Memorial Hgwy                                        Tamoa, FL 33615                                                                                                                                                            First Class Mail
Voting Party                   Wesley Memorial Umc                                          c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Memorial Umc                                          Attn: Duane R Partin                                      1401 S College Rd                                                 Wilmington, NC 28403‐5198                                           drpartin1@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Memorial Umc                                          824 Startling Wy                                          Martinsville, VA 24112                                                                                                                                                     First Class Mail
Voting Party                   Wesley Memorial United Methodist                             c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Memorial United Methodist                             4141 Deleon St                                            Ft Myers, FL 33901                                                                                                                                                         First Class Mail
Chartered Organization         Wesley Memorial United Methodist Church                      Piedmont Council 420                                      825 Wesley Dr                                                     Statesville, NC 28677‐3354                                                                               First Class Mail
Chartered Organization         Wesley Memorial United Methodist Church                      Cape Fear Council 425                                     1401 S College Rd                                                 Wilmington, NC 28403‐5198                                                                                First Class Mail
Voting Party                   Wesley Memorial United Methodist Church                      Wesley Memorial Umc                                       1211 Westmead St                                                  Decatur, AL 35601                                                   wesleyumc@wesleywired.org            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Memorial United Methodist Church                      Attn: Ramon D Torres III                                  3405 Peerless Rd Nw                                               Cleveland, TN 37312                                                 ramon@wesleymemorialchurch.com       Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Memorial United Methodist Church                      6314 E Brainerd Rd                                        Chattanooga, TN 37421                                                                                                                 eebemt@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Wesley Memorial Utd Methodist Church                         Greater Alabama Council 001                               1211 Westmead St Sw                                               Decatur, AL 35601‐5427                                                                                   First Class Mail
Chartered Organization         Wesley Memorial Utd Methodist Church                         Great Smoky Mountain Council 557                          Rr 1                                                              Etowah, TN 37331                                                                                         First Class Mail
Chartered Organization         Wesley Memorial Utd Methodist Church                         Old N State Council 070                                   1225 Chestnut Dr                                                  High Point, NC 27262‐4666                                                                                First Class Mail
Chartered Organization         Wesley Memorial Utd Methodist Church                         Tidewater Council 596                                     288 E Little Creek Rd                                             Norfolk, VA 23505‐2520                                                                                   First Class Mail
Chartered Organization         Wesley Memorial Utd Methodist Church                         Greater Tampa Bay Area 089                                6100 Memorial Hwy                                                 Tampa, FL 33615‐4534                                                                                     First Class Mail
Chartered Organization         Wesley Methodist Church                                      Daniel Webster Council, Bsa 330                           79 Clinton St                                                     Concord, NH 03301‐2300                                                                                   First Class Mail
Chartered Organization         Wesley Methodist Church                                      Greater St Louis Area Council 312                         3551 US Hwy 61                                                    Festus, MO 63028‐4233                                                                                    First Class Mail
Chartered Organization         Wesley Methodist Church                                      Voyageurs Area 286                                        303 E 32nd St                                                     Hibbing, MN 55746                                                                                        First Class Mail
Chartered Organization         Wesley Methodist Church                                      Last Frontier Council 480                                 322 E Independence St                                             Shawnee, OK 74804                                                                                        First Class Mail
Voting Party                   Wesley Morgan                                                1028 Red Oak Dr                                           Plainfield, IN 46168                                                                                                                  wmorgan@indy.rr.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley St Pete                                               c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Umc                                                   Attn: William Frederick Bouse                             4201 N Texas Ave                                                  Bryan, TX 77807                                                     wesleyumcbryan@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Umc                                                   Attn: Virginia A Doran                                    P.O. Box 386                                                      Wareham, MA 02571                                                   pweselyumcwareham@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Umc                                                   c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Umc                                                   2075 Meadowlane Ave                                       W Melbourne, FL 32904                                                                                                                                                      First Class Mail
Voting Party                   Wesley Umc ‐ Fresno                                          Attn: Kimberli Parenteau ‐ Treasurer                      1343 E Barstow Ave                                                Fresno, CA 93710                                                    office@wesleyfresno.org              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Umc (03570)                                           c/o Bentz Law Firm                                        Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Umc (03570)                                           c/o Bentz Law Firm                                        Attn: Sean Bollman                                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Umc Franklin Sq                                       Wesley Umc                                                619 Fenworth Blvd                                                 Franklin Square, NY 11010‐3535                                      wesleyfsumc@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Umc Of Hadley                                         Richard Blatchly                                          327 Shutesbury Rd                                                 Amherst, MA 01002                                                   blatchara@comcast.net                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Umc Of Sacramento                                     Attn: Marvel Ralls                                        5010 15th Ave                                                     Sacramento, CA 95820                                                mralls@frontier.net                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley Umc S Plainfield                                      c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist (4540)                               c/o Bentz Law Firm                                        Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Wesley United Methodist Church                               Oregon Trail Council 697                                  1385 Oakway Rd                                                    Eugene, OR 97401‐5416                                                                                    First Class Mail
Chartered Organization         Wesley United Methodist Church                               Theodore Roosevelt Council 386                            619 Fenworth Blvd                                                 Franklin Square, NY 11010‐3535                                                                           First Class Mail
Chartered Organization         Wesley United Methodist Church                               Quivira Council, Bsa 198                                  500 Leawood Dr                                                    Parsons, KS 67357‐3433                                                                                   First Class Mail
Chartered Organization         Wesley United Methodist Church                               Silicon Valley Monterey Bay 055                           566 N 5th St                                                      San Jose, CA 95112‐3232                                                                                  First Class Mail
Chartered Organization         Wesley United Methodist Church                               Coastal Georgia Council 099                               6520 Frederica Rd                                                 St Simons Island, GA 31522‐9746                                                                          First Class Mail
Chartered Organization         Wesley United Methodist Church                               Grand Columbia Council 614                                14 N 48th Ave                                                     Yakima, WA 98908‐3132                                                                                    First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Zeke Allen                                          2200 Phoenix                                                      Fort Smith, AR 72901                                                zeke.allen@arumc.org                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Manuel Loaeza                                       1700 E 6th St                                                     Sioux Falls, SD 57103                                               wumc1700@outlook.com                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Larry Bunnell                                       113 E 9th St                                                      Trenton, MO 64683                                                   wesleyumchurch@outlook.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Debra W Gard                                        511 Airline Rd                                                    Columbus, MS 39702                                                  wesleyhelpdesk@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Treasurer, Wesley Umc                               1406 E Austin Ave                                                 Harlingen, TX 78550                                                 wesleychurchsecretary@hotmail.com    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Linda S Yost                                        3239 Carrollton Rd                                                Hampstead, MD 21074‐1912                                            wesley@wesleychurch‐hampstead.org    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Teena Woodworth                                     2310 E Oak St                                                     Conway, AR 72032                                                    twoody888@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Reverend Sylvester E Chase                          1164 San Bernard St                                               Austin, TX 78702                                                    thedeskofwesley@sbcglobal.net        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Rev Thomas Corum                                    2206 4th St                                                       Charleston, IL 61920‐3903                                           tcorum@charlestonwesley.org          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Tracy Lichliter                                     3409 Ajax Rd                                                      St Joseph, MO 64503                                                 stjoewesley@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               3810 Major Dr                                             Beaumont, TX 77713                                                                                                                    rivey@wesleyumc.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Henrietta D Airllo                                  55 N Main St                                                      P.O. Box 286                      E Windsor, CT 06088               revricki2@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Lynn Maggie Blair Trygstad                          21 E Franklin Ave                                                 Naperville, IL 60540                                                pastrtedd@ymail.com                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Rev Heather Kattan                                  8 Fairbanks Way                                                   Framingham, MA 01701                                                pastorfumcl@verizon.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Heather Anne Kattan                                 80 Beacon St                                                      Framingham, MA 01701                                                pastorfumcl@verizon.com              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Craig Michael Luttrell                              1405 S Pennsylvania Ave                                           Mason City, IA 50401                                                pastorcraig@mcwesley.org             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Gary E Robinson Chain of Trustees                   114 Main St                                                       Worcester, MA 01608                                                 office@westworc.org                  Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Thomas Augustine, Treasurer & Larry Joseph Frank,   85 Stanford Ave                                                   Pueblo, CO 81005                                                    office@wesleyumcpueblo.org           Email
                                                                                            Ttee Chair                                                                                                                                                                                                                           First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Nancy Mix                                           4600 60th St                                                      Kenosha, WI 53144                                                   nmix@kenoshawesley.org               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Mark A Larsen                                       215 4th St W                                                      P.O. Box 174                      Edgeley, ND 58433                 markalarsen@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Becky Mcmahen                                       300 N Cumberland Ave                                              Russellville, AR 72801‐2510                                         lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               c/o Friday, Eldredge & Clark LLP                          Attn: Lindsey Emerson Raines                                      400 W Capitol Ave, Ste 2000       Little Rock, AR 72201             lraines@fridayfirm.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Jeff Slemp                                          922 West Republic Rd                                              Springfield, MO 65807                                               jslemp@wesleymethodist.com           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Sandralee Hitchcock                                 34 Pleasant St                                                    E Windsor, CT 06088                                                 jeeplady43@sbcglobal.net             Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               8 North St                                                Salem, MA 01970                                                                                                                       info@salemwesley.org                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Gerald Willis Krueger                               761 Florida Ave                                                   Oshkosh, WI 54902‐6549                                              gwkrueger@new.rr.com                 Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Virginia A Doran                                    485 Main St                                                       Wareham, MA 02571                                                   ginnyd@bu.edu                        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Rev Jeff Lathrop                                    1600 4th Ave N                                                    Grand Forks, ND 58203                                               gfwesley@midconetwork.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Willie Edward Everett                               107 Trailblazer Dr                                                Bastrop, TX 78602                                                   everettwill@me.com                   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St. Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Daniel Genan                                        55 Woodland St                                                    Lincoln, RI 02865                                                   dangenannt@comcast.net               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Rev David Mckinney (Pastor)                         1000 Day Hollow Rd                                                Endicott, NY 13760                                                  circuitrider557@gmail.com            Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               Attn: Chairof Trustees, Wesley United Methodist Church    P.O. Box 864                                                      Greenville, TX 75402                                                admin@wesleyumcgreenville.org        Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church                               209 S State St                                            Dover, DE 19901                                                                                                                                                            First Class Mail
Voting Party                   Wesley United Methodist Church                               1385 Oakway Rd                                            Eugene, OR 97401                                                                                                                                                           First Class Mail
Voting Party                   Wesley United Methodist Church                               500 Leawood Dr                                            Parsons, KS 67357                                                                                                                                                          First Class Mail
Voting Party                   Wesley United Methodist Church                               14 N 48th Ave                                             Yakima, WA 98908                                                                                                                                                           First Class Mail
Voting Party                   Wesley United Methodist Church ‐ Elkton                      c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church ‐ Marco Island                c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church (177466)                      c/o Bentz Law Firm                                        Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church (177466)                      c/o Bentz Law Firm                                        Attn: Sean Bollman                                                680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church (178461)                      c/o Bentz Law Firm                                        Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church (4200)                        c/o Bentz Law Firm                                        Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church (89400)                       c/o Bentz Law Firm                                        Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church (89400)                       c/o Bentz Law Firm                                        Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church (99944)                       c/o Bentz Law Firm                                        Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church (99944)                       c/o Bentz Law Firm                                        Attn: Leonard Spagnolo & Daniel Maier                             680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com               Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church (Sikeston, Mo)                Attn: Larry Gregory                                       600 Pine St                                                       P.O. Box 472                      Sikeston, MO 63801                churchoffice@wesleyumcsikeston.com   Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church 825 N Belair Rd Evans, Ga 3   c/o Bradley Arant Boult Cummings, LLP                     Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church At Frederica                  6520 Frederica Rd                                         St Simons Island, GA 31522                                                                                                            churchoffice@wesleyssi.org           Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church Bakersfield                   Attn: Nicolas Strobel, Chair of Trustees                  1314 Oswell St                                                    Bakersfield, CA 93306                                               Lnstrobel@earthlink.net              Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church Brla                          Attn: Melvin Mitchell Sr Administrative Council Wumc      544 Government St                                                 Baton Rouge, LA 70802‐6115                                          mitch.mitchell999@gmail.com          Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church Of Bloomington, Inc           502 E Front                                               Bloomington, IL 61701                                                                                                                 depewlaw@aol.com                     Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church Of Culver                     Attn: Thomas Harzula Jr                                   511 School St                                                     Culver, IN 46511                                                    tom.harzula@inumc.org                Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church Of El Reno                    Attn: Treasurer                                           101 S Barker Ave                                                  El Reno, OK 73036                                                   administration@wesleyelreno.org      Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church Of Hartsville, Inc            Attn: Rev Robert A Adams                                  145 E College Ave                                                 Hartsville, SC 29550                                                raadams@umcsc.org                    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wesley United Methodist Church Of Hibbing                    Attn: Andrew Petter                                       303 E 23rd St                                                     Hibbing, MN 55746‐1916                                              office@unitedmethodisthibbing.org    Email
                                                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                                     Page 429 of 442
                                                                                Case 20-10343-LSS                                                     Doc 8171                                             Filed 01/06/22                                                      Page 445 of 457
                                                                                                                                                                                              Exhibit B
                                                                                                                                                                                               Service List
                                                                                                                                                                                        Served as set forth below

        Description                                                      Name                                                                                                               Address                                                                                                               Email                 Method of Service
Voting Party                   Wesley United Methodist Church Of Johns Island                Attn: Vernell Brown                                2718 River Rd                                                     Johns Island, SC 29455                                                 vernell310@att.net                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church Of Johns Island                Attn: Vernell Brown                                2907 Cane Slash Rd                                                Johns Island, SC 29457                                                 vernell310@att.net                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church Of Medford                     Attn: Shinhyung Ahn                                100 Winthrop St                                                   Medford, MA 02155                                                      bostonwesley@gmail.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church Of Muscatine                   Attn: Pastor, Wesley Umc                           400 Iowa Av                                                       Muscatine, IA 52761                                                    brian@wesleyonline.org              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church Of San Jose                    Attn: Dale I Sasaki, Treasurer                     566 N 5th St                                                      San Jose, CA 95112                                                     office@wesleysj.net                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church of Shawnee Oklahoma            Attn: Trustee of Wesley UMC                        302 E. Independence                                               Shawnee, OK 74804                                                      wesleychurchoffice@sbcglobal.net    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church Oklahoma City                  Attn: Robert Sheets                                3100 Rosewood Ln                                                  Oklahoma City, OK 73120                                                rnsheets@philipsmurrah.com          Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church Oklahoma City                  c/o Philips Murrah Pc                              Attn: Robert Noel Sheets                                          101 Robinson Ave, 13th Fl          Oklahoma City, OK 73102                                                 First Class Mail
Voting Party                   Wesley United Methodist Church Springfield                    Attn: Silesia Mckenzie                             741 State St                                                      Springfield, MA 01109                                                  silesia52@aol.com                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church Springfield                    Attn: Ishelli Whyte                                741 State St                                                      Springfield, MA 01109                                                  ishelli@msn.com                     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church Waterbury                      Attn: Treasurer                                    P.O. Box 214                                                      56 S Main St                       Waterbury, VT 05676                 wtbskip@comcast.net                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church, Concord Nh                    Attn: Treasurer                                    79 Clinton St                                                     Concord, NH 03301‐2300                                                 concordwumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church, Hadley Ma                     Attn: Trustees, Wesley Umc                         98 N Maple St                                                     Hadley, MA 01035                                                       blatchara@comcast.net               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church, Inc                           Attn: W E Yeager                                   5405 E Commons Dr                                                 Mooresville, IN 46158                                                  weyeager@att.net                    Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church, Jefferson City, Missouri      Attn: Thomas Vansant                               2727 Wesley Dr                                                    Jefferson City, MO 65109                                                                                   First Class Mail
Voting Party                   Wesley United Methodist Church, Macomb                        Attn: Rev Dr Scott Grulke                          1212 W Calhoun St                                                 Macomb, IL 61455                                                       pastorscott@macombwesleyumc.com     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   Wesley United Methodist Church, Sulphur Springs, Tx           Attn: Chairman of Board of Trustees                614 Texas St                                                      Sulphur Springs, TX 75482                                              hsfoster52@yahoo.com                Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Wesley United Methodist Men                                   Three Fires Council 127                            14 N May St                                                       Aurora, IL 60506‐3867                                                                                      First Class Mail
Chartered Organization         Wesley United Methodist Men                                   Three Fires Council 127                            21 E Franklin Ave                                                 Naperville, IL 60540‐4625                                                                                  First Class Mail
Chartered Organization         Wesley United Methodist Men                                   Westark Area Council 016                           300 N Cumberland Ave                                              Russellville, AR 72801‐2510                                                                                First Class Mail
Chartered Organization         Wesley Utd Methodist Ch In Nescopeck                          Columbia‐Montour 504                               401 Broad St                                                      Nescopeck, PA 18635‐1323                                                                                   First Class Mail
Chartered Organization         Wesley Utd Methodist Ch Methodist Men                         Mountaineer Area 615                               107 W High St                                                     Kingwood, WV 26537‐1412                                                                                    First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   W D Boyce 138                                      502 E Front St                                                    Bloomington, IL 61701‐5312                                                                                 First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Columbia‐Montour 504                               130 W 3rd St                                                      Bloomsburg, PA 17815‐1709                                                                                  First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Heart of Virginia Council 602                      3701 Conduit Rd                                                   Colonial Heights, VA 23834‐2631                                                                            First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Georgia‐Carolina 093                               825 N Belair Rd                                                   Evans, GA 30809‐4253                                                                                       First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Westark Area Council 016                           2200 Phoenix Ave                                                  Fort Smith, AR 72901‐8029                                                                                  First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Southwest Florida Council 088                      350 S Barfield Dr                                                 Marco Island, FL 34145‐5108                                                                                First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Central Florida Council 083                        2075 Meadowlane Ave                                               Melbourne, FL 32904‐4951                                                                                   First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Illowa Council 133                                 400 Iowa Ave                                                      Muscatine, IA 52761‐3820                                                                                   First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Pine Burr Area Council 304                         8900 Old Spanish Trl                                              Ocean Springs, MS 39564‐9781                                                                               First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Last Frontier Council 480                          302 E Independence St                                             Shawnee, OK 74804‐3833                                                                                     First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Patriots Path Council 358                          1500 Plainfield Ave                                               South Plainfield, NJ 07080‐3002                                                                            First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Ozark Trails Council 306                           922 W Republic Rd                                                 Springfield, MO 65807‐5821                                                                                 First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Pennsylvania Dutch Council 524                     40 W Main St                                                      Strasburg, PA 17579‐1517                                                                                   First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Pony Express Council 311                           9th & Washington                                                  Trenton, MO 64683                                                                                          First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   National Capital Area Council 082                  711 Spring St Se                                                  Vienna, VA 22180‐7502                                                                                      First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Laurel Highlands Council 527                       1229 Prescott St                                                  White Oak, PA 15131‐1533                                                                                   First Class Mail
Chartered Organization         Wesley Utd Methodist Church                                   Gamehaven 299                                      114 W Broadway St                                                 Winona, MN 55987‐3551                                                                                      First Class Mail
Chartered Organization         Wesley Utd Methodist Men                                      National Capital Area Council 082                  8412 Richmond Ave                                                 Alexandria, VA 22309‐2328                                                                                  First Class Mail
Chartered Organization         Wesley Utd Methodist Mens Club                                Central Georgia Council 096                        4256 Hartley Bridge Rd                                            Macon, GA 31216‐5640                                                                                       First Class Mail
Chartered Organization         Wesley Utd Methodist Mens Club                                Winnebago Council, Bsa 173                         14th & S Penn Ave                                                 Mason City, IA 50401                                                                                       First Class Mail
Chartered Organization         Wesley Way Utd Methodist Church                               Flint River Council 095                            150 John Wesley Way                                               Mcdonough, GA 30252‐2983                                                                                   First Class Mail
Chartered Organization         Wesley/Golden Gate Youth Services                             Grand Canyon Council 010                           1625 N 39th Ave                                                   Phoenix, AZ 85009‐2149                                                                                     First Class Mail
Chartered Organization         Wesleyan Academy                                              Puerto Rico Council 661                            P.O. Box 1489                                                     Guaynabo, PR 00970‐1489                                                                                    First Class Mail
Voting Party                   Wesleyan Chapel United Methodist Church (Wilmington Nc)       Attn: Sandra Stephenson                            10255 US Hwy 17 N                                                 Wilmington, NC 28411                                                   churchoffice@wesleyanchapel.org     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         Wesleyan Chapel Utd Methodist Church                          Cape Fear Council 425                              10255 US Hwy 17                                                   Wilmington, NC 28411‐6855                                                                                  First Class Mail
Chartered Organization         Wesleyan School, Inc                                          Atlanta Area Council 092                           5405 Spalding Dr                                                  Peachtree Corners, GA 30092‐2614                                                                           First Class Mail
Chartered Organization         Wessagusset Yacht Club                                        Mayflower Council 251                              P.O. Box 74                                                       N Weymouth, MA 02191‐0001                                                                                  First Class Mail
Voting Party                   West Addison United Methodist Church                          Michael Kennith Doran                              10 Church St, Route & Jersey St                                   West Addison, VT 05491                                                 mkdovan9@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   West Addison United Methodist Church                          Attn: Michael Doran                                3 Country Commons, Ste 3A                                         Hopkins Rd                         Vergennes, VT 05491                 mkdoran9@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Albany Fire District                                     Twin Rivers Council 364                            113 Sand Creek Rd                                                 Albany, NY 12205‐1870                                                                                      First Class Mail
Chartered Organization         West Alexandria Lion Club                                     Miami Valley Council, Bsa 444                      16 W Main St                                                      West Alexandria, OH 45381                                                                                  First Class Mail
Chartered Organization         West Allegheny School District                                Laurel Highlands Council 527                       101 Bruno Lane                                                    Imperial, PA 15126                                                                                         First Class Mail
Chartered Organization         West Allis Rotary Club                                        Three Harbors Council 636                          1323 S 65th St                                                    Milwaukee, WI 53214‐3251                                                                                   First Class Mail
Chartered Organization         West Angeles Church Of God In Christ                          Greater Los Angeles Area 033                       3010 Crenshaw Blvd                                                Los Angeles, CA 90016‐4263                                                                                 First Class Mail
Chartered Organization         West Asheboro Baptist Church                                  Old N State Council 070                            831 Uwharrie St                                                   Asheboro, NC 27203‐7660                                                                                    First Class Mail
Chartered Organization         West Ashley High School Njrotc                                Coastal Carolina Council 550                       4060 Wildcat Blvd                                                 Charleston, SC 29414‐5851                                                                                  First Class Mail
Chartered Organization         West Avon Congregational Church                               Connecticut Rivers Council, Bsa 066                280 Country Club Rd                                               Avon, CT 06001‐2508                                                                                        First Class Mail
Chartered Organization         West Babylon Lions Club                                       Suffolk County Council Inc 404                     399 Little East Neck Rd                                           West Babylon, NY 11704‐6518                                                                                First Class Mail
Voting Party                   West Baldwin United Methodist Church                          Attn: Patricia T Sunderland                        92 Depot Rd                                                       West Baldwin, ME 04091                                                 sunderla4276@roadrunner.com         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Barre Utd Methodist Church                               Iroquois Trail Council 376                         5377 Eagle Harbor Rd                                              Albion, NY 14411‐9407                                                                                      First Class Mail
Voting Party                   West Belmar United Methodist Church 1000 17Th Ave Wall Town   c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                     erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Bemis Middle School                                      West Tennessee Area Council 559                    324 2nd St                                                        Jackson, TN 38301‐7488                                                                                     First Class Mail
Chartered Organization         West Bend Medical                                             Bay‐Lakes Council 635                              551 S Silverbrook Dr                                              West Bend, WI 53095‐3868                                                                                   First Class Mail
Chartered Organization         West Bend Police Dept                                         Bay‐Lakes Council 635                              350 Vine St                                                       West Bend, WI 53095‐4607                                                                                   First Class Mail
Chartered Organization         West Bloomfield United Methodist Church                       Great Lakes Fsc 272                                4100 Walnut Lake Rd                                               West Bloomfield, MI 48323‐2771                                                                             First Class Mail
Chartered Organization         West Bloomfield Volunteer Fire Dept                           Seneca Waterways 397                               P.O. Box 24                                                       West Bloomfield, NY 14585‐0024                                                                             First Class Mail
Voting Party                   West Branch Charge (181322)                                   c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   West Branch Charge (181958)                                   c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   West Branch Charge (189180)                                   c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   West Branch Charge (189203)                                   c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   West Branch Charge (189203)                                   c/o Bentz Law Firm                                 Attn: Sean Bollman                                                680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Branch Lions Club                                        Hawkeye Area Council 172                           239 290th St                                                      West Branch, IA 52358‐8571                                                                                 First Class Mail
Voting Party                   West Branch United Methodist Church (60311)                   c/o Bentz Law Firm                                 Attn: Leonard Spagnolo                                            680 Washington Rd, Ste 200         Pittsburgh, PA 15228                lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Bristol Pto                                              Connecticut Rivers Council, Bsa 066                500 Clark Ave                                                     Bristol, CT 06010‐9601                                                                                     First Class Mail
Chartered Organization         West Broad Street Ymca                                        Coastal Georgia Council 099                        1110 May St                                                       Savannah, GA 31415‐5470                                                                                    First Class Mail
Chartered Organization         West Broward Masonic Lodge No 253                             South Florida Council 084                          927 NW 178th Ave                                                  Pembroke Pines, FL 33029‐3109                                                                              First Class Mail
Voting Party                   West Burke United Methodist Church                            Attn: Pastor                                       P.O. Box 543                                                      Lyndonville, VT 05851                                                                                      First Class Mail
Voting Party                   West Burlington United Methodist Church                       Attn: Pastor Or Treasurer & Rev Elizabeth A Bell   300‐308 Broadway                                                  West Burlington, IA 52655                                              wbumc@q.com                         Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Burlington Utd Methodist Church                          Mississippi Valley Council 141 141                 308 Broadway St                                                   West Burlington, IA 52655‐1201                                                                             First Class Mail
Chartered Organization         West Caldwell Njrotc                                          Piedmont Council 420                               300 W Caldwell Dr                                                 Lenoir, NC 28645‐9672                                                                                      First Class Mail
Chartered Organization         West Cape May Fire Co                                         Garden State Council 690                           732 Broadway                                                      Cape May, NJ 08204‐1214                                                                                    First Class Mail
Chartered Organization         West Carrollton Police Explorers                              Miami Valley Council, Bsa 444                      300 E Central Ave                                                 West Carrollton, OH 45449‐1806                                                                             First Class Mail
Chartered Organization         West Charleston Church                                        Miami Valley Council, Bsa 444                      4817 S State Route 202                                            Tipp City, OH 45371‐9701                                                                                   First Class Mail
Chartered Organization         West Charleston Church Of The Brethren                        Miami Valley Council, Bsa 444                      4817 S State Route 202                                            Tipp City, OH 45371‐9701                                                                                   First Class Mail
Chartered Organization         West Charlotte High School                                    Mecklenburg County Council 415                     2219 Senior Dr                                                    Charlotte, NC 28216‐4303                                                                                   First Class Mail
Chartered Organization         West Charlotte High School Group A                            Mecklenburg County Council 415                     2219 Senior Dr                                                    Charlotte, NC 28216‐4303                                                                                   First Class Mail
Chartered Organization         West Charlotte High School Group B                            Mecklenburg County Council 415                     2219 Senior Dr                                                    Charlotte, NC 28216‐4303                                                                                   First Class Mail
Chartered Organization         West Charlotte High School Group C                            Mecklenburg County Council 415                     2219 Senior Dr                                                    Charlotte, NC 28216‐4303                                                                                   First Class Mail
Voting Party                   West Chelmsford United Methodist Church                       Attn: Rev Angus Mack Hagins                        242 Main St                                                       N Chelmsford, MA 01863‐2106                                            office@wcumc.us                     Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Chester Methodist Church                                 Chester County Council 539                         129 S High St                                                     West Chester, PA 19382‐3226                                                                                First Class Mail
Chartered Organization         West Chester Nazarene                                         Dan Beard Council, Bsa 438                         7951 Tylersville Rd                                               West Chester, OH 45069‐2508                                                                                First Class Mail
Chartered Organization         West Chester Police                                           Dan Beard Council, Bsa 438                         9577 Beckett Rd                                                   West Chester, OH 45069‐5049                                                                                First Class Mail
Chartered Organization         West Chester Society Of Friends                               Chester County Council 539                         415 N High E Marshall St                                          West Chester, PA 19380                                                                                     First Class Mail
Chartered Organization         West Chestnut Baptist Church                                  Lincoln Heritage Council 205                       1725 W Chestnut St                                                Louisville, KY 40203‐1609                                                                                  First Class Mail
Voting Party                   West Chicago First                                            643 E Washington St                                West Chicago, IL 60186                                                                                                                   pastoravani@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Chicago Police Dept                                      Three Fires Council 127                            325 Spencer St                                                    West Chicago, IL 60185‐3154                                                                                First Class Mail
Chartered Organization         West Citrus Elks Lodge 2693                                   Greater Tampa Bay Area 089                         P.O. Box 3719                                                     Homosassa Springs, FL 34447‐3719                                                                           First Class Mail
Chartered Organization         West Columbia 1St Ward                                        Indian Waters Council 553                          1330 Whippoorwill Dr                                              West Columbia, SC 29169‐4754                                                                               First Class Mail
Chartered Organization         West Congregational Church                                    The Spirit of Adventure 227                        767 Broadway                                                      Haverhill, MA 01832‐1209                                                                                   First Class Mail
Voting Party                   West Congregational Church, Inc Ucc                           c/o The Tamposi Law Group, PC                      Attn: Peter N Tamposi                                             159 Main St                        Nashua, NH 03060                    peter@thetamposilawgroup.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Corpus Christi Rotary                                    South Texas Council 577                            P.O. Box 4613                                                     Corpus Christi, TX 78469‐4613                                                                              First Class Mail
Chartered Organization         West County Middle School                                     Greater St Louis Area Council 312                  1124 Main St                                                      Leadwood, MO 63653‐1214                                                                                    First Class Mail
Chartered Organization         West Covina Fire Explorers                                    Greater Los Angeles Area 033                       1435 W Puente Ave                                                 West Covina, CA 91790‐1224                                                                                 First Class Mail
Chartered Organization         West Covina Police Dept                                       Greater Los Angeles Area 033                       1444 W Garvey Ave S                                               West Covina, CA 91790‐2716                                                                                 First Class Mail
Voting Party                   West Covina United Methodist Church                           Attn: Pastor James E Brooking                      718 S Azusa Ave                                                   West Covina, CA 91791                                                  wcumcoffice1@verizon.net            Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   West Cumberland United Methodist Church                       Attn: Rev Charles Hale                             33 Old Thompson Rd                                                Buxton, ME 04093                                                       hacharl333@aol.com                  Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Dallas Community Church                                  Circle Ten Council 571                             2215 Canada Dr                                                    Dallas, TX 75212‐1614                                                                                      First Class Mail
Chartered Organization         West De Pere Pto                                              Bay‐Lakes Council 635                              1155 Westwood Dr                                                  De Pere, WI 54115‐1014                                                                                     First Class Mail
Chartered Organization         West Deptford Lions Club                                      Garden State Council 690                           P.O. Box 273                                                      Thorofare, NJ 08086‐0273                                                                                   First Class Mail
Voting Party                   West Des Moines United Methodist Church                       720 Grand Ave                                      West Des Moines, IA 50265                                                                                                                rolson@wdmumc.org                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Dover Congregational Church Ucc                          Green Mountain 592                                 P.O. Box 710                                                      West Dover, VT 05356‐0710                                                                                  First Class Mail
Chartered Organization         West Dover Pto                                                Jersey Shore Council 341                           50 Blue Jay Dr                                                    Toms River, NJ 08755‐8004                                                                                  First Class Mail
Voting Party                   West Dundee First                                             318 W Main St                                      West Dundee, IL 60118                                                                                                                    wwitt@barringtonumc.com             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Earl Lions Club                                          Attn: Abram Shrom                                  410 Rose Hill Rd                                                  Ephrata, PA 17522‐9597                                                                                     First Class Mail
Chartered Organization         West Edgecombe Ruritan Club                                   East Carolina Council 426                          P.O. Box 216                                                      Rocky Mount, NC 27802                                                                                      First Class Mail
Chartered Organization         West Elementary After School Program                          Middle Tennessee Council 560                       400 Clark Blvd                                                    Mc Minnville, TN 37110‐2008                                                                                First Class Mail
Chartered Organization         West Elementary Pto                                           Simon Kenton Council 441                           41 Central Ave                                                    Athens, OH 45701‐1502                                                                                      First Class Mail
Chartered Organization         West Elementary Pto                                           Middle Tennessee Council 560                       9315 Lebanon Rd                                                   Mt Juliet, TN 37122‐5534                                                                                   First Class Mail
Chartered Organization         West Elementary Pto                                           President Gerald R Ford 781                        1840 38th St Sw                                                   Wyoming, MI 49519‐3768                                                                                     First Class Mail
Chartered Organization         West Emory Presbyterian Church                                Great Smoky Mountain Council 557                   1035 Emory Church Rd                                              Knoxville, TN 37922‐5206                                                                                   First Class Mail
Chartered Organization         West End Academy Pta                                          Greater Alabama Council 001                        1840 Pearson Ave Sw                                               Birmingham, AL 35211‐2417                                                                                  First Class Mail
Chartered Organization         West End Baptist Church                                       Heart of Virginia Council 602                      6506 Boydton Plank Rd                                             North Dinwiddie, VA 23803‐6725                                                                             First Class Mail
Chartered Organization         West End Collegiate Church                                    Greater New York Councils, Bsa 640                 245 W 77th St                                                     New York, NY 10024‐6801                                                                                    First Class Mail
Chartered Organization         West End Methodist Church                                     Occoneechee 421                                    P.O. Box 276                                                      West End, NC 27376‐0276                                                                                    First Class Mail
Chartered Organization         West End Neighborhood House                                   Del Mar Va 081                                     710 Lincoln St                                                    Wilmington, DE 19805                                                                                       First Class Mail
Chartered Organization         West End School Pta                                           Patriots Path Council 358                          447 Greenbrook Rd                                                 North Plainfield, NJ 07063‐1738                                                                            First Class Mail
Voting Party                   West End Umc                                                  Attn: Duane A Coppeler                             P.O. Box 276                                                      West End, NC 27376                                                     weumc@earthlink.net                 Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   West End United Methodist                                     Attn: Spencer Clemons                              906 Tunstil Rd Sw                                                 Hartselle, AL 35640                                                    k.clemons@charter.net               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West End United Methodist Church                              Occoneechee 421                                    P.O. Box 276                                                      West End, NC 27376‐0276                                                                                    First Class Mail
Voting Party                   West End United Methodist Church                              Attn: Sandra Durbin, Church Financial Officer      2200 West End Ave                                                 Nashville, TN 37203                                                    davisturner@comcast.net             Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   West End United Methodist Church Roanoke                      Attn: Ev Werness, Treasurer, West End Umc          1221 Campbell Ave Sw                                              Roanoke, VA 24016                                                      benlockhart@vaumc.org               Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Voting Party                   West End Unted Methodist                                      Attn: Spencer Clemons                              410 St Claire St                                                  Hartselle, AL 35640                                                                                        First Class Mail
Voting Party                   West Enosburg United Methodist Church                         Attn: Darlene Wright                               1811 Horseshoe Cir                                                Enosburg Falls, VT 05450                                                                                   First Class Mail
Chartered Organization         West Essex Youth Assoc                                        Northern New Jersey Council, Bsa 333               24 Cambridge Dr                                                   North Caldwell, NJ 07006‐4227                                                                              First Class Mail
Voting Party                   West Exeter United Methodist Church                           Attn: Sharon Rankins‐Burd                          1115 N Winfield Rd                                                West Winfield, NY 13491                                                pastorsharonrankinsburd@gmail.com   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Fargo Exchange Club                                      Northern Lights Council 429                        P.O. Box 522                                                      West Fargo, ND 58078‐0522                                                                                  First Class Mail
Chartered Organization         West Fargo Police Dept                                        Northern Lights Council 429                        800 4th Ave E, Ste 2                                              West Fargo, ND 58078‐2015                                                                                  First Class Mail
Voting Party                   West Farms Umc 153 Casino Dr Farmingdale, Nj 07727            c/o Bradley Arant Boult Cummings, LLP              Attn: Edwin G Rice                                                100 N Tampa St, Ste 2200           Tampa, FL 33602                     ERICE@BRADLEY.COM                   Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Fork Community Church                                    Westark Area Council 016                           288 Main St                                                       West Fork, AR 72774‐2904                                                                                   First Class Mail
Voting Party                   West Fort Ann Umc                                             Attn: Hannah Mudge                                 58 Greenmount Cem Ln                                              Whitehall, NY 12887                                                    hannah.marie.mudge@gmail.com        Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Fort Ann Utd Methodist Church                            Twin Rivers Council 364                            1011 Copeland Pond Rd                                             Fort Ann, NY 12827                                                                                         First Class Mail
Chartered Organization         West Frankfort Fire Dept                                      Katahdin Area Council 216                          240 Swanville Rd                                                  Frankfort, ME 04438‐3240                                                                                   First Class Mail
Chartered Organization         West Freehold Pto                                             Monmouth Council, Bsa 347                          100 Castranova Way                                                West Freehold School               Freehold, NJ 07728                                                      First Class Mail
Chartered Organization         West Friendship Volunteer Fire Dept                           Baltimore Area Council 220                         12535 State Route 99/Old Frederick Rd                             Sykesville, MD 21784                                                                                       First Class Mail
Voting Party                   West Fulton United Methodist Church                           P O Box 41                                         West Fulton, NY 12194                                                                                                                    mikeccpinc@hotmail.com              Email
                                                                                                                                                                                                                                                                                                                             First Class Mail
Chartered Organization         West Gardiner Rod & Gun Club                                  Pine Tree Council 218                              Collins Mills Rd                                                  West Gardiner, ME 04345                                                                                    First Class Mail
Chartered Organization         West Gardiner Rod And Gun Club                                Pine Tree Council 218                              297 Collins Mills Rd                                              West Gardiner, ME 04345‐3414                                                                               First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                               Page 430 of 442
                                                                                  Case 20-10343-LSS                                                Doc 8171                                      Filed 01/06/22                                                   Page 446 of 457
                                                                                                                                                                                    Exhibit B
                                                                                                                                                                                     Service List
                                                                                                                                                                              Served as set forth below

        Description                                                        Name                                                                                                   Address                                                                                                            Email                 Method of Service
Chartered Organization         West Goshen Lions Club                                    Chester County Council 539                           511 Veronica Rd                                           West Chester, PA 19380‐4647                                                                             First Class Mail
Chartered Organization         West Greenville Community Ctr                             Blue Ridge Council 551                               8 Rochester St                                            Greenville, SC 29611‐4821                                                                               First Class Mail
Chartered Organization         West Grove Presbyterian Church                            Chester County Council 539                           139 W Evergreen St                                        West Grove, PA 19390‐1023                                                                               First Class Mail
Voting Party                   West Grove Umc                                            c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Grove United Methodist Church                        c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Grove Utd Methodist Church                           Chester County Council 539                           300 N Guernsey Rd                                         West Grove, PA 19390‐9282                                                                               First Class Mail
Chartered Organization         West Handley Elementary ‐ Gifw                            Longhorn Council 662                                 2749 Putnam St                                            Fort Worth, TX 76112‐6513                                                                               First Class Mail
Voting Party                   West Hartford United Methodist Church                     Attn: Kenneth H Loveland                             1358 New Britain Ave                                      West Hartford, CT 06110                                             khloveland@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Haven Presbyterian Church                            East Carolina Council 426                            1001 W Haven Blvd                                         Rocky Mount, NC 27803‐1921                                                                              First Class Mail
Chartered Organization         West Haven Presbyterian Church                            East Carolina Council 426                            1001 W Haven Blvd                                         Rocky Mount, NC 27803‐1921                                                                              First Class Mail
Voting Party                   West Heights United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Heights Utd Methodist Church                         Quivira Council, Bsa 198                             745 N Westlink Ave                                        Wichita, KS 67212‐4404                                                                                  First Class Mail
Voting Party                   West Helena United Methodist Church                       Attn: Edward Schieffler                              109 N 6th St                                              W Helena, AR 72390                                                  eschieffler@gmail.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Helena Utd Methodist Church                          Quapaw Area Council 018                              109 N Sixth                                               West Helena, AR 72390‐2520                                                                              First Class Mail
Chartered Organization         West Hempfield Fire & Rescue Co                           Pennsylvania Dutch Council 524                       3519 Marietta Ave                                         Lancaster, PA 17601‐1127                                                                                First Class Mail
Chartered Organization         West Hempfield Presbyterian Church                        Westmoreland Fayette 512                             8 W Hempfield Dr                                          Irwin, PA 15642‐4526                                                                                    First Class Mail
Chartered Organization         West High School Jrotc                                    Denver Area Council 061                              951 Elati St                                              Denver, CO 80204‐3939                                                                                   First Class Mail
Voting Party                   West Highlands United Methodist Church ‐ Kennewick        c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Highlands Utd Methodist Church                       Blue Mountain Council 604                            17 S Union St                                             Kennewick, WA 99336‐2253                                                                                First Class Mail
Chartered Organization         West Hills Baptist Church                                 Great Smoky Mountain Council 557                     409 N Winston Rd                                          Knoxville, TN 37909‐2140                                                                                First Class Mail
Voting Party                   West Hills United Methodist Church                        P O Box 467                                          Huntington Station, NY 11746                                                                                                  melollett@gmail.com                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Iredell Jrotc                                        Piedmont Council 420                                 213 Warrior Dr                                            Statesville, NC 28625‐1615                                                                              First Class Mail
Voting Party                   West Jefferson United Methodist Church                    c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Jefferson Utd Methodist Church                       Old Hickory Council 427                              107 W 2nd St                                              West Jefferson, NC 28694                                                                                First Class Mail
Voting Party                   West Kennebunk United Methodist Church                    Attn: Edward Anthony Bove                            160 Alfred St                                             P.O. Box 532                      W Kennebunk, ME 04094             wkumc@hotmail.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Kingston Fire Dept                                   Narragansett 546                                     P.O. Box 233                                              West Kingston, RI 02892‐0233                                                                            First Class Mail
Voting Party                   West Lafayette United Methodist Church                    Attn: William Owens                                  P.O. Box 787                                              413 1/2 Main St                   Coshocton, OH 43812               bill@owensmanning.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Lafayette Utd Methodist Church                       Muskingum Valley Council, Bsa 467                    120 W Union Ave                                           West Lafayette, OH 43845‐1115                                                                           First Class Mail
Chartered Organization         West Laurel Civic Assoc                                   National Capital Area Council 082                    P.O. Box 387                                              Laurel, MD 20725‐0387                                                                                   First Class Mail
Voting Party                   West Lawn Umc                                             c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Lawn Utd Methodist Church                            Hawk Mountain Council 528                            15 Woodside Ave                                           West Lawn, PA 19609‐1664                                                                                First Class Mail
Chartered Organization         West Lebanon Christian Church                             Sagamore Council 162                                 201 S Clinton St                                          West Lebanon, IN 47991                                                                                  First Class Mail
Chartered Organization         West Liberty Rotary Club                                  Illowa Council 133                                   205 W 6th St                                              West Liberty, IA 52776‐1248                                                                             First Class Mail
Voting Party                   West Liberty United Methodist Church                      Attn: Robert Stevenson                               20501 W Liberty Rd                                        White Hall, MD 21161                                                cemeteryma@aol.com                  Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Liberty United Methodist Church, Inc                 Attn: Howard B Elam Jr                               550 Main St                                               West Liberty, KY 41472                                              howard.elam@cbwl.cc                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Liberty Utd Methodist Church                         Baltimore Area Council 220                           20400 W Liberty Rd                                        White Hall, MD 21161‐9024                                                                               First Class Mail
Chartered Organization         West Lincoln Elementary ‐ Clc                             Cornhusker Council 324                               630 W Dawes Ave                                           Lincoln, NE 68521‐3958                                                                                  First Class Mail
Chartered Organization         West Lincoln Hs Jrotc                                     Piedmont Council 420                                 172 Shoal Rd                                              Lincolnton, NC 28092‐0772                                                                               First Class Mail
Chartered Organization         West Lincoln Kiwanis Club                                 Cornhusker Council 324                               210 O St                                                  Lincoln, NE 68508‐2322                                                                                  First Class Mail
Chartered Organization         West Linn Lions Club                                      Cascade Pacific Council 492                          19363 Willamette Dr 163                                   West Linn, OR 97068‐2010                                                                                First Class Mail
Voting Party                   West Lubec United Methodist Church                        Attn: John E Goodwin                                 411 Shackford St                                          Eastport, ME 04631                                                  phjegood@aol.com                    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Manheim Pto                                          New Birth of Freedom 544                             2000 Baltimore Pike                                       Hanover, PA 17331‐8448                                                                                  First Class Mail
Chartered Organization         West Manor Youth                                          Atlanta Area Council 092                             570 Lynhurst Dr Sw                                        Atlanta, GA 30311‐2204                                                                                  First Class Mail
Voting Party                   West Market Street United Methodist Church                c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Metro District Fire‐Rescue                           Northern Star Council 250                            4251 Xylon Ave N                                          New Hope, MN 55428‐4881                                                                                 First Class Mail
Voting Party                   West Middleton Lutheran Church                            Attn: Pastor Connie Matye                            3763 Pioneer Rd                                           Verona, WI 53593                                                    admin@wmlchurch.org                 Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Milan United Methodist Church                        Attn: Andrew Mullins                                 57 W Village Rd                                           Milan, NH 03588                                                                                         First Class Mail
Voting Party                   West Milford Presbyterian Church                          Attn: Richard Hepp                                   13 Alvin Rd                                               West Milford, NJ 07480                                              rich.hepp.ee@gmail.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Milford Presbyterian Church                          Attn: Secretary / Finance Chair                      1452 Union Valley Rd                                      West Milford, NJ 07480‐1339                                         rich.hepp.ee@gmail.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Milford Presbyterian Church                          Attn: Secretary / Finance Chair                      1452 Union Valley Rd                                      West Milford, NJ 07480‐1339                                                                             First Class Mail
Voting Party                   West Milton Umc (4733)                                    c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Monroe Community Ctr                                 Louisiana Purchase Council 213                       400 S 5th St                                              West Monroe, LA 71292‐3422                                                                              First Class Mail
Chartered Organization         West Monroe Vol Fire Dept, Inc                            Longhouse Council 373                                County Route 11                                           West Monroe, NY 13167                                                                                   First Class Mail
Chartered Organization         West Mound School Pto                                     Simon Kenton Council 441                             2051 W Mound St                                           Columbus, OH 43223‐2018                                                                                 First Class Mail
Chartered Organization         West Muskingum Es Boosters                                Muskingum Valley Council, Bsa 467                    200 Kimes Rd                                              Zanesville, OH 43701‐8913                                                                               First Class Mail
Chartered Organization         West New York Police Dept                                 Northern New Jersey Council, Bsa 333                 428 60th St                                               West New York, NJ 07093‐2222                                                                            First Class Mail
Voting Party                   West Newton Umc                                           6843 Mendenhall Rd                                   Indianapolis, IN 46221                                                                                                        anne.gatts@inumc.org                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Newton United Methodist Church                       Crossroads of America 160                            6843 Mendenhall Rd                                        Indianapolis, IN 46221‐9646                                                                             First Class Mail
Chartered Organization         West Orange Elks Lodge 1590                               Northern New Jersey Council, Bsa 333                 424 Main St                                               West Orange, NJ 07052‐5723                                                                              First Class Mail
Chartered Organization         West Orthodontics                                         Greater Yosemite Council 059                         1500 Mchenry Ave                                          Modesto, CA 95350‐4529                                                                                  First Class Mail
Chartered Organization         West Oso Concerned Parent Group                           South Texas Council 577                              1102 Villarreal Dr                                        Corpus Christi, TX 78416‐2228                                                                           First Class Mail
Chartered Organization         West Ouachita High School                                 Louisiana Purchase Council 213                       4061 Caples Rd                                            West Monroe, LA 71292‐8283                                                                              First Class Mail
Chartered Organization         West Palm Beach Alumni Kappa League                       Gulf Stream Council 085                              P.O. Box 126                                              West Palm Beach, FL 33402‐0126                                                                          First Class Mail
Chartered Organization         West Palm Beach Police Dept                               Gulf Stream Council 085                              600 Banyan Blvd                                           West Palm Beach, FL 33401‐4514                                                                          First Class Mail
Chartered Organization         West Parish Church                                        The Spirit of Adventure 227                          129 Reservation Rd                                        Andover, MA 01810‐3430                                                                                  First Class Mail
Voting Party                   West Park                                                 c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Park Lutheran School                                 Lake Erie Council 440                                4260 Rocky River Dr                                       Cleveland, OH 44135‐1948                                                                                First Class Mail
Chartered Organization         West Penn Youth Ctr Corp                                  Hawk Mountain Council 528                            740 Orchard Rd                                            New Ringgold, PA 17960                                                                                  First Class Mail
Chartered Organization         West Peoria Residents Assoc                               W D Boyce 138                                        2506 W Rohmann Ave                                        West Peoria, IL 61604‐5031                                                                              First Class Mail
Chartered Organization         West Peoria Residents Assoc                               W D Boyce 138                                        2305 W Ayres Ave                                          West Peoria, IL 61604‐5410                                                                              First Class Mail
Chartered Organization         West Plains Lions Club                                    Ozark Trails Council 306                             2220 Lexington St                                         West Plains, MO 65775‐1606                                                                              First Class Mail
Chartered Organization         West Plains Optimist Club                                 Ozark Trails Council 306                             P.O. Box 873                                              West Plains, MO 65775‐0873                                                                              First Class Mail
Chartered Organization         West Plains Optimist Club                                 Ozark Trails Council 306                             P.O. Box 926                                              West Plains, MO 65775‐0926                                                                              First Class Mail
Voting Party                   West Plano Presbyterian Church                            2709 Custer Rd                                       Plano, TX 75075                                                                                                               office@westplanopresbyterian.org    Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Point Eagles                                         Mid‐America Council 326                              465 S Lincoln St                                          West Point, NE 68788‐2207                                                                               First Class Mail
Chartered Organization         West Point First Utd Methodist Church                     Chattahoochee Council 091                            306 E 7th St                                              West Point, GA 31833‐1612                                                                               First Class Mail
Chartered Organization         West Point Foundation                                     Cradle of Liberty Council 525                        P.O. Box 168                                              West Point, PA 19486‐0168                                                                               First Class Mail
Chartered Organization         West Point Presbyterian Church                            Chattahoochee Council 091                            1002 5th Ave                                              West Point, GA 31833‐1115                                                                               First Class Mail
Voting Party                   West Point Umc                                            c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Point United Methodist Church                        Attn: Pastor / Treasurer                             6910 Main St                                              Westpoint, IN 47992                                                 russ.alley@inumc.org                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Point Utd Methodist Church                           Heart of Virginia Council 602                        1020 Main St                                              West Point, VA 23181                                                                                    First Class Mail
Chartered Organization         West Police Dept                                          Longhorn Council 662                                 110 N Reagan St                                           West, TX 76691‐1463                                                                                     First Class Mail
Voting Party                   West Portland United Methodist Church                     c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Portland Utd Methodist Church                        Cascade Pacific Council 492                          4729 SW Taylors Ferry Rd                                  Portland, OR 97219‐5262                                                                                 First Class Mail
Chartered Organization         West Preparatory Academy                                  Lake Erie Council 440                                13111 Crossburn Ave                                       Cleveland, OH 44135‐5017                                                                                First Class Mail
Chartered Organization         West Redding Volunteer Fire Co 2                          Connecticut Yankee Council Bsa 072                   306 Umpawaug Rd                                           Redding, CT 06896‐1213                                                                                  First Class Mail
Chartered Organization         West Richmond Church Of The Brethren                      Heart of Virginia Council 602                        7612 Wanymala Rd                                          Richmond, VA 23229‐4239                                                                                 First Class Mail
Chartered Organization         West Ridge Church                                         Atlanta Area Council 092                             3522 Hiram Acworth Hwy                                    Dallas, GA 30157‐7336                                                                                   First Class Mail
Chartered Organization         West Ridge Elementary Pto                                 Denver Area Council 061                              13102 Monaco St                                           Thornton, CO 80602‐4693                                                                                 First Class Mail
Chartered Organization         West Ridge Fire Dept                                      French Creek Council 532                             3142 W 26th St                                            Erie, PA 16506‐2536                                                                                     First Class Mail
Chartered Organization         West Ridge Presbyterian Church                            Sequoyah Council 713                                 P.O. Box 1666                                             Mt Carmel, TN 37645‐1666                                                                                First Class Mail
Chartered Organization         West Ridge U Meth & St Margaret Mary Rcc                  Pathway To Adventure 456                             2324 W Chase Ave                                          Chicago, IL 60645‐1870                                                                                  First Class Mail
Voting Party                   West Ridge United Methodist Church                        c/o Granite District NE Annual Conference            Attn: Rev Taesung Kang                                    19 Norwich St                     Concord, NH 03301                 grds@neumc.org                      Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Rindge United Methodist Church                       Attn: Rev Taesung Kang                               19 Norwich St                                             Concord, NH 03301                                                   GRDS@neumc.org                      Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Ripley Baptist Church                                Buckskin 617                                         611 Main St W                                             Ripley, WV 25271‐1107                                                                                   First Class Mail
Chartered Organization         West River United Methodist Center                        Baltimore Area Council 220                           5100 Chalk Point Rd                                       Churchton, MD 21028                                                                                     First Class Mail
Voting Party                   West River United Methodist Center                        Attn: Christopher Schlieckert                        5100 Chalk Point Rd                                       West River, MD 20778                                                director@westrivercenter.org        Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Rockingham Ruritan Club                              Stonewall Jackson Council 763                        6040 Mt Clinton Pike                                      Rockingham, VA 22802‐0150                                                                               First Class Mail
Chartered Organization         West Rutland American Legion                              Green Mountain 592                                   P.O. Box 35                                               West Rutland, VT 05777‐0035                                                                             First Class Mail
Chartered Organization         West Rutland Rotary Club                                  Green Mountain 592                                   249 Skyline Dr                                            West Rutland, VT 05777‐9813                                                                             First Class Mail
Chartered Organization         West Salem Lions Club                                     Cascade Pacific Council 492                          5891 Ballymeade St Se                                     Salem, OR 97306‐9016                                                                                    First Class Mail
Chartered Organization         West Salem Lions Club                                     Gateway Area 624                                     P.O. Box 130                                              West Salem, WI 54669‐0130                                                                               First Class Mail
Voting Party                   West Salem United Methodist Church                        Attn: Larry Mann                                     80 E Buckeye St                                           W Salem, OH 44287                                                   wsumcaccts@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West School Parent Teachers Assoc                         Great Rivers Council 653                             100 Dix Rd                                                Jefferson City, MO 65109‐0962                                                                           First Class Mail
Chartered Organization         West Seattle Lions Club                                   Chief Seattle Council 609                            P.O. Box 46070                                            Seattle, WA 98146‐0070                                                                                  First Class Mail
Chartered Organization         West Seneca American Legion Post 735                      Greater Niagara Frontier Council 380                 35 Legion Pkwy                                            West Seneca, NY 14224‐2915                                                                              First Class Mail
Chartered Organization         West Shore Bureau Of Fire                                 New Birth of Freedom 544                             610 Herman Ave                                            Lemoyne, PA 17043‐1860                                                                                  First Class Mail
Chartered Organization         West Side Baptist Church                                  Quivira Council, Bsa 198                             304 S Seneca St                                           Wichita, KS 67213‐5540                                                                                  First Class Mail
Chartered Organization         West Side Christian Church                                Buffalo Trace 156                                    1200 N Red Bank Rd                                        Evansville, IN 47720‐3426                                                                               First Class Mail
Voting Party                   West Side Christian Church                                Attn: Treasurer                                      432 SW Lindenwood Ave                                     Topeka, KS 66606                                                    topekawscctreasurer@gmail.com       Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Side Church Of Richland Wa                           Blue Mountain Council 604                            615 Wright Ave                                            Richland, WA 99352‐3621                                                                                 First Class Mail
Chartered Organization         West Side Lions Club                                      Buffalo Trail Council 567                            4312 Thomason Dr                                          Midland, TX 79703‐6440                                                                                  First Class Mail
Chartered Organization         West Side Lutheran Church                                 Sioux Council 733                                    3901 N Oklahoma Ave                                       Sioux Falls, SD 57107‐6907                                                                              First Class Mail
Voting Party                   West Side Moravian Church                                 Attn: Anne Linda Hosterman                           402 3rd Ave                                               Bethlehem, PA 18018                                                 westsidemoravian@gmail.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Side Presbyterian Church                             Northern New Jersey Council, Bsa 333                 6 S Monroe St                                             Ridgewood, NJ 07450‐3722                                                                                First Class Mail
Chartered Organization         West Side Presbyterian Church                             Chief Seattle Council 609                            3601 California Ave Sw                                    Seattle, WA 98116‐3701                                                                                  First Class Mail
Voting Party                   West Side Presbyterian Church                             Attn: Clerk of Session                               West Side Presbyterian Church                             3601 California Ave Sw            Seattle, WA 98116                 office@wspc.org                     Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Side Presbyterian Church                             Attn: James C Cella, President                       6 S Monroe St                                             Ridgewood, NJ 07450‐3722                                            jamie.cella@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Side Presbyterian Church                             Attn: Jamie C Cella, President                       6 S Monroe St                                             Ridgewood, NJ 07450                                                 jamie.cella@yahoo.com               Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Side Presbyterian Church                             Attn: Charles M Carella                              5 Becker Farm Rd                                          Roseland, NJ 07068                                                  Cmcarella@carellabyrne.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Side Presbyterian Church                             c/o Carella, Byrne Et Al                             Attn: Charles M Carella                                   5 Becker Farm Rd                  Roseland, NJ 07068                cmcarella@carellabyrne.com          Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Side United Methodist Church                         Quivira Council, Bsa 198                             1313 W Lydia St                                           Wichita, KS 67213‐4247                                                                                  First Class Mail
Chartered Organization         West Side United Methodist Church                         Quivira Council, Bsa 198                             1313 W Lydia St                                           Wichita, KS 67213‐4247                                                                                  First Class Mail
Voting Party                   West Side United Methodist Church                         Attn: Treasurer, West Side United Methodist Church   900 S 7th St                                              Ann Arbor, MI 48103                                                 jmeretta@sbcglobal.net              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Side United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Side United Methodist Church (180828)                c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Side Utd Methodist Church                            Patriots Path Council 358                            16 Maxim Dr                                               Hopatcong, NJ 07843‐1911                                                                                First Class Mail
Chartered Organization         West Smithfield Elementary Pto                            Tuscarora Council 424                                2665 Galilee Rd                                           Smithfield, NC 27577‐7992                                                                               First Class Mail
Voting Party                   West Springfield United Methodist Church (89967)          c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Voting Party                   West Springfield United Methodist Church (89967)          c/o Bentz Law Firm                                   Attn: Sean Bollman                                        680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Springfield Utd Methodist Church                     Western Massachusetts Council 234                    800 Amostown Rd                                           West Springfield, MA 01089‐4377                                                                         First Class Mail
Chartered Organization         West Stafford Fire Dept                                   Connecticut Rivers Council, Bsa 066                  144 W Stafford Rd                                         Stafford Springs, CT 06076‐1012                                                                         First Class Mail
Chartered Organization         West Stanislaus Fire District                             Greater Yosemite Council 059                         344 W Las Palmas Ave                                      Patterson, CA 95363‐2541                                                                                First Class Mail
Voting Party                   West Swanton United Methodist Church                      Attn: Linda Barrette                                 138 Campbell Bay Rd                                       Swanton, VT 05488                                                   ev.jill.colley.robinson@gmail.com   Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Tacoma Optimist Club                                 Pacific Harbors Council, Bsa 612                     4344 Memory Ln W                                          University Place, WA 98466‐1127                                                                         First Class Mail
Chartered Organization         West Tampa Elementary School Pta                          Greater Tampa Bay Area 089                           2700 W Cherry St                                          Tampa, FL 33607‐3352                                                                                    First Class Mail
Chartered Organization         West Tennessee Healthcare                                 West Tennessee Area Council 559                      620 Skyline Dr                                            Jackson, TN 38301‐3923                                                                                  First Class Mail
Chartered Organization         West Trenton Presbyterian Church                          Washington Crossing Council 777                      490 Grand Ave                                             Ewing, NJ 08628‐2915                                                                                    First Class Mail
Chartered Organization         West Tualatin View Ptc                                    Cascade Pacific Council 492                          8800 SW Leahy Rd                                          Portland, OR 97225‐6400                                                                                 First Class Mail
Chartered Organization         West Union Lions Club                                     Simon Kenton Council 441                             P.O. Box 555                                              West Union, OH 45693‐0555                                                                               First Class Mail
Voting Party                   West Union United Methodist Church                        Attn: Rev Frederick Burns, Jr                        301 Hansen Blvd                                           West Union, IA 52175                                                wuumchurch@gmail.com                Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Unity American Legion Post 669                       Black Swamp Area Council 449                         E Jackson St                                              West Unity, OH 43570                                                                                    First Class Mail
Chartered Organization         West University Church Of Christ                          9410 W Westridge Dr                                  Odessa, TX 79764                                                                                                                                                  First Class Mail
Voting Party                   West University United Methodist Church                   Attn: Linda M Christians                             3611 University Blvd                                      Houston, TX 77005                                                   lchristians@westumethodist.org      Email
                                                                                                                                                                                                                                                                                                                First Class Mail
Chartered Organization         West Valley Christian Church                              W L A C C 051                                        22450 Sherman Way                                         West Hills, CA 91307‐2326                                                                               First Class Mail
Chartered Organization         West Valley Presbyterian Church                           Silicon Valley Monterey Bay 055                      6191 Bollinger Rd                                         Cupertino, CA 95014‐4630                                                                                First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                     Page 431 of 442
                                                                                   Case 20-10343-LSS                                                        Doc 8171                                  Filed 01/06/22                                                    Page 447 of 457
                                                                                                                                                                                         Exhibit B
                                                                                                                                                                                          Service List
                                                                                                                                                                                   Served as set forth below

        Description                                                         Name                                                                                                       Address                                                                                                                         Email                                Method of Service
Voting Party                   West View Ruritan                                             Attn: John M Scott                                       2162 Pomerol Dr                                        Moore, SC 29369                                                                     Scottjohnm66@gmail.com                          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   West View United Methodist Church (102245)                    c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228                              lspagnolo@bentzlaw.com                          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         West View Utd Methodist Church                                Laurel Highlands Council 527                             Cornell & Princeton Ave                                Pittsburgh, PA 15229                                                                                                                First Class Mail
Voting Party                   West Virginia American Water                                  P O Box 2738                                             Camden, NJ 08101‐2738                                                                                                                                                                      First Class Mail
Voting Party                   West Virginia Forestry Association                            Attn: Eric Carlson                                       2008 Quarrier St                                       Charleston, WV 25311                                                                wvfa@wvfa.org                                   Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   West Virginia Wesleyan College, A WV Non‐Profit Corporation   Attn: David W McCavley                                   10 Meade St                                            Buckhannon, WV 26201                                                                MCCAVLEY@wvwc.edu                               Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         West Walworth Volunteer Fire Dept                             Seneca Waterways 397                                     3870 W Walworth Rd                                     Macedon, NY 14502‐9374                                                                                                              First Class Mail
Voting Party                   West Washington United Methodist Church (104027)              c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228                              lspagnolo@bentzlaw.com                          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         West Webster Vol Firemens Assoc                               Seneca Waterways 397                                     1051 Gravel Rd                                         Webster, NY 14580‐1743                                                                                                              First Class Mail
Chartered Organization         West Willow United Methodist                                  Pennsylvania Dutch Council 524                           P.O. Box 62                                            Willow St, PA 17584‐0062                                                                                                            First Class Mail
Chartered Organization         West Windsor Township Lions Club                              Washington Crossing Council 777                          P.O. Box 295                                           West Windsor, NJ 08550‐0295                                                                                                         First Class Mail
Chartered Organization         West Winfield Rotary Club                                     Leatherstocking 400                                      P.O. Box 53                                            West Winfield, NY 13491‐0053                                                                                                        First Class Mail
Chartered Organization         West Wyoming Hose Co No 1                                     Northeastern Pennsylvania Council 501                    W 8th St                                               West Wyoming, PA 18644                                                                                                              First Class Mail
Chartered Organization         Westacres Parents                                             Great Lakes Fsc 272                                      3700 Westacres Dr                                      West Bloomfield, MI 48324‐2576                                                                                                      First Class Mail
Chartered Organization         Westampton Twp Recreation Commission                          Garden State Council 690                                 710 Rancocas Rd                                        Westampton, NJ 08060‐5642                                                                                                           First Class Mail
Voting Party                   Westark Area Council, Inc Bsa                                 Attn: Chris L Daughtrey                                  1401 Old Greenwood Blvd                                Fort Smith, AR 72901                                                                chris.daughtrey@scouting.org                    Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Westborough Firefighters Assoc                                Mayflower Council 251                                    42 Milk St                                             Westborough, MA 01581‐1208                                                                                                          First Class Mail
Chartered Organization         Westbriar School Pta                                          National Capital Area Council 082                        1741 Pine Valley Dr                                    Vienna, VA 22182‐2340                                                                                                               First Class Mail
Chartered Organization         Westbrook Grange 1016                                         Tuscarora Council 424                                    1895 Easy St                                           Dunn, NC 28334‐7895                                                                                                                 First Class Mail
Chartered Organization         Westbrook Lodge Bpoe 1784                                     Connecticut Rivers Council, Bsa 066                      142 Seaside Ave                                        Westbrook, CT 06498‐1884                                                                                                            First Class Mail
Voting Party                   Westbrookville Community Chapel                               P O Box 242                                              Westbrookville, NY 12785                                                                                                                   kevin.mulqueen@nyac‐umc.com                     Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Westbury United Methodist Church                              Attn: Elon Sylvester                                     265 Asbury Ave                                         Westbury, NY 11590                                                                  Westburyumc@optimum.net                         Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Westbury United Methodist Church                              Attn: Daniel Yang                                        5200 Willowbend Blvd                                   Houston, TX 77096                                                                   danny@westburyumc.org                           Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Westby Lions Club                                             Gateway Area 624                                         400 Melby St                                           Westby, WI 54667‐1018                                                                                                               First Class Mail
Voting Party                   Westcave Printing Corp                                        dba Horizon Printing                                     2111 Grand Ave Pkwy                                    Austin, TX 78728‐3938                                                                                                               First Class Mail
Voting Party                   Westchester ‐ Putnam                                          Attn: Richard Stockton                                   P.O. Box 974                                           Moheagan Lake, NY 10547                                                             richard.stockton@scouting.org                   Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Westchester Community Church                                  Pathway To Adventure 456                                 1840 Westchester Blvd                                  Westchester, IL 60154‐4371                                                                                                          First Class Mail
Chartered Organization         Westchester Congregational Church                             Connecticut Rivers Council, Bsa 066                      95 Cemetery Rd                                         Colchester, CT 06415‐2406                                                                                                           First Class Mail
Voting Party                   Westchester Fire Insurance Company                            c/o Duane Morris LLP                                     Attn: Wendy M Simkulak                                 30 S 17th St                      Philadelphia, PA 19103                            WMSimkulak@duanemorris.com                      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Westchester Fire Insurance Company                            c/o Duane Morris LLP                                     Attn: Wendy M. Simkulak                                30 S 17th St                      Philadelphia, PA 19103                            WMSimkulak@duanemorris.com                      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Westchester Fire Insurance Company                            Attn: Christopher J Celentano                            10 Exchange Pl, 9th Fl                                 Jersey City, NJ 07302                                                                                                               First Class Mail
Voting Party                   Westchester Fire Insurance Company (See Attachment)           Attn: Christopher J Celentano                            10 Exchange Pl, 9th Fl                                 Jersey City, NJ 07302                                                               Christopher.Celentano@chubb.com                 Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Westchester School Pto                                        Greater St Louis Area Council 312                        1416 Woodgate Dr                                       Kirkwood, MO 63122‐1036                                                                                                             First Class Mail
Voting Party                   Westchester Surplus Lines Insurance Company                   c/o Duane Morris LLP                                     Attn: Wendy M Simkulak                                 30 S 17th St                      Philadelphia, PA 19103                            WMSimkulak@duanemorris.com                      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Westchester Surplus Lines Insurance Company                   c/o Duane Morris LLP                                     Attn: Wendy M. Simkulak                                30 S 17th St                      Philadelphia, PA 19103                            WMSimkulak@duanemorris.com                      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Westchester Surplus Lines Insurance Company                   Attn: Christopher J Celentano                            10 Exchange Pl, 9th Fl                                 Jersey City, NJ 07302                                                                                                               First Class Mail
Voting Party                   Westchester United Methodist Church                           Attn: Lyda Eddington                                     8065 Emerson Ave                                       Los Angeles, CA 90045                                                               wumcoffice1@sbcglobal.net                       Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         West‐Day Post 123                                             Pine Tree Council 218                                    31 Mountainview Ave                                    Porter, ME 04068                                                                                                                    First Class Mail
Chartered Organization         Westend School                                                Lincoln Heritage Council 205                             3628 Virginia Ave                                      Louisville, KY 40211‐1664                                                                                                           First Class Mail
Chartered Organization         Westerly Communities In Schools                               Mecklenburg County Council 415                           4420 Denver Ave                                        Charlotte, NC 28208‐3620                                                                                                            First Class Mail
Chartered Organization         Westerly High School                                          Narragansett 546                                         23 Ward Ave                                            Westerly, RI 02891‐1943                                                                                                             First Class Mail
Chartered Organization         Westerly Police Dept                                          Narragansett 546                                         60 Airport Rd                                          Westerly, RI 02891‐3402                                                                                                             First Class Mail
Chartered Organization         Western Adirondack Presbyterian Church                        Longhouse Council 373                                    11 Youngs Rd                                           Star Lake, NY 13690                                                                                                                 First Class Mail
Chartered Organization         Western Alamance Njrotc Booster Club                          Old N State Council 070                                  1731 N Nc Hwy 87                                       Elon, NC 27244‐9711                                                                                                                 First Class Mail
Voting Party                   Western Avenue Baptist Church, Inc                            Attn: James Mallory III                                  P.O. Box 7                                             Statesville, NC 28687                                                               jmallory@bmallorylaw.com                        Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Western Boulevard Presbyterian Church                         Occoneechee 421                                          4900 Kaplan Dr                                         Raleigh, NC 27606‐2569                                                                                                              First Class Mail
Chartered Organization         Western Boulevard Presbyterian Church                         Occoneechee 421                                          4900 Kaplan Dr                                         Raleigh, NC 27606‐2569                                                                                                              First Class Mail
Chartered Organization         Western Colorado Council Soar                                 10455 W 6th Ave, Ste 100                                 Denver, CO 80215                                                                                                                                                                           First Class Mail
Chartered Organization         Western Dairyland Commty                                      Action Agency                                            418 Wisconsin St                                       Eau Claire, WI 54703‐3566                                                                                                           First Class Mail
Voting Party                   Western District Of The Moravian Church                       A Regional Judicatory Of The Moravian Church, Northern   c/o Shay, Santee & Kelhart                             Attn: Richard Santee Jr           44 E Broad St               Bethlehem, PA 18018   rsantee@ssk‐esq.com                             Email
                                                                                             Province                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Western Heights Church Of Christ                              Circle Ten Council 571                                   800 Baker Park Dr                                      Sherman, TX 75092‐4330                                                                                                              First Class Mail
Chartered Organization         Western Hills Christian Church                                Alamo Area Council 583                                   8535 Huebner Rd                                        San Antonio, TX 78240‐1804                                                                                                          First Class Mail
Chartered Organization         Western Hills Church Of Christ                                Middle Tennessee Council 560                             7565 Charlotte Pike                                    Nashville, TN 37209‐5201                                                                                                            First Class Mail
Chartered Organization         Western Hills Elementary ‐ Gfwar                              Longhorn Council 662                                     2805 Laredo Dr                                         Fort Worth, TX 76116‐3154                                                                                                           First Class Mail
Voting Party                   Western Hills United Methodist Church                         Attn: Bobbie Verser                                      4601 Western Hills Ave                                 Little Rock, AR 72204                                                               office@faithumc‐lr.org                          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Western Hills United Methodist Church                         Attn: Kimberly Kinsey                                    524 Thunderbird                                        El Paso, TX 79912                                                                   Kim@westernhillsep.org                          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Western Hills Utd Methodist Church                            Yucca Council 573                                        524 Thunderbird Dr                                     El Paso, TX 79912‐3315                                                                                                              First Class Mail
Chartered Organization         Western Illinois Univ Police Fop Lodge 169                    Illowa Council 133                                       P.O. Box 233                                           Macomb, IL 61455‐0233                                                                                                               First Class Mail
Chartered Organization         Western Lakes Fire District                                   Potawatomi Area Council 651                              1400 Oconomowoc Pkwy                                   Oconomowoc, WI 53066‐4660                                                                                                           First Class Mail
Voting Party                   Western Massachusetts Council                                 Attn: Gary Savignano                                     1 Arch Rd, Ste 5                                       Westfield, MA 01085                                                                 gary.savignano@scouting.org                     Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Western Middle School                                         Lincoln Heritage Council 205                             2201 W Main St                                         Louisville, KY 40212‐1525                                                                                                           First Class Mail
Chartered Organization         Western Monmouth Utilities Authority                          Monmouth Council, Bsa 347                                103 Pension Rd                                         Manalapan, NJ 07726‐8401                                                                                                            First Class Mail
Chartered Organization         Western Museum Of Mining And Industry                         Pikes Peak Council 060                                   1025 N Gate Rd                                         Colorado Springs, CO 80921‐3018                                                                                                     First Class Mail
Chartered Organization         Western Pa Psych Care                                         Laurel Highlands Council 527                             1607 3rd St                                            Beaver, PA 15009‐2420                                                                                                               First Class Mail
Chartered Organization         Western Pa School For Blind Children                          Laurel Highlands Council 527                             201 N Bellefield Ave                                   Pittsburgh, PA 15213‐1458                                                                                                           First Class Mail
Chartered Organization         Western Pennsylvania School For The Deaf                      Laurel Highlands Council 527                             300 E Swissvale Ave                                    Pittsburgh, PA 15218‐1443                                                                                                           First Class Mail
Chartered Organization         Western Springs Fire Dept                                     Pathway To Adventure 456                                 4353 Wolf Rd                                           Western Springs, IL 60558‐1416                                                                                                      First Class Mail
Chartered Organization         Western Springs Police Dept                                   Pathway To Adventure 456                                 740 Hillgrove Ave                                      Western Springs, IL 60558‐1409                                                                                                      First Class Mail
Chartered Organization         Western Star Lodge No 304 F & A M Pa                          Attn: Terry Barton                                       9159 Crane Rd                                          Cranesville, PA 16410‐1503                                                                                                          First Class Mail
Chartered Organization         Westerville Area Civitan Club                                 Simon Kenton Council 441                                 5790 Stoneshead Ct                                     Westerville, OH 43081‐9725                                                                                                          First Class Mail
Chartered Organization         Westerville Commty                                            United Church of Christ                                  770 County Line Rd                                     Westerville, OH 43081‐1020                                                                                                          First Class Mail
Chartered Organization         Westerville Div Of Police                                     Simon Kenton Council 441                                 29 S State St                                          Westerville, OH 43081‐2121                                                                                                          First Class Mail
Voting Party                   Westfield Christ Umc                                          Attn: Jennifer Buswell                                   318 N Union St                                         Westfield, IN 46074                                                                 treasurer@christwestfield.org                   Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Westfield Congregational Church, Ucc                          Connecticut Rivers Council, Bsa 066                      210 Main St                                            Danielson, CT 06239‐2881                                                                                                            First Class Mail
Chartered Organization         Westfield Fire Dept                                           Sam Houston Area Council 576                             4105 Lauder Rd                                         Houston, TX 77039‐2552                                                                                                              First Class Mail
Chartered Organization         Westfield Lions Club                                          Crossroads of America 160                                120 Jersey St                                          Westfield, IN 46074                                                                                                                 First Class Mail
Voting Party                   Westfield United Methodist Church (150148)                    c/o Bentz Law Firm                                       Attn: Leonard Spagnolo                                 680 Washington Rd, Ste 200        Pittsburgh, PA 15228                              lspagnolo@bentzlaw.com                          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Westford Rotary Club, Inc                                     The Spirit of Adventure 227                              P.O. Box 231                                           Westford, MA 01886‐0008                                                                                                             First Class Mail
Chartered Organization         Westford Sportsmens Club                                      The Spirit of Adventure 227                              P.O. Box 742                                           Westford, MA 01886‐0023                                                                                                             First Class Mail
Chartered Organization         Westgate Church Of Christ                                     Alabama‐Florida Council 003                              619 Westgate Pkwy                                      Dothan, AL 36303‐2901                                                                                                               First Class Mail
Chartered Organization         Westgate Elementary Pso                                       Mt Baker Council, Bsa 606                                9601 220th St Sw                                       Edmonds, WA 98020‐4557                                                                                                              First Class Mail
Chartered Organization         Westgate Elementary Pta                                       Denver Area Council 061                                  8550 W Vassar Dr                                       Lakewood, CO 80227‐3111                                                                                                             First Class Mail
Voting Party                   Westhampton Umc                                               c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200          Tampa, FL 33602                                   erice@bradley.com                               Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Westhampton United Methodist Church                           116 Montauk Hwy                                          Westhampton, NY 11977                                                                                                                      tbemickey@gmail.com; whumcsecretary@optimum.net Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Westhampton Volunteer Firefighters Assoc                      Western Massachusetts Council 234                        48 Stage Rd                                            Westhampton, MA 01027‐9603                                                                                                          First Class Mail
Chartered Organization         Westhaven Foundation                                          Middle Tennessee Council 560                             P.O. Box 1535                                          Franklin, TN 37065‐1535                                                                                                             First Class Mail
Chartered Organization         Westhills Elementary Pta                                      Greater Alabama Council 001                              710 Glenn Rd                                           Bessemer, AL 35022‐4634                                                                                                             First Class Mail
Chartered Organization         Westhills Elementary School                                   Greater Alabama Council 001                              710 Glenn Rd                                           Bessemer, AL 35022‐4634                                                                                                             First Class Mail
Chartered Organization         Westhoff Elementary Ptc                                       Greater St Louis Area Council 312                        900 Homefield Blvd                                     O Fallon, MO 63366‐4482                                                                                                             First Class Mail
Chartered Organization         Westhope Public School                                        Northern Lights Council 429                              325 Main St                                            Westhope, ND 58793                                                                                                                  First Class Mail
Voting Party                   Westlake Hills Presbyterian Church                            Attn: Roger J Engemoen, Jr                               7127 Bee Cave Rd                                       Austin, TX 78746                                                                    REngemoen@samcocapital.com                      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Westlake Rotary Club                                          Capitol Area Council 564                                 5455 Bee Caves Rd                                      West Lake Hills, TX 78746‐5228                                                                                                      First Class Mail
Chartered Organization         Westlake School                                               Patriots Path Council 358                                1571 Lamberts Mill Rd                                  Westfield, NJ 07090‐4702                                                                                                            First Class Mail
Chartered Organization         Westlake Troop 8 Bsa Memorial Foundation                      Attn: Peter Hutt                                         7117 Nevis Rd                                          Bethesda, MD 20817‐4765                                                                                                             First Class Mail
Voting Party                   Westlake United Methodist Church                              Attn: Tracey Beadle                                      1460 Redbud Trail                                      Austin, TX 78746                                                                    tbeadle@westlake‐umc.org                        Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Westlake United Methodist Church                              Attn: Brian Robinson                                     P.O. Box 536                                           Westlake, LA 70669                                                                  haphiker@aol.com                                Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Westlake Utd Methodist Church                                 Calcasieu Area Council 209                               704 Johnson St                                         Westlake, LA 70669                                                                                                                  First Class Mail
Chartered Organization         Westlake Volunteer Fire Dept, Inc                             Sam Houston Area Council 576                             19703 Saums Rd                                         Houston, TX 77084‐4733                                                                                                              First Class Mail
Chartered Organization         Westland Baptist Church                                       Sam Houston Area Council 576                             22807 Westheimer Pkwy                                  Katy, TX 77494‐3599                                                                                                                 First Class Mail
Chartered Organization         Westland Baptist Church                                       Sam Houston Area Council 576                             1407 W Grand Pkwy S                                    Katy, TX 77494‐8201                                                                                                                 First Class Mail
Voting Party                   Westland United Methodist Church                              Attn: Richard M Smith                                    110 Dawson Ln                                          Lebanon, TN 37087                                                                   rick2452@icloud.com                             Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Westlawn School Pta                                           National Capital Area Council 082                        3200 Wley Rd                                           Falls Church, VA 22042                                                                                                              First Class Mail
Voting Party                   Westminister Lutheran Church Of Hope                          Attn: Timothy A Martinez                                 13841 Milton Dr                                        Westminster, CA 92683                                                               timverisurf@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Westminister Presbyterian Church                              Quapaw Area Council 018                                  3819 Central Ave                                       Hot Springs, AR 71913‐6900                                                                                                          First Class Mail
Chartered Organization         Westminister Presbyterian Church                              Las Vegas Area Council 328                               4601 W Lake Mead Blvd                                  Las Vegas, NV 89108‐2829                                                                                                            First Class Mail
Chartered Organization         Westminister Presbyterian Church                              Pathway To Adventure 456                                 8955 Columbia Ave                                      Munster, IN 46321‐2903                                                                                                              First Class Mail
Chartered Organization         Westminister Presbyterian Church                              Laurel Highlands Council 527                             2040 Washington Rd                                     Pittsburgh, PA 15241‐1543                                                                                                           First Class Mail
Chartered Organization         Westminister Presbyterian Church                              Greater Los Angeles Area 033                             9642 Live Oak Ave                                      Temple City, CA 91780‐2522                                                                                                          First Class Mail
Chartered Organization         Westminister Presbyterian Church                              Connecticut Rivers Council, Bsa 066                      2080 Blvd                                              West Hartford, CT 06107‐2801                                                                                                        First Class Mail
Voting Party                   Westminister Presbyterian Church                              Attn: Robert Williams                                    1709 W Elizabeth St                                    Ft Collins, CO 80521                                                                office@westpresftc.com                          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Westminster Baptist Church                                    Blue Ridge Council 551                                   P.O. Box 375                                           Westminster, SC 29693‐0375                                                                                                          First Class Mail
Chartered Organization         Westminster Christian Academy                                 Northeast Georgia Council 101                            1640 New High Shoals Rd                                Watkinsville, GA 30677‐4117                                                                                                         First Class Mail
Chartered Organization         Westminster Church Of Port Huron                              Water and Woods Council 782                              2501 Stone St                                          Port Huron, MI 48060‐2840                                                                                                           First Class Mail
Chartered Organization         Westminster Elks 2346                                         Orange County Council 039                                6391 Industry Way                                      Westminster, CA 92683‐3693                                                                                                          First Class Mail
Chartered Organization         Westminster Police Dept                                       Orange County Council 039                                8200 Westminster Blvd                                  Westminster, CA 92683‐3366                                                                                                          First Class Mail
Chartered Organization         Westminster Presbyterian                                      Twin Valley Council Bsa 283                              802 4th St Sw                                          Austin, MN 55912‐3245                                                                                                               First Class Mail
Chartered Organization         Westminster Presbyterian                                      Last Frontier Council 480                                4400 N Shartel Ave                                     Oklahoma City, OK 73118‐6442                                                                                                        First Class Mail
Chartered Organization         Westminster Presbyterian Church                               National Capital Area Council 082                        2701 Cameron Mills Rd                                  Alexandria, VA 22302‐2806                                                                                                           First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Coastal Carolina Council 550                             1157 Sam Rittenberg Blvd                               Charleston, SC 29407‐3360                                                                                                           First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Indian Waters Council 553                                1715 Broad River Rd                                    Columbia, SC 29210‐7305                                                                                                             First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Mid‐America Council 326                                  517 S 32nd St                                          Council Bluffs, IA 51501‐3337                                                                                                       First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Circle Ten Council 571                                   8200 Devonshire Dr                                     Dallas, TX 75209‐4425                                                                                                               First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Northeast Iowa Council 178                               2155 University Ave                                    Dubuque, IA 52001‐5768                                                                                                              First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Occoneechee 421                                          3639 Old Chapel Hill Rd                                Durham, NC 27707‐3616                                                                                                               First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Oregon Trail Council 697                                 777 Coburg Rd                                          Eugene, OR 97401‐6424                                                                                                               First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Occoneechee 421                                          2505 Village Dr                                        Fayetteville, NC 28304‐3810                                                                                                         First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Longhorn Council 662                                     7100 Trail Lake Dr                                     Fort Worth, TX 76123‐1969                                                                                                           First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Pine Burr Area Council 304                               5005 Lawson Ave                                        Gulfport, MS 39507‐4445                                                                                                             First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Quapaw Area Council 018                                  3819 Central Ave                                       Hot Springs, AR 71913‐6900                                                                                                          First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Last Frontier Council 480                                7110 W Gore Blvd                                       Lawton, OK 73505‐5321                                                                                                               First Class Mail
Chartered Organization         Westminster Presbyterian Church                               South Plains Council 694                                 3321 33rd St                                           Lubbock, TX 79410‐3223                                                                                                              First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Northern Star Council 250                                1200 Marquette Ave                                     Minneapolis, MN 55403‐2419                                                                                                          First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Middle Tennessee Council 560                             3900 W End Ave                                         Nashville, TN 37205‐1801                                                                                                            First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Last Frontier Council 480                                4400 N Shartel Ave                                     Oklahoma City, OK 73118‐6442                                                                                                        First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Mid‐America Council 326                                  3416 Woolworth Ave                                     Omaha, NE 68105‐1944                                                                                                                First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Greater Los Angeles Area 033                             1757 N Lake Ave                                        Pasadena, CA 91104‐1226                                                                                                             First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Miami Valley Council, Bsa 444                            325 W Ash St                                           Piqua, OH 45356‐2203                                                                                                                First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Laurel Highlands Council 527                             2040 Washington Rd                                     Pittsburgh, PA 15241‐1543                                                                                                           First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Rocky Mountain Council 063                               10 University Cir                                      Pueblo, CO 81005‐1600                                                                                                               First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Heart of Virginia Council 602                            4103 Monument Ave                                      Richmond, VA 23230‐3818                                                                                                             First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Northwest Georgia Council 100                            1941 Shorter Ave Sw                                    Rome, GA 30165‐2140                                                                                                                 First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Northeast Georgia Council 101                            2208 Main St E                                         Snellville, GA 30078‐3498                                                                                                           First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Palmetto Council 549                                     309 Fernwood Dr                                        Spartanburg, SC 29307‐2965                                                                                                          First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Ozark Trails Council 306                                 1551 E Portland St                                     Springfield, MO 65804‐1209                                                                                                          First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Calcasieu Area Council 209                               301 Center Cir                                         Sulphur, LA 70663‐5533                                                                                                              First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Winnebago Council, Bsa 173                               1301 Kimball Ave                                       Waterloo, IA 50702‐3714                                                                                                             First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Stonewall Jackson Council 763                            1904 Mt Vernon St                                      Waynesboro, VA 22980‐2241                                                                                                           First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Chester County Council 539                               10 W Pleasant Grove Rd                                 West Chester, PA 19382‐7110                                                                                                         First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Connecticut Rivers Council, Bsa 066                      2080 Blvd                                              West Hartford, CT 06107‐2801                                                                                                        First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Denver Area Council 061                                  3990 W 74th Ave                                        Westminster, CO 80030‐4709                                                                                                          First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Buckeye Council 436                                      353 E Pine St                                          Wooster, OH 44691‐2923                                                                                                              First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Tecumseh 439                                             343 W Ankeney Mill Rd                                  Xenia, OH 45385‐9544                                                                                                                First Class Mail
Chartered Organization         Westminster Presbyterian Church                               Great Trail 433                                          119 Stadium Dr                                         Youngstown, OH 44512‐5521                                                                                                           First Class Mail
Voting Party                   Westminster Presbyterian Church                               Attn: Kim Reed                                           325 W Ash St                                           Piqua, OH 45356                                                                     wpcpiqua@sbcglobal.net                          Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Westminster Presbyterian Church                               1300 N St                                                Sacramento, CA 95814                                                                                                                       westminsacbsabk@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Westminster Presbyterian Church                               c/o Wpc Arlington                                        1330 S Fielder Rd                                      Arlington, TX 76013                                                                 TREASURER@WPCARLINGTON.ORG                      Email
                                                                                                                                                                                                                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                          Page 432 of 442
                                                                                Case 20-10343-LSS                                                          Doc 8171                                   Filed 01/06/22                                                 Page 448 of 457
                                                                                                                                                                                         Exhibit B
                                                                                                                                                                                          Service List
                                                                                                                                                                                   Served as set forth below

        Description                                                      Name                                                                                                          Address                                                                                                           Email                      Method of Service
Voting Party                   Westminster Presbyterian Church                               Attn: David Rohde                                        32111 Watergate Rd                                     Westlake Village, CA 91361                                        terry@wpcwestlake.org                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church                               32111 Watergate Rd                                       Westlake Village, CA 91361                                                                                               terry@wpcwestlake.org                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church                               Attn: Mike Hulme Church Treasurer                        308 W Water St                                         Piqua, OH 45356                                                   mike@hulmecpa.com                         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church                               Attn: Angie Belmont                                      1140 Greenwood Ave                                     Trenton, NJ 08609                                                 Karisuhg@aol.com                          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church                               Attn: Jean Severson & Lorne Patrick Bostwick             3737 Liberty Rd S                                      Salem, OR 97302                                                   jean@salemwestpres.org                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church                               50 E Santa Ana Ave                                       Fresno, CA 93704                                                                                                         hagop.bedoyan@mccormickbarstow.com        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church                               Attn: Lee Kersten                                        777 Coburg Rd                                          Eugene, OR 97401‐6424                                             David@WPCEugene.org                       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church                               Attn: Angela Belmont                                     1140 Greenwood Ave                                     Trenton, NJ 08609                                                 Angie64belmont@hotmail.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church Corp Of Greensboro, N         Attn: Ernie Thompson                                     3906 W Friendly Ave                                    Greensboro, NC 27410                                              ernie.thompson@westpreschurch.org         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church Corporation                   3321 33rd St                                             Lubbock, TX 79410                                                                                                        jim.conkwright@icloud.com                 Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church D/B/A Westminster Pc Dallas   Attn: Nancy Weynand Morton, Esq                          4195 Lively Ln                                         Dallas, TX 75220                                                  weymorlaw@hotmail.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church D/B/A Westminster Pc Dallas   8200 Devonshire Dr                                       Dallas, TX 75209                                                                                                         dans@wpcd.ord                             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church Dba Westminster Pc Dallas     Attn: Nancy Weynand Morton                               4195 Lively Ln                                         Dallas, TX 75220                                                  weymorlaw@hotmail.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church Dba Westminster Pc Dallas     8200 Devonshire Dr                                       Dallas, TX 75209                                                                                                         dans@wpcd.org                             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church Of Portland Oregon            Attn: Robert Goering                                     1624 NE Hancock St                                     Cincinnati, OR 97212                                              office@westprespdx.org                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster Presbyterian Church, Inc                          103 E Midland St                                         Bay City, MI 48706                                                                                                       philreagh@gmail.com                       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westminster Presbyterian Church‐Lincoln                       Cornhusker Council 324                                   2110 Sheridan Blvd                                     Lincoln, NE 68502‐4036                                                                                      First Class Mail
Voting Party                   Westminster United Methodist Church                           Attn: Treasurer                                          162 E Main St                                          Westminster, MD 21157                                             treasurer@wumcmd.org                      Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westminster United Methodist Church                           Attn: Barbara Gross                                      3585 W 76th Ave                                        Westminster, CO 80030                                             brogeneg@gmail.com                        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westminster Utd Methodist Church                              East Carolina Council 426                                P.O. Box 1007                                          Carey Rd                         Kinston, NC 28503                                                          First Class Mail
Chartered Organization         Westminster Utd Methodist Church                              Baltimore Area Council 220                               165 E Main St                                          Westminster, MD 21157‐5013                                                                                  First Class Mail
Chartered Organization         Westminster Ward Lds Frederick                                Baltimore Area Council 220                               595 Johahn Dr                                          Westminster, MD 21158‐9433                                                                                  First Class Mail
Chartered Organization         Westminster‐St Edwards Church                                 Heart of New England Council 230                         P.O. Box 465                                           Westminster, MA 01473‐0465                                                                                  First Class Mail
Chartered Organization         Westminster‐VFW                                               Heart of New England Council 230                         1 Eaton St                                             Westminster, MA 01473                                                                                       First Class Mail
Voting Party                   Westminter United Methodist Church ‐ Troop 392/Pack 392       Attn: Westminster Umc ‐ Troop/Pack 392                   1001 Westminster Lane                                  Kinston, NC 28501                                                 angie.denton@westminster.net              Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westmont Christian Church                                     South Plains Council 694                                 4808 Utica Ave                                         Lubbock, TX 79414‐3506                                                                                      First Class Mail
Chartered Organization         Westmont Elementary Pto                                       Mid‐America Council 326                                  13210 Glenn St                                         Omaha, NE 68138‐4366                                                                                        First Class Mail
Chartered Organization         Westmont Fire Co                                              Garden State Council 690                                 120 Haddon Ave                                         Haddon Township, NJ 08108‐2741                                                                              First Class Mail
Chartered Organization         Westmont Hilltop Elementary Pto                               Laurel Highlands Council 527                             675 Goucher St                                         Johnstown, PA 15905‐3247                                                                                    First Class Mail
Voting Party                   Westmont Umc                                                  c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westmont United Methodist Church                              Attn: Pastor                                             1781 W 9th St                                          Pomona, CA 91766                                                  umcpastorvega@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westmont Utd Methodist Church                                 Garden State Council 690                                 200 Emerald Ave                                        Haddon Township, NJ 08108‐2404                                                                              First Class Mail
Chartered Organization         Westmoore Community Church                                    Last Frontier Council 480                                12609 S Western Ave                                    Oklahoma City, OK 73170                                                                                     First Class Mail
Voting Party                   Westmooreland                                                 Attn: David Colecchia                                    324 S Maple Ave                                        Greensburg, PA 15601                                                                                        First Class Mail
Voting Party                   Westmore United Methodist Church                              Attn: Treasurer                                          3602 Auburn Rd                                         Huntington, WV 25704                                              warde@mail.com                            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westmore VFW Post 9806                                        Middle Tennessee Council 560                             2605 Epperson Springs Rd                               Westmoreland, TN 37186‐2132                                                                                 First Class Mail
Chartered Organization         Westmoreland County Housing Authority                         West Hempfield Towers                                    154 S Greengate Rd                                     Greensburg, PA 15601‐6392                                                                                   First Class Mail
Firm                           Westmoreland Injury Lawyers                                   Thomas L. Plaitano                                       6078 state route 30                                    Greensburg, PA 15601                                              tplaitano@westmorelandinjurylawyers.com   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westmoreland Service Club                                     c/o Farmers State Bank                                   P.O. Box 330                                           Westmoreland, KS 66549‐0330                                                                                 First Class Mail
Chartered Organization         Westmorland Fire Dept                                         San Diego Imperial Council 049                           P.O. Box 697                                           Westmorland, CA 92281‐0697                                                                                  First Class Mail
Chartered Organization         Weston Church Of Christ                                       Erie Shores Council 460                                  P.O. Box 344                                           Weston, OH 43569‐0344                                                                                       First Class Mail
Chartered Organization         Weston Elementary School                                      Crossroads of America 160                                140 Polk Ave                                           Greenfield, IN 46140‐1863                                                                                   First Class Mail
Chartered Organization         Weston Trap Club                                              Samoset Council, Bsa 627                                 9105 Zinzer St                                         Schofield, WI 54476                                                                                         First Class Mail
Voting Party                   Weston United Methodist Church                                Attn: Gordon Townsend, Treasurer                         377 North Ave                                          Weston, MA 02493                                                  westonunitedmethodist@gmail.com           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Weston Volunteer Fire Dept                                    Connecticut Yankee Council Bsa 072                       52 Norfield Rd                                         Weston, CT 06883                                                                                            First Class Mail
Chartered Organization         Westover Baptist Church                                       National Capital Area Council 082                        1125 Patrick Henry Dr                                  Arlington, VA 22205‐3517                                                                                    First Class Mail
Voting Party                   Westover Hills Umc                                            c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westover Methodist Church                                     Mountaineer Area 615                                     28 North St                                            Westover, WV 26501‐4385                                                                                     First Class Mail
Voting Party                   Westover Umc                                                  Attn: Stacy Tritt                                        28 North St                                            Westover, WV 26501                                                stacymtritt@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westover United Methodist Church                              Attn: Phillip R Epley                                    300 Powell Dr                                          Raleigh, NC 27606                                                 westoverumc@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westpark Elementary School Pta                                Orange County Council 039                                25 San Carlo                                           Irvine, CA 92614‐7314                                                                                       First Class Mail
Chartered Organization         Westport Fire Dept                                            Narragansett 546                                         P.O. Box 3470                                          Westport, MA 02790‐0703                                                                                     First Class Mail
Voting Party                   Westport Point United Methodist Church                        Attn: Treasurer                                          P.O. Box 2                                             Westport Point, MA 02791                                          westportpointumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westport Point Utd Methodist Church                           Narragansett 546                                         1912 Main Rd                                           Westport Point, MA 02791‐9101                                                                               First Class Mail
Chartered Organization         Westport Presbyterian Church                                  Heart of America Council 307                             201 Westport Rd                                        Kansas City, MO 64111‐2239                                                                                  First Class Mail
Chartered Organization         Westport Road Church Of Christ                                Lincoln Heritage Council 205                             4500 Westport Rd                                       Louisville, KY 40207‐2462                                                                                   First Class Mail
Voting Party                   Westport United Methodist Church                              Attn: Jo Ann A Smith                                     808 N Sr 3                                             Westport, IN 47283                                                westport808@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westridge Elementary School Pto                               Mid‐America Council 326                                  3100 N 206th St                                        Elkhorn, NE 68022‐7015                                                                                      First Class Mail
Chartered Organization         Westridge Elementary School Pto                               National Capital Area Council 082                        12400 Knightsbridge Dr                                 Woodbridge, VA 22192‐5190                                                                                   First Class Mail
Chartered Organization         Westridge Middle School Pta                                   Central Florida Council 083                              3800 W Oak Ridge Rd                                    Orlando, FL 32809‐4539                                                                                      First Class Mail
Chartered Organization         Westridge School Pto                                          Greater St Louis Area Council 312                        908 Crestland Dr                                       Ballwin, MO 63011‐3110                                                                                      First Class Mail
Voting Party                   Westridge United Methodist Church                             c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westside Academy                                              Simon Kenton Council 441                                 4330 Clime Rd N                                        Columbus, OH 43228‐3439                                                                                     First Class Mail
Chartered Organization         Westside Academy                                              Three Harbors Council 636                                1945 N 31st St                                         Milwaukee, WI 53208‐1902                                                                                    First Class Mail
Chartered Organization         Westside Academy Clc/Coa                                      Three Harbors Council 636                                1945 N 31st St                                         Milwaukee, WI 53208‐1902                                                                                    First Class Mail
Chartered Organization         Westside Baptist Church                                       Longhorn Council 662                                     802 Bellaire Blvd                                      Lewisville, TX 75067‐5856                                                                                   First Class Mail
Chartered Organization         Westside Business Assoc                                       South Texas Council 577                                  P.O. Box 5485                                          Corpus Christi, TX 78465‐5485                                                                               First Class Mail
Chartered Organization         Westside Christian Church                                     Southeast Louisiana Council 214                          4000 Macarthur Blvd                                    New Orleans, LA 70114‐6800                                                                                  First Class Mail
Chartered Organization         Westside Church Of Christ                                     Southern Sierra Council 030                              7300 Stockdale Hwy                                     Bakersfield, CA 93309‐2233                                                                                  First Class Mail
Voting Party                   Westside Community United Methodist Church                    Attn: Brenda Ellis, Treasurer of Westside Community Un   2875 Hwy 127                                           Hustonville, KY 40444                                             westsidecommunityumc@gmail.com            Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westside Missionary Baptist Church                            Greater St Louis Area Council 312                        4675 Page Blvd                                         St Louis, MO 63113‐2400                                                                                     First Class Mail
Chartered Organization         Westside Presbyterian Church                                  Heart of America Council 307                             1024 Kasold Dr                                         Lawrence, KS 66049‐3340                                                                                     First Class Mail
Chartered Organization         Westside School Pto                                           Montana Council 315                                      2290 Farm To Market Rd                                 Kalispell, MT 59901‐7108                                                                                    First Class Mail
Chartered Organization         Westside United Methodist Church                              Alabama‐Florida Council 003                              1010 W Maple Ave                                       Geneva, AL 36340‐1660                                                                                       First Class Mail
Voting Party                   Westside United Methodist Church                              Attn: Bruce Williams, Treasurer                          P.O. Box 3494                                          Elmira, NY 14905                                                  westsideumcelmira@gmail.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westside United Methodist Church                              Attn: Bruce Williams                                     P.O. Box 588                                           Elmira, NY 14905                                                  westsideumcelmira@gmail.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westside United Methodist Church, Geneva, Al                  Westside Umc                                             1010 W Maple Ave                                       Gevana, AL 36340                                                  westsideumc@centurytel.net                Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westview Alliance Church                                      Anthony Wayne Area 157                                   9804 Illinois Rd                                       Fort Wayne, IN 46804‐5768                                                                                   First Class Mail
Chartered Organization         Westview Community Assoc                                      Crossroads of America 160                                3401 W Gilbert St                                      Muncie, IN 47304‐3709                                                                                       First Class Mail
Voting Party                   Westview Presbyterian Church                                  1500 Hover St                                            Longmont, CO 80501                                                                                                       wview@westviewpres.org                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Westview School Pto                                           Northern Star Council 250                                225 Garden View Dr                                     Apple Valley, MN 55124‐6724                                                                                 First Class Mail
Chartered Organization         Westview Utd Methodist Church                                 Middle Tennessee Council 560                             7107 Westview Dr                                       Fairview, TN 37062‐9396                                                                                     First Class Mail
Chartered Organization         Westville Lions Club                                          Prairielands 117                                         P.O. Box 368                                           Westville, IL 61883‐0368                                                                                    First Class Mail
Chartered Organization         Westwind Church                                               Longhorn Council 662                                     1300 Sarah Brooks Dr                                   Keller, TX 76248‐2048                                                                                       First Class Mail
Chartered Organization         Westwood Baptist                                              Middle Tennessee Council 560                             2510 Albion St                                         Nashville, TN 37208‐3210                                                                                    First Class Mail
Chartered Organization         Westwood Baptist Church                                       Greater Alabama Council 001                              P.O. Box 368                                           Adamsville, AL 35005‐0368                                                                                   First Class Mail
Chartered Organization         Westwood Baptist Church                                       Occoneechee 421                                          200 Westhigh St                                        Cary, NC 27513‐5736                                                                                         First Class Mail
Chartered Organization         Westwood Building Ctr                                         Voyageurs Area 286                                       1123 Central St W                                      Bagley, MN 56621‐4242                                                                                       First Class Mail
Chartered Organization         Westwood Church Of God                                        Southern Shores Fsc 783                                  811 Gorham Ln                                          Kalamazoo, MI 49006‐2707                                                                                    First Class Mail
Chartered Organization         Westwood Elementary School                                    Crossroads of America 160                                899 S Honey Creek Rd                                   Greenwood, IN 46143‐9513                                                                                    First Class Mail
Chartered Organization         Westwood Elementary School                                    Crossroads of America 160                                1015 S Greensboro Pike                                 New Castle, IN 47362‐9107                                                                                   First Class Mail
Chartered Organization         Westwood Lumber                                               Voyageurs Area 286                                       1123 Central St W                                      Bagley, MN 56621‐4242                                                                                       First Class Mail
Chartered Organization         Westwood Ministerial Assoc                                    Mid‐America Council 326                                  216 Buckley St                                         Sloan, IA 51055‐8083                                                                                        First Class Mail
Chartered Organization         Westwood Police Dept                                          The Spirit of Adventure 227                              588 High St                                            Westwood, MA 02090‐1607                                                                                     First Class Mail
Chartered Organization         Westwood Presbyterian Church                                  Dan Beard Council, Bsa 438                               1068 Stahlheber Rd                                     Hamilton, OH 45013‐1908                                                                                     First Class Mail
Chartered Organization         Westwood Presbyterian Church Usa                              Quivira Council, Bsa 198                                 8007 W Maple St                                        Wichita, KS 67209‐1401                                                                                      First Class Mail
Chartered Organization         Westwood Rangers                                              Norwela Council 215                                      7325 Jewella Ave                                       Shreveport, LA 71108‐4719                                                                                   First Class Mail
Voting Party                   Westwood United Methodist Church                              Attn: Mark M Reid                                        1030 Cadet Ln                                          Kalamazoo, MI 49009                                               Wedgeboyreid@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westwood United Methodist Church                              Attn: Thomas Woody                                       250 Acr 104                                            Elkhart, TX 75839                                                 tjwoody1303@yahoo.com                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westwood United Methodist Church                              c/o Bhmk Law                                             Attn: Robert G Hyland                                  221 E 4th St, Ste 2300           Cincinnati, OH 45202             rhland@bhmklaw.com                        Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westwood United Methodist Church                              3460 Epworth Ave                                         Cincinnati, OH 45211                                                                                                     mabohy@fuse.net                           Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westwood United Methodist Church                              538 Nichols Rd                                           Kalamazoo, MI 49006                                                                                                      info@westwood‐umc.org                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westwood United Methodist Church                              c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Westwood United Methodist Church                              110 Ridgewood Dr                                         Palestine, TX 75801                                                                                                                                                First Class Mail
Chartered Organization         Westwood Utd Methodist Church                                 Northern New Jersey Council, Bsa 333                     105 Fairview Ave                                       Westwood, NJ 07675‐2223                                                                                     First Class Mail
Chartered Organization         Westwood Village Rotary Club Foundation                       W L A C C 051                                            P.O. Box 24114                                         Los Angeles, CA 90024‐0114                                                                                  First Class Mail
Chartered Organization         Wetherbee School Pta                                          The Spirit of Adventure 227                              75 Newton St                                           Lawrence, MA 01843‐1322                                                                                     First Class Mail
Voting Party                   Wethersfield United Methodist Church                          Attn: Bruce Attn: Bockstael                              150 Prospect St                                        Wethersfield, CT 06109                                            brucebockstael@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Wewoka Police Dept                                            Last Frontier Council 480                                114 W 4th St                                           Wewoka, OK 74884‐2508                                                                                       First Class Mail
Chartered Organization         Wexford Ward Lds Church                                       Laurel Highlands Council 527                             2210 Reis Run Rd                                       Pittsburgh, PA 15237                                                                                        First Class Mail
Chartered Organization         Weyauwega Scouting, Inc                                       Bay‐Lakes Council 635                                    304 E Ann St                                           Weyauwega, WI 54983                                                                                         First Class Mail
Chartered Organization         Weymouth Heights Club                                         Mayflower Council 251                                    598 North St                                           Weymouth, MA 02189‐1049                                                                                     First Class Mail
Chartered Organization         Wha Wadesboro Housing Authority                               Central N Carolina Council 416                           200 W Short Plz                                        Wadesboro, NC 28170‐2944                                                                                    First Class Mail
Voting Party                   Whaley United Methodist Church                                701 Rosedale                                             Gainesville, TX 76240                                                                                                    office@whaleychurch.org                   Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Wharton High School Njrotc                                    Greater Tampa Bay Area 089                               20150 Bruce B Downs Blvd                               Tampa, FL 33647‐2482                                                                                        First Class Mail
Chartered Organization         Wharton Lions Club                                            Sam Houston Area Council 576                             P.O. Box 106                                           Wharton, TX 77488‐0106                                                                                      First Class Mail
Chartered Organization         Wharton United Commty                                         Church At St John's                                      Patriots Path Council 358                              20 Church St                     Wharton, NJ 07885                                                          First Class Mail
Voting Party                   Wharton United Community Church                               c/o Bradley Arant Boult Cummings, LLP                    Attn: Edwin G Rice                                     100 N Tampa St, Ste 2200         Tampa, FL 33602                  erice@bradley.com                         Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Wharton‐Wesley United Methodist Church                        5341 Catharine St                                        Philadelphia, PA 19143                                                                                                   revdavidwbrown@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Whatcoat Church Camden                                        Attn: Lorraine Keller                                    16 N Main St                                           Camden, DE 19934                                                  office@whatcoat.com                       Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Whatcoat Utd Methodist Church                                 Del Mar Va 081                                           16 N Main St                                           Camden, DE 19934‐1228                                                                                       First Class Mail
Chartered Organization         Wheat Ridge Police Dept                                       Denver Area Council 061                                  7500 W 29th Ave                                        Wheat Ridge, CO 80033‐8001                                                                                  First Class Mail
Voting Party                   Wheat Ridge United Methodist Church                           Attn: Treasurer                                          7530 W 38th Ave                                        Wheat Ridge, CO 80033                                             laura@winberg.us                          Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Wheatland Fire Dept                                           Illowa Council 133                                       206 E Madison                                          P.O. Box 474                     Wheatland, IA 52777‐0474                                                   First Class Mail
Chartered Organization         Wheatland Salem Methodist Church‐ Oswego                      Three Fires Council 127                                  1217 Wolf Rd                                           Oswego, IL 60543‐8470                                                                                       First Class Mail
Voting Party                   Wheatland Salem United Methodist Church                       Attn: Jennifer Wilson                                    1852 95th St                                           Naperville, IL 60564‐8992                                         jen_wilson@wheatlandsalem.org             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Wheatland Salem United Methodist Church‐Oswego                Wheatland Salem United Methodist Church                  1852 95th St                                           Naperville, IL 60564                                              jen_wilson@wheatlandsalem.org             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Wheatland Salem United Methodist Men                          Three Fires Council 127                                  1852 95th St                                           Naperville, IL 60564‐8992                                                                                   First Class Mail
Voting Party                   Wheatland Salem United Methodist Men                          Wheatland Salem United Methodist Church                  1852 95th St                                           Naperville, IL 60564                                              jen_wilson@wheatlandsalem.org             Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Voting Party                   Wheatland United Methodist Church                             Attn: Karen Thayer                                       907 9th St                                             Wheatland, WY 82201                                                                                         First Class Mail
Chartered Organization         Wheatland Utd Methodist Church                                Longs Peak Council 062                                   909 9th St                                             Wheatland, WY 82201‐2608                                                                                    First Class Mail
Chartered Organization         Wheaton Elks Lodge 2258                                       Three Fires Council 127                                  0N772 Papworth St                                      Wheaton, IL 60187                                                                                           First Class Mail
Chartered Organization         Wheaton Volunteer Rescue Squad                                National Capital Area Council 082                        2400 Arcola Ave                                        Silver Spring, MD 20902‐2895                                                                                First Class Mail
Chartered Organization         Wheaton Wesleyan Church                                       Three Fires Council 127                                  1300 S President St                                    Wheaton, IL 60189‐6662                                                                                      First Class Mail
Voting Party                   Wheaton: Gary                                                 224 N Main St                                            Wheaton, IL 60187                                                                                                        office@garychruch.org                     Email
                                                                                                                                                                                                                                                                                                                         First Class Mail
Chartered Organization         Wheeler Avenue Baptist Church                                 Sam Houston Area Council 576                             3826 Wheeler St                                        Houston, TX 77004‐2604                                                                                      First Class Mail
Chartered Organization         Wheeler Banking Ctr                                           Golden Spread Council 562                                P.O. Box 1040                                          Wheeler, TX 79096‐1040                                                                                      First Class Mail
Chartered Organization         Wheeler High School Outdoor Club                              Atlanta Area Council 092                                 375 Holt Rd Ne                                         Marietta, GA 30068‐3560                                                                                     First Class Mail
Voting Party                   Wheeler United Methodist Church                               Attn: Treasurer                                          307 North St                                           P.O. Box 113                     Wheeler, IN 46393                rebecca.gierke040@gmail.com               Email
                                                                                                                                                                                                                                                                                                                         First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                          Page 433 of 442
                                                                                  Case 20-10343-LSS                                                         Doc 8171                                    Filed 01/06/22                                                             Page 449 of 457
                                                                                                                                                                                           Exhibit B
                                                                                                                                                                                            Service List
                                                                                                                                                                                     Served as set forth below

        Description                                                        Name                                                                                                          Address                                                                                                                      Email                        Method of Service
Voting Party                   Wheeler United Methodist Church                                Attn: Secretary/Treasurer And/Or Pastor                 P.O. Box 89                                              Wheeler, TX 79096                                                                                                        First Class Mail
Chartered Organization         Wheeler Utd Methodist Church                                   Sequoyah Council 713                                    2376 Hwy 75                                              Blountville, TN 37617                                                                                                    First Class Mail
Chartered Organization         Wheeler Utd Methodist Church                                   Yocona Area Council 748                                 649 County Rd 5031                                       Booneville, MS 38829                                                                                                     First Class Mail
Voting Party                   Wheelersburg United Methodist Church                           Attn: Perry Prosch                                      11605 Gallia Pike Rd                                     Wheelersburg, OH 45694                                                        pprosch@roadrunner.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Wheelersburg Utd Methodist Church                              Simon Kenton Council 441                                8310 Gallia St                                           Wheelersburg, OH 45694                                                                                                   First Class Mail
Chartered Organization         Wheeling Police Dept                                           Ohio River Valley Council 619                           1500 Chapline St                                         Wheeling, WV 26003‐3553                                                                                                  First Class Mail
Chartered Organization         Wheels Of America                                              Orange County Council 039                               6430 Dale St, Apt 3                                      Buena Park, CA 90621‐3115                                                                                                First Class Mail
Chartered Organization         Where He Leads (Uganda)                                        Transatlantic Council, Bsa 802                          P.O. Box 758                                             Fort Portal,                               Uganda                                                                        First Class Mail
Chartered Organization         Whetstone Church                                               Crossroads of America 160                               5940 S Madison Ave                                       Anderson, IN 46013‐1656                                                                                                  First Class Mail
Voting Party                   Whf Ruritan Club                                               Attn: James L Robertson                                 2303 Exeter Mill Rd                                      Church Rd, VA 23833                                                           vnvet.1@netzero.net                        Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Whigham Umc / Whigham Community Club                           Suwannee River Area Council 664                         146 W Broad Ave                                          Whigham, GA 39897‐2228                                                                                                   First Class Mail
Chartered Organization         Whigham United Methodist Church                                Suwannee River Area Council 664                         P.O. Box 4                                               Whigham, GA 39897‐0004                                                                                                   First Class Mail
Chartered Organization         Whipple Heights Elementary Pto                                 Buckeye Council 436                                     4800 12th St Nw                                          Canton, OH 44708‐3418                                                                                                    First Class Mail
Chartered Organization         Whispering Forest Elementary Pta                               Southeast Louisiana Council 214                         38374 Spiehler Rd                                        Slidell, LA 70458‐5431                                                                                                   First Class Mail
Chartered Organization         Whispering Needles                                             President Gerald R Ford 781                             P.O. Box 649                                             Kingsley, MI 49649‐0649                                                                                                  First Class Mail
Chartered Organization         Whispering Pines Baptist Church                                Georgia‐Carolina 093                                    P.O. Box 1023                                            Hephzibah, GA 30815‐1023                                                                                                 First Class Mail
Chartered Organization         Whitcomb Clinic                                                Circle Ten Council 571                                  2461 Robinson Rd                                         Grand Prairie, TX 75051‐3852                                                                                             First Class Mail
Chartered Organization         Whitcomb‐Baker Post 4633 VFW                                   Katahdin Area Council 216                               P.O. Box 555                                             Hampden, ME 04444‐0555                                                                                                   First Class Mail
Chartered Organization         White Bear Lake Fire Dept                                      Northern Star Council 250                               4700 Miller Ave                                          St Paul, MN 55110‐3245                                                                                                   First Class Mail
Chartered Organization         White Bear Lake Rotary Club                                    Northern Star Council 250                               4701 Hwy 61 N                                            White Bear Lake, MN 55110‐3227                                                                                           First Class Mail
Chartered Organization         White Bluff Presbyterian Church                                Coastal Georgia Council 099                             10710 White Bluff Rd                                     Savannah, GA 31406‐5647                                                                                                  First Class Mail
Voting Party                   White Bluff United Methodist Church                            Attn: Eric Limbo                                        4549 Hwy 70 E                                            White Bluff, TN 37187                                                         ericlimbo@aol.com                          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         White Chapel Church Of God                                     Central Florida Council 083                             1730 S Ridgewood Ave                                     South Daytona, FL 32119‐8411                                                                                             First Class Mail
Chartered Organization         White City Community Improvement Assoc                         Crater Lake Council 491                                 P.O. Box 2403                                            White City, OR 97503‐0403                                                                                                First Class Mail
Voting Party                   White City Umc ‐ Fort Pierce                                   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200                   Tampa, FL 33602                    erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   White City Umc 810 W Midway Rd, Fort Pierce, Fl 34962          c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200                   Tampa, FL 33602                    erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         White Eagle Homeowners' Assoc                                  Three Fires Council 127                                 3000 White Eagle Dr                                      Naperville, IL 60564                                                                                                     First Class Mail
Chartered Organization         White Hall Elementary                                          Blue Grass Council 204                                  2166 Lexington Rd                                        Richmond, KY 40475‐7900                                                                                                  First Class Mail
Chartered Organization         White Hall Lions Club                                          Abraham Lincoln Council 144                             Rr 1 Box 168                                             White Hall, IL 62092                                                                                                     First Class Mail
Chartered Organization         White Hall Police Assoc                                        Quapaw Area Council 018                                 9011 Dollarway Rd                                        White Hall, AR 71602‐2612                                                                                                First Class Mail
Voting Party                   White Hall Umc                                                 c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200                   Tampa, FL 33602                    erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   White Hall United Methodist Church                             Attn: Kae Spencer                                       P.O. Box 20880                                           White Hall, AR 71612                                                          whumc@att.net                              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   White Hall United Methodist Church                             Attn: Matthew Lyman                                     755 Cedar Grove Rd                                       Winchester, VA 22603                                                          mattlyman2112@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   White Hall United Methodist Church                             Attn: Lisa Bly                                          3265 Apple Pie Ridge Rd                                  Winchester, VA 22603                                                          lbly@shentel.net                           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         White Hosue Police Dept                                        Middle Tennessee Council 560                            303 N Palmers Chapel Rd                                  White House, TN 37188‐9066                                                                                               First Class Mail
Voting Party                   White House‐First United Methodist Church                      Attn: Richard Davis                                     3403 Hwy 31 W                                            White House, TN 37188                                                         whfumc1@bellsouth.net                      Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         White Lake Middle School                                       Parent Council                                          1450 Bogie Lake Rd                                       White Lake, MI 48383‐2773                                                                                                First Class Mail
Chartered Organization         White Lake Presbyterian Church                                 Great Lakes Fsc 272                                     4805 Highland Rd                                         White Lake, MI 48383‐2526                                                                                                First Class Mail
Chartered Organization         White Meadow Lake Property Owners Assoc                        Patriots Path Council 358                               100 White Meadow Rd                                      Rockaway, NJ 07866‐1123                                                                                                  First Class Mail
Chartered Organization         White Memorial Church                                          Juniata Valley Council 497                              68 S Main St                                             Milroy, PA 17063‐8616                                                                                                    First Class Mail
Voting Party                   White Memorial Presbyterian Church                             Attn: Andrew Amodei                                     1704 Oberlin Rd                                          Raleigh, NC 27608‐2042                                                        aamodei@whitememorial.org                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   White Memorial Umc                                             c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200                   Tampa, FL 33602                    erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         White Mountain Nature Ctr                                      Grand Canyon Council 010                                425 S Woodland Rd                                        Lakeside, AZ 85929                                                                                                       First Class Mail
Voting Party                   White Mountain United Methodist Church (Az)                    c/o Clarke Law Firm, Plc                                Attn: Marilee Miller Clarke                              8141 E Indian Bend Rd, Ste 105             Scottsdale, AZ 85250               marilee@clarkelawaz.com                    Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         White Oak Ame Zion Church                                      Palmetto Council 549                                    P.O. Box 28                                              Van Wyck, SC 29744‐0028                                                                                                  First Class Mail
Chartered Organization         White Oak Lions Club                                           East Texas Area Council 585                             209 E Sally St                                           White Oak, TX 75693‐1123                                                                                                 First Class Mail
Voting Party                   White Oak Public Service District                              P O Box 358                                             Scarbro, WV 25917‐0358                                                                                                                 whiteoakpsn@frontier.com                   Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         White Oak Volunteer Fire Dept                                  National Capital Area Council 082                       12 Newton Rd                                             Fredericksburg, VA 22405‐3628                                                                                            First Class Mail
Chartered Organization         White Pigeon Rotary Club                                       Southern Shores Fsc 783                                 P.O. Box 18                                              White Pigeon, MI 49099‐0018                                                                                              First Class Mail
Chartered Organization         White Pine Elementary Pto                                      Ore‐Ida Council 106 ‐ Bsa 106                           401 E Linden St                                          Boise, ID 83706‐6806                                                                                                     First Class Mail
Voting Party                   White Pine United Methodist Church (08494)                     c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200                 Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         White Plains Baptist Church                                    National Capital Area Council 082                       P.O. Box 156                                             Pomfret, MD 20675‐0156                                                                                                   First Class Mail
Voting Party                   White Plains Presbyterian Church                               Attn: Valerie M Daniele                                 39 N Broadway                                            White Plains, NY 10601‐1602                                                   wppresby.church@optonline.net              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   White Plains Presbyterian Church                               Valerie M Daniele                                       39 N Broadway                                            White Plains, NY 10601‐1602                                                   wppresby.church@optonline.net              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   White Plains Presbyterian Church                               Attn: Ellen O'Connell Esq                               600 Parsippany Rd, Ste 204                               Parsippany, NJ 07054                                                          wppresby.church@optonline.net              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   White Plains Presbyterian Church                               Attn: Ellen O'Connell Esq                               600 Parsippany Rd, Ste 204                               Parsippany, NJ 07054                                                          eoconnell@iwwt.law                         Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         White Plains Ruritan Club                                      Old Hickory Council 427                                 998 Old Hwy 601                                          Mt Airy, NC 27030                                                                                                        First Class Mail
Chartered Organization         White Plains Ruritan Club                                      Old Hickory Council 427                                 1582 Old Hwy 601                                         Mt Airy, NC 27030‐7895                                                                                                   First Class Mail
Voting Party                   White Plains United Methodist Church                           Attn: Nancy Plath                                       313 SE Maynard Rd                                        Cary, NC 27511                                                                busadmin@wpumc.com                         Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         White River Elementary Pto                                     Crossroads of America 160                               19000 Cumberland Rd                                      Noblesville, IN 46060‐1500                                                                                               First Class Mail
Chartered Organization         White River Health System                                      Quapaw Area Council 018                                 1710 Harrison St                                         Batesville, AR 72501‐7303                                                                                                First Class Mail
Voting Party                   White River Junction United Methodist Church                   Attn: Pat Stark                                         106 Gates St                                             White River Junction, VT 05001                                                unitedmethodistchurchwrj@myfairpoint.net   Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         White Rock Baptist Church                                      Occoneechee 421                                         3400 Fayetteville St                                     Durham, NC 27707‐4017                                                                                                    First Class Mail
Chartered Organization         White Rock Baptist Church                                      Cradle of Liberty Council 525                           5240 Chestnut St                                         Philadelphia, PA 19139‐3414                                                                                              First Class Mail
Chartered Organization         White Rock Boat Club                                           Circle Ten Council 571                                  P.O. Box 38416                                           Dallas, TX 75238‐0416                                                                                                    First Class Mail
Chartered Organization         White Rock Methodist Church                                    Circle Ten Council 571                                  1450 Old Gate Ln                                         Dallas, TX 75218‐4103                                                                                                    First Class Mail
Chartered Organization         White Rock Methodist Church                                    Great SW Council 412                                    580 Meadow Ln                                            Los Alamos, NM 87547‐3740                                                                                                First Class Mail
Chartered Organization         White Rock United Methodist Church                             Circle Ten Council 571                                  1450 Old Gate Ln                                         Dallas, TX 75218‐4103                                                                                                    First Class Mail
Chartered Organization         White Rock Valley Neighborhood Assoc                           Circle Ten Council 571                                  9661 Audelia Rd, Ste 333‐2                               Dallas, TX 75238‐2676                                                                                                    First Class Mail
Voting Party                   White Salmon United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200                   Tampa, FL 33602                    erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         White Salmon Utd Methodist Church                              Cascade Pacific Council 492                             341 N Main Ave                                           White Salmon, WA 98672‐1160                                                                                              First Class Mail
Chartered Organization         White Sands Homes                                              Yucca Council 573                                       1000 Rock Island Ave                                     White Sands Missile Range, NM 88002‐1143                                                                                 First Class Mail
Chartered Organization         White Settlement Parks And Recreation                          Longhorn Council 662                                    8213 White Settlement Rd                                 Fort Worth, TX 76108‐1604                                                                                                First Class Mail
Chartered Organization         White Stag Assoc                                               Golden Empire Council 047                               7959 Hansom Dr                                           Oakland, CA 94605‐4206                                                                                                   First Class Mail
Chartered Organization         White Stag Assoc                                               San Francisco Bay Area Council 028                      7959 Hansom Dr                                           Oakland, CA 94605‐4206                                                                                                   First Class Mail
Chartered Organization         White Stag Leadership Development                              Mt Diablo‐Silverado Council 023                         7959 Hansom Dr                                           Oakland, CA 94605‐4206                                                                                                   First Class Mail
Chartered Organization         White Stag Leadership Devt Academy                             Silicon Valley Monterey Bay 055                         P.O. Box 4375                                            Carmel, CA 93921‐4375                                                                                                    First Class Mail
Chartered Organization         White Stag Leadership Devt Academy, Inc                        Alameda Council Bsa 022                                 33 Soledad Dr                                            Monterey, CA 93940‐6013                                                                                                  First Class Mail
Chartered Organization         White Sulphur Spgs Utd Methodist Ch                            Hudson Valley Council 374                               P.O. Box 201                                             White Sulphur Springs, NY 12787‐0201                                                                                     First Class Mail
Chartered Organization         White Sulphur Springs Rotary Club                              Buckskin 617                                            377 Main St W                                            White Sulphur Springs, WV 24986‐5004                                                                                     First Class Mail
Voting Party                   White Sulphur Springs Umc                                      Attn: Rev Bridgette Leconey                             Box 308                                                  White Sulphur Springs, NY 12787                                               bblec7@gmail.com                           Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         White Utd Methdosit Church Mens Group                          Northwest Georgia Council 100                           3411 Hwy 411 Ne                                          White, GA 30184‐2424                                                                                                     First Class Mail
Voting Party                   White Wilderness, Inc                                          Attn: Peter S Mcclelland                                P.O. Box 727                                             Ely, MN 55731                                                                 peter@whitewilderness.com                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Whiteface Vol Fire Dept                                        South Plains Council 694                                105 W 2nd Box 248                                        Whiteface, TX 79379                                                                                                      First Class Mail
Chartered Organization         Whitefield Academy                                             Atlanta Area Council 092                                1 Whitefield Dr Se                                       Mableton, GA 30126‐5236                                                                                                  First Class Mail
Chartered Organization         Whitefield Ministries                                          Arbuckle Area Council 468                               5552 Sunshine Rd                                         Davis, OK 73030‐9463                                                                                                     First Class Mail
Chartered Organization         Whitefish Church Of The Nazarene                               Montana Council 315                                     1125 7th St                                              Whitefish, MT 59937‐2846                                                                                                 First Class Mail
Chartered Organization         Whiteford Elementary Parent Teacher Org                        Erie Shores Council 460                                 4708 Whiteford Rd                                        Toledo, OH 43623‐2763                                                                                                    First Class Mail
Chartered Organization         Whiteford Wesleyan Church                                      Southern Shores Fsc 783                                 10285 Sylvania Petersburg Rd                             Ottawa Lake, MI 49267‐9753                                                                                               First Class Mail
Chartered Organization         Whitehall Township Police Dept                                 Minsi Trails Council 502                                3731 Lehigh St                                           Whitehall, PA 18052‐3402                                                                                                 First Class Mail
Voting Party                   Whitehall Umc                                                  Attn: Marilyn Morgan                                    1862 Hwy 521                                             Haynesville, LA 71038                                                         counturblessings@wildblue.net              Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Whitehead Boys & Girls Club                                    Atlanta Area Council 092                                1900 Lakewood Ave Se                                     Atlanta, GA 30315‐4311                                                                                                   First Class Mail
Chartered Organization         Whitehead School Pto                                           Blackhawk Area 660                                      2325 Ohio Pkwy                                           Rockford, IL 61108‐7514                                                                                                  First Class Mail
Chartered Organization         Whitehouse Umc Methodist Men                                   East Texas Area Council 585                             405 W Main St                                            Whitehouse, TX 75791‐3451                                                                                                First Class Mail
Voting Party                   Whitehouse United Methodist Church                             Attn: Jessica Sorrels, Financial Administrator          405 W Main St                                            Whitehouse, TX 75791                                                          trey@whitehouseumc.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Whitehouse Zion United Methodist Church                        Attn: Treasurer                                         P.O. Box 2457                                            Whitehouse, OH 43571                                                          zionwhitehouseumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Whitehouse‐Hope United Methodist Church                        10610 Waterville St                                     Whitehouse, OH 43571                                                                                                                   hopechurch@hopeunitedmethodist.com         Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Whiteland Utd Methodist Church                                 Crossroads of America 160                               309 E Main St                                            Whiteland, IN 46184‐1514                                                                                                 First Class Mail
Chartered Organization         Whiteman Afb Cgoc                                              Heart of America Council 307                            509 Spirit Blvd                                          Whiteman Air Force Base, MO 65305‐5400                                                                                   First Class Mail
Voting Party                   Whites Chapel Umc                                              c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200                   Tampa, FL 33602                    erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Whites Chapel Utd Methodist Church                             Longhorn Council 662                                    185 S White Chapel Blvd                                  Southlake, TX 76092‐7308                                                                                                 First Class Mail
Chartered Organization         Whitestown American Legion Post 410                            Crossroads of America 160                               5 Linville Ave                                           Whitestown, IN 46075‐9393                                                                                                First Class Mail
Chartered Organization         Whitestown Post 1113 American Legion                           Leatherstocking 400                                     110 Main St                                              Whitesboro, NY 13492‐1219                                                                                                First Class Mail
Voting Party                   Whitestown United Methodist Church                             Attn: Susan Quin                                        206 Main St                                              P.O. Box 154                               Whitestown, IN 46075               squinn482@yahoo.com                        Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Whitesville Lions Club                                         Lincoln Heritage Council 205                            9421 Mccamish Rd                                         Whitesville, KY 42378‐9302                                                                                               First Class Mail
Chartered Organization         Whitesville Rural Volunteer Fire Dept                          Coastal Carolina Council 550                            115 Sunview Ln                                           Moncks Corner, SC 29461‐8831                                                                                             First Class Mail
Chartered Organization         Whiteville Methodist Mens Club                                 Cape Fear Council 425                                   902 Pinckney St                                          Whiteville, NC 28472‐2644                                                                                                First Class Mail
Voting Party                   Whiteville United Methodist Church, Inc                        902 Pinckney St                                         Whiteville, NC 28472                                                                                                                   Cwilliamson@wwsfirm.com                    Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Whitewood Volunteer Fire Dept                                  Sequoyah Council 713                                    P.O. Box 297                                             Pilgrims Knob, VA 24634‐0297                                                                                             First Class Mail
Voting Party                   Whitfield Memorial United Methodist Church                     Attn: James Solomon, Jr                                 2673 Fisk Rd                                             Montgomery, AL 36111                                                          whitfieldumc@gmail.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Whiting Elks 1273                                              Pathway To Adventure 456                                P.O. Box 668                                             Whiting, IN 46394‐0668                                                                                                   First Class Mail
Chartered Organization         Whiting Lane School P T O                                      Connecticut Rivers Council, Bsa 066                     47 Whiting Ln                                            West Hartford, CT 06119‐1642                                                                                             First Class Mail
Chartered Organization         Whitinsville                                                   Village Congregational Church                           P.O. Box 417                                             Whitinsville, MA 01588                                                                                                   First Class Mail
Chartered Organization         Whitinsville                                                   St Patricks Roman Catholic Church                       1 Cross St                                               Whitinsville, MA 01588‐2345                                                                                              First Class Mail
Chartered Organization         Whitish Funk American Legion Post 184                          Blackhawk Area 660                                      860 Lincoln Ave                                          Fennimore, WI 53809‐1538                                                                                                 First Class Mail
Chartered Organization         Whitley Memorial Utd Methodist Church                          Tuscarora Council 424                                   300 Wilsons Mills Rd                                     Smithfield, NC 27577‐3248                                                                                                First Class Mail
Chartered Organization         Whitman Academy                                                Transatlantic Council, Bsa 802                          P.O. Box 14201                                           Amman, 11814                               Jordan                                                                        First Class Mail
Chartered Organization         Whitman Middle School Ptsa                                     Chief Seattle Council 609                               9201 15th Ave Nw                                         Seattle, WA 98117‐2336                                                                                                   First Class Mail
Chartered Organization         Whitman Square Community Club                                  Garden State Council 690                                156 Whitman Dr                                           Turnersville, NJ 08012‐1048                                                                                              First Class Mail
Voting Party                   Whitman United Methodist Church                                Attn: Peter Sword                                       503 S Ave                                                Whitman, MA 02382                                                             PeterSword@comcast.net                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Whitmell Utd Methodist Mens Club                               Blue Ridge Mtns Council 599                             2168 Whitmell School Rd                                  Dry Fork, VA 24549‐2703                                                                                                  First Class Mail
Chartered Organization         Whitmire Rescue Squad                                          Blue Ridge Council 551                                  26350 Sc Hwy 121                                         Whitmire, SC 29178‐8918                                                                                                  First Class Mail
Voting Party                   Whitnel United Methodist Church 1373 Delwood Dr Lenoir, Nc 2   c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200                   Tampa, FL 33602                    erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Whitnel Utd Methodist Church                                   Piedmont Council 420                                    1373 Delwood Dr Sw                                       Lenoir, NC 28645‐6119                                                                                                    First Class Mail
Voting Party                   Whitney Point United Methodist Church                          Attn: Treasurer Whitney Point United Methodist Church   7311 Collins St                                          Whitney Point, NY 13862                                                       whitneypointumc@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Whitney Police Dept                                            Longhorn Council 662                                    102 N Colorado St                                        Whitney, TX 76692‐2213                                                                                                   First Class Mail
Voting Party                   Whitney United Methodist Church ‐ Boise                        c/o Bradley Arant Boult Cummings, LLP                   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200                   Tampa, FL 33602                    erice@bradley.com                          Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Whitney Utd Methodist Church                                   Ore‐Ida Council 106 ‐ Bsa 106                           3315 W Overland Rd                                       Boise, ID 83705‐3049                                                                                                     First Class Mail
Voting Party                   Whitneyville United Methodist Church (7455)                    c/o Bentz Law Firm                                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200                 Pittsburgh, PA 15228               lspagnolo@bentzlaw.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Whittakers Insurance                                           Silicon Valley Monterey Bay 055                         20395 Pacifica Dr, Ste 108                               Cupertino, CA 95014‐3016                                                                                                 First Class Mail
Chartered Organization         Whitter School                                                 Montana Council 315                                     511 N 5th Ave                                            Bozeman, MT 59715‐3419                                                                                                   First Class Mail
Chartered Organization         Whittier Education Campus                                      National Capital Area Council 082                       6201 5th St Nw                                           Washington, DC 20011‐1336                                                                                                First Class Mail
Chartered Organization         Whittier Parent Teacher Org                                    Mid Iowa Council 177                                    1306 W Salem Ave                                         Indianola, IA 50125‐2176                                                                                                 First Class Mail
Chartered Organization         Whittier Police Dept                                           Greater Los Angeles Area 033                            13200 Penn St                                            Whittier, CA 90602‐1716                                                                                                  First Class Mail
Chartered Organization         Whittier School Pta                                            Three Harbors Council 636                               8542 Cooper Rd                                           Pleasant Prairie, WI 53158‐3200                                                                                          First Class Mail
Chartered Organization         Whittier/Wilson Vance Pto                                      Black Swamp Area Council 449                            610 Bristol Dr                                           Findlay, OH 45840‐6910                                                                                                   First Class Mail
Chartered Organization         Whitworth Presbyterian                                         Inland Nwest Council 611                                312 W Hawthorne Rd                                       Spokane, WA 99218‐2515                                                                                                   First Class Mail
Chartered Organization         Wi3Gnd Ham Radio Club                                          Denver Area Council 061                                 3770 S Mission Pkwy 10                                   Aurora, CO 80013‐2677                                                                                                    First Class Mail
Chartered Organization         Wibaux Bible Church                                            Montana Council 315                                     101 Wibaux St N                                          Wibaux, MT 59353                                                                                                         First Class Mail
Chartered Organization         Wibaux Bible Church                                            Montana Council 315                                     101 Wibaux St N                                          Wibaux, MT 59353                                                                                                         First Class Mail
Voting Party                   Wibaux United Methodist Church                                 Attn: Kevin Patrick Garman                              206 W Towne St                                           Glendive, MT 59330                                                            pastorkevin89@gmail.com                    Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Wiccopee Community United Methodist Church                     Attn: Catherine A Snook                                 3306 Route 52                                            Stormville, NY 12582                                                          wiccopeecommunityumc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Wiccopee Community United Methodist Church                     Attn: Catherine Ann Snook                               7 Old Grange Rd                                          Hopewell Junction, NY 12533                                                   CATHERINE.SNOOK@GMAIL.COM                  Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Chartered Organization         Wicheta Dental Clinic                                          Capitol Area Council 564                                3301 Northland Dr, Ste 315                               Austin, TX 78731‐4952                                                                                                    First Class Mail
Chartered Organization         Wichita Collegiate School                                      Quivira Council, Bsa 198                                9115 E 13th St N                                         Wichita, KS 67206‐1214                                                                                                   First Class Mail
Chartered Organization         Wichita Fire Dept                                              Quivira Council, Bsa 198                                455 N Main St                                            Wichita, KS 67202‐1600                                                                                                   First Class Mail
Chartered Organization         Wichita Northwest Lions Club                                   Quivira Council, Bsa 198                                805 W Rynder Ln                                          Wichita, KS 67204‐2833                                                                                                   First Class Mail
Voting Party                   Wicker Smith O'Hara Mccoy& Ford Pa                             c/o Wicker Smith Pa                                     Attn: Lisa Dasher                                        2800 Ponce De Leon Blvd, Ste 800           Coral Gables, FL 33134             ldasher@wickersmith.com                    Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Wickes United Methodist Church                                 Attn: Lorraine Timmerman                                P.O. Box 75                                              Wickes, AR 71973                                                              lraines@fridayfirm.com                     Email
                                                                                                                                                                                                                                                                                                                                        First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                            Page 434 of 442
                                                                                    Case 20-10343-LSS                                                  Doc 8171                                        Filed 01/06/22                                               Page 450 of 457
                                                                                                                                                                                          Exhibit B
                                                                                                                                                                                           Service List
                                                                                                                                                                                    Served as set forth below

        Description                                                          Name                                                                                                       Address                                                                                                        Email                Method of Service
Chartered Organization         Wickliffe Elementary School Pto                               Simon Kenton Council 441                            2405 Wickliffe Rd                                            Columbus, OH 43221‐1877                                                                            First Class Mail
Chartered Organization         Wickliffe Presbyterian Church                                 Lake Erie Council 440                               29955 Ridge Rd                                               Wickliffe, OH 44092‐1850                                                                           First Class Mail
Chartered Organization         Wickline Utd Methodist Church                                 Last Frontier Council 480                           417 Mid America Blvd                                         Midwest City, OK 73110‐5672                                                                        First Class Mail
Chartered Organization         Wicomico Sheriff Office                                       Del Mar Va 081                                      401 Naylor Mill Rd                                           Salisbury, MD 21801‐1191                                                                           First Class Mail
Voting Party                   Wicomico Umc                                                  c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Wide Awake Grange                                             Seneca Waterways 397                                1004 State Route 88                                          Phelps, NY 14532‐9741                                                                              First Class Mail
Chartered Organization         Widener Memorial School                                       Cradle of Liberty Council 525                       1450 W Olney Ave                                             Philadelphia, PA 19141‐2316                                                                        First Class Mail
Chartered Organization         Widener Ward ‐ Lds                                            Cradle of Liberty Council 525                       415 E 22nd St                                                Chester, PA 19013‐5501                                                                             First Class Mail
Voting Party                   Wideopenwest, Inc                                             dba Wow Business                                    1241 Og Skinner Dr                                           West Point, GA 31833‐1789                                                                          First Class Mail
Chartered Organization         Wiggins Presbyterian Church                                   Pine Burr Area Council 304                          331 College Ave E                                            Wiggins, MS 39577‐3325                                                                             First Class Mail
Chartered Organization         Wilber Lions Club                                             Cornhusker Council 324                              P.O. Box                                                     Wilber, NE 68465                                                                                   First Class Mail
Voting Party                   Wilbraham United Church                                       Attn: Rev Wallace A Hurd Iv                         500 Main St                                                  Wilbraham, MA 01095‐1658                                        pastor@wilbrahamunitedchurch.org   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Wilbur Lions Club                                             Inland Nwest Council 611                            37475 Sherman Draw Rd N                                      Wilbur, WA 99185‐8710                                                                              First Class Mail
Chartered Organization         Wilbur Wright Elementary ‐ Lfl                                Crossroads of America 160                           1950 Washington St                                           New Castle, IN 47362‐4358                                                                          First Class Mail
Voting Party                   Wilburton First United Methodist Church                       Attn: Treasurer                                     P.O. Box 6                                                   Wilburton, OK 74578                                             wilburtonfumc@sbcglobal.net        Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Wilchester Elem School Pto                                    Sam Houston Area Council 576                        13618 St Marys Ln                                            Houston, TX 77079‐3440                                                                             First Class Mail
Chartered Organization         Wild Goose Chase                                              Pathway To Adventure 456                            9955 Virginia Ave                                            Chicago Ridge, IL 60415‐1368                                                                       First Class Mail
Chartered Organization         Wild Horse Pto                                                Greater St Louis Area Council 312                   16695 Wild Horse Creek Rd                                    Chesterfield, MO 63005‐1627                                                                        First Class Mail
Voting Party                   Wild Mountain Soap Co                                         Phillip Paul Peelish                                523 Hinkle Rd                                                Fayetteville, WV 25840‐6903                                     info@wildmountainsoaps.com         Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Wild Mountain Soap Co, LLC                                    523 Hinkle Rd, Ste A                                Fayetteville, WV 25840‐6903                                                                                                  info@wildmountainsoaps.com         Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Wild Rose Lions Club                                          Bay‐Lakes Council 635                               1100 Main St                                                 Wild Rose, WI 54984‐6623                                                                           First Class Mail
Chartered Organization         Wild Rose School Pto                                          Three Fires Council 127                             36W730 Red Haw Ln                                            St Charles, IL 60174                                                                               First Class Mail
Voting Party                   Wilde Lake Interfaith Religious Center, Inc                   Attn: Michael Shaw                                  10431 Twin River Rd                                          Columbia, MD 21044                                              wlifcmd@aol.com                    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Wilderness & Waves                                            Crater Lake Council 491                             2725 W Main St                                               Medford, OR 97501                                                                                  First Class Mail
Chartered Organization         Wilderness Community Church                                   National Capital Area Council 082                   10501 Plank Rd                                               Spotsylvania, VA 22553‐4250                                                                        First Class Mail
Voting Party                   Wilderness Community Church                                   c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Wilderness Experiences Unlimited, Inc                         Western Massachusetts Council 234                   499 Loomis St                                                Westfield, MA 01085‐3921                                                                           First Class Mail
Chartered Organization         Wildewood Christian Church                                    Mid‐America Council 326                             1255 Royal Dr                                                Papillion, NE 68046‐2081                                                                           First Class Mail
Chartered Organization         Wildlands Conservancy                                         Minsi Trails Council 502                            3701 Orchid Pl                                               Emmaus, PA 18049‐1638                                                                              First Class Mail
Chartered Organization         Wildlands School                                              Chippewa Valley Council 637                         E19320 Bartig Rd                                             Augusta, WI 54722                                                                                  First Class Mail
Voting Party                   Wildrose Graphics                                             P O Box 3945                                        Spokane, WA 99220‐3945                                                                                                                                          First Class Mail
Chartered Organization         Wildwood Area Lions Club                                      Greater St Louis Area Council 312                   P.O. Box 31006                                               St Louis, MO 63131‐0006                                                                            First Class Mail
Chartered Organization         Wildwood Area Lions Club                                      Greater St Louis Area Council 312                   1655 Timber Hollow Dr                                        Wildwood, MO 63011‐1979                                                                            First Class Mail
Chartered Organization         Wildwood Elementary Pto                                       Great Lakes Fsc 272                                 500 N Wildwood St                                            Westland, MI 48185‐3641                                                                            First Class Mail
Chartered Organization         Wildwood Park District                                        Northeast Illinois 129                              P.O. Box 375                                                 Grayslake, IL 60030‐0375                                                                           First Class Mail
Chartered Organization         Wildwood Park Ward                                            Ventura County Council 057                          3645 N Moopark Rf                                            Moorpark, CA 91360                                                                                 First Class Mail
Chartered Organization         Wildwood Presbyterian Church                                  Northeast Illinois 129                              18630 W Old Gages Lake Rd                                    Grayslake, IL 60030‐1753                                                                           First Class Mail
Chartered Organization         Wildwood School Dads Club                                     Piedmont Council 042                                301 Wildwood Ave                                             Piedmont, CA 94611‐3817                                                                            First Class Mail
Chartered Organization         Wildwood Umc                                                  Sam Houston Area Council 576                        8911 Fm 1488 Rd                                              Magnolia, TX 77354‐1603                                                                            First Class Mail
Voting Party                   Wildwood United Methodist Church                              Attn: Rev Rhett Ansley                              6606 Fm 1488 Rd, Ste 148‐505                                 Magnolia, TX 77354                                              rhett@wildwood‐umc.org             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Wiley Magnet Middle School                                    Old Hickory Council 427                             1400 W Northwest Blvd                                        Winston Salem, NC 27104‐3208                                                                       First Class Mail
Chartered Organization         Wilkerson Elementary                                          Lincoln Heritage Council 205                        5601 Johnsontown Rd                                          Louisville, KY 40272‐3511                                                                          First Class Mail
Chartered Organization         Wilkes Barre City Police Dept                                 Northeastern Pennsylvania Council 501               15 N Washington St                                           Wilkes Barre, PA 18701‐3109                                                                        First Class Mail
Chartered Organization         Wilkes Barre General Hospital                                 Northeastern Pennsylvania Council 501               575 N River St                                               Wilkes Barre, PA 18764‐0999                                                                        First Class Mail
Chartered Organization         Wilkesboro Police Dept                                        Old Hickory Council 427                             100 West St                                                  Wilkesboro, NC 28697‐2433                                                                          First Class Mail
Voting Party                   Wilkesboro Umc                                                c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Wilkesboro Utd Methodist Church                               Old Hickory Council 427                             309 W Main St                                                Wilkesboro, NC 28697‐2888                                                                          First Class Mail
Chartered Organization         Wilkinson Animal Hospital                                     Piedmont Council 420                                513 Ledwell St                                               Gastonia, NC 28056‐7422                                                                            First Class Mail
Chartered Organization         Wilkinson Early Childhood Pto                                 Greater St Louis Area Council 312                   1921 Prather Ave                                             St Louis, MO 63139‐3546                                                                            First Class Mail
Chartered Organization         Wilkinson Family Farms                                        Heart of America Council 307                        924 NW 1801st Rd                                             Bates City, MO 64011‐9115                                                                          First Class Mail
Chartered Organization         Wilkinson Memorial Utd Meth Church                            Washington Crossing Council 777                     1601 State Rd                                                Croydon, PA 19021‐6707                                                                             First Class Mail
Voting Party                   Will Calhoun                                                  Address Redacted                                                                                                                                                                                                    First Class Mail
Chartered Organization         Will Cnty Sheriff Deputies Union Fop 738                      Rainbow Council 702                                 P.O. Box 3441                                                Joliet, IL 60434‐3441                                                                              First Class Mail
Chartered Organization         Will County Sheriff Office                                    Rainbow Council 702                                 20 W Washington St                                           Joliet, IL 60432‐4330                                                                              First Class Mail
Chartered Organization         Will Of God Ministries                                        Norwela Council 215                                 113 Calliope St                                              Coushatta, LA 71019‐7517                                                                           First Class Mail
Chartered Organization         Will Rogers Elementary School                                 Arbuckle Area Council 468                           P.O. Box 1709                                                Ardmore, OK 73402‐1709                                                                             First Class Mail
Chartered Organization         Will Rogers Elementary School Pta                             Cimarron Council 474                                1211 N Washington St                                         Stillwater, OK 74075‐3330                                                                          First Class Mail
Chartered Organization         Willard Community Ctr                                         Cornhusker Council 324                              1245 S Folsom St                                             Lincoln, NE 68522‐1257                                                                             First Class Mail
Voting Party                   Willard Harry Mumm Ii                                         3515 East 3195 North                                Kimberly, ID 83341                                                                                                           wmummw@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Willbern Elementary Pto                                       Sam Houston Area Council 576                        10811 Goodspring Dr                                          Houston, TX 77064‐9419                                                                             First Class Mail
Chartered Organization         Willcox 1St Ward ‐ Lds St David Stake                         Catalina Council 011                                900 S Encanto St                                             Willcox, AZ 85643‐2504                                                                             First Class Mail
Chartered Organization         Willcox 2Nd Ward ‐ Lds St David Stake                         Catalina Council 011                                900 S Encanto St                                             Willcox, AZ 85643‐2504                                                                             First Class Mail
Voting Party                   Willcox Law Firm, PLLC                                        Attn: Roderick H Willcox Jr                         P.O. Box 442                                                 Morganton, NC 28680                                             rwillcox@willcoxlawfirm.com        Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Willcox Law Firm, PLLC                                        Attn: Roderick Willcox Jr                           P.O. Box 442                                                 Morganton, NC 28680                                             rwillcox@willcoxlawfirm.com        Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         William Allen High School Rotc                                Minsi Trails Council 502                            106 N 17th St                                                Allentown, PA 18104‐5673                                                                           First Class Mail
Voting Party                   William B Reily Memorial University United Methodist Church   Attn: Ruthie Fahey, Financial Secretary             3350 Dalrymple Dr                                            Baton Rouge, LA 70802                                           ruthie@universitymethodist.org     Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         William Bradford Turner Post 265                              Theodore Roosevelt Council 386                      111 Nassau Blvd                                              Garden City, NY 11530‐2618                                                                         First Class Mail
Chartered Organization         William C Anderson Jr Al Post 0331                            Ozark Trails Council 306                            484 St Robert Outer Rd                                       St Robert, MO 65584‐3724                                                                           First Class Mail
Chartered Organization         William C Westlake Foundation                                 National Capital Area Council 082                   10117 Parkwood Ter                                           Bethesda, MD 20814‐4035                                                                            First Class Mail
Chartered Organization         William Chapel Utd Methodist Church                           Pine Burr Area Council 304                          1345 Hwy 503                                                 Vossburg, MS 39366                                                                                 First Class Mail
Voting Party                   William D Nay                                                 4707 E 112th St S                                   Tulsa, OK 74137                                                                                                              william.nay@cox.net                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   William E Hofmann                                             19142 Center Ave                                    Homewood, IL 60430‐4418                                                                                                      whofmann‐law@comcast.net           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         William E Lewis Fraternal Order                               Police 129                                          P.O. Box 610314                                              Port Huron, MI 48061‐0314                                                                          First Class Mail
Voting Party                   William E. Rosner                                             c/o Boy Scouts of America                           Attn: Chase Koontz                                           1325 W Walnut Hill Ln          Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   William F. Cronk                                              c/o Boy Scouts of America                           Attn: Chase Koontz                                           1325 W Walnut Hill Ln          Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   William Gamble                                                Address Redacted                                                                                                                                                                 Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         William H Cain Post 1287                                      Leatherstocking 400                                 1644 Fyler Rd                                                Chittenango, NY 13037‐9435                                                                         First Class Mail
Chartered Organization         William H Hunter Elementary School                            Cradle of Liberty Council 525                       2400 N Front St                                              Philadelphia, PA 19133‐4001                                                                        First Class Mail
Chartered Organization         William Howard Taft Elementary                                Dan Beard Council, Bsa 438                          270 Southern Ave                                             Cincinnati, OH 45219                                                                               First Class Mail
Chartered Organization         William J Varney Post 0862                                    Twin Rivers Council 364                             P.O. Box 208                                                 Lake Luzerne, NY 12846‐0208                                                                        First Class Mail
Chartered Organization         William King Masonic Lodge                                    Sequoyah Council 713                                688 Upper Poore Valley Rd                                    Saltville, VA 24370‐3144                                                                           First Class Mail
Voting Party                   William Kling                                                 15998 Little Marvin Dr                              Barnett, MO 65011                                                                                                            grammykling@gmail.com              Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Firm                           William L. Schmidt, Attorney at Law, PC                       William schmidt                                     PO Box 25001                                                 Fresno, CA 93729                                                                                   First Class Mail
Voting Party                   William List Myers                                            264 Sam Brashear Rd                                 Hillsboro, TN 37342                                                                                                          wlmyers@blomand.net                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         William M Banta Attorney At Law                               10631 E Crestline Ave                               Greenwood Village, CO 80111‐3834                                                                                                                                First Class Mail
Voting Party                   William M Whayland                                            c/o Bellegrove United Methodist Church              1530 N Route 934                                             Annville, PA 17003                                              wmmwhayland3@gmail.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   William M Whayland                                            c/o Bellegrove United Methodist Church              164 Black Oak Rd                                             Lebanon, PA 17046                                               wmmwhayland3@gmail.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         William P Bancroft Elementary School                          Del Mar Va 081                                      700 N Lombard St                                             Wilmington, DE 19801‐4217                                                                          First Class Mail
Voting Party                   William P Lucas                                               Address Redacted                                                                                                                                                                 Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Firm                           William P. Smith Legal Services LLC                           William P. Smith                                    1863 Oakmount Road                                           South Euclid, OH 44121                                          attorneywilliamsmith@yahoo.com     Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         William R Harper School                                       Lake Erie Council 440                               5515 Ira Ave                                                 Cleveland, OH 44144‐3839                                                                           First Class Mail
Voting Party                   William R Miller, Pa                                          William R Miller                                    120 S 6th St, Ste 1515                                       Minneapolis, MN 55402‐1817                                      bill@wrmillerpa.com                Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   William Robert Arnold                                         8250 Fruitland Ave                                  Winton, CA 95388                                                                                                             arnoldna@pacbell.net               Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   William S Sorrels                                             c/o Boy Scouts of America                           Attn: Chase Koontz                                           1325 W Walnut Hill Ln          Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         William Scott Elementary                                      Atlanta Area Council 092                            1752 Hollywood Rd Nw                                         Atlanta, GA 30318‐3410                                                                             First Class Mail
Chartered Organization         William Street Church United Methodist                        Simon Kenton Council 441                            28 W William St                                              Delaware, OH 43015‐2319                                                                            First Class Mail
Voting Party                   William Street United Methodist Church                        Attn: Douglas Warnock                               20 E Central Ave                                             Delaware, OH 43015                                              lucasruffinglaw@gmail.com          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   William Street United Methodist Church                        c/o Lucas Ruffing Law                               Attn: Lucas Ruffing                                          82 N Franklin St               Delaware, OH 43015               lucasruffinglaw@gmail.com          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   William Street United Methodist Church                        Attn: Archie Ristau, Treasurer                      28 W William St                                              Delaware, OH 43015                                                                                 First Class Mail
Chartered Organization         William T Machan                                              Grand Canyon Council 010                            2140 E Virginia Ave                                          Phoenix, AZ 85006‐1324                                                                             First Class Mail
Chartered Organization         William U Pearson Ctr                                         Las Vegas Area Council 328                          1735 D St                                                    Las Vegas, NV 89106‐2628                                                                           First Class Mail
Voting Party                   William W Stark Jr                                            c/o Boy Scouts of America                           Attn: Chase Koontz                                           1325 W Walnut Hill Ln          Irving, TX 75015                 chase.koontz@scouting.org          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   William W Williams Jr                                         Address Redacted                                                                                                                                                                                                    First Class Mail
Voting Party                   William Watters Memorial United Methodist Church              Attn: Lori Vanvalkenburg                            1452 Jarrettsville Rd                                        Jarrettsville, MD 21084‐1628                                    westharfordumc@gmail.com           Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   William Wysocke                                               Address Redacted                                                                                                                                                                 Email Address Redacted             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Williams Bay Lutheran Church                                  Glaciers Edge Council 620                           11 Collie St                                                 Williams Bay, WI 53191‐9745                                                                        First Class Mail
Chartered Organization         Williams Chapel Umc                                           Pine Burr Area Council 304                          689 Hwy 503                                                  Vossburg, MS 39366‐5414                                                                            First Class Mail
Chartered Organization         Williams Elementary School                                    Pathway To Adventure 456                            1320 E 19th Ave                                              Gary, IN 46407‐2856                                                                                First Class Mail
Chartered Organization         Williams Lions Club                                           Grand Canyon Council 010                            P.O. Box 223                                                 Williams, AZ 86046‐0223                                                                            First Class Mail
Voting Party                   Williams Memorial United Methodist Church                     Attn: Chair of Staff‐Parish Relations, John Mercy   4000 Moores Ln                                               Texarkana, TX 75503                                             office@williamsumc.org             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Williams Memorial Utd Methodist Ch                            Caddo Area Council 584                              Moores Ln                                                    Texarkana, TX 75503                                                                                First Class Mail
Voting Party                   Williams Parker                                               Attn: J Michael Hartenstine                         200 S Orange Ave                                             Sarasota, FL 34231                                              mhartenstine@williamsparker.com    Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Williams Prepatory                                            Circle Ten Council 571                              1750 Viceroy Dr                                              Dallas, TX 75235‐2308                                                                              First Class Mail
Chartered Organization         Williams Prepatory School                                     Circle Ten Council 571                              1919 Burbank St                                              Dallas, TX 75235‐3001                                                                              First Class Mail
Voting Party                   Williams Scotsman, Inc                                        Attn: Recovery Mgr                                  901 S Bond St, Ste 600                                       Baltimore, MD 21231                                             receovery@willscot.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Williamsburg Baptist Church                                   Colonial Virginia Council 595                       227 Richmond Rd                                              Williamsburg, VA 23185‐3534                                                                        First Class Mail
Chartered Organization         Williamsburg Memorial VFW Post 6086                           Laurel Highlands Council 527                        197 Linda Ln                                                 Williamsburg, PA 16693‐6417                                                                        First Class Mail
Voting Party                   Williamsburg Umc                                              c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Williamsburg United Methodist Church                          Attn: Treasurer, Williamsburg Umc                   330 Gay St                                                   Williamsburg, OH 45176                                          treasurer@williamsburgumc.com      Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Williamsburg United Methodist Church (177502)                 c/o Bentz Law Firm                                  Attn: Leonard Spagnolo                                       680 Washington Rd, Ste 200     Pittsburgh, PA 15228             lspagnolo@bentzlaw.com             Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Williamsburg Utd Methodist Church                             Pine Burr Area Council 304                          220 Yates Rd                                                 Collins, MS 39428‐4841                                                                             First Class Mail
Chartered Organization         Williamsburg Utd Methodist Church                             Colonial Virginia Council 595                       500 Jamestown Rd                                             Williamsburg, VA 23185‐4044                                                                        First Class Mail
Chartered Organization         Williamsburg Vol Firefighters Assoc                           Western Massachusetts Council 234                   P.O. Box 136                                                 Williamsburg, MA 01096‐0136                                                                        First Class Mail
Chartered Organization         Williamson Chapel United Methodist Ch                         Piedmont Council 420                                575 Brawley School Rd                                        Mooresville, NC 28117‐9120                                                                         First Class Mail
Chartered Organization         Williamson Chapel United Methodist Ch                         Piedmont Council 420                                575 Brawley School Rd                                        Mooresville, NC 28117‐9120                                                                         First Class Mail
Chartered Organization         Williamson County Ems                                         Capitol Area Council 564                            3189 SE Inner Loop                                           Georgetown, TX 78626‐6388                                                                          First Class Mail
Chartered Organization         Williamson County Fire Prot Dist                              Greater St Louis Area Council 312                   3232 5 Park Ave                                              Herrin, IL 62948                                                                                   First Class Mail
Chartered Organization         Williamson County Sheriff Office                              Middle Tennessee Council 560                        408 Century Ct                                               Franklin, TN 37064‐3986                                                                            First Class Mail
Chartered Organization         Williamson County Sheriffs Office                             Capitol Area Council 564                            508 S Rock St                                                Georgetown, TX 78626‐5604                                                                          First Class Mail
Chartered Organization         Williamson County Sheriffs Office                             Greater St Louis Area Council 312                   404 N Van Buren St                                           Marion, IL 62959‐2314                                                                              First Class Mail
Chartered Organization         Williamson Flying Club                                        Seneca Waterways 397                                P.O. Box 148                                                 Williamson, NY 14589‐0148                                                                          First Class Mail
Voting Party                   Williamson Friedberg & Jones, LLC                             Attn: Richard J Wiest, Esq                          10 Westwood Rd                                               Pottsville, PA 17901                                            rwiest@wfjlaw.net                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Williamson Kiwanis Club                                       Buckskin 617                                        P.O. Box 111                                                 Williamson, WV 25661‐0111                                                                          First Class Mail
Chartered Organization         Williamson Medical Ctr                                        Middle Tennessee Council 560                        4321 S Carothers Rd                                          Franklin, TN 37064‐4083                                                                            First Class Mail
Chartered Organization         Williamson Rotary Club                                        Seneca Waterways 397                                P.O. Box 136                                                 Williamson, NY 14589‐0136                                                                          First Class Mail
Firm                           Williamson, Webster, Falb & Glisson and Weilmuenster + Keck   John Webster Michael Weilmuenster                   111 East 4th St. Ste 400                                     Alton, IL 62002                                                 6prose@gmail.com                   Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Williamsons Chapel                                            c/o Bradley Arant Boult Cummings, LLP               Attn: Edwin G Rice                                           100 N Tampa St, Ste 2200       Tampa, FL 33602                  erice@bradley.com                  Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Voting Party                   Williamsport United Methodist Church, Inc                     25 E Church St                                      Williamsport, MD 21795                                                                                                       williamsportumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Williamsport Utd Methodist Men                                Mason Dixon Council 221                             27 E Church St                                               Williamsport, MD 21795‐1549                                                                        First Class Mail
Chartered Organization         Williamston Fire & Rescue Dept                                East Carolina Council 426                           901 Washington St                                            Williamston, NC 27892‐2651                                                                         First Class Mail
Chartered Organization         Williamston Fire Dept                                         Blue Ridge Council 551                              120 W Main St                                                Williamston, SC 29697‐1404                                                                         First Class Mail
Chartered Organization         Williamston Lions Club, Inc                                   East Carolina Council 426                           107 E Church St                                              Williamston, NC 27892‐2409                                                                         First Class Mail
Chartered Organization         Williamston Sunrise Rotary                                    Water and Woods Council 782                         4440 Beeman Rd                                               Williamston, MI 48895‐9607                                                                         First Class Mail
Chartered Organization         Williamstown Christian Church                                 Dan Beard Council, Bsa 438                          P.O. Box 7                                                   Williamstown, KY 41097‐0007                                                                        First Class Mail
Chartered Organization         Williamstown Christian Church                                 Dan Beard Council, Bsa 438                          318 N Main St                                                Williamstown, KY 41097‐1008                                                                        First Class Mail
Voting Party                   Williamsville Umc                                             Attn: Brenda J Barton                               5681 Main St                                                 Williamsville, NY 14221                                         wumc@williamsvilleumc.org          Email
                                                                                                                                                                                                                                                                                                                 First Class Mail
Chartered Organization         Williamsville United Methodist Church                         Greater Niagara Frontier Council 380                5681 Main St                                                 Williamsville, NY 14221‐5517                                                                       First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                           Page 435 of 442
                                                                                  Case 20-10343-LSS                                    Doc 8171                                      Filed 01/06/22                                                Page 451 of 457
                                                                                                                                                                        Exhibit B
                                                                                                                                                                         Service List
                                                                                                                                                                  Served as set forth below

        Description                                                        Name                                                                                       Address                                                                                                           Email                 Method of Service
Voting Party                   Willie Iles, Jr                                           Address Redacted                                                                                                                                                    Email Address Redacted                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Willington Hill Fire Dept, Inc                            Connecticut Rivers Council, Bsa 066     24 Old Farms Rd                                            Willington, CT 06279‐1718                                                                              First Class Mail
Voting Party                   Willis Avenue United Methodist Church                     Attn: Jessica Ellis, CFO                475 Riverside Dr, Ste 1922                                 New York, NY 10115                                               jellis@umcitysociety.org              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Willis Lions Club                                         Sam Houston Area Council 576            P.O. Box 250                                               Willis, TX 77378‐0250                                                                                  First Class Mail
Chartered Organization         Williston 1St Ward Minot Nd Stake                         Northern Lights Council 429             P.O. Box 288                                               Williston, ND 58802‐0288                                                                               First Class Mail
Chartered Organization         Williston 2Nd Ward, Minot Nd Stake                        Northern Lights Council 429             P.O. Box 6405                                              Williston, ND 58802‐6405                                                                               First Class Mail
Chartered Organization         Williston 3Rd Ward Minot Nd Stake                         Northern Lights Council 429             1805 26th St W                                             Williston, ND 58801‐2517                                                                               First Class Mail
Voting Party                   Williston Federated Church                                Attn: Anthony B Lamb                    44 N Williston Rd                                          Williston, VT 05495‐8601                                         stolat36@Gmail.com                    Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Willistown United Methodist Church                        Attn: Ana Southern, Treasurer           6051 West Chester Pike                                     Newtown Square, PA 19073                                         willistownumc@comcast.net             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Willits Lions Club And American Legion                    Redwood Empire Council 041              P.O. Box 1353                                              Willits, CA 95490‐1353                                                                                 First Class Mail
Chartered Organization         Willits Troop 0088 Parents Group                          Redwood Empire Council 041              441 North St                                               Willits, CA 95490‐3803                                                                                 First Class Mail
Chartered Organization         Willmar Fire Dept                                         Northern Star Council 250               515 2nd St Sw                                              Willmar, MN 56201‐3314                                                                                 First Class Mail
Chartered Organization         Willmar Police Dept                                       Northern Star Council 250               2201 23rd St NE, Ste 102                                   Willmar, MN 56201‐9566                                                                                 First Class Mail
Chartered Organization         Willoughby Police Dept                                    Lake Erie Council 440                   36700 Euclid Ave                                           Willoughby, OH 44094‐4419                                                                              First Class Mail
Chartered Organization         Willow Brook Christian Church                             Seneca Waterways 397                    619 High St                                                Victor, NY 14564‐1155                                                                                  First Class Mail
Chartered Organization         Willow Brook Pto                                          Greater St Louis Area Council 312       11022 Schuetz Rd                                           St Louis, MO 63146‐4908                                                                                First Class Mail
Chartered Organization         Willow Creek Presbyterian Church Pca                      Central Florida Council 083             4725 E Lake Dr                                             Winter Springs, FL 32708‐4607                                                                          First Class Mail
Chartered Organization         Willow Creek Pta Committee                                Sam Houston Area Council 576            2002 Willow Terrace Dr                                     Kingwood, TX 77345‐1785                                                                                First Class Mail
Voting Party                   Willow Creek United Methodist Church                      Attn: Ruth A Cenova‐Wotring             14010 Jefferson Blvd                                       Mishawaka, IN 46545                                              rcenovawotring@aol.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Willow Elementary                                         Lake Erie Council 440                   5004 Glazier Ave                                           Cleveland, OH 44127‐1111                                                                               First Class Mail
Chartered Organization         Willow Glen Post 318 American Legion                      Silicon Valley Monterey Bay 055         1504 Minnesota Ave                                         San Jose, CA 95125‐4445                                                                                First Class Mail
Voting Party                   Willow Glen United Methodist Church                       Attn: Susan Smith                       1420 Newport Ave                                           San Jose, CA 95125                                               susan@wgumc.org                       Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Willow Grove Umc                                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Willow Grove Umc ‐ Pittsgrove                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Willow Grove United Methodist Church                      c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Willow Hill United Methodist Church                       Attn: Kari L Moses                      411 Hannah Dr                                              Germantown Hills, IL 61548                                       kari.moses5@gmail.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Willow Hill Utd Methodist Church                          W D Boyce 138                           304 E Far Hills Dr                                         East Peoria, IL 61611‐1206                                                                             First Class Mail
Chartered Organization         Willow Mountain Ward Lds                                  Montana Council 315                     957 Eside Hughway                                          Corvallis, MT 59828                                                                                    First Class Mail
Chartered Organization         Willow Mountain Ward Lds                                  Montana Council 315                     957 Eside Hwy                                              Corvallis, MT 59875                                                                                    First Class Mail
Chartered Organization         Willow Oaks Educational Ctr                               Central N Carolina Council 416          3223 Walkup Ave, Apt CC#                                   Monroe, NC 28110‐9127                                                                                  First Class Mail
Chartered Organization         Willow Ridge Civic Assoc                                  Greater Niagara Frontier Council 380    235 Kaymar Dr                                              Amherst, NY 14228‐3008                                                                                 First Class Mail
Chartered Organization         Willow Ridge Civic Assoc, Inc                             Greater Niagara Frontier Council 380    Willow Ridge School                                        Amherst, NY 14228                                                                                      First Class Mail
Chartered Organization         Willow Ridge Elementary School Pta                        Water and Woods Council 782             12620 Nixon Rd                                             Grand Ledge, MI 48837‐9401                                                                             First Class Mail
Chartered Organization         Willow Springs Pta                                        National Capital Area Council 082       5400 Willow Springs School Rd                              Fairfax, VA 22030‐6300                                                                                 First Class Mail
Chartered Organization         Willow Springs Rotary Club                                Ozark Trails Council 306                P.O. Box 192                                               Willow Springs, MO 65793‐0192                                                                          First Class Mail
Chartered Organization         Willow Street Lions Club                                  Attn: John F Pyfer, Jr                  1100 Little Brook Rd                                       Lancaster, PA 17603‐6116                                                                               First Class Mail
Voting Party                   Willow Umc                                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Willow United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Willow View United Methodist Church                       Attn: Penny Landers                     3525 W Purdue                                              Enid, OK 73703                                                   pastormark@willowview.org             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Willow View Utd Methodist Ch Enid                         Cimarron Council 474                    3525 W Purdue Ave                                          Enid, OK 73703‐1403                                                                                    First Class Mail
Chartered Organization         Willowdale Elementary School Pto                          Mid‐America Council 326                 16901 P St                                                 Omaha, NE 68135‐1465                                                                                   First Class Mail
Chartered Organization         Willowfork Fire Dept                                      Sam Houston Area Council 576            24655 Westheimer Pkwy                                      Katy, TX 77494‐4852                                                                                    First Class Mail
Chartered Organization         Willowick‐ Elake Post 678 Al                              Lake Erie Council 440                   570 E 328th St                                             Willowick, OH 44095‐3456                                                                               First Class Mail
Chartered Organization         Willowick Food Pantry                                     Lake Erie Council 440                   P.O. Box 5067                                              Eastlake, OH 44095‐0067                                                                                First Class Mail
Chartered Organization         Willows Kiwanis Club                                      Golden Empire Council 047               P.O. Box 922                                               Willows, CA 95988‐0922                                                                                 First Class Mail
Chartered Organization         Willowvale Fire Co                                        Leatherstocking 400                     3459 Oneida St                                             Chadwicks, NY 13319‐3407                                                                               First Class Mail
Voting Party                   Willsboro United Methodist Church                         Attn: Wayne Feeley                      3731 Main St P.O. Box 369                                  Willsboro, NY 12996                                              feeley2@outlook.com                   Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Wilmar Volunteer Fire Dept                                Redwood Empire Council 041              3825 Bodega Ave                                            Petaluma, CA 94952‐8038                                                                                First Class Mail
Chartered Organization         Wilmer Explorers                                          Mobile Area Council‐Bsa 004             13040 Moffett Rd                                           Wilmer, AL 36587‐4435                                                                                  First Class Mail
Chartered Organization         Wilmette American Legion Post 46                          Northeast Illinois 129                  P.O. Box 42                                                Wilmette, IL 60091‐0042                                                                                First Class Mail
Chartered Organization         Wilmette Community Church                                 Northeast Illinois 129                  1020 Forest Ave                                            Wilmette, IL 60091‐1760                                                                                First Class Mail
Chartered Organization         Wilmington Lions Club                                     Rainbow Council 702                     P.O. Box 662                                               Wilmington, IL 60481‐0662                                                                              First Class Mail
Chartered Organization         Wilmington Police Dept                                    The Spirit of Adventure 227             1 Adelaide St                                              Wilmington, MA 01887‐2719                                                                              First Class Mail
Chartered Organization         Wilmington United Methodist Church                        The Spirit of Adventure 227             87 Church St, Stop 62                                      Wilmington, MA 01887‐2726                                                                              First Class Mail
Chartered Organization         Wilmington United Methodist Church                        Tecumseh 439                            P.O. Box 927                                               Wilmington, OH 45177‐0927                                                                              First Class Mail
Voting Party                   Wilmington United Methodist Church                        Attn: Rev Peter Hey                     87 Church St                                               Wilmington, MA 01887‐2726                                        Wilmingtonumcoffice@gmail.com         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Wilmington United Methodist Church                        Attn: Rev Peter Hey                     87 Church St                                               Wilmington, MA 01887‐2726                                        Peter.Hey.Wumc@gmail.com              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Wilmington United Methodist Church                        Attn: Melody Joy Treasurer              50 E Locust St                                             Wilmington, OH 45177                                             elaine.tewksbury@wilmingtonumc.com;   Email
                                                                                                                                                                                                                                                             lorry_45177@yahoo.com                 First Class Mail
Chartered Organization         Wilmington Utd Methodist Church                           Tecumseh 439                            61 E Main St, Ste 4                                        Wilmington, OH 45177‐2371                                                                              First Class Mail
Chartered Organization         Wilmore Davis Elementary                                  Denver Area Council 061                 7975 W 41st Ave                                            Wheat Ridge, CO 80033‐4522                                                                             First Class Mail
Voting Party                   Wilshire Associates, Inc                                  Attn: Accounts Receivables              1299 Ocean Ave, Ste 700                                    Santa Monica, CA 90401‐1085                                                                            First Class Mail
Chartered Organization         Wilshire Utd Methodist Church                             Cascade Pacific Council 492             3917 NE Shaver St                                          Portland, OR 97212‐1961                                                                                First Class Mail
Chartered Organization         Wilson & Sons                                             Piedmont Council 420                    175 Silver Creek Rd                                        Mill Spring, NC 28756‐9674                                                                             First Class Mail
Chartered Organization         Wilson Aspire Pto                                         Blackhawk Area 660                      520 N Pierpont Ave                                         Rockford, IL 61101‐5037                                                                                First Class Mail
Chartered Organization         Wilson Boys And Girls Club                                South Plains Council 694                3221 59th St                                               Lubbock, TX 79413‐5515                                                                                 First Class Mail
Chartered Organization         Wilson Chapel Ame Church                                  Chickasaw Council 558                   80 E Shelby Dr                                             Memphis, TN 38109‐6602                                                                                 First Class Mail
Chartered Organization         Wilson Co Voc Ctr Afjrotc                                 Middle Tennessee Council 560            418 Harding Dr                                             Lebanon, TN 37087‐3926                                                                                 First Class Mail
Chartered Organization         Wilson Conservation Club, Inc                             Iroquois Trail Council 376              2934 Wilson Cambria Rd                                     Wilson, NY 14172‐9705                                                                                  First Class Mail
Chartered Organization         Wilson County Sheriffs Office                             Middle Tennessee Council 560            105 E High St                                              Lebanon, TN 37087‐2370                                                                                 First Class Mail
Chartered Organization         Wilson El Schl/V F W Post 1912/ W A                       Three Harbors Council 636               8710 W Orchard St                                          Milwaukee, WI 53214‐4345                                                                               First Class Mail
Chartered Organization         Wilson Elementary Pto                                     Circle Ten Council 571                  200 S Coppell Rd                                           Coppell, TX 75019‐2415                                                                                 First Class Mail
Chartered Organization         Wilson Elementary Pto                                     Sam Houston Area Council 576            18015 Kieth Harrow Blvd                                    Houston, TX 77084‐5722                                                                                 First Class Mail
Chartered Organization         Wilson Focus School Clc                                   Mid‐America Council 326                 5141 F St                                                  Omaha, NE 68117‐2807                                                                                   First Class Mail
Chartered Organization         Wilson Hill School Pto                                    Simon Kenton Council 441                6500 Northland Rd                                          Worthington, OH 43085‐3235                                                                             First Class Mail
Chartered Organization         Wilson K 8 Parent Teacher Org                             Catalina Council 011                    2330 W Glover Rd                                           Oro Valley, AZ 85742‐7401                                                                              First Class Mail
Chartered Organization         Wilson Middle School                                      Mecklenburg County Council 415          7020 Tuckaseegee Rd                                        Charlotte, NC 28214‐2738                                                                               First Class Mail
Chartered Organization         Wilson Police Dept                                        East Carolina Council 426               P.O. Box 10                                                Wilson, NC 27894‐0010                                                                                  First Class Mail
Chartered Organization         Wilson Pride, Inc                                         Coronado Area Council 192               P.O. Box 7                                                 Wilson, KS 67490‐0007                                                                                  First Class Mail
Chartered Organization         Wilson Primary Pto                                        Lasalle Council 165                     56660 Oak Rd                                               South Bend, IN 46619‐2247                                                                              First Class Mail
Voting Party                   Wilson Safe Co                                            Attn: Ray Wilson                        3031 Island Ave                                            Philadelphia, PA 19153                                           rayw@wilsonsafe.com                   Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Wilson Schl Concrnd Parents/Cub Scts, Inc                 Three Harbors Council 636               1060 Glenview Ave                                          Wauwatosa, WI 53213‐3034                                                                               First Class Mail
Chartered Organization         Wilson School Pta                                         Patriots Path Council 358               301 Linden Ave                                             Westfield, NJ 07090‐1923                                                                               First Class Mail
Chartered Organization         Wilson School Pto                                         Connecticut Rivers Council, Bsa 066     235 Birch St                                               Waterbury, CT 06704‐3808                                                                               First Class Mail
Voting Party                   Wilson United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Wilson United Methodist Church                            Attn: Trustee Chair, Chris Hagan        6460 Flying W Ranch Rd                                     Colorado Springs, CO 80919                                       daniel@usiaklaw.com                   Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Wilsonville United Methodist Church                       Attn: Joy L Greene                      P.O. Box 530                                               Wilsonville, AL 35186                                            joy1greene@gmail.com                  Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Wilsonville United Methodist Church                       Attn: Joy L Greene                      138 Cove Ct                                                Wilsonville, AL 35186                                                                                  First Class Mail
Chartered Organization         Wilton Congregational Church                              Connecticut Yankee Council Bsa 072      70 Ridgefield Rd                                           Wilton, CT 06897‐3005                                                                                  First Class Mail
Chartered Organization         Wilton Firefighters Assoc                                 Golden Empire Council 047               P.O. Box 768                                               Wilton, CA 95693‐0768                                                                                  First Class Mail
Chartered Organization         Wilton Legion Post 10 B                                   Daniel Webster Council, Bsa 330         24 Maple St                                                Wilton, NH 03086                                                                                       First Class Mail
Voting Party                   Wilton Umc                                                Attn: Pastor                            600 Main St                                                Wilton, ME 04294                                                 aikensl622@gmail.com                  Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Wimberley Lions Club                                      Capitol Area Council 564                P.O. Box 1749                                              Wimberley, TX 78676‐1749                                                                               First Class Mail
Voting Party                   Wimberley Umc                                             1200 Cr 1492                            Wimberley, TX 78676                                                                                                         wumcoffice@gmail.com                  Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Wimberley United Methodist Church                         Attn: Treasurer                         12 Cr 1492                                                 Wimberley, TX 78676                                              wumcoffice@gmail.com                  Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Wimberley United Methodist Church                         Carol Reynolds                          22 Old Shawnee Trl                                         Wimberley, TX 78676                                              wumcoffice@gmail.com                  Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Winamac First Umc                                         Attn: Treasurer                         201 E Spring St                                            P.O. Box 343                    Winanamc, IN 46996               michelles.white@inumc.org             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Winchell Pto                                              Southern Shores Fsc 783                 2316 Winchell Ave                                          Kalamazoo, MI 49008‐2204                                                                               First Class Mail
Chartered Organization         Winchendon‐American Legion Post 193                       Heart of New England Council 230        P.O. Box 116                                               Winchendon, MA 01475‐0116                                                                              First Class Mail
Voting Party                   Winchester First United Methodist Church                  Attn: Sam Otte, Treasurer               204 S Main St                                              Winchester, KY 40391                                             sam@winfumc.org                       Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Winchester First Utd Methodist Church                     Middle Tennessee Council 560            100 S Jefferson St                                         Winchester, TN 37398‐1738                                                                              First Class Mail
Chartered Organization         Winchester Homeland Town Assoc                            California Inland Empire Council 045    P.O. Box 122                                               Winchester, CA 92596‐0122                                                                              First Class Mail
Chartered Organization         Winchester Medical Ctr                                    Shenandoah Area Council 598             P.O. Box 3340                                              Winchester, VA 22604‐2540                                                                              First Class Mail
Chartered Organization         Winchester Police Dept                                    Blue Grass Council 204                  16 S Maple St                                              Winchester, KY 40391‐1902                                                                              First Class Mail
Chartered Organization         Winchester Police Dept                                    The Spirit of Adventure 227             30 Mt Vernon St                                            Winchester, MA 01890‐2712                                                                              First Class Mail
Voting Party                   Winchester United Methodist Church                        Attn: Patricia Zaiontz‐Newcomer         P.O. Box 894                                               La Grange, TX 78962                                              plz.newcomer@gmail.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Winchester United Methodist Church                        8933 Fm 153                             La Grange, TX 78945                                                                                                                                               First Class Mail
Chartered Organization         Winchester Utd Methodist Mens Group                       Abraham Lincoln Council 144             20 N Walnut St                                             Winchester, IL 62694‐1147                                                                              First Class Mail
Chartered Organization         Winchester Volunteer Fire Co                              Greater Niagara Frontier Council 380    514 Harlem Rd                                              West Seneca, NY 14224‐1149                                                                             First Class Mail
Chartered Organization         Windber Calvary Utd Methodist Church                      Laurel Highlands Council 527            1800 Stockholm Ave                                         Windber, PA 15963‐2038                                                                                 First Class Mail
Voting Party                   Windcrest United Methodist Church                         Attn: Rev James C Mcclain               8101 Midcrown Dr                                           Windcrest, TX 78239                                              j.mcclain@windcrestumc.org            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Winder First Methodist Church                             Northeast Georgia Council 101           280 N Broad St                                             Winder, GA 30680‐2149                                                                                  First Class Mail
Chartered Organization         Winder First United Methodist Church                      Northeast Georgia Council 101           280 N Broad St                                             Winder, GA 30680‐2149                                                                                  First Class Mail
Chartered Organization         Windermere Elementary                                     Greater Niagara Frontier Council 380    291 Windermere Blvd                                        Buffalo, NY 14226‐3044                                                                                 First Class Mail
Chartered Organization         Windermere Presbyterian Church                            Cape Fear Council 425                   104 Windemere Rd                                           Wilmington, NC 28405‐4024                                                                              First Class Mail
Chartered Organization         Windermere Union Church                                   Central Florida Council 083             10710 Park Ridge Gotha Rd                                  Windermere, FL 34786‐7919                                                                              First Class Mail
Chartered Organization         Windham Ctr Fire Dept                                     Connecticut Rivers Council, Bsa 066     Windham Center Fire Dept                                   Windham Center, CT 06280                                                                               First Class Mail
Chartered Organization         Windham Endowment For Commty                              Advancement                             P.O. Box 4315                                              Windham, NH 03087‐4315                                                                                 First Class Mail
Chartered Organization         Windham Hill Utd Church Of Christ                         Pine Tree Council 218                   140 Windham Center Rd                                      Windham, ME 04062‐4981                                                                                 First Class Mail
Chartered Organization         Windham VFW                                               Pine Tree Council 218                   P.O. Box 1583                                              Windham, ME 04062‐1583                                                                                 First Class Mail
Voting Party                   Windham‐Hensonville United Methodist Church               Attn: Josephine Louise Tompkins         5296 St Rt 23                                              Windham, NY 12496                                                awhumc@gmail.com                      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Windham‐Hensonville United Methodist Church               P O Box 274                             Windham, NY 12496                                                                                                           awhumc@gmail.com                      Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Winding Brook Condominiums Assoc, Inc                     National Capital Area Council 082       4101 Chantilly Rd                                          Chantilly, VA 20151‐3566                                                                               First Class Mail
Chartered Organization         Winding Ridge Elementary As                               Crossroads of America 160               11825 E 46th St                                            Indianapolis, IN 46235‐9773                                                                            First Class Mail
Voting Party                   Windom United Methodist Church                            Attn: Michael Evans                     308 N Center St                                            Bonham, TX 75418                                                 michaelevans1836@yahoo.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Windom Volunteer Fire Co                                  Greater Niagara Frontier Council 380    3736 Abbott Rd                                             Orchard Park, NY 14127‐2124                                                                            First Class Mail
Voting Party                   Windover Hills United Methodist Church (102336)           c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200      Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Windover Hills Utd Methodist Church                       Laurel Highlands Council 527            6751 Ridge Rd                                              Pittsburgh, PA 15236‐3540                                                                              First Class Mail
Chartered Organization         Windrow Homeowners Assoc                                  Mecklenburg County Council 415          P.O. Box 186                                               Matthews, NC 28106‐0186                                                                                First Class Mail
Chartered Organization         Windsor Charter Academy School                            Longs Peak Council 062                  680 Academy Ct                                             Windsor, CO 80550‐3101                                                                                 First Class Mail
Chartered Organization         Windsor Christian Church                                  Colonial Virginia Council 595           4 N Court St                                               Windsor, VA 23487                                                                                      First Class Mail
Chartered Organization         Windsor Congregational Church                             Western Massachusetts Council 234       P.O. Box 162                                               Windsor, MA 01270‐0162                                                                                 First Class Mail
Voting Party                   Windsor First Umc                                         Leon Jicha                              56 Chapel St                                               Windsor, NY 13865                                                leonscardz@yahoo.com                  Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Windsor First United Methodist Church                     Attn: Lisa Henley (Treasurer)           P.O. Box 36                                                Windsor, NY 13865                                                wumc1@tds.net                         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Windsor Grange 410                                        Redwood Empire Council 041              P.O. Box 2235                                              Windsor, CA 95492‐2235                                                                                 First Class Mail
Voting Party                   Windsor Hills Umc                                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200        Tampa, FL 33602                  erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Windsor Hills Utd Methodist Church                        Blue Ridge Mtns Council 599             3591 Windsor Rd Sw                                         Roanoke, VA 24018‐2047                                                                                 First Class Mail
Chartered Organization         Windsor Historical Society                                Pine Tree Council 218                   32 Choate Rd                                               Windsor, ME 04363‐3218                                                                                 First Class Mail
Chartered Organization         Windsor Locks Police Dept                                 Connecticut Rivers Council, Bsa 066     4 Volunteer Dr                                             Windsor Locks, CT 06096‐2134                                                                           First Class Mail
Chartered Organization         Windsor Lodge 442‐ F & A                                  Baden‐Powell Council 368                P.O. Box 304                                               Windsor, NY 13865‐0304                                                                                 First Class Mail
Chartered Organization         Windsor Methodist Church                                  Mid Iowa Council 177                    6222 University Ave                                        Des Moines, IA 50311‐1936                                                                              First Class Mail
Chartered Organization         Windsor Parent Teachers Club                              Glaciers Edge Council 620               4352 Windsor Rd                                            Windsor, WI 53598‐9783                                                                                 First Class Mail
Chartered Organization         Windsor Park Elementary Pta                               South Texas Council 577                 4525 S Alameda St                                          Corpus Christi, TX 78412‐2448                                                                          First Class Mail
Chartered Organization         Windsor Police Dept                                       Redwood Empire Council 041              9291 Old Redwood Hwy, Ste 300B                             Windsor, CA 95492‐8089                                                                                 First Class Mail
Chartered Organization         Windsor Pta                                               Golden Spread Council 562               6700 Hyde Pkwy                                             Amarillo, TX 79109‐6574                                                                                First Class Mail
Chartered Organization         Windsor Rotary Club                                       Green Mountain 592                      P.O. Box 296                                               Windsor, VT 05089‐0296                                                                                 First Class Mail
Chartered Organization         Windsor Ruritan Club                                      Colonial Virginia Council 595           200 Community Dr                                           Windsor, VA 23487                                                                                      First Class Mail
Voting Party                   Windsor United Methodist Church                           Attn: Board of Trustees ‐ Scott Davis   6222 University Ave                                        Des Moines, IA 50311‐1936                                        windsor.desmoines@gmail.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Windsor United Methodist Church                           Attn: Rose Coleman                      1200 Ohio Ave                                              Windsor, IL 61957                                                mike.r.mason@comcast.net              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Windsor United Methodist Church                           Michael Regis Mason                     16 Francis Dr                                              Riverton, IL 62561                                               mike.r.mason@comcast.net              Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Windsor United Methodist Church                           Attn: Isaac Byrd                        9500 Windsor Lake Blvd                                     Columbia, SC 29223‐2022                                          isaac.byrd@att.net                    Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Windsor Village Utd Methodist Church                      Sam Houston Area Council 576            6011 W Orem Dr                                             Houston, TX 77085‐1273                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                         Page 436 of 442
                                                                                 Case 20-10343-LSS                                                     Doc 8171                                          Filed 01/06/22                                                       Page 452 of 457
                                                                                                                                                                                            Exhibit B
                                                                                                                                                                                             Service List
                                                                                                                                                                                      Served as set forth below

        Description                                                       Name                                                                                                            Address                                                                                                                Email                 Method of Service
Chartered Organization         Windsor‐Freer Parent Assoc                                    Greater St Louis Area Council 312                    6208 US Hwy 61 67                                             Imperial, MO 63052‐2311                                                                                     First Class Mail
Voting Party                   Windsorville United Methodist Church                          Attn: Henrietta D Aiello                             178 Windsorville Rd                                           Broad Brook, CT 06016                                                   revricki@gmail.com                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Windstream Communications, Inc                                P O Box 9001908                                      Louisville, KY 40290‐1908                                                                                                                                                 First Class Mail
Voting Party                   Windstream Holdings, Inc                                      4001 N Rodney Parham Rd                              Little Rock, AR 72212‐2459                                                                                                                                                First Class Mail
Chartered Organization         Windward Lake Club                                            Atlanta Area Council 092                             2001 Lake Windward Dr                                         Alpharetta, GA 30005‐4243                                                                                   First Class Mail
Chartered Organization         Windy City Flyers, Inc                                        Pathway To Adventure 456                             1098 S Milwaukee Ave, Ste 301                                 Wheeling, IL 60090‐6379                                                                                     First Class Mail
Chartered Organization         Winegard Elementary School Pta                                Central Florida Council 083                          7055 Winegard Rd                                              Orlando, FL 32809‐7101                                                                                      First Class Mail
Firm                           Winer, Burritt & Scott, LLP                                   Erika J. Scott                                       1999 Harrison St, Ste 600                                     Oakland, CA 94612                                                       erika@wmlawyers.com                 Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Firm                           Winer, Burritt & Scott, LLP                                   Kathleen A. McCormac                                 1999 Harrison St, Ste 600                                     Oakland, CA 94612                                                       kathleen@wmlawyers.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Winfield Commty                                               Volunteer Fire Dept Inc                              1320 W Old Liberty Rd                                         Sykesville, MD 21784‐9329                                                                                   First Class Mail
Chartered Organization         Winfield Elementary Parent Teachers                           Baltimore Area Council 220                           4401 Salem Bottom Rd                                          Westminster, MD 21157‐7937                                                                                  First Class Mail
Chartered Organization         Winfield Lions Club                                           Mississippi Valley Council 141 141                   106 S Bashford St                                             Winfield, IA 52659‐9787                                                                                     First Class Mail
Voting Party                   Winfield United Methodist Church                              Attn: William H Davis                                P.O. Box 391                                                  Winfield, WV 25213                                                      winfieldumc@frontier.com            Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Winfield United Methodist Church                              Attn: Vicki Tanner                                   20100 Cantrell Rd                                             Little Rock, AR 72223                                                   lraines@fridayfirm.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Winfield Utd Methodist                                        Buckskin 617                                         20 Radwin Dr                                                  Winfield, WV 25213                                                                                          First Class Mail
Voting Party                   Winfiled: Community United Methodist Church                   Attn: John Taylor                                    0S347 Jefferson St                                            Winfield, IL 60190                                                      pastorbrucea@gmail.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Winfred E Denham / F A M E                                    Atlanta Area Council 092                             2046 Richard Allen Ln Se                                      Atlanta, GA 30316‐4344                                                                                      First Class Mail
Voting Party                   Wingate By Wyndham 1‐77 & Tyvola                              Attn: Todd Blanton                                   Charlotte Airport South                                       6050 Tyvola Glen Cir               Charlotte, NC 28217‐6431             todd.blanton@charlottewingate.com   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Wingate By Wyndham 1‐77 & Tyvola                              Todd Blanton                                         6050 Tyvola Glen Cir                                          Charlotte, NC 28217‐6431                                                                                    First Class Mail
Chartered Organization         Wingate United Methodist                                      Central N Carolina Council 416                       P.O. Box 633                                                  Wingate, NC 28174‐0633                                                                                      First Class Mail
Voting Party                   Wingate United Methodist Church                               c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Wingate Utd Methodist Church                                  Central N Carolina Council 416                       111 Hinson St                                                 Wingate, NC 28174                                                                                           First Class Mail
Chartered Organization         Wingfield High School Jrotc                                   Andrew Jackson Council 303                           1985 Scanlon Dr                                               Jackson, MS 39204‐4419                                                                                      First Class Mail
Chartered Organization         Wings And Rotors Air Museum                                   California Inland Empire Council 045                 37350 Sky Canyon Dr                                           Murrieta, CA 92563‐2651                                                                                     First Class Mail
Chartered Organization         Wings Like Eagle                                              Pikes Peak Council 060                               15050 Woodcarver Rd                                           Monument, CO 80132‐8100                                                                                     First Class Mail
Chartered Organization         Wings Of Dreams Aviation Museum                               North Florida Council 087                            7100 Airport Rd                                               Starke, FL 32091‐9347                                                                                       First Class Mail
Chartered Organization         Wings Of Honor Museum                                         Quapaw Area Council 018                              70 Beacon Rd                                                  Walnut Ridge, AR 72476‐8091                                                                                 First Class Mail
Chartered Organization         Wings Of Truth Full Gospel Church                             Great Lakes Fsc 272                                  252 Tuxedo St                                                 Highland Park, MI 48203‐3426                                                                                First Class Mail
Chartered Organization         Winn Brook School Pta Assoc                                   The Spirit of Adventure 227                          97 Waterhouse Rd                                              Belmont, MA 02478‐4124                                                                                      First Class Mail
Voting Party                   Winnebago Council 173                                         Attn: James R Madison, Jr                            2929 Airport Blvd                                             Waterloo, IA 50703                                                      jim.madison@scouting.org            Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Winnebago County Sheriffs Dept                                Blackhawk Area 660                                   650 W State St                                                Rockford, IL 61102‐2201                                                                                     First Class Mail
Chartered Organization         Winnebago Presbyterian Church                                 Blackhawk Area 660                                   P.O. Box 38                                                   Winnebago, IL 61088‐0038                                                                                    First Class Mail
Chartered Organization         Winnebago Scout Camp                                          Patriots Path Council 358                            102 Timberbrook Rd                                            Rockaway, NJ 07866‐4614                                                                                     First Class Mail
Chartered Organization         Winnetka Congregational Church                                Northeast Illinois 129                               725 Pine St                                                   Winnetka, IL 60093‐2340                                                                                     First Class Mail
Chartered Organization         Winnsboro Lion Club                                           Louisiana Purchase Council 213                       P.O. Box 970                                                  Winnsboro, LA 71295‐0970                                                                                    First Class Mail
Chartered Organization         Winnsboro Lions Club                                          Louisiana Purchase Council 213                       304 Prairie St                                                Winnsboro, LA 71295‐2733                                                                                    First Class Mail
Chartered Organization         Winona Elks Lodge                                             Gamehaven 299                                        4540 Service Dr                                               Winona, MN 55987‐1617                                                                                       First Class Mail
Chartered Organization         Winside Al & Fire & Rescue                                    Mid‐America Council 326                              204 Main St                                                   Winside, NE 68790                                                                                           First Class Mail
Voting Party                   Winslow & Mccurry, PLLC                                       Christopher M Winslow, Esq                           1324 Sycamore Sq                                              Midlothian, VA 23113                                                    chris@chriswinslow.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Winslow Township Fire Dept                                    Garden State Council 690                             9 Cedar Brook Rd                                              Sicklerville, NJ 08081‐3704                                                                                 First Class Mail
Chartered Organization         Winslow VFW                                                   Pine Tree Council 218                                175 Veteran Dr                                                Winslow, ME 04901‐0761                                                                                      First Class Mail
Chartered Organization         Winslow Volunteer Fire Co No1                                 Garden State Council 690                             55 Hall St                                                    Winslow, NJ 08095                                                                                           First Class Mail
Chartered Organization         Winstead Elementary Pto, Inc                                  Middle Tennessee Council 560                         4080 Columbia Pike                                            Franklin, TN 37064‐7416                                                                                     First Class Mail
Chartered Organization         Winstead Methodist Church                                     East Carolina Council 426                            1407 Tarboro St Sw                                            Wilson, NC 27893‐3557                                                                                       First Class Mail
Voting Party                   Winstead United Methodist Church                              Attn: Financial Secretary, Winstead Umc              1407 Tarboro St W.                                            Wilson, NC 27893                                                        winsteadumc@gmail.com               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Winsted American Legion                                       Northern Star Council 250                            Co Rd 9 & 212th St                                            Winsted, MN 55395                                                                                           First Class Mail
Chartered Organization         Winsted Fire Dept                                             Connecticut Rivers Council, Bsa 066                  27 Elm St                                                     Winsted, CT 06098‐1624                                                                                      First Class Mail
Chartered Organization         Winsted Lions Club                                            Connecticut Rivers Council, Bsa 066                  P.O. Box 241                                                  Winsted, CT 06098‐0241                                                                                      First Class Mail
Voting Party                   Winsted United Methodist Church                               Attn: Adeline Hazzard                                630 Main St                                                   Winsted, CT 06098                                                       Winstedumc@att.net                  Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Winston Christian Academy                                     Atlanta Area Council 092                             7425 Us‐78                                                    Winston, GA 30187                                                                                           First Class Mail
Chartered Organization         Winston Knolls Civic Assoc                                    National Capital Area Council 082                    P.O. Box 2893                                                 Springfield, VA 22152‐0893                                                                                  First Class Mail
Chartered Organization         Winston Park Homeowners Assoc                                 South Florida Council 084                            8100 SW 132nd Ave                                             Miami, FL 33183‐4337                                                                                        First Class Mail
Chartered Organization         Winston Salem Dash/Carolina Thunderbirds                      Old Hickory Council 427                              926 Brookstown Ave                                            Winston Salem, NC 27101‐3625                                                                                First Class Mail
Chartered Organization         Winston Utd Methodist Church                                  Pony Express Council 311                             205 E 2nd St                                                  Winston, MO 64689‐1640                                                                                      First Class Mail
Chartered Organization         Winston‐Salem Fire Dept                                       Old Hickory Council 427                              725 N Cherry St                                               Winston Salem, NC 27101‐1418                                                                                First Class Mail
Chartered Organization         Winston‐Salem Police Dept                                     Old Hickory Council 427                              P.O. Box 3114                                                 Winston Salem, NC 27102                                                                                     First Class Mail
Chartered Organization         Winter Garden Police Dept                                     Central Florida Council 083                          251 W Plant St                                                Winter Garden, FL 34787‐3011                                                                                First Class Mail
Chartered Organization         Winter Haven Hs Ajrotc                                        Greater Tampa Bay Area 089                           600 6th St Se                                                 Winter Haven, FL 33880‐3737                                                                                 First Class Mail
Chartered Organization         Winter Haven Police Dept                                      Greater Tampa Bay Area 089                           125 N Lake Silver Dr Nw                                       Winter Haven, FL 33881‐2450                                                                                 First Class Mail
Chartered Organization         Winter Park Masonic Lodge 239 F & Am                          Central Florida Council 083                          1495 Grand Rd                                                 Winter Park, FL 32792‐7349                                                                                  First Class Mail
Chartered Organization         Winter Park Presbyterian Church                               Cape Fear Council 425                                4501 Wrightsville Ave                                         Wilmington, NC 28403‐6341                                                                                   First Class Mail
Chartered Organization         Winter Park Presbyterian Church                               Central Florida Council 083                          400 S Lakemont Ave                                            Winter Park, FL 32792‐4600                                                                                  First Class Mail
Chartered Organization         Winter Springs Police Dept                                    Central Florida Council 083                          300 N Moss Rd                                                 Winter Springs, FL 32708‐2510                                                                               First Class Mail
Voting Party                   Winterfield United Methodist Church                           2616 Tryon Rd                                        Longview, TX 75605                                                                                                                    financeoffice@winterfieldumc.org    Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Winters Chapel Umc                                            c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Winters Chapel Umc 5105 Winters Chapel Rd Atlanta, Ga 30360   c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Winters Lions Club                                            Texas Trails Council 561                             P.O. Box 744                                                  Winters, TX 79567‐0744                                                                                      First Class Mail
Voting Party                   Winterstown United Methodist Church (184917)                  c/o Bentz Law Firm                                   Attn: Leonard Spagnolo                                        680 Washington Rd, Ste 200         Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Winterstown Utd Methodist Church                              New Birth of Freedom 544                             12187 Winterstown Rd                                          Felton, PA 17322                                                                                            First Class Mail
Chartered Organization         Winterville Civitan Club                                      Northeast Georgia Council 101                        101 Margold Ln                                                Winterville, GA 30683                                                                                       First Class Mail
Chartered Organization         Winterville Civitan Club                                      Northeast Georgia Council 101                        P.O. Box 62                                                   Winterville, GA 30683‐0062                                                                                  First Class Mail
Chartered Organization         Winterville Rescue & Ems Aux                                  East Carolina Council 426                            P.O. Box 613                                                  Winterville, NC 28590‐0613                                                                                  First Class Mail
Chartered Organization         Winthrop Community Club                                       Winnebago Council, Bsa 173                           P.O. Box 178                                                  Winthrop, IA 50682‐0178                                                                                     First Class Mail
Chartered Organization         Winthrop Congregational Church                                Mayflower Council 251                                16 N Franklin St                                              Holbrook, MA 02343‐1502                                                                                     First Class Mail
Chartered Organization         Winthrop Harbor Fire Dept                                     Northeast Illinois 129                               830 Sheridan Rd                                               Winthrop Harbor, IL 60096‐1632                                                                              First Class Mail
Chartered Organization         Winthrop Harbor Lions Club, Inc                               Northeast Illinois 129                               P.O. Box 222                                                  Winthrop Harbor, IL 60096‐0222                                                                              First Class Mail
Chartered Organization         Winthrop Police Dept                                          The Spirit of Adventure 227                          3 Metcalf Sq                                                  Winthrop, MA 02152‐3159                                                                                     First Class Mail
Voting Party                   Winthrop United Methodist Church                              Attn: Ned S Crockett, Pastor                         P.O. Box 136                                                  Winthrop, ME 04364                                                      pastor@winthropumc.org              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Winton Hills Academy                                          Dan Beard Council, Bsa 438                           5300 Winneste Ave                                             Cincinnati, OH 45232‐1133                                                                                   First Class Mail
Chartered Organization         Wired Steeples Christian Church                               Last Frontier Council 480                            400 NE 3rd St                                                 Tipton, OK 73570‐9633                                                                                       First Class Mail
Chartered Organization         Wis American Legion Post 471                                  Samoset Council, Bsa 627                             178405 County Rd II                                           Hatley, WI 54440‐7612                                                                                       First Class Mail
Chartered Organization         Wisconsin Army National Guard                                 Bay‐Lakes Council 635                                2801 W 2nd St                                                 Appleton, WI 54914‐4410                                                                                     First Class Mail
Chartered Organization         Wisconsin Dells Kiwanis Club                                  Glaciers Edge Council 620                            P.O. Box 524                                                  Wisconsin Dells, WI 53965‐0524                                                                              First Class Mail
Chartered Organization         Wisconsin Rapids Area Catholic Schools                        Samoset Council, Bsa 627                             445 Chestnut St                                               Wisconsin Rapids, WI 54494‐4803                                                                             First Class Mail
Voting Party                   Wisconsin Rapids Umc                                          Attn: Joshua Douglas Pegram                          441 Garfield St                                               Wisconsin Rapids, WI 54494                                              umc@wctc.net                        Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Wisconsin Rapids Umc                                          Attn: Tami Drew‐Huiras                               441 Garfield St                                               Wisconsin Rapids, WI 54494                                              umc@wctc.net                        Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Wisconsin River Orthopaedics                                  Samoset Council, Bsa 627                             140 24th St S                                                 Wisconsin Rapids, WI 54494‐1906                                                                             First Class Mail
Chartered Organization         Wise County Sheriffs Dept                                     Longhorn Council 662                                 200 Rook Ramsey Dr                                            Decatur, TX 76234‐3219                                                                                      First Class Mail
Chartered Organization         Wise County Sheriffs Office                                   Sequoyah Council 713                                 5605 Patriot Dr                                               Wise, VA 24293                                                                                              First Class Mail
Chartered Organization         Wise Lions Club                                               Sequoyah Council 713                                 P.O. Box 914                                                  Wise, VA 24293‐0914                                                                                         First Class Mail
Chartered Organization         Wise Police Dept                                              Sequoyah Council 713                                 P.O. Box 1100                                                 Wise, VA 24293‐1100                                                                                         First Class Mail
Chartered Organization         Wissinoming Presbyterian Church                               Cradle of Liberty Council 525                        5825 Torresdale Ave                                           Philadelphia, PA 19135                                                                                      First Class Mail
Voting Party                   Witherspoon Street Presbyterian Church                        Attn: Sharon N Campbell                              112 Witherspoon St                                            Princeton, NJ 08542                                                     scampbell@witherspoonchurch.org     Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Witherspoon Street Presbyterian Church                        Attn: Sharon N Campbell                              112 Witherspoon St                                            Princeton, NJ 08542                                                     admin@witherspoonchurch.org         Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Without Walls Vineyard                                        President Gerald R Ford 781                          8485 Homestead Dr                                             Zeeland, MI 49464‐8969                                                                                      First Class Mail
Chartered Organization         Withrow Education Assoc                                       Northern Star Council 250                            10158 122nd St N                                              Hugo, MN 55038‐9428                                                                                         First Class Mail
Firm                           Witt Law Firm, P.S                                            Morgan M. Witt                                       415 Pine Street                                               Mount Vernon, WA 98273                                                  morgan@legalwitt.com                Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Wittenberg Lions Club                                         Samoset Council, Bsa 627                             N7951 Regina Rd                                               Wittenberg, WI 54499                                                                                        First Class Mail
Voting Party                   Wittenberg Lutheran Church                                    Attn: Brian M Shealy                                 P.O. Box 3447                                                 Leesville, SC 29070                                                     wittenberg@sc.twcbc.com             Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Wittenberg Lutheran Church Men Club                           Indian Waters Council 553                            P.O. Box 306                                                  Ridge Spring, SC 29129‐0306                                                                                 First Class Mail
Chartered Organization         Wittenberg Sportsmens Club, Inc                               Rip Van Winkle Council 405                           P.O. Box 930                                                  Woodstock, NY 12498‐0930                                                                                    First Class Mail
Chartered Organization         Wjs Adventures, Inc                                           Greater Tampa Bay Area 089                           3435 Reserve Cir N                                            St Petersburg, FL 33713‐3644                                                                                First Class Mail
Chartered Organization         Wm A Carleton Memorial VFW Post 2513                          Heart of America Council 307                         P.O. Box 593                                                  Warrensburg, MO 64093‐0593                                                                                  First Class Mail
Voting Party                   Wm C Martin United Methodist Church                           c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Wm C Martin United Methodist Church                           2621 Bedford Euless Rd                               Bedford, TX 76021                                                                                                                                                         First Class Mail
Chartered Organization         Wm Renton Lodge No 29                                         Free & Accepted Masons                               1299 Grow Ave Nw                                              Bainbridge Island, WA 98110‐2708                                                                            First Class Mail
Chartered Organization         Wm Travis American Legion Post                                Allegheny Highlands Council 382                      144 S Erie St                                                 Mayville, NY 14757‐1217                                                                                     First Class Mail
Chartered Organization         Wm W Fahey American Legion Post 491                           Chester County Council 539                           208 E State St                                                Kennett Square, PA 19348‐3112                                                                               First Class Mail
Chartered Organization         Wminster United Methodist Ch Mens Grp                         Denver Area Council 061                              3585 W 76th Ave                                               Westminster, CO 80030‐4854                                                                                  First Class Mail
Chartered Organization         Wmoreland Housing Auth Derry Townhouses                       Westmoreland Fayette 512                             154 S Greengate Rd                                            Greensburg, PA 15601‐6392                                                                                   First Class Mail
Chartered Organization         Wmoreland Housing Auth Pleasant Manor                         Westmoreland Fayette 512                             154 Pleasant Mnr                                              Mt Pleasant, PA 15666                                                                                       First Class Mail
Voting Party                   Woburn United Methodist Church                                523 Main St                                          Woburn, MA 01801                                                                                                                      bill.hoch@hotmail.com               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woden Baptist Church                                          East Texas Area Council 585                          P.O. Box 45                                                   Woden, TX 75978‐9001                                                                                        First Class Mail
Firm                           Woelfel & Woelfel, LLP                                        Michael Woelfel                                      801 8th St                                                    Huntington, WV 25701                                                    mikewoelfel3@gmail.com              Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woerner Elementary Pto                                        Greater St Louis Area Council 312                    6131 Leona St                                                 St Louis, MO 63116‐2922                                                                                     First Class Mail
Chartered Organization         Wohlwend School Pto                                           Greater St Louis Area Council 312                    5966 Telegraph Rd                                             St Louis, MO 63129‐4716                                                                                     First Class Mail
Voting Party                   Wolcott Faith United Methodist Church                         Attn: Darrell Brown                                  12223 Oswego St                                               Wolcott, NY 14590                                                       darrellcbrown12@yahoo.com           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Wolcott Grange No 173                                         Connecticut Rivers Council, Bsa 066                  313 Bound Line Rd                                             Wolcott, CT 06716‐2558                                                                                      First Class Mail
Chartered Organization         Wolcott Lions Club                                            Sagamore Council 162                                 P.O. Box 219                                                  Wolcott, IN 47995                                                                                           First Class Mail
Chartered Organization         Wolcott School P T O                                          Connecticut Rivers Council, Bsa 066                  71 Wolcott Rd                                                 West Hartford, CT 06110‐1764                                                                                First Class Mail
Voting Party                   Wolcott United Methodist Church                               Attn: John Plank                                     P.O. Box 354                                                  Wolcott, IN 47995                                                       wolcottumc@gmail.com                Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Wolcott United Methodist Church, Wolcott, Vt                  Attn: Rev Patricia J Thompson, Coordinating Pastor   P.O. Box 538                                                  Morrisville, VT 05661                                                   pajt8817@aol.com                    Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Wolf Branch District 113 Ptc                                  Greater St Louis Area Council 312                    125 Huntwood Rd                                               Swansea, IL 62226‐1923                                                                                      First Class Mail
Voting Party                   Wolf Lake United Methodist Church                             Attn: Ryan Heck                                      7560 N State Rd 13                                            North Webster, IN 46555                                                 raheck@embarqmail.com               Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Wolf Lake Utd Methodist Church                                President Gerald R Ford 781                          370 Vista Ter                                                 Muskegon, MI 49442‐1848                                                                                     First Class Mail
Chartered Organization         Wolf Springs Pto                                              Heart of America Council 307                         9300 W 178th St                                               Overland Park, KS 66013‐4508                                                                                First Class Mail
Chartered Organization         Wolf Swamp School Pto                                         Western Massachusetts Council 234                    62 Wolf Swamp Rd                                              Longmeadow, MA 01106‐3247                                                                                   First Class Mail
Firm                           Wolf, Rifkin, Shapiro, Schulman & Rabkin LLP                  Royi Moas                                            3556 E Russell Road, 2nd Floor                                Las Vegas, NV 89120‐2234                                                rmoas@wrslawyers.com                Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Wolfe City First United Methodist Church                      Attn: Jason Lee / Trustee                            301 S Preston                                                 Wolfe City, TX 75496                                                    office.fumcwc@gmail.com             Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Wolfeboro Lions Club                                          Daniel Webster Council, Bsa 330                      P.O. Box 325                                                  Wolfeboro, NH 03894‐0325                                                                                    First Class Mail
Chartered Organization         Wolfeboro Rotary Club                                         Daniel Webster Council, Bsa 330                      Rotary Club                                                   Wolfeboro, NH 03894                                                                                         First Class Mail
Firm                           Wolff & Wolff Trial Lawyers                                   Alvin A. Wolff, Jr.                                  1034 S. Brentwood Blvd., Ste 1900                             St. Louis, MO 63117                                                     alvinwolff@gmail.com                Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Wolfforth Utd Methodist                                       South Plains Council 694                             1010 Donald Preston Dr                                        Wolfforth, TX 79382‐5403                                                                                    First Class Mail
Chartered Organization         Wolflin Elementary Pta                                        Golden Spread Council 562                            2026 S Hughes St                                              Amarillo, TX 79109‐2266                                                                                     First Class Mail
Chartered Organization         Wolftree Programs                                             Western Massachusetts Council 234                    P.O. Box 44                                                   Montague, MA 01351‐0044                                                                                     First Class Mail
Chartered Organization         Womans Club Of Temple City                                    Greater Los Angeles Area 033                         9703 Woodruff Ave                                             Temple City, CA 91780‐1752                                                                                  First Class Mail
Chartered Organization         Women Of The Moose Chapter 47                                 Mansfield                                            438 Opal Dr                                                   Mansfield, OH 44907‐1474                                                                                    First Class Mail
Chartered Organization         Womens Club Peoples Methodist Church                          Pine Tree Council 218                                310 Broadway                                                  South Portland, ME 04106‐2906                                                                               First Class Mail
Chartered Organization         Womens Club Peoples United Methodist Ch                       Pine Tree Council 218                                310 Broadway                                                  South Portland, ME 04106‐2906                                                                               First Class Mail
Chartered Organization         Womens Ctr                                                    Atlanta Area Council 092                             631 Promise Path                                              Conyers, GA 30012‐4123                                                                                      First Class Mail
Chartered Organization         Womens Huron Valley                                           Southern Shores Fsc 783                              3201 Bemis Rd                                                 Ypsilanti, MI 48197‐9307                                                                                    First Class Mail
Chartered Organization         Wonder Lake Fire Protection District                          Blackhawk Area 660                                   P.O. Box 447                                                  Wonder Lake, IL 60097‐0447                                                                                  First Class Mail
Chartered Organization         Wonder Lake Firefighters Assoc                                Blackhawk Area 660                                   P.O. Box 447                                                  Wonder Lake, IL 60097‐0447                                                                                  First Class Mail
Chartered Organization         Wonderview Elementary School Pto                              Quapaw Area Council 018                              2436 Hwy 95                                                   Hattieville, AR 72063‐8929                                                                                  First Class Mail
Chartered Organization         Wood County Constable Precint 2                               East Texas Area Council 585                          716 Greenville Ave                                            Mineola, TX 75773‐1000                                                                                      First Class Mail
Chartered Organization         Wood County Sheriffs Office                                   Erie Shores Council 460                              1960 E Gypsy Lane Rd                                          Bowling Green, OH 43402‐9396                                                                                First Class Mail
Chartered Organization         Wood Dale Lions Club                                          Three Fires Council 127                              P.O. Box 14                                                   Wood Dale, IL 60191‐0014                                                                                    First Class Mail
Chartered Organization         Wood Group Americas                                           Sam Houston Area Council 576                         17325 Park Row                                                Houston, TX 77084‐4932                                                                                      First Class Mail
Chartered Organization         Wood Group Kenny                                              Sam Houston Area Council 576                         15115 Park Row                                                Houston, TX 77084‐4947                                                                                      First Class Mail
Chartered Organization         Wood Ridge Pba Local 313                                      Northern New Jersey Council, Bsa 333                 85 Humboldt St                                                Wood Ridge, NJ 07075‐2344                                                                                   First Class Mail
Chartered Organization         Wood River After School Program                               Overland Trails 322                                  1003 Lilly St                                                 Wood River, NE 68883‐2107                                                                                   First Class Mail
Voting Party                   Wood River United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP                Attn: Edwin G Rice                                            100 N Tampa St, Ste 2200           Tampa, FL 33602                      erice@bradley.com                   Email
                                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Wood River United Methodist Church                            1105 Main St                                         Wood River, NE 68883                                                                                                                                                      First Class Mail
Chartered Organization         Woodberry Forest School                                       Stonewall Jackson Council 763                        898 Woodberry Forest Rd                                       Woodberry Forest, VA 22989‐8002                                                                             First Class Mail
Voting Party                   Woodbine First United Methodist Church                        Attn: Debbie Harris                                  P.O. Box 137                                                  Woodbine, IA 51579                                                                                          First Class Mail
Voting Party                   Woodbine United Methodist Church                              Attn: Trustee Chairperson & Nancy Carol Ezell        2621 Nolensville Pike                                         Nashville, TN 37211                                                     nancy_ezell@bellsouth.net           Email
                                                                                                                                                                                                                                                                                                                            First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                             Page 437 of 442
                                                                                 Case 20-10343-LSS                                                  Doc 8171                                    Filed 01/06/22                                                   Page 453 of 457
                                                                                                                                                                                   Exhibit B
                                                                                                                                                                                    Service List
                                                                                                                                                                             Served as set forth below

        Description                                                       Name                                                                                                   Address                                                                                                            Email              Method of Service
Chartered Organization         Woodbine Utd Methodist Church                            Gulf Coast Council 773                                5200 Woodbine Rd                                         Pace, FL 32571‐8715                                                                                  First Class Mail
Chartered Organization         Woodbine Volunteer Fire Co                               Garden State Council 690                              636 Monroe Ave                                           Woodbine, NJ 08270‐2121                                                                              First Class Mail
Chartered Organization         Woodbridge Elks Lodge No 2355                            National Capital Area Council 082                     14602 Minnieville Rd                                     Woodbridge, VA 22193‐3218                                                                            First Class Mail
Chartered Organization         Woodbridge Pta                                           Greater Tampa Bay Area 089                            8301 Woodbridge Blvd                                     Tampa, FL 33615‐2015                                                                                 First Class Mail
Voting Party                   Woodbridge United Methodist Jr Youth                     c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodbridge Volunteer Fire Assoc                          Connecticut Yankee Council Bsa 072                    Meeting House Ln                                         Woodbridge, CT 06525                                                                                 First Class Mail
Voting Party                   Woodburn United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodbury Baptist Church                                  Northern Star Council 250                             6695 Upper Afton Rd                                      Woodbury, MN 55125‐2156                                                                              First Class Mail
Chartered Organization         Woodbury Church Of Christ                                Northern Star Council 250                             4920 Woodbury Dr                                         Woodbury, MN 55129‐5003                                                                              First Class Mail
Chartered Organization         Woodbury Heights Fire Dept                               Garden State Council 690                              534 Elm Ave                                              Woodbury Heights, NJ 08097‐1404                                                                      First Class Mail
Chartered Organization         Woodbury Lutheran Church                                 Northern Star Council 250                             7380 Afton Rd                                            Woodbury, MN 55125‐1502                                                                              First Class Mail
Chartered Organization         Woodbury Police Dept                                     Northern Star Council 250                             2100 Radio Dr                                            Woodbury, MN 55125‐9598                                                                              First Class Mail
Chartered Organization         Woodbury Presbyterian Church                             Central Florida Council 083                           1501 Woodbury Rd                                         Orlando, FL 32828‐6006                                                                               First Class Mail
Chartered Organization         Woodbury Public Safety Fire                              Northern Star Council 250                             2100 Radio Dr                                            Woodbury, MN 55125‐9598                                                                              First Class Mail
Voting Party                   Woodbury Umc                                             c/o Randolph Richardson Wumc                          4 Church St                                              Woodbury, CT 06798                                                  rrichardson@grslaw.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodbury Union Church                                    P O Box 9484                                          Warwick, RI 02889                                                                                                                                             First Class Mail
Voting Party                   Woodbury Union Church Presbyterian, Conimicut, RI        Attn: Carol Christensen, Treasurer                    58 Beach Ave                                             P.O. Box 9484                     Warwick, RI 02889                 gary12carol@gmail.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Woodbury Union Church, Presbyterian,Conimicut, RI        Attn: Carol Christensen, Treasurer                    58 Beach Ave                                             P.O. Box 9484                     Warwick, RI 02889                 gary12carol@gmail.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodcliff Community Church                               Northern New Jersey Council, Bsa 333                  7605 Palisade Ave                                        North Bergen, NJ 07047‐5509                                                                          First Class Mail
Chartered Organization         Woodcrest Church                                         Northern Star Council 250                             525 Cliff Rd                                             Eagan, MN 55123‐2007                                                                                 First Class Mail
Chartered Organization         Wooddale Lutheran Church                                 Northern Star Council 250                             4003 Wooddale Ave S                                      St Louis Park, MN 55416‐2916                                                                         First Class Mail
Chartered Organization         Wooden Boat Foundation                                   Chief Seattle Council 609                             431 Water St                                             Port Townsend, WA 98368‐5723                                                                         First Class Mail
Chartered Organization         Wooden Cross Lutheran Church                             Chief Seattle Council 609                             17401 198th Ave Ne                                       Woodinville, WA 98077‐8855                                                                           First Class Mail
Chartered Organization         Woodfield Scout Preservation                             Staff Alumni                                          491 Woodfield Scout Trl                                  Asheboro, NC 27205‐2553                                                                              First Class Mail
Chartered Organization         Woodford County Sheriff                                  W D Boyce 138                                         111 E Court St                                           Eureka, IL 61530‐1252                                                                                First Class Mail
Chartered Organization         Woodford‐Burdick Al Post 894                             Leatherstocking 400                                   1651 Seminary St                                         De Ruyter, NY 13052                                                                                  First Class Mail
Chartered Organization         Woodforest National Bank                                 Capitol Area Council 564                              1030 Norwood Park Blvd                                   Austin, TX 78753‐6600                                                                                First Class Mail
Voting Party                   Woodforest Presbyterian Church                           Attn: Susan Maxwell                                   15330 Wallisville Rd                                     Houston, TX 77049                                                   clerk@woodforestpc.org           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodhaven Baptist Church                                 Occoneechee 421                                       4000 Kildaire Farm Rd                                    Apex, NC 27539‐8838                                                                                  First Class Mail
Chartered Organization         Woodhaven Moose                                          Great Lakes Fsc 272                                   22951 Van Horn Rd                                        Woodhaven, MI 48183‐3754                                                                             First Class Mail
Chartered Organization         Woodhaven Presbyterian Church                            Circle Ten Council 571                                3650 N O Connor Rd                                       Irving, TX 75062‐3603                                                                                First Class Mail
Chartered Organization         Woodinville Ares Group                                   Chief Seattle Council 609                             22909 NE 202nd St                                        Woodinville, WA 98077‐7539                                                                           First Class Mail
Chartered Organization         Woodinville Lions Club                                   Chief Seattle Council 609                             P.O. Box 2064                                            Woodinville, WA 98072‐2064                                                                           First Class Mail
Chartered Organization         Woodlake Lutheran Church                                 Northern Star Council 250                             2120 W 76th St                                           Richfield, MN 55423‐4498                                                                             First Class Mail
Voting Party                   Woodlake Umc                                             c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodlake Utd Methodist Church                            Heart of Virginia Council 602                         15640 Hampton Park Dr                                    Chesterfield, VA 23832‐2098                                                                          First Class Mail
Chartered Organization         Woodland Ave Utd Methodist Church                        Bucktail Council 509                                  201 Woodland Ave                                         Punxsutawney, PA 15767‐2440                                                                          First Class Mail
Voting Party                   Woodland Avenue United Methodist Church (189054)         c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodland Baptist Church                                  Alamo Area Council 583                                15315 Huebner Rd                                         San Antonio, TX 78248‐0960                                                                           First Class Mail
Chartered Organization         Woodland Dunes Nature Ctr                                Bay‐Lakes Council 635                                 P.O. Box 486                                             Two Rivers, WI 54241‐0486                                                                            First Class Mail
Chartered Organization         Woodland Elemantary                                      Greater St Louis Area Council 312                     8420 Sunbury Ave                                         Jennings, MO 63136‐1337                                                                              First Class Mail
Chartered Organization         Woodland Elementary Pta                                  Pacific Harbors Council, Bsa 612                      4630 Carpenter Rd Se                                     Lacey, WA 98503‐4453                                                                                 First Class Mail
Chartered Organization         Woodland Elk Lodge Bpoe 1299                             Golden Empire Council 047                             500 Bush St                                              Woodland, CA 95695‐3939                                                                              First Class Mail
Chartered Organization         Woodland Elk Lodge Bpoe 1299                             Golden Empire Council 047                             500 Bush St                                              Woodland, CA 95695‐3939                                                                              First Class Mail
Chartered Organization         Woodland Hanrahan Ptso                                   Greater St Louis Area Council 312                     8920 Old Lucas Rd                                        Jennings, MO 63136                                                                                   First Class Mail
Chartered Organization         Woodland Hills Com Congregational Church                 W L A C C 051                                         21338 Dumetz Rd                                          Woodland Hills, CA 91364‐4410                                                                        First Class Mail
Chartered Organization         Woodland Hills E‐ Prep & V‐Prep                          Lake Erie Council 440                                 9201 Crane Ave                                           Cleveland, OH 44105‐1627                                                                             First Class Mail
Chartered Organization         Woodland Hills Elem School Pta                           Sam Houston Area Council 576                          2222 Tree Ln                                             Kingwood, TX 77339‐1766                                                                              First Class Mail
Chartered Organization         Woodland Hills Private School                            W L A C C 051                                         22555 Oxnard St                                          Woodland Hills, CA 91367‐3320                                                                        First Class Mail
Chartered Organization         Woodland Home And School Assoc                           Cradle of Liberty Council 525                         2700 Woodland Elementary                                 Norristown, PA 19403                                                                                 First Class Mail
Chartered Organization         Woodland Host Lions                                      Golden Empire Council 047                             P.O. Box 795                                             Woodland, CA 95776‐0795                                                                              First Class Mail
Chartered Organization         Woodland Lakes Community Church                          Quivira Council, Bsa 198                              770 S Greenwich Rd                                       Wichita, KS 67207‐4314                                                                               First Class Mail
Chartered Organization         Woodland Life Ctr A Ch, Nazarene                         Pikes Peak Council 060                                900 Evergreen Heights Dr                                 Woodland Park, CO 80863‐3342                                                                         First Class Mail
Chartered Organization         Woodland Lions Club                                      Golden Empire Council 047                             P.O. Box 795                                             Woodland, CA 95776‐0795                                                                              First Class Mail
Chartered Organization         Woodland Mill Lake Parent Teacher Org                    Monmouth Council, Bsa 347                             Monmouth Rd                                              Monroe Twp, NJ 08831                                                                                 First Class Mail
Chartered Organization         Woodland Park American Legion Post 238                   Northern New Jersey Council, Bsa 333                  410 Mt Pleasant Ave                                      Woodland Park, NJ 07424‐2661                                                                         First Class Mail
Chartered Organization         Woodland Park Church                                     Great Smoky Mountain Council 557                      3165 Little Ave Gap Rd                                   Louisville, TN 37777                                                                                 First Class Mail
Chartered Organization         Woodland Park Community Church                           Pikes Peak Council 060                                800 Valley View Dr                                       Woodland Park, CO 80863‐8321                                                                         First Class Mail
Voting Party                   Woodland Pleasant Valley Umc (189407)                    c/o Bentz Law Firm                                    Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200        Pittsburgh, PA 15228              lspagnolo@bentzlaw.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodland Presbyterian Church                             Chickasaw Council 558                                 5217 Park Ave                                            Memphis, TN 38119‐3503                                                                               First Class Mail
Chartered Organization         Woodland Reveille Lions Club                             Golden Empire Council 047                             P.O. Box 553                                             Woodland, CA 95776‐0553                                                                              First Class Mail
Chartered Organization         Woodland School Pto                                      Southern Shores Fsc 783                               1401 Woodland Dr                                         Portage, MI 49024‐4254                                                                               First Class Mail
Chartered Organization         Woodland Trace Church Of Christ                          Black Warrior Council 006                             601 the Mall Way                                         Jasper, AL 35504‐7578                                                                                First Class Mail
Chartered Organization         Woodland Trails Scout Reservation                        Miami Valley Council, Bsa 444                         265 Gasper Somers Rd                                     Camden, OH 45311‐9511                                                                                First Class Mail
Voting Party                   Woodland United Methodist Church                         Attn: Tim Miller                                      1846 Mileground Rd                                       Morgantown, WV 26505                                                woodlandumc@comcast.net          Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Woodland United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Woodland United Methodist Church                         1100 W 15th St                                        Wichita, KS 67203                                                                                                                                             First Class Mail
Voting Party                   Woodland United Methodist Church Of Rock Hill, Inc       Attn: Gary Whitley                                    3311 Linda Ct                                            Rock Hill, SC 29732                                                 msleonhardt@umcsc.org            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Woodland United Methodist Church Of Rock Hill, Inc       Michael Leonhardt                                     804 N Cherry Rd                                          Rock Hill, SC 29732                                                 msleonhardt@umcsc.org            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodland Utd Methodist Church                            Tuscarora Council 424                                 2695 Tram Rd                                             Albertson, NC 28508‐9465                                                                             First Class Mail
Chartered Organization         Woodland Utd Methodist Church                            Palmetto Council 549                                  801 Cherry Rd                                            Rock Hill, SC 29732‐3123                                                                             First Class Mail
Chartered Organization         Woodland West Church Of Christ                           Longhorn Council 662                                  8107 W Park Row Dr                                       Arlington, TX 76013                                                                                  First Class Mail
Chartered Organization         Woodlands Elementary Pto                                 Golden Spread Council 562                             2501 N Coulter St                                        Amarillo, TX 79124‐4901                                                                              First Class Mail
Chartered Organization         Woodlane                                                 Erie Shores Council 460                               1921 E Gypsy Lane Rd                                     Bowling Green, OH 43402‐9396                                                                         First Class Mail
Chartered Organization         Woodlawn Baptist Church                                  Capitol Area Council 564                              4600 Manchaca Rd                                         Austin, TX 78745                                                                                     First Class Mail
Chartered Organization         Woodlawn Christian Church                                Great Smoky Mountain Council 557                      4339 Woodlawn Pike                                       Knoxville, TN 37920‐4344                                                                             First Class Mail
Chartered Organization         Woodlawn Christian Church                                Alamo Area Council 583                                1744 W Gramercy Pl                                       San Antonio, TX 78201‐5001                                                                           First Class Mail
Chartered Organization         Woodlawn Christian Church                                Greater St Louis Area Council 312                     P.O. Box 300                                             Woodlawn, IL 62898‐0300                                                                              First Class Mail
Voting Party                   Woodlawn Faith Umc                                       c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodlawn Presbyterian Church                             Palmetto Council 549                                  P.O. Box 189                                             Sharon, SC 29742‐0189                                                                                First Class Mail
Voting Party                   Woodlawn Umc                                             c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodlawn United Methodist Church                         Quivira Council, Bsa 198                              431 S Woodlawn Blvd                                      Derby, KS 67037‐1341                                                                                 First Class Mail
Voting Party                   Woodlawn United Methodist Church                         Attn: Sherry Hersh                                    3829 Lake Rd                                             Woodlawn, TN 37191                                                  hersh.sherry@yahoo.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Woodlawn United Methodist Church                         c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Woodlawn Untied Methodist Church                         Attn: Emily Freeman Penfield                          139 54th St N                                            Birmingham, AL 35212                                                emily@woodlawnbham.com           Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodlawn Utd Methodist Church                            Lincoln Heritage Council 205                          1120 Woodlawn Ave                                        Owensboro, KY 42301‐2851                                                                             First Class Mail
Chartered Organization         Woodlawn Utd Methodist Church                            Blue Ridge Mtns Council 599                           2916 Corbieshaw Rd Sw                                    Roanoke, VA 24015                                                                                    First Class Mail
Chartered Organization         Woodleaf Civitan                                         Central N Carolina Council 416                        P.O. Box 2                                               Woodleaf, NC 27054‐0002                                                                              First Class Mail
Chartered Organization         Woodleaf United Methodist Church                         Central N Carolina Council 416                        P.O. Box 299                                             Woodleaf, NC 27054‐0299                                                                              First Class Mail
Chartered Organization         Woodlyn Troop 43 Group Of Citizens, Inc                  Cradle of Liberty Council 525                         507 Milmont Ave                                          Folsom, PA 19033‐3126                                                                                First Class Mail
Chartered Organization         Woodlynde School                                         Chester County Council 539                            445 Upper Gulph Rd                                       Strafford, PA 19087‐5436                                                                             First Class Mail
Chartered Organization         Woodman Of The World                                     Blue Ridge Council 551                                1420 Civitan Rd                                          Newberry, SC 29108‐1523                                                                              First Class Mail
Chartered Organization         Woodman Valley Chapel                                    Pikes Peak Council 060                                290 E Woodmen Rd                                         Colorado Springs, CO 80919‐1359                                                                      First Class Mail
Voting Party                   Woodmar United Methodist Church                          Attn: Deb Mangerson                                   7320 Northcote Ave                                       Hammond, IN 46324                                                   mangerson@woodmarumc.org         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodmen Hills Elementary Pta                             Pikes Peak Council 060                                8308 Del Rio Rd                                          Peyton, CO 80831‐6773                                                                                First Class Mail
Chartered Organization         Woodmen Life                                             Middle Tennessee Council 560                          559 Polly Dr                                             Cookeville, TN 38501‐3935                                                                            First Class Mail
Chartered Organization         Woodmen Life Chapter 94                                  Pushmataha Area Council 691                           18285 U S Hwy 82                                         Mathiston, MS 39752‐4509                                                                             First Class Mail
Voting Party                   Woodmont                                                 c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodmont Baptist Church                                  Middle Tennessee Council 560                          2100 Woodmont Blvd                                       Nashville, TN 37215‐1415                                                                             First Class Mail
Chartered Organization         Woodmont Christian Church                                Middle Tennessee Council 560                          3601 Hillsboro Pike                                      Nashville, TN 37215‐2123                                                                             First Class Mail
Chartered Organization         Woodmont Utd Methodist Ch Men Fellowship                 Old N State Council 070                               1926 Richardson Dr                                       Reidsville, NC 27320‐5436                                                                            First Class Mail
Chartered Organization         Woodridge Community Assoc                                Chief Seattle Council 609                             1527 121st Ave Se                                        Bellevue, WA 98005‐3841                                                                              First Class Mail
Chartered Organization         Woodridge Elementary School Pto                          Great Trail 433                                       3313 Northampton Rd                                      Cuyahoga Falls, OH 44223‐3075                                                                        First Class Mail
Chartered Organization         Woodridge Ptso                                           Inland Nwest Council 611                              5100 W Shawnee Ave                                       Spokane, WA 99208‐9419                                                                               First Class Mail
Voting Party                   Woodridge United Methodist Church                        Attn: Danita Ruth Anderson                            2700 75th St                                             Woodridge, IL 60517‐2860                                            pastordanita@woodridgeumc.org    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Woodridge United Methodist Church                        Attn: Kathleen Whiteman                               P.O. Box 92                                              Woodridge, NY 12789                                                 2whitemans@gmail.com             Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodrow Utd Methodist Church                             Greater New York Councils, Bsa 640                    1075 Woodrow Rd                                          Staten Island, NY 10312‐1109                                                                         First Class Mail
Chartered Organization         Woodrow Utd Methodist Church                             Greater New York Councils, Bsa 640                    1109 Woodrow Rd                                          Staten Island, NY 10312‐1109                                                                         First Class Mail
Chartered Organization         Woodrow Wilson Elementary                                Cherokee Area Council 469 469                         245 N Spruce Ave                                         Bartlesville, OK 74006‐2018                                                                          First Class Mail
Chartered Organization         Woodrow Wilson Elementary Pto                            Cherokee Area Council 469 469                         245 N Spruce Ave                                         Bartlesville, OK 74006‐2018                                                                          First Class Mail
Chartered Organization         Woodrow Wilson Elementary School                         Mayflower Council 251                                 169 Leland St                                            Framingham, MA 01702‐7463                                                                            First Class Mail
Chartered Organization         Woodrow Wilson H S Jrotc                                 Circle Ten Council 571                                100 S Glasgow Dr                                         Dallas, TX 75214‐4518                                                                                First Class Mail
Chartered Organization         Woodrow Wilson Parent Teacher Assoc                      Mid Iowa Council 177                                  801 S 8th Ave W                                          Newton, IA 50208‐4452                                                                                First Class Mail
Chartered Organization         Woodrow Wilson School Parent Teacher                     Coronado Area Council 192                             312 N Juliette Ave                                       Manhattan, KS 66502‐5916                                                                             First Class Mail
Chartered Organization         Woodrun Homeowners Assoc                                 Central N Carolina Council 416                        118 Dennis Dr                                            Mt Gilead, NC 27306‐8927                                                                             First Class Mail
Chartered Organization         Woods Chapel Community Of Christ                         Heart of America Council 307                          500 NE Woods Chapel Rd                                   Lees Summit, MO 64064‐1903                                                                           First Class Mail
Voting Party                   Woods Chapel United Methodist Church                     Attn: Sherri Swanson                                  4725 NE Lakewood Way                                     Lees Summit, MO 64064                                               sherris@woodschapelchurch.org    Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woods Chapel Untd Meth Chur Lees Summit                  Heart of America Council 307                          5413 Blue Ridge Cut Off                                  Raytown, MO 64133‐2728                                                                               First Class Mail
Voting Party                   Woods Memorial Presbyterian Church                       Attn: Dir of Finance                                  611 Baltimore Annapolis Blvd                             Severna Park, MD 21146                                              tlerario@woodschurch.org         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woods Oviatt Gilman LLP                                  Seneca Waterways 397                                  2 State St                                               Rochester, NY 14614‐1327                                                                             First Class Mail
Voting Party                   Woods Oviatt Gilman LLP                                  Attn: Timothy Lyster, Esq                             1900 Bausch & Lomb Pl                                    Rochester, NY 14604                                                                                  First Class Mail
Chartered Organization         Woods Services                                           Washington Crossing Council 777                       P.O. Box 36                                              Langhorne, PA 19047‐0036                                                                             First Class Mail
Chartered Organization         Woodside Elementary Pto                                  President Gerald R Ford 781                           2591 N Div Ave                                           Holland, MI 49424‐6312                                                                               First Class Mail
Chartered Organization         Woodside Parent Faculty Club                             Mt Diablo‐Silverado Council 023                       761 San Simeon Dr                                        Concord, CA 94518‐2337                                                                               First Class Mail
Chartered Organization         Woodside Presbyterian Church                             Washington Crossing Council 777                       Edgewood Rd                                              Yardley, PA 19067                                                                                    First Class Mail
Chartered Organization         Woodside School Parent Teachers                          Samoset Council, Bsa 627                              611 Two Mile Ave                                         Wisconsin Rapids, WI 54494‐6560                                                                      First Class Mail
Voting Party                   Woodside United Methodist Church                         Attn: Jess Ray, Lay Leader                            619 Memorial Dr                                          Beech Grove, IN 46107                                               jess@raymrkting.com              Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Woodside United Methodist Church                         Charles Frederic Kersey                               8681 Jaffa Crt E Dr, Ste34                               Indianapolis, IN 46260                                              ekersey1@frontier.com            Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodson Elementary Pta                                   Atlanta Area Council 092                              1605 Hllwell Pkwy Nw                                     Atlanta, GA 30318‐5003                                                                               First Class Mail
Chartered Organization         Woodstock Christian Church                               Atlanta Area Council 092                              7700 Hwy 92                                              Woodstock, GA 30189‐5233                                                                             First Class Mail
Chartered Organization         Woodstock Community Church                               Atlanta Area Council 092                              216 Rope Mill Rd                                         Woodstock, GA 30188‐2600                                                                             First Class Mail
Chartered Organization         Woodstock Community Church                               Atlanta Area Council 092                              237 Rope Mill Rd                                         Woodstock, GA 30188‐2626                                                                             First Class Mail
Voting Party                   Woodstock First United Methodist Church                  Woodstock: First                                      201 W South St                                           Woodstock, IL 60098                                                 HLE763@GMAIL.COM                 Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodstock Moose Lodge 575                                Shenandoah Area Council 598                           152 Moose Rd                                             Woodstock, VA 22664‐1820                                                                             First Class Mail
Chartered Organization         Woodstock Police Dept                                    Atlanta Area Council 092                              12453 Hwy 92                                             Woodstock, GA 30188‐4247                                                                             First Class Mail
Chartered Organization         Woodstock Police Dept                                    Blackhawk Area 660                                    656 Lake Ave                                             Woodstock, IL 60098‐4211                                                                             First Class Mail
Chartered Organization         Woodstock Rotary Club                                    Green Mountain 592                                    P.O. Box 581                                             Woodstock, VT 05091‐0581                                                                             First Class Mail
Voting Party                   Woodstock Umc                                            c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodstock United Methodist Church                        Shenandoah Area Council 598                           P.O. Box 170                                             Woodstock, VA 22664                                                                                  First Class Mail
Chartered Organization         Woodstock Utd Methodist Church                           Black Warrior Council 006                             73 Strickland Dr                                         Woodstock, AL 35188‐3450                                                                             First Class Mail
Chartered Organization         Woodstone Of San Antonio Hoa, Inc                        Alamo Area Council 583                                13618 Dreamwood Dr                                       San Antonio, TX 78233‐4981                                                                           First Class Mail
Chartered Organization         Woodstown Presbyterian Church                            Garden State Council 690                              46 Auburn St                                             Woodstown, NJ 08098‐1277                                                                             First Class Mail
Chartered Organization         Woodstream Church                                        National Capital Area Council 082                     9800 Lottsford Rd                                        Bowie, MD 20721‐2894                                                                                 First Class Mail
Voting Party                   Woodsville United Methodist Church                       Attn: Paula House                                     P.O. Box 282                                             Woodsville, NH 03785                                                pjhousenh2@aol.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Voting Party                   Woodville United Methodist Church                        Attn: Gordon Mccluskey, Treasurer & John H Gazzaway   200 N Nellius St                                         Woodville, TX 75979                                                 gpmdvm76@gmail.com               Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodville Utd Methodist Church                           200 N Nellius St                                      Woodville, TX 75979                                                                                                                                           First Class Mail
Chartered Organization         Woodward Academy                                         Atlanta Area Council 092                              1662 Rugby Ave                                           College Park, GA 30337‐2116                                                                          First Class Mail
Chartered Organization         Woodward Church Of Jesus Christ Lds                      Cimarron Council 474                                  3625 Quail Dr                                            Woodward, OK 73801                                                                                   First Class Mail
Chartered Organization         Woodward County Sheriffs Dept                            Cimarron Council 474                                  1600 Main St                                             Woodward, OK 73801‐3000                                                                              First Class Mail
Chartered Organization         Woodward Elementary School                               Atlanta Area Council 092                              3034 Curtis Dr Ne                                        Brookhaven, GA 30319‐4163                                                                            First Class Mail
Chartered Organization         Woodward Elementary School Pto                           Southern Shores Fsc 783                               606 Stuart Ave                                           Kalamazoo, MI 49007‐3207                                                                             First Class Mail
Chartered Organization         Woodward Methodist Mens Club                             Cimarron Council 474                                  1111 Downs Ave                                           Woodward, OK 73801‐5713                                                                              First Class Mail
Chartered Organization         Woodward North Academy                                   Atlanta Area Council 092                              6565 Boles Rd                                            Johns Creek, GA 30097‐1883                                                                           First Class Mail
Chartered Organization         Woodward Parkway Elementary School                       Theodore Roosevelt Council 386                        Woodward Pky And                                         Spielman Av                       Farmingdale, NY 11735                                              First Class Mail
Voting Party                   Woodway First United Methodist Church                    c/o Bradley Arant Boult Cummings, LLP                 Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200          Tampa, FL 33602                   erice@bradley.com                Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Woodway Utd Methodist Church                             Longhorn Council 662                                  21000 Woodway Dr                                         Woodway, TX 76712‐7548                                                                               First Class Mail
Chartered Organization         Woodworth Elementary School Pto                          Water and Woods Council 782                           212 Pennsylvania St                                      Leslie, MI 49251‐9420                                                                                First Class Mail
Voting Party                   Woodycrest United Methodist Church                       Attn: Tana Smith Joseph                               P.O. Box 60                                              Bronx, NY 10452                                                     woodycrestumc1@yahoo.com         Email
                                                                                                                                                                                                                                                                                                            First Class Mail
Chartered Organization         Wooley Springs Baptist                                   Greater Alabama Council 001                           28025 Bethel Rd                                          Toney, AL 35773‐8309                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                                    Page 438 of 442
                                                                                   Case 20-10343-LSS                                   Doc 8171                                      Filed 01/06/22                                                    Page 454 of 457
                                                                                                                                                                        Exhibit B
                                                                                                                                                                         Service List
                                                                                                                                                                  Served as set forth below

        Description                                                        Name                                                                                       Address                                                                                                             Email               Method of Service
Voting Party                   Woolf, Mcclane, Bright, Allen & Carpenter, PLLC            Attn: M Aaron Spencer Esq               900 S Gay St, Ste 900                                     Knoxville, TN 37902                                                  aspencer@wmbac.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Woolrich Comm Utd Methodist Church                         Susquehanna Council 533                 1080 Park Ave                                             Woolrich, PA 17779                                                                                     First Class Mail
Voting Party                   Woolrich Community Umc (181960)                            c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200      Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Woolwich Fire Dept Auxiliary                               Pine Tree Council 218                   10 Nequasset Rd                                           Woolwich, ME 04579                                                                                     First Class Mail
Chartered Organization         Woolwine Utd Methodist Church                              Blue Ridge Mtns Council 599             10205 Woolwine Hwy                                        Woolwine, VA 24185                                                                                     First Class Mail
Chartered Organization         Woonsocket Police Dept                                     Narragansett 546                        242 Clinton St                                            Woonsocket, RI 02895‐3215                                                                              First Class Mail
Chartered Organization         Wooster Township Fire & Rescue                             Buckeye Council 436                     1917 Millersburg Rd                                       Wooster, OH 44691‐9409                                                                                 First Class Mail
Chartered Organization         Wooten Elementary Prime Time                               Capitol Area Council 564                1406 Dale Dr                                              Austin, TX 78757‐8310                                                                                  First Class Mail
Chartered Organization         Worcester                                                  Hadwen Park Congregational Church       6 Clover St                                               Worcester, MA 01603‐1929                                                                               First Class Mail
Chartered Organization         Worcester                                                  Epworth United Methodist Church         64 Salisbury St                                           Worcester, MA 01609‐3127                                                                               First Class Mail
Chartered Organization         Worcester ‐ Christ The King Church                         Heart of New England Council 230        1052 Pleasant St                                          Worcester, MA 01602‐1335                                                                               First Class Mail
Chartered Organization         Worcester ‐ Emanuel Lutheran Church                        Heart of New England Council 230        200 Greenwood St                                          Worcester, MA 01607‐1610                                                                               First Class Mail
Chartered Organization         Worcester ‐ Greendale Peoples Church                       Heart of New England Council 230        25 Francis St                                             Worcester, MA 01606‐3117                                                                               First Class Mail
Chartered Organization         Worcester ‐ Immaculate Conception Church                   Heart of New England Council 230        353 Grove St                                              Worcester, MA 01605‐3907                                                                               First Class Mail
Chartered Organization         Worcester ‐ Lithuanian Scouting Assoc                      Heart of New England Council 230        17 Agate Ave                                              Worcester, MA 01604‐1173                                                                               First Class Mail
Chartered Organization         Worcester ‐ Nativity School                                Heart of New England Council 230        67 Lincoln St                                             Worcester, MA 01605‐2634                                                                               First Class Mail
Chartered Organization         Worcester ‐ Our Lady Of Lourdes Church                     Heart of New England Council 230        35 Hamilton St                                            Worcester, MA 01604                                                                                    First Class Mail
Chartered Organization         Worcester ‐ Southeast Asian Coalition                      Heart of New England Council 230        484 Main St, Ste 400                                      Worcester, MA 01608‐1817                                                                               First Class Mail
Chartered Organization         Worcester ‐ Venerini Academy                               Heart of New England Council 230        27 Edward St                                              Worcester, MA 01605‐2944                                                                               First Class Mail
Chartered Organization         Worcester Hose Co, Inc                                     Leatherstocking 400                     10 Church St                                              Worcester, NY 12197                                                                                    First Class Mail
Voting Party                   Worcester United Methodist Church                          Attn: Jon Thompson                      10651 St Hwy 7                                            Richmondville, NY 12149                                              pastordan76@yahoo.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Worcester United Methodist Church                          Attn: Daniel Martin                     111 Main St                                               Worcester, NY 12197                                                  pastordan76@yahoo.com             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Worcester United Methodist Church                          Attn: Jackie Polchies                   P.O. Box 125                                              Worcester, VT 05682                                                  233whill@gmail.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Word Of Life South                                         Quivira Council, Bsa 198                2020 E Blake St                                           Wichita, KS 67211‐5353                                                                                 First Class Mail
Chartered Organization         Word Of Peace Lutheran Church                              Northern Star Council 250               21705 129th Ave N                                         Rogers, MN 55374‐4639                                                                                  First Class Mail
Chartered Organization         Workman Parents                                            Great Lakes Fsc 272                     391 Sylvan Dr                                             Canton, MI 48188‐1596                                                                                  First Class Mail
Voting Party                   Workplace Solutions                                        2651 N Harwood St, Ste 300              Dallas, TX 75201‐1560                                                                                                                                            First Class Mail
Chartered Organization         Workshop Coop, Inc                                         Lincoln Heritage Council 205            2441 Tom Lane Rd                                          Benton, KY 42025‐5290                                                                                  First Class Mail
Chartered Organization         World Harvest Family Church                                Rio Grande Council 775                  1000 Las Alamedas                                         Edinburg, TX 78541‐9471                                                                                First Class Mail
Chartered Organization         World Outreach Church For All Nations                      Northeast Georgia Council 101           1710 Stoneoak Cir                                         Lawrenceville, GA 30043‐5676                                                                           First Class Mail
Chartered Organization         World War Ii Recreation Assoc                              Garden State Council 690                15 Winding Way                                            Mt Holly, NJ 08060‐1234                                                                                First Class Mail
Chartered Organization         Worley Elementary School Pta                               Buckeye Council 436                     1340 23rd St Nw                                           Canton, OH 44709‐3655                                                                                  First Class Mail
Chartered Organization         Wortham Oaks Elementary Pto                                Alamo Area Council 583                  5710 Carriage Cpe                                         San Antonio, TX 78261‐4437                                                                             First Class Mail
Chartered Organization         Worthington Christian Church                               Simon Kenton Council 441                8145 N High St                                            Columbus, OH 43235‐1441                                                                                First Class Mail
Chartered Organization         Worthington Estates School Pta                             Simon Kenton Council 441                6760 Rieber St                                            Worthington, OH 43085‐2425                                                                             First Class Mail
Chartered Organization         Worthington Hills Pta                                      Simon Kenton Council 441                1221 Candlewood Dr                                        Columbus, OH 43235‐1621                                                                                First Class Mail
Chartered Organization         Worthington Park Pta                                       Simon Kenton Council 441                500 Park Rd                                               Westerville, OH 43081‐5681                                                                             First Class Mail
Chartered Organization         Worthington Presbyterian Church                            Simon Kenton Council 441                773 High St                                               Worthington, OH 43085‐4140                                                                             First Class Mail
Voting Party                   Worthington United Methodist Church                        Attn: Diane Meadows                     600 High St                                               Worthington, OH 43085‐4116                                           diane@worthingtonumc.com          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Wossman High School                                        Louisiana Purchase Council 213          1600 Arizona Ave                                          Monroe, LA 71202‐3602                                                                                  First Class Mail
Chartered Organization         Wp Faist Volunteer Ambulance                               Hudson Valley Council 374               3 Red Schoolhouse Rd                                      Chestnut Ridge, NY 10977‐6738                                                                          First Class Mail
Chartered Organization         Wpms Highlands School Pta                                  Westchester Putnam 388                  128 Grandview Ave                                         White Plains, NY 10605‐3225                                                                            First Class Mail
Chartered Organization         Wren Hollow Elementary School Pto                          Greater St Louis Area Council 312       655 Wren Ave                                              Manchester, MO 63021‐6663                                                                              First Class Mail
Chartered Organization         Wren Hollow Pto                                            Greater St Louis Area Council 312       655 Wren Ave                                              Manchester, MO 63021‐6663                                                                              First Class Mail
Firm                           Wright & Schulte, LLC                                      Richard W. Schulte                      865 S. Dixie Dr                                           Vandalia, OH 45377                                                   rschulte@yourlegalhelp.com        Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Wright County Sheriffs Office                              Northern Star Council 250               3800 Braddock Ave Ne                                      Buffalo, MN 55313‐3662                                                                                 First Class Mail
Chartered Organization         Wrights Corners Fire Co                                    Iroquois Trail Council 376              4043 Lake Ave                                             Lockport, NY 14094‐1115                                                                                First Class Mail
Chartered Organization         Wrightsboro Baptist Church                                 Cape Fear Council 425                   2736 Castle Hayne Rd                                      Wilmington, NC 28401‐2683                                                                              First Class Mail
Voting Party                   Wrightsboro United Methodist Church, Inc                   Attn: Pastor, Wrightsboro Umc           3300 N Kerr Ave                                           Wilmington, NC 28405                                                 dhollowell@nccumc.org             Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Wrightsville Hope Umc                                      New Birth of Freedom 544                404 Hellam St                                             Wrightsville, PA 17368‐1138                                                                            First Class Mail
Voting Party                   Wrightsville Hope Umc (178962)                             c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200      Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Wrightsville Housing Authority                             Central Georgia Council 096             100 Fulghum Dr                                            Wrightsville, GA 31096‐1425                                                                            First Class Mail
Voting Party                   Wrightsville United Methodist Church, Inc                  Attn: Carla Whitlow                     4 Live Oak Dr                                             P.O. Box 748                    Wrightsville Beach, NC 28480         carla@wrightsvilleumc.org         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Wrightwood United Methodist Church/Camp                    California Inland Empire Council 045    P.O. Box 62                                               Wrightwood, CA 92397‐0062                                                                              First Class Mail
Firm                           Wrobel Markham, LLP                                        Michael J. Levin, Esq.                  360 Lexington Ave, Suite 1502                             New York City, NY 10017                                              mlevin@wmlawny.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Wsfa Television                                            Tukabatchee Area Council 005            12 E Delano Ave                                           Montgomery, AL 36105‐2214                                                                              First Class Mail
Chartered Organization         Wside Elem Roanoke City Public Schs Pta                    Blue Ridge Mtns Council 599             40 Douglas Ave Nw                                         Roanoke, VA 24012‐4611                                                                                 First Class Mail
Chartered Organization         Wsp                                                        Mecklenburg County Council 415          1001 Morehead Square Dr                                   Charlotte, NC 28203‐4253                                                                               First Class Mail
Chartered Organization         Wsp/ Parsons Brinckerhoff                                  Greater New York Councils, Bsa 640      1 Penn Plaza 2Fl                                          Ny, NY 10119                                                                                           First Class Mail
Chartered Organization         Wswhe Boces Teaching & Learning Ctr (Jr                    Middle School)                          10 Sanford St                                             Glens Falls, NY 12801‐2931                                                                             First Class Mail
Chartered Organization         Wt Shooting Sports Club                                    Golden Spread Council 562               2620 Russell Long Blvd                                    Canyon, TX 79016‐0001                                                                                  First Class Mail
Voting Party                   Wvu Institute Of Technology                                1 Waterfront Pl                         Morgantown, WV 26501‐5978                                                                                                                                        First Class Mail
Chartered Organization         Wwwbagsforgiftscom                                         Las Vegas Area Council 328              7234 Bird Cherry St                                       Las Vegas, NV 89148‐2880                                                                               First Class Mail
Chartered Organization         Wxew Radio Victoria, Inc                                   Puerto Rico Council 661                 P.O. Box 8536                                             Humacao, PR 00792‐8536                                                                                 First Class Mail
Chartered Organization         Wyandanch Wheatley Heights                                 Ambulance Corp                          P.O. Box 527                                              Wyandanch, NY 11798‐0527                                                                               First Class Mail
Chartered Organization         Wyandot Elem School Pto                                    Simon Kenton Council 441                5620 Dublinshire Dr                                       Dublin, OH 43017‐2420                                                                                  First Class Mail
Chartered Organization         Wyandotte Kiwanis 1000                                     Great Lakes Fsc 272                     P.O. Box 343                                              Wyandotte, MI 48192‐0343                                                                               First Class Mail
Chartered Organization         Wyandotte Nation                                           Cherokee Area Council 469 469           64700 E Hwy 60                                            Wyandotte, OK 74370‐2098                                                                               First Class Mail
Chartered Organization         Wyandotte United Methodist Church                          Heart of America Council 307            7901 Oakland Ave                                          Kansas City, KS 66112‐2146                                                                             First Class Mail
Voting Party                   Wyandotte United Methodist Church                          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200        Tampa, FL 33602                      erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Wyandotte United Methodist Church                          7901 Oakland Ave                        Kansas City, KS 66112                                                                                                                                            First Class Mail
Voting Party                   Wyanet United Methodist Church                             Attn: Curtis L Thompson                 112 W Main St                                             Wyanet, IL 61379                                                     curt6156@gmail.com                Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Wyatt Park Christian Church                                Pony Express Council 311                2623 Mitchell Ave                                         St Joseph, MO 64507‐1639                                                                               First Class Mail
Voting Party                   Wyatt W Sheffield                                          Address Redacted                                                                                                                                                                                         First Class Mail
Chartered Organization         Wyckoff Midland Park Rotary Club                           Northern New Jersey Council, Bsa 333    P.O. Box 111                                              Wyckoff, NJ 07481‐0111                                                                                 First Class Mail
Voting Party                   Wycliffe Presbyterian Church                               Attn: William R Wahab                   3132 Lynnhaven Dr                                         Virginia Beach, VA 23451                                             wrwahab@cox.net                   Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Wycliffe Presbyterian Church                               1445 N Great Neck Rd                    Virginia Beach, VA 23454‐1316                                                                                                  office@wycliffepresbyterian.org   Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Wycliffe Presbyterian Church (Tin 6010)                    Attn: William Wahab                     3132 Lynnhaven Dr                                         Virginia Beach, VA 23451                                             wrwahab@cox.net                   Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Wycliffe Presbyterian Church (Tin 6010)                    1445 N Great Neck Rd                    Virginia Beach, VA 23454                                                                                                       office@wycliffepresbyterian.org   Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Wydown School Pto                                          Greater St Louis Area Council 312       6500 Wydown Blvd                                          St Louis, MO 63105‐2216                                                                                First Class Mail
Chartered Organization         Wyland School Pto                                          Greater St Louis Area Council 312       2200 Brown Rd                                             St Louis, MO 63114‐5512                                                                                First Class Mail
Chartered Organization         Wylie Baptist Church                                       Texas Trails Council 561                6097 Buffalo Gap Rd                                       Abilene, TX 79606‐4905                                                                                 First Class Mail
Chartered Organization         Wylie Fire Rescue                                          Circle Ten Council 571                  1401 S Ballard Ave                                        Wylie, TX 75098‐4889                                                                                   First Class Mail
Chartered Organization         Wylie Lions Evening Club                                   Circle Ten Council 571                  2804 Deerborn St                                          Wylie, TX 75098‐5913                                                                                   First Class Mail
Voting Party                   Wylie United Methodist Church                              Attn: Victoria M Jones                  1401 Country Club Rd                                      Wylie, TX 75098                                                      vickie.jones@wylieumc.org         Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Wylie Utd Methodist Church                                 Circle Ten Council 571                  1401 Fm 1378                                              Wylie, TX 75098‐7704                                                                                   First Class Mail
Chartered Organization         Wyndcroft Pto                                              Cradle of Liberty Council 525           1395 Wilson St                                            Pottstown, PA 19464‐4455                                                                               First Class Mail
Chartered Organization         Wynhoven Benevolent Assoc                                  Southeast Louisiana Council 214         465 Ave B                                                 Westwego, LA 70094‐3606                                                                                First Class Mail
Chartered Organization         Wynne Kiwanis Club                                         Quapaw Area Council 018                 916 Bridges Ave E                                         Wynne, AR 72396‐2308                                                                                   First Class Mail
Chartered Organization         Wyoming Area Kiwanis                                       Northeastern Pennsylvania Council 501   1030 Exeter Ave                                           Exeter, PA 18643‐1302                                                                                  First Class Mail
Chartered Organization         Wyoming Moose Lodge 763                                    President Gerald R Ford 781             2630 Burlingame Ave Sw                                    Wyoming, MI 49509‐2332                                                                                 First Class Mail
Voting Party                   Wyoming Park United Methodist Church                       Attn: Joe Kohley                        2244 Porter St Sw                                         Wyoming, MI 49519                                                    wyomingparkumc@gmail.com          Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Wyoming Umc (80581)                                        c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200      Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Wyoming Utd Methodist Church                               Del Mar Va 081                          216 Wyoming Mill Rd                                       Dover, DE 19904‐5774                                                                                   First Class Mail
Chartered Organization         Wytheville Presbyterian Church                             Blue Ridge Mtns Council 599             285 Church St                                             Wytheville, VA 24382‐2619                                                                              First Class Mail
Firm                           X1LAW, PA                                                  Patrick J. Tighe, Esquire               721 US Highway One, Ste 101                               North Palm Beach, FL 33408                                           Pat@x1law.com                     Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Xerox Corporation                                          Attn: V O Adams                         P.O. Box 660506                                           Dallas, TX 75266                                                     vanessa.adams@xerox.com           Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Xerox Corporation                                          P O Box 802555                          Chicago, IL 60680‐2555                                                                                                                                           First Class Mail
Chartered Organization         Xplore! Risd ‐ Mark Twain                                  Circle Ten Council 571                  701 W Belt Line Rd                                        Richardson, TX 75080‐6015                                                                              First Class Mail
Chartered Organization         Xplore! Risd Carolyn Bukhair                               Circle Ten Council 571                  701 W Belt Line Rd                                        Richardson, TX 75080‐6015                                                                              First Class Mail
Chartered Organization         Y After School At Ps 19‐Ymca                               Greater New York Councils, Bsa 640      780 Post Ave                                              Staten Island, NY 10310‐1927                                                                           First Class Mail
Chartered Organization         Yadkin Bank Of Monroe                                      Central N Carolina Council 416          2593 W Roosevelt Blvd                                     Monroe, NC 28110‐0418                                                                                  First Class Mail
Chartered Organization         Yadkin Baptist Church                                      Piedmont Council 420                    P.O. Box 37                                               Patterson, NC 28661‐0037                                                                               First Class Mail
Voting Party                   Yadkinville Umc                                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                        100 N Tampa St, Ste 2200        Tampa, FL 33602                      erice@bradley.com                 Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Yadkinville United Methodist Church                        Old Hickory Council 427                 P.O. Box 25                                               Yadkinville, NC 27055‐0025                                                                             First Class Mail
Chartered Organization         Yakima West Valley Lions Club                              Grand Columbia Council 614              P.O. Box 8058                                             Yakima, WA 98908‐0058                                                                                  First Class Mail
Voting Party                   Yale Carolinas, Inc Dba Wheeler Material Handling          Attn: Stacey Woodfin                    9839 S Tryon St                                           Charlotte, NC 28273‐6505                                             swoodfin@wheelermh.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Voting Party                   Yalesville United Methodist Church                         Attn: Michele Bloom                     8 New Place St                                            Yalesville, CT 06492                                                 secretaryyumc@snet.net            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Yankee Road First Church Of God                            Dan Beard Council, Bsa 438              3029 Yankee Rd                                            Middletown, OH 45044‐7767                                                                              First Class Mail
Chartered Organization         Yaphank Fire Dept                                          Suffolk County Council Inc 404          31 Main St                                                Yaphank, NY 11980‐1501                                                                                 First Class Mail
Chartered Organization         Yaphank Fire Dept                                          Suffolk County Council Inc 404          31 Main St                                                Yaphank, NY 11980‐1501                                                                                 First Class Mail
Chartered Organization         Yarmouth Fire Rescue                                       Pine Tree Council 218                   178 North Rd                                              Yarmouth, ME 04096‐7125                                                                                First Class Mail
Chartered Organization         Yarmouth Police                                            Cape Cod and Islands Cncl 224           1 Brad Erickson Way                                       West Yarmouth, MA 02673                                                                                First Class Mail
Voting Party                   Yarnell United Methodist Church (183970)                   c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200      Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Yazoo City High School                                     Andrew Jackson Council 303              1825 Martin Luther King Dr                                Yazoo City, MS 39194‐2690                                                                              First Class Mail
Chartered Organization         Ybc 129                                                    Greater St Louis Area Council 312       2988 Jesse Ln                                             Fenton, MO 63026‐5113                                                                                  First Class Mail
Chartered Organization         Ycare‐Ramirez                                              South Plains Council 694                3101 35th St                                              Lubbock, TX 79413‐2312                                                                                 First Class Mail
Chartered Organization         Ycare‐Roberts                                              South Plains Council 694                3101 35th St                                              Lubbock, TX 79413‐2312                                                                                 First Class Mail
Chartered Organization         Ycare‐Waters                                               South Plains Council 694                3101 35th St                                              Lubbock, TX 79413‐2312                                                                                 First Class Mail
Chartered Organization         Ye Ole Bbq                                                 Northern Star Council 250               5415 132nd Ln                                             Savage, MN 55378‐2406                                                                                  First Class Mail
Chartered Organization         Yeadon Presbyterian Church                                 Cradle of Liberty Council 525           541 Holly Rd                                              Yeadon, PA 19050‐3216                                                                                  First Class Mail
Chartered Organization         Yeager Methodist Protestant Church                         Louisiana Purchase Council 213          3271 Arkansas Rd                                          West Monroe, LA 71291‐8629                                                                             First Class Mail
Voting Party                   Yeagertown Umc (32106712)                                  c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                    680 Washington Rd, Ste 200      Pittsburgh, PA 15228                 lspagnolo@bentzlaw.com            Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Yeamans Park Presbyterian Church‐Hanahan                   Coastal Carolina Council 550            5931 Murray Dr                                            Hanahan, SC 29410‐2228                                                                                 First Class Mail
Chartered Organization         Yell County Record                                         Westark Area Council 016                P.O. Box 189                                              Danville, AR 72833‐0189                                                                                First Class Mail
Chartered Organization         Yell County Wildlife Federation                            Westark Area Council 016                10035 Wildlife Ln                                         Dardanelle, AR 72834‐8403                                                                              First Class Mail
Chartered Organization         Yellowstone Academy                                        Sam Houston Area Council 576            3727 Jardin St                                            Houston, TX 77005‐3648                                                                                 First Class Mail
Chartered Organization         Yellowstone County Ducks Unlimited                         Montana Council 315                     4975 Chief Brave Wolf Trl                                 Laurel, MT 59044‐9471                                                                                  First Class Mail
Chartered Organization         Yelm Lions Club International                              Pacific Harbors Council, Bsa 612        P.O. Box 1199                                             Yelm, WA 98597‐1199                                                                                    First Class Mail
Voting Party                   Yergey Daylor Allebach Scheffey Picardi                    Attn: Gregory W Philips                 1129 E High St                                            P.O. Box 776                    Pottstown, PA 19464‐0776             gwphilips@ydasp.com               Email
                                                                                                                                                                                                                                                                                                   First Class Mail
Chartered Organization         Yeshiva Day School Of Las Vegas                            Las Vegas Area Council 328              55 N Valle Verde Dr                                       Henderson, NV 89074‐1700                                                                               First Class Mail
Chartered Organization         Yfd Explorer Club                                          Grand Canyon Council 010                P.O. Box 581                                              Yarnell, AZ 85362‐0581                                                                                 First Class Mail
Chartered Organization         Y‐Kiki Divers                                              Greater St Louis Area Council 312       13477 Olive Blvd                                          Chesterfield, MO 63017‐3166                                                                            First Class Mail
Chartered Organization         Yldp Lawson State Commty                                   College Bessemer Campus                 3060 Wilson Rd Sw                                         Birmingham, AL 35221‐1717                                                                              First Class Mail
Chartered Organization         Yldp Lawson State Commty                                   College Pell City Campus                3060 Wilson Rd Sw                                         Birmingham, AL 35221‐1717                                                                              First Class Mail
Chartered Organization         Yldp Wallace State Community College                       Greater Alabama Council 001             801 Main St Nw                                            Hanceville, AL 35077‐5462                                                                              First Class Mail
Chartered Organization         Ymca                                                       Anthony Wayne Area 157                  1117 S Clinton St                                         Fort Wayne, IN 46802‐3129                                                                              First Class Mail
Chartered Organization         Ymca                                                       Pine Burr Area Council 304              3719 Veterans Memorial Dr                                 Hattiesburg, MS 39401‐8882                                                                             First Class Mail
Chartered Organization         Ymca ‐ Dover                                               Buckeye Council 436                     600 Monroe St                                             Dover, OH 44622‐2047                                                                                   First Class Mail
Chartered Organization         Ymca At Croft Middle School                                Middle Tennessee Council 560            713 Ramsey St                                             Nashville, TN 37206‐4015                                                                               First Class Mail
Chartered Organization         Ymca At East Literature Magnet Middle                      Middle Tennessee Council 560            2000 Greenwood Ave                                        Nashville, TN 37206‐1725                                                                               First Class Mail
Chartered Organization         Ymca At School 33                                          Seneca Waterways 397                    500 Webster Ave                                           Rochester, NY 14609‐4732                                                                               First Class Mail
Chartered Organization         Ymca At The Carlson Metro Ctr                              Seneca Waterways 397                    444 E Main St                                             Rochester, NY 14604‐2508                                                                               First Class Mail
Chartered Organization         Ymca Butler                                                Moraine Trails Council 500              339 N Washington St                                       Butler, PA 16001‐5261                                                                                  First Class Mail
Chartered Organization         Ymca Caldwell                                              Buffalo Trace 156                       1925 S Garvin St                                          Evansville, IN 47713‐2035                                                                              First Class Mail
Chartered Organization         Ymca Ctr Twp                                               Moraine Trails Council 500              950 Mercer Rd                                             Butler, PA 16001‐1139                                                                                  First Class Mail
Chartered Organization         Ymca Early Salc                                            Northern Lights Council 429             1132 28th Ave S                                           Moorhead, MN 56560‐4420                                                                                First Class Mail
Chartered Organization         Ymca Elroy Elementary                                      Laurel Highlands Council 527            195 Montour Run Rd                                        Coraopolis, PA 15108‐9408                                                                              First Class Mail
Chartered Organization         Ymca Greater Cincinnati Midway                             Dan Beard Council, Bsa 438              3156 Glenmore Ave                                         Cincinnati, OH 45211‐6449                                                                              First Class Mail
Chartered Organization         Ymca Greater Louisville: Oldham Cnty Br                    Lincoln Heritage Council 205            20 Quality Pl                                             Buckner, KY 40010‐9501                                                                                 First Class Mail
Chartered Organization         Ymca Greater Pgh ‐ Greenfield Elm                          Laurel Highlands Council 527            1 Alger St                                                Pittsburgh, PA 15207‐3100                                                                              First Class Mail
Chartered Organization         Ymca Head Magnet Middle                                    Middle Tennessee Council 560            1830 Jo Johnston Ave                                      Nashville, TN 37203‐2856                                                                               First Class Mail
Chartered Organization         Ymca Huntington                                            Suffolk County Council Inc 404          60 Main St                                                Huntington, NY 11743‐8003                                                                              First Class Mail
Chartered Organization         Ymca Mcquistion                                            Moraine Trails Council 500              210 Mechling Dr                                           Butler, PA 16001‐3436                                                                                  First Class Mail
Chartered Organization         Ymca New Castle                                            Crossroads of America 160               300 Wittenbraker Ave                                      New Castle, IN 47362‐5034                                                                              First Class Mail
Chartered Organization         Ymca Of Calhoun County                                     Greater Alabama Council 001             29 W 14th St                                              Anniston, AL 36201‐4558                                                                                First Class Mail
Chartered Organization         Ymca Of Georgias Piedmont                                  Northeast Georgia Council 101           50 Brad Akins Dr                                          Winder, GA 30680‐8347                                                                                  First Class Mail
Chartered Organization         Ymca Of Greater Cincinnati                                 Dan Beard Council, Bsa 438              1105 Elm St                                               Cincinnati, OH 45202‐7513                                                                              First Class Mail
Chartered Organization         Ymca Of Greater Cincinnati Parker Woods                    Dan Beard Council, Bsa 438              4370 Beech Hill Ave                                       Cincinnati, OH 45223‐1806                                                                              First Class Mail
Chartered Organization         Ymca Of Greater Providence A Carnevale                     Narragansett 546                        640 Broad St                                              Providence, RI 02907‐1463                                                                              First Class Mail
Chartered Organization         Ymca Of Greater Providence Fortes                          21 Peace St, Apt 6                      Providence, RI 02907‐1510                                                                                                                                        First Class Mail
Chartered Organization         Ymca Of Greater Providence Meeting St                      Narragansett 546                        21 Peace St Fl 6Tgh                                       Providence, RI 02907‐1510                                                                              First Class Mail
Chartered Organization         Ymca Of Greater Providence R Bailey                        Narragansett 546                        65 Gordon Ave                                             Providence, RI 02905‐1913                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                         Page 439 of 442
                                                                                 Case 20-10343-LSS                                   Doc 8171                                       Filed 01/06/22                                                  Page 455 of 457
                                                                                                                                                                       Exhibit B
                                                                                                                                                                        Service List
                                                                                                                                                                 Served as set forth below

        Description                                                       Name                                                                                       Address                                                                                                          Email              Method of Service
Chartered Organization         Ymca Of Greater Rochester At School 43                   Seneca Waterways 397                    1305 Lyell Ave                                             Rochester, NY 14606‐2119                                                                           First Class Mail
Chartered Organization         Ymca Of Greater Rochester At School 8                    Seneca Waterways 397                    444 E Main St                                              Rochester, NY 14604‐2508                                                                           First Class Mail
Chartered Organization         Ymca Of Greater Rochester At School 8                    Seneca Waterways 397                    444 E Main St                                              Rochester, NY 14604‐2508                                                                           First Class Mail
Chartered Organization         Ymca Of Greater San Antonio‐Graebner                     Alamo Area Council 583                  835 W Southcross Blvd                                      San Antonio, TX 78211‐2744                                                                         First Class Mail
Chartered Organization         Ymca Of Greater San Antonio‐Sarah King                   Alamo Area Council 583                  231 E Rhapsody Dr                                          San Antonio, TX 78216‐3115                                                                         First Class Mail
Chartered Organization         Ymca Of Greater Seattle                                  Chief Seattle Council 609               909 4th Ave                                                Seattle, WA 98104‐1108                                                                             First Class Mail
Chartered Organization         Ymca Of Greater Toledo Glenwood                          Erie Shores Council 460                 1500 N Superior St                                         Toledo, OH 43604‐2157                                                                              First Class Mail
Chartered Organization         Ymca Of Greenwich                                        Greenwich 067                           50 E Putnam Ave                                            Greenwich, CT 06830‐5601                                                                           First Class Mail
Chartered Organization         Ymca Of Metropolitan Atlanta                             Atlanta Area Council 092                3655 Preston Ridge Rd                                      Alpharetta, GA 30005‐3824                                                                          First Class Mail
Chartered Organization         Ymca Of Reading And Berks County                         Hawk Mountain Council 528               631 Washington St                                          Reading, PA 19601‐3521                                                                             First Class Mail
Chartered Organization         Ymca Of Salina                                           Coronado Area Council 192               570 Ymca Dr                                                Salina, KS 67401‐7433                                                                              First Class Mail
Chartered Organization         Ymca Of So Alabama                                       Mobile Area Council‐Bsa 004             8051 Whispering Pines Rd                                   Daphne, AL 36526‐6175                                                                              First Class Mail
Chartered Organization         Ymca Of Trenton                                          Washington Crossing Council 777         431 Pennington Ave                                         Trenton, NJ 08618‐3104                                                                             First Class Mail
Chartered Organization         Ymca Of Wabash Valley                                    Crossroads of America 160               951 Dresser Dr                                             Terre Haute, IN 47807‐4652                                                                         First Class Mail
Chartered Organization         Ymca Of Wells County                                     Anthony Wayne Area 157                  1935 Indiana 1                                             Bluffton, IN 46714                                                                                 First Class Mail
Chartered Organization         Ymca Sb                                                  Moraine Trails Council 500              339 N Washington St                                        Butler, PA 16001‐5261                                                                              First Class Mail
Chartered Organization         Ymca Twin Rivers                                         East Carolina Council 426               100 Ymca Ln                                                New Bern, NC 28560‐5400                                                                            First Class Mail
Chartered Organization         Ymca‐Crockett                                            Alamo Area Council 583                  5538 Walzem Rd                                             Windcrest, TX 78218‐2216                                                                           First Class Mail
Chartered Organization         Yoakum American Legion Post 395                          Capitol Area Council 564                P.O. Box 135                                               Yoakum, TX 77995‐0135                                                                              First Class Mail
Voting Party                   Yocia Area Council 748                                   Attn: Owen Mcculloch                    505 Air Park Rd                                            Tupelo, MS 38801                                                   owen.mcculloch@scouting.org     Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Yokohama Tire                                            Las Vegas Area Council 328              18 Sunmist Dr                                              Henderson, NV 89074‐3331                                                                           First Class Mail
Chartered Organization         Yokota Top Three                                         Far E Council 803                       Yokota Air Base Japan                                      Apo, AP 96326                                                                                      First Class Mail
Chartered Organization         Yoldel                                                   Inland Nwest Council 611                P.O. Box 48703                                             Spokane, WA 99228‐1703                                                                             First Class Mail
Chartered Organization         Yoncalla Elementary School                               Oregon Trail Council 697                401 1st St                                                 Yoncalla, OR 97499‐7539                                                                            First Class Mail
Chartered Organization         Yorba Linda Sunrise Rotary                               Orange County Council 039               P.O. Box 924                                               Yorba Linda, CA 92885‐0924                                                                         First Class Mail
Voting Party                   Yorba Linda United Methodist Church                      Attn: Rev Brian Long                    19002 Yorba Linda Blvd                                     Yorba Linda, CA 92886                                              pastorbrian@yorbalindaumc.org   Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         York ‐ Poquoson Sheriffs Office                          Colonial Virginia Council 595           301 Goodwin Neck Rd                                        Yorktown, VA 23692‐2112                                                                            First Class Mail
Chartered Organization         York County Fish And Game                                Pine Tree Council 218                   600 Goodwins Mills Rd                                      Lyman, ME 04002‐7166                                                                               First Class Mail
Chartered Organization         York Fire Dept, Inc                                      Iroquois Trail Council 376              P.O. Box 92                                                Retsof, NY 14539‐0092                                                                              First Class Mail
Voting Party                   York First United Methodist Church                       c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com               Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   York First United Methodist Church                       309 E 7th St                            York, NE 68467                                                                                                                                                First Class Mail
Voting Party                   York Grace (09620)                                       c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         York Grace Evangelical Lutheran Church                   New Birth of Freedom 544                498 Church Rd                                              York, PA 17406‐9735                                                                                First Class Mail
Chartered Organization         York Leicester Kiwanis                                   c/o Dale Worden Secretary               P.O. Box 54                                                Leicester, NY 14481‐0054                                                                           First Class Mail
Chartered Organization         York Lodge No 22 Af And Am                               Pine Tree Council 218                   P.O. Box 55                                                West Kennebunk, ME 04094‐0055                                                                      First Class Mail
Voting Party                   York Springs United Methodist Church (5682)              c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   York United Methodist Church                             Attn: Treasurer                         6566 Norwalk Rd                                            Medina, OH 44256                                                   office@yorkumc.org              Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Yorkminster Presbyterian Church                          Colonial Virginia Council 595           6218 George Washington Mem Hwy                             Yorktown, VA 23692‐2162                                                                            First Class Mail
Voting Party                   York‐Ogunquit United Methodist Church                    Attn: Melissa Schott                    P.O. Box 521                                               York, ME 03909                                                                                     First Class Mail
Voting Party                   Yorkshire United Methodist Church (9720)                 c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                     680 Washington Rd, Ste 200        Pittsburgh, PA 15228             lspagnolo@bentzlaw.com          Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Yorkshire Utd Methodist Church                           New Birth of Freedom 544                125 Edgewood Rd                                            York, PA 17402‐3007                                                                                First Class Mail
Chartered Organization         Yorktown Christian Academy                               South Texas Council 577                 5025A Yorktown Blvd                                        Corpus Christi, TX 78413                                                                           First Class Mail
Chartered Organization         Yorktown Grange 862                                      Westchester Putnam 388                  99 Moseman Rd                                              Yorktown Heights, NY 10598                                                                         First Class Mail
Voting Party                   Yorktown United Methodist Church                         Attn: Marie Regan‐ Treasurer            2300 Crompond Rd                                           Yorktown Heights, NY 10598                                         yorktownumc@gmail.com           Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Yorktown United Methodist Church                         Attn: Matthew Querns                    2992 Manor St                                              Yorktown Heights, NY 10598                                         matthew.querns@nyac‐umc.com     Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Yorktown United Methodist Church                         Attn: Kathryn Ann Eames Muhlbaier       604 Wintergreen Dr                                         Yorktown, IN 47396                                                 kate.muhlbaier@inumc.org        Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Yorktown United Methodist Church                         2301 S Broadway St                      Yorktown, IN 47396                                                                                                            kate.muhlbaier@inumc.org        Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Yorktown Utd Methodist Church                            Crossroads of America 160               2301 S Broadway St                                         Yorktown, IN 47396‐1200                                                                            First Class Mail
Chartered Organization         Yorktown Ward‐Nn Stake‐Lds                               Colonial Virginia Council 595           902 Denbigh Blvd                                           Newport News, VA 23608‐4489                                                                        First Class Mail
Chartered Organization         Yorkville American Legion Post 489                       Three Fires Council 127                 9054 E Veterans Pkwy                                       Yorkville, IL 60560                                                                                First Class Mail
Chartered Organization         Yorkville Lions Club                                     Three Fires Council 127                 P.O. Box 48                                                Yorkville, IL 60560‐0048                                                                           First Class Mail
Voting Party                   Yorkville United Methodist Church                        Attn: Susan I Leih                      17645 Old Yorkville Rd                                     Union Grove, WI 53182‐9556                                         Pastor@yumc.org                 Email
                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Yospeh Rappaport Law LLC                                 Andrew Yuspeh                           5001 Mayfield Rd., Ste 210                                 Lyndhurst, OH 44124                                                jason@getyrlaw.com              Email
                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Yospeh Rappaport Law LLC                                 Andrew Yuspeh                           5001 Mayfield Rd., Ste 210                                 Cleveland, OH 44118                                                jason@getyrlaw.com              Email
                                                                                                                                                                                                                                                                                              First Class Mail
Firm                           Yospeh Rappaport Law LLC                                 Andrew Yuspeh                           5001 Mayfield Rd., Ste 210                                 Lyndhurst, OH 44118                                                jason@getyrlaw.com              Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Yost Financial LLC                                       Grand Teton Council 107                 581 E 1445 N                                               Shelley, ID 83274‐4707                                                                             First Class Mail
Chartered Organization         Young & Nichols                                          Southern Sierra Council 030             1901 Truxtun Ave                                           Bakersfield, CA 93301‐5010                                                                         First Class Mail
Chartered Organization         Young Achievers Christian Academy                        Last Frontier Council 480               1025 NE 15th St                                            Oklahoma City, OK 73117‐1007                                                                       First Class Mail
Chartered Organization         Young Americans Ctr For Financial Edu                    Denver Area Council 061                 3550 E 1st Ave                                             Denver, CO 80206‐5508                                                                              First Class Mail
Chartered Organization         Young Harris Memorial Utd Methodist                      Northeast Georgia Council 101           973 Prince Ave                                             Athens, GA 30606‐2725                                                                              First Class Mail
Chartered Organization         Young Israel Of Elkins Park                              Cradle of Liberty Council 525           7715 Montgomery Ave                                        Elkins Park, PA 19027‐2611                                                                         First Class Mail
Chartered Organization         Young Israel Of Hollywood‐Ft Lauderdale                  South Florida Council 084               3291 Stirling Rd                                           Fort Lauderdale, FL 33312‐6341                                                                     First Class Mail
Chartered Organization         Young Lifes Lake Champion                                Hudson Valley Council 374               247 Mohican Lake Rd                                        Glen Spey, NY 12737‐8202                                                                           First Class Mail
Voting Party                   Young Memorial Umc ‐ Thomson                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com               Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Young Men Leadership Academy                             Northern New Jersey Council, Bsa 333    13 Wagaraw Blvd                                            Prospect Park, NJ 07508‐1928                                                                       First Class Mail
Chartered Organization         Young Mens Christian Assoc                               Susquehanna Council 533                 826 Allegheny St                                           Jersey Shore, PA 17740‐1208                                                                        First Class Mail
Chartered Organization         Young Mens Christian Assoc Of Ashland                    Crater Lake Council 491                 540 Ymca Way                                               Ashland, OR 97520‐1491                                                                             First Class Mail
Chartered Organization         Young Mens College Prep At Eo Smith                      Sam Houston Area Council 576            1701 Bringhurst St                                         Houston, TX 77020‐8314                                                                             First Class Mail
Chartered Organization         Young Mens Leadership Academy                            At Eugene Butler Middle                 900 Acorn St                                               Jacksonville, FL 32209‐7106                                                                        First Class Mail
Chartered Organization         Young Mens Leadership Academy                            Alamo Area Council 583                  545 S Ww White Rd                                          San Antonio, TX 78220‐1738                                                                         First Class Mail
Chartered Organization         Young Womens Christian Assoc                             Montana Council 315                     220 2nd St N                                               Great Falls, MT 59401‐2402                                                                         First Class Mail
Chartered Organization         Young Womens Leadership Academy                          Alamo Area Council 583                  2123 W Huisache Ave                                        San Antonio, TX 78201‐4809                                                                         First Class Mail
Chartered Organization         Youngs Utd Methodist                                     New Birth of Freedom 544                101 Youngs Church Rd                                       Shermans Dale, PA 17090                                                                            First Class Mail
Chartered Organization         Youngstown Volunteer Fire Co, Inc                        Greater Niagara Frontier Council 380    625 3rd St 387                                             Youngstown, NY 14174‐1257                                                                          First Class Mail
Chartered Organization         Youngsville Free Methodist Church                        Chief Cornplanter Council, Bsa 538      179 Davis St                                               Youngsville, PA 16371‐1119                                                                         First Class Mail
Chartered Organization         Your Local News, Inc                                     Northeast Georgia Council 101           511 Mcdaniel St                                            Monroe, GA 30655‐2048                                                                              First Class Mail
Chartered Organization         Youth Advocacy Coalition                                 Ore‐Ida Council 106 ‐ Bsa 106           P.O. Box 1761                                              Mccall, ID 83638‐1761                                                                              First Class Mail
Chartered Organization         Youth And Shelter Services ‐ Story City                  Mid Iowa Council 177                    420 Kellogg Ave                                            Ames, IA 50010‐6226                                                                                First Class Mail
Chartered Organization         Youth And Shelter Services (Ballard)                     Mid Iowa Council 177                    420 Kellogg Ave                                            Ames, IA 50010‐6226                                                                                First Class Mail
Chartered Organization         Youth And Shelter Services, Inc                          Mid Iowa Council 177                    420 Kellogg Ave                                            Ames, IA 50010‐6226                                                                                First Class Mail
Chartered Organization         Youth Board St Matthew Lutheran Ch                       Prairielands 117                        2200 Philo Rd                                              Urbana, IL 61802‐8002                                                                              First Class Mail
Chartered Organization         Youth Commission Of Melrose Park                         Pathway To Adventure 456                1000 N 25th Ave                                            Melrose Park, IL 60160‐3006                                                                        First Class Mail
Chartered Organization         Youth Council Grace Lutheran Church                      Great Smoky Mountain Council 557        131 W Gettysburg Ave                                       Oak Ridge, TN 37830‐7046                                                                           First Class Mail
Chartered Organization         Youth Development                                        Utah National Parks 591                 940 S 940 W                                                Richfield, UT 84701‐3014                                                                           First Class Mail
Chartered Organization         Youth Development Through Scouting                       Orange County Council 039               P.O. Box 4554                                              Huntington Beach, CA 92605‐4554                                                                    First Class Mail
Chartered Organization         Youth Empowerment Strategies                             Northern New Jersey Council, Bsa 333    555 Mt Prospect Ave, Ste 95                                Newark, NJ 07104‐1545                                                                              First Class Mail
Chartered Organization         Youth Leadership Alliance                                Heart of America Council 307            10317 W 48th Ter                                           Shawnee, KS 66203‐1122                                                                             First Class Mail
Chartered Organization         Youth Leadership Surry                                   Old Hickory Council 427                 118 Hamby Rd 146                                           Dobson, NC 27017‐8471                                                                              First Class Mail
Chartered Organization         Youth Of Finch Elementary                                Atlanta Area Council 092                1114 Avon Ave Sw                                           Atlanta, GA 30310‐3904                                                                             First Class Mail
Chartered Organization         Youth Of Nickerson Gardens                               Greater Los Angeles Area 033            11251 Compton Ave                                          Los Angeles, CA 90059‐1807                                                                         First Class Mail
Chartered Organization         Youth Services Assoc                                     Orange County Council 039               469 E 18th St                                              Costa Mesa, CA 92627‐3161                                                                          First Class Mail
Chartered Organization         Youth Services System Helinski Shelter                   Ohio River Valley Council 619           110 N York St                                              Wheeling, WV 26003‐2234                                                                            First Class Mail
Chartered Organization         Youth Services System Samaritan House                    Ohio River Valley Council 619           1050 Eoff St                                               Wheeling, WV 26003‐2923                                                                            First Class Mail
Voting Party                   Yrc                                                      P O Box 730375                          Dallas, TX 75373‐0375                                                                                                                                         First Class Mail
Chartered Organization         Yss Kids Club                                            Mid Iowa Council 177                    420 Kellogg Ave                                            Ames, IA 50010‐6226                                                                                First Class Mail
Chartered Organization         Yss Kids Club ‐ Gilbert                                  Mid Iowa Council 177                    420 Kellogg Ave                                            Ames, IA 50010‐6226                                                                                First Class Mail
Chartered Organization         Yuba Sutter CA Highway Patrol                            Golden Empire Council 047               1619 Poole Blvd                                            Yuba City, CA 95993‐2608                                                                           First Class Mail
Voting Party                   Yucca Valley United Methodist Church                     Attn: Pastor Akanesi Tupou              57273 Omaga Tr                                             Yuca Valley, CA 92284                                              mrsren3@gmail.com               Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Yukon Fraternal Order Of Police                          Last Frontier Council 480               P.O. Box 850806                                            Yukon, OK 73085‐0806                                                                               First Class Mail
Chartered Organization         Yukon Utd Methodist Church                               Last Frontier Council 480               400 Elm Ave                                                Yukon, OK 73099‐2628                                                                               First Class Mail
Chartered Organization         Yukon Volunteer Fire Co                                  Westmoreland Fayette 512                P.O. Box 457                                               Yukon, PA 15698‐0457                                                                               First Class Mail
Chartered Organization         Yulee Lions Club                                         North Florida Council 087               851023 US Hwy 17                                           Yulee, FL 32097‐2846                                                                               First Class Mail
Voting Party                   Yulee United Methodist Church                            c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com               Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Ywca                                                     Trapper Trails 589                      1035 Jackson St                                            Rock Springs, WY 82901‐4877                                                                        First Class Mail
Chartered Organization         Ywca Albemarle Road Rec Ctr                              Mecklenburg County Council 415          3420 Park Rd                                               Charlotte, NC 28209‐2008                                                                           First Class Mail
Chartered Organization         Ywca Central Carolinas                                   Central N Carolina Council 416          500 S Johnson St                                           Monroe, NC 28112‐5345                                                                              First Class Mail
Chartered Organization         Ywca Mclean County                                       W D Boyce 138                           1201 N Hershey Rd                                          Bloomington, IL 61704‐3619                                                                         First Class Mail
Chartered Organization         Ywca Of Jamestown                                        Allegheny Highlands Council 382         401 N Main St                                              Jamestown, NY 14701‐5007                                                                           First Class Mail
Chartered Organization         Ywca Tri‐County Area                                     Cradle of Liberty Council 525           315 King St                                                Pottstown, PA 19464‐5516                                                                           First Class Mail
Chartered Organization         Z Alexander Looby Ctr                                    Middle Tennessee Council 560            2301 Metrocenter Blvd                                      Nashville, TN 37228‐1205                                                                           First Class Mail
Chartered Organization         Zablocki Elementary School Clc                           Three Harbors Council 636               1016 W Oklahoma Ave                                        Milwaukee, WI 53215‐4746                                                                           First Class Mail
Voting Party                   Zachary United Methodist Church                          Attn: Secretary, Zachary Umc            4205 Church St                                             Zachary, LA 70791                                                  zumc1@eatel.net                 Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Zack Wheat American Legion Post 624                      Great Rivers Council 653                852 American Legion Dr                                     Sunrise Beach, MO 65079                                                                            First Class Mail
Chartered Organization         Zafa Shrine Temple 176                                   Occoneechee 421                         2312 S Alston Ave                                          Durham, NC 27707‐4939                                                                              First Class Mail
Chartered Organization         Zainab Ctr                                               Mt Baker Council, Bsa 606               5723 198th St Sw                                           Lynnwood, WA 98036‐6100                                                                            First Class Mail
Firm                           Zaman & Trippiedi                                        Michael Trippiedi, Esq                  6620 S. Tenaya Way, Ste. 100                               Las Vegas, NV 89113                                                mike@ztlawgroup.com             Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Zan Holmes Community Outreach Ministry                   Circle Ten Council 571                  4827 Hovenkamp Dr                                          Dallas, TX 75227‐2837                                                                              First Class Mail
Voting Party                   Zanesville United Methodist Church                       Attn: Bonnie Blaising                   11811 N Wayne St                                           Zanesville, IN 46799                                               zumtreasurer@yahoo.com          Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Zapata United Methodist Church                           Attn: Patricia Oetinger                 1509 2nd St                                                Zapata, TX 78076                                                   poety_52@yahoo.com              Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Zapata United Methodist Church                           Attn: Patricia Oetinger                 258 Boles Aero Dr                                          Zapata, TX 78076                                                   poety_52@yahoo.com              Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Zearing Christian Church                                 Attn: James Chance Sr                   68239 110th St                                             Zearing, IA 50278‐8513                                                                             First Class Mail
Chartered Organization         Zebra                                                    Suffolk County Council Inc 404          1 Motorola Plz                                             Holtsville, NY 11742‐1300                                                                          First Class Mail
Chartered Organization         Zebulon Baptist Church                                   Occoneechee 421                         400 N Arendell Ave                                         Zebulon, NC 27597‐2608                                                                             First Class Mail
Chartered Organization         Zebulon Fire Dept                                        Occoneechee 421                         113 E Vance St                                             Zebulon, NC 27597‐2837                                                                             First Class Mail
Voting Party                   Zebulon United Methodist Church                          Attn: J Michael Weeks                   P.O. Box 1097                                              Zebulon, NC 27597                                                  mweeks@jmweekslaw.com           Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Zebulon United Methodist Church                          121 W Gannon Ave                        Zebulon, NC 27597                                                                                                                                             First Class Mail
Firm                           Zeff Law Firm, LLC                                       Eva C. Zelson, Esq.                     100 Century Parkway, Ste 160                               Mt. Laurel, NJ 08054                                               ezelson@glzefflaw.com           Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Zelienople Church Of The Nazarene                        Laurel Highlands Council 527            115 Nazarene Ct                                            Fombell, PA 16123‐2419                                                                             First Class Mail
Chartered Organization         Zellwood Community Ctr                                   Central Florida Council 083             P.O. Box 832                                               Zellwood, FL 32798‐0832                                                                            First Class Mail
Voting Party                   Zellwood United Methodist                                c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com               Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Zellwood Utd Methodist Church                            Central Florida Council 083             5538 Jones Ave                                             Zellwood, FL 32798                                                                                 First Class Mail
Chartered Organization         Zeman Pta                                                Cornhusker Council 324                  4900 S 52nd St                                             Lincoln, NE 68516‐1816                                                                             First Class Mail
Voting Party                   Zephyr United Methodist ‐ Zephyr                         c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com               Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Zephyrhills Rotary Club                                  Greater Tampa Bay Area 089              38938 5th Ave                                              Zephyrhills, FL 33542‐4610                                                                         First Class Mail
Voting Party                   Zia Natural Gas Company                                  Attn: Marit Coburn                      P.O. Box 888                                               Ruidoso Downs, NM 88346                                            mcoburn@zngc.com                Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Zia Natural Gas Company                                  Attn: Marit Coburn                      P.O. Box 888                                               Ruidoso Sowns, NM 88346                                            mcoburn@zngc.com                Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Ziegels Union Church                                     Minsi Trails Council 502                9990 Ziegels Church Rd                                     Breinigsville, PA 18031‐2138                                                                       First Class Mail
Chartered Organization         Zilwaukee School Pto                                     Water and Woods Council 782             500 W Johnson St                                           Saginaw, MI 48604‐1347                                                                             First Class Mail
Chartered Organization         Zimmer Club Youth Conservation, Inc                      Greater New York Councils, Bsa 640      4411 Arthur Kill Rd                                        Staten Island, NY 10309‐1324                                                                       First Class Mail
Chartered Organization         Zinser Elementary Pto                                    President Gerald R Ford 781             3949 Leonard St Nw                                         Grand Rapids, MI 49534‐3627                                                                        First Class Mail
Voting Party                   Zion ‐ Ocala                                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                         100 N Tampa St, Ste 2200          Tampa, FL 33602                  erice@bradley.com               Email
                                                                                                                                                                                                                                                                                              First Class Mail
Chartered Organization         Zion Baptist Church                                      Cradle of Liberty Council 525           221 W Spring Ave                                           Ardmore, PA 19003‐1223                                                                             First Class Mail
Chartered Organization         Zion Baptist Church                                      Cherokee Area Council 556               953 Parksville Rd                                          Benton, TN 37307‐5848                                                                              First Class Mail
Chartered Organization         Zion Baptist Church                                      Greater New York Councils, Bsa 640      523 Washington Ave                                         Brooklyn, NY 11238‐2724                                                                            First Class Mail
Chartered Organization         Zion Baptist Church                                      Cradle of Liberty Council 525           3600 N Broad St                                            Philadelphia, PA 19140‐4108                                                                        First Class Mail
Chartered Organization         Zion Baptist Church                                      Piedmont Council 420                    525 W Zion Church Rd                                       Shelby, NC 28150‐8623                                                                              First Class Mail
Chartered Organization         Zion Covenant Church                                     Northern Star Council 250               210 N Beulah St                                            Ellsworth, WI 54011‐9057                                                                           First Class Mail
Voting Party                   Zion Episcopal Church                                    120 E Main St                           Palmyra, NY 14522                                                                                                             zionpalmyraoffice@gmail.com     Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Zion Episcopal Church                                    10 Park Pl                              Avon, NY 14414                                                                                                                zionchurchavon@aol.com          Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Zion Episcopal Church                                    326 Notch Hill Rd                       North Branford, CT 06471                                                                                                      zion_office@att.net             Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Zion Episcopal Church                                    243‐01 Northern Blvd                    Douglaston, NY 11363                                                                                                          rev.lindsay.lunnum@gmail.com    Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Zion Episcopal Church (Manchester)                       c/o The Tamposi Law Group, PC           Attn: Peter N Tamposi                                      159 Main St                       Nashua, NH 03060                 peter@thetamposilawgroup.com    Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Zion Episcopal Church Wappingers Falls                   12 Satterlee Pl                         Wappigners Falls, NY 12590                                                                                                    zionwfalls@gmail.com            Email
                                                                                                                                                                                                                                                                                              First Class Mail
Voting Party                   Zion Episcopal Church, Charles Town, Wv                  221 E Washington St                     Charles Town, WV 25414                                                                                                        frdean@zionepiscopal.net        Email
                                                                                                                                                                                                                                                                                              First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                        Page 440 of 442
                                                                                   Case 20-10343-LSS                                    Doc 8171                                    Filed 01/06/22                                                   Page 456 of 457
                                                                                                                                                                       Exhibit B
                                                                                                                                                                        Service List
                                                                                                                                                                 Served as set forth below

        Description                                                       Name                                                                                       Address                                                                                                             Email                  Method of Service
Voting Party                   Zion Episcopal Church, Greene, New York                    P O Box 3520                            Syracuse, NY 13220‐3520                                                                                                      marthalberry@gmail.com                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Episcopal Church, Windsor, New York                   P O Box 3520                            Syracuse, NY 13220‐3520                                                                                                      marthalberry@gmail.com                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zion Ev Lutheran Church                                    Lake Erie Council 440                   503 Columbus Ave                                         Sandusky, OH 44870‐2731                                                                                   First Class Mail
Chartered Organization         Zion Evangelical Lutheran                                  Northeast Illinois 129                  10 Deerfield Rd                                          Deerfield, IL 60015‐4502                                                                                  First Class Mail
Voting Party                   Zion Evangelical Lutheran                                  Attn: Charles Jeffery Boettcher         1000 Washington Ave                                      Cloquet, MN 55720                                                   zlutheranchurch@msn.com               Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zion Evangelical Lutheran Church                           Laurel Highlands Council 527            P.O. Box 225                                             Baker, WV 26801‐0225                                                                                      First Class Mail
Chartered Organization         Zion Evangelical Lutheran Church                           Greater Niagara Frontier Council 380    9535 Clarence Center Rd                                  Clarence Center, NY 14032‐9762                                                                            First Class Mail
Chartered Organization         Zion Evangelical Lutheran Church                           Montana Council 315                     401 Riverview Ave                                        Glendive, MT 59330‐2260                                                                                   First Class Mail
Chartered Organization         Zion Evangelical Lutheran Church                           Pennsylvania Dutch Council 524          18 Quarry Rd                                             Leola, PA 17540‐1315                                                                                      First Class Mail
Chartered Organization         Zion Evangelical Lutheran Church                           Pennsylvania Dutch Council 524          2 S Hazel St                                             Manheim, PA 17545‐1610                                                                                    First Class Mail
Chartered Organization         Zion Evangelical Lutheran Church                           Northern New Jersey Council, Bsa 333    120 E Pleasant Ave                                       Maywood, NJ 07607‐1319                                                                                    First Class Mail
Chartered Organization         Zion Evangelical Lutheran Church                           Miami Valley Council, Bsa 444           5150 Munger Rd                                           Miami Township, OH 45459                                                                                  First Class Mail
Chartered Organization         Zion Evangelical Lutheran Church                           Minsi Trails Council 502                19th & Main Sts                                          Northampton, PA 18067                                                                                     First Class Mail
Chartered Organization         Zion Evangelical Lutheran Church                           Susquehanna Council 533                 11th & Huron Ave                                         Renovo, PA 17764                                                                                          First Class Mail
Chartered Organization         Zion Evangelical Lutheran Church                           Tecumseh 439                            1500 Broadway St                                         Springfield, OH 45504‐2311                                                                                First Class Mail
Chartered Organization         Zion Evangelical Lutheran Church                           Hawk Mountain Council 528               300 W High St                                            Womelsdorf, PA 19567‐1402                                                                                 First Class Mail
Voting Party                   Zion Evangelical Lutheran Church                           Attn: Pastor Robert Hass                235 Pond Hill Rd                                         Wallingford, CT 06492                                               zion‐aa@sbcglobal.net                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Evangelical Lutheran Church                           Attn: David Thomas Drysdale II          1911 Zion Church Rd                                      Hickory, NC 28602                                                   pastor@zionhickory.org                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Evangelical Lutheran Church                           Attn: Leah K Wintemute                  P.O. Box 41                                              18 Miller Ave                      Oldwick, NJ 08858                parishadministrator@zionoldwick.com   Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Evangelical Lutheran Church                           P O Box 81                              Zionhill, PA 18981‐0081                                                                                                      keberle@grimlaw.com                   Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Evangelical Lutheran Church                           Attn: Andrew Hathaway Borden            41 Whitmarsh Ave                                         Worcester, MA 01606                                                 bethelauburn@verizon.net              Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zion Free Lutheran Church                                  Northern Lights Council 429             221 N Main St                                            Tioga, ND 58852‐7126                                                                                      First Class Mail
Chartered Organization         Zion Hill Baptist Church                                   Andrew Jackson Council 303              8081 Martinsville Rd                                     Wesson, MS 39191‐6072                                                                                     First Class Mail
Chartered Organization         Zion Hope Primitive Baptist Church                         Gulf Coast Council 773                  201 W Leonard St                                         Pensacola, FL 32501‐1413                                                                                  First Class Mail
Voting Party                   Zion Korean Umc                                            35 Kilvert St                           Warwick, RI 02886                                                                                                            koyohan3@hotmail.com                  Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zion Luth Ch‐Turbotville Cemetary Assoc                    Susquehanna Council 533                 39 Paradise St 277                                       Turbotville, PA 17772‐8801                                                                                First Class Mail
Chartered Organization         Zion Lutheran Ch & Sch San Francisco                       San Francisco Bay Area Council 028      495 9th Ave                                              San Francisco, CA 94118‐2912                                                                              First Class Mail
Chartered Organization         Zion Lutheran Church                                       Sioux Council 733                       1732 S Main St                                           Aberdeen, SD 57401‐7429                                                                                   First Class Mail
Chartered Organization         Zion Lutheran Church                                       Orange County Council 039               222 N East St                                            Anaheim, CA 92805‐3317                                                                                    First Class Mail
Chartered Organization         Zion Lutheran Church                                       Northern Star Council 250               1601 4th Ave                                             Anoka, MN 55303‐2420                                                                                      First Class Mail
Chartered Organization         Zion Lutheran Church                                       Water and Woods Council 782             510 W Ivy St                                             Bay City, MI 48706‐5234                                                                                   First Class Mail
Chartered Organization         Zion Lutheran Church                                       Blackhawk Area 660                      1300 Pearl St                                            Belvidere, IL 61008‐5217                                                                                  First Class Mail
Chartered Organization         Zion Lutheran Church                                       Greater St Louis Area Council 312       625 Church Dr                                            Bethalto, IL 62010‐1830                                                                                   First Class Mail
Chartered Organization         Zion Lutheran Church                                       Alamo Area Council 583                  1106 Fiorella St                                         Castroville, TX 78009‐4572                                                                                First Class Mail
Chartered Organization         Zion Lutheran Church                                       Winnebago Council, Bsa 173              112 N 4th St                                             Clear Lake, IA 50428‐1842                                                                                 First Class Mail
Chartered Organization         Zion Lutheran Church                                       President Gerald R Ford 781             582 Lamoreaux Dr Nw                                      Comstock Park, MI 49321‐9226                                                                              First Class Mail
Chartered Organization         Zion Lutheran Church                                       W D Boyce 138                           200 W North St                                           Danvers, IL 61732‐9389                                                                                    First Class Mail
Chartered Organization         Zion Lutheran Church                                       Inland Nwest Council 611                1007 Washington St                                       Davenport, WA 99122‐7020                                                                                  First Class Mail
Chartered Organization         Zion Lutheran Church                                       Miami Valley Council, Bsa 444           5550 Munger Rd                                           Dayton, OH 45459‐1175                                                                                     First Class Mail
Chartered Organization         Zion Lutheran Church                                       Anthony Wayne Area 157                  1010 W Monroe St                                         Decatur, IN 46733‐1529                                                                                    First Class Mail
Chartered Organization         Zion Lutheran Church                                       South Florida Council 084               959 SE 6th Ave                                           Deerfield Beach, FL 33441‐5604                                                                            First Class Mail
Chartered Organization         Zion Lutheran Church                                       Great Trail 433                         490 E Clinton St                                         Doylestown, OH 44230‐1507                                                                                 First Class Mail
Chartered Organization         Zion Lutheran Church                                       Shenandoah Area Council 598             321 Headquarters Rd                                      Edinburg, VA 22824                                                                                        First Class Mail
Chartered Organization         Zion Lutheran Church                                       San Diego Imperial Council 049          1405 E Fallbrook St                                      Fallbrook, CA 92028‐2427                                                                                  First Class Mail
Chartered Organization         Zion Lutheran Church                                       Capitol Area Council 564                6001 Fm 1105                                             Georgetown, TX 78626‐1745                                                                                 First Class Mail
Chartered Organization         Zion Lutheran Church                                       Montana Council 315                     310 N Kendrick Ave                                       Glendive, MT 59330‐1716                                                                                   First Class Mail
Chartered Organization         Zion Lutheran Church                                       Coastal Georgia Council 099             121 Noel C Conaway Rd                                    Guyton, GA 31312‐5735                                                                                     First Class Mail
Chartered Organization         Zion Lutheran Church                                       Pony Express Council 311                707 S 3rd St                                             Hiawatha, KS 66434‐2716                                                                                   First Class Mail
Chartered Organization         Zion Lutheran Church                                       Voyageurs Area 286                      17480 Grassy Island Ln Ne                                Hines, MN 56647‐4757                                                                                      First Class Mail
Chartered Organization         Zion Lutheran Church                                       Chief Seattle Council 609               25105 132nd Ave Se                                       Kent, WA 98042‐5601                                                                                       First Class Mail
Chartered Organization         Zion Lutheran Church                                       Pennsylvania Dutch Council 524          85 E Brandt Blvd                                         Landisville, PA 17538‐1136                                                                                First Class Mail
Chartered Organization         Zion Lutheran Church                                       Indian Waters Council 553               226 Corley Mill Rd                                       Lexington, SC 29072‐9471                                                                                  First Class Mail
Chartered Organization         Zion Lutheran Church                                       Buckeye Council 436                     222 E Main St                                            Loudonville, OH 44842‐1245                                                                                First Class Mail
Chartered Organization         Zion Lutheran Church                                       Longs Peak Council 062                  815 E 16th St                                            Loveland, CO 80538‐4063                                                                                   First Class Mail
Chartered Organization         Zion Lutheran Church                                       Bay‐Lakes Council 635                   316 Lake St                                              Manistique, MI 49854‐1408                                                                                 First Class Mail
Chartered Organization         Zion Lutheran Church                                       Bay‐Lakes Council 635                   435 Oak St                                               Manistique, MI 49854‐1411                                                                                 First Class Mail
Chartered Organization         Zion Lutheran Church                                       Bay‐Lakes Council 635                   2714 James St                                            Marinette, WI 54143‐4107                                                                                  First Class Mail
Chartered Organization         Zion Lutheran Church                                       Dan Beard Council, Bsa 438              10 N Breiel Blvd                                         Middletown, OH 45044‐5120                                                                                 First Class Mail
Chartered Organization         Zion Lutheran Church                                       Illowa Council 133                      513 Sycamore St                                          Muscatine, IA 52761‐3828                                                                                  First Class Mail
Chartered Organization         Zion Lutheran Church                                       Washington Crossing Council 777         P.O. Box 41                                              Oldwick, NJ 08858‐0041                                                                                    First Class Mail
Chartered Organization         Zion Lutheran Church                                       Coronado Area Council 192               492 7th St                                               Phillipsburg, KS 67661‐2446                                                                               First Class Mail
Chartered Organization         Zion Lutheran Church                                       Western Massachusetts Council 234       74 1st St                                                Pittsfield, MA 01201‐4717                                                                                 First Class Mail
Chartered Organization         Zion Lutheran Church                                       Connecticut Rivers Council, Bsa 066     183 William St                                           Portland, CT 06480‐1631                                                                                   First Class Mail
Chartered Organization         Zion Lutheran Church                                       Susquehanna Council 533                 4298 Route 204                                           Selinsgrove, PA 17870‐8793                                                                                First Class Mail
Chartered Organization         Zion Lutheran Church                                       Hawk Mountain Council 528               354 Zions Church Rd                                      Shoemakersville, PA 19555‐9508                                                                            First Class Mail
Chartered Organization         Zion Lutheran Church                                       Sioux Council 733                       1400 S Duluth Ave                                        Sioux Falls, SD 57105‐1711                                                                                First Class Mail
Chartered Organization         Zion Lutheran Church                                       Black Swamp Area Council 449            210 N Wayne St                                           St Marys, OH 45885‐2161                                                                                   First Class Mail
Chartered Organization         Zion Lutheran Church                                       Susquehanna Council 533                 15 S 5th St                                              Sunbury, PA 17801‐2856                                                                                    First Class Mail
Chartered Organization         Zion Lutheran Church                                       Pathway To Adventure 456                17150 69th Ave                                           Tinley Park, IL 60477‐3412                                                                                First Class Mail
Chartered Organization         Zion Lutheran Church                                       Susquehanna Council 533                 39 Paradise St                                           Turbotville, PA 17772‐8801                                                                                First Class Mail
Chartered Organization         Zion Lutheran Church                                       Longs Peak Council 062                  8322 2nd St                                              Wellington, CO 80549                                                                                      First Class Mail
Chartered Organization         Zion Lutheran Church                                       Del Mar Va 081                          2101 Lancaster Ave                                       Wilmington, DE 19805‐3731                                                                                 First Class Mail
Chartered Organization         Zion Lutheran Church                                       Buckeye Council 436                     301 N Market St                                          Wooster, OH 44691‐3513                                                                                    First Class Mail
Chartered Organization         Zion Lutheran Church                                       New Birth of Freedom 544                2215 Brandywine Ln                                       York, PA 17404‐1307                                                                                       First Class Mail
Voting Party                   Zion Lutheran Church                                       Attn: Marion Decker                     120 E Pleasant Ave                                       Maywood, NY 07021                                                   xeniad@oponline.net                   Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Lutheran Church                                       Attn: Reed Rasmussen                    415 S Main St                                            Aberdeen, SD 57401                                                  rrasmussen@sbslaw.net                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Lutheran Church                                       Attn: Rochelle A Funderburg             306 W Church St                                          Champaign, IL 61820                                                 rfunderburg@meyercapel.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Lutheran Church                                       c/o Meyer Capel, Pc                     Attn: Rochelle Funderburg                                306 W Church St                    Champaign, IL 61820              rfunderburg@meyercapel.com            Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Lutheran Church                                       Attn: Matthew Duerr                     105 S Ham Ln                                             Lodi, CA 95242                                                      pastormatt@zlclodi.org                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Lutheran Church                                       Attn: Mindy Roll                        3606 Beauchamp                                           Houston, TX 77009                                                   pastor@zlchouston.org                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Lutheran Church                                       Attn: Patricia R Hagensen               824 NE 4th Ave                                           Camas, WA 98607                                                     info@zionluthcamas.org                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zion Lutheran Church ‐ Minot                               Northern Lights Council 429             1800 Hiawatha St                                         Minot, ND 58701‐6719                                                                                      First Class Mail
Chartered Organization         Zion Lutheran Church ‐ Trf                                 Northern Lights Council 429             505 Main Ave N                                           Thief River Falls, MN 56701‐1909                                                                          First Class Mail
Chartered Organization         Zion Lutheran Church (Pevely)                              Greater St Louis Area Council 312       P.O. Box 29                                              Pevely, MO 63070‐0029                                                                                     First Class Mail
Voting Party                   Zion Lutheran Church And Scool                             155 2nd Ave                             Westwood, NJ 07675                                                                                                           office@zionwestwoodnj.org             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zion Lutheran Church Council                               Bay‐Lakes Council 635                   400 N Sawyer St                                          Oshkosh, WI 54902‐4254                                                                                    First Class Mail
Chartered Organization         Zion Lutheran Church Elca                                  Northern Star Council 250               8500 Hillside Trl S                                      Cottage Grove, MN 55016‐3273                                                                              First Class Mail
Voting Party                   Zion Lutheran Church Kent Wa                               Attn: Pastor Barry Fritts               25105 132nd Ave Se                                       Kent, WA 98042                                                      Pastor@zionkent.org                   Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Lutheran Church Of Harwood                            Attn: Patrick J Sinner                  3429 Interstate Blvd S                                   P.O. Box 9231                      Fargo, ND 58106                  patrick@kaler‐doeling.com             Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Lutheran Church Of Harwood                            2933 171st Ave Se                       Harwood, ND 58042                                                                                                                                                  First Class Mail
Chartered Organization         Zion Lutheran Church Of Maywood                            Northern New Jersey Council, Bsa 333    120 E Pleasant Ave                                       Maywood, NJ 07607‐1319                                                                                    First Class Mail
Chartered Organization         Zion Lutheran Church Of Painesville                        Lake Erie Council 440                   508 Mentor Ave                                           Painesville, OH 44077‐2628                                                                                First Class Mail
Chartered Organization         Zion Lutheran Church Of Wallingford                        Connecticut Yankee Council Bsa 072      235 Pond Hill Rd                                         Wallingford, CT 06492‐5205                                                                                First Class Mail
Voting Party                   Zion Lutheran Church, Long Valley, NJ                      11 Schooley's Mountain Rd               Long Valley, NJ 07853‐3198                                                                                                   zionlongvalley@gmail.com              Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Lutheran Curch                                        Attn: Catherine Hales                   299 Garden St                                            Harbor Beach, MI 48441                                              secretary@zionlcs.com                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zion Lutheran School                                       Northern New Jersey Council, Bsa 333    64 1st Ave                                               Westwood, NJ 07675‐2130                                                                                   First Class Mail
Chartered Organization         Zion Mennonite Church                                      Cradle of Liberty Council 525           149 E Cherry Ln                                          Souderton, PA 18964‐1551                                                                                  First Class Mail
Voting Party                   Zion Mishicot United Methodist Church                      Attn: Lynn Tricker                      3601 Tannery Rd                                          Two Rivers, WI 54241                                                trickerr73@gmail.com                  Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zion Missionary Baptist Church                             Atlanta Area Council 092                888 Zion Cir                                             Roswell, GA 30075‐4554                                                                                    First Class Mail
Chartered Organization         Zion Professional Firefighters Associate                   Northeast Illinois 129                  P.O. Box 501                                             Zion, IL 60099‐0501                                                                                       First Class Mail
Chartered Organization         Zion Spies Evangelical Lutheran Church                     Hawk Mountain Council 528               310 Spies Church Rd                                      Reading, PA 19606‐9330                                                                                    First Class Mail
Voting Party                   Zion Stone Umc (03625)                                     c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zion Tabernacle Faith Ministries                           Southern Shores Fsc 783                 1380 E Napier Ave                                        Benton Harbor, MI 49022‐2115                                                                              First Class Mail
Chartered Organization         Zion Temple Christian Academy                              Dan Beard Council, Bsa 438              3771 Reading Rd                                          Cincinnati, OH 45229‐1425                                                                                 First Class Mail
Voting Party                   Zion Umc                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Umc ‐ Egg Harbor Township                             c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion Umc (32109690)                                        c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zion United Church Of Christ                               Education Committee                     415 S Main St                                            North Canton, OH 44720‐3027                                                                               First Class Mail
Voting Party                   Zion United Methodist Church                               Attn: Mike Harmon                       4736 County Rd 86                                        Findlay, OH 45840                                                   mharmon@ridgeassociates.com           Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion United Methodist Church                               Attn: Barry Blakley                     8700 Courthouse Rd                                       Spotsylvania, VA 22553                                              barryblakley@vaumc.org                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion United Methodist Church                               Attn: Pastor Hyeok Won Kwon             2106 N Peach Ave                                         Marshfield, WI 54449                                                1Zionumc@gmail.com                    Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion United Methodist Church (189852)                      c/o Bentz Law Firm                      Attn: Leonard Spagnolo                                   680 Washington Rd, Ste 200         Pittsburgh, PA 15228             lspagnolo@bentzlaw.com                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion United Methodist Church Of Anderson, Inc              Attn: Wayne Coats                       402 Meadow Park Dr                                       Anderson, SC 29625                                                  bcrowetipton@gmail.com                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion United Methodist Church Of Anderson, Inc              Attn: Beverly Crowe Tipton              5708 Hwy 187 N                                           Anderson, SC 29625                                                  bcrowetipton@gmail.com                Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion United Methodist Church Of Iona                       Attn: Beth Trone, Pastor                1920 S 5th Ave                                           Lebanon, PA 17042                                                   jschlegel51754@gmail.com              Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zion United Methodist Church Of Shipley                    Attn: Chris Conklin                     2714‐16 Old Washington Rd                                Westminster, MD 21157                                               zionumchurch@verizon.net              Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zion Utd Church Of Christ                                  New Birth of Freedom 544                3 Gettysburg St                                          Arendtsville, PA 17303                                                                                    First Class Mail
Chartered Organization         Zion Utd Church Of Christ                                  Pathway To Adventure 456                14804 113th Ave                                          Dyer, IN 46311‐3511                                                                                       First Class Mail
Chartered Organization         Zion Utd Church Of Christ                                  Crossroads of America 160               8916 E Troy Ave                                          Indianapolis, IN 46239‐9415                                                                               First Class Mail
Chartered Organization         Zion Utd Church Of Christ                                  Greater St Louis Area Council 312       11 N Railway St                                          New Baden, IL 62265‐1340                                                                                  First Class Mail
Chartered Organization         Zion Utd Church Of Christ                                  Dan Beard Council, Bsa 438              2301 Indian Mound Ave                                    Norwood, OH 45212                                                                                         First Class Mail
Chartered Organization         Zion Utd Church Of Christ Marion                           Greater St Louis Area Council 312       930 W Cherry St                                          Marion, IL 62959‐2720                                                                                     First Class Mail
Chartered Organization         Zion Utd Methodist                                         Samoset Council, Bsa 627                County Hwy E                                             Marshfield, WI 54449                                                                                      First Class Mail
Chartered Organization         Zion Utd Methodist Church                                  Blue Ridge Council 551                  5708 Hwy 187                                             Anderson, SC 29625‐6346                                                                                   First Class Mail
Chartered Organization         Zion Utd Methodist Church                                  Del Mar Va 081                          168 W Main St                                            Cecilton, MD 21913‐1001                                                                                   First Class Mail
Chartered Organization         Zion Utd Methodist Church                                  Black Swamp Area Council 449            9009 W State Route 12                                    Findlay, OH 45840‐9303                                                                                    First Class Mail
Chartered Organization         Zion Utd Methodist Church                                  Bay‐Lakes Council 635                   421 Jackson St                                           Mishicot, WI 54228‐9553                                                                                   First Class Mail
Chartered Organization         Zion Utd Methodist Church                                  Bay‐Lakes Council 635                   200 E Bluff St                                           Neshkoro, WI 54960‐9507                                                                                   First Class Mail
Chartered Organization         Zion Utd Methodist Church                                  Moraine Trails Council 500              438 Bear Creek Rd                                        Sarver, PA 16055‐9221                                                                                     First Class Mail
Chartered Organization         Zion Utd Methodist Church                                  Colonial Virginia Council 595           2109 Seaford Rd                                          Seaford, VA 23696‐2471                                                                                    First Class Mail
Voting Party                   Zions Hill United Methodist Church                         Attn: Holly Beth Gorenbergh             470 Danbury Rd                                           Wilton, CT 06897                                                    zhmethodist@snet.net                  Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zions Reformed Church                                      Hawk Mountain Council 528               2400 Centre St                                           Ashland, PA 17921‐1018                                                                                    First Class Mail
Chartered Organization         Zions View Athletic Assoc                                  New Birth of Freedom 544                P.O. Box 514                                             Manchester, PA 17345‐0514                                                                                 First Class Mail
Chartered Organization         Zionsville Christian Church                                Crossroads of America 160, 9th St       Zionsville, IN 46077                                                                                                                                               First Class Mail
Voting Party                   Zionsville Christian Church                                Attn: Senior Minister                   120 N 9th St                                             Zionsville, IN 46077                                                rev.tyler@zionsvillechristian.org     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Ziprecruitter                                              604 Arizona Ave                         Santa Monica, CA 90401‐1610                                                                                                                                        First Class Mail
Chartered Organization         Zoar Evangelical Lutheran Church                           Cascade Pacific Council 492             190 SW 3rd Ave                                           Canby, OR 97013‐4142                                                                                      First Class Mail
Voting Party                   Zoar Umc                                                   c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zoar Umc 3895 Zoar Church Rd Snellville, Ga 30039          c/o Bradley Arant Boult Cummings, LLP   Attn: Edwin G Rice                                       100 N Tampa St, Ste 2200           Tampa, FL 33602                  erice@bradley.com                     Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Voting Party                   Zoar United Methodist Church Of Greer                      Attn: Alton Free                        327 Laura Faye Ln                                        Lyman, SC 29365                                                     altonfree@charter.net                 Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zoar Utd Methodist Church                                  Blue Ridge Council 551                  P.O. Box 333                                             Greer, SC 29652‐0333                                                                                      First Class Mail
Chartered Organization         Zoar Utd Methodist Church                                  Northeast Georgia Council 101           3895 Zoar Church Rd                                      Snellville, GA 30039‐6151                                                                                 First Class Mail
Chartered Organization         Zoller School Pt0                                          Twin Rivers Council 364                 1880 Lancaster St                                        Schenectady, NY 12308‐1533                                                                                First Class Mail
Chartered Organization         Zomi Christian Church                                      Simon Kenton Council 441                5918 Sharon Woods Blvd                                   Columbus, OH 43229‐2645                                                                                   First Class Mail
Chartered Organization         Zook‐Farrington American Legion Post 434                   Lasalle Council 165                     P.O. Box 434                                             Kingsford Heights, IN 46346‐0434                                                                          First Class Mail
Chartered Organization         Zootah                                                     Trapper Trails 589                      419 W 700 S                                              Logan, UT 84321‐5599                                                                                      First Class Mail
Chartered Organization         Zq LLC                                                     Greater Niagara Frontier Council 380    5500 N Bailey Ave, Unit 1699                             Buffalo, NY 14226‐6967                                                                                    First Class Mail
Firm                           Zuckerman Spaeder LLP                                      Andrew N. Goldfarb                      1800 M Street NW, Ste 1000                               Washington, DC 20036                                                aisforms@zuckerman.corn               Email
                                                                                                                                                                                                                                                                                                     First Class Mail
Chartered Organization         Zumbro Lutheran Church                                     Gamehaven 299                           624 3rd Ave Sw                                           Rochester, MN 55902‐3318                                                                                  First Class Mail
Voting Party                   Zups Food Market                                           303 E Sheridan St                       Ely, MN 55731‐1453                                                                                                                                                 First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                                                        Page 441 of 442
                                                                     Case 20-10343-LSS                           Doc 8171                             Filed 01/06/22                                             Page 457 of 457
                                                                                                                                         Exhibit B
                                                                                                                                          Service List
                                                                                                                                   Served as set forth below

        Description                                           Name                                                                     Address                                                                                                  Email              Method of Service
Voting Party                   Zurich American Insurance                    P O Box 68549                   Schaumburg, IL 60196                                                                                           wendy.messner@igor.com       Email
                                                                                                                                                                                                                                                        First Class Mail
Voting Party                   Zurich American Insurance                    c/o Rms (An Igor Co)            Attn: Wendy Messner                              P.O. Box 19253              Minneapolis, MN 55419                                          First Class Mail
Chartered Organization         Zwingli Utd Church Of Christ                 Blackhawk Area 660              416 E Lake Ave                                   Monticello, WI 53570‐9640                                                                  First Class Mail
Chartered Organization         Zwingli Utd Church Of Christ                 Cradle of Liberty Council 525   350 Wile Ave                                     Souderton, PA 18964‐1640                                                                   First Class Mail




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20‐10343                                                                                                                          Page 442 of 442
